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                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION
                                                               )
     In re:                                                    )        Chapter 11
                                                               )
     VOLUNTEER ENERGY SERVICES, INC.,                          )        Case No. 22-50804
                                                               )
                                         Debtor.1              )        Judge C. Kathryn Preston
                                                               )
                                                               )        Hearing: May 25, 2022
                                                               )        at 9:30 a.m. (Eastern Time)
                                                               )
                                                               )        Objection Deadline: May 18, 2022
                                                               )

                  DEBTOR’S THIRD OMNIBUS MOTION FOR ENTRY OF AN
                ORDER (I) AUTHORIZING AND APPROVING THE REJECTION OF
                 CERTAIN EXECUTORY CONTRACTS AND (II) WAIVING THE
                     REQUIREMENTS OF BANKRUPTCY RULE 6006(f)(6)

              Volunteer Energy Services, Inc., as debtor and debtor in possession (the “Debtor”) in the

 above-captioned chapter 11 case (the “Chapter 11 Case”), hereby submits this motion (the

 “Motion”) for entry of an order pursuant to section 365 of title 11 of the United States Code (the

 “Bankruptcy Code”), Rule 6006 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

 Rules”), and Rule 9013-1 Local Rules of the United States Bankruptcy Court for the Southern

 District of Ohio, substantially in the form attached hereto as Exhibit A (the “Proposed Order”),

 (i) authorizing the Debtor to reject the Rejection Contracts (as defined below) pursuant to which

 the Debtor supplies its customers (the “Customers”) with natural gas or electricity; (ii) finding

 and deeming that notice of this Motion and the proposed rejection set forth herein was good and

 sufficient with respect to all required parties; and (iii) waiving the requirements of Bankruptcy

 Rule 6006(f)(6) with respect to this Motion. The specific contracts (collectively, the “Rejection


 1
       The last four digits of the Debtor’s federal tax identification are (2693), and the address of the Debtor’s
       corporate headquarters is 790 Windmiller Drive, Pickerington, Ohio 43147.
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 Contracts”) that the Debtor seeks authority to reject by and through this Motion are identified on

 the following Exhibits:

         Exhibit B - Municipal aggregation agreements (“Agg Agreements”)2 for the supply of
                     electricity (the “Electric Agg Agreements”);

         Exhibit C – Contracts with the underlying Customers under Electric Agg Agreements
                    (the “Customer Electric Agg Contracts”);

         Exhibit D – Agg Agreements for the supply of natural gas (the “Gas Agg Agreements”);3

         Exhibit E – Contracts with Customers for the supply of electricity that are not subject to
                    Agg Agreements (the “Customer Electric Non-Agg Contracts”);

         Exhibit F – Contracts with Customers for the supply of natural gas that are not subject to
                    Agg Agreements (the “Customer Gas Non-Agg Contracts”); and

         Exhibit G – Contracts with Customers being supplied natural gas under the General
                    Transportation Service (“GTS”) program (the “GTS Customer Contracts”).

         The Debtor requests that the rejection of the Contracts be effective as of the Petition Date

 (as defined below). In support of this Motion, the Debtor relies upon the Declaration of David

 Warner in Support of the Chapter 11 Petition and First Day Pleadings (Doc. 26) (the “First Day

 Declaration”),4 and respectfully states as follows:




 2
     Municipal aggregation is the process by which a municipality combines (or “aggregates”) the retail electric
     and/or natural gas load of its residential and small commercial constituents and negotiates a rate with a
     competitive energy supplier to provide the customers' electric and/or natural gas supply.
 3
     A list of the accounts of the underlying customers to which the Debtor supplies natural gas under the Gas Agg
     Agreements identified on Exhibit D is attached thereto as Exhibit D-1 (the “Agg Gas Customers”). The Debtor
     does not have contracts with the Agg Gas Customers and thus, there are no executory contracts between the
     Debtor and the Agg Gas Customers subject to rejection. Accordingly, the Debtor is not seeking relief as to any
     accounts identified on Exhibit D-1. To provide as much information as possible to interested parties, however,
     the Debtor included a list of the underlying accounts to the Gas Agg Agreements.
 4
     Capitalized terms used but not defined herein have the meanings ascribed to them in the First Day Declaration.



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                                  JURISDICTION AND VENUE

        1.      The United States Bankruptcy Court for the Southern District of Ohio (the

 “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

 Standing Order of Reference entered in this District.

        2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.      The bases for the relief requested herein are Bankruptcy Code sections 105(a) and

 365, Bankruptcy Rule 6006, and Local Rule 9013-1.

                                          BACKGROUND

        4.      On March 25, 2022 (the “Petition Date”), the Debtor commenced the Chapter 11

 Case by filing a petition for relief under chapter 11 of the Bankruptcy Code.

        5.      The Debtor continues to operate its business and manage its property as a debtor

 in possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

        6.      The Office of the United States Trustee appointed a creditors’ committee on April

 1, 2022 (Doc. No. 83). No other official committee, trustee, or examiner has been appointed in

 the Chapter 11 Case.

        7.      A description of the Debtor’s business operations, capital structure, liquidity

 issues, and circumstances leading to the chapter 11 filing is set forth in the First Day Declaration,

 which the Debtor incorporates herein by reference.

        8.      As of the Petition Date, the Debtor had approximately 212,000 Customers located

 throughout Ohio, Michigan, Pennsylvania, and Kentucky.

        9.      On April 4, 2021, the Debtor filed the Expedited Motion for Entry of an Order (I)

 Authorizing and Approving a Private Sale of Certain of the Debtor’s Customer Contracts Free

 and Clear of All Liens, Claims, Interests, and Encumbrances; (II) Authorizing the Assumption




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 and Assignment of Certain of the Debtor’s Customer Contracts; (III) Waiving the 14-Day Stays

 Imposed Under Bankruptcy Rules 6004(h) and 6006(d); and (IV) Granting Related Relief (Doc.

 95) (the “Sale Motion”). Pursuant to the Sale Motion, the Debtor seeks to, among other things,

 sell certain of its Customer contracts to NRG Retail LLC (the “Sale”).5

         10.      The Debtor’s remaining Rejection Contracts with approximately 188,000

 Customers are not part of the assets subject to the Sale, do not benefit the Debtor’s estate, and the

 Debtor is no longer able to honor its obligations thereunder.6 More specifically, the Debtor does

 not have the liquidity necessary to purchase electricity and natural gas that the Debtor would in

 turn supply to the Customers. The Debtor seeks to reject the Rejection Contracts effective as of

 the Petition Date.

                                          RELIEF REQUESTED

         11.      The Debtor seeks entry of an order, substantially in the form of the Proposed

 Order attached hereto as Exhibit A, (i) authorizing the Debtor to reject the Rejection Contracts

 identified on Exhibits B-G, effective as of the as of the Petition Date; (ii) finding and deeming

 that notice of this Motion and the proposed rejection set forth herein was good and sufficient

 with respect to all required parties; and (iii) waiving the requirements of Bankruptcy Rule

 6006(f)(6).




 5
     The Contracts proposed to be purchased are identified on Schedule 2.07(b) to the Asset Purchase Agreement
     filed at Doc. 103.
 6
     In accordance with the Agg Agreements and underlying contracts, the Debtor will provide notice of this Motion
     on the billing addresses for counterparties to each of the Rejection Contracts identified on Exhibits B-G.


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                               BASIS FOR REQUESTED RELIEF

 I.      Rejection of the Rejection Contracts Constitutes a Sound Exercise of the Debtor’s
         Business Judgment.

        12.     Bankruptcy Code section 365(a) provides that a debtor may reject any executory

 contract “subject to the court’s approval.” 11 U.S.C. § 365(a). A contract is considered executory

 when the obligations of the parties to the contract “are so far unperformed that the failure of

 either to complete the performance would constitute a material breach excusing the performance

 of the other.” In re Terrell, 892 F.2d 469 (6th Cir. 1989). Courts routinely approve motions to

 reject executory contracts upon a showing that such action will benefit the debtor’s estate and is

 an exercise of the Debtor’s sound business judgment. Mission Prod. Holdings, Inc. v.

 Tempnology, LLC, 139 S. Ct. 1652, 1658 (2019) (“The bankruptcy court will generally approve

 [the] choice [to assume or reject an executory contract] under the deferential ‘business judgment’

 rule.”); NLRB v. Bildisco & Bildisco, 465 U.S. 513, 523 (1984) (the traditional standard applied

 by courts to authorize the rejection of an executory contract is that of “business judgment”).

        13.     Courts generally will not second-guess a debtor’s business judgment concerning

 the rejection of an executory contract absent a showing of bad faith or gross abuse of discretion.

 See Allied Tech., Inc. v. R.B. Brunemann & Sons, Inc., 25 B.R. 484, 495 (Bankr. S.D. Ohio 1982)

 (the court should approve the debtor’s decision unless it “is clearly erroneous, too speculative, or

 contrary to the provisions of the Bankruptcy Code . . . .”); see In re Wheeling-Pittsburgh Steel

 Corp., 72 B.R. 845, 849 (Bankr. W.D. Pa. 1987) (the debtor’s business judgment should not be

 second guessed unless there is evidence of bad faith or gross abuse). The “business judgment”

 test is not a strict standard and requires only a showing that rejecting the executory contract will

 benefit the estate. See In re Bildisco, 682 F.2d 72, 79 (3d Cir. 1982) (“usual test for rejection of

 an executory contract is simply whether rejection would benefit the estate”), aff’d, 465 U.S. 513



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 (1984). Further, “[s]ection 365 enables the trustee to maximize the value of the debtor’s estate by

 . . . rejecting” executory contracts that do not benefit the estate. In re Rickel Home Ctrs., Inc.,

 209 F.3d 291, 298 (3d Cir. 2000).

         14.     As discussed above, the Debtor is no longer able to honor its obligations under the

 Rejection Contracts, and the Debtor expects that all of the Customers have been or soon will be

 returned to default service (however defined under applicable state law or by the applicable

 electric utility or natural gas local distribution company) at the applicable electric utility, natural

 gas local distribution company, or, to the extent required by state law, such other electric or gas

 company providing such service. As such, the Rejection Contracts no longer serve any business

 purpose. Thus, for these reasons, the Debtor, in its sound business judgment, has determined that

 rejection of the Rejection Contracts is in the best interests of its estate and, accordingly, the

 Rejection Contracts should be rejected.

II.      Rejection as of the Petition Date

         15.     Although Bankruptcy Code section 365 does not specifically address the

 retroactive rejection of executory contracts and unexpired leases, numerous courts have

 authorized retroactive rejection where principles of equity supported such authorization. See,

 e.g., Pac. Shores Dev., LLC v. At Home Corp. (In re At Home Corp.), 392 F.3d 1064, 1065–66

 (9th Cir. 2004) (affirming bankruptcy court’s approval of retroactive rejection); Thinking Machs.

 Corp. v. Mellon Fin. Servs. Corp. (In re Thinking Machs. Corp.), 67 F.3d 1021, 1028 (1st Cir.

 1995) (holding that, with respect to lease rejection pursuant to section 365 of the Bankruptcy

 Code, “bankruptcy courts may enter retroactive orders of approval, and should do so when the

 balance of equities preponderates in favor of such remediation”); In re Artemis Laser & Vein

 Center, LLC, Case No. 14-55300, Docket No. 71 (Bankr. S.D. Ohio Sept. 26, 2014) (ordering




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 that the rejection was effective as of the petition date, which was approximately one month prior

 to the date the motion was filed).

           16.      The balance of equities in this Chapter 11 Case favors authorizing the Debtor to

 reject the Rejection Contracts effective as of the Petition Date. Any postponement of the

 effective date of rejection of the Rejection Contracts may potentially cause the Debtor to incur

 unnecessary obligations under the Rejection Contracts without providing any corresponding

 benefit to the Debtor’s estate. Further, allowing the Debtor to reject the Rejection Contracts will

 not unduly prejudice the counterparties to the Rejection Contracts (the “Counterparties”) because

 they will receive proper notice of the Motion and the proposed rejection, and, regardless of the

 date of rejection, will be returned to default service due to the Debtor’s inability to perform

 under the Rejection Contracts.

III.       The Noticing Procedures

           17.      The Debtor will provide notice of this Motion upon the Counterparties as follows:

 The Debtor will serve each Counterparty with a completed notice of hearing regarding this

 Motion, the form of which is attached hereto as Exhibit H (the “Hearing Notice”), and a

 regulatory notice (the “Regulatory Notice”) regarding the anticipated termination of the

 Counterparty’s particular Rejection Contract(s) with the Debtor.7

           18.      The Hearing Notice will, inter alia, advise the Counterparties (a) that the Debtor

 has filed the Motion; (b) that, if a Regulatory Notice is enclosed with the Hearing Notice, the

 Debtor has determined that the recipient is a counterparty to, or is an agent or representative of a

 counterparty to, one or more of the Rejection Contracts that the Debtor is seeking authority to



 7
       The Customers associated with accounts identified on Exhibit D-1 are not counterparties to executory contracts
       (see n.3, supra.) and thus, those Customers will not receive a Hearing Notice. Those Customers will, however,
       receive Regulatory Notices.


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 reject; (c) that, through the Motion, the Debtor is seeking authority to reject certain Rejection

 Contracts, including those listed on the Regulatory Notice; (d) that free copies of the Motion and

 other documents filed in the Chapter 11 Case may be obtained by visiting the website for this

 Chapter 11 Case or contacting the Debtor’s claims and noticing agent; and (e)of the Hearing

 Date, the deadline to object or respond to the Motion, and the process for doing so.

        19.     Although the Regulatory Notices may vary slightly from state to state, all

 Regulatory Notices will, inter alia, (a) inform the Counterparties that the Debtor has commenced

 a chapter 11 case; (b) state that certain service contracts that the Counterparty has with the

 Debtor will be terminated; (c) specifically identify each of the Rejection Contract(s) for that

 particular Counterparty that will be terminated; and (d) assure the Counterparty that there will be

 no interruption in service due to the termination of such Contract(s) and the resulting transfer of

 service to the default service provider.

        20.     The Debtor believes that the Hearing Notice and the Regulatory Notice will

 provide the Counterparties with appropriate and necessary information regarding the relief

 sought herein, and that service of the Hearing Notices and Regulatory Notices on the

 Counterparties should be deemed good and sufficient notice of this Motion.

IV.     Waiver of the Requirements of Bankruptcy Rule 6006(f)(6) is Appropriate.

        21.     By the Motion, the Debtor seeks to reject more than 100 Rejection Contracts.

 Bankruptcy Rule 6006(f)(6) limits an omnibus motion to reject multiple executory contracts “to

 no more than 100 executory contracts.” However, the 2007 Advisory Committee Note to Rule

 6006 states that “[a]n omnibus motion to assume, assign, or reject multiple executory contracts

 and unexpired leases must comply with the procedural requirements set forth in subdivision (f)

 of the rule, unless the court orders otherwise.” Thus, courts will waive the requirements of




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 Bankruptcy Rule 6006(f)(6) for cause. See, e.g., In re Old Carco LLC, 406 B.R. 180, 207–10

 (Bankr. S.D.N.Y. 2009) (permitting the rejection of more than 100 agreements through one

 motion when the rejected agreements were (i) substantially similar and counterparties could

 easily find their names, (ii) subject to a single comprehensive analysis by the debtors, and (iii)

 being rejected and not assigned to the reorganized entity).

        22.     The Debtor respectfully submits that cause exists to waive the requirements of

 Bankruptcy Rule 6006(f)(6). First, all of the Rejection Contracts are of the same type and

 purpose, as all relate to the supply of gas or electricity by the Debtor to its Customers. Second,

 the Debtor’s rationale for rejecting the Rejection Contracts, and the legal and factual support for

 these determinations, apply equally to all Rejection Contracts. Third, as described above, the

 Debtor is providing individualized notice to each Counterparty by identifying only the specific

 Rejection Contract(s) relevant to that Counterparty on the Regulatory Notice. Thus, the Debtor

 submits that the proposed notice procedures for the relief requested herein will result in a more

 targeted and complete notice to the Customers than if the Debtor filed numerous motions to

 reject, included a list of 100 contracts for rejection with each motion, and the Customers had to

 search through each list to determine if their Rejection Contract was listed thereon. Under these

 circumstances, allowing the Debtor to seek rejection of all of the Rejection Contracts by and

 through this Motion should not be burdensome or confusing to the Customers, and it will help

 preserve the already strained resources of the bankruptcy estate. Accordingly, the Debtor submits

 there is good cause for the Court to waive the requirements of Bankruptcy Rule 6006(f).




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                                       MOTION PRACTICE

        23.     This Motion includes citations to the applicable rules and statutory authorities

 upon which the relief requested herein is predicated and a discussion of their application to this

 Motion. Accordingly, the Debtor submits that this Motion satisfies Local Rule 9013-1(a).

                                   RESERVATION OF RIGHTS

        24.     Nothing contained herein or any actions taken pursuant to such relief requested is

 intended or shall be construed as: (a) an admission as to the amount of, basis for, or validity of

 any claim against the Debtor under the Bankruptcy Code or other applicable nonbankruptcy law;

 (b) a waiver of the Debtor’s or any other party in interest’s right to dispute any claim on any

 grounds; (c) a promise or requirement to pay any claim; (d) an implication or admission that any

 particular claim is of a type specified or defined in this motion or any order granting the relief

 requested by this motion; (e) a finding that any particular claim is an administrative expense

 claim or other priority claim; (f) an admission as to the validity, priority, enforceability, or

 perfection of any lien on, security interest in, or other encumbrance on property of the Debtor’s

 estate; (g) a waiver or limitation of the Debtor’s, or any other party in interest’s, rights under the

 Bankruptcy Code or any other applicable law; or (h) a concession by the Debtor that any liens

 (contractual, common law, statutory, or otherwise) that may be satisfied pursuant to the relief

 requested in this motion are valid, and the rights of all parties in interest are expressly reserved to

 contest the extent, validity, or perfection or seek avoidance of all such liens.

                                               NOTICE

        25.     The Debtor will provide notice of this Motion to: (a) the United States Trustee;

 (b) counsel to PNC Bank, National Association; (c) the holders of the 20 largest unsecured

 claims against the Debtor; (d) all official committees appointed, as of the filing of this Motion, in




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 the Chapter 11 Case and their counsel; (e) the offices of the attorneys general for Ohio,

 Pennsylvania, Michigan, Kentucky, and West Virginia; (f) the United States Attorney’s Office

 for the Southern District of Ohio; (g) the Internal Revenue Service; (h) the Debtor’s state and

 local taxing authorities in Ohio, Pennsylvania, Michigan, Kentucky, and West Virginia; (i) the

 Public Utilities Commission of Ohio, Pennsylvania Public Utilities Commission, Kentucky

 Public Service Commission, and Michigan Public Service Commission; (j) the U.S.

 Environmental Protection Agency; (k) the Federal Energy Regulatory Commission; (l) the

 Counterparties, in the form and manner described above; (n) the Debtor’s energy suppliers; (o)

 the local distribution companies for all jurisdictions in which the Debtor operates; and (p) any

 party that has requested notice pursuant to Bankruptcy Rule 2002. The Debtor submits that, in

 light of the nature of the relief requested, no other or further notice is required.

                                       NO PRIOR REQUEST

          26.    No prior motion for the relief requested herein has been made in this or any other

 court.




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        WHEREFORE, the Debtor respectfully requests that the Court enter the Order,

 substantially in the form attached hereto as Exhibit A, authorizing the Debtor to reject the

 Rejection Contracts and granting such other and further relief as the Court deems appropriate.

  Dated: April 8, 2022                            Respectfully submitted,
         Columbus, Ohio
                                                  /s/ David M. Whittaker
                                                  David M. Whittaker (0019307)
                                                  Philip K. Stovall (0090916)
                                                  ISAAC WILES & BURKHOLDER, LLC
                                                  Two Miranova Place, Suite 700
                                                  Columbus, Ohio 43215-5098
                                                  Tel: (614) 221-2121
                                                  Fax: (614) 365-9516
                                                  Email: dwhittaker@isaacwiles.com
                                                         pstovall@isaacwiles.com

                                                  - and –

                                                  Darren Azman (admitted pro hac vice)
                                                  Natalie Rowles (admitted pro hac vice)
                                                  MCDERMOTT WILL & EMERY LLP
                                                  One Vanderbilt Avenue
                                                  New York, New York 10017-3852
                                                  Tel: (212) 547-5400
                                                  Fax: (212) 547-5444
                                                  Email: dazman@mwe.com
                                                         nrowles@mwe.com

                                                  Proposed Counsel to the Debtor




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                                    Exhibit A

                                 Proposed Order
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                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

                                                               )
     In re:                                                    )        Chapter 11
                                                               )
     VOLUNTEER ENERGY SERVICES, INC.,                          )        Case No. 22-50804
                                                               )
                                         Debtor.1              )        Judge C. Kathryn Preston
                                                               )

                  ORDER (I) AUTHORIZING AND APPROVING THE REJECTION
                   OF CERTAIN EXECUTORY CONTRACTS AND (II) WAIVING
                    THE REQUIREMENTS OF BANKRUPTCY RULE 6006(f)(6)
                               [RELATED TO DOCKET NO. [__]]

              Upon the motion (Doc. __) (the “Motion”)2 of the Debtor for entry of an order (this

 “Order”): (a) authorizing the Debtor to reject the Rejection Contracts pursuant to 11 U.S.C.

 § 365; and (b) waiving the requirements of Bankruptcy Rule 6006(f)(6), all as more fully set

 forth in the Motion; and this Court having reviewed the Motion and having heard the statements



 1
       The last four digits of the Debtor’s federal tax identification are (2693), and the address of the Debtor’s
       corporate headquarters is 790 Windmiller Drive, Pickerington, Ohio 43147.
 2
       Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.
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 in support of the relief requested therein at a hearing before the Court; and upon consideration of

 the First Day Declaration; and this Court having jurisdiction over this matter pursuant to 28

 U.S.C. §§ 157 and 1334 and the Standing Order of Reference entered in this District; and the

 matter being a core proceeding within the meaning of 28 U.S.C. § 157(b)(2); and venue of this

 proceeding and the Motion in this District being proper pursuant to 28 U.S.C. §§ 1408 and 1409;

 and the Court being able to issue a final order consistent with Article III of the United States

 Constitution; and due and sufficient notice of the Motion having been given under the particular

 circumstances; and it appearing that no other or further notice is necessary; and it appearing that

 the relief requested in the Motion is in the best interests of the Debtor, its estate, creditors, and

 other parties in interest; and after due deliberation thereon; and good and sufficient cause

 appearing therefor; it is hereby

         ORDERED, ADJUDGED, AND DECREED that:

         1.      The Motion is granted as set forth herein.

         2.      The Rejection Contracts, as identified on Exhibits B-G to the Motion, are

 rejected under Bankruptcy Code section 365, effective as of the Petition Date.

         3.      The requirements of Bankruptcy Rule 6006(f)(6) are hereby waived for the

 purposes of the Motion.

         4.      The Debtor is authorized, but not directed, to take actions in connection with the

 rejection of the Rejection Contracts to return the accounts associated with such Rejection

 Contracts to default service (however defined under applicable state law or by the applicable

 electric utility or natural gas local distribution company) at the applicable electric utility, natural

 gas local distribution company, or, to the extent required by state law, such other electric or gas

 company providing such service.




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        5.        The deadline for any Counterparty to a Rejection Contract to file a proof of claim

 based on rejection of such Rejection Contract is the date that is 35 days after the date of entry

 of this Order.

        6.        The Debtor and its claims and noticing agent are authorized to take all actions

 necessary to effectuate the relief granted pursuant to this Order.

        7.        Within two business days of entry of this Order, the Debtor shall serve a copy of

 this Order on each party affected by this Order, the U.S. Trustee for the Southern District of

 Ohio, counsel to PNC Bank, National Association, the creditors’ committee appointed in this

 Chapter 11 Case, and the Debtor’s claims and noticing agent. The Debtor shall file a certificate

 of service to evidence compliance with this provision.

        8.        This Order shall be effective and enforceable immediately upon entry hereof.

        9.        The Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, or enforcement of this Order.

        SO ORDERED.



 Copies to: Default List




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                                   EXHIBIT B

                        Schedule of Electric Agg Agreements
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           S. No.                       Name            State            Type
                 1 Ballville Township                  OH       Electric Aggregation
                 2 Blooming Grove Township             OH       Electric Aggregation
                 3 Butler Township (Richland Co)       OH       Electric Aggregation
                 4 City of Campbell                    OH       Electric Aggregation
                 5 City of Girard                      OH       Electric Aggregation
                 6 Concord Township                    OH       Electric Aggregation
                 7 Green Creek Township                OH       Electric Aggregation
                 8 Green Township                      OH       Electric Aggregation
                 9 Harrison Township                   OH       Electric Aggregation
                10 Jackson Township                    OH       Electric Aggregation
                11 Jefferson Township (Richland Co)    OH       Electric Aggregation
                12 Lawrence Township                   OH       Electric Aggregation
                13 Madison Township (Franklin Co)      OH       Electric Aggregation
                14 Mill Township                       OH       Electric Aggregation
                15 Montgomery Township                 OH       Electric Aggregation
                16 Orange Township                     OH       Electric Aggregation
                17 Prairie Township                    OH       Electric Aggregation
                18 Sandusky Township                   OH       Electric Aggregation
                19 Springfield Township                OH       Electric Aggregation
                20 Steubenville Township               OH       Electric Aggregation
                21 Sugarcreek Township (Stark Co)      OH       Electric Aggregation
                22 Townsend Township                   OH       Electric Aggregation
                23 Union Township (Licking Co)         OH       Electric Aggregation
                24 Village of Cadiz                    OH       Electric Aggregation
                25 Village of Elida                    OH       Electric Aggregation
                26 Village of Minerva                  OH       Electric Aggregation
                27 Village of Polk                     OH       Electric Aggregation
                28 Village of St. Henry                OH       Electric Aggregation
                29 Village of Sunbury                  OH       Electric Aggregation
                30 Village of Wintersville             OH       Electric Aggregation
                31 Washington Township (Richland Co)   OH       Electric Aggregation
                32 Washington Township (Sandusky Co)   OH       Electric Aggregation
                33 Weller Township                     OH       Electric Aggregation
                34 York Township                       OH       Electric Aggregation
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                                    EXHIBIT C

                     Schedule of Customer Electric Agg Contracts
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621000042922           Electric       Gov. Aggregation   AEP - OP      00140060776560642           Electric       Gov. Aggregation
AEP - CSP     00040621000065534           Electric       Gov. Aggregation   AEP - OP      00140060776613502           Electric       Gov. Aggregation
AEP - CSP     00040621000185425           Electric       Gov. Aggregation   AEP - OP      00140060776720103           Electric       Gov. Aggregation
AEP - CSP     00040621000185463           Electric       Gov. Aggregation   AEP - OP      00140060776724001           Electric       Gov. Aggregation
AEP - CSP     00040621000215315           Electric       Gov. Aggregation   AEP - OP      00140060776771324           Electric       Gov. Aggregation
AEP - CSP     00040621000510374           Electric       Gov. Aggregation   AEP - OP      00140060761713285           Electric       Gov. Aggregation
AEP - CSP     00040621000515293           Electric       Gov. Aggregation   AEP - OP      00140060761960462           Electric       Gov. Aggregation
AEP - CSP     00040621000534943           Electric       Gov. Aggregation   AEP - OP      00140060761962992           Electric       Gov. Aggregation
AEP - CSP     00040621000586251           Electric       Gov. Aggregation   AEP - OP      00140060762004853           Electric       Gov. Aggregation
AEP - CSP     00040621000619094           Electric       Gov. Aggregation   AEP - OP      00140060762079601           Electric       Gov. Aggregation
AEP - CSP     00040621000638334           Electric       Gov. Aggregation   AEP - OP      00140060762119673           Electric       Gov. Aggregation
AEP - CSP     00040621000732131           Electric       Gov. Aggregation   AEP - OP      00140060762180771           Electric       Gov. Aggregation
AEP - CSP     00040621000739523           Electric       Gov. Aggregation   AEP - OP      00140060767029470           Electric       Gov. Aggregation
AEP - CSP     00040621001054251           Electric       Gov. Aggregation   AEP - OP      00140060767101043           Electric       Gov. Aggregation
AEP - CSP     00040621001248384           Electric       Gov. Aggregation   AEP - OP      00140060767302821           Electric       Gov. Aggregation
AEP - CSP     00040621001321903           Electric       Gov. Aggregation   AEP - OP      00140060767439821           Electric       Gov. Aggregation
AEP - CSP     00040621001355543           Electric       Gov. Aggregation   AEP - OP      00140060767509214           Electric       Gov. Aggregation
AEP - CSP     00040621001394085           Electric       Gov. Aggregation   AEP - OP      00140060767681325           Electric       Gov. Aggregation
AEP - CSP     00040621001398403           Electric       Gov. Aggregation   AEP - OP      00140060767773894           Electric       Gov. Aggregation
AEP - CSP     00040621001483292           Electric       Gov. Aggregation   AEP - OP      00140060772466411           Electric       Gov. Aggregation
AEP - CSP     00040621001517965           Electric       Gov. Aggregation   AEP - OP      00140060772471090           Electric       Gov. Aggregation
AEP - CSP     00040621001585395           Electric       Gov. Aggregation   AEP - OP      00140060772503682           Electric       Gov. Aggregation
AEP - CSP     00040621001974602           Electric       Gov. Aggregation   AEP - OP      00140060772503694           Electric       Gov. Aggregation
AEP - CSP     00040621002023750           Electric       Gov. Aggregation   AEP - OP      00140060772513085           Electric       Gov. Aggregation
AEP - CSP     00040621002169611           Electric       Gov. Aggregation   AEP - OP      00140060772722221           Electric       Gov. Aggregation
AEP - CSP     00040621002241691           Electric       Gov. Aggregation   AEP - OP      00140060772749121           Electric       Gov. Aggregation
AEP - CSP     00040621002245525           Electric       Gov. Aggregation   AEP - OP      00140060777635912           Electric       Gov. Aggregation
AEP - CSP     00040621002260162           Electric       Gov. Aggregation   AEP - OP      00140060777701371           Electric       Gov. Aggregation
AEP - CSP     00040621002340272           Electric       Gov. Aggregation   AEP - OP      00140060777774492           Electric       Gov. Aggregation
AEP - CSP     00040621002470204           Electric       Gov. Aggregation   AEP - OP      00140060777981663           Electric       Gov. Aggregation
AEP - CSP     00040621002551871           Electric       Gov. Aggregation   AEP - OP      00140060778108255           Electric       Gov. Aggregation
AEP - CSP     00040621002582874           Electric       Gov. Aggregation   AEP - OP      00140060778208185           Electric       Gov. Aggregation
AEP - CSP     00040621002776192           Electric       Gov. Aggregation   AEP - OP      00140060778234421           Electric       Gov. Aggregation
AEP - CSP     00040621002783973           Electric       Gov. Aggregation   AEP - OP      00140060776497884           Electric       Gov. Aggregation
AEP - CSP     00040621002954951           Electric       Gov. Aggregation   AEP - OP      00140060776544103           Electric       Gov. Aggregation
AEP - CSP     00040621002956861           Electric       Gov. Aggregation   AEP - OP      00140060776614891           Electric       Gov. Aggregation
AEP - CSP     00040621003024642           Electric       Gov. Aggregation   AEP - OP      00140060776660283           Electric       Gov. Aggregation
AEP - CSP     00040621003035855           Electric       Gov. Aggregation   AEP - OP      00140060776663950           Electric       Gov. Aggregation
AEP - CSP     00040621000030233           Electric       Gov. Aggregation   AEP - OP      00140060776772292           Electric       Gov. Aggregation
AEP - CSP     00040621000119921           Electric       Gov. Aggregation   AEP - OP      00140060777027883           Electric       Gov. Aggregation
AEP - CSP     00040621000135955           Electric       Gov. Aggregation   AEP - OP      00140060761657843           Electric       Gov. Aggregation
AEP - CSP     00040621000294603           Electric       Gov. Aggregation   AEP - OP      00140060761775963           Electric       Gov. Aggregation
AEP - CSP     00040621000301772           Electric       Gov. Aggregation   AEP - OP      00140060761837055           Electric       Gov. Aggregation
AEP - CSP     00040621000506033           Electric       Gov. Aggregation   AEP - OP      00140060761839984           Electric       Gov. Aggregation
AEP - CSP     00040621000562014           Electric       Gov. Aggregation   AEP - OP      00140060761853761           Electric       Gov. Aggregation
AEP - CSP     00040621003245365           Electric       Gov. Aggregation   AEP - OP      00140060761898255           Electric       Gov. Aggregation
AEP - CSP     00040621003276905           Electric       Gov. Aggregation   AEP - OP      00140060761956333           Electric       Gov. Aggregation
AEP - CSP     00040621003440813           Electric       Gov. Aggregation   AEP - OP      00140060776904924           Electric       Gov. Aggregation
AEP - CSP     00040621003484463           Electric       Gov. Aggregation   AEP - OP      00140060776909962           Electric       Gov. Aggregation
AEP - CSP     00040621003712254           Electric       Gov. Aggregation   AEP - OP      00140060776917260           Electric       Gov. Aggregation
AEP - CSP     00040621003875863           Electric       Gov. Aggregation   AEP - OP      00140060776979783           Electric       Gov. Aggregation
AEP - CSP     00040621003882530           Electric       Gov. Aggregation   AEP - OP      00140060777012781           Electric       Gov. Aggregation
AEP - CSP     00040621000587670           Electric       Gov. Aggregation   AEP - OP      00140060777039170           Electric       Gov. Aggregation
AEP - CSP     00040621000613710           Electric       Gov. Aggregation   AEP - OP      00140060777110091           Electric       Gov. Aggregation
AEP - CSP     00040621000771655           Electric       Gov. Aggregation   AEP - OP      00140060767821843           Electric       Gov. Aggregation
AEP - CSP     00040621000907075           Electric       Gov. Aggregation   AEP - OP      00140060767958034           Electric       Gov. Aggregation
AEP - CSP     00040621000998670           Electric       Gov. Aggregation   AEP - OP      00140060767985875           Electric       Gov. Aggregation
AEP - CSP     00040621001137765           Electric       Gov. Aggregation   AEP - OP      00140060768034183           Electric       Gov. Aggregation
AEP - CSP     00040621003928002           Electric       Gov. Aggregation   AEP - OP      00140060768245852           Electric       Gov. Aggregation
AEP - CSP     00040621004001690           Electric       Gov. Aggregation   AEP - OP      00140060768287415           Electric       Gov. Aggregation
AEP - CSP     00040621004122094           Electric       Gov. Aggregation   AEP - OP      00140060772823823           Electric       Gov. Aggregation
AEP - CSP     00040621004143575           Electric       Gov. Aggregation   AEP - OP      00140060772827162           Electric       Gov. Aggregation
AEP - CSP     00040621004268392           Electric       Gov. Aggregation   AEP - OP      00140060772951080           Electric       Gov. Aggregation
AEP - CSP     00040621004269855           Electric       Gov. Aggregation   AEP - OP      00140060773020514           Electric       Gov. Aggregation
AEP - CSP     00040621004353801           Electric       Gov. Aggregation   AEP - OP      00140060773020821           Electric       Gov. Aggregation
AEP - CSP     00040621001201354           Electric       Gov. Aggregation   AEP - OP      00140060773022195           Electric       Gov. Aggregation
AEP - CSP     00040621001227663           Electric       Gov. Aggregation   AEP - OP      00140060773109033           Electric       Gov. Aggregation
AEP - CSP     00040621001246084           Electric       Gov. Aggregation   AEP - OP      00140060778266834           Electric       Gov. Aggregation
AEP - CSP     00040621001294971           Electric       Gov. Aggregation   AEP - OP      00140060778289651           Electric       Gov. Aggregation
AEP - CSP     00040621001687304           Electric       Gov. Aggregation   AEP - OP      00140060778369550           Electric       Gov. Aggregation
AEP - CSP     00040621001775210           Electric       Gov. Aggregation   AEP - OP      00140060778435880           Electric       Gov. Aggregation
AEP - CSP     00040621001786820           Electric       Gov. Aggregation   AEP - OP      00140060778557505           Electric       Gov. Aggregation
AEP - CSP     00040621004448013           Electric       Gov. Aggregation   AEP - OP      00140060778908593           Electric       Gov. Aggregation
AEP - CSP     00040621004452033           Electric       Gov. Aggregation   AEP - OP      00140060778963840           Electric       Gov. Aggregation
AEP - CSP     00040621004454590           Electric       Gov. Aggregation   AEP - OP      00140060777056072           Electric       Gov. Aggregation
AEP - CSP     00040621004533221           Electric       Gov. Aggregation   AEP - OP      00140060777070353           Electric       Gov. Aggregation
AEP - CSP     00040621004834163           Electric       Gov. Aggregation   AEP - OP      00140060777075202           Electric       Gov. Aggregation
AEP - CSP     00040621004957894           Electric       Gov. Aggregation   AEP - OP      00140060777082484           Electric       Gov. Aggregation
AEP - CSP     00040621005004164           Electric       Gov. Aggregation   AEP - OP      00140060777200881           Electric       Gov. Aggregation
AEP - CSP     00040621001793101           Electric       Gov. Aggregation   AEP - OP      00140060777288363           Electric       Gov. Aggregation
AEP - CSP     00040621001981564           Electric       Gov. Aggregation   AEP - OP      00140060762079235           Electric       Gov. Aggregation
AEP - CSP     00040621002034644           Electric       Gov. Aggregation   AEP - OP      00140060762221312           Electric       Gov. Aggregation
AEP - CSP     00040621002073623           Electric       Gov. Aggregation   AEP - OP      00140060762329215           Electric       Gov. Aggregation
AEP - CSP     00040621002326224           Electric       Gov. Aggregation   AEP - OP      00140060762385040           Electric       Gov. Aggregation
AEP - CSP     00040621002545334           Electric       Gov. Aggregation   AEP - OP      00140060762546442           Electric       Gov. Aggregation
AEP - CSP     00040621002565424           Electric       Gov. Aggregation   AEP - OP      00140060762664575           Electric       Gov. Aggregation
AEP - CSP     00040621005043110           Electric       Gov. Aggregation   AEP - OP      00140060764168105           Electric       Gov. Aggregation
AEP - CSP     00040621005044431           Electric       Gov. Aggregation   AEP - OP      00140060764184612           Electric       Gov. Aggregation
AEP - CSP     00040621005121550           Electric       Gov. Aggregation   AEP - OP      00140060764304175           Electric       Gov. Aggregation
AEP - CSP     00040621005399675           Electric       Gov. Aggregation   AEP - OP      00140060764562514           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621005672650           Electric       Gov. Aggregation   AEP - OP      00140060764602595           Electric       Gov. Aggregation
AEP - CSP     00040621005863874           Electric       Gov. Aggregation   AEP - OP      00140060764605931           Electric       Gov. Aggregation
AEP - CSP     00040621005936893           Electric       Gov. Aggregation   AEP - OP      00140060764698675           Electric       Gov. Aggregation
AEP - CSP     00040621002617745           Electric       Gov. Aggregation   AEP - OP      00140060777222745           Electric       Gov. Aggregation
AEP - CSP     00040621002638565           Electric       Gov. Aggregation   AEP - OP      00140060777239494           Electric       Gov. Aggregation
AEP - CSP     00040621002643685           Electric       Gov. Aggregation   AEP - OP      00140060777243212           Electric       Gov. Aggregation
AEP - CSP     00040621002674292           Electric       Gov. Aggregation   AEP - OP      00140060777355125           Electric       Gov. Aggregation
AEP - CSP     00040621002677862           Electric       Gov. Aggregation   AEP - OP      00140060777645442           Electric       Gov. Aggregation
AEP - CSP     00040621002774312           Electric       Gov. Aggregation   AEP - OP      00140060777674375           Electric       Gov. Aggregation
AEP - CSP     00040621002917253           Electric       Gov. Aggregation   AEP - OP      00140060777725024           Electric       Gov. Aggregation
AEP - CSP     00040621005978845           Electric       Gov. Aggregation   AEP - OP      00140060762269652           Electric       Gov. Aggregation
AEP - CSP     00040621006132343           Electric       Gov. Aggregation   AEP - OP      00140060762329215           Electric       Gov. Aggregation
AEP - CSP     00040621006241065           Electric       Gov. Aggregation   AEP - OP      00140060762335601           Electric       Gov. Aggregation
AEP - CSP     00040621006258401           Electric       Gov. Aggregation   AEP - OP      00140060762395732           Electric       Gov. Aggregation
AEP - CSP     00040621006381802           Electric       Gov. Aggregation   AEP - OP      00140060762397875           Electric       Gov. Aggregation
AEP - CSP     00040621006411381           Electric       Gov. Aggregation   AEP - OP      00140060762400682           Electric       Gov. Aggregation
AEP - CSP     00040621002975721           Electric       Gov. Aggregation   AEP - OP      00140060762481353           Electric       Gov. Aggregation
AEP - CSP     00040621003270761           Electric       Gov. Aggregation   AEP - OP      00140060777735790           Electric       Gov. Aggregation
AEP - CSP     00040621003336272           Electric       Gov. Aggregation   AEP - OP      00140060777808654           Electric       Gov. Aggregation
AEP - CSP     00040621003435173           Electric       Gov. Aggregation   AEP - OP      00140060777830651           Electric       Gov. Aggregation
AEP - CSP     00040621003445391           Electric       Gov. Aggregation   AEP - OP      00140060777875482           Electric       Gov. Aggregation
AEP - CSP     00040621003518474           Electric       Gov. Aggregation   AEP - OP      00140060777898772           Electric       Gov. Aggregation
AEP - CSP     00040621003621235           Electric       Gov. Aggregation   AEP - OP      00140060777964103           Electric       Gov. Aggregation
AEP - CSP     00040621003652961           Electric       Gov. Aggregation   AEP - OP      00140060768306034           Electric       Gov. Aggregation
AEP - CSP     00040621003671612           Electric       Gov. Aggregation   AEP - OP      00140060768442022           Electric       Gov. Aggregation
AEP - CSP     00040621003811160           Electric       Gov. Aggregation   AEP - OP      00140060768451922           Electric       Gov. Aggregation
AEP - CSP     00040621003827035           Electric       Gov. Aggregation   AEP - OP      00140060768929553           Electric       Gov. Aggregation
AEP - CSP     00040621003887835           Electric       Gov. Aggregation   AEP - OP      00140060768930865           Electric       Gov. Aggregation
AEP - CSP     00040621003902881           Electric       Gov. Aggregation   AEP - OP      00140060768953972           Electric       Gov. Aggregation
AEP - CSP     00040621003905760           Electric       Gov. Aggregation   AEP - OP      00140060769012171           Electric       Gov. Aggregation
AEP - CSP     00040621003998201           Electric       Gov. Aggregation   AEP - OP      00140060779013252           Electric       Gov. Aggregation
AEP - CSP     00040621004232375           Electric       Gov. Aggregation   AEP - OP      00140060779240535           Electric       Gov. Aggregation
AEP - CSP     00040621004237545           Electric       Gov. Aggregation   AEP - OP      00140060779243044           Electric       Gov. Aggregation
AEP - CSP     00040621004327025           Electric       Gov. Aggregation   AEP - OP      00140060779305961           Electric       Gov. Aggregation
AEP - CSP     00040621004338044           Electric       Gov. Aggregation   AEP - OP      00140060779328885           Electric       Gov. Aggregation
AEP - CSP     00040621004348184           Electric       Gov. Aggregation   AEP - OP      00140060779416033           Electric       Gov. Aggregation
AEP - CSP     00040621004373254           Electric       Gov. Aggregation   AEP - OP      00140060779559070           Electric       Gov. Aggregation
AEP - CSP     00040621004384345           Electric       Gov. Aggregation   AEP - OP      00140060773153841           Electric       Gov. Aggregation
AEP - CSP     00040621004440784           Electric       Gov. Aggregation   AEP - OP      00140060773268990           Electric       Gov. Aggregation
AEP - CSP     00040621004484283           Electric       Gov. Aggregation   AEP - OP      00140060773565163           Electric       Gov. Aggregation
AEP - CSP     00040621004773743           Electric       Gov. Aggregation   AEP - OP      00140060773636771           Electric       Gov. Aggregation
AEP - CSP     00040621005026954           Electric       Gov. Aggregation   AEP - OP      00140060773650751           Electric       Gov. Aggregation
AEP - CSP     00040621005069130           Electric       Gov. Aggregation   AEP - OP      00140060773677945           Electric       Gov. Aggregation
AEP - CSP     00040621005127442           Electric       Gov. Aggregation   AEP - OP      00140060777301984           Electric       Gov. Aggregation
AEP - CSP     00040621000152432           Electric       Gov. Aggregation   AEP - OP      00140060777606275           Electric       Gov. Aggregation
AEP - CSP     00040621000237490           Electric       Gov. Aggregation   AEP - OP      00140060777647123           Electric       Gov. Aggregation
AEP - CSP     00040621000249334           Electric       Gov. Aggregation   AEP - OP      00140060777710430           Electric       Gov. Aggregation
AEP - CSP     00040621000417023           Electric       Gov. Aggregation   AEP - OP      00140060777762123           Electric       Gov. Aggregation
AEP - CSP     00040621000447422           Electric       Gov. Aggregation   AEP - OP      00140060777778135           Electric       Gov. Aggregation
AEP - CSP     00040621000466993           Electric       Gov. Aggregation   AEP - OP      00140060777900240           Electric       Gov. Aggregation
AEP - CSP     00040621000624773           Electric       Gov. Aggregation   AEP - OP      00140060762605574           Electric       Gov. Aggregation
AEP - CSP     00040621000707221           Electric       Gov. Aggregation   AEP - OP      00140060762683175           Electric       Gov. Aggregation
AEP - CSP     00040621000733684           Electric       Gov. Aggregation   AEP - OP      00140060763081291           Electric       Gov. Aggregation
AEP - CSP     00040621000735360           Electric       Gov. Aggregation   AEP - OP      00140060763093100           Electric       Gov. Aggregation
AEP - CSP     00040621000885985           Electric       Gov. Aggregation   AEP - OP      00140060763142841           Electric       Gov. Aggregation
AEP - CSP     00040621000909005           Electric       Gov. Aggregation   AEP - OP      00140060763247762           Electric       Gov. Aggregation
AEP - CSP     00040621000943815           Electric       Gov. Aggregation   AEP - OP      00140060763352851           Electric       Gov. Aggregation
AEP - CSP     00040621000961191           Electric       Gov. Aggregation   AEP - OP      00140060762685572           Electric       Gov. Aggregation
AEP - CSP     00040621001003715           Electric       Gov. Aggregation   AEP - OP      00140060762825941           Electric       Gov. Aggregation
AEP - CSP     00040621001144401           Electric       Gov. Aggregation   AEP - OP      00140060762865400           Electric       Gov. Aggregation
AEP - CSP     00040621001145561           Electric       Gov. Aggregation   AEP - OP      00140060762907561           Electric       Gov. Aggregation
AEP - CSP     00040621001261891           Electric       Gov. Aggregation   AEP - OP      00140060762914990           Electric       Gov. Aggregation
AEP - CSP     00040621000049584           Electric       Gov. Aggregation   AEP - OP      00140060762927382           Electric       Gov. Aggregation
AEP - CSP     00040621000148675           Electric       Gov. Aggregation   AEP - OP      00140060762954044           Electric       Gov. Aggregation
AEP - CSP     00040621000349522           Electric       Gov. Aggregation   AEP - OP      00140060769074301           Electric       Gov. Aggregation
AEP - CSP     00040621000801314           Electric       Gov. Aggregation   AEP - OP      00140060769104982           Electric       Gov. Aggregation
AEP - CSP     00040621000909933           Electric       Gov. Aggregation   AEP - OP      00140060769133210           Electric       Gov. Aggregation
AEP - CSP     00040621001332701           Electric       Gov. Aggregation   AEP - OP      00140060769199602           Electric       Gov. Aggregation
AEP - CSP     00040621001395524           Electric       Gov. Aggregation   AEP - OP      00140060769265251           Electric       Gov. Aggregation
AEP - CSP     00040621001397275           Electric       Gov. Aggregation   AEP - OP      00140060769352533           Electric       Gov. Aggregation
AEP - CSP     00040621001411851           Electric       Gov. Aggregation   AEP - OP      00140060769454970           Electric       Gov. Aggregation
AEP - CSP     00040621001805050           Electric       Gov. Aggregation   AEP - OP      00140060764745600           Electric       Gov. Aggregation
AEP - CSP     00040621001825201           Electric       Gov. Aggregation   AEP - OP      00140060764768352           Electric       Gov. Aggregation
AEP - CSP     00040621002029231           Electric       Gov. Aggregation   AEP - OP      00140060764846143           Electric       Gov. Aggregation
AEP - CSP     00040621001197672           Electric       Gov. Aggregation   AEP - OP      00140060764965393           Electric       Gov. Aggregation
AEP - CSP     00040621001221921           Electric       Gov. Aggregation   AEP - OP      00140060765017213           Electric       Gov. Aggregation
AEP - CSP     00040621001276951           Electric       Gov. Aggregation   AEP - OP      00140060765046324           Electric       Gov. Aggregation
AEP - CSP     00040621001434025           Electric       Gov. Aggregation   AEP - OP      00140060778385611           Electric       Gov. Aggregation
AEP - CSP     00040621001441282           Electric       Gov. Aggregation   AEP - OP      00140060778598882           Electric       Gov. Aggregation
AEP - CSP     00040621001581432           Electric       Gov. Aggregation   AEP - OP      00140060778691665           Electric       Gov. Aggregation
AEP - CSP     00040621001875551           Electric       Gov. Aggregation   AEP - OP      00140060778743934           Electric       Gov. Aggregation
AEP - CSP     00040621002097864           Electric       Gov. Aggregation   AEP - OP      00140060778772161           Electric       Gov. Aggregation
AEP - CSP     00040621002186343           Electric       Gov. Aggregation   AEP - OP      00140060778837283           Electric       Gov. Aggregation
AEP - CSP     00040621002222062           Electric       Gov. Aggregation   AEP - OP      00140060779626681           Electric       Gov. Aggregation
AEP - CSP     00040621002283214           Electric       Gov. Aggregation   AEP - OP      00140060779682271           Electric       Gov. Aggregation
AEP - CSP     00040621002305135           Electric       Gov. Aggregation   AEP - OP      00140060779921182           Electric       Gov. Aggregation
AEP - CSP     00040621002558755           Electric       Gov. Aggregation   AEP - OP      00140060780276954           Electric       Gov. Aggregation
AEP - CSP     00040621002569175           Electric       Gov. Aggregation   AEP - OP      00140060780359781           Electric       Gov. Aggregation
AEP - CSP     00040621002118235           Electric       Gov. Aggregation   AEP - OP      00140060780504532           Electric       Gov. Aggregation
AEP - CSP     00040621002118281           Electric       Gov. Aggregation   AEP - OP      00140060773700291           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621002167871           Electric       Gov. Aggregation   AEP - OP      00140060773850192           Electric       Gov. Aggregation
AEP - CSP     00040621002281443           Electric       Gov. Aggregation   AEP - OP      00140060773882814           Electric       Gov. Aggregation
AEP - CSP     00040621002432492           Electric       Gov. Aggregation   AEP - OP      00140060774230330           Electric       Gov. Aggregation
AEP - CSP     00040621002482393           Electric       Gov. Aggregation   AEP - OP      00140060774312511           Electric       Gov. Aggregation
AEP - CSP     00040621002548573           Electric       Gov. Aggregation   AEP - OP      00140060774353923           Electric       Gov. Aggregation
AEP - CSP     00040621002592550           Electric       Gov. Aggregation   AEP - OP      00140060774414523           Electric       Gov. Aggregation
AEP - CSP     00040621002719151           Electric       Gov. Aggregation   AEP - OP      00140060777950643           Electric       Gov. Aggregation
AEP - CSP     00040621002736530           Electric       Gov. Aggregation   AEP - OP      00140060777957384           Electric       Gov. Aggregation
AEP - CSP     00040621002740374           Electric       Gov. Aggregation   AEP - OP      00140060777992142           Electric       Gov. Aggregation
AEP - CSP     00040621002791013           Electric       Gov. Aggregation   AEP - OP      00140060778097515           Electric       Gov. Aggregation
AEP - CSP     00040621002828541           Electric       Gov. Aggregation   AEP - OP      00140060778154271           Electric       Gov. Aggregation
AEP - CSP     00040621002855153           Electric       Gov. Aggregation   AEP - OP      00140060778299852           Electric       Gov. Aggregation
AEP - CSP     00040621002569300           Electric       Gov. Aggregation   AEP - OP      00140060778313202           Electric       Gov. Aggregation
AEP - CSP     00040621003025215           Electric       Gov. Aggregation   AEP - OP      00140060763378590           Electric       Gov. Aggregation
AEP - CSP     00040621003161641           Electric       Gov. Aggregation   AEP - OP      00140060763487871           Electric       Gov. Aggregation
AEP - CSP     00040621003199740           Electric       Gov. Aggregation   AEP - OP      00140060763527500           Electric       Gov. Aggregation
AEP - CSP     00040621003201482           Electric       Gov. Aggregation   AEP - OP      00140060763622130           Electric       Gov. Aggregation
AEP - CSP     00040621003262932           Electric       Gov. Aggregation   AEP - OP      00140060763648613           Electric       Gov. Aggregation
AEP - CSP     00040621003349725           Electric       Gov. Aggregation   AEP - OP      00140060763724380           Electric       Gov. Aggregation
AEP - CSP     00040621003031195           Electric       Gov. Aggregation   AEP - OP      00140060763008435           Electric       Gov. Aggregation
AEP - CSP     00040621003063721           Electric       Gov. Aggregation   AEP - OP      00140060763031862           Electric       Gov. Aggregation
AEP - CSP     00040621003095133           Electric       Gov. Aggregation   AEP - OP      00140060763073331           Electric       Gov. Aggregation
AEP - CSP     00040621003182580           Electric       Gov. Aggregation   AEP - OP      00140060763128855           Electric       Gov. Aggregation
AEP - CSP     00040621003183111           Electric       Gov. Aggregation   AEP - OP      00140060763280920           Electric       Gov. Aggregation
AEP - CSP     00040621003331153           Electric       Gov. Aggregation   AEP - OP      00140060763325911           Electric       Gov. Aggregation
AEP - CSP     00040621003341964           Electric       Gov. Aggregation   AEP - OP      00140060763349823           Electric       Gov. Aggregation
AEP - CSP     00040621003547145           Electric       Gov. Aggregation   AEP - OP      00140060769510314           Electric       Gov. Aggregation
AEP - CSP     00040621003581934           Electric       Gov. Aggregation   AEP - OP      00140060769513823           Electric       Gov. Aggregation
AEP - CSP     00040621003584681           Electric       Gov. Aggregation   AEP - OP      00140060769518585           Electric       Gov. Aggregation
AEP - CSP     00040621003660813           Electric       Gov. Aggregation   AEP - OP      00140060769558625           Electric       Gov. Aggregation
AEP - CSP     00040621003702774           Electric       Gov. Aggregation   AEP - OP      00140060769588350           Electric       Gov. Aggregation
AEP - CSP     00040621003803222           Electric       Gov. Aggregation   AEP - OP      00140060769671135           Electric       Gov. Aggregation
AEP - CSP     00040621003428680           Electric       Gov. Aggregation   AEP - OP      00140060769703470           Electric       Gov. Aggregation
AEP - CSP     00040621003514193           Electric       Gov. Aggregation   AEP - OP      00140060765075704           Electric       Gov. Aggregation
AEP - CSP     00040621003689664           Electric       Gov. Aggregation   AEP - OP      00140060765089964           Electric       Gov. Aggregation
AEP - CSP     00040621003793215           Electric       Gov. Aggregation   AEP - OP      00140060765267222           Electric       Gov. Aggregation
AEP - CSP     00040621004096375           Electric       Gov. Aggregation   AEP - OP      00140060765302342           Electric       Gov. Aggregation
AEP - CSP     00040621004195962           Electric       Gov. Aggregation   AEP - OP      00140060765399384           Electric       Gov. Aggregation
AEP - CSP     00040621004229601           Electric       Gov. Aggregation   AEP - OP      00140060765513273           Electric       Gov. Aggregation
AEP - CSP     00040621004124133           Electric       Gov. Aggregation   AEP - OP      00140060765594422           Electric       Gov. Aggregation
AEP - CSP     00040621004246324           Electric       Gov. Aggregation   AEP - OP      00140060779196731           Electric       Gov. Aggregation
AEP - CSP     00040621004481811           Electric       Gov. Aggregation   AEP - OP      00140060779210555           Electric       Gov. Aggregation
AEP - CSP     00040621004576175           Electric       Gov. Aggregation   AEP - OP      00140060779315825           Electric       Gov. Aggregation
AEP - CSP     00040621004713125           Electric       Gov. Aggregation   AEP - OP      00140060779440385           Electric       Gov. Aggregation
AEP - CSP     00040621004757843           Electric       Gov. Aggregation   AEP - OP      00140060779461990           Electric       Gov. Aggregation
AEP - CSP     00040621004799270           Electric       Gov. Aggregation   AEP - OP      00140060779531634           Electric       Gov. Aggregation
AEP - CSP     00040621000083935           Electric       Gov. Aggregation   AEP - OP      00140060779547775           Electric       Gov. Aggregation
AEP - CSP     00040621000142345           Electric       Gov. Aggregation   AEP - OP      00140060780566360           Electric       Gov. Aggregation
AEP - CSP     00040621000305083           Electric       Gov. Aggregation   AEP - OP      00140060780580475           Electric       Gov. Aggregation
AEP - CSP     00040621000473903           Electric       Gov. Aggregation   AEP - OP      00140060780646024           Electric       Gov. Aggregation
AEP - CSP     00040621000630833           Electric       Gov. Aggregation   AEP - OP      00140060780739101           Electric       Gov. Aggregation
AEP - CSP     00040621000905405           Electric       Gov. Aggregation   AEP - OP      00140060780744293           Electric       Gov. Aggregation
AEP - CSP     00040621004477964           Electric       Gov. Aggregation   AEP - OP      00140060780767924           Electric       Gov. Aggregation
AEP - CSP     00040621004483965           Electric       Gov. Aggregation   AEP - OP      00140060780866642           Electric       Gov. Aggregation
AEP - CSP     00040621004573333           Electric       Gov. Aggregation   AEP - OP      00140060774441611           Electric       Gov. Aggregation
AEP - CSP     00040621004702404           Electric       Gov. Aggregation   AEP - OP      00140060774448412           Electric       Gov. Aggregation
AEP - CSP     00040621004707462           Electric       Gov. Aggregation   AEP - OP      00140060774562864           Electric       Gov. Aggregation
AEP - CSP     00040621004747071           Electric       Gov. Aggregation   AEP - OP      00140060774584015           Electric       Gov. Aggregation
AEP - CSP     00040621004800713           Electric       Gov. Aggregation   AEP - OP      00140060774631472           Electric       Gov. Aggregation
AEP - CSP     00040621005165700           Electric       Gov. Aggregation   AEP - OP      00140060774734353           Electric       Gov. Aggregation
AEP - CSP     00040621005211134           Electric       Gov. Aggregation   AEP - OP      00140060775054760           Electric       Gov. Aggregation
AEP - CSP     00040621005264805           Electric       Gov. Aggregation   AEP - OP      00140060778444982           Electric       Gov. Aggregation
AEP - CSP     00040621005437504           Electric       Gov. Aggregation   AEP - OP      00140060778471132           Electric       Gov. Aggregation
AEP - CSP     00040621005520712           Electric       Gov. Aggregation   AEP - OP      00140060778555913           Electric       Gov. Aggregation
AEP - CSP     00040621000953825           Electric       Gov. Aggregation   AEP - OP      00140060778632663           Electric       Gov. Aggregation
AEP - CSP     00040621000979250           Electric       Gov. Aggregation   AEP - OP      00140060778693230           Electric       Gov. Aggregation
AEP - CSP     00040621001137622           Electric       Gov. Aggregation   AEP - OP      00140060778710713           Electric       Gov. Aggregation
AEP - CSP     00040621001174332           Electric       Gov. Aggregation   AEP - OP      00140060763381264           Electric       Gov. Aggregation
AEP - CSP     00040621001229623           Electric       Gov. Aggregation   AEP - OP      00140060763430064           Electric       Gov. Aggregation
AEP - CSP     00040621001272333           Electric       Gov. Aggregation   AEP - OP      00140060763634975           Electric       Gov. Aggregation
AEP - CSP     00040621001401724           Electric       Gov. Aggregation   AEP - OP      00140060763657854           Electric       Gov. Aggregation
AEP - CSP     00040621005571001           Electric       Gov. Aggregation   AEP - OP      00140060763722530           Electric       Gov. Aggregation
AEP - CSP     00040621005600453           Electric       Gov. Aggregation   AEP - OP      00140060763744662           Electric       Gov. Aggregation
AEP - CSP     00040621005846095           Electric       Gov. Aggregation   AEP - OP      00140060763816120           Electric       Gov. Aggregation
AEP - CSP     00040621005956475           Electric       Gov. Aggregation   AEP - OP      00140060769723354           Electric       Gov. Aggregation
AEP - CSP     00040621006327811           Electric       Gov. Aggregation   AEP - OP      00140060770029971           Electric       Gov. Aggregation
AEP - CSP     00040621006491713           Electric       Gov. Aggregation   AEP - OP      00140060770056863           Electric       Gov. Aggregation
AEP - CSP     00040621004812725           Electric       Gov. Aggregation   AEP - OP      00140060770057281           Electric       Gov. Aggregation
AEP - CSP     00040621004860632           Electric       Gov. Aggregation   AEP - OP      00140060770109675           Electric       Gov. Aggregation
AEP - CSP     00040621005271650           Electric       Gov. Aggregation   AEP - OP      00140060770130681           Electric       Gov. Aggregation
AEP - CSP     00040621005493002           Electric       Gov. Aggregation   AEP - OP      00140060770143573           Electric       Gov. Aggregation
AEP - CSP     00040621005644974           Electric       Gov. Aggregation   AEP - OP      00140060765600125           Electric       Gov. Aggregation
AEP - CSP     00040621005914784           Electric       Gov. Aggregation   AEP - OP      00140060765660725           Electric       Gov. Aggregation
AEP - CSP     00040621005975735           Electric       Gov. Aggregation   AEP - OP      00140060765668874           Electric       Gov. Aggregation
AEP - CSP     00040621006544822           Electric       Gov. Aggregation   AEP - OP      00140060765735380           Electric       Gov. Aggregation
AEP - CSP     00040621006607794           Electric       Gov. Aggregation   AEP - OP      00140060766027835           Electric       Gov. Aggregation
AEP - CSP     00040621006672040           Electric       Gov. Aggregation   AEP - OP      00140060766034784           Electric       Gov. Aggregation
AEP - CSP     00040621006746424           Electric       Gov. Aggregation   AEP - OP      00140060779659633           Electric       Gov. Aggregation
AEP - CSP     00040621006996633           Electric       Gov. Aggregation   AEP - OP      00140060779692031           Electric       Gov. Aggregation
AEP - CSP     00040621007010261           Electric       Gov. Aggregation   AEP - OP      00140060779792411           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621007052480           Electric       Gov. Aggregation   AEP - OP      00140060779827620           Electric       Gov. Aggregation
AEP - CSP     00040621001426830           Electric       Gov. Aggregation   AEP - OP      00140060779873935           Electric       Gov. Aggregation
AEP - CSP     00040621001475614           Electric       Gov. Aggregation   AEP - OP      00140060779997231           Electric       Gov. Aggregation
AEP - CSP     00040621001487954           Electric       Gov. Aggregation   AEP - OP      00140060780007233           Electric       Gov. Aggregation
AEP - CSP     00040621001586690           Electric       Gov. Aggregation   AEP - OP      00140060780929883           Electric       Gov. Aggregation
AEP - CSP     00040621001681750           Electric       Gov. Aggregation   AEP - OP      00140060780979583           Electric       Gov. Aggregation
AEP - CSP     00040621007068465           Electric       Gov. Aggregation   AEP - OP      00140060781096792           Electric       Gov. Aggregation
AEP - CSP     00040621007074412           Electric       Gov. Aggregation   AEP - OP      00140060781235410           Electric       Gov. Aggregation
AEP - CSP     00040621007093374           Electric       Gov. Aggregation   AEP - OP      00140060781272371           Electric       Gov. Aggregation
AEP - CSP     00040621007150170           Electric       Gov. Aggregation   AEP - OP      00140060781422033           Electric       Gov. Aggregation
AEP - CSP     00040621007231604           Electric       Gov. Aggregation   AEP - OP      00140060781712181           Electric       Gov. Aggregation
AEP - CSP     00040621007299625           Electric       Gov. Aggregation   AEP - OP      00140060775072954           Electric       Gov. Aggregation
AEP - CSP     00040621007369000           Electric       Gov. Aggregation   AEP - OP      00140060775096831           Electric       Gov. Aggregation
AEP - CSP     00040621001889543           Electric       Gov. Aggregation   AEP - OP      00140060775181981           Electric       Gov. Aggregation
AEP - CSP     00040621002171143           Electric       Gov. Aggregation   AEP - OP      00140060775235974           Electric       Gov. Aggregation
AEP - CSP     00040621002345305           Electric       Gov. Aggregation   AEP - OP      00140060775286181           Electric       Gov. Aggregation
AEP - CSP     00040621002430790           Electric       Gov. Aggregation   AEP - OP      00140060775482215           Electric       Gov. Aggregation
AEP - CSP     00040621002514344           Electric       Gov. Aggregation   AEP - OP      00140060775504240           Electric       Gov. Aggregation
AEP - CSP     00040621002531661           Electric       Gov. Aggregation   AEP - OP      00140060778791591           Electric       Gov. Aggregation
AEP - CSP     00040621002675670           Electric       Gov. Aggregation   AEP - OP      00140060778884491           Electric       Gov. Aggregation
AEP - CSP     00040621002754724           Electric       Gov. Aggregation   AEP - OP      00140060779048505           Electric       Gov. Aggregation
AEP - CSP     00040621002880383           Electric       Gov. Aggregation   AEP - OP      00140060779307882           Electric       Gov. Aggregation
AEP - CSP     00040621002948955           Electric       Gov. Aggregation   AEP - OP      00140060779515942           Electric       Gov. Aggregation
AEP - CSP     00040621002985345           Electric       Gov. Aggregation   AEP - OP      00140060779562024           Electric       Gov. Aggregation
AEP - CSP     00040621003034600           Electric       Gov. Aggregation   AEP - OP      00140060779710840           Electric       Gov. Aggregation
AEP - CSP     00040621003057783           Electric       Gov. Aggregation   AEP - OP      00140060763940701           Electric       Gov. Aggregation
AEP - CSP     00040621003116364           Electric       Gov. Aggregation   AEP - OP      00140060763956533           Electric       Gov. Aggregation
AEP - CSP     00040621000042504           Electric       Gov. Aggregation   AEP - OP      00140060763965132           Electric       Gov. Aggregation
AEP - CSP     00040621000081034           Electric       Gov. Aggregation   AEP - OP      00140060764108513           Electric       Gov. Aggregation
AEP - CSP     00040621000427502           Electric       Gov. Aggregation   AEP - OP      00140060764185030           Electric       Gov. Aggregation
AEP - CSP     00040621000827465           Electric       Gov. Aggregation   AEP - OP      00140060764237012           Electric       Gov. Aggregation
AEP - CSP     00040621000898645           Electric       Gov. Aggregation   AEP - OP      00140060764371393           Electric       Gov. Aggregation
AEP - CSP     00040621000986572           Electric       Gov. Aggregation   AEP - OP      00140060770167951           Electric       Gov. Aggregation
AEP - CSP     00040621003222754           Electric       Gov. Aggregation   AEP - OP      00140060770291513           Electric       Gov. Aggregation
AEP - CSP     00040621003289120           Electric       Gov. Aggregation   AEP - OP      00140060770299034           Electric       Gov. Aggregation
AEP - CSP     00040621003300380           Electric       Gov. Aggregation   AEP - OP      00140060770397543           Electric       Gov. Aggregation
AEP - CSP     00040621003581535           Electric       Gov. Aggregation   AEP - OP      00140060770505255           Electric       Gov. Aggregation
AEP - CSP     00040621003721010           Electric       Gov. Aggregation   AEP - OP      00140060770511962           Electric       Gov. Aggregation
AEP - CSP     00040621003787872           Electric       Gov. Aggregation   AEP - OP      00140060770637153           Electric       Gov. Aggregation
AEP - CSP     00040621003988795           Electric       Gov. Aggregation   AEP - OP      00140060763852114           Electric       Gov. Aggregation
AEP - CSP     00040621000042715           Electric       Gov. Aggregation   AEP - OP      00140060764031191           Electric       Gov. Aggregation
AEP - CSP     00040621000068885           Electric       Gov. Aggregation   AEP - OP      00140060764053054           Electric       Gov. Aggregation
AEP - CSP     00040621000087555           Electric       Gov. Aggregation   AEP - OP      00140060764148225           Electric       Gov. Aggregation
AEP - CSP     00040621000152670           Electric       Gov. Aggregation   AEP - OP      00140060764208902           Electric       Gov. Aggregation
AEP - CSP     00040621000311771           Electric       Gov. Aggregation   AEP - OP      00140060764362361           Electric       Gov. Aggregation
AEP - CSP     00040621000336072           Electric       Gov. Aggregation   AEP - OP      00140060764377303           Electric       Gov. Aggregation
AEP - CSP     00040621001046132           Electric       Gov. Aggregation   AEP - OP      00140060766059821           Electric       Gov. Aggregation
AEP - CSP     00040621001074555           Electric       Gov. Aggregation   AEP - OP      00140060766104081           Electric       Gov. Aggregation
AEP - CSP     00040621001271291           Electric       Gov. Aggregation   AEP - OP      00140060766155014           Electric       Gov. Aggregation
AEP - CSP     00040621001645731           Electric       Gov. Aggregation   AEP - OP      00140060766156550           Electric       Gov. Aggregation
AEP - CSP     00040621001828395           Electric       Gov. Aggregation   AEP - OP      00140060766246385           Electric       Gov. Aggregation
AEP - CSP     00040621002124321           Electric       Gov. Aggregation   AEP - OP      00140060766469281           Electric       Gov. Aggregation
AEP - CSP     00040621002210281           Electric       Gov. Aggregation   AEP - OP      00140060766511445           Electric       Gov. Aggregation
AEP - CSP     00040621002212504           Electric       Gov. Aggregation   AEP - OP      00140060780058324           Electric       Gov. Aggregation
AEP - CSP     00040621002265054           Electric       Gov. Aggregation   AEP - OP      00140060780213553           Electric       Gov. Aggregation
AEP - CSP     00040621002296811           Electric       Gov. Aggregation   AEP - OP      00140060780306243           Electric       Gov. Aggregation
AEP - CSP     00040621002521401           Electric       Gov. Aggregation   AEP - OP      00140060780418585           Electric       Gov. Aggregation
AEP - CSP     00040621002574250           Electric       Gov. Aggregation   AEP - OP      00140060780435263           Electric       Gov. Aggregation
AEP - CSP     00040621002610770           Electric       Gov. Aggregation   AEP - OP      00140060780443664           Electric       Gov. Aggregation
AEP - CSP     00040621002708813           Electric       Gov. Aggregation   AEP - OP      00140060766525071           Electric       Gov. Aggregation
AEP - CSP     00040621000407204           Electric       Gov. Aggregation   AEP - OP      00140060766644055           Electric       Gov. Aggregation
AEP - CSP     00040621000412242           Electric       Gov. Aggregation   AEP - OP      00140060766662094           Electric       Gov. Aggregation
AEP - CSP     00040621000568490           Electric       Gov. Aggregation   AEP - OP      00140060766717322           Electric       Gov. Aggregation
AEP - CSP     00040621000579605           Electric       Gov. Aggregation   AEP - OP      00140060766730125           Electric       Gov. Aggregation
AEP - CSP     00040621000774325           Electric       Gov. Aggregation   AEP - OP      00140060766819121           Electric       Gov. Aggregation
AEP - CSP     00040621000788215           Electric       Gov. Aggregation   AEP - OP      00140060766826221           Electric       Gov. Aggregation
AEP - CSP     00040621000811543           Electric       Gov. Aggregation   AEP - OP      00140060780573381           Electric       Gov. Aggregation
AEP - CSP     00040621004027221           Electric       Gov. Aggregation   AEP - OP      00140060780763255           Electric       Gov. Aggregation
AEP - CSP     00040621004106742           Electric       Gov. Aggregation   AEP - OP      00140060780812890           Electric       Gov. Aggregation
AEP - CSP     00040621004135213           Electric       Gov. Aggregation   AEP - OP      00140060780847593           Electric       Gov. Aggregation
AEP - CSP     00040621004337071           Electric       Gov. Aggregation   AEP - OP      00140060780868533           Electric       Gov. Aggregation
AEP - CSP     00040621004620213           Electric       Gov. Aggregation   AEP - OP      00140060780888423           Electric       Gov. Aggregation
AEP - CSP     00040621004628603           Electric       Gov. Aggregation   AEP - OP      00140060764409425           Electric       Gov. Aggregation
AEP - CSP     00040621002872370           Electric       Gov. Aggregation   AEP - OP      00140060764450884           Electric       Gov. Aggregation
AEP - CSP     00040621002955394           Electric       Gov. Aggregation   AEP - OP      00140060764486745           Electric       Gov. Aggregation
AEP - CSP     00040621002970083           Electric       Gov. Aggregation   AEP - OP      00140060764588861           Electric       Gov. Aggregation
AEP - CSP     00040621002978682           Electric       Gov. Aggregation   AEP - OP      00140060764593391           Electric       Gov. Aggregation
AEP - CSP     00040621002978740           Electric       Gov. Aggregation   AEP - OP      00140060764732861           Electric       Gov. Aggregation
AEP - CSP     00040621003230934           Electric       Gov. Aggregation   AEP - OP      00140060764755103           Electric       Gov. Aggregation
AEP - CSP     00040621003416793           Electric       Gov. Aggregation   AEP - OP      00140060780930592           Electric       Gov. Aggregation
AEP - CSP     00040621003604755           Electric       Gov. Aggregation   AEP - OP      00140060780947252           Electric       Gov. Aggregation
AEP - CSP     00040621003637480           Electric       Gov. Aggregation   AEP - OP      00140060780968153           Electric       Gov. Aggregation
AEP - CSP     00040621003647841           Electric       Gov. Aggregation   AEP - OP      00140060781003290           Electric       Gov. Aggregation
AEP - CSP     00040621003693241           Electric       Gov. Aggregation   AEP - OP      00140060781069675           Electric       Gov. Aggregation
AEP - CSP     00040621003802640           Electric       Gov. Aggregation   AEP - OP      00140060781168744           Electric       Gov. Aggregation
AEP - CSP     00040621003891440           Electric       Gov. Aggregation   AEP - OP      00140060781216510           Electric       Gov. Aggregation
AEP - CSP     00040621003905092           Electric       Gov. Aggregation   AEP - OP      00140060781720001           Electric       Gov. Aggregation
AEP - CSP     00040621004696342           Electric       Gov. Aggregation   AEP - OP      00140060781747100           Electric       Gov. Aggregation
AEP - CSP     00040621004731793           Electric       Gov. Aggregation   AEP - OP      00140060781924540           Electric       Gov. Aggregation
AEP - CSP     00040621004804595           Electric       Gov. Aggregation   AEP - OP      00140060782029092           Electric       Gov. Aggregation
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      Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP       00040621004814864           Electric       Gov. Aggregation   AEP - OP      00140060782038633           Electric       Gov. Aggregation
AEP - CSP       00040621004871953           Electric       Gov. Aggregation   AEP - OP      00140060782394320           Electric       Gov. Aggregation
AEP - CSP       00040621004942031           Electric       Gov. Aggregation   AEP - OP      00140060782421485           Electric       Gov. Aggregation
AEP - CSP       00040621004980275           Electric       Gov. Aggregation   AEP - OP      00140060764819213           Electric       Gov. Aggregation
AEP - CSP       00040621001019105           Electric       Gov. Aggregation   AEP - OP      00140060764908732           Electric       Gov. Aggregation
AEP - CSP       00040621001047273           Electric       Gov. Aggregation   AEP - OP      00140060764938142           Electric       Gov. Aggregation
AEP - CSP       00040621001102460           Electric       Gov. Aggregation   AEP - OP      00140060765072671           Electric       Gov. Aggregation
AEP - CSP       00040621001249882           Electric       Gov. Aggregation   AEP - OP      00140060765109074           Electric       Gov. Aggregation
AEP - CSP       00040621001349485           Electric       Gov. Aggregation   AEP - OP      00140060765140380           Electric       Gov. Aggregation
AEP - CSP       00040621001417255           Electric       Gov. Aggregation   AEP - OP      00140060765247884           Electric       Gov. Aggregation
AEP - CSP       00040621004083115           Electric       Gov. Aggregation   AEP - OP      00140060766908523           Electric       Gov. Aggregation
AEP - CSP       00040621004105504           Electric       Gov. Aggregation   AEP - OP      00140060766927595           Electric       Gov. Aggregation
AEP - CSP       00040621004123252           Electric       Gov. Aggregation   AEP - OP      00140060767015990           Electric       Gov. Aggregation
AEP - CSP       00040621004190530           Electric       Gov. Aggregation   AEP - OP      00140060767086584           Electric       Gov. Aggregation
AEP - CSP       00040621004216085           Electric       Gov. Aggregation   AEP - OP      00140060767239213           Electric       Gov. Aggregation
AEP - CSP       00040621004229692           Electric       Gov. Aggregation   AEP - OP      00140060767393493           Electric       Gov. Aggregation
AEP - CSP       00040621004657472           Electric       Gov. Aggregation   AEP - OP      00140060767533752           Electric       Gov. Aggregation
AEP - CSP       00040621004982091           Electric       Gov. Aggregation   AEP - OP      00140060779760711           Electric       Gov. Aggregation
AEP - CSP       00040621005044332           Electric       Gov. Aggregation   AEP - OP      00140060779825791           Electric       Gov. Aggregation
AEP - CSP       00040621005202913           Electric       Gov. Aggregation   AEP - OP      00140060779842953           Electric       Gov. Aggregation
AEP - CSP       00040621005409020           Electric       Gov. Aggregation   AEP - OP      00140060779923262           Electric       Gov. Aggregation
AEP - CSP       00040621005417284           Electric       Gov. Aggregation   AEP - OP      00140060779977304           Electric       Gov. Aggregation
AEP - CSP       00040621005507711           Electric       Gov. Aggregation   AEP - OP      00140060780037745           Electric       Gov. Aggregation
AEP - CSP       00040621005520741           Electric       Gov. Aggregation   AEP - OP      00140060781291720           Electric       Gov. Aggregation
AEP - CSP       00040621004693723           Electric       Gov. Aggregation   AEP - OP      00140060781365943           Electric       Gov. Aggregation
AEP - CSP       00040621004822262           Electric       Gov. Aggregation   AEP - OP      00140060781374444           Electric       Gov. Aggregation
AEP - CSP       00040621004885084           Electric       Gov. Aggregation   AEP - OP      00140060781380871           Electric       Gov. Aggregation
AEP - CSP       00040621005021061           Electric       Gov. Aggregation   AEP - OP      00140060781442994           Electric       Gov. Aggregation
AEP - CSP       00040621005479111           Electric       Gov. Aggregation   AEP - OP      00140060781458894           Electric       Gov. Aggregation
AEP - CSP       00040621005523732           Electric       Gov. Aggregation   AEP - OP      00140060782536585           Electric       Gov. Aggregation
AEP - CSP       00040621005596484           Electric       Gov. Aggregation   AEP - OP      00140060782543140           Electric       Gov. Aggregation
AEP - CSP       00040621001453783           Electric       Gov. Aggregation   AEP - OP      00140060782634090           Electric       Gov. Aggregation
AEP - CSP       00040621001494903           Electric       Gov. Aggregation   AEP - OP      00140060782648584           Electric       Gov. Aggregation
AEP - CSP       00040621001624044           Electric       Gov. Aggregation   AEP - OP      00140060782710643           Electric       Gov. Aggregation
AEP - CSP       00040621001719471           Electric       Gov. Aggregation   AEP - OP      00140060782781744           Electric       Gov. Aggregation
AEP - CSP       00040621001965913           Electric       Gov. Aggregation   AEP - OP      00140060782909031           Electric       Gov. Aggregation
AEP - CSP       00040621001985382           Electric       Gov. Aggregation   AEP - OP      00140060775509052           Electric       Gov. Aggregation
AEP - CSP       00040621002243430           Electric       Gov. Aggregation   AEP - OP      00140060775558191           Electric       Gov. Aggregation
AEP - CSP       00040621005657474           Electric       Gov. Aggregation   AEP - OP      00140060775587244           Electric       Gov. Aggregation
AEP - CSP       00040621005687293           Electric       Gov. Aggregation   AEP - OP      00140060775688642           Electric       Gov. Aggregation
AEP - CSP       00040621005865145           Electric       Gov. Aggregation   AEP - OP      00140060775721012           Electric       Gov. Aggregation
AEP - CSP       00040621005907982           Electric       Gov. Aggregation   AEP - OP      00140060775734592           Electric       Gov. Aggregation
AEP - CSP       00040621005941291           Electric       Gov. Aggregation   AEP - OP      00140060775766405           Electric       Gov. Aggregation
AEP - CSP       00040621006168805           Electric       Gov. Aggregation   AEP - OP      00140060770719852           Electric       Gov. Aggregation
AEP - CSP       00040621006285985           Electric       Gov. Aggregation   AEP - OP      00140060770742125           Electric       Gov. Aggregation
AEP - CSP       00040621006435855           Electric       Gov. Aggregation   AEP - OP      00140060770750691           Electric       Gov. Aggregation
AEP - CSP       00040621006461854           Electric       Gov. Aggregation   AEP - OP      00140060770755761           Electric       Gov. Aggregation
AEP - CSP       00040621006488490           Electric       Gov. Aggregation   AEP - OP      00140060770831404           Electric       Gov. Aggregation
AEP - CSP       00040621006516521           Electric       Gov. Aggregation   AEP - OP      00140060770896000           Electric       Gov. Aggregation
AEP - CSP       00040621006558562           Electric       Gov. Aggregation   AEP - OP      00140060770903220           Electric       Gov. Aggregation
AEP - CSP       00040621006645515           Electric       Gov. Aggregation   AEP - OP      00140060765329654           Electric       Gov. Aggregation
AEP - CSP       00040621006749445           Electric       Gov. Aggregation   AEP - OP      00140060765441325           Electric       Gov. Aggregation
AEP - CSP       00040621002258364           Electric       Gov. Aggregation   AEP - OP      00140060765497104           Electric       Gov. Aggregation
AEP - CSP       00040621002305453           Electric       Gov. Aggregation   AEP - OP      00140060765507792           Electric       Gov. Aggregation
AEP - CSP       00040621002334484           Electric       Gov. Aggregation   AEP - OP      00140060765546010           Electric       Gov. Aggregation
AEP - CSP       00040621002444250           Electric       Gov. Aggregation   AEP - OP      00140060765598084           Electric       Gov. Aggregation
AEP - CSP       00040621002524104           Electric       Gov. Aggregation   AEP - OP      00140060765600481           Electric       Gov. Aggregation
AEP - CSP       00040621002848323           Electric       Gov. Aggregation   AEP - OP      00140060764432144           Electric       Gov. Aggregation
AEP - CSP       00040621002862301           Electric       Gov. Aggregation   AEP - OP      00140060764473742           Electric       Gov. Aggregation
AEP - CSP       00040621006810280           Electric       Gov. Aggregation   AEP - OP      00140060764501873           Electric       Gov. Aggregation
AEP - CSP       00040621006876564           Electric       Gov. Aggregation   AEP - OP      00140060764532853           Electric       Gov. Aggregation
AEP - CSP       00040621006968860           Electric       Gov. Aggregation   AEP - OP      00140060764611480           Electric       Gov. Aggregation
AEP - CSP       00040621006969645           Electric       Gov. Aggregation   AEP - OP      00140060764652023           Electric       Gov. Aggregation
AEP - CSP       00040621006993003           Electric       Gov. Aggregation   AEP - OP      00140060764674290           Electric       Gov. Aggregation
AEP - CSP       00040621007117432           Electric       Gov. Aggregation   AEP - OP      00140060767677124           Electric       Gov. Aggregation
AEP - CSP       00040621007308020           Electric       Gov. Aggregation   AEP - OP      00140060767690815           Electric       Gov. Aggregation
AEP - CSP       00040621003015133           Electric       Gov. Aggregation   AEP - OP      00140060768148460           Electric       Gov. Aggregation
AEP - CSP       00040621003038635           Electric       Gov. Aggregation   AEP - OP      00140060768190034           Electric       Gov. Aggregation
AEP - CSP       00040621003143531           Electric       Gov. Aggregation   AEP - OP      00140060768398160           Electric       Gov. Aggregation
AEP - CSP       00040621003293343           Electric       Gov. Aggregation   AEP - OP      00140060768402353           Electric       Gov. Aggregation
AEP - CSP       00040621003734531           Electric       Gov. Aggregation   AEP - OP      00140060768449430           Electric       Gov. Aggregation
AEP - CSP       00040621003743712           Electric       Gov. Aggregation   AEP - OP      00140060780113642           Electric       Gov. Aggregation
AEP - CSP       00040621007312052           Electric       Gov. Aggregation   AEP - OP      00140060780159133           Electric       Gov. Aggregation
AEP - CSP       00040621007331123           Electric       Gov. Aggregation   AEP - OP      00140060780164224           Electric       Gov. Aggregation
AEP - CSP       00040621007461810           Electric       Gov. Aggregation   AEP - OP      00140060780186902           Electric       Gov. Aggregation
AEP - CSP       00040621007621060           Electric       Gov. Aggregation   AEP - OP      00140060780271613           Electric       Gov. Aggregation
AEP - CSP       00040621007643943           Electric       Gov. Aggregation   AEP - OP      00140060780275625           Electric       Gov. Aggregation
AEP - CSP       00040621007739075           Electric       Gov. Aggregation   AEP - OP      00140060780279005           Electric       Gov. Aggregation
AEP - CSP       00040621007849913           Electric       Gov. Aggregation   AEP - OP      00140060781519951           Electric       Gov. Aggregation
DPL             0000334000                  Electric       Gov. Aggregation   AEP - OP      00140060781573770           Electric       Gov. Aggregation
AEP - CSP       00040621000112682           Electric       Gov. Aggregation   AEP - OP      00140060781705370           Electric       Gov. Aggregation
AEP - CSP       00040621000173974           Electric       Gov. Aggregation   AEP - OP      00140060781749212           Electric       Gov. Aggregation
AEP - CSP       00040621000222793           Electric       Gov. Aggregation   AEP - OP      00140060781771210           Electric       Gov. Aggregation
AEP - CSP       00040621000437021           Electric       Gov. Aggregation   AEP - OP      00140060781887122           Electric       Gov. Aggregation
AEP - CSP       00040621000590003           Electric       Gov. Aggregation   AEP - OP      00140060781903244           Electric       Gov. Aggregation
AEP - CSP       00040621000967922           Electric       Gov. Aggregation   AEP - OP      00140060783070555           Electric       Gov. Aggregation
AEP - CSP       00040621007877664           Electric       Gov. Aggregation   AEP - OP      00140060783075463           Electric       Gov. Aggregation
AEP - CSP       00040621008075515           Electric       Gov. Aggregation   AEP - OP      00140060783080175           Electric       Gov. Aggregation
AEP - CSP       00040621008209530           Electric       Gov. Aggregation   AEP - OP      00140060783113835           Electric       Gov. Aggregation
AEP - CSP       00040621008269011           Electric       Gov. Aggregation   AEP - OP      00140060783117555           Electric       Gov. Aggregation
     Case 2:22-bk-50804                        Doc 155 Filed 04/08/22 Entered 04/08/22 16:29:21                                  Desc Main
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621008366985           Electric       Gov. Aggregation   AEP - OP      00140060783146280           Electric       Gov. Aggregation
AEP - CSP     00040621008372893           Electric       Gov. Aggregation   AEP - OP      00140060783153942           Electric       Gov. Aggregation
AEP - CSP     00040621008375755           Electric       Gov. Aggregation   AEP - OP      00140060770924915           Electric       Gov. Aggregation
AEP - CSP     00040621001068825           Electric       Gov. Aggregation   AEP - OP      00140060770981074           Electric       Gov. Aggregation
AEP - CSP     00040621001170713           Electric       Gov. Aggregation   AEP - OP      00140060771021691           Electric       Gov. Aggregation
AEP - CSP     00040621001234450           Electric       Gov. Aggregation   AEP - OP      00140060771048102           Electric       Gov. Aggregation
AEP - CSP     00040621001284420           Electric       Gov. Aggregation   AEP - OP      00140060771316775           Electric       Gov. Aggregation
AEP - CSP     00040621001330771           Electric       Gov. Aggregation   AEP - OP      00140060771339215           Electric       Gov. Aggregation
AEP - CSP     00040621001387153           Electric       Gov. Aggregation   AEP - OP      00140060771407755           Electric       Gov. Aggregation
AEP - CSP     00040621001572984           Electric       Gov. Aggregation   AEP - OP      00140060765629872           Electric       Gov. Aggregation
AEP - CSP     00040621003858465           Electric       Gov. Aggregation   AEP - OP      00140060765638655           Electric       Gov. Aggregation
AEP - CSP     00040621004173385           Electric       Gov. Aggregation   AEP - OP      00140060765686740           Electric       Gov. Aggregation
AEP - CSP     00040621004283860           Electric       Gov. Aggregation   AEP - OP      00140060765770853           Electric       Gov. Aggregation
AEP - CSP     00040621004430625           Electric       Gov. Aggregation   AEP - OP      00140060765838785           Electric       Gov. Aggregation
AEP - CSP     00040621004454910           Electric       Gov. Aggregation   AEP - OP      00140060765947735           Electric       Gov. Aggregation
AEP - CSP     00040621001771515           Electric       Gov. Aggregation   AEP - OP      00140060766094022           Electric       Gov. Aggregation
AEP - CSP     00040621002068680           Electric       Gov. Aggregation   AEP - OP      00140060775952422           Electric       Gov. Aggregation
AEP - CSP     00040621002073675           Electric       Gov. Aggregation   AEP - OP      00140060776280985           Electric       Gov. Aggregation
AEP - CSP     00040621002082091           Electric       Gov. Aggregation   AEP - OP      00140060776474352           Electric       Gov. Aggregation
AEP - CSP     00040621002186453           Electric       Gov. Aggregation   AEP - OP      00140060776539603           Electric       Gov. Aggregation
AEP - CSP     00040621002294042           Electric       Gov. Aggregation   AEP - OP      00140060776570404           Electric       Gov. Aggregation
AEP - CSP     00040621002307471           Electric       Gov. Aggregation   AEP - OP      00140060776609540           Electric       Gov. Aggregation
AEP - CSP     00040621002751775           Electric       Gov. Aggregation   AEP - OP      00140060768454353           Electric       Gov. Aggregation
AEP - CSP     00040621002879152           Electric       Gov. Aggregation   AEP - OP      00140060768569625           Electric       Gov. Aggregation
AEP - CSP     00040621002919034           Electric       Gov. Aggregation   AEP - OP      00140060768620172           Electric       Gov. Aggregation
AEP - CSP     00040621003150275           Electric       Gov. Aggregation   AEP - OP      00140060768702482           Electric       Gov. Aggregation
AEP - CSP     00040621003248200           Electric       Gov. Aggregation   AEP - OP      00140060768738112           Electric       Gov. Aggregation
AEP - CSP     00040621004771501           Electric       Gov. Aggregation   AEP - OP      00140060768908665           Electric       Gov. Aggregation
AEP - CSP     00040621004786474           Electric       Gov. Aggregation   AEP - OP      00140060768923865           Electric       Gov. Aggregation
AEP - CSP     00040621004800993           Electric       Gov. Aggregation   AEP - OP      00140060764689471           Electric       Gov. Aggregation
AEP - CSP     00040621005052894           Electric       Gov. Aggregation   AEP - OP      00140060764940771           Electric       Gov. Aggregation
AEP - CSP     00040621005105812           Electric       Gov. Aggregation   AEP - OP      00140060765008083           Electric       Gov. Aggregation
AEP - CSP     00040621005136143           Electric       Gov. Aggregation   AEP - OP      00140060765011611           Electric       Gov. Aggregation
AEP - CSP     00040621005259330           Electric       Gov. Aggregation   AEP - OP      00140060765297481           Electric       Gov. Aggregation
AEP - CSP     00040621003292180           Electric       Gov. Aggregation   AEP - OP      00140060765371151           Electric       Gov. Aggregation
AEP - CSP     00040621003304424           Electric       Gov. Aggregation   AEP - OP      00140060765538844           Electric       Gov. Aggregation
AEP - CSP     00040621003355281           Electric       Gov. Aggregation   AEP - OP      00140060783248713           Electric       Gov. Aggregation
AEP - CSP     00040621003460544           Electric       Gov. Aggregation   AEP - OP      00140060783350555           Electric       Gov. Aggregation
AEP - CSP     00040621003492152           Electric       Gov. Aggregation   AEP - OP      00140060783379212           Electric       Gov. Aggregation
AEP - CSP     00040621003523593           Electric       Gov. Aggregation   AEP - OP      00140060783419284           Electric       Gov. Aggregation
AEP - CSP     00040621003579704           Electric       Gov. Aggregation   AEP - OP      00140060783455573           Electric       Gov. Aggregation
AEP - CSP     00040621005438792           Electric       Gov. Aggregation   AEP - OP      00140060783738341           Electric       Gov. Aggregation
AEP - CSP     00040621005588045           Electric       Gov. Aggregation   AEP - OP      00140060783990981           Electric       Gov. Aggregation
AEP - CSP     00040621005662220           Electric       Gov. Aggregation   AEP - OP      00140060782042251           Electric       Gov. Aggregation
AEP - CSP     00040621005730600           Electric       Gov. Aggregation   AEP - OP      00140060782076454           Electric       Gov. Aggregation
AEP - CSP     00040621005913321           Electric       Gov. Aggregation   AEP - OP      00140060782084305           Electric       Gov. Aggregation
AEP - CSP     00040621006161522           Electric       Gov. Aggregation   AEP - OP      00140060782132913           Electric       Gov. Aggregation
AEP - CSP     00040621006203705           Electric       Gov. Aggregation   AEP - OP      00140060782144774           Electric       Gov. Aggregation
AEP - CSP     00040621003605890           Electric       Gov. Aggregation   AEP - OP      00140060782402070           Electric       Gov. Aggregation
AEP - CSP     00040621003694661           Electric       Gov. Aggregation   AEP - OP      00140060776622291           Electric       Gov. Aggregation
AEP - CSP     00040621003718085           Electric       Gov. Aggregation   AEP - OP      00140060776710810           Electric       Gov. Aggregation
AEP - CSP     00040621003779040           Electric       Gov. Aggregation   AEP - OP      00140060776890503           Electric       Gov. Aggregation
AEP - CSP     00040621003790883           Electric       Gov. Aggregation   AEP - OP      00140060776902115           Electric       Gov. Aggregation
AEP - CSP     00040621003972054           Electric       Gov. Aggregation   AEP - OP      00140060776915870           Electric       Gov. Aggregation
AEP - CSP     00040621003998282           Electric       Gov. Aggregation   AEP - OP      00140060776960434           Electric       Gov. Aggregation
AEP - CSP     00040621004073314           Electric       Gov. Aggregation   AEP - OP      00140060777169381           Electric       Gov. Aggregation
AEP - CSP     00040621004273205           Electric       Gov. Aggregation   AEP - OP      00140060766129920           Electric       Gov. Aggregation
AEP - CSP     00040621004278865           Electric       Gov. Aggregation   AEP - OP      00140060766179925           Electric       Gov. Aggregation
AEP - CSP     00040621004314042           Electric       Gov. Aggregation   AEP - OP      00140060766572893           Electric       Gov. Aggregation
AEP - CSP     00040621004358195           Electric       Gov. Aggregation   AEP - OP      00140060766647254           Electric       Gov. Aggregation
AEP - CSP     00040621004529650           Electric       Gov. Aggregation   AEP - OP      00140060766688853           Electric       Gov. Aggregation
AEP - CSP     00040621004691725           Electric       Gov. Aggregation   AEP - OP      00140060766741705           Electric       Gov. Aggregation
AEP - CSP     00040621006227560           Electric       Gov. Aggregation   AEP - OP      00140060766798373           Electric       Gov. Aggregation
AEP - CSP     00040621006331401           Electric       Gov. Aggregation   AEP - OP      00140060780360955           Electric       Gov. Aggregation
AEP - CSP     00040621006746714           Electric       Gov. Aggregation   AEP - OP      00140060780551981           Electric       Gov. Aggregation
AEP - CSP     00040621006760210           Electric       Gov. Aggregation   AEP - OP      00140060780672230           Electric       Gov. Aggregation
AEP - CSP     00040621006807845           Electric       Gov. Aggregation   AEP - OP      00140060780868355           Electric       Gov. Aggregation
AEP - CSP     00040621006846770           Electric       Gov. Aggregation   AEP - OP      00140060780903481           Electric       Gov. Aggregation
AEP - CSP     00040621004997445           Electric       Gov. Aggregation   AEP - OP      00140060780953552           Electric       Gov. Aggregation
AEP - CSP     00040621005062843           Electric       Gov. Aggregation   AEP - OP      00140060780955330           Electric       Gov. Aggregation
AEP - CSP     00040621005078405           Electric       Gov. Aggregation   AEP - OP      00140060765572350           Electric       Gov. Aggregation
AEP - CSP     00040621005176832           Electric       Gov. Aggregation   AEP - OP      00140060765644933           Electric       Gov. Aggregation
AEP - CSP     00040621005222084           Electric       Gov. Aggregation   AEP - OP      00140060765689393           Electric       Gov. Aggregation
AEP - CSP     00040621005267131           Electric       Gov. Aggregation   AEP - OP      00140060765854255           Electric       Gov. Aggregation
AEP - CSP     00040621005366241           Electric       Gov. Aggregation   AEP - OP      00140060765915822           Electric       Gov. Aggregation
AEP - CSP     00040621005428915           Electric       Gov. Aggregation   AEP - OP      00140060765922582           Electric       Gov. Aggregation
AEP - CSP     00040621005458040           Electric       Gov. Aggregation   AEP - OP      00140060765974155           Electric       Gov. Aggregation
AEP - CSP     00040621005505620           Electric       Gov. Aggregation   AEP - OP      00140060768942150           Electric       Gov. Aggregation
AEP - CSP     00040621005542835           Electric       Gov. Aggregation   AEP - OP      00140060768948382           Electric       Gov. Aggregation
AEP - CSP     00040621005738232           Electric       Gov. Aggregation   AEP - OP      00140060769037613           Electric       Gov. Aggregation
AEP - CSP     00040621005961034           Electric       Gov. Aggregation   AEP - OP      00140060769209191           Electric       Gov. Aggregation
AEP - CSP     00040621005999840           Electric       Gov. Aggregation   AEP - OP      00140060769224265           Electric       Gov. Aggregation
AEP - CSP     00040621006488403           Electric       Gov. Aggregation   AEP - OP      00140060771663300           Electric       Gov. Aggregation
AEP - CSP     00040621006819980           Electric       Gov. Aggregation   AEP - OP      00140060771721571           Electric       Gov. Aggregation
AEP - CSP     00040621006871875           Electric       Gov. Aggregation   AEP - OP      00140060771875200           Electric       Gov. Aggregation
AEP - CSP     00040621007072631           Electric       Gov. Aggregation   AEP - OP      00140060771904631           Electric       Gov. Aggregation
AEP - CSP     00040621007280435           Electric       Gov. Aggregation   AEP - OP      00140060771953830           Electric       Gov. Aggregation
AEP - CSP     00040621007156283           Electric       Gov. Aggregation   AEP - OP      00140060771989340           Electric       Gov. Aggregation
AEP - CSP     00040621007205170           Electric       Gov. Aggregation   AEP - OP      00140060772066182           Electric       Gov. Aggregation
AEP - CSP     00040621007259132           Electric       Gov. Aggregation   AEP - OP      00140060784006592           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621007263655           Electric       Gov. Aggregation   AEP - OP      00140060784075425           Electric       Gov. Aggregation
AEP - CSP     00040621007316162           Electric       Gov. Aggregation   AEP - OP      00140060784109743           Electric       Gov. Aggregation
AEP - CSP     00040621005240313           Electric       Gov. Aggregation   AEP - OP      00140060784429674           Electric       Gov. Aggregation
AEP - CSP     00040621005308801           Electric       Gov. Aggregation   AEP - OP      00140060784525445           Electric       Gov. Aggregation
AEP - CSP     00040621005493574           Electric       Gov. Aggregation   AEP - OP      00140060784532603           Electric       Gov. Aggregation
AEP - CSP     00040621005638180           Electric       Gov. Aggregation   AEP - OP      00140060784535530           Electric       Gov. Aggregation
AEP - CSP     00040621005742964           Electric       Gov. Aggregation   AEP - OP      00140060777218685           Electric       Gov. Aggregation
AEP - CSP     00040621006051273           Electric       Gov. Aggregation   AEP - OP      00140060777258461           Electric       Gov. Aggregation
AEP - CSP     00040621006113600           Electric       Gov. Aggregation   AEP - OP      00140060777313631           Electric       Gov. Aggregation
AEP - CSP     00040621006165340           Electric       Gov. Aggregation   AEP - OP      00140060777320812           Electric       Gov. Aggregation
AEP - CSP     00040621006172841           Electric       Gov. Aggregation   AEP - OP      00140060777335115           Electric       Gov. Aggregation
AEP - CSP     00040621006256003           Electric       Gov. Aggregation   AEP - OP      00140060777411523           Electric       Gov. Aggregation
AEP - CSP     00040621006339883           Electric       Gov. Aggregation   AEP - OP      00140060777438052           Electric       Gov. Aggregation
AEP - CSP     00040621006370060           Electric       Gov. Aggregation   AEP - OP      00140060766844543           Electric       Gov. Aggregation
AEP - CSP     00040621005696941           Electric       Gov. Aggregation   AEP - OP      00140060766875672           Electric       Gov. Aggregation
AEP - CSP     00040621005856300           Electric       Gov. Aggregation   AEP - OP      00140060766941115           Electric       Gov. Aggregation
AEP - CSP     00040621005871470           Electric       Gov. Aggregation   AEP - OP      00140060766983570           Electric       Gov. Aggregation
AEP - CSP     00040621006135483           Electric       Gov. Aggregation   AEP - OP      00140060767050730           Electric       Gov. Aggregation
AEP - CSP     00040621006253750           Electric       Gov. Aggregation   AEP - OP      00140060767090105           Electric       Gov. Aggregation
AEP - CSP     00040621006635594           Electric       Gov. Aggregation   AEP - OP      00140060767091250           Electric       Gov. Aggregation
AEP - CSP     00040621006649442           Electric       Gov. Aggregation   AEP - OP      00140060781082641           Electric       Gov. Aggregation
AEP - CSP     00040621006516814           Electric       Gov. Aggregation   AEP - OP      00140060781089630           Electric       Gov. Aggregation
AEP - CSP     00040621006549935           Electric       Gov. Aggregation   AEP - OP      00140060781174372           Electric       Gov. Aggregation
AEP - CSP     00040621006654614           Electric       Gov. Aggregation   AEP - OP      00140060781255374           Electric       Gov. Aggregation
AEP - CSP     00040621006794671           Electric       Gov. Aggregation   AEP - OP      00140060781268080           Electric       Gov. Aggregation
AEP - CSP     00040621006799630           Electric       Gov. Aggregation   AEP - OP      00140060781417744           Electric       Gov. Aggregation
AEP - CSP     00040621006973564           Electric       Gov. Aggregation   AEP - OP      00140060781431612           Electric       Gov. Aggregation
AEP - CSP     00040621006661061           Electric       Gov. Aggregation   AEP - OP      00140060782482102           Electric       Gov. Aggregation
AEP - CSP     00040621006723552           Electric       Gov. Aggregation   AEP - OP      00140060782496935           Electric       Gov. Aggregation
AEP - CSP     00040621006885803           Electric       Gov. Aggregation   AEP - OP      00140060782546485           Electric       Gov. Aggregation
AEP - CSP     00040621007080050           Electric       Gov. Aggregation   AEP - OP      00140060782676714           Electric       Gov. Aggregation
AEP - CSP     00040621007096055           Electric       Gov. Aggregation   AEP - OP      00140060782726672           Electric       Gov. Aggregation
AEP - CSP     00040621007297820           Electric       Gov. Aggregation   AEP - OP      00140060782766452           Electric       Gov. Aggregation
AEP - CSP     00040621007367663           Electric       Gov. Aggregation   AEP - OP      00140060782802143           Electric       Gov. Aggregation
AEP - CSP     00040621008381015           Electric       Gov. Aggregation   AEP - OP      00140060766165555           Electric       Gov. Aggregation
AEP - CSP     00040621008414590           Electric       Gov. Aggregation   AEP - OP      00140060766200154           Electric       Gov. Aggregation
AEP - CSP     00040621008442152           Electric       Gov. Aggregation   AEP - OP      00140060766231200           Electric       Gov. Aggregation
AEP - CSP     00040621008477925           Electric       Gov. Aggregation   AEP - OP      00140060766264262           Electric       Gov. Aggregation
AEP - CSP     00040621008524003           Electric       Gov. Aggregation   AEP - OP      00140060766528874           Electric       Gov. Aggregation
AEP - CSP     00040621008610490           Electric       Gov. Aggregation   AEP - OP      00140060766610642           Electric       Gov. Aggregation
AEP - CSP     00040621008613780           Electric       Gov. Aggregation   AEP - OP      00140060766797961           Electric       Gov. Aggregation
AEP - CSP     00040621006033753           Electric       Gov. Aggregation   AEP - OP      00140060772082220           Electric       Gov. Aggregation
AEP - CSP     00040621006216302           Electric       Gov. Aggregation   AEP - OP      00140060772120623           Electric       Gov. Aggregation
AEP - CSP     00040621006229664           Electric       Gov. Aggregation   AEP - OP      00140060772159854           Electric       Gov. Aggregation
AEP - CSP     00040621006598431           Electric       Gov. Aggregation   AEP - OP      00140060772230824           Electric       Gov. Aggregation
AEP - CSP     00040621006623375           Electric       Gov. Aggregation   AEP - OP      00140060772335695           Electric       Gov. Aggregation
AEP - CSP     00040621006663193           Electric       Gov. Aggregation   AEP - OP      00140060772381754           Electric       Gov. Aggregation
AEP - CSP     00040621006708342           Electric       Gov. Aggregation   AEP - OP      00140060772410290           Electric       Gov. Aggregation
AEP - CSP     00040621006750080           Electric       Gov. Aggregation   AEP - OP      00140060777549683           Electric       Gov. Aggregation
AEP - CSP     00040621006956363           Electric       Gov. Aggregation   AEP - OP      00140060777635752           Electric       Gov. Aggregation
AEP - CSP     00040621006999334           Electric       Gov. Aggregation   AEP - OP      00140060777666811           Electric       Gov. Aggregation
AEP - CSP     00040621007247293           Electric       Gov. Aggregation   AEP - OP      00140060777742570           Electric       Gov. Aggregation
AEP - CSP     00040621007304912           Electric       Gov. Aggregation   AEP - OP      00140060777831371           Electric       Gov. Aggregation
AEP - CSP     00040621007414581           Electric       Gov. Aggregation   AEP - OP      00140060777935821           Electric       Gov. Aggregation
AEP - CSP     00040621007544700           Electric       Gov. Aggregation   AEP - OP      00140060778012391           Electric       Gov. Aggregation
AEP - CSP     00040621007706962           Electric       Gov. Aggregation   AEP - OP      00140060781491565           Electric       Gov. Aggregation
AEP - CSP     00040621007803085           Electric       Gov. Aggregation   AEP - OP      00140060781592801           Electric       Gov. Aggregation
AEP - CSP     00040621007810192           Electric       Gov. Aggregation   AEP - OP      00140060781610822           Electric       Gov. Aggregation
AEP - CSP     00040621007884484           Electric       Gov. Aggregation   AEP - OP      00140060781665451           Electric       Gov. Aggregation
AEP - CSP     00040621008021665           Electric       Gov. Aggregation   AEP - OP      00140060781797180           Electric       Gov. Aggregation
AEP - CSP     00040621008228364           Electric       Gov. Aggregation   AEP - OP      00140060781800754           Electric       Gov. Aggregation
AEP - CSP     00040621008237161           Electric       Gov. Aggregation   AEP - OP      00140060781859634           Electric       Gov. Aggregation
AEP - CSP     00040621006498721           Electric       Gov. Aggregation   AEP - OP      00140060782803641           Electric       Gov. Aggregation
AEP - CSP     00040621006510832           Electric       Gov. Aggregation   AEP - OP      00140060782845143           Electric       Gov. Aggregation
AEP - CSP     00040621006596161           Electric       Gov. Aggregation   AEP - OP      00140060782878814           Electric       Gov. Aggregation
AEP - CSP     00040621006653091           Electric       Gov. Aggregation   AEP - OP      00140060782984353           Electric       Gov. Aggregation
AEP - CSP     00040621006782615           Electric       Gov. Aggregation   AEP - OP      00140060783224354           Electric       Gov. Aggregation
AEP - CSP     00040621006795760           Electric       Gov. Aggregation   AEP - OP      00140060783281801           Electric       Gov. Aggregation
AEP - CSP     00040621007025933           Electric       Gov. Aggregation   AEP - OP      00140060766820770           Electric       Gov. Aggregation
AEP - CSP     00040621008372682           Electric       Gov. Aggregation   AEP - OP      00140060766867433           Electric       Gov. Aggregation
AEP - CSP     00040621008383375           Electric       Gov. Aggregation   AEP - OP      00140060766873701           Electric       Gov. Aggregation
AEP - CSP     00040621008456144           Electric       Gov. Aggregation   AEP - OP      00140060766918653           Electric       Gov. Aggregation
AEP - CSP     00040621008701450           Electric       Gov. Aggregation   AEP - OP      00140060766953281           Electric       Gov. Aggregation
AEP - CSP     00040621008779462           Electric       Gov. Aggregation   AEP - OP      00140060767108532           Electric       Gov. Aggregation
AEP - CSP     00040621008805070           Electric       Gov. Aggregation   AEP - OP      00140060767128312           Electric       Gov. Aggregation
AEP - CSP     00040621008844314           Electric       Gov. Aggregation   AEP - OP      00140060769406854           Electric       Gov. Aggregation
AEP - CSP     00040621007032100           Electric       Gov. Aggregation   AEP - OP      00140060769469775           Electric       Gov. Aggregation
AEP - CSP     00040621007075395           Electric       Gov. Aggregation   AEP - OP      00140060769608140           Electric       Gov. Aggregation
AEP - CSP     00040621007103654           Electric       Gov. Aggregation   AEP - OP      00140060769644910           Electric       Gov. Aggregation
AEP - CSP     00040621007114532           Electric       Gov. Aggregation   AEP - OP      00140060769706675           Electric       Gov. Aggregation
AEP - CSP     00040621007185943           Electric       Gov. Aggregation   AEP - OP      00140060769770724           Electric       Gov. Aggregation
AEP - CSP     00040621007375583           Electric       Gov. Aggregation   AEP - OP      00140060769893105           Electric       Gov. Aggregation
AEP - CSP     00040621007428444           Electric       Gov. Aggregation   AEP - OP      00140060772566641           Electric       Gov. Aggregation
AEP - CSP     00040621009188991           Electric       Gov. Aggregation   AEP - OP      00140060772592162           Electric       Gov. Aggregation
AEP - CSP     00040621009231970           Electric       Gov. Aggregation   AEP - OP      00140060772618675           Electric       Gov. Aggregation
AEP - CSP     00040621009323945           Electric       Gov. Aggregation   AEP - OP      00140060772669423           Electric       Gov. Aggregation
AEP - CSP     00040621009480100           Electric       Gov. Aggregation   AEP - OP      00140060772738693           Electric       Gov. Aggregation
AEP - CSP     00040621009554782           Electric       Gov. Aggregation   AEP - OP      00140060772742944           Electric       Gov. Aggregation
AEP - CSP     00040621009787892           Electric       Gov. Aggregation   AEP - OP      00140060772983072           Electric       Gov. Aggregation
AEP - CSP     00040621009880664           Electric       Gov. Aggregation   AEP - OP      00140060778130055           Electric       Gov. Aggregation
     Case 2:22-bk-50804                        Doc 155 Filed 04/08/22 Entered 04/08/22 16:29:21                                  Desc Main
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621007508215           Electric       Gov. Aggregation   AEP - OP      00140060778132744           Electric       Gov. Aggregation
AEP - CSP     00040621007620863           Electric       Gov. Aggregation   AEP - OP      00140060778255912           Electric       Gov. Aggregation
AEP - CSP     00040621007701855           Electric       Gov. Aggregation   AEP - OP      00140060778473912           Electric       Gov. Aggregation
AEP - CSP     00040621007743031           Electric       Gov. Aggregation   AEP - OP      00140060778540202           Electric       Gov. Aggregation
AEP - CSP     00040621007786154           Electric       Gov. Aggregation   AEP - OP      00140060778614483           Electric       Gov. Aggregation
AEP - CSP     00040621007859705           Electric       Gov. Aggregation   AEP - OP      00140060778754130           Electric       Gov. Aggregation
AEP - CSP     00040621008071184           Electric       Gov. Aggregation   AEP - OP      00140060784702650           Electric       Gov. Aggregation
AEP - CSP     00040621010104702           Electric       Gov. Aggregation   AEP - OP      00140060784704754           Electric       Gov. Aggregation
AEP - CSP     00040621010183553           Electric       Gov. Aggregation   AEP - OP      00140060784731144           Electric       Gov. Aggregation
AEP - CSP     00040621010412744           Electric       Gov. Aggregation   AEP - OP      00140060785040391           Electric       Gov. Aggregation
AEP - CSP     00040621010577750           Electric       Gov. Aggregation   AEP - OP      00140060785141694           Electric       Gov. Aggregation
AEP - CSP     00040621010614504           Electric       Gov. Aggregation   AEP - OP      00140060785217873           Electric       Gov. Aggregation
AEP - CSP     00040621010616483           Electric       Gov. Aggregation   AEP - OP      00140060781881544           Electric       Gov. Aggregation
AEP - CSP     00040621010792304           Electric       Gov. Aggregation   AEP - OP      00140060781977884           Electric       Gov. Aggregation
AEP - CSP     00040621008094314           Electric       Gov. Aggregation   AEP - OP      00140060782005164           Electric       Gov. Aggregation
AEP - CSP     00040621008099235           Electric       Gov. Aggregation   AEP - OP      00140060782045765           Electric       Gov. Aggregation
AEP - CSP     00040621008132865           Electric       Gov. Aggregation   AEP - OP      00140060782270403           Electric       Gov. Aggregation
AEP - CSP     00040621008230974           Electric       Gov. Aggregation   AEP - OP      00140060782274854           Electric       Gov. Aggregation
AEP - CSP     00040621008366994           Electric       Gov. Aggregation   AEP - OP      00140060782346560           Electric       Gov. Aggregation
AEP - CSP     00040621008488234           Electric       Gov. Aggregation   AEP - OP      00140060767125015           Electric       Gov. Aggregation
AEP - CSP     00040621008631095           Electric       Gov. Aggregation   AEP - OP      00140060767172775           Electric       Gov. Aggregation
AEP - CSP     00040621010813370           Electric       Gov. Aggregation   AEP - OP      00140060767256551           Electric       Gov. Aggregation
AEP - CSP     00040621011028744           Electric       Gov. Aggregation   AEP - OP      00140060767333345           Electric       Gov. Aggregation
AEP - CSP     00040621011062202           Electric       Gov. Aggregation   AEP - OP      00140060767428824           Electric       Gov. Aggregation
AEP - CSP     00040621011110024           Electric       Gov. Aggregation   AEP - OP      00140060767707174           Electric       Gov. Aggregation
AEP - CSP     00040621011373124           Electric       Gov. Aggregation   AEP - OP      00140060767901085           Electric       Gov. Aggregation
AEP - CSP     00040621011470134           Electric       Gov. Aggregation   AEP - OP      00140060783372660           Electric       Gov. Aggregation
AEP - CSP     00040621008792535           Electric       Gov. Aggregation   AEP - OP      00140060783428395           Electric       Gov. Aggregation
AEP - CSP     00040621008940320           Electric       Gov. Aggregation   AEP - OP      00140060783433573           Electric       Gov. Aggregation
AEP - CSP     00040621008992044           Electric       Gov. Aggregation   AEP - OP      00140060783584531           Electric       Gov. Aggregation
AEP - CSP     00040621009175502           Electric       Gov. Aggregation   AEP - OP      00140060783608794           Electric       Gov. Aggregation
AEP - CSP     00040621009321630           Electric       Gov. Aggregation   AEP - OP      00140060783659294           Electric       Gov. Aggregation
AEP - CSP     00040621009397261           Electric       Gov. Aggregation   AEP - OP      00140060783680703           Electric       Gov. Aggregation
AEP - CSP     00040621011553995           Electric       Gov. Aggregation   AEP - OP      00140060767287540           Electric       Gov. Aggregation
AEP - CSP     00040621011696025           Electric       Gov. Aggregation   AEP - OP      00140060767290824           Electric       Gov. Aggregation
AEP - CSP     00040621011748701           Electric       Gov. Aggregation   AEP - OP      00140060767313731           Electric       Gov. Aggregation
AEP - CSP     00040621011879824           Electric       Gov. Aggregation   AEP - OP      00140060767404254           Electric       Gov. Aggregation
AEP - CSP     00040621011972690           Electric       Gov. Aggregation   AEP - OP      00140060767416052           Electric       Gov. Aggregation
AEP - CSP     00040621012065302           Electric       Gov. Aggregation   AEP - OP      00140060767420925           Electric       Gov. Aggregation
AEP - CSP     00040621009449762           Electric       Gov. Aggregation   AEP - OP      00140060767445721           Electric       Gov. Aggregation
AEP - CSP     00040621009460082           Electric       Gov. Aggregation   AEP - OP      00140060769969692           Electric       Gov. Aggregation
AEP - CSP     00040621009528661           Electric       Gov. Aggregation   AEP - OP      00140060769999240           Electric       Gov. Aggregation
AEP - CSP     00040621009562262           Electric       Gov. Aggregation   AEP - OP      00140060770002742           Electric       Gov. Aggregation
AEP - CSP     00040621009964324           Electric       Gov. Aggregation   AEP - OP      00140060770124425           Electric       Gov. Aggregation
AEP - CSP     00040621010206864           Electric       Gov. Aggregation   AEP - OP      00140060770230111           Electric       Gov. Aggregation
AEP - CSP     00040621010298011           Electric       Gov. Aggregation   AEP - OP      00140060770315173           Electric       Gov. Aggregation
AEP - CSP     00040621012158883           Electric       Gov. Aggregation   AEP - OP      00140060770330743           Electric       Gov. Aggregation
AEP - CSP     00040621012193380           Electric       Gov. Aggregation   AEP - OP      00140060772996561           Electric       Gov. Aggregation
AEP - CSP     00040621012241605           Electric       Gov. Aggregation   AEP - OP      00140060773041115           Electric       Gov. Aggregation
AEP - CSP     00040621012280992           Electric       Gov. Aggregation   AEP - OP      00140060773116532           Electric       Gov. Aggregation
AEP - CSP     00040621012407464           Electric       Gov. Aggregation   AEP - OP      00140060773278272           Electric       Gov. Aggregation
AEP - CSP     00040621012440102           Electric       Gov. Aggregation   AEP - OP      00140060773311082           Electric       Gov. Aggregation
AEP - CSP     00040621010363190           Electric       Gov. Aggregation   AEP - OP      00140060778935112           Electric       Gov. Aggregation
AEP - CSP     00040621010695470           Electric       Gov. Aggregation   AEP - OP      00140060778953870           Electric       Gov. Aggregation
AEP - CSP     00040621010766125           Electric       Gov. Aggregation   AEP - OP      00140060778995461           Electric       Gov. Aggregation
AEP - CSP     00040621010798470           Electric       Gov. Aggregation   AEP - OP      00140060779196004           Electric       Gov. Aggregation
AEP - CSP     00040621010877125           Electric       Gov. Aggregation   AEP - OP      00140060779210213           Electric       Gov. Aggregation
AEP - CSP     00040621010998250           Electric       Gov. Aggregation   AEP - OP      00140060779245494           Electric       Gov. Aggregation
AEP - CSP     00040621012458983           Electric       Gov. Aggregation   AEP - OP      00140060779283831           Electric       Gov. Aggregation
AEP - CSP     00040621012474644           Electric       Gov. Aggregation   AEP - OP      00140060785315892           Electric       Gov. Aggregation
AEP - CSP     00040621012531955           Electric       Gov. Aggregation   AEP - OP      00140060785449774           Electric       Gov. Aggregation
AEP - CSP     00040621012547701           Electric       Gov. Aggregation   AEP - OP      00140060785477900           Electric       Gov. Aggregation
AEP - CSP     00040621012614861           Electric       Gov. Aggregation   AEP - OP      00140060785535542           Electric       Gov. Aggregation
AEP - CSP     00040621012762771           Electric       Gov. Aggregation   AEP - OP      00140060785580520           Electric       Gov. Aggregation
AEP - CSP     00040621012987864           Electric       Gov. Aggregation   AEP - OP      00140060785621911           Electric       Gov. Aggregation
AEP - CSP     00040621011119360           Electric       Gov. Aggregation   AEP - OP      00140060785697272           Electric       Gov. Aggregation
AEP - CSP     00040621011221731           Electric       Gov. Aggregation   AEP - OP      00140060782400334           Electric       Gov. Aggregation
AEP - CSP     00040621011252871           Electric       Gov. Aggregation   AEP - OP      00140060782459575           Electric       Gov. Aggregation
AEP - CSP     00040621011310801           Electric       Gov. Aggregation   AEP - OP      00140060782486862           Electric       Gov. Aggregation
AEP - CSP     00040621011387845           Electric       Gov. Aggregation   AEP - OP      00140060782596145           Electric       Gov. Aggregation
AEP - CSP     00040621011401465           Electric       Gov. Aggregation   AEP - OP      00140060782677690           Electric       Gov. Aggregation
AEP - CSP     00040621011535392           Electric       Gov. Aggregation   AEP - OP      00140060782851620           Electric       Gov. Aggregation
AEP - CSP     00040621013033815           Electric       Gov. Aggregation   AEP - OP      00140060767964250           Electric       Gov. Aggregation
AEP - CSP     00040621013160681           Electric       Gov. Aggregation   AEP - OP      00140060767988080           Electric       Gov. Aggregation
AEP - CSP     00040621013162005           Electric       Gov. Aggregation   AEP - OP      00140060768037332           Electric       Gov. Aggregation
AEP - CSP     00040621013294261           Electric       Gov. Aggregation   AEP - OP      00140060768091434           Electric       Gov. Aggregation
AEP - CSP     00040621013350413           Electric       Gov. Aggregation   AEP - OP      00140060768094002           Electric       Gov. Aggregation
AEP - CSP     00040621013437584           Electric       Gov. Aggregation   AEP - OP      00140060768117765           Electric       Gov. Aggregation
AEP - CSP     00040621013616923           Electric       Gov. Aggregation   AEP - OP      00140060768208485           Electric       Gov. Aggregation
AEP - CSP     00040621008645794           Electric       Gov. Aggregation   AEP - OP      00140060782897735           Electric       Gov. Aggregation
AEP - CSP     00040621008662993           Electric       Gov. Aggregation   AEP - OP      00140060782951043           Electric       Gov. Aggregation
AEP - CSP     00040621008847532           Electric       Gov. Aggregation   AEP - OP      00140060783142505           Electric       Gov. Aggregation
AEP - CSP     00040621008847585           Electric       Gov. Aggregation   AEP - OP      00140060783285104           Electric       Gov. Aggregation
AEP - CSP     00040621008874413           Electric       Gov. Aggregation   AEP - OP      00140060783312420           Electric       Gov. Aggregation
AEP - CSP     00040621008913963           Electric       Gov. Aggregation   AEP - OP      00140060783364953           Electric       Gov. Aggregation
AEP - CSP     00040621007534584           Electric       Gov. Aggregation   AEP - OP      00140060783715645           Electric       Gov. Aggregation
AEP - CSP     00040621007552245           Electric       Gov. Aggregation   AEP - OP      00140060783784115           Electric       Gov. Aggregation
AEP - CSP     00040621007596401           Electric       Gov. Aggregation   AEP - OP      00140060783811533           Electric       Gov. Aggregation
AEP - CSP     00040621007675412           Electric       Gov. Aggregation   AEP - OP      00140060783870522           Electric       Gov. Aggregation
AEP - CSP     00040621007776070           Electric       Gov. Aggregation   AEP - OP      00140060783876803           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621007884162           Electric       Gov. Aggregation   AEP - OP      00140060783889762           Electric       Gov. Aggregation
AEP - CSP     00040621008009241           Electric       Gov. Aggregation   AEP - OP      00140060783938224           Electric       Gov. Aggregation
AEP - CSP     00040621007086694           Electric       Gov. Aggregation   AEP - OP      00140060784044540           Electric       Gov. Aggregation
AEP - CSP     00040621007089485           Electric       Gov. Aggregation   AEP - OP      00140060767862194           Electric       Gov. Aggregation
AEP - CSP     00040621007098825           Electric       Gov. Aggregation   AEP - OP      00140060767865485           Electric       Gov. Aggregation
AEP - CSP     00040621007172110           Electric       Gov. Aggregation   AEP - OP      00140060768023365           Electric       Gov. Aggregation
AEP - CSP     00040621007213875           Electric       Gov. Aggregation   AEP - OP      00140060768069683           Electric       Gov. Aggregation
AEP - CSP     00040621007255594           Electric       Gov. Aggregation   AEP - OP      00140060768109580           Electric       Gov. Aggregation
AEP - CSP     00040621007273642           Electric       Gov. Aggregation   AEP - OP      00140060768157224           Electric       Gov. Aggregation
AEP - CSP     00040621007441911           Electric       Gov. Aggregation   AEP - OP      00140060768199510           Electric       Gov. Aggregation
AEP - CSP     00040621007456143           Electric       Gov. Aggregation   AEP - OP      00140060770525201           Electric       Gov. Aggregation
AEP - CSP     00040621007468221           Electric       Gov. Aggregation   AEP - OP      00140060770593684           Electric       Gov. Aggregation
AEP - CSP     00040621007708893           Electric       Gov. Aggregation   AEP - OP      00140060770848085           Electric       Gov. Aggregation
AEP - CSP     00040621007802441           Electric       Gov. Aggregation   AEP - OP      00140060771091370           Electric       Gov. Aggregation
AEP - CSP     00040621007851572           Electric       Gov. Aggregation   AEP - OP      00140060771141352           Electric       Gov. Aggregation
AEP - CSP     00040621007912912           Electric       Gov. Aggregation   AEP - OP      00140060771238644           Electric       Gov. Aggregation
AEP - CSP     00040621007315025           Electric       Gov. Aggregation   AEP - OP      00140060771285731           Electric       Gov. Aggregation
AEP - CSP     00040621007459331           Electric       Gov. Aggregation   AEP - OP      00140060773315840           Electric       Gov. Aggregation
AEP - CSP     00040621007466172           Electric       Gov. Aggregation   AEP - OP      00140060773402832           Electric       Gov. Aggregation
AEP - CSP     00040621007654715           Electric       Gov. Aggregation   AEP - OP      00140060773431361           Electric       Gov. Aggregation
AEP - CSP     00040621007658982           Electric       Gov. Aggregation   AEP - OP      00140060773469161           Electric       Gov. Aggregation
AEP - CSP     00040621007681534           Electric       Gov. Aggregation   AEP - OP      00140060773704590           Electric       Gov. Aggregation
AEP - CSP     00040621007867074           Electric       Gov. Aggregation   AEP - OP      00140060773715225           Electric       Gov. Aggregation
AEP - CSP     00040621008004555           Electric       Gov. Aggregation   AEP - OP      00140060773890440           Electric       Gov. Aggregation
AEP - CSP     00040621008131910           Electric       Gov. Aggregation   AEP - OP      00140060785754791           Electric       Gov. Aggregation
AEP - CSP     00040621008224592           Electric       Gov. Aggregation   AEP - OP      00140060785821825           Electric       Gov. Aggregation
AEP - CSP     00040621008319831           Electric       Gov. Aggregation   AEP - OP      00140060785854223           Electric       Gov. Aggregation
AEP - CSP     00040621008566471           Electric       Gov. Aggregation   AEP - OP      00140060785882634           Electric       Gov. Aggregation
AEP - CSP     00040621007437380           Electric       Gov. Aggregation   AEP - OP      00140060785912780           Electric       Gov. Aggregation
AEP - CSP     00040621007467340           Electric       Gov. Aggregation   AEP - OP      00140060785934265           Electric       Gov. Aggregation
AEP - CSP     00040621007550724           Electric       Gov. Aggregation   AEP - OP      00140060786078294           Electric       Gov. Aggregation
AEP - CSP     00040621007615921           Electric       Gov. Aggregation   AEP - OP      00140060783374415           Electric       Gov. Aggregation
AEP - CSP     00040621007638423           Electric       Gov. Aggregation   AEP - OP      00140060783524761           Electric       Gov. Aggregation
AEP - CSP     00040621007749240           Electric       Gov. Aggregation   AEP - OP      00140060783548050           Electric       Gov. Aggregation
AEP - CSP     00040621007961991           Electric       Gov. Aggregation   AEP - OP      00140060783587162           Electric       Gov. Aggregation
AEP - CSP     00040621008595095           Electric       Gov. Aggregation   AEP - OP      00140060783636325           Electric       Gov. Aggregation
AEP - CSP     00040621008808032           Electric       Gov. Aggregation   AEP - OP      00140060783669853           Electric       Gov. Aggregation
AEP - CSP     00040621008861700           Electric       Gov. Aggregation   AEP - OP      00140060783705782           Electric       Gov. Aggregation
AEP - CSP     00040621008862730           Electric       Gov. Aggregation   AEP - OP      00140060768216640           Electric       Gov. Aggregation
AEP - CSP     00040621009159581           Electric       Gov. Aggregation   AEP - OP      00140060768226264           Electric       Gov. Aggregation
AEP - CSP     00040621008925470           Electric       Gov. Aggregation   AEP - OP      00140060768270024           Electric       Gov. Aggregation
AEP - CSP     00040621008963293           Electric       Gov. Aggregation   AEP - OP      00140060768305315           Electric       Gov. Aggregation
AEP - CSP     00040621009002692           Electric       Gov. Aggregation   AEP - OP      00140060768457964           Electric       Gov. Aggregation
AEP - CSP     00040621009134394           Electric       Gov. Aggregation   AEP - OP      00140060768714180           Electric       Gov. Aggregation
AEP - CSP     00040621009191473           Electric       Gov. Aggregation   AEP - OP      00140060768740081           Electric       Gov. Aggregation
AEP - CSP     00040621009315154           Electric       Gov. Aggregation   AEP - OP      00140060784091353           Electric       Gov. Aggregation
AEP - CSP     00040621009331354           Electric       Gov. Aggregation   AEP - OP      00140060784128464           Electric       Gov. Aggregation
AEP - CSP     00040621013668152           Electric       Gov. Aggregation   AEP - OP      00140060784212762           Electric       Gov. Aggregation
AEP - CSP     00040621013712664           Electric       Gov. Aggregation   AEP - OP      00140060784477615           Electric       Gov. Aggregation
AEP - CSP     00040621013731190           Electric       Gov. Aggregation   AEP - OP      00140060784563425           Electric       Gov. Aggregation
AEP - CSP     00040621013780490           Electric       Gov. Aggregation   AEP - OP      00140060784671483           Electric       Gov. Aggregation
AEP - CSP     00040621013903204           Electric       Gov. Aggregation   AEP - OP      00140060784681325           Electric       Gov. Aggregation
AEP - CSP     00040621013959154           Electric       Gov. Aggregation   AEP - OP      00140060768320544           Electric       Gov. Aggregation
AEP - CSP     00040621007931530           Electric       Gov. Aggregation   AEP - OP      00140060768391343           Electric       Gov. Aggregation
AEP - CSP     00040621007937772           Electric       Gov. Aggregation   AEP - OP      00140060768425262           Electric       Gov. Aggregation
AEP - CSP     00040621007967522           Electric       Gov. Aggregation   AEP - OP      00140060768453980           Electric       Gov. Aggregation
AEP - CSP     00040621008091085           Electric       Gov. Aggregation   AEP - OP      00140060768539580           Electric       Gov. Aggregation
AEP - CSP     00040621008122534           Electric       Gov. Aggregation   AEP - OP      00140060768660370           Electric       Gov. Aggregation
AEP - CSP     00040621008191111           Electric       Gov. Aggregation   AEP - OP      00140060768686352           Electric       Gov. Aggregation
AEP - CSP     00040621008211843           Electric       Gov. Aggregation   AEP - OP      00140060783829333           Electric       Gov. Aggregation
AEP - CSP     00040621011859280           Electric       Gov. Aggregation   AEP - OP      00140060783831430           Electric       Gov. Aggregation
AEP - CSP     00040621011905275           Electric       Gov. Aggregation   AEP - OP      00140060783865331           Electric       Gov. Aggregation
AEP - CSP     00040621011953470           Electric       Gov. Aggregation   AEP - OP      00140060784055495           Electric       Gov. Aggregation
AEP - CSP     00040621012000013           Electric       Gov. Aggregation   AEP - OP      00140060784090330           Electric       Gov. Aggregation
AEP - CSP     00040621012078633           Electric       Gov. Aggregation   AEP - OP      00140060784137213           Electric       Gov. Aggregation
AEP - CSP     00040621012164814           Electric       Gov. Aggregation   AEP - OP      00140060784218594           Electric       Gov. Aggregation
AEP - CSP     00040621012531284           Electric       Gov. Aggregation   AEP - OP      00140060771328255           Electric       Gov. Aggregation
AEP - CSP     00040621008225675           Electric       Gov. Aggregation   AEP - OP      00140060771385485           Electric       Gov. Aggregation
AEP - CSP     00040621008323131           Electric       Gov. Aggregation   AEP - OP      00140060771706955           Electric       Gov. Aggregation
AEP - CSP     00040621008536841           Electric       Gov. Aggregation   AEP - OP      00140060771794035           Electric       Gov. Aggregation
AEP - CSP     00040621008544970           Electric       Gov. Aggregation   AEP - OP      00140060772011485           Electric       Gov. Aggregation
AEP - CSP     00040621008566565           Electric       Gov. Aggregation   AEP - OP      00140060772092672           Electric       Gov. Aggregation
AEP - CSP     00040621008620004           Electric       Gov. Aggregation   AEP - OP      00140060772154775           Electric       Gov. Aggregation
AEP - CSP     00040621008661103           Electric       Gov. Aggregation   AEP - OP      00140060779399131           Electric       Gov. Aggregation
AEP - CSP     00040621009414005           Electric       Gov. Aggregation   AEP - OP      00140060779408105           Electric       Gov. Aggregation
AEP - CSP     00040621009482952           Electric       Gov. Aggregation   AEP - OP      00140060779458702           Electric       Gov. Aggregation
AEP - CSP     00040621009638504           Electric       Gov. Aggregation   AEP - OP      00140060779534623           Electric       Gov. Aggregation
AEP - CSP     00040621009687144           Electric       Gov. Aggregation   AEP - OP      00140060779584741           Electric       Gov. Aggregation
AEP - CSP     00040621009745413           Electric       Gov. Aggregation   AEP - OP      00140060779607910           Electric       Gov. Aggregation
AEP - CSP     00040621009786235           Electric       Gov. Aggregation   AEP - OP      00140060773956221           Electric       Gov. Aggregation
AEP - CSP     00040621009798320           Electric       Gov. Aggregation   AEP - OP      00140060774053954           Electric       Gov. Aggregation
AEP - CSP     00040621008345723           Electric       Gov. Aggregation   AEP - OP      00140060774063832           Electric       Gov. Aggregation
AEP - CSP     00040621008602645           Electric       Gov. Aggregation   AEP - OP      00140060774282214           Electric       Gov. Aggregation
AEP - CSP     00040621008681633           Electric       Gov. Aggregation   AEP - OP      00140060774289400           Electric       Gov. Aggregation
AEP - CSP     00040621008735820           Electric       Gov. Aggregation   AEP - OP      00140060774391210           Electric       Gov. Aggregation
AEP - CSP     00040621008782553           Electric       Gov. Aggregation   AEP - OP      00140060774400150           Electric       Gov. Aggregation
AEP - CSP     00040621009153393           Electric       Gov. Aggregation   AEP - OP      00140060786084951           Electric       Gov. Aggregation
AEP - CSP     00040621009299000           Electric       Gov. Aggregation   AEP - OP      00140060786158272           Electric       Gov. Aggregation
AEP - CSP     00040621014086094           Electric       Gov. Aggregation   AEP - OP      00140060786257841           Electric       Gov. Aggregation
AEP - CSP     00040621014172212           Electric       Gov. Aggregation   AEP - OP      00140060786267182           Electric       Gov. Aggregation
     Case 2:22-bk-50804                        Doc 155 Filed 04/08/22 Entered 04/08/22 16:29:21                                  Desc Main
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621014228265           Electric       Gov. Aggregation   AEP - OP      00140060786422902           Electric       Gov. Aggregation
AEP - CSP     00040621014341490           Electric       Gov. Aggregation   AEP - OP      00140060786481581           Electric       Gov. Aggregation
AEP - CSP     00040621014603991           Electric       Gov. Aggregation   AEP - OP      00140060786544892           Electric       Gov. Aggregation
AEP - CSP     00040621014665174           Electric       Gov. Aggregation   AEP - OP      00140060768705114           Electric       Gov. Aggregation
AEP - CSP     00040621008235102           Electric       Gov. Aggregation   AEP - OP      00140060768754332           Electric       Gov. Aggregation
AEP - CSP     00040621008301651           Electric       Gov. Aggregation   AEP - OP      00140060768768780           Electric       Gov. Aggregation
AEP - CSP     00040621008396272           Electric       Gov. Aggregation   AEP - OP      00140060768840562           Electric       Gov. Aggregation
AEP - CSP     00040621008417645           Electric       Gov. Aggregation   AEP - OP      00140060768862740           Electric       Gov. Aggregation
AEP - CSP     00040621008485220           Electric       Gov. Aggregation   AEP - OP      00140060769102702           Electric       Gov. Aggregation
AEP - CSP     00040621008576722           Electric       Gov. Aggregation   AEP - OP      00140060769114744           Electric       Gov. Aggregation
AEP - CSP     00040621008588854           Electric       Gov. Aggregation   AEP - OP      00140060784719300           Electric       Gov. Aggregation
AEP - CSP     00040621009202600           Electric       Gov. Aggregation   AEP - OP      00140060784807750           Electric       Gov. Aggregation
AEP - CSP     00040621009569351           Electric       Gov. Aggregation   AEP - OP      00140060784977585           Electric       Gov. Aggregation
AEP - CSP     00040621009795994           Electric       Gov. Aggregation   AEP - OP      00140060785083385           Electric       Gov. Aggregation
AEP - CSP     00040621009976632           Electric       Gov. Aggregation   AEP - OP      00140060785173454           Electric       Gov. Aggregation
AEP - CSP     00040621010043064           Electric       Gov. Aggregation   AEP - OP      00140060768838930           Electric       Gov. Aggregation
AEP - CSP     00040621010094224           Electric       Gov. Aggregation   AEP - OP      00140060768886724           Electric       Gov. Aggregation
AEP - CSP     00040621009396523           Electric       Gov. Aggregation   AEP - OP      00140060768895155           Electric       Gov. Aggregation
AEP - CSP     00040621009569843           Electric       Gov. Aggregation   AEP - OP      00140060768949865           Electric       Gov. Aggregation
AEP - CSP     00040621009574184           Electric       Gov. Aggregation   AEP - OP      00140060768986201           Electric       Gov. Aggregation
AEP - CSP     00040621009642972           Electric       Gov. Aggregation   AEP - OP      00140060768992634           Electric       Gov. Aggregation
AEP - CSP     00040621010116881           Electric       Gov. Aggregation   AEP - OP      00140060769266283           Electric       Gov. Aggregation
AEP - CSP     00040621010164655           Electric       Gov. Aggregation   AEP - OP      00140060784296563           Electric       Gov. Aggregation
AEP - CSP     00040621010380374           Electric       Gov. Aggregation   AEP - OP      00140060784303235           Electric       Gov. Aggregation
AEP - CSP     00040621014673205           Electric       Gov. Aggregation   AEP - OP      00140060784345580           Electric       Gov. Aggregation
AEP - CSP     00040621014790183           Electric       Gov. Aggregation   AEP - OP      00140060784583581           Electric       Gov. Aggregation
AEP - CSP     00040621015001624           Electric       Gov. Aggregation   AEP - OP      00140060784636964           Electric       Gov. Aggregation
AEP - CSP     00040621015528203           Electric       Gov. Aggregation   AEP - OP      00140060784668062           Electric       Gov. Aggregation
AEP - CSP     00040621015537372           Electric       Gov. Aggregation   AEP - OP      00140060784966235           Electric       Gov. Aggregation
AEP - CSP     00040621015556894           Electric       Gov. Aggregation   AEP - OP      00140060772185433           Electric       Gov. Aggregation
AEP - CSP     00040621015727920           Electric       Gov. Aggregation   AEP - OP      00140060772271204           Electric       Gov. Aggregation
AEP - CSP     00040621012786792           Electric       Gov. Aggregation   AEP - OP      00140060772343701           Electric       Gov. Aggregation
AEP - CSP     00040621012885280           Electric       Gov. Aggregation   AEP - OP      00140060772429053           Electric       Gov. Aggregation
AEP - CSP     00040621013012034           Electric       Gov. Aggregation   AEP - OP      00140060772435730           Electric       Gov. Aggregation
AEP - CSP     00040621013058934           Electric       Gov. Aggregation   AEP - OP      00140060772536481           Electric       Gov. Aggregation
AEP - CSP     00040621013344672           Electric       Gov. Aggregation   AEP - OP      00140060772557481           Electric       Gov. Aggregation
AEP - CSP     00040621013573165           Electric       Gov. Aggregation   AEP - OP      00140060779772464           Electric       Gov. Aggregation
AEP - CSP     00040621010340651           Electric       Gov. Aggregation   AEP - OP      00140060779971395           Electric       Gov. Aggregation
AEP - CSP     00040621010890681           Electric       Gov. Aggregation   AEP - OP      00140060780027040           Electric       Gov. Aggregation
AEP - CSP     00040621011014932           Electric       Gov. Aggregation   AEP - OP      00140060780058490           Electric       Gov. Aggregation
AEP - CSP     00040621011025263           Electric       Gov. Aggregation   AEP - OP      00140060780201052           Electric       Gov. Aggregation
AEP - CSP     00040621011258285           Electric       Gov. Aggregation   AEP - OP      00140060780233614           Electric       Gov. Aggregation
AEP - CSP     00040621011259632           Electric       Gov. Aggregation   AEP - OP      00140060780284042           Electric       Gov. Aggregation
AEP - CSP     00040621013608562           Electric       Gov. Aggregation   AEP - OP      00140060774514310           Electric       Gov. Aggregation
AEP - CSP     00040621013658843           Electric       Gov. Aggregation   AEP - OP      00140060774556472           Electric       Gov. Aggregation
AEP - CSP     00040621013667201           Electric       Gov. Aggregation   AEP - OP      00140060774677734           Electric       Gov. Aggregation
AEP - CSP     00040621013908494           Electric       Gov. Aggregation   AEP - OP      00140060774743670           Electric       Gov. Aggregation
AEP - CSP     00040621013960683           Electric       Gov. Aggregation   AEP - OP      00140060774753463           Electric       Gov. Aggregation
AEP - CSP     00040621014109990           Electric       Gov. Aggregation   AEP - OP      00140060774767843           Electric       Gov. Aggregation
AEP - CSP     00040621014121530           Electric       Gov. Aggregation   AEP - OP      00140060774792642           Electric       Gov. Aggregation
AEP - CSP     00040621008810893           Electric       Gov. Aggregation   AEP - OP      00140060786559640           Electric       Gov. Aggregation
AEP - CSP     00040621009114083           Electric       Gov. Aggregation   AEP - OP      00140060786689000           Electric       Gov. Aggregation
AEP - CSP     00040621009166465           Electric       Gov. Aggregation   AEP - OP      00140060786707954           Electric       Gov. Aggregation
AEP - CSP     00040621009217963           Electric       Gov. Aggregation   AEP - OP      00140060786928010           Electric       Gov. Aggregation
AEP - CSP     00040621009287322           Electric       Gov. Aggregation   AEP - OP      00140060787119211           Electric       Gov. Aggregation
AEP - CSP     00040621009901664           Electric       Gov. Aggregation   AEP - OP      00140060787120833           Electric       Gov. Aggregation
AEP - CSP     00040621009928851           Electric       Gov. Aggregation   AEP - OP      00140060787188341           Electric       Gov. Aggregation
AEP - CSP     00040621009973611           Electric       Gov. Aggregation   AEP - OP      00140060769115481           Electric       Gov. Aggregation
AEP - CSP     00040621010064375           Electric       Gov. Aggregation   AEP - OP      00140060769182253           Electric       Gov. Aggregation
AEP - CSP     00040621010273410           Electric       Gov. Aggregation   AEP - OP      00140060769253932           Electric       Gov. Aggregation
AEP - CSP     00040621010298884           Electric       Gov. Aggregation   AEP - OP      00140060769358550           Electric       Gov. Aggregation
AEP - CSP     00040621010490060           Electric       Gov. Aggregation   AEP - OP      00140060769435031           Electric       Gov. Aggregation
AEP - CSP     00040621010511485           Electric       Gov. Aggregation   AEP - OP      00140060769439545           Electric       Gov. Aggregation
AEP - CSP     00040621010531295           Electric       Gov. Aggregation   AEP - OP      00140060769540402           Electric       Gov. Aggregation
AEP - CSP     00040621010596092           Electric       Gov. Aggregation   AEP - OP      00140060785392322           Electric       Gov. Aggregation
AEP - CSP     00040621010634725           Electric       Gov. Aggregation   AEP - OP      00140060785513371           Electric       Gov. Aggregation
AEP - CSP     00040621010643992           Electric       Gov. Aggregation   AEP - OP      00140060785692775           Electric       Gov. Aggregation
AEP - CSP     00040621015756851           Electric       Gov. Aggregation   AEP - OP      00140060785810775           Electric       Gov. Aggregation
AEP - CSP     00040621015757631           Electric       Gov. Aggregation   AEP - OP      00140060785898423           Electric       Gov. Aggregation
AEP - CSP     00040621015859083           Electric       Gov. Aggregation   AEP - OP      00140060785927761           Electric       Gov. Aggregation
AEP - CSP     00040621016024713           Electric       Gov. Aggregation   AEP - OP      00140060785968145           Electric       Gov. Aggregation
AEP - CSP     00040621016235125           Electric       Gov. Aggregation   AEP - OP      00140060769601390           Electric       Gov. Aggregation
AEP - CSP     00040621016360074           Electric       Gov. Aggregation   AEP - OP      00140060769665073           Electric       Gov. Aggregation
AEP - CSP     00040621016410355           Electric       Gov. Aggregation   AEP - OP      00140060769671734           Electric       Gov. Aggregation
AEP - CSP     00040621011327292           Electric       Gov. Aggregation   AEP - OP      00140060769672513           Electric       Gov. Aggregation
AEP - CSP     00040621011910270           Electric       Gov. Aggregation   AEP - OP      00140060769728983           Electric       Gov. Aggregation
AEP - CSP     00040621011914264           Electric       Gov. Aggregation   AEP - OP      00140060769742920           Electric       Gov. Aggregation
AEP - CSP     00040621011936521           Electric       Gov. Aggregation   AEP - OP      00140060774794025           Electric       Gov. Aggregation
AEP - CSP     00040621012041371           Electric       Gov. Aggregation   AEP - OP      00140060774884493           Electric       Gov. Aggregation
AEP - CSP     00040621012092754           Electric       Gov. Aggregation   AEP - OP      00140060774890022           Electric       Gov. Aggregation
AEP - CSP     00040621014174800           Electric       Gov. Aggregation   AEP - OP      00140060774891145           Electric       Gov. Aggregation
AEP - CSP     00040621014197502           Electric       Gov. Aggregation   AEP - OP      00140060774937251           Electric       Gov. Aggregation
AEP - CSP     00040621014461055           Electric       Gov. Aggregation   AEP - OP      00140060774943950           Electric       Gov. Aggregation
AEP - CSP     00040621014644714           Electric       Gov. Aggregation   AEP - OP      00140060784982232           Electric       Gov. Aggregation
AEP - CSP     00040621014658390           Electric       Gov. Aggregation   AEP - OP      00140060785037061           Electric       Gov. Aggregation
AEP - CSP     00040621014784951           Electric       Gov. Aggregation   AEP - OP      00140060785089762           Electric       Gov. Aggregation
AEP - CSP     00040621014898141           Electric       Gov. Aggregation   AEP - OP      00140060785265804           Electric       Gov. Aggregation
AEP - CSP     00040621009370374           Electric       Gov. Aggregation   AEP - OP      00140060785295250           Electric       Gov. Aggregation
AEP - CSP     00040621009391833           Electric       Gov. Aggregation   AEP - OP      00140060785344821           Electric       Gov. Aggregation
AEP - CSP     00040621009408760           Electric       Gov. Aggregation   AEP - OP      00140060785383120           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621009497312           Electric       Gov. Aggregation   AEP - OP      00140060780326154           Electric       Gov. Aggregation
AEP - CSP     00040621009581304           Electric       Gov. Aggregation   AEP - OP      00140060780494234           Electric       Gov. Aggregation
AEP - CSP     00040621009620995           Electric       Gov. Aggregation   AEP - OP      00140060780501190           Electric       Gov. Aggregation
AEP - CSP     00040621010351130           Electric       Gov. Aggregation   AEP - OP      00140060780613130           Electric       Gov. Aggregation
AEP - CSP     00040621010489351           Electric       Gov. Aggregation   AEP - OP      00140060780626170           Electric       Gov. Aggregation
AEP - CSP     00040621010502010           Electric       Gov. Aggregation   AEP - OP      00140060780658674           Electric       Gov. Aggregation
AEP - CSP     00040621010505704           Electric       Gov. Aggregation   AEP - OP      00140060780735385           Electric       Gov. Aggregation
AEP - CSP     00040621010610772           Electric       Gov. Aggregation   AEP - OP      00140060785969570           Electric       Gov. Aggregation
AEP - CSP     00040621010710753           Electric       Gov. Aggregation   AEP - OP      00140060786040233           Electric       Gov. Aggregation
AEP - CSP     00040621010761684           Electric       Gov. Aggregation   AEP - OP      00140060786066522           Electric       Gov. Aggregation
AEP - CSP     00040621011137822           Electric       Gov. Aggregation   AEP - OP      00140060786068992           Electric       Gov. Aggregation
AEP - CSP     00040621011244410           Electric       Gov. Aggregation   AEP - OP      00140060786111840           Electric       Gov. Aggregation
AEP - CSP     00040621011402561           Electric       Gov. Aggregation   AEP - OP      00140060786228875           Electric       Gov. Aggregation
AEP - CSP     00040621011432761           Electric       Gov. Aggregation   AEP - OP      00140060775148894           Electric       Gov. Aggregation
AEP - CSP     00040621011446405           Electric       Gov. Aggregation   AEP - OP      00140060775317511           Electric       Gov. Aggregation
AEP - CSP     00040621011531103           Electric       Gov. Aggregation   AEP - OP      00140060775368173           Electric       Gov. Aggregation
AEP - CSP     00040621016459231           Electric       Gov. Aggregation   AEP - OP      00140060775443685           Electric       Gov. Aggregation
AEP - CSP     00040621016469153           Electric       Gov. Aggregation   AEP - OP      00140060775464624           Electric       Gov. Aggregation
AEP - CSP     00040621016490233           Electric       Gov. Aggregation   AEP - OP      00140060775518935           Electric       Gov. Aggregation
AEP - CSP     00040621016506945           Electric       Gov. Aggregation   AEP - OP      00140060775560944           Electric       Gov. Aggregation
AEP - CSP     00040621016525645           Electric       Gov. Aggregation   AEP - OP      00140060780842901           Electric       Gov. Aggregation
AEP - CSP     00040621017009334           Electric       Gov. Aggregation   AEP - OP      00140060780925431           Electric       Gov. Aggregation
AEP - CSP     00040621017248144           Electric       Gov. Aggregation   AEP - OP      00140060780988701           Electric       Gov. Aggregation
AEP - CSP     00040621012185722           Electric       Gov. Aggregation   AEP - OP      00140060781011691           Electric       Gov. Aggregation
AEP - CSP     00040621012208232           Electric       Gov. Aggregation   AEP - OP      00140060781050275           Electric       Gov. Aggregation
AEP - CSP     00040621012305011           Electric       Gov. Aggregation   AEP - OP      00140060781150022           Electric       Gov. Aggregation
AEP - CSP     00040621012381700           Electric       Gov. Aggregation   AEP - OP      00140060772593993           Electric       Gov. Aggregation
AEP - CSP     00040621012434281           Electric       Gov. Aggregation   AEP - OP      00140060772774670           Electric       Gov. Aggregation
AEP - CSP     00040621012434572           Electric       Gov. Aggregation   AEP - OP      00140060772785464           Electric       Gov. Aggregation
AEP - CSP     00040621012437132           Electric       Gov. Aggregation   AEP - OP      00140060772848990           Electric       Gov. Aggregation
AEP - CSP     00040621015010585           Electric       Gov. Aggregation   AEP - OP      00140060772869132           Electric       Gov. Aggregation
AEP - CSP     00040621015346474           Electric       Gov. Aggregation   AEP - OP      00140060772872463           Electric       Gov. Aggregation
AEP - CSP     00040621015353514           Electric       Gov. Aggregation   AEP - OP      00140060786266894           Electric       Gov. Aggregation
AEP - CSP     00040621015448013           Electric       Gov. Aggregation   AEP - OP      00140060786330032           Electric       Gov. Aggregation
AEP - CSP     00040621015450845           Electric       Gov. Aggregation   AEP - OP      00140060786356862           Electric       Gov. Aggregation
AEP - CSP     00040621015480351           Electric       Gov. Aggregation   AEP - OP      00140060786357385           Electric       Gov. Aggregation
AEP - CSP     00040621008590594           Electric       Gov. Aggregation   AEP - OP      00140060786384581           Electric       Gov. Aggregation
AEP - CSP     00040621008602575           Electric       Gov. Aggregation   AEP - OP      00140060786532413           Electric       Gov. Aggregation
AEP - CSP     00040621008605521           Electric       Gov. Aggregation   AEP - OP      00140060786582972           Electric       Gov. Aggregation
AEP - CSP     00040621008817360           Electric       Gov. Aggregation   AEP - OP      00140060781364255           Electric       Gov. Aggregation
AEP - CSP     00040621009115410           Electric       Gov. Aggregation   AEP - OP      00140060781467880           Electric       Gov. Aggregation
AEP - CSP     00040621009270615           Electric       Gov. Aggregation   AEP - OP      00140060781617981           Electric       Gov. Aggregation
AEP - CSP     00040621009410795           Electric       Gov. Aggregation   AEP - OP      00140060781879315           Electric       Gov. Aggregation
AEP - CSP     00040621009706473           Electric       Gov. Aggregation   AEP - OP      00140060781907141           Electric       Gov. Aggregation
AEP - CSP     00040621010005441           Electric       Gov. Aggregation   AEP - OP      00140060782124430           Electric       Gov. Aggregation
AEP - CSP     00040621010142981           Electric       Gov. Aggregation   AEP - OP      00140060782192134           Electric       Gov. Aggregation
AEP - CSP     00040621010349361           Electric       Gov. Aggregation   AEP - OP      00140060769755352           Electric       Gov. Aggregation
AEP - CSP     00040621010368854           Electric       Gov. Aggregation   AEP - OP      00140060769794701           Electric       Gov. Aggregation
AEP - CSP     00040621010646625           Electric       Gov. Aggregation   AEP - OP      00140060769817605           Electric       Gov. Aggregation
AEP - CSP     00040621010878440           Electric       Gov. Aggregation   AEP - OP      00140060769836863           Electric       Gov. Aggregation
AEP - CSP     00040621010915982           Electric       Gov. Aggregation   AEP - OP      00140060769844664           Electric       Gov. Aggregation
AEP - CSP     00040621011012730           Electric       Gov. Aggregation   AEP - OP      00140060769936111           Electric       Gov. Aggregation
AEP - CSP     00040621011035900           Electric       Gov. Aggregation   AEP - OP      00140060769983434           Electric       Gov. Aggregation
AEP - CSP     00040621011173614           Electric       Gov. Aggregation   AEP - OP      00140060785436623           Electric       Gov. Aggregation
AEP - CSP     00040621011203580           Electric       Gov. Aggregation   AEP - OP      00140060785455692           Electric       Gov. Aggregation
AEP - CSP     00040621011431252           Electric       Gov. Aggregation   AEP - OP      00140060785626115           Electric       Gov. Aggregation
AEP - CSP     00040621011654330           Electric       Gov. Aggregation   AEP - OP      00140060785648881           Electric       Gov. Aggregation
AEP - CSP     00040621011717272           Electric       Gov. Aggregation   AEP - OP      00140060785694731           Electric       Gov. Aggregation
AEP - CSP     00040621011740894           Electric       Gov. Aggregation   AEP - OP      00140060785803862           Electric       Gov. Aggregation
AEP - CSP     00040621011767820           Electric       Gov. Aggregation   AEP - OP      00140060785872294           Electric       Gov. Aggregation
AEP - CSP     00040621011824192           Electric       Gov. Aggregation   AEP - OP      00140060769295804           Electric       Gov. Aggregation
AEP - CSP     00040621011865113           Electric       Gov. Aggregation   AEP - OP      00140060769489854           Electric       Gov. Aggregation
AEP - CSP     00040621017253550           Electric       Gov. Aggregation   AEP - OP      00140060769491970           Electric       Gov. Aggregation
AEP - CSP     00040621017256871           Electric       Gov. Aggregation   AEP - OP      00140060769572250           Electric       Gov. Aggregation
AEP - CSP     00040621017333301           Electric       Gov. Aggregation   AEP - OP      00140060769632683           Electric       Gov. Aggregation
AEP - CSP     00040621017427232           Electric       Gov. Aggregation   AEP - OP      00140060769654574           Electric       Gov. Aggregation
AEP - CSP     00040621017464393           Electric       Gov. Aggregation   AEP - OP      00140060769787901           Electric       Gov. Aggregation
AEP - CSP     00040621017560254           Electric       Gov. Aggregation   AEP - OP      00140060787195141           Electric       Gov. Aggregation
AEP - CSP     00040621017712514           Electric       Gov. Aggregation   AEP - OP      00140060787228535           Electric       Gov. Aggregation
AEP - CSP     00040621007588530           Electric       Gov. Aggregation   AEP - OP      00140060787238521           Electric       Gov. Aggregation
AEP - CSP     00040621007615135           Electric       Gov. Aggregation   AEP - OP      00140060787258680           Electric       Gov. Aggregation
AEP - CSP     00040621007660102           Electric       Gov. Aggregation   AEP - OP      00140060787280250           Electric       Gov. Aggregation
AEP - CSP     00040621007738155           Electric       Gov. Aggregation   AEP - OP      00140060787375101           Electric       Gov. Aggregation
AEP - CSP     00040621007958743           Electric       Gov. Aggregation   AEP - OP      00140060775618960           Electric       Gov. Aggregation
AEP - CSP     00040621007986242           Electric       Gov. Aggregation   AEP - OP      00140060775690981           Electric       Gov. Aggregation
AEP - CSP     00040621008057492           Electric       Gov. Aggregation   AEP - OP      00140060775805102           Electric       Gov. Aggregation
AEP - CSP     00040621012473010           Electric       Gov. Aggregation   AEP - OP      00140060775806384           Electric       Gov. Aggregation
AEP - CSP     00040621012573382           Electric       Gov. Aggregation   AEP - OP      00140060776009172           Electric       Gov. Aggregation
AEP - CSP     00040621012593071           Electric       Gov. Aggregation   AEP - OP      00140060776029393           Electric       Gov. Aggregation
AEP - CSP     00040621012623490           Electric       Gov. Aggregation   AEP - OP      00140060776030112           Electric       Gov. Aggregation
AEP - CSP     00040621012775540           Electric       Gov. Aggregation   AEP - OP      00140060786589803           Electric       Gov. Aggregation
AEP - CSP     00040621012791271           Electric       Gov. Aggregation   AEP - OP      00140060786599363           Electric       Gov. Aggregation
AEP - CSP     00040621012813634           Electric       Gov. Aggregation   AEP - OP      00140060786612260           Electric       Gov. Aggregation
AEP - CSP     00040621015654603           Electric       Gov. Aggregation   AEP - OP      00140060786694831           Electric       Gov. Aggregation
AEP - CSP     00040621015736860           Electric       Gov. Aggregation   AEP - OP      00140060786813802           Electric       Gov. Aggregation
AEP - CSP     00040621015769373           Electric       Gov. Aggregation   AEP - OP      00140060787017582           Electric       Gov. Aggregation
AEP - CSP     00040621015853031           Electric       Gov. Aggregation   AEP - OP      00140060787019851           Electric       Gov. Aggregation
AEP - CSP     00040621015910564           Electric       Gov. Aggregation   AEP - OP      00140060772920800           Electric       Gov. Aggregation
AEP - CSP     00040621015962181           Electric       Gov. Aggregation   AEP - OP      00140060772941134           Electric       Gov. Aggregation
AEP - CSP     00040621009516751           Electric       Gov. Aggregation   AEP - OP      00140060772977613           Electric       Gov. Aggregation
     Case 2:22-bk-50804                        Doc 155 Filed 04/08/22 Entered 04/08/22 16:29:21                                  Desc Main
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621009665202           Electric       Gov. Aggregation   AEP - OP      00140060773017671           Electric       Gov. Aggregation
AEP - CSP     00040621009985800           Electric       Gov. Aggregation   AEP - OP      00140060773079345           Electric       Gov. Aggregation
AEP - CSP     00040621010166775           Electric       Gov. Aggregation   AEP - OP      00140060773151341           Electric       Gov. Aggregation
AEP - CSP     00040621010173150           Electric       Gov. Aggregation   AEP - OP      00140060773172464           Electric       Gov. Aggregation
AEP - CSP     00040621010354765           Electric       Gov. Aggregation   AEP - OP      00140060782242874           Electric       Gov. Aggregation
AEP - CSP     00040621011871342           Electric       Gov. Aggregation   AEP - OP      00140060782408292           Electric       Gov. Aggregation
AEP - CSP     00040621011892820           Electric       Gov. Aggregation   AEP - OP      00140060782503881           Electric       Gov. Aggregation
AEP - CSP     00040621011914633           Electric       Gov. Aggregation   AEP - OP      00140060782691511           Electric       Gov. Aggregation
AEP - CSP     00040621011982693           Electric       Gov. Aggregation   AEP - OP      00140060782950123           Electric       Gov. Aggregation
AEP - CSP     00040621012137155           Electric       Gov. Aggregation   AEP - OP      00140060785931065           Electric       Gov. Aggregation
AEP - CSP     00040621012193885           Electric       Gov. Aggregation   AEP - OP      00140060786177074           Electric       Gov. Aggregation
AEP - CSP     00040621012356722           Electric       Gov. Aggregation   AEP - OP      00140060786243762           Electric       Gov. Aggregation
AEP - CSP     00040621011563765           Electric       Gov. Aggregation   AEP - OP      00140060786310933           Electric       Gov. Aggregation
AEP - CSP     00040621011779315           Electric       Gov. Aggregation   AEP - OP      00140060786461591           Electric       Gov. Aggregation
AEP - CSP     00040621011835624           Electric       Gov. Aggregation   AEP - OP      00140060786475403           Electric       Gov. Aggregation
AEP - CSP     00040621011839885           Electric       Gov. Aggregation   AEP - OP      00140060786588691           Electric       Gov. Aggregation
AEP - CSP     00040621011940962           Electric       Gov. Aggregation   AEP - OP      00140060770054213           Electric       Gov. Aggregation
AEP - CSP     00040621012092280           Electric       Gov. Aggregation   AEP - OP      00140060770166521           Electric       Gov. Aggregation
AEP - CSP     00040621012149511           Electric       Gov. Aggregation   AEP - OP      00140060770178870           Electric       Gov. Aggregation
AEP - CSP     00040621010662181           Electric       Gov. Aggregation   AEP - OP      00140060770257310           Electric       Gov. Aggregation
AEP - CSP     00040621010666373           Electric       Gov. Aggregation   AEP - OP      00140060770310945           Electric       Gov. Aggregation
AEP - CSP     00040621010755052           Electric       Gov. Aggregation   AEP - OP      00140060770311810           Electric       Gov. Aggregation
AEP - CSP     00040621010758743           Electric       Gov. Aggregation   AEP - OP      00140060770363033           Electric       Gov. Aggregation
AEP - CSP     00040621010815425           Electric       Gov. Aggregation   AEP - OP      00140060769966770           Electric       Gov. Aggregation
AEP - CSP     00040621010913584           Electric       Gov. Aggregation   AEP - OP      00140060769967203           Electric       Gov. Aggregation
AEP - CSP     00040621010958564           Electric       Gov. Aggregation   AEP - OP      00140060769994120           Electric       Gov. Aggregation
AEP - CSP     00040621008194064           Electric       Gov. Aggregation   AEP - OP      00140060770125101           Electric       Gov. Aggregation
AEP - CSP     00040621008223441           Electric       Gov. Aggregation   AEP - OP      00140060770249492           Electric       Gov. Aggregation
AEP - CSP     00040621008258871           Electric       Gov. Aggregation   AEP - OP      00140060770304300           Electric       Gov. Aggregation
AEP - CSP     00040621008276041           Electric       Gov. Aggregation   AEP - OP      00140060787416852           Electric       Gov. Aggregation
AEP - CSP     00040621008490095           Electric       Gov. Aggregation   AEP - OP      00140060787420152           Electric       Gov. Aggregation
AEP - CSP     00040621008491010           Electric       Gov. Aggregation   AEP - OP      00140060787468752           Electric       Gov. Aggregation
AEP - CSP     00040621008967985           Electric       Gov. Aggregation   AEP - OP      00140060787540462           Electric       Gov. Aggregation
AEP - CSP     00040621017804674           Electric       Gov. Aggregation   AEP - OP      00140060787594662           Electric       Gov. Aggregation
AEP - CSP     00040621017961580           Electric       Gov. Aggregation   AEP - OP      00140060787762191           Electric       Gov. Aggregation
AEP - CSP     00040621017988721           Electric       Gov. Aggregation   AEP - OP      00140060776079114           Electric       Gov. Aggregation
AEP - CSP     00040621018017253           Electric       Gov. Aggregation   AEP - OP      00140060776137371           Electric       Gov. Aggregation
AEP - CSP     00040621018123111           Electric       Gov. Aggregation   AEP - OP      00140060776200675           Electric       Gov. Aggregation
AEP - CSP     00040621018241112           Electric       Gov. Aggregation   AEP - OP      00140060776336110           Electric       Gov. Aggregation
AEP - CSP     00040621018375093           Electric       Gov. Aggregation   AEP - OP      00140060776386172           Electric       Gov. Aggregation
AEP - CSP     00040621013435775           Electric       Gov. Aggregation   AEP - OP      00140060776394451           Electric       Gov. Aggregation
AEP - CSP     00040621013527783           Electric       Gov. Aggregation   AEP - OP      00140060776539273           Electric       Gov. Aggregation
AEP - CSP     00040621013540663           Electric       Gov. Aggregation   AEP - OP      00140060786602680           Electric       Gov. Aggregation
AEP - CSP     00040621013579050           Electric       Gov. Aggregation   AEP - OP      00140060786613325           Electric       Gov. Aggregation
AEP - CSP     00040621013710432           Electric       Gov. Aggregation   AEP - OP      00140060786620250           Electric       Gov. Aggregation
AEP - CSP     00040621013761205           Electric       Gov. Aggregation   AEP - OP      00140060786771944           Electric       Gov. Aggregation
AEP - CSP     00040621013845793           Electric       Gov. Aggregation   AEP - OP      00140060786813292           Electric       Gov. Aggregation
AEP - CSP     00040621015989100           Electric       Gov. Aggregation   AEP - OP      00140060786961295           Electric       Gov. Aggregation
AEP - CSP     00040621016007461           Electric       Gov. Aggregation   AEP - OP      00140060787062355           Electric       Gov. Aggregation
AEP - CSP     00040621016025105           Electric       Gov. Aggregation   AEP - OP      00140060787252984           Electric       Gov. Aggregation
AEP - CSP     00040621016041372           Electric       Gov. Aggregation   AEP - OP      00140060787409215           Electric       Gov. Aggregation
AEP - CSP     00040621016125943           Electric       Gov. Aggregation   AEP - OP      00140060787422630           Electric       Gov. Aggregation
AEP - CSP     00040621016265223           Electric       Gov. Aggregation   AEP - OP      00140060787666032           Electric       Gov. Aggregation
AEP - CSP     00040621016274682           Electric       Gov. Aggregation   AEP - OP      00140060787765960           Electric       Gov. Aggregation
AEP - CSP     00040621010504280           Electric       Gov. Aggregation   AEP - OP      00140060787795891           Electric       Gov. Aggregation
AEP - CSP     00040621010600440           Electric       Gov. Aggregation   AEP - OP      00140060783030393           Electric       Gov. Aggregation
AEP - CSP     00040621010638831           Electric       Gov. Aggregation   AEP - OP      00140060783094842           Electric       Gov. Aggregation
AEP - CSP     00040621010685015           Electric       Gov. Aggregation   AEP - OP      00140060783145661           Electric       Gov. Aggregation
AEP - CSP     00040621010718610           Electric       Gov. Aggregation   AEP - OP      00140060783215513           Electric       Gov. Aggregation
AEP - CSP     00040621010757070           Electric       Gov. Aggregation   AEP - OP      00140060783397953           Electric       Gov. Aggregation
AEP - CSP     00040621010768180           Electric       Gov. Aggregation   AEP - OP      00140060783525525           Electric       Gov. Aggregation
AEP - CSP     00040621009079372           Electric       Gov. Aggregation   AEP - OP      00140060783595874           Electric       Gov. Aggregation
AEP - CSP     00040621009363952           Electric       Gov. Aggregation   AEP - OP      00140060773201640           Electric       Gov. Aggregation
AEP - CSP     00040621009383674           Electric       Gov. Aggregation   AEP - OP      00140060773202525           Electric       Gov. Aggregation
AEP - CSP     00040621009399692           Electric       Gov. Aggregation   AEP - OP      00140060773207174           Electric       Gov. Aggregation
AEP - CSP     00040621009499980           Electric       Gov. Aggregation   AEP - OP      00140060773262830           Electric       Gov. Aggregation
AEP - CSP     00040621009652411           Electric       Gov. Aggregation   AEP - OP      00140060773301733           Electric       Gov. Aggregation
AEP - CSP     00040621009889664           Electric       Gov. Aggregation   AEP - OP      00140060773335730           Electric       Gov. Aggregation
AEP - CSP     00040621018619590           Electric       Gov. Aggregation   AEP - OP      00140060773509394           Electric       Gov. Aggregation
AEP - CSP     00040621018713141           Electric       Gov. Aggregation   AEP - OP      00140060770386272           Electric       Gov. Aggregation
AEP - CSP     00040621018714722           Electric       Gov. Aggregation   AEP - OP      00140060770526723           Electric       Gov. Aggregation
AEP - CSP     00040621018995955           Electric       Gov. Aggregation   AEP - OP      00140060770573753           Electric       Gov. Aggregation
AEP - CSP     00040621019017832           Electric       Gov. Aggregation   AEP - OP      00140060770719491           Electric       Gov. Aggregation
AEP - CSP     00040621019149673           Electric       Gov. Aggregation   AEP - OP      00140060770722694           Electric       Gov. Aggregation
AEP - CSP     00040621019163930           Electric       Gov. Aggregation   AEP - OP      00140060770754882           Electric       Gov. Aggregation
AEP - CSP     00040621012558921           Electric       Gov. Aggregation   AEP - OP      00140060770764880           Electric       Gov. Aggregation
AEP - CSP     00040621012715471           Electric       Gov. Aggregation   AEP - OP      00140060770316281           Electric       Gov. Aggregation
AEP - CSP     00040621012799784           Electric       Gov. Aggregation   AEP - OP      00140060770358854           Electric       Gov. Aggregation
AEP - CSP     00040621012858332           Electric       Gov. Aggregation   AEP - OP      00140060770438364           Electric       Gov. Aggregation
AEP - CSP     00040621012859124           Electric       Gov. Aggregation   AEP - OP      00140060770463911           Electric       Gov. Aggregation
AEP - CSP     00040621012908333           Electric       Gov. Aggregation   AEP - OP      00140060770513514           Electric       Gov. Aggregation
AEP - CSP     00040621012929342           Electric       Gov. Aggregation   AEP - OP      00140060770523012           Electric       Gov. Aggregation
AEP - CSP     00040621010969012           Electric       Gov. Aggregation   AEP - OP      00140060770525502           Electric       Gov. Aggregation
AEP - CSP     00040621011267811           Electric       Gov. Aggregation   AEP - OP      00140060787026251           Electric       Gov. Aggregation
AEP - CSP     00040621011568733           Electric       Gov. Aggregation   AEP - OP      00140060787027971           Electric       Gov. Aggregation
AEP - CSP     00040621012028880           Electric       Gov. Aggregation   AEP - OP      00140060787034522           Electric       Gov. Aggregation
AEP - CSP     00040621012130791           Electric       Gov. Aggregation   AEP - OP      00140060787077140           Electric       Gov. Aggregation
AEP - CSP     00040621012149455           Electric       Gov. Aggregation   AEP - OP      00140060787086395           Electric       Gov. Aggregation
AEP - CSP     00040621012299892           Electric       Gov. Aggregation   AEP - OP      00140060787467623           Electric       Gov. Aggregation
AEP - CSP     00040621013879772           Electric       Gov. Aggregation   AEP - OP      00140060787519841           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621014009103           Electric       Gov. Aggregation   AEP - OP      00140060787918511           Electric       Gov. Aggregation
AEP - CSP     00040621014534912           Electric       Gov. Aggregation   AEP - OP      00140060788000640           Electric       Gov. Aggregation
AEP - CSP     00040621014584752           Electric       Gov. Aggregation   AEP - OP      00140060788137380           Electric       Gov. Aggregation
AEP - CSP     00040621014832204           Electric       Gov. Aggregation   AEP - OP      00140060788201755           Electric       Gov. Aggregation
AEP - CSP     00040621014869902           Electric       Gov. Aggregation   AEP - OP      00140060788508670           Electric       Gov. Aggregation
AEP - CSP     00040621014922492           Electric       Gov. Aggregation   AEP - OP      00140060788586461           Electric       Gov. Aggregation
AEP - CSP     00040621010858930           Electric       Gov. Aggregation   AEP - OP      00140060776562091           Electric       Gov. Aggregation
AEP - CSP     00040621010870914           Electric       Gov. Aggregation   AEP - OP      00140060776566363           Electric       Gov. Aggregation
AEP - CSP     00040621010912362           Electric       Gov. Aggregation   AEP - OP      00140060776595761           Electric       Gov. Aggregation
AEP - CSP     00040621010931700           Electric       Gov. Aggregation   AEP - OP      00140060776600600           Electric       Gov. Aggregation
AEP - CSP     00040621010962932           Electric       Gov. Aggregation   AEP - OP      00140060776647720           Electric       Gov. Aggregation
AEP - CSP     00040621010976920           Electric       Gov. Aggregation   AEP - OP      00140060776788413           Electric       Gov. Aggregation
AEP - CSP     00040621016774562           Electric       Gov. Aggregation   AEP - OP      00140060776831924           Electric       Gov. Aggregation
AEP - CSP     00040621016793233           Electric       Gov. Aggregation   AEP - OP      00140060783649900           Electric       Gov. Aggregation
AEP - CSP     00040621016856104           Electric       Gov. Aggregation   AEP - OP      00140060783799485           Electric       Gov. Aggregation
AEP - CSP     00040621016900685           Electric       Gov. Aggregation   AEP - OP      00140060783861643           Electric       Gov. Aggregation
AEP - CSP     00040621016996500           Electric       Gov. Aggregation   AEP - OP      00140060783863081           Electric       Gov. Aggregation
AEP - CSP     00040621017216303           Electric       Gov. Aggregation   AEP - OP      00140060783866410           Electric       Gov. Aggregation
AEP - CSP     00040621009951161           Electric       Gov. Aggregation   AEP - OP      00140060783897044           Electric       Gov. Aggregation
AEP - CSP     00040621009992375           Electric       Gov. Aggregation   AEP - OP      00140060783911305           Electric       Gov. Aggregation
AEP - CSP     00040621010071114           Electric       Gov. Aggregation   AEP - OP      00140060773515273           Electric       Gov. Aggregation
AEP - CSP     00040621010186361           Electric       Gov. Aggregation   AEP - OP      00140060773542732           Electric       Gov. Aggregation
AEP - CSP     00040621010237922           Electric       Gov. Aggregation   AEP - OP      00140060773563022           Electric       Gov. Aggregation
AEP - CSP     00040621010272101           Electric       Gov. Aggregation   AEP - OP      00140060773680732           Electric       Gov. Aggregation
AEP - CSP     00040621010305064           Electric       Gov. Aggregation   AEP - OP      00140060773779390           Electric       Gov. Aggregation
AEP - CSP     00040621019274423           Electric       Gov. Aggregation   AEP - OP      00140060773866373           Electric       Gov. Aggregation
AEP - CSP     00040621019413865           Electric       Gov. Aggregation   AEP - OP      00140060770826971           Electric       Gov. Aggregation
AEP - CSP     00040621019502792           Electric       Gov. Aggregation   AEP - OP      00140060770867103           Electric       Gov. Aggregation
AEP - CSP     00040621019742190           Electric       Gov. Aggregation   AEP - OP      00140060770895414           Electric       Gov. Aggregation
AEP - CSP     00040621019958654           Electric       Gov. Aggregation   AEP - OP      00140060770962184           Electric       Gov. Aggregation
AEP - CSP     00040621020062834           Electric       Gov. Aggregation   AEP - OP      00140060771052814           Electric       Gov. Aggregation
AEP - CSP     00040621012275910           Electric       Gov. Aggregation   AEP - OP      00140060771230881           Electric       Gov. Aggregation
AEP - CSP     00040621012286440           Electric       Gov. Aggregation   AEP - OP      00140060771372521           Electric       Gov. Aggregation
AEP - CSP     00040621012329615           Electric       Gov. Aggregation   AEP - OP      00140060787767370           Electric       Gov. Aggregation
AEP - CSP     00040621012332263           Electric       Gov. Aggregation   AEP - OP      00140060787867085           Electric       Gov. Aggregation
AEP - CSP     00040621012612961           Electric       Gov. Aggregation   AEP - OP      00140060787960925           Electric       Gov. Aggregation
AEP - CSP     00040621012884363           Electric       Gov. Aggregation   AEP - OP      00140060787975960           Electric       Gov. Aggregation
AEP - CSP     00040621012998152           Electric       Gov. Aggregation   AEP - OP      00140060788129982           Electric       Gov. Aggregation
AEP - CSP     00040621012937892           Electric       Gov. Aggregation   AEP - OP      00140060788140745           Electric       Gov. Aggregation
AEP - CSP     00040621013359493           Electric       Gov. Aggregation   AEP - OP      00140060771454541           Electric       Gov. Aggregation
AEP - CSP     00040621013426244           Electric       Gov. Aggregation   AEP - OP      00140060771508230           Electric       Gov. Aggregation
AEP - CSP     00040621013454114           Electric       Gov. Aggregation   AEP - OP      00140060771538461           Electric       Gov. Aggregation
AEP - CSP     00040621013608055           Electric       Gov. Aggregation   AEP - OP      00140060771705522           Electric       Gov. Aggregation
AEP - CSP     00040621013657451           Electric       Gov. Aggregation   AEP - OP      00140060771722294           Electric       Gov. Aggregation
AEP - CSP     00040621012412183           Electric       Gov. Aggregation   AEP - OP      00140060771774873           Electric       Gov. Aggregation
AEP - CSP     00040621012597054           Electric       Gov. Aggregation   AEP - OP      00140060771987783           Electric       Gov. Aggregation
AEP - CSP     00040621012667011           Electric       Gov. Aggregation   AEP - OP      00140060788334003           Electric       Gov. Aggregation
AEP - CSP     00040621012864721           Electric       Gov. Aggregation   AEP - OP      00140060788513983           Electric       Gov. Aggregation
AEP - CSP     00040621013087012           Electric       Gov. Aggregation   AEP - OP      00140060788565831           Electric       Gov. Aggregation
AEP - CSP     00040621013233391           Electric       Gov. Aggregation   AEP - OP      00140060788813964           Electric       Gov. Aggregation
AEP - CSP     00040621013284480           Electric       Gov. Aggregation   AEP - OP      00140060788934062           Electric       Gov. Aggregation
AEP - CSP     00040621015083550           Electric       Gov. Aggregation   AEP - OP      00140060788974733           Electric       Gov. Aggregation
AEP - CSP     00040621015183594           Electric       Gov. Aggregation   AEP - OP      00140060788980225           Electric       Gov. Aggregation
AEP - CSP     00040621015199674           Electric       Gov. Aggregation   AEP - OP      00140060788668382           Electric       Gov. Aggregation
AEP - CSP     00040621015203664           Electric       Gov. Aggregation   AEP - OP      00140060788680984           Electric       Gov. Aggregation
AEP - CSP     00040621015278923           Electric       Gov. Aggregation   AEP - OP      00140060788834821           Electric       Gov. Aggregation
AEP - CSP     00040621015307124           Electric       Gov. Aggregation   AEP - OP      00140060788949504           Electric       Gov. Aggregation
AEP - CSP     00040621015325925           Electric       Gov. Aggregation   AEP - OP      00140060789183221           Electric       Gov. Aggregation
AEP - CSP     00040621011063395           Electric       Gov. Aggregation   AEP - OP      00140060789220400           Electric       Gov. Aggregation
AEP - CSP     00040621011160775           Electric       Gov. Aggregation   AEP - OP      00140060770532925           Electric       Gov. Aggregation
AEP - CSP     00040621011201503           Electric       Gov. Aggregation   AEP - OP      00140060770667553           Electric       Gov. Aggregation
AEP - CSP     00040621011278925           Electric       Gov. Aggregation   AEP - OP      00140060770671704           Electric       Gov. Aggregation
AEP - CSP     00040621011305411           Electric       Gov. Aggregation   AEP - OP      00140060770727195           Electric       Gov. Aggregation
AEP - CSP     00040621011475383           Electric       Gov. Aggregation   AEP - OP      00140060770730661           Electric       Gov. Aggregation
AEP - CSP     00040621011794582           Electric       Gov. Aggregation   AEP - OP      00140060770744033           Electric       Gov. Aggregation
AEP - CSP     00040621017230101           Electric       Gov. Aggregation   AEP - OP      00140060770785135           Electric       Gov. Aggregation
AEP - CSP     00040621017238010           Electric       Gov. Aggregation   AEP - OP      00140060789353864           Electric       Gov. Aggregation
AEP - CSP     00040621017519465           Electric       Gov. Aggregation   AEP - OP      00140060789437173           Electric       Gov. Aggregation
AEP - CSP     00040621018116912           Electric       Gov. Aggregation   AEP - OP      00140060789581723           Electric       Gov. Aggregation
AEP - CSP     00040621018176383           Electric       Gov. Aggregation   AEP - OP      00140060789585300           Electric       Gov. Aggregation
AEP - CSP     00040621018323441           Electric       Gov. Aggregation   AEP - OP      00140060789612702           Electric       Gov. Aggregation
AEP - CSP     00040621020378140           Electric       Gov. Aggregation   AEP - OP      00140060789685470           Electric       Gov. Aggregation
AEP - CSP     00040621020380941           Electric       Gov. Aggregation   AEP - OP      00140060789757070           Electric       Gov. Aggregation
AEP - CSP     00040621020401484           Electric       Gov. Aggregation   AEP - OP      00140060787750100           Electric       Gov. Aggregation
AEP - CSP     00040621020572653           Electric       Gov. Aggregation   AEP - OP      00140060787768355           Electric       Gov. Aggregation
AEP - CSP     00040621020628825           Electric       Gov. Aggregation   AEP - OP      00140060787837335           Electric       Gov. Aggregation
AEP - CSP     00040621020673555           Electric       Gov. Aggregation   AEP - OP      00140060787871191           Electric       Gov. Aggregation
AEP - CSP     00040621010306541           Electric       Gov. Aggregation   AEP - OP      00140060787891555           Electric       Gov. Aggregation
AEP - CSP     00040621010312520           Electric       Gov. Aggregation   AEP - OP      00140060787991420           Electric       Gov. Aggregation
AEP - CSP     00040621010415774           Electric       Gov. Aggregation   AEP - OP      00140060788024533           Electric       Gov. Aggregation
AEP - CSP     00040621010755521           Electric       Gov. Aggregation   AEP - OP      00140060773899931           Electric       Gov. Aggregation
AEP - CSP     00040621010815095           Electric       Gov. Aggregation   AEP - OP      00140060773944171           Electric       Gov. Aggregation
AEP - CSP     00040621013812401           Electric       Gov. Aggregation   AEP - OP      00140060773980151           Electric       Gov. Aggregation
AEP - CSP     00040621013823763           Electric       Gov. Aggregation   AEP - OP      00140060774107060           Electric       Gov. Aggregation
AEP - CSP     00040621013906542           Electric       Gov. Aggregation   AEP - OP      00140060774184034           Electric       Gov. Aggregation
AEP - CSP     00040621014046825           Electric       Gov. Aggregation   AEP - OP      00140060774192342           Electric       Gov. Aggregation
AEP - CSP     00040621014135053           Electric       Gov. Aggregation   AEP - OP      00140060774267872           Electric       Gov. Aggregation
AEP - CSP     00040621014221131           Electric       Gov. Aggregation   AEP - OP      00140060783925790           Electric       Gov. Aggregation
AEP - CSP     00040621013309833           Electric       Gov. Aggregation   AEP - OP      00140060783946870           Electric       Gov. Aggregation
AEP - CSP     00040621013359330           Electric       Gov. Aggregation   AEP - OP      00140060783973295           Electric       Gov. Aggregation
     Case 2:22-bk-50804                        Doc 155 Filed 04/08/22 Entered 04/08/22 16:29:21                                  Desc Main
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621013365621           Electric       Gov. Aggregation   AEP - OP      00140060784094911           Electric       Gov. Aggregation
AEP - CSP     00040621013426655           Electric       Gov. Aggregation   AEP - OP      00140060784107744           Electric       Gov. Aggregation
AEP - CSP     00040621013457934           Electric       Gov. Aggregation   AEP - OP      00140060784354710           Electric       Gov. Aggregation
AEP - CSP     00040621013481603           Electric       Gov. Aggregation   AEP - OP      00140060772260381           Electric       Gov. Aggregation
AEP - CSP     00040621013815172           Electric       Gov. Aggregation   AEP - OP      00140060772326622           Electric       Gov. Aggregation
AEP - CSP     00040621013318764           Electric       Gov. Aggregation   AEP - OP      00140060772400914           Electric       Gov. Aggregation
AEP - CSP     00040621013337430           Electric       Gov. Aggregation   AEP - OP      00140060772417235           Electric       Gov. Aggregation
AEP - CSP     00040621013421801           Electric       Gov. Aggregation   AEP - OP      00140060772487783           Electric       Gov. Aggregation
AEP - CSP     00040621013528504           Electric       Gov. Aggregation   AEP - OP      00140060772502784           Electric       Gov. Aggregation
AEP - CSP     00040621013654152           Electric       Gov. Aggregation   AEP - OP      00140060788991034           Electric       Gov. Aggregation
AEP - CSP     00040621013674754           Electric       Gov. Aggregation   AEP - OP      00140060789003830           Electric       Gov. Aggregation
AEP - CSP     00040621013814095           Electric       Gov. Aggregation   AEP - OP      00140060789024873           Electric       Gov. Aggregation
AEP - CSP     00040621015387821           Electric       Gov. Aggregation   AEP - OP      00140060789204302           Electric       Gov. Aggregation
AEP - CSP     00040621015569422           Electric       Gov. Aggregation   AEP - OP      00140060789320672           Electric       Gov. Aggregation
AEP - CSP     00040621015583995           Electric       Gov. Aggregation   AEP - OP      00140060789339540           Electric       Gov. Aggregation
AEP - CSP     00040621015613243           Electric       Gov. Aggregation   AEP - OP      00140060770873352           Electric       Gov. Aggregation
AEP - CSP     00040621015671471           Electric       Gov. Aggregation   AEP - OP      00140060770951413           Electric       Gov. Aggregation
AEP - CSP     00040621015680710           Electric       Gov. Aggregation   AEP - OP      00140060771024535           Electric       Gov. Aggregation
AEP - CSP     00040621015745832           Electric       Gov. Aggregation   AEP - OP      00140060771041915           Electric       Gov. Aggregation
AEP - CSP     00040621011831191           Electric       Gov. Aggregation   AEP - OP      00140060771107473           Electric       Gov. Aggregation
AEP - CSP     00040621012022475           Electric       Gov. Aggregation   AEP - OP      00140060771177404           Electric       Gov. Aggregation
AEP - CSP     00040621012072073           Electric       Gov. Aggregation   AEP - OP      00140060774282201           Electric       Gov. Aggregation
AEP - CSP     00040621012320121           Electric       Gov. Aggregation   AEP - OP      00140060774356915           Electric       Gov. Aggregation
AEP - CSP     00040621012484930           Electric       Gov. Aggregation   AEP - OP      00140060774427592           Electric       Gov. Aggregation
AEP - CSP     00040621018373244           Electric       Gov. Aggregation   AEP - OP      00140060774443924           Electric       Gov. Aggregation
AEP - CSP     00040621018541170           Electric       Gov. Aggregation   AEP - OP      00140060774450104           Electric       Gov. Aggregation
AEP - CSP     00040621018786602           Electric       Gov. Aggregation   AEP - OP      00140060774453092           Electric       Gov. Aggregation
AEP - CSP     00040621018990523           Electric       Gov. Aggregation   AEP - OP      00140060774665603           Electric       Gov. Aggregation
AEP - CSP     00040621019005370           Electric       Gov. Aggregation   AEP - OP      00140060771279841           Electric       Gov. Aggregation
AEP - CSP     00040621019032764           Electric       Gov. Aggregation   AEP - OP      00140060771332903           Electric       Gov. Aggregation
AEP - CSP     00040621019119652           Electric       Gov. Aggregation   AEP - OP      00140060771358040           Electric       Gov. Aggregation
AEP - CSP     00040621020735432           Electric       Gov. Aggregation   AEP - OP      00140060771412120           Electric       Gov. Aggregation
AEP - CSP     00040621020791431           Electric       Gov. Aggregation   AEP - OP      00140060771568423           Electric       Gov. Aggregation
AEP - CSP     00040621021021904           Electric       Gov. Aggregation   AEP - OP      00140060771577331           Electric       Gov. Aggregation
AEP - CSP     00040621021305204           Electric       Gov. Aggregation   AEP - OP      00140060771689860           Electric       Gov. Aggregation
AEP - CSP     00040621021640892           Electric       Gov. Aggregation   AEP - OP      00140060772594554           Electric       Gov. Aggregation
AEP - CSP     00040621021914645           Electric       Gov. Aggregation   AEP - OP      00140060772599752           Electric       Gov. Aggregation
AEP - CSP     00040621010887814           Electric       Gov. Aggregation   AEP - OP      00140060772696073           Electric       Gov. Aggregation
AEP - CSP     00040621010958733           Electric       Gov. Aggregation   AEP - OP      00140060772696114           Electric       Gov. Aggregation
AEP - CSP     00040621010961843           Electric       Gov. Aggregation   AEP - OP      00140060772727620           Electric       Gov. Aggregation
AEP - CSP     00040621011028771           Electric       Gov. Aggregation   AEP - OP      00140060772748530           Electric       Gov. Aggregation
AEP - CSP     00040621011173472           Electric       Gov. Aggregation   AEP - OP      00140060772758571           Electric       Gov. Aggregation
AEP - CSP     00040621011235320           Electric       Gov. Aggregation   AEP - OP      00140060776895283           Electric       Gov. Aggregation
AEP - CSP     00040621011279924           Electric       Gov. Aggregation   AEP - OP      00140060776954635           Electric       Gov. Aggregation
AEP - CSP     00040621013844302           Electric       Gov. Aggregation   AEP - OP      00140060776972341           Electric       Gov. Aggregation
AEP - CSP     00040621013911611           Electric       Gov. Aggregation   AEP - OP      00140060777138835           Electric       Gov. Aggregation
AEP - CSP     00040621013981472           Electric       Gov. Aggregation   AEP - OP      00140060777204584           Electric       Gov. Aggregation
AEP - CSP     00040621014016643           Electric       Gov. Aggregation   AEP - OP      00140060777272852           Electric       Gov. Aggregation
AEP - CSP     00040621014042434           Electric       Gov. Aggregation   AEP - OP      00140060777279250           Electric       Gov. Aggregation
AEP - CSP     00040621014049064           Electric       Gov. Aggregation   AEP - OP      00140060771707461           Electric       Gov. Aggregation
AEP - CSP     00040621013894600           Electric       Gov. Aggregation   AEP - OP      00140060771722715           Electric       Gov. Aggregation
AEP - CSP     00040621014139993           Electric       Gov. Aggregation   AEP - OP      00140060771751425           Electric       Gov. Aggregation
AEP - CSP     00040621014202125           Electric       Gov. Aggregation   AEP - OP      00140060771755703           Electric       Gov. Aggregation
AEP - CSP     00040621014214073           Electric       Gov. Aggregation   AEP - OP      00140060771892764           Electric       Gov. Aggregation
AEP - CSP     00040621014296103           Electric       Gov. Aggregation   AEP - OP      00140060772047042           Electric       Gov. Aggregation
AEP - CSP     00040621014448014           Electric       Gov. Aggregation   AEP - OP      00140060789471852           Electric       Gov. Aggregation
AEP - CSP     00040621012632945           Electric       Gov. Aggregation   AEP - OP      00140060789606030           Electric       Gov. Aggregation
AEP - CSP     00040621012743304           Electric       Gov. Aggregation   AEP - OP      00140060789613694           Electric       Gov. Aggregation
AEP - CSP     00040621012790250           Electric       Gov. Aggregation   AEP - OP      00140060789659103           Electric       Gov. Aggregation
AEP - CSP     00040621012821041           Electric       Gov. Aggregation   AEP - OP      00140060789704250           Electric       Gov. Aggregation
AEP - CSP     00040621012956171           Electric       Gov. Aggregation   AEP - OP      00140060789812002           Electric       Gov. Aggregation
AEP - CSP     00040621013097781           Electric       Gov. Aggregation   AEP - OP      00140060777287350           Electric       Gov. Aggregation
AEP - CSP     00040621013119513           Electric       Gov. Aggregation   AEP - OP      00140060777308340           Electric       Gov. Aggregation
AEP - CSP     00040621013132972           Electric       Gov. Aggregation   AEP - OP      00140060777338420           Electric       Gov. Aggregation
AEP - CSP     00040621013258375           Electric       Gov. Aggregation   AEP - OP      00140060777345640           Electric       Gov. Aggregation
AEP - CSP     00040621013364411           Electric       Gov. Aggregation   AEP - OP      00140060777551211           Electric       Gov. Aggregation
AEP - CSP     00040621014011972           Electric       Gov. Aggregation   AEP - OP      00140060777625353           Electric       Gov. Aggregation
AEP - CSP     00040621014147610           Electric       Gov. Aggregation   AEP - OP      00140060772100080           Electric       Gov. Aggregation
AEP - CSP     00040621014327831           Electric       Gov. Aggregation   AEP - OP      00140060772114792           Electric       Gov. Aggregation
AEP - CSP     00040621014429064           Electric       Gov. Aggregation   AEP - OP      00140060772143504           Electric       Gov. Aggregation
AEP - CSP     00040621015802650           Electric       Gov. Aggregation   AEP - OP      00140060772150271           Electric       Gov. Aggregation
AEP - CSP     00040621015928115           Electric       Gov. Aggregation   AEP - OP      00140060772154955           Electric       Gov. Aggregation
AEP - CSP     00040621016192023           Electric       Gov. Aggregation   AEP - OP      00140060772251870           Electric       Gov. Aggregation
AEP - CSP     00040621016255865           Electric       Gov. Aggregation   AEP - OP      00140060772301811           Electric       Gov. Aggregation
AEP - CSP     00040621016328682           Electric       Gov. Aggregation   AEP - OP      00140060790004332           Electric       Gov. Aggregation
AEP - CSP     00040621016364982           Electric       Gov. Aggregation   AEP - OP      00140060790017745           Electric       Gov. Aggregation
AEP - CSP     00040621016415500           Electric       Gov. Aggregation   AEP - OP      00140060790018662           Electric       Gov. Aggregation
AEP - CSP     00040621014536452           Electric       Gov. Aggregation   AEP - OP      00140060790101332           Electric       Gov. Aggregation
AEP - CSP     00040621014647710           Electric       Gov. Aggregation   AEP - OP      00140060790106022           Electric       Gov. Aggregation
AEP - CSP     00040621014697194           Electric       Gov. Aggregation   AEP - OP      00140060790122931           Electric       Gov. Aggregation
AEP - CSP     00040621014780840           Electric       Gov. Aggregation   AEP - OP      00140060790137315           Electric       Gov. Aggregation
AEP - CSP     00040621014801191           Electric       Gov. Aggregation   AEP - OP      00140060774686493           Electric       Gov. Aggregation
AEP - CSP     00040621014892281           Electric       Gov. Aggregation   AEP - OP      00140060774700353           Electric       Gov. Aggregation
AEP - CSP     00040621011282733           Electric       Gov. Aggregation   AEP - OP      00140060774706353           Electric       Gov. Aggregation
AEP - CSP     00040621011563485           Electric       Gov. Aggregation   AEP - OP      00140060774708004           Electric       Gov. Aggregation
AEP - CSP     00040621011609611           Electric       Gov. Aggregation   AEP - OP      00140060774708041           Electric       Gov. Aggregation
AEP - CSP     00040621011684325           Electric       Gov. Aggregation   AEP - OP      00140060774712561           Electric       Gov. Aggregation
AEP - CSP     00040621011737454           Electric       Gov. Aggregation   AEP - OP      00140060774781955           Electric       Gov. Aggregation
AEP - CSP     00040621011763921           Electric       Gov. Aggregation   AEP - OP      00140060789815690           Electric       Gov. Aggregation
AEP - CSP     00040621011769260           Electric       Gov. Aggregation   AEP - OP      00140060789831401           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621022027485           Electric       Gov. Aggregation   AEP - OP      00140060790028685           Electric       Gov. Aggregation
AEP - CSP     00040621022072580           Electric       Gov. Aggregation   AEP - OP      00140060790034592           Electric       Gov. Aggregation
AEP - CSP     00040621022184855           Electric       Gov. Aggregation   AEP - OP      00140060790040814           Electric       Gov. Aggregation
AEP - CSP     00040621022210530           Electric       Gov. Aggregation   AEP - OP      00140060790372510           Electric       Gov. Aggregation
AEP - CSP     00040621022230702           Electric       Gov. Aggregation   AEP - OP      00140060790373601           Electric       Gov. Aggregation
AEP - CSP     00040621022810151           Electric       Gov. Aggregation   AEP - OP      00140060772333853           Electric       Gov. Aggregation
AEP - CSP     00040621022821533           Electric       Gov. Aggregation   AEP - OP      00140060772344614           Electric       Gov. Aggregation
AEP - CSP     00040621014463205           Electric       Gov. Aggregation   AEP - OP      00140060772401582           Electric       Gov. Aggregation
AEP - CSP     00040621014612160           Electric       Gov. Aggregation   AEP - OP      00140060772405420           Electric       Gov. Aggregation
AEP - CSP     00040621014647744           Electric       Gov. Aggregation   AEP - OP      00140060772460912           Electric       Gov. Aggregation
AEP - CSP     00040621014677702           Electric       Gov. Aggregation   AEP - OP      00140060772616385           Electric       Gov. Aggregation
AEP - CSP     00040621014996830           Electric       Gov. Aggregation   AEP - OP      00140060777672850           Electric       Gov. Aggregation
AEP - CSP     00040621015051324           Electric       Gov. Aggregation   AEP - OP      00140060777714794           Electric       Gov. Aggregation
AEP - CSP     00040621015052660           Electric       Gov. Aggregation   AEP - OP      00140060777715435           Electric       Gov. Aggregation
AEP - CSP     00040621014825113           Electric       Gov. Aggregation   AEP - OP      00140060777716990           Electric       Gov. Aggregation
AEP - CSP     00040621014906831           Electric       Gov. Aggregation   AEP - OP      00140060777761942           Electric       Gov. Aggregation
AEP - CSP     00040621014910692           Electric       Gov. Aggregation   AEP - OP      00140060777766634           Electric       Gov. Aggregation
AEP - CSP     00040621014947270           Electric       Gov. Aggregation   AEP - OP      00140060777785674           Electric       Gov. Aggregation
AEP - CSP     00040621014972635           Electric       Gov. Aggregation   AEP - OP      00140060790158751           Electric       Gov. Aggregation
AEP - CSP     00040621015082863           Electric       Gov. Aggregation   AEP - OP      00140060790182214           Electric       Gov. Aggregation
AEP - CSP     00040621015160262           Electric       Gov. Aggregation   AEP - OP      00140060790576013           Electric       Gov. Aggregation
AEP - CSP     00040621014148364           Electric       Gov. Aggregation   AEP - OP      00140060790632765           Electric       Gov. Aggregation
AEP - CSP     00040621014256890           Electric       Gov. Aggregation   AEP - OP      00140060790675802           Electric       Gov. Aggregation
AEP - CSP     00040621014351933           Electric       Gov. Aggregation   AEP - OP      00140060790717170           Electric       Gov. Aggregation
AEP - CSP     00040621014535920           Electric       Gov. Aggregation   AEP - OP      00140060790781974           Electric       Gov. Aggregation
AEP - CSP     00040621014732655           Electric       Gov. Aggregation   AEP - OP      00140060772627821           Electric       Gov. Aggregation
AEP - CSP     00040621014879203           Electric       Gov. Aggregation   AEP - OP      00140060772735300           Electric       Gov. Aggregation
AEP - CSP     00040621014976754           Electric       Gov. Aggregation   AEP - OP      00140060772836182           Electric       Gov. Aggregation
AEP - CSP     00040621016761725           Electric       Gov. Aggregation   AEP - OP      00140060772864553           Electric       Gov. Aggregation
AEP - CSP     00040621016997580           Electric       Gov. Aggregation   AEP - OP      00140060772884233           Electric       Gov. Aggregation
AEP - CSP     00040621017088110           Electric       Gov. Aggregation   AEP - OP      00140060772910650           Electric       Gov. Aggregation
AEP - CSP     00040621017122891           Electric       Gov. Aggregation   AEP - OP      00140060772922893           Electric       Gov. Aggregation
AEP - CSP     00040621017131710           Electric       Gov. Aggregation   AEP - OP      00140060772789991           Electric       Gov. Aggregation
AEP - CSP     00040621017273525           Electric       Gov. Aggregation   AEP - OP      00140060772878351           Electric       Gov. Aggregation
AEP - CSP     00040621015146010           Electric       Gov. Aggregation   AEP - OP      00140060772953124           Electric       Gov. Aggregation
AEP - CSP     00040621015444985           Electric       Gov. Aggregation   AEP - OP      00140060772994482           Electric       Gov. Aggregation
AEP - CSP     00040621015508641           Electric       Gov. Aggregation   AEP - OP      00140060773075302           Electric       Gov. Aggregation
AEP - CSP     00040621015769165           Electric       Gov. Aggregation   AEP - OP      00140060773096482           Electric       Gov. Aggregation
AEP - CSP     00040621015837331           Electric       Gov. Aggregation   AEP - OP      00140060773119172           Electric       Gov. Aggregation
AEP - CSP     00040621019172373           Electric       Gov. Aggregation   AEP - OP      00140060772992751           Electric       Gov. Aggregation
AEP - CSP     00040621019181054           Electric       Gov. Aggregation   AEP - OP      00140060773035073           Electric       Gov. Aggregation
AEP - CSP     00040621019319485           Electric       Gov. Aggregation   AEP - OP      00140060773106095           Electric       Gov. Aggregation
AEP - CSP     00040621019558091           Electric       Gov. Aggregation   AEP - OP      00140060773125212           Electric       Gov. Aggregation
AEP - CSP     00040621019639403           Electric       Gov. Aggregation   AEP - OP      00140060773235950           Electric       Gov. Aggregation
AEP - CSP     00040621019661412           Electric       Gov. Aggregation   AEP - OP      00140060773290373           Electric       Gov. Aggregation
AEP - CSP     00040621019665170           Electric       Gov. Aggregation   AEP - OP      00140060773319171           Electric       Gov. Aggregation
AEP - CSP     00040621011919004           Electric       Gov. Aggregation   AEP - OP      00140060784427894           Electric       Gov. Aggregation
AEP - CSP     00040621011920714           Electric       Gov. Aggregation   AEP - OP      00140060784475220           Electric       Gov. Aggregation
AEP - CSP     00040621011929033           Electric       Gov. Aggregation   AEP - OP      00140060784599223           Electric       Gov. Aggregation
AEP - CSP     00040621011946603           Electric       Gov. Aggregation   AEP - OP      00140060784603643           Electric       Gov. Aggregation
AEP - CSP     00040621012213693           Electric       Gov. Aggregation   AEP - OP      00140060784711712           Electric       Gov. Aggregation
AEP - CSP     00040621012215011           Electric       Gov. Aggregation   AEP - OP      00140060784752353           Electric       Gov. Aggregation
AEP - CSP     00040621012229252           Electric       Gov. Aggregation   AEP - OP      00140060784846280           Electric       Gov. Aggregation
AEP - CSP     00040621022944814           Electric       Gov. Aggregation   AEP - OP      00140060774866992           Electric       Gov. Aggregation
AEP - CSP     00040621023143433           Electric       Gov. Aggregation   AEP - OP      00140060775033584           Electric       Gov. Aggregation
AEP - CSP     00040621023229591           Electric       Gov. Aggregation   AEP - OP      00140060775046860           Electric       Gov. Aggregation
AEP - CSP     00040621023254174           Electric       Gov. Aggregation   AEP - OP      00140060775067004           Electric       Gov. Aggregation
AEP - CSP     00040621023319815           Electric       Gov. Aggregation   AEP - OP      00140060775073164           Electric       Gov. Aggregation
AEP - CSP     00040621023527723           Electric       Gov. Aggregation   AEP - OP      00140060775127765           Electric       Gov. Aggregation
AEP - CSP     00040621023636800           Electric       Gov. Aggregation   AEP - OP      00140060775206222           Electric       Gov. Aggregation
AEP - CSP     00040621015054401           Electric       Gov. Aggregation   AEP - OP      00140060773323515           Electric       Gov. Aggregation
AEP - CSP     00040621015157210           Electric       Gov. Aggregation   AEP - OP      00140060773396880           Electric       Gov. Aggregation
AEP - CSP     00040621015179412           Electric       Gov. Aggregation   AEP - OP      00140060773436072           Electric       Gov. Aggregation
AEP - CSP     00040621015253325           Electric       Gov. Aggregation   AEP - OP      00140060773532163           Electric       Gov. Aggregation
AEP - CSP     00040621015423590           Electric       Gov. Aggregation   AEP - OP      00140060773687090           Electric       Gov. Aggregation
AEP - CSP     00040621015559601           Electric       Gov. Aggregation   AEP - OP      00140060773883445           Electric       Gov. Aggregation
AEP - CSP     00040621015752682           Electric       Gov. Aggregation   AEP - OP      00140060773950111           Electric       Gov. Aggregation
AEP - CSP     00040621015339045           Electric       Gov. Aggregation   AEP - OP      00140060775416053           Electric       Gov. Aggregation
AEP - CSP     00040621015357090           Electric       Gov. Aggregation   AEP - OP      00140060775512182           Electric       Gov. Aggregation
AEP - CSP     00040621015413610           Electric       Gov. Aggregation   AEP - OP      00140060775528924           Electric       Gov. Aggregation
AEP - CSP     00040621015500365           Electric       Gov. Aggregation   AEP - OP      00140060775535884           Electric       Gov. Aggregation
AEP - CSP     00040621015709291           Electric       Gov. Aggregation   AEP - OP      00140060775550221           Electric       Gov. Aggregation
AEP - CSP     00040621015932795           Electric       Gov. Aggregation   AEP - OP      00140060775624441           Electric       Gov. Aggregation
AEP - CSP     00040621016063251           Electric       Gov. Aggregation   AEP - OP      00140060775787340           Electric       Gov. Aggregation
AEP - CSP     00040621016072952           Electric       Gov. Aggregation   AEP - OP      00140060777871624           Electric       Gov. Aggregation
AEP - CSP     00040621016164133           Electric       Gov. Aggregation   AEP - OP      00140060778106384           Electric       Gov. Aggregation
AEP - CSP     00040621016881691           Electric       Gov. Aggregation   AEP - OP      00140060778186360           Electric       Gov. Aggregation
AEP - CSP     00040621016906005           Electric       Gov. Aggregation   AEP - OP      00140060778202581           Electric       Gov. Aggregation
AEP - CSP     00040621016913020           Electric       Gov. Aggregation   AEP - OP      00140060778289512           Electric       Gov. Aggregation
AEP - CSP     00040621017405813           Electric       Gov. Aggregation   AEP - OP      00140060778426973           Electric       Gov. Aggregation
AEP - CSP     00040621017500131           Electric       Gov. Aggregation   AEP - OP      00140060778429280           Electric       Gov. Aggregation
AEP - CSP     00040621017552371           Electric       Gov. Aggregation   AEP - OP      00140060784854295           Electric       Gov. Aggregation
AEP - CSP     00040621017604181           Electric       Gov. Aggregation   AEP - OP      00140060784862020           Electric       Gov. Aggregation
AEP - CSP     00040621017868440           Electric       Gov. Aggregation   AEP - OP      00140060784864583           Electric       Gov. Aggregation
AEP - CSP     00040621017884715           Electric       Gov. Aggregation   AEP - OP      00140060785217420           Electric       Gov. Aggregation
AEP - CSP     00040621017955953           Electric       Gov. Aggregation   AEP - OP      00140060785333540           Electric       Gov. Aggregation
AEP - CSP     00040621019804352           Electric       Gov. Aggregation   AEP - OP      00140060785338784           Electric       Gov. Aggregation
AEP - CSP     00040621019918301           Electric       Gov. Aggregation   AEP - OP      00140060785351143           Electric       Gov. Aggregation
AEP - CSP     00040621020165585           Electric       Gov. Aggregation   AEP - OP      00140060773953770           Electric       Gov. Aggregation
AEP - CSP     00040621020221362           Electric       Gov. Aggregation   AEP - OP      00140060774132482           Electric       Gov. Aggregation
     Case 2:22-bk-50804                        Doc 155 Filed 04/08/22 Entered 04/08/22 16:29:21                                  Desc Main
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621020249143           Electric       Gov. Aggregation   AEP - OP      00140060774185893           Electric       Gov. Aggregation
AEP - CSP     00040621020375870           Electric       Gov. Aggregation   AEP - OP      00140060774272662           Electric       Gov. Aggregation
AEP - CSP     00040621020585884           Electric       Gov. Aggregation   AEP - OP      00140060774376275           Electric       Gov. Aggregation
AEP - CSP     00040621015763843           Electric       Gov. Aggregation   AEP - OP      00140060774408410           Electric       Gov. Aggregation
AEP - CSP     00040621015828161           Electric       Gov. Aggregation   AEP - OP      00140060774468302           Electric       Gov. Aggregation
AEP - CSP     00040621015917881           Electric       Gov. Aggregation   AEP - OP      00140060773292802           Electric       Gov. Aggregation
AEP - CSP     00040621016059133           Electric       Gov. Aggregation   AEP - OP      00140060773307295           Electric       Gov. Aggregation
AEP - CSP     00040621016137212           Electric       Gov. Aggregation   AEP - OP      00140060773408610           Electric       Gov. Aggregation
AEP - CSP     00040621016148695           Electric       Gov. Aggregation   AEP - OP      00140060773469521           Electric       Gov. Aggregation
AEP - CSP     00040621016414464           Electric       Gov. Aggregation   AEP - OP      00140060773649872           Electric       Gov. Aggregation
AEP - CSP     00040621012337385           Electric       Gov. Aggregation   AEP - OP      00140060773674281           Electric       Gov. Aggregation
AEP - CSP     00040621012405484           Electric       Gov. Aggregation   AEP - OP      00140060773879374           Electric       Gov. Aggregation
AEP - CSP     00040621012427451           Electric       Gov. Aggregation   AEP - OP      00140060775798183           Electric       Gov. Aggregation
AEP - CSP     00040621012517133           Electric       Gov. Aggregation   AEP - OP      00140060775872661           Electric       Gov. Aggregation
AEP - CSP     00040621012532301           Electric       Gov. Aggregation   AEP - OP      00140060776006931           Electric       Gov. Aggregation
AEP - CSP     00040621012558691           Electric       Gov. Aggregation   AEP - OP      00140060776052022           Electric       Gov. Aggregation
AEP - CSP     00040621012635800           Electric       Gov. Aggregation   AEP - OP      00140060776053981           Electric       Gov. Aggregation
AEP - CSP     00040621023860733           Electric       Gov. Aggregation   AEP - OP      00140060776069315           Electric       Gov. Aggregation
AEP - CSP     00040621023865540           Electric       Gov. Aggregation   AEP - OP      00140060776111195           Electric       Gov. Aggregation
AEP - CSP     00040621023973792           Electric       Gov. Aggregation   AEP - OP      00140060778432371           Electric       Gov. Aggregation
AEP - CSP     00040621024156354           Electric       Gov. Aggregation   AEP - OP      00140060778490181           Electric       Gov. Aggregation
AEP - CSP     00040621024266440           Electric       Gov. Aggregation   AEP - OP      00140060778579693           Electric       Gov. Aggregation
AEP - CSP     00040621024622765           Electric       Gov. Aggregation   AEP - OP      00140060778590262           Electric       Gov. Aggregation
AEP - CSP     00040621015032483           Electric       Gov. Aggregation   AEP - OP      00140060778611463           Electric       Gov. Aggregation
AEP - CSP     00040621015272243           Electric       Gov. Aggregation   AEP - OP      00140060778864674           Electric       Gov. Aggregation
AEP - CSP     00040621015326401           Electric       Gov. Aggregation   AEP - OP      00140060778949071           Electric       Gov. Aggregation
AEP - CSP     00040621015535615           Electric       Gov. Aggregation   AEP - OP      00140060774482033           Electric       Gov. Aggregation
AEP - CSP     00040621015600165           Electric       Gov. Aggregation   AEP - OP      00140060774499814           Electric       Gov. Aggregation
AEP - CSP     00040621015661283           Electric       Gov. Aggregation   AEP - OP      00140060774526344           Electric       Gov. Aggregation
AEP - CSP     00040621015771313           Electric       Gov. Aggregation   AEP - OP      00140060774595111           Electric       Gov. Aggregation
AEP - CSP     00040621016947163           Electric       Gov. Aggregation   AEP - OP      00140060774657282           Electric       Gov. Aggregation
AEP - CSP     00040621017047482           Electric       Gov. Aggregation   AEP - OP      00140060774775690           Electric       Gov. Aggregation
AEP - CSP     00040621017067371           Electric       Gov. Aggregation   AEP - OP      00140060774818420           Electric       Gov. Aggregation
AEP - CSP     00040621017264961           Electric       Gov. Aggregation   AEP - OP      00140060788063235           Electric       Gov. Aggregation
AEP - CSP     00040621017273560           Electric       Gov. Aggregation   AEP - OP      00140060788132603           Electric       Gov. Aggregation
AEP - CSP     00040621017329103           Electric       Gov. Aggregation   AEP - OP      00140060788237920           Electric       Gov. Aggregation
AEP - CSP     00040621017361652           Electric       Gov. Aggregation   AEP - OP      00140060788266334           Electric       Gov. Aggregation
AEP - CSP     00040621015827961           Electric       Gov. Aggregation   AEP - OP      00140060788307785           Electric       Gov. Aggregation
AEP - CSP     00040621016026391           Electric       Gov. Aggregation   AEP - OP      00140060788338215           Electric       Gov. Aggregation
AEP - CSP     00040621016053640           Electric       Gov. Aggregation   AEP - OP      00140060785392811           Electric       Gov. Aggregation
AEP - CSP     00040621016142453           Electric       Gov. Aggregation   AEP - OP      00140060785426922           Electric       Gov. Aggregation
AEP - CSP     00040621016209772           Electric       Gov. Aggregation   AEP - OP      00140060785581421           Electric       Gov. Aggregation
AEP - CSP     00040621016518171           Electric       Gov. Aggregation   AEP - OP      00140060785728433           Electric       Gov. Aggregation
AEP - CSP     00040621016526803           Electric       Gov. Aggregation   AEP - OP      00140060785902331           Electric       Gov. Aggregation
AEP - CSP     00040621016430114           Electric       Gov. Aggregation   AEP - OP      00140060786028913           Electric       Gov. Aggregation
AEP - CSP     00040621016481613           Electric       Gov. Aggregation   AEP - OP      00140060786075021           Electric       Gov. Aggregation
AEP - CSP     00040621016562035           Electric       Gov. Aggregation   AEP - OP      00140060773902605           Electric       Gov. Aggregation
AEP - CSP     00040621016619395           Electric       Gov. Aggregation   AEP - OP      00140060773920344           Electric       Gov. Aggregation
AEP - CSP     00040621016767110           Electric       Gov. Aggregation   AEP - OP      00140060774138732           Electric       Gov. Aggregation
AEP - CSP     00040621016984681           Electric       Gov. Aggregation   AEP - OP      00140060774175963           Electric       Gov. Aggregation
AEP - CSP     00040621017022913           Electric       Gov. Aggregation   AEP - OP      00140060774183655           Electric       Gov. Aggregation
AEP - CSP     00040621018189022           Electric       Gov. Aggregation   AEP - OP      00140060774379912           Electric       Gov. Aggregation
AEP - CSP     00040621018230165           Electric       Gov. Aggregation   AEP - OP      00140060774398541           Electric       Gov. Aggregation
AEP - CSP     00040621018337455           Electric       Gov. Aggregation   AEP - OP      00140060779171005           Electric       Gov. Aggregation
AEP - CSP     00040621018423364           Electric       Gov. Aggregation   AEP - OP      00140060779186941           Electric       Gov. Aggregation
AEP - CSP     00040621018494693           Electric       Gov. Aggregation   AEP - OP      00140060779425273           Electric       Gov. Aggregation
AEP - CSP     00040621018495462           Electric       Gov. Aggregation   AEP - OP      00140060779470671           Electric       Gov. Aggregation
AEP - CSP     00040621018519853           Electric       Gov. Aggregation   AEP - OP      00140060779622002           Electric       Gov. Aggregation
AEP - CSP     00040621012648785           Electric       Gov. Aggregation   AEP - OP      00140060790509014           Electric       Gov. Aggregation
AEP - CSP     00040621012753452           Electric       Gov. Aggregation   AEP - OP      00140060790615983           Electric       Gov. Aggregation
AEP - CSP     00040621012830340           Electric       Gov. Aggregation   AEP - OP      00140060790641181           Electric       Gov. Aggregation
AEP - CSP     00040621012851424           Electric       Gov. Aggregation   AEP - OP      00140060790650700           Electric       Gov. Aggregation
AEP - CSP     00040621012930704           Electric       Gov. Aggregation   AEP - OP      00140060790689622           Electric       Gov. Aggregation
AEP - CSP     00040621013304834           Electric       Gov. Aggregation   AEP - OP      00140060790830450           Electric       Gov. Aggregation
AEP - CSP     00040621013333235           Electric       Gov. Aggregation   AEP - OP      00140060776113223           Electric       Gov. Aggregation
AEP - CSP     00040621024816130           Electric       Gov. Aggregation   AEP - OP      00140060776151724           Electric       Gov. Aggregation
AEP - CSP     00040621024947610           Electric       Gov. Aggregation   AEP - OP      00140060776217762           Electric       Gov. Aggregation
AEP - CSP     00040621025001580           Electric       Gov. Aggregation   AEP - OP      00140060776394182           Electric       Gov. Aggregation
AEP - CSP     00040621025062561           Electric       Gov. Aggregation   AEP - OP      00140060776484865           Electric       Gov. Aggregation
AEP - CSP     00040621025266644           Electric       Gov. Aggregation   AEP - OP      00140060776544752           Electric       Gov. Aggregation
AEP - CSP     00040621025270755           Electric       Gov. Aggregation   AEP - OP      00140060776553742           Electric       Gov. Aggregation
AEP - CSP     00040621015968632           Electric       Gov. Aggregation   AEP - OP      00140060774861210           Electric       Gov. Aggregation
AEP - CSP     00040621016087151           Electric       Gov. Aggregation   AEP - OP      00140060775137885           Electric       Gov. Aggregation
AEP - CSP     00040621016449842           Electric       Gov. Aggregation   AEP - OP      00140060775141663           Electric       Gov. Aggregation
AEP - CSP     00040621016620745           Electric       Gov. Aggregation   AEP - OP      00140060775166822           Electric       Gov. Aggregation
AEP - CSP     00040621016946092           Electric       Gov. Aggregation   AEP - OP      00140060775193453           Electric       Gov. Aggregation
AEP - CSP     00040621016946711           Electric       Gov. Aggregation   AEP - OP      00140060775204590           Electric       Gov. Aggregation
AEP - CSP     00040621017064655           Electric       Gov. Aggregation   AEP - OP      00140060775256973           Electric       Gov. Aggregation
AEP - CSP     00040621020650990           Electric       Gov. Aggregation   AEP - OP      00140060786094440           Electric       Gov. Aggregation
AEP - CSP     00040621021040420           Electric       Gov. Aggregation   AEP - OP      00140060786110594           Electric       Gov. Aggregation
AEP - CSP     00040621021103232           Electric       Gov. Aggregation   AEP - OP      00140060786143472           Electric       Gov. Aggregation
AEP - CSP     00040621021132005           Electric       Gov. Aggregation   AEP - OP      00140060786263113           Electric       Gov. Aggregation
AEP - CSP     00040621021154810           Electric       Gov. Aggregation   AEP - OP      00140060786326735           Electric       Gov. Aggregation
AEP - CSP     00040621021259035           Electric       Gov. Aggregation   AEP - OP      00140060786330385           Electric       Gov. Aggregation
AEP - CSP     00040621021275662           Electric       Gov. Aggregation   AEP - OP      00140060786455493           Electric       Gov. Aggregation
AEP - CSP     00040621017433881           Electric       Gov. Aggregation   AEP - OP      00140060774507502           Electric       Gov. Aggregation
AEP - CSP     00040621017516915           Electric       Gov. Aggregation   AEP - OP      00140060774523785           Electric       Gov. Aggregation
AEP - CSP     00040621017799020           Electric       Gov. Aggregation   AEP - OP      00140060774583413           Electric       Gov. Aggregation
AEP - CSP     00040621017849652           Electric       Gov. Aggregation   AEP - OP      00140060774589660           Electric       Gov. Aggregation
AEP - CSP     00040621017888360           Electric       Gov. Aggregation   AEP - OP      00140060774593312           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621017960110           Electric       Gov. Aggregation   AEP - OP      00140060774807085           Electric       Gov. Aggregation
AEP - CSP     00040621018045542           Electric       Gov. Aggregation   AEP - OP      00140060774849974           Electric       Gov. Aggregation
AEP - CSP     00040621021306220           Electric       Gov. Aggregation   AEP - OP      00140060790942645           Electric       Gov. Aggregation
AEP - CSP     00040621021479701           Electric       Gov. Aggregation   AEP - OP      00140060791086073           Electric       Gov. Aggregation
AEP - CSP     00040621021704574           Electric       Gov. Aggregation   AEP - OP      00140060791138351           Electric       Gov. Aggregation
AEP - CSP     00040621021778111           Electric       Gov. Aggregation   AEP - OP      00140060791179983           Electric       Gov. Aggregation
AEP - CSP     00040621022209720           Electric       Gov. Aggregation   AEP - OP      00140060791267173           Electric       Gov. Aggregation
AEP - CSP     00040621022383981           Electric       Gov. Aggregation   AEP - OP      00140060791275020           Electric       Gov. Aggregation
AEP - CSP     00040621025304115           Electric       Gov. Aggregation   AEP - OP      00140060791286223           Electric       Gov. Aggregation
AEP - CSP     00040621025354411           Electric       Gov. Aggregation   AEP - OP      00140060779796272           Electric       Gov. Aggregation
AEP - CSP     00040621025438084           Electric       Gov. Aggregation   AEP - OP      00140060779825900           Electric       Gov. Aggregation
AEP - CSP     00040621025637840           Electric       Gov. Aggregation   AEP - OP      00140060779865285           Electric       Gov. Aggregation
AEP - CSP     00040621025656382           Electric       Gov. Aggregation   AEP - OP      00140060780026190           Electric       Gov. Aggregation
AEP - CSP     00040621025892790           Electric       Gov. Aggregation   AEP - OP      00140060780070325           Electric       Gov. Aggregation
AEP - CSP     00040621017142242           Electric       Gov. Aggregation   AEP - OP      00140060780127013           Electric       Gov. Aggregation
AEP - CSP     00040621017211142           Electric       Gov. Aggregation   AEP - OP      00140060780206044           Electric       Gov. Aggregation
AEP - CSP     00040621017344385           Electric       Gov. Aggregation   AEP - OP      00140060776564953           Electric       Gov. Aggregation
AEP - CSP     00040621017406861           Electric       Gov. Aggregation   AEP - OP      00140060776596705           Electric       Gov. Aggregation
AEP - CSP     00040621017584575           Electric       Gov. Aggregation   AEP - OP      00140060776618751           Electric       Gov. Aggregation
AEP - CSP     00040621017594590           Electric       Gov. Aggregation   AEP - OP      00140060776709760           Electric       Gov. Aggregation
AEP - CSP     00040621017629744           Electric       Gov. Aggregation   AEP - OP      00140060776760442           Electric       Gov. Aggregation
AEP - CSP     00040621018523345           Electric       Gov. Aggregation   AEP - OP      00140060776856672           Electric       Gov. Aggregation
AEP - CSP     00040621018626514           Electric       Gov. Aggregation   AEP - OP      00140060776863294           Electric       Gov. Aggregation
AEP - CSP     00040621018687274           Electric       Gov. Aggregation   AEP - OP      00140060786468930           Electric       Gov. Aggregation
AEP - CSP     00040621019068500           Electric       Gov. Aggregation   AEP - OP      00140060786513384           Electric       Gov. Aggregation
AEP - CSP     00040621019179801           Electric       Gov. Aggregation   AEP - OP      00140060786515102           Electric       Gov. Aggregation
AEP - CSP     00040621019192021           Electric       Gov. Aggregation   AEP - OP      00140060786709131           Electric       Gov. Aggregation
AEP - CSP     00040621019513641           Electric       Gov. Aggregation   AEP - OP      00140060786736691           Electric       Gov. Aggregation
AEP - CSP     00040621017268482           Electric       Gov. Aggregation   AEP - OP      00140060786766985           Electric       Gov. Aggregation
AEP - CSP     00040621017281615           Electric       Gov. Aggregation   AEP - OP      00140060786907854           Electric       Gov. Aggregation
AEP - CSP     00040621017396515           Electric       Gov. Aggregation   AEP - OP      00140060774979391           Electric       Gov. Aggregation
AEP - CSP     00040621017522833           Electric       Gov. Aggregation   AEP - OP      00140060775076625           Electric       Gov. Aggregation
AEP - CSP     00040621017523613           Electric       Gov. Aggregation   AEP - OP      00140060775094215           Electric       Gov. Aggregation
AEP - CSP     00040621017613761           Electric       Gov. Aggregation   AEP - OP      00140060775337395           Electric       Gov. Aggregation
AEP - CSP     00040621017675735           Electric       Gov. Aggregation   AEP - OP      00140060775345535           Electric       Gov. Aggregation
AEP - CSP     00040621018292784           Electric       Gov. Aggregation   AEP - OP      00140060775361014           Electric       Gov. Aggregation
AEP - CSP     00040621018301745           Electric       Gov. Aggregation   AEP - OP      00140060780291475           Electric       Gov. Aggregation
AEP - CSP     00040621018437920           Electric       Gov. Aggregation   AEP - OP      00140060780305573           Electric       Gov. Aggregation
AEP - CSP     00040621018504431           Electric       Gov. Aggregation   AEP - OP      00140060780305990           Electric       Gov. Aggregation
AEP - CSP     00040621018735105           Electric       Gov. Aggregation   AEP - OP      00140060780401961           Electric       Gov. Aggregation
AEP - CSP     00040621018905341           Electric       Gov. Aggregation   AEP - OP      00140060780445762           Electric       Gov. Aggregation
AEP - CSP     00040621018965391           Electric       Gov. Aggregation   AEP - OP      00140060780579794           Electric       Gov. Aggregation
AEP - CSP     00040621022442583           Electric       Gov. Aggregation   AEP - OP      00140060780656561           Electric       Gov. Aggregation
AEP - CSP     00040621022505701           Electric       Gov. Aggregation   AEP - OP      00140060790870963           Electric       Gov. Aggregation
AEP - CSP     00040621022616491           Electric       Gov. Aggregation   AEP - OP      00140060790944382           Electric       Gov. Aggregation
AEP - CSP     00040621022897000           Electric       Gov. Aggregation   AEP - OP      00140060791046431           Electric       Gov. Aggregation
AEP - CSP     00040621026039881           Electric       Gov. Aggregation   AEP - OP      00140060791085712           Electric       Gov. Aggregation
AEP - CSP     00040621026086072           Electric       Gov. Aggregation   AEP - OP      00140060791173911           Electric       Gov. Aggregation
AEP - CSP     00040621026107364           Electric       Gov. Aggregation   AEP - OP      00140060791358201           Electric       Gov. Aggregation
AEP - CSP     00040621026164435           Electric       Gov. Aggregation   AEP - OP      00140060791549682           Electric       Gov. Aggregation
AEP - CSP     00040621026381253           Electric       Gov. Aggregation   AEP - OP      00140060791335863           Electric       Gov. Aggregation
AEP - CSP     00040621026520214           Electric       Gov. Aggregation   AEP - OP      00140060791397620           Electric       Gov. Aggregation
AEP - CSP     00040621017785993           Electric       Gov. Aggregation   AEP - OP      00140060791590661           Electric       Gov. Aggregation
AEP - CSP     00040621018145485           Electric       Gov. Aggregation   AEP - OP      00140060791739881           Electric       Gov. Aggregation
AEP - CSP     00040621018182751           Electric       Gov. Aggregation   AEP - OP      00140060791947350           Electric       Gov. Aggregation
AEP - CSP     00040621018203694           Electric       Gov. Aggregation   AEP - OP      00140060792042694           Electric       Gov. Aggregation
AEP - CSP     00040621018232483           Electric       Gov. Aggregation   AEP - OP      00140060792096803           Electric       Gov. Aggregation
AEP - CSP     00040621018333420           Electric       Gov. Aggregation   AEP - OP      00140060776942485           Electric       Gov. Aggregation
AEP - CSP     00040621018475895           Electric       Gov. Aggregation   AEP - OP      00140060777074892           Electric       Gov. Aggregation
AEP - CSP     00040621013408153           Electric       Gov. Aggregation   AEP - OP      00140060777148271           Electric       Gov. Aggregation
AEP - CSP     00040621013545050           Electric       Gov. Aggregation   AEP - OP      00140060777226210           Electric       Gov. Aggregation
AEP - CSP     00040621013564841           Electric       Gov. Aggregation   AEP - OP      00140060777254411           Electric       Gov. Aggregation
AEP - CSP     00040621013596141           Electric       Gov. Aggregation   AEP - OP      00140060777385361           Electric       Gov. Aggregation
AEP - CSP     00040621013773754           Electric       Gov. Aggregation   AEP - OP      00140060777431795           Electric       Gov. Aggregation
AEP - CSP     00040621013895115           Electric       Gov. Aggregation   AEP - OP      00140060786944171           Electric       Gov. Aggregation
AEP - CSP     00040621013904003           Electric       Gov. Aggregation   AEP - OP      00140060787044254           Electric       Gov. Aggregation
AEP - CSP     00040621016544004           Electric       Gov. Aggregation   AEP - OP      00140060787064894           Electric       Gov. Aggregation
AEP - CSP     00040621016625905           Electric       Gov. Aggregation   AEP - OP      00140060787124725           Electric       Gov. Aggregation
AEP - CSP     00040621016631904           Electric       Gov. Aggregation   AEP - OP      00140060787138635           Electric       Gov. Aggregation
AEP - CSP     00040621016693045           Electric       Gov. Aggregation   AEP - OP      00140060787159115           Electric       Gov. Aggregation
AEP - CSP     00040621016884494           Electric       Gov. Aggregation   AEP - OP      00140060787172225           Electric       Gov. Aggregation
AEP - CSP     00040621016956803           Electric       Gov. Aggregation   AEP - OP      00140060775378615           Electric       Gov. Aggregation
AEP - CSP     00040621016978692           Electric       Gov. Aggregation   AEP - OP      00140060775554380           Electric       Gov. Aggregation
AEP - CSP     00040621019021172           Electric       Gov. Aggregation   AEP - OP      00140060775583692           Electric       Gov. Aggregation
AEP - CSP     00040621019316460           Electric       Gov. Aggregation   AEP - OP      00140060775629174           Electric       Gov. Aggregation
AEP - CSP     00040621019470294           Electric       Gov. Aggregation   AEP - OP      00140060775770604           Electric       Gov. Aggregation
AEP - CSP     00040621019473975           Electric       Gov. Aggregation   AEP - OP      00140060775863585           Electric       Gov. Aggregation
AEP - CSP     00040621019707852           Electric       Gov. Aggregation   AEP - OP      00140060791641855           Electric       Gov. Aggregation
AEP - CSP     00040621019762133           Electric       Gov. Aggregation   AEP - OP      00140060791701864           Electric       Gov. Aggregation
AEP - CSP     00040621019793014           Electric       Gov. Aggregation   AEP - OP      00140060791826461           Electric       Gov. Aggregation
AEP - CSP     00040621017679862           Electric       Gov. Aggregation   AEP - OP      00140060791877193           Electric       Gov. Aggregation
AEP - CSP     00040621017729065           Electric       Gov. Aggregation   AEP - OP      00140060791965372           Electric       Gov. Aggregation
AEP - CSP     00040621017826554           Electric       Gov. Aggregation   AEP - OP      00140060792136132           Electric       Gov. Aggregation
AEP - CSP     00040621018030644           Electric       Gov. Aggregation   AEP - OP      00140060792173173           Electric       Gov. Aggregation
AEP - CSP     00040621018157631           Electric       Gov. Aggregation   AEP - OP      00140060780695394           Electric       Gov. Aggregation
AEP - CSP     00040621018265474           Electric       Gov. Aggregation   AEP - OP      00140060780716162           Electric       Gov. Aggregation
AEP - CSP     00040621018308402           Electric       Gov. Aggregation   AEP - OP      00140060780754693           Electric       Gov. Aggregation
AEP - CSP     00040621026585210           Electric       Gov. Aggregation   AEP - OP      00140060780755652           Electric       Gov. Aggregation
AEP - CSP     00040621026613955           Electric       Gov. Aggregation   AEP - OP      00140060781020991           Electric       Gov. Aggregation
AEP - CSP     00040621026896103           Electric       Gov. Aggregation   AEP - OP      00140060781069463           Electric       Gov. Aggregation
     Case 2:22-bk-50804                        Doc 155 Filed 04/08/22 Entered 04/08/22 16:29:21                                  Desc Main
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621026970561           Electric       Gov. Aggregation   AEP - OP      00140060775871485           Electric       Gov. Aggregation
AEP - CSP     00040621027383320           Electric       Gov. Aggregation   AEP - OP      00140060775890202           Electric       Gov. Aggregation
AEP - CSP     00040621027389581           Electric       Gov. Aggregation   AEP - OP      00140060775892842           Electric       Gov. Aggregation
AEP - CSP     00040621027389642           Electric       Gov. Aggregation   AEP - OP      00140060775905451           Electric       Gov. Aggregation
AEP - CSP     00040621023080142           Electric       Gov. Aggregation   AEP - OP      00140060775926160           Electric       Gov. Aggregation
AEP - CSP     00040621023106670           Electric       Gov. Aggregation   AEP - OP      00140060776119592           Electric       Gov. Aggregation
AEP - CSP     00040621023223921           Electric       Gov. Aggregation   AEP - OP      00140060776226401           Electric       Gov. Aggregation
AEP - CSP     00040621023277041           Electric       Gov. Aggregation   AEP - OP      00140060777437793           Electric       Gov. Aggregation
AEP - CSP     00040621023465365           Electric       Gov. Aggregation   AEP - OP      00140060777599304           Electric       Gov. Aggregation
AEP - CSP     00040621023634091           Electric       Gov. Aggregation   AEP - OP      00140060777639781           Electric       Gov. Aggregation
AEP - CSP     00040621023661705           Electric       Gov. Aggregation   AEP - OP      00140060777718152           Electric       Gov. Aggregation
AEP - CSP     00040621018607070           Electric       Gov. Aggregation   AEP - OP      00140060777725072           Electric       Gov. Aggregation
AEP - CSP     00040621018610984           Electric       Gov. Aggregation   AEP - OP      00140060777761041           Electric       Gov. Aggregation
AEP - CSP     00040621018640862           Electric       Gov. Aggregation   AEP - OP      00140060792278393           Electric       Gov. Aggregation
AEP - CSP     00040621018822584           Electric       Gov. Aggregation   AEP - OP      00140060792336210           Electric       Gov. Aggregation
AEP - CSP     00040621018958655           Electric       Gov. Aggregation   AEP - OP      00140060792366805           Electric       Gov. Aggregation
AEP - CSP     00040621019025911           Electric       Gov. Aggregation   AEP - OP      00140060792532623           Electric       Gov. Aggregation
AEP - CSP     00040621019044622           Electric       Gov. Aggregation   AEP - OP      00140060792625001           Electric       Gov. Aggregation
AEP - CSP     00040621019615470           Electric       Gov. Aggregation   AEP - OP      00140060792798002           Electric       Gov. Aggregation
AEP - CSP     00040621019639861           Electric       Gov. Aggregation   AEP - OP      00140060792823522           Electric       Gov. Aggregation
AEP - CSP     00040621019725402           Electric       Gov. Aggregation   AEP - OP      00140060792207434           Electric       Gov. Aggregation
AEP - CSP     00040621019741555           Electric       Gov. Aggregation   AEP - OP      00140060792272255           Electric       Gov. Aggregation
AEP - CSP     00040621019772660           Electric       Gov. Aggregation   AEP - OP      00140060792656742           Electric       Gov. Aggregation
AEP - CSP     00040621019857274           Electric       Gov. Aggregation   AEP - OP      00140060792732622           Electric       Gov. Aggregation
AEP - CSP     00040621019989895           Electric       Gov. Aggregation   AEP - OP      00140060793043475           Electric       Gov. Aggregation
AEP - CSP     00040621014033582           Electric       Gov. Aggregation   AEP - OP      00140060793281615           Electric       Gov. Aggregation
AEP - CSP     00040621014118322           Electric       Gov. Aggregation   AEP - OP      00140060793403534           Electric       Gov. Aggregation
AEP - CSP     00040621014203683           Electric       Gov. Aggregation   AEP - OP      00140060787244532           Electric       Gov. Aggregation
AEP - CSP     00040621014326813           Electric       Gov. Aggregation   AEP - OP      00140060787308752           Electric       Gov. Aggregation
AEP - CSP     00040621014367353           Electric       Gov. Aggregation   AEP - OP      00140060787466253           Electric       Gov. Aggregation
AEP - CSP     00040621014390290           Electric       Gov. Aggregation   AEP - OP      00140060787610402           Electric       Gov. Aggregation
AEP - CSP     00040621014514891           Electric       Gov. Aggregation   AEP - OP      00140060787616224           Electric       Gov. Aggregation
AEP - CSP     00040621018341985           Electric       Gov. Aggregation   AEP - OP      00140060787662405           Electric       Gov. Aggregation
AEP - CSP     00040621018360162           Electric       Gov. Aggregation   AEP - OP      00140060787707914           Electric       Gov. Aggregation
AEP - CSP     00040621018432660           Electric       Gov. Aggregation   AEP - OP      00140060775277702           Electric       Gov. Aggregation
AEP - CSP     00040621018492484           Electric       Gov. Aggregation   AEP - OP      00140060775445870           Electric       Gov. Aggregation
AEP - CSP     00040621018653704           Electric       Gov. Aggregation   AEP - OP      00140060775496592           Electric       Gov. Aggregation
AEP - CSP     00040621018718295           Electric       Gov. Aggregation   AEP - OP      00140060775644392           Electric       Gov. Aggregation
AEP - CSP     00040621018808124           Electric       Gov. Aggregation   AEP - OP      00140060775673721           Electric       Gov. Aggregation
AEP - CSP     00040621027450672           Electric       Gov. Aggregation   AEP - OP      00140060775700580           Electric       Gov. Aggregation
AEP - CSP     00040621027475312           Electric       Gov. Aggregation   AEP - OP      00140060775701024           Electric       Gov. Aggregation
AEP - CSP     00040621027839311           Electric       Gov. Aggregation   AEP - OP      00140060781151862           Electric       Gov. Aggregation
AEP - CSP     00040621027914463           Electric       Gov. Aggregation   AEP - OP      00140060781155922           Electric       Gov. Aggregation
AEP - CSP     00040621028022130           Electric       Gov. Aggregation   AEP - OP      00140060781163340           Electric       Gov. Aggregation
AEP - CSP     00040621020186625           Electric       Gov. Aggregation   AEP - OP      00140060781232515           Electric       Gov. Aggregation
AEP - CSP     00040621020199450           Electric       Gov. Aggregation   AEP - OP      00140060781243253           Electric       Gov. Aggregation
AEP - CSP     00040621020261130           Electric       Gov. Aggregation   AEP - OP      00140060781267843           Electric       Gov. Aggregation
AEP - CSP     00040621020411415           Electric       Gov. Aggregation   AEP - OP      00140060781380721           Electric       Gov. Aggregation
AEP - CSP     00040621020427592           Electric       Gov. Aggregation   AEP - OP      00140060778121393           Electric       Gov. Aggregation
AEP - CSP     00040621020554401           Electric       Gov. Aggregation   AEP - OP      00140060778210072           Electric       Gov. Aggregation
AEP - CSP     00040621014833012           Electric       Gov. Aggregation   AEP - OP      00140060778250093           Electric       Gov. Aggregation
AEP - CSP     00040621014846511           Electric       Gov. Aggregation   AEP - OP      00140060778252314           Electric       Gov. Aggregation
AEP - CSP     00040621014972172           Electric       Gov. Aggregation   AEP - OP      00140060778353835           Electric       Gov. Aggregation
AEP - CSP     00040621015041505           Electric       Gov. Aggregation   AEP - OP      00140060778434781           Electric       Gov. Aggregation
AEP - CSP     00040621015062972           Electric       Gov. Aggregation   AEP - OP      00140060778563983           Electric       Gov. Aggregation
AEP - CSP     00040621015154140           Electric       Gov. Aggregation   AEP - OP      00140060792847484           Electric       Gov. Aggregation
AEP - CSP     00040621015160272           Electric       Gov. Aggregation   AEP - OP      00140060792861883           Electric       Gov. Aggregation
AEP - CSP     00040621019087695           Electric       Gov. Aggregation   AEP - OP      00140060792989984           Electric       Gov. Aggregation
AEP - CSP     00040621019141290           Electric       Gov. Aggregation   AEP - OP      00140060793040753           Electric       Gov. Aggregation
AEP - CSP     00040621019262565           Electric       Gov. Aggregation   AEP - OP      00140060793108554           Electric       Gov. Aggregation
AEP - CSP     00040621019287762           Electric       Gov. Aggregation   AEP - OP      00140060793235321           Electric       Gov. Aggregation
AEP - CSP     00040621019296784           Electric       Gov. Aggregation   AEP - OP      00140060793269342           Electric       Gov. Aggregation
AEP - CSP     00040621019395305           Electric       Gov. Aggregation   AEP - OP      00140060793417241           Electric       Gov. Aggregation
AEP - CSP     00040621019435632           Electric       Gov. Aggregation   AEP - OP      00140060793429121           Electric       Gov. Aggregation
AEP - CSP     00040621018814562           Electric       Gov. Aggregation   AEP - OP      00140060793512014           Electric       Gov. Aggregation
AEP - CSP     00040621018930935           Electric       Gov. Aggregation   AEP - OP      00140060793591860           Electric       Gov. Aggregation
AEP - CSP     00040621018954941           Electric       Gov. Aggregation   AEP - OP      00140060793609445           Electric       Gov. Aggregation
AEP - CSP     00040621019041495           Electric       Gov. Aggregation   AEP - OP      00140060793809080           Electric       Gov. Aggregation
AEP - CSP     00040621019104615           Electric       Gov. Aggregation   AEP - OP      00140060776299211           Electric       Gov. Aggregation
AEP - CSP     00040621019154130           Electric       Gov. Aggregation   AEP - OP      00140060776605842           Electric       Gov. Aggregation
AEP - CSP     00040621019210011           Electric       Gov. Aggregation   AEP - OP      00140060776676915           Electric       Gov. Aggregation
AEP - CSP     00040621028104314           Electric       Gov. Aggregation   AEP - OP      00140060777004080           Electric       Gov. Aggregation
AEP - CSP     00040621028511445           Electric       Gov. Aggregation   AEP - OP      00140060777138201           Electric       Gov. Aggregation
AEP - CSP     00040621028638845           Electric       Gov. Aggregation   AEP - OP      00140060777159401           Electric       Gov. Aggregation
AEP - CSP     00040621028669083           Electric       Gov. Aggregation   AEP - OP      00140060781418990           Electric       Gov. Aggregation
AEP - CSP     00040621028875690           Electric       Gov. Aggregation   AEP - OP      00140060781492654           Electric       Gov. Aggregation
AEP - CSP     00040621028882425           Electric       Gov. Aggregation   AEP - OP      00140060781620134           Electric       Gov. Aggregation
AEP - CSP     00040621028884373           Electric       Gov. Aggregation   AEP - OP      00140060781661793           Electric       Gov. Aggregation
AEP - CSP     00040621019886591           Electric       Gov. Aggregation   AEP - OP      00140060781768764           Electric       Gov. Aggregation
AEP - CSP     00040621020086905           Electric       Gov. Aggregation   AEP - OP      00140060781867510           Electric       Gov. Aggregation
AEP - CSP     00040621020117811           Electric       Gov. Aggregation   AEP - OP      00140060781869940           Electric       Gov. Aggregation
AEP - CSP     00040621020143850           Electric       Gov. Aggregation   AEP - OP      00140060778659625           Electric       Gov. Aggregation
AEP - CSP     00040621020171571           Electric       Gov. Aggregation   AEP - OP      00140060778688265           Electric       Gov. Aggregation
AEP - CSP     00040621020210431           Electric       Gov. Aggregation   AEP - OP      00140060778733900           Electric       Gov. Aggregation
AEP - CSP     00040621020676105           Electric       Gov. Aggregation   AEP - OP      00140060778809165           Electric       Gov. Aggregation
AEP - CSP     00040621020772480           Electric       Gov. Aggregation   AEP - OP      00140060778823103           Electric       Gov. Aggregation
AEP - CSP     00040621020914755           Electric       Gov. Aggregation   AEP - OP      00140060778828893           Electric       Gov. Aggregation
AEP - CSP     00040621020935930           Electric       Gov. Aggregation   AEP - OP      00140060778892745           Electric       Gov. Aggregation
AEP - CSP     00040621020996402           Electric       Gov. Aggregation   AEP - OP      00140060793289764           Electric       Gov. Aggregation
AEP - CSP     00040621021272781           Electric       Gov. Aggregation   AEP - OP      00140060793313874           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621021445920           Electric       Gov. Aggregation   AEP - OP      00140060793353633           Electric       Gov. Aggregation
AEP - CSP     00040621017032733           Electric       Gov. Aggregation   AEP - OP      00140060793408455           Electric       Gov. Aggregation
AEP - CSP     00040621017036225           Electric       Gov. Aggregation   AEP - OP      00140060793444094           Electric       Gov. Aggregation
AEP - CSP     00040621017148893           Electric       Gov. Aggregation   AEP - OP      00140060793481073           Electric       Gov. Aggregation
AEP - CSP     00040621017263155           Electric       Gov. Aggregation   AEP - OP      00140060793496275           Electric       Gov. Aggregation
AEP - CSP     00040621017408505           Electric       Gov. Aggregation   AEP - OP      00140060793837890           Electric       Gov. Aggregation
AEP - CSP     00040621017451544           Electric       Gov. Aggregation   AEP - OP      00140060793850720           Electric       Gov. Aggregation
AEP - CSP     00040621017460204           Electric       Gov. Aggregation   AEP - OP      00140060793886854           Electric       Gov. Aggregation
AEP - CSP     00040621019587630           Electric       Gov. Aggregation   AEP - OP      00140060794220994           Electric       Gov. Aggregation
AEP - CSP     00040621019729113           Electric       Gov. Aggregation   AEP - OP      00140060794257902           Electric       Gov. Aggregation
AEP - CSP     00040621019733012           Electric       Gov. Aggregation   AEP - OP      00140060794293633           Electric       Gov. Aggregation
AEP - CSP     00040621019834692           Electric       Gov. Aggregation   AEP - OP      00140060777183181           Electric       Gov. Aggregation
AEP - CSP     00040621019895053           Electric       Gov. Aggregation   AEP - OP      00140060777186914           Electric       Gov. Aggregation
AEP - CSP     00040621020132123           Electric       Gov. Aggregation   AEP - OP      00140060777277713           Electric       Gov. Aggregation
AEP - CSP     00040621020136213           Electric       Gov. Aggregation   AEP - OP      00140060777321093           Electric       Gov. Aggregation
AEP - CSP     00040621019211413           Electric       Gov. Aggregation   AEP - OP      00140060777377483           Electric       Gov. Aggregation
AEP - CSP     00040621019227963           Electric       Gov. Aggregation   AEP - OP      00140060777406261           Electric       Gov. Aggregation
AEP - CSP     00040621019246064           Electric       Gov. Aggregation   AEP - OP      00140060778903685           Electric       Gov. Aggregation
AEP - CSP     00040621019319002           Electric       Gov. Aggregation   AEP - OP      00140060778960745           Electric       Gov. Aggregation
AEP - CSP     00040621019451070           Electric       Gov. Aggregation   AEP - OP      00140060778972884           Electric       Gov. Aggregation
AEP - CSP     00040621019461922           Electric       Gov. Aggregation   AEP - OP      00140060779032435           Electric       Gov. Aggregation
AEP - CSP     00040621019523124           Electric       Gov. Aggregation   AEP - OP      00140060779062861           Electric       Gov. Aggregation
AEP - CSP     00040621020446884           Electric       Gov. Aggregation   AEP - OP      00140060779123973           Electric       Gov. Aggregation
AEP - CSP     00040621020485330           Electric       Gov. Aggregation   AEP - OP      00140060781891501           Electric       Gov. Aggregation
AEP - CSP     00040621020608022           Electric       Gov. Aggregation   AEP - OP      00140060782045803           Electric       Gov. Aggregation
AEP - CSP     00040621020756272           Electric       Gov. Aggregation   AEP - OP      00140060782070605           Electric       Gov. Aggregation
AEP - CSP     00040621020940395           Electric       Gov. Aggregation   AEP - OP      00140060782315433           Electric       Gov. Aggregation
AEP - CSP     00040621021219970           Electric       Gov. Aggregation   AEP - OP      00140060782341835           Electric       Gov. Aggregation
AEP - CSP     00040621020279335           Electric       Gov. Aggregation   AEP - OP      00140060782344891           Electric       Gov. Aggregation
AEP - CSP     00040621020307062           Electric       Gov. Aggregation   AEP - OP      00140060787733071           Electric       Gov. Aggregation
AEP - CSP     00040621020963313           Electric       Gov. Aggregation   AEP - OP      00140060787751380           Electric       Gov. Aggregation
AEP - CSP     00040621021008763           Electric       Gov. Aggregation   AEP - OP      00140060787784082           Electric       Gov. Aggregation
AEP - CSP     00040621021250004           Electric       Gov. Aggregation   AEP - OP      00140060787836142           Electric       Gov. Aggregation
AEP - CSP     00040621021278613           Electric       Gov. Aggregation   AEP - OP      00140060787937362           Electric       Gov. Aggregation
AEP - CSP     00040621021417414           Electric       Gov. Aggregation   AEP - OP      00140060788228475           Electric       Gov. Aggregation
AEP - CSP     00040621029061703           Electric       Gov. Aggregation   AEP - OP      00140060788232803           Electric       Gov. Aggregation
AEP - CSP     00040621029101190           Electric       Gov. Aggregation   AEP - OP      00140060775728632           Electric       Gov. Aggregation
AEP - CSP     00040621029114945           Electric       Gov. Aggregation   AEP - OP      00140060775770310           Electric       Gov. Aggregation
AEP - CSP     00040621029247520           Electric       Gov. Aggregation   AEP - OP      00140060775811472           Electric       Gov. Aggregation
AEP - CSP     00040621029264963           Electric       Gov. Aggregation   AEP - OP      00140060775827505           Electric       Gov. Aggregation
AEP - CSP     00040621029271054           Electric       Gov. Aggregation   AEP - OP      00140060775874515           Electric       Gov. Aggregation
AEP - CSP     00040621021687395           Electric       Gov. Aggregation   AEP - OP      00140060775886504           Electric       Gov. Aggregation
AEP - CSP     00040621021698822           Electric       Gov. Aggregation   AEP - OP      00140060775925854           Electric       Gov. Aggregation
AEP - CSP     00040621021830821           Electric       Gov. Aggregation   AEP - OP      00140060793572835           Electric       Gov. Aggregation
AEP - CSP     00040621021850201           Electric       Gov. Aggregation   AEP - OP      00140060793608120           Electric       Gov. Aggregation
AEP - CSP     00040621021856844           Electric       Gov. Aggregation   AEP - OP      00140060793611921           Electric       Gov. Aggregation
AEP - CSP     00040621022005773           Electric       Gov. Aggregation   AEP - OP      00140060793640781           Electric       Gov. Aggregation
AEP - CSP     00040621017556485           Electric       Gov. Aggregation   AEP - OP      00140060793669824           Electric       Gov. Aggregation
AEP - CSP     00040621017579151           Electric       Gov. Aggregation   AEP - OP      00140060793785134           Electric       Gov. Aggregation
AEP - CSP     00040621017585645           Electric       Gov. Aggregation   AEP - OP      00140060793875003           Electric       Gov. Aggregation
AEP - CSP     00040621017937343           Electric       Gov. Aggregation   AEP - OP      00140060794328222           Electric       Gov. Aggregation
AEP - CSP     00040621018113275           Electric       Gov. Aggregation   AEP - OP      00140060794398085           Electric       Gov. Aggregation
AEP - CSP     00040621018116802           Electric       Gov. Aggregation   AEP - OP      00140060794398675           Electric       Gov. Aggregation
AEP - CSP     00040621018120825           Electric       Gov. Aggregation   AEP - OP      00140060794486125           Electric       Gov. Aggregation
AEP - CSP     00040621019528661           Electric       Gov. Aggregation   AEP - OP      00140060794553602           Electric       Gov. Aggregation
AEP - CSP     00040621019711732           Electric       Gov. Aggregation   AEP - OP      00140060794573914           Electric       Gov. Aggregation
AEP - CSP     00040621019728420           Electric       Gov. Aggregation   AEP - OP      00140060794649192           Electric       Gov. Aggregation
AEP - CSP     00040621019734102           Electric       Gov. Aggregation   AEP - OP      00140060779125100           Electric       Gov. Aggregation
AEP - CSP     00040621019740264           Electric       Gov. Aggregation   AEP - OP      00140060779127762           Electric       Gov. Aggregation
AEP - CSP     00040621019821561           Electric       Gov. Aggregation   AEP - OP      00140060779179242           Electric       Gov. Aggregation
AEP - CSP     00040621021460650           Electric       Gov. Aggregation   AEP - OP      00140060779320232           Electric       Gov. Aggregation
AEP - CSP     00040621021525302           Electric       Gov. Aggregation   AEP - OP      00140060779360175           Electric       Gov. Aggregation
AEP - CSP     00040621021610641           Electric       Gov. Aggregation   AEP - OP      00140060779379971           Electric       Gov. Aggregation
AEP - CSP     00040621021669311           Electric       Gov. Aggregation   AEP - OP      00140060779408013           Electric       Gov. Aggregation
AEP - CSP     00040621021806513           Electric       Gov. Aggregation   AEP - OP      00140060782588910           Electric       Gov. Aggregation
AEP - CSP     00040621021871415           Electric       Gov. Aggregation   AEP - OP      00140060782605534           Electric       Gov. Aggregation
AEP - CSP     00040621021903730           Electric       Gov. Aggregation   AEP - OP      00140060782716181           Electric       Gov. Aggregation
AEP - CSP     00040621023915510           Electric       Gov. Aggregation   AEP - OP      00140060782743013           Electric       Gov. Aggregation
AEP - CSP     00040621024093594           Electric       Gov. Aggregation   AEP - OP      00140060782770741           Electric       Gov. Aggregation
AEP - CSP     00040621024231483           Electric       Gov. Aggregation   AEP - OP      00140060782807562           Electric       Gov. Aggregation
AEP - CSP     00040621024396515           Electric       Gov. Aggregation   AEP - OP      00140060782864065           Electric       Gov. Aggregation
AEP - CSP     00040621024448821           Electric       Gov. Aggregation   AEP - OP      00140060777527485           Electric       Gov. Aggregation
AEP - CSP     00040621024532364           Electric       Gov. Aggregation   AEP - OP      00140060777624183           Electric       Gov. Aggregation
AEP - CSP     00040621024582281           Electric       Gov. Aggregation   AEP - OP      00140060777719654           Electric       Gov. Aggregation
AEP - CSP     00040621021439184           Electric       Gov. Aggregation   AEP - OP      00140060777899563           Electric       Gov. Aggregation
AEP - CSP     00040621021718111           Electric       Gov. Aggregation   AEP - OP      00140060777955101           Electric       Gov. Aggregation
AEP - CSP     00040621021773492           Electric       Gov. Aggregation   AEP - OP      00140060778005673           Electric       Gov. Aggregation
AEP - CSP     00040621021889720           Electric       Gov. Aggregation   AEP - OP      00140060778191031           Electric       Gov. Aggregation
AEP - CSP     00040621022008115           Electric       Gov. Aggregation   AEP - OP      00140060788372130           Electric       Gov. Aggregation
AEP - CSP     00040621022015303           Electric       Gov. Aggregation   AEP - OP      00140060788414420           Electric       Gov. Aggregation
AEP - CSP     00040621029351132           Electric       Gov. Aggregation   AEP - OP      00140060788443542           Electric       Gov. Aggregation
AEP - CSP     00040621029389640           Electric       Gov. Aggregation   AEP - OP      00140060788513581           Electric       Gov. Aggregation
AEP - CSP     00040621029455804           Electric       Gov. Aggregation   AEP - OP      00140060788588501           Electric       Gov. Aggregation
AEP - CSP     00040621029529020           Electric       Gov. Aggregation   AEP - OP      00140060788733772           Electric       Gov. Aggregation
AEP - CSP     00040621029569971           Electric       Gov. Aggregation   AEP - OP      00140060788758182           Electric       Gov. Aggregation
AEP - CSP     00040621029575570           Electric       Gov. Aggregation   AEP - OP      00140060776061102           Electric       Gov. Aggregation
AEP - CSP     00040621029708783           Electric       Gov. Aggregation   AEP - OP      00140060776063892           Electric       Gov. Aggregation
AEP - CSP     00040621015397405           Electric       Gov. Aggregation   AEP - OP      00140060776089001           Electric       Gov. Aggregation
AEP - CSP     00040621015586350           Electric       Gov. Aggregation   AEP - OP      00140060776121311           Electric       Gov. Aggregation
AEP - CSP     00040621015661991           Electric       Gov. Aggregation   AEP - OP      00140060776160933           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621015680415           Electric       Gov. Aggregation   AEP - OP      00140060776160933           Electric       Gov. Aggregation
AEP - CSP     00040621015784360           Electric       Gov. Aggregation   AEP - OP      00140060776225890           Electric       Gov. Aggregation
AEP - CSP     00040621015966933           Electric       Gov. Aggregation   AEP - OP      00140060795073673           Electric       Gov. Aggregation
AEP - CSP     00040621022161874           Electric       Gov. Aggregation   AEP - OP      00140060795142111           Electric       Gov. Aggregation
AEP - CSP     00040621022282301           Electric       Gov. Aggregation   AEP - OP      00140060795341823           Electric       Gov. Aggregation
AEP - CSP     00040621022431532           Electric       Gov. Aggregation   AEP - OP      00140060795369433           Electric       Gov. Aggregation
AEP - CSP     00040621022498522           Electric       Gov. Aggregation   AEP - OP      00140060795504221           Electric       Gov. Aggregation
AEP - CSP     00040621022568712           Electric       Gov. Aggregation   AEP - OP      00140060795543704           Electric       Gov. Aggregation
AEP - CSP     00040621023052934           Electric       Gov. Aggregation   AEP - OP      00140060795547304           Electric       Gov. Aggregation
AEP - CSP     00040621018161193           Electric       Gov. Aggregation   AEP - OP      00140060782886564           Electric       Gov. Aggregation
AEP - CSP     00040621018212681           Electric       Gov. Aggregation   AEP - OP      00140060782918414           Electric       Gov. Aggregation
AEP - CSP     00040621018430534           Electric       Gov. Aggregation   AEP - OP      00140060782966370           Electric       Gov. Aggregation
AEP - CSP     00040621018957370           Electric       Gov. Aggregation   AEP - OP      00140060782973850           Electric       Gov. Aggregation
AEP - CSP     00040621019031640           Electric       Gov. Aggregation   AEP - OP      00140060783033722           Electric       Gov. Aggregation
AEP - CSP     00040621019036670           Electric       Gov. Aggregation   AEP - OP      00140060783149270           Electric       Gov. Aggregation
AEP - CSP     00040621019137880           Electric       Gov. Aggregation   AEP - OP      00140060783323682           Electric       Gov. Aggregation
AEP - CSP     00040621019888941           Electric       Gov. Aggregation   AEP - OP      00140060788768201           Electric       Gov. Aggregation
AEP - CSP     00040621020097413           Electric       Gov. Aggregation   AEP - OP      00140060788835001           Electric       Gov. Aggregation
AEP - CSP     00040621020204144           Electric       Gov. Aggregation   AEP - OP      00140060788954271           Electric       Gov. Aggregation
AEP - CSP     00040621020271385           Electric       Gov. Aggregation   AEP - OP      00140060789101194           Electric       Gov. Aggregation
AEP - CSP     00040621020287791           Electric       Gov. Aggregation   AEP - OP      00140060789205945           Electric       Gov. Aggregation
AEP - CSP     00040621020319093           Electric       Gov. Aggregation   AEP - OP      00140060789293875           Electric       Gov. Aggregation
AEP - CSP     00040621024591140           Electric       Gov. Aggregation   AEP - OP      00140060789308555           Electric       Gov. Aggregation
AEP - CSP     00040621025185634           Electric       Gov. Aggregation   AEP - OP      00140060783382182           Electric       Gov. Aggregation
AEP - CSP     00040621025258264           Electric       Gov. Aggregation   AEP - OP      00140060783414634           Electric       Gov. Aggregation
AEP - CSP     00040621025277495           Electric       Gov. Aggregation   AEP - OP      00140060783512615           Electric       Gov. Aggregation
AEP - CSP     00040621025300345           Electric       Gov. Aggregation   AEP - OP      00140060783622504           Electric       Gov. Aggregation
AEP - CSP     00040621025407785           Electric       Gov. Aggregation   AEP - OP      00140060783829285           Electric       Gov. Aggregation
AEP - CSP     00040621021941834           Electric       Gov. Aggregation   AEP - OP      00140060783912692           Electric       Gov. Aggregation
AEP - CSP     00040621022004210           Electric       Gov. Aggregation   AEP - OP      00140060784010605           Electric       Gov. Aggregation
AEP - CSP     00040621022148682           Electric       Gov. Aggregation   AEP - OP      00140060795603894           Electric       Gov. Aggregation
AEP - CSP     00040621022152520           Electric       Gov. Aggregation   AEP - OP      00140060795621252           Electric       Gov. Aggregation
AEP - CSP     00040621022365481           Electric       Gov. Aggregation   AEP - OP      00140060795686280           Electric       Gov. Aggregation
AEP - CSP     00040621022493025           Electric       Gov. Aggregation   AEP - OP      00140060795745162           Electric       Gov. Aggregation
AEP - CSP     00040621029746025           Electric       Gov. Aggregation   AEP - OP      00140060795929950           Electric       Gov. Aggregation
AEP - CSP     00040621029846364           Electric       Gov. Aggregation   AEP - OP      00140060784081212           Electric       Gov. Aggregation
AEP - CSP     00040621029881200           Electric       Gov. Aggregation   AEP - OP      00140060784096585           Electric       Gov. Aggregation
AEP - CSP     00040621030081561           Electric       Gov. Aggregation   AEP - OP      00140060784099173           Electric       Gov. Aggregation
AEP - CSP     00040621030236364           Electric       Gov. Aggregation   AEP - OP      00140060784372932           Electric       Gov. Aggregation
AEP - CSP     00040621022080043           Electric       Gov. Aggregation   AEP - OP      00140060784375755           Electric       Gov. Aggregation
AEP - CSP     00040621022134243           Electric       Gov. Aggregation   AEP - OP      00140060784527004           Electric       Gov. Aggregation
AEP - CSP     00040621022317993           Electric       Gov. Aggregation   AEP - OP      00140060784607365           Electric       Gov. Aggregation
AEP - CSP     00040621022363280           Electric       Gov. Aggregation   AEP - OP      00140060789320474           Electric       Gov. Aggregation
AEP - CSP     00040621022450280           Electric       Gov. Aggregation   AEP - OP      00140060789345745           Electric       Gov. Aggregation
AEP - CSP     00040621022652313           Electric       Gov. Aggregation   AEP - OP      00140060789476324           Electric       Gov. Aggregation
AEP - CSP     00040621022692631           Electric       Gov. Aggregation   AEP - OP      00140060789683674           Electric       Gov. Aggregation
AEP - CSP     00040621016055125           Electric       Gov. Aggregation   AEP - OP      00140060789748723           Electric       Gov. Aggregation
AEP - CSP     00040621016141274           Electric       Gov. Aggregation   AEP - OP      00140060789751145           Electric       Gov. Aggregation
AEP - CSP     00040621016198442           Electric       Gov. Aggregation   AEP - OP      00140060789926643           Electric       Gov. Aggregation
AEP - CSP     00040621016392164           Electric       Gov. Aggregation   AEP - OP      00140060796296884           Electric       Gov. Aggregation
AEP - CSP     00040621016698305           Electric       Gov. Aggregation   AEP - OP      00140060796370085           Electric       Gov. Aggregation
AEP - CSP     00040621016987201           Electric       Gov. Aggregation   AEP - OP      00140060796410330           Electric       Gov. Aggregation
AEP - CSP     00040621017121945           Electric       Gov. Aggregation   AEP - OP      00140060796498682           Electric       Gov. Aggregation
AEP - CSP     00040621020357994           Electric       Gov. Aggregation   AEP - OP      00140060796717311           Electric       Gov. Aggregation
AEP - CSP     00040621020531185           Electric       Gov. Aggregation   AEP - OP      00140060796898405           Electric       Gov. Aggregation
AEP - CSP     00040621020549761           Electric       Gov. Aggregation   AEP - OP      00140060784618193           Electric       Gov. Aggregation
AEP - CSP     00040621020661452           Electric       Gov. Aggregation   AEP - OP      00140060784774194           Electric       Gov. Aggregation
AEP - CSP     00040621020951582           Electric       Gov. Aggregation   AEP - OP      00140060784864052           Electric       Gov. Aggregation
AEP - CSP     00040621020989174           Electric       Gov. Aggregation   AEP - OP      00140060784897690           Electric       Gov. Aggregation
AEP - CSP     00040621021087630           Electric       Gov. Aggregation   AEP - OP      00140060784983803           Electric       Gov. Aggregation
AEP - CSP     00040621025509024           Electric       Gov. Aggregation   AEP - OP      00140060793983692           Electric       Gov. Aggregation
AEP - CSP     00040621025536435           Electric       Gov. Aggregation   AEP - OP      00140060794122631           Electric       Gov. Aggregation
AEP - CSP     00040621025711854           Electric       Gov. Aggregation   AEP - OP      00140060794247460           Electric       Gov. Aggregation
AEP - CSP     00040621025786640           Electric       Gov. Aggregation   AEP - OP      00140060794410215           Electric       Gov. Aggregation
AEP - CSP     00040621025981122           Electric       Gov. Aggregation   AEP - OP      00140060794411131           Electric       Gov. Aggregation
AEP - CSP     00040621026045515           Electric       Gov. Aggregation   AEP - OP      00140060794529330           Electric       Gov. Aggregation
AEP - CSP     00040621026118234           Electric       Gov. Aggregation   AEP - OP      00140060776248784           Electric       Gov. Aggregation
AEP - CSP     00040621022845034           Electric       Gov. Aggregation   AEP - OP      00140060776446790           Electric       Gov. Aggregation
AEP - CSP     00040621022921353           Electric       Gov. Aggregation   AEP - OP      00140060776452463           Electric       Gov. Aggregation
AEP - CSP     00040621023070732           Electric       Gov. Aggregation   AEP - OP      00140060776487722           Electric       Gov. Aggregation
AEP - CSP     00040621023118294           Electric       Gov. Aggregation   AEP - OP      00140060776545913           Electric       Gov. Aggregation
AEP - CSP     00040621023156653           Electric       Gov. Aggregation   AEP - OP      00140060776563781           Electric       Gov. Aggregation
AEP - CSP     00040621023169802           Electric       Gov. Aggregation   AEP - OP      00140060776642382           Electric       Gov. Aggregation
AEP - CSP     00040621030365265           Electric       Gov. Aggregation   AEP - OP      00140060778218812           Electric       Gov. Aggregation
AEP - CSP     00040621030516874           Electric       Gov. Aggregation   AEP - OP      00140060778275751           Electric       Gov. Aggregation
AEP - CSP     00040621030628473           Electric       Gov. Aggregation   AEP - OP      00140060778277490           Electric       Gov. Aggregation
AEP - CSP     00040621030769144           Electric       Gov. Aggregation   AEP - OP      00140060778324525           Electric       Gov. Aggregation
AEP - CSP     00040621030780044           Electric       Gov. Aggregation   AEP - OP      00140060778355760           Electric       Gov. Aggregation
AEP - CSP     00040621030784561           Electric       Gov. Aggregation   AEP - OP      00140060778388582           Electric       Gov. Aggregation
AEP - CSP     00040621030833360           Electric       Gov. Aggregation   AEP - OP      00140060778452704           Electric       Gov. Aggregation
AEP - CSP     00040621019155932           Electric       Gov. Aggregation   AEP - OP      00140060779420030           Electric       Gov. Aggregation
AEP - CSP     00040621019180440           Electric       Gov. Aggregation   AEP - OP      00140060779467384           Electric       Gov. Aggregation
AEP - CSP     00040621019250324           Electric       Gov. Aggregation   AEP - OP      00140060779476784           Electric       Gov. Aggregation
AEP - CSP     00040621019434202           Electric       Gov. Aggregation   AEP - OP      00140060779512935           Electric       Gov. Aggregation
AEP - CSP     00040621019584222           Electric       Gov. Aggregation   AEP - OP      00140060779579095           Electric       Gov. Aggregation
AEP - CSP     00040621019717472           Electric       Gov. Aggregation   AEP - OP      00140060779580620           Electric       Gov. Aggregation
AEP - CSP     00040621019966874           Electric       Gov. Aggregation   AEP - OP      00140060779609273           Electric       Gov. Aggregation
AEP - CSP     00040621017134924           Electric       Gov. Aggregation   AEP - OP      00140060785010693           Electric       Gov. Aggregation
AEP - CSP     00040621017189675           Electric       Gov. Aggregation   AEP - OP      00140060785054672           Electric       Gov. Aggregation
AEP - CSP     00040621017263485           Electric       Gov. Aggregation   AEP - OP      00140060785095482           Electric       Gov. Aggregation
     Case 2:22-bk-50804                        Doc 155 Filed 04/08/22 Entered 04/08/22 16:29:21                                  Desc Main
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621017265702           Electric       Gov. Aggregation   AEP - OP      00140060785101133           Electric       Gov. Aggregation
AEP - CSP     00040621017391133           Electric       Gov. Aggregation   AEP - OP      00140060785132160           Electric       Gov. Aggregation
AEP - CSP     00040621017476975           Electric       Gov. Aggregation   AEP - OP      00140060785152093           Electric       Gov. Aggregation
AEP - CSP     00040621021102503           Electric       Gov. Aggregation   AEP - OP      00140060785177864           Electric       Gov. Aggregation
AEP - CSP     00040621021244555           Electric       Gov. Aggregation   AEP - OP      00140060794536000           Electric       Gov. Aggregation
AEP - CSP     00040621021358125           Electric       Gov. Aggregation   AEP - OP      00140060794865121           Electric       Gov. Aggregation
AEP - CSP     00040621021361831           Electric       Gov. Aggregation   AEP - OP      00140060794879022           Electric       Gov. Aggregation
AEP - CSP     00040621021377972           Electric       Gov. Aggregation   AEP - OP      00140060794888715           Electric       Gov. Aggregation
AEP - CSP     00040621021407125           Electric       Gov. Aggregation   AEP - OP      00140060795006530           Electric       Gov. Aggregation
AEP - CSP     00040621021481841           Electric       Gov. Aggregation   AEP - OP      00140060795085310           Electric       Gov. Aggregation
AEP - CSP     00040621026124305           Electric       Gov. Aggregation   AEP - OP      00140060795114351           Electric       Gov. Aggregation
AEP - CSP     00040621026166742           Electric       Gov. Aggregation   AEP - OP      00140060789968192           Electric       Gov. Aggregation
AEP - CSP     00040621026412840           Electric       Gov. Aggregation   AEP - OP      00140060789992905           Electric       Gov. Aggregation
AEP - CSP     00040621026414681           Electric       Gov. Aggregation   AEP - OP      00140060790116170           Electric       Gov. Aggregation
AEP - CSP     00040621026484871           Electric       Gov. Aggregation   AEP - OP      00140060790147820           Electric       Gov. Aggregation
AEP - CSP     00040621026606174           Electric       Gov. Aggregation   AEP - OP      00140060790196173           Electric       Gov. Aggregation
AEP - CSP     00040621026638570           Electric       Gov. Aggregation   AEP - OP      00140060790251574           Electric       Gov. Aggregation
AEP - CSP     00040621031032365           Electric       Gov. Aggregation   AEP - OP      00140060790630560           Electric       Gov. Aggregation
AEP - CSP     00040621031177171           Electric       Gov. Aggregation   AEP - OP      00140060776678745           Electric       Gov. Aggregation
AEP - CSP     00040621031457505           Electric       Gov. Aggregation   AEP - OP      00140060776737762           Electric       Gov. Aggregation
AEP - CSP     00040621031489743           Electric       Gov. Aggregation   AEP - OP      00140060776817481           Electric       Gov. Aggregation
AEP - CSP     00040621031901965           Electric       Gov. Aggregation   AEP - OP      00140060776907533           Electric       Gov. Aggregation
AEP - CSP     00040621032085854           Electric       Gov. Aggregation   AEP - OP      00140060776920941           Electric       Gov. Aggregation
AEP - CSP     00040621019989734           Electric       Gov. Aggregation   AEP - OP      00140060776950721           Electric       Gov. Aggregation
AEP - CSP     00040621020050545           Electric       Gov. Aggregation   AEP - OP      00140060777019805           Electric       Gov. Aggregation
AEP - CSP     00040621020124521           Electric       Gov. Aggregation   AEP - OP      00140060779645571           Electric       Gov. Aggregation
AEP - CSP     00040621020439505           Electric       Gov. Aggregation   AEP - OP      00140060779715862           Electric       Gov. Aggregation
AEP - CSP     00040621020462104           Electric       Gov. Aggregation   AEP - OP      00140060779805875           Electric       Gov. Aggregation
AEP - CSP     00040621020721783           Electric       Gov. Aggregation   AEP - OP      00140060779833713           Electric       Gov. Aggregation
AEP - CSP     00040621021016832           Electric       Gov. Aggregation   AEP - OP      00140060779848143           Electric       Gov. Aggregation
AEP - CSP     00040621023178314           Electric       Gov. Aggregation   AEP - OP      00140060779871375           Electric       Gov. Aggregation
AEP - CSP     00040621023411823           Electric       Gov. Aggregation   AEP - OP      00140060779961300           Electric       Gov. Aggregation
AEP - CSP     00040621023459212           Electric       Gov. Aggregation   AEP - OP      00140060778458341           Electric       Gov. Aggregation
AEP - CSP     00040621023596993           Electric       Gov. Aggregation   AEP - OP      00140060778531430           Electric       Gov. Aggregation
AEP - CSP     00040621023610391           Electric       Gov. Aggregation   AEP - OP      00140060778669611           Electric       Gov. Aggregation
AEP - CSP     00040621023661135           Electric       Gov. Aggregation   AEP - OP      00140060778992403           Electric       Gov. Aggregation
AEP - CSP     00040621024123423           Electric       Gov. Aggregation   AEP - OP      00140060779099543           Electric       Gov. Aggregation
AEP - CSP     00040621022515005           Electric       Gov. Aggregation   AEP - OP      00140060779216200           Electric       Gov. Aggregation
AEP - CSP     00040621022634395           Electric       Gov. Aggregation   AEP - OP      00140060779248672           Electric       Gov. Aggregation
AEP - CSP     00040621022643533           Electric       Gov. Aggregation   AEP - OP      00140060785246771           Electric       Gov. Aggregation
AEP - CSP     00040621022656843           Electric       Gov. Aggregation   AEP - OP      00140060785575423           Electric       Gov. Aggregation
AEP - CSP     00040621022968742           Electric       Gov. Aggregation   AEP - OP      00140060785629493           Electric       Gov. Aggregation
AEP - CSP     00040621023016134           Electric       Gov. Aggregation   AEP - OP      00140060785773005           Electric       Gov. Aggregation
AEP - CSP     00040621023036505           Electric       Gov. Aggregation   AEP - OP      00140060785777823           Electric       Gov. Aggregation
AEP - CSP     00040621023106624           Electric       Gov. Aggregation   AEP - OP      00140060785885125           Electric       Gov. Aggregation
AEP - CSP     00040621023116983           Electric       Gov. Aggregation   AEP - OP      00140060786068855           Electric       Gov. Aggregation
AEP - CSP     00040621023294790           Electric       Gov. Aggregation   AEP - OP      00140060795148745           Electric       Gov. Aggregation
AEP - CSP     00040621023383404           Electric       Gov. Aggregation   AEP - OP      00140060795179445           Electric       Gov. Aggregation
AEP - CSP     00040621023395751           Electric       Gov. Aggregation   AEP - OP      00140060795361573           Electric       Gov. Aggregation
AEP - CSP     00040621023437684           Electric       Gov. Aggregation   AEP - OP      00140060795370321           Electric       Gov. Aggregation
AEP - CSP     00040621023450800           Electric       Gov. Aggregation   AEP - OP      00140060795485634           Electric       Gov. Aggregation
AEP - CSP     00040621017533871           Electric       Gov. Aggregation   AEP - OP      00140060795510414           Electric       Gov. Aggregation
AEP - CSP     00040621017548823           Electric       Gov. Aggregation   AEP - OP      00140060795545233           Electric       Gov. Aggregation
AEP - CSP     00040621017683550           Electric       Gov. Aggregation   AEP - OP      00140060790774363           Electric       Gov. Aggregation
AEP - CSP     00040621017732473           Electric       Gov. Aggregation   AEP - OP      00140060790778453           Electric       Gov. Aggregation
AEP - CSP     00040621018058065           Electric       Gov. Aggregation   AEP - OP      00140060790836525           Electric       Gov. Aggregation
AEP - CSP     00040621018177563           Electric       Gov. Aggregation   AEP - OP      00140060790882911           Electric       Gov. Aggregation
AEP - CSP     00040621018264830           Electric       Gov. Aggregation   AEP - OP      00140060790967012           Electric       Gov. Aggregation
AEP - CSP     00040621021522680           Electric       Gov. Aggregation   AEP - OP      00140060791066845           Electric       Gov. Aggregation
AEP - CSP     00040621021697183           Electric       Gov. Aggregation   AEP - OP      00140060779969641           Electric       Gov. Aggregation
AEP - CSP     00040621021749235           Electric       Gov. Aggregation   AEP - OP      00140060780011340           Electric       Gov. Aggregation
AEP - CSP     00040621021832661           Electric       Gov. Aggregation   AEP - OP      00140060780185542           Electric       Gov. Aggregation
AEP - CSP     00040621021958041           Electric       Gov. Aggregation   AEP - OP      00140060780312731           Electric       Gov. Aggregation
AEP - CSP     00040621021965111           Electric       Gov. Aggregation   AEP - OP      00140060780327725           Electric       Gov. Aggregation
AEP - CSP     00040621022053502           Electric       Gov. Aggregation   AEP - OP      00140060780361154           Electric       Gov. Aggregation
AEP - CSP     00040621026665985           Electric       Gov. Aggregation   AEP - OP      00140060779277782           Electric       Gov. Aggregation
AEP - CSP     00040621026749592           Electric       Gov. Aggregation   AEP - OP      00140060779512532           Electric       Gov. Aggregation
AEP - CSP     00040621026782420           Electric       Gov. Aggregation   AEP - OP      00140060779519034           Electric       Gov. Aggregation
AEP - CSP     00040621026858470           Electric       Gov. Aggregation   AEP - OP      00140060779687475           Electric       Gov. Aggregation
AEP - CSP     00040621027019363           Electric       Gov. Aggregation   AEP - OP      00140060779700324           Electric       Gov. Aggregation
AEP - CSP     00040621027139923           Electric       Gov. Aggregation   AEP - OP      00140060779756751           Electric       Gov. Aggregation
AEP - CSP     00040621027193991           Electric       Gov. Aggregation   AEP - OP      00140060786331505           Electric       Gov. Aggregation
AEP - CSP     00040621032178185           Electric       Gov. Aggregation   AEP - OP      00140060786359254           Electric       Gov. Aggregation
AEP - CSP     00040621032410784           Electric       Gov. Aggregation   AEP - OP      00140060786405100           Electric       Gov. Aggregation
AEP - CSP     00040621032849850           Electric       Gov. Aggregation   AEP - OP      00140060786449185           Electric       Gov. Aggregation
AEP - CSP     00040621032980885           Electric       Gov. Aggregation   AEP - OP      00140060786534680           Electric       Gov. Aggregation
AEP - CSP     00040621033138132           Electric       Gov. Aggregation   AEP - OP      00140060786692380           Electric       Gov. Aggregation
AEP - CSP     00040621021093671           Electric       Gov. Aggregation   AEP - OP      00140060795678375           Electric       Gov. Aggregation
AEP - CSP     00040621021215074           Electric       Gov. Aggregation   AEP - OP      00140060795725043           Electric       Gov. Aggregation
AEP - CSP     00040621021517881           Electric       Gov. Aggregation   AEP - OP      00140060795761514           Electric       Gov. Aggregation
AEP - CSP     00040621021817080           Electric       Gov. Aggregation   AEP - OP      00140060795778900           Electric       Gov. Aggregation
AEP - CSP     00040621022000364           Electric       Gov. Aggregation   AEP - OP      00140060795836832           Electric       Gov. Aggregation
AEP - CSP     00040621023222941           Electric       Gov. Aggregation   AEP - OP      00140060795846562           Electric       Gov. Aggregation
AEP - CSP     00040621023244923           Electric       Gov. Aggregation   AEP - OP      00140060795868685           Electric       Gov. Aggregation
AEP - CSP     00040621023282563           Electric       Gov. Aggregation   AEP - OP      00140060791162721           Electric       Gov. Aggregation
AEP - CSP     00040621023316780           Electric       Gov. Aggregation   AEP - OP      00140060791188365           Electric       Gov. Aggregation
AEP - CSP     00040621023336243           Electric       Gov. Aggregation   AEP - OP      00140060791479492           Electric       Gov. Aggregation
AEP - CSP     00040621023337630           Electric       Gov. Aggregation   AEP - OP      00140060791546623           Electric       Gov. Aggregation
AEP - CSP     00040621023399910           Electric       Gov. Aggregation   AEP - OP      00140060791611631           Electric       Gov. Aggregation
AEP - CSP     00040621024167334           Electric       Gov. Aggregation   AEP - OP      00140060780370164           Electric       Gov. Aggregation
     Case 2:22-bk-50804                        Doc 155 Filed 04/08/22 Entered 04/08/22 16:29:21                                  Desc Main
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621024358524           Electric       Gov. Aggregation   AEP - OP      00140060780389690           Electric       Gov. Aggregation
AEP - CSP     00040621024396145           Electric       Gov. Aggregation   AEP - OP      00140060780402261           Electric       Gov. Aggregation
AEP - CSP     00040621024398413           Electric       Gov. Aggregation   AEP - OP      00140060780494331           Electric       Gov. Aggregation
AEP - CSP     00040621024428695           Electric       Gov. Aggregation   AEP - OP      00140060780776012           Electric       Gov. Aggregation
AEP - CSP     00040621024661665           Electric       Gov. Aggregation   AEP - OP      00140060780871004           Electric       Gov. Aggregation
AEP - CSP     00040621023524695           Electric       Gov. Aggregation   AEP - OP      00140060781030911           Electric       Gov. Aggregation
AEP - CSP     00040621023633795           Electric       Gov. Aggregation   AEP - OP      00140060786710211           Electric       Gov. Aggregation
AEP - CSP     00040621023661503           Electric       Gov. Aggregation   AEP - OP      00140060786846004           Electric       Gov. Aggregation
AEP - CSP     00040621023935270           Electric       Gov. Aggregation   AEP - OP      00140060786890863           Electric       Gov. Aggregation
AEP - CSP     00040621024078380           Electric       Gov. Aggregation   AEP - OP      00140060786974165           Electric       Gov. Aggregation
AEP - CSP     00040621024459800           Electric       Gov. Aggregation   AEP - OP      00140060787054640           Electric       Gov. Aggregation
AEP - CSP     00040621018271864           Electric       Gov. Aggregation   AEP - OP      00140060787064293           Electric       Gov. Aggregation
AEP - CSP     00040621018463571           Electric       Gov. Aggregation   AEP - OP      00140060787133112           Electric       Gov. Aggregation
AEP - CSP     00040621018492275           Electric       Gov. Aggregation   AEP - OP      00140060795901683           Electric       Gov. Aggregation
AEP - CSP     00040621018647824           Electric       Gov. Aggregation   AEP - OP      00140060795998981           Electric       Gov. Aggregation
AEP - CSP     00040621018677834           Electric       Gov. Aggregation   AEP - OP      00140060796104471           Electric       Gov. Aggregation
AEP - CSP     00040621018726853           Electric       Gov. Aggregation   AEP - OP      00140060796163293           Electric       Gov. Aggregation
AEP - CSP     00040621018937531           Electric       Gov. Aggregation   AEP - OP      00140060796169343           Electric       Gov. Aggregation
AEP - CSP     00040621022139532           Electric       Gov. Aggregation   AEP - OP      00140060796238061           Electric       Gov. Aggregation
AEP - CSP     00040621022224871           Electric       Gov. Aggregation   AEP - OP      00140060796351840           Electric       Gov. Aggregation
AEP - CSP     00040621022289872           Electric       Gov. Aggregation   AEP - OP      00140060779809861           Electric       Gov. Aggregation
AEP - CSP     00040621022333714           Electric       Gov. Aggregation   AEP - OP      00140060779948482           Electric       Gov. Aggregation
AEP - CSP     00040621022413183           Electric       Gov. Aggregation   AEP - OP      00140060780003382           Electric       Gov. Aggregation
AEP - CSP     00040621022416791           Electric       Gov. Aggregation   AEP - OP      00140060780127692           Electric       Gov. Aggregation
AEP - CSP     00040621022467834           Electric       Gov. Aggregation   AEP - OP      00140060780144240           Electric       Gov. Aggregation
AEP - CSP     00040621033242993           Electric       Gov. Aggregation   AEP - OP      00140060780183555           Electric       Gov. Aggregation
AEP - CSP     00040621033412322           Electric       Gov. Aggregation   AEP - OP      00140060791630421           Electric       Gov. Aggregation
AEP - CSP     00040621033450930           Electric       Gov. Aggregation   AEP - OP      00140060791739794           Electric       Gov. Aggregation
AEP - CSP     00040621033455753           Electric       Gov. Aggregation   AEP - OP      00140060791768681           Electric       Gov. Aggregation
AEP - CSP     00040621033476644           Electric       Gov. Aggregation   AEP - OP      00140060791789195           Electric       Gov. Aggregation
AEP - CSP     00040621033585390           Electric       Gov. Aggregation   AEP - OP      00140060791817364           Electric       Gov. Aggregation
AEP - CSP     00040621033600092           Electric       Gov. Aggregation   AEP - OP      00140060791848242           Electric       Gov. Aggregation
AEP - CSP     00040621022250551           Electric       Gov. Aggregation   AEP - OP      00140060791892545           Electric       Gov. Aggregation
AEP - CSP     00040621022480240           Electric       Gov. Aggregation   AEP - OP      00140060781099150           Electric       Gov. Aggregation
AEP - CSP     00040621022521793           Electric       Gov. Aggregation   AEP - OP      00140060781184934           Electric       Gov. Aggregation
AEP - CSP     00040621022530032           Electric       Gov. Aggregation   AEP - OP      00140060781239324           Electric       Gov. Aggregation
AEP - CSP     00040621022587571           Electric       Gov. Aggregation   AEP - OP      00140060781372672           Electric       Gov. Aggregation
AEP - CSP     00040621022610184           Electric       Gov. Aggregation   AEP - OP      00140060781374913           Electric       Gov. Aggregation
AEP - CSP     00040621022677162           Electric       Gov. Aggregation   AEP - OP      00140060781444480           Electric       Gov. Aggregation
AEP - CSP     00040621023420010           Electric       Gov. Aggregation   AEP - OP      00140060781488793           Electric       Gov. Aggregation
AEP - CSP     00040621023462944           Electric       Gov. Aggregation   AEP - OP      00140060787190343           Electric       Gov. Aggregation
AEP - CSP     00040621023683123           Electric       Gov. Aggregation   AEP - OP      00140060787289583           Electric       Gov. Aggregation
AEP - CSP     00040621023749344           Electric       Gov. Aggregation   AEP - OP      00140060787415483           Electric       Gov. Aggregation
AEP - CSP     00040621023862661           Electric       Gov. Aggregation   AEP - OP      00140060787464780           Electric       Gov. Aggregation
AEP - CSP     00040621023915511           Electric       Gov. Aggregation   AEP - OP      00140060787484571           Electric       Gov. Aggregation
AEP - CSP     00040621023919725           Electric       Gov. Aggregation   AEP - OP      00140060787493105           Electric       Gov. Aggregation
AEP - CSP     00040621024581595           Electric       Gov. Aggregation   AEP - OP      00140060796483685           Electric       Gov. Aggregation
AEP - CSP     00040621024662382           Electric       Gov. Aggregation   AEP - OP      00140060796594175           Electric       Gov. Aggregation
AEP - CSP     00040621024683223           Electric       Gov. Aggregation   AEP - OP      00140060796640292           Electric       Gov. Aggregation
AEP - CSP     00040621024728442           Electric       Gov. Aggregation   AEP - OP      00140060796711882           Electric       Gov. Aggregation
AEP - CSP     00040621024768131           Electric       Gov. Aggregation   AEP - OP      00140060796749415           Electric       Gov. Aggregation
AEP - CSP     00040621024781743           Electric       Gov. Aggregation   AEP - OP      00140060796890574           Electric       Gov. Aggregation
AEP - CSP     00040621024798501           Electric       Gov. Aggregation   AEP - OP      00140060796910711           Electric       Gov. Aggregation
AEP - CSP     00040621024832391           Electric       Gov. Aggregation   AEP - OP      00140060777089690           Electric       Gov. Aggregation
AEP - CSP     00040621025230694           Electric       Gov. Aggregation   AEP - OP      00140060777127122           Electric       Gov. Aggregation
AEP - CSP     00040621025294565           Electric       Gov. Aggregation   AEP - OP      00140060777379883           Electric       Gov. Aggregation
AEP - CSP     00040621025315130           Electric       Gov. Aggregation   AEP - OP      00140060777406503           Electric       Gov. Aggregation
AEP - CSP     00040621025395634           Electric       Gov. Aggregation   AEP - OP      00140060777509155           Electric       Gov. Aggregation
AEP - CSP     00040621025511411           Electric       Gov. Aggregation   AEP - OP      00140060777848260           Electric       Gov. Aggregation
AEP - CSP     00040621018978582           Electric       Gov. Aggregation   AEP - OP      00140060777909012           Electric       Gov. Aggregation
AEP - CSP     00040621019048445           Electric       Gov. Aggregation   AEP - OP      00140060791930581           Electric       Gov. Aggregation
AEP - CSP     00040621019218050           Electric       Gov. Aggregation   AEP - OP      00140060792007240           Electric       Gov. Aggregation
AEP - CSP     00040621019319031           Electric       Gov. Aggregation   AEP - OP      00140060792018864           Electric       Gov. Aggregation
AEP - CSP     00040621019367091           Electric       Gov. Aggregation   AEP - OP      00140060792057051           Electric       Gov. Aggregation
AEP - CSP     00040621019387843           Electric       Gov. Aggregation   AEP - OP      00140060792111824           Electric       Gov. Aggregation
AEP - CSP     00040621024828002           Electric       Gov. Aggregation   AEP - OP      00140060792148781           Electric       Gov. Aggregation
AEP - CSP     00040621024868975           Electric       Gov. Aggregation   AEP - OP      00140060792184314           Electric       Gov. Aggregation
AEP - CSP     00040621025187951           Electric       Gov. Aggregation   AEP - OP      00140060780249552           Electric       Gov. Aggregation
AEP - CSP     00040621025256475           Electric       Gov. Aggregation   AEP - OP      00140060780292962           Electric       Gov. Aggregation
AEP - CSP     00040621025285190           Electric       Gov. Aggregation   AEP - OP      00140060780549393           Electric       Gov. Aggregation
AEP - CSP     00040621022658172           Electric       Gov. Aggregation   AEP - OP      00140060780607241           Electric       Gov. Aggregation
AEP - CSP     00040621022864994           Electric       Gov. Aggregation   AEP - OP      00140060780802194           Electric       Gov. Aggregation
AEP - CSP     00040621023073815           Electric       Gov. Aggregation   AEP - OP      00140060780830063           Electric       Gov. Aggregation
AEP - CSP     00040621023104614           Electric       Gov. Aggregation   AEP - OP      00140060796923702           Electric       Gov. Aggregation
AEP - CSP     00040621023174162           Electric       Gov. Aggregation   AEP - OP      00140060796948301           Electric       Gov. Aggregation
AEP - CSP     00040621023174723           Electric       Gov. Aggregation   AEP - OP      00140060797196023           Electric       Gov. Aggregation
AEP - CSP     00040621023178664           Electric       Gov. Aggregation   AEP - OP      00140060797265262           Electric       Gov. Aggregation
AEP - CSP     00040621025310830           Electric       Gov. Aggregation   AEP - OP      00140060797349284           Electric       Gov. Aggregation
AEP - CSP     00040621025385244           Electric       Gov. Aggregation   AEP - OP      00140060797394922           Electric       Gov. Aggregation
AEP - CSP     00040621025419595           Electric       Gov. Aggregation   AEP - OP      00140060797410693           Electric       Gov. Aggregation
AEP - CSP     00040621025543211           Electric       Gov. Aggregation   AEP - OP      00140060781592464           Electric       Gov. Aggregation
AEP - CSP     00040621025705474           Electric       Gov. Aggregation   AEP - OP      00140060781605662           Electric       Gov. Aggregation
AEP - CSP     00040621025811651           Electric       Gov. Aggregation   AEP - OP      00140060781736883           Electric       Gov. Aggregation
AEP - CSP     00040621025841111           Electric       Gov. Aggregation   AEP - OP      00140060781800013           Electric       Gov. Aggregation
AEP - CSP     00040621022841074           Electric       Gov. Aggregation   AEP - OP      00140060781954030           Electric       Gov. Aggregation
AEP - CSP     00040621022866112           Electric       Gov. Aggregation   AEP - OP      00140060782047410           Electric       Gov. Aggregation
AEP - CSP     00040621023127235           Electric       Gov. Aggregation   AEP - OP      00140060796934770           Electric       Gov. Aggregation
AEP - CSP     00040621023364693           Electric       Gov. Aggregation   AEP - OP      00140060797027471           Electric       Gov. Aggregation
AEP - CSP     00040621023449852           Electric       Gov. Aggregation   AEP - OP      00140060797169300           Electric       Gov. Aggregation
AEP - CSP     00040621023505985           Electric       Gov. Aggregation   AEP - OP      00140060797204921           Electric       Gov. Aggregation
     Case 2:22-bk-50804                        Doc 155 Filed 04/08/22 Entered 04/08/22 16:29:21                                  Desc Main
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621023594364           Electric       Gov. Aggregation   AEP - OP      00140060797417480           Electric       Gov. Aggregation
AEP - CSP     00040621024022891           Electric       Gov. Aggregation   AEP - OP      00140060797458083           Electric       Gov. Aggregation
AEP - CSP     00040621024173570           Electric       Gov. Aggregation   AEP - OP      00140060797632934           Electric       Gov. Aggregation
AEP - CSP     00040621024499253           Electric       Gov. Aggregation   AEP - OP      00140060787576255           Electric       Gov. Aggregation
AEP - CSP     00040621024606921           Electric       Gov. Aggregation   AEP - OP      00140060787641185           Electric       Gov. Aggregation
AEP - CSP     00040621024696410           Electric       Gov. Aggregation   AEP - OP      00140060787658133           Electric       Gov. Aggregation
AEP - CSP     00040621024800802           Electric       Gov. Aggregation   AEP - OP      00140060787794101           Electric       Gov. Aggregation
AEP - CSP     00040621025006475           Electric       Gov. Aggregation   AEP - OP      00140060787812835           Electric       Gov. Aggregation
AEP - CSP     00040621025562344           Electric       Gov. Aggregation   AEP - OP      00140060787816500           Electric       Gov. Aggregation
AEP - CSP     00040621025607290           Electric       Gov. Aggregation   AEP - OP      00140060787939660           Electric       Gov. Aggregation
AEP - CSP     00040621025624204           Electric       Gov. Aggregation   AEP - OP      00140060792209360           Electric       Gov. Aggregation
AEP - CSP     00040621025770362           Electric       Gov. Aggregation   AEP - OP      00140060792563984           Electric       Gov. Aggregation
AEP - CSP     00040621025841355           Electric       Gov. Aggregation   AEP - OP      00140060792687605           Electric       Gov. Aggregation
AEP - CSP     00040621025937143           Electric       Gov. Aggregation   AEP - OP      00140060792793183           Electric       Gov. Aggregation
AEP - CSP     00040621026068780           Electric       Gov. Aggregation   AEP - OP      00140060792804660           Electric       Gov. Aggregation
AEP - CSP     00040621026114833           Electric       Gov. Aggregation   AEP - OP      00140060792837574           Electric       Gov. Aggregation
AEP - CSP     00040621026210633           Electric       Gov. Aggregation   AEP - OP      00140060792841592           Electric       Gov. Aggregation
AEP - CSP     00040621026585144           Electric       Gov. Aggregation   AEP - OP      00140060781073211           Electric       Gov. Aggregation
AEP - CSP     00040621026598101           Electric       Gov. Aggregation   AEP - OP      00140060781074473           Electric       Gov. Aggregation
AEP - CSP     00040621026622713           Electric       Gov. Aggregation   AEP - OP      00140060781082060           Electric       Gov. Aggregation
AEP - CSP     00040621026765503           Electric       Gov. Aggregation   AEP - OP      00140060781155490           Electric       Gov. Aggregation
AEP - CSP     00040621026915401           Electric       Gov. Aggregation   AEP - OP      00140060781219861           Electric       Gov. Aggregation
AEP - CSP     00040621019453733           Electric       Gov. Aggregation   AEP - OP      00140060781253353           Electric       Gov. Aggregation
AEP - CSP     00040621019463474           Electric       Gov. Aggregation   AEP - OP      00140060781258885           Electric       Gov. Aggregation
AEP - CSP     00040621019474582           Electric       Gov. Aggregation   AEP - OP      00140060797656063           Electric       Gov. Aggregation
AEP - CSP     00040621019538425           Electric       Gov. Aggregation   AEP - OP      00140060797749612           Electric       Gov. Aggregation
AEP - CSP     00040621019723185           Electric       Gov. Aggregation   AEP - OP      00140060797956645           Electric       Gov. Aggregation
AEP - CSP     00040621019835493           Electric       Gov. Aggregation   AEP - OP      00140060798190221           Electric       Gov. Aggregation
AEP - CSP     00040621019864672           Electric       Gov. Aggregation   AEP - OP      00140060798216882           Electric       Gov. Aggregation
AEP - CSP     00040621027308755           Electric       Gov. Aggregation   AEP - OP      00140060798277235           Electric       Gov. Aggregation
AEP - CSP     00040621027401783           Electric       Gov. Aggregation   AEP - OP      00140060798294645           Electric       Gov. Aggregation
AEP - CSP     00040621027502194           Electric       Gov. Aggregation   AEP - OP      00140060797892304           Electric       Gov. Aggregation
AEP - CSP     00040621027546520           Electric       Gov. Aggregation   AEP - OP      00140060798012061           Electric       Gov. Aggregation
AEP - CSP     00040621027597425           Electric       Gov. Aggregation   AEP - OP      00140060798026912           Electric       Gov. Aggregation
AEP - CSP     00040621027723990           Electric       Gov. Aggregation   AEP - OP      00140060798089954           Electric       Gov. Aggregation
AEP - CSP     00040621025182312           Electric       Gov. Aggregation   AEP - OP      00140060798194274           Electric       Gov. Aggregation
AEP - CSP     00040621025745330           Electric       Gov. Aggregation   AEP - OP      00140060798479385           Electric       Gov. Aggregation
AEP - CSP     00040621025934004           Electric       Gov. Aggregation   AEP - OP      00140060798554971           Electric       Gov. Aggregation
AEP - CSP     00040621025982911           Electric       Gov. Aggregation   AEP - OP      00140060782066003           Electric       Gov. Aggregation
AEP - CSP     00040621025997485           Electric       Gov. Aggregation   AEP - OP      00140060782141501           Electric       Gov. Aggregation
AEP - CSP     00040621026004205           Electric       Gov. Aggregation   AEP - OP      00140060782239392           Electric       Gov. Aggregation
AEP - CSP     00040621026017255           Electric       Gov. Aggregation   AEP - OP      00140060782277664           Electric       Gov. Aggregation
AEP - CSP     00040621023257920           Electric       Gov. Aggregation   AEP - OP      00140060782523314           Electric       Gov. Aggregation
AEP - CSP     00040621023369693           Electric       Gov. Aggregation   AEP - OP      00140060782569913           Electric       Gov. Aggregation
AEP - CSP     00040621023544630           Electric       Gov. Aggregation   AEP - OP      00140060782675871           Electric       Gov. Aggregation
AEP - CSP     00040621023549751           Electric       Gov. Aggregation   AEP - OP      00140060782683082           Electric       Gov. Aggregation
AEP - CSP     00040621023703732           Electric       Gov. Aggregation   AEP - OP      00140060782690592           Electric       Gov. Aggregation
AEP - CSP     00040621023766815           Electric       Gov. Aggregation   AEP - OP      00140060782774300           Electric       Gov. Aggregation
AEP - CSP     00040621023829661           Electric       Gov. Aggregation   AEP - OP      00140060782810095           Electric       Gov. Aggregation
AEP - CSP     00040621026097712           Electric       Gov. Aggregation   AEP - OP      00140060782821781           Electric       Gov. Aggregation
AEP - CSP     00040621026251842           Electric       Gov. Aggregation   AEP - OP      00140060782862134           Electric       Gov. Aggregation
AEP - CSP     00040621026253853           Electric       Gov. Aggregation   AEP - OP      00140060783049693           Electric       Gov. Aggregation
AEP - CSP     00040621026330954           Electric       Gov. Aggregation   AEP - OP      00140060788066770           Electric       Gov. Aggregation
AEP - CSP     00040621026414155           Electric       Gov. Aggregation   AEP - OP      00140060788098072           Electric       Gov. Aggregation
AEP - CSP     00040621026426221           Electric       Gov. Aggregation   AEP - OP      00140060788375672           Electric       Gov. Aggregation
AEP - CSP     00040621026428004           Electric       Gov. Aggregation   AEP - OP      00140060788464571           Electric       Gov. Aggregation
AEP - CSP     00040621026921562           Electric       Gov. Aggregation   AEP - OP      00140060788592361           Electric       Gov. Aggregation
AEP - CSP     00040621027057753           Electric       Gov. Aggregation   AEP - OP      00140060788655525           Electric       Gov. Aggregation
AEP - CSP     00040621027114775           Electric       Gov. Aggregation   AEP - OP      00140060788701725           Electric       Gov. Aggregation
AEP - CSP     00040621027150954           Electric       Gov. Aggregation   AEP - OP      00140060777911844           Electric       Gov. Aggregation
AEP - CSP     00040621027199003           Electric       Gov. Aggregation   AEP - OP      00140060778000000           Electric       Gov. Aggregation
AEP - CSP     00040621027254421           Electric       Gov. Aggregation   AEP - OP      00140060778040075           Electric       Gov. Aggregation
AEP - CSP     00040621027276370           Electric       Gov. Aggregation   AEP - OP      00140060778070184           Electric       Gov. Aggregation
AEP - CSP     00040621020260744           Electric       Gov. Aggregation   AEP - OP      00140060778078693           Electric       Gov. Aggregation
AEP - CSP     00040621020367350           Electric       Gov. Aggregation   AEP - OP      00140060778148130           Electric       Gov. Aggregation
AEP - CSP     00040621020391840           Electric       Gov. Aggregation   AEP - OP      00140060778207200           Electric       Gov. Aggregation
AEP - CSP     00040621020444010           Electric       Gov. Aggregation   AEP - OP      00140060792942445           Electric       Gov. Aggregation
AEP - CSP     00040621020478615           Electric       Gov. Aggregation   AEP - OP      00140060792966375           Electric       Gov. Aggregation
AEP - CSP     00040621023655523           Electric       Gov. Aggregation   AEP - OP      00140060792978742           Electric       Gov. Aggregation
AEP - CSP     00040621023700861           Electric       Gov. Aggregation   AEP - OP      00140060793185473           Electric       Gov. Aggregation
AEP - CSP     00040621023752370           Electric       Gov. Aggregation   AEP - OP      00140060793186514           Electric       Gov. Aggregation
AEP - CSP     00040621023894080           Electric       Gov. Aggregation   AEP - OP      00140060793293533           Electric       Gov. Aggregation
AEP - CSP     00040621024041890           Electric       Gov. Aggregation   AEP - OP      00140060793394643           Electric       Gov. Aggregation
AEP - CSP     00040621024148300           Electric       Gov. Aggregation   AEP - OP      00140060781272275           Electric       Gov. Aggregation
AEP - CSP     00040621024172410           Electric       Gov. Aggregation   AEP - OP      00140060781280883           Electric       Gov. Aggregation
AEP - CSP     00040621027743145           Electric       Gov. Aggregation   AEP - OP      00140060781336010           Electric       Gov. Aggregation
AEP - CSP     00040621027776824           Electric       Gov. Aggregation   AEP - OP      00140060781386673           Electric       Gov. Aggregation
AEP - CSP     00040621027837785           Electric       Gov. Aggregation   AEP - OP      00140060781440444           Electric       Gov. Aggregation
AEP - CSP     00040621027871384           Electric       Gov. Aggregation   AEP - OP      00140060781479245           Electric       Gov. Aggregation
AEP - CSP     00040621028025190           Electric       Gov. Aggregation   AEP - OP      00140060781544283           Electric       Gov. Aggregation
AEP - CSP     00040621028084165           Electric       Gov. Aggregation   AEP - OP      00140060798321420           Electric       Gov. Aggregation
AEP - CSP     00040621028184714           Electric       Gov. Aggregation   AEP - OP      00140060798499991           Electric       Gov. Aggregation
AEP - CSP     00040621033609254           Electric       Gov. Aggregation   AEP - OP      00140060798552230           Electric       Gov. Aggregation
AEP - CSP     00040621033782403           Electric       Gov. Aggregation   AEP - OP      00140060798707285           Electric       Gov. Aggregation
AEP - CSP     00040621033826581           Electric       Gov. Aggregation   AEP - OP      00140060798720694           Electric       Gov. Aggregation
AEP - CSP     00040621034005102           Electric       Gov. Aggregation   AEP - OP      00140060798871003           Electric       Gov. Aggregation
AEP - CSP     00040621034013275           Electric       Gov. Aggregation   AEP - OP      00140060799026234           Electric       Gov. Aggregation
AEP - CSP     00040621034097780           Electric       Gov. Aggregation   AEP - OP      00140060798632922           Electric       Gov. Aggregation
AEP - CSP     00040621034374525           Electric       Gov. Aggregation   AEP - OP      00140060798637822           Electric       Gov. Aggregation
AEP - CSP     00040621026064851           Electric       Gov. Aggregation   AEP - OP      00140060798878544           Electric       Gov. Aggregation
     Case 2:22-bk-50804                        Doc 155 Filed 04/08/22 Entered 04/08/22 16:29:21                                    Desc Main
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    Utility      Utility Account Number      Commodity      Customer Type         Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621026108804           Electric       Gov. Aggregation   AEP - OP        00140060799032025           Electric       Gov. Aggregation
AEP - CSP     00040621026153120           Electric       Gov. Aggregation   AEP - OP        00140060799110350           Electric       Gov. Aggregation
AEP - CSP     00040621026309072           Electric       Gov. Aggregation   AEP - OP        00140060799120535           Electric       Gov. Aggregation
AEP - CSP     00040621026329350           Electric       Gov. Aggregation   AEP - OP        00140060778294141           Electric       Gov. Aggregation
AEP - CSP     00040621026687963           Electric       Gov. Aggregation   AEP - OP        00140060778301261           Electric       Gov. Aggregation
AEP - CSP     00040621023840462           Electric       Gov. Aggregation   AEP - OP        00140060778311520           Electric       Gov. Aggregation
AEP - CSP     00040621024187713           Electric       Gov. Aggregation   AEP - OP        00140060778328354           Electric       Gov. Aggregation
AEP - CSP     00040621024242402           Electric       Gov. Aggregation   AEP - OP        00140060778342354           Electric       Gov. Aggregation
AEP - CSP     00040621024257763           Electric       Gov. Aggregation   AEP - OP        00140060778372110           Electric       Gov. Aggregation
AEP - CSP     00040621024258954           Electric       Gov. Aggregation   AEP - OP        00140060778453522           Electric       Gov. Aggregation
AEP - CSP     00040621024261003           Electric       Gov. Aggregation   AEP - OP        00140060788750952           Electric       Gov. Aggregation
AEP - CSP     00040621024291710           Electric       Gov. Aggregation   AEP - OP        00140060788763320           Electric       Gov. Aggregation
AEP - CSP     00040621027491230           Electric       Gov. Aggregation   AEP - OP        00140060788785412           Electric       Gov. Aggregation
AEP - CSP     00040621027516494           Electric       Gov. Aggregation   AEP - OP        00140060788786225           Electric       Gov. Aggregation
AEP - CSP     00040621027585325           Electric       Gov. Aggregation   AEP - OP        00140060788788151           Electric       Gov. Aggregation
AEP - CSP     00040621027684023           Electric       Gov. Aggregation   AEP - OP        00140060788833692           Electric       Gov. Aggregation
AEP - CSP     00040621027702905           Electric       Gov. Aggregation   AEP - OP        00140060788900973           Electric       Gov. Aggregation
AEP - CSP     00040621027714573           Electric       Gov. Aggregation   AEP - OP        00140060793411232           Electric       Gov. Aggregation
AEP - CSP     00040621027938092           Electric       Gov. Aggregation   AEP - OP        00140060793487280           Electric       Gov. Aggregation
AEP - CSP     00040621026750182           Electric       Gov. Aggregation   AEP - OP        00140060793541565           Electric       Gov. Aggregation
AEP - CSP     00040621026778843           Electric       Gov. Aggregation   AEP - OP        00140060793606685           Electric       Gov. Aggregation
AEP - CSP     00040621026810042           Electric       Gov. Aggregation   AEP - OP        00140060793661922           Electric       Gov. Aggregation
AEP - CSP     00040621027126020           Electric       Gov. Aggregation   AEP - OP        00140060793778735           Electric       Gov. Aggregation
AEP - CSP     00040621027212251           Electric       Gov. Aggregation   AEP - OP        00140060799057180           Electric       Gov. Aggregation
AEP - CSP     00040621027237181           Electric       Gov. Aggregation   AEP - OP        00140060799205994           Electric       Gov. Aggregation
AEP - CSP     00040621027267634           Electric       Gov. Aggregation   AEP - OP        00140060799226565           Electric       Gov. Aggregation
AEP - CSP     00040621028227625           Electric       Gov. Aggregation   AEP - OP        00140060799231901           Electric       Gov. Aggregation
AEP - CSP     00040621028352560           Electric       Gov. Aggregation   AEP - OP        00140060799393305           Electric       Gov. Aggregation
AEP - CSP     00040621028424242           Electric       Gov. Aggregation   AEP - OP        00140060799397633           Electric       Gov. Aggregation
AEP - CSP     00040621028447514           Electric       Gov. Aggregation   AEP - OP        00140060799630561           Electric       Gov. Aggregation
AEP - CSP     00040621028462511           Electric       Gov. Aggregation   AEP - OP        00140060783180344           Electric       Gov. Aggregation
AEP - CSP     00040621028519125           Electric       Gov. Aggregation   AEP - OP        00140060783258504           Electric       Gov. Aggregation
AEP - CSP     00040621024226130           Electric       Gov. Aggregation   AEP - OP        00140060783332223           Electric       Gov. Aggregation
AEP - CSP     00040621024288604           Electric       Gov. Aggregation   AEP - OP        00140060783366753           Electric       Gov. Aggregation
AEP - CSP     00040621024297710           Electric       Gov. Aggregation   AEP - OP        00140060783529582           Electric       Gov. Aggregation
AEP - CSP     00040621024337393           Electric       Gov. Aggregation   AEP - OP        00140060783580722           Electric       Gov. Aggregation
AEP - CSP     00040621024562605           Electric       Gov. Aggregation   AEP - OP        00140060781605455           Electric       Gov. Aggregation
AEP - CSP     00040621024605672           Electric       Gov. Aggregation   AEP - OP        00140060781642661           Electric       Gov. Aggregation
AEP - CSP     00040621024646403           Electric       Gov. Aggregation   AEP - OP        00140060781661122           Electric       Gov. Aggregation
AEP - CSP     00040621034395282           Electric       Gov. Aggregation   AEP - OP        00140060781672853           Electric       Gov. Aggregation
AEP - CSP     00040621034607935           Electric       Gov. Aggregation   AEP - OP        00140060781719912           Electric       Gov. Aggregation
AEP - CSP     00040621034696752           Electric       Gov. Aggregation   AEP - OP        00140060781768000           Electric       Gov. Aggregation
AEP - CSP     00040621034968673           Electric       Gov. Aggregation   AEP - OP        00140060781793590           Electric       Gov. Aggregation
AEP - CSP     00040621035049275           Electric       Gov. Aggregation   AEP - OP        00140060799342342           Electric       Gov. Aggregation
AEP - CSP     00040621035093274           Electric       Gov. Aggregation   AEP - OP        00140060799422402           Electric       Gov. Aggregation
AEP - CSP     00040621035129773           Electric       Gov. Aggregation   AEP - OP        00140060799715265           Electric       Gov. Aggregation
AEP - CSP     00040621020536054           Electric       Gov. Aggregation   AEP - OP        00140060799721623           Electric       Gov. Aggregation
AEP - CSP     00040621020616813           Electric       Gov. Aggregation   AEP - OP        00140060799823301           Electric       Gov. Aggregation
AEP - CSP     00040621020621045           Electric       Gov. Aggregation   AEP - OP        00140060799878790           Electric       Gov. Aggregation
AEP - CSP     00040621021202064           Electric       Gov. Aggregation   AEP - OP        00140060799884335           Electric       Gov. Aggregation
AEP - CSP     00040621021246460           Electric       Gov. Aggregation   AEP - OP        00140060781886912           Electric       Gov. Aggregation
AEP - CSP     00040621021693265           Electric       Gov. Aggregation   AEP - OP        00140060781998555           Electric       Gov. Aggregation
AEP - CSP     00040621021854673           Electric       Gov. Aggregation   AEP - OP        00140060782056720           Electric       Gov. Aggregation
AEP - CSP     00040621035156813           Electric       Gov. Aggregation   AEP - OP        00140060782100881           Electric       Gov. Aggregation
AEP - CSP     00040621035314111           Electric       Gov. Aggregation   AEP - OP        00140060782103445           Electric       Gov. Aggregation
AEP - CSP     00040621035316791           Electric       Gov. Aggregation   AEP - OP        00140060782164353           Electric       Gov. Aggregation
AEP - CSP     00040621035317514           Electric       Gov. Aggregation   AEP - OP        00140060782290124           Electric       Gov. Aggregation
AEP - CSP     00040621035416954           Electric       Gov. Aggregation   AEP - OP        00140060788976245           Electric       Gov. Aggregation
AEP - CSP     00040621035471235           Electric       Gov. Aggregation   AEP - OP        00140060789058124           Electric       Gov. Aggregation
AEP - CSP     00040621035486122           Electric       Gov. Aggregation   AEP - OP        00140060789186210           Electric       Gov. Aggregation
AEP - CSP     00040621024371815           Electric       Gov. Aggregation   AEP - OP        00140060789191825           Electric       Gov. Aggregation
AEP - CSP     00040621024471652           Electric       Gov. Aggregation   AEP - OP        00140060789241382           Electric       Gov. Aggregation
AEP - CSP     00040621024660612           Electric       Gov. Aggregation   AEP - OP        00140060789472030           Electric       Gov. Aggregation
AEP - CSP     00040621024678272           Electric       Gov. Aggregation   AEP - OP        00140060789533601           Electric       Gov. Aggregation
AEP - CSP     00040621024754315           Electric       Gov. Aggregation   AEP - OP        00140060793779082           Electric       Gov. Aggregation
AEP - CSP     00040621026697380           Electric       Gov. Aggregation   AEP - OP        00140060793826871           Electric       Gov. Aggregation
AEP - CSP     00040621026700231           Electric       Gov. Aggregation   AEP - OP        00140060793840332           Electric       Gov. Aggregation
AEP - CSP     00040621027257102           Electric       Gov. Aggregation   AEP - OP        00140060794000991           Electric       Gov. Aggregation
AEP - CSP     00040621027436711           Electric       Gov. Aggregation   AEP - OP        00140060794072534           Electric       Gov. Aggregation
AEP - CSP     00040621027438214           Electric       Gov. Aggregation   AEP - OP        00140060794109542           Electric       Gov. Aggregation
AEP - CSP     00040621027509400           Electric       Gov. Aggregation   AEP - OP        00140060794160344           Electric       Gov. Aggregation
AEP - CSP     00040621027643831           Electric       Gov. Aggregation   AEP - OP        00140060799933045           Electric       Gov. Aggregation
AEP - CSP     00040621024756321           Electric       Gov. Aggregation   DPL             0046725468                  Electric       Gov. Aggregation
AEP - CSP     00040621024828995           Electric       Gov. Aggregation   DPL             0082264730                  Electric       Gov. Aggregation
AEP - CSP     00040621025073584           Electric       Gov. Aggregation   DPL             0194365566                  Electric       Gov. Aggregation
AEP - CSP     00040621025160411           Electric       Gov. Aggregation   FEOH - TE       08000985932810020510        Electric       Gov. Aggregation
AEP - CSP     00040621025337543           Electric       Gov. Aggregation   FEOH - OE       08003484520001417870        Electric       Gov. Aggregation
AEP - CSP     00040621025587582           Electric       Gov. Aggregation   AEP - OP        00140060782308384           Electric       Gov. Aggregation
AEP - CSP     00040621025917331           Electric       Gov. Aggregation   AEP - OP        00140060782486963           Electric       Gov. Aggregation
AEP - CSP     00040621028133860           Electric       Gov. Aggregation   AEP - OP        00140060782522885           Electric       Gov. Aggregation
AEP - CSP     00040621028155883           Electric       Gov. Aggregation   AEP - OP        00140060782560463           Electric       Gov. Aggregation
AEP - CSP     00040621028232024           Electric       Gov. Aggregation   AEP - OP        00140060782578325           Electric       Gov. Aggregation
AEP - CSP     00040621028270290           Electric       Gov. Aggregation   AEP - OP        00140060782618074           Electric       Gov. Aggregation
AEP - CSP     00040621028281675           Electric       Gov. Aggregation   AEP - OP        00140060782654500           Electric       Gov. Aggregation
AEP - CSP     00040621028498905           Electric       Gov. Aggregation   AEP - OP        00140060783596280           Electric       Gov. Aggregation
AEP - CSP     00040621028561525           Electric       Gov. Aggregation   AEP - OP        00140060783626295           Electric       Gov. Aggregation
AEP - CSP     00040621028784443           Electric       Gov. Aggregation   AEP - OP        00140060783805574           Electric       Gov. Aggregation
AEP - CSP     00040621028869765           Electric       Gov. Aggregation   AEP - OP        00140060783975683           Electric       Gov. Aggregation
AEP - CSP     00040621028906433           Electric       Gov. Aggregation   AEP - OP        00140060784015472           Electric       Gov. Aggregation
AEP - CSP     00040621029114950           Electric       Gov. Aggregation   AEP - OP        00140060784118020           Electric       Gov. Aggregation
     Case 2:22-bk-50804                        Doc 155 Filed 04/08/22 Entered 04/08/22 16:29:21                                    Desc Main
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    Utility      Utility Account Number      Commodity      Customer Type         Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621029144480           Electric       Gov. Aggregation   AEP - OP        00140060784163323           Electric       Gov. Aggregation
AEP - CSP     00040621025928142           Electric       Gov. Aggregation   AEP - OP        00140060789533900           Electric       Gov. Aggregation
AEP - CSP     00040621026107880           Electric       Gov. Aggregation   AEP - OP        00140060789662353           Electric       Gov. Aggregation
AEP - CSP     00040621026167032           Electric       Gov. Aggregation   AEP - OP        00140060789668990           Electric       Gov. Aggregation
AEP - CSP     00040621026197475           Electric       Gov. Aggregation   AEP - OP        00140060789732012           Electric       Gov. Aggregation
AEP - CSP     00040621026521634           Electric       Gov. Aggregation   AEP - OP        00140060789832481           Electric       Gov. Aggregation
AEP - CSP     00040621026607452           Electric       Gov. Aggregation   AEP - OP        00140060789941135           Electric       Gov. Aggregation
AEP - CSP     00040621027360312           Electric       Gov. Aggregation   AEP - OP        00140060790045681           Electric       Gov. Aggregation
AEP - CSP     00040621027369902           Electric       Gov. Aggregation   AEP - OP        00140060799715272           Electric       Gov. Aggregation
AEP - CSP     00040621027538880           Electric       Gov. Aggregation   AEP - OP        00140060799798860           Electric       Gov. Aggregation
AEP - CSP     00040621027576915           Electric       Gov. Aggregation   AEP - OP        00140060799836462           Electric       Gov. Aggregation
AEP - CSP     00040621027704221           Electric       Gov. Aggregation   AEP - OP        00140060799853201           Electric       Gov. Aggregation
AEP - CSP     00040621024908275           Electric       Gov. Aggregation   AEP - OP        00140060799984003           Electric       Gov. Aggregation
AEP - CSP     00040621025011351           Electric       Gov. Aggregation   DPL             0042904351                  Electric       Gov. Aggregation
AEP - CSP     00040621025147492           Electric       Gov. Aggregation   AEP - OP        00140060794274470           Electric       Gov. Aggregation
AEP - CSP     00040621025269933           Electric       Gov. Aggregation   AEP - OP        00140060794318101           Electric       Gov. Aggregation
AEP - CSP     00040621025645870           Electric       Gov. Aggregation   AEP - OP        00140060794364770           Electric       Gov. Aggregation
AEP - CSP     00040621025765415           Electric       Gov. Aggregation   AEP - OP        00140060794405764           Electric       Gov. Aggregation
AEP - CSP     00040621025847573           Electric       Gov. Aggregation   AEP - OP        00140060794546863           Electric       Gov. Aggregation
AEP - CSP     00040621028536714           Electric       Gov. Aggregation   AEP - OP        00140060794670953           Electric       Gov. Aggregation
AEP - CSP     00040621028632303           Electric       Gov. Aggregation   AEP - OP        00140060794686255           Electric       Gov. Aggregation
AEP - CSP     00040621028711701           Electric       Gov. Aggregation   FEOH - OE       08003499800001143329        Electric       Gov. Aggregation
AEP - CSP     00040621028712305           Electric       Gov. Aggregation   FEOH - OE       08003618760001040500        Electric       Gov. Aggregation
AEP - CSP     00040621028717873           Electric       Gov. Aggregation   FEOH - OE       08003805960000790782        Electric       Gov. Aggregation
AEP - CSP     00040621028750181           Electric       Gov. Aggregation   FEOH - OE       08004097070001041410        Electric       Gov. Aggregation
AEP - CSP     00040621022375491           Electric       Gov. Aggregation   FEOH - OE       08004475360001043776        Electric       Gov. Aggregation
AEP - CSP     00040621022384070           Electric       Gov. Aggregation   FEOH - OE       08004595370001570168        Electric       Gov. Aggregation
AEP - CSP     00040621022461905           Electric       Gov. Aggregation   AEP - OP        00140060782824033           Electric       Gov. Aggregation
AEP - CSP     00040621022701481           Electric       Gov. Aggregation   AEP - OP        00140060782863201           Electric       Gov. Aggregation
AEP - CSP     00040621022888374           Electric       Gov. Aggregation   AEP - OP        00140060783001633           Electric       Gov. Aggregation
AEP - CSP     00040621022954743           Electric       Gov. Aggregation   AEP - OP        00140060783003541           Electric       Gov. Aggregation
AEP - CSP     00040621022994502           Electric       Gov. Aggregation   AEP - OP        00140060783024890           Electric       Gov. Aggregation
AEP - CSP     00040621035505914           Electric       Gov. Aggregation   AEP - OP        00140060783146274           Electric       Gov. Aggregation
AEP - CSP     00040621035522951           Electric       Gov. Aggregation   AEP - OP        00140060783179454           Electric       Gov. Aggregation
AEP - CSP     00040621035654341           Electric       Gov. Aggregation   AEP - OP        00140060790268491           Electric       Gov. Aggregation
AEP - CSP     00040621035669792           Electric       Gov. Aggregation   AEP - OP        00140060790295140           Electric       Gov. Aggregation
AEP - CSP     00040621035808831           Electric       Gov. Aggregation   AEP - OP        00140060790405712           Electric       Gov. Aggregation
AEP - CSP     00040621035864092           Electric       Gov. Aggregation   AEP - OP        00140060790409664           Electric       Gov. Aggregation
AEP - CSP     00040621035874621           Electric       Gov. Aggregation   AEP - OP        00140060790528382           Electric       Gov. Aggregation
AEP - CSP     00040621029186401           Electric       Gov. Aggregation   AEP - OP        00140060790802285           Electric       Gov. Aggregation
AEP - CSP     00040621029560304           Electric       Gov. Aggregation   AEP - OP        00140060790854021           Electric       Gov. Aggregation
AEP - CSP     00040621029601993           Electric       Gov. Aggregation   AEP - OP        00140060784209885           Electric       Gov. Aggregation
AEP - CSP     00040621029702632           Electric       Gov. Aggregation   AEP - OP        00140060784293531           Electric       Gov. Aggregation
AEP - CSP     00040621029716121           Electric       Gov. Aggregation   AEP - OP        00140060784309993           Electric       Gov. Aggregation
AEP - CSP     00040621029978741           Electric       Gov. Aggregation   AEP - OP        00140060784353202           Electric       Gov. Aggregation
AEP - CSP     00040621026651275           Electric       Gov. Aggregation   AEP - OP        00140060784377242           Electric       Gov. Aggregation
AEP - CSP     00040621026712360           Electric       Gov. Aggregation   AEP - OP        00140060784379383           Electric       Gov. Aggregation
AEP - CSP     00040621026800002           Electric       Gov. Aggregation   AEP - OP        00140060784453590           Electric       Gov. Aggregation
AEP - CSP     00040621026817271           Electric       Gov. Aggregation   AEP - OP        00140060794729765           Electric       Gov. Aggregation
AEP - CSP     00040621026843660           Electric       Gov. Aggregation   AEP - OP        00140060794745041           Electric       Gov. Aggregation
AEP - CSP     00040621026893325           Electric       Gov. Aggregation   AEP - OP        00140060794828554           Electric       Gov. Aggregation
AEP - CSP     00040621026992631           Electric       Gov. Aggregation   AEP - OP        00140060794868571           Electric       Gov. Aggregation
AEP - CSP     00040621026142473           Electric       Gov. Aggregation   AEP - OP        00140060794875925           Electric       Gov. Aggregation
AEP - CSP     00040621026263545           Electric       Gov. Aggregation   AEP - OP        00140060794877274           Electric       Gov. Aggregation
AEP - CSP     00040621026443412           Electric       Gov. Aggregation   AEP - OP        00140060794905241           Electric       Gov. Aggregation
AEP - CSP     00040621026487474           Electric       Gov. Aggregation   AEP - OP        00140060783249015           Electric       Gov. Aggregation
AEP - CSP     00040621026554720           Electric       Gov. Aggregation   AEP - OP        00140060783297072           Electric       Gov. Aggregation
AEP - CSP     00040621027044041           Electric       Gov. Aggregation   AEP - OP        00140060783462181           Electric       Gov. Aggregation
AEP - CSP     00040621027066094           Electric       Gov. Aggregation   AEP - OP        00140060783502562           Electric       Gov. Aggregation
AEP - CSP     00040621023039783           Electric       Gov. Aggregation   AEP - OP        00140060783559751           Electric       Gov. Aggregation
AEP - CSP     00040621023051512           Electric       Gov. Aggregation   AEP - OP        00140060783565485           Electric       Gov. Aggregation
AEP - CSP     00040621023231524           Electric       Gov. Aggregation   AEP - OP        00140060783649785           Electric       Gov. Aggregation
AEP - CSP     00040621023310054           Electric       Gov. Aggregation   DPL             0361520930                  Electric       Gov. Aggregation
AEP - CSP     00040621023453101           Electric       Gov. Aggregation   DPL             0383847176                  Electric       Gov. Aggregation
AEP - CSP     00040621023559971           Electric       Gov. Aggregation   DPL             0732641121                  Electric       Gov. Aggregation
AEP - CSP     00040621023625113           Electric       Gov. Aggregation   FEOH - OE       08000340940000778569        Electric       Gov. Aggregation
AEP - CSP     00040621030053395           Electric       Gov. Aggregation   FEOH - TE       08003210212300032889        Electric       Gov. Aggregation
AEP - CSP     00040621030173284           Electric       Gov. Aggregation   AEP - OP        00140060790895811           Electric       Gov. Aggregation
AEP - CSP     00040621030173793           Electric       Gov. Aggregation   AEP - OP        00140060790916322           Electric       Gov. Aggregation
AEP - CSP     00040621030225134           Electric       Gov. Aggregation   AEP - OP        00140060790953522           Electric       Gov. Aggregation
AEP - CSP     00040621030274862           Electric       Gov. Aggregation   AEP - OP        00140060790959680           Electric       Gov. Aggregation
AEP - CSP     00040621030398260           Electric       Gov. Aggregation   AEP - OP        00140060790979421           Electric       Gov. Aggregation
AEP - CSP     00040621030405132           Electric       Gov. Aggregation   AEP - OP        00140060790986551           Electric       Gov. Aggregation
AEP - CSP     00040621028794971           Electric       Gov. Aggregation   FEOH - OE       08004636120000803493        Electric       Gov. Aggregation
AEP - CSP     00040621028887162           Electric       Gov. Aggregation   FEOH - OE       08004732510000791390        Electric       Gov. Aggregation
AEP - CSP     00040621029019935           Electric       Gov. Aggregation   FEOH - OE       08004732510000791391        Electric       Gov. Aggregation
AEP - CSP     00040621029021355           Electric       Gov. Aggregation   FEOH - OE       08004734795001478583        Electric       Gov. Aggregation
AEP - CSP     00040621029044630           Electric       Gov. Aggregation   FEOH - TE       08004832245000366540        Electric       Gov. Aggregation
AEP - CSP     00040621029173875           Electric       Gov. Aggregation   AEP - OP        00140060794960781           Electric       Gov. Aggregation
AEP - CSP     00040621029216311           Electric       Gov. Aggregation   AEP - OP        00140060795242805           Electric       Gov. Aggregation
AEP - CSP     00040621027022431           Electric       Gov. Aggregation   AEP - OP        00140060795268903           Electric       Gov. Aggregation
AEP - CSP     00040621027029402           Electric       Gov. Aggregation   AEP - OP        00140060795303622           Electric       Gov. Aggregation
AEP - CSP     00040621027066204           Electric       Gov. Aggregation   AEP - OP        00140060795350063           Electric       Gov. Aggregation
AEP - CSP     00040621027078520           Electric       Gov. Aggregation   AEP - OP        00140060795362193           Electric       Gov. Aggregation
AEP - CSP     00040621027078542           Electric       Gov. Aggregation   AEP - OP        00140060795381842           Electric       Gov. Aggregation
AEP - CSP     00040621027370960           Electric       Gov. Aggregation   FEOH - OE       08003347820000765651        Electric       Gov. Aggregation
AEP - CSP     00040621027575062           Electric       Gov. Aggregation   FEOH - OE       08003605390000782532        Electric       Gov. Aggregation
AEP - CSP     00040621035968642           Electric       Gov. Aggregation   FEOH - TE       08003680482380032127        Electric       Gov. Aggregation
AEP - CSP     00040621036017491           Electric       Gov. Aggregation   FEOH - OE       08003733820000762683        Electric       Gov. Aggregation
AEP - CSP     00040621036080683           Electric       Gov. Aggregation   FEOH - OE       08003990080000804197        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621036507850           Electric       Gov. Aggregation   FEOH - OE     08004208110000780105        Electric       Gov. Aggregation
AEP - CSP     00040621036529345           Electric       Gov. Aggregation   FEOH - OE     08004222170001141978        Electric       Gov. Aggregation
AEP - CSP     00040621036776034           Electric       Gov. Aggregation   AEP - OP      00140060783717012           Electric       Gov. Aggregation
AEP - CSP     00040621036905484           Electric       Gov. Aggregation   AEP - OP      00140060784018285           Electric       Gov. Aggregation
AEP - CSP     00040621027723472           Electric       Gov. Aggregation   AEP - OP      00140060784033024           Electric       Gov. Aggregation
AEP - CSP     00040621027741481           Electric       Gov. Aggregation   AEP - OP      00140060784123383           Electric       Gov. Aggregation
AEP - CSP     00040621027841765           Electric       Gov. Aggregation   AEP - OP      00140060784196520           Electric       Gov. Aggregation
AEP - CSP     00040621027867441           Electric       Gov. Aggregation   AEP - OP      00140060784402980           Electric       Gov. Aggregation
AEP - CSP     00040621028018523           Electric       Gov. Aggregation   AEP - OP      00140060784566504           Electric       Gov. Aggregation
AEP - CSP     00040621028125230           Electric       Gov. Aggregation   AEP - OP      00140060791010844           Electric       Gov. Aggregation
AEP - CSP     00040621028283241           Electric       Gov. Aggregation   AEP - OP      00140060791127110           Electric       Gov. Aggregation
AEP - CSP     00040621028024490           Electric       Gov. Aggregation   AEP - OP      00140060791269300           Electric       Gov. Aggregation
AEP - CSP     00040621028056370           Electric       Gov. Aggregation   AEP - OP      00140060791273920           Electric       Gov. Aggregation
AEP - CSP     00040621028071330           Electric       Gov. Aggregation   AEP - OP      00140060791299522           Electric       Gov. Aggregation
AEP - CSP     00040621028134025           Electric       Gov. Aggregation   AEP - OP      00140060791341102           Electric       Gov. Aggregation
AEP - CSP     00040621028435691           Electric       Gov. Aggregation   AEP - OP      00140060791344165           Electric       Gov. Aggregation
AEP - CSP     00040621023631975           Electric       Gov. Aggregation   FEOH - OE     08004960590001129707        Electric       Gov. Aggregation
AEP - CSP     00040621023640783           Electric       Gov. Aggregation   FEOH - OE     08004976080001131233        Electric       Gov. Aggregation
AEP - CSP     00040621023964060           Electric       Gov. Aggregation   FEOH - OE     08005045240001497581        Electric       Gov. Aggregation
AEP - CSP     00040621023974814           Electric       Gov. Aggregation   FEOH - TE     08005060902900007270        Electric       Gov. Aggregation
AEP - CSP     00040621024125522           Electric       Gov. Aggregation   AEP - OP      00140060795394513           Electric       Gov. Aggregation
AEP - CSP     00040621024157870           Electric       Gov. Aggregation   AEP - OP      00140060795450191           Electric       Gov. Aggregation
AEP - CSP     00040621024410304           Electric       Gov. Aggregation   AEP - OP      00140060795571812           Electric       Gov. Aggregation
AEP - CSP     00040621024543353           Electric       Gov. Aggregation   AEP - OP      00140060795574885           Electric       Gov. Aggregation
AEP - CSP     00040621024583595           Electric       Gov. Aggregation   AEP - OP      00140060795575674           Electric       Gov. Aggregation
AEP - CSP     00040621024645255           Electric       Gov. Aggregation   AEP - OP      00140060795603752           Electric       Gov. Aggregation
AEP - CSP     00040621024774025           Electric       Gov. Aggregation   AEP - OP      00140060795725561           Electric       Gov. Aggregation
AEP - CSP     00040621024964783           Electric       Gov. Aggregation   AEP - OP      00140060784792381           Electric       Gov. Aggregation
AEP - CSP     00040621024982985           Electric       Gov. Aggregation   AEP - OP      00140060785022834           Electric       Gov. Aggregation
AEP - CSP     00040621027277485           Electric       Gov. Aggregation   AEP - OP      00140060785081765           Electric       Gov. Aggregation
AEP - CSP     00040621027286380           Electric       Gov. Aggregation   AEP - OP      00140060785117444           Electric       Gov. Aggregation
AEP - CSP     00040621027320745           Electric       Gov. Aggregation   AEP - OP      00140060785146732           Electric       Gov. Aggregation
AEP - CSP     00040621027388340           Electric       Gov. Aggregation   AEP - OP      00140060785341910           Electric       Gov. Aggregation
AEP - CSP     00040621027488760           Electric       Gov. Aggregation   AEP - OP      00140060784458424           Electric       Gov. Aggregation
AEP - CSP     00040621027540812           Electric       Gov. Aggregation   AEP - OP      00140060784517123           Electric       Gov. Aggregation
AEP - CSP     00040621027565294           Electric       Gov. Aggregation   AEP - OP      00140060784632664           Electric       Gov. Aggregation
AEP - CSP     00040621027583875           Electric       Gov. Aggregation   AEP - OP      00140060784675301           Electric       Gov. Aggregation
AEP - CSP     00040621027746691           Electric       Gov. Aggregation   AEP - OP      00140060784774235           Electric       Gov. Aggregation
AEP - CSP     00040621027914222           Electric       Gov. Aggregation   AEP - OP      00140060784903455           Electric       Gov. Aggregation
AEP - CSP     00040621027927650           Electric       Gov. Aggregation   AEP - OP      00140060784906854           Electric       Gov. Aggregation
AEP - CSP     00040621028082614           Electric       Gov. Aggregation   AEP - OP      00140060791383205           Electric       Gov. Aggregation
AEP - CSP     00040621028281442           Electric       Gov. Aggregation   AEP - OP      00140060791427023           Electric       Gov. Aggregation
AEP - CSP     00040621028357465           Electric       Gov. Aggregation   AEP - OP      00140060791437441           Electric       Gov. Aggregation
AEP - CSP     00040621030703243           Electric       Gov. Aggregation   AEP - OP      00140060791485231           Electric       Gov. Aggregation
AEP - CSP     00040621030774442           Electric       Gov. Aggregation   AEP - OP      00140060791489275           Electric       Gov. Aggregation
AEP - CSP     00040621030793564           Electric       Gov. Aggregation   AEP - OP      00140060791575000           Electric       Gov. Aggregation
AEP - CSP     00040621030810814           Electric       Gov. Aggregation   AEP - OP      00140060791664010           Electric       Gov. Aggregation
AEP - CSP     00040621030969571           Electric       Gov. Aggregation   FEOH - OE     08004401880001142073        Electric       Gov. Aggregation
AEP - CSP     00040621031013253           Electric       Gov. Aggregation   FEOH - OE     08004455110001044793        Electric       Gov. Aggregation
AEP - CSP     00040621028329904           Electric       Gov. Aggregation   FEOH - OE     08004482830001128913        Electric       Gov. Aggregation
AEP - CSP     00040621028458094           Electric       Gov. Aggregation   FEOH - TE     08004665652600003909        Electric       Gov. Aggregation
AEP - CSP     00040621028617332           Electric       Gov. Aggregation   FEOH - OE     08004675950000791670        Electric       Gov. Aggregation
AEP - CSP     00040621028618082           Electric       Gov. Aggregation   FEOH - OE     08004763320001128383        Electric       Gov. Aggregation
AEP - CSP     00040621028625455           Electric       Gov. Aggregation   FEOH - OE     08004763460001495054        Electric       Gov. Aggregation
AEP - CSP     00040621028627374           Electric       Gov. Aggregation   AEP - OP      00140060795741854           Electric       Gov. Aggregation
AEP - CSP     00040621028687105           Electric       Gov. Aggregation   AEP - OP      00140060795868231           Electric       Gov. Aggregation
AEP - CSP     00040621031150913           Electric       Gov. Aggregation   AEP - OP      00140060795914623           Electric       Gov. Aggregation
AEP - CSP     00040621031310810           Electric       Gov. Aggregation   AEP - OP      00140060795953464           Electric       Gov. Aggregation
AEP - CSP     00040621031342702           Electric       Gov. Aggregation   AEP - OP      00140060795992363           Electric       Gov. Aggregation
AEP - CSP     00040621031521960           Electric       Gov. Aggregation   AEP - OP      00140060796155160           Electric       Gov. Aggregation
AEP - CSP     00040621031702864           Electric       Gov. Aggregation   AEP - OP      00140060796203070           Electric       Gov. Aggregation
AEP - CSP     00040621031719444           Electric       Gov. Aggregation   AEP - OP      00140060785394635           Electric       Gov. Aggregation
AEP - CSP     00040621028552861           Electric       Gov. Aggregation   AEP - OP      00140060785401473           Electric       Gov. Aggregation
AEP - CSP     00040621028619231           Electric       Gov. Aggregation   AEP - OP      00140060785598363           Electric       Gov. Aggregation
AEP - CSP     00040621028643043           Electric       Gov. Aggregation   AEP - OP      00140060785601521           Electric       Gov. Aggregation
AEP - CSP     00040621028654605           Electric       Gov. Aggregation   AEP - OP      00140060785639772           Electric       Gov. Aggregation
AEP - CSP     00040621028685100           Electric       Gov. Aggregation   AEP - OP      00140060785647802           Electric       Gov. Aggregation
AEP - CSP     00040621028925761           Electric       Gov. Aggregation   AEP - OP      00140060785654944           Electric       Gov. Aggregation
AEP - CSP     00040621028926054           Electric       Gov. Aggregation   FEOH - OE     08005107855000387620        Electric       Gov. Aggregation
AEP - CSP     00040621031852282           Electric       Gov. Aggregation   FEOH - OE     08005141130000603809        Electric       Gov. Aggregation
AEP - CSP     00040621031951613           Electric       Gov. Aggregation   FEOH - TE     08005143742210014788        Electric       Gov. Aggregation
AEP - CSP     00040621032234972           Electric       Gov. Aggregation   AEP - OP      00140060785662163           Electric       Gov. Aggregation
AEP - CSP     00040621032410224           Electric       Gov. Aggregation   AEP - OP      00140060785672755           Electric       Gov. Aggregation
AEP - CSP     00040621032439483           Electric       Gov. Aggregation   AEP - OP      00140060785676640           Electric       Gov. Aggregation
AEP - CSP     00040621032533910           Electric       Gov. Aggregation   AEP - OP      00140060785693380           Electric       Gov. Aggregation
AEP - CSP     00040621032628040           Electric       Gov. Aggregation   AEP - OP      00140060785781262           Electric       Gov. Aggregation
AEP - CSP     00040621029150491           Electric       Gov. Aggregation   AEP - OP      00140060785929731           Electric       Gov. Aggregation
AEP - CSP     00040621029359852           Electric       Gov. Aggregation   AEP - OP      00140060791686772           Electric       Gov. Aggregation
AEP - CSP     00040621029408693           Electric       Gov. Aggregation   AEP - OP      00140060791708881           Electric       Gov. Aggregation
AEP - CSP     00040621029524580           Electric       Gov. Aggregation   AEP - OP      00140060791872784           Electric       Gov. Aggregation
AEP - CSP     00040621029525592           Electric       Gov. Aggregation   AEP - OP      00140060791886060           Electric       Gov. Aggregation
AEP - CSP     00040621029616801           Electric       Gov. Aggregation   AEP - OP      00140060791937185           Electric       Gov. Aggregation
AEP - CSP     00040621029704942           Electric       Gov. Aggregation   AEP - OP      00140060792002615           Electric       Gov. Aggregation
AEP - CSP     00040621037049774           Electric       Gov. Aggregation   AEP - OP      00140060792023284           Electric       Gov. Aggregation
AEP - CSP     00040621037109012           Electric       Gov. Aggregation   FEOH - OE     08004966590000803533        Electric       Gov. Aggregation
AEP - CSP     00040621037157894           Electric       Gov. Aggregation   FEOH - OE     08005173640001129920        Electric       Gov. Aggregation
AEP - CSP     00040621037166092           Electric       Gov. Aggregation   FEOH - OE     08005241410001041319        Electric       Gov. Aggregation
AEP - CSP     00040621037304571           Electric       Gov. Aggregation   FEOH - TE     08005257582810020135        Electric       Gov. Aggregation
AEP - CSP     00040621037307491           Electric       Gov. Aggregation   FEOH - TE     08005259262880093765        Electric       Gov. Aggregation
AEP - CSP     00040621037453510           Electric       Gov. Aggregation   FEOH - TE     08005296943000011869        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621032868112           Electric       Gov. Aggregation   AEP - OP      00140060778459204           Electric       Gov. Aggregation
AEP - CSP     00040621032938561           Electric       Gov. Aggregation   AEP - OP      00140060778606925           Electric       Gov. Aggregation
AEP - CSP     00040621033004065           Electric       Gov. Aggregation   AEP - OP      00140060778639082           Electric       Gov. Aggregation
AEP - CSP     00040621033028873           Electric       Gov. Aggregation   AEP - OP      00140060778696444           Electric       Gov. Aggregation
AEP - CSP     00040621033255084           Electric       Gov. Aggregation   AEP - OP      00140060778805163           Electric       Gov. Aggregation
AEP - CSP     00040621033444582           Electric       Gov. Aggregation   AEP - OP      00140060779058160           Electric       Gov. Aggregation
AEP - CSP     00040621033625692           Electric       Gov. Aggregation   AEP - OP      00140060779269010           Electric       Gov. Aggregation
AEP - CSP     00040621028811720           Electric       Gov. Aggregation   AEP - OP      00140060785022855           Electric       Gov. Aggregation
AEP - CSP     00040621028853801           Electric       Gov. Aggregation   AEP - OP      00140060785073511           Electric       Gov. Aggregation
AEP - CSP     00040621028914082           Electric       Gov. Aggregation   AEP - OP      00140060785162615           Electric       Gov. Aggregation
AEP - CSP     00040621028999272           Electric       Gov. Aggregation   AEP - OP      00140060785210532           Electric       Gov. Aggregation
AEP - CSP     00040621029014741           Electric       Gov. Aggregation   AEP - OP      00140060785244411           Electric       Gov. Aggregation
AEP - CSP     00040621028392180           Electric       Gov. Aggregation   AEP - OP      00140060785368813           Electric       Gov. Aggregation
AEP - CSP     00040621028536121           Electric       Gov. Aggregation   AEP - OP      00140060796278051           Electric       Gov. Aggregation
AEP - CSP     00040621028722233           Electric       Gov. Aggregation   AEP - OP      00140060796323523           Electric       Gov. Aggregation
AEP - CSP     00040621028733453           Electric       Gov. Aggregation   AEP - OP      00140060796363625           Electric       Gov. Aggregation
AEP - CSP     00040621028761930           Electric       Gov. Aggregation   AEP - OP      00140060796487710           Electric       Gov. Aggregation
AEP - CSP     00040621028782342           Electric       Gov. Aggregation   AEP - OP      00140060796505053           Electric       Gov. Aggregation
AEP - CSP     00040621037653792           Electric       Gov. Aggregation   AEP - OP      00140060796777004           Electric       Gov. Aggregation
AEP - CSP     00040621037694531           Electric       Gov. Aggregation   FEOH - TE     08005143742210014863        Electric       Gov. Aggregation
AEP - CSP     00040621037763365           Electric       Gov. Aggregation   FEOH - TE     08005144932130009497        Electric       Gov. Aggregation
AEP - CSP     00040621037812771           Electric       Gov. Aggregation   FEOH - OE     08005149895001334133        Electric       Gov. Aggregation
AEP - CSP     00040621037877554           Electric       Gov. Aggregation   FEOH - OE     08005212300001549266        Electric       Gov. Aggregation
AEP - CSP     00040621037888352           Electric       Gov. Aggregation   FEOH - TE     08005258242850021705        Electric       Gov. Aggregation
AEP - CSP     00040621037909925           Electric       Gov. Aggregation   FEOH - OE     08005313300001129838        Electric       Gov. Aggregation
AEP - CSP     00040621029734795           Electric       Gov. Aggregation   AEP - OP      00140060786019012           Electric       Gov. Aggregation
AEP - CSP     00040621029865491           Electric       Gov. Aggregation   AEP - OP      00140060786204911           Electric       Gov. Aggregation
AEP - CSP     00040621029875940           Electric       Gov. Aggregation   AEP - OP      00140060786232203           Electric       Gov. Aggregation
AEP - CSP     00040621030260393           Electric       Gov. Aggregation   AEP - OP      00140060786353291           Electric       Gov. Aggregation
AEP - CSP     00040621030302490           Electric       Gov. Aggregation   AEP - OP      00140060786444955           Electric       Gov. Aggregation
AEP - CSP     00040621030423891           Electric       Gov. Aggregation   AEP - OP      00140060786463090           Electric       Gov. Aggregation
AEP - CSP     00040621025020964           Electric       Gov. Aggregation   AEP - OP      00140060786564940           Electric       Gov. Aggregation
AEP - CSP     00040621025131841           Electric       Gov. Aggregation   AEP - OP      00140060779277253           Electric       Gov. Aggregation
AEP - CSP     00040621025182415           Electric       Gov. Aggregation   AEP - OP      00140060779395503           Electric       Gov. Aggregation
AEP - CSP     00040621025219842           Electric       Gov. Aggregation   AEP - OP      00140060779474333           Electric       Gov. Aggregation
AEP - CSP     00040621025305240           Electric       Gov. Aggregation   AEP - OP      00140060779673220           Electric       Gov. Aggregation
AEP - CSP     00040621025344492           Electric       Gov. Aggregation   AEP - OP      00140060779731644           Electric       Gov. Aggregation
AEP - CSP     00040621025493975           Electric       Gov. Aggregation   AEP - OP      00140060779761061           Electric       Gov. Aggregation
AEP - CSP     00040621029836265           Electric       Gov. Aggregation   AEP - OP      00140060779767091           Electric       Gov. Aggregation
AEP - CSP     00040621029862990           Electric       Gov. Aggregation   FEOH - TE     08005297242680024036        Electric       Gov. Aggregation
AEP - CSP     00040621029901595           Electric       Gov. Aggregation   FEOH - OE     08005321730001489305        Electric       Gov. Aggregation
AEP - CSP     00040621029943854           Electric       Gov. Aggregation   FEOH - TE     08005324582900008465        Electric       Gov. Aggregation
AEP - CSP     00040621029950843           Electric       Gov. Aggregation   FEOH - TE     08005337062380031125        Electric       Gov. Aggregation
AEP - CSP     00040621029999050           Electric       Gov. Aggregation   FEOH - TE     08005361542030093441        Electric       Gov. Aggregation
AEP - CSP     00040621030051653           Electric       Gov. Aggregation   FEOH - TE     08005365012300026784        Electric       Gov. Aggregation
AEP - CSP     00040621027622241           Electric       Gov. Aggregation   FEOH - TE     08005369032300030954        Electric       Gov. Aggregation
AEP - CSP     00040621027735151           Electric       Gov. Aggregation   AEP - OP      00140060796785703           Electric       Gov. Aggregation
AEP - CSP     00040621027871373           Electric       Gov. Aggregation   AEP - OP      00140060796971061           Electric       Gov. Aggregation
AEP - CSP     00040621027979012           Electric       Gov. Aggregation   AEP - OP      00140060797017561           Electric       Gov. Aggregation
AEP - CSP     00040621027982194           Electric       Gov. Aggregation   AEP - OP      00140060797045013           Electric       Gov. Aggregation
AEP - CSP     00040621028366074           Electric       Gov. Aggregation   AEP - OP      00140060797061733           Electric       Gov. Aggregation
AEP - CSP     00040621028378804           Electric       Gov. Aggregation   AEP - OP      00140060797116554           Electric       Gov. Aggregation
AEP - CSP     00040621029211480           Electric       Gov. Aggregation   AEP - OP      00140060797141221           Electric       Gov. Aggregation
AEP - CSP     00040621029313980           Electric       Gov. Aggregation   AEP - OP      00140060797165580           Electric       Gov. Aggregation
AEP - CSP     00040621029360610           Electric       Gov. Aggregation   AEP - OP      00140060797167751           Electric       Gov. Aggregation
AEP - CSP     00040621029726375           Electric       Gov. Aggregation   AEP - OP      00140060797364685           Electric       Gov. Aggregation
AEP - CSP     00040621029914154           Electric       Gov. Aggregation   AEP - OP      00140060797399870           Electric       Gov. Aggregation
AEP - CSP     00040621029954294           Electric       Gov. Aggregation   AEP - OP      00140060797404861           Electric       Gov. Aggregation
AEP - CSP     00040621033655615           Electric       Gov. Aggregation   AEP - OP      00140060788455740           Electric       Gov. Aggregation
AEP - CSP     00040621033685520           Electric       Gov. Aggregation   AEP - OP      00140060788527541           Electric       Gov. Aggregation
AEP - CSP     00040621033704744           Electric       Gov. Aggregation   AEP - OP      00140060788581343           Electric       Gov. Aggregation
AEP - CSP     00040621033749813           Electric       Gov. Aggregation   AEP - OP      00140060788675553           Electric       Gov. Aggregation
AEP - CSP     00040621033768875           Electric       Gov. Aggregation   AEP - OP      00140060788734360           Electric       Gov. Aggregation
AEP - CSP     00040621033922552           Electric       Gov. Aggregation   AEP - OP      00140060788997090           Electric       Gov. Aggregation
AEP - CSP     00040621033964721           Electric       Gov. Aggregation   FEOH - OE     08005321730001537000        Electric       Gov. Aggregation
AEP - CSP     00040621029171604           Electric       Gov. Aggregation   FEOH - TE     08005322892900007918        Electric       Gov. Aggregation
AEP - CSP     00040621029222994           Electric       Gov. Aggregation   FEOH - TE     08005323002900007922        Electric       Gov. Aggregation
AEP - CSP     00040621029486091           Electric       Gov. Aggregation   FEOH - TE     08005338232390001495        Electric       Gov. Aggregation
AEP - CSP     00040621029512104           Electric       Gov. Aggregation   FEOH - OE     08005343150001369407        Electric       Gov. Aggregation
AEP - CSP     00040621029538812           Electric       Gov. Aggregation   FEOH - TE     08005396672030030750        Electric       Gov. Aggregation
AEP - CSP     00040621029947753           Electric       Gov. Aggregation   AEP - OP      00140060785372795           Electric       Gov. Aggregation
AEP - CSP     00040621025560321           Electric       Gov. Aggregation   AEP - OP      00140060785405503           Electric       Gov. Aggregation
AEP - CSP     00040621025671460           Electric       Gov. Aggregation   AEP - OP      00140060785457975           Electric       Gov. Aggregation
AEP - CSP     00040621025740225           Electric       Gov. Aggregation   AEP - OP      00140060785541185           Electric       Gov. Aggregation
AEP - CSP     00040621025858714           Electric       Gov. Aggregation   AEP - OP      00140060785649892           Electric       Gov. Aggregation
AEP - CSP     00040621026046540           Electric       Gov. Aggregation   AEP - OP      00140060785892681           Electric       Gov. Aggregation
AEP - CSP     00040621030145583           Electric       Gov. Aggregation   AEP - OP      00140060785958085           Electric       Gov. Aggregation
AEP - CSP     00040621030207675           Electric       Gov. Aggregation   AEP - OP      00140060789102780           Electric       Gov. Aggregation
AEP - CSP     00040621030284400           Electric       Gov. Aggregation   AEP - OP      00140060789116611           Electric       Gov. Aggregation
AEP - CSP     00040621030405352           Electric       Gov. Aggregation   AEP - OP      00140060789257030           Electric       Gov. Aggregation
AEP - CSP     00040621030435020           Electric       Gov. Aggregation   AEP - OP      00140060789302973           Electric       Gov. Aggregation
AEP - CSP     00040621030594322           Electric       Gov. Aggregation   AEP - OP      00140060789366035           Electric       Gov. Aggregation
AEP - CSP     00040621028399240           Electric       Gov. Aggregation   AEP - OP      00140060789418791           Electric       Gov. Aggregation
AEP - CSP     00040621028578454           Electric       Gov. Aggregation   AEP - OP      00140060789419050           Electric       Gov. Aggregation
AEP - CSP     00040621028801694           Electric       Gov. Aggregation   AEP - OP      00140060786666460           Electric       Gov. Aggregation
AEP - CSP     00040621029034331           Electric       Gov. Aggregation   AEP - OP      00140060786770475           Electric       Gov. Aggregation
AEP - CSP     00040621029346734           Electric       Gov. Aggregation   AEP - OP      00140060786955054           Electric       Gov. Aggregation
AEP - CSP     00040621029435325           Electric       Gov. Aggregation   AEP - OP      00140060786991294           Electric       Gov. Aggregation
AEP - CSP     00040621029557472           Electric       Gov. Aggregation   AEP - OP      00140060787049424           Electric       Gov. Aggregation
AEP - CSP     00040621029977454           Electric       Gov. Aggregation   AEP - OP      00140060787067871           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621030078363           Electric       Gov. Aggregation   AEP - OP      00140060787088125           Electric       Gov. Aggregation
AEP - CSP     00040621030110004           Electric       Gov. Aggregation   FEOH - TE     08005398842030032469        Electric       Gov. Aggregation
AEP - CSP     00040621030323925           Electric       Gov. Aggregation   FEOH - TE     08005406543000009120        Electric       Gov. Aggregation
AEP - CSP     00040621030415021           Electric       Gov. Aggregation   FEOH - TE     08005460742030033283        Electric       Gov. Aggregation
AEP - CSP     00040621030469182           Electric       Gov. Aggregation   FEOH - TE     08005464112040000993        Electric       Gov. Aggregation
AEP - CSP     00040621030518120           Electric       Gov. Aggregation   FEOH - TE     08005469872080021186        Electric       Gov. Aggregation
AEP - CSP     00040621030051424           Electric       Gov. Aggregation   FEOH - TE     08005526652640021147        Electric       Gov. Aggregation
AEP - CSP     00040621030219131           Electric       Gov. Aggregation   FEOH - TE     08005529102680020197        Electric       Gov. Aggregation
AEP - CSP     00040621030335232           Electric       Gov. Aggregation   AEP - OP      00140060787350473           Electric       Gov. Aggregation
AEP - CSP     00040621030414142           Electric       Gov. Aggregation   AEP - OP      00140060787430915           Electric       Gov. Aggregation
AEP - CSP     00040621030505405           Electric       Gov. Aggregation   AEP - OP      00140060787460561           Electric       Gov. Aggregation
AEP - CSP     00040621030714865           Electric       Gov. Aggregation   AEP - OP      00140060787496981           Electric       Gov. Aggregation
AEP - CSP     00040621034012681           Electric       Gov. Aggregation   AEP - OP      00140060787538264           Electric       Gov. Aggregation
AEP - CSP     00040621034100702           Electric       Gov. Aggregation   AEP - OP      00140060787559301           Electric       Gov. Aggregation
AEP - CSP     00040621034207251           Electric       Gov. Aggregation   AEP - OP      00140060779880562           Electric       Gov. Aggregation
AEP - CSP     00040621034397662           Electric       Gov. Aggregation   AEP - OP      00140060779959244           Electric       Gov. Aggregation
AEP - CSP     00040621034446171           Electric       Gov. Aggregation   AEP - OP      00140060779982714           Electric       Gov. Aggregation
AEP - CSP     00040621034515094           Electric       Gov. Aggregation   AEP - OP      00140060780003922           Electric       Gov. Aggregation
AEP - CSP     00040621030833371           Electric       Gov. Aggregation   AEP - OP      00140060780207273           Electric       Gov. Aggregation
AEP - CSP     00040621030899195           Electric       Gov. Aggregation   AEP - OP      00140060780409024           Electric       Gov. Aggregation
AEP - CSP     00040621031022500           Electric       Gov. Aggregation   AEP - OP      00140060780409661           Electric       Gov. Aggregation
AEP - CSP     00040621031160622           Electric       Gov. Aggregation   AEP - OP      00140060797698094           Electric       Gov. Aggregation
AEP - CSP     00040621031286153           Electric       Gov. Aggregation   AEP - OP      00140060797903592           Electric       Gov. Aggregation
AEP - CSP     00040621031421740           Electric       Gov. Aggregation   AEP - OP      00140060797947445           Electric       Gov. Aggregation
AEP - CSP     00040621031445971           Electric       Gov. Aggregation   AEP - OP      00140060797956231           Electric       Gov. Aggregation
AEP - CSP     00040621026250855           Electric       Gov. Aggregation   AEP - OP      00140060798069820           Electric       Gov. Aggregation
AEP - CSP     00040621026259421           Electric       Gov. Aggregation   AEP - OP      00140060798230681           Electric       Gov. Aggregation
AEP - CSP     00040621026575470           Electric       Gov. Aggregation   AEP - OP      00140060798336343           Electric       Gov. Aggregation
AEP - CSP     00040621026671325           Electric       Gov. Aggregation   AEP - OP      00140060792159922           Electric       Gov. Aggregation
AEP - CSP     00040621026729110           Electric       Gov. Aggregation   AEP - OP      00140060792198642           Electric       Gov. Aggregation
AEP - CSP     00040621026759104           Electric       Gov. Aggregation   AEP - OP      00140060792230475           Electric       Gov. Aggregation
AEP - CSP     00040621029791024           Electric       Gov. Aggregation   AEP - OP      00140060792290000           Electric       Gov. Aggregation
AEP - CSP     00040621029843955           Electric       Gov. Aggregation   AEP - OP      00140060792408661           Electric       Gov. Aggregation
AEP - CSP     00040621029915503           Electric       Gov. Aggregation   AEP - OP      00140060792418871           Electric       Gov. Aggregation
AEP - CSP     00040621029923905           Electric       Gov. Aggregation   AEP - OP      00140060792419960           Electric       Gov. Aggregation
AEP - CSP     00040621029934425           Electric       Gov. Aggregation   FEOH - TE     08005530792080022690        Electric       Gov. Aggregation
AEP - CSP     00040621030219040           Electric       Gov. Aggregation   FEOH - TE     08005583992380031886        Electric       Gov. Aggregation
AEP - CSP     00040621030472254           Electric       Gov. Aggregation   FEOH - TE     08005584182210012586        Electric       Gov. Aggregation
AEP - CSP     00040621030571783           Electric       Gov. Aggregation   FEOH - TE     08005584382380091566        Electric       Gov. Aggregation
AEP - CSP     00040621030774490           Electric       Gov. Aggregation   FEOH - TE     08005601672680022084        Electric       Gov. Aggregation
AEP - CSP     00040621030800631           Electric       Gov. Aggregation   FEOH - OE     08005604880001584021        Electric       Gov. Aggregation
AEP - CSP     00040621030834752           Electric       Gov. Aggregation   FEOH - TE     08005614202210013964        Electric       Gov. Aggregation
AEP - CSP     00040621031571710           Electric       Gov. Aggregation   AEP - OP      00140060789604283           Electric       Gov. Aggregation
AEP - CSP     00040621037926665           Electric       Gov. Aggregation   AEP - OP      00140060789645512           Electric       Gov. Aggregation
AEP - CSP     00040621037931911           Electric       Gov. Aggregation   AEP - OP      00140060789733771           Electric       Gov. Aggregation
AEP - CSP     00040621038041151           Electric       Gov. Aggregation   AEP - OP      00140060789968793           Electric       Gov. Aggregation
AEP - CSP     00040621038192074           Electric       Gov. Aggregation   AEP - OP      00140060790059075           Electric       Gov. Aggregation
AEP - CSP     00040621038222972           Electric       Gov. Aggregation   AEP - OP      00140060790215722           Electric       Gov. Aggregation
AEP - CSP     00040621038315760           Electric       Gov. Aggregation   AEP - OP      00140060790228460           Electric       Gov. Aggregation
AEP - CSP     00040621038328205           Electric       Gov. Aggregation   AEP - OP      00140060787652212           Electric       Gov. Aggregation
AEP - CSP     00040621030549760           Electric       Gov. Aggregation   AEP - OP      00140060788080334           Electric       Gov. Aggregation
AEP - CSP     00040621030649184           Electric       Gov. Aggregation   AEP - OP      00140060788138545           Electric       Gov. Aggregation
AEP - CSP     00040621030686295           Electric       Gov. Aggregation   AEP - OP      00140060788358984           Electric       Gov. Aggregation
AEP - CSP     00040621030757182           Electric       Gov. Aggregation   AEP - OP      00140060788365741           Electric       Gov. Aggregation
AEP - CSP     00040621030849192           Electric       Gov. Aggregation   AEP - OP      00140060788375445           Electric       Gov. Aggregation
AEP - CSP     00040621030940864           Electric       Gov. Aggregation   AEP - OP      00140060780498283           Electric       Gov. Aggregation
AEP - CSP     00040621030949560           Electric       Gov. Aggregation   AEP - OP      00140060780588632           Electric       Gov. Aggregation
AEP - CSP     00040621034535680           Electric       Gov. Aggregation   AEP - OP      00140060780851183           Electric       Gov. Aggregation
AEP - CSP     00040621034608774           Electric       Gov. Aggregation   AEP - OP      00140060781013801           Electric       Gov. Aggregation
AEP - CSP     00040621034678590           Electric       Gov. Aggregation   AEP - OP      00140060781036740           Electric       Gov. Aggregation
AEP - CSP     00040621034750814           Electric       Gov. Aggregation   AEP - OP      00140060781106262           Electric       Gov. Aggregation
AEP - CSP     00040621034981185           Electric       Gov. Aggregation   AEP - OP      00140060798401864           Electric       Gov. Aggregation
AEP - CSP     00040621035009090           Electric       Gov. Aggregation   AEP - OP      00140060798413724           Electric       Gov. Aggregation
AEP - CSP     00040621035016053           Electric       Gov. Aggregation   AEP - OP      00140060798457632           Electric       Gov. Aggregation
AEP - CSP     00040621031547502           Electric       Gov. Aggregation   AEP - OP      00140060798647342           Electric       Gov. Aggregation
AEP - CSP     00040621031580023           Electric       Gov. Aggregation   AEP - OP      00140060798769390           Electric       Gov. Aggregation
AEP - CSP     00040621031594273           Electric       Gov. Aggregation   AEP - OP      00140060799016314           Electric       Gov. Aggregation
AEP - CSP     00040621031889352           Electric       Gov. Aggregation   AEP - OP      00140060799041541           Electric       Gov. Aggregation
AEP - CSP     00040621031944783           Electric       Gov. Aggregation   FEOH - TE     08005461052030033353        Electric       Gov. Aggregation
AEP - CSP     00040621032023855           Electric       Gov. Aggregation   FEOH - TE     08005461772850020544        Electric       Gov. Aggregation
AEP - CSP     00040621032208251           Electric       Gov. Aggregation   FEOH - TE     08005464352040001060        Electric       Gov. Aggregation
AEP - CSP     00040621030815793           Electric       Gov. Aggregation   FEOH - TE     08005466212030032473        Electric       Gov. Aggregation
AEP - CSP     00040621030889194           Electric       Gov. Aggregation   FEOH - TE     08005536542080027270        Electric       Gov. Aggregation
AEP - CSP     00040621031032702           Electric       Gov. Aggregation   FEOH - TE     08005583342380031500        Electric       Gov. Aggregation
AEP - CSP     00040621031122524           Electric       Gov. Aggregation   AEP - OP      00140060792486622           Electric       Gov. Aggregation
AEP - CSP     00040621031324412           Electric       Gov. Aggregation   AEP - OP      00140060792493234           Electric       Gov. Aggregation
AEP - CSP     00040621031405490           Electric       Gov. Aggregation   AEP - OP      00140060792525664           Electric       Gov. Aggregation
AEP - CSP     00040621031534965           Electric       Gov. Aggregation   AEP - OP      00140060792528505           Electric       Gov. Aggregation
AEP - CSP     00040621026959905           Electric       Gov. Aggregation   AEP - OP      00140060792653160           Electric       Gov. Aggregation
AEP - CSP     00040621027044345           Electric       Gov. Aggregation   AEP - OP      00140060792700623           Electric       Gov. Aggregation
AEP - CSP     00040621027068515           Electric       Gov. Aggregation   AEP - OP      00140060792853171           Electric       Gov. Aggregation
AEP - CSP     00040621027081575           Electric       Gov. Aggregation   FEOH - TE     08005652632210014685        Electric       Gov. Aggregation
AEP - CSP     00040621027245842           Electric       Gov. Aggregation   FEOH - TE     08005670442960093687        Electric       Gov. Aggregation
AEP - CSP     00040621027299344           Electric       Gov. Aggregation   FEOH - OE     08005756470000784689        Electric       Gov. Aggregation
AEP - CSP     00040621030525323           Electric       Gov. Aggregation   FEOH - TE     08005782232160094462        Electric       Gov. Aggregation
AEP - CSP     00040621030719483           Electric       Gov. Aggregation   FEOH - TE     08005782332080022667        Electric       Gov. Aggregation
AEP - CSP     00040621030729941           Electric       Gov. Aggregation   FEOH - TE     08005788222080027917        Electric       Gov. Aggregation
AEP - CSP     00040621030826815           Electric       Gov. Aggregation   FEOH - TE     08005789722080028357        Electric       Gov. Aggregation
AEP - CSP     00040621030950603           Electric       Gov. Aggregation   AEP - OP      00140060786063895           Electric       Gov. Aggregation
AEP - CSP     00040621030976743           Electric       Gov. Aggregation   AEP - OP      00140060786066515           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type         Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621031637592           Electric       Gov. Aggregation   AEP - OP        00140060786118325           Electric       Gov. Aggregation
AEP - CSP     00040621031730004           Electric       Gov. Aggregation   AEP - OP        00140060786231382           Electric       Gov. Aggregation
AEP - CSP     00040621031815280           Electric       Gov. Aggregation   AEP - OP        00140060786252214           Electric       Gov. Aggregation
AEP - CSP     00040621031880762           Electric       Gov. Aggregation   AEP - OP        00140060786473614           Electric       Gov. Aggregation
AEP - CSP     00040621031911991           Electric       Gov. Aggregation   AEP - OP        00140060786475535           Electric       Gov. Aggregation
AEP - CSP     00040621031923354           Electric       Gov. Aggregation   AEP - OP        00140060790248011           Electric       Gov. Aggregation
AEP - CSP     00040621032020354           Electric       Gov. Aggregation   AEP - OP        00140060790325532           Electric       Gov. Aggregation
AEP - CSP     00040621038404303           Electric       Gov. Aggregation   AEP - OP        00140060790355723           Electric       Gov. Aggregation
AEP - CSP     00040621038466261           Electric       Gov. Aggregation   AEP - OP        00140060790577232           Electric       Gov. Aggregation
AEP - CSP     00040621038783602           Electric       Gov. Aggregation   AEP - OP        00140060790578572           Electric       Gov. Aggregation
AEP - CSP     00040621038863103           Electric       Gov. Aggregation   AEP - OP        00140060790624241           Electric       Gov. Aggregation
AEP - CSP     00040621038922725           Electric       Gov. Aggregation   AEP - OP        00140060790687085           Electric       Gov. Aggregation
AEP - CSP     00040621039025604           Electric       Gov. Aggregation   AEP - OP        00140060788379542           Electric       Gov. Aggregation
AEP - CSP     00040621039081562           Electric       Gov. Aggregation   AEP - OP        00140060788425644           Electric       Gov. Aggregation
AEP - CSP     00040621030953682           Electric       Gov. Aggregation   AEP - OP        00140060788532655           Electric       Gov. Aggregation
AEP - CSP     00040621031421652           Electric       Gov. Aggregation   AEP - OP        00140060788544241           Electric       Gov. Aggregation
AEP - CSP     00040621031436872           Electric       Gov. Aggregation   AEP - OP        00140060788566233           Electric       Gov. Aggregation
AEP - CSP     00040621031444691           Electric       Gov. Aggregation   AEP - OP        00140060788585852           Electric       Gov. Aggregation
AEP - CSP     00040621035053554           Electric       Gov. Aggregation   AEP - OP        00140060788641100           Electric       Gov. Aggregation
AEP - CSP     00040621035149771           Electric       Gov. Aggregation   AEP - OP        00140060799602162           Electric       Gov. Aggregation
AEP - CSP     00040621035157954           Electric       Gov. Aggregation   AEP - OP        00140060799751223           Electric       Gov. Aggregation
AEP - CSP     00040621035201400           Electric       Gov. Aggregation   AEP - OP        00140060799776074           Electric       Gov. Aggregation
AEP - CSP     00040621035342675           Electric       Gov. Aggregation   AEP - OP        00140060799787800           Electric       Gov. Aggregation
AEP - CSP     00040621035427043           Electric       Gov. Aggregation   AEP - OP        00140060799811650           Electric       Gov. Aggregation
AEP - CSP     00040621032304874           Electric       Gov. Aggregation   AEP - OP        00140060781444365           Electric       Gov. Aggregation
AEP - CSP     00040621032309172           Electric       Gov. Aggregation   AEP - OP        00140060781552944           Electric       Gov. Aggregation
AEP - CSP     00040621032319950           Electric       Gov. Aggregation   AEP - OP        00140060781560775           Electric       Gov. Aggregation
AEP - CSP     00040621032335944           Electric       Gov. Aggregation   AEP - OP        00140060781583692           Electric       Gov. Aggregation
AEP - CSP     00040621032509132           Electric       Gov. Aggregation   AEP - OP        00140060781871720           Electric       Gov. Aggregation
AEP - CSP     00040621032563590           Electric       Gov. Aggregation   AEP - OP        00140060781942365           Electric       Gov. Aggregation
AEP - CSP     00040621031620745           Electric       Gov. Aggregation   AEP - OP        00140060781995254           Electric       Gov. Aggregation
AEP - CSP     00040621031683344           Electric       Gov. Aggregation   FEOH - TE       08005824332680018688        Electric       Gov. Aggregation
AEP - CSP     00040621031698914           Electric       Gov. Aggregation   FEOH - OE       08005838900001142076        Electric       Gov. Aggregation
AEP - CSP     00040621031754570           Electric       Gov. Aggregation   FEOH - TE       08005858982210014971        Electric       Gov. Aggregation
AEP - CSP     00040621031861531           Electric       Gov. Aggregation   FEOH - TE       08005890402680022882        Electric       Gov. Aggregation
AEP - CSP     00040621032099291           Electric       Gov. Aggregation   FEOH - TE       08005890602680022971        Electric       Gov. Aggregation
AEP - CSP     00040621027398845           Electric       Gov. Aggregation   FEOH - TE       08005894052680023988        Electric       Gov. Aggregation
AEP - CSP     00040621027407753           Electric       Gov. Aggregation   FEOH - TE       08005895302680093438        Electric       Gov. Aggregation
AEP - CSP     00040621027409521           Electric       Gov. Aggregation   AEP - OP        00140060792861554           Electric       Gov. Aggregation
AEP - CSP     00040621027476635           Electric       Gov. Aggregation   AEP - OP        00140060792960363           Electric       Gov. Aggregation
AEP - CSP     00040621027553381           Electric       Gov. Aggregation   AEP - OP        00140060793063592           Electric       Gov. Aggregation
AEP - CSP     00040621027860965           Electric       Gov. Aggregation   AEP - OP        00140060793110595           Electric       Gov. Aggregation
AEP - CSP     00040621027950023           Electric       Gov. Aggregation   AEP - OP        00140060793155515           Electric       Gov. Aggregation
AEP - CSP     00040621031006513           Electric       Gov. Aggregation   AEP - OP        00140060793230470           Electric       Gov. Aggregation
AEP - CSP     00040621031044761           Electric       Gov. Aggregation   AEP - OP        00140060790696284           Electric       Gov. Aggregation
AEP - CSP     00040621031130510           Electric       Gov. Aggregation   AEP - OP        00140060790749515           Electric       Gov. Aggregation
AEP - CSP     00040621031250560           Electric       Gov. Aggregation   AEP - OP        00140060790757004           Electric       Gov. Aggregation
AEP - CSP     00040621031696313           Electric       Gov. Aggregation   AEP - OP        00140060790769184           Electric       Gov. Aggregation
AEP - CSP     00040621031738375           Electric       Gov. Aggregation   AEP - OP        00140060790780263           Electric       Gov. Aggregation
AEP - CSP     00040621031751332           Electric       Gov. Aggregation   AEP - OP        00140060790811835           Electric       Gov. Aggregation
AEP - CSP     00040621031562652           Electric       Gov. Aggregation   AEP - OP        00140060790892433           Electric       Gov. Aggregation
AEP - CSP     00040621031676795           Electric       Gov. Aggregation   AEP - OP        00140060788716432           Electric       Gov. Aggregation
AEP - CSP     00040621031692470           Electric       Gov. Aggregation   AEP - OP        00140060788758251           Electric       Gov. Aggregation
AEP - CSP     00040621031728950           Electric       Gov. Aggregation   AEP - OP        00140060788899112           Electric       Gov. Aggregation
AEP - CSP     00040621031798994           Electric       Gov. Aggregation   AEP - OP        00140060788955753           Electric       Gov. Aggregation
AEP - CSP     00040621031804764           Electric       Gov. Aggregation   AEP - OP        00140060789070892           Electric       Gov. Aggregation
AEP - CSP     00040621031969075           Electric       Gov. Aggregation   AEP - OP        00140060789103770           Electric       Gov. Aggregation
AEP - CSP     00040621032110294           Electric       Gov. Aggregation   AEP - OP        00140060789159540           Electric       Gov. Aggregation
AEP - CSP     00040621032119604           Electric       Gov. Aggregation   AEP - OP        00140060799817311           Electric       Gov. Aggregation
AEP - CSP     00040621032286210           Electric       Gov. Aggregation   DPL             0486585593                  Electric       Gov. Aggregation
AEP - CSP     00040621032307504           Electric       Gov. Aggregation   DPL             0735461615                  Electric       Gov. Aggregation
AEP - CSP     00040621032350814           Electric       Gov. Aggregation   FEOH - TE       08000191512680022632        Electric       Gov. Aggregation
AEP - CSP     00040621032351595           Electric       Gov. Aggregation   FEOH - OE       08000195740001128286        Electric       Gov. Aggregation
AEP - CSP     00040621032372714           Electric       Gov. Aggregation   FEOH - OE       08003349300000784600        Electric       Gov. Aggregation
AEP - CSP     00040621032941844           Electric       Gov. Aggregation   AEP - OP        00140060782091142           Electric       Gov. Aggregation
AEP - CSP     00040621033074385           Electric       Gov. Aggregation   AEP - OP        00140060782157125           Electric       Gov. Aggregation
AEP - CSP     00040621033076682           Electric       Gov. Aggregation   AEP - OP        00140060782391240           Electric       Gov. Aggregation
AEP - CSP     00040621033284930           Electric       Gov. Aggregation   AEP - OP        00140060782406731           Electric       Gov. Aggregation
AEP - CSP     00040621033415644           Electric       Gov. Aggregation   AEP - OP        00140060782430464           Electric       Gov. Aggregation
AEP - CSP     00040621033495760           Electric       Gov. Aggregation   FEOH - TE       08005925362030030618        Electric       Gov. Aggregation
AEP - CSP     00040621033562284           Electric       Gov. Aggregation   FEOH - TE       08005925762440094353        Electric       Gov. Aggregation
AEP - CSP     00040621032116052           Electric       Gov. Aggregation   FEOH - TE       08005927132030032435        Electric       Gov. Aggregation
AEP - CSP     00040621032251032           Electric       Gov. Aggregation   FEOH - TE       08005927912030033118        Electric       Gov. Aggregation
AEP - CSP     00040621032299304           Electric       Gov. Aggregation   FEOH - TE       08005929822040000692        Electric       Gov. Aggregation
AEP - CSP     00040621032329920           Electric       Gov. Aggregation   FEOH - OE       08005951710001531086        Electric       Gov. Aggregation
AEP - CSP     00040621032567002           Electric       Gov. Aggregation   FEOH - TE       08005992682380031411        Electric       Gov. Aggregation
AEP - CSP     00040621032658060           Electric       Gov. Aggregation   AEP - OP        00140060793283535           Electric       Gov. Aggregation
AEP - CSP     00040621035457361           Electric       Gov. Aggregation   AEP - OP        00140060793293934           Electric       Gov. Aggregation
AEP - CSP     00040621035545000           Electric       Gov. Aggregation   AEP - OP        00140060793403154           Electric       Gov. Aggregation
AEP - CSP     00040621035579540           Electric       Gov. Aggregation   AEP - OP        00140060793497012           Electric       Gov. Aggregation
AEP - CSP     00040621035614921           Electric       Gov. Aggregation   AEP - OP        00140060793578691           Electric       Gov. Aggregation
AEP - CSP     00040621035676310           Electric       Gov. Aggregation   AEP - OP        00140060793655423           Electric       Gov. Aggregation
AEP - CSP     00040621035791420           Electric       Gov. Aggregation   AEP - OP        00140060793833103           Electric       Gov. Aggregation
AEP - CSP     00040621035934965           Electric       Gov. Aggregation   AEP - OP        00140060786495781           Electric       Gov. Aggregation
AEP - CSP     00040621031802612           Electric       Gov. Aggregation   AEP - OP        00140060786513733           Electric       Gov. Aggregation
AEP - CSP     00040621032023811           Electric       Gov. Aggregation   AEP - OP        00140060786758351           Electric       Gov. Aggregation
AEP - CSP     00040621032044112           Electric       Gov. Aggregation   AEP - OP        00140060786833625           Electric       Gov. Aggregation
AEP - CSP     00040621032084942           Electric       Gov. Aggregation   AEP - OP        00140060786848740           Electric       Gov. Aggregation
AEP - CSP     00040621032100065           Electric       Gov. Aggregation   AEP - OP        00140060786902860           Electric       Gov. Aggregation
AEP - CSP     00040621032206194           Electric       Gov. Aggregation   AEP - OP        00140060786966080           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621032293193           Electric       Gov. Aggregation   AEP - OP      00140060789199773           Electric       Gov. Aggregation
AEP - CSP     00040621039161660           Electric       Gov. Aggregation   AEP - OP      00140060789270361           Electric       Gov. Aggregation
AEP - CSP     00040621039385093           Electric       Gov. Aggregation   AEP - OP      00140060789285761           Electric       Gov. Aggregation
AEP - CSP     00040621039507593           Electric       Gov. Aggregation   AEP - OP      00140060789309383           Electric       Gov. Aggregation
AEP - CSP     00040621039531625           Electric       Gov. Aggregation   AEP - OP      00140060789335252           Electric       Gov. Aggregation
AEP - CSP     00040621039595455           Electric       Gov. Aggregation   AEP - OP      00140060789457181           Electric       Gov. Aggregation
AEP - CSP     00040621032132151           Electric       Gov. Aggregation   AEP - OP      00140060789683445           Electric       Gov. Aggregation
AEP - CSP     00040621032179001           Electric       Gov. Aggregation   FEOH - OE     08003755450000584248        Electric       Gov. Aggregation
AEP - CSP     00040621032181845           Electric       Gov. Aggregation   FEOH - OE     08003944860000776753        Electric       Gov. Aggregation
AEP - CSP     00040621032190824           Electric       Gov. Aggregation   FEOH - OE     08004011175001417770        Electric       Gov. Aggregation
AEP - CSP     00040621032287061           Electric       Gov. Aggregation   FEOH - OE     08004072060000786853        Electric       Gov. Aggregation
AEP - CSP     00040621032514442           Electric       Gov. Aggregation   FEOH - TE     08004162322210014276        Electric       Gov. Aggregation
AEP - CSP     00040621027959633           Electric       Gov. Aggregation   FEOH - OE     08004163520001041713        Electric       Gov. Aggregation
AEP - CSP     00040621028092795           Electric       Gov. Aggregation   AEP - OP      00140060782485772           Electric       Gov. Aggregation
AEP - CSP     00040621028145820           Electric       Gov. Aggregation   AEP - OP      00140060782668992           Electric       Gov. Aggregation
AEP - CSP     00040621028158742           Electric       Gov. Aggregation   AEP - OP      00140060782941764           Electric       Gov. Aggregation
AEP - CSP     00040621028208824           Electric       Gov. Aggregation   AEP - OP      00140060783018074           Electric       Gov. Aggregation
AEP - CSP     00040621028237734           Electric       Gov. Aggregation   AEP - OP      00140060783037372           Electric       Gov. Aggregation
AEP - CSP     00040621033605842           Electric       Gov. Aggregation   AEP - OP      00140060783154991           Electric       Gov. Aggregation
AEP - CSP     00040621033620965           Electric       Gov. Aggregation   AEP - OP      00140060783275675           Electric       Gov. Aggregation
AEP - CSP     00040621033708171           Electric       Gov. Aggregation   FEOH - TE     08005993002420032744        Electric       Gov. Aggregation
AEP - CSP     00040621033753721           Electric       Gov. Aggregation   FEOH - TE     08005993002690090429        Electric       Gov. Aggregation
AEP - CSP     00040621033917343           Electric       Gov. Aggregation   FEOH - TE     08005993502420032227        Electric       Gov. Aggregation
AEP - CSP     00040621034284595           Electric       Gov. Aggregation   FEOH - TE     08005995092080021148        Electric       Gov. Aggregation
AEP - CSP     00040621032701211           Electric       Gov. Aggregation   FEOH - TE     08005998112080026718        Electric       Gov. Aggregation
AEP - CSP     00040621032705620           Electric       Gov. Aggregation   FEOH - TE     08005998452080026878        Electric       Gov. Aggregation
AEP - CSP     00040621032772322           Electric       Gov. Aggregation   FEOH - TE     08006060782080027462        Electric       Gov. Aggregation
AEP - CSP     00040621032920903           Electric       Gov. Aggregation   AEP - OP      00140060794083684           Electric       Gov. Aggregation
AEP - CSP     00040621032926393           Electric       Gov. Aggregation   AEP - OP      00140060794123592           Electric       Gov. Aggregation
AEP - CSP     00040621032974395           Electric       Gov. Aggregation   AEP - OP      00140060794124380           Electric       Gov. Aggregation
AEP - CSP     00040621032404295           Electric       Gov. Aggregation   AEP - OP      00140060794187154           Electric       Gov. Aggregation
AEP - CSP     00040621032759301           Electric       Gov. Aggregation   AEP - OP      00140060794276335           Electric       Gov. Aggregation
AEP - CSP     00040621032960860           Electric       Gov. Aggregation   AEP - OP      00140060794307064           Electric       Gov. Aggregation
AEP - CSP     00040621033036471           Electric       Gov. Aggregation   AEP - OP      00140060794367731           Electric       Gov. Aggregation
AEP - CSP     00040621033037933           Electric       Gov. Aggregation   AEP - OP      00140060794421925           Electric       Gov. Aggregation
AEP - CSP     00040621033069790           Electric       Gov. Aggregation   AEP - OP      00140060794490321           Electric       Gov. Aggregation
AEP - CSP     00040621036085485           Electric       Gov. Aggregation   AEP - OP      00140060794504155           Electric       Gov. Aggregation
AEP - CSP     00040621036103450           Electric       Gov. Aggregation   AEP - OP      00140060794523091           Electric       Gov. Aggregation
AEP - CSP     00040621036158545           Electric       Gov. Aggregation   AEP - OP      00140060794629390           Electric       Gov. Aggregation
AEP - CSP     00040621036171955           Electric       Gov. Aggregation   AEP - OP      00140060794855704           Electric       Gov. Aggregation
AEP - CSP     00040621036340831           Electric       Gov. Aggregation   AEP - OP      00140060794898341           Electric       Gov. Aggregation
AEP - CSP     00040621036413861           Electric       Gov. Aggregation   AEP - OP      00140060794906690           Electric       Gov. Aggregation
AEP - CSP     00040621036431383           Electric       Gov. Aggregation   AEP - OP      00140060795040904           Electric       Gov. Aggregation
AEP - CSP     00040621039647011           Electric       Gov. Aggregation   AEP - OP      00140060795131013           Electric       Gov. Aggregation
AEP - CSP     00040621039670413           Electric       Gov. Aggregation   AEP - OP      00140060795138303           Electric       Gov. Aggregation
AEP - CSP     00040621039761680           Electric       Gov. Aggregation   AEP - OP      00140060795153413           Electric       Gov. Aggregation
AEP - CSP     00040621039805210           Electric       Gov. Aggregation   AEP - OP      00140060795268172           Electric       Gov. Aggregation
AEP - CSP     00040621039856082           Electric       Gov. Aggregation   AEP - OP      00140060795370813           Electric       Gov. Aggregation
AEP - CSP     00040621040008794           Electric       Gov. Aggregation   AEP - OP      00140060787004611           Electric       Gov. Aggregation
AEP - CSP     00040621040081463           Electric       Gov. Aggregation   AEP - OP      00140060787029763           Electric       Gov. Aggregation
AEP - CSP     00040621032369955           Electric       Gov. Aggregation   AEP - OP      00140060787070742           Electric       Gov. Aggregation
AEP - CSP     00040621032382773           Electric       Gov. Aggregation   AEP - OP      00140060787130964           Electric       Gov. Aggregation
AEP - CSP     00040621032492060           Electric       Gov. Aggregation   AEP - OP      00140060787352953           Electric       Gov. Aggregation
AEP - CSP     00040621032547392           Electric       Gov. Aggregation   AEP - OP      00140060787354034           Electric       Gov. Aggregation
AEP - CSP     00040621032613042           Electric       Gov. Aggregation   FEOH - TE     08005584472390001620        Electric       Gov. Aggregation
AEP - CSP     00040621032713114           Electric       Gov. Aggregation   FEOH - TE     08005585322420032763        Electric       Gov. Aggregation
AEP - CSP     00040621032736831           Electric       Gov. Aggregation   FEOH - TE     08005586082210013010        Electric       Gov. Aggregation
AEP - CSP     00040621032645412           Electric       Gov. Aggregation   FEOH - TE     08005587682210013293        Electric       Gov. Aggregation
AEP - CSP     00040621032655413           Electric       Gov. Aggregation   FEOH - TE     08005589442210013729        Electric       Gov. Aggregation
AEP - CSP     00040621032709792           Electric       Gov. Aggregation   FEOH - TE     08005600802680021697        Electric       Gov. Aggregation
AEP - CSP     00040621032758252           Electric       Gov. Aggregation   FEOH - TE     08005601542680022027        Electric       Gov. Aggregation
AEP - CSP     00040621032776511           Electric       Gov. Aggregation   AEP - OP      00140060783553675           Electric       Gov. Aggregation
AEP - CSP     00040621032982704           Electric       Gov. Aggregation   AEP - OP      00140060783557321           Electric       Gov. Aggregation
AEP - CSP     00040621033030563           Electric       Gov. Aggregation   AEP - OP      00140060783657492           Electric       Gov. Aggregation
AEP - CSP     00040621034432131           Electric       Gov. Aggregation   AEP - OP      00140060783725531           Electric       Gov. Aggregation
AEP - CSP     00040621034481120           Electric       Gov. Aggregation   AEP - OP      00140060783737670           Electric       Gov. Aggregation
AEP - CSP     00040621034589443           Electric       Gov. Aggregation   AEP - OP      00140060783767535           Electric       Gov. Aggregation
AEP - CSP     00040621034669290           Electric       Gov. Aggregation   AEP - OP      00140060789725835           Electric       Gov. Aggregation
AEP - CSP     00040621034753161           Electric       Gov. Aggregation   AEP - OP      00140060789791404           Electric       Gov. Aggregation
AEP - CSP     00040621034967360           Electric       Gov. Aggregation   AEP - OP      00140060789801393           Electric       Gov. Aggregation
AEP - CSP     00040621035135322           Electric       Gov. Aggregation   AEP - OP      00140060789886070           Electric       Gov. Aggregation
AEP - CSP     00040621033164242           Electric       Gov. Aggregation   AEP - OP      00140060789893420           Electric       Gov. Aggregation
AEP - CSP     00040621033269724           Electric       Gov. Aggregation   AEP - OP      00140060789897342           Electric       Gov. Aggregation
AEP - CSP     00040621033337880           Electric       Gov. Aggregation   AEP - OP      00140060789960635           Electric       Gov. Aggregation
AEP - CSP     00040621033409854           Electric       Gov. Aggregation   FEOH - OE     08004222175000098564        Electric       Gov. Aggregation
AEP - CSP     00040621033437910           Electric       Gov. Aggregation   FEOH - OE     08004277000000803567        Electric       Gov. Aggregation
AEP - CSP     00040621033524283           Electric       Gov. Aggregation   FEOH - OE     08004578430001383768        Electric       Gov. Aggregation
AEP - CSP     00040621033715770           Electric       Gov. Aggregation   FEOH - OE     08004593120000784269        Electric       Gov. Aggregation
AEP - CSP     00040621040231743           Electric       Gov. Aggregation   FEOH - OE     08004722040000804373        Electric       Gov. Aggregation
AEP - CSP     00040621040282863           Electric       Gov. Aggregation   AEP - OP      00140060787529125           Electric       Gov. Aggregation
AEP - CSP     00040621040520634           Electric       Gov. Aggregation   AEP - OP      00140060787675904           Electric       Gov. Aggregation
AEP - CSP     00040621040707523           Electric       Gov. Aggregation   AEP - OP      00140060787802872           Electric       Gov. Aggregation
AEP - CSP     00040621040733830           Electric       Gov. Aggregation   AEP - OP      00140060787868485           Electric       Gov. Aggregation
AEP - CSP     00040621040784395           Electric       Gov. Aggregation   AEP - OP      00140060787920194           Electric       Gov. Aggregation
AEP - CSP     00040621040814025           Electric       Gov. Aggregation   AEP - OP      00140060788123413           Electric       Gov. Aggregation
AEP - CSP     00040621036451350           Electric       Gov. Aggregation   AEP - OP      00140060788196933           Electric       Gov. Aggregation
AEP - CSP     00040621036456541           Electric       Gov. Aggregation   AEP - OP      00140060790967222           Electric       Gov. Aggregation
AEP - CSP     00040621036500730           Electric       Gov. Aggregation   AEP - OP      00140060790992543           Electric       Gov. Aggregation
AEP - CSP     00040621036638551           Electric       Gov. Aggregation   AEP - OP      00140060791101690           Electric       Gov. Aggregation
AEP - CSP     00040621036646870           Electric       Gov. Aggregation   AEP - OP      00140060791312910           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621036681183           Electric       Gov. Aggregation   AEP - OP      00140060791383553           Electric       Gov. Aggregation
AEP - CSP     00040621036728645           Electric       Gov. Aggregation   AEP - OP      00140060791467182           Electric       Gov. Aggregation
AEP - CSP     00040621032981204           Electric       Gov. Aggregation   AEP - OP      00140060791496461           Electric       Gov. Aggregation
AEP - CSP     00040621033042012           Electric       Gov. Aggregation   AEP - OP      00140060795411382           Electric       Gov. Aggregation
AEP - CSP     00040621033157523           Electric       Gov. Aggregation   AEP - OP      00140060795448683           Electric       Gov. Aggregation
AEP - CSP     00040621033256042           Electric       Gov. Aggregation   AEP - OP      00140060795529963           Electric       Gov. Aggregation
AEP - CSP     00040621033564983           Electric       Gov. Aggregation   AEP - OP      00140060795540353           Electric       Gov. Aggregation
AEP - CSP     00040621033693822           Electric       Gov. Aggregation   AEP - OP      00140060795569990           Electric       Gov. Aggregation
AEP - CSP     00040621033055592           Electric       Gov. Aggregation   AEP - OP      00140060795727310           Electric       Gov. Aggregation
AEP - CSP     00040621033152201           Electric       Gov. Aggregation   AEP - OP      00140060795749490           Electric       Gov. Aggregation
AEP - CSP     00040621033321392           Electric       Gov. Aggregation   AEP - OP      00140060783803544           Electric       Gov. Aggregation
AEP - CSP     00040621033382132           Electric       Gov. Aggregation   AEP - OP      00140060783891192           Electric       Gov. Aggregation
AEP - CSP     00040621033620451           Electric       Gov. Aggregation   AEP - OP      00140060784160851           Electric       Gov. Aggregation
AEP - CSP     00040621033639783           Electric       Gov. Aggregation   AEP - OP      00140060784267874           Electric       Gov. Aggregation
AEP - CSP     00040621033053024           Electric       Gov. Aggregation   AEP - OP      00140060784279843           Electric       Gov. Aggregation
AEP - CSP     00040621033279481           Electric       Gov. Aggregation   AEP - OP      00140060784330051           Electric       Gov. Aggregation
AEP - CSP     00040621033294960           Electric       Gov. Aggregation   AEP - OP      00140060784342785           Electric       Gov. Aggregation
AEP - CSP     00040621033332801           Electric       Gov. Aggregation   AEP - OP      00140060789994950           Electric       Gov. Aggregation
AEP - CSP     00040621033514115           Electric       Gov. Aggregation   AEP - OP      00140060790007380           Electric       Gov. Aggregation
AEP - CSP     00040621033580400           Electric       Gov. Aggregation   AEP - OP      00140060790127221           Electric       Gov. Aggregation
AEP - CSP     00040621028622332           Electric       Gov. Aggregation   AEP - OP      00140060790177913           Electric       Gov. Aggregation
AEP - CSP     00040621028746531           Electric       Gov. Aggregation   AEP - OP      00140060790257384           Electric       Gov. Aggregation
AEP - CSP     00040621028768214           Electric       Gov. Aggregation   AEP - OP      00140060790307362           Electric       Gov. Aggregation
AEP - CSP     00040621028792320           Electric       Gov. Aggregation   AEP - OP      00140060790374510           Electric       Gov. Aggregation
AEP - CSP     00040621028914022           Electric       Gov. Aggregation   FEOH - OE     08004732510000791384        Electric       Gov. Aggregation
AEP - CSP     00040621029043282           Electric       Gov. Aggregation   FEOH - OE     08004732510000791389        Electric       Gov. Aggregation
AEP - CSP     00040621029068395           Electric       Gov. Aggregation   FEOH - OE     08004733460001382953        Electric       Gov. Aggregation
AEP - CSP     00040621035211641           Electric       Gov. Aggregation   FEOH - OE     08004739160000790811        Electric       Gov. Aggregation
AEP - CSP     00040621035391662           Electric       Gov. Aggregation   FEOH - OE     08004763460001041856        Electric       Gov. Aggregation
AEP - CSP     00040621035567674           Electric       Gov. Aggregation   FEOH - OE     08004764345001305092        Electric       Gov. Aggregation
AEP - CSP     00040621035876934           Electric       Gov. Aggregation   FEOH - TE     08005601762680022101        Electric       Gov. Aggregation
AEP - CSP     00040621036063803           Electric       Gov. Aggregation   FEOH - TE     08005604792030093278        Electric       Gov. Aggregation
AEP - CSP     00040621036455115           Electric       Gov. Aggregation   FEOH - TE     08005609282680024957        Electric       Gov. Aggregation
AEP - CSP     00040621036515154           Electric       Gov. Aggregation   FEOH - TE     08005651892210014473        Electric       Gov. Aggregation
AEP - CSP     00040621041030181           Electric       Gov. Aggregation   FEOH - TE     08005654112210015000        Electric       Gov. Aggregation
AEP - CSP     00040621041218313           Electric       Gov. Aggregation   FEOH - TE     08005672052300026318        Electric       Gov. Aggregation
AEP - CSP     00040621041414005           Electric       Gov. Aggregation   FEOH - TE     08005673192300029705        Electric       Gov. Aggregation
AEP - CSP     00040621041537034           Electric       Gov. Aggregation   AEP - OP      00140060790480145           Electric       Gov. Aggregation
AEP - CSP     00040621041968593           Electric       Gov. Aggregation   AEP - OP      00140060790528372           Electric       Gov. Aggregation
AEP - CSP     00040621042031800           Electric       Gov. Aggregation   AEP - OP      00140060790596460           Electric       Gov. Aggregation
AEP - CSP     00040621042184851           Electric       Gov. Aggregation   AEP - OP      00140060790694525           Electric       Gov. Aggregation
AEP - CSP     00040621033794584           Electric       Gov. Aggregation   AEP - OP      00140060790832041           Electric       Gov. Aggregation
AEP - CSP     00040621033806630           Electric       Gov. Aggregation   AEP - OP      00140060790889503           Electric       Gov. Aggregation
AEP - CSP     00040621034019074           Electric       Gov. Aggregation   AEP - OP      00140060790897692           Electric       Gov. Aggregation
AEP - CSP     00040621034028422           Electric       Gov. Aggregation   AEP - OP      00140060788279480           Electric       Gov. Aggregation
AEP - CSP     00040621034056323           Electric       Gov. Aggregation   AEP - OP      00140060788311122           Electric       Gov. Aggregation
AEP - CSP     00040621034097564           Electric       Gov. Aggregation   AEP - OP      00140060788437251           Electric       Gov. Aggregation
AEP - CSP     00040621034341053           Electric       Gov. Aggregation   AEP - OP      00140060788473055           Electric       Gov. Aggregation
AEP - CSP     00040621033773300           Electric       Gov. Aggregation   AEP - OP      00140060788541385           Electric       Gov. Aggregation
AEP - CSP     00040621033809251           Electric       Gov. Aggregation   AEP - OP      00140060788610552           Electric       Gov. Aggregation
AEP - CSP     00040621033882745           Electric       Gov. Aggregation   AEP - OP      00140060788684401           Electric       Gov. Aggregation
AEP - CSP     00040621033920830           Electric       Gov. Aggregation   AEP - OP      00140060784362852           Electric       Gov. Aggregation
AEP - CSP     00040621033996325           Electric       Gov. Aggregation   AEP - OP      00140060784523574           Electric       Gov. Aggregation
AEP - CSP     00040621034046513           Electric       Gov. Aggregation   AEP - OP      00140060784557723           Electric       Gov. Aggregation
AEP - CSP     00040621033737095           Electric       Gov. Aggregation   AEP - OP      00140060784570784           Electric       Gov. Aggregation
AEP - CSP     00040621033950580           Electric       Gov. Aggregation   AEP - OP      00140060784587664           Electric       Gov. Aggregation
AEP - CSP     00040621034175591           Electric       Gov. Aggregation   AEP - OP      00140060784654850           Electric       Gov. Aggregation
AEP - CSP     00040621034188783           Electric       Gov. Aggregation   AEP - OP      00140060785032330           Electric       Gov. Aggregation
AEP - CSP     00040621034371705           Electric       Gov. Aggregation   AEP - OP      00140060791564452           Electric       Gov. Aggregation
AEP - CSP     00040621034480860           Electric       Gov. Aggregation   AEP - OP      00140060791569742           Electric       Gov. Aggregation
AEP - CSP     00040621036534173           Electric       Gov. Aggregation   AEP - OP      00140060791578523           Electric       Gov. Aggregation
AEP - CSP     00040621036603982           Electric       Gov. Aggregation   AEP - OP      00140060791594622           Electric       Gov. Aggregation
AEP - CSP     00040621036781875           Electric       Gov. Aggregation   AEP - OP      00140060791686770           Electric       Gov. Aggregation
AEP - CSP     00040621036898204           Electric       Gov. Aggregation   AEP - OP      00140060791695500           Electric       Gov. Aggregation
AEP - CSP     00040621036898640           Electric       Gov. Aggregation   AEP - OP      00140060791713483           Electric       Gov. Aggregation
AEP - CSP     00040621037016755           Electric       Gov. Aggregation   AEP - OP      00140060791737634           Electric       Gov. Aggregation
AEP - CSP     00040621033654285           Electric       Gov. Aggregation   AEP - OP      00140060791766564           Electric       Gov. Aggregation
AEP - CSP     00040621033734705           Electric       Gov. Aggregation   AEP - OP      00140060791828335           Electric       Gov. Aggregation
AEP - CSP     00040621034031480           Electric       Gov. Aggregation   AEP - OP      00140060791861260           Electric       Gov. Aggregation
AEP - CSP     00040621034043711           Electric       Gov. Aggregation   AEP - OP      00140060791885162           Electric       Gov. Aggregation
AEP - CSP     00040621034103870           Electric       Gov. Aggregation   AEP - OP      00140060791885540           Electric       Gov. Aggregation
AEP - CSP     00040621034117265           Electric       Gov. Aggregation   AEP - OP      00140060791939023           Electric       Gov. Aggregation
AEP - CSP     00040621034266811           Electric       Gov. Aggregation   FEOH - OE     08004945880001128617        Electric       Gov. Aggregation
AEP - CSP     00040621036762241           Electric       Gov. Aggregation   FEOH - OE     08004954440001446602        Electric       Gov. Aggregation
AEP - CSP     00040621036894654           Electric       Gov. Aggregation   FEOH - TE     08005297072680023973        Electric       Gov. Aggregation
AEP - CSP     00040621037111692           Electric       Gov. Aggregation   FEOH - TE     08005676052300030898        Electric       Gov. Aggregation
AEP - CSP     00040621037201215           Electric       Gov. Aggregation   FEOH - TE     08005678132310092838        Electric       Gov. Aggregation
AEP - CSP     00040621037215204           Electric       Gov. Aggregation   FEOH - TE     08005679252600003435        Electric       Gov. Aggregation
AEP - CSP     00040621037218040           Electric       Gov. Aggregation   FEOH - TE     08005726232040000724        Electric       Gov. Aggregation
AEP - CSP     00040621037409292           Electric       Gov. Aggregation   FEOH - TE     08005728832040001591        Electric       Gov. Aggregation
AEP - CSP     00040621042230243           Electric       Gov. Aggregation   AEP - OP      00140060790981711           Electric       Gov. Aggregation
AEP - CSP     00040621042411192           Electric       Gov. Aggregation   AEP - OP      00140060790986401           Electric       Gov. Aggregation
AEP - CSP     00040621042837770           Electric       Gov. Aggregation   AEP - OP      00140060791053352           Electric       Gov. Aggregation
AEP - CSP     00040621042947211           Electric       Gov. Aggregation   AEP - OP      00140060791058194           Electric       Gov. Aggregation
AEP - CSP     00040621042950190           Electric       Gov. Aggregation   AEP - OP      00140060791155325           Electric       Gov. Aggregation
AEP - CSP     00040621034112780           Electric       Gov. Aggregation   AEP - OP      00140060791413910           Electric       Gov. Aggregation
AEP - CSP     00040621034171692           Electric       Gov. Aggregation   AEP - OP      00140060791457065           Electric       Gov. Aggregation
AEP - CSP     00040621034201893           Electric       Gov. Aggregation   FEOH - TE     08006061192080027602        Electric       Gov. Aggregation
AEP - CSP     00040621034383113           Electric       Gov. Aggregation   FEOH - TE     08006063162080028272        Electric       Gov. Aggregation
AEP - CSP     00040621034387655           Electric       Gov. Aggregation   FEOH - TE     08006063702080028465        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621034646995           Electric       Gov. Aggregation   FEOH - TE     08006063992080028568        Electric       Gov. Aggregation
AEP - CSP     00040621034727200           Electric       Gov. Aggregation   FEOH - TE     08006064342080028605        Electric       Gov. Aggregation
AEP - CSP     00040621034344265           Electric       Gov. Aggregation   FEOH - TE     08006068502210013132        Electric       Gov. Aggregation
AEP - CSP     00040621034483304           Electric       Gov. Aggregation   FEOH - TE     08006069512210013522        Electric       Gov. Aggregation
AEP - CSP     00040621034822433           Electric       Gov. Aggregation   AEP - OP      00140060785069491           Electric       Gov. Aggregation
AEP - CSP     00040621034945110           Electric       Gov. Aggregation   AEP - OP      00140060785089623           Electric       Gov. Aggregation
AEP - CSP     00040621035161044           Electric       Gov. Aggregation   AEP - OP      00140060785165385           Electric       Gov. Aggregation
AEP - CSP     00040621029162630           Electric       Gov. Aggregation   AEP - OP      00140060785347540           Electric       Gov. Aggregation
AEP - CSP     00040621029244132           Electric       Gov. Aggregation   AEP - OP      00140060785349962           Electric       Gov. Aggregation
AEP - CSP     00040621029247984           Electric       Gov. Aggregation   AEP - OP      00140060785386634           Electric       Gov. Aggregation
AEP - CSP     00040621029332472           Electric       Gov. Aggregation   AEP - OP      00140060785436092           Electric       Gov. Aggregation
AEP - CSP     00040621029388662           Electric       Gov. Aggregation   AEP - OP      00140060788810021           Electric       Gov. Aggregation
AEP - CSP     00040621034533623           Electric       Gov. Aggregation   AEP - OP      00140060788977784           Electric       Gov. Aggregation
AEP - CSP     00040621034592270           Electric       Gov. Aggregation   AEP - OP      00140060789009793           Electric       Gov. Aggregation
AEP - CSP     00040621034666215           Electric       Gov. Aggregation   AEP - OP      00140060789011730           Electric       Gov. Aggregation
AEP - CSP     00040621034746550           Electric       Gov. Aggregation   AEP - OP      00140060789084622           Electric       Gov. Aggregation
AEP - CSP     00040621034790040           Electric       Gov. Aggregation   AEP - OP      00140060789130042           Electric       Gov. Aggregation
AEP - CSP     00040621035186301           Electric       Gov. Aggregation   AEP - OP      00140060789250422           Electric       Gov. Aggregation
AEP - CSP     00040621035199392           Electric       Gov. Aggregation   FEOH - TE     08005321712900007725        Electric       Gov. Aggregation
AEP - CSP     00040621037054062           Electric       Gov. Aggregation   FEOH - TE     08005363902300026361        Electric       Gov. Aggregation
AEP - CSP     00040621037063413           Electric       Gov. Aggregation   FEOH - TE     08005365952300030071        Electric       Gov. Aggregation
AEP - CSP     00040621037220224           Electric       Gov. Aggregation   FEOH - TE     08005366992300030367        Electric       Gov. Aggregation
AEP - CSP     00040621037419875           Electric       Gov. Aggregation   FEOH - TE     08005395402210012849        Electric       Gov. Aggregation
AEP - CSP     00040621037586331           Electric       Gov. Aggregation   AEP - OP      00140060795958331           Electric       Gov. Aggregation
AEP - CSP     00040621037608000           Electric       Gov. Aggregation   AEP - OP      00140060795963465           Electric       Gov. Aggregation
AEP - CSP     00040621037636641           Electric       Gov. Aggregation   AEP - OP      00140060796307154           Electric       Gov. Aggregation
AEP - CSP     00040621034370103           Electric       Gov. Aggregation   AEP - OP      00140060796517295           Electric       Gov. Aggregation
AEP - CSP     00040621034410142           Electric       Gov. Aggregation   AEP - OP      00140060792022923           Electric       Gov. Aggregation
AEP - CSP     00040621034539310           Electric       Gov. Aggregation   AEP - OP      00140060792296781           Electric       Gov. Aggregation
AEP - CSP     00040621034604924           Electric       Gov. Aggregation   AEP - OP      00140060792304870           Electric       Gov. Aggregation
AEP - CSP     00040621034669585           Electric       Gov. Aggregation   AEP - OP      00140060792375022           Electric       Gov. Aggregation
AEP - CSP     00040621034751705           Electric       Gov. Aggregation   AEP - OP      00140060792382913           Electric       Gov. Aggregation
AEP - CSP     00040621034797083           Electric       Gov. Aggregation   AEP - OP      00140060792428304           Electric       Gov. Aggregation
AEP - CSP     00040621037505764           Electric       Gov. Aggregation   AEP - OP      00140060792434670           Electric       Gov. Aggregation
AEP - CSP     00040621037526312           Electric       Gov. Aggregation   FEOH - TE     08006112262210014558        Electric       Gov. Aggregation
AEP - CSP     00040621037938105           Electric       Gov. Aggregation   FEOH - TE     08006180193000000154        Electric       Gov. Aggregation
AEP - CSP     00040621038068481           Electric       Gov. Aggregation   FEOH - TE     08006183103000004592        Electric       Gov. Aggregation
AEP - CSP     00040621038268364           Electric       Gov. Aggregation   FEOH - TE     08006183633000008936        Electric       Gov. Aggregation
AEP - CSP     00040621038271121           Electric       Gov. Aggregation   FEOH - TE     08006185392380032860        Electric       Gov. Aggregation
AEP - CSP     00040621038397613           Electric       Gov. Aggregation   FEOH - TE     08006187182170013140        Electric       Gov. Aggregation
AEP - CSP     00040621042991915           Electric       Gov. Aggregation   FEOH - TE     08006250962210011969        Electric       Gov. Aggregation
AEP - CSP     00040621042995430           Electric       Gov. Aggregation   AEP - OP      00140060785497323           Electric       Gov. Aggregation
AEP - CSP     00040621043305361           Electric       Gov. Aggregation   AEP - OP      00140060785660843           Electric       Gov. Aggregation
AEP - CSP     00040621043314922           Electric       Gov. Aggregation   AEP - OP      00140060785691432           Electric       Gov. Aggregation
AEP - CSP     00040621043330162           Electric       Gov. Aggregation   AEP - OP      00140060785834030           Electric       Gov. Aggregation
AEP - CSP     00040621043409260           Electric       Gov. Aggregation   AEP - OP      00140060785834494           Electric       Gov. Aggregation
AEP - CSP     00040621043490075           Electric       Gov. Aggregation   AEP - OP      00140060785920094           Electric       Gov. Aggregation
AEP - CSP     00040621034738815           Electric       Gov. Aggregation   AEP - OP      00140060785999562           Electric       Gov. Aggregation
AEP - CSP     00040621034797961           Electric       Gov. Aggregation   FEOH - TE     08005752272600007608        Electric       Gov. Aggregation
AEP - CSP     00040621034808505           Electric       Gov. Aggregation   FEOH - TE     08005757142600010688        Electric       Gov. Aggregation
AEP - CSP     00040621034854045           Electric       Gov. Aggregation   FEOH - TE     08005759182640019395        Electric       Gov. Aggregation
AEP - CSP     00040621034907515           Electric       Gov. Aggregation   FEOH - TE     08005780532800093179        Electric       Gov. Aggregation
AEP - CSP     00040621035048621           Electric       Gov. Aggregation   FEOH - TE     08005786812080027354        Electric       Gov. Aggregation
AEP - CSP     00040621035188591           Electric       Gov. Aggregation   FEOH - TE     08005788132080027871        Electric       Gov. Aggregation
AEP - CSP     00040621035553683           Electric       Gov. Aggregation   FEOH - TE     08005789632810020806        Electric       Gov. Aggregation
AEP - CSP     00040621036262193           Electric       Gov. Aggregation   AEP - OP      00140060791468894           Electric       Gov. Aggregation
AEP - CSP     00040621036364293           Electric       Gov. Aggregation   AEP - OP      00140060791611381           Electric       Gov. Aggregation
AEP - CSP     00040621036376055           Electric       Gov. Aggregation   AEP - OP      00140060791789301           Electric       Gov. Aggregation
AEP - CSP     00040621036487970           Electric       Gov. Aggregation   AEP - OP      00140060791884811           Electric       Gov. Aggregation
AEP - CSP     00040621036607800           Electric       Gov. Aggregation   AEP - OP      00140060791889240           Electric       Gov. Aggregation
AEP - CSP     00040621036671934           Electric       Gov. Aggregation   AEP - OP      00140060791897355           Electric       Gov. Aggregation
AEP - CSP     00040621029426822           Electric       Gov. Aggregation   AEP - OP      00140060791974790           Electric       Gov. Aggregation
AEP - CSP     00040621029755382           Electric       Gov. Aggregation   FEOH - TE     08005789642080028304        Electric       Gov. Aggregation
AEP - CSP     00040621029836443           Electric       Gov. Aggregation   FEOH - TE     08005822862640020995        Electric       Gov. Aggregation
AEP - CSP     00040621030005622           Electric       Gov. Aggregation   FEOH - TE     08005824172640022755        Electric       Gov. Aggregation
AEP - CSP     00040621030352724           Electric       Gov. Aggregation   FEOH - OE     08005834870001405960        Electric       Gov. Aggregation
AEP - CSP     00040621030374894           Electric       Gov. Aggregation   FEOH - TE     08005850732810022229        Electric       Gov. Aggregation
AEP - CSP     00040621030403935           Electric       Gov. Aggregation   FEOH - TE     08005859232210015161        Electric       Gov. Aggregation
AEP - CSP     00040621034924315           Electric       Gov. Aggregation   AEP - OP      00140060796619343           Electric       Gov. Aggregation
AEP - CSP     00040621034932853           Electric       Gov. Aggregation   AEP - OP      00140060796682802           Electric       Gov. Aggregation
AEP - CSP     00040621035034282           Electric       Gov. Aggregation   AEP - OP      00140060796774484           Electric       Gov. Aggregation
AEP - CSP     00040621035037644           Electric       Gov. Aggregation   AEP - OP      00140060796784790           Electric       Gov. Aggregation
AEP - CSP     00040621035133420           Electric       Gov. Aggregation   AEP - OP      00140060796875833           Electric       Gov. Aggregation
AEP - CSP     00040621035150260           Electric       Gov. Aggregation   AEP - OP      00140060796969871           Electric       Gov. Aggregation
AEP - CSP     00040621035277533           Electric       Gov. Aggregation   AEP - OP      00140060797070093           Electric       Gov. Aggregation
AEP - CSP     00040621035322313           Electric       Gov. Aggregation   AEP - OP      00140060786075555           Electric       Gov. Aggregation
AEP - CSP     00040621035382743           Electric       Gov. Aggregation   AEP - OP      00140060786344660           Electric       Gov. Aggregation
AEP - CSP     00040621035419820           Electric       Gov. Aggregation   AEP - OP      00140060786345821           Electric       Gov. Aggregation
AEP - CSP     00040621035709203           Electric       Gov. Aggregation   AEP - OP      00140060786369840           Electric       Gov. Aggregation
AEP - CSP     00040621035830770           Electric       Gov. Aggregation   AEP - OP      00140060786728174           Electric       Gov. Aggregation
AEP - CSP     00040621035859742           Electric       Gov. Aggregation   AEP - OP      00140060786928300           Electric       Gov. Aggregation
AEP - CSP     00040621035873461           Electric       Gov. Aggregation   AEP - OP      00140060797145371           Electric       Gov. Aggregation
AEP - CSP     00040621037887150           Electric       Gov. Aggregation   AEP - OP      00140060797237533           Electric       Gov. Aggregation
AEP - CSP     00040621038087404           Electric       Gov. Aggregation   AEP - OP      00140060797316852           Electric       Gov. Aggregation
AEP - CSP     00040621038110071           Electric       Gov. Aggregation   AEP - OP      00140060797325401           Electric       Gov. Aggregation
AEP - CSP     00040621038189231           Electric       Gov. Aggregation   AEP - OP      00140060797369433           Electric       Gov. Aggregation
AEP - CSP     00040621038261101           Electric       Gov. Aggregation   AEP - OP      00140060797393080           Electric       Gov. Aggregation
AEP - CSP     00040621038278504           Electric       Gov. Aggregation   AEP - OP      00140060797408802           Electric       Gov. Aggregation
AEP - CSP     00040621038291883           Electric       Gov. Aggregation   FEOH - TE     08005441592440091407        Electric       Gov. Aggregation
AEP - CSP     00040621038728473           Electric       Gov. Aggregation   FEOH - TE     08005444582600007101        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621038944485           Electric       Gov. Aggregation   FEOH - TE     08005461152030033419        Electric       Gov. Aggregation
AEP - CSP     00040621039018002           Electric       Gov. Aggregation   FEOH - TE     08005462392040000710        Electric       Gov. Aggregation
AEP - CSP     00040621039076523           Electric       Gov. Aggregation   FEOH - TE     08005465022040001229        Electric       Gov. Aggregation
AEP - CSP     00040621039522974           Electric       Gov. Aggregation   FEOH - TE     08005526952640021217        Electric       Gov. Aggregation
AEP - CSP     00040621039563815           Electric       Gov. Aggregation   AEP - OP      00140060792501845           Electric       Gov. Aggregation
AEP - CSP     00040621036672742           Electric       Gov. Aggregation   AEP - OP      00140060792539563           Electric       Gov. Aggregation
AEP - CSP     00040621036768784           Electric       Gov. Aggregation   AEP - OP      00140060792599795           Electric       Gov. Aggregation
AEP - CSP     00040621036794424           Electric       Gov. Aggregation   AEP - OP      00140060792713480           Electric       Gov. Aggregation
AEP - CSP     00040621036907734           Electric       Gov. Aggregation   AEP - OP      00140060792845485           Electric       Gov. Aggregation
AEP - CSP     00040621037054390           Electric       Gov. Aggregation   AEP - OP      00140060792865532           Electric       Gov. Aggregation
AEP - CSP     00040621037375492           Electric       Gov. Aggregation   AEP - OP      00140060793019460           Electric       Gov. Aggregation
AEP - CSP     00040621037411624           Electric       Gov. Aggregation   FEOH - TE     08006255722680022168        Electric       Gov. Aggregation
AEP - CSP     00040621043555430           Electric       Gov. Aggregation   FEOH - TE     08006258892380028609        Electric       Gov. Aggregation
AEP - CSP     00040621043572730           Electric       Gov. Aggregation   FEOH - OE     08006311455001410046        Electric       Gov. Aggregation
AEP - CSP     00040621043634152           Electric       Gov. Aggregation   FEOH - OE     08006316790000791162        Electric       Gov. Aggregation
AEP - CSP     00040621043684013           Electric       Gov. Aggregation   FEOH - TE     08006320912380032499        Electric       Gov. Aggregation
AEP - CSP     00040621043732431           Electric       Gov. Aggregation   FEOH - TE     08006323073000006799        Electric       Gov. Aggregation
AEP - CSP     00040621043753773           Electric       Gov. Aggregation   FEOH - TE     08006386532020094244        Electric       Gov. Aggregation
AEP - CSP     00040621043784762           Electric       Gov. Aggregation   AEP - OP      00140060789279160           Electric       Gov. Aggregation
AEP - CSP     00040621035449685           Electric       Gov. Aggregation   AEP - OP      00140060789310861           Electric       Gov. Aggregation
AEP - CSP     00040621035715182           Electric       Gov. Aggregation   AEP - OP      00140060789325003           Electric       Gov. Aggregation
AEP - CSP     00040621035800102           Electric       Gov. Aggregation   AEP - OP      00140060789544023           Electric       Gov. Aggregation
AEP - CSP     00040621035983401           Electric       Gov. Aggregation   AEP - OP      00140060789570482           Electric       Gov. Aggregation
AEP - CSP     00040621036236123           Electric       Gov. Aggregation   AEP - OP      00140060789570622           Electric       Gov. Aggregation
AEP - CSP     00040621036417710           Electric       Gov. Aggregation   AEP - OP      00140060789657154           Electric       Gov. Aggregation
AEP - CSP     00040621036449675           Electric       Gov. Aggregation   FEOH - TE     08005859415001369656        Electric       Gov. Aggregation
AEP - CSP     00040621030440555           Electric       Gov. Aggregation   FEOH - OE     08005890300001514345        Electric       Gov. Aggregation
AEP - CSP     00040621030578235           Electric       Gov. Aggregation   FEOH - TE     08005891072680023118        Electric       Gov. Aggregation
AEP - CSP     00040621030581741           Electric       Gov. Aggregation   FEOH - TE     08005891492600008071        Electric       Gov. Aggregation
AEP - CSP     00040621030676833           Electric       Gov. Aggregation   FEOH - TE     08005991922040001375        Electric       Gov. Aggregation
AEP - CSP     00040621030860693           Electric       Gov. Aggregation   FEOH - TE     08005992772380031444        Electric       Gov. Aggregation
AEP - CSP     00040621030964955           Electric       Gov. Aggregation   AEP - OP      00140060787023900           Electric       Gov. Aggregation
AEP - CSP     00040621031002324           Electric       Gov. Aggregation   AEP - OP      00140060787062153           Electric       Gov. Aggregation
AEP - CSP     00040621039858471           Electric       Gov. Aggregation   AEP - OP      00140060787063004           Electric       Gov. Aggregation
AEP - CSP     00040621039866290           Electric       Gov. Aggregation   AEP - OP      00140060787063004           Electric       Gov. Aggregation
AEP - CSP     00040621040167820           Electric       Gov. Aggregation   AEP - OP      00140060787076513           Electric       Gov. Aggregation
AEP - CSP     00040621040196864           Electric       Gov. Aggregation   AEP - OP      00140060787080214           Electric       Gov. Aggregation
AEP - CSP     00040621040260381           Electric       Gov. Aggregation   AEP - OP      00140060787150704           Electric       Gov. Aggregation
AEP - CSP     00040621040457290           Electric       Gov. Aggregation   AEP - OP      00140060797443083           Electric       Gov. Aggregation
AEP - CSP     00040621040671914           Electric       Gov. Aggregation   AEP - OP      00140060797645664           Electric       Gov. Aggregation
AEP - CSP     00040621040880051           Electric       Gov. Aggregation   AEP - OP      00140060797716984           Electric       Gov. Aggregation
AEP - CSP     00040621040950650           Electric       Gov. Aggregation   AEP - OP      00140060797732224           Electric       Gov. Aggregation
AEP - CSP     00040621040961335           Electric       Gov. Aggregation   AEP - OP      00140060797758372           Electric       Gov. Aggregation
AEP - CSP     00040621040972913           Electric       Gov. Aggregation   AEP - OP      00140060798062050           Electric       Gov. Aggregation
AEP - CSP     00040621038567310           Electric       Gov. Aggregation   FEOH - TE     08005530972080022756        Electric       Gov. Aggregation
AEP - CSP     00040621038616735           Electric       Gov. Aggregation   FEOH - TE     08005537322080027373        Electric       Gov. Aggregation
AEP - CSP     00040621038720865           Electric       Gov. Aggregation   FEOH - TE     08005580322850020933        Electric       Gov. Aggregation
AEP - CSP     00040621038795975           Electric       Gov. Aggregation   FEOH - TE     08005582142080028450        Electric       Gov. Aggregation
AEP - CSP     00040621038798970           Electric       Gov. Aggregation   FEOH - TE     08005583422210009206        Electric       Gov. Aggregation
AEP - CSP     00040621044130824           Electric       Gov. Aggregation   FEOH - TE     08005583542210009210        Electric       Gov. Aggregation
AEP - CSP     00040621044193900           Electric       Gov. Aggregation   FEOH - TE     08005586952210013166        Electric       Gov. Aggregation
AEP - CSP     00040621044488444           Electric       Gov. Aggregation   AEP - OP      00140060793029144           Electric       Gov. Aggregation
AEP - CSP     00040621044495101           Electric       Gov. Aggregation   AEP - OP      00140060793117390           Electric       Gov. Aggregation
AEP - CSP     00040621044575680           Electric       Gov. Aggregation   AEP - OP      00140060793131422           Electric       Gov. Aggregation
AEP - CSP     00040621044819212           Electric       Gov. Aggregation   AEP - OP      00140060793152015           Electric       Gov. Aggregation
AEP - CSP     00040621031103193           Electric       Gov. Aggregation   AEP - OP      00140060793182272           Electric       Gov. Aggregation
AEP - CSP     00040621031275532           Electric       Gov. Aggregation   AEP - OP      00140060793218555           Electric       Gov. Aggregation
AEP - CSP     00040621031280535           Electric       Gov. Aggregation   FEOH - TE     08006389302850018167        Electric       Gov. Aggregation
AEP - CSP     00040621031292461           Electric       Gov. Aggregation   FEOH - TE     08006455312260090144        Electric       Gov. Aggregation
AEP - CSP     00040621031556345           Electric       Gov. Aggregation   FEOH - TE     08006458962380032574        Electric       Gov. Aggregation
AEP - CSP     00040621037442884           Electric       Gov. Aggregation   FEOH - TE     08006522862390001264        Electric       Gov. Aggregation
AEP - CSP     00040621037517974           Electric       Gov. Aggregation   AEP - OP      00140060789804122           Electric       Gov. Aggregation
AEP - CSP     00040621037690504           Electric       Gov. Aggregation   AEP - OP      00140060789919825           Electric       Gov. Aggregation
AEP - CSP     00040621037779633           Electric       Gov. Aggregation   AEP - OP      00140060789949803           Electric       Gov. Aggregation
AEP - CSP     00040621037810333           Electric       Gov. Aggregation   AEP - OP      00140060789991281           Electric       Gov. Aggregation
AEP - CSP     00040621037848452           Electric       Gov. Aggregation   AEP - OP      00140060790030984           Electric       Gov. Aggregation
AEP - CSP     00040621035286981           Electric       Gov. Aggregation   AEP - OP      00140060790084330           Electric       Gov. Aggregation
AEP - CSP     00040621035495740           Electric       Gov. Aggregation   FEOH - TE     08005993005000111931        Electric       Gov. Aggregation
AEP - CSP     00040621035532664           Electric       Gov. Aggregation   FEOH - TE     08005993932420033004        Electric       Gov. Aggregation
AEP - CSP     00040621035603422           Electric       Gov. Aggregation   FEOH - TE     08005994022420033037        Electric       Gov. Aggregation
AEP - CSP     00040621035607292           Electric       Gov. Aggregation   FEOH - TE     08005997403000006758        Electric       Gov. Aggregation
AEP - CSP     00040621035642005           Electric       Gov. Aggregation   FEOH - TE     08005999922080027232        Electric       Gov. Aggregation
AEP - CSP     00040621035760015           Electric       Gov. Aggregation   FEOH - TE     08006065452200091992        Electric       Gov. Aggregation
AEP - CSP     00040621035977804           Electric       Gov. Aggregation   FEOH - TE     08006091352850023842        Electric       Gov. Aggregation
AEP - CSP     00040621035980002           Electric       Gov. Aggregation   AEP - OP      00140060787162950           Electric       Gov. Aggregation
AEP - CSP     00040621036004450           Electric       Gov. Aggregation   AEP - OP      00140060787300054           Electric       Gov. Aggregation
AEP - CSP     00040621036038173           Electric       Gov. Aggregation   AEP - OP      00140060787333862           Electric       Gov. Aggregation
AEP - CSP     00040621036070261           Electric       Gov. Aggregation   AEP - OP      00140060787405201           Electric       Gov. Aggregation
AEP - CSP     00040621036189594           Electric       Gov. Aggregation   AEP - OP      00140060787416810           Electric       Gov. Aggregation
AEP - CSP     00040621036257983           Electric       Gov. Aggregation   AEP - OP      00140060787507190           Electric       Gov. Aggregation
AEP - CSP     00040621040982471           Electric       Gov. Aggregation   AEP - OP      00140060787554235           Electric       Gov. Aggregation
AEP - CSP     00040621041104405           Electric       Gov. Aggregation   FEOH - TE     08005588042210013363        Electric       Gov. Aggregation
AEP - CSP     00040621041522520           Electric       Gov. Aggregation   FEOH - TE     08005589152170014410        Electric       Gov. Aggregation
AEP - CSP     00040621041707232           Electric       Gov. Aggregation   FEOH - TE     08005607145001359079        Electric       Gov. Aggregation
AEP - CSP     00040621041795355           Electric       Gov. Aggregation   FEOH - TE     08005650193000003231        Electric       Gov. Aggregation
AEP - CSP     00040621042078203           Electric       Gov. Aggregation   FEOH - TE     08005651262210014346        Electric       Gov. Aggregation
AEP - CSP     00040621042161922           Electric       Gov. Aggregation   FEOH - TE     08005652632210014699        Electric       Gov. Aggregation
AEP - CSP     00040621038993911           Electric       Gov. Aggregation   FEOH - TE     08005653792210014909        Electric       Gov. Aggregation
AEP - CSP     00040621039079474           Electric       Gov. Aggregation   AEP - OP      00140060798158342           Electric       Gov. Aggregation
AEP - CSP     00040621039122352           Electric       Gov. Aggregation   AEP - OP      00140060798353870           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type         Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621039125870           Electric       Gov. Aggregation   AEP - OP        00140060798657523           Electric       Gov. Aggregation
AEP - CSP     00040621039143433           Electric       Gov. Aggregation   AEP - OP        00140060798709310           Electric       Gov. Aggregation
AEP - CSP     00040621039237190           Electric       Gov. Aggregation   AEP - OP        00140060798873622           Electric       Gov. Aggregation
AEP - CSP     00040621044946850           Electric       Gov. Aggregation   AEP - OP        00140060798896023           Electric       Gov. Aggregation
AEP - CSP     00040621045075431           Electric       Gov. Aggregation   FEOH - TE       08006525232550091491        Electric       Gov. Aggregation
AEP - CSP     00040621045206920           Electric       Gov. Aggregation   FEOH - TE       08006592852170013155        Electric       Gov. Aggregation
AEP - CSP     00040621045319283           Electric       Gov. Aggregation   FEOH - TE       08006596432210012478        Electric       Gov. Aggregation
AEP - CSP     00040621045344722           Electric       Gov. Aggregation   FEOH - OE       08006596435000373579        Electric       Gov. Aggregation
AEP - CSP     00040621045400214           Electric       Gov. Aggregation   FEOH - TE       08006597882230093425        Electric       Gov. Aggregation
AEP - CSP     00040621045457970           Electric       Gov. Aggregation   FEOH - OE       08006628530000791234        Electric       Gov. Aggregation
AEP - CSP     00040621036800940           Electric       Gov. Aggregation   AEP - OP        00140060790217175           Electric       Gov. Aggregation
AEP - CSP     00040621036900832           Electric       Gov. Aggregation   AEP - OP        00140060790246455           Electric       Gov. Aggregation
AEP - CSP     00040621036934323           Electric       Gov. Aggregation   AEP - OP        00140060790480883           Electric       Gov. Aggregation
AEP - CSP     00040621036948800           Electric       Gov. Aggregation   AEP - OP        00140060790582905           Electric       Gov. Aggregation
AEP - CSP     00040621037167964           Electric       Gov. Aggregation   AEP - OP        00140060790658723           Electric       Gov. Aggregation
AEP - CSP     00040621037176134           Electric       Gov. Aggregation   AEP - OP        00140060790677134           Electric       Gov. Aggregation
AEP - CSP     00040621037203811           Electric       Gov. Aggregation   AEP - OP        00140060790694991           Electric       Gov. Aggregation
AEP - CSP     00040621031587552           Electric       Gov. Aggregation   FEOH - TE       08006115242380033168        Electric       Gov. Aggregation
AEP - CSP     00040621031705922           Electric       Gov. Aggregation   FEOH - TE       08006115932080028323        Electric       Gov. Aggregation
AEP - CSP     00040621031802681           Electric       Gov. Aggregation   FEOH - TE       08006115932080028338        Electric       Gov. Aggregation
AEP - CSP     00040621031850545           Electric       Gov. Aggregation   FEOH - TE       08006117162530091622        Electric       Gov. Aggregation
AEP - CSP     00040621032052783           Electric       Gov. Aggregation   FEOH - TE       08006118092740092812        Electric       Gov. Aggregation
AEP - CSP     00040621032088191           Electric       Gov. Aggregation   FEOH - TE       08006118682870091912        Electric       Gov. Aggregation
AEP - CSP     00040621035804781           Electric       Gov. Aggregation   FEOH - TE       08006119203000011948        Electric       Gov. Aggregation
AEP - CSP     00040621035809185           Electric       Gov. Aggregation   AEP - OP        00140060787733055           Electric       Gov. Aggregation
AEP - CSP     00040621035845824           Electric       Gov. Aggregation   AEP - OP        00140060787853533           Electric       Gov. Aggregation
AEP - CSP     00040621036023473           Electric       Gov. Aggregation   AEP - OP        00140060787857173           Electric       Gov. Aggregation
AEP - CSP     00040621036067701           Electric       Gov. Aggregation   AEP - OP        00140060787908842           Electric       Gov. Aggregation
AEP - CSP     00040621036296145           Electric       Gov. Aggregation   AEP - OP        00140060788064505           Electric       Gov. Aggregation
AEP - CSP     00040621037904505           Electric       Gov. Aggregation   AEP - OP        00140060788138435           Electric       Gov. Aggregation
AEP - CSP     00040621038038031           Electric       Gov. Aggregation   FEOH - TE       08005655292330092020        Electric       Gov. Aggregation
AEP - CSP     00040621038068335           Electric       Gov. Aggregation   FEOH - TE       08005655792380032709        Electric       Gov. Aggregation
AEP - CSP     00040621038200271           Electric       Gov. Aggregation   FEOH - TE       08005656052380033153        Electric       Gov. Aggregation
AEP - CSP     00040621038435245           Electric       Gov. Aggregation   FEOH - TE       08005659622750094280        Electric       Gov. Aggregation
AEP - CSP     00040621038904120           Electric       Gov. Aggregation   FEOH - TE       08005659792800091099        Electric       Gov. Aggregation
AEP - CSP     00040621042183195           Electric       Gov. Aggregation   FEOH - TE       08005672282300026375        Electric       Gov. Aggregation
AEP - CSP     00040621042210534           Electric       Gov. Aggregation   FEOH - TE       08005673582300029902        Electric       Gov. Aggregation
AEP - CSP     00040621042222155           Electric       Gov. Aggregation   AEP - OP        00140060798915341           Electric       Gov. Aggregation
AEP - CSP     00040621042227770           Electric       Gov. Aggregation   AEP - OP        00140060799030392           Electric       Gov. Aggregation
AEP - CSP     00040621042295934           Electric       Gov. Aggregation   AEP - OP        00140060799113652           Electric       Gov. Aggregation
AEP - CSP     00040621042382002           Electric       Gov. Aggregation   AEP - OP        00140060799188671           Electric       Gov. Aggregation
AEP - CSP     00040621042771130           Electric       Gov. Aggregation   AEP - OP        00140060799383405           Electric       Gov. Aggregation
AEP - CSP     00040621045462362           Electric       Gov. Aggregation   AEP - OP        00140060799407213           Electric       Gov. Aggregation
AEP - CSP     00040621045569770           Electric       Gov. Aggregation   AEP - OP        00140060799451494           Electric       Gov. Aggregation
AEP - CSP     00040621045620440           Electric       Gov. Aggregation   AEP - OP        00140060799533533           Electric       Gov. Aggregation
AEP - CSP     00040621045644832           Electric       Gov. Aggregation   AEP - OP        00140060799689842           Electric       Gov. Aggregation
AEP - CSP     00040621046011451           Electric       Gov. Aggregation   AEP - OP        00140060799977300           Electric       Gov. Aggregation
AEP - CSP     00040621036299831           Electric       Gov. Aggregation   DPL             0278169325                  Electric       Gov. Aggregation
AEP - CSP     00040621036342750           Electric       Gov. Aggregation   DPL             0289120099                  Electric       Gov. Aggregation
AEP - CSP     00040621036450083           Electric       Gov. Aggregation   AEP - OP        00140060792047234           Electric       Gov. Aggregation
AEP - CSP     00040621036498605           Electric       Gov. Aggregation   AEP - OP        00140060792182435           Electric       Gov. Aggregation
AEP - CSP     00040621036646550           Electric       Gov. Aggregation   AEP - OP        00140060792264141           Electric       Gov. Aggregation
AEP - CSP     00040621036667684           Electric       Gov. Aggregation   AEP - OP        00140060792292691           Electric       Gov. Aggregation
AEP - CSP     00040621039268475           Electric       Gov. Aggregation   AEP - OP        00140060792349570           Electric       Gov. Aggregation
AEP - CSP     00040621039298453           Electric       Gov. Aggregation   AEP - OP        00140060792415375           Electric       Gov. Aggregation
AEP - CSP     00040621039304432           Electric       Gov. Aggregation   AEP - OP        00140060793492562           Electric       Gov. Aggregation
AEP - CSP     00040621039587613           Electric       Gov. Aggregation   AEP - OP        00140060793558481           Electric       Gov. Aggregation
AEP - CSP     00040621039617094           Electric       Gov. Aggregation   AEP - OP        00140060793593620           Electric       Gov. Aggregation
AEP - CSP     00040621039769712           Electric       Gov. Aggregation   AEP - OP        00140060793713983           Electric       Gov. Aggregation
AEP - CSP     00040621039782774           Electric       Gov. Aggregation   AEP - OP        00140060793745104           Electric       Gov. Aggregation
AEP - CSP     00040621036685444           Electric       Gov. Aggregation   AEP - OP        00140060793836275           Electric       Gov. Aggregation
AEP - CSP     00040621036750473           Electric       Gov. Aggregation   AEP - OP        00140060793841881           Electric       Gov. Aggregation
AEP - CSP     00040621036870664           Electric       Gov. Aggregation   AEP - OP        00140060792554104           Electric       Gov. Aggregation
AEP - CSP     00040621036893734           Electric       Gov. Aggregation   AEP - OP        00140060792656461           Electric       Gov. Aggregation
AEP - CSP     00040621036942330           Electric       Gov. Aggregation   AEP - OP        00140060792743660           Electric       Gov. Aggregation
AEP - CSP     00040621036968441           Electric       Gov. Aggregation   AEP - OP        00140060792750260           Electric       Gov. Aggregation
AEP - CSP     00040621037213555           Electric       Gov. Aggregation   AEP - OP        00140060792756660           Electric       Gov. Aggregation
AEP - CSP     00040621037324891           Electric       Gov. Aggregation   AEP - OP        00140060792777250           Electric       Gov. Aggregation
AEP - CSP     00040621037430535           Electric       Gov. Aggregation   AEP - OP        00140060792804061           Electric       Gov. Aggregation
AEP - CSP     00040621037470123           Electric       Gov. Aggregation   AEP - OP        00140060788518972           Electric       Gov. Aggregation
AEP - CSP     00040621037589912           Electric       Gov. Aggregation   AEP - OP        00140060788534660           Electric       Gov. Aggregation
AEP - CSP     00040621037598750           Electric       Gov. Aggregation   AEP - OP        00140060788594201           Electric       Gov. Aggregation
AEP - CSP     00040621037620860           Electric       Gov. Aggregation   AEP - OP        00140060788627852           Electric       Gov. Aggregation
AEP - CSP     00040621039288023           Electric       Gov. Aggregation   AEP - OP        00140060789068823           Electric       Gov. Aggregation
AEP - CSP     00040621039334645           Electric       Gov. Aggregation   FEOH - TE       08006182592030093352        Electric       Gov. Aggregation
AEP - CSP     00040621039396640           Electric       Gov. Aggregation   FEOH - TE       08006183122850024774        Electric       Gov. Aggregation
AEP - CSP     00040621040107853           Electric       Gov. Aggregation   FEOH - TE       08006251032210011973        Electric       Gov. Aggregation
AEP - CSP     00040621040337972           Electric       Gov. Aggregation   FEOH - TE       08006256902380027979        Electric       Gov. Aggregation
AEP - CSP     00040621036303800           Electric       Gov. Aggregation   FEOH - TE       08006259112380031322        Electric       Gov. Aggregation
AEP - CSP     00040621036332252           Electric       Gov. Aggregation   FEOH - TE       08006259852380032240        Electric       Gov. Aggregation
AEP - CSP     00040621036372711           Electric       Gov. Aggregation   FEOH - TE       08006323092380033350        Electric       Gov. Aggregation
AEP - CSP     00040621036399355           Electric       Gov. Aggregation   DPL             0296197855                  Electric       Gov. Aggregation
AEP - CSP     00040621036438451           Electric       Gov. Aggregation   DPL             0651671528                  Electric       Gov. Aggregation
AEP - CSP     00040621036643051           Electric       Gov. Aggregation   FEOH - TE       08000403432040000758        Electric       Gov. Aggregation
AEP - CSP     00040621036876575           Electric       Gov. Aggregation   FEOH - OE       08000486330001492473        Electric       Gov. Aggregation
AEP - CSP     00040621042782271           Electric       Gov. Aggregation   FEOH - OE       08002331160000790590        Electric       Gov. Aggregation
AEP - CSP     00040621042789335           Electric       Gov. Aggregation   FEOH - OE       08003143930001042584        Electric       Gov. Aggregation
AEP - CSP     00040621042986723           Electric       Gov. Aggregation   FEOH - OE       08003422970000767154        Electric       Gov. Aggregation
AEP - CSP     00040621043162904           Electric       Gov. Aggregation   FEOH - OE       08006361080001129261        Electric       Gov. Aggregation
AEP - CSP     00040621043169435           Electric       Gov. Aggregation   FEOH - TE       08006384492600009637        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621043223260           Electric       Gov. Aggregation   FEOH - TE     08006385802760091853        Electric       Gov. Aggregation
AEP - CSP     00040621043394711           Electric       Gov. Aggregation   FEOH - TE     08006453462210012337        Electric       Gov. Aggregation
AEP - CSP     00040621046203795           Electric       Gov. Aggregation   FEOH - TE     08006457942380032184        Electric       Gov. Aggregation
AEP - CSP     00040621046205225           Electric       Gov. Aggregation   FEOH - OE     08003480770000803591        Electric       Gov. Aggregation
AEP - CSP     00040621046215681           Electric       Gov. Aggregation   FEOH - OE     08003622140001474852        Electric       Gov. Aggregation
AEP - CSP     00040621046216000           Electric       Gov. Aggregation   FEOH - OE     08003691070000603988        Electric       Gov. Aggregation
AEP - CSP     00040621046267951           Electric       Gov. Aggregation   FEOH - TE     08003828552510092883        Electric       Gov. Aggregation
AEP - CSP     00040621046450122           Electric       Gov. Aggregation   FEOH - OE     08003943950000790204        Electric       Gov. Aggregation
AEP - CSP     00040621039816965           Electric       Gov. Aggregation   FEOH - OE     08003973030001143343        Electric       Gov. Aggregation
AEP - CSP     00040621039914145           Electric       Gov. Aggregation   FEOH - TE     08006521292390000651        Electric       Gov. Aggregation
AEP - CSP     00040621039962694           Electric       Gov. Aggregation   FEOH - TE     08006528342760091707        Electric       Gov. Aggregation
AEP - CSP     00040621040057151           Electric       Gov. Aggregation   FEOH - TE     08006592165001432002        Electric       Gov. Aggregation
AEP - CSP     00040621040159231           Electric       Gov. Aggregation   FEOH - TE     08006596052210012318        Electric       Gov. Aggregation
AEP - CSP     00040621040384315           Electric       Gov. Aggregation   FEOH - OE     08004227850001143342        Electric       Gov. Aggregation
AEP - CSP     00040621040743343           Electric       Gov. Aggregation   FEOH - OE     08004271670000809464        Electric       Gov. Aggregation
AEP - CSP     00040621037778541           Electric       Gov. Aggregation   FEOH - OE     08004273820000804906        Electric       Gov. Aggregation
AEP - CSP     00040621037809752           Electric       Gov. Aggregation   FEOH - OE     08004274180000810174        Electric       Gov. Aggregation
AEP - CSP     00040621037825605           Electric       Gov. Aggregation   FEOH - OE     08004275570000791011        Electric       Gov. Aggregation
AEP - CSP     00040621037927355           Electric       Gov. Aggregation   FEOH - OE     08004290410000804380        Electric       Gov. Aggregation
AEP - CSP     00040621037996190           Electric       Gov. Aggregation   FEOH - OE     08004334770000790411        Electric       Gov. Aggregation
AEP - CSP     00040621038143270           Electric       Gov. Aggregation   FEOH - TE     08005674992300030475        Electric       Gov. Aggregation
AEP - CSP     00040621038252924           Electric       Gov. Aggregation   FEOH - TE     08005720242870093213        Electric       Gov. Aggregation
AEP - CSP     00040621036938962           Electric       Gov. Aggregation   FEOH - TE     08005720582980093306        Electric       Gov. Aggregation
AEP - CSP     00040621037015211           Electric       Gov. Aggregation   FEOH - TE     08005723352310094424        Electric       Gov. Aggregation
AEP - CSP     00040621037121285           Electric       Gov. Aggregation   FEOH - TE     08005726652040000917        Electric       Gov. Aggregation
AEP - CSP     00040621037124592           Electric       Gov. Aggregation   AEP - OP      00140060790844374           Electric       Gov. Aggregation
AEP - CSP     00040621037236321           Electric       Gov. Aggregation   AEP - OP      00140060790874022           Electric       Gov. Aggregation
AEP - CSP     00040621037240374           Electric       Gov. Aggregation   AEP - OP      00140060790951102           Electric       Gov. Aggregation
AEP - CSP     00040621037264753           Electric       Gov. Aggregation   AEP - OP      00140060790973541           Electric       Gov. Aggregation
AEP - CSP     00040621043445875           Electric       Gov. Aggregation   AEP - OP      00140060791062712           Electric       Gov. Aggregation
AEP - CSP     00040621043472595           Electric       Gov. Aggregation   AEP - OP      00140060791087155           Electric       Gov. Aggregation
AEP - CSP     00040621043520031           Electric       Gov. Aggregation   AEP - OP      00140060791109343           Electric       Gov. Aggregation
AEP - CSP     00040621043694545           Electric       Gov. Aggregation   AEP - OP      00140060793015564           Electric       Gov. Aggregation
AEP - CSP     00040621043850020           Electric       Gov. Aggregation   AEP - OP      00140060793067793           Electric       Gov. Aggregation
AEP - CSP     00040621046669373           Electric       Gov. Aggregation   AEP - OP      00140060793073475           Electric       Gov. Aggregation
AEP - CSP     00040621046763174           Electric       Gov. Aggregation   AEP - OP      00140060793116653           Electric       Gov. Aggregation
AEP - CSP     00040621046821634           Electric       Gov. Aggregation   AEP - OP      00140060793166812           Electric       Gov. Aggregation
AEP - CSP     00040621046825241           Electric       Gov. Aggregation   AEP - OP      00140060793205253           Electric       Gov. Aggregation
AEP - CSP     00040621046895585           Electric       Gov. Aggregation   AEP - OP      00140060793983593           Electric       Gov. Aggregation
AEP - CSP     00040621046915111           Electric       Gov. Aggregation   AEP - OP      00140060794131754           Electric       Gov. Aggregation
AEP - CSP     00040621046928862           Electric       Gov. Aggregation   AEP - OP      00140060794169995           Electric       Gov. Aggregation
AEP - CSP     00040621040350945           Electric       Gov. Aggregation   AEP - OP      00140060794258420           Electric       Gov. Aggregation
AEP - CSP     00040621040405921           Electric       Gov. Aggregation   AEP - OP      00140060794265780           Electric       Gov. Aggregation
AEP - CSP     00040621040459650           Electric       Gov. Aggregation   FEOH - TE     08006650185000139834        Electric       Gov. Aggregation
AEP - CSP     00040621040780625           Electric       Gov. Aggregation   FEOH - TE     08006654802380033365        Electric       Gov. Aggregation
AEP - CSP     00040621040816493           Electric       Gov. Aggregation   FEOH - TE     08006657252310090481        Electric       Gov. Aggregation
AEP - CSP     00040621040960253           Electric       Gov. Aggregation   FEOH - TE     08006657252850021208        Electric       Gov. Aggregation
AEP - CSP     00040621032108930           Electric       Gov. Aggregation   FEOH - TE     08006721162590090305        Electric       Gov. Aggregation
AEP - CSP     00040621032257875           Electric       Gov. Aggregation   FEOH - TE     08006654652380033045        Electric       Gov. Aggregation
AEP - CSP     00040621032265444           Electric       Gov. Aggregation   FEOH - TE     08006656832390001015        Electric       Gov. Aggregation
AEP - CSP     00040621032351840           Electric       Gov. Aggregation   FEOH - OE     08006688815000232430        Electric       Gov. Aggregation
AEP - CSP     00040621032586373           Electric       Gov. Aggregation   FEOH - OE     08006688815000232431        Electric       Gov. Aggregation
AEP - CSP     00040621032718532           Electric       Gov. Aggregation   AEP - OP      00140060789168662           Electric       Gov. Aggregation
AEP - CSP     00040621032804352           Electric       Gov. Aggregation   AEP - OP      00140060789180010           Electric       Gov. Aggregation
AEP - CSP     00040621041017435           Electric       Gov. Aggregation   AEP - OP      00140060789193782           Electric       Gov. Aggregation
AEP - CSP     00040621041052582           Electric       Gov. Aggregation   AEP - OP      00140060789200584           Electric       Gov. Aggregation
AEP - CSP     00040621041063844           Electric       Gov. Aggregation   AEP - OP      00140060789317354           Electric       Gov. Aggregation
AEP - CSP     00040621041169364           Electric       Gov. Aggregation   AEP - OP      00140060789468801           Electric       Gov. Aggregation
AEP - CSP     00040621041243945           Electric       Gov. Aggregation   AEP - OP      00140060789513613           Electric       Gov. Aggregation
AEP - CSP     00040621041334794           Electric       Gov. Aggregation   AEP - OP      00140060791128220           Electric       Gov. Aggregation
AEP - CSP     00040621041717684           Electric       Gov. Aggregation   AEP - OP      00140060791191715           Electric       Gov. Aggregation
AEP - CSP     00040621038426675           Electric       Gov. Aggregation   AEP - OP      00140060791251965           Electric       Gov. Aggregation
AEP - CSP     00040621038455095           Electric       Gov. Aggregation   AEP - OP      00140060791357661           Electric       Gov. Aggregation
AEP - CSP     00040621038459872           Electric       Gov. Aggregation   AEP - OP      00140060791373715           Electric       Gov. Aggregation
AEP - CSP     00040621038744352           Electric       Gov. Aggregation   AEP - OP      00140060791489015           Electric       Gov. Aggregation
AEP - CSP     00040621038840623           Electric       Gov. Aggregation   AEP - OP      00140060791495161           Electric       Gov. Aggregation
AEP - CSP     00040621038928862           Electric       Gov. Aggregation   FEOH - TE     08005727232040001164        Electric       Gov. Aggregation
AEP - CSP     00040621038990500           Electric       Gov. Aggregation   FEOH - TE     08005727392040001234        Electric       Gov. Aggregation
AEP - CSP     00040621044159925           Electric       Gov. Aggregation   FEOH - TE     08005781432080022244        Electric       Gov. Aggregation
AEP - CSP     00040621044160131           Electric       Gov. Aggregation   FEOH - TE     08005782562080022737        Electric       Gov. Aggregation
AEP - CSP     00040621044172893           Electric       Gov. Aggregation   FEOH - TE     08005789872080028361        Electric       Gov. Aggregation
AEP - CSP     00040621044190142           Electric       Gov. Aggregation   FEOH - TE     08005820342640019732        Electric       Gov. Aggregation
AEP - CSP     00040621044200763           Electric       Gov. Aggregation   FEOH - OE     08004378500001300818        Electric       Gov. Aggregation
AEP - CSP     00040621044397175           Electric       Gov. Aggregation   FEOH - OE     08004466130001044055        Electric       Gov. Aggregation
AEP - CSP     00040621044412344           Electric       Gov. Aggregation   FEOH - OE     08004470890001040536        Electric       Gov. Aggregation
AEP - CSP     00040621041881515           Electric       Gov. Aggregation   FEOH - OE     08004501810001129928        Electric       Gov. Aggregation
AEP - CSP     00040621041943255           Electric       Gov. Aggregation   FEOH - TE     08004665653000005807        Electric       Gov. Aggregation
AEP - CSP     00040621042004645           Electric       Gov. Aggregation   FEOH - TE     08004678162030030815        Electric       Gov. Aggregation
AEP - CSP     00040621042089143           Electric       Gov. Aggregation   FEOH - OE     08006692870001501062        Electric       Gov. Aggregation
AEP - CSP     00040621042171865           Electric       Gov. Aggregation   FEOH - TE     08006724322030090393        Electric       Gov. Aggregation
AEP - CSP     00040621042224720           Electric       Gov. Aggregation   FEOH - OE     08006756900001043808        Electric       Gov. Aggregation
AEP - CSP     00040621042237282           Electric       Gov. Aggregation   AEP - OP      00140060789625104           Electric       Gov. Aggregation
AEP - CSP     00040621038996843           Electric       Gov. Aggregation   AEP - OP      00140060789630843           Electric       Gov. Aggregation
AEP - CSP     00040621039051140           Electric       Gov. Aggregation   AEP - OP      00140060789665995           Electric       Gov. Aggregation
AEP - CSP     00040621039090521           Electric       Gov. Aggregation   AEP - OP      00140060789760503           Electric       Gov. Aggregation
AEP - CSP     00040621039183875           Electric       Gov. Aggregation   AEP - OP      00140060789840630           Electric       Gov. Aggregation
AEP - CSP     00040621039371604           Electric       Gov. Aggregation   AEP - OP      00140060789870875           Electric       Gov. Aggregation
AEP - CSP     00040621039642173           Electric       Gov. Aggregation   AEP - OP      00140060789871355           Electric       Gov. Aggregation
AEP - CSP     00040621039657362           Electric       Gov. Aggregation   AEP - OP      00140060794314450           Electric       Gov. Aggregation
AEP - CSP     00040621047013294           Electric       Gov. Aggregation   AEP - OP      00140060794397260           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621047035644           Electric       Gov. Aggregation   AEP - OP      00140060794511475           Electric       Gov. Aggregation
AEP - CSP     00040621047075993           Electric       Gov. Aggregation   AEP - OP      00140060794637543           Electric       Gov. Aggregation
AEP - CSP     00040621047147410           Electric       Gov. Aggregation   AEP - OP      00140060794668754           Electric       Gov. Aggregation
AEP - CSP     00040621047170071           Electric       Gov. Aggregation   AEP - OP      00140060794855582           Electric       Gov. Aggregation
AEP - CSP     00040621047335642           Electric       Gov. Aggregation   AEP - OP      00140060794875260           Electric       Gov. Aggregation
AEP - CSP     00040621047363371           Electric       Gov. Aggregation   AEP - OP      00140060791759052           Electric       Gov. Aggregation
AEP - CSP     00040621039924411           Electric       Gov. Aggregation   AEP - OP      00140060791805833           Electric       Gov. Aggregation
AEP - CSP     00040621039966764           Electric       Gov. Aggregation   AEP - OP      00140060791810534           Electric       Gov. Aggregation
AEP - CSP     00040621040032945           Electric       Gov. Aggregation   AEP - OP      00140060791989835           Electric       Gov. Aggregation
AEP - CSP     00040621040036943           Electric       Gov. Aggregation   AEP - OP      00140060792021713           Electric       Gov. Aggregation
AEP - CSP     00040621040069482           Electric       Gov. Aggregation   AEP - OP      00140060792099033           Electric       Gov. Aggregation
AEP - CSP     00040621040137401           Electric       Gov. Aggregation   AEP - OP      00140060792100391           Electric       Gov. Aggregation
AEP - CSP     00040621041162133           Electric       Gov. Aggregation   AEP - OP      00140060794881701           Electric       Gov. Aggregation
AEP - CSP     00040621041241830           Electric       Gov. Aggregation   AEP - OP      00140060794882240           Electric       Gov. Aggregation
AEP - CSP     00040621041273850           Electric       Gov. Aggregation   AEP - OP      00140060794978274           Electric       Gov. Aggregation
AEP - CSP     00040621041335593           Electric       Gov. Aggregation   AEP - OP      00140060794996103           Electric       Gov. Aggregation
AEP - CSP     00040621041343960           Electric       Gov. Aggregation   AEP - OP      00140060795074004           Electric       Gov. Aggregation
AEP - CSP     00040621041507242           Electric       Gov. Aggregation   AEP - OP      00140060795093565           Electric       Gov. Aggregation
AEP - CSP     00040621041507253           Electric       Gov. Aggregation   AEP - OP      00140060795101113           Electric       Gov. Aggregation
AEP - CSP     00040621047454944           Electric       Gov. Aggregation   FEOH - TE     08006724062960094182        Electric       Gov. Aggregation
AEP - CSP     00040621047468854           Electric       Gov. Aggregation   FEOH - TE     08006724232990093205        Electric       Gov. Aggregation
AEP - CSP     00040621047814652           Electric       Gov. Aggregation   FEOH - TE     08006844752390001279        Electric       Gov. Aggregation
AEP - CSP     00040621047881565           Electric       Gov. Aggregation   FEOH - TE     08006912925001413555        Electric       Gov. Aggregation
AEP - CSP     00040621047995652           Electric       Gov. Aggregation   FEOH - TE     08006926792600003420        Electric       Gov. Aggregation
AEP - CSP     00040621040178930           Electric       Gov. Aggregation   AEP - OP      00140060792119041           Electric       Gov. Aggregation
AEP - CSP     00040621040186224           Electric       Gov. Aggregation   AEP - OP      00140060792171623           Electric       Gov. Aggregation
AEP - CSP     00040621040187723           Electric       Gov. Aggregation   AEP - OP      00140060792215950           Electric       Gov. Aggregation
AEP - CSP     00040621040405582           Electric       Gov. Aggregation   AEP - OP      00140060792643683           Electric       Gov. Aggregation
AEP - CSP     00040621040464200           Electric       Gov. Aggregation   AEP - OP      00140060792754500           Electric       Gov. Aggregation
AEP - CSP     00040621040765124           Electric       Gov. Aggregation   AEP - OP      00140060792916453           Electric       Gov. Aggregation
AEP - CSP     00040621040935343           Electric       Gov. Aggregation   AEP - OP      00140060792981265           Electric       Gov. Aggregation
AEP - CSP     00040621041697271           Electric       Gov. Aggregation   FEOH - OE     08004739160000790814        Electric       Gov. Aggregation
AEP - CSP     00040621041727780           Electric       Gov. Aggregation   FEOH - OE     08004763820000803207        Electric       Gov. Aggregation
AEP - CSP     00040621041748141           Electric       Gov. Aggregation   FEOH - TE     08004826092850024013        Electric       Gov. Aggregation
AEP - CSP     00040621041757231           Electric       Gov. Aggregation   AEP - OP      00140060795138312           Electric       Gov. Aggregation
AEP - CSP     00040621041819821           Electric       Gov. Aggregation   AEP - OP      00140060795296572           Electric       Gov. Aggregation
AEP - CSP     00040621042005132           Electric       Gov. Aggregation   AEP - OP      00140060795296994           Electric       Gov. Aggregation
AEP - CSP     00040621048072845           Electric       Gov. Aggregation   AEP - OP      00140060795301630           Electric       Gov. Aggregation
AEP - CSP     00040621048283791           Electric       Gov. Aggregation   AEP - OP      00140060795324993           Electric       Gov. Aggregation
AEP - CSP     00040621048463770           Electric       Gov. Aggregation   AEP - OP      00140060795377375           Electric       Gov. Aggregation
AEP - CSP     00040621048497532           Electric       Gov. Aggregation   FEOH - TE     08006790542810093030        Electric       Gov. Aggregation
AEP - CSP     00040621048619451           Electric       Gov. Aggregation   FEOH - TE     08006861242500092059        Electric       Gov. Aggregation
AEP - CSP     00040621048751403           Electric       Gov. Aggregation   FEOH - TE     08006927912600007276        Electric       Gov. Aggregation
AEP - CSP     00040621049221985           Electric       Gov. Aggregation   FEOH - TE     08006929222600010020        Electric       Gov. Aggregation
AEP - CSP     00040621042453883           Electric       Gov. Aggregation   FEOH - OE     08006950640001129284        Electric       Gov. Aggregation
AEP - CSP     00040621042481153           Electric       Gov. Aggregation   FEOH - OE     08006954520001042677        Electric       Gov. Aggregation
AEP - CSP     00040621042582505           Electric       Gov. Aggregation   FEOH - TE     08005850942150093344        Electric       Gov. Aggregation
AEP - CSP     00040621042589705           Electric       Gov. Aggregation   FEOH - TE     08005852482210012591        Electric       Gov. Aggregation
AEP - CSP     00040621042603025           Electric       Gov. Aggregation   FEOH - TE     08005854362210013217        Electric       Gov. Aggregation
AEP - CSP     00040621042763055           Electric       Gov. Aggregation   FEOH - TE     08005921952380033327        Electric       Gov. Aggregation
AEP - CSP     00040621042839385           Electric       Gov. Aggregation   FEOH - TE     08005924132740090324        Electric       Gov. Aggregation
AEP - CSP     00040621041037465           Electric       Gov. Aggregation   FEOH - TE     08005924662920091377        Electric       Gov. Aggregation
AEP - CSP     00040621041072525           Electric       Gov. Aggregation   FEOH - TE     08005924742940092834        Electric       Gov. Aggregation
AEP - CSP     00040621041277155           Electric       Gov. Aggregation   AEP - OP      00140060789882945           Electric       Gov. Aggregation
AEP - CSP     00040621041414751           Electric       Gov. Aggregation   AEP - OP      00140060789885682           Electric       Gov. Aggregation
AEP - CSP     00040621041417631           Electric       Gov. Aggregation   AEP - OP      00140060789978912           Electric       Gov. Aggregation
AEP - CSP     00040621041427062           Electric       Gov. Aggregation   AEP - OP      00140060790046371           Electric       Gov. Aggregation
AEP - CSP     00040621041452562           Electric       Gov. Aggregation   AEP - OP      00140060790090393           Electric       Gov. Aggregation
AEP - CSP     00040621042028894           Electric       Gov. Aggregation   AEP - OP      00140060790143233           Electric       Gov. Aggregation
AEP - CSP     00040621042114631           Electric       Gov. Aggregation   AEP - OP      00140060790209631           Electric       Gov. Aggregation
AEP - CSP     00040621042184890           Electric       Gov. Aggregation   FEOH - OE     08006950640001128778        Electric       Gov. Aggregation
AEP - CSP     00040621042371503           Electric       Gov. Aggregation   FEOH - TE     08006954482250093932        Electric       Gov. Aggregation
AEP - CSP     00040621042546850           Electric       Gov. Aggregation   FEOH - TE     08006991702900003336        Electric       Gov. Aggregation
AEP - CSP     00040621042556271           Electric       Gov. Aggregation   FEOH - TE     08006995262900007533        Electric       Gov. Aggregation
AEP - CSP     00040621042642401           Electric       Gov. Aggregation   FEOH - TE     08007060742510007685        Electric       Gov. Aggregation
AEP - CSP     00040621037271665           Electric       Gov. Aggregation   FEOH - TE     08007067732180092419        Electric       Gov. Aggregation
AEP - CSP     00040621037485252           Electric       Gov. Aggregation   FEOH - TE     08007069462460028771        Electric       Gov. Aggregation
AEP - CSP     00040621037487663           Electric       Gov. Aggregation   AEP - OP      00140060792995121           Electric       Gov. Aggregation
AEP - CSP     00040621037659570           Electric       Gov. Aggregation   AEP - OP      00140060793111840           Electric       Gov. Aggregation
AEP - CSP     00040621037809653           Electric       Gov. Aggregation   AEP - OP      00140060793142031           Electric       Gov. Aggregation
AEP - CSP     00040621049267454           Electric       Gov. Aggregation   AEP - OP      00140060793146671           Electric       Gov. Aggregation
AEP - CSP     00040621049686095           Electric       Gov. Aggregation   AEP - OP      00140060793341485           Electric       Gov. Aggregation
AEP - CSP     00040621049725473           Electric       Gov. Aggregation   AEP - OP      00140060793391405           Electric       Gov. Aggregation
AEP - CSP     00040621049727732           Electric       Gov. Aggregation   AEP - OP      00140060793478984           Electric       Gov. Aggregation
AEP - CSP     00040621049861820           Electric       Gov. Aggregation   FEOH - TE     08004832172850017521        Electric       Gov. Aggregation
AEP - CSP     00040621049923154           Electric       Gov. Aggregation   AEP - OP      00140060793637934           Electric       Gov. Aggregation
AEP - CSP     00040621037254890           Electric       Gov. Aggregation   AEP - OP      00140060793695525           Electric       Gov. Aggregation
AEP - CSP     00040621037285611           Electric       Gov. Aggregation   AEP - OP      00140060793767563           Electric       Gov. Aggregation
AEP - CSP     00040621037462764           Electric       Gov. Aggregation   AEP - OP      00140060793774371           Electric       Gov. Aggregation
AEP - CSP     00040621037497513           Electric       Gov. Aggregation   AEP - OP      00140060793795320           Electric       Gov. Aggregation
AEP - CSP     00040621037515421           Electric       Gov. Aggregation   AEP - OP      00140060793820663           Electric       Gov. Aggregation
AEP - CSP     00040621037548944           Electric       Gov. Aggregation   AEP - OP      00140060793892811           Electric       Gov. Aggregation
AEP - CSP     00040621037637543           Electric       Gov. Aggregation   AEP - OP      00140060793254143           Electric       Gov. Aggregation
AEP - CSP     00040621042896794           Electric       Gov. Aggregation   AEP - OP      00140060793267595           Electric       Gov. Aggregation
AEP - CSP     00040621042972975           Electric       Gov. Aggregation   AEP - OP      00140060793284754           Electric       Gov. Aggregation
AEP - CSP     00040621043043972           Electric       Gov. Aggregation   AEP - OP      00140060793321252           Electric       Gov. Aggregation
AEP - CSP     00040621043143314           Electric       Gov. Aggregation   AEP - OP      00140060793394741           Electric       Gov. Aggregation
AEP - CSP     00040621043184944           Electric       Gov. Aggregation   AEP - OP      00140060793438140           Electric       Gov. Aggregation
AEP - CSP     00040621043237232           Electric       Gov. Aggregation   FEOH - TE     08006998302900009129        Electric       Gov. Aggregation
AEP - CSP     00040621043239643           Electric       Gov. Aggregation   FEOH - TE     08006998972000093388        Electric       Gov. Aggregation
     Case 2:22-bk-50804                        Doc 155 Filed 04/08/22 Entered 04/08/22 16:29:21                                  Desc Main
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621041903703           Electric       Gov. Aggregation   FEOH - TE     08007062912900010856        Electric       Gov. Aggregation
AEP - CSP     00040621041975504           Electric       Gov. Aggregation   FEOH - TE     08007250662600007007        Electric       Gov. Aggregation
AEP - CSP     00040621041985441           Electric       Gov. Aggregation   FEOH - TE     08005929992810020830        Electric       Gov. Aggregation
AEP - CSP     00040621041992401           Electric       Gov. Aggregation   FEOH - TE     08005987682220090463        Electric       Gov. Aggregation
AEP - CSP     00040621042013883           Electric       Gov. Aggregation   FEOH - TE     08005992302380031271        Electric       Gov. Aggregation
AEP - CSP     00040621042027645           Electric       Gov. Aggregation   FEOH - TE     08005992422380031317        Electric       Gov. Aggregation
AEP - CSP     00040621042172400           Electric       Gov. Aggregation   FEOH - TE     08005993002380031764        Electric       Gov. Aggregation
AEP - CSP     00040621037855284           Electric       Gov. Aggregation   FEOH - TE     08005993322040003188        Electric       Gov. Aggregation
AEP - CSP     00040621037910340           Electric       Gov. Aggregation   AEP - OP      00140060790275515           Electric       Gov. Aggregation
AEP - CSP     00040621038172561           Electric       Gov. Aggregation   AEP - OP      00140060790343920           Electric       Gov. Aggregation
AEP - CSP     00040621038382285           Electric       Gov. Aggregation   AEP - OP      00140060790368012           Electric       Gov. Aggregation
AEP - CSP     00040621038430585           Electric       Gov. Aggregation   AEP - OP      00140060790413505           Electric       Gov. Aggregation
AEP - CSP     00040621038447873           Electric       Gov. Aggregation   AEP - OP      00140060790444410           Electric       Gov. Aggregation
AEP - CSP     00040621038469052           Electric       Gov. Aggregation   AEP - OP      00140060790460291           Electric       Gov. Aggregation
AEP - CSP     00040621044501265           Electric       Gov. Aggregation   AEP - OP      00140060790714480           Electric       Gov. Aggregation
AEP - CSP     00040621044564714           Electric       Gov. Aggregation   AEP - OP      00140060795607531           Electric       Gov. Aggregation
AEP - CSP     00040621044672342           Electric       Gov. Aggregation   AEP - OP      00140060795634035           Electric       Gov. Aggregation
AEP - CSP     00040621044920551           Electric       Gov. Aggregation   AEP - OP      00140060795677625           Electric       Gov. Aggregation
AEP - CSP     00040621045031100           Electric       Gov. Aggregation   AEP - OP      00140060795768433           Electric       Gov. Aggregation
AEP - CSP     00040621045069721           Electric       Gov. Aggregation   AEP - OP      00140060795918542           Electric       Gov. Aggregation
AEP - CSP     00040621045125900           Electric       Gov. Aggregation   AEP - OP      00140060795961925           Electric       Gov. Aggregation
AEP - CSP     00040621042728093           Electric       Gov. Aggregation   AEP - OP      00140060796088621           Electric       Gov. Aggregation
AEP - CSP     00040621042805424           Electric       Gov. Aggregation   FEOH - TE     08007245952640020849        Electric       Gov. Aggregation
AEP - CSP     00040621042982303           Electric       Gov. Aggregation   FEOH - TE     08007250012600006841        Electric       Gov. Aggregation
AEP - CSP     00040621043078254           Electric       Gov. Aggregation   FEOH - TE     08007252172600010054        Electric       Gov. Aggregation
AEP - CSP     00040621043351325           Electric       Gov. Aggregation   FEOH - TE     08007253882900003374        Electric       Gov. Aggregation
AEP - CSP     00040621043375422           Electric       Gov. Aggregation   FEOH - TE     08007254812900006211        Electric       Gov. Aggregation
AEP - CSP     00040621043491603           Electric       Gov. Aggregation   FEOH - OE     08005009070000789274        Electric       Gov. Aggregation
AEP - CSP     00040621050200585           Electric       Gov. Aggregation   FEOH - OE     08005024610000849117        Electric       Gov. Aggregation
AEP - CSP     00040621050516622           Electric       Gov. Aggregation   FEOH - OE     08005074730001508574        Electric       Gov. Aggregation
AEP - CSP     00040621050542892           Electric       Gov. Aggregation   FEOH - OE     08005170230000791190        Electric       Gov. Aggregation
AEP - CSP     00040621050669462           Electric       Gov. Aggregation   FEOH - TE     08005259112850026022        Electric       Gov. Aggregation
AEP - CSP     00040621037726362           Electric       Gov. Aggregation   FEOH - TE     08005297152680024003        Electric       Gov. Aggregation
AEP - CSP     00040621037758252           Electric       Gov. Aggregation   FEOH - TE     08005297392680024060        Electric       Gov. Aggregation
AEP - CSP     00040621037924870           Electric       Gov. Aggregation   AEP - OP      00140060793934423           Electric       Gov. Aggregation
AEP - CSP     00040621038060593           Electric       Gov. Aggregation   AEP - OP      00140060793965080           Electric       Gov. Aggregation
AEP - CSP     00040621038353292           Electric       Gov. Aggregation   AEP - OP      00140060794006755           Electric       Gov. Aggregation
AEP - CSP     00040621038462133           Electric       Gov. Aggregation   AEP - OP      00140060794099723           Electric       Gov. Aggregation
AEP - CSP     00040621038495520           Electric       Gov. Aggregation   AEP - OP      00140060794138805           Electric       Gov. Aggregation
AEP - CSP     00040621043312984           Electric       Gov. Aggregation   AEP - OP      00140060794169422           Electric       Gov. Aggregation
AEP - CSP     00040621043392884           Electric       Gov. Aggregation   AEP - OP      00140060794205080           Electric       Gov. Aggregation
AEP - CSP     00040621043426432           Electric       Gov. Aggregation   FEOH - OE     08006032550000803775        Electric       Gov. Aggregation
AEP - CSP     00040621043443663           Electric       Gov. Aggregation   FEOH - TE     08006062202080027955        Electric       Gov. Aggregation
AEP - CSP     00040621043454705           Electric       Gov. Aggregation   FEOH - TE     08006064462080028638        Electric       Gov. Aggregation
AEP - CSP     00040621043797042           Electric       Gov. Aggregation   FEOH - TE     08006064652090092105        Electric       Gov. Aggregation
AEP - CSP     00040621038680641           Electric       Gov. Aggregation   FEOH - TE     08006065372170093208        Electric       Gov. Aggregation
AEP - CSP     00040621038778072           Electric       Gov. Aggregation   FEOH - TE     08006066102210012548        Electric       Gov. Aggregation
AEP - CSP     00040621038812280           Electric       Gov. Aggregation   FEOH - TE     08006068632210013185        Electric       Gov. Aggregation
AEP - CSP     00040621038996380           Electric       Gov. Aggregation   AEP - OP      00140060796164753           Electric       Gov. Aggregation
AEP - CSP     00040621039390085           Electric       Gov. Aggregation   AEP - OP      00140060796288873           Electric       Gov. Aggregation
AEP - CSP     00040621039397684           Electric       Gov. Aggregation   AEP - OP      00140060796302132           Electric       Gov. Aggregation
AEP - CSP     00040621042223580           Electric       Gov. Aggregation   AEP - OP      00140060796316363           Electric       Gov. Aggregation
AEP - CSP     00040621042407751           Electric       Gov. Aggregation   AEP - OP      00140060796327122           Electric       Gov. Aggregation
AEP - CSP     00040621042682620           Electric       Gov. Aggregation   AEP - OP      00140060796426865           Electric       Gov. Aggregation
AEP - CSP     00040621042765050           Electric       Gov. Aggregation   AEP - OP      00140060796462790           Electric       Gov. Aggregation
AEP - CSP     00040621042775363           Electric       Gov. Aggregation   AEP - OP      00140060793466635           Electric       Gov. Aggregation
AEP - CSP     00040621042912985           Electric       Gov. Aggregation   AEP - OP      00140060793563371           Electric       Gov. Aggregation
AEP - CSP     00040621043625385           Electric       Gov. Aggregation   AEP - OP      00140060793566943           Electric       Gov. Aggregation
AEP - CSP     00040621043688180           Electric       Gov. Aggregation   AEP - OP      00140060793590742           Electric       Gov. Aggregation
AEP - CSP     00040621043770171           Electric       Gov. Aggregation   AEP - OP      00140060793702260           Electric       Gov. Aggregation
AEP - CSP     00040621043814542           Electric       Gov. Aggregation   AEP - OP      00140060793896633           Electric       Gov. Aggregation
AEP - CSP     00040621044032293           Electric       Gov. Aggregation   AEP - OP      00140060793997610           Electric       Gov. Aggregation
AEP - CSP     00040621044189252           Electric       Gov. Aggregation   AEP - OP      00140060790818521           Electric       Gov. Aggregation
AEP - CSP     00040621044221714           Electric       Gov. Aggregation   AEP - OP      00140060790930460           Electric       Gov. Aggregation
AEP - CSP     00040621032902912           Electric       Gov. Aggregation   AEP - OP      00140060790931703           Electric       Gov. Aggregation
AEP - CSP     00040621032960954           Electric       Gov. Aggregation   AEP - OP      00140060791023010           Electric       Gov. Aggregation
AEP - CSP     00040621033137794           Electric       Gov. Aggregation   AEP - OP      00140060791042093           Electric       Gov. Aggregation
AEP - CSP     00040621033164104           Electric       Gov. Aggregation   AEP - OP      00140060791070695           Electric       Gov. Aggregation
AEP - CSP     00040621033170772           Electric       Gov. Aggregation   AEP - OP      00140060791121291           Electric       Gov. Aggregation
AEP - CSP     00040621033178471           Electric       Gov. Aggregation   FEOH - TE     08007255792900007514        Electric       Gov. Aggregation
AEP - CSP     00040621045136260           Electric       Gov. Aggregation   FEOH - TE     08007256702900008747        Electric       Gov. Aggregation
AEP - CSP     00040621045147310           Electric       Gov. Aggregation   FEOH - TE     08007394192680022046        Electric       Gov. Aggregation
AEP - CSP     00040621045190483           Electric       Gov. Aggregation   FEOH - TE     08007395292850020296        Electric       Gov. Aggregation
AEP - CSP     00040621045240630           Electric       Gov. Aggregation   FEOH - TE     08007395382850020309        Electric       Gov. Aggregation
AEP - CSP     00040621045354404           Electric       Gov. Aggregation   FEOH - TE     08007395852850020436        Electric       Gov. Aggregation
AEP - CSP     00040621045356033           Electric       Gov. Aggregation   FEOH - TE     08007398942850022623        Electric       Gov. Aggregation
AEP - CSP     00040621050750471           Electric       Gov. Aggregation   FEOH - OE     08005313300001127717        Electric       Gov. Aggregation
AEP - CSP     00040621050818621           Electric       Gov. Aggregation   FEOH - OE     08005313300001128622        Electric       Gov. Aggregation
AEP - CSP     00040621050819220           Electric       Gov. Aggregation   FEOH - OE     08005313300001130547        Electric       Gov. Aggregation
AEP - CSP     00040621050898095           Electric       Gov. Aggregation   FEOH - TE     08005337442380031252        Electric       Gov. Aggregation
AEP - CSP     00040621051026224           Electric       Gov. Aggregation   FEOH - OE     08005345430001401320        Electric       Gov. Aggregation
AEP - CSP     00040621051111093           Electric       Gov. Aggregation   FEOH - OE     08005347780001042625        Electric       Gov. Aggregation
AEP - CSP     00040621038513372           Electric       Gov. Aggregation   FEOH - OE     08005362270000791681        Electric       Gov. Aggregation
AEP - CSP     00040621038657913           Electric       Gov. Aggregation   AEP - OP      00140060794453741           Electric       Gov. Aggregation
AEP - CSP     00040621038832174           Electric       Gov. Aggregation   AEP - OP      00140060794601863           Electric       Gov. Aggregation
AEP - CSP     00040621038894565           Electric       Gov. Aggregation   AEP - OP      00140060794772453           Electric       Gov. Aggregation
AEP - CSP     00040621038914961           Electric       Gov. Aggregation   AEP - OP      00140060794851082           Electric       Gov. Aggregation
AEP - CSP     00040621038961714           Electric       Gov. Aggregation   AEP - OP      00140060795060534           Electric       Gov. Aggregation
AEP - CSP     00040621045502814           Electric       Gov. Aggregation   AEP - OP      00140060795201064           Electric       Gov. Aggregation
AEP - CSP     00040621045639401           Electric       Gov. Aggregation   AEP - OP      00140060795203550           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621045640265           Electric       Gov. Aggregation   FEOH - TE     08006069622210013555        Electric       Gov. Aggregation
AEP - CSP     00040621045744023           Electric       Gov. Aggregation   FEOH - TE     08006110332210013822        Electric       Gov. Aggregation
AEP - CSP     00040621045819683           Electric       Gov. Aggregation   FEOH - TE     08006112782210014702        Electric       Gov. Aggregation
AEP - CSP     00040621045867061           Electric       Gov. Aggregation   FEOH - TE     08006116762480093788        Electric       Gov. Aggregation
AEP - CSP     00040621046062844           Electric       Gov. Aggregation   FEOH - TE     08006118232810020914        Electric       Gov. Aggregation
AEP - CSP     00040621043882222           Electric       Gov. Aggregation   FEOH - OE     08006224430000804489        Electric       Gov. Aggregation
AEP - CSP     00040621043910814           Electric       Gov. Aggregation   FEOH - TE     08006224642510007440        Electric       Gov. Aggregation
AEP - CSP     00040621043931345           Electric       Gov. Aggregation   AEP - OP      00140060796596224           Electric       Gov. Aggregation
AEP - CSP     00040621044055083           Electric       Gov. Aggregation   AEP - OP      00140060796756574           Electric       Gov. Aggregation
AEP - CSP     00040621044196204           Electric       Gov. Aggregation   AEP - OP      00140060796765135           Electric       Gov. Aggregation
AEP - CSP     00040621044203360           Electric       Gov. Aggregation   AEP - OP      00140060796781232           Electric       Gov. Aggregation
AEP - CSP     00040621044363040           Electric       Gov. Aggregation   AEP - OP      00140060796801724           Electric       Gov. Aggregation
AEP - CSP     00040621042949303           Electric       Gov. Aggregation   AEP - OP      00140060796837005           Electric       Gov. Aggregation
AEP - CSP     00040621043058141           Electric       Gov. Aggregation   FEOH - TE     08007251122600007454        Electric       Gov. Aggregation
AEP - CSP     00040621043067011           Electric       Gov. Aggregation   FEOH - TE     08007253265001356545        Electric       Gov. Aggregation
AEP - CSP     00040621043090520           Electric       Gov. Aggregation   FEOH - TE     08007255932900007571        Electric       Gov. Aggregation
AEP - CSP     00040621043176810           Electric       Gov. Aggregation   FEOH - TE     08007257183000009545        Electric       Gov. Aggregation
AEP - CSP     00040621043353695           Electric       Gov. Aggregation   FEOH - TE     08007258092900009204        Electric       Gov. Aggregation
AEP - CSP     00040621043392041           Electric       Gov. Aggregation   FEOH - OE     08007260230001582795        Electric       Gov. Aggregation
AEP - CSP     00040621033433125           Electric       Gov. Aggregation   FEOH - TE     08007272132130009106        Electric       Gov. Aggregation
AEP - CSP     00040621033538214           Electric       Gov. Aggregation   AEP - OP      00140060794155731           Electric       Gov. Aggregation
AEP - CSP     00040621033672760           Electric       Gov. Aggregation   AEP - OP      00140060794313025           Electric       Gov. Aggregation
AEP - CSP     00040621033915675           Electric       Gov. Aggregation   AEP - OP      00140060794470861           Electric       Gov. Aggregation
AEP - CSP     00040621034028194           Electric       Gov. Aggregation   AEP - OP      00140060794474911           Electric       Gov. Aggregation
AEP - CSP     00040621034042552           Electric       Gov. Aggregation   AEP - OP      00140060794492015           Electric       Gov. Aggregation
AEP - CSP     00040621051123511           Electric       Gov. Aggregation   AEP - OP      00140060794519302           Electric       Gov. Aggregation
AEP - CSP     00040621051296933           Electric       Gov. Aggregation   FEOH - TE     08006252532210012286        Electric       Gov. Aggregation
AEP - CSP     00040621051332544           Electric       Gov. Aggregation   FEOH - TE     08006252842210012356        Electric       Gov. Aggregation
AEP - CSP     00040621051361362           Electric       Gov. Aggregation   FEOH - TE     08006255362300090953        Electric       Gov. Aggregation
AEP - CSP     00040621051767235           Electric       Gov. Aggregation   FEOH - TE     08006258762380028596        Electric       Gov. Aggregation
AEP - CSP     00040621051825745           Electric       Gov. Aggregation   FEOH - OE     08006316160000848864        Electric       Gov. Aggregation
AEP - CSP     00040621044274403           Electric       Gov. Aggregation   FEOH - TE     08006320202380032339        Electric       Gov. Aggregation
AEP - CSP     00040621044310764           Electric       Gov. Aggregation   FEOH - TE     08007516042900005665        Electric       Gov. Aggregation
AEP - CSP     00040621044402563           Electric       Gov. Aggregation   FEOH - TE     08007517672900007590        Electric       Gov. Aggregation
AEP - CSP     00040621044491305           Electric       Gov. Aggregation   FEOH - TE     08007583072900010082        Electric       Gov. Aggregation
AEP - CSP     00040621044560395           Electric       Gov. Aggregation   FEOH - TE     08007619822850022587        Electric       Gov. Aggregation
AEP - CSP     00040621039535480           Electric       Gov. Aggregation   FEOH - TE     08007688142130006588        Electric       Gov. Aggregation
AEP - CSP     00040621039726611           Electric       Gov. Aggregation   FEOH - TE     08007702302810020313        Electric       Gov. Aggregation
AEP - CSP     00040621039749500           Electric       Gov. Aggregation   FEOH - TE     08007703292810020609        Electric       Gov. Aggregation
AEP - CSP     00040621039823845           Electric       Gov. Aggregation   AEP - OP      00140060791280491           Electric       Gov. Aggregation
AEP - CSP     00040621039977604           Electric       Gov. Aggregation   AEP - OP      00140060791356843           Electric       Gov. Aggregation
AEP - CSP     00040621039072905           Electric       Gov. Aggregation   AEP - OP      00140060791388403           Electric       Gov. Aggregation
AEP - CSP     00040621039246445           Electric       Gov. Aggregation   AEP - OP      00140060791448551           Electric       Gov. Aggregation
AEP - CSP     00040621039298882           Electric       Gov. Aggregation   AEP - OP      00140060791637951           Electric       Gov. Aggregation
AEP - CSP     00040621039320065           Electric       Gov. Aggregation   AEP - OP      00140060791752012           Electric       Gov. Aggregation
AEP - CSP     00040621039341044           Electric       Gov. Aggregation   AEP - OP      00140060795437853           Electric       Gov. Aggregation
AEP - CSP     00040621039527653           Electric       Gov. Aggregation   AEP - OP      00140060795599144           Electric       Gov. Aggregation
AEP - CSP     00040621039598453           Electric       Gov. Aggregation   AEP - OP      00140060795600445           Electric       Gov. Aggregation
AEP - CSP     00040621044379873           Electric       Gov. Aggregation   AEP - OP      00140060795664274           Electric       Gov. Aggregation
AEP - CSP     00040621044524512           Electric       Gov. Aggregation   AEP - OP      00140060795677171           Electric       Gov. Aggregation
AEP - CSP     00040621044634873           Electric       Gov. Aggregation   AEP - OP      00140060795814114           Electric       Gov. Aggregation
AEP - CSP     00040621044663092           Electric       Gov. Aggregation   AEP - OP      00140060795949050           Electric       Gov. Aggregation
AEP - CSP     00040621044676704           Electric       Gov. Aggregation   FEOH - TE     08005365102300029654        Electric       Gov. Aggregation
AEP - CSP     00040621044705285           Electric       Gov. Aggregation   FEOH - TE     08005368282300030757        Electric       Gov. Aggregation
AEP - CSP     00040621044824743           Electric       Gov. Aggregation   FEOH - TE     08005368462300030827        Electric       Gov. Aggregation
AEP - CSP     00040621043394711           Electric       Gov. Aggregation   FEOH - TE     08005395602930032335        Electric       Gov. Aggregation
AEP - CSP     00040621043510854           Electric       Gov. Aggregation   FEOH - TE     08005397102930031864        Electric       Gov. Aggregation
AEP - CSP     00040621043913675           Electric       Gov. Aggregation   FEOH - TE     08005441332360093617        Electric       Gov. Aggregation
AEP - CSP     00040621044009804           Electric       Gov. Aggregation   FEOH - TE     08005444652600007134        Electric       Gov. Aggregation
AEP - CSP     00040621044039061           Electric       Gov. Aggregation   AEP - OP      00140060796853340           Electric       Gov. Aggregation
AEP - CSP     00040621044162914           Electric       Gov. Aggregation   AEP - OP      00140060796950812           Electric       Gov. Aggregation
AEP - CSP     00040621034089774           Electric       Gov. Aggregation   AEP - OP      00140060796970050           Electric       Gov. Aggregation
AEP - CSP     00040621034119451           Electric       Gov. Aggregation   AEP - OP      00140060797087603           Electric       Gov. Aggregation
AEP - CSP     00040621034354975           Electric       Gov. Aggregation   AEP - OP      00140060797088282           Electric       Gov. Aggregation
AEP - CSP     00040621034478850           Electric       Gov. Aggregation   AEP - OP      00140060797365142           Electric       Gov. Aggregation
AEP - CSP     00040621034724374           Electric       Gov. Aggregation   AEP - OP      00140060797366230           Electric       Gov. Aggregation
AEP - CSP     00040621034846892           Electric       Gov. Aggregation   FEOH - TE     08007309592460028785        Electric       Gov. Aggregation
AEP - CSP     00040621034918092           Electric       Gov. Aggregation   FEOH - TE     08007461282850025669        Electric       Gov. Aggregation
AEP - CSP     00040621052066380           Electric       Gov. Aggregation   FEOH - TE     08007513152600006855        Electric       Gov. Aggregation
AEP - CSP     00040621052117810           Electric       Gov. Aggregation   FEOH - TE     08007514262600009918        Electric       Gov. Aggregation
AEP - CSP     00040621052218645           Electric       Gov. Aggregation   FEOH - TE     08007519622900009148        Electric       Gov. Aggregation
AEP - CSP     00040621052316071           Electric       Gov. Aggregation   AEP - OP      00140060794546874           Electric       Gov. Aggregation
AEP - CSP     00040621052671273           Electric       Gov. Aggregation   AEP - OP      00140060794563740           Electric       Gov. Aggregation
AEP - CSP     00040621052712680           Electric       Gov. Aggregation   AEP - OP      00140060794883671           Electric       Gov. Aggregation
AEP - CSP     00040621052736562           Electric       Gov. Aggregation   AEP - OP      00140060795136351           Electric       Gov. Aggregation
AEP - CSP     00040621044567471           Electric       Gov. Aggregation   AEP - OP      00140060795207332           Electric       Gov. Aggregation
AEP - CSP     00040621044655981           Electric       Gov. Aggregation   AEP - OP      00140060795356883           Electric       Gov. Aggregation
AEP - CSP     00040621044798405           Electric       Gov. Aggregation   FEOH - TE     08006320332420032124        Electric       Gov. Aggregation
AEP - CSP     00040621044925825           Electric       Gov. Aggregation   FEOH - TE     08006324292390000543        Electric       Gov. Aggregation
AEP - CSP     00040621045054033           Electric       Gov. Aggregation   FEOH - TE     08006385502210012111        Electric       Gov. Aggregation
AEP - CSP     00040621045067560           Electric       Gov. Aggregation   FEOH - TE     08006389752170012984        Electric       Gov. Aggregation
AEP - CSP     00040621045149995           Electric       Gov. Aggregation   FEOH - OE     08006421830000803184        Electric       Gov. Aggregation
AEP - CSP     00040621040176731           Electric       Gov. Aggregation   FEOH - OE     08006439965000256343        Electric       Gov. Aggregation
AEP - CSP     00040621040377065           Electric       Gov. Aggregation   FEOH - TE     08006458402380032381        Electric       Gov. Aggregation
AEP - CSP     00040621040660424           Electric       Gov. Aggregation   AEP - OP      00140060791974394           Electric       Gov. Aggregation
AEP - CSP     00040621040752821           Electric       Gov. Aggregation   AEP - OP      00140060792020342           Electric       Gov. Aggregation
AEP - CSP     00040621040781800           Electric       Gov. Aggregation   AEP - OP      00140060792052275           Electric       Gov. Aggregation
AEP - CSP     00040621040908491           Electric       Gov. Aggregation   AEP - OP      00140060792164012           Electric       Gov. Aggregation
AEP - CSP     00040621040991352           Electric       Gov. Aggregation   AEP - OP      00140060792330513           Electric       Gov. Aggregation
AEP - CSP     00040621044894054           Electric       Gov. Aggregation   AEP - OP      00140060792360350           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621044912285           Electric       Gov. Aggregation   FEOH - TE     08007703675000357456        Electric       Gov. Aggregation
AEP - CSP     00040621044988452           Electric       Gov. Aggregation   FEOH - TE     08007773642850018913        Electric       Gov. Aggregation
AEP - CSP     00040621045132232           Electric       Gov. Aggregation   FEOH - TE     08007778782850020070        Electric       Gov. Aggregation
AEP - CSP     00040621045153944           Electric       Gov. Aggregation   FEOH - TE     08007778842850020099        Electric       Gov. Aggregation
AEP - CSP     00040621045164094           Electric       Gov. Aggregation   FEOH - TE     08007836082850022919        Electric       Gov. Aggregation
AEP - CSP     00040621045231371           Electric       Gov. Aggregation   FEOH - TE     08007864842850025705        Electric       Gov. Aggregation
AEP - CSP     00040621044754993           Electric       Gov. Aggregation   FEOH - TE     08007866042810015386        Electric       Gov. Aggregation
AEP - CSP     00040621044766955           Electric       Gov. Aggregation   AEP - OP      00140060795984342           Electric       Gov. Aggregation
AEP - CSP     00040621044841254           Electric       Gov. Aggregation   AEP - OP      00140060796209595           Electric       Gov. Aggregation
AEP - CSP     00040621044873433           Electric       Gov. Aggregation   AEP - OP      00140060796220845           Electric       Gov. Aggregation
AEP - CSP     00040621044879441           Electric       Gov. Aggregation   AEP - OP      00140060796225700           Electric       Gov. Aggregation
AEP - CSP     00040621044996000           Electric       Gov. Aggregation   AEP - OP      00140060796225931           Electric       Gov. Aggregation
AEP - CSP     00040621039629805           Electric       Gov. Aggregation   AEP - OP      00140060796270280           Electric       Gov. Aggregation
AEP - CSP     00040621039682274           Electric       Gov. Aggregation   AEP - OP      00140060796292161           Electric       Gov. Aggregation
AEP - CSP     00040621039794751           Electric       Gov. Aggregation   FEOH - TE     08005449825001477753        Electric       Gov. Aggregation
AEP - CSP     00040621039918145           Electric       Gov. Aggregation   FEOH - TE     08005460682030033279        Electric       Gov. Aggregation
AEP - CSP     00040621039989225           Electric       Gov. Aggregation   FEOH - TE     08005461332030033476        Electric       Gov. Aggregation
AEP - CSP     00040621040154005           Electric       Gov. Aggregation   FEOH - TE     08005466215000317697        Electric       Gov. Aggregation
AEP - CSP     00040621045183205           Electric       Gov. Aggregation   FEOH - TE     08005522512640019361        Electric       Gov. Aggregation
AEP - CSP     00040621045235104           Electric       Gov. Aggregation   FEOH - OE     08007573090000592371        Electric       Gov. Aggregation
AEP - CSP     00040621045544810           Electric       Gov. Aggregation   FEOH - TE     08007588192430090909        Electric       Gov. Aggregation
AEP - CSP     00040621046056461           Electric       Gov. Aggregation   FEOH - TE     08007610762390090674        Electric       Gov. Aggregation
AEP - CSP     00040621046094141           Electric       Gov. Aggregation   FEOH - TE     08007615282850018364        Electric       Gov. Aggregation
AEP - CSP     00040621046117413           Electric       Gov. Aggregation   FEOH - TE     08007687692130006428        Electric       Gov. Aggregation
AEP - CSP     00040621046152404           Electric       Gov. Aggregation   FEOH - TE     08007705552810022056        Electric       Gov. Aggregation
AEP - CSP     00040621046104123           Electric       Gov. Aggregation   FEOH - TE     08007707622810022816        Electric       Gov. Aggregation
AEP - CSP     00040621046212900           Electric       Gov. Aggregation   AEP - OP      00140060797510965           Electric       Gov. Aggregation
AEP - CSP     00040621046230845           Electric       Gov. Aggregation   AEP - OP      00140060797579143           Electric       Gov. Aggregation
AEP - CSP     00040621046242630           Electric       Gov. Aggregation   AEP - OP      00140060797667595           Electric       Gov. Aggregation
AEP - CSP     00040621046331401           Electric       Gov. Aggregation   AEP - OP      00140060797700423           Electric       Gov. Aggregation
AEP - CSP     00040621046332075           Electric       Gov. Aggregation   AEP - OP      00140060797706115           Electric       Gov. Aggregation
AEP - CSP     00040621046479963           Electric       Gov. Aggregation   AEP - OP      00140060797720213           Electric       Gov. Aggregation
AEP - CSP     00040621041254343           Electric       Gov. Aggregation   AEP - OP      00140060797782984           Electric       Gov. Aggregation
AEP - CSP     00040621041356970           Electric       Gov. Aggregation   AEP - OP      00140060795421484           Electric       Gov. Aggregation
AEP - CSP     00040621041370803           Electric       Gov. Aggregation   AEP - OP      00140060795465564           Electric       Gov. Aggregation
AEP - CSP     00040621041423773           Electric       Gov. Aggregation   AEP - OP      00140060795495601           Electric       Gov. Aggregation
AEP - CSP     00040621041434802           Electric       Gov. Aggregation   AEP - OP      00140060795517101           Electric       Gov. Aggregation
AEP - CSP     00040621041479215           Electric       Gov. Aggregation   AEP - OP      00140060795754570           Electric       Gov. Aggregation
AEP - CSP     00040621041710653           Electric       Gov. Aggregation   AEP - OP      00140060795804785           Electric       Gov. Aggregation
AEP - CSP     00040621045252872           Electric       Gov. Aggregation   AEP - OP      00140060795873084           Electric       Gov. Aggregation
AEP - CSP     00040621045617853           Electric       Gov. Aggregation   AEP - OP      00140060792368254           Electric       Gov. Aggregation
AEP - CSP     00040621045660143           Electric       Gov. Aggregation   AEP - OP      00140060792505353           Electric       Gov. Aggregation
AEP - CSP     00040621045887354           Electric       Gov. Aggregation   AEP - OP      00140060792514415           Electric       Gov. Aggregation
AEP - CSP     00040621045982725           Electric       Gov. Aggregation   AEP - OP      00140060792574612           Electric       Gov. Aggregation
AEP - CSP     00040621046025741           Electric       Gov. Aggregation   AEP - OP      00140060792597503           Electric       Gov. Aggregation
AEP - CSP     00040621046103595           Electric       Gov. Aggregation   AEP - OP      00140060792638521           Electric       Gov. Aggregation
AEP - CSP     00040621046630894           Electric       Gov. Aggregation   AEP - OP      00140060792647761           Electric       Gov. Aggregation
AEP - CSP     00040621046652664           Electric       Gov. Aggregation   FEOH - TE     08007900862850023786        Electric       Gov. Aggregation
AEP - CSP     00040621046812374           Electric       Gov. Aggregation   FEOH - TE     08007930125001264386        Electric       Gov. Aggregation
AEP - CSP     00040621046946075           Electric       Gov. Aggregation   FEOH - TE     08008020972810021231        Electric       Gov. Aggregation
AEP - CSP     00040621047042862           Electric       Gov. Aggregation   FEOH - TE     08008022022810022159        Electric       Gov. Aggregation
AEP - CSP     00040621047048574           Electric       Gov. Aggregation   FEOH - TE     08008091312850019691        Electric       Gov. Aggregation
AEP - CSP     00040621047161803           Electric       Gov. Aggregation   FEOH - TE     08006459522380032841        Electric       Gov. Aggregation
AEP - CSP     00040621045101260           Electric       Gov. Aggregation   FEOH - OE     08006507150001046501        Electric       Gov. Aggregation
AEP - CSP     00040621045195780           Electric       Gov. Aggregation   FEOH - OE     08006507150001046502        Electric       Gov. Aggregation
AEP - CSP     00040621045286774           Electric       Gov. Aggregation   FEOH - OE     08006507150001046536        Electric       Gov. Aggregation
AEP - CSP     00040621045458702           Electric       Gov. Aggregation   FEOH - TE     08005523312640019727        Electric       Gov. Aggregation
AEP - CSP     00040621045485980           Electric       Gov. Aggregation   FEOH - TE     08005530222080022210        Electric       Gov. Aggregation
AEP - CSP     00040621045518285           Electric       Gov. Aggregation   FEOH - TE     08005534492080026789        Electric       Gov. Aggregation
AEP - CSP     00040621045697615           Electric       Gov. Aggregation   FEOH - TE     08005535132080027049        Electric       Gov. Aggregation
AEP - CSP     00040621040418033           Electric       Gov. Aggregation   FEOH - TE     08005536152080027181        Electric       Gov. Aggregation
AEP - CSP     00040621040422474           Electric       Gov. Aggregation   FEOH - TE     08005539562080027796        Electric       Gov. Aggregation
AEP - CSP     00040621040509064           Electric       Gov. Aggregation   FEOH - TE     08005586182420093783        Electric       Gov. Aggregation
AEP - CSP     00040621040556903           Electric       Gov. Aggregation   AEP - OP      00140060796361010           Electric       Gov. Aggregation
AEP - CSP     00040621040631714           Electric       Gov. Aggregation   AEP - OP      00140060796410572           Electric       Gov. Aggregation
AEP - CSP     00040621040731913           Electric       Gov. Aggregation   AEP - OP      00140060796416763           Electric       Gov. Aggregation
AEP - CSP     00040621041017484           Electric       Gov. Aggregation   AEP - OP      00140060796420910           Electric       Gov. Aggregation
AEP - CSP     00040621035243231           Electric       Gov. Aggregation   AEP - OP      00140060796465732           Electric       Gov. Aggregation
AEP - CSP     00040621035437481           Electric       Gov. Aggregation   AEP - OP      00140060796506053           Electric       Gov. Aggregation
AEP - CSP     00040621035479772           Electric       Gov. Aggregation   AEP - OP      00140060796545283           Electric       Gov. Aggregation
AEP - CSP     00040621035589191           Electric       Gov. Aggregation   FEOH - TE     08007778652850020046        Electric       Gov. Aggregation
AEP - CSP     00040621035595743           Electric       Gov. Aggregation   FEOH - TE     08007779682850020243        Electric       Gov. Aggregation
AEP - CSP     00040621035801234           Electric       Gov. Aggregation   FEOH - TE     08007815942850017432        Electric       Gov. Aggregation
AEP - CSP     00040621041792560           Electric       Gov. Aggregation   FEOH - TE     08007824792380032790        Electric       Gov. Aggregation
AEP - CSP     00040621041825595           Electric       Gov. Aggregation   FEOH - TE     08007869972030031889        Electric       Gov. Aggregation
AEP - CSP     00040621041952442           Electric       Gov. Aggregation   FEOH - TE     08007906082210013574        Electric       Gov. Aggregation
AEP - CSP     00040621042058481           Electric       Gov. Aggregation   FEOH - TE     08007906082210013589        Electric       Gov. Aggregation
AEP - CSP     00040621042180551           Electric       Gov. Aggregation   AEP - OP      00140060797836934           Electric       Gov. Aggregation
AEP - CSP     00040621042241304           Electric       Gov. Aggregation   AEP - OP      00140060798046992           Electric       Gov. Aggregation
AEP - CSP     00040621052741464           Electric       Gov. Aggregation   AEP - OP      00140060798151142           Electric       Gov. Aggregation
AEP - CSP     00040621052939322           Electric       Gov. Aggregation   AEP - OP      00140060798201423           Electric       Gov. Aggregation
AEP - CSP     00040621053152414           Electric       Gov. Aggregation   AEP - OP      00140060798226360           Electric       Gov. Aggregation
AEP - CSP     00040621053249011           Electric       Gov. Aggregation   AEP - OP      00140060798242143           Electric       Gov. Aggregation
AEP - CSP     00040621053256202           Electric       Gov. Aggregation   AEP - OP      00140060798493122           Electric       Gov. Aggregation
AEP - CSP     00040621053362615           Electric       Gov. Aggregation   AEP - OP      00140060796153111           Electric       Gov. Aggregation
AEP - CSP     00040621053396434           Electric       Gov. Aggregation   AEP - OP      00140060796204281           Electric       Gov. Aggregation
AEP - CSP     00040621047286123           Electric       Gov. Aggregation   AEP - OP      00140060796208041           Electric       Gov. Aggregation
AEP - CSP     00040621047381571           Electric       Gov. Aggregation   AEP - OP      00140060796230145           Electric       Gov. Aggregation
AEP - CSP     00040621047513413           Electric       Gov. Aggregation   AEP - OP      00140060796242590           Electric       Gov. Aggregation
AEP - CSP     00040621047659370           Electric       Gov. Aggregation   AEP - OP      00140060796395162           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621047828053           Electric       Gov. Aggregation   AEP - OP      00140060796520951           Electric       Gov. Aggregation
AEP - CSP     00040621047850975           Electric       Gov. Aggregation   AEP - OP      00140060792664443           Electric       Gov. Aggregation
AEP - CSP     00040621048020091           Electric       Gov. Aggregation   AEP - OP      00140060792746451           Electric       Gov. Aggregation
AEP - CSP     00040621046166005           Electric       Gov. Aggregation   AEP - OP      00140060793313444           Electric       Gov. Aggregation
AEP - CSP     00040621046250082           Electric       Gov. Aggregation   AEP - OP      00140060793367870           Electric       Gov. Aggregation
AEP - CSP     00040621046333305           Electric       Gov. Aggregation   AEP - OP      00140060793670523           Electric       Gov. Aggregation
AEP - CSP     00040621046356344           Electric       Gov. Aggregation   AEP - OP      00140060793739032           Electric       Gov. Aggregation
AEP - CSP     00040621046427570           Electric       Gov. Aggregation   AEP - OP      00140060793772371           Electric       Gov. Aggregation
AEP - CSP     00040621046488550           Electric       Gov. Aggregation   FEOH - TE     08008097352850023044        Electric       Gov. Aggregation
AEP - CSP     00040621041029325           Electric       Gov. Aggregation   FEOH - TE     08008099982850023804        Electric       Gov. Aggregation
AEP - CSP     00040621041103993           Electric       Gov. Aggregation   FEOH - TE     08008137122770013313        Electric       Gov. Aggregation
AEP - CSP     00040621041137974           Electric       Gov. Aggregation   FEOH - TE     08008137192770014226        Electric       Gov. Aggregation
AEP - CSP     00040621041417895           Electric       Gov. Aggregation   FEOH - TE     08008139052900009350        Electric       Gov. Aggregation
AEP - CSP     00040621041598801           Electric       Gov. Aggregation   FEOH - TE     08008152792850023063        Electric       Gov. Aggregation
AEP - CSP     00040621041607733           Electric       Gov. Aggregation   FEOH - TE     08008200492240091437        Electric       Gov. Aggregation
AEP - CSP     00040621041790570           Electric       Gov. Aggregation   FEOH - TE     08007907172140091154        Electric       Gov. Aggregation
AEP - CSP     00040621045907741           Electric       Gov. Aggregation   FEOH - TE     08007908352260093831        Electric       Gov. Aggregation
AEP - CSP     00040621046063314           Electric       Gov. Aggregation   FEOH - TE     08007959422810020421        Electric       Gov. Aggregation
AEP - CSP     00040621046074202           Electric       Gov. Aggregation   FEOH - TE     08008022022810022164        Electric       Gov. Aggregation
AEP - CSP     00040621046211500           Electric       Gov. Aggregation   FEOH - TE     08008092572850020121        Electric       Gov. Aggregation
AEP - CSP     00040621046224363           Electric       Gov. Aggregation   FEOH - TE     08008094942850021161        Electric       Gov. Aggregation
AEP - CSP     00040621046268382           Electric       Gov. Aggregation   AEP - OP      00140060796557522           Electric       Gov. Aggregation
AEP - CSP     00040621035871981           Electric       Gov. Aggregation   AEP - OP      00140060796561524           Electric       Gov. Aggregation
AEP - CSP     00040621036106374           Electric       Gov. Aggregation   AEP - OP      00140060796619930           Electric       Gov. Aggregation
AEP - CSP     00040621036356603           Electric       Gov. Aggregation   AEP - OP      00140060796680542           Electric       Gov. Aggregation
AEP - CSP     00040621036373871           Electric       Gov. Aggregation   AEP - OP      00140060796697013           Electric       Gov. Aggregation
AEP - CSP     00040621036409053           Electric       Gov. Aggregation   AEP - OP      00140060796809890           Electric       Gov. Aggregation
AEP - CSP     00040621036510550           Electric       Gov. Aggregation   AEP - OP      00140060796868831           Electric       Gov. Aggregation
AEP - CSP     00040621036510732           Electric       Gov. Aggregation   AEP - OP      00140060796672813           Electric       Gov. Aggregation
AEP - CSP     00040621053674184           Electric       Gov. Aggregation   AEP - OP      00140060796700323           Electric       Gov. Aggregation
AEP - CSP     00040621053715640           Electric       Gov. Aggregation   AEP - OP      00140060796710630           Electric       Gov. Aggregation
AEP - CSP     00040621053732924           Electric       Gov. Aggregation   AEP - OP      00140060796718753           Electric       Gov. Aggregation
AEP - CSP     00040621054064902           Electric       Gov. Aggregation   AEP - OP      00140060796860012           Electric       Gov. Aggregation
AEP - CSP     00040621054225450           Electric       Gov. Aggregation   AEP - OP      00140060796924395           Electric       Gov. Aggregation
AEP - CSP     00040621054264384           Electric       Gov. Aggregation   AEP - OP      00140060796979831           Electric       Gov. Aggregation
AEP - CSP     00040621046201050           Electric       Gov. Aggregation   AEP - OP      00140060793806401           Electric       Gov. Aggregation
AEP - CSP     00040621046230345           Electric       Gov. Aggregation   AEP - OP      00140060793960801           Electric       Gov. Aggregation
AEP - CSP     00040621046269622           Electric       Gov. Aggregation   AEP - OP      00140060793965352           Electric       Gov. Aggregation
AEP - CSP     00040621046341813           Electric       Gov. Aggregation   AEP - OP      00140060794036075           Electric       Gov. Aggregation
AEP - CSP     00040621046597624           Electric       Gov. Aggregation   AEP - OP      00140060794124833           Electric       Gov. Aggregation
AEP - CSP     00040621046642013           Electric       Gov. Aggregation   AEP - OP      00140060794222890           Electric       Gov. Aggregation
AEP - CSP     00040621046654314           Electric       Gov. Aggregation   AEP - OP      00140060794242553           Electric       Gov. Aggregation
AEP - CSP     00040621046698570           Electric       Gov. Aggregation   FEOH - TE     08006520712380033454        Electric       Gov. Aggregation
AEP - CSP     00040621046712765           Electric       Gov. Aggregation   FEOH - TE     08006529002380032235        Electric       Gov. Aggregation
AEP - CSP     00040621047105390           Electric       Gov. Aggregation   FEOH - TE     08006597652210090968        Electric       Gov. Aggregation
AEP - CSP     00040621047247324           Electric       Gov. Aggregation   FEOH - OE     08006624820001042729        Electric       Gov. Aggregation
AEP - CSP     00040621047258202           Electric       Gov. Aggregation   FEOH - TE     08006657732390001368        Electric       Gov. Aggregation
AEP - CSP     00040621047428185           Electric       Gov. Aggregation   FEOH - TE     08008203182770019923        Electric       Gov. Aggregation
AEP - CSP     00040621047450522           Electric       Gov. Aggregation   FEOH - TE     08008205262770020566        Electric       Gov. Aggregation
AEP - CSP     00040621042261492           Electric       Gov. Aggregation   FEOH - TE     08008228742810020258        Electric       Gov. Aggregation
AEP - CSP     00040621042281723           Electric       Gov. Aggregation   FEOH - TE     08008350172850019812        Electric       Gov. Aggregation
AEP - CSP     00040621042431311           Electric       Gov. Aggregation   FEOH - OE     08006771470000790700        Electric       Gov. Aggregation
AEP - CSP     00040621042471580           Electric       Gov. Aggregation   FEOH - TE     08008096172190093700        Electric       Gov. Aggregation
AEP - CSP     00040621042499990           Electric       Gov. Aggregation   FEOH - TE     08008139062770017120        Electric       Gov. Aggregation
AEP - CSP     00040621042550930           Electric       Gov. Aggregation   FEOH - OE     08008170175000339233        Electric       Gov. Aggregation
AEP - CSP     00040621041908421           Electric       Gov. Aggregation   FEOH - TE     08008209912030027864        Electric       Gov. Aggregation
AEP - CSP     00040621041931825           Electric       Gov. Aggregation   FEOH - TE     08008228572810020192        Electric       Gov. Aggregation
AEP - CSP     00040621042074455           Electric       Gov. Aggregation   AEP - OP      00140060798575815           Electric       Gov. Aggregation
AEP - CSP     00040621042328965           Electric       Gov. Aggregation   AEP - OP      00140060798602581           Electric       Gov. Aggregation
AEP - CSP     00040621042467363           Electric       Gov. Aggregation   AEP - OP      00140060798628404           Electric       Gov. Aggregation
AEP - CSP     00040621042467515           Electric       Gov. Aggregation   AEP - OP      00140060798638673           Electric       Gov. Aggregation
AEP - CSP     00040621042516611           Electric       Gov. Aggregation   AEP - OP      00140060798705731           Electric       Gov. Aggregation
AEP - CSP     00040621048080411           Electric       Gov. Aggregation   AEP - OP      00140060798779481           Electric       Gov. Aggregation
AEP - CSP     00040621048093130           Electric       Gov. Aggregation   AEP - OP      00140060796909042           Electric       Gov. Aggregation
AEP - CSP     00040621048111965           Electric       Gov. Aggregation   AEP - OP      00140060797049353           Electric       Gov. Aggregation
AEP - CSP     00040621048116975           Electric       Gov. Aggregation   AEP - OP      00140060797113521           Electric       Gov. Aggregation
AEP - CSP     00040621048166374           Electric       Gov. Aggregation   AEP - OP      00140060797165471           Electric       Gov. Aggregation
AEP - CSP     00040621048188935           Electric       Gov. Aggregation   AEP - OP      00140060797172102           Electric       Gov. Aggregation
AEP - CSP     00040621046497072           Electric       Gov. Aggregation   AEP - OP      00140060797329255           Electric       Gov. Aggregation
AEP - CSP     00040621046517864           Electric       Gov. Aggregation   AEP - OP      00140060797419091           Electric       Gov. Aggregation
AEP - CSP     00040621046942772           Electric       Gov. Aggregation   AEP - OP      00140060794264922           Electric       Gov. Aggregation
AEP - CSP     00040621046973754           Electric       Gov. Aggregation   AEP - OP      00140060794345941           Electric       Gov. Aggregation
AEP - CSP     00040621047130004           Electric       Gov. Aggregation   AEP - OP      00140060794374564           Electric       Gov. Aggregation
AEP - CSP     00040621047179181           Electric       Gov. Aggregation   AEP - OP      00140060794377042           Electric       Gov. Aggregation
AEP - CSP     00040621047642110           Electric       Gov. Aggregation   AEP - OP      00140060794449234           Electric       Gov. Aggregation
AEP - CSP     00040621047663353           Electric       Gov. Aggregation   AEP - OP      00140060794467231           Electric       Gov. Aggregation
AEP - CSP     00040621047721880           Electric       Gov. Aggregation   FEOH - TE     08008350932850020102        Electric       Gov. Aggregation
AEP - CSP     00040621047736372           Electric       Gov. Aggregation   FEOH - TE     08008393953000010862        Electric       Gov. Aggregation
AEP - CSP     00040621047752081           Electric       Gov. Aggregation   FEOH - TE     08008462372770014231        Electric       Gov. Aggregation
AEP - CSP     00040621047762001           Electric       Gov. Aggregation   FEOH - TE     08008532322030031625        Electric       Gov. Aggregation
AEP - CSP     00040621047807991           Electric       Gov. Aggregation   FEOH - TE     08008541272850025940        Electric       Gov. Aggregation
AEP - CSP     00040621046276470           Electric       Gov. Aggregation   FEOH - TE     08005652752210014736        Electric       Gov. Aggregation
AEP - CSP     00040621046301885           Electric       Gov. Aggregation   FEOH - TE     08005659682780094269        Electric       Gov. Aggregation
AEP - CSP     00040621046377824           Electric       Gov. Aggregation   FEOH - TE     08005670232890091157        Electric       Gov. Aggregation
AEP - CSP     00040621046869062           Electric       Gov. Aggregation   FEOH - TE     08005671462850022215        Electric       Gov. Aggregation
AEP - CSP     00040621047067394           Electric       Gov. Aggregation   FEOH - TE     08005677942300032855        Electric       Gov. Aggregation
AEP - CSP     00040621047087501           Electric       Gov. Aggregation   FEOH - TE     08005720702000094451        Electric       Gov. Aggregation
AEP - CSP     00040621047109880           Electric       Gov. Aggregation   FEOH - TE     08005722832030030957        Electric       Gov. Aggregation
AEP - CSP     00040621054306722           Electric       Gov. Aggregation   FEOH - OE     08006774940000777834        Electric       Gov. Aggregation
AEP - CSP     00040621054416761           Electric       Gov. Aggregation   FEOH - OE     08006774940000804009        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621054427151           Electric       Gov. Aggregation   FEOH - OE     08006803980000784636        Electric       Gov. Aggregation
AEP - CSP     00040621054435035           Electric       Gov. Aggregation   FEOH - TE     08006927572600006906        Electric       Gov. Aggregation
AEP - CSP     00040621054717781           Electric       Gov. Aggregation   FEOH - TE     08006928942600009956        Electric       Gov. Aggregation
AEP - CSP     00040621054742480           Electric       Gov. Aggregation   FEOH - OE     08006937720000604174        Electric       Gov. Aggregation
AEP - CSP     00040621054751895           Electric       Gov. Aggregation   AEP - OP      00140060797633931           Electric       Gov. Aggregation
AEP - CSP     00040621048382695           Electric       Gov. Aggregation   AEP - OP      00140060797668624           Electric       Gov. Aggregation
AEP - CSP     00040621048418541           Electric       Gov. Aggregation   AEP - OP      00140060797672784           Electric       Gov. Aggregation
AEP - CSP     00040621048458001           Electric       Gov. Aggregation   AEP - OP      00140060797696044           Electric       Gov. Aggregation
AEP - CSP     00040621048472014           Electric       Gov. Aggregation   AEP - OP      00140060797710305           Electric       Gov. Aggregation
AEP - CSP     00040621048622701           Electric       Gov. Aggregation   AEP - OP      00140060797745511           Electric       Gov. Aggregation
AEP - CSP     00040621048670920           Electric       Gov. Aggregation   AEP - OP      00140060797807504           Electric       Gov. Aggregation
AEP - CSP     00040621042663272           Electric       Gov. Aggregation   AEP - OP      00140060797180004           Electric       Gov. Aggregation
AEP - CSP     00040621042742652           Electric       Gov. Aggregation   AEP - OP      00140060797309902           Electric       Gov. Aggregation
AEP - CSP     00040621042748212           Electric       Gov. Aggregation   AEP - OP      00140060797389383           Electric       Gov. Aggregation
AEP - CSP     00040621042854923           Electric       Gov. Aggregation   AEP - OP      00140060797524952           Electric       Gov. Aggregation
AEP - CSP     00040621043157283           Electric       Gov. Aggregation   AEP - OP      00140060797529581           Electric       Gov. Aggregation
AEP - CSP     00040621043159345           Electric       Gov. Aggregation   AEP - OP      00140060797616671           Electric       Gov. Aggregation
AEP - CSP     00040621043171631           Electric       Gov. Aggregation   AEP - OP      00140060797638704           Electric       Gov. Aggregation
AEP - CSP     00040621042570602           Electric       Gov. Aggregation   AEP - OP      00140060794496795           Electric       Gov. Aggregation
AEP - CSP     00040621042631731           Electric       Gov. Aggregation   AEP - OP      00140060794614405           Electric       Gov. Aggregation
AEP - CSP     00040621042695312           Electric       Gov. Aggregation   AEP - OP      00140060794616724           Electric       Gov. Aggregation
AEP - CSP     00040621042754382           Electric       Gov. Aggregation   AEP - OP      00140060794636363           Electric       Gov. Aggregation
AEP - CSP     00040621042919030           Electric       Gov. Aggregation   AEP - OP      00140060794706420           Electric       Gov. Aggregation
AEP - CSP     00040621047223541           Electric       Gov. Aggregation   AEP - OP      00140060798798835           Electric       Gov. Aggregation
AEP - CSP     00040621047329094           Electric       Gov. Aggregation   AEP - OP      00140060798875455           Electric       Gov. Aggregation
AEP - CSP     00040621047368143           Electric       Gov. Aggregation   AEP - OP      00140060799085143           Electric       Gov. Aggregation
AEP - CSP     00040621047562033           Electric       Gov. Aggregation   AEP - OP      00140060799104254           Electric       Gov. Aggregation
AEP - CSP     00040621047692723           Electric       Gov. Aggregation   AEP - OP      00140060799123132           Electric       Gov. Aggregation
AEP - CSP     00040621047693742           Electric       Gov. Aggregation   AEP - OP      00140060799208861           Electric       Gov. Aggregation
AEP - CSP     00040621048228882           Electric       Gov. Aggregation   AEP - OP      00140060799271250           Electric       Gov. Aggregation
AEP - CSP     00040621048246100           Electric       Gov. Aggregation   FEOH - OE     08006950640001128578        Electric       Gov. Aggregation
AEP - CSP     00040621048303930           Electric       Gov. Aggregation   FEOH - OE     08006950640001128798        Electric       Gov. Aggregation
AEP - CSP     00040621048660872           Electric       Gov. Aggregation   FEOH - OE     08006990200000592347        Electric       Gov. Aggregation
AEP - CSP     00040621048678434           Electric       Gov. Aggregation   FEOH - TE     08006990442750091456        Electric       Gov. Aggregation
AEP - CSP     00040621048695584           Electric       Gov. Aggregation   FEOH - TE     08006997502900008996        Electric       Gov. Aggregation
AEP - CSP     00040621048749622           Electric       Gov. Aggregation   FEOH - TE     08008547112900007693        Electric       Gov. Aggregation
AEP - CSP     00040621048760463           Electric       Gov. Aggregation   FEOH - TE     08008676802770013192        Electric       Gov. Aggregation
AEP - CSP     00040621048855900           Electric       Gov. Aggregation   FEOH - TE     08008679392770017135        Electric       Gov. Aggregation
AEP - CSP     00040621048926290           Electric       Gov. Aggregation   FEOH - TE     08008729082300026816        Electric       Gov. Aggregation
AEP - CSP     00040621049232123           Electric       Gov. Aggregation   FEOH - TE     08008734332930031883        Electric       Gov. Aggregation
AEP - CSP     00040621049283102           Electric       Gov. Aggregation   FEOH - TE     08008739152850021847        Electric       Gov. Aggregation
AEP - CSP     00040621049399344           Electric       Gov. Aggregation   FEOH - TE     08008295712850018115        Electric       Gov. Aggregation
AEP - CSP     00040621048765275           Electric       Gov. Aggregation   FEOH - TE     08008353592850021227        Electric       Gov. Aggregation
AEP - CSP     00040621048828193           Electric       Gov. Aggregation   FEOH - TE     08008462172770013281        Electric       Gov. Aggregation
AEP - CSP     00040621048945294           Electric       Gov. Aggregation   FEOH - TE     08008463472770016907        Electric       Gov. Aggregation
AEP - CSP     00040621049214211           Electric       Gov. Aggregation   FEOH - TE     08008469112770021484        Electric       Gov. Aggregation
AEP - CSP     00040621049223680           Electric       Gov. Aggregation   FEOH - TE     08008676912770013205        Electric       Gov. Aggregation
AEP - CSP     00040621049243835           Electric       Gov. Aggregation   FEOH - TE     08008677332770013308        Electric       Gov. Aggregation
AEP - CSP     00040621049454913           Electric       Gov. Aggregation   AEP - OP      00140060797821064           Electric       Gov. Aggregation
AEP - CSP     00040621054778362           Electric       Gov. Aggregation   AEP - OP      00140060797880503           Electric       Gov. Aggregation
AEP - CSP     00040621054805694           Electric       Gov. Aggregation   AEP - OP      00140060797895834           Electric       Gov. Aggregation
AEP - CSP     00040621054934481           Electric       Gov. Aggregation   AEP - OP      00140060797951285           Electric       Gov. Aggregation
AEP - CSP     00040621055073111           Electric       Gov. Aggregation   AEP - OP      00140060798002073           Electric       Gov. Aggregation
AEP - CSP     00040621055187615           Electric       Gov. Aggregation   AEP - OP      00140060798086700           Electric       Gov. Aggregation
AEP - CSP     00040621055243435           Electric       Gov. Aggregation   AEP - OP      00140060798086781           Electric       Gov. Aggregation
AEP - CSP     00040621055249940           Electric       Gov. Aggregation   AEP - OP      00140060797657880           Electric       Gov. Aggregation
AEP - CSP     00040621043227305           Electric       Gov. Aggregation   AEP - OP      00140060797728984           Electric       Gov. Aggregation
AEP - CSP     00040621043377575           Electric       Gov. Aggregation   AEP - OP      00140060797763354           Electric       Gov. Aggregation
AEP - CSP     00040621043506480           Electric       Gov. Aggregation   AEP - OP      00140060797779181           Electric       Gov. Aggregation
AEP - CSP     00040621043626714           Electric       Gov. Aggregation   AEP - OP      00140060797808794           Electric       Gov. Aggregation
AEP - CSP     00040621043780001           Electric       Gov. Aggregation   AEP - OP      00140060797912263           Electric       Gov. Aggregation
AEP - CSP     00040621043817372           Electric       Gov. Aggregation   AEP - OP      00140060797926011           Electric       Gov. Aggregation
AEP - CSP     00040621047177421           Electric       Gov. Aggregation   FEOH - TE     08005723172030031024        Electric       Gov. Aggregation
AEP - CSP     00040621047253001           Electric       Gov. Aggregation   FEOH - TE     08005725542030033457        Electric       Gov. Aggregation
AEP - CSP     00040621047366390           Electric       Gov. Aggregation   FEOH - TE     08005728332040001431        Electric       Gov. Aggregation
AEP - CSP     00040621047455132           Electric       Gov. Aggregation   FEOH - TE     08005750772600005055        Electric       Gov. Aggregation
AEP - CSP     00040621047687751           Electric       Gov. Aggregation   FEOH - TE     08005758852640019268        Electric       Gov. Aggregation
AEP - CSP     00040621047888782           Electric       Gov. Aggregation   FEOH - TE     08005780992060090794        Electric       Gov. Aggregation
AEP - CSP     00040621047915933           Electric       Gov. Aggregation   FEOH - TE     08005781552380027452        Electric       Gov. Aggregation
AEP - CSP     00040621036815795           Electric       Gov. Aggregation   AEP - OP      00140060795035033           Electric       Gov. Aggregation
AEP - CSP     00040621036923075           Electric       Gov. Aggregation   AEP - OP      00140060795046291           Electric       Gov. Aggregation
AEP - CSP     00040621036970923           Electric       Gov. Aggregation   AEP - OP      00140060795072185           Electric       Gov. Aggregation
AEP - CSP     00040621037138490           Electric       Gov. Aggregation   AEP - OP      00140060795342902           Electric       Gov. Aggregation
AEP - CSP     00040621037227520           Electric       Gov. Aggregation   AEP - OP      00140060795403385           Electric       Gov. Aggregation
AEP - CSP     00040621037263482           Electric       Gov. Aggregation   AEP - OP      00140060795441912           Electric       Gov. Aggregation
AEP - CSP     00040621047804585           Electric       Gov. Aggregation   AEP - OP      00140060795467881           Electric       Gov. Aggregation
AEP - CSP     00040621047907955           Electric       Gov. Aggregation   AEP - OP      00140060799284550           Electric       Gov. Aggregation
AEP - CSP     00040621047937090           Electric       Gov. Aggregation   AEP - OP      00140060799320782           Electric       Gov. Aggregation
AEP - CSP     00040621048081753           Electric       Gov. Aggregation   AEP - OP      00140060799477624           Electric       Gov. Aggregation
AEP - CSP     00040621048274615           Electric       Gov. Aggregation   AEP - OP      00140060799572943           Electric       Gov. Aggregation
AEP - CSP     00040621048417871           Electric       Gov. Aggregation   AEP - OP      00140060799589105           Electric       Gov. Aggregation
AEP - CSP     00040621043182254           Electric       Gov. Aggregation   AEP - OP      00140060799594613           Electric       Gov. Aggregation
AEP - CSP     00040621043193860           Electric       Gov. Aggregation   AEP - OP      00140060799784481           Electric       Gov. Aggregation
AEP - CSP     00040621043197335           Electric       Gov. Aggregation   FEOH - TE     08006997692900009026        Electric       Gov. Aggregation
AEP - CSP     00040621043371174           Electric       Gov. Aggregation   FEOH - TE     08007061282900010096        Electric       Gov. Aggregation
AEP - CSP     00040621043390115           Electric       Gov. Aggregation   FEOH - OE     08007103275001389053        Electric       Gov. Aggregation
AEP - CSP     00040621043462052           Electric       Gov. Aggregation   AEP - OP      00140060798125604           Electric       Gov. Aggregation
AEP - CSP     00040621043518712           Electric       Gov. Aggregation   AEP - OP      00140060798143062           Electric       Gov. Aggregation
AEP - CSP     00040621049457070           Electric       Gov. Aggregation   AEP - OP      00140060798161243           Electric       Gov. Aggregation
AEP - CSP     00040621049513564           Electric       Gov. Aggregation   AEP - OP      00140060798332733           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type         Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621049644394           Electric       Gov. Aggregation   AEP - OP        00140060798382591           Electric       Gov. Aggregation
AEP - CSP     00040621049671973           Electric       Gov. Aggregation   AEP - OP        00140060798420825           Electric       Gov. Aggregation
AEP - CSP     00040621049812105           Electric       Gov. Aggregation   AEP - OP        00140060798486310           Electric       Gov. Aggregation
AEP - CSP     00040621049912362           Electric       Gov. Aggregation   FEOH - TE       08008790352300029870        Electric       Gov. Aggregation
AEP - CSP     00040621049914090           Electric       Gov. Aggregation   FEOH - TE       08008796092300031163        Electric       Gov. Aggregation
AEP - CSP     00040621055387745           Electric       Gov. Aggregation   FEOH - TE       08008806262900008451        Electric       Gov. Aggregation
AEP - CSP     00040621055451084           Electric       Gov. Aggregation   FEOH - TE       08008865652930031807        Electric       Gov. Aggregation
AEP - CSP     00040621055734642           Electric       Gov. Aggregation   FEOH - TE       08008871062600003810        Electric       Gov. Aggregation
AEP - CSP     00040621055889575           Electric       Gov. Aggregation   FEOH - TE       08008873602600007079        Electric       Gov. Aggregation
AEP - CSP     00040621056007870           Electric       Gov. Aggregation   FEOH - TE       08008932372380031209        Electric       Gov. Aggregation
AEP - CSP     00040621043834875           Electric       Gov. Aggregation   AEP - OP        00140060798087361           Electric       Gov. Aggregation
AEP - CSP     00040621043849580           Electric       Gov. Aggregation   AEP - OP        00140060798134622           Electric       Gov. Aggregation
AEP - CSP     00040621043984000           Electric       Gov. Aggregation   AEP - OP        00140060798135453           Electric       Gov. Aggregation
AEP - CSP     00040621044287221           Electric       Gov. Aggregation   AEP - OP        00140060798173824           Electric       Gov. Aggregation
AEP - CSP     00040621044495625           Electric       Gov. Aggregation   AEP - OP        00140060798251560           Electric       Gov. Aggregation
AEP - CSP     00040621044514833           Electric       Gov. Aggregation   AEP - OP        00140060798280232           Electric       Gov. Aggregation
AEP - CSP     00040621044530385           Electric       Gov. Aggregation   FEOH - TE       08008678852770016959        Electric       Gov. Aggregation
AEP - CSP     00040621043564345           Electric       Gov. Aggregation   FEOH - TE       08008682902930031789        Electric       Gov. Aggregation
AEP - CSP     00040621043609453           Electric       Gov. Aggregation   FEOH - TE       08008726772020094230        Electric       Gov. Aggregation
AEP - CSP     00040621043626391           Electric       Gov. Aggregation   FEOH - TE       08008799793000003040        Electric       Gov. Aggregation
AEP - CSP     00040621043741465           Electric       Gov. Aggregation   FEOH - TE       08008863222930030927        Electric       Gov. Aggregation
AEP - CSP     00040621043814584           Electric       Gov. Aggregation   FEOH - TE       08008873692600007149        Electric       Gov. Aggregation
AEP - CSP     00040621043928854           Electric       Gov. Aggregation   FEOH - TE       08008875402600007810        Electric       Gov. Aggregation
AEP - CSP     00040621043940202           Electric       Gov. Aggregation   AEP - OP        00140060795791210           Electric       Gov. Aggregation
AEP - CSP     00040621048085393           Electric       Gov. Aggregation   AEP - OP        00140060795931553           Electric       Gov. Aggregation
AEP - CSP     00040621048148411           Electric       Gov. Aggregation   AEP - OP        00140060796020060           Electric       Gov. Aggregation
AEP - CSP     00040621048164814           Electric       Gov. Aggregation   AEP - OP        00140060796201941           Electric       Gov. Aggregation
AEP - CSP     00040621048253675           Electric       Gov. Aggregation   AEP - OP        00140060796238293           Electric       Gov. Aggregation
AEP - CSP     00040621048320873           Electric       Gov. Aggregation   AEP - OP        00140060796329553           Electric       Gov. Aggregation
AEP - CSP     00040621048517210           Electric       Gov. Aggregation   AEP - OP        00140060796416882           Electric       Gov. Aggregation
AEP - CSP     00040621048560173           Electric       Gov. Aggregation   AEP - OP        00140060799946574           Electric       Gov. Aggregation
AEP - CSP     00040621048539153           Electric       Gov. Aggregation   DPL             0178930100                  Electric       Gov. Aggregation
AEP - CSP     00040621048707725           Electric       Gov. Aggregation   DPL             0530405924                  Electric       Gov. Aggregation
AEP - CSP     00040621048719122           Electric       Gov. Aggregation   DPL             0642880243                  Electric       Gov. Aggregation
AEP - CSP     00040621048785703           Electric       Gov. Aggregation   DPL             0651981068                  Electric       Gov. Aggregation
AEP - CSP     00040621048822991           Electric       Gov. Aggregation   DPL             0681294157                  Electric       Gov. Aggregation
AEP - CSP     00040621048824231           Electric       Gov. Aggregation   AEP - OP        00140060798510094           Electric       Gov. Aggregation
AEP - CSP     00040621048867444           Electric       Gov. Aggregation   AEP - OP        00140060798541265           Electric       Gov. Aggregation
AEP - CSP     00040621037658594           Electric       Gov. Aggregation   AEP - OP        00140060798562231           Electric       Gov. Aggregation
AEP - CSP     00040621037839915           Electric       Gov. Aggregation   AEP - OP        00140060798623673           Electric       Gov. Aggregation
AEP - CSP     00040621037957024           Electric       Gov. Aggregation   AEP - OP        00140060798663872           Electric       Gov. Aggregation
AEP - CSP     00040621037997703           Electric       Gov. Aggregation   AEP - OP        00140060798676373           Electric       Gov. Aggregation
AEP - CSP     00040621038006415           Electric       Gov. Aggregation   AEP - OP        00140060798842715           Electric       Gov. Aggregation
AEP - CSP     00040621038023363           Electric       Gov. Aggregation   FEOH - TE       08008949442640020783        Electric       Gov. Aggregation
AEP - CSP     00040621038059291           Electric       Gov. Aggregation   FEOH - TE       08009061282680022454        Electric       Gov. Aggregation
AEP - CSP     00040621049735512           Electric       Gov. Aggregation   FEOH - TE       08009126012390001654        Electric       Gov. Aggregation
AEP - CSP     00040621050064712           Electric       Gov. Aggregation   FEOH - OE       08010356325000136854        Electric       Gov. Aggregation
AEP - CSP     00040621050066315           Electric       Gov. Aggregation   FEOH - OE       08010671220000803823        Electric       Gov. Aggregation
AEP - CSP     00040621050135451           Electric       Gov. Aggregation   FEOH - OE       08011058830000810146        Electric       Gov. Aggregation
AEP - CSP     00040621044538823           Electric       Gov. Aggregation   AEP - OP        00140060798511863           Electric       Gov. Aggregation
AEP - CSP     00040621044543394           Electric       Gov. Aggregation   AEP - OP        00140060798579615           Electric       Gov. Aggregation
AEP - CSP     00040621044636085           Electric       Gov. Aggregation   AEP - OP        00140060798610722           Electric       Gov. Aggregation
AEP - CSP     00040621044651455           Electric       Gov. Aggregation   AEP - OP        00140060798708092           Electric       Gov. Aggregation
AEP - CSP     00040621044780401           Electric       Gov. Aggregation   AEP - OP        00140060798741922           Electric       Gov. Aggregation
AEP - CSP     00040621044902720           Electric       Gov. Aggregation   AEP - OP        00140060798802314           Electric       Gov. Aggregation
AEP - CSP     00040621056170773           Electric       Gov. Aggregation   FEOH - TE       08008935362380031233        Electric       Gov. Aggregation
AEP - CSP     00040621056182590           Electric       Gov. Aggregation   FEOH - TE       08008943802640015943        Electric       Gov. Aggregation
AEP - CSP     00040621056204042           Electric       Gov. Aggregation   FEOH - TE       08009014962300029796        Electric       Gov. Aggregation
AEP - CSP     00040621056242145           Electric       Gov. Aggregation   FEOH - TE       08009015562680020286        Electric       Gov. Aggregation
AEP - CSP     00040621056340843           Electric       Gov. Aggregation   FEOH - TE       08009016462680021589        Electric       Gov. Aggregation
AEP - CSP     00040621056395565           Electric       Gov. Aggregation   FEOH - TE       08009061832680022596        Electric       Gov. Aggregation
AEP - CSP     00040621056439463           Electric       Gov. Aggregation   FEOH - OE       08009803960001044560        Electric       Gov. Aggregation
AEP - CSP     00040621050002325           Electric       Gov. Aggregation   FEOH - TE       08007187882130006240        Electric       Gov. Aggregation
AEP - CSP     00040621050112110           Electric       Gov. Aggregation   FEOH - TE       08007189352130006606        Electric       Gov. Aggregation
AEP - CSP     00040621050185810           Electric       Gov. Aggregation   FEOH - TE       08007209882600006817        Electric       Gov. Aggregation
AEP - CSP     00040621050329742           Electric       Gov. Aggregation   FEOH - TE       08007245952810022089        Electric       Gov. Aggregation
AEP - CSP     00040621050673521           Electric       Gov. Aggregation   FEOH - TE       08007250532600006997        Electric       Gov. Aggregation
AEP - CSP     00040621050830631           Electric       Gov. Aggregation   FEOH - TE       08007253322710093771        Electric       Gov. Aggregation
AEP - CSP     00040621050929785           Electric       Gov. Aggregation   FEOH - TE       08007271832130009093        Electric       Gov. Aggregation
AEP - CSP     00040621048972550           Electric       Gov. Aggregation   AEP - OP        00140060796512533           Electric       Gov. Aggregation
AEP - CSP     00040621049042610           Electric       Gov. Aggregation   AEP - OP        00140060796650840           Electric       Gov. Aggregation
AEP - CSP     00040621049181245           Electric       Gov. Aggregation   AEP - OP        00140060796738315           Electric       Gov. Aggregation
AEP - CSP     00040621049262204           Electric       Gov. Aggregation   AEP - OP        00140060796755041           Electric       Gov. Aggregation
AEP - CSP     00040621049523204           Electric       Gov. Aggregation   AEP - OP        00140060796802194           Electric       Gov. Aggregation
AEP - CSP     00040621049597924           Electric       Gov. Aggregation   AEP - OP        00140060796968915           Electric       Gov. Aggregation
AEP - CSP     00040621049656933           Electric       Gov. Aggregation   DPL             0691624345                  Electric       Gov. Aggregation
AEP - CSP     00040621038316850           Electric       Gov. Aggregation   DPL             0782228085                  Electric       Gov. Aggregation
AEP - CSP     00040621038388040           Electric       Gov. Aggregation   FEOH - TE       08000269732040003703        Electric       Gov. Aggregation
AEP - CSP     00040621038436471           Electric       Gov. Aggregation   FEOH - TE       08000943932640015905        Electric       Gov. Aggregation
AEP - CSP     00040621038501301           Electric       Gov. Aggregation   FEOH - TE       08001051692640014528        Electric       Gov. Aggregation
AEP - CSP     00040621038509523           Electric       Gov. Aggregation   FEOH - OE       08003489530000777827        Electric       Gov. Aggregation
AEP - CSP     00040621038591571           Electric       Gov. Aggregation   FEOH - TE       08005783062300029917        Electric       Gov. Aggregation
AEP - CSP     00040621038702605           Electric       Gov. Aggregation   FEOH - TE       08005829382680022492        Electric       Gov. Aggregation
AEP - CSP     00040621045563391           Electric       Gov. Aggregation   FEOH - OE       08005841190001131000        Electric       Gov. Aggregation
AEP - CSP     00040621045615890           Electric       Gov. Aggregation   FEOH - TE       08005850362080028554        Electric       Gov. Aggregation
AEP - CSP     00040621045663382           Electric       Gov. Aggregation   FEOH - TE       08005853762210012891        Electric       Gov. Aggregation
AEP - CSP     00040621045703850           Electric       Gov. Aggregation   AEP - OP        00140060798891772           Electric       Gov. Aggregation
AEP - CSP     00040621045733874           Electric       Gov. Aggregation   AEP - OP        00140060798909785           Electric       Gov. Aggregation
AEP - CSP     00040621045777452           Electric       Gov. Aggregation   AEP - OP        00140060799001980           Electric       Gov. Aggregation
AEP - CSP     00040621045901622           Electric       Gov. Aggregation   AEP - OP        00140060799186622           Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621044017480           Electric       Gov. Aggregation   AEP - OP      00140060799208325           Electric       Gov. Aggregation
AEP - CSP     00040621044048292           Electric       Gov. Aggregation   AEP - OP      00140060799210212           Electric       Gov. Aggregation
AEP - CSP     00040621044350674           Electric       Gov. Aggregation   AEP - OP      00140060799212102           Electric       Gov. Aggregation
AEP - CSP     00040621044981140           Electric       Gov. Aggregation   FEOH - OE     08011768970000791129        Electric       Gov. Aggregation
AEP - CSP     00040621045305094           Electric       Gov. Aggregation   FEOH - OE     08011825260001493780        Electric       Gov. Aggregation
AEP - CSP     00040621045388985           Electric       Gov. Aggregation   FEOH - OE     08013397680001581535        Electric       Gov. Aggregation
AEP - CSP     00040621045447185           Electric       Gov. Aggregation   AEP - OP      00140060798979521           Electric       Gov. Aggregation
AEP - CSP     00040621048575933           Electric       Gov. Aggregation   AEP - OP      00140060798987181           Electric       Gov. Aggregation
AEP - CSP     00040621048707010           Electric       Gov. Aggregation   AEP - OP      00140060798997980           Electric       Gov. Aggregation
AEP - CSP     00040621048753220           Electric       Gov. Aggregation   AEP - OP      00140060799138800           Electric       Gov. Aggregation
AEP - CSP     00040621048887305           Electric       Gov. Aggregation   AEP - OP      00140060799141152           Electric       Gov. Aggregation
AEP - CSP     00040621048906395           Electric       Gov. Aggregation   AEP - OP      00140060799142805           Electric       Gov. Aggregation
AEP - CSP     00040621048935343           Electric       Gov. Aggregation   AEP - OP      00140060799282654           Electric       Gov. Aggregation
AEP - CSP     00040621049134822           Electric       Gov. Aggregation   FEOH - TE     08007301192900010767        Electric       Gov. Aggregation
AEP - CSP     00040621051302213           Electric       Gov. Aggregation   FEOH - TE     08007301532900010837        Electric       Gov. Aggregation
AEP - CSP     00040621051337093           Electric       Gov. Aggregation   FEOH - TE     08007396332850021119        Electric       Gov. Aggregation
AEP - CSP     00040621051500455           Electric       Gov. Aggregation   FEOH - TE     08007397832850022323        Electric       Gov. Aggregation
AEP - CSP     00040621051583771           Electric       Gov. Aggregation   FEOH - TE     08007449763000002692        Electric       Gov. Aggregation
AEP - CSP     00040621051651321           Electric       Gov. Aggregation   AEP - OP      00140060797007493           Electric       Gov. Aggregation
AEP - CSP     00040621051685432           Electric       Gov. Aggregation   AEP - OP      00140060797220712           Electric       Gov. Aggregation
AEP - CSP     00040621056460670           Electric       Gov. Aggregation   AEP - OP      00140060797321252           Electric       Gov. Aggregation
AEP - CSP     00040621056518012           Electric       Gov. Aggregation   AEP - OP      00140060797330480           Electric       Gov. Aggregation
AEP - CSP     00040621056538463           Electric       Gov. Aggregation   AEP - OP      00140060797336291           Electric       Gov. Aggregation
AEP - CSP     00040621056767653           Electric       Gov. Aggregation   AEP - OP      00140060797356410           Electric       Gov. Aggregation
AEP - CSP     00040621056772051           Electric       Gov. Aggregation   AEP - OP      00140060799212305           Electric       Gov. Aggregation
AEP - CSP     00040621056874993           Electric       Gov. Aggregation   AEP - OP      00140060799277580           Electric       Gov. Aggregation
AEP - CSP     00040621056976105           Electric       Gov. Aggregation   AEP - OP      00140060799342985           Electric       Gov. Aggregation
AEP - CSP     00040621049719272           Electric       Gov. Aggregation   AEP - OP      00140060799429552           Electric       Gov. Aggregation
AEP - CSP     00040621049797072           Electric       Gov. Aggregation   AEP - OP      00140060799564653           Electric       Gov. Aggregation
AEP - CSP     00040621049822245           Electric       Gov. Aggregation   AEP - OP      00140060799565140           Electric       Gov. Aggregation
AEP - CSP     00040621049901955           Electric       Gov. Aggregation   AEP - OP      00140060799610714           Electric       Gov. Aggregation
AEP - CSP     00040621050103804           Electric       Gov. Aggregation   FEOH - OE     08016455050000168263        Electric       Gov. Aggregation
AEP - CSP     00040621050161834           Electric       Gov. Aggregation   FEOH - OE     08016633730001129273        Electric       Gov. Aggregation
AEP - CSP     00040621046084791           Electric       Gov. Aggregation   FEOH - OE     08003944770000803774        Electric       Gov. Aggregation
AEP - CSP     00040621046204841           Electric       Gov. Aggregation   FEOH - OE     08004233910001041623        Electric       Gov. Aggregation
AEP - CSP     00040621046253574           Electric       Gov. Aggregation   FEOH - OE     08004271350000788998        Electric       Gov. Aggregation
AEP - CSP     00040621046358380           Electric       Gov. Aggregation   FEOH - OE     08004327860001127631        Electric       Gov. Aggregation
AEP - CSP     00040621046529142           Electric       Gov. Aggregation   FEOH - OE     08004335570000765281        Electric       Gov. Aggregation
AEP - CSP     00040621046628304           Electric       Gov. Aggregation   FEOH - OE     08004451670001128601        Electric       Gov. Aggregation
AEP - CSP     00040621046698683           Electric       Gov. Aggregation   FEOH - OE     08004495770001128672        Electric       Gov. Aggregation
AEP - CSP     00040621049310843           Electric       Gov. Aggregation   FEOH - TE     08007464592130006447        Electric       Gov. Aggregation
AEP - CSP     00040621049318345           Electric       Gov. Aggregation   FEOH - TE     08007464912130006521        Electric       Gov. Aggregation
AEP - CSP     00040621049422850           Electric       Gov. Aggregation   FEOH - TE     08007512322520091225        Electric       Gov. Aggregation
AEP - CSP     00040621049541632           Electric       Gov. Aggregation   FEOH - TE     08007517762900008038        Electric       Gov. Aggregation
AEP - CSP     00040621049590213           Electric       Gov. Aggregation   FEOH - TE     08007584642900010875        Electric       Gov. Aggregation
AEP - CSP     00040621049611495           Electric       Gov. Aggregation   FEOH - TE     08007611352930030950        Electric       Gov. Aggregation
AEP - CSP     00040621049749760           Electric       Gov. Aggregation   FEOH - OE     08010676110001129625        Electric       Gov. Aggregation
AEP - CSP     00040621045475560           Electric       Gov. Aggregation   FEOH - OE     08012678690000803790        Electric       Gov. Aggregation
AEP - CSP     00040621045650804           Electric       Gov. Aggregation   FEOH - OE     08012756890001127638        Electric       Gov. Aggregation
AEP - CSP     00040621045657305           Electric       Gov. Aggregation   FEOH - TE     08013065192770020458        Electric       Gov. Aggregation
AEP - CSP     00040621045806004           Electric       Gov. Aggregation   FEOH - OE     08013354505001419381        Electric       Gov. Aggregation
AEP - CSP     00040621045919480           Electric       Gov. Aggregation   FEOH - TE     08005855682210013644        Electric       Gov. Aggregation
AEP - CSP     00040621046060832           Electric       Gov. Aggregation   FEOH - TE     08005857082210014257        Electric       Gov. Aggregation
AEP - CSP     00040621051757082           Electric       Gov. Aggregation   FEOH - OE     08005858460000587647        Electric       Gov. Aggregation
AEP - CSP     00040621051817242           Electric       Gov. Aggregation   FEOH - TE     08005895452710093822        Electric       Gov. Aggregation
AEP - CSP     00040621051881322           Electric       Gov. Aggregation   FEOH - TE     08005925063000005510        Electric       Gov. Aggregation
AEP - CSP     00040621052194755           Electric       Gov. Aggregation   AEP - OP      00140060797362250           Electric       Gov. Aggregation
AEP - CSP     00040621052804155           Electric       Gov. Aggregation   AEP - OP      00140060797364691           Electric       Gov. Aggregation
AEP - CSP     00040621052846931           Electric       Gov. Aggregation   AEP - OP      00140060797466300           Electric       Gov. Aggregation
AEP - CSP     00040621038797133           Electric       Gov. Aggregation   AEP - OP      00140060797471283           Electric       Gov. Aggregation
AEP - CSP     00040621038870483           Electric       Gov. Aggregation   AEP - OP      00140060797482643           Electric       Gov. Aggregation
AEP - CSP     00040621038972631           Electric       Gov. Aggregation   AEP - OP      00140060797717981           Electric       Gov. Aggregation
AEP - CSP     00040621039035544           Electric       Gov. Aggregation   AEP - OP      00140060797776713           Electric       Gov. Aggregation
AEP - CSP     00040621039107152           Electric       Gov. Aggregation   AEP - OP      00140060799697795           Electric       Gov. Aggregation
AEP - CSP     00040621039110813           Electric       Gov. Aggregation   AEP - OP      00140060799815454           Electric       Gov. Aggregation
AEP - CSP     00040621039161535           Electric       Gov. Aggregation   AEP - OP      00140060799879195           Electric       Gov. Aggregation
AEP - CSP     00040621049861120           Electric       Gov. Aggregation   AEP - OP      00140060799881501           Electric       Gov. Aggregation
AEP - CSP     00040621050006221           Electric       Gov. Aggregation   AEP - OP      00140060799930422           Electric       Gov. Aggregation
AEP - CSP     00040621050163002           Electric       Gov. Aggregation   AEP - OP      00140060799987275           Electric       Gov. Aggregation
AEP - CSP     00040621050237952           Electric       Gov. Aggregation   FEOH - OE     08004636120000803492        Electric       Gov. Aggregation
AEP - CSP     00040621050421204           Electric       Gov. Aggregation   FEOH - OE     08004662460001501369        Electric       Gov. Aggregation
AEP - CSP     00040621050449544           Electric       Gov. Aggregation   FEOH - OE     08004675950000762696        Electric       Gov. Aggregation
AEP - CSP     00040621052861063           Electric       Gov. Aggregation   FEOH - OE     08004764345001305095        Electric       Gov. Aggregation
AEP - CSP     00040621052907385           Electric       Gov. Aggregation   FEOH - TE     08004832245001376239        Electric       Gov. Aggregation
AEP - CSP     00040621053038941           Electric       Gov. Aggregation   AEP - OP      00140060799382433           Electric       Gov. Aggregation
AEP - CSP     00040621053079633           Electric       Gov. Aggregation   AEP - OP      00140060799562361           Electric       Gov. Aggregation
AEP - CSP     00040621053099591           Electric       Gov. Aggregation   AEP - OP      00140060799567470           Electric       Gov. Aggregation
AEP - CSP     00040621053147264           Electric       Gov. Aggregation   AEP - OP      00140060799722130           Electric       Gov. Aggregation
AEP - CSP     00040621053216033           Electric       Gov. Aggregation   AEP - OP      00140060799825310           Electric       Gov. Aggregation
AEP - CSP     00040621057035791           Electric       Gov. Aggregation   AEP - OP      00140060799830722           Electric       Gov. Aggregation
AEP - CSP     00040621057044425           Electric       Gov. Aggregation   AEP - OP      00140060799842134           Electric       Gov. Aggregation
AEP - CSP     00040621057046793           Electric       Gov. Aggregation   FEOH - TE     08007614802850018261        Electric       Gov. Aggregation
AEP - CSP     00040621057399645           Electric       Gov. Aggregation   FEOH - TE     08007616592850020421        Electric       Gov. Aggregation
AEP - CSP     00040621057432391           Electric       Gov. Aggregation   FEOH - TE     08007680602850022801        Electric       Gov. Aggregation
AEP - CSP     00040621057446131           Electric       Gov. Aggregation   FEOH - TE     08007687032130006235        Electric       Gov. Aggregation
AEP - CSP     00040621046177560           Electric       Gov. Aggregation   FEOH - TE     08007702192810020309        Electric       Gov. Aggregation
AEP - CSP     00040621046187642           Electric       Gov. Aggregation   FEOH - TE     08007702682810020469        Electric       Gov. Aggregation
AEP - CSP     00040621046433103           Electric       Gov. Aggregation   FEOH - TE     08007704862810021899        Electric       Gov. Aggregation
AEP - CSP     00040621046526933           Electric       Gov. Aggregation   FEOH - OE     08016820760000187237        Electric       Gov. Aggregation
AEP - CSP     00040621046689573           Electric       Gov. Aggregation   FEOH - OE     08016821080000187242        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type         Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621050431694           Electric       Gov. Aggregation   FEOH - OE       08016894390000186819        Electric       Gov. Aggregation
AEP - CSP     00040621050545943           Electric       Gov. Aggregation   FEOH - OE       08017267990000186435        Electric       Gov. Aggregation
AEP - CSP     00040621050580595           Electric       Gov. Aggregation   FEOH - OE       08017478640000177871        Electric       Gov. Aggregation
AEP - CSP     00040621050862044           Electric       Gov. Aggregation   FEOH - OE       08017542990000177921        Electric       Gov. Aggregation
AEP - CSP     00040621050890733           Electric       Gov. Aggregation   FEOH - OE       08017544720001408681        Electric       Gov. Aggregation
AEP - CSP     00040621050897411           Electric       Gov. Aggregation   AEP - OP        00140060799876682           Electric       Gov. Aggregation
AEP - CSP     00040621050964630           Electric       Gov. Aggregation   AEP - OP        00140060799922744           Electric       Gov. Aggregation
AEP - CSP     00040621050507051           Electric       Gov. Aggregation   AEP - OP        00140060799993454           Electric       Gov. Aggregation
AEP - CSP     00040621050600810           Electric       Gov. Aggregation   DPL             0141713090                  Electric       Gov. Aggregation
AEP - CSP     00040621050802513           Electric       Gov. Aggregation   DPL             0272984632                  Electric       Gov. Aggregation
AEP - CSP     00040621050900265           Electric       Gov. Aggregation   DPL             0610444215                  Electric       Gov. Aggregation
AEP - CSP     00040621050989450           Electric       Gov. Aggregation   FEOH - TE       08005990712040000902        Electric       Gov. Aggregation
AEP - CSP     00040621051206305           Electric       Gov. Aggregation   FEOH - TE       08005990872040000955        Electric       Gov. Aggregation
AEP - CSP     00040621051266433           Electric       Gov. Aggregation   FEOH - TE       08005995012050093535        Electric       Gov. Aggregation
AEP - CSP     00040621050142672           Electric       Gov. Aggregation   FEOH - TE       08005995182080021152        Electric       Gov. Aggregation
AEP - CSP     00040621050239771           Electric       Gov. Aggregation   FEOH - TE       08005997852080026582        Electric       Gov. Aggregation
AEP - CSP     00040621050288391           Electric       Gov. Aggregation   FEOH - TE       08005998362080026845        Electric       Gov. Aggregation
AEP - CSP     00040621050381721           Electric       Gov. Aggregation   FEOH - TE       08006119102980091565        Electric       Gov. Aggregation
AEP - CSP     00040621050416571           Electric       Gov. Aggregation   AEP - OP        00140060797799574           Electric       Gov. Aggregation
AEP - CSP     00040621050629634           Electric       Gov. Aggregation   AEP - OP        00140060798093340           Electric       Gov. Aggregation
AEP - CSP     00040621050837573           Electric       Gov. Aggregation   AEP - OP        00140060798163423           Electric       Gov. Aggregation
AEP - CSP     00040621039455630           Electric       Gov. Aggregation   AEP - OP        00140060798228984           Electric       Gov. Aggregation
AEP - CSP     00040621039502855           Electric       Gov. Aggregation   AEP - OP        00140060798389182           Electric       Gov. Aggregation
AEP - CSP     00040621039533164           Electric       Gov. Aggregation   AEP - OP        00140060798600932           Electric       Gov. Aggregation
AEP - CSP     00040621039540623           Electric       Gov. Aggregation   AEP - OP        00140060798707062           Electric       Gov. Aggregation
AEP - CSP     00040621039921212           Electric       Gov. Aggregation   FEOH - TE       08007716422430090632        Electric       Gov. Aggregation
AEP - CSP     00040621040019640           Electric       Gov. Aggregation   FEOH - TE       08007770612850017910        Electric       Gov. Aggregation
AEP - CSP     00040621040180165           Electric       Gov. Aggregation   FEOH - TE       08007771372850018100        Electric       Gov. Aggregation
AEP - CSP     00040621046908452           Electric       Gov. Aggregation   FEOH - TE       08007814302570092732        Electric       Gov. Aggregation
AEP - CSP     00040621047021904           Electric       Gov. Aggregation   FEOH - TE       08007832882850021246        Electric       Gov. Aggregation
AEP - CSP     00040621047180102           Electric       Gov. Aggregation   FEOH - TE       08007862402850022638        Electric       Gov. Aggregation
AEP - CSP     00040621047263504           Electric       Gov. Aggregation   FEOH - OE       08013713680001355212        Electric       Gov. Aggregation
AEP - CSP     00040621047331001           Electric       Gov. Aggregation   FEOH - OE       08014325485000329911        Electric       Gov. Aggregation
AEP - CSP     00040621047677681           Electric       Gov. Aggregation   FEOH - OE       08015705670000803569        Electric       Gov. Aggregation
AEP - CSP     00040621047736625           Electric       Gov. Aggregation   DPL             0651101148                  Electric       Gov. Aggregation
AEP - CSP     00040621057740235           Electric       Gov. Aggregation   DPL             0666778372                  Electric       Gov. Aggregation
AEP - CSP     00040621057806594           Electric       Gov. Aggregation   FEOH - OE       08000074520000791689        Electric       Gov. Aggregation
AEP - CSP     00040621057810471           Electric       Gov. Aggregation   FEOH - TE       08000616202810022183        Electric       Gov. Aggregation
AEP - CSP     00040621057821803           Electric       Gov. Aggregation   FEOH - OE       08001603110001337002        Electric       Gov. Aggregation
AEP - CSP     00040621057836965           Electric       Gov. Aggregation   FEOH - OE       08003354040000791593        Electric       Gov. Aggregation
AEP - CSP     00040621057910354           Electric       Gov. Aggregation   FEOH - OE       08003398955000086279        Electric       Gov. Aggregation
AEP - CSP     00040621053220192           Electric       Gov. Aggregation   FEOH - OE       08003648055001468632        Electric       Gov. Aggregation
AEP - CSP     00040621053643633           Electric       Gov. Aggregation   FEOH - TE       08003747452170014674        Electric       Gov. Aggregation
AEP - CSP     00040621053655163           Electric       Gov. Aggregation   FEOH - OE       08003872160000805504        Electric       Gov. Aggregation
AEP - CSP     00040621053874791           Electric       Gov. Aggregation   FEOH - OE       08003933630001044745        Electric       Gov. Aggregation
AEP - CSP     00040621053921614           Electric       Gov. Aggregation   FEOH - OE       08004124880001045303        Electric       Gov. Aggregation
AEP - CSP     00040621054154474           Electric       Gov. Aggregation   FEOH - OE       08004169580001142056        Electric       Gov. Aggregation
AEP - CSP     00040621054456485           Electric       Gov. Aggregation   FEOH - OE       08004199630001459848        Electric       Gov. Aggregation
AEP - CSP     00040621050912785           Electric       Gov. Aggregation   FEOH - OE       08004325470001042121        Electric       Gov. Aggregation
AEP - CSP     00040621050932015           Electric       Gov. Aggregation   FEOH - OE       08004429580001041344        Electric       Gov. Aggregation
AEP - CSP     00040621051038882           Electric       Gov. Aggregation   FEOH - OE       08004459800001129388        Electric       Gov. Aggregation
AEP - CSP     00040621051297893           Electric       Gov. Aggregation   FEOH - TE       08004886572900009379        Electric       Gov. Aggregation
AEP - CSP     00040621051356915           Electric       Gov. Aggregation   FEOH - OE       08004945880001128618        Electric       Gov. Aggregation
AEP - CSP     00040621051357960           Electric       Gov. Aggregation   FEOH - OE       08004962970000792568        Electric       Gov. Aggregation
AEP - CSP     00040621051376250           Electric       Gov. Aggregation   FEOH - OE       08004966590000803531        Electric       Gov. Aggregation
AEP - CSP     00040621051029713           Electric       Gov. Aggregation   AEP - OP        00140060798801105           Electric       Gov. Aggregation
AEP - CSP     00040621051038930           Electric       Gov. Aggregation   AEP - OP        00140060798872035           Electric       Gov. Aggregation
AEP - CSP     00040621051090993           Electric       Gov. Aggregation   AEP - OP        00140060798877145           Electric       Gov. Aggregation
AEP - CSP     00040621051168602           Electric       Gov. Aggregation   AEP - OP        00140060799010274           Electric       Gov. Aggregation
AEP - CSP     00040621051204381           Electric       Gov. Aggregation   AEP - OP        00140060799125020           Electric       Gov. Aggregation
AEP - CSP     00040621051245250           Electric       Gov. Aggregation   AEP - OP        00140060799438380           Electric       Gov. Aggregation
AEP - CSP     00040621051258853           Electric       Gov. Aggregation   AEP - OP        00140060799438965           Electric       Gov. Aggregation
AEP - CSP     00040621040229022           Electric       Gov. Aggregation   AEP - OP        00140060799987593           Electric       Gov. Aggregation
AEP - CSP     00040621040267630           Electric       Gov. Aggregation   AEP - OP        00140060799988634           Electric       Gov. Aggregation
AEP - CSP     00040621040386354           Electric       Gov. Aggregation   DPL             0441283440                  Electric       Gov. Aggregation
AEP - CSP     00040621040429985           Electric       Gov. Aggregation   DPL             0559854938                  Electric       Gov. Aggregation
AEP - CSP     00040621040433323           Electric       Gov. Aggregation   FEOH - TE       08000195252600009867        Electric       Gov. Aggregation
AEP - CSP     00040621040441494           Electric       Gov. Aggregation   FEOH - OE       08000625780000777891        Electric       Gov. Aggregation
AEP - CSP     00040621040753795           Electric       Gov. Aggregation   FEOH - TE       08000944945000164437        Electric       Gov. Aggregation
AEP - CSP     00040621046697872           Electric       Gov. Aggregation   FEOH - OE       08004472150001044721        Electric       Gov. Aggregation
AEP - CSP     00040621046727852           Electric       Gov. Aggregation   FEOH - OE       08004509680001129161        Electric       Gov. Aggregation
AEP - CSP     00040621046883094           Electric       Gov. Aggregation   FEOH - OE       08004636125001306608        Electric       Gov. Aggregation
AEP - CSP     00040621046957881           Electric       Gov. Aggregation   FEOH - OE       08004636125001314323        Electric       Gov. Aggregation
AEP - CSP     00040621047019601           Electric       Gov. Aggregation   FEOH - OE       08004638700000586809        Electric       Gov. Aggregation
AEP - CSP     00040621047521722           Electric       Gov. Aggregation   FEOH - OE       08005107850000802997        Electric       Gov. Aggregation
AEP - CSP     00040621047747964           Electric       Gov. Aggregation   FEOH - TE       08005144932130009482        Electric       Gov. Aggregation
AEP - CSP     00040621047815064           Electric       Gov. Aggregation   FEOH - OE       08005185640001142658        Electric       Gov. Aggregation
AEP - CSP     00040621047871290           Electric       Gov. Aggregation   FEOH - TE       08005256452410091132        Electric       Gov. Aggregation
AEP - CSP     00040621047938772           Electric       Gov. Aggregation   FEOH - TE       08005265892740092831        Electric       Gov. Aggregation
AEP - CSP     00040621048008632           Electric       Gov. Aggregation   FEOH - TE       08005297482680024089        Electric       Gov. Aggregation
AEP - CSP     00040621048288583           Electric       Gov. Aggregation   FEOH - TE       08005299072680024820        Electric       Gov. Aggregation
AEP - CSP     00040621048310920           Electric       Gov. Aggregation   FEOH - TE       08006180122090093343        Electric       Gov. Aggregation
AEP - CSP     00040621057955974           Electric       Gov. Aggregation   FEOH - TE       08006180352850017484        Electric       Gov. Aggregation
AEP - CSP     00040621058088214           Electric       Gov. Aggregation   FEOH - TE       08006182585001273445        Electric       Gov. Aggregation
AEP - CSP     00040621058165905           Electric       Gov. Aggregation   FEOH - TE       08006186422170013009        Electric       Gov. Aggregation
AEP - CSP     00040621058204382           Electric       Gov. Aggregation   FEOH - TE       08006188362170013506        Electric       Gov. Aggregation
AEP - CSP     00040621058229694           Electric       Gov. Aggregation   FEOH - TE       08006189402530091016        Electric       Gov. Aggregation
AEP - CSP     00040621058399790           Electric       Gov. Aggregation   FEOH - TE       08006252782210012303        Electric       Gov. Aggregation
AEP - CSP     00040621058433695           Electric       Gov. Aggregation   FEOH - TE       08007909442470091921        Electric       Gov. Aggregation
AEP - CSP     00040621054544361           Electric       Gov. Aggregation   FEOH - TE       08008020482810021104        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type         Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621054690320           Electric       Gov. Aggregation   FEOH - TE       08008028602850018927        Electric       Gov. Aggregation
AEP - CSP     00040621054797360           Electric       Gov. Aggregation   FEOH - OE       08008041275000021551        Electric       Gov. Aggregation
AEP - CSP     00040621054860063           Electric       Gov. Aggregation   FEOH - TE       08008063812600010087        Electric       Gov. Aggregation
AEP - CSP     00040621054961190           Electric       Gov. Aggregation   FEOH - OE       08016453160000168235        Electric       Gov. Aggregation
AEP - CSP     00040621055060272           Electric       Gov. Aggregation   FEOH - OE       08016457130000168291        Electric       Gov. Aggregation
AEP - CSP     00040621055105965           Electric       Gov. Aggregation   FEOH - OE       08016459030000168313        Electric       Gov. Aggregation
AEP - CSP     00040621051263341           Electric       Gov. Aggregation   FEOH - OE       08016759790000187221        Electric       Gov. Aggregation
AEP - CSP     00040621051294910           Electric       Gov. Aggregation   FEOH - OE       08016890350000186758        Electric       Gov. Aggregation
AEP - CSP     00040621051296632           Electric       Gov. Aggregation   FEOH - OE       08016891860000186780        Electric       Gov. Aggregation
AEP - CSP     00040621051333404           Electric       Gov. Aggregation   FEOH - OE       08016893920000186813        Electric       Gov. Aggregation
AEP - CSP     00040621051343285           Electric       Gov. Aggregation   FEOH - OE       08017689090000178858        Electric       Gov. Aggregation
AEP - CSP     00040621051460805           Electric       Gov. Aggregation   FEOH - OE       08017689830000178990        Electric       Gov. Aggregation
AEP - CSP     00040621051553431           Electric       Gov. Aggregation   FEOH - OE       08018495930000177895        Electric       Gov. Aggregation
AEP - CSP     00040621040811974           Electric       Gov. Aggregation   FEOH - OE       08018594950000186443        Electric       Gov. Aggregation
AEP - CSP     00040621040911534           Electric       Gov. Aggregation   FEOH - OE       08018596380000186466        Electric       Gov. Aggregation
AEP - CSP     00040621041125215           Electric       Gov. Aggregation   FEOH - OE       08018597490000186485        Electric       Gov. Aggregation
AEP - CSP     00040621041427141           Electric       Gov. Aggregation   FEOH - OE       08018598560001404054        Electric       Gov. Aggregation
AEP - CSP     00040621041452574           Electric       Gov. Aggregation   FEOH - TE       08001872962810015511        Electric       Gov. Aggregation
AEP - CSP     00040621041472814           Electric       Gov. Aggregation   FEOH - TE       08003350592170012791        Electric       Gov. Aggregation
AEP - CSP     00040621047549525           Electric       Gov. Aggregation   FEOH - OE       08003620460000767136        Electric       Gov. Aggregation
AEP - CSP     00040621047650325           Electric       Gov. Aggregation   FEOH - TE       08003627572390000966        Electric       Gov. Aggregation
AEP - CSP     00040621047669912           Electric       Gov. Aggregation   FEOH - OE       08004014250000804833        Electric       Gov. Aggregation
AEP - CSP     00040621047739412           Electric       Gov. Aggregation   FEOH - OE       08004204760000782706        Electric       Gov. Aggregation
AEP - CSP     00040621047768370           Electric       Gov. Aggregation   FEOH - OE       08004404940001042953        Electric       Gov. Aggregation
AEP - CSP     00040621047780614           Electric       Gov. Aggregation   AEP - OP        00140060799452762           Electric       Gov. Aggregation
AEP - CSP     00040621048129694           Electric       Gov. Aggregation   AEP - OP        00140060799473312           Electric       Gov. Aggregation
AEP - CSP     00040621048334132           Electric       Gov. Aggregation   AEP - OP        00140060799518750           Electric       Gov. Aggregation
AEP - CSP     00040621048359431           Electric       Gov. Aggregation   AEP - OP        00140060799566840           Electric       Gov. Aggregation
AEP - CSP     00040621048364231           Electric       Gov. Aggregation   AEP - OP        00140060799652880           Electric       Gov. Aggregation
AEP - CSP     00040621048715555           Electric       Gov. Aggregation   AEP - OP        00140060799667350           Electric       Gov. Aggregation
AEP - CSP     00040621048732655           Electric       Gov. Aggregation   AEP - OP        00140060799750132           Electric       Gov. Aggregation
AEP - CSP     00040621048759270           Electric       Gov. Aggregation   FEOH - TE       08005364032300026407        Electric       Gov. Aggregation
AEP - CSP     00040621048816155           Electric       Gov. Aggregation   FEOH - TE       08005367822300030601        Electric       Gov. Aggregation
AEP - CSP     00040621055141395           Electric       Gov. Aggregation   FEOH - TE       08005395402010093766        Electric       Gov. Aggregation
AEP - CSP     00040621055357505           Electric       Gov. Aggregation   FEOH - TE       08005398132030031010        Electric       Gov. Aggregation
AEP - CSP     00040621055595804           Electric       Gov. Aggregation   FEOH - TE       08005449822600009021        Electric       Gov. Aggregation
AEP - CSP     00040621055625734           Electric       Gov. Aggregation   FEOH - TE       08004664602030031663        Electric       Gov. Aggregation
AEP - CSP     00040621055689155           Electric       Gov. Aggregation   FEOH - OE       08004675950000791672        Electric       Gov. Aggregation
AEP - CSP     00040621055689903           Electric       Gov. Aggregation   FEOH - OE       08004736840000592372        Electric       Gov. Aggregation
AEP - CSP     00040621055710474           Electric       Gov. Aggregation   FEOH - OE       08004763460001044089        Electric       Gov. Aggregation
AEP - CSP     00040621051317212           Electric       Gov. Aggregation   FEOH - OE       08004764340000803001        Electric       Gov. Aggregation
AEP - CSP     00040621051383683           Electric       Gov. Aggregation   FEOH - OE       08004764345001305094        Electric       Gov. Aggregation
AEP - CSP     00040621051457593           Electric       Gov. Aggregation   FEOH - TE       08008156382290090475        Electric       Gov. Aggregation
AEP - CSP     00040621051482541           Electric       Gov. Aggregation   FEOH - TE       08008207382770021569        Electric       Gov. Aggregation
AEP - CSP     00040621051509182           Electric       Gov. Aggregation   FEOH - TE       08008220702740091295        Electric       Gov. Aggregation
AEP - CSP     00040621051578803           Electric       Gov. Aggregation   FEOH - TE       08008226452810018312        Electric       Gov. Aggregation
AEP - CSP     00040621051587035           Electric       Gov. Aggregation   FEOH - TE       08008228862810020262        Electric       Gov. Aggregation
AEP - CSP     00040621041505955           Electric       Gov. Aggregation   FEOH - TE       08008229252810020402        Electric       Gov. Aggregation
AEP - CSP     00040621041520740           Electric       Gov. Aggregation   FEOH - TE       08008320162040003351        Electric       Gov. Aggregation
AEP - CSP     00040621041638343           Electric       Gov. Aggregation   FEOH - OE       08017144100000804562        Electric       Gov. Aggregation
AEP - CSP     00040621041714873           Electric       Gov. Aggregation   FEOH - OE       08017479190000177875        Electric       Gov. Aggregation
AEP - CSP     00040621041746135           Electric       Gov. Aggregation   FEOH - OE       08017498630000783791        Electric       Gov. Aggregation
AEP - CSP     00040621041838652           Electric       Gov. Aggregation   FEOH - OE       08017543920000177937        Electric       Gov. Aggregation
AEP - CSP     00040621051666763           Electric       Gov. Aggregation   FEOH - OE       08017568500000803313        Electric       Gov. Aggregation
AEP - CSP     00040621051744231           Electric       Gov. Aggregation   FEOH - OE       08017616810001478204        Electric       Gov. Aggregation
AEP - CSP     00040621051877820           Electric       Gov. Aggregation   FEOH - OE       08017618290001509064        Electric       Gov. Aggregation
AEP - CSP     00040621051992255           Electric       Gov. Aggregation   FEOH - OE       08018598940001379443        Electric       Gov. Aggregation
AEP - CSP     00040621052203950           Electric       Gov. Aggregation   FEOH - OE       08018599180001383442        Electric       Gov. Aggregation
AEP - CSP     00040621052308044           Electric       Gov. Aggregation   FEOH - OE       08018663140000186550        Electric       Gov. Aggregation
AEP - CSP     00040621058504341           Electric       Gov. Aggregation   FEOH - OE       08018663420000186552        Electric       Gov. Aggregation
AEP - CSP     00040621058561565           Electric       Gov. Aggregation   FEOH - OE       08018772790001131041        Electric       Gov. Aggregation
AEP - CSP     00040621058564585           Electric       Gov. Aggregation   FEOH - OE       08018803680001562149        Electric       Gov. Aggregation
AEP - CSP     00040621059191143           Electric       Gov. Aggregation   AEP - OP        00140060799964173           Electric       Gov. Aggregation
AEP - CSP     00040621059361622           Electric       Gov. Aggregation   AEP - OP        00140060799976522           Electric       Gov. Aggregation
AEP - CSP     00040621059372294           Electric       Gov. Aggregation   DPL             0351501892                  Electric       Gov. Aggregation
AEP - CSP     00040621048246715           Electric       Gov. Aggregation   DPL             0450946901                  Electric       Gov. Aggregation
AEP - CSP     00040621048294210           Electric       Gov. Aggregation   DPL             0587924427                  Electric       Gov. Aggregation
AEP - CSP     00040621048410800           Electric       Gov. Aggregation   FEOH - TE       08006253272210012389        Electric       Gov. Aggregation
AEP - CSP     00040621048701465           Electric       Gov. Aggregation   FEOH - TE       08006254552210014149        Electric       Gov. Aggregation
AEP - CSP     00040621048705662           Electric       Gov. Aggregation   FEOH - TE       08006258112380028469        Electric       Gov. Aggregation
AEP - CSP     00040621048904260           Electric       Gov. Aggregation   FEOH - OE       08006291990000788963        Electric       Gov. Aggregation
AEP - CSP     00040621048976623           Electric       Gov. Aggregation   FEOH - TE       08006321762380032766        Electric       Gov. Aggregation
AEP - CSP     00040621049154101           Electric       Gov. Aggregation   FEOH - TE       08006329522430001350        Electric       Gov. Aggregation
AEP - CSP     00040621049161471           Electric       Gov. Aggregation   FEOH - TE       08008353362850021195        Electric       Gov. Aggregation
AEP - CSP     00040621049234162           Electric       Gov. Aggregation   FEOH - TE       08008354382680021818        Electric       Gov. Aggregation
AEP - CSP     00040621049444554           Electric       Gov. Aggregation   FEOH - TE       08008359502850024032        Electric       Gov. Aggregation
AEP - CSP     00040621049503775           Electric       Gov. Aggregation   FEOH - TE       08008463902770019041        Electric       Gov. Aggregation
AEP - CSP     00040621055855923           Electric       Gov. Aggregation   FEOH - TE       08008465432770017079        Electric       Gov. Aggregation
AEP - CSP     00040621055867223           Electric       Gov. Aggregation   FEOH - TE       08008467412030031894        Electric       Gov. Aggregation
AEP - CSP     00040621055962964           Electric       Gov. Aggregation   FEOH - OE       08004463060001128598        Electric       Gov. Aggregation
AEP - CSP     00040621055995112           Electric       Gov. Aggregation   FEOH - OE       08004550310001042340        Electric       Gov. Aggregation
AEP - CSP     00040621056119363           Electric       Gov. Aggregation   FEOH - OE       08004561760001043384        Electric       Gov. Aggregation
AEP - CSP     00040621056142921           Electric       Gov. Aggregation   FEOH - OE       08004739160000790813        Electric       Gov. Aggregation
AEP - CSP     00040621056263760           Electric       Gov. Aggregation   FEOH - OE       08004763460001448564        Electric       Gov. Aggregation
AEP - CSP     00040621052355741           Electric       Gov. Aggregation   FEOH - TE       08005460432030033156        Electric       Gov. Aggregation
AEP - CSP     00040621052378404           Electric       Gov. Aggregation   FEOH - TE       08005460452030033180        Electric       Gov. Aggregation
AEP - CSP     00040621052413733           Electric       Gov. Aggregation   FEOH - TE       08005464212040001003        Electric       Gov. Aggregation
AEP - CSP     00040621052496112           Electric       Gov. Aggregation   FEOH - OE       08005490270001310513        Electric       Gov. Aggregation
AEP - CSP     00040621052504014           Electric       Gov. Aggregation   FEOH - OE       08005514790001381490        Electric       Gov. Aggregation
AEP - CSP     00040621052647835           Electric       Gov. Aggregation   FEOH - TE       08005521292640015924        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type         Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621042158423           Electric       Gov. Aggregation   FEOH - OE       08004764485000241164        Electric       Gov. Aggregation
AEP - CSP     00040621042216820           Electric       Gov. Aggregation   FEOH - OE       08004870230001128560        Electric       Gov. Aggregation
AEP - CSP     00040621042569682           Electric       Gov. Aggregation   FEOH - OE       08005003690001128940        Electric       Gov. Aggregation
AEP - CSP     00040621042605644           Electric       Gov. Aggregation   FEOH - TE       08005143742210014806        Electric       Gov. Aggregation
AEP - CSP     00040621042693694           Electric       Gov. Aggregation   FEOH - OE       08017686700000178951        Electric       Gov. Aggregation
AEP - CSP     00040621042903441           Electric       Gov. Aggregation   FEOH - OE       08017689720001364739        Electric       Gov. Aggregation
AEP - CSP     00040621051589272           Electric       Gov. Aggregation   FEOH - OE       08017711340000186564        Electric       Gov. Aggregation
AEP - CSP     00040621051714700           Electric       Gov. Aggregation   FEOH - OE       08017765880000187257        Electric       Gov. Aggregation
AEP - CSP     00040621051748762           Electric       Gov. Aggregation   FEOH - OE       08018129900001529366        Electric       Gov. Aggregation
AEP - CSP     00040621051787363           Electric       Gov. Aggregation   FEOH - OE       08018322690000187082        Electric       Gov. Aggregation
AEP - CSP     00040621051873315           Electric       Gov. Aggregation   FEOH - OE       08018324010000187100        Electric       Gov. Aggregation
AEP - CSP     00040621051879672           Electric       Gov. Aggregation   FEOH - OE       08019120925000391713        Electric       Gov. Aggregation
AEP - CSP     00040621051914640           Electric       Gov. Aggregation   FEOH - TE       08008541062850025899        Electric       Gov. Aggregation
AEP - CSP     00040621048764241           Electric       Gov. Aggregation   FEOH - TE       08008547142900007706        Electric       Gov. Aggregation
AEP - CSP     00040621048871983           Electric       Gov. Aggregation   FEOH - TE       08008549552900008446        Electric       Gov. Aggregation
AEP - CSP     00040621048928303           Electric       Gov. Aggregation   DPL             0731302006                  Electric       Gov. Aggregation
AEP - CSP     00040621049061320           Electric       Gov. Aggregation   FEOH - TE       08000111452810018331        Electric       Gov. Aggregation
AEP - CSP     00040621049067611           Electric       Gov. Aggregation   FEOH - TE       08000337892600007788        Electric       Gov. Aggregation
AEP - CSP     00040621049257814           Electric       Gov. Aggregation   FEOH - TE       08000942182850024863        Electric       Gov. Aggregation
AEP - CSP     00040621049369803           Electric       Gov. Aggregation   FEOH - OE       08002973800000187096        Electric       Gov. Aggregation
AEP - CSP     00040621049548740           Electric       Gov. Aggregation   FEOH - OE       08003318235000382623        Electric       Gov. Aggregation
AEP - CSP     00040621049736020           Electric       Gov. Aggregation   FEOH - TE       08003494112680023048        Electric       Gov. Aggregation
AEP - CSP     00040621049807293           Electric       Gov. Aggregation   FEOH - OE       08004763820001403028        Electric       Gov. Aggregation
AEP - CSP     00040621049853752           Electric       Gov. Aggregation   FEOH - OE       08005103190001043878        Electric       Gov. Aggregation
AEP - CSP     00040621050010951           Electric       Gov. Aggregation   FEOH - TE       08005522412640019357        Electric       Gov. Aggregation
AEP - CSP     00040621050067594           Electric       Gov. Aggregation   FEOH - TE       08005530112080021167        Electric       Gov. Aggregation
AEP - CSP     00040621050087680           Electric       Gov. Aggregation   FEOH - TE       08005533782080026614        Electric       Gov. Aggregation
AEP - CSP     00040621059464411           Electric       Gov. Aggregation   FEOH - TE       08005533892080026629        Electric       Gov. Aggregation
AEP - CSP     00040621059620422           Electric       Gov. Aggregation   FEOH - TE       08005536002080027143        Electric       Gov. Aggregation
AEP - CSP     00040621059648084           Electric       Gov. Aggregation   FEOH - TE       08005536352080027246        Electric       Gov. Aggregation
AEP - CSP     00040621059718874           Electric       Gov. Aggregation   FEOH - TE       08006528532890093044        Electric       Gov. Aggregation
AEP - CSP     00040621059846013           Electric       Gov. Aggregation   FEOH - TE       08006595222210012022        Electric       Gov. Aggregation
AEP - CSP     00040621059962754           Electric       Gov. Aggregation   FEOH - TE       08006596882210014135        Electric       Gov. Aggregation
AEP - CSP     00040621051603774           Electric       Gov. Aggregation   FEOH - OE       08005173640001131339        Electric       Gov. Aggregation
AEP - CSP     00040621051866043           Electric       Gov. Aggregation   FEOH - OE       08005187940001128659        Electric       Gov. Aggregation
AEP - CSP     00040621051907803           Electric       Gov. Aggregation   FEOH - TE       08005294932680023279        Electric       Gov. Aggregation
AEP - CSP     00040621052079634           Electric       Gov. Aggregation   FEOH - TE       08005298072680024500        Electric       Gov. Aggregation
AEP - CSP     00040621052120893           Electric       Gov. Aggregation   FEOH - TE       08005299922730092473        Electric       Gov. Aggregation
AEP - CSP     00040621052367345           Electric       Gov. Aggregation   FEOH - OE       08005313300001128647        Electric       Gov. Aggregation
AEP - CSP     00040621052412740           Electric       Gov. Aggregation   FEOH - OE       08020773880000803742        Electric       Gov. Aggregation
AEP - CSP     00040621042974731           Electric       Gov. Aggregation   FEOH - TE       08020951962680022524        Electric       Gov. Aggregation
AEP - CSP     00040621042999622           Electric       Gov. Aggregation   FEOH - TE       08020969225000301553        Electric       Gov. Aggregation
AEP - CSP     00040621043100082           Electric       Gov. Aggregation   FEOH - OE       08018324910000187120        Electric       Gov. Aggregation
AEP - CSP     00040621043117263           Electric       Gov. Aggregation   FEOH - OE       08018591140000186387        Electric       Gov. Aggregation
AEP - CSP     00040621043120190           Electric       Gov. Aggregation   FEOH - OE       08018591800000186397        Electric       Gov. Aggregation
AEP - CSP     00040621043253461           Electric       Gov. Aggregation   FEOH - OE       08018593260000186417        Electric       Gov. Aggregation
AEP - CSP     00040621052863822           Electric       Gov. Aggregation   FEOH - OE       08018594230000186422        Electric       Gov. Aggregation
AEP - CSP     00040621052890734           Electric       Gov. Aggregation   FEOH - OE       08018594880000186442        Electric       Gov. Aggregation
AEP - CSP     00040621052979782           Electric       Gov. Aggregation   FEOH - OE       08018598170001385529        Electric       Gov. Aggregation
AEP - CSP     00040621053050532           Electric       Gov. Aggregation   FEOH - TE       08008677712770014212        Electric       Gov. Aggregation
AEP - CSP     00040621053177082           Electric       Gov. Aggregation   FEOH - TE       08008677802770014245        Electric       Gov. Aggregation
AEP - CSP     00040621053365575           Electric       Gov. Aggregation   FEOH - TE       08008720182770019248        Electric       Gov. Aggregation
AEP - CSP     00040621052057994           Electric       Gov. Aggregation   FEOH - TE       08008725232770021502        Electric       Gov. Aggregation
AEP - CSP     00040621052397614           Electric       Gov. Aggregation   FEOH - TE       08008725672770021605        Electric       Gov. Aggregation
AEP - CSP     00040621052423310           Electric       Gov. Aggregation   FEOH - TE       08008738462690090241        Electric       Gov. Aggregation
AEP - CSP     00040621052470160           Electric       Gov. Aggregation   FEOH - TE       08008870053000003449        Electric       Gov. Aggregation
AEP - CSP     00040621052607322           Electric       Gov. Aggregation   FEOH - OE       08005107850001300531        Electric       Gov. Aggregation
AEP - CSP     00040621052861424           Electric       Gov. Aggregation   FEOH - TE       08005268892850020863        Electric       Gov. Aggregation
AEP - CSP     00040621056267520           Electric       Gov. Aggregation   FEOH - TE       08005298282680024553        Electric       Gov. Aggregation
AEP - CSP     00040621056517375           Electric       Gov. Aggregation   FEOH - TE       08005299582680025043        Electric       Gov. Aggregation
AEP - CSP     00040621056659724           Electric       Gov. Aggregation   FEOH - OE       08003499970000778866        Electric       Gov. Aggregation
AEP - CSP     00040621056926644           Electric       Gov. Aggregation   FEOH - OE       08004017300000792414        Electric       Gov. Aggregation
AEP - CSP     00040621056978520           Electric       Gov. Aggregation   FEOH - OE       08004022750000784623        Electric       Gov. Aggregation
AEP - CSP     00040621057110971           Electric       Gov. Aggregation   FEOH - OE       08004143490000790205        Electric       Gov. Aggregation
AEP - CSP     00040621049448994           Electric       Gov. Aggregation   FEOH - OE       08004163850001143140        Electric       Gov. Aggregation
AEP - CSP     00040621049579913           Electric       Gov. Aggregation   FEOH - OE       08004452240001142168        Electric       Gov. Aggregation
AEP - CSP     00040621049581640           Electric       Gov. Aggregation   FEOH - TE       08005582792100091563        Electric       Gov. Aggregation
AEP - CSP     00040621049674525           Electric       Gov. Aggregation   FEOH - TE       08005583722210009296        Electric       Gov. Aggregation
AEP - CSP     00040621049686543           Electric       Gov. Aggregation   FEOH - TE       08005601832680022154        Electric       Gov. Aggregation
AEP - CSP     00040621049691501           Electric       Gov. Aggregation   FEOH - TE       08005602542680022421        Electric       Gov. Aggregation
AEP - CSP     00040621059968500           Electric       Gov. Aggregation   FEOH - TE       08005608262680024604        Electric       Gov. Aggregation
AEP - CSP     00040621060090310           Electric       Gov. Aggregation   FEOH - OE       08005611400001369978        Electric       Gov. Aggregation
AEP - CSP     00040621060210040           Electric       Gov. Aggregation   FEOH - TE       08005650302210013959        Electric       Gov. Aggregation
AEP - CSP     00040621060400125           Electric       Gov. Aggregation   FEOH - TE       08006598042270091115        Electric       Gov. Aggregation
AEP - CSP     00040621060473963           Electric       Gov. Aggregation   FEOH - TE       08006652052380032202        Electric       Gov. Aggregation
AEP - CSP     00040621060501851           Electric       Gov. Aggregation   FEOH - TE       08006653172380032569        Electric       Gov. Aggregation
AEP - CSP     00040621050401924           Electric       Gov. Aggregation   FEOH - TE       08006655182380033492        Electric       Gov. Aggregation
AEP - CSP     00040621050455823           Electric       Gov. Aggregation   FEOH - OE       08021151210001322149        Electric       Gov. Aggregation
AEP - CSP     00040621050473855           Electric       Gov. Aggregation   FEOH - OE       08021230190000586899        Electric       Gov. Aggregation
AEP - CSP     00040621050593280           Electric       Gov. Aggregation   FEOH - OE       08021232980000587057        Electric       Gov. Aggregation
AEP - CSP     00040621050777452           Electric       Gov. Aggregation   FEOH - OE       08021238610001396667        Electric       Gov. Aggregation
AEP - CSP     00040621050985731           Electric       Gov. Aggregation   FEOH - OE       08021241990000587615        Electric       Gov. Aggregation
AEP - CSP     00040621051037404           Electric       Gov. Aggregation   FEOH - OE       08021289760000803634        Electric       Gov. Aggregation
AEP - CSP     00040621043446322           Electric       Gov. Aggregation   FEOH - OE       08005313300001129813        Electric       Gov. Aggregation
AEP - CSP     00040621043612575           Electric       Gov. Aggregation   FEOH - OE       08005321735000018781        Electric       Gov. Aggregation
AEP - CSP     00040621043826032           Electric       Gov. Aggregation   FEOH - TE       08005323062900007975        Electric       Gov. Aggregation
AEP - CSP     00040621044100364           Electric       Gov. Aggregation   FEOH - TE       08005364203000006813        Electric       Gov. Aggregation
AEP - CSP     00040621044259525           Electric       Gov. Aggregation   FEOH - TE       08005367172300030404        Electric       Gov. Aggregation
AEP - CSP     00040621044477030           Electric       Gov. Aggregation   FEOH - TE       08005440112300031411        Electric       Gov. Aggregation
AEP - CSP     00040621052447924           Electric       Gov. Aggregation   FEOH - TE       08005444292600004211        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621052479685           Electric       Gov. Aggregation   FEOH - OE     08018660390000186512        Electric       Gov. Aggregation
AEP - CSP     00040621052595120           Electric       Gov. Aggregation   FEOH - OE     08018662350001317187        Electric       Gov. Aggregation
AEP - CSP     00040621052658795           Electric       Gov. Aggregation   FEOH - OE     08018662770000186543        Electric       Gov. Aggregation
AEP - CSP     00040621052754475           Electric       Gov. Aggregation   FEOH - OE     08019452620000177922        Electric       Gov. Aggregation
AEP - CSP     00040621052894872           Electric       Gov. Aggregation   FEOH - TE     08008871752600003970        Electric       Gov. Aggregation
AEP - CSP     00040621052905121           Electric       Gov. Aggregation   FEOH - TE     08008872842600004189        Electric       Gov. Aggregation
AEP - CSP     00040621057308155           Electric       Gov. Aggregation   FEOH - TE     08008934072390001480        Electric       Gov. Aggregation
AEP - CSP     00040621057326820           Electric       Gov. Aggregation   FEOH - TE     08008943203000005231        Electric       Gov. Aggregation
AEP - CSP     00040621057402872           Electric       Gov. Aggregation   FEOH - TE     08008944152640019220        Electric       Gov. Aggregation
AEP - CSP     00040621057522110           Electric       Gov. Aggregation   FEOH - TE     08008944552640019319        Electric       Gov. Aggregation
AEP - CSP     00040621057777724           Electric       Gov. Aggregation   FEOH - TE     08008945062640019380        Electric       Gov. Aggregation
AEP - CSP     00040621057877503           Electric       Gov. Aggregation   FEOH - OE     08004636125001314320        Electric       Gov. Aggregation
AEP - CSP     00040621052987942           Electric       Gov. Aggregation   FEOH - OE     08004736840000592365        Electric       Gov. Aggregation
AEP - CSP     00040621053047590           Electric       Gov. Aggregation   FEOH - OE     08004763820000803206        Electric       Gov. Aggregation
AEP - CSP     00040621053195195           Electric       Gov. Aggregation   FEOH - OE     08005313300001128619        Electric       Gov. Aggregation
AEP - CSP     00040621053198441           Electric       Gov. Aggregation   FEOH - OE     08005343150001500777        Electric       Gov. Aggregation
AEP - CSP     00040621053281755           Electric       Gov. Aggregation   FEOH - TE     08005363562300026291        Electric       Gov. Aggregation
AEP - CSP     00040621053286413           Electric       Gov. Aggregation   FEOH - TE     08005386072140091065        Electric       Gov. Aggregation
AEP - CSP     00040621051429562           Electric       Gov. Aggregation   FEOH - TE     08005441932480090137        Electric       Gov. Aggregation
AEP - CSP     00040621051448593           Electric       Gov. Aggregation   FEOH - TE     08005445402600007581        Electric       Gov. Aggregation
AEP - CSP     00040621051516780           Electric       Gov. Aggregation   FEOH - TE     08005449192600008879        Electric       Gov. Aggregation
AEP - CSP     00040621051535032           Electric       Gov. Aggregation   FEOH - TE     08005654322210015180        Electric       Gov. Aggregation
AEP - CSP     00040621051963171           Electric       Gov. Aggregation   FEOH - TE     08005658132600092563        Electric       Gov. Aggregation
AEP - CSP     00040621052007931           Electric       Gov. Aggregation   FEOH - TE     08005678352320093232        Electric       Gov. Aggregation
AEP - CSP     00040621052068743           Electric       Gov. Aggregation   FEOH - TE     08005723262030031077        Electric       Gov. Aggregation
AEP - CSP     00040621052961423           Electric       Gov. Aggregation   FEOH - TE     08005726135000200806        Electric       Gov. Aggregation
AEP - CSP     00040621053018904           Electric       Gov. Aggregation   FEOH - TE     08005726772040000921        Electric       Gov. Aggregation
AEP - CSP     00040621053154251           Electric       Gov. Aggregation   FEOH - OE     08021301040001502121        Electric       Gov. Aggregation
AEP - CSP     00040621053180162           Electric       Gov. Aggregation   FEOH - OE     08021304330000603703        Electric       Gov. Aggregation
AEP - CSP     00040621053481121           Electric       Gov. Aggregation   FEOH - TE     08021304852310093188        Electric       Gov. Aggregation
AEP - CSP     00040621053637692           Electric       Gov. Aggregation   FEOH - TE     08021304932660090399        Electric       Gov. Aggregation
AEP - CSP     00040621049790602           Electric       Gov. Aggregation   FEOH - OE     08021309520000603639        Electric       Gov. Aggregation
AEP - CSP     00040621049806144           Electric       Gov. Aggregation   FEOH - OE     08021313415001445242        Electric       Gov. Aggregation
AEP - CSP     00040621049974332           Electric       Gov. Aggregation   FEOH - OE     08021372190000603753        Electric       Gov. Aggregation
AEP - CSP     00040621050069040           Electric       Gov. Aggregation   FEOH - TE     08006655402390000505        Electric       Gov. Aggregation
AEP - CSP     00040621050401463           Electric       Gov. Aggregation   FEOH - TE     08006657842390001372        Electric       Gov. Aggregation
AEP - CSP     00040621050560774           Electric       Gov. Aggregation   FEOH - TE     08006659052420091098        Electric       Gov. Aggregation
AEP - CSP     00040621053327993           Electric       Gov. Aggregation   FEOH - TE     08005462572040000743        Electric       Gov. Aggregation
AEP - CSP     00040621053360373           Electric       Gov. Aggregation   FEOH - TE     08005530242080022239        Electric       Gov. Aggregation
AEP - CSP     00040621053478225           Electric       Gov. Aggregation   FEOH - TE     08005538272080027566        Electric       Gov. Aggregation
AEP - CSP     00040621053596620           Electric       Gov. Aggregation   FEOH - TE     08005580832080028080        Electric       Gov. Aggregation
AEP - CSP     00040621053725035           Electric       Gov. Aggregation   FEOH - TE     08005584792210012726        Electric       Gov. Aggregation
AEP - CSP     00040621053828901           Electric       Gov. Aggregation   FEOH - TE     08005589852210013803        Electric       Gov. Aggregation
AEP - CSP     00040621044501303           Electric       Gov. Aggregation   FEOH - OE     08020346890000778772        Electric       Gov. Aggregation
AEP - CSP     00040621044550554           Electric       Gov. Aggregation   FEOH - OE     08020424810000803751        Electric       Gov. Aggregation
AEP - CSP     00040621044688994           Electric       Gov. Aggregation   FEOH - TE     08020853842210014825        Electric       Gov. Aggregation
AEP - CSP     00040621044859813           Electric       Gov. Aggregation   FEOH - OE     08020938200001480281        Electric       Gov. Aggregation
AEP - CSP     00040621045281901           Electric       Gov. Aggregation   FEOH - TE     08020951302390000928        Electric       Gov. Aggregation
AEP - CSP     00040621052113222           Electric       Gov. Aggregation   FEOH - TE     08008945242640019450        Electric       Gov. Aggregation
AEP - CSP     00040621052145511           Electric       Gov. Aggregation   FEOH - TE     08008946172640019746        Electric       Gov. Aggregation
AEP - CSP     00040621052158691           Electric       Gov. Aggregation   FEOH - TE     08009012442680018669        Electric       Gov. Aggregation
AEP - CSP     00040621052233752           Electric       Gov. Aggregation   FEOH - TE     08009018942680021983        Electric       Gov. Aggregation
AEP - CSP     00040621052317011           Electric       Gov. Aggregation   FEOH - TE     08009062232680022666        Electric       Gov. Aggregation
AEP - CSP     00040621052349051           Electric       Gov. Aggregation   FEOH - TE     08009063362680022839        Electric       Gov. Aggregation
AEP - CSP     00040621052416373           Electric       Gov. Aggregation   FEOH - TE     08009123552380031110        Electric       Gov. Aggregation
AEP - CSP     00040621053659104           Electric       Gov. Aggregation   FEOH - OE     08004832900001485338        Electric       Gov. Aggregation
AEP - CSP     00040621053720842           Electric       Gov. Aggregation   FEOH - OE     08005043505001257117        Electric       Gov. Aggregation
AEP - CSP     00040621053751643           Electric       Gov. Aggregation   FEOH - OE     08005107850000802990        Electric       Gov. Aggregation
AEP - CSP     00040621053802151           Electric       Gov. Aggregation   FEOH - TE     08005463622040000899        Electric       Gov. Aggregation
AEP - CSP     00040621053882560           Electric       Gov. Aggregation   FEOH - TE     08005463912040000940        Electric       Gov. Aggregation
AEP - CSP     00040621054034044           Electric       Gov. Aggregation   FEOH - TE     08005464592040001126        Electric       Gov. Aggregation
AEP - CSP     00040621050563975           Electric       Gov. Aggregation   FEOH - TE     08005527672680018674        Electric       Gov. Aggregation
AEP - CSP     00040621050682755           Electric       Gov. Aggregation   FEOH - TE     08005529172680020214        Electric       Gov. Aggregation
AEP - CSP     00040621050816402           Electric       Gov. Aggregation   FEOH - TE     08005531272080022789        Electric       Gov. Aggregation
AEP - CSP     00040621050853725           Electric       Gov. Aggregation   FEOH - TE     08005531422390001231        Electric       Gov. Aggregation
AEP - CSP     00040621050907030           Electric       Gov. Aggregation   FEOH - TE     08005727492040001267        Electric       Gov. Aggregation
AEP - CSP     00040621051071155           Electric       Gov. Aggregation   FEOH - TE     08005727762040001337        Electric       Gov. Aggregation
AEP - CSP     00040621051102842           Electric       Gov. Aggregation   FEOH - TE     08005729382040001750        Electric       Gov. Aggregation
AEP - CSP     00040621053420283           Electric       Gov. Aggregation   FEOH - TE     08005757902640015892        Electric       Gov. Aggregation
AEP - CSP     00040621053526192           Electric       Gov. Aggregation   FEOH - TE     08005782442080022671        Electric       Gov. Aggregation
AEP - CSP     00040621053593064           Electric       Gov. Aggregation   FEOH - TE     08005784053000002056        Electric       Gov. Aggregation
AEP - CSP     00040621053612093           Electric       Gov. Aggregation   FEOH - TE     08005787562080027621        Electric       Gov. Aggregation
AEP - CSP     00040621053958584           Electric       Gov. Aggregation   FEOH - TE     08020954252300092638        Electric       Gov. Aggregation
AEP - CSP     00040621054085893           Electric       Gov. Aggregation   FEOH - OE     08021175790001552827        Electric       Gov. Aggregation
AEP - CSP     00040621054105392           Electric       Gov. Aggregation   FEOH - OE     08021179930000587657        Electric       Gov. Aggregation
AEP - CSP     00040621052460523           Electric       Gov. Aggregation   FEOH - OE     08021232540000587045        Electric       Gov. Aggregation
AEP - CSP     00040621052578621           Electric       Gov. Aggregation   FEOH - OE     08021234610000586842        Electric       Gov. Aggregation
AEP - CSP     00040621052585855           Electric       Gov. Aggregation   FEOH - OE     08021235120000587079        Electric       Gov. Aggregation
AEP - CSP     00040621052742643           Electric       Gov. Aggregation   FEOH - TE     08005601352680021964        Electric       Gov. Aggregation
AEP - CSP     00040621053008552           Electric       Gov. Aggregation   FEOH - TE     08005602972680022577        Electric       Gov. Aggregation
AEP - CSP     00040621053028524           Electric       Gov. Aggregation   FEOH - TE     08005603842680022947        Electric       Gov. Aggregation
AEP - CSP     00040621053171214           Electric       Gov. Aggregation   FEOH - TE     08005604132680023067        Electric       Gov. Aggregation
AEP - CSP     00040621060533092           Electric       Gov. Aggregation   FEOH - TE     08005604222680023091        Electric       Gov. Aggregation
AEP - CSP     00040621060681541           Electric       Gov. Aggregation   FEOH - TE     08005607252680024074        Electric       Gov. Aggregation
AEP - CSP     00040621060703135           Electric       Gov. Aggregation   FEOH - TE     08005608042680024567        Electric       Gov. Aggregation
AEP - CSP     00040621060704715           Electric       Gov. Aggregation   FEOH - TE     08006720922550093918        Electric       Gov. Aggregation
AEP - CSP     00040621060807400           Electric       Gov. Aggregation   FEOH - TE     08006722162600009548        Electric       Gov. Aggregation
AEP - CSP     00040621060830061           Electric       Gov. Aggregation   FEOH - TE     08006725422360090619        Electric       Gov. Aggregation
AEP - CSP     00040621060854652           Electric       Gov. Aggregation   FEOH - OE     08006773080000803854        Electric       Gov. Aggregation
AEP - CSP     00040621053972082           Electric       Gov. Aggregation   FEOH - TE     08009124932380031891        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621053990825           Electric       Gov. Aggregation   FEOH - OE     08009860560000803403        Electric       Gov. Aggregation
AEP - CSP     00040621054027622           Electric       Gov. Aggregation   FEOH - OE     08010190730000802977        Electric       Gov. Aggregation
AEP - CSP     00040621054039522           Electric       Gov. Aggregation   FEOH - OE     08010704780001383045        Electric       Gov. Aggregation
AEP - CSP     00040621054128661           Electric       Gov. Aggregation   FEOH - OE     08010925580001550462        Electric       Gov. Aggregation
AEP - CSP     00040621054167644           Electric       Gov. Aggregation   FEOH - OE     08021375360000603804        Electric       Gov. Aggregation
AEP - CSP     00040621054479204           Electric       Gov. Aggregation   FEOH - OE     08021375800000603745        Electric       Gov. Aggregation
AEP - CSP     00040621057957822           Electric       Gov. Aggregation   FEOH - OE     08021440810000584175        Electric       Gov. Aggregation
AEP - CSP     00040621058118785           Electric       Gov. Aggregation   FEOH - OE     08021444150000587625        Electric       Gov. Aggregation
AEP - CSP     00040621058119973           Electric       Gov. Aggregation   FEOH - OE     08021445790000587646        Electric       Gov. Aggregation
AEP - CSP     00040621058477744           Electric       Gov. Aggregation   FEOH - OE     08021501680000604120        Electric       Gov. Aggregation
AEP - CSP     00040621058936242           Electric       Gov. Aggregation   FEOH - OE     08021506080000604151        Electric       Gov. Aggregation
AEP - CSP     00040621058937713           Electric       Gov. Aggregation   FEOH - OE     08005173640001127811        Electric       Gov. Aggregation
AEP - CSP     00040621058999092           Electric       Gov. Aggregation   FEOH - TE     08005298582680024656        Electric       Gov. Aggregation
AEP - CSP     00040621051189342           Electric       Gov. Aggregation   FEOH - TE     08005298672680024680        Electric       Gov. Aggregation
AEP - CSP     00040621051193784           Electric       Gov. Aggregation   FEOH - TE     08005325032900008592        Electric       Gov. Aggregation
AEP - CSP     00040621051306404           Electric       Gov. Aggregation   FEOH - TE     08005360632870091260        Electric       Gov. Aggregation
AEP - CSP     00040621051363115           Electric       Gov. Aggregation   FEOH - TE     08005368372300030761        Electric       Gov. Aggregation
AEP - CSP     00040621051528592           Electric       Gov. Aggregation   FEOH - TE     08005532982080023119        Electric       Gov. Aggregation
AEP - CSP     00040621051542100           Electric       Gov. Aggregation   FEOH - TE     08005533083000000307        Electric       Gov. Aggregation
AEP - CSP     00040621054057395           Electric       Gov. Aggregation   FEOH - TE     08005538882080027669        Electric       Gov. Aggregation
AEP - CSP     00040621054139921           Electric       Gov. Aggregation   FEOH - TE     08005580642080028023        Electric       Gov. Aggregation
AEP - CSP     00040621054198164           Electric       Gov. Aggregation   FEOH - TE     08005587972210013339        Electric       Gov. Aggregation
AEP - CSP     00040621054207471           Electric       Gov. Aggregation   FEOH - TE     08005589252300031425        Electric       Gov. Aggregation
AEP - CSP     00040621054348464           Electric       Gov. Aggregation   FEOH - TE     08005589522210013733        Electric       Gov. Aggregation
AEP - CSP     00040621054524433           Electric       Gov. Aggregation   FEOH - TE     08005788642080028061        Electric       Gov. Aggregation
AEP - CSP     00040621054568091           Electric       Gov. Aggregation   FEOH - OE     08005823920001433850        Electric       Gov. Aggregation
AEP - CSP     00040621045494322           Electric       Gov. Aggregation   FEOH - TE     08005829292680022488        Electric       Gov. Aggregation
AEP - CSP     00040621045711281           Electric       Gov. Aggregation   FEOH - OE     08005843160001040717        Electric       Gov. Aggregation
AEP - CSP     00040621045846522           Electric       Gov. Aggregation   FEOH - TE     08005850532080028624        Electric       Gov. Aggregation
AEP - CSP     00040621045905574           Electric       Gov. Aggregation   FEOH - TE     08005851282180090241        Electric       Gov. Aggregation
AEP - CSP     00040621045988893           Electric       Gov. Aggregation   FEOH - TE     08005851582200091507        Electric       Gov. Aggregation
AEP - CSP     00040621046062544           Electric       Gov. Aggregation   FEOH - TE     08005659882820091023        Electric       Gov. Aggregation
AEP - CSP     00040621046148230           Electric       Gov. Aggregation   FEOH - TE     08005677162300031355        Electric       Gov. Aggregation
AEP - CSP     00040621053205924           Electric       Gov. Aggregation   FEOH - TE     08005728002040001394        Electric       Gov. Aggregation
AEP - CSP     00040621053366971           Electric       Gov. Aggregation   FEOH - TE     08005729382660092849        Electric       Gov. Aggregation
AEP - CSP     00040621053420345           Electric       Gov. Aggregation   FEOH - OE     08012756890001127637        Electric       Gov. Aggregation
AEP - CSP     00040621053631012           Electric       Gov. Aggregation   FEOH - OE     08013661090001523147        Electric       Gov. Aggregation
AEP - CSP     00040621053730984           Electric       Gov. Aggregation   FEOH - OE     08006809100001479990        Electric       Gov. Aggregation
AEP - CSP     00040621053950173           Electric       Gov. Aggregation   FEOH - TE     08006844752390001298        Electric       Gov. Aggregation
AEP - CSP     00040621054037252           Electric       Gov. Aggregation   FEOH - OE     08006884910001128628        Electric       Gov. Aggregation
AEP - CSP     00040621054168833           Electric       Gov. Aggregation   FEOH - TE     08006927822600006963        Electric       Gov. Aggregation
AEP - CSP     00040621054290460           Electric       Gov. Aggregation   FEOH - TE     08006928842600009923        Electric       Gov. Aggregation
AEP - CSP     00040621054344941           Electric       Gov. Aggregation   FEOH - OE     08006950640001128565        Electric       Gov. Aggregation
AEP - CSP     00040621054813534           Electric       Gov. Aggregation   FEOH - TE     08006996602900008906        Electric       Gov. Aggregation
AEP - CSP     00040621055046770           Electric       Gov. Aggregation   FEOH - TE     08021648322210012445        Electric       Gov. Aggregation
AEP - CSP     00040621055164130           Electric       Gov. Aggregation   FEOH - TE     08021718802680023391        Electric       Gov. Aggregation
AEP - CSP     00040621054744844           Electric       Gov. Aggregation   FEOH - OE     08021789900000604244        Electric       Gov. Aggregation
AEP - CSP     00040621055048190           Electric       Gov. Aggregation   FEOH - OE     08021859110000603713        Electric       Gov. Aggregation
AEP - CSP     00040621055096140           Electric       Gov. Aggregation   FEOH - TE     08005589942210013856        Electric       Gov. Aggregation
AEP - CSP     00040621055242170           Electric       Gov. Aggregation   FEOH - TE     08005614202420033075        Electric       Gov. Aggregation
AEP - CSP     00040621055680211           Electric       Gov. Aggregation   FEOH - TE     08005650552210014027        Electric       Gov. Aggregation
AEP - CSP     00040621055719443           Electric       Gov. Aggregation   FEOH - TE     08005651992210014510        Electric       Gov. Aggregation
AEP - CSP     00040621059207931           Electric       Gov. Aggregation   FEOH - TE     08005652232210014596        Electric       Gov. Aggregation
AEP - CSP     00040621059326771           Electric       Gov. Aggregation   FEOH - TE     08005652392210014666        Electric       Gov. Aggregation
AEP - CSP     00040621059386253           Electric       Gov. Aggregation   FEOH - TE     08005855093000002295        Electric       Gov. Aggregation
AEP - CSP     00040621059414055           Electric       Gov. Aggregation   FEOH - TE     08005857252210014327        Electric       Gov. Aggregation
AEP - CSP     00040621059665625           Electric       Gov. Aggregation   FEOH - TE     08005858872210014947        Electric       Gov. Aggregation
AEP - CSP     00040621059692604           Electric       Gov. Aggregation   FEOH - OE     08005876770000590639        Electric       Gov. Aggregation
AEP - CSP     00040621059974383           Electric       Gov. Aggregation   FEOH - TE     08005892202680023870        Electric       Gov. Aggregation
AEP - CSP     00040621061092390           Electric       Gov. Aggregation   FEOH - OE     08005892310000177877        Electric       Gov. Aggregation
AEP - CSP     00040621061252272           Electric       Gov. Aggregation   FEOH - TE     08005894842680024798        Electric       Gov. Aggregation
AEP - CSP     00040621061336980           Electric       Gov. Aggregation   FEOH - TE     08005750922600007098        Electric       Gov. Aggregation
AEP - CSP     00040621061372853           Electric       Gov. Aggregation   FEOH - TE     08005756762600009055        Electric       Gov. Aggregation
AEP - CSP     00040621061409233           Electric       Gov. Aggregation   FEOH - TE     08005757732640014321        Electric       Gov. Aggregation
AEP - CSP     00040621051589975           Electric       Gov. Aggregation   FEOH - TE     08005758932640019272        Electric       Gov. Aggregation
AEP - CSP     00040621051644744           Electric       Gov. Aggregation   FEOH - TE     08005785222080026864        Electric       Gov. Aggregation
AEP - CSP     00040621051647001           Electric       Gov. Aggregation   FEOH - TE     08005785822080027054        Electric       Gov. Aggregation
AEP - CSP     00040621051746932           Electric       Gov. Aggregation   FEOH - TE     08005785982080027124        Electric       Gov. Aggregation
AEP - CSP     00040621051841733           Electric       Gov. Aggregation   FEOH - OE     08014936740001129657        Electric       Gov. Aggregation
AEP - CSP     00040621051874855           Electric       Gov. Aggregation   FEOH - OE     08016452820000168230        Electric       Gov. Aggregation
AEP - CSP     00040621051917484           Electric       Gov. Aggregation   FEOH - OE     08016456860000168287        Electric       Gov. Aggregation
AEP - CSP     00040621054136240           Electric       Gov. Aggregation   FEOH - TE     08005395382930032302        Electric       Gov. Aggregation
AEP - CSP     00040621054148635           Electric       Gov. Aggregation   FEOH - TE     08005396672030030783        Electric       Gov. Aggregation
AEP - CSP     00040621054171811           Electric       Gov. Aggregation   FEOH - TE     08005398342030031043        Electric       Gov. Aggregation
AEP - CSP     00040621054205384           Electric       Gov. Aggregation   FEOH - TE     08005399522030032933        Electric       Gov. Aggregation
AEP - CSP     00040621054610990           Electric       Gov. Aggregation   FEOH - TE     08005440722300032817        Electric       Gov. Aggregation
AEP - CSP     00040621054661423           Electric       Gov. Aggregation   FEOH - TE     08005443092600003721        Electric       Gov. Aggregation
AEP - CSP     00040621054719682           Electric       Gov. Aggregation   FEOH - TE     08005444852600007187        Electric       Gov. Aggregation
AEP - CSP     00040621054636820           Electric       Gov. Aggregation   FEOH - OE     08021236690000587095        Electric       Gov. Aggregation
AEP - CSP     00040621054666893           Electric       Gov. Aggregation   FEOH - OE     08021240980000587963        Electric       Gov. Aggregation
AEP - CSP     00040621054732650           Electric       Gov. Aggregation   FEOH - OE     08021241990000587885        Electric       Gov. Aggregation
AEP - CSP     00040621054819391           Electric       Gov. Aggregation   FEOH - OE     08021359825000279287        Electric       Gov. Aggregation
AEP - CSP     00040621054893250           Electric       Gov. Aggregation   FEOH - OE     08021372110000603666        Electric       Gov. Aggregation
AEP - CSP     00040621054959180           Electric       Gov. Aggregation   FEOH - TE     08021374062030032454        Electric       Gov. Aggregation
AEP - CSP     00040621055001353           Electric       Gov. Aggregation   FEOH - OE     08021374190000603795        Electric       Gov. Aggregation
AEP - CSP     00040621055177342           Electric       Gov. Aggregation   FEOH - TE     08006997882900009059        Electric       Gov. Aggregation
AEP - CSP     00040621055355100           Electric       Gov. Aggregation   FEOH - TE     08006998832900010114        Electric       Gov. Aggregation
AEP - CSP     00040621055558615           Electric       Gov. Aggregation   FEOH - TE     08006999452930032195        Electric       Gov. Aggregation
AEP - CSP     00040621055785981           Electric       Gov. Aggregation   FEOH - TE     08007188972130006536        Electric       Gov. Aggregation
AEP - CSP     00040621055787390           Electric       Gov. Aggregation   FEOH - TE     08007228652680019910        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621055790395           Electric       Gov. Aggregation   FEOH - TE     08007228652680019981        Electric       Gov. Aggregation
AEP - CSP     00040621055834774           Electric       Gov. Aggregation   FEOH - TE     08005920122250091271        Electric       Gov. Aggregation
AEP - CSP     00040621046167474           Electric       Gov. Aggregation   FEOH - TE     08005922772520092571        Electric       Gov. Aggregation
AEP - CSP     00040621046370381           Electric       Gov. Aggregation   FEOH - TE     08005924952970090447        Electric       Gov. Aggregation
AEP - CSP     00040621046459135           Electric       Gov. Aggregation   FEOH - TE     08005927842030033072        Electric       Gov. Aggregation
AEP - CSP     00040621046558690           Electric       Gov. Aggregation   FEOH - TE     08005928022030033142        Electric       Gov. Aggregation
AEP - CSP     00040621046726924           Electric       Gov. Aggregation   FEOH - TE     08005992202040001498        Electric       Gov. Aggregation
AEP - CSP     00040621046732461           Electric       Gov. Aggregation   FEOH - TE     08005992832040001695        Electric       Gov. Aggregation
AEP - CSP     00040621046830274           Electric       Gov. Aggregation   FEOH - TE     08005656002380033149        Electric       Gov. Aggregation
AEP - CSP     00040621055849732           Electric       Gov. Aggregation   FEOH - TE     08005659342720091886        Electric       Gov. Aggregation
AEP - CSP     00040621055905115           Electric       Gov. Aggregation   FEOH - TE     08005674422300030348        Electric       Gov. Aggregation
AEP - CSP     00040621056080390           Electric       Gov. Aggregation   FEOH - TE     08005675952300030865        Electric       Gov. Aggregation
AEP - CSP     00040621056090323           Electric       Gov. Aggregation   FEOH - TE     08005676692130093387        Electric       Gov. Aggregation
AEP - CSP     00040621056099252           Electric       Gov. Aggregation   FEOH - TE     08005677062300031322        Electric       Gov. Aggregation
AEP - CSP     00040621056125262           Electric       Gov. Aggregation   FEOH - TE     08005787792080027777        Electric       Gov. Aggregation
AEP - CSP     00040621056517272           Electric       Gov. Aggregation   FEOH - TE     08005828952680022332        Electric       Gov. Aggregation
AEP - CSP     00040621060006452           Electric       Gov. Aggregation   FEOH - TE     08005851042160092907        Electric       Gov. Aggregation
AEP - CSP     00040621060069705           Electric       Gov. Aggregation   FEOH - TE     08005852252210012534        Electric       Gov. Aggregation
AEP - CSP     00040621060183785           Electric       Gov. Aggregation   FEOH - OE     08021375160000603752        Electric       Gov. Aggregation
AEP - CSP     00040621060428955           Electric       Gov. Aggregation   FEOH - OE     08021441690000584160        Electric       Gov. Aggregation
AEP - CSP     00040621060581715           Electric       Gov. Aggregation   FEOH - OE     08021445500000587643        Electric       Gov. Aggregation
AEP - CSP     00040621060594621           Electric       Gov. Aggregation   FEOH - OE     08021446030000587900        Electric       Gov. Aggregation
AEP - CSP     00040621060629633           Electric       Gov. Aggregation   FEOH - OE     08021447770001471971        Electric       Gov. Aggregation
AEP - CSP     00040621061430921           Electric       Gov. Aggregation   FEOH - OE     08021501570000604222        Electric       Gov. Aggregation
AEP - CSP     00040621061477405           Electric       Gov. Aggregation   FEOH - OE     08021505540000604193        Electric       Gov. Aggregation
AEP - CSP     00040621061615192           Electric       Gov. Aggregation   FEOH - OE     08016457520000168077        Electric       Gov. Aggregation
AEP - CSP     00040621061883804           Electric       Gov. Aggregation   FEOH - OE     08016474125001450442        Electric       Gov. Aggregation
AEP - CSP     00040621062119793           Electric       Gov. Aggregation   FEOH - OE     08016617710000177884        Electric       Gov. Aggregation
AEP - CSP     00040621062418554           Electric       Gov. Aggregation   FEOH - OE     08016758410000187207        Electric       Gov. Aggregation
AEP - CSP     00040621055052240           Electric       Gov. Aggregation   FEOH - OE     08016759630000187219        Electric       Gov. Aggregation
AEP - CSP     00040621055065424           Electric       Gov. Aggregation   FEOH - OE     08016894840000186829        Electric       Gov. Aggregation
AEP - CSP     00040621055192164           Electric       Gov. Aggregation   FEOH - OE     08017172270000187199        Electric       Gov. Aggregation
AEP - CSP     00040621055356690           Electric       Gov. Aggregation   FEOH - OE     08021966760001130880        Electric       Gov. Aggregation
AEP - CSP     00040621055579702           Electric       Gov. Aggregation   FEOH - OE     08022147110001491205        Electric       Gov. Aggregation
AEP - CSP     00040621055617741           Electric       Gov. Aggregation   FEOH - OE     08022203910000603557        Electric       Gov. Aggregation
AEP - CSP     00040621055644291           Electric       Gov. Aggregation   FEOH - TE     08022296872210013697        Electric       Gov. Aggregation
AEP - CSP     00040621061050932           Electric       Gov. Aggregation   FEOH - OE     08022341295001478037        Electric       Gov. Aggregation
AEP - CSP     00040621061265385           Electric       Gov. Aggregation   FEOH - TE     08005994492850021068        Electric       Gov. Aggregation
AEP - CSP     00040621061537564           Electric       Gov. Aggregation   FEOH - TE     08005995472080022258        Electric       Gov. Aggregation
AEP - CSP     00040621061714843           Electric       Gov. Aggregation   FEOH - TE     08005999622080027162        Electric       Gov. Aggregation
AEP - CSP     00040621061726252           Electric       Gov. Aggregation   FEOH - TE     08006063762080028498        Electric       Gov. Aggregation
AEP - CSP     00040621061825684           Electric       Gov. Aggregation   FEOH - TE     08006065832210009282        Electric       Gov. Aggregation
AEP - CSP     00040621051957842           Electric       Gov. Aggregation   FEOH - TE     08006115322380033172        Electric       Gov. Aggregation
AEP - CSP     00040621052109434           Electric       Gov. Aggregation   FEOH - TE     08005679142590091862        Electric       Gov. Aggregation
AEP - CSP     00040621052189341           Electric       Gov. Aggregation   FEOH - TE     08005679722600003858        Electric       Gov. Aggregation
AEP - CSP     00040621052339683           Electric       Gov. Aggregation   FEOH - TE     08005721912030030707        Electric       Gov. Aggregation
AEP - CSP     00040621052377440           Electric       Gov. Aggregation   FEOH - TE     08005725802040000551        Electric       Gov. Aggregation
AEP - CSP     00040621052431450           Electric       Gov. Aggregation   FEOH - TE     08005759022640019338        Electric       Gov. Aggregation
AEP - CSP     00040621052673475           Electric       Gov. Aggregation   FEOH - TE     08007252742640090361        Electric       Gov. Aggregation
AEP - CSP     00040621056661051           Electric       Gov. Aggregation   FEOH - TE     08007257962900009167        Electric       Gov. Aggregation
AEP - CSP     00040621056661334           Electric       Gov. Aggregation   FEOH - TE     08007372453000011300        Electric       Gov. Aggregation
AEP - CSP     00040621056735974           Electric       Gov. Aggregation   FEOH - TE     08007390502410090656        Electric       Gov. Aggregation
AEP - CSP     00040621056844695           Electric       Gov. Aggregation   FEOH - TE     08007395002850018449        Electric       Gov. Aggregation
AEP - CSP     00040621056884900           Electric       Gov. Aggregation   FEOH - TE     08007397042850022126        Electric       Gov. Aggregation
AEP - CSP     00040621056956085           Electric       Gov. Aggregation   FEOH - TE     08007397322850022200        Electric       Gov. Aggregation
AEP - CSP     00040621057091854           Electric       Gov. Aggregation   FEOH - TE     08005463502040000870        Electric       Gov. Aggregation
AEP - CSP     00040621055880901           Electric       Gov. Aggregation   FEOH - TE     08005520032600009177        Electric       Gov. Aggregation
AEP - CSP     00040621055937951           Electric       Gov. Aggregation   FEOH - TE     08005521922600010693        Electric       Gov. Aggregation
AEP - CSP     00040621055954543           Electric       Gov. Aggregation   FEOH - TE     08005522862640019484        Electric       Gov. Aggregation
AEP - CSP     00040621056096175           Electric       Gov. Aggregation   FEOH - TE     08005527052640021221        Electric       Gov. Aggregation
AEP - CSP     00040621056107014           Electric       Gov. Aggregation   FEOH - TE     08005527582680018621        Electric       Gov. Aggregation
AEP - CSP     00040621062502851           Electric       Gov. Aggregation   FEOH - TE     08005530472080022309        Electric       Gov. Aggregation
AEP - CSP     00040621062644531           Electric       Gov. Aggregation   FEOH - OE     08021641580000602314        Electric       Gov. Aggregation
AEP - CSP     00040621062650860           Electric       Gov. Aggregation   FEOH - OE     08021642350001479832        Electric       Gov. Aggregation
AEP - CSP     00040621062772914           Electric       Gov. Aggregation   FEOH - OE     08021651260000810186        Electric       Gov. Aggregation
AEP - CSP     00040621062839700           Electric       Gov. Aggregation   FEOH - OE     08021750065000095020        Electric       Gov. Aggregation
AEP - CSP     00040621062841525           Electric       Gov. Aggregation   FEOH - TE     08021839292380033487        Electric       Gov. Aggregation
AEP - CSP     00040621055854645           Electric       Gov. Aggregation   FEOH - OE     08021932990001493668        Electric       Gov. Aggregation
AEP - CSP     00040621055861570           Electric       Gov. Aggregation   FEOH - OE     08022346380001445234        Electric       Gov. Aggregation
AEP - CSP     00040621055977493           Electric       Gov. Aggregation   FEOH - OE     08022410330000592317        Electric       Gov. Aggregation
AEP - CSP     00040621056213273           Electric       Gov. Aggregation   FEOH - OE     08022412300000592378        Electric       Gov. Aggregation
AEP - CSP     00040621056306780           Electric       Gov. Aggregation   FEOH - OE     08022414380000592358        Electric       Gov. Aggregation
AEP - CSP     00040621056371943           Electric       Gov. Aggregation   FEOH - OE     08022414690000592362        Electric       Gov. Aggregation
AEP - CSP     00040621056503202           Electric       Gov. Aggregation   FEOH - OE     08022414870000592366        Electric       Gov. Aggregation
AEP - CSP     00040621052837612           Electric       Gov. Aggregation   FEOH - OE     08022419620001300279        Electric       Gov. Aggregation
AEP - CSP     00040621052918951           Electric       Gov. Aggregation   FEOH - TE     08005852652210012618        Electric       Gov. Aggregation
AEP - CSP     00040621053009485           Electric       Gov. Aggregation   FEOH - TE     08005854682210013344        Electric       Gov. Aggregation
AEP - CSP     00040621053124923           Electric       Gov. Aggregation   FEOH - TE     08005894562680024548        Electric       Gov. Aggregation
AEP - CSP     00040621053503844           Electric       Gov. Aggregation   FEOH - TE     08005920892380033064        Electric       Gov. Aggregation
AEP - CSP     00040621053621094           Electric       Gov. Aggregation   FEOH - TE     08005922162770019938        Electric       Gov. Aggregation
AEP - CSP     00040621046953863           Electric       Gov. Aggregation   FEOH - TE     08005922923000005439        Electric       Gov. Aggregation
AEP - CSP     00040621046955154           Electric       Gov. Aggregation   FEOH - TE     08005991032040000988        Electric       Gov. Aggregation
AEP - CSP     00040621047177705           Electric       Gov. Aggregation   FEOH - OE     08017437640000177887        Electric       Gov. Aggregation
AEP - CSP     00040621047322420           Electric       Gov. Aggregation   FEOH - OE     08017540540000177886        Electric       Gov. Aggregation
AEP - CSP     00040621047496961           Electric       Gov. Aggregation   FEOH - OE     08017544200000177934        Electric       Gov. Aggregation
AEP - CSP     00040621063130870           Electric       Gov. Aggregation   FEOH - OE     08017617400001486218        Electric       Gov. Aggregation
AEP - CSP     00040621063136445           Electric       Gov. Aggregation   FEOH - OE     08017619100001319189        Electric       Gov. Aggregation
AEP - CSP     00040621063441133           Electric       Gov. Aggregation   FEOH - OE     08017688390000178982        Electric       Gov. Aggregation
AEP - CSP     00040621063483304           Electric       Gov. Aggregation   FEOH - OE     08017819220001491664        Electric       Gov. Aggregation
AEP - CSP     00040621063486163           Electric       Gov. Aggregation   FEOH - TE     08006118702810022267        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621063691412           Electric       Gov. Aggregation   FEOH - TE     08006224642510007436        Electric       Gov. Aggregation
AEP - CSP     00040621057239881           Electric       Gov. Aggregation   FEOH - OE     08006247610000592302        Electric       Gov. Aggregation
AEP - CSP     00040621057387710           Electric       Gov. Aggregation   FEOH - TE     08006251202210012060        Electric       Gov. Aggregation
AEP - CSP     00040621057644202           Electric       Gov. Aggregation   FEOH - TE     08006252302210012229        Electric       Gov. Aggregation
AEP - CSP     00040621057674330           Electric       Gov. Aggregation   FEOH - TE     08006257252380028070        Electric       Gov. Aggregation
AEP - CSP     00040621057857254           Electric       Gov. Aggregation   FEOH - TE     08006258212380028493        Electric       Gov. Aggregation
AEP - CSP     00040621057893482           Electric       Gov. Aggregation   FEOH - OE     08021960440000806136        Electric       Gov. Aggregation
AEP - CSP     00040621056127621           Electric       Gov. Aggregation   FEOH - OE     08021986650000803852        Electric       Gov. Aggregation
AEP - CSP     00040621056224205           Electric       Gov. Aggregation   FEOH - TE     08021996152080026794        Electric       Gov. Aggregation
AEP - CSP     00040621056227314           Electric       Gov. Aggregation   FEOH - OE     08022111410001376008        Electric       Gov. Aggregation
AEP - CSP     00040621056443615           Electric       Gov. Aggregation   FEOH - OE     08022143910001442124        Electric       Gov. Aggregation
AEP - CSP     00040621056454065           Electric       Gov. Aggregation   FEOH - TE     08007515672900003388        Electric       Gov. Aggregation
AEP - CSP     00040621056486383           Electric       Gov. Aggregation   FEOH - TE     08007516792900007232        Electric       Gov. Aggregation
AEP - CSP     00040621056706175           Electric       Gov. Aggregation   FEOH - OE     08022449600000168286        Electric       Gov. Aggregation
AEP - CSP     00040621056762342           Electric       Gov. Aggregation   FEOH - OE     08022452740001516749        Electric       Gov. Aggregation
AEP - CSP     00040621056807443           Electric       Gov. Aggregation   FEOH - OE     08022480410000584152        Electric       Gov. Aggregation
AEP - CSP     00040621056914682           Electric       Gov. Aggregation   FEOH - OE     08022483490000584281        Electric       Gov. Aggregation
AEP - CSP     00040621056988524           Electric       Gov. Aggregation   FEOH - OE     08022483680000584038        Electric       Gov. Aggregation
AEP - CSP     00040621057050680           Electric       Gov. Aggregation   FEOH - OE     08022484120000803293        Electric       Gov. Aggregation
AEP - CSP     00040621053680542           Electric       Gov. Aggregation   FEOH - OE     08022485200000584110        Electric       Gov. Aggregation
AEP - CSP     00040621053722931           Electric       Gov. Aggregation   FEOH - TE     08005783082850021335        Electric       Gov. Aggregation
AEP - CSP     00040621053765553           Electric       Gov. Aggregation   FEOH - TE     08005789182080028164        Electric       Gov. Aggregation
AEP - CSP     00040621053931071           Electric       Gov. Aggregation   FEOH - TE     08005789792810020859        Electric       Gov. Aggregation
AEP - CSP     00040621053954721           Electric       Gov. Aggregation   FEOH - TE     08005827942680022012        Electric       Gov. Aggregation
AEP - CSP     00040621062271022           Electric       Gov. Aggregation   FEOH - TE     08005855952970091863        Electric       Gov. Aggregation
AEP - CSP     00040621062486815           Electric       Gov. Aggregation   FEOH - TE     08005858122170014439        Electric       Gov. Aggregation
AEP - CSP     00040621062903145           Electric       Gov. Aggregation   FEOH - TE     08005859762220094247        Electric       Gov. Aggregation
AEP - CSP     00040621063141455           Electric       Gov. Aggregation   FEOH - TE     08005531082080022760        Electric       Gov. Aggregation
AEP - CSP     00040621063176762           Electric       Gov. Aggregation   FEOH - TE     08005536002390001034        Electric       Gov. Aggregation
AEP - CSP     00040621063212825           Electric       Gov. Aggregation   FEOH - TE     08005537462080027410        Electric       Gov. Aggregation
AEP - CSP     00040621063262660           Electric       Gov. Aggregation   FEOH - TE     08005581492080028220        Electric       Gov. Aggregation
AEP - CSP     00040621047624463           Electric       Gov. Aggregation   FEOH - TE     08005581962080028376        Electric       Gov. Aggregation
AEP - CSP     00040621047636562           Electric       Gov. Aggregation   FEOH - TE     08005582652380031389        Electric       Gov. Aggregation
AEP - CSP     00040621047785934           Electric       Gov. Aggregation   FEOH - TE     08005584503000000725        Electric       Gov. Aggregation
AEP - CSP     00040621047840484           Electric       Gov. Aggregation   FEOH - OE     08017984750001452283        Electric       Gov. Aggregation
AEP - CSP     00040621047862962           Electric       Gov. Aggregation   FEOH - OE     08017987810001472161        Electric       Gov. Aggregation
AEP - CSP     00040621048181023           Electric       Gov. Aggregation   FEOH - OE     08018182270001549458        Electric       Gov. Aggregation
AEP - CSP     00040621057905220           Electric       Gov. Aggregation   FEOH - OE     08018326890000187146        Electric       Gov. Aggregation
AEP - CSP     00040621058020670           Electric       Gov. Aggregation   FEOH - OE     08018327280000187152        Electric       Gov. Aggregation
AEP - CSP     00040621058237275           Electric       Gov. Aggregation   FEOH - OE     08018327770000186847        Electric       Gov. Aggregation
AEP - CSP     00040621058256355           Electric       Gov. Aggregation   FEOH - OE     08018596790000186474        Electric       Gov. Aggregation
AEP - CSP     00040621058276612           Electric       Gov. Aggregation   FEOH - TE     08006320202680023579        Electric       Gov. Aggregation
AEP - CSP     00040621058315823           Electric       Gov. Aggregation   FEOH - TE     08006324392390000596        Electric       Gov. Aggregation
AEP - CSP     00040621058686540           Electric       Gov. Aggregation   FEOH - TE     08006324452390000609        Electric       Gov. Aggregation
AEP - CSP     00040621056620310           Electric       Gov. Aggregation   FEOH - TE     08006324532390000666        Electric       Gov. Aggregation
AEP - CSP     00040621056677802           Electric       Gov. Aggregation   FEOH - TE     08006324672390000769        Electric       Gov. Aggregation
AEP - CSP     00040621056747382           Electric       Gov. Aggregation   FEOH - TE     08006326022390000990        Electric       Gov. Aggregation
AEP - CSP     00040621056747945           Electric       Gov. Aggregation   FEOH - OE     08022329370000583984        Electric       Gov. Aggregation
AEP - CSP     00040621056764481           Electric       Gov. Aggregation   FEOH - OE     08022340510000590588        Electric       Gov. Aggregation
AEP - CSP     00040621056857720           Electric       Gov. Aggregation   FEOH - OE     08022341660000590606        Electric       Gov. Aggregation
AEP - CSP     00040621063704110           Electric       Gov. Aggregation   FEOH - OE     08022342130000590583        Electric       Gov. Aggregation
AEP - CSP     00040621063789564           Electric       Gov. Aggregation   FEOH - OE     08022413020001321362        Electric       Gov. Aggregation
AEP - CSP     00040621064091631           Electric       Gov. Aggregation   FEOH - OE     08022418520000584127        Electric       Gov. Aggregation
AEP - CSP     00040621064183445           Electric       Gov. Aggregation   FEOH - TE     08005991462040001215        Electric       Gov. Aggregation
AEP - CSP     00040621064275484           Electric       Gov. Aggregation   FEOH - TE     08005993002850019864        Electric       Gov. Aggregation
AEP - CSP     00040621064462893           Electric       Gov. Aggregation   FEOH - TE     08005993932420033018        Electric       Gov. Aggregation
AEP - CSP     00040621064537885           Electric       Gov. Aggregation   FEOH - TE     08005999392080027744        Electric       Gov. Aggregation
AEP - CSP     00040621054761420           Electric       Gov. Aggregation   FEOH - TE     08006066472210012642        Electric       Gov. Aggregation
AEP - CSP     00040621054849603           Electric       Gov. Aggregation   FEOH - TE     08006069292210013428        Electric       Gov. Aggregation
AEP - CSP     00040621055078034           Electric       Gov. Aggregation   FEOH - OE     08022487260000583970        Electric       Gov. Aggregation
AEP - CSP     00040621055251210           Electric       Gov. Aggregation   FEOH - OE     08022489910000584245        Electric       Gov. Aggregation
AEP - CSP     00040621055295655           Electric       Gov. Aggregation   FEOH - OE     08022489995001316306        Electric       Gov. Aggregation
AEP - CSP     00040621055315722           Electric       Gov. Aggregation   FEOH - TE     08022550542210015086        Electric       Gov. Aggregation
AEP - CSP     00040621055323181           Electric       Gov. Aggregation   FEOH - OE     08022551030000584263        Electric       Gov. Aggregation
AEP - CSP     00040621048385301           Electric       Gov. Aggregation   FEOH - OE     08022553800000584020        Electric       Gov. Aggregation
AEP - CSP     00040621048475382           Electric       Gov. Aggregation   FEOH - OE     08022808450001522079        Electric       Gov. Aggregation
AEP - CSP     00040621048657874           Electric       Gov. Aggregation   FEOH - OE     08005889520001554806        Electric       Gov. Aggregation
AEP - CSP     00040621048689990           Electric       Gov. Aggregation   FEOH - TE     08005890602680022985        Electric       Gov. Aggregation
AEP - CSP     00040621048769541           Electric       Gov. Aggregation   FEOH - TE     08005892012380032822        Electric       Gov. Aggregation
AEP - CSP     00040621048792364           Electric       Gov. Aggregation   FEOH - TE     08005895142680025058        Electric       Gov. Aggregation
AEP - CSP     00040621048813282           Electric       Gov. Aggregation   FEOH - TE     08005920372030031541        Electric       Gov. Aggregation
AEP - CSP     00040621048839180           Electric       Gov. Aggregation   FEOH - TE     08005922092380033331        Electric       Gov. Aggregation
AEP - CSP     00040621048957915           Electric       Gov. Aggregation   FEOH - TE     08005922432510092864        Electric       Gov. Aggregation
AEP - CSP     00040621049046075           Electric       Gov. Aggregation   FEOH - TE     08007516992900007302        Electric       Gov. Aggregation
AEP - CSP     00040621049135460           Electric       Gov. Aggregation   FEOH - TE     08007517672900007585        Electric       Gov. Aggregation
AEP - CSP     00040621049138904           Electric       Gov. Aggregation   FEOH - TE     08007616152850020347        Electric       Gov. Aggregation
AEP - CSP     00040621049162593           Electric       Gov. Aggregation   FEOH - TE     08007616902850018398        Electric       Gov. Aggregation
AEP - CSP     00040621049214850           Electric       Gov. Aggregation   FEOH - TE     08007639302810018383        Electric       Gov. Aggregation
AEP - CSP     00040621055337394           Electric       Gov. Aggregation   FEOH - TE     08007704992810021936        Electric       Gov. Aggregation
AEP - CSP     00040621055542052           Electric       Gov. Aggregation   FEOH - OE     08007751920000804503        Electric       Gov. Aggregation
AEP - CSP     00040621055698180           Electric       Gov. Aggregation   FEOH - TE     08005587852210013310        Electric       Gov. Aggregation
AEP - CSP     00040621055845815           Electric       Gov. Aggregation   FEOH - TE     08005601942680022755        Electric       Gov. Aggregation
AEP - CSP     00040621055919862           Electric       Gov. Aggregation   FEOH - TE     08005614202930030931        Electric       Gov. Aggregation
AEP - CSP     00040621055993160           Electric       Gov. Aggregation   FEOH - TE     08005653172080028075        Electric       Gov. Aggregation
AEP - CSP     00040621055995720           Electric       Gov. Aggregation   FEOH - TE     08005654112210015015        Electric       Gov. Aggregation
AEP - CSP     00040621056026250           Electric       Gov. Aggregation   FEOH - TE     08005655152310092486        Electric       Gov. Aggregation
AEP - CSP     00040621056087643           Electric       Gov. Aggregation   FEOH - TE     08005657222500092026        Electric       Gov. Aggregation
AEP - CSP     00040621056088154           Electric       Gov. Aggregation   FEOH - OE     08018597910000186489        Electric       Gov. Aggregation
AEP - CSP     00040621056123863           Electric       Gov. Aggregation   FEOH - OE     08018662350000186539        Electric       Gov. Aggregation
AEP - CSP     00040621056236931           Electric       Gov. Aggregation   FEOH - OE     08018801250001463347        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621056380235           Electric       Gov. Aggregation   FEOH - TE     08006327062390001320        Electric       Gov. Aggregation
AEP - CSP     00040621057500473           Electric       Gov. Aggregation   FEOH - TE     08006329992430091086        Electric       Gov. Aggregation
AEP - CSP     00040621057722722           Electric       Gov. Aggregation   FEOH - TE     08006380492490090356        Electric       Gov. Aggregation
AEP - CSP     00040621057795480           Electric       Gov. Aggregation   FEOH - TE     08006382392600009290        Electric       Gov. Aggregation
AEP - CSP     00040621057923350           Electric       Gov. Aggregation   FEOH - TE     08006384922600009853        Electric       Gov. Aggregation
AEP - CSP     00040621057959115           Electric       Gov. Aggregation   FEOH - TE     08006385382640093809        Electric       Gov. Aggregation
AEP - CSP     00040621058056254           Electric       Gov. Aggregation   FEOH - TE     08006385502690091173        Electric       Gov. Aggregation
AEP - CSP     00040621056557922           Electric       Gov. Aggregation   FEOH - OE     08022419360000584139        Electric       Gov. Aggregation
AEP - CSP     00040621056615525           Electric       Gov. Aggregation   FEOH - OE     08022419690000584142        Electric       Gov. Aggregation
AEP - CSP     00040621056727012           Electric       Gov. Aggregation   FEOH - OE     08022419890000584145        Electric       Gov. Aggregation
AEP - CSP     00040621056736084           Electric       Gov. Aggregation   FEOH - OE     08022480350000584151        Electric       Gov. Aggregation
AEP - CSP     00040621056829300           Electric       Gov. Aggregation   FEOH - OE     08022484490000584100        Electric       Gov. Aggregation
AEP - CSP     00040621056916123           Electric       Gov. Aggregation   FEOH - OE     08022485060000584102        Electric       Gov. Aggregation
AEP - CSP     00040621058149673           Electric       Gov. Aggregation   FEOH - OE     08022487410000583973        Electric       Gov. Aggregation
AEP - CSP     00040621058254074           Electric       Gov. Aggregation   FEOH - TE     08006385692720091590        Electric       Gov. Aggregation
AEP - CSP     00040621058442065           Electric       Gov. Aggregation   FEOH - TE     08006452302210011954        Electric       Gov. Aggregation
AEP - CSP     00040621058455142           Electric       Gov. Aggregation   FEOH - OE     08006455020000584240        Electric       Gov. Aggregation
AEP - CSP     00040621058620170           Electric       Gov. Aggregation   FEOH - TE     08006456122380027397        Electric       Gov. Aggregation
AEP - CSP     00040621058638775           Electric       Gov. Aggregation   FEOH - TE     08006457852380032151        Electric       Gov. Aggregation
AEP - CSP     00040621058729203           Electric       Gov. Aggregation   FEOH - TE     08006458672380032517        Electric       Gov. Aggregation
AEP - CSP     00040621064552130           Electric       Gov. Aggregation   FEOH - TE     08006110352210013875        Electric       Gov. Aggregation
AEP - CSP     00040621064699162           Electric       Gov. Aggregation   FEOH - TE     08006111702210014435        Electric       Gov. Aggregation
AEP - CSP     00040621064742374           Electric       Gov. Aggregation   FEOH - TE     08006111882210014492        Electric       Gov. Aggregation
AEP - CSP     00040621064878472           Electric       Gov. Aggregation   FEOH - TE     08006114302300092835        Electric       Gov. Aggregation
AEP - CSP     00040621065033434           Electric       Gov. Aggregation   FEOH - TE     08006115312600009125        Electric       Gov. Aggregation
AEP - CSP     00040621063321024           Electric       Gov. Aggregation   FEOH - TE     08006116992510091542        Electric       Gov. Aggregation
AEP - CSP     00040621063343500           Electric       Gov. Aggregation   FEOH - TE     08005922572520091494        Electric       Gov. Aggregation
AEP - CSP     00040621063343793           Electric       Gov. Aggregation   FEOH - TE     08005923902700094324        Electric       Gov. Aggregation
AEP - CSP     00040621063410063           Electric       Gov. Aggregation   FEOH - TE     08005927032030032402        Electric       Gov. Aggregation
AEP - CSP     00040621063433414           Electric       Gov. Aggregation   FEOH - TE     08005928242030033212        Electric       Gov. Aggregation
AEP - CSP     00040621054128103           Electric       Gov. Aggregation   FEOH - TE     08005990042040000777        Electric       Gov. Aggregation
AEP - CSP     00040621054238104           Electric       Gov. Aggregation   FEOH - TE     08005991752040001318        Electric       Gov. Aggregation
AEP - CSP     00040621054433603           Electric       Gov. Aggregation   FEOH - TE     08005657302510091453        Electric       Gov. Aggregation
AEP - CSP     00040621054573600           Electric       Gov. Aggregation   FEOH - TE     08005657752580091220        Electric       Gov. Aggregation
AEP - CSP     00040621054584124           Electric       Gov. Aggregation   FEOH - TE     08005659412750094219        Electric       Gov. Aggregation
AEP - CSP     00040621054662473           Electric       Gov. Aggregation   FEOH - TE     08005673452300029832        Electric       Gov. Aggregation
AEP - CSP     00040621056892674           Electric       Gov. Aggregation   FEOH - TE     08005674562300030418        Electric       Gov. Aggregation
AEP - CSP     00040621056897821           Electric       Gov. Aggregation   FEOH - TE     08005679952600003932        Electric       Gov. Aggregation
AEP - CSP     00040621056937744           Electric       Gov. Aggregation   FEOH - OE     08022877030000791153        Electric       Gov. Aggregation
AEP - CSP     00040621056960294           Electric       Gov. Aggregation   FEOH - OE     08022909230000789009        Electric       Gov. Aggregation
AEP - CSP     00040621057055282           Electric       Gov. Aggregation   FEOH - OE     08022954640000789256        Electric       Gov. Aggregation
AEP - CSP     00040621057357435           Electric       Gov. Aggregation   FEOH - OE     08022954990001345422        Electric       Gov. Aggregation
AEP - CSP     00040621057598212           Electric       Gov. Aggregation   FEOH - OE     08022956870000778470        Electric       Gov. Aggregation
AEP - CSP     00040621057027263           Electric       Gov. Aggregation   FEOH - OE     08023005280001549053        Electric       Gov. Aggregation
AEP - CSP     00040621057330043           Electric       Gov. Aggregation   FEOH - OE     08023006120000786351        Electric       Gov. Aggregation
AEP - CSP     00040621057553843           Electric       Gov. Aggregation   FEOH - OE     08019514090001129526        Electric       Gov. Aggregation
AEP - CSP     00040621057692983           Electric       Gov. Aggregation   FEOH - OE     08022488140000584250        Electric       Gov. Aggregation
AEP - CSP     00040621057841252           Electric       Gov. Aggregation   FEOH - OE     08022550080000584029        Electric       Gov. Aggregation
AEP - CSP     00040621058029804           Electric       Gov. Aggregation   FEOH - OE     08022550150000584028        Electric       Gov. Aggregation
AEP - CSP     00040621058066131           Electric       Gov. Aggregation   FEOH - OE     08022555370001345405        Electric       Gov. Aggregation
AEP - CSP     00040621049239592           Electric       Gov. Aggregation   FEOH - OE     08022622725000341295        Electric       Gov. Aggregation
AEP - CSP     00040621049533742           Electric       Gov. Aggregation   FEOH - OE     08022745990000789023        Electric       Gov. Aggregation
AEP - CSP     00040621049705744           Electric       Gov. Aggregation   FEOH - TE     08022751282600008245        Electric       Gov. Aggregation
AEP - CSP     00040621049775761           Electric       Gov. Aggregation   FEOH - OE     08007751920001384437        Electric       Gov. Aggregation
AEP - CSP     00040621049777580           Electric       Gov. Aggregation   FEOH - TE     08007777772850019756        Electric       Gov. Aggregation
AEP - CSP     00040621049784701           Electric       Gov. Aggregation   FEOH - OE     08007806580001556803        Electric       Gov. Aggregation
AEP - CSP     00040621058998760           Electric       Gov. Aggregation   FEOH - TE     08007815832850017408        Electric       Gov. Aggregation
AEP - CSP     00040621059078885           Electric       Gov. Aggregation   FEOH - TE     08007819402850021138        Electric       Gov. Aggregation
AEP - CSP     00040621059082661           Electric       Gov. Aggregation   FEOH - TE     08007831142850020793        Electric       Gov. Aggregation
AEP - CSP     00040621059129820           Electric       Gov. Aggregation   FEOH - TE     08007837202850023096        Electric       Gov. Aggregation
AEP - CSP     00040621059296535           Electric       Gov. Aggregation   FEOH - TE     08005728252040001407        Electric       Gov. Aggregation
AEP - CSP     00040621059438013           Electric       Gov. Aggregation   FEOH - TE     08005729062040001657        Electric       Gov. Aggregation
AEP - CSP     00040621058078060           Electric       Gov. Aggregation   FEOH - TE     08005729292040001727        Electric       Gov. Aggregation
AEP - CSP     00040621058217285           Electric       Gov. Aggregation   FEOH - TE     08005729382040001731        Electric       Gov. Aggregation
AEP - CSP     00040621058224825           Electric       Gov. Aggregation   FEOH - TE     08005750262600004052        Electric       Gov. Aggregation
AEP - CSP     00040621058266275           Electric       Gov. Aggregation   FEOH - TE     08005750472900010979        Electric       Gov. Aggregation
AEP - CSP     00040621058338993           Electric       Gov. Aggregation   FEOH - OE     08023008130000784498        Electric       Gov. Aggregation
AEP - CSP     00040621058541780           Electric       Gov. Aggregation   FEOH - OE     08023021580000791335        Electric       Gov. Aggregation
AEP - CSP     00040621058679995           Electric       Gov. Aggregation   FEOH - OE     08023025530001580866        Electric       Gov. Aggregation
AEP - CSP     00040621063442262           Electric       Gov. Aggregation   FEOH - OE     08023114670000603944        Electric       Gov. Aggregation
AEP - CSP     00040621063611514           Electric       Gov. Aggregation   FEOH - OE     08023132860000765296        Electric       Gov. Aggregation
AEP - CSP     00040621063668653           Electric       Gov. Aggregation   FEOH - OE     08023152470000780050        Electric       Gov. Aggregation
AEP - CSP     00040621063679353           Electric       Gov. Aggregation   FEOH - OE     08023152790000780055        Electric       Gov. Aggregation
AEP - CSP     00040621063759641           Electric       Gov. Aggregation   FEOH - TE     08005992952040001712        Electric       Gov. Aggregation
AEP - CSP     00040621063765780           Electric       Gov. Aggregation   FEOH - TE     08006060482080027392        Electric       Gov. Aggregation
AEP - CSP     00040621063827752           Electric       Gov. Aggregation   FEOH - TE     08006061062080027585        Electric       Gov. Aggregation
AEP - CSP     00040621049810203           Electric       Gov. Aggregation   FEOH - TE     08006068402210013128        Electric       Gov. Aggregation
AEP - CSP     00040621049848803           Electric       Gov. Aggregation   FEOH - TE     08006068972210013325        Electric       Gov. Aggregation
AEP - CSP     00040621049850180           Electric       Gov. Aggregation   FEOH - TE     08006113852250092165        Electric       Gov. Aggregation
AEP - CSP     00040621049915622           Electric       Gov. Aggregation   FEOH - TE     08006115932380033312        Electric       Gov. Aggregation
AEP - CSP     00040621049940820           Electric       Gov. Aggregation   FEOH - TE     08021023512210013062        Electric       Gov. Aggregation
AEP - CSP     00040621049969301           Electric       Gov. Aggregation   FEOH - TE     08021029012850018030        Electric       Gov. Aggregation
AEP - CSP     00040621058848495           Electric       Gov. Aggregation   FEOH - OE     08021032350000583934        Electric       Gov. Aggregation
AEP - CSP     00040621059060433           Electric       Gov. Aggregation   FEOH - TE     08021176842600009463        Electric       Gov. Aggregation
AEP - CSP     00040621059098654           Electric       Gov. Aggregation   FEOH - OE     08021186320000803680        Electric       Gov. Aggregation
AEP - CSP     00040621059167941           Electric       Gov. Aggregation   FEOH - TE     08006183372080027227        Electric       Gov. Aggregation
AEP - CSP     00040621059180024           Electric       Gov. Aggregation   FEOH - TE     08006186762170013070        Electric       Gov. Aggregation
AEP - CSP     00040621059185192           Electric       Gov. Aggregation   FEOH - TE     08006255522210014262        Electric       Gov. Aggregation
AEP - CSP     00040621059425585           Electric       Gov. Aggregation   FEOH - TE     08006259402380031478        Electric       Gov. Aggregation
AEP - CSP     00040621050088681           Electric       Gov. Aggregation   FEOH - TE     08006320572380032413        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621050285405           Electric       Gov. Aggregation   FEOH - TE     08006321202380032540        Electric       Gov. Aggregation
AEP - CSP     00040621050418731           Electric       Gov. Aggregation   FEOH - TE     08006321645001260590        Electric       Gov. Aggregation
AEP - CSP     00040621050608585           Electric       Gov. Aggregation   FEOH - OE     08022806370000792390        Electric       Gov. Aggregation
AEP - CSP     00040621050720333           Electric       Gov. Aggregation   FEOH - OE     08022823450000786829        Electric       Gov. Aggregation
AEP - CSP     00040621050759773           Electric       Gov. Aggregation   FEOH - OE     08022878510000770202        Electric       Gov. Aggregation
AEP - CSP     00040621050863822           Electric       Gov. Aggregation   FEOH - OE     08022900380000789086        Electric       Gov. Aggregation
AEP - CSP     00040621051017035           Electric       Gov. Aggregation   FEOH - OE     08022934420001377732        Electric       Gov. Aggregation
AEP - CSP     00040621051064732           Electric       Gov. Aggregation   FEOH - OE     08022939770000790943        Electric       Gov. Aggregation
AEP - CSP     00040621051085615           Electric       Gov. Aggregation   FEOH - OE     08023021590000806170        Electric       Gov. Aggregation
AEP - CSP     00040621051175341           Electric       Gov. Aggregation   FEOH - TE     08006521792390000971        Electric       Gov. Aggregation
AEP - CSP     00040621051198764           Electric       Gov. Aggregation   FEOH - OE     08006560760000844700        Electric       Gov. Aggregation
AEP - CSP     00040621051267013           Electric       Gov. Aggregation   FEOH - TE     08006596162210012322        Electric       Gov. Aggregation
AEP - CSP     00040621051306264           Electric       Gov. Aggregation   FEOH - TE     08006599822380028008        Electric       Gov. Aggregation
AEP - CSP     00040621051684911           Electric       Gov. Aggregation   FEOH - TE     08005755472600008672        Electric       Gov. Aggregation
AEP - CSP     00040621051746843           Electric       Gov. Aggregation   FEOH - TE     08005757742080026652        Electric       Gov. Aggregation
AEP - CSP     00040621051793430           Electric       Gov. Aggregation   FEOH - TE     08005782792080022794        Electric       Gov. Aggregation
AEP - CSP     00040621052558211           Electric       Gov. Aggregation   FEOH - TE     08005784612080026671        Electric       Gov. Aggregation
AEP - CSP     00040621052571453           Electric       Gov. Aggregation   FEOH - TE     08005787462080027617        Electric       Gov. Aggregation
AEP - CSP     00040621057820955           Electric       Gov. Aggregation   FEOH - TE     08005787672080027674        Electric       Gov. Aggregation
AEP - CSP     00040621058140845           Electric       Gov. Aggregation   FEOH - TE     08005789262080028201        Electric       Gov. Aggregation
AEP - CSP     00040621058231930           Electric       Gov. Aggregation   FEOH - OE     08023152990000776755        Electric       Gov. Aggregation
AEP - CSP     00040621058277015           Electric       Gov. Aggregation   FEOH - OE     08023155710000780107        Electric       Gov. Aggregation
AEP - CSP     00040621058283265           Electric       Gov. Aggregation   FEOH - OE     08023157130000780132        Electric       Gov. Aggregation
AEP - CSP     00040621058322612           Electric       Gov. Aggregation   FEOH - OE     08023158180000780144        Electric       Gov. Aggregation
AEP - CSP     00040621058332751           Electric       Gov. Aggregation   FEOH - OE     08023161180001481808        Electric       Gov. Aggregation
AEP - CSP     00040621058404853           Electric       Gov. Aggregation   FEOH - OE     08023162300000792376        Electric       Gov. Aggregation
AEP - CSP     00040621058577253           Electric       Gov. Aggregation   FEOH - OE     08023163660000792369        Electric       Gov. Aggregation
AEP - CSP     00040621058861295           Electric       Gov. Aggregation   FEOH - TE     08007861912850022515        Electric       Gov. Aggregation
AEP - CSP     00040621058866575           Electric       Gov. Aggregation   FEOH - TE     08007864712850025688        Electric       Gov. Aggregation
AEP - CSP     00040621058989390           Electric       Gov. Aggregation   FEOH - TE     08007905622850024986        Electric       Gov. Aggregation
AEP - CSP     00040621059319623           Electric       Gov. Aggregation   FEOH - TE     08007913462770017098        Electric       Gov. Aggregation
AEP - CSP     00040621058764510           Electric       Gov. Aggregation   FEOH - TE     08007959542810020474        Electric       Gov. Aggregation
AEP - CSP     00040621058805430           Electric       Gov. Aggregation   FEOH - TE     08021221322770019534        Electric       Gov. Aggregation
AEP - CSP     00040621059283822           Electric       Gov. Aggregation   FEOH - OE     08021223540000584153        Electric       Gov. Aggregation
AEP - CSP     00040621059329240           Electric       Gov. Aggregation   FEOH - OE     08021232920000587055        Electric       Gov. Aggregation
AEP - CSP     00040621059485010           Electric       Gov. Aggregation   FEOH - OE     08021235440000587083        Electric       Gov. Aggregation
AEP - CSP     00040621059577371           Electric       Gov. Aggregation   FEOH - OE     08021239970001493247        Electric       Gov. Aggregation
AEP - CSP     00040621059783274           Electric       Gov. Aggregation   FEOH - OE     08021240370000587668        Electric       Gov. Aggregation
AEP - CSP     00040621063881634           Electric       Gov. Aggregation   FEOH - TE     08021304532030033495        Electric       Gov. Aggregation
AEP - CSP     00040621063953945           Electric       Gov. Aggregation   FEOH - OE     08023024990001458126        Electric       Gov. Aggregation
AEP - CSP     00040621064001253           Electric       Gov. Aggregation   FEOH - TE     08023048392060091918        Electric       Gov. Aggregation
AEP - CSP     00040621064057821           Electric       Gov. Aggregation   FEOH - OE     08023056540000765206        Electric       Gov. Aggregation
AEP - CSP     00040621064280480           Electric       Gov. Aggregation   FEOH - OE     08023056630000765207        Electric       Gov. Aggregation
AEP - CSP     00040621064414761           Electric       Gov. Aggregation   FEOH - OE     08023057590000765222        Electric       Gov. Aggregation
AEP - CSP     00040621064543850           Electric       Gov. Aggregation   FEOH - OE     08023059400001396781        Electric       Gov. Aggregation
AEP - CSP     00040621059453244           Electric       Gov. Aggregation   FEOH - OE     08023096960001486634        Electric       Gov. Aggregation
AEP - CSP     00040621059501615           Electric       Gov. Aggregation   FEOH - OE     08005823920000186810        Electric       Gov. Aggregation
AEP - CSP     00040621059557082           Electric       Gov. Aggregation   FEOH - TE     08005851682210009244        Electric       Gov. Aggregation
AEP - CSP     00040621059573164           Electric       Gov. Aggregation   FEOH - TE     08005853032210012707        Electric       Gov. Aggregation
AEP - CSP     00040621059650623           Electric       Gov. Aggregation   FEOH - TE     08005853032210012712        Electric       Gov. Aggregation
AEP - CSP     00040621059705784           Electric       Gov. Aggregation   FEOH - TE     08005853642210012887        Electric       Gov. Aggregation
AEP - CSP     00040621059378030           Electric       Gov. Aggregation   FEOH - TE     08005857882210014647        Electric       Gov. Aggregation
AEP - CSP     00040621059432933           Electric       Gov. Aggregation   FEOH - OE     08005892310000177889        Electric       Gov. Aggregation
AEP - CSP     00040621059495222           Electric       Gov. Aggregation   FEOH - TE     08006651872380032132        Electric       Gov. Aggregation
AEP - CSP     00040621059587184           Electric       Gov. Aggregation   FEOH - TE     08006655072380033468        Electric       Gov. Aggregation
AEP - CSP     00040621059614410           Electric       Gov. Aggregation   FEOH - TE     08006321925001367643        Electric       Gov. Aggregation
AEP - CSP     00040621059868661           Electric       Gov. Aggregation   FEOH - TE     08006324062390000539        Electric       Gov. Aggregation
AEP - CSP     00040621060053981           Electric       Gov. Aggregation   FEOH - OE     08006350970000778458        Electric       Gov. Aggregation
AEP - CSP     00040621059838081           Electric       Gov. Aggregation   FEOH - TE     08006383442930031986        Electric       Gov. Aggregation
AEP - CSP     00040621059982511           Electric       Gov. Aggregation   FEOH - TE     08006389302850018153        Electric       Gov. Aggregation
AEP - CSP     00040621059987352           Electric       Gov. Aggregation   FEOH - TE     08006453342210012271        Electric       Gov. Aggregation
AEP - CSP     00040621059992682           Electric       Gov. Aggregation   FEOH - TE     08006454462210014154        Electric       Gov. Aggregation
AEP - CSP     00040621060012482           Electric       Gov. Aggregation   FEOH - OE     08023165430001476773        Electric       Gov. Aggregation
AEP - CSP     00040621060099500           Electric       Gov. Aggregation   FEOH - OE     08023165470000841282        Electric       Gov. Aggregation
AEP - CSP     00040621060700364           Electric       Gov. Aggregation   FEOH - OE     08023165550000841242        Electric       Gov. Aggregation
AEP - CSP     00040621052642293           Electric       Gov. Aggregation   FEOH - OE     08023193040000778554        Electric       Gov. Aggregation
AEP - CSP     00040621052784864           Electric       Gov. Aggregation   FEOH - OE     08023219080000786402        Electric       Gov. Aggregation
AEP - CSP     00040621053185294           Electric       Gov. Aggregation   FEOH - OE     08023226000000780253        Electric       Gov. Aggregation
AEP - CSP     00040621053482481           Electric       Gov. Aggregation   FEOH - OE     08023226110000780254        Electric       Gov. Aggregation
AEP - CSP     00040621053500910           Electric       Gov. Aggregation   FEOH - TE     08006116002380091458        Electric       Gov. Aggregation
AEP - CSP     00040621053635583           Electric       Gov. Aggregation   FEOH - TE     08006182523000003949        Electric       Gov. Aggregation
AEP - CSP     00040621064562490           Electric       Gov. Aggregation   FEOH - TE     08006183513000007095        Electric       Gov. Aggregation
AEP - CSP     00040621064599141           Electric       Gov. Aggregation   FEOH - TE     08006259202380031355        Electric       Gov. Aggregation
AEP - CSP     00040621064608743           Electric       Gov. Aggregation   FEOH - TE     08006259412380032146        Electric       Gov. Aggregation
AEP - CSP     00040621064623335           Electric       Gov. Aggregation   FEOH - TE     08006259722380031872        Electric       Gov. Aggregation
AEP - CSP     00040621064761573           Electric       Gov. Aggregation   FEOH - OE     08006307220001410113        Electric       Gov. Aggregation
AEP - CSP     00040621059764525           Electric       Gov. Aggregation   FEOH - TE     08008020322810021091        Electric       Gov. Aggregation
AEP - CSP     00040621059900073           Electric       Gov. Aggregation   FEOH - OE     08008041270001500977        Electric       Gov. Aggregation
AEP - CSP     00040621060091202           Electric       Gov. Aggregation   FEOH - TE     08008156652300094328        Electric       Gov. Aggregation
AEP - CSP     00040621060216831           Electric       Gov. Aggregation   FEOH - TE     08008207872770021639        Electric       Gov. Aggregation
AEP - CSP     00040621060283385           Electric       Gov. Aggregation   FEOH - TE     08008229642810020558        Electric       Gov. Aggregation
AEP - CSP     00040621054839581           Electric       Gov. Aggregation   FEOH - OE     08023131650000765278        Electric       Gov. Aggregation
AEP - CSP     00040621054942202           Electric       Gov. Aggregation   FEOH - OE     08023131780000765280        Electric       Gov. Aggregation
AEP - CSP     00040621055173902           Electric       Gov. Aggregation   FEOH - OE     08023136920001494755        Electric       Gov. Aggregation
AEP - CSP     00040621055178582           Electric       Gov. Aggregation   FEOH - OE     08023148180000791192        Electric       Gov. Aggregation
AEP - CSP     00040621055233725           Electric       Gov. Aggregation   FEOH - OE     08023148810000780256        Electric       Gov. Aggregation
AEP - CSP     00040621055320863           Electric       Gov. Aggregation   FEOH - OE     08023152990000780058        Electric       Gov. Aggregation
AEP - CSP     00040621065168701           Electric       Gov. Aggregation   FEOH - OE     08023169950000791392        Electric       Gov. Aggregation
AEP - CSP     00040621065444365           Electric       Gov. Aggregation   FEOH - OE     08021307270000603972        Electric       Gov. Aggregation
AEP - CSP     00040621065545570           Electric       Gov. Aggregation   FEOH - OE     08021308240000603627        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621065546300           Electric       Gov. Aggregation   FEOH - OE     08021351360000590585        Electric       Gov. Aggregation
AEP - CSP     00040621065672705           Electric       Gov. Aggregation   FEOH - OE     08021373980000603792        Electric       Gov. Aggregation
AEP - CSP     00040621065730184           Electric       Gov. Aggregation   FEOH - OE     08021379430000603773        Electric       Gov. Aggregation
AEP - CSP     00040621065838443           Electric       Gov. Aggregation   FEOH - OE     08021443960000587622        Electric       Gov. Aggregation
AEP - CSP     00040621059532045           Electric       Gov. Aggregation   FEOH - TE     08005894112680023992        Electric       Gov. Aggregation
AEP - CSP     00040621059648844           Electric       Gov. Aggregation   FEOH - TE     08005922162410093724        Electric       Gov. Aggregation
AEP - CSP     00040621059723074           Electric       Gov. Aggregation   FEOH - TE     08005924742210014990        Electric       Gov. Aggregation
AEP - CSP     00040621059806290           Electric       Gov. Aggregation   FEOH - TE     08005990042040000762        Electric       Gov. Aggregation
AEP - CSP     00040621059833645           Electric       Gov. Aggregation   FEOH - TE     08005994632040003722        Electric       Gov. Aggregation
AEP - CSP     00040621059916605           Electric       Gov. Aggregation   FEOH - TE     08005999972080027265        Electric       Gov. Aggregation
AEP - CSP     00040621059923341           Electric       Gov. Aggregation   FEOH - TE     08006063862080028535        Electric       Gov. Aggregation
AEP - CSP     00040621060761763           Electric       Gov. Aggregation   FEOH - OE     08006771470001433556        Electric       Gov. Aggregation
AEP - CSP     00040621060762690           Electric       Gov. Aggregation   FEOH - OE     08006772550000778381        Electric       Gov. Aggregation
AEP - CSP     00040621060807311           Electric       Gov. Aggregation   FEOH - OE     08006773080000803817        Electric       Gov. Aggregation
AEP - CSP     00040621060862123           Electric       Gov. Aggregation   FEOH - OE     08006773080000803827        Electric       Gov. Aggregation
AEP - CSP     00040621060974095           Electric       Gov. Aggregation   FEOH - OE     08006773080001439436        Electric       Gov. Aggregation
AEP - CSP     00040621061265635           Electric       Gov. Aggregation   FEOH - TE     08006790702080027547        Electric       Gov. Aggregation
AEP - CSP     00040621061306583           Electric       Gov. Aggregation   FEOH - OE     08006809100001484599        Electric       Gov. Aggregation
AEP - CSP     00040621060098850           Electric       Gov. Aggregation   FEOH - OE     08023235440000770985        Electric       Gov. Aggregation
AEP - CSP     00040621060143980           Electric       Gov. Aggregation   FEOH - OE     08023236560000771005        Electric       Gov. Aggregation
AEP - CSP     00040621060226100           Electric       Gov. Aggregation   FEOH - OE     08023236770000771009        Electric       Gov. Aggregation
AEP - CSP     00040621060276485           Electric       Gov. Aggregation   FEOH - OE     08023239450000791551        Electric       Gov. Aggregation
AEP - CSP     00040621060408705           Electric       Gov. Aggregation   FEOH - OE     08023241000001514367        Electric       Gov. Aggregation
AEP - CSP     00040621060415572           Electric       Gov. Aggregation   FEOH - OE     08023241130001531301        Electric       Gov. Aggregation
AEP - CSP     00040621060473854           Electric       Gov. Aggregation   FEOH - OE     08023241800000809768        Electric       Gov. Aggregation
AEP - CSP     00040621064789503           Electric       Gov. Aggregation   FEOH - TE     08006454702810020952        Electric       Gov. Aggregation
AEP - CSP     00040621064789564           Electric       Gov. Aggregation   FEOH - TE     08006459882380032997        Electric       Gov. Aggregation
AEP - CSP     00040621064888754           Electric       Gov. Aggregation   FEOH - OE     08006507400001142816        Electric       Gov. Aggregation
AEP - CSP     00040621064895800           Electric       Gov. Aggregation   FEOH - TE     08006522612850022445        Electric       Gov. Aggregation
AEP - CSP     00040621064980785           Electric       Gov. Aggregation   FEOH - TE     08006524562430001487        Electric       Gov. Aggregation
AEP - CSP     00040621065113122           Electric       Gov. Aggregation   FEOH - OE     08006316160000849143        Electric       Gov. Aggregation
AEP - CSP     00040621065252741           Electric       Gov. Aggregation   FEOH - TE     08006321432420033145        Electric       Gov. Aggregation
AEP - CSP     00040621053658132           Electric       Gov. Aggregation   FEOH - TE     08006323512380033449        Electric       Gov. Aggregation
AEP - CSP     00040621053825944           Electric       Gov. Aggregation   FEOH - TE     08006326922390001283        Electric       Gov. Aggregation
AEP - CSP     00040621053929840           Electric       Gov. Aggregation   FEOH - TE     08006327182600007242        Electric       Gov. Aggregation
AEP - CSP     00040621054120910           Electric       Gov. Aggregation   FEOH - TE     08006329632430001449        Electric       Gov. Aggregation
AEP - CSP     00040621054142255           Electric       Gov. Aggregation   FEOH - TE     08006385782850020051        Electric       Gov. Aggregation
AEP - CSP     00040621054366215           Electric       Gov. Aggregation   FEOH - TE     08008291232810021988        Electric       Gov. Aggregation
AEP - CSP     00040621054469860           Electric       Gov. Aggregation   FEOH - TE     08008327335001332493        Electric       Gov. Aggregation
AEP - CSP     00040621066043072           Electric       Gov. Aggregation   FEOH - TE     08008334622960094459        Electric       Gov. Aggregation
AEP - CSP     00040621066073483           Electric       Gov. Aggregation   FEOH - TE     08008351192850020188        Electric       Gov. Aggregation
AEP - CSP     00040621066082505           Electric       Gov. Aggregation   FEOH - TE     08008351722850020262        Electric       Gov. Aggregation
AEP - CSP     00040621066244020           Electric       Gov. Aggregation   FEOH - TE     08008352702850020825        Electric       Gov. Aggregation
AEP - CSP     00040621066295873           Electric       Gov. Aggregation   FEOH - TE     08008355752850022905        Electric       Gov. Aggregation
AEP - CSP     00040621066325281           Electric       Gov. Aggregation   FEOH - OE     08023176160001320863        Electric       Gov. Aggregation
AEP - CSP     00040621060005911           Electric       Gov. Aggregation   FEOH - OE     08023224630000780234        Electric       Gov. Aggregation
AEP - CSP     00040621060027271           Electric       Gov. Aggregation   FEOH - OE     08023226000000780252        Electric       Gov. Aggregation
AEP - CSP     00040621060185011           Electric       Gov. Aggregation   FEOH - OE     08023229740000790498        Electric       Gov. Aggregation
AEP - CSP     00040621060190292           Electric       Gov. Aggregation   FEOH - OE     08023230000000791393        Electric       Gov. Aggregation
AEP - CSP     00040621060309714           Electric       Gov. Aggregation   FEOH - OE     08023234550000791465        Electric       Gov. Aggregation
AEP - CSP     00040621060343402           Electric       Gov. Aggregation   FEOH - OE     08023275010000765657        Electric       Gov. Aggregation
AEP - CSP     00040621060510385           Electric       Gov. Aggregation   FEOH - OE     08021444240000587679        Electric       Gov. Aggregation
AEP - CSP     00040621061322914           Electric       Gov. Aggregation   FEOH - OE     08021445580000587644        Electric       Gov. Aggregation
AEP - CSP     00040621061341035           Electric       Gov. Aggregation   FEOH - OE     08021504890000604205        Electric       Gov. Aggregation
AEP - CSP     00040621061461813           Electric       Gov. Aggregation   FEOH - OE     08021505610000604192        Electric       Gov. Aggregation
AEP - CSP     00040621061550414           Electric       Gov. Aggregation   FEOH - OE     08021533940000584140        Electric       Gov. Aggregation
AEP - CSP     00040621061675014           Electric       Gov. Aggregation   FEOH - OE     08021558010000587630        Electric       Gov. Aggregation
AEP - CSP     00040621060489633           Electric       Gov. Aggregation   FEOH - TE     08021641212640021202        Electric       Gov. Aggregation
AEP - CSP     00040621060522800           Electric       Gov. Aggregation   FEOH - TE     08006067812210012995        Electric       Gov. Aggregation
AEP - CSP     00040621060561093           Electric       Gov. Aggregation   FEOH - OE     08006069620000592322        Electric       Gov. Aggregation
AEP - CSP     00040621060827994           Electric       Gov. Aggregation   FEOH - TE     08006099102900008381        Electric       Gov. Aggregation
AEP - CSP     00040621061373485           Electric       Gov. Aggregation   FEOH - TE     08006112862210014755        Electric       Gov. Aggregation
AEP - CSP     00040621061405535           Electric       Gov. Aggregation   FEOH - TE     08006113322210014952        Electric       Gov. Aggregation
AEP - CSP     00040621061460641           Electric       Gov. Aggregation   FEOH - TE     08006115762380032911        Electric       Gov. Aggregation
AEP - CSP     00040621060287290           Electric       Gov. Aggregation   FEOH - OE     08023276120000765674        Electric       Gov. Aggregation
AEP - CSP     00040621060607831           Electric       Gov. Aggregation   FEOH - OE     08023291650001443014        Electric       Gov. Aggregation
AEP - CSP     00040621060615801           Electric       Gov. Aggregation   FEOH - OE     08023296510001455711        Electric       Gov. Aggregation
AEP - CSP     00040621060735835           Electric       Gov. Aggregation   FEOH - OE     08023296740000789322        Electric       Gov. Aggregation
AEP - CSP     00040621060923813           Electric       Gov. Aggregation   FEOH - OE     08023297190000805423        Electric       Gov. Aggregation
AEP - CSP     00040621060933733           Electric       Gov. Aggregation   FEOH - OE     08023297420000789329        Electric       Gov. Aggregation
AEP - CSP     00040621061042293           Electric       Gov. Aggregation   FEOH - OE     08023298580001375136        Electric       Gov. Aggregation
AEP - CSP     00040621065410562           Electric       Gov. Aggregation   FEOH - OE     08023299790000789362        Electric       Gov. Aggregation
AEP - CSP     00040621065454692           Electric       Gov. Aggregation   FEOH - OE     08023303010000810038        Electric       Gov. Aggregation
AEP - CSP     00040621065565333           Electric       Gov. Aggregation   FEOH - OE     08023308110000810117        Electric       Gov. Aggregation
AEP - CSP     00040621065645540           Electric       Gov. Aggregation   FEOH - OE     08023308920000810129        Electric       Gov. Aggregation
AEP - CSP     00040621065693315           Electric       Gov. Aggregation   FEOH - OE     08023309560000810139        Electric       Gov. Aggregation
AEP - CSP     00040621065765232           Electric       Gov. Aggregation   FEOH - OE     08023313220001399780        Electric       Gov. Aggregation
AEP - CSP     00040621066118534           Electric       Gov. Aggregation   FEOH - OE     08023317800000791675        Electric       Gov. Aggregation
AEP - CSP     00040621054561794           Electric       Gov. Aggregation   FEOH - TE     08008359412850024008        Electric       Gov. Aggregation
AEP - CSP     00040621054578921           Electric       Gov. Aggregation   FEOH - TE     08008388372380031726        Electric       Gov. Aggregation
AEP - CSP     00040621054641425           Electric       Gov. Aggregation   FEOH - TE     08008401462850024825        Electric       Gov. Aggregation
AEP - CSP     00040621054742702           Electric       Gov. Aggregation   FEOH - TE     08008461682770013154        Electric       Gov. Aggregation
AEP - CSP     00040621054769151           Electric       Gov. Aggregation   FEOH - TE     08008467582770020444        Electric       Gov. Aggregation
AEP - CSP     00040621054835551           Electric       Gov. Aggregation   FEOH - TE     08008478272710091300        Electric       Gov. Aggregation
AEP - CSP     00040621054877442           Electric       Gov. Aggregation   FEOH - TE     08008479682840092903        Electric       Gov. Aggregation
AEP - CSP     00040621060513792           Electric       Gov. Aggregation   FEOH - TE     08006927372600006860        Electric       Gov. Aggregation
AEP - CSP     00040621060544903           Electric       Gov. Aggregation   FEOH - TE     08006929352600010049        Electric       Gov. Aggregation
AEP - CSP     00040621060631575           Electric       Gov. Aggregation   FEOH - TE     08006929802650091493        Electric       Gov. Aggregation
AEP - CSP     00040621060748122           Electric       Gov. Aggregation   FEOH - OE     08006955920001044671        Electric       Gov. Aggregation
AEP - CSP     00040621060762655           Electric       Gov. Aggregation   FEOH - TE     08006997212900003458        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621060838312           Electric       Gov. Aggregation   FEOH - TE     08006998832900009280        Electric       Gov. Aggregation
AEP - CSP     00040621060895311           Electric       Gov. Aggregation   FEOH - OE     08023318470000791693        Electric       Gov. Aggregation
AEP - CSP     00040621066186943           Electric       Gov. Aggregation   FEOH - OE     08023318950000791699        Electric       Gov. Aggregation
AEP - CSP     00040621066246305           Electric       Gov. Aggregation   FEOH - OE     08023360590000805456        Electric       Gov. Aggregation
AEP - CSP     00040621066248443           Electric       Gov. Aggregation   FEOH - OE     08023361630000805473        Electric       Gov. Aggregation
AEP - CSP     00040621066288534           Electric       Gov. Aggregation   FEOH - OE     08023362020000805477        Electric       Gov. Aggregation
AEP - CSP     00040621066304013           Electric       Gov. Aggregation   FEOH - OE     08023364600000784418        Electric       Gov. Aggregation
AEP - CSP     00040621066563715           Electric       Gov. Aggregation   FEOH - OE     08023365150000805536        Electric       Gov. Aggregation
AEP - CSP     00040621066644462           Electric       Gov. Aggregation   FEOH - TE     08008506132420033061        Electric       Gov. Aggregation
AEP - CSP     00040621066339931           Electric       Gov. Aggregation   FEOH - TE     08008547902900007890        Electric       Gov. Aggregation
AEP - CSP     00040621066479460           Electric       Gov. Aggregation   FEOH - TE     08008603992190092712        Electric       Gov. Aggregation
AEP - CSP     00040621066495732           Electric       Gov. Aggregation   FEOH - TE     08008610382900008573        Electric       Gov. Aggregation
AEP - CSP     00040621066518363           Electric       Gov. Aggregation   FEOH - OE     08021877750000804539        Electric       Gov. Aggregation
AEP - CSP     00040621066569450           Electric       Gov. Aggregation   FEOH - OE     08021908960000603882        Electric       Gov. Aggregation
AEP - CSP     00040621066713891           Electric       Gov. Aggregation   FEOH - OE     08021919560000584124        Electric       Gov. Aggregation
AEP - CSP     00040621066760093           Electric       Gov. Aggregation   FEOH - TE     08022110982920091185        Electric       Gov. Aggregation
AEP - CSP     00040621061495505           Electric       Gov. Aggregation   FEOH - OE     08023291130000786430        Electric       Gov. Aggregation
AEP - CSP     00040621061580925           Electric       Gov. Aggregation   FEOH - OE     08023297290000789327        Electric       Gov. Aggregation
AEP - CSP     00040621061610681           Electric       Gov. Aggregation   FEOH - OE     08023298620000786344        Electric       Gov. Aggregation
AEP - CSP     00040621061626193           Electric       Gov. Aggregation   FEOH - OE     08023298700001346906        Electric       Gov. Aggregation
AEP - CSP     00040621061813855           Electric       Gov. Aggregation   FEOH - OE     08023299060000805430        Electric       Gov. Aggregation
AEP - CSP     00040621061831420           Electric       Gov. Aggregation   FEOH - OE     08023307870000810113        Electric       Gov. Aggregation
AEP - CSP     00040621062010515           Electric       Gov. Aggregation   FEOH - OE     08023308170000803457        Electric       Gov. Aggregation
AEP - CSP     00040621055043941           Electric       Gov. Aggregation   FEOH - OE     08006439260001128282        Electric       Gov. Aggregation
AEP - CSP     00040621055116984           Electric       Gov. Aggregation   FEOH - TE     08006453622210012341        Electric       Gov. Aggregation
AEP - CSP     00040621055334150           Electric       Gov. Aggregation   FEOH - TE     08006523032390001334        Electric       Gov. Aggregation
AEP - CSP     00040621055601113           Electric       Gov. Aggregation   FEOH - TE     08006526432600009411        Electric       Gov. Aggregation
AEP - CSP     00040621055606944           Electric       Gov. Aggregation   FEOH - TE     08006116092380092592        Electric       Gov. Aggregation
AEP - CSP     00040621055695352           Electric       Gov. Aggregation   FEOH - TE     08006180423000008020        Electric       Gov. Aggregation
AEP - CSP     00040621055579255           Electric       Gov. Aggregation   FEOH - TE     08006182393000003929        Electric       Gov. Aggregation
AEP - CSP     00040621055582730           Electric       Gov. Aggregation   FEOH - TE     08006186952170013099        Electric       Gov. Aggregation
AEP - CSP     00040621056194943           Electric       Gov. Aggregation   FEOH - TE     08006265702420033215        Electric       Gov. Aggregation
AEP - CSP     00040621056261785           Electric       Gov. Aggregation   FEOH - TE     08006320722380032466        Electric       Gov. Aggregation
AEP - CSP     00040621056321030           Electric       Gov. Aggregation   FEOH - OE     08022222140000803014        Electric       Gov. Aggregation
AEP - CSP     00040621056424312           Electric       Gov. Aggregation   FEOH - TE     08022272252640020779        Electric       Gov. Aggregation
AEP - CSP     00040621061806585           Electric       Gov. Aggregation   FEOH - OE     08022340440000590587        Electric       Gov. Aggregation
AEP - CSP     00040621061818102           Electric       Gov. Aggregation   FEOH - OE     08022342080000590613        Electric       Gov. Aggregation
AEP - CSP     00040621061831920           Electric       Gov. Aggregation   FEOH - OE     08022413790000592348        Electric       Gov. Aggregation
AEP - CSP     00040621061836284           Electric       Gov. Aggregation   FEOH - OE     08022414170000586812        Electric       Gov. Aggregation
AEP - CSP     00040621061957065           Electric       Gov. Aggregation   FEOH - TE     08007061842900010630        Electric       Gov. Aggregation
AEP - CSP     00040621062440643           Electric       Gov. Aggregation   FEOH - TE     08007064592140093267        Electric       Gov. Aggregation
AEP - CSP     00040621060976472           Electric       Gov. Aggregation   FEOH - OE     08007107890001324109        Electric       Gov. Aggregation
AEP - CSP     00040621061043104           Electric       Gov. Aggregation   FEOH - TE     08006528432840092917        Electric       Gov. Aggregation
AEP - CSP     00040621061118354           Electric       Gov. Aggregation   FEOH - TE     08006593482510007703        Electric       Gov. Aggregation
AEP - CSP     00040621061133581           Electric       Gov. Aggregation   FEOH - TE     08006599162380027448        Electric       Gov. Aggregation
AEP - CSP     00040621061146301           Electric       Gov. Aggregation   FEOH - TE     08006650282380028205        Electric       Gov. Aggregation
AEP - CSP     00040621061391510           Electric       Gov. Aggregation   FEOH - TE     08006654442380032978        Electric       Gov. Aggregation
AEP - CSP     00040621061509865           Electric       Gov. Aggregation   FEOH - TE     08008680282930030979        Electric       Gov. Aggregation
AEP - CSP     00040621066779085           Electric       Gov. Aggregation   FEOH - TE     08008682902930031794        Electric       Gov. Aggregation
AEP - CSP     00040621066798503           Electric       Gov. Aggregation   FEOH - TE     08008724762770021427        Electric       Gov. Aggregation
AEP - CSP     00040621066941620           Electric       Gov. Aggregation   FEOH - TE     08008728152300026323        Electric       Gov. Aggregation
AEP - CSP     00040621066944075           Electric       Gov. Aggregation   FEOH - TE     08008739252850021851        Electric       Gov. Aggregation
AEP - CSP     00040621067052404           Electric       Gov. Aggregation   FEOH - TE     08008794012300030649        Electric       Gov. Aggregation
AEP - CSP     00040621066843842           Electric       Gov. Aggregation   FEOH - TE     08008794972300030879        Electric       Gov. Aggregation
AEP - CSP     00040621066984974           Electric       Gov. Aggregation   FEOH - OE     08022414450000592359        Electric       Gov. Aggregation
AEP - CSP     00040621067111552           Electric       Gov. Aggregation   FEOH - OE     08022415330000592376        Electric       Gov. Aggregation
AEP - CSP     00040621067145224           Electric       Gov. Aggregation   FEOH - OE     08022416760001421848        Electric       Gov. Aggregation
AEP - CSP     00040621067241544           Electric       Gov. Aggregation   FEOH - TE     08022417442380033398        Electric       Gov. Aggregation
AEP - CSP     00040621067255603           Electric       Gov. Aggregation   FEOH - OE     08022418450000584125        Electric       Gov. Aggregation
AEP - CSP     00040621062047185           Electric       Gov. Aggregation   FEOH - OE     08022481170000584174        Electric       Gov. Aggregation
AEP - CSP     00040621062324191           Electric       Gov. Aggregation   FEOH - OE     08022486400000592386        Electric       Gov. Aggregation
AEP - CSP     00040621062340932           Electric       Gov. Aggregation   FEOH - OE     08022487880000584254        Electric       Gov. Aggregation
AEP - CSP     00040621062660830           Electric       Gov. Aggregation   FEOH - OE     08022488800000584234        Electric       Gov. Aggregation
AEP - CSP     00040621062668953           Electric       Gov. Aggregation   FEOH - OE     08022489660000584243        Electric       Gov. Aggregation
AEP - CSP     00040621063064902           Electric       Gov. Aggregation   FEOH - TE     08022550542210015048        Electric       Gov. Aggregation
AEP - CSP     00040621055733541           Electric       Gov. Aggregation   FEOH - OE     08022552320000584006        Electric       Gov. Aggregation
AEP - CSP     00040621055800951           Electric       Gov. Aggregation   FEOH - OE     08022553580000584022        Electric       Gov. Aggregation
AEP - CSP     00040621055856370           Electric       Gov. Aggregation   FEOH - OE     08022553660000584019        Electric       Gov. Aggregation
AEP - CSP     00040621056383053           Electric       Gov. Aggregation   FEOH - OE     08023310860000791574        Electric       Gov. Aggregation
AEP - CSP     00040621056391771           Electric       Gov. Aggregation   FEOH - OE     08023314800000791639        Electric       Gov. Aggregation
AEP - CSP     00040621056401853           Electric       Gov. Aggregation   FEOH - OE     08023316370000791660        Electric       Gov. Aggregation
AEP - CSP     00040621056468570           Electric       Gov. Aggregation   FEOH - OE     08023319110000791701        Electric       Gov. Aggregation
AEP - CSP     00040621056511275           Electric       Gov. Aggregation   FEOH - OE     08023335270000804517        Electric       Gov. Aggregation
AEP - CSP     00040621056561035           Electric       Gov. Aggregation   FEOH - OE     08023360380000805453        Electric       Gov. Aggregation
AEP - CSP     00040621056632875           Electric       Gov. Aggregation   FEOH - OE     08023360890000789312        Electric       Gov. Aggregation
AEP - CSP     00040621057006011           Electric       Gov. Aggregation   FEOH - TE     08006593382510007690        Electric       Gov. Aggregation
AEP - CSP     00040621057188311           Electric       Gov. Aggregation   FEOH - TE     08006595162210011992        Electric       Gov. Aggregation
AEP - CSP     00040621057386133           Electric       Gov. Aggregation   FEOH - TE     08006650135000190365        Electric       Gov. Aggregation
AEP - CSP     00040621061631811           Electric       Gov. Aggregation   FEOH - TE     08006650602380028402        Electric       Gov. Aggregation
AEP - CSP     00040621061791495           Electric       Gov. Aggregation   FEOH - TE     08006653172380032555        Electric       Gov. Aggregation
AEP - CSP     00040621062117644           Electric       Gov. Aggregation   FEOH - TE     08006655692390000562        Electric       Gov. Aggregation
AEP - CSP     00040621062153680           Electric       Gov. Aggregation   FEOH - TE     08006657002390001142        Electric       Gov. Aggregation
AEP - CSP     00040621062316495           Electric       Gov. Aggregation   FEOH - OE     08007176840001453960        Electric       Gov. Aggregation
AEP - CSP     00040621062341243           Electric       Gov. Aggregation   FEOH - TE     08007186402070091906        Electric       Gov. Aggregation
AEP - CSP     00040621062343825           Electric       Gov. Aggregation   FEOH - TE     08007189122130006569        Electric       Gov. Aggregation
AEP - CSP     00040621062816452           Electric       Gov. Aggregation   FEOH - TE     08007189242130006593        Electric       Gov. Aggregation
AEP - CSP     00040621062879002           Electric       Gov. Aggregation   FEOH - TE     08007202792850020558        Electric       Gov. Aggregation
AEP - CSP     00040621062919761           Electric       Gov. Aggregation   FEOH - TE     08007250232600006911        Electric       Gov. Aggregation
AEP - CSP     00040621063195671           Electric       Gov. Aggregation   FEOH - TE     08007251022900007247        Electric       Gov. Aggregation
AEP - CSP     00040621063543434           Electric       Gov. Aggregation   FEOH - TE     08006324602390000670        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621063619092           Electric       Gov. Aggregation   FEOH - TE     08006329522210014717        Electric       Gov. Aggregation
AEP - CSP     00040621063687814           Electric       Gov. Aggregation   FEOH - OE     08006350970000778457        Electric       Gov. Aggregation
AEP - CSP     00040621067085983           Electric       Gov. Aggregation   FEOH - TE     08006383752850023311        Electric       Gov. Aggregation
AEP - CSP     00040621067119023           Electric       Gov. Aggregation   FEOH - TE     08006384492600009759        Electric       Gov. Aggregation
AEP - CSP     00040621067194835           Electric       Gov. Aggregation   FEOH - TE     08006386652120093347        Electric       Gov. Aggregation
AEP - CSP     00040621067369304           Electric       Gov. Aggregation   FEOH - TE     08006387082480093365        Electric       Gov. Aggregation
AEP - CSP     00040621067490192           Electric       Gov. Aggregation   FEOH - OE     08023368710001417596        Electric       Gov. Aggregation
AEP - CSP     00040621067513202           Electric       Gov. Aggregation   FEOH - OE     08023369930000784497        Electric       Gov. Aggregation
AEP - CSP     00040621067547945           Electric       Gov. Aggregation   FEOH - OE     08023371030000810159        Electric       Gov. Aggregation
AEP - CSP     00040621067326240           Electric       Gov. Aggregation   FEOH - OE     08023372180000810176        Electric       Gov. Aggregation
AEP - CSP     00040621067333954           Electric       Gov. Aggregation   FEOH - OE     08023376700001367544        Electric       Gov. Aggregation
AEP - CSP     00040621067355620           Electric       Gov. Aggregation   FEOH - OE     08023376850001369980        Electric       Gov. Aggregation
AEP - CSP     00040621067484375           Electric       Gov. Aggregation   FEOH - OE     08023381220000791730        Electric       Gov. Aggregation
AEP - CSP     00040621067562992           Electric       Gov. Aggregation   FEOH - TE     08006656732390000985        Electric       Gov. Aggregation
AEP - CSP     00040621067718371           Electric       Gov. Aggregation   FEOH - TE     08006720032430091508        Electric       Gov. Aggregation
AEP - CSP     00040621067843472           Electric       Gov. Aggregation   FEOH - OE     08006772550000778351        Electric       Gov. Aggregation
AEP - CSP     00040621063066034           Electric       Gov. Aggregation   FEOH - OE     08006773080000803769        Electric       Gov. Aggregation
AEP - CSP     00040621063083081           Electric       Gov. Aggregation   FEOH - OE     08006773080000803785        Electric       Gov. Aggregation
AEP - CSP     00040621063269075           Electric       Gov. Aggregation   FEOH - OE     08022622800001577231        Electric       Gov. Aggregation
AEP - CSP     00040621063278392           Electric       Gov. Aggregation   FEOH - OE     08022623810001532062        Electric       Gov. Aggregation
AEP - CSP     00040621063403351           Electric       Gov. Aggregation   FEOH - OE     08022655610001401433        Electric       Gov. Aggregation
AEP - CSP     00040621063442314           Electric       Gov. Aggregation   FEOH - OE     08022810010000790697        Electric       Gov. Aggregation
AEP - CSP     00040621063443413           Electric       Gov. Aggregation   FEOH - OE     08022975580000770990        Electric       Gov. Aggregation
AEP - CSP     00040621056504184           Electric       Gov. Aggregation   FEOH - OE     08023024430001357524        Electric       Gov. Aggregation
AEP - CSP     00040621056573880           Electric       Gov. Aggregation   FEOH - OE     08023361570000805472        Electric       Gov. Aggregation
AEP - CSP     00040621056676123           Electric       Gov. Aggregation   FEOH - OE     08023362050000784382        Electric       Gov. Aggregation
AEP - CSP     00040621056679222           Electric       Gov. Aggregation   FEOH - OE     08023362400000805482        Electric       Gov. Aggregation
AEP - CSP     00040621056708543           Electric       Gov. Aggregation   FEOH - OE     08023362880000805491        Electric       Gov. Aggregation
AEP - CSP     00040621056867355           Electric       Gov. Aggregation   FEOH - OE     08023364800000784422        Electric       Gov. Aggregation
AEP - CSP     00040621056932143           Electric       Gov. Aggregation   FEOH - OE     08023364930000784424        Electric       Gov. Aggregation
AEP - CSP     00040621063903465           Electric       Gov. Aggregation   FEOH - OE     08023364990000805534        Electric       Gov. Aggregation
AEP - CSP     00040621063951720           Electric       Gov. Aggregation   FEOH - TE     08008797242300031389        Electric       Gov. Aggregation
AEP - CSP     00040621064011634           Electric       Gov. Aggregation   FEOH - TE     08008799422430090740        Electric       Gov. Aggregation
AEP - CSP     00040621064087262           Electric       Gov. Aggregation   FEOH - TE     08008799572510092189        Electric       Gov. Aggregation
AEP - CSP     00040621064417955           Electric       Gov. Aggregation   FEOH - OE     08008843600001521365        Electric       Gov. Aggregation
AEP - CSP     00040621064528914           Electric       Gov. Aggregation   FEOH - TE     08008870113000004729        Electric       Gov. Aggregation
AEP - CSP     00040621064538404           Electric       Gov. Aggregation   FEOH - TE     08008871512600003913        Electric       Gov. Aggregation
AEP - CSP     00040621062391950           Electric       Gov. Aggregation   FEOH - TE     08008871812600003999        Electric       Gov. Aggregation
AEP - CSP     00040621062488293           Electric       Gov. Aggregation   FEOH - TE     08006657142390001175        Electric       Gov. Aggregation
AEP - CSP     00040621062520315           Electric       Gov. Aggregation   FEOH - TE     08006659052380028933        Electric       Gov. Aggregation
AEP - CSP     00040621062890162           Electric       Gov. Aggregation   FEOH - TE     08006722332600009552        Electric       Gov. Aggregation
AEP - CSP     00040621062982205           Electric       Gov. Aggregation   FEOH - TE     08006724065000080099        Electric       Gov. Aggregation
AEP - CSP     00040621067662534           Electric       Gov. Aggregation   FEOH - TE     08006728042460022230        Electric       Gov. Aggregation
AEP - CSP     00040621067850153           Electric       Gov. Aggregation   FEOH - TE     08007258422900009307        Electric       Gov. Aggregation
AEP - CSP     00040621068014855           Electric       Gov. Aggregation   FEOH - TE     08007303462300094282        Electric       Gov. Aggregation
AEP - CSP     00040621068044765           Electric       Gov. Aggregation   FEOH - OE     08007573090000592395        Electric       Gov. Aggregation
AEP - CSP     00040621068046233           Electric       Gov. Aggregation   FEOH - OE     08023384020000791777        Electric       Gov. Aggregation
AEP - CSP     00040621068089991           Electric       Gov. Aggregation   FEOH - OE     08023384750000791784        Electric       Gov. Aggregation
AEP - CSP     00040621063691504           Electric       Gov. Aggregation   FEOH - OE     08023385380000771028        Electric       Gov. Aggregation
AEP - CSP     00040621063861251           Electric       Gov. Aggregation   FEOH - OE     08023385480000791798        Electric       Gov. Aggregation
AEP - CSP     00040621064001162           Electric       Gov. Aggregation   FEOH - OE     08023424600000765986        Electric       Gov. Aggregation
AEP - CSP     00040621064029975           Electric       Gov. Aggregation   FEOH - OE     08023427450000765984        Electric       Gov. Aggregation
AEP - CSP     00040621064078841           Electric       Gov. Aggregation   FEOH - OE     08023435560000784584        Electric       Gov. Aggregation
AEP - CSP     00040621064109212           Electric       Gov. Aggregation   FEOH - OE     08023025560001482920        Electric       Gov. Aggregation
AEP - CSP     00040621064222101           Electric       Gov. Aggregation   FEOH - OE     08023025605001342297        Electric       Gov. Aggregation
AEP - CSP     00040621067876862           Electric       Gov. Aggregation   FEOH - OE     08023026210000790321        Electric       Gov. Aggregation
AEP - CSP     00040621068013661           Electric       Gov. Aggregation   FEOH - OE     08023027210000770547        Electric       Gov. Aggregation
AEP - CSP     00040621068175930           Electric       Gov. Aggregation   FEOH - OE     08023056460001533574        Electric       Gov. Aggregation
AEP - CSP     00040621068179622           Electric       Gov. Aggregation   FEOH - OE     08023056970000765213        Electric       Gov. Aggregation
AEP - CSP     00040621068316784           Electric       Gov. Aggregation   FEOH - OE     08023057170000765216        Electric       Gov. Aggregation
AEP - CSP     00040621068330373           Electric       Gov. Aggregation   FEOH - TE     08008871902600004000        Electric       Gov. Aggregation
AEP - CSP     00040621057537284           Electric       Gov. Aggregation   FEOH - TE     08008872402600004090        Electric       Gov. Aggregation
AEP - CSP     00040621057602270           Electric       Gov. Aggregation   FEOH - TE     08008873082600004230        Electric       Gov. Aggregation
AEP - CSP     00040621057681815           Electric       Gov. Aggregation   FEOH - TE     08008934992850022981        Electric       Gov. Aggregation
AEP - CSP     00040621058091251           Electric       Gov. Aggregation   FEOH - TE     08008935362380031228        Electric       Gov. Aggregation
AEP - CSP     00040621058112675           Electric       Gov. Aggregation   FEOH - TE     08008944452640019253        Electric       Gov. Aggregation
AEP - CSP     00040621058116903           Electric       Gov. Aggregation   FEOH - TE     08009010922640021236        Electric       Gov. Aggregation
AEP - CSP     00040621058127454           Electric       Gov. Aggregation   FEOH - OE     08023365620000805539        Electric       Gov. Aggregation
AEP - CSP     00040621064623565           Electric       Gov. Aggregation   FEOH - OE     08023366860000784449        Electric       Gov. Aggregation
AEP - CSP     00040621064798535           Electric       Gov. Aggregation   FEOH - OE     08023367280001303618        Electric       Gov. Aggregation
AEP - CSP     00040621064945331           Electric       Gov. Aggregation   FEOH - OE     08023367770000784467        Electric       Gov. Aggregation
AEP - CSP     00040621064963314           Electric       Gov. Aggregation   FEOH - OE     08023369510001429913        Electric       Gov. Aggregation
AEP - CSP     00040621065109791           Electric       Gov. Aggregation   FEOH - OE     08023369740000784494        Electric       Gov. Aggregation
AEP - CSP     00040621065144692           Electric       Gov. Aggregation   FEOH - OE     08023371540000810167        Electric       Gov. Aggregation
AEP - CSP     00040621068264954           Electric       Gov. Aggregation   FEOH - OE     08006774940000803404        Electric       Gov. Aggregation
AEP - CSP     00040621068355052           Electric       Gov. Aggregation   FEOH - TE     08006792092900008802        Electric       Gov. Aggregation
AEP - CSP     00040621068426160           Electric       Gov. Aggregation   FEOH - TE     08006924772680024106        Electric       Gov. Aggregation
AEP - CSP     00040621068844514           Electric       Gov. Aggregation   FEOH - TE     08006925342510092850        Electric       Gov. Aggregation
AEP - CSP     00040621068852561           Electric       Gov. Aggregation   FEOH - TE     08006926792600003416        Electric       Gov. Aggregation
AEP - CSP     00040621069109962           Electric       Gov. Aggregation   FEOH - OE     08006954520001042779        Electric       Gov. Aggregation
AEP - CSP     00040621057054511           Electric       Gov. Aggregation   FEOH - TE     08006992332900003410        Electric       Gov. Aggregation
AEP - CSP     00040621057132670           Electric       Gov. Aggregation   FEOH - OE     08006771470000790791        Electric       Gov. Aggregation
AEP - CSP     00040621057202852           Electric       Gov. Aggregation   FEOH - OE     08006772550000778532        Electric       Gov. Aggregation
AEP - CSP     00040621057454103           Electric       Gov. Aggregation   FEOH - OE     08006773080001387129        Electric       Gov. Aggregation
AEP - CSP     00040621057954575           Electric       Gov. Aggregation   FEOH - OE     08006774940000803355        Electric       Gov. Aggregation
AEP - CSP     00040621058074874           Electric       Gov. Aggregation   FEOH - OE     08006912870000789061        Electric       Gov. Aggregation
AEP - CSP     00040621064281191           Electric       Gov. Aggregation   FEOH - TE     08007581292900009538        Electric       Gov. Aggregation
AEP - CSP     00040621064539141           Electric       Gov. Aggregation   FEOH - TE     08007587292280093790        Electric       Gov. Aggregation
AEP - CSP     00040621064553962           Electric       Gov. Aggregation   FEOH - TE     08007615942850019991        Electric       Gov. Aggregation
AEP - CSP     00040621064583321           Electric       Gov. Aggregation   FEOH - TE     08007639092810018379        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621064698042           Electric       Gov. Aggregation   FEOH - TE     08007680122850022657        Electric       Gov. Aggregation
AEP - CSP     00040621064715885           Electric       Gov. Aggregation   FEOH - TE     08007687352130006305        Electric       Gov. Aggregation
AEP - CSP     00040621063371010           Electric       Gov. Aggregation   FEOH - TE     08007709692850017709        Electric       Gov. Aggregation
AEP - CSP     00040621063391611           Electric       Gov. Aggregation   FEOH - OE     08023438640000784632        Electric       Gov. Aggregation
AEP - CSP     00040621063417001           Electric       Gov. Aggregation   FEOH - OE     08023486950000804173        Electric       Gov. Aggregation
AEP - CSP     00040621063504720           Electric       Gov. Aggregation   FEOH - OE     08023488680000790368        Electric       Gov. Aggregation
AEP - CSP     00040621063602344           Electric       Gov. Aggregation   FEOH - OE     08023495080000766099        Electric       Gov. Aggregation
AEP - CSP     00040621063604451           Electric       Gov. Aggregation   FEOH - OE     08023501710001338364        Electric       Gov. Aggregation
AEP - CSP     00040621063624363           Electric       Gov. Aggregation   FEOH - OE     08023502380001455855        Electric       Gov. Aggregation
AEP - CSP     00040621058117461           Electric       Gov. Aggregation   FEOH - OE     08023503030001564067        Electric       Gov. Aggregation
AEP - CSP     00040621058131400           Electric       Gov. Aggregation   FEOH - OE     08023058170000765229        Electric       Gov. Aggregation
AEP - CSP     00040621058375451           Electric       Gov. Aggregation   FEOH - OE     08023058270000765231        Electric       Gov. Aggregation
AEP - CSP     00040621058881884           Electric       Gov. Aggregation   FEOH - TE     08023086262080026826        Electric       Gov. Aggregation
AEP - CSP     00040621058986111           Electric       Gov. Aggregation   FEOH - OE     08023130400000765261        Electric       Gov. Aggregation
AEP - CSP     00040621058987150           Electric       Gov. Aggregation   FEOH - OE     08023132670000765293        Electric       Gov. Aggregation
AEP - CSP     00040621065192040           Electric       Gov. Aggregation   FEOH - OE     08023133530000765304        Electric       Gov. Aggregation
AEP - CSP     00040621065201920           Electric       Gov. Aggregation   FEOH - TE     08009061462680022510        Electric       Gov. Aggregation
AEP - CSP     00040621065322951           Electric       Gov. Aggregation   FEOH - TE     08009064782680023123        Electric       Gov. Aggregation
AEP - CSP     00040621065382792           Electric       Gov. Aggregation   FEOH - TE     08009210272420032157        Electric       Gov. Aggregation
AEP - CSP     00040621065412790           Electric       Gov. Aggregation   FEOH - OE     08009644010001043059        Electric       Gov. Aggregation
AEP - CSP     00040621065435604           Electric       Gov. Aggregation   FEOH - OE     08023376020001340555        Electric       Gov. Aggregation
AEP - CSP     00040621068412735           Electric       Gov. Aggregation   FEOH - OE     08023376780001369603        Electric       Gov. Aggregation
AEP - CSP     00040621068582162           Electric       Gov. Aggregation   FEOH - OE     08023379040001516329        Electric       Gov. Aggregation
AEP - CSP     00040621068662400           Electric       Gov. Aggregation   FEOH - OE     08023380940000791728        Electric       Gov. Aggregation
AEP - CSP     00040621069011520           Electric       Gov. Aggregation   FEOH - OE     08023381480000791735        Electric       Gov. Aggregation
AEP - CSP     00040621069229913           Electric       Gov. Aggregation   FEOH - OE     08023381760000792635        Electric       Gov. Aggregation
AEP - CSP     00040621069276081           Electric       Gov. Aggregation   FEOH - OE     08023382520001402839        Electric       Gov. Aggregation
AEP - CSP     00040621069288630           Electric       Gov. Aggregation   FEOH - TE     08006993082900005720        Electric       Gov. Aggregation
AEP - CSP     00040621058295090           Electric       Gov. Aggregation   FEOH - TE     08006993522900006206        Electric       Gov. Aggregation
AEP - CSP     00040621058786405           Electric       Gov. Aggregation   FEOH - TE     08006995152900007509        Electric       Gov. Aggregation
AEP - CSP     00040621058800833           Electric       Gov. Aggregation   FEOH - TE     08006995372900007566        Electric       Gov. Aggregation
AEP - CSP     00040621058970973           Electric       Gov. Aggregation   FEOH - TE     08006996192900008709        Electric       Gov. Aggregation
AEP - CSP     00040621059035960           Electric       Gov. Aggregation   FEOH - TE     08006997692350091380        Electric       Gov. Aggregation
AEP - CSP     00040621059073225           Electric       Gov. Aggregation   FEOH - TE     08006997692410092966        Electric       Gov. Aggregation
AEP - CSP     00040621069117374           Electric       Gov. Aggregation   FEOH - TE     08006923572390001156        Electric       Gov. Aggregation
AEP - CSP     00040621069439800           Electric       Gov. Aggregation   FEOH - TE     08006925533000010677        Electric       Gov. Aggregation
AEP - CSP     00040621069566622           Electric       Gov. Aggregation   FEOH - OE     08006950640001128771        Electric       Gov. Aggregation
AEP - CSP     00040621069698285           Electric       Gov. Aggregation   FEOH - OE     08006969050000592361        Electric       Gov. Aggregation
AEP - CSP     00040621069940495           Electric       Gov. Aggregation   FEOH - TE     08006990442600006978        Electric       Gov. Aggregation
AEP - CSP     00040621070032633           Electric       Gov. Aggregation   FEOH - TE     08006994662900007406        Electric       Gov. Aggregation
AEP - CSP     00040621070070962           Electric       Gov. Aggregation   FEOH - OE     08007045030001552645        Electric       Gov. Aggregation
AEP - CSP     00040621064749915           Electric       Gov. Aggregation   FEOH - OE     08007712200000792737        Electric       Gov. Aggregation
AEP - CSP     00040621064755245           Electric       Gov. Aggregation   FEOH - TE     08007736842080028234        Electric       Gov. Aggregation
AEP - CSP     00040621064820893           Electric       Gov. Aggregation   FEOH - TE     08007815722850017395        Electric       Gov. Aggregation
AEP - CSP     00040621064909034           Electric       Gov. Aggregation   FEOH - TE     08007818462850020008        Electric       Gov. Aggregation
AEP - CSP     00040621064935172           Electric       Gov. Aggregation   FEOH - TE     08007837722850023203        Electric       Gov. Aggregation
AEP - CSP     00040621065000891           Electric       Gov. Aggregation   FEOH - TE     08007860142850021565        Electric       Gov. Aggregation
AEP - CSP     00040621065205741           Electric       Gov. Aggregation   FEOH - TE     08007862402850022642        Electric       Gov. Aggregation
AEP - CSP     00040621061078491           Electric       Gov. Aggregation   FEOH - OE     08023525840000844579        Electric       Gov. Aggregation
AEP - CSP     00040621061208044           Electric       Gov. Aggregation   FEOH - OE     08023526320000844586        Electric       Gov. Aggregation
AEP - CSP     00040621061255154           Electric       Gov. Aggregation   FEOH - OE     08023526980000844594        Electric       Gov. Aggregation
AEP - CSP     00040621061401981           Electric       Gov. Aggregation   FEOH - OE     08023527350000844601        Electric       Gov. Aggregation
AEP - CSP     00040621061452150           Electric       Gov. Aggregation   FEOH - OE     08023528870000844624        Electric       Gov. Aggregation
AEP - CSP     00040621061463573           Electric       Gov. Aggregation   FEOH - OE     08023529080000844627        Electric       Gov. Aggregation
AEP - CSP     00040621061554643           Electric       Gov. Aggregation   FEOH - OE     08023557160000782502        Electric       Gov. Aggregation
AEP - CSP     00040621059064145           Electric       Gov. Aggregation   FEOH - OE     08023142170000810053        Electric       Gov. Aggregation
AEP - CSP     00040621059090712           Electric       Gov. Aggregation   FEOH - OE     08023153450000790380        Electric       Gov. Aggregation
AEP - CSP     00040621059343062           Electric       Gov. Aggregation   FEOH - OE     08023156180000780112        Electric       Gov. Aggregation
AEP - CSP     00040621059343235           Electric       Gov. Aggregation   FEOH - OE     08023156360000780115        Electric       Gov. Aggregation
AEP - CSP     00040621059362695           Electric       Gov. Aggregation   FEOH - OE     08023158230000780145        Electric       Gov. Aggregation
AEP - CSP     00040621059397175           Electric       Gov. Aggregation   FEOH - OE     08023165620000791771        Electric       Gov. Aggregation
AEP - CSP     00040621065497453           Electric       Gov. Aggregation   FEOH - OE     08023169480000791380        Electric       Gov. Aggregation
AEP - CSP     00040621065529542           Electric       Gov. Aggregation   FEOH - OE     08012372955001409353        Electric       Gov. Aggregation
AEP - CSP     00040621065546100           Electric       Gov. Aggregation   FEOH - OE     08012929765001431120        Electric       Gov. Aggregation
AEP - CSP     00040621065555752           Electric       Gov. Aggregation   FEOH - TE     08014285352080027922        Electric       Gov. Aggregation
AEP - CSP     00040621065565622           Electric       Gov. Aggregation   FEOH - OE     08014870325000228213        Electric       Gov. Aggregation
AEP - CSP     00040621065633114           Electric       Gov. Aggregation   FEOH - OE     08023383400000791764        Electric       Gov. Aggregation
AEP - CSP     00040621065828545           Electric       Gov. Aggregation   FEOH - OE     08023385380000771026        Electric       Gov. Aggregation
AEP - CSP     00040621063689442           Electric       Gov. Aggregation   FEOH - OE     08023394165000134800        Electric       Gov. Aggregation
AEP - CSP     00040621063775045           Electric       Gov. Aggregation   FEOH - OE     08023428230000765997        Electric       Gov. Aggregation
AEP - CSP     00040621063815872           Electric       Gov. Aggregation   FEOH - OE     08023438230000804846        Electric       Gov. Aggregation
AEP - CSP     00040621063977554           Electric       Gov. Aggregation   FEOH - OE     08023439030000804870        Electric       Gov. Aggregation
AEP - CSP     00040621064060261           Electric       Gov. Aggregation   FEOH - OE     08023439520001411560        Electric       Gov. Aggregation
AEP - CSP     00040621069514064           Electric       Gov. Aggregation   FEOH - TE     08007062722900010786        Electric       Gov. Aggregation
AEP - CSP     00040621069594054           Electric       Gov. Aggregation   FEOH - TE     08007064472090092744        Electric       Gov. Aggregation
AEP - CSP     00040621069635403           Electric       Gov. Aggregation   FEOH - TE     08007098292680021926        Electric       Gov. Aggregation
AEP - CSP     00040621069778752           Electric       Gov. Aggregation   FEOH - OE     08007107890001141985        Electric       Gov. Aggregation
AEP - CSP     00040621069964391           Electric       Gov. Aggregation   FEOH - TE     08007253402730091677        Electric       Gov. Aggregation
AEP - CSP     00040621070132761           Electric       Gov. Aggregation   FEOH - TE     08007255272900007251        Electric       Gov. Aggregation
AEP - CSP     00040621065513281           Electric       Gov. Aggregation   FEOH - TE     08007904412850024690        Electric       Gov. Aggregation
AEP - CSP     00040621065604134           Electric       Gov. Aggregation   FEOH - TE     08007909132850020239        Electric       Gov. Aggregation
AEP - CSP     00040621065716312           Electric       Gov. Aggregation   FEOH - TE     08007934245000116491        Electric       Gov. Aggregation
AEP - CSP     00040621065936924           Electric       Gov. Aggregation   FEOH - TE     08007956952810018401        Electric       Gov. Aggregation
AEP - CSP     00040621065952205           Electric       Gov. Aggregation   FEOH - TE     08008021552810021993        Electric       Gov. Aggregation
AEP - CSP     00040621066070911           Electric       Gov. Aggregation   FEOH - OE     08008041275000021579        Electric       Gov. Aggregation
AEP - CSP     00040621070085513           Electric       Gov. Aggregation   FEOH - OE     08023171060000809791        Electric       Gov. Aggregation
AEP - CSP     00040621070250760           Electric       Gov. Aggregation   FEOH - OE     08023179580001441246        Electric       Gov. Aggregation
AEP - CSP     00040621070261131           Electric       Gov. Aggregation   FEOH - OE     08023205890001493779        Electric       Gov. Aggregation
AEP - CSP     00040621070263920           Electric       Gov. Aggregation   FEOH - OE     08023210290000784478        Electric       Gov. Aggregation
AEP - CSP     00040621059447403           Electric       Gov. Aggregation   FEOH - OE     08023218650000789346        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621059453995           Electric       Gov. Aggregation   FEOH - OE     08023219740001339596        Electric       Gov. Aggregation
AEP - CSP     00040621059539414           Electric       Gov. Aggregation   FEOH - OE     08023234090000770981        Electric       Gov. Aggregation
AEP - CSP     00040621059584315           Electric       Gov. Aggregation   FEOH - OE     08023573180000766220        Electric       Gov. Aggregation
AEP - CSP     00040621059658584           Electric       Gov. Aggregation   FEOH - OE     08023591190000844656        Electric       Gov. Aggregation
AEP - CSP     00040621066010170           Electric       Gov. Aggregation   FEOH - OE     08023591410000844658        Electric       Gov. Aggregation
AEP - CSP     00040621066026360           Electric       Gov. Aggregation   FEOH - OE     08023593355001386681        Electric       Gov. Aggregation
AEP - CSP     00040621066136581           Electric       Gov. Aggregation   FEOH - OE     08023602080001546840        Electric       Gov. Aggregation
AEP - CSP     00040621066272313           Electric       Gov. Aggregation   FEOH - OE     08023606760000792170        Electric       Gov. Aggregation
AEP - CSP     00040621066322833           Electric       Gov. Aggregation   FEOH - TE     08023466922470090116        Electric       Gov. Aggregation
AEP - CSP     00040621066421231           Electric       Gov. Aggregation   FEOH - OE     08023467960001380340        Electric       Gov. Aggregation
AEP - CSP     00040621066526772           Electric       Gov. Aggregation   FEOH - OE     08023471680000804910        Electric       Gov. Aggregation
AEP - CSP     00040621064096501           Electric       Gov. Aggregation   FEOH - OE     08023496590001336168        Electric       Gov. Aggregation
AEP - CSP     00040621064114903           Electric       Gov. Aggregation   FEOH - OE     08023497050000766127        Electric       Gov. Aggregation
AEP - CSP     00040621064220060           Electric       Gov. Aggregation   FEOH - OE     08023497590000766137        Electric       Gov. Aggregation
AEP - CSP     00040621064630462           Electric       Gov. Aggregation   FEOH - OE     08023498040000766143        Electric       Gov. Aggregation
AEP - CSP     00040621064830422           Electric       Gov. Aggregation   FEOH - OE     08015785790001040693        Electric       Gov. Aggregation
AEP - CSP     00040621064934380           Electric       Gov. Aggregation   FEOH - OE     08016453100000168234        Electric       Gov. Aggregation
AEP - CSP     00040621064976573           Electric       Gov. Aggregation   FEOH - OE     08016454250000168250        Electric       Gov. Aggregation
AEP - CSP     00040621070147165           Electric       Gov. Aggregation   FEOH - OE     08016455130000168264        Electric       Gov. Aggregation
AEP - CSP     00040621070237553           Electric       Gov. Aggregation   FEOH - OE     08016455730000168270        Electric       Gov. Aggregation
AEP - CSP     00040621070264241           Electric       Gov. Aggregation   FEOH - TE     08006997692680021517        Electric       Gov. Aggregation
AEP - CSP     00040621070387561           Electric       Gov. Aggregation   FEOH - TE     08006999762900009519        Electric       Gov. Aggregation
AEP - CSP     00040621070389825           Electric       Gov. Aggregation   FEOH - TE     08007062562530091232        Electric       Gov. Aggregation
AEP - CSP     00040621070439674           Electric       Gov. Aggregation   FEOH - TE     08007063772920091536        Electric       Gov. Aggregation
AEP - CSP     00040621070466283           Electric       Gov. Aggregation   FEOH - OE     08007107890001141984        Electric       Gov. Aggregation
AEP - CSP     00040621066086792           Electric       Gov. Aggregation   FEOH - OE     08007176840001131320        Electric       Gov. Aggregation
AEP - CSP     00040621066137760           Electric       Gov. Aggregation   FEOH - TE     08008093182850020281        Electric       Gov. Aggregation
AEP - CSP     00040621066198374           Electric       Gov. Aggregation   FEOH - TE     08008099985001253599        Electric       Gov. Aggregation
AEP - CSP     00040621066207851           Electric       Gov. Aggregation   FEOH - TE     08008137032770013276        Electric       Gov. Aggregation
AEP - CSP     00040621066263825           Electric       Gov. Aggregation   FEOH - TE     08008138212080022807        Electric       Gov. Aggregation
AEP - CSP     00040621066510795           Electric       Gov. Aggregation   FEOH - TE     08008138522770016889        Electric       Gov. Aggregation
AEP - CSP     00040621066536723           Electric       Gov. Aggregation   FEOH - TE     08008139632770019036        Electric       Gov. Aggregation
AEP - CSP     00040621070599311           Electric       Gov. Aggregation   FEOH - TE     08008150602850023907        Electric       Gov. Aggregation
AEP - CSP     00040621070610194           Electric       Gov. Aggregation   FEOH - OE     08023235900000770993        Electric       Gov. Aggregation
AEP - CSP     00040621070688343           Electric       Gov. Aggregation   FEOH - OE     08023239980000791559        Electric       Gov. Aggregation
AEP - CSP     00040621070713562           Electric       Gov. Aggregation   FEOH - OE     08023296020000805632        Electric       Gov. Aggregation
AEP - CSP     00040621070755251           Electric       Gov. Aggregation   FEOH - OE     08023297790000841298        Electric       Gov. Aggregation
AEP - CSP     00040621070909632           Electric       Gov. Aggregation   FEOH - OE     08023297800000805522        Electric       Gov. Aggregation
AEP - CSP     00040621070947321           Electric       Gov. Aggregation   FEOH - OE     08023303940000810051        Electric       Gov. Aggregation
AEP - CSP     00040621060140092           Electric       Gov. Aggregation   FEOH - TE     08007256862900008751        Electric       Gov. Aggregation
AEP - CSP     00040621060198614           Electric       Gov. Aggregation   FEOH - TE     08007257872900009134        Electric       Gov. Aggregation
AEP - CSP     00040621060233273           Electric       Gov. Aggregation   FEOH - TE     08007270353000000050        Electric       Gov. Aggregation
AEP - CSP     00040621060283585           Electric       Gov. Aggregation   FEOH - TE     08007300612900010607        Electric       Gov. Aggregation
AEP - CSP     00040621060466640           Electric       Gov. Aggregation   FEOH - TE     08007391082480092466        Electric       Gov. Aggregation
AEP - CSP     00040621060912752           Electric       Gov. Aggregation   FEOH - TE     08007392842850017446        Electric       Gov. Aggregation
AEP - CSP     00040621065055252           Electric       Gov. Aggregation   FEOH - OE     08023608600000792198        Electric       Gov. Aggregation
AEP - CSP     00040621065092252           Electric       Gov. Aggregation   FEOH - OE     08023609550000782665        Electric       Gov. Aggregation
AEP - CSP     00040621065241203           Electric       Gov. Aggregation   FEOH - OE     08023610670000804345        Electric       Gov. Aggregation
AEP - CSP     00040621065248640           Electric       Gov. Aggregation   FEOH - OE     08023632270001534631        Electric       Gov. Aggregation
AEP - CSP     00040621065363432           Electric       Gov. Aggregation   FEOH - OE     08023664700001538403        Electric       Gov. Aggregation
AEP - CSP     00040621065374301           Electric       Gov. Aggregation   FEOH - OE     08023676690000792323        Electric       Gov. Aggregation
AEP - CSP     00040621065381822           Electric       Gov. Aggregation   FEOH - OE     08023677410000792332        Electric       Gov. Aggregation
AEP - CSP     00040621061723470           Electric       Gov. Aggregation   FEOH - OE     08023502990000804908        Electric       Gov. Aggregation
AEP - CSP     00040621061776500           Electric       Gov. Aggregation   FEOH - OE     08023503280000804909        Electric       Gov. Aggregation
AEP - CSP     00040621061904614           Electric       Gov. Aggregation   FEOH - OE     08023504000001569337        Electric       Gov. Aggregation
AEP - CSP     00040621062028244           Electric       Gov. Aggregation   FEOH - OE     08023505850001477167        Electric       Gov. Aggregation
AEP - CSP     00040621062060092           Electric       Gov. Aggregation   FEOH - OE     08023509330000810227        Electric       Gov. Aggregation
AEP - CSP     00040621062074440           Electric       Gov. Aggregation   FEOH - OE     08023525290000844570        Electric       Gov. Aggregation
AEP - CSP     00040621062089553           Electric       Gov. Aggregation   FEOH - OE     08023525905000348866        Electric       Gov. Aggregation
AEP - CSP     00040621070496523           Electric       Gov. Aggregation   FEOH - OE     08016457400001341723        Electric       Gov. Aggregation
AEP - CSP     00040621070535161           Electric       Gov. Aggregation   FEOH - OE     08016457860001334985        Electric       Gov. Aggregation
AEP - CSP     00040621070714665           Electric       Gov. Aggregation   FEOH - OE     08016757480000187190        Electric       Gov. Aggregation
AEP - CSP     00040621070756145           Electric       Gov. Aggregation   FEOH - OE     08016758280000187205        Electric       Gov. Aggregation
AEP - CSP     00040621070808294           Electric       Gov. Aggregation   FEOH - OE     08016758670000187211        Electric       Gov. Aggregation
AEP - CSP     00040621071074015           Electric       Gov. Aggregation   FEOH - OE     08016759190001367126        Electric       Gov. Aggregation
AEP - CSP     00040621071088992           Electric       Gov. Aggregation   FEOH - OE     08016759455001391674        Electric       Gov. Aggregation
AEP - CSP     00040621066565944           Electric       Gov. Aggregation   FEOH - TE     08007250122600006874        Electric       Gov. Aggregation
AEP - CSP     00040621066594830           Electric       Gov. Aggregation   FEOH - TE     08007251243000009009        Electric       Gov. Aggregation
AEP - CSP     00040621066823414           Electric       Gov. Aggregation   FEOH - TE     08007254552900005701        Electric       Gov. Aggregation
AEP - CSP     00040621067074970           Electric       Gov. Aggregation   FEOH - TE     08007302052900010931        Electric       Gov. Aggregation
AEP - CSP     00040621067145274           Electric       Gov. Aggregation   FEOH - TE     08007302542170094412        Electric       Gov. Aggregation
AEP - CSP     00040621067159962           Electric       Gov. Aggregation   FEOH - TE     08007399372850022816        Electric       Gov. Aggregation
AEP - CSP     00040621067177630           Electric       Gov. Aggregation   FEOH - TE     08008151072850024084        Electric       Gov. Aggregation
AEP - CSP     00040621066559760           Electric       Gov. Aggregation   FEOH - TE     08008151972850024474        Electric       Gov. Aggregation
AEP - CSP     00040621066667030           Electric       Gov. Aggregation   FEOH - TE     08008152912850024741        Electric       Gov. Aggregation
AEP - CSP     00040621066790570           Electric       Gov. Aggregation   FEOH - TE     08008156872320090802        Electric       Gov. Aggregation
AEP - CSP     00040621066843183           Electric       Gov. Aggregation   FEOH - TE     08008207292770021540        Electric       Gov. Aggregation
AEP - CSP     00040621066852614           Electric       Gov. Aggregation   FEOH - TE     08008208902990094226        Electric       Gov. Aggregation
AEP - CSP     00040621066865222           Electric       Gov. Aggregation   FEOH - TE     08008226732810018415        Electric       Gov. Aggregation
AEP - CSP     00040621066877132           Electric       Gov. Aggregation   FEOH - TE     08007516232900005735        Electric       Gov. Aggregation
AEP - CSP     00040621071133824           Electric       Gov. Aggregation   FEOH - TE     08007518232900008713        Electric       Gov. Aggregation
AEP - CSP     00040621071208160           Electric       Gov. Aggregation   FEOH - TE     08007518232900008732        Electric       Gov. Aggregation
AEP - CSP     00040621071266711           Electric       Gov. Aggregation   FEOH - TE     08007519172900009045        Electric       Gov. Aggregation
AEP - CSP     00040621071273034           Electric       Gov. Aggregation   FEOH - TE     08007583532900010575        Electric       Gov. Aggregation
AEP - CSP     00040621071411161           Electric       Gov. Aggregation   FEOH - TE     08007589623000000365        Electric       Gov. Aggregation
AEP - CSP     00040621071533471           Electric       Gov. Aggregation   FEOH - TE     08007613432850017427        Electric       Gov. Aggregation
AEP - CSP     00040621071713473           Electric       Gov. Aggregation   FEOH - OE     08023304360000810040        Electric       Gov. Aggregation
AEP - CSP     00040621060928270           Electric       Gov. Aggregation   FEOH - OE     08023304450000810058        Electric       Gov. Aggregation
AEP - CSP     00040621060941571           Electric       Gov. Aggregation   FEOH - OE     08023305470000803186        Electric       Gov. Aggregation
AEP - CSP     00040621060992425           Electric       Gov. Aggregation   FEOH - OE     08023305670000810082        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621061008492           Electric       Gov. Aggregation   FEOH - OE     08023305760000810084        Electric       Gov. Aggregation
AEP - CSP     00040621061035803           Electric       Gov. Aggregation   FEOH - OE     08023306260000810092        Electric       Gov. Aggregation
AEP - CSP     00040621061040585           Electric       Gov. Aggregation   FEOH - OE     08023309440000810137        Electric       Gov. Aggregation
AEP - CSP     00040621061145404           Electric       Gov. Aggregation   FEOH - TE     08007394442850018256        Electric       Gov. Aggregation
AEP - CSP     00040621065408602           Electric       Gov. Aggregation   FEOH - TE     08007394642850018326        Electric       Gov. Aggregation
AEP - CSP     00040621065443571           Electric       Gov. Aggregation   FEOH - TE     08007396082850020469        Electric       Gov. Aggregation
AEP - CSP     00040621065672701           Electric       Gov. Aggregation   FEOH - TE     08007396222850020493        Electric       Gov. Aggregation
AEP - CSP     00040621065812873           Electric       Gov. Aggregation   FEOH - TE     08007397732850022286        Electric       Gov. Aggregation
AEP - CSP     00040621066027923           Electric       Gov. Aggregation   FEOH - TE     08007461702850025739        Electric       Gov. Aggregation
AEP - CSP     00040621066053182           Electric       Gov. Aggregation   FEOH - OE     08023677800000792338        Electric       Gov. Aggregation
AEP - CSP     00040621071182290           Electric       Gov. Aggregation   FEOH - OE     08023679020001484364        Electric       Gov. Aggregation
AEP - CSP     00040621071197013           Electric       Gov. Aggregation   FEOH - OE     08023685130001479472        Electric       Gov. Aggregation
AEP - CSP     00040621071342324           Electric       Gov. Aggregation   FEOH - OE     08023697780000790288        Electric       Gov. Aggregation
AEP - CSP     00040621071456724           Electric       Gov. Aggregation   FEOH - OE     08023697805001435920        Electric       Gov. Aggregation
AEP - CSP     00040621071601590           Electric       Gov. Aggregation   FEOH - OE     08023706990000788832        Electric       Gov. Aggregation
AEP - CSP     00040621071655842           Electric       Gov. Aggregation   FEOH - OE     08016802165000235971        Electric       Gov. Aggregation
AEP - CSP     00040621067270822           Electric       Gov. Aggregation   FEOH - OE     08016820830000187239        Electric       Gov. Aggregation
AEP - CSP     00040621067365102           Electric       Gov. Aggregation   FEOH - OE     08016821350000186837        Electric       Gov. Aggregation
AEP - CSP     00040621067408360           Electric       Gov. Aggregation   FEOH - OE     08016821490000187248        Electric       Gov. Aggregation
AEP - CSP     00040621067472481           Electric       Gov. Aggregation   FEOH - OE     08016890420000186759        Electric       Gov. Aggregation
AEP - CSP     00040621067595701           Electric       Gov. Aggregation   FEOH - OE     08016893720000186809        Electric       Gov. Aggregation
AEP - CSP     00040621067601713           Electric       Gov. Aggregation   FEOH - OE     08016924410001521366        Electric       Gov. Aggregation
AEP - CSP     00040621067614492           Electric       Gov. Aggregation   FEOH - OE     08023527100000844597        Electric       Gov. Aggregation
AEP - CSP     00040621061191600           Electric       Gov. Aggregation   FEOH - OE     08023527500000844603        Electric       Gov. Aggregation
AEP - CSP     00040621061461171           Electric       Gov. Aggregation   FEOH - OE     08023538760001456499        Electric       Gov. Aggregation
AEP - CSP     00040621061793002           Electric       Gov. Aggregation   FEOH - OE     08023560380000792569        Electric       Gov. Aggregation
AEP - CSP     00040621061992401           Electric       Gov. Aggregation   FEOH - OE     08023577580000788731        Electric       Gov. Aggregation
AEP - CSP     00040621062134992           Electric       Gov. Aggregation   FEOH - OE     08023586710000587077        Electric       Gov. Aggregation
AEP - CSP     00040621062364651           Electric       Gov. Aggregation   FEOH - OE     08023590590000844648        Electric       Gov. Aggregation
AEP - CSP     00040621062764251           Electric       Gov. Aggregation   FEOH - TE     08007617182850021157        Electric       Gov. Aggregation
AEP - CSP     00040621062905153           Electric       Gov. Aggregation   FEOH - TE     08007617982850022164        Electric       Gov. Aggregation
AEP - CSP     00040621062926810           Electric       Gov. Aggregation   FEOH - TE     08007619902850022591        Electric       Gov. Aggregation
AEP - CSP     00040621063002404           Electric       Gov. Aggregation   FEOH - TE     08007639092810018364        Electric       Gov. Aggregation
AEP - CSP     00040621059078065           Electric       Gov. Aggregation   FEOH - TE     08007680492850022784        Electric       Gov. Aggregation
AEP - CSP     00040621059270431           Electric       Gov. Aggregation   FEOH - TE     08007701792810020210        Electric       Gov. Aggregation
AEP - CSP     00040621059338332           Electric       Gov. Aggregation   FEOH - TE     08007704365001297913        Electric       Gov. Aggregation
AEP - CSP     00040621059755540           Electric       Gov. Aggregation   FEOH - TE     08007464322130006377        Electric       Gov. Aggregation
AEP - CSP     00040621059781073           Electric       Gov. Aggregation   FEOH - TE     08007516612900007162        Electric       Gov. Aggregation
AEP - CSP     00040621059943684           Electric       Gov. Aggregation   FEOH - TE     08007518152900008728        Electric       Gov. Aggregation
AEP - CSP     00040621060123535           Electric       Gov. Aggregation   FEOH - TE     08007518872900008925        Electric       Gov. Aggregation
AEP - CSP     00040621066920585           Electric       Gov. Aggregation   FEOH - TE     08007585212900011008        Electric       Gov. Aggregation
AEP - CSP     00040621066965295           Electric       Gov. Aggregation   FEOH - TE     08007588302440092339        Electric       Gov. Aggregation
AEP - CSP     00040621067026791           Electric       Gov. Aggregation   FEOH - OE     08023733000000844812        Electric       Gov. Aggregation
AEP - CSP     00040621067270675           Electric       Gov. Aggregation   FEOH - OE     08023733510000844819        Electric       Gov. Aggregation
AEP - CSP     00040621067637104           Electric       Gov. Aggregation   FEOH - OE     08023736020001322764        Electric       Gov. Aggregation
AEP - CSP     00040621067783792           Electric       Gov. Aggregation   FEOH - OE     08023737170001346909        Electric       Gov. Aggregation
AEP - CSP     00040621067972663           Electric       Gov. Aggregation   FEOH - OE     08023739170000844887        Electric       Gov. Aggregation
AEP - CSP     00040621071806925           Electric       Gov. Aggregation   FEOH - OE     08023745640000776772        Electric       Gov. Aggregation
AEP - CSP     00040621071986003           Electric       Gov. Aggregation   FEOH - OE     08023747610001326438        Electric       Gov. Aggregation
AEP - CSP     00040621072100385           Electric       Gov. Aggregation   FEOH - TE     08008228672810020205        Electric       Gov. Aggregation
AEP - CSP     00040621072202373           Electric       Gov. Aggregation   FEOH - TE     08008229412810020488        Electric       Gov. Aggregation
AEP - CSP     00040621072306970           Electric       Gov. Aggregation   FEOH - TE     08008291502810022022        Electric       Gov. Aggregation
AEP - CSP     00040621072423422           Electric       Gov. Aggregation   FEOH - TE     08008297692850018908        Electric       Gov. Aggregation
AEP - CSP     00040621072502704           Electric       Gov. Aggregation   FEOH - TE     08008350592810015530        Electric       Gov. Aggregation
AEP - CSP     00040621071967504           Electric       Gov. Aggregation   FEOH - TE     08008356502850023128        Electric       Gov. Aggregation
AEP - CSP     00040621072066091           Electric       Gov. Aggregation   FEOH - TE     08008356552850023152        Electric       Gov. Aggregation
AEP - CSP     00040621072076225           Electric       Gov. Aggregation   FEOH - OE     08023310650000791570        Electric       Gov. Aggregation
AEP - CSP     00040621072213830           Electric       Gov. Aggregation   FEOH - OE     08023319750000791709        Electric       Gov. Aggregation
AEP - CSP     00040621072590661           Electric       Gov. Aggregation   FEOH - OE     08023360020001323832        Electric       Gov. Aggregation
AEP - CSP     00040621072681852           Electric       Gov. Aggregation   FEOH - OE     08023364060001333175        Electric       Gov. Aggregation
AEP - CSP     00040621072707583           Electric       Gov. Aggregation   FEOH - OE     08023364260000805506        Electric       Gov. Aggregation
AEP - CSP     00040621067743813           Electric       Gov. Aggregation   FEOH - OE     08023364850000805531        Electric       Gov. Aggregation
AEP - CSP     00040621067759924           Electric       Gov. Aggregation   FEOH - OE     08023365460001454135        Electric       Gov. Aggregation
AEP - CSP     00040621067848500           Electric       Gov. Aggregation   FEOH - OE     08017183500000765681        Electric       Gov. Aggregation
AEP - CSP     00040621068020204           Electric       Gov. Aggregation   FEOH - OE     08017267990001402499        Electric       Gov. Aggregation
AEP - CSP     00040621068061013           Electric       Gov. Aggregation   FEOH - OE     08017540220000177882        Electric       Gov. Aggregation
AEP - CSP     00040621068071443           Electric       Gov. Aggregation   FEOH - OE     08017544050000178032        Electric       Gov. Aggregation
AEP - CSP     00040621068223340           Electric       Gov. Aggregation   FEOH - OE     08017545350000177952        Electric       Gov. Aggregation
AEP - CSP     00040621062403800           Electric       Gov. Aggregation   FEOH - OE     08017545490000177954        Electric       Gov. Aggregation
AEP - CSP     00040621062439733           Electric       Gov. Aggregation   FEOH - OE     08017618110001523205        Electric       Gov. Aggregation
AEP - CSP     00040621062483834           Electric       Gov. Aggregation   FEOH - OE     08023595070000844694        Electric       Gov. Aggregation
AEP - CSP     00040621062506014           Electric       Gov. Aggregation   FEOH - OE     08023595710000844703        Electric       Gov. Aggregation
AEP - CSP     00040621062597251           Electric       Gov. Aggregation   FEOH - OE     08023596580000844713        Electric       Gov. Aggregation
AEP - CSP     00040621062600885           Electric       Gov. Aggregation   FEOH - OE     08023597090000844715        Electric       Gov. Aggregation
AEP - CSP     00040621062715325           Electric       Gov. Aggregation   FEOH - OE     08023597680000844742        Electric       Gov. Aggregation
AEP - CSP     00040621066059702           Electric       Gov. Aggregation   FEOH - OE     08023607240000792177        Electric       Gov. Aggregation
AEP - CSP     00040621066121371           Electric       Gov. Aggregation   FEOH - OE     08023613050001511706        Electric       Gov. Aggregation
AEP - CSP     00040621066188163           Electric       Gov. Aggregation   FEOH - TE     08007588412450091096        Electric       Gov. Aggregation
AEP - CSP     00040621066516653           Electric       Gov. Aggregation   FEOH - TE     08007610842390094124        Electric       Gov. Aggregation
AEP - CSP     00040621066852250           Electric       Gov. Aggregation   FEOH - TE     08007614672850018204        Electric       Gov. Aggregation
AEP - CSP     00040621066894204           Electric       Gov. Aggregation   FEOH - TE     08007637002810015489        Electric       Gov. Aggregation
AEP - CSP     00040621067008424           Electric       Gov. Aggregation   FEOH - TE     08007702532810020436        Electric       Gov. Aggregation
AEP - CSP     00040621060360294           Electric       Gov. Aggregation   FEOH - TE     08007777332850019629        Electric       Gov. Aggregation
AEP - CSP     00040621060435945           Electric       Gov. Aggregation   FEOH - TE     08007705152810021940        Electric       Gov. Aggregation
AEP - CSP     00040621060795985           Electric       Gov. Aggregation   FEOH - TE     08007705752810022060        Electric       Gov. Aggregation
AEP - CSP     00040621060834810           Electric       Gov. Aggregation   FEOH - TE     08007779352900008643        Electric       Gov. Aggregation
AEP - CSP     00040621060835771           Electric       Gov. Aggregation   FEOH - TE     08007814682700091932        Electric       Gov. Aggregation
AEP - CSP     00040621060939263           Electric       Gov. Aggregation   FEOH - TE     08007831622820093897        Electric       Gov. Aggregation
AEP - CSP     00040621067981044           Electric       Gov. Aggregation   FEOH - TE     08007833072850021279        Electric       Gov. Aggregation
AEP - CSP     00040621068061791           Electric       Gov. Aggregation   FEOH - TE     08007837532850023166        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621068411694           Electric       Gov. Aggregation   FEOH - OE     08023365600000784432        Electric       Gov. Aggregation
AEP - CSP     00040621068644465           Electric       Gov. Aggregation   FEOH - OE     08023367720000805620        Electric       Gov. Aggregation
AEP - CSP     00040621068651585           Electric       Gov. Aggregation   FEOH - OE     08023368240000805565        Electric       Gov. Aggregation
AEP - CSP     00040621068738170           Electric       Gov. Aggregation   FEOH - OE     08023368400000805567        Electric       Gov. Aggregation
AEP - CSP     00040621072600584           Electric       Gov. Aggregation   FEOH - OE     08023368580000784477        Electric       Gov. Aggregation
AEP - CSP     00040621072605674           Electric       Gov. Aggregation   FEOH - OE     08023376980001378610        Electric       Gov. Aggregation
AEP - CSP     00040621072712574           Electric       Gov. Aggregation   FEOH - OE     08023379675000334852        Electric       Gov. Aggregation
AEP - CSP     00040621072925282           Electric       Gov. Aggregation   FEOH - TE     08006450182170013121        Electric       Gov. Aggregation
AEP - CSP     00040621072936970           Electric       Gov. Aggregation   FEOH - TE     08006453962810020652        Electric       Gov. Aggregation
AEP - CSP     00040621072956161           Electric       Gov. Aggregation   FEOH - TE     08006457212380028474        Electric       Gov. Aggregation
AEP - CSP     00040621073004075           Electric       Gov. Aggregation   FEOH - TE     08006520912390000524        Electric       Gov. Aggregation
AEP - CSP     00040621062718660           Electric       Gov. Aggregation   FEOH - TE     08006592552170013032        Electric       Gov. Aggregation
AEP - CSP     00040621062773750           Electric       Gov. Aggregation   FEOH - TE     08008467292770020181        Electric       Gov. Aggregation
AEP - CSP     00040621062858913           Electric       Gov. Aggregation   FEOH - TE     08008616332930031900        Electric       Gov. Aggregation
AEP - CSP     00040621062971263           Electric       Gov. Aggregation   FEOH - TE     08008720832770019548        Electric       Gov. Aggregation
AEP - CSP     00040621063167620           Electric       Gov. Aggregation   FEOH - TE     08008722772770020088        Electric       Gov. Aggregation
AEP - CSP     00040621063273530           Electric       Gov. Aggregation   FEOH - TE     08008724762770021408        Electric       Gov. Aggregation
AEP - CSP     00040621063328535           Electric       Gov. Aggregation   FEOH - TE     08008738832770094074        Electric       Gov. Aggregation
AEP - CSP     00040621063032864           Electric       Gov. Aggregation   FEOH - TE     08008793312300030456        Electric       Gov. Aggregation
AEP - CSP     00040621063243094           Electric       Gov. Aggregation   FEOH - OE     08017687510000178965        Electric       Gov. Aggregation
AEP - CSP     00040621063321844           Electric       Gov. Aggregation   FEOH - OE     08017928860000187255        Electric       Gov. Aggregation
AEP - CSP     00040621063456732           Electric       Gov. Aggregation   FEOH - OE     08018181240001542226        Electric       Gov. Aggregation
AEP - CSP     00040621063500745           Electric       Gov. Aggregation   FEOH - OE     08018327030000187148        Electric       Gov. Aggregation
AEP - CSP     00040621063533050           Electric       Gov. Aggregation   FEOH - OE     08018327170000187150        Electric       Gov. Aggregation
AEP - CSP     00040621063668265           Electric       Gov. Aggregation   FEOH - OE     08018328090001414597        Electric       Gov. Aggregation
AEP - CSP     00040621068296434           Electric       Gov. Aggregation   FEOH - OE     08023615070000804418        Electric       Gov. Aggregation
AEP - CSP     00040621068353870           Electric       Gov. Aggregation   FEOH - OE     08023635480000789130        Electric       Gov. Aggregation
AEP - CSP     00040621068371542           Electric       Gov. Aggregation   FEOH - OE     08023660210001369408        Electric       Gov. Aggregation
AEP - CSP     00040621068402330           Electric       Gov. Aggregation   FEOH - OE     08023674090000788828        Electric       Gov. Aggregation
AEP - CSP     00040621068429293           Electric       Gov. Aggregation   FEOH - OE     08023677140000791004        Electric       Gov. Aggregation
AEP - CSP     00040621068469171           Electric       Gov. Aggregation   FEOH - OE     08023677585001346853        Electric       Gov. Aggregation
AEP - CSP     00040621068476411           Electric       Gov. Aggregation   FEOH - OE     08023681550001461243        Electric       Gov. Aggregation
AEP - CSP     00040621072787702           Electric       Gov. Aggregation   FEOH - OE     08023748400000776811        Electric       Gov. Aggregation
AEP - CSP     00040621072912620           Electric       Gov. Aggregation   FEOH - OE     08023748590000776814        Electric       Gov. Aggregation
AEP - CSP     00040621073109394           Electric       Gov. Aggregation   FEOH - OE     08023771610000806176        Electric       Gov. Aggregation
AEP - CSP     00040621073156341           Electric       Gov. Aggregation   FEOH - OE     08023774980000788952        Electric       Gov. Aggregation
AEP - CSP     00040621073165285           Electric       Gov. Aggregation   FEOH - OE     08023775395000283508        Electric       Gov. Aggregation
AEP - CSP     00040621073177631           Electric       Gov. Aggregation   FEOH - OE     08023777245001492816        Electric       Gov. Aggregation
AEP - CSP     00040621073230661           Electric       Gov. Aggregation   FEOH - OE     08023778960001508298        Electric       Gov. Aggregation
AEP - CSP     00040621068739225           Electric       Gov. Aggregation   FEOH - TE     08007816092850017465        Electric       Gov. Aggregation
AEP - CSP     00040621068755041           Electric       Gov. Aggregation   FEOH - TE     08007817402850018312        Electric       Gov. Aggregation
AEP - CSP     00040621068868934           Electric       Gov. Aggregation   FEOH - TE     08007818952850020488        Electric       Gov. Aggregation
AEP - CSP     00040621069078504           Electric       Gov. Aggregation   FEOH - TE     08007864912850025758        Electric       Gov. Aggregation
AEP - CSP     00040621069225721           Electric       Gov. Aggregation   FEOH - TE     08007868732030031560        Electric       Gov. Aggregation
AEP - CSP     00040621069280401           Electric       Gov. Aggregation   FEOH - TE     08007902012850024099        Electric       Gov. Aggregation
AEP - CSP     00040621061023052           Electric       Gov. Aggregation   FEOH - TE     08007905552850024933        Electric       Gov. Aggregation
AEP - CSP     00040621061085033           Electric       Gov. Aggregation   FEOH - OE     08023384370000791779        Electric       Gov. Aggregation
AEP - CSP     00040621061180863           Electric       Gov. Aggregation   FEOH - OE     08023394730001417212        Electric       Gov. Aggregation
AEP - CSP     00040621061262084           Electric       Gov. Aggregation   FEOH - OE     08023427080000765980        Electric       Gov. Aggregation
AEP - CSP     00040621061620823           Electric       Gov. Aggregation   FEOH - OE     08023434190001447258        Electric       Gov. Aggregation
AEP - CSP     00040621061627074           Electric       Gov. Aggregation   FEOH - OE     08023434360000786820        Electric       Gov. Aggregation
AEP - CSP     00040621073110004           Electric       Gov. Aggregation   FEOH - OE     08023435830000784588        Electric       Gov. Aggregation
AEP - CSP     00040621073264741           Electric       Gov. Aggregation   FEOH - OE     08023436090000784593        Electric       Gov. Aggregation
AEP - CSP     00040621073448303           Electric       Gov. Aggregation   FEOH - TE     08006593812170014405        Electric       Gov. Aggregation
AEP - CSP     00040621073460490           Electric       Gov. Aggregation   FEOH - TE     08006594122170014528        Electric       Gov. Aggregation
AEP - CSP     00040621073544512           Electric       Gov. Aggregation   FEOH - TE     08006595392210012055        Electric       Gov. Aggregation
AEP - CSP     00040621073581973           Electric       Gov. Aggregation   FEOH - OE     08006624820001042711        Electric       Gov. Aggregation
AEP - CSP     00040621063515075           Electric       Gov. Aggregation   FEOH - TE     08006650832380028488        Electric       Gov. Aggregation
AEP - CSP     00040621063917103           Electric       Gov. Aggregation   FEOH - TE     08008793932300030620        Electric       Gov. Aggregation
AEP - CSP     00040621064048294           Electric       Gov. Aggregation   FEOH - TE     08008794972300030901        Electric       Gov. Aggregation
AEP - CSP     00040621064137291           Electric       Gov. Aggregation   FEOH - TE     08008797242300031393        Electric       Gov. Aggregation
AEP - CSP     00040621064162830           Electric       Gov. Aggregation   FEOH - TE     08008799345000346245        Electric       Gov. Aggregation
AEP - CSP     00040621064165173           Electric       Gov. Aggregation   FEOH - TE     08008801552930032227        Electric       Gov. Aggregation
AEP - CSP     00040621064204764           Electric       Gov. Aggregation   FEOH - TE     08008805952770013327        Electric       Gov. Aggregation
AEP - CSP     00040621063715253           Electric       Gov. Aggregation   FEOH - TE     08008871312600003843        Electric       Gov. Aggregation
AEP - CSP     00040621063751810           Electric       Gov. Aggregation   FEOH - OE     08023681930001444523        Electric       Gov. Aggregation
AEP - CSP     00040621063850231           Electric       Gov. Aggregation   FEOH - OE     08023686140001514092        Electric       Gov. Aggregation
AEP - CSP     00040621064144725           Electric       Gov. Aggregation   FEOH - OE     08023686980001545249        Electric       Gov. Aggregation
AEP - CSP     00040621064331694           Electric       Gov. Aggregation   FEOH - OE     08023689600001560106        Electric       Gov. Aggregation
AEP - CSP     00040621064404134           Electric       Gov. Aggregation   FEOH - OE     08023701140000788744        Electric       Gov. Aggregation
AEP - CSP     00040621064525013           Electric       Gov. Aggregation   FEOH - OE     08023701910000788756        Electric       Gov. Aggregation
AEP - CSP     00040621068530411           Electric       Gov. Aggregation   FEOH - OE     08023704980000788803        Electric       Gov. Aggregation
AEP - CSP     00040621068570781           Electric       Gov. Aggregation   FEOH - TE     08007903922850024596        Electric       Gov. Aggregation
AEP - CSP     00040621068857602           Electric       Gov. Aggregation   FEOH - TE     08007905143000008419        Electric       Gov. Aggregation
AEP - CSP     00040621069061211           Electric       Gov. Aggregation   FEOH - TE     08007959642810020544        Electric       Gov. Aggregation
AEP - CSP     00040621069175313           Electric       Gov. Aggregation   FEOH - TE     08008097622850023114        Electric       Gov. Aggregation
AEP - CSP     00040621069289223           Electric       Gov. Aggregation   FEOH - TE     08008152342850024614        Electric       Gov. Aggregation
AEP - CSP     00040621073282332           Electric       Gov. Aggregation   FEOH - TE     08008201812770019483        Electric       Gov. Aggregation
AEP - CSP     00040621073340054           Electric       Gov. Aggregation   FEOH - OE     08023801070000844907        Electric       Gov. Aggregation
AEP - CSP     00040621073353065           Electric       Gov. Aggregation   FEOH - OE     08023815740001474996        Electric       Gov. Aggregation
AEP - CSP     00040621073767480           Electric       Gov. Aggregation   FEOH - OE     08023816940001485555        Electric       Gov. Aggregation
AEP - CSP     00040621073910172           Electric       Gov. Aggregation   FEOH - OE     08023817800000849169        Electric       Gov. Aggregation
AEP - CSP     00040621073975091           Electric       Gov. Aggregation   FEOH - OE     08023831850000792556        Electric       Gov. Aggregation
AEP - CSP     00040621069539952           Electric       Gov. Aggregation   FEOH - OE     08023833110000792572        Electric       Gov. Aggregation
AEP - CSP     00040621069580820           Electric       Gov. Aggregation   FEOH - OE     08023836900000792630        Electric       Gov. Aggregation
AEP - CSP     00040621069604992           Electric       Gov. Aggregation   FEOH - OE     08018476650000168232        Electric       Gov. Aggregation
AEP - CSP     00040621069769422           Electric       Gov. Aggregation   FEOH - OE     08018527480000168750        Electric       Gov. Aggregation
AEP - CSP     00040621069791821           Electric       Gov. Aggregation   FEOH - OE     08018527550000168344        Electric       Gov. Aggregation
AEP - CSP     00040621069898933           Electric       Gov. Aggregation   FEOH - OE     08018596530000186773        Electric       Gov. Aggregation
AEP - CSP     00040621069970254           Electric       Gov. Aggregation   FEOH - OE     08018596980000186478        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621067410990           Electric       Gov. Aggregation   FEOH - OE     08018597090000186481        Electric       Gov. Aggregation
AEP - CSP     00040621067416114           Electric       Gov. Aggregation   FEOH - OE     08018597660001404837        Electric       Gov. Aggregation
AEP - CSP     00040621067703210           Electric       Gov. Aggregation   FEOH - OE     08007909790000766229        Electric       Gov. Aggregation
AEP - CSP     00040621067725011           Electric       Gov. Aggregation   FEOH - TE     08007912432210012961        Electric       Gov. Aggregation
AEP - CSP     00040621067830830           Electric       Gov. Aggregation   FEOH - TE     08007973592640021096        Electric       Gov. Aggregation
AEP - CSP     00040621067945353           Electric       Gov. Aggregation   FEOH - TE     08008021452810021921        Electric       Gov. Aggregation
AEP - CSP     00040621073612693           Electric       Gov. Aggregation   FEOH - TE     08008021552810021974        Electric       Gov. Aggregation
AEP - CSP     00040621073673760           Electric       Gov. Aggregation   FEOH - OE     08023436430000784597        Electric       Gov. Aggregation
AEP - CSP     00040621073675880           Electric       Gov. Aggregation   FEOH - OE     08023437390001447591        Electric       Gov. Aggregation
AEP - CSP     00040621073746035           Electric       Gov. Aggregation   FEOH - OE     08023437620000804838        Electric       Gov. Aggregation
AEP - CSP     00040621073760232           Electric       Gov. Aggregation   FEOH - OE     08023437700000784615        Electric       Gov. Aggregation
AEP - CSP     00040621073859485           Electric       Gov. Aggregation   FEOH - OE     08023450400000804543        Electric       Gov. Aggregation
AEP - CSP     00040621061693443           Electric       Gov. Aggregation   FEOH - OE     08023471680001495801        Electric       Gov. Aggregation
AEP - CSP     00040621061854771           Electric       Gov. Aggregation   FEOH - OE     08023496050000766112        Electric       Gov. Aggregation
AEP - CSP     00040621061858435           Electric       Gov. Aggregation   FEOH - TE     08008872622600004156        Electric       Gov. Aggregation
AEP - CSP     00040621062133880           Electric       Gov. Aggregation   FEOH - TE     08008876832770021220        Electric       Gov. Aggregation
AEP - CSP     00040621062197611           Electric       Gov. Aggregation   FEOH - TE     08008932282380031196        Electric       Gov. Aggregation
AEP - CSP     00040621062241961           Electric       Gov. Aggregation   FEOH - TE     08008936842080026352        Electric       Gov. Aggregation
AEP - CSP     00040621062250823           Electric       Gov. Aggregation   FEOH - TE     08009015922680020356        Electric       Gov. Aggregation
AEP - CSP     00040621064313650           Electric       Gov. Aggregation   FEOH - TE     08009018845000185541        Electric       Gov. Aggregation
AEP - CSP     00040621064498752           Electric       Gov. Aggregation   FEOH - TE     08009063672680022896        Electric       Gov. Aggregation
AEP - CSP     00040621064510770           Electric       Gov. Aggregation   FEOH - OE     08023706500000788823        Electric       Gov. Aggregation
AEP - CSP     00040621064650523           Electric       Gov. Aggregation   FEOH - OE     08023708460000806076        Electric       Gov. Aggregation
AEP - CSP     00040621064830585           Electric       Gov. Aggregation   FEOH - OE     08023708510000806077        Electric       Gov. Aggregation
AEP - CSP     00040621064857742           Electric       Gov. Aggregation   FEOH - OE     08023713370000791504        Electric       Gov. Aggregation
AEP - CSP     00040621064588630           Electric       Gov. Aggregation   FEOH - OE     08023732930001321891        Electric       Gov. Aggregation
AEP - CSP     00040621064780053           Electric       Gov. Aggregation   FEOH - OE     08023733450001317141        Electric       Gov. Aggregation
AEP - CSP     00040621064834214           Electric       Gov. Aggregation   FEOH - OE     08023735780000844845        Electric       Gov. Aggregation
AEP - CSP     00040621064858545           Electric       Gov. Aggregation   FEOH - TE     08006651732380032095        Electric       Gov. Aggregation
AEP - CSP     00040621064884525           Electric       Gov. Aggregation   FEOH - TE     08006652452380032305        Electric       Gov. Aggregation
AEP - CSP     00040621064913112           Electric       Gov. Aggregation   FEOH - OE     08006693620000782629        Electric       Gov. Aggregation
AEP - CSP     00040621069373612           Electric       Gov. Aggregation   FEOH - TE     08006727032900093930        Electric       Gov. Aggregation
AEP - CSP     00040621069431984           Electric       Gov. Aggregation   FEOH - TE     08008272732770019200        Electric       Gov. Aggregation
AEP - CSP     00040621069652084           Electric       Gov. Aggregation   FEOH - TE     08008299952850019742        Electric       Gov. Aggregation
AEP - CSP     00040621069661111           Electric       Gov. Aggregation   FEOH - TE     08008327335000369724        Electric       Gov. Aggregation
AEP - CSP     00040621069813892           Electric       Gov. Aggregation   FEOH - TE     08008352072850020628        Electric       Gov. Aggregation
AEP - CSP     00040621069831024           Electric       Gov. Aggregation   FEOH - TE     08008405515000361015        Electric       Gov. Aggregation
AEP - CSP     00040621073989613           Electric       Gov. Aggregation   FEOH - TE     08008409192930032265        Electric       Gov. Aggregation
AEP - CSP     00040621074092621           Electric       Gov. Aggregation   FEOH - OE     08023838085000314469        Electric       Gov. Aggregation
AEP - CSP     00040621074338563           Electric       Gov. Aggregation   FEOH - OE     08023838540000792653        Electric       Gov. Aggregation
AEP - CSP     00040621074439080           Electric       Gov. Aggregation   FEOH - OE     08023839740000792670        Electric       Gov. Aggregation
AEP - CSP     00040621074519613           Electric       Gov. Aggregation   FEOH - OE     08023839800000792671        Electric       Gov. Aggregation
AEP - CSP     00040621074554575           Electric       Gov. Aggregation   FEOH - OE     08023840650000809533        Electric       Gov. Aggregation
AEP - CSP     00040621074647743           Electric       Gov. Aggregation   FEOH - OE     08023841960001347999        Electric       Gov. Aggregation
AEP - CSP     00040621065144271           Electric       Gov. Aggregation   FEOH - OE     08023843100000789085        Electric       Gov. Aggregation
AEP - CSP     00040621065785561           Electric       Gov. Aggregation   FEOH - OE     08019127700001045704        Electric       Gov. Aggregation
AEP - CSP     00040621066008870           Electric       Gov. Aggregation   FEOH - OE     08019251470001128112        Electric       Gov. Aggregation
AEP - CSP     00040621066062722           Electric       Gov. Aggregation   FEOH - OE     08019437690001336926        Electric       Gov. Aggregation
AEP - CSP     00040621066094411           Electric       Gov. Aggregation   FEOH - OE     08019976620000590610        Electric       Gov. Aggregation
AEP - CSP     00040621066306141           Electric       Gov. Aggregation   FEOH - OE     08020269790000803380        Electric       Gov. Aggregation
AEP - CSP     00040621070044092           Electric       Gov. Aggregation   FEOH - TE     08008095232850021284        Electric       Gov. Aggregation
AEP - CSP     00040621070059265           Electric       Gov. Aggregation   FEOH - TE     08008097552850023077        Electric       Gov. Aggregation
AEP - CSP     00040621070088221           Electric       Gov. Aggregation   FEOH - TE     08008152792850024671        Electric       Gov. Aggregation
AEP - CSP     00040621070174331           Electric       Gov. Aggregation   FEOH - TE     08008159952600091128        Electric       Gov. Aggregation
AEP - CSP     00040621070337033           Electric       Gov. Aggregation   FEOH - TE     08008229852810020628        Electric       Gov. Aggregation
AEP - CSP     00040621070547644           Electric       Gov. Aggregation   FEOH - OE     08023497290000766131        Electric       Gov. Aggregation
AEP - CSP     00040621068039593           Electric       Gov. Aggregation   FEOH - OE     08023498640000766153        Electric       Gov. Aggregation
AEP - CSP     00040621068044323           Electric       Gov. Aggregation   FEOH - OE     08023500590000804885        Electric       Gov. Aggregation
AEP - CSP     00040621068149101           Electric       Gov. Aggregation   FEOH - OE     08023500930000784667        Electric       Gov. Aggregation
AEP - CSP     00040621068152370           Electric       Gov. Aggregation   FEOH - OE     08023503060001402936        Electric       Gov. Aggregation
AEP - CSP     00040621068194004           Electric       Gov. Aggregation   FEOH - OE     08023503350000804946        Electric       Gov. Aggregation
AEP - CSP     00040621068358113           Electric       Gov. Aggregation   FEOH - OE     08023505210000789175        Electric       Gov. Aggregation
AEP - CSP     00040621074251043           Electric       Gov. Aggregation   FEOH - TE     08009363022850018275        Electric       Gov. Aggregation
AEP - CSP     00040621074424930           Electric       Gov. Aggregation   FEOH - TE     08010294542040001272        Electric       Gov. Aggregation
AEP - CSP     00040621074471304           Electric       Gov. Aggregation   FEOH - OE     08023738150000844872        Electric       Gov. Aggregation
AEP - CSP     00040621074501270           Electric       Gov. Aggregation   FEOH - OE     08023738470000844876        Electric       Gov. Aggregation
AEP - CSP     00040621074578621           Electric       Gov. Aggregation   FEOH - OE     08023739540001399785        Electric       Gov. Aggregation
AEP - CSP     00040621074596400           Electric       Gov. Aggregation   FEOH - OE     08023741850000776720        Electric       Gov. Aggregation
AEP - CSP     00040621064982124           Electric       Gov. Aggregation   FEOH - OE     08023742360000792421        Electric       Gov. Aggregation
AEP - CSP     00040621065018873           Electric       Gov. Aggregation   FEOH - OE     08023748610000792510        Electric       Gov. Aggregation
AEP - CSP     00040621065058603           Electric       Gov. Aggregation   FEOH - OE     08006773080000803588        Electric       Gov. Aggregation
AEP - CSP     00040621065109611           Electric       Gov. Aggregation   FEOH - OE     08006773080000803647        Electric       Gov. Aggregation
AEP - CSP     00040621065146291           Electric       Gov. Aggregation   FEOH - OE     08006774940000776716        Electric       Gov. Aggregation
AEP - CSP     00040621065313025           Electric       Gov. Aggregation   FEOH - OE     08006793135000109480        Electric       Gov. Aggregation
AEP - CSP     00040621065340644           Electric       Gov. Aggregation   FEOH - OE     08023844140000789099        Electric       Gov. Aggregation
AEP - CSP     00040621062279522           Electric       Gov. Aggregation   FEOH - OE     08023845490000789119        Electric       Gov. Aggregation
AEP - CSP     00040621062295730           Electric       Gov. Aggregation   FEOH - OE     08023846120000789128        Electric       Gov. Aggregation
AEP - CSP     00040621062317434           Electric       Gov. Aggregation   FEOH - OE     08023847420000789144        Electric       Gov. Aggregation
AEP - CSP     00040621062464044           Electric       Gov. Aggregation   FEOH - OE     08023847760000789153        Electric       Gov. Aggregation
AEP - CSP     00040621062567951           Electric       Gov. Aggregation   FEOH - OE     08023849220000783769        Electric       Gov. Aggregation
AEP - CSP     00040621062639241           Electric       Gov. Aggregation   FEOH - OE     08023880935001252359        Electric       Gov. Aggregation
AEP - CSP     00040621062737980           Electric       Gov. Aggregation   FEOH - TE     08006926692590090446        Electric       Gov. Aggregation
AEP - CSP     00040621069979945           Electric       Gov. Aggregation   FEOH - TE     08006927512600006893        Electric       Gov. Aggregation
AEP - CSP     00040621070021371           Electric       Gov. Aggregation   FEOH - TE     08006927712600006959        Electric       Gov. Aggregation
AEP - CSP     00040621070160434           Electric       Gov. Aggregation   FEOH - OE     08006950640001128795        Electric       Gov. Aggregation
AEP - CSP     00040621070212135           Electric       Gov. Aggregation   FEOH - OE     08006954520001363917        Electric       Gov. Aggregation
AEP - CSP     00040621070217241           Electric       Gov. Aggregation   FEOH - TE     08006996112900008696        Electric       Gov. Aggregation
AEP - CSP     00040621070567135           Electric       Gov. Aggregation   FEOH - TE     08006997212900003439        Electric       Gov. Aggregation
AEP - CSP     00040621070615120           Electric       Gov. Aggregation   FEOH - OE     08021030800000583559        Electric       Gov. Aggregation
AEP - CSP     00040621066327143           Electric       Gov. Aggregation   FEOH - OE     08021179160001509951        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621066341290           Electric       Gov. Aggregation   FEOH - OE     08021232420000587043        Electric       Gov. Aggregation
AEP - CSP     00040621066621264           Electric       Gov. Aggregation   FEOH - TE     08008272362030031611        Electric       Gov. Aggregation
AEP - CSP     00040621066760134           Electric       Gov. Aggregation   FEOH - TE     08008334622420032181        Electric       Gov. Aggregation
AEP - CSP     00040621066768350           Electric       Gov. Aggregation   FEOH - TE     08008353592850021212        Electric       Gov. Aggregation
AEP - CSP     00040621066783710           Electric       Gov. Aggregation   FEOH - TE     08008355872850022938        Electric       Gov. Aggregation
AEP - CSP     00040621066911814           Electric       Gov. Aggregation   FEOH - TE     08008359922850024332        Electric       Gov. Aggregation
AEP - CSP     00040621074652150           Electric       Gov. Aggregation   FEOH - OE     08008395750001327654        Electric       Gov. Aggregation
AEP - CSP     00040621074697893           Electric       Gov. Aggregation   FEOH - OE     08023882160000792357        Electric       Gov. Aggregation
AEP - CSP     00040621074758963           Electric       Gov. Aggregation   FEOH - OE     08023890160001464136        Electric       Gov. Aggregation
AEP - CSP     00040621074768583           Electric       Gov. Aggregation   FEOH - OE     08023912350000789226        Electric       Gov. Aggregation
AEP - CSP     00040621074797243           Electric       Gov. Aggregation   FEOH - OE     08023913510001522080        Electric       Gov. Aggregation
AEP - CSP     00040621074839263           Electric       Gov. Aggregation   FEOH - OE     08023916820000789295        Electric       Gov. Aggregation
AEP - CSP     00040621074878635           Electric       Gov. Aggregation   FEOH - OE     08023950500000789032        Electric       Gov. Aggregation
AEP - CSP     00040621068568404           Electric       Gov. Aggregation   FEOH - OE     08023954060001345288        Electric       Gov. Aggregation
AEP - CSP     00040621068818283           Electric       Gov. Aggregation   FEOH - OE     08021233060000587054        Electric       Gov. Aggregation
AEP - CSP     00040621069048440           Electric       Gov. Aggregation   FEOH - OE     08021235120001328139        Electric       Gov. Aggregation
AEP - CSP     00040621069085871           Electric       Gov. Aggregation   FEOH - OE     08021235210000587080        Electric       Gov. Aggregation
AEP - CSP     00040621069124672           Electric       Gov. Aggregation   FEOH - OE     08021235850000587086        Electric       Gov. Aggregation
AEP - CSP     00040621070620484           Electric       Gov. Aggregation   FEOH - OE     08021235850000587087        Electric       Gov. Aggregation
AEP - CSP     00040621070654710           Electric       Gov. Aggregation   FEOH - OE     08021237950000586799        Electric       Gov. Aggregation
AEP - CSP     00040621070669261           Electric       Gov. Aggregation   FEOH - OE     08021301180001504156        Electric       Gov. Aggregation
AEP - CSP     00040621070714033           Electric       Gov. Aggregation   FEOH - TE     08008461902770013224        Electric       Gov. Aggregation
AEP - CSP     00040621070777045           Electric       Gov. Aggregation   FEOH - TE     08008467902770020571        Electric       Gov. Aggregation
AEP - CSP     00040621070908291           Electric       Gov. Aggregation   FEOH - TE     08008468262770020871        Electric       Gov. Aggregation
AEP - CSP     00040621070921783           Electric       Gov. Aggregation   FEOH - TE     08008540462850021866        Electric       Gov. Aggregation
AEP - CSP     00040621074730621           Electric       Gov. Aggregation   FEOH - TE     08008540662850025866        Electric       Gov. Aggregation
AEP - CSP     00040621074814902           Electric       Gov. Aggregation   FEOH - OE     08008583145001478356        Electric       Gov. Aggregation
AEP - CSP     00040621075057482           Electric       Gov. Aggregation   FEOH - OE     08023507910000784771        Electric       Gov. Aggregation
AEP - CSP     00040621075100563           Electric       Gov. Aggregation   FEOH - OE     08023508110000784774        Electric       Gov. Aggregation
AEP - CSP     00040621075145880           Electric       Gov. Aggregation   FEOH - OE     08023524910000844564        Electric       Gov. Aggregation
AEP - CSP     00040621062986575           Electric       Gov. Aggregation   FEOH - OE     08023525970001428803        Electric       Gov. Aggregation
AEP - CSP     00040621063090661           Electric       Gov. Aggregation   FEOH - OE     08023527710000844829        Electric       Gov. Aggregation
AEP - CSP     00040621063148751           Electric       Gov. Aggregation   FEOH - OE     08023529570000844633        Electric       Gov. Aggregation
AEP - CSP     00040621063228724           Electric       Gov. Aggregation   FEOH - OE     08023546810000849372        Electric       Gov. Aggregation
AEP - CSP     00040621063290792           Electric       Gov. Aggregation   FEOH - TE     08008616162900007689        Electric       Gov. Aggregation
AEP - CSP     00040621063292891           Electric       Gov. Aggregation   FEOH - TE     08008678492770016818        Electric       Gov. Aggregation
AEP - CSP     00040621063309233           Electric       Gov. Aggregation   FEOH - TE     08008678852770016945        Electric       Gov. Aggregation
AEP - CSP     00040621070673682           Electric       Gov. Aggregation   FEOH - TE     08008725572770021592        Electric       Gov. Aggregation
AEP - CSP     00040621070879693           Electric       Gov. Aggregation   FEOH - TE     08008729532300029739        Electric       Gov. Aggregation
AEP - CSP     00040621070888275           Electric       Gov. Aggregation   FEOH - TE     08008737473000009022        Electric       Gov. Aggregation
AEP - CSP     00040621071125265           Electric       Gov. Aggregation   FEOH - TE     08008793432300030480        Electric       Gov. Aggregation
AEP - CSP     00040621071134143           Electric       Gov. Aggregation   FEOH - OE     08021307920001519221        Electric       Gov. Aggregation
AEP - CSP     00040621071210363           Electric       Gov. Aggregation   FEOH - OE     08021370510000603758        Electric       Gov. Aggregation
AEP - CSP     00040621071407601           Electric       Gov. Aggregation   FEOH - OE     08021370690001325096        Electric       Gov. Aggregation
AEP - CSP     00040621074909175           Electric       Gov. Aggregation   FEOH - OE     08021371490000603654        Electric       Gov. Aggregation
AEP - CSP     00040621075125225           Electric       Gov. Aggregation   FEOH - OE     08021374120000603794        Electric       Gov. Aggregation
AEP - CSP     00040621075365903           Electric       Gov. Aggregation   FEOH - OE     08021375040000603974        Electric       Gov. Aggregation
AEP - CSP     00040621075366991           Electric       Gov. Aggregation   FEOH - TE     08007204502600008194        Electric       Gov. Aggregation
AEP - CSP     00040621075406304           Electric       Gov. Aggregation   FEOH - TE     08007209662600003401        Electric       Gov. Aggregation
AEP - CSP     00040621075644125           Electric       Gov. Aggregation   FEOH - TE     08007251602600009937        Electric       Gov. Aggregation
AEP - CSP     00040621075662053           Electric       Gov. Aggregation   FEOH - TE     08007255652900007444        Electric       Gov. Aggregation
AEP - CSP     00040621069205524           Electric       Gov. Aggregation   FEOH - TE     08007300352900010147        Electric       Gov. Aggregation
AEP - CSP     00040621069236053           Electric       Gov. Aggregation   FEOH - OE     08023977360000784633        Electric       Gov. Aggregation
AEP - CSP     00040621069304413           Electric       Gov. Aggregation   FEOH - OE     08024051620001389865        Electric       Gov. Aggregation
AEP - CSP     00040621069333620           Electric       Gov. Aggregation   FEOH - OE     08024054210001498564        Electric       Gov. Aggregation
AEP - CSP     00040621069371955           Electric       Gov. Aggregation   FEOH - OE     08024072080000790293        Electric       Gov. Aggregation
AEP - CSP     00040621069374035           Electric       Gov. Aggregation   FEOH - OE     08024108260001501551        Electric       Gov. Aggregation
AEP - CSP     00040621069378140           Electric       Gov. Aggregation   FEOH - OE     08024113160000806071        Electric       Gov. Aggregation
AEP - CSP     00040621065469705           Electric       Gov. Aggregation   FEOH - OE     08024187340000792413        Electric       Gov. Aggregation
AEP - CSP     00040621065525355           Electric       Gov. Aggregation   FEOH - OE     08023749770001506165        Electric       Gov. Aggregation
AEP - CSP     00040621065530102           Electric       Gov. Aggregation   FEOH - OE     08023770730000806114        Electric       Gov. Aggregation
AEP - CSP     00040621065546893           Electric       Gov. Aggregation   FEOH - OE     08023773290000788927        Electric       Gov. Aggregation
AEP - CSP     00040621065664351           Electric       Gov. Aggregation   FEOH - OE     08023773780000806159        Electric       Gov. Aggregation
AEP - CSP     00040621065723464           Electric       Gov. Aggregation   FEOH - OE     08023774390000788942        Electric       Gov. Aggregation
AEP - CSP     00040621065779995           Electric       Gov. Aggregation   FEOH - OE     08023774810000788949        Electric       Gov. Aggregation
AEP - CSP     00040621075210852           Electric       Gov. Aggregation   FEOH - OE     08023775460000788957        Electric       Gov. Aggregation
AEP - CSP     00040621075256152           Electric       Gov. Aggregation   FEOH - OE     08023546920000849374        Electric       Gov. Aggregation
AEP - CSP     00040621075307671           Electric       Gov. Aggregation   FEOH - OE     08023558745000238682        Electric       Gov. Aggregation
AEP - CSP     00040621075401432           Electric       Gov. Aggregation   FEOH - OE     08023573030000766218        Electric       Gov. Aggregation
AEP - CSP     00040621075450005           Electric       Gov. Aggregation   FEOH - OE     08023574080000778535        Electric       Gov. Aggregation
AEP - CSP     00040621075454373           Electric       Gov. Aggregation   FEOH - OE     08023591080000844654        Electric       Gov. Aggregation
AEP - CSP     00040621075594233           Electric       Gov. Aggregation   FEOH - OE     08023593960001349357        Electric       Gov. Aggregation
AEP - CSP     00040621067008504           Electric       Gov. Aggregation   FEOH - OE     08021443390000587616        Electric       Gov. Aggregation
AEP - CSP     00040621067104612           Electric       Gov. Aggregation   FEOH - OE     08021445640000587645        Electric       Gov. Aggregation
AEP - CSP     00040621067173040           Electric       Gov. Aggregation   FEOH - OE     08021445960000587648        Electric       Gov. Aggregation
AEP - CSP     00040621067176881           Electric       Gov. Aggregation   FEOH - OE     08021447410001508267        Electric       Gov. Aggregation
AEP - CSP     00040621067286012           Electric       Gov. Aggregation   FEOH - OE     08021500450001306780        Electric       Gov. Aggregation
AEP - CSP     00040621071048754           Electric       Gov. Aggregation   FEOH - OE     08021500880000604116        Electric       Gov. Aggregation
AEP - CSP     00040621071143314           Electric       Gov. Aggregation   FEOH - OE     08021502330000604219        Electric       Gov. Aggregation
AEP - CSP     00040621071155562           Electric       Gov. Aggregation   FEOH - OE     08013102090001429174        Electric       Gov. Aggregation
AEP - CSP     00040621071188610           Electric       Gov. Aggregation   FEOH - OE     08013320630000803671        Electric       Gov. Aggregation
AEP - CSP     00040621071245744           Electric       Gov. Aggregation   FEOH - OE     08013715765000336937        Electric       Gov. Aggregation
AEP - CSP     00040621071248080           Electric       Gov. Aggregation   FEOH - TE     08007301912900010907        Electric       Gov. Aggregation
AEP - CSP     00040621071428700           Electric       Gov. Aggregation   FEOH - TE     08007396592850021513        Electric       Gov. Aggregation
AEP - CSP     00040621071432775           Electric       Gov. Aggregation   FEOH - TE     08007397192850022183        Electric       Gov. Aggregation
AEP - CSP     00040621071587824           Electric       Gov. Aggregation   FEOH - TE     08007397912850022356        Electric       Gov. Aggregation
AEP - CSP     00040621071706283           Electric       Gov. Aggregation   FEOH - TE     08007399282850022779        Electric       Gov. Aggregation
AEP - CSP     00040621071753493           Electric       Gov. Aggregation   FEOH - OE     08021507650000604167        Electric       Gov. Aggregation
AEP - CSP     00040621071779010           Electric       Gov. Aggregation   FEOH - OE     08021573490000604112        Electric       Gov. Aggregation
AEP - CSP     00040621071908574           Electric       Gov. Aggregation   FEOH - TE     08021647673000002276        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621063327063           Electric       Gov. Aggregation   FEOH - OE     08021718920000604170        Electric       Gov. Aggregation
AEP - CSP     00040621063327333           Electric       Gov. Aggregation   FEOH - TE     08021785652030031536        Electric       Gov. Aggregation
AEP - CSP     00040621063343154           Electric       Gov. Aggregation   FEOH - OE     08021789460000604239        Electric       Gov. Aggregation
AEP - CSP     00040621063538784           Electric       Gov. Aggregation   FEOH - OE     08021789500000604240        Electric       Gov. Aggregation
AEP - CSP     00040621063815362           Electric       Gov. Aggregation   FEOH - OE     08023775970000806187        Electric       Gov. Aggregation
AEP - CSP     00040621063876683           Electric       Gov. Aggregation   FEOH - OE     08023777560000806209        Electric       Gov. Aggregation
AEP - CSP     00040621063915631           Electric       Gov. Aggregation   FEOH - OE     08023777610000789001        Electric       Gov. Aggregation
AEP - CSP     00040621069542015           Electric       Gov. Aggregation   FEOH - OE     08023789720000791630        Electric       Gov. Aggregation
AEP - CSP     00040621069609215           Electric       Gov. Aggregation   FEOH - OE     08023802180000844918        Electric       Gov. Aggregation
AEP - CSP     00040621069611711           Electric       Gov. Aggregation   FEOH - OE     08023812420001494164        Electric       Gov. Aggregation
AEP - CSP     00040621069724912           Electric       Gov. Aggregation   FEOH - OE     08023818430000849172        Electric       Gov. Aggregation
AEP - CSP     00040621070028542           Electric       Gov. Aggregation   FEOH - OE     08015133800001142980        Electric       Gov. Aggregation
AEP - CSP     00040621070215340           Electric       Gov. Aggregation   FEOH - OE     08016458250000168303        Electric       Gov. Aggregation
AEP - CSP     00040621070665975           Electric       Gov. Aggregation   FEOH - OE     08016759850001310470        Electric       Gov. Aggregation
AEP - CSP     00040621064011444           Electric       Gov. Aggregation   FEOH - OE     08023596640000844714        Electric       Gov. Aggregation
AEP - CSP     00040621064082562           Electric       Gov. Aggregation   FEOH - OE     08023598640000844753        Electric       Gov. Aggregation
AEP - CSP     00040621064366535           Electric       Gov. Aggregation   FEOH - OE     08023600050000786643        Electric       Gov. Aggregation
AEP - CSP     00040621064422410           Electric       Gov. Aggregation   FEOH - OE     08023601650001519603        Electric       Gov. Aggregation
AEP - CSP     00040621064481792           Electric       Gov. Aggregation   FEOH - OE     08023608850000792200        Electric       Gov. Aggregation
AEP - CSP     00040621064557682           Electric       Gov. Aggregation   FEOH - OE     08023631670001529788        Electric       Gov. Aggregation
AEP - CSP     00040621064683152           Electric       Gov. Aggregation   FEOH - OE     08023649410000803766        Electric       Gov. Aggregation
AEP - CSP     00040621075873112           Electric       Gov. Aggregation   FEOH - OE     08023827000000778192        Electric       Gov. Aggregation
AEP - CSP     00040621075919792           Electric       Gov. Aggregation   FEOH - OE     08023829330000782523        Electric       Gov. Aggregation
AEP - CSP     00040621076055413           Electric       Gov. Aggregation   FEOH - OE     08023833260000792575        Electric       Gov. Aggregation
AEP - CSP     00040621076096761           Electric       Gov. Aggregation   FEOH - OE     08023834860000792600        Electric       Gov. Aggregation
AEP - CSP     00040621076279224           Electric       Gov. Aggregation   FEOH - OE     08023835720000792613        Electric       Gov. Aggregation
AEP - CSP     00040621076388682           Electric       Gov. Aggregation   FEOH - OE     08023838660000792655        Electric       Gov. Aggregation
AEP - CSP     00040621076403880           Electric       Gov. Aggregation   FEOH - OE     08023841390001517215        Electric       Gov. Aggregation
AEP - CSP     00040621075788755           Electric       Gov. Aggregation   FEOH - OE     08021932990000587091        Electric       Gov. Aggregation
AEP - CSP     00040621075793584           Electric       Gov. Aggregation   FEOH - TE     08021971302210009309        Electric       Gov. Aggregation
AEP - CSP     00040621075879534           Electric       Gov. Aggregation   FEOH - OE     08022069870000777839        Electric       Gov. Aggregation
AEP - CSP     00040621076007313           Electric       Gov. Aggregation   FEOH - OE     08024190350001478151        Electric       Gov. Aggregation
AEP - CSP     00040621076107274           Electric       Gov. Aggregation   FEOH - OE     08024220340000762656        Electric       Gov. Aggregation
AEP - CSP     00040621076302715           Electric       Gov. Aggregation   FEOH - OE     08024239470000802916        Electric       Gov. Aggregation
AEP - CSP     00040621076331364           Electric       Gov. Aggregation   FEOH - OE     08024249635000195984        Electric       Gov. Aggregation
AEP - CSP     00040621067494853           Electric       Gov. Aggregation   FEOH - OE     08024250870000806115        Electric       Gov. Aggregation
AEP - CSP     00040621067545205           Electric       Gov. Aggregation   FEOH - OE     08024293100000790165        Electric       Gov. Aggregation
AEP - CSP     00040621067546284           Electric       Gov. Aggregation   FEOH - OE     08024293975000331544        Electric       Gov. Aggregation
AEP - CSP     00040621067657054           Electric       Gov. Aggregation   FEOH - OE     08016820570000187235        Electric       Gov. Aggregation
AEP - CSP     00040621067705094           Electric       Gov. Aggregation   FEOH - OE     08016891930000178992        Electric       Gov. Aggregation
AEP - CSP     00040621067973661           Electric       Gov. Aggregation   FEOH - OE     08016895220000186834        Electric       Gov. Aggregation
AEP - CSP     00040621068275462           Electric       Gov. Aggregation   FEOH - OE     08016966020000186513        Electric       Gov. Aggregation
AEP - CSP     00040621066111314           Electric       Gov. Aggregation   FEOH - OE     08017004845000391437        Electric       Gov. Aggregation
AEP - CSP     00040621066172821           Electric       Gov. Aggregation   FEOH - OE     08017127440000803705        Electric       Gov. Aggregation
AEP - CSP     00040621066249903           Electric       Gov. Aggregation   FEOH - OE     08017178150000186839        Electric       Gov. Aggregation
AEP - CSP     00040621066272872           Electric       Gov. Aggregation   FEOH - TE     08008461812770013187        Electric       Gov. Aggregation
AEP - CSP     00040621066484511           Electric       Gov. Aggregation   FEOH - TE     08008466632770019957        Electric       Gov. Aggregation
AEP - CSP     00040621066575661           Electric       Gov. Aggregation   FEOH - TE     08008468652770021254        Electric       Gov. Aggregation
AEP - CSP     00040621071249962           Electric       Gov. Aggregation   FEOH - TE     08008547442900007763        Electric       Gov. Aggregation
AEP - CSP     00040621071253361           Electric       Gov. Aggregation   FEOH - TE     08008604132350092025        Electric       Gov. Aggregation
AEP - CSP     00040621071352321           Electric       Gov. Aggregation   FEOH - TE     08008614685000101845        Electric       Gov. Aggregation
AEP - CSP     00040621071425482           Electric       Gov. Aggregation   FEOH - TE     08008794612300030776        Electric       Gov. Aggregation
AEP - CSP     00040621071593531           Electric       Gov. Aggregation   FEOH - TE     08008797432300031430        Electric       Gov. Aggregation
AEP - CSP     00040621071607625           Electric       Gov. Aggregation   FEOH - TE     08008803452900007617        Electric       Gov. Aggregation
AEP - CSP     00040621071681353           Electric       Gov. Aggregation   FEOH - TE     08008861513000007117        Electric       Gov. Aggregation
AEP - CSP     00040621070707043           Electric       Gov. Aggregation   FEOH - OE     08008863890000803844        Electric       Gov. Aggregation
AEP - CSP     00040621070781671           Electric       Gov. Aggregation   FEOH - TE     08008865712930031811        Electric       Gov. Aggregation
AEP - CSP     00040621070848225           Electric       Gov. Aggregation   FEOH - TE     08008934862390001719        Electric       Gov. Aggregation
AEP - CSP     00040621070942430           Electric       Gov. Aggregation   FEOH - OE     08024293975000331568        Electric       Gov. Aggregation
AEP - CSP     00040621070942930           Electric       Gov. Aggregation   FEOH - OE     08024294410000790181        Electric       Gov. Aggregation
AEP - CSP     00040621071006002           Electric       Gov. Aggregation   FEOH - OE     08024297760001344564        Electric       Gov. Aggregation
AEP - CSP     00040621071061503           Electric       Gov. Aggregation   FEOH - OE     08024300990000802937        Electric       Gov. Aggregation
AEP - CSP     00040621076417534           Electric       Gov. Aggregation   FEOH - OE     08024304060000802987        Electric       Gov. Aggregation
AEP - CSP     00040621076472623           Electric       Gov. Aggregation   FEOH - OE     08024304880001546122        Electric       Gov. Aggregation
AEP - CSP     00040621076512993           Electric       Gov. Aggregation   FEOH - OE     08024305340000803012        Electric       Gov. Aggregation
AEP - CSP     00040621076579515           Electric       Gov. Aggregation   FEOH - OE     08023841735000020914        Electric       Gov. Aggregation
AEP - CSP     00040621076762790           Electric       Gov. Aggregation   FEOH - OE     08023842050000789067        Electric       Gov. Aggregation
AEP - CSP     00040621076866163           Electric       Gov. Aggregation   FEOH - OE     08023842565000239214        Electric       Gov. Aggregation
AEP - CSP     00040621076360865           Electric       Gov. Aggregation   FEOH - OE     08023843370001565906        Electric       Gov. Aggregation
AEP - CSP     00040621076523113           Electric       Gov. Aggregation   FEOH - OE     08023845000001393798        Electric       Gov. Aggregation
AEP - CSP     00040621076531275           Electric       Gov. Aggregation   FEOH - OE     08023845690000789122        Electric       Gov. Aggregation
AEP - CSP     00040621076568841           Electric       Gov. Aggregation   FEOH - OE     08023846930000789140        Electric       Gov. Aggregation
AEP - CSP     00040621076569313           Electric       Gov. Aggregation   FEOH - TE     08022410882080021114        Electric       Gov. Aggregation
AEP - CSP     00040621076689003           Electric       Gov. Aggregation   FEOH - OE     08022411380000592325        Electric       Gov. Aggregation
AEP - CSP     00040621076753275           Electric       Gov. Aggregation   FEOH - OE     08022412660001382661        Electric       Gov. Aggregation
AEP - CSP     00040621072289932           Electric       Gov. Aggregation   FEOH - OE     08022413270001376348        Electric       Gov. Aggregation
AEP - CSP     00040621072292134           Electric       Gov. Aggregation   FEOH - OE     08022414050000592351        Electric       Gov. Aggregation
AEP - CSP     00040621072347185           Electric       Gov. Aggregation   FEOH - OE     08022414990000592367        Electric       Gov. Aggregation
AEP - CSP     00040621072482275           Electric       Gov. Aggregation   FEOH - OE     08022415660000592403        Electric       Gov. Aggregation
AEP - CSP     00040621072497283           Electric       Gov. Aggregation   FEOH - OE     08024309460000790868        Electric       Gov. Aggregation
AEP - CSP     00040621072586494           Electric       Gov. Aggregation   FEOH - OE     08024374680000782486        Electric       Gov. Aggregation
AEP - CSP     00040621064706392           Electric       Gov. Aggregation   FEOH - OE     08024375880000803180        Electric       Gov. Aggregation
AEP - CSP     00040621064733351           Electric       Gov. Aggregation   FEOH - OE     08024376070000803183        Electric       Gov. Aggregation
AEP - CSP     00040621064759670           Electric       Gov. Aggregation   FEOH - OE     08024376570001304094        Electric       Gov. Aggregation
AEP - CSP     00040621064796502           Electric       Gov. Aggregation   FEOH - OE     08024377040000784651        Electric       Gov. Aggregation
AEP - CSP     00040621064965354           Electric       Gov. Aggregation   FEOH - OE     08024396720001544731        Electric       Gov. Aggregation
AEP - CSP     00040621065086884           Electric       Gov. Aggregation   FEOH - TE     08007513962600007468        Electric       Gov. Aggregation
AEP - CSP     00040621065206503           Electric       Gov. Aggregation   FEOH - TE     08007516102900005698        Electric       Gov. Aggregation
AEP - CSP     00040621068434341           Electric       Gov. Aggregation   FEOH - TE     08007580652900009415        Electric       Gov. Aggregation
AEP - CSP     00040621068661122           Electric       Gov. Aggregation   FEOH - TE     08007581372900009542        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621068738441           Electric       Gov. Aggregation   FEOH - TE     08007612492690091421        Electric       Gov. Aggregation
AEP - CSP     00040621068760845           Electric       Gov. Aggregation   FEOH - TE     08007687912130006432        Electric       Gov. Aggregation
AEP - CSP     00040621068819261           Electric       Gov. Aggregation   FEOH - OE     08023848890000789171        Electric       Gov. Aggregation
AEP - CSP     00040621068867151           Electric       Gov. Aggregation   FEOH - OE     08023853830000786462        Electric       Gov. Aggregation
AEP - CSP     00040621068881075           Electric       Gov. Aggregation   FEOH - OE     08023879530000849699        Electric       Gov. Aggregation
AEP - CSP     00040621066595604           Electric       Gov. Aggregation   FEOH - OE     08023900300000792678        Electric       Gov. Aggregation
AEP - CSP     00040621066775602           Electric       Gov. Aggregation   FEOH - OE     08023901700001356118        Electric       Gov. Aggregation
AEP - CSP     00040621067021924           Electric       Gov. Aggregation   FEOH - OE     08023903570000792729        Electric       Gov. Aggregation
AEP - CSP     00040621067045164           Electric       Gov. Aggregation   FEOH - OE     08023908150000770988        Electric       Gov. Aggregation
AEP - CSP     00040621067091535           Electric       Gov. Aggregation   FEOH - OE     08017545210000177946        Electric       Gov. Aggregation
AEP - CSP     00040621067158681           Electric       Gov. Aggregation   FEOH - OE     08017750820000179020        Electric       Gov. Aggregation
AEP - CSP     00040621067172462           Electric       Gov. Aggregation   FEOH - TE     08017891212030033091        Electric       Gov. Aggregation
AEP - CSP     00040621072654631           Electric       Gov. Aggregation   FEOH - OE     08017989620000168245        Electric       Gov. Aggregation
AEP - CSP     00040621072827735           Electric       Gov. Aggregation   FEOH - OE     08018050690001484316        Electric       Gov. Aggregation
AEP - CSP     00040621072926855           Electric       Gov. Aggregation   FEOH - OE     08018058130000186811        Electric       Gov. Aggregation
AEP - CSP     00040621072943623           Electric       Gov. Aggregation   FEOH - OE     08018115200001474997        Electric       Gov. Aggregation
AEP - CSP     00040621072985242           Electric       Gov. Aggregation   FEOH - OE     08022416715000294298        Electric       Gov. Aggregation
AEP - CSP     00040621073036392           Electric       Gov. Aggregation   FEOH - OE     08022430530001504172        Electric       Gov. Aggregation
AEP - CSP     00040621073065144           Electric       Gov. Aggregation   FEOH - OE     08022480620000584156        Electric       Gov. Aggregation
AEP - CSP     00040621067211825           Electric       Gov. Aggregation   FEOH - OE     08022483610000584039        Electric       Gov. Aggregation
AEP - CSP     00040621067496493           Electric       Gov. Aggregation   FEOH - OE     08022484770000584271        Electric       Gov. Aggregation
AEP - CSP     00040621067603601           Electric       Gov. Aggregation   FEOH - OE     08022485120000584104        Electric       Gov. Aggregation
AEP - CSP     00040621067746465           Electric       Gov. Aggregation   FEOH - OE     08022486750000584167        Electric       Gov. Aggregation
AEP - CSP     00040621067872423           Electric       Gov. Aggregation   FEOH - OE     08024406060000777849        Electric       Gov. Aggregation
AEP - CSP     00040621067901572           Electric       Gov. Aggregation   FEOH - OE     08024408440000777886        Electric       Gov. Aggregation
AEP - CSP     00040621068134715           Electric       Gov. Aggregation   FEOH - OE     08024440140000782567        Electric       Gov. Aggregation
AEP - CSP     00040621073131154           Electric       Gov. Aggregation   FEOH - OE     08024441110000804149        Electric       Gov. Aggregation
AEP - CSP     00040621073142270           Electric       Gov. Aggregation   FEOH - OE     08024442450000803963        Electric       Gov. Aggregation
AEP - CSP     00040621073162581           Electric       Gov. Aggregation   FEOH - OE     08024442510001455703        Electric       Gov. Aggregation
AEP - CSP     00040621073283505           Electric       Gov. Aggregation   FEOH - OE     08024446920000803321        Electric       Gov. Aggregation
AEP - CSP     00040621073304035           Electric       Gov. Aggregation   FEOH - OE     08023661300001474375        Electric       Gov. Aggregation
AEP - CSP     00040621073333733           Electric       Gov. Aggregation   FEOH - OE     08023663755001440529        Electric       Gov. Aggregation
AEP - CSP     00040621073427021           Electric       Gov. Aggregation   FEOH - OE     08023663820001500588        Electric       Gov. Aggregation
AEP - CSP     00040621071217521           Electric       Gov. Aggregation   FEOH - OE     08023665330001042178        Electric       Gov. Aggregation
AEP - CSP     00040621071338085           Electric       Gov. Aggregation   FEOH - OE     08023665980001554423        Electric       Gov. Aggregation
AEP - CSP     00040621071350782           Electric       Gov. Aggregation   FEOH - OE     08023670930000782666        Electric       Gov. Aggregation
AEP - CSP     00040621071398775           Electric       Gov. Aggregation   FEOH - OE     08023683830001498474        Electric       Gov. Aggregation
AEP - CSP     00040621071401835           Electric       Gov. Aggregation   FEOH - TE     08008939162420032251        Electric       Gov. Aggregation
AEP - CSP     00040621071471884           Electric       Gov. Aggregation   FEOH - TE     08008941192600009106        Electric       Gov. Aggregation
AEP - CSP     00040621071538594           Electric       Gov. Aggregation   FEOH - TE     08008942242640014246        Electric       Gov. Aggregation
AEP - CSP     00040621068977084           Electric       Gov. Aggregation   FEOH - TE     08008947492640020163        Electric       Gov. Aggregation
AEP - CSP     00040621069046584           Electric       Gov. Aggregation   FEOH - TE     08008994322490090483        Electric       Gov. Aggregation
AEP - CSP     00040621069152313           Electric       Gov. Aggregation   FEOH - TE     08009015642680020290        Electric       Gov. Aggregation
AEP - CSP     00040621069166291           Electric       Gov. Aggregation   FEOH - TE     08007716422420090630        Electric       Gov. Aggregation
AEP - CSP     00040621069266753           Electric       Gov. Aggregation   FEOH - TE     08007716423000006394        Electric       Gov. Aggregation
AEP - CSP     00040621069393461           Electric       Gov. Aggregation   FEOH - TE     08007716423000007848        Electric       Gov. Aggregation
AEP - CSP     00040621069541793           Electric       Gov. Aggregation   FEOH - OE     08007751920000803204        Electric       Gov. Aggregation
AEP - CSP     00040621073434693           Electric       Gov. Aggregation   FEOH - TE     08007778532850019953        Electric       Gov. Aggregation
AEP - CSP     00040621073447524           Electric       Gov. Aggregation   FEOH - TE     08007813002330093892        Electric       Gov. Aggregation
AEP - CSP     00040621073453130           Electric       Gov. Aggregation   FEOH - TE     08007816202850017502        Electric       Gov. Aggregation
AEP - CSP     00040621073469311           Electric       Gov. Aggregation   FEOH - TE     08008685622930032373        Electric       Gov. Aggregation
AEP - CSP     00040621073501592           Electric       Gov. Aggregation   FEOH - TE     08008687642810018557        Electric       Gov. Aggregation
AEP - CSP     00040621073530685           Electric       Gov. Aggregation   FEOH - TE     08008726252880093802        Electric       Gov. Aggregation
AEP - CSP     00040621073800800           Electric       Gov. Aggregation   FEOH - TE     08008726862080092879        Electric       Gov. Aggregation
AEP - CSP     00040621065401751           Electric       Gov. Aggregation   FEOH - TE     08008792842300030437        Electric       Gov. Aggregation
AEP - CSP     00040621065407750           Electric       Gov. Aggregation   FEOH - TE     08008793072300030423        Electric       Gov. Aggregation
AEP - CSP     00040621065411770           Electric       Gov. Aggregation   FEOH - TE     08008793522300030526        Electric       Gov. Aggregation
AEP - CSP     00040621065558754           Electric       Gov. Aggregation   FEOH - OE     08023910450000789195        Electric       Gov. Aggregation
AEP - CSP     00040621065661104           Electric       Gov. Aggregation   FEOH - OE     08023912790000789233        Electric       Gov. Aggregation
AEP - CSP     00040621065963072           Electric       Gov. Aggregation   FEOH - OE     08023913960000789251        Electric       Gov. Aggregation
AEP - CSP     00040621071551600           Electric       Gov. Aggregation   FEOH - OE     08023914570000789260        Electric       Gov. Aggregation
AEP - CSP     00040621071636902           Electric       Gov. Aggregation   FEOH - OE     08023915410000789272        Electric       Gov. Aggregation
AEP - CSP     00040621071799042           Electric       Gov. Aggregation   FEOH - OE     08023916550000789291        Electric       Gov. Aggregation
AEP - CSP     00040621071836340           Electric       Gov. Aggregation   FEOH - OE     08023956790000791566        Electric       Gov. Aggregation
AEP - CSP     00040621072153980           Electric       Gov. Aggregation   FEOH - OE     08018149810000168320        Electric       Gov. Aggregation
AEP - CSP     00040621072194965           Electric       Gov. Aggregation   FEOH - OE     08018283140000803765        Electric       Gov. Aggregation
AEP - CSP     00040621068429815           Electric       Gov. Aggregation   FEOH - OE     08018326630001376416        Electric       Gov. Aggregation
AEP - CSP     00040621068535435           Electric       Gov. Aggregation   FEOH - OE     08018327320000187153        Electric       Gov. Aggregation
AEP - CSP     00040621068735353           Electric       Gov. Aggregation   FEOH - OE     08022576095001382739        Electric       Gov. Aggregation
AEP - CSP     00040621068772102           Electric       Gov. Aggregation   FEOH - OE     08022620790001440801        Electric       Gov. Aggregation
AEP - CSP     00040621068865060           Electric       Gov. Aggregation   FEOH - OE     08022623050001496461        Electric       Gov. Aggregation
AEP - CSP     00040621068953531           Electric       Gov. Aggregation   FEOH - OE     08022625290001556681        Electric       Gov. Aggregation
AEP - CSP     00040621071758834           Electric       Gov. Aggregation   FEOH - TE     08022654982140091351        Electric       Gov. Aggregation
AEP - CSP     00040621071949843           Electric       Gov. Aggregation   FEOH - OE     08022883140000786492        Electric       Gov. Aggregation
AEP - CSP     00040621072039752           Electric       Gov. Aggregation   FEOH - OE     08024447770000803332        Electric       Gov. Aggregation
AEP - CSP     00040621072446952           Electric       Gov. Aggregation   FEOH - OE     08024462600000790327        Electric       Gov. Aggregation
AEP - CSP     00040621072623052           Electric       Gov. Aggregation   FEOH - OE     08024463250000790734        Electric       Gov. Aggregation
AEP - CSP     00040621076968720           Electric       Gov. Aggregation   FEOH - OE     08024464490000790355        Electric       Gov. Aggregation
AEP - CSP     00040621077014602           Electric       Gov. Aggregation   FEOH - OE     08024464890000790359        Electric       Gov. Aggregation
AEP - CSP     00040621077134862           Electric       Gov. Aggregation   FEOH - OE     08024468950000790416        Electric       Gov. Aggregation
AEP - CSP     00040621077174711           Electric       Gov. Aggregation   FEOH - OE     08024469560000790425        Electric       Gov. Aggregation
AEP - CSP     00040621077417235           Electric       Gov. Aggregation   FEOH - OE     08012129210000791459        Electric       Gov. Aggregation
AEP - CSP     00040621077517772           Electric       Gov. Aggregation   FEOH - TE     08012998042210012197        Electric       Gov. Aggregation
AEP - CSP     00040621077532912           Electric       Gov. Aggregation   FEOH - OE     08023684630001457205        Electric       Gov. Aggregation
AEP - CSP     00040621076890560           Electric       Gov. Aggregation   FEOH - OE     08023695160001391793        Electric       Gov. Aggregation
AEP - CSP     00040621076898844           Electric       Gov. Aggregation   FEOH - OE     08023704740000788799        Electric       Gov. Aggregation
AEP - CSP     00040621076931604           Electric       Gov. Aggregation   FEOH - OE     08023706270000806047        Electric       Gov. Aggregation
AEP - CSP     00040621077375464           Electric       Gov. Aggregation   FEOH - OE     08023714470001398648        Electric       Gov. Aggregation
AEP - CSP     00040621077498310           Electric       Gov. Aggregation   FEOH - OE     08023731510000844796        Electric       Gov. Aggregation
AEP - CSP     00040621073859523           Electric       Gov. Aggregation   FEOH - OE     08023731990000844802        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621074019235           Electric       Gov. Aggregation   FEOH - TE     08007818362850019972        Electric       Gov. Aggregation
AEP - CSP     00040621074068652           Electric       Gov. Aggregation   FEOH - TE     08007819522850021142        Electric       Gov. Aggregation
AEP - CSP     00040621074122243           Electric       Gov. Aggregation   FEOH - TE     08007831262850020806        Electric       Gov. Aggregation
AEP - CSP     00040621074623304           Electric       Gov. Aggregation   FEOH - TE     08007831792850020900        Electric       Gov. Aggregation
AEP - CSP     00040621074646454           Electric       Gov. Aggregation   FEOH - TE     08007832042850020986        Electric       Gov. Aggregation
AEP - CSP     00040621069543083           Electric       Gov. Aggregation   FEOH - TE     08007837202850023025        Electric       Gov. Aggregation
AEP - CSP     00040621069721474           Electric       Gov. Aggregation   FEOH - TE     08007861342850022342        Electric       Gov. Aggregation
AEP - CSP     00040621069797162           Electric       Gov. Aggregation   FEOH - TE     08008794222300030653        Electric       Gov. Aggregation
AEP - CSP     00040621069877100           Electric       Gov. Aggregation   FEOH - TE     08008798442300032836        Electric       Gov. Aggregation
AEP - CSP     00040621069964044           Electric       Gov. Aggregation   FEOH - TE     08008799242400091529        Electric       Gov. Aggregation
AEP - CSP     00040621070069303           Electric       Gov. Aggregation   FEOH - TE     08008868872210013889        Electric       Gov. Aggregation
AEP - CSP     00040621070102471           Electric       Gov. Aggregation   FEOH - TE     08008872712600004160        Electric       Gov. Aggregation
AEP - CSP     00040621072211084           Electric       Gov. Aggregation   FEOH - TE     08008876092600007966        Electric       Gov. Aggregation
AEP - CSP     00040621072215592           Electric       Gov. Aggregation   FEOH - TE     08008943543000005612        Electric       Gov. Aggregation
AEP - CSP     00040621072267913           Electric       Gov. Aggregation   FEOH - OE     08023958990000803949        Electric       Gov. Aggregation
AEP - CSP     00040621072334495           Electric       Gov. Aggregation   FEOH - OE     08023969130000786788        Electric       Gov. Aggregation
AEP - CSP     00040621072415145           Electric       Gov. Aggregation   FEOH - OE     08024004410000767150        Electric       Gov. Aggregation
AEP - CSP     00040621072530972           Electric       Gov. Aggregation   FEOH - OE     08024020470000804278        Electric       Gov. Aggregation
AEP - CSP     00040621072600135           Electric       Gov. Aggregation   FEOH - OE     08024024230000771025        Electric       Gov. Aggregation
AEP - CSP     00040621066220192           Electric       Gov. Aggregation   FEOH - OE     08024054750000785589        Electric       Gov. Aggregation
AEP - CSP     00040621066484925           Electric       Gov. Aggregation   FEOH - OE     08024077280000790636        Electric       Gov. Aggregation
AEP - CSP     00040621066498780           Electric       Gov. Aggregation   FEOH - OE     08018527690001318057        Electric       Gov. Aggregation
AEP - CSP     00040621066563291           Electric       Gov. Aggregation   FEOH - OE     08018596590000186470        Electric       Gov. Aggregation
AEP - CSP     00040621066631872           Electric       Gov. Aggregation   FEOH - OE     08018597490000186486        Electric       Gov. Aggregation
AEP - CSP     00040621066657845           Electric       Gov. Aggregation   FEOH - OE     08018598700001380596        Electric       Gov. Aggregation
AEP - CSP     00040621066707521           Electric       Gov. Aggregation   FEOH - OE     08018599255000348214        Electric       Gov. Aggregation
AEP - CSP     00040621069034240           Electric       Gov. Aggregation   FEOH - OE     08022887980000791737        Electric       Gov. Aggregation
AEP - CSP     00040621069055133           Electric       Gov. Aggregation   FEOH - OE     08022982220001403874        Electric       Gov. Aggregation
AEP - CSP     00040621069338894           Electric       Gov. Aggregation   FEOH - OE     08023000550000603659        Electric       Gov. Aggregation
AEP - CSP     00040621069717570           Electric       Gov. Aggregation   FEOH - OE     08023002100000782517        Electric       Gov. Aggregation
AEP - CSP     00040621069740844           Electric       Gov. Aggregation   FEOH - OE     08023006220001521747        Electric       Gov. Aggregation
AEP - CSP     00040621069962893           Electric       Gov. Aggregation   FEOH - OE     08023024480001368397        Electric       Gov. Aggregation
AEP - CSP     00040621070035032           Electric       Gov. Aggregation   FEOH - OE     08023025570000841248        Electric       Gov. Aggregation
AEP - CSP     00040621077603545           Electric       Gov. Aggregation   FEOH - OE     08024480790001568481        Electric       Gov. Aggregation
AEP - CSP     00040621077621064           Electric       Gov. Aggregation   FEOH - OE     08024481455000208901        Electric       Gov. Aggregation
AEP - CSP     00040621077641261           Electric       Gov. Aggregation   FEOH - OE     08024482720000810141        Electric       Gov. Aggregation
AEP - CSP     00040621077897412           Electric       Gov. Aggregation   FEOH - OE     08024497500001043514        Electric       Gov. Aggregation
AEP - CSP     00040621077969634           Electric       Gov. Aggregation   FEOH - OE     08024511590000782730        Electric       Gov. Aggregation
AEP - CSP     00040621078340413           Electric       Gov. Aggregation   FEOH - OE     08024511650000782732        Electric       Gov. Aggregation
AEP - CSP     00040621077839934           Electric       Gov. Aggregation   FEOH - OE     08024513350000803413        Electric       Gov. Aggregation
AEP - CSP     00040621077956544           Electric       Gov. Aggregation   FEOH - OE     08023732570000844810        Electric       Gov. Aggregation
AEP - CSP     00040621078076861           Electric       Gov. Aggregation   FEOH - OE     08023733060000844814        Electric       Gov. Aggregation
AEP - CSP     00040621078190440           Electric       Gov. Aggregation   FEOH - OE     08023735070001407900        Electric       Gov. Aggregation
AEP - CSP     00040621078298062           Electric       Gov. Aggregation   FEOH - OE     08023736830000844856        Electric       Gov. Aggregation
AEP - CSP     00040621078376144           Electric       Gov. Aggregation   FEOH - OE     08023743010000776735        Electric       Gov. Aggregation
AEP - CSP     00040621078383133           Electric       Gov. Aggregation   FEOH - OE     08023745590000776765        Electric       Gov. Aggregation
AEP - CSP     00040621072780655           Electric       Gov. Aggregation   FEOH - OE     08023745590000776771        Electric       Gov. Aggregation
AEP - CSP     00040621072878855           Electric       Gov. Aggregation   FEOH - TE     08007862922850022765        Electric       Gov. Aggregation
AEP - CSP     00040621072951033           Electric       Gov. Aggregation   FEOH - TE     08007866432030027859        Electric       Gov. Aggregation
AEP - CSP     00040621072968681           Electric       Gov. Aggregation   FEOH - TE     08007901902850024065        Electric       Gov. Aggregation
AEP - CSP     00040621073028371           Electric       Gov. Aggregation   FEOH - TE     08007905262420033112        Electric       Gov. Aggregation
AEP - CSP     00040621073069962           Electric       Gov. Aggregation   FEOH - TE     08007907382150091034        Electric       Gov. Aggregation
AEP - CSP     00040621073170311           Electric       Gov. Aggregation   FEOH - TE     08007910352640020938        Electric       Gov. Aggregation
AEP - CSP     00040621070136711           Electric       Gov. Aggregation   FEOH - TE     08007959072810020281        Electric       Gov. Aggregation
AEP - CSP     00040621070151274           Electric       Gov. Aggregation   FEOH - OE     08014595520000803783        Electric       Gov. Aggregation
AEP - CSP     00040621070158550           Electric       Gov. Aggregation   FEOH - OE     08016380050000178041        Electric       Gov. Aggregation
AEP - CSP     00040621070175233           Electric       Gov. Aggregation   FEOH - TE     08009060042680022276        Electric       Gov. Aggregation
AEP - CSP     00040621070197441           Electric       Gov. Aggregation   FEOH - TE     08009063572680022863        Electric       Gov. Aggregation
AEP - CSP     00040621070253704           Electric       Gov. Aggregation   FEOH - OE     08009228410000803822        Electric       Gov. Aggregation
AEP - CSP     00040621074802523           Electric       Gov. Aggregation   FEOH - OE     08011428295000130199        Electric       Gov. Aggregation
AEP - CSP     00040621074812641           Electric       Gov. Aggregation   FEOH - OE     08011635440001423559        Electric       Gov. Aggregation
AEP - CSP     00040621074910104           Electric       Gov. Aggregation   FEOH - OE     08011768970000791128        Electric       Gov. Aggregation
AEP - CSP     00040621074996795           Electric       Gov. Aggregation   FEOH - OE     08012155450001130964        Electric       Gov. Aggregation
AEP - CSP     00040621075137992           Electric       Gov. Aggregation   FEOH - OE     08012167895000286567        Electric       Gov. Aggregation
AEP - CSP     00040621075205710           Electric       Gov. Aggregation   FEOH - TE     08012603945000211405        Electric       Gov. Aggregation
AEP - CSP     00040621075408593           Electric       Gov. Aggregation   FEOH - OE     08024120800000784268        Electric       Gov. Aggregation
AEP - CSP     00040621070036754           Electric       Gov. Aggregation   FEOH - TE     08024164942640015962        Electric       Gov. Aggregation
AEP - CSP     00040621070077194           Electric       Gov. Aggregation   FEOH - OE     08024180900000790437        Electric       Gov. Aggregation
AEP - CSP     00040621070115175           Electric       Gov. Aggregation   FEOH - OE     08024193540001341685        Electric       Gov. Aggregation
AEP - CSP     00040621070145354           Electric       Gov. Aggregation   FEOH - OE     08024195035000277165        Electric       Gov. Aggregation
AEP - CSP     00040621070216151           Electric       Gov. Aggregation   FEOH - OE     08024222670001486827        Electric       Gov. Aggregation
AEP - CSP     00040621070570315           Electric       Gov. Aggregation   FEOH - OE     08024222760001370180        Electric       Gov. Aggregation
AEP - CSP     00040621078531263           Electric       Gov. Aggregation   FEOH - OE     08023025880001438456        Electric       Gov. Aggregation
AEP - CSP     00040621078555933           Electric       Gov. Aggregation   FEOH - OE     08023057220000765217        Electric       Gov. Aggregation
AEP - CSP     00040621078613063           Electric       Gov. Aggregation   FEOH - OE     08023084310000603920        Electric       Gov. Aggregation
AEP - CSP     00040621078694055           Electric       Gov. Aggregation   FEOH - OE     08023093550000790940        Electric       Gov. Aggregation
AEP - CSP     00040621078779754           Electric       Gov. Aggregation   FEOH - OE     08023095250000790197        Electric       Gov. Aggregation
AEP - CSP     00040621078820020           Electric       Gov. Aggregation   FEOH - OE     08023133200000765300        Electric       Gov. Aggregation
AEP - CSP     00040621079191582           Electric       Gov. Aggregation   FEOH - OE     08023149720000603983        Electric       Gov. Aggregation
AEP - CSP     00040621078502851           Electric       Gov. Aggregation   FEOH - OE     08024513490001333709        Electric       Gov. Aggregation
AEP - CSP     00040621078668705           Electric       Gov. Aggregation   FEOH - OE     08024514440000803431        Electric       Gov. Aggregation
AEP - CSP     00040621078906975           Electric       Gov. Aggregation   FEOH - OE     08024514580001545371        Electric       Gov. Aggregation
AEP - CSP     00040621078969125           Electric       Gov. Aggregation   FEOH - OE     08024515500000803445        Electric       Gov. Aggregation
AEP - CSP     00040621078975590           Electric       Gov. Aggregation   FEOH - OE     08024519540000782872        Electric       Gov. Aggregation
AEP - CSP     00040621079025114           Electric       Gov. Aggregation   FEOH - OE     08024530550000790439        Electric       Gov. Aggregation
AEP - CSP     00040621079032154           Electric       Gov. Aggregation   FEOH - OE     08024532430001333888        Electric       Gov. Aggregation
AEP - CSP     00040621073271384           Electric       Gov. Aggregation   FEOH - OE     08018599770001399625        Electric       Gov. Aggregation
AEP - CSP     00040621073369535           Electric       Gov. Aggregation   FEOH - OE     08018660620000186516        Electric       Gov. Aggregation
AEP - CSP     00040621073377383           Electric       Gov. Aggregation   FEOH - OE     08018732830000186484        Electric       Gov. Aggregation
AEP - CSP     00040621073409831           Electric       Gov. Aggregation   FEOH - OE     08019094860000765236        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621073457515           Electric       Gov. Aggregation   FEOH - OE     08019095165000263838        Electric       Gov. Aggregation
AEP - CSP     00040621073519633           Electric       Gov. Aggregation   FEOH - OE     08023752310000805078        Electric       Gov. Aggregation
AEP - CSP     00040621073681121           Electric       Gov. Aggregation   FEOH - OE     08023772010000788907        Electric       Gov. Aggregation
AEP - CSP     00040621070434955           Electric       Gov. Aggregation   FEOH - OE     08023772390000788913        Electric       Gov. Aggregation
AEP - CSP     00040621070446822           Electric       Gov. Aggregation   FEOH - OE     08023775780000788993        Electric       Gov. Aggregation
AEP - CSP     00040621070457845           Electric       Gov. Aggregation   FEOH - OE     08023777150000788994        Electric       Gov. Aggregation
AEP - CSP     00040621070547955           Electric       Gov. Aggregation   FEOH - OE     08023779770000789031        Electric       Gov. Aggregation
AEP - CSP     00040621070585780           Electric       Gov. Aggregation   FEOH - OE     08023800210000844895        Electric       Gov. Aggregation
AEP - CSP     00040621070587065           Electric       Gov. Aggregation   FEOH - TE     08008008092410092046        Electric       Gov. Aggregation
AEP - CSP     00040621072635831           Electric       Gov. Aggregation   FEOH - TE     08008021552850026037        Electric       Gov. Aggregation
AEP - CSP     00040621072657324           Electric       Gov. Aggregation   FEOH - TE     08008026932850018097        Electric       Gov. Aggregation
AEP - CSP     00040621072741622           Electric       Gov. Aggregation   FEOH - OE     08008041270000790959        Electric       Gov. Aggregation
AEP - CSP     00040621072775543           Electric       Gov. Aggregation   FEOH - TE     08008091642850019761        Electric       Gov. Aggregation
AEP - CSP     00040621072918285           Electric       Gov. Aggregation   FEOH - TE     08008092462850020084        Electric       Gov. Aggregation
AEP - CSP     00040621072932522           Electric       Gov. Aggregation   FEOH - OE     08016453360000168238        Electric       Gov. Aggregation
AEP - CSP     00040621075515992           Electric       Gov. Aggregation   FEOH - OE     08016456600000168285        Electric       Gov. Aggregation
AEP - CSP     00040621075522664           Electric       Gov. Aggregation   FEOH - OE     08016456660001337680        Electric       Gov. Aggregation
AEP - CSP     00040621075543102           Electric       Gov. Aggregation   FEOH - OE     08016457070000168290        Electric       Gov. Aggregation
AEP - CSP     00040621075803035           Electric       Gov. Aggregation   FEOH - OE     08016459480000168332        Electric       Gov. Aggregation
AEP - CSP     00040621075803883           Electric       Gov. Aggregation   FEOH - OE     08016535400001130034        Electric       Gov. Aggregation
AEP - CSP     00040621073718843           Electric       Gov. Aggregation   FEOH - OE     08012865860001518587        Electric       Gov. Aggregation
AEP - CSP     00040621073740162           Electric       Gov. Aggregation   FEOH - OE     08013040070000803927        Electric       Gov. Aggregation
AEP - CSP     00040621073888592           Electric       Gov. Aggregation   FEOH - OE     08024234510000780228        Electric       Gov. Aggregation
AEP - CSP     00040621073992740           Electric       Gov. Aggregation   FEOH - OE     08024243710000790312        Electric       Gov. Aggregation
AEP - CSP     00040621074139660           Electric       Gov. Aggregation   FEOH - OE     08024249510000803069        Electric       Gov. Aggregation
AEP - CSP     00040621074176384           Electric       Gov. Aggregation   FEOH - OE     08024293975000331514        Electric       Gov. Aggregation
AEP - CSP     00040621074294154           Electric       Gov. Aggregation   FEOH - OE     08024293975000331517        Electric       Gov. Aggregation
AEP - CSP     00040621066785231           Electric       Gov. Aggregation   FEOH - OE     08024293975000331523        Electric       Gov. Aggregation
AEP - CSP     00040621066808373           Electric       Gov. Aggregation   FEOH - OE     08024293975000331531        Electric       Gov. Aggregation
AEP - CSP     00040621066878254           Electric       Gov. Aggregation   FEOH - OE     08023154980000780092        Electric       Gov. Aggregation
AEP - CSP     00040621066932863           Electric       Gov. Aggregation   FEOH - OE     08023157190000780133        Electric       Gov. Aggregation
AEP - CSP     00040621066961145           Electric       Gov. Aggregation   FEOH - OE     08023163270001313696        Electric       Gov. Aggregation
AEP - CSP     00040621066992591           Electric       Gov. Aggregation   FEOH - OE     08023163970000792365        Electric       Gov. Aggregation
AEP - CSP     00040621067080393           Electric       Gov. Aggregation   FEOH - OE     08023164220000792360        Electric       Gov. Aggregation
AEP - CSP     00040621070595591           Electric       Gov. Aggregation   FEOH - OE     08023170330000809776        Electric       Gov. Aggregation
AEP - CSP     00040621070710132           Electric       Gov. Aggregation   FEOH - OE     08023225880000780250        Electric       Gov. Aggregation
AEP - CSP     00040621070838284           Electric       Gov. Aggregation   FEOH - OE     08024533730000790485        Electric       Gov. Aggregation
AEP - CSP     00040621071202713           Electric       Gov. Aggregation   FEOH - OE     08024534080000790490        Electric       Gov. Aggregation
AEP - CSP     00040621071219360           Electric       Gov. Aggregation   FEOH - OE     08024535300000790508        Electric       Gov. Aggregation
AEP - CSP     00040621071314255           Electric       Gov. Aggregation   FEOH - OE     08024539450001530330        Electric       Gov. Aggregation
AEP - CSP     00040621071349061           Electric       Gov. Aggregation   FEOH - OE     08024551650000778081        Electric       Gov. Aggregation
AEP - CSP     00040621079204065           Electric       Gov. Aggregation   FEOH - OE     08024552280000778090        Electric       Gov. Aggregation
AEP - CSP     00040621079278250           Electric       Gov. Aggregation   FEOH - OE     08024552340000778091        Electric       Gov. Aggregation
AEP - CSP     00040621079284953           Electric       Gov. Aggregation   FEOH - OE     08019295450001044224        Electric       Gov. Aggregation
AEP - CSP     00040621079348843           Electric       Gov. Aggregation   FEOH - OE     08023802070001326223        Electric       Gov. Aggregation
AEP - CSP     00040621079563122           Electric       Gov. Aggregation   FEOH - OE     08023817970000849170        Electric       Gov. Aggregation
AEP - CSP     00040621079614175           Electric       Gov. Aggregation   FEOH - OE     08023829390000789125        Electric       Gov. Aggregation
AEP - CSP     00040621079073625           Electric       Gov. Aggregation   FEOH - OE     08023833560000792579        Electric       Gov. Aggregation
AEP - CSP     00040621079094294           Electric       Gov. Aggregation   FEOH - OE     08023835300000792607        Electric       Gov. Aggregation
AEP - CSP     00040621079160383           Electric       Gov. Aggregation   FEOH - OE     08023835440000792609        Electric       Gov. Aggregation
AEP - CSP     00040621079198514           Electric       Gov. Aggregation   FEOH - OE     08023837170000792623        Electric       Gov. Aggregation
AEP - CSP     00040621079677495           Electric       Gov. Aggregation   FEOH - OE     08016757560000187193        Electric       Gov. Aggregation
AEP - CSP     00040621079699305           Electric       Gov. Aggregation   FEOH - OE     08016758520001405031        Electric       Gov. Aggregation
AEP - CSP     00040621079953750           Electric       Gov. Aggregation   FEOH - OE     08016758790001410299        Electric       Gov. Aggregation
AEP - CSP     00040621070735103           Electric       Gov. Aggregation   FEOH - OE     08016820700000187760        Electric       Gov. Aggregation
AEP - CSP     00040621070774501           Electric       Gov. Aggregation   FEOH - OE     08017056465001289787        Electric       Gov. Aggregation
AEP - CSP     00040621070876344           Electric       Gov. Aggregation   FEOH - OE     08017168330001130942        Electric       Gov. Aggregation
AEP - CSP     00040621071057310           Electric       Gov. Aggregation   FEOH - OE     08014248070000803715        Electric       Gov. Aggregation
AEP - CSP     00040621071166503           Electric       Gov. Aggregation   FEOH - OE     08015518800001520429        Electric       Gov. Aggregation
AEP - CSP     00040621072985291           Electric       Gov. Aggregation   FEOH - OE     08016282640001127519        Electric       Gov. Aggregation
AEP - CSP     00040621073348802           Electric       Gov. Aggregation   FEOH - TE     08008094412850020967        Electric       Gov. Aggregation
AEP - CSP     00040621073360683           Electric       Gov. Aggregation   FEOH - TE     08008095062270092550        Electric       Gov. Aggregation
AEP - CSP     00040621073370892           Electric       Gov. Aggregation   FEOH - TE     08008099982380031182        Electric       Gov. Aggregation
AEP - CSP     00040621074050014           Electric       Gov. Aggregation   FEOH - TE     08008153912890091547        Electric       Gov. Aggregation
AEP - CSP     00040621074148185           Electric       Gov. Aggregation   FEOH - TE     08008198742900008057        Electric       Gov. Aggregation
AEP - CSP     00040621075827280           Electric       Gov. Aggregation   FEOH - TE     08008206812770021446        Electric       Gov. Aggregation
AEP - CSP     00040621076297732           Electric       Gov. Aggregation   FEOH - TE     08008208252860090763        Electric       Gov. Aggregation
AEP - CSP     00040621076328312           Electric       Gov. Aggregation   FEOH - OE     08024293975000331538        Electric       Gov. Aggregation
AEP - CSP     00040621076450055           Electric       Gov. Aggregation   FEOH - OE     08024293975000331562        Electric       Gov. Aggregation
AEP - CSP     00040621076580440           Electric       Gov. Aggregation   FEOH - OE     08024293975000331563        Electric       Gov. Aggregation
AEP - CSP     00040621074306865           Electric       Gov. Aggregation   FEOH - OE     08024296360000790210        Electric       Gov. Aggregation
AEP - CSP     00040621074384270           Electric       Gov. Aggregation   FEOH - OE     08024301690000802951        Electric       Gov. Aggregation
AEP - CSP     00040621074420801           Electric       Gov. Aggregation   FEOH - OE     08024301990000802957        Electric       Gov. Aggregation
AEP - CSP     00040621074624053           Electric       Gov. Aggregation   FEOH - OE     08024302440000802964        Electric       Gov. Aggregation
AEP - CSP     00040621074788803           Electric       Gov. Aggregation   FEOH - OE     08023277570000765694        Electric       Gov. Aggregation
AEP - CSP     00040621074818442           Electric       Gov. Aggregation   FEOH - OE     08023277690000765696        Electric       Gov. Aggregation
AEP - CSP     00040621074958983           Electric       Gov. Aggregation   FEOH - OE     08023277910000765700        Electric       Gov. Aggregation
AEP - CSP     00040621076631163           Electric       Gov. Aggregation   FEOH - OE     08023294740000765238        Electric       Gov. Aggregation
AEP - CSP     00040621076643030           Electric       Gov. Aggregation   FEOH - OE     08023303090000810039        Electric       Gov. Aggregation
AEP - CSP     00040621076676973           Electric       Gov. Aggregation   FEOH - OE     08023303700000810047        Electric       Gov. Aggregation
AEP - CSP     00040621076745463           Electric       Gov. Aggregation   FEOH - OE     08023304900000810072        Electric       Gov. Aggregation
AEP - CSP     00040621076749902           Electric       Gov. Aggregation   FEOH - OE     08024553510000778383        Electric       Gov. Aggregation
AEP - CSP     00040621076907870           Electric       Gov. Aggregation   FEOH - OE     08024570950000803527        Electric       Gov. Aggregation
AEP - CSP     00040621067111204           Electric       Gov. Aggregation   FEOH - OE     08024573405001319055        Electric       Gov. Aggregation
AEP - CSP     00040621067268901           Electric       Gov. Aggregation   FEOH - OE     08024575020001546741        Electric       Gov. Aggregation
AEP - CSP     00040621067356974           Electric       Gov. Aggregation   FEOH - OE     08024578370000803638        Electric       Gov. Aggregation
AEP - CSP     00040621067386101           Electric       Gov. Aggregation   FEOH - OE     08024591070000804307        Electric       Gov. Aggregation
AEP - CSP     00040621067395072           Electric       Gov. Aggregation   FEOH - OE     08024600150000786316        Electric       Gov. Aggregation
AEP - CSP     00040621067459122           Electric       Gov. Aggregation   FEOH - OE     08023837450000792638        Electric       Gov. Aggregation
AEP - CSP     00040621067488301           Electric       Gov. Aggregation   FEOH - OE     08023837760000792642        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621074968825           Electric       Gov. Aggregation   FEOH - OE     08023838600000792654        Electric       Gov. Aggregation
AEP - CSP     00040621075009402           Electric       Gov. Aggregation   FEOH - OE     08023838850000792658        Electric       Gov. Aggregation
AEP - CSP     00040621075043612           Electric       Gov. Aggregation   FEOH - OE     08023840980001495465        Electric       Gov. Aggregation
AEP - CSP     00040621075144172           Electric       Gov. Aggregation   FEOH - OE     08023841460001517809        Electric       Gov. Aggregation
AEP - CSP     00040621075393543           Electric       Gov. Aggregation   FEOH - OE     08023843200000789087        Electric       Gov. Aggregation
AEP - CSP     00040621075494705           Electric       Gov. Aggregation   FEOH - OE     08017540740000177791        Electric       Gov. Aggregation
AEP - CSP     00040621071373365           Electric       Gov. Aggregation   FEOH - OE     08017544600000177942        Electric       Gov. Aggregation
AEP - CSP     00040621071921421           Electric       Gov. Aggregation   FEOH - OE     08017618360001510238        Electric       Gov. Aggregation
AEP - CSP     00040621071961473           Electric       Gov. Aggregation   FEOH - OE     08017681950000178937        Electric       Gov. Aggregation
AEP - CSP     00040621072078242           Electric       Gov. Aggregation   FEOH - OE     08017682270000178940        Electric       Gov. Aggregation
AEP - CSP     00040621072082984           Electric       Gov. Aggregation   FEOH - OE     08017689970000178869        Electric       Gov. Aggregation
AEP - CSP     00040621072196104           Electric       Gov. Aggregation   FEOH - OE     08017752390001542424        Electric       Gov. Aggregation
AEP - CSP     00040621079807970           Electric       Gov. Aggregation   FEOH - OE     08016362090001128288        Electric       Gov. Aggregation
AEP - CSP     00040621079837141           Electric       Gov. Aggregation   FEOH - OE     08016450040000178959        Electric       Gov. Aggregation
AEP - CSP     00040621079921112           Electric       Gov. Aggregation   FEOH - OE     08016453790000168244        Electric       Gov. Aggregation
AEP - CSP     00040621080392355           Electric       Gov. Aggregation   FEOH - OE     08016457680000168293        Electric       Gov. Aggregation
AEP - CSP     00040621080400405           Electric       Gov. Aggregation   FEOH - OE     08016458190000168302        Electric       Gov. Aggregation
AEP - CSP     00040621080424245           Electric       Gov. Aggregation   FEOH - OE     08016459200000168314        Electric       Gov. Aggregation
AEP - CSP     00040621080367793           Electric       Gov. Aggregation   FEOH - OE     08016520270000168328        Electric       Gov. Aggregation
AEP - CSP     00040621080403441           Electric       Gov. Aggregation   FEOH - OE     08017756570001381097        Electric       Gov. Aggregation
AEP - CSP     00040621080705391           Electric       Gov. Aggregation   FEOH - OE     08017982840000177876        Electric       Gov. Aggregation
AEP - CSP     00040621080712163           Electric       Gov. Aggregation   FEOH - OE     08018123580001505860        Electric       Gov. Aggregation
AEP - CSP     00040621080891161           Electric       Gov. Aggregation   FEOH - OE     08018259690001449085        Electric       Gov. Aggregation
AEP - CSP     00040621081264970           Electric       Gov. Aggregation   FEOH - OE     08018323240000177943        Electric       Gov. Aggregation
AEP - CSP     00040621081285975           Electric       Gov. Aggregation   FEOH - OE     08018324570000187115        Electric       Gov. Aggregation
AEP - CSP     00040621074310312           Electric       Gov. Aggregation   FEOH - OE     08018326200000187126        Electric       Gov. Aggregation
AEP - CSP     00040621074314310           Electric       Gov. Aggregation   FEOH - OE     08020130530001127477        Electric       Gov. Aggregation
AEP - CSP     00040621074506742           Electric       Gov. Aggregation   FEOH - OE     08020445760001423913        Electric       Gov. Aggregation
AEP - CSP     00040621074565373           Electric       Gov. Aggregation   FEOH - OE     08020910020000592315        Electric       Gov. Aggregation
AEP - CSP     00040621074619842           Electric       Gov. Aggregation   FEOH - OE     08024369300000765272        Electric       Gov. Aggregation
AEP - CSP     00040621074788711           Electric       Gov. Aggregation   FEOH - OE     08024372770000803133        Electric       Gov. Aggregation
AEP - CSP     00040621074899425           Electric       Gov. Aggregation   FEOH - OE     08024373870000803152        Electric       Gov. Aggregation
AEP - CSP     00040621076997355           Electric       Gov. Aggregation   FEOH - OE     08024374480001350651        Electric       Gov. Aggregation
AEP - CSP     00040621077081763           Electric       Gov. Aggregation   FEOH - OE     08024374560000782484        Electric       Gov. Aggregation
AEP - CSP     00040621077215943           Electric       Gov. Aggregation   FEOH - OE     08024375810000803179        Electric       Gov. Aggregation
AEP - CSP     00040621077222692           Electric       Gov. Aggregation   FEOH - OE     08024377010000782519        Electric       Gov. Aggregation
AEP - CSP     00040621077271863           Electric       Gov. Aggregation   FEOH - TE     08008229052810020328        Electric       Gov. Aggregation
AEP - CSP     00040621077369284           Electric       Gov. Aggregation   FEOH - TE     08008273122030032031        Electric       Gov. Aggregation
AEP - CSP     00040621077379513           Electric       Gov. Aggregation   FEOH - TE     08008299842850019718        Electric       Gov. Aggregation
AEP - CSP     00040621071287885           Electric       Gov. Aggregation   FEOH - TE     08008327172200091831        Electric       Gov. Aggregation
AEP - CSP     00040621071333184           Electric       Gov. Aggregation   FEOH - TE     08008327252250091891        Electric       Gov. Aggregation
AEP - CSP     00040621071389660           Electric       Gov. Aggregation   FEOH - TE     08008350592810015526        Electric       Gov. Aggregation
AEP - CSP     00040621071550205           Electric       Gov. Aggregation   FEOH - OE     08008351310000803625        Electric       Gov. Aggregation
AEP - CSP     00040621071714482           Electric       Gov. Aggregation   FEOH - OE     08024601430000786332        Electric       Gov. Aggregation
AEP - CSP     00040621071768440           Electric       Gov. Aggregation   FEOH - OE     08024601940000786339        Electric       Gov. Aggregation
AEP - CSP     00040621071917080           Electric       Gov. Aggregation   FEOH - OE     08024602265001239613        Electric       Gov. Aggregation
AEP - CSP     00040621075817484           Electric       Gov. Aggregation   FEOH - OE     08024603630000790690        Electric       Gov. Aggregation
AEP - CSP     00040621076079943           Electric       Gov. Aggregation   FEOH - OE     08024604390000786374        Electric       Gov. Aggregation
AEP - CSP     00040621076236251           Electric       Gov. Aggregation   FEOH - OE     08024605370000786386        Electric       Gov. Aggregation
AEP - CSP     00040621076370754           Electric       Gov. Aggregation   FEOH - OE     08024605730000790725        Electric       Gov. Aggregation
AEP - CSP     00040621076393521           Electric       Gov. Aggregation   FEOH - OE     08023845350000789117        Electric       Gov. Aggregation
AEP - CSP     00040621076664692           Electric       Gov. Aggregation   FEOH - OE     08023845810001480081        Electric       Gov. Aggregation
AEP - CSP     00040621072331851           Electric       Gov. Aggregation   FEOH - OE     08023847570000789150        Electric       Gov. Aggregation
AEP - CSP     00040621072460961           Electric       Gov. Aggregation   FEOH - OE     08023848140000789161        Electric       Gov. Aggregation
AEP - CSP     00040621072500700           Electric       Gov. Aggregation   FEOH - OE     08023888220001566506        Electric       Gov. Aggregation
AEP - CSP     00040621072612421           Electric       Gov. Aggregation   FEOH - OE     08023890400001550209        Electric       Gov. Aggregation
AEP - CSP     00040621072656335           Electric       Gov. Aggregation   FEOH - OE     08023902630001540257        Electric       Gov. Aggregation
AEP - CSP     00040621072728234           Electric       Gov. Aggregation   FEOH - OE     08023306080000810089        Electric       Gov. Aggregation
AEP - CSP     00040621072772182           Electric       Gov. Aggregation   FEOH - TE     08023306542600008259        Electric       Gov. Aggregation
AEP - CSP     00040621080428800           Electric       Gov. Aggregation   FEOH - OE     08023310120000791562        Electric       Gov. Aggregation
AEP - CSP     00040621080472154           Electric       Gov. Aggregation   FEOH - OE     08023315920000791654        Electric       Gov. Aggregation
AEP - CSP     00040621080477994           Electric       Gov. Aggregation   FEOH - OE     08023360960000789313        Electric       Gov. Aggregation
AEP - CSP     00040621080521475           Electric       Gov. Aggregation   FEOH - OE     08023361220000789315        Electric       Gov. Aggregation
AEP - CSP     00040621080670133           Electric       Gov. Aggregation   FEOH - OE     08023362930000784394        Electric       Gov. Aggregation
AEP - CSP     00040621080940314           Electric       Gov. Aggregation   FEOH - OE     08018327230000187151        Electric       Gov. Aggregation
AEP - CSP     00040621080992363           Electric       Gov. Aggregation   FEOH - OE     08018327710000187156        Electric       Gov. Aggregation
AEP - CSP     00040621067524490           Electric       Gov. Aggregation   FEOH - OE     08018333280001376966        Electric       Gov. Aggregation
AEP - CSP     00040621067598401           Electric       Gov. Aggregation   FEOH - OE     08018515410000590600        Electric       Gov. Aggregation
AEP - CSP     00040621067908385           Electric       Gov. Aggregation   FEOH - OE     08018592440000186407        Electric       Gov. Aggregation
AEP - CSP     00040621068023044           Electric       Gov. Aggregation   FEOH - OE     08018593500000177932        Electric       Gov. Aggregation
AEP - CSP     00040621068161525           Electric       Gov. Aggregation   FEOH - OE     08018595100001338814        Electric       Gov. Aggregation
AEP - CSP     00040621068209964           Electric       Gov. Aggregation   FEOH - TE     08020934092040001479        Electric       Gov. Aggregation
AEP - CSP     00040621068234225           Electric       Gov. Aggregation   FEOH - OE     08020969900000583568        Electric       Gov. Aggregation
AEP - CSP     00040621081290310           Electric       Gov. Aggregation   FEOH - OE     08021230550000586894        Electric       Gov. Aggregation
AEP - CSP     00040621081394050           Electric       Gov. Aggregation   FEOH - OE     08021236520000587092        Electric       Gov. Aggregation
AEP - CSP     00040621081425135           Electric       Gov. Aggregation   FEOH - OE     08021236790000587096        Electric       Gov. Aggregation
AEP - CSP     00040621081456510           Electric       Gov. Aggregation   FEOH - OE     08021237690000586804        Electric       Gov. Aggregation
AEP - CSP     00040621081572335           Electric       Gov. Aggregation   FEOH - OE     08021237690000586805        Electric       Gov. Aggregation
AEP - CSP     00040621081684701           Electric       Gov. Aggregation   FEOH - OE     08024377300001558768        Electric       Gov. Aggregation
AEP - CSP     00040621081729872           Electric       Gov. Aggregation   FEOH - OE     08024379350001372803        Electric       Gov. Aggregation
AEP - CSP     00040621074903844           Electric       Gov. Aggregation   FEOH - OE     08024406840000777862        Electric       Gov. Aggregation
AEP - CSP     00040621075003881           Electric       Gov. Aggregation   FEOH - OE     08024407910000777876        Electric       Gov. Aggregation
AEP - CSP     00040621075051260           Electric       Gov. Aggregation   FEOH - OE     08024437940000789133        Electric       Gov. Aggregation
AEP - CSP     00040621075234773           Electric       Gov. Aggregation   FEOH - OE     08024440080000782566        Electric       Gov. Aggregation
AEP - CSP     00040621075269794           Electric       Gov. Aggregation   FEOH - OE     08024441870001486962        Electric       Gov. Aggregation
AEP - CSP     00040621075403593           Electric       Gov. Aggregation   FEOH - TE     08008401682850024948        Electric       Gov. Aggregation
AEP - CSP     00040621075403911           Electric       Gov. Aggregation   FEOH - TE     08008409192930032251        Electric       Gov. Aggregation
AEP - CSP     00040621077470081           Electric       Gov. Aggregation   FEOH - TE     08008468522770021201        Electric       Gov. Aggregation
AEP - CSP     00040621077554802           Electric       Gov. Aggregation   FEOH - TE     08008476312290092889        Electric       Gov. Aggregation
AEP - CSP     00040621077670711           Electric       Gov. Aggregation   FEOH - TE     08008678852770016978        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621077776123           Electric       Gov. Aggregation   FEOH - TE     08008683052930031830        Electric       Gov. Aggregation
AEP - CSP     00040621078014760           Electric       Gov. Aggregation   FEOH - TE     08008794792300030846        Electric       Gov. Aggregation
AEP - CSP     00040621078038935           Electric       Gov. Aggregation   FEOH - OE     08016530530001045274        Electric       Gov. Aggregation
AEP - CSP     00040621076678791           Electric       Gov. Aggregation   FEOH - OE     08016757740000187196        Electric       Gov. Aggregation
AEP - CSP     00040621076868255           Electric       Gov. Aggregation   FEOH - OE     08016757780000187197        Electric       Gov. Aggregation
AEP - CSP     00040621076991704           Electric       Gov. Aggregation   FEOH - OE     08016820980000187756        Electric       Gov. Aggregation
AEP - CSP     00040621077175873           Electric       Gov. Aggregation   FEOH - OE     08016821290000187245        Electric       Gov. Aggregation
AEP - CSP     00040621077291124           Electric       Gov. Aggregation   FEOH - OE     08016925220000844569        Electric       Gov. Aggregation
AEP - CSP     00040621077317915           Electric       Gov. Aggregation   FEOH - OE     08017545000000177944        Electric       Gov. Aggregation
AEP - CSP     00040621072911594           Electric       Gov. Aggregation   FEOH - OE     08024606750000841290        Electric       Gov. Aggregation
AEP - CSP     00040621072928721           Electric       Gov. Aggregation   FEOH - OE     08024607140000841295        Electric       Gov. Aggregation
AEP - CSP     00040621072942844           Electric       Gov. Aggregation   FEOH - OE     08024607710000786424        Electric       Gov. Aggregation
AEP - CSP     00040621073091455           Electric       Gov. Aggregation   FEOH - OE     08024630280000778202        Electric       Gov. Aggregation
AEP - CSP     00040621073718825           Electric       Gov. Aggregation   FEOH - OE     08024630360000778203        Electric       Gov. Aggregation
AEP - CSP     00040621073749354           Electric       Gov. Aggregation   FEOH - OE     08024632220000778231        Electric       Gov. Aggregation
AEP - CSP     00040621081081670           Electric       Gov. Aggregation   FEOH - OE     08024633150000778243        Electric       Gov. Aggregation
AEP - CSP     00040621081092161           Electric       Gov. Aggregation   FEOH - OE     08023902790000792716        Electric       Gov. Aggregation
AEP - CSP     00040621081213774           Electric       Gov. Aggregation   FEOH - OE     08023908430000790643        Electric       Gov. Aggregation
AEP - CSP     00040621081286301           Electric       Gov. Aggregation   FEOH - OE     08023910560001527639        Electric       Gov. Aggregation
AEP - CSP     00040621081398271           Electric       Gov. Aggregation   FEOH - OE     08023911100000789206        Electric       Gov. Aggregation
AEP - CSP     00040621081460952           Electric       Gov. Aggregation   FEOH - OE     08023911210000789208        Electric       Gov. Aggregation
AEP - CSP     00040621081493565           Electric       Gov. Aggregation   FEOH - OE     08023913420000789242        Electric       Gov. Aggregation
AEP - CSP     00040621072076814           Electric       Gov. Aggregation   FEOH - OE     08023914250000789255        Electric       Gov. Aggregation
AEP - CSP     00040621072129172           Electric       Gov. Aggregation   FEOH - OE     08023364780000805530        Electric       Gov. Aggregation
AEP - CSP     00040621072184571           Electric       Gov. Aggregation   FEOH - OE     08023365300001382557        Electric       Gov. Aggregation
AEP - CSP     00040621072260655           Electric       Gov. Aggregation   FEOH - OE     08023366210000784441        Electric       Gov. Aggregation
AEP - CSP     00040621072402492           Electric       Gov. Aggregation   FEOH - OE     08023372220000810177        Electric       Gov. Aggregation
AEP - CSP     00040621072447422           Electric       Gov. Aggregation   FEOH - OE     08023372250000810178        Electric       Gov. Aggregation
AEP - CSP     00040621072717911           Electric       Gov. Aggregation   FEOH - OE     08023378910001500675        Electric       Gov. Aggregation
AEP - CSP     00040621075413824           Electric       Gov. Aggregation   FEOH - OE     08023378980001501449        Electric       Gov. Aggregation
AEP - CSP     00040621075659401           Electric       Gov. Aggregation   FEOH - OE     08018595290000186447        Electric       Gov. Aggregation
AEP - CSP     00040621075732150           Electric       Gov. Aggregation   FEOH - OE     08018596000000186440        Electric       Gov. Aggregation
AEP - CSP     00040621075818301           Electric       Gov. Aggregation   FEOH - OE     08018596140000186461        Electric       Gov. Aggregation
AEP - CSP     00040621075822002           Electric       Gov. Aggregation   FEOH - OE     08018597240000186482        Electric       Gov. Aggregation
AEP - CSP     00040621075869165           Electric       Gov. Aggregation   FEOH - OE     08018597850000186490        Electric       Gov. Aggregation
AEP - CSP     00040621075986123           Electric       Gov. Aggregation   FEOH - OE     08018598480000186496        Electric       Gov. Aggregation
AEP - CSP     00040621068273245           Electric       Gov. Aggregation   FEOH - OE     08021238130000586798        Electric       Gov. Aggregation
AEP - CSP     00040621068320311           Electric       Gov. Aggregation   FEOH - OE     08021238440001427308        Electric       Gov. Aggregation
AEP - CSP     00040621068498022           Electric       Gov. Aggregation   FEOH - OE     08021308940000603632        Electric       Gov. Aggregation
AEP - CSP     00040621068614862           Electric       Gov. Aggregation   FEOH - OE     08021309260000603636        Electric       Gov. Aggregation
AEP - CSP     00040621068690804           Electric       Gov. Aggregation   FEOH - OE     08021309720000603981        Electric       Gov. Aggregation
AEP - CSP     00040621068754680           Electric       Gov. Aggregation   FEOH - OE     08021372260000603755        Electric       Gov. Aggregation
AEP - CSP     00040621068869184           Electric       Gov. Aggregation   FEOH - OE     08021373680000603788        Electric       Gov. Aggregation
AEP - CSP     00040621077463351           Electric       Gov. Aggregation   FEOH - OE     08024442390000803559        Electric       Gov. Aggregation
AEP - CSP     00040621077486051           Electric       Gov. Aggregation   FEOH - OE     08024444200000782628        Electric       Gov. Aggregation
AEP - CSP     00040621077536062           Electric       Gov. Aggregation   FEOH - OE     08024445995000167074        Electric       Gov. Aggregation
AEP - CSP     00040621077618444           Electric       Gov. Aggregation   FEOH - OE     08024447220000803325        Electric       Gov. Aggregation
AEP - CSP     00040621077681043           Electric       Gov. Aggregation   FEOH - OE     08024447440000802945        Electric       Gov. Aggregation
AEP - CSP     00040621077690064           Electric       Gov. Aggregation   FEOH - OE     08024447440000803328        Electric       Gov. Aggregation
AEP - CSP     00040621077786872           Electric       Gov. Aggregation   FEOH - OE     08024447500000788761        Electric       Gov. Aggregation
AEP - CSP     00040621081763723           Electric       Gov. Aggregation   FEOH - TE     08008797332300031406        Electric       Gov. Aggregation
AEP - CSP     00040621081783271           Electric       Gov. Aggregation   FEOH - TE     08008799943000003293        Electric       Gov. Aggregation
AEP - CSP     00040621081811972           Electric       Gov. Aggregation   FEOH - TE     08008804032900007814        Electric       Gov. Aggregation
AEP - CSP     00040621081957851           Electric       Gov. Aggregation   FEOH - TE     08008870402600003449        Electric       Gov. Aggregation
AEP - CSP     00040621082040321           Electric       Gov. Aggregation   FEOH - TE     08008871652600003966        Electric       Gov. Aggregation
AEP - CSP     00040621082042990           Electric       Gov. Aggregation   FEOH - TE     08008874432600007576        Electric       Gov. Aggregation
AEP - CSP     00040621081610131           Electric       Gov. Aggregation   FEOH - TE     08008878832170014369        Electric       Gov. Aggregation
AEP - CSP     00040621081676585           Electric       Gov. Aggregation   FEOH - OE     08024633940001405758        Electric       Gov. Aggregation
AEP - CSP     00040621081683895           Electric       Gov. Aggregation   FEOH - OE     08024634420000778261        Electric       Gov. Aggregation
AEP - CSP     00040621081794851           Electric       Gov. Aggregation   FEOH - OE     08024635000000778270        Electric       Gov. Aggregation
AEP - CSP     00040621081795913           Electric       Gov. Aggregation   FEOH - OE     08024635090000789017        Electric       Gov. Aggregation
AEP - CSP     00040621081822020           Electric       Gov. Aggregation   FEOH - OE     08024640410001341299        Electric       Gov. Aggregation
AEP - CSP     00040621072852725           Electric       Gov. Aggregation   FEOH - OE     08024642820000803700        Electric       Gov. Aggregation
AEP - CSP     00040621072925361           Electric       Gov. Aggregation   FEOH - OE     08024644300000803723        Electric       Gov. Aggregation
AEP - CSP     00040621072954252           Electric       Gov. Aggregation   FEOH - OE     08023381220000791729        Electric       Gov. Aggregation
AEP - CSP     00040621073059191           Electric       Gov. Aggregation   FEOH - OE     08023383060000791758        Electric       Gov. Aggregation
AEP - CSP     00040621073253172           Electric       Gov. Aggregation   FEOH - OE     08023383630001482798        Electric       Gov. Aggregation
AEP - CSP     00040621073335122           Electric       Gov. Aggregation   FEOH - OE     08023407730000803941        Electric       Gov. Aggregation
AEP - CSP     00040621078063574           Electric       Gov. Aggregation   FEOH - OE     08023418200000767113        Electric       Gov. Aggregation
AEP - CSP     00040621078071631           Electric       Gov. Aggregation   FEOH - OE     08023430820001518140        Electric       Gov. Aggregation
AEP - CSP     00040621078269713           Electric       Gov. Aggregation   FEOH - OE     08023432465000344440        Electric       Gov. Aggregation
AEP - CSP     00040621078594182           Electric       Gov. Aggregation   FEOH - OE     08023915940000789281        Electric       Gov. Aggregation
AEP - CSP     00040621078618832           Electric       Gov. Aggregation   FEOH - OE     08023960360000809550        Electric       Gov. Aggregation
AEP - CSP     00040621073788071           Electric       Gov. Aggregation   FEOH - OE     08023964770000805471        Electric       Gov. Aggregation
AEP - CSP     00040621073796690           Electric       Gov. Aggregation   FEOH - OE     08023989930000788735        Electric       Gov. Aggregation
AEP - CSP     00040621073804700           Electric       Gov. Aggregation   FEOH - OE     08024002380000789042        Electric       Gov. Aggregation
AEP - CSP     00040621073875145           Electric       Gov. Aggregation   FEOH - OE     08024003070000767134        Electric       Gov. Aggregation
AEP - CSP     00040621073959123           Electric       Gov. Aggregation   FEOH - OE     08024004610000767152        Electric       Gov. Aggregation
AEP - CSP     00040621074007960           Electric       Gov. Aggregation   FEOH - OE     08021374940000603820        Electric       Gov. Aggregation
AEP - CSP     00040621074030304           Electric       Gov. Aggregation   FEOH - OE     08021447270001446565        Electric       Gov. Aggregation
AEP - CSP     00040621076116913           Electric       Gov. Aggregation   FEOH - OE     08021447350001465786        Electric       Gov. Aggregation
AEP - CSP     00040621076143525           Electric       Gov. Aggregation   FEOH - OE     08021447460001464111        Electric       Gov. Aggregation
AEP - CSP     00040621076317391           Electric       Gov. Aggregation   FEOH - OE     08021447830001483833        Electric       Gov. Aggregation
AEP - CSP     00040621076363925           Electric       Gov. Aggregation   FEOH - OE     08021448360001507173        Electric       Gov. Aggregation
AEP - CSP     00040621076422702           Electric       Gov. Aggregation   FEOH - OE     08018662230001368173        Electric       Gov. Aggregation
AEP - CSP     00040621076425824           Electric       Gov. Aggregation   FEOH - OE     08018663570000186750        Electric       Gov. Aggregation
AEP - CSP     00040621076434275           Electric       Gov. Aggregation   FEOH - OE     08019916710000803711        Electric       Gov. Aggregation
AEP - CSP     00040621069071732           Electric       Gov. Aggregation   FEOH - TE     08008949502640020853        Electric       Gov. Aggregation
AEP - CSP     00040621069074131           Electric       Gov. Aggregation   FEOH - TE     08009016102680020389        Electric       Gov. Aggregation
AEP - CSP     00040621069403573           Electric       Gov. Aggregation   FEOH - TE     08009016742680021606        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621069441491           Electric       Gov. Aggregation   FEOH - TE     08009061212680022469        Electric       Gov. Aggregation
AEP - CSP     00040621069927520           Electric       Gov. Aggregation   FEOH - TE     08009065122300030831        Electric       Gov. Aggregation
AEP - CSP     00040621069937781           Electric       Gov. Aggregation   FEOH - TE     08009125732390001584        Electric       Gov. Aggregation
AEP - CSP     00040621070076881           Electric       Gov. Aggregation   FEOH - OE     08024448860000782691        Electric       Gov. Aggregation
AEP - CSP     00040621077794270           Electric       Gov. Aggregation   FEOH - OE     08024449580000803356        Electric       Gov. Aggregation
AEP - CSP     00040621077823254           Electric       Gov. Aggregation   FEOH - OE     08024459910000804336        Electric       Gov. Aggregation
AEP - CSP     00040621078309811           Electric       Gov. Aggregation   FEOH - OE     08024464310000790352        Electric       Gov. Aggregation
AEP - CSP     00040621078336274           Electric       Gov. Aggregation   FEOH - OE     08024465030000790361        Electric       Gov. Aggregation
AEP - CSP     00040621078411074           Electric       Gov. Aggregation   FEOH - OE     08024465720000790372        Electric       Gov. Aggregation
AEP - CSP     00040621073523880           Electric       Gov. Aggregation   FEOH - OE     08024465960000790375        Electric       Gov. Aggregation
AEP - CSP     00040621073554795           Electric       Gov. Aggregation   FEOH - OE     08017545100000177945        Electric       Gov. Aggregation
AEP - CSP     00040621073603301           Electric       Gov. Aggregation   FEOH - OE     08017689870000178989        Electric       Gov. Aggregation
AEP - CSP     00040621073667102           Electric       Gov. Aggregation   FEOH - OE     08017761390000186430        Electric       Gov. Aggregation
AEP - CSP     00040621073773494           Electric       Gov. Aggregation   FEOH - OE     08018050330001482326        Electric       Gov. Aggregation
AEP - CSP     00040621073802751           Electric       Gov. Aggregation   FEOH - OE     08018146250001490407        Electric       Gov. Aggregation
AEP - CSP     00040621074031633           Electric       Gov. Aggregation   FEOH - OE     08024004700000767153        Electric       Gov. Aggregation
AEP - CSP     00040621074101752           Electric       Gov. Aggregation   FEOH - OE     08024074520000788920        Electric       Gov. Aggregation
AEP - CSP     00040621074113362           Electric       Gov. Aggregation   FEOH - OE     08024099720000766104        Electric       Gov. Aggregation
AEP - CSP     00040621074375183           Electric       Gov. Aggregation   FEOH - OE     08024121940000784286        Electric       Gov. Aggregation
AEP - CSP     00040621074433700           Electric       Gov. Aggregation   FEOH - OE     08024127070000792349        Electric       Gov. Aggregation
AEP - CSP     00040621074439722           Electric       Gov. Aggregation   FEOH - OE     08024141210000792640        Electric       Gov. Aggregation
AEP - CSP     00040621074488845           Electric       Gov. Aggregation   FEOH - OE     08021500880000603571        Electric       Gov. Aggregation
AEP - CSP     00040621076441881           Electric       Gov. Aggregation   FEOH - OE     08021675555001397251        Electric       Gov. Aggregation
AEP - CSP     00040621076530400           Electric       Gov. Aggregation   FEOH - OE     08021767640000590609        Electric       Gov. Aggregation
AEP - CSP     00040621076614195           Electric       Gov. Aggregation   FEOH - OE     08021789590000604241        Electric       Gov. Aggregation
AEP - CSP     00040621076628192           Electric       Gov. Aggregation   FEOH - TE     08021900012040003685        Electric       Gov. Aggregation
AEP - CSP     00040621076690721           Electric       Gov. Aggregation   FEOH - TE     08022034222370094294        Electric       Gov. Aggregation
AEP - CSP     00040621076751581           Electric       Gov. Aggregation   FEOH - OE     08024646550000783779        Electric       Gov. Aggregation
AEP - CSP     00040621076830924           Electric       Gov. Aggregation   FEOH - OE     08024647445000024102        Electric       Gov. Aggregation
AEP - CSP     00040621074252581           Electric       Gov. Aggregation   FEOH - OE     08024647590000803839        Electric       Gov. Aggregation
AEP - CSP     00040621074532525           Electric       Gov. Aggregation   FEOH - OE     08024648020000783803        Electric       Gov. Aggregation
AEP - CSP     00040621074550340           Electric       Gov. Aggregation   FEOH - OE     08024670110000786460        Electric       Gov. Aggregation
AEP - CSP     00040621074673102           Electric       Gov. Aggregation   FEOH - OE     08024670170000786461        Electric       Gov. Aggregation
AEP - CSP     00040621082082370           Electric       Gov. Aggregation   FEOH - OE     08024670430000789234        Electric       Gov. Aggregation
AEP - CSP     00040621082156532           Electric       Gov. Aggregation   FEOH - OE     08024672220000786493        Electric       Gov. Aggregation
AEP - CSP     00040621082402903           Electric       Gov. Aggregation   FEOH - OE     08024675180000786538        Electric       Gov. Aggregation
AEP - CSP     00040621082406014           Electric       Gov. Aggregation   FEOH - OE     08024701120000778326        Electric       Gov. Aggregation
AEP - CSP     00040621082561871           Electric       Gov. Aggregation   FEOH - OE     08024705270000782595        Electric       Gov. Aggregation
AEP - CSP     00040621082598985           Electric       Gov. Aggregation   FEOH - OE     08024717090000803932        Electric       Gov. Aggregation
AEP - CSP     00040621082630904           Electric       Gov. Aggregation   FEOH - OE     08024718810001322617        Electric       Gov. Aggregation
AEP - CSP     00040621078415722           Electric       Gov. Aggregation   FEOH - OE     08024718930001338959        Electric       Gov. Aggregation
AEP - CSP     00040621078484432           Electric       Gov. Aggregation   FEOH - OE     08018259320000187064        Electric       Gov. Aggregation
AEP - CSP     00040621078543664           Electric       Gov. Aggregation   FEOH - OE     08018321560000187066        Electric       Gov. Aggregation
AEP - CSP     00040621078618752           Electric       Gov. Aggregation   FEOH - OE     08018323440000187097        Electric       Gov. Aggregation
AEP - CSP     00040621078673380           Electric       Gov. Aggregation   FEOH - OE     08018324370000187106        Electric       Gov. Aggregation
AEP - CSP     00040621078782211           Electric       Gov. Aggregation   FEOH - OE     08018363875000146242        Electric       Gov. Aggregation
AEP - CSP     00040621079107433           Electric       Gov. Aggregation   FEOH - OE     08018527860001397617        Electric       Gov. Aggregation
AEP - CSP     00040621076876400           Electric       Gov. Aggregation   FEOH - OE     08018581400000803628        Electric       Gov. Aggregation
AEP - CSP     00040621076906254           Electric       Gov. Aggregation   FEOH - OE     08023437770000804841        Electric       Gov. Aggregation
AEP - CSP     00040621076937974           Electric       Gov. Aggregation   FEOH - OE     08023439520000804879        Electric       Gov. Aggregation
AEP - CSP     00040621077150053           Electric       Gov. Aggregation   FEOH - OE     08023439520000804887        Electric       Gov. Aggregation
AEP - CSP     00040621077208311           Electric       Gov. Aggregation   FEOH - OE     08023443600001441345        Electric       Gov. Aggregation
AEP - CSP     00040621077243812           Electric       Gov. Aggregation   FEOH - OE     08023468970001475124        Electric       Gov. Aggregation
AEP - CSP     00040621070168184           Electric       Gov. Aggregation   FEOH - OE     08023469170001482924        Electric       Gov. Aggregation
AEP - CSP     00040621070187284           Electric       Gov. Aggregation   FEOH - OE     08023488460000806046        Electric       Gov. Aggregation
AEP - CSP     00040621070220692           Electric       Gov. Aggregation   FEOH - OE     08024466795000300455        Electric       Gov. Aggregation
AEP - CSP     00040621070246851           Electric       Gov. Aggregation   FEOH - OE     08024469100000790418        Electric       Gov. Aggregation
AEP - CSP     00040621070271762           Electric       Gov. Aggregation   FEOH - OE     08024477620001042131        Electric       Gov. Aggregation
AEP - CSP     00040621070539664           Electric       Gov. Aggregation   FEOH - OE     08024480240000777902        Electric       Gov. Aggregation
AEP - CSP     00040621081985601           Electric       Gov. Aggregation   FEOH - OE     08024501630000784647        Electric       Gov. Aggregation
AEP - CSP     00040621082457433           Electric       Gov. Aggregation   FEOH - OE     08024504660000789091        Electric       Gov. Aggregation
AEP - CSP     00040621082842060           Electric       Gov. Aggregation   FEOH - OE     08024535490000790511        Electric       Gov. Aggregation
AEP - CSP     00040621083018930           Electric       Gov. Aggregation   FEOH - OE     08024143810000789108        Electric       Gov. Aggregation
AEP - CSP     00040621083230514           Electric       Gov. Aggregation   FEOH - OE     08024144670000762284        Electric       Gov. Aggregation
AEP - CSP     00040621083329925           Electric       Gov. Aggregation   FEOH - OE     08024190140001481055        Electric       Gov. Aggregation
AEP - CSP     00040621083523390           Electric       Gov. Aggregation   FEOH - OE     08024190710000789884        Electric       Gov. Aggregation
AEP - CSP     00040621074762664           Electric       Gov. Aggregation   FEOH - OE     08024191670001367343        Electric       Gov. Aggregation
AEP - CSP     00040621074802162           Electric       Gov. Aggregation   FEOH - OE     08024194010001348178        Electric       Gov. Aggregation
AEP - CSP     00040621074802921           Electric       Gov. Aggregation   FEOH - OE     08024223425000196372        Electric       Gov. Aggregation
AEP - CSP     00040621075056730           Electric       Gov. Aggregation   FEOH - OE     08009921615000299444        Electric       Gov. Aggregation
AEP - CSP     00040621075059432           Electric       Gov. Aggregation   FEOH - OE     08010060230000841289        Electric       Gov. Aggregation
AEP - CSP     00040621075118394           Electric       Gov. Aggregation   FEOH - OE     08010846730001426709        Electric       Gov. Aggregation
AEP - CSP     00040621075266960           Electric       Gov. Aggregation   FEOH - OE     08011439890000789220        Electric       Gov. Aggregation
AEP - CSP     00040621079167275           Electric       Gov. Aggregation   FEOH - OE     08022045185000329937        Electric       Gov. Aggregation
AEP - CSP     00040621079391345           Electric       Gov. Aggregation   FEOH - TE     08022076972600009618        Electric       Gov. Aggregation
AEP - CSP     00040621079449580           Electric       Gov. Aggregation   FEOH - OE     08022204100000603554        Electric       Gov. Aggregation
AEP - CSP     00040621079455121           Electric       Gov. Aggregation   FEOH - TE     08022273415001478710        Electric       Gov. Aggregation
AEP - CSP     00040621079508352           Electric       Gov. Aggregation   FEOH - OE     08024293030000790164        Electric       Gov. Aggregation
AEP - CSP     00040621079538674           Electric       Gov. Aggregation   FEOH - OE     08024293380000790169        Electric       Gov. Aggregation
AEP - CSP     00040621079586770           Electric       Gov. Aggregation   FEOH - OE     08024293760000790175        Electric       Gov. Aggregation
AEP - CSP     00040621074737772           Electric       Gov. Aggregation   FEOH - OE     08024293975000331520        Electric       Gov. Aggregation
AEP - CSP     00040621074750130           Electric       Gov. Aggregation   FEOH - OE     08024293975000331536        Electric       Gov. Aggregation
AEP - CSP     00040621074803594           Electric       Gov. Aggregation   FEOH - OE     08024293975000331537        Electric       Gov. Aggregation
AEP - CSP     00040621075014792           Electric       Gov. Aggregation   FEOH - OE     08024293975000331543        Electric       Gov. Aggregation
AEP - CSP     00040621075058220           Electric       Gov. Aggregation   FEOH - OE     08020972065000087251        Electric       Gov. Aggregation
AEP - CSP     00040621075221342           Electric       Gov. Aggregation   FEOH - OE     08021007640000602697        Electric       Gov. Aggregation
AEP - CSP     00040621077333641           Electric       Gov. Aggregation   FEOH - TE     08021090342900009453        Electric       Gov. Aggregation
AEP - CSP     00040621077377575           Electric       Gov. Aggregation   FEOH - OE     08021098370001531760        Electric       Gov. Aggregation
AEP - CSP     00040621077426723           Electric       Gov. Aggregation   FEOH - OE     08021104890000584021        Electric       Gov. Aggregation
AEP - CSP     00040621077459294           Electric       Gov. Aggregation   FEOH - OE     08021109690000590586        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621077468335           Electric       Gov. Aggregation   FEOH - TE     08021168682210014238        Electric       Gov. Aggregation
AEP - CSP     00040621077550373           Electric       Gov. Aggregation   FEOH - OE     08024293975000331549        Electric       Gov. Aggregation
AEP - CSP     00040621077674951           Electric       Gov. Aggregation   FEOH - OE     08024293975000331551        Electric       Gov. Aggregation
AEP - CSP     00040621082935023           Electric       Gov. Aggregation   FEOH - OE     08024293975000331555        Electric       Gov. Aggregation
AEP - CSP     00040621083013113           Electric       Gov. Aggregation   FEOH - OE     08024293975000331559        Electric       Gov. Aggregation
AEP - CSP     00040621083250473           Electric       Gov. Aggregation   FEOH - OE     08024294160000790177        Electric       Gov. Aggregation
AEP - CSP     00040621083266334           Electric       Gov. Aggregation   FEOH - OE     08024296550000790213        Electric       Gov. Aggregation
AEP - CSP     00040621083325231           Electric       Gov. Aggregation   FEOH - OE     08024300540000802929        Electric       Gov. Aggregation
AEP - CSP     00040621083371731           Electric       Gov. Aggregation   FEOH - OE     08023501020000804891        Electric       Gov. Aggregation
AEP - CSP     00040621083425792           Electric       Gov. Aggregation   FEOH - OE     08023501290000804893        Electric       Gov. Aggregation
AEP - CSP     00040621078655824           Electric       Gov. Aggregation   FEOH - OE     08023501390000784675        Electric       Gov. Aggregation
AEP - CSP     00040621078726231           Electric       Gov. Aggregation   FEOH - OE     08023502280000804903        Electric       Gov. Aggregation
AEP - CSP     00040621079028631           Electric       Gov. Aggregation   FEOH - OE     08023507390000784763        Electric       Gov. Aggregation
AEP - CSP     00040621079204223           Electric       Gov. Aggregation   FEOH - OE     08023528950000844625        Electric       Gov. Aggregation
AEP - CSP     00040621079235772           Electric       Gov. Aggregation   FEOH - OE     08023529800000844637        Electric       Gov. Aggregation
AEP - CSP     00040621079372614           Electric       Gov. Aggregation   FEOH - OE     08024301900000802955        Electric       Gov. Aggregation
AEP - CSP     00040621070548091           Electric       Gov. Aggregation   FEOH - OE     08024302930000802973        Electric       Gov. Aggregation
AEP - CSP     00040621070624784           Electric       Gov. Aggregation   FEOH - OE     08024303005000249529        Electric       Gov. Aggregation
AEP - CSP     00040621070772852           Electric       Gov. Aggregation   FEOH - OE     08024309230000803072        Electric       Gov. Aggregation
AEP - CSP     00040621070799942           Electric       Gov. Aggregation   FEOH - OE     08024323095000334527        Electric       Gov. Aggregation
AEP - CSP     00040621070911573           Electric       Gov. Aggregation   FEOH - OE     08024373720000803147        Electric       Gov. Aggregation
AEP - CSP     00040621070932165           Electric       Gov. Aggregation   FEOH - OE     08024373980000782475        Electric       Gov. Aggregation
AEP - CSP     00040621071006225           Electric       Gov. Aggregation   FEOH - OE     08022349675000019321        Electric       Gov. Aggregation
AEP - CSP     00040621083566290           Electric       Gov. Aggregation   FEOH - OE     08022412800000592338        Electric       Gov. Aggregation
AEP - CSP     00040621083691042           Electric       Gov. Aggregation   FEOH - OE     08022414290000592357        Electric       Gov. Aggregation
AEP - CSP     00040621083702945           Electric       Gov. Aggregation   FEOH - OE     08022415040000592370        Electric       Gov. Aggregation
AEP - CSP     00040621083729870           Electric       Gov. Aggregation   FEOH - OE     08022416710001430875        Electric       Gov. Aggregation
AEP - CSP     00040621084026705           Electric       Gov. Aggregation   FEOH - TE     08022416712210013288        Electric       Gov. Aggregation
AEP - CSP     00040621075367365           Electric       Gov. Aggregation   FEOH - OE     08022419770000584143        Electric       Gov. Aggregation
AEP - CSP     00040621075406104           Electric       Gov. Aggregation   FEOH - OE     08024535640000790513        Electric       Gov. Aggregation
AEP - CSP     00040621075551223           Electric       Gov. Aggregation   FEOH - OE     08024537960000790605        Electric       Gov. Aggregation
AEP - CSP     00040621076327671           Electric       Gov. Aggregation   FEOH - OE     08024551180000778077        Electric       Gov. Aggregation
AEP - CSP     00040621076395475           Electric       Gov. Aggregation   FEOH - OE     08024551470000778080        Electric       Gov. Aggregation
AEP - CSP     00040621076419282           Electric       Gov. Aggregation   FEOH - OE     08024552390000778092        Electric       Gov. Aggregation
AEP - CSP     00040621079638925           Electric       Gov. Aggregation   FEOH - OE     08024572560000803547        Electric       Gov. Aggregation
AEP - CSP     00040621079916631           Electric       Gov. Aggregation   FEOH - OE     08013690480000592330        Electric       Gov. Aggregation
AEP - CSP     00040621080064091           Electric       Gov. Aggregation   FEOH - OE     08014062690000587082        Electric       Gov. Aggregation
AEP - CSP     00040621080096824           Electric       Gov. Aggregation   FEOH - OE     08014250960001495800        Electric       Gov. Aggregation
AEP - CSP     00040621080108270           Electric       Gov. Aggregation   FEOH - OE     08023551650000805564        Electric       Gov. Aggregation
AEP - CSP     00040621077740415           Electric       Gov. Aggregation   FEOH - OE     08023552130000790615        Electric       Gov. Aggregation
AEP - CSP     00040621077838383           Electric       Gov. Aggregation   FEOH - OE     08023594190000844688        Electric       Gov. Aggregation
AEP - CSP     00040621078061184           Electric       Gov. Aggregation   FEOH - OE     08023594860000844691        Electric       Gov. Aggregation
AEP - CSP     00040621078191282           Electric       Gov. Aggregation   FEOH - OE     08023597810000844739        Electric       Gov. Aggregation
AEP - CSP     00040621078459180           Electric       Gov. Aggregation   FEOH - OE     08023598370000844748        Electric       Gov. Aggregation
AEP - CSP     00040621083508880           Electric       Gov. Aggregation   FEOH - OE     08023604920001480728        Electric       Gov. Aggregation
AEP - CSP     00040621083609462           Electric       Gov. Aggregation   FEOH - OE     08024374140000803158        Electric       Gov. Aggregation
AEP - CSP     00040621083692515           Electric       Gov. Aggregation   FEOH - OE     08024375020000782491        Electric       Gov. Aggregation
AEP - CSP     00040621083699534           Electric       Gov. Aggregation   FEOH - OE     08024375440000782496        Electric       Gov. Aggregation
AEP - CSP     00040621083869812           Electric       Gov. Aggregation   FEOH - OE     08024375950000782504        Electric       Gov. Aggregation
AEP - CSP     00040621083995801           Electric       Gov. Aggregation   FEOH - OE     08024376020000782505        Electric       Gov. Aggregation
AEP - CSP     00040621084156101           Electric       Gov. Aggregation   FEOH - OE     08024399700000790285        Electric       Gov. Aggregation
AEP - CSP     00040621079473013           Electric       Gov. Aggregation   FEOH - OE     08024404980000777833        Electric       Gov. Aggregation
AEP - CSP     00040621079599965           Electric       Gov. Aggregation   FEOH - OE     08021179400001520067        Electric       Gov. Aggregation
AEP - CSP     00040621079696442           Electric       Gov. Aggregation   FEOH - OE     08021232490000587044        Electric       Gov. Aggregation
AEP - CSP     00040621079802025           Electric       Gov. Aggregation   FEOH - OE     08021236200000586839        Electric       Gov. Aggregation
AEP - CSP     00040621080071813           Electric       Gov. Aggregation   FEOH - OE     08021236250000586837        Electric       Gov. Aggregation
AEP - CSP     00040621080124144           Electric       Gov. Aggregation   FEOH - OE     08021237210000587103        Electric       Gov. Aggregation
AEP - CSP     00040621080161641           Electric       Gov. Aggregation   FEOH - OE     08021237500000586807        Electric       Gov. Aggregation
AEP - CSP     00040621084189340           Electric       Gov. Aggregation   FEOH - OE     08021237760000586802        Electric       Gov. Aggregation
AEP - CSP     00040621084256545           Electric       Gov. Aggregation   FEOH - OE     08018591920000186399        Electric       Gov. Aggregation
AEP - CSP     00040621084480814           Electric       Gov. Aggregation   FEOH - OE     08018596000000186437        Electric       Gov. Aggregation
AEP - CSP     00040621084558284           Electric       Gov. Aggregation   FEOH - OE     08018596270000186463        Electric       Gov. Aggregation
AEP - CSP     00040621084597102           Electric       Gov. Aggregation   FEOH - OE     08018598030000186492        Electric       Gov. Aggregation
AEP - CSP     00040621084604864           Electric       Gov. Aggregation   FEOH - OE     08018624910000809507        Electric       Gov. Aggregation
AEP - CSP     00040621084624734           Electric       Gov. Aggregation   FEOH - OE     08018732830000186483        Electric       Gov. Aggregation
AEP - CSP     00040621071034402           Electric       Gov. Aggregation   FEOH - OE     08019366430001128382        Electric       Gov. Aggregation
AEP - CSP     00040621071104734           Electric       Gov. Aggregation   FEOH - OE     08024572850000803552        Electric       Gov. Aggregation
AEP - CSP     00040621071144855           Electric       Gov. Aggregation   FEOH - OE     08024575900000790840        Electric       Gov. Aggregation
AEP - CSP     00040621071400124           Electric       Gov. Aggregation   FEOH - OE     08024600280000786318        Electric       Gov. Aggregation
AEP - CSP     00040621071403361           Electric       Gov. Aggregation   FEOH - OE     08024601000000790646        Electric       Gov. Aggregation
AEP - CSP     00040621071434975           Electric       Gov. Aggregation   FEOH - OE     08024602880000786353        Electric       Gov. Aggregation
AEP - CSP     00040621071445380           Electric       Gov. Aggregation   FEOH - OE     08024603710000786365        Electric       Gov. Aggregation
AEP - CSP     00040621076757472           Electric       Gov. Aggregation   FEOH - OE     08024605350000790720        Electric       Gov. Aggregation
AEP - CSP     00040621076805372           Electric       Gov. Aggregation   FEOH - OE     08015683460000803656        Electric       Gov. Aggregation
AEP - CSP     00040621077001774           Electric       Gov. Aggregation   FEOH - OE     08016452900000168231        Electric       Gov. Aggregation
AEP - CSP     00040621077327194           Electric       Gov. Aggregation   FEOH - OE     08016457930000168298        Electric       Gov. Aggregation
AEP - CSP     00040621077410825           Electric       Gov. Aggregation   FEOH - OE     08016459600000186510        Electric       Gov. Aggregation
AEP - CSP     00040621077456803           Electric       Gov. Aggregation   FEOH - OE     08023606600000792168        Electric       Gov. Aggregation
AEP - CSP     00040621078578912           Electric       Gov. Aggregation   FEOH - OE     08023606805000300111        Electric       Gov. Aggregation
AEP - CSP     00040621078622453           Electric       Gov. Aggregation   FEOH - OE     08023607420000792178        Electric       Gov. Aggregation
AEP - CSP     00040621078666391           Electric       Gov. Aggregation   FEOH - OE     08023639640001349356        Electric       Gov. Aggregation
AEP - CSP     00040621078817554           Electric       Gov. Aggregation   FEOH - OE     08023676410000792426        Electric       Gov. Aggregation
AEP - CSP     00040621079094833           Electric       Gov. Aggregation   FEOH - OE     08023677350000792331        Electric       Gov. Aggregation
AEP - CSP     00040621079186442           Electric       Gov. Aggregation   FEOH - OE     08023678460001382236        Electric       Gov. Aggregation
AEP - CSP     00040621079212255           Electric       Gov. Aggregation   FEOH - OE     08024405900000782734        Electric       Gov. Aggregation
AEP - CSP     00040621075360384           Electric       Gov. Aggregation   FEOH - OE     08024406710000777860        Electric       Gov. Aggregation
AEP - CSP     00040621075381365           Electric       Gov. Aggregation   FEOH - OE     08024406770000777861        Electric       Gov. Aggregation
AEP - CSP     00040621075483781           Electric       Gov. Aggregation   FEOH - OE     08024407010000777864        Electric       Gov. Aggregation
AEP - CSP     00040621075489234           Electric       Gov. Aggregation   FEOH - OE     08024408460000804085        Electric       Gov. Aggregation
AEP - CSP     00040621075603163           Electric       Gov. Aggregation   FEOH - OE     08024440030000782565        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621075655774           Electric       Gov. Aggregation   FEOH - OE     08024440270000782569        Electric       Gov. Aggregation
AEP - CSP     00040621080230930           Electric       Gov. Aggregation   FEOH - OE     08021305360000603726        Electric       Gov. Aggregation
AEP - CSP     00040621080376754           Electric       Gov. Aggregation   FEOH - OE     08021308630000603975        Electric       Gov. Aggregation
AEP - CSP     00040621080392131           Electric       Gov. Aggregation   FEOH - OE     08021309100000603634        Electric       Gov. Aggregation
AEP - CSP     00040621080533280           Electric       Gov. Aggregation   FEOH - OE     08021363690000603646        Electric       Gov. Aggregation
AEP - CSP     00040621080659583           Electric       Gov. Aggregation   FEOH - OE     08021370440000603757        Electric       Gov. Aggregation
AEP - CSP     00040621080676224           Electric       Gov. Aggregation   FEOH - OE     08021376150000603969        Electric       Gov. Aggregation
AEP - CSP     00040621080841475           Electric       Gov. Aggregation   FEOH - OE     08021379350001392912        Electric       Gov. Aggregation
AEP - CSP     00040621084170812           Electric       Gov. Aggregation   FEOH - OE     08022461030000803734        Electric       Gov. Aggregation
AEP - CSP     00040621084202853           Electric       Gov. Aggregation   FEOH - OE     08022477980000583991        Electric       Gov. Aggregation
AEP - CSP     00040621084228741           Electric       Gov. Aggregation   FEOH - OE     08022481660000584277        Electric       Gov. Aggregation
AEP - CSP     00040621084408044           Electric       Gov. Aggregation   FEOH - OE     08022485900000584162        Electric       Gov. Aggregation
AEP - CSP     00040621084708331           Electric       Gov. Aggregation   FEOH - OE     08022487950001341910        Electric       Gov. Aggregation
AEP - CSP     00040621084754123           Electric       Gov. Aggregation   FEOH - OE     08022489800000584031        Electric       Gov. Aggregation
AEP - CSP     00040621085075071           Electric       Gov. Aggregation   FEOH - OE     08022553520000584023        Electric       Gov. Aggregation
AEP - CSP     00040621080419600           Electric       Gov. Aggregation   FEOH - OE     08019557010001127562        Electric       Gov. Aggregation
AEP - CSP     00040621080487950           Electric       Gov. Aggregation   FEOH - OE     08020133845001381215        Electric       Gov. Aggregation
AEP - CSP     00040621080508360           Electric       Gov. Aggregation   FEOH - OE     08024608190000786432        Electric       Gov. Aggregation
AEP - CSP     00040621080540503           Electric       Gov. Aggregation   FEOH - OE     08024609080000786444        Electric       Gov. Aggregation
AEP - CSP     00040621080653740           Electric       Gov. Aggregation   FEOH - OE     08024609610000786453        Electric       Gov. Aggregation
AEP - CSP     00040621080839862           Electric       Gov. Aggregation   FEOH - OE     08024630775000077743        Electric       Gov. Aggregation
AEP - CSP     00040621080937624           Electric       Gov. Aggregation   FEOH - OE     08024632270000778232        Electric       Gov. Aggregation
AEP - CSP     00040621084669483           Electric       Gov. Aggregation   FEOH - OE     08024632790000778238        Electric       Gov. Aggregation
AEP - CSP     00040621084710703           Electric       Gov. Aggregation   FEOH - OE     08024634000000778256        Electric       Gov. Aggregation
AEP - CSP     00040621084820902           Electric       Gov. Aggregation   FEOH - OE     08016520060000168326        Electric       Gov. Aggregation
AEP - CSP     00040621084944890           Electric       Gov. Aggregation   FEOH - OE     08016520120000168327        Electric       Gov. Aggregation
AEP - CSP     00040621084993164           Electric       Gov. Aggregation   FEOH - OE     08016614880000168305        Electric       Gov. Aggregation
AEP - CSP     00040621085014894           Electric       Gov. Aggregation   FEOH - OE     08016821130000187243        Electric       Gov. Aggregation
AEP - CSP     00040621085036804           Electric       Gov. Aggregation   FEOH - OE     08016821920000187254        Electric       Gov. Aggregation
AEP - CSP     00040621071597811           Electric       Gov. Aggregation   FEOH - OE     08016822760000187271        Electric       Gov. Aggregation
AEP - CSP     00040621071732022           Electric       Gov. Aggregation   FEOH - OE     08016890290000186757        Electric       Gov. Aggregation
AEP - CSP     00040621071906285           Electric       Gov. Aggregation   FEOH - OE     08023682890001484766        Electric       Gov. Aggregation
AEP - CSP     00040621072009675           Electric       Gov. Aggregation   FEOH - OE     08023692340000780099        Electric       Gov. Aggregation
AEP - CSP     00040621072168123           Electric       Gov. Aggregation   FEOH - OE     08023701640000788752        Electric       Gov. Aggregation
AEP - CSP     00040621072191561           Electric       Gov. Aggregation   FEOH - OE     08023702590000788766        Electric       Gov. Aggregation
AEP - CSP     00040621072311983           Electric       Gov. Aggregation   FEOH - OE     08023703850000788786        Electric       Gov. Aggregation
AEP - CSP     00040621077565004           Electric       Gov. Aggregation   FEOH - OE     08023704320000788794        Electric       Gov. Aggregation
AEP - CSP     00040621077631711           Electric       Gov. Aggregation   FEOH - OE     08023704955001417707        Electric       Gov. Aggregation
AEP - CSP     00040621077983755           Electric       Gov. Aggregation   FEOH - OE     08024440660000782575        Electric       Gov. Aggregation
AEP - CSP     00040621078134402           Electric       Gov. Aggregation   FEOH - OE     08024440850001484856        Electric       Gov. Aggregation
AEP - CSP     00040621078137350           Electric       Gov. Aggregation   FEOH - OE     08024441170001488416        Electric       Gov. Aggregation
AEP - CSP     00040621078237755           Electric       Gov. Aggregation   FEOH - OE     08024445410000803303        Electric       Gov. Aggregation
AEP - CSP     00040621079374434           Electric       Gov. Aggregation   FEOH - OE     08024446970000782667        Electric       Gov. Aggregation
AEP - CSP     00040621079658142           Electric       Gov. Aggregation   FEOH - OE     08024447110000789245        Electric       Gov. Aggregation
AEP - CSP     00040621079752295           Electric       Gov. Aggregation   FEOH - OE     08024447640000803331        Electric       Gov. Aggregation
AEP - CSP     00040621079789601           Electric       Gov. Aggregation   FEOH - OE     08022620790001440800        Electric       Gov. Aggregation
AEP - CSP     00040621079810232           Electric       Gov. Aggregation   FEOH - OE     08022621340001397046        Electric       Gov. Aggregation
AEP - CSP     00040621079994495           Electric       Gov. Aggregation   FEOH - OE     08022624740001550197        Electric       Gov. Aggregation
AEP - CSP     00040621080235902           Electric       Gov. Aggregation   FEOH - TE     08022938732030030426        Electric       Gov. Aggregation
AEP - CSP     00040621080961352           Electric       Gov. Aggregation   FEOH - TE     08022938732030030430        Electric       Gov. Aggregation
AEP - CSP     00040621081174364           Electric       Gov. Aggregation   FEOH - OE     08023017550000790499        Electric       Gov. Aggregation
AEP - CSP     00040621081264090           Electric       Gov. Aggregation   FEOH - OE     08023022350000788829        Electric       Gov. Aggregation
AEP - CSP     00040621081476141           Electric       Gov. Aggregation   FEOH - OE     08020516830000187067        Electric       Gov. Aggregation
AEP - CSP     00040621081552584           Electric       Gov. Aggregation   FEOH - OE     08020757830000778276        Electric       Gov. Aggregation
AEP - CSP     00040621081554284           Electric       Gov. Aggregation   FEOH - OE     08020810885001346932        Electric       Gov. Aggregation
AEP - CSP     00040621075780462           Electric       Gov. Aggregation   FEOH - OE     08021030800001320042        Electric       Gov. Aggregation
AEP - CSP     00040621075847225           Electric       Gov. Aggregation   FEOH - OE     08021234820000587075        Electric       Gov. Aggregation
AEP - CSP     00040621075890055           Electric       Gov. Aggregation   FEOH - OE     08021236380000587090        Electric       Gov. Aggregation
AEP - CSP     00040621075923844           Electric       Gov. Aggregation   FEOH - OE     08021443100000587612        Electric       Gov. Aggregation
AEP - CSP     00040621076114514           Electric       Gov. Aggregation   FEOH - OE     08021443690000587618        Electric       Gov. Aggregation
AEP - CSP     00040621076164325           Electric       Gov. Aggregation   FEOH - OE     08021448710001317522        Electric       Gov. Aggregation
AEP - CSP     00040621076196760           Electric       Gov. Aggregation   FEOH - OE     08021501160000603651        Electric       Gov. Aggregation
AEP - CSP     00040621085345480           Electric       Gov. Aggregation   FEOH - OE     08021502140000604125        Electric       Gov. Aggregation
AEP - CSP     00040621085348191           Electric       Gov. Aggregation   FEOH - OE     08021502680000604216        Electric       Gov. Aggregation
AEP - CSP     00040621085461042           Electric       Gov. Aggregation   FEOH - OE     08021503770001362219        Electric       Gov. Aggregation
AEP - CSP     00040621085503351           Electric       Gov. Aggregation   FEOH - OE     08016890610000186761        Electric       Gov. Aggregation
AEP - CSP     00040621085627785           Electric       Gov. Aggregation   FEOH - OE     08016894900000186830        Electric       Gov. Aggregation
AEP - CSP     00040621085681285           Electric       Gov. Aggregation   FEOH - OE     08016961960000187195        Electric       Gov. Aggregation
AEP - CSP     00040621085861974           Electric       Gov. Aggregation   FEOH - OE     08017541050000179030        Electric       Gov. Aggregation
AEP - CSP     00040621085335895           Electric       Gov. Aggregation   FEOH - OE     08017617600001488574        Electric       Gov. Aggregation
AEP - CSP     00040621085399875           Electric       Gov. Aggregation   FEOH - OE     08017618230001577194        Electric       Gov. Aggregation
AEP - CSP     00040621085777933           Electric       Gov. Aggregation   FEOH - OE     08024635150000778272        Electric       Gov. Aggregation
AEP - CSP     00040621085842191           Electric       Gov. Aggregation   FEOH - OE     08024637880000778280        Electric       Gov. Aggregation
AEP - CSP     00040621085881292           Electric       Gov. Aggregation   FEOH - OE     08024642950000803702        Electric       Gov. Aggregation
AEP - CSP     00040621085881343           Electric       Gov. Aggregation   FEOH - OE     08024643280000803707        Electric       Gov. Aggregation
AEP - CSP     00040621076232170           Electric       Gov. Aggregation   FEOH - OE     08024643880001466866        Electric       Gov. Aggregation
AEP - CSP     00040621076242065           Electric       Gov. Aggregation   FEOH - OE     08024644520000803726        Electric       Gov. Aggregation
AEP - CSP     00040621076322120           Electric       Gov. Aggregation   FEOH - OE     08024646540000803757        Electric       Gov. Aggregation
AEP - CSP     00040621076408393           Electric       Gov. Aggregation   FEOH - OE     08023707260000788835        Electric       Gov. Aggregation
AEP - CSP     00040621076464123           Electric       Gov. Aggregation   FEOH - OE     08023716740000780062        Electric       Gov. Aggregation
AEP - CSP     00040621076465043           Electric       Gov. Aggregation   FEOH - OE     08023718960000786459        Electric       Gov. Aggregation
AEP - CSP     00040621076514253           Electric       Gov. Aggregation   FEOH - OE     08023732380000844807        Electric       Gov. Aggregation
AEP - CSP     00040621072423562           Electric       Gov. Aggregation   FEOH - OE     08023734205000384577        Electric       Gov. Aggregation
AEP - CSP     00040621072453441           Electric       Gov. Aggregation   FEOH - OE     08023736640000844853        Electric       Gov. Aggregation
AEP - CSP     00040621072716961           Electric       Gov. Aggregation   FEOH - OE     08023738230000844873        Electric       Gov. Aggregation
AEP - CSP     00040621072831803           Electric       Gov. Aggregation   FEOH - OE     08024448050000782681        Electric       Gov. Aggregation
AEP - CSP     00040621072883734           Electric       Gov. Aggregation   FEOH - OE     08024449100000786815        Electric       Gov. Aggregation
AEP - CSP     00040621072947635           Electric       Gov. Aggregation   FEOH - OE     08024462000000790319        Electric       Gov. Aggregation
AEP - CSP     00040621078302843           Electric       Gov. Aggregation   FEOH - OE     08024463250000790337        Electric       Gov. Aggregation
AEP - CSP     00040621078471381           Electric       Gov. Aggregation   FEOH - OE     08024466290000790379        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621078769635           Electric       Gov. Aggregation   FEOH - OE     08024468440000790408        Electric       Gov. Aggregation
AEP - CSP     00040621078848931           Electric       Gov. Aggregation   FEOH - OE     08024504665000021598        Electric       Gov. Aggregation
AEP - CSP     00040621078869291           Electric       Gov. Aggregation   FEOH - OE     08023024920001332968        Electric       Gov. Aggregation
AEP - CSP     00040621078941715           Electric       Gov. Aggregation   FEOH - OE     08023026070001508374        Electric       Gov. Aggregation
AEP - CSP     00040621079122843           Electric       Gov. Aggregation   FEOH - OE     08023027825000083565        Electric       Gov. Aggregation
AEP - CSP     00040621080485314           Electric       Gov. Aggregation   FEOH - OE     08023079200000789054        Electric       Gov. Aggregation
AEP - CSP     00040621080564674           Electric       Gov. Aggregation   FEOH - OE     08023131710000765279        Electric       Gov. Aggregation
AEP - CSP     00040621080643614           Electric       Gov. Aggregation   FEOH - OE     08023157380000780134        Electric       Gov. Aggregation
AEP - CSP     00040621080650881           Electric       Gov. Aggregation   FEOH - OE     08023161530000841251        Electric       Gov. Aggregation
AEP - CSP     00040621080849865           Electric       Gov. Aggregation   FEOH - OE     08021240520000587669        Electric       Gov. Aggregation
AEP - CSP     00040621081129334           Electric       Gov. Aggregation   FEOH - OE     08021241990000587635        Electric       Gov. Aggregation
AEP - CSP     00040621081044804           Electric       Gov. Aggregation   FEOH - OE     08021247610000583996        Electric       Gov. Aggregation
AEP - CSP     00040621081301580           Electric       Gov. Aggregation   FEOH - OE     08021300390001510649        Electric       Gov. Aggregation
AEP - CSP     00040621081401580           Electric       Gov. Aggregation   FEOH - OE     08021301480001520796        Electric       Gov. Aggregation
AEP - CSP     00040621081438523           Electric       Gov. Aggregation   FEOH - OE     08021309780000603641        Electric       Gov. Aggregation
AEP - CSP     00040621081499131           Electric       Gov. Aggregation   FEOH - OE     08024719640001330933        Electric       Gov. Aggregation
AEP - CSP     00040621081531670           Electric       Gov. Aggregation   FEOH - OE     08024719780001335612        Electric       Gov. Aggregation
AEP - CSP     00040621081664064           Electric       Gov. Aggregation   FEOH - OE     08024778150001322505        Electric       Gov. Aggregation
AEP - CSP     00040621085879883           Electric       Gov. Aggregation   FEOH - OE     08024784050001375000        Electric       Gov. Aggregation
AEP - CSP     00040621086056615           Electric       Gov. Aggregation   FEOH - OE     08024785070001380444        Electric       Gov. Aggregation
AEP - CSP     00040621086070243           Electric       Gov. Aggregation   FEOH - OE     08024819090001129338        Electric       Gov. Aggregation
AEP - CSP     00040621086144071           Electric       Gov. Aggregation   FEOH - OE     08024840450000778474        Electric       Gov. Aggregation
AEP - CSP     00040621086331881           Electric       Gov. Aggregation   FEOH - OE     08021503900001324160        Electric       Gov. Aggregation
AEP - CSP     00040621086374143           Electric       Gov. Aggregation   FEOH - OE     08021554115000100352        Electric       Gov. Aggregation
AEP - CSP     00040621086399775           Electric       Gov. Aggregation   FEOH - OE     08021641380000602289        Electric       Gov. Aggregation
AEP - CSP     00040621086141674           Electric       Gov. Aggregation   FEOH - OE     08021642380001426153        Electric       Gov. Aggregation
AEP - CSP     00040621086231180           Electric       Gov. Aggregation   FEOH - OE     08021642500001453671        Electric       Gov. Aggregation
AEP - CSP     00040621086252075           Electric       Gov. Aggregation   FEOH - OE     08021643310001547762        Electric       Gov. Aggregation
AEP - CSP     00040621086267534           Electric       Gov. Aggregation   FEOH - OE     08021741170000603629        Electric       Gov. Aggregation
AEP - CSP     00040621086363564           Electric       Gov. Aggregation   FEOH - OE     08023741670000792410        Electric       Gov. Aggregation
AEP - CSP     00040621081559105           Electric       Gov. Aggregation   FEOH - OE     08023742010000792415        Electric       Gov. Aggregation
AEP - CSP     00040621081644481           Electric       Gov. Aggregation   FEOH - OE     08023747840001500090        Electric       Gov. Aggregation
AEP - CSP     00040621081659224           Electric       Gov. Aggregation   FEOH - OE     08023751560001541099        Electric       Gov. Aggregation
AEP - CSP     00040621081691110           Electric       Gov. Aggregation   FEOH - OE     08023752150000804532        Electric       Gov. Aggregation
AEP - CSP     00040621081701983           Electric       Gov. Aggregation   FEOH - OE     08023761500001564337        Electric       Gov. Aggregation
AEP - CSP     00040621081764103           Electric       Gov. Aggregation   FEOH - OE     08023771930000806132        Electric       Gov. Aggregation
AEP - CSP     00040621081846761           Electric       Gov. Aggregation   FEOH - OE     08017682050000178938        Electric       Gov. Aggregation
AEP - CSP     00040621079167315           Electric       Gov. Aggregation   FEOH - OE     08017751330000179029        Electric       Gov. Aggregation
AEP - CSP     00040621079212534           Electric       Gov. Aggregation   FEOH - OE     08018181600001493734        Electric       Gov. Aggregation
AEP - CSP     00040621079219652           Electric       Gov. Aggregation   FEOH - OE     08018259470001439644        Electric       Gov. Aggregation
AEP - CSP     00040621079500463           Electric       Gov. Aggregation   FEOH - OE     08018323800001396491        Electric       Gov. Aggregation
AEP - CSP     00040621079558922           Electric       Gov. Aggregation   FEOH - OE     08018326070000187114        Electric       Gov. Aggregation
AEP - CSP     00040621079614282           Electric       Gov. Aggregation   FEOH - OE     08024646810000765660        Electric       Gov. Aggregation
AEP - CSP     00040621079659435           Electric       Gov. Aggregation   FEOH - OE     08024648160000783804        Electric       Gov. Aggregation
AEP - CSP     00040621076780994           Electric       Gov. Aggregation   FEOH - OE     08024670760000786471        Electric       Gov. Aggregation
AEP - CSP     00040621076898211           Electric       Gov. Aggregation   FEOH - OE     08024671190000786477        Electric       Gov. Aggregation
AEP - CSP     00040621076942465           Electric       Gov. Aggregation   FEOH - OE     08024672280000786494        Electric       Gov. Aggregation
AEP - CSP     00040621077174972           Electric       Gov. Aggregation   FEOH - OE     08024713610001339594        Electric       Gov. Aggregation
AEP - CSP     00040621077226105           Electric       Gov. Aggregation   FEOH - OE     08024719010001457996        Electric       Gov. Aggregation
AEP - CSP     00040621077238735           Electric       Gov. Aggregation   FEOH - OE     08024512400000803399        Electric       Gov. Aggregation
AEP - CSP     00040621077248190           Electric       Gov. Aggregation   FEOH - OE     08024513040000803409        Electric       Gov. Aggregation
AEP - CSP     00040621081211550           Electric       Gov. Aggregation   FEOH - OE     08024514100000803426        Electric       Gov. Aggregation
AEP - CSP     00040621081280064           Electric       Gov. Aggregation   FEOH - OE     08024514230000803428        Electric       Gov. Aggregation
AEP - CSP     00040621081433890           Electric       Gov. Aggregation   FEOH - OE     08024514710000803434        Electric       Gov. Aggregation
AEP - CSP     00040621081446292           Electric       Gov. Aggregation   FEOH - OE     08024515020000803439        Electric       Gov. Aggregation
AEP - CSP     00040621081541994           Electric       Gov. Aggregation   FEOH - OE     08024519860000803511        Electric       Gov. Aggregation
AEP - CSP     00040621081762031           Electric       Gov. Aggregation   FEOH - OE     08024530480000790438        Electric       Gov. Aggregation
AEP - CSP     00040621081776871           Electric       Gov. Aggregation   FEOH - OE     08023161610000841252        Electric       Gov. Aggregation
AEP - CSP     00040621072962811           Electric       Gov. Aggregation   FEOH - OE     08023161660000841253        Electric       Gov. Aggregation
AEP - CSP     00040621073048984           Electric       Gov. Aggregation   FEOH - OE     08023164510000790779        Electric       Gov. Aggregation
AEP - CSP     00040621073092053           Electric       Gov. Aggregation   FEOH - OE     08023166090000841241        Electric       Gov. Aggregation
AEP - CSP     00040621073137205           Electric       Gov. Aggregation   FEOH - OE     08023168080001475243        Electric       Gov. Aggregation
AEP - CSP     00040621073177233           Electric       Gov. Aggregation   FEOH - OE     08023168120000841233        Electric       Gov. Aggregation
AEP - CSP     00040621073246543           Electric       Gov. Aggregation   FEOH - OE     08023170720000803240        Electric       Gov. Aggregation
AEP - CSP     00040621073323675           Electric       Gov. Aggregation   FEOH - OE     08024840520001391900        Electric       Gov. Aggregation
AEP - CSP     00040621081696151           Electric       Gov. Aggregation   FEOH - OE     08024841160000778484        Electric       Gov. Aggregation
AEP - CSP     00040621081739501           Electric       Gov. Aggregation   FEOH - OE     08024843420000778518        Electric       Gov. Aggregation
AEP - CSP     00040621081794623           Electric       Gov. Aggregation   FEOH - OE     08024846280000778561        Electric       Gov. Aggregation
AEP - CSP     00040621082019162           Electric       Gov. Aggregation   FEOH - OE     08024846700000778568        Electric       Gov. Aggregation
AEP - CSP     00040621082036283           Electric       Gov. Aggregation   FEOH - OE     08024849170000778601        Electric       Gov. Aggregation
AEP - CSP     00040621082213133           Electric       Gov. Aggregation   FEOH - OE     08024853390000803200        Electric       Gov. Aggregation
AEP - CSP     00040621086414932           Electric       Gov. Aggregation   FEOH - TE     08021357012850022712        Electric       Gov. Aggregation
AEP - CSP     00040621086454905           Electric       Gov. Aggregation   FEOH - OE     08021370220000603647        Electric       Gov. Aggregation
AEP - CSP     00040621086667055           Electric       Gov. Aggregation   FEOH - OE     08021370370000844840        Electric       Gov. Aggregation
AEP - CSP     00040621086864690           Electric       Gov. Aggregation   FEOH - OE     08021370570000603759        Electric       Gov. Aggregation
AEP - CSP     00040621086905235           Electric       Gov. Aggregation   FEOH - OE     08021371370001340018        Electric       Gov. Aggregation
AEP - CSP     00040621087181092           Electric       Gov. Aggregation   FEOH - OE     08021372510000603769        Electric       Gov. Aggregation
AEP - CSP     00040621087297015           Electric       Gov. Aggregation   FEOH - OE     08021373060000603780        Electric       Gov. Aggregation
AEP - CSP     00040621086457741           Electric       Gov. Aggregation   FEOH - TE     08021768802250094315        Electric       Gov. Aggregation
AEP - CSP     00040621086906062           Electric       Gov. Aggregation   FEOH - OE     08021789650000604281        Electric       Gov. Aggregation
AEP - CSP     00040621087190460           Electric       Gov. Aggregation   FEOH - TE     08021844042210013005        Electric       Gov. Aggregation
AEP - CSP     00040621087197164           Electric       Gov. Aggregation   FEOH - OE     08021889380000803663        Electric       Gov. Aggregation
AEP - CSP     00040621087250625           Electric       Gov. Aggregation   FEOH - OE     08023772980000788921        Electric       Gov. Aggregation
AEP - CSP     00040621087319870           Electric       Gov. Aggregation   FEOH - OE     08023774550000788945        Electric       Gov. Aggregation
AEP - CSP     00040621087451082           Electric       Gov. Aggregation   FEOH - OE     08023775220000788955        Electric       Gov. Aggregation
AEP - CSP     00040621081852434           Electric       Gov. Aggregation   FEOH - OE     08023776880000806198        Electric       Gov. Aggregation
AEP - CSP     00040621081941155           Electric       Gov. Aggregation   FEOH - OE     08023776950000788991        Electric       Gov. Aggregation
AEP - CSP     00040621082094313           Electric       Gov. Aggregation   FEOH - OE     08023800140001300534        Electric       Gov. Aggregation
AEP - CSP     00040621082109492           Electric       Gov. Aggregation   FEOH - OE     08023800530000844900        Electric       Gov. Aggregation
AEP - CSP     00040621082279345           Electric       Gov. Aggregation   FEOH - OE     08018464790000178955        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621082307711           Electric       Gov. Aggregation   FEOH - OE     08018662410000186540        Electric       Gov. Aggregation
AEP - CSP     00040621082340821           Electric       Gov. Aggregation   FEOH - OE     08022111215000261829        Electric       Gov. Aggregation
AEP - CSP     00040621077364233           Electric       Gov. Aggregation   FEOH - OE     08022342240000590614        Electric       Gov. Aggregation
AEP - CSP     00040621077437944           Electric       Gov. Aggregation   FEOH - OE     08022346990001543860        Electric       Gov. Aggregation
AEP - CSP     00040621077498475           Electric       Gov. Aggregation   FEOH - OE     08024531210000790449        Electric       Gov. Aggregation
AEP - CSP     00040621077572301           Electric       Gov. Aggregation   FEOH - OE     08024539450000790560        Electric       Gov. Aggregation
AEP - CSP     00040621077597204           Electric       Gov. Aggregation   FEOH - OE     08024539450000790604        Electric       Gov. Aggregation
AEP - CSP     00040621077679383           Electric       Gov. Aggregation   FEOH - OE     08024555150000778131        Electric       Gov. Aggregation
AEP - CSP     00040621077812965           Electric       Gov. Aggregation   FEOH - OE     08024570050000790780        Electric       Gov. Aggregation
AEP - CSP     00040621081923865           Electric       Gov. Aggregation   FEOH - OE     08024574610001536552        Electric       Gov. Aggregation
AEP - CSP     00040621081982262           Electric       Gov. Aggregation   FEOH - OE     08024580560000766115        Electric       Gov. Aggregation
AEP - CSP     00040621082099422           Electric       Gov. Aggregation   FEOH - OE     08023177280001455702        Electric       Gov. Aggregation
AEP - CSP     00040621082328710           Electric       Gov. Aggregation   FEOH - OE     08023215450001558328        Electric       Gov. Aggregation
AEP - CSP     00040621082517405           Electric       Gov. Aggregation   FEOH - OE     08023225600000805425        Electric       Gov. Aggregation
AEP - CSP     00040621082641651           Electric       Gov. Aggregation   FEOH - OE     08023225940000780251        Electric       Gov. Aggregation
AEP - CSP     00040621082689875           Electric       Gov. Aggregation   FEOH - OE     08023230150001486282        Electric       Gov. Aggregation
AEP - CSP     00040621082302054           Electric       Gov. Aggregation   FEOH - OE     08023233540000791468        Electric       Gov. Aggregation
AEP - CSP     00040621082581530           Electric       Gov. Aggregation   FEOH - OE     08023234490000778744        Electric       Gov. Aggregation
AEP - CSP     00040621082613555           Electric       Gov. Aggregation   FEOH - OE     08024854080000803212        Electric       Gov. Aggregation
AEP - CSP     00040621082685671           Electric       Gov. Aggregation   FEOH - OE     08024854220001381764        Electric       Gov. Aggregation
AEP - CSP     00040621082828030           Electric       Gov. Aggregation   FEOH - OE     08024857540000803970        Electric       Gov. Aggregation
AEP - CSP     00040621082916342           Electric       Gov. Aggregation   FEOH - OE     08024858030000803980        Electric       Gov. Aggregation
AEP - CSP     00040621082933463           Electric       Gov. Aggregation   FEOH - OE     08024859650000804004        Electric       Gov. Aggregation
AEP - CSP     00040621073352811           Electric       Gov. Aggregation   FEOH - OE     08024887790000762667        Electric       Gov. Aggregation
AEP - CSP     00040621073359932           Electric       Gov. Aggregation   FEOH - OE     08024889630000762695        Electric       Gov. Aggregation
AEP - CSP     00040621073364215           Electric       Gov. Aggregation   FEOH - OE     08023801580001312858        Electric       Gov. Aggregation
AEP - CSP     00040621073414952           Electric       Gov. Aggregation   FEOH - OE     08023812550000844702        Electric       Gov. Aggregation
AEP - CSP     00040621073501980           Electric       Gov. Aggregation   FEOH - OE     08023813200000809503        Electric       Gov. Aggregation
AEP - CSP     00040621073640574           Electric       Gov. Aggregation   FEOH - OE     08023819650000803394        Electric       Gov. Aggregation
AEP - CSP     00040621073673214           Electric       Gov. Aggregation   FEOH - OE     08023829330000782522        Electric       Gov. Aggregation
AEP - CSP     00040621087459662           Electric       Gov. Aggregation   FEOH - OE     08023830060000790706        Electric       Gov. Aggregation
AEP - CSP     00040621087536104           Electric       Gov. Aggregation   FEOH - OE     08023834580000792595        Electric       Gov. Aggregation
AEP - CSP     00040621087566081           Electric       Gov. Aggregation   FEOH - OE     08021229830000584230        Electric       Gov. Aggregation
AEP - CSP     00040621087710252           Electric       Gov. Aggregation   FEOH - OE     08021230410000586898        Electric       Gov. Aggregation
AEP - CSP     00040621087820131           Electric       Gov. Aggregation   FEOH - OE     08021232420000587059        Electric       Gov. Aggregation
AEP - CSP     00040621087937611           Electric       Gov. Aggregation   FEOH - OE     08021375420000603750        Electric       Gov. Aggregation
AEP - CSP     00040621087947823           Electric       Gov. Aggregation   FEOH - OE     08021375630000603748        Electric       Gov. Aggregation
AEP - CSP     00040621082388310           Electric       Gov. Aggregation   FEOH - OE     08021376630001321558        Electric       Gov. Aggregation
AEP - CSP     00040621082431483           Electric       Gov. Aggregation   FEOH - OE     08021379610001403331        Electric       Gov. Aggregation
AEP - CSP     00040621082498924           Electric       Gov. Aggregation   FEOH - OE     08021440970001376007        Electric       Gov. Aggregation
AEP - CSP     00040621082502275           Electric       Gov. Aggregation   FEOH - OE     08021445210000603778        Electric       Gov. Aggregation
AEP - CSP     00040621082540855           Electric       Gov. Aggregation   FEOH - OE     08021446390000603658        Electric       Gov. Aggregation
AEP - CSP     00040621082634103           Electric       Gov. Aggregation   FEOH - TE     08024910052550091078        Electric       Gov. Aggregation
AEP - CSP     00040621082730404           Electric       Gov. Aggregation   FEOH - OE     08024919490000786647        Electric       Gov. Aggregation
AEP - CSP     00040621079660660           Electric       Gov. Aggregation   FEOH - OE     08024920390000778617        Electric       Gov. Aggregation
AEP - CSP     00040621079714274           Electric       Gov. Aggregation   FEOH - OE     08024923520000778664        Electric       Gov. Aggregation
AEP - CSP     00040621080056374           Electric       Gov. Aggregation   FEOH - OE     08024924320000778677        Electric       Gov. Aggregation
AEP - CSP     00040621080081255           Electric       Gov. Aggregation   FEOH - OE     08024927275000070146        Electric       Gov. Aggregation
AEP - CSP     00040621080100835           Electric       Gov. Aggregation   FEOH - OE     08022414110000592353        Electric       Gov. Aggregation
AEP - CSP     00040621080252344           Electric       Gov. Aggregation   FEOH - OE     08022416720000780239        Electric       Gov. Aggregation
AEP - CSP     00040621080331494           Electric       Gov. Aggregation   FEOH - OE     08022480970000584170        Electric       Gov. Aggregation
AEP - CSP     00040621087400992           Electric       Gov. Aggregation   FEOH - OE     08022484440000584037        Electric       Gov. Aggregation
AEP - CSP     00040621087492464           Electric       Gov. Aggregation   FEOH - OE     08022485530000584218        Electric       Gov. Aggregation
AEP - CSP     00040621087619252           Electric       Gov. Aggregation   FEOH - OE     08022486890000583972        Electric       Gov. Aggregation
AEP - CSP     00040621087674873           Electric       Gov. Aggregation   FEOH - OE     08022489480000584032        Electric       Gov. Aggregation
AEP - CSP     00040621087680391           Electric       Gov. Aggregation   FEOH - OE     08024741370000786641        Electric       Gov. Aggregation
AEP - CSP     00040621087717545           Electric       Gov. Aggregation   FEOH - OE     08024771180001553070        Electric       Gov. Aggregation
AEP - CSP     00040621087773641           Electric       Gov. Aggregation   FEOH - OE     08024773660001392016        Electric       Gov. Aggregation
AEP - CSP     00040621082883202           Electric       Gov. Aggregation   FEOH - OE     08024774230001405387        Electric       Gov. Aggregation
AEP - CSP     00040621082944730           Electric       Gov. Aggregation   FEOH - OE     08024777140001530071        Electric       Gov. Aggregation
AEP - CSP     00040621083176525           Electric       Gov. Aggregation   FEOH - OE     08024780670000765268        Electric       Gov. Aggregation
AEP - CSP     00040621083197432           Electric       Gov. Aggregation   FEOH - OE     08024812360000786824        Electric       Gov. Aggregation
AEP - CSP     00040621083202814           Electric       Gov. Aggregation   FEOH - OE     08021236100000586840        Electric       Gov. Aggregation
AEP - CSP     00040621083275490           Electric       Gov. Aggregation   FEOH - OE     08021237150000587102        Electric       Gov. Aggregation
AEP - CSP     00040621083276385           Electric       Gov. Aggregation   FEOH - OE     08021239310000586845        Electric       Gov. Aggregation
AEP - CSP     00040621083544675           Electric       Gov. Aggregation   FEOH - OE     08021240590001331893        Electric       Gov. Aggregation
AEP - CSP     00040621083571514           Electric       Gov. Aggregation   FEOH - OE     08021308395001365043        Electric       Gov. Aggregation
AEP - CSP     00040621083756113           Electric       Gov. Aggregation   FEOH - OE     08021309340000603637        Electric       Gov. Aggregation
AEP - CSP     00040621083796934           Electric       Gov. Aggregation   FEOH - TE     08021334972810015475        Electric       Gov. Aggregation
AEP - CSP     00040621083866560           Electric       Gov. Aggregation   FEOH - OE     08023234700001546836        Electric       Gov. Aggregation
AEP - CSP     00040621084069722           Electric       Gov. Aggregation   FEOH - OE     08023235160000791648        Electric       Gov. Aggregation
AEP - CSP     00040621077929743           Electric       Gov. Aggregation   FEOH - OE     08023235530000770987        Electric       Gov. Aggregation
AEP - CSP     00040621078015382           Electric       Gov. Aggregation   FEOH - OE     08023277030000765687        Electric       Gov. Aggregation
AEP - CSP     00040621078036574           Electric       Gov. Aggregation   FEOH - OE     08023277130000765689        Electric       Gov. Aggregation
AEP - CSP     00040621078141571           Electric       Gov. Aggregation   FEOH - OE     08023291130000778289        Electric       Gov. Aggregation
AEP - CSP     00040621078154753           Electric       Gov. Aggregation   FEOH - OE     08023299120001311498        Electric       Gov. Aggregation
AEP - CSP     00040621078405753           Electric       Gov. Aggregation   FEOH - OE     08021371170000603756        Electric       Gov. Aggregation
AEP - CSP     00040621073867553           Electric       Gov. Aggregation   FEOH - OE     08021375360000603803        Electric       Gov. Aggregation
AEP - CSP     00040621074024950           Electric       Gov. Aggregation   FEOH - OE     08021434445000291972        Electric       Gov. Aggregation
AEP - CSP     00040621074102744           Electric       Gov. Aggregation   FEOH - OE     08021444080000587624        Electric       Gov. Aggregation
AEP - CSP     00040621074408445           Electric       Gov. Aggregation   FEOH - OE     08021444910000587639        Electric       Gov. Aggregation
AEP - CSP     00040621074461165           Electric       Gov. Aggregation   FEOH - OE     08021444990000587961        Electric       Gov. Aggregation
AEP - CSP     00040621074601051           Electric       Gov. Aggregation   FEOH - OE     08021446370000845179        Electric       Gov. Aggregation
AEP - CSP     00040621074655411           Electric       Gov. Aggregation   FEOH - OE     08021447730001471415        Electric       Gov. Aggregation
AEP - CSP     00040621082943524           Electric       Gov. Aggregation   FEOH - OE     08021500810001319456        Electric       Gov. Aggregation
AEP - CSP     00040621082992882           Electric       Gov. Aggregation   FEOH - OE     08021504710000604144        Electric       Gov. Aggregation
AEP - CSP     00040621083066342           Electric       Gov. Aggregation   FEOH - OE     08021506460000604187        Electric       Gov. Aggregation
AEP - CSP     00040621083161343           Electric       Gov. Aggregation   FEOH - TE     08021575192900009364        Electric       Gov. Aggregation
AEP - CSP     00040621083174733           Electric       Gov. Aggregation   FEOH - OE     08021642060001439775        Electric       Gov. Aggregation
AEP - CSP     00040621083404691           Electric       Gov. Aggregation   FEOH - OE     08023299600000765209        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621083467593           Electric       Gov. Aggregation   FEOH - OE     08023299740000789361        Electric       Gov. Aggregation
AEP - CSP     00040621087947823           Electric       Gov. Aggregation   FEOH - OE     08023302210001374905        Electric       Gov. Aggregation
AEP - CSP     00040621088132790           Electric       Gov. Aggregation   FEOH - OE     08023305010000810073        Electric       Gov. Aggregation
AEP - CSP     00040621088203902           Electric       Gov. Aggregation   FEOH - OE     08023305590000810081        Electric       Gov. Aggregation
AEP - CSP     00040621088274545           Electric       Gov. Aggregation   FEOH - OE     08023307180000810104        Electric       Gov. Aggregation
AEP - CSP     00040621088288371           Electric       Gov. Aggregation   FEOH - OE     08023307185001280686        Electric       Gov. Aggregation
AEP - CSP     00040621088404281           Electric       Gov. Aggregation   FEOH - OE     08022524780000604143        Electric       Gov. Aggregation
AEP - CSP     00040621088412465           Electric       Gov. Aggregation   FEOH - TE     08022550542210015053        Electric       Gov. Aggregation
AEP - CSP     00040621080338732           Electric       Gov. Aggregation   FEOH - OE     08022550740000584259        Electric       Gov. Aggregation
AEP - CSP     00040621080643641           Electric       Gov. Aggregation   FEOH - OE     08022553010000584014        Electric       Gov. Aggregation
AEP - CSP     00040621080875910           Electric       Gov. Aggregation   FEOH - OE     08022553170000584016        Electric       Gov. Aggregation
AEP - CSP     00040621080885735           Electric       Gov. Aggregation   FEOH - OE     08022554350000583975        Electric       Gov. Aggregation
AEP - CSP     00040621081380094           Electric       Gov. Aggregation   FEOH - OE     08022618830000584225        Electric       Gov. Aggregation
AEP - CSP     00040621081448415           Electric       Gov. Aggregation   FEOH - TE     08021642122040000546        Electric       Gov. Aggregation
AEP - CSP     00040621083409031           Electric       Gov. Aggregation   FEOH - OE     08021644130000600369        Electric       Gov. Aggregation
AEP - CSP     00040621083443901           Electric       Gov. Aggregation   FEOH - OE     08021648990000587964        Electric       Gov. Aggregation
AEP - CSP     00040621083473001           Electric       Gov. Aggregation   FEOH - OE     08021837470000603661        Electric       Gov. Aggregation
AEP - CSP     00040621083504815           Electric       Gov. Aggregation   FEOH - OE     08022001540001411021        Electric       Gov. Aggregation
AEP - CSP     00040621083526000           Electric       Gov. Aggregation   FEOH - OE     08024814420000786847        Electric       Gov. Aggregation
AEP - CSP     00040621083533665           Electric       Gov. Aggregation   FEOH - OE     08024814950000786855        Electric       Gov. Aggregation
AEP - CSP     00040621083572032           Electric       Gov. Aggregation   FEOH - OE     08024815230000786859        Electric       Gov. Aggregation
AEP - CSP     00040621084218841           Electric       Gov. Aggregation   FEOH - OE     08024841665000339050        Electric       Gov. Aggregation
AEP - CSP     00040621084351293           Electric       Gov. Aggregation   FEOH - OE     08024841940000778495        Electric       Gov. Aggregation
AEP - CSP     00040621084357312           Electric       Gov. Aggregation   FEOH - OE     08024842580000778504        Electric       Gov. Aggregation
AEP - CSP     00040621084642592           Electric       Gov. Aggregation   FEOH - OE     08021501370000604224        Electric       Gov. Aggregation
AEP - CSP     00040621084918173           Electric       Gov. Aggregation   FEOH - OE     08021504140000604063        Electric       Gov. Aggregation
AEP - CSP     00040621084924594           Electric       Gov. Aggregation   FEOH - OE     08021505420000604202        Electric       Gov. Aggregation
AEP - CSP     00040621084998905           Electric       Gov. Aggregation   FEOH - TE     08021573055000085025        Electric       Gov. Aggregation
AEP - CSP     00040621074859570           Electric       Gov. Aggregation   FEOH - TE     08021577032920092084        Electric       Gov. Aggregation
AEP - CSP     00040621074865621           Electric       Gov. Aggregation   FEOH - OE     08021937890001486480        Electric       Gov. Aggregation
AEP - CSP     00040621074873661           Electric       Gov. Aggregation   FEOH - OE     08024847710000778581        Electric       Gov. Aggregation
AEP - CSP     00040621074994523           Electric       Gov. Aggregation   FEOH - OE     08024849550000805497        Electric       Gov. Aggregation
AEP - CSP     00040621075134352           Electric       Gov. Aggregation   FEOH - OE     08024854020000803213        Electric       Gov. Aggregation
AEP - CSP     00040621075190235           Electric       Gov. Aggregation   FEOH - OE     08024854370000803216        Electric       Gov. Aggregation
AEP - CSP     00040621083514780           Electric       Gov. Aggregation   FEOH - OE     08024856060000803946        Electric       Gov. Aggregation
AEP - CSP     00040621083861982           Electric       Gov. Aggregation   FEOH - OE     08024857200000803965        Electric       Gov. Aggregation
AEP - CSP     00040621083907863           Electric       Gov. Aggregation   FEOH - OE     08024857480000803969        Electric       Gov. Aggregation
AEP - CSP     00040621084021690           Electric       Gov. Aggregation   FEOH - OE     08024596270000803562        Electric       Gov. Aggregation
AEP - CSP     00040621084045452           Electric       Gov. Aggregation   FEOH - OE     08024599800001539159        Electric       Gov. Aggregation
AEP - CSP     00040621084328502           Electric       Gov. Aggregation   FEOH - OE     08024601660000786336        Electric       Gov. Aggregation
AEP - CSP     00040621087926095           Electric       Gov. Aggregation   FEOH - OE     08024602640000786349        Electric       Gov. Aggregation
AEP - CSP     00040621087971734           Electric       Gov. Aggregation   FEOH - OE     08024603680000790691        Electric       Gov. Aggregation
AEP - CSP     00040621088000983           Electric       Gov. Aggregation   FEOH - OE     08024606090001318600        Electric       Gov. Aggregation
AEP - CSP     00040621088029664           Electric       Gov. Aggregation   FEOH - OE     08024607350000786418        Electric       Gov. Aggregation
AEP - CSP     00040621088190864           Electric       Gov. Aggregation   FEOH - OE     08023307670000810112        Electric       Gov. Aggregation
AEP - CSP     00040621088246511           Electric       Gov. Aggregation   FEOH - OE     08023309490000810138        Electric       Gov. Aggregation
AEP - CSP     00040621088308340           Electric       Gov. Aggregation   FEOH - OE     08023310120000770991        Electric       Gov. Aggregation
AEP - CSP     00040621088426033           Electric       Gov. Aggregation   FEOH - OE     08023310910001482673        Electric       Gov. Aggregation
AEP - CSP     00040621088450621           Electric       Gov. Aggregation   FEOH - OE     08023312560001485765        Electric       Gov. Aggregation
AEP - CSP     00040621088548735           Electric       Gov. Aggregation   FEOH - OE     08023314430001448633        Electric       Gov. Aggregation
AEP - CSP     00040621088609080           Electric       Gov. Aggregation   FEOH - OE     08022620790001397047        Electric       Gov. Aggregation
AEP - CSP     00040621088628243           Electric       Gov. Aggregation   FEOH - OE     08022622450001475231        Electric       Gov. Aggregation
AEP - CSP     00040621088665341           Electric       Gov. Aggregation   FEOH - OE     08022622720001483938        Electric       Gov. Aggregation
AEP - CSP     00040621088693461           Electric       Gov. Aggregation   FEOH - OE     08022622980001372052        Electric       Gov. Aggregation
AEP - CSP     00040621083604825           Electric       Gov. Aggregation   FEOH - OE     08022699620000803796        Electric       Gov. Aggregation
AEP - CSP     00040621083609104           Electric       Gov. Aggregation   FEOH - OE     08022759400000804853        Electric       Gov. Aggregation
AEP - CSP     00040621084002920           Electric       Gov. Aggregation   FEOH - OE     08021938250001443558        Electric       Gov. Aggregation
AEP - CSP     00040621084056200           Electric       Gov. Aggregation   FEOH - OE     08022078000001422927        Electric       Gov. Aggregation
AEP - CSP     00040621084278962           Electric       Gov. Aggregation   FEOH - TE     08022117922570091496        Electric       Gov. Aggregation
AEP - CSP     00040621084452531           Electric       Gov. Aggregation   FEOH - OE     08022341110000590599        Electric       Gov. Aggregation
AEP - CSP     00040621084461114           Electric       Gov. Aggregation   FEOH - OE     08022342130000590686        Electric       Gov. Aggregation
AEP - CSP     00040621075456385           Electric       Gov. Aggregation   FEOH - OE     08022349330000592405        Electric       Gov. Aggregation
AEP - CSP     00040621075514174           Electric       Gov. Aggregation   FEOH - OE     08022412660000592337        Electric       Gov. Aggregation
AEP - CSP     00040621075743414           Electric       Gov. Aggregation   FEOH - OE     08024859080000803995        Electric       Gov. Aggregation
AEP - CSP     00040621075791163           Electric       Gov. Aggregation   FEOH - OE     08024864850001350656        Electric       Gov. Aggregation
AEP - CSP     00040621075836253           Electric       Gov. Aggregation   FEOH - OE     08024886630000762651        Electric       Gov. Aggregation
AEP - CSP     00040621076070595           Electric       Gov. Aggregation   FEOH - OE     08024886980000762657        Electric       Gov. Aggregation
AEP - CSP     00040621076075942           Electric       Gov. Aggregation   FEOH - OE     08024910710000786376        Electric       Gov. Aggregation
AEP - CSP     00040621084357075           Electric       Gov. Aggregation   FEOH - OE     08024911680000804033        Electric       Gov. Aggregation
AEP - CSP     00040621084366914           Electric       Gov. Aggregation   FEOH - OE     08024916600000804102        Electric       Gov. Aggregation
AEP - CSP     00040621084382402           Electric       Gov. Aggregation   FEOH - OE     08024927790001304975        Electric       Gov. Aggregation
AEP - CSP     00040621084410103           Electric       Gov. Aggregation   FEOH - OE     08024980260000804237        Electric       Gov. Aggregation
AEP - CSP     00040621084544410           Electric       Gov. Aggregation   FEOH - OE     08024980520000804164        Electric       Gov. Aggregation
AEP - CSP     00040621084549093           Electric       Gov. Aggregation   FEOH - OE     08024980610000804166        Electric       Gov. Aggregation
AEP - CSP     00040621084561475           Electric       Gov. Aggregation   FEOH - OE     08024981300000804177        Electric       Gov. Aggregation
AEP - CSP     00040621081580114           Electric       Gov. Aggregation   FEOH - OE     08024983260000804330        Electric       Gov. Aggregation
AEP - CSP     00040621081598995           Electric       Gov. Aggregation   FEOH - OE     08024986490000762709        Electric       Gov. Aggregation
AEP - CSP     00040621081622205           Electric       Gov. Aggregation   FEOH - OE     08024608750000841348        Electric       Gov. Aggregation
AEP - CSP     00040621081761022           Electric       Gov. Aggregation   FEOH - OE     08024609430000786450        Electric       Gov. Aggregation
AEP - CSP     00040621081821055           Electric       Gov. Aggregation   FEOH - OE     08024645940000803745        Electric       Gov. Aggregation
AEP - CSP     00040621081845134           Electric       Gov. Aggregation   FEOH - OE     08024647070000783792        Electric       Gov. Aggregation
AEP - CSP     00040621085107740           Electric       Gov. Aggregation   FEOH - OE     08024648620000803788        Electric       Gov. Aggregation
AEP - CSP     00040621085185174           Electric       Gov. Aggregation   FEOH - OE     08024649710000803803        Electric       Gov. Aggregation
AEP - CSP     00040621085375470           Electric       Gov. Aggregation   FEOH - OE     08024670560000786468        Electric       Gov. Aggregation
AEP - CSP     00040621085916984           Electric       Gov. Aggregation   FEOH - TE     08022073212210013240        Electric       Gov. Aggregation
AEP - CSP     00040621085925721           Electric       Gov. Aggregation   FEOH - OE     08022197060001351626        Electric       Gov. Aggregation
AEP - CSP     00040621086009130           Electric       Gov. Aggregation   FEOH - OE     08022340620000590590        Electric       Gov. Aggregation
AEP - CSP     00040621088343745           Electric       Gov. Aggregation   FEOH - OE     08022341290000590601        Electric       Gov. Aggregation
AEP - CSP     00040621088484753           Electric       Gov. Aggregation   FEOH - OE     08022411150000592324        Electric       Gov. Aggregation
AEP - CSP     00040621088494871           Electric       Gov. Aggregation   FEOH - OE     08023836080000792619        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621088589421           Electric       Gov. Aggregation   FEOH - OE     08023838790000792657        Electric       Gov. Aggregation
AEP - CSP     00040621088715642           Electric       Gov. Aggregation   FEOH - OE     08023842990000789083        Electric       Gov. Aggregation
AEP - CSP     00040621088828784           Electric       Gov. Aggregation   FEOH - OE     08023843230000806305        Electric       Gov. Aggregation
AEP - CSP     00040621088959865           Electric       Gov. Aggregation   FEOH - OE     08023843300000806306        Electric       Gov. Aggregation
AEP - CSP     00040621088860980           Electric       Gov. Aggregation   FEOH - OE     08023844920000789110        Electric       Gov. Aggregation
AEP - CSP     00040621089082382           Electric       Gov. Aggregation   FEOH - OE     08023845800000789124        Electric       Gov. Aggregation
AEP - CSP     00040621089104695           Electric       Gov. Aggregation   FEOH - OE     08023316290000791659        Electric       Gov. Aggregation
AEP - CSP     00040621089107572           Electric       Gov. Aggregation   FEOH - OE     08023319410000791705        Electric       Gov. Aggregation
AEP - CSP     00040621089429851           Electric       Gov. Aggregation   FEOH - OE     08023341140001550859        Electric       Gov. Aggregation
AEP - CSP     00040621089452775           Electric       Gov. Aggregation   FEOH - OE     08023360040000805438        Electric       Gov. Aggregation
AEP - CSP     00040621089495152           Electric       Gov. Aggregation   FEOH - OE     08023360180000805447        Electric       Gov. Aggregation
AEP - CSP     00040621084497200           Electric       Gov. Aggregation   FEOH - OE     08023361000000805465        Electric       Gov. Aggregation
AEP - CSP     00040621084499685           Electric       Gov. Aggregation   FEOH - OE     08023361590000786885        Electric       Gov. Aggregation
AEP - CSP     00040621084576145           Electric       Gov. Aggregation   FEOH - OE     08022418450000584120        Electric       Gov. Aggregation
AEP - CSP     00040621084659182           Electric       Gov. Aggregation   FEOH - OE     08022419110000584133        Electric       Gov. Aggregation
AEP - CSP     00040621084705803           Electric       Gov. Aggregation   FEOH - OE     08022419580000584141        Electric       Gov. Aggregation
AEP - CSP     00040621084731945           Electric       Gov. Aggregation   FEOH - OE     08022419820000584144        Electric       Gov. Aggregation
AEP - CSP     00040621084748120           Electric       Gov. Aggregation   FEOH - OE     08022486950000583988        Electric       Gov. Aggregation
AEP - CSP     00040621078548191           Electric       Gov. Aggregation   FEOH - OE     08022488280000584229        Electric       Gov. Aggregation
AEP - CSP     00040621078553352           Electric       Gov. Aggregation   FEOH - OE     08022550780000584103        Electric       Gov. Aggregation
AEP - CSP     00040621078771385           Electric       Gov. Aggregation   FEOH - OE     08024920770000778622        Electric       Gov. Aggregation
AEP - CSP     00040621078933145           Electric       Gov. Aggregation   FEOH - OE     08024922130000778497        Electric       Gov. Aggregation
AEP - CSP     00040621078964741           Electric       Gov. Aggregation   FEOH - OE     08024922690000778654        Electric       Gov. Aggregation
AEP - CSP     00040621079009490           Electric       Gov. Aggregation   FEOH - OE     08024922750000778655        Electric       Gov. Aggregation
AEP - CSP     00040621079050320           Electric       Gov. Aggregation   FEOH - OE     08024925820000778696        Electric       Gov. Aggregation
AEP - CSP     00040621084987480           Electric       Gov. Aggregation   FEOH - OE     08024926160000778699        Electric       Gov. Aggregation
AEP - CSP     00040621085198871           Electric       Gov. Aggregation   FEOH - OE     08025001780001540063        Electric       Gov. Aggregation
AEP - CSP     00040621085285181           Electric       Gov. Aggregation   FEOH - OE     08025023740000790756        Electric       Gov. Aggregation
AEP - CSP     00040621082076054           Electric       Gov. Aggregation   FEOH - OE     08025023820000790757        Electric       Gov. Aggregation
AEP - CSP     00040621082157445           Electric       Gov. Aggregation   FEOH - OE     08025060030000803886        Electric       Gov. Aggregation
AEP - CSP     00040621082180821           Electric       Gov. Aggregation   FEOH - OE     08025061150000803903        Electric       Gov. Aggregation
AEP - CSP     00040621082289400           Electric       Gov. Aggregation   FEOH - OE     08025061980000803915        Electric       Gov. Aggregation
AEP - CSP     00040621082305861           Electric       Gov. Aggregation   FEOH - OE     08025063940000804354        Electric       Gov. Aggregation
AEP - CSP     00040621082368460           Electric       Gov. Aggregation   FEOH - OE     08024671490000786481        Electric       Gov. Aggregation
AEP - CSP     00040621082469453           Electric       Gov. Aggregation   FEOH - OE     08024674070000786519        Electric       Gov. Aggregation
AEP - CSP     00040621089205702           Electric       Gov. Aggregation   FEOH - OE     08024674150001381152        Electric       Gov. Aggregation
AEP - CSP     00040621089248794           Electric       Gov. Aggregation   FEOH - OE     08024675330001482181        Electric       Gov. Aggregation
AEP - CSP     00040621089388650           Electric       Gov. Aggregation   FEOH - OE     08024676900000790800        Electric       Gov. Aggregation
AEP - CSP     00040621089500972           Electric       Gov. Aggregation   FEOH - OE     08024703290000778735        Electric       Gov. Aggregation
AEP - CSP     00040621089516130           Electric       Gov. Aggregation   FEOH - OE     08024708530000778407        Electric       Gov. Aggregation
AEP - CSP     00040621089668541           Electric       Gov. Aggregation   FEOH - OE     08022765640000590615        Electric       Gov. Aggregation
AEP - CSP     00040621089958503           Electric       Gov. Aggregation   FEOH - OE     08022779325000078921        Electric       Gov. Aggregation
AEP - CSP     00040621086088193           Electric       Gov. Aggregation   FEOH - OE     08022817110000792700        Electric       Gov. Aggregation
AEP - CSP     00040621086318465           Electric       Gov. Aggregation   FEOH - TE     08022867992030033461        Electric       Gov. Aggregation
AEP - CSP     00040621086425094           Electric       Gov. Aggregation   FEOH - OE     08022915850000587074        Electric       Gov. Aggregation
AEP - CSP     00040621086745690           Electric       Gov. Aggregation   FEOH - OE     08023362280000805480        Electric       Gov. Aggregation
AEP - CSP     00040621086748181           Electric       Gov. Aggregation   FEOH - OE     08023362610000784389        Electric       Gov. Aggregation
AEP - CSP     00040621089562143           Electric       Gov. Aggregation   FEOH - OE     08023365310000784428        Electric       Gov. Aggregation
AEP - CSP     00040621089578610           Electric       Gov. Aggregation   FEOH - OE     08023366030000805546        Electric       Gov. Aggregation
AEP - CSP     00040621089722010           Electric       Gov. Aggregation   FEOH - OE     08023366315001241531        Electric       Gov. Aggregation
AEP - CSP     00040621089844273           Electric       Gov. Aggregation   FEOH - OE     08023366710000805556        Electric       Gov. Aggregation
AEP - CSP     00040621089904882           Electric       Gov. Aggregation   FEOH - OE     08023368110000784470        Electric       Gov. Aggregation
AEP - CSP     00040621090177472           Electric       Gov. Aggregation   FEOH - OE     08023849890001408357        Electric       Gov. Aggregation
AEP - CSP     00040621090302080           Electric       Gov. Aggregation   FEOH - OE     08023854560000790274        Electric       Gov. Aggregation
AEP - CSP     00040621084820062           Electric       Gov. Aggregation   FEOH - OE     08023880085000263231        Electric       Gov. Aggregation
AEP - CSP     00040621084918641           Electric       Gov. Aggregation   FEOH - OE     08023881640000792629        Electric       Gov. Aggregation
AEP - CSP     00040621084934532           Electric       Gov. Aggregation   FEOH - OE     08023887010000770548        Electric       Gov. Aggregation
AEP - CSP     00040621084976571           Electric       Gov. Aggregation   FEOH - OE     08023901110000792689        Electric       Gov. Aggregation
AEP - CSP     00040621085081152           Electric       Gov. Aggregation   FEOH - OE     08023903330000792725        Electric       Gov. Aggregation
AEP - CSP     00040621085163565           Electric       Gov. Aggregation   FEOH - OE     08022411250000583974        Electric       Gov. Aggregation
AEP - CSP     00040621076098681           Electric       Gov. Aggregation   FEOH - OE     08022414810000592364        Electric       Gov. Aggregation
AEP - CSP     00040621076210610           Electric       Gov. Aggregation   FEOH - OE     08022415110000592373        Electric       Gov. Aggregation
AEP - CSP     00040621076225512           Electric       Gov. Aggregation   FEOH - OE     08022417370001484563        Electric       Gov. Aggregation
AEP - CSP     00040621076385230           Electric       Gov. Aggregation   FEOH - OE     08022418160001326423        Electric       Gov. Aggregation
AEP - CSP     00040621076466800           Electric       Gov. Aggregation   FEOH - OE     08022418770000584131        Electric       Gov. Aggregation
AEP - CSP     00040621076467095           Electric       Gov. Aggregation   FEOH - OE     08022419110000584135        Electric       Gov. Aggregation
AEP - CSP     00040621085430704           Electric       Gov. Aggregation   FEOH - OE     08022552110000584002        Electric       Gov. Aggregation
AEP - CSP     00040621085458040           Electric       Gov. Aggregation   FEOH - OE     08022623930001519222        Electric       Gov. Aggregation
AEP - CSP     00040621085933502           Electric       Gov. Aggregation   FEOH - OE     08022804970000788997        Electric       Gov. Aggregation
AEP - CSP     00040621085973990           Electric       Gov. Aggregation   FEOH - OE     08022805005000139214        Electric       Gov. Aggregation
AEP - CSP     00040621085984264           Electric       Gov. Aggregation   FEOH - OE     08022809410000790309        Electric       Gov. Aggregation
AEP - CSP     00040621086029674           Electric       Gov. Aggregation   FEOH - OE     08022819770000789334        Electric       Gov. Aggregation
AEP - CSP     00040621086139020           Electric       Gov. Aggregation   FEOH - OE     08025064290000786502        Electric       Gov. Aggregation
AEP - CSP     00040621082533135           Electric       Gov. Aggregation   FEOH - OE     08025065480000804378        Electric       Gov. Aggregation
AEP - CSP     00040621082662635           Electric       Gov. Aggregation   FEOH - OE     08025067300000804400        Electric       Gov. Aggregation
AEP - CSP     00040621082869502           Electric       Gov. Aggregation   FEOH - OE     08025068340000804417        Electric       Gov. Aggregation
AEP - CSP     00040621082929840           Electric       Gov. Aggregation   FEOH - OE     08025070650000778846        Electric       Gov. Aggregation
AEP - CSP     00040621083166870           Electric       Gov. Aggregation   FEOH - OE     08025072460000778864        Electric       Gov. Aggregation
AEP - CSP     00040621083219061           Electric       Gov. Aggregation   FEOH - OE     08024927720001321262        Electric       Gov. Aggregation
AEP - CSP     00040621083302863           Electric       Gov. Aggregation   FEOH - OE     08024935440000810095        Electric       Gov. Aggregation
AEP - CSP     00040621090064183           Electric       Gov. Aggregation   FEOH - OE     08024949700001300190        Electric       Gov. Aggregation
AEP - CSP     00040621090088143           Electric       Gov. Aggregation   FEOH - OE     08024951500000762723        Electric       Gov. Aggregation
AEP - CSP     00040621090104381           Electric       Gov. Aggregation   FEOH - OE     08024980980000804172        Electric       Gov. Aggregation
AEP - CSP     00040621090338095           Electric       Gov. Aggregation   FEOH - OE     08024982210000804191        Electric       Gov. Aggregation
AEP - CSP     00040621090342095           Electric       Gov. Aggregation   FEOH - OE     08024983130000804039        Electric       Gov. Aggregation
AEP - CSP     00040621090469763           Electric       Gov. Aggregation   FEOH - OE     08024712050001517214        Electric       Gov. Aggregation
AEP - CSP     00040621090580211           Electric       Gov. Aggregation   FEOH - OE     08024713310000803855        Electric       Gov. Aggregation
AEP - CSP     00040621086788794           Electric       Gov. Aggregation   FEOH - OE     08024713820000803858        Electric       Gov. Aggregation
AEP - CSP     00040621086808953           Electric       Gov. Aggregation   FEOH - OE     08024715230000790710        Electric       Gov. Aggregation
AEP - CSP     00040621086966135           Electric       Gov. Aggregation   FEOH - OE     08024715990001572944        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621086968272           Electric       Gov. Aggregation   FEOH - OE     08024716960000803930        Electric       Gov. Aggregation
AEP - CSP     00040621087005173           Electric       Gov. Aggregation   FEOH - OE     08024719580001330722        Electric       Gov. Aggregation
AEP - CSP     00040621087319722           Electric       Gov. Aggregation   FEOH - OE     08022948885000359528        Electric       Gov. Aggregation
AEP - CSP     00040621087345931           Electric       Gov. Aggregation   FEOH - OE     08023013470000792687        Electric       Gov. Aggregation
AEP - CSP     00040621090363123           Electric       Gov. Aggregation   FEOH - OE     08023017180001384054        Electric       Gov. Aggregation
AEP - CSP     00040621090540344           Electric       Gov. Aggregation   FEOH - OE     08023023550000791364        Electric       Gov. Aggregation
AEP - CSP     00040621090663803           Electric       Gov. Aggregation   FEOH - OE     08023023640001301643        Electric       Gov. Aggregation
AEP - CSP     00040621090813641           Electric       Gov. Aggregation   FEOH - OE     08023026810000770542        Electric       Gov. Aggregation
AEP - CSP     00040621091105935           Electric       Gov. Aggregation   FEOH - OE     08023026890000770543        Electric       Gov. Aggregation
AEP - CSP     00040621079109882           Electric       Gov. Aggregation   FEOH - OE     08023370670000810154        Electric       Gov. Aggregation
AEP - CSP     00040621079160703           Electric       Gov. Aggregation   FEOH - OE     08023372310000810179        Electric       Gov. Aggregation
AEP - CSP     00040621079274945           Electric       Gov. Aggregation   FEOH - OE     08023375680001336272        Electric       Gov. Aggregation
AEP - CSP     00040621079432874           Electric       Gov. Aggregation   FEOH - OE     08023376200001325003        Electric       Gov. Aggregation
AEP - CSP     00040621079490461           Electric       Gov. Aggregation   FEOH - OE     08023382170000791745        Electric       Gov. Aggregation
AEP - CSP     00040621079507090           Electric       Gov. Aggregation   FEOH - OE     08023383300000791763        Electric       Gov. Aggregation
AEP - CSP     00040621079806685           Electric       Gov. Aggregation   FEOH - OE     08023384660000791783        Electric       Gov. Aggregation
AEP - CSP     00040621085374641           Electric       Gov. Aggregation   FEOH - OE     08023905280001303243        Electric       Gov. Aggregation
AEP - CSP     00040621085414252           Electric       Gov. Aggregation   FEOH - OE     08023906380001340969        Electric       Gov. Aggregation
AEP - CSP     00040621085435863           Electric       Gov. Aggregation   FEOH - OE     08023913380001350652        Electric       Gov. Aggregation
AEP - CSP     00040621085437314           Electric       Gov. Aggregation   FEOH - OE     08023914190000789254        Electric       Gov. Aggregation
AEP - CSP     00040621085459073           Electric       Gov. Aggregation   FEOH - OE     08023914370001509857        Electric       Gov. Aggregation
AEP - CSP     00040621085501512           Electric       Gov. Aggregation   FEOH - OE     08023914640000789261        Electric       Gov. Aggregation
AEP - CSP     00040621085522465           Electric       Gov. Aggregation   FEOH - OE     08023916240000789285        Electric       Gov. Aggregation
AEP - CSP     00040621076677744           Electric       Gov. Aggregation   FEOH - OE     08022842080000603733        Electric       Gov. Aggregation
AEP - CSP     00040621076778071           Electric       Gov. Aggregation   FEOH - OE     08022889780000604236        Electric       Gov. Aggregation
AEP - CSP     00040621076867153           Electric       Gov. Aggregation   FEOH - OE     08022944090000803652        Electric       Gov. Aggregation
AEP - CSP     00040621077047282           Electric       Gov. Aggregation   FEOH - OE     08022954995000021638        Electric       Gov. Aggregation
AEP - CSP     00040621077062584           Electric       Gov. Aggregation   FEOH - TE     08022988945000200041        Electric       Gov. Aggregation
AEP - CSP     00040621077273423           Electric       Gov. Aggregation   FEOH - OE     08023000230000786348        Electric       Gov. Aggregation
AEP - CSP     00040621077307401           Electric       Gov. Aggregation   FEOH - OE     08023004280000587100        Electric       Gov. Aggregation
AEP - CSP     00040621083372311           Electric       Gov. Aggregation   FEOH - OE     08022481040000584172        Electric       Gov. Aggregation
AEP - CSP     00040621083374393           Electric       Gov. Aggregation   FEOH - OE     08022481080000584173        Electric       Gov. Aggregation
AEP - CSP     00040621083425363           Electric       Gov. Aggregation   FEOH - OE     08022485030001329143        Electric       Gov. Aggregation
AEP - CSP     00040621083446710           Electric       Gov. Aggregation   FEOH - OE     08022485620000584164        Electric       Gov. Aggregation
AEP - CSP     00040621083476421           Electric       Gov. Aggregation   FEOH - OE     08022486580000583982        Electric       Gov. Aggregation
AEP - CSP     00040621083693821           Electric       Gov. Aggregation   FEOH - OE     08022487200000583969        Electric       Gov. Aggregation
AEP - CSP     00040621083916220           Electric       Gov. Aggregation   FEOH - OE     08022488335001368001        Electric       Gov. Aggregation
AEP - CSP     00040621086225480           Electric       Gov. Aggregation   FEOH - OE     08025077075001376113        Electric       Gov. Aggregation
AEP - CSP     00040621086288012           Electric       Gov. Aggregation   FEOH - OE     08025088480000778533        Electric       Gov. Aggregation
AEP - CSP     00040621086313515           Electric       Gov. Aggregation   FEOH - OE     08025093980000841272        Electric       Gov. Aggregation
AEP - CSP     00040621086342320           Electric       Gov. Aggregation   FEOH - OE     08025094880001335785        Electric       Gov. Aggregation
AEP - CSP     00040621086509421           Electric       Gov. Aggregation   FEOH - OE     08025095420000790948        Electric       Gov. Aggregation
AEP - CSP     00040621086566383           Electric       Gov. Aggregation   FEOH - OE     08025095720000790953        Electric       Gov. Aggregation
AEP - CSP     00040621086730860           Electric       Gov. Aggregation   FEOH - OE     08025096100000790958        Electric       Gov. Aggregation
AEP - CSP     00040621077379475           Electric       Gov. Aggregation   FEOH - OE     08023028420000790331        Electric       Gov. Aggregation
AEP - CSP     00040621077592881           Electric       Gov. Aggregation   FEOH - OE     08023045500000604139        Electric       Gov. Aggregation
AEP - CSP     00040621077761493           Electric       Gov. Aggregation   FEOH - OE     08023092430000789191        Electric       Gov. Aggregation
AEP - CSP     00040621077836185           Electric       Gov. Aggregation   FEOH - OE     08023133900000765311        Electric       Gov. Aggregation
AEP - CSP     00040621077844195           Electric       Gov. Aggregation   FEOH - OE     08023152570000780052        Electric       Gov. Aggregation
AEP - CSP     00040621077944472           Electric       Gov. Aggregation   FEOH - OE     08023153620000780063        Electric       Gov. Aggregation
AEP - CSP     00040621078030722           Electric       Gov. Aggregation   FEOH - OE     08023157430000780135        Electric       Gov. Aggregation
AEP - CSP     00040621087516205           Electric       Gov. Aggregation   FEOH - OE     08024730215000361423        Electric       Gov. Aggregation
AEP - CSP     00040621087728050           Electric       Gov. Aggregation   FEOH - OE     08024773530001371875        Electric       Gov. Aggregation
AEP - CSP     00040621087800352           Electric       Gov. Aggregation   FEOH - OE     08024776310001507197        Electric       Gov. Aggregation
AEP - CSP     00040621087854951           Electric       Gov. Aggregation   FEOH - OE     08024779540000778522        Electric       Gov. Aggregation
AEP - CSP     00040621087866455           Electric       Gov. Aggregation   FEOH - OE     08024779610000778466        Electric       Gov. Aggregation
AEP - CSP     00040621087881741           Electric       Gov. Aggregation   FEOH - OE     08024783640001372269        Electric       Gov. Aggregation
AEP - CSP     00040621086778421           Electric       Gov. Aggregation   FEOH - OE     08023384800000791785        Electric       Gov. Aggregation
AEP - CSP     00040621086847014           Electric       Gov. Aggregation   FEOH - OE     08023426730000765210        Electric       Gov. Aggregation
AEP - CSP     00040621086979092           Electric       Gov. Aggregation   FEOH - OE     08023428090000765995        Electric       Gov. Aggregation
AEP - CSP     00040621087036904           Electric       Gov. Aggregation   FEOH - OE     08023433380001574512        Electric       Gov. Aggregation
AEP - CSP     00040621087040461           Electric       Gov. Aggregation   FEOH - OE     08023435080000790428        Electric       Gov. Aggregation
AEP - CSP     00040621087046752           Electric       Gov. Aggregation   FEOH - OE     08023438430000784629        Electric       Gov. Aggregation
AEP - CSP     00040621079857385           Electric       Gov. Aggregation   FEOH - OE     08023916720000786413        Electric       Gov. Aggregation
AEP - CSP     00040621080241100           Electric       Gov. Aggregation   FEOH - OE     08023958930001439229        Electric       Gov. Aggregation
AEP - CSP     00040621080349753           Electric       Gov. Aggregation   FEOH - OE     08023980180000803359        Electric       Gov. Aggregation
AEP - CSP     00040621080359610           Electric       Gov. Aggregation   FEOH - OE     08023980180001313902        Electric       Gov. Aggregation
AEP - CSP     00040621080404933           Electric       Gov. Aggregation   FEOH - OE     08024009270000767217        Electric       Gov. Aggregation
AEP - CSP     00040621080547131           Electric       Gov. Aggregation   FEOH - OE     08024009300001391605        Electric       Gov. Aggregation
AEP - CSP     00040621080681444           Electric       Gov. Aggregation   FEOH - OE     08024096870000781901        Electric       Gov. Aggregation
AEP - CSP     00040621078050445           Electric       Gov. Aggregation   FEOH - OE     08023017450000603786        Electric       Gov. Aggregation
AEP - CSP     00040621078299513           Electric       Gov. Aggregation   FEOH - OE     08023025140000770521        Electric       Gov. Aggregation
AEP - CSP     00040621078418003           Electric       Gov. Aggregation   FEOH - OE     08023026930000770544        Electric       Gov. Aggregation
AEP - CSP     00040621078485675           Electric       Gov. Aggregation   FEOH - OE     08023028040001519510        Electric       Gov. Aggregation
AEP - CSP     00040621078564315           Electric       Gov. Aggregation   FEOH - OE     08023047700000604189        Electric       Gov. Aggregation
AEP - CSP     00040621078613921           Electric       Gov. Aggregation   FEOH - OE     08023056220000765203        Electric       Gov. Aggregation
AEP - CSP     00040621078632744           Electric       Gov. Aggregation   FEOH - OE     08023058500000765234        Electric       Gov. Aggregation
AEP - CSP     00040621091298081           Electric       Gov. Aggregation   FEOH - OE     08022491380000803678        Electric       Gov. Aggregation
AEP - CSP     00040621091351201           Electric       Gov. Aggregation   FEOH - OE     08022555540000584051        Electric       Gov. Aggregation
AEP - CSP     00040621091473724           Electric       Gov. Aggregation   FEOH - OE     08022620590001390013        Electric       Gov. Aggregation
AEP - CSP     00040621091575484           Electric       Gov. Aggregation   FEOH - OE     08022625130001555661        Electric       Gov. Aggregation
AEP - CSP     00040621091672691           Electric       Gov. Aggregation   FEOH - TE     08022915752680018758        Electric       Gov. Aggregation
AEP - CSP     00040621091687991           Electric       Gov. Aggregation   FEOH - OE     08022937720000782558        Electric       Gov. Aggregation
AEP - CSP     00040621091903225           Electric       Gov. Aggregation   FEOH - OE     08022946460001557230        Electric       Gov. Aggregation
AEP - CSP     00040621090584164           Electric       Gov. Aggregation   FEOH - OE     08024177880000805408        Electric       Gov. Aggregation
AEP - CSP     00040621090775045           Electric       Gov. Aggregation   FEOH - OE     08024190240001487200        Electric       Gov. Aggregation
AEP - CSP     00040621090815473           Electric       Gov. Aggregation   FEOH - OE     08024191210000789898        Electric       Gov. Aggregation
AEP - CSP     00040621090854615           Electric       Gov. Aggregation   FEOH - OE     08024229890000784488        Electric       Gov. Aggregation
AEP - CSP     00040621090883054           Electric       Gov. Aggregation   FEOH - OE     08024293975000331511        Electric       Gov. Aggregation
AEP - CSP     00040621090891934           Electric       Gov. Aggregation   FEOH - OE     08024293975000331518        Electric       Gov. Aggregation
     Case 2:22-bk-50804                        Doc 155 Filed 04/08/22 Entered 04/08/22 16:29:21                                  Desc Main
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621091009902           Electric       Gov. Aggregation   FEOH - OE     08024293975000331522        Electric       Gov. Aggregation
AEP - CSP     00040621085724042           Electric       Gov. Aggregation   FEOH - OE     08023002910001455439        Electric       Gov. Aggregation
AEP - CSP     00040621085766433           Electric       Gov. Aggregation   FEOH - OE     08023005920001527956        Electric       Gov. Aggregation
AEP - CSP     00040621085926275           Electric       Gov. Aggregation   FEOH - OE     08023023490000791363        Electric       Gov. Aggregation
AEP - CSP     00040621086276523           Electric       Gov. Aggregation   FEOH - OE     08023025320000770524        Electric       Gov. Aggregation
AEP - CSP     00040621086283881           Electric       Gov. Aggregation   FEOH - OE     08023025560001482920        Electric       Gov. Aggregation
AEP - CSP     00040621086523564           Electric       Gov. Aggregation   FEOH - OE     08023027820001584175        Electric       Gov. Aggregation
AEP - CSP     00040621088263990           Electric       Gov. Aggregation   FEOH - OE     08023058100000765228        Electric       Gov. Aggregation
AEP - CSP     00040621088320721           Electric       Gov. Aggregation   FEOH - OE     08025097260000790975        Electric       Gov. Aggregation
AEP - CSP     00040621088465091           Electric       Gov. Aggregation   FEOH - OE     08025128990001563393        Electric       Gov. Aggregation
AEP - CSP     00040621088481144           Electric       Gov. Aggregation   FEOH - OE     08025131900000804465        Electric       Gov. Aggregation
AEP - CSP     00040621088530103           Electric       Gov. Aggregation   FEOH - OE     08025133990000804493        Electric       Gov. Aggregation
AEP - CSP     00040621088588901           Electric       Gov. Aggregation   FEOH - OE     08025137430000804548        Electric       Gov. Aggregation
AEP - CSP     00040621088589814           Electric       Gov. Aggregation   FEOH - OE     08025137960000804554        Electric       Gov. Aggregation
AEP - CSP     00040621091185290           Electric       Gov. Aggregation   FEOH - OE     08025138010001128198        Electric       Gov. Aggregation
AEP - CSP     00040621091287294           Electric       Gov. Aggregation   FEOH - TE     08023466922210009263        Electric       Gov. Aggregation
AEP - CSP     00040621091308212           Electric       Gov. Aggregation   FEOH - OE     08023475790000587065        Electric       Gov. Aggregation
AEP - CSP     00040621091406532           Electric       Gov. Aggregation   FEOH - OE     08023495450000766103        Electric       Gov. Aggregation
AEP - CSP     00040621091456520           Electric       Gov. Aggregation   FEOH - OE     08023502440000804905        Electric       Gov. Aggregation
AEP - CSP     00040621083917515           Electric       Gov. Aggregation   FEOH - OE     08023525160000844568        Electric       Gov. Aggregation
AEP - CSP     00040621084172890           Electric       Gov. Aggregation   FEOH - OE     08023526250000844585        Electric       Gov. Aggregation
AEP - CSP     00040621084174633           Electric       Gov. Aggregation   FEOH - OE     08023164680000792354        Electric       Gov. Aggregation
AEP - CSP     00040621084462460           Electric       Gov. Aggregation   FEOH - OE     08023165260000806142        Electric       Gov. Aggregation
AEP - CSP     00040621084485082           Electric       Gov. Aggregation   FEOH - OE     08023166380000841236        Electric       Gov. Aggregation
AEP - CSP     00040621084557423           Electric       Gov. Aggregation   FEOH - OE     08023167930000841226        Electric       Gov. Aggregation
AEP - CSP     00040621084693510           Electric       Gov. Aggregation   FEOH - OE     08023167960000791732        Electric       Gov. Aggregation
AEP - CSP     00040621087209075           Electric       Gov. Aggregation   FEOH - OE     08023169750000791385        Electric       Gov. Aggregation
AEP - CSP     00040621087290743           Electric       Gov. Aggregation   FEOH - OE     08023179100001475796        Electric       Gov. Aggregation
AEP - CSP     00040621087760890           Electric       Gov. Aggregation   FEOH - OE     08025140690000804402        Electric       Gov. Aggregation
AEP - CSP     00040621087795325           Electric       Gov. Aggregation   FEOH - OE     08025155780000769755        Electric       Gov. Aggregation
AEP - CSP     00040621087950371           Electric       Gov. Aggregation   FEOH - OE     08025160020000791016        Electric       Gov. Aggregation
AEP - CSP     00040621088035792           Electric       Gov. Aggregation   FEOH - OE     08025163440001341779        Electric       Gov. Aggregation
AEP - CSP     00040621088089591           Electric       Gov. Aggregation   FEOH - OE     08025163780000791075        Electric       Gov. Aggregation
AEP - CSP     00040621092003604           Electric       Gov. Aggregation   FEOH - OE     08025164180000791080        Electric       Gov. Aggregation
AEP - CSP     00040621092019534           Electric       Gov. Aggregation   FEOH - OE     08025165970000791109        Electric       Gov. Aggregation
AEP - CSP     00040621092182371           Electric       Gov. Aggregation   FEOH - OE     08024784360001377029        Electric       Gov. Aggregation
AEP - CSP     00040621092223375           Electric       Gov. Aggregation   FEOH - OE     08024789675000272415        Electric       Gov. Aggregation
AEP - CSP     00040621092280580           Electric       Gov. Aggregation   FEOH - OE     08024805330000791166        Electric       Gov. Aggregation
AEP - CSP     00040621078701225           Electric       Gov. Aggregation   FEOH - OE     08024816440000786878        Electric       Gov. Aggregation
AEP - CSP     00040621078813760           Electric       Gov. Aggregation   FEOH - OE     08024846920000778571        Electric       Gov. Aggregation
AEP - CSP     00040621079176782           Electric       Gov. Aggregation   FEOH - OE     08024848450000804858        Electric       Gov. Aggregation
AEP - CSP     00040621079193841           Electric       Gov. Aggregation   FEOH - OE     08024856460000803954        Electric       Gov. Aggregation
AEP - CSP     00040621079205721           Electric       Gov. Aggregation   FEOH - OE     08023071630000592377        Electric       Gov. Aggregation
AEP - CSP     00040621079321133           Electric       Gov. Aggregation   FEOH - OE     08023074040000789072        Electric       Gov. Aggregation
AEP - CSP     00040621079371432           Electric       Gov. Aggregation   FEOH - OE     08023130820000765266        Electric       Gov. Aggregation
AEP - CSP     00040621086689940           Electric       Gov. Aggregation   FEOH - OE     08023130940000765267        Electric       Gov. Aggregation
AEP - CSP     00040621086855505           Electric       Gov. Aggregation   FEOH - OE     08023132240000765286        Electric       Gov. Aggregation
AEP - CSP     00040621086928542           Electric       Gov. Aggregation   FEOH - OE     08023152050000780236        Electric       Gov. Aggregation
AEP - CSP     00040621087129243           Electric       Gov. Aggregation   FEOH - OE     08023152330000784785        Electric       Gov. Aggregation
AEP - CSP     00040621087173410           Electric       Gov. Aggregation   FEOH - OE     08023131160000765271        Electric       Gov. Aggregation
AEP - CSP     00040621087317763           Electric       Gov. Aggregation   FEOH - OE     08023153390000765260        Electric       Gov. Aggregation
AEP - CSP     00040621088691095           Electric       Gov. Aggregation   FEOH - OE     08023156470000780117        Electric       Gov. Aggregation
AEP - CSP     00040621088702621           Electric       Gov. Aggregation   FEOH - OE     08023163770000780146        Electric       Gov. Aggregation
AEP - CSP     00040621088727342           Electric       Gov. Aggregation   FEOH - OE     08023165360001475117        Electric       Gov. Aggregation
AEP - CSP     00040621088751913           Electric       Gov. Aggregation   FEOH - OE     08023166190000789193        Electric       Gov. Aggregation
AEP - CSP     00040621088868711           Electric       Gov. Aggregation   FEOH - OE     08023170290000809775        Electric       Gov. Aggregation
AEP - CSP     00040621088885505           Electric       Gov. Aggregation   FEOH - OE     08023527920000844611        Electric       Gov. Aggregation
AEP - CSP     00040621088997805           Electric       Gov. Aggregation   FEOH - OE     08023528270000844613        Electric       Gov. Aggregation
AEP - CSP     00040621091836022           Electric       Gov. Aggregation   FEOH - OE     08023541310000804280        Electric       Gov. Aggregation
AEP - CSP     00040621091993093           Electric       Gov. Aggregation   FEOH - OE     08023551660000777863        Electric       Gov. Aggregation
AEP - CSP     00040621092058774           Electric       Gov. Aggregation   FEOH - OE     08023555490000784456        Electric       Gov. Aggregation
AEP - CSP     00040621092444955           Electric       Gov. Aggregation   FEOH - OE     08025166160000791113        Electric       Gov. Aggregation
AEP - CSP     00040621092452205           Electric       Gov. Aggregation   FEOH - OE     08025168060000790404        Electric       Gov. Aggregation
AEP - CSP     00040621092474120           Electric       Gov. Aggregation   FEOH - OE     08025168720000791156        Electric       Gov. Aggregation
AEP - CSP     00040621092554554           Electric       Gov. Aggregation   FEOH - OE     08025169770000792191        Electric       Gov. Aggregation
AEP - CSP     00040621088119442           Electric       Gov. Aggregation   FEOH - OE     08025187720001040754        Electric       Gov. Aggregation
AEP - CSP     00040621088143633           Electric       Gov. Aggregation   FEOH - OE     08025191990001343847        Electric       Gov. Aggregation
AEP - CSP     00040621088512503           Electric       Gov. Aggregation   FEOH - OE     08025224480001442120        Electric       Gov. Aggregation
AEP - CSP     00040621088793383           Electric       Gov. Aggregation   FEOH - OE     08024293975000331539        Electric       Gov. Aggregation
AEP - CSP     00040621088985600           Electric       Gov. Aggregation   FEOH - OE     08024293975000331542        Electric       Gov. Aggregation
AEP - CSP     00040621089021904           Electric       Gov. Aggregation   FEOH - OE     08024293975000331550        Electric       Gov. Aggregation
AEP - CSP     00040621089071235           Electric       Gov. Aggregation   FEOH - OE     08024293975000331556        Electric       Gov. Aggregation
AEP - CSP     00040621080704313           Electric       Gov. Aggregation   FEOH - OE     08024293975000331567        Electric       Gov. Aggregation
AEP - CSP     00040621080862973           Electric       Gov. Aggregation   FEOH - OE     08024294620000790184        Electric       Gov. Aggregation
AEP - CSP     00040621081085381           Electric       Gov. Aggregation   FEOH - OE     08024294800000790187        Electric       Gov. Aggregation
AEP - CSP     00040621081194694           Electric       Gov. Aggregation   FEOH - OE     08023173240000809823        Electric       Gov. Aggregation
AEP - CSP     00040621081251020           Electric       Gov. Aggregation   FEOH - OE     08023176880001321264        Electric       Gov. Aggregation
AEP - CSP     00040621081278094           Electric       Gov. Aggregation   FEOH - OE     08023177800001363981        Electric       Gov. Aggregation
AEP - CSP     00040621081301084           Electric       Gov. Aggregation   FEOH - OE     08023196180001575428        Electric       Gov. Aggregation
AEP - CSP     00040621092597065           Electric       Gov. Aggregation   FEOH - OE     08023202170001395378        Electric       Gov. Aggregation
AEP - CSP     00040621092674591           Electric       Gov. Aggregation   FEOH - OE     08023214080001491207        Electric       Gov. Aggregation
AEP - CSP     00040621092770674           Electric       Gov. Aggregation   FEOH - OE     08023247955000263862        Electric       Gov. Aggregation
AEP - CSP     00040621092775033           Electric       Gov. Aggregation   FEOH - OE     08024303150000802975        Electric       Gov. Aggregation
AEP - CSP     00040621092889320           Electric       Gov. Aggregation   FEOH - OE     08024304160000765225        Electric       Gov. Aggregation
AEP - CSP     00040621092972081           Electric       Gov. Aggregation   FEOH - OE     08024304200000802989        Electric       Gov. Aggregation
AEP - CSP     00040621084994480           Electric       Gov. Aggregation   FEOH - OE     08024305965000090970        Electric       Gov. Aggregation
AEP - CSP     00040621085151580           Electric       Gov. Aggregation   FEOH - OE     08024306610000803031        Electric       Gov. Aggregation
AEP - CSP     00040621085152380           Electric       Gov. Aggregation   FEOH - OE     08024307110000803038        Electric       Gov. Aggregation
AEP - CSP     00040621085171412           Electric       Gov. Aggregation   FEOH - OE     08024308940000803068        Electric       Gov. Aggregation
AEP - CSP     00040621085213152           Electric       Gov. Aggregation   FEOH - OE     08023569125001338201        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621085709790           Electric       Gov. Aggregation   FEOH - OE     08023591850000844664        Electric       Gov. Aggregation
AEP - CSP     00040621087604400           Electric       Gov. Aggregation   FEOH - OE     08023598510000844750        Electric       Gov. Aggregation
AEP - CSP     00040621087607373           Electric       Gov. Aggregation   FEOH - OE     08023660300000844785        Electric       Gov. Aggregation
AEP - CSP     00040621087724672           Electric       Gov. Aggregation   FEOH - OE     08023660620001506350        Electric       Gov. Aggregation
AEP - CSP     00040621087740855           Electric       Gov. Aggregation   FEOH - OE     08023669090001570086        Electric       Gov. Aggregation
AEP - CSP     00040621087878531           Electric       Gov. Aggregation   FEOH - OE     08023677140000792329        Electric       Gov. Aggregation
AEP - CSP     00040621087904860           Electric       Gov. Aggregation   FEOH - OE     08023274480000765650        Electric       Gov. Aggregation
AEP - CSP     00040621087907322           Electric       Gov. Aggregation   FEOH - OE     08023276850000765684        Electric       Gov. Aggregation
AEP - CSP     00040621089144695           Electric       Gov. Aggregation   FEOH - OE     08023277730000765697        Electric       Gov. Aggregation
AEP - CSP     00040621089259500           Electric       Gov. Aggregation   FEOH - OE     08023288260000790748        Electric       Gov. Aggregation
AEP - CSP     00040621089449893           Electric       Gov. Aggregation   FEOH - OE     08023296990000789324        Electric       Gov. Aggregation
AEP - CSP     00040621089457830           Electric       Gov. Aggregation   FEOH - OE     08023299100000784628        Electric       Gov. Aggregation
AEP - CSP     00040621089537404           Electric       Gov. Aggregation   FEOH - OE     08023299100000789356        Electric       Gov. Aggregation
AEP - CSP     00040621089794510           Electric       Gov. Aggregation   FEOH - OE     08024985450000803241        Electric       Gov. Aggregation
AEP - CSP     00040621079640112           Electric       Gov. Aggregation   FEOH - OE     08024985500001453580        Electric       Gov. Aggregation
AEP - CSP     00040621079664925           Electric       Gov. Aggregation   FEOH - OE     08024986240000789298        Electric       Gov. Aggregation
AEP - CSP     00040621079672432           Electric       Gov. Aggregation   FEOH - OE     08024987030000803272        Electric       Gov. Aggregation
AEP - CSP     00040621079743853           Electric       Gov. Aggregation   FEOH - OE     08024987100000803556        Electric       Gov. Aggregation
AEP - CSP     00040621079906775           Electric       Gov. Aggregation   FEOH - OE     08024987170000803256        Electric       Gov. Aggregation
AEP - CSP     00040621079969420           Electric       Gov. Aggregation   FEOH - OE     08024988100000803583        Electric       Gov. Aggregation
AEP - CSP     00040621079971715           Electric       Gov. Aggregation   FEOH - OE     08024857820000803976        Electric       Gov. Aggregation
AEP - CSP     00040621089146451           Electric       Gov. Aggregation   FEOH - OE     08024881000001531460        Electric       Gov. Aggregation
AEP - CSP     00040621089169570           Electric       Gov. Aggregation   FEOH - OE     08024886435000364777        Electric       Gov. Aggregation
AEP - CSP     00040621089420074           Electric       Gov. Aggregation   FEOH - OE     08024888450000762677        Electric       Gov. Aggregation
AEP - CSP     00040621089457414           Electric       Gov. Aggregation   FEOH - OE     08024889320000762689        Electric       Gov. Aggregation
AEP - CSP     00040621089563910           Electric       Gov. Aggregation   FEOH - OE     08024910160000804010        Electric       Gov. Aggregation
AEP - CSP     00040621089699574           Electric       Gov. Aggregation   FEOH - OE     08024910280000804013        Electric       Gov. Aggregation
AEP - CSP     00040621093144672           Electric       Gov. Aggregation   FEOH - OE     08023677980000792340        Electric       Gov. Aggregation
AEP - CSP     00040621093190573           Electric       Gov. Aggregation   FEOH - OE     08023678600000792348        Electric       Gov. Aggregation
AEP - CSP     00040621093254000           Electric       Gov. Aggregation   FEOH - OE     08023679680001510278        Electric       Gov. Aggregation
AEP - CSP     00040621093265973           Electric       Gov. Aggregation   FEOH - OE     08023682620001462273        Electric       Gov. Aggregation
AEP - CSP     00040621093379675           Electric       Gov. Aggregation   FEOH - OE     08023684700001480743        Electric       Gov. Aggregation
AEP - CSP     00040621093503043           Electric       Gov. Aggregation   FEOH - OE     08023690400000803772        Electric       Gov. Aggregation
AEP - CSP     00040621092646965           Electric       Gov. Aggregation   FEOH - OE     08023697340000786526        Electric       Gov. Aggregation
AEP - CSP     00040621092654930           Electric       Gov. Aggregation   FEOH - OE     08023154920000780091        Electric       Gov. Aggregation
AEP - CSP     00040621092739633           Electric       Gov. Aggregation   FEOH - OE     08023158370000792193        Electric       Gov. Aggregation
AEP - CSP     00040621092883164           Electric       Gov. Aggregation   FEOH - OE     08023161780000841278        Electric       Gov. Aggregation
AEP - CSP     00040621092901730           Electric       Gov. Aggregation   FEOH - OE     08023162630000792379        Electric       Gov. Aggregation
AEP - CSP     00040621092917250           Electric       Gov. Aggregation   FEOH - OE     08023164580000792352        Electric       Gov. Aggregation
AEP - CSP     00040621092929035           Electric       Gov. Aggregation   FEOH - OE     08023164630000792353        Electric       Gov. Aggregation
AEP - CSP     00040621087912565           Electric       Gov. Aggregation   FEOH - OE     08023179770001446810        Electric       Gov. Aggregation
AEP - CSP     00040621087947994           Electric       Gov. Aggregation   FEOH - OE     08025232270000791210        Electric       Gov. Aggregation
AEP - CSP     00040621088017511           Electric       Gov. Aggregation   FEOH - OE     08025233540000791227        Electric       Gov. Aggregation
AEP - CSP     00040621088100631           Electric       Gov. Aggregation   FEOH - OE     08025233860000791231        Electric       Gov. Aggregation
AEP - CSP     00040621088218893           Electric       Gov. Aggregation   FEOH - OE     08025238300000791297        Electric       Gov. Aggregation
AEP - CSP     00040621088427842           Electric       Gov. Aggregation   FEOH - OE     08025275530000804319        Electric       Gov. Aggregation
AEP - CSP     00040621088462801           Electric       Gov. Aggregation   FEOH - OE     08025275600000804320        Electric       Gov. Aggregation
AEP - CSP     00040621090004960           Electric       Gov. Aggregation   FEOH - OE     08025276110001343308        Electric       Gov. Aggregation
AEP - CSP     00040621090097763           Electric       Gov. Aggregation   FEOH - OE     08023299680000805437        Electric       Gov. Aggregation
AEP - CSP     00040621090128812           Electric       Gov. Aggregation   FEOH - OE     08023302510000810029        Electric       Gov. Aggregation
AEP - CSP     00040621090224270           Electric       Gov. Aggregation   FEOH - OE     08023303890000810050        Electric       Gov. Aggregation
AEP - CSP     00040621090229350           Electric       Gov. Aggregation   FEOH - OE     08023306190000810091        Electric       Gov. Aggregation
AEP - CSP     00040621090230842           Electric       Gov. Aggregation   FEOH - OE     08023306420000810093        Electric       Gov. Aggregation
AEP - CSP     00040621090249783           Electric       Gov. Aggregation   FEOH - OE     08023309210000810134        Electric       Gov. Aggregation
AEP - CSP     00040621081430514           Electric       Gov. Aggregation   FEOH - OE     08023360640000789309        Electric       Gov. Aggregation
AEP - CSP     00040621081492122           Electric       Gov. Aggregation   FEOH - OE     08024310530000810107        Electric       Gov. Aggregation
AEP - CSP     00040621081500202           Electric       Gov. Aggregation   FEOH - OE     08024320370000791059        Electric       Gov. Aggregation
AEP - CSP     00040621081527405           Electric       Gov. Aggregation   FEOH - OE     08024361210001362402        Electric       Gov. Aggregation
AEP - CSP     00040621081586103           Electric       Gov. Aggregation   FEOH - OE     08024370120000778697        Electric       Gov. Aggregation
AEP - CSP     00040621081663850           Electric       Gov. Aggregation   FEOH - OE     08024372420000803129        Electric       Gov. Aggregation
AEP - CSP     00040621081794003           Electric       Gov. Aggregation   FEOH - OE     08024372850000803134        Electric       Gov. Aggregation
AEP - CSP     00040621079977020           Electric       Gov. Aggregation   FEOH - OE     08024373940000803153        Electric       Gov. Aggregation
AEP - CSP     00040621080237600           Electric       Gov. Aggregation   FEOH - OE     08023235055000353830        Electric       Gov. Aggregation
AEP - CSP     00040621080402702           Electric       Gov. Aggregation   FEOH - OE     08023240050001456210        Electric       Gov. Aggregation
AEP - CSP     00040621080443443           Electric       Gov. Aggregation   FEOH - OE     08023276190000765675        Electric       Gov. Aggregation
AEP - CSP     00040621080554524           Electric       Gov. Aggregation   FEOH - OE     08023276320000765676        Electric       Gov. Aggregation
AEP - CSP     00040621080647565           Electric       Gov. Aggregation   FEOH - OE     08023277100000765688        Electric       Gov. Aggregation
AEP - CSP     00040621086056431           Electric       Gov. Aggregation   FEOH - OE     08023280380000805521        Electric       Gov. Aggregation
AEP - CSP     00040621086058873           Electric       Gov. Aggregation   FEOH - OE     08023295960001356121        Electric       Gov. Aggregation
AEP - CSP     00040621086105455           Electric       Gov. Aggregation   FEOH - OE     08024915990000804094        Electric       Gov. Aggregation
AEP - CSP     00040621086170962           Electric       Gov. Aggregation   FEOH - OE     08024916960001300814        Electric       Gov. Aggregation
AEP - CSP     00040621086210474           Electric       Gov. Aggregation   FEOH - OE     08024918370000804161        Electric       Gov. Aggregation
AEP - CSP     00040621092937383           Electric       Gov. Aggregation   FEOH - OE     08024922770000791196        Electric       Gov. Aggregation
AEP - CSP     00040621093005434           Electric       Gov. Aggregation   FEOH - OE     08024924670000791589        Electric       Gov. Aggregation
AEP - CSP     00040621093217965           Electric       Gov. Aggregation   FEOH - OE     08024926840000778710        Electric       Gov. Aggregation
AEP - CSP     00040621093237281           Electric       Gov. Aggregation   FEOH - OE     08024926960000778712        Electric       Gov. Aggregation
AEP - CSP     00040621093489932           Electric       Gov. Aggregation   FEOH - OE     08023701770000788754        Electric       Gov. Aggregation
AEP - CSP     00040621093494711           Electric       Gov. Aggregation   FEOH - OE     08023702150000788759        Electric       Gov. Aggregation
AEP - CSP     00040621093504084           Electric       Gov. Aggregation   FEOH - OE     08023703110000788775        Electric       Gov. Aggregation
AEP - CSP     00040621093671112           Electric       Gov. Aggregation   FEOH - OE     08023705800000806039        Electric       Gov. Aggregation
AEP - CSP     00040621093825224           Electric       Gov. Aggregation   FEOH - OE     08023707010000806058        Electric       Gov. Aggregation
AEP - CSP     00040621093888574           Electric       Gov. Aggregation   FEOH - OE     08023732260000844805        Electric       Gov. Aggregation
AEP - CSP     00040621093982534           Electric       Gov. Aggregation   FEOH - OE     08023740330001533776        Electric       Gov. Aggregation
AEP - CSP     00040621094023842           Electric       Gov. Aggregation   FEOH - OE     08025300490000791334        Electric       Gov. Aggregation
AEP - CSP     00040621094081365           Electric       Gov. Aggregation   FEOH - OE     08025342590000804231        Electric       Gov. Aggregation
AEP - CSP     00040621081798571           Electric       Gov. Aggregation   FEOH - OE     08025344500000804088        Electric       Gov. Aggregation
AEP - CSP     00040621082127883           Electric       Gov. Aggregation   FEOH - OE     08025349080000804286        Electric       Gov. Aggregation
AEP - CSP     00040621082245400           Electric       Gov. Aggregation   FEOH - OE     08025353070001463545        Electric       Gov. Aggregation
AEP - CSP     00040621082417175           Electric       Gov. Aggregation   FEOH - OE     08025434710000848773        Electric       Gov. Aggregation
AEP - CSP     00040621082595235           Electric       Gov. Aggregation   FEOH - OE     08025436460000848794        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621082617700           Electric       Gov. Aggregation   FEOH - OE     08023360900000805462        Electric       Gov. Aggregation
AEP - CSP     00040621080662691           Electric       Gov. Aggregation   FEOH - OE     08023363820000805501        Electric       Gov. Aggregation
AEP - CSP     00040621080676950           Electric       Gov. Aggregation   FEOH - OE     08023364890000784423        Electric       Gov. Aggregation
AEP - CSP     00040621080758693           Electric       Gov. Aggregation   FEOH - OE     08023365000000784425        Electric       Gov. Aggregation
AEP - CSP     00040621080771141           Electric       Gov. Aggregation   FEOH - OE     08023366570000784446        Electric       Gov. Aggregation
AEP - CSP     00040621080826182           Electric       Gov. Aggregation   FEOH - OE     08023366810000805558        Electric       Gov. Aggregation
AEP - CSP     00040621080946700           Electric       Gov. Aggregation   FEOH - OE     08023367110000784455        Electric       Gov. Aggregation
AEP - CSP     00040621081035114           Electric       Gov. Aggregation   FEOH - OE     08025002010001575681        Electric       Gov. Aggregation
AEP - CSP     00040621086246255           Electric       Gov. Aggregation   FEOH - OE     08025005825000383860        Electric       Gov. Aggregation
AEP - CSP     00040621086587675           Electric       Gov. Aggregation   FEOH - OE     08025006610000778785        Electric       Gov. Aggregation
AEP - CSP     00040621086753234           Electric       Gov. Aggregation   FEOH - OE     08025006920000778790        Electric       Gov. Aggregation
AEP - CSP     00040621086783574           Electric       Gov. Aggregation   FEOH - OE     08025008840000778720        Electric       Gov. Aggregation
AEP - CSP     00040621086829654           Electric       Gov. Aggregation   FEOH - OE     08025022190000790737        Electric       Gov. Aggregation
AEP - CSP     00040621086898465           Electric       Gov. Aggregation   FEOH - OE     08023297510000789330        Electric       Gov. Aggregation
AEP - CSP     00040621088477423           Electric       Gov. Aggregation   FEOH - OE     08023302560000810030        Electric       Gov. Aggregation
AEP - CSP     00040621088483382           Electric       Gov. Aggregation   FEOH - OE     08023302910000810036        Electric       Gov. Aggregation
AEP - CSP     00040621088597795           Electric       Gov. Aggregation   FEOH - OE     08023305180000810075        Electric       Gov. Aggregation
AEP - CSP     00040621088866795           Electric       Gov. Aggregation   FEOH - OE     08023305545000170502        Electric       Gov. Aggregation
AEP - CSP     00040621088878995           Electric       Gov. Aggregation   FEOH - OE     08023306840000810099        Electric       Gov. Aggregation
AEP - CSP     00040621089236011           Electric       Gov. Aggregation   FEOH - OE     08023308170000810118        Electric       Gov. Aggregation
AEP - CSP     00040621089313315           Electric       Gov. Aggregation   FEOH - OE     08024374160000782477        Electric       Gov. Aggregation
AEP - CSP     00040621093596265           Electric       Gov. Aggregation   FEOH - OE     08024376300000782509        Electric       Gov. Aggregation
AEP - CSP     00040621093651785           Electric       Gov. Aggregation   FEOH - OE     08024379420001305904        Electric       Gov. Aggregation
AEP - CSP     00040621093719072           Electric       Gov. Aggregation   FEOH - OE     08024379495001285011        Electric       Gov. Aggregation
AEP - CSP     00040621093796541           Electric       Gov. Aggregation   FEOH - OE     08024399320000790280        Electric       Gov. Aggregation
AEP - CSP     00040621094097605           Electric       Gov. Aggregation   FEOH - OE     08024401255000354751        Electric       Gov. Aggregation
AEP - CSP     00040621094174925           Electric       Gov. Aggregation   FEOH - OE     08024405040000777835        Electric       Gov. Aggregation
AEP - CSP     00040621094369863           Electric       Gov. Aggregation   FEOH - OE     08024931670000804453        Electric       Gov. Aggregation
AEP - CSP     00040621094445593           Electric       Gov. Aggregation   FEOH - OE     08024935615000203878        Electric       Gov. Aggregation
AEP - CSP     00040621094456312           Electric       Gov. Aggregation   FEOH - OE     08024950380000762706        Electric       Gov. Aggregation
AEP - CSP     00040621094466803           Electric       Gov. Aggregation   FEOH - OE     08024951430000762722        Electric       Gov. Aggregation
AEP - CSP     00040621094519554           Electric       Gov. Aggregation   FEOH - OE     08024951570000762692        Electric       Gov. Aggregation
AEP - CSP     00040621094663290           Electric       Gov. Aggregation   FEOH - OE     08024952810000762745        Electric       Gov. Aggregation
AEP - CSP     00040621081116561           Electric       Gov. Aggregation   FEOH - OE     08024980160000804157        Electric       Gov. Aggregation
AEP - CSP     00040621081181590           Electric       Gov. Aggregation   FEOH - OE     08023740710000792396        Electric       Gov. Aggregation
AEP - CSP     00040621081270873           Electric       Gov. Aggregation   FEOH - OE     08023741110000792402        Electric       Gov. Aggregation
AEP - CSP     00040621081296783           Electric       Gov. Aggregation   FEOH - OE     08023741370000792405        Electric       Gov. Aggregation
AEP - CSP     00040621081332562           Electric       Gov. Aggregation   FEOH - OE     08023741680000776714        Electric       Gov. Aggregation
AEP - CSP     00040621081712725           Electric       Gov. Aggregation   FEOH - OE     08023742240000776725        Electric       Gov. Aggregation
AEP - CSP     00040621081808051           Electric       Gov. Aggregation   FEOH - OE     08023744640000776759        Electric       Gov. Aggregation
AEP - CSP     00040621086914602           Electric       Gov. Aggregation   FEOH - OE     08023744740000776760        Electric       Gov. Aggregation
AEP - CSP     00040621087106432           Electric       Gov. Aggregation   FEOH - OE     08025436900000848801        Electric       Gov. Aggregation
AEP - CSP     00040621087113160           Electric       Gov. Aggregation   FEOH - OE     08025439270000848828        Electric       Gov. Aggregation
AEP - CSP     00040621087214665           Electric       Gov. Aggregation   FEOH - OE     08025510600000809454        Electric       Gov. Aggregation
AEP - CSP     00040621087327645           Electric       Gov. Aggregation   FEOH - OE     08025513660000809509        Electric       Gov. Aggregation
AEP - CSP     00040621087598173           Electric       Gov. Aggregation   FEOH - OE     08025516280000809548        Electric       Gov. Aggregation
AEP - CSP     00040621087641261           Electric       Gov. Aggregation   FEOH - OE     08025516560000809552        Electric       Gov. Aggregation
AEP - CSP     00040621090319222           Electric       Gov. Aggregation   FEOH - OE     08025613345000127802        Electric       Gov. Aggregation
AEP - CSP     00040621090493134           Electric       Gov. Aggregation   FEOH - OE     08023367220001456209        Electric       Gov. Aggregation
AEP - CSP     00040621090549684           Electric       Gov. Aggregation   FEOH - OE     08023369800000784495        Electric       Gov. Aggregation
AEP - CSP     00040621090567743           Electric       Gov. Aggregation   FEOH - OE     08023371230000810162        Electric       Gov. Aggregation
AEP - CSP     00040621090657220           Electric       Gov. Aggregation   FEOH - OE     08023372950000810189        Electric       Gov. Aggregation
AEP - CSP     00040621090827992           Electric       Gov. Aggregation   FEOH - OE     08023376640001362583        Electric       Gov. Aggregation
AEP - CSP     00040621090848613           Electric       Gov. Aggregation   FEOH - OE     08023378210001417872        Electric       Gov. Aggregation
AEP - CSP     00040621089320981           Electric       Gov. Aggregation   FEOH - OE     08023381220000791738        Electric       Gov. Aggregation
AEP - CSP     00040621089465964           Electric       Gov. Aggregation   FEOH - OE     08025024810000790772        Electric       Gov. Aggregation
AEP - CSP     00040621089564742           Electric       Gov. Aggregation   FEOH - OE     08025026560000790807        Electric       Gov. Aggregation
AEP - CSP     00040621089935560           Electric       Gov. Aggregation   FEOH - OE     08025029440000790854        Electric       Gov. Aggregation
AEP - CSP     00040621089955355           Electric       Gov. Aggregation   FEOH - OE     08025029880000790860        Electric       Gov. Aggregation
AEP - CSP     00040621089910503           Electric       Gov. Aggregation   FEOH - OE     08025061080000803902        Electric       Gov. Aggregation
AEP - CSP     00040621089978612           Electric       Gov. Aggregation   FEOH - OE     08025062270001476775        Electric       Gov. Aggregation
AEP - CSP     00040621090054142           Electric       Gov. Aggregation   FEOH - OE     08025063550000804346        Electric       Gov. Aggregation
AEP - CSP     00040621090109540           Electric       Gov. Aggregation   FEOH - OE     08023313630001413269        Electric       Gov. Aggregation
AEP - CSP     00040621090287102           Electric       Gov. Aggregation   FEOH - OE     08023315650000791650        Electric       Gov. Aggregation
AEP - CSP     00040621090292680           Electric       Gov. Aggregation   FEOH - OE     08023317710000791683        Electric       Gov. Aggregation
AEP - CSP     00040621090396194           Electric       Gov. Aggregation   FEOH - OE     08023318660000791695        Electric       Gov. Aggregation
AEP - CSP     00040621081816973           Electric       Gov. Aggregation   FEOH - OE     08023336170001503934        Electric       Gov. Aggregation
AEP - CSP     00040621082031360           Electric       Gov. Aggregation   FEOH - OE     08023360340000789367        Electric       Gov. Aggregation
AEP - CSP     00040621082133494           Electric       Gov. Aggregation   FEOH - OE     08023360480000789369        Electric       Gov. Aggregation
AEP - CSP     00040621082165984           Electric       Gov. Aggregation   FEOH - OE     08024442060000786347        Electric       Gov. Aggregation
AEP - CSP     00040621082291320           Electric       Gov. Aggregation   FEOH - OE     08024445980000803310        Electric       Gov. Aggregation
AEP - CSP     00040621082340953           Electric       Gov. Aggregation   FEOH - OE     08024446820000803320        Electric       Gov. Aggregation
AEP - CSP     00040621094770220           Electric       Gov. Aggregation   FEOH - OE     08024447960000803334        Electric       Gov. Aggregation
AEP - CSP     00040621094819164           Electric       Gov. Aggregation   FEOH - OE     08024448620000803342        Electric       Gov. Aggregation
AEP - CSP     00040621095046875           Electric       Gov. Aggregation   FEOH - OE     08024455920001401342        Electric       Gov. Aggregation
AEP - CSP     00040621095180965           Electric       Gov. Aggregation   FEOH - OE     08024461740000790316        Electric       Gov. Aggregation
AEP - CSP     00040621095339504           Electric       Gov. Aggregation   FEOH - OE     08023225530000780245        Electric       Gov. Aggregation
AEP - CSP     00040621095412844           Electric       Gov. Aggregation   FEOH - OE     08023229090000784678        Electric       Gov. Aggregation
AEP - CSP     00040621095500983           Electric       Gov. Aggregation   FEOH - OE     08023233880000791452        Electric       Gov. Aggregation
AEP - CSP     00040621094229980           Electric       Gov. Aggregation   FEOH - OE     08023234450000791463        Electric       Gov. Aggregation
AEP - CSP     00040621094630395           Electric       Gov. Aggregation   FEOH - OE     08023240490001505254        Electric       Gov. Aggregation
AEP - CSP     00040621094757595           Electric       Gov. Aggregation   FEOH - OE     08023242320000809877        Electric       Gov. Aggregation
AEP - CSP     00040621095052650           Electric       Gov. Aggregation   FEOH - OE     08023242370000809878        Electric       Gov. Aggregation
AEP - CSP     00040621095081553           Electric       Gov. Aggregation   FEOH - OE     08024981260000804176        Electric       Gov. Aggregation
AEP - CSP     00040621095094504           Electric       Gov. Aggregation   FEOH - OE     08024982080000804188        Electric       Gov. Aggregation
AEP - CSP     00040621095141752           Electric       Gov. Aggregation   FEOH - OE     08024983130000804327        Electric       Gov. Aggregation
AEP - CSP     00040621087957013           Electric       Gov. Aggregation   FEOH - OE     08024983290000790523        Electric       Gov. Aggregation
AEP - CSP     00040621088010764           Electric       Gov. Aggregation   FEOH - OE     08024985720000803248        Electric       Gov. Aggregation
AEP - CSP     00040621088053944           Electric       Gov. Aggregation   FEOH - OE     08024989500000803879        Electric       Gov. Aggregation
AEP - CSP     00040621088115271           Electric       Gov. Aggregation   FEOH - OE     08025000570000778631        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621088140620           Electric       Gov. Aggregation   FEOH - OE     08023747350000776796        Electric       Gov. Aggregation
AEP - CSP     00040621088188470           Electric       Gov. Aggregation   FEOH - OE     08023761220000789355        Electric       Gov. Aggregation
AEP - CSP     00040621088235584           Electric       Gov. Aggregation   FEOH - OE     08023771320000806123        Electric       Gov. Aggregation
AEP - CSP     00040621090962342           Electric       Gov. Aggregation   FEOH - OE     08023772820000806144        Electric       Gov. Aggregation
AEP - CSP     00040621091032423           Electric       Gov. Aggregation   FEOH - OE     08023773110000806148        Electric       Gov. Aggregation
AEP - CSP     00040621091421881           Electric       Gov. Aggregation   FEOH - OE     08023773250000806150        Electric       Gov. Aggregation
AEP - CSP     00040621091528474           Electric       Gov. Aggregation   FEOH - OE     08023773680000788933        Electric       Gov. Aggregation
AEP - CSP     00040621091758481           Electric       Gov. Aggregation   FEOH - OE     08025633710001040656        Electric       Gov. Aggregation
AEP - CSP     00040621091784783           Electric       Gov. Aggregation   FEOH - OE     08025706360001042855        Electric       Gov. Aggregation
AEP - CSP     00040621090027563           Electric       Gov. Aggregation   FEOH - OE     08025796260001129279        Electric       Gov. Aggregation
AEP - CSP     00040621090051284           Electric       Gov. Aggregation   FEOH - OE     08025844680001043155        Electric       Gov. Aggregation
AEP - CSP     00040621090067764           Electric       Gov. Aggregation   FEOH - OE     08025846930001043187        Electric       Gov. Aggregation
AEP - CSP     00040621090163894           Electric       Gov. Aggregation   FEOH - OE     08025847240001043192        Electric       Gov. Aggregation
AEP - CSP     00040621090298990           Electric       Gov. Aggregation   FEOH - OE     08023381890000791180        Electric       Gov. Aggregation
AEP - CSP     00040621090589681           Electric       Gov. Aggregation   FEOH - OE     08023383305001298862        Electric       Gov. Aggregation
AEP - CSP     00040621090618964           Electric       Gov. Aggregation   FEOH - OE     08023384860000791786        Electric       Gov. Aggregation
AEP - CSP     00040621082632065           Electric       Gov. Aggregation   FEOH - OE     08023385230000791795        Electric       Gov. Aggregation
AEP - CSP     00040621082688143           Electric       Gov. Aggregation   FEOH - OE     08023427390000792377        Electric       Gov. Aggregation
AEP - CSP     00040621082734855           Electric       Gov. Aggregation   FEOH - OE     08023436560000784599        Electric       Gov. Aggregation
AEP - CSP     00040621082735575           Electric       Gov. Aggregation   FEOH - OE     08023437330000776779        Electric       Gov. Aggregation
AEP - CSP     00040621082754501           Electric       Gov. Aggregation   FEOH - OE     08023363340000805494        Electric       Gov. Aggregation
AEP - CSP     00040621082789603           Electric       Gov. Aggregation   FEOH - OE     08023364210000805505        Electric       Gov. Aggregation
AEP - CSP     00040621082367295           Electric       Gov. Aggregation   FEOH - OE     08023364380000784415        Electric       Gov. Aggregation
AEP - CSP     00040621082397931           Electric       Gov. Aggregation   FEOH - OE     08023364730000805529        Electric       Gov. Aggregation
AEP - CSP     00040621082481831           Electric       Gov. Aggregation   FEOH - OE     08023365400000805538        Electric       Gov. Aggregation
AEP - CSP     00040621082612143           Electric       Gov. Aggregation   FEOH - OE     08023366870001342817        Electric       Gov. Aggregation
AEP - CSP     00040621082711923           Electric       Gov. Aggregation   FEOH - OE     08023367030001397071        Electric       Gov. Aggregation
AEP - CSP     00040621082727303           Electric       Gov. Aggregation   FEOH - OE     08024469140000790419        Electric       Gov. Aggregation
AEP - CSP     00040621082737773           Electric       Gov. Aggregation   FEOH - OE     08024510140000803366        Electric       Gov. Aggregation
AEP - CSP     00040621095631774           Electric       Gov. Aggregation   FEOH - OE     08024510460000782716        Electric       Gov. Aggregation
AEP - CSP     00040621095766133           Electric       Gov. Aggregation   FEOH - OE     08024511420000803382        Electric       Gov. Aggregation
AEP - CSP     00040621095903700           Electric       Gov. Aggregation   FEOH - OE     08024512900000803407        Electric       Gov. Aggregation
AEP - CSP     00040621095959331           Electric       Gov. Aggregation   FEOH - OE     08024515090000803440        Electric       Gov. Aggregation
AEP - CSP     00040621096065563           Electric       Gov. Aggregation   FEOH - OE     08024518360000803491        Electric       Gov. Aggregation
AEP - CSP     00040621096089360           Electric       Gov. Aggregation   FEOH - OE     08025000710001467691        Electric       Gov. Aggregation
AEP - CSP     00040621096148312           Electric       Gov. Aggregation   FEOH - OE     08025001620001537683        Electric       Gov. Aggregation
AEP - CSP     00040621090455054           Electric       Gov. Aggregation   FEOH - OE     08025001955000227869        Electric       Gov. Aggregation
AEP - CSP     00040621090535845           Electric       Gov. Aggregation   FEOH - OE     08025002495000083575        Electric       Gov. Aggregation
AEP - CSP     00040621090546215           Electric       Gov. Aggregation   FEOH - OE     08025004280000778752        Electric       Gov. Aggregation
AEP - CSP     00040621090590622           Electric       Gov. Aggregation   FEOH - OE     08025005120000778765        Electric       Gov. Aggregation
AEP - CSP     00040621090629390           Electric       Gov. Aggregation   FEOH - OE     08025007620000778800        Electric       Gov. Aggregation
AEP - CSP     00040621090679371           Electric       Gov. Aggregation   FEOH - OE     08023775090000788953        Electric       Gov. Aggregation
AEP - CSP     00040621090725352           Electric       Gov. Aggregation   FEOH - OE     08023775710000806183        Electric       Gov. Aggregation
AEP - CSP     00040621088497895           Electric       Gov. Aggregation   FEOH - OE     08023776010000788966        Electric       Gov. Aggregation
AEP - CSP     00040621088593452           Electric       Gov. Aggregation   FEOH - OE     08023776615001307008        Electric       Gov. Aggregation
AEP - CSP     00040621088719161           Electric       Gov. Aggregation   FEOH - OE     08023778090000789007        Electric       Gov. Aggregation
AEP - CSP     00040621088723121           Electric       Gov. Aggregation   FEOH - OE     08023801210001340734        Electric       Gov. Aggregation
AEP - CSP     00040621088824854           Electric       Gov. Aggregation   FEOH - OE     08023802000000844916        Electric       Gov. Aggregation
AEP - CSP     00040621089118354           Electric       Gov. Aggregation   FEOH - OE     08025066740000804393        Electric       Gov. Aggregation
AEP - CSP     00040621089237030           Electric       Gov. Aggregation   FEOH - OE     08025070310000778841        Electric       Gov. Aggregation
AEP - CSP     00040621095184584           Electric       Gov. Aggregation   FEOH - OE     08025071880000778858        Electric       Gov. Aggregation
AEP - CSP     00040621095235203           Electric       Gov. Aggregation   FEOH - OE     08025072680000778867        Electric       Gov. Aggregation
AEP - CSP     00040621095241273           Electric       Gov. Aggregation   FEOH - OE     08025075140001128920        Electric       Gov. Aggregation
AEP - CSP     00040621095328421           Electric       Gov. Aggregation   FEOH - OE     08023453960001369876        Electric       Gov. Aggregation
AEP - CSP     00040621095499025           Electric       Gov. Aggregation   FEOH - OE     08023459670001501265        Electric       Gov. Aggregation
AEP - CSP     00040621095509635           Electric       Gov. Aggregation   FEOH - OE     08023481190000790559        Electric       Gov. Aggregation
AEP - CSP     00040621095562351           Electric       Gov. Aggregation   FEOH - OE     08023495640000766106        Electric       Gov. Aggregation
AEP - CSP     00040621091954844           Electric       Gov. Aggregation   FEOH - OE     08023509060000784788        Electric       Gov. Aggregation
AEP - CSP     00040621092033881           Electric       Gov. Aggregation   FEOH - OE     08023525560000844573        Electric       Gov. Aggregation
AEP - CSP     00040621092084430           Electric       Gov. Aggregation   FEOH - OE     08023526710000844592        Electric       Gov. Aggregation
AEP - CSP     00040621092294343           Electric       Gov. Aggregation   FEOH - OE     08025008710000806044        Electric       Gov. Aggregation
AEP - CSP     00040621092373953           Electric       Gov. Aggregation   FEOH - OE     08025009065000331149        Electric       Gov. Aggregation
AEP - CSP     00040621092832473           Electric       Gov. Aggregation   FEOH - OE     08025009980000778837        Electric       Gov. Aggregation
AEP - CSP     00040621090687510           Electric       Gov. Aggregation   FEOH - OE     08025022510000790742        Electric       Gov. Aggregation
AEP - CSP     00040621090729200           Electric       Gov. Aggregation   FEOH - OE     08025024590000790768        Electric       Gov. Aggregation
AEP - CSP     00040621090823444           Electric       Gov. Aggregation   FEOH - OE     08025027830000762698        Electric       Gov. Aggregation
AEP - CSP     00040621090853601           Electric       Gov. Aggregation   FEOH - OE     08025028960000790847        Electric       Gov. Aggregation
AEP - CSP     00040621090951750           Electric       Gov. Aggregation   FEOH - OE     08024519190000803502        Electric       Gov. Aggregation
AEP - CSP     00040621090986192           Electric       Gov. Aggregation   FEOH - OE     08024519550000803506        Electric       Gov. Aggregation
AEP - CSP     00040621090997943           Electric       Gov. Aggregation   FEOH - OE     08024536495000154578        Electric       Gov. Aggregation
AEP - CSP     00040621082921673           Electric       Gov. Aggregation   FEOH - OE     08024539450000790576        Electric       Gov. Aggregation
AEP - CSP     00040621083078104           Electric       Gov. Aggregation   FEOH - OE     08024539450001555205        Electric       Gov. Aggregation
AEP - CSP     00040621083082285           Electric       Gov. Aggregation   FEOH - OE     08024550980000778074        Electric       Gov. Aggregation
AEP - CSP     00040621083104532           Electric       Gov. Aggregation   FEOH - OE     08024554840000776754        Electric       Gov. Aggregation
AEP - CSP     00040621083114583           Electric       Gov. Aggregation   FEOH - OE     08023367530001333064        Electric       Gov. Aggregation
AEP - CSP     00040621083271372           Electric       Gov. Aggregation   FEOH - OE     08023367930000784442        Electric       Gov. Aggregation
AEP - CSP     00040621082821080           Electric       Gov. Aggregation   FEOH - OE     08023371890000810173        Electric       Gov. Aggregation
AEP - CSP     00040621082840254           Electric       Gov. Aggregation   FEOH - OE     08023376130001535409        Electric       Gov. Aggregation
AEP - CSP     00040621082873204           Electric       Gov. Aggregation   FEOH - OE     08023381830000791740        Electric       Gov. Aggregation
AEP - CSP     00040621082901563           Electric       Gov. Aggregation   FEOH - OE     08023382450000790722        Electric       Gov. Aggregation
AEP - CSP     00040621083171143           Electric       Gov. Aggregation   FEOH - OE     08023382800000791754        Electric       Gov. Aggregation
AEP - CSP     00040621083286944           Electric       Gov. Aggregation   FEOH - OE     08023817350000849832        Electric       Gov. Aggregation
AEP - CSP     00040621096294722           Electric       Gov. Aggregation   FEOH - OE     08023819190000806190        Electric       Gov. Aggregation
AEP - CSP     00040621096533652           Electric       Gov. Aggregation   FEOH - OE     08023820630000790934        Electric       Gov. Aggregation
AEP - CSP     00040621096561125           Electric       Gov. Aggregation   FEOH - OE     08023830230000792532        Electric       Gov. Aggregation
AEP - CSP     00040621096630100           Electric       Gov. Aggregation   FEOH - OE     08023832960000792570        Electric       Gov. Aggregation
AEP - CSP     00040621096733432           Electric       Gov. Aggregation   FEOH - OE     08023836020000792618        Electric       Gov. Aggregation
AEP - CSP     00040621096744114           Electric       Gov. Aggregation   FEOH - OE     08023836630000792626        Electric       Gov. Aggregation
AEP - CSP     00040621090803531           Electric       Gov. Aggregation   FEOH - OE     08023528790000844623        Electric       Gov. Aggregation
AEP - CSP     00040621090862903           Electric       Gov. Aggregation   FEOH - OE     08023530510000789047        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621090957643           Electric       Gov. Aggregation   FEOH - OE     08023537360001304630        Electric       Gov. Aggregation
AEP - CSP     00040621090957904           Electric       Gov. Aggregation   FEOH - OE     08023540480001562731        Electric       Gov. Aggregation
AEP - CSP     00040621091039341           Electric       Gov. Aggregation   FEOH - OE     08023566720000806161        Electric       Gov. Aggregation
AEP - CSP     00040621091044331           Electric       Gov. Aggregation   FEOH - OE     08023572360000766208        Electric       Gov. Aggregation
AEP - CSP     00040621091084620           Electric       Gov. Aggregation   FEOH - OE     08023572980000766217        Electric       Gov. Aggregation
AEP - CSP     00040621089241091           Electric       Gov. Aggregation   FEOH - OE     08025029370000790853        Electric       Gov. Aggregation
AEP - CSP     00040621089281882           Electric       Gov. Aggregation   FEOH - OE     08025060590000792710        Electric       Gov. Aggregation
AEP - CSP     00040621089299363           Electric       Gov. Aggregation   FEOH - OE     08025062680000804335        Electric       Gov. Aggregation
AEP - CSP     00040621089373670           Electric       Gov. Aggregation   FEOH - OE     08025065080000804371        Electric       Gov. Aggregation
AEP - CSP     00040621089557785           Electric       Gov. Aggregation   FEOH - OE     08025066360000804387        Electric       Gov. Aggregation
AEP - CSP     00040621089884415           Electric       Gov. Aggregation   FEOH - OE     08025067160000804398        Electric       Gov. Aggregation
AEP - CSP     00040621089954063           Electric       Gov. Aggregation   FEOH - OE     08025067560000804404        Electric       Gov. Aggregation
AEP - CSP     00040621095621195           Electric       Gov. Aggregation   FEOH - OE     08024558350000778342        Electric       Gov. Aggregation
AEP - CSP     00040621095630480           Electric       Gov. Aggregation   FEOH - OE     08024570880000789062        Electric       Gov. Aggregation
AEP - CSP     00040621095768651           Electric       Gov. Aggregation   FEOH - OE     08024574490001535314        Electric       Gov. Aggregation
AEP - CSP     00040621095886952           Electric       Gov. Aggregation   FEOH - OE     08024602150000790664        Electric       Gov. Aggregation
AEP - CSP     00040621096029473           Electric       Gov. Aggregation   FEOH - OE     08024602260000790667        Electric       Gov. Aggregation
AEP - CSP     00040621096095611           Electric       Gov. Aggregation   FEOH - OE     08024603020000790679        Electric       Gov. Aggregation
AEP - CSP     00040621096234950           Electric       Gov. Aggregation   FEOH - OE     08024605530000790721        Electric       Gov. Aggregation
AEP - CSP     00040621092973514           Electric       Gov. Aggregation   FEOH - OE     08023573100000766219        Electric       Gov. Aggregation
AEP - CSP     00040621093016703           Electric       Gov. Aggregation   FEOH - OE     08023573300000766221        Electric       Gov. Aggregation
AEP - CSP     00040621093089944           Electric       Gov. Aggregation   FEOH - OE     08023593450000844679        Electric       Gov. Aggregation
AEP - CSP     00040621093106870           Electric       Gov. Aggregation   FEOH - OE     08023593490000844680        Electric       Gov. Aggregation
AEP - CSP     00040621093178732           Electric       Gov. Aggregation   FEOH - OE     08023593770000844682        Electric       Gov. Aggregation
AEP - CSP     00040621093254112           Electric       Gov. Aggregation   FEOH - OE     08023595570000844701        Electric       Gov. Aggregation
AEP - CSP     00040621090999830           Electric       Gov. Aggregation   FEOH - OE     08023596300000844710        Electric       Gov. Aggregation
AEP - CSP     00040621091095971           Electric       Gov. Aggregation   FEOH - OE     08023435540001482797        Electric       Gov. Aggregation
AEP - CSP     00040621091302842           Electric       Gov. Aggregation   FEOH - OE     08023436690000789199        Electric       Gov. Aggregation
AEP - CSP     00040621091542190           Electric       Gov. Aggregation   FEOH - OE     08023438210000784626        Electric       Gov. Aggregation
AEP - CSP     00040621091587701           Electric       Gov. Aggregation   FEOH - OE     08023439240000804876        Electric       Gov. Aggregation
AEP - CSP     00040621091597663           Electric       Gov. Aggregation   FEOH - OE     08023451990000778421        Electric       Gov. Aggregation
AEP - CSP     00040621091604251           Electric       Gov. Aggregation   FEOH - TE     08023466922360090112        Electric       Gov. Aggregation
AEP - CSP     00040621096926864           Electric       Gov. Aggregation   FEOH - OE     08023467890001397412        Electric       Gov. Aggregation
AEP - CSP     00040621096985844           Electric       Gov. Aggregation   FEOH - OE     08023262190000805510        Electric       Gov. Aggregation
AEP - CSP     00040621097040324           Electric       Gov. Aggregation   FEOH - OE     08023280030001370182        Electric       Gov. Aggregation
AEP - CSP     00040621097125231           Electric       Gov. Aggregation   FEOH - OE     08023296650000805416        Electric       Gov. Aggregation
AEP - CSP     00040621097300424           Electric       Gov. Aggregation   FEOH - OE     08023299430000789358        Electric       Gov. Aggregation
AEP - CSP     00040621097374884           Electric       Gov. Aggregation   FEOH - OE     08023299550000805440        Electric       Gov. Aggregation
AEP - CSP     00040621097475160           Electric       Gov. Aggregation   FEOH - OE     08023303440000810045        Electric       Gov. Aggregation
AEP - CSP     00040621083276204           Electric       Gov. Aggregation   FEOH - OE     08023304160000810054        Electric       Gov. Aggregation
AEP - CSP     00040621083532633           Electric       Gov. Aggregation   FEOH - OE     08023837010000792632        Electric       Gov. Aggregation
AEP - CSP     00040621083616712           Electric       Gov. Aggregation   FEOH - OE     08023838260000792650        Electric       Gov. Aggregation
AEP - CSP     00040621083693344           Electric       Gov. Aggregation   FEOH - OE     08023838310000792651        Electric       Gov. Aggregation
AEP - CSP     00040621083777165           Electric       Gov. Aggregation   FEOH - OE     08023840590001486637        Electric       Gov. Aggregation
AEP - CSP     00040621083782554           Electric       Gov. Aggregation   FEOH - OE     08023842610000789077        Electric       Gov. Aggregation
AEP - CSP     00040621083816322           Electric       Gov. Aggregation   FEOH - OE     08023843480000789090        Electric       Gov. Aggregation
AEP - CSP     00040621083481390           Electric       Gov. Aggregation   FEOH - OE     08023844470000789104        Electric       Gov. Aggregation
AEP - CSP     00040621083515890           Electric       Gov. Aggregation   FEOH - OE     08023601780001538787        Electric       Gov. Aggregation
AEP - CSP     00040621083524763           Electric       Gov. Aggregation   FEOH - OE     08023606520000792167        Electric       Gov. Aggregation
AEP - CSP     00040621083626373           Electric       Gov. Aggregation   FEOH - OE     08023622420000804496        Electric       Gov. Aggregation
AEP - CSP     00040621083677400           Electric       Gov. Aggregation   FEOH - OE     08023639680001340472        Electric       Gov. Aggregation
AEP - CSP     00040621083712814           Electric       Gov. Aggregation   FEOH - OE     08023661305000356190        Electric       Gov. Aggregation
AEP - CSP     00040621083730714           Electric       Gov. Aggregation   FEOH - OE     08023664660001535410        Electric       Gov. Aggregation
AEP - CSP     00040621091158322           Electric       Gov. Aggregation   FEOH - OE     08023664760001553364        Electric       Gov. Aggregation
AEP - CSP     00040621091305161           Electric       Gov. Aggregation   FEOH - OE     08025067890000804410        Electric       Gov. Aggregation
AEP - CSP     00040621091369053           Electric       Gov. Aggregation   FEOH - OE     08025068930000804421        Electric       Gov. Aggregation
AEP - CSP     00040621091479144           Electric       Gov. Aggregation   FEOH - OE     08025071515000309781        Electric       Gov. Aggregation
AEP - CSP     00040621091603070           Electric       Gov. Aggregation   FEOH - OE     08025091210000790880        Electric       Gov. Aggregation
AEP - CSP     00040621091662393           Electric       Gov. Aggregation   FEOH - OE     08025093120000841269        Electric       Gov. Aggregation
AEP - CSP     00040621091779284           Electric       Gov. Aggregation   FEOH - OE     08025094520000841256        Electric       Gov. Aggregation
AEP - CSP     00040621089975763           Electric       Gov. Aggregation   FEOH - OE     08025096030000790957        Electric       Gov. Aggregation
AEP - CSP     00040621090140310           Electric       Gov. Aggregation   FEOH - OE     08024606600000841288        Electric       Gov. Aggregation
AEP - CSP     00040621090179891           Electric       Gov. Aggregation   FEOH - OE     08024606760000786411        Electric       Gov. Aggregation
AEP - CSP     00040621090330783           Electric       Gov. Aggregation   FEOH - OE     08024607600000786422        Electric       Gov. Aggregation
AEP - CSP     00040621090364751           Electric       Gov. Aggregation   FEOH - OE     08024607830000786426        Electric       Gov. Aggregation
AEP - CSP     00040621090369983           Electric       Gov. Aggregation   FEOH - OE     08024607900000841306        Electric       Gov. Aggregation
AEP - CSP     00040621090427120           Electric       Gov. Aggregation   FEOH - OE     08024631240000778219        Electric       Gov. Aggregation
AEP - CSP     00040621096255744           Electric       Gov. Aggregation   FEOH - OE     08024632430000778234        Electric       Gov. Aggregation
AEP - CSP     00040621096283440           Electric       Gov. Aggregation   FEOH - OE     08023306500000810094        Electric       Gov. Aggregation
AEP - CSP     00040621096335031           Electric       Gov. Aggregation   FEOH - OE     08023307940000810114        Electric       Gov. Aggregation
AEP - CSP     00040621096338292           Electric       Gov. Aggregation   FEOH - OE     08023310730001584022        Electric       Gov. Aggregation
AEP - CSP     00040621096361794           Electric       Gov. Aggregation   FEOH - OE     08023312720001370838        Electric       Gov. Aggregation
AEP - CSP     00040621096363430           Electric       Gov. Aggregation   FEOH - OE     08023315830001347997        Electric       Gov. Aggregation
AEP - CSP     00040621096420052           Electric       Gov. Aggregation   FEOH - OE     08023317080000791686        Electric       Gov. Aggregation
AEP - CSP     00040621093549391           Electric       Gov. Aggregation   FEOH - OE     08023317770000791684        Electric       Gov. Aggregation
AEP - CSP     00040621093699755           Electric       Gov. Aggregation   FEOH - OE     08025075185000021518        Electric       Gov. Aggregation
AEP - CSP     00040621093781890           Electric       Gov. Aggregation   FEOH - OE     08025083300000786404        Electric       Gov. Aggregation
AEP - CSP     00040621093835620           Electric       Gov. Aggregation   FEOH - OE     08025091140000790879        Electric       Gov. Aggregation
AEP - CSP     00040621093937833           Electric       Gov. Aggregation   FEOH - OE     08025091830000791722        Electric       Gov. Aggregation
AEP - CSP     00040621094006065           Electric       Gov. Aggregation   FEOH - OE     08025092990000841268        Electric       Gov. Aggregation
AEP - CSP     00040621097559165           Electric       Gov. Aggregation   FEOH - OE     08025094820000841244        Electric       Gov. Aggregation
AEP - CSP     00040621097572992           Electric       Gov. Aggregation   FEOH - OE     08025095260000790945        Electric       Gov. Aggregation
AEP - CSP     00040621097588645           Electric       Gov. Aggregation   FEOH - OE     08023844710001379598        Electric       Gov. Aggregation
AEP - CSP     00040621097596245           Electric       Gov. Aggregation   FEOH - OE     08023844850000789109        Electric       Gov. Aggregation
AEP - CSP     00040621097699881           Electric       Gov. Aggregation   FEOH - OE     08023846430001378606        Electric       Gov. Aggregation
AEP - CSP     00040621097728775           Electric       Gov. Aggregation   FEOH - OE     08023890920001487746        Electric       Gov. Aggregation
AEP - CSP     00040621097869225           Electric       Gov. Aggregation   FEOH - OE     08023891340001471351        Electric       Gov. Aggregation
AEP - CSP     00040621083979383           Electric       Gov. Aggregation   FEOH - OE     08023891415000224699        Electric       Gov. Aggregation
AEP - CSP     00040621084225261           Electric       Gov. Aggregation   FEOH - OE     08023903510000792728        Electric       Gov. Aggregation
AEP - CSP     00040621084405694           Electric       Gov. Aggregation   FEOH - OE     08023668880001565724        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621084407510           Electric       Gov. Aggregation   FEOH - OE     08023677630000792336        Electric       Gov. Aggregation
AEP - CSP     00040621084525353           Electric       Gov. Aggregation   FEOH - OE     08023678190000792344        Electric       Gov. Aggregation
AEP - CSP     00040621084556750           Electric       Gov. Aggregation   FEOH - OE     08023678250000792345        Electric       Gov. Aggregation
AEP - CSP     00040621084568684           Electric       Gov. Aggregation   FEOH - OE     08023678300000791532        Electric       Gov. Aggregation
AEP - CSP     00040621091695991           Electric       Gov. Aggregation   FEOH - OE     08023685840000849153        Electric       Gov. Aggregation
AEP - CSP     00040621091737901           Electric       Gov. Aggregation   FEOH - OE     08023689720001482803        Electric       Gov. Aggregation
AEP - CSP     00040621091891380           Electric       Gov. Aggregation   FEOH - OE     08023904300000792739        Electric       Gov. Aggregation
AEP - CSP     00040621091903231           Electric       Gov. Aggregation   FEOH - OE     08023908800001451243        Electric       Gov. Aggregation
AEP - CSP     00040621092074842           Electric       Gov. Aggregation   FEOH - OE     08023911390000789210        Electric       Gov. Aggregation
AEP - CSP     00040621092128322           Electric       Gov. Aggregation   FEOH - OE     08023912740000789232        Electric       Gov. Aggregation
AEP - CSP     00040621092417951           Electric       Gov. Aggregation   FEOH - OE     08023912920000789235        Electric       Gov. Aggregation
AEP - CSP     00040621083743845           Electric       Gov. Aggregation   FEOH - OE     08023913740000789248        Electric       Gov. Aggregation
AEP - CSP     00040621083751124           Electric       Gov. Aggregation   FEOH - OE     08023914230001530696        Electric       Gov. Aggregation
AEP - CSP     00040621083754600           Electric       Gov. Aggregation   FEOH - OE     08025096160000790960        Electric       Gov. Aggregation
AEP - CSP     00040621083897971           Electric       Gov. Aggregation   FEOH - OE     08025130370000804443        Electric       Gov. Aggregation
AEP - CSP     00040621083907863           Electric       Gov. Aggregation   FEOH - OE     08025130570000804446        Electric       Gov. Aggregation
AEP - CSP     00040621084014241           Electric       Gov. Aggregation   FEOH - OE     08025131970000804466        Electric       Gov. Aggregation
AEP - CSP     00040621091864893           Electric       Gov. Aggregation   FEOH - OE     08025134190000782561        Electric       Gov. Aggregation
AEP - CSP     00040621091920770           Electric       Gov. Aggregation   FEOH - OE     08025135710001338442        Electric       Gov. Aggregation
AEP - CSP     00040621091922953           Electric       Gov. Aggregation   FEOH - OE     08025138410000804560        Electric       Gov. Aggregation
AEP - CSP     00040621091948155           Electric       Gov. Aggregation   FEOH - TE     08023470052770020903        Electric       Gov. Aggregation
AEP - CSP     00040621092206734           Electric       Gov. Aggregation   FEOH - OE     08023496120000766113        Electric       Gov. Aggregation
AEP - CSP     00040621092208565           Electric       Gov. Aggregation   FEOH - OE     08023496650000766121        Electric       Gov. Aggregation
AEP - CSP     00040621090753873           Electric       Gov. Aggregation   FEOH - OE     08023500210000784657        Electric       Gov. Aggregation
AEP - CSP     00040621090781572           Electric       Gov. Aggregation   FEOH - OE     08023500340000784659        Electric       Gov. Aggregation
AEP - CSP     00040621090891925           Electric       Gov. Aggregation   FEOH - OE     08023501570001347272        Electric       Gov. Aggregation
AEP - CSP     00040621090988302           Electric       Gov. Aggregation   FEOH - OE     08023525900000844578        Electric       Gov. Aggregation
AEP - CSP     00040621091054684           Electric       Gov. Aggregation   FEOH - OE     08024648500001432789        Electric       Gov. Aggregation
AEP - CSP     00040621096485532           Electric       Gov. Aggregation   FEOH - OE     08024657540000789075        Electric       Gov. Aggregation
AEP - CSP     00040621096544675           Electric       Gov. Aggregation   FEOH - OE     08024663280000805533        Electric       Gov. Aggregation
AEP - CSP     00040621096562941           Electric       Gov. Aggregation   FEOH - OE     08024673880000841389        Electric       Gov. Aggregation
AEP - CSP     00040621096585012           Electric       Gov. Aggregation   FEOH - OE     08024676000000790784        Electric       Gov. Aggregation
AEP - CSP     00040621096597815           Electric       Gov. Aggregation   FEOH - OE     08024676830000790799        Electric       Gov. Aggregation
AEP - CSP     00040621096755601           Electric       Gov. Aggregation   FEOH - OE     08024707200000778387        Electric       Gov. Aggregation
AEP - CSP     00040621094338023           Electric       Gov. Aggregation   FEOH - OE     08025095520000790950        Electric       Gov. Aggregation
AEP - CSP     00040621094523862           Electric       Gov. Aggregation   FEOH - OE     08025098130000790987        Electric       Gov. Aggregation
AEP - CSP     00040621094612322           Electric       Gov. Aggregation   FEOH - OE     08025128995001431349        Electric       Gov. Aggregation
AEP - CSP     00040621094812151           Electric       Gov. Aggregation   FEOH - OE     08025131330000804458        Electric       Gov. Aggregation
AEP - CSP     00040621097942624           Electric       Gov. Aggregation   FEOH - OE     08025132700000804477        Electric       Gov. Aggregation
AEP - CSP     00040621098111475           Electric       Gov. Aggregation   FEOH - OE     08025132770000804478        Electric       Gov. Aggregation
AEP - CSP     00040621098182692           Electric       Gov. Aggregation   FEOH - OE     08025134370000804497        Electric       Gov. Aggregation
AEP - CSP     00040621098182992           Electric       Gov. Aggregation   FEOH - OE     08023342580000805490        Electric       Gov. Aggregation
AEP - CSP     00040621098235570           Electric       Gov. Aggregation   FEOH - OE     08023360470000805454        Electric       Gov. Aggregation
AEP - CSP     00040621098311982           Electric       Gov. Aggregation   FEOH - OE     08023361570001343190        Electric       Gov. Aggregation
AEP - CSP     00040621098372453           Electric       Gov. Aggregation   FEOH - OE     08023362150000805479        Electric       Gov. Aggregation
AEP - CSP     00040621092616605           Electric       Gov. Aggregation   FEOH - OE     08023362180000784384        Electric       Gov. Aggregation
AEP - CSP     00040621092769404           Electric       Gov. Aggregation   FEOH - OE     08023362950000805492        Electric       Gov. Aggregation
AEP - CSP     00040621092815134           Electric       Gov. Aggregation   FEOH - OE     08023363600000805498        Electric       Gov. Aggregation
AEP - CSP     00040621093034334           Electric       Gov. Aggregation   FEOH - OE     08023916080000789283        Electric       Gov. Aggregation
AEP - CSP     00040621093211005           Electric       Gov. Aggregation   FEOH - OE     08023918310001571657        Electric       Gov. Aggregation
AEP - CSP     00040621093255312           Electric       Gov. Aggregation   FEOH - OE     08023931460000790356        Electric       Gov. Aggregation
AEP - CSP     00040621093266484           Electric       Gov. Aggregation   FEOH - OE     08023937580000762666        Electric       Gov. Aggregation
AEP - CSP     00040621084058684           Electric       Gov. Aggregation   FEOH - OE     08024007550000770527        Electric       Gov. Aggregation
AEP - CSP     00040621084059070           Electric       Gov. Aggregation   FEOH - OE     08024043010000784760        Electric       Gov. Aggregation
AEP - CSP     00040621084081140           Electric       Gov. Aggregation   FEOH - OE     08024054670001506900        Electric       Gov. Aggregation
AEP - CSP     00040621084271830           Electric       Gov. Aggregation   FEOH - OE     08025138820000804564        Electric       Gov. Aggregation
AEP - CSP     00040621084395574           Electric       Gov. Aggregation   FEOH - OE     08025139580000804358        Electric       Gov. Aggregation
AEP - CSP     00040621084488762           Electric       Gov. Aggregation   FEOH - OE     08025154400000791311        Electric       Gov. Aggregation
AEP - CSP     00040621084539121           Electric       Gov. Aggregation   FEOH - OE     08025154990000769744        Electric       Gov. Aggregation
AEP - CSP     00040621092217281           Electric       Gov. Aggregation   FEOH - OE     08025156170000769760        Electric       Gov. Aggregation
AEP - CSP     00040621092284721           Electric       Gov. Aggregation   FEOH - OE     08025162040000791048        Electric       Gov. Aggregation
AEP - CSP     00040621092438254           Electric       Gov. Aggregation   FEOH - OE     08025162230000791051        Electric       Gov. Aggregation
AEP - CSP     00040621092565042           Electric       Gov. Aggregation   FEOH - OE     08023692340000780100        Electric       Gov. Aggregation
AEP - CSP     00040621092691963           Electric       Gov. Aggregation   FEOH - OE     08023695000000778241        Electric       Gov. Aggregation
AEP - CSP     00040621092910484           Electric       Gov. Aggregation   FEOH - OE     08023700940000788741        Electric       Gov. Aggregation
AEP - CSP     00040621084598753           Electric       Gov. Aggregation   FEOH - OE     08023701060000788743        Electric       Gov. Aggregation
AEP - CSP     00040621084866123           Electric       Gov. Aggregation   FEOH - OE     08023704870000788801        Electric       Gov. Aggregation
AEP - CSP     00040621084987112           Electric       Gov. Aggregation   FEOH - OE     08023706330000806048        Electric       Gov. Aggregation
AEP - CSP     00040621084987882           Electric       Gov. Aggregation   FEOH - OE     08023706380000806049        Electric       Gov. Aggregation
AEP - CSP     00040621084992525           Electric       Gov. Aggregation   FEOH - OE     08024707920000778397        Electric       Gov. Aggregation
AEP - CSP     00040621084993035           Electric       Gov. Aggregation   FEOH - OE     08024709590000778420        Electric       Gov. Aggregation
AEP - CSP     00040621085101781           Electric       Gov. Aggregation   FEOH - OE     08024712760000803845        Electric       Gov. Aggregation
AEP - CSP     00040621091118063           Electric       Gov. Aggregation   FEOH - OE     08024719090001326858        Electric       Gov. Aggregation
AEP - CSP     00040621091197624           Electric       Gov. Aggregation   FEOH - OE     08024719260001328369        Electric       Gov. Aggregation
AEP - CSP     00040621091387712           Electric       Gov. Aggregation   FEOH - OE     08024728435000151902        Electric       Gov. Aggregation
AEP - CSP     00040621091389381           Electric       Gov. Aggregation   FEOH - OE     08024740840000786629        Electric       Gov. Aggregation
AEP - CSP     00040621091408130           Electric       Gov. Aggregation   FEOH - OE     08023526020001429106        Electric       Gov. Aggregation
AEP - CSP     00040621091428354           Electric       Gov. Aggregation   FEOH - OE     08023536220001457801        Electric       Gov. Aggregation
AEP - CSP     00040621091531201           Electric       Gov. Aggregation   FEOH - OE     08023537950001378401        Electric       Gov. Aggregation
AEP - CSP     00040621096947464           Electric       Gov. Aggregation   FEOH - OE     08023550995000385649        Electric       Gov. Aggregation
AEP - CSP     00040621097104254           Electric       Gov. Aggregation   FEOH - OE     08023558340000788837        Electric       Gov. Aggregation
AEP - CSP     00040621097113604           Electric       Gov. Aggregation   FEOH - OE     08023560280001504930        Electric       Gov. Aggregation
AEP - CSP     00040621097159224           Electric       Gov. Aggregation   FEOH - OE     08023573890000766228        Electric       Gov. Aggregation
AEP - CSP     00040621097338654           Electric       Gov. Aggregation   FEOH - OE     08025134710000804502        Electric       Gov. Aggregation
AEP - CSP     00040621097346813           Electric       Gov. Aggregation   FEOH - OE     08025134940000804507        Electric       Gov. Aggregation
AEP - CSP     00040621097484695           Electric       Gov. Aggregation   FEOH - OE     08025148880001472230        Electric       Gov. Aggregation
AEP - CSP     00040621098425414           Electric       Gov. Aggregation   FEOH - OE     08025160740000791029        Electric       Gov. Aggregation
AEP - CSP     00040621098501504           Electric       Gov. Aggregation   FEOH - OE     08025161200000791036        Electric       Gov. Aggregation
AEP - CSP     00040621098507814           Electric       Gov. Aggregation   FEOH - OE     08025161370000792419        Electric       Gov. Aggregation
AEP - CSP     00040621098559490           Electric       Gov. Aggregation   FEOH - OE     08025162870000791061        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621098665960           Electric       Gov. Aggregation   FEOH - OE     08023363680000805499        Electric       Gov. Aggregation
AEP - CSP     00040621098684960           Electric       Gov. Aggregation   FEOH - OE     08023364040000784410        Electric       Gov. Aggregation
AEP - CSP     00040621098895640           Electric       Gov. Aggregation   FEOH - OE     08023364250000784413        Electric       Gov. Aggregation
AEP - CSP     00040621094871054           Electric       Gov. Aggregation   FEOH - OE     08023364410000805509        Electric       Gov. Aggregation
AEP - CSP     00040621094905541           Electric       Gov. Aggregation   FEOH - OE     08023364430001373518        Electric       Gov. Aggregation
AEP - CSP     00040621095141305           Electric       Gov. Aggregation   FEOH - OE     08023365070001477532        Electric       Gov. Aggregation
AEP - CSP     00040621095160194           Electric       Gov. Aggregation   FEOH - OE     08023365090000805535        Electric       Gov. Aggregation
AEP - CSP     00040621095256855           Electric       Gov. Aggregation   FEOH - OE     08024094560000844606        Electric       Gov. Aggregation
AEP - CSP     00040621095366533           Electric       Gov. Aggregation   FEOH - OE     08024116750000805552        Electric       Gov. Aggregation
AEP - CSP     00040621095502530           Electric       Gov. Aggregation   FEOH - OE     08024182870000809416        Electric       Gov. Aggregation
AEP - CSP     00040621093459061           Electric       Gov. Aggregation   FEOH - OE     08024190590000789882        Electric       Gov. Aggregation
AEP - CSP     00040621093514950           Electric       Gov. Aggregation   FEOH - OE     08024240390000806167        Electric       Gov. Aggregation
AEP - CSP     00040621093595065           Electric       Gov. Aggregation   FEOH - OE     08024267820000791747        Electric       Gov. Aggregation
AEP - CSP     00040621093656402           Electric       Gov. Aggregation   FEOH - OE     08025165300000791100        Electric       Gov. Aggregation
AEP - CSP     00040621093664804           Electric       Gov. Aggregation   FEOH - OE     08025166160000791112        Electric       Gov. Aggregation
AEP - CSP     00040621093676261           Electric       Gov. Aggregation   FEOH - OE     08025168530000791154        Electric       Gov. Aggregation
AEP - CSP     00040621093705802           Electric       Gov. Aggregation   FEOH - OE     08025168800000791157        Electric       Gov. Aggregation
AEP - CSP     00040621093125732           Electric       Gov. Aggregation   FEOH - OE     08025207210000804699        Electric       Gov. Aggregation
AEP - CSP     00040621093164744           Electric       Gov. Aggregation   FEOH - OE     08025213880000771027        Electric       Gov. Aggregation
AEP - CSP     00040621093228601           Electric       Gov. Aggregation   FEOH - OE     08023706865000283509        Electric       Gov. Aggregation
AEP - CSP     00040621093251035           Electric       Gov. Aggregation   FEOH - OE     08023707420000806064        Electric       Gov. Aggregation
AEP - CSP     00040621093396693           Electric       Gov. Aggregation   FEOH - OE     08023707610000788840        Electric       Gov. Aggregation
AEP - CSP     00040621093428935           Electric       Gov. Aggregation   FEOH - OE     08023707750000788842        Electric       Gov. Aggregation
AEP - CSP     00040621093670412           Electric       Gov. Aggregation   FEOH - OE     08023707770000806070        Electric       Gov. Aggregation
AEP - CSP     00040621084540501           Electric       Gov. Aggregation   FEOH - OE     08023709000000806083        Electric       Gov. Aggregation
AEP - CSP     00040621084743314           Electric       Gov. Aggregation   FEOH - OE     08023709320001324598        Electric       Gov. Aggregation
AEP - CSP     00040621085183253           Electric       Gov. Aggregation   FEOH - OE     08024741350000782526        Electric       Gov. Aggregation
AEP - CSP     00040621085260753           Electric       Gov. Aggregation   FEOH - OE     08024741990000786653        Electric       Gov. Aggregation
AEP - CSP     00040621085439364           Electric       Gov. Aggregation   FEOH - OE     08024742910000786668        Electric       Gov. Aggregation
AEP - CSP     00040621085443421           Electric       Gov. Aggregation   FEOH - OE     08024748570000784638        Electric       Gov. Aggregation
AEP - CSP     00040621085479444           Electric       Gov. Aggregation   FEOH - OE     08024777750001566156        Electric       Gov. Aggregation
AEP - CSP     00040621095694734           Electric       Gov. Aggregation   FEOH - OE     08024778410000790296        Electric       Gov. Aggregation
AEP - CSP     00040621095747165           Electric       Gov. Aggregation   FEOH - OE     08024778560000778451        Electric       Gov. Aggregation
AEP - CSP     00040621095762474           Electric       Gov. Aggregation   FEOH - OE     08023591560000844660        Electric       Gov. Aggregation
AEP - CSP     00040621095795944           Electric       Gov. Aggregation   FEOH - OE     08023594020001317544        Electric       Gov. Aggregation
AEP - CSP     00040621095867254           Electric       Gov. Aggregation   FEOH - OE     08023596040000844708        Electric       Gov. Aggregation
AEP - CSP     00040621095948763           Electric       Gov. Aggregation   FEOH - OE     08023597540000844722        Electric       Gov. Aggregation
AEP - CSP     00040621096042025           Electric       Gov. Aggregation   FEOH - OE     08023602410001576056        Electric       Gov. Aggregation
AEP - CSP     00040621091641882           Electric       Gov. Aggregation   FEOH - OE     08023606860000792172        Electric       Gov. Aggregation
AEP - CSP     00040621091721355           Electric       Gov. Aggregation   FEOH - OE     08023661470001475125        Electric       Gov. Aggregation
AEP - CSP     00040621091724244           Electric       Gov. Aggregation   FEOH - OE     08024293975000331513        Electric       Gov. Aggregation
AEP - CSP     00040621091751644           Electric       Gov. Aggregation   FEOH - OE     08024293975000331524        Electric       Gov. Aggregation
AEP - CSP     00040621091795731           Electric       Gov. Aggregation   FEOH - OE     08024293975000331540        Electric       Gov. Aggregation
AEP - CSP     00040621091978922           Electric       Gov. Aggregation   FEOH - OE     08024293975000331554        Electric       Gov. Aggregation
AEP - CSP     00040621096169640           Electric       Gov. Aggregation   FEOH - OE     08024293975000331558        Electric       Gov. Aggregation
AEP - CSP     00040621096197304           Electric       Gov. Aggregation   FEOH - OE     08024294570000789339        Electric       Gov. Aggregation
AEP - CSP     00040621096220613           Electric       Gov. Aggregation   FEOH - OE     08024294730000790186        Electric       Gov. Aggregation
AEP - CSP     00040621096324992           Electric       Gov. Aggregation   FEOH - OE     08023366090000805547        Electric       Gov. Aggregation
AEP - CSP     00040621096355925           Electric       Gov. Aggregation   FEOH - OE     08023366130000784440        Electric       Gov. Aggregation
AEP - CSP     00040621096503842           Electric       Gov. Aggregation   FEOH - OE     08023367410000805625        Electric       Gov. Aggregation
AEP - CSP     00040621096672135           Electric       Gov. Aggregation   FEOH - OE     08023368310000784473        Electric       Gov. Aggregation
AEP - CSP     00040621085121691           Electric       Gov. Aggregation   FEOH - OE     08023369520000784490        Electric       Gov. Aggregation
AEP - CSP     00040621085148265           Electric       Gov. Aggregation   FEOH - OE     08023370900000810158        Electric       Gov. Aggregation
AEP - CSP     00040621085170793           Electric       Gov. Aggregation   FEOH - OE     08023371080000810160        Electric       Gov. Aggregation
AEP - CSP     00040621085235025           Electric       Gov. Aggregation   FEOH - OE     08025231550000791197        Electric       Gov. Aggregation
AEP - CSP     00040621085320195           Electric       Gov. Aggregation   FEOH - OE     08025233200000791222        Electric       Gov. Aggregation
AEP - CSP     00040621085321373           Electric       Gov. Aggregation   FEOH - OE     08025235100000791252        Electric       Gov. Aggregation
AEP - CSP     00040621099203234           Electric       Gov. Aggregation   FEOH - OE     08025238860000791307        Electric       Gov. Aggregation
AEP - CSP     00040621099303593           Electric       Gov. Aggregation   FEOH - OE     08025239110000791312        Electric       Gov. Aggregation
AEP - CSP     00040621099394182           Electric       Gov. Aggregation   FEOH - OE     08025272190000803140        Electric       Gov. Aggregation
AEP - CSP     00040621099482142           Electric       Gov. Aggregation   FEOH - OE     08025272420001557232        Electric       Gov. Aggregation
AEP - CSP     00040621099519711           Electric       Gov. Aggregation   FEOH - OE     08023731860000844798        Electric       Gov. Aggregation
AEP - CSP     00040621099592640           Electric       Gov. Aggregation   FEOH - OE     08023733790000844820        Electric       Gov. Aggregation
AEP - CSP     00040621093754200           Electric       Gov. Aggregation   FEOH - OE     08023739680001408535        Electric       Gov. Aggregation
AEP - CSP     00040621093807802           Electric       Gov. Aggregation   FEOH - OE     08023740060001519958        Electric       Gov. Aggregation
AEP - CSP     00040621093862440           Electric       Gov. Aggregation   FEOH - OE     08023742940000776734        Electric       Gov. Aggregation
AEP - CSP     00040621093905313           Electric       Gov. Aggregation   FEOH - OE     08023744420000776756        Electric       Gov. Aggregation
AEP - CSP     00040621094144163           Electric       Gov. Aggregation   FEOH - OE     08023745140000776764        Electric       Gov. Aggregation
AEP - CSP     00040621094205501           Electric       Gov. Aggregation   FEOH - OE     08024778640000778452        Electric       Gov. Aggregation
AEP - CSP     00040621097671130           Electric       Gov. Aggregation   FEOH - OE     08024781420001348283        Electric       Gov. Aggregation
AEP - CSP     00040621097957815           Electric       Gov. Aggregation   FEOH - OE     08024782120000804470        Electric       Gov. Aggregation
AEP - CSP     00040621098029553           Electric       Gov. Aggregation   FEOH - OE     08024782590001383983        Electric       Gov. Aggregation
AEP - CSP     00040621098041813           Electric       Gov. Aggregation   FEOH - OE     08024783485000250546        Electric       Gov. Aggregation
AEP - CSP     00040621098081674           Electric       Gov. Aggregation   FEOH - OE     08024785870001385019        Electric       Gov. Aggregation
AEP - CSP     00040621098130963           Electric       Gov. Aggregation   FEOH - OE     08024789190001411182        Electric       Gov. Aggregation
AEP - CSP     00040621098181003           Electric       Gov. Aggregation   FEOH - OE     08023664950001541976        Electric       Gov. Aggregation
AEP - CSP     00040621093799530           Electric       Gov. Aggregation   FEOH - OE     08023665500001550702        Electric       Gov. Aggregation
AEP - CSP     00040621093940254           Electric       Gov. Aggregation   FEOH - OE     08023683220001440125        Electric       Gov. Aggregation
AEP - CSP     00040621094009454           Electric       Gov. Aggregation   FEOH - OE     08023684080001554322        Electric       Gov. Aggregation
AEP - CSP     00040621094133564           Electric       Gov. Aggregation   FEOH - OE     08023684560000848802        Electric       Gov. Aggregation
AEP - CSP     00040621094157194           Electric       Gov. Aggregation   FEOH - OE     08023694840001551119        Electric       Gov. Aggregation
AEP - CSP     00040621094226064           Electric       Gov. Aggregation   FEOH - OE     08023704040000788790        Electric       Gov. Aggregation
AEP - CSP     00040621094328533           Electric       Gov. Aggregation   FEOH - OE     08024296620000790215        Electric       Gov. Aggregation
AEP - CSP     00040621085489895           Electric       Gov. Aggregation   FEOH - OE     08024297340000789275        Electric       Gov. Aggregation
AEP - CSP     00040621085728332           Electric       Gov. Aggregation   FEOH - OE     08024300680000792636        Electric       Gov. Aggregation
AEP - CSP     00040621085773695           Electric       Gov. Aggregation   FEOH - OE     08024301155000255540        Electric       Gov. Aggregation
AEP - CSP     00040621085880722           Electric       Gov. Aggregation   FEOH - OE     08024302570000802966        Electric       Gov. Aggregation
AEP - CSP     00040621085978155           Electric       Gov. Aggregation   FEOH - OE     08024302810000802970        Electric       Gov. Aggregation
AEP - CSP     00040621096706094           Electric       Gov. Aggregation   FEOH - OE     08024304710000803002        Electric       Gov. Aggregation
AEP - CSP     00040621096748983           Electric       Gov. Aggregation   FEOH - OE     08023371610000810168        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621096872651           Electric       Gov. Aggregation   FEOH - OE     08023376560001353511        Electric       Gov. Aggregation
AEP - CSP     00040621096900161           Electric       Gov. Aggregation   FEOH - OE     08023377940001406177        Electric       Gov. Aggregation
AEP - CSP     00040621096903814           Electric       Gov. Aggregation   FEOH - OE     08023377945001377940        Electric       Gov. Aggregation
AEP - CSP     00040621096959495           Electric       Gov. Aggregation   FEOH - OE     08023383900000791773        Electric       Gov. Aggregation
AEP - CSP     00040621096992281           Electric       Gov. Aggregation   FEOH - OE     08023384020000791774        Electric       Gov. Aggregation
AEP - CSP     00040621099617530           Electric       Gov. Aggregation   FEOH - OE     08023384150000791776        Electric       Gov. Aggregation
AEP - CSP     00040621099687121           Electric       Gov. Aggregation   FEOH - OE     08025163450000791070        Electric       Gov. Aggregation
AEP - CSP     00040621099876005           Electric       Gov. Aggregation   FEOH - OE     08025164940000791094        Electric       Gov. Aggregation
AEP - CSP     00040621099897415           Electric       Gov. Aggregation   FEOH - OE     08025165470000790981        Electric       Gov. Aggregation
AEP - CSP     00040621099965491           Electric       Gov. Aggregation   FEOH - OE     08025167670000791134        Electric       Gov. Aggregation
AEP - OP      00140060700215890           Electric       Gov. Aggregation   FEOH - OE     08025218900000778199        Electric       Gov. Aggregation
AEP - CSP     00040621085505932           Electric       Gov. Aggregation   FEOH - OE     08025231690000791199        Electric       Gov. Aggregation
AEP - CSP     00040621085605445           Electric       Gov. Aggregation   FEOH - OE     08025231790000791201        Electric       Gov. Aggregation
AEP - CSP     00040621085648244           Electric       Gov. Aggregation   FEOH - OE     08023748475000150875        Electric       Gov. Aggregation
AEP - CSP     00040621085735844           Electric       Gov. Aggregation   FEOH - OE     08023748680000792512        Electric       Gov. Aggregation
AEP - CSP     00040621085813290           Electric       Gov. Aggregation   FEOH - OE     08023750170001469875        Electric       Gov. Aggregation
AEP - CSP     00040621085956561           Electric       Gov. Aggregation   FEOH - OE     08023764250000805452        Electric       Gov. Aggregation
AEP - CSP     00040621094534514           Electric       Gov. Aggregation   FEOH - OE     08023770550000806110        Electric       Gov. Aggregation
AEP - CSP     00040621094754174           Electric       Gov. Aggregation   FEOH - OE     08023771320000806124        Electric       Gov. Aggregation
AEP - CSP     00040621094930872           Electric       Gov. Aggregation   FEOH - OE     08023772070000806134        Electric       Gov. Aggregation
AEP - CSP     00040621095019204           Electric       Gov. Aggregation   FEOH - OE     08024797030000790322        Electric       Gov. Aggregation
AEP - CSP     00040621095047475           Electric       Gov. Aggregation   FEOH - OE     08024808640001130021        Electric       Gov. Aggregation
AEP - CSP     00040621095121134           Electric       Gov. Aggregation   FEOH - OE     08024816510000786879        Electric       Gov. Aggregation
AEP - CSP     00040621092049051           Electric       Gov. Aggregation   FEOH - OE     08024817240000786887        Electric       Gov. Aggregation
AEP - CSP     00040621092112063           Electric       Gov. Aggregation   FEOH - OE     08024841040000778482        Electric       Gov. Aggregation
AEP - CSP     00040621092147214           Electric       Gov. Aggregation   FEOH - OE     08024841390000778487        Electric       Gov. Aggregation
AEP - CSP     00040621092202654           Electric       Gov. Aggregation   FEOH - OE     08024844440000778534        Electric       Gov. Aggregation
AEP - CSP     00040621092258184           Electric       Gov. Aggregation   FEOH - OE     08023705950000806042        Electric       Gov. Aggregation
AEP - CSP     00040621092837771           Electric       Gov. Aggregation   FEOH - OE     08023706460000806050        Electric       Gov. Aggregation
AEP - CSP     00040621092884161           Electric       Gov. Aggregation   FEOH - OE     08023707140000806060        Electric       Gov. Aggregation
AEP - CSP     00040621098244483           Electric       Gov. Aggregation   FEOH - OE     08023707530000788839        Electric       Gov. Aggregation
AEP - CSP     00040621098300704           Electric       Gov. Aggregation   FEOH - OE     08023731160000844790        Electric       Gov. Aggregation
AEP - CSP     00040621098341131           Electric       Gov. Aggregation   FEOH - OE     08023731260001435405        Electric       Gov. Aggregation
AEP - CSP     00040621098345960           Electric       Gov. Aggregation   FEOH - OE     08023731370000844793        Electric       Gov. Aggregation
AEP - CSP     00040621098411581           Electric       Gov. Aggregation   FEOH - OE     08023385410000791797        Electric       Gov. Aggregation
AEP - CSP     00040621098448291           Electric       Gov. Aggregation   FEOH - TE     08023402042680023808        Electric       Gov. Aggregation
AEP - CSP     00040621098515034           Electric       Gov. Aggregation   FEOH - OE     08023427720000765989        Electric       Gov. Aggregation
AEP - CSP     00040621094411604           Electric       Gov. Aggregation   FEOH - OE     08023431350001526021        Electric       Gov. Aggregation
AEP - CSP     00040621094426230           Electric       Gov. Aggregation   FEOH - OE     08023435450000784582        Electric       Gov. Aggregation
AEP - CSP     00040621094622740           Electric       Gov. Aggregation   FEOH - OE     08023438910000804868        Electric       Gov. Aggregation
AEP - CSP     00040621094707122           Electric       Gov. Aggregation   FEOH - OE     08023458025000245982        Electric       Gov. Aggregation
AEP - CSP     00040621094734555           Electric       Gov. Aggregation   FEOH - OE     08025277480000804610        Electric       Gov. Aggregation
AEP - CSP     00040621094932901           Electric       Gov. Aggregation   FEOH - OE     08025278450001426180        Electric       Gov. Aggregation
AEP - CSP     00040621086034014           Electric       Gov. Aggregation   FEOH - OE     08025300370000791332        Electric       Gov. Aggregation
AEP - CSP     00040621086136065           Electric       Gov. Aggregation   FEOH - OE     08025340270001342548        Electric       Gov. Aggregation
AEP - CSP     00040621086263932           Electric       Gov. Aggregation   FEOH - OE     08025343570000804124        Electric       Gov. Aggregation
AEP - CSP     00040621086319784           Electric       Gov. Aggregation   FEOH - OE     08025344140000804084        Electric       Gov. Aggregation
AEP - CSP     00040621086470440           Electric       Gov. Aggregation   FEOH - OE     08025231860000791202        Electric       Gov. Aggregation
AEP - CSP     00040621086715705           Electric       Gov. Aggregation   FEOH - OE     08025235790000791261        Electric       Gov. Aggregation
AEP - CSP     00040621086824712           Electric       Gov. Aggregation   FEOH - OE     08025235940000791263        Electric       Gov. Aggregation
AEP - OP      00140060700439541           Electric       Gov. Aggregation   FEOH - OE     08025236550000791272        Electric       Gov. Aggregation
AEP - OP      00140060700476501           Electric       Gov. Aggregation   FEOH - OE     08025239390001549087        Electric       Gov. Aggregation
AEP - OP      00140060700728744           Electric       Gov. Aggregation   FEOH - OE     08025270160001368131        Electric       Gov. Aggregation
AEP - OP      00140060700733792           Electric       Gov. Aggregation   FEOH - OE     08025273480001564339        Electric       Gov. Aggregation
AEP - OP      00140060700753720           Electric       Gov. Aggregation   FEOH - OE     08024306030000790166        Electric       Gov. Aggregation
AEP - OP      00140060701031073           Electric       Gov. Aggregation   FEOH - OE     08024308800000803066        Electric       Gov. Aggregation
AEP - CSP     00040621097079870           Electric       Gov. Aggregation   FEOH - OE     08024368690000789132        Electric       Gov. Aggregation
AEP - CSP     00040621097136894           Electric       Gov. Aggregation   FEOH - OE     08024370700001571959        Electric       Gov. Aggregation
AEP - CSP     00040621097194571           Electric       Gov. Aggregation   FEOH - OE     08024373810000803151        Electric       Gov. Aggregation
AEP - CSP     00040621097205714           Electric       Gov. Aggregation   FEOH - OE     08024374270000782480        Electric       Gov. Aggregation
AEP - CSP     00040621097273663           Electric       Gov. Aggregation   FEOH - OE     08024375130000782492        Electric       Gov. Aggregation
AEP - CSP     00040621097519222           Electric       Gov. Aggregation   FEOH - OE     08023772710000788918        Electric       Gov. Aggregation
AEP - CSP     00040621097624670           Electric       Gov. Aggregation   FEOH - OE     08023773370000806152        Electric       Gov. Aggregation
AEP - CSP     00040621095192955           Electric       Gov. Aggregation   FEOH - OE     08023779260000789025        Electric       Gov. Aggregation
AEP - CSP     00040621095484343           Electric       Gov. Aggregation   FEOH - OE     08023781050000786662        Electric       Gov. Aggregation
AEP - CSP     00040621095650974           Electric       Gov. Aggregation   FEOH - OE     08023802230000844919        Electric       Gov. Aggregation
AEP - CSP     00040621095934331           Electric       Gov. Aggregation   FEOH - OE     08023818760001476158        Electric       Gov. Aggregation
AEP - CSP     00040621096058505           Electric       Gov. Aggregation   FEOH - OE     08023830100000792530        Electric       Gov. Aggregation
AEP - CSP     00040621096165201           Electric       Gov. Aggregation   FEOH - OE     08024844910000778541        Electric       Gov. Aggregation
AEP - CSP     00040621096319164           Electric       Gov. Aggregation   FEOH - OE     08024846430000778563        Electric       Gov. Aggregation
AEP - CSP     00040621086118184           Electric       Gov. Aggregation   FEOH - OE     08024849530000778605        Electric       Gov. Aggregation
AEP - CSP     00040621086269960           Electric       Gov. Aggregation   FEOH - OE     08024851630000803189        Electric       Gov. Aggregation
AEP - CSP     00040621086285325           Electric       Gov. Aggregation   FEOH - OE     08024851820001457675        Electric       Gov. Aggregation
AEP - CSP     00040621086570915           Electric       Gov. Aggregation   FEOH - OE     08024852820001423287        Electric       Gov. Aggregation
AEP - CSP     00040621086718611           Electric       Gov. Aggregation   FEOH - OE     08024853270000803198        Electric       Gov. Aggregation
AEP - CSP     00040621093047675           Electric       Gov. Aggregation   FEOH - OE     08023731780000844799        Electric       Gov. Aggregation
AEP - CSP     00040621093156004           Electric       Gov. Aggregation   FEOH - OE     08023731860000844800        Electric       Gov. Aggregation
AEP - CSP     00040621093296690           Electric       Gov. Aggregation   FEOH - OE     08023731930000844801        Electric       Gov. Aggregation
AEP - CSP     00040621093504192           Electric       Gov. Aggregation   FEOH - OE     08023734950000844836        Electric       Gov. Aggregation
AEP - CSP     00040621093774592           Electric       Gov. Aggregation   FEOH - OE     08023735340000844839        Electric       Gov. Aggregation
AEP - CSP     00040621093916444           Electric       Gov. Aggregation   FEOH - OE     08023737020000845176        Electric       Gov. Aggregation
AEP - CSP     00040621094256395           Electric       Gov. Aggregation   FEOH - OE     08023737550000844863        Electric       Gov. Aggregation
AEP - CSP     00040621098534694           Electric       Gov. Aggregation   FEOH - OE     08025388390000849317        Electric       Gov. Aggregation
AEP - CSP     00040621098559575           Electric       Gov. Aggregation   FEOH - OE     08025401910000803565        Electric       Gov. Aggregation
AEP - CSP     00040621098642224           Electric       Gov. Aggregation   FEOH - OE     08025411230001477329        Electric       Gov. Aggregation
AEP - CSP     00040621098647092           Electric       Gov. Aggregation   FEOH - OE     08025435180000848777        Electric       Gov. Aggregation
AEP - CSP     00040621098729834           Electric       Gov. Aggregation   FEOH - OE     08025436830000848800        Electric       Gov. Aggregation
AEP - CSP     00040621098754174           Electric       Gov. Aggregation   FEOH - OE     08025437900000848810        Electric       Gov. Aggregation
AEP - CSP     00040621098819872           Electric       Gov. Aggregation   FEOH - OE     08025450310001350179        Electric       Gov. Aggregation
AEP - OP      00140060701061154           Electric       Gov. Aggregation   FEOH - OE     08023496400000766118        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060701130335           Electric       Gov. Aggregation   FEOH - OE     08023498230000790519        Electric       Gov. Aggregation
AEP - OP      00140060701216151           Electric       Gov. Aggregation   FEOH - OE     08023500890000804889        Electric       Gov. Aggregation
AEP - OP      00140060701459322           Electric       Gov. Aggregation   FEOH - OE     08023501430001387130        Electric       Gov. Aggregation
AEP - OP      00140060701491575           Electric       Gov. Aggregation   FEOH - OE     08023505060000804950        Electric       Gov. Aggregation
AEP - OP      00140060701504895           Electric       Gov. Aggregation   FEOH - OE     08023507300000784762        Electric       Gov. Aggregation
AEP - OP      00140060701533720           Electric       Gov. Aggregation   FEOH - OE     08023507630000784767        Electric       Gov. Aggregation
AEP - CSP     00040621095124331           Electric       Gov. Aggregation   FEOH - OE     08025847860001043199        Electric       Gov. Aggregation
AEP - CSP     00040621095189674           Electric       Gov. Aggregation   FEOH - OE     08025984900001040728        Electric       Gov. Aggregation
AEP - CSP     00040621095386423           Electric       Gov. Aggregation   FEOH - OE     08026113720001419784        Electric       Gov. Aggregation
AEP - CSP     00040621095454892           Electric       Gov. Aggregation   FEOH - OE     08026126330001040397        Electric       Gov. Aggregation
AEP - CSP     00040621095725845           Electric       Gov. Aggregation   FEOH - OE     08026179830001442154        Electric       Gov. Aggregation
AEP - CSP     00040621095790735           Electric       Gov. Aggregation   FEOH - OE     08026193790001045256        Electric       Gov. Aggregation
AEP - CSP     00040621096029093           Electric       Gov. Aggregation   FEOH - OE     08026194370001040515        Electric       Gov. Aggregation
AEP - CSP     00040621097647984           Electric       Gov. Aggregation   FEOH - OE     08026194670001040519        Electric       Gov. Aggregation
AEP - CSP     00040621097678713           Electric       Gov. Aggregation   FEOH - OE     08026197510001040565        Electric       Gov. Aggregation
AEP - CSP     00040621097728194           Electric       Gov. Aggregation   FEOH - OE     08026241550001131318        Electric       Gov. Aggregation
AEP - CSP     00040621097733605           Electric       Gov. Aggregation   FEOH - OE     08026245740001131421        Electric       Gov. Aggregation
AEP - CSP     00040621097835911           Electric       Gov. Aggregation   FEOH - OE     08026254070001042604        Electric       Gov. Aggregation
AEP - CSP     00040621098104021           Electric       Gov. Aggregation   FEOH - OE     08026254070001042655        Electric       Gov. Aggregation
AEP - CSP     00040621098115944           Electric       Gov. Aggregation   FEOH - OE     08024375200000803171        Electric       Gov. Aggregation
AEP - CSP     00040621096529174           Electric       Gov. Aggregation   FEOH - OE     08024378460001471031        Electric       Gov. Aggregation
AEP - CSP     00040621096613241           Electric       Gov. Aggregation   FEOH - OE     08024395740001512599        Electric       Gov. Aggregation
AEP - CSP     00040621096634503           Electric       Gov. Aggregation   FEOH - OE     08024399100000790278        Electric       Gov. Aggregation
AEP - CSP     00040621096713435           Electric       Gov. Aggregation   FEOH - OE     08024404380000777823        Electric       Gov. Aggregation
AEP - CSP     00040621096752082           Electric       Gov. Aggregation   FEOH - OE     08024404450000777824        Electric       Gov. Aggregation
AEP - CSP     00040621096783932           Electric       Gov. Aggregation   FEOH - OE     08024853720001330719        Electric       Gov. Aggregation
AEP - CSP     00040621094315952           Electric       Gov. Aggregation   FEOH - OE     08024853870000791176        Electric       Gov. Aggregation
AEP - CSP     00040621094378194           Electric       Gov. Aggregation   FEOH - OE     08024855080000803225        Electric       Gov. Aggregation
AEP - CSP     00040621094469795           Electric       Gov. Aggregation   FEOH - OE     08024856010000803945        Electric       Gov. Aggregation
AEP - CSP     00040621094499562           Electric       Gov. Aggregation   FEOH - OE     08024856540000803955        Electric       Gov. Aggregation
AEP - CSP     00040621094534855           Electric       Gov. Aggregation   FEOH - OE     08024859710000804005        Electric       Gov. Aggregation
AEP - CSP     00040621094547345           Electric       Gov. Aggregation   FEOH - OE     08024911590000804031        Electric       Gov. Aggregation
AEP - CSP     00040621094570381           Electric       Gov. Aggregation   FEOH - OE     08025275030000804312        Electric       Gov. Aggregation
AEP - CSP     00040621096116364           Electric       Gov. Aggregation   FEOH - OE     08025275430000804317        Electric       Gov. Aggregation
AEP - CSP     00040621096295834           Electric       Gov. Aggregation   FEOH - OE     08025275480000804318        Electric       Gov. Aggregation
AEP - CSP     00040621096823644           Electric       Gov. Aggregation   FEOH - OE     08025276580000778225        Electric       Gov. Aggregation
AEP - CSP     00040621096864400           Electric       Gov. Aggregation   FEOH - OE     08025278960001465879        Electric       Gov. Aggregation
AEP - CSP     00040621096877231           Electric       Gov. Aggregation   FEOH - OE     08025284755000313158        Electric       Gov. Aggregation
AEP - CSP     00040621096931140           Electric       Gov. Aggregation   FEOH - OE     08026254070001042670        Electric       Gov. Aggregation
AEP - CSP     00040621086800003           Electric       Gov. Aggregation   FEOH - OE     08026254070001042689        Electric       Gov. Aggregation
AEP - CSP     00040621086932390           Electric       Gov. Aggregation   FEOH - OE     08026254070001042693        Electric       Gov. Aggregation
AEP - CSP     00040621087286594           Electric       Gov. Aggregation   FEOH - OE     08026254070001042700        Electric       Gov. Aggregation
AEP - CSP     00040621087306193           Electric       Gov. Aggregation   FEOH - OE     08026254070001042720        Electric       Gov. Aggregation
AEP - CSP     00040621087325032           Electric       Gov. Aggregation   FEOH - OE     08026254070001042744        Electric       Gov. Aggregation
AEP - CSP     00040621087337584           Electric       Gov. Aggregation   FEOH - OE     08026254070001042759        Electric       Gov. Aggregation
AEP - CSP     00040621087356752           Electric       Gov. Aggregation   FEOH - OE     08023507770000784769        Electric       Gov. Aggregation
AEP - CSP     00040621098844745           Electric       Gov. Aggregation   FEOH - OE     08023525050000844566        Electric       Gov. Aggregation
AEP - CSP     00040621098901652           Electric       Gov. Aggregation   FEOH - OE     08023530440000776758        Electric       Gov. Aggregation
AEP - CSP     00040621098961313           Electric       Gov. Aggregation   FEOH - OE     08023538150001381560        Electric       Gov. Aggregation
AEP - CSP     00040621099016963           Electric       Gov. Aggregation   FEOH - OE     08023555190000804842        Electric       Gov. Aggregation
AEP - CSP     00040621099019153           Electric       Gov. Aggregation   FEOH - OE     08023571590000766198        Electric       Gov. Aggregation
AEP - CSP     00040621099383561           Electric       Gov. Aggregation   FEOH - OE     08023591910000844665        Electric       Gov. Aggregation
AEP - CSP     00040621096893095           Electric       Gov. Aggregation   FEOH - OE     08025342380000804229        Electric       Gov. Aggregation
AEP - CSP     00040621096993264           Electric       Gov. Aggregation   FEOH - OE     08025345910000804253        Electric       Gov. Aggregation
AEP - CSP     00040621097043785           Electric       Gov. Aggregation   FEOH - OE     08025347540000804267        Electric       Gov. Aggregation
AEP - CSP     00040621097059584           Electric       Gov. Aggregation   FEOH - OE     08025348260000804275        Electric       Gov. Aggregation
AEP - CSP     00040621097299434           Electric       Gov. Aggregation   FEOH - OE     08025351655001442264        Electric       Gov. Aggregation
AEP - CSP     00040621097431930           Electric       Gov. Aggregation   FEOH - OE     08025410130001339595        Electric       Gov. Aggregation
AEP - OP      00140060701571972           Electric       Gov. Aggregation   FEOH - OE     08025410600000804302        Electric       Gov. Aggregation
AEP - OP      00140060701681110           Electric       Gov. Aggregation   FEOH - OE     08023592900001547142        Electric       Gov. Aggregation
AEP - OP      00140060701732843           Electric       Gov. Aggregation   FEOH - OE     08023595800000844335        Electric       Gov. Aggregation
AEP - OP      00140060701893480           Electric       Gov. Aggregation   FEOH - OE     08023596450000844712        Electric       Gov. Aggregation
AEP - OP      00140060701943230           Electric       Gov. Aggregation   FEOH - OE     08023596690000844727        Electric       Gov. Aggregation
AEP - OP      00140060702062105           Electric       Gov. Aggregation   FEOH - OE     08023597450000844720        Electric       Gov. Aggregation
AEP - OP      00140060702069033           Electric       Gov. Aggregation   FEOH - OE     08023598020000844744        Electric       Gov. Aggregation
AEP - CSP     00040621098172223           Electric       Gov. Aggregation   FEOH - OE     08023598640000844752        Electric       Gov. Aggregation
AEP - CSP     00040621098333173           Electric       Gov. Aggregation   FEOH - OE     08023743450000776742        Electric       Gov. Aggregation
AEP - CSP     00040621098552483           Electric       Gov. Aggregation   FEOH - OE     08023747540000776799        Electric       Gov. Aggregation
AEP - CSP     00040621098581281           Electric       Gov. Aggregation   FEOH - OE     08023748540000776813        Electric       Gov. Aggregation
AEP - CSP     00040621098672331           Electric       Gov. Aggregation   FEOH - OE     08023753730001495806        Electric       Gov. Aggregation
AEP - CSP     00040621098812713           Electric       Gov. Aggregation   FEOH - OE     08023760120000790307        Electric       Gov. Aggregation
AEP - CSP     00040621098819743           Electric       Gov. Aggregation   FEOH - OE     08023773170000788925        Electric       Gov. Aggregation
AEP - CSP     00040621094576943           Electric       Gov. Aggregation   FEOH - OE     08023774320000788941        Electric       Gov. Aggregation
AEP - CSP     00040621094794524           Electric       Gov. Aggregation   FEOH - OE     08023774850000806172        Electric       Gov. Aggregation
AEP - CSP     00040621094864143           Electric       Gov. Aggregation   FEOH - OE     08023775450000806180        Electric       Gov. Aggregation
AEP - CSP     00040621095040352           Electric       Gov. Aggregation   FEOH - OE     08023775900000806186        Electric       Gov. Aggregation
AEP - CSP     00040621095313902           Electric       Gov. Aggregation   FEOH - OE     08023776010000788967        Electric       Gov. Aggregation
AEP - CSP     00040621095344623           Electric       Gov. Aggregation   FEOH - OE     08023776610000788989        Electric       Gov. Aggregation
AEP - CSP     00040621095348674           Electric       Gov. Aggregation   FEOH - OE     08023776760000788974        Electric       Gov. Aggregation
AEP - CSP     00040621086865402           Electric       Gov. Aggregation   FEOH - OE     08023777070000806201        Electric       Gov. Aggregation
AEP - CSP     00040621086911270           Electric       Gov. Aggregation   FEOH - OE     08024911810000804036        Electric       Gov. Aggregation
AEP - CSP     00040621087033400           Electric       Gov. Aggregation   FEOH - OE     08024912680000804047        Electric       Gov. Aggregation
AEP - CSP     00040621087044745           Electric       Gov. Aggregation   FEOH - OE     08024914380000804068        Electric       Gov. Aggregation
AEP - CSP     00040621087083743           Electric       Gov. Aggregation   FEOH - OE     08024915610001503717        Electric       Gov. Aggregation
AEP - CSP     00040621087198513           Electric       Gov. Aggregation   FEOH - OE     08024916920001527261        Electric       Gov. Aggregation
AEP - CSP     00040621087231560           Electric       Gov. Aggregation   FEOH - OE     08024919430000804146        Electric       Gov. Aggregation
AEP - CSP     00040621087484134           Electric       Gov. Aggregation   FEOH - OE     08024919510000804147        Electric       Gov. Aggregation
AEP - CSP     00040621087497724           Electric       Gov. Aggregation   FEOH - OE     08023598645001362460        Electric       Gov. Aggregation
AEP - CSP     00040621087603754           Electric       Gov. Aggregation   FEOH - OE     08023600340000792356        Electric       Gov. Aggregation
AEP - CSP     00040621087817813           Electric       Gov. Aggregation   FEOH - OE     08023600900001477658        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621087981890           Electric       Gov. Aggregation   FEOH - OE     08023608210000792192        Electric       Gov. Aggregation
AEP - CSP     00040621088016564           Electric       Gov. Aggregation   FEOH - OE     08023609720000791122        Electric       Gov. Aggregation
AEP - CSP     00040621088042441           Electric       Gov. Aggregation   FEOH - OE     08023625670000792697        Electric       Gov. Aggregation
AEP - CSP     00040621097123712           Electric       Gov. Aggregation   FEOH - OE     08026254070001042773        Electric       Gov. Aggregation
AEP - CSP     00040621097187074           Electric       Gov. Aggregation   FEOH - OE     08026254070001042784        Electric       Gov. Aggregation
AEP - CSP     00040621097358531           Electric       Gov. Aggregation   FEOH - OE     08026254070001042794        Electric       Gov. Aggregation
AEP - CSP     00040621097376004           Electric       Gov. Aggregation   FEOH - OE     08026254070001042797        Electric       Gov. Aggregation
AEP - CSP     00040621097427861           Electric       Gov. Aggregation   FEOH - OE     08026254070001042798        Electric       Gov. Aggregation
AEP - CSP     00040621097517614           Electric       Gov. Aggregation   FEOH - OE     08026254070001042815        Electric       Gov. Aggregation
AEP - CSP     00040621095449091           Electric       Gov. Aggregation   FEOH - OE     08026254070001042820        Electric       Gov. Aggregation
AEP - CSP     00040621095646044           Electric       Gov. Aggregation   FEOH - OE     08023830510000792536        Electric       Gov. Aggregation
AEP - CSP     00040621095902345           Electric       Gov. Aggregation   FEOH - OE     08023830680000792539        Electric       Gov. Aggregation
AEP - CSP     00040621095922863           Electric       Gov. Aggregation   FEOH - OE     08023833150000792573        Electric       Gov. Aggregation
AEP - CSP     00040621095967644           Electric       Gov. Aggregation   FEOH - OE     08023834100000792587        Electric       Gov. Aggregation
AEP - CSP     00040621095998780           Electric       Gov. Aggregation   FEOH - OE     08023838390000792652        Electric       Gov. Aggregation
AEP - CSP     00040621096106484           Electric       Gov. Aggregation   FEOH - OE     08023841520000789058        Electric       Gov. Aggregation
AEP - CSP     00040621087403425           Electric       Gov. Aggregation   FEOH - OE     08023841730001539656        Electric       Gov. Aggregation
AEP - CSP     00040621087435071           Electric       Gov. Aggregation   FEOH - OE     08023777290000788996        Electric       Gov. Aggregation
AEP - CSP     00040621087442125           Electric       Gov. Aggregation   FEOH - OE     08023777310000806205        Electric       Gov. Aggregation
AEP - CSP     00040621087475814           Electric       Gov. Aggregation   FEOH - OE     08023801320000844910        Electric       Gov. Aggregation
AEP - CSP     00040621087597312           Electric       Gov. Aggregation   FEOH - OE     08023816820001301826        Electric       Gov. Aggregation
AEP - CSP     00040621097551693           Electric       Gov. Aggregation   FEOH - OE     08023818830001471432        Electric       Gov. Aggregation
AEP - CSP     00040621097869115           Electric       Gov. Aggregation   FEOH - OE     08023820470000790932        Electric       Gov. Aggregation
AEP - CSP     00040621097907610           Electric       Gov. Aggregation   FEOH - OE     08023820960000790938        Electric       Gov. Aggregation
AEP - CSP     00040621098085045           Electric       Gov. Aggregation   FEOH - OE     08025459620000809439        Electric       Gov. Aggregation
AEP - CSP     00040621098127911           Electric       Gov. Aggregation   FEOH - OE     08025459990000809444        Electric       Gov. Aggregation
AEP - CSP     00040621098309313           Electric       Gov. Aggregation   FEOH - OE     08025487020000804271        Electric       Gov. Aggregation
AEP - CSP     00040621096151202           Electric       Gov. Aggregation   FEOH - OE     08025502270000848860        Electric       Gov. Aggregation
AEP - CSP     00040621096201131           Electric       Gov. Aggregation   FEOH - OE     08025502340000848862        Electric       Gov. Aggregation
AEP - CSP     00040621096298450           Electric       Gov. Aggregation   FEOH - OE     08025508005001463304        Electric       Gov. Aggregation
AEP - CSP     00040621096363912           Electric       Gov. Aggregation   FEOH - OE     08025511280000809463        Electric       Gov. Aggregation
AEP - CSP     00040621096413440           Electric       Gov. Aggregation   FEOH - OE     08024923220001130502        Electric       Gov. Aggregation
AEP - CSP     00040621096808011           Electric       Gov. Aggregation   FEOH - OE     08024929890001424475        Electric       Gov. Aggregation
AEP - CSP     00040621096826031           Electric       Gov. Aggregation   FEOH - OE     08024951260000762719        Electric       Gov. Aggregation
AEP - CSP     00040621098941734           Electric       Gov. Aggregation   FEOH - OE     08024951360000762721        Electric       Gov. Aggregation
AEP - CSP     00040621098951341           Electric       Gov. Aggregation   FEOH - OE     08024952280000762736        Electric       Gov. Aggregation
AEP - CSP     00040621099008690           Electric       Gov. Aggregation   FEOH - OE     08024952400000762738        Electric       Gov. Aggregation
AEP - CSP     00040621099063892           Electric       Gov. Aggregation   FEOH - OE     08025516200000809547        Electric       Gov. Aggregation
AEP - CSP     00040621099098332           Electric       Gov. Aggregation   FEOH - OE     08025518280001387846        Electric       Gov. Aggregation
AEP - CSP     00040621099165990           Electric       Gov. Aggregation   FEOH - OE     08025560970000809574        Electric       Gov. Aggregation
AEP - CSP     00040621099303650           Electric       Gov. Aggregation   FEOH - OE     08025561180000809577        Electric       Gov. Aggregation
AEP - CSP     00040621097542291           Electric       Gov. Aggregation   FEOH - OE     08025568450001445105        Electric       Gov. Aggregation
AEP - CSP     00040621097548863           Electric       Gov. Aggregation   FEOH - OE     08025576350000848962        Electric       Gov. Aggregation
AEP - CSP     00040621097598442           Electric       Gov. Aggregation   FEOH - OE     08024404850000777831        Electric       Gov. Aggregation
AEP - CSP     00040621097668325           Electric       Gov. Aggregation   FEOH - OE     08024404910000777832        Electric       Gov. Aggregation
AEP - CSP     00040621097809445           Electric       Gov. Aggregation   FEOH - OE     08024409680000777904        Electric       Gov. Aggregation
AEP - CSP     00040621097875862           Electric       Gov. Aggregation   FEOH - OE     08024442570001487416        Electric       Gov. Aggregation
AEP - CSP     00040621097993543           Electric       Gov. Aggregation   FEOH - OE     08024443630001567278        Electric       Gov. Aggregation
AEP - CSP     00040621099483893           Electric       Gov. Aggregation   FEOH - OE     08024443700000803279        Electric       Gov. Aggregation
AEP - CSP     00040621099545230           Electric       Gov. Aggregation   FEOH - OE     08024445060000782642        Electric       Gov. Aggregation
AEP - CSP     00040621099724970           Electric       Gov. Aggregation   FEOH - OE     08026254070001042821        Electric       Gov. Aggregation
AEP - CSP     00040621099759093           Electric       Gov. Aggregation   FEOH - OE     08026261620001044127        Electric       Gov. Aggregation
AEP - CSP     00040621099766285           Electric       Gov. Aggregation   FEOH - OE     08026266470001044193        Electric       Gov. Aggregation
AEP - CSP     00040621099799795           Electric       Gov. Aggregation   FEOH - OE     08026268330001375015        Electric       Gov. Aggregation
AEP - CSP     00040621087727651           Electric       Gov. Aggregation   FEOH - OE     08026326300001044326        Electric       Gov. Aggregation
AEP - CSP     00040621087803552           Electric       Gov. Aggregation   FEOH - OE     08026326430001044328        Electric       Gov. Aggregation
AEP - CSP     00040621088089591           Electric       Gov. Aggregation   FEOH - OE     08026330720001044549        Electric       Gov. Aggregation
AEP - CSP     00040621088221472           Electric       Gov. Aggregation   FEOH - OE     08026334810001045338        Electric       Gov. Aggregation
AEP - CSP     00040621088362751           Electric       Gov. Aggregation   FEOH - OE     08026372170001128343        Electric       Gov. Aggregation
AEP - CSP     00040621088536073           Electric       Gov. Aggregation   FEOH - OE     08026372750001128350        Electric       Gov. Aggregation
AEP - CSP     00040621088780020           Electric       Gov. Aggregation   FEOH - OE     08026373710001128365        Electric       Gov. Aggregation
AEP - OP      00140060702179193           Electric       Gov. Aggregation   FEOH - OE     08026379670001127981        Electric       Gov. Aggregation
AEP - OP      00140060702211653           Electric       Gov. Aggregation   FEOH - OE     08026397950001044492        Electric       Gov. Aggregation
AEP - OP      00140060702360981           Electric       Gov. Aggregation   FEOH - OE     08026442100001128152        Electric       Gov. Aggregation
AEP - OP      00140060702416912           Electric       Gov. Aggregation   FEOH - OE     08023832310000792562        Electric       Gov. Aggregation
AEP - OP      00140060702458780           Electric       Gov. Aggregation   FEOH - OE     08023833230000792574        Electric       Gov. Aggregation
AEP - OP      00140060702508741           Electric       Gov. Aggregation   FEOH - OE     08023833690000780113        Electric       Gov. Aggregation
AEP - OP      00140060702520605           Electric       Gov. Aggregation   FEOH - OE     08023834640000792596        Electric       Gov. Aggregation
AEP - CSP     00040621098360550           Electric       Gov. Aggregation   FEOH - OE     08023835770000792614        Electric       Gov. Aggregation
AEP - CSP     00040621098370744           Electric       Gov. Aggregation   FEOH - OE     08023837610000792641        Electric       Gov. Aggregation
AEP - CSP     00040621098680544           Electric       Gov. Aggregation   FEOH - OE     08023837960000792646        Electric       Gov. Aggregation
AEP - CSP     00040621098687510           Electric       Gov. Aggregation   FEOH - OE     08023843510001302931        Electric       Gov. Aggregation
AEP - CSP     00040621098697193           Electric       Gov. Aggregation   FEOH - OE     08023843750000789093        Electric       Gov. Aggregation
AEP - CSP     00040621098714351           Electric       Gov. Aggregation   FEOH - OE     08023846580000789135        Electric       Gov. Aggregation
AEP - CSP     00040621099421335           Electric       Gov. Aggregation   FEOH - OE     08023848000001369530        Electric       Gov. Aggregation
AEP - CSP     00040621099462502           Electric       Gov. Aggregation   FEOH - OE     08023849830000789187        Electric       Gov. Aggregation
AEP - CSP     00040621099481424           Electric       Gov. Aggregation   FEOH - OE     08023849950000789189        Electric       Gov. Aggregation
AEP - CSP     00040621099490352           Electric       Gov. Aggregation   FEOH - OE     08023886750000767135        Electric       Gov. Aggregation
AEP - CSP     00040621099497460           Electric       Gov. Aggregation   FEOH - OE     08024981870000804185        Electric       Gov. Aggregation
AEP - CSP     00040621099500170           Electric       Gov. Aggregation   FEOH - OE     08024984090001348967        Electric       Gov. Aggregation
AEP - CSP     00040621099711702           Electric       Gov. Aggregation   FEOH - OE     08024984090001410639        Electric       Gov. Aggregation
AEP - OP      00140060702702614           Electric       Gov. Aggregation   FEOH - OE     08024985980000803258        Electric       Gov. Aggregation
AEP - OP      00140060702841724           Electric       Gov. Aggregation   FEOH - OE     08024988170000803584        Electric       Gov. Aggregation
AEP - OP      00140060703309061           Electric       Gov. Aggregation   FEOH - OE     08024989700000803882        Electric       Gov. Aggregation
AEP - OP      00140060703309581           Electric       Gov. Aggregation   FEOH - OE     08023625840000782662        Electric       Gov. Aggregation
AEP - OP      00140060703563744           Electric       Gov. Aggregation   FEOH - OE     08023633630001553296        Electric       Gov. Aggregation
AEP - OP      00140060703873865           Electric       Gov. Aggregation   FEOH - OE     08023661250001456013        Electric       Gov. Aggregation
AEP - CSP     00040621099725593           Electric       Gov. Aggregation   FEOH - OE     08023665280001548507        Electric       Gov. Aggregation
AEP - CSP     00040621099934970           Electric       Gov. Aggregation   FEOH - OE     08023665670001552663        Electric       Gov. Aggregation
AEP - CSP     00040621099949080           Electric       Gov. Aggregation   FEOH - OE     08023676410000792425        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621099952973           Electric       Gov. Aggregation   FEOH - OE     08023676620000792322        Electric       Gov. Aggregation
AEP - OP      00140060700107985           Electric       Gov. Aggregation   FEOH - OE     08025615260001392277        Electric       Gov. Aggregation
AEP - OP      00140060700131381           Electric       Gov. Aggregation   FEOH - OE     08025699170000844453        Electric       Gov. Aggregation
AEP - OP      00140060700162363           Electric       Gov. Aggregation   FEOH - OE     08025762390000844482        Electric       Gov. Aggregation
AEP - CSP     00040621088827383           Electric       Gov. Aggregation   FEOH - OE     08025777170001043045        Electric       Gov. Aggregation
AEP - CSP     00040621089061895           Electric       Gov. Aggregation   FEOH - OE     08025780320001535854        Electric       Gov. Aggregation
AEP - CSP     00040621089123921           Electric       Gov. Aggregation   FEOH - OE     08025841860001043116        Electric       Gov. Aggregation
AEP - CSP     00040621089124882           Electric       Gov. Aggregation   FEOH - OE     08025842110001043119        Electric       Gov. Aggregation
AEP - CSP     00040621089294273           Electric       Gov. Aggregation   FEOH - OE     08025412350000804978        Electric       Gov. Aggregation
AEP - CSP     00040621089302423           Electric       Gov. Aggregation   FEOH - OE     08025433720000848762        Electric       Gov. Aggregation
AEP - CSP     00040621098931462           Electric       Gov. Aggregation   FEOH - OE     08025436690000848797        Electric       Gov. Aggregation
AEP - CSP     00040621098987323           Electric       Gov. Aggregation   FEOH - OE     08025450370001345290        Electric       Gov. Aggregation
AEP - CSP     00040621099244040           Electric       Gov. Aggregation   FEOH - OE     08025459460000809437        Electric       Gov. Aggregation
AEP - CSP     00040621099316523           Electric       Gov. Aggregation   FEOH - OE     08025502110001362011        Electric       Gov. Aggregation
AEP - CSP     00040621099396405           Electric       Gov. Aggregation   FEOH - OE     08025502150000848859        Electric       Gov. Aggregation
AEP - CSP     00040621099552350           Electric       Gov. Aggregation   FEOH - OE     08026443780001128176        Electric       Gov. Aggregation
AEP - CSP     00040621099841063           Electric       Gov. Aggregation   FEOH - OE     08026443990001389231        Electric       Gov. Aggregation
AEP - CSP     00040621099854875           Electric       Gov. Aggregation   FEOH - OE     08026444060001128179        Electric       Gov. Aggregation
AEP - CSP     00040621099881195           Electric       Gov. Aggregation   FEOH - OE     08026465510001044597        Electric       Gov. Aggregation
AEP - OP      00140060700007750           Electric       Gov. Aggregation   FEOH - OE     08026465900001044603        Electric       Gov. Aggregation
AEP - OP      00140060700045822           Electric       Gov. Aggregation   FEOH - OE     08026496650001128405        Electric       Gov. Aggregation
AEP - OP      00140060700126313           Electric       Gov. Aggregation   FEOH - OE     08026511440001143132        Electric       Gov. Aggregation
AEP - OP      00140060700187703           Electric       Gov. Aggregation   FEOH - OE     08024445720000806117        Electric       Gov. Aggregation
AEP - CSP     00040621096851193           Electric       Gov. Aggregation   FEOH - OE     08024446200000789154        Electric       Gov. Aggregation
AEP - CSP     00040621096920103           Electric       Gov. Aggregation   FEOH - OE     08024446440000803316        Electric       Gov. Aggregation
AEP - CSP     00040621097123940           Electric       Gov. Aggregation   FEOH - OE     08024448810000782690        Electric       Gov. Aggregation
AEP - CSP     00040621097125245           Electric       Gov. Aggregation   FEOH - OE     08024449180000803348        Electric       Gov. Aggregation
AEP - CSP     00040621097135455           Electric       Gov. Aggregation   FEOH - OE     08024460810000790301        Electric       Gov. Aggregation
AEP - CSP     00040621097186384           Electric       Gov. Aggregation   FEOH - OE     08024464440000790354        Electric       Gov. Aggregation
AEP - CSP     00040621097246855           Electric       Gov. Aggregation   FEOH - OE     08023838100000792648        Electric       Gov. Aggregation
AEP - OP      00140060700249655           Electric       Gov. Aggregation   FEOH - OE     08023839240000792663        Electric       Gov. Aggregation
AEP - OP      00140060700302320           Electric       Gov. Aggregation   FEOH - OE     08023839480000792666        Electric       Gov. Aggregation
AEP - OP      00140060700364755           Electric       Gov. Aggregation   FEOH - OE     08023840470000789044        Electric       Gov. Aggregation
AEP - OP      00140060700404465           Electric       Gov. Aggregation   FEOH - OE     08023840540000789045        Electric       Gov. Aggregation
AEP - OP      00140060700454845           Electric       Gov. Aggregation   FEOH - OE     08023840920000789049        Electric       Gov. Aggregation
AEP - OP      00140060700540710           Electric       Gov. Aggregation   FEOH - OE     08023841370000789056        Electric       Gov. Aggregation
AEP - OP      00140060703905630           Electric       Gov. Aggregation   FEOH - OE     08023889275000251517        Electric       Gov. Aggregation
AEP - OP      00140060704122644           Electric       Gov. Aggregation   FEOH - OE     08023900880000792686        Electric       Gov. Aggregation
AEP - OP      00140060704138105           Electric       Gov. Aggregation   FEOH - OE     08023902000000792704        Electric       Gov. Aggregation
AEP - OP      00140060704172840           Electric       Gov. Aggregation   FEOH - OE     08023906950000776784        Electric       Gov. Aggregation
AEP - OP      00140060704184285           Electric       Gov. Aggregation   FEOH - OE     08023910730000789200        Electric       Gov. Aggregation
AEP - OP      00140060704216991           Electric       Gov. Aggregation   FEOH - OE     08023911690000789216        Electric       Gov. Aggregation
AEP - OP      00140060704245722           Electric       Gov. Aggregation   FEOH - OE     08023912710000789231        Electric       Gov. Aggregation
AEP - CSP     00040621098114375           Electric       Gov. Aggregation   FEOH - OE     08025003580000778741        Electric       Gov. Aggregation
AEP - CSP     00040621098616762           Electric       Gov. Aggregation   FEOH - OE     08025004100000778750        Electric       Gov. Aggregation
AEP - CSP     00040621098772303           Electric       Gov. Aggregation   FEOH - OE     08025005820000778774        Electric       Gov. Aggregation
AEP - CSP     00040621098826275           Electric       Gov. Aggregation   FEOH - OE     08025006340000778781        Electric       Gov. Aggregation
AEP - CSP     00040621098919014           Electric       Gov. Aggregation   FEOH - OE     08025006750000778780        Electric       Gov. Aggregation
AEP - CSP     00040621098939801           Electric       Gov. Aggregation   FEOH - OE     08025006750000778787        Electric       Gov. Aggregation
AEP - CSP     00040621099001200           Electric       Gov. Aggregation   FEOH - OE     08025009110000778823        Electric       Gov. Aggregation
AEP - CSP     00040621088411603           Electric       Gov. Aggregation   FEOH - OE     08025846600001043182        Electric       Gov. Aggregation
AEP - CSP     00040621088681572           Electric       Gov. Aggregation   FEOH - OE     08025847600001043195        Electric       Gov. Aggregation
AEP - CSP     00040621088807792           Electric       Gov. Aggregation   FEOH - OE     08025967260001044790        Electric       Gov. Aggregation
AEP - CSP     00040621088901820           Electric       Gov. Aggregation   FEOH - OE     08025982580001040697        Electric       Gov. Aggregation
AEP - CSP     00040621088931765           Electric       Gov. Aggregation   FEOH - OE     08025982740001040699        Electric       Gov. Aggregation
AEP - CSP     00040621089026385           Electric       Gov. Aggregation   FEOH - OE     08025984350001040721        Electric       Gov. Aggregation
AEP - CSP     00040621089044891           Electric       Gov. Aggregation   FEOH - OE     08025985260001042376        Electric       Gov. Aggregation
AEP - CSP     00040621099706521           Electric       Gov. Aggregation   FEOH - OE     08025513305000018926        Electric       Gov. Aggregation
AEP - CSP     00040621099779692           Electric       Gov. Aggregation   FEOH - OE     08025514490000809518        Electric       Gov. Aggregation
AEP - CSP     00040621099815532           Electric       Gov. Aggregation   FEOH - OE     08025517670001343850        Electric       Gov. Aggregation
AEP - CSP     00040621099859154           Electric       Gov. Aggregation   FEOH - OE     08025518350001392017        Electric       Gov. Aggregation
AEP - CSP     00040621099891704           Electric       Gov. Aggregation   FEOH - OE     08025577240000848973        Electric       Gov. Aggregation
AEP - CSP     00040621099907085           Electric       Gov. Aggregation   FEOH - OE     08025647680001505933        Electric       Gov. Aggregation
AEP - CSP     00040621099913901           Electric       Gov. Aggregation   FEOH - OE     08025710140001343038        Electric       Gov. Aggregation
AEP - CSP     00040621099270554           Electric       Gov. Aggregation   FEOH - OE     08023681580001466813        Electric       Gov. Aggregation
AEP - CSP     00040621099595902           Electric       Gov. Aggregation   FEOH - OE     08023682370001486486        Electric       Gov. Aggregation
AEP - CSP     00040621099607815           Electric       Gov. Aggregation   FEOH - OE     08023702880000788772        Electric       Gov. Aggregation
AEP - CSP     00040621099609983           Electric       Gov. Aggregation   FEOH - OE     08023704920000788802        Electric       Gov. Aggregation
AEP - CSP     00040621099615634           Electric       Gov. Aggregation   FEOH - OE     08023707990000806072        Electric       Gov. Aggregation
AEP - CSP     00040621099727771           Electric       Gov. Aggregation   FEOH - OE     08023708710000806079        Electric       Gov. Aggregation
AEP - OP      00140060700282043           Electric       Gov. Aggregation   FEOH - OE     08023731670000845178        Electric       Gov. Aggregation
AEP - OP      00140060700342771           Electric       Gov. Aggregation   FEOH - OE     08026514400001128180        Electric       Gov. Aggregation
AEP - OP      00140060700344593           Electric       Gov. Aggregation   FEOH - OE     08026515710001129507        Electric       Gov. Aggregation
AEP - OP      00140060700462101           Electric       Gov. Aggregation   FEOH - OE     08026516130001129512        Electric       Gov. Aggregation
AEP - OP      00140060700621775           Electric       Gov. Aggregation   FEOH - OE     08026516620001129517        Electric       Gov. Aggregation
AEP - OP      00140060700767945           Electric       Gov. Aggregation   FEOH - OE     08026517800001129533        Electric       Gov. Aggregation
AEP - OP      00140060700778073           Electric       Gov. Aggregation   FEOH - OE     08026530250001129835        Electric       Gov. Aggregation
AEP - OP      00140060704252902           Electric       Gov. Aggregation   FEOH - OE     08026537870001130413        Electric       Gov. Aggregation
AEP - OP      00140060704318291           Electric       Gov. Aggregation   FEOH - OE     08024464810000778865        Electric       Gov. Aggregation
AEP - OP      00140060704348191           Electric       Gov. Aggregation   FEOH - OE     08024466290001302135        Electric       Gov. Aggregation
AEP - OP      00140060704407300           Electric       Gov. Aggregation   FEOH - OE     08024467830000790401        Electric       Gov. Aggregation
AEP - OP      00140060704432043           Electric       Gov. Aggregation   FEOH - OE     08024468040000790403        Electric       Gov. Aggregation
AEP - OP      00140060704543650           Electric       Gov. Aggregation   FEOH - OE     08024512800001360386        Electric       Gov. Aggregation
AEP - CSP     00040621089450082           Electric       Gov. Aggregation   FEOH - OE     08024513230000803412        Electric       Gov. Aggregation
AEP - CSP     00040621089496175           Electric       Gov. Aggregation   FEOH - OE     08024514040000803425        Electric       Gov. Aggregation
AEP - CSP     00040621089557023           Electric       Gov. Aggregation   FEOH - OE     08023842180001556894        Electric       Gov. Aggregation
AEP - CSP     00040621089699641           Electric       Gov. Aggregation   FEOH - OE     08023845290000789116        Electric       Gov. Aggregation
AEP - CSP     00040621089804301           Electric       Gov. Aggregation   FEOH - OE     08023845640001446584        Electric       Gov. Aggregation
AEP - CSP     00040621089984061           Electric       Gov. Aggregation   FEOH - OE     08023847000000789141        Electric       Gov. Aggregation
AEP - CSP     00040621097279125           Electric       Gov. Aggregation   FEOH - OE     08023847230000789146        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621097374594           Electric       Gov. Aggregation   FEOH - OE     08023847510000789149        Electric       Gov. Aggregation
AEP - CSP     00040621097423280           Electric       Gov. Aggregation   FEOH - OE     08023890520001473516        Electric       Gov. Aggregation
AEP - CSP     00040621097564192           Electric       Gov. Aggregation   FEOH - OE     08023915680000789277        Electric       Gov. Aggregation
AEP - CSP     00040621097770595           Electric       Gov. Aggregation   FEOH - OE     08023954470000790298        Electric       Gov. Aggregation
AEP - CSP     00040621098060215           Electric       Gov. Aggregation   FEOH - OE     08023958990000803949        Electric       Gov. Aggregation
AEP - OP      00140060700588905           Electric       Gov. Aggregation   FEOH - OE     08024027440000791807        Electric       Gov. Aggregation
AEP - OP      00140060700629474           Electric       Gov. Aggregation   FEOH - OE     08024050520000791481        Electric       Gov. Aggregation
AEP - OP      00140060700642504           Electric       Gov. Aggregation   FEOH - OE     08024052880000841401        Electric       Gov. Aggregation
AEP - OP      00140060700649404           Electric       Gov. Aggregation   FEOH - OE     08024095450000804424        Electric       Gov. Aggregation
AEP - OP      00140060700832292           Electric       Gov. Aggregation   FEOH - OE     08025987840001040770        Electric       Gov. Aggregation
AEP - OP      00140060700859641           Electric       Gov. Aggregation   FEOH - OE     08025988730001311505        Electric       Gov. Aggregation
AEP - OP      00140060700866025           Electric       Gov. Aggregation   FEOH - OE     08026058880001370570        Electric       Gov. Aggregation
AEP - CSP     00040621099949602           Electric       Gov. Aggregation   FEOH - OE     08026111530001131159        Electric       Gov. Aggregation
AEP - OP      00140060700016344           Electric       Gov. Aggregation   FEOH - OE     08026125740001040391        Electric       Gov. Aggregation
AEP - OP      00140060700200580           Electric       Gov. Aggregation   FEOH - OE     08026127470001042511        Electric       Gov. Aggregation
AEP - OP      00140060700341660           Electric       Gov. Aggregation   FEOH - OE     08026190400001040468        Electric       Gov. Aggregation
AEP - OP      00140060700562044           Electric       Gov. Aggregation   FEOH - OE     08025009660000778832        Electric       Gov. Aggregation
AEP - OP      00140060700597273           Electric       Gov. Aggregation   FEOH - OE     08025010990000765235        Electric       Gov. Aggregation
AEP - OP      00140060700617620           Electric       Gov. Aggregation   FEOH - OE     08025021930001504824        Electric       Gov. Aggregation
AEP - CSP     00040621089049691           Electric       Gov. Aggregation   FEOH - OE     08025022120000790736        Electric       Gov. Aggregation
AEP - CSP     00040621089096680           Electric       Gov. Aggregation   FEOH - OE     08025027550001300056        Electric       Gov. Aggregation
AEP - CSP     00040621089138822           Electric       Gov. Aggregation   FEOH - OE     08025029170000790850        Electric       Gov. Aggregation
AEP - CSP     00040621089501550           Electric       Gov. Aggregation   FEOH - OE     08025061250000803905        Electric       Gov. Aggregation
AEP - CSP     00040621089667053           Electric       Gov. Aggregation   FEOH - OE     08025726990000790759        Electric       Gov. Aggregation
AEP - CSP     00040621089785731           Electric       Gov. Aggregation   FEOH - OE     08025744260001043422        Electric       Gov. Aggregation
AEP - CSP     00040621099788625           Electric       Gov. Aggregation   FEOH - OE     08025764430000844505        Electric       Gov. Aggregation
AEP - CSP     00040621099808364           Electric       Gov. Aggregation   FEOH - OE     08025770190001042901        Electric       Gov. Aggregation
AEP - CSP     00040621099955804           Electric       Gov. Aggregation   FEOH - OE     08025842960001043130        Electric       Gov. Aggregation
AEP - CSP     00040621099962193           Electric       Gov. Aggregation   FEOH - OE     08025844170001130910        Electric       Gov. Aggregation
AEP - CSP     00040621099974251           Electric       Gov. Aggregation   FEOH - OE     08025850030001457558        Electric       Gov. Aggregation
AEP - OP      00140060700014363           Electric       Gov. Aggregation   FEOH - OE     08023733400001321391        Electric       Gov. Aggregation
AEP - OP      00140060700065201           Electric       Gov. Aggregation   FEOH - OE     08023734330000844824        Electric       Gov. Aggregation
AEP - OP      00140060700873404           Electric       Gov. Aggregation   FEOH - OE     08023735670000844842        Electric       Gov. Aggregation
AEP - OP      00140060700882901           Electric       Gov. Aggregation   FEOH - OE     08023739800000844894        Electric       Gov. Aggregation
AEP - OP      00140060700899844           Electric       Gov. Aggregation   FEOH - OE     08023742030000776723        Electric       Gov. Aggregation
AEP - OP      00140060700935525           Electric       Gov. Aggregation   FEOH - OE     08023745340000776767        Electric       Gov. Aggregation
AEP - OP      00140060700939520           Electric       Gov. Aggregation   FEOH - OE     08023745700000776773        Electric       Gov. Aggregation
AEP - OP      00140060701036121           Electric       Gov. Aggregation   FEOH - OE     08024515600000803447        Electric       Gov. Aggregation
AEP - OP      00140060701049142           Electric       Gov. Aggregation   FEOH - OE     08024518770000782859        Electric       Gov. Aggregation
AEP - OP      00140060704611073           Electric       Gov. Aggregation   FEOH - OE     08024519460000782871        Electric       Gov. Aggregation
AEP - OP      00140060704719563           Electric       Gov. Aggregation   FEOH - OE     08024532110000790459        Electric       Gov. Aggregation
AEP - OP      00140060704794575           Electric       Gov. Aggregation   FEOH - OE     08024534620000790497        Electric       Gov. Aggregation
AEP - OP      00140060704804234           Electric       Gov. Aggregation   FEOH - OE     08024534970000790503        Electric       Gov. Aggregation
AEP - OP      00140060704852344           Electric       Gov. Aggregation   FEOH - OE     08024535740000790514        Electric       Gov. Aggregation
AEP - OP      00140060704970871           Electric       Gov. Aggregation   FEOH - OE     08024099760000788793        Electric       Gov. Aggregation
AEP - CSP     00040621098224212           Electric       Gov. Aggregation   FEOH - OE     08024129670000791610        Electric       Gov. Aggregation
AEP - CSP     00040621098245510           Electric       Gov. Aggregation   FEOH - OE     08024149010001368124        Electric       Gov. Aggregation
AEP - CSP     00040621098283490           Electric       Gov. Aggregation   FEOH - OE     08024167060000784474        Electric       Gov. Aggregation
AEP - CSP     00040621098289900           Electric       Gov. Aggregation   FEOH - OE     08024167220000783821        Electric       Gov. Aggregation
AEP - CSP     00040621098351353           Electric       Gov. Aggregation   FEOH - OE     08024190360000789868        Electric       Gov. Aggregation
AEP - CSP     00040621098508494           Electric       Gov. Aggregation   FEOH - OE     08024192400000791802        Electric       Gov. Aggregation
AEP - CSP     00040621098554644           Electric       Gov. Aggregation   FEOH - OE     08023891120001506725        Electric       Gov. Aggregation
AEP - CSP     00040621090031855           Electric       Gov. Aggregation   FEOH - OE     08023902120000792706        Electric       Gov. Aggregation
AEP - CSP     00040621090052214           Electric       Gov. Aggregation   FEOH - OE     08023902390000806074        Electric       Gov. Aggregation
AEP - CSP     00040621090179021           Electric       Gov. Aggregation   FEOH - OE     08023905665000150042        Electric       Gov. Aggregation
AEP - CSP     00040621090187762           Electric       Gov. Aggregation   FEOH - OE     08023907750001468349        Electric       Gov. Aggregation
AEP - CSP     00040621090260944           Electric       Gov. Aggregation   FEOH - OE     08023907820001418261        Electric       Gov. Aggregation
AEP - CSP     00040621090332445           Electric       Gov. Aggregation   FEOH - OE     08023908280001425946        Electric       Gov. Aggregation
AEP - CSP     00040621090349522           Electric       Gov. Aggregation   FEOH - OE     08024536270000790521        Electric       Gov. Aggregation
AEP - OP      00140060700900242           Electric       Gov. Aggregation   FEOH - OE     08024536490000790524        Electric       Gov. Aggregation
AEP - OP      00140060701050434           Electric       Gov. Aggregation   FEOH - OE     08024539020000786299        Electric       Gov. Aggregation
AEP - OP      00140060701162645           Electric       Gov. Aggregation   FEOH - OE     08024539310000786302        Electric       Gov. Aggregation
AEP - OP      00140060701271700           Electric       Gov. Aggregation   FEOH - OE     08024551040000778075        Electric       Gov. Aggregation
AEP - OP      00140060701354190           Electric       Gov. Aggregation   FEOH - OE     08024554035000362532        Electric       Gov. Aggregation
AEP - OP      00140060701625110           Electric       Gov. Aggregation   FEOH - OE     08024554880000778126        Electric       Gov. Aggregation
AEP - OP      00140060701628651           Electric       Gov. Aggregation   FEOH - OE     08025985560001045617        Electric       Gov. Aggregation
AEP - OP      00140060700621822           Electric       Gov. Aggregation   FEOH - OE     08026049820001042080        Electric       Gov. Aggregation
AEP - OP      00140060700629665           Electric       Gov. Aggregation   FEOH - OE     08026050430001332988        Electric       Gov. Aggregation
AEP - OP      00140060700720284           Electric       Gov. Aggregation   FEOH - OE     08026102600001044434        Electric       Gov. Aggregation
AEP - OP      00140060700949495           Electric       Gov. Aggregation   FEOH - OE     08026114570001131228        Electric       Gov. Aggregation
AEP - OP      00140060701014180           Electric       Gov. Aggregation   FEOH - OE     08026190680001041470        Electric       Gov. Aggregation
AEP - OP      00140060701089155           Electric       Gov. Aggregation   FEOH - OE     08024220670000776778        Electric       Gov. Aggregation
AEP - OP      00140060701450043           Electric       Gov. Aggregation   FEOH - OE     08024221610000767126        Electric       Gov. Aggregation
AEP - OP      00140060700076533           Electric       Gov. Aggregation   FEOH - OE     08024227960000792548        Electric       Gov. Aggregation
AEP - OP      00140060700294272           Electric       Gov. Aggregation   FEOH - OE     08024238530000791254        Electric       Gov. Aggregation
AEP - OP      00140060700351582           Electric       Gov. Aggregation   FEOH - OE     08024259100000806191        Electric       Gov. Aggregation
AEP - OP      00140060700413930           Electric       Gov. Aggregation   FEOH - OE     08024293975000331515        Electric       Gov. Aggregation
AEP - OP      00140060700664730           Electric       Gov. Aggregation   FEOH - OE     08024293975000331519        Electric       Gov. Aggregation
AEP - OP      00140060700739351           Electric       Gov. Aggregation   FEOH - OE     08025061500000803909        Electric       Gov. Aggregation
AEP - OP      00140060700755191           Electric       Gov. Aggregation   FEOH - OE     08025062150000803918        Electric       Gov. Aggregation
AEP - OP      00140060701143671           Electric       Gov. Aggregation   FEOH - OE     08025063020000804340        Electric       Gov. Aggregation
AEP - OP      00140060701152095           Electric       Gov. Aggregation   FEOH - OE     08025069960000804437        Electric       Gov. Aggregation
AEP - OP      00140060701181375           Electric       Gov. Aggregation   FEOH - OE     08025077305000087220        Electric       Gov. Aggregation
AEP - OP      00140060701272985           Electric       Gov. Aggregation   FEOH - OE     08025093670001415820        Electric       Gov. Aggregation
AEP - OP      00140060701364530           Electric       Gov. Aggregation   FEOH - OE     08026566560001127681        Electric       Gov. Aggregation
AEP - OP      00140060701379815           Electric       Gov. Aggregation   FEOH - OE     08026581800001129590        Electric       Gov. Aggregation
AEP - OP      00140060701423685           Electric       Gov. Aggregation   FEOH - OE     08026588250001129681        Electric       Gov. Aggregation
AEP - CSP     00040621089956541           Electric       Gov. Aggregation   FEOH - OE     08026589030001129483        Electric       Gov. Aggregation
AEP - CSP     00040621090248880           Electric       Gov. Aggregation   FEOH - OE     08026589610001129699        Electric       Gov. Aggregation
AEP - CSP     00040621090312213           Electric       Gov. Aggregation   FEOH - OE     08026591370001044820        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621090503450           Electric       Gov. Aggregation   FEOH - OE     08026651930001378634        Electric       Gov. Aggregation
AEP - CSP     00040621090506255           Electric       Gov. Aggregation   FEOH - OE     08023908920001459206        Electric       Gov. Aggregation
AEP - CSP     00040621090573653           Electric       Gov. Aggregation   FEOH - OE     08023914510000789259        Electric       Gov. Aggregation
AEP - CSP     00040621098600252           Electric       Gov. Aggregation   FEOH - OE     08023915620000789276        Electric       Gov. Aggregation
AEP - CSP     00040621098810134           Electric       Gov. Aggregation   FEOH - OE     08023916140001545926        Electric       Gov. Aggregation
AEP - CSP     00040621098828754           Electric       Gov. Aggregation   FEOH - OE     08024003260000767137        Electric       Gov. Aggregation
AEP - CSP     00040621098919214           Electric       Gov. Aggregation   FEOH - OE     08024004340000767149        Electric       Gov. Aggregation
AEP - CSP     00040621098947551           Electric       Gov. Aggregation   FEOH - OE     08024054570000792582        Electric       Gov. Aggregation
AEP - CSP     00040621098962402           Electric       Gov. Aggregation   FEOH - OE     08024293975000331521        Electric       Gov. Aggregation
AEP - CSP     00040621099003004           Electric       Gov. Aggregation   FEOH - OE     08024293975000331530        Electric       Gov. Aggregation
AEP - OP      00140060705006175           Electric       Gov. Aggregation   FEOH - OE     08024293975000331560        Electric       Gov. Aggregation
AEP - OP      00140060705194235           Electric       Gov. Aggregation   FEOH - OE     08024293975000331570        Electric       Gov. Aggregation
AEP - OP      00140060705316694           Electric       Gov. Aggregation   FEOH - OE     08024293975000331571        Electric       Gov. Aggregation
AEP - OP      00140060705399564           Electric       Gov. Aggregation   FEOH - OE     08024293975000331572        Electric       Gov. Aggregation
AEP - OP      00140060705469985           Electric       Gov. Aggregation   FEOH - OE     08024302055000374738        Electric       Gov. Aggregation
AEP - OP      00140060705526135           Electric       Gov. Aggregation   FEOH - OE     08023750430001534163        Electric       Gov. Aggregation
AEP - OP      00140060705552910           Electric       Gov. Aggregation   FEOH - OE     08023775640000788960        Electric       Gov. Aggregation
AEP - OP      00140060701665862           Electric       Gov. Aggregation   FEOH - OE     08023775910000788964        Electric       Gov. Aggregation
AEP - OP      00140060701670362           Electric       Gov. Aggregation   FEOH - OE     08023778540000789015        Electric       Gov. Aggregation
AEP - OP      00140060701702070           Electric       Gov. Aggregation   FEOH - OE     08023778750000789018        Electric       Gov. Aggregation
AEP - OP      00140060701907300           Electric       Gov. Aggregation   FEOH - OE     08023800840000844903        Electric       Gov. Aggregation
AEP - OP      00140060702051570           Electric       Gov. Aggregation   FEOH - OE     08023815810001304452        Electric       Gov. Aggregation
AEP - OP      00140060702082670           Electric       Gov. Aggregation   FEOH - OE     08026191990001040526        Electric       Gov. Aggregation
AEP - OP      00140060702236104           Electric       Gov. Aggregation   FEOH - OE     08026193680001130457        Electric       Gov. Aggregation
AEP - OP      00140060701566695           Electric       Gov. Aggregation   FEOH - OE     08026242440001131363        Electric       Gov. Aggregation
AEP - OP      00140060701618364           Electric       Gov. Aggregation   FEOH - OE     08026242440001131364        Electric       Gov. Aggregation
AEP - OP      00140060701679422           Electric       Gov. Aggregation   FEOH - OE     08026243430001131379        Electric       Gov. Aggregation
AEP - OP      00140060701719380           Electric       Gov. Aggregation   FEOH - OE     08026254070001042590        Electric       Gov. Aggregation
AEP - OP      00140060701724702           Electric       Gov. Aggregation   FEOH - OE     08026254070001042605        Electric       Gov. Aggregation
AEP - OP      00140060701960571           Electric       Gov. Aggregation   FEOH - OE     08025094240000841274        Electric       Gov. Aggregation
AEP - OP      00140060702076934           Electric       Gov. Aggregation   FEOH - OE     08025095200000790944        Electric       Gov. Aggregation
AEP - CSP     00040621090368023           Electric       Gov. Aggregation   FEOH - OE     08025096650000790966        Electric       Gov. Aggregation
AEP - CSP     00040621090443143           Electric       Gov. Aggregation   FEOH - OE     08025099730000791012        Electric       Gov. Aggregation
AEP - CSP     00040621090516465           Electric       Gov. Aggregation   FEOH - OE     08025130300000804442        Electric       Gov. Aggregation
AEP - CSP     00040621090606400           Electric       Gov. Aggregation   FEOH - OE     08025134060000804494        Electric       Gov. Aggregation
AEP - CSP     00040621090631172           Electric       Gov. Aggregation   FEOH - OE     08025135070000804509        Electric       Gov. Aggregation
AEP - CSP     00040621090637971           Electric       Gov. Aggregation   FEOH - OE     08026197890001040570        Electric       Gov. Aggregation
AEP - CSP     00040621090776884           Electric       Gov. Aggregation   FEOH - OE     08026211980001399897        Electric       Gov. Aggregation
AEP - OP      00140060700757743           Electric       Gov. Aggregation   FEOH - OE     08026240570001131297        Electric       Gov. Aggregation
AEP - OP      00140060700855232           Electric       Gov. Aggregation   FEOH - OE     08026254070001042597        Electric       Gov. Aggregation
AEP - OP      00140060700906800           Electric       Gov. Aggregation   FEOH - OE     08026254070001042615        Electric       Gov. Aggregation
AEP - OP      00140060700950545           Electric       Gov. Aggregation   FEOH - OE     08026254070001042630        Electric       Gov. Aggregation
AEP - OP      00140060700991981           Electric       Gov. Aggregation   FEOH - OE     08026254070001042640        Electric       Gov. Aggregation
AEP - OP      00140060701110022           Electric       Gov. Aggregation   FEOH - OE     08026652860001143153        Electric       Gov. Aggregation
AEP - CSP     00040621090666742           Electric       Gov. Aggregation   FEOH - OE     08026654400001143164        Electric       Gov. Aggregation
AEP - CSP     00040621090674883           Electric       Gov. Aggregation   FEOH - OE     08026654570001129770        Electric       Gov. Aggregation
AEP - CSP     00040621090678004           Electric       Gov. Aggregation   FEOH - OE     08026661140001521401        Electric       Gov. Aggregation
AEP - CSP     00040621090748821           Electric       Gov. Aggregation   FEOH - OE     08026664000001338042        Electric       Gov. Aggregation
AEP - CSP     00040621090778670           Electric       Gov. Aggregation   FEOH - OE     08026666430001045226        Electric       Gov. Aggregation
AEP - CSP     00040621090841291           Electric       Gov. Aggregation   FEOH - OE     08026669220001130048        Electric       Gov. Aggregation
AEP - CSP     00040621090949361           Electric       Gov. Aggregation   FEOH - OE     08026254070001042634        Electric       Gov. Aggregation
AEP - CSP     00040621099009135           Electric       Gov. Aggregation   FEOH - OE     08026254070001042654        Electric       Gov. Aggregation
AEP - CSP     00040621099274953           Electric       Gov. Aggregation   FEOH - OE     08026254070001042657        Electric       Gov. Aggregation
AEP - CSP     00040621099289302           Electric       Gov. Aggregation   FEOH - OE     08026254070001042663        Electric       Gov. Aggregation
AEP - CSP     00040621099396900           Electric       Gov. Aggregation   FEOH - OE     08026254070001042681        Electric       Gov. Aggregation
AEP - CSP     00040621099450941           Electric       Gov. Aggregation   FEOH - OE     08026254070001042716        Electric       Gov. Aggregation
AEP - CSP     00040621099650181           Electric       Gov. Aggregation   FEOH - OE     08026254070001042723        Electric       Gov. Aggregation
AEP - OP      00140060701703711           Electric       Gov. Aggregation   FEOH - OE     08024092150001318965        Electric       Gov. Aggregation
AEP - OP      00140060701752632           Electric       Gov. Aggregation   FEOH - OE     08024121280000784276        Electric       Gov. Aggregation
AEP - OP      00140060701815570           Electric       Gov. Aggregation   FEOH - OE     08024125100000790746        Electric       Gov. Aggregation
AEP - OP      00140060701867250           Electric       Gov. Aggregation   FEOH - OE     08024140190000776822        Electric       Gov. Aggregation
AEP - OP      00140060701980871           Electric       Gov. Aggregation   FEOH - OE     08024142730001345856        Electric       Gov. Aggregation
AEP - OP      00140060701992795           Electric       Gov. Aggregation   FEOH - OE     08024160150000806052        Electric       Gov. Aggregation
AEP - OP      00140060702019035           Electric       Gov. Aggregation   FEOH - OE     08024160330000762744        Electric       Gov. Aggregation
AEP - OP      00140060705670243           Electric       Gov. Aggregation   FEOH - OE     08024555310000778133        Electric       Gov. Aggregation
AEP - OP      00140060705672915           Electric       Gov. Aggregation   FEOH - OE     08024555550000778137        Electric       Gov. Aggregation
AEP - OP      00140060705740471           Electric       Gov. Aggregation   FEOH - OE     08024576030000803691        Electric       Gov. Aggregation
AEP - OP      00140060705775943           Electric       Gov. Aggregation   FEOH - OE     08024577770000803629        Electric       Gov. Aggregation
AEP - OP      00140060705788113           Electric       Gov. Aggregation   FEOH - OE     08024600940000791124        Electric       Gov. Aggregation
AEP - OP      00140060702253195           Electric       Gov. Aggregation   FEOH - OE     08024603290000791706        Electric       Gov. Aggregation
AEP - OP      00140060702266354           Electric       Gov. Aggregation   FEOH - OE     08024603550001495035        Electric       Gov. Aggregation
AEP - OP      00140060702393063           Electric       Gov. Aggregation   FEOH - OE     08025161080000791034        Electric       Gov. Aggregation
AEP - OP      00140060702431510           Electric       Gov. Aggregation   FEOH - OE     08025162040000791049        Electric       Gov. Aggregation
AEP - OP      00140060702465112           Electric       Gov. Aggregation   FEOH - OE     08025164180000791084        Electric       Gov. Aggregation
AEP - OP      00140060702509864           Electric       Gov. Aggregation   FEOH - OE     08025164690000791091        Electric       Gov. Aggregation
AEP - OP      00140060702675231           Electric       Gov. Aggregation   FEOH - OE     08025169000000791160        Electric       Gov. Aggregation
AEP - OP      00140060702156223           Electric       Gov. Aggregation   FEOH - OE     08025216600000788749        Electric       Gov. Aggregation
AEP - OP      00140060702161765           Electric       Gov. Aggregation   FEOH - OE     08025230180000791178        Electric       Gov. Aggregation
AEP - OP      00140060702307470           Electric       Gov. Aggregation   FEOH - OE     08026254070001042660        Electric       Gov. Aggregation
AEP - OP      00140060702315595           Electric       Gov. Aggregation   FEOH - OE     08026254070001042674        Electric       Gov. Aggregation
AEP - OP      00140060702351901           Electric       Gov. Aggregation   FEOH - OE     08026254070001042676        Electric       Gov. Aggregation
AEP - OP      00140060702355080           Electric       Gov. Aggregation   FEOH - OE     08026254070001042680        Electric       Gov. Aggregation
AEP - OP      00140060702370314           Electric       Gov. Aggregation   FEOH - OE     08026254070001042736        Electric       Gov. Aggregation
AEP - CSP     00040621090860394           Electric       Gov. Aggregation   FEOH - OE     08026254070001042755        Electric       Gov. Aggregation
AEP - CSP     00040621090944612           Electric       Gov. Aggregation   FEOH - OE     08026254070001042762        Electric       Gov. Aggregation
AEP - CSP     00040621090945874           Electric       Gov. Aggregation   FEOH - OE     08026720620001045236        Electric       Gov. Aggregation
AEP - CSP     00040621090991453           Electric       Gov. Aggregation   FEOH - OE     08026738120001042326        Electric       Gov. Aggregation
AEP - CSP     00040621091041174           Electric       Gov. Aggregation   FEOH - OE     08026763200001128064        Electric       Gov. Aggregation
AEP - CSP     00040621091229320           Electric       Gov. Aggregation   FEOH - OE     08026792590001130023        Electric       Gov. Aggregation
AEP - CSP     00040621091241191           Electric       Gov. Aggregation   FEOH - OE     08026794560001127772        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621091202245           Electric       Gov. Aggregation   FEOH - OE     08026838060001044759        Electric       Gov. Aggregation
AEP - CSP     00040621091252004           Electric       Gov. Aggregation   FEOH - OE     08026838900001129544        Electric       Gov. Aggregation
AEP - CSP     00040621091333063           Electric       Gov. Aggregation   FEOH - OE     08026254070001042741        Electric       Gov. Aggregation
AEP - CSP     00040621091343974           Electric       Gov. Aggregation   FEOH - OE     08026254070001042747        Electric       Gov. Aggregation
AEP - CSP     00040621091594252           Electric       Gov. Aggregation   FEOH - OE     08026254070001042757        Electric       Gov. Aggregation
AEP - CSP     00040621091631391           Electric       Gov. Aggregation   FEOH - OE     08026254070001042763        Electric       Gov. Aggregation
AEP - CSP     00040621092020955           Electric       Gov. Aggregation   FEOH - OE     08026254070001042767        Electric       Gov. Aggregation
AEP - CSP     00040621099785663           Electric       Gov. Aggregation   FEOH - OE     08026254070001042800        Electric       Gov. Aggregation
AEP - CSP     00040621099894754           Electric       Gov. Aggregation   FEOH - OE     08026254070001042810        Electric       Gov. Aggregation
AEP - CSP     00040621099926452           Electric       Gov. Aggregation   FEOH - OE     08024191700001301339        Electric       Gov. Aggregation
AEP - OP      00140060700010413           Electric       Gov. Aggregation   FEOH - OE     08024193540000784669        Electric       Gov. Aggregation
AEP - OP      00140060700326530           Electric       Gov. Aggregation   FEOH - OE     08024193750001342465        Electric       Gov. Aggregation
AEP - OP      00140060700371734           Electric       Gov. Aggregation   FEOH - OE     08024193860001342908        Electric       Gov. Aggregation
AEP - OP      00140060700552580           Electric       Gov. Aggregation   FEOH - OE     08024199290000786375        Electric       Gov. Aggregation
AEP - OP      00140060701142070           Electric       Gov. Aggregation   FEOH - OE     08024223140000790566        Electric       Gov. Aggregation
AEP - OP      00140060701196502           Electric       Gov. Aggregation   FEOH - OE     08024232570000790286        Electric       Gov. Aggregation
AEP - OP      00140060701297214           Electric       Gov. Aggregation   FEOH - OE     08023815980000849162        Electric       Gov. Aggregation
AEP - OP      00140060701353785           Electric       Gov. Aggregation   FEOH - OE     08023816570001503604        Electric       Gov. Aggregation
AEP - OP      00140060701414920           Electric       Gov. Aggregation   FEOH - OE     08023826850000784627        Electric       Gov. Aggregation
AEP - OP      00140060701446541           Electric       Gov. Aggregation   FEOH - OE     08023831480000792551        Electric       Gov. Aggregation
AEP - OP      00140060705860063           Electric       Gov. Aggregation   FEOH - OE     08023833320000792576        Electric       Gov. Aggregation
AEP - OP      00140060705928751           Electric       Gov. Aggregation   FEOH - OE     08023833460000792578        Electric       Gov. Aggregation
AEP - OP      00140060705930223           Electric       Gov. Aggregation   FEOH - OE     08023833960000792585        Electric       Gov. Aggregation
AEP - OP      00140060706022555           Electric       Gov. Aggregation   FEOH - OE     08024603810000765248        Electric       Gov. Aggregation
AEP - OP      00140060706062980           Electric       Gov. Aggregation   FEOH - OE     08024631860000778224        Electric       Gov. Aggregation
AEP - OP      00140060706081685           Electric       Gov. Aggregation   FEOH - OE     08024635305000021439        Electric       Gov. Aggregation
AEP - OP      00140060702067333           Electric       Gov. Aggregation   FEOH - OE     08024640160000803662        Electric       Gov. Aggregation
AEP - OP      00140060702098511           Electric       Gov. Aggregation   FEOH - OE     08024642490000803693        Electric       Gov. Aggregation
AEP - OP      00140060702492885           Electric       Gov. Aggregation   FEOH - OE     08024646500000783778        Electric       Gov. Aggregation
AEP - OP      00140060702630934           Electric       Gov. Aggregation   FEOH - OE     08024648810000783811        Electric       Gov. Aggregation
AEP - OP      00140060702705384           Electric       Gov. Aggregation   FEOH - OE     08026254070001042783        Electric       Gov. Aggregation
AEP - OP      00140060702739235           Electric       Gov. Aggregation   FEOH - OE     08026254070001042793        Electric       Gov. Aggregation
AEP - OP      00140060702786842           Electric       Gov. Aggregation   FEOH - OE     08026254070001042825        Electric       Gov. Aggregation
AEP - OP      00140060702543544           Electric       Gov. Aggregation   FEOH - OE     08026254075000075165        Electric       Gov. Aggregation
AEP - OP      00140060702638334           Electric       Gov. Aggregation   FEOH - OE     08026265500001044179        Electric       Gov. Aggregation
AEP - OP      00140060702661360           Electric       Gov. Aggregation   FEOH - OE     08026268250001044218        Electric       Gov. Aggregation
AEP - OP      00140060702684084           Electric       Gov. Aggregation   FEOH - OE     08026320760001044251        Electric       Gov. Aggregation
AEP - OP      00140060702762072           Electric       Gov. Aggregation   FEOH - OE     08025234600000791241        Electric       Gov. Aggregation
AEP - OP      00140060702873183           Electric       Gov. Aggregation   FEOH - OE     08025236080000791265        Electric       Gov. Aggregation
AEP - OP      00140060702897684           Electric       Gov. Aggregation   FEOH - OE     08025236720001372490        Electric       Gov. Aggregation
AEP - OP      00140060702989834           Electric       Gov. Aggregation   FEOH - OE     08025236920000791277        Electric       Gov. Aggregation
AEP - OP      00140060703058671           Electric       Gov. Aggregation   FEOH - OE     08025238800000791306        Electric       Gov. Aggregation
AEP - OP      00140060703087275           Electric       Gov. Aggregation   FEOH - OE     08025239010000791310        Electric       Gov. Aggregation
AEP - OP      00140060703298552           Electric       Gov. Aggregation   FEOH - OE     08025271550001515150        Electric       Gov. Aggregation
AEP - OP      00140060703325721           Electric       Gov. Aggregation   FEOH - OE     08024236700000786387        Electric       Gov. Aggregation
AEP - OP      00140060703341854           Electric       Gov. Aggregation   FEOH - OE     08024239870000802922        Electric       Gov. Aggregation
AEP - OP      00140060703359134           Electric       Gov. Aggregation   FEOH - OE     08024255495000300452        Electric       Gov. Aggregation
AEP - CSP     00040621092318304           Electric       Gov. Aggregation   FEOH - OE     08024290120000791232        Electric       Gov. Aggregation
AEP - CSP     00040621092334500           Electric       Gov. Aggregation   FEOH - OE     08024293975000331512        Electric       Gov. Aggregation
AEP - CSP     00040621092389000           Electric       Gov. Aggregation   FEOH - OE     08024293975000331516        Electric       Gov. Aggregation
AEP - CSP     00040621092416394           Electric       Gov. Aggregation   FEOH - OE     08024293975000331534        Electric       Gov. Aggregation
AEP - CSP     00040621092423844           Electric       Gov. Aggregation   FEOH - OE     08024303360000778467        Electric       Gov. Aggregation
AEP - CSP     00040621092451200           Electric       Gov. Aggregation   FEOH - OE     08024304500000802996        Electric       Gov. Aggregation
AEP - OP      00140060700616085           Electric       Gov. Aggregation   FEOH - OE     08024305000001324505        Electric       Gov. Aggregation
AEP - OP      00140060700652654           Electric       Gov. Aggregation   FEOH - OE     08024309740001312050        Electric       Gov. Aggregation
AEP - OP      00140060700687834           Electric       Gov. Aggregation   FEOH - OE     08024309810000803082        Electric       Gov. Aggregation
AEP - OP      00140060700747654           Electric       Gov. Aggregation   FEOH - OE     08024309930000789118        Electric       Gov. Aggregation
AEP - OP      00140060700818653           Electric       Gov. Aggregation   FEOH - OE     08024336920001351011        Electric       Gov. Aggregation
AEP - OP      00140060700832532           Electric       Gov. Aggregation   FEOH - OE     08026882510001043885        Electric       Gov. Aggregation
AEP - OP      00140060700951531           Electric       Gov. Aggregation   FEOH - OE     08026940570001045670        Electric       Gov. Aggregation
AEP - OP      00140060706167773           Electric       Gov. Aggregation   FEOH - OE     08026943300001045701        Electric       Gov. Aggregation
AEP - OP      00140060706214715           Electric       Gov. Aggregation   FEOH - OE     08026943690001572759        Electric       Gov. Aggregation
AEP - OP      00140060706293674           Electric       Gov. Aggregation   FEOH - OE     08026944240001045714        Electric       Gov. Aggregation
AEP - OP      00140060706338342           Electric       Gov. Aggregation   FEOH - OE     08027006960001127483        Electric       Gov. Aggregation
AEP - OP      00140060706340634           Electric       Gov. Aggregation   FEOH - OE     08027009480001131106        Electric       Gov. Aggregation
AEP - OP      00140060706342123           Electric       Gov. Aggregation   FEOH - OE     08023835890000792616        Electric       Gov. Aggregation
AEP - OP      00140060706383810           Electric       Gov. Aggregation   FEOH - OE     08023838720000792656        Electric       Gov. Aggregation
AEP - CSP     00040621091314485           Electric       Gov. Aggregation   FEOH - OE     08023839250000788821        Electric       Gov. Aggregation
AEP - CSP     00040621091368823           Electric       Gov. Aggregation   FEOH - OE     08023839980000792674        Electric       Gov. Aggregation
AEP - CSP     00040621091524341           Electric       Gov. Aggregation   FEOH - OE     08023841200001438660        Electric       Gov. Aggregation
AEP - CSP     00040621091627900           Electric       Gov. Aggregation   FEOH - OE     08023842540000789076        Electric       Gov. Aggregation
AEP - CSP     00040621091659795           Electric       Gov. Aggregation   FEOH - OE     08023843090000806302        Electric       Gov. Aggregation
AEP - CSP     00040621091697823           Electric       Gov. Aggregation   FEOH - OE     08024649980000803807        Electric       Gov. Aggregation
AEP - CSP     00040621091748511           Electric       Gov. Aggregation   FEOH - OE     08024671740000784407        Electric       Gov. Aggregation
AEP - OP      00140060701564912           Electric       Gov. Aggregation   FEOH - OE     08024672490000786497        Electric       Gov. Aggregation
AEP - OP      00140060701605945           Electric       Gov. Aggregation   FEOH - OE     08024672840000788788        Electric       Gov. Aggregation
AEP - OP      00140060701675662           Electric       Gov. Aggregation   FEOH - OE     08024672980000786503        Electric       Gov. Aggregation
AEP - OP      00140060701740780           Electric       Gov. Aggregation   FEOH - OE     08024673670000786514        Electric       Gov. Aggregation
AEP - OP      00140060701767483           Electric       Gov. Aggregation   FEOH - OE     08024674710000841400        Electric       Gov. Aggregation
AEP - OP      00140060701777332           Electric       Gov. Aggregation   FEOH - OE     08026262250001044135        Electric       Gov. Aggregation
AEP - OP      00140060701826475           Electric       Gov. Aggregation   FEOH - OE     08026264410001044164        Electric       Gov. Aggregation
AEP - OP      00140060702829792           Electric       Gov. Aggregation   FEOH - OE     08026265110001044174        Electric       Gov. Aggregation
AEP - OP      00140060702973930           Electric       Gov. Aggregation   FEOH - OE     08026266070001044188        Electric       Gov. Aggregation
AEP - OP      00140060702990812           Electric       Gov. Aggregation   FEOH - OE     08026266600001044195        Electric       Gov. Aggregation
AEP - OP      00140060703012274           Electric       Gov. Aggregation   FEOH - OE     08026266750001044197        Electric       Gov. Aggregation
AEP - OP      00140060703057045           Electric       Gov. Aggregation   FEOH - OE     08026283140001142839        Electric       Gov. Aggregation
AEP - OP      00140060703150892           Electric       Gov. Aggregation   FEOH - OE     08026324450001044303        Electric       Gov. Aggregation
AEP - OP      00140060703163600           Electric       Gov. Aggregation   FEOH - OE     08026325340001044315        Electric       Gov. Aggregation
AEP - OP      00140060703441842           Electric       Gov. Aggregation   FEOH - OE     08026329410001045708        Electric       Gov. Aggregation
AEP - OP      00140060703528920           Electric       Gov. Aggregation   FEOH - OE     08026339130001130298        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060703548893           Electric       Gov. Aggregation   FEOH - OE     08026371990001128341        Electric       Gov. Aggregation
AEP - OP      00140060703659541           Electric       Gov. Aggregation   FEOH - OE     08026373940001128368        Electric       Gov. Aggregation
AEP - OP      00140060703724610           Electric       Gov. Aggregation   FEOH - OE     08026378170001128244        Electric       Gov. Aggregation
AEP - OP      00140060703824692           Electric       Gov. Aggregation   FEOH - OE     08024293975000331541        Electric       Gov. Aggregation
AEP - OP      00140060703859841           Electric       Gov. Aggregation   FEOH - OE     08024293975000331552        Electric       Gov. Aggregation
AEP - CSP     00040621092457512           Electric       Gov. Aggregation   FEOH - OE     08024293975000331557        Electric       Gov. Aggregation
AEP - CSP     00040621092710285           Electric       Gov. Aggregation   FEOH - OE     08024293975000331569        Electric       Gov. Aggregation
AEP - CSP     00040621092935922           Electric       Gov. Aggregation   FEOH - OE     08024294500000790182        Electric       Gov. Aggregation
AEP - CSP     00040621093361512           Electric       Gov. Aggregation   FEOH - OE     08024300320000802927        Electric       Gov. Aggregation
AEP - CSP     00040621093373591           Electric       Gov. Aggregation   FEOH - OE     08024306140000803022        Electric       Gov. Aggregation
AEP - CSP     00040621093410532           Electric       Gov. Aggregation   FEOH - OE     08024338410000777757        Electric       Gov. Aggregation
AEP - CSP     00040621093469753           Electric       Gov. Aggregation   FEOH - OE     08024366360001354080        Electric       Gov. Aggregation
AEP - OP      00140060706560001           Electric       Gov. Aggregation   FEOH - OE     08024372610001554934        Electric       Gov. Aggregation
AEP - OP      00140060706747660           Electric       Gov. Aggregation   FEOH - OE     08024373020000805514        Electric       Gov. Aggregation
AEP - OP      00140060706781200           Electric       Gov. Aggregation   FEOH - OE     08024373270000803141        Electric       Gov. Aggregation
AEP - OP      00140060706804993           Electric       Gov. Aggregation   FEOH - OE     08024374900000782489        Electric       Gov. Aggregation
AEP - OP      00140060706809432           Electric       Gov. Aggregation   FEOH - OE     08024374970000782490        Electric       Gov. Aggregation
AEP - OP      00140060706880170           Electric       Gov. Aggregation   FEOH - OE     08027016990001127943        Electric       Gov. Aggregation
AEP - OP      00140060701121742           Electric       Gov. Aggregation   FEOH - OE     08027060090001127527        Electric       Gov. Aggregation
AEP - OP      00140060701128122           Electric       Gov. Aggregation   FEOH - OE     08027065000001127602        Electric       Gov. Aggregation
AEP - OP      00140060701153960           Electric       Gov. Aggregation   FEOH - OE     08027065360001127611        Electric       Gov. Aggregation
AEP - OP      00140060701189632           Electric       Gov. Aggregation   FEOH - OE     08027066960001127626        Electric       Gov. Aggregation
AEP - OP      00140060701196142           Electric       Gov. Aggregation   FEOH - OE     08027087570001041811        Electric       Gov. Aggregation
AEP - OP      00140060701198650           Electric       Gov. Aggregation   FEOH - OE     08027133670001127715        Electric       Gov. Aggregation
AEP - OP      00140060701207391           Electric       Gov. Aggregation   FEOH - OE     08023845730000789123        Electric       Gov. Aggregation
AEP - CSP     00040621091867744           Electric       Gov. Aggregation   FEOH - OE     08023846870000789139        Electric       Gov. Aggregation
AEP - CSP     00040621091870441           Electric       Gov. Aggregation   FEOH - OE     08023879750000849701        Electric       Gov. Aggregation
AEP - CSP     00040621092033653           Electric       Gov. Aggregation   FEOH - OE     08023900050000792675        Electric       Gov. Aggregation
AEP - CSP     00040621092261715           Electric       Gov. Aggregation   FEOH - OE     08023900970000778084        Electric       Gov. Aggregation
AEP - CSP     00040621092297112           Electric       Gov. Aggregation   FEOH - OE     08023901170000792690        Electric       Gov. Aggregation
AEP - CSP     00040621092381993           Electric       Gov. Aggregation   FEOH - OE     08023901490000792698        Electric       Gov. Aggregation
AEP - CSP     00040621092485141           Electric       Gov. Aggregation   FEOH - OE     08024706810000778382        Electric       Gov. Aggregation
AEP - OP      00140060701830033           Electric       Gov. Aggregation   FEOH - OE     08024713040000803850        Electric       Gov. Aggregation
AEP - OP      00140060701849313           Electric       Gov. Aggregation   FEOH - OE     08024716630000803925        Electric       Gov. Aggregation
AEP - OP      00140060702272253           Electric       Gov. Aggregation   FEOH - OE     08024717920001337492        Electric       Gov. Aggregation
AEP - OP      00140060702538304           Electric       Gov. Aggregation   FEOH - OE     08024739490000791195        Electric       Gov. Aggregation
AEP - OP      00140060702575543           Electric       Gov. Aggregation   FEOH - OE     08024740800000786628        Electric       Gov. Aggregation
AEP - OP      00140060702607053           Electric       Gov. Aggregation   FEOH - OE     08024742400000786443        Electric       Gov. Aggregation
AEP - OP      00140060702936405           Electric       Gov. Aggregation   FEOH - OE     08026312690001131235        Electric       Gov. Aggregation
AEP - OP      00140060703079541           Electric       Gov. Aggregation   FEOH - OE     08026314440001128334        Electric       Gov. Aggregation
AEP - OP      00140060703238431           Electric       Gov. Aggregation   FEOH - OE     08026321240001044258        Electric       Gov. Aggregation
AEP - OP      00140060703380191           Electric       Gov. Aggregation   FEOH - OE     08026322350001044273        Electric       Gov. Aggregation
AEP - OP      00140060703506195           Electric       Gov. Aggregation   FEOH - OE     08026322840001044281        Electric       Gov. Aggregation
AEP - OP      00140060703514092           Electric       Gov. Aggregation   FEOH - OE     08026327020001044335        Electric       Gov. Aggregation
AEP - OP      00140060703617701           Electric       Gov. Aggregation   FEOH - OE     08026394650001131267        Electric       Gov. Aggregation
AEP - OP      00140060703878794           Electric       Gov. Aggregation   FEOH - OE     08026395970001044463        Electric       Gov. Aggregation
AEP - OP      00140060704080572           Electric       Gov. Aggregation   FEOH - OE     08026396480001044471        Electric       Gov. Aggregation
AEP - OP      00140060704173064           Electric       Gov. Aggregation   FEOH - OE     08026396540001044472        Electric       Gov. Aggregation
AEP - OP      00140060704337210           Electric       Gov. Aggregation   FEOH - OE     08026440040001128270        Electric       Gov. Aggregation
AEP - OP      00140060704475283           Electric       Gov. Aggregation   FEOH - OE     08026441970001128150        Electric       Gov. Aggregation
AEP - OP      00140060704526191           Electric       Gov. Aggregation   FEOH - OE     08026463840001044575        Electric       Gov. Aggregation
AEP - OP      00140060704543683           Electric       Gov. Aggregation   FEOH - OE     08024307330000803041        Electric       Gov. Aggregation
AEP - CSP     00040621093709100           Electric       Gov. Aggregation   FEOH - OE     08024308760000803065        Electric       Gov. Aggregation
AEP - CSP     00040621093726072           Electric       Gov. Aggregation   FEOH - OE     08024319250000805468        Electric       Gov. Aggregation
AEP - CSP     00040621093757703           Electric       Gov. Aggregation   FEOH - OE     08024336560001498563        Electric       Gov. Aggregation
AEP - CSP     00040621093833272           Electric       Gov. Aggregation   FEOH - OE     08024374340000803160        Electric       Gov. Aggregation
AEP - CSP     00040621093952913           Electric       Gov. Aggregation   FEOH - OE     08024376480001510403        Electric       Gov. Aggregation
AEP - CSP     00040621094232484           Electric       Gov. Aggregation   FEOH - OE     08024377360000782524        Electric       Gov. Aggregation
AEP - OP      00140060703168081           Electric       Gov. Aggregation   FEOH - OE     08023906170001337285        Electric       Gov. Aggregation
AEP - OP      00140060703232940           Electric       Gov. Aggregation   FEOH - OE     08023909080001404100        Electric       Gov. Aggregation
AEP - OP      00140060703281512           Electric       Gov. Aggregation   FEOH - OE     08023911790000789218        Electric       Gov. Aggregation
AEP - OP      00140060703356475           Electric       Gov. Aggregation   FEOH - OE     08023912090000789222        Electric       Gov. Aggregation
AEP - OP      00140060703391671           Electric       Gov. Aggregation   FEOH - OE     08023912180000789223        Electric       Gov. Aggregation
AEP - OP      00140060703463172           Electric       Gov. Aggregation   FEOH - OE     08023912470000789228        Electric       Gov. Aggregation
AEP - OP      00140060703478052           Electric       Gov. Aggregation   FEOH - OE     08023913370000789241        Electric       Gov. Aggregation
AEP - OP      00140060706923963           Electric       Gov. Aggregation   FEOH - OE     08024778280000778447        Electric       Gov. Aggregation
AEP - OP      00140060706987830           Electric       Gov. Aggregation   FEOH - OE     08024781480001348416        Electric       Gov. Aggregation
AEP - OP      00140060707037743           Electric       Gov. Aggregation   FEOH - OE     08024781550001348535        Electric       Gov. Aggregation
AEP - OP      00140060707321444           Electric       Gov. Aggregation   FEOH - OE     08024784120001376039        Electric       Gov. Aggregation
AEP - OP      00140060707360955           Electric       Gov. Aggregation   FEOH - OE     08024784570001378506        Electric       Gov. Aggregation
AEP - OP      00140060707412763           Electric       Gov. Aggregation   FEOH - OE     08024812430000786825        Electric       Gov. Aggregation
AEP - OP      00140060701421163           Electric       Gov. Aggregation   FEOH - OE     08024813630000786837        Electric       Gov. Aggregation
AEP - OP      00140060701461111           Electric       Gov. Aggregation   FEOH - OE     08024377870001326439        Electric       Gov. Aggregation
AEP - OP      00140060701492285           Electric       Gov. Aggregation   FEOH - OE     08024378190001350280        Electric       Gov. Aggregation
AEP - OP      00140060701541690           Electric       Gov. Aggregation   FEOH - OE     08024378980001367057        Electric       Gov. Aggregation
AEP - OP      00140060701620114           Electric       Gov. Aggregation   FEOH - OE     08024399380000790281        Electric       Gov. Aggregation
AEP - OP      00140060701675793           Electric       Gov. Aggregation   FEOH - OE     08024403285000233446        Electric       Gov. Aggregation
AEP - OP      00140060701735131           Electric       Gov. Aggregation   FEOH - OE     08024403830000777816        Electric       Gov. Aggregation
AEP - CSP     00040621092637423           Electric       Gov. Aggregation   FEOH - OE     08024404780000777830        Electric       Gov. Aggregation
AEP - CSP     00040621092671253           Electric       Gov. Aggregation   FEOH - OE     08026513220001129464        Electric       Gov. Aggregation
AEP - CSP     00040621092772420           Electric       Gov. Aggregation   FEOH - OE     08026514280001143133        Electric       Gov. Aggregation
AEP - CSP     00040621092884301           Electric       Gov. Aggregation   FEOH - OE     08026516060001129511        Electric       Gov. Aggregation
AEP - CSP     00040621092930980           Electric       Gov. Aggregation   FEOH - OE     08026533970001130215        Electric       Gov. Aggregation
AEP - CSP     00040621093104201           Electric       Gov. Aggregation   FEOH - OE     08026536720001044750        Electric       Gov. Aggregation
AEP - CSP     00040621093393131           Electric       Gov. Aggregation   FEOH - OE     08026538590001044775        Electric       Gov. Aggregation
AEP - OP      00140060702632623           Electric       Gov. Aggregation   FEOH - OE     08026561000001142195        Electric       Gov. Aggregation
AEP - OP      00140060702681891           Electric       Gov. Aggregation   FEOH - OE     08025272270001542298        Electric       Gov. Aggregation
AEP - OP      00140060702749001           Electric       Gov. Aggregation   FEOH - OE     08025277280001389003        Electric       Gov. Aggregation
AEP - OP      00140060702751972           Electric       Gov. Aggregation   FEOH - OE     08025277480000804611        Electric       Gov. Aggregation
AEP - OP      00140060702792163           Electric       Gov. Aggregation   FEOH - OE     08025277630001400800        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060702834605           Electric       Gov. Aggregation   FEOH - OE     08025278490001426798        Electric       Gov. Aggregation
AEP - OP      00140060702839025           Electric       Gov. Aggregation   FEOH - OE     08025317670001143138        Electric       Gov. Aggregation
AEP - OP      00140060703620463           Electric       Gov. Aggregation   FEOH - OE     08025344300000804247        Electric       Gov. Aggregation
AEP - OP      00140060703769165           Electric       Gov. Aggregation   FEOH - OE     08026351140001127472        Electric       Gov. Aggregation
AEP - OP      00140060703861021           Electric       Gov. Aggregation   FEOH - OE     08026363720001128007        Electric       Gov. Aggregation
AEP - OP      00140060704068041           Electric       Gov. Aggregation   FEOH - OE     08026372320001128345        Electric       Gov. Aggregation
AEP - OP      00140060704102540           Electric       Gov. Aggregation   FEOH - OE     08026374740001128380        Electric       Gov. Aggregation
AEP - CSP     00040621094272632           Electric       Gov. Aggregation   FEOH - OE     08026375630001128392        Electric       Gov. Aggregation
AEP - CSP     00040621094703195           Electric       Gov. Aggregation   FEOH - OE     08026376120001128399        Electric       Gov. Aggregation
AEP - CSP     00040621094716264           Electric       Gov. Aggregation   FEOH - OE     08026391790001044401        Electric       Gov. Aggregation
AEP - CSP     00040621094853784           Electric       Gov. Aggregation   FEOH - OE     08024406670000777858        Electric       Gov. Aggregation
AEP - CSP     00040621094863103           Electric       Gov. Aggregation   FEOH - OE     08024408380000777885        Electric       Gov. Aggregation
AEP - CSP     00040621095106284           Electric       Gov. Aggregation   FEOH - OE     08024409160000777897        Electric       Gov. Aggregation
AEP - CSP     00040621095165325           Electric       Gov. Aggregation   FEOH - OE     08024409240001448527        Electric       Gov. Aggregation
AEP - OP      00140060704614001           Electric       Gov. Aggregation   FEOH - OE     08024440730000782576        Electric       Gov. Aggregation
AEP - OP      00140060704735050           Electric       Gov. Aggregation   FEOH - OE     08024442790001491071        Electric       Gov. Aggregation
AEP - OP      00140060704764275           Electric       Gov. Aggregation   FEOH - OE     08024442800000791086        Electric       Gov. Aggregation
AEP - OP      00140060704796464           Electric       Gov. Aggregation   FEOH - OE     08027134650001129377        Electric       Gov. Aggregation
AEP - OP      00140060704905272           Electric       Gov. Aggregation   FEOH - OE     08027138500001127783        Electric       Gov. Aggregation
AEP - OP      00140060705019625           Electric       Gov. Aggregation   FEOH - OE     08027139620001127798        Electric       Gov. Aggregation
AEP - OP      00140060705095235           Electric       Gov. Aggregation   FEOH - OE     08027192970001434318        Electric       Gov. Aggregation
AEP - OP      00140060703536390           Electric       Gov. Aggregation   FEOH - OE     08027199250001044715        Electric       Gov. Aggregation
AEP - OP      00140060703805414           Electric       Gov. Aggregation   FEOH - OE     08027199690001490054        Electric       Gov. Aggregation
AEP - OP      00140060703951984           Electric       Gov. Aggregation   FEOH - OE     08027200980001127812        Electric       Gov. Aggregation
AEP - OP      00140060703972373           Electric       Gov. Aggregation   FEOH - OE     08026575990001142268        Electric       Gov. Aggregation
AEP - OP      00140060704024532           Electric       Gov. Aggregation   FEOH - OE     08026585130001129638        Electric       Gov. Aggregation
AEP - OP      00140060704042315           Electric       Gov. Aggregation   FEOH - OE     08026586600001129658        Electric       Gov. Aggregation
AEP - OP      00140060704063950           Electric       Gov. Aggregation   FEOH - OE     08026589370001129696        Electric       Gov. Aggregation
AEP - OP      00140060701754712           Electric       Gov. Aggregation   FEOH - OE     08026590320001044802        Electric       Gov. Aggregation
AEP - OP      00140060701928530           Electric       Gov. Aggregation   FEOH - OE     08026590760001044808        Electric       Gov. Aggregation
AEP - OP      00140060702012005           Electric       Gov. Aggregation   FEOH - OE     08026594840001129529        Electric       Gov. Aggregation
AEP - OP      00140060702089380           Electric       Gov. Aggregation   FEOH - OE     08025347610000804269        Electric       Gov. Aggregation
AEP - OP      00140060702399333           Electric       Gov. Aggregation   FEOH - OE     08025347880001344815        Electric       Gov. Aggregation
AEP - OP      00140060702466651           Electric       Gov. Aggregation   FEOH - OE     08025348660000804279        Electric       Gov. Aggregation
AEP - CSP     00040621093447180           Electric       Gov. Aggregation   FEOH - OE     08025348890000804283        Electric       Gov. Aggregation
AEP - CSP     00040621093485621           Electric       Gov. Aggregation   FEOH - OE     08025349280000804288        Electric       Gov. Aggregation
AEP - CSP     00040621093628020           Electric       Gov. Aggregation   FEOH - OE     08025349930000804308        Electric       Gov. Aggregation
AEP - CSP     00040621093670862           Electric       Gov. Aggregation   FEOH - OE     08025350800000790888        Electric       Gov. Aggregation
AEP - CSP     00040621093702215           Electric       Gov. Aggregation   FEOH - OE     08023916020000789282        Electric       Gov. Aggregation
AEP - CSP     00040621093846821           Electric       Gov. Aggregation   FEOH - OE     08023916160000789284        Electric       Gov. Aggregation
AEP - OP      00140060704112962           Electric       Gov. Aggregation   FEOH - OE     08023916790000789294        Electric       Gov. Aggregation
AEP - OP      00140060704273824           Electric       Gov. Aggregation   FEOH - OE     08023978250000810219        Electric       Gov. Aggregation
AEP - OP      00140060704286270           Electric       Gov. Aggregation   FEOH - OE     08024005520000791064        Electric       Gov. Aggregation
AEP - OP      00140060704427952           Electric       Gov. Aggregation   FEOH - OE     08024022660000805429        Electric       Gov. Aggregation
AEP - OP      00140060704444853           Electric       Gov. Aggregation   FEOH - OE     08024024190000783781        Electric       Gov. Aggregation
AEP - OP      00140060704475251           Electric       Gov. Aggregation   FEOH - OE     08026392630001044414        Electric       Gov. Aggregation
AEP - OP      00140060704504334           Electric       Gov. Aggregation   FEOH - OE     08026398970001044506        Electric       Gov. Aggregation
AEP - OP      00140060703092702           Electric       Gov. Aggregation   FEOH - OE     08026399005000101649        Electric       Gov. Aggregation
AEP - OP      00140060703169414           Electric       Gov. Aggregation   FEOH - OE     08026440220001128273        Electric       Gov. Aggregation
AEP - OP      00140060703220251           Electric       Gov. Aggregation   FEOH - OE     08026454660001041469        Electric       Gov. Aggregation
AEP - OP      00140060703313603           Electric       Gov. Aggregation   FEOH - OE     08026460670001044531        Electric       Gov. Aggregation
AEP - OP      00140060703319695           Electric       Gov. Aggregation   FEOH - OE     08024375320000782495        Electric       Gov. Aggregation
AEP - OP      00140060703496934           Electric       Gov. Aggregation   FEOH - OE     08024375490000803174        Electric       Gov. Aggregation
AEP - OP      00140060703536460           Electric       Gov. Aggregation   FEOH - OE     08024375490000803175        Electric       Gov. Aggregation
AEP - CSP     00040621095329254           Electric       Gov. Aggregation   FEOH - OE     08024375730000803178        Electric       Gov. Aggregation
AEP - CSP     00040621095330611           Electric       Gov. Aggregation   FEOH - OE     08024376430000782512        Electric       Gov. Aggregation
AEP - CSP     00040621095365273           Electric       Gov. Aggregation   FEOH - OE     08024377305000349280        Electric       Gov. Aggregation
AEP - CSP     00040621095489793           Electric       Gov. Aggregation   FEOH - OE     08024377620000803229        Electric       Gov. Aggregation
AEP - CSP     00040621095492144           Electric       Gov. Aggregation   FEOH - OE     08024843550000778520        Electric       Gov. Aggregation
AEP - CSP     00040621095665355           Electric       Gov. Aggregation   FEOH - OE     08024851920001455706        Electric       Gov. Aggregation
AEP - OP      00140060707445484           Electric       Gov. Aggregation   FEOH - OE     08024853080000803196        Electric       Gov. Aggregation
AEP - OP      00140060707600312           Electric       Gov. Aggregation   FEOH - OE     08024853200001377642        Electric       Gov. Aggregation
AEP - OP      00140060707656843           Electric       Gov. Aggregation   FEOH - OE     08024854500000803217        Electric       Gov. Aggregation
AEP - OP      00140060707759482           Electric       Gov. Aggregation   FEOH - OE     08024857390000803967        Electric       Gov. Aggregation
AEP - OP      00140060707818064           Electric       Gov. Aggregation   FEOH - OE     08024858440000803986        Electric       Gov. Aggregation
AEP - OP      00140060708023045           Electric       Gov. Aggregation   FEOH - OE     08024443770000803280        Electric       Gov. Aggregation
AEP - OP      00140060708107523           Electric       Gov. Aggregation   FEOH - OE     08024444770000809505        Electric       Gov. Aggregation
AEP - CSP     00040621095726143           Electric       Gov. Aggregation   FEOH - OE     08024445290000803301        Electric       Gov. Aggregation
AEP - CSP     00040621095972821           Electric       Gov. Aggregation   FEOH - TE     08024451605000387147        Electric       Gov. Aggregation
AEP - CSP     00040621096248744           Electric       Gov. Aggregation   FEOH - OE     08024460225000314471        Electric       Gov. Aggregation
AEP - CSP     00040621096298355           Electric       Gov. Aggregation   FEOH - OE     08024460490000790297        Electric       Gov. Aggregation
AEP - CSP     00040621096306483           Electric       Gov. Aggregation   FEOH - OE     08024465560000790369        Electric       Gov. Aggregation
AEP - OP      00140060705115914           Electric       Gov. Aggregation   FEOH - OE     08025352380001438448        Electric       Gov. Aggregation
AEP - OP      00140060705232500           Electric       Gov. Aggregation   FEOH - OE     08025353210001528975        Electric       Gov. Aggregation
AEP - OP      00140060705256211           Electric       Gov. Aggregation   FEOH - OE     08025374730001040449        Electric       Gov. Aggregation
AEP - OP      00140060705294025           Electric       Gov. Aggregation   FEOH - OE     08025388830001318606        Electric       Gov. Aggregation
AEP - OP      00140060705328183           Electric       Gov. Aggregation   FEOH - OE     08025408275000213988        Electric       Gov. Aggregation
AEP - OP      00140060705334500           Electric       Gov. Aggregation   FEOH - OE     08025410210000804297        Electric       Gov. Aggregation
AEP - OP      00140060705372820           Electric       Gov. Aggregation   FEOH - OE     08025437830000848809        Electric       Gov. Aggregation
AEP - OP      00140060702550413           Electric       Gov. Aggregation   FEOH - OE     08026516810001129519        Electric       Gov. Aggregation
AEP - OP      00140060702607212           Electric       Gov. Aggregation   FEOH - OE     08026519210001129552        Electric       Gov. Aggregation
AEP - OP      00140060702609811           Electric       Gov. Aggregation   FEOH - OE     08026532420001044688        Electric       Gov. Aggregation
AEP - OP      00140060702669591           Electric       Gov. Aggregation   FEOH - OE     08026535090001044727        Electric       Gov. Aggregation
AEP - OP      00140060702749872           Electric       Gov. Aggregation   FEOH - OE     08026536670001044749        Electric       Gov. Aggregation
AEP - OP      00140060702930175           Electric       Gov. Aggregation   FEOH - OE     08026539550001044789        Electric       Gov. Aggregation
AEP - OP      00140060702954360           Electric       Gov. Aggregation   FEOH - OE     08024053655000325194        Electric       Gov. Aggregation
AEP - CSP     00040621093868984           Electric       Gov. Aggregation   FEOH - OE     08024057040000791333        Electric       Gov. Aggregation
AEP - CSP     00040621093892701           Electric       Gov. Aggregation   FEOH - OE     08024121170000784274        Electric       Gov. Aggregation
AEP - CSP     00040621093996614           Electric       Gov. Aggregation   FEOH - OE     08024141980001530202        Electric       Gov. Aggregation
AEP - CSP     00040621094281860           Electric       Gov. Aggregation   FEOH - OE     08024166490000766195        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621094451511           Electric       Gov. Aggregation   FEOH - OE     08024173215000158272        Electric       Gov. Aggregation
AEP - CSP     00040621094466983           Electric       Gov. Aggregation   FEOH - OE     08024190090001464689        Electric       Gov. Aggregation
AEP - CSP     00040621094539272           Electric       Gov. Aggregation   FEOH - OE     08027201110001127814        Electric       Gov. Aggregation
AEP - OP      00140060704531701           Electric       Gov. Aggregation   FEOH - OE     08027201550001127819        Electric       Gov. Aggregation
AEP - OP      00140060704633532           Electric       Gov. Aggregation   FEOH - OE     08027207200001129393        Electric       Gov. Aggregation
AEP - OP      00140060704656005           Electric       Gov. Aggregation   FEOH - OE     08027217075001411151        Electric       Gov. Aggregation
AEP - OP      00140060704663224           Electric       Gov. Aggregation   FEOH - OE     08027263750001536804        Electric       Gov. Aggregation
AEP - OP      00140060704705685           Electric       Gov. Aggregation   FEOH - OE     08027270460001128312        Electric       Gov. Aggregation
AEP - OP      00140060704719901           Electric       Gov. Aggregation   FEOH - OE     08027272510001143060        Electric       Gov. Aggregation
AEP - OP      00140060704749840           Electric       Gov. Aggregation   FEOH - OE     08024379120001374403        Electric       Gov. Aggregation
AEP - CSP     00040621096501150           Electric       Gov. Aggregation   FEOH - OE     08024396770001548070        Electric       Gov. Aggregation
AEP - CSP     00040621096526071           Electric       Gov. Aggregation   FEOH - OE     08024399050000790277        Electric       Gov. Aggregation
AEP - CSP     00040621096558162           Electric       Gov. Aggregation   FEOH - OE     08024404650000777828        Electric       Gov. Aggregation
AEP - CSP     00040621096561123           Electric       Gov. Aggregation   FEOH - OE     08024406190000777851        Electric       Gov. Aggregation
AEP - CSP     00040621096617142           Electric       Gov. Aggregation   FEOH - OE     08024408300000777882        Electric       Gov. Aggregation
AEP - CSP     00040621096886692           Electric       Gov. Aggregation   FEOH - OE     08024409240000777898        Electric       Gov. Aggregation
AEP - CSP     00040621097063430           Electric       Gov. Aggregation   FEOH - OE     08026632695000302018        Electric       Gov. Aggregation
AEP - CSP     00040621094556533           Electric       Gov. Aggregation   FEOH - OE     08026650690001129712        Electric       Gov. Aggregation
AEP - CSP     00040621094560415           Electric       Gov. Aggregation   FEOH - OE     08026651090001143141        Electric       Gov. Aggregation
AEP - CSP     00040621094644075           Electric       Gov. Aggregation   FEOH - OE     08026654900001129773        Electric       Gov. Aggregation
AEP - CSP     00040621094903524           Electric       Gov. Aggregation   FEOH - OE     08026655440001143167        Electric       Gov. Aggregation
AEP - CSP     00040621094936885           Electric       Gov. Aggregation   FEOH - OE     08026655550001129784        Electric       Gov. Aggregation
AEP - CSP     00040621095029470           Electric       Gov. Aggregation   FEOH - OE     08026658650001129831        Electric       Gov. Aggregation
AEP - CSP     00040621097088703           Electric       Gov. Aggregation   FEOH - OE     08024859830000804006        Electric       Gov. Aggregation
AEP - CSP     00040621097144033           Electric       Gov. Aggregation   FEOH - OE     08024902140001142104        Electric       Gov. Aggregation
AEP - CSP     00040621097150880           Electric       Gov. Aggregation   FEOH - OE     08024917380000804117        Electric       Gov. Aggregation
AEP - CSP     00040621097193531           Electric       Gov. Aggregation   FEOH - OE     08024919460000780139        Electric       Gov. Aggregation
AEP - CSP     00040621097194264           Electric       Gov. Aggregation   FEOH - OE     08024922260001380963        Electric       Gov. Aggregation
AEP - CSP     00040621097228480           Electric       Gov. Aggregation   FEOH - OE     08024924200000778674        Electric       Gov. Aggregation
AEP - CSP     00040621097229973           Electric       Gov. Aggregation   FEOH - OE     08024929515001394651        Electric       Gov. Aggregation
AEP - OP      00140060708108950           Electric       Gov. Aggregation   FEOH - OE     08025510440000809451        Electric       Gov. Aggregation
AEP - OP      00140060708242421           Electric       Gov. Aggregation   FEOH - OE     08025511010000809459        Electric       Gov. Aggregation
AEP - OP      00140060708243272           Electric       Gov. Aggregation   FEOH - OE     08025561110000803842        Electric       Gov. Aggregation
AEP - OP      00140060708280263           Electric       Gov. Aggregation   FEOH - OE     08025561460001045266        Electric       Gov. Aggregation
AEP - OP      00140060708333315           Electric       Gov. Aggregation   FEOH - OE     08025576280000848961        Electric       Gov. Aggregation
AEP - OP      00140060708358133           Electric       Gov. Aggregation   FEOH - OE     08025577440000848976        Electric       Gov. Aggregation
AEP - OP      00140060705585721           Electric       Gov. Aggregation   FEOH - OE     08025593950001041387        Electric       Gov. Aggregation
AEP - OP      00140060705749145           Electric       Gov. Aggregation   FEOH - OE     08026580330001129569        Electric       Gov. Aggregation
AEP - OP      00140060705765812           Electric       Gov. Aggregation   FEOH - OE     08026580960001129577        Electric       Gov. Aggregation
AEP - OP      00140060705777062           Electric       Gov. Aggregation   FEOH - OE     08026582850001129607        Electric       Gov. Aggregation
AEP - OP      00140060705904133           Electric       Gov. Aggregation   FEOH - OE     08026583040001129610        Electric       Gov. Aggregation
AEP - OP      00140060705944210           Electric       Gov. Aggregation   FEOH - OE     08026586260001128292        Electric       Gov. Aggregation
AEP - CSP     00040621095182823           Electric       Gov. Aggregation   FEOH - OE     08026587250001141957        Electric       Gov. Aggregation
AEP - CSP     00040621095326170           Electric       Gov. Aggregation   FEOH - OE     08026590970001129149        Electric       Gov. Aggregation
AEP - CSP     00040621095509475           Electric       Gov. Aggregation   FEOH - OE     08024466670000790385        Electric       Gov. Aggregation
AEP - CSP     00040621095833044           Electric       Gov. Aggregation   FEOH - OE     08024467050000790391        Electric       Gov. Aggregation
AEP - CSP     00040621095834530           Electric       Gov. Aggregation   FEOH - OE     08024480300000777912        Electric       Gov. Aggregation
AEP - CSP     00040621095888063           Electric       Gov. Aggregation   FEOH - OE     08024485270001429336        Electric       Gov. Aggregation
AEP - CSP     00040621096077944           Electric       Gov. Aggregation   FEOH - OE     08024512520000803400        Electric       Gov. Aggregation
AEP - OP      00140060705971215           Electric       Gov. Aggregation   FEOH - OE     08024513230000803412        Electric       Gov. Aggregation
AEP - OP      00140060705992020           Electric       Gov. Aggregation   FEOH - OE     08024193490001366708        Electric       Gov. Aggregation
AEP - OP      00140060706040054           Electric       Gov. Aggregation   FEOH - OE     08024194630001368315        Electric       Gov. Aggregation
AEP - OP      00140060706043714           Electric       Gov. Aggregation   FEOH - OE     08024222900000790017        Electric       Gov. Aggregation
AEP - OP      00140060706091803           Electric       Gov. Aggregation   FEOH - OE     08024223875000300449        Electric       Gov. Aggregation
AEP - CSP     00040621096133123           Electric       Gov. Aggregation   FEOH - OE     08024239875000020330        Electric       Gov. Aggregation
AEP - CSP     00040621096172183           Electric       Gov. Aggregation   FEOH - OE     08024293690000790174        Electric       Gov. Aggregation
AEP - CSP     00040621096267993           Electric       Gov. Aggregation   FEOH - OE     08024293975000331525        Electric       Gov. Aggregation
AEP - CSP     00040621096301591           Electric       Gov. Aggregation   FEOH - OE     08024441130000789286        Electric       Gov. Aggregation
AEP - CSP     00040621096486294           Electric       Gov. Aggregation   FEOH - OE     08024443170001500462        Electric       Gov. Aggregation
AEP - CSP     00040621096688154           Electric       Gov. Aggregation   FEOH - OE     08024443340000782616        Electric       Gov. Aggregation
AEP - CSP     00040621096721372           Electric       Gov. Aggregation   FEOH - OE     08024443810000810148        Electric       Gov. Aggregation
AEP - OP      00140060703966331           Electric       Gov. Aggregation   FEOH - OE     08024445780000803307        Electric       Gov. Aggregation
AEP - OP      00140060704265544           Electric       Gov. Aggregation   FEOH - OE     08024447520000782675        Electric       Gov. Aggregation
AEP - OP      00140060704339825           Electric       Gov. Aggregation   FEOH - OE     08024448370000782685        Electric       Gov. Aggregation
AEP - OP      00140060704362874           Electric       Gov. Aggregation   FEOH - OE     08027277970001130228        Electric       Gov. Aggregation
AEP - OP      00140060704365652           Electric       Gov. Aggregation   FEOH - OE     08027279840001130254        Electric       Gov. Aggregation
AEP - OP      00140060704423243           Electric       Gov. Aggregation   FEOH - OE     08027279920001130255        Electric       Gov. Aggregation
AEP - OP      00140060704560972           Electric       Gov. Aggregation   FEOH - OE     08027331530001045064        Electric       Gov. Aggregation
AEP - OP      00140060706429563           Electric       Gov. Aggregation   FEOH - OE     08027336330001045145        Electric       Gov. Aggregation
AEP - OP      00140060706432055           Electric       Gov. Aggregation   FEOH - OE     08027338140001041916        Electric       Gov. Aggregation
AEP - OP      00140060706449621           Electric       Gov. Aggregation   FEOH - OE     08027341570001130280        Electric       Gov. Aggregation
AEP - OP      00140060706466685           Electric       Gov. Aggregation   FEOH - OE     08024929760001419345        Electric       Gov. Aggregation
AEP - OP      00140060706710093           Electric       Gov. Aggregation   FEOH - OE     08024949010000792412        Electric       Gov. Aggregation
AEP - OP      00140060706731190           Electric       Gov. Aggregation   FEOH - OE     08024983480001394187        Electric       Gov. Aggregation
AEP - OP      00140060708419611           Electric       Gov. Aggregation   FEOH - OE     08024984090001348966        Electric       Gov. Aggregation
AEP - OP      00140060708665460           Electric       Gov. Aggregation   FEOH - OE     08024984770000803245        Electric       Gov. Aggregation
AEP - OP      00140060708720302           Electric       Gov. Aggregation   FEOH - OE     08024985530000803244        Electric       Gov. Aggregation
AEP - OP      00140060708930251           Electric       Gov. Aggregation   FEOH - OE     08024986770000803268        Electric       Gov. Aggregation
AEP - OP      00140060709296573           Electric       Gov. Aggregation   FEOH - OE     08025632140000809741        Electric       Gov. Aggregation
AEP - OP      00140060709336930           Electric       Gov. Aggregation   FEOH - OE     08025760450001306315        Electric       Gov. Aggregation
AEP - OP      00140060709378365           Electric       Gov. Aggregation   FEOH - OE     08025763080001353115        Electric       Gov. Aggregation
AEP - OP      00140060704757300           Electric       Gov. Aggregation   FEOH - OE     08025777230001043046        Electric       Gov. Aggregation
AEP - OP      00140060704776060           Electric       Gov. Aggregation   FEOH - OE     08025779860001043089        Electric       Gov. Aggregation
AEP - OP      00140060704857250           Electric       Gov. Aggregation   FEOH - OE     08025796930001044661        Electric       Gov. Aggregation
AEP - OP      00140060704931983           Electric       Gov. Aggregation   FEOH - OE     08024515750000805541        Electric       Gov. Aggregation
AEP - OP      00140060705015050           Electric       Gov. Aggregation   FEOH - OE     08024515790001356925        Electric       Gov. Aggregation
AEP - OP      00140060705115185           Electric       Gov. Aggregation   FEOH - OE     08024516070000803454        Electric       Gov. Aggregation
AEP - OP      00140060705182323           Electric       Gov. Aggregation   FEOH - OE     08024518220000804112        Electric       Gov. Aggregation
AEP - CSP     00040621097293035           Electric       Gov. Aggregation   FEOH - OE     08024531020000790446        Electric       Gov. Aggregation
AEP - CSP     00040621097299154           Electric       Gov. Aggregation   FEOH - OE     08024532790000790472        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621097362524           Electric       Gov. Aggregation   FEOH - OE     08024533270000790478        Electric       Gov. Aggregation
AEP - CSP     00040621097481904           Electric       Gov. Aggregation   FEOH - OE     08024293975000331532        Electric       Gov. Aggregation
AEP - CSP     00040621097502573           Electric       Gov. Aggregation   FEOH - OE     08024293975000331533        Electric       Gov. Aggregation
AEP - CSP     00040621097612424           Electric       Gov. Aggregation   FEOH - OE     08024293975000331535        Electric       Gov. Aggregation
AEP - CSP     00040621097777582           Electric       Gov. Aggregation   FEOH - OE     08024293975000331553        Electric       Gov. Aggregation
AEP - OP      00140060703209542           Electric       Gov. Aggregation   FEOH - OE     08024293975000331561        Electric       Gov. Aggregation
AEP - OP      00140060703259663           Electric       Gov. Aggregation   FEOH - OE     08024304575000352053        Electric       Gov. Aggregation
AEP - OP      00140060703305761           Electric       Gov. Aggregation   FEOH - OE     08024305870000791620        Electric       Gov. Aggregation
AEP - OP      00140060703386141           Electric       Gov. Aggregation   FEOH - OE     08026591110001044814        Electric       Gov. Aggregation
AEP - OP      00140060703426055           Electric       Gov. Aggregation   FEOH - OE     08026593190001464386        Electric       Gov. Aggregation
AEP - OP      00140060703435611           Electric       Gov. Aggregation   FEOH - OE     08026612220001127627        Electric       Gov. Aggregation
AEP - OP      00140060703611644           Electric       Gov. Aggregation   FEOH - OE     08026650280001143135        Electric       Gov. Aggregation
AEP - OP      00140060704168701           Electric       Gov. Aggregation   FEOH - OE     08026658430001143181        Electric       Gov. Aggregation
AEP - OP      00140060704354724           Electric       Gov. Aggregation   FEOH - OE     08026659890001129845        Electric       Gov. Aggregation
AEP - OP      00140060704461344           Electric       Gov. Aggregation   FEOH - OE     08024461870000790318        Electric       Gov. Aggregation
AEP - OP      00140060704616052           Electric       Gov. Aggregation   FEOH - OE     08024462750000790329        Electric       Gov. Aggregation
AEP - OP      00140060704616281           Electric       Gov. Aggregation   FEOH - OE     08024465620000790370        Electric       Gov. Aggregation
AEP - OP      00140060704657860           Electric       Gov. Aggregation   FEOH - OE     08024467110000790392        Electric       Gov. Aggregation
AEP - OP      00140060704809620           Electric       Gov. Aggregation   FEOH - OE     08024468370000790407        Electric       Gov. Aggregation
AEP - CSP     00040621096806754           Electric       Gov. Aggregation   FEOH - OE     08024469980000790431        Electric       Gov. Aggregation
AEP - CSP     00040621096844080           Electric       Gov. Aggregation   FEOH - OE     08024510830000803376        Electric       Gov. Aggregation
AEP - CSP     00040621096921725           Electric       Gov. Aggregation   FEOH - OE     08026663080001045031        Electric       Gov. Aggregation
AEP - CSP     00040621097349194           Electric       Gov. Aggregation   FEOH - OE     08026666320001043504        Electric       Gov. Aggregation
AEP - CSP     00040621097365370           Electric       Gov. Aggregation   FEOH - OE     08026721320001129866        Electric       Gov. Aggregation
AEP - CSP     00040621097383144           Electric       Gov. Aggregation   FEOH - OE     08026725960001129926        Electric       Gov. Aggregation
AEP - CSP     00040621097413222           Electric       Gov. Aggregation   FEOH - OE     08026727060001129943        Electric       Gov. Aggregation
AEP - OP      00140060704590930           Electric       Gov. Aggregation   FEOH - OE     08026727510001129950        Electric       Gov. Aggregation
AEP - OP      00140060704596763           Electric       Gov. Aggregation   FEOH - OE     08026728700001127836        Electric       Gov. Aggregation
AEP - OP      00140060704598090           Electric       Gov. Aggregation   FEOH - OE     08027344630001142717        Electric       Gov. Aggregation
AEP - OP      00140060704810233           Electric       Gov. Aggregation   FEOH - OE     08027344660001130320        Electric       Gov. Aggregation
AEP - OP      00140060705065165           Electric       Gov. Aggregation   FEOH - OE     08027349620001130387        Electric       Gov. Aggregation
AEP - OP      00140060705083211           Electric       Gov. Aggregation   FEOH - OE     08027352920001046511        Electric       Gov. Aggregation
AEP - OP      00140060703641801           Electric       Gov. Aggregation   FEOH - OE     08027388390001129152        Electric       Gov. Aggregation
AEP - OP      00140060703650063           Electric       Gov. Aggregation   FEOH - OE     08027388390001142414        Electric       Gov. Aggregation
AEP - OP      00140060703691325           Electric       Gov. Aggregation   FEOH - OE     08027391880001040639        Electric       Gov. Aggregation
AEP - OP      00140060703717262           Electric       Gov. Aggregation   FEOH - OE     08024987100000803273        Electric       Gov. Aggregation
AEP - OP      00140060703909714           Electric       Gov. Aggregation   FEOH - OE     08024989320000803878        Electric       Gov. Aggregation
AEP - OP      00140060704088203           Electric       Gov. Aggregation   FEOH - OE     08024993900001304571        Electric       Gov. Aggregation
AEP - OP      00140060709540473           Electric       Gov. Aggregation   FEOH - OE     08025000370001441672        Electric       Gov. Aggregation
AEP - OP      00140060709555421           Electric       Gov. Aggregation   FEOH - OE     08025002090001584904        Electric       Gov. Aggregation
AEP - OP      00140060709648255           Electric       Gov. Aggregation   FEOH - OE     08025007080000778792        Electric       Gov. Aggregation
AEP - OP      00140060709682255           Electric       Gov. Aggregation   FEOH - OE     08025007570000778799        Electric       Gov. Aggregation
AEP - OP      00140060709815275           Electric       Gov. Aggregation   FEOH - OE     08024535105001492195        Electric       Gov. Aggregation
AEP - OP      00140060709838884           Electric       Gov. Aggregation   FEOH - OE     08024535430000790510        Electric       Gov. Aggregation
AEP - OP      00140060709887961           Electric       Gov. Aggregation   FEOH - OE     08024535900000790516        Electric       Gov. Aggregation
AEP - OP      00140060705304262           Electric       Gov. Aggregation   FEOH - OE     08024539400001318481        Electric       Gov. Aggregation
AEP - OP      00140060705325823           Electric       Gov. Aggregation   FEOH - OE     08024539450001551115        Electric       Gov. Aggregation
AEP - OP      00140060705385785           Electric       Gov. Aggregation   FEOH - OE     08024551410000778079        Electric       Gov. Aggregation
AEP - OP      00140060705405563           Electric       Gov. Aggregation   FEOH - OE     08024559940000778198        Electric       Gov. Aggregation
AEP - OP      00140060705532642           Electric       Gov. Aggregation   FEOH - OE     08024306220000803023        Electric       Gov. Aggregation
AEP - OP      00140060705559712           Electric       Gov. Aggregation   FEOH - OE     08024308680000803064        Electric       Gov. Aggregation
AEP - OP      00140060705565300           Electric       Gov. Aggregation   FEOH - OE     08024308760000803065        Electric       Gov. Aggregation
AEP - CSP     00040621097822523           Electric       Gov. Aggregation   FEOH - OE     08024334620001422834        Electric       Gov. Aggregation
AEP - CSP     00040621097840335           Electric       Gov. Aggregation   FEOH - OE     08024361510001299498        Electric       Gov. Aggregation
AEP - CSP     00040621097869383           Electric       Gov. Aggregation   FEOH - OE     08024370100000803085        Electric       Gov. Aggregation
AEP - CSP     00040621098091180           Electric       Gov. Aggregation   FEOH - OE     08024370610000791259        Electric       Gov. Aggregation
AEP - CSP     00040621098168793           Electric       Gov. Aggregation   FEOH - OE     08025916550001043328        Electric       Gov. Aggregation
AEP - CSP     00040621098200920           Electric       Gov. Aggregation   FEOH - OE     08025983150001038697        Electric       Gov. Aggregation
AEP - CSP     00040621098256032           Electric       Gov. Aggregation   FEOH - OE     08025983620001040710        Electric       Gov. Aggregation
AEP - CSP     00040621097527930           Electric       Gov. Aggregation   FEOH - OE     08025984650001040726        Electric       Gov. Aggregation
AEP - CSP     00040621097531051           Electric       Gov. Aggregation   FEOH - OE     08026023750001042814        Electric       Gov. Aggregation
AEP - CSP     00040621097670913           Electric       Gov. Aggregation   FEOH - OE     08026050190001040789        Electric       Gov. Aggregation
AEP - CSP     00040621097675562           Electric       Gov. Aggregation   FEOH - OE     08026115380001131230        Electric       Gov. Aggregation
AEP - CSP     00040621097675612           Electric       Gov. Aggregation   FEOH - OE     08026668440001045253        Electric       Gov. Aggregation
AEP - CSP     00040621097772753           Electric       Gov. Aggregation   FEOH - OE     08026672720001142217        Electric       Gov. Aggregation
AEP - CSP     00040621097789022           Electric       Gov. Aggregation   FEOH - OE     08026694830001041784        Electric       Gov. Aggregation
AEP - CSP     00040621098364622           Electric       Gov. Aggregation   FEOH - OE     08026724320001129909        Electric       Gov. Aggregation
AEP - CSP     00040621098371003           Electric       Gov. Aggregation   FEOH - OE     08026727900001143217        Electric       Gov. Aggregation
AEP - CSP     00040621098374232           Electric       Gov. Aggregation   FEOH - OE     08026729690001143223        Electric       Gov. Aggregation
AEP - CSP     00040621098439701           Electric       Gov. Aggregation   FEOH - OE     08026730190001045276        Electric       Gov. Aggregation
AEP - CSP     00040621098591325           Electric       Gov. Aggregation   FEOH - OE     08024510890000803377        Electric       Gov. Aggregation
AEP - CSP     00040621098615855           Electric       Gov. Aggregation   FEOH - OE     08024511460000803383        Electric       Gov. Aggregation
AEP - CSP     00040621098736043           Electric       Gov. Aggregation   FEOH - OE     08024513430000803414        Electric       Gov. Aggregation
AEP - OP      00140060705097514           Electric       Gov. Aggregation   FEOH - OE     08024516330000803458        Electric       Gov. Aggregation
AEP - OP      00140060705146595           Electric       Gov. Aggregation   FEOH - OE     08024517770000803479        Electric       Gov. Aggregation
AEP - OP      00140060705183025           Electric       Gov. Aggregation   FEOH - OE     08024533470000790481        Electric       Gov. Aggregation
AEP - OP      00140060705186521           Electric       Gov. Aggregation   FEOH - OE     08024535370000790509        Electric       Gov. Aggregation
AEP - OP      00140060705338472           Electric       Gov. Aggregation   FEOH - OE     08026729080001143221        Electric       Gov. Aggregation
AEP - OP      00140060705351715           Electric       Gov. Aggregation   FEOH - OE     08026732840001045308        Electric       Gov. Aggregation
AEP - CSP     00040621097883284           Electric       Gov. Aggregation   FEOH - OE     08026733030001128385        Electric       Gov. Aggregation
AEP - CSP     00040621097908381           Electric       Gov. Aggregation   FEOH - OE     08026733250001045315        Electric       Gov. Aggregation
AEP - CSP     00040621098029625           Electric       Gov. Aggregation   FEOH - OE     08026733390001045317        Electric       Gov. Aggregation
AEP - CSP     00040621098169032           Electric       Gov. Aggregation   FEOH - OE     08026735360001044420        Electric       Gov. Aggregation
AEP - CSP     00040621098182503           Electric       Gov. Aggregation   FEOH - OE     08026738120001045388        Electric       Gov. Aggregation
AEP - CSP     00040621098311245           Electric       Gov. Aggregation   FEOH - OE     08027394160001041416        Electric       Gov. Aggregation
AEP - CSP     00040621098364850           Electric       Gov. Aggregation   FEOH - OE     08027397160001044462        Electric       Gov. Aggregation
AEP - CSP     00040621098913090           Electric       Gov. Aggregation   FEOH - OE     08027399340001041484        Electric       Gov. Aggregation
AEP - CSP     00040621099061763           Electric       Gov. Aggregation   FEOH - OE     08027411040001130408        Electric       Gov. Aggregation
AEP - CSP     00040621099068073           Electric       Gov. Aggregation   FEOH - OE     08027412870001142815        Electric       Gov. Aggregation
AEP - CSP     00040621099205932           Electric       Gov. Aggregation   FEOH - OE     08027415560001142848        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621099319735           Electric       Gov. Aggregation   FEOH - OE     08024572610000803548        Electric       Gov. Aggregation
AEP - CSP     00040621099592320           Electric       Gov. Aggregation   FEOH - OE     08024577130000803617        Electric       Gov. Aggregation
AEP - OP      00140060704836110           Electric       Gov. Aggregation   FEOH - OE     08024602060000786341        Electric       Gov. Aggregation
AEP - OP      00140060704908361           Electric       Gov. Aggregation   FEOH - OE     08024602600000790672        Electric       Gov. Aggregation
AEP - OP      00140060704971955           Electric       Gov. Aggregation   FEOH - OE     08024602940000790676        Electric       Gov. Aggregation
AEP - OP      00140060704984523           Electric       Gov. Aggregation   FEOH - OE     08024603060000790680        Electric       Gov. Aggregation
AEP - OP      00140060705030224           Electric       Gov. Aggregation   FEOH - OE     08024604910000790711        Electric       Gov. Aggregation
AEP - OP      00140060705057422           Electric       Gov. Aggregation   FEOH - OE     08024374330000782481        Electric       Gov. Aggregation
AEP - OP      00140060705089404           Electric       Gov. Aggregation   FEOH - OE     08024374480000782483        Electric       Gov. Aggregation
AEP - OP      00140060710015600           Electric       Gov. Aggregation   FEOH - OE     08024374740000782487        Electric       Gov. Aggregation
AEP - OP      00140060710110564           Electric       Gov. Aggregation   FEOH - OE     08024375610000803177        Electric       Gov. Aggregation
AEP - OP      00140060710175630           Electric       Gov. Aggregation   FEOH - OE     08024376010000803182        Electric       Gov. Aggregation
AEP - OP      00140060710210062           Electric       Gov. Aggregation   FEOH - OE     08024376150000782507        Electric       Gov. Aggregation
AEP - OP      00140060710233481           Electric       Gov. Aggregation   FEOH - OE     08024376220000782508        Electric       Gov. Aggregation
AEP - OP      00140060710252920           Electric       Gov. Aggregation   FEOH - OE     08026128980001040448        Electric       Gov. Aggregation
AEP - OP      00140060710284260           Electric       Gov. Aggregation   FEOH - OE     08026198850001040584        Electric       Gov. Aggregation
AEP - OP      00140060705663203           Electric       Gov. Aggregation   FEOH - OE     08026245550001130325        Electric       Gov. Aggregation
AEP - OP      00140060705667884           Electric       Gov. Aggregation   FEOH - OE     08026254070001042626        Electric       Gov. Aggregation
AEP - OP      00140060705675143           Electric       Gov. Aggregation   FEOH - OE     08026254070001042633        Electric       Gov. Aggregation
AEP - OP      00140060705676645           Electric       Gov. Aggregation   FEOH - OE     08026254070001042636        Electric       Gov. Aggregation
AEP - OP      00140060705736625           Electric       Gov. Aggregation   FEOH - OE     08026254070001042650        Electric       Gov. Aggregation
AEP - OP      00140060705757972           Electric       Gov. Aggregation   FEOH - OE     08026796480001143246        Electric       Gov. Aggregation
AEP - OP      00140060705819210           Electric       Gov. Aggregation   FEOH - OE     08026844290001130475        Electric       Gov. Aggregation
AEP - OP      00140060705471070           Electric       Gov. Aggregation   FEOH - OE     08026866930001129431        Electric       Gov. Aggregation
AEP - OP      00140060705547744           Electric       Gov. Aggregation   FEOH - OE     08026878770001045647        Electric       Gov. Aggregation
AEP - OP      00140060705613501           Electric       Gov. Aggregation   FEOH - OE     08026879130001045651        Electric       Gov. Aggregation
AEP - OP      00140060705626473           Electric       Gov. Aggregation   FEOH - OE     08026934700001143285        Electric       Gov. Aggregation
AEP - OP      00140060705636032           Electric       Gov. Aggregation   FEOH - OE     08026940980001478184        Electric       Gov. Aggregation
AEP - OP      00140060705718514           Electric       Gov. Aggregation   FEOH - OE     08025007700000778801        Electric       Gov. Aggregation
AEP - OP      00140060705842525           Electric       Gov. Aggregation   FEOH - OE     08025008770000778817        Electric       Gov. Aggregation
AEP - CSP     00040621098421072           Electric       Gov. Aggregation   FEOH - OE     08025008910000778819        Electric       Gov. Aggregation
AEP - CSP     00040621098603201           Electric       Gov. Aggregation   FEOH - OE     08025009310000804568        Electric       Gov. Aggregation
AEP - CSP     00040621098669784           Electric       Gov. Aggregation   FEOH - OE     08025009940000788911        Electric       Gov. Aggregation
AEP - CSP     00040621098888031           Electric       Gov. Aggregation   FEOH - OE     08025015100000780110        Electric       Gov. Aggregation
AEP - CSP     00040621098958145           Electric       Gov. Aggregation   FEOH - OE     08025024040000790760        Electric       Gov. Aggregation
AEP - CSP     00040621099371425           Electric       Gov. Aggregation   FEOH - OE     08024535560000790512        Electric       Gov. Aggregation
AEP - CSP     00040621099492165           Electric       Gov. Aggregation   FEOH - OE     08024538790000786295        Electric       Gov. Aggregation
AEP - OP      00140060706799984           Electric       Gov. Aggregation   FEOH - OE     08024539450000790588        Electric       Gov. Aggregation
AEP - OP      00140060706860691           Electric       Gov. Aggregation   FEOH - OE     08024555410000778135        Electric       Gov. Aggregation
AEP - OP      00140060707005313           Electric       Gov. Aggregation   FEOH - OE     08024558520000777913        Electric       Gov. Aggregation
AEP - OP      00140060707039503           Electric       Gov. Aggregation   FEOH - OE     08024570370000803464        Electric       Gov. Aggregation
AEP - OP      00140060707087900           Electric       Gov. Aggregation   FEOH - OE     08024570620000803523        Electric       Gov. Aggregation
AEP - OP      00140060707124121           Electric       Gov. Aggregation   FEOH - OE     08026771180001128966        Electric       Gov. Aggregation
AEP - OP      00140060707206134           Electric       Gov. Aggregation   FEOH - OE     08026792760001142224        Electric       Gov. Aggregation
AEP - OP      00140060710301412           Electric       Gov. Aggregation   FEOH - OE     08026793020001130029        Electric       Gov. Aggregation
AEP - OP      00140060710305203           Electric       Gov. Aggregation   FEOH - OE     08026793350001131076        Electric       Gov. Aggregation
AEP - OP      00140060710327684           Electric       Gov. Aggregation   FEOH - OE     08026793670001543129        Electric       Gov. Aggregation
AEP - OP      00140060710342773           Electric       Gov. Aggregation   FEOH - OE     08026794585001487291        Electric       Gov. Aggregation
AEP - OP      00140060710399145           Electric       Gov. Aggregation   FEOH - OE     08026800390001044729        Electric       Gov. Aggregation
AEP - OP      00140060710481335           Electric       Gov. Aggregation   FEOH - OE     08027420770001042222        Electric       Gov. Aggregation
AEP - OP      00140060704216662           Electric       Gov. Aggregation   FEOH - OE     08027425030001043416        Electric       Gov. Aggregation
AEP - OP      00140060704244240           Electric       Gov. Aggregation   FEOH - OE     08027426390001043436        Electric       Gov. Aggregation
AEP - OP      00140060704480592           Electric       Gov. Aggregation   FEOH - OE     08027460290001041498        Electric       Gov. Aggregation
AEP - OP      00140060704491455           Electric       Gov. Aggregation   FEOH - OE     08027460440001041500        Electric       Gov. Aggregation
AEP - OP      00140060704720625           Electric       Gov. Aggregation   FEOH - OE     08027462480001041531        Electric       Gov. Aggregation
AEP - OP      00140060704723250           Electric       Gov. Aggregation   FEOH - OE     08027462840001041538        Electric       Gov. Aggregation
AEP - OP      00140060704728860           Electric       Gov. Aggregation   FEOH - OE     08024376260000804195        Electric       Gov. Aggregation
AEP - OP      00140060710494662           Electric       Gov. Aggregation   FEOH - OE     08024376875001290050        Electric       Gov. Aggregation
AEP - OP      00140060710567103           Electric       Gov. Aggregation   FEOH - OE     08024377450000803224        Electric       Gov. Aggregation
AEP - OP      00140060710572100           Electric       Gov. Aggregation   FEOH - OE     08024377940001378505        Electric       Gov. Aggregation
AEP - OP      00140060710586525           Electric       Gov. Aggregation   FEOH - OE     08024379530001393936        Electric       Gov. Aggregation
AEP - OP      00140060710590973           Electric       Gov. Aggregation   FEOH - OE     08024379930001462262        Electric       Gov. Aggregation
AEP - OP      00140060710613595           Electric       Gov. Aggregation   FEOH - OE     08024385490000804339        Electric       Gov. Aggregation
AEP - OP      00140060710698690           Electric       Gov. Aggregation   FEOH - OE     08026254070001042656        Electric       Gov. Aggregation
AEP - OP      00140060705090270           Electric       Gov. Aggregation   FEOH - OE     08026254070001042659        Electric       Gov. Aggregation
AEP - OP      00140060705628602           Electric       Gov. Aggregation   FEOH - OE     08026254070001042671        Electric       Gov. Aggregation
AEP - OP      00140060705726424           Electric       Gov. Aggregation   FEOH - OE     08026254070001042672        Electric       Gov. Aggregation
AEP - OP      00140060705753325           Electric       Gov. Aggregation   FEOH - OE     08026254070001042685        Electric       Gov. Aggregation
AEP - OP      00140060705791333           Electric       Gov. Aggregation   FEOH - OE     08026254070001042707        Electric       Gov. Aggregation
AEP - OP      00140060706035404           Electric       Gov. Aggregation   FEOH - OE     08026254070001042714        Electric       Gov. Aggregation
AEP - OP      00140060706145630           Electric       Gov. Aggregation   FEOH - OE     08027009940001510295        Electric       Gov. Aggregation
AEP - CSP     00040621099773272           Electric       Gov. Aggregation   FEOH - OE     08027060450001127532        Electric       Gov. Aggregation
AEP - CSP     00040621099832590           Electric       Gov. Aggregation   FEOH - OE     08027061300001127543        Electric       Gov. Aggregation
AEP - CSP     00040621099837231           Electric       Gov. Aggregation   FEOH - OE     08027062910001127565        Electric       Gov. Aggregation
AEP - OP      00140060700216043           Electric       Gov. Aggregation   FEOH - OE     08027063430001127571        Electric       Gov. Aggregation
AEP - OP      00140060700244910           Electric       Gov. Aggregation   FEOH - OE     08027064180001130896        Electric       Gov. Aggregation
AEP - OP      00140060700325204           Electric       Gov. Aggregation   FEOH - OE     08027068055000143373        Electric       Gov. Aggregation
AEP - OP      00140060700477360           Electric       Gov. Aggregation   FEOH - OE     08025025810001488805        Electric       Gov. Aggregation
AEP - OP      00140060705836942           Electric       Gov. Aggregation   FEOH - OE     08025026150001475244        Electric       Gov. Aggregation
AEP - OP      00140060705865894           Electric       Gov. Aggregation   FEOH - OE     08025060870000803898        Electric       Gov. Aggregation
AEP - OP      00140060705940422           Electric       Gov. Aggregation   FEOH - OE     08025062040000803916        Electric       Gov. Aggregation
AEP - OP      00140060705969360           Electric       Gov. Aggregation   FEOH - OE     08025063740000804350        Electric       Gov. Aggregation
AEP - OP      00140060706074584           Electric       Gov. Aggregation   FEOH - OE     08025065360000804374        Electric       Gov. Aggregation
AEP - OP      00140060706198023           Electric       Gov. Aggregation   FEOH - OE     08025065420001443990        Electric       Gov. Aggregation
AEP - OP      00140060706210133           Electric       Gov. Aggregation   FEOH - OE     08025069650000804433        Electric       Gov. Aggregation
AEP - CSP     00040621099563015           Electric       Gov. Aggregation   FEOH - OE     08025081730000792744        Electric       Gov. Aggregation
AEP - CSP     00040621099708363           Electric       Gov. Aggregation   FEOH - OE     08025082760001517921        Electric       Gov. Aggregation
AEP - CSP     00040621099748035           Electric       Gov. Aggregation   FEOH - OE     08025090950000790877        Electric       Gov. Aggregation
AEP - CSP     00040621099874511           Electric       Gov. Aggregation   FEOH - OE     08025091670000790887        Electric       Gov. Aggregation
AEP - CSP     00040621099891605           Electric       Gov. Aggregation   FEOH - OE     08025094170000841273        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060710708611           Electric       Gov. Aggregation   FEOH - OE     08024575330001550970        Electric       Gov. Aggregation
AEP - OP      00140060710711431           Electric       Gov. Aggregation   FEOH - OE     08024576920000803614        Electric       Gov. Aggregation
AEP - OP      00140060710737753           Electric       Gov. Aggregation   FEOH - OE     08024577880000803630        Electric       Gov. Aggregation
AEP - OP      00140060710803861           Electric       Gov. Aggregation   FEOH - OE     08024581310000782703        Electric       Gov. Aggregation
AEP - OP      00140060710990763           Electric       Gov. Aggregation   FEOH - OE     08024602440000786346        Electric       Gov. Aggregation
AEP - OP      00140060711089801           Electric       Gov. Aggregation   FEOH - OE     08024602670000790673        Electric       Gov. Aggregation
AEP - OP      00140060711188491           Electric       Gov. Aggregation   FEOH - OE     08024603260000786358        Electric       Gov. Aggregation
AEP - OP      00140060706123854           Electric       Gov. Aggregation   FEOH - OE     08024605900000790730        Electric       Gov. Aggregation
AEP - OP      00140060706245092           Electric       Gov. Aggregation   FEOH - OE     08024606370000786405        Electric       Gov. Aggregation
AEP - OP      00140060706468343           Electric       Gov. Aggregation   FEOH - OE     08024607390000841296        Electric       Gov. Aggregation
AEP - OP      00140060706472930           Electric       Gov. Aggregation   FEOH - OE     08024607880000786427        Electric       Gov. Aggregation
AEP - OP      00140060706602871           Electric       Gov. Aggregation   FEOH - OE     08024632595000147279        Electric       Gov. Aggregation
AEP - OP      00140060706800205           Electric       Gov. Aggregation   FEOH - OE     08024633100000778242        Electric       Gov. Aggregation
AEP - OP      00140060706321195           Electric       Gov. Aggregation   FEOH - OE     08024643910000803716        Electric       Gov. Aggregation
AEP - OP      00140060706351913           Electric       Gov. Aggregation   FEOH - OE     08026805240001128402        Electric       Gov. Aggregation
AEP - OP      00140060706388122           Electric       Gov. Aggregation   FEOH - OE     08026863600001143274        Electric       Gov. Aggregation
AEP - OP      00140060706456905           Electric       Gov. Aggregation   FEOH - OE     08026863970001129266        Electric       Gov. Aggregation
AEP - OP      00140060706472215           Electric       Gov. Aggregation   FEOH - OE     08026927990001142763        Electric       Gov. Aggregation
AEP - OP      00140060706538264           Electric       Gov. Aggregation   FEOH - OE     08026936000001143300        Electric       Gov. Aggregation
AEP - OP      00140060706567550           Electric       Gov. Aggregation   FEOH - OE     08026937430001143320        Electric       Gov. Aggregation
AEP - OP      00140060700506943           Electric       Gov. Aggregation   FEOH - OE     08026940750001044740        Electric       Gov. Aggregation
AEP - OP      00140060700537054           Electric       Gov. Aggregation   FEOH - OE     08027466460001041594        Electric       Gov. Aggregation
AEP - OP      00140060700568802           Electric       Gov. Aggregation   FEOH - OE     08027468760001041626        Electric       Gov. Aggregation
AEP - OP      00140060700605311           Electric       Gov. Aggregation   FEOH - OE     08027480070001142906        Electric       Gov. Aggregation
AEP - OP      00140060700618203           Electric       Gov. Aggregation   FEOH - OE     08027481030001142920        Electric       Gov. Aggregation
AEP - OP      00140060700621053           Electric       Gov. Aggregation   FEOH - OE     08027483750001129447        Electric       Gov. Aggregation
AEP - OP      00140060700663323           Electric       Gov. Aggregation   FEOH - OE     08027484270001130603        Electric       Gov. Aggregation
AEP - OP      00140060706624221           Electric       Gov. Aggregation   FEOH - OE     08027485220001130614        Electric       Gov. Aggregation
AEP - OP      00140060706634333           Electric       Gov. Aggregation   FEOH - OE     08024389380000803306        Electric       Gov. Aggregation
AEP - OP      00140060706715115           Electric       Gov. Aggregation   FEOH - OE     08024406710000777850        Electric       Gov. Aggregation
AEP - OP      00140060706776241           Electric       Gov. Aggregation   FEOH - OE     08024409460000777900        Electric       Gov. Aggregation
AEP - OP      00140060706949030           Electric       Gov. Aggregation   FEOH - OE     08024432025000088353        Electric       Gov. Aggregation
AEP - OP      00140060707038251           Electric       Gov. Aggregation   FEOH - OE     08024442870000782610        Electric       Gov. Aggregation
AEP - OP      00140060707292395           Electric       Gov. Aggregation   FEOH - OE     08024445490000790363        Electric       Gov. Aggregation
AEP - OP      00140060707316395           Electric       Gov. Aggregation   FEOH - OE     08024449670000803358        Electric       Gov. Aggregation
AEP - OP      00140060707402065           Electric       Gov. Aggregation   FEOH - OE     08027069270001127657        Electric       Gov. Aggregation
AEP - OP      00140060707420555           Electric       Gov. Aggregation   FEOH - OE     08027132870001129369        Electric       Gov. Aggregation
AEP - OP      00140060707465830           Electric       Gov. Aggregation   FEOH - OE     08027136800001129311        Electric       Gov. Aggregation
AEP - OP      00140060707474552           Electric       Gov. Aggregation   FEOH - OE     08027139710001544103        Electric       Gov. Aggregation
AEP - OP      00140060711238311           Electric       Gov. Aggregation   FEOH - OE     08027139860001127894        Electric       Gov. Aggregation
AEP - OP      00140060711571291           Electric       Gov. Aggregation   FEOH - OE     08027152225001473666        Electric       Gov. Aggregation
AEP - OP      00140060711654574           Electric       Gov. Aggregation   FEOH - OE     08025095650000790952        Electric       Gov. Aggregation
AEP - OP      00140060711881341           Electric       Gov. Aggregation   FEOH - OE     08025098240000790989        Electric       Gov. Aggregation
AEP - OP      00140060711892582           Electric       Gov. Aggregation   FEOH - OE     08025130440000804444        Electric       Gov. Aggregation
AEP - OP      00140060712030815           Electric       Gov. Aggregation   FEOH - OE     08025131380000804459        Electric       Gov. Aggregation
AEP - OP      00140060712039684           Electric       Gov. Aggregation   FEOH - OE     08025132080000804468        Electric       Gov. Aggregation
AEP - OP      00140060705061171           Electric       Gov. Aggregation   FEOH - OE     08025138270000804558        Electric       Gov. Aggregation
AEP - OP      00140060705132251           Electric       Gov. Aggregation   FEOH - OE     08025155040000769745        Electric       Gov. Aggregation
AEP - OP      00140060705286343           Electric       Gov. Aggregation   FEOH - OE     08026254070001042722        Electric       Gov. Aggregation
AEP - OP      00140060705345383           Electric       Gov. Aggregation   FEOH - OE     08026254070001042731        Electric       Gov. Aggregation
AEP - OP      00140060705418721           Electric       Gov. Aggregation   FEOH - OE     08026254070001042745        Electric       Gov. Aggregation
AEP - OP      00140060705470205           Electric       Gov. Aggregation   FEOH - OE     08026254070001042760        Electric       Gov. Aggregation
AEP - OP      00140060705508454           Electric       Gov. Aggregation   FEOH - OE     08026254070001042781        Electric       Gov. Aggregation
AEP - OP      00140060700673823           Electric       Gov. Aggregation   FEOH - OE     08026254070001042796        Electric       Gov. Aggregation
AEP - OP      00140060700882615           Electric       Gov. Aggregation   FEOH - OE     08026254070001042805        Electric       Gov. Aggregation
AEP - OP      00140060700884761           Electric       Gov. Aggregation   FEOH - OE     08024603530000790689        Electric       Gov. Aggregation
AEP - OP      00140060700921023           Electric       Gov. Aggregation   FEOH - OE     08024606160001405128        Electric       Gov. Aggregation
AEP - OP      00140060700966265           Electric       Gov. Aggregation   FEOH - OE     08024606650000786409        Electric       Gov. Aggregation
AEP - OP      00140060701121455           Electric       Gov. Aggregation   FEOH - OE     08024607080000841293        Electric       Gov. Aggregation
AEP - OP      00140060701171325           Electric       Gov. Aggregation   FEOH - OE     08024607080000841294        Electric       Gov. Aggregation
AEP - OP      00140060706602182           Electric       Gov. Aggregation   FEOH - OE     08024607970000786429        Electric       Gov. Aggregation
AEP - OP      00140060706623601           Electric       Gov. Aggregation   FEOH - OE     08024630720000778209        Electric       Gov. Aggregation
AEP - OP      00140060706644442           Electric       Gov. Aggregation   FEOH - OE     08024644550001482796        Electric       Gov. Aggregation
AEP - OP      00140060706723415           Electric       Gov. Aggregation   FEOH - OE     08024646090000783761        Electric       Gov. Aggregation
AEP - OP      00140060706738455           Electric       Gov. Aggregation   FEOH - OE     08024647280000783793        Electric       Gov. Aggregation
AEP - OP      00140060706839691           Electric       Gov. Aggregation   FEOH - OE     08024647440000790023        Electric       Gov. Aggregation
AEP - OP      00140060706906990           Electric       Gov. Aggregation   FEOH - OE     08024648420000783807        Electric       Gov. Aggregation
AEP - OP      00140060700010464           Electric       Gov. Aggregation   FEOH - OE     08024649230000783818        Electric       Gov. Aggregation
AEP - OP      00140060700225611           Electric       Gov. Aggregation   FEOH - OE     08024651810000790693        Electric       Gov. Aggregation
AEP - OP      00140060700244361           Electric       Gov. Aggregation   FEOH - OE     08026956270001142230        Electric       Gov. Aggregation
AEP - OP      00140060700281805           Electric       Gov. Aggregation   FEOH - OE     08027002130001143324        Electric       Gov. Aggregation
AEP - OP      00140060700347141           Electric       Gov. Aggregation   FEOH - OE     08027003730001143348        Electric       Gov. Aggregation
AEP - OP      00140060700395643           Electric       Gov. Aggregation   FEOH - OE     08027003940001306081        Electric       Gov. Aggregation
AEP - OP      00140060700482501           Electric       Gov. Aggregation   FEOH - OE     08027004130001127444        Electric       Gov. Aggregation
AEP - OP      00140060706919324           Electric       Gov. Aggregation   FEOH - OE     08027004560001127451        Electric       Gov. Aggregation
AEP - OP      00140060706954242           Electric       Gov. Aggregation   FEOH - OE     08027009485001449770        Electric       Gov. Aggregation
AEP - OP      00140060707030373           Electric       Gov. Aggregation   FEOH - OE     08026254070001042808        Electric       Gov. Aggregation
AEP - OP      00140060707592455           Electric       Gov. Aggregation   FEOH - OE     08026254070001042816        Electric       Gov. Aggregation
AEP - OP      00140060707626455           Electric       Gov. Aggregation   FEOH - OE     08026260980001040615        Electric       Gov. Aggregation
AEP - OP      00140060707643743           Electric       Gov. Aggregation   FEOH - OE     08026263850001044155        Electric       Gov. Aggregation
AEP - OP      00140060707851263           Electric       Gov. Aggregation   FEOH - OE     08026269850001044240        Electric       Gov. Aggregation
AEP - OP      00140060707055533           Electric       Gov. Aggregation   FEOH - OE     08026323470001044288        Electric       Gov. Aggregation
AEP - OP      00140060707078110           Electric       Gov. Aggregation   FEOH - OE     08026324180001044299        Electric       Gov. Aggregation
AEP - OP      00140060707426224           Electric       Gov. Aggregation   FEOH - OE     08027011440001045219        Electric       Gov. Aggregation
AEP - OP      00140060707610464           Electric       Gov. Aggregation   FEOH - OE     08027060220001127528        Electric       Gov. Aggregation
AEP - OP      00140060707689342           Electric       Gov. Aggregation   FEOH - OE     08027067810001127641        Electric       Gov. Aggregation
AEP - OP      00140060707907311           Electric       Gov. Aggregation   FEOH - OE     08027068270001127649        Electric       Gov. Aggregation
AEP - OP      00140060707956433           Electric       Gov. Aggregation   FEOH - OE     08027069140001130534        Electric       Gov. Aggregation
AEP - OP      00140060707497534           Electric       Gov. Aggregation   FEOH - OE     08027077990001129502        Electric       Gov. Aggregation
AEP - OP      00140060707595503           Electric       Gov. Aggregation   FEOH - OE     08027087670001349999        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060707613393           Electric       Gov. Aggregation   FEOH - OE     08027487240001130643        Electric       Gov. Aggregation
AEP - OP      00140060707689311           Electric       Gov. Aggregation   FEOH - OE     08027487400001143015        Electric       Gov. Aggregation
AEP - OP      00140060707703515           Electric       Gov. Aggregation   FEOH - OE     08027488070001142868        Electric       Gov. Aggregation
AEP - OP      00140060707795084           Electric       Gov. Aggregation   FEOH - OE     08027495020001044205        Electric       Gov. Aggregation
AEP - OP      00140060712065772           Electric       Gov. Aggregation   FEOH - OE     08027495290001044269        Electric       Gov. Aggregation
AEP - OP      00140060712122592           Electric       Gov. Aggregation   FEOH - OE     08027495860001041842        Electric       Gov. Aggregation
AEP - OP      00140060712138971           Electric       Gov. Aggregation   FEOH - OE     08027500180001044697        Electric       Gov. Aggregation
AEP - OP      00140060712195954           Electric       Gov. Aggregation   FEOH - OE     08026324950001044310        Electric       Gov. Aggregation
AEP - OP      00140060712289041           Electric       Gov. Aggregation   FEOH - OE     08026325770001044320        Electric       Gov. Aggregation
AEP - OP      00140060712325170           Electric       Gov. Aggregation   FEOH - OE     08026326370001044327        Electric       Gov. Aggregation
AEP - OP      00140060705604161           Electric       Gov. Aggregation   FEOH - OE     08026327650001044344        Electric       Gov. Aggregation
AEP - OP      00140060705611752           Electric       Gov. Aggregation   FEOH - OE     08026335665000148490        Electric       Gov. Aggregation
AEP - OP      00140060705645104           Electric       Gov. Aggregation   FEOH - OE     08026356730001129912        Electric       Gov. Aggregation
AEP - OP      00140060705680124           Electric       Gov. Aggregation   FEOH - OE     08026374080001128370        Electric       Gov. Aggregation
AEP - OP      00140060705846704           Electric       Gov. Aggregation   FEOH - OE     08024461260000790308        Electric       Gov. Aggregation
AEP - OP      00140060705854851           Electric       Gov. Aggregation   FEOH - OE     08024463400001327104        Electric       Gov. Aggregation
AEP - OP      00140060705939213           Electric       Gov. Aggregation   FEOH - OE     08024466020000790376        Electric       Gov. Aggregation
AEP - OP      00140060701190435           Electric       Gov. Aggregation   FEOH - OE     08024467280000790395        Electric       Gov. Aggregation
AEP - OP      00140060701388024           Electric       Gov. Aggregation   FEOH - OE     08024469690000790427        Electric       Gov. Aggregation
AEP - OP      00140060701443480           Electric       Gov. Aggregation   FEOH - OE     08024480450000777914        Electric       Gov. Aggregation
AEP - OP      00140060701532040           Electric       Gov. Aggregation   FEOH - OE     08024480690000777838        Electric       Gov. Aggregation
AEP - OP      00140060701563323           Electric       Gov. Aggregation   FEOH - OE     08027156150001128921        Electric       Gov. Aggregation
AEP - OP      00140060701629471           Electric       Gov. Aggregation   FEOH - OE     08027201270001127816        Electric       Gov. Aggregation
AEP - OP      00140060701724575           Electric       Gov. Aggregation   FEOH - OE     08027205190001129500        Electric       Gov. Aggregation
AEP - OP      00140060706910705           Electric       Gov. Aggregation   FEOH - OE     08027208480001129410        Electric       Gov. Aggregation
AEP - OP      00140060706924281           Electric       Gov. Aggregation   FEOH - OE     08027208810001129414        Electric       Gov. Aggregation
AEP - OP      00140060706936764           Electric       Gov. Aggregation   FEOH - OE     08027270130001128307        Electric       Gov. Aggregation
AEP - OP      00140060707051244           Electric       Gov. Aggregation   FEOH - OE     08027270870001128317        Electric       Gov. Aggregation
AEP - OP      00140060707133824           Electric       Gov. Aggregation   FEOH - OE     08025156120000769759        Electric       Gov. Aggregation
AEP - OP      00140060707226683           Electric       Gov. Aggregation   FEOH - OE     08025160240000790381        Electric       Gov. Aggregation
AEP - OP      00140060707441154           Electric       Gov. Aggregation   FEOH - OE     08025161180001372264        Electric       Gov. Aggregation
AEP - OP      00140060700517334           Electric       Gov. Aggregation   FEOH - OE     08025164940000791095        Electric       Gov. Aggregation
AEP - OP      00140060700518395           Electric       Gov. Aggregation   FEOH - OE     08025166870000791123        Electric       Gov. Aggregation
AEP - OP      00140060700618291           Electric       Gov. Aggregation   FEOH - OE     08025168240000791148        Electric       Gov. Aggregation
AEP - OP      00140060700671323           Electric       Gov. Aggregation   FEOH - OE     08025200580000804592        Electric       Gov. Aggregation
AEP - OP      00140060700698403           Electric       Gov. Aggregation   FEOH - OE     08026379110001128256        Electric       Gov. Aggregation
AEP - OP      00140060700721081           Electric       Gov. Aggregation   FEOH - OE     08026394620001044444        Electric       Gov. Aggregation
AEP - OP      00140060700790514           Electric       Gov. Aggregation   FEOH - OE     08026440505000160284        Electric       Gov. Aggregation
AEP - OP      00140060707877190           Electric       Gov. Aggregation   FEOH - OE     08026440580001128278        Electric       Gov. Aggregation
AEP - OP      00140060707908233           Electric       Gov. Aggregation   FEOH - OE     08026442110001143123        Electric       Gov. Aggregation
AEP - OP      00140060708192505           Electric       Gov. Aggregation   FEOH - OE     08026444510001128186        Electric       Gov. Aggregation
AEP - OP      00140060708200123           Electric       Gov. Aggregation   FEOH - OE     08027088030001041814        Electric       Gov. Aggregation
AEP - OP      00140060708222245           Electric       Gov. Aggregation   FEOH - OE     08027123790001129436        Electric       Gov. Aggregation
AEP - OP      00140060708384115           Electric       Gov. Aggregation   FEOH - OE     08027131390001127684        Electric       Gov. Aggregation
AEP - OP      00140060707978234           Electric       Gov. Aggregation   FEOH - OE     08027133710001127716        Electric       Gov. Aggregation
AEP - OP      00140060707999101           Electric       Gov. Aggregation   FEOH - OE     08027136130001127751        Electric       Gov. Aggregation
AEP - OP      00140060708158380           Electric       Gov. Aggregation   FEOH - OE     08027137530001127771        Electric       Gov. Aggregation
AEP - OP      00140060708388984           Electric       Gov. Aggregation   FEOH - OE     08027139450001127795        Electric       Gov. Aggregation
AEP - OP      00140060708423380           Electric       Gov. Aggregation   FEOH - OE     08024633330000778246        Electric       Gov. Aggregation
AEP - OP      00140060708080115           Electric       Gov. Aggregation   FEOH - OE     08024637050000791163        Electric       Gov. Aggregation
AEP - OP      00140060708252335           Electric       Gov. Aggregation   FEOH - OE     08024637880001351381        Electric       Gov. Aggregation
AEP - OP      00140060708286673           Electric       Gov. Aggregation   FEOH - OE     08024640470000803667        Electric       Gov. Aggregation
AEP - OP      00140060708467151           Electric       Gov. Aggregation   FEOH - OE     08024640620000803669        Electric       Gov. Aggregation
AEP - OP      00140060708539493           Electric       Gov. Aggregation   FEOH - OE     08024647440000790022        Electric       Gov. Aggregation
AEP - OP      00140060708670822           Electric       Gov. Aggregation   FEOH - OE     08024647450001371878        Electric       Gov. Aggregation
AEP - OP      00140060708701663           Electric       Gov. Aggregation   FEOH - OE     08027533380001041695        Electric       Gov. Aggregation
AEP - OP      00140060712354064           Electric       Gov. Aggregation   FEOH - OE     08027534090001041704        Electric       Gov. Aggregation
AEP - OP      00140060712424960           Electric       Gov. Aggregation   FEOH - OE     08027537970001041758        Electric       Gov. Aggregation
AEP - OP      00140060712512494           Electric       Gov. Aggregation   FEOH - OE     08027538430001142451        Electric       Gov. Aggregation
AEP - OP      00140060712752833           Electric       Gov. Aggregation   FEOH - OE     08027541520001130705        Electric       Gov. Aggregation
AEP - OP      00140060712828904           Electric       Gov. Aggregation   FEOH - OE     08027542460001143087        Electric       Gov. Aggregation
AEP - OP      00140060712888052           Electric       Gov. Aggregation   FEOH - OE     08027542520001143089        Electric       Gov. Aggregation
AEP - OP      00140060713028805           Electric       Gov. Aggregation   FEOH - OE     08024648160000783804        Electric       Gov. Aggregation
AEP - OP      00140060705962783           Electric       Gov. Aggregation   FEOH - OE     08024649770000803804        Electric       Gov. Aggregation
AEP - OP      00140060705989001           Electric       Gov. Aggregation   FEOH - OE     08024675810001464127        Electric       Gov. Aggregation
AEP - OP      00140060706043303           Electric       Gov. Aggregation   FEOH - OE     08024676480000790793        Electric       Gov. Aggregation
AEP - OP      00140060706126784           Electric       Gov. Aggregation   FEOH - OE     08024677310001483518        Electric       Gov. Aggregation
AEP - OP      00140060706489341           Electric       Gov. Aggregation   FEOH - OE     08024679290000789214        Electric       Gov. Aggregation
AEP - OP      00140060706561333           Electric       Gov. Aggregation   FEOH - OE     08024707130000778386        Electric       Gov. Aggregation
AEP - OP      00140060707462441           Electric       Gov. Aggregation   FEOH - OE     08024670930000786473        Electric       Gov. Aggregation
AEP - OP      00140060707556591           Electric       Gov. Aggregation   FEOH - OE     08024671570000784648        Electric       Gov. Aggregation
AEP - OP      00140060707767755           Electric       Gov. Aggregation   FEOH - OE     08024674390000786525        Electric       Gov. Aggregation
AEP - OP      00140060707836734           Electric       Gov. Aggregation   FEOH - OE     08024674495001420502        Electric       Gov. Aggregation
AEP - OP      00140060707917800           Electric       Gov. Aggregation   FEOH - OE     08024674860000786533        Electric       Gov. Aggregation
AEP - OP      00140060701024801           Electric       Gov. Aggregation   FEOH - OE     08024677260001477433        Electric       Gov. Aggregation
AEP - OP      00140060701028331           Electric       Gov. Aggregation   FEOH - OE     08024718740001322425        Electric       Gov. Aggregation
AEP - OP      00140060701046930           Electric       Gov. Aggregation   FEOH - OE     08024485010001322424        Electric       Gov. Aggregation
AEP - OP      00140060701135140           Electric       Gov. Aggregation   FEOH - OE     08024504660000791058        Electric       Gov. Aggregation
AEP - OP      00140060701303015           Electric       Gov. Aggregation   FEOH - OE     08024510750000803375        Electric       Gov. Aggregation
AEP - OP      00140060701419440           Electric       Gov. Aggregation   FEOH - OE     08024512570000803401        Electric       Gov. Aggregation
AEP - OP      00140060701786054           Electric       Gov. Aggregation   FEOH - OE     08024512940001482180        Electric       Gov. Aggregation
AEP - OP      00140060708409815           Electric       Gov. Aggregation   FEOH - OE     08024512970000803408        Electric       Gov. Aggregation
AEP - OP      00140060708610104           Electric       Gov. Aggregation   FEOH - OE     08024517120000803469        Electric       Gov. Aggregation
AEP - OP      00140060708628653           Electric       Gov. Aggregation   FEOH - OE     08027271050001128320        Electric       Gov. Aggregation
AEP - OP      00140060708844801           Electric       Gov. Aggregation   FEOH - OE     08027273970001129717        Electric       Gov. Aggregation
AEP - OP      00140060708963071           Electric       Gov. Aggregation   FEOH - OE     08027276990001130214        Electric       Gov. Aggregation
AEP - OP      00140060709155952           Electric       Gov. Aggregation   FEOH - OE     08027277280001142715        Electric       Gov. Aggregation
AEP - OP      00140060701912480           Electric       Gov. Aggregation   FEOH - OE     08027279770001130253        Electric       Gov. Aggregation
AEP - OP      00140060701913815           Electric       Gov. Aggregation   FEOH - OE     08027338580001130718        Electric       Gov. Aggregation
AEP - OP      00140060701979525           Electric       Gov. Aggregation   FEOH - OE     08027343910001130308        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060702076304           Electric       Gov. Aggregation   FEOH - OE     08025200630000804593        Electric       Gov. Aggregation
AEP - OP      00140060702128341           Electric       Gov. Aggregation   FEOH - OE     08025209220000804344        Electric       Gov. Aggregation
AEP - OP      00140060702536163           Electric       Gov. Aggregation   FEOH - OE     08025209500000804314        Electric       Gov. Aggregation
AEP - OP      00140060702630344           Electric       Gov. Aggregation   FEOH - OE     08025210470000786644        Electric       Gov. Aggregation
AEP - OP      00140060708485352           Electric       Gov. Aggregation   FEOH - OE     08025230560000791183        Electric       Gov. Aggregation
AEP - OP      00140060708492351           Electric       Gov. Aggregation   FEOH - OE     08025232750000791215        Electric       Gov. Aggregation
AEP - OP      00140060708495095           Electric       Gov. Aggregation   FEOH - OE     08025234250000791105        Electric       Gov. Aggregation
AEP - OP      00140060708555582           Electric       Gov. Aggregation   FEOH - OE     08027544220001130741        Electric       Gov. Aggregation
AEP - OP      00140060708555622           Electric       Gov. Aggregation   FEOH - OE     08027546440001130772        Electric       Gov. Aggregation
AEP - OP      00140060708571853           Electric       Gov. Aggregation   FEOH - OE     08027548270001142913        Electric       Gov. Aggregation
AEP - OP      00140060708779280           Electric       Gov. Aggregation   FEOH - OE     08027549120001128018        Electric       Gov. Aggregation
AEP - OP      00140060708709995           Electric       Gov. Aggregation   FEOH - OE     08027560500001043632        Electric       Gov. Aggregation
AEP - OP      00140060708843534           Electric       Gov. Aggregation   FEOH - OE     08027562210001130695        Electric       Gov. Aggregation
AEP - OP      00140060708880021           Electric       Gov. Aggregation   FEOH - OE     08027566410001043711        Electric       Gov. Aggregation
AEP - OP      00140060708948285           Electric       Gov. Aggregation   FEOH - OE     08027139500001127796        Electric       Gov. Aggregation
AEP - OP      00140060708949295           Electric       Gov. Aggregation   FEOH - OE     08027149760001521402        Electric       Gov. Aggregation
AEP - OP      00140060708949623           Electric       Gov. Aggregation   FEOH - OE     08027153680001127954        Electric       Gov. Aggregation
AEP - OP      00140060709074583           Electric       Gov. Aggregation   FEOH - OE     08027166610001330476        Electric       Gov. Aggregation
AEP - OP      00140060713031664           Electric       Gov. Aggregation   FEOH - OE     08027167910001130676        Electric       Gov. Aggregation
AEP - OP      00140060713078120           Electric       Gov. Aggregation   FEOH - OE     08027190780001128136        Electric       Gov. Aggregation
AEP - OP      00140060713392803           Electric       Gov. Aggregation   FEOH - OE     08027197470001477926        Electric       Gov. Aggregation
AEP - OP      00140060713438270           Electric       Gov. Aggregation   FEOH - OE     08024708465000133439        Electric       Gov. Aggregation
AEP - OP      00140060713651962           Electric       Gov. Aggregation   FEOH - OE     08024712110000803837        Electric       Gov. Aggregation
AEP - OP      00140060713750091           Electric       Gov. Aggregation   FEOH - OE     08024713650000803857        Electric       Gov. Aggregation
AEP - OP      00140060706601903           Electric       Gov. Aggregation   FEOH - OE     08024718280001322006        Electric       Gov. Aggregation
AEP - OP      00140060706678001           Electric       Gov. Aggregation   FEOH - OE     08024734690000791741        Electric       Gov. Aggregation
AEP - OP      00140060706788454           Electric       Gov. Aggregation   FEOH - OE     08024740240000786619        Electric       Gov. Aggregation
AEP - OP      00140060707136914           Electric       Gov. Aggregation   FEOH - OE     08024743520000762379        Electric       Gov. Aggregation
AEP - OP      00140060707204874           Electric       Gov. Aggregation   FEOH - OE     08024719700001334588        Electric       Gov. Aggregation
AEP - OP      00140060707266511           Electric       Gov. Aggregation   FEOH - OE     08024720790000798969        Electric       Gov. Aggregation
AEP - OP      00140060707300641           Electric       Gov. Aggregation   FEOH - OE     08024741730000786648        Electric       Gov. Aggregation
AEP - OP      00140060707959212           Electric       Gov. Aggregation   FEOH - OE     08024743200000788815        Electric       Gov. Aggregation
AEP - OP      00140060707964133           Electric       Gov. Aggregation   FEOH - OE     08024773075000079145        Electric       Gov. Aggregation
AEP - OP      00140060707994210           Electric       Gov. Aggregation   FEOH - OE     08024774160000778255        Electric       Gov. Aggregation
AEP - OP      00140060707999461           Electric       Gov. Aggregation   FEOH - OE     08024775260001455851        Electric       Gov. Aggregation
AEP - OP      00140060708208320           Electric       Gov. Aggregation   FEOH - OE     08026444770001128189        Electric       Gov. Aggregation
AEP - OP      00140060708384070           Electric       Gov. Aggregation   FEOH - OE     08026445160001128195        Electric       Gov. Aggregation
AEP - OP      00140060708455002           Electric       Gov. Aggregation   FEOH - OE     08026460930001044535        Electric       Gov. Aggregation
AEP - OP      00140060709188423           Electric       Gov. Aggregation   FEOH - OE     08026465210001044591        Electric       Gov. Aggregation
AEP - OP      00140060709228022           Electric       Gov. Aggregation   FEOH - OE     08026466610001044613        Electric       Gov. Aggregation
AEP - OP      00140060709264322           Electric       Gov. Aggregation   FEOH - OE     08026508780001128217        Electric       Gov. Aggregation
AEP - OP      00140060709446590           Electric       Gov. Aggregation   FEOH - OE     08025236820000791276        Electric       Gov. Aggregation
AEP - OP      00140060709705620           Electric       Gov. Aggregation   FEOH - OE     08025237250000791282        Electric       Gov. Aggregation
AEP - OP      00140060709870031           Electric       Gov. Aggregation   FEOH - OE     08025237800000791290        Electric       Gov. Aggregation
AEP - OP      00140060709893252           Electric       Gov. Aggregation   FEOH - OE     08025238180000787756        Electric       Gov. Aggregation
AEP - OP      00140060702658445           Electric       Gov. Aggregation   FEOH - OE     08025274550001459330        Electric       Gov. Aggregation
AEP - OP      00140060702702873           Electric       Gov. Aggregation   FEOH - OE     08025276050001342082        Electric       Gov. Aggregation
AEP - OP      00140060702821904           Electric       Gov. Aggregation   FEOH - OE     08025297060001044483        Electric       Gov. Aggregation
AEP - OP      00140060702823042           Electric       Gov. Aggregation   FEOH - OE     08024519340000803504        Electric       Gov. Aggregation
AEP - OP      00140060702825305           Electric       Gov. Aggregation   FEOH - OE     08024532670000790470        Electric       Gov. Aggregation
AEP - OP      00140060702841385           Electric       Gov. Aggregation   FEOH - OE     08024536020000790518        Electric       Gov. Aggregation
AEP - OP      00140060702854843           Electric       Gov. Aggregation   FEOH - OE     08024537720000790557        Electric       Gov. Aggregation
AEP - OP      00140060701874483           Electric       Gov. Aggregation   FEOH - OE     08024538960000786298        Electric       Gov. Aggregation
AEP - OP      00140060701906222           Electric       Gov. Aggregation   FEOH - OE     08024539450001551118        Electric       Gov. Aggregation
AEP - OP      00140060701916581           Electric       Gov. Aggregation   FEOH - OE     08024554690000778123        Electric       Gov. Aggregation
AEP - OP      00140060701972364           Electric       Gov. Aggregation   FEOH - OE     08027594400001041929        Electric       Gov. Aggregation
AEP - OP      00140060702000422           Electric       Gov. Aggregation   FEOH - OE     08027611800001130846        Electric       Gov. Aggregation
AEP - OP      00140060702035234           Electric       Gov. Aggregation   FEOH - OE     08027613150001131103        Electric       Gov. Aggregation
AEP - OP      00140060708806020           Electric       Gov. Aggregation   FEOH - OE     08027615000001390237        Electric       Gov. Aggregation
AEP - OP      00140060708915621           Electric       Gov. Aggregation   FEOH - OE     08027615520001131084        Electric       Gov. Aggregation
AEP - OP      00140060709223280           Electric       Gov. Aggregation   FEOH - OE     08027617350001041698        Electric       Gov. Aggregation
AEP - OP      00140060709274083           Electric       Gov. Aggregation   FEOH - OE     08027625560001043833        Electric       Gov. Aggregation
AEP - OP      00140060709460955           Electric       Gov. Aggregation   FEOH - OE     08027200510001127805        Electric       Gov. Aggregation
AEP - OP      00140060709585000           Electric       Gov. Aggregation   FEOH - OE     08027201210001127815        Electric       Gov. Aggregation
AEP - OP      00140060709682143           Electric       Gov. Aggregation   FEOH - OE     08027202460001127834        Electric       Gov. Aggregation
AEP - OP      00140060710070465           Electric       Gov. Aggregation   FEOH - OE     08027204820001127866        Electric       Gov. Aggregation
AEP - OP      00140060710271604           Electric       Gov. Aggregation   FEOH - OE     08027205600001562226        Electric       Gov. Aggregation
AEP - OP      00140060710284352           Electric       Gov. Aggregation   FEOH - OE     08027208720001129413        Electric       Gov. Aggregation
AEP - OP      00140060710324662           Electric       Gov. Aggregation   FEOH - OE     08027237300001127955        Electric       Gov. Aggregation
AEP - OP      00140060710361302           Electric       Gov. Aggregation   FEOH - OE     08024749730000788820        Electric       Gov. Aggregation
AEP - OP      00140060710398933           Electric       Gov. Aggregation   FEOH - OE     08024773930001400957        Electric       Gov. Aggregation
AEP - OP      00140060710592774           Electric       Gov. Aggregation   FEOH - OE     08024776930001512878        Electric       Gov. Aggregation
AEP - OP      00140060713786031           Electric       Gov. Aggregation   FEOH - OE     08024780490001345424        Electric       Gov. Aggregation
AEP - OP      00140060714101982           Electric       Gov. Aggregation   FEOH - OE     08024781170001347677        Electric       Gov. Aggregation
AEP - OP      00140060714174460           Electric       Gov. Aggregation   FEOH - OE     08024782020001351282        Electric       Gov. Aggregation
AEP - OP      00140060714275885           Electric       Gov. Aggregation   FEOH - OE     08024782160001352017        Electric       Gov. Aggregation
AEP - OP      00140060714398625           Electric       Gov. Aggregation   FEOH - OE     08027344460001130317        Electric       Gov. Aggregation
AEP - OP      00140060714420954           Electric       Gov. Aggregation   FEOH - OE     08027344530001130318        Electric       Gov. Aggregation
AEP - OP      00140060714512100           Electric       Gov. Aggregation   FEOH - OE     08027345530001130331        Electric       Gov. Aggregation
AEP - OP      00140060707333893           Electric       Gov. Aggregation   FEOH - OE     08027346570001142674        Electric       Gov. Aggregation
AEP - OP      00140060707476704           Electric       Gov. Aggregation   FEOH - OE     08027347260001142740        Electric       Gov. Aggregation
AEP - OP      00140060707535431           Electric       Gov. Aggregation   FEOH - OE     08027348510001130372        Electric       Gov. Aggregation
AEP - OP      00140060707546673           Electric       Gov. Aggregation   FEOH - OE     08027349520001142776        Electric       Gov. Aggregation
AEP - OP      00140060707585773           Electric       Gov. Aggregation   FEOH - OE     08024782330001355091        Electric       Gov. Aggregation
AEP - OP      00140060707750913           Electric       Gov. Aggregation   FEOH - OE     08024783790001373409        Electric       Gov. Aggregation
AEP - OP      00140060707803641           Electric       Gov. Aggregation   FEOH - OE     08024785000001380443        Electric       Gov. Aggregation
AEP - OP      00140060702889235           Electric       Gov. Aggregation   FEOH - OE     08024785550001382878        Electric       Gov. Aggregation
AEP - OP      00140060702935702           Electric       Gov. Aggregation   FEOH - OE     08024786020000803731        Electric       Gov. Aggregation
AEP - OP      00140060702955613           Electric       Gov. Aggregation   FEOH - OE     08024786650001392842        Electric       Gov. Aggregation
AEP - OP      00140060703315723           Electric       Gov. Aggregation   FEOH - OE     08024788510001405061        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060703415510           Electric       Gov. Aggregation   FEOH - OE     08026513530001129467        Electric       Gov. Aggregation
AEP - OP      00140060703435740           Electric       Gov. Aggregation   FEOH - OE     08026516990001129522        Electric       Gov. Aggregation
AEP - OP      00140060703436524           Electric       Gov. Aggregation   FEOH - OE     08026518460001129543        Electric       Gov. Aggregation
AEP - OP      00140060709708863           Electric       Gov. Aggregation   FEOH - OE     08026531670001044679        Electric       Gov. Aggregation
AEP - OP      00140060709731674           Electric       Gov. Aggregation   FEOH - OE     08026584480001129532        Electric       Gov. Aggregation
AEP - OP      00140060709797852           Electric       Gov. Aggregation   FEOH - OE     08026584480001130893        Electric       Gov. Aggregation
AEP - OP      00140060709991784           Electric       Gov. Aggregation   FEOH - OE     08026585390001129643        Electric       Gov. Aggregation
AEP - OP      00140060710138995           Electric       Gov. Aggregation   FEOH - OE     08025346090000804255        Electric       Gov. Aggregation
AEP - OP      00140060710200015           Electric       Gov. Aggregation   FEOH - OE     08025347545000093079        Electric       Gov. Aggregation
AEP - OP      00140060710221112           Electric       Gov. Aggregation   FEOH - OE     08025348570000804276        Electric       Gov. Aggregation
AEP - OP      00140060702141323           Electric       Gov. Aggregation   FEOH - OE     08025349040000804285        Electric       Gov. Aggregation
AEP - OP      00140060702281523           Electric       Gov. Aggregation   FEOH - OE     08025355380000786865        Electric       Gov. Aggregation
AEP - OP      00140060702415303           Electric       Gov. Aggregation   FEOH - OE     08025418710000849159        Electric       Gov. Aggregation
AEP - OP      00140060702458343           Electric       Gov. Aggregation   FEOH - OE     08025438140000848814        Electric       Gov. Aggregation
AEP - OP      00140060702588092           Electric       Gov. Aggregation   FEOH - OE     08027627630001040777        Electric       Gov. Aggregation
AEP - OP      00140060702663155           Electric       Gov. Aggregation   FEOH - OE     08027636360001044566        Electric       Gov. Aggregation
AEP - OP      00140060702668603           Electric       Gov. Aggregation   FEOH - OE     08027659480001042151        Electric       Gov. Aggregation
AEP - OP      00140060710726573           Electric       Gov. Aggregation   FEOH - OE     08027682550001130908        Electric       Gov. Aggregation
AEP - OP      00140060710861165           Electric       Gov. Aggregation   FEOH - OE     08027684620001128372        Electric       Gov. Aggregation
AEP - OP      00140060710934423           Electric       Gov. Aggregation   FEOH - OE     08027686480001351220        Electric       Gov. Aggregation
AEP - OP      00140060711020750           Electric       Gov. Aggregation   FEOH - OE     08027687920001487541        Electric       Gov. Aggregation
AEP - OP      00140060711027144           Electric       Gov. Aggregation   FEOH - OE     08027254040001128040        Electric       Gov. Aggregation
AEP - OP      00140060711047064           Electric       Gov. Aggregation   FEOH - OE     08027261200001520822        Electric       Gov. Aggregation
AEP - OP      00140060711186385           Electric       Gov. Aggregation   FEOH - OE     08027266300001363916        Electric       Gov. Aggregation
AEP - OP      00140060707879834           Electric       Gov. Aggregation   FEOH - OE     08027267050001131417        Electric       Gov. Aggregation
AEP - OP      00140060707880775           Electric       Gov. Aggregation   FEOH - OE     08027267050001131418        Electric       Gov. Aggregation
AEP - OP      00140060707986865           Electric       Gov. Aggregation   FEOH - OE     08027269280001351213        Electric       Gov. Aggregation
AEP - OP      00140060707998970           Electric       Gov. Aggregation   FEOH - OE     08027393190001041402        Electric       Gov. Aggregation
AEP - OP      00140060708202211           Electric       Gov. Aggregation   FEOH - OE     08027394560001041420        Electric       Gov. Aggregation
AEP - OP      00140060708294785           Electric       Gov. Aggregation   FEOH - OE     08027394770001041423        Electric       Gov. Aggregation
AEP - OP      00140060708306760           Electric       Gov. Aggregation   FEOH - OE     08027398960001041479        Electric       Gov. Aggregation
AEP - OP      00140060709089904           Electric       Gov. Aggregation   FEOH - OE     08027412420001142809        Electric       Gov. Aggregation
AEP - OP      00140060709108772           Electric       Gov. Aggregation   FEOH - OE     08027412490001142810        Electric       Gov. Aggregation
AEP - OP      00140060709294583           Electric       Gov. Aggregation   FEOH - OE     08027414320001130458        Electric       Gov. Aggregation
AEP - OP      00140060709312262           Electric       Gov. Aggregation   FEOH - OE     08024555020000778129        Electric       Gov. Aggregation
AEP - OP      00140060709369495           Electric       Gov. Aggregation   FEOH - OE     08024559590000778193        Electric       Gov. Aggregation
AEP - OP      00140060703449114           Electric       Gov. Aggregation   FEOH - OE     08024570210000803517        Electric       Gov. Aggregation
AEP - OP      00140060703529944           Electric       Gov. Aggregation   FEOH - OE     08024571100000804469        Electric       Gov. Aggregation
AEP - OP      00140060703541801           Electric       Gov. Aggregation   FEOH - OE     08024574050001526404        Electric       Gov. Aggregation
AEP - OP      00140060703560633           Electric       Gov. Aggregation   FEOH - OE     08024575820001556284        Electric       Gov. Aggregation
AEP - OP      00140060703604422           Electric       Gov. Aggregation   FEOH - OE     08024587160000782710        Electric       Gov. Aggregation
AEP - OP      00140060703657270           Electric       Gov. Aggregation   FEOH - OE     08024789840001423458        Electric       Gov. Aggregation
AEP - OP      00140060703663730           Electric       Gov. Aggregation   FEOH - OE     08024813930000786841        Electric       Gov. Aggregation
AEP - OP      00140060714597670           Electric       Gov. Aggregation   FEOH - OE     08024816190000786874        Electric       Gov. Aggregation
AEP - OP      00140060714643501           Electric       Gov. Aggregation   FEOH - OE     08024817340000786889        Electric       Gov. Aggregation
AEP - OP      00140060714654623           Electric       Gov. Aggregation   FEOH - OE     08024841510000778490        Electric       Gov. Aggregation
AEP - OP      00140060714690612           Electric       Gov. Aggregation   FEOH - OE     08024842440000778555        Electric       Gov. Aggregation
AEP - OP      00140060714961291           Electric       Gov. Aggregation   FEOH - OE     08026585550001129644        Electric       Gov. Aggregation
AEP - OP      00140060715100020           Electric       Gov. Aggregation   FEOH - OE     08026586530001130339        Electric       Gov. Aggregation
AEP - OP      00140060715210170           Electric       Gov. Aggregation   FEOH - OE     08026587250001141956        Electric       Gov. Aggregation
AEP - OP      00140060702813494           Electric       Gov. Aggregation   FEOH - OE     08026589770001129454        Electric       Gov. Aggregation
AEP - OP      00140060702964971           Electric       Gov. Aggregation   FEOH - OE     08026616730001141820        Electric       Gov. Aggregation
AEP - OP      00140060703055903           Electric       Gov. Aggregation   FEOH - OE     08026650360001127575        Electric       Gov. Aggregation
AEP - OP      00140060703059490           Electric       Gov. Aggregation   FEOH - OE     08026653740001129754        Electric       Gov. Aggregation
AEP - OP      00140060703076132           Electric       Gov. Aggregation   FEOH - OE     08024782960001367543        Electric       Gov. Aggregation
AEP - OP      00140060703223600           Electric       Gov. Aggregation   FEOH - OE     08024784240001376041        Electric       Gov. Aggregation
AEP - OP      00140060703393133           Electric       Gov. Aggregation   FEOH - OE     08024785630001382958        Electric       Gov. Aggregation
AEP - OP      00140060711304363           Electric       Gov. Aggregation   FEOH - OE     08024786080001386225        Electric       Gov. Aggregation
AEP - OP      00140060711425263           Electric       Gov. Aggregation   FEOH - OE     08024786730001392926        Electric       Gov. Aggregation
AEP - OP      00140060711431423           Electric       Gov. Aggregation   FEOH - OE     08024789730000791726        Electric       Gov. Aggregation
AEP - OP      00140060711473884           Electric       Gov. Aggregation   FEOH - OE     08024815080000786857        Electric       Gov. Aggregation
AEP - OP      00140060711503720           Electric       Gov. Aggregation   FEOH - OE     08025439100000848836        Electric       Gov. Aggregation
AEP - OP      00140060711514453           Electric       Gov. Aggregation   FEOH - OE     08025459560000809438        Electric       Gov. Aggregation
AEP - OP      00140060711587374           Electric       Gov. Aggregation   FEOH - OE     08025459820000809442        Electric       Gov. Aggregation
AEP - OP      00140060708455932           Electric       Gov. Aggregation   FEOH - OE     08025498880001045207        Electric       Gov. Aggregation
AEP - OP      00140060708480264           Electric       Gov. Aggregation   FEOH - OE     08025511525001260876        Electric       Gov. Aggregation
AEP - OP      00140060708627345           Electric       Gov. Aggregation   FEOH - OE     08025518950000806140        Electric       Gov. Aggregation
AEP - OP      00140060708637592           Electric       Gov. Aggregation   FEOH - OE     08025528590001043736        Electric       Gov. Aggregation
AEP - OP      00140060708673060           Electric       Gov. Aggregation   FEOH - OE     08027689530001130955        Electric       Gov. Aggregation
AEP - OP      00140060708682875           Electric       Gov. Aggregation   FEOH - OE     08027720060001042160        Electric       Gov. Aggregation
AEP - OP      00140060708695382           Electric       Gov. Aggregation   FEOH - OE     08027720700001042170        Electric       Gov. Aggregation
AEP - OP      00140060708333245           Electric       Gov. Aggregation   FEOH - OE     08027720780001042171        Electric       Gov. Aggregation
AEP - OP      00140060708535793           Electric       Gov. Aggregation   FEOH - OE     08027722430001042196        Electric       Gov. Aggregation
AEP - OP      00140060708818973           Electric       Gov. Aggregation   FEOH - OE     08027729590001043355        Electric       Gov. Aggregation
AEP - OP      00140060708933061           Electric       Gov. Aggregation   FEOH - OE     08027730680001130971        Electric       Gov. Aggregation
AEP - OP      00140060708939330           Electric       Gov. Aggregation   FEOH - OE     08027275840001129012        Electric       Gov. Aggregation
AEP - OP      00140060708972855           Electric       Gov. Aggregation   FEOH - OE     08027277840001130226        Electric       Gov. Aggregation
AEP - OP      00140060708995895           Electric       Gov. Aggregation   FEOH - OE     08027290310001042951        Electric       Gov. Aggregation
AEP - OP      00140060710236874           Electric       Gov. Aggregation   FEOH - OE     08027306360001394026        Electric       Gov. Aggregation
AEP - OP      00140060710305460           Electric       Gov. Aggregation   FEOH - OE     08027335890001045140        Electric       Gov. Aggregation
AEP - OP      00140060710408063           Electric       Gov. Aggregation   FEOH - OE     08027336270001044161        Electric       Gov. Aggregation
AEP - OP      00140060710424231           Electric       Gov. Aggregation   FEOH - OE     08027336510001045147        Electric       Gov. Aggregation
AEP - OP      00140060710467834           Electric       Gov. Aggregation   FEOH - OE     08027414740001130463        Electric       Gov. Aggregation
AEP - OP      00140060710537220           Electric       Gov. Aggregation   FEOH - OE     08027426840001043442        Electric       Gov. Aggregation
AEP - OP      00140060710600323           Electric       Gov. Aggregation   FEOH - OE     08027427250001129441        Electric       Gov. Aggregation
AEP - OP      00140060709379852           Electric       Gov. Aggregation   FEOH - OE     08027427790001043456        Electric       Gov. Aggregation
AEP - OP      00140060709395804           Electric       Gov. Aggregation   FEOH - OE     08027460880001041506        Electric       Gov. Aggregation
AEP - OP      00140060709430074           Electric       Gov. Aggregation   FEOH - OE     08027462160001041527        Electric       Gov. Aggregation
AEP - OP      00140060709637130           Electric       Gov. Aggregation   FEOH - OE     08027462660001041534        Electric       Gov. Aggregation
AEP - OP      00140060709694772           Electric       Gov. Aggregation   FEOH - OE     08024602180000790666        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060709880730           Electric       Gov. Aggregation   FEOH - OE     08024602530000790671        Electric       Gov. Aggregation
AEP - OP      00140060703719435           Electric       Gov. Aggregation   FEOH - OE     08024606310001432247        Electric       Gov. Aggregation
AEP - OP      00140060703898153           Electric       Gov. Aggregation   FEOH - OE     08024606560000841287        Electric       Gov. Aggregation
AEP - OP      00140060703984201           Electric       Gov. Aggregation   FEOH - OE     08024608350000786434        Electric       Gov. Aggregation
AEP - OP      00140060704124385           Electric       Gov. Aggregation   FEOH - OE     08024609790000786456        Electric       Gov. Aggregation
AEP - OP      00140060704187094           Electric       Gov. Aggregation   FEOH - OE     08024634330000778692        Electric       Gov. Aggregation
AEP - OP      00140060704226642           Electric       Gov. Aggregation   FEOH - OE     08024844130001342722        Electric       Gov. Aggregation
AEP - OP      00140060704294510           Electric       Gov. Aggregation   FEOH - OE     08024846010001325459        Electric       Gov. Aggregation
AEP - OP      00140060715329983           Electric       Gov. Aggregation   FEOH - OE     08024848380000778589        Electric       Gov. Aggregation
AEP - OP      00140060715332343           Electric       Gov. Aggregation   FEOH - OE     08024849370000778603        Electric       Gov. Aggregation
AEP - OP      00140060715455864           Electric       Gov. Aggregation   FEOH - OE     08024849810000778609        Electric       Gov. Aggregation
AEP - OP      00140060715484495           Electric       Gov. Aggregation   FEOH - OE     08024853970000803061        Electric       Gov. Aggregation
AEP - OP      00140060715533141           Electric       Gov. Aggregation   FEOH - OE     08024854570000803218        Electric       Gov. Aggregation
AEP - OP      00140060715543203           Electric       Gov. Aggregation   FEOH - OE     08026656550001044817        Electric       Gov. Aggregation
AEP - OP      00140060715650783           Electric       Gov. Aggregation   FEOH - OE     08026683225000161731        Electric       Gov. Aggregation
AEP - OP      00140060711620733           Electric       Gov. Aggregation   FEOH - OE     08026691220001143098        Electric       Gov. Aggregation
AEP - OP      00140060711623871           Electric       Gov. Aggregation   FEOH - OE     08026722090001129875        Electric       Gov. Aggregation
AEP - OP      00140060711679285           Electric       Gov. Aggregation   FEOH - OE     08026722800001129886        Electric       Gov. Aggregation
AEP - OP      00140060711724994           Electric       Gov. Aggregation   FEOH - OE     08026728300001129961        Electric       Gov. Aggregation
AEP - OP      00140060711916311           Electric       Gov. Aggregation   FEOH - OE     08026728910001130389        Electric       Gov. Aggregation
AEP - OP      00140060712008182           Electric       Gov. Aggregation   FEOH - OE     08024816140000786873        Electric       Gov. Aggregation
AEP - OP      00140060712065624           Electric       Gov. Aggregation   FEOH - OE     08024841115000216504        Electric       Gov. Aggregation
AEP - OP      00140060709057054           Electric       Gov. Aggregation   FEOH - OE     08024841360000778448        Electric       Gov. Aggregation
AEP - OP      00140060709058324           Electric       Gov. Aggregation   FEOH - OE     08024843850000778204        Electric       Gov. Aggregation
AEP - OP      00140060709134083           Electric       Gov. Aggregation   FEOH - OE     08024847240001346905        Electric       Gov. Aggregation
AEP - OP      00140060709140414           Electric       Gov. Aggregation   FEOH - OE     08024849100000778600        Electric       Gov. Aggregation
AEP - OP      00140060709212682           Electric       Gov. Aggregation   FEOH - OE     08025560700000809571        Electric       Gov. Aggregation
AEP - OP      00140060709226445           Electric       Gov. Aggregation   FEOH - OE     08025561620000809584        Electric       Gov. Aggregation
AEP - OP      00140060709228085           Electric       Gov. Aggregation   FEOH - OE     08025763500000844494        Electric       Gov. Aggregation
AEP - OP      00140060708809093           Electric       Gov. Aggregation   FEOH - OE     08025777480001043050        Electric       Gov. Aggregation
AEP - OP      00140060708847183           Electric       Gov. Aggregation   FEOH - OE     08025780100001535525        Electric       Gov. Aggregation
AEP - OP      00140060708931852           Electric       Gov. Aggregation   FEOH - OE     08025840600001043097        Electric       Gov. Aggregation
AEP - OP      00140060708953350           Electric       Gov. Aggregation   FEOH - OE     08027730860001358554        Electric       Gov. Aggregation
AEP - OP      00140060708985423           Electric       Gov. Aggregation   FEOH - OE     08027734520001130985        Electric       Gov. Aggregation
AEP - OP      00140060709129501           Electric       Gov. Aggregation   FEOH - OE     08027734900001130990        Electric       Gov. Aggregation
AEP - OP      00140060710679862           Electric       Gov. Aggregation   FEOH - OE     08027734950001130992        Electric       Gov. Aggregation
AEP - OP      00140060710684625           Electric       Gov. Aggregation   FEOH - OE     08027736940001131015        Electric       Gov. Aggregation
AEP - OP      00140060710731443           Electric       Gov. Aggregation   FEOH - OE     08027738210001131002        Electric       Gov. Aggregation
AEP - OP      00140060710768170           Electric       Gov. Aggregation   FEOH - OE     08027738710001131009        Electric       Gov. Aggregation
AEP - OP      00140060710886151           Electric       Gov. Aggregation   FEOH - OE     08027466110001041589        Electric       Gov. Aggregation
AEP - OP      00140060711048651           Electric       Gov. Aggregation   FEOH - OE     08027467505000366398        Electric       Gov. Aggregation
AEP - OP      00140060711079494           Electric       Gov. Aggregation   FEOH - OE     08027480490001130545        Electric       Gov. Aggregation
AEP - OP      00140060704318691           Electric       Gov. Aggregation   FEOH - OE     08027487910001130352        Electric       Gov. Aggregation
AEP - OP      00140060704405822           Electric       Gov. Aggregation   FEOH - OE     08027487980001130653        Electric       Gov. Aggregation
AEP - OP      00140060704511413           Electric       Gov. Aggregation   FEOH - OE     08027495590001043564        Electric       Gov. Aggregation
AEP - OP      00140060704679331           Electric       Gov. Aggregation   FEOH - OE     08027497110001043582        Electric       Gov. Aggregation
AEP - OP      00140060704695425           Electric       Gov. Aggregation   FEOH - OE     08024641890000804190        Electric       Gov. Aggregation
AEP - OP      00140060704765480           Electric       Gov. Aggregation   FEOH - OE     08024643410000803710        Electric       Gov. Aggregation
AEP - OP      00140060709892213           Electric       Gov. Aggregation   FEOH - OE     08024647440000790021        Electric       Gov. Aggregation
AEP - OP      00140060709904082           Electric       Gov. Aggregation   FEOH - OE     08024647690000783798        Electric       Gov. Aggregation
AEP - OP      00140060710302994           Electric       Gov. Aggregation   FEOH - OE     08024672350000786495        Electric       Gov. Aggregation
AEP - OP      00140060710408884           Electric       Gov. Aggregation   FEOH - OE     08024672410000786496        Electric       Gov. Aggregation
AEP - OP      00140060710429884           Electric       Gov. Aggregation   FEOH - OE     08024673570000786512        Electric       Gov. Aggregation
AEP - OP      00140060710632654           Electric       Gov. Aggregation   FEOH - OE     08024854850000803223        Electric       Gov. Aggregation
AEP - OP      00140060710818703           Electric       Gov. Aggregation   FEOH - OE     08024856790000803959        Electric       Gov. Aggregation
AEP - OP      00140060715761411           Electric       Gov. Aggregation   FEOH - OE     08024858840000803991        Electric       Gov. Aggregation
AEP - OP      00140060715795391           Electric       Gov. Aggregation   FEOH - OE     08024859280000803998        Electric       Gov. Aggregation
AEP - OP      00140060715879500           Electric       Gov. Aggregation   FEOH - OE     08024859400000804000        Electric       Gov. Aggregation
AEP - OP      00140060715900232           Electric       Gov. Aggregation   FEOH - OE     08024880600001371536        Electric       Gov. Aggregation
AEP - OP      00140060715918505           Electric       Gov. Aggregation   FEOH - OE     08024889780001340033        Electric       Gov. Aggregation
AEP - OP      00140060715944633           Electric       Gov. Aggregation   FEOH - OE     08027763840001041779        Electric       Gov. Aggregation
AEP - OP      00140060715968772           Electric       Gov. Aggregation   FEOH - OE     08027771490001041370        Electric       Gov. Aggregation
AEP - OP      00140060712242710           Electric       Gov. Aggregation   FEOH - OE     08027772860001041396        Electric       Gov. Aggregation
AEP - OP      00140060712321901           Electric       Gov. Aggregation   FEOH - OE     08027795620001042394        Electric       Gov. Aggregation
AEP - OP      00140060712446820           Electric       Gov. Aggregation   FEOH - OE     08027931620001130044        Electric       Gov. Aggregation
AEP - OP      00140060712497841           Electric       Gov. Aggregation   FEOH - OE     08027966260001128061        Electric       Gov. Aggregation
AEP - OP      00140060712594413           Electric       Gov. Aggregation   FEOH - OE     08028023300001142671        Electric       Gov. Aggregation
AEP - OP      00140060712643291           Electric       Gov. Aggregation   FEOH - OE     08025844080001043146        Electric       Gov. Aggregation
AEP - OP      00140060712717273           Electric       Gov. Aggregation   FEOH - OE     08025844310001043150        Electric       Gov. Aggregation
AEP - OP      00140060709265210           Electric       Gov. Aggregation   FEOH - OE     08025845740001043170        Electric       Gov. Aggregation
AEP - OP      00140060709409545           Electric       Gov. Aggregation   FEOH - OE     08025846000001043174        Electric       Gov. Aggregation
AEP - OP      00140060709452831           Electric       Gov. Aggregation   FEOH - OE     08025849160001129470        Electric       Gov. Aggregation
AEP - OP      00140060709589902           Electric       Gov. Aggregation   FEOH - OE     08025982900001040701        Electric       Gov. Aggregation
AEP - OP      00140060709614631           Electric       Gov. Aggregation   FEOH - OE     08024910090000804008        Electric       Gov. Aggregation
AEP - OP      00140060709666060           Electric       Gov. Aggregation   FEOH - OE     08024916860001518921        Electric       Gov. Aggregation
AEP - OP      00140060709675175           Electric       Gov. Aggregation   FEOH - OE     08024918370001547621        Electric       Gov. Aggregation
AEP - OP      00140060711085692           Electric       Gov. Aggregation   FEOH - OE     08024923380000778658        Electric       Gov. Aggregation
AEP - OP      00140060711100145           Electric       Gov. Aggregation   FEOH - OE     08024924325001390464        Electric       Gov. Aggregation
AEP - OP      00140060711338892           Electric       Gov. Aggregation   FEOH - OE     08024926030000803610        Electric       Gov. Aggregation
AEP - OP      00140060711386005           Electric       Gov. Aggregation   FEOH - OE     08024926450000778703        Electric       Gov. Aggregation
AEP - OP      00140060711399411           Electric       Gov. Aggregation   FEOH - OE     08027341750001130426        Electric       Gov. Aggregation
AEP - OP      00140060711471265           Electric       Gov. Aggregation   FEOH - OE     08027343450001130302        Electric       Gov. Aggregation
AEP - OP      00140060711603391           Electric       Gov. Aggregation   FEOH - OE     08027344360001130315        Electric       Gov. Aggregation
AEP - OP      00140060709694855           Electric       Gov. Aggregation   FEOH - OE     08027346160001130340        Electric       Gov. Aggregation
AEP - OP      00140060709756723           Electric       Gov. Aggregation   FEOH - OE     08027346950001142735        Electric       Gov. Aggregation
AEP - OP      00140060709761242           Electric       Gov. Aggregation   FEOH - OE     08027347360001129689        Electric       Gov. Aggregation
AEP - OP      00140060709857965           Electric       Gov. Aggregation   FEOH - OE     08027348170001142754        Electric       Gov. Aggregation
AEP - OP      00140060709875820           Electric       Gov. Aggregation   FEOH - OE     08024929480001474369        Electric       Gov. Aggregation
AEP - OP      00140060709927433           Electric       Gov. Aggregation   FEOH - OE     08024929680001418710        Electric       Gov. Aggregation
AEP - OP      00140060710356101           Electric       Gov. Aggregation   FEOH - OE     08024951220000790324        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060704780704           Electric       Gov. Aggregation   FEOH - OE     08024952210000762735        Electric       Gov. Aggregation
AEP - OP      00140060704827712           Electric       Gov. Aggregation   FEOH - OE     08024952870000762746        Electric       Gov. Aggregation
AEP - OP      00140060704998592           Electric       Gov. Aggregation   FEOH - OE     08024981970001459547        Electric       Gov. Aggregation
AEP - OP      00140060705009961           Electric       Gov. Aggregation   FEOH - OE     08026739190001045399        Electric       Gov. Aggregation
AEP - OP      00140060705033682           Electric       Gov. Aggregation   FEOH - OE     08026791750001143228        Electric       Gov. Aggregation
AEP - OP      00140060705077620           Electric       Gov. Aggregation   FEOH - OE     08026794460001528188        Electric       Gov. Aggregation
AEP - OP      00140060709168080           Electric       Gov. Aggregation   FEOH - OE     08026796860001143248        Electric       Gov. Aggregation
AEP - OP      00140060709267882           Electric       Gov. Aggregation   FEOH - OE     08026805240001127767        Electric       Gov. Aggregation
AEP - OP      00140060709304690           Electric       Gov. Aggregation   FEOH - OE     08026808330001041789        Electric       Gov. Aggregation
AEP - OP      00140060709395642           Electric       Gov. Aggregation   FEOH - OE     08026861040001127855        Electric       Gov. Aggregation
AEP - OP      00140060709416420           Electric       Gov. Aggregation   FEOH - OE     08024850480001428704        Electric       Gov. Aggregation
AEP - OP      00140060709760195           Electric       Gov. Aggregation   FEOH - OE     08024851480001447469        Electric       Gov. Aggregation
AEP - OP      00140060709784990           Electric       Gov. Aggregation   FEOH - OE     08024852650000803191        Electric       Gov. Aggregation
AEP - OP      00140060716053993           Electric       Gov. Aggregation   FEOH - OE     08024852750000803193        Electric       Gov. Aggregation
AEP - OP      00140060716091225           Electric       Gov. Aggregation   FEOH - OE     08024853360000784679        Electric       Gov. Aggregation
AEP - OP      00140060716256592           Electric       Gov. Aggregation   FEOH - OE     08024854150000803214        Electric       Gov. Aggregation
AEP - OP      00140060716309712           Electric       Gov. Aggregation   FEOH - OE     08024854670000803220        Electric       Gov. Aggregation
AEP - OP      00140060716408375           Electric       Gov. Aggregation   FEOH - OE     08025985850001040743        Electric       Gov. Aggregation
AEP - OP      00140060716515603           Electric       Gov. Aggregation   FEOH - OE     08025987590001040767        Electric       Gov. Aggregation
AEP - OP      00140060710984471           Electric       Gov. Aggregation   FEOH - OE     08025989960001040786        Electric       Gov. Aggregation
AEP - OP      00140060711089190           Electric       Gov. Aggregation   FEOH - OE     08026125510001040388        Electric       Gov. Aggregation
AEP - OP      00140060711282461           Electric       Gov. Aggregation   FEOH - OE     08026126800001040405        Electric       Gov. Aggregation
AEP - OP      00140060711297652           Electric       Gov. Aggregation   FEOH - OE     08026129850001040460        Electric       Gov. Aggregation
AEP - OP      00140060711349103           Electric       Gov. Aggregation   FEOH - OE     08026177960001131246        Electric       Gov. Aggregation
AEP - OP      00140060711466253           Electric       Gov. Aggregation   FEOH - OE     08028037160001141942        Electric       Gov. Aggregation
AEP - OP      00140060712722325           Electric       Gov. Aggregation   FEOH - OE     08028038080001402857        Electric       Gov. Aggregation
AEP - OP      00140060712846595           Electric       Gov. Aggregation   FEOH - OE     08028040110001129991        Electric       Gov. Aggregation
AEP - OP      00140060712890402           Electric       Gov. Aggregation   FEOH - OE     08028040650001128613        Electric       Gov. Aggregation
AEP - OP      00140060713084653           Electric       Gov. Aggregation   FEOH - OE     08028042430001128655        Electric       Gov. Aggregation
AEP - OP      00140060713299351           Electric       Gov. Aggregation   FEOH - OE     08028044200001130663        Electric       Gov. Aggregation
AEP - OP      00140060713308481           Electric       Gov. Aggregation   FEOH - OE     08028113040001142080        Electric       Gov. Aggregation
AEP - OP      00140060713324914           Electric       Gov. Aggregation   FEOH - OE     08027349420001130384        Electric       Gov. Aggregation
AEP - OP      00140060711629660           Electric       Gov. Aggregation   FEOH - OE     08027349750001130391        Electric       Gov. Aggregation
AEP - OP      00140060711644361           Electric       Gov. Aggregation   FEOH - OE     08027350530001043463        Electric       Gov. Aggregation
AEP - OP      00140060711671394           Electric       Gov. Aggregation   FEOH - OE     08027359910001043341        Electric       Gov. Aggregation
AEP - OP      00140060711674875           Electric       Gov. Aggregation   FEOH - OE     08027390400001044612        Electric       Gov. Aggregation
AEP - OP      00140060711740873           Electric       Gov. Aggregation   FEOH - OE     08027413550001130445        Electric       Gov. Aggregation
AEP - OP      00140060711877181           Electric       Gov. Aggregation   FEOH - OE     08027414600001142840        Electric       Gov. Aggregation
AEP - OP      00140060711924762           Electric       Gov. Aggregation   FEOH - OE     08024982440000789152        Electric       Gov. Aggregation
AEP - OP      00140060716530313           Electric       Gov. Aggregation   FEOH - OE     08024983330001393322        Electric       Gov. Aggregation
AEP - OP      00140060716626560           Electric       Gov. Aggregation   FEOH - OE     08024985725001372057        Electric       Gov. Aggregation
AEP - OP      00140060716780444           Electric       Gov. Aggregation   FEOH - OE     08024986130000803260        Electric       Gov. Aggregation
AEP - OP      00140060716931163           Electric       Gov. Aggregation   FEOH - OE     08024988220000803585        Electric       Gov. Aggregation
AEP - OP      00140060717011685           Electric       Gov. Aggregation   FEOH - OE     08024989630000803881        Electric       Gov. Aggregation
AEP - OP      00140060717180122           Electric       Gov. Aggregation   FEOH - OE     08025000130001433308        Electric       Gov. Aggregation
AEP - OP      00140060717241205           Electric       Gov. Aggregation   FEOH - OE     08024673940000786518        Electric       Gov. Aggregation
AEP - OP      00140060703408144           Electric       Gov. Aggregation   FEOH - OE     08024674110000786520        Electric       Gov. Aggregation
AEP - OP      00140060703423542           Electric       Gov. Aggregation   FEOH - OE     08024674280000841394        Electric       Gov. Aggregation
AEP - OP      00140060703477115           Electric       Gov. Aggregation   FEOH - OE     08024674960001464691        Electric       Gov. Aggregation
AEP - OP      00140060703575635           Electric       Gov. Aggregation   FEOH - OE     08024677470001491964        Electric       Gov. Aggregation
AEP - OP      00140060703649920           Electric       Gov. Aggregation   FEOH - OE     08024702860000778461        Electric       Gov. Aggregation
AEP - OP      00140060703655082           Electric       Gov. Aggregation   FEOH - OE     08024707320000778389        Electric       Gov. Aggregation
AEP - OP      00140060710399900           Electric       Gov. Aggregation   FEOH - OE     08027531520001041667        Electric       Gov. Aggregation
AEP - OP      00140060710668550           Electric       Gov. Aggregation   FEOH - OE     08027535700001041727        Electric       Gov. Aggregation
AEP - OP      00140060710716115           Electric       Gov. Aggregation   FEOH - OE     08027538900001041772        Electric       Gov. Aggregation
AEP - OP      00140060710751020           Electric       Gov. Aggregation   FEOH - OE     08027541580001130706        Electric       Gov. Aggregation
AEP - OP      00140060710889871           Electric       Gov. Aggregation   FEOH - OE     08027543150001142344        Electric       Gov. Aggregation
AEP - OP      00140060710924020           Electric       Gov. Aggregation   FEOH - OE     08027544860001130750        Electric       Gov. Aggregation
AEP - OP      00140060710932834           Electric       Gov. Aggregation   FEOH - OE     08027547130001130780        Electric       Gov. Aggregation
AEP - OP      00140060705181194           Electric       Gov. Aggregation   FEOH - OE     08024855350001366383        Electric       Gov. Aggregation
AEP - OP      00140060705224621           Electric       Gov. Aggregation   FEOH - OE     08024855910000803944        Electric       Gov. Aggregation
AEP - OP      00140060705236745           Electric       Gov. Aggregation   FEOH - OE     08024856900000792603        Electric       Gov. Aggregation
AEP - OP      00140060705396963           Electric       Gov. Aggregation   FEOH - OE     08024857545001369681        Electric       Gov. Aggregation
AEP - OP      00140060705439525           Electric       Gov. Aggregation   FEOH - OE     08024858520000803987        Electric       Gov. Aggregation
AEP - OP      00140060705459831           Electric       Gov. Aggregation   FEOH - OE     08024873380000791093        Electric       Gov. Aggregation
AEP - OP      00140060705481822           Electric       Gov. Aggregation   FEOH - OE     08024886770000762653        Electric       Gov. Aggregation
AEP - OP      00140060711486290           Electric       Gov. Aggregation   FEOH - OE     08026196090001446606        Electric       Gov. Aggregation
AEP - OP      00140060711607734           Electric       Gov. Aggregation   FEOH - OE     08026198550001040579        Electric       Gov. Aggregation
AEP - OP      00140060711732864           Electric       Gov. Aggregation   FEOH - OE     08026198930001128794        Electric       Gov. Aggregation
AEP - OP      00140060712050591           Electric       Gov. Aggregation   FEOH - OE     08026216150001128443        Electric       Gov. Aggregation
AEP - OP      00140060712105701           Electric       Gov. Aggregation   FEOH - OE     08026217710001041705        Electric       Gov. Aggregation
AEP - OP      00140060712118801           Electric       Gov. Aggregation   FEOH - OE     08026242510001131371        Electric       Gov. Aggregation
AEP - OP      00140060712166972           Electric       Gov. Aggregation   FEOH - OE     08026244610001131402        Electric       Gov. Aggregation
AEP - OP      00140060711927384           Electric       Gov. Aggregation   FEOH - OE     08028121690001128847        Electric       Gov. Aggregation
AEP - OP      00140060712089315           Electric       Gov. Aggregation   FEOH - OE     08028124940001128928        Electric       Gov. Aggregation
AEP - OP      00140060712106930           Electric       Gov. Aggregation   FEOH - OE     08028127450001129010        Electric       Gov. Aggregation
AEP - OP      00140060712150545           Electric       Gov. Aggregation   FEOH - OE     08028232530001128245        Electric       Gov. Aggregation
AEP - OP      00140060712171451           Electric       Gov. Aggregation   FEOH - OE     08028238470001045141        Electric       Gov. Aggregation
AEP - OP      00140060712248984           Electric       Gov. Aggregation   FEOH - OE     08028264700001488442        Electric       Gov. Aggregation
AEP - OP      00140060712379633           Electric       Gov. Aggregation   FEOH - OE     08027416710001130402        Electric       Gov. Aggregation
AEP - OP      00140060713358792           Electric       Gov. Aggregation   FEOH - OE     08027417800001130511        Electric       Gov. Aggregation
AEP - OP      00140060713509332           Electric       Gov. Aggregation   FEOH - OE     08027418140001477702        Electric       Gov. Aggregation
AEP - OP      00140060713528830           Electric       Gov. Aggregation   FEOH - OE     08027421310001043362        Electric       Gov. Aggregation
AEP - OP      00140060713580434           Electric       Gov. Aggregation   FEOH - OE     08027425220001041411        Electric       Gov. Aggregation
AEP - OP      00140060713636585           Electric       Gov. Aggregation   FEOH - OE     08027426110001040464        Electric       Gov. Aggregation
AEP - OP      00140060713816431           Electric       Gov. Aggregation   FEOH - OE     08027427610001043453        Electric       Gov. Aggregation
AEP - OP      00140060713840561           Electric       Gov. Aggregation   FEOH - OE     08026867460001130748        Electric       Gov. Aggregation
AEP - OP      00140060717249960           Electric       Gov. Aggregation   FEOH - OE     08026872920001339236        Electric       Gov. Aggregation
AEP - OP      00140060717382500           Electric       Gov. Aggregation   FEOH - OE     08026936150001143302        Electric       Gov. Aggregation
AEP - OP      00140060717383215           Electric       Gov. Aggregation   FEOH - OE     08026937520001143321        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060717649062           Electric       Gov. Aggregation   FEOH - OE     08026937570001143323        Electric       Gov. Aggregation
AEP - OP      00140060717838415           Electric       Gov. Aggregation   FEOH - OE     08026940970001041796        Electric       Gov. Aggregation
AEP - OP      00140060717854875           Electric       Gov. Aggregation   FEOH - OE     08026941940001045685        Electric       Gov. Aggregation
AEP - OP      00140060705483131           Electric       Gov. Aggregation   FEOH - OE     08024712050000803836        Electric       Gov. Aggregation
AEP - OP      00140060705681565           Electric       Gov. Aggregation   FEOH - OE     08024719250000790362        Electric       Gov. Aggregation
AEP - OP      00140060705811405           Electric       Gov. Aggregation   FEOH - OE     08024741420000786642        Electric       Gov. Aggregation
AEP - OP      00140060705972980           Electric       Gov. Aggregation   FEOH - OE     08024749795000277110        Electric       Gov. Aggregation
AEP - OP      00140060706086452           Electric       Gov. Aggregation   FEOH - OE     08024773070000803534        Electric       Gov. Aggregation
AEP - OP      00140060706171145           Electric       Gov. Aggregation   FEOH - OE     08024788210001403993        Electric       Gov. Aggregation
AEP - OP      00140060706219852           Electric       Gov. Aggregation   FEOH - OE     08024788760001407894        Electric       Gov. Aggregation
AEP - OP      00140060709846425           Electric       Gov. Aggregation   FEOH - OE     08027592980001041906        Electric       Gov. Aggregation
AEP - OP      00140060709939991           Electric       Gov. Aggregation   FEOH - OE     08027594190001041926        Electric       Gov. Aggregation
AEP - OP      00140060710146230           Electric       Gov. Aggregation   FEOH - OE     08027610030001130829        Electric       Gov. Aggregation
AEP - OP      00140060710256684           Electric       Gov. Aggregation   FEOH - OE     08027611740001128058        Electric       Gov. Aggregation
AEP - OP      00140060710302794           Electric       Gov. Aggregation   FEOH - OE     08027613450001131107        Electric       Gov. Aggregation
AEP - OP      00140060710308683           Electric       Gov. Aggregation   FEOH - OE     08027614860001131102        Electric       Gov. Aggregation
AEP - OP      00140060710365292           Electric       Gov. Aggregation   FEOH - OE     08027615130001131089        Electric       Gov. Aggregation
AEP - OP      00140060710421722           Electric       Gov. Aggregation   FEOH - OE     08024888010000762670        Electric       Gov. Aggregation
AEP - OP      00140060710534734           Electric       Gov. Aggregation   FEOH - OE     08024888210000762673        Electric       Gov. Aggregation
AEP - OP      00140060710904703           Electric       Gov. Aggregation   FEOH - OE     08024889200000762687        Electric       Gov. Aggregation
AEP - OP      00140060710985233           Electric       Gov. Aggregation   FEOH - OE     08024913000000804050        Electric       Gov. Aggregation
AEP - OP      00140060711019022           Electric       Gov. Aggregation   FEOH - OE     08024915350001490475        Electric       Gov. Aggregation
AEP - OP      00140060711048440           Electric       Gov. Aggregation   FEOH - OE     08024918650000804133        Electric       Gov. Aggregation
AEP - OP      00140060711073503           Electric       Gov. Aggregation   FEOH - OE     08027616130001128123        Electric       Gov. Aggregation
AEP - OP      00140060710961090           Electric       Gov. Aggregation   FEOH - OE     08027616380001040772        Electric       Gov. Aggregation
AEP - OP      00140060710974754           Electric       Gov. Aggregation   FEOH - OE     08027616670001131082        Electric       Gov. Aggregation
AEP - OP      00140060711036931           Electric       Gov. Aggregation   FEOH - OE     08027617230001040392        Electric       Gov. Aggregation
AEP - OP      00140060711079505           Electric       Gov. Aggregation   FEOH - OE     08027617290001128146        Electric       Gov. Aggregation
AEP - OP      00140060711185500           Electric       Gov. Aggregation   FEOH - OE     08027618440001510778        Electric       Gov. Aggregation
AEP - OP      00140060711389431           Electric       Gov. Aggregation   FEOH - OE     08027619280001131035        Electric       Gov. Aggregation
AEP - OP      00140060703692993           Electric       Gov. Aggregation   FEOH - OE     08027461590001041518        Electric       Gov. Aggregation
AEP - OP      00140060703719322           Electric       Gov. Aggregation   FEOH - OE     08027462010001041525        Electric       Gov. Aggregation
AEP - OP      00140060703786011           Electric       Gov. Aggregation   FEOH - OE     08027482510001130585        Electric       Gov. Aggregation
AEP - OP      00140060703789974           Electric       Gov. Aggregation   FEOH - OE     08027483830001130554        Electric       Gov. Aggregation
AEP - OP      00140060703824033           Electric       Gov. Aggregation   FEOH - OE     08027484140001130601        Electric       Gov. Aggregation
AEP - OP      00140060703853591           Electric       Gov. Aggregation   FEOH - OE     08027485910001142992        Electric       Gov. Aggregation
AEP - OP      00140060704039021           Electric       Gov. Aggregation   FEOH - OE     08027489380001127722        Electric       Gov. Aggregation
AEP - OP      00140060712315261           Electric       Gov. Aggregation   FEOH - OE     08026943070001333803        Electric       Gov. Aggregation
AEP - OP      00140060712435595           Electric       Gov. Aggregation   FEOH - OE     08027003140001129606        Electric       Gov. Aggregation
AEP - OP      00140060712441373           Electric       Gov. Aggregation   FEOH - OE     08027006020001127471        Electric       Gov. Aggregation
AEP - OP      00140060712456263           Electric       Gov. Aggregation   FEOH - OE     08027008670001127555        Electric       Gov. Aggregation
AEP - OP      00140060712499982           Electric       Gov. Aggregation   FEOH - OE     08027069480001127660        Electric       Gov. Aggregation
AEP - OP      00140060712556795           Electric       Gov. Aggregation   FEOH - OE     08027086980001041807        Electric       Gov. Aggregation
AEP - OP      00140060712618471           Electric       Gov. Aggregation   FEOH - OE     08027087960001041813        Electric       Gov. Aggregation
AEP - OP      00140060712424444           Electric       Gov. Aggregation   FEOH - OE     08026245940001131425        Electric       Gov. Aggregation
AEP - OP      00140060712470662           Electric       Gov. Aggregation   FEOH - OE     08026254070001042603        Electric       Gov. Aggregation
AEP - OP      00140060712493453           Electric       Gov. Aggregation   FEOH - OE     08026254070001042620        Electric       Gov. Aggregation
AEP - OP      00140060712608253           Electric       Gov. Aggregation   FEOH - OE     08026254070001042629        Electric       Gov. Aggregation
AEP - OP      00140060712689624           Electric       Gov. Aggregation   FEOH - OE     08026254070001042641        Electric       Gov. Aggregation
AEP - OP      00140060712737171           Electric       Gov. Aggregation   FEOH - OE     08026254070001042649        Electric       Gov. Aggregation
AEP - OP      00140060713856451           Electric       Gov. Aggregation   FEOH - OE     08026254070001042661        Electric       Gov. Aggregation
AEP - OP      00140060714156862           Electric       Gov. Aggregation   FEOH - OE     08024922445000087038        Electric       Gov. Aggregation
AEP - OP      00140060714180360           Electric       Gov. Aggregation   FEOH - OE     08024923880000778669        Electric       Gov. Aggregation
AEP - OP      00140060714270860           Electric       Gov. Aggregation   FEOH - OE     08024925120000778686        Electric       Gov. Aggregation
AEP - OP      00140060714307104           Electric       Gov. Aggregation   FEOH - OE     08024925260000778688        Electric       Gov. Aggregation
AEP - OP      00140060714317541           Electric       Gov. Aggregation   FEOH - OE     08024926765000224407        Electric       Gov. Aggregation
AEP - OP      00140060714403663           Electric       Gov. Aggregation   FEOH - OE     08024928730000778727        Electric       Gov. Aggregation
AEP - OP      00140060717873043           Electric       Gov. Aggregation   FEOH - OE     08027619550001131031        Electric       Gov. Aggregation
AEP - OP      00140060717900293           Electric       Gov. Aggregation   FEOH - OE     08027622540001043791        Electric       Gov. Aggregation
AEP - OP      00140060717975491           Electric       Gov. Aggregation   FEOH - OE     08027626310001439033        Electric       Gov. Aggregation
AEP - OP      00140060717984122           Electric       Gov. Aggregation   FEOH - OE     08027628870001043897        Electric       Gov. Aggregation
AEP - OP      00140060718022244           Electric       Gov. Aggregation   FEOH - OE     08027656725001286310        Electric       Gov. Aggregation
AEP - OP      00140060718025531           Electric       Gov. Aggregation   FEOH - OE     08027658010001042129        Electric       Gov. Aggregation
AEP - OP      00140060718034554           Electric       Gov. Aggregation   FEOH - OE     08027658700001042139        Electric       Gov. Aggregation
AEP - OP      00140060711100513           Electric       Gov. Aggregation   FEOH - OE     08027498050001043596        Electric       Gov. Aggregation
AEP - OP      00140060711110404           Electric       Gov. Aggregation   FEOH - OE     08027499990001043622        Electric       Gov. Aggregation
AEP - OP      00140060711162585           Electric       Gov. Aggregation   FEOH - OE     08027505685000073782        Electric       Gov. Aggregation
AEP - OP      00140060711214414           Electric       Gov. Aggregation   FEOH - OE     08027530300001044301        Electric       Gov. Aggregation
AEP - OP      00140060711275591           Electric       Gov. Aggregation   FEOH - OE     08027537930001041757        Electric       Gov. Aggregation
AEP - OP      00140060711303230           Electric       Gov. Aggregation   FEOH - OE     08027540480001143056        Electric       Gov. Aggregation
AEP - OP      00140060711410345           Electric       Gov. Aggregation   FEOH - OE     08027540950001143069        Electric       Gov. Aggregation
AEP - OP      00140060711396983           Electric       Gov. Aggregation   FEOH - OE     08027097010001045288        Electric       Gov. Aggregation
AEP - OP      00140060711444415           Electric       Gov. Aggregation   FEOH - OE     08027121270001129115        Electric       Gov. Aggregation
AEP - OP      00140060711539030           Electric       Gov. Aggregation   FEOH - OE     08027127850001130902        Electric       Gov. Aggregation
AEP - OP      00140060711588371           Electric       Gov. Aggregation   FEOH - OE     08027131530001127686        Electric       Gov. Aggregation
AEP - OP      00140060711614150           Electric       Gov. Aggregation   FEOH - OE     08027132620001127702        Electric       Gov. Aggregation
AEP - OP      00140060711634061           Electric       Gov. Aggregation   FEOH - OE     08027134700001127728        Electric       Gov. Aggregation
AEP - OP      00140060711668263           Electric       Gov. Aggregation   FEOH - OE     08027136690001129313        Electric       Gov. Aggregation
AEP - OP      00140060706230454           Electric       Gov. Aggregation   FEOH - OE     08026254070001042665        Electric       Gov. Aggregation
AEP - OP      00140060706344101           Electric       Gov. Aggregation   FEOH - OE     08026254070001042688        Electric       Gov. Aggregation
AEP - OP      00140060706355133           Electric       Gov. Aggregation   FEOH - OE     08026254070001042704        Electric       Gov. Aggregation
AEP - OP      00140060706400723           Electric       Gov. Aggregation   FEOH - OE     08026254070001042706        Electric       Gov. Aggregation
AEP - OP      00140060706447791           Electric       Gov. Aggregation   FEOH - OE     08026254070001042718        Electric       Gov. Aggregation
AEP - OP      00140060706640224           Electric       Gov. Aggregation   FEOH - OE     08026254070001042721        Electric       Gov. Aggregation
AEP - OP      00140060706673904           Electric       Gov. Aggregation   FEOH - OE     08026254070001042726        Electric       Gov. Aggregation
AEP - OP      00140060712808581           Electric       Gov. Aggregation   FEOH - OE     08024789340001414697        Electric       Gov. Aggregation
AEP - OP      00140060712845181           Electric       Gov. Aggregation   FEOH - OE     08024815160000786858        Electric       Gov. Aggregation
AEP - OP      00140060712850314           Electric       Gov. Aggregation   FEOH - OE     08024849570000765247        Electric       Gov. Aggregation
AEP - OP      00140060712903550           Electric       Gov. Aggregation   FEOH - OE     08024851090001441796        Electric       Gov. Aggregation
AEP - OP      00140060712925485           Electric       Gov. Aggregation   FEOH - OE     08024853140000803197        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060712925795           Electric       Gov. Aggregation   FEOH - OE     08024854610000803219        Electric       Gov. Aggregation
AEP - OP      00140060712936565           Electric       Gov. Aggregation   FEOH - OE     08024855460001445102        Electric       Gov. Aggregation
AEP - OP      00140060712825970           Electric       Gov. Aggregation   FEOH - OE     08028266760001142290        Electric       Gov. Aggregation
AEP - OP      00140060713012143           Electric       Gov. Aggregation   FEOH - OE     08028267920001142333        Electric       Gov. Aggregation
AEP - OP      00140060713042184           Electric       Gov. Aggregation   FEOH - OE     08028269180001142378        Electric       Gov. Aggregation
AEP - OP      00140060713087573           Electric       Gov. Aggregation   FEOH - OE     08028523620001044428        Electric       Gov. Aggregation
AEP - OP      00140060713120093           Electric       Gov. Aggregation   FEOH - OE     08028683390000762708        Electric       Gov. Aggregation
AEP - OP      00140060713152364           Electric       Gov. Aggregation   FEOH - OE     08024950830000762712        Electric       Gov. Aggregation
AEP - OP      00140060713164032           Electric       Gov. Aggregation   FEOH - OE     08024952940000762747        Electric       Gov. Aggregation
AEP - OP      00140060714414832           Electric       Gov. Aggregation   FEOH - OE     08024980570000804165        Electric       Gov. Aggregation
AEP - OP      00140060714445863           Electric       Gov. Aggregation   FEOH - OE     08024980670000782704        Electric       Gov. Aggregation
AEP - OP      00140060714646752           Electric       Gov. Aggregation   FEOH - OE     08024982970001384377        Electric       Gov. Aggregation
AEP - OP      00140060714674501           Electric       Gov. Aggregation   FEOH - OE     08024988975000322208        Electric       Gov. Aggregation
AEP - OP      00140060714721810           Electric       Gov. Aggregation   FEOH - OE     08024989030000803595        Electric       Gov. Aggregation
AEP - OP      00140060714801802           Electric       Gov. Aggregation   FEOH - OE     08025002160001556883        Electric       Gov. Aggregation
AEP - OP      00140060715002124           Electric       Gov. Aggregation   FEOH - OE     08025002490001584293        Electric       Gov. Aggregation
AEP - OP      00140060718059205           Electric       Gov. Aggregation   FEOH - OE     08025004830000778759        Electric       Gov. Aggregation
AEP - OP      00140060718202882           Electric       Gov. Aggregation   FEOH - OE     08025007770000778802        Electric       Gov. Aggregation
AEP - OP      00140060718207621           Electric       Gov. Aggregation   FEOH - OE     08025024290000790763        Electric       Gov. Aggregation
AEP - OP      00140060718228401           Electric       Gov. Aggregation   FEOH - OE     08025026560000790804        Electric       Gov. Aggregation
AEP - OP      00140060718237554           Electric       Gov. Aggregation   FEOH - OE     08025026565000021554        Electric       Gov. Aggregation
AEP - OP      00140060718425375           Electric       Gov. Aggregation   FEOH - OE     08027541630001130707        Electric       Gov. Aggregation
AEP - OP      00140060718619582           Electric       Gov. Aggregation   FEOH - OE     08027543230001043472        Electric       Gov. Aggregation
AEP - OP      00140060704068885           Electric       Gov. Aggregation   FEOH - OE     08027543410001130730        Electric       Gov. Aggregation
AEP - OP      00140060704090132           Electric       Gov. Aggregation   FEOH - OE     08027544670001130747        Electric       Gov. Aggregation
AEP - OP      00140060704159350           Electric       Gov. Aggregation   FEOH - OE     08027547950001127988        Electric       Gov. Aggregation
AEP - OP      00140060704226051           Electric       Gov. Aggregation   FEOH - OE     08027560250001043628        Electric       Gov. Aggregation
AEP - OP      00140060704283274           Electric       Gov. Aggregation   FEOH - OE     08027593880001041921        Electric       Gov. Aggregation
AEP - OP      00140060704301391           Electric       Gov. Aggregation   FEOH - OE     08027682350001130905        Electric       Gov. Aggregation
AEP - OP      00140060704658712           Electric       Gov. Aggregation   FEOH - OE     08027683290001130918        Electric       Gov. Aggregation
AEP - OP      00140060715008660           Electric       Gov. Aggregation   FEOH - OE     08027686170001335889        Electric       Gov. Aggregation
AEP - OP      00140060715063083           Electric       Gov. Aggregation   FEOH - OE     08027688190001389804        Electric       Gov. Aggregation
AEP - OP      00140060715074835           Electric       Gov. Aggregation   FEOH - OE     08027688880001130927        Electric       Gov. Aggregation
AEP - OP      00140060715111342           Electric       Gov. Aggregation   FEOH - OE     08027689170001130950        Electric       Gov. Aggregation
AEP - OP      00140060715143301           Electric       Gov. Aggregation   FEOH - OE     08027689800001130959        Electric       Gov. Aggregation
AEP - OP      00140060715246553           Electric       Gov. Aggregation   FEOH - OE     08026254070001042733        Electric       Gov. Aggregation
AEP - OP      00140060715361863           Electric       Gov. Aggregation   FEOH - OE     08026254070001042743        Electric       Gov. Aggregation
AEP - OP      00140060711420392           Electric       Gov. Aggregation   FEOH - OE     08026254070001042751        Electric       Gov. Aggregation
AEP - OP      00140060711478604           Electric       Gov. Aggregation   FEOH - OE     08026254070001042752        Electric       Gov. Aggregation
AEP - OP      00140060711507200           Electric       Gov. Aggregation   FEOH - OE     08026254070001042812        Electric       Gov. Aggregation
AEP - OP      00140060711523034           Electric       Gov. Aggregation   FEOH - OE     08026254070001042818        Electric       Gov. Aggregation
AEP - OP      00140060711734771           Electric       Gov. Aggregation   FEOH - OE     08026254070001042826        Electric       Gov. Aggregation
AEP - OP      00140060711821613           Electric       Gov. Aggregation   FEOH - OE     08028714405000072894        Electric       Gov. Aggregation
AEP - OP      00140060711824601           Electric       Gov. Aggregation   FEOH - OE     08028855770001567510        Electric       Gov. Aggregation
AEP - OP      00140060715491901           Electric       Gov. Aggregation   FEOH - TE     08028954895000086611        Electric       Gov. Aggregation
AEP - OP      00140060715552865           Electric       Gov. Aggregation   FEOH - TE     08029125512210014810        Electric       Gov. Aggregation
AEP - OP      00140060715717183           Electric       Gov. Aggregation   FEOH - OE     08029211180000844669        Electric       Gov. Aggregation
AEP - OP      00140060715806171           Electric       Gov. Aggregation   FEOH - OE     08029220490001442564        Electric       Gov. Aggregation
AEP - OP      00140060715947003           Electric       Gov. Aggregation   FEOH - OE     08024855760000803943        Electric       Gov. Aggregation
AEP - OP      00140060716163092           Electric       Gov. Aggregation   FEOH - OE     08024858160000803982        Electric       Gov. Aggregation
AEP - OP      00140060713394743           Electric       Gov. Aggregation   FEOH - OE     08024859580000804003        Electric       Gov. Aggregation
AEP - OP      00140060713419020           Electric       Gov. Aggregation   FEOH - OE     08024886435001285339        Electric       Gov. Aggregation
AEP - OP      00140060713592730           Electric       Gov. Aggregation   FEOH - OE     08024886810000762654        Electric       Gov. Aggregation
AEP - OP      00140060713699552           Electric       Gov. Aggregation   FEOH - OE     08024887460000762663        Electric       Gov. Aggregation
AEP - OP      00140060713778934           Electric       Gov. Aggregation   FEOH - OE     08027136805001402394        Electric       Gov. Aggregation
AEP - OP      00140060713809520           Electric       Gov. Aggregation   FEOH - OE     08027137150001127766        Electric       Gov. Aggregation
AEP - OP      00140060713880893           Electric       Gov. Aggregation   FEOH - OE     08027139450001128957        Electric       Gov. Aggregation
AEP - OP      00140060716214562           Electric       Gov. Aggregation   FEOH - OE     08027192555001347280        Electric       Gov. Aggregation
AEP - OP      00140060716323465           Electric       Gov. Aggregation   FEOH - OE     08027192910001425650        Electric       Gov. Aggregation
AEP - OP      00140060716352274           Electric       Gov. Aggregation   FEOH - OE     08027200240001127801        Electric       Gov. Aggregation
AEP - OP      00140060716369632           Electric       Gov. Aggregation   FEOH - OE     08027203710001127851        Electric       Gov. Aggregation
AEP - OP      00140060716420062           Electric       Gov. Aggregation   FEOH - OE     08024989570000803880        Electric       Gov. Aggregation
AEP - OP      00140060716444831           Electric       Gov. Aggregation   FEOH - OE     08024989840000803719        Electric       Gov. Aggregation
AEP - OP      00140060716489174           Electric       Gov. Aggregation   FEOH - OE     08024989840000803884        Electric       Gov. Aggregation
AEP - OP      00140060713899711           Electric       Gov. Aggregation   FEOH - OE     08025001480001536669        Electric       Gov. Aggregation
AEP - OP      00140060713952060           Electric       Gov. Aggregation   FEOH - OE     08025001550001552730        Electric       Gov. Aggregation
AEP - OP      00140060713984860           Electric       Gov. Aggregation   FEOH - OE     08025002230001558649        Electric       Gov. Aggregation
AEP - OP      00140060713985310           Electric       Gov. Aggregation   FEOH - OE     08025002300001563603        Electric       Gov. Aggregation
AEP - OP      00140060714042844           Electric       Gov. Aggregation   FEOH - OE     08027612270001130855        Electric       Gov. Aggregation
AEP - OP      00140060714170780           Electric       Gov. Aggregation   FEOH - OE     08027617360001143091        Electric       Gov. Aggregation
AEP - OP      00140060714234565           Electric       Gov. Aggregation   FEOH - OE     08027617410001143093        Electric       Gov. Aggregation
AEP - OP      00140060711675932           Electric       Gov. Aggregation   FEOH - OE     08027618230001131069        Electric       Gov. Aggregation
AEP - OP      00140060711717030           Electric       Gov. Aggregation   FEOH - OE     08027628540001043891        Electric       Gov. Aggregation
AEP - OP      00140060711772225           Electric       Gov. Aggregation   FEOH - OE     08027650800001042028        Electric       Gov. Aggregation
AEP - OP      00140060711774503           Electric       Gov. Aggregation   FEOH - OE     08027652350001042128        Electric       Gov. Aggregation
AEP - OP      00140060711790010           Electric       Gov. Aggregation   FEOH - OE     08027696550001142713        Electric       Gov. Aggregation
AEP - OP      00140060711796502           Electric       Gov. Aggregation   FEOH - OE     08027699010001044093        Electric       Gov. Aggregation
AEP - OP      00140060711805885           Electric       Gov. Aggregation   FEOH - OE     08027710295001491626        Electric       Gov. Aggregation
AEP - OP      00140060704686085           Electric       Gov. Aggregation   FEOH - OE     08027723410001042211        Electric       Gov. Aggregation
AEP - OP      00140060704904214           Electric       Gov. Aggregation   FEOH - OE     08027725920001042250        Electric       Gov. Aggregation
AEP - OP      00140060704950134           Electric       Gov. Aggregation   FEOH - OE     08027728070001128432        Electric       Gov. Aggregation
AEP - OP      00140060704961322           Electric       Gov. Aggregation   FEOH - OE     08027729000001040642        Electric       Gov. Aggregation
AEP - OP      00140060705012644           Electric       Gov. Aggregation   FEOH - OE     08026312690001128871        Electric       Gov. Aggregation
AEP - OP      00140060705035291           Electric       Gov. Aggregation   FEOH - OE     08026316320001044396        Electric       Gov. Aggregation
AEP - OP      00140060711864543           Electric       Gov. Aggregation   FEOH - OE     08026323860001044294        Electric       Gov. Aggregation
AEP - OP      00140060711940535           Electric       Gov. Aggregation   FEOH - OE     08026325410001044316        Electric       Gov. Aggregation
AEP - OP      00140060711965010           Electric       Gov. Aggregation   FEOH - OE     08026327770001044345        Electric       Gov. Aggregation
AEP - OP      00140060711965723           Electric       Gov. Aggregation   FEOH - OE     08026328420001044355        Electric       Gov. Aggregation
AEP - OP      00140060711972481           Electric       Gov. Aggregation   FEOH - OE     08029269020001130519        Electric       Gov. Aggregation
AEP - OP      00140060711976153           Electric       Gov. Aggregation   FEOH - OE     08029269325000096714        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060714255031           Electric       Gov. Aggregation   FEOH - OE     08029338120001128477        Electric       Gov. Aggregation
AEP - OP      00140060714304633           Electric       Gov. Aggregation   FEOH - OE     08029342160000187134        Electric       Gov. Aggregation
AEP - OP      00140060714331112           Electric       Gov. Aggregation   FEOH - TE     08029445822510007402        Electric       Gov. Aggregation
AEP - OP      00140060714331440           Electric       Gov. Aggregation   FEOH - TE     08029556342170014373        Electric       Gov. Aggregation
AEP - OP      00140060714345012           Electric       Gov. Aggregation   FEOH - OE     08029586510001130649        Electric       Gov. Aggregation
AEP - OP      00140060714380624           Electric       Gov. Aggregation   FEOH - OE     08025062190001474740        Electric       Gov. Aggregation
AEP - OP      00140060714424900           Electric       Gov. Aggregation   FEOH - OE     08025064010000804355        Electric       Gov. Aggregation
AEP - OP      00140060712095255           Electric       Gov. Aggregation   FEOH - OE     08025064310000804361        Electric       Gov. Aggregation
AEP - OP      00140060712168975           Electric       Gov. Aggregation   FEOH - OE     08025066180000804385        Electric       Gov. Aggregation
AEP - OP      00140060712494960           Electric       Gov. Aggregation   FEOH - OE     08025067390000804401        Electric       Gov. Aggregation
AEP - OP      00140060712589184           Electric       Gov. Aggregation   FEOH - OE     08025070060000778838        Electric       Gov. Aggregation
AEP - OP      00140060712643335           Electric       Gov. Aggregation   FEOH - OE     08025070390000778842        Electric       Gov. Aggregation
AEP - OP      00140060712672580           Electric       Gov. Aggregation   FEOH - OE     08025004345000185893        Electric       Gov. Aggregation
AEP - OP      00140060711926343           Electric       Gov. Aggregation   FEOH - OE     08025004800000805496        Electric       Gov. Aggregation
AEP - OP      00140060711945903           Electric       Gov. Aggregation   FEOH - OE     08025006200000778779        Electric       Gov. Aggregation
AEP - OP      00140060711960130           Electric       Gov. Aggregation   FEOH - OE     08025007230000778794        Electric       Gov. Aggregation
AEP - OP      00140060712083860           Electric       Gov. Aggregation   FEOH - OE     08025007990000778805        Electric       Gov. Aggregation
AEP - OP      00140060712088384           Electric       Gov. Aggregation   FEOH - OE     08027657420001043370        Electric       Gov. Aggregation
AEP - OP      00140060712151384           Electric       Gov. Aggregation   FEOH - OE     08027659010001042144        Electric       Gov. Aggregation
AEP - OP      00140060712248251           Electric       Gov. Aggregation   FEOH - OE     08027680310001131495        Electric       Gov. Aggregation
AEP - OP      00140060705257444           Electric       Gov. Aggregation   FEOH - OE     08027681740001553380        Electric       Gov. Aggregation
AEP - OP      00140060705441182           Electric       Gov. Aggregation   FEOH - OE     08027682140001130901        Electric       Gov. Aggregation
AEP - OP      00140060705494464           Electric       Gov. Aggregation   FEOH - OE     08027683690001130922        Electric       Gov. Aggregation
AEP - OP      00140060705631071           Electric       Gov. Aggregation   FEOH - OE     08027684150001131061        Electric       Gov. Aggregation
AEP - OP      00140060705653464           Electric       Gov. Aggregation   FEOH - OE     08027207680001129399        Electric       Gov. Aggregation
AEP - OP      00140060705839290           Electric       Gov. Aggregation   FEOH - OE     08027208250001129406        Electric       Gov. Aggregation
AEP - OP      00140060714491694           Electric       Gov. Aggregation   FEOH - OE     08027208810001130509        Electric       Gov. Aggregation
AEP - OP      00140060714564840           Electric       Gov. Aggregation   FEOH - OE     08027209380001128297        Electric       Gov. Aggregation
AEP - OP      00140060714582432           Electric       Gov. Aggregation   FEOH - OE     08027214280001040459        Electric       Gov. Aggregation
AEP - OP      00140060714611721           Electric       Gov. Aggregation   FEOH - OE     08027259020001044546        Electric       Gov. Aggregation
AEP - OP      00140060714674671           Electric       Gov. Aggregation   FEOH - OE     08027263090001529691        Electric       Gov. Aggregation
AEP - OP      00140060714723663           Electric       Gov. Aggregation   FEOH - OE     08027730990001390533        Electric       Gov. Aggregation
AEP - OP      00140060714821802           Electric       Gov. Aggregation   FEOH - OE     08027733680001131468        Electric       Gov. Aggregation
AEP - OP      00140060705872233           Electric       Gov. Aggregation   FEOH - OE     08027735030001130993        Electric       Gov. Aggregation
AEP - OP      00140060705909761           Electric       Gov. Aggregation   FEOH - OE     08027736610001131014        Electric       Gov. Aggregation
AEP - OP      00140060706106542           Electric       Gov. Aggregation   FEOH - OE     08027737350001475380        Electric       Gov. Aggregation
AEP - OP      00140060706111244           Electric       Gov. Aggregation   FEOH - OE     08027738340001131003        Electric       Gov. Aggregation
AEP - OP      00140060706181951           Electric       Gov. Aggregation   FEOH - OE     08027772210001041384        Electric       Gov. Aggregation
AEP - OP      00140060706243880           Electric       Gov. Aggregation   FEOH - OE     08026373480001128361        Electric       Gov. Aggregation
AEP - OP      00140060714860793           Electric       Gov. Aggregation   FEOH - OE     08026373590001127810        Electric       Gov. Aggregation
AEP - OP      00140060714963255           Electric       Gov. Aggregation   FEOH - OE     08026375450001128390        Electric       Gov. Aggregation
AEP - OP      00140060715027915           Electric       Gov. Aggregation   FEOH - OE     08026375510001128391        Electric       Gov. Aggregation
AEP - OP      00140060715178235           Electric       Gov. Aggregation   FEOH - OE     08026376430001128219        Electric       Gov. Aggregation
AEP - OP      00140060715182721           Electric       Gov. Aggregation   FEOH - OE     08026377020001128226        Electric       Gov. Aggregation
AEP - OP      00140060715220435           Electric       Gov. Aggregation   FEOH - OE     08026377180001128228        Electric       Gov. Aggregation
AEP - OP      00140060715272290           Electric       Gov. Aggregation   FEOH - OE     08029597530001569822        Electric       Gov. Aggregation
AEP - OP      00140060712828835           Electric       Gov. Aggregation   FEOH - OE     08029627660000784594        Electric       Gov. Aggregation
AEP - OP      00140060713077135           Electric       Gov. Aggregation   FEOH - OE     08029640210000168288        Electric       Gov. Aggregation
AEP - OP      00140060713215294           Electric       Gov. Aggregation   FEOH - OE     08029729680000804168        Electric       Gov. Aggregation
AEP - OP      00140060713223381           Electric       Gov. Aggregation   FEOH - TE     08029768602380031497        Electric       Gov. Aggregation
AEP - OP      00140060713300432           Electric       Gov. Aggregation   FEOH - OE     08030000870001040595        Electric       Gov. Aggregation
AEP - OP      00140060713356193           Electric       Gov. Aggregation   FEOH - OE     08030011810001503121        Electric       Gov. Aggregation
AEP - OP      00140060706257164           Electric       Gov. Aggregation   FEOH - OE     08025008330000778811        Electric       Gov. Aggregation
AEP - OP      00140060706275851           Electric       Gov. Aggregation   FEOH - OE     08025022320000790739        Electric       Gov. Aggregation
AEP - OP      00140060706346353           Electric       Gov. Aggregation   FEOH - OE     08025022400000790740        Electric       Gov. Aggregation
AEP - OP      00140060706456611           Electric       Gov. Aggregation   FEOH - OE     08025024850000790773        Electric       Gov. Aggregation
AEP - OP      00140060706677093           Electric       Gov. Aggregation   FEOH - OE     08025027430000791302        Electric       Gov. Aggregation
AEP - OP      00140060706699204           Electric       Gov. Aggregation   FEOH - OE     08025061310000803906        Electric       Gov. Aggregation
AEP - OP      00140060706716091           Electric       Gov. Aggregation   FEOH - OE     08027267050001131414        Electric       Gov. Aggregation
AEP - OP      00140060715459281           Electric       Gov. Aggregation   FEOH - OE     08027269160001044816        Electric       Gov. Aggregation
AEP - OP      00140060715759552           Electric       Gov. Aggregation   FEOH - OE     08027269660001044850        Electric       Gov. Aggregation
AEP - OP      00140060715761494           Electric       Gov. Aggregation   FEOH - OE     08027270950001128318        Electric       Gov. Aggregation
AEP - OP      00140060715809805           Electric       Gov. Aggregation   FEOH - OE     08027275460001129420        Electric       Gov. Aggregation
AEP - OP      00140060715916714           Electric       Gov. Aggregation   FEOH - OE     08027278210001142553        Electric       Gov. Aggregation
AEP - OP      00140060718658192           Electric       Gov. Aggregation   FEOH - OE     08027321840001040744        Electric       Gov. Aggregation
AEP - OP      00140060718686351           Electric       Gov. Aggregation   FEOH - OE     08025071120000778851        Electric       Gov. Aggregation
AEP - OP      00140060718721782           Electric       Gov. Aggregation   FEOH - OE     08025075180000778834        Electric       Gov. Aggregation
AEP - OP      00140060718739590           Electric       Gov. Aggregation   FEOH - OE     08025090400000790869        Electric       Gov. Aggregation
AEP - OP      00140060718742631           Electric       Gov. Aggregation   FEOH - OE     08025091390000790883        Electric       Gov. Aggregation
AEP - OP      00140060718920841           Electric       Gov. Aggregation   FEOH - OE     08025094470000841277        Electric       Gov. Aggregation
AEP - OP      00140060719098135           Electric       Gov. Aggregation   FEOH - OE     08025094940001345428        Electric       Gov. Aggregation
AEP - OP      00140060706732964           Electric       Gov. Aggregation   FEOH - OE     08025097050000810080        Electric       Gov. Aggregation
AEP - OP      00140060706861301           Electric       Gov. Aggregation   FEOH - OE     08024919460000780140        Electric       Gov. Aggregation
AEP - OP      00140060706866692           Electric       Gov. Aggregation   FEOH - OE     08024926070000778698        Electric       Gov. Aggregation
AEP - OP      00140060706949705           Electric       Gov. Aggregation   FEOH - OE     08024926900000778711        Electric       Gov. Aggregation
AEP - OP      00140060707012190           Electric       Gov. Aggregation   FEOH - OE     08024927270000778717        Electric       Gov. Aggregation
AEP - OP      00140060707068920           Electric       Gov. Aggregation   FEOH - OE     08024928560000778729        Electric       Gov. Aggregation
AEP - OP      00140060715951201           Electric       Gov. Aggregation   FEOH - OE     08024945720000791207        Electric       Gov. Aggregation
AEP - OP      00140060715969814           Electric       Gov. Aggregation   FEOH - OE     08024981790000804184        Electric       Gov. Aggregation
AEP - OP      00140060715971840           Electric       Gov. Aggregation   FEOH - OE     08027792360001103912        Electric       Gov. Aggregation
AEP - OP      00140060716201270           Electric       Gov. Aggregation   FEOH - OE     08027794210001042369        Electric       Gov. Aggregation
AEP - OP      00140060716208014           Electric       Gov. Aggregation   FEOH - OE     08027835580001044361        Electric       Gov. Aggregation
AEP - OP      00140060716254981           Electric       Gov. Aggregation   FEOH - OE     08027854240001042547        Electric       Gov. Aggregation
AEP - OP      00140060716272255           Electric       Gov. Aggregation   FEOH - OE     08027938450001130150        Electric       Gov. Aggregation
AEP - OP      00140060706848821           Electric       Gov. Aggregation   FEOH - OE     08027947530001502618        Electric       Gov. Aggregation
AEP - OP      00140060706862034           Electric       Gov. Aggregation   FEOH - OE     08026378810001128252        Electric       Gov. Aggregation
AEP - OP      00140060706880851           Electric       Gov. Aggregation   FEOH - OE     08026390510001044429        Electric       Gov. Aggregation
AEP - OP      00140060706924231           Electric       Gov. Aggregation   FEOH - OE     08026390710001041924        Electric       Gov. Aggregation
AEP - OP      00140060706933155           Electric       Gov. Aggregation   FEOH - OE     08026399800001044519        Electric       Gov. Aggregation
AEP - OP      00140060707120423           Electric       Gov. Aggregation   FEOH - OE     08026417640001529554        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060716310871           Electric       Gov. Aggregation   FEOH - OE     08026440950001128264        Electric       Gov. Aggregation
AEP - OP      00140060716312384           Electric       Gov. Aggregation   FEOH - OE     08026441000001128285        Electric       Gov. Aggregation
AEP - OP      00140060716352715           Electric       Gov. Aggregation   FEOH - OE     08027689040001130948        Electric       Gov. Aggregation
AEP - OP      00140060716358303           Electric       Gov. Aggregation   FEOH - OE     08027689420001130953        Electric       Gov. Aggregation
AEP - OP      00140060716388503           Electric       Gov. Aggregation   FEOH - OE     08027693330001043980        Electric       Gov. Aggregation
AEP - OP      00140060716588240           Electric       Gov. Aggregation   FEOH - OE     08027694920001044013        Electric       Gov. Aggregation
AEP - OP      00140060716640255           Electric       Gov. Aggregation   FEOH - OE     08027713565000352687        Electric       Gov. Aggregation
AEP - OP      00140060707165132           Electric       Gov. Aggregation   FEOH - OE     08027727020001042267        Electric       Gov. Aggregation
AEP - OP      00140060707222591           Electric       Gov. Aggregation   FEOH - OE     08027727340001042272        Electric       Gov. Aggregation
AEP - OP      00140060707277425           Electric       Gov. Aggregation   FEOH - OE     08025062390001479007        Electric       Gov. Aggregation
AEP - OP      00140060707473594           Electric       Gov. Aggregation   FEOH - OE     08025066040000804383        Electric       Gov. Aggregation
AEP - OP      00140060707523750           Electric       Gov. Aggregation   FEOH - OE     08025066660000804392        Electric       Gov. Aggregation
AEP - OP      00140060707631555           Electric       Gov. Aggregation   FEOH - OE     08025069390000804428        Electric       Gov. Aggregation
AEP - OP      00140060707749715           Electric       Gov. Aggregation   FEOH - OE     08025075720000804081        Electric       Gov. Aggregation
AEP - OP      00140060713367684           Electric       Gov. Aggregation   FEOH - OE     08025090860000790876        Electric       Gov. Aggregation
AEP - OP      00140060713407162           Electric       Gov. Aggregation   FEOH - OE     08025091950000791720        Electric       Gov. Aggregation
AEP - OP      00140060713745882           Electric       Gov. Aggregation   FEOH - OE     08027332860001045085        Electric       Gov. Aggregation
AEP - OP      00140060714016623           Electric       Gov. Aggregation   FEOH - OE     08027335160001446433        Electric       Gov. Aggregation
AEP - OP      00140060714292554           Electric       Gov. Aggregation   FEOH - OE     08027336710001040718        Electric       Gov. Aggregation
AEP - OP      00140060714685680           Electric       Gov. Aggregation   FEOH - OE     08027341330001130276        Electric       Gov. Aggregation
AEP - OP      00140060714794852           Electric       Gov. Aggregation   FEOH - OE     08027345290001130328        Electric       Gov. Aggregation
AEP - OP      00140060716640703           Electric       Gov. Aggregation   FEOH - OE     08027346430001142676        Electric       Gov. Aggregation
AEP - OP      00140060716658534           Electric       Gov. Aggregation   FEOH - OE     08027346960001130351        Electric       Gov. Aggregation
AEP - OP      00140060716666185           Electric       Gov. Aggregation   FEOH - OE     08030056980001041781        Electric       Gov. Aggregation
AEP - OP      00140060716673893           Electric       Gov. Aggregation   FEOH - OE     08030111980000792639        Electric       Gov. Aggregation
AEP - OP      00140060716674512           Electric       Gov. Aggregation   FEOH - TE     08030159912810020440        Electric       Gov. Aggregation
AEP - OP      00140060716804965           Electric       Gov. Aggregation   FEOH - TE     08030164932210015029        Electric       Gov. Aggregation
AEP - OP      00140060716928704           Electric       Gov. Aggregation   FEOH - OE     08030193430000765708        Electric       Gov. Aggregation
AEP - OP      00140060707773533           Electric       Gov. Aggregation   FEOH - OE     08030237050000792738        Electric       Gov. Aggregation
AEP - OP      00140060707804570           Electric       Gov. Aggregation   FEOH - OE     08025132440000804473        Electric       Gov. Aggregation
AEP - OP      00140060707852792           Electric       Gov. Aggregation   FEOH - OE     08025132570000804475        Electric       Gov. Aggregation
AEP - OP      00140060708052121           Electric       Gov. Aggregation   FEOH - OE     08025133060000804480        Electric       Gov. Aggregation
AEP - OP      00140060708102334           Electric       Gov. Aggregation   FEOH - OE     08025134540000804498        Electric       Gov. Aggregation
AEP - OP      00140060708166282           Electric       Gov. Aggregation   FEOH - OE     08025135330000804513        Electric       Gov. Aggregation
AEP - OP      00140060708215861           Electric       Gov. Aggregation   FEOH - OE     08025137240000804545        Electric       Gov. Aggregation
AEP - OP      00140060716943803           Electric       Gov. Aggregation   FEOH - OE     08025144465000138880        Electric       Gov. Aggregation
AEP - OP      00140060717380941           Electric       Gov. Aggregation   FEOH - OE     08026444720001128188        Electric       Gov. Aggregation
AEP - OP      00140060717434182           Electric       Gov. Aggregation   FEOH - OE     08026446010001044149        Electric       Gov. Aggregation
AEP - OP      00140060717448624           Electric       Gov. Aggregation   FEOH - OE     08026461690001044545        Electric       Gov. Aggregation
AEP - OP      00140060717508035           Electric       Gov. Aggregation   FEOH - OE     08026463500001044570        Electric       Gov. Aggregation
AEP - OP      00140060717522151           Electric       Gov. Aggregation   FEOH - OE     08026464080001044578        Electric       Gov. Aggregation
AEP - OP      00140060717562175           Electric       Gov. Aggregation   FEOH - OE     08026468240001129478        Electric       Gov. Aggregation
AEP - OP      00140060707111442           Electric       Gov. Aggregation   FEOH - OE     08026468270001044635        Electric       Gov. Aggregation
AEP - OP      00140060707130933           Electric       Gov. Aggregation   FEOH - OE     08024982030000804187        Electric       Gov. Aggregation
AEP - OP      00140060707154902           Electric       Gov. Aggregation   FEOH - OE     08024982280001556503        Electric       Gov. Aggregation
AEP - OP      00140060707282254           Electric       Gov. Aggregation   FEOH - OE     08024983130000803990        Electric       Gov. Aggregation
AEP - OP      00140060707540081           Electric       Gov. Aggregation   FEOH - OE     08024983130001518141        Electric       Gov. Aggregation
AEP - OP      00140060707964610           Electric       Gov. Aggregation   FEOH - OE     08024984660000803246        Electric       Gov. Aggregation
AEP - OP      00140060708308152           Electric       Gov. Aggregation   FEOH - OE     08024985660000788962        Electric       Gov. Aggregation
AEP - OP      00140060708502493           Electric       Gov. Aggregation   FEOH - OE     08024987810000803578        Electric       Gov. Aggregation
AEP - OP      00140060708533360           Electric       Gov. Aggregation   FEOH - OE     08027971730001128412        Electric       Gov. Aggregation
AEP - OP      00140060708605600           Electric       Gov. Aggregation   FEOH - OE     08027977130001128531        Electric       Gov. Aggregation
AEP - OP      00140060708653855           Electric       Gov. Aggregation   FEOH - OE     08028035030001531319        Electric       Gov. Aggregation
AEP - OP      00140060708693381           Electric       Gov. Aggregation   FEOH - OE     08028037280001141948        Electric       Gov. Aggregation
AEP - OP      00140060708701623           Electric       Gov. Aggregation   FEOH - OE     08028043760001128676        Electric       Gov. Aggregation
AEP - OP      00140060717603515           Electric       Gov. Aggregation   FEOH - OE     08028044440001128690        Electric       Gov. Aggregation
AEP - OP      00140060717672624           Electric       Gov. Aggregation   FEOH - OE     08028110370001143359        Electric       Gov. Aggregation
AEP - OP      00140060717702931           Electric       Gov. Aggregation   FEOH - OE     08027727610001042276        Electric       Gov. Aggregation
AEP - OP      00140060717739465           Electric       Gov. Aggregation   FEOH - OE     08027731530001351222        Electric       Gov. Aggregation
AEP - OP      00140060717912231           Electric       Gov. Aggregation   FEOH - OE     08027732080001351657        Electric       Gov. Aggregation
AEP - OP      00140060717966095           Electric       Gov. Aggregation   FEOH - OE     08027733920001131285        Electric       Gov. Aggregation
AEP - OP      00140060717995311           Electric       Gov. Aggregation   FEOH - OE     08027736990001131016        Electric       Gov. Aggregation
AEP - OP      00140060708729023           Electric       Gov. Aggregation   FEOH - OE     08027762580001128066        Electric       Gov. Aggregation
AEP - OP      00140060708741912           Electric       Gov. Aggregation   FEOH - OE     08027772810001041395        Electric       Gov. Aggregation
AEP - OP      00140060708748101           Electric       Gov. Aggregation   FEOH - OE     08025093480001317247        Electric       Gov. Aggregation
AEP - OP      00140060708756472           Electric       Gov. Aggregation   FEOH - OE     08025096520000790964        Electric       Gov. Aggregation
AEP - OP      00140060708761302           Electric       Gov. Aggregation   FEOH - OE     08025130260000804441        Electric       Gov. Aggregation
AEP - OP      00140060708771942           Electric       Gov. Aggregation   FEOH - OE     08025133550000804486        Electric       Gov. Aggregation
AEP - OP      00140060708879025           Electric       Gov. Aggregation   FEOH - OE     08025134870000804505        Electric       Gov. Aggregation
AEP - OP      00140060718039903           Electric       Gov. Aggregation   FEOH - OE     08025136690000804537        Electric       Gov. Aggregation
AEP - OP      00140060718135544           Electric       Gov. Aggregation   FEOH - OE     08025136940000804541        Electric       Gov. Aggregation
AEP - OP      00140060718283533           Electric       Gov. Aggregation   FEOH - OE     08027348830001130377        Electric       Gov. Aggregation
AEP - OP      00140060718388783           Electric       Gov. Aggregation   FEOH - OE     08027348920001130378        Electric       Gov. Aggregation
AEP - OP      00140060718394835           Electric       Gov. Aggregation   FEOH - OE     08027349690001130388        Electric       Gov. Aggregation
AEP - OP      00140060718602822           Electric       Gov. Aggregation   FEOH - OE     08027349740001128936        Electric       Gov. Aggregation
AEP - OP      00140060718987654           Electric       Gov. Aggregation   FEOH - OE     08027362840001129173        Electric       Gov. Aggregation
AEP - OP      00140060714828324           Electric       Gov. Aggregation   FEOH - OE     08027392900001397585        Electric       Gov. Aggregation
AEP - OP      00140060714924940           Electric       Gov. Aggregation   FEOH - TE     08030246612380028948        Electric       Gov. Aggregation
AEP - OP      00140060714977593           Electric       Gov. Aggregation   FEOH - OE     08030280170000791212        Electric       Gov. Aggregation
AEP - OP      00140060714978052           Electric       Gov. Aggregation   FEOH - OE     08030298930000790663        Electric       Gov. Aggregation
AEP - OP      00140060714986812           Electric       Gov. Aggregation   FEOH - OE     08030365350000789266        Electric       Gov. Aggregation
AEP - OP      00140060714995352           Electric       Gov. Aggregation   FEOH - OE     08030376550001130692        Electric       Gov. Aggregation
AEP - OP      00140060715202010           Electric       Gov. Aggregation   FEOH - OE     08030411980000592345        Electric       Gov. Aggregation
AEP - OP      00140060719007422           Electric       Gov. Aggregation   FEOH - OE     08030511380000784419        Electric       Gov. Aggregation
AEP - OP      00140060719079674           Electric       Gov. Aggregation   FEOH - OE     08025156410000769764        Electric       Gov. Aggregation
AEP - OP      00140060719115162           Electric       Gov. Aggregation   FEOH - OE     08025158760000792355        Electric       Gov. Aggregation
AEP - OP      00140060719356502           Electric       Gov. Aggregation   FEOH - OE     08025160830000791030        Electric       Gov. Aggregation
AEP - OP      00140060719389362           Electric       Gov. Aggregation   FEOH - OE     08025161010000791033        Electric       Gov. Aggregation
AEP - OP      00140060719479292           Electric       Gov. Aggregation   FEOH - OE     08025164060000791082        Electric       Gov. Aggregation
AEP - OP      00140060719485815           Electric       Gov. Aggregation   FEOH - OE     08025164760000791092        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060708133484           Electric       Gov. Aggregation   FEOH - OE     08025165820000791108        Electric       Gov. Aggregation
AEP - OP      00140060708181624           Electric       Gov. Aggregation   FEOH - OE     08026513940001129471        Electric       Gov. Aggregation
AEP - OP      00140060708259582           Electric       Gov. Aggregation   FEOH - OE     08026515250001129490        Electric       Gov. Aggregation
AEP - OP      00140060708344252           Electric       Gov. Aggregation   FEOH - OE     08026533800001044741        Electric       Gov. Aggregation
AEP - OP      00140060708494473           Electric       Gov. Aggregation   FEOH - OE     08026551470001044541        Electric       Gov. Aggregation
AEP - OP      00140060708524682           Electric       Gov. Aggregation   FEOH - OE     08026586930001130642        Electric       Gov. Aggregation
AEP - OP      00140060708577961           Electric       Gov. Aggregation   FEOH - OE     08026587120001128093        Electric       Gov. Aggregation
AEP - OP      00140060715313525           Electric       Gov. Aggregation   FEOH - OE     08026593840001446272        Electric       Gov. Aggregation
AEP - OP      00140060715440485           Electric       Gov. Aggregation   FEOH - OE     08024987950000803580        Electric       Gov. Aggregation
AEP - OP      00140060715680970           Electric       Gov. Aggregation   FEOH - OE     08024988340000803587        Electric       Gov. Aggregation
AEP - OP      00140060715763741           Electric       Gov. Aggregation   FEOH - OE     08024988790000803599        Electric       Gov. Aggregation
AEP - OP      00140060715771840           Electric       Gov. Aggregation   FEOH - OE     08025000080001428791        Electric       Gov. Aggregation
AEP - OP      00140060715787371           Electric       Gov. Aggregation   FEOH - OE     08025001930001553139        Electric       Gov. Aggregation
AEP - OP      00140060715832972           Electric       Gov. Aggregation   FEOH - OE     08025029510000790855        Electric       Gov. Aggregation
AEP - OP      00140060713010695           Electric       Gov. Aggregation   FEOH - OE     08027790120001042313        Electric       Gov. Aggregation
AEP - OP      00140060713121842           Electric       Gov. Aggregation   FEOH - OE     08027792120001042336        Electric       Gov. Aggregation
AEP - OP      00140060713156302           Electric       Gov. Aggregation   FEOH - OE     08027797100001042418        Electric       Gov. Aggregation
AEP - OP      00140060713247405           Electric       Gov. Aggregation   FEOH - OE     08027797530001042431        Electric       Gov. Aggregation
AEP - OP      00140060713267654           Electric       Gov. Aggregation   FEOH - OE     08027802630001103910        Electric       Gov. Aggregation
AEP - OP      00140060713274515           Electric       Gov. Aggregation   FEOH - OE     08027851030001042502        Electric       Gov. Aggregation
AEP - OP      00140060713327951           Electric       Gov. Aggregation   FEOH - OE     08027936470001128863        Electric       Gov. Aggregation
AEP - OP      00140060719562824           Electric       Gov. Aggregation   FEOH - OE     08025139710000804311        Electric       Gov. Aggregation
AEP - OP      00140060719729484           Electric       Gov. Aggregation   FEOH - OE     08025154920000769743        Electric       Gov. Aggregation
AEP - OP      00140060719885625           Electric       Gov. Aggregation   FEOH - OE     08025161860000791045        Electric       Gov. Aggregation
AEP - OP      00140060720021913           Electric       Gov. Aggregation   FEOH - OE     08025162330000791053        Electric       Gov. Aggregation
AEP - OP      00140060720239460           Electric       Gov. Aggregation   FEOH - OE     08025164180000791074        Electric       Gov. Aggregation
AEP - OP      00140060720317831           Electric       Gov. Aggregation   FEOH - OE     08025164380000791087        Electric       Gov. Aggregation
AEP - OP      00140060716105305           Electric       Gov. Aggregation   FEOH - OE     08025168110000791146        Electric       Gov. Aggregation
AEP - OP      00140060716263455           Electric       Gov. Aggregation   FEOH - OE     08027396890001041450        Electric       Gov. Aggregation
AEP - OP      00140060716320321           Electric       Gov. Aggregation   FEOH - OE     08027403570001040606        Electric       Gov. Aggregation
AEP - OP      00140060716359764           Electric       Gov. Aggregation   FEOH - OE     08027410500001142790        Electric       Gov. Aggregation
AEP - OP      00140060716399941           Electric       Gov. Aggregation   FEOH - OE     08027411250001142799        Electric       Gov. Aggregation
AEP - OP      00140060716400012           Electric       Gov. Aggregation   FEOH - OE     08027415680001127559        Electric       Gov. Aggregation
AEP - OP      00140060720351543           Electric       Gov. Aggregation   FEOH - OE     08027417190001130435        Electric       Gov. Aggregation
AEP - OP      00140060720370681           Electric       Gov. Aggregation   FEOH - OE     08027418790001142892        Electric       Gov. Aggregation
AEP - OP      00140060720412304           Electric       Gov. Aggregation   FEOH - OE     08026610850001142730        Electric       Gov. Aggregation
AEP - OP      00140060720421601           Electric       Gov. Aggregation   FEOH - OE     08026651190001129720        Electric       Gov. Aggregation
AEP - OP      00140060720424110           Electric       Gov. Aggregation   FEOH - OE     08026652770001129743        Electric       Gov. Aggregation
AEP - OP      00140060720592455           Electric       Gov. Aggregation   FEOH - OE     08026653060001143154        Electric       Gov. Aggregation
AEP - OP      00140060720664044           Electric       Gov. Aggregation   FEOH - OE     08026654180001142677        Electric       Gov. Aggregation
AEP - OP      00140060713336291           Electric       Gov. Aggregation   FEOH - OE     08026655410001128053        Electric       Gov. Aggregation
AEP - OP      00140060713570541           Electric       Gov. Aggregation   FEOH - OE     08026656670001129788        Electric       Gov. Aggregation
AEP - OP      00140060713595223           Electric       Gov. Aggregation   FEOH - OE     08027419010001142896        Electric       Gov. Aggregation
AEP - OP      00140060713730722           Electric       Gov. Aggregation   FEOH - OE     08027419190001130531        Electric       Gov. Aggregation
AEP - OP      00140060713807812           Electric       Gov. Aggregation   FEOH - OE     08027419480001130674        Electric       Gov. Aggregation
AEP - OP      00140060713848401           Electric       Gov. Aggregation   FEOH - OE     08027419830001130538        Electric       Gov. Aggregation
AEP - OP      00140060714001202           Electric       Gov. Aggregation   FEOH - OE     08027421450001043364        Electric       Gov. Aggregation
AEP - OP      00140060720668614           Electric       Gov. Aggregation   FEOH - OE     08027428690001143281        Electric       Gov. Aggregation
AEP - OP      00140060720734043           Electric       Gov. Aggregation   FEOH - OE     08027428940001042287        Electric       Gov. Aggregation
AEP - OP      00140060720954475           Electric       Gov. Aggregation   FEOH - OE     08025063600000804347        Electric       Gov. Aggregation
AEP - OP      00140060721004004           Electric       Gov. Aggregation   FEOH - OE     08025065890000804382        Electric       Gov. Aggregation
AEP - OP      00140060721025391           Electric       Gov. Aggregation   FEOH - OE     08025067510000804337        Electric       Gov. Aggregation
AEP - OP      00140060721130351           Electric       Gov. Aggregation   FEOH - OE     08025090450000790870        Electric       Gov. Aggregation
AEP - OP      00140060721227463           Electric       Gov. Aggregation   FEOH - OE     08025090540000790871        Electric       Gov. Aggregation
AEP - OP      00140060719272884           Electric       Gov. Aggregation   FEOH - OE     08025091330000790882        Electric       Gov. Aggregation
AEP - OP      00140060719361694           Electric       Gov. Aggregation   FEOH - OE     08025093430001325229        Electric       Gov. Aggregation
AEP - OP      00140060719361914           Electric       Gov. Aggregation   FEOH - OE     08027939640001044232        Electric       Gov. Aggregation
AEP - OP      00140060719367344           Electric       Gov. Aggregation   FEOH - OE     08027941135000303050        Electric       Gov. Aggregation
AEP - OP      00140060719415101           Electric       Gov. Aggregation   FEOH - OE     08027971420001130550        Electric       Gov. Aggregation
AEP - OP      00140060719456155           Electric       Gov. Aggregation   FEOH - OE     08027975230001128480        Electric       Gov. Aggregation
AEP - OP      00140060719532973           Electric       Gov. Aggregation   FEOH - OE     08027978940001128910        Electric       Gov. Aggregation
AEP - OP      00140060712331233           Electric       Gov. Aggregation   FEOH - OE     08027996890001131150        Electric       Gov. Aggregation
AEP - OP      00140060712447972           Electric       Gov. Aggregation   FEOH - OE     08028113130001142113        Electric       Gov. Aggregation
AEP - OP      00140060712676351           Electric       Gov. Aggregation   FEOH - OE     08028122450001128866        Electric       Gov. Aggregation
AEP - OP      00140060712913345           Electric       Gov. Aggregation   FEOH - OE     08028124460001128915        Electric       Gov. Aggregation
AEP - OP      00140060713013972           Electric       Gov. Aggregation   FEOH - OE     08028125420001414901        Electric       Gov. Aggregation
AEP - OP      00140060713163055           Electric       Gov. Aggregation   FEOH - OE     08028126980001129022        Electric       Gov. Aggregation
AEP - OP      00140060713221374           Electric       Gov. Aggregation   FEOH - OE     08028127840001129020        Electric       Gov. Aggregation
AEP - OP      00140060714010624           Electric       Gov. Aggregation   FEOH - OE     08028128450001129501        Electric       Gov. Aggregation
AEP - OP      00140060714048803           Electric       Gov. Aggregation   FEOH - OE     08030530570000844480        Electric       Gov. Aggregation
AEP - OP      00140060714052445           Electric       Gov. Aggregation   FEOH - OE     08030565905000149741        Electric       Gov. Aggregation
AEP - OP      00140060714188423           Electric       Gov. Aggregation   FEOH - OE     08030616920000788944        Electric       Gov. Aggregation
AEP - OP      00140060714201783           Electric       Gov. Aggregation   FEOH - OE     08030621900000844808        Electric       Gov. Aggregation
AEP - OP      00140060714353971           Electric       Gov. Aggregation   FEOH - OE     08030675980000805481        Electric       Gov. Aggregation
AEP - OP      00140060714366193           Electric       Gov. Aggregation   FEOH - OE     08030709780000803451        Electric       Gov. Aggregation
AEP - OP      00140060721286531           Electric       Gov. Aggregation   FEOH - OE     08028156540000187131        Electric       Gov. Aggregation
AEP - OP      00140060721295272           Electric       Gov. Aggregation   FEOH - OE     08028204390001538050        Electric       Gov. Aggregation
AEP - OP      00140060721326144           Electric       Gov. Aggregation   FEOH - OE     08028709520001128340        Electric       Gov. Aggregation
AEP - OP      00140060721330103           Electric       Gov. Aggregation   FEOH - TE     08028710695000082601        Electric       Gov. Aggregation
AEP - OP      00140060721349795           Electric       Gov. Aggregation   FEOH - OE     08028737330000849816        Electric       Gov. Aggregation
AEP - OP      00140060721518483           Electric       Gov. Aggregation   FEOH - OE     08028828190000791708        Electric       Gov. Aggregation
AEP - OP      00140060721668810           Electric       Gov. Aggregation   FEOH - TE     08028896092130006254        Electric       Gov. Aggregation
AEP - OP      00140060708881151           Electric       Gov. Aggregation   FEOH - TE     08030772512900007711        Electric       Gov. Aggregation
AEP - OP      00140060708896554           Electric       Gov. Aggregation   FEOH - OE     08030822155000167861        Electric       Gov. Aggregation
AEP - OP      00140060708940902           Electric       Gov. Aggregation   FEOH - OE     08030833310001379596        Electric       Gov. Aggregation
AEP - OP      00140060708959480           Electric       Gov. Aggregation   FEOH - OE     08030866610001044508        Electric       Gov. Aggregation
AEP - OP      00140060709014711           Electric       Gov. Aggregation   FEOH - OE     08030887080000604161        Electric       Gov. Aggregation
AEP - OP      00140060709052321           Electric       Gov. Aggregation   FEOH - TE     08030913812080027369        Electric       Gov. Aggregation
AEP - OP      00140060709099311           Electric       Gov. Aggregation   FEOH - OE     08030915290001540427        Electric       Gov. Aggregation
AEP - OP      00140060708631415           Electric       Gov. Aggregation   FEOH - OE     08025167510000791131        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060708696210           Electric       Gov. Aggregation   FEOH - OE     08025168930000791159        Electric       Gov. Aggregation
AEP - OP      00140060708909274           Electric       Gov. Aggregation   FEOH - OE     08025169460000791167        Electric       Gov. Aggregation
AEP - OP      00140060709120994           Electric       Gov. Aggregation   FEOH - OE     08025200210001333993        Electric       Gov. Aggregation
AEP - OP      00140060709203652           Electric       Gov. Aggregation   FEOH - OE     08025207130000804698        Electric       Gov. Aggregation
AEP - OP      00140060709231011           Electric       Gov. Aggregation   FEOH - OE     08025211820000778093        Electric       Gov. Aggregation
AEP - OP      00140060716557665           Electric       Gov. Aggregation   FEOH - OE     08025233450001570875        Electric       Gov. Aggregation
AEP - OP      00140060716652551           Electric       Gov. Aggregation   FEOH - OE     08026657520001129816        Electric       Gov. Aggregation
AEP - OP      00140060716827560           Electric       Gov. Aggregation   FEOH - OE     08026660940001044987        Electric       Gov. Aggregation
AEP - OP      00140060716896964           Electric       Gov. Aggregation   FEOH - OE     08026666090001045222        Electric       Gov. Aggregation
AEP - OP      00140060716936384           Electric       Gov. Aggregation   FEOH - OE     08026666095000378410        Electric       Gov. Aggregation
AEP - OP      00140060717195382           Electric       Gov. Aggregation   FEOH - OE     08026722200001129877        Electric       Gov. Aggregation
AEP - OP      00140060719619710           Electric       Gov. Aggregation   FEOH - OE     08026725460001041606        Electric       Gov. Aggregation
AEP - OP      00140060719815161           Electric       Gov. Aggregation   FEOH - OE     08026727270001129946        Electric       Gov. Aggregation
AEP - OP      00140060719851081           Electric       Gov. Aggregation   FEOH - OE     08025094030001323536        Electric       Gov. Aggregation
AEP - OP      00140060719913764           Electric       Gov. Aggregation   FEOH - OE     08025095070000790942        Electric       Gov. Aggregation
AEP - OP      00140060719918342           Electric       Gov. Aggregation   FEOH - OE     08025096590000790965        Electric       Gov. Aggregation
AEP - OP      00140060719939225           Electric       Gov. Aggregation   FEOH - OE     08025098070000790986        Electric       Gov. Aggregation
AEP - OP      00140060721701330           Electric       Gov. Aggregation   FEOH - OE     08025098680000790996        Electric       Gov. Aggregation
AEP - OP      00140060721758394           Electric       Gov. Aggregation   FEOH - OE     08025099390000791007        Electric       Gov. Aggregation
AEP - OP      00140060721853781           Electric       Gov. Aggregation   FEOH - OE     08025128650000810145        Electric       Gov. Aggregation
AEP - OP      00140060721906925           Electric       Gov. Aggregation   FEOH - OE     08028901770000786498        Electric       Gov. Aggregation
AEP - OP      00140060721925480           Electric       Gov. Aggregation   FEOH - OE     08028950410000792628        Electric       Gov. Aggregation
AEP - OP      00140060722000593           Electric       Gov. Aggregation   FEOH - OE     08028958830001044398        Electric       Gov. Aggregation
AEP - OP      00140060716425615           Electric       Gov. Aggregation   FEOH - OE     08028963080001041615        Electric       Gov. Aggregation
AEP - OP      00140060716468604           Electric       Gov. Aggregation   FEOH - OE     08029004250001131365        Electric       Gov. Aggregation
AEP - OP      00140060716542072           Electric       Gov. Aggregation   FEOH - OE     08029113210001446724        Electric       Gov. Aggregation
AEP - OP      00140060716618325           Electric       Gov. Aggregation   FEOH - OE     08029137400001128023        Electric       Gov. Aggregation
AEP - OP      00140060716651692           Electric       Gov. Aggregation   FEOH - OE     08030941050001041824        Electric       Gov. Aggregation
AEP - OP      00140060716947995           Electric       Gov. Aggregation   FEOH - TE     08030954512810015507        Electric       Gov. Aggregation
AEP - OP      00140060714386153           Electric       Gov. Aggregation   FEOH - OE     08031002570000791300        Electric       Gov. Aggregation
AEP - OP      00140060714392643           Electric       Gov. Aggregation   FEOH - OE     08031109790000789268        Electric       Gov. Aggregation
AEP - OP      00140060714957353           Electric       Gov. Aggregation   FEOH - TE     08031180712390000806        Electric       Gov. Aggregation
AEP - OP      00140060715082652           Electric       Gov. Aggregation   FEOH - OE     08031265220001044115        Electric       Gov. Aggregation
AEP - OP      00140060715206263           Electric       Gov. Aggregation   FEOH - OE     08028028280001042069        Electric       Gov. Aggregation
AEP - OP      00140060715218545           Electric       Gov. Aggregation   FEOH - OE     08028037250001141946        Electric       Gov. Aggregation
AEP - OP      00140060715245873           Electric       Gov. Aggregation   FEOH - OE     08028037410001141955        Electric       Gov. Aggregation
AEP - OP      00140060709125212           Electric       Gov. Aggregation   FEOH - OE     08028038670001142008        Electric       Gov. Aggregation
AEP - OP      00140060709271174           Electric       Gov. Aggregation   FEOH - OE     08028043990001128680        Electric       Gov. Aggregation
AEP - OP      00140060709295420           Electric       Gov. Aggregation   FEOH - OE     08027429070001498485        Electric       Gov. Aggregation
AEP - OP      00140060709362021           Electric       Gov. Aggregation   FEOH - OE     08027429420001043480        Electric       Gov. Aggregation
AEP - OP      00140060709539544           Electric       Gov. Aggregation   FEOH - OE     08027446120000790842        Electric       Gov. Aggregation
AEP - OP      00140060709624562           Electric       Gov. Aggregation   FEOH - OE     08027463840001041553        Electric       Gov. Aggregation
AEP - OP      00140060709646390           Electric       Gov. Aggregation   FEOH - OE     08027466880001041600        Electric       Gov. Aggregation
AEP - OP      00140060709439063           Electric       Gov. Aggregation   FEOH - OE     08027480400001142912        Electric       Gov. Aggregation
AEP - OP      00140060709449050           Electric       Gov. Aggregation   FEOH - OE     08027480680001130548        Electric       Gov. Aggregation
AEP - OP      00140060709606044           Electric       Gov. Aggregation   FEOH - OE     08025234470000791239        Electric       Gov. Aggregation
AEP - OP      00140060709613481           Electric       Gov. Aggregation   FEOH - OE     08025235430000803086        Electric       Gov. Aggregation
AEP - OP      00140060709649374           Electric       Gov. Aggregation   FEOH - OE     08025235600000791258        Electric       Gov. Aggregation
AEP - OP      00140060709663632           Electric       Gov. Aggregation   FEOH - OE     08025237340000791283        Electric       Gov. Aggregation
AEP - OP      00140060709800911           Electric       Gov. Aggregation   FEOH - OE     08025237405000021632        Electric       Gov. Aggregation
AEP - OP      00140060720279325           Electric       Gov. Aggregation   FEOH - OE     08025238060000791294        Electric       Gov. Aggregation
AEP - OP      00140060720308653           Electric       Gov. Aggregation   FEOH - OE     08025238910000791308        Electric       Gov. Aggregation
AEP - OP      00140060720324284           Electric       Gov. Aggregation   FEOH - OE     08025207510000804703        Electric       Gov. Aggregation
AEP - OP      00140060720395140           Electric       Gov. Aggregation   FEOH - OE     08025207770000804707        Electric       Gov. Aggregation
AEP - OP      00140060720412081           Electric       Gov. Aggregation   FEOH - OE     08025231260000791193        Electric       Gov. Aggregation
AEP - OP      00140060720440960           Electric       Gov. Aggregation   FEOH - OE     08025232810000791216        Electric       Gov. Aggregation
AEP - OP      00140060720446162           Electric       Gov. Aggregation   FEOH - OE     08025234930000791248        Electric       Gov. Aggregation
AEP - OP      00140060717195691           Electric       Gov. Aggregation   FEOH - OE     08025239980000841300        Electric       Gov. Aggregation
AEP - OP      00140060717284952           Electric       Gov. Aggregation   FEOH - OE     08025265665000097214        Electric       Gov. Aggregation
AEP - OP      00140060717326940           Electric       Gov. Aggregation   FEOH - OE     08026727880001130551        Electric       Gov. Aggregation
AEP - OP      00140060717364774           Electric       Gov. Aggregation   FEOH - OE     08026732600001045304        Electric       Gov. Aggregation
AEP - OP      00140060717395450           Electric       Gov. Aggregation   FEOH - OE     08026737780001130392        Electric       Gov. Aggregation
AEP - OP      00140060717456335           Electric       Gov. Aggregation   FEOH - OE     08026761450001337001        Electric       Gov. Aggregation
AEP - OP      00140060717462500           Electric       Gov. Aggregation   FEOH - OE     08026853640001373545        Electric       Gov. Aggregation
AEP - OP      00140060722058032           Electric       Gov. Aggregation   FEOH - OE     08026857690001040630        Electric       Gov. Aggregation
AEP - OP      00140060722144922           Electric       Gov. Aggregation   FEOH - OE     08026862160001143267        Electric       Gov. Aggregation
AEP - OP      00140060722192395           Electric       Gov. Aggregation   FEOH - OE     08025131090000804455        Electric       Gov. Aggregation
AEP - OP      00140060722279590           Electric       Gov. Aggregation   FEOH - OE     08025131510000804461        Electric       Gov. Aggregation
AEP - OP      00140060722456223           Electric       Gov. Aggregation   FEOH - OE     08025132010000804467        Electric       Gov. Aggregation
AEP - OP      00140060722482660           Electric       Gov. Aggregation   FEOH - OE     08025134590000804499        Electric       Gov. Aggregation
AEP - OP      00140060722620992           Electric       Gov. Aggregation   FEOH - OE     08025134790000804504        Electric       Gov. Aggregation
AEP - OP      00140060713321170           Electric       Gov. Aggregation   FEOH - OE     08025136870001302930        Electric       Gov. Aggregation
AEP - OP      00140060713436333           Electric       Gov. Aggregation   FEOH - OE     08025137360000804547        Electric       Gov. Aggregation
AEP - OP      00140060713569080           Electric       Gov. Aggregation   FEOH - OE     08029138040001556505        Electric       Gov. Aggregation
AEP - OP      00140060713671240           Electric       Gov. Aggregation   FEOH - OE     08029182240001130498        Electric       Gov. Aggregation
AEP - OP      00140060713805252           Electric       Gov. Aggregation   FEOH - TE     08029190242810020347        Electric       Gov. Aggregation
AEP - OP      00140060713833112           Electric       Gov. Aggregation   FEOH - OE     08029213760001045616        Electric       Gov. Aggregation
AEP - OP      00140060715296835           Electric       Gov. Aggregation   FEOH - TE     08029216302680021997        Electric       Gov. Aggregation
AEP - OP      00140060715350215           Electric       Gov. Aggregation   FEOH - OE     08029260890001131130        Electric       Gov. Aggregation
AEP - OP      00140060715350951           Electric       Gov. Aggregation   FEOH - OE     08029271610000790851        Electric       Gov. Aggregation
AEP - OP      00140060715457390           Electric       Gov. Aggregation   FEOH - OE     08031341730001463552        Electric       Gov. Aggregation
AEP - OP      00140060715465351           Electric       Gov. Aggregation   FEOH - OE     08031372540001142856        Electric       Gov. Aggregation
AEP - OP      00140060715552215           Electric       Gov. Aggregation   FEOH - OE     08031412880001128354        Electric       Gov. Aggregation
AEP - OP      00140060709811905           Electric       Gov. Aggregation   FEOH - OE     08031422070001040667        Electric       Gov. Aggregation
AEP - OP      00140060709923335           Electric       Gov. Aggregation   FEOH - OE     08031424990001129452        Electric       Gov. Aggregation
AEP - OP      00140060710029510           Electric       Gov. Aggregation   FEOH - TE     08031511522680022435        Electric       Gov. Aggregation
AEP - OP      00140060710109713           Electric       Gov. Aggregation   FEOH - OE     08031512920001130769        Electric       Gov. Aggregation
AEP - OP      00140060710168013           Electric       Gov. Aggregation   FEOH - OE     08028047580001129426        Electric       Gov. Aggregation
AEP - OP      00140060710403961           Electric       Gov. Aggregation   FEOH - OE     08028048360001128766        Electric       Gov. Aggregation
AEP - OP      00140060720540370           Electric       Gov. Aggregation   FEOH - OE     08028078830001045654        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060720540934           Electric       Gov. Aggregation   FEOH - OE     08028122160001128859        Electric       Gov. Aggregation
AEP - OP      00140060720706284           Electric       Gov. Aggregation   FEOH - OE     08028123200001128885        Electric       Gov. Aggregation
AEP - OP      00140060720716010           Electric       Gov. Aggregation   FEOH - OE     08028126950001443516        Electric       Gov. Aggregation
AEP - OP      00140060720992473           Electric       Gov. Aggregation   FEOH - OE     08025273100001556698        Electric       Gov. Aggregation
AEP - OP      00140060721071770           Electric       Gov. Aggregation   FEOH - OE     08025273915000123895        Electric       Gov. Aggregation
AEP - OP      00140060721088811           Electric       Gov. Aggregation   FEOH - OE     08025276050000804313        Electric       Gov. Aggregation
AEP - OP      00140060716970712           Electric       Gov. Aggregation   FEOH - OE     08025341780000804222        Electric       Gov. Aggregation
AEP - OP      00140060717138950           Electric       Gov. Aggregation   FEOH - OE     08025342260000804227        Electric       Gov. Aggregation
AEP - OP      00140060717396161           Electric       Gov. Aggregation   FEOH - OE     08025343570000804243        Electric       Gov. Aggregation
AEP - OP      00140060717531743           Electric       Gov. Aggregation   FEOH - OE     08025344790000804091        Electric       Gov. Aggregation
AEP - OP      00140060717566111           Electric       Gov. Aggregation   FEOH - OE     08025275350000804316        Electric       Gov. Aggregation
AEP - OP      00140060717806653           Electric       Gov. Aggregation   FEOH - OE     08025278330001420997        Electric       Gov. Aggregation
AEP - OP      00140060718043763           Electric       Gov. Aggregation   FEOH - OE     08025289370000802926        Electric       Gov. Aggregation
AEP - OP      00140060717472833           Electric       Gov. Aggregation   FEOH - OE     08025315125000256410        Electric       Gov. Aggregation
AEP - OP      00140060717523493           Electric       Gov. Aggregation   FEOH - OE     08025341010001128841        Electric       Gov. Aggregation
AEP - OP      00140060717526874           Electric       Gov. Aggregation   FEOH - OE     08025341440000804216        Electric       Gov. Aggregation
AEP - OP      00140060717566795           Electric       Gov. Aggregation   FEOH - OE     08025142830000778544        Electric       Gov. Aggregation
AEP - OP      00140060717661165           Electric       Gov. Aggregation   FEOH - OE     08025155160000762700        Electric       Gov. Aggregation
AEP - OP      00140060717881435           Electric       Gov. Aggregation   FEOH - OE     08025160480000791023        Electric       Gov. Aggregation
AEP - OP      00140060717973771           Electric       Gov. Aggregation   FEOH - OE     08025161570000791042        Electric       Gov. Aggregation
AEP - OP      00140060713842043           Electric       Gov. Aggregation   FEOH - OE     08025165430000791102        Electric       Gov. Aggregation
AEP - OP      00140060713847642           Electric       Gov. Aggregation   FEOH - OE     08025169470000790809        Electric       Gov. Aggregation
AEP - OP      00140060713911842           Electric       Gov. Aggregation   FEOH - OE     08025207070000804697        Electric       Gov. Aggregation
AEP - OP      00140060714030794           Electric       Gov. Aggregation   FEOH - TE     08029312942900007778        Electric       Gov. Aggregation
AEP - OP      00140060714147352           Electric       Gov. Aggregation   FEOH - OE     08029406430001130898        Electric       Gov. Aggregation
AEP - OP      00140060714232215           Electric       Gov. Aggregation   FEOH - OE     08029444520000770534        Electric       Gov. Aggregation
AEP - OP      00140060714259943           Electric       Gov. Aggregation   FEOH - OE     08029610950001040548        Electric       Gov. Aggregation
AEP - OP      00140060709663082           Electric       Gov. Aggregation   FEOH - OE     08029780950001541687        Electric       Gov. Aggregation
AEP - OP      00140060709698655           Electric       Gov. Aggregation   FEOH - OE     08029812235000101648        Electric       Gov. Aggregation
AEP - OP      00140060709745355           Electric       Gov. Aggregation   FEOH - OE     08026864960001129281        Electric       Gov. Aggregation
AEP - OP      00140060710023570           Electric       Gov. Aggregation   FEOH - OE     08026865450001143284        Electric       Gov. Aggregation
AEP - OP      00140060710207261           Electric       Gov. Aggregation   FEOH - OE     08026867860001129482        Electric       Gov. Aggregation
AEP - OP      00140060710265214           Electric       Gov. Aggregation   FEOH - OE     08026869670001402957        Electric       Gov. Aggregation
AEP - OP      00140060710271390           Electric       Gov. Aggregation   FEOH - OE     08026876440001045612        Electric       Gov. Aggregation
AEP - OP      00140060721099664           Electric       Gov. Aggregation   FEOH - OE     08026878850001045648        Electric       Gov. Aggregation
AEP - OP      00140060721105641           Electric       Gov. Aggregation   FEOH - OE     08026936720001143310        Electric       Gov. Aggregation
AEP - OP      00140060721128092           Electric       Gov. Aggregation   FEOH - OE     08027480750001130549        Electric       Gov. Aggregation
AEP - OP      00140060721246060           Electric       Gov. Aggregation   FEOH - OE     08027480880001127511        Electric       Gov. Aggregation
AEP - OP      00140060721318431           Electric       Gov. Aggregation   FEOH - OE     08027482140001142936        Electric       Gov. Aggregation
AEP - OP      00140060721329764           Electric       Gov. Aggregation   FEOH - OE     08027482510001130579        Electric       Gov. Aggregation
AEP - OP      00140060721354503           Electric       Gov. Aggregation   FEOH - OE     08027484070001130600        Electric       Gov. Aggregation
AEP - OP      00140060710279645           Electric       Gov. Aggregation   FEOH - OE     08027485440001127721        Electric       Gov. Aggregation
AEP - OP      00140060710399353           Electric       Gov. Aggregation   FEOH - OE     08027487380001130645        Electric       Gov. Aggregation
AEP - OP      00140060710448071           Electric       Gov. Aggregation   FEOH - OE     08031537900000803051        Electric       Gov. Aggregation
AEP - OP      00140060710496022           Electric       Gov. Aggregation   FEOH - OE     08031553020000765691        Electric       Gov. Aggregation
AEP - OP      00140060710502724           Electric       Gov. Aggregation   FEOH - OE     08031588720001130311        Electric       Gov. Aggregation
AEP - OP      00140060710616880           Electric       Gov. Aggregation   FEOH - OE     08031600205000179887        Electric       Gov. Aggregation
AEP - OP      00140060710623014           Electric       Gov. Aggregation   FEOH - OE     08031636370001043153        Electric       Gov. Aggregation
AEP - OP      00140060715555642           Electric       Gov. Aggregation   FEOH - OE     08031692930000587650        Electric       Gov. Aggregation
AEP - OP      00140060715583243           Electric       Gov. Aggregation   FEOH - OE     08031711210000804976        Electric       Gov. Aggregation
AEP - OP      00140060715615252           Electric       Gov. Aggregation   FEOH - OE     08028127500001129011        Electric       Gov. Aggregation
AEP - OP      00140060715759871           Electric       Gov. Aggregation   FEOH - OE     08028127620001129014        Electric       Gov. Aggregation
AEP - OP      00140060715772253           Electric       Gov. Aggregation   FEOH - OE     08028127720001129017        Electric       Gov. Aggregation
AEP - OP      00140060715878085           Electric       Gov. Aggregation   FEOH - OE     08028127910001129021        Electric       Gov. Aggregation
AEP - OP      00140060715912423           Electric       Gov. Aggregation   FEOH - OE     08028128950001128995        Electric       Gov. Aggregation
AEP - OP      00140060710573361           Electric       Gov. Aggregation   FEOH - OE     08028175290001127989        Electric       Gov. Aggregation
AEP - OP      00140060710598191           Electric       Gov. Aggregation   FEOH - OE     08028192260001544102        Electric       Gov. Aggregation
AEP - OP      00140060710672954           Electric       Gov. Aggregation   FEOH - OE     08025345620000804221        Electric       Gov. Aggregation
AEP - OP      00140060710751611           Electric       Gov. Aggregation   FEOH - OE     08025389210001300949        Electric       Gov. Aggregation
AEP - OP      00140060710775101           Electric       Gov. Aggregation   FEOH - OE     08025389500001482588        Electric       Gov. Aggregation
AEP - OP      00140060710830774           Electric       Gov. Aggregation   FEOH - OE     08025410210000804298        Electric       Gov. Aggregation
AEP - OP      00140060710842812           Electric       Gov. Aggregation   FEOH - OE     08025410760000804300        Electric       Gov. Aggregation
AEP - OP      00140060718111964           Electric       Gov. Aggregation   FEOH - OE     08025412050000804975        Electric       Gov. Aggregation
AEP - OP      00140060718153373           Electric       Gov. Aggregation   FEOH - OE     08025451300000803126        Electric       Gov. Aggregation
AEP - OP      00140060718231344           Electric       Gov. Aggregation   FEOH - OE     08025342240001417337        Electric       Gov. Aggregation
AEP - OP      00140060718253515           Electric       Gov. Aggregation   FEOH - OE     08025388550001360714        Electric       Gov. Aggregation
AEP - OP      00140060718332262           Electric       Gov. Aggregation   FEOH - OE     08025436200000848790        Electric       Gov. Aggregation
AEP - OP      00140060718519280           Electric       Gov. Aggregation   FEOH - OE     08025439740000848838        Electric       Gov. Aggregation
AEP - OP      00140060718543801           Electric       Gov. Aggregation   FEOH - OE     08025510040000809445        Electric       Gov. Aggregation
AEP - OP      00140060722630752           Electric       Gov. Aggregation   FEOH - OE     08025515680000809538        Electric       Gov. Aggregation
AEP - OP      00140060722639074           Electric       Gov. Aggregation   FEOH - OE     08025518790001421196        Electric       Gov. Aggregation
AEP - OP      00140060722711693           Electric       Gov. Aggregation   FEOH - OE     08025213550001131355        Electric       Gov. Aggregation
AEP - OP      00140060722717035           Electric       Gov. Aggregation   FEOH - OE     08025230130000791177        Electric       Gov. Aggregation
AEP - OP      00140060722790260           Electric       Gov. Aggregation   FEOH - OE     08025233010000791219        Electric       Gov. Aggregation
AEP - OP      00140060722806014           Electric       Gov. Aggregation   FEOH - OE     08025233270000791223        Electric       Gov. Aggregation
AEP - OP      00140060722909011           Electric       Gov. Aggregation   FEOH - OE     08025234870000791247        Electric       Gov. Aggregation
AEP - OP      00140060718054315           Electric       Gov. Aggregation   FEOH - OE     08025235525000391388        Electric       Gov. Aggregation
AEP - OP      00140060718086103           Electric       Gov. Aggregation   FEOH - OE     08025236150000791266        Electric       Gov. Aggregation
AEP - OP      00140060718175282           Electric       Gov. Aggregation   FEOH - OE     08029883620001511713        Electric       Gov. Aggregation
AEP - OP      00140060718183475           Electric       Gov. Aggregation   FEOH - OE     08029923990000789197        Electric       Gov. Aggregation
AEP - OP      00140060718238171           Electric       Gov. Aggregation   FEOH - OE     08029950250000805532        Electric       Gov. Aggregation
AEP - OP      00140060718253772           Electric       Gov. Aggregation   FEOH - OE     08030065930001402016        Electric       Gov. Aggregation
AEP - OP      00140060718285543           Electric       Gov. Aggregation   FEOH - TE     08030071062680021786        Electric       Gov. Aggregation
AEP - OP      00140060721396522           Electric       Gov. Aggregation   FEOH - TE     08030086722010091085        Electric       Gov. Aggregation
AEP - OP      00140060721442471           Electric       Gov. Aggregation   FEOH - OE     08027491700001043515        Electric       Gov. Aggregation
AEP - OP      00140060721548593           Electric       Gov. Aggregation   FEOH - OE     08027499040001043338        Electric       Gov. Aggregation
AEP - OP      00140060721563694           Electric       Gov. Aggregation   FEOH - OE     08027538430001142417        Electric       Gov. Aggregation
AEP - OP      00140060721578682           Electric       Gov. Aggregation   FEOH - OE     08027538430001142440        Electric       Gov. Aggregation
AEP - OP      00140060721627840           Electric       Gov. Aggregation   FEOH - OE     08027541210001130700        Electric       Gov. Aggregation
AEP - OP      00140060721678215           Electric       Gov. Aggregation   FEOH - OE     08027541820001130708        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060714340120           Electric       Gov. Aggregation   FEOH - OE     08027542900001130724        Electric       Gov. Aggregation
AEP - OP      00140060714388720           Electric       Gov. Aggregation   FEOH - OE     08031756300000790341        Electric       Gov. Aggregation
AEP - OP      00140060714401011           Electric       Gov. Aggregation   FEOH - OE     08031820950001503715        Electric       Gov. Aggregation
AEP - OP      00140060714454512           Electric       Gov. Aggregation   FEOH - TE     08032036402030031630        Electric       Gov. Aggregation
AEP - OP      00140060714536995           Electric       Gov. Aggregation   FEOH - OE     08032053940000789196        Electric       Gov. Aggregation
AEP - OP      00140060714539830           Electric       Gov. Aggregation   FEOH - OE     08032079520001142009        Electric       Gov. Aggregation
AEP - OP      00140060714614395           Electric       Gov. Aggregation   FEOH - TE     08032130062030033368        Electric       Gov. Aggregation
AEP - OP      00140060718545030           Electric       Gov. Aggregation   FEOH - OE     08032150055000204775        Electric       Gov. Aggregation
AEP - OP      00140060718672713           Electric       Gov. Aggregation   FEOH - OE     08028268490001127871        Electric       Gov. Aggregation
AEP - OP      00140060718712734           Electric       Gov. Aggregation   FEOH - OE     08028268620001142352        Electric       Gov. Aggregation
AEP - OP      00140060718725290           Electric       Gov. Aggregation   FEOH - OE     08028268880001129075        Electric       Gov. Aggregation
AEP - OP      00140060718798381           Electric       Gov. Aggregation   FEOH - OE     08028481510001398003        Electric       Gov. Aggregation
AEP - OP      00140060718832265           Electric       Gov. Aggregation   FEOH - OE     08028580030001435392        Electric       Gov. Aggregation
AEP - OP      00140060718868654           Electric       Gov. Aggregation   FEOH - OE     08028693865001452720        Electric       Gov. Aggregation
AEP - OP      00140060710748924           Electric       Gov. Aggregation   FEOH - OE     08027549530001130796        Electric       Gov. Aggregation
AEP - OP      00140060710891801           Electric       Gov. Aggregation   FEOH - OE     08027564820001043696        Electric       Gov. Aggregation
AEP - OP      00140060710950300           Electric       Gov. Aggregation   FEOH - OE     08027593100001041908        Electric       Gov. Aggregation
AEP - OP      00140060711059751           Electric       Gov. Aggregation   FEOH - OE     08027595380001041941        Electric       Gov. Aggregation
AEP - OP      00140060711298152           Electric       Gov. Aggregation   FEOH - OE     08027604080001040491        Electric       Gov. Aggregation
AEP - OP      00140060711355403           Electric       Gov. Aggregation   FEOH - OE     08027612190001130856        Electric       Gov. Aggregation
AEP - OP      00140060711443024           Electric       Gov. Aggregation   FEOH - OE     08027613060001128084        Electric       Gov. Aggregation
AEP - OP      00140060716013212           Electric       Gov. Aggregation   FEOH - OE     08025503920001456111        Electric       Gov. Aggregation
AEP - OP      00140060716014760           Electric       Gov. Aggregation   FEOH - OE     08025510150000809447        Electric       Gov. Aggregation
AEP - OP      00140060716084370           Electric       Gov. Aggregation   FEOH - OE     08025511060000809460        Electric       Gov. Aggregation
AEP - OP      00140060716148390           Electric       Gov. Aggregation   FEOH - OE     08025519080001344816        Electric       Gov. Aggregation
AEP - OP      00140060716152210           Electric       Gov. Aggregation   FEOH - OE     08025541630001142079        Electric       Gov. Aggregation
AEP - OP      00140060716159480           Electric       Gov. Aggregation   FEOH - OE     08025560600000809569        Electric       Gov. Aggregation
AEP - OP      00140060718295231           Electric       Gov. Aggregation   FEOH - OE     08025560640000809570        Electric       Gov. Aggregation
AEP - OP      00140060718331191           Electric       Gov. Aggregation   FEOH - OE     08027008370001127504        Electric       Gov. Aggregation
AEP - OP      00140060718451590           Electric       Gov. Aggregation   FEOH - OE     08027013530001045853        Electric       Gov. Aggregation
AEP - OP      00140060718582710           Electric       Gov. Aggregation   FEOH - OE     08027040400001043674        Electric       Gov. Aggregation
AEP - OP      00140060718655074           Electric       Gov. Aggregation   FEOH - OE     08027065380001564757        Electric       Gov. Aggregation
AEP - OP      00140060721695562           Electric       Gov. Aggregation   FEOH - OE     08027068050001127645        Electric       Gov. Aggregation
AEP - OP      00140060721714952           Electric       Gov. Aggregation   FEOH - OE     08027068210001127648        Electric       Gov. Aggregation
AEP - OP      00140060721741233           Electric       Gov. Aggregation   FEOH - OE     08025519465000018936        Electric       Gov. Aggregation
AEP - OP      00140060721862762           Electric       Gov. Aggregation   FEOH - OE     08025561540000809583        Electric       Gov. Aggregation
AEP - OP      00140060721998591           Electric       Gov. Aggregation   FEOH - OE     08025576060000848955        Electric       Gov. Aggregation
AEP - OP      00140060722077205           Electric       Gov. Aggregation   FEOH - OE     08025699230001489759        Electric       Gov. Aggregation
AEP - OP      00140060722085270           Electric       Gov. Aggregation   FEOH - OE     08025762480001379504        Electric       Gov. Aggregation
AEP - OP      00140060718877390           Electric       Gov. Aggregation   FEOH - OE     08025764360000844504        Electric       Gov. Aggregation
AEP - OP      00140060718882024           Electric       Gov. Aggregation   FEOH - OE     08025774320001424661        Electric       Gov. Aggregation
AEP - OP      00140060719026573           Electric       Gov. Aggregation   FEOH - OE     08025237400000791284        Electric       Gov. Aggregation
AEP - OP      00140060719266691           Electric       Gov. Aggregation   FEOH - OE     08025266970000806141        Electric       Gov. Aggregation
AEP - OP      00140060719364231           Electric       Gov. Aggregation   FEOH - OE     08025270510001396006        Electric       Gov. Aggregation
AEP - OP      00140060719428243           Electric       Gov. Aggregation   FEOH - OE     08025341990000804224        Electric       Gov. Aggregation
AEP - OP      00140060719541741           Electric       Gov. Aggregation   FEOH - OE     08025347000000804259        Electric       Gov. Aggregation
AEP - OP      00140060711460134           Electric       Gov. Aggregation   FEOH - OE     08025387940000849827        Electric       Gov. Aggregation
AEP - OP      00140060711520880           Electric       Gov. Aggregation   FEOH - OE     08025389340000849794        Electric       Gov. Aggregation
AEP - OP      00140060711772464           Electric       Gov. Aggregation   FEOH - OE     08030210410001045299        Electric       Gov. Aggregation
AEP - OP      00140060711875884           Electric       Gov. Aggregation   FEOH - OE     08030273510000806165        Electric       Gov. Aggregation
AEP - OP      00140060711911550           Electric       Gov. Aggregation   FEOH - OE     08030299650001129047        Electric       Gov. Aggregation
AEP - OP      00140060711975991           Electric       Gov. Aggregation   FEOH - OE     08030527230000789186        Electric       Gov. Aggregation
AEP - OP      00140060711984762           Electric       Gov. Aggregation   FEOH - OE     08030551590000179028        Electric       Gov. Aggregation
AEP - OP      00140060716252904           Electric       Gov. Aggregation   FEOH - OE     08032152440001128319        Electric       Gov. Aggregation
AEP - OP      00140060716486324           Electric       Gov. Aggregation   FEOH - OE     08032176310001403535        Electric       Gov. Aggregation
AEP - OP      00140060716692355           Electric       Gov. Aggregation   FEOH - OE     08032187900000790537        Electric       Gov. Aggregation
AEP - OP      00140060716733922           Electric       Gov. Aggregation   FEOH - OE     08032221610000790865        Electric       Gov. Aggregation
AEP - OP      00140060716760994           Electric       Gov. Aggregation   FEOH - OE     08032358410000778136        Electric       Gov. Aggregation
AEP - OP      00140060716853872           Electric       Gov. Aggregation   FEOH - TE     08032384432210013663        Electric       Gov. Aggregation
AEP - OP      00140060716925515           Electric       Gov. Aggregation   FEOH - OE     08032403050000584030        Electric       Gov. Aggregation
AEP - OP      00140060710932103           Electric       Gov. Aggregation   FEOH - OE     08027613790001131112        Electric       Gov. Aggregation
AEP - OP      00140060711043244           Electric       Gov. Aggregation   FEOH - OE     08027614590001131098        Electric       Gov. Aggregation
AEP - OP      00140060711113661           Electric       Gov. Aggregation   FEOH - OE     08027615740001129531        Electric       Gov. Aggregation
AEP - OP      00140060711195620           Electric       Gov. Aggregation   FEOH - OE     08027615740001131258        Electric       Gov. Aggregation
AEP - OP      00140060711494544           Electric       Gov. Aggregation   FEOH - OE     08027616620001131081        Electric       Gov. Aggregation
AEP - OP      00140060711505172           Electric       Gov. Aggregation   FEOH - OE     08027617570001131059        Electric       Gov. Aggregation
AEP - OP      00140060711605241           Electric       Gov. Aggregation   FEOH - OE     08027618460001131047        Electric       Gov. Aggregation
AEP - OP      00140060719556024           Electric       Gov. Aggregation   FEOH - OE     08028700850001517323        Electric       Gov. Aggregation
AEP - OP      00140060719667015           Electric       Gov. Aggregation   FEOH - TE     08028746232680022346        Electric       Gov. Aggregation
AEP - OP      00140060719816543           Electric       Gov. Aggregation   FEOH - OE     08028763520001127592        Electric       Gov. Aggregation
AEP - OP      00140060719950542           Electric       Gov. Aggregation   FEOH - OE     08028772450001131264        Electric       Gov. Aggregation
AEP - OP      00140060720050332           Electric       Gov. Aggregation   FEOH - OE     08028802720001575688        Electric       Gov. Aggregation
AEP - OP      00140060720059572           Electric       Gov. Aggregation   FEOH - TE     08028896092130006269        Electric       Gov. Aggregation
AEP - OP      00140060718725483           Electric       Gov. Aggregation   FEOH - OE     08028899695000084547        Electric       Gov. Aggregation
AEP - OP      00140060718807215           Electric       Gov. Aggregation   FEOH - OE     08025560705000018944        Electric       Gov. Aggregation
AEP - OP      00140060718922683           Electric       Gov. Aggregation   FEOH - OE     08025576470000848964        Electric       Gov. Aggregation
AEP - OP      00140060719069291           Electric       Gov. Aggregation   FEOH - OE     08025576640000848966        Electric       Gov. Aggregation
AEP - OP      00140060719279735           Electric       Gov. Aggregation   FEOH - OE     08025577700000848979        Electric       Gov. Aggregation
AEP - OP      00140060719410402           Electric       Gov. Aggregation   FEOH - OE     08025581740001044770        Electric       Gov. Aggregation
AEP - OP      00140060722945504           Electric       Gov. Aggregation   FEOH - OE     08025705220001042837        Electric       Gov. Aggregation
AEP - OP      00140060723004710           Electric       Gov. Aggregation   FEOH - OE     08025707760001042867        Electric       Gov. Aggregation
AEP - OP      00140060723048903           Electric       Gov. Aggregation   FEOH - OE     08027103170001130256        Electric       Gov. Aggregation
AEP - OP      00140060723060853           Electric       Gov. Aggregation   FEOH - OE     08027131290001127683        Electric       Gov. Aggregation
AEP - OP      00140060723127133           Electric       Gov. Aggregation   FEOH - OE     08027131860001127526        Electric       Gov. Aggregation
AEP - OP      00140060723146902           Electric       Gov. Aggregation   FEOH - OE     08027132230001127695        Electric       Gov. Aggregation
AEP - OP      00140060723147604           Electric       Gov. Aggregation   FEOH - OE     08027135100001129323        Electric       Gov. Aggregation
AEP - OP      00140060717155353           Electric       Gov. Aggregation   FEOH - OE     08027156310001143332        Electric       Gov. Aggregation
AEP - OP      00140060717244651           Electric       Gov. Aggregation   FEOH - OE     08025776080001043339        Electric       Gov. Aggregation
AEP - OP      00140060717285825           Electric       Gov. Aggregation   FEOH - OE     08025779170001043078        Electric       Gov. Aggregation
AEP - OP      00140060717437103           Electric       Gov. Aggregation   FEOH - OE     08025817240001044186        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060717438675           Electric       Gov. Aggregation   FEOH - OE     08025841330001043108        Electric       Gov. Aggregation
AEP - OP      00140060720145604           Electric       Gov. Aggregation   FEOH - OE     08025841800001043115        Electric       Gov. Aggregation
AEP - OP      00140060720203914           Electric       Gov. Aggregation   FEOH - OE     08025941550001103907        Electric       Gov. Aggregation
AEP - OP      00140060720422414           Electric       Gov. Aggregation   FEOH - OE     08025987980001327776        Electric       Gov. Aggregation
AEP - OP      00140060720584184           Electric       Gov. Aggregation   FEOH - OE     08025389820001357134        Electric       Gov. Aggregation
AEP - OP      00140060720644452           Electric       Gov. Aggregation   FEOH - OE     08025410810001469365        Electric       Gov. Aggregation
AEP - OP      00140060720923290           Electric       Gov. Aggregation   FEOH - OE     08025412270000804977        Electric       Gov. Aggregation
AEP - OP      00140060720939905           Electric       Gov. Aggregation   FEOH - OE     08025428030001129663        Electric       Gov. Aggregation
AEP - OP      00140060723281364           Electric       Gov. Aggregation   FEOH - OE     08025437515001291251        Electric       Gov. Aggregation
AEP - OP      00140060723306780           Electric       Gov. Aggregation   FEOH - OE     08025451300000803131        Electric       Gov. Aggregation
AEP - OP      00140060723331674           Electric       Gov. Aggregation   FEOH - OE     08025511230000809462        Electric       Gov. Aggregation
AEP - OP      00140060723400422           Electric       Gov. Aggregation   FEOH - OE     08030620110001130900        Electric       Gov. Aggregation
AEP - OP      00140060723729691           Electric       Gov. Aggregation   FEOH - OE     08030628750001128010        Electric       Gov. Aggregation
AEP - OP      00140060723885032           Electric       Gov. Aggregation   FEOH - OE     08030663660001143068        Electric       Gov. Aggregation
AEP - OP      00140060724085682           Electric       Gov. Aggregation   FEOH - OE     08030724840000792707        Electric       Gov. Aggregation
AEP - OP      00140060717500552           Electric       Gov. Aggregation   FEOH - TE     08030749072770020016        Electric       Gov. Aggregation
AEP - OP      00140060717724593           Electric       Gov. Aggregation   FEOH - OE     08030793560001505628        Electric       Gov. Aggregation
AEP - OP      00140060717751723           Electric       Gov. Aggregation   FEOH - OE     08030840920000791043        Electric       Gov. Aggregation
AEP - OP      00140060717925865           Electric       Gov. Aggregation   FEOH - OE     08032409930001495233        Electric       Gov. Aggregation
AEP - OP      00140060717933813           Electric       Gov. Aggregation   FEOH - OE     08032426090000788970        Electric       Gov. Aggregation
AEP - OP      00140060717972331           Electric       Gov. Aggregation   FEOH - OE     08032472950000844725        Electric       Gov. Aggregation
AEP - OP      00140060718022825           Electric       Gov. Aggregation   FEOH - OE     08032481450000841238        Electric       Gov. Aggregation
AEP - OP      00140060721026242           Electric       Gov. Aggregation   FEOH - OE     08032492920001455708        Electric       Gov. Aggregation
AEP - OP      00140060721086784           Electric       Gov. Aggregation   FEOH - OE     08032493820001563271        Electric       Gov. Aggregation
AEP - OP      00140060721102500           Electric       Gov. Aggregation   FEOH - TE     08032539472680024017        Electric       Gov. Aggregation
AEP - OP      00140060721168071           Electric       Gov. Aggregation   FEOH - OE     08028969580001394677        Electric       Gov. Aggregation
AEP - OP      00140060721212883           Electric       Gov. Aggregation   FEOH - OE     08029028705000088987        Electric       Gov. Aggregation
AEP - OP      00140060721232650           Electric       Gov. Aggregation   FEOH - OE     08029068190001044731        Electric       Gov. Aggregation
AEP - OP      00140060721240450           Electric       Gov. Aggregation   FEOH - OE     08029101035000091472        Electric       Gov. Aggregation
AEP - OP      00140060712045673           Electric       Gov. Aggregation   FEOH - OE     08029142110001459208        Electric       Gov. Aggregation
AEP - OP      00140060712052242           Electric       Gov. Aggregation   FEOH - OE     08025761320000844474        Electric       Gov. Aggregation
AEP - OP      00140060712067875           Electric       Gov. Aggregation   FEOH - OE     08025779580001043084        Electric       Gov. Aggregation
AEP - OP      00140060712130525           Electric       Gov. Aggregation   FEOH - OE     08025822770001045306        Electric       Gov. Aggregation
AEP - OP      00140060712308975           Electric       Gov. Aggregation   FEOH - OE     08025832340001041770        Electric       Gov. Aggregation
AEP - OP      00140060712382601           Electric       Gov. Aggregation   FEOH - OE     08025840830001043101        Electric       Gov. Aggregation
AEP - OP      00140060722099584           Electric       Gov. Aggregation   FEOH - OE     08025841050001040590        Electric       Gov. Aggregation
AEP - OP      00140060722183482           Electric       Gov. Aggregation   FEOH - OE     08025846360001043178        Electric       Gov. Aggregation
AEP - OP      00140060722399643           Electric       Gov. Aggregation   FEOH - OE     08029150560000778816        Electric       Gov. Aggregation
AEP - OP      00140060722404875           Electric       Gov. Aggregation   FEOH - OE     08029170640000762731        Electric       Gov. Aggregation
AEP - OP      00140060722478961           Electric       Gov. Aggregation   FEOH - OE     08029288610001476666        Electric       Gov. Aggregation
AEP - OP      00140060722682710           Electric       Gov. Aggregation   FEOH - OE     08029621050001570077        Electric       Gov. Aggregation
AEP - OP      00140060711686013           Electric       Gov. Aggregation   FEOH - OE     08029622650000782672        Electric       Gov. Aggregation
AEP - OP      00140060711835400           Electric       Gov. Aggregation   FEOH - OE     08029684650000784445        Electric       Gov. Aggregation
AEP - OP      00140060712064010           Electric       Gov. Aggregation   FEOH - OE     08029696270000789040        Electric       Gov. Aggregation
AEP - OP      00140060712204563           Electric       Gov. Aggregation   FEOH - OE     08027192480001422620        Electric       Gov. Aggregation
AEP - OP      00140060712273064           Electric       Gov. Aggregation   FEOH - OE     08027196670001477684        Electric       Gov. Aggregation
AEP - OP      00140060712311244           Electric       Gov. Aggregation   FEOH - OE     08027197160001477694        Electric       Gov. Aggregation
AEP - OP      00140060712387091           Electric       Gov. Aggregation   FEOH - OE     08027199480001503134        Electric       Gov. Aggregation
AEP - OP      00140060719557645           Electric       Gov. Aggregation   FEOH - OE     08027200580001127806        Electric       Gov. Aggregation
AEP - OP      00140060719626415           Electric       Gov. Aggregation   FEOH - OE     08027202160001127830        Electric       Gov. Aggregation
AEP - OP      00140060719631645           Electric       Gov. Aggregation   FEOH - OE     08027203780001127852        Electric       Gov. Aggregation
AEP - OP      00140060719633381           Electric       Gov. Aggregation   FEOH - OE     08027618870001131042        Electric       Gov. Aggregation
AEP - OP      00140060719718141           Electric       Gov. Aggregation   FEOH - OE     08027624070001043809        Electric       Gov. Aggregation
AEP - OP      00140060719788004           Electric       Gov. Aggregation   FEOH - OE     08027685920001129312        Electric       Gov. Aggregation
AEP - OP      00140060719797315           Electric       Gov. Aggregation   FEOH - OE     08027686260001414450        Electric       Gov. Aggregation
AEP - OP      00140060724097062           Electric       Gov. Aggregation   FEOH - OE     08027686900001322636        Electric       Gov. Aggregation
AEP - OP      00140060724124494           Electric       Gov. Aggregation   FEOH - OE     08027688950001130928        Electric       Gov. Aggregation
AEP - OP      00140060724213225           Electric       Gov. Aggregation   FEOH - OE     08025988050001341971        Electric       Gov. Aggregation
AEP - OP      00140060724305974           Electric       Gov. Aggregation   FEOH - OE     08026041790001129602        Electric       Gov. Aggregation
AEP - OP      00140060724426890           Electric       Gov. Aggregation   FEOH - OE     08026050370001040792        Electric       Gov. Aggregation
AEP - OP      00140060724486064           Electric       Gov. Aggregation   FEOH - OE     08026056680001044827        Electric       Gov. Aggregation
AEP - OP      00140060724518542           Electric       Gov. Aggregation   FEOH - OE     08026058400001521376        Electric       Gov. Aggregation
AEP - OP      00140060718101430           Electric       Gov. Aggregation   FEOH - OE     08026177660001131241        Electric       Gov. Aggregation
AEP - OP      00140060718101845           Electric       Gov. Aggregation   FEOH - OE     08026197570001040566        Electric       Gov. Aggregation
AEP - OP      00140060718109124           Electric       Gov. Aggregation   FEOH - OE     08025514380001044739        Electric       Gov. Aggregation
AEP - OP      00140060718167002           Electric       Gov. Aggregation   FEOH - OE     08025515920000809544        Electric       Gov. Aggregation
AEP - OP      00140060718435342           Electric       Gov. Aggregation   FEOH - OE     08025516340000809549        Electric       Gov. Aggregation
AEP - OP      00140060718448185           Electric       Gov. Aggregation   FEOH - OE     08025518730001422928        Electric       Gov. Aggregation
AEP - OP      00140060718462113           Electric       Gov. Aggregation   FEOH - OE     08025519460001501157        Electric       Gov. Aggregation
AEP - OP      00140060721305034           Electric       Gov. Aggregation   FEOH - OE     08025566215001362828        Electric       Gov. Aggregation
AEP - OP      00140060721417881           Electric       Gov. Aggregation   FEOH - OE     08025576390000848963        Electric       Gov. Aggregation
AEP - OP      00140060721428012           Electric       Gov. Aggregation   FEOH - OE     08032556900001345079        Electric       Gov. Aggregation
AEP - OP      00140060721434353           Electric       Gov. Aggregation   FEOH - OE     08032764130001127833        Electric       Gov. Aggregation
AEP - OP      00140060721547125           Electric       Gov. Aggregation   FEOH - TE     08032764942380027382        Electric       Gov. Aggregation
AEP - OP      00140060721570720           Electric       Gov. Aggregation   FEOH - TE     08032797312680020341        Electric       Gov. Aggregation
AEP - OP      00140060721600091           Electric       Gov. Aggregation   FEOH - OE     08032882470000810190        Electric       Gov. Aggregation
AEP - OP      00140060712488875           Electric       Gov. Aggregation   FEOH - OE     08032899750000782639        Electric       Gov. Aggregation
AEP - OP      00140060712664512           Electric       Gov. Aggregation   FEOH - OE     08032941440000802972        Electric       Gov. Aggregation
AEP - OP      00140060712683625           Electric       Gov. Aggregation   FEOH - OE     08029707840001142460        Electric       Gov. Aggregation
AEP - OP      00140060712995320           Electric       Gov. Aggregation   FEOH - OE     08029738490001127548        Electric       Gov. Aggregation
AEP - OP      00140060713043080           Electric       Gov. Aggregation   FEOH - OE     08029763400000791647        Electric       Gov. Aggregation
AEP - OP      00140060713088365           Electric       Gov. Aggregation   FEOH - OE     08029763840001044056        Electric       Gov. Aggregation
AEP - OP      00140060722777634           Electric       Gov. Aggregation   FEOH - OE     08029856970000770538        Electric       Gov. Aggregation
AEP - OP      00140060723066431           Electric       Gov. Aggregation   FEOH - OE     08029882240000765255        Electric       Gov. Aggregation
AEP - OP      00140060723164762           Electric       Gov. Aggregation   FEOH - TE     08029998302460092832        Electric       Gov. Aggregation
AEP - OP      00140060723239392           Electric       Gov. Aggregation   FEOH - OE     08027203860001127853        Electric       Gov. Aggregation
AEP - OP      00140060723241465           Electric       Gov. Aggregation   FEOH - OE     08027204350001127859        Electric       Gov. Aggregation
AEP - OP      00140060723358712           Electric       Gov. Aggregation   FEOH - OE     08027209700001128301        Electric       Gov. Aggregation
AEP - OP      00140060712602640           Electric       Gov. Aggregation   FEOH - OE     08027213900001128810        Electric       Gov. Aggregation
AEP - OP      00140060712623863           Electric       Gov. Aggregation   FEOH - OE     08027242770001130301        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060712737582           Electric       Gov. Aggregation   FEOH - OE     08027264060001043521        Electric       Gov. Aggregation
AEP - OP      00140060712895441           Electric       Gov. Aggregation   FEOH - OE     08027276610001130209        Electric       Gov. Aggregation
AEP - OP      00140060713115075           Electric       Gov. Aggregation   FEOH - OE     08027284000001041820        Electric       Gov. Aggregation
AEP - OP      00140060713410872           Electric       Gov. Aggregation   FEOH - OE     08027285910001531872        Electric       Gov. Aggregation
AEP - OP      00140060713501761           Electric       Gov. Aggregation   FEOH - OE     08027337060001045154        Electric       Gov. Aggregation
AEP - OP      00140060724680941           Electric       Gov. Aggregation   FEOH - OE     08027337670001045162        Electric       Gov. Aggregation
AEP - OP      00140060724691533           Electric       Gov. Aggregation   FEOH - OE     08027342970001130296        Electric       Gov. Aggregation
AEP - OP      00140060724751871           Electric       Gov. Aggregation   FEOH - OE     08027345040001042229        Electric       Gov. Aggregation
AEP - OP      00140060724832144           Electric       Gov. Aggregation   FEOH - OE     08027345180001130326        Electric       Gov. Aggregation
AEP - OP      00140060724965711           Electric       Gov. Aggregation   FEOH - OE     08025941180001129688        Electric       Gov. Aggregation
AEP - OP      00140060725033500           Electric       Gov. Aggregation   FEOH - OE     08025988080001341970        Electric       Gov. Aggregation
AEP - OP      00140060720049650           Electric       Gov. Aggregation   FEOH - OE     08025988380001038699        Electric       Gov. Aggregation
AEP - OP      00140060720112971           Electric       Gov. Aggregation   FEOH - OE     08026031910001044596        Electric       Gov. Aggregation
AEP - OP      00140060720125695           Electric       Gov. Aggregation   FEOH - OE     08026111350001131158        Electric       Gov. Aggregation
AEP - OP      00140060720232905           Electric       Gov. Aggregation   FEOH - OE     08026126470001040400        Electric       Gov. Aggregation
AEP - OP      00140060720237092           Electric       Gov. Aggregation   FEOH - TE     08026178432850020402        Electric       Gov. Aggregation
AEP - OP      00140060720253775           Electric       Gov. Aggregation   FEOH - OE     08026254070001042589        Electric       Gov. Aggregation
AEP - OP      00140060720254455           Electric       Gov. Aggregation   FEOH - OE     08026254070001042593        Electric       Gov. Aggregation
AEP - OP      00140060718468563           Electric       Gov. Aggregation   FEOH - OE     08026254070001042617        Electric       Gov. Aggregation
AEP - OP      00140060718567130           Electric       Gov. Aggregation   FEOH - OE     08026254070001042631        Electric       Gov. Aggregation
AEP - OP      00140060718655681           Electric       Gov. Aggregation   FEOH - OE     08026254070001042687        Electric       Gov. Aggregation
AEP - OP      00140060718717422           Electric       Gov. Aggregation   FEOH - OE     08026254070001042698        Electric       Gov. Aggregation
AEP - OP      00140060718772800           Electric       Gov. Aggregation   FEOH - OE     08026254070001042713        Electric       Gov. Aggregation
AEP - OP      00140060718799493           Electric       Gov. Aggregation   FEOH - OE     08025636500001141975        Electric       Gov. Aggregation
AEP - OP      00140060718980790           Electric       Gov. Aggregation   FEOH - OE     08025699300000844454        Electric       Gov. Aggregation
AEP - OP      00140060723378362           Electric       Gov. Aggregation   FEOH - OE     08025705550001044561        Electric       Gov. Aggregation
AEP - OP      00140060723691141           Electric       Gov. Aggregation   FEOH - OE     08025760455000019887        Electric       Gov. Aggregation
AEP - OP      00140060723747534           Electric       Gov. Aggregation   FEOH - OE     08025761650000844489        Electric       Gov. Aggregation
AEP - OP      00140060723760173           Electric       Gov. Aggregation   FEOH - OE     08025763130000844490        Electric       Gov. Aggregation
AEP - OP      00140060724119921           Electric       Gov. Aggregation   FEOH - OE     08025778200001043060        Electric       Gov. Aggregation
AEP - OP      00140060724150025           Electric       Gov. Aggregation   FEOH - OE     08027689590001130958        Electric       Gov. Aggregation
AEP - OP      00140060724240794           Electric       Gov. Aggregation   FEOH - OE     08027692490001359809        Electric       Gov. Aggregation
AEP - OP      00140060718985580           Electric       Gov. Aggregation   FEOH - OE     08027694000001043995        Electric       Gov. Aggregation
AEP - OP      00140060719072920           Electric       Gov. Aggregation   FEOH - OE     08027695180001044018        Electric       Gov. Aggregation
AEP - OP      00140060719080763           Electric       Gov. Aggregation   FEOH - OE     08027699770001044108        Electric       Gov. Aggregation
AEP - OP      00140060719193923           Electric       Gov. Aggregation   FEOH - OE     08027720600001042168        Electric       Gov. Aggregation
AEP - OP      00140060719321605           Electric       Gov. Aggregation   FEOH - OE     08027721880001042188        Electric       Gov. Aggregation
AEP - OP      00140060719352542           Electric       Gov. Aggregation   FEOH - OE     08033135600001541432        Electric       Gov. Aggregation
AEP - OP      00140060719354922           Electric       Gov. Aggregation   FEOH - TE     08033155792420033080        Electric       Gov. Aggregation
AEP - OP      00140060713623164           Electric       Gov. Aggregation   FEOH - OE     08033235040000769762        Electric       Gov. Aggregation
AEP - OP      00140060713721561           Electric       Gov. Aggregation   FEOH - TE     08033247223000010199        Electric       Gov. Aggregation
AEP - OP      00140060713782552           Electric       Gov. Aggregation   FEOH - OE     08033312790001389658        Electric       Gov. Aggregation
AEP - OP      00140060713887195           Electric       Gov. Aggregation   FEOH - OE     08033312790001511935        Electric       Gov. Aggregation
AEP - OP      00140060713949321           Electric       Gov. Aggregation   FEOH - OE     08033312985000074970        Electric       Gov. Aggregation
AEP - OP      00140060714058121           Electric       Gov. Aggregation   FEOH - TE     08030892392420032232        Electric       Gov. Aggregation
AEP - OP      00140060720405630           Electric       Gov. Aggregation   FEOH - OE     08030904500000790770        Electric       Gov. Aggregation
AEP - OP      00140060720461992           Electric       Gov. Aggregation   FEOH - OE     08030961570001446411        Electric       Gov. Aggregation
AEP - OP      00140060720520162           Electric       Gov. Aggregation   FEOH - OE     08031009510001142070        Electric       Gov. Aggregation
AEP - OP      00140060720554304           Electric       Gov. Aggregation   FEOH - OE     08031058960000789051        Electric       Gov. Aggregation
AEP - OP      00140060720653654           Electric       Gov. Aggregation   FEOH - OE     08031063850001143070        Electric       Gov. Aggregation
AEP - OP      00140060720658875           Electric       Gov. Aggregation   FEOH - OE     08031121390001467890        Electric       Gov. Aggregation
AEP - OP      00140060720715701           Electric       Gov. Aggregation   FEOH - OE     08030088700000604162        Electric       Gov. Aggregation
AEP - OP      00140060714635500           Electric       Gov. Aggregation   FEOH - OE     08030151120000848978        Electric       Gov. Aggregation
AEP - OP      00140060714830114           Electric       Gov. Aggregation   FEOH - OE     08030165040001042354        Electric       Gov. Aggregation
AEP - OP      00140060714882321           Electric       Gov. Aggregation   FEOH - OE     08030185970000845180        Electric       Gov. Aggregation
AEP - OP      00140060714892802           Electric       Gov. Aggregation   FEOH - OE     08030280610000791025        Electric       Gov. Aggregation
AEP - OP      00140060714901425           Electric       Gov. Aggregation   FEOH - OE     08030289460001400353        Electric       Gov. Aggregation
AEP - OP      00140060724266663           Electric       Gov. Aggregation   FEOH - OE     08030410790000770517        Electric       Gov. Aggregation
AEP - OP      00140060724271084           Electric       Gov. Aggregation   FEOH - OE     08026194430001040516        Electric       Gov. Aggregation
AEP - OP      00140060724273053           Electric       Gov. Aggregation   FEOH - OE     08026243430001383148        Electric       Gov. Aggregation
AEP - OP      00140060724296605           Electric       Gov. Aggregation   FEOH - OE     08026244990001127601        Electric       Gov. Aggregation
AEP - OP      00140060724339530           Electric       Gov. Aggregation   FEOH - OE     08026246000001131426        Electric       Gov. Aggregation
AEP - OP      00140060724411570           Electric       Gov. Aggregation   FEOH - OE     08026254070001042588        Electric       Gov. Aggregation
AEP - OP      00140060724427363           Electric       Gov. Aggregation   FEOH - OE     08026254070001042591        Electric       Gov. Aggregation
AEP - OP      00140060719380801           Electric       Gov. Aggregation   FEOH - OE     08026254070001042602        Electric       Gov. Aggregation
AEP - OP      00140060719403270           Electric       Gov. Aggregation   FEOH - OE     08026254070001042715        Electric       Gov. Aggregation
AEP - OP      00140060719423751           Electric       Gov. Aggregation   FEOH - OE     08026254070001042728        Electric       Gov. Aggregation
AEP - OP      00140060719486565           Electric       Gov. Aggregation   FEOH - OE     08026254070001042732        Electric       Gov. Aggregation
AEP - OP      00140060719579901           Electric       Gov. Aggregation   FEOH - OE     08026254070001042737        Electric       Gov. Aggregation
AEP - OP      00140060719620382           Electric       Gov. Aggregation   FEOH - OE     08026254070001042739        Electric       Gov. Aggregation
AEP - OP      00140060719643750           Electric       Gov. Aggregation   FEOH - OE     08026254070001042740        Electric       Gov. Aggregation
AEP - OP      00140060725078951           Electric       Gov. Aggregation   FEOH - OE     08026254070001042750        Electric       Gov. Aggregation
AEP - OP      00140060725078951           Electric       Gov. Aggregation   FEOH - OE     08025779110001043077        Electric       Gov. Aggregation
AEP - OP      00140060725193824           Electric       Gov. Aggregation   FEOH - OE     08025841580001043111        Electric       Gov. Aggregation
AEP - OP      00140060725205425           Electric       Gov. Aggregation   FEOH - OE     08025841990001043117        Electric       Gov. Aggregation
AEP - OP      00140060725384911           Electric       Gov. Aggregation   FEOH - OE     08025959060001131469        Electric       Gov. Aggregation
AEP - OP      00140060725492213           Electric       Gov. Aggregation   FEOH - OE     08025980820001040671        Electric       Gov. Aggregation
AEP - OP      00140060725511192           Electric       Gov. Aggregation   FEOH - OE     08025984280001040720        Electric       Gov. Aggregation
AEP - OP      00140060713144714           Electric       Gov. Aggregation   FEOH - OE     08027723420001129763        Electric       Gov. Aggregation
AEP - OP      00140060713321615           Electric       Gov. Aggregation   FEOH - OE     08027725500001042243        Electric       Gov. Aggregation
AEP - OP      00140060713364601           Electric       Gov. Aggregation   FEOH - OE     08027730380001130967        Electric       Gov. Aggregation
AEP - OP      00140060713404423           Electric       Gov. Aggregation   FEOH - OE     08027732510001130975        Electric       Gov. Aggregation
AEP - OP      00140060713413410           Electric       Gov. Aggregation   FEOH - OE     08027734400001130983        Electric       Gov. Aggregation
AEP - OP      00140060713668355           Electric       Gov. Aggregation   FEOH - OE     08027734830001130989        Electric       Gov. Aggregation
AEP - OP      00140060713680744           Electric       Gov. Aggregation   FEOH - OE     08027735210001130991        Electric       Gov. Aggregation
AEP - OP      00140060721725660           Electric       Gov. Aggregation   FEOH - OE     08033362180000778445        Electric       Gov. Aggregation
AEP - OP      00140060721725710           Electric       Gov. Aggregation   FEOH - OE     08033388350000778511        Electric       Gov. Aggregation
AEP - OP      00140060721823221           Electric       Gov. Aggregation   FEOH - OE     08033405900001131394        Electric       Gov. Aggregation
AEP - OP      00140060721899770           Electric       Gov. Aggregation   FEOH - OE     08033485500001408211        Electric       Gov. Aggregation
AEP - OP      00140060721906131           Electric       Gov. Aggregation   FEOH - OE     08033493250001371151        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060721942402           Electric       Gov. Aggregation   FEOH - OE     08033668840000789002        Electric       Gov. Aggregation
AEP - OP      00140060713732860           Electric       Gov. Aggregation   FEOH - TE     08033674052900005754        Electric       Gov. Aggregation
AEP - OP      00140060713940794           Electric       Gov. Aggregation   FEOH - OE     08031262890001042239        Electric       Gov. Aggregation
AEP - OP      00140060713953121           Electric       Gov. Aggregation   FEOH - OE     08031441030001492145        Electric       Gov. Aggregation
AEP - OP      00140060713981660           Electric       Gov. Aggregation   FEOH - OE     08031494915000108306        Electric       Gov. Aggregation
AEP - OP      00140060713997795           Electric       Gov. Aggregation   FEOH - OE     08031535900001344124        Electric       Gov. Aggregation
AEP - OP      00140060714112761           Electric       Gov. Aggregation   FEOH - TE     08031561952680020267        Electric       Gov. Aggregation
AEP - OP      00140060714211461           Electric       Gov. Aggregation   FEOH - OE     08031569200000186424        Electric       Gov. Aggregation
AEP - OP      00140060714240155           Electric       Gov. Aggregation   FEOH - OE     08031610780000765232        Electric       Gov. Aggregation
AEP - OP      00140060714241172           Electric       Gov. Aggregation   FEOH - OE     08030420830000767146        Electric       Gov. Aggregation
AEP - OP      00140060714249072           Electric       Gov. Aggregation   FEOH - TE     08030477162300026267        Electric       Gov. Aggregation
AEP - OP      00140060714287821           Electric       Gov. Aggregation   FEOH - TE     08030479592680022065        Electric       Gov. Aggregation
AEP - OP      00140060714291502           Electric       Gov. Aggregation   FEOH - OE     08030544810000178971        Electric       Gov. Aggregation
AEP - OP      00140060714390035           Electric       Gov. Aggregation   FEOH - OE     08030678720001043801        Electric       Gov. Aggregation
AEP - OP      00140060714469612           Electric       Gov. Aggregation   FEOH - OE     08030680820001143034        Electric       Gov. Aggregation
AEP - OP      00140060714548755           Electric       Gov. Aggregation   FEOH - OE     08027346460001130343        Electric       Gov. Aggregation
AEP - OP      00140060714626723           Electric       Gov. Aggregation   FEOH - OE     08027348740001142765        Electric       Gov. Aggregation
AEP - OP      00140060714709904           Electric       Gov. Aggregation   FEOH - OE     08027358830001041849        Electric       Gov. Aggregation
AEP - OP      00140060714793254           Electric       Gov. Aggregation   FEOH - OE     08027359640001044132        Electric       Gov. Aggregation
AEP - OP      00140060714832162           Electric       Gov. Aggregation   FEOH - OE     08027390910001041504        Electric       Gov. Aggregation
AEP - OP      00140060714874213           Electric       Gov. Aggregation   FEOH - OE     08027393330001041404        Electric       Gov. Aggregation
AEP - OP      00140060714955044           Electric       Gov. Aggregation   FEOH - OE     08027736200001131027        Electric       Gov. Aggregation
AEP - OP      00140060720845044           Electric       Gov. Aggregation   FEOH - OE     08027736770001131029        Electric       Gov. Aggregation
AEP - OP      00140060720941205           Electric       Gov. Aggregation   FEOH - OE     08027771540001041371        Electric       Gov. Aggregation
AEP - OP      00140060721056314           Electric       Gov. Aggregation   FEOH - OE     08027772610001041391        Electric       Gov. Aggregation
AEP - OP      00140060721118643           Electric       Gov. Aggregation   FEOH - OE     08027791930001042334        Electric       Gov. Aggregation
AEP - OP      00140060721150940           Electric       Gov. Aggregation   FEOH - OE     08027802370001103906        Electric       Gov. Aggregation
AEP - OP      00140060721239153           Electric       Gov. Aggregation   FEOH - OE     08025988140001333802        Electric       Gov. Aggregation
AEP - OP      00140060714981033           Electric       Gov. Aggregation   FEOH - OE     08026019840001521404        Electric       Gov. Aggregation
AEP - OP      00140060715034251           Electric       Gov. Aggregation   FEOH - OE     08026037020001521375        Electric       Gov. Aggregation
AEP - OP      00140060715056104           Electric       Gov. Aggregation   FEOH - OE     08026050260001040790        Electric       Gov. Aggregation
AEP - OP      00140060715096963           Electric       Gov. Aggregation   FEOH - OE     08026050300001040791        Electric       Gov. Aggregation
AEP - OP      00140060715141633           Electric       Gov. Aggregation   FEOH - OE     08026113280001131221        Electric       Gov. Aggregation
AEP - OP      00140060715142444           Electric       Gov. Aggregation   FEOH - OE     08026123670001040362        Electric       Gov. Aggregation
AEP - OP      00140060715176045           Electric       Gov. Aggregation   FEOH - OE     08026254070001042756        Electric       Gov. Aggregation
AEP - OP      00140060719656023           Electric       Gov. Aggregation   FEOH - OE     08026254070001042768        Electric       Gov. Aggregation
AEP - OP      00140060719856761           Electric       Gov. Aggregation   FEOH - OE     08026254070001042776        Electric       Gov. Aggregation
AEP - OP      00140060719997004           Electric       Gov. Aggregation   FEOH - OE     08026254070001042777        Electric       Gov. Aggregation
AEP - OP      00140060720041324           Electric       Gov. Aggregation   FEOH - OE     08026254070001042778        Electric       Gov. Aggregation
AEP - OP      00140060720113795           Electric       Gov. Aggregation   FEOH - OE     08026254070001042786        Electric       Gov. Aggregation
AEP - OP      00140060720148352           Electric       Gov. Aggregation   FEOH - OE     08026254070001042801        Electric       Gov. Aggregation
AEP - OP      00140060714131350           Electric       Gov. Aggregation   FEOH - OE     08026126960001040407        Electric       Gov. Aggregation
AEP - OP      00140060714549823           Electric       Gov. Aggregation   FEOH - OE     08026129710001040458        Electric       Gov. Aggregation
AEP - OP      00140060714609442           Electric       Gov. Aggregation   FEOH - OE     08026136160001128998        Electric       Gov. Aggregation
AEP - OP      00140060714615190           Electric       Gov. Aggregation   FEOH - OE     08026178615000243853        Electric       Gov. Aggregation
AEP - OP      00140060714650392           Electric       Gov. Aggregation   FEOH - OE     08026190200001040465        Electric       Gov. Aggregation
AEP - OP      00140060714908012           Electric       Gov. Aggregation   FEOH - OE     08026192230001040485        Electric       Gov. Aggregation
AEP - OP      00140060714973560           Electric       Gov. Aggregation   FEOH - OE     08026192300001040486        Electric       Gov. Aggregation
AEP - OP      00140060724487575           Electric       Gov. Aggregation   FEOH - OE     08026254070001042804        Electric       Gov. Aggregation
AEP - OP      00140060724585684           Electric       Gov. Aggregation   FEOH - OE     08026254070001042806        Electric       Gov. Aggregation
AEP - OP      00140060724607380           Electric       Gov. Aggregation   FEOH - OE     08026254070001042823        Electric       Gov. Aggregation
AEP - OP      00140060724677895           Electric       Gov. Aggregation   FEOH - OE     08026263710001044153        Electric       Gov. Aggregation
AEP - OP      00140060724823045           Electric       Gov. Aggregation   FEOH - OE     08026264210001040709        Electric       Gov. Aggregation
AEP - OP      00140060724839762           Electric       Gov. Aggregation   FEOH - OE     08026303650001041490        Electric       Gov. Aggregation
AEP - OP      00140060724845515           Electric       Gov. Aggregation   FEOH - OE     08026304920001044784        Electric       Gov. Aggregation
AEP - OP      00140060720254541           Electric       Gov. Aggregation   FEOH - TE     08033805862900009256        Electric       Gov. Aggregation
AEP - OP      00140060720315071           Electric       Gov. Aggregation   FEOH - TE     08033821582770019586        Electric       Gov. Aggregation
AEP - OP      00140060720333514           Electric       Gov. Aggregation   FEOH - OE     08033832650000786489        Electric       Gov. Aggregation
AEP - OP      00140060720540325           Electric       Gov. Aggregation   FEOH - OE     08033851545000258735        Electric       Gov. Aggregation
AEP - OP      00140060720574593           Electric       Gov. Aggregation   FEOH - OE     08034034530001547033        Electric       Gov. Aggregation
AEP - OP      00140060720593264           Electric       Gov. Aggregation   FEOH - OE     08034050310001427687        Electric       Gov. Aggregation
AEP - OP      00140060720642832           Electric       Gov. Aggregation   FEOH - OE     08034085185000264729        Electric       Gov. Aggregation
AEP - OP      00140060714992890           Electric       Gov. Aggregation   FEOH - OE     08031639350001130913        Electric       Gov. Aggregation
AEP - OP      00140060715010045           Electric       Gov. Aggregation   FEOH - OE     08031695780000849157        Electric       Gov. Aggregation
AEP - OP      00140060715049405           Electric       Gov. Aggregation   FEOH - OE     08031750040001304447        Electric       Gov. Aggregation
AEP - OP      00140060715092595           Electric       Gov. Aggregation   FEOH - OE     08031767700001044510        Electric       Gov. Aggregation
AEP - OP      00140060715151504           Electric       Gov. Aggregation   FEOH - OE     08031776480000792549        Electric       Gov. Aggregation
AEP - OP      00140060715227670           Electric       Gov. Aggregation   FEOH - OE     08031782520000792662        Electric       Gov. Aggregation
AEP - OP      00140060715300775           Electric       Gov. Aggregation   FEOH - OE     08030685030001041414        Electric       Gov. Aggregation
AEP - OP      00140060721259190           Electric       Gov. Aggregation   FEOH - TE     08030720842080027335        Electric       Gov. Aggregation
AEP - OP      00140060721281815           Electric       Gov. Aggregation   FEOH - OE     08030724260000584241        Electric       Gov. Aggregation
AEP - OP      00140060721289003           Electric       Gov. Aggregation   FEOH - OE     08030758100001444306        Electric       Gov. Aggregation
AEP - OP      00140060721324874           Electric       Gov. Aggregation   FEOH - OE     08030793565000113997        Electric       Gov. Aggregation
AEP - OP      00140060721327303           Electric       Gov. Aggregation   FEOH - OE     08030929700000187123        Electric       Gov. Aggregation
AEP - OP      00140060721340065           Electric       Gov. Aggregation   FEOH - OE     08027395040001041427        Electric       Gov. Aggregation
AEP - OP      00140060724866051           Electric       Gov. Aggregation   FEOH - OE     08027399510001041486        Electric       Gov. Aggregation
AEP - OP      00140060724934472           Electric       Gov. Aggregation   FEOH - OE     08027404300001043348        Electric       Gov. Aggregation
AEP - OP      00140060724961764           Electric       Gov. Aggregation   FEOH - OE     08027410020001130393        Electric       Gov. Aggregation
AEP - OP      00140060724999422           Electric       Gov. Aggregation   FEOH - OE     08027410920001130406        Electric       Gov. Aggregation
AEP - OP      00140060725095090           Electric       Gov. Aggregation   FEOH - OE     08027411660001130417        Electric       Gov. Aggregation
AEP - OP      00140060725102044           Electric       Gov. Aggregation   FEOH - OE     08027415460001130474        Electric       Gov. Aggregation
AEP - OP      00140060725191391           Electric       Gov. Aggregation   FEOH - OE     08027876290001384326        Electric       Gov. Aggregation
AEP - OP      00140060722110332           Electric       Gov. Aggregation   FEOH - OE     08027886580001042701        Electric       Gov. Aggregation
AEP - OP      00140060722123401           Electric       Gov. Aggregation   FEOH - TE     08027907222510093603        Electric       Gov. Aggregation
AEP - OP      00140060722284810           Electric       Gov. Aggregation   FEOH - OE     08027931680001130045        Electric       Gov. Aggregation
AEP - OP      00140060722328882           Electric       Gov. Aggregation   FEOH - OE     08027932270001130054        Electric       Gov. Aggregation
AEP - OP      00140060722330210           Electric       Gov. Aggregation   FEOH - OE     08027932560001130060        Electric       Gov. Aggregation
AEP - OP      00140060722628214           Electric       Gov. Aggregation   FEOH - OE     08027971230001130194        Electric       Gov. Aggregation
AEP - OP      00140060722634935           Electric       Gov. Aggregation   FEOH - OE     08026254070001042668        Electric       Gov. Aggregation
AEP - OP      00140060720759825           Electric       Gov. Aggregation   FEOH - OE     08026254070001042673        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060720783745           Electric       Gov. Aggregation   FEOH - OE     08026254070001042686        Electric       Gov. Aggregation
AEP - OP      00140060720917072           Electric       Gov. Aggregation   FEOH - OE     08026254070001042697        Electric       Gov. Aggregation
AEP - OP      00140060720929374           Electric       Gov. Aggregation   FEOH - OE     08026254070001042758        Electric       Gov. Aggregation
AEP - OP      00140060720930871           Electric       Gov. Aggregation   FEOH - OE     08026254070001042765        Electric       Gov. Aggregation
AEP - OP      00140060720989994           Electric       Gov. Aggregation   FEOH - OE     08026254070001042802        Electric       Gov. Aggregation
AEP - OP      00140060721061514           Electric       Gov. Aggregation   FEOH - OE     08031889620001389002        Electric       Gov. Aggregation
AEP - OP      00140060725548500           Electric       Gov. Aggregation   FEOH - OE     08031976710001432253        Electric       Gov. Aggregation
AEP - OP      00140060725648620           Electric       Gov. Aggregation   FEOH - OE     08031985700001447068        Electric       Gov. Aggregation
AEP - OP      00140060725678302           Electric       Gov. Aggregation   FEOH - TE     08032004322680018871        Electric       Gov. Aggregation
AEP - OP      00140060725688045           Electric       Gov. Aggregation   FEOH - TE     08032035462080022333        Electric       Gov. Aggregation
AEP - OP      00140060725750701           Electric       Gov. Aggregation   FEOH - OE     08032063340000766114        Electric       Gov. Aggregation
AEP - OP      00140060725862183           Electric       Gov. Aggregation   FEOH - OE     08034086690001128874        Electric       Gov. Aggregation
AEP - OP      00140060725946023           Electric       Gov. Aggregation   FEOH - OE     08034157625001350873        Electric       Gov. Aggregation
AEP - OP      00140060715267005           Electric       Gov. Aggregation   FEOH - OE     08034167570001572945        Electric       Gov. Aggregation
AEP - OP      00140060715718565           Electric       Gov. Aggregation   FEOH - OE     08034212340000790176        Electric       Gov. Aggregation
AEP - OP      00140060715780714           Electric       Gov. Aggregation   FEOH - OE     08034248880000766018        Electric       Gov. Aggregation
AEP - OP      00140060715855621           Electric       Gov. Aggregation   FEOH - OE     08034328760001041782        Electric       Gov. Aggregation
AEP - OP      00140060715937573           Electric       Gov. Aggregation   FEOH - TE     08034330052420033198        Electric       Gov. Aggregation
AEP - OP      00140060716088955           Electric       Gov. Aggregation   FEOH - TE     08030966842680022031        Electric       Gov. Aggregation
AEP - OP      00140060716151691           Electric       Gov. Aggregation   FEOH - TE     08031124022380032038        Electric       Gov. Aggregation
AEP - OP      00140060714905431           Electric       Gov. Aggregation   FEOH - OE     08031255840001040591        Electric       Gov. Aggregation
AEP - OP      00140060714956193           Electric       Gov. Aggregation   FEOH - OE     08031262290001044620        Electric       Gov. Aggregation
AEP - OP      00140060714963320           Electric       Gov. Aggregation   FEOH - OE     08027418940001142895        Electric       Gov. Aggregation
AEP - OP      00140060714964603           Electric       Gov. Aggregation   FEOH - OE     08027421510001043365        Electric       Gov. Aggregation
AEP - OP      00140060714998162           Electric       Gov. Aggregation   FEOH - OE     08027428570001043469        Electric       Gov. Aggregation
AEP - OP      00140060715162754           Electric       Gov. Aggregation   FEOH - OE     08027429690001043485        Electric       Gov. Aggregation
AEP - OP      00140060721379861           Electric       Gov. Aggregation   FEOH - OE     08027444790001129600        Electric       Gov. Aggregation
AEP - OP      00140060721429161           Electric       Gov. Aggregation   FEOH - OE     08027462270001143207        Electric       Gov. Aggregation
AEP - OP      00140060721451452           Electric       Gov. Aggregation   FEOH - OE     08027464110001041558        Electric       Gov. Aggregation
AEP - OP      00140060721513041           Electric       Gov. Aggregation   FEOH - OE     08027971640001128395        Electric       Gov. Aggregation
AEP - OP      00140060721623815           Electric       Gov. Aggregation   FEOH - OE     08027972630001143156        Electric       Gov. Aggregation
AEP - OP      00140060721785181           Electric       Gov. Aggregation   FEOH - OE     08027974450001128466        Electric       Gov. Aggregation
AEP - OP      00140060721987512           Electric       Gov. Aggregation   FEOH - OE     08027976140001128515        Electric       Gov. Aggregation
AEP - OP      00140060725198780           Electric       Gov. Aggregation   FEOH - OE     08027977920001128559        Electric       Gov. Aggregation
AEP - OP      00140060725376674           Electric       Gov. Aggregation   FEOH - OE     08027979380001128590        Electric       Gov. Aggregation
AEP - OP      00140060725534643           Electric       Gov. Aggregation   FEOH - OE     08026254070001042819        Electric       Gov. Aggregation
AEP - OP      00140060725571793           Electric       Gov. Aggregation   FEOH - OE     08026264000001044157        Electric       Gov. Aggregation
AEP - OP      00140060725654383           Electric       Gov. Aggregation   FEOH - OE     08026267250001044204        Electric       Gov. Aggregation
AEP - OP      00140060725772654           Electric       Gov. Aggregation   FEOH - OE     08026267450001044207        Electric       Gov. Aggregation
AEP - OP      00140060725949080           Electric       Gov. Aggregation   FEOH - OE     08026269590001044236        Electric       Gov. Aggregation
AEP - OP      00140060722754221           Electric       Gov. Aggregation   FEOH - OE     08026320180001044244        Electric       Gov. Aggregation
AEP - OP      00140060722756983           Electric       Gov. Aggregation   FEOH - OE     08026321940001044267        Electric       Gov. Aggregation
AEP - OP      00140060722789753           Electric       Gov. Aggregation   FEOH - OE     08026323670001044291        Electric       Gov. Aggregation
AEP - OP      00140060722830882           Electric       Gov. Aggregation   FEOH - OE     08026325290001044314        Electric       Gov. Aggregation
AEP - OP      00140060722935562           Electric       Gov. Aggregation   FEOH - OE     08026328350001044354        Electric       Gov. Aggregation
AEP - OP      00140060723078304           Electric       Gov. Aggregation   FEOH - OE     08026328600001044358        Electric       Gov. Aggregation
AEP - OP      00140060723440582           Electric       Gov. Aggregation   FEOH - OE     08026373520001128362        Electric       Gov. Aggregation
AEP - OP      00140060721162770           Electric       Gov. Aggregation   FEOH - OE     08026377610001128236        Electric       Gov. Aggregation
AEP - OP      00140060721376871           Electric       Gov. Aggregation   FEOH - OE     08032100390000804561        Electric       Gov. Aggregation
AEP - OP      00140060721534652           Electric       Gov. Aggregation   FEOH - OE     08032275250001042263        Electric       Gov. Aggregation
AEP - OP      00140060721621322           Electric       Gov. Aggregation   FEOH - OE     08032313890001143325        Electric       Gov. Aggregation
AEP - OP      00140060721724853           Electric       Gov. Aggregation   FEOH - TE     08032376452850021301        Electric       Gov. Aggregation
AEP - OP      00140060721765002           Electric       Gov. Aggregation   FEOH - OE     08032388430001130383        Electric       Gov. Aggregation
AEP - OP      00140060721766305           Electric       Gov. Aggregation   FEOH - OE     08032412270000762668        Electric       Gov. Aggregation
AEP - OP      00140060722021942           Electric       Gov. Aggregation   FEOH - TE     08032511955000152486        Electric       Gov. Aggregation
AEP - OP      00140060722035210           Electric       Gov. Aggregation   FEOH - OE     08026192370001040487        Electric       Gov. Aggregation
AEP - OP      00140060722057102           Electric       Gov. Aggregation   FEOH - OE     08026193970001040510        Electric       Gov. Aggregation
AEP - OP      00140060722063454           Electric       Gov. Aggregation   FEOH - OE     08026227650001130487        Electric       Gov. Aggregation
AEP - OP      00140060722101622           Electric       Gov. Aggregation   FEOH - OE     08026241910001129381        Electric       Gov. Aggregation
AEP - OP      00140060722129725           Electric       Gov. Aggregation   FEOH - OE     08026254070001042592        Electric       Gov. Aggregation
AEP - OP      00140060722320911           Electric       Gov. Aggregation   FEOH - OE     08026254070001042594        Electric       Gov. Aggregation
AEP - OP      00140060715520555           Electric       Gov. Aggregation   FEOH - OE     08026254070001042608        Electric       Gov. Aggregation
AEP - OP      00140060715573882           Electric       Gov. Aggregation   FEOH - OE     08034350245000077452        Electric       Gov. Aggregation
AEP - OP      00140060715661845           Electric       Gov. Aggregation   FEOH - OE     08034437170000778845        Electric       Gov. Aggregation
AEP - OP      00140060715737190           Electric       Gov. Aggregation   FEOH - TE     08034453512850018453        Electric       Gov. Aggregation
AEP - OP      00140060715793920           Electric       Gov. Aggregation   FEOH - OE     08034484620000804445        Electric       Gov. Aggregation
AEP - OP      00140060715972993           Electric       Gov. Aggregation   FEOH - OE     08034506620001476135        Electric       Gov. Aggregation
AEP - OP      00140060715993475           Electric       Gov. Aggregation   FEOH - OE     08034528330000806118        Electric       Gov. Aggregation
AEP - OP      00140060716665563           Electric       Gov. Aggregation   FEOH - OE     08031269695000166555        Electric       Gov. Aggregation
AEP - OP      00140060716724654           Electric       Gov. Aggregation   FEOH - TE     08031273382770017065        Electric       Gov. Aggregation
AEP - OP      00140060716866510           Electric       Gov. Aggregation   FEOH - OE     08031289890000844884        Electric       Gov. Aggregation
AEP - OP      00140060716957053           Electric       Gov. Aggregation   FEOH - OE     08031337120001129170        Electric       Gov. Aggregation
AEP - OP      00140060717154355           Electric       Gov. Aggregation   FEOH - TE     08031339822850017977        Electric       Gov. Aggregation
AEP - OP      00140060725963560           Electric       Gov. Aggregation   FEOH - OE     08031356915000169964        Electric       Gov. Aggregation
AEP - OP      00140060725974491           Electric       Gov. Aggregation   FEOH - OE     08031371580000803866        Electric       Gov. Aggregation
AEP - OP      00140060726147782           Electric       Gov. Aggregation   FEOH - OE     08027467310001041607        Electric       Gov. Aggregation
AEP - OP      00140060726258154           Electric       Gov. Aggregation   FEOH - OE     08027476380001043961        Electric       Gov. Aggregation
AEP - OP      00140060726491904           Electric       Gov. Aggregation   FEOH - OE     08027481850001130563        Electric       Gov. Aggregation
AEP - OP      00140060726507155           Electric       Gov. Aggregation   FEOH - OE     08027489240001129745        Electric       Gov. Aggregation
AEP - OP      00140060726607570           Electric       Gov. Aggregation   FEOH - OE     08027489880001128478        Electric       Gov. Aggregation
AEP - OP      00140060715292423           Electric       Gov. Aggregation   FEOH - OE     08027490700001043500        Electric       Gov. Aggregation
AEP - OP      00140060715297095           Electric       Gov. Aggregation   FEOH - OE     08027532940001041688        Electric       Gov. Aggregation
AEP - OP      00140060715359353           Electric       Gov. Aggregation   FEOH - OE     08028047700001130338        Electric       Gov. Aggregation
AEP - OP      00140060715424233           Electric       Gov. Aggregation   FEOH - OE     08028113350001142117        Electric       Gov. Aggregation
AEP - OP      00140060715483880           Electric       Gov. Aggregation   FEOH - OE     08028116800001557856        Electric       Gov. Aggregation
AEP - OP      00140060715640654           Electric       Gov. Aggregation   FEOH - OE     08028122520001128868        Electric       Gov. Aggregation
AEP - OP      00140060715659474           Electric       Gov. Aggregation   FEOH - OE     08028123240001128886        Electric       Gov. Aggregation
AEP - OP      00140060725997883           Electric       Gov. Aggregation   FEOH - OE     08028127350001129007        Electric       Gov. Aggregation
AEP - OP      00140060726123913           Electric       Gov. Aggregation   FEOH - OE     08026390010001044377        Electric       Gov. Aggregation
AEP - OP      00140060726171903           Electric       Gov. Aggregation   FEOH - OE     08026391170001044392        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060726231361           Electric       Gov. Aggregation   FEOH - OE     08026392930001044418        Electric       Gov. Aggregation
AEP - OP      00140060726288133           Electric       Gov. Aggregation   FEOH - OE     08026393430001044425        Electric       Gov. Aggregation
AEP - OP      00140060726448262           Electric       Gov. Aggregation   FEOH - OE     08026394110001044436        Electric       Gov. Aggregation
AEP - OP      00140060726556341           Electric       Gov. Aggregation   FEOH - OE     08026440630001128279        Electric       Gov. Aggregation
AEP - OP      00140060721775693           Electric       Gov. Aggregation   FEOH - OE     08026441390001128290        Electric       Gov. Aggregation
AEP - OP      00140060721789955           Electric       Gov. Aggregation   FEOH - OE     08032648565000105474        Electric       Gov. Aggregation
AEP - OP      00140060721953815           Electric       Gov. Aggregation   FEOH - OE     08032681680000786381        Electric       Gov. Aggregation
AEP - OP      00140060722444990           Electric       Gov. Aggregation   FEOH - OE     08032692410000804485        Electric       Gov. Aggregation
AEP - OP      00140060722548965           Electric       Gov. Aggregation   FEOH - OE     08032757590001040381        Electric       Gov. Aggregation
AEP - OP      00140060722631781           Electric       Gov. Aggregation   FEOH - OE     08032779640001143197        Electric       Gov. Aggregation
AEP - OP      00140060722705822           Electric       Gov. Aggregation   FEOH - TE     08032890822210013151        Electric       Gov. Aggregation
AEP - OP      00140060716035712           Electric       Gov. Aggregation   FEOH - TE     08032921965000227919        Electric       Gov. Aggregation
AEP - OP      00140060716114244           Electric       Gov. Aggregation   FEOH - OE     08026321570001044262        Electric       Gov. Aggregation
AEP - OP      00140060716462693           Electric       Gov. Aggregation   FEOH - OE     08026326770001044332        Electric       Gov. Aggregation
AEP - OP      00140060716665931           Electric       Gov. Aggregation   FEOH - OE     08026327980001044348        Electric       Gov. Aggregation
AEP - OP      00140060716743090           Electric       Gov. Aggregation   FEOH - OE     08026329510001044370        Electric       Gov. Aggregation
AEP - OP      00140060716775310           Electric       Gov. Aggregation   FEOH - OE     08026348050001129725        Electric       Gov. Aggregation
AEP - OP      00140060716791233           Electric       Gov. Aggregation   FEOH - OE     08026372540001128349        Electric       Gov. Aggregation
AEP - OP      00140060722504695           Electric       Gov. Aggregation   FEOH - OE     08026376360001128218        Electric       Gov. Aggregation
AEP - OP      00140060722592822           Electric       Gov. Aggregation   FEOH - OE     08026254070001042612        Electric       Gov. Aggregation
AEP - OP      00140060722656874           Electric       Gov. Aggregation   FEOH - OE     08026254070001042623        Electric       Gov. Aggregation
AEP - OP      00140060722763670           Electric       Gov. Aggregation   FEOH - OE     08026254070001042624        Electric       Gov. Aggregation
AEP - OP      00140060722770862           Electric       Gov. Aggregation   FEOH - OE     08026254070001042628        Electric       Gov. Aggregation
AEP - OP      00140060722824004           Electric       Gov. Aggregation   FEOH - OE     08026254070001042638        Electric       Gov. Aggregation
AEP - OP      00140060722933783           Electric       Gov. Aggregation   FEOH - OE     08026254070001042651        Electric       Gov. Aggregation
AEP - OP      00140060723465524           Electric       Gov. Aggregation   FEOH - OE     08026254070001042652        Electric       Gov. Aggregation
AEP - OP      00140060723513752           Electric       Gov. Aggregation   FEOH - OE     08034573330000803300        Electric       Gov. Aggregation
AEP - OP      00140060723690031           Electric       Gov. Aggregation   FEOH - OE     08034576465000273210        Electric       Gov. Aggregation
AEP - OP      00140060723690571           Electric       Gov. Aggregation   FEOH - OE     08034613950001487602        Electric       Gov. Aggregation
AEP - OP      00140060724006082           Electric       Gov. Aggregation   FEOH - OE     08034650330001349285        Electric       Gov. Aggregation
AEP - OP      00140060724060013           Electric       Gov. Aggregation   FEOH - OE     08034676020001128890        Electric       Gov. Aggregation
AEP - OP      00140060724068004           Electric       Gov. Aggregation   FEOH - OE     08034723910000782578        Electric       Gov. Aggregation
AEP - OP      00140060726686455           Electric       Gov. Aggregation   FEOH - TE     08034725552900010950        Electric       Gov. Aggregation
AEP - OP      00140060726738620           Electric       Gov. Aggregation   FEOH - OE     08032928170000844477        Electric       Gov. Aggregation
AEP - OP      00140060726758385           Electric       Gov. Aggregation   FEOH - OE     08032972880000778768        Electric       Gov. Aggregation
AEP - OP      00140060727025464           Electric       Gov. Aggregation   FEOH - OE     08032979600000584215        Electric       Gov. Aggregation
AEP - OP      00140060727349274           Electric       Gov. Aggregation   FEOH - OE     08032984880000844516        Electric       Gov. Aggregation
AEP - OP      00140060715768425           Electric       Gov. Aggregation   FEOH - OE     08033011410001043997        Electric       Gov. Aggregation
AEP - OP      00140060715848654           Electric       Gov. Aggregation   FEOH - TE     08033109012680024887        Electric       Gov. Aggregation
AEP - OP      00140060715864990           Electric       Gov. Aggregation   FEOH - TE     08033152633000004626        Electric       Gov. Aggregation
AEP - OP      00140060715895621           Electric       Gov. Aggregation   FEOH - TE     08031394382380027907        Electric       Gov. Aggregation
AEP - OP      00140060715903534           Electric       Gov. Aggregation   FEOH - OE     08031443580000784677        Electric       Gov. Aggregation
AEP - OP      00140060715914472           Electric       Gov. Aggregation   FEOH - OE     08031462650001562886        Electric       Gov. Aggregation
AEP - OP      00140060715959321           Electric       Gov. Aggregation   FEOH - OE     08031502420001043166        Electric       Gov. Aggregation
AEP - OP      00140060727135165           Electric       Gov. Aggregation   FEOH - TE     08031526392380028027        Electric       Gov. Aggregation
AEP - OP      00140060727138632           Electric       Gov. Aggregation   FEOH - OE     08031532360000786501        Electric       Gov. Aggregation
AEP - OP      00140060727152843           Electric       Gov. Aggregation   FEOH - OE     08031532360001541683        Electric       Gov. Aggregation
AEP - OP      00140060727309820           Electric       Gov. Aggregation   FEOH - OE     08027537210001041749        Electric       Gov. Aggregation
AEP - OP      00140060727338471           Electric       Gov. Aggregation   FEOH - OE     08027538030001041759        Electric       Gov. Aggregation
AEP - OP      00140060716002840           Electric       Gov. Aggregation   FEOH - OE     08027540240001130686        Electric       Gov. Aggregation
AEP - OP      00140060716122583           Electric       Gov. Aggregation   FEOH - OE     08027540900001143064        Electric       Gov. Aggregation
AEP - OP      00140060716153682           Electric       Gov. Aggregation   FEOH - OE     08027541970001143079        Electric       Gov. Aggregation
AEP - OP      00140060716210114           Electric       Gov. Aggregation   FEOH - OE     08027542090001143081        Electric       Gov. Aggregation
AEP - OP      00140060716326024           Electric       Gov. Aggregation   FEOH - OE     08027542500001130965        Electric       Gov. Aggregation
AEP - OP      00140060716354265           Electric       Gov. Aggregation   FEOH - OE     08028127410001129009        Electric       Gov. Aggregation
AEP - OP      00140060716378162           Electric       Gov. Aggregation   FEOH - OE     08028127760001129018        Electric       Gov. Aggregation
AEP - OP      00140060723070474           Electric       Gov. Aggregation   FEOH - OE     08028128000001128973        Electric       Gov. Aggregation
AEP - OP      00140060723144325           Electric       Gov. Aggregation   FEOH - OE     08028129360001129005        Electric       Gov. Aggregation
AEP - OP      00140060723266534           Electric       Gov. Aggregation   FEOH - OE     08028131210001129325        Electric       Gov. Aggregation
AEP - OP      00140060723491033           Electric       Gov. Aggregation   FEOH - OE     08028264310001142193        Electric       Gov. Aggregation
AEP - OP      00140060723578665           Electric       Gov. Aggregation   FEOH - OE     08028460800001142818        Electric       Gov. Aggregation
AEP - OP      00140060723598724           Electric       Gov. Aggregation   FEOH - OE     08026441650001128294        Electric       Gov. Aggregation
AEP - OP      00140060723664635           Electric       Gov. Aggregation   FEOH - OE     08026442020001128151        Electric       Gov. Aggregation
AEP - OP      00140060727953915           Electric       Gov. Aggregation   FEOH - OE     08026443030001128165        Electric       Gov. Aggregation
AEP - OP      00140060728082282           Electric       Gov. Aggregation   FEOH - OE     08026454790001043491        Electric       Gov. Aggregation
AEP - OP      00140060728268040           Electric       Gov. Aggregation   FEOH - OE     08026460490001044528        Electric       Gov. Aggregation
AEP - OP      00140060728336693           Electric       Gov. Aggregation   FEOH - OE     08026466910001128178        Electric       Gov. Aggregation
AEP - OP      00140060728431060           Electric       Gov. Aggregation   FEOH - OE     08026477570001349286        Electric       Gov. Aggregation
AEP - OP      00140060728587114           Electric       Gov. Aggregation   FEOH - OE     08026376790001128224        Electric       Gov. Aggregation
AEP - OP      00140060728604505           Electric       Gov. Aggregation   FEOH - OE     08026377090001128227        Electric       Gov. Aggregation
AEP - OP      00140060716473862           Electric       Gov. Aggregation   FEOH - OE     08026378410001128247        Electric       Gov. Aggregation
AEP - OP      00140060716524690           Electric       Gov. Aggregation   FEOH - OE     08026379350001142869        Electric       Gov. Aggregation
AEP - OP      00140060716549663           Electric       Gov. Aggregation   FEOH - OE     08026385020001131351        Electric       Gov. Aggregation
AEP - OP      00140060716579330           Electric       Gov. Aggregation   FEOH - OE     08026390710001044386        Electric       Gov. Aggregation
AEP - OP      00140060716579355           Electric       Gov. Aggregation   FEOH - OE     08026394450001044442        Electric       Gov. Aggregation
AEP - OP      00140060716597380           Electric       Gov. Aggregation   FEOH - TE     08034760152810020506        Electric       Gov. Aggregation
AEP - OP      00140060716717201           Electric       Gov. Aggregation   FEOH - OE     08034824285001292805        Electric       Gov. Aggregation
AEP - OP      00140060717009115           Electric       Gov. Aggregation   FEOH - OE     08034873160001127732        Electric       Gov. Aggregation
AEP - OP      00140060717195280           Electric       Gov. Aggregation   FEOH - OE     08034879400000803275        Electric       Gov. Aggregation
AEP - OP      00140060717319033           Electric       Gov. Aggregation   FEOH - TE     08034939482900007158        Electric       Gov. Aggregation
AEP - OP      00140060717366110           Electric       Gov. Aggregation   FEOH - TE     08034990712770019798        Electric       Gov. Aggregation
AEP - OP      00140060717371082           Electric       Gov. Aggregation   FEOH - OE     08035102550001127784        Electric       Gov. Aggregation
AEP - OP      00140060717439842           Electric       Gov. Aggregation   FEOH - OE     08033172020000583989        Electric       Gov. Aggregation
AEP - OP      00140060727389290           Electric       Gov. Aggregation   FEOH - OE     08033207340001042169        Electric       Gov. Aggregation
AEP - OP      00140060727426444           Electric       Gov. Aggregation   FEOH - OE     08033241050000804291        Electric       Gov. Aggregation
AEP - OP      00140060727569884           Electric       Gov. Aggregation   FEOH - OE     08033280020001533167        Electric       Gov. Aggregation
AEP - OP      00140060727609660           Electric       Gov. Aggregation   FEOH - OE     08033320030001404762        Electric       Gov. Aggregation
AEP - OP      00140060727712265           Electric       Gov. Aggregation   FEOH - OE     08033418420000584267        Electric       Gov. Aggregation
AEP - OP      00140060727764341           Electric       Gov. Aggregation   FEOH - TE     08033513112600007257        Electric       Gov. Aggregation
AEP - OP      00140060727840622           Electric       Gov. Aggregation   FEOH - TE     08031581522810021955        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060723731181           Electric       Gov. Aggregation   FEOH - OE     08031682460000803900        Electric       Gov. Aggregation
AEP - OP      00140060723806342           Electric       Gov. Aggregation   FEOH - OE     08031752190001317629        Electric       Gov. Aggregation
AEP - OP      00140060723853600           Electric       Gov. Aggregation   FEOH - OE     08031752190001430988        Electric       Gov. Aggregation
AEP - OP      00140060723872323           Electric       Gov. Aggregation   FEOH - TE     08031907232770020439        Electric       Gov. Aggregation
AEP - OP      00140060724019594           Electric       Gov. Aggregation   FEOH - OE     08031909460001143262        Electric       Gov. Aggregation
AEP - OP      00140060724025273           Electric       Gov. Aggregation   FEOH - OE     08027543970001127917        Electric       Gov. Aggregation
AEP - OP      00140060724087594           Electric       Gov. Aggregation   FEOH - OE     08027544400001130744        Electric       Gov. Aggregation
AEP - OP      00140060724113880           Electric       Gov. Aggregation   FEOH - OE     08027544960001130751        Electric       Gov. Aggregation
AEP - OP      00140060724164240           Electric       Gov. Aggregation   FEOH - OE     08027545820001130764        Electric       Gov. Aggregation
AEP - OP      00140060724304975           Electric       Gov. Aggregation   FEOH - OE     08027591010001041877        Electric       Gov. Aggregation
AEP - OP      00140060724432951           Electric       Gov. Aggregation   FEOH - OE     08027594030001041923        Electric       Gov. Aggregation
AEP - OP      00140060724486211           Electric       Gov. Aggregation   FEOH - OE     08027594700001041933        Electric       Gov. Aggregation
AEP - OP      00140060724530165           Electric       Gov. Aggregation   FEOH - TE     08028722932080022277        Electric       Gov. Aggregation
AEP - OP      00140060717160540           Electric       Gov. Aggregation   FEOH - OE     08028795185000077576        Electric       Gov. Aggregation
AEP - OP      00140060717209832           Electric       Gov. Aggregation   FEOH - OE     08028814340000790299        Electric       Gov. Aggregation
AEP - OP      00140060717223854           Electric       Gov. Aggregation   FEOH - OE     08028940210001419258        Electric       Gov. Aggregation
AEP - OP      00140060717263961           Electric       Gov. Aggregation   FEOH - OE     08026254070001042658        Electric       Gov. Aggregation
AEP - OP      00140060717329705           Electric       Gov. Aggregation   FEOH - OE     08026254070001042669        Electric       Gov. Aggregation
AEP - OP      00140060717384072           Electric       Gov. Aggregation   FEOH - OE     08026254070001042684        Electric       Gov. Aggregation
AEP - OP      00140060717420155           Electric       Gov. Aggregation   FEOH - OE     08026254070001042722        Electric       Gov. Aggregation
AEP - OP      00140060722855254           Electric       Gov. Aggregation   FEOH - OE     08026254070001042734        Electric       Gov. Aggregation
AEP - OP      00140060722866573           Electric       Gov. Aggregation   FEOH - OE     08026254070001042738        Electric       Gov. Aggregation
AEP - OP      00140060722874422           Electric       Gov. Aggregation   FEOH - OE     08026254070001042789        Electric       Gov. Aggregation
AEP - OP      00140060722979931           Electric       Gov. Aggregation   FEOH - OE     08026487490001143280        Electric       Gov. Aggregation
AEP - OP      00140060723071831           Electric       Gov. Aggregation   FEOH - OE     08026519140001129394        Electric       Gov. Aggregation
AEP - OP      00140060723140385           Electric       Gov. Aggregation   FEOH - OE     08026519300001129553        Electric       Gov. Aggregation
AEP - OP      00140060728633582           Electric       Gov. Aggregation   FEOH - OE     08026519430001129555        Electric       Gov. Aggregation
AEP - OP      00140060728649925           Electric       Gov. Aggregation   FEOH - OE     08026530420001044663        Electric       Gov. Aggregation
AEP - OP      00140060728664935           Electric       Gov. Aggregation   FEOH - OE     08026532230001044686        Electric       Gov. Aggregation
AEP - OP      00140060728694663           Electric       Gov. Aggregation   FEOH - OE     08033547475001513867        Electric       Gov. Aggregation
AEP - OP      00140060728728814           Electric       Gov. Aggregation   FEOH - OE     08033672420000789052        Electric       Gov. Aggregation
AEP - OP      00140060728756674           Electric       Gov. Aggregation   FEOH - OE     08033692220001531649        Electric       Gov. Aggregation
AEP - OP      00140060728779553           Electric       Gov. Aggregation   FEOH - TE     08033722772900008888        Electric       Gov. Aggregation
AEP - OP      00140060716818215           Electric       Gov. Aggregation   FEOH - OE     08033738170000841284        Electric       Gov. Aggregation
AEP - OP      00140060716854495           Electric       Gov. Aggregation   FEOH - OE     08033832010001142244        Electric       Gov. Aggregation
AEP - OP      00140060716866941           Electric       Gov. Aggregation   FEOH - OE     08031960585000197596        Electric       Gov. Aggregation
AEP - OP      00140060716984185           Electric       Gov. Aggregation   FEOH - OE     08031993220001478450        Electric       Gov. Aggregation
AEP - OP      00140060717070105           Electric       Gov. Aggregation   FEOH - OE     08032046550000803770        Electric       Gov. Aggregation
AEP - OP      00140060717198500           Electric       Gov. Aggregation   FEOH - OE     08032048160001380232        Electric       Gov. Aggregation
AEP - OP      00140060717364824           Electric       Gov. Aggregation   FEOH - OE     08032125900001045179        Electric       Gov. Aggregation
AEP - OP      00140060717619881           Electric       Gov. Aggregation   FEOH - OE     08032229600000778540        Electric       Gov. Aggregation
AEP - OP      00140060717699022           Electric       Gov. Aggregation   FEOH - OE     08026397300001044484        Electric       Gov. Aggregation
AEP - OP      00140060717799112           Electric       Gov. Aggregation   FEOH - OE     08026397440001044486        Electric       Gov. Aggregation
AEP - OP      00140060717936304           Electric       Gov. Aggregation   FEOH - OE     08026399490001044513        Electric       Gov. Aggregation
AEP - OP      00140060717973811           Electric       Gov. Aggregation   FEOH - OE     08026403790001040690        Electric       Gov. Aggregation
AEP - OP      00140060718235654           Electric       Gov. Aggregation   FEOH - OE     08026440750001128281        Electric       Gov. Aggregation
AEP - OP      00140060718264484           Electric       Gov. Aggregation   FEOH - OE     08026442490001128157        Electric       Gov. Aggregation
AEP - OP      00140060727883612           Electric       Gov. Aggregation   FEOH - OE     08026443420001128172        Electric       Gov. Aggregation
AEP - OP      00140060728007464           Electric       Gov. Aggregation   FEOH - OE     08027596060001041950        Electric       Gov. Aggregation
AEP - OP      00140060728053175           Electric       Gov. Aggregation   FEOH - OE     08027599770001130752        Electric       Gov. Aggregation
AEP - OP      00140060728067330           Electric       Gov. Aggregation   FEOH - OE     08027611230001130224        Electric       Gov. Aggregation
AEP - OP      00140060728208011           Electric       Gov. Aggregation   FEOH - OE     08027613660001131110        Electric       Gov. Aggregation
AEP - OP      00140060728339223           Electric       Gov. Aggregation   FEOH - OE     08027614430001131097        Electric       Gov. Aggregation
AEP - OP      00140060728378382           Electric       Gov. Aggregation   FEOH - OE     08027614830001128108        Electric       Gov. Aggregation
AEP - OP      00140060724253682           Electric       Gov. Aggregation   FEOH - OE     08027615910001131072        Electric       Gov. Aggregation
AEP - OP      00140060724254850           Electric       Gov. Aggregation   FEOH - OE     08028969845000072651        Electric       Gov. Aggregation
AEP - OP      00140060724267722           Electric       Gov. Aggregation   FEOH - OE     08028998410001044806        Electric       Gov. Aggregation
AEP - OP      00140060724349435           Electric       Gov. Aggregation   FEOH - OE     08029006570001574822        Electric       Gov. Aggregation
AEP - OP      00140060724358495           Electric       Gov. Aggregation   FEOH - OE     08029046130000803856        Electric       Gov. Aggregation
AEP - OP      00140060724373914           Electric       Gov. Aggregation   FEOH - OE     08029062270001129132        Electric       Gov. Aggregation
AEP - OP      00140060724805600           Electric       Gov. Aggregation   FEOH - OE     08029166220001040389        Electric       Gov. Aggregation
AEP - OP      00140060724839433           Electric       Gov. Aggregation   FEOH - OE     08026254070001042792        Electric       Gov. Aggregation
AEP - OP      00140060724964575           Electric       Gov. Aggregation   FEOH - OE     08026254070001042822        Electric       Gov. Aggregation
AEP - OP      00140060724967141           Electric       Gov. Aggregation   FEOH - OE     08026260150001040604        Electric       Gov. Aggregation
AEP - OP      00140060725014645           Electric       Gov. Aggregation   FEOH - OE     08026266920001044199        Electric       Gov. Aggregation
AEP - OP      00140060725061755           Electric       Gov. Aggregation   FEOH - OE     08026340720001142899        Electric       Gov. Aggregation
AEP - OP      00140060725190355           Electric       Gov. Aggregation   FEOH - OE     08026347260001508309        Electric       Gov. Aggregation
AEP - OP      00140060723208794           Electric       Gov. Aggregation   FEOH - OE     08026369470001128577        Electric       Gov. Aggregation
AEP - OP      00140060723209570           Electric       Gov. Aggregation   FEOH - OE     08033851540001368951        Electric       Gov. Aggregation
AEP - OP      00140060723310950           Electric       Gov. Aggregation   FEOH - OE     08033966040001515009        Electric       Gov. Aggregation
AEP - OP      00140060723330284           Electric       Gov. Aggregation   FEOH - OE     08034101920001377106        Electric       Gov. Aggregation
AEP - OP      00140060723336215           Electric       Gov. Aggregation   FEOH - OE     08034115390001041734        Electric       Gov. Aggregation
AEP - OP      00140060723444522           Electric       Gov. Aggregation   FEOH - OE     08034208960000804284        Electric       Gov. Aggregation
AEP - OP      00140060723627965           Electric       Gov. Aggregation   FEOH - OE     08034348400000604154        Electric       Gov. Aggregation
AEP - OP      00140060724549695           Electric       Gov. Aggregation   FEOH - OE     08026536060001044742        Electric       Gov. Aggregation
AEP - OP      00140060724618461           Electric       Gov. Aggregation   FEOH - OE     08026536350001044746        Electric       Gov. Aggregation
AEP - OP      00140060724668933           Electric       Gov. Aggregation   FEOH - OE     08026539670001044791        Electric       Gov. Aggregation
AEP - OP      00140060724805190           Electric       Gov. Aggregation   FEOH - OE     08026581300001129582        Electric       Gov. Aggregation
AEP - OP      00140060724905294           Electric       Gov. Aggregation   FEOH - OE     08026584280001130452        Electric       Gov. Aggregation
AEP - OP      00140060725069690           Electric       Gov. Aggregation   FEOH - OE     08026585190001128289        Electric       Gov. Aggregation
AEP - OP      00140060725077675           Electric       Gov. Aggregation   FEOH - OE     08026587930001129676        Electric       Gov. Aggregation
AEP - OP      00140060728782871           Electric       Gov. Aggregation   FEOH - OE     08026443620001128174        Electric       Gov. Aggregation
AEP - OP      00140060728844371           Electric       Gov. Aggregation   FEOH - OE     08026445160001305801        Electric       Gov. Aggregation
AEP - OP      00140060728894700           Electric       Gov. Aggregation   FEOH - OE     08026512290001128201        Electric       Gov. Aggregation
AEP - OP      00140060728972501           Electric       Gov. Aggregation   FEOH - OE     08026516580001129516        Electric       Gov. Aggregation
AEP - OP      00140060728986184           Electric       Gov. Aggregation   FEOH - OE     08026517310001129527        Electric       Gov. Aggregation
AEP - OP      00140060729045222           Electric       Gov. Aggregation   FEOH - OE     08026532350001044687        Electric       Gov. Aggregation
AEP - OP      00140060729046313           Electric       Gov. Aggregation   FEOH - OE     08026536550001044747        Electric       Gov. Aggregation
AEP - OP      00140060717399521           Electric       Gov. Aggregation   FEOH - OE     08032268740000789043        Electric       Gov. Aggregation
AEP - OP      00140060717506822           Electric       Gov. Aggregation   FEOH - TE     08032419532380028192        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060717538255           Electric       Gov. Aggregation   FEOH - TE     08032454062200090754        Electric       Gov. Aggregation
AEP - OP      00140060717569271           Electric       Gov. Aggregation   FEOH - OE     08032553010001365863        Electric       Gov. Aggregation
AEP - OP      00140060717570360           Electric       Gov. Aggregation   FEOH - OE     08032570580000804183        Electric       Gov. Aggregation
AEP - OP      00140060717619654           Electric       Gov. Aggregation   FEOH - TE     08032595325000219563        Electric       Gov. Aggregation
AEP - OP      00140060717659674           Electric       Gov. Aggregation   FEOH - OE     08032709770001131030        Electric       Gov. Aggregation
AEP - OP      00140060717442860           Electric       Gov. Aggregation   FEOH - OE     08026536860001044752        Electric       Gov. Aggregation
AEP - OP      00140060717692542           Electric       Gov. Aggregation   FEOH - OE     08026584800001129632        Electric       Gov. Aggregation
AEP - OP      00140060717780321           Electric       Gov. Aggregation   FEOH - OE     08026590250001044801        Electric       Gov. Aggregation
AEP - OP      00140060717852624           Electric       Gov. Aggregation   FEOH - OE     08026592110001044831        Electric       Gov. Aggregation
AEP - OP      00140060718051544           Electric       Gov. Aggregation   FEOH - OE     08026650970001129716        Electric       Gov. Aggregation
AEP - OP      00140060718092034           Electric       Gov. Aggregation   FEOH - OE     08026651590001129726        Electric       Gov. Aggregation
AEP - OP      00140060718117634           Electric       Gov. Aggregation   FEOH - OE     08026654570001129769        Electric       Gov. Aggregation
AEP - OP      00140060723645203           Electric       Gov. Aggregation   FEOH - OE     08034465270001042306        Electric       Gov. Aggregation
AEP - OP      00140060723701433           Electric       Gov. Aggregation   FEOH - OE     08034522755000021653        Electric       Gov. Aggregation
AEP - OP      00140060724024290           Electric       Gov. Aggregation   FEOH - OE     08034541305001285509        Electric       Gov. Aggregation
AEP - OP      00140060724041463           Electric       Gov. Aggregation   FEOH - OE     08034559400000765295        Electric       Gov. Aggregation
AEP - OP      00140060724305462           Electric       Gov. Aggregation   FEOH - OE     08034730450001142158        Electric       Gov. Aggregation
AEP - OP      00140060724339614           Electric       Gov. Aggregation   FEOH - OE     08027618070001131066        Electric       Gov. Aggregation
AEP - OP      00140060728576333           Electric       Gov. Aggregation   FEOH - OE     08027618390001131048        Electric       Gov. Aggregation
AEP - OP      00140060728598055           Electric       Gov. Aggregation   FEOH - OE     08027619000001131040        Electric       Gov. Aggregation
AEP - OP      00140060728867283           Electric       Gov. Aggregation   FEOH - OE     08027626430001043849        Electric       Gov. Aggregation
AEP - OP      00140060728924782           Electric       Gov. Aggregation   FEOH - OE     08027627030001043862        Electric       Gov. Aggregation
AEP - OP      00140060729098355           Electric       Gov. Aggregation   FEOH - OE     08027627150001043863        Electric       Gov. Aggregation
AEP - OP      00140060729122761           Electric       Gov. Aggregation   FEOH - OE     08027627880001043875        Electric       Gov. Aggregation
AEP - OP      00140060729128000           Electric       Gov. Aggregation   FEOH - OE     08032741060000790967        Electric       Gov. Aggregation
AEP - OP      00140060718345764           Electric       Gov. Aggregation   FEOH - OE     08032846090000789201        Electric       Gov. Aggregation
AEP - OP      00140060718367695           Electric       Gov. Aggregation   FEOH - OE     08032889540000792602        Electric       Gov. Aggregation
AEP - OP      00140060718431761           Electric       Gov. Aggregation   FEOH - OE     08032935470000765656        Electric       Gov. Aggregation
AEP - OP      00140060718435991           Electric       Gov. Aggregation   FEOH - OE     08032941980000791715        Electric       Gov. Aggregation
AEP - OP      00140060718596603           Electric       Gov. Aggregation   FEOH - OE     08033065690001042248        Electric       Gov. Aggregation
AEP - OP      00140060718692360           Electric       Gov. Aggregation   FEOH - OE     08033126300000790517        Electric       Gov. Aggregation
AEP - OP      00140060718713110           Electric       Gov. Aggregation   FEOH - OE     08026374460001131497        Electric       Gov. Aggregation
AEP - OP      00140060725207933           Electric       Gov. Aggregation   FEOH - OE     08026375750001128394        Electric       Gov. Aggregation
AEP - OP      00140060725295490           Electric       Gov. Aggregation   FEOH - OE     08026376650001128222        Electric       Gov. Aggregation
AEP - OP      00140060725353955           Electric       Gov. Aggregation   FEOH - OE     08026376730001128223        Electric       Gov. Aggregation
AEP - OP      00140060725379460           Electric       Gov. Aggregation   FEOH - OE     08026378470001128248        Electric       Gov. Aggregation
AEP - OP      00140060725438504           Electric       Gov. Aggregation   FEOH - OE     08026395670001044457        Electric       Gov. Aggregation
AEP - OP      00140060725442992           Electric       Gov. Aggregation   FEOH - OE     08026396900001044477        Electric       Gov. Aggregation
AEP - OP      00140060725512535           Electric       Gov. Aggregation   FEOH - TE     08034868642620091316        Electric       Gov. Aggregation
AEP - OP      00140060724347323           Electric       Gov. Aggregation   FEOH - OE     08034901095000020563        Electric       Gov. Aggregation
AEP - OP      00140060724361134           Electric       Gov. Aggregation   FEOH - OE     08034906860000810140        Electric       Gov. Aggregation
AEP - OP      00140060724363913           Electric       Gov. Aggregation   FEOH - OE     08034910450001368856        Electric       Gov. Aggregation
AEP - OP      00140060724529890           Electric       Gov. Aggregation   FEOH - OE     08034970580000804130        Electric       Gov. Aggregation
AEP - OP      00140060724549950           Electric       Gov. Aggregation   FEOH - TE     08035003632130006574        Electric       Gov. Aggregation
AEP - OP      00140060724577423           Electric       Gov. Aggregation   FEOH - OE     08035112780000791561        Electric       Gov. Aggregation
AEP - OP      00140060724594854           Electric       Gov. Aggregation   FEOH - OE     08027628640001043893        Electric       Gov. Aggregation
AEP - OP      00140060729062622           Electric       Gov. Aggregation   FEOH - OE     08027635850001042353        Electric       Gov. Aggregation
AEP - OP      00140060729113860           Electric       Gov. Aggregation   FEOH - OE     08027655480001042094        Electric       Gov. Aggregation
AEP - OP      00140060729159225           Electric       Gov. Aggregation   FEOH - OE     08027658080001042130        Electric       Gov. Aggregation
AEP - OP      00140060729306674           Electric       Gov. Aggregation   FEOH - OE     08027658590001042138        Electric       Gov. Aggregation
AEP - OP      00140060729319511           Electric       Gov. Aggregation   FEOH - OE     08027659830001043331        Electric       Gov. Aggregation
AEP - OP      00140060729425300           Electric       Gov. Aggregation   FEOH - OE     08027685110001130517        Electric       Gov. Aggregation
AEP - OP      00140060729434092           Electric       Gov. Aggregation   FEOH - OE     08026664920001044464        Electric       Gov. Aggregation
AEP - OP      00140060718188462           Electric       Gov. Aggregation   FEOH - OE     08026668180001045249        Electric       Gov. Aggregation
AEP - OP      00140060718232915           Electric       Gov. Aggregation   FEOH - OE     08026721770001130656        Electric       Gov. Aggregation
AEP - OP      00140060718319614           Electric       Gov. Aggregation   FEOH - OE     08026723240001143204        Electric       Gov. Aggregation
AEP - OP      00140060718351140           Electric       Gov. Aggregation   FEOH - OE     08026724850001348882        Electric       Gov. Aggregation
AEP - OP      00140060718460013           Electric       Gov. Aggregation   FEOH - OE     08026778690001128800        Electric       Gov. Aggregation
AEP - OP      00140060718612342           Electric       Gov. Aggregation   FEOH - OE     08026792560001128922        Electric       Gov. Aggregation
AEP - OP      00140060717807810           Electric       Gov. Aggregation   FEOH - OE     08026397670001044488        Electric       Gov. Aggregation
AEP - OP      00140060717854372           Electric       Gov. Aggregation   FEOH - OE     08026440410001128276        Electric       Gov. Aggregation
AEP - OP      00140060717908073           Electric       Gov. Aggregation   FEOH - OE     08026443690001131252        Electric       Gov. Aggregation
AEP - OP      00140060717985663           Electric       Gov. Aggregation   FEOH - OE     08026460560001044529        Electric       Gov. Aggregation
AEP - OP      00140060717999110           Electric       Gov. Aggregation   FEOH - OE     08026461180001044538        Electric       Gov. Aggregation
AEP - OP      00140060718040283           Electric       Gov. Aggregation   FEOH - OE     08026479410001044319        Electric       Gov. Aggregation
AEP - OP      00140060718105953           Electric       Gov. Aggregation   FEOH - OE     08026509550001045613        Electric       Gov. Aggregation
AEP - OP      00140060725091163           Electric       Gov. Aggregation   FEOH - OE     08026592820001044845        Electric       Gov. Aggregation
AEP - OP      00140060725152040           Electric       Gov. Aggregation   FEOH - OE     08026608140001044527        Electric       Gov. Aggregation
AEP - OP      00140060725161672           Electric       Gov. Aggregation   FEOH - OE     08026622900001521380        Electric       Gov. Aggregation
AEP - OP      00140060725341913           Electric       Gov. Aggregation   FEOH - OE     08026651330001129722        Electric       Gov. Aggregation
AEP - OP      00140060725480451           Electric       Gov. Aggregation   FEOH - OE     08026652690001129742        Electric       Gov. Aggregation
AEP - OP      00140060725500990           Electric       Gov. Aggregation   FEOH - OE     08026653210001143155        Electric       Gov. Aggregation
AEP - OP      00140060725533045           Electric       Gov. Aggregation   FEOH - OE     08026654570001129768        Electric       Gov. Aggregation
AEP - OP      00140060729160834           Electric       Gov. Aggregation   FEOH - OE     08029170180001129334        Electric       Gov. Aggregation
AEP - OP      00140060729215291           Electric       Gov. Aggregation   FEOH - TE     08029210162380028582        Electric       Gov. Aggregation
AEP - OP      00140060729258302           Electric       Gov. Aggregation   FEOH - OE     08029276600001127525        Electric       Gov. Aggregation
AEP - OP      00140060729326403           Electric       Gov. Aggregation   FEOH - TE     08029297332380033308        Electric       Gov. Aggregation
AEP - OP      00140060729504002           Electric       Gov. Aggregation   FEOH - OE     08029300870001535836        Electric       Gov. Aggregation
AEP - OP      00140060729526431           Electric       Gov. Aggregation   FEOH - TE     08029403072170012998        Electric       Gov. Aggregation
AEP - OP      00140060729677973           Electric       Gov. Aggregation   FEOH - TE     08029549242850090686        Electric       Gov. Aggregation
AEP - OP      00140060718780021           Electric       Gov. Aggregation   FEOH - OE     08026797980001129157        Electric       Gov. Aggregation
AEP - OP      00140060718820613           Electric       Gov. Aggregation   FEOH - OE     08026863590001129260        Electric       Gov. Aggregation
AEP - OP      00140060718854091           Electric       Gov. Aggregation   FEOH - OE     08026868070001402958        Electric       Gov. Aggregation
AEP - OP      00140060718940541           Electric       Gov. Aggregation   FEOH - OE     08026872360001128840        Electric       Gov. Aggregation
AEP - OP      00140060718977730           Electric       Gov. Aggregation   FEOH - OE     08026877750001045631        Electric       Gov. Aggregation
AEP - OP      00140060718998421           Electric       Gov. Aggregation   FEOH - OE     08026940070001045663        Electric       Gov. Aggregation
AEP - OP      00140060719041935           Electric       Gov. Aggregation   FEOH - OE     08026941210001045678        Electric       Gov. Aggregation
AEP - OP      00140060725847330           Electric       Gov. Aggregation   FEOH - OE     08033170400001418711        Electric       Gov. Aggregation
AEP - OP      00140060725886654           Electric       Gov. Aggregation   FEOH - OE     08033282910000790451        Electric       Gov. Aggregation
AEP - OP      00140060725905500           Electric       Gov. Aggregation   FEOH - TE     08033291672600008300        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060725995040           Electric       Gov. Aggregation   FEOH - OE     08033291940000804040        Electric       Gov. Aggregation
AEP - OP      00140060726164313           Electric       Gov. Aggregation   FEOH - OE     08033405900001131391        Electric       Gov. Aggregation
AEP - OP      00140060726172874           Electric       Gov. Aggregation   FEOH - OE     08033406750000792328        Electric       Gov. Aggregation
AEP - OP      00140060726273210           Electric       Gov. Aggregation   FEOH - OE     08033410060000806053        Electric       Gov. Aggregation
AEP - OP      00140060724685211           Electric       Gov. Aggregation   FEOH - OE     08026514130001129474        Electric       Gov. Aggregation
AEP - OP      00140060724720315           Electric       Gov. Aggregation   FEOH - OE     08026515200001129489        Electric       Gov. Aggregation
AEP - OP      00140060724761904           Electric       Gov. Aggregation   FEOH - OE     08026518340001129541        Electric       Gov. Aggregation
AEP - OP      00140060724847692           Electric       Gov. Aggregation   FEOH - OE     08026533140001044699        Electric       Gov. Aggregation
AEP - OP      00140060724903385           Electric       Gov. Aggregation   FEOH - OE     08026533990001044711        Electric       Gov. Aggregation
AEP - OP      00140060725017270           Electric       Gov. Aggregation   FEOH - OE     08026534510001074689        Electric       Gov. Aggregation
AEP - OP      00140060725055634           Electric       Gov. Aggregation   FEOH - OE     08026579660001040775        Electric       Gov. Aggregation
AEP - OP      00140060729472383           Electric       Gov. Aggregation   FEOH - OE     08026658570001129830        Electric       Gov. Aggregation
AEP - OP      00140060729704475           Electric       Gov. Aggregation   FEOH - OE     08026659810001129844        Electric       Gov. Aggregation
AEP - OP      00140060729734971           Electric       Gov. Aggregation   FEOH - OE     08026661155000104835        Electric       Gov. Aggregation
AEP - OP      00140060729756902           Electric       Gov. Aggregation   FEOH - OE     08026664360001045054        Electric       Gov. Aggregation
AEP - OP      00140060729937914           Electric       Gov. Aggregation   FEOH - OE     08026664540001041852        Electric       Gov. Aggregation
AEP - OP      00140060729943350           Electric       Gov. Aggregation   FEOH - OE     08026665090001045208        Electric       Gov. Aggregation
AEP - OP      00140060729949773           Electric       Gov. Aggregation   FEOH - OE     08026720690001129855        Electric       Gov. Aggregation
AEP - OP      00140060718639325           Electric       Gov. Aggregation   FEOH - OE     08027685260001472958        Electric       Gov. Aggregation
AEP - OP      00140060718716274           Electric       Gov. Aggregation   FEOH - OE     08027685680001362136        Electric       Gov. Aggregation
AEP - OP      00140060718735940           Electric       Gov. Aggregation   FEOH - OE     08027687380001396572        Electric       Gov. Aggregation
AEP - OP      00140060718747454           Electric       Gov. Aggregation   FEOH - OE     08027691400001042371        Electric       Gov. Aggregation
AEP - OP      00140060719027570           Electric       Gov. Aggregation   FEOH - OE     08027696970001044050        Electric       Gov. Aggregation
AEP - OP      00140060719124804           Electric       Gov. Aggregation   FEOH - OE     08027699600001143291        Electric       Gov. Aggregation
AEP - OP      00140060725556933           Electric       Gov. Aggregation   FEOH - OE     08027720250001042163        Electric       Gov. Aggregation
AEP - OP      00140060725579351           Electric       Gov. Aggregation   FEOH - OE     08029577710000782676        Electric       Gov. Aggregation
AEP - OP      00140060725778633           Electric       Gov. Aggregation   FEOH - OE     08029606450000792386        Electric       Gov. Aggregation
AEP - OP      00140060725784034           Electric       Gov. Aggregation   FEOH - OE     08029623870001128442        Electric       Gov. Aggregation
AEP - OP      00140060725852263           Electric       Gov. Aggregation   FEOH - TE     08029732702380033031        Electric       Gov. Aggregation
AEP - OP      00140060725883294           Electric       Gov. Aggregation   FEOH - TE     08029734442390001565        Electric       Gov. Aggregation
AEP - OP      00140060725967031           Electric       Gov. Aggregation   FEOH - OE     08029736450001404099        Electric       Gov. Aggregation
AEP - OP      00140060718126842           Electric       Gov. Aggregation   FEOH - OE     08029744660000778763        Electric       Gov. Aggregation
AEP - OP      00140060718157870           Electric       Gov. Aggregation   FEOH - OE     08026943810001045710        Electric       Gov. Aggregation
AEP - OP      00140060718179043           Electric       Gov. Aggregation   FEOH - OE     08026944790001045725        Electric       Gov. Aggregation
AEP - OP      00140060718215171           Electric       Gov. Aggregation   FEOH - OE     08027002270001130379        Electric       Gov. Aggregation
AEP - OP      00140060718485903           Electric       Gov. Aggregation   FEOH - OE     08027004680001127453        Electric       Gov. Aggregation
AEP - OP      00140060718544581           Electric       Gov. Aggregation   FEOH - OE     08027004860001127456        Electric       Gov. Aggregation
AEP - OP      00140060718548760           Electric       Gov. Aggregation   FEOH - OE     08027004860001471793        Electric       Gov. Aggregation
AEP - OP      00140060729681502           Electric       Gov. Aggregation   FEOH - OE     08027005480001127464        Electric       Gov. Aggregation
AEP - OP      00140060729695645           Electric       Gov. Aggregation   FEOH - OE     08033531990001131210        Electric       Gov. Aggregation
AEP - OP      00140060729699732           Electric       Gov. Aggregation   FEOH - OE     08033559150000587620        Electric       Gov. Aggregation
AEP - OP      00140060729755854           Electric       Gov. Aggregation   FEOH - OE     08033639330000789177        Electric       Gov. Aggregation
AEP - OP      00140060729847555           Electric       Gov. Aggregation   FEOH - OE     08033665340000587671        Electric       Gov. Aggregation
AEP - OP      00140060730032625           Electric       Gov. Aggregation   FEOH - TE     08033722772900008770        Electric       Gov. Aggregation
AEP - OP      00140060730139145           Electric       Gov. Aggregation   FEOH - OE     08033732340000778607        Electric       Gov. Aggregation
AEP - OP      00140060719059093           Electric       Gov. Aggregation   FEOH - OE     08027720460001042166        Electric       Gov. Aggregation
AEP - OP      00140060719090393           Electric       Gov. Aggregation   FEOH - OE     08027722760001042200        Electric       Gov. Aggregation
AEP - OP      00140060719131640           Electric       Gov. Aggregation   FEOH - OE     08027730750001130972        Electric       Gov. Aggregation
AEP - OP      00140060719153453           Electric       Gov. Aggregation   FEOH - OE     08027732150001362347        Electric       Gov. Aggregation
AEP - OP      00140060719311344           Electric       Gov. Aggregation   FEOH - OE     08027732900001131479        Electric       Gov. Aggregation
AEP - OP      00140060719313754           Electric       Gov. Aggregation   FEOH - OE     08027733760001131471        Electric       Gov. Aggregation
AEP - OP      00140060725071183           Electric       Gov. Aggregation   FEOH - OE     08027733790001318338        Electric       Gov. Aggregation
AEP - OP      00140060725117365           Electric       Gov. Aggregation   FEOH - OE     08029937000001128132        Electric       Gov. Aggregation
AEP - OP      00140060725155782           Electric       Gov. Aggregation   FEOH - OE     08029980580000789308        Electric       Gov. Aggregation
AEP - OP      00140060725209010           Electric       Gov. Aggregation   FEOH - OE     08030085260001427742        Electric       Gov. Aggregation
AEP - OP      00140060725222225           Electric       Gov. Aggregation   FEOH - OE     08030118985000084957        Electric       Gov. Aggregation
AEP - OP      00140060725246204           Electric       Gov. Aggregation   FEOH - OE     08030142050000603801        Electric       Gov. Aggregation
AEP - OP      00140060725329565           Electric       Gov. Aggregation   FEOH - OE     08027005640001127466        Electric       Gov. Aggregation
AEP - OP      00140060726328485           Electric       Gov. Aggregation   FEOH - OE     08027009330001127515        Electric       Gov. Aggregation
AEP - OP      00140060726336882           Electric       Gov. Aggregation   FEOH - OE     08027060390001127531        Electric       Gov. Aggregation
AEP - OP      00140060726343913           Electric       Gov. Aggregation   FEOH - OE     08027068530001127652        Electric       Gov. Aggregation
AEP - OP      00140060726417260           Electric       Gov. Aggregation   FEOH - OE     08027131090001127679        Electric       Gov. Aggregation
AEP - OP      00140060726430182           Electric       Gov. Aggregation   FEOH - OE     08027131170001127680        Electric       Gov. Aggregation
AEP - OP      00140060726534135           Electric       Gov. Aggregation   FEOH - OE     08027134700001127730        Electric       Gov. Aggregation
AEP - OP      00140060726721255           Electric       Gov. Aggregation   FEOH - OE     08026582260001129371        Electric       Gov. Aggregation
AEP - OP      00140060719132071           Electric       Gov. Aggregation   FEOH - OE     08026591840000803961        Electric       Gov. Aggregation
AEP - OP      00140060719162835           Electric       Gov. Aggregation   FEOH - OE     08026650720001129713        Electric       Gov. Aggregation
AEP - OP      00140060719176762           Electric       Gov. Aggregation   FEOH - OE     08026656660001143174        Electric       Gov. Aggregation
AEP - OP      00140060719184064           Electric       Gov. Aggregation   FEOH - OE     08026720940001129860        Electric       Gov. Aggregation
AEP - OP      00140060719194530           Electric       Gov. Aggregation   FEOH - OE     08026722650001129883        Electric       Gov. Aggregation
AEP - OP      00140060719218520           Electric       Gov. Aggregation   FEOH - OE     08026723300001143205        Electric       Gov. Aggregation
AEP - OP      00140060719396852           Electric       Gov. Aggregation   FEOH - OE     08026721810001143195        Electric       Gov. Aggregation
AEP - OP      00140060730002793           Electric       Gov. Aggregation   FEOH - OE     08026723110001128173        Electric       Gov. Aggregation
AEP - OP      00140060730049182           Electric       Gov. Aggregation   FEOH - OE     08026723120001129891        Electric       Gov. Aggregation
AEP - OP      00140060730109924           Electric       Gov. Aggregation   FEOH - OE     08026730140001045275        Electric       Gov. Aggregation
AEP - OP      00140060730217671           Electric       Gov. Aggregation   FEOH - OE     08026733190001045314        Electric       Gov. Aggregation
AEP - OP      00140060730342781           Electric       Gov. Aggregation   FEOH - OE     08026790000001130775        Electric       Gov. Aggregation
AEP - OP      00140060730362643           Electric       Gov. Aggregation   FEOH - OE     08026792360001130019        Electric       Gov. Aggregation
AEP - OP      00140060726062461           Electric       Gov. Aggregation   FEOH - OE     08033751430000604179        Electric       Gov. Aggregation
AEP - OP      00140060726109892           Electric       Gov. Aggregation   FEOH - TE     08033752762770020177        Electric       Gov. Aggregation
AEP - OP      00140060726319423           Electric       Gov. Aggregation   FEOH - OE     08033772230001369878        Electric       Gov. Aggregation
AEP - OP      00140060726442754           Electric       Gov. Aggregation   FEOH - OE     08033857900001129565        Electric       Gov. Aggregation
AEP - OP      00140060726471261           Electric       Gov. Aggregation   FEOH - OE     08033895410000841221        Electric       Gov. Aggregation
AEP - OP      00140060726557210           Electric       Gov. Aggregation   FEOH - OE     08034048840000782659        Electric       Gov. Aggregation
AEP - OP      00140060726561693           Electric       Gov. Aggregation   FEOH - OE     08027734040001365972        Electric       Gov. Aggregation
AEP - OP      00140060718552225           Electric       Gov. Aggregation   FEOH - OE     08027736830001131013        Electric       Gov. Aggregation
AEP - OP      00140060718686771           Electric       Gov. Aggregation   FEOH - OE     08027737090001131019        Electric       Gov. Aggregation
AEP - OP      00140060718691033           Electric       Gov. Aggregation   FEOH - OE     08027737540001301361        Electric       Gov. Aggregation
AEP - OP      00140060718831801           Electric       Gov. Aggregation   FEOH - OE     08027737950001130998        Electric       Gov. Aggregation
AEP - OP      00140060718954361           Electric       Gov. Aggregation   FEOH - OE     08027738470001131005        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060719028035           Electric       Gov. Aggregation   FEOH - OE     08027773050001041400        Electric       Gov. Aggregation
AEP - OP      00140060719030734           Electric       Gov. Aggregation   FEOH - OE     08030150315000104831        Electric       Gov. Aggregation
AEP - OP      00140060730144340           Electric       Gov. Aggregation   FEOH - OE     08030153130000803299        Electric       Gov. Aggregation
AEP - OP      00140060730166905           Electric       Gov. Aggregation   FEOH - OE     08030167700000804238        Electric       Gov. Aggregation
AEP - OP      00140060730284355           Electric       Gov. Aggregation   FEOH - TE     08030175162080026722        Electric       Gov. Aggregation
AEP - OP      00140060730354410           Electric       Gov. Aggregation   FEOH - OE     08030284400000168242        Electric       Gov. Aggregation
AEP - OP      00140060730355852           Electric       Gov. Aggregation   FEOH - OE     08030365330000803922        Electric       Gov. Aggregation
AEP - OP      00140060730411575           Electric       Gov. Aggregation   FEOH - OE     08030369210000789131        Electric       Gov. Aggregation
AEP - OP      00140060719352292           Electric       Gov. Aggregation   FEOH - OE     08026724500001143208        Electric       Gov. Aggregation
AEP - OP      00140060719385602           Electric       Gov. Aggregation   FEOH - OE     08026725630001129922        Electric       Gov. Aggregation
AEP - OP      00140060719458044           Electric       Gov. Aggregation   FEOH - OE     08026730580001045280        Electric       Gov. Aggregation
AEP - OP      00140060719605975           Electric       Gov. Aggregation   FEOH - OE     08026731850001045297        Electric       Gov. Aggregation
AEP - OP      00140060719627473           Electric       Gov. Aggregation   FEOH - OE     08026733340001045316        Electric       Gov. Aggregation
AEP - OP      00140060719636782           Electric       Gov. Aggregation   FEOH - OE     08026738250001045390        Electric       Gov. Aggregation
AEP - OP      00140060719642762           Electric       Gov. Aggregation   FEOH - OE     08026791320001130006        Electric       Gov. Aggregation
AEP - OP      00140060725402223           Electric       Gov. Aggregation   FEOH - OE     08034093830000784654        Electric       Gov. Aggregation
AEP - OP      00140060725428534           Electric       Gov. Aggregation   FEOH - OE     08034124890000803846        Electric       Gov. Aggregation
AEP - OP      00140060725709891           Electric       Gov. Aggregation   FEOH - OE     08034135230000603867        Electric       Gov. Aggregation
AEP - OP      00140060725858954           Electric       Gov. Aggregation   FEOH - TE     08034169242680022721        Electric       Gov. Aggregation
AEP - OP      00140060725887475           Electric       Gov. Aggregation   FEOH - OE     08034194670001342816        Electric       Gov. Aggregation
AEP - OP      00140060725901890           Electric       Gov. Aggregation   FEOH - OE     08034204830000762743        Electric       Gov. Aggregation
AEP - OP      00140060726726683           Electric       Gov. Aggregation   FEOH - OE     08034280930001129074        Electric       Gov. Aggregation
AEP - OP      00140060726735770           Electric       Gov. Aggregation   FEOH - OE     08027795150001042385        Electric       Gov. Aggregation
AEP - OP      00140060726844681           Electric       Gov. Aggregation   FEOH - OE     08027797390001042425        Electric       Gov. Aggregation
AEP - OP      00140060727038585           Electric       Gov. Aggregation   FEOH - OE     08027798380001042446        Electric       Gov. Aggregation
AEP - OP      00140060727044000           Electric       Gov. Aggregation   FEOH - OE     08027836620001044395        Electric       Gov. Aggregation
AEP - OP      00140060727082274           Electric       Gov. Aggregation   FEOH - OE     08027854890001130309        Electric       Gov. Aggregation
AEP - OP      00140060727105633           Electric       Gov. Aggregation   FEOH - OE     08027872360001043458        Electric       Gov. Aggregation
AEP - OP      00140060730375172           Electric       Gov. Aggregation   FEOH - OE     08027937990001131026        Electric       Gov. Aggregation
AEP - OP      00140060730447531           Electric       Gov. Aggregation   FEOH - OE     08030436470000806166        Electric       Gov. Aggregation
AEP - OP      00140060730455583           Electric       Gov. Aggregation   FEOH - OE     08030438570001042554        Electric       Gov. Aggregation
AEP - OP      00140060730551671           Electric       Gov. Aggregation   FEOH - OE     08030501930000780116        Electric       Gov. Aggregation
AEP - OP      00140060730587053           Electric       Gov. Aggregation   FEOH - OE     08030545840000780242        Electric       Gov. Aggregation
AEP - OP      00140060730608364           Electric       Gov. Aggregation   FEOH - OE     08030715690000767140        Electric       Gov. Aggregation
AEP - OP      00140060730653183           Electric       Gov. Aggregation   FEOH - OE     08030823940001425186        Electric       Gov. Aggregation
AEP - OP      00140060719457512           Electric       Gov. Aggregation   FEOH - OE     08030846590000844921        Electric       Gov. Aggregation
AEP - OP      00140060719538175           Electric       Gov. Aggregation   FEOH - OE     08026792010001143230        Electric       Gov. Aggregation
AEP - OP      00140060719550461           Electric       Gov. Aggregation   FEOH - OE     08026792420001130020        Electric       Gov. Aggregation
AEP - OP      00140060719646984           Electric       Gov. Aggregation   FEOH - OE     08026794580001141949        Electric       Gov. Aggregation
AEP - OP      00140060719876900           Electric       Gov. Aggregation   FEOH - OE     08026803725000175172        Electric       Gov. Aggregation
AEP - OP      00140060719969731           Electric       Gov. Aggregation   FEOH - OE     08026805320001042089        Electric       Gov. Aggregation
AEP - OP      00140060719989632           Electric       Gov. Aggregation   FEOH - OE     08026857670001044653        Electric       Gov. Aggregation
AEP - OP      00140060726672681           Electric       Gov. Aggregation   FEOH - OE     08026863760001129263        Electric       Gov. Aggregation
AEP - OP      00140060726713531           Electric       Gov. Aggregation   FEOH - OE     08034320350001043827        Electric       Gov. Aggregation
AEP - OP      00140060726760642           Electric       Gov. Aggregation   FEOH - OE     08034353280000603819        Electric       Gov. Aggregation
AEP - OP      00140060727079880           Electric       Gov. Aggregation   FEOH - TE     08034380592850021758        Electric       Gov. Aggregation
AEP - OP      00140060727107812           Electric       Gov. Aggregation   FEOH - OE     08034445830001401667        Electric       Gov. Aggregation
AEP - OP      00140060727208702           Electric       Gov. Aggregation   FEOH - OE     08034450400001041932        Electric       Gov. Aggregation
AEP - OP      00140060727223723           Electric       Gov. Aggregation   FEOH - OE     08034508420001045129        Electric       Gov. Aggregation
AEP - OP      00140060719108073           Electric       Gov. Aggregation   FEOH - OE     08034512280001143148        Electric       Gov. Aggregation
AEP - OP      00140060719168145           Electric       Gov. Aggregation   FEOH - OE     08027965890001127462        Electric       Gov. Aggregation
AEP - OP      00140060719257454           Electric       Gov. Aggregation   FEOH - OE     08027974450001128465        Electric       Gov. Aggregation
AEP - OP      00140060719288780           Electric       Gov. Aggregation   FEOH - OE     08028015650001044812        Electric       Gov. Aggregation
AEP - OP      00140060719478533           Electric       Gov. Aggregation   FEOH - OE     08028037360001131419        Electric       Gov. Aggregation
AEP - OP      00140060719506855           Electric       Gov. Aggregation   FEOH - OE     08028039260001142093        Electric       Gov. Aggregation
AEP - OP      00140060719568845           Electric       Gov. Aggregation   FEOH - OE     08028040110001142876        Electric       Gov. Aggregation
AEP - OP      00140060725948521           Electric       Gov. Aggregation   FEOH - OE     08028040330001128607        Electric       Gov. Aggregation
AEP - OP      00140060725949171           Electric       Gov. Aggregation   FEOH - OE     08027136690001129586        Electric       Gov. Aggregation
AEP - OP      00140060725953384           Electric       Gov. Aggregation   FEOH - OE     08027145070001130886        Electric       Gov. Aggregation
AEP - OP      00140060726111522           Electric       Gov. Aggregation   FEOH - OE     08027191260001128938        Electric       Gov. Aggregation
AEP - OP      00140060726134612           Electric       Gov. Aggregation   FEOH - OE     08027193420001427216        Electric       Gov. Aggregation
AEP - OP      00140060726213955           Electric       Gov. Aggregation   FEOH - OE     08027199870001043506        Electric       Gov. Aggregation
AEP - OP      00140060726443472           Electric       Gov. Aggregation   FEOH - OE     08027200370001127803        Electric       Gov. Aggregation
AEP - OP      00140060730809400           Electric       Gov. Aggregation   FEOH - OE     08027202930001127841        Electric       Gov. Aggregation
AEP - OP      00140060730966352           Electric       Gov. Aggregation   FEOH - OE     08026795710001502936        Electric       Gov. Aggregation
AEP - OP      00140060731148155           Electric       Gov. Aggregation   FEOH - OE     08026797800001130258        Electric       Gov. Aggregation
AEP - OP      00140060731179641           Electric       Gov. Aggregation   FEOH - OE     08026799880001127807        Electric       Gov. Aggregation
AEP - OP      00140060731605445           Electric       Gov. Aggregation   FEOH - OE     08026865640001128752        Electric       Gov. Aggregation
AEP - OP      00140060731698461           Electric       Gov. Aggregation   FEOH - OE     08026876270001045609        Electric       Gov. Aggregation
AEP - OP      00140060731719911           Electric       Gov. Aggregation   FEOH - OE     08026876330001045610        Electric       Gov. Aggregation
AEP - OP      00140060719705664           Electric       Gov. Aggregation   FEOH - OE     08026903570001550122        Electric       Gov. Aggregation
AEP - OP      00140060719733502           Electric       Gov. Aggregation   FEOH - OE     08030895970000791291        Electric       Gov. Aggregation
AEP - OP      00140060719756610           Electric       Gov. Aggregation   FEOH - OE     08030915040000802968        Electric       Gov. Aggregation
AEP - OP      00140060719759421           Electric       Gov. Aggregation   FEOH - OE     08030918100001128700        Electric       Gov. Aggregation
AEP - OP      00140060719790694           Electric       Gov. Aggregation   FEOH - OE     08030935250001130954        Electric       Gov. Aggregation
AEP - OP      00140060719817450           Electric       Gov. Aggregation   FEOH - OE     08031064890000790810        Electric       Gov. Aggregation
AEP - OP      00140060719841985           Electric       Gov. Aggregation   FEOH - OE     08031173580001142916        Electric       Gov. Aggregation
AEP - OP      00140060730715034           Electric       Gov. Aggregation   FEOH - OE     08031201770000803040        Electric       Gov. Aggregation
AEP - OP      00140060730724042           Electric       Gov. Aggregation   FEOH - OE     08026878980001045650        Electric       Gov. Aggregation
AEP - OP      00140060730824144           Electric       Gov. Aggregation   FEOH - OE     08026917870001044658        Electric       Gov. Aggregation
AEP - OP      00140060730829474           Electric       Gov. Aggregation   FEOH - OE     08026936480001143307        Electric       Gov. Aggregation
AEP - OP      00140060730865971           Electric       Gov. Aggregation   FEOH - OE     08026942070001045687        Electric       Gov. Aggregation
AEP - OP      00140060730922430           Electric       Gov. Aggregation   FEOH - OE     08026943480001045705        Electric       Gov. Aggregation
AEP - OP      00140060730943122           Electric       Gov. Aggregation   FEOH - OE     08026948560001045782        Electric       Gov. Aggregation
AEP - OP      00140060731799073           Electric       Gov. Aggregation   FEOH - OE     08027004860001128422        Electric       Gov. Aggregation
AEP - OP      00140060731805080           Electric       Gov. Aggregation   FEOH - OE     08034513670000803809        Electric       Gov. Aggregation
AEP - OP      00140060731876183           Electric       Gov. Aggregation   FEOH - OE     08034515140001548645        Electric       Gov. Aggregation
AEP - OP      00140060731912681           Electric       Gov. Aggregation   FEOH - TE     08034595582120094246        Electric       Gov. Aggregation
AEP - OP      00140060731925061           Electric       Gov. Aggregation   FEOH - TE     08034607782850024806        Electric       Gov. Aggregation
AEP - OP      00140060731969130           Electric       Gov. Aggregation   FEOH - TE     08034638892560090612        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060732037381           Electric       Gov. Aggregation   FEOH - OE     08034716955000280256        Electric       Gov. Aggregation
AEP - OP      00140060719644104           Electric       Gov. Aggregation   FEOH - OE     08034754350001043668        Electric       Gov. Aggregation
AEP - OP      00140060719647233           Electric       Gov. Aggregation   FEOH - OE     08028040590001128612        Electric       Gov. Aggregation
AEP - OP      00140060719709160           Electric       Gov. Aggregation   FEOH - OE     08028040690001128614        Electric       Gov. Aggregation
AEP - OP      00140060719859203           Electric       Gov. Aggregation   FEOH - OE     08028043640001128674        Electric       Gov. Aggregation
AEP - OP      00140060720137171           Electric       Gov. Aggregation   FEOH - OE     08028044750001128696        Electric       Gov. Aggregation
AEP - OP      00140060720196655           Electric       Gov. Aggregation   FEOH - OE     08028121950001128853        Electric       Gov. Aggregation
AEP - OP      00140060720197291           Electric       Gov. Aggregation   FEOH - OE     08028122230001128861        Electric       Gov. Aggregation
AEP - OP      00140060727142644           Electric       Gov. Aggregation   FEOH - OE     08028122880001129981        Electric       Gov. Aggregation
AEP - OP      00140060727147684           Electric       Gov. Aggregation   FEOH - OE     08027206230001127879        Electric       Gov. Aggregation
AEP - OP      00140060727286602           Electric       Gov. Aggregation   FEOH - OE     08027206420001129383        Electric       Gov. Aggregation
AEP - OP      00140060727358881           Electric       Gov. Aggregation   FEOH - OE     08027207260001129462        Electric       Gov. Aggregation
AEP - OP      00140060727366781           Electric       Gov. Aggregation   FEOH - OE     08027207480001129397        Electric       Gov. Aggregation
AEP - OP      00140060727399544           Electric       Gov. Aggregation   FEOH - OE     08027207775000103159        Electric       Gov. Aggregation
AEP - OP      00140060727433414           Electric       Gov. Aggregation   FEOH - OE     08027208000001129403        Electric       Gov. Aggregation
AEP - OP      00140060731003991           Electric       Gov. Aggregation   FEOH - OE     08027208140001129405        Electric       Gov. Aggregation
AEP - OP      00140060731037225           Electric       Gov. Aggregation   FEOH - OE     08026926330001040490        Electric       Gov. Aggregation
AEP - OP      00140060731060351           Electric       Gov. Aggregation   FEOH - OE     08026936350001143305        Electric       Gov. Aggregation
AEP - OP      00140060731107395           Electric       Gov. Aggregation   FEOH - OE     08026936420001143306        Electric       Gov. Aggregation
AEP - OP      00140060731272883           Electric       Gov. Aggregation   FEOH - OE     08026940690001045672        Electric       Gov. Aggregation
AEP - OP      00140060731285250           Electric       Gov. Aggregation   FEOH - OE     08026941610001045681        Electric       Gov. Aggregation
AEP - OP      00140060731311141           Electric       Gov. Aggregation   FEOH - OE     08027009190001127514        Electric       Gov. Aggregation
AEP - OP      00140060727249820           Electric       Gov. Aggregation   FEOH - OE     08027043670001128353        Electric       Gov. Aggregation
AEP - OP      00140060727250925           Electric       Gov. Aggregation   FEOH - OE     08027005060001127458        Electric       Gov. Aggregation
AEP - OP      00140060727331773           Electric       Gov. Aggregation   FEOH - OE     08027013320001045850        Electric       Gov. Aggregation
AEP - OP      00140060727443592           Electric       Gov. Aggregation   FEOH - OE     08027017090001137944        Electric       Gov. Aggregation
AEP - OP      00140060727453864           Electric       Gov. Aggregation   FEOH - OE     08027064350001127593        Electric       Gov. Aggregation
AEP - OP      00140060727487584           Electric       Gov. Aggregation   FEOH - OE     08027066370001127620        Electric       Gov. Aggregation
AEP - OP      00140060727500623           Electric       Gov. Aggregation   FEOH - OE     08027081170001041797        Electric       Gov. Aggregation
AEP - OP      00140060732052582           Electric       Gov. Aggregation   FEOH - OE     08027083210001478055        Electric       Gov. Aggregation
AEP - OP      00140060732138004           Electric       Gov. Aggregation   FEOH - OE     08027236380001130714        Electric       Gov. Aggregation
AEP - OP      00140060732150042           Electric       Gov. Aggregation   FEOH - OE     08027260990001531102        Electric       Gov. Aggregation
AEP - OP      00140060732167700           Electric       Gov. Aggregation   FEOH - OE     08027261950001044450        Electric       Gov. Aggregation
AEP - OP      00140060732245465           Electric       Gov. Aggregation   FEOH - OE     08027263920001542617        Electric       Gov. Aggregation
AEP - OP      00140060732290245           Electric       Gov. Aggregation   FEOH - OE     08027266120001041304        Electric       Gov. Aggregation
AEP - OP      00140060732325810           Electric       Gov. Aggregation   FEOH - OE     08027272570001142207        Electric       Gov. Aggregation
AEP - OP      00140060719852940           Electric       Gov. Aggregation   FEOH - OE     08027275310001129418        Electric       Gov. Aggregation
AEP - OP      00140060720169693           Electric       Gov. Aggregation   FEOH - OE     08034810780000804225        Electric       Gov. Aggregation
AEP - OP      00140060720223805           Electric       Gov. Aggregation   FEOH - OE     08034826560000790726        Electric       Gov. Aggregation
AEP - OP      00140060720234322           Electric       Gov. Aggregation   FEOH - OE     08034845860001127973        Electric       Gov. Aggregation
AEP - OP      00140060720441704           Electric       Gov. Aggregation   FEOH - OE     08034861675000125806        Electric       Gov. Aggregation
AEP - OP      00140060720691053           Electric       Gov. Aggregation   FEOH - OE     08034862400000804202        Electric       Gov. Aggregation
AEP - OP      00140060720697643           Electric       Gov. Aggregation   FEOH - OE     08034871790001534734        Electric       Gov. Aggregation
AEP - OP      00140060720198003           Electric       Gov. Aggregation   FEOH - OE     08034874240001043407        Electric       Gov. Aggregation
AEP - OP      00140060720273370           Electric       Gov. Aggregation   FEOH - OE     08028123690001128897        Electric       Gov. Aggregation
AEP - OP      00140060720302893           Electric       Gov. Aggregation   FEOH - OE     08028124790001128924        Electric       Gov. Aggregation
AEP - OP      00140060720383384           Electric       Gov. Aggregation   FEOH - OE     08028126290001128958        Electric       Gov. Aggregation
AEP - OP      00140060720405580           Electric       Gov. Aggregation   FEOH - OE     08028126700001128967        Electric       Gov. Aggregation
AEP - OP      00140060720455531           Electric       Gov. Aggregation   FEOH - OE     08028127090001129025        Electric       Gov. Aggregation
AEP - OP      00140060720017264           Electric       Gov. Aggregation   FEOH - OE     08028191880001127789        Electric       Gov. Aggregation
AEP - OP      00140060720034830           Electric       Gov. Aggregation   FEOH - OE     08028266770001142291        Electric       Gov. Aggregation
AEP - OP      00140060720269000           Electric       Gov. Aggregation   FEOH - OE     08031223765001455885        Electric       Gov. Aggregation
AEP - OP      00140060720429702           Electric       Gov. Aggregation   FEOH - OE     08031246170000803666        Electric       Gov. Aggregation
AEP - OP      00140060720474381           Electric       Gov. Aggregation   FEOH - OE     08031374850000786843        Electric       Gov. Aggregation
AEP - OP      00140060720606134           Electric       Gov. Aggregation   FEOH - OE     08031384780000804594        Electric       Gov. Aggregation
AEP - OP      00140060720782160           Electric       Gov. Aggregation   FEOH - OE     08031392690001313302        Electric       Gov. Aggregation
AEP - OP      00140060726551323           Electric       Gov. Aggregation   FEOH - OE     08031393600001130319        Electric       Gov. Aggregation
AEP - OP      00140060726597883           Electric       Gov. Aggregation   FEOH - OE     08027062690001127865        Electric       Gov. Aggregation
AEP - OP      00140060726722932           Electric       Gov. Aggregation   FEOH - OE     08027063530001127573        Electric       Gov. Aggregation
AEP - OP      00140060726770493           Electric       Gov. Aggregation   FEOH - OE     08027065700001127551        Electric       Gov. Aggregation
AEP - OP      00140060726808940           Electric       Gov. Aggregation   FEOH - OE     08027066940001142242        Electric       Gov. Aggregation
AEP - OP      00140060726884773           Electric       Gov. Aggregation   FEOH - OE     08027069370001127658        Electric       Gov. Aggregation
AEP - OP      00140060727605344           Electric       Gov. Aggregation   FEOH - OE     08027086630001045780        Electric       Gov. Aggregation
AEP - OP      00140060727698143           Electric       Gov. Aggregation   FEOH - OE     08027087140001041808        Electric       Gov. Aggregation
AEP - OP      00140060727833443           Electric       Gov. Aggregation   FEOH - OE     08027096390001130745        Electric       Gov. Aggregation
AEP - OP      00140060727920165           Electric       Gov. Aggregation   FEOH - OE     08027132490001127700        Electric       Gov. Aggregation
AEP - OP      00140060727986554           Electric       Gov. Aggregation   FEOH - OE     08027135060001129380        Electric       Gov. Aggregation
AEP - OP      00140060728029131           Electric       Gov. Aggregation   FEOH - OE     08027135670001127745        Electric       Gov. Aggregation
AEP - OP      00140060727673222           Electric       Gov. Aggregation   FEOH - OE     08027157170001143352        Electric       Gov. Aggregation
AEP - OP      00140060727719762           Electric       Gov. Aggregation   FEOH - OE     08027158850001130582        Electric       Gov. Aggregation
AEP - OP      00140060727730431           Electric       Gov. Aggregation   FEOH - OE     08027200800001127809        Electric       Gov. Aggregation
AEP - OP      00140060727747153           Electric       Gov. Aggregation   FEOH - OE     08027275840001130200        Electric       Gov. Aggregation
AEP - OP      00140060727873480           Electric       Gov. Aggregation   FEOH - OE     08027278290001128348        Electric       Gov. Aggregation
AEP - OP      00140060727902280           Electric       Gov. Aggregation   FEOH - OE     08027280730001129937        Electric       Gov. Aggregation
AEP - OP      00140060727987011           Electric       Gov. Aggregation   FEOH - OE     08027308095001489169        Electric       Gov. Aggregation
AEP - OP      00140060720502685           Electric       Gov. Aggregation   FEOH - OE     08027321840001040681        Electric       Gov. Aggregation
AEP - OP      00140060720551961           Electric       Gov. Aggregation   FEOH - OE     08027330930001045047        Electric       Gov. Aggregation
AEP - OP      00140060720627164           Electric       Gov. Aggregation   FEOH - OE     08027334970001045128        Electric       Gov. Aggregation
AEP - OP      00140060720655694           Electric       Gov. Aggregation   FEOH - OE     08035124400000766116        Electric       Gov. Aggregation
AEP - OP      00140060720726041           Electric       Gov. Aggregation   FEOH - OE     08035314530000803545        Electric       Gov. Aggregation
AEP - OP      00140060726935130           Electric       Gov. Aggregation   FEOH - OE     08035448830000186436        Electric       Gov. Aggregation
AEP - OP      00140060726936444           Electric       Gov. Aggregation   FEOH - OE     08035497060001130937        Electric       Gov. Aggregation
AEP - OP      00140060726972764           Electric       Gov. Aggregation   FEOH - OE     08035152010001411450        Electric       Gov. Aggregation
AEP - OP      00140060727025601           Electric       Gov. Aggregation   FEOH - OE     08035183430000790435        Electric       Gov. Aggregation
AEP - OP      00140060727046290           Electric       Gov. Aggregation   FEOH - TE     08035250832850019686        Electric       Gov. Aggregation
AEP - OP      00140060727070934           Electric       Gov. Aggregation   FEOH - OE     08035258090001519962        Electric       Gov. Aggregation
AEP - OP      00140060727173980           Electric       Gov. Aggregation   FEOH - OE     08035270420001041616        Electric       Gov. Aggregation
AEP - OP      00140060720771952           Electric       Gov. Aggregation   FEOH - OE     08035395320000778531        Electric       Gov. Aggregation
AEP - OP      00140060720836123           Electric       Gov. Aggregation   FEOH - TE     08035605022850022604        Electric       Gov. Aggregation
AEP - OP      00140060720926694           Electric       Gov. Aggregation   FEOH - TE     08035719232600003805        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060720975792           Electric       Gov. Aggregation   FEOH - OE     08035769600000786382        Electric       Gov. Aggregation
AEP - OP      00140060721022464           Electric       Gov. Aggregation   FEOH - OE     08035920990000603628        Electric       Gov. Aggregation
AEP - OP      00140060721199080           Electric       Gov. Aggregation   FEOH - TE     08035964782770020547        Electric       Gov. Aggregation
AEP - OP      00140060721337901           Electric       Gov. Aggregation   FEOH - OE     08035981800000790317        Electric       Gov. Aggregation
AEP - OP      00140060728043812           Electric       Gov. Aggregation   FEOH - OE     08036056150001538788        Electric       Gov. Aggregation
AEP - OP      00140060728206524           Electric       Gov. Aggregation   FEOH - TE     08035418742210012394        Electric       Gov. Aggregation
AEP - OP      00140060728424963           Electric       Gov. Aggregation   FEOH - OE     08035512450000792334        Electric       Gov. Aggregation
AEP - OP      00140060728496513           Electric       Gov. Aggregation   FEOH - TE     08035770212900007730        Electric       Gov. Aggregation
AEP - OP      00140060728586684           Electric       Gov. Aggregation   FEOH - OE     08035794220000778248        Electric       Gov. Aggregation
AEP - OP      00140060728610603           Electric       Gov. Aggregation   FEOH - OE     08035819880000802944        Electric       Gov. Aggregation
AEP - OP      00140060728622500           Electric       Gov. Aggregation   FEOH - TE     08035857562680021841        Electric       Gov. Aggregation
AEP - OP      00140060728052301           Electric       Gov. Aggregation   FEOH - OE     08034879080001044621        Electric       Gov. Aggregation
AEP - OP      00140060728192483           Electric       Gov. Aggregation   FEOH - OE     08034930750000778745        Electric       Gov. Aggregation
AEP - OP      00140060728208435           Electric       Gov. Aggregation   FEOH - OE     08034977960000786860        Electric       Gov. Aggregation
AEP - OP      00140060728311354           Electric       Gov. Aggregation   FEOH - OE     08034987980000778134        Electric       Gov. Aggregation
AEP - OP      00140060728321510           Electric       Gov. Aggregation   FEOH - OE     08034990740001040575        Electric       Gov. Aggregation
AEP - OP      00140060728421881           Electric       Gov. Aggregation   FEOH - TE     08035046342600008526        Electric       Gov. Aggregation
AEP - OP      00140060728511734           Electric       Gov. Aggregation   FEOH - OE     08028369480001336303        Electric       Gov. Aggregation
AEP - OP      00140060731315940           Electric       Gov. Aggregation   FEOH - OE     08028376750000168784        Electric       Gov. Aggregation
AEP - OP      00140060731324713           Electric       Gov. Aggregation   FEOH - OE     08028719675000074781        Electric       Gov. Aggregation
AEP - OP      00140060731469662           Electric       Gov. Aggregation   FEOH - OE     08031401170000770528        Electric       Gov. Aggregation
AEP - OP      00140060731489731           Electric       Gov. Aggregation   FEOH - TE     08031415625000276344        Electric       Gov. Aggregation
AEP - OP      00140060731670223           Electric       Gov. Aggregation   FEOH - OE     08031417040000766141        Electric       Gov. Aggregation
AEP - OP      00140060731879265           Electric       Gov. Aggregation   FEOH - OE     08031435890001129337        Electric       Gov. Aggregation
AEP - OP      00140060731916440           Electric       Gov. Aggregation   FEOH - OE     08031448300000780142        Electric       Gov. Aggregation
AEP - OP      00140060720819263           Electric       Gov. Aggregation   FEOH - OE     08031488400001142886        Electric       Gov. Aggregation
AEP - OP      00140060720830404           Electric       Gov. Aggregation   FEOH - OE     08027087900001041812        Electric       Gov. Aggregation
AEP - OP      00140060720905585           Electric       Gov. Aggregation   FEOH - OE     08027098420001142949        Electric       Gov. Aggregation
AEP - OP      00140060720945895           Electric       Gov. Aggregation   FEOH - OE     08027135830001129320        Electric       Gov. Aggregation
AEP - OP      00140060720954352           Electric       Gov. Aggregation   FEOH - OE     08027136730001127761        Electric       Gov. Aggregation
AEP - OP      00140060720960990           Electric       Gov. Aggregation   FEOH - OE     08027139370001128769        Electric       Gov. Aggregation
AEP - OP      00140060721122233           Electric       Gov. Aggregation   FEOH - OE     08027152470001041816        Electric       Gov. Aggregation
AEP - OP      00140060732413373           Electric       Gov. Aggregation   FEOH - OE     08027167710001142794        Electric       Gov. Aggregation
AEP - OP      00140060732443305           Electric       Gov. Aggregation   FEOH - OE     08035866510001454288        Electric       Gov. Aggregation
AEP - OP      00140060732639564           Electric       Gov. Aggregation   FEOH - OE     08035871660000804525        Electric       Gov. Aggregation
AEP - OP      00140060732707033           Electric       Gov. Aggregation   FEOH - OE     08035877590000168252        Electric       Gov. Aggregation
AEP - OP      00140060732758681           Electric       Gov. Aggregation   FEOH - OE     08035889390001043576        Electric       Gov. Aggregation
AEP - OP      00140060732831020           Electric       Gov. Aggregation   FEOH - TE     08035958242770019642        Electric       Gov. Aggregation
AEP - OP      00140060732837520           Electric       Gov. Aggregation   FEOH - OE     08036163020001044503        Electric       Gov. Aggregation
AEP - OP      00140060727295813           Electric       Gov. Aggregation   FEOH - TE     08036210072210015137        Electric       Gov. Aggregation
AEP - OP      00140060727410273           Electric       Gov. Aggregation   FEOH - OE     08031501190000790949        Electric       Gov. Aggregation
AEP - OP      00140060727435775           Electric       Gov. Aggregation   FEOH - OE     08031550520000790201        Electric       Gov. Aggregation
AEP - OP      00140060727692435           Electric       Gov. Aggregation   FEOH - TE     08031586982850023325        Electric       Gov. Aggregation
AEP - OP      00140060727796950           Electric       Gov. Aggregation   FEOH - TE     08031669842030031555        Electric       Gov. Aggregation
AEP - OP      00140060720727542           Electric       Gov. Aggregation   FEOH - OE     08031684220000803442        Electric       Gov. Aggregation
AEP - OP      00140060720906711           Electric       Gov. Aggregation   FEOH - OE     08031710675000184393        Electric       Gov. Aggregation
AEP - OP      00140060720990270           Electric       Gov. Aggregation   FEOH - OE     08031868695000193475        Electric       Gov. Aggregation
AEP - OP      00140060721010971           Electric       Gov. Aggregation   FEOH - OE     08027204950001143297        Electric       Gov. Aggregation
AEP - OP      00140060721045084           Electric       Gov. Aggregation   FEOH - OE     08027205480001129504        Electric       Gov. Aggregation
AEP - OP      00140060721113991           Electric       Gov. Aggregation   FEOH - OE     08027206410001127881        Electric       Gov. Aggregation
AEP - OP      00140060728702210           Electric       Gov. Aggregation   FEOH - OE     08027206930001127889        Electric       Gov. Aggregation
AEP - OP      00140060728727770           Electric       Gov. Aggregation   FEOH - OE     08027207775000204576        Electric       Gov. Aggregation
AEP - OP      00140060728737755           Electric       Gov. Aggregation   FEOH - OE     08027211720001128843        Electric       Gov. Aggregation
AEP - OP      00140060728746350           Electric       Gov. Aggregation   FEOH - OE     08027264590001557571        Electric       Gov. Aggregation
AEP - OP      00140060728751935           Electric       Gov. Aggregation   FEOH - OE     08027188500001130816        Electric       Gov. Aggregation
AEP - OP      00140060728837483           Electric       Gov. Aggregation   FEOH - OE     08027191710001509877        Electric       Gov. Aggregation
AEP - OP      00140060721400193           Electric       Gov. Aggregation   FEOH - OE     08027192620001528187        Electric       Gov. Aggregation
AEP - OP      00140060721456281           Electric       Gov. Aggregation   FEOH - OE     08027200130001127896        Electric       Gov. Aggregation
AEP - OP      00140060721484722           Electric       Gov. Aggregation   FEOH - OE     08027202510001127835        Electric       Gov. Aggregation
AEP - OP      00140060721490475           Electric       Gov. Aggregation   FEOH - OE     08027206080001127877        Electric       Gov. Aggregation
AEP - OP      00140060721554930           Electric       Gov. Aggregation   FEOH - OE     08027206340001127880        Electric       Gov. Aggregation
AEP - OP      00140060721602182           Electric       Gov. Aggregation   FEOH - TE     08035081245000289911        Electric       Gov. Aggregation
AEP - OP      00140060721718120           Electric       Gov. Aggregation   FEOH - OE     08035123865000194128        Electric       Gov. Aggregation
AEP - OP      00140060728553391           Electric       Gov. Aggregation   FEOH - TE     08035152732050091511        Electric       Gov. Aggregation
AEP - OP      00140060728658150           Electric       Gov. Aggregation   FEOH - OE     08035204230000791106        Electric       Gov. Aggregation
AEP - OP      00140060728809490           Electric       Gov. Aggregation   FEOH - OE     08035223540001129558        Electric       Gov. Aggregation
AEP - OP      00140060728813483           Electric       Gov. Aggregation   FEOH - TE     08035273562080022206        Electric       Gov. Aggregation
AEP - OP      00140060728871714           Electric       Gov. Aggregation   FEOH - OE     08035301000001367708        Electric       Gov. Aggregation
AEP - OP      00140060729059712           Electric       Gov. Aggregation   FEOH - OE     08028802595000078244        Electric       Gov. Aggregation
AEP - OP      00140060732013921           Electric       Gov. Aggregation   FEOH - TE     08028915363000002177        Electric       Gov. Aggregation
AEP - OP      00140060732033133           Electric       Gov. Aggregation   FEOH - OE     08028916720001564340        Electric       Gov. Aggregation
AEP - OP      00140060732058185           Electric       Gov. Aggregation   FEOH - OE     08028935330001427312        Electric       Gov. Aggregation
AEP - OP      00140060732087663           Electric       Gov. Aggregation   FEOH - OE     08029182240001129309        Electric       Gov. Aggregation
AEP - OP      00140060732090022           Electric       Gov. Aggregation   FEOH - OE     08029198460000784426        Electric       Gov. Aggregation
AEP - OP      00140060732228384           Electric       Gov. Aggregation   FEOH - OE     08027337450001045160        Electric       Gov. Aggregation
AEP - OP      00140060721132474           Electric       Gov. Aggregation   FEOH - OE     08027339460001045186        Electric       Gov. Aggregation
AEP - OP      00140060721213464           Electric       Gov. Aggregation   FEOH - OE     08027340740001128167        Electric       Gov. Aggregation
AEP - OP      00140060721219114           Electric       Gov. Aggregation   FEOH - OE     08027345860001130336        Electric       Gov. Aggregation
AEP - OP      00140060721225920           Electric       Gov. Aggregation   FEOH - OE     08027346240001130341        Electric       Gov. Aggregation
AEP - OP      00140060721312682           Electric       Gov. Aggregation   FEOH - OE     08027358140001041840        Electric       Gov. Aggregation
AEP - OP      00140060721440411           Electric       Gov. Aggregation   FEOH - OE     08027398720001041475        Electric       Gov. Aggregation
AEP - OP      00140060721453792           Electric       Gov. Aggregation   FEOH - TE     08036364622380033257        Electric       Gov. Aggregation
AEP - OP      00140060732900445           Electric       Gov. Aggregation   FEOH - OE     08036432230001335335        Electric       Gov. Aggregation
AEP - OP      00140060732954464           Electric       Gov. Aggregation   FEOH - OE     08036482930001128633        Electric       Gov. Aggregation
AEP - OP      00140060733000372           Electric       Gov. Aggregation   FEOH - OE     08036488125000225700        Electric       Gov. Aggregation
AEP - OP      00140060733156821           Electric       Gov. Aggregation   FEOH - OE     08036601360001128373        Electric       Gov. Aggregation
AEP - OP      00140060733241525           Electric       Gov. Aggregation   FEOH - OE     08036707720001366382        Electric       Gov. Aggregation
AEP - OP      00140060733250075           Electric       Gov. Aggregation   FEOH - OE     08036832480000805525        Electric       Gov. Aggregation
AEP - OP      00140060721256565           Electric       Gov. Aggregation   FEOH - OE     08036129020000804438        Electric       Gov. Aggregation
AEP - OP      00140060721337624           Electric       Gov. Aggregation   FEOH - OE     08036143630001571842        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060721479424           Electric       Gov. Aggregation   FEOH - OE     08036189170000791031        Electric       Gov. Aggregation
AEP - OP      00140060721498214           Electric       Gov. Aggregation   FEOH - OE     08036231380000806095        Electric       Gov. Aggregation
AEP - OP      00140060721510844           Electric       Gov. Aggregation   FEOH - OE     08036259810001131050        Electric       Gov. Aggregation
AEP - OP      00140060721545594           Electric       Gov. Aggregation   FEOH - OE     08036262950000849800        Electric       Gov. Aggregation
AEP - OP      00140060721603711           Electric       Gov. Aggregation   FEOH - OE     08032018300001568359        Electric       Gov. Aggregation
AEP - OP      00140060727848253           Electric       Gov. Aggregation   FEOH - OE     08032075745000158209        Electric       Gov. Aggregation
AEP - OP      00140060727893715           Electric       Gov. Aggregation   FEOH - OE     08032214290000789005        Electric       Gov. Aggregation
AEP - OP      00140060727930394           Electric       Gov. Aggregation   FEOH - TE     08032249062080022826        Electric       Gov. Aggregation
AEP - OP      00140060727949001           Electric       Gov. Aggregation   FEOH - OE     08032287000000584005        Electric       Gov. Aggregation
AEP - OP      00140060727966421           Electric       Gov. Aggregation   FEOH - OE     08027275000001142481        Electric       Gov. Aggregation
AEP - OP      00140060728039600           Electric       Gov. Aggregation   FEOH - OE     08027276470001130207        Electric       Gov. Aggregation
AEP - OP      00140060728105221           Electric       Gov. Aggregation   FEOH - OE     08027303830001128644        Electric       Gov. Aggregation
AEP - OP      00140060728970290           Electric       Gov. Aggregation   FEOH - OE     08027330600001045028        Electric       Gov. Aggregation
AEP - OP      00140060729015062           Electric       Gov. Aggregation   FEOH - OE     08027339580001045188        Electric       Gov. Aggregation
AEP - OP      00140060729225283           Electric       Gov. Aggregation   FEOH - OE     08027341220001130274        Electric       Gov. Aggregation
AEP - OP      00140060729305004           Electric       Gov. Aggregation   FEOH - OE     08027341620001130281        Electric       Gov. Aggregation
AEP - OP      00140060729779145           Electric       Gov. Aggregation   FEOH - OE     08027207100001129392        Electric       Gov. Aggregation
AEP - OP      00140060732328453           Electric       Gov. Aggregation   FEOH - OE     08027212880001138276        Electric       Gov. Aggregation
AEP - OP      00140060732347623           Electric       Gov. Aggregation   FEOH - OE     08027267430001041372        Electric       Gov. Aggregation
AEP - OP      00140060732496420           Electric       Gov. Aggregation   FEOH - OE     08027275910001130201        Electric       Gov. Aggregation
AEP - OP      00140060732630171           Electric       Gov. Aggregation   FEOH - OE     08027277390001130220        Electric       Gov. Aggregation
AEP - OP      00140060732788383           Electric       Gov. Aggregation   FEOH - OE     08027279260001130246        Electric       Gov. Aggregation
AEP - OP      00140060733341600           Electric       Gov. Aggregation   FEOH - OE     08035360770001142792        Electric       Gov. Aggregation
AEP - OP      00140060733344705           Electric       Gov. Aggregation   FEOH - TE     08035374582170014316        Electric       Gov. Aggregation
AEP - OP      00140060733406583           Electric       Gov. Aggregation   FEOH - OE     08035519730001584296        Electric       Gov. Aggregation
AEP - OP      00140060733447023           Electric       Gov. Aggregation   FEOH - OE     08035556140001131058        Electric       Gov. Aggregation
AEP - OP      00140060733574984           Electric       Gov. Aggregation   FEOH - OE     08035576070001540639        Electric       Gov. Aggregation
AEP - OP      00140060733595730           Electric       Gov. Aggregation   FEOH - OE     08027411150001130410        Electric       Gov. Aggregation
AEP - OP      00140060733688830           Electric       Gov. Aggregation   FEOH - OE     08027412840001130434        Electric       Gov. Aggregation
AEP - OP      00140060733750413           Electric       Gov. Aggregation   FEOH - OE     08027414850001130465        Electric       Gov. Aggregation
AEP - OP      00140060721479552           Electric       Gov. Aggregation   FEOH - OE     08027416760001130496        Electric       Gov. Aggregation
AEP - OP      00140060721550592           Electric       Gov. Aggregation   FEOH - OE     08027417370001142872        Electric       Gov. Aggregation
AEP - OP      00140060721707300           Electric       Gov. Aggregation   FEOH - OE     08027418010001142881        Electric       Gov. Aggregation
AEP - OP      00140060721780164           Electric       Gov. Aggregation   FEOH - OE     08027418680001130919        Electric       Gov. Aggregation
AEP - OP      00140060721781165           Electric       Gov. Aggregation   FEOH - OE     08036918920000803549        Electric       Gov. Aggregation
AEP - OP      00140060721896523           Electric       Gov. Aggregation   FEOH - TE     08037040642900005749        Electric       Gov. Aggregation
AEP - OP      00140060721898723           Electric       Gov. Aggregation   FEOH - OE     08037045090001143214        Electric       Gov. Aggregation
AEP - OP      00140060728144414           Electric       Gov. Aggregation   FEOH - TE     08037071032390001207        Electric       Gov. Aggregation
AEP - OP      00140060728166552           Electric       Gov. Aggregation   FEOH - OE     08037085080001427328        Electric       Gov. Aggregation
AEP - OP      00140060728168651           Electric       Gov. Aggregation   FEOH - OE     08037157900000186777        Electric       Gov. Aggregation
AEP - OP      00140060728170821           Electric       Gov. Aggregation   FEOH - OE     08037160150001128092        Electric       Gov. Aggregation
AEP - OP      00140060728208194           Electric       Gov. Aggregation   FEOH - OE     08029446470001127724        Electric       Gov. Aggregation
AEP - OP      00140060728285185           Electric       Gov. Aggregation   FEOH - OE     08029463410001142366        Electric       Gov. Aggregation
AEP - OP      00140060728304325           Electric       Gov. Aggregation   FEOH - OE     08029500950000791118        Electric       Gov. Aggregation
AEP - OP      00140060721649145           Electric       Gov. Aggregation   FEOH - OE     08029525910000803709        Electric       Gov. Aggregation
AEP - OP      00140060721718561           Electric       Gov. Aggregation   FEOH - TE     08029616292600004122        Electric       Gov. Aggregation
AEP - OP      00140060721837323           Electric       Gov. Aggregation   FEOH - OE     08036263100000791269        Electric       Gov. Aggregation
AEP - OP      00140060721895885           Electric       Gov. Aggregation   FEOH - OE     08036324585000086395        Electric       Gov. Aggregation
AEP - OP      00140060721966155           Electric       Gov. Aggregation   FEOH - TE     08036421272650091154        Electric       Gov. Aggregation
AEP - OP      00140060722099394           Electric       Gov. Aggregation   FEOH - TE     08036490482170013066        Electric       Gov. Aggregation
AEP - OP      00140060722103360           Electric       Gov. Aggregation   FEOH - OE     08036583190001543867        Electric       Gov. Aggregation
AEP - OP      00140060721882263           Electric       Gov. Aggregation   FEOH - OE     08036596680000806100        Electric       Gov. Aggregation
AEP - OP      00140060721908603           Electric       Gov. Aggregation   FEOH - OE     08032308290001128694        Electric       Gov. Aggregation
AEP - OP      00140060721980442           Electric       Gov. Aggregation   FEOH - OE     08032428990000187247        Electric       Gov. Aggregation
AEP - OP      00140060722108382           Electric       Gov. Aggregation   FEOH - OE     08032515370001042237        Electric       Gov. Aggregation
AEP - OP      00140060722130610           Electric       Gov. Aggregation   FEOH - TE     08032534152850022924        Electric       Gov. Aggregation
AEP - OP      00140060722174293           Electric       Gov. Aggregation   FEOH - OE     08032556920001129415        Electric       Gov. Aggregation
AEP - OP      00140060722235292           Electric       Gov. Aggregation   FEOH - OE     08032652455000122738        Electric       Gov. Aggregation
AEP - OP      00140060730140195           Electric       Gov. Aggregation   FEOH - TE     08032655642680022933        Electric       Gov. Aggregation
AEP - OP      00140060730408621           Electric       Gov. Aggregation   FEOH - OE     08027345440001130330        Electric       Gov. Aggregation
AEP - OP      00140060730428201           Electric       Gov. Aggregation   FEOH - OE     08027346590001130345        Electric       Gov. Aggregation
AEP - OP      00140060730565932           Electric       Gov. Aggregation   FEOH - OE     08027347090001130222        Electric       Gov. Aggregation
AEP - OP      00140060730739275           Electric       Gov. Aggregation   FEOH - OE     08027351580001046484        Electric       Gov. Aggregation
AEP - OP      00140060730803373           Electric       Gov. Aggregation   FEOH - OE     08027391520001040634        Electric       Gov. Aggregation
AEP - OP      00140060732855953           Electric       Gov. Aggregation   FEOH - OE     08027394000001041413        Electric       Gov. Aggregation
AEP - OP      00140060732901731           Electric       Gov. Aggregation   FEOH - OE     08027398680001041474        Electric       Gov. Aggregation
AEP - OP      00140060732919304           Electric       Gov. Aggregation   FEOH - TE     08035770472030031841        Electric       Gov. Aggregation
AEP - OP      00140060733006415           Electric       Gov. Aggregation   FEOH - OE     08035841740001371733        Electric       Gov. Aggregation
AEP - OP      00140060733064712           Electric       Gov. Aggregation   FEOH - TE     08035869792680021522        Electric       Gov. Aggregation
AEP - OP      00140060733085774           Electric       Gov. Aggregation   FEOH - OE     08035899840000778528        Electric       Gov. Aggregation
AEP - OP      00140060733398964           Electric       Gov. Aggregation   FEOH - TE     08035958242300030386        Electric       Gov. Aggregation
AEP - OP      00140060728339634           Electric       Gov. Aggregation   FEOH - OE     08035999950001350660        Electric       Gov. Aggregation
AEP - OP      00140060728396414           Electric       Gov. Aggregation   FEOH - OE     08027334560001045120        Electric       Gov. Aggregation
AEP - OP      00140060728523954           Electric       Gov. Aggregation   FEOH - OE     08027337840001044069        Electric       Gov. Aggregation
AEP - OP      00140060728571314           Electric       Gov. Aggregation   FEOH - OE     08027338280001045171        Electric       Gov. Aggregation
AEP - OP      00140060728617140           Electric       Gov. Aggregation   FEOH - OE     08027340860001130269        Electric       Gov. Aggregation
AEP - OP      00140060728750044           Electric       Gov. Aggregation   FEOH - OE     08027343510001130303        Electric       Gov. Aggregation
AEP - OP      00140060729084394           Electric       Gov. Aggregation   FEOH - OE     08027344760001128013        Electric       Gov. Aggregation
AEP - OP      00140060729142804           Electric       Gov. Aggregation   FEOH - OE     08027346720001142732        Electric       Gov. Aggregation
AEP - OP      00140060729209300           Electric       Gov. Aggregation   FEOH - OE     08037174770000762732        Electric       Gov. Aggregation
AEP - OP      00140060729221895           Electric       Gov. Aggregation   FEOH - OE     08037251260001129660        Electric       Gov. Aggregation
AEP - OP      00140060729235532           Electric       Gov. Aggregation   FEOH - OE     08037367130001130047        Electric       Gov. Aggregation
AEP - OP      00140060729253662           Electric       Gov. Aggregation   FEOH - TE     08037441122300026820        Electric       Gov. Aggregation
AEP - OP      00140060729294703           Electric       Gov. Aggregation   FEOH - OE     08037459570000603680        Electric       Gov. Aggregation
AEP - OP      00140060728951272           Electric       Gov. Aggregation   FEOH - OE     08037498470000791164        Electric       Gov. Aggregation
AEP - OP      00140060729008554           Electric       Gov. Aggregation   FEOH - OE     08029637620000603835        Electric       Gov. Aggregation
AEP - OP      00140060729022694           Electric       Gov. Aggregation   FEOH - OE     08029705840000786310        Electric       Gov. Aggregation
AEP - OP      00140060729049072           Electric       Gov. Aggregation   FEOH - OE     08029751000001044049        Electric       Gov. Aggregation
AEP - OP      00140060729231473           Electric       Gov. Aggregation   FEOH - OE     08029833870001040602        Electric       Gov. Aggregation
AEP - OP      00140060729266063           Electric       Gov. Aggregation   FEOH - OE     08029907510000804282        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060733756281           Electric       Gov. Aggregation   FEOH - OE     08029970510000780137        Electric       Gov. Aggregation
AEP - OP      00140060733797352           Electric       Gov. Aggregation   FEOH - OE     08027423950001043399        Electric       Gov. Aggregation
AEP - OP      00140060733921713           Electric       Gov. Aggregation   FEOH - OE     08027426070001043431        Electric       Gov. Aggregation
AEP - OP      00140060733978550           Electric       Gov. Aggregation   FEOH - OE     08027428140001043462        Electric       Gov. Aggregation
AEP - OP      00140060733978840           Electric       Gov. Aggregation   FEOH - OE     08027461390001041515        Electric       Gov. Aggregation
AEP - OP      00140060733984263           Electric       Gov. Aggregation   FEOH - OE     08027467120001043389        Electric       Gov. Aggregation
AEP - OP      00140060733988552           Electric       Gov. Aggregation   FEOH - OE     08027467510001041609        Electric       Gov. Aggregation
AEP - OP      00140060729376264           Electric       Gov. Aggregation   FEOH - OE     08027480640001142915        Electric       Gov. Aggregation
AEP - OP      00140060729572130           Electric       Gov. Aggregation   FEOH - TE     08036629542680023298        Electric       Gov. Aggregation
AEP - OP      00140060729645371           Electric       Gov. Aggregation   FEOH - TE     08036739482900005716        Electric       Gov. Aggregation
AEP - OP      00140060729685462           Electric       Gov. Aggregation   FEOH - OE     08036759315000326058        Electric       Gov. Aggregation
AEP - OP      00140060729734324           Electric       Gov. Aggregation   FEOH - OE     08036774180000784288        Electric       Gov. Aggregation
AEP - OP      00140060729753932           Electric       Gov. Aggregation   FEOH - OE     08036813610001129329        Electric       Gov. Aggregation
AEP - OP      00140060729973620           Electric       Gov. Aggregation   FEOH - OE     08036837060001392841        Electric       Gov. Aggregation
AEP - OP      00140060729482551           Electric       Gov. Aggregation   FEOH - OE     08036853120000168316        Electric       Gov. Aggregation
AEP - OP      00140060729485150           Electric       Gov. Aggregation   FEOH - OE     08027410160001142785        Electric       Gov. Aggregation
AEP - OP      00140060729509115           Electric       Gov. Aggregation   FEOH - OE     08027410210001130396        Electric       Gov. Aggregation
AEP - OP      00140060729546373           Electric       Gov. Aggregation   FEOH - OE     08027410590001130401        Electric       Gov. Aggregation
AEP - OP      00140060729601173           Electric       Gov. Aggregation   FEOH - OE     08027411610001142802        Electric       Gov. Aggregation
AEP - OP      00140060729636371           Electric       Gov. Aggregation   FEOH - OE     08027414640001142837        Electric       Gov. Aggregation
AEP - OP      00140060729779493           Electric       Gov. Aggregation   FEOH - OE     08027417470001130505        Electric       Gov. Aggregation
AEP - OP      00140060730804751           Electric       Gov. Aggregation   FEOH - OE     08027418540001142888        Electric       Gov. Aggregation
AEP - OP      00140060730863142           Electric       Gov. Aggregation   FEOH - OE     08032703410001041677        Electric       Gov. Aggregation
AEP - OP      00140060730972361           Electric       Gov. Aggregation   FEOH - OE     08032760670000765679        Electric       Gov. Aggregation
AEP - OP      00140060731057255           Electric       Gov. Aggregation   FEOH - OE     08032769880001128768        Electric       Gov. Aggregation
AEP - OP      00140060731080945           Electric       Gov. Aggregation   FEOH - OE     08032775650001041460        Electric       Gov. Aggregation
AEP - OP      00140060731101445           Electric       Gov. Aggregation   FEOH - TE     08032880452390001724        Electric       Gov. Aggregation
AEP - OP      00140060731179834           Electric       Gov. Aggregation   FEOH - TE     08032884362080027989        Electric       Gov. Aggregation
AEP - OP      00140060722000294           Electric       Gov. Aggregation   FEOH - OE     08032889540000792601        Electric       Gov. Aggregation
AEP - OP      00140060722069715           Electric       Gov. Aggregation   FEOH - OE     08036069035000300444        Electric       Gov. Aggregation
AEP - OP      00140060722090034           Electric       Gov. Aggregation   FEOH - OE     08036091300000777857        Electric       Gov. Aggregation
AEP - OP      00140060722115242           Electric       Gov. Aggregation   FEOH - OE     08036097940000776740        Electric       Gov. Aggregation
AEP - OP      00140060722166485           Electric       Gov. Aggregation   FEOH - OE     08036111635001390542        Electric       Gov. Aggregation
AEP - OP      00140060722241652           Electric       Gov. Aggregation   FEOH - TE     08036121125000207720        Electric       Gov. Aggregation
AEP - OP      00140060722272804           Electric       Gov. Aggregation   FEOH - OE     08036217580000790670        Electric       Gov. Aggregation
AEP - OP      00140060722509614           Electric       Gov. Aggregation   FEOH - OE     08030048050000604228        Electric       Gov. Aggregation
AEP - OP      00140060722512222           Electric       Gov. Aggregation   FEOH - OE     08030055330000784776        Electric       Gov. Aggregation
AEP - OP      00140060722528271           Electric       Gov. Aggregation   FEOH - OE     08030129065000126185        Electric       Gov. Aggregation
AEP - OP      00140060722562702           Electric       Gov. Aggregation   FEOH - OE     08030193690000778227        Electric       Gov. Aggregation
AEP - OP      00140060722875114           Electric       Gov. Aggregation   FEOH - OE     08030235970000177897        Electric       Gov. Aggregation
AEP - OP      00140060722921785           Electric       Gov. Aggregation   FEOH - OE     08027481580001142928        Electric       Gov. Aggregation
AEP - OP      00140060722217364           Electric       Gov. Aggregation   FEOH - OE     08027481970001142933        Electric       Gov. Aggregation
AEP - OP      00140060722273533           Electric       Gov. Aggregation   FEOH - OE     08027484600001131087        Electric       Gov. Aggregation
AEP - OP      00140060722301105           Electric       Gov. Aggregation   FEOH - OE     08027487730001143020        Electric       Gov. Aggregation
AEP - OP      00140060722389124           Electric       Gov. Aggregation   FEOH - OE     08027487880001143021        Electric       Gov. Aggregation
AEP - OP      00140060722524492           Electric       Gov. Aggregation   FEOH - OE     08027488040001130466        Electric       Gov. Aggregation
AEP - OP      00140060722536571           Electric       Gov. Aggregation   FEOH - OE     08027488360001130659        Electric       Gov. Aggregation
AEP - OP      00140060722568661           Electric       Gov. Aggregation   FEOH - OE     08036892310000784624        Electric       Gov. Aggregation
AEP - OP      00140060734321014           Electric       Gov. Aggregation   FEOH - OE     08036981260000806093        Electric       Gov. Aggregation
AEP - OP      00140060734336845           Electric       Gov. Aggregation   FEOH - OE     08037000550001130121        Electric       Gov. Aggregation
AEP - OP      00140060734349270           Electric       Gov. Aggregation   FEOH - OE     08037025970000792649        Electric       Gov. Aggregation
AEP - OP      00140060734359670           Electric       Gov. Aggregation   FEOH - OE     08037097680000587063        Electric       Gov. Aggregation
AEP - OP      00140060734376550           Electric       Gov. Aggregation   FEOH - OE     08037147160000789147        Electric       Gov. Aggregation
AEP - OP      00140060734523433           Electric       Gov. Aggregation   FEOH - OE     08037164550001507412        Electric       Gov. Aggregation
AEP - OP      00140060734542245           Electric       Gov. Aggregation   FEOH - TE     08037509662040001680        Electric       Gov. Aggregation
AEP - OP      00140060730082681           Electric       Gov. Aggregation   FEOH - OE     08037595870000806096        Electric       Gov. Aggregation
AEP - OP      00140060730147134           Electric       Gov. Aggregation   FEOH - OE     08037651050000804388        Electric       Gov. Aggregation
AEP - OP      00140060730230930           Electric       Gov. Aggregation   FEOH - OE     08037729800001041827        Electric       Gov. Aggregation
AEP - OP      00140060730288901           Electric       Gov. Aggregation   FEOH - OE     08037770700001382154        Electric       Gov. Aggregation
AEP - OP      00140060730326533           Electric       Gov. Aggregation   FEOH - OE     08037771470001128117        Electric       Gov. Aggregation
AEP - OP      00140060730664564           Electric       Gov. Aggregation   FEOH - TE     08037789732510007421        Electric       Gov. Aggregation
AEP - OP      00140060730839341           Electric       Gov. Aggregation   FEOH - OE     08027419440001130673        Electric       Gov. Aggregation
AEP - OP      00140060733551085           Electric       Gov. Aggregation   FEOH - OE     08027422900001043385        Electric       Gov. Aggregation
AEP - OP      00140060733635712           Electric       Gov. Aggregation   FEOH - OE     08027426950001128796        Electric       Gov. Aggregation
AEP - OP      00140060733668600           Electric       Gov. Aggregation   FEOH - OE     08027465820001041584        Electric       Gov. Aggregation
AEP - OP      00140060733736773           Electric       Gov. Aggregation   FEOH - OE     08027485230001142981        Electric       Gov. Aggregation
AEP - OP      00140060733924894           Electric       Gov. Aggregation   FEOH - OE     08027485630001130620        Electric       Gov. Aggregation
AEP - OP      00140060734009662           Electric       Gov. Aggregation   FEOH - OE     08027488570001130662        Electric       Gov. Aggregation
AEP - OP      00140060734012621           Electric       Gov. Aggregation   FEOH - OE     08036337600000803090        Electric       Gov. Aggregation
AEP - OP      00140060729811344           Electric       Gov. Aggregation   FEOH - OE     08036368215000317930        Electric       Gov. Aggregation
AEP - OP      00140060729815573           Electric       Gov. Aggregation   FEOH - OE     08036509830001044655        Electric       Gov. Aggregation
AEP - OP      00140060729940693           Electric       Gov. Aggregation   FEOH - OE     08036572790001131079        Electric       Gov. Aggregation
AEP - OP      00140060730019461           Electric       Gov. Aggregation   FEOH - OE     08036595040001042293        Electric       Gov. Aggregation
AEP - OP      00140060730119724           Electric       Gov. Aggregation   FEOH - OE     08036819690001044611        Electric       Gov. Aggregation
AEP - OP      00140060730160103           Electric       Gov. Aggregation   FEOH - TE     08036838422810020116        Electric       Gov. Aggregation
AEP - OP      00140060730207185           Electric       Gov. Aggregation   FEOH - OE     08027348570001130373        Electric       Gov. Aggregation
AEP - OP      00140060731183065           Electric       Gov. Aggregation   FEOH - OE     08027349960001142783        Electric       Gov. Aggregation
AEP - OP      00140060731190092           Electric       Gov. Aggregation   FEOH - OE     08027351690001044482        Electric       Gov. Aggregation
AEP - OP      00140060731267310           Electric       Gov. Aggregation   FEOH - OE     08027357560001041832        Electric       Gov. Aggregation
AEP - OP      00140060731302634           Electric       Gov. Aggregation   FEOH - OE     08027372190001129686        Electric       Gov. Aggregation
AEP - OP      00140060731340050           Electric       Gov. Aggregation   FEOH - OE     08027383860001143341        Electric       Gov. Aggregation
AEP - OP      00140060731547635           Electric       Gov. Aggregation   FEOH - OE     08027391810001044417        Electric       Gov. Aggregation
AEP - OP      00140060731813503           Electric       Gov. Aggregation   FEOH - OE     08027490910001043502        Electric       Gov. Aggregation
AEP - OP      00140060722306683           Electric       Gov. Aggregation   FEOH - OE     08027496660001043444        Electric       Gov. Aggregation
AEP - OP      00140060722312504           Electric       Gov. Aggregation   FEOH - OE     08027530920001041658        Electric       Gov. Aggregation
AEP - OP      00140060722369691           Electric       Gov. Aggregation   FEOH - OE     08027531060001041660        Electric       Gov. Aggregation
AEP - OP      00140060722397174           Electric       Gov. Aggregation   FEOH - OE     08027532670001041683        Electric       Gov. Aggregation
AEP - OP      00140060722398805           Electric       Gov. Aggregation   FEOH - OE     08027541000001130697        Electric       Gov. Aggregation
AEP - OP      00140060722414252           Electric       Gov. Aggregation   FEOH - OE     08027543530001130732        Electric       Gov. Aggregation
AEP - OP      00140060734773645           Electric       Gov. Aggregation   FEOH - OE     08030288350001530161        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060734839243           Electric       Gov. Aggregation   FEOH - OE     08030379180001129056        Electric       Gov. Aggregation
AEP - OP      00140060734850823           Electric       Gov. Aggregation   FEOH - OE     08030466070000848803        Electric       Gov. Aggregation
AEP - OP      00140060734883505           Electric       Gov. Aggregation   FEOH - OE     08030468140001374235        Electric       Gov. Aggregation
AEP - OP      00140060735017570           Electric       Gov. Aggregation   FEOH - OE     08030499405000142151        Electric       Gov. Aggregation
AEP - OP      00140060735181104           Electric       Gov. Aggregation   FEOH - OE     08030501730000804334        Electric       Gov. Aggregation
AEP - OP      00140060735281354           Electric       Gov. Aggregation   FEOH - OE     08030514775001432537        Electric       Gov. Aggregation
AEP - OP      00140060723200463           Electric       Gov. Aggregation   FEOH - OE     08027491990001044338        Electric       Gov. Aggregation
AEP - OP      00140060723228501           Electric       Gov. Aggregation   FEOH - OE     08027493120001043530        Electric       Gov. Aggregation
AEP - OP      00140060723263932           Electric       Gov. Aggregation   FEOH - OE     08027519680001040657        Electric       Gov. Aggregation
AEP - OP      00140060723276393           Electric       Gov. Aggregation   FEOH - OE     08027531450001041666        Electric       Gov. Aggregation
AEP - OP      00140060723319961           Electric       Gov. Aggregation   FEOH - OE     08027540790001129494        Electric       Gov. Aggregation
AEP - OP      00140060723355340           Electric       Gov. Aggregation   FEOH - OE     08027541140001130699        Electric       Gov. Aggregation
AEP - OP      00140060730970494           Electric       Gov. Aggregation   FEOH - OE     08027547750001130778        Electric       Gov. Aggregation
AEP - OP      00140060731102573           Electric       Gov. Aggregation   FEOH - OE     08032921310001127465        Electric       Gov. Aggregation
AEP - OP      00140060731108685           Electric       Gov. Aggregation   FEOH - OE     08033024480001430125        Electric       Gov. Aggregation
AEP - OP      00140060731181134           Electric       Gov. Aggregation   FEOH - OE     08033032840000603642        Electric       Gov. Aggregation
AEP - OP      00140060731309883           Electric       Gov. Aggregation   FEOH - OE     08033051430001044475        Electric       Gov. Aggregation
AEP - OP      00140060731310823           Electric       Gov. Aggregation   FEOH - OE     08033058600000805519        Electric       Gov. Aggregation
AEP - OP      00140060731399363           Electric       Gov. Aggregation   FEOH - OE     08033087380000778740        Electric       Gov. Aggregation
AEP - OP      00140060722675744           Electric       Gov. Aggregation   FEOH - OE     08033097080001043345        Electric       Gov. Aggregation
AEP - OP      00140060722889573           Electric       Gov. Aggregation   FEOH - OE     08037883600001127995        Electric       Gov. Aggregation
AEP - OP      00140060723330820           Electric       Gov. Aggregation   FEOH - OE     08037892510001127469        Electric       Gov. Aggregation
AEP - OP      00140060723533722           Electric       Gov. Aggregation   FEOH - OE     08038060170000584040        Electric       Gov. Aggregation
AEP - OP      00140060723785405           Electric       Gov. Aggregation   FEOH - OE     08038233890000790330        Electric       Gov. Aggregation
AEP - OP      00140060723807162           Electric       Gov. Aggregation   FEOH - OE     08038267500000765695        Electric       Gov. Aggregation
AEP - OP      00140060723818832           Electric       Gov. Aggregation   FEOH - OE     08038267940000789180        Electric       Gov. Aggregation
AEP - OP      00140060734084521           Electric       Gov. Aggregation   FEOH - OE     08038323980000792531        Electric       Gov. Aggregation
AEP - OP      00140060734105205           Electric       Gov. Aggregation   FEOH - OE     08036925600001313514        Electric       Gov. Aggregation
AEP - OP      00140060734194851           Electric       Gov. Aggregation   FEOH - OE     08036967810001043581        Electric       Gov. Aggregation
AEP - OP      00140060734235504           Electric       Gov. Aggregation   FEOH - OE     08036977430001045218        Electric       Gov. Aggregation
AEP - OP      00140060734248182           Electric       Gov. Aggregation   FEOH - OE     08037080460000790360        Electric       Gov. Aggregation
AEP - OP      00140060734335855           Electric       Gov. Aggregation   FEOH - TE     08037180792380027983        Electric       Gov. Aggregation
AEP - OP      00140060734453634           Electric       Gov. Aggregation   FEOH - OE     08027404200001129591        Electric       Gov. Aggregation
AEP - OP      00140060730323605           Electric       Gov. Aggregation   FEOH - OE     08027412220001128916        Electric       Gov. Aggregation
AEP - OP      00140060730389970           Electric       Gov. Aggregation   FEOH - OE     08027413670001130448        Electric       Gov. Aggregation
AEP - OP      00140060730507385           Electric       Gov. Aggregation   FEOH - OE     08027414070001130454        Electric       Gov. Aggregation
AEP - OP      00140060730617942           Electric       Gov. Aggregation   FEOH - OE     08027414400001130459        Electric       Gov. Aggregation
AEP - OP      00140060730680335           Electric       Gov. Aggregation   FEOH - OE     08027418900001130526        Electric       Gov. Aggregation
AEP - OP      00140060730762380           Electric       Gov. Aggregation   FEOH - OE     08027419310001577790        Electric       Gov. Aggregation
AEP - OP      00140060730780920           Electric       Gov. Aggregation   FEOH - OE     08027544220001142386        Electric       Gov. Aggregation
AEP - OP      00140060731960893           Electric       Gov. Aggregation   FEOH - OE     08027545380001130757        Electric       Gov. Aggregation
AEP - OP      00140060732000415           Electric       Gov. Aggregation   FEOH - OE     08027548590001130798        Electric       Gov. Aggregation
AEP - OP      00140060732095964           Electric       Gov. Aggregation   FEOH - OE     08027549130001130803        Electric       Gov. Aggregation
AEP - OP      00140060732110533           Electric       Gov. Aggregation   FEOH - OE     08027563100001128572        Electric       Gov. Aggregation
AEP - OP      00140060732216100           Electric       Gov. Aggregation   FEOH - OE     08027565850001043705        Electric       Gov. Aggregation
AEP - OP      00140060732267303           Electric       Gov. Aggregation   FEOH - OE     08027591130001041879        Electric       Gov. Aggregation
AEP - OP      00140060735304091           Electric       Gov. Aggregation   FEOH - OE     08030527130001129572        Electric       Gov. Aggregation
AEP - OP      00140060735344322           Electric       Gov. Aggregation   FEOH - OE     08030564940001128315        Electric       Gov. Aggregation
AEP - OP      00140060735427213           Electric       Gov. Aggregation   FEOH - OE     08030570270000788781        Electric       Gov. Aggregation
AEP - OP      00140060735517565           Electric       Gov. Aggregation   FEOH - OE     08030585430000766135        Electric       Gov. Aggregation
AEP - OP      00140060735569354           Electric       Gov. Aggregation   FEOH - OE     08030701110001387436        Electric       Gov. Aggregation
AEP - OP      00140060735586063           Electric       Gov. Aggregation   FEOH - TE     08030749072690091281        Electric       Gov. Aggregation
AEP - OP      00140060735594374           Electric       Gov. Aggregation   FEOH - OE     08037244330000168301        Electric       Gov. Aggregation
AEP - OP      00140060722430330           Electric       Gov. Aggregation   FEOH - OE     08037308460000789252        Electric       Gov. Aggregation
AEP - OP      00140060722466014           Electric       Gov. Aggregation   FEOH - OE     08037360930000782552        Electric       Gov. Aggregation
AEP - OP      00140060722492772           Electric       Gov. Aggregation   FEOH - OE     08037418030000790430        Electric       Gov. Aggregation
AEP - OP      00140060722678183           Electric       Gov. Aggregation   FEOH - OE     08037453080000803259        Electric       Gov. Aggregation
AEP - OP      00140060722829450           Electric       Gov. Aggregation   FEOH - TE     08037458722480091995        Electric       Gov. Aggregation
AEP - OP      00140060722902875           Electric       Gov. Aggregation   FEOH - OE     08037463110000790845        Electric       Gov. Aggregation
AEP - OP      00140060723347765           Electric       Gov. Aggregation   FEOH - OE     08027549540001128643        Electric       Gov. Aggregation
AEP - OP      00140060723446013           Electric       Gov. Aggregation   FEOH - OE     08027564710001128571        Electric       Gov. Aggregation
AEP - OP      00140060723471232           Electric       Gov. Aggregation   FEOH - OE     08027566970001044321        Electric       Gov. Aggregation
AEP - OP      00140060723515951           Electric       Gov. Aggregation   FEOH - OE     08027568150001043731        Electric       Gov. Aggregation
AEP - OP      00140060723542724           Electric       Gov. Aggregation   FEOH - OE     08027593160001041909        Electric       Gov. Aggregation
AEP - OP      00140060723563403           Electric       Gov. Aggregation   FEOH - OE     08027596890001040751        Electric       Gov. Aggregation
AEP - OP      00140060723648134           Electric       Gov. Aggregation   FEOH - TE     08033149032770013168        Electric       Gov. Aggregation
AEP - OP      00140060723758982           Electric       Gov. Aggregation   FEOH - OE     08033150260000770992        Electric       Gov. Aggregation
AEP - OP      00140060731436784           Electric       Gov. Aggregation   FEOH - OE     08033157000000767212        Electric       Gov. Aggregation
AEP - OP      00140060731529262           Electric       Gov. Aggregation   FEOH - OE     08033217810001129374        Electric       Gov. Aggregation
AEP - OP      00140060731546844           Electric       Gov. Aggregation   FEOH - OE     08033222620000765640        Electric       Gov. Aggregation
AEP - OP      00140060731575735           Electric       Gov. Aggregation   FEOH - OE     08033265930000186784        Electric       Gov. Aggregation
AEP - OP      00140060731632332           Electric       Gov. Aggregation   FEOH - OE     08033318790000587060        Electric       Gov. Aggregation
AEP - OP      00140060731657264           Electric       Gov. Aggregation   FEOH - TE     08037192852850023856        Electric       Gov. Aggregation
AEP - OP      00140060723957781           Electric       Gov. Aggregation   FEOH - OE     08037195500000778804        Electric       Gov. Aggregation
AEP - OP      00140060723975344           Electric       Gov. Aggregation   FEOH - OE     08037207120000786818        Electric       Gov. Aggregation
AEP - OP      00140060723997720           Electric       Gov. Aggregation   FEOH - OE     08037220070001142904        Electric       Gov. Aggregation
AEP - OP      00140060724012465           Electric       Gov. Aggregation   FEOH - OE     08037222975001388669        Electric       Gov. Aggregation
AEP - OP      00140060724048320           Electric       Gov. Aggregation   FEOH - TE     08037438952850019667        Electric       Gov. Aggregation
AEP - OP      00140060724048981           Electric       Gov. Aggregation   FEOH - TE     08037458725001471084        Electric       Gov. Aggregation
AEP - OP      00140060724072255           Electric       Gov. Aggregation   FEOH - OE     08027424070001043401        Electric       Gov. Aggregation
AEP - OP      00140060734474324           Electric       Gov. Aggregation   FEOH - OE     08027424160001043402        Electric       Gov. Aggregation
AEP - OP      00140060734663603           Electric       Gov. Aggregation   FEOH - OE     08027429350001043479        Electric       Gov. Aggregation
AEP - OP      00140060734684584           Electric       Gov. Aggregation   FEOH - OE     08027461010001041508        Electric       Gov. Aggregation
AEP - OP      00140060734771195           Electric       Gov. Aggregation   FEOH - OE     08027465825000026482        Electric       Gov. Aggregation
AEP - OP      00140060734846405           Electric       Gov. Aggregation   FEOH - OE     08027466600001041596        Electric       Gov. Aggregation
AEP - OP      00140060734954945           Electric       Gov. Aggregation   FEOH - OE     08027483590001129019        Electric       Gov. Aggregation
AEP - OP      00140060735018655           Electric       Gov. Aggregation   FEOH - OE     08027594980001041937        Electric       Gov. Aggregation
AEP - OP      00140060735138710           Electric       Gov. Aggregation   FEOH - OE     08027615380001131501        Electric       Gov. Aggregation
AEP - OP      00140060735209025           Electric       Gov. Aggregation   FEOH - OE     08027616430001131078        Electric       Gov. Aggregation
AEP - OP      00140060735314481           Electric       Gov. Aggregation   FEOH - OE     08027617160001131054        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060735330680           Electric       Gov. Aggregation   FEOH - OE     08027622910001043795        Electric       Gov. Aggregation
AEP - OP      00140060735430782           Electric       Gov. Aggregation   FEOH - OE     08027653870001042070        Electric       Gov. Aggregation
AEP - OP      00140060735431730           Electric       Gov. Aggregation   FEOH - OE     08027658870001042142        Electric       Gov. Aggregation
AEP - OP      00140060730967984           Electric       Gov. Aggregation   FEOH - OE     08038351650000168240        Electric       Gov. Aggregation
AEP - OP      00140060731304433           Electric       Gov. Aggregation   FEOH - OE     08038360080001130592        Electric       Gov. Aggregation
AEP - OP      00140060731377243           Electric       Gov. Aggregation   FEOH - TE     08038423552680021911        Electric       Gov. Aggregation
AEP - OP      00140060731390264           Electric       Gov. Aggregation   FEOH - OE     08038448060001377030        Electric       Gov. Aggregation
AEP - OP      00140060731587272           Electric       Gov. Aggregation   FEOH - OE     08038516760000803616        Electric       Gov. Aggregation
AEP - OP      00140060731631842           Electric       Gov. Aggregation   FEOH - OE     08038542600001131209        Electric       Gov. Aggregation
AEP - OP      00140060731706554           Electric       Gov. Aggregation   FEOH - TE     08038655355000086158        Electric       Gov. Aggregation
AEP - OP      00140060732301772           Electric       Gov. Aggregation   FEOH - OE     08037466240001043465        Electric       Gov. Aggregation
AEP - OP      00140060732359711           Electric       Gov. Aggregation   FEOH - OE     08037485340001539862        Electric       Gov. Aggregation
AEP - OP      00140060732363732           Electric       Gov. Aggregation   FEOH - OE     08037538260001461969        Electric       Gov. Aggregation
AEP - OP      00140060732381912           Electric       Gov. Aggregation   FEOH - OE     08037578590001143185        Electric       Gov. Aggregation
AEP - OP      00140060732482592           Electric       Gov. Aggregation   FEOH - OE     08037581270000778815        Electric       Gov. Aggregation
AEP - OP      00140060732618094           Electric       Gov. Aggregation   FEOH - OE     08037588260001128979        Electric       Gov. Aggregation
AEP - OP      00140060732638395           Electric       Gov. Aggregation   FEOH - OE     08037730475000321208        Electric       Gov. Aggregation
AEP - OP      00140060735649892           Electric       Gov. Aggregation   FEOH - OE     08037465870001455709        Electric       Gov. Aggregation
AEP - OP      00140060735695630           Electric       Gov. Aggregation   FEOH - OE     08037499030001497177        Electric       Gov. Aggregation
AEP - OP      00140060735757642           Electric       Gov. Aggregation   FEOH - TE     08037648962810020971        Electric       Gov. Aggregation
AEP - OP      00140060735893230           Electric       Gov. Aggregation   FEOH - TE     08037669645001360733        Electric       Gov. Aggregation
AEP - OP      00140060735927403           Electric       Gov. Aggregation   FEOH - OE     08037741155000295266        Electric       Gov. Aggregation
AEP - OP      00140060735937971           Electric       Gov. Aggregation   FEOH - OE     08037769190000587042        Electric       Gov. Aggregation
AEP - OP      00140060735984055           Electric       Gov. Aggregation   FEOH - OE     08037782215000341361        Electric       Gov. Aggregation
AEP - OP      00140060723352651           Electric       Gov. Aggregation   FEOH - OE     08030767555000151121        Electric       Gov. Aggregation
AEP - OP      00140060723372453           Electric       Gov. Aggregation   FEOH - TE     08030767842210012572        Electric       Gov. Aggregation
AEP - OP      00140060723491572           Electric       Gov. Aggregation   FEOH - OE     08030861080000790367        Electric       Gov. Aggregation
AEP - OP      00140060723662470           Electric       Gov. Aggregation   FEOH - OE     08030915560000788938        Electric       Gov. Aggregation
AEP - OP      00140060723669722           Electric       Gov. Aggregation   FEOH - OE     08030970095000092378        Electric       Gov. Aggregation
AEP - OP      00140060723840164           Electric       Gov. Aggregation   FEOH - OE     08031063970001395497        Electric       Gov. Aggregation
AEP - OP      00140060723885533           Electric       Gov. Aggregation   FEOH - OE     08038655680001443400        Electric       Gov. Aggregation
AEP - OP      00140060723822642           Electric       Gov. Aggregation   FEOH - OE     08038735970001041884        Electric       Gov. Aggregation
AEP - OP      00140060723912655           Electric       Gov. Aggregation   FEOH - OE     08038739215000195792        Electric       Gov. Aggregation
AEP - OP      00140060723939012           Electric       Gov. Aggregation   FEOH - OE     08038767370000777930        Electric       Gov. Aggregation
AEP - OP      00140060724051441           Electric       Gov. Aggregation   FEOH - OE     08038819850001130219        Electric       Gov. Aggregation
AEP - OP      00140060724138323           Electric       Gov. Aggregation   FEOH - OE     08038821880000789084        Electric       Gov. Aggregation
AEP - OP      00140060724299293           Electric       Gov. Aggregation   FEOH - OE     08038858125000171963        Electric       Gov. Aggregation
AEP - OP      00140060731758740           Electric       Gov. Aggregation   FEOH - OE     08037749030001448803        Electric       Gov. Aggregation
AEP - OP      00140060731787422           Electric       Gov. Aggregation   FEOH - TE     08037789732580092542        Electric       Gov. Aggregation
AEP - OP      00140060731902440           Electric       Gov. Aggregation   FEOH - OE     08037809430000782510        Electric       Gov. Aggregation
AEP - OP      00140060731913050           Electric       Gov. Aggregation   FEOH - OE     08037927820000810155        Electric       Gov. Aggregation
AEP - OP      00140060731961044           Electric       Gov. Aggregation   FEOH - OE     08037965265000341532        Electric       Gov. Aggregation
AEP - OP      00140060732064160           Electric       Gov. Aggregation   FEOH - TE     08037974132030032416        Electric       Gov. Aggregation
AEP - OP      00140060732100834           Electric       Gov. Aggregation   FEOH - OE     08037840670000792722        Electric       Gov. Aggregation
AEP - OP      00140060735510862           Electric       Gov. Aggregation   FEOH - OE     08037873810000792545        Electric       Gov. Aggregation
AEP - OP      00140060735568723           Electric       Gov. Aggregation   FEOH - OE     08037926760000786511        Electric       Gov. Aggregation
AEP - OP      00140060735604474           Electric       Gov. Aggregation   FEOH - OE     08037953370000603729        Electric       Gov. Aggregation
AEP - OP      00140060735637352           Electric       Gov. Aggregation   FEOH - OE     08038152710000790522        Electric       Gov. Aggregation
AEP - OP      00140060735847834           Electric       Gov. Aggregation   FEOH - OE     08038183670000803795        Electric       Gov. Aggregation
AEP - OP      00140060735878852           Electric       Gov. Aggregation   FEOH - OE     08033318790000587062        Electric       Gov. Aggregation
AEP - OP      00140060731745890           Electric       Gov. Aggregation   FEOH - OE     08033366240001319059        Electric       Gov. Aggregation
AEP - OP      00140060731749255           Electric       Gov. Aggregation   FEOH - OE     08033391650001041685        Electric       Gov. Aggregation
AEP - OP      00140060731782841           Electric       Gov. Aggregation   FEOH - OE     08033405900001131388        Electric       Gov. Aggregation
AEP - OP      00140060731835323           Electric       Gov. Aggregation   FEOH - OE     08033405900001131392        Electric       Gov. Aggregation
AEP - OP      00140060731942423           Electric       Gov. Aggregation   FEOH - OE     08033432150001129387        Electric       Gov. Aggregation
AEP - OP      00140060732246843           Electric       Gov. Aggregation   FEOH - OE     08033449990001438036        Electric       Gov. Aggregation
AEP - OP      00140060732258294           Electric       Gov. Aggregation   FEOH - OE     08027610970001131482        Electric       Gov. Aggregation
AEP - OP      00140060732659880           Electric       Gov. Aggregation   FEOH - OE     08027611450001128048        Electric       Gov. Aggregation
AEP - OP      00140060732703890           Electric       Gov. Aggregation   FEOH - OE     08027613520001131108        Electric       Gov. Aggregation
AEP - OP      00140060732751141           Electric       Gov. Aggregation   FEOH - OE     08027616810001131049        Electric       Gov. Aggregation
AEP - OP      00140060732772191           Electric       Gov. Aggregation   FEOH - OE     08027618740001131043        Electric       Gov. Aggregation
AEP - OP      00140060732866814           Electric       Gov. Aggregation   FEOH - OE     08027625740001041629        Electric       Gov. Aggregation
AEP - OP      00140060732892960           Electric       Gov. Aggregation   FEOH - OE     08027658870001040509        Electric       Gov. Aggregation
AEP - OP      00140060733015705           Electric       Gov. Aggregation   FEOH - TE     08031104562210015156        Electric       Gov. Aggregation
AEP - OP      00140060736011260           Electric       Gov. Aggregation   FEOH - OE     08031150985000162274        Electric       Gov. Aggregation
AEP - OP      00140060736123574           Electric       Gov. Aggregation   FEOH - OE     08031173240000778197        Electric       Gov. Aggregation
AEP - OP      00140060736333873           Electric       Gov. Aggregation   FEOH - OE     08031201775001390680        Electric       Gov. Aggregation
AEP - OP      00140060736634875           Electric       Gov. Aggregation   FEOH - OE     08031401170000770529        Electric       Gov. Aggregation
AEP - OP      00140060736794345           Electric       Gov. Aggregation   FEOH - OE     08031410120001129386        Electric       Gov. Aggregation
AEP - OP      00140060736816435           Electric       Gov. Aggregation   FEOH - OE     08027484370001127520        Electric       Gov. Aggregation
AEP - OP      00140060736893785           Electric       Gov. Aggregation   FEOH - OE     08027484510001130616        Electric       Gov. Aggregation
AEP - OP      00140060723914354           Electric       Gov. Aggregation   FEOH - OE     08027485280001130615        Electric       Gov. Aggregation
AEP - OP      00140060723975584           Electric       Gov. Aggregation   FEOH - OE     08027486960001131218        Electric       Gov. Aggregation
AEP - OP      00140060723990735           Electric       Gov. Aggregation   FEOH - OE     08027487190001143012        Electric       Gov. Aggregation
AEP - OP      00140060724023922           Electric       Gov. Aggregation   FEOH - OE     08027488020001143024        Electric       Gov. Aggregation
AEP - OP      00140060724125701           Electric       Gov. Aggregation   FEOH - OE     08027492100001043520        Electric       Gov. Aggregation
AEP - OP      00140060724197974           Electric       Gov. Aggregation   FEOH - OE     08038917415000357283        Electric       Gov. Aggregation
AEP - OP      00140060724279121           Electric       Gov. Aggregation   FEOH - TE     08038920432810015615        Electric       Gov. Aggregation
AEP - OP      00140060724351215           Electric       Gov. Aggregation   FEOH - OE     08038937460001108434        Electric       Gov. Aggregation
AEP - OP      00140060724375483           Electric       Gov. Aggregation   FEOH - TE     08038951085000385241        Electric       Gov. Aggregation
AEP - OP      00140060724440264           Electric       Gov. Aggregation   FEOH - TE     08038993302040001022        Electric       Gov. Aggregation
AEP - OP      00140060724525121           Electric       Gov. Aggregation   FEOH - OE     08039016850001456006        Electric       Gov. Aggregation
AEP - OP      00140060724525994           Electric       Gov. Aggregation   FEOH - OE     08039037615000020676        Electric       Gov. Aggregation
AEP - OP      00140060724770224           Electric       Gov. Aggregation   FEOH - OE     08027659160001042146        Electric       Gov. Aggregation
AEP - OP      00140060724807885           Electric       Gov. Aggregation   FEOH - OE     08027659360001042149        Electric       Gov. Aggregation
AEP - OP      00140060732238302           Electric       Gov. Aggregation   FEOH - OE     08027659540001042152        Electric       Gov. Aggregation
AEP - OP      00140060732285174           Electric       Gov. Aggregation   FEOH - OE     08027680940001130884        Electric       Gov. Aggregation
AEP - OP      00140060732355172           Electric       Gov. Aggregation   FEOH - OE     08027683090001130915        Electric       Gov. Aggregation
AEP - OP      00140060732448363           Electric       Gov. Aggregation   FEOH - OE     08027683220001130917        Electric       Gov. Aggregation
AEP - OP      00140060732484172           Electric       Gov. Aggregation   FEOH - OE     08027686520001424505        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060732546765           Electric       Gov. Aggregation   FEOH - OE     08038251180000804603        Electric       Gov. Aggregation
AEP - OP      00140060732548551           Electric       Gov. Aggregation   FEOH - TE     08038273905001409100        Electric       Gov. Aggregation
AEP - OP      00140060724133013           Electric       Gov. Aggregation   FEOH - OE     08038323890001130088        Electric       Gov. Aggregation
AEP - OP      00140060724137880           Electric       Gov. Aggregation   FEOH - OE     08038337720000792558        Electric       Gov. Aggregation
AEP - OP      00140060724343483           Electric       Gov. Aggregation   FEOH - OE     08038404780001041443        Electric       Gov. Aggregation
AEP - OP      00140060724385404           Electric       Gov. Aggregation   FEOH - OE     08038405160000803056        Electric       Gov. Aggregation
AEP - OP      00140060724434823           Electric       Gov. Aggregation   FEOH - OE     08038014800001394574        Electric       Gov. Aggregation
AEP - OP      00140060724442463           Electric       Gov. Aggregation   FEOH - TE     08038044912210014505        Electric       Gov. Aggregation
AEP - OP      00140060736131275           Electric       Gov. Aggregation   FEOH - OE     08038105720000844681        Electric       Gov. Aggregation
AEP - OP      00140060736222902           Electric       Gov. Aggregation   FEOH - TE     08038125192340091302        Electric       Gov. Aggregation
AEP - OP      00140060736307822           Electric       Gov. Aggregation   FEOH - OE     08038144390001041785        Electric       Gov. Aggregation
AEP - OP      00140060736634050           Electric       Gov. Aggregation   FEOH - OE     08038164880001038701        Electric       Gov. Aggregation
AEP - OP      00140060736649684           Electric       Gov. Aggregation   FEOH - TE     08038318682390001442        Electric       Gov. Aggregation
AEP - OP      00140060736739515           Electric       Gov. Aggregation   FEOH - OE     08027659580001042153        Electric       Gov. Aggregation
AEP - OP      00140060736886785           Electric       Gov. Aggregation   FEOH - OE     08027682280001130904        Electric       Gov. Aggregation
AEP - OP      00140060732351325           Electric       Gov. Aggregation   FEOH - OE     08027683770001130931        Electric       Gov. Aggregation
AEP - OP      00140060732354381           Electric       Gov. Aggregation   FEOH - OE     08027684620001127849        Electric       Gov. Aggregation
AEP - OP      00140060732387210           Electric       Gov. Aggregation   FEOH - OE     08027686660001312487        Electric       Gov. Aggregation
AEP - OP      00140060732392715           Electric       Gov. Aggregation   FEOH - OE     08027688810001130934        Electric       Gov. Aggregation
AEP - OP      00140060732464105           Electric       Gov. Aggregation   FEOH - OE     08027691970001043955        Electric       Gov. Aggregation
AEP - OP      00140060732469872           Electric       Gov. Aggregation   FEOH - OE     08033501730000809586        Electric       Gov. Aggregation
AEP - OP      00140060732549223           Electric       Gov. Aggregation   FEOH - OE     08033549580001570159        Electric       Gov. Aggregation
AEP - OP      00140060733163752           Electric       Gov. Aggregation   FEOH - OE     08033635260001522679        Electric       Gov. Aggregation
AEP - OP      00140060733175450           Electric       Gov. Aggregation   FEOH - OE     08033672420000789053        Electric       Gov. Aggregation
AEP - OP      00140060733178485           Electric       Gov. Aggregation   FEOH - OE     08033722210000803536        Electric       Gov. Aggregation
AEP - OP      00140060733253995           Electric       Gov. Aggregation   FEOH - OE     08031440210001041726        Electric       Gov. Aggregation
AEP - OP      00140060733276671           Electric       Gov. Aggregation   FEOH - OE     08031464240001536551        Electric       Gov. Aggregation
AEP - OP      00140060733303622           Electric       Gov. Aggregation   FEOH - OE     08031518900000804508        Electric       Gov. Aggregation
AEP - OP      00140060736939294           Electric       Gov. Aggregation   FEOH - OE     08031526670001127749        Electric       Gov. Aggregation
AEP - OP      00140060736972465           Electric       Gov. Aggregation   FEOH - OE     08031532365000282693        Electric       Gov. Aggregation
AEP - OP      00140060737002702           Electric       Gov. Aggregation   FEOH - OE     08031589680000806137        Electric       Gov. Aggregation
AEP - OP      00140060737193601           Electric       Gov. Aggregation   FEOH - OE     08031632630001478040        Electric       Gov. Aggregation
AEP - OP      00140060737237572           Electric       Gov. Aggregation   FEOH - OE     08027496970001043580        Electric       Gov. Aggregation
AEP - OP      00140060737277081           Electric       Gov. Aggregation   FEOH - OE     08027533530001041697        Electric       Gov. Aggregation
AEP - OP      00140060737467105           Electric       Gov. Aggregation   FEOH - OE     08027535110001041719        Electric       Gov. Aggregation
AEP - OP      00140060724407371           Electric       Gov. Aggregation   FEOH - OE     08027538430001142468        Electric       Gov. Aggregation
AEP - OP      00140060724490463           Electric       Gov. Aggregation   FEOH - OE     08027539145000101919        Electric       Gov. Aggregation
AEP - OP      00140060724597630           Electric       Gov. Aggregation   FEOH - OE     08027540720001130693        Electric       Gov. Aggregation
AEP - OP      00140060724647080           Electric       Gov. Aggregation   FEOH - OE     08027540930001130696        Electric       Gov. Aggregation
AEP - OP      00140060724719993           Electric       Gov. Aggregation   FEOH - OE     08039100405000187290        Electric       Gov. Aggregation
AEP - OP      00140060724751551           Electric       Gov. Aggregation   FEOH - OE     08039125700000804705        Electric       Gov. Aggregation
AEP - OP      00140060724925581           Electric       Gov. Aggregation   FEOH - TE     08039220992900010818        Electric       Gov. Aggregation
AEP - OP      00140060724638482           Electric       Gov. Aggregation   FEOH - TE     08039228122490092012        Electric       Gov. Aggregation
AEP - OP      00140060724690244           Electric       Gov. Aggregation   FEOH - OE     08039230080001372053        Electric       Gov. Aggregation
AEP - OP      00140060724782704           Electric       Gov. Aggregation   FEOH - TE     08039273472250094372        Electric       Gov. Aggregation
AEP - OP      00140060724841593           Electric       Gov. Aggregation   FEOH - OE     08039275720001041397        Electric       Gov. Aggregation
AEP - OP      00140060724843343           Electric       Gov. Aggregation   FEOH - TE     08038412565000378775        Electric       Gov. Aggregation
AEP - OP      00140060724845634           Electric       Gov. Aggregation   FEOH - TE     08038421892770019919        Electric       Gov. Aggregation
AEP - OP      00140060724869210           Electric       Gov. Aggregation   FEOH - OE     08038545160001127621        Electric       Gov. Aggregation
AEP - OP      00140060732554214           Electric       Gov. Aggregation   FEOH - TE     08038610323000006576        Electric       Gov. Aggregation
AEP - OP      00140060732643090           Electric       Gov. Aggregation   FEOH - OE     08038617820000177898        Electric       Gov. Aggregation
AEP - OP      00140060732665291           Electric       Gov. Aggregation   FEOH - OE     08038618330001471773        Electric       Gov. Aggregation
AEP - OP      00140060732681662           Electric       Gov. Aggregation   FEOH - OE     08038656420001128240        Electric       Gov. Aggregation
AEP - OP      00140060732715510           Electric       Gov. Aggregation   FEOH - OE     08027688810001131338        Electric       Gov. Aggregation
AEP - OP      00140060732722185           Electric       Gov. Aggregation   FEOH - OE     08027689270001130951        Electric       Gov. Aggregation
AEP - OP      00140060732782170           Electric       Gov. Aggregation   FEOH - OE     08027689370001130952        Electric       Gov. Aggregation
AEP - OP      00140060724811691           Electric       Gov. Aggregation   FEOH - OE     08027692490001385234        Electric       Gov. Aggregation
AEP - OP      00140060724826613           Electric       Gov. Aggregation   FEOH - OE     08027696710001128677        Electric       Gov. Aggregation
AEP - OP      00140060724842690           Electric       Gov. Aggregation   FEOH - OE     08027699570001044104        Electric       Gov. Aggregation
AEP - OP      00140060724852854           Electric       Gov. Aggregation   FEOH - OE     08027720410001042165        Electric       Gov. Aggregation
AEP - OP      00140060724853320           Electric       Gov. Aggregation   FEOH - OE     08038331180000841391        Electric       Gov. Aggregation
AEP - OP      00140060724899945           Electric       Gov. Aggregation   FEOH - OE     08038332240001430739        Electric       Gov. Aggregation
AEP - OP      00140060724904172           Electric       Gov. Aggregation   FEOH - TE     08038396632210014370        Electric       Gov. Aggregation
AEP - OP      00140060736949704           Electric       Gov. Aggregation   FEOH - OE     08038465610000804706        Electric       Gov. Aggregation
AEP - OP      00140060737114574           Electric       Gov. Aggregation   FEOH - OE     08038501140001432690        Electric       Gov. Aggregation
AEP - OP      00140060737134103           Electric       Gov. Aggregation   FEOH - OE     08038512390000187667        Electric       Gov. Aggregation
AEP - OP      00140060737240254           Electric       Gov. Aggregation   FEOH - OE     08038523650000168297        Electric       Gov. Aggregation
AEP - OP      00140060737271270           Electric       Gov. Aggregation   FEOH - OE     08027693020001043975        Electric       Gov. Aggregation
AEP - OP      00140060737303661           Electric       Gov. Aggregation   FEOH - OE     08027693400001043981        Electric       Gov. Aggregation
AEP - OP      00140060737401085           Electric       Gov. Aggregation   FEOH - OE     08027711710000786480        Electric       Gov. Aggregation
AEP - OP      00140060732576463           Electric       Gov. Aggregation   FEOH - OE     08027716435000100328        Electric       Gov. Aggregation
AEP - OP      00140060732824903           Electric       Gov. Aggregation   FEOH - OE     08027723590001042214        Electric       Gov. Aggregation
AEP - OP      00140060732870064           Electric       Gov. Aggregation   FEOH - OE     08027724250001042223        Electric       Gov. Aggregation
AEP - OP      00140060732923551           Electric       Gov. Aggregation   FEOH - OE     08027724290001042225        Electric       Gov. Aggregation
AEP - OP      00140060732985415           Electric       Gov. Aggregation   FEOH - TE     08033746762080027710        Electric       Gov. Aggregation
AEP - OP      00140060733024481           Electric       Gov. Aggregation   FEOH - OE     08033793950001455857        Electric       Gov. Aggregation
AEP - OP      00140060733024752           Electric       Gov. Aggregation   FEOH - OE     08034078460001130068        Electric       Gov. Aggregation
AEP - OP      00140060737513195           Electric       Gov. Aggregation   FEOH - OE     08034102750000805484        Electric       Gov. Aggregation
AEP - OP      00140060737565181           Electric       Gov. Aggregation   FEOH - OE     08034160930001128143        Electric       Gov. Aggregation
AEP - OP      00140060737609122           Electric       Gov. Aggregation   FEOH - OE     08034192000001374566        Electric       Gov. Aggregation
AEP - OP      00140060737766152           Electric       Gov. Aggregation   FEOH - OE     08034197990001044712        Electric       Gov. Aggregation
AEP - OP      00140060737823580           Electric       Gov. Aggregation   FEOH - OE     08031639475000131373        Electric       Gov. Aggregation
AEP - OP      00140060737867432           Electric       Gov. Aggregation   FEOH - OE     08031649940001333912        Electric       Gov. Aggregation
AEP - OP      00140060737945993           Electric       Gov. Aggregation   FEOH - OE     08031721520000586841        Electric       Gov. Aggregation
AEP - OP      00140060733462880           Electric       Gov. Aggregation   FEOH - TE     08031818512680023813        Electric       Gov. Aggregation
AEP - OP      00140060733476183           Electric       Gov. Aggregation   FEOH - OE     08031868990001129319        Electric       Gov. Aggregation
AEP - OP      00140060733560435           Electric       Gov. Aggregation   FEOH - OE     08031919900001534072        Electric       Gov. Aggregation
AEP - OP      00140060733755584           Electric       Gov. Aggregation   FEOH - OE     08031924720000788771        Electric       Gov. Aggregation
AEP - OP      00140060733786515           Electric       Gov. Aggregation   FEOH - OE     08039340130000804563        Electric       Gov. Aggregation
AEP - OP      00140060733856602           Electric       Gov. Aggregation   FEOH - OE     08039407310001041715        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060733943834           Electric       Gov. Aggregation   FEOH - OE     08039448035000122752        Electric       Gov. Aggregation
AEP - OP      00140060725024345           Electric       Gov. Aggregation   FEOH - OE     08039479490000789105        Electric       Gov. Aggregation
AEP - OP      00140060725038035           Electric       Gov. Aggregation   FEOH - OE     08039497440000805421        Electric       Gov. Aggregation
AEP - OP      00140060725058380           Electric       Gov. Aggregation   FEOH - OE     08039499780001142102        Electric       Gov. Aggregation
AEP - OP      00140060725144635           Electric       Gov. Aggregation   FEOH - OE     08038796160000790946        Electric       Gov. Aggregation
AEP - OP      00140060725306012           Electric       Gov. Aggregation   FEOH - OE     08038823280001128211        Electric       Gov. Aggregation
AEP - OP      00140060725495973           Electric       Gov. Aggregation   FEOH - OE     08038844840001043561        Electric       Gov. Aggregation
AEP - OP      00140060725642495           Electric       Gov. Aggregation   FEOH - OE     08038935890000806119        Electric       Gov. Aggregation
AEP - OP      00140060724922112           Electric       Gov. Aggregation   FEOH - TE     08038951085001256024        Electric       Gov. Aggregation
AEP - OP      00140060725153545           Electric       Gov. Aggregation   FEOH - OE     08039054800000778689        Electric       Gov. Aggregation
AEP - OP      00140060725205960           Electric       Gov. Aggregation   FEOH - OE     08039097510001553614        Electric       Gov. Aggregation
AEP - OP      00140060725376521           Electric       Gov. Aggregation   FEOH - OE     08027544160001130740        Electric       Gov. Aggregation
AEP - OP      00140060725381843           Electric       Gov. Aggregation   FEOH - OE     08027546380001130771        Electric       Gov. Aggregation
AEP - OP      00140060725512265           Electric       Gov. Aggregation   FEOH - OE     08027548240001130815        Electric       Gov. Aggregation
AEP - OP      00140060725512800           Electric       Gov. Aggregation   FEOH - OE     08027560370001043629        Electric       Gov. Aggregation
AEP - OP      00140060725294291           Electric       Gov. Aggregation   FEOH - OE     08027562460001131225        Electric       Gov. Aggregation
AEP - OP      00140060725317552           Electric       Gov. Aggregation   FEOH - OE     08027568050001045201        Electric       Gov. Aggregation
AEP - OP      00140060725484195           Electric       Gov. Aggregation   FEOH - OE     08027594340001041928        Electric       Gov. Aggregation
AEP - OP      00140060725556943           Electric       Gov. Aggregation   FEOH - OE     08027725710001330052        Electric       Gov. Aggregation
AEP - OP      00140060725599435           Electric       Gov. Aggregation   FEOH - OE     08027727180001042270        Electric       Gov. Aggregation
AEP - OP      00140060725662845           Electric       Gov. Aggregation   FEOH - OE     08027730320001130966        Electric       Gov. Aggregation
AEP - OP      00140060737435613           Electric       Gov. Aggregation   FEOH - OE     08027731830001360657        Electric       Gov. Aggregation
AEP - OP      00140060737546524           Electric       Gov. Aggregation   FEOH - OE     08027732840001131473        Electric       Gov. Aggregation
AEP - OP      00140060737558085           Electric       Gov. Aggregation   FEOH - OE     08027732990001320473        Electric       Gov. Aggregation
AEP - OP      00140060737614404           Electric       Gov. Aggregation   FEOH - OE     08027733620001130568        Electric       Gov. Aggregation
AEP - OP      00140060737717355           Electric       Gov. Aggregation   FEOH - OE     08038532910000583946        Electric       Gov. Aggregation
AEP - OP      00140060737780940           Electric       Gov. Aggregation   FEOH - OE     08038554730000187140        Electric       Gov. Aggregation
AEP - OP      00140060737938705           Electric       Gov. Aggregation   FEOH - OE     08038571120001043633        Electric       Gov. Aggregation
AEP - OP      00140060733048702           Electric       Gov. Aggregation   FEOH - OE     08038586920000587670        Electric       Gov. Aggregation
AEP - OP      00140060733096313           Electric       Gov. Aggregation   FEOH - TE     08038612512680021959        Electric       Gov. Aggregation
AEP - OP      00140060733374322           Electric       Gov. Aggregation   FEOH - TE     08038661983000010304        Electric       Gov. Aggregation
AEP - OP      00140060733440462           Electric       Gov. Aggregation   FEOH - TE     08038680582600007435        Electric       Gov. Aggregation
AEP - OP      00140060733705894           Electric       Gov. Aggregation   FEOH - OE     08027727470001042274        Electric       Gov. Aggregation
AEP - OP      00140060733942924           Electric       Gov. Aggregation   FEOH - OE     08027735260001488439        Electric       Gov. Aggregation
AEP - OP      00140060733957321           Electric       Gov. Aggregation   FEOH - OE     08027735660001357054        Electric       Gov. Aggregation
AEP - OP      00140060733992283           Electric       Gov. Aggregation   FEOH - OE     08027737630001300088        Electric       Gov. Aggregation
AEP - OP      00140060734048245           Electric       Gov. Aggregation   FEOH - OE     08027737880001130997        Electric       Gov. Aggregation
AEP - OP      00140060734120280           Electric       Gov. Aggregation   FEOH - OE     08027738580001131007        Electric       Gov. Aggregation
AEP - OP      00140060734355710           Electric       Gov. Aggregation   FEOH - OE     08027770495000105218        Electric       Gov. Aggregation
AEP - OP      00140060734412224           Electric       Gov. Aggregation   FEOH - OE     08032150055000352518        Electric       Gov. Aggregation
AEP - OP      00140060725651633           Electric       Gov. Aggregation   FEOH - OE     08032185190000789238        Electric       Gov. Aggregation
AEP - OP      00140060725781082           Electric       Gov. Aggregation   FEOH - OE     08032253580000790188        Electric       Gov. Aggregation
AEP - OP      00140060726161445           Electric       Gov. Aggregation   FEOH - OE     08032312260001428128        Electric       Gov. Aggregation
AEP - OP      00140060726194672           Electric       Gov. Aggregation   FEOH - OE     08032325660001130368        Electric       Gov. Aggregation
AEP - OP      00140060726222662           Electric       Gov. Aggregation   FEOH - TE     08032360102850022995        Electric       Gov. Aggregation
AEP - OP      00140060726301402           Electric       Gov. Aggregation   FEOH - TE     08032385972210012130        Electric       Gov. Aggregation
AEP - OP      00140060725669143           Electric       Gov. Aggregation   FEOH - OE     08039613190000803340        Electric       Gov. Aggregation
AEP - OP      00140060725762630           Electric       Gov. Aggregation   FEOH - TE     08039820232070090317        Electric       Gov. Aggregation
AEP - OP      00140060725770254           Electric       Gov. Aggregation   FEOH - TE     08039821582040001515        Electric       Gov. Aggregation
AEP - OP      00140060725809453           Electric       Gov. Aggregation   FEOH - OE     08039852830001127946        Electric       Gov. Aggregation
AEP - OP      00140060725820455           Electric       Gov. Aggregation   FEOH - OE     08039898135000371525        Electric       Gov. Aggregation
AEP - OP      00140060725903293           Electric       Gov. Aggregation   FEOH - OE     08039930880000168284        Electric       Gov. Aggregation
AEP - OP      00140060732837731           Electric       Gov. Aggregation   FEOH - OE     08039999400000786455        Electric       Gov. Aggregation
AEP - OP      00140060732933210           Electric       Gov. Aggregation   FEOH - OE     08027599760001042014        Electric       Gov. Aggregation
AEP - OP      00140060733026962           Electric       Gov. Aggregation   FEOH - OE     08027613600001131109        Electric       Gov. Aggregation
AEP - OP      00140060733035191           Electric       Gov. Aggregation   FEOH - OE     08027614790001131101        Electric       Gov. Aggregation
AEP - OP      00140060733134954           Electric       Gov. Aggregation   FEOH - OE     08027615060001131091        Electric       Gov. Aggregation
AEP - OP      00140060725543340           Electric       Gov. Aggregation   FEOH - OE     08027615480001129428        Electric       Gov. Aggregation
AEP - OP      00140060725644903           Electric       Gov. Aggregation   FEOH - OE     08027615590001331676        Electric       Gov. Aggregation
AEP - OP      00140060725949825           Electric       Gov. Aggregation   FEOH - OE     08027615680001329832        Electric       Gov. Aggregation
AEP - OP      00140060726006333           Electric       Gov. Aggregation   FEOH - OE     08027735100001130995        Electric       Gov. Aggregation
AEP - OP      00140060726085494           Electric       Gov. Aggregation   FEOH - OE     08027736080001131472        Electric       Gov. Aggregation
AEP - OP      00140060726178205           Electric       Gov. Aggregation   FEOH - OE     08027736320001131022        Electric       Gov. Aggregation
AEP - OP      00140060733948144           Electric       Gov. Aggregation   FEOH - OE     08027736940001130578        Electric       Gov. Aggregation
AEP - OP      00140060734215364           Electric       Gov. Aggregation   FEOH - OE     08027737150001131020        Electric       Gov. Aggregation
AEP - OP      00140060734263254           Electric       Gov. Aggregation   FEOH - OE     08027737290001131024        Electric       Gov. Aggregation
AEP - OP      00140060734282123           Electric       Gov. Aggregation   FEOH - OE     08027738880001131012        Electric       Gov. Aggregation
AEP - OP      00140060734288203           Electric       Gov. Aggregation   FEOH - OE     08038721820001547849        Electric       Gov. Aggregation
AEP - OP      00140060734298821           Electric       Gov. Aggregation   FEOH - OE     08038792130000791642        Electric       Gov. Aggregation
AEP - OP      00140060734355063           Electric       Gov. Aggregation   FEOH - OE     08038802120000784452        Electric       Gov. Aggregation
AEP - OP      00140060734512853           Electric       Gov. Aggregation   FEOH - OE     08038831440000784453        Electric       Gov. Aggregation
AEP - OP      00140060734550212           Electric       Gov. Aggregation   FEOH - OE     08038840000001128024        Electric       Gov. Aggregation
AEP - OP      00140060734680083           Electric       Gov. Aggregation   FEOH - OE     08038898520000790660        Electric       Gov. Aggregation
AEP - OP      00140060734712645           Electric       Gov. Aggregation   FEOH - OE     08027772215001392808        Electric       Gov. Aggregation
AEP - OP      00140060734789290           Electric       Gov. Aggregation   FEOH - OE     08027853260001042535        Electric       Gov. Aggregation
AEP - OP      00140060735081535           Electric       Gov. Aggregation   FEOH - OE     08027855350001042219        Electric       Gov. Aggregation
AEP - OP      00140060733345625           Electric       Gov. Aggregation   FEOH - OE     08027933900001130081        Electric       Gov. Aggregation
AEP - OP      00140060733411205           Electric       Gov. Aggregation   FEOH - OE     08027941135000300185        Electric       Gov. Aggregation
AEP - OP      00140060733464462           Electric       Gov. Aggregation   FEOH - OE     08027975620001128493        Electric       Gov. Aggregation
AEP - OP      00140060733495655           Electric       Gov. Aggregation   FEOH - OE     08027978810001128579        Electric       Gov. Aggregation
AEP - OP      00140060733650911           Electric       Gov. Aggregation   FEOH - TE     08032501815000216531        Electric       Gov. Aggregation
AEP - OP      00140060733692733           Electric       Gov. Aggregation   FEOH - OE     08032646150000786366        Electric       Gov. Aggregation
AEP - OP      00140060733703715           Electric       Gov. Aggregation   FEOH - OE     08032749700001572388        Electric       Gov. Aggregation
AEP - OP      00140060734436180           Electric       Gov. Aggregation   FEOH - OE     08032803530001130956        Electric       Gov. Aggregation
AEP - OP      00140060734494274           Electric       Gov. Aggregation   FEOH - OE     08032823820001346560        Electric       Gov. Aggregation
AEP - OP      00140060734518641           Electric       Gov. Aggregation   FEOH - OE     08032878270001535992        Electric       Gov. Aggregation
AEP - OP      00140060734599405           Electric       Gov. Aggregation   FEOH - OE     08038901380001328546        Electric       Gov. Aggregation
AEP - OP      00140060734618832           Electric       Gov. Aggregation   FEOH - OE     08038912400001384549        Electric       Gov. Aggregation
AEP - OP      00140060734717340           Electric       Gov. Aggregation   FEOH - TE     08038925192900006189        Electric       Gov. Aggregation
AEP - OP      00140060734856831           Electric       Gov. Aggregation   FEOH - TE     08038930642040000809        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060726349561           Electric       Gov. Aggregation   FEOH - OE     08038938240000790479        Electric       Gov. Aggregation
AEP - OP      00140060726431883           Electric       Gov. Aggregation   FEOH - TE     08038951085000385241        Electric       Gov. Aggregation
AEP - OP      00140060726665753           Electric       Gov. Aggregation   FEOH - OE     08038964850001127623        Electric       Gov. Aggregation
AEP - OP      00140060726847014           Electric       Gov. Aggregation   FEOH - OE     08040082440001127846        Electric       Gov. Aggregation
AEP - OP      00140060726869581           Electric       Gov. Aggregation   FEOH - OE     08040302490001040580        Electric       Gov. Aggregation
AEP - OP      00140060726903651           Electric       Gov. Aggregation   FEOH - OE     08040326790000584099        Electric       Gov. Aggregation
AEP - OP      00140060726198623           Electric       Gov. Aggregation   FEOH - TE     08040377562810022727        Electric       Gov. Aggregation
AEP - OP      00140060726235862           Electric       Gov. Aggregation   FEOH - OE     08040421890001424557        Electric       Gov. Aggregation
AEP - OP      00140060726324763           Electric       Gov. Aggregation   FEOH - OE     08040449650001127960        Electric       Gov. Aggregation
AEP - OP      00140060726387984           Electric       Gov. Aggregation   FEOH - OE     08040502300001128259        Electric       Gov. Aggregation
AEP - OP      00140060726394763           Electric       Gov. Aggregation   FEOH - OE     08039112450000790593        Electric       Gov. Aggregation
AEP - OP      00140060726533603           Electric       Gov. Aggregation   FEOH - OE     08039126290001130067        Electric       Gov. Aggregation
AEP - OP      00140060726587094           Electric       Gov. Aggregation   FEOH - OE     08039154650000778738        Electric       Gov. Aggregation
AEP - OP      00140060726450983           Electric       Gov. Aggregation   FEOH - OE     08039260340000806206        Electric       Gov. Aggregation
AEP - OP      00140060726530843           Electric       Gov. Aggregation   FEOH - OE     08039294200000778657        Electric       Gov. Aggregation
AEP - OP      00140060726641201           Electric       Gov. Aggregation   FEOH - OE     08039350310001042015        Electric       Gov. Aggregation
AEP - OP      00140060726684210           Electric       Gov. Aggregation   FEOH - OE     08039423090001495232        Electric       Gov. Aggregation
AEP - OP      00140060726692480           Electric       Gov. Aggregation   FEOH - OE     08034247250000784481        Electric       Gov. Aggregation
AEP - OP      00140060726729900           Electric       Gov. Aggregation   FEOH - OE     08034269825000269200        Electric       Gov. Aggregation
AEP - OP      00140060737982264           Electric       Gov. Aggregation   FEOH - OE     08034322490001127870        Electric       Gov. Aggregation
AEP - OP      00140060738100203           Electric       Gov. Aggregation   FEOH - OE     08034347400000777826        Electric       Gov. Aggregation
AEP - OP      00140060738119263           Electric       Gov. Aggregation   FEOH - OE     08034380640000762685        Electric       Gov. Aggregation
AEP - OP      00140060738240192           Electric       Gov. Aggregation   FEOH - OE     08034380940000805426        Electric       Gov. Aggregation
AEP - OP      00140060738456955           Electric       Gov. Aggregation   FEOH - OE     08034381360001489743        Electric       Gov. Aggregation
AEP - OP      00140060738718544           Electric       Gov. Aggregation   FEOH - OE     08027616990001143303        Electric       Gov. Aggregation
AEP - OP      00140060738883910           Electric       Gov. Aggregation   FEOH - OE     08027617100001131053        Electric       Gov. Aggregation
AEP - OP      00140060735118622           Electric       Gov. Aggregation   FEOH - OE     08027617640001131060        Electric       Gov. Aggregation
AEP - OP      00140060735436512           Electric       Gov. Aggregation   FEOH - OE     08027617810001143100        Electric       Gov. Aggregation
AEP - OP      00140060735441295           Electric       Gov. Aggregation   FEOH - OE     08027619160001131037        Electric       Gov. Aggregation
AEP - OP      00140060735455481           Electric       Gov. Aggregation   FEOH - OE     08027623290001043800        Electric       Gov. Aggregation
AEP - OP      00140060735457323           Electric       Gov. Aggregation   FEOH - OE     08027652470001042052        Electric       Gov. Aggregation
AEP - OP      00140060735458041           Electric       Gov. Aggregation   FEOH - OE     08027779020001130085        Electric       Gov. Aggregation
AEP - OP      00140060737959394           Electric       Gov. Aggregation   FEOH - OE     08027853130001042533        Electric       Gov. Aggregation
AEP - OP      00140060737987931           Electric       Gov. Aggregation   FEOH - OE     08027887160001042708        Electric       Gov. Aggregation
AEP - OP      00140060737996170           Electric       Gov. Aggregation   FEOH - OE     08027931220001347288        Electric       Gov. Aggregation
AEP - OP      00140060738177160           Electric       Gov. Aggregation   FEOH - OE     08027931250001130038        Electric       Gov. Aggregation
AEP - OP      00140060738204752           Electric       Gov. Aggregation   FEOH - OE     08027937100001044555        Electric       Gov. Aggregation
AEP - OP      00140060738215853           Electric       Gov. Aggregation   FEOH - OE     08027975780001128502        Electric       Gov. Aggregation
AEP - OP      00140060738328730           Electric       Gov. Aggregation   FEOH - OE     08027979580001128594        Electric       Gov. Aggregation
AEP - OP      00140060734981804           Electric       Gov. Aggregation   FEOH - OE     08028039150001129385        Electric       Gov. Aggregation
AEP - OP      00140060735079084           Electric       Gov. Aggregation   FEOH - OE     08028048550001372738        Electric       Gov. Aggregation
AEP - OP      00140060735087981           Electric       Gov. Aggregation   FEOH - OE     08028048580001128765        Electric       Gov. Aggregation
AEP - OP      00140060735091500           Electric       Gov. Aggregation   FEOH - OE     08028120260001128815        Electric       Gov. Aggregation
AEP - OP      00140060735102573           Electric       Gov. Aggregation   FEOH - OE     08028121620001128845        Electric       Gov. Aggregation
AEP - OP      00140060735116855           Electric       Gov. Aggregation   FEOH - OE     08032918845000227854        Electric       Gov. Aggregation
AEP - OP      00140060735169674           Electric       Gov. Aggregation   FEOH - OE     08033079500001317446        Electric       Gov. Aggregation
AEP - OP      00140060726761875           Electric       Gov. Aggregation   FEOH - OE     08033117930000803419        Electric       Gov. Aggregation
AEP - OP      00140060726782412           Electric       Gov. Aggregation   FEOH - TE     08033134242170012768        Electric       Gov. Aggregation
AEP - OP      00140060726822381           Electric       Gov. Aggregation   FEOH - OE     08033172870001564071        Electric       Gov. Aggregation
AEP - OP      00140060726872471           Electric       Gov. Aggregation   FEOH - OE     08033192970000790863        Electric       Gov. Aggregation
AEP - OP      00140060726875621           Electric       Gov. Aggregation   FEOH - OE     08033195850001043468        Electric       Gov. Aggregation
AEP - OP      00140060726987131           Electric       Gov. Aggregation   FEOH - TE     08038969572380032273        Electric       Gov. Aggregation
AEP - OP      00140060727004153           Electric       Gov. Aggregation   FEOH - OE     08038984940001130040        Electric       Gov. Aggregation
AEP - OP      00140060726636905           Electric       Gov. Aggregation   FEOH - OE     08038989120001128877        Electric       Gov. Aggregation
AEP - OP      00140060726751991           Electric       Gov. Aggregation   FEOH - OE     08039042360001130266        Electric       Gov. Aggregation
AEP - OP      00140060726772152           Electric       Gov. Aggregation   FEOH - OE     08039207310000782474        Electric       Gov. Aggregation
AEP - OP      00140060726783660           Electric       Gov. Aggregation   FEOH - TE     08039222802300031125        Electric       Gov. Aggregation
AEP - OP      00140060726842145           Electric       Gov. Aggregation   FEOH - OE     08039245090000844883        Electric       Gov. Aggregation
AEP - OP      00140060726865882           Electric       Gov. Aggregation   FEOH - OE     08039435180000792557        Electric       Gov. Aggregation
AEP - OP      00140060726939401           Electric       Gov. Aggregation   FEOH - OE     08039488350000786328        Electric       Gov. Aggregation
AEP - OP      00140060738969480           Electric       Gov. Aggregation   FEOH - OE     08039516510001143198        Electric       Gov. Aggregation
AEP - OP      00140060739101805           Electric       Gov. Aggregation   FEOH - OE     08039583915000379088        Electric       Gov. Aggregation
AEP - OP      00140060739127990           Electric       Gov. Aggregation   FEOH - OE     08039615370001127942        Electric       Gov. Aggregation
AEP - OP      00140060739266553           Electric       Gov. Aggregation   FEOH - TE     08039661622080028112        Electric       Gov. Aggregation
AEP - OP      00140060739343904           Electric       Gov. Aggregation   FEOH - OE     08039663585000387115        Electric       Gov. Aggregation
AEP - OP      00140060739443131           Electric       Gov. Aggregation   FEOH - OE     08040502710000788739        Electric       Gov. Aggregation
AEP - OP      00140060739543823           Electric       Gov. Aggregation   FEOH - OE     08040614870000187118        Electric       Gov. Aggregation
AEP - OP      00140060727031331           Electric       Gov. Aggregation   FEOH - TE     08040662942850024366        Electric       Gov. Aggregation
AEP - OP      00140060727410670           Electric       Gov. Aggregation   FEOH - OE     08040764680000803701        Electric       Gov. Aggregation
AEP - OP      00140060727558894           Electric       Gov. Aggregation   FEOH - OE     08040809900001131334        Electric       Gov. Aggregation
AEP - OP      00140060727568591           Electric       Gov. Aggregation   FEOH - OE     08040839890001044737        Electric       Gov. Aggregation
AEP - OP      00140060727617103           Electric       Gov. Aggregation   FEOH - OE     08040845330000805410        Electric       Gov. Aggregation
AEP - OP      00140060727739163           Electric       Gov. Aggregation   FEOH - OE     08034399940000604227        Electric       Gov. Aggregation
AEP - OP      00140060735633082           Electric       Gov. Aggregation   FEOH - TE     08034400432680023743        Electric       Gov. Aggregation
AEP - OP      00140060735847635           Electric       Gov. Aggregation   FEOH - OE     08034402125000132609        Electric       Gov. Aggregation
AEP - OP      00140060735847874           Electric       Gov. Aggregation   FEOH - OE     08034417030000784471        Electric       Gov. Aggregation
AEP - OP      00140060736007072           Electric       Gov. Aggregation   FEOH - TE     08034429002600003716        Electric       Gov. Aggregation
AEP - OP      00140060736129685           Electric       Gov. Aggregation   FEOH - OE     08034466820001559761        Electric       Gov. Aggregation
AEP - OP      00140060736265080           Electric       Gov. Aggregation   FEOH - OE     08034484840001043476        Electric       Gov. Aggregation
AEP - OP      00140060736292841           Electric       Gov. Aggregation   FEOH - OE     08027654050001042073        Electric       Gov. Aggregation
AEP - OP      00140060733831151           Electric       Gov. Aggregation   FEOH - OE     08027654090001042074        Electric       Gov. Aggregation
AEP - OP      00140060733841263           Electric       Gov. Aggregation   FEOH - OE     08027657160001042116        Electric       Gov. Aggregation
AEP - OP      00140060733983475           Electric       Gov. Aggregation   FEOH - OE     08027658940001042143        Electric       Gov. Aggregation
AEP - OP      00140060734004124           Electric       Gov. Aggregation   FEOH - OE     08027659620001042154        Electric       Gov. Aggregation
AEP - OP      00140060734118985           Electric       Gov. Aggregation   FEOH - OE     08027660640001041930        Electric       Gov. Aggregation
AEP - OP      00140060734156095           Electric       Gov. Aggregation   FEOH - OE     08027681130001130887        Electric       Gov. Aggregation
AEP - OP      00140060734168680           Electric       Gov. Aggregation   FEOH - OE     08027979720001128960        Electric       Gov. Aggregation
AEP - OP      00140060738356794           Electric       Gov. Aggregation   FEOH - OE     08028037890001131352        Electric       Gov. Aggregation
AEP - OP      00140060738363581           Electric       Gov. Aggregation   FEOH - OE     08028040110001128384        Electric       Gov. Aggregation
AEP - OP      00140060738492932           Electric       Gov. Aggregation   FEOH - OE     08028040110001128604        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060738666912           Electric       Gov. Aggregation   FEOH - OE     08028043290001129101        Electric       Gov. Aggregation
AEP - OP      00140060738681513           Electric       Gov. Aggregation   FEOH - OE     08028043600001128673        Electric       Gov. Aggregation
AEP - OP      00140060738705662           Electric       Gov. Aggregation   FEOH - OE     08028126450001128961        Electric       Gov. Aggregation
AEP - OP      00140060738874462           Electric       Gov. Aggregation   FEOH - OE     08028126820001128970        Electric       Gov. Aggregation
AEP - OP      00140060735284901           Electric       Gov. Aggregation   FEOH - OE     08028126890001442716        Electric       Gov. Aggregation
AEP - OP      00140060735422974           Electric       Gov. Aggregation   FEOH - OE     08028128290001128980        Electric       Gov. Aggregation
AEP - OP      00140060735521631           Electric       Gov. Aggregation   FEOH - OE     08028129720001129038        Electric       Gov. Aggregation
AEP - OP      00140060735679492           Electric       Gov. Aggregation   FEOH - OE     08028174210001129437        Electric       Gov. Aggregation
AEP - OP      00140060735741380           Electric       Gov. Aggregation   FEOH - OE     08028182500001129052        Electric       Gov. Aggregation
AEP - OP      00140060735764751           Electric       Gov. Aggregation   FEOH - OE     08033266810000804386        Electric       Gov. Aggregation
AEP - OP      00140060735792533           Electric       Gov. Aggregation   FEOH - OE     08033271040000786326        Electric       Gov. Aggregation
AEP - OP      00140060727043835           Electric       Gov. Aggregation   FEOH - OE     08033334700000803381        Electric       Gov. Aggregation
AEP - OP      00140060727086905           Electric       Gov. Aggregation   FEOH - TE     08033382242380027363        Electric       Gov. Aggregation
AEP - OP      00140060727210614           Electric       Gov. Aggregation   FEOH - OE     08033418390000790333        Electric       Gov. Aggregation
AEP - OP      00140060727221231           Electric       Gov. Aggregation   FEOH - OE     08033453230001040395        Electric       Gov. Aggregation
AEP - OP      00140060727234574           Electric       Gov. Aggregation   FEOH - OE     08033467420001303040        Electric       Gov. Aggregation
AEP - OP      00140060727248214           Electric       Gov. Aggregation   FEOH - OE     08039312830001130289        Electric       Gov. Aggregation
AEP - OP      00140060727384525           Electric       Gov. Aggregation   FEOH - TE     08039391452390001315        Electric       Gov. Aggregation
AEP - OP      00140060726940472           Electric       Gov. Aggregation   FEOH - OE     08039397710001543004        Electric       Gov. Aggregation
AEP - OP      00140060726993483           Electric       Gov. Aggregation   FEOH - TE     08039532392370092852        Electric       Gov. Aggregation
AEP - OP      00140060727132322           Electric       Gov. Aggregation   FEOH - TE     08039570342210009333        Electric       Gov. Aggregation
AEP - OP      00140060727164113           Electric       Gov. Aggregation   FEOH - OE     08039605370000788785        Electric       Gov. Aggregation
AEP - OP      00140060727205621           Electric       Gov. Aggregation   FEOH - OE     08039664800000790798        Electric       Gov. Aggregation
AEP - OP      00140060727214474           Electric       Gov. Aggregation   FEOH - OE     08039708940000810088        Electric       Gov. Aggregation
AEP - OP      00140060727218423           Electric       Gov. Aggregation   FEOH - OE     08039745280000584217        Electric       Gov. Aggregation
AEP - OP      00140060736304925           Electric       Gov. Aggregation   FEOH - OE     08039824190001142692        Electric       Gov. Aggregation
AEP - OP      00140060736363450           Electric       Gov. Aggregation   FEOH - OE     08039877815000371230        Electric       Gov. Aggregation
AEP - OP      00140060736375615           Electric       Gov. Aggregation   FEOH - TE     08039902833000001703        Electric       Gov. Aggregation
AEP - OP      00140060736533805           Electric       Gov. Aggregation   FEOH - OE     08039944110001452223        Electric       Gov. Aggregation
AEP - OP      00140060736582173           Electric       Gov. Aggregation   FEOH - OE     08039989790000806094        Electric       Gov. Aggregation
AEP - OP      00140060736636104           Electric       Gov. Aggregation   FEOH - OE     08034484970001430402        Electric       Gov. Aggregation
AEP - OP      00140060736783194           Electric       Gov. Aggregation   FEOH - OE     08034506280000590608        Electric       Gov. Aggregation
AEP - OP      00140060727920252           Electric       Gov. Aggregation   FEOH - OE     08034514825001393365        Electric       Gov. Aggregation
AEP - OP      00140060727988181           Electric       Gov. Aggregation   FEOH - OE     08034520550001335953        Electric       Gov. Aggregation
AEP - OP      00140060728139264           Electric       Gov. Aggregation   FEOH - OE     08034562550000784589        Electric       Gov. Aggregation
AEP - OP      00140060728146553           Electric       Gov. Aggregation   FEOH - OE     08034661550000788973        Electric       Gov. Aggregation
AEP - OP      00140060728165751           Electric       Gov. Aggregation   FEOH - OE     08027686030001346094        Electric       Gov. Aggregation
AEP - OP      00140060728245674           Electric       Gov. Aggregation   FEOH - OE     08027686390001425974        Electric       Gov. Aggregation
AEP - OP      00140060728372854           Electric       Gov. Aggregation   FEOH - OE     08027686900001127890        Electric       Gov. Aggregation
AEP - OP      00140060727222610           Electric       Gov. Aggregation   FEOH - OE     08027687200001130977        Electric       Gov. Aggregation
AEP - OP      00140060727252584           Electric       Gov. Aggregation   FEOH - OE     08027688130001395525        Electric       Gov. Aggregation
AEP - OP      00140060727419845           Electric       Gov. Aggregation   FEOH - OE     08027691400001042370        Electric       Gov. Aggregation
AEP - OP      00140060727568480           Electric       Gov. Aggregation   FEOH - OE     08027697100001044053        Electric       Gov. Aggregation
AEP - OP      00140060727700481           Electric       Gov. Aggregation   FEOH - OE     08028044490001128691        Electric       Gov. Aggregation
AEP - OP      00140060727818952           Electric       Gov. Aggregation   FEOH - OE     08028048470001349378        Electric       Gov. Aggregation
AEP - OP      00140060728434334           Electric       Gov. Aggregation   FEOH - OE     08028112030001142046        Electric       Gov. Aggregation
AEP - OP      00140060728568710           Electric       Gov. Aggregation   FEOH - OE     08028112110001142047        Electric       Gov. Aggregation
AEP - OP      00140060728651365           Electric       Gov. Aggregation   FEOH - OE     08028121900001128852        Electric       Gov. Aggregation
AEP - OP      00140060728697870           Electric       Gov. Aggregation   FEOH - OE     08028122060001128856        Electric       Gov. Aggregation
AEP - OP      00140060728768030           Electric       Gov. Aggregation   FEOH - OE     08028122610001128870        Electric       Gov. Aggregation
AEP - OP      00140060728785752           Electric       Gov. Aggregation   FEOH - OE     08028202460001129727        Electric       Gov. Aggregation
AEP - OP      00140060728819983           Electric       Gov. Aggregation   FEOH - OE     08028224860001127945        Electric       Gov. Aggregation
AEP - OP      00140060734241995           Electric       Gov. Aggregation   FEOH - OE     08028266420001142276        Electric       Gov. Aggregation
AEP - OP      00140060734247374           Electric       Gov. Aggregation   FEOH - OE     08028267500001142315        Electric       Gov. Aggregation
AEP - OP      00140060734403214           Electric       Gov. Aggregation   FEOH - OE     08028269970001128950        Electric       Gov. Aggregation
AEP - OP      00140060734507695           Electric       Gov. Aggregation   FEOH - OE     08039679500001129128        Electric       Gov. Aggregation
AEP - OP      00140060734582764           Electric       Gov. Aggregation   FEOH - OE     08039709430000790323        Electric       Gov. Aggregation
AEP - OP      00140060734585433           Electric       Gov. Aggregation   FEOH - OE     08039723550001044470        Electric       Gov. Aggregation
AEP - OP      00140060734813225           Electric       Gov. Aggregation   FEOH - TE     08039732652380031459        Electric       Gov. Aggregation
AEP - OP      00140060735931404           Electric       Gov. Aggregation   FEOH - OE     08039803200000792184        Electric       Gov. Aggregation
AEP - OP      00140060735982485           Electric       Gov. Aggregation   FEOH - OE     08039803410001044293        Electric       Gov. Aggregation
AEP - OP      00140060736067985           Electric       Gov. Aggregation   FEOH - OE     08039825030001547887        Electric       Gov. Aggregation
AEP - OP      00140060736293810           Electric       Gov. Aggregation   FEOH - OE     08040873360001130416        Electric       Gov. Aggregation
AEP - OP      00140060736476571           Electric       Gov. Aggregation   FEOH - OE     08041033795000239323        Electric       Gov. Aggregation
AEP - OP      00140060736501302           Electric       Gov. Aggregation   FEOH - TE     08041177982770013173        Electric       Gov. Aggregation
AEP - OP      00140060736672291           Electric       Gov. Aggregation   FEOH - OE     08041263815000067951        Electric       Gov. Aggregation
AEP - OP      00140060738882934           Electric       Gov. Aggregation   FEOH - OE     08041265090000762741        Electric       Gov. Aggregation
AEP - OP      00140060738910834           Electric       Gov. Aggregation   FEOH - OE     08047092110001043649        Electric       Gov. Aggregation
AEP - OP      00140060738918430           Electric       Gov. Aggregation   FEOH - OE     08040005910001142095        Electric       Gov. Aggregation
AEP - OP      00140060738988095           Electric       Gov. Aggregation   FEOH - OE     08040075070000805474        Electric       Gov. Aggregation
AEP - OP      00140060739013945           Electric       Gov. Aggregation   FEOH - OE     08040179130001040727        Electric       Gov. Aggregation
AEP - OP      00140060739024152           Electric       Gov. Aggregation   FEOH - OE     08040188650001127589        Electric       Gov. Aggregation
AEP - OP      00140060739047970           Electric       Gov. Aggregation   FEOH - OE     08040241730000778714        Electric       Gov. Aggregation
AEP - OP      00140060739327983           Electric       Gov. Aggregation   FEOH - OE     08040284410000778088        Electric       Gov. Aggregation
AEP - OP      00140060739346942           Electric       Gov. Aggregation   FEOH - TE     08034724692030032863        Electric       Gov. Aggregation
AEP - OP      00140060739369854           Electric       Gov. Aggregation   FEOH - OE     08034725080000762733        Electric       Gov. Aggregation
AEP - OP      00140060739438941           Electric       Gov. Aggregation   FEOH - OE     08034734050001044512        Electric       Gov. Aggregation
AEP - OP      00140060739511763           Electric       Gov. Aggregation   FEOH - OE     08034754990000604234        Electric       Gov. Aggregation
AEP - OP      00140060739532590           Electric       Gov. Aggregation   FEOH - OE     08034778930001553566        Electric       Gov. Aggregation
AEP - OP      00140060739624133           Electric       Gov. Aggregation   FEOH - OE     08034843430000778751        Electric       Gov. Aggregation
AEP - OP      00140060739873495           Electric       Gov. Aggregation   FEOH - OE     08034869810001143312        Electric       Gov. Aggregation
AEP - OP      00140060739968081           Electric       Gov. Aggregation   FEOH - OE     08027724450001042227        Electric       Gov. Aggregation
AEP - OP      00140060739995475           Electric       Gov. Aggregation   FEOH - OE     08027731920001351766        Electric       Gov. Aggregation
AEP - OP      00140060740134485           Electric       Gov. Aggregation   FEOH - OE     08027732370001130978        Electric       Gov. Aggregation
AEP - OP      00140060740255360           Electric       Gov. Aggregation   FEOH - OE     08027733330001367862        Electric       Gov. Aggregation
AEP - OP      00140060740288214           Electric       Gov. Aggregation   FEOH - OE     08027733440001477701        Electric       Gov. Aggregation
AEP - OP      00140060727480985           Electric       Gov. Aggregation   FEOH - OE     08027734260001317272        Electric       Gov. Aggregation
AEP - OP      00140060727604550           Electric       Gov. Aggregation   FEOH - OE     08027736320001130460        Electric       Gov. Aggregation
AEP - OP      00140060727734663           Electric       Gov. Aggregation   FEOH - OE     08028124340001128912        Electric       Gov. Aggregation
AEP - OP      00140060727800943           Electric       Gov. Aggregation   FEOH - OE     08028125190001128934        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060727810845           Electric       Gov. Aggregation   FEOH - OE     08028129680001129037        Electric       Gov. Aggregation
AEP - OP      00140060727862825           Electric       Gov. Aggregation   FEOH - OE     08028265160001142220        Electric       Gov. Aggregation
AEP - OP      00140060727878430           Electric       Gov. Aggregation   FEOH - OE     08028266420001130566        Electric       Gov. Aggregation
AEP - OP      00140060727837665           Electric       Gov. Aggregation   FEOH - OE     08028268320001142345        Electric       Gov. Aggregation
AEP - OP      00140060727969225           Electric       Gov. Aggregation   FEOH - OE     08049739335000075047        Electric       Gov. Aggregation
AEP - OP      00140060728114412           Electric       Gov. Aggregation   FEOH - OE     08049757870000803768        Electric       Gov. Aggregation
AEP - OP      00140060728205090           Electric       Gov. Aggregation   FEOH - OE     08049773900000790530        Electric       Gov. Aggregation
AEP - OP      00140060728294644           Electric       Gov. Aggregation   FEOH - OE     08049792960000786621        Electric       Gov. Aggregation
AEP - OP      00140060728425483           Electric       Gov. Aggregation   FEOH - OE     08049810530000765670        Electric       Gov. Aggregation
AEP - OP      00140060728477554           Electric       Gov. Aggregation   FEOH - OE     08049879640000784625        Electric       Gov. Aggregation
AEP - OP      00140060739628484           Electric       Gov. Aggregation   FEOH - OE     08049935520000765678        Electric       Gov. Aggregation
AEP - OP      00140060739766771           Electric       Gov. Aggregation   FEOH - OE     08028421450001043114        Electric       Gov. Aggregation
AEP - OP      00140060739770721           Electric       Gov. Aggregation   FEOH - TE     08028703055000081652        Electric       Gov. Aggregation
AEP - OP      00140060739833755           Electric       Gov. Aggregation   FEOH - OE     08028757210000776750        Electric       Gov. Aggregation
AEP - OP      00140060739956504           Electric       Gov. Aggregation   FEOH - OE     08028827660000783810        Electric       Gov. Aggregation
AEP - OP      00140060739997361           Electric       Gov. Aggregation   FEOH - OE     08029032180000804479        Electric       Gov. Aggregation
AEP - OP      00140060728861645           Electric       Gov. Aggregation   FEOH - TE     08029072962380031214        Electric       Gov. Aggregation
AEP - OP      00140060728874203           Electric       Gov. Aggregation   FEOH - OE     08033503015000071593        Electric       Gov. Aggregation
AEP - OP      00140060728903842           Electric       Gov. Aggregation   FEOH - OE     08033503015000071593        Electric       Gov. Aggregation
AEP - OP      00140060728906375           Electric       Gov. Aggregation   FEOH - OE     08033510810001044813        Electric       Gov. Aggregation
AEP - OP      00140060728917605           Electric       Gov. Aggregation   FEOH - OE     08033519950000804109        Electric       Gov. Aggregation
AEP - OP      00140060729048652           Electric       Gov. Aggregation   FEOH - OE     08033706180001128021        Electric       Gov. Aggregation
AEP - OP      00140060729049033           Electric       Gov. Aggregation   FEOH - OE     08033733840000790747        Electric       Gov. Aggregation
AEP - OP      00140060734952495           Electric       Gov. Aggregation   FEOH - OE     08033819540001130385        Electric       Gov. Aggregation
AEP - OP      00140060735201855           Electric       Gov. Aggregation   FEOH - OE     08034889640001453773        Electric       Gov. Aggregation
AEP - OP      00140060735201935           Electric       Gov. Aggregation   FEOH - OE     08034901090000804408        Electric       Gov. Aggregation
AEP - OP      00140060735223441           Electric       Gov. Aggregation   FEOH - OE     08034918020001043986        Electric       Gov. Aggregation
AEP - OP      00140060735249512           Electric       Gov. Aggregation   FEOH - OE     08035028680001129127        Electric       Gov. Aggregation
AEP - OP      00140060735277103           Electric       Gov. Aggregation   FEOH - OE     08035068475001379669        Electric       Gov. Aggregation
AEP - OP      00140060735321614           Electric       Gov. Aggregation   FEOH - OE     08035126770001044409        Electric       Gov. Aggregation
AEP - OP      00140060740331361           Electric       Gov. Aggregation   FEOH - OE     08039900220001043157        Electric       Gov. Aggregation
AEP - OP      00140060740372440           Electric       Gov. Aggregation   FEOH - OE     08039935760001557937        Electric       Gov. Aggregation
AEP - OP      00140060740613545           Electric       Gov. Aggregation   FEOH - OE     08040007060000791046        Electric       Gov. Aggregation
AEP - OP      00140060740618151           Electric       Gov. Aggregation   FEOH - OE     08040033890001529907        Electric       Gov. Aggregation
AEP - OP      00140060740667823           Electric       Gov. Aggregation   FEOH - TE     08040072225000390499        Electric       Gov. Aggregation
AEP - OP      00140060740984001           Electric       Gov. Aggregation   FEOH - OE     08040273870000186799        Electric       Gov. Aggregation
AEP - OP      00140060741237690           Electric       Gov. Aggregation   FEOH - OE     08040290950000789212        Electric       Gov. Aggregation
AEP - OP      00140060736680280           Electric       Gov. Aggregation   FEOH - OE     08049954890000792408        Electric       Gov. Aggregation
AEP - OP      00140060736794200           Electric       Gov. Aggregation   FEOH - OE     08050101900000186445        Electric       Gov. Aggregation
AEP - OP      00140060736803704           Electric       Gov. Aggregation   FEOH - TE     08050165682770021432        Electric       Gov. Aggregation
AEP - OP      00140060736823834           Electric       Gov. Aggregation   FEOH - OE     08050190570001040705        Electric       Gov. Aggregation
AEP - OP      00140060736934000           Electric       Gov. Aggregation   FEOH - TE     08050242542850018294        Electric       Gov. Aggregation
AEP - OP      00140060736996172           Electric       Gov. Aggregation   FEOH - OE     08050280720000806092        Electric       Gov. Aggregation
AEP - OP      00140060737009741           Electric       Gov. Aggregation   FEOH - OE     08050312310000809458        Electric       Gov. Aggregation
AEP - OP      00140060736820403           Electric       Gov. Aggregation   FEOH - OE     08028407330001130716        Electric       Gov. Aggregation
AEP - OP      00140060736858401           Electric       Gov. Aggregation   FEOH - OE     08028712385000109975        Electric       Gov. Aggregation
AEP - OP      00140060736955785           Electric       Gov. Aggregation   FEOH - OE     08028722610001128113        Electric       Gov. Aggregation
AEP - OP      00140060737053571           Electric       Gov. Aggregation   FEOH - OE     08028738055000105335        Electric       Gov. Aggregation
AEP - OP      00140060737076035           Electric       Gov. Aggregation   FEOH - OE     08029105650000778821        Electric       Gov. Aggregation
AEP - OP      00140060737098135           Electric       Gov. Aggregation   FEOH - OE     08029152710001129444        Electric       Gov. Aggregation
AEP - OP      00140060727888122           Electric       Gov. Aggregation   FEOH - OE     08029211560000584157        Electric       Gov. Aggregation
AEP - OP      00140060727927534           Electric       Gov. Aggregation   FEOH - OE     08029262930000789204        Electric       Gov. Aggregation
AEP - OP      00140060727958994           Electric       Gov. Aggregation   FEOH - OE     08029343470001442840        Electric       Gov. Aggregation
AEP - OP      00140060727971445           Electric       Gov. Aggregation   FEOH - TE     08029369602040001572        Electric       Gov. Aggregation
AEP - OP      00140060728021252           Electric       Gov. Aggregation   FEOH - OE     08027736680001131028        Electric       Gov. Aggregation
AEP - OP      00140060728194523           Electric       Gov. Aggregation   FEOH - OE     08027737750001362544        Electric       Gov. Aggregation
AEP - OP      00140060728230325           Electric       Gov. Aggregation   FEOH - OE     08027772780001041394        Electric       Gov. Aggregation
AEP - OP      00140060740012072           Electric       Gov. Aggregation   FEOH - OE     08027792200001128441        Electric       Gov. Aggregation
AEP - OP      00140060740068362           Electric       Gov. Aggregation   FEOH - OE     08027792470001042341        Electric       Gov. Aggregation
AEP - OP      00140060740099130           Electric       Gov. Aggregation   FEOH - OE     08027872260001040611        Electric       Gov. Aggregation
AEP - OP      00140060740159110           Electric       Gov. Aggregation   FEOH - OE     08033842060001043088        Electric       Gov. Aggregation
AEP - OP      00140060740560373           Electric       Gov. Aggregation   FEOH - TE     08033885852080026686        Electric       Gov. Aggregation
AEP - OP      00140060729112940           Electric       Gov. Aggregation   FEOH - TE     08033975002080027087        Electric       Gov. Aggregation
AEP - OP      00140060729117721           Electric       Gov. Aggregation   FEOH - OE     08033975420000809546        Electric       Gov. Aggregation
AEP - OP      00140060729188892           Electric       Gov. Aggregation   FEOH - OE     08034042980001044359        Electric       Gov. Aggregation
AEP - OP      00140060729251310           Electric       Gov. Aggregation   FEOH - OE     08040288740000804372        Electric       Gov. Aggregation
AEP - OP      00140060729418275           Electric       Gov. Aggregation   FEOH - OE     08040344130000762678        Electric       Gov. Aggregation
AEP - OP      00140060729460221           Electric       Gov. Aggregation   FEOH - OE     08040349710000187179        Electric       Gov. Aggregation
AEP - OP      00140060729558083           Electric       Gov. Aggregation   FEOH - OE     08040379730000790500        Electric       Gov. Aggregation
AEP - OP      00140060729573795           Electric       Gov. Aggregation   FEOH - OE     08040424390001142955        Electric       Gov. Aggregation
AEP - OP      00140060729573901           Electric       Gov. Aggregation   FEOH - TE     08040501122900010753        Electric       Gov. Aggregation
AEP - OP      00140060729784293           Electric       Gov. Aggregation   FEOH - OE     08040527540001040618        Electric       Gov. Aggregation
AEP - OP      00140060729867751           Electric       Gov. Aggregation   FEOH - OE     08035136510000786882        Electric       Gov. Aggregation
AEP - OP      00140060729962830           Electric       Gov. Aggregation   FEOH - OE     08035139030000788773        Electric       Gov. Aggregation
AEP - OP      00140060730158250           Electric       Gov. Aggregation   FEOH - OE     08035184980001378607        Electric       Gov. Aggregation
AEP - OP      00140060730206273           Electric       Gov. Aggregation   FEOH - TE     08035241582300029743        Electric       Gov. Aggregation
AEP - OP      00140060730217100           Electric       Gov. Aggregation   FEOH - TE     08035257572080021171        Electric       Gov. Aggregation
AEP - OP      00140060730264804           Electric       Gov. Aggregation   FEOH - OE     08035453690001143025        Electric       Gov. Aggregation
AEP - OP      00140060730333902           Electric       Gov. Aggregation   FEOH - OE     08040311410000790991        Electric       Gov. Aggregation
AEP - OP      00140060730461962           Electric       Gov. Aggregation   FEOH - OE     08040319840000784491        Electric       Gov. Aggregation
AEP - OP      00140060730634493           Electric       Gov. Aggregation   FEOH - OE     08040387470001555021        Electric       Gov. Aggregation
AEP - OP      00140060728500580           Electric       Gov. Aggregation   FEOH - OE     08040445680001131327        Electric       Gov. Aggregation
AEP - OP      00140060728504410           Electric       Gov. Aggregation   FEOH - OE     08040448740000849320        Electric       Gov. Aggregation
AEP - OP      00140060728523640           Electric       Gov. Aggregation   FEOH - OE     08040579380001043842        Electric       Gov. Aggregation
AEP - OP      00140060728645924           Electric       Gov. Aggregation   FEOH - OE     08050548270000766222        Electric       Gov. Aggregation
AEP - OP      00140060728768780           Electric       Gov. Aggregation   FEOH - OE     08050572380000844852        Electric       Gov. Aggregation
AEP - OP      00140060728936692           Electric       Gov. Aggregation   FEOH - OE     08050644690000168283        Electric       Gov. Aggregation
AEP - OP      00140060729218710           Electric       Gov. Aggregation   FEOH - OE     08050679280000762680        Electric       Gov. Aggregation
AEP - OP      00140060737121870           Electric       Gov. Aggregation   FEOH - OE     08050705280001045858        Electric       Gov. Aggregation
AEP - OP      00140060737164480           Electric       Gov. Aggregation   FEOH - OE     08050849220000803560        Electric       Gov. Aggregation
     Case 2:22-bk-50804                        Doc 155 Filed 04/08/22 Entered 04/08/22 16:29:21                                  Desc Main
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060737327482           Electric       Gov. Aggregation   FEOH - OE     08050850090000782601        Electric       Gov. Aggregation
AEP - OP      00140060737500932           Electric       Gov. Aggregation   FEOH - TE     08028748802680022205        Electric       Gov. Aggregation
AEP - OP      00140060737560434           Electric       Gov. Aggregation   FEOH - OE     08028827770000804379        Electric       Gov. Aggregation
AEP - OP      00140060737563354           Electric       Gov. Aggregation   FEOH - OE     08028890940001142391        Electric       Gov. Aggregation
AEP - OP      00140060737573970           Electric       Gov. Aggregation   FEOH - OE     08028934690000790630        Electric       Gov. Aggregation
AEP - OP      00140060737639634           Electric       Gov. Aggregation   FEOH - OE     08028963940001325007        Electric       Gov. Aggregation
AEP - OP      00140060737689050           Electric       Gov. Aggregation   FEOH - OE     08028984670001130924        Electric       Gov. Aggregation
AEP - OP      00140060737720894           Electric       Gov. Aggregation   FEOH - TE     08029391312290090687        Electric       Gov. Aggregation
AEP - OP      00140060737917182           Electric       Gov. Aggregation   FEOH - OE     08029439965000163093        Electric       Gov. Aggregation
AEP - OP      00140060737932202           Electric       Gov. Aggregation   FEOH - OE     08029444630000778599        Electric       Gov. Aggregation
AEP - OP      00140060738188243           Electric       Gov. Aggregation   FEOH - OE     08029494945000104381        Electric       Gov. Aggregation
AEP - OP      00140060730729234           Electric       Gov. Aggregation   FEOH - OE     08029511250001128148        Electric       Gov. Aggregation
AEP - OP      00140060730780934           Electric       Gov. Aggregation   FEOH - TE     08029572472850018045        Electric       Gov. Aggregation
AEP - OP      00140060731005981           Electric       Gov. Aggregation   FEOH - OE     08029586510001130648        Electric       Gov. Aggregation
AEP - OP      00140060731093830           Electric       Gov. Aggregation   FEOH - OE     08027931500001130042        Electric       Gov. Aggregation
AEP - OP      00140060731104695           Electric       Gov. Aggregation   FEOH - OE     08027933670001129619        Electric       Gov. Aggregation
AEP - OP      00140060731132670           Electric       Gov. Aggregation   FEOH - OE     08028037640001131422        Electric       Gov. Aggregation
AEP - OP      00140060731177281           Electric       Gov. Aggregation   FEOH - OE     08028041640001128638        Electric       Gov. Aggregation
AEP - OP      00140060728247371           Electric       Gov. Aggregation   FEOH - OE     08028045230001128706        Electric       Gov. Aggregation
AEP - OP      00140060728356285           Electric       Gov. Aggregation   FEOH - OE     08028047040001463446        Electric       Gov. Aggregation
AEP - OP      00140060728387723           Electric       Gov. Aggregation   FEOH - OE     08028048750001128767        Electric       Gov. Aggregation
AEP - OP      00140060728552030           Electric       Gov. Aggregation   FEOH - OE     08034114850000778521        Electric       Gov. Aggregation
AEP - OP      00140060728589143           Electric       Gov. Aggregation   FEOH - OE     08034331110000790658        Electric       Gov. Aggregation
AEP - OP      00140060728793231           Electric       Gov. Aggregation   FEOH - OE     08034469480000841307        Electric       Gov. Aggregation
AEP - OP      00140060728882424           Electric       Gov. Aggregation   FEOH - OE     08034472490001044659        Electric       Gov. Aggregation
AEP - OP      00140060741244194           Electric       Gov. Aggregation   FEOH - TE     08034530992850024070        Electric       Gov. Aggregation
AEP - OP      00140060741400653           Electric       Gov. Aggregation   FEOH - OE     08034563250001129589        Electric       Gov. Aggregation
AEP - OP      00140060741530642           Electric       Gov. Aggregation   FEOH - OE     08040638040001512612        Electric       Gov. Aggregation
AEP - OP      00140060741715670           Electric       Gov. Aggregation   FEOH - OE     08040703900000784451        Electric       Gov. Aggregation
AEP - OP      00140060741724964           Electric       Gov. Aggregation   FEOH - OE     08040804650001131433        Electric       Gov. Aggregation
AEP - OP      00140060741738643           Electric       Gov. Aggregation   FEOH - OE     08040828345000148998        Electric       Gov. Aggregation
AEP - OP      00140060741756470           Electric       Gov. Aggregation   FEOH - OE     08040831230001390518        Electric       Gov. Aggregation
AEP - OP      00140060740704364           Electric       Gov. Aggregation   FEOH - OE     08040848040000767213        Electric       Gov. Aggregation
AEP - OP      00140060740724885           Electric       Gov. Aggregation   FEOH - TE     08040863872210011921        Electric       Gov. Aggregation
AEP - OP      00140060740756440           Electric       Gov. Aggregation   FEOH - OE     08035493850000848874        Electric       Gov. Aggregation
AEP - OP      00140060740771483           Electric       Gov. Aggregation   FEOH - OE     08035519730000788969        Electric       Gov. Aggregation
AEP - OP      00140060740773532           Electric       Gov. Aggregation   FEOH - TE     08035529832850091599        Electric       Gov. Aggregation
AEP - OP      00140060740799830           Electric       Gov. Aggregation   FEOH - TE     08035579112040001426        Electric       Gov. Aggregation
AEP - OP      00140060740823732           Electric       Gov. Aggregation   FEOH - OE     08035716220001130970        Electric       Gov. Aggregation
AEP - OP      00140060737139911           Electric       Gov. Aggregation   FEOH - TE     08035770212900007744        Electric       Gov. Aggregation
AEP - OP      00140060737269792           Electric       Gov. Aggregation   FEOH - OE     08035819885001282795        Electric       Gov. Aggregation
AEP - OP      00140060737367443           Electric       Gov. Aggregation   FEOH - OE     08040651290001403464        Electric       Gov. Aggregation
AEP - OP      00140060737497220           Electric       Gov. Aggregation   FEOH - OE     08040683510000762288        Electric       Gov. Aggregation
AEP - OP      00140060737684791           Electric       Gov. Aggregation   FEOH - OE     08040756970001491340        Electric       Gov. Aggregation
AEP - OP      00140060737777180           Electric       Gov. Aggregation   FEOH - OE     08040804650001131431        Electric       Gov. Aggregation
AEP - OP      00140060737874900           Electric       Gov. Aggregation   FEOH - OE     08040813270001043683        Electric       Gov. Aggregation
AEP - OP      00140060735328965           Electric       Gov. Aggregation   FEOH - OE     08040886360001041497        Electric       Gov. Aggregation
AEP - OP      00140060735399763           Electric       Gov. Aggregation   FEOH - OE     08040913190000791450        Electric       Gov. Aggregation
AEP - OP      00140060735448953           Electric       Gov. Aggregation   FEOH - OE     08050857480000789243        Electric       Gov. Aggregation
AEP - OP      00140060735539484           Electric       Gov. Aggregation   FEOH - OE     08050958340001130637        Electric       Gov. Aggregation
AEP - OP      00140060735562861           Electric       Gov. Aggregation   FEOH - OE     08050983360001142364        Electric       Gov. Aggregation
AEP - OP      00140060735663902           Electric       Gov. Aggregation   FEOH - OE     08051013110001142675        Electric       Gov. Aggregation
AEP - OP      00140060729326784           Electric       Gov. Aggregation   FEOH - OE     08051178170000789151        Electric       Gov. Aggregation
AEP - OP      00140060729425300           Electric       Gov. Aggregation   FEOH - TE     08051183692080027739        Electric       Gov. Aggregation
AEP - OP      00140060729444995           Electric       Gov. Aggregation   FEOH - OE     08051185590000587101        Electric       Gov. Aggregation
AEP - OP      00140060729538073           Electric       Gov. Aggregation   FEOH - OE     08029668485001403919        Electric       Gov. Aggregation
AEP - OP      00140060729579075           Electric       Gov. Aggregation   FEOH - OE     08029745940000778402        Electric       Gov. Aggregation
AEP - OP      00140060730045694           Electric       Gov. Aggregation   FEOH - TE     08029747042210012375        Electric       Gov. Aggregation
AEP - OP      00140060730070491           Electric       Gov. Aggregation   FEOH - OE     08029799850001356599        Electric       Gov. Aggregation
AEP - OP      00140060738227080           Electric       Gov. Aggregation   FEOH - OE     08029816710000179395        Electric       Gov. Aggregation
AEP - OP      00140060738239350           Electric       Gov. Aggregation   FEOH - OE     08029920230001129150        Electric       Gov. Aggregation
AEP - OP      00140060738396465           Electric       Gov. Aggregation   FEOH - TE     08029981592210012093        Electric       Gov. Aggregation
AEP - OP      00140060738459574           Electric       Gov. Aggregation   FEOH - OE     08028048910001128772        Electric       Gov. Aggregation
AEP - OP      00140060738548531           Electric       Gov. Aggregation   FEOH - OE     08028049640001128793        Electric       Gov. Aggregation
AEP - OP      00140060738551282           Electric       Gov. Aggregation   FEOH - OE     08028092810001045199        Electric       Gov. Aggregation
AEP - OP      00140060738658120           Electric       Gov. Aggregation   FEOH - OE     08028112880001142077        Electric       Gov. Aggregation
AEP - OP      00140060731263603           Electric       Gov. Aggregation   FEOH - OE     08028120260001128812        Electric       Gov. Aggregation
AEP - OP      00140060731306692           Electric       Gov. Aggregation   FEOH - OE     08028122740001128873        Electric       Gov. Aggregation
AEP - OP      00140060731445530           Electric       Gov. Aggregation   FEOH - OE     08028125660001128943        Electric       Gov. Aggregation
AEP - OP      00140060731509160           Electric       Gov. Aggregation   FEOH - OE     08034577700001299497        Electric       Gov. Aggregation
AEP - OP      00140060731544542           Electric       Gov. Aggregation   FEOH - OE     08034612160000784278        Electric       Gov. Aggregation
AEP - OP      00140060731818445           Electric       Gov. Aggregation   FEOH - TE     08034771142170014321        Electric       Gov. Aggregation
AEP - OP      00140060731965574           Electric       Gov. Aggregation   FEOH - TE     08034783792900009468        Electric       Gov. Aggregation
AEP - OP      00140060741764043           Electric       Gov. Aggregation   FEOH - OE     08034824280001130565        Electric       Gov. Aggregation
AEP - OP      00140060741776750           Electric       Gov. Aggregation   FEOH - OE     08034849400000783797        Electric       Gov. Aggregation
AEP - OP      00140060741909395           Electric       Gov. Aggregation   FEOH - OE     08034964970001045257        Electric       Gov. Aggregation
AEP - OP      00140060742091712           Electric       Gov. Aggregation   FEOH - TE     08035875572210013466        Electric       Gov. Aggregation
AEP - OP      00140060742113585           Electric       Gov. Aggregation   FEOH - OE     08036033350001044668        Electric       Gov. Aggregation
AEP - OP      00140060742237195           Electric       Gov. Aggregation   FEOH - TE     08036092352380032170        Electric       Gov. Aggregation
AEP - OP      00140060728909660           Electric       Gov. Aggregation   FEOH - OE     08036096570001352327        Electric       Gov. Aggregation
AEP - OP      00140060728961582           Electric       Gov. Aggregation   FEOH - OE     08036107560000804082        Electric       Gov. Aggregation
AEP - OP      00140060729049684           Electric       Gov. Aggregation   FEOH - OE     08036155100000809581        Electric       Gov. Aggregation
AEP - OP      00140060729195633           Electric       Gov. Aggregation   FEOH - OE     08040866710001572310        Electric       Gov. Aggregation
AEP - OP      00140060729261141           Electric       Gov. Aggregation   FEOH - OE     08040872470001528662        Electric       Gov. Aggregation
AEP - OP      00140060729318041           Electric       Gov. Aggregation   FEOH - OE     08040891560001455444        Electric       Gov. Aggregation
AEP - OP      00140060729394752           Electric       Gov. Aggregation   FEOH - OE     08040933760001127600        Electric       Gov. Aggregation
AEP - OP      00140060740846061           Electric       Gov. Aggregation   FEOH - OE     08040935370000789121        Electric       Gov. Aggregation
AEP - OP      00140060740852961           Electric       Gov. Aggregation   FEOH - OE     08040985970001042082        Electric       Gov. Aggregation
AEP - OP      00140060740894223           Electric       Gov. Aggregation   FEOH - OE     08041075340000848764        Electric       Gov. Aggregation
AEP - OP      00140060741104665           Electric       Gov. Aggregation   FEOH - OE     08040943950000792680        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060741161393           Electric       Gov. Aggregation   FEOH - OE     08041013130000778777        Electric       Gov. Aggregation
AEP - OP      00140060741231115           Electric       Gov. Aggregation   FEOH - TE     08041077452380031393        Electric       Gov. Aggregation
AEP - OP      00140060735771241           Electric       Gov. Aggregation   FEOH - OE     08041088390000770535        Electric       Gov. Aggregation
AEP - OP      00140060735800435           Electric       Gov. Aggregation   FEOH - OE     08041192590000771071        Electric       Gov. Aggregation
AEP - OP      00140060735948292           Electric       Gov. Aggregation   FEOH - OE     08041216150001129433        Electric       Gov. Aggregation
AEP - OP      00140060735966604           Electric       Gov. Aggregation   FEOH - OE     08041576380001130049        Electric       Gov. Aggregation
AEP - OP      00140060736187862           Electric       Gov. Aggregation   FEOH - OE     08051215470001400450        Electric       Gov. Aggregation
AEP - OP      00140060737880523           Electric       Gov. Aggregation   FEOH - OE     08051262820001425947        Electric       Gov. Aggregation
AEP - OP      00140060737940281           Electric       Gov. Aggregation   FEOH - OE     08051392620000790173        Electric       Gov. Aggregation
AEP - OP      00140060738007991           Electric       Gov. Aggregation   FEOH - OE     08051552960001041829        Electric       Gov. Aggregation
AEP - OP      00140060738124504           Electric       Gov. Aggregation   FEOH - OE     08051611150000789095        Electric       Gov. Aggregation
AEP - OP      00140060738144184           Electric       Gov. Aggregation   FEOH - OE     08051681960001341943        Electric       Gov. Aggregation
AEP - OP      00140060738158674           Electric       Gov. Aggregation   FEOH - OE     08028990690001130865        Electric       Gov. Aggregation
AEP - OP      00140060738171292           Electric       Gov. Aggregation   FEOH - OE     08029138640000762694        Electric       Gov. Aggregation
AEP - OP      00140060730160472           Electric       Gov. Aggregation   FEOH - OE     08029275550001130382        Electric       Gov. Aggregation
AEP - OP      00140060730275413           Electric       Gov. Aggregation   FEOH - OE     08029391665000227828        Electric       Gov. Aggregation
AEP - OP      00140060730371675           Electric       Gov. Aggregation   FEOH - OE     08029410770001042403        Electric       Gov. Aggregation
AEP - OP      00140060730403971           Electric       Gov. Aggregation   FEOH - TE     08029431652930094377        Electric       Gov. Aggregation
AEP - OP      00140060730535622           Electric       Gov. Aggregation   FEOH - TE     08030050812770019529        Electric       Gov. Aggregation
AEP - OP      00140060730600814           Electric       Gov. Aggregation   FEOH - OE     08030110840001483144        Electric       Gov. Aggregation
AEP - OP      00140060738886313           Electric       Gov. Aggregation   FEOH - OE     08030154700001128717        Electric       Gov. Aggregation
AEP - OP      00140060738912084           Electric       Gov. Aggregation   FEOH - TE     08030179392380031374        Electric       Gov. Aggregation
AEP - OP      00140060738960892           Electric       Gov. Aggregation   FEOH - TE     08030235532810021015        Electric       Gov. Aggregation
AEP - OP      00140060739001823           Electric       Gov. Aggregation   FEOH - OE     08030360520001043180        Electric       Gov. Aggregation
AEP - OP      00140060739212725           Electric       Gov. Aggregation   FEOH - OE     08030374530001127746        Electric       Gov. Aggregation
AEP - OP      00140060739396314           Electric       Gov. Aggregation   FEOH - OE     08028125860001128948        Electric       Gov. Aggregation
AEP - OP      00140060739557551           Electric       Gov. Aggregation   FEOH - OE     08028127050001129024        Electric       Gov. Aggregation
AEP - OP      00140060731967964           Electric       Gov. Aggregation   FEOH - OE     08028127230001129028        Electric       Gov. Aggregation
AEP - OP      00140060731994863           Electric       Gov. Aggregation   FEOH - OE     08028128610001128988        Electric       Gov. Aggregation
AEP - OP      00140060732043202           Electric       Gov. Aggregation   FEOH - OE     08028129160001129000        Electric       Gov. Aggregation
AEP - OP      00140060732061394           Electric       Gov. Aggregation   FEOH - OE     08028129320001129004        Electric       Gov. Aggregation
AEP - OP      00140060732103995           Electric       Gov. Aggregation   FEOH - OE     08028264430001142196        Electric       Gov. Aggregation
AEP - OP      00140060732184860           Electric       Gov. Aggregation   FEOH - OE     08035130170000187109        Electric       Gov. Aggregation
AEP - OP      00140060732252330           Electric       Gov. Aggregation   FEOH - OE     08035184140000809541        Electric       Gov. Aggregation
AEP - OP      00140060742239395           Electric       Gov. Aggregation   FEOH - OE     08035236060000810153        Electric       Gov. Aggregation
AEP - OP      00140060742252595           Electric       Gov. Aggregation   FEOH - OE     08035286535000208160        Electric       Gov. Aggregation
AEP - OP      00140060742332202           Electric       Gov. Aggregation   FEOH - OE     08035306080000790758        Electric       Gov. Aggregation
AEP - OP      00140060742349502           Electric       Gov. Aggregation   FEOH - OE     08041182750000803574        Electric       Gov. Aggregation
AEP - OP      00140060742396104           Electric       Gov. Aggregation   FEOH - OE     08041236890000804170        Electric       Gov. Aggregation
AEP - OP      00140060742493240           Electric       Gov. Aggregation   FEOH - OE     08044585160001142714        Electric       Gov. Aggregation
AEP - OP      00140060742519234           Electric       Gov. Aggregation   FEOH - OE     08049760655001236962        Electric       Gov. Aggregation
AEP - OP      00140060729412101           Electric       Gov. Aggregation   FEOH - OE     08049787370000583936        Electric       Gov. Aggregation
AEP - OP      00140060729421585           Electric       Gov. Aggregation   FEOH - TE     08049821892770094182        Electric       Gov. Aggregation
AEP - OP      00140060729439722           Electric       Gov. Aggregation   FEOH - OE     08029468020001457905        Electric       Gov. Aggregation
AEP - OP      00140060729442345           Electric       Gov. Aggregation   FEOH - TE     08029478305000103817        Electric       Gov. Aggregation
AEP - OP      00140060729531014           Electric       Gov. Aggregation   FEOH - OE     08029529245000183077        Electric       Gov. Aggregation
AEP - OP      00140060729579442           Electric       Gov. Aggregation   FEOH - TE     08029536222500091996        Electric       Gov. Aggregation
AEP - OP      00140060741321552           Electric       Gov. Aggregation   FEOH - OE     08029594150000778471        Electric       Gov. Aggregation
AEP - OP      00140060741332323           Electric       Gov. Aggregation   FEOH - OE     08029596940001129741        Electric       Gov. Aggregation
AEP - OP      00140060741404820           Electric       Gov. Aggregation   FEOH - OE     08029658350001130041        Electric       Gov. Aggregation
AEP - OP      00140060741462852           Electric       Gov. Aggregation   FEOH - OE     08049819655000147332        Electric       Gov. Aggregation
AEP - OP      00140060741550153           Electric       Gov. Aggregation   FEOH - TE     08049846282930032181        Electric       Gov. Aggregation
AEP - OP      00140060741613272           Electric       Gov. Aggregation   FEOH - OE     08049886180000186488        Electric       Gov. Aggregation
AEP - OP      00140060741653470           Electric       Gov. Aggregation   FEOH - OE     08050083760001042327        Electric       Gov. Aggregation
AEP - OP      00140060736224041           Electric       Gov. Aggregation   FEOH - OE     08050092990000778724        Electric       Gov. Aggregation
AEP - OP      00140060736245135           Electric       Gov. Aggregation   FEOH - OE     08050100560001130403        Electric       Gov. Aggregation
AEP - OP      00140060736326712           Electric       Gov. Aggregation   FEOH - OE     08051812360001129492        Electric       Gov. Aggregation
AEP - OP      00140060736328074           Electric       Gov. Aggregation   FEOH - TE     08051829952030033175        Electric       Gov. Aggregation
AEP - OP      00140060736328684           Electric       Gov. Aggregation   FEOH - OE     08051879410000186420        Electric       Gov. Aggregation
AEP - OP      00140060736362114           Electric       Gov. Aggregation   FEOH - OE     08051973330001130349        Electric       Gov. Aggregation
AEP - OP      00140060736425270           Electric       Gov. Aggregation   FEOH - OE     08052273150000849321        Electric       Gov. Aggregation
AEP - OP      00140060730704091           Electric       Gov. Aggregation   FEOH - TE     08052298612170014763        Electric       Gov. Aggregation
AEP - OP      00140060730780353           Electric       Gov. Aggregation   FEOH - OE     08052357050001584643        Electric       Gov. Aggregation
AEP - OP      00140060730817431           Electric       Gov. Aggregation   FEOH - OE     08030379070001044601        Electric       Gov. Aggregation
AEP - OP      00140060730833473           Electric       Gov. Aggregation   FEOH - OE     08030383685000133579        Electric       Gov. Aggregation
AEP - OP      00140060730843773           Electric       Gov. Aggregation   FEOH - TE     08030398352770019820        Electric       Gov. Aggregation
AEP - OP      00140060730956383           Electric       Gov. Aggregation   FEOH - OE     08030440630001128829        Electric       Gov. Aggregation
AEP - OP      00140060730994265           Electric       Gov. Aggregation   FEOH - TE     08030547882810022003        Electric       Gov. Aggregation
AEP - OP      00140060739672690           Electric       Gov. Aggregation   FEOH - OE     08030625680001130841        Electric       Gov. Aggregation
AEP - OP      00140060739792045           Electric       Gov. Aggregation   FEOH - OE     08030687020000792564        Electric       Gov. Aggregation
AEP - OP      00140060739817505           Electric       Gov. Aggregation   FEOH - OE     08028264470001142197        Electric       Gov. Aggregation
AEP - OP      00140060739832990           Electric       Gov. Aggregation   FEOH - OE     08028268690001142354        Electric       Gov. Aggregation
AEP - OP      00140060739871214           Electric       Gov. Aggregation   FEOH - OE     08028269530001129659        Electric       Gov. Aggregation
AEP - OP      00140060740054874           Electric       Gov. Aggregation   FEOH - OE     08035343920000809508        Electric       Gov. Aggregation
AEP - OP      00140060740101624           Electric       Gov. Aggregation   FEOH - OE     08035364970001318837        Electric       Gov. Aggregation
AEP - OP      00140060732329313           Electric       Gov. Aggregation   FEOH - OE     08035370950000786483        Electric       Gov. Aggregation
AEP - OP      00140060732414815           Electric       Gov. Aggregation   FEOH - OE     08035446760001042366        Electric       Gov. Aggregation
AEP - OP      00140060732797730           Electric       Gov. Aggregation   FEOH - OE     08035462800000786627        Electric       Gov. Aggregation
AEP - OP      00140060732891893           Electric       Gov. Aggregation   FEOH - TE     08035498585000209275        Electric       Gov. Aggregation
AEP - OP      00140060732895935           Electric       Gov. Aggregation   FEOH - OE     08036160020001130347        Electric       Gov. Aggregation
AEP - OP      00140060732929925           Electric       Gov. Aggregation   FEOH - OE     08036226000001129790        Electric       Gov. Aggregation
AEP - OP      00140060733091785           Electric       Gov. Aggregation   FEOH - OE     08036311510000791760        Electric       Gov. Aggregation
AEP - OP      00140060742584753           Electric       Gov. Aggregation   FEOH - OE     08036318050000802918        Electric       Gov. Aggregation
AEP - OP      00140060742603430           Electric       Gov. Aggregation   FEOH - OE     08036330800001043158        Electric       Gov. Aggregation
AEP - OP      00140060742690122           Electric       Gov. Aggregation   FEOH - OE     08036717650000789103        Electric       Gov. Aggregation
AEP - OP      00140060742900580           Electric       Gov. Aggregation   FEOH - TE     08049900852540093968        Electric       Gov. Aggregation
AEP - OP      00140060743016201           Electric       Gov. Aggregation   FEOH - OE     08050037130001509492        Electric       Gov. Aggregation
AEP - OP      00140060743421363           Electric       Gov. Aggregation   FEOH - OE     08050038290001129534        Electric       Gov. Aggregation
AEP - OP      00140060743601960           Electric       Gov. Aggregation   FEOH - OE     08050113420000844704        Electric       Gov. Aggregation
AEP - OP      00140060741682002           Electric       Gov. Aggregation   FEOH - OE     08050208090001129179        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060741826705           Electric       Gov. Aggregation   FEOH - TE     08029668172850022075        Electric       Gov. Aggregation
AEP - OP      00140060741875445           Electric       Gov. Aggregation   FEOH - OE     08029690395001395020        Electric       Gov. Aggregation
AEP - OP      00140060741946480           Electric       Gov. Aggregation   FEOH - OE     08029695320001525062        Electric       Gov. Aggregation
AEP - OP      00140060741950582           Electric       Gov. Aggregation   FEOH - OE     08029720050001128636        Electric       Gov. Aggregation
AEP - OP      00140060741955882           Electric       Gov. Aggregation   FEOH - OE     08029752565000132038        Electric       Gov. Aggregation
AEP - OP      00140060742113630           Electric       Gov. Aggregation   FEOH - OE     08029781930000803917        Electric       Gov. Aggregation
AEP - OP      00140060736441814           Electric       Gov. Aggregation   FEOH - OE     08029791330000771024        Electric       Gov. Aggregation
AEP - OP      00140060736658400           Electric       Gov. Aggregation   FEOH - OE     08050196440000788753        Electric       Gov. Aggregation
AEP - OP      00140060736683500           Electric       Gov. Aggregation   FEOH - OE     08050248820001476157        Electric       Gov. Aggregation
AEP - OP      00140060736700444           Electric       Gov. Aggregation   FEOH - OE     08050366130000804249        Electric       Gov. Aggregation
AEP - OP      00140060736875814           Electric       Gov. Aggregation   FEOH - TE     08050372542600007331        Electric       Gov. Aggregation
AEP - OP      00140060736876022           Electric       Gov. Aggregation   FEOH - TE     08050427352810094121        Electric       Gov. Aggregation
AEP - OP      00140060736909312           Electric       Gov. Aggregation   FEOH - OE     08050737215000390115        Electric       Gov. Aggregation
AEP - OP      00140060738171901           Electric       Gov. Aggregation   FEOH - TE     08052391922380028239        Electric       Gov. Aggregation
AEP - OP      00140060738344810           Electric       Gov. Aggregation   FEOH - OE     08052432410000778827        Electric       Gov. Aggregation
AEP - OP      00140060738429131           Electric       Gov. Aggregation   FEOH - OE     08052448970000848769        Electric       Gov. Aggregation
AEP - OP      00140060738462303           Electric       Gov. Aggregation   FEOH - OE     08052480150000791487        Electric       Gov. Aggregation
AEP - OP      00140060738516604           Electric       Gov. Aggregation   FEOH - TE     08052572282850018186        Electric       Gov. Aggregation
AEP - OP      00140060738579755           Electric       Gov. Aggregation   FEOH - OE     08052620160000791274        Electric       Gov. Aggregation
AEP - OP      00140060738602074           Electric       Gov. Aggregation   FEOH - OE     08052626700000186390        Electric       Gov. Aggregation
AEP - OP      00140060742149224           Electric       Gov. Aggregation   FEOH - OE     08030715690001354545        Electric       Gov. Aggregation
AEP - OP      00140060742276114           Electric       Gov. Aggregation   FEOH - OE     08030751360000844513        Electric       Gov. Aggregation
AEP - OP      00140060742401575           Electric       Gov. Aggregation   FEOH - OE     08030790170001129122        Electric       Gov. Aggregation
AEP - OP      00140060742553994           Electric       Gov. Aggregation   FEOH - OE     08030825990001044015        Electric       Gov. Aggregation
AEP - OP      00140060742603681           Electric       Gov. Aggregation   FEOH - OE     08030851410001043556        Electric       Gov. Aggregation
AEP - OP      00140060742667583           Electric       Gov. Aggregation   FEOH - OE     08031009510001142074        Electric       Gov. Aggregation
AEP - OP      00140060740125061           Electric       Gov. Aggregation   FEOH - OE     08031044820001396463        Electric       Gov. Aggregation
AEP - OP      00140060740227470           Electric       Gov. Aggregation   FEOH - OE     08028722640001465366        Electric       Gov. Aggregation
AEP - OP      00140060740256102           Electric       Gov. Aggregation   FEOH - OE     08028766695000073747        Electric       Gov. Aggregation
AEP - OP      00140060740266215           Electric       Gov. Aggregation   FEOH - OE     08028766695000139095        Electric       Gov. Aggregation
AEP - OP      00140060740304085           Electric       Gov. Aggregation   FEOH - OE     08028848670000849165        Electric       Gov. Aggregation
AEP - OP      00140060740311975           Electric       Gov. Aggregation   FEOH - OE     08028849150001349761        Electric       Gov. Aggregation
AEP - OP      00140060740438372           Electric       Gov. Aggregation   FEOH - TE     08028886982040001056        Electric       Gov. Aggregation
AEP - OP      00140060733241301           Electric       Gov. Aggregation   FEOH - OE     08035519730001584295        Electric       Gov. Aggregation
AEP - OP      00140060733314332           Electric       Gov. Aggregation   FEOH - TE     08035531922080027496        Electric       Gov. Aggregation
AEP - OP      00140060733332193           Electric       Gov. Aggregation   FEOH - OE     08035725200000844584        Electric       Gov. Aggregation
AEP - OP      00140060733345231           Electric       Gov. Aggregation   FEOH - OE     08035727700000803015        Electric       Gov. Aggregation
AEP - OP      00140060733368642           Electric       Gov. Aggregation   FEOH - TE     08035787182300030086        Electric       Gov. Aggregation
AEP - OP      00140060733499814           Electric       Gov. Aggregation   FEOH - TE     08035908712300029724        Electric       Gov. Aggregation
AEP - OP      00140060733577774           Electric       Gov. Aggregation   FEOH - OE     08035926740000804419        Electric       Gov. Aggregation
AEP - OP      00140060731029125           Electric       Gov. Aggregation   FEOH - OE     08036737180000791165        Electric       Gov. Aggregation
AEP - OP      00140060731070275           Electric       Gov. Aggregation   FEOH - OE     08036793400000803811        Electric       Gov. Aggregation
AEP - OP      00140060731162833           Electric       Gov. Aggregation   FEOH - OE     08036799240000769758        Electric       Gov. Aggregation
AEP - OP      00140060731173304           Electric       Gov. Aggregation   FEOH - OE     08036863900001128585        Electric       Gov. Aggregation
AEP - OP      00140060731187775           Electric       Gov. Aggregation   FEOH - OE     08036888450000848804        Electric       Gov. Aggregation
AEP - OP      00140060731223983           Electric       Gov. Aggregation   FEOH - OE     08036997780001143019        Electric       Gov. Aggregation
AEP - OP      00140060731228061           Electric       Gov. Aggregation   FEOH - OE     08037006730000782693        Electric       Gov. Aggregation
AEP - OP      00140060736997820           Electric       Gov. Aggregation   FEOH - OE     08050213720000791181        Electric       Gov. Aggregation
AEP - OP      00140060737081394           Electric       Gov. Aggregation   FEOH - OE     08050294640000786448        Electric       Gov. Aggregation
AEP - OP      00140060737397741           Electric       Gov. Aggregation   FEOH - TE     08050328182430001097        Electric       Gov. Aggregation
AEP - OP      00140060737454120           Electric       Gov. Aggregation   FEOH - OE     08050383460001130507        Electric       Gov. Aggregation
AEP - OP      00140060737602814           Electric       Gov. Aggregation   FEOH - OE     08050475390000784777        Electric       Gov. Aggregation
AEP - OP      00140060737850711           Electric       Gov. Aggregation   FEOH - TE     08050483855001261874        Electric       Gov. Aggregation
AEP - OP      00140060737864720           Electric       Gov. Aggregation   FEOH - TE     08050540292170090587        Electric       Gov. Aggregation
AEP - OP      00140060743662560           Electric       Gov. Aggregation   FEOH - OE     08029799500000777909        Electric       Gov. Aggregation
AEP - OP      00140060743728951           Electric       Gov. Aggregation   FEOH - OE     08029812750000784768        Electric       Gov. Aggregation
AEP - OP      00140060743746463           Electric       Gov. Aggregation   FEOH - TE     08029904952280094050        Electric       Gov. Aggregation
AEP - OP      00140060743781694           Electric       Gov. Aggregation   FEOH - TE     08029981582210013447        Electric       Gov. Aggregation
AEP - OP      00140060743805962           Electric       Gov. Aggregation   FEOH - TE     08029985315000363004        Electric       Gov. Aggregation
AEP - OP      00140060743817674           Electric       Gov. Aggregation   FEOH - OE     08030064440001128205        Electric       Gov. Aggregation
AEP - OP      00140060743835134           Electric       Gov. Aggregation   FEOH - OE     08050930850000790185        Electric       Gov. Aggregation
AEP - OP      00140060742987513           Electric       Gov. Aggregation   FEOH - OE     08050957450001474206        Electric       Gov. Aggregation
AEP - OP      00140060743165802           Electric       Gov. Aggregation   FEOH - OE     08051002040001041765        Electric       Gov. Aggregation
AEP - OP      00140060743181235           Electric       Gov. Aggregation   FEOH - OE     08051017850000603968        Electric       Gov. Aggregation
AEP - OP      00140060743201515           Electric       Gov. Aggregation   FEOH - OE     08051061850000604158        Electric       Gov. Aggregation
AEP - OP      00140060743294174           Electric       Gov. Aggregation   FEOH - OE     08051072940001442922        Electric       Gov. Aggregation
AEP - OP      00140060743296140           Electric       Gov. Aggregation   FEOH - OE     08031059700000789094        Electric       Gov. Aggregation
AEP - OP      00140060743389172           Electric       Gov. Aggregation   FEOH - OE     08031075830000804399        Electric       Gov. Aggregation
AEP - OP      00140060738648925           Electric       Gov. Aggregation   FEOH - OE     08031090540000844869        Electric       Gov. Aggregation
AEP - OP      00140060738786620           Electric       Gov. Aggregation   FEOH - OE     08031125740000168307        Electric       Gov. Aggregation
AEP - OP      00140060738847111           Electric       Gov. Aggregation   FEOH - OE     08031225200000791027        Electric       Gov. Aggregation
AEP - OP      00140060738850385           Electric       Gov. Aggregation   FEOH - TE     08031292523000003217        Electric       Gov. Aggregation
AEP - OP      00140060738950213           Electric       Gov. Aggregation   FEOH - OE     08028888690001129036        Electric       Gov. Aggregation
AEP - OP      00140060739026675           Electric       Gov. Aggregation   FEOH - OE     08028926990001129639        Electric       Gov. Aggregation
AEP - OP      00140060739093293           Electric       Gov. Aggregation   FEOH - OE     08029155640001130000        Electric       Gov. Aggregation
AEP - OP      00140060740949663           Electric       Gov. Aggregation   FEOH - TE     08029227152190091176        Electric       Gov. Aggregation
AEP - OP      00140060740955483           Electric       Gov. Aggregation   FEOH - OE     08029277590001130398        Electric       Gov. Aggregation
AEP - OP      00140060740982531           Electric       Gov. Aggregation   FEOH - OE     08029320660001344457        Electric       Gov. Aggregation
AEP - OP      00140060741125522           Electric       Gov. Aggregation   FEOH - OE     08029342345000020501        Electric       Gov. Aggregation
AEP - OP      00140060741171512           Electric       Gov. Aggregation   FEOH - TE     08035964782770020514        Electric       Gov. Aggregation
AEP - OP      00140060741219074           Electric       Gov. Aggregation   FEOH - TE     08035976142900008662        Electric       Gov. Aggregation
AEP - OP      00140060741277380           Electric       Gov. Aggregation   FEOH - TE     08035976145000362147        Electric       Gov. Aggregation
AEP - OP      00140060729678390           Electric       Gov. Aggregation   FEOH - OE     08036051100001360647        Electric       Gov. Aggregation
AEP - OP      00140060729760185           Electric       Gov. Aggregation   FEOH - OE     08036080850000788745        Electric       Gov. Aggregation
AEP - OP      00140060729881585           Electric       Gov. Aggregation   FEOH - OE     08036094870000592389        Electric       Gov. Aggregation
AEP - OP      00140060729992954           Electric       Gov. Aggregation   FEOH - OE     08036111635001446460        Electric       Gov. Aggregation
AEP - OP      00140060730201705           Electric       Gov. Aggregation   FEOH - OE     08037023870000791618        Electric       Gov. Aggregation
AEP - OP      00140060730389813           Electric       Gov. Aggregation   FEOH - OE     08037181920001040557        Electric       Gov. Aggregation
AEP - OP      00140060731263601           Electric       Gov. Aggregation   FEOH - OE     08037186870000782702        Electric       Gov. Aggregation
AEP - OP      00140060731419344           Electric       Gov. Aggregation   FEOH - OE     08037244360001040496        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060731441011           Electric       Gov. Aggregation   FEOH - OE     08037266890000790314        Electric       Gov. Aggregation
AEP - OP      00140060731496275           Electric       Gov. Aggregation   FEOH - OE     08037314180001568357        Electric       Gov. Aggregation
AEP - OP      00140060731530283           Electric       Gov. Aggregation   FEOH - OE     08037331610000810097        Electric       Gov. Aggregation
AEP - OP      00140060731629544           Electric       Gov. Aggregation   FEOH - OE     08050567850000765263        Electric       Gov. Aggregation
AEP - OP      00140060731733031           Electric       Gov. Aggregation   FEOH - OE     08050576690001143301        Electric       Gov. Aggregation
AEP - OP      00140060733639001           Electric       Gov. Aggregation   FEOH - OE     08050624190000810171        Electric       Gov. Aggregation
AEP - OP      00140060733645622           Electric       Gov. Aggregation   FEOH - OE     08050625230000791510        Electric       Gov. Aggregation
AEP - OP      00140060733676441           Electric       Gov. Aggregation   FEOH - OE     08050657900000762742        Electric       Gov. Aggregation
AEP - OP      00140060733702430           Electric       Gov. Aggregation   FEOH - OE     08050709340000784271        Electric       Gov. Aggregation
AEP - OP      00140060733802503           Electric       Gov. Aggregation   FEOH - OE     08052643740001129548        Electric       Gov. Aggregation
AEP - OP      00140060733828763           Electric       Gov. Aggregation   FEOH - OE     08052766500001143288        Electric       Gov. Aggregation
AEP - OP      00140060733958420           Electric       Gov. Aggregation   FEOH - OE     08052767585000266459        Electric       Gov. Aggregation
AEP - OP      00140060737873513           Electric       Gov. Aggregation   FEOH - OE     08052779190000844905        Electric       Gov. Aggregation
AEP - OP      00140060737934791           Electric       Gov. Aggregation   FEOH - OE     08052838050000786510        Electric       Gov. Aggregation
AEP - OP      00140060737959770           Electric       Gov. Aggregation   FEOH - TE     08053077765000206998        Electric       Gov. Aggregation
AEP - OP      00140060737992183           Electric       Gov. Aggregation   FEOH - OE     08053120100000784273        Electric       Gov. Aggregation
AEP - OP      00140060738072582           Electric       Gov. Aggregation   FEOH - OE     08030088700000604163        Electric       Gov. Aggregation
AEP - OP      00140060738211873           Electric       Gov. Aggregation   FEOH - OE     08030103300000604206        Electric       Gov. Aggregation
AEP - OP      00140060738222783           Electric       Gov. Aggregation   FEOH - OE     08030150075000070767        Electric       Gov. Aggregation
AEP - OP      00140060744098534           Electric       Gov. Aggregation   FEOH - OE     08030152905001492339        Electric       Gov. Aggregation
AEP - OP      00140060744238653           Electric       Gov. Aggregation   FEOH - OE     08030176540001367848        Electric       Gov. Aggregation
AEP - OP      00140060744251532           Electric       Gov. Aggregation   FEOH - OE     08030196385000128742        Electric       Gov. Aggregation
AEP - OP      00140060744257072           Electric       Gov. Aggregation   FEOH - OE     08030260530001369875        Electric       Gov. Aggregation
AEP - OP      00140060744303410           Electric       Gov. Aggregation   FEOH - OE     08051090550001142063        Electric       Gov. Aggregation
AEP - OP      00140060744312942           Electric       Gov. Aggregation   FEOH - OE     08051227310000809436        Electric       Gov. Aggregation
AEP - OP      00140060744320104           Electric       Gov. Aggregation   FEOH - OE     08051257980001444520        Electric       Gov. Aggregation
AEP - OP      00140060743421162           Electric       Gov. Aggregation   FEOH - OE     08051299320000805568        Electric       Gov. Aggregation
AEP - OP      00140060743446515           Electric       Gov. Aggregation   FEOH - TE     08051329382130006470        Electric       Gov. Aggregation
AEP - OP      00140060743471144           Electric       Gov. Aggregation   FEOH - OE     08031317930000587056        Electric       Gov. Aggregation
AEP - OP      00140060743605401           Electric       Gov. Aggregation   FEOH - OE     08031326120000773960        Electric       Gov. Aggregation
AEP - OP      00140060743672144           Electric       Gov. Aggregation   FEOH - OE     08031352230000590616        Electric       Gov. Aggregation
AEP - OP      00140060743723844           Electric       Gov. Aggregation   FEOH - OE     08031385100001043372        Electric       Gov. Aggregation
AEP - OP      00140060739248251           Electric       Gov. Aggregation   FEOH - OE     08031450500000804352        Electric       Gov. Aggregation
AEP - OP      00140060739580170           Electric       Gov. Aggregation   FEOH - TE     08031461515001426197        Electric       Gov. Aggregation
AEP - OP      00140060739664805           Electric       Gov. Aggregation   FEOH - OE     08031495570000780118        Electric       Gov. Aggregation
AEP - OP      00140060739700790           Electric       Gov. Aggregation   FEOH - TE     08029395302300031158        Electric       Gov. Aggregation
AEP - OP      00140060739979315           Electric       Gov. Aggregation   FEOH - OE     08029425145001242779        Electric       Gov. Aggregation
AEP - OP      00140060740012761           Electric       Gov. Aggregation   FEOH - OE     08029465760000803875        Electric       Gov. Aggregation
AEP - OP      00140060741337385           Electric       Gov. Aggregation   FEOH - TE     08029541882680020022        Electric       Gov. Aggregation
AEP - OP      00140060741343972           Electric       Gov. Aggregation   FEOH - OE     08029551740001041533        Electric       Gov. Aggregation
AEP - OP      00140060741439273           Electric       Gov. Aggregation   FEOH - OE     08029581140001130644        Electric       Gov. Aggregation
AEP - OP      00140060741536145           Electric       Gov. Aggregation   FEOH - OE     08029613465000255211        Electric       Gov. Aggregation
AEP - OP      00140060741634444           Electric       Gov. Aggregation   FEOH - OE     08036121980001142016        Electric       Gov. Aggregation
AEP - OP      00140060741651172           Electric       Gov. Aggregation   FEOH - OE     08036223360000786385        Electric       Gov. Aggregation
AEP - OP      00140060741722502           Electric       Gov. Aggregation   FEOH - OE     08036295470000844590        Electric       Gov. Aggregation
AEP - OP      00140060730409691           Electric       Gov. Aggregation   FEOH - TE     08036302892040000616        Electric       Gov. Aggregation
AEP - OP      00140060730528200           Electric       Gov. Aggregation   FEOH - OE     08036326770001044459        Electric       Gov. Aggregation
AEP - OP      00140060730608673           Electric       Gov. Aggregation   FEOH - OE     08036337600000802938        Electric       Gov. Aggregation
AEP - OP      00140060730885454           Electric       Gov. Aggregation   FEOH - OE     08036403140000782603        Electric       Gov. Aggregation
AEP - OP      00140060731737450           Electric       Gov. Aggregation   FEOH - OE     08037358130001044825        Electric       Gov. Aggregation
AEP - OP      00140060731774433           Electric       Gov. Aggregation   FEOH - TE     08037381092680019939        Electric       Gov. Aggregation
AEP - OP      00140060731782982           Electric       Gov. Aggregation   FEOH - OE     08037383380001142245        Electric       Gov. Aggregation
AEP - OP      00140060732072174           Electric       Gov. Aggregation   FEOH - OE     08037440520001517808        Electric       Gov. Aggregation
AEP - OP      00140060732143902           Electric       Gov. Aggregation   FEOH - TE     08037467352810093650        Electric       Gov. Aggregation
AEP - OP      00140060732317012           Electric       Gov. Aggregation   FEOH - OE     08037475220000765669        Electric       Gov. Aggregation
AEP - OP      00140060732574643           Electric       Gov. Aggregation   FEOH - OE     08050787005001260937        Electric       Gov. Aggregation
AEP - OP      00140060740071462           Electric       Gov. Aggregation   FEOH - OE     08050846710000803637        Electric       Gov. Aggregation
AEP - OP      00140060740118811           Electric       Gov. Aggregation   FEOH - TE     08050848342900009218        Electric       Gov. Aggregation
AEP - OP      00140060740198920           Electric       Gov. Aggregation   FEOH - TE     08050852592810020277        Electric       Gov. Aggregation
AEP - OP      00140060740230395           Electric       Gov. Aggregation   FEOH - TE     08050880132210012089        Electric       Gov. Aggregation
AEP - OP      00140060740275215           Electric       Gov. Aggregation   FEOH - OE     08050887260000765299        Electric       Gov. Aggregation
AEP - OP      00140060740307585           Electric       Gov. Aggregation   FEOH - OE     08050931890000790738        Electric       Gov. Aggregation
AEP - OP      00140060740336121           Electric       Gov. Aggregation   FEOH - OE     08030305795000133945        Electric       Gov. Aggregation
AEP - OP      00140060742040400           Electric       Gov. Aggregation   FEOH - TE     08030440162680022543        Electric       Gov. Aggregation
AEP - OP      00140060742055622           Electric       Gov. Aggregation   FEOH - TE     08030474862390002779        Electric       Gov. Aggregation
AEP - OP      00140060742201764           Electric       Gov. Aggregation   FEOH - OE     08030480430000603681        Electric       Gov. Aggregation
AEP - OP      00140060742289074           Electric       Gov. Aggregation   FEOH - OE     08030495710000803390        Electric       Gov. Aggregation
AEP - OP      00140060742439392           Electric       Gov. Aggregation   FEOH - OE     08030505420001130999        Electric       Gov. Aggregation
AEP - OP      00140060742508001           Electric       Gov. Aggregation   FEOH - OE     08030618850001127538        Electric       Gov. Aggregation
AEP - OP      00140060744447262           Electric       Gov. Aggregation   FEOH - OE     08051384470000804516        Electric       Gov. Aggregation
AEP - OP      00140060744449294           Electric       Gov. Aggregation   FEOH - OE     08051436395001372368        Electric       Gov. Aggregation
AEP - OP      00140060744482520           Electric       Gov. Aggregation   FEOH - OE     08051538820001127474        Electric       Gov. Aggregation
AEP - OP      00140060744502390           Electric       Gov. Aggregation   FEOH - OE     08051573330000792187        Electric       Gov. Aggregation
AEP - OP      00140060744571564           Electric       Gov. Aggregation   FEOH - OE     08051641130000186841        Electric       Gov. Aggregation
AEP - OP      00140060744673201           Electric       Gov. Aggregation   FEOH - TE     08051706882520092886        Electric       Gov. Aggregation
AEP - OP      00140060744779785           Electric       Gov. Aggregation   FEOH - OE     08051718990000765297        Electric       Gov. Aggregation
AEP - OP      00140060734028830           Electric       Gov. Aggregation   FEOH - OE     08031526670001129662        Electric       Gov. Aggregation
AEP - OP      00140060734077841           Electric       Gov. Aggregation   FEOH - OE     08031528815000367689        Electric       Gov. Aggregation
AEP - OP      00140060734079343           Electric       Gov. Aggregation   FEOH - OE     08031576300001040582        Electric       Gov. Aggregation
AEP - OP      00140060734130951           Electric       Gov. Aggregation   FEOH - TE     08031687422300031341        Electric       Gov. Aggregation
AEP - OP      00140060734134872           Electric       Gov. Aggregation   FEOH - OE     08031835110000790564        Electric       Gov. Aggregation
AEP - OP      00140060734330153           Electric       Gov. Aggregation   FEOH - OE     08029725660001045110        Electric       Gov. Aggregation
AEP - OP      00140060734408974           Electric       Gov. Aggregation   FEOH - TE     08029729792680023940        Electric       Gov. Aggregation
AEP - OP      00140060743901925           Electric       Gov. Aggregation   FEOH - OE     08029745940000778401        Electric       Gov. Aggregation
AEP - OP      00140060744198263           Electric       Gov. Aggregation   FEOH - OE     08029778060000809585        Electric       Gov. Aggregation
AEP - OP      00140060744401530           Electric       Gov. Aggregation   FEOH - OE     08029783110000178952        Electric       Gov. Aggregation
AEP - OP      00140060744530863           Electric       Gov. Aggregation   FEOH - OE     08029788690001340374        Electric       Gov. Aggregation
AEP - OP      00140060744581614           Electric       Gov. Aggregation   FEOH - OE     08029833870001042242        Electric       Gov. Aggregation
AEP - OP      00140060744593671           Electric       Gov. Aggregation   FEOH - TE     08053127352380031285        Electric       Gov. Aggregation
AEP - OP      00140060744597463           Electric       Gov. Aggregation   FEOH - TE     08053185222380031975        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060738267974           Electric       Gov. Aggregation   FEOH - OE     08053206670000765239        Electric       Gov. Aggregation
AEP - OP      00140060738444083           Electric       Gov. Aggregation   FEOH - OE     08053298440001562825        Electric       Gov. Aggregation
AEP - OP      00140060738557240           Electric       Gov. Aggregation   FEOH - TE     08053384675001316882        Electric       Gov. Aggregation
AEP - OP      00140060738578010           Electric       Gov. Aggregation   FEOH - TE     08053392612850023010        Electric       Gov. Aggregation
AEP - OP      00140060738689872           Electric       Gov. Aggregation   FEOH - OE     08037607520000805424        Electric       Gov. Aggregation
AEP - OP      00140060738690762           Electric       Gov. Aggregation   FEOH - OE     08037625190000803168        Electric       Gov. Aggregation
AEP - OP      00140060738715585           Electric       Gov. Aggregation   FEOH - OE     08037695860000790701        Electric       Gov. Aggregation
AEP - OP      00140060730941425           Electric       Gov. Aggregation   FEOH - OE     08037758425000356894        Electric       Gov. Aggregation
AEP - OP      00140060730962520           Electric       Gov. Aggregation   FEOH - OE     08037812890001142705        Electric       Gov. Aggregation
AEP - OP      00140060731006385           Electric       Gov. Aggregation   FEOH - OE     08037883850001044460        Electric       Gov. Aggregation
AEP - OP      00140060731226564           Electric       Gov. Aggregation   FEOH - OE     08037919420001328790        Electric       Gov. Aggregation
AEP - OP      00140060731561371           Electric       Gov. Aggregation   FEOH - OE     08051014820001129299        Electric       Gov. Aggregation
AEP - OP      00140060731722474           Electric       Gov. Aggregation   FEOH - TE     08051050032850021072        Electric       Gov. Aggregation
AEP - OP      00140060731762945           Electric       Gov. Aggregation   FEOH - OE     08051257980001319573        Electric       Gov. Aggregation
AEP - OP      00140060740473850           Electric       Gov. Aggregation   FEOH - OE     08051285710000790685        Electric       Gov. Aggregation
AEP - OP      00140060740555630           Electric       Gov. Aggregation   FEOH - OE     08051498050000592369        Electric       Gov. Aggregation
AEP - OP      00140060740765203           Electric       Gov. Aggregation   FEOH - OE     08051641910001143212        Electric       Gov. Aggregation
AEP - OP      00140060740966355           Electric       Gov. Aggregation   FEOH - OE     08030651930000790028        Electric       Gov. Aggregation
AEP - OP      00140060741086812           Electric       Gov. Aggregation   FEOH - OE     08030689190000844730        Electric       Gov. Aggregation
AEP - OP      00140060741216750           Electric       Gov. Aggregation   FEOH - OE     08030770240001043409        Electric       Gov. Aggregation
AEP - OP      00140060741429320           Electric       Gov. Aggregation   FEOH - OE     08030791120000803437        Electric       Gov. Aggregation
AEP - OP      00140060745045484           Electric       Gov. Aggregation   FEOH - TE     08030868372930032246        Electric       Gov. Aggregation
AEP - OP      00140060745070622           Electric       Gov. Aggregation   FEOH - OE     08030942180001130878        Electric       Gov. Aggregation
AEP - OP      00140060745092252           Electric       Gov. Aggregation   FEOH - OE     08051769750001129588        Electric       Gov. Aggregation
AEP - OP      00140060745207130           Electric       Gov. Aggregation   FEOH - OE     08051796210000844587        Electric       Gov. Aggregation
AEP - OP      00140060745243313           Electric       Gov. Aggregation   FEOH - OE     08051816940000778633        Electric       Gov. Aggregation
AEP - OP      00140060745312174           Electric       Gov. Aggregation   FEOH - OE     08051876580001041671        Electric       Gov. Aggregation
AEP - OP      00140060745331951           Electric       Gov. Aggregation   FEOH - OE     08052006330001506580        Electric       Gov. Aggregation
AEP - OP      00140060734425140           Electric       Gov. Aggregation   FEOH - TE     08052017052680023635        Electric       Gov. Aggregation
AEP - OP      00140060734457405           Electric       Gov. Aggregation   FEOH - OE     08031864070001130689        Electric       Gov. Aggregation
AEP - OP      00140060734486443           Electric       Gov. Aggregation   FEOH - OE     08031881560001142807        Electric       Gov. Aggregation
AEP - OP      00140060734521030           Electric       Gov. Aggregation   FEOH - OE     08031955290001131038        Electric       Gov. Aggregation
AEP - OP      00140060734592450           Electric       Gov. Aggregation   FEOH - TE     08032014512040001604        Electric       Gov. Aggregation
AEP - OP      00140060734768431           Electric       Gov. Aggregation   FEOH - TE     08032031952080022282        Electric       Gov. Aggregation
AEP - OP      00140060734849834           Electric       Gov. Aggregation   FEOH - OE     08032087675000202856        Electric       Gov. Aggregation
AEP - OP      00140060744675185           Electric       Gov. Aggregation   FEOH - TE     08029839462170013013        Electric       Gov. Aggregation
AEP - OP      00140060744684502           Electric       Gov. Aggregation   FEOH - TE     08029898352600009497        Electric       Gov. Aggregation
AEP - OP      00140060744749091           Electric       Gov. Aggregation   FEOH - OE     08029999355001350472        Electric       Gov. Aggregation
AEP - OP      00140060744864090           Electric       Gov. Aggregation   FEOH - TE     08030129722210015175        Electric       Gov. Aggregation
AEP - OP      00140060744879652           Electric       Gov. Aggregation   FEOH - TE     08030186292850025969        Electric       Gov. Aggregation
AEP - OP      00140060744953371           Electric       Gov. Aggregation   FEOH - OE     08030232000000803165        Electric       Gov. Aggregation
AEP - OP      00140060745001110           Electric       Gov. Aggregation   FEOH - OE     08038038030000784620        Electric       Gov. Aggregation
AEP - OP      00140060732722941           Electric       Gov. Aggregation   FEOH - OE     08038115360000782689        Electric       Gov. Aggregation
AEP - OP      00140060733159434           Electric       Gov. Aggregation   FEOH - TE     08038158872680023000        Electric       Gov. Aggregation
AEP - OP      00140060733208961           Electric       Gov. Aggregation   FEOH - OE     08038271160001040390        Electric       Gov. Aggregation
AEP - OP      00140060733208961           Electric       Gov. Aggregation   FEOH - TE     08038339922680024111        Electric       Gov. Aggregation
AEP - OP      00140060733214781           Electric       Gov. Aggregation   FEOH - OE     08038340670001539662        Electric       Gov. Aggregation
AEP - OP      00140060733216585           Electric       Gov. Aggregation   FEOH - OE     08036479990001041650        Electric       Gov. Aggregation
AEP - OP      00140060733494311           Electric       Gov. Aggregation   FEOH - OE     08036496330000791189        Electric       Gov. Aggregation
AEP - OP      00140060741587013           Electric       Gov. Aggregation   FEOH - TE     08036579932900008817        Electric       Gov. Aggregation
AEP - OP      00140060741660544           Electric       Gov. Aggregation   FEOH - TE     08036679812600006982        Electric       Gov. Aggregation
AEP - OP      00140060741663794           Electric       Gov. Aggregation   FEOH - TE     08036958352680024731        Electric       Gov. Aggregation
AEP - OP      00140060741912964           Electric       Gov. Aggregation   FEOH - OE     08036967810001041710        Electric       Gov. Aggregation
AEP - OP      00140060742131912           Electric       Gov. Aggregation   FEOH - OE     08037025860000791077        Electric       Gov. Aggregation
AEP - OP      00140060742157835           Electric       Gov. Aggregation   FEOH - OE     08030952330001044311        Electric       Gov. Aggregation
AEP - OP      00140060742169004           Electric       Gov. Aggregation   FEOH - OE     08030963900000792409        Electric       Gov. Aggregation
AEP - OP      00140060731783081           Electric       Gov. Aggregation   FEOH - OE     08031073280001130594        Electric       Gov. Aggregation
AEP - OP      00140060731798531           Electric       Gov. Aggregation   FEOH - OE     08031079790000187220        Electric       Gov. Aggregation
AEP - OP      00140060731846264           Electric       Gov. Aggregation   FEOH - OE     08031175410001042159        Electric       Gov. Aggregation
AEP - OP      00140060731853370           Electric       Gov. Aggregation   FEOH - OE     08031185420000792082        Electric       Gov. Aggregation
AEP - OP      00140060731998223           Electric       Gov. Aggregation   FEOH - OE     08051663040000789172        Electric       Gov. Aggregation
AEP - OP      00140060732109422           Electric       Gov. Aggregation   FEOH - OE     08051778795000314461        Electric       Gov. Aggregation
AEP - OP      00140060732115122           Electric       Gov. Aggregation   FEOH - OE     08051816780001445103        Electric       Gov. Aggregation
AEP - OP      00140060742542031           Electric       Gov. Aggregation   FEOH - OE     08051832400000803432        Electric       Gov. Aggregation
AEP - OP      00140060742545562           Electric       Gov. Aggregation   FEOH - TE     08032130062030033387        Electric       Gov. Aggregation
AEP - OP      00140060742553654           Electric       Gov. Aggregation   FEOH - OE     08032153800000844630        Electric       Gov. Aggregation
AEP - OP      00140060742560394           Electric       Gov. Aggregation   FEOH - OE     08032205610001043892        Electric       Gov. Aggregation
AEP - OP      00140060742714121           Electric       Gov. Aggregation   FEOH - OE     08032415230000806130        Electric       Gov. Aggregation
AEP - OP      00140060742753301           Electric       Gov. Aggregation   FEOH - OE     08032432150001127842        Electric       Gov. Aggregation
AEP - OP      00140060742761635           Electric       Gov. Aggregation   FEOH - OE     08032557700001129757        Electric       Gov. Aggregation
AEP - OP      00140060738740352           Electric       Gov. Aggregation   FEOH - TE     08032566552040000885        Electric       Gov. Aggregation
AEP - OP      00140060738774555           Electric       Gov. Aggregation   FEOH - OE     08030232000000803166        Electric       Gov. Aggregation
AEP - OP      00140060738861854           Electric       Gov. Aggregation   FEOH - OE     08030339540001396157        Electric       Gov. Aggregation
AEP - OP      00140060739131033           Electric       Gov. Aggregation   FEOH - OE     08030355270001043397        Electric       Gov. Aggregation
AEP - OP      00140060734861670           Electric       Gov. Aggregation   FEOH - OE     08030412220001129621        Electric       Gov. Aggregation
AEP - OP      00140060734935253           Electric       Gov. Aggregation   FEOH - OE     08030657930000788787        Electric       Gov. Aggregation
AEP - OP      00140060735265463           Electric       Gov. Aggregation   FEOH - OE     08030677925000149430        Electric       Gov. Aggregation
AEP - OP      00140060735321394           Electric       Gov. Aggregation   FEOH - OE     08030722740001040752        Electric       Gov. Aggregation
AEP - OP      00140060735378925           Electric       Gov. Aggregation   FEOH - OE     08031274225000166723        Electric       Gov. Aggregation
AEP - OP      00140060735484542           Electric       Gov. Aggregation   FEOH - OE     08031314670001332341        Electric       Gov. Aggregation
AEP - OP      00140060735524513           Electric       Gov. Aggregation   FEOH - OE     08031342610001042378        Electric       Gov. Aggregation
AEP - OP      00140060742399405           Electric       Gov. Aggregation   FEOH - OE     08031363030001131249        Electric       Gov. Aggregation
AEP - OP      00140060742404043           Electric       Gov. Aggregation   FEOH - TE     08031383432380031430        Electric       Gov. Aggregation
AEP - OP      00140060742763762           Electric       Gov. Aggregation   FEOH - OE     08031509000000848974        Electric       Gov. Aggregation
AEP - OP      00140060742834281           Electric       Gov. Aggregation   FEOH - OE     08052023790000844661        Electric       Gov. Aggregation
AEP - OP      00140060742867011           Electric       Gov. Aggregation   FEOH - TE     08052048752210009347        Electric       Gov. Aggregation
AEP - OP      00140060742968123           Electric       Gov. Aggregation   FEOH - TE     08052120132770021268        Electric       Gov. Aggregation
AEP - OP      00140060742969592           Electric       Gov. Aggregation   FEOH - OE     08052175550000789336        Electric       Gov. Aggregation
AEP - OP      00140060743091034           Electric       Gov. Aggregation   FEOH - OE     08052177810001484155        Electric       Gov. Aggregation
AEP - OP      00140060745031030           Electric       Gov. Aggregation   FEOH - OE     08052178470000604160        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060745243401           Electric       Gov. Aggregation   FEOH - OE     08052210090000784661        Electric       Gov. Aggregation
AEP - OP      00140060745271262           Electric       Gov. Aggregation   FEOH - TE     08038413892770021470        Electric       Gov. Aggregation
AEP - OP      00140060745357455           Electric       Gov. Aggregation   FEOH - OE     08038453770000584148        Electric       Gov. Aggregation
AEP - OP      00140060745402794           Electric       Gov. Aggregation   FEOH - OE     08038516760000803810        Electric       Gov. Aggregation
AEP - OP      00140060745443542           Electric       Gov. Aggregation   FEOH - OE     08038663265000249522        Electric       Gov. Aggregation
AEP - OP      00140060745484584           Electric       Gov. Aggregation   FEOH - OE     08038702330001129973        Electric       Gov. Aggregation
AEP - OP      00140060745360672           Electric       Gov. Aggregation   FEOH - OE     08038718100000187078        Electric       Gov. Aggregation
AEP - OP      00140060745384073           Electric       Gov. Aggregation   FEOH - OE     08037074280001320969        Electric       Gov. Aggregation
AEP - OP      00140060745529585           Electric       Gov. Aggregation   FEOH - OE     08037085280000791698        Electric       Gov. Aggregation
AEP - OP      00140060745540905           Electric       Gov. Aggregation   FEOH - OE     08037122360000790432        Electric       Gov. Aggregation
AEP - OP      00140060745579964           Electric       Gov. Aggregation   FEOH - OE     08037139660001128416        Electric       Gov. Aggregation
AEP - OP      00140060745590271           Electric       Gov. Aggregation   FEOH - TE     08037143233000005567        Electric       Gov. Aggregation
AEP - OP      00140060745668311           Electric       Gov. Aggregation   FEOH - OE     08037292855000307052        Electric       Gov. Aggregation
AEP - OP      00140060732334703           Electric       Gov. Aggregation   FEOH - TE     08037322062810021870        Electric       Gov. Aggregation
AEP - OP      00140060732375164           Electric       Gov. Aggregation   FEOH - OE     08051915280000584188        Electric       Gov. Aggregation
AEP - OP      00140060732413202           Electric       Gov. Aggregation   FEOH - TE     08052022392680022351        Electric       Gov. Aggregation
AEP - OP      00140060732607005           Electric       Gov. Aggregation   FEOH - OE     08052040290001128313        Electric       Gov. Aggregation
AEP - OP      00140060732685200           Electric       Gov. Aggregation   FEOH - OE     08052254280001041762        Electric       Gov. Aggregation
AEP - OP      00140060732785300           Electric       Gov. Aggregation   FEOH - OE     08052267270001441884        Electric       Gov. Aggregation
AEP - OP      00140060732817615           Electric       Gov. Aggregation   FEOH - OE     08052336390000789065        Electric       Gov. Aggregation
AEP - OP      00140060739161972           Electric       Gov. Aggregation   FEOH - OE     08052353140000803674        Electric       Gov. Aggregation
AEP - OP      00140060739293422           Electric       Gov. Aggregation   FEOH - OE     08032648560000778141        Electric       Gov. Aggregation
AEP - OP      00140060739350874           Electric       Gov. Aggregation   FEOH - OE     08032699310001128787        Electric       Gov. Aggregation
AEP - OP      00140060739371523           Electric       Gov. Aggregation   FEOH - TE     08032713172810020243        Electric       Gov. Aggregation
AEP - OP      00140060739377325           Electric       Gov. Aggregation   FEOH - TE     08032747762380032428        Electric       Gov. Aggregation
AEP - OP      00140060739464371           Electric       Gov. Aggregation   FEOH - OE     08032770170000186502        Electric       Gov. Aggregation
AEP - OP      00140060739635155           Electric       Gov. Aggregation   FEOH - OE     08032847370000769757        Electric       Gov. Aggregation
AEP - OP      00140060743300394           Electric       Gov. Aggregation   FEOH - OE     08032917530001128987        Electric       Gov. Aggregation
AEP - OP      00140060743371460           Electric       Gov. Aggregation   FEOH - OE     08030776020001380338        Electric       Gov. Aggregation
AEP - OP      00140060743416712           Electric       Gov. Aggregation   FEOH - OE     08030823940001044329        Electric       Gov. Aggregation
AEP - OP      00140060743432755           Electric       Gov. Aggregation   FEOH - OE     08030835340001044162        Electric       Gov. Aggregation
AEP - OP      00140060743454913           Electric       Gov. Aggregation   FEOH - OE     08030974750000178957        Electric       Gov. Aggregation
AEP - OP      00140060743466472           Electric       Gov. Aggregation   FEOH - OE     08031057910001044246        Electric       Gov. Aggregation
AEP - OP      00140060743562585           Electric       Gov. Aggregation   FEOH - OE     08031097980001390664        Electric       Gov. Aggregation
AEP - OP      00140060735616970           Electric       Gov. Aggregation   FEOH - TE     08032941482600007350        Electric       Gov. Aggregation
AEP - OP      00140060735624855           Electric       Gov. Aggregation   FEOH - OE     08032957310000804171        Electric       Gov. Aggregation
AEP - OP      00140060735650340           Electric       Gov. Aggregation   FEOH - TE     08032968002210015212        Electric       Gov. Aggregation
AEP - OP      00140060735705473           Electric       Gov. Aggregation   FEOH - OE     08033044080000778700        Electric       Gov. Aggregation
AEP - OP      00140060735718350           Electric       Gov. Aggregation   FEOH - OE     08033052570000803714        Electric       Gov. Aggregation
AEP - OP      00140060735719420           Electric       Gov. Aggregation   FEOH - TE     08033097332040001534        Electric       Gov. Aggregation
AEP - OP      00140060735740672           Electric       Gov. Aggregation   FEOH - TE     08033109922430001218        Electric       Gov. Aggregation
AEP - OP      00140060745815450           Electric       Gov. Aggregation   FEOH - OE     08031509240001408520        Electric       Gov. Aggregation
AEP - OP      00140060746053334           Electric       Gov. Aggregation   FEOH - OE     08031510540000762703        Electric       Gov. Aggregation
AEP - OP      00140060746070304           Electric       Gov. Aggregation   FEOH - OE     08031526670001127748        Electric       Gov. Aggregation
AEP - OP      00140060746132141           Electric       Gov. Aggregation   FEOH - OE     08031526670001129744        Electric       Gov. Aggregation
AEP - OP      00140060746147564           Electric       Gov. Aggregation   FEOH - OE     08031537900001538517        Electric       Gov. Aggregation
AEP - OP      00140060746183750           Electric       Gov. Aggregation   FEOH - OE     08031622350001128377        Electric       Gov. Aggregation
AEP - OP      00140060746217035           Electric       Gov. Aggregation   FEOH - TE     08031683962080093848        Electric       Gov. Aggregation
AEP - OP      00140060746061913           Electric       Gov. Aggregation   FEOH - TE     08052361362810020990        Electric       Gov. Aggregation
AEP - OP      00140060746126913           Electric       Gov. Aggregation   FEOH - OE     08052390820000803181        Electric       Gov. Aggregation
AEP - OP      00140060746226513           Electric       Gov. Aggregation   FEOH - TE     08052399492850022412        Electric       Gov. Aggregation
AEP - OP      00140060746356594           Electric       Gov. Aggregation   FEOH - TE     08052404832900009449        Electric       Gov. Aggregation
AEP - OP      00140060746467451           Electric       Gov. Aggregation   FEOH - OE     08052492275001342559        Electric       Gov. Aggregation
AEP - OP      00140060746520730           Electric       Gov. Aggregation   FEOH - OE     08052545580000778344        Electric       Gov. Aggregation
AEP - OP      00140060746713433           Electric       Gov. Aggregation   FEOH - OE     08052611070000786658        Electric       Gov. Aggregation
AEP - OP      00140060733505674           Electric       Gov. Aggregation   FEOH - OE     08037464430001046486        Electric       Gov. Aggregation
AEP - OP      00140060733534413           Electric       Gov. Aggregation   FEOH - TE     08037467282040000851        Electric       Gov. Aggregation
AEP - OP      00140060733568345           Electric       Gov. Aggregation   FEOH - OE     08037468510000584137        Electric       Gov. Aggregation
AEP - OP      00140060733575405           Electric       Gov. Aggregation   FEOH - OE     08037470040000168317        Electric       Gov. Aggregation
AEP - OP      00140060733654214           Electric       Gov. Aggregation   FEOH - OE     08037547220000804704        Electric       Gov. Aggregation
AEP - OP      00140060733657224           Electric       Gov. Aggregation   FEOH - OE     08037554950000804896        Electric       Gov. Aggregation
AEP - OP      00140060733676024           Electric       Gov. Aggregation   FEOH - OE     08037579280000809469        Electric       Gov. Aggregation
AEP - OP      00140060733015055           Electric       Gov. Aggregation   FEOH - OE     08033405900001131390        Electric       Gov. Aggregation
AEP - OP      00140060733054071           Electric       Gov. Aggregation   FEOH - OE     08033431880000803463        Electric       Gov. Aggregation
AEP - OP      00140060733072735           Electric       Gov. Aggregation   FEOH - OE     08033460210000789068        Electric       Gov. Aggregation
AEP - OP      00140060733197622           Electric       Gov. Aggregation   FEOH - OE     08033488200000790875        Electric       Gov. Aggregation
AEP - OP      00140060733325764           Electric       Gov. Aggregation   FEOH - TE     08033509022850020882        Electric       Gov. Aggregation
AEP - OP      00140060733429083           Electric       Gov. Aggregation   FEOH - OE     08033534940001040498        Electric       Gov. Aggregation
AEP - OP      00140060733689204           Electric       Gov. Aggregation   FEOH - OE     08033556180001143277        Electric       Gov. Aggregation
AEP - OP      00140060739707454           Electric       Gov. Aggregation   FEOH - OE     08031121535000161588        Electric       Gov. Aggregation
AEP - OP      00140060739776901           Electric       Gov. Aggregation   FEOH - OE     08031136780001129506        Electric       Gov. Aggregation
AEP - OP      00140060739895961           Electric       Gov. Aggregation   FEOH - OE     08031137790000804012        Electric       Gov. Aggregation
AEP - OP      00140060740105900           Electric       Gov. Aggregation   FEOH - OE     08031165600000806193        Electric       Gov. Aggregation
AEP - OP      00140060740108452           Electric       Gov. Aggregation   FEOH - TE     08031192282850092037        Electric       Gov. Aggregation
AEP - OP      00140060740112385           Electric       Gov. Aggregation   FEOH - TE     08031199602080023054        Electric       Gov. Aggregation
AEP - OP      00140060740268444           Electric       Gov. Aggregation   FEOH - TE     08031292432380032771        Electric       Gov. Aggregation
AEP - OP      00140060743868133           Electric       Gov. Aggregation   FEOH - OE     08038725670001512969        Electric       Gov. Aggregation
AEP - OP      00140060744082562           Electric       Gov. Aggregation   FEOH - OE     08038731715000256168        Electric       Gov. Aggregation
AEP - OP      00140060744093962           Electric       Gov. Aggregation   FEOH - OE     08038732770000844862        Electric       Gov. Aggregation
AEP - OP      00140060744193691           Electric       Gov. Aggregation   FEOH - TE     08038739472850017855        Electric       Gov. Aggregation
AEP - OP      00140060744381485           Electric       Gov. Aggregation   FEOH - OE     08038777100000758886        Electric       Gov. Aggregation
AEP - OP      00140060744412615           Electric       Gov. Aggregation   FEOH - OE     08038800650001044276        Electric       Gov. Aggregation
AEP - OP      00140060744559085           Electric       Gov. Aggregation   FEOH - OE     08038807160001040712        Electric       Gov. Aggregation
AEP - OP      00140060746221133           Electric       Gov. Aggregation   FEOH - OE     08052391510001044138        Electric       Gov. Aggregation
AEP - OP      00140060746270780           Electric       Gov. Aggregation   FEOH - OE     08052416080000762285        Electric       Gov. Aggregation
AEP - OP      00140060746369293           Electric       Gov. Aggregation   FEOH - OE     08052437980001128269        Electric       Gov. Aggregation
AEP - OP      00140060746398474           Electric       Gov. Aggregation   FEOH - OE     08052462860000790020        Electric       Gov. Aggregation
AEP - OP      00140060746572253           Electric       Gov. Aggregation   FEOH - OE     08052549520000803677        Electric       Gov. Aggregation
AEP - OP      00140060746626210           Electric       Gov. Aggregation   FEOH - OE     08052601770001044466        Electric       Gov. Aggregation
AEP - OP      00140060746656994           Electric       Gov. Aggregation   FEOH - OE     08052624250000844618        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060746783071           Electric       Gov. Aggregation   FEOH - OE     08052669720000590607        Electric       Gov. Aggregation
AEP - OP      00140060746791133           Electric       Gov. Aggregation   FEOH - OE     08052671950000177919        Electric       Gov. Aggregation
AEP - OP      00140060746863260           Electric       Gov. Aggregation   FEOH - OE     08052767970001127827        Electric       Gov. Aggregation
AEP - OP      00140060746926805           Electric       Gov. Aggregation   FEOH - TE     08031777992300026498        Electric       Gov. Aggregation
AEP - OP      00140060746960375           Electric       Gov. Aggregation   FEOH - OE     08032075730000762661        Electric       Gov. Aggregation
AEP - OP      00140060747239372           Electric       Gov. Aggregation   FEOH - OE     08032101270000784430        Electric       Gov. Aggregation
AEP - OP      00140060747239372           Electric       Gov. Aggregation   FEOH - OE     08032124720000765693        Electric       Gov. Aggregation
AEP - OP      00140060742776400           Electric       Gov. Aggregation   FEOH - OE     08032222125000351027        Electric       Gov. Aggregation
AEP - OP      00140060742998622           Electric       Gov. Aggregation   FEOH - TE     08037583882080026859        Electric       Gov. Aggregation
AEP - OP      00140060743070782           Electric       Gov. Aggregation   FEOH - OE     08037601690001505032        Electric       Gov. Aggregation
AEP - OP      00140060743112760           Electric       Gov. Aggregation   FEOH - OE     08037665330000187231        Electric       Gov. Aggregation
AEP - OP      00140060743125845           Electric       Gov. Aggregation   FEOH - OE     08037766600000810128        Electric       Gov. Aggregation
AEP - OP      00140060743132504           Electric       Gov. Aggregation   FEOH - OE     08037782215000341360        Electric       Gov. Aggregation
AEP - OP      00140060733691962           Electric       Gov. Aggregation   FEOH - OE     08037805600000790627        Electric       Gov. Aggregation
AEP - OP      00140060733742180           Electric       Gov. Aggregation   FEOH - OE     08033585930000802933        Electric       Gov. Aggregation
AEP - OP      00140060733832093           Electric       Gov. Aggregation   FEOH - OE     08033627930000791236        Electric       Gov. Aggregation
AEP - OP      00140060733886250           Electric       Gov. Aggregation   FEOH - OE     08033628730001043551        Electric       Gov. Aggregation
AEP - OP      00140060733987611           Electric       Gov. Aggregation   FEOH - OE     08033639510000776816        Electric       Gov. Aggregation
AEP - OP      00140060734025665           Electric       Gov. Aggregation   FEOH - OE     08033644440001043535        Electric       Gov. Aggregation
AEP - OP      00140060734066035           Electric       Gov. Aggregation   FEOH - TE     08033655122810020666        Electric       Gov. Aggregation
AEP - OP      00140060733874620           Electric       Gov. Aggregation   FEOH - OE     08033770370000604279        Electric       Gov. Aggregation
AEP - OP      00140060734119701           Electric       Gov. Aggregation   FEOH - OE     08038807780001045053        Electric       Gov. Aggregation
AEP - OP      00140060734268842           Electric       Gov. Aggregation   FEOH - OE     08038823620001142408        Electric       Gov. Aggregation
AEP - OP      00140060734382792           Electric       Gov. Aggregation   FEOH - TE     08038951085001256024        Electric       Gov. Aggregation
AEP - OP      00140060734445494           Electric       Gov. Aggregation   FEOH - OE     08038972140000778475        Electric       Gov. Aggregation
AEP - OP      00140060734616620           Electric       Gov. Aggregation   FEOH - OE     08038989870000805417        Electric       Gov. Aggregation
AEP - OP      00140060740353064           Electric       Gov. Aggregation   FEOH - OE     08039037610000804204        Electric       Gov. Aggregation
AEP - OP      00140060740357443           Electric       Gov. Aggregation   FEOH - OE     08039153230000790218        Electric       Gov. Aggregation
AEP - OP      00140060740375850           Electric       Gov. Aggregation   FEOH - OE     08031302140000784404        Electric       Gov. Aggregation
AEP - OP      00140060740418675           Electric       Gov. Aggregation   FEOH - OE     08031500700001045608        Electric       Gov. Aggregation
AEP - OP      00140060740429791           Electric       Gov. Aggregation   FEOH - OE     08031526670001131232        Electric       Gov. Aggregation
AEP - OP      00140060740696793           Electric       Gov. Aggregation   FEOH - OE     08031559120001571336        Electric       Gov. Aggregation
AEP - OP      00140060740741414           Electric       Gov. Aggregation   FEOH - TE     08031565682390001212        Electric       Gov. Aggregation
AEP - OP      00140060744632832           Electric       Gov. Aggregation   FEOH - OE     08031673940001502604        Electric       Gov. Aggregation
AEP - OP      00140060744649631           Electric       Gov. Aggregation   FEOH - OE     08031687285001237939        Electric       Gov. Aggregation
AEP - OP      00140060744664124           Electric       Gov. Aggregation   FEOH - OE     08052620165000021628        Electric       Gov. Aggregation
AEP - OP      00140060744680100           Electric       Gov. Aggregation   FEOH - OE     08052661530000790802        Electric       Gov. Aggregation
AEP - OP      00140060744820165           Electric       Gov. Aggregation   FEOH - TE     08052714402380032658        Electric       Gov. Aggregation
AEP - OP      00140060744949640           Electric       Gov. Aggregation   FEOH - OE     08052727140001385043        Electric       Gov. Aggregation
AEP - OP      00140060744979012           Electric       Gov. Aggregation   FEOH - TE     08052752052850018434        Electric       Gov. Aggregation
AEP - OP      00140060735783381           Electric       Gov. Aggregation   FEOH - OE     08052786685001457921        Electric       Gov. Aggregation
AEP - OP      00140060735788371           Electric       Gov. Aggregation   FEOH - OE     08052896150000187121        Electric       Gov. Aggregation
AEP - OP      00140060735913793           Electric       Gov. Aggregation   FEOH - OE     08052934610001128546        Electric       Gov. Aggregation
AEP - OP      00140060735929981           Electric       Gov. Aggregation   FEOH - OE     08052952630001487880        Electric       Gov. Aggregation
AEP - OP      00140060736131112           Electric       Gov. Aggregation   FEOH - OE     08052983470001129303        Electric       Gov. Aggregation
AEP - OP      00140060736178612           Electric       Gov. Aggregation   FEOH - OE     08053227570000791479        Electric       Gov. Aggregation
AEP - OP      00140060736181351           Electric       Gov. Aggregation   FEOH - OE     08053263240000791097        Electric       Gov. Aggregation
AEP - OP      00140060747454971           Electric       Gov. Aggregation   FEOH - OE     08032231670001461241        Electric       Gov. Aggregation
AEP - OP      00140060747508972           Electric       Gov. Aggregation   FEOH - TE     08032253472850024967        Electric       Gov. Aggregation
AEP - OP      00140060747545022           Electric       Gov. Aggregation   FEOH - OE     08032311860000806204        Electric       Gov. Aggregation
AEP - OP      00140060747664001           Electric       Gov. Aggregation   FEOH - OE     08032376840001129340        Electric       Gov. Aggregation
AEP - OP      00140060747679053           Electric       Gov. Aggregation   FEOH - OE     08032390220000791750        Electric       Gov. Aggregation
AEP - OP      00140060747689364           Electric       Gov. Aggregation   FEOH - OE     08032390920001564228        Electric       Gov. Aggregation
AEP - OP      00140060747782813           Electric       Gov. Aggregation   FEOH - TE     08032452892020093242        Electric       Gov. Aggregation
AEP - OP      00140060743164815           Electric       Gov. Aggregation   FEOH - OE     08037851860000584251        Electric       Gov. Aggregation
AEP - OP      00140060743171615           Electric       Gov. Aggregation   FEOH - OE     08037875940000782698        Electric       Gov. Aggregation
AEP - OP      00140060743196863           Electric       Gov. Aggregation   FEOH - TE     08037947932850021316        Electric       Gov. Aggregation
AEP - OP      00140060743357624           Electric       Gov. Aggregation   FEOH - OE     08038022330000791278        Electric       Gov. Aggregation
AEP - OP      00140060743382204           Electric       Gov. Aggregation   FEOH - OE     08038023750000778229        Electric       Gov. Aggregation
AEP - OP      00140060743541611           Electric       Gov. Aggregation   FEOH - OE     08038181250001559282        Electric       Gov. Aggregation
AEP - OP      00140060743547503           Electric       Gov. Aggregation   FEOH - OE     08033814800001368986        Electric       Gov. Aggregation
AEP - OP      00140060746675670           Electric       Gov. Aggregation   FEOH - OE     08033817300000791185        Electric       Gov. Aggregation
AEP - OP      00140060746749863           Electric       Gov. Aggregation   FEOH - OE     08033831610000803406        Electric       Gov. Aggregation
AEP - OP      00140060746964745           Electric       Gov. Aggregation   FEOH - OE     08033894570001128229        Electric       Gov. Aggregation
AEP - OP      00140060747045412           Electric       Gov. Aggregation   FEOH - OE     08033916220000782607        Electric       Gov. Aggregation
AEP - OP      00140060747093350           Electric       Gov. Aggregation   FEOH - OE     08033917110001041907        Electric       Gov. Aggregation
AEP - OP      00140060747110621           Electric       Gov. Aggregation   FEOH - TE     08033933072210012661        Electric       Gov. Aggregation
AEP - OP      00140060747113420           Electric       Gov. Aggregation   FEOH - OE     08031692930000587649        Electric       Gov. Aggregation
AEP - OP      00140060734623555           Electric       Gov. Aggregation   FEOH - TE     08031751772380033473        Electric       Gov. Aggregation
AEP - OP      00140060734726465           Electric       Gov. Aggregation   FEOH - OE     08031752540000803994        Electric       Gov. Aggregation
AEP - OP      00140060734796703           Electric       Gov. Aggregation   FEOH - OE     08031774530000786370        Electric       Gov. Aggregation
AEP - OP      00140060734846614           Electric       Gov. Aggregation   FEOH - OE     08031885480000778235        Electric       Gov. Aggregation
AEP - OP      00140060735029022           Electric       Gov. Aggregation   FEOH - OE     08039189880000790400        Electric       Gov. Aggregation
AEP - OP      00140060735041035           Electric       Gov. Aggregation   FEOH - OE     08039206270001380672        Electric       Gov. Aggregation
AEP - OP      00140060735041604           Electric       Gov. Aggregation   FEOH - OE     08039245150001128974        Electric       Gov. Aggregation
AEP - OP      00140060734120600           Electric       Gov. Aggregation   FEOH - OE     08039301120000844851        Electric       Gov. Aggregation
AEP - OP      00140060734327110           Electric       Gov. Aggregation   FEOH - TE     08039301982770019868        Electric       Gov. Aggregation
AEP - OP      00140060734415831           Electric       Gov. Aggregation   FEOH - OE     08039392620001517584        Electric       Gov. Aggregation
AEP - OP      00140060734589252           Electric       Gov. Aggregation   FEOH - OE     08039414385001272300        Electric       Gov. Aggregation
AEP - OP      00140060734617450           Electric       Gov. Aggregation   FEOH - OE     08052949670000778695        Electric       Gov. Aggregation
AEP - OP      00140060734626511           Electric       Gov. Aggregation   FEOH - TE     08052965755001305142        Electric       Gov. Aggregation
AEP - OP      00140060734659513           Electric       Gov. Aggregation   FEOH - OE     08053045780000584134        Electric       Gov. Aggregation
AEP - OP      00140060736335801           Electric       Gov. Aggregation   FEOH - OE     08053101805001282521        Electric       Gov. Aggregation
AEP - OP      00140060736482365           Electric       Gov. Aggregation   FEOH - OE     08053113100001127530        Electric       Gov. Aggregation
AEP - OP      00140060736534942           Electric       Gov. Aggregation   FEOH - OE     08053113100001142011        Electric       Gov. Aggregation
AEP - OP      00140060736541381           Electric       Gov. Aggregation   FEOH - OE     08053113850001130321        Electric       Gov. Aggregation
AEP - OP      00140060736556871           Electric       Gov. Aggregation   FEOH - OE     08053287295001312277        Electric       Gov. Aggregation
AEP - OP      00140060736560204           Electric       Gov. Aggregation   FEOH - OE     08053299240000803251        Electric       Gov. Aggregation
AEP - OP      00140060736617311           Electric       Gov. Aggregation   FEOH - OE     08053299240001457391        Electric       Gov. Aggregation
AEP - OP      00140060743561011           Electric       Gov. Aggregation   FEOH - TE     08053369263000005184        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060743600774           Electric       Gov. Aggregation   FEOH - OE     08053444880001129473        Electric       Gov. Aggregation
AEP - OP      00140060743636222           Electric       Gov. Aggregation   FEOH - TE     08053452395001315755        Electric       Gov. Aggregation
AEP - OP      00140060743684074           Electric       Gov. Aggregation   FEOH - OE     08032465990000778548        Electric       Gov. Aggregation
AEP - OP      00140060743826723           Electric       Gov. Aggregation   FEOH - OE     08032481455000341324        Electric       Gov. Aggregation
AEP - OP      00140060744179974           Electric       Gov. Aggregation   FEOH - TE     08032527102600008230        Electric       Gov. Aggregation
AEP - OP      00140060744222022           Electric       Gov. Aggregation   FEOH - OE     08032565180001130784        Electric       Gov. Aggregation
AEP - OP      00140060745188762           Electric       Gov. Aggregation   FEOH - OE     08032743740001130530        Electric       Gov. Aggregation
AEP - OP      00140060745277625           Electric       Gov. Aggregation   FEOH - TE     08032807002770021184        Electric       Gov. Aggregation
AEP - OP      00140060745324600           Electric       Gov. Aggregation   FEOH - OE     08038198970001142853        Electric       Gov. Aggregation
AEP - OP      00140060745395715           Electric       Gov. Aggregation   FEOH - OE     08038310230000790273        Electric       Gov. Aggregation
AEP - OP      00140060745413395           Electric       Gov. Aggregation   FEOH - OE     08038329510001455299        Electric       Gov. Aggregation
AEP - OP      00140060745437212           Electric       Gov. Aggregation   FEOH - OE     08038333470001143017        Electric       Gov. Aggregation
AEP - OP      00140060745437333           Electric       Gov. Aggregation   FEOH - OE     08038398880001521495        Electric       Gov. Aggregation
AEP - OP      00140060740741712           Electric       Gov. Aggregation   FEOH - OE     08038591020000804322        Electric       Gov. Aggregation
AEP - OP      00140060740913784           Electric       Gov. Aggregation   FEOH - OE     08033977010001043357        Electric       Gov. Aggregation
AEP - OP      00140060741089244           Electric       Gov. Aggregation   FEOH - OE     08034031820000587654        Electric       Gov. Aggregation
AEP - OP      00140060741093301           Electric       Gov. Aggregation   FEOH - OE     08034062075000236623        Electric       Gov. Aggregation
AEP - OP      00140060741135185           Electric       Gov. Aggregation   FEOH - TE     08034152942600009961        Electric       Gov. Aggregation
AEP - OP      00140060741444590           Electric       Gov. Aggregation   FEOH - OE     08034211200000803391        Electric       Gov. Aggregation
AEP - OP      00140060741625831           Electric       Gov. Aggregation   FEOH - TE     08034330052420033183        Electric       Gov. Aggregation
AEP - OP      00140060747175351           Electric       Gov. Aggregation   FEOH - OE     08031896890001128821        Electric       Gov. Aggregation
AEP - OP      00140060747426525           Electric       Gov. Aggregation   FEOH - OE     08032012720001143169        Electric       Gov. Aggregation
AEP - OP      00140060747512920           Electric       Gov. Aggregation   FEOH - TE     08032020932080022864        Electric       Gov. Aggregation
AEP - OP      00140060747603443           Electric       Gov. Aggregation   FEOH - OE     08032031990000809526        Electric       Gov. Aggregation
AEP - OP      00140060747806535           Electric       Gov. Aggregation   FEOH - TE     08032035285000200562        Electric       Gov. Aggregation
AEP - OP      00140060747901355           Electric       Gov. Aggregation   FEOH - OE     08032108320000780235        Electric       Gov. Aggregation
AEP - OP      00140060734668715           Electric       Gov. Aggregation   FEOH - TE     08032122682850024051        Electric       Gov. Aggregation
AEP - OP      00140060734845812           Electric       Gov. Aggregation   FEOH - OE     08039461220001128997        Electric       Gov. Aggregation
AEP - OP      00140060734849431           Electric       Gov. Aggregation   FEOH - OE     08039497080000789287        Electric       Gov. Aggregation
AEP - OP      00140060734874171           Electric       Gov. Aggregation   FEOH - OE     08039512750001041790        Electric       Gov. Aggregation
AEP - OP      00140060734982862           Electric       Gov. Aggregation   FEOH - OE     08039583935000367549        Electric       Gov. Aggregation
AEP - OP      00140060734986760           Electric       Gov. Aggregation   FEOH - OE     08039615500001564336        Electric       Gov. Aggregation
AEP - OP      00140060734994174           Electric       Gov. Aggregation   FEOH - OE     08039659450001129873        Electric       Gov. Aggregation
AEP - OP      00140060736777621           Electric       Gov. Aggregation   FEOH - OE     08053151800000804201        Electric       Gov. Aggregation
AEP - OP      00140060736808703           Electric       Gov. Aggregation   FEOH - OE     08053188220000791230        Electric       Gov. Aggregation
AEP - OP      00140060736816334           Electric       Gov. Aggregation   FEOH - OE     08053219310000584166        Electric       Gov. Aggregation
AEP - OP      00140060736946944           Electric       Gov. Aggregation   FEOH - OE     08053224050001462832        Electric       Gov. Aggregation
AEP - OP      00140060736954550           Electric       Gov. Aggregation   FEOH - OE     08053314260001127888        Electric       Gov. Aggregation
AEP - OP      00140060737305293           Electric       Gov. Aggregation   FEOH - OE     08053357000001130028        Electric       Gov. Aggregation
AEP - OP      00140060737363341           Electric       Gov. Aggregation   FEOH - OE     08032832190001044495        Electric       Gov. Aggregation
AEP - OP      00140060744250223           Electric       Gov. Aggregation   FEOH - OE     08032843580000791273        Electric       Gov. Aggregation
AEP - OP      00140060744269763           Electric       Gov. Aggregation   FEOH - OE     08032861560000187155        Electric       Gov. Aggregation
AEP - OP      00140060744358003           Electric       Gov. Aggregation   FEOH - OE     08032878230000186401        Electric       Gov. Aggregation
AEP - OP      00140060744408743           Electric       Gov. Aggregation   FEOH - OE     08032890330000784646        Electric       Gov. Aggregation
AEP - OP      00140060744442170           Electric       Gov. Aggregation   FEOH - OE     08032928170000844476        Electric       Gov. Aggregation
AEP - OP      00140060744515272           Electric       Gov. Aggregation   FEOH - OE     08032975435001487290        Electric       Gov. Aggregation
AEP - OP      00140060741641791           Electric       Gov. Aggregation   FEOH - OE     08038626080000792733        Electric       Gov. Aggregation
AEP - OP      00140060741648451           Electric       Gov. Aggregation   FEOH - OE     08038663200000784487        Electric       Gov. Aggregation
AEP - OP      00140060741725904           Electric       Gov. Aggregation   FEOH - OE     08038695540001041740        Electric       Gov. Aggregation
AEP - OP      00140060741906505           Electric       Gov. Aggregation   FEOH - OE     08038845200000186477        Electric       Gov. Aggregation
AEP - OP      00140060742047051           Electric       Gov. Aggregation   FEOH - TE     08038861612680021555        Electric       Gov. Aggregation
AEP - OP      00140060742115435           Electric       Gov. Aggregation   FEOH - TE     08038951085000385241        Electric       Gov. Aggregation
AEP - OP      00140060742121880           Electric       Gov. Aggregation   FEOH - TE     08038974332850020948        Electric       Gov. Aggregation
AEP - OP      00140060744548205           Electric       Gov. Aggregation   FEOH - TE     08034373822990094231        Electric       Gov. Aggregation
AEP - OP      00140060744617240           Electric       Gov. Aggregation   FEOH - TE     08034380592850021739        Electric       Gov. Aggregation
AEP - OP      00140060744625691           Electric       Gov. Aggregation   FEOH - OE     08034451560001561026        Electric       Gov. Aggregation
AEP - OP      00140060744643354           Electric       Gov. Aggregation   FEOH - OE     08034464850000806086        Electric       Gov. Aggregation
AEP - OP      00140060744732772           Electric       Gov. Aggregation   FEOH - OE     08034512280001129906        Electric       Gov. Aggregation
AEP - OP      00140060744744293           Electric       Gov. Aggregation   FEOH - TE     08034523932380028506        Electric       Gov. Aggregation
AEP - OP      00140060744960991           Electric       Gov. Aggregation   FEOH - OE     08032141800000187251        Electric       Gov. Aggregation
AEP - OP      00140060737368350           Electric       Gov. Aggregation   FEOH - OE     08032163315000153179        Electric       Gov. Aggregation
AEP - OP      00140060737398625           Electric       Gov. Aggregation   FEOH - OE     08032185510001130837        Electric       Gov. Aggregation
AEP - OP      00140060737418591           Electric       Gov. Aggregation   FEOH - TE     08032187762680018828        Electric       Gov. Aggregation
AEP - OP      00140060737560122           Electric       Gov. Aggregation   FEOH - OE     08032312120001129023        Electric       Gov. Aggregation
AEP - OP      00140060737670333           Electric       Gov. Aggregation   FEOH - OE     08032320880001355811        Electric       Gov. Aggregation
AEP - OP      00140060737706754           Electric       Gov. Aggregation   FEOH - OE     08032389190000789207        Electric       Gov. Aggregation
AEP - OP      00140060737806384           Electric       Gov. Aggregation   FEOH - OE     08039703190001044632        Electric       Gov. Aggregation
AEP - OP      00140060747939395           Electric       Gov. Aggregation   FEOH - OE     08039735410001130767        Electric       Gov. Aggregation
AEP - OP      00140060748046113           Electric       Gov. Aggregation   FEOH - OE     08039754960000803826        Electric       Gov. Aggregation
AEP - OP      00140060748135080           Electric       Gov. Aggregation   FEOH - OE     08039766910000844667        Electric       Gov. Aggregation
AEP - OP      00140060748162761           Electric       Gov. Aggregation   FEOH - TE     08039795352380028281        Electric       Gov. Aggregation
AEP - OP      00140060748196461           Electric       Gov. Aggregation   FEOH - OE     08039805735000370256        Electric       Gov. Aggregation
AEP - OP      00140060748214483           Electric       Gov. Aggregation   FEOH - OE     08039849420000778268        Electric       Gov. Aggregation
AEP - OP      00140060748282080           Electric       Gov. Aggregation   FEOH - OE     08039005290001129869        Electric       Gov. Aggregation
AEP - OP      00140060735129982           Electric       Gov. Aggregation   FEOH - OE     08039037370001131113        Electric       Gov. Aggregation
AEP - OP      00140060735143773           Electric       Gov. Aggregation   FEOH - OE     08039156190000790984        Electric       Gov. Aggregation
AEP - OP      00140060735306351           Electric       Gov. Aggregation   FEOH - OE     08039177445000353071        Electric       Gov. Aggregation
AEP - OP      00140060735423241           Electric       Gov. Aggregation   FEOH - OE     08039202920000776724        Electric       Gov. Aggregation
AEP - OP      00140060735470862           Electric       Gov. Aggregation   FEOH - TE     08039204072900010664        Electric       Gov. Aggregation
AEP - OP      00140060735543635           Electric       Gov. Aggregation   FEOH - OE     08039269080001509314        Electric       Gov. Aggregation
AEP - OP      00140060735545375           Electric       Gov. Aggregation   FEOH - OE     08032990095000284336        Electric       Gov. Aggregation
AEP - OP      00140060735024522           Electric       Gov. Aggregation   FEOH - OE     08033014600000791471        Electric       Gov. Aggregation
AEP - OP      00140060735050450           Electric       Gov. Aggregation   FEOH - TE     08033091202380028366        Electric       Gov. Aggregation
AEP - OP      00140060735113980           Electric       Gov. Aggregation   FEOH - TE     08033119152080026883        Electric       Gov. Aggregation
AEP - OP      00140060735244021           Electric       Gov. Aggregation   FEOH - OE     08033258020000844475        Electric       Gov. Aggregation
AEP - OP      00140060735366460           Electric       Gov. Aggregation   FEOH - TE     08033341302900008588        Electric       Gov. Aggregation
AEP - OP      00140060735393352           Electric       Gov. Aggregation   FEOH - OE     08032390740000771073        Electric       Gov. Aggregation
AEP - OP      00140060735447905           Electric       Gov. Aggregation   FEOH - OE     08032394470001452482        Electric       Gov. Aggregation
AEP - OP      00140060744971243           Electric       Gov. Aggregation   FEOH - OE     08032533910001458500        Electric       Gov. Aggregation
AEP - OP      00140060744978364           Electric       Gov. Aggregation   FEOH - OE     08032681600000778783        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060745129804           Electric       Gov. Aggregation   FEOH - OE     08032687955000221435        Electric       Gov. Aggregation
AEP - OP      00140060745138604           Electric       Gov. Aggregation   FEOH - OE     08032700200000186441        Electric       Gov. Aggregation
AEP - OP      00140060745144464           Electric       Gov. Aggregation   FEOH - OE     08032824660000770539        Electric       Gov. Aggregation
AEP - OP      00140060745171355           Electric       Gov. Aggregation   FEOH - OE     08039868420001045203        Electric       Gov. Aggregation
AEP - OP      00140060747802475           Electric       Gov. Aggregation   FEOH - TE     08039929222760093862        Electric       Gov. Aggregation
AEP - OP      00140060747965734           Electric       Gov. Aggregation   FEOH - OE     08039930880000168336        Electric       Gov. Aggregation
AEP - OP      00140060748191944           Electric       Gov. Aggregation   FEOH - OE     08039935810001128311        Electric       Gov. Aggregation
AEP - OP      00140060748350061           Electric       Gov. Aggregation   FEOH - OE     08039960760001143006        Electric       Gov. Aggregation
AEP - OP      00140060748395015           Electric       Gov. Aggregation   FEOH - OE     08040021480001561156        Electric       Gov. Aggregation
AEP - OP      00140060748435372           Electric       Gov. Aggregation   FEOH - OE     08040021880000791251        Electric       Gov. Aggregation
AEP - OP      00140060745451254           Electric       Gov. Aggregation   FEOH - OE     08034525520000803436        Electric       Gov. Aggregation
AEP - OP      00140060745482591           Electric       Gov. Aggregation   FEOH - OE     08034567480000592374        Electric       Gov. Aggregation
AEP - OP      00140060745515865           Electric       Gov. Aggregation   FEOH - TE     08034598462170013174        Electric       Gov. Aggregation
AEP - OP      00140060745528794           Electric       Gov. Aggregation   FEOH - TE     08034598462170013188        Electric       Gov. Aggregation
AEP - OP      00140060745643902           Electric       Gov. Aggregation   FEOH - TE     08034604033000005010        Electric       Gov. Aggregation
AEP - OP      00140060745836764           Electric       Gov. Aggregation   FEOH - OE     08034629790000791120        Electric       Gov. Aggregation
AEP - OP      00140060745883515           Electric       Gov. Aggregation   FEOH - OE     08034721420000804597        Electric       Gov. Aggregation
AEP - OP      00140060748376603           Electric       Gov. Aggregation   FEOH - OE     08039301470001128758        Electric       Gov. Aggregation
AEP - OP      00140060748400630           Electric       Gov. Aggregation   FEOH - OE     08039409580001515291        Electric       Gov. Aggregation
AEP - OP      00140060748448511           Electric       Gov. Aggregation   FEOH - OE     08039419235000147903        Electric       Gov. Aggregation
AEP - OP      00140060748547172           Electric       Gov. Aggregation   FEOH - TE     08039467872430001083        Electric       Gov. Aggregation
AEP - OP      00140060748602772           Electric       Gov. Aggregation   FEOH - OE     08039499060001130250        Electric       Gov. Aggregation
AEP - OP      00140060748665812           Electric       Gov. Aggregation   FEOH - TE     08039515572210014219        Electric       Gov. Aggregation
AEP - OP      00140060748720095           Electric       Gov. Aggregation   FEOH - TE     08039533243000003009        Electric       Gov. Aggregation
AEP - OP      00140060748481115           Electric       Gov. Aggregation   FEOH - OE     08033358080001129656        Electric       Gov. Aggregation
AEP - OP      00140060748505324           Electric       Gov. Aggregation   FEOH - OE     08033362180000778445        Electric       Gov. Aggregation
AEP - OP      00140060748725882           Electric       Gov. Aggregation   FEOH - OE     08033362180000778445        Electric       Gov. Aggregation
AEP - OP      00140060748735900           Electric       Gov. Aggregation   FEOH - OE     08033366930001040757        Electric       Gov. Aggregation
AEP - OP      00140060748807244           Electric       Gov. Aggregation   FEOH - TE     08033395702680023034        Electric       Gov. Aggregation
AEP - OP      00140060748863013           Electric       Gov. Aggregation   FEOH - OE     08033405900001131387        Electric       Gov. Aggregation
AEP - OP      00140060748941794           Electric       Gov. Aggregation   FEOH - OE     08033418420001553214        Electric       Gov. Aggregation
AEP - OP      00140060737843812           Electric       Gov. Aggregation   FEOH - OE     08032831050000790795        Electric       Gov. Aggregation
AEP - OP      00140060738015794           Electric       Gov. Aggregation   FEOH - OE     08032863930001341426        Electric       Gov. Aggregation
AEP - OP      00140060738311254           Electric       Gov. Aggregation   FEOH - OE     08032877175000345451        Electric       Gov. Aggregation
AEP - OP      00140060738362683           Electric       Gov. Aggregation   FEOH - OE     08033067690000778547        Electric       Gov. Aggregation
AEP - OP      00140060738554043           Electric       Gov. Aggregation   FEOH - OE     08033138610000186462        Electric       Gov. Aggregation
AEP - OP      00140060738703195           Electric       Gov. Aggregation   FEOH - OE     08033146890001045217        Electric       Gov. Aggregation
AEP - OP      00140060738734105           Electric       Gov. Aggregation   FEOH - OE     08040040500000177869        Electric       Gov. Aggregation
AEP - OP      00140060735605810           Electric       Gov. Aggregation   FEOH - OE     08040108240000784779        Electric       Gov. Aggregation
AEP - OP      00140060735617733           Electric       Gov. Aggregation   FEOH - OE     08040109355000219762        Electric       Gov. Aggregation
AEP - OP      00140060735626495           Electric       Gov. Aggregation   FEOH - OE     08040119745001256447        Electric       Gov. Aggregation
AEP - OP      00140060735644584           Electric       Gov. Aggregation   FEOH - OE     08040120260001130366        Electric       Gov. Aggregation
AEP - OP      00140060735721235           Electric       Gov. Aggregation   FEOH - OE     08040217330000803323        Electric       Gov. Aggregation
AEP - OP      00140060735763465           Electric       Gov. Aggregation   FEOH - OE     08040229120000604147        Electric       Gov. Aggregation
AEP - OP      00140060735852681           Electric       Gov. Aggregation   FEOH - TE     08033432332850018191        Electric       Gov. Aggregation
AEP - OP      00140060745225721           Electric       Gov. Aggregation   FEOH - OE     08033443370000849807        Electric       Gov. Aggregation
AEP - OP      00140060745236301           Electric       Gov. Aggregation   FEOH - OE     08033515770000762669        Electric       Gov. Aggregation
AEP - OP      00140060745430051           Electric       Gov. Aggregation   FEOH - OE     08033533010000777855        Electric       Gov. Aggregation
AEP - OP      00140060745536733           Electric       Gov. Aggregation   FEOH - OE     08033543290000791586        Electric       Gov. Aggregation
AEP - OP      00140060745574922           Electric       Gov. Aggregation   FEOH - OE     08033545130000592349        Electric       Gov. Aggregation
AEP - OP      00140060745624823           Electric       Gov. Aggregation   FEOH - OE     08033595220000583977        Electric       Gov. Aggregation
AEP - OP      00140060745640444           Electric       Gov. Aggregation   FEOH - TE     08034729792210013541        Electric       Gov. Aggregation
AEP - OP      00140060735650112           Electric       Gov. Aggregation   FEOH - OE     08034790860000789244        Electric       Gov. Aggregation
AEP - OP      00140060735740805           Electric       Gov. Aggregation   FEOH - OE     08034923080001143008        Electric       Gov. Aggregation
AEP - OP      00140060735811040           Electric       Gov. Aggregation   FEOH - OE     08035089660000790859        Electric       Gov. Aggregation
AEP - OP      00140060735897762           Electric       Gov. Aggregation   FEOH - OE     08035121640001463636        Electric       Gov. Aggregation
AEP - OP      00140060735956363           Electric       Gov. Aggregation   FEOH - OE     08035151475000295134        Electric       Gov. Aggregation
AEP - OP      00140060736077024           Electric       Gov. Aggregation   FEOH - TE     08033163022380031144        Electric       Gov. Aggregation
AEP - OP      00140060736094380           Electric       Gov. Aggregation   FEOH - OE     08033211250001044441        Electric       Gov. Aggregation
AEP - OP      00140060742188300           Electric       Gov. Aggregation   FEOH - TE     08033223782770019980        Electric       Gov. Aggregation
AEP - OP      00140060742256461           Electric       Gov. Aggregation   FEOH - OE     08033258020000844465        Electric       Gov. Aggregation
AEP - OP      00140060742268881           Electric       Gov. Aggregation   FEOH - OE     08033320590001131057        Electric       Gov. Aggregation
AEP - OP      00140060742327321           Electric       Gov. Aggregation   FEOH - OE     08033398935001496262        Electric       Gov. Aggregation
AEP - OP      00140060742528790           Electric       Gov. Aggregation   FEOH - TE     08039535095000105463        Electric       Gov. Aggregation
AEP - OP      00140060742630021           Electric       Gov. Aggregation   FEOH - TE     08039579372210014539        Electric       Gov. Aggregation
AEP - OP      00140060745944512           Electric       Gov. Aggregation   FEOH - OE     08039625410001142769        Electric       Gov. Aggregation
AEP - OP      00140060746009055           Electric       Gov. Aggregation   FEOH - OE     08039680540001492686        Electric       Gov. Aggregation
AEP - OP      00140060746063131           Electric       Gov. Aggregation   FEOH - OE     08039682330000584266        Electric       Gov. Aggregation
AEP - OP      00140060746096260           Electric       Gov. Aggregation   FEOH - OE     08039690000000804369        Electric       Gov. Aggregation
AEP - OP      00140060746124503           Electric       Gov. Aggregation   FEOH - OE     08039706880000792173        Electric       Gov. Aggregation
AEP - OP      00140060746204654           Electric       Gov. Aggregation   FEOH - OE     08040241290000187249        Electric       Gov. Aggregation
AEP - OP      00140060746250765           Electric       Gov. Aggregation   FEOH - OE     08040290830000788750        Electric       Gov. Aggregation
AEP - OP      00140060738938613           Electric       Gov. Aggregation   FEOH - OE     08040333900000790771        Electric       Gov. Aggregation
AEP - OP      00140060738970142           Electric       Gov. Aggregation   FEOH - OE     08040378890001044211        Electric       Gov. Aggregation
AEP - OP      00140060738989194           Electric       Gov. Aggregation   FEOH - OE     08040380400000803657        Electric       Gov. Aggregation
AEP - OP      00140060739200811           Electric       Gov. Aggregation   FEOH - OE     08053485970001131481        Electric       Gov. Aggregation
AEP - OP      00140060739294464           Electric       Gov. Aggregation   FEOH - OE     08053487420000805489        Electric       Gov. Aggregation
AEP - OP      00140060739313784           Electric       Gov. Aggregation   FEOH - OE     08053513000000788733        Electric       Gov. Aggregation
AEP - OP      00140060739459411           Electric       Gov. Aggregation   FEOH - OE     08053543240001043080        Electric       Gov. Aggregation
AEP - OP      00140060735857530           Electric       Gov. Aggregation   FEOH - OE     08053690500000802983        Electric       Gov. Aggregation
AEP - OP      00140060736022672           Electric       Gov. Aggregation   FEOH - OE     08053713115000021277        Electric       Gov. Aggregation
AEP - OP      00140060736023632           Electric       Gov. Aggregation   FEOH - OE     08053817120000804447        Electric       Gov. Aggregation
AEP - OP      00140060736037042           Electric       Gov. Aggregation   FEOH - OE     08053541450001128119        Electric       Gov. Aggregation
AEP - OP      00140060736182824           Electric       Gov. Aggregation   FEOH - OE     08053545925001317605        Electric       Gov. Aggregation
AEP - OP      00140060736244470           Electric       Gov. Aggregation   FEOH - OE     08053588485001332746        Electric       Gov. Aggregation
AEP - OP      00140060736375274           Electric       Gov. Aggregation   FEOH - OE     08053588485001377712        Electric       Gov. Aggregation
AEP - OP      00140060745720175           Electric       Gov. Aggregation   FEOH - TE     08053630872030033264        Electric       Gov. Aggregation
AEP - OP      00140060745760870           Electric       Gov. Aggregation   FEOH - OE     08053652680000776804        Electric       Gov. Aggregation
AEP - OP      00140060745828582           Electric       Gov. Aggregation   FEOH - OE     08053430490001127574        Electric       Gov. Aggregation
AEP - OP      00140060745861935           Electric       Gov. Aggregation   FEOH - OE     08053437420000791790        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060745897902           Electric       Gov. Aggregation   FEOH - OE     08053544540000603655        Electric       Gov. Aggregation
AEP - OP      00140060745929755           Electric       Gov. Aggregation   FEOH - OE     08053571520001142900        Electric       Gov. Aggregation
AEP - OP      00140060745941242           Electric       Gov. Aggregation   FEOH - OE     08033631060001329775        Electric       Gov. Aggregation
AEP - OP      00140060736101462           Electric       Gov. Aggregation   FEOH - OE     08033675360000790527        Electric       Gov. Aggregation
AEP - OP      00140060736157132           Electric       Gov. Aggregation   FEOH - OE     08033675360000790541        Electric       Gov. Aggregation
AEP - OP      00140060736205874           Electric       Gov. Aggregation   FEOH - OE     08033683940000789194        Electric       Gov. Aggregation
AEP - OP      00140060736281942           Electric       Gov. Aggregation   FEOH - OE     08033728765000307513        Electric       Gov. Aggregation
AEP - OP      00140060736498434           Electric       Gov. Aggregation   FEOH - OE     08033743390001143249        Electric       Gov. Aggregation
AEP - OP      00140060736541423           Electric       Gov. Aggregation   FEOH - TE     08033750752680018852        Electric       Gov. Aggregation
AEP - OP      00140060736680951           Electric       Gov. Aggregation   FEOH - OE     08033419720001367923        Electric       Gov. Aggregation
AEP - OP      00140060748975491           Electric       Gov. Aggregation   FEOH - OE     08033602760001127875        Electric       Gov. Aggregation
AEP - OP      00140060749031370           Electric       Gov. Aggregation   FEOH - OE     08033724820000792563        Electric       Gov. Aggregation
AEP - OP      00140060749035703           Electric       Gov. Aggregation   FEOH - OE     08033753255000239253        Electric       Gov. Aggregation
AEP - OP      00140060749093582           Electric       Gov. Aggregation   FEOH - OE     08033809425000259535        Electric       Gov. Aggregation
AEP - OP      00140060749114121           Electric       Gov. Aggregation   FEOH - OE     08033849620000788923        Electric       Gov. Aggregation
AEP - OP      00140060749129923           Electric       Gov. Aggregation   FEOH - OE     08033926510000603688        Electric       Gov. Aggregation
AEP - OP      00140060736444513           Electric       Gov. Aggregation   FEOH - OE     08035230590000806175        Electric       Gov. Aggregation
AEP - OP      00140060736502895           Electric       Gov. Aggregation   FEOH - OE     08035257650001128397        Electric       Gov. Aggregation
AEP - OP      00140060736538625           Electric       Gov. Aggregation   FEOH - OE     08035519730000786872        Electric       Gov. Aggregation
AEP - OP      00140060736709605           Electric       Gov. Aggregation   FEOH - OE     08035664760000791567        Electric       Gov. Aggregation
AEP - OP      00140060736823774           Electric       Gov. Aggregation   FEOH - OE     08035765280000803058        Electric       Gov. Aggregation
AEP - OP      00140060736908280           Electric       Gov. Aggregation   FEOH - TE     08035841342680023884        Electric       Gov. Aggregation
AEP - OP      00140060742638100           Electric       Gov. Aggregation   FEOH - OE     08053813070001448681        Electric       Gov. Aggregation
AEP - OP      00140060742843382           Electric       Gov. Aggregation   FEOH - OE     08053888890000767141        Electric       Gov. Aggregation
AEP - OP      00140060742890390           Electric       Gov. Aggregation   FEOH - OE     08053898340001142852        Electric       Gov. Aggregation
AEP - OP      00140060742937223           Electric       Gov. Aggregation   FEOH - OE     08053951335000120822        Electric       Gov. Aggregation
AEP - OP      00140060743000025           Electric       Gov. Aggregation   FEOH - OE     08054031130001127568        Electric       Gov. Aggregation
AEP - OP      00140060743010855           Electric       Gov. Aggregation   FEOH - OE     08054091980000804974        Electric       Gov. Aggregation
AEP - OP      00140060743026920           Electric       Gov. Aggregation   FEOH - OE     08039748120000790937        Electric       Gov. Aggregation
AEP - OP      00140060739503153           Electric       Gov. Aggregation   FEOH - OE     08039804500001131191        Electric       Gov. Aggregation
AEP - OP      00140060739554735           Electric       Gov. Aggregation   FEOH - OE     08039852650001040749        Electric       Gov. Aggregation
AEP - OP      00140060739655614           Electric       Gov. Aggregation   FEOH - OE     08039866890001040633        Electric       Gov. Aggregation
AEP - OP      00140060739846371           Electric       Gov. Aggregation   FEOH - OE     08039874740001477537        Electric       Gov. Aggregation
AEP - OP      00140060740040582           Electric       Gov. Aggregation   FEOH - OE     08039918490000804351        Electric       Gov. Aggregation
AEP - OP      00140060740050434           Electric       Gov. Aggregation   FEOH - OE     08039918790000587667        Electric       Gov. Aggregation
AEP - OP      00140060740122121           Electric       Gov. Aggregation   FEOH - OE     08054100210001127804        Electric       Gov. Aggregation
AEP - OP      00140060745970035           Electric       Gov. Aggregation   FEOH - OE     08054230170001127488        Electric       Gov. Aggregation
AEP - OP      00140060745973460           Electric       Gov. Aggregation   FEOH - OE     08054286510000786325        Electric       Gov. Aggregation
AEP - OP      00140060746077954           Electric       Gov. Aggregation   FEOH - OE     08054316820000786406        Electric       Gov. Aggregation
AEP - OP      00140060746082775           Electric       Gov. Aggregation   FEOH - OE     08054363990000792194        Electric       Gov. Aggregation
AEP - OP      00140060746254573           Electric       Gov. Aggregation   FEOH - OE     08054502750001043090        Electric       Gov. Aggregation
AEP - OP      00140060746324230           Electric       Gov. Aggregation   FEOH - OE     08054550970001040583        Electric       Gov. Aggregation
AEP - OP      00140060746355754           Electric       Gov. Aggregation   FEOH - OE     08040526910001128513        Electric       Gov. Aggregation
AEP - OP      00140060746376780           Electric       Gov. Aggregation   FEOH - TE     08040595962020093716        Electric       Gov. Aggregation
AEP - OP      00140060748726100           Electric       Gov. Aggregation   FEOH - OE     08040751880001142509        Electric       Gov. Aggregation
AEP - OP      00140060748856640           Electric       Gov. Aggregation   FEOH - OE     08040804650001131432        Electric       Gov. Aggregation
AEP - OP      00140060749075182           Electric       Gov. Aggregation   FEOH - OE     08041094520000604133        Electric       Gov. Aggregation
AEP - OP      00140060749117695           Electric       Gov. Aggregation   FEOH - OE     08041170700001128576        Electric       Gov. Aggregation
AEP - OP      00140060749120145           Electric       Gov. Aggregation   FEOH - OE     08033752940001128099        Electric       Gov. Aggregation
AEP - OP      00140060749166813           Electric       Gov. Aggregation   FEOH - OE     08033813830001493265        Electric       Gov. Aggregation
AEP - OP      00140060749224563           Electric       Gov. Aggregation   FEOH - OE     08033815110000803169        Electric       Gov. Aggregation
AEP - OP      00140060736859823           Electric       Gov. Aggregation   FEOH - OE     08033882040001041771        Electric       Gov. Aggregation
AEP - OP      00140060736891761           Electric       Gov. Aggregation   FEOH - OE     08033896010001041876        Electric       Gov. Aggregation
AEP - OP      00140060736966710           Electric       Gov. Aggregation   FEOH - OE     08033950590001043589        Electric       Gov. Aggregation
AEP - OP      00140060737071532           Electric       Gov. Aggregation   FEOH - OE     08034000660000792727        Electric       Gov. Aggregation
AEP - OP      00140060737199623           Electric       Gov. Aggregation   FEOH - OE     08053851880001040547        Electric       Gov. Aggregation
AEP - OP      00140060737282792           Electric       Gov. Aggregation   FEOH - OE     08053889320001130386        Electric       Gov. Aggregation
AEP - OP      00140060743078401           Electric       Gov. Aggregation   FEOH - TE     08053973482970093726        Electric       Gov. Aggregation
AEP - OP      00140060743082641           Electric       Gov. Aggregation   FEOH - OE     08054062020000790482        Electric       Gov. Aggregation
AEP - OP      00140060743119505           Electric       Gov. Aggregation   FEOH - OE     08054121040001128965        Electric       Gov. Aggregation
AEP - OP      00140060743119505           Electric       Gov. Aggregation   FEOH - OE     08054144900000789004        Electric       Gov. Aggregation
AEP - OP      00140060743155654           Electric       Gov. Aggregation   FEOH - OE     08054205110000848766        Electric       Gov. Aggregation
AEP - OP      00140060743172895           Electric       Gov. Aggregation   FEOH - OE     08053762880000784668        Electric       Gov. Aggregation
AEP - OP      00140060743227845           Electric       Gov. Aggregation   FEOH - TE     08053784372030031039        Electric       Gov. Aggregation
AEP - OP      00140060736968614           Electric       Gov. Aggregation   FEOH - OE     08053795150001474995        Electric       Gov. Aggregation
AEP - OP      00140060737074731           Electric       Gov. Aggregation   FEOH - OE     08053962570001458615        Electric       Gov. Aggregation
AEP - OP      00140060737075894           Electric       Gov. Aggregation   FEOH - OE     08054002930000803221        Electric       Gov. Aggregation
AEP - OP      00140060737111050           Electric       Gov. Aggregation   FEOH - TE     08054003905001327663        Electric       Gov. Aggregation
AEP - OP      00140060737131101           Electric       Gov. Aggregation   FEOH - OE     08034061390001385316        Electric       Gov. Aggregation
AEP - OP      00140060737268143           Electric       Gov. Aggregation   FEOH - OE     08034105080001044581        Electric       Gov. Aggregation
AEP - OP      00140060737287245           Electric       Gov. Aggregation   FEOH - OE     08034120410001130233        Electric       Gov. Aggregation
AEP - OP      00140060746256723           Electric       Gov. Aggregation   FEOH - OE     08034196850000804151        Electric       Gov. Aggregation
AEP - OP      00140060746541964           Electric       Gov. Aggregation   FEOH - OE     08034287530001044342        Electric       Gov. Aggregation
AEP - OP      00140060746589281           Electric       Gov. Aggregation   FEOH - OE     08034320910000778210        Electric       Gov. Aggregation
AEP - OP      00140060746628801           Electric       Gov. Aggregation   FEOH - TE     08034335742850025974        Electric       Gov. Aggregation
AEP - OP      00140060746727675           Electric       Gov. Aggregation   FEOH - TE     08035841342680023899        Electric       Gov. Aggregation
AEP - OP      00140060746732553           Electric       Gov. Aggregation   FEOH - OE     08035926190001521413        Electric       Gov. Aggregation
AEP - OP      00140060740251550           Electric       Gov. Aggregation   FEOH - OE     08035936300001040704        Electric       Gov. Aggregation
AEP - OP      00140060740298805           Electric       Gov. Aggregation   FEOH - OE     08036011540001143129        Electric       Gov. Aggregation
AEP - OP      00140060740636963           Electric       Gov. Aggregation   FEOH - OE     08036023240001499951        Electric       Gov. Aggregation
AEP - OP      00140060740725674           Electric       Gov. Aggregation   FEOH - OE     08036111290001478690        Electric       Gov. Aggregation
AEP - OP      00140060740802995           Electric       Gov. Aggregation   FEOH - OE     08036253220001538198        Electric       Gov. Aggregation
AEP - OP      00140060740878481           Electric       Gov. Aggregation   FEOH - TE     08054614462640019520        Electric       Gov. Aggregation
AEP - OP      00140060749218691           Electric       Gov. Aggregation   FEOH - TE     08054727362030032065        Electric       Gov. Aggregation
AEP - OP      00140060749230082           Electric       Gov. Aggregation   FEOH - OE     08054976870001041872        Electric       Gov. Aggregation
AEP - OP      00140060749255233           Electric       Gov. Aggregation   FEOH - OE     08055048495000302010        Electric       Gov. Aggregation
AEP - OP      00140060749259854           Electric       Gov. Aggregation   FEOH - TE     08054207352600006836        Electric       Gov. Aggregation
AEP - OP      00140060749315132           Electric       Gov. Aggregation   FEOH - OE     08054254100000790313        Electric       Gov. Aggregation
AEP - OP      00140060749374012           Electric       Gov. Aggregation   FEOH - TE     08054264402210013382        Electric       Gov. Aggregation
AEP - OP      00140060749510120           Electric       Gov. Aggregation   FEOH - OE     08054317990000849311        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type         Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060746384565           Electric       Gov. Aggregation   FEOH - TE       08054342482380028210        Electric       Gov. Aggregation
AEP - OP      00140060746533041           Electric       Gov. Aggregation   FEOH - OE       08039939300001129535        Electric       Gov. Aggregation
AEP - OP      00140060746563931           Electric       Gov. Aggregation   FEOH - OE       08040102780001143151        Electric       Gov. Aggregation
AEP - OP      00140060746754031           Electric       Gov. Aggregation   FEOH - OE       08040147400001372829        Electric       Gov. Aggregation
AEP - OP      00140060746789474           Electric       Gov. Aggregation   FEOH - OE       08040199210000584027        Electric       Gov. Aggregation
AEP - OP      00140060746791703           Electric       Gov. Aggregation   FEOH - OE       08040220040001413847        Electric       Gov. Aggregation
AEP - OP      00140060746890253           Electric       Gov. Aggregation   FEOH - OE       08040315780000849315        Electric       Gov. Aggregation
AEP - OP      00140060749238241           Electric       Gov. Aggregation   FEOH - OE       08040326940001128169        Electric       Gov. Aggregation
AEP - OP      00140060749264820           Electric       Gov. Aggregation   FEOH - OE       08034042980001043873        Electric       Gov. Aggregation
AEP - OP      00140060749365051           Electric       Gov. Aggregation   FEOH - OE       08034081500000584041        Electric       Gov. Aggregation
AEP - OP      00140060749445681           Electric       Gov. Aggregation   FEOH - TE       08034093582210013983        Electric       Gov. Aggregation
AEP - OP      00140060749464573           Electric       Gov. Aggregation   FEOH - OE       08034099710000810028        Electric       Gov. Aggregation
AEP - OP      00140060749565412           Electric       Gov. Aggregation   FEOH - OE       08034114855000215163        Electric       Gov. Aggregation
AEP - OP      00140060749628243           Electric       Gov. Aggregation   FEOH - OE       08034339510001129575        Electric       Gov. Aggregation
AEP - OP      00140060737370522           Electric       Gov. Aggregation   FEOH - TE       08034406252850024488        Electric       Gov. Aggregation
AEP - OP      00140060737392795           Electric       Gov. Aggregation   FEOH - OE       08054026710000603869        Electric       Gov. Aggregation
AEP - OP      00140060737439904           Electric       Gov. Aggregation   FEOH - OE       08054040850000844731        Electric       Gov. Aggregation
AEP - OP      00140060737468172           Electric       Gov. Aggregation   FEOH - TE       08054088522900010734        Electric       Gov. Aggregation
AEP - OP      00140060737564170           Electric       Gov. Aggregation   FEOH - OE       08054095780001129675        Electric       Gov. Aggregation
AEP - OP      00140060737604804           Electric       Gov. Aggregation   FEOH - TE       08054119032850025724        Electric       Gov. Aggregation
AEP - OP      00140060737834584           Electric       Gov. Aggregation   FEOH - OE       08054389390001129787        Electric       Gov. Aggregation
AEP - OP      00140060743236593           Electric       Gov. Aggregation   FEOH - OE       08054499490000762724        Electric       Gov. Aggregation
AEP - OP      00140060743246510           Electric       Gov. Aggregation   FEOH - OE       08034419080001042345        Electric       Gov. Aggregation
AEP - OP      00140060743282094           Electric       Gov. Aggregation   FEOH - OE       08034431660001042057        Electric       Gov. Aggregation
AEP - OP      00140060743382263           Electric       Gov. Aggregation   FEOH - OE       08034669905001275580        Electric       Gov. Aggregation
AEP - OP      00140060743400271           Electric       Gov. Aggregation   FEOH - TE       08034788305000282036        Electric       Gov. Aggregation
AEP - OP      00140060743461745           Electric       Gov. Aggregation   FEOH - OE       08034817465000276539        Electric       Gov. Aggregation
AEP - OP      00140060743531305           Electric       Gov. Aggregation   FEOH - OE       08034825350000778849        Electric       Gov. Aggregation
AEP - OP      00140060737368682           Electric       Gov. Aggregation   FEOH - OE       08036268105000294472        Electric       Gov. Aggregation
AEP - OP      00140060737473770           Electric       Gov. Aggregation   FEOH - OE       08036372100000803641        Electric       Gov. Aggregation
AEP - OP      00140060737484485           Electric       Gov. Aggregation   FEOH - OE       08036432780001129008        Electric       Gov. Aggregation
AEP - OP      00140060737588420           Electric       Gov. Aggregation   FEOH - OE       08036496550000778336        Electric       Gov. Aggregation
AEP - OP      00140060737632135           Electric       Gov. Aggregation   FEOH - TE       08036525062930032299        Electric       Gov. Aggregation
AEP - OP      00140060737701890           Electric       Gov. Aggregation   FEOH - OE       08036575680000786343        Electric       Gov. Aggregation
AEP - OP      00140060737874282           Electric       Gov. Aggregation   FEOH - OE       08036577180001046483        Electric       Gov. Aggregation
AEP - OP      00140060746783684           Electric       Gov. Aggregation   FEOH - OE       08054352730001407464        Electric       Gov. Aggregation
AEP - OP      00140060746832184           Electric       Gov. Aggregation   FEOH - OE       08054354965001475404        Electric       Gov. Aggregation
AEP - OP      00140060746882795           Electric       Gov. Aggregation   FEOH - OE       08054381610000765704        Electric       Gov. Aggregation
AEP - OP      00140060746904143           Electric       Gov. Aggregation   FEOH - OE       08054445850000803645        Electric       Gov. Aggregation
AEP - OP      00140060746919304           Electric       Gov. Aggregation   FEOH - TE       08054446702300029710        Electric       Gov. Aggregation
AEP - OP      00140060747005321           Electric       Gov. Aggregation   FEOH - OE       08054490570001044312        Electric       Gov. Aggregation
AEP - OP      00140060747217754           Electric       Gov. Aggregation   FEOH - OE       08040347120001143328        Electric       Gov. Aggregation
AEP - OP      00140060749529330           Electric       Gov. Aggregation   FEOH - OE       08040363370000809542        Electric       Gov. Aggregation
AEP - OP      00140060749667814           Electric       Gov. Aggregation   FEOH - OE       08040380405000344085        Electric       Gov. Aggregation
AEP - OP      00140060749682101           Electric       Gov. Aggregation   FEOH - OE       08040392330000804304        Electric       Gov. Aggregation
AEP - OP      00140060749738992           Electric       Gov. Aggregation   FEOH - OE       08040412110000806207        Electric       Gov. Aggregation
AEP - OP      00140060749744520           Electric       Gov. Aggregation   FEOH - OE       08040532370000790769        Electric       Gov. Aggregation
AEP - OP      00140060749771693           Electric       Gov. Aggregation   FEOH - OE       08040532640000186796        Electric       Gov. Aggregation
AEP - OP      00140060749869482           Electric       Gov. Aggregation   FEOH - OE       08041207940001447931        Electric       Gov. Aggregation
AEP - OP      00140060740932464           Electric       Gov. Aggregation   FEOH - OE       08048000970000187227        Electric       Gov. Aggregation
AEP - OP      00140060740942395           Electric       Gov. Aggregation   FEOH - OE       08049743390000804338        Electric       Gov. Aggregation
AEP - OP      00140060741029443           Electric       Gov. Aggregation   FEOH - OE       08049760655001293393        Electric       Gov. Aggregation
AEP - OP      00140060741080471           Electric       Gov. Aggregation   FEOH - OE       08049788230000790611        Electric       Gov. Aggregation
AEP - OP      00140060741110364           Electric       Gov. Aggregation   FEOH - OE       08049797400000784436        Electric       Gov. Aggregation
AEP - OP      00140060741136100           Electric       Gov. Aggregation   FEOH - OE       08049973660000806081        Electric       Gov. Aggregation
AEP - OP      00140060747126085           Electric       Gov. Aggregation   FEOH - OE       08034439890000583981        Electric       Gov. Aggregation
AEP - OP      00140060747303490           Electric       Gov. Aggregation   FEOH - OE       08034463025000154127        Electric       Gov. Aggregation
AEP - OP      00140060747313922           Electric       Gov. Aggregation   FEOH - TE       08034626882300029899        Electric       Gov. Aggregation
AEP - OP      00140060747355411           Electric       Gov. Aggregation   FEOH - OE       08034694510000848787        Electric       Gov. Aggregation
AEP - OP      00140060747364343           Electric       Gov. Aggregation   FEOH - OE       08034697970001041610        Electric       Gov. Aggregation
AEP - OP      00140060747374574           Electric       Gov. Aggregation   FEOH - OE       08034748150000778809        Electric       Gov. Aggregation
AEP - OP      00140060747420301           Electric       Gov. Aggregation   FEOH - OE       08055276030001339019        Electric       Gov. Aggregation
AEP - OP      00140060749647152           Electric       Gov. Aggregation   FEOH - OE       08055311280001443205        Electric       Gov. Aggregation
AEP - OP      00140060749663815           Electric       Gov. Aggregation   FEOH - OE       08055313400001043563        Electric       Gov. Aggregation
AEP - OP      00140060749741693           Electric       Gov. Aggregation   FEOH - OE       08055314720001045694        Electric       Gov. Aggregation
AEP - OP      00140060749906012           Electric       Gov. Aggregation   FEOH - TE       08055393242680020229        Electric       Gov. Aggregation
AEP - OP      00140060749948010           Electric       Gov. Aggregation   FEOH - TE       08055499822850025936        Electric       Gov. Aggregation
AEP - OP      00140060749974694           Electric       Gov. Aggregation   FEOH - OE       08055570760000786881        Electric       Gov. Aggregation
AEP - OP      00140060750134085           Electric       Gov. Aggregation   FEOH - OE       08054517120000187198        Electric       Gov. Aggregation
AEP - OP      00140060737904510           Electric       Gov. Aggregation   FEOH - OE       08054535710000844507        Electric       Gov. Aggregation
AEP - OP      00140060737986295           Electric       Gov. Aggregation   FEOH - OE       08054552680001130843        Electric       Gov. Aggregation
AEP - OP      00140060738027020           Electric       Gov. Aggregation   FEOH - OE       08054583470000168334        Electric       Gov. Aggregation
AEP - OP      00140060738070355           Electric       Gov. Aggregation   DPL             0805469028                  Electric       Gov. Aggregation
AEP - OP      00140060738079794           Electric       Gov. Aggregation   FEOH - TE       08054757852640019291        Electric       Gov. Aggregation
AEP - OP      00140060738260292           Electric       Gov. Aggregation   FEOH - TE       08054768732080026737        Electric       Gov. Aggregation
AEP - OP      00140060738326352           Electric       Gov. Aggregation   FEOH - OE       08034949060001142814        Electric       Gov. Aggregation
AEP - OP      00140060743563995           Electric       Gov. Aggregation   FEOH - OE       08034955450001043475        Electric       Gov. Aggregation
AEP - OP      00140060743589633           Electric       Gov. Aggregation   FEOH - OE       08035013930001442352        Electric       Gov. Aggregation
AEP - OP      00140060743591215           Electric       Gov. Aggregation   FEOH - OE       08035039580000803561        Electric       Gov. Aggregation
AEP - OP      00140060743761444           Electric       Gov. Aggregation   FEOH - OE       08035058770001128816        Electric       Gov. Aggregation
AEP - OP      00140060743848403           Electric       Gov. Aggregation   FEOH - OE       08035100305001344077        Electric       Gov. Aggregation
AEP - OP      00140060743920324           Electric       Gov. Aggregation   FEOH - OE       08035170350001130734        Electric       Gov. Aggregation
AEP - OP      00140060744050550           Electric       Gov. Aggregation   FEOH - OE       08054515695001295805        Electric       Gov. Aggregation
AEP - OP      00140060738153724           Electric       Gov. Aggregation   FEOH - TE       08054557895001370253        Electric       Gov. Aggregation
AEP - OP      00140060738173454           Electric       Gov. Aggregation   FEOH - OE       08054603300001521374        Electric       Gov. Aggregation
AEP - OP      00140060738187061           Electric       Gov. Aggregation   FEOH - TE       08054614092030031589        Electric       Gov. Aggregation
AEP - OP      00140060738270731           Electric       Gov. Aggregation   FEOH - OE       08054658520001514478        Electric       Gov. Aggregation
AEP - OP      00140060738284733           Electric       Gov. Aggregation   FEOH - OE       08054658740001349980        Electric       Gov. Aggregation
AEP - OP      00140060738378865           Electric       Gov. Aggregation   FEOH - OE       08054670550000791132        Electric       Gov. Aggregation
AEP - OP      00140060738438470           Electric       Gov. Aggregation   FEOH - OE       08040554290001560006        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060750047181           Electric       Gov. Aggregation   FEOH - OE     08040563740001514802        Electric       Gov. Aggregation
AEP - OP      00140060750068890           Electric       Gov. Aggregation   FEOH - OE     08040567660001042288        Electric       Gov. Aggregation
AEP - OP      00140060750124343           Electric       Gov. Aggregation   FEOH - TE     08040595962770016875        Electric       Gov. Aggregation
AEP - OP      00140060750161860           Electric       Gov. Aggregation   FEOH - OE     08040651365001457963        Electric       Gov. Aggregation
AEP - OP      00140060750263081           Electric       Gov. Aggregation   FEOH - OE     08040655340000803312        Electric       Gov. Aggregation
AEP - OP      00140060750403822           Electric       Gov. Aggregation   FEOH - OE     08040702890000848770        Electric       Gov. Aggregation
AEP - OP      00140060750421793           Electric       Gov. Aggregation   FEOH - OE     08050118190000849166        Electric       Gov. Aggregation
AEP - OP      00140060747241250           Electric       Gov. Aggregation   FEOH - OE     08050131520001040730        Electric       Gov. Aggregation
AEP - OP      00140060747331974           Electric       Gov. Aggregation   FEOH - TE     08050135932080021129        Electric       Gov. Aggregation
AEP - OP      00140060747355814           Electric       Gov. Aggregation   FEOH - OE     08050366180001551117        Electric       Gov. Aggregation
AEP - OP      00140060747467345           Electric       Gov. Aggregation   FEOH - OE     08050399000000844684        Electric       Gov. Aggregation
AEP - OP      00140060747490403           Electric       Gov. Aggregation   FEOH - OE     08050432830001043103        Electric       Gov. Aggregation
AEP - OP      00140060747491285           Electric       Gov. Aggregation   FEOH - OE     08050495815001251981        Electric       Gov. Aggregation
AEP - OP      00140060747557201           Electric       Gov. Aggregation   FEOH - OE     08034785890001128857        Electric       Gov. Aggregation
AEP - OP      00140060750136324           Electric       Gov. Aggregation   FEOH - OE     08034817220000187145        Electric       Gov. Aggregation
AEP - OP      00140060750161462           Electric       Gov. Aggregation   FEOH - OE     08034856250001429479        Electric       Gov. Aggregation
AEP - OP      00140060750345954           Electric       Gov. Aggregation   FEOH - OE     08034902680001529094        Electric       Gov. Aggregation
AEP - OP      00140060750387213           Electric       Gov. Aggregation   FEOH - OE     08034969870000789073        Electric       Gov. Aggregation
AEP - OP      00140060750456663           Electric       Gov. Aggregation   FEOH - OE     08034970420000848975        Electric       Gov. Aggregation
AEP - OP      00140060750469151           Electric       Gov. Aggregation   FEOH - OE     08035034240001130271        Electric       Gov. Aggregation
AEP - OP      00140060750693580           Electric       Gov. Aggregation   FEOH - OE     08055576400000786479        Electric       Gov. Aggregation
AEP - OP      00140060747724032           Electric       Gov. Aggregation   FEOH - OE     08055605340001042253        Electric       Gov. Aggregation
AEP - OP      00140060747941433           Electric       Gov. Aggregation   FEOH - OE     08055659690001040617        Electric       Gov. Aggregation
AEP - OP      00140060747983292           Electric       Gov. Aggregation   FEOH - OE     08055679680000849160        Electric       Gov. Aggregation
AEP - OP      00140060747985412           Electric       Gov. Aggregation   FEOH - OE     08055943290000802978        Electric       Gov. Aggregation
AEP - OP      00140060750510205           Electric       Gov. Aggregation   FEOH - OE     08055981200000790702        Electric       Gov. Aggregation
AEP - OP      00140060750583463           Electric       Gov. Aggregation   FEOH - OE     08056094730000765711        Electric       Gov. Aggregation
AEP - OP      00140060750616971           Electric       Gov. Aggregation   FEOH - OE     08054788990000766148        Electric       Gov. Aggregation
AEP - OP      00140060750707864           Electric       Gov. Aggregation   FEOH - OE     08054813605000300450        Electric       Gov. Aggregation
AEP - OP      00140060750947303           Electric       Gov. Aggregation   FEOH - OE     08054893080000186500        Electric       Gov. Aggregation
AEP - OP      00140060750969530           Electric       Gov. Aggregation   FEOH - TE     08054893582040001619        Electric       Gov. Aggregation
AEP - OP      00140060751071635           Electric       Gov. Aggregation   FEOH - OE     08054983220001128237        Electric       Gov. Aggregation
AEP - OP      00140060741187011           Electric       Gov. Aggregation   FEOH - OE     08055012745000306175        Electric       Gov. Aggregation
AEP - OP      00140060741255172           Electric       Gov. Aggregation   FEOH - OE     08035240300000762675        Electric       Gov. Aggregation
AEP - OP      00140060741256363           Electric       Gov. Aggregation   FEOH - TE     08035268132830091025        Electric       Gov. Aggregation
AEP - OP      00140060741382144           Electric       Gov. Aggregation   FEOH - OE     08035294880000177936        Electric       Gov. Aggregation
AEP - OP      00140060741687853           Electric       Gov. Aggregation   FEOH - OE     08035319540001041690        Electric       Gov. Aggregation
AEP - OP      00140060741691255           Electric       Gov. Aggregation   FEOH - OE     08035426510001128271        Electric       Gov. Aggregation
AEP - OP      00140060741727555           Electric       Gov. Aggregation   FEOH - OE     08035514380001129948        Electric       Gov. Aggregation
AEP - OP      00140060744108573           Electric       Gov. Aggregation   FEOH - OE     08035525600001128925        Electric       Gov. Aggregation
AEP - OP      00140060744121153           Electric       Gov. Aggregation   FEOH - OE     08036599700001041602        Electric       Gov. Aggregation
AEP - OP      00140060744166240           Electric       Gov. Aggregation   FEOH - OE     08036684630001395855        Electric       Gov. Aggregation
AEP - OP      00140060744226110           Electric       Gov. Aggregation   FEOH - OE     08036732380000803199        Electric       Gov. Aggregation
AEP - OP      00140060744478380           Electric       Gov. Aggregation   FEOH - OE     08036793750000187213        Electric       Gov. Aggregation
AEP - OP      00140060744653615           Electric       Gov. Aggregation   FEOH - OE     08036819010000786354        Electric       Gov. Aggregation
AEP - OP      00140060744658320           Electric       Gov. Aggregation   FEOH - OE     08036835330000789366        Electric       Gov. Aggregation
AEP - OP      00140060738459705           Electric       Gov. Aggregation   FEOH - OE     08036856610001130262        Electric       Gov. Aggregation
AEP - OP      00140060738507295           Electric       Gov. Aggregation   FEOH - OE     08054702910001044754        Electric       Gov. Aggregation
AEP - OP      00140060738608710           Electric       Gov. Aggregation   FEOH - TE     08054727362030032050        Electric       Gov. Aggregation
AEP - OP      00140060738774274           Electric       Gov. Aggregation   FEOH - OE     08054805390001044533        Electric       Gov. Aggregation
AEP - OP      00140060738819625           Electric       Gov. Aggregation   FEOH - OE     08054881440001372802        Electric       Gov. Aggregation
AEP - OP      00140060738905762           Electric       Gov. Aggregation   FEOH - OE     08054891100001128526        Electric       Gov. Aggregation
AEP - OP      00140060738919250           Electric       Gov. Aggregation   FEOH - TE     08054926912080026741        Electric       Gov. Aggregation
AEP - OP      00140060747649573           Electric       Gov. Aggregation   FEOH - OE     08054937520000789209        Electric       Gov. Aggregation
AEP - OP      00140060747731483           Electric       Gov. Aggregation   FEOH - OE     08040723220000791646        Electric       Gov. Aggregation
AEP - OP      00140060747937310           Electric       Gov. Aggregation   FEOH - OE     08040748550001042935        Electric       Gov. Aggregation
AEP - OP      00140060748084402           Electric       Gov. Aggregation   FEOH - OE     08040751440001130312        Electric       Gov. Aggregation
AEP - OP      00140060748322764           Electric       Gov. Aggregation   FEOH - TE     08040751902080028131        Electric       Gov. Aggregation
AEP - OP      00140060748343170           Electric       Gov. Aggregation   FEOH - TE     08040755012680020036        Electric       Gov. Aggregation
AEP - OP      00140060748117840           Electric       Gov. Aggregation   FEOH - OE     08040783995000020837        Electric       Gov. Aggregation
AEP - OP      00140060748293231           Electric       Gov. Aggregation   FEOH - OE     08050509715000213585        Electric       Gov. Aggregation
AEP - OP      00140060748316374           Electric       Gov. Aggregation   FEOH - OE     08050663540001128355        Electric       Gov. Aggregation
AEP - OP      00140060748339184           Electric       Gov. Aggregation   FEOH - OE     08050694730001129322        Electric       Gov. Aggregation
AEP - OP      00140060748416182           Electric       Gov. Aggregation   FEOH - OE     08050695420001129412        Electric       Gov. Aggregation
AEP - OP      00140060748498015           Electric       Gov. Aggregation   FEOH - OE     08050776770001344123        Electric       Gov. Aggregation
AEP - OP      00140060748499121           Electric       Gov. Aggregation   FEOH - OE     08050852750001127605        Electric       Gov. Aggregation
AEP - OP      00140060750779331           Electric       Gov. Aggregation   FEOH - OE     08056120380001455723        Electric       Gov. Aggregation
AEP - OP      00140060750891041           Electric       Gov. Aggregation   FEOH - OE     08056132150000786329        Electric       Gov. Aggregation
AEP - OP      00140060750896550           Electric       Gov. Aggregation   FEOH - OE     08056190120001130344        Electric       Gov. Aggregation
AEP - OP      00140060750957152           Electric       Gov. Aggregation   FEOH - OE     08056240115001377109        Electric       Gov. Aggregation
AEP - OP      00140060751004394           Electric       Gov. Aggregation   FEOH - OE     08056304470001142988        Electric       Gov. Aggregation
AEP - OP      00140060751026192           Electric       Gov. Aggregation   FEOH - TE     08056339932600009093        Electric       Gov. Aggregation
AEP - OP      00140060751077834           Electric       Gov. Aggregation   FEOH - OE     08035043990001399662        Electric       Gov. Aggregation
AEP - OP      00140060751134334           Electric       Gov. Aggregation   FEOH - OE     08035053390001469887        Electric       Gov. Aggregation
AEP - OP      00140060751144742           Electric       Gov. Aggregation   FEOH - OE     08035133810000791172        Electric       Gov. Aggregation
AEP - OP      00140060751149655           Electric       Gov. Aggregation   FEOH - TE     08035192362210013978        Electric       Gov. Aggregation
AEP - OP      00140060751195203           Electric       Gov. Aggregation   FEOH - OE     08035202160001043102        Electric       Gov. Aggregation
AEP - OP      00140060751318764           Electric       Gov. Aggregation   FEOH - OE     08035249230001130755        Electric       Gov. Aggregation
AEP - OP      00140060751318904           Electric       Gov. Aggregation   FEOH - TE     08035333852930030998        Electric       Gov. Aggregation
AEP - OP      00140060751351580           Electric       Gov. Aggregation   FEOH - OE     08055043685001351862        Electric       Gov. Aggregation
AEP - OP      00140060738411683           Electric       Gov. Aggregation   FEOH - OE     08055070670000803684        Electric       Gov. Aggregation
AEP - OP      00140060738631592           Electric       Gov. Aggregation   FEOH - OE     08055172000000592326        Electric       Gov. Aggregation
AEP - OP      00140060738639475           Electric       Gov. Aggregation   FEOH - OE     08055187110001128184        Electric       Gov. Aggregation
AEP - OP      00140060738657914           Electric       Gov. Aggregation   FEOH - OE     08055208130000844642        Electric       Gov. Aggregation
AEP - OP      00140060738832593           Electric       Gov. Aggregation   FEOH - OE     08055211690000177894        Electric       Gov. Aggregation
AEP - OP      00140060738914415           Electric       Gov. Aggregation   FEOH - OE     08055228460000791739        Electric       Gov. Aggregation
AEP - OP      00140060738936703           Electric       Gov. Aggregation   FEOH - TE     08036919332020090648        Electric       Gov. Aggregation
AEP - OP      00140060745209632           Electric       Gov. Aggregation   FEOH - TE     08036952482600007792        Electric       Gov. Aggregation
AEP - OP      00140060745283400           Electric       Gov. Aggregation   FEOH - OE     08037016740001041595        Electric       Gov. Aggregation
AEP - OP      00140060745285555           Electric       Gov. Aggregation   FEOH - OE     08037040870001043857        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060745403763           Electric       Gov. Aggregation   FEOH - OE     08037102110001043378        Electric       Gov. Aggregation
AEP - OP      00140060745726912           Electric       Gov. Aggregation   FEOH - OE     08037167850001129667        Electric       Gov. Aggregation
AEP - OP      00140060745845760           Electric       Gov. Aggregation   FEOH - OE     08054969290000778220        Electric       Gov. Aggregation
AEP - OP      00140060745877993           Electric       Gov. Aggregation   FEOH - OE     08054983660001514181        Electric       Gov. Aggregation
AEP - OP      00140060739051220           Electric       Gov. Aggregation   FEOH - OE     08054983860000583980        Electric       Gov. Aggregation
AEP - OP      00140060739094544           Electric       Gov. Aggregation   FEOH - OE     08055040405000300445        Electric       Gov. Aggregation
AEP - OP      00140060739128582           Electric       Gov. Aggregation   FEOH - OE     08055068560000790374        Electric       Gov. Aggregation
AEP - OP      00140060739355515           Electric       Gov. Aggregation   FEOH - OE     08055080550001508112        Electric       Gov. Aggregation
AEP - OP      00140060739439173           Electric       Gov. Aggregation   FEOH - OE     08055116620001509708        Electric       Gov. Aggregation
AEP - OP      00140060739629834           Electric       Gov. Aggregation   FEOH - OE     08040904940000187071        Electric       Gov. Aggregation
AEP - OP      00140060739740162           Electric       Gov. Aggregation   FEOH - OE     08040950685000386449        Electric       Gov. Aggregation
AEP - OP      00140060751259901           Electric       Gov. Aggregation   FEOH - OE     08041001260000804303        Electric       Gov. Aggregation
AEP - OP      00140060751272204           Electric       Gov. Aggregation   FEOH - TE     08041092822040001286        Electric       Gov. Aggregation
AEP - OP      00140060751334282           Electric       Gov. Aggregation   FEOH - OE     08041123250000786535        Electric       Gov. Aggregation
AEP - OP      00140060751480774           Electric       Gov. Aggregation   FEOH - OE     08041128660001043522        Electric       Gov. Aggregation
AEP - OP      00140060751532453           Electric       Gov. Aggregation   FEOH - OE     08050855720001502601        Electric       Gov. Aggregation
AEP - OP      00140060751692490           Electric       Gov. Aggregation   FEOH - TE     08050880132210012089        Electric       Gov. Aggregation
AEP - OP      00140060748618450           Electric       Gov. Aggregation   FEOH - TE     08050968822850024582        Electric       Gov. Aggregation
AEP - OP      00140060748701523           Electric       Gov. Aggregation   FEOH - OE     08051017850000603966        Electric       Gov. Aggregation
AEP - OP      00140060748845870           Electric       Gov. Aggregation   FEOH - TE     08051138792170093068        Electric       Gov. Aggregation
AEP - OP      00140060748906355           Electric       Gov. Aggregation   FEOH - OE     08051161505000230516        Electric       Gov. Aggregation
AEP - OP      00140060748967880           Electric       Gov. Aggregation   FEOH - OE     08051257980000804434        Electric       Gov. Aggregation
AEP - OP      00140060749015241           Electric       Gov. Aggregation   FEOH - OE     08056383410001129400        Electric       Gov. Aggregation
AEP - OP      00140060749032462           Electric       Gov. Aggregation   FEOH - OE     08056433780001042414        Electric       Gov. Aggregation
AEP - OP      00140060748456662           Electric       Gov. Aggregation   FEOH - OE     08056436590001130941        Electric       Gov. Aggregation
AEP - OP      00140060748576381           Electric       Gov. Aggregation   FEOH - OE     08056463390000844904        Electric       Gov. Aggregation
AEP - OP      00140060748998052           Electric       Gov. Aggregation   FEOH - OE     08056794420001464698        Electric       Gov. Aggregation
AEP - OP      00140060749163332           Electric       Gov. Aggregation   FEOH - TE     08035401133000002653        Electric       Gov. Aggregation
AEP - OP      00140060749226920           Electric       Gov. Aggregation   FEOH - OE     08035479870001526776        Electric       Gov. Aggregation
AEP - OP      00140060749390054           Electric       Gov. Aggregation   FEOH - OE     08035491280000765672        Electric       Gov. Aggregation
AEP - OP      00140060749424754           Electric       Gov. Aggregation   FEOH - OE     08035527280001553224        Electric       Gov. Aggregation
AEP - OP      00140060751387882           Electric       Gov. Aggregation   FEOH - OE     08035527930000788915        Electric       Gov. Aggregation
AEP - OP      00140060751447225           Electric       Gov. Aggregation   FEOH - OE     08035526880001127891        Electric       Gov. Aggregation
AEP - OP      00140060751490900           Electric       Gov. Aggregation   FEOH - TE     08035546942080028520        Electric       Gov. Aggregation
AEP - OP      00140060751608025           Electric       Gov. Aggregation   FEOH - OE     08035556630001330724        Electric       Gov. Aggregation
AEP - OP      00140060751622402           Electric       Gov. Aggregation   FEOH - OE     08035946940000790652        Electric       Gov. Aggregation
AEP - OP      00140060751726855           Electric       Gov. Aggregation   FEOH - TE     08035996492830091129        Electric       Gov. Aggregation
AEP - OP      00140060751879822           Electric       Gov. Aggregation   FEOH - OE     08036005775000296513        Electric       Gov. Aggregation
AEP - OP      00140060741923515           Electric       Gov. Aggregation   FEOH - OE     08036034840000790436        Electric       Gov. Aggregation
AEP - OP      00140060741999192           Electric       Gov. Aggregation   FEOH - OE     08055139500000810191        Electric       Gov. Aggregation
AEP - OP      00140060742025460           Electric       Gov. Aggregation   FEOH - OE     08055176730000803921        Electric       Gov. Aggregation
AEP - OP      00140060742427980           Electric       Gov. Aggregation   FEOH - OE     08055188415000223767        Electric       Gov. Aggregation
AEP - OP      00140060742444412           Electric       Gov. Aggregation   FEOH - TE     08055196122210014098        Electric       Gov. Aggregation
AEP - OP      00140060742520344           Electric       Gov. Aggregation   FEOH - OE     08055210100001143096        Electric       Gov. Aggregation
AEP - OP      00140060742567162           Electric       Gov. Aggregation   FEOH - OE     08055238750001443311        Electric       Gov. Aggregation
AEP - OP      00140060739080942           Electric       Gov. Aggregation   FEOH - OE     08055266215000377002        Electric       Gov. Aggregation
AEP - OP      00140060739115002           Electric       Gov. Aggregation   FEOH - TE     08055235172080027885        Electric       Gov. Aggregation
AEP - OP      00140060739283483           Electric       Gov. Aggregation   FEOH - OE     08055250570000803688        Electric       Gov. Aggregation
AEP - OP      00140060739371680           Electric       Gov. Aggregation   FEOH - OE     08055256080001130369        Electric       Gov. Aggregation
AEP - OP      00140060739484385           Electric       Gov. Aggregation   FEOH - OE     08055272530000790364        Electric       Gov. Aggregation
AEP - OP      00140060739620672           Electric       Gov. Aggregation   FEOH - OE     08055280470000788762        Electric       Gov. Aggregation
AEP - OP      00140060739654714           Electric       Gov. Aggregation   FEOH - OE     08055341960001130623        Electric       Gov. Aggregation
AEP - OP      00140060746078101           Electric       Gov. Aggregation   FEOH - OE     08055397310000778857        Electric       Gov. Aggregation
AEP - OP      00140060746105372           Electric       Gov. Aggregation   FEOH - OE     08051272700000177907        Electric       Gov. Aggregation
AEP - OP      00140060746167180           Electric       Gov. Aggregation   FEOH - TE     08051279232850025673        Electric       Gov. Aggregation
AEP - OP      00140060746218343           Electric       Gov. Aggregation   FEOH - OE     08051312970000778278        Electric       Gov. Aggregation
AEP - OP      00140060746231065           Electric       Gov. Aggregation   FEOH - OE     08051314330000769741        Electric       Gov. Aggregation
AEP - OP      00140060746277584           Electric       Gov. Aggregation   FEOH - OE     08051370130000778245        Electric       Gov. Aggregation
AEP - OP      00140060746291642           Electric       Gov. Aggregation   FEOH - OE     08051491600001129559        Electric       Gov. Aggregation
AEP - OP      00140060739804742           Electric       Gov. Aggregation   FEOH - TE     08051515082680022224        Electric       Gov. Aggregation
AEP - OP      00140060739873671           Electric       Gov. Aggregation   FEOH - OE     08037191650001532724        Electric       Gov. Aggregation
AEP - OP      00140060739932801           Electric       Gov. Aggregation   FEOH - OE     08037229250001452131        Electric       Gov. Aggregation
AEP - OP      00140060739971954           Electric       Gov. Aggregation   FEOH - OE     08037284610001408942        Electric       Gov. Aggregation
AEP - OP      00140060740181910           Electric       Gov. Aggregation   FEOH - OE     08037353990001452224        Electric       Gov. Aggregation
AEP - OP      00140060740185994           Electric       Gov. Aggregation   FEOH - TE     08037436222810022111        Electric       Gov. Aggregation
AEP - OP      00140060740196262           Electric       Gov. Aggregation   FEOH - OE     08037523110000803968        Electric       Gov. Aggregation
AEP - OP      00140060740210500           Electric       Gov. Aggregation   FEOH - OE     08037542260001143257        Electric       Gov. Aggregation
AEP - OP      00140060740266940           Electric       Gov. Aggregation   FEOH - OE     08035557120000803590        Electric       Gov. Aggregation
AEP - OP      00140060740559874           Electric       Gov. Aggregation   FEOH - OE     08035578430000782630        Electric       Gov. Aggregation
AEP - OP      00140060740592062           Electric       Gov. Aggregation   FEOH - OE     08035625700000844496        Electric       Gov. Aggregation
AEP - OP      00140060740719755           Electric       Gov. Aggregation   FEOH - TE     08035728612300032822        Electric       Gov. Aggregation
AEP - OP      00140060740734110           Electric       Gov. Aggregation   FEOH - OE     08035741980001042208        Electric       Gov. Aggregation
AEP - OP      00140060740825550           Electric       Gov. Aggregation   FEOH - OE     08035848680000786378        Electric       Gov. Aggregation
AEP - OP      00140060749439532           Electric       Gov. Aggregation   FEOH - OE     08035899840000778529        Electric       Gov. Aggregation
AEP - OP      00140060749489611           Electric       Gov. Aggregation   FEOH - OE     08036045540001531957        Electric       Gov. Aggregation
AEP - OP      00140060749654115           Electric       Gov. Aggregation   FEOH - OE     08036112280001044308        Electric       Gov. Aggregation
AEP - OP      00140060749699341           Electric       Gov. Aggregation   FEOH - TE     08036120232420092298        Electric       Gov. Aggregation
AEP - OP      00140060749867053           Electric       Gov. Aggregation   FEOH - TE     08036171002380032906        Electric       Gov. Aggregation
AEP - OP      00140060749869335           Electric       Gov. Aggregation   FEOH - OE     08036174860001129438        Electric       Gov. Aggregation
AEP - OP      00140060751696145           Electric       Gov. Aggregation   FEOH - OE     08036242985000160556        Electric       Gov. Aggregation
AEP - OP      00140060751713511           Electric       Gov. Aggregation   FEOH - TE     08036330012080024431        Electric       Gov. Aggregation
AEP - OP      00140060751752902           Electric       Gov. Aggregation   FEOH - OE     08055429990000803397        Electric       Gov. Aggregation
AEP - OP      00140060751754714           Electric       Gov. Aggregation   FEOH - OE     08055516890000778810        Electric       Gov. Aggregation
AEP - OP      00140060751803911           Electric       Gov. Aggregation   FEOH - OE     08055560930001044807        Electric       Gov. Aggregation
AEP - OP      00140060751853710           Electric       Gov. Aggregation   FEOH - OE     08055594700001041664        Electric       Gov. Aggregation
AEP - OP      00140060751941472           Electric       Gov. Aggregation   FEOH - OE     08055594940001142914        Electric       Gov. Aggregation
AEP - OP      00140060751977902           Electric       Gov. Aggregation   FEOH - OE     08055615240000809461        Electric       Gov. Aggregation
AEP - OP      00140060752000423           Electric       Gov. Aggregation   FEOH - OE     08055616120000788948        Electric       Gov. Aggregation
AEP - OP      00140060752302752           Electric       Gov. Aggregation   FEOH - OE     08041131580000792695        Electric       Gov. Aggregation
AEP - OP      00140060752457522           Electric       Gov. Aggregation   FEOH - OE     08041133270001441000        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060752600763           Electric       Gov. Aggregation   FEOH - OE     08041136800000782719        Electric       Gov. Aggregation
AEP - OP      00140060752607193           Electric       Gov. Aggregation   FEOH - TE     08041148372030030534        Electric       Gov. Aggregation
AEP - OP      00140060752758563           Electric       Gov. Aggregation   FEOH - OE     08041180585000242308        Electric       Gov. Aggregation
AEP - OP      00140060749033412           Electric       Gov. Aggregation   FEOH - OE     08048255760001143159        Electric       Gov. Aggregation
AEP - OP      00140060749063940           Electric       Gov. Aggregation   FEOH - TE     08049740062080026347        Electric       Gov. Aggregation
AEP - OP      00140060749071974           Electric       Gov. Aggregation   FEOH - TE     08051709832900007393        Electric       Gov. Aggregation
AEP - OP      00140060749093312           Electric       Gov. Aggregation   FEOH - OE     08051920875000105318        Electric       Gov. Aggregation
AEP - OP      00140060749118811           Electric       Gov. Aggregation   FEOH - OE     08052048165001447160        Electric       Gov. Aggregation
AEP - OP      00140060749156624           Electric       Gov. Aggregation   FEOH - OE     08052193570001040764        Electric       Gov. Aggregation
AEP - OP      00140060749175265           Electric       Gov. Aggregation   FEOH - OE     08052323280000803664        Electric       Gov. Aggregation
AEP - OP      00140060739717425           Electric       Gov. Aggregation   FEOH - OE     08052356680000804281        Electric       Gov. Aggregation
AEP - OP      00140060739748872           Electric       Gov. Aggregation   FEOH - OE     08035943380001045792        Electric       Gov. Aggregation
AEP - OP      00140060739784742           Electric       Gov. Aggregation   FEOH - OE     08035967930001045318        Electric       Gov. Aggregation
AEP - OP      00140060740069571           Electric       Gov. Aggregation   FEOH - OE     08035980510001142206        Electric       Gov. Aggregation
AEP - OP      00140060740111361           Electric       Gov. Aggregation   FEOH - OE     08036135060001519512        Electric       Gov. Aggregation
AEP - OP      00140060740156375           Electric       Gov. Aggregation   FEOH - OE     08036178850001440667        Electric       Gov. Aggregation
AEP - OP      00140060740180350           Electric       Gov. Aggregation   FEOH - OE     08055318490000803070        Electric       Gov. Aggregation
AEP - OP      00140060740896745           Electric       Gov. Aggregation   FEOH - TE     08055494682680024750        Electric       Gov. Aggregation
AEP - OP      00140060740921604           Electric       Gov. Aggregation   FEOH - OE     08055603180000177899        Electric       Gov. Aggregation
AEP - OP      00140060740929924           Electric       Gov. Aggregation   FEOH - OE     08055623835000021223        Electric       Gov. Aggregation
AEP - OP      00140060741130162           Electric       Gov. Aggregation   FEOH - OE     08055649260000779379        Electric       Gov. Aggregation
AEP - OP      00140060741309163           Electric       Gov. Aggregation   FEOH - OE     08055663130001546525        Electric       Gov. Aggregation
AEP - OP      00140060741354082           Electric       Gov. Aggregation   FEOH - OE     08055730250000782626        Electric       Gov. Aggregation
AEP - OP      00140060741512931           Electric       Gov. Aggregation   FEOH - OE     08037555200001346261        Electric       Gov. Aggregation
AEP - OP      00140060741980682           Electric       Gov. Aggregation   FEOH - TE     08037564772680023226        Electric       Gov. Aggregation
AEP - OP      00140060742220583           Electric       Gov. Aggregation   FEOH - OE     08037603510000784388        Electric       Gov. Aggregation
AEP - OP      00140060742258000           Electric       Gov. Aggregation   FEOH - OE     08037648310001130324        Electric       Gov. Aggregation
AEP - OP      00140060742267411           Electric       Gov. Aggregation   FEOH - OE     08037666415000262549        Electric       Gov. Aggregation
AEP - OP      00140060742277663           Electric       Gov. Aggregation   FEOH - OE     08037692700000792611        Electric       Gov. Aggregation
AEP - OP      00140060742593781           Electric       Gov. Aggregation   FEOH - OE     08037880450000803607        Electric       Gov. Aggregation
AEP - OP      00140060742688084           Electric       Gov. Aggregation   FEOH - OE     08036425350000803467        Electric       Gov. Aggregation
AEP - OP      00140060752045982           Electric       Gov. Aggregation   FEOH - OE     08036477140001041377        Electric       Gov. Aggregation
AEP - OP      00140060752382652           Electric       Gov. Aggregation   FEOH - TE     08036490522810020102        Electric       Gov. Aggregation
AEP - OP      00140060752508582           Electric       Gov. Aggregation   FEOH - OE     08036521110001131245        Electric       Gov. Aggregation
AEP - OP      00140060752514401           Electric       Gov. Aggregation   FEOH - OE     08036563005000322129        Electric       Gov. Aggregation
AEP - OP      00140060752588603           Electric       Gov. Aggregation   FEOH - TE     08036592092850022962        Electric       Gov. Aggregation
AEP - OP      00140060749874381           Electric       Gov. Aggregation   FEOH - TE     08036701262380033079        Electric       Gov. Aggregation
AEP - OP      00140060749878750           Electric       Gov. Aggregation   FEOH - OE     08055694450001127727        Electric       Gov. Aggregation
AEP - OP      00140060749893801           Electric       Gov. Aggregation   FEOH - OE     08055694450001142198        Electric       Gov. Aggregation
AEP - OP      00140060749930850           Electric       Gov. Aggregation   FEOH - OE     08055700105000314487        Electric       Gov. Aggregation
AEP - OP      00140060749965371           Electric       Gov. Aggregation   FEOH - OE     08055710040001130279        Electric       Gov. Aggregation
AEP - OP      00140060750088880           Electric       Gov. Aggregation   FEOH - OE     08055839970000841344        Electric       Gov. Aggregation
AEP - OP      00140060750145262           Electric       Gov. Aggregation   FEOH - OE     08055866670000782674        Electric       Gov. Aggregation
AEP - OP      00140060740418720           Electric       Gov. Aggregation   FEOH - OE     08049863520001371033        Electric       Gov. Aggregation
AEP - OP      00140060740521831           Electric       Gov. Aggregation   FEOH - OE     08050060380000792708        Electric       Gov. Aggregation
AEP - OP      00140060740541342           Electric       Gov. Aggregation   FEOH - OE     08050225460000778078        Electric       Gov. Aggregation
AEP - OP      00140060740594871           Electric       Gov. Aggregation   FEOH - OE     08050429800000789033        Electric       Gov. Aggregation
AEP - OP      00140060740699973           Electric       Gov. Aggregation   FEOH - OE     08050436250000187226        Electric       Gov. Aggregation
AEP - OP      00140060740824911           Electric       Gov. Aggregation   FEOH - TE     08050436742770019872        Electric       Gov. Aggregation
AEP - OP      00140060752771081           Electric       Gov. Aggregation   FEOH - TE     08052363482810020596        Electric       Gov. Aggregation
AEP - OP      00140060752783741           Electric       Gov. Aggregation   FEOH - OE     08052372660001531108        Electric       Gov. Aggregation
AEP - OP      00140060752867375           Electric       Gov. Aggregation   FEOH - OE     08052426060000784475        Electric       Gov. Aggregation
AEP - OP      00140060752947994           Electric       Gov. Aggregation   FEOH - OE     08052511975001309643        Electric       Gov. Aggregation
AEP - OP      00140060752957301           Electric       Gov. Aggregation   FEOH - OE     08052515700000187108        Electric       Gov. Aggregation
AEP - OP      00140060753020661           Electric       Gov. Aggregation   FEOH - OE     08052611590000791781        Electric       Gov. Aggregation
AEP - OP      00140060753037791           Electric       Gov. Aggregation   FEOH - OE     08036184020001130936        Electric       Gov. Aggregation
AEP - OP      00140060752823585           Electric       Gov. Aggregation   FEOH - OE     08036213720000778370        Electric       Gov. Aggregation
AEP - OP      00140060752838285           Electric       Gov. Aggregation   FEOH - OE     08036320100001370179        Electric       Gov. Aggregation
AEP - OP      00140060753179901           Electric       Gov. Aggregation   FEOH - OE     08036337600000802939        Electric       Gov. Aggregation
AEP - OP      00140060753398293           Electric       Gov. Aggregation   FEOH - OE     08036384930001129172        Electric       Gov. Aggregation
AEP - OP      00140060753466072           Electric       Gov. Aggregation   FEOH - OE     08036424070001041641        Electric       Gov. Aggregation
AEP - OP      00140060753495925           Electric       Gov. Aggregation   FEOH - TE     08055767622380027400        Electric       Gov. Aggregation
AEP - OP      00140060753588765           Electric       Gov. Aggregation   FEOH - TE     08055780132680020271        Electric       Gov. Aggregation
AEP - OP      00140060742730151           Electric       Gov. Aggregation   FEOH - OE     08055799480001142086        Electric       Gov. Aggregation
AEP - OP      00140060742786204           Electric       Gov. Aggregation   FEOH - TE     08055830652750093766        Electric       Gov. Aggregation
AEP - OP      00140060743012894           Electric       Gov. Aggregation   FEOH - OE     08055836480000782723        Electric       Gov. Aggregation
AEP - OP      00140060743123980           Electric       Gov. Aggregation   FEOH - OE     08055875010001570880        Electric       Gov. Aggregation
AEP - OP      00140060743136511           Electric       Gov. Aggregation   FEOH - OE     08055946760001128419        Electric       Gov. Aggregation
AEP - OP      00140060743154973           Electric       Gov. Aggregation   FEOH - OE     08038167740000604142        Electric       Gov. Aggregation
AEP - OP      00140060746425051           Electric       Gov. Aggregation   FEOH - OE     08038198970001142854        Electric       Gov. Aggregation
AEP - OP      00140060746434323           Electric       Gov. Aggregation   FEOH - OE     08038257920000790539        Electric       Gov. Aggregation
AEP - OP      00140060746439780           Electric       Gov. Aggregation   FEOH - OE     08038280140000789100        Electric       Gov. Aggregation
AEP - OP      00140060746490333           Electric       Gov. Aggregation   FEOH - OE     08038293175000348316        Electric       Gov. Aggregation
AEP - OP      00140060746633473           Electric       Gov. Aggregation   FEOH - OE     08038299990000786441        Electric       Gov. Aggregation
AEP - OP      00140060746723005           Electric       Gov. Aggregation   FEOH - OE     08036718160000792417        Electric       Gov. Aggregation
AEP - OP      00140060746907432           Electric       Gov. Aggregation   FEOH - OE     08036723320000804432        Electric       Gov. Aggregation
AEP - OP      00140060749267064           Electric       Gov. Aggregation   FEOH - OE     08036753370000792581        Electric       Gov. Aggregation
AEP - OP      00140060749298415           Electric       Gov. Aggregation   FEOH - OE     08036806650000789299        Electric       Gov. Aggregation
AEP - OP      00140060749340302           Electric       Gov. Aggregation   FEOH - OE     08036817630001433998        Electric       Gov. Aggregation
AEP - OP      00140060749422232           Electric       Gov. Aggregation   FEOH - OE     08036858390000603958        Electric       Gov. Aggregation
AEP - OP      00140060749587113           Electric       Gov. Aggregation   FEOH - OE     08036892310001459840        Electric       Gov. Aggregation
AEP - OP      00140060749626101           Electric       Gov. Aggregation   FEOH - OE     08055882350000603665        Electric       Gov. Aggregation
AEP - OP      00140060749988493           Electric       Gov. Aggregation   FEOH - OE     08055906710000803264        Electric       Gov. Aggregation
AEP - OP      00140060740917064           Electric       Gov. Aggregation   FEOH - OE     08055947600001130461        Electric       Gov. Aggregation
AEP - OP      00140060740918004           Electric       Gov. Aggregation   FEOH - OE     08055971460001043508        Electric       Gov. Aggregation
AEP - OP      00140060740990170           Electric       Gov. Aggregation   FEOH - OE     08056040930000790681        Electric       Gov. Aggregation
AEP - OP      00140060741002343           Electric       Gov. Aggregation   FEOH - TE     08056079672300029762        Electric       Gov. Aggregation
AEP - OP      00140060741037494           Electric       Gov. Aggregation   FEOH - TE     08056102895000271358        Electric       Gov. Aggregation
AEP - OP      00140060741042200           Electric       Gov. Aggregation   FEOH - TE     08050488822680018710        Electric       Gov. Aggregation
AEP - OP      00140060753039640           Electric       Gov. Aggregation   FEOH - TE     08050569222850020169        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060753042390           Electric       Gov. Aggregation   FEOH - OE     08050599590001127606        Electric       Gov. Aggregation
AEP - OP      00140060753104520           Electric       Gov. Aggregation   FEOH - OE     08050627190001129540        Electric       Gov. Aggregation
AEP - OP      00140060753156290           Electric       Gov. Aggregation   FEOH - OE     08050706070000844634        Electric       Gov. Aggregation
AEP - OP      00140060753186463           Electric       Gov. Aggregation   FEOH - OE     08050729160001130210        Electric       Gov. Aggregation
AEP - OP      00140060753291030           Electric       Gov. Aggregation   FEOH - TE     08050785482770021179        Electric       Gov. Aggregation
AEP - OP      00140060753373711           Electric       Gov. Aggregation   FEOH - OE     08052761920001043460        Electric       Gov. Aggregation
AEP - OP      00140060750169774           Electric       Gov. Aggregation   FEOH - OE     08052817320000803438        Electric       Gov. Aggregation
AEP - OP      00140060750190093           Electric       Gov. Aggregation   FEOH - OE     08052854390001374124        Electric       Gov. Aggregation
AEP - OP      00140060750473154           Electric       Gov. Aggregation   FEOH - OE     08052857155000112002        Electric       Gov. Aggregation
AEP - OP      00140060750496202           Electric       Gov. Aggregation   FEOH - OE     08052864170001038686        Electric       Gov. Aggregation
AEP - OP      00140060750507260           Electric       Gov. Aggregation   FEOH - OE     08052923860000791194        Electric       Gov. Aggregation
AEP - OP      00140060753594501           Electric       Gov. Aggregation   FEOH - OE     08036436660001129093        Electric       Gov. Aggregation
AEP - OP      00140060753678243           Electric       Gov. Aggregation   FEOH - TE     08036447922850022520        Electric       Gov. Aggregation
AEP - OP      00140060753698361           Electric       Gov. Aggregation   FEOH - OE     08036709230000790365        Electric       Gov. Aggregation
AEP - OP      00140060753722194           Electric       Gov. Aggregation   FEOH - OE     08036930200000603762        Electric       Gov. Aggregation
AEP - OP      00140060753770625           Electric       Gov. Aggregation   FEOH - OE     08036985290000849318        Electric       Gov. Aggregation
AEP - OP      00140060753938943           Electric       Gov. Aggregation   FEOH - OE     08036987690000809573        Electric       Gov. Aggregation
AEP - OP      00140060754098760           Electric       Gov. Aggregation   FEOH - OE     08037219230001130873        Electric       Gov. Aggregation
AEP - OP      00140060743285334           Electric       Gov. Aggregation   FEOH - OE     08038532215000330598        Electric       Gov. Aggregation
AEP - OP      00140060743435561           Electric       Gov. Aggregation   FEOH - TE     08038572092810018453        Electric       Gov. Aggregation
AEP - OP      00140060743561053           Electric       Gov. Aggregation   FEOH - OE     08038578410001348881        Electric       Gov. Aggregation
AEP - OP      00140060743643014           Electric       Gov. Aggregation   FEOH - OE     08038623525001351259        Electric       Gov. Aggregation
AEP - OP      00140060743653393           Electric       Gov. Aggregation   FEOH - OE     08038740310000168260        Electric       Gov. Aggregation
AEP - OP      00140060744098283           Electric       Gov. Aggregation   FEOH - OE     08038831930000782531        Electric       Gov. Aggregation
AEP - OP      00140060746939114           Electric       Gov. Aggregation   FEOH - TE     08039019992080024446        Electric       Gov. Aggregation
AEP - OP      00140060747040131           Electric       Gov. Aggregation   FEOH - TE     08056114142900007410        Electric       Gov. Aggregation
AEP - OP      00140060747042085           Electric       Gov. Aggregation   FEOH - OE     08056125630000584228        Electric       Gov. Aggregation
AEP - OP      00140060747056352           Electric       Gov. Aggregation   FEOH - OE     08056242130000803481        Electric       Gov. Aggregation
AEP - OP      00140060747114872           Electric       Gov. Aggregation   FEOH - OE     08056269640001043706        Electric       Gov. Aggregation
AEP - OP      00140060747349002           Electric       Gov. Aggregation   FEOH - OE     08056321460001043457        Electric       Gov. Aggregation
AEP - OP      00140060747409913           Electric       Gov. Aggregation   FEOH - OE     08056341790000778854        Electric       Gov. Aggregation
AEP - OP      00140060741108920           Electric       Gov. Aggregation   FEOH - OE     08056364880000777899        Electric       Gov. Aggregation
AEP - OP      00140060741152971           Electric       Gov. Aggregation   FEOH - TE     08050789922600009322        Electric       Gov. Aggregation
AEP - OP      00140060741204012           Electric       Gov. Aggregation   FEOH - OE     08050798670000789363        Electric       Gov. Aggregation
AEP - OP      00140060741232143           Electric       Gov. Aggregation   FEOH - TE     08050909172900009650        Electric       Gov. Aggregation
AEP - OP      00140060741294470           Electric       Gov. Aggregation   FEOH - OE     08050930810001430744        Electric       Gov. Aggregation
AEP - OP      00140060741355292           Electric       Gov. Aggregation   FEOH - OE     08050961645000089594        Electric       Gov. Aggregation
AEP - OP      00140060741385352           Electric       Gov. Aggregation   FEOH - TE     08050981752910091144        Electric       Gov. Aggregation
AEP - OP      00140060750625545           Electric       Gov. Aggregation   FEOH - OE     08050993885000140893        Electric       Gov. Aggregation
AEP - OP      00140060750732005           Electric       Gov. Aggregation   FEOH - OE     08056081210001142284        Electric       Gov. Aggregation
AEP - OP      00140060750744101           Electric       Gov. Aggregation   FEOH - OE     08056141330000789310        Electric       Gov. Aggregation
AEP - OP      00140060750947204           Electric       Gov. Aggregation   FEOH - OE     08056159390000804096        Electric       Gov. Aggregation
AEP - OP      00140060751028481           Electric       Gov. Aggregation   FEOH - OE     08056167770001041421        Electric       Gov. Aggregation
AEP - OP      00140060751031211           Electric       Gov. Aggregation   FEOH - OE     08056187880000788782        Electric       Gov. Aggregation
AEP - OP      00140060751034540           Electric       Gov. Aggregation   FEOH - OE     08056196630000187240        Electric       Gov. Aggregation
AEP - OP      00140060750047931           Electric       Gov. Aggregation   FEOH - OE     08056318410001044590        Electric       Gov. Aggregation
AEP - OP      00140060750052684           Electric       Gov. Aggregation   FEOH - OE     08036920270000806045        Electric       Gov. Aggregation
AEP - OP      00140060750112431           Electric       Gov. Aggregation   FEOH - OE     08036944375000075002        Electric       Gov. Aggregation
AEP - OP      00140060750180922           Electric       Gov. Aggregation   FEOH - OE     08037098860000776800        Electric       Gov. Aggregation
AEP - OP      00140060750334185           Electric       Gov. Aggregation   FEOH - TE     08037178865000324857        Electric       Gov. Aggregation
AEP - OP      00140060750472461           Electric       Gov. Aggregation   FEOH - OE     08037217870001043769        Electric       Gov. Aggregation
AEP - OP      00140060753386551           Electric       Gov. Aggregation   FEOH - OE     08037219230001130871        Electric       Gov. Aggregation
AEP - OP      00140060753393712           Electric       Gov. Aggregation   FEOH - OE     08037259340001130912        Electric       Gov. Aggregation
AEP - OP      00140060753447155           Electric       Gov. Aggregation   FEOH - OE     08052963865000351073        Electric       Gov. Aggregation
AEP - OP      00140060753538091           Electric       Gov. Aggregation   FEOH - OE     08053139610001041794        Electric       Gov. Aggregation
AEP - OP      00140060753575091           Electric       Gov. Aggregation   FEOH - OE     08053148140001044250        Electric       Gov. Aggregation
AEP - OP      00140060753576580           Electric       Gov. Aggregation   FEOH - OE     08053185160000803514        Electric       Gov. Aggregation
AEP - OP      00140060753591343           Electric       Gov. Aggregation   FEOH - OE     08053201640001366896        Electric       Gov. Aggregation
AEP - OP      00140060754115382           Electric       Gov. Aggregation   FEOH - OE     08053217120001143026        Electric       Gov. Aggregation
AEP - OP      00140060754161975           Electric       Gov. Aggregation   FEOH - OE     08053239415001245375        Electric       Gov. Aggregation
AEP - OP      00140060754438283           Electric       Gov. Aggregation   FEOH - OE     08039097755000391150        Electric       Gov. Aggregation
AEP - OP      00140060754474713           Electric       Gov. Aggregation   FEOH - TE     08039109982080026578        Electric       Gov. Aggregation
AEP - OP      00140060754518285           Electric       Gov. Aggregation   FEOH - OE     08039121675000377312        Electric       Gov. Aggregation
AEP - OP      00140060754677582           Electric       Gov. Aggregation   FEOH - OE     08039192820000848981        Electric       Gov. Aggregation
AEP - OP      00140060754697462           Electric       Gov. Aggregation   FEOH - OE     08039289690001043082        Electric       Gov. Aggregation
AEP - OP      00140060744119225           Electric       Gov. Aggregation   FEOH - OE     08039382870000778519        Electric       Gov. Aggregation
AEP - OP      00140060744136511           Electric       Gov. Aggregation   FEOH - OE     08039582310001346430        Electric       Gov. Aggregation
AEP - OP      00140060744179594           Electric       Gov. Aggregation   FEOH - OE     08050996060000804277        Electric       Gov. Aggregation
AEP - OP      00140060744430473           Electric       Gov. Aggregation   FEOH - OE     08051193990001130920        Electric       Gov. Aggregation
AEP - OP      00140060744781310           Electric       Gov. Aggregation   FEOH - TE     08051201502850018064        Electric       Gov. Aggregation
AEP - OP      00140060744937922           Electric       Gov. Aggregation   FEOH - OE     08051248290000186779        Electric       Gov. Aggregation
AEP - OP      00140060745006262           Electric       Gov. Aggregation   FEOH - OE     08051343180000791233        Electric       Gov. Aggregation
AEP - OP      00140060747466661           Electric       Gov. Aggregation   FEOH - OE     08051396210001129673        Electric       Gov. Aggregation
AEP - OP      00140060747637154           Electric       Gov. Aggregation   FEOH - OE     08051409560001578745        Electric       Gov. Aggregation
AEP - OP      00140060747794155           Electric       Gov. Aggregation   FEOH - TE     08056401122900003340        Electric       Gov. Aggregation
AEP - OP      00140060747898923           Electric       Gov. Aggregation   FEOH - OE     08056454520001044769        Electric       Gov. Aggregation
AEP - OP      00140060747969841           Electric       Gov. Aggregation   FEOH - OE     08056481265001413012        Electric       Gov. Aggregation
AEP - OP      00140060748004680           Electric       Gov. Aggregation   FEOH - TE     08056537212640020093        Electric       Gov. Aggregation
AEP - OP      00140060748067021           Electric       Gov. Aggregation   FEOH - TE     08056663872080026967        Electric       Gov. Aggregation
AEP - OP      00140060751075203           Electric       Gov. Aggregation   FEOH - OE     08056665450000848819        Electric       Gov. Aggregation
AEP - OP      00140060751109900           Electric       Gov. Aggregation   FEOH - OE     08056823930000791731        Electric       Gov. Aggregation
AEP - OP      00140060751301074           Electric       Gov. Aggregation   FEOH - OE     08056846080001142777        Electric       Gov. Aggregation
AEP - OP      00140060751387074           Electric       Gov. Aggregation   FEOH - OE     08057054790000848968        Electric       Gov. Aggregation
AEP - OP      00140060751449075           Electric       Gov. Aggregation   FEOH - OE     08057069090000802931        Electric       Gov. Aggregation
AEP - OP      00140060751529020           Electric       Gov. Aggregation   FEOH - OE     08057342110000782705        Electric       Gov. Aggregation
AEP - OP      00140060751649913           Electric       Gov. Aggregation   FEOH - TE     08057485512080027213        Electric       Gov. Aggregation
AEP - OP      00140060741524555           Electric       Gov. Aggregation   FEOH - OE     08057492840001129094        Electric       Gov. Aggregation
AEP - OP      00140060741527881           Electric       Gov. Aggregation   FEOH - OE     08037292855000307052        Electric       Gov. Aggregation
AEP - OP      00140060741637990           Electric       Gov. Aggregation   FEOH - OE     08037332410001127800        Electric       Gov. Aggregation
AEP - OP      00140060741713195           Electric       Gov. Aggregation   FEOH - TE     08037353432030032440        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060741723554           Electric       Gov. Aggregation   FEOH - TE     08037398892170092863        Electric       Gov. Aggregation
AEP - OP      00140060741756913           Electric       Gov. Aggregation   FEOH - TE     08037447752680019996        Electric       Gov. Aggregation
AEP - OP      00140060750493864           Electric       Gov. Aggregation   FEOH - OE     08037485290001130619        Electric       Gov. Aggregation
AEP - OP      00140060750503152           Electric       Gov. Aggregation   FEOH - OE     08056339460001044558        Electric       Gov. Aggregation
AEP - OP      00140060750635143           Electric       Gov. Aggregation   FEOH - TE     08056358762080026559        Electric       Gov. Aggregation
AEP - OP      00140060750891644           Electric       Gov. Aggregation   FEOH - OE     08056359550000592385        Electric       Gov. Aggregation
AEP - OP      00140060750924530           Electric       Gov. Aggregation   FEOH - TE     08056486352080022722        Electric       Gov. Aggregation
AEP - OP      00140060751023074           Electric       Gov. Aggregation   FEOH - OE     08056489100001541447        Electric       Gov. Aggregation
AEP - OP      00140060753621473           Electric       Gov. Aggregation   FEOH - TE     08056511522320093251        Electric       Gov. Aggregation
AEP - OP      00140060753658423           Electric       Gov. Aggregation   FEOH - OE     08056533130001440306        Electric       Gov. Aggregation
AEP - OP      00140060753809044           Electric       Gov. Aggregation   FEOH - OE     08037413540000786317        Electric       Gov. Aggregation
AEP - OP      00140060754093572           Electric       Gov. Aggregation   FEOH - TE     08037425432600009994        Electric       Gov. Aggregation
AEP - OP      00140060754131844           Electric       Gov. Aggregation   FEOH - OE     08037431940000791062        Electric       Gov. Aggregation
AEP - OP      00140060754245675           Electric       Gov. Aggregation   FEOH - OE     08037448540000844857        Electric       Gov. Aggregation
AEP - OP      00140060754246755           Electric       Gov. Aggregation   FEOH - TE     08037457705000088039        Electric       Gov. Aggregation
AEP - OP      00140060754761935           Electric       Gov. Aggregation   FEOH - OE     08037549850001550206        Electric       Gov. Aggregation
AEP - OP      00140060754880134           Electric       Gov. Aggregation   FEOH - OE     08037579280000809470        Electric       Gov. Aggregation
AEP - OP      00140060754897294           Electric       Gov. Aggregation   FEOH - OE     08053299240000803277        Electric       Gov. Aggregation
AEP - OP      00140060754906851           Electric       Gov. Aggregation   FEOH - OE     08053316080000803679        Electric       Gov. Aggregation
AEP - OP      00140060745068191           Electric       Gov. Aggregation   FEOH - OE     08053369950001128564        Electric       Gov. Aggregation
AEP - OP      00140060745155300           Electric       Gov. Aggregation   FEOH - OE     08053507370000791458        Electric       Gov. Aggregation
AEP - OP      00140060745194922           Electric       Gov. Aggregation   FEOH - TE     08053517332590090696        Electric       Gov. Aggregation
AEP - OP      00140060745462740           Electric       Gov. Aggregation   FEOH - OE     08053577560000766136        Electric       Gov. Aggregation
AEP - OP      00140060745603562           Electric       Gov. Aggregation   FEOH - TE     08051571062680021875        Electric       Gov. Aggregation
AEP - OP      00140060745633394           Electric       Gov. Aggregation   FEOH - OE     08051663045000021247        Electric       Gov. Aggregation
AEP - OP      00140060745772482           Electric       Gov. Aggregation   FEOH - OE     08051767320001492480        Electric       Gov. Aggregation
AEP - OP      00140060748263480           Electric       Gov. Aggregation   FEOH - OE     08052080610000784782        Electric       Gov. Aggregation
AEP - OP      00140060748272492           Electric       Gov. Aggregation   FEOH - OE     08052363780000844902        Electric       Gov. Aggregation
AEP - OP      00140060748329682           Electric       Gov. Aggregation   FEOH - TE     08052408222640020961        Electric       Gov. Aggregation
AEP - OP      00140060748424225           Electric       Gov. Aggregation   FEOH - OE     08052446095001292931        Electric       Gov. Aggregation
AEP - OP      00140060748457265           Electric       Gov. Aggregation   FEOH - OE     08039584155000379099        Electric       Gov. Aggregation
AEP - OP      00140060748472460           Electric       Gov. Aggregation   FEOH - OE     08039587230000792685        Electric       Gov. Aggregation
AEP - OP      00140060748517534           Electric       Gov. Aggregation   FEOH - OE     08039644300001044455        Electric       Gov. Aggregation
AEP - OP      00140060751655320           Electric       Gov. Aggregation   FEOH - OE     08039645960001143247        Electric       Gov. Aggregation
AEP - OP      00140060751675545           Electric       Gov. Aggregation   FEOH - OE     08039647990000186493        Electric       Gov. Aggregation
AEP - OP      00140060751678552           Electric       Gov. Aggregation   FEOH - OE     08039662270000790506        Electric       Gov. Aggregation
AEP - OP      00140060751755550           Electric       Gov. Aggregation   FEOH - OE     08039664800000790797        Electric       Gov. Aggregation
AEP - OP      00140060751926154           Electric       Gov. Aggregation   FEOH - OE     08053676320000848840        Electric       Gov. Aggregation
AEP - OP      00140060751971882           Electric       Gov. Aggregation   FEOH - OE     08053719330001129982        Electric       Gov. Aggregation
AEP - OP      00140060752309283           Electric       Gov. Aggregation   FEOH - OE     08053870180001127962        Electric       Gov. Aggregation
AEP - OP      00140060741802474           Electric       Gov. Aggregation   FEOH - TE     08053944272680020200        Electric       Gov. Aggregation
AEP - OP      00140060741941363           Electric       Gov. Aggregation   FEOH - TE     08053953942930094433        Electric       Gov. Aggregation
AEP - OP      00140060741960453           Electric       Gov. Aggregation   FEOH - OE     08053959410000584261        Electric       Gov. Aggregation
AEP - OP      00140060742133570           Electric       Gov. Aggregation   FEOH - OE     08056878250001563850        Electric       Gov. Aggregation
AEP - OP      00140060742139832           Electric       Gov. Aggregation   FEOH - OE     08056938910000790295        Electric       Gov. Aggregation
AEP - OP      00140060742162634           Electric       Gov. Aggregation   FEOH - OE     08056953960000782494        Electric       Gov. Aggregation
AEP - OP      00140060742175552           Electric       Gov. Aggregation   FEOH - OE     08057013220000803819        Electric       Gov. Aggregation
AEP - OP      00140060751176213           Electric       Gov. Aggregation   FEOH - OE     08057088660000790956        Electric       Gov. Aggregation
AEP - OP      00140060751190772           Electric       Gov. Aggregation   FEOH - OE     08057139950000790284        Electric       Gov. Aggregation
AEP - OP      00140060751281822           Electric       Gov. Aggregation   FEOH - OE     08057198540000778465        Electric       Gov. Aggregation
AEP - OP      00140060751384061           Electric       Gov. Aggregation   FEOH - OE     08057552640001499687        Electric       Gov. Aggregation
AEP - OP      00140060751634222           Electric       Gov. Aggregation   FEOH - OE     08057601190000803563        Electric       Gov. Aggregation
AEP - OP      00140060751674955           Electric       Gov. Aggregation   FEOH - OE     08057713960000804121        Electric       Gov. Aggregation
AEP - OP      00140060751905385           Electric       Gov. Aggregation   FEOH - OE     08057797550000782680        Electric       Gov. Aggregation
AEP - OP      00140060742748893           Electric       Gov. Aggregation   FEOH - OE     08057921100001129143        Electric       Gov. Aggregation
AEP - OP      00140060742796234           Electric       Gov. Aggregation   FEOH - OE     08057972020000792580        Electric       Gov. Aggregation
AEP - OP      00140060742797285           Electric       Gov. Aggregation   FEOH - OE     08057982600001437536        Electric       Gov. Aggregation
AEP - OP      00140060742839641           Electric       Gov. Aggregation   FEOH - OE     08037569890000805518        Electric       Gov. Aggregation
AEP - OP      00140060742878960           Electric       Gov. Aggregation   FEOH - OE     08037715250001130753        Electric       Gov. Aggregation
AEP - OP      00140060742881532           Electric       Gov. Aggregation   FEOH - OE     08037719810000789185        Electric       Gov. Aggregation
AEP - OP      00140060742882190           Electric       Gov. Aggregation   FEOH - TE     08037789732510007417        Electric       Gov. Aggregation
AEP - OP      00140060755058370           Electric       Gov. Aggregation   FEOH - OE     08037794150000844830        Electric       Gov. Aggregation
AEP - OP      00140060755081222           Electric       Gov. Aggregation   FEOH - OE     08037845105000244384        Electric       Gov. Aggregation
AEP - OP      00140060755105144           Electric       Gov. Aggregation   FEOH - OE     08037933900001493459        Electric       Gov. Aggregation
AEP - OP      00140060755146605           Electric       Gov. Aggregation   FEOH - OE     08056564170001461683        Electric       Gov. Aggregation
AEP - OP      00140060755251513           Electric       Gov. Aggregation   FEOH - OE     08056570580001457056        Electric       Gov. Aggregation
AEP - OP      00140060755334602           Electric       Gov. Aggregation   FEOH - OE     08056694530001128448        Electric       Gov. Aggregation
AEP - OP      00140060755341872           Electric       Gov. Aggregation   FEOH - OE     08056698350000786464        Electric       Gov. Aggregation
AEP - OP      00140060745931552           Electric       Gov. Aggregation   FEOH - OE     08056723425001388665        Electric       Gov. Aggregation
AEP - OP      00140060746000934           Electric       Gov. Aggregation   FEOH - OE     08056775990000806054        Electric       Gov. Aggregation
AEP - OP      00140060746058792           Electric       Gov. Aggregation   FEOH - OE     08056845240000790976        Electric       Gov. Aggregation
AEP - OP      00140060746129174           Electric       Gov. Aggregation   FEOH - OE     08037619720001130216        Electric       Gov. Aggregation
AEP - OP      00140060746159152           Electric       Gov. Aggregation   FEOH - OE     08037643015000333358        Electric       Gov. Aggregation
AEP - OP      00140060746183681           Electric       Gov. Aggregation   FEOH - OE     08037655100001131321        Electric       Gov. Aggregation
AEP - OP      00140060746257294           Electric       Gov. Aggregation   FEOH - OE     08037665330000187229        Electric       Gov. Aggregation
AEP - OP      00140060754341944           Electric       Gov. Aggregation   FEOH - OE     08037665330000187233        Electric       Gov. Aggregation
AEP - OP      00140060754481711           Electric       Gov. Aggregation   FEOH - OE     08037694220000778498        Electric       Gov. Aggregation
AEP - OP      00140060754500501           Electric       Gov. Aggregation   FEOH - OE     08052511730000778201        Electric       Gov. Aggregation
AEP - OP      00140060754519121           Electric       Gov. Aggregation   FEOH - OE     08052551420001142917        Electric       Gov. Aggregation
AEP - OP      00140060754661304           Electric       Gov. Aggregation   FEOH - TE     08052601232850025777        Electric       Gov. Aggregation
AEP - OP      00140060754720583           Electric       Gov. Aggregation   FEOH - OE     08052626910001386662        Electric       Gov. Aggregation
AEP - OP      00140060754741280           Electric       Gov. Aggregation   FEOH - OE     08052764250000790729        Electric       Gov. Aggregation
AEP - OP      00140060746261644           Electric       Gov. Aggregation   FEOH - OE     08052814105001254562        Electric       Gov. Aggregation
AEP - OP      00140060746693070           Electric       Gov. Aggregation   FEOH - OE     08052838410000804324        Electric       Gov. Aggregation
AEP - OP      00140060746753100           Electric       Gov. Aggregation   FEOH - OE     08054046520001128567        Electric       Gov. Aggregation
AEP - OP      00140060746756571           Electric       Gov. Aggregation   FEOH - OE     08054077060000766122        Electric       Gov. Aggregation
AEP - OP      00140060746811930           Electric       Gov. Aggregation   FEOH - OE     08054239880000806200        Electric       Gov. Aggregation
AEP - OP      00140060746828963           Electric       Gov. Aggregation   FEOH - TE     08054277652230093853        Electric       Gov. Aggregation
AEP - OP      00140060746859142           Electric       Gov. Aggregation   FEOH - TE     08054281882040001197        Electric       Gov. Aggregation
AEP - OP      00140060752390552           Electric       Gov. Aggregation   FEOH - OE     08054325670000844724        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060752438181           Electric       Gov. Aggregation   FEOH - OE     08039690000000804369        Electric       Gov. Aggregation
AEP - OP      00140060752522551           Electric       Gov. Aggregation   FEOH - TE     08039723203000004610        Electric       Gov. Aggregation
AEP - OP      00140060752546753           Electric       Gov. Aggregation   FEOH - OE     08039773490000784393        Electric       Gov. Aggregation
AEP - OP      00140060752698033           Electric       Gov. Aggregation   FEOH - TE     08039874152300029885        Electric       Gov. Aggregation
AEP - OP      00140060752796441           Electric       Gov. Aggregation   FEOH - OE     08039876410001143210        Electric       Gov. Aggregation
AEP - OP      00140060752799190           Electric       Gov. Aggregation   FEOH - OE     08039927450000187103        Electric       Gov. Aggregation
AEP - OP      00140060752813713           Electric       Gov. Aggregation   FEOH - OE     08040119740000786813        Electric       Gov. Aggregation
AEP - OP      00140060753171552           Electric       Gov. Aggregation   FEOH - OE     08057345060001564902        Electric       Gov. Aggregation
AEP - OP      00140060753353315           Electric       Gov. Aggregation   FEOH - OE     08057398705001491593        Electric       Gov. Aggregation
AEP - OP      00140060753529132           Electric       Gov. Aggregation   FEOH - OE     08057429520000803417        Electric       Gov. Aggregation
AEP - OP      00140060753926645           Electric       Gov. Aggregation   FEOH - OE     08057494190001350658        Electric       Gov. Aggregation
AEP - OP      00140060753975323           Electric       Gov. Aggregation   FEOH - OE     08057532950000803606        Electric       Gov. Aggregation
AEP - OP      00140060754020542           Electric       Gov. Aggregation   FEOH - OE     08057552560001040564        Electric       Gov. Aggregation
AEP - OP      00140060751911552           Electric       Gov. Aggregation   FEOH - OE     08057602520001130581        Electric       Gov. Aggregation
AEP - OP      00140060751967360           Electric       Gov. Aggregation   FEOH - OE     08058003550001131268        Electric       Gov. Aggregation
AEP - OP      00140060752028204           Electric       Gov. Aggregation   FEOH - TE     08058069132030030548        Electric       Gov. Aggregation
AEP - OP      00140060752093201           Electric       Gov. Aggregation   FEOH - OE     08058206150000762655        Electric       Gov. Aggregation
AEP - OP      00140060752099804           Electric       Gov. Aggregation   FEOH - OE     08058210740001570172        Electric       Gov. Aggregation
AEP - OP      00140060752125681           Electric       Gov. Aggregation   FEOH - OE     08058216160001127671        Electric       Gov. Aggregation
AEP - OP      00140060752213853           Electric       Gov. Aggregation   FEOH - OE     08038259910000790291        Electric       Gov. Aggregation
AEP - OP      00140060742343690           Electric       Gov. Aggregation   FEOH - OE     08038405840001128561        Electric       Gov. Aggregation
AEP - OP      00140060742423481           Electric       Gov. Aggregation   FEOH - OE     08038452960001427996        Electric       Gov. Aggregation
AEP - OP      00140060742429094           Electric       Gov. Aggregation   FEOH - TE     08038521482680022844        Electric       Gov. Aggregation
AEP - OP      00140060742549553           Electric       Gov. Aggregation   FEOH - OE     08038531080000784275        Electric       Gov. Aggregation
AEP - OP      00140060742651641           Electric       Gov. Aggregation   FEOH - TE     08038560162210012567        Electric       Gov. Aggregation
AEP - OP      00140060742776271           Electric       Gov. Aggregation   FEOH - TE     08038570662630092837        Electric       Gov. Aggregation
AEP - OP      00140060742810283           Electric       Gov. Aggregation   FEOH - TE     08056899892210014079        Electric       Gov. Aggregation
AEP - OP      00140060748680075           Electric       Gov. Aggregation   FEOH - OE     08057108110000803161        Electric       Gov. Aggregation
AEP - OP      00140060748705024           Electric       Gov. Aggregation   FEOH - OE     08057113480000786626        Electric       Gov. Aggregation
AEP - OP      00140060748727973           Electric       Gov. Aggregation   FEOH - TE     08057126012170013117        Electric       Gov. Aggregation
AEP - OP      00140060748737800           Electric       Gov. Aggregation   FEOH - OE     08057333530000844892        Electric       Gov. Aggregation
AEP - OP      00140060748776533           Electric       Gov. Aggregation   FEOH - OE     08057407450000177825        Electric       Gov. Aggregation
AEP - OP      00140060748968223           Electric       Gov. Aggregation   FEOH - OE     08057411490000178939        Electric       Gov. Aggregation
AEP - OP      00140060749040412           Electric       Gov. Aggregation   FEOH - OE     08037821760001421195        Electric       Gov. Aggregation
AEP - OP      00140060742896262           Electric       Gov. Aggregation   FEOH - OE     08037856490001043356        Electric       Gov. Aggregation
AEP - OP      00140060743046983           Electric       Gov. Aggregation   FEOH - OE     08037867545000342810        Electric       Gov. Aggregation
AEP - OP      00140060743085821           Electric       Gov. Aggregation   FEOH - OE     08037879035001272065        Electric       Gov. Aggregation
AEP - OP      00140060743318182           Electric       Gov. Aggregation   FEOH - OE     08037967170001129408        Electric       Gov. Aggregation
AEP - OP      00140060743482725           Electric       Gov. Aggregation   FEOH - OE     08037994720001130242        Electric       Gov. Aggregation
AEP - OP      00140060743565040           Electric       Gov. Aggregation   FEOH - OE     08037999100000844792        Electric       Gov. Aggregation
AEP - OP      00140060743618711           Electric       Gov. Aggregation   FEOH - TE     08052880962380032728        Electric       Gov. Aggregation
AEP - OP      00140060755532245           Electric       Gov. Aggregation   FEOH - OE     08052908050000844709        Electric       Gov. Aggregation
AEP - OP      00140060755549993           Electric       Gov. Aggregation   FEOH - OE     08053040540001578133        Electric       Gov. Aggregation
AEP - OP      00140060755822552           Electric       Gov. Aggregation   FEOH - OE     08053205980001127642        Electric       Gov. Aggregation
AEP - OP      00140060755871015           Electric       Gov. Aggregation   FEOH - OE     08053282460001379010        Electric       Gov. Aggregation
AEP - OP      00140060755929642           Electric       Gov. Aggregation   FEOH - OE     08054386650000784439        Electric       Gov. Aggregation
AEP - OP      00140060755962590           Electric       Gov. Aggregation   FEOH - OE     08054387750001461486        Electric       Gov. Aggregation
AEP - OP      00140060755964974           Electric       Gov. Aggregation   FEOH - OE     08054474720000804342        Electric       Gov. Aggregation
AEP - OP      00140060747010141           Electric       Gov. Aggregation   FEOH - OE     08054536040001041441        Electric       Gov. Aggregation
AEP - OP      00140060747014612           Electric       Gov. Aggregation   FEOH - OE     08054553320000789010        Electric       Gov. Aggregation
AEP - OP      00140060747015771           Electric       Gov. Aggregation   FEOH - TE     08054693342740091398        Electric       Gov. Aggregation
AEP - OP      00140060747079620           Electric       Gov. Aggregation   FEOH - OE     08054694680001127773        Electric       Gov. Aggregation
AEP - OP      00140060747145033           Electric       Gov. Aggregation   FEOH - OE     08057621210001425633        Electric       Gov. Aggregation
AEP - OP      00140060747180735           Electric       Gov. Aggregation   FEOH - TE     08057630872670092611        Electric       Gov. Aggregation
AEP - OP      00140060747303931           Electric       Gov. Aggregation   FEOH - OE     08057633990000168257        Electric       Gov. Aggregation
AEP - OP      00140060754848650           Electric       Gov. Aggregation   FEOH - OE     08057648610000790018        Electric       Gov. Aggregation
AEP - OP      00140060754906842           Electric       Gov. Aggregation   FEOH - OE     08057781735001400465        Electric       Gov. Aggregation
AEP - OP      00140060755019365           Electric       Gov. Aggregation   FEOH - OE     08057790095001400462        Electric       Gov. Aggregation
AEP - OP      00140060755189690           Electric       Gov. Aggregation   FEOH - OE     08057796960000803176        Electric       Gov. Aggregation
AEP - OP      00140060755228945           Electric       Gov. Aggregation   FEOH - OE     08038630230001040739        Electric       Gov. Aggregation
AEP - OP      00140060755509322           Electric       Gov. Aggregation   FEOH - TE     08038671262380028347        Electric       Gov. Aggregation
AEP - OP      00140060755542934           Electric       Gov. Aggregation   FEOH - TE     08038699722640019479        Electric       Gov. Aggregation
AEP - OP      00140060754042472           Electric       Gov. Aggregation   FEOH - OE     08038702090000803832        Electric       Gov. Aggregation
AEP - OP      00140060754095302           Electric       Gov. Aggregation   FEOH - OE     08038746150001041958        Electric       Gov. Aggregation
AEP - OP      00140060754202024           Electric       Gov. Aggregation   FEOH - OE     08038808325000150986        Electric       Gov. Aggregation
AEP - OP      00140060754253554           Electric       Gov. Aggregation   FEOH - OE     08038831590001553288        Electric       Gov. Aggregation
AEP - OP      00140060754292553           Electric       Gov. Aggregation   FEOH - OE     08058357310000769761        Electric       Gov. Aggregation
AEP - OP      00140060754431220           Electric       Gov. Aggregation   FEOH - OE     08058442015001255741        Electric       Gov. Aggregation
AEP - OP      00140060752261993           Electric       Gov. Aggregation   FEOH - OE     08058451140001129257        Electric       Gov. Aggregation
AEP - OP      00140060752439984           Electric       Gov. Aggregation   FEOH - TE     08058477505001446053        Electric       Gov. Aggregation
AEP - OP      00140060752558794           Electric       Gov. Aggregation   FEOH - OE     08058578600001143316        Electric       Gov. Aggregation
AEP - OP      00140060752566722           Electric       Gov. Aggregation   FEOH - OE     08058767540000786305        Electric       Gov. Aggregation
AEP - OP      00140060752957231           Electric       Gov. Aggregation   FEOH - TE     08058786602210012214        Electric       Gov. Aggregation
AEP - OP      00140060753076845           Electric       Gov. Aggregation   FEOH - TE     08040120102210012815        Electric       Gov. Aggregation
AEP - OP      00140060753084720           Electric       Gov. Aggregation   FEOH - OE     08040128860000803814        Electric       Gov. Aggregation
AEP - OP      00140060742843222           Electric       Gov. Aggregation   FEOH - OE     08040191330000776766        Electric       Gov. Aggregation
AEP - OP      00140060742889340           Electric       Gov. Aggregation   FEOH - TE     08040222462850020859        Electric       Gov. Aggregation
AEP - OP      00140060743051971           Electric       Gov. Aggregation   FEOH - OE     08040240530000778793        Electric       Gov. Aggregation
AEP - OP      00140060743072634           Electric       Gov. Aggregation   FEOH - OE     08040242060001441564        Electric       Gov. Aggregation
AEP - OP      00140060743081403           Electric       Gov. Aggregation   FEOH - OE     08053320860000809870        Electric       Gov. Aggregation
AEP - OP      00140060743119024           Electric       Gov. Aggregation   FEOH - OE     08053345040000803993        Electric       Gov. Aggregation
AEP - OP      00140060743129311           Electric       Gov. Aggregation   FEOH - TE     08053385972680020252        Electric       Gov. Aggregation
AEP - OP      00140060749132822           Electric       Gov. Aggregation   FEOH - OE     08053429970000791292        Electric       Gov. Aggregation
AEP - OP      00140060749154663           Electric       Gov. Aggregation   FEOH - OE     08053507890001128124        Electric       Gov. Aggregation
AEP - OP      00140060749223272           Electric       Gov. Aggregation   FEOH - OE     08053547980001471926        Electric       Gov. Aggregation
AEP - OP      00140060749258230           Electric       Gov. Aggregation   FEOH - OE     08053627680001142909        Electric       Gov. Aggregation
AEP - OP      00140060749683642           Electric       Gov. Aggregation   FEOH - OE     08038023750000804849        Electric       Gov. Aggregation
AEP - OP      00140060756088671           Electric       Gov. Aggregation   FEOH - OE     08038041070001044422        Electric       Gov. Aggregation
AEP - OP      00140060756131141           Electric       Gov. Aggregation   FEOH - OE     08038066015000345675        Electric       Gov. Aggregation
AEP - OP      00140060756140471           Electric       Gov. Aggregation   FEOH - OE     08038139090000584132        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060756172005           Electric       Gov. Aggregation   FEOH - OE     08038166720001040616        Electric       Gov. Aggregation
AEP - OP      00140060756278281           Electric       Gov. Aggregation   FEOH - OE     08038236530001402255        Electric       Gov. Aggregation
AEP - OP      00140060756319572           Electric       Gov. Aggregation   FEOH - TE     08038377432300029669        Electric       Gov. Aggregation
AEP - OP      00140060756564904           Electric       Gov. Aggregation   FEOH - OE     08057414910000776726        Electric       Gov. Aggregation
AEP - OP      00140060743747452           Electric       Gov. Aggregation   FEOH - OE     08057452140000792718        Electric       Gov. Aggregation
AEP - OP      00140060743909134           Electric       Gov. Aggregation   FEOH - OE     08057477120000844493        Electric       Gov. Aggregation
AEP - OP      00140060744057614           Electric       Gov. Aggregation   FEOH - OE     08057499510000844891        Electric       Gov. Aggregation
AEP - OP      00140060744077100           Electric       Gov. Aggregation   FEOH - OE     08057524720001482286        Electric       Gov. Aggregation
AEP - OP      00140060744270062           Electric       Gov. Aggregation   FEOH - TE     08057542502080027016        Electric       Gov. Aggregation
AEP - OP      00140060744493725           Electric       Gov. Aggregation   FEOH - OE     08057557610000789249        Electric       Gov. Aggregation
AEP - OP      00140060744559311           Electric       Gov. Aggregation   FEOH - OE     08054735290000803170        Electric       Gov. Aggregation
AEP - OP      00140060755556524           Electric       Gov. Aggregation   FEOH - OE     08054736260000809428        Electric       Gov. Aggregation
AEP - OP      00140060755564063           Electric       Gov. Aggregation   FEOH - TE     08054844632080027299        Electric       Gov. Aggregation
AEP - OP      00140060755607660           Electric       Gov. Aggregation   FEOH - OE     08054930490001521411        Electric       Gov. Aggregation
AEP - OP      00140060755611514           Electric       Gov. Aggregation   FEOH - OE     08054948920000786327        Electric       Gov. Aggregation
AEP - OP      00140060755633202           Electric       Gov. Aggregation   FEOH - OE     08054972150001472229        Electric       Gov. Aggregation
AEP - OP      00140060755654501           Electric       Gov. Aggregation   FEOH - OE     08055093030000603631        Electric       Gov. Aggregation
AEP - OP      00140060755673734           Electric       Gov. Aggregation   FEOH - OE     08057936040000791515        Electric       Gov. Aggregation
AEP - OP      00140060747388230           Electric       Gov. Aggregation   FEOH - OE     08057972025000021222        Electric       Gov. Aggregation
AEP - OP      00140060747541484           Electric       Gov. Aggregation   FEOH - OE     08057972710001142727        Electric       Gov. Aggregation
AEP - OP      00140060747601445           Electric       Gov. Aggregation   FEOH - OE     08057977055000216550        Electric       Gov. Aggregation
AEP - OP      00140060747649894           Electric       Gov. Aggregation   FEOH - OE     08058149230000790394        Electric       Gov. Aggregation
AEP - OP      00140060747662500           Electric       Gov. Aggregation   FEOH - OE     08058313170001142756        Electric       Gov. Aggregation
AEP - OP      00140060747662710           Electric       Gov. Aggregation   FEOH - OE     08058352970001417873        Electric       Gov. Aggregation
AEP - OP      00140060753085773           Electric       Gov. Aggregation   FEOH - TE     08058353562300030000        Electric       Gov. Aggregation
AEP - OP      00140060753190090           Electric       Gov. Aggregation   FEOH - OE     08058383200000783801        Electric       Gov. Aggregation
AEP - OP      00140060753331662           Electric       Gov. Aggregation   FEOH - OE     08058442010001519961        Electric       Gov. Aggregation
AEP - OP      00140060753448111           Electric       Gov. Aggregation   FEOH - OE     08058477505001448847        Electric       Gov. Aggregation
AEP - OP      00140060753546115           Electric       Gov. Aggregation   FEOH - OE     08058600300000791089        Electric       Gov. Aggregation
AEP - OP      00140060753591282           Electric       Gov. Aggregation   FEOH - OE     08058607795000293424        Electric       Gov. Aggregation
AEP - OP      00140060754465135           Electric       Gov. Aggregation   FEOH - OE     08038428555000312270        Electric       Gov. Aggregation
AEP - OP      00140060754494785           Electric       Gov. Aggregation   FEOH - OE     08038505430000786522        Electric       Gov. Aggregation
AEP - OP      00140060754687452           Electric       Gov. Aggregation   FEOH - OE     08038512390000187202        Electric       Gov. Aggregation
AEP - OP      00140060754744741           Electric       Gov. Aggregation   FEOH - TE     08038519542550090362        Electric       Gov. Aggregation
AEP - OP      00140060754871661           Electric       Gov. Aggregation   FEOH - TE     08038552582680021682        Electric       Gov. Aggregation
AEP - OP      00140060754936841           Electric       Gov. Aggregation   FEOH - OE     08038596440001128570        Electric       Gov. Aggregation
AEP - OP      00140060755091764           Electric       Gov. Aggregation   FEOH - OE     08038618320000766142        Electric       Gov. Aggregation
AEP - OP      00140060756761312           Electric       Gov. Aggregation   FEOH - OE     08038925140001041432        Electric       Gov. Aggregation
AEP - OP      00140060756809233           Electric       Gov. Aggregation   FEOH - OE     08038937960000792667        Electric       Gov. Aggregation
AEP - OP      00140060756853095           Electric       Gov. Aggregation   FEOH - TE     08038998662380031177        Electric       Gov. Aggregation
AEP - OP      00140060756918743           Electric       Gov. Aggregation   FEOH - OE     08039035330000844574        Electric       Gov. Aggregation
AEP - OP      00140060756927612           Electric       Gov. Aggregation   FEOH - TE     08039066002770020552        Electric       Gov. Aggregation
AEP - OP      00140060756957804           Electric       Gov. Aggregation   FEOH - OE     08039081960000584004        Electric       Gov. Aggregation
AEP - OP      00140060757001641           Electric       Gov. Aggregation   FEOH - OE     08058822170000784645        Electric       Gov. Aggregation
AEP - OP      00140060749776044           Electric       Gov. Aggregation   FEOH - OE     08058890640001129863        Electric       Gov. Aggregation
AEP - OP      00140060749971790           Electric       Gov. Aggregation   FEOH - OE     08058913180000792378        Electric       Gov. Aggregation
AEP - OP      00140060750042920           Electric       Gov. Aggregation   FEOH - TE     08059054872080022859        Electric       Gov. Aggregation
AEP - OP      00140060750103643           Electric       Gov. Aggregation   FEOH - OE     08059061740000786867        Electric       Gov. Aggregation
AEP - OP      00140060750246504           Electric       Gov. Aggregation   FEOH - OE     08059076800001128367        Electric       Gov. Aggregation
AEP - OP      00140060750401264           Electric       Gov. Aggregation   FEOH - OE     08059078710000804035        Electric       Gov. Aggregation
AEP - OP      00140060744569575           Electric       Gov. Aggregation   FEOH - OE     08053685580001130488        Electric       Gov. Aggregation
AEP - OP      00140060744611245           Electric       Gov. Aggregation   FEOH - OE     08053713110000789292        Electric       Gov. Aggregation
AEP - OP      00140060744640510           Electric       Gov. Aggregation   FEOH - OE     08053792020000780061        Electric       Gov. Aggregation
AEP - OP      00140060744673012           Electric       Gov. Aggregation   FEOH - OE     08053905930001485669        Electric       Gov. Aggregation
AEP - OP      00140060744688185           Electric       Gov. Aggregation   FEOH - OE     08053956610001045643        Electric       Gov. Aggregation
AEP - OP      00140060744690944           Electric       Gov. Aggregation   FEOH - OE     08053969655000329374        Electric       Gov. Aggregation
AEP - OP      00140060744691691           Electric       Gov. Aggregation   FEOH - TE     08054038902600007219        Electric       Gov. Aggregation
AEP - OP      00140060755674270           Electric       Gov. Aggregation   FEOH - OE     08057595440001130282        Electric       Gov. Aggregation
AEP - OP      00140060755733062           Electric       Gov. Aggregation   FEOH - TE     08057684742170012908        Electric       Gov. Aggregation
AEP - OP      00140060755776505           Electric       Gov. Aggregation   FEOH - OE     08057773150001130731        Electric       Gov. Aggregation
AEP - OP      00140060755855361           Electric       Gov. Aggregation   FEOH - OE     08057820810000789269        Electric       Gov. Aggregation
AEP - OP      00140060755881303           Electric       Gov. Aggregation   FEOH - OE     08057846300001443081        Electric       Gov. Aggregation
AEP - OP      00140060755920975           Electric       Gov. Aggregation   FEOH - OE     08057855860000806041        Electric       Gov. Aggregation
AEP - OP      00140060747704740           Electric       Gov. Aggregation   FEOH - OE     08057864770001044259        Electric       Gov. Aggregation
AEP - OP      00140060748020910           Electric       Gov. Aggregation   FEOH - OE     08055096340000187112        Electric       Gov. Aggregation
AEP - OP      00140060748113661           Electric       Gov. Aggregation   FEOH - OE     08055098330001476547        Electric       Gov. Aggregation
AEP - OP      00140060748217421           Electric       Gov. Aggregation   FEOH - OE     08055098950000803487        Electric       Gov. Aggregation
AEP - OP      00140060748285351           Electric       Gov. Aggregation   FEOH - TE     08055114262810021087        Electric       Gov. Aggregation
AEP - OP      00140060748398441           Electric       Gov. Aggregation   FEOH - OE     08055136660000602709        Electric       Gov. Aggregation
AEP - OP      00140060748477600           Electric       Gov. Aggregation   FEOH - OE     08055247530000177787        Electric       Gov. Aggregation
AEP - OP      00140060753705454           Electric       Gov. Aggregation   FEOH - OE     08055267340001130821        Electric       Gov. Aggregation
AEP - OP      00140060753707302           Electric       Gov. Aggregation   FEOH - OE     08038726900000844469        Electric       Gov. Aggregation
AEP - OP      00140060753713662           Electric       Gov. Aggregation   FEOH - OE     08038751610000786875        Electric       Gov. Aggregation
AEP - OP      00140060753834501           Electric       Gov. Aggregation   FEOH - OE     08039005730001128990        Electric       Gov. Aggregation
AEP - OP      00140060753848963           Electric       Gov. Aggregation   FEOH - OE     08039036025000378468        Electric       Gov. Aggregation
AEP - OP      00140060753888765           Electric       Gov. Aggregation   FEOH - TE     08039068102810022638        Electric       Gov. Aggregation
AEP - OP      00140060743175412           Electric       Gov. Aggregation   FEOH - OE     08039171870000803298        Electric       Gov. Aggregation
AEP - OP      00140060743316033           Electric       Gov. Aggregation   FEOH - OE     08039180515001276415        Electric       Gov. Aggregation
AEP - OP      00140060743376864           Electric       Gov. Aggregation   FEOH - OE     08040244405000383636        Electric       Gov. Aggregation
AEP - OP      00140060743492514           Electric       Gov. Aggregation   FEOH - TE     08040393462080027458        Electric       Gov. Aggregation
AEP - OP      00140060743721715           Electric       Gov. Aggregation   FEOH - OE     08040411100001569014        Electric       Gov. Aggregation
AEP - OP      00140060743748821           Electric       Gov. Aggregation   FEOH - OE     08040439810001045305        Electric       Gov. Aggregation
AEP - OP      00140060743774854           Electric       Gov. Aggregation   FEOH - OE     08040476335000246168        Electric       Gov. Aggregation
AEP - OP      00140060755186605           Electric       Gov. Aggregation   FEOH - OE     08040530930000786337        Electric       Gov. Aggregation
AEP - OP      00140060755198315           Electric       Gov. Aggregation   FEOH - TE     08040533292080022900        Electric       Gov. Aggregation
AEP - OP      00140060755235272           Electric       Gov. Aggregation   FEOH - OE     08058681180000789192        Electric       Gov. Aggregation
AEP - OP      00140060755304701           Electric       Gov. Aggregation   FEOH - OE     08058749420000778562        Electric       Gov. Aggregation
AEP - OP      00140060755359634           Electric       Gov. Aggregation   FEOH - OE     08058786310001545356        Electric       Gov. Aggregation
AEP - OP      00140060755466363           Electric       Gov. Aggregation   FEOH - OE     08058798975000314467        Electric       Gov. Aggregation
AEP - OP      00140060755553932           Electric       Gov. Aggregation   FEOH - OE     08058833160000790386        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060757091301           Electric       Gov. Aggregation   FEOH - OE     08058894540001130375        Electric       Gov. Aggregation
AEP - OP      00140060757316662           Electric       Gov. Aggregation   FEOH - OE     08059036530001131250        Electric       Gov. Aggregation
AEP - OP      00140060757381231           Electric       Gov. Aggregation   FEOH - TE     08039091932040001549        Electric       Gov. Aggregation
AEP - OP      00140060757461415           Electric       Gov. Aggregation   FEOH - TE     08039204072290090141        Electric       Gov. Aggregation
AEP - OP      00140060757653213           Electric       Gov. Aggregation   FEOH - OE     08039245850000806087        Electric       Gov. Aggregation
AEP - OP      00140060757701401           Electric       Gov. Aggregation   FEOH - OE     08039256860000804152        Electric       Gov. Aggregation
AEP - OP      00140060757739090           Electric       Gov. Aggregation   FEOH - OE     08039278570000784586        Electric       Gov. Aggregation
AEP - OP      00140060750625055           Electric       Gov. Aggregation   FEOH - TE     08039291712680020375        Electric       Gov. Aggregation
AEP - OP      00140060750681425           Electric       Gov. Aggregation   FEOH - OE     08039317680001495135        Electric       Gov. Aggregation
AEP - OP      00140060750683503           Electric       Gov. Aggregation   FEOH - OE     08059103430000786500        Electric       Gov. Aggregation
AEP - OP      00140060750712854           Electric       Gov. Aggregation   FEOH - OE     08059136250000806177        Electric       Gov. Aggregation
AEP - OP      00140060750747322           Electric       Gov. Aggregation   FEOH - TE     08059142483000011441        Electric       Gov. Aggregation
AEP - OP      00140060750796885           Electric       Gov. Aggregation   FEOH - OE     08059168940001311750        Electric       Gov. Aggregation
AEP - OP      00140060756148972           Electric       Gov. Aggregation   FEOH - OE     08059246530001553476        Electric       Gov. Aggregation
AEP - OP      00140060756244842           Electric       Gov. Aggregation   FEOH - OE     08059284090001330720        Electric       Gov. Aggregation
AEP - OP      00140060756287015           Electric       Gov. Aggregation   FEOH - OE     08054054715001328724        Electric       Gov. Aggregation
AEP - OP      00140060756291852           Electric       Gov. Aggregation   FEOH - OE     08054152530000841270        Electric       Gov. Aggregation
AEP - OP      00140060756362722           Electric       Gov. Aggregation   FEOH - OE     08054222350000790471        Electric       Gov. Aggregation
AEP - OP      00140060756437850           Electric       Gov. Aggregation   FEOH - OE     08054249940000782518        Electric       Gov. Aggregation
AEP - OP      00140060756483221           Electric       Gov. Aggregation   FEOH - TE     08054265772610090823        Electric       Gov. Aggregation
AEP - OP      00140060744693705           Electric       Gov. Aggregation   FEOH - OE     08054401400001142702        Electric       Gov. Aggregation
AEP - OP      00140060744758753           Electric       Gov. Aggregation   FEOH - OE     08054401400001142704        Electric       Gov. Aggregation
AEP - OP      00140060744850670           Electric       Gov. Aggregation   FEOH - OE     08055284280000791262        Electric       Gov. Aggregation
AEP - OP      00140060744944295           Electric       Gov. Aggregation   FEOH - OE     08055284660001042161        Electric       Gov. Aggregation
AEP - OP      00140060745116900           Electric       Gov. Aggregation   FEOH - OE     08055456910000810052        Electric       Gov. Aggregation
AEP - OP      00140060745218014           Electric       Gov. Aggregation   FEOH - OE     08055471190001130984        Electric       Gov. Aggregation
AEP - OP      00140060745420011           Electric       Gov. Aggregation   FEOH - OE     08055545560000791632        Electric       Gov. Aggregation
AEP - OP      00140060748631402           Electric       Gov. Aggregation   FEOH - OE     08055553460001129633        Electric       Gov. Aggregation
AEP - OP      00140060748754481           Electric       Gov. Aggregation   FEOH - TE     08055565242230091966        Electric       Gov. Aggregation
AEP - OP      00140060748790331           Electric       Gov. Aggregation   FEOH - OE     08039181250000804001        Electric       Gov. Aggregation
AEP - OP      00140060748849623           Electric       Gov. Aggregation   FEOH - OE     08039310000001518746        Electric       Gov. Aggregation
AEP - OP      00140060748919333           Electric       Gov. Aggregation   FEOH - TE     08039352782900005627        Electric       Gov. Aggregation
AEP - OP      00140060748951983           Electric       Gov. Aggregation   FEOH - OE     08039397640001044497        Electric       Gov. Aggregation
AEP - OP      00140060749212401           Electric       Gov. Aggregation   FEOH - OE     08039411080001515161        Electric       Gov. Aggregation
AEP - OP      00140060753911120           Electric       Gov. Aggregation   FEOH - OE     08039423740000803305        Electric       Gov. Aggregation
AEP - OP      00140060753947920           Electric       Gov. Aggregation   FEOH - OE     08039439580001131483        Electric       Gov. Aggregation
AEP - OP      00140060754035772           Electric       Gov. Aggregation   FEOH - OE     08057928430000791260        Electric       Gov. Aggregation
AEP - OP      00140060754103990           Electric       Gov. Aggregation   FEOH - OE     08057939040001504825        Electric       Gov. Aggregation
AEP - OP      00140060754130340           Electric       Gov. Aggregation   FEOH - OE     08057959705001416461        Electric       Gov. Aggregation
AEP - OP      00140060754378214           Electric       Gov. Aggregation   FEOH - OE     08058129515001293774        Electric       Gov. Aggregation
AEP - OP      00140060743904861           Electric       Gov. Aggregation   FEOH - OE     08058266340000804457        Electric       Gov. Aggregation
AEP - OP      00140060743998543           Electric       Gov. Aggregation   FEOH - OE     08058338380000803694        Electric       Gov. Aggregation
AEP - OP      00140060744025082           Electric       Gov. Aggregation   FEOH - TE     08059346302850023983        Electric       Gov. Aggregation
AEP - OP      00140060744283773           Electric       Gov. Aggregation   FEOH - OE     08059352660001130273        Electric       Gov. Aggregation
AEP - OP      00140060744352852           Electric       Gov. Aggregation   FEOH - OE     08059443210001142185        Electric       Gov. Aggregation
AEP - OP      00140060744364682           Electric       Gov. Aggregation   FEOH - OE     08059467810000804880        Electric       Gov. Aggregation
AEP - OP      00140060744395513           Electric       Gov. Aggregation   FEOH - OE     08059550260000844593        Electric       Gov. Aggregation
AEP - OP      00140060755562183           Electric       Gov. Aggregation   FEOH - OE     08059576840000803738        Electric       Gov. Aggregation
AEP - OP      00140060755610401           Electric       Gov. Aggregation   FEOH - OE     08059626630001473031        Electric       Gov. Aggregation
AEP - OP      00140060755644671           Electric       Gov. Aggregation   FEOH - OE     08059231570000803816        Electric       Gov. Aggregation
AEP - OP      00140060755876783           Electric       Gov. Aggregation   FEOH - OE     08059282180000765215        Electric       Gov. Aggregation
AEP - OP      00140060755927761           Electric       Gov. Aggregation   FEOH - OE     08059293990001127982        Electric       Gov. Aggregation
AEP - OP      00140060755965090           Electric       Gov. Aggregation   FEOH - OE     08059426400001043156        Electric       Gov. Aggregation
AEP - OP      00140060755998331           Electric       Gov. Aggregation   FEOH - OE     08059582540001370837        Electric       Gov. Aggregation
AEP - OP      00140060757925054           Electric       Gov. Aggregation   FEOH - OE     08059585510000783794        Electric       Gov. Aggregation
AEP - OP      00140060758002004           Electric       Gov. Aggregation   FEOH - OE     08059595390001491966        Electric       Gov. Aggregation
AEP - OP      00140060758006420           Electric       Gov. Aggregation   FEOH - OE     08054491710001554085        Electric       Gov. Aggregation
AEP - OP      00140060758038883           Electric       Gov. Aggregation   FEOH - OE     08054554045001372929        Electric       Gov. Aggregation
AEP - OP      00140060758147383           Electric       Gov. Aggregation   FEOH - OE     08054683620001399876        Electric       Gov. Aggregation
AEP - OP      00140060758244235           Electric       Gov. Aggregation   FEOH - OE     08054689630001045156        Electric       Gov. Aggregation
AEP - OP      00140060758246214           Electric       Gov. Aggregation   FEOH - OE     08054690590000790642        Electric       Gov. Aggregation
AEP - OP      00140060750833393           Electric       Gov. Aggregation   FEOH - OE     08054702915000300183        Electric       Gov. Aggregation
AEP - OP      00140060750883445           Electric       Gov. Aggregation   FEOH - OE     08054736260000809417        Electric       Gov. Aggregation
AEP - OP      00140060750923930           Electric       Gov. Aggregation   FEOH - OE     08039346300000766149        Electric       Gov. Aggregation
AEP - OP      00140060751007044           Electric       Gov. Aggregation   FEOH - OE     08039352985000145293        Electric       Gov. Aggregation
AEP - OP      00140060751022250           Electric       Gov. Aggregation   FEOH - OE     08039381595000359526        Electric       Gov. Aggregation
AEP - OP      00140060756507920           Electric       Gov. Aggregation   FEOH - TE     08039404362810019206        Electric       Gov. Aggregation
AEP - OP      00140060756653514           Electric       Gov. Aggregation   FEOH - TE     08039431282680021907        Electric       Gov. Aggregation
AEP - OP      00140060756683284           Electric       Gov. Aggregation   FEOH - TE     08039465332680022192        Electric       Gov. Aggregation
AEP - OP      00140060756823892           Electric       Gov. Aggregation   FEOH - OE     08039492010000789371        Electric       Gov. Aggregation
AEP - OP      00140060756881060           Electric       Gov. Aggregation   FEOH - OE     08055605340001044593        Electric       Gov. Aggregation
AEP - OP      00140060756986784           Electric       Gov. Aggregation   FEOH - OE     08055615100000803760        Electric       Gov. Aggregation
AEP - OP      00140060757021385           Electric       Gov. Aggregation   FEOH - OE     08055620380000186409        Electric       Gov. Aggregation
AEP - OP      00140060749247130           Electric       Gov. Aggregation   FEOH - OE     08055665570000790206        Electric       Gov. Aggregation
AEP - OP      00140060749251395           Electric       Gov. Aggregation   FEOH - OE     08055717080000766162        Electric       Gov. Aggregation
AEP - OP      00140060749619013           Electric       Gov. Aggregation   FEOH - TE     08055757092810018345        Electric       Gov. Aggregation
AEP - OP      00140060749741135           Electric       Gov. Aggregation   FEOH - TE     08055844292850019934        Electric       Gov. Aggregation
AEP - OP      00140060749815784           Electric       Gov. Aggregation   FEOH - OE     08039463020000587085        Electric       Gov. Aggregation
AEP - OP      00140060749839023           Electric       Gov. Aggregation   FEOH - OE     08039583020001040567        Electric       Gov. Aggregation
AEP - OP      00140060750121013           Electric       Gov. Aggregation   FEOH - OE     08039592825000366939        Electric       Gov. Aggregation
AEP - OP      00140060745521651           Electric       Gov. Aggregation   FEOH - OE     08039611670001130370        Electric       Gov. Aggregation
AEP - OP      00140060745539801           Electric       Gov. Aggregation   FEOH - OE     08039651950000790026        Electric       Gov. Aggregation
AEP - OP      00140060745612552           Electric       Gov. Aggregation   FEOH - OE     08039663060000803658        Electric       Gov. Aggregation
AEP - OP      00140060745708501           Electric       Gov. Aggregation   FEOH - OE     08039757100001130859        Electric       Gov. Aggregation
AEP - OP      00140060745843784           Electric       Gov. Aggregation   FEOH - OE     08054836460001300961        Electric       Gov. Aggregation
AEP - OP      00140060745912540           Electric       Gov. Aggregation   FEOH - TE     08054861662080027513        Electric       Gov. Aggregation
AEP - OP      00140060745942662           Electric       Gov. Aggregation   FEOH - OE     08055099900000765310        Electric       Gov. Aggregation
AEP - OP      00140060744417653           Electric       Gov. Aggregation   FEOH - TE     08055114262810018487        Electric       Gov. Aggregation
AEP - OP      00140060744592551           Electric       Gov. Aggregation   FEOH - OE     08040665670001130932        Electric       Gov. Aggregation
AEP - OP      00140060744664072           Electric       Gov. Aggregation   FEOH - OE     08040680730001407036        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060744945795           Electric       Gov. Aggregation   FEOH - OE     08040721590001418725        Electric       Gov. Aggregation
AEP - OP      00140060744994974           Electric       Gov. Aggregation   FEOH - OE     08040766220001469027        Electric       Gov. Aggregation
AEP - OP      00140060745074524           Electric       Gov. Aggregation   FEOH - OE     08040780850000792361        Electric       Gov. Aggregation
AEP - OP      00140060745144964           Electric       Gov. Aggregation   FEOH - OE     08040783990000804825        Electric       Gov. Aggregation
AEP - OP      00140060758302620           Electric       Gov. Aggregation   FEOH - OE     08058385680001458504        Electric       Gov. Aggregation
AEP - OP      00140060758416782           Electric       Gov. Aggregation   FEOH - TE     08058460992030030623        Electric       Gov. Aggregation
AEP - OP      00140060758468462           Electric       Gov. Aggregation   FEOH - OE     08058478930000762718        Electric       Gov. Aggregation
AEP - OP      00140060758494654           Electric       Gov. Aggregation   FEOH - OE     08058527400000786868        Electric       Gov. Aggregation
AEP - OP      00140060758517592           Electric       Gov. Aggregation   FEOH - OE     08058647290000778130        Electric       Gov. Aggregation
AEP - OP      00140060758549313           Electric       Gov. Aggregation   FEOH - OE     08058648880000803825        Electric       Gov. Aggregation
AEP - OP      00140060758752944           Electric       Gov. Aggregation   FEOH - OE     08058681620000790455        Electric       Gov. Aggregation
AEP - OP      00140060746004313           Electric       Gov. Aggregation   FEOH - OE     08039510590000187107        Electric       Gov. Aggregation
AEP - OP      00140060746110870           Electric       Gov. Aggregation   FEOH - TE     08039535092040001801        Electric       Gov. Aggregation
AEP - OP      00140060746219933           Electric       Gov. Aggregation   FEOH - OE     08039594030001129280        Electric       Gov. Aggregation
AEP - OP      00140060746241652           Electric       Gov. Aggregation   FEOH - OE     08039612360000803704        Electric       Gov. Aggregation
AEP - OP      00140060746517745           Electric       Gov. Aggregation   FEOH - OE     08039622735000154035        Electric       Gov. Aggregation
AEP - OP      00140060746535353           Electric       Gov. Aggregation   FEOH - OE     08039721780000187091        Electric       Gov. Aggregation
AEP - OP      00140060754392050           Electric       Gov. Aggregation   FEOH - OE     08039728390001130437        Electric       Gov. Aggregation
AEP - OP      00140060754408930           Electric       Gov. Aggregation   FEOH - OE     08055906450001425019        Electric       Gov. Aggregation
AEP - OP      00140060754635760           Electric       Gov. Aggregation   FEOH - OE     08055921910000186832        Electric       Gov. Aggregation
AEP - OP      00140060754790080           Electric       Gov. Aggregation   FEOH - OE     08055955530000803867        Electric       Gov. Aggregation
AEP - OP      00140060754866303           Electric       Gov. Aggregation   FEOH - OE     08055996540001127546        Electric       Gov. Aggregation
AEP - OP      00140060754867313           Electric       Gov. Aggregation   FEOH - OE     08055998730001318701        Electric       Gov. Aggregation
AEP - OP      00140060754985401           Electric       Gov. Aggregation   FEOH - OE     08056002170000791039        Electric       Gov. Aggregation
AEP - OP      00140060750273541           Electric       Gov. Aggregation   FEOH - TE     08056039602170012753        Electric       Gov. Aggregation
AEP - OP      00140060750408375           Electric       Gov. Aggregation   FEOH - OE     08039790450000803940        Electric       Gov. Aggregation
AEP - OP      00140060750409402           Electric       Gov. Aggregation   FEOH - OE     08039882150001142930        Electric       Gov. Aggregation
AEP - OP      00140060750425480           Electric       Gov. Aggregation   FEOH - OE     08039903640000805467        Electric       Gov. Aggregation
AEP - OP      00140060750461680           Electric       Gov. Aggregation   FEOH - OE     08039936320000187270        Electric       Gov. Aggregation
AEP - OP      00140060750469691           Electric       Gov. Aggregation   FEOH - TE     08039981712900010185        Electric       Gov. Aggregation
AEP - OP      00140060750525183           Electric       Gov. Aggregation   FEOH - OE     08039982930000778786        Electric       Gov. Aggregation
AEP - OP      00140060757028054           Electric       Gov. Aggregation   FEOH - OE     08040074990001428164        Electric       Gov. Aggregation
AEP - OP      00140060757522815           Electric       Gov. Aggregation   FEOH - OE     08055312300000778483        Electric       Gov. Aggregation
AEP - OP      00140060757675194           Electric       Gov. Aggregation   FEOH - OE     08055379920000848793        Electric       Gov. Aggregation
AEP - OP      00140060757733905           Electric       Gov. Aggregation   FEOH - OE     08055501110001127661        Electric       Gov. Aggregation
AEP - OP      00140060757997854           Electric       Gov. Aggregation   FEOH - OE     08055522525001391792        Electric       Gov. Aggregation
AEP - OP      00140060757999050           Electric       Gov. Aggregation   FEOH - TE     08055670442380032269        Electric       Gov. Aggregation
AEP - OP      00140060758111840           Electric       Gov. Aggregation   FEOH - OE     08055694450001130687        Electric       Gov. Aggregation
AEP - OP      00140060746557023           Electric       Gov. Aggregation   FEOH - OE     08055836480001492670        Electric       Gov. Aggregation
AEP - OP      00140060746563910           Electric       Gov. Aggregation   FEOH - OE     08058684390000791296        Electric       Gov. Aggregation
AEP - OP      00140060746673722           Electric       Gov. Aggregation   FEOH - OE     08058696650001131212        Electric       Gov. Aggregation
AEP - OP      00140060746715342           Electric       Gov. Aggregation   FEOH - OE     08058899700000803283        Electric       Gov. Aggregation
AEP - OP      00140060746761770           Electric       Gov. Aggregation   FEOH - OE     08058908810001128299        Electric       Gov. Aggregation
AEP - OP      00140060746873640           Electric       Gov. Aggregation   FEOH - OE     08058944660001528977        Electric       Gov. Aggregation
AEP - OP      00140060746926933           Electric       Gov. Aggregation   FEOH - OE     08058954530001143236        Electric       Gov. Aggregation
AEP - OP      00140060750547564           Electric       Gov. Aggregation   FEOH - OE     08059025515000082415        Electric       Gov. Aggregation
AEP - OP      00140060750593801           Electric       Gov. Aggregation   FEOH - OE     08039776420000187214        Electric       Gov. Aggregation
AEP - OP      00140060750629050           Electric       Gov. Aggregation   FEOH - TE     08039825392600008757        Electric       Gov. Aggregation
AEP - OP      00140060750641461           Electric       Gov. Aggregation   FEOH - OE     08039835630001128610        Electric       Gov. Aggregation
AEP - OP      00140060750649345           Electric       Gov. Aggregation   FEOH - OE     08040069480000803211        Electric       Gov. Aggregation
AEP - OP      00140060750681662           Electric       Gov. Aggregation   FEOH - OE     08040081930001041617        Electric       Gov. Aggregation
AEP - OP      00140060750845002           Electric       Gov. Aggregation   FEOH - OE     08040102780001143120        Electric       Gov. Aggregation
AEP - OP      00140060756020431           Electric       Gov. Aggregation   FEOH - OE     08040108280000803411        Electric       Gov. Aggregation
AEP - OP      00140060756072921           Electric       Gov. Aggregation   FEOH - OE     08040789360000802915        Electric       Gov. Aggregation
AEP - OP      00140060756137095           Electric       Gov. Aggregation   FEOH - OE     08040797010000778125        Electric       Gov. Aggregation
AEP - OP      00140060756234162           Electric       Gov. Aggregation   FEOH - OE     08040801600000803210        Electric       Gov. Aggregation
AEP - OP      00140060756329182           Electric       Gov. Aggregation   FEOH - OE     08040827975000259037        Electric       Gov. Aggregation
AEP - OP      00140060756407854           Electric       Gov. Aggregation   FEOH - OE     08040983180001397981        Electric       Gov. Aggregation
AEP - OP      00140060756598364           Electric       Gov. Aggregation   FEOH - OE     08040987220001044367        Electric       Gov. Aggregation
AEP - OP      00140060758823903           Electric       Gov. Aggregation   FEOH - OE     08041013135001413626        Electric       Gov. Aggregation
AEP - OP      00140060758824545           Electric       Gov. Aggregation   FEOH - OE     08056057280000778552        Electric       Gov. Aggregation
AEP - OP      00140060758840050           Electric       Gov. Aggregation   FEOH - OE     08056140380001544085        Electric       Gov. Aggregation
AEP - OP      00140060758867683           Electric       Gov. Aggregation   FEOH - OE     08056249795001377270        Electric       Gov. Aggregation
AEP - OP      00140060758871903           Electric       Gov. Aggregation   FEOH - OE     08056388930001542485        Electric       Gov. Aggregation
AEP - OP      00140060758971530           Electric       Gov. Aggregation   FEOH - OE     08056601105001371447        Electric       Gov. Aggregation
AEP - OP      00140060759067610           Electric       Gov. Aggregation   FEOH - OE     08056605460000784643        Electric       Gov. Aggregation
AEP - OP      00140060750908150           Electric       Gov. Aggregation   FEOH - OE     08056750340001129046        Electric       Gov. Aggregation
AEP - OP      00140060750977033           Electric       Gov. Aggregation   FEOH - TE     08040245242900003406        Electric       Gov. Aggregation
AEP - OP      00140060751068393           Electric       Gov. Aggregation   FEOH - OE     08040317450001310353        Electric       Gov. Aggregation
AEP - OP      00140060751126592           Electric       Gov. Aggregation   FEOH - OE     08040341200001129026        Electric       Gov. Aggregation
AEP - OP      00140060751152840           Electric       Gov. Aggregation   FEOH - TE     08040344562680023142        Electric       Gov. Aggregation
AEP - OP      00140060751211182           Electric       Gov. Aggregation   FEOH - OE     08040351810001331312        Electric       Gov. Aggregation
AEP - OP      00140060751250530           Electric       Gov. Aggregation   FEOH - OE     08040403360001041862        Electric       Gov. Aggregation
AEP - OP      00140060758402843           Electric       Gov. Aggregation   FEOH - OE     08055909690001362734        Electric       Gov. Aggregation
AEP - OP      00140060758445790           Electric       Gov. Aggregation   FEOH - OE     08056023890000584109        Electric       Gov. Aggregation
AEP - OP      00140060758447445           Electric       Gov. Aggregation   FEOH - OE     08056069410000844723        Electric       Gov. Aggregation
AEP - OP      00140060758460745           Electric       Gov. Aggregation   FEOH - OE     08056070420001131144        Electric       Gov. Aggregation
AEP - OP      00140060758470334           Electric       Gov. Aggregation   FEOH - OE     08056125175001390980        Electric       Gov. Aggregation
AEP - OP      00140060758488985           Electric       Gov. Aggregation   FEOH - OE     08056154690001550366        Electric       Gov. Aggregation
AEP - OP      00140060758552411           Electric       Gov. Aggregation   FEOH - OE     08056170905001399815        Electric       Gov. Aggregation
AEP - OP      00140060745158793           Electric       Gov. Aggregation   FEOH - OE     08059032730001041401        Electric       Gov. Aggregation
AEP - OP      00140060745201433           Electric       Gov. Aggregation   FEOH - OE     08059056900001129085        Electric       Gov. Aggregation
AEP - OP      00140060745237493           Electric       Gov. Aggregation   FEOH - OE     08059066855000074201        Electric       Gov. Aggregation
AEP - OP      00140060745296031           Electric       Gov. Aggregation   FEOH - OE     08059125760001130890        Electric       Gov. Aggregation
AEP - OP      00140060745374184           Electric       Gov. Aggregation   FEOH - OE     08059200820000187061        Electric       Gov. Aggregation
AEP - OP      00140060745416271           Electric       Gov. Aggregation   FEOH - OE     08059256835001494212        Electric       Gov. Aggregation
AEP - OP      00140060745432285           Electric       Gov. Aggregation   FEOH - OE     08059300640001044537        Electric       Gov. Aggregation
AEP - OP      00140060755011553           Electric       Gov. Aggregation   FEOH - OE     08040150870001514178        Electric       Gov. Aggregation
AEP - OP      00140060755013722           Electric       Gov. Aggregation   FEOH - OE     08040220560000790684        Electric       Gov. Aggregation
AEP - OP      00140060755042782           Electric       Gov. Aggregation   FEOH - OE     08040249950000791253        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060755113624           Electric       Gov. Aggregation   FEOH - OE     08040342450000789333        Electric       Gov. Aggregation
AEP - OP      00140060755115860           Electric       Gov. Aggregation   FEOH - OE     08040373895000161983        Electric       Gov. Aggregation
AEP - OP      00140060755392871           Electric       Gov. Aggregation   FEOH - OE     08040404960001131055        Electric       Gov. Aggregation
AEP - OP      00140060755409954           Electric       Gov. Aggregation   FEOH - OE     08056908230000844591        Electric       Gov. Aggregation
AEP - OP      00140060755419700           Electric       Gov. Aggregation   FEOH - OE     08056933310000786517        Electric       Gov. Aggregation
AEP - OP      00140060755493915           Electric       Gov. Aggregation   FEOH - OE     08056951480000765686        Electric       Gov. Aggregation
AEP - OP      00140060755731883           Electric       Gov. Aggregation   FEOH - OE     08057026200001509222        Electric       Gov. Aggregation
AEP - OP      00140060755785460           Electric       Gov. Aggregation   FEOH - OE     08057026950000790208        Electric       Gov. Aggregation
AEP - OP      00140060755827321           Electric       Gov. Aggregation   FEOH - OE     08057033770001128453        Electric       Gov. Aggregation
AEP - OP      00140060759157982           Electric       Gov. Aggregation   FEOH - OE     08057137780000791226        Electric       Gov. Aggregation
AEP - OP      00140060759173075           Electric       Gov. Aggregation   FEOH - OE     08040457330001419180        Electric       Gov. Aggregation
AEP - OP      00140060759183611           Electric       Gov. Aggregation   FEOH - TE     08040459192850019794        Electric       Gov. Aggregation
AEP - OP      00140060759213995           Electric       Gov. Aggregation   FEOH - OE     08040511190001040514        Electric       Gov. Aggregation
AEP - OP      00140060759220722           Electric       Gov. Aggregation   FEOH - OE     08040545750001130436        Electric       Gov. Aggregation
AEP - OP      00140060759390572           Electric       Gov. Aggregation   FEOH - OE     08040577340000789271        Electric       Gov. Aggregation
AEP - OP      00140060759417170           Electric       Gov. Aggregation   FEOH - OE     08040718110001407282        Electric       Gov. Aggregation
AEP - OP      00140060756706324           Electric       Gov. Aggregation   FEOH - TE     08059318002300030442        Electric       Gov. Aggregation
AEP - OP      00140060756759582           Electric       Gov. Aggregation   FEOH - OE     08059370250000844565        Electric       Gov. Aggregation
AEP - OP      00140060756771123           Electric       Gov. Aggregation   FEOH - OE     08059458140000766120        Electric       Gov. Aggregation
AEP - OP      00140060756796011           Electric       Gov. Aggregation   FEOH - OE     08059501270001142891        Electric       Gov. Aggregation
AEP - OP      00140060756862794           Electric       Gov. Aggregation   FEOH - OE     08059519810001128942        Electric       Gov. Aggregation
AEP - OP      00140060756948292           Electric       Gov. Aggregation   FEOH - OE     08059755160001129911        Electric       Gov. Aggregation
AEP - OP      00140060757041070           Electric       Gov. Aggregation   FEOH - OE     08059766650001570087        Electric       Gov. Aggregation
AEP - OP      00140060751028144           Electric       Gov. Aggregation   FEOH - OE     08040458690000177881        Electric       Gov. Aggregation
AEP - OP      00140060751099284           Electric       Gov. Aggregation   FEOH - OE     08040522710000791008        Electric       Gov. Aggregation
AEP - OP      00140060751185372           Electric       Gov. Aggregation   FEOH - OE     08040526910001128514        Electric       Gov. Aggregation
AEP - OP      00140060751235234           Electric       Gov. Aggregation   FEOH - OE     08040547350000806112        Electric       Gov. Aggregation
AEP - OP      00140060751484642           Electric       Gov. Aggregation   FEOH - OE     08040611930001127792        Electric       Gov. Aggregation
AEP - OP      00140060751498642           Electric       Gov. Aggregation   FEOH - OE     08040661730000844868        Electric       Gov. Aggregation
AEP - OP      00140060751509035           Electric       Gov. Aggregation   FEOH - OE     08040707980001128929        Electric       Gov. Aggregation
AEP - OP      00140060751287310           Electric       Gov. Aggregation   FEOH - OE     08056199250000810170        Electric       Gov. Aggregation
AEP - OP      00140060751342215           Electric       Gov. Aggregation   FEOH - OE     08056278410001376626        Electric       Gov. Aggregation
AEP - OP      00140060751367020           Electric       Gov. Aggregation   FEOH - OE     08056409470001130037        Electric       Gov. Aggregation
AEP - OP      00140060751452772           Electric       Gov. Aggregation   FEOH - OE     08056425510000803872        Electric       Gov. Aggregation
AEP - OP      00140060751483472           Electric       Gov. Aggregation   FEOH - OE     08056442230001044526        Electric       Gov. Aggregation
AEP - OP      00140060751520850           Electric       Gov. Aggregation   FEOH - OE     08056451920000791000        Electric       Gov. Aggregation
AEP - OP      00140060751575823           Electric       Gov. Aggregation   FEOH - TE     08056470482080027405        Electric       Gov. Aggregation
AEP - OP      00140060758616905           Electric       Gov. Aggregation   FEOH - OE     08041056160000187125        Electric       Gov. Aggregation
AEP - OP      00140060758661932           Electric       Gov. Aggregation   FEOH - OE     08041075020000782729        Electric       Gov. Aggregation
AEP - OP      00140060758692724           Electric       Gov. Aggregation   FEOH - OE     08041090985001370291        Electric       Gov. Aggregation
AEP - OP      00140060758802124           Electric       Gov. Aggregation   FEOH - OE     08041101710001520828        Electric       Gov. Aggregation
AEP - OP      00140060758848431           Electric       Gov. Aggregation   FEOH - TE     08041103042010094237        Electric       Gov. Aggregation
AEP - OP      00140060759099233           Electric       Gov. Aggregation   FEOH - OE     08041185650000804256        Electric       Gov. Aggregation
AEP - OP      00140060759159395           Electric       Gov. Aggregation   FEOH - TE     08041205602380031336        Electric       Gov. Aggregation
AEP - OP      00140060745439425           Electric       Gov. Aggregation   FEOH - OE     08057161750000805527        Electric       Gov. Aggregation
AEP - OP      00140060745467492           Electric       Gov. Aggregation   FEOH - OE     08057381490000778539        Electric       Gov. Aggregation
AEP - OP      00140060745609724           Electric       Gov. Aggregation   FEOH - OE     08057386970000790788        Electric       Gov. Aggregation
AEP - OP      00140060745653493           Electric       Gov. Aggregation   FEOH - OE     08057403940001544081        Electric       Gov. Aggregation
AEP - OP      00140060745661113           Electric       Gov. Aggregation   FEOH - TE     08057434312680022365        Electric       Gov. Aggregation
AEP - OP      00140060745681515           Electric       Gov. Aggregation   FEOH - OE     08040739400001129455        Electric       Gov. Aggregation
AEP - OP      00140060745733970           Electric       Gov. Aggregation   FEOH - OE     08040812770000803874        Electric       Gov. Aggregation
AEP - OP      00140060755867540           Electric       Gov. Aggregation   FEOH - OE     08040826995001389659        Electric       Gov. Aggregation
AEP - OP      00140060755918531           Electric       Gov. Aggregation   FEOH - OE     08040827975000143256        Electric       Gov. Aggregation
AEP - OP      00140060756150971           Electric       Gov. Aggregation   FEOH - OE     08040833510001553872        Electric       Gov. Aggregation
AEP - OP      00140060756203544           Electric       Gov. Aggregation   FEOH - OE     08040912150000770525        Electric       Gov. Aggregation
AEP - OP      00140060756221014           Electric       Gov. Aggregation   FEOH - OE     08040941350001563487        Electric       Gov. Aggregation
AEP - OP      00140060756502595           Electric       Gov. Aggregation   FEOH - OE     08056472030001129848        Electric       Gov. Aggregation
AEP - OP      00140060751667623           Electric       Gov. Aggregation   FEOH - TE     08056486352080022718        Electric       Gov. Aggregation
AEP - OP      00140060751682774           Electric       Gov. Aggregation   FEOH - OE     08056504050001127594        Electric       Gov. Aggregation
AEP - OP      00140060751724074           Electric       Gov. Aggregation   FEOH - TE     08056584125001385911        Electric       Gov. Aggregation
AEP - OP      00140060751745291           Electric       Gov. Aggregation   FEOH - OE     08056632790000788934        Electric       Gov. Aggregation
AEP - OP      00140060751852723           Electric       Gov. Aggregation   FEOH - OE     08056821450001130883        Electric       Gov. Aggregation
AEP - OP      00140060751861262           Electric       Gov. Aggregation   FEOH - TE     08056867002380027378        Electric       Gov. Aggregation
AEP - OP      00140060751648932           Electric       Gov. Aggregation   FEOH - OE     08040722990000790488        Electric       Gov. Aggregation
AEP - OP      00140060751749081           Electric       Gov. Aggregation   FEOH - OE     08040885080000844463        Electric       Gov. Aggregation
AEP - OP      00140060751784084           Electric       Gov. Aggregation   FEOH - OE     08040912865000068995        Electric       Gov. Aggregation
AEP - OP      00140060751834961           Electric       Gov. Aggregation   FEOH - TE     08040916312390000858        Electric       Gov. Aggregation
AEP - OP      00140060751860581           Electric       Gov. Aggregation   FEOH - TE     08040935862850021781        Electric       Gov. Aggregation
AEP - OP      00140060752080290           Electric       Gov. Aggregation   FEOH - OE     08040972185000386682        Electric       Gov. Aggregation
AEP - OP      00140060752104094           Electric       Gov. Aggregation   FEOH - OE     08041001600001376130        Electric       Gov. Aggregation
AEP - OP      00140060756824421           Electric       Gov. Aggregation   FEOH - OE     08040980640000786465        Electric       Gov. Aggregation
AEP - OP      00140060757011213           Electric       Gov. Aggregation   FEOH - OE     08041052630000778476        Electric       Gov. Aggregation
AEP - OP      00140060757040574           Electric       Gov. Aggregation   FEOH - OE     08041062800001127979        Electric       Gov. Aggregation
AEP - OP      00140060757090081           Electric       Gov. Aggregation   FEOH - OE     08041227110001505021        Electric       Gov. Aggregation
AEP - OP      00140060757090263           Electric       Gov. Aggregation   FEOH - TE     08041274432210012919        Electric       Gov. Aggregation
AEP - OP      00140060757164060           Electric       Gov. Aggregation   FEOH - TE     08050008912080022883        Electric       Gov. Aggregation
AEP - OP      00140060757176990           Electric       Gov. Aggregation   FEOH - OE     08050049220000790712        Electric       Gov. Aggregation
AEP - OP      00140060759498245           Electric       Gov. Aggregation   FEOH - OE     08057485780000786296        Electric       Gov. Aggregation
AEP - OP      00140060759541100           Electric       Gov. Aggregation   FEOH - OE     08057542370000804973        Electric       Gov. Aggregation
AEP - OP      00140060759631044           Electric       Gov. Aggregation   FEOH - OE     08057576000001312316        Electric       Gov. Aggregation
AEP - OP      00140060759724685           Electric       Gov. Aggregation   FEOH - OE     08057726750000848789        Electric       Gov. Aggregation
AEP - OP      00140060759758574           Electric       Gov. Aggregation   FEOH - TE     08057963722040000565        Electric       Gov. Aggregation
AEP - OP      00140060759762330           Electric       Gov. Aggregation   FEOH - TE     08057969242080028198        Electric       Gov. Aggregation
AEP - OP      00140060759810183           Electric       Gov. Aggregation   FEOH - OE     08058063990001043113        Electric       Gov. Aggregation
AEP - OP      00140060757164345           Electric       Gov. Aggregation   FEOH - OE     08056921640000789323        Electric       Gov. Aggregation
AEP - OP      00140060757172310           Electric       Gov. Aggregation   FEOH - OE     08057084870000844686        Electric       Gov. Aggregation
AEP - OP      00140060757244124           Electric       Gov. Aggregation   FEOH - OE     08057325960000791629        Electric       Gov. Aggregation
AEP - OP      00140060757285340           Electric       Gov. Aggregation   FEOH - OE     08057362760000764587        Electric       Gov. Aggregation
AEP - OP      00140060757381664           Electric       Gov. Aggregation   FEOH - OE     08057392660000178963        Electric       Gov. Aggregation
AEP - OP      00140060757471770           Electric       Gov. Aggregation   FEOH - OE     08057426010000784652        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060757509664           Electric       Gov. Aggregation   FEOH - OE     08057428050000803512        Electric       Gov. Aggregation
AEP - OP      00140060760121174           Electric       Gov. Aggregation   FEOH - TE     08041216975000183756        Electric       Gov. Aggregation
AEP - OP      00140060760247373           Electric       Gov. Aggregation   FEOH - OE     08041271730000762720        Electric       Gov. Aggregation
AEP - OP      00140060760356245           Electric       Gov. Aggregation   FEOH - OE     08050176870001041716        Electric       Gov. Aggregation
AEP - OP      00140060760492564           Electric       Gov. Aggregation   FEOH - TE     08050328842770021249        Electric       Gov. Aggregation
AEP - OP      00140060760713214           Electric       Gov. Aggregation   FEOH - OE     08050389060000805412        Electric       Gov. Aggregation
AEP - OP      00140060759193914           Electric       Gov. Aggregation   FEOH - TE     08050449655001283902        Electric       Gov. Aggregation
AEP - OP      00140060759319585           Electric       Gov. Aggregation   FEOH - OE     08041026130001127613        Electric       Gov. Aggregation
AEP - OP      00140060759356910           Electric       Gov. Aggregation   FEOH - OE     08041058690000803736        Electric       Gov. Aggregation
AEP - OP      00140060759364905           Electric       Gov. Aggregation   FEOH - OE     08041078930000803155        Electric       Gov. Aggregation
AEP - OP      00140060759516272           Electric       Gov. Aggregation   FEOH - OE     08041078930000804960        Electric       Gov. Aggregation
AEP - OP      00140060759534603           Electric       Gov. Aggregation   FEOH - OE     08041126480000809422        Electric       Gov. Aggregation
AEP - OP      00140060759544620           Electric       Gov. Aggregation   FEOH - OE     08041217440001130827        Electric       Gov. Aggregation
AEP - OP      00140060745762653           Electric       Gov. Aggregation   FEOH - OE     08049781580000604153        Electric       Gov. Aggregation
AEP - OP      00140060745866030           Electric       Gov. Aggregation   FEOH - OE     08050145310000784283        Electric       Gov. Aggregation
AEP - OP      00140060745869260           Electric       Gov. Aggregation   FEOH - OE     08050202840001045386        Electric       Gov. Aggregation
AEP - OP      00140060745893324           Electric       Gov. Aggregation   FEOH - TE     08050206562300026798        Electric       Gov. Aggregation
AEP - OP      00140060745932680           Electric       Gov. Aggregation   FEOH - OE     08050273210001351361        Electric       Gov. Aggregation
AEP - OP      00140060745954572           Electric       Gov. Aggregation   FEOH - OE     08050335030000804843        Electric       Gov. Aggregation
AEP - OP      00140060746064543           Electric       Gov. Aggregation   FEOH - OE     08050422980000792621        Electric       Gov. Aggregation
AEP - OP      00140060751873652           Electric       Gov. Aggregation   FEOH - OE     08050444830001484480        Electric       Gov. Aggregation
AEP - OP      00140060751887361           Electric       Gov. Aggregation   FEOH - OE     08058066930000187113        Electric       Gov. Aggregation
AEP - OP      00140060751981674           Electric       Gov. Aggregation   FEOH - TE     08058122352210013269        Electric       Gov. Aggregation
AEP - OP      00140060751987693           Electric       Gov. Aggregation   FEOH - OE     08058250500000790985        Electric       Gov. Aggregation
AEP - OP      00140060752220295           Electric       Gov. Aggregation   FEOH - OE     08058256430000804073        Electric       Gov. Aggregation
AEP - OP      00140060752296561           Electric       Gov. Aggregation   FEOH - OE     08058256800000803997        Electric       Gov. Aggregation
AEP - OP      00140060752145210           Electric       Gov. Aggregation   FEOH - OE     08058279420000786373        Electric       Gov. Aggregation
AEP - OP      00140060752175422           Electric       Gov. Aggregation   FEOH - OE     08057453675000223745        Electric       Gov. Aggregation
AEP - OP      00140060752222872           Electric       Gov. Aggregation   FEOH - OE     08057548410000844697        Electric       Gov. Aggregation
AEP - OP      00140060752312795           Electric       Gov. Aggregation   FEOH - TE     08057819262480091572        Electric       Gov. Aggregation
AEP - OP      00140060752416130           Electric       Gov. Aggregation   FEOH - OE     08057881720001558554        Electric       Gov. Aggregation
AEP - OP      00140060752483570           Electric       Gov. Aggregation   FEOH - OE     08057958435001360384        Electric       Gov. Aggregation
AEP - OP      00140060757284623           Electric       Gov. Aggregation   FEOH - TE     08049838712390001391        Electric       Gov. Aggregation
AEP - OP      00140060757404860           Electric       Gov. Aggregation   FEOH - OE     08049853070001130313        Electric       Gov. Aggregation
AEP - OP      00140060757444414           Electric       Gov. Aggregation   FEOH - OE     08049888090000844499        Electric       Gov. Aggregation
AEP - OP      00140060757491794           Electric       Gov. Aggregation   FEOH - TE     08049925802770013295        Electric       Gov. Aggregation
AEP - OP      00140060757585002           Electric       Gov. Aggregation   FEOH - OE     08049940590000792190        Electric       Gov. Aggregation
AEP - OP      00140060757656283           Electric       Gov. Aggregation   FEOH - TE     08050003732680022187        Electric       Gov. Aggregation
AEP - OP      00140060757810771           Electric       Gov. Aggregation   FEOH - OE     08050017520000186467        Electric       Gov. Aggregation
AEP - OP      00140060757621505           Electric       Gov. Aggregation   FEOH - OE     08050454290001407639        Electric       Gov. Aggregation
AEP - OP      00140060757705233           Electric       Gov. Aggregation   FEOH - OE     08050700860001461059        Electric       Gov. Aggregation
AEP - OP      00140060757793500           Electric       Gov. Aggregation   FEOH - TE     08050729002300029673        Electric       Gov. Aggregation
AEP - OP      00140060758190200           Electric       Gov. Aggregation   FEOH - OE     08050798000001466131        Electric       Gov. Aggregation
AEP - OP      00140060758292810           Electric       Gov. Aggregation   FEOH - OE     08050827900001128927        Electric       Gov. Aggregation
AEP - OP      00140060758358244           Electric       Gov. Aggregation   FEOH - OE     08050889540000844782        Electric       Gov. Aggregation
AEP - OP      00140060758482420           Electric       Gov. Aggregation   FEOH - OE     08058413300000791614        Electric       Gov. Aggregation
AEP - OP      00140060746979674           Electric       Gov. Aggregation   FEOH - TE     08058471542390001194        Electric       Gov. Aggregation
AEP - OP      00140060747044700           Electric       Gov. Aggregation   FEOH - OE     08058494530000844470        Electric       Gov. Aggregation
AEP - OP      00140060747088584           Electric       Gov. Aggregation   FEOH - OE     08058532260000762711        Electric       Gov. Aggregation
AEP - OP      00140060747228203           Electric       Gov. Aggregation   FEOH - OE     08058565885000018932        Electric       Gov. Aggregation
AEP - OP      00140060747287775           Electric       Gov. Aggregation   FEOH - TE     08057966162300026515        Electric       Gov. Aggregation
AEP - OP      00140060747291352           Electric       Gov. Aggregation   FEOH - OE     08058002265000080614        Electric       Gov. Aggregation
AEP - OP      00140060747399133           Electric       Gov. Aggregation   FEOH - OE     08058004530001468010        Electric       Gov. Aggregation
AEP - OP      00140060760806802           Electric       Gov. Aggregation   FEOH - TE     08058072602680018833        Electric       Gov. Aggregation
AEP - OP      00140060760838430           Electric       Gov. Aggregation   FEOH - OE     08058082860000778208        Electric       Gov. Aggregation
AEP - OP      00140060760932912           Electric       Gov. Aggregation   FEOH - OE     08058160000000592333        Electric       Gov. Aggregation
AEP - OP      00140060760943600           Electric       Gov. Aggregation   FEOH - TE     08058398802760092184        Electric       Gov. Aggregation
AEP - OP      00140060761078894           Electric       Gov. Aggregation   FEOH - OE     08050048560000791099        Electric       Gov. Aggregation
AEP - OP      00140060761143135           Electric       Gov. Aggregation   FEOH - OE     08050175740000782497        Electric       Gov. Aggregation
AEP - OP      00140060761162140           Electric       Gov. Aggregation   FEOH - OE     08050425240000803643        Electric       Gov. Aggregation
AEP - OP      00140060759673683           Electric       Gov. Aggregation   FEOH - OE     08050481580000844841        Electric       Gov. Aggregation
AEP - OP      00140060759912843           Electric       Gov. Aggregation   FEOH - OE     08050530400000778614        Electric       Gov. Aggregation
AEP - OP      00140060760059384           Electric       Gov. Aggregation   FEOH - OE     08050584400001447146        Electric       Gov. Aggregation
AEP - OP      00140060760083161           Electric       Gov. Aggregation   FEOH - OE     08050603840001457559        Electric       Gov. Aggregation
AEP - OP      00140060760224341           Electric       Gov. Aggregation   FEOH - OE     08050482095000371093        Electric       Gov. Aggregation
AEP - OP      00140060760350322           Electric       Gov. Aggregation   FEOH - OE     08050620440000782584        Electric       Gov. Aggregation
AEP - OP      00140060760388622           Electric       Gov. Aggregation   FEOH - OE     08050693300001431601        Electric       Gov. Aggregation
AEP - OP      00140060746167070           Electric       Gov. Aggregation   FEOH - OE     08050705950000592311        Electric       Gov. Aggregation
AEP - OP      00140060746280001           Electric       Gov. Aggregation   FEOH - TE     08050746102640021062        Electric       Gov. Aggregation
AEP - OP      00140060746325341           Electric       Gov. Aggregation   FEOH - OE     08050826190000782551        Electric       Gov. Aggregation
AEP - OP      00140060746360292           Electric       Gov. Aggregation   FEOH - OE     08050957430000788789        Electric       Gov. Aggregation
AEP - OP      00140060746448075           Electric       Gov. Aggregation   FEOH - OE     08051001140000789098        Electric       Gov. Aggregation
AEP - OP      00140060746500630           Electric       Gov. Aggregation   FEOH - OE     08051007310001553562        Electric       Gov. Aggregation
AEP - OP      00140060752329285           Electric       Gov. Aggregation   FEOH - OE     08051023910000844850        Electric       Gov. Aggregation
AEP - OP      00140060752334062           Electric       Gov. Aggregation   FEOH - OE     08051024860000791152        Electric       Gov. Aggregation
AEP - OP      00140060752336493           Electric       Gov. Aggregation   FEOH - OE     08051053100000762715        Electric       Gov. Aggregation
AEP - OP      00140060752338765           Electric       Gov. Aggregation   FEOH - OE     08051113920001046548        Electric       Gov. Aggregation
AEP - OP      00140060752348865           Electric       Gov. Aggregation   FEOH - OE     08058604850001130518        Electric       Gov. Aggregation
AEP - OP      00140060752405183           Electric       Gov. Aggregation   FEOH - OE     08058620935001469157        Electric       Gov. Aggregation
AEP - OP      00140060752649783           Electric       Gov. Aggregation   FEOH - OE     08058671670001127980        Electric       Gov. Aggregation
AEP - OP      00140060752683060           Electric       Gov. Aggregation   FEOH - OE     08058714130000803869        Electric       Gov. Aggregation
AEP - OP      00140060752708904           Electric       Gov. Aggregation   FEOH - OE     08058721970001347792        Electric       Gov. Aggregation
AEP - OP      00140060752891582           Electric       Gov. Aggregation   FEOH - OE     08058772410000841396        Electric       Gov. Aggregation
AEP - OP      00140060752960805           Electric       Gov. Aggregation   FEOH - OE     08058422670000848784        Electric       Gov. Aggregation
AEP - OP      00140060752970480           Electric       Gov. Aggregation   FEOH - OE     08058550410001130587        Electric       Gov. Aggregation
AEP - OP      00140060753062544           Electric       Gov. Aggregation   FEOH - OE     08058565880001396009        Electric       Gov. Aggregation
AEP - OP      00140060753099584           Electric       Gov. Aggregation   FEOH - OE     08058590640001130329        Electric       Gov. Aggregation
AEP - OP      00140060757828204           Electric       Gov. Aggregation   FEOH - OE     08058631660001462930        Electric       Gov. Aggregation
AEP - OP      00140060757889693           Electric       Gov. Aggregation   FEOH - OE     08058711875001283478        Electric       Gov. Aggregation
AEP - OP      00140060757946334           Electric       Gov. Aggregation   FEOH - OE     08050771980000776810        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060758033395           Electric       Gov. Aggregation   FEOH - OE     08050887940000790399        Electric       Gov. Aggregation
AEP - OP      00140060758116524           Electric       Gov. Aggregation   FEOH - OE     08050891800000790443        Electric       Gov. Aggregation
AEP - OP      00140060758176833           Electric       Gov. Aggregation   FEOH - OE     08050896130000789092        Electric       Gov. Aggregation
AEP - OP      00140060758201994           Electric       Gov. Aggregation   FEOH - OE     08050924020001129315        Electric       Gov. Aggregation
AEP - OP      00140060758517660           Electric       Gov. Aggregation   FEOH - OE     08050945360000809409        Electric       Gov. Aggregation
AEP - OP      00140060758534805           Electric       Gov. Aggregation   FEOH - OE     08051146680001045738        Electric       Gov. Aggregation
AEP - OP      00140060758553591           Electric       Gov. Aggregation   FEOH - OE     08051137290000765259        Electric       Gov. Aggregation
AEP - OP      00140060758557862           Electric       Gov. Aggregation   FEOH - OE     08051158130001043604        Electric       Gov. Aggregation
AEP - OP      00140060758688972           Electric       Gov. Aggregation   FEOH - OE     08051257985001306617        Electric       Gov. Aggregation
AEP - OP      00140060758711611           Electric       Gov. Aggregation   FEOH - OE     08051299630000848861        Electric       Gov. Aggregation
AEP - OP      00140060758822711           Electric       Gov. Aggregation   FEOH - OE     08051370270001453894        Electric       Gov. Aggregation
AEP - OP      00140060747434173           Electric       Gov. Aggregation   FEOH - OE     08059119560001142739        Electric       Gov. Aggregation
AEP - OP      00140060747466971           Electric       Gov. Aggregation   FEOH - OE     08059139830000792709        Electric       Gov. Aggregation
AEP - OP      00140060747553954           Electric       Gov. Aggregation   FEOH - TE     08059140452300031177        Electric       Gov. Aggregation
AEP - OP      00140060747686202           Electric       Gov. Aggregation   FEOH - OE     08059151490001131389        Electric       Gov. Aggregation
AEP - OP      00140060747721383           Electric       Gov. Aggregation   FEOH - TE     08059152012390001476        Electric       Gov. Aggregation
AEP - OP      00140060747740322           Electric       Gov. Aggregation   FEOH - OE     08050889540001585971        Electric       Gov. Aggregation
AEP - OP      00140060747767271           Electric       Gov. Aggregation   FEOH - OE     08050985080000766216        Electric       Gov. Aggregation
AEP - OP      00140060761309113           Electric       Gov. Aggregation   FEOH - OE     08051066920001143219        Electric       Gov. Aggregation
AEP - OP      00140060761475343           Electric       Gov. Aggregation   FEOH - OE     08051113455000378144        Electric       Gov. Aggregation
AEP - OP      00140060761485760           Electric       Gov. Aggregation   FEOH - OE     08051153860001041997        Electric       Gov. Aggregation
AEP - OP      00140060761533082           Electric       Gov. Aggregation   FEOH - OE     08051188240001343997        Electric       Gov. Aggregation
AEP - OP      00140060761535851           Electric       Gov. Aggregation   FEOH - OE     08058917860000168239        Electric       Gov. Aggregation
AEP - OP      00140060761569374           Electric       Gov. Aggregation   FEOH - OE     08058939250000790358        Electric       Gov. Aggregation
AEP - OP      00140060761614272           Electric       Gov. Aggregation   FEOH - OE     08058959870000784448        Electric       Gov. Aggregation
AEP - OP      00140060752685551           Electric       Gov. Aggregation   FEOH - OE     08058997380000844518        Electric       Gov. Aggregation
AEP - OP      00140060752712844           Electric       Gov. Aggregation   FEOH - TE     08059003442100092917        Electric       Gov. Aggregation
AEP - OP      00140060752844095           Electric       Gov. Aggregation   FEOH - OE     08059010680000765977        Electric       Gov. Aggregation
AEP - OP      00140060752939280           Electric       Gov. Aggregation   FEOH - OE     08059023880000778863        Electric       Gov. Aggregation
AEP - OP      00140060753072052           Electric       Gov. Aggregation   FEOH - OE     08059641130001131461        Electric       Gov. Aggregation
AEP - OP      00140060753113093           Electric       Gov. Aggregation   FEOH - OE     08059717210001130701        Electric       Gov. Aggregation
AEP - OP      00140060753180232           Electric       Gov. Aggregation   FEOH - OE     08059812490001127668        Electric       Gov. Aggregation
AEP - OP      00140060760555255           Electric       Gov. Aggregation   FEOH - OE     08059906260001128327        Electric       Gov. Aggregation
AEP - OP      00140060760654893           Electric       Gov. Aggregation   FEOH - OE     08059968120000592334        Electric       Gov. Aggregation
AEP - OP      00140060760734712           Electric       Gov. Aggregation   FEOH - OE     08059773590000782721        Electric       Gov. Aggregation
AEP - OP      00140060760740180           Electric       Gov. Aggregation   FEOH - OE     08059798340000802921        Electric       Gov. Aggregation
AEP - OP      00140060760808655           Electric       Gov. Aggregation   FEOH - OE     08059809245001483777        Electric       Gov. Aggregation
AEP - OP      00140060760847572           Electric       Gov. Aggregation   FEOH - OE     08059819915001461771        Electric       Gov. Aggregation
AEP - OP      00140060760988710           Electric       Gov. Aggregation   FEOH - OE     08059848755000227874        Electric       Gov. Aggregation
AEP - OP      00140060746547950           Electric       Gov. Aggregation   FEOH - OE     08059885030000841309        Electric       Gov. Aggregation
AEP - OP      00140060746598594           Electric       Gov. Aggregation   FEOH - OE     08059885790000762740        Electric       Gov. Aggregation
AEP - OP      00140060746787160           Electric       Gov. Aggregation   FEOH - OE     08059650670001130245        Electric       Gov. Aggregation
AEP - OP      00140060746883790           Electric       Gov. Aggregation   FEOH - TE     08059654722170012857        Electric       Gov. Aggregation
AEP - OP      00140060746928235           Electric       Gov. Aggregation   FEOH - OE     08059681700000786340        Electric       Gov. Aggregation
AEP - OP      00140060747000171           Electric       Gov. Aggregation   FEOH - OE     08059724635001493911        Electric       Gov. Aggregation
AEP - OP      00140060758298295           Electric       Gov. Aggregation   FEOH - OE     08059726430001414879        Electric       Gov. Aggregation
AEP - OP      00140060758359230           Electric       Gov. Aggregation   FEOH - OE     08059787950000804391        Electric       Gov. Aggregation
AEP - OP      00140060758388973           Electric       Gov. Aggregation   FEOH - OE     08059862120001475684        Electric       Gov. Aggregation
AEP - OP      00140060758436335           Electric       Gov. Aggregation   FEOH - OE     08051175600001041651        Electric       Gov. Aggregation
AEP - OP      00140060758540914           Electric       Gov. Aggregation   FEOH - OE     08051200110001042864        Electric       Gov. Aggregation
AEP - OP      00140060758750585           Electric       Gov. Aggregation   FEOH - OE     08051338910000784479        Electric       Gov. Aggregation
AEP - OP      00140060758848711           Electric       Gov. Aggregation   FEOH - OE     08051365130001127685        Electric       Gov. Aggregation
AEP - OP      00140060758895114           Electric       Gov. Aggregation   FEOH - OE     08051403610001130524        Electric       Gov. Aggregation
AEP - OP      00140060758916550           Electric       Gov. Aggregation   FEOH - OE     08051436390000841250        Electric       Gov. Aggregation
AEP - OP      00140060759004425           Electric       Gov. Aggregation   FEOH - OE     08051489100001129449        Electric       Gov. Aggregation
AEP - OP      00140060759184860           Electric       Gov. Aggregation   FEOH - OE     08051543340000780047        Electric       Gov. Aggregation
AEP - OP      00140060759237815           Electric       Gov. Aggregation   FEOH - OE     08051552670001143194        Electric       Gov. Aggregation
AEP - OP      00140060747770823           Electric       Gov. Aggregation   FEOH - OE     08051560940001042135        Electric       Gov. Aggregation
AEP - OP      00140060747782535           Electric       Gov. Aggregation   FEOH - OE     08051562010001040571        Electric       Gov. Aggregation
AEP - OP      00140060747850433           Electric       Gov. Aggregation   FEOH - OE     08051618310000791734        Electric       Gov. Aggregation
AEP - OP      00140060747875855           Electric       Gov. Aggregation   FEOH - TE     08051684652900008639        Electric       Gov. Aggregation
AEP - OP      00140060747907864           Electric       Gov. Aggregation   FEOH - OE     08051687970001128654        Electric       Gov. Aggregation
AEP - OP      00140060747912582           Electric       Gov. Aggregation   FEOH - OE     08059160170001472791        Electric       Gov. Aggregation
AEP - OP      00140060761040914           Electric       Gov. Aggregation   FEOH - OE     08059179760000168099        Electric       Gov. Aggregation
AEP - OP      00140060761139415           Electric       Gov. Aggregation   FEOH - OE     08059287240001143340        Electric       Gov. Aggregation
AEP - OP      00140060761260502           Electric       Gov. Aggregation   FEOH - OE     08059296330000782688        Electric       Gov. Aggregation
AEP - OP      00140060761268050           Electric       Gov. Aggregation   FEOH - OE     08059334270000788825        Electric       Gov. Aggregation
AEP - OP      00140060761452613           Electric       Gov. Aggregation   FEOH - OE     08059361560001137740        Electric       Gov. Aggregation
AEP - OP      00140060761660164           Electric       Gov. Aggregation   FEOH - OE     08059470920000778251        Electric       Gov. Aggregation
AEP - OP      00140060761693071           Electric       Gov. Aggregation   FEOH - TE     08051233312210012106        Electric       Gov. Aggregation
AEP - OP      00140060761618075           Electric       Gov. Aggregation   FEOH - OE     08051268840001142099        Electric       Gov. Aggregation
AEP - OP      00140060761699404           Electric       Gov. Aggregation   FEOH - OE     08051338910001375613        Electric       Gov. Aggregation
AEP - OP      00140060761716824           Electric       Gov. Aggregation   FEOH - OE     08051386230001446431        Electric       Gov. Aggregation
AEP - OP      00140060761781982           Electric       Gov. Aggregation   FEOH - OE     08051391870000804155        Electric       Gov. Aggregation
AEP - OP      00140060761914153           Electric       Gov. Aggregation   FEOH - OE     08060160810000790276        Electric       Gov. Aggregation
AEP - OP      00140060761952912           Electric       Gov. Aggregation   FEOH - OE     08060166045001455037        Electric       Gov. Aggregation
AEP - OP      00140060761959531           Electric       Gov. Aggregation   FEOH - OE     08060193970000178974        Electric       Gov. Aggregation
AEP - OP      00140060753221672           Electric       Gov. Aggregation   FEOH - OE     08060215220000786335        Electric       Gov. Aggregation
AEP - OP      00140060753374784           Electric       Gov. Aggregation   FEOH - OE     08060325570000803615        Electric       Gov. Aggregation
AEP - OP      00140060753394585           Electric       Gov. Aggregation   FEOH - OE     08060326290000789048        Electric       Gov. Aggregation
AEP - OP      00140060753458871           Electric       Gov. Aggregation   FEOH - OE     08060343260001128551        Electric       Gov. Aggregation
AEP - OP      00140060753467635           Electric       Gov. Aggregation   FEOH - OE     08059089150000784469        Electric       Gov. Aggregation
AEP - OP      00140060753689993           Electric       Gov. Aggregation   FEOH - OE     08059169230000780230        Electric       Gov. Aggregation
AEP - OP      00140060753791980           Electric       Gov. Aggregation   FEOH - OE     08059250325001446876        Electric       Gov. Aggregation
AEP - OP      00140060758772860           Electric       Gov. Aggregation   FEOH - OE     08059279170000803254        Electric       Gov. Aggregation
AEP - OP      00140060758779931           Electric       Gov. Aggregation   FEOH - OE     08059361565000357522        Electric       Gov. Aggregation
AEP - OP      00140060758841700           Electric       Gov. Aggregation   FEOH - OE     08059400420000789224        Electric       Gov. Aggregation
AEP - OP      00140060758957101           Electric       Gov. Aggregation   FEOH - OE     08059418400000791523        Electric       Gov. Aggregation
AEP - OP      00140060759003914           Electric       Gov. Aggregation   FEOH - OE     08059888380001554492        Electric       Gov. Aggregation
AEP - OP      00140060759111723           Electric       Gov. Aggregation   FEOH - OE     08059955900000786410        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060759260934           Electric       Gov. Aggregation   FEOH - OE     08059972630001441344        Electric       Gov. Aggregation
AEP - OP      00140060747028041           Electric       Gov. Aggregation   FEOH - OE     08059977080000584223        Electric       Gov. Aggregation
AEP - OP      00140060747119843           Electric       Gov. Aggregation   FEOH - OE     08060001225000389337        Electric       Gov. Aggregation
AEP - OP      00140060747160884           Electric       Gov. Aggregation   FEOH - OE     08060052355001290476        Electric       Gov. Aggregation
AEP - OP      00140060747174400           Electric       Gov. Aggregation   FEOH - OE     08060136100000168315        Electric       Gov. Aggregation
AEP - OP      00140060747210363           Electric       Gov. Aggregation   FEOH - OE     08059978870001326440        Electric       Gov. Aggregation
AEP - OP      00140060747358110           Electric       Gov. Aggregation   FEOH - OE     08059989660001489543        Electric       Gov. Aggregation
AEP - OP      00140060747362105           Electric       Gov. Aggregation   FEOH - OE     08059993800000791700        Electric       Gov. Aggregation
AEP - OP      00140060747966390           Electric       Gov. Aggregation   FEOH - OE     08060060965001467763        Electric       Gov. Aggregation
AEP - OP      00140060748022021           Electric       Gov. Aggregation   FEOH - TE     08060098242420032119        Electric       Gov. Aggregation
AEP - OP      00140060748028131           Electric       Gov. Aggregation   FEOH - OE     08060110910001353220        Electric       Gov. Aggregation
AEP - OP      00140060748083093           Electric       Gov. Aggregation   FEOH - OE     08060138530001127624        Electric       Gov. Aggregation
AEP - OP      00140060748366603           Electric       Gov. Aggregation   FEOH - OE     08051531410001129318        Electric       Gov. Aggregation
AEP - OP      00140060748637220           Electric       Gov. Aggregation   FEOH - TE     08051598922770016752        Electric       Gov. Aggregation
AEP - OP      00140060748667780           Electric       Gov. Aggregation   FEOH - OE     08051684000001129305        Electric       Gov. Aggregation
AEP - OP      00140060759259941           Electric       Gov. Aggregation   FEOH - OE     08051710960000583993        Electric       Gov. Aggregation
AEP - OP      00140060759358013           Electric       Gov. Aggregation   FEOH - OE     08051715710000782652        Electric       Gov. Aggregation
AEP - OP      00140060759371174           Electric       Gov. Aggregation   FEOH - OE     08051716320001040706        Electric       Gov. Aggregation
AEP - OP      00140060759413702           Electric       Gov. Aggregation   FEOH - OE     08051803000000803635        Electric       Gov. Aggregation
AEP - OP      00140060759460150           Electric       Gov. Aggregation   FEOH - OE     08051766250000803753        Electric       Gov. Aggregation
AEP - OP      00140060759464220           Electric       Gov. Aggregation   FEOH - TE     08051803892900006193        Electric       Gov. Aggregation
AEP - OP      00140060759525620           Electric       Gov. Aggregation   FEOH - TE     08051874112380032639        Electric       Gov. Aggregation
AEP - OP      00140060761787622           Electric       Gov. Aggregation   FEOH - OE     08052026050001129411        Electric       Gov. Aggregation
AEP - OP      00140060761889454           Electric       Gov. Aggregation   FEOH - OE     08052066925001426593        Electric       Gov. Aggregation
AEP - OP      00140060762098470           Electric       Gov. Aggregation   FEOH - OE     08052088980001127778        Electric       Gov. Aggregation
AEP - OP      00140060762108763           Electric       Gov. Aggregation   FEOH - TE     08059528452170012880        Electric       Gov. Aggregation
AEP - OP      00140060762200782           Electric       Gov. Aggregation   FEOH - OE     08059646320000849096        Electric       Gov. Aggregation
AEP - OP      00140060762076802           Electric       Gov. Aggregation   FEOH - OE     08059662570001471352        Electric       Gov. Aggregation
AEP - OP      00140060762105265           Electric       Gov. Aggregation   FEOH - OE     08059665240000791727        Electric       Gov. Aggregation
AEP - OP      00140060762169232           Electric       Gov. Aggregation   FEOH - OE     08059680615001436582        Electric       Gov. Aggregation
AEP - OP      00140060762239952           Electric       Gov. Aggregation   FEOH - TE     08059686462080027809        Electric       Gov. Aggregation
AEP - OP      00140060762308980           Electric       Gov. Aggregation   FEOH - OE     08059700160001142248        Electric       Gov. Aggregation
AEP - OP      00140060762337152           Electric       Gov. Aggregation   FEOH - OE     08059439180000584036        Electric       Gov. Aggregation
AEP - OP      00140060753850283           Electric       Gov. Aggregation   FEOH - TE     08059455382300030353        Electric       Gov. Aggregation
AEP - OP      00140060753949904           Electric       Gov. Aggregation   FEOH - TE     08059663812640020798        Electric       Gov. Aggregation
AEP - OP      00140060754220240           Electric       Gov. Aggregation   FEOH - OE     08059684450001129254        Electric       Gov. Aggregation
AEP - OP      00140060754467761           Electric       Gov. Aggregation   FEOH - OE     08059799260000765264        Electric       Gov. Aggregation
AEP - OP      00140060755065920           Electric       Gov. Aggregation   FEOH - OE     08059898170001142833        Electric       Gov. Aggregation
AEP - OP      00140060755136533           Electric       Gov. Aggregation   FEOH - OE     08051508920001500674        Electric       Gov. Aggregation
AEP - OP      00140060753303814           Electric       Gov. Aggregation   FEOH - OE     08051572430001128415        Electric       Gov. Aggregation
AEP - OP      00140060753324010           Electric       Gov. Aggregation   FEOH - OE     08051587530000604128        Electric       Gov. Aggregation
AEP - OP      00140060753397314           Electric       Gov. Aggregation   FEOH - OE     08051771520000809472        Electric       Gov. Aggregation
AEP - OP      00140060753420354           Electric       Gov. Aggregation   FEOH - TE     08051831772850020685        Electric       Gov. Aggregation
AEP - OP      00140060753420384           Electric       Gov. Aggregation   FEOH - OE     08051892290001143171        Electric       Gov. Aggregation
AEP - OP      00140060753661955           Electric       Gov. Aggregation   FEOH - OE     08060140910000778713        Electric       Gov. Aggregation
AEP - OP      00140060753812294           Electric       Gov. Aggregation   FEOH - OE     08060243015000340802        Electric       Gov. Aggregation
AEP - OP      00140060759392881           Electric       Gov. Aggregation   FEOH - OE     08060314295000365103        Electric       Gov. Aggregation
AEP - OP      00140060759433800           Electric       Gov. Aggregation   FEOH - OE     08060319550000804163        Electric       Gov. Aggregation
AEP - OP      00140060759603674           Electric       Gov. Aggregation   FEOH - OE     08060329450001441120        Electric       Gov. Aggregation
AEP - OP      00140060759618562           Electric       Gov. Aggregation   FEOH - OE     08060362200000789011        Electric       Gov. Aggregation
AEP - OP      00140060759700904           Electric       Gov. Aggregation   FEOH - OE     08060142285000251786        Electric       Gov. Aggregation
AEP - OP      00140060759702305           Electric       Gov. Aggregation   FEOH - OE     08060193470000810187        Electric       Gov. Aggregation
AEP - OP      00140060759757015           Electric       Gov. Aggregation   FEOH - OE     08060312160000780262        Electric       Gov. Aggregation
AEP - OP      00140060747472923           Electric       Gov. Aggregation   FEOH - TE     08060344632850019723        Electric       Gov. Aggregation
AEP - OP      00140060747505891           Electric       Gov. Aggregation   FEOH - OE     08060374880000789148        Electric       Gov. Aggregation
AEP - OP      00140060747612843           Electric       Gov. Aggregation   FEOH - OE     08060481890000810049        Electric       Gov. Aggregation
AEP - OP      00140060747756544           Electric       Gov. Aggregation   FEOH - TE     08060384642920090642        Electric       Gov. Aggregation
AEP - OP      00140060747823913           Electric       Gov. Aggregation   FEOH - OE     08060420870000792567        Electric       Gov. Aggregation
AEP - OP      00140060747835082           Electric       Gov. Aggregation   FEOH - OE     08060447315001458120        Electric       Gov. Aggregation
AEP - OP      00140060759796444           Electric       Gov. Aggregation   FEOH - OE     08060463130000788968        Electric       Gov. Aggregation
AEP - OP      00140060759818822           Electric       Gov. Aggregation   FEOH - OE     08060471460000792175        Electric       Gov. Aggregation
AEP - OP      00140060759844683           Electric       Gov. Aggregation   FEOH - TE     08060480032480092039        Electric       Gov. Aggregation
AEP - OP      00140060760110112           Electric       Gov. Aggregation   FEOH - TE     08060500372080026775        Electric       Gov. Aggregation
AEP - OP      00140060760147123           Electric       Gov. Aggregation   FEOH - TE     08052198862210092771        Electric       Gov. Aggregation
AEP - OP      00140060760162162           Electric       Gov. Aggregation   FEOH - OE     08052303460000592329        Electric       Gov. Aggregation
AEP - OP      00140060760195243           Electric       Gov. Aggregation   FEOH - OE     08052321600001128875        Electric       Gov. Aggregation
AEP - OP      00140060748702871           Electric       Gov. Aggregation   FEOH - OE     08052568570001130120        Electric       Gov. Aggregation
AEP - OP      00140060748733133           Electric       Gov. Aggregation   FEOH - OE     08052696890001044369        Electric       Gov. Aggregation
AEP - OP      00140060748832054           Electric       Gov. Aggregation   FEOH - OE     08059809245001298259        Electric       Gov. Aggregation
AEP - OP      00140060748886631           Electric       Gov. Aggregation   FEOH - OE     08059922605000272272        Electric       Gov. Aggregation
AEP - OP      00140060748892661           Electric       Gov. Aggregation   FEOH - OE     08060042560001129611        Electric       Gov. Aggregation
AEP - OP      00140060748899111           Electric       Gov. Aggregation   FEOH - OE     08060047130000778640        Electric       Gov. Aggregation
AEP - OP      00140060748900185           Electric       Gov. Aggregation   FEOH - TE     08060126482080027688        Electric       Gov. Aggregation
AEP - OP      00140060759546263           Electric       Gov. Aggregation   FEOH - OE     08060171755000095426        Electric       Gov. Aggregation
AEP - OP      00140060759566683           Electric       Gov. Aggregation   FEOH - OE     08060174620001043076        Electric       Gov. Aggregation
AEP - OP      00140060759586702           Electric       Gov. Aggregation   FEOH - OE     08059992660001142731        Electric       Gov. Aggregation
AEP - OP      00140060759600335           Electric       Gov. Aggregation   FEOH - OE     08060012455000169471        Electric       Gov. Aggregation
AEP - OP      00140060759656753           Electric       Gov. Aggregation   FEOH - OE     08060230360000791204        Electric       Gov. Aggregation
AEP - OP      00140060759659145           Electric       Gov. Aggregation   FEOH - OE     08060245810001129177        Electric       Gov. Aggregation
AEP - OP      00140060759746182           Electric       Gov. Aggregation   FEOH - OE     08060269120000790669        Electric       Gov. Aggregation
AEP - OP      00140060762206333           Electric       Gov. Aggregation   FEOH - OE     08060275070001127762        Electric       Gov. Aggregation
AEP - OP      00140060762370425           Electric       Gov. Aggregation   FEOH - OE     08060295710000791688        Electric       Gov. Aggregation
AEP - OP      00140060762424834           Electric       Gov. Aggregation   FEOH - OE     08051806625000073079        Electric       Gov. Aggregation
AEP - OP      00140060762591525           Electric       Gov. Aggregation   FEOH - OE     08051916290000786307        Electric       Gov. Aggregation
AEP - OP      00140060762648771           Electric       Gov. Aggregation   FEOH - OE     08051965600000765246        Electric       Gov. Aggregation
AEP - OP      00140060762693105           Electric       Gov. Aggregation   FEOH - OE     08052030880001129518        Electric       Gov. Aggregation
AEP - OP      00140060762737351           Electric       Gov. Aggregation   FEOH - TE     08052037122900010152        Electric       Gov. Aggregation
AEP - OP      00140060762490793           Electric       Gov. Aggregation   FEOH - OE     08052128010000791245        Electric       Gov. Aggregation
AEP - OP      00140060762565561           Electric       Gov. Aggregation   FEOH - OE     08060526820000782498        Electric       Gov. Aggregation
AEP - OP      00140060762611640           Electric       Gov. Aggregation   FEOH - OE     08060551490001446429        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060762634861           Electric       Gov. Aggregation   FEOH - OE     08060557120000789120        Electric       Gov. Aggregation
AEP - OP      00140060762729520           Electric       Gov. Aggregation   FEOH - OE     08060595340000804450        Electric       Gov. Aggregation
AEP - OP      00140060762980472           Electric       Gov. Aggregation   FEOH - OE     08060678430001128168        Electric       Gov. Aggregation
AEP - OP      00140060763001872           Electric       Gov. Aggregation   FEOH - OE     08060696330000603816        Electric       Gov. Aggregation
AEP - OP      00140060755185211           Electric       Gov. Aggregation   FEOH - TE     08060750212380033276        Electric       Gov. Aggregation
AEP - OP      00140060755203175           Electric       Gov. Aggregation   FEOH - OE     08060504310000778812        Electric       Gov. Aggregation
AEP - OP      00140060755216595           Electric       Gov. Aggregation   FEOH - TE     08060511335000066543        Electric       Gov. Aggregation
AEP - OP      00140060755236532           Electric       Gov. Aggregation   FEOH - OE     08060522840001360580        Electric       Gov. Aggregation
AEP - OP      00140060755264595           Electric       Gov. Aggregation   FEOH - OE     08060579290000803045        Electric       Gov. Aggregation
AEP - OP      00140060755281525           Electric       Gov. Aggregation   FEOH - OE     08060662370001041483        Electric       Gov. Aggregation
AEP - OP      00140060753838730           Electric       Gov. Aggregation   FEOH - OE     08060677655000266085        Electric       Gov. Aggregation
AEP - OP      00140060753926315           Electric       Gov. Aggregation   FEOH - OE     08060794960001129576        Electric       Gov. Aggregation
AEP - OP      00140060753948453           Electric       Gov. Aggregation   FEOH - TE     08051965842850023306        Electric       Gov. Aggregation
AEP - OP      00140060754032492           Electric       Gov. Aggregation   FEOH - OE     08052112210001045291        Electric       Gov. Aggregation
AEP - OP      00140060754055871           Electric       Gov. Aggregation   FEOH - OE     08052233160001130981        Electric       Gov. Aggregation
AEP - OP      00140060754107355           Electric       Gov. Aggregation   FEOH - OE     08052237800001130058        Electric       Gov. Aggregation
AEP - OP      00140060754224982           Electric       Gov. Aggregation   FEOH - TE     08052365362680022717        Electric       Gov. Aggregation
AEP - OP      00140060747846245           Electric       Gov. Aggregation   FEOH - OE     08052403310000803787        Electric       Gov. Aggregation
AEP - OP      00140060747856682           Electric       Gov. Aggregation   FEOH - OE     08052448355001332477        Electric       Gov. Aggregation
AEP - OP      00140060747904623           Electric       Gov. Aggregation   FEOH - OE     08060532350001128574        Electric       Gov. Aggregation
AEP - OP      00140060747931001           Electric       Gov. Aggregation   FEOH - OE     08060543390000777866        Electric       Gov. Aggregation
AEP - OP      00140060747953691           Electric       Gov. Aggregation   FEOH - OE     08060561320000792403        Electric       Gov. Aggregation
AEP - OP      00140060747963610           Electric       Gov. Aggregation   FEOH - TE     08060726102680021644        Electric       Gov. Aggregation
AEP - OP      00140060747997254           Electric       Gov. Aggregation   FEOH - TE     08060845882600006822        Electric       Gov. Aggregation
AEP - OP      00140060760218065           Electric       Gov. Aggregation   FEOH - TE     08060920342380031942        Electric       Gov. Aggregation
AEP - OP      00140060760315632           Electric       Gov. Aggregation   FEOH - OE     08060237085000314706        Electric       Gov. Aggregation
AEP - OP      00140060760510495           Electric       Gov. Aggregation   FEOH - OE     08060328400001128467        Electric       Gov. Aggregation
AEP - OP      00140060760680203           Electric       Gov. Aggregation   FEOH - OE     08060336200000790866        Electric       Gov. Aggregation
AEP - OP      00140060760698310           Electric       Gov. Aggregation   FEOH - OE     08060413610000790410        Electric       Gov. Aggregation
AEP - OP      00140060760879484           Electric       Gov. Aggregation   FEOH - OE     08060445090001143199        Electric       Gov. Aggregation
AEP - OP      00140060760990440           Electric       Gov. Aggregation   FEOH - TE     08060518072850024755        Electric       Gov. Aggregation
AEP - OP      00140060748903771           Electric       Gov. Aggregation   FEOH - OE     08052796140001129634        Electric       Gov. Aggregation
AEP - OP      00140060749043920           Electric       Gov. Aggregation   FEOH - TE     08052808303000001016        Electric       Gov. Aggregation
AEP - OP      00140060749058734           Electric       Gov. Aggregation   FEOH - TE     08052829592670093455        Electric       Gov. Aggregation
AEP - OP      00140060749143573           Electric       Gov. Aggregation   FEOH - OE     08052842090000186831        Electric       Gov. Aggregation
AEP - OP      00140060749243473           Electric       Gov. Aggregation   FEOH - OE     08052932940001554666        Electric       Gov. Aggregation
AEP - OP      00140060749422081           Electric       Gov. Aggregation   FEOH - OE     08052940050000790409        Electric       Gov. Aggregation
AEP - OP      00140060759765815           Electric       Gov. Aggregation   FEOH - OE     08060767175001484404        Electric       Gov. Aggregation
AEP - OP      00140060759867035           Electric       Gov. Aggregation   FEOH - TE     08060835312380031360        Electric       Gov. Aggregation
AEP - OP      00140060759881020           Electric       Gov. Aggregation   FEOH - OE     08060849180001129062        Electric       Gov. Aggregation
AEP - OP      00140060759898291           Electric       Gov. Aggregation   FEOH - OE     08060849570000778701        Electric       Gov. Aggregation
AEP - OP      00140060759929572           Electric       Gov. Aggregation   FEOH - OE     08060958390000583986        Electric       Gov. Aggregation
AEP - OP      00140060759980271           Electric       Gov. Aggregation   FEOH - TE     08061100612680023620        Electric       Gov. Aggregation
AEP - OP      00140060760041280           Electric       Gov. Aggregation   FEOH - OE     08061111540000791173        Electric       Gov. Aggregation
AEP - OP      00140060762919405           Electric       Gov. Aggregation   FEOH - OE     08060842730000786485        Electric       Gov. Aggregation
AEP - OP      00140060763029165           Electric       Gov. Aggregation   FEOH - OE     08060847685001455021        Electric       Gov. Aggregation
AEP - OP      00140060763126822           Electric       Gov. Aggregation   FEOH - OE     08060873690001142806        Electric       Gov. Aggregation
AEP - OP      00140060763184042           Electric       Gov. Aggregation   FEOH - OE     08060899520000186393        Electric       Gov. Aggregation
AEP - OP      00140060763188653           Electric       Gov. Aggregation   FEOH - OE     08060911470001552984        Electric       Gov. Aggregation
AEP - OP      00140060763235291           Electric       Gov. Aggregation   FEOH - OE     08060970990000803838        Electric       Gov. Aggregation
AEP - OP      00140060763373370           Electric       Gov. Aggregation   FEOH - OE     08061008670000791182        Electric       Gov. Aggregation
AEP - OP      00140060755385430           Electric       Gov. Aggregation   FEOH - OE     08052193440000187142        Electric       Gov. Aggregation
AEP - OP      00140060755490851           Electric       Gov. Aggregation   FEOH - OE     08052367350000765702        Electric       Gov. Aggregation
AEP - OP      00140060755496135           Electric       Gov. Aggregation   FEOH - TE     08052391922380028243        Electric       Gov. Aggregation
AEP - OP      00140060755543395           Electric       Gov. Aggregation   FEOH - OE     08052523580001547626        Electric       Gov. Aggregation
AEP - OP      00140060755601200           Electric       Gov. Aggregation   FEOH - OE     08052587210000777844        Electric       Gov. Aggregation
AEP - OP      00140060755704990           Electric       Gov. Aggregation   FEOH - OE     08052629780001350655        Electric       Gov. Aggregation
AEP - OP      00140060755731530           Electric       Gov. Aggregation   FEOH - OE     08052630610000786469        Electric       Gov. Aggregation
AEP - OP      00140060763039841           Electric       Gov. Aggregation   FEOH - OE     08060330120001127670        Electric       Gov. Aggregation
AEP - OP      00140060763045373           Electric       Gov. Aggregation   FEOH - OE     08060333190001128177        Electric       Gov. Aggregation
AEP - OP      00140060763129913           Electric       Gov. Aggregation   FEOH - OE     08060434650001469083        Electric       Gov. Aggregation
AEP - OP      00140060763204474           Electric       Gov. Aggregation   FEOH - TE     08060518202380031937        Electric       Gov. Aggregation
AEP - OP      00140060763295525           Electric       Gov. Aggregation   FEOH - OE     08060523970000765978        Electric       Gov. Aggregation
AEP - OP      00140060763306453           Electric       Gov. Aggregation   FEOH - OE     08060658725001466225        Electric       Gov. Aggregation
AEP - OP      00140060763442563           Electric       Gov. Aggregation   FEOH - OE     08060659480000782708        Electric       Gov. Aggregation
AEP - OP      00140060761076704           Electric       Gov. Aggregation   FEOH - TE     08052503762300030090        Electric       Gov. Aggregation
AEP - OP      00140060761089082           Electric       Gov. Aggregation   FEOH - OE     08052537890001347104        Electric       Gov. Aggregation
AEP - OP      00140060761148995           Electric       Gov. Aggregation   FEOH - OE     08052598500001500366        Electric       Gov. Aggregation
AEP - OP      00140060761317741           Electric       Gov. Aggregation   FEOH - OE     08052780520001040443        Electric       Gov. Aggregation
AEP - OP      00140060761616810           Electric       Gov. Aggregation   FEOH - TE     08052815692350093878        Electric       Gov. Aggregation
AEP - OP      00140060761657950           Electric       Gov. Aggregation   FEOH - TE     08052829592900008982        Electric       Gov. Aggregation
AEP - OP      00140060761706533           Electric       Gov. Aggregation   FEOH - OE     08052939030001127884        Electric       Gov. Aggregation
AEP - OP      00140060748040395           Electric       Gov. Aggregation   FEOH - TE     08060920342380031956        Electric       Gov. Aggregation
AEP - OP      00140060748218190           Electric       Gov. Aggregation   FEOH - OE     08060933310000803247        Electric       Gov. Aggregation
AEP - OP      00140060748270142           Electric       Gov. Aggregation   FEOH - OE     08060954570000786315        Electric       Gov. Aggregation
AEP - OP      00140060748350553           Electric       Gov. Aggregation   FEOH - OE     08060956895000168268        Electric       Gov. Aggregation
AEP - OP      00140060748402894           Electric       Gov. Aggregation   FEOH - TE     08060962032640091522        Electric       Gov. Aggregation
AEP - OP      00140060748648430           Electric       Gov. Aggregation   FEOH - OE     08061024180001493603        Electric       Gov. Aggregation
AEP - OP      00140060748707284           Electric       Gov. Aggregation   FEOH - OE     08060537740000778850        Electric       Gov. Aggregation
AEP - OP      00140060749471245           Electric       Gov. Aggregation   FEOH - OE     08060563880001475300        Electric       Gov. Aggregation
AEP - OP      00140060749481420           Electric       Gov. Aggregation   FEOH - OE     08060599440000187098        Electric       Gov. Aggregation
AEP - OP      00140060749597774           Electric       Gov. Aggregation   FEOH - OE     08060610410001402015        Electric       Gov. Aggregation
AEP - OP      00140060749623932           Electric       Gov. Aggregation   FEOH - TE     08060619982380031303        Electric       Gov. Aggregation
AEP - OP      00140060749915024           Electric       Gov. Aggregation   FEOH - TE     08060678542900007759        Electric       Gov. Aggregation
AEP - OP      00140060749970242           Electric       Gov. Aggregation   FEOH - OE     08060688600001129328        Electric       Gov. Aggregation
AEP - OP      00140060750021043           Electric       Gov. Aggregation   FEOH - OE     08053034410001141977        Electric       Gov. Aggregation
AEP - OP      00140060760202615           Electric       Gov. Aggregation   FEOH - OE     08053046310000803076        Electric       Gov. Aggregation
AEP - OP      00140060760218590           Electric       Gov. Aggregation   FEOH - OE     08053086210000765703        Electric       Gov. Aggregation
AEP - OP      00140060760228502           Electric       Gov. Aggregation   FEOH - TE     08053088572600004118        Electric       Gov. Aggregation
AEP - OP      00140060760256264           Electric       Gov. Aggregation   FEOH - OE     08053088750001143289        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060760289800           Electric       Gov. Aggregation   FEOH - TE     08053166982390001776        Electric       Gov. Aggregation
AEP - OP      00140060760469630           Electric       Gov. Aggregation   FEOH - OE     08052700730000186817        Electric       Gov. Aggregation
AEP - OP      00140060760559464           Electric       Gov. Aggregation   FEOH - OE     08052747960000778418        Electric       Gov. Aggregation
AEP - OP      00140060763423855           Electric       Gov. Aggregation   FEOH - OE     08052774990000803914        Electric       Gov. Aggregation
AEP - OP      00140060763450202           Electric       Gov. Aggregation   FEOH - OE     08052778560000844641        Electric       Gov. Aggregation
AEP - OP      00140060763546770           Electric       Gov. Aggregation   FEOH - OE     08052813370001128557        Electric       Gov. Aggregation
AEP - OP      00140060763634061           Electric       Gov. Aggregation   FEOH - TE     08052965752640020868        Electric       Gov. Aggregation
AEP - OP      00140060763714095           Electric       Gov. Aggregation   FEOH - TE     08052969612900010998        Electric       Gov. Aggregation
AEP - OP      00140060763909094           Electric       Gov. Aggregation   FEOH - OE     08053026850000810037        Electric       Gov. Aggregation
AEP - OP      00140060763919453           Electric       Gov. Aggregation   FEOH - OE     08053063310001044716        Electric       Gov. Aggregation
AEP - OP      00140060754328684           Electric       Gov. Aggregation   FEOH - OE     08053133045001308529        Electric       Gov. Aggregation
AEP - OP      00140060754482233           Electric       Gov. Aggregation   FEOH - OE     08053229950001040511        Electric       Gov. Aggregation
AEP - OP      00140060754574712           Electric       Gov. Aggregation   FEOH - OE     08053253900001490193        Electric       Gov. Aggregation
AEP - OP      00140060754578054           Electric       Gov. Aggregation   FEOH - TE     08053266562210015118        Electric       Gov. Aggregation
AEP - OP      00140060754612330           Electric       Gov. Aggregation   FEOH - OE     08053275960000792525        Electric       Gov. Aggregation
AEP - OP      00140060754685974           Electric       Gov. Aggregation   FEOH - OE     08060694560001524691        Electric       Gov. Aggregation
AEP - OP      00140060754736054           Electric       Gov. Aggregation   FEOH - OE     08060750360001569013        Electric       Gov. Aggregation
AEP - OP      00140060763573261           Electric       Gov. Aggregation   FEOH - OE     08060789330000804824        Electric       Gov. Aggregation
AEP - OP      00140060763607714           Electric       Gov. Aggregation   FEOH - OE     08060814620000776777        Electric       Gov. Aggregation
AEP - OP      00140060763648674           Electric       Gov. Aggregation   FEOH - OE     08060916250000786478        Electric       Gov. Aggregation
AEP - OP      00140060763772134           Electric       Gov. Aggregation   FEOH - OE     08060950605000081894        Electric       Gov. Aggregation
AEP - OP      00140060763888035           Electric       Gov. Aggregation   FEOH - OE     08060727930001131114        Electric       Gov. Aggregation
AEP - OP      00140060763903551           Electric       Gov. Aggregation   FEOH - OE     08060746710000792197        Electric       Gov. Aggregation
AEP - OP      00140060763929232           Electric       Gov. Aggregation   FEOH - TE     08060770702210012248        Electric       Gov. Aggregation
AEP - OP      00140060761805894           Electric       Gov. Aggregation   FEOH - OE     08060788810001381881        Electric       Gov. Aggregation
AEP - OP      00140060761947213           Electric       Gov. Aggregation   FEOH - OE     08060822500001495040        Electric       Gov. Aggregation
AEP - OP      00140060761959671           Electric       Gov. Aggregation   FEOH - OE     08060938160001306800        Electric       Gov. Aggregation
AEP - OP      00140060762042734           Electric       Gov. Aggregation   FEOH - OE     08061012630000791449        Electric       Gov. Aggregation
AEP - OP      00140060762187924           Electric       Gov. Aggregation   FEOH - OE     08053463880000841397        Electric       Gov. Aggregation
AEP - OP      00140060762201043           Electric       Gov. Aggregation   FEOH - OE     08053498015001316759        Electric       Gov. Aggregation
AEP - OP      00140060762205401           Electric       Gov. Aggregation   FEOH - TE     08053522302600007909        Electric       Gov. Aggregation
AEP - OP      00140060748781852           Electric       Gov. Aggregation   FEOH - OE     08053583930000802940        Electric       Gov. Aggregation
AEP - OP      00140060748871795           Electric       Gov. Aggregation   FEOH - OE     08053634350000789163        Electric       Gov. Aggregation
AEP - OP      00140060748952754           Electric       Gov. Aggregation   FEOH - OE     08053500870001359103        Electric       Gov. Aggregation
AEP - OP      00140060749084431           Electric       Gov. Aggregation   FEOH - OE     08053501710001042260        Electric       Gov. Aggregation
AEP - OP      00140060749174541           Electric       Gov. Aggregation   FEOH - OE     08053537220000770983        Electric       Gov. Aggregation
AEP - OP      00140060749333041           Electric       Gov. Aggregation   FEOH - OE     08053611140001417309        Electric       Gov. Aggregation
AEP - OP      00140060749390214           Electric       Gov. Aggregation   FEOH - OE     08053636070001142873        Electric       Gov. Aggregation
AEP - OP      00140060755767264           Electric       Gov. Aggregation   FEOH - OE     08052970765000077400        Electric       Gov. Aggregation
AEP - OP      00140060755771904           Electric       Gov. Aggregation   FEOH - TE     08052977792040001445        Electric       Gov. Aggregation
AEP - OP      00140060755813034           Electric       Gov. Aggregation   FEOH - TE     08053158052080022686        Electric       Gov. Aggregation
AEP - OP      00140060755928990           Electric       Gov. Aggregation   FEOH - TE     08053190973000004281        Electric       Gov. Aggregation
AEP - OP      00140060755964763           Electric       Gov. Aggregation   FEOH - OE     08053206790000805562        Electric       Gov. Aggregation
AEP - OP      00140060756125182           Electric       Gov. Aggregation   FEOH - OE     08053409120000778636        Electric       Gov. Aggregation
AEP - OP      00140060756149583           Electric       Gov. Aggregation   FEOH - OE     08053417270000848830        Electric       Gov. Aggregation
AEP - OP      00140060763922085           Electric       Gov. Aggregation   FEOH - OE     08053849930001142091        Electric       Gov. Aggregation
AEP - OP      00140060763984333           Electric       Gov. Aggregation   FEOH - TE     08053929252030030712        Electric       Gov. Aggregation
AEP - OP      00140060764088192           Electric       Gov. Aggregation   FEOH - TE     08053957862850024633        Electric       Gov. Aggregation
AEP - OP      00140060764288053           Electric       Gov. Aggregation   FEOH - TE     08054159452210014966        Electric       Gov. Aggregation
AEP - OP      00140060764432511           Electric       Gov. Aggregation   FEOH - OE     08054212910001143065        Electric       Gov. Aggregation
AEP - OP      00140060764677333           Electric       Gov. Aggregation   FEOH - OE     08054234170000762716        Electric       Gov. Aggregation
AEP - OP      00140060764763271           Electric       Gov. Aggregation   FEOH - TE     08053733052850022361        Electric       Gov. Aggregation
AEP - OP      00140060754789025           Electric       Gov. Aggregation   FEOH - OE     08053814405000167078        Electric       Gov. Aggregation
AEP - OP      00140060754869601           Electric       Gov. Aggregation   FEOH - OE     08053826110000804462        Electric       Gov. Aggregation
AEP - OP      00140060754963732           Electric       Gov. Aggregation   FEOH - OE     08053866390001127848        Electric       Gov. Aggregation
AEP - OP      00140060754965185           Electric       Gov. Aggregation   FEOH - OE     08053959410000584262        Electric       Gov. Aggregation
AEP - OP      00140060754997825           Electric       Gov. Aggregation   FEOH - OE     08054068105001372922        Electric       Gov. Aggregation
AEP - OP      00140060755082855           Electric       Gov. Aggregation   FEOH - TE     08054129222210014933        Electric       Gov. Aggregation
AEP - OP      00140060755217223           Electric       Gov. Aggregation   FEOH - OE     08053446640000782472        Electric       Gov. Aggregation
AEP - OP      00140060749443533           Electric       Gov. Aggregation   FEOH - OE     08053606640000603771        Electric       Gov. Aggregation
AEP - OP      00140060749457552           Electric       Gov. Aggregation   FEOH - OE     08053613120001127926        Electric       Gov. Aggregation
AEP - OP      00140060749495473           Electric       Gov. Aggregation   FEOH - OE     08053625290000587076        Electric       Gov. Aggregation
AEP - OP      00140060749720533           Electric       Gov. Aggregation   FEOH - OE     08053769780001128280        Electric       Gov. Aggregation
AEP - OP      00140060749887103           Electric       Gov. Aggregation   FEOH - OE     08053775240000803521        Electric       Gov. Aggregation
AEP - OP      00140060749916103           Electric       Gov. Aggregation   FEOH - OE     08054271770000584111        Electric       Gov. Aggregation
AEP - OP      00140060762206350           Electric       Gov. Aggregation   FEOH - OE     08054345970000804844        Electric       Gov. Aggregation
AEP - OP      00140060762547893           Electric       Gov. Aggregation   FEOH - OE     08054376790001041638        Electric       Gov. Aggregation
AEP - OP      00140060762561403           Electric       Gov. Aggregation   FEOH - OE     08054403190000791622        Electric       Gov. Aggregation
AEP - OP      00140060762629750           Electric       Gov. Aggregation   FEOH - TE     08054454322210014581        Electric       Gov. Aggregation
AEP - OP      00140060762706574           Electric       Gov. Aggregation   FEOH - OE     08054552680001505046        Electric       Gov. Aggregation
AEP - OP      00140060762797744           Electric       Gov. Aggregation   FEOH - OE     08054552860001042220        Electric       Gov. Aggregation
AEP - OP      00140060762934793           Electric       Gov. Aggregation   FEOH - OE     08054292610001040711        Electric       Gov. Aggregation
AEP - OP      00140060764784201           Electric       Gov. Aggregation   FEOH - TE     08054327482600007384        Electric       Gov. Aggregation
AEP - OP      00140060764918305           Electric       Gov. Aggregation   FEOH - OE     08054389560001478033        Electric       Gov. Aggregation
AEP - OP      00140060764926712           Electric       Gov. Aggregation   FEOH - OE     08054421510000844583        Electric       Gov. Aggregation
AEP - OP      00140060765126140           Electric       Gov. Aggregation   FEOH - TE     08054514355000326904        Electric       Gov. Aggregation
AEP - OP      00140060765185973           Electric       Gov. Aggregation   FEOH - OE     08054527910001041305        Electric       Gov. Aggregation
AEP - OP      00140060765211464           Electric       Gov. Aggregation   FEOH - OE     08054583340000790806        Electric       Gov. Aggregation
AEP - OP      00140060765236862           Electric       Gov. Aggregation   FEOH - TE     08061065782850019775        Electric       Gov. Aggregation
AEP - OP      00140060760620541           Electric       Gov. Aggregation   FEOH - OE     08061069065001491471        Electric       Gov. Aggregation
AEP - OP      00140060760656331           Electric       Gov. Aggregation   FEOH - TE     08061075152380032447        Electric       Gov. Aggregation
AEP - OP      00140060760675025           Electric       Gov. Aggregation   FEOH - OE     08061236870000805415        Electric       Gov. Aggregation
AEP - OP      00140060760700255           Electric       Gov. Aggregation   FEOH - OE     08053807320001128941        Electric       Gov. Aggregation
AEP - OP      00140060760720940           Electric       Gov. Aggregation   FEOH - OE     08053847370001461066        Electric       Gov. Aggregation
AEP - OP      00140060760776721           Electric       Gov. Aggregation   FEOH - OE     08053895270001554086        Electric       Gov. Aggregation
AEP - OP      00140060760819653           Electric       Gov. Aggregation   FEOH - OE     08053903830001563605        Electric       Gov. Aggregation
AEP - OP      00140060750003493           Electric       Gov. Aggregation   FEOH - OE     08054013760001129593        Electric       Gov. Aggregation
AEP - OP      00140060750019422           Electric       Gov. Aggregation   FEOH - OE     08054053200001130404        Electric       Gov. Aggregation
AEP - OP      00140060750061662           Electric       Gov. Aggregation   FEOH - TE     08054092902680023832        Electric       Gov. Aggregation
AEP - OP      00140060750237123           Electric       Gov. Aggregation   FEOH - OE     08054561720001573457        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060750250361           Electric       Gov. Aggregation   FEOH - OE     08054629370001041579        Electric       Gov. Aggregation
AEP - OP      00140060750283221           Electric       Gov. Aggregation   FEOH - OE     08054671500001480076        Electric       Gov. Aggregation
AEP - OP      00140060750357025           Electric       Gov. Aggregation   FEOH - OE     08054781250001437258        Electric       Gov. Aggregation
AEP - OP      00140060763154595           Electric       Gov. Aggregation   FEOH - OE     08054850555001379337        Electric       Gov. Aggregation
AEP - OP      00140060763393645           Electric       Gov. Aggregation   FEOH - OE     08054879720000186538        Electric       Gov. Aggregation
AEP - OP      00140060763428094           Electric       Gov. Aggregation   FEOH - OE     08054989880000776815        Electric       Gov. Aggregation
AEP - OP      00140060763587115           Electric       Gov. Aggregation   FEOH - OE     08054682780000784387        Electric       Gov. Aggregation
AEP - OP      00140060763829754           Electric       Gov. Aggregation   FEOH - OE     08054694680001127774        Electric       Gov. Aggregation
AEP - OP      00140060763905863           Electric       Gov. Aggregation   FEOH - OE     08054717600000841239        Electric       Gov. Aggregation
AEP - OP      00140060763910382           Electric       Gov. Aggregation   FEOH - TE     08054873132130006362        Electric       Gov. Aggregation
AEP - OP      00140060750034221           Electric       Gov. Aggregation   FEOH - TE     08055046682820091150        Electric       Gov. Aggregation
AEP - OP      00140060750101233           Electric       Gov. Aggregation   FEOH - OE     08055131230001128104        Electric       Gov. Aggregation
AEP - OP      00140060750202282           Electric       Gov. Aggregation   FEOH - OE     08061411110001142781        Electric       Gov. Aggregation
AEP - OP      00140060750233445           Electric       Gov. Aggregation   FEOH - OE     08061429430000791280        Electric       Gov. Aggregation
AEP - OP      00140060750281234           Electric       Gov. Aggregation   FEOH - OE     08061430020001321389        Electric       Gov. Aggregation
AEP - OP      00140060750343902           Electric       Gov. Aggregation   FEOH - OE     08061475860000790168        Electric       Gov. Aggregation
AEP - OP      00140060750448465           Electric       Gov. Aggregation   FEOH - TE     08061594022600009886        Electric       Gov. Aggregation
AEP - OP      00140060765321825           Electric       Gov. Aggregation   FEOH - OE     08061619530000790648        Electric       Gov. Aggregation
AEP - OP      00140060765333903           Electric       Gov. Aggregation   FEOH - TE     08054101382080027176        Electric       Gov. Aggregation
AEP - OP      00140060765738345           Electric       Gov. Aggregation   FEOH - TE     08054160622810020789        Electric       Gov. Aggregation
AEP - OP      00140060765758974           Electric       Gov. Aggregation   FEOH - OE     08054168860000803017        Electric       Gov. Aggregation
AEP - OP      00140060765795133           Electric       Gov. Aggregation   FEOH - OE     08054231270000804038        Electric       Gov. Aggregation
AEP - OP      00140060765816940           Electric       Gov. Aggregation   FEOH - TE     08054293232850019831        Electric       Gov. Aggregation
AEP - OP      00140060765902715           Electric       Gov. Aggregation   FEOH - TE     08054326983000007849        Electric       Gov. Aggregation
AEP - OP      00140060761074261           Electric       Gov. Aggregation   FEOH - OE     08054334710000762321        Electric       Gov. Aggregation
AEP - OP      00140060761206981           Electric       Gov. Aggregation   FEOH - OE     08054995490001564335        Electric       Gov. Aggregation
AEP - OP      00140060761368413           Electric       Gov. Aggregation   FEOH - OE     08055086420001128753        Electric       Gov. Aggregation
AEP - OP      00140060761413570           Electric       Gov. Aggregation   FEOH - OE     08055157180000805451        Electric       Gov. Aggregation
AEP - OP      00140060761757234           Electric       Gov. Aggregation   FEOH - OE     08055219400001477783        Electric       Gov. Aggregation
AEP - OP      00140060761838163           Electric       Gov. Aggregation   FEOH - OE     08055227300000803650        Electric       Gov. Aggregation
AEP - OP      00140060761846203           Electric       Gov. Aggregation   FEOH - OE     08055227510001419080        Electric       Gov. Aggregation
AEP - OP      00140060755230920           Electric       Gov. Aggregation   FEOH - OE     08055131510000792720        Electric       Gov. Aggregation
AEP - OP      00140060755244501           Electric       Gov. Aggregation   FEOH - OE     08055175730000762707        Electric       Gov. Aggregation
AEP - OP      00140060755248373           Electric       Gov. Aggregation   FEOH - OE     08055278200000788778        Electric       Gov. Aggregation
AEP - OP      00140060755272772           Electric       Gov. Aggregation   FEOH - OE     08055313020001130499        Electric       Gov. Aggregation
AEP - OP      00140060755335820           Electric       Gov. Aggregation   FEOH - OE     08055424800001142860        Electric       Gov. Aggregation
AEP - OP      00140060755533030           Electric       Gov. Aggregation   FEOH - TE     08055462032850021265        Electric       Gov. Aggregation
AEP - OP      00140060755568183           Electric       Gov. Aggregation   FEOH - OE     08061621630001497170        Electric       Gov. Aggregation
AEP - OP      00140060764159672           Electric       Gov. Aggregation   FEOH - TE     08061623052850019615        Electric       Gov. Aggregation
AEP - OP      00140060764261614           Electric       Gov. Aggregation   FEOH - OE     08061625780000805470        Electric       Gov. Aggregation
AEP - OP      00140060764284984           Electric       Gov. Aggregation   FEOH - OE     08061664290001482284        Electric       Gov. Aggregation
AEP - OP      00140060764372441           Electric       Gov. Aggregation   FEOH - OE     08061689925001492526        Electric       Gov. Aggregation
AEP - OP      00140060764495425           Electric       Gov. Aggregation   FEOH - OE     08061718080001128253        Electric       Gov. Aggregation
AEP - OP      00140060764517031           Electric       Gov. Aggregation   FEOH - OE     08061736610001045343        Electric       Gov. Aggregation
AEP - OP      00140060764778073           Electric       Gov. Aggregation   FEOH - OE     08054428800001041438        Electric       Gov. Aggregation
AEP - OP      00140060750361375           Electric       Gov. Aggregation   FEOH - OE     08054465550000790496        Electric       Gov. Aggregation
AEP - OP      00140060750437064           Electric       Gov. Aggregation   FEOH - OE     08054496230001040636        Electric       Gov. Aggregation
AEP - OP      00140060750752883           Electric       Gov. Aggregation   FEOH - OE     08054501975001308128        Electric       Gov. Aggregation
AEP - OP      00140060750917211           Electric       Gov. Aggregation   FEOH - OE     08054507080001044714        Electric       Gov. Aggregation
AEP - OP      00140060751204941           Electric       Gov. Aggregation   FEOH - OE     08054607960000168271        Electric       Gov. Aggregation
AEP - OP      00140060751234853           Electric       Gov. Aggregation   FEOH - OE     08055245460000803865        Electric       Gov. Aggregation
AEP - OP      00140060751393451           Electric       Gov. Aggregation   FEOH - OE     08055262940000805493        Electric       Gov. Aggregation
AEP - OP      00140060756211193           Electric       Gov. Aggregation   FEOH - OE     08055266210001359633        Electric       Gov. Aggregation
AEP - OP      00140060756242874           Electric       Gov. Aggregation   FEOH - TE     08055311192770016856        Electric       Gov. Aggregation
AEP - OP      00140060756271620           Electric       Gov. Aggregation   FEOH - OE     08055377860000803755        Electric       Gov. Aggregation
AEP - OP      00140060756347175           Electric       Gov. Aggregation   FEOH - TE     08055378332640019287        Electric       Gov. Aggregation
AEP - OP      00140060756363612           Electric       Gov. Aggregation   FEOH - OE     08055508630001493495        Electric       Gov. Aggregation
AEP - OP      00140060756423964           Electric       Gov. Aggregation   FEOH - OE     08055462730000790520        Electric       Gov. Aggregation
AEP - OP      00140060756447303           Electric       Gov. Aggregation   FEOH - OE     08055519890000790805        Electric       Gov. Aggregation
AEP - OP      00140060765978023           Electric       Gov. Aggregation   FEOH - OE     08055631660001129360        Electric       Gov. Aggregation
AEP - OP      00140060766193753           Electric       Gov. Aggregation   FEOH - TE     08055705952680019892        Electric       Gov. Aggregation
AEP - OP      00140060766220513           Electric       Gov. Aggregation   FEOH - OE     08055748580000186792        Electric       Gov. Aggregation
AEP - OP      00140060766251053           Electric       Gov. Aggregation   FEOH - OE     08055796910001315976        Electric       Gov. Aggregation
AEP - OP      00140060766320512           Electric       Gov. Aggregation   FEOH - OE     08055836480001548503        Electric       Gov. Aggregation
AEP - OP      00140060766469045           Electric       Gov. Aggregation   FEOH - OE     08061741010001514477        Electric       Gov. Aggregation
AEP - OP      00140060750457400           Electric       Gov. Aggregation   FEOH - OE     08061744355000203191        Electric       Gov. Aggregation
AEP - OP      00140060750556235           Electric       Gov. Aggregation   FEOH - OE     08061817700000786528        Electric       Gov. Aggregation
AEP - OP      00140060750596870           Electric       Gov. Aggregation   FEOH - TE     08061895592390001349        Electric       Gov. Aggregation
AEP - OP      00140060750605945           Electric       Gov. Aggregation   FEOH - OE     08061933150001129849        Electric       Gov. Aggregation
AEP - OP      00140060750667914           Electric       Gov. Aggregation   FEOH - OE     08061979405001488383        Electric       Gov. Aggregation
AEP - OP      00140060750818310           Electric       Gov. Aggregation   FEOH - OE     08062191160000784663        Electric       Gov. Aggregation
AEP - OP      00140060750917364           Electric       Gov. Aggregation   FEOH - OE     08054675070001041657        Electric       Gov. Aggregation
AEP - OP      00140060764011071           Electric       Gov. Aggregation   FEOH - OE     08054717000001511136        Electric       Gov. Aggregation
AEP - OP      00140060764111192           Electric       Gov. Aggregation   FEOH - TE     08054722962850019845        Electric       Gov. Aggregation
AEP - OP      00140060764226525           Electric       Gov. Aggregation   FEOH - TE     08054728272080027321        Electric       Gov. Aggregation
AEP - OP      00140060764375272           Electric       Gov. Aggregation   FEOH - OE     08054763670000805420        Electric       Gov. Aggregation
AEP - OP      00140060764496155           Electric       Gov. Aggregation   FEOH - OE     08054777080000604165        Electric       Gov. Aggregation
AEP - OP      00140060764536833           Electric       Gov. Aggregation   FEOH - OE     08054779740001128215        Electric       Gov. Aggregation
AEP - OP      00140060764550483           Electric       Gov. Aggregation   FEOH - OE     08055521800000809418        Electric       Gov. Aggregation
AEP - OP      00140060761849834           Electric       Gov. Aggregation   FEOH - TE     08055555492810015597        Electric       Gov. Aggregation
AEP - OP      00140060761907183           Electric       Gov. Aggregation   FEOH - OE     08055595250001394093        Electric       Gov. Aggregation
AEP - OP      00140060761921131           Electric       Gov. Aggregation   FEOH - OE     08055656220000786356        Electric       Gov. Aggregation
AEP - OP      00140060761943370           Electric       Gov. Aggregation   FEOH - OE     08055676550000790644        Electric       Gov. Aggregation
AEP - OP      00140060762008593           Electric       Gov. Aggregation   FEOH - OE     08055694450001127759        Electric       Gov. Aggregation
AEP - OP      00140060762025564           Electric       Gov. Aggregation   FEOH - TE     08055812332850020666        Electric       Gov. Aggregation
AEP - OP      00140060762049035           Electric       Gov. Aggregation   FEOH - OE     08054818760001044235        Electric       Gov. Aggregation
AEP - OP      00140060755597115           Electric       Gov. Aggregation   FEOH - OE     08054820960001128376        Electric       Gov. Aggregation
AEP - OP      00140060755701574           Electric       Gov. Aggregation   FEOH - OE     08054837410000765637        Electric       Gov. Aggregation
AEP - OP      00140060755709981           Electric       Gov. Aggregation   FEOH - OE     08054857085000300443        Electric       Gov. Aggregation
AEP - OP      00140060755754995           Electric       Gov. Aggregation   FEOH - OE     08054893780000786891        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060755800230           Electric       Gov. Aggregation   FEOH - OE     08054910830000844695        Electric       Gov. Aggregation
AEP - OP      00140060755878044           Electric       Gov. Aggregation   FEOH - OE     08055877480001330700        Electric       Gov. Aggregation
AEP - OP      00140060755902605           Electric       Gov. Aggregation   FEOH - OE     08055881820000792326        Electric       Gov. Aggregation
AEP - OP      00140060764829633           Electric       Gov. Aggregation   FEOH - OE     08055925970000786445        Electric       Gov. Aggregation
AEP - OP      00140060765164062           Electric       Gov. Aggregation   FEOH - OE     08055936960001040676        Electric       Gov. Aggregation
AEP - OP      00140060765249074           Electric       Gov. Aggregation   FEOH - OE     08055948890001143054        Electric       Gov. Aggregation
AEP - OP      00140060765266304           Electric       Gov. Aggregation   FEOH - OE     08055982190000790774        Electric       Gov. Aggregation
AEP - OP      00140060765340424           Electric       Gov. Aggregation   FEOH - OE     08055991730000792335        Electric       Gov. Aggregation
AEP - OP      00140060765342700           Electric       Gov. Aggregation   FEOH - OE     08055836480001492671        Electric       Gov. Aggregation
AEP - OP      00140060765429034           Electric       Gov. Aggregation   FEOH - TE     08055906872900009186        Electric       Gov. Aggregation
AEP - OP      00140060751490961           Electric       Gov. Aggregation   FEOH - OE     08056005720000803806        Electric       Gov. Aggregation
AEP - OP      00140060751560075           Electric       Gov. Aggregation   FEOH - OE     08056018890000844888        Electric       Gov. Aggregation
AEP - OP      00140060751608254           Electric       Gov. Aggregation   FEOH - OE     08056023165001453264        Electric       Gov. Aggregation
AEP - OP      00140060751647284           Electric       Gov. Aggregation   FEOH - TE     08056048055000160706        Electric       Gov. Aggregation
AEP - OP      00140060751908335           Electric       Gov. Aggregation   FEOH - OE     08056087490000844464        Electric       Gov. Aggregation
AEP - OP      00140060752092195           Electric       Gov. Aggregation   FEOH - TE     08054964642600010706        Electric       Gov. Aggregation
AEP - OP      00140060752115362           Electric       Gov. Aggregation   FEOH - OE     08054977190000844749        Electric       Gov. Aggregation
AEP - OP      00140060756707914           Electric       Gov. Aggregation   FEOH - OE     08055030890001555264        Electric       Gov. Aggregation
AEP - OP      00140060756710984           Electric       Gov. Aggregation   FEOH - OE     08055032410001045661        Electric       Gov. Aggregation
AEP - OP      00140060756735243           Electric       Gov. Aggregation   FEOH - OE     08055108800000788932        Electric       Gov. Aggregation
AEP - OP      00140060756787361           Electric       Gov. Aggregation   FEOH - OE     08055140590000791069        Electric       Gov. Aggregation
AEP - OP      00140060756860415           Electric       Gov. Aggregation   FEOH - OE     08055210100001143097        Electric       Gov. Aggregation
AEP - OP      00140060756956992           Electric       Gov. Aggregation   FEOH - OE     08056001560001456912        Electric       Gov. Aggregation
AEP - OP      00140060757009684           Electric       Gov. Aggregation   FEOH - OE     08056072170001129396        Electric       Gov. Aggregation
AEP - OP      00140060750955891           Electric       Gov. Aggregation   FEOH - OE     08056118055000181367        Electric       Gov. Aggregation
AEP - OP      00140060751043695           Electric       Gov. Aggregation   FEOH - OE     08056159690001129711        Electric       Gov. Aggregation
AEP - OP      00140060751143353           Electric       Gov. Aggregation   FEOH - TE     08056226302680023315        Electric       Gov. Aggregation
AEP - OP      00140060751248672           Electric       Gov. Aggregation   FEOH - OE     08056237950000790332        Electric       Gov. Aggregation
AEP - OP      00140060751249355           Electric       Gov. Aggregation   FEOH - OE     08056241980001127967        Electric       Gov. Aggregation
AEP - OP      00140060751402633           Electric       Gov. Aggregation   FEOH - OE     08056088340000849371        Electric       Gov. Aggregation
AEP - OP      00140060751511473           Electric       Gov. Aggregation   FEOH - OE     08056125350000804535        Electric       Gov. Aggregation
AEP - OP      00140060762127162           Electric       Gov. Aggregation   FEOH - OE     08056241200000778350        Electric       Gov. Aggregation
AEP - OP      00140060762279082           Electric       Gov. Aggregation   FEOH - OE     08056276360000791050        Electric       Gov. Aggregation
AEP - OP      00140060762439075           Electric       Gov. Aggregation   FEOH - OE     08056308910000844788        Electric       Gov. Aggregation
AEP - OP      00140060762464385           Electric       Gov. Aggregation   FEOH - OE     08056384110001130188        Electric       Gov. Aggregation
AEP - OP      00140060762475081           Electric       Gov. Aggregation   FEOH - OE     08056495460000806162        Electric       Gov. Aggregation
AEP - OP      00140060762502081           Electric       Gov. Aggregation   FEOH - OE     08055374500001499073        Electric       Gov. Aggregation
AEP - OP      00140060762516954           Electric       Gov. Aggregation   FEOH - OE     08055425200000803861        Electric       Gov. Aggregation
AEP - OP      00140060764562803           Electric       Gov. Aggregation   FEOH - OE     08055428530001438382        Electric       Gov. Aggregation
AEP - OP      00140060764803122           Electric       Gov. Aggregation   FEOH - OE     08055428800001403788        Electric       Gov. Aggregation
AEP - OP      00140060764861541           Electric       Gov. Aggregation   FEOH - OE     08055428900000790864        Electric       Gov. Aggregation
AEP - OP      00140060764889655           Electric       Gov. Aggregation   FEOH - TE     08055646352900003463        Electric       Gov. Aggregation
AEP - OP      00140060764985500           Electric       Gov. Aggregation   FEOH - OE     08056511260001479605        Electric       Gov. Aggregation
AEP - OP      00140060765010600           Electric       Gov. Aggregation   FEOH - OE     08056592180000791293        Electric       Gov. Aggregation
AEP - OP      00140060765162295           Electric       Gov. Aggregation   FEOH - OE     08056663685001369302        Electric       Gov. Aggregation
AEP - OP      00140060755989734           Electric       Gov. Aggregation   FEOH - OE     08056695500001428163        Electric       Gov. Aggregation
AEP - OP      00140060756042631           Electric       Gov. Aggregation   FEOH - OE     08056746725000186559        Electric       Gov. Aggregation
AEP - OP      00140060756052785           Electric       Gov. Aggregation   FEOH - OE     08056799670001555775        Electric       Gov. Aggregation
AEP - OP      00140060756145084           Electric       Gov. Aggregation   FEOH - OE     08056862130000792605        Electric       Gov. Aggregation
AEP - OP      00140060756261505           Electric       Gov. Aggregation   FEOH - OE     08055701830000583985        Electric       Gov. Aggregation
AEP - OP      00140060756357444           Electric       Gov. Aggregation   FEOH - OE     08055719675001383349        Electric       Gov. Aggregation
AEP - OP      00140060766574923           Electric       Gov. Aggregation   FEOH - TE     08055734772850024469        Electric       Gov. Aggregation
AEP - OP      00140060766617280           Electric       Gov. Aggregation   FEOH - OE     08055758725001365735        Electric       Gov. Aggregation
AEP - OP      00140060766708930           Electric       Gov. Aggregation   FEOH - OE     08055788100001040396        Electric       Gov. Aggregation
AEP - OP      00140060766717283           Electric       Gov. Aggregation   FEOH - OE     08055811650001045196        Electric       Gov. Aggregation
AEP - OP      00140060766779215           Electric       Gov. Aggregation   FEOH - OE     08055818490000179031        Electric       Gov. Aggregation
AEP - OP      00140060767027594           Electric       Gov. Aggregation   FEOH - OE     08061170290000791607        Electric       Gov. Aggregation
AEP - OP      00140060765487012           Electric       Gov. Aggregation   FEOH - OE     08061170970001129876        Electric       Gov. Aggregation
AEP - OP      00140060765534984           Electric       Gov. Aggregation   FEOH - OE     08061230450000803981        Electric       Gov. Aggregation
AEP - OP      00140060765544344           Electric       Gov. Aggregation   FEOH - OE     08061232175001445246        Electric       Gov. Aggregation
AEP - OP      00140060765596911           Electric       Gov. Aggregation   FEOH - OE     08061238160000786457        Electric       Gov. Aggregation
AEP - OP      00140060765678330           Electric       Gov. Aggregation   FEOH - OE     08061264440000841302        Electric       Gov. Aggregation
AEP - OP      00140060765685375           Electric       Gov. Aggregation   FEOH - OE     08061109320000789113        Electric       Gov. Aggregation
AEP - OP      00140060765730455           Electric       Gov. Aggregation   FEOH - OE     08061142970000805475        Electric       Gov. Aggregation
AEP - OP      00140060752150921           Electric       Gov. Aggregation   FEOH - OE     08061162960001129627        Electric       Gov. Aggregation
AEP - OP      00140060752183862           Electric       Gov. Aggregation   FEOH - OE     08061238230001442446        Electric       Gov. Aggregation
AEP - OP      00140060752253195           Electric       Gov. Aggregation   FEOH - OE     08061256500000803250        Electric       Gov. Aggregation
AEP - OP      00140060752266191           Electric       Gov. Aggregation   FEOH - OE     08056363630000792610        Electric       Gov. Aggregation
AEP - OP      00140060752335042           Electric       Gov. Aggregation   FEOH - TE     08056373185001377426        Electric       Gov. Aggregation
AEP - OP      00140060752416132           Electric       Gov. Aggregation   FEOH - OE     08056470900001128181        Electric       Gov. Aggregation
AEP - OP      00140060752419790           Electric       Gov. Aggregation   FEOH - OE     08056478970000789337        Electric       Gov. Aggregation
AEP - OP      00140060757010195           Electric       Gov. Aggregation   FEOH - OE     08056553010000803687        Electric       Gov. Aggregation
AEP - OP      00140060757055480           Electric       Gov. Aggregation   FEOH - OE     08056637540001523390        Electric       Gov. Aggregation
AEP - OP      00140060757070031           Electric       Gov. Aggregation   FEOH - OE     08056676680000790402        Electric       Gov. Aggregation
AEP - OP      00140060757119631           Electric       Gov. Aggregation   FEOH - OE     08061169625001493958        Electric       Gov. Aggregation
AEP - OP      00140060757125301           Electric       Gov. Aggregation   FEOH - OE     08061219240001129777        Electric       Gov. Aggregation
AEP - OP      00140060757204374           Electric       Gov. Aggregation   FEOH - TE     08061226792620090825        Electric       Gov. Aggregation
AEP - OP      00140060757266802           Electric       Gov. Aggregation   FEOH - OE     08061236185001488699        Electric       Gov. Aggregation
AEP - OP      00140060762587680           Electric       Gov. Aggregation   FEOH - TE     08061301422380031266        Electric       Gov. Aggregation
AEP - OP      00140060762748553           Electric       Gov. Aggregation   FEOH - TE     08061059812210013790        Electric       Gov. Aggregation
AEP - OP      00140060762771385           Electric       Gov. Aggregation   FEOH - OE     08061116660001339604        Electric       Gov. Aggregation
AEP - OP      00140060762906754           Electric       Gov. Aggregation   FEOH - OE     08061375820001462604        Electric       Gov. Aggregation
AEP - OP      00140060762992985           Electric       Gov. Aggregation   FEOH - TE     08061459702030030591        Electric       Gov. Aggregation
AEP - OP      00140060763062680           Electric       Gov. Aggregation   FEOH - TE     08056899222210013414        Electric       Gov. Aggregation
AEP - OP      00140060763076525           Electric       Gov. Aggregation   FEOH - OE     08056920830000791713        Electric       Gov. Aggregation
AEP - OP      00140060765433152           Electric       Gov. Aggregation   FEOH - OE     08056994045000366083        Electric       Gov. Aggregation
AEP - OP      00140060765435214           Electric       Gov. Aggregation   FEOH - OE     08057010530000782618        Electric       Gov. Aggregation
AEP - OP      00140060765436893           Electric       Gov. Aggregation   FEOH - OE     08057111930000790515        Electric       Gov. Aggregation
AEP - OP      00140060765532870           Electric       Gov. Aggregation   FEOH - OE     08057365490000805478        Electric       Gov. Aggregation
AEP - OP      00140060765620133           Electric       Gov. Aggregation   FEOH - OE     08057396540000604123        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060765632632           Electric       Gov. Aggregation   FEOH - OE     08055867370001353757        Electric       Gov. Aggregation
AEP - OP      00140060767131471           Electric       Gov. Aggregation   FEOH - OE     08055867580001127489        Electric       Gov. Aggregation
AEP - OP      00140060767185032           Electric       Gov. Aggregation   FEOH - OE     08055956720001127572        Electric       Gov. Aggregation
AEP - OP      00140060767196811           Electric       Gov. Aggregation   FEOH - OE     08056007715000241375        Electric       Gov. Aggregation
AEP - OP      00140060767234160           Electric       Gov. Aggregation   FEOH - OE     08056010670000762690        Electric       Gov. Aggregation
AEP - OP      00140060767346385           Electric       Gov. Aggregation   FEOH - OE     08056067380000778404        Electric       Gov. Aggregation
AEP - OP      00140060767388495           Electric       Gov. Aggregation   FEOH - OE     08056072790001505565        Electric       Gov. Aggregation
AEP - OP      00140060767392934           Electric       Gov. Aggregation   FEOH - TE     08061297552080027388        Electric       Gov. Aggregation
AEP - OP      00140060751566994           Electric       Gov. Aggregation   FEOH - OE     08061313585001498411        Electric       Gov. Aggregation
AEP - OP      00140060751630812           Electric       Gov. Aggregation   FEOH - OE     08061444080000790538        Electric       Gov. Aggregation
AEP - OP      00140060751645700           Electric       Gov. Aggregation   FEOH - OE     08061560930001127619        Electric       Gov. Aggregation
AEP - OP      00140060751672124           Electric       Gov. Aggregation   FEOH - OE     08061610630001128609        Electric       Gov. Aggregation
AEP - OP      00140060751711573           Electric       Gov. Aggregation   FEOH - OE     08061341640000848952        Electric       Gov. Aggregation
AEP - OP      00140060751718001           Electric       Gov. Aggregation   FEOH - OE     08061356805000087993        Electric       Gov. Aggregation
AEP - OP      00140060751719661           Electric       Gov. Aggregation   FEOH - OE     08061382730001549549        Electric       Gov. Aggregation
AEP - OP      00140060756370032           Electric       Gov. Aggregation   FEOH - OE     08061561470001130782        Electric       Gov. Aggregation
AEP - OP      00140060756401555           Electric       Gov. Aggregation   FEOH - TE     08061642772640019342        Electric       Gov. Aggregation
AEP - OP      00140060756510861           Electric       Gov. Aggregation   FEOH - OE     08061656910001129564        Electric       Gov. Aggregation
AEP - OP      00140060756618615           Electric       Gov. Aggregation   FEOH - OE     08061854270001130943        Electric       Gov. Aggregation
AEP - OP      00140060756649634           Electric       Gov. Aggregation   FEOH - OE     08061320780001398993        Electric       Gov. Aggregation
AEP - OP      00140060756792731           Electric       Gov. Aggregation   FEOH - OE     08061422615001470539        Electric       Gov. Aggregation
AEP - OP      00140060765975464           Electric       Gov. Aggregation   FEOH - OE     08061428020000844449        Electric       Gov. Aggregation
AEP - OP      00140060766012344           Electric       Gov. Aggregation   FEOH - OE     08061446730001130996        Electric       Gov. Aggregation
AEP - OP      00140060766015512           Electric       Gov. Aggregation   FEOH - TE     08061453522600008935        Electric       Gov. Aggregation
AEP - OP      00140060766079620           Electric       Gov. Aggregation   FEOH - OE     08061460590000778550        Electric       Gov. Aggregation
AEP - OP      00140060766118880           Electric       Gov. Aggregation   FEOH - OE     08061469505001299858        Electric       Gov. Aggregation
AEP - OP      00140060766157711           Electric       Gov. Aggregation   FEOH - OE     08056804840001461060        Electric       Gov. Aggregation
AEP - OP      00140060766237893           Electric       Gov. Aggregation   FEOH - OE     08056818460001044261        Electric       Gov. Aggregation
AEP - OP      00140060757315095           Electric       Gov. Aggregation   FEOH - OE     08056831400001334590        Electric       Gov. Aggregation
AEP - OP      00140060757408500           Electric       Gov. Aggregation   FEOH - OE     08056833540001041331        Electric       Gov. Aggregation
AEP - OP      00140060757445102           Electric       Gov. Aggregation   FEOH - OE     08056855580001129617        Electric       Gov. Aggregation
AEP - OP      00140060757507750           Electric       Gov. Aggregation   FEOH - OE     08056923070000765230        Electric       Gov. Aggregation
AEP - OP      00140060757573970           Electric       Gov. Aggregation   FEOH - OE     08056993190000765288        Electric       Gov. Aggregation
AEP - OP      00140060757587871           Electric       Gov. Aggregation   FEOH - OE     08061517230001380675        Electric       Gov. Aggregation
AEP - OP      00140060757596523           Electric       Gov. Aggregation   FEOH - OE     08061518930001128303        Electric       Gov. Aggregation
AEP - OP      00140060763104331           Electric       Gov. Aggregation   FEOH - OE     08061532975000336796        Electric       Gov. Aggregation
AEP - OP      00140060763379851           Electric       Gov. Aggregation   FEOH - OE     08061612540001451723        Electric       Gov. Aggregation
AEP - OP      00140060763398665           Electric       Gov. Aggregation   FEOH - OE     08061640630001129524        Electric       Gov. Aggregation
AEP - OP      00140060763519250           Electric       Gov. Aggregation   FEOH - TE     08061670792080026915        Electric       Gov. Aggregation
AEP - OP      00140060763528844           Electric       Gov. Aggregation   FEOH - OE     08061727920001448634        Electric       Gov. Aggregation
AEP - OP      00140060763553463           Electric       Gov. Aggregation   FEOH - OE     08057429770001128963        Electric       Gov. Aggregation
AEP - OP      00140060765650591           Electric       Gov. Aggregation   FEOH - OE     08057500480001433558        Electric       Gov. Aggregation
AEP - OP      00140060765777815           Electric       Gov. Aggregation   FEOH - OE     08057597850000186460        Electric       Gov. Aggregation
AEP - OP      00140060765808563           Electric       Gov. Aggregation   FEOH - OE     08057602820000587064        Electric       Gov. Aggregation
AEP - OP      00140060765865685           Electric       Gov. Aggregation   FEOH - OE     08057619325000266958        Electric       Gov. Aggregation
AEP - OP      00140060765870114           Electric       Gov. Aggregation   FEOH - OE     08057811360000788936        Electric       Gov. Aggregation
AEP - OP      00140060765890641           Electric       Gov. Aggregation   FEOH - TE     08057953992600009834        Electric       Gov. Aggregation
AEP - OP      00140060765894903           Electric       Gov. Aggregation   FEOH - OE     08061619530000790651        Electric       Gov. Aggregation
AEP - OP      00140060756820173           Electric       Gov. Aggregation   FEOH - OE     08061847175001496953        Electric       Gov. Aggregation
AEP - OP      00140060756969293           Electric       Gov. Aggregation   FEOH - OE     08061982540000784622        Electric       Gov. Aggregation
AEP - OP      00140060756977514           Electric       Gov. Aggregation   FEOH - OE     08062032845001488631        Electric       Gov. Aggregation
AEP - OP      00140060757011333           Electric       Gov. Aggregation   FEOH - OE     08062043250000778739        Electric       Gov. Aggregation
AEP - OP      00140060757285163           Electric       Gov. Aggregation   FEOH - OE     08062080120000790383        Electric       Gov. Aggregation
AEP - OP      00140060757324515           Electric       Gov. Aggregation   FEOH - OE     08056171180000809568        Electric       Gov. Aggregation
AEP - OP      00140060767984795           Electric       Gov. Aggregation   FEOH - OE     08056171185000018930        Electric       Gov. Aggregation
AEP - OP      00140060768012171           Electric       Gov. Aggregation   FEOH - OE     08056182510001127818        Electric       Gov. Aggregation
AEP - OP      00140060768052182           Electric       Gov. Aggregation   FEOH - OE     08056258080001338223        Electric       Gov. Aggregation
AEP - OP      00140060768116013           Electric       Gov. Aggregation   FEOH - OE     08056341795001385807        Electric       Gov. Aggregation
AEP - OP      00140060768189384           Electric       Gov. Aggregation   FEOH - OE     08056369970000805513        Electric       Gov. Aggregation
AEP - OP      00140060768220963           Electric       Gov. Aggregation   FEOH - OE     08056420890001474114        Electric       Gov. Aggregation
AEP - OP      00140060768266085           Electric       Gov. Aggregation   FEOH - TE     08061485873000003037        Electric       Gov. Aggregation
AEP - OP      00140060752444484           Electric       Gov. Aggregation   FEOH - OE     08061590200000767147        Electric       Gov. Aggregation
AEP - OP      00140060752875255           Electric       Gov. Aggregation   FEOH - OE     08061619530000790647        Electric       Gov. Aggregation
AEP - OP      00140060752887764           Electric       Gov. Aggregation   FEOH - OE     08061737420001045161        Electric       Gov. Aggregation
AEP - OP      00140060752894191           Electric       Gov. Aggregation   FEOH - OE     08061746590001128887        Electric       Gov. Aggregation
AEP - OP      00140060753045844           Electric       Gov. Aggregation   FEOH - OE     08061756510000792351        Electric       Gov. Aggregation
AEP - OP      00140060753105341           Electric       Gov. Aggregation   FEOH - TE     08057143142380033238        Electric       Gov. Aggregation
AEP - OP      00140060751721764           Electric       Gov. Aggregation   FEOH - OE     08057294020000791088        Electric       Gov. Aggregation
AEP - OP      00140060751863424           Electric       Gov. Aggregation   FEOH - OE     08057301470001130397        Electric       Gov. Aggregation
AEP - OP      00140060751864634           Electric       Gov. Aggregation   FEOH - OE     08057308550000841308        Electric       Gov. Aggregation
AEP - OP      00140060751901542           Electric       Gov. Aggregation   FEOH - OE     08057310340000810149        Electric       Gov. Aggregation
AEP - OP      00140060751956662           Electric       Gov. Aggregation   FEOH - OE     08057371710001142742        Electric       Gov. Aggregation
AEP - OP      00140060751975105           Electric       Gov. Aggregation   FEOH - OE     08057442620001127892        Electric       Gov. Aggregation
AEP - OP      00140060766265973           Electric       Gov. Aggregation   FEOH - OE     08061767090001129291        Electric       Gov. Aggregation
AEP - OP      00140060766398563           Electric       Gov. Aggregation   FEOH - OE     08061779420000804100        Electric       Gov. Aggregation
AEP - OP      00140060766402391           Electric       Gov. Aggregation   FEOH - OE     08061795820001352538        Electric       Gov. Aggregation
AEP - OP      00140060766422983           Electric       Gov. Aggregation   FEOH - OE     08061815850001559334        Electric       Gov. Aggregation
AEP - OP      00140060766435622           Electric       Gov. Aggregation   FEOH - OE     08061839070000788795        Electric       Gov. Aggregation
AEP - OP      00140060766560923           Electric       Gov. Aggregation   FEOH - OE     08061894810000790424        Electric       Gov. Aggregation
AEP - OP      00140060766598923           Electric       Gov. Aggregation   FEOH - OE     08061920760000791186        Electric       Gov. Aggregation
AEP - OP      00140060757599961           Electric       Gov. Aggregation   FEOH - TE     08058021442810021917        Electric       Gov. Aggregation
AEP - OP      00140060757650464           Electric       Gov. Aggregation   FEOH - OE     08058026630000762672        Electric       Gov. Aggregation
AEP - OP      00140060757733353           Electric       Gov. Aggregation   FEOH - OE     08058205630000177957        Electric       Gov. Aggregation
AEP - OP      00140060757746022           Electric       Gov. Aggregation   FEOH - OE     08058378370000804832        Electric       Gov. Aggregation
AEP - OP      00140060757753833           Electric       Gov. Aggregation   FEOH - OE     08058446015000208155        Electric       Gov. Aggregation
AEP - OP      00140060757933590           Electric       Gov. Aggregation   FEOH - OE     08058572225001431355        Electric       Gov. Aggregation
AEP - OP      00140060757993503           Electric       Gov. Aggregation   FEOH - OE     08061813790000803673        Electric       Gov. Aggregation
AEP - OP      00140060763641040           Electric       Gov. Aggregation   FEOH - OE     08061905160000790505        Electric       Gov. Aggregation
AEP - OP      00140060763688063           Electric       Gov. Aggregation   FEOH - OE     08061915430001574638        Electric       Gov. Aggregation
AEP - OP      00140060763746001           Electric       Gov. Aggregation   FEOH - OE     08062003860001340882        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060763783494           Electric       Gov. Aggregation   FEOH - OE     08062189340001350062        Electric       Gov. Aggregation
AEP - OP      00140060763809844           Electric       Gov. Aggregation   FEOH - OE     08062194510001129885        Electric       Gov. Aggregation
AEP - OP      00140060764298111           Electric       Gov. Aggregation   FEOH - OE     08062259820000765244        Electric       Gov. Aggregation
AEP - OP      00140060764399905           Electric       Gov. Aggregation   FEOH - OE     08056493650000778228        Electric       Gov. Aggregation
AEP - OP      00140060766113595           Electric       Gov. Aggregation   FEOH - OE     08056509930001129827        Electric       Gov. Aggregation
AEP - OP      00140060766201281           Electric       Gov. Aggregation   FEOH - OE     08056513090000187101        Electric       Gov. Aggregation
AEP - OP      00140060766241810           Electric       Gov. Aggregation   FEOH - OE     08056596315001386490        Electric       Gov. Aggregation
AEP - OP      00140060766378701           Electric       Gov. Aggregation   FEOH - OE     08056617645001386575        Electric       Gov. Aggregation
AEP - OP      00140060766413414           Electric       Gov. Aggregation   FEOH - OE     08056691630000791026        Electric       Gov. Aggregation
AEP - OP      00140060766457631           Electric       Gov. Aggregation   FEOH - OE     08056728935001388778        Electric       Gov. Aggregation
AEP - OP      00140060757380851           Electric       Gov. Aggregation   FEOH - OE     08062257060001505341        Electric       Gov. Aggregation
AEP - OP      00140060757485182           Electric       Gov. Aggregation   FEOH - OE     08062263760000803776        Electric       Gov. Aggregation
AEP - OP      00140060757572343           Electric       Gov. Aggregation   FEOH - OE     08062285220000790732        Electric       Gov. Aggregation
AEP - OP      00140060757659941           Electric       Gov. Aggregation   FEOH - OE     08062315600000790371        Electric       Gov. Aggregation
AEP - OP      00140060757662923           Electric       Gov. Aggregation   FEOH - OE     08062322230000786384        Electric       Gov. Aggregation
AEP - OP      00140060757673765           Electric       Gov. Aggregation   FEOH - OE     08062349130001129258        Electric       Gov. Aggregation
AEP - OP      00140060757754985           Electric       Gov. Aggregation   FEOH - OE     08061882890000168367        Electric       Gov. Aggregation
AEP - OP      00140060768560642           Electric       Gov. Aggregation   FEOH - OE     08062068100001128848        Electric       Gov. Aggregation
AEP - OP      00140060768590123           Electric       Gov. Aggregation   FEOH - OE     08062242960001130532        Electric       Gov. Aggregation
AEP - OP      00140060768663921           Electric       Gov. Aggregation   FEOH - OE     08062247980001349266        Electric       Gov. Aggregation
AEP - OP      00140060768894055           Electric       Gov. Aggregation   FEOH - OE     08062358520001127588        Electric       Gov. Aggregation
AEP - OP      00140060768972524           Electric       Gov. Aggregation   FEOH - OE     08062100180000806111        Electric       Gov. Aggregation
AEP - OP      00140060769101712           Electric       Gov. Aggregation   FEOH - TE     08062183732600008968        Electric       Gov. Aggregation
AEP - OP      00140060753128845           Electric       Gov. Aggregation   FEOH - OE     08062186880000791037        Electric       Gov. Aggregation
AEP - OP      00140060753288210           Electric       Gov. Aggregation   FEOH - OE     08062275350001131045        Electric       Gov. Aggregation
AEP - OP      00140060753298033           Electric       Gov. Aggregation   FEOH - OE     08062376040000809419        Electric       Gov. Aggregation
AEP - OP      00140060753307214           Electric       Gov. Aggregation   FEOH - TE     08062385772010093535        Electric       Gov. Aggregation
AEP - OP      00140060753348461           Electric       Gov. Aggregation   FEOH - OE     08062439190000810046        Electric       Gov. Aggregation
AEP - OP      00140060753396554           Electric       Gov. Aggregation   FEOH - OE     08057548410000844699        Electric       Gov. Aggregation
AEP - OP      00140060753530372           Electric       Gov. Aggregation   FEOH - OE     08057654900000790178        Electric       Gov. Aggregation
AEP - OP      00140060752049771           Electric       Gov. Aggregation   FEOH - OE     08057711010001143265        Electric       Gov. Aggregation
AEP - OP      00140060752061224           Electric       Gov. Aggregation   FEOH - OE     08057756690000762734        Electric       Gov. Aggregation
AEP - OP      00140060752139634           Electric       Gov. Aggregation   FEOH - OE     08057761160001129245        Electric       Gov. Aggregation
AEP - OP      00140060752440951           Electric       Gov. Aggregation   FEOH - OE     08057795820001130710        Electric       Gov. Aggregation
AEP - OP      00140060752507372           Electric       Gov. Aggregation   FEOH - OE     08057896300001131051        Electric       Gov. Aggregation
AEP - OP      00140060752517043           Electric       Gov. Aggregation   FEOH - OE     08061973920001411894        Electric       Gov. Aggregation
AEP - OP      00140060752563903           Electric       Gov. Aggregation   FEOH - TE     08061981882680023368        Electric       Gov. Aggregation
AEP - OP      00140060766769990           Electric       Gov. Aggregation   FEOH - OE     08061989610000177956        Electric       Gov. Aggregation
AEP - OP      00140060766778481           Electric       Gov. Aggregation   FEOH - OE     08061995520000587889        Electric       Gov. Aggregation
AEP - OP      00140060766810545           Electric       Gov. Aggregation   FEOH - TE     08062038322380032785        Electric       Gov. Aggregation
AEP - OP      00140060766823883           Electric       Gov. Aggregation   FEOH - OE     08062099290000844508        Electric       Gov. Aggregation
AEP - OP      00140060766937233           Electric       Gov. Aggregation   FEOH - OE     08058603810001130909        Electric       Gov. Aggregation
AEP - OP      00140060766939143           Electric       Gov. Aggregation   FEOH - OE     08058691900001363834        Electric       Gov. Aggregation
AEP - OP      00140060767081313           Electric       Gov. Aggregation   FEOH - OE     08058721290000791746        Electric       Gov. Aggregation
AEP - OP      00140060766489001           Electric       Gov. Aggregation   FEOH - OE     08058783150000809448        Electric       Gov. Aggregation
AEP - OP      00140060766504600           Electric       Gov. Aggregation   FEOH - TE     08058885435001437959        Electric       Gov. Aggregation
AEP - OP      00140060766563424           Electric       Gov. Aggregation   FEOH - OE     08058902590001142485        Electric       Gov. Aggregation
AEP - OP      00140060766607420           Electric       Gov. Aggregation   FEOH - OE     08059044570000790507        Electric       Gov. Aggregation
AEP - OP      00140060766643481           Electric       Gov. Aggregation   FEOH - OE     08062262030000844899        Electric       Gov. Aggregation
AEP - OP      00140060766764345           Electric       Gov. Aggregation   FEOH - OE     08062339380001127698        Electric       Gov. Aggregation
AEP - OP      00140060766788895           Electric       Gov. Aggregation   FEOH - OE     08062351010000776728        Electric       Gov. Aggregation
AEP - OP      00140060766821531           Electric       Gov. Aggregation   FEOH - OE     08062416140001129585        Electric       Gov. Aggregation
AEP - OP      00140060766824673           Electric       Gov. Aggregation   FEOH - OE     08062421380000804027        Electric       Gov. Aggregation
AEP - OP      00140060766863601           Electric       Gov. Aggregation   FEOH - OE     08062428270000784390        Electric       Gov. Aggregation
AEP - OP      00140060766955310           Electric       Gov. Aggregation   FEOH - OE     08056767130000803073        Electric       Gov. Aggregation
AEP - OP      00140060767172621           Electric       Gov. Aggregation   FEOH - OE     08057004660000844743        Electric       Gov. Aggregation
AEP - OP      00140060767216005           Electric       Gov. Aggregation   FEOH - OE     08057035600001364820        Electric       Gov. Aggregation
AEP - OP      00140060767237103           Electric       Gov. Aggregation   FEOH - OE     08057073830001365135        Electric       Gov. Aggregation
AEP - OP      00140060769121834           Electric       Gov. Aggregation   FEOH - OE     08057286780000792367        Electric       Gov. Aggregation
AEP - OP      00140060769146601           Electric       Gov. Aggregation   FEOH - OE     08057381550001130196        Electric       Gov. Aggregation
AEP - OP      00140060769218921           Electric       Gov. Aggregation   FEOH - OE     08057428450001404202        Electric       Gov. Aggregation
AEP - OP      00140060769330305           Electric       Gov. Aggregation   FEOH - TE     08062368962030030731        Electric       Gov. Aggregation
AEP - OP      00140060769535344           Electric       Gov. Aggregation   FEOH - OE     08062379550001369977        Electric       Gov. Aggregation
AEP - OP      00140060769548971           Electric       Gov. Aggregation   FEOH - TE     08062441595000349258        Electric       Gov. Aggregation
AEP - OP      00140060769656830           Electric       Gov. Aggregation   FEOH - OE     08062487550000804696        Electric       Gov. Aggregation
AEP - OP      00140060752658180           Electric       Gov. Aggregation   FEOH - OE     08062516235001466222        Electric       Gov. Aggregation
AEP - OP      00140060752924854           Electric       Gov. Aggregation   FEOH - TE     08062529032810021969        Electric       Gov. Aggregation
AEP - OP      00140060753219364           Electric       Gov. Aggregation   FEOH - OE     08062546470000803329        Electric       Gov. Aggregation
AEP - OP      00140060753508760           Electric       Gov. Aggregation   FEOH - TE     08057904622420032068        Electric       Gov. Aggregation
AEP - OP      00140060753727604           Electric       Gov. Aggregation   FEOH - OE     08057957760000177900        Electric       Gov. Aggregation
AEP - OP      00140060753998351           Electric       Gov. Aggregation   FEOH - OE     08058038560000765287        Electric       Gov. Aggregation
AEP - OP      00140060754035505           Electric       Gov. Aggregation   FEOH - OE     08058082990000780241        Electric       Gov. Aggregation
AEP - OP      00140060767081400           Electric       Gov. Aggregation   FEOH - OE     08058102720000778549        Electric       Gov. Aggregation
AEP - OP      00140060767198155           Electric       Gov. Aggregation   FEOH - TE     08058145152810018523        Electric       Gov. Aggregation
AEP - OP      00140060767414172           Electric       Gov. Aggregation   FEOH - OE     08058210460000766151        Electric       Gov. Aggregation
AEP - OP      00140060767440250           Electric       Gov. Aggregation   FEOH - OE     08059126280001528432        Electric       Gov. Aggregation
AEP - OP      00140060767535381           Electric       Gov. Aggregation   FEOH - OE     08059136250000806055        Electric       Gov. Aggregation
AEP - OP      00140060767567384           Electric       Gov. Aggregation   FEOH - OE     08059137425000223422        Electric       Gov. Aggregation
AEP - OP      00140060767654840           Electric       Gov. Aggregation   FEOH - OE     08059183880000844711        Electric       Gov. Aggregation
AEP - OP      00140060758043375           Electric       Gov. Aggregation   FEOH - TE     08059209592900003355        Electric       Gov. Aggregation
AEP - OP      00140060758149051           Electric       Gov. Aggregation   FEOH - OE     08059289860001129650        Electric       Gov. Aggregation
AEP - OP      00140060758189764           Electric       Gov. Aggregation   FEOH - TE     08059305432810022234        Electric       Gov. Aggregation
AEP - OP      00140060758373821           Electric       Gov. Aggregation   FEOH - OE     08057548410000844698        Electric       Gov. Aggregation
AEP - OP      00140060758376731           Electric       Gov. Aggregation   FEOH - OE     08057565080001371607        Electric       Gov. Aggregation
AEP - OP      00140060758625425           Electric       Gov. Aggregation   FEOH - OE     08057576000000849314        Electric       Gov. Aggregation
AEP - OP      00140060758641875           Electric       Gov. Aggregation   FEOH - OE     08057602820000587058        Electric       Gov. Aggregation
AEP - OP      00140060769678735           Electric       Gov. Aggregation   FEOH - OE     08057610650000803324        Electric       Gov. Aggregation
AEP - OP      00140060769796604           Electric       Gov. Aggregation   FEOH - OE     08057941750000187191        Electric       Gov. Aggregation
AEP - OP      00140060769935802           Electric       Gov. Aggregation   FEOH - OE     08058342400001042039        Electric       Gov. Aggregation
AEP - OP      00140060770080642           Electric       Gov. Aggregation   FEOH - TE     08058342622030033029        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060770255125           Electric       Gov. Aggregation   FEOH - OE     08058509450001418591        Electric       Gov. Aggregation
AEP - OP      00140060770278445           Electric       Gov. Aggregation   FEOH - OE     08058584040001438636        Electric       Gov. Aggregation
AEP - OP      00140060770281621           Electric       Gov. Aggregation   FEOH - OE     08058609460000804878        Electric       Gov. Aggregation
AEP - OP      00140060764519381           Electric       Gov. Aggregation   FEOH - OE     08058625220001131467        Electric       Gov. Aggregation
AEP - OP      00140060764549303           Electric       Gov. Aggregation   FEOH - OE     08059311620000788908        Electric       Gov. Aggregation
AEP - OP      00140060764681591           Electric       Gov. Aggregation   FEOH - OE     08059356420001568256        Electric       Gov. Aggregation
AEP - OP      00140060764778504           Electric       Gov. Aggregation   FEOH - OE     08059452960001129456        Electric       Gov. Aggregation
AEP - OP      00140060765077744           Electric       Gov. Aggregation   FEOH - OE     08059477900001561574        Electric       Gov. Aggregation
AEP - OP      00140060753531263           Electric       Gov. Aggregation   FEOH - OE     08059490850000803609        Electric       Gov. Aggregation
AEP - OP      00140060753776660           Electric       Gov. Aggregation   FEOH - OE     08059530710001142065        Electric       Gov. Aggregation
AEP - OP      00140060753917703           Electric       Gov. Aggregation   FEOH - OE     08059588220001421869        Electric       Gov. Aggregation
AEP - OP      00140060754014760           Electric       Gov. Aggregation   FEOH - OE     08058078270001128932        Electric       Gov. Aggregation
AEP - OP      00140060754032680           Electric       Gov. Aggregation   FEOH - OE     08058093910001130468        Electric       Gov. Aggregation
AEP - OP      00140060754040782           Electric       Gov. Aggregation   FEOH - OE     08058120740000187225        Electric       Gov. Aggregation
AEP - OP      00140060754044520           Electric       Gov. Aggregation   FEOH - OE     08058162030000584244        Electric       Gov. Aggregation
AEP - OP      00140060767395291           Electric       Gov. Aggregation   FEOH - OE     08058185390001417429        Electric       Gov. Aggregation
AEP - OP      00140060767555052           Electric       Gov. Aggregation   FEOH - OE     08058202840000803797        Electric       Gov. Aggregation
AEP - OP      00140060767813745           Electric       Gov. Aggregation   FEOH - OE     08058649920000844885        Electric       Gov. Aggregation
AEP - OP      00140060767846943           Electric       Gov. Aggregation   FEOH - OE     08058711870001349579        Electric       Gov. Aggregation
AEP - OP      00140060767922053           Electric       Gov. Aggregation   FEOH - OE     08058844670000187092        Electric       Gov. Aggregation
AEP - OP      00140060768035245           Electric       Gov. Aggregation   FEOH - OE     08058864855001437374        Electric       Gov. Aggregation
AEP - OP      00140060768170284           Electric       Gov. Aggregation   FEOH - OE     08058884090000791242        Electric       Gov. Aggregation
AEP - OP      00140060767702804           Electric       Gov. Aggregation   FEOH - OE     08058912500001128439        Electric       Gov. Aggregation
AEP - OP      00140060767706814           Electric       Gov. Aggregation   FEOH - TE     08059695622850022820        Electric       Gov. Aggregation
AEP - OP      00140060767866762           Electric       Gov. Aggregation   FEOH - OE     08059700160001141972        Electric       Gov. Aggregation
AEP - OP      00140060767998012           Electric       Gov. Aggregation   FEOH - OE     08059826350000810166        Electric       Gov. Aggregation
AEP - OP      00140060768039113           Electric       Gov. Aggregation   FEOH - OE     08059852250001130914        Electric       Gov. Aggregation
AEP - OP      00140060768049894           Electric       Gov. Aggregation   FEOH - OE     08059867680000780111        Electric       Gov. Aggregation
AEP - OP      00140060765086410           Electric       Gov. Aggregation   FEOH - TE     08059868542920090111        Electric       Gov. Aggregation
AEP - OP      00140060765139854           Electric       Gov. Aggregation   FEOH - OE     08058328310001315489        Electric       Gov. Aggregation
AEP - OP      00140060765273162           Electric       Gov. Aggregation   FEOH - OE     08058531520001130742        Electric       Gov. Aggregation
AEP - OP      00140060765296500           Electric       Gov. Aggregation   FEOH - OE     08058542980001401552        Electric       Gov. Aggregation
AEP - OP      00140060765303115           Electric       Gov. Aggregation   FEOH - TE     08058622102600006925        Electric       Gov. Aggregation
AEP - OP      00140060765317043           Electric       Gov. Aggregation   FEOH - OE     08058745030000844683        Electric       Gov. Aggregation
AEP - OP      00140060765375784           Electric       Gov. Aggregation   FEOH - OE     08058791560000789877        Electric       Gov. Aggregation
AEP - OP      00140060768304384           Electric       Gov. Aggregation   FEOH - OE     08058864100001143283        Electric       Gov. Aggregation
AEP - OP      00140060768310221           Electric       Gov. Aggregation   FEOH - OE     08058947520000804028        Electric       Gov. Aggregation
AEP - OP      00140060768442401           Electric       Gov. Aggregation   FEOH - OE     08058987470001396005        Electric       Gov. Aggregation
AEP - OP      00140060768494940           Electric       Gov. Aggregation   FEOH - OE     08059051590001381882        Electric       Gov. Aggregation
AEP - OP      00140060768565520           Electric       Gov. Aggregation   FEOH - OE     08059054470000804837        Electric       Gov. Aggregation
AEP - OP      00140060768845073           Electric       Gov. Aggregation   FEOH - TE     08059084942680023781        Electric       Gov. Aggregation
AEP - OP      00140060768245200           Electric       Gov. Aggregation   FEOH - TE     08059128242170013193        Electric       Gov. Aggregation
AEP - OP      00140060768293844           Electric       Gov. Aggregation   FEOH - OE     08059144170000770541        Electric       Gov. Aggregation
AEP - OP      00140060768414603           Electric       Gov. Aggregation   FEOH - OE     08059963330000844466        Electric       Gov. Aggregation
AEP - OP      00140060768471182           Electric       Gov. Aggregation   FEOH - OE     08059981370000844728        Electric       Gov. Aggregation
AEP - OP      00140060768561683           Electric       Gov. Aggregation   FEOH - TE     08060027222080027693        Electric       Gov. Aggregation
AEP - OP      00140060768646031           Electric       Gov. Aggregation   FEOH - OE     08060373630000782594        Electric       Gov. Aggregation
AEP - OP      00140060768746292           Electric       Gov. Aggregation   FEOH - OE     08060380960000791464        Electric       Gov. Aggregation
AEP - OP      00140060765442695           Electric       Gov. Aggregation   FEOH - OE     08058938900000786367        Electric       Gov. Aggregation
AEP - OP      00140060765476160           Electric       Gov. Aggregation   FEOH - OE     08058942410000844716        Electric       Gov. Aggregation
AEP - OP      00140060765529080           Electric       Gov. Aggregation   FEOH - OE     08059037020001491222        Electric       Gov. Aggregation
AEP - OP      00140060765836525           Electric       Gov. Aggregation   FEOH - OE     08059089430000789024        Electric       Gov. Aggregation
AEP - OP      00140060765886901           Electric       Gov. Aggregation   FEOH - OE     08059149480000790294        Electric       Gov. Aggregation
AEP - OP      00140060765890385           Electric       Gov. Aggregation   FEOH - OE     08059173700000784280        Electric       Gov. Aggregation
AEP - OP      00140060766020875           Electric       Gov. Aggregation   FEOH - OE     08059224320001130804        Electric       Gov. Aggregation
AEP - OP      00140060754397230           Electric       Gov. Aggregation   FEOH - OE     08059361560001137739        Electric       Gov. Aggregation
AEP - OP      00140060754422201           Electric       Gov. Aggregation   FEOH - TE     08059451422210012497        Electric       Gov. Aggregation
AEP - OP      00140060754525433           Electric       Gov. Aggregation   FEOH - OE     08059471340000792416        Electric       Gov. Aggregation
AEP - OP      00140060754661110           Electric       Gov. Aggregation   FEOH - OE     08059499870000844690        Electric       Gov. Aggregation
AEP - OP      00140060754702365           Electric       Gov. Aggregation   FEOH - TE     08059524372600009393        Electric       Gov. Aggregation
AEP - OP      00140060754766444           Electric       Gov. Aggregation   FEOH - TE     08059549462080028319        Electric       Gov. Aggregation
AEP - OP      00140060754950954           Electric       Gov. Aggregation   FEOH - OE     08060522130000844599        Electric       Gov. Aggregation
AEP - OP      00140060770368181           Electric       Gov. Aggregation   FEOH - OE     08060562780001142745        Electric       Gov. Aggregation
AEP - OP      00140060770431905           Electric       Gov. Aggregation   FEOH - TE     08060597782680023349        Electric       Gov. Aggregation
AEP - OP      00140060770514781           Electric       Gov. Aggregation   FEOH - OE     08060610180001129952        Electric       Gov. Aggregation
AEP - OP      00140060770770011           Electric       Gov. Aggregation   FEOH - TE     08060647432640020801        Electric       Gov. Aggregation
AEP - OP      00140060770770070           Electric       Gov. Aggregation   FEOH - TE     08060675902030030961        Electric       Gov. Aggregation
AEP - OP      00140060770912122           Electric       Gov. Aggregation   FEOH - TE     08060688732090091653        Electric       Gov. Aggregation
AEP - OP      00140060770943024           Electric       Gov. Aggregation   FEOH - OE     08059189560000803594        Electric       Gov. Aggregation
AEP - OP      00140060754054191           Electric       Gov. Aggregation   FEOH - OE     08059220490001127560        Electric       Gov. Aggregation
AEP - OP      00140060754088845           Electric       Gov. Aggregation   FEOH - OE     08059230090000791556        Electric       Gov. Aggregation
AEP - OP      00140060754089131           Electric       Gov. Aggregation   FEOH - OE     08059279170000803255        Electric       Gov. Aggregation
AEP - OP      00140060754114661           Electric       Gov. Aggregation   FEOH - OE     08059287240001129879        Electric       Gov. Aggregation
AEP - OP      00140060754445633           Electric       Gov. Aggregation   FEOH - OE     08059289980001142116        Electric       Gov. Aggregation
AEP - OP      00140060754521792           Electric       Gov. Aggregation   FEOH - OE     08059304780001130046        Electric       Gov. Aggregation
AEP - OP      00140060754535570           Electric       Gov. Aggregation   FEOH - OE     08059618000000805413        Electric       Gov. Aggregation
AEP - OP      00140060768810465           Electric       Gov. Aggregation   FEOH - OE     08059697980000788809        Electric       Gov. Aggregation
AEP - OP      00140060768981684           Electric       Gov. Aggregation   FEOH - OE     08059715065000390391        Electric       Gov. Aggregation
AEP - OP      00140060769026315           Electric       Gov. Aggregation   FEOH - OE     08059751470000844650        Electric       Gov. Aggregation
AEP - OP      00140060769108520           Electric       Gov. Aggregation   FEOH - TE     08059790502640019751        Electric       Gov. Aggregation
AEP - OP      00140060769123785           Electric       Gov. Aggregation   FEOH - OE     08059862300000592321        Electric       Gov. Aggregation
AEP - OP      00140060769226533           Electric       Gov. Aggregation   FEOH - OE     08059983870000782375        Electric       Gov. Aggregation
AEP - OP      00140060757995391           Electric       Gov. Aggregation   FEOH - OE     08060798770000766212        Electric       Gov. Aggregation
AEP - OP      00140060758111944           Electric       Gov. Aggregation   FEOH - TE     08060850202900005646        Electric       Gov. Aggregation
AEP - OP      00140060758217935           Electric       Gov. Aggregation   FEOH - OE     08060898120000777865        Electric       Gov. Aggregation
AEP - OP      00140060758232791           Electric       Gov. Aggregation   FEOH - OE     08060936455001488161        Electric       Gov. Aggregation
AEP - OP      00140060758241971           Electric       Gov. Aggregation   FEOH - OE     08060952300000778684        Electric       Gov. Aggregation
AEP - OP      00140060758256611           Electric       Gov. Aggregation   FEOH - OE     08060985360000805551        Electric       Gov. Aggregation
AEP - OP      00140060758339203           Electric       Gov. Aggregation   FEOH - OE     08060065040000788914        Electric       Gov. Aggregation
AEP - OP      00140060755000391           Electric       Gov. Aggregation   FEOH - OE     08060096350001373716        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060755124503           Electric       Gov. Aggregation   FEOH - OE     08060124450000841395        Electric       Gov. Aggregation
AEP - OP      00140060755266905           Electric       Gov. Aggregation   FEOH - TE     08060139202360091307        Electric       Gov. Aggregation
AEP - OP      00140060755710365           Electric       Gov. Aggregation   FEOH - OE     08060241310001408772        Electric       Gov. Aggregation
AEP - OP      00140060755724781           Electric       Gov. Aggregation   FEOH - OE     08060280650000786649        Electric       Gov. Aggregation
AEP - OP      00140060755725800           Electric       Gov. Aggregation   FEOH - OE     08060312055000070702        Electric       Gov. Aggregation
AEP - OP      00140060758669680           Electric       Gov. Aggregation   FEOH - OE     08059364370001142141        Electric       Gov. Aggregation
AEP - OP      00140060758789025           Electric       Gov. Aggregation   FEOH - OE     08059384870000810101        Electric       Gov. Aggregation
AEP - OP      00140060758806133           Electric       Gov. Aggregation   FEOH - OE     08059386080000786823        Electric       Gov. Aggregation
AEP - OP      00140060758930165           Electric       Gov. Aggregation   FEOH - OE     08059406320001370261        Electric       Gov. Aggregation
AEP - OP      00140060758946900           Electric       Gov. Aggregation   FEOH - OE     08059413340000792176        Electric       Gov. Aggregation
AEP - OP      00140060759037603           Electric       Gov. Aggregation   FEOH - TE     08059426692380031482        Electric       Gov. Aggregation
AEP - OP      00140060759181155           Electric       Gov. Aggregation   FEOH - OE     08059464790000844483        Electric       Gov. Aggregation
AEP - OP      00140060768853912           Electric       Gov. Aggregation   FEOH - OE     08061030790001439605        Electric       Gov. Aggregation
AEP - OP      00140060768965131           Electric       Gov. Aggregation   FEOH - OE     08061039220001042234        Electric       Gov. Aggregation
AEP - OP      00140060768987885           Electric       Gov. Aggregation   FEOH - TE     08061040002210013199        Electric       Gov. Aggregation
AEP - OP      00140060769084405           Electric       Gov. Aggregation   FEOH - OE     08061052410000782493        Electric       Gov. Aggregation
AEP - OP      00140060769113190           Electric       Gov. Aggregation   FEOH - OE     08061066450000803960        Electric       Gov. Aggregation
AEP - OP      00140060769241060           Electric       Gov. Aggregation   FEOH - OE     08061106350001351281        Electric       Gov. Aggregation
AEP - OP      00140060769341422           Electric       Gov. Aggregation   FEOH - OE     08061173660000804219        Electric       Gov. Aggregation
AEP - OP      00140060771235520           Electric       Gov. Aggregation   FEOH - OE     08060465940000791489        Electric       Gov. Aggregation
AEP - OP      00140060771243361           Electric       Gov. Aggregation   FEOH - OE     08060521640000848818        Electric       Gov. Aggregation
AEP - OP      00140060771306440           Electric       Gov. Aggregation   FEOH - OE     08060540920000803722        Electric       Gov. Aggregation
AEP - OP      00140060771343595           Electric       Gov. Aggregation   FEOH - OE     08060746710001403551        Electric       Gov. Aggregation
AEP - OP      00140060771359852           Electric       Gov. Aggregation   FEOH - TE     08060747592600010068        Electric       Gov. Aggregation
AEP - OP      00140060771481440           Electric       Gov. Aggregation   FEOH - TE     08060750212380033280        Electric       Gov. Aggregation
AEP - OP      00140060754583894           Electric       Gov. Aggregation   FEOH - OE     08060790450000803620        Electric       Gov. Aggregation
AEP - OP      00140060754606741           Electric       Gov. Aggregation   FEOH - TE     08059530482040000813        Electric       Gov. Aggregation
AEP - OP      00140060754618470           Electric       Gov. Aggregation   FEOH - OE     08059551900000844696        Electric       Gov. Aggregation
AEP - OP      00140060754682573           Electric       Gov. Aggregation   FEOH - OE     08059556740001128728        Electric       Gov. Aggregation
AEP - OP      00140060754732681           Electric       Gov. Aggregation   FEOH - OE     08059561050001494630        Electric       Gov. Aggregation
AEP - OP      00140060754790330           Electric       Gov. Aggregation   FEOH - OE     08059571460001532533        Electric       Gov. Aggregation
AEP - OP      00140060754808631           Electric       Gov. Aggregation   FEOH - OE     08059586080000784684        Electric       Gov. Aggregation
AEP - OP      00140060769243470           Electric       Gov. Aggregation   FEOH - TE     08061207222680023851        Electric       Gov. Aggregation
AEP - OP      00140060769305911           Electric       Gov. Aggregation   FEOH - OE     08061237000000168237        Electric       Gov. Aggregation
AEP - OP      00140060769388780           Electric       Gov. Aggregation   FEOH - TE     08061272012380031759        Electric       Gov. Aggregation
AEP - OP      00140060769612184           Electric       Gov. Aggregation   FEOH - OE     08061289360001306801        Electric       Gov. Aggregation
AEP - OP      00140060769665022           Electric       Gov. Aggregation   FEOH - OE     08061317750000786297        Electric       Gov. Aggregation
AEP - OP      00140060769768143           Electric       Gov. Aggregation   FEOH - OE     08060792365001484915        Electric       Gov. Aggregation
AEP - OP      00140060755794735           Electric       Gov. Aggregation   FEOH - OE     08060884040000778693        Electric       Gov. Aggregation
AEP - OP      00140060755797751           Electric       Gov. Aggregation   FEOH - TE     08060958722600008367        Electric       Gov. Aggregation
AEP - OP      00140060756018580           Electric       Gov. Aggregation   FEOH - OE     08060986690001501553        Electric       Gov. Aggregation
AEP - OP      00140060756076291           Electric       Gov. Aggregation   FEOH - OE     08061186330001131187        Electric       Gov. Aggregation
AEP - OP      00140060756076293           Electric       Gov. Aggregation   FEOH - OE     08061219240001129776        Electric       Gov. Aggregation
AEP - OP      00140060756081150           Electric       Gov. Aggregation   FEOH - OE     08061240120000849163        Electric       Gov. Aggregation
AEP - OP      00140060756170833           Electric       Gov. Aggregation   FEOH - TE     08059680652300030579        Electric       Gov. Aggregation
AEP - OP      00140060758403554           Electric       Gov. Aggregation   FEOH - OE     08059681760001460221        Electric       Gov. Aggregation
AEP - OP      00140060758409121           Electric       Gov. Aggregation   FEOH - OE     08059692660001142883        Electric       Gov. Aggregation
AEP - OP      00140060758497180           Electric       Gov. Aggregation   FEOH - OE     08059700160001142258        Electric       Gov. Aggregation
AEP - OP      00140060758598585           Electric       Gov. Aggregation   FEOH - OE     08059706340001488672        Electric       Gov. Aggregation
AEP - OP      00140060758601611           Electric       Gov. Aggregation   FEOH - OE     08059714590000788792        Electric       Gov. Aggregation
AEP - OP      00140060758729830           Electric       Gov. Aggregation   FEOH - OE     08059746460000788501        Electric       Gov. Aggregation
AEP - OP      00140060758773863           Electric       Gov. Aggregation   FEOH - OE     08062104180001129057        Electric       Gov. Aggregation
AEP - OP      00140060759433661           Electric       Gov. Aggregation   FEOH - OE     08062230610000804406        Electric       Gov. Aggregation
AEP - OP      00140060759442565           Electric       Gov. Aggregation   FEOH - OE     08062303880000805559        Electric       Gov. Aggregation
AEP - OP      00140060759480315           Electric       Gov. Aggregation   FEOH - OE     08062427180001485917        Electric       Gov. Aggregation
AEP - OP      00140060759654821           Electric       Gov. Aggregation   FEOH - OE     08062489490000803670        Electric       Gov. Aggregation
AEP - OP      00140060759773701           Electric       Gov. Aggregation   FEOH - OE     08062548480001493775        Electric       Gov. Aggregation
AEP - OP      00140060759908650           Electric       Gov. Aggregation   FEOH - OE     08062556770001475230        Electric       Gov. Aggregation
AEP - OP      00140060759977482           Electric       Gov. Aggregation   FEOH - TE     08061345942900007871        Electric       Gov. Aggregation
AEP - OP      00140060771504734           Electric       Gov. Aggregation   FEOH - OE     08061381775001284857        Electric       Gov. Aggregation
AEP - OP      00140060771539032           Electric       Gov. Aggregation   FEOH - OE     08061450820001503504        Electric       Gov. Aggregation
AEP - OP      00140060771545834           Electric       Gov. Aggregation   FEOH - OE     08061500065001493910        Electric       Gov. Aggregation
AEP - OP      00140060771684992           Electric       Gov. Aggregation   FEOH - OE     08061558120000810032        Electric       Gov. Aggregation
AEP - OP      00140060771699612           Electric       Gov. Aggregation   FEOH - OE     08061563660001557343        Electric       Gov. Aggregation
AEP - OP      00140060771741223           Electric       Gov. Aggregation   FEOH - OE     08061664290000791271        Electric       Gov. Aggregation
AEP - OP      00140060771989361           Electric       Gov. Aggregation   FEOH - OE     08061673760000791301        Electric       Gov. Aggregation
AEP - OP      00140060766152510           Electric       Gov. Aggregation   FEOH - OE     08061754840001377809        Electric       Gov. Aggregation
AEP - OP      00140060766179072           Electric       Gov. Aggregation   FEOH - OE     08061800025000310451        Electric       Gov. Aggregation
AEP - OP      00140060766222741           Electric       Gov. Aggregation   FEOH - TE     08061857982380033223        Electric       Gov. Aggregation
AEP - OP      00140060766289591           Electric       Gov. Aggregation   FEOH - OE     08061870830001501762        Electric       Gov. Aggregation
AEP - OP      00140060766362670           Electric       Gov. Aggregation   FEOH - OE     08061964980000782668        Electric       Gov. Aggregation
AEP - OP      00140060766475062           Electric       Gov. Aggregation   FEOH - OE     08061325180000586847        Electric       Gov. Aggregation
AEP - OP      00140060769344960           Electric       Gov. Aggregation   FEOH - OE     08061336660001141952        Electric       Gov. Aggregation
AEP - OP      00140060769369312           Electric       Gov. Aggregation   FEOH - OE     08061550510000790753        Electric       Gov. Aggregation
AEP - OP      00140060769477531           Electric       Gov. Aggregation   FEOH - OE     08059818190001395496        Electric       Gov. Aggregation
AEP - OP      00140060769615383           Electric       Gov. Aggregation   FEOH - OE     08059978940000844809        Electric       Gov. Aggregation
AEP - OP      00140060769698262           Electric       Gov. Aggregation   FEOH - OE     08060202740000809528        Electric       Gov. Aggregation
AEP - OP      00140060769732304           Electric       Gov. Aggregation   FEOH - OE     08060231390001557833        Electric       Gov. Aggregation
AEP - OP      00140060769775575           Electric       Gov. Aggregation   FEOH - OE     08060376180000790217        Electric       Gov. Aggregation
AEP - OP      00140060769803871           Electric       Gov. Aggregation   FEOH - OE     08060518230000804589        Electric       Gov. Aggregation
AEP - OP      00140060769840950           Electric       Gov. Aggregation   FEOH - OE     08060534600001127558        Electric       Gov. Aggregation
AEP - OP      00140060769887340           Electric       Gov. Aggregation   FEOH - OE     08061977820000789014        Electric       Gov. Aggregation
AEP - OP      00140060769916565           Electric       Gov. Aggregation   FEOH - TE     08061996692600009571        Electric       Gov. Aggregation
AEP - OP      00140060769924910           Electric       Gov. Aggregation   FEOH - OE     08062093120001128298        Electric       Gov. Aggregation
AEP - OP      00140060769980012           Electric       Gov. Aggregation   FEOH - OE     08062163360001130199        Electric       Gov. Aggregation
AEP - OP      00140060769995312           Electric       Gov. Aggregation   FEOH - OE     08062180200001465882        Electric       Gov. Aggregation
AEP - OP      00140060756239683           Electric       Gov. Aggregation   FEOH - OE     08062258080001570677        Electric       Gov. Aggregation
AEP - OP      00140060756245931           Electric       Gov. Aggregation   FEOH - OE     08062273790001142556        Electric       Gov. Aggregation
AEP - OP      00140060756260632           Electric       Gov. Aggregation   FEOH - OE     08062371680000790442        Electric       Gov. Aggregation
AEP - OP      00140060756372374           Electric       Gov. Aggregation   FEOH - OE     08062545570001499690        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060756376371           Electric       Gov. Aggregation   FEOH - OE     08062673620001128274        Electric       Gov. Aggregation
AEP - OP      00140060756397093           Electric       Gov. Aggregation   FEOH - OE     08062794845001262658        Electric       Gov. Aggregation
AEP - OP      00140060756399381           Electric       Gov. Aggregation   FEOH - OE     08062806270000805544        Electric       Gov. Aggregation
AEP - OP      00140060756399543           Electric       Gov. Aggregation   FEOH - OE     08062812720000788507        Electric       Gov. Aggregation
AEP - OP      00140060760042872           Electric       Gov. Aggregation   FEOH - OE     08061619530000790650        Electric       Gov. Aggregation
AEP - OP      00140060760141083           Electric       Gov. Aggregation   FEOH - OE     08061625260000841343        Electric       Gov. Aggregation
AEP - OP      00140060760202090           Electric       Gov. Aggregation   FEOH - TE     08061652102140091469        Electric       Gov. Aggregation
AEP - OP      00140060760301595           Electric       Gov. Aggregation   FEOH - OE     08061773100001130765        Electric       Gov. Aggregation
AEP - OP      00140060760351544           Electric       Gov. Aggregation   FEOH - OE     08061789915001492334        Electric       Gov. Aggregation
AEP - OP      00140060760391870           Electric       Gov. Aggregation   FEOH - OE     08061807550000849155        Electric       Gov. Aggregation
AEP - OP      00140060760422540           Electric       Gov. Aggregation   FEOH - OE     08061821155000322255        Electric       Gov. Aggregation
AEP - OP      00140060758819054           Electric       Gov. Aggregation   FEOH - OE     08060746710000792196        Electric       Gov. Aggregation
AEP - OP      00140060758869780           Electric       Gov. Aggregation   FEOH - OE     08060786930001484767        Electric       Gov. Aggregation
AEP - OP      00140060758907813           Electric       Gov. Aggregation   FEOH - OE     08060805630001129960        Electric       Gov. Aggregation
AEP - OP      00140060758993664           Electric       Gov. Aggregation   FEOH - OE     08060821560000790447        Electric       Gov. Aggregation
AEP - OP      00140060759032855           Electric       Gov. Aggregation   FEOH - TE     08060832872710093610        Electric       Gov. Aggregation
AEP - OP      00140060759092891           Electric       Gov. Aggregation   FEOH - TE     08060846702680023180        Electric       Gov. Aggregation
AEP - OP      00140060759126982           Electric       Gov. Aggregation   FEOH - OE     08060867000000791130        Electric       Gov. Aggregation
AEP - OP      00140060772005575           Electric       Gov. Aggregation   FEOH - OE     08062567670001128587        Electric       Gov. Aggregation
AEP - OP      00140060772031633           Electric       Gov. Aggregation   FEOH - OE     08062585000001130300        Electric       Gov. Aggregation
AEP - OP      00140060772070324           Electric       Gov. Aggregation   FEOH - OE     08062617080000791022        Electric       Gov. Aggregation
AEP - OP      00140060772251161           Electric       Gov. Aggregation   FEOH - OE     08062700720001129147        Electric       Gov. Aggregation
AEP - OP      00140060772354041           Electric       Gov. Aggregation   FEOH - OE     08062717620000584256        Electric       Gov. Aggregation
AEP - OP      00140060772388915           Electric       Gov. Aggregation   FEOH - OE     08062795050000792385        Electric       Gov. Aggregation
AEP - OP      00140060772399793           Electric       Gov. Aggregation   FEOH - OE     08062333320001494758        Electric       Gov. Aggregation
AEP - OP      00140060766480713           Electric       Gov. Aggregation   FEOH - TE     08062335102600008827        Electric       Gov. Aggregation
AEP - OP      00140060766569662           Electric       Gov. Aggregation   FEOH - OE     08062382890000841390        Electric       Gov. Aggregation
AEP - OP      00140060766583060           Electric       Gov. Aggregation   FEOH - TE     08062431462600009158        Electric       Gov. Aggregation
AEP - OP      00140060766681350           Electric       Gov. Aggregation   FEOH - OE     08062464740000784429        Electric       Gov. Aggregation
AEP - OP      00140060766743563           Electric       Gov. Aggregation   FEOH - OE     08062499410001129015        Electric       Gov. Aggregation
AEP - OP      00140060766808160           Electric       Gov. Aggregation   FEOH - TE     08062529035001340575        Electric       Gov. Aggregation
AEP - OP      00140060766828694           Electric       Gov. Aggregation   FEOH - TE     08062526512600009088        Electric       Gov. Aggregation
AEP - OP      00140060769850381           Electric       Gov. Aggregation   FEOH - OE     08062558710000792166        Electric       Gov. Aggregation
AEP - OP      00140060769885043           Electric       Gov. Aggregation   FEOH - TE     08062588032300030550        Electric       Gov. Aggregation
AEP - OP      00140060769924793           Electric       Gov. Aggregation   FEOH - OE     08062651720000592327        Electric       Gov. Aggregation
AEP - OP      00140060770039502           Electric       Gov. Aggregation   FEOH - OE     08062666045000170503        Electric       Gov. Aggregation
AEP - OP      00140060770143190           Electric       Gov. Aggregation   FEOH - OE     08062722420001128640        Electric       Gov. Aggregation
AEP - OP      00140060770236403           Electric       Gov. Aggregation   FEOH - OE     08062834020000792668        Electric       Gov. Aggregation
AEP - OP      00140060770264293           Electric       Gov. Aggregation   FEOH - TE     08062080762600007538        Electric       Gov. Aggregation
AEP - OP      00140060770077465           Electric       Gov. Aggregation   FEOH - TE     08062091772390001000        Electric       Gov. Aggregation
AEP - OP      00140060770179781           Electric       Gov. Aggregation   FEOH - TE     08062113692640021043        Electric       Gov. Aggregation
AEP - OP      00140060770201214           Electric       Gov. Aggregation   FEOH - TE     08062155312080027105        Electric       Gov. Aggregation
AEP - OP      00140060770244563           Electric       Gov. Aggregation   FEOH - OE     08062258410000778492        Electric       Gov. Aggregation
AEP - OP      00140060770366494           Electric       Gov. Aggregation   FEOH - OE     08062273790001142576        Electric       Gov. Aggregation
AEP - OP      00140060770426253           Electric       Gov. Aggregation   FEOH - OE     08061079100000782726        Electric       Gov. Aggregation
AEP - OP      00140060756466415           Electric       Gov. Aggregation   FEOH - OE     08061133910000186475        Electric       Gov. Aggregation
AEP - OP      00140060756531694           Electric       Gov. Aggregation   FEOH - OE     08061175815001494102        Electric       Gov. Aggregation
AEP - OP      00140060756594520           Electric       Gov. Aggregation   FEOH - OE     08061244160000791577        Electric       Gov. Aggregation
AEP - OP      00140060756606245           Electric       Gov. Aggregation   FEOH - OE     08062530120000803228        Electric       Gov. Aggregation
AEP - OP      00140060756752765           Electric       Gov. Aggregation   FEOH - OE     08062620510001544336        Electric       Gov. Aggregation
AEP - OP      00140060756868423           Electric       Gov. Aggregation   FEOH - OE     08062680150000765226        Electric       Gov. Aggregation
AEP - OP      00140060756871665           Electric       Gov. Aggregation   FEOH - OE     08062703270001579704        Electric       Gov. Aggregation
AEP - OP      00140060760497621           Electric       Gov. Aggregation   FEOH - TE     08062804762600004207        Electric       Gov. Aggregation
AEP - OP      00140060760517751           Electric       Gov. Aggregation   FEOH - OE     08061534840001384078        Electric       Gov. Aggregation
AEP - OP      00140060760536131           Electric       Gov. Aggregation   FEOH - OE     08061554110000187263        Electric       Gov. Aggregation
AEP - OP      00140060760539413           Electric       Gov. Aggregation   FEOH - OE     08061594050000765285        Electric       Gov. Aggregation
AEP - OP      00140060760703422           Electric       Gov. Aggregation   FEOH - OE     08061615285001482142        Electric       Gov. Aggregation
AEP - OP      00140060760748753           Electric       Gov. Aggregation   FEOH - TE     08061621562600008668        Electric       Gov. Aggregation
AEP - OP      00140060760881550           Electric       Gov. Aggregation   FEOH - OE     08061654870000803338        Electric       Gov. Aggregation
AEP - OP      00140060772479751           Electric       Gov. Aggregation   FEOH - TE     08061659812080027758        Electric       Gov. Aggregation
AEP - OP      00140060772487340           Electric       Gov. Aggregation   FEOH - OE     08061678870001129209        Electric       Gov. Aggregation
AEP - OP      00140060772500684           Electric       Gov. Aggregation   FEOH - OE     08061701480000809449        Electric       Gov. Aggregation
AEP - OP      00140060772535334           Electric       Gov. Aggregation   FEOH - OE     08061746350000804608        Electric       Gov. Aggregation
AEP - OP      00140060772576503           Electric       Gov. Aggregation   FEOH - OE     08061762220000790657        Electric       Gov. Aggregation
AEP - OP      00140060772620875           Electric       Gov. Aggregation   FEOH - OE     08061849945001492332        Electric       Gov. Aggregation
AEP - OP      00140060772694612           Electric       Gov. Aggregation   FEOH - OE     08061901790001131075        Electric       Gov. Aggregation
AEP - OP      00140060766986934           Electric       Gov. Aggregation   FEOH - OE     08061993215001496951        Electric       Gov. Aggregation
AEP - OP      00140060767002391           Electric       Gov. Aggregation   FEOH - OE     08062348630000603730        Electric       Gov. Aggregation
AEP - OP      00140060767014362           Electric       Gov. Aggregation   FEOH - OE     08062399040000777837        Electric       Gov. Aggregation
AEP - OP      00140060767035831           Electric       Gov. Aggregation   FEOH - OE     08062479150000804368        Electric       Gov. Aggregation
AEP - OP      00140060767287660           Electric       Gov. Aggregation   FEOH - OE     08062550970000844745        Electric       Gov. Aggregation
AEP - OP      00140060767307714           Electric       Gov. Aggregation   FEOH - OE     08062565740000782605        Electric       Gov. Aggregation
AEP - OP      00140060767342493           Electric       Gov. Aggregation   FEOH - OE     08062608220000765265        Electric       Gov. Aggregation
AEP - OP      00140060754886785           Electric       Gov. Aggregation   FEOH - TE     08062807483000000434        Electric       Gov. Aggregation
AEP - OP      00140060754900431           Electric       Gov. Aggregation   FEOH - OE     08062822870001129549        Electric       Gov. Aggregation
AEP - OP      00140060755231163           Electric       Gov. Aggregation   FEOH - OE     08062835915000176905        Electric       Gov. Aggregation
AEP - OP      00140060755246190           Electric       Gov. Aggregation   FEOH - OE     08062838110000791643        Electric       Gov. Aggregation
AEP - OP      00140060755275045           Electric       Gov. Aggregation   FEOH - TE     08062846092680023508        Electric       Gov. Aggregation
AEP - OP      00140060755278831           Electric       Gov. Aggregation   FEOH - TE     08062908152680023175        Electric       Gov. Aggregation
AEP - OP      00140060755405324           Electric       Gov. Aggregation   FEOH - OE     08062995310001367056        Electric       Gov. Aggregation
AEP - OP      00140060770602501           Electric       Gov. Aggregation   FEOH - OE     08062449195000114556        Electric       Gov. Aggregation
AEP - OP      00140060770658684           Electric       Gov. Aggregation   FEOH - OE     08062457320001571537        Electric       Gov. Aggregation
AEP - OP      00140060770747485           Electric       Gov. Aggregation   FEOH - OE     08062764140000788999        Electric       Gov. Aggregation
AEP - OP      00140060770806380           Electric       Gov. Aggregation   FEOH - OE     08062779700000804020        Electric       Gov. Aggregation
AEP - OP      00140060770894304           Electric       Gov. Aggregation   FEOH - OE     08062966990000805615        Electric       Gov. Aggregation
AEP - OP      00140060771005041           Electric       Gov. Aggregation   FEOH - OE     08062999530001130537        Electric       Gov. Aggregation
AEP - OP      00140060771037940           Electric       Gov. Aggregation   FEOH - OE     08062822580001344565        Electric       Gov. Aggregation
AEP - OP      00140060770361735           Electric       Gov. Aggregation   FEOH - OE     08062858170001469181        Electric       Gov. Aggregation
AEP - OP      00140060770375164           Electric       Gov. Aggregation   FEOH - OE     08062881930001369533        Electric       Gov. Aggregation
AEP - OP      00140060770563040           Electric       Gov. Aggregation   FEOH - OE     08062941560000791692        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type         Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060770592271           Electric       Gov. Aggregation   FEOH - OE       08062967720000803125        Electric       Gov. Aggregation
AEP - OP      00140060770802731           Electric       Gov. Aggregation   FEOH - OE       08063034260001129682        Electric       Gov. Aggregation
AEP - OP      00140060770854301           Electric       Gov. Aggregation   FEOH - OE       08063053980000803642        Electric       Gov. Aggregation
AEP - OP      00140060771051470           Electric       Gov. Aggregation   FEOH - OE       08062857680000790886        Electric       Gov. Aggregation
AEP - OP      00140060756884781           Electric       Gov. Aggregation   FEOH - OE       08062935650000790491        Electric       Gov. Aggregation
AEP - OP      00140060757006904           Electric       Gov. Aggregation   FEOH - OE       08062950170000786463        Electric       Gov. Aggregation
AEP - OP      00140060757085244           Electric       Gov. Aggregation   FEOH - OE       08063007470000790955        Electric       Gov. Aggregation
AEP - OP      00140060757233602           Electric       Gov. Aggregation   FEOH - OE       08063044690001413458        Electric       Gov. Aggregation
AEP - OP      00140060757447123           Electric       Gov. Aggregation   FEOH - OE       08063049385001344619        Electric       Gov. Aggregation
AEP - OP      00140060757493315           Electric       Gov. Aggregation   FEOH - OE       08063008560000791001        Electric       Gov. Aggregation
AEP - OP      00140060757516243           Electric       Gov. Aggregation   FEOH - TE       08063074802640019554        Electric       Gov. Aggregation
AEP - OP      00140060771106400           Electric       Gov. Aggregation   FEOH - OE       08063075750000584010        Electric       Gov. Aggregation
AEP - OP      00140060771139270           Electric       Gov. Aggregation   FEOH - TE       08063303912850026089        Electric       Gov. Aggregation
AEP - OP      00140060771148274           Electric       Gov. Aggregation   FEOH - OE       08063322850000790618        Electric       Gov. Aggregation
AEP - OP      00140060771169380           Electric       Gov. Aggregation   FEOH - TE       08063357302380028510        Electric       Gov. Aggregation
AEP - OP      00140060771205662           Electric       Gov. Aggregation   FEOH - OE       08063386320001393687        Electric       Gov. Aggregation
AEP - OP      00140060771582783           Electric       Gov. Aggregation   FEOH - OE       08062566310000790342        Electric       Gov. Aggregation
AEP - OP      00140060760945034           Electric       Gov. Aggregation   FEOH - OE       08062567200000791068        Electric       Gov. Aggregation
AEP - OP      00140060761020981           Electric       Gov. Aggregation   FEOH - OE       08062626320000809566        Electric       Gov. Aggregation
AEP - OP      00140060761070862           Electric       Gov. Aggregation   FEOH - OE       08062695930000187110        Electric       Gov. Aggregation
AEP - OP      00140060761161582           Electric       Gov. Aggregation   FEOH - OE       08062814980001129292        Electric       Gov. Aggregation
AEP - OP      00140060761170591           Electric       Gov. Aggregation   FEOH - TE       08062950882600007773        Electric       Gov. Aggregation
AEP - OP      00140060761444805           Electric       Gov. Aggregation   FEOH - OE       08062957660000791470        Electric       Gov. Aggregation
AEP - OP      00140060761466873           Electric       Gov. Aggregation   FEOH - OE       08063140380000778722        Electric       Gov. Aggregation
AEP - OP      00140060772892012           Electric       Gov. Aggregation   FEOH - TE       08063185942030030394        Electric       Gov. Aggregation
AEP - OP      00140060772924601           Electric       Gov. Aggregation   FEOH - OE       08063253890000792397        Electric       Gov. Aggregation
AEP - OP      00140060772998063           Electric       Gov. Aggregation   FEOH - OE       08063270665000075805        Electric       Gov. Aggregation
AEP - OP      00140060773015771           Electric       Gov. Aggregation   FEOH - OE       08063452110001128907        Electric       Gov. Aggregation
AEP - OP      00140060773045102           Electric       Gov. Aggregation   FEOH - TE       08063453672380032409        Electric       Gov. Aggregation
AEP - OP      00140060773202444           Electric       Gov. Aggregation   FEOH - TE       08062011432430001129        Electric       Gov. Aggregation
AEP - OP      00140060773218315           Electric       Gov. Aggregation   FEOH - OE       08062034590000803989        Electric       Gov. Aggregation
AEP - OP      00140060759143494           Electric       Gov. Aggregation   FEOH - TE       08062080762600007524        Electric       Gov. Aggregation
AEP - OP      00140060759220982           Electric       Gov. Aggregation   FEOH - TE       08062090622390001301        Electric       Gov. Aggregation
AEP - OP      00140060759244584           Electric       Gov. Aggregation   FEOH - OE       08062105075000154579        Electric       Gov. Aggregation
AEP - OP      00140060759326681           Electric       Gov. Aggregation   FEOH - OE       08062108590001131231        Electric       Gov. Aggregation
AEP - OP      00140060759520760           Electric       Gov. Aggregation   FEOH - OE       08062114890000778507        Electric       Gov. Aggregation
AEP - OP      00140060759575722           Electric       Gov. Aggregation   FEOH - TE       08062613972080027960        Electric       Gov. Aggregation
AEP - OP      00140060759794483           Electric       Gov. Aggregation   FEOH - TE       08062670872600009247        Electric       Gov. Aggregation
AEP - OP      00140060767352852           Electric       Gov. Aggregation   FEOH - OE       08062736910001508109        Electric       Gov. Aggregation
AEP - OP      00140060767410860           Electric       Gov. Aggregation   FEOH - TE       08062749362850024971        Electric       Gov. Aggregation
AEP - OP      00140060767427415           Electric       Gov. Aggregation   FEOH - OE       08062779420000803187        Electric       Gov. Aggregation
AEP - OP      00140060767511194           Electric       Gov. Aggregation   FEOH - OE       08062786200000788797        Electric       Gov. Aggregation
AEP - OP      00140060767524161           Electric       Gov. Aggregation   FEOH - OE       08062925910000792586        Electric       Gov. Aggregation
AEP - OP      00140060767540381           Electric       Gov. Aggregation   FEOH - OE       08062854680001127518        Electric       Gov. Aggregation
AEP - OP      00140060767605510           Electric       Gov. Aggregation   FEOH - OE       08062923760000841234        Electric       Gov. Aggregation
AEP - OP      00140060755453304           Electric       Gov. Aggregation   FEOH - OE       08062930200001130086        Electric       Gov. Aggregation
AEP - OP      00140060755509940           Electric       Gov. Aggregation   FEOH - OE       08063000905000263078        Electric       Gov. Aggregation
AEP - OP      00140060755553912           Electric       Gov. Aggregation   FEOH - OE       08063004180000810157        Electric       Gov. Aggregation
AEP - OP      00140060755796614           Electric       Gov. Aggregation   FEOH - OE       08063048805001429946        Electric       Gov. Aggregation
AEP - OP      00140060756246824           Electric       Gov. Aggregation   FEOH - OE       08063172310000790335        Electric       Gov. Aggregation
AEP - OP      00140060756275103           Electric       Gov. Aggregation   FEOH - OE       08063055390001131025        Electric       Gov. Aggregation
AEP - OP      00140060756377572           Electric       Gov. Aggregation   FEOH - OE       08063066060000791360        Electric       Gov. Aggregation
AEP - OP      00140060771146732           Electric       Gov. Aggregation   FEOH - OE       08063176600000803767        Electric       Gov. Aggregation
AEP - OP      00140060771366742           Electric       Gov. Aggregation   FEOH - OE       08063257000001322109        Electric       Gov. Aggregation
AEP - OP      00140060771372593           Electric       Gov. Aggregation   FEOH - OE       08063261700000186806        Electric       Gov. Aggregation
AEP - OP      00140060771375540           Electric       Gov. Aggregation   FEOH - OE       08063463130001143183        Electric       Gov. Aggregation
AEP - OP      00140060771457254           Electric       Gov. Aggregation   FEOH - OE       08063479900000792523        Electric       Gov. Aggregation
AEP - OP      00140060771519261           Electric       Gov. Aggregation   FEOH - OE       08063073800000788956        Electric       Gov. Aggregation
AEP - OP      00140060771564753           Electric       Gov. Aggregation   FEOH - TE       08063121922040001520        Electric       Gov. Aggregation
AEP - OP      00140060756423610           Electric       Gov. Aggregation   FEOH - OE       08063132410000789057        Electric       Gov. Aggregation
AEP - OP      00140060756609902           Electric       Gov. Aggregation   FEOH - OE       08063233930000592319        Electric       Gov. Aggregation
AEP - OP      00140060756800760           Electric       Gov. Aggregation   FEOH - OE       08063302500001340106        Electric       Gov. Aggregation
AEP - OP      00140060756847692           Electric       Gov. Aggregation   FEOH - OE       08063311610000771010        Electric       Gov. Aggregation
AEP - OP      00140060756969914           Electric       Gov. Aggregation   FEOH - OE       08063466850001130122        Electric       Gov. Aggregation
AEP - OP      00140060757013834           Electric       Gov. Aggregation   FEOH - OE       08062988590001128962        Electric       Gov. Aggregation
AEP - OP      00140060757048383           Electric       Gov. Aggregation   FEOH - OE       08062993320001130355        Electric       Gov. Aggregation
AEP - OP      00140060771609645           Electric       Gov. Aggregation   FEOH - OE       08063325330001130440        Electric       Gov. Aggregation
AEP - OP      00140060771721841           Electric       Gov. Aggregation   FEOH - OE       08063464740000776743        Electric       Gov. Aggregation
AEP - OP      00140060771880794           Electric       Gov. Aggregation   FEOH - OE       08063503580001472532        Electric       Gov. Aggregation
AEP - OP      00140060771986981           Electric       Gov. Aggregation   FEOH - TE       08063529592080026648        Electric       Gov. Aggregation
AEP - OP      00140060772009801           Electric       Gov. Aggregation   FEOH - OE       08063574390000792171        Electric       Gov. Aggregation
AEP - OP      00140060772147625           Electric       Gov. Aggregation   FEOH - OE       08063575740000786515        Electric       Gov. Aggregation
AEP - OP      00140060772313360           Electric       Gov. Aggregation   FEOH - OE       08063606950000803163        Electric       Gov. Aggregation
AEP - OP      00140060761609665           Electric       Gov. Aggregation   FEOH - OE       08063617450001129077        Electric       Gov. Aggregation
AEP - OP      00140060761654993           Electric       Gov. Aggregation   FEOH - OE       08063668690000786359        Electric       Gov. Aggregation
AEP - OP      00140060761802571           Electric       Gov. Aggregation   FEOH - OE       08063670630001570995        Electric       Gov. Aggregation
AEP - OP      00140060761914865           Electric       Gov. Aggregation   FEOH - TE       08063708082850025870        Electric       Gov. Aggregation
AEP - OP      00140060761944394           Electric       Gov. Aggregation   DPL             0846915190                  Electric       Gov. Aggregation
AEP - OP      00140060762131380           Electric       Gov. Aggregation   FEOH - OE       08062987680000778771        Electric       Gov. Aggregation
AEP - OP      00140060762136203           Electric       Gov. Aggregation   FEOH - OE       08062999700001130677        Electric       Gov. Aggregation
AEP - OP      00140060759945722           Electric       Gov. Aggregation   FEOH - TE       08063219302080028268        Electric       Gov. Aggregation
AEP - OP      00140060759946465           Electric       Gov. Aggregation   FEOH - OE       08063221910001129687        Electric       Gov. Aggregation
AEP - OP      00140060759995202           Electric       Gov. Aggregation   FEOH - OE       08063250560000765257        Electric       Gov. Aggregation
AEP - OP      00140060760012543           Electric       Gov. Aggregation   FEOH - OE       08063333110000771022        Electric       Gov. Aggregation
AEP - OP      00140060760041202           Electric       Gov. Aggregation   FEOH - TE       08063337375001339499        Electric       Gov. Aggregation
AEP - OP      00140060760066465           Electric       Gov. Aggregation   FEOH - OE       08063176200000782553        Electric       Gov. Aggregation
AEP - OP      00140060772328444           Electric       Gov. Aggregation   FEOH - OE       08063282830001128575        Electric       Gov. Aggregation
AEP - OP      00140060772345082           Electric       Gov. Aggregation   FEOH - OE       08063337790000762717        Electric       Gov. Aggregation
AEP - OP      00140060772387763           Electric       Gov. Aggregation   FEOH - TE       08063341562170014424        Electric       Gov. Aggregation
AEP - OP      00140060772510515           Electric       Gov. Aggregation   FEOH - OE       08063407890000584007        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type         Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060772566493           Electric       Gov. Aggregation   FEOH - OE       08063413980000809430        Electric       Gov. Aggregation
AEP - OP      00140060772791560           Electric       Gov. Aggregation   FEOH - OE       08063488300001465968        Electric       Gov. Aggregation
AEP - OP      00140060772966062           Electric       Gov. Aggregation   FEOH - OE       08063525560001130835        Electric       Gov. Aggregation
AEP - OP      00140060767651322           Electric       Gov. Aggregation   FEOH - OE       08063550680000805554        Electric       Gov. Aggregation
AEP - OP      00140060767702481           Electric       Gov. Aggregation   FEOH - OE       08063605790000809467        Electric       Gov. Aggregation
AEP - OP      00140060767705461           Electric       Gov. Aggregation   FEOH - OE       08063738990001131393        Electric       Gov. Aggregation
AEP - OP      00140060767717220           Electric       Gov. Aggregation   FEOH - OE       08062220240001448225        Electric       Gov. Aggregation
AEP - OP      00140060767781532           Electric       Gov. Aggregation   FEOH - OE       08062273790001142545        Electric       Gov. Aggregation
AEP - OP      00140060771884873           Electric       Gov. Aggregation   FEOH - OE       08062343450001130694        Electric       Gov. Aggregation
AEP - OP      00140060772063744           Electric       Gov. Aggregation   FEOH - OE       08062438500001041621        Electric       Gov. Aggregation
AEP - OP      00140060772097402           Electric       Gov. Aggregation   FEOH - TE       08062471172320092511        Electric       Gov. Aggregation
AEP - OP      00140060772107014           Electric       Gov. Aggregation   FEOH - OE       08062483750000789127        Electric       Gov. Aggregation
AEP - OP      00140060772109965           Electric       Gov. Aggregation   FEOH - TE       08062486502930031915        Electric       Gov. Aggregation
AEP - OP      00140060772159723           Electric       Gov. Aggregation   FEOH - TE       08063455782380028046        Electric       Gov. Aggregation
AEP - OP      00140060767890614           Electric       Gov. Aggregation   FEOH - OE       08063485210001349978        Electric       Gov. Aggregation
AEP - OP      00140060767980113           Electric       Gov. Aggregation   FEOH - OE       08063575910000778705        Electric       Gov. Aggregation
AEP - OP      00140060768070915           Electric       Gov. Aggregation   FEOH - TE       08063634132850020205        Electric       Gov. Aggregation
AEP - OP      00140060768082533           Electric       Gov. Aggregation   FEOH - OE       08063704830000809421        Electric       Gov. Aggregation
AEP - OP      00140060768094523           Electric       Gov. Aggregation   FEOH - TE       08063754372680023865        Electric       Gov. Aggregation
AEP - OP      00140060768136313           Electric       Gov. Aggregation   DPL             0868183337                  Electric       Gov. Aggregation
AEP - OP      00140060768188233           Electric       Gov. Aggregation   FEOH - TE       08063595552380032610        Electric       Gov. Aggregation
AEP - OP      00140060773223104           Electric       Gov. Aggregation   FEOH - OE       08063710960000786417        Electric       Gov. Aggregation
AEP - OP      00140060773344952           Electric       Gov. Aggregation   FEOH - TE       08063749722640020178        Electric       Gov. Aggregation
AEP - OP      00140060773460832           Electric       Gov. Aggregation   FEOH - OE       08063781080000587652        Electric       Gov. Aggregation
AEP - OP      00140060773483011           Electric       Gov. Aggregation   FEOH - OE       08063808750000791281        Electric       Gov. Aggregation
AEP - OP      00140060773518664           Electric       Gov. Aggregation   FEOH - OE       08063518420000790353        Electric       Gov. Aggregation
AEP - OP      00140060773769230           Electric       Gov. Aggregation   FEOH - OE       08063518880000790390        Electric       Gov. Aggregation
AEP - OP      00140060773817472           Electric       Gov. Aggregation   FEOH - OE       08063540250000803843        Electric       Gov. Aggregation
AEP - OP      00140060772970980           Electric       Gov. Aggregation   FEOH - OE       08063552630000809783        Electric       Gov. Aggregation
AEP - OP      00140060773134043           Electric       Gov. Aggregation   FEOH - TE       08063602552080028619        Electric       Gov. Aggregation
AEP - OP      00140060773235852           Electric       Gov. Aggregation   FEOH - OE       08063673270001142234        Electric       Gov. Aggregation
AEP - OP      00140060773447004           Electric       Gov. Aggregation   FEOH - OE       08063677530000803648        Electric       Gov. Aggregation
AEP - OP      00140060773508210           Electric       Gov. Aggregation   FEOH - OE       08063402810001352994        Electric       Gov. Aggregation
AEP - OP      00140060773598334           Electric       Gov. Aggregation   FEOH - OE       08063424350000810108        Electric       Gov. Aggregation
AEP - OP      00140060773772410           Electric       Gov. Aggregation   FEOH - OE       08063430150001341583        Electric       Gov. Aggregation
AEP - OP      00140060762269365           Electric       Gov. Aggregation   FEOH - TE       08063446923000009105        Electric       Gov. Aggregation
AEP - OP      00140060762408555           Electric       Gov. Aggregation   FEOH - TE       08063464342790091583        Electric       Gov. Aggregation
AEP - OP      00140060762435750           Electric       Gov. Aggregation   FEOH - OE       08063525050000186764        Electric       Gov. Aggregation
AEP - OP      00140060762461400           Electric       Gov. Aggregation   FEOH - OE       08063550680000805555        Electric       Gov. Aggregation
AEP - OP      00140060762467630           Electric       Gov. Aggregation   DPL             0938763767                  Electric       Gov. Aggregation
AEP - OP      00140060762841311           Electric       Gov. Aggregation   DPL             1013186464                  Electric       Gov. Aggregation
AEP - OP      00140060762867252           Electric       Gov. Aggregation   DPL             1450883515                  Electric       Gov. Aggregation
AEP - OP      00140060772341144           Electric       Gov. Aggregation   DPL             1817438205                  Electric       Gov. Aggregation
AEP - OP      00140060772344680           Electric       Gov. Aggregation   DPL             2028981373                  Electric       Gov. Aggregation
AEP - OP      00140060772512901           Electric       Gov. Aggregation   FEOH - OE       08063532360001501759        Electric       Gov. Aggregation
AEP - OP      00140060772693462           Electric       Gov. Aggregation   FEOH - TE       08063579612550090131        Electric       Gov. Aggregation
AEP - OP      00140060772711892           Electric       Gov. Aggregation   FEOH - OE       08063636750001129484        Electric       Gov. Aggregation
AEP - OP      00140060772735350           Electric       Gov. Aggregation   FEOH - OE       08063776100000791770        Electric       Gov. Aggregation
AEP - OP      00140060772791635           Electric       Gov. Aggregation   FEOH - OE       08063565860001483743        Electric       Gov. Aggregation
AEP - OP      00140060757520615           Electric       Gov. Aggregation   FEOH - OE       08063648050001329671        Electric       Gov. Aggregation
AEP - OP      00140060757539730           Electric       Gov. Aggregation   FEOH - OE       08063668380000791090        Electric       Gov. Aggregation
AEP - OP      00140060757551204           Electric       Gov. Aggregation   FEOH - TE       08063703212300031618        Electric       Gov. Aggregation
AEP - OP      00140060757556022           Electric       Gov. Aggregation   FEOH - OE       08063719080001543961        Electric       Gov. Aggregation
AEP - OP      00140060757662734           Electric       Gov. Aggregation   FEOH - OE       08063810570001142983        Electric       Gov. Aggregation
AEP - OP      00140060757665845           Electric       Gov. Aggregation   DPL             0939961968                  Electric       Gov. Aggregation
AEP - OP      00140060757717962           Electric       Gov. Aggregation   DPL             1928463374                  Electric       Gov. Aggregation
AEP - OP      00140060757763030           Electric       Gov. Aggregation   DPL             1945950137                  Electric       Gov. Aggregation
AEP - OP      00140060760083980           Electric       Gov. Aggregation   DPL             1955991036                  Electric       Gov. Aggregation
AEP - OP      00140060760152212           Electric       Gov. Aggregation   DPL             2005040330                  Electric       Gov. Aggregation
AEP - OP      00140060760256654           Electric       Gov. Aggregation   DPL             1266289395                  Electric       Gov. Aggregation
AEP - OP      00140060760373955           Electric       Gov. Aggregation   DPL             1632421898                  Electric       Gov. Aggregation
AEP - OP      00140060760411650           Electric       Gov. Aggregation   DPL             1704188811                  Electric       Gov. Aggregation
AEP - OP      00140060760512563           Electric       Gov. Aggregation   DPL             2011085073                  Electric       Gov. Aggregation
AEP - OP      00140060760674925           Electric       Gov. Aggregation   DPL             2179149925                  Electric       Gov. Aggregation
AEP - OP      00140060768407725           Electric       Gov. Aggregation   DPL             2277198390                  Electric       Gov. Aggregation
AEP - OP      00140060768437194           Electric       Gov. Aggregation   FEOH - TE       08062499592380033050        Electric       Gov. Aggregation
AEP - OP      00140060768496444           Electric       Gov. Aggregation   FEOH - TE       08062529032820092289        Electric       Gov. Aggregation
AEP - OP      00140060768589843           Electric       Gov. Aggregation   FEOH - OE       08062553370001372925        Electric       Gov. Aggregation
AEP - OP      00140060768632810           Electric       Gov. Aggregation   FEOH - TE       08062614595000211586        Electric       Gov. Aggregation
AEP - OP      00140060768918665           Electric       Gov. Aggregation   FEOH - OE       08062629170000803761        Electric       Gov. Aggregation
AEP - OP      00140060773793453           Electric       Gov. Aggregation   FEOH - OE       08062681610001128375        Electric       Gov. Aggregation
AEP - OP      00140060773841604           Electric       Gov. Aggregation   FEOH - OE       08062720980001446952        Electric       Gov. Aggregation
AEP - OP      00140060773972292           Electric       Gov. Aggregation   DPL             1282517008                  Electric       Gov. Aggregation
AEP - OP      00140060774281522           Electric       Gov. Aggregation   DPL             1567859491                  Electric       Gov. Aggregation
AEP - OP      00140060774355981           Electric       Gov. Aggregation   DPL             1609835976                  Electric       Gov. Aggregation
AEP - OP      00140060774362581           Electric       Gov. Aggregation   DPL             2082608327                  Electric       Gov. Aggregation
AEP - OP      00140060774404462           Electric       Gov. Aggregation   DPL             2221575241                  Electric       Gov. Aggregation
AEP - OP      00140060757079292           Electric       Gov. Aggregation   DPL             2310120139                  Electric       Gov. Aggregation
AEP - OP      00140060757203261           Electric       Gov. Aggregation   DPL             2359786776                  Electric       Gov. Aggregation
AEP - OP      00140060757276880           Electric       Gov. Aggregation   FEOH - TE       08063701342850022107        Electric       Gov. Aggregation
AEP - OP      00140060757414322           Electric       Gov. Aggregation   FEOH - OE       08063713600001371129        Electric       Gov. Aggregation
AEP - OP      00140060757419200           Electric       Gov. Aggregation   FEOH - OE       08063745670000789028        Electric       Gov. Aggregation
AEP - OP      00140060757495480           Electric       Gov. Aggregation   FEOH - OE       08063756060000778459        Electric       Gov. Aggregation
AEP - OP      00140060757539075           Electric       Gov. Aggregation   DPL             0876132730                  Electric       Gov. Aggregation
AEP - OP      00140060762898645           Electric       Gov. Aggregation   DPL             1107824042                  Electric       Gov. Aggregation
AEP - OP      00140060762980340           Electric       Gov. Aggregation   DPL             0992976852                  Electric       Gov. Aggregation
AEP - OP      00140060763062895           Electric       Gov. Aggregation   DPL             1188867348                  Electric       Gov. Aggregation
AEP - OP      00140060763193201           Electric       Gov. Aggregation   DPL             1313014392                  Electric       Gov. Aggregation
AEP - OP      00140060763418790           Electric       Gov. Aggregation   DPL             2008704803                  Electric       Gov. Aggregation
AEP - OP      00140060763491080           Electric       Gov. Aggregation   FEOH - OE       08064957500001137738        Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type         Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060773951913           Electric       Gov. Aggregation   DPL             1353875026                  Electric       Gov. Aggregation
AEP - OP      00140060774175545           Electric       Gov. Aggregation   DPL             1496011054                  Electric       Gov. Aggregation
AEP - OP      00140060774218513           Electric       Gov. Aggregation   DPL             1857057592                  Electric       Gov. Aggregation
AEP - OP      00140060774324550           Electric       Gov. Aggregation   DPL             1884347266                  Electric       Gov. Aggregation
AEP - OP      00140060774359975           Electric       Gov. Aggregation   DPL             2098741176                  Electric       Gov. Aggregation
AEP - OP      00140060774422514           Electric       Gov. Aggregation   DPL             2417620751                  Electric       Gov. Aggregation
AEP - OP      00140060774448651           Electric       Gov. Aggregation   DPL             2558089150                  Electric       Gov. Aggregation
AEP - OP      00140060757788513           Electric       Gov. Aggregation   DPL             2675693389                  Electric       Gov. Aggregation
AEP - OP      00140060757817752           Electric       Gov. Aggregation   DPL             2781121663                  Electric       Gov. Aggregation
AEP - OP      00140060757848512           Electric       Gov. Aggregation   DPL             2874343534                  Electric       Gov. Aggregation
AEP - OP      00140060757897864           Electric       Gov. Aggregation   DPL             2343978880                  Electric       Gov. Aggregation
AEP - OP      00140060757942070           Electric       Gov. Aggregation   DPL             2965645062                  Electric       Gov. Aggregation
AEP - OP      00140060757945660           Electric       Gov. Aggregation   DPL             2977231005                  Electric       Gov. Aggregation
AEP - OP      00140060758053191           Electric       Gov. Aggregation   DPL             3039737751                  Electric       Gov. Aggregation
AEP - OP      00140060760809372           Electric       Gov. Aggregation   DPL             3393069820                  Electric       Gov. Aggregation
AEP - OP      00140060760882211           Electric       Gov. Aggregation   DPL             3396204528                  Electric       Gov. Aggregation
AEP - OP      00140060760926455           Electric       Gov. Aggregation   DPL             1396478612                  Electric       Gov. Aggregation
AEP - OP      00140060761093175           Electric       Gov. Aggregation   DPL             1830680303                  Electric       Gov. Aggregation
AEP - OP      00140060761183912           Electric       Gov. Aggregation   DPL             1924958174                  Electric       Gov. Aggregation
AEP - OP      00140060761254791           Electric       Gov. Aggregation   DPL             1963553730                  Electric       Gov. Aggregation
AEP - OP      00140060761273980           Electric       Gov. Aggregation   DPL             2270668796                  Electric       Gov. Aggregation
AEP - OP      00140060774504050           Electric       Gov. Aggregation   DPL             2102743873                  Electric       Gov. Aggregation
AEP - OP      00140060774529831           Electric       Gov. Aggregation   DPL             2125686840                  Electric       Gov. Aggregation
AEP - OP      00140060774741641           Electric       Gov. Aggregation   DPL             2353945346                  Electric       Gov. Aggregation
AEP - OP      00140060774780681           Electric       Gov. Aggregation   DPL             2547809229                  Electric       Gov. Aggregation
AEP - OP      00140060774819104           Electric       Gov. Aggregation   FEOH - OE       08062723970001472412        Electric       Gov. Aggregation
AEP - OP      00140060774869900           Electric       Gov. Aggregation   FEOH - OE       08062781580000803410        Electric       Gov. Aggregation
AEP - OP      00140060774874320           Electric       Gov. Aggregation   FEOH - OE       08062782720000782696        Electric       Gov. Aggregation
AEP - OP      00140060772811512           Electric       Gov. Aggregation   FEOH - OE       08062808730000762658        Electric       Gov. Aggregation
AEP - OP      00140060772911271           Electric       Gov. Aggregation   FEOH - OE       08062814770000778818        Electric       Gov. Aggregation
AEP - OP      00140060772998002           Electric       Gov. Aggregation   FEOH - TE       08062875952390001226        Electric       Gov. Aggregation
AEP - OP      00140060773067882           Electric       Gov. Aggregation   FEOH - OE       08062885380000792169        Electric       Gov. Aggregation
AEP - OP      00140060773094381           Electric       Gov. Aggregation   DPL             2184574721                  Electric       Gov. Aggregation
AEP - OP      00140060773146282           Electric       Gov. Aggregation   DPL             2418305230                  Electric       Gov. Aggregation
AEP - OP      00140060773370712           Electric       Gov. Aggregation   DPL             2581511455                  Electric       Gov. Aggregation
AEP - OP      00140060768944790           Electric       Gov. Aggregation   DPL             3080111917                  Electric       Gov. Aggregation
AEP - OP      00140060769085923           Electric       Gov. Aggregation   DPL             3327504897                  Electric       Gov. Aggregation
AEP - OP      00140060769123181           Electric       Gov. Aggregation   DPL             3337076046                  Electric       Gov. Aggregation
AEP - OP      00140060769181950           Electric       Gov. Aggregation   DPL             3429382682                  Electric       Gov. Aggregation
AEP - OP      00140060769289570           Electric       Gov. Aggregation   DPL             2321584156                  Electric       Gov. Aggregation
AEP - OP      00140060769556320           Electric       Gov. Aggregation   DPL             2523576110                  Electric       Gov. Aggregation
AEP - OP      00140060769647202           Electric       Gov. Aggregation   DPL             2659349024                  Electric       Gov. Aggregation
AEP - OP      00140060757684383           Electric       Gov. Aggregation   DPL             3028760220                  Electric       Gov. Aggregation
AEP - OP      00140060757758493           Electric       Gov. Aggregation   DPL             2469713311                  Electric       Gov. Aggregation
AEP - OP      00140060757844085           Electric       Gov. Aggregation   DPL             2926340584                  Electric       Gov. Aggregation
AEP - OP      00140060758366730           Electric       Gov. Aggregation   DPL             3064961915                  Electric       Gov. Aggregation
AEP - OP      00140060758418572           Electric       Gov. Aggregation   DPL             3097596468                  Electric       Gov. Aggregation
AEP - OP      00140060758537862           Electric       Gov. Aggregation   DPL             3150151876                  Electric       Gov. Aggregation
AEP - OP      00140060758637442           Electric       Gov. Aggregation   DPL             3551277315                  Electric       Gov. Aggregation
AEP - OP      00140060774460511           Electric       Gov. Aggregation   DPL             3405241111                  Electric       Gov. Aggregation
AEP - OP      00140060774471455           Electric       Gov. Aggregation   DPL             3686733088                  Electric       Gov. Aggregation
AEP - OP      00140060774530852           Electric       Gov. Aggregation   DPL             3783295269                  Electric       Gov. Aggregation
AEP - OP      00140060774631395           Electric       Gov. Aggregation   DPL             3912117685                  Electric       Gov. Aggregation
AEP - OP      00140060774640284           Electric       Gov. Aggregation   DPL             4206256517                  Electric       Gov. Aggregation
AEP - OP      00140060774655421           Electric       Gov. Aggregation   DPL             3133968852                  Electric       Gov. Aggregation
AEP - OP      00140060774750245           Electric       Gov. Aggregation   DPL             3162361870                  Electric       Gov. Aggregation
AEP - OP      00140060758062350           Electric       Gov. Aggregation   DPL             3324240359                  Electric       Gov. Aggregation
AEP - OP      00140060758128081           Electric       Gov. Aggregation   DPL             3509502062                  Electric       Gov. Aggregation
AEP - OP      00140060758471540           Electric       Gov. Aggregation   DPL             3555171790                  Electric       Gov. Aggregation
AEP - OP      00140060758486222           Electric       Gov. Aggregation   DPL             3567141543                  Electric       Gov. Aggregation
AEP - OP      00140060758519154           Electric       Gov. Aggregation   DPL             4038859434                  Electric       Gov. Aggregation
AEP - OP      00140060758531254           Electric       Gov. Aggregation   DPL             4937957882                  Electric       Gov. Aggregation
AEP - OP      00140060763646204           Electric       Gov. Aggregation   DPL             5043881565                  Electric       Gov. Aggregation
AEP - OP      00140060763701474           Electric       Gov. Aggregation   DPL             5115415339                  Electric       Gov. Aggregation
AEP - OP      00140060763975443           Electric       Gov. Aggregation   FEOH - OE       08062896740000788783        Electric       Gov. Aggregation
AEP - OP      00140060764200594           Electric       Gov. Aggregation   FEOH - OE       08062967220000604004        Electric       Gov. Aggregation
AEP - OP      00140060764355781           Electric       Gov. Aggregation   FEOH - OE       08062967725001414509        Electric       Gov. Aggregation
AEP - OP      00140060775027130           Electric       Gov. Aggregation   FEOH - OE       08062980990001379011        Electric       Gov. Aggregation
AEP - OP      00140060775532594           Electric       Gov. Aggregation   FEOH - OE       08063032890000803555        Electric       Gov. Aggregation
AEP - OP      00140060775653865           Electric       Gov. Aggregation   FEOH - TE       08063070412600008634        Electric       Gov. Aggregation
AEP - OP      00140060775699215           Electric       Gov. Aggregation   FEOH - OE       08063125280001129889        Electric       Gov. Aggregation
AEP - OP      00140060775846931           Electric       Gov. Aggregation   DPL             2906276524                  Electric       Gov. Aggregation
AEP - OP      00140060775906103           Electric       Gov. Aggregation   DPL             2995773968                  Electric       Gov. Aggregation
AEP - OP      00140060775981313           Electric       Gov. Aggregation   DPL             3260223968                  Electric       Gov. Aggregation
AEP - OP      00140060761305882           Electric       Gov. Aggregation   DPL             3481637700                  Electric       Gov. Aggregation
AEP - OP      00140060761469855           Electric       Gov. Aggregation   DPL             4060933698                  Electric       Gov. Aggregation
AEP - OP      00140060761474185           Electric       Gov. Aggregation   DPL             4214322290                  Electric       Gov. Aggregation
AEP - OP      00140060761501834           Electric       Gov. Aggregation   DPL             4261543931                  Electric       Gov. Aggregation
AEP - OP      00140060761593165           Electric       Gov. Aggregation   DPL             4562009055                  Electric       Gov. Aggregation
AEP - OP      00140060761603280           Electric       Gov. Aggregation   DPL             4806892269                  Electric       Gov. Aggregation
AEP - OP      00140060761644415           Electric       Gov. Aggregation   DPL             3266381485                  Electric       Gov. Aggregation
AEP - OP      00140060769822925           Electric       Gov. Aggregation   DPL             3681727189                  Electric       Gov. Aggregation
AEP - OP      00140060770003704           Electric       Gov. Aggregation   DPL             3704085856                  Electric       Gov. Aggregation
AEP - OP      00140060770009355           Electric       Gov. Aggregation   DPL             4638383084                  Electric       Gov. Aggregation
AEP - OP      00140060770045285           Electric       Gov. Aggregation   DPL             3701904667                  Electric       Gov. Aggregation
AEP - OP      00140060770138090           Electric       Gov. Aggregation   DPL             3898301439                  Electric       Gov. Aggregation
AEP - OP      00140060773453224           Electric       Gov. Aggregation   DPL             4015149967                  Electric       Gov. Aggregation
AEP - OP      00140060773574063           Electric       Gov. Aggregation   DPL             4216111265                  Electric       Gov. Aggregation
AEP - OP      00140060773616924           Electric       Gov. Aggregation   DPL             4565044424                  Electric       Gov. Aggregation
AEP - OP      00140060773620221           Electric       Gov. Aggregation   DPL             4707082246                  Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type         Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060773737135           Electric       Gov. Aggregation   DPL             2307353192                  Electric       Gov. Aggregation
AEP - OP      00140060773924395           Electric       Gov. Aggregation   DPL             2416698010                  Electric       Gov. Aggregation
AEP - OP      00140060773933441           Electric       Gov. Aggregation   DPL             2460345225                  Electric       Gov. Aggregation
AEP - OP      00140060758889034           Electric       Gov. Aggregation   DPL             2895589662                  Electric       Gov. Aggregation
AEP - OP      00140060759023442           Electric       Gov. Aggregation   DPL             2931631367                  Electric       Gov. Aggregation
AEP - OP      00140060759156741           Electric       Gov. Aggregation   DPL             3099789031                  Electric       Gov. Aggregation
AEP - OP      00140060759174715           Electric       Gov. Aggregation   DPL             3160387868                  Electric       Gov. Aggregation
AEP - OP      00140060759437211           Electric       Gov. Aggregation   DPL             4534678612                  Electric       Gov. Aggregation
AEP - OP      00140060759470063           Electric       Gov. Aggregation   DPL             4921296148                  Electric       Gov. Aggregation
AEP - OP      00140060759537660           Electric       Gov. Aggregation   DPL             5184395312                  Electric       Gov. Aggregation
AEP - OP      00140060758681994           Electric       Gov. Aggregation   DPL             5426479435                  Electric       Gov. Aggregation
AEP - OP      00140060758699402           Electric       Gov. Aggregation   DPL             5684067299                  Electric       Gov. Aggregation
AEP - OP      00140060758830843           Electric       Gov. Aggregation   DPL             5741466924                  Electric       Gov. Aggregation
AEP - OP      00140060758893230           Electric       Gov. Aggregation   DPL             5894579656                  Electric       Gov. Aggregation
AEP - OP      00140060758979501           Electric       Gov. Aggregation   DPL             6201157218                  Electric       Gov. Aggregation
AEP - OP      00140060758996293           Electric       Gov. Aggregation   FEOH - OE       08063228350000802963        Electric       Gov. Aggregation
AEP - OP      00140060759037951           Electric       Gov. Aggregation   FEOH - OE       08063237265001429948        Electric       Gov. Aggregation
AEP - OP      00140060764371614           Electric       Gov. Aggregation   FEOH - OE       08063252680001127793        Electric       Gov. Aggregation
AEP - OP      00140060764493881           Electric       Gov. Aggregation   FEOH - OE       08063319210000786372        Electric       Gov. Aggregation
AEP - OP      00140060764561880           Electric       Gov. Aggregation   FEOH - TE       08063379652930031897        Electric       Gov. Aggregation
AEP - OP      00140060764580335           Electric       Gov. Aggregation   FEOH - OE       08063433250001128326        Electric       Gov. Aggregation
AEP - OP      00140060764656282           Electric       Gov. Aggregation   FEOH - OE       08063435395000165461        Electric       Gov. Aggregation
AEP - OP      00140060764799110           Electric       Gov. Aggregation   DPL             5142808823                  Electric       Gov. Aggregation
AEP - OP      00140060764862423           Electric       Gov. Aggregation   DPL             5207486266                  Electric       Gov. Aggregation
AEP - OP      00140060764961172           Electric       Gov. Aggregation   DPL             5440520612                  Electric       Gov. Aggregation
AEP - OP      00140060764989314           Electric       Gov. Aggregation   DPL             5571762676                  Electric       Gov. Aggregation
AEP - OP      00140060764994423           Electric       Gov. Aggregation   DPL             5684510445                  Electric       Gov. Aggregation
AEP - OP      00140060765010813           Electric       Gov. Aggregation   DPL             6053075316                  Electric       Gov. Aggregation
AEP - OP      00140060765020695           Electric       Gov. Aggregation   DPL             3859042816                  Electric       Gov. Aggregation
AEP - OP      00140060765046533           Electric       Gov. Aggregation   DPL             4506200359                  Electric       Gov. Aggregation
AEP - OP      00140060765051763           Electric       Gov. Aggregation   DPL             4939862065                  Electric       Gov. Aggregation
AEP - OP      00140060765236735           Electric       Gov. Aggregation   DPL             5050231789                  Electric       Gov. Aggregation
AEP - OP      00140060774794064           Electric       Gov. Aggregation   DPL             5167142310                  Electric       Gov. Aggregation
AEP - OP      00140060774796061           Electric       Gov. Aggregation   DPL             5617971426                  Electric       Gov. Aggregation
AEP - OP      00140060774852502           Electric       Gov. Aggregation   DPL             5220522385                  Electric       Gov. Aggregation
AEP - OP      00140060774954280           Electric       Gov. Aggregation   DPL             5664469160                  Electric       Gov. Aggregation
AEP - OP      00140060775002020           Electric       Gov. Aggregation   DPL             5856449174                  Electric       Gov. Aggregation
AEP - OP      00140060775087185           Electric       Gov. Aggregation   DPL             5869832658                  Electric       Gov. Aggregation
AEP - OP      00140060775254854           Electric       Gov. Aggregation   DPL             3756870009                  Electric       Gov. Aggregation
AEP - OP      00140060776073701           Electric       Gov. Aggregation   DPL             4013433670                  Electric       Gov. Aggregation
AEP - OP      00140060776124650           Electric       Gov. Aggregation   DPL             4438543024                  Electric       Gov. Aggregation
AEP - OP      00140060776249830           Electric       Gov. Aggregation   DPL             4590211348                  Electric       Gov. Aggregation
AEP - OP      00140060776479594           Electric       Gov. Aggregation   DPL             4946658230                  Electric       Gov. Aggregation
AEP - OP      00140060776525934           Electric       Gov. Aggregation   DPL             6262132978                  Electric       Gov. Aggregation
AEP - OP      00140060776813220           Electric       Gov. Aggregation   DPL             6298305534                  Electric       Gov. Aggregation
AEP - OP      00140060761644523           Electric       Gov. Aggregation   DPL             6365310816                  Electric       Gov. Aggregation
AEP - OP      00140060761721300           Electric       Gov. Aggregation   DPL             7161314452                  Electric       Gov. Aggregation
AEP - OP      00140060762059243           Electric       Gov. Aggregation   DPL             5067022214                  Electric       Gov. Aggregation
AEP - OP      00140060762102610           Electric       Gov. Aggregation   DPL             5197621220                  Electric       Gov. Aggregation
AEP - OP      00140060762128262           Electric       Gov. Aggregation   DPL             5247430495                  Electric       Gov. Aggregation
AEP - OP      00140060762169864           Electric       Gov. Aggregation   DPL             5434552316                  Electric       Gov. Aggregation
AEP - OP      00140060762176524           Electric       Gov. Aggregation   DPL             5525335265                  Electric       Gov. Aggregation
AEP - OP      00140060774002403           Electric       Gov. Aggregation   FEOH - OE       08063548840000803201        Electric       Gov. Aggregation
AEP - OP      00140060774100690           Electric       Gov. Aggregation   FEOH - OE       08063776710001301045        Electric       Gov. Aggregation
AEP - OP      00140060774149545           Electric       Gov. Aggregation   FEOH - OE       08063856570001130447        Electric       Gov. Aggregation
AEP - OP      00140060774175573           Electric       Gov. Aggregation   DPL             0893566579                  Electric       Gov. Aggregation
AEP - OP      00140060774263631           Electric       Gov. Aggregation   DPL             6401012563                  Electric       Gov. Aggregation
AEP - OP      00140060774400861           Electric       Gov. Aggregation   DPL             6454508538                  Electric       Gov. Aggregation
AEP - OP      00140060770166204           Electric       Gov. Aggregation   DPL             6710692252                  Electric       Gov. Aggregation
AEP - OP      00140060770335162           Electric       Gov. Aggregation   DPL             6814630354                  Electric       Gov. Aggregation
AEP - OP      00140060770345284           Electric       Gov. Aggregation   DPL             7163517305                  Electric       Gov. Aggregation
AEP - OP      00140060770415412           Electric       Gov. Aggregation   DPL             6102829663                  Electric       Gov. Aggregation
AEP - OP      00140060770511742           Electric       Gov. Aggregation   DPL             6519889707                  Electric       Gov. Aggregation
AEP - OP      00140060759540194           Electric       Gov. Aggregation   DPL             6578426815                  Electric       Gov. Aggregation
AEP - OP      00140060759622531           Electric       Gov. Aggregation   DPL             6980910752                  Electric       Gov. Aggregation
AEP - OP      00140060759672031           Electric       Gov. Aggregation   DPL             7084922530                  Electric       Gov. Aggregation
AEP - OP      00140060759727145           Electric       Gov. Aggregation   DPL             7264579978                  Electric       Gov. Aggregation
AEP - OP      00140060759815121           Electric       Gov. Aggregation   DPL             6046416360                  Electric       Gov. Aggregation
AEP - OP      00140060759818194           Electric       Gov. Aggregation   DPL             6171419029                  Electric       Gov. Aggregation
AEP - OP      00140060759847223           Electric       Gov. Aggregation   DPL             6490513286                  Electric       Gov. Aggregation
AEP - OP      00140060759047133           Electric       Gov. Aggregation   DPL             6610632854                  Electric       Gov. Aggregation
AEP - OP      00140060759057682           Electric       Gov. Aggregation   DPL             6757650227                  Electric       Gov. Aggregation
AEP - OP      00140060759086755           Electric       Gov. Aggregation   DPL             6762798032                  Electric       Gov. Aggregation
AEP - OP      00140060759096921           Electric       Gov. Aggregation   DPL             6848145976                  Electric       Gov. Aggregation
AEP - OP      00140060759201235           Electric       Gov. Aggregation   DPL             5924365952                  Electric       Gov. Aggregation
AEP - OP      00140060759201720           Electric       Gov. Aggregation   DPL             6094244430                  Electric       Gov. Aggregation
AEP - OP      00140060765256091           Electric       Gov. Aggregation   DPL             6499512985                  Electric       Gov. Aggregation
AEP - OP      00140060765292195           Electric       Gov. Aggregation   DPL             7002269799                  Electric       Gov. Aggregation
AEP - OP      00140060765339054           Electric       Gov. Aggregation   DPL             7231060822                  Electric       Gov. Aggregation
AEP - OP      00140060765391342           Electric       Gov. Aggregation   DPL             5232329132                  Electric       Gov. Aggregation
AEP - OP      00140060765474133           Electric       Gov. Aggregation   DPL             5309612305                  Electric       Gov. Aggregation
AEP - OP      00140060765522451           Electric       Gov. Aggregation   DPL             5403759955                  Electric       Gov. Aggregation
AEP - OP      00140060765683541           Electric       Gov. Aggregation   DPL             5564017873                  Electric       Gov. Aggregation
AEP - OP      00140060776825092           Electric       Gov. Aggregation   DPL             1218943088                  Electric       Gov. Aggregation
AEP - OP      00140060776888071           Electric       Gov. Aggregation   DPL             1662037094                  Electric       Gov. Aggregation
AEP - OP      00140060776898321           Electric       Gov. Aggregation   DPL             1881181741                  Electric       Gov. Aggregation
AEP - OP      00140060776944170           Electric       Gov. Aggregation   DPL             1997919436                  Electric       Gov. Aggregation
AEP - OP      00140060776969465           Electric       Gov. Aggregation   DPL             2119775627                  Electric       Gov. Aggregation
AEP - OP      00140060777016133           Electric       Gov. Aggregation   DPL             2155642956                  Electric       Gov. Aggregation
AEP - OP      00140060777022291           Electric       Gov. Aggregation   DPL             2240148957                  Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type         Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060762237493           Electric       Gov. Aggregation   DPL             5652524747                  Electric       Gov. Aggregation
AEP - OP      00140060762269680           Electric       Gov. Aggregation   DPL             5749684309                  Electric       Gov. Aggregation
AEP - OP      00140060762287773           Electric       Gov. Aggregation   DPL             6297625168                  Electric       Gov. Aggregation
AEP - OP      00140060762315463           Electric       Gov. Aggregation   DPL             6403251873                  Electric       Gov. Aggregation
AEP - OP      00140060762408925           Electric       Gov. Aggregation   DPL             6703664731                  Electric       Gov. Aggregation
AEP - OP      00140060762425571           Electric       Gov. Aggregation   DPL             7582761641                  Electric       Gov. Aggregation
AEP - OP      00140060762477611           Electric       Gov. Aggregation   DPL             7747621257                  Electric       Gov. Aggregation
AEP - OP      00140060774425292           Electric       Gov. Aggregation   DPL             7804137575                  Electric       Gov. Aggregation
AEP - OP      00140060774426880           Electric       Gov. Aggregation   DPL             7816573149                  Electric       Gov. Aggregation
AEP - OP      00140060774432413           Electric       Gov. Aggregation   DPL             8084024128                  Electric       Gov. Aggregation
AEP - OP      00140060774485104           Electric       Gov. Aggregation   DPL             6921807460                  Electric       Gov. Aggregation
AEP - OP      00140060774568561           Electric       Gov. Aggregation   DPL             7362463351                  Electric       Gov. Aggregation
AEP - OP      00140060774637295           Electric       Gov. Aggregation   DPL             7804137575                  Electric       Gov. Aggregation
AEP - OP      00140060774643554           Electric       Gov. Aggregation   DPL             8061195816                  Electric       Gov. Aggregation
AEP - OP      00140060760067274           Electric       Gov. Aggregation   DPL             5834624890                  Electric       Gov. Aggregation
AEP - OP      00140060760135292           Electric       Gov. Aggregation   DPL             5938967426                  Electric       Gov. Aggregation
AEP - OP      00140060760205752           Electric       Gov. Aggregation   DPL             5941658394                  Electric       Gov. Aggregation
AEP - OP      00140060760258093           Electric       Gov. Aggregation   DPL             6037433468                  Electric       Gov. Aggregation
AEP - OP      00140060760283034           Electric       Gov. Aggregation   DPL             6078642890                  Electric       Gov. Aggregation
AEP - OP      00140060760449800           Electric       Gov. Aggregation   DPL             2579492098                  Electric       Gov. Aggregation
AEP - OP      00140060760489600           Electric       Gov. Aggregation   DPL             2609661560                  Electric       Gov. Aggregation
AEP - OP      00140060770629314           Electric       Gov. Aggregation   DPL             2938565036                  Electric       Gov. Aggregation
AEP - OP      00140060770643874           Electric       Gov. Aggregation   DPL             3525323886                  Electric       Gov. Aggregation
AEP - OP      00140060770780403           Electric       Gov. Aggregation   DPL             3672989810                  Electric       Gov. Aggregation
AEP - OP      00140060770884673           Electric       Gov. Aggregation   DPL             3915081060                  Electric       Gov. Aggregation
AEP - OP      00140060770927072           Electric       Gov. Aggregation   DPL             6785876918                  Electric       Gov. Aggregation
AEP - OP      00140060770967133           Electric       Gov. Aggregation   DPL             6811256649                  Electric       Gov. Aggregation
AEP - OP      00140060770989270           Electric       Gov. Aggregation   DPL             6857443813                  Electric       Gov. Aggregation
AEP - OP      00140060759419155           Electric       Gov. Aggregation   DPL             6887439396                  Electric       Gov. Aggregation
AEP - OP      00140060759497203           Electric       Gov. Aggregation   DPL             7473466192                  Electric       Gov. Aggregation
AEP - OP      00140060759518802           Electric       Gov. Aggregation   DPL             6401339428                  Electric       Gov. Aggregation
AEP - OP      00140060759626671           Electric       Gov. Aggregation   DPL             6536102694                  Electric       Gov. Aggregation
AEP - OP      00140060759755933           Electric       Gov. Aggregation   DPL             6724567348                  Electric       Gov. Aggregation
AEP - OP      00140060759803463           Electric       Gov. Aggregation   DPL             6930193848                  Electric       Gov. Aggregation
AEP - OP      00140060759848453           Electric       Gov. Aggregation   DPL             7199225448                  Electric       Gov. Aggregation
AEP - OP      00140060765724590           Electric       Gov. Aggregation   DPL             4026852338                  Electric       Gov. Aggregation
AEP - OP      00140060765823234           Electric       Gov. Aggregation   DPL             4121436478                  Electric       Gov. Aggregation
AEP - OP      00140060765892014           Electric       Gov. Aggregation   DPL             4349117062                  Electric       Gov. Aggregation
AEP - OP      00140060765893390           Electric       Gov. Aggregation   DPL             4615136350                  Electric       Gov. Aggregation
AEP - OP      00140060765966782           Electric       Gov. Aggregation   DPL             4724391650                  Electric       Gov. Aggregation
AEP - OP      00140060766103733           Electric       Gov. Aggregation   DPL             4791081483                  Electric       Gov. Aggregation
AEP - OP      00140060766116833           Electric       Gov. Aggregation   DPL             4795992744                  Electric       Gov. Aggregation
AEP - OP      00140060775261775           Electric       Gov. Aggregation   DPL             4858346081                  Electric       Gov. Aggregation
AEP - OP      00140060775282063           Electric       Gov. Aggregation   DPL             5108050828                  Electric       Gov. Aggregation
AEP - OP      00140060775317172           Electric       Gov. Aggregation   DPL             5199421759                  Electric       Gov. Aggregation
AEP - OP      00140060775360945           Electric       Gov. Aggregation   DPL             7741286258                  Electric       Gov. Aggregation
AEP - OP      00140060775568591           Electric       Gov. Aggregation   DPL             7320874030                  Electric       Gov. Aggregation
AEP - OP      00140060775600610           Electric       Gov. Aggregation   DPL             7609669942                  Electric       Gov. Aggregation
AEP - OP      00140060775644975           Electric       Gov. Aggregation   DPL             7352888863                  Electric       Gov. Aggregation
AEP - OP      00140060774663950           Electric       Gov. Aggregation   DPL             7420347303                  Electric       Gov. Aggregation
AEP - OP      00140060774673385           Electric       Gov. Aggregation   DPL             7451631436                  Electric       Gov. Aggregation
AEP - OP      00140060774683955           Electric       Gov. Aggregation   DPL             7504048429                  Electric       Gov. Aggregation
AEP - OP      00140060774704493           Electric       Gov. Aggregation   DPL             7516203332                  Electric       Gov. Aggregation
AEP - OP      00140060774789105           Electric       Gov. Aggregation   DPL             8016330846                  Electric       Gov. Aggregation
AEP - OP      00140060774850033           Electric       Gov. Aggregation   DPL             6330172074                  Electric       Gov. Aggregation
AEP - OP      00140060774884495           Electric       Gov. Aggregation   DPL             6339322875                  Electric       Gov. Aggregation
AEP - OP      00140060762523603           Electric       Gov. Aggregation   DPL             6934112446                  Electric       Gov. Aggregation
AEP - OP      00140060762565305           Electric       Gov. Aggregation   DPL             7306875266                  Electric       Gov. Aggregation
AEP - OP      00140060762599332           Electric       Gov. Aggregation   DPL             7340465128                  Electric       Gov. Aggregation
AEP - OP      00140060762922634           Electric       Gov. Aggregation   DPL             7622236127                  Electric       Gov. Aggregation
AEP - OP      00140060762964625           Electric       Gov. Aggregation   DPL             8569697088                  Electric       Gov. Aggregation
AEP - OP      00140060762979060           Electric       Gov. Aggregation   DPL             8637818568                  Electric       Gov. Aggregation
AEP - OP      00140060763011155           Electric       Gov. Aggregation   DPL             8649663449                  Electric       Gov. Aggregation
AEP - OP      00140060771075233           Electric       Gov. Aggregation   DPL             8750970891                  Electric       Gov. Aggregation
AEP - OP      00140060771271333           Electric       Gov. Aggregation   DPL             8776551286                  Electric       Gov. Aggregation
AEP - OP      00140060771318204           Electric       Gov. Aggregation   DPL             8926451742                  Electric       Gov. Aggregation
AEP - OP      00140060771366294           Electric       Gov. Aggregation   DPL             8511100749                  Electric       Gov. Aggregation
AEP - OP      00140060771619092           Electric       Gov. Aggregation   DPL             8832181466                  Electric       Gov. Aggregation
AEP - OP      00140060771681674           Electric       Gov. Aggregation   DPL             8877888383                  Electric       Gov. Aggregation
AEP - OP      00140060759882985           Electric       Gov. Aggregation   DPL             8960414550                  Electric       Gov. Aggregation
AEP - OP      00140060759985925           Electric       Gov. Aggregation   DPL             8992553461                  Electric       Gov. Aggregation
AEP - OP      00140060760021375           Electric       Gov. Aggregation   DPL             8009070679                  Electric       Gov. Aggregation
AEP - OP      00140060760058022           Electric       Gov. Aggregation   DPL             8031046510                  Electric       Gov. Aggregation
AEP - OP      00140060760217003           Electric       Gov. Aggregation   DPL             8644574085                  Electric       Gov. Aggregation
AEP - OP      00140060760275093           Electric       Gov. Aggregation   DPL             8754039854                  Electric       Gov. Aggregation
AEP - OP      00140060760315792           Electric       Gov. Aggregation   DPL             9197064134                  Electric       Gov. Aggregation
AEP - OP      00140060760513571           Electric       Gov. Aggregation   DPL             8150541522                  Electric       Gov. Aggregation
AEP - OP      00140060760765434           Electric       Gov. Aggregation   DPL             8210262924                  Electric       Gov. Aggregation
AEP - OP      00140060760769485           Electric       Gov. Aggregation   DPL             8273637328                  Electric       Gov. Aggregation
AEP - OP      00140060760834764           Electric       Gov. Aggregation   DPL             8614202331                  Electric       Gov. Aggregation
AEP - OP      00140060760934904           Electric       Gov. Aggregation   AEP - OP        900140060708232271          Electric       Gov. Aggregation
AEP - OP      00140060760976971           Electric       Gov. Aggregation   DPL             9109267306                  Electric       Gov. Aggregation
AEP - OP      00140060761012640           Electric       Gov. Aggregation   DPL             8495110560                  Electric       Gov. Aggregation
AEP - OP      00140060777071640           Electric       Gov. Aggregation   DPL             8662105828                  Electric       Gov. Aggregation
AEP - OP      00140060777213501           Electric       Gov. Aggregation   DPL             8689752956                  Electric       Gov. Aggregation
AEP - OP      00140060777237760           Electric       Gov. Aggregation   DPL             9228623474                  Electric       Gov. Aggregation
AEP - OP      00140060777322902           Electric       Gov. Aggregation   DPL             9328245460                  Electric       Gov. Aggregation
AEP - OP      00140060777412711           Electric       Gov. Aggregation   DPL             9340649714                  Electric       Gov. Aggregation
AEP - OP      00140060777561404           Electric       Gov. Aggregation   DPL             7977546045                  Electric       Gov. Aggregation
AEP - OP      00140060777566523           Electric       Gov. Aggregation   DPL             8823013068                  Electric       Gov. Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type         Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060775729664           Electric       Gov. Aggregation   DPL             8886111219                  Electric       Gov. Aggregation
AEP - OP      00140060775731893           Electric       Gov. Aggregation   DPL             9356977762                  Electric       Gov. Aggregation
AEP - OP      00140060775783213           Electric       Gov. Aggregation   DPL             9400467565                  Electric       Gov. Aggregation
AEP - OP      00140060775824084           Electric       Gov. Aggregation   DPL             8304854026                  Electric       Gov. Aggregation
AEP - OP      00140060775861925           Electric       Gov. Aggregation   DPL             8861310719                  Electric       Gov. Aggregation
AEP - OP      00140060775881932           Electric       Gov. Aggregation   DPL             8917746289                  Electric       Gov. Aggregation
AEP - OP      00140060766227570           Electric       Gov. Aggregation   DPL             8975579929                  Electric       Gov. Aggregation
AEP - OP      00140060766396980           Electric       Gov. Aggregation   DPL             9264934283                  Electric       Gov. Aggregation
AEP - OP      00140060766444763           Electric       Gov. Aggregation   DPL             9654249661                  Electric       Gov. Aggregation
AEP - OP      00140060766488842           Electric       Gov. Aggregation   DPL             7829466303                  Electric       Gov. Aggregation
AEP - OP      00140060766488842           Electric       Gov. Aggregation   DPL             7838713152                  Electric       Gov. Aggregation
AEP - OP      00140060766590464           Electric       Gov. Aggregation   DPL             8450171990                  Electric       Gov. Aggregation
AEP - OP      00140060766621553           Electric       Gov. Aggregation   DPL             8882683199                  Electric       Gov. Aggregation
AEP - OP      00140060774906395           Electric       Gov. Aggregation   DPL             9134216127                  Electric       Gov. Aggregation
AEP - OP      00140060774912490           Electric       Gov. Aggregation   DPL             9117771688                  Electric       Gov. Aggregation
AEP - OP      00140060774921662           Electric       Gov. Aggregation   DPL             9185110565                  Electric       Gov. Aggregation
AEP - OP      00140060774961830           Electric       Gov. Aggregation   DPL             9229804474                  Electric       Gov. Aggregation
AEP - OP      00140060775214874           Electric       Gov. Aggregation   DPL             9389511800                  Electric       Gov. Aggregation
AEP - OP      00140060775321704           Electric       Gov. Aggregation   DPL             9858645593                  Electric       Gov. Aggregation
AEP - OP      00140060763052880           Electric       Gov. Aggregation   DPL             9876715445                  Electric       Gov. Aggregation
AEP - OP      00140060763199105           Electric       Gov. Aggregation   DPL             9916491673                  Electric       Gov. Aggregation
AEP - OP      00140060763225855           Electric       Gov. Aggregation   DPL             9410174054                  Electric       Gov. Aggregation
AEP - OP      00140060763250444           Electric       Gov. Aggregation   DPL             9418911737                  Electric       Gov. Aggregation
AEP - OP      00140060763322660           Electric       Gov. Aggregation   DPL             9556039661                  Electric       Gov. Aggregation
AEP - OP      00140060763405205           Electric       Gov. Aggregation   DPL             9504488259                  Electric       Gov. Aggregation
AEP - OP      00140060763462724           Electric       Gov. Aggregation   DPL             9892586655                  Electric       Gov. Aggregation
AEP - OP      00140060771724854           Electric       Gov. Aggregation   DPL             9918383185                  Electric       Gov. Aggregation
AEP - OP      00140060771869932           Electric       Gov. Aggregation   DPL             9954584748                  Electric       Gov. Aggregation
AEP - OP      00140060771882030           Electric       Gov. Aggregation   DPL             9462343755                  Electric       Gov. Aggregation
AEP - OP      00140060772165981           Electric       Gov. Aggregation   DPL             9861333541                  Electric       Gov. Aggregation
AEP - OP      00140060772303320           Electric       Gov. Aggregation   DPL             9891511455                  Electric       Gov. Aggregation
AEP - OP      00140060772429883           Electric       Gov. Aggregation   DPL             9723207582                  Electric       Gov. Aggregation
AEP - OP      00140060772460421           Electric       Gov. Aggregation   DPL             9844589329                  Electric       Gov. Aggregation
AEP - OP      00140060760510603           Electric       Gov. Aggregation   DPL             9871011750                  Electric       Gov. Aggregation
AEP - OP      00140060760514673           Electric       Gov. Aggregation
AEP - OP      00140060760526945           Electric       Gov. Aggregation
AEP - OP      00140060760926720           Electric       Gov. Aggregation
AEP - OP      00140060760930524           Electric       Gov. Aggregation
AEP - OP      00140060761018193           Electric       Gov. Aggregation
AEP - OP      00140060761024724           Electric       Gov. Aggregation
AEP - OP      00140060775371860           Electric       Gov. Aggregation
AEP - OP      00140060775439730           Electric       Gov. Aggregation
AEP - OP      00140060775607702           Electric       Gov. Aggregation
AEP - OP      00140060775772222           Electric       Gov. Aggregation
AEP - OP      00140060775801154           Electric       Gov. Aggregation
AEP - OP      00140060775842584           Electric       Gov. Aggregation
AEP - OP      00140060775857075           Electric       Gov. Aggregation
AEP - OP      00140060761204943           Electric       Gov. Aggregation
AEP - OP      00140060761223145           Electric       Gov. Aggregation
AEP - OP      00140060761386175           Electric       Gov. Aggregation
AEP - OP      00140060761394154           Electric       Gov. Aggregation
AEP - OP      00140060761421142           Electric       Gov. Aggregation
AEP - OP      00140060761448853           Electric       Gov. Aggregation
AEP - OP      00140060761603911           Electric       Gov. Aggregation
AEP - OP      00140060775903414           Electric       Gov. Aggregation
AEP - OP      00140060775930505           Electric       Gov. Aggregation
AEP - OP      00140060775940950           Electric       Gov. Aggregation
AEP - OP      00140060776014882           Electric       Gov. Aggregation
AEP - OP      00140060776137643           Electric       Gov. Aggregation
AEP - OP      00140060776219892           Electric       Gov. Aggregation
AEP - OP      00140060776252222           Electric       Gov. Aggregation
AEP - OP      00140060766653250           Electric       Gov. Aggregation
AEP - OP      00140060766757465           Electric       Gov. Aggregation
AEP - OP      00140060766845900           Electric       Gov. Aggregation
AEP - OP      00140060766886115           Electric       Gov. Aggregation
AEP - OP      00140060766952062           Electric       Gov. Aggregation
AEP - OP      00140060766956535           Electric       Gov. Aggregation
AEP - OP      00140060767018504           Electric       Gov. Aggregation
AEP - OP      00140060763468930           Electric       Gov. Aggregation
AEP - OP      00140060763570775           Electric       Gov. Aggregation
AEP - OP      00140060763618264           Electric       Gov. Aggregation
AEP - OP      00140060763687703           Electric       Gov. Aggregation
AEP - OP      00140060763750021           Electric       Gov. Aggregation
AEP - OP      00140060763790623           Electric       Gov. Aggregation
AEP - OP      00140060763871200           Electric       Gov. Aggregation
AEP - OP      00140060761059042           Electric       Gov. Aggregation
AEP - OP      00140060761199092           Electric       Gov. Aggregation
AEP - OP      00140060761207513           Electric       Gov. Aggregation
AEP - OP      00140060761282445           Electric       Gov. Aggregation
AEP - OP      00140060761328883           Electric       Gov. Aggregation
AEP - OP      00140060761499731           Electric       Gov. Aggregation
AEP - OP      00140060761634822           Electric       Gov. Aggregation
AEP - OP      00140060775936833           Electric       Gov. Aggregation
AEP - OP      00140060776048923           Electric       Gov. Aggregation
AEP - OP      00140060776063164           Electric       Gov. Aggregation
AEP - OP      00140060776210823           Electric       Gov. Aggregation
AEP - OP      00140060776220070           Electric       Gov. Aggregation
AEP - OP      00140060776348000           Electric       Gov. Aggregation
AEP - OP      00140060776369005           Electric       Gov. Aggregation
AEP - OP      00140060776390511           Electric       Gov. Aggregation
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                                   EXHIBIT D

                           Schedule Gas Agg Agreements
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  S. No.                         Name             State         Type        S. No.                           Name         State         Type
        1 Adams Township                         OH       Gas Aggregation        56 Morgan Township                      OH       Gas Aggregation
        2 Bethel Township                        OH       Gas Aggregation        57 Orange Township                      OH       Gas Aggregation
        3 Board of Commissioners Stark Co        OH       Gas Aggregation        58 Pease Township                       OH       Gas Aggregation
        4 Board of Erie County Commissioners     OH       Gas Aggregation        59 Perrysburg Township                  OH       Gas Aggregation
        5 Brown Township                         OH       Gas Aggregation        60 Pierce Township                      OH       Gas Aggregation
        6 Cambridge Township                     OH       Gas Aggregation        61 Pike Township                        OH       Gas Aggregation
        7 Canfield Township                      OH       Gas Aggregation        62 Richland Township                    OH       Gas Aggregation
        8 City of Ashland                        OH       Gas Aggregation        63 Salem Township                       OH       Gas Aggregation
        9 City of Bellefontaine                  OH       Gas Aggregation        64 Saline Township                      OH       Gas Aggregation
       10 City of Bowling Green                  OH       Gas Aggregation        65 Sandy Township (Stark County)        OH       Gas Aggregation
       11 City of Canfield                       OH       Gas Aggregation        66 Sandy Township (Tuscarawas County)   OH       Gas Aggregation
       12 City of Celina                         OH       Gas Aggregation        67 Scioto Township                      OH       Gas Aggregation
       13 City of Clyde                          OH       Gas Aggregation        68 Springfield Township                 OH       Gas Aggregation
       14 City of Columbiana                     OH       Gas Aggregation        69 Steubenville Township                OH       Gas Aggregation
       15 City of Findlay                        OH       Gas Aggregation        70 Tuscarawas Township                  OH       Gas Aggregation
       16 City of Fremont                        OH       Gas Aggregation        71 Viillage of Shawnee Hills            OH       Gas Aggregation
       17 City of Gallipolis                     OH       Gas Aggregation        72 Village of Albany                    OH       Gas Aggregation
       18 City of Greenville                     OH       Gas Aggregation        73 Village of Ansonia                   OH       Gas Aggregation
       19 City of Marion                         OH       Gas Aggregation        74 Village of Ashville                  OH       Gas Aggregation
       20 City of North Canton                   OH       Gas Aggregation        75 Village of Barnesville               OH       Gas Aggregation
       21 City of Ontario                        OH       Gas Aggregation        76 Village of Bellville                 OH       Gas Aggregation
       22 City of Pickerington                   OH       Gas Aggregation        77 Village of Bethesda                  OH       Gas Aggregation
       23 City of Reynoldsburg                   OH       Gas Aggregation        78 Village of Bradford                  OH       Gas Aggregation
       24 City of Salem                          OH       Gas Aggregation        79 Village of Bradner                   OH       Gas Aggregation
       25 City of Shelby                         OH       Gas Aggregation        80 Village of Brewster                  OH       Gas Aggregation
       26 City of Sidney                         OH       Gas Aggregation        81 Village of Bridgeport                OH       Gas Aggregation
       27 City of St. Clairsville                OH       Gas Aggregation        82 Village of Cadiz                     OH       Gas Aggregation
       28 City of St. Marys                      OH       Gas Aggregation        83 Village of Corwin                    OH       Gas Aggregation
       29 City of Uhrichsville                   OH       Gas Aggregation        84 Village of Covington                 OH       Gas Aggregation
       30 City of Washington Court House         OH       Gas Aggregation        85 Village of Elmore                    OH       Gas Aggregation
       31 City of Willard                        OH       Gas Aggregation        86 Village of Fort Loramie              OH       Gas Aggregation
       32 City of Wilmington                     OH       Gas Aggregation        87 Village of Fredericktown             OH       Gas Aggregation
       33 City of Xenia                          OH       Gas Aggregation        88 Village of Grafton                   OH       Gas Aggregation
       34 Clay Township                          OH       Gas Aggregation        89 Village of Greenfield                OH       Gas Aggregation
       35 Cross Creek Township                   OH       Gas Aggregation        90 Village of Jeffersonville            OH       Gas Aggregation
       36 Etna Township                          OH       Gas Aggregation        91 Village of Killbuck                  OH       Gas Aggregation
       37 Franklin Township (Coshocton Co)       OH       Gas Aggregation        92 Village of Magnolia                  OH       Gas Aggregation
       38 Franklin Township (Tuscarawasa Co)     OH       Gas Aggregation        93 Village of McConnelsville            OH       Gas Aggregation
       39 Franklin Township (Warren County)      OH       Gas Aggregation        94 Village of Milan                     OH       Gas Aggregation
       40 Genoa Township                         OH       Gas Aggregation        95 Village of Navarre                   OH       Gas Aggregation
       41 German Township                        OH       Gas Aggregation        96 Village of New Waterford             OH       Gas Aggregation
       42 Green Township                         OH       Gas Aggregation        97 Village of Pomeroy                   OH       Gas Aggregation
       43 Greenville Township                    OH       Gas Aggregation        98 Village of Russia                    OH       Gas Aggregation
       44 Hamilton Township                      OH       Gas Aggregation        99 Village of Silverton                 OH       Gas Aggregation
       45 Harrison Township                      OH       Gas Aggregation       100 Village of Sunbury                   OH       Gas Aggregation
       46 Jackson Township                       OH       Gas Aggregation       101 Village of Warsaw                    OH       Gas Aggregation
       47 Jefferson Township                     OH       Gas Aggregation       102 Village of West Lafayette            OH       Gas Aggregation
       48 Lawrence Township                      OH       Gas Aggregation       103 Village of West Milton               OH       Gas Aggregation
       49 Liberty Township (Hancock Co)          OH       Gas Aggregation       104 Wayne Township (Jefferson County)    OH       Gas Aggregation
       50 Mad River Township                     OH       Gas Aggregation       105 Wayne Township (Warren County)       OH       Gas Aggregation
       51 Madison Township (Clark Co)            OH       Gas Aggregation
       52 Marion Township                        OH       Gas Aggregation
       53 Medina County                          OH       Gas Aggregation
       54 Mill Township                          OH       Gas Aggregation
       55 Monroe Township                        OH       Gas Aggregation
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                                   EXHIBIT D-1

                           Schedule of Agg Gas Customers
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4003382442484913            Gas           Gov. Aggregation   VEDO            4021111692391652            Gas           Gov. Aggregation
VEDO            4003830672382357            Gas           Gov. Aggregation   VEDO            4001483392254972            Gas           Gov. Aggregation
VEDO            4017453912458365            Gas           Gov. Aggregation   VEDO            4016277502166171            Gas           Gov. Aggregation
DEO             9500033188515               Gas           Gov. Aggregation   VEDO            4018430442278670            Gas           Gov. Aggregation
DEO             3230000000458               Gas           Gov. Aggregation   VEDO            4003256792247601            Gas           Gov. Aggregation
DEO             4350000001087               Gas           Gov. Aggregation   VEDO            4017490822453253            Gas           Gov. Aggregation
DEO             2421006326766               Gas           Gov. Aggregation   VEDO            4021421692524190            Gas           Gov. Aggregation
DEO             6500029660643               Gas           Gov. Aggregation   VEDO            4019383802182840            Gas           Gov. Aggregation
DEO             4330000016356               Gas           Gov. Aggregation   VEDO            4021214312684346            Gas           Gov. Aggregation
DEO             0120000113021               Gas           Gov. Aggregation   VEDO            4004965542477162            Gas           Gov. Aggregation
DEO             9120000051109               Gas           Gov. Aggregation   VEDO            4021047872156744            Gas           Gov. Aggregation
DEO             7500000920570               Gas           Gov. Aggregation   VEDO            4021037002429669            Gas           Gov. Aggregation
DEO             5500014589083               Gas           Gov. Aggregation   VEDO            4017447202255781            Gas           Gov. Aggregation
DEO             4421102586042               Gas           Gov. Aggregation   VEDO            4018635302295109            Gas           Gov. Aggregation
DEO             5421003209112               Gas           Gov. Aggregation   VEDO            4020246312476032            Gas           Gov. Aggregation
DEO             4421001287047               Gas           Gov. Aggregation   VEDO            4021439142483303            Gas           Gov. Aggregation
DEO             1140000100978               Gas           Gov. Aggregation   VEDO            4021307562209137            Gas           Gov. Aggregation
DEO             1421001804907               Gas           Gov. Aggregation   VEDO            4021109842240628            Gas           Gov. Aggregation
DEO             9500040595188               Gas           Gov. Aggregation   VEDO            4004197192275962            Gas           Gov. Aggregation
DEO             4500002896454               Gas           Gov. Aggregation   VEDO            4020905182679680            Gas           Gov. Aggregation
DEO             7500004757293               Gas           Gov. Aggregation   VEDO            4015597902220814            Gas           Gov. Aggregation
DEO             0500002115125               Gas           Gov. Aggregation   VEDO            4020110762674419            Gas           Gov. Aggregation
DEO             4420906297183               Gas           Gov. Aggregation   VEDO            4021451322370385            Gas           Gov. Aggregation
DEO             9500044027216               Gas           Gov. Aggregation   VEDO            4004255912528525            Gas           Gov. Aggregation
DEO             1500014483434               Gas           Gov. Aggregation   VEDO            4021077942283485            Gas           Gov. Aggregation
DEO             0500046197000               Gas           Gov. Aggregation   VEDO            4021217792577299            Gas           Gov. Aggregation
DEO             1500008761833               Gas           Gov. Aggregation   VEDO            4020914142610002            Gas           Gov. Aggregation
DEO             9442104443528               Gas           Gov. Aggregation   VEDO            4021440332610119            Gas           Gov. Aggregation
DEO             2500034919669               Gas           Gov. Aggregation   VEDO            4020333782610102            Gas           Gov. Aggregation
DEO             2500004153302               Gas           Gov. Aggregation   VEDO            4002480052639276            Gas           Gov. Aggregation
DEO             4500043509849               Gas           Gov. Aggregation   VEDO            4019128992682912            Gas           Gov. Aggregation
DEO             8500029790302               Gas           Gov. Aggregation   VEDO            4002457692677108            Gas           Gov. Aggregation
VEDO            4001414422138842            Gas           Gov. Aggregation   VEDO            4002190412677111            Gas           Gov. Aggregation
DEO             7421005371944               Gas           Gov. Aggregation   VEDO            4015574232632569            Gas           Gov. Aggregation
DEO             9500044260617               Gas           Gov. Aggregation   VEDO            4018001252677106            Gas           Gov. Aggregation
COH             108667130011                Gas           Gov. Aggregation   VEDO            4019330642330318            Gas           Gov. Aggregation
COH             108667170022                Gas           Gov. Aggregation   VEDO            4021477762234714            Gas           Gov. Aggregation
COH             108682490014                Gas           Gov. Aggregation   VEDO            4021505572212503            Gas           Gov. Aggregation
COH             108686190019                Gas           Gov. Aggregation   VEDO            4020928512377323            Gas           Gov. Aggregation
COH             108693850015                Gas           Gov. Aggregation   VEDO            4021295242508930            Gas           Gov. Aggregation
COH             108698560016                Gas           Gov. Aggregation   VEDO            4021295812374918            Gas           Gov. Aggregation
COH             108700020012                Gas           Gov. Aggregation   COH             134745680134                Gas           Gov. Aggregation
COH             108707650016                Gas           Gov. Aggregation   COH             208281030019                Gas           Gov. Aggregation
COH             108711890026                Gas           Gov. Aggregation   COH             199771760037                Gas           Gov. Aggregation
COH             108712230013                Gas           Gov. Aggregation   COH             203542100015                Gas           Gov. Aggregation
COH             108716530012                Gas           Gov. Aggregation   COH             189425760050                Gas           Gov. Aggregation
COH             108718640015                Gas           Gov. Aggregation   COH             190375830013                Gas           Gov. Aggregation
COH             108721940033                Gas           Gov. Aggregation   COH             168480920064                Gas           Gov. Aggregation
COH             108730080026                Gas           Gov. Aggregation   COH             206562220015                Gas           Gov. Aggregation
COH             108730210019                Gas           Gov. Aggregation   COH             189243470075                Gas           Gov. Aggregation
COH             108732160016                Gas           Gov. Aggregation   COH             205831210017                Gas           Gov. Aggregation
COH             108743040045                Gas           Gov. Aggregation   COH             207163130019                Gas           Gov. Aggregation
COH             108744190015                Gas           Gov. Aggregation   COH             203571700036                Gas           Gov. Aggregation
COH             108752600011                Gas           Gov. Aggregation   COH             208062370012                Gas           Gov. Aggregation
COH             108753240015                Gas           Gov. Aggregation   COH             207543760011                Gas           Gov. Aggregation
COH             108753850017                Gas           Gov. Aggregation   COH             129758000029                Gas           Gov. Aggregation
COH             108770110016                Gas           Gov. Aggregation   COH             205058760012                Gas           Gov. Aggregation
COH             108782030027                Gas           Gov. Aggregation   COH             205058760030                Gas           Gov. Aggregation
COH             108840120015                Gas           Gov. Aggregation   COH             207664470016                Gas           Gov. Aggregation
COH             108847800018                Gas           Gov. Aggregation   COH             208800870011                Gas           Gov. Aggregation
COH             109579660016                Gas           Gov. Aggregation   COH             165672510057                Gas           Gov. Aggregation
COH             109858640036                Gas           Gov. Aggregation   COH             208635940017                Gas           Gov. Aggregation
COH             109859130013                Gas           Gov. Aggregation   COH             206440370012                Gas           Gov. Aggregation
COH             109869170078                Gas           Gov. Aggregation   COH             207142250018                Gas           Gov. Aggregation
COH             109870760017                Gas           Gov. Aggregation   COH             207297970029                Gas           Gov. Aggregation
COH             110363730015                Gas           Gov. Aggregation   COH             168574170027                Gas           Gov. Aggregation
COH             110364070049                Gas           Gov. Aggregation   COH             208667920014                Gas           Gov. Aggregation
COH             110464900033                Gas           Gov. Aggregation   COH             208138310013                Gas           Gov. Aggregation
COH             110488700026                Gas           Gov. Aggregation   COH             120571910069                Gas           Gov. Aggregation
COH             110568530013                Gas           Gov. Aggregation   COH             130459740070                Gas           Gov. Aggregation
COH             110571790012                Gas           Gov. Aggregation   COH             143133490130                Gas           Gov. Aggregation
COH             110595960025                Gas           Gov. Aggregation   COH             190779430039                Gas           Gov. Aggregation
COH             110620020018                Gas           Gov. Aggregation   COH             157815900051                Gas           Gov. Aggregation
COH             110781710013                Gas           Gov. Aggregation   COH             175209690086                Gas           Gov. Aggregation
COH             110915340016                Gas           Gov. Aggregation   COH             201709540048                Gas           Gov. Aggregation
COH             110920240016                Gas           Gov. Aggregation   COH             206212510015                Gas           Gov. Aggregation
COH             110932870019                Gas           Gov. Aggregation   COH             207543740024                Gas           Gov. Aggregation
COH             110933280011                Gas           Gov. Aggregation   COH             202612140037                Gas           Gov. Aggregation
COH             110972720016                Gas           Gov. Aggregation   COH             207718200035                Gas           Gov. Aggregation
COH             110986090010                Gas           Gov. Aggregation   COH             207257930012                Gas           Gov. Aggregation
COH             110987020021                Gas           Gov. Aggregation   COH             201231500030                Gas           Gov. Aggregation
COH             110992990018                Gas           Gov. Aggregation   COH             208835930015                Gas           Gov. Aggregation
COH             110993060011                Gas           Gov. Aggregation   COH             149482810057                Gas           Gov. Aggregation
COH             111035060029                Gas           Gov. Aggregation   COH             120531920043                Gas           Gov. Aggregation
COH             111046630017                Gas           Gov. Aggregation   COH             130120020041                Gas           Gov. Aggregation
COH             111053580013                Gas           Gov. Aggregation   COH             131930310015                Gas           Gov. Aggregation
COH             111070290018                Gas           Gov. Aggregation   COH             204526030031                Gas           Gov. Aggregation
COH             111070450014                Gas           Gov. Aggregation   COH             209325460014                Gas           Gov. Aggregation
COH             111071090027                Gas           Gov. Aggregation   COH             154420910086                Gas           Gov. Aggregation
COH             111071870023                Gas           Gov. Aggregation   COH             209034570018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             111088190012                Gas           Gov. Aggregation   COH             200357700024                Gas           Gov. Aggregation
COH             111101820019                Gas           Gov. Aggregation   COH             206921690015                Gas           Gov. Aggregation
COH             111104760016                Gas           Gov. Aggregation   COH             207955250015                Gas           Gov. Aggregation
COH             111123530032                Gas           Gov. Aggregation   COH             207632840015                Gas           Gov. Aggregation
COH             111124360018                Gas           Gov. Aggregation   COH             205117100023                Gas           Gov. Aggregation
COH             111137050016                Gas           Gov. Aggregation   COH             209443130013                Gas           Gov. Aggregation
COH             111144630019                Gas           Gov. Aggregation   COH             208865390016                Gas           Gov. Aggregation
COH             111207140027                Gas           Gov. Aggregation   COH             209076550014                Gas           Gov. Aggregation
COH             111209700025                Gas           Gov. Aggregation   COH             198147640063                Gas           Gov. Aggregation
COH             111219890025                Gas           Gov. Aggregation   COH             209375000033                Gas           Gov. Aggregation
COH             111233090014                Gas           Gov. Aggregation   COH             207486570013                Gas           Gov. Aggregation
COH             111234860010                Gas           Gov. Aggregation   COH             208048080013                Gas           Gov. Aggregation
COH             111234960019                Gas           Gov. Aggregation   COH             209224110011                Gas           Gov. Aggregation
COH             111235930013                Gas           Gov. Aggregation   COH             207376040017                Gas           Gov. Aggregation
COH             111256820012                Gas           Gov. Aggregation   COH             199459590026                Gas           Gov. Aggregation
COH             111258380020                Gas           Gov. Aggregation   COH             207794230011                Gas           Gov. Aggregation
COH             111270090016                Gas           Gov. Aggregation   COH             208269460015                Gas           Gov. Aggregation
COH             111274180046                Gas           Gov. Aggregation   COH             208122860011                Gas           Gov. Aggregation
COH             111286480020                Gas           Gov. Aggregation   COH             206921720018                Gas           Gov. Aggregation
COH             111287250026                Gas           Gov. Aggregation   COH             207038780018                Gas           Gov. Aggregation
COH             111325720016                Gas           Gov. Aggregation   COH             205458020028                Gas           Gov. Aggregation
COH             111326290015                Gas           Gov. Aggregation   COH             194321090045                Gas           Gov. Aggregation
COH             111326500010                Gas           Gov. Aggregation   COH             204626910025                Gas           Gov. Aggregation
COH             111327020019                Gas           Gov. Aggregation   COH             207700630014                Gas           Gov. Aggregation
COH             111327400019                Gas           Gov. Aggregation   COH             209312520018                Gas           Gov. Aggregation
COH             111329880015                Gas           Gov. Aggregation   COH             196182140039                Gas           Gov. Aggregation
COH             111360880028                Gas           Gov. Aggregation   COH             197379170026                Gas           Gov. Aggregation
COH             111367840022                Gas           Gov. Aggregation   COH             159527230033                Gas           Gov. Aggregation
COH             111369350021                Gas           Gov. Aggregation   COH             118527590028                Gas           Gov. Aggregation
COH             111396250016                Gas           Gov. Aggregation   COH             137208740065                Gas           Gov. Aggregation
COH             112039100012                Gas           Gov. Aggregation   COH             190100920033                Gas           Gov. Aggregation
COH             112215480028                Gas           Gov. Aggregation   COH             173172300097                Gas           Gov. Aggregation
COH             112283970031                Gas           Gov. Aggregation   COH             192308880049                Gas           Gov. Aggregation
COH             112293310010                Gas           Gov. Aggregation   COH             145892090027                Gas           Gov. Aggregation
COH             112294790018                Gas           Gov. Aggregation   COH             188958170038                Gas           Gov. Aggregation
COH             113470090029                Gas           Gov. Aggregation   COH             200440630022                Gas           Gov. Aggregation
COH             114420080016                Gas           Gov. Aggregation   COH             201703850018                Gas           Gov. Aggregation
COH             114485420018                Gas           Gov. Aggregation   COH             187430650045                Gas           Gov. Aggregation
COH             114810570025                Gas           Gov. Aggregation   COH             206313390026                Gas           Gov. Aggregation
COH             114918100258                Gas           Gov. Aggregation   COH             208503220017                Gas           Gov. Aggregation
COH             114929340022                Gas           Gov. Aggregation   COH             200542480028                Gas           Gov. Aggregation
COH             114946420010                Gas           Gov. Aggregation   COH             205847410012                Gas           Gov. Aggregation
COH             114950940012                Gas           Gov. Aggregation   COH             206907780016                Gas           Gov. Aggregation
COH             114954370023                Gas           Gov. Aggregation   COH             190081860074                Gas           Gov. Aggregation
COH             114954450062                Gas           Gov. Aggregation   COH             205650920012                Gas           Gov. Aggregation
COH             114973920018                Gas           Gov. Aggregation   COH             199394490025                Gas           Gov. Aggregation
COH             114996590010                Gas           Gov. Aggregation   COH             205398190021                Gas           Gov. Aggregation
COH             114999790012                Gas           Gov. Aggregation   COH             208959560011                Gas           Gov. Aggregation
COH             115001640015                Gas           Gov. Aggregation   COH             185512870038                Gas           Gov. Aggregation
COH             115008690039                Gas           Gov. Aggregation   COH             192332360065                Gas           Gov. Aggregation
COH             115021480035                Gas           Gov. Aggregation   COH             208342190016                Gas           Gov. Aggregation
COH             115022960014                Gas           Gov. Aggregation   COH             208749060011                Gas           Gov. Aggregation
COH             115030890021                Gas           Gov. Aggregation   COH             208222220013                Gas           Gov. Aggregation
COH             115031020012                Gas           Gov. Aggregation   COH             196460170042                Gas           Gov. Aggregation
COH             115371780013                Gas           Gov. Aggregation   COH             209253350010                Gas           Gov. Aggregation
COH             115371790011                Gas           Gov. Aggregation   COH             204541030011                Gas           Gov. Aggregation
COH             115419230016                Gas           Gov. Aggregation   COH             206234620016                Gas           Gov. Aggregation
COH             115467910021                Gas           Gov. Aggregation   COH             209050180016                Gas           Gov. Aggregation
COH             115548570030                Gas           Gov. Aggregation   COH             168401330028                Gas           Gov. Aggregation
COH             115683200022                Gas           Gov. Aggregation   COH             204921820028                Gas           Gov. Aggregation
COH             115705160032                Gas           Gov. Aggregation   COH             205519020019                Gas           Gov. Aggregation
COH             115753390015                Gas           Gov. Aggregation   COH             143902980038                Gas           Gov. Aggregation
COH             115756500033                Gas           Gov. Aggregation   COH             161766980063                Gas           Gov. Aggregation
COH             115774090014                Gas           Gov. Aggregation   COH             140542250029                Gas           Gov. Aggregation
COH             115774300019                Gas           Gov. Aggregation   COH             144846310028                Gas           Gov. Aggregation
COH             115782230017                Gas           Gov. Aggregation   COH             175535220047                Gas           Gov. Aggregation
COH             115782970012                Gas           Gov. Aggregation   COH             186966950057                Gas           Gov. Aggregation
COH             115803650013                Gas           Gov. Aggregation   COH             188112120049                Gas           Gov. Aggregation
COH             115810420016                Gas           Gov. Aggregation   COH             192924670047                Gas           Gov. Aggregation
COH             115810430032                Gas           Gov. Aggregation   COH             194248700024                Gas           Gov. Aggregation
COH             115828380018                Gas           Gov. Aggregation   COH             204178280029                Gas           Gov. Aggregation
COH             115828460011                Gas           Gov. Aggregation   COH             204718450027                Gas           Gov. Aggregation
COH             115831150019                Gas           Gov. Aggregation   COH             205519010020                Gas           Gov. Aggregation
COH             115831350017                Gas           Gov. Aggregation   COH             205866980013                Gas           Gov. Aggregation
COH             115837330019                Gas           Gov. Aggregation   COH             205933500010                Gas           Gov. Aggregation
COH             115837640014                Gas           Gov. Aggregation   COH             205955400015                Gas           Gov. Aggregation
COH             115838230045                Gas           Gov. Aggregation   COH             207353890017                Gas           Gov. Aggregation
COH             115839130017                Gas           Gov. Aggregation   COH             207392640035                Gas           Gov. Aggregation
COH             115839320017                Gas           Gov. Aggregation   COH             207423240014                Gas           Gov. Aggregation
COH             115844510016                Gas           Gov. Aggregation   COH             207526630014                Gas           Gov. Aggregation
COH             115844730010                Gas           Gov. Aggregation   COH             207807590017                Gas           Gov. Aggregation
COH             115846160025                Gas           Gov. Aggregation   COH             208010420010                Gas           Gov. Aggregation
COH             115850380011                Gas           Gov. Aggregation   COH             208032980017                Gas           Gov. Aggregation
COH             115850800012                Gas           Gov. Aggregation   COH             208032990015                Gas           Gov. Aggregation
COH             115851330019                Gas           Gov. Aggregation   COH             208651020016                Gas           Gov. Aggregation
COH             115852010014                Gas           Gov. Aggregation   COH             208703580018                Gas           Gov. Aggregation
COH             116637042388                Gas           Gov. Aggregation   COH             208703600013                Gas           Gov. Aggregation
COH             116835960047                Gas           Gov. Aggregation   COH             208800880019                Gas           Gov. Aggregation
COH             116872140032                Gas           Gov. Aggregation   COH             208830740015                Gas           Gov. Aggregation
COH             117033730044                Gas           Gov. Aggregation   COH             208881700016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             117037580039                Gas           Gov. Aggregation   COH             209312510010                Gas           Gov. Aggregation
COH             117090350026                Gas           Gov. Aggregation   COH             209339780018                Gas           Gov. Aggregation
COH             117091360022                Gas           Gov. Aggregation   COH             205685320015                Gas           Gov. Aggregation
COH             117091490025                Gas           Gov. Aggregation   COH             206835450018                Gas           Gov. Aggregation
COH             117116540020                Gas           Gov. Aggregation   COH             120424650127                Gas           Gov. Aggregation
COH             117134800027                Gas           Gov. Aggregation   COH             193085710029                Gas           Gov. Aggregation
COH             117174010029                Gas           Gov. Aggregation   COH             141188860013                Gas           Gov. Aggregation
COH             117174790026                Gas           Gov. Aggregation   COH             197281740023                Gas           Gov. Aggregation
COH             117180860037                Gas           Gov. Aggregation   COH             197483300036                Gas           Gov. Aggregation
COH             117189070035                Gas           Gov. Aggregation   COH             200256440023                Gas           Gov. Aggregation
COH             117215600018                Gas           Gov. Aggregation   COH             200916820023                Gas           Gov. Aggregation
COH             117255650023                Gas           Gov. Aggregation   COH             201097430022                Gas           Gov. Aggregation
COH             117273650016                Gas           Gov. Aggregation   COH             201687530020                Gas           Gov. Aggregation
COH             117291280016                Gas           Gov. Aggregation   COH             204325260039                Gas           Gov. Aggregation
COH             117292580011                Gas           Gov. Aggregation   COH             205730270019                Gas           Gov. Aggregation
COH             117299020032                Gas           Gov. Aggregation   COH             205994070013                Gas           Gov. Aggregation
COH             117300020028                Gas           Gov. Aggregation   COH             206005760012                Gas           Gov. Aggregation
COH             117306990014                Gas           Gov. Aggregation   VEDO            4019074862425085            Gas           Gov. Aggregation
COH             117308790021                Gas           Gov. Aggregation   VEDO            4004650242139701            Gas           Gov. Aggregation
COH             117323980029                Gas           Gov. Aggregation   VEDO            4018751092110355            Gas           Gov. Aggregation
COH             117328530014                Gas           Gov. Aggregation   VEDO            4017008432398491            Gas           Gov. Aggregation
COH             117345060017                Gas           Gov. Aggregation   VEDO            4005063132517854            Gas           Gov. Aggregation
COH             117345320012                Gas           Gov. Aggregation   VEDO            4019500322394245            Gas           Gov. Aggregation
COH             117345420011                Gas           Gov. Aggregation   VEDO            4018973672319063            Gas           Gov. Aggregation
COH             117347400011                Gas           Gov. Aggregation   VEDO            4017971992507522            Gas           Gov. Aggregation
COH             117347520025                Gas           Gov. Aggregation   VEDO            4001705822166484            Gas           Gov. Aggregation
COH             117349150010                Gas           Gov. Aggregation   VEDO            4017609492517292            Gas           Gov. Aggregation
COH             117349540018                Gas           Gov. Aggregation   VEDO            4019997002210997            Gas           Gov. Aggregation
COH             117356500011                Gas           Gov. Aggregation   VEDO            4021230002422578            Gas           Gov. Aggregation
COH             117356780022                Gas           Gov. Aggregation   VEDO            4015994072197610            Gas           Gov. Aggregation
COH             117358900013                Gas           Gov. Aggregation   VEDO            4016285822427988            Gas           Gov. Aggregation
COH             117362330014                Gas           Gov. Aggregation   VEDO            4021396402200173            Gas           Gov. Aggregation
COH             117362930027                Gas           Gov. Aggregation   VEDO            4021471812181473            Gas           Gov. Aggregation
COH             117363170016                Gas           Gov. Aggregation   VEDO            4021404422367553            Gas           Gov. Aggregation
COH             117371370017                Gas           Gov. Aggregation   VEDO            4021307542491553            Gas           Gov. Aggregation
COH             117375400021                Gas           Gov. Aggregation   VEDO            4021508862269150            Gas           Gov. Aggregation
COH             117378300026                Gas           Gov. Aggregation   VEDO            4020840302311375            Gas           Gov. Aggregation
COH             117449740032                Gas           Gov. Aggregation   VEDO            4003171472374690            Gas           Gov. Aggregation
COH             117466260028                Gas           Gov. Aggregation   VEDO            4021450872229400            Gas           Gov. Aggregation
COH             117481720038                Gas           Gov. Aggregation   VEDO            4021065862211404            Gas           Gov. Aggregation
COH             117555380024                Gas           Gov. Aggregation   VEDO            4020898782489978            Gas           Gov. Aggregation
COH             117567120032                Gas           Gov. Aggregation   VEDO            4020116912284374            Gas           Gov. Aggregation
COH             117944880024                Gas           Gov. Aggregation   VEDO            4016468482507431            Gas           Gov. Aggregation
COH             118006430043                Gas           Gov. Aggregation   VEDO            4021091282674193            Gas           Gov. Aggregation
COH             118019650022                Gas           Gov. Aggregation   VEDO            4019022072443223            Gas           Gov. Aggregation
COH             118058980021                Gas           Gov. Aggregation   VEDO            4021182342209271            Gas           Gov. Aggregation
COH             118060130033                Gas           Gov. Aggregation   VEDO            4021058712183485            Gas           Gov. Aggregation
COH             118077640022                Gas           Gov. Aggregation   VEDO            4020328322261029            Gas           Gov. Aggregation
COH             118099090031                Gas           Gov. Aggregation   VEDO            4018472602608227            Gas           Gov. Aggregation
COH             118102430021                Gas           Gov. Aggregation   VEDO            4016105102524348            Gas           Gov. Aggregation
COH             118150660022                Gas           Gov. Aggregation   VEDO            4001498482146644            Gas           Gov. Aggregation
COH             118205850025                Gas           Gov. Aggregation   VEDO            4018186212128947            Gas           Gov. Aggregation
COH             118227710028                Gas           Gov. Aggregation   VEDO            4021183582450284            Gas           Gov. Aggregation
COH             118267940044                Gas           Gov. Aggregation   VEDO            4021036222680602            Gas           Gov. Aggregation
COH             118291950023                Gas           Gov. Aggregation   VEDO            4021200522651704            Gas           Gov. Aggregation
COH             118304650027                Gas           Gov. Aggregation   VEDO            4021279282366841            Gas           Gov. Aggregation
COH             118362930062                Gas           Gov. Aggregation   VEDO            4018512042462693            Gas           Gov. Aggregation
COH             118371880028                Gas           Gov. Aggregation   VEDO            4016620922128011            Gas           Gov. Aggregation
COH             118427120028                Gas           Gov. Aggregation   VEDO            4020906162348556            Gas           Gov. Aggregation
COH             118576480037                Gas           Gov. Aggregation   VEDO            4018485152418487            Gas           Gov. Aggregation
COH             118801140039                Gas           Gov. Aggregation   VEDO            4021208632424159            Gas           Gov. Aggregation
COH             118985990024                Gas           Gov. Aggregation   VEDO            4020917612265762            Gas           Gov. Aggregation
COH             119013660094                Gas           Gov. Aggregation   VEDO            4021504182280835            Gas           Gov. Aggregation
COH             119017550035                Gas           Gov. Aggregation   VEDO            4001127022160038            Gas           Gov. Aggregation
COH             119069160029                Gas           Gov. Aggregation   VEDO            4021510752128638            Gas           Gov. Aggregation
COH             119077060069                Gas           Gov. Aggregation   VEDO            4016715892440335            Gas           Gov. Aggregation
COH             119197410025                Gas           Gov. Aggregation   VEDO            4017940412426047            Gas           Gov. Aggregation
COH             119240360032                Gas           Gov. Aggregation   VEDO            4017940412477467            Gas           Gov. Aggregation
COH             119583370034                Gas           Gov. Aggregation   COH             164246810012                Gas           Gov. Aggregation
COH             120152270017                Gas           Gov. Aggregation   VEDO            4021254002444024            Gas           Gov. Aggregation
COH             120163190039                Gas           Gov. Aggregation   VEDO            4018404142410410            Gas           Gov. Aggregation
COH             120170720014                Gas           Gov. Aggregation   VEDO            4003384102187731            Gas           Gov. Aggregation
COH             120170970012                Gas           Gov. Aggregation   VEDO            4020149152673278            Gas           Gov. Aggregation
COH             120188140028                Gas           Gov. Aggregation   VEDO            4019378862397772            Gas           Gov. Aggregation
COH             120191080024                Gas           Gov. Aggregation   VEDO            4021415252639866            Gas           Gov. Aggregation
COH             120195890026                Gas           Gov. Aggregation   VEDO            4021399792625973            Gas           Gov. Aggregation
COH             120203740019                Gas           Gov. Aggregation   VEDO            4021395292222261            Gas           Gov. Aggregation
COH             120204310017                Gas           Gov. Aggregation   VEDO            4003179722311916            Gas           Gov. Aggregation
COH             120268200034                Gas           Gov. Aggregation   VEDO            4020851712382075            Gas           Gov. Aggregation
COH             120276370023                Gas           Gov. Aggregation   VEDO            4021418132276954            Gas           Gov. Aggregation
COH             120445910011                Gas           Gov. Aggregation   VEDO            4017555292160464            Gas           Gov. Aggregation
COH             120457110014                Gas           Gov. Aggregation   VEDO            4019883932123819            Gas           Gov. Aggregation
COH             120459900014                Gas           Gov. Aggregation   VEDO            4021088882187223            Gas           Gov. Aggregation
COH             120460600014                Gas           Gov. Aggregation   VEDO            4021400692278593            Gas           Gov. Aggregation
COH             120532420019                Gas           Gov. Aggregation   VEDO            4021396072428311            Gas           Gov. Aggregation
COH             120532980021                Gas           Gov. Aggregation   VEDO            4021155592245527            Gas           Gov. Aggregation
COH             120533880011                Gas           Gov. Aggregation   VEDO            4021200542317639            Gas           Gov. Aggregation
COH             121783410019                Gas           Gov. Aggregation   VEDO            4020940222326608            Gas           Gov. Aggregation
COH             121958740037                Gas           Gov. Aggregation   VEDO            4004060712443273            Gas           Gov. Aggregation
COH             121959400027                Gas           Gov. Aggregation   VEDO            4017327332367165            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             121976070021                Gas           Gov. Aggregation   VEDO         4019994762303909            Gas           Gov. Aggregation
COH             122388570022                Gas           Gov. Aggregation   VEDO         4005024212513435            Gas           Gov. Aggregation
COH             122428060014                Gas           Gov. Aggregation   VEDO         4003281102324233            Gas           Gov. Aggregation
COH             122474140010                Gas           Gov. Aggregation   VEDO         4003243152332005            Gas           Gov. Aggregation
COH             122477820011                Gas           Gov. Aggregation   VEDO         4019825372350588            Gas           Gov. Aggregation
COH             122486050014                Gas           Gov. Aggregation   VEDO         4001674512201122            Gas           Gov. Aggregation
COH             122486430023                Gas           Gov. Aggregation   VEDO         4021484482464589            Gas           Gov. Aggregation
COH             122496110029                Gas           Gov. Aggregation   VEDO         4020798922273437            Gas           Gov. Aggregation
COH             122509150013                Gas           Gov. Aggregation   VEDO         4021457582450556            Gas           Gov. Aggregation
COH             122514250020                Gas           Gov. Aggregation   VEDO         4018798492351008            Gas           Gov. Aggregation
COH             122896090017                Gas           Gov. Aggregation   VEDO         4021158862343896            Gas           Gov. Aggregation
COH             122896780012                Gas           Gov. Aggregation   VEDO         4021246342166335            Gas           Gov. Aggregation
COH             123090750024                Gas           Gov. Aggregation   VEDO         4021411672498648            Gas           Gov. Aggregation
COH             123115310022                Gas           Gov. Aggregation   VEDO         4017245012314603            Gas           Gov. Aggregation
COH             123557220034                Gas           Gov. Aggregation   VEDO         4021206132440811            Gas           Gov. Aggregation
COH             123560420017                Gas           Gov. Aggregation   VEDO         4021450972327651            Gas           Gov. Aggregation
COH             123628150010                Gas           Gov. Aggregation   VEDO         4021269782210646            Gas           Gov. Aggregation
COH             123629400042                Gas           Gov. Aggregation   VEDO         4021452372201412            Gas           Gov. Aggregation
COH             123637480012                Gas           Gov. Aggregation   VEDO         4021452372403135            Gas           Gov. Aggregation
COH             123637620012                Gas           Gov. Aggregation   VEDO         4021232802262858            Gas           Gov. Aggregation
COH             123639690023                Gas           Gov. Aggregation   VEDO         4016829502464907            Gas           Gov. Aggregation
COH             123661210017                Gas           Gov. Aggregation   VEDO         4021175982168850            Gas           Gov. Aggregation
COH             123662990012                Gas           Gov. Aggregation   VEDO         4021090502521603            Gas           Gov. Aggregation
COH             123664330016                Gas           Gov. Aggregation   VEDO         4021268542412674            Gas           Gov. Aggregation
COH             123668990010                Gas           Gov. Aggregation   VEDO         4021450642487807            Gas           Gov. Aggregation
COH             123673160022                Gas           Gov. Aggregation   VEDO         4021426612389881            Gas           Gov. Aggregation
COH             123714280038                Gas           Gov. Aggregation   VEDO         4020183452419240            Gas           Gov. Aggregation
COH             123723660011                Gas           Gov. Aggregation   VEDO         4020860002234461            Gas           Gov. Aggregation
COH             123730410018                Gas           Gov. Aggregation   VEDO         4004650872251703            Gas           Gov. Aggregation
COH             123732000038                Gas           Gov. Aggregation   VEDO         4019762832245421            Gas           Gov. Aggregation
COH             123743980030                Gas           Gov. Aggregation   VEDO         4021439392333459            Gas           Gov. Aggregation
COH             123746960010                Gas           Gov. Aggregation   VEDO         4021252382254039            Gas           Gov. Aggregation
COH             123747800020                Gas           Gov. Aggregation   VEDO         4021205072218373            Gas           Gov. Aggregation
COH             123749140025                Gas           Gov. Aggregation   VEDO         4021415142248130            Gas           Gov. Aggregation
COH             123759680030                Gas           Gov. Aggregation   VEDO         4021108422308258            Gas           Gov. Aggregation
COH             123782570025                Gas           Gov. Aggregation   VEDO         4021289492478202            Gas           Gov. Aggregation
COH             123803120014                Gas           Gov. Aggregation   VEDO         4021170882229331            Gas           Gov. Aggregation
COH             123807640017                Gas           Gov. Aggregation   VEDO         4018680122313561            Gas           Gov. Aggregation
COH             123815890027                Gas           Gov. Aggregation   VEDO         4021212702203220            Gas           Gov. Aggregation
COH             123816360017                Gas           Gov. Aggregation   VEDO         4021165732291039            Gas           Gov. Aggregation
COH             123816700015                Gas           Gov. Aggregation   VEDO         4004766322331881            Gas           Gov. Aggregation
COH             123816830018                Gas           Gov. Aggregation   VEDO         4021116522202442            Gas           Gov. Aggregation
COH             123820280015                Gas           Gov. Aggregation   VEDO         4021423812274491            Gas           Gov. Aggregation
COH             123821470102                Gas           Gov. Aggregation   VEDO         4021451062372153            Gas           Gov. Aggregation
COH             123821580010                Gas           Gov. Aggregation   VEDO         4021400172313634            Gas           Gov. Aggregation
COH             123822960027                Gas           Gov. Aggregation   VEDO         4021445252465967            Gas           Gov. Aggregation
COH             123823300041                Gas           Gov. Aggregation   VEDO         4021212372265899            Gas           Gov. Aggregation
COH             123829800017                Gas           Gov. Aggregation   VEDO         4021462442335781            Gas           Gov. Aggregation
COH             123830120017                Gas           Gov. Aggregation   VEDO         4021112332471212            Gas           Gov. Aggregation
COH             123830790017                Gas           Gov. Aggregation   VEDO         4018067092164384            Gas           Gov. Aggregation
COH             123831060027                Gas           Gov. Aggregation   VEDO         4019110042487501            Gas           Gov. Aggregation
COH             123839160011                Gas           Gov. Aggregation   VEDO         4018825042140088            Gas           Gov. Aggregation
COH             123846090011                Gas           Gov. Aggregation   VEDO         4020203892277496            Gas           Gov. Aggregation
COH             123846450015                Gas           Gov. Aggregation   VEDO         4021159212184394            Gas           Gov. Aggregation
COH             123847450013                Gas           Gov. Aggregation   VEDO         4017054342273761            Gas           Gov. Aggregation
COH             123847500012                Gas           Gov. Aggregation   VEDO         4021301802356193            Gas           Gov. Aggregation
COH             123861050017                Gas           Gov. Aggregation   VEDO         4021484222352555            Gas           Gov. Aggregation
COH             123861120030                Gas           Gov. Aggregation   VEDO         4016229782516998            Gas           Gov. Aggregation
COH             123862150032                Gas           Gov. Aggregation   VEDO         4021215902460057            Gas           Gov. Aggregation
COH             123863110010                Gas           Gov. Aggregation   VEDO         4017944902175095            Gas           Gov. Aggregation
COH             123882380050                Gas           Gov. Aggregation   VEDO         4016310742144119            Gas           Gov. Aggregation
COH             123884060071                Gas           Gov. Aggregation   VEDO         4017638942354425            Gas           Gov. Aggregation
COH             123890180028                Gas           Gov. Aggregation   VEDO         4015897582452379            Gas           Gov. Aggregation
COH             123892200029                Gas           Gov. Aggregation   VEDO         4019011472142591            Gas           Gov. Aggregation
COH             123899920033                Gas           Gov. Aggregation   VEDO         4021204492523620            Gas           Gov. Aggregation
COH             123903930012                Gas           Gov. Aggregation   VEDO         4021197432405381            Gas           Gov. Aggregation
COH             123904140016                Gas           Gov. Aggregation   VEDO         4021149362217973            Gas           Gov. Aggregation
COH             123904550010                Gas           Gov. Aggregation   VEDO         4018685102290557            Gas           Gov. Aggregation
COH             123909970012                Gas           Gov. Aggregation   VEDO         4016327422149094            Gas           Gov. Aggregation
COH             123940260024                Gas           Gov. Aggregation   VEDO         4019757252321490            Gas           Gov. Aggregation
COH             123989960016                Gas           Gov. Aggregation   VEDO         4015351232466578            Gas           Gov. Aggregation
COH             124006200025                Gas           Gov. Aggregation   VEDO         4021204302524067            Gas           Gov. Aggregation
COH             124015890013                Gas           Gov. Aggregation   VEDO         4021310742450384            Gas           Gov. Aggregation
COH             124023710013                Gas           Gov. Aggregation   VEDO         4004920882179094            Gas           Gov. Aggregation
COH             124023720011                Gas           Gov. Aggregation   VEDO         4004558042313308            Gas           Gov. Aggregation
COH             124035880013                Gas           Gov. Aggregation   VEDO         4021214032292773            Gas           Gov. Aggregation
COH             124036420026                Gas           Gov. Aggregation   VEDO         4017614312250472            Gas           Gov. Aggregation
COH             124038600033                Gas           Gov. Aggregation   VEDO         4020875422119749            Gas           Gov. Aggregation
COH             124047630010                Gas           Gov. Aggregation   VEDO         4002711212278294            Gas           Gov. Aggregation
COH             124122660014                Gas           Gov. Aggregation   VEDO         4016669532593906            Gas           Gov. Aggregation
COH             124123250018                Gas           Gov. Aggregation   VEDO         4021288092113357            Gas           Gov. Aggregation
COH             124123800012                Gas           Gov. Aggregation   VEDO         4002788242295498            Gas           Gov. Aggregation
COH             124132540036                Gas           Gov. Aggregation   VEDO         4021209442506888            Gas           Gov. Aggregation
COH             124132630019                Gas           Gov. Aggregation   VEDO         4021455212171714            Gas           Gov. Aggregation
COH             124145230052                Gas           Gov. Aggregation   VEDO         4002160642436444            Gas           Gov. Aggregation
COH             124156290020                Gas           Gov. Aggregation   VEDO         4021242392133745            Gas           Gov. Aggregation
COH             124156540027                Gas           Gov. Aggregation   VEDO         4021299942228791            Gas           Gov. Aggregation
COH             124168280036                Gas           Gov. Aggregation   VEDO         4021234072483277            Gas           Gov. Aggregation
COH             124169630021                Gas           Gov. Aggregation   VEDO         4004350042420055            Gas           Gov. Aggregation
COH             124205970022                Gas           Gov. Aggregation   VEDO         4001830302374165            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             124218190029                Gas           Gov. Aggregation   VEDO         4021185122521626            Gas           Gov. Aggregation
COH             124232360014                Gas           Gov. Aggregation   VEDO         4021425832191656            Gas           Gov. Aggregation
COH             124267770015                Gas           Gov. Aggregation   VEDO         4021404482294418            Gas           Gov. Aggregation
COH             124268670014                Gas           Gov. Aggregation   VEDO         4021395162631407            Gas           Gov. Aggregation
COH             124303640014                Gas           Gov. Aggregation   VEDO         4015361102309763            Gas           Gov. Aggregation
COH             124310540010                Gas           Gov. Aggregation   VEDO         4021078162308687            Gas           Gov. Aggregation
COH             124310760014                Gas           Gov. Aggregation   VEDO         4019263522391997            Gas           Gov. Aggregation
COH             124311030015                Gas           Gov. Aggregation   VEDO         4021273772475768            Gas           Gov. Aggregation
COH             124311340010                Gas           Gov. Aggregation   VEDO         4021268262396564            Gas           Gov. Aggregation
COH             124336590025                Gas           Gov. Aggregation   VEDO         4021152772238957            Gas           Gov. Aggregation
COH             124346270012                Gas           Gov. Aggregation   VEDO         4021431742359618            Gas           Gov. Aggregation
COH             124346470010                Gas           Gov. Aggregation   VEDO         4019967542282295            Gas           Gov. Aggregation
COH             124346620018                Gas           Gov. Aggregation   VEDO         4021421012296463            Gas           Gov. Aggregation
COH             124353370025                Gas           Gov. Aggregation   VEDO         4021402902229863            Gas           Gov. Aggregation
COH             124378340010                Gas           Gov. Aggregation   VEDO         4021393222510154            Gas           Gov. Aggregation
COH             124378840024                Gas           Gov. Aggregation   VEDO         4021279432436787            Gas           Gov. Aggregation
COH             124381180035                Gas           Gov. Aggregation   VEDO         4019823612242011            Gas           Gov. Aggregation
COH             124388670010                Gas           Gov. Aggregation   VEDO         4019794332490375            Gas           Gov. Aggregation
COH             124389610029                Gas           Gov. Aggregation   VEDO         4003407692516833            Gas           Gov. Aggregation
COH             124389690014                Gas           Gov. Aggregation   VEDO         4021454732294139            Gas           Gov. Aggregation
COH             124389800010                Gas           Gov. Aggregation   VEDO         4003903352286089            Gas           Gov. Aggregation
COH             124390260011                Gas           Gov. Aggregation   VEDO         4016550982103417            Gas           Gov. Aggregation
COH             124394310021                Gas           Gov. Aggregation   VEDO         4020056812312771            Gas           Gov. Aggregation
COH             124395510018                Gas           Gov. Aggregation   VEDO         4021406752413901            Gas           Gov. Aggregation
COH             124406010018                Gas           Gov. Aggregation   VEDO         4003183102145298            Gas           Gov. Aggregation
COH             124406130013                Gas           Gov. Aggregation   VEDO         4021475942416045            Gas           Gov. Aggregation
COH             124412950027                Gas           Gov. Aggregation   VEDO         4002229702270252            Gas           Gov. Aggregation
COH             124429720020                Gas           Gov. Aggregation   VEDO         4019415772332725            Gas           Gov. Aggregation
COH             124431260013                Gas           Gov. Aggregation   VEDO         4021456562211568            Gas           Gov. Aggregation
COH             124436200015                Gas           Gov. Aggregation   VEDO         4001493032316795            Gas           Gov. Aggregation
COH             124437280035                Gas           Gov. Aggregation   VEDO         4020798692390084            Gas           Gov. Aggregation
COH             124439140012                Gas           Gov. Aggregation   VEDO         4021173282488068            Gas           Gov. Aggregation
COH             124446490023                Gas           Gov. Aggregation   VEDO         4018644352132372            Gas           Gov. Aggregation
COH             124449260016                Gas           Gov. Aggregation   VEDO         4004797402524642            Gas           Gov. Aggregation
COH             124449320013                Gas           Gov. Aggregation   VEDO         4021481782461351            Gas           Gov. Aggregation
COH             124449560040                Gas           Gov. Aggregation   VEDO         4021475772458600            Gas           Gov. Aggregation
COH             124449690016                Gas           Gov. Aggregation   VEDO         4021105792181978            Gas           Gov. Aggregation
COH             124456340014                Gas           Gov. Aggregation   VEDO         4016679452492053            Gas           Gov. Aggregation
COH             124457300010                Gas           Gov. Aggregation   VEDO         4021449512402576            Gas           Gov. Aggregation
COH             124467270034                Gas           Gov. Aggregation   VEDO         4001441722641252            Gas           Gov. Aggregation
COH             124469140019                Gas           Gov. Aggregation   VEDO         4002378282168044            Gas           Gov. Aggregation
COH             124494820013                Gas           Gov. Aggregation   VEDO         4019760142153460            Gas           Gov. Aggregation
COH             124495120018                Gas           Gov. Aggregation   VEDO         4021162322510980            Gas           Gov. Aggregation
COH             124503280016                Gas           Gov. Aggregation   VEDO         4016777072463539            Gas           Gov. Aggregation
COH             124503810023                Gas           Gov. Aggregation   VEDO         4003015192300454            Gas           Gov. Aggregation
COH             124504160028                Gas           Gov. Aggregation   VEDO         4019444822130085            Gas           Gov. Aggregation
COH             124504180015                Gas           Gov. Aggregation   VEDO         4021106092325796            Gas           Gov. Aggregation
COH             124504470014                Gas           Gov. Aggregation   VEDO         4020215432254342            Gas           Gov. Aggregation
COH             124509030016                Gas           Gov. Aggregation   VEDO         4021243302339142            Gas           Gov. Aggregation
COH             124509060010                Gas           Gov. Aggregation   VEDO         4019805402471325            Gas           Gov. Aggregation
COH             124522120019                Gas           Gov. Aggregation   VEDO         4002006842203619            Gas           Gov. Aggregation
COH             124522620014                Gas           Gov. Aggregation   VEDO         4016018212641391            Gas           Gov. Aggregation
COH             124531890019                Gas           Gov. Aggregation   VEDO         4017241512142256            Gas           Gov. Aggregation
COH             124532170018                Gas           Gov. Aggregation   VEDO         4021242312538541            Gas           Gov. Aggregation
COH             124532650017                Gas           Gov. Aggregation   VEDO         4021240252306404            Gas           Gov. Aggregation
COH             124533370014                Gas           Gov. Aggregation   VEDO         4019890062378163            Gas           Gov. Aggregation
COH             124560030036                Gas           Gov. Aggregation   VEDO         4019145462373082            Gas           Gov. Aggregation
COH             124582480018                Gas           Gov. Aggregation   VEDO         4021450362251597            Gas           Gov. Aggregation
COH             124583160013                Gas           Gov. Aggregation   VEDO         4016511922256576            Gas           Gov. Aggregation
COH             124594110010                Gas           Gov. Aggregation   VEDO         4001405932272700            Gas           Gov. Aggregation
COH             124639850037                Gas           Gov. Aggregation   VEDO         4021088542226593            Gas           Gov. Aggregation
COH             124641720011                Gas           Gov. Aggregation   VEDO         4002343452316716            Gas           Gov. Aggregation
COH             124690150027                Gas           Gov. Aggregation   VEDO         4018223152195097            Gas           Gov. Aggregation
COH             124774920036                Gas           Gov. Aggregation   VEDO         4016324892395662            Gas           Gov. Aggregation
COH             124845350035                Gas           Gov. Aggregation   VEDO         4021044942551329            Gas           Gov. Aggregation
COH             125046330032                Gas           Gov. Aggregation   VEDO         4021116312683393            Gas           Gov. Aggregation
COH             125076950020                Gas           Gov. Aggregation   VEDO         4001944902683429            Gas           Gov. Aggregation
COH             125106580023                Gas           Gov. Aggregation   VEDO         4002469132685348            Gas           Gov. Aggregation
COH             125131380022                Gas           Gov. Aggregation   VEDO         4021277052119081            Gas           Gov. Aggregation
COH             125184290020                Gas           Gov. Aggregation   VEDO         4002693602447341            Gas           Gov. Aggregation
COH             125203940030                Gas           Gov. Aggregation   VEDO         4021161562289522            Gas           Gov. Aggregation
COH             125239670032                Gas           Gov. Aggregation   VEDO         4021235642141531            Gas           Gov. Aggregation
COH             125260760038                Gas           Gov. Aggregation   VEDO         4001898732186255            Gas           Gov. Aggregation
COH             125263310036                Gas           Gov. Aggregation   VEDO         4021049262266532            Gas           Gov. Aggregation
COH             125287020028                Gas           Gov. Aggregation   VEDO         4021418342446674            Gas           Gov. Aggregation
COH             125377820029                Gas           Gov. Aggregation   VEDO         4021205882472013            Gas           Gov. Aggregation
COH             125554220038                Gas           Gov. Aggregation   VEDO         4021154572417778            Gas           Gov. Aggregation
COH             125708840013                Gas           Gov. Aggregation   VEDO         4002712912266197            Gas           Gov. Aggregation
COH             125708870017                Gas           Gov. Aggregation   VEDO         4021274032475624            Gas           Gov. Aggregation
COH             125735020018                Gas           Gov. Aggregation   VEDO         4021398102303363            Gas           Gov. Aggregation
COH             125752720024                Gas           Gov. Aggregation   VEDO         4002261622672231            Gas           Gov. Aggregation
COH             125779740015                Gas           Gov. Aggregation   VEDO         4019153642626496            Gas           Gov. Aggregation
COH             125808500012                Gas           Gov. Aggregation   VEDO         4021446572629699            Gas           Gov. Aggregation
COH             125847400020                Gas           Gov. Aggregation   VEDO         4021111732275145            Gas           Gov. Aggregation
COH             126728460010                Gas           Gov. Aggregation   VEDO         4004094162447452            Gas           Gov. Aggregation
COH             126821770044                Gas           Gov. Aggregation   VEDO         4002721902290150            Gas           Gov. Aggregation
COH             126849440027                Gas           Gov. Aggregation   VEDO         4018043372393122            Gas           Gov. Aggregation
COH             126890250011                Gas           Gov. Aggregation   VEDO         4021460032435785            Gas           Gov. Aggregation
COH             126896260044                Gas           Gov. Aggregation   VEDO         4021242082101301            Gas           Gov. Aggregation
COH             126910770027                Gas           Gov. Aggregation   VEDO         4019187642485800            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             126911570018                Gas           Gov. Aggregation   VEDO            4002205362258577            Gas           Gov. Aggregation
COH             126912000033                Gas           Gov. Aggregation   VEDO            4016717652366498            Gas           Gov. Aggregation
COH             126935550021                Gas           Gov. Aggregation   VEDO            4021079332369987            Gas           Gov. Aggregation
COH             126984150273                Gas           Gov. Aggregation   VEDO            4003171212398933            Gas           Gov. Aggregation
COH             127428060028                Gas           Gov. Aggregation   VEDO            4021292022185634            Gas           Gov. Aggregation
COH             127570270023                Gas           Gov. Aggregation   VEDO            4019341362507094            Gas           Gov. Aggregation
COH             127627060026                Gas           Gov. Aggregation   VEDO            4015904322305147            Gas           Gov. Aggregation
COH             128711810019                Gas           Gov. Aggregation   VEDO            4021277382216704            Gas           Gov. Aggregation
COH             128717020031                Gas           Gov. Aggregation   VEDO            4021065262267069            Gas           Gov. Aggregation
COH             128831560054                Gas           Gov. Aggregation   VEDO            4021429582326091            Gas           Gov. Aggregation
COH             129071260021                Gas           Gov. Aggregation   VEDO            4021462852507122            Gas           Gov. Aggregation
COH             129080670017                Gas           Gov. Aggregation   VEDO            4020802982223783            Gas           Gov. Aggregation
COH             129133470025                Gas           Gov. Aggregation   VEDO            4021291422199986            Gas           Gov. Aggregation
COH             129317250030                Gas           Gov. Aggregation   VEDO            4021249062496329            Gas           Gov. Aggregation
COH             129339980013                Gas           Gov. Aggregation   VEDO            4020793092427971            Gas           Gov. Aggregation
COH             129349550012                Gas           Gov. Aggregation   VEDO            4017110392173747            Gas           Gov. Aggregation
COH             129413230021                Gas           Gov. Aggregation   VEDO            4019279392204836            Gas           Gov. Aggregation
COH             130248330019                Gas           Gov. Aggregation   VEDO            4021231352478147            Gas           Gov. Aggregation
COH             130250240022                Gas           Gov. Aggregation   VEDO            4021167482429691            Gas           Gov. Aggregation
COH             130328160024                Gas           Gov. Aggregation   VEDO            4004304472511282            Gas           Gov. Aggregation
COH             130359140014                Gas           Gov. Aggregation   VEDO            4021102522277436            Gas           Gov. Aggregation
COH             130460770035                Gas           Gov. Aggregation   VEDO            4021429202397586            Gas           Gov. Aggregation
COH             130497030042                Gas           Gov. Aggregation   VEDO            4021295802428019            Gas           Gov. Aggregation
COH             130607630014                Gas           Gov. Aggregation   VEDO            4019334852367687            Gas           Gov. Aggregation
COH             130736860040                Gas           Gov. Aggregation   VEDO            4021100862422650            Gas           Gov. Aggregation
COH             130853440022                Gas           Gov. Aggregation   VEDO            4021103212182072            Gas           Gov. Aggregation
COH             130922560011                Gas           Gov. Aggregation   VEDO            4021103212512494            Gas           Gov. Aggregation
COH             131014790044                Gas           Gov. Aggregation   VEDO            4021214742303140            Gas           Gov. Aggregation
COH             131020740014                Gas           Gov. Aggregation   VEDO            4021268592198492            Gas           Gov. Aggregation
COH             131236190022                Gas           Gov. Aggregation   VEDO            4021282942268459            Gas           Gov. Aggregation
COH             131362440031                Gas           Gov. Aggregation   VEDO            4020250952484076            Gas           Gov. Aggregation
COH             131448700034                Gas           Gov. Aggregation   VEDO            4019151452145683            Gas           Gov. Aggregation
COH             131466300021                Gas           Gov. Aggregation   VEDO            4021249152130475            Gas           Gov. Aggregation
COH             131482540027                Gas           Gov. Aggregation   VEDO            4021221132234915            Gas           Gov. Aggregation
COH             131586800040                Gas           Gov. Aggregation   VEDO            4021114622590428            Gas           Gov. Aggregation
COH             131612960013                Gas           Gov. Aggregation   VEDO            4021443732415219            Gas           Gov. Aggregation
COH             131625050017                Gas           Gov. Aggregation   VEDO            4021156452154852            Gas           Gov. Aggregation
COH             131716100022                Gas           Gov. Aggregation   VEDO            4021167972373517            Gas           Gov. Aggregation
COH             131778100013                Gas           Gov. Aggregation   VEDO            4021398032174940            Gas           Gov. Aggregation
COH             131876940019                Gas           Gov. Aggregation   VEDO            4019773512346405            Gas           Gov. Aggregation
COH             131962110038                Gas           Gov. Aggregation   VEDO            4019001802246371            Gas           Gov. Aggregation
COH             132399880031                Gas           Gov. Aggregation   VEDO            4017102492528681            Gas           Gov. Aggregation
COH             132689710077                Gas           Gov. Aggregation   VEDO            4021174502177962            Gas           Gov. Aggregation
COH             132905310035                Gas           Gov. Aggregation   VEDO            4019751472278878            Gas           Gov. Aggregation
COH             132908630023                Gas           Gov. Aggregation   VEDO            4021260752293391            Gas           Gov. Aggregation
COH             132948270016                Gas           Gov. Aggregation   VEDO            4001584762119261            Gas           Gov. Aggregation
COH             133017090016                Gas           Gov. Aggregation   VEDO            4021211232358893            Gas           Gov. Aggregation
COH             133126830064                Gas           Gov. Aggregation   VEDO            4021249152104892            Gas           Gov. Aggregation
COH             133167620026                Gas           Gov. Aggregation   VEDO            4019926702177112            Gas           Gov. Aggregation
COH             133186440015                Gas           Gov. Aggregation   VEDO            4019972562298053            Gas           Gov. Aggregation
COH             133215800043                Gas           Gov. Aggregation   VEDO            4021206352398090            Gas           Gov. Aggregation
COH             133271040027                Gas           Gov. Aggregation   VEDO            4016657982429741            Gas           Gov. Aggregation
COH             133332890029                Gas           Gov. Aggregation   VEDO            4021099392248910            Gas           Gov. Aggregation
COH             133647430028                Gas           Gov. Aggregation   VEDO            4021303402465516            Gas           Gov. Aggregation
COH             133709870015                Gas           Gov. Aggregation   VEDO            4019978272273530            Gas           Gov. Aggregation
COH             133711780046                Gas           Gov. Aggregation   VEDO            4003492222390304            Gas           Gov. Aggregation
COH             133878720019                Gas           Gov. Aggregation   VEDO            4021414512306736            Gas           Gov. Aggregation
COH             133932430014                Gas           Gov. Aggregation   VEDO            4018835242111619            Gas           Gov. Aggregation
COH             133959080012                Gas           Gov. Aggregation   VEDO            4015660252418622            Gas           Gov. Aggregation
COH             133979520026                Gas           Gov. Aggregation   COH             112301660027                Gas           Gov. Aggregation
COH             134084300019                Gas           Gov. Aggregation   COH             191671800010                Gas           Gov. Aggregation
COH             134104090038                Gas           Gov. Aggregation   VEDO            4021159262184266            Gas           Gov. Aggregation
COH             134256580025                Gas           Gov. Aggregation   VEDO            4019976632416177            Gas           Gov. Aggregation
COH             134257370045                Gas           Gov. Aggregation   VEDO            4021070642436992            Gas           Gov. Aggregation
COH             134358050039                Gas           Gov. Aggregation   VEDO            4003492962346509            Gas           Gov. Aggregation
COH             134537630028                Gas           Gov. Aggregation   VEDO            4021177392324464            Gas           Gov. Aggregation
COH             134609070032                Gas           Gov. Aggregation   VEDO            4001325432527655            Gas           Gov. Aggregation
COH             134721790015                Gas           Gov. Aggregation   VEDO            4021191752256920            Gas           Gov. Aggregation
COH             134746280029                Gas           Gov. Aggregation   VEDO            4020058042364309            Gas           Gov. Aggregation
COH             134762900024                Gas           Gov. Aggregation   VEDO            4019483822355285            Gas           Gov. Aggregation
COH             134858610013                Gas           Gov. Aggregation   VEDO            4021226912527232            Gas           Gov. Aggregation
COH             134926230027                Gas           Gov. Aggregation   VEDO            4021249562228159            Gas           Gov. Aggregation
COH             134946690029                Gas           Gov. Aggregation   VEDO            4016144452296288            Gas           Gov. Aggregation
COH             134947930017                Gas           Gov. Aggregation   VEDO            4021067702229336            Gas           Gov. Aggregation
COH             135019090047                Gas           Gov. Aggregation   VEDO            4020335322237143            Gas           Gov. Aggregation
COH             135029820015                Gas           Gov. Aggregation   VEDO            4021172782255306            Gas           Gov. Aggregation
COH             135088550018                Gas           Gov. Aggregation   VEDO            4021423292187946            Gas           Gov. Aggregation
COH             135103810019                Gas           Gov. Aggregation   VEDO            4019214982221476            Gas           Gov. Aggregation
COH             135127430019                Gas           Gov. Aggregation   VEDO            4021235712378167            Gas           Gov. Aggregation
COH             135183680028                Gas           Gov. Aggregation   VEDO            4001966092469651            Gas           Gov. Aggregation
COH             135186790047                Gas           Gov. Aggregation   VEDO            4021263182145597            Gas           Gov. Aggregation
COH             135269100036                Gas           Gov. Aggregation   VEDO            4018704332389510            Gas           Gov. Aggregation
COH             135477420029                Gas           Gov. Aggregation   VEDO            4021292252313894            Gas           Gov. Aggregation
COH             135581470028                Gas           Gov. Aggregation   VEDO            4016712172147402            Gas           Gov. Aggregation
COH             135600010013                Gas           Gov. Aggregation   VEDO            4019137462131031            Gas           Gov. Aggregation
COH             135819900022                Gas           Gov. Aggregation   VEDO            4021302452388958            Gas           Gov. Aggregation
COH             135855490014                Gas           Gov. Aggregation   VEDO            4017833402215656            Gas           Gov. Aggregation
COH             135861860013                Gas           Gov. Aggregation   VEDO            4021267012102364            Gas           Gov. Aggregation
COH             135901390025                Gas           Gov. Aggregation   VEDO            4019862242339277            Gas           Gov. Aggregation
COH             135920030020                Gas           Gov. Aggregation   VEDO            4016270322430191            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             135999000012                Gas           Gov. Aggregation   VEDO            4021106752195747            Gas           Gov. Aggregation
COH             136091700081                Gas           Gov. Aggregation   VEDO            4001532902472271            Gas           Gov. Aggregation
COH             136104430034                Gas           Gov. Aggregation   VEDO            4017792512459789            Gas           Gov. Aggregation
COH             136225210016                Gas           Gov. Aggregation   VEDO            4021205212447953            Gas           Gov. Aggregation
COH             136288660038                Gas           Gov. Aggregation   VEDO            4018438582257840            Gas           Gov. Aggregation
COH             136320320511                Gas           Gov. Aggregation   VEDO            4020090992310482            Gas           Gov. Aggregation
COH             136418860011                Gas           Gov. Aggregation   VEDO            4021216612324560            Gas           Gov. Aggregation
COH             136472740049                Gas           Gov. Aggregation   VEDO            4017330492308896            Gas           Gov. Aggregation
COH             136493410035                Gas           Gov. Aggregation   VEDO            4021220012333745            Gas           Gov. Aggregation
COH             136535400028                Gas           Gov. Aggregation   VEDO            4015485862457614            Gas           Gov. Aggregation
COH             136589660030                Gas           Gov. Aggregation   VEDO            4021251782271809            Gas           Gov. Aggregation
COH             136589800012                Gas           Gov. Aggregation   VEDO            4002161092644416            Gas           Gov. Aggregation
COH             136607300026                Gas           Gov. Aggregation   VEDO            4021447232621099            Gas           Gov. Aggregation
COH             136710270015                Gas           Gov. Aggregation   VEDO            4021172572621098            Gas           Gov. Aggregation
COH             136938830024                Gas           Gov. Aggregation   VEDO            4020838042226649            Gas           Gov. Aggregation
COH             137395140011                Gas           Gov. Aggregation   VEDO            4003194842162580            Gas           Gov. Aggregation
COH             137407700043                Gas           Gov. Aggregation   VEDO            4021415252160890            Gas           Gov. Aggregation
COH             137518720017                Gas           Gov. Aggregation   VEDO            4021221342385970            Gas           Gov. Aggregation
COH             137561540014                Gas           Gov. Aggregation   VEDO            4020895962386867            Gas           Gov. Aggregation
COH             137605110038                Gas           Gov. Aggregation   VEDO            4001501702401343            Gas           Gov. Aggregation
COH             137661030019                Gas           Gov. Aggregation   VEDO            4021117402602404            Gas           Gov. Aggregation
COH             137753050029                Gas           Gov. Aggregation   VEDO            4018207662420270            Gas           Gov. Aggregation
COH             137990530017                Gas           Gov. Aggregation   VEDO            4001922602432183            Gas           Gov. Aggregation
COH             138008730015                Gas           Gov. Aggregation   VEDO            4018483272444081            Gas           Gov. Aggregation
COH             138059800022                Gas           Gov. Aggregation   VEDO            4018484502296432            Gas           Gov. Aggregation
COH             138144790024                Gas           Gov. Aggregation   VEDO            4021304302119981            Gas           Gov. Aggregation
COH             138174390043                Gas           Gov. Aggregation   VEDO            4001726232245902            Gas           Gov. Aggregation
COH             138296440035                Gas           Gov. Aggregation   VEDO            4003233582595355            Gas           Gov. Aggregation
COH             138378850062                Gas           Gov. Aggregation   VEDO            4018488842595357            Gas           Gov. Aggregation
COH             138396140018                Gas           Gov. Aggregation   VEDO            4015051172595354            Gas           Gov. Aggregation
COH             138503980013                Gas           Gov. Aggregation   VEDO            4018357442595080            Gas           Gov. Aggregation
COH             138504160013                Gas           Gov. Aggregation   VEDO            4017263702219558            Gas           Gov. Aggregation
COH             138551550021                Gas           Gov. Aggregation   VEDO            4018341932364882            Gas           Gov. Aggregation
COH             138619730010                Gas           Gov. Aggregation   VEDO            4021247862358144            Gas           Gov. Aggregation
COH             138679340016                Gas           Gov. Aggregation   VEDO            4021398712307180            Gas           Gov. Aggregation
COH             138762650014                Gas           Gov. Aggregation   VEDO            4021426202224588            Gas           Gov. Aggregation
COH             138768720017                Gas           Gov. Aggregation   VEDO            4021451412316417            Gas           Gov. Aggregation
COH             138786220023                Gas           Gov. Aggregation   VEDO            4021190642403288            Gas           Gov. Aggregation
COH             138821260047                Gas           Gov. Aggregation   VEDO            4021198182419680            Gas           Gov. Aggregation
COH             138849040027                Gas           Gov. Aggregation   VEDO            4021237212197375            Gas           Gov. Aggregation
COH             138900190053                Gas           Gov. Aggregation   VEDO            4017331132190367            Gas           Gov. Aggregation
COH             138929470018                Gas           Gov. Aggregation   VEDO            4021213592349260            Gas           Gov. Aggregation
COH             138957900018                Gas           Gov. Aggregation   VEDO            4020907282259449            Gas           Gov. Aggregation
COH             139076530077                Gas           Gov. Aggregation   VEDO            4003973142466572            Gas           Gov. Aggregation
COH             139274150013                Gas           Gov. Aggregation   VEDO            4021173992499779            Gas           Gov. Aggregation
COH             139297240016                Gas           Gov. Aggregation   VEDO            4021279702345938            Gas           Gov. Aggregation
COH             139317610023                Gas           Gov. Aggregation   VEDO            4015713172525701            Gas           Gov. Aggregation
COH             139493720064                Gas           Gov. Aggregation   VEDO            4018877862375711            Gas           Gov. Aggregation
COH             139522000017                Gas           Gov. Aggregation   VEDO            4021434082297429            Gas           Gov. Aggregation
COH             139584200042                Gas           Gov. Aggregation   VEDO            4018616412327512            Gas           Gov. Aggregation
COH             139612700019                Gas           Gov. Aggregation   VEDO            4021415382234306            Gas           Gov. Aggregation
COH             139637310028                Gas           Gov. Aggregation   VEDO            4017568812265002            Gas           Gov. Aggregation
COH             139651220045                Gas           Gov. Aggregation   VEDO            4021484772312809            Gas           Gov. Aggregation
COH             139695250029                Gas           Gov. Aggregation   VEDO            4021081122323588            Gas           Gov. Aggregation
COH             139759560019                Gas           Gov. Aggregation   VEDO            4021403792217328            Gas           Gov. Aggregation
COH             139761690017                Gas           Gov. Aggregation   VEDO            4016548342326210            Gas           Gov. Aggregation
COH             139844770014                Gas           Gov. Aggregation   VEDO            4021430422315409            Gas           Gov. Aggregation
COH             139851750013                Gas           Gov. Aggregation   VEDO            4019856152484372            Gas           Gov. Aggregation
COH             139853580042                Gas           Gov. Aggregation   VEDO            4004950942158946            Gas           Gov. Aggregation
COH             139877500093                Gas           Gov. Aggregation   VEDO            4021453792199524            Gas           Gov. Aggregation
COH             139973110019                Gas           Gov. Aggregation   VEDO            4015952212303204            Gas           Gov. Aggregation
COH             140027310019                Gas           Gov. Aggregation   VEDO            4020078992307069            Gas           Gov. Aggregation
COH             140045500020                Gas           Gov. Aggregation   VEDO            4021179502683868            Gas           Gov. Aggregation
COH             140188830056                Gas           Gov. Aggregation   VEDO            4021419522683866            Gas           Gov. Aggregation
COH             140222780017                Gas           Gov. Aggregation   VEDO            4021451712683887            Gas           Gov. Aggregation
COH             140232940021                Gas           Gov. Aggregation   VEDO            4021107492683833            Gas           Gov. Aggregation
COH             140278720012                Gas           Gov. Aggregation   VEDO            4018897732623334            Gas           Gov. Aggregation
COH             140433900014                Gas           Gov. Aggregation   VEDO            4021454142623352            Gas           Gov. Aggregation
COH             140507320019                Gas           Gov. Aggregation   DEO             8500013668741               Gas           Gov. Aggregation
COH             140538560032                Gas           Gov. Aggregation   DEO             6500035065576               Gas           Gov. Aggregation
COH             140547120017                Gas           Gov. Aggregation   DEO             9500055467916               Gas           Gov. Aggregation
COH             140666690016                Gas           Gov. Aggregation   DEO             7500037800669               Gas           Gov. Aggregation
COH             140679260019                Gas           Gov. Aggregation   COH             208227190029                Gas           Gov. Aggregation
COH             140683390022                Gas           Gov. Aggregation   DEO             2500048719979               Gas           Gov. Aggregation
COH             140766260032                Gas           Gov. Aggregation   VEDO            4021442562280212            Gas           Gov. Aggregation
COH             140796760034                Gas           Gov. Aggregation   VEDO            4016803452496476            Gas           Gov. Aggregation
COH             140845540017                Gas           Gov. Aggregation   VEDO            4004915772513574            Gas           Gov. Aggregation
COH             140865010016                Gas           Gov. Aggregation   VEDO            4015395862250696            Gas           Gov. Aggregation
COH             140900410025                Gas           Gov. Aggregation   VEDO            4021280982351622            Gas           Gov. Aggregation
COH             140993770016                Gas           Gov. Aggregation   VEDO            4021459602623381            Gas           Gov. Aggregation
COH             141020630024                Gas           Gov. Aggregation   VEDO            4021308742107551            Gas           Gov. Aggregation
COH             141030310048                Gas           Gov. Aggregation   VEDO            4016069802199388            Gas           Gov. Aggregation
COH             141075100182                Gas           Gov. Aggregation   VEDO            4015169382671195            Gas           Gov. Aggregation
COH             141275900019                Gas           Gov. Aggregation   VEDO            4019096512619625            Gas           Gov. Aggregation
COH             141317060034                Gas           Gov. Aggregation   VEDO            4021066832247545            Gas           Gov. Aggregation
COH             141375840038                Gas           Gov. Aggregation   VEDO            4001590332212977            Gas           Gov. Aggregation
COH             141436770024                Gas           Gov. Aggregation   VEDO            4021232332354953            Gas           Gov. Aggregation
COH             141496450016                Gas           Gov. Aggregation   VEDO            4002866932144622            Gas           Gov. Aggregation
COH             141550280025                Gas           Gov. Aggregation   VEDO            4021276952128253            Gas           Gov. Aggregation
COH             141579550037                Gas           Gov. Aggregation   VEDO            4021402092330938            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             141607660015                Gas           Gov. Aggregation   VEDO         4017954052278825            Gas           Gov. Aggregation
COH             141615110013                Gas           Gov. Aggregation   VEDO         4021454472381283            Gas           Gov. Aggregation
COH             141650910137                Gas           Gov. Aggregation   VEDO         4021406612441784            Gas           Gov. Aggregation
COH             141712900011                Gas           Gov. Aggregation   VEDO         4017341822340019            Gas           Gov. Aggregation
COH             141728700029                Gas           Gov. Aggregation   VEDO         4015129312301167            Gas           Gov. Aggregation
COH             141801310016                Gas           Gov. Aggregation   VEDO         4021474952219507            Gas           Gov. Aggregation
COH             141950010023                Gas           Gov. Aggregation   VEDO         4021206712253280            Gas           Gov. Aggregation
COH             141965210011                Gas           Gov. Aggregation   VEDO         4016340652528288            Gas           Gov. Aggregation
COH             141967420022                Gas           Gov. Aggregation   VEDO         4018041502476376            Gas           Gov. Aggregation
COH             141971750015                Gas           Gov. Aggregation   VEDO         4021173692129468            Gas           Gov. Aggregation
COH             142047370022                Gas           Gov. Aggregation   VEDO         4003236072630762            Gas           Gov. Aggregation
COH             142115870022                Gas           Gov. Aggregation   VEDO         4015014652115983            Gas           Gov. Aggregation
COH             142117250028                Gas           Gov. Aggregation   VEDO         4021463892337491            Gas           Gov. Aggregation
COH             142134090035                Gas           Gov. Aggregation   VEDO         4021120862378983            Gas           Gov. Aggregation
COH             142224760024                Gas           Gov. Aggregation   VEDO         4001748062275246            Gas           Gov. Aggregation
COH             142262020047                Gas           Gov. Aggregation   VEDO         4021038802425621            Gas           Gov. Aggregation
COH             142388360040                Gas           Gov. Aggregation   VEDO         4019937852420527            Gas           Gov. Aggregation
COH             142454800037                Gas           Gov. Aggregation   VEDO         4021157792124562            Gas           Gov. Aggregation
COH             142505400050                Gas           Gov. Aggregation   VEDO         4020799732152796            Gas           Gov. Aggregation
COH             142682170037                Gas           Gov. Aggregation   VEDO         4021443512320242            Gas           Gov. Aggregation
COH             142723000016                Gas           Gov. Aggregation   VEDO         4018754782600141            Gas           Gov. Aggregation
COH             142733000015                Gas           Gov. Aggregation   VEDO         4016564202293379            Gas           Gov. Aggregation
COH             142757780012                Gas           Gov. Aggregation   VEDO         4021303472429607            Gas           Gov. Aggregation
COH             142812370029                Gas           Gov. Aggregation   VEDO         4002322772488740            Gas           Gov. Aggregation
COH             142814030017                Gas           Gov. Aggregation   VEDO         4021310562500990            Gas           Gov. Aggregation
COH             142881160028                Gas           Gov. Aggregation   VEDO         4016204782432720            Gas           Gov. Aggregation
COH             142953350016                Gas           Gov. Aggregation   VEDO         4018034672269064            Gas           Gov. Aggregation
COH             143066550023                Gas           Gov. Aggregation   VEDO         4017854562214025            Gas           Gov. Aggregation
COH             143254590017                Gas           Gov. Aggregation   VEDO         4021298772298921            Gas           Gov. Aggregation
COH             143569400028                Gas           Gov. Aggregation   VEDO         4021205902410594            Gas           Gov. Aggregation
COH             143667480060                Gas           Gov. Aggregation   VEDO         4021260742104090            Gas           Gov. Aggregation
COH             143725620020                Gas           Gov. Aggregation   VEDO         4021257042291212            Gas           Gov. Aggregation
COH             143728090017                Gas           Gov. Aggregation   VEDO         4021103792395001            Gas           Gov. Aggregation
COH             143778160026                Gas           Gov. Aggregation   VEDO         4021241532326507            Gas           Gov. Aggregation
COH             143811280010                Gas           Gov. Aggregation   VEDO         4015063862291056            Gas           Gov. Aggregation
COH             143874830021                Gas           Gov. Aggregation   VEDO         4020786912110801            Gas           Gov. Aggregation
COH             144088870010                Gas           Gov. Aggregation   VEDO         4021053462406307            Gas           Gov. Aggregation
COH             144090820015                Gas           Gov. Aggregation   VEDO         4021288612388028            Gas           Gov. Aggregation
COH             144183610021                Gas           Gov. Aggregation   VEDO         4016007522525787            Gas           Gov. Aggregation
COH             144230440035                Gas           Gov. Aggregation   VEDO         4019026892267928            Gas           Gov. Aggregation
COH             144238360018                Gas           Gov. Aggregation   VEDO         4020942052680196            Gas           Gov. Aggregation
COH             144241770024                Gas           Gov. Aggregation   VEDO         4020938522312004            Gas           Gov. Aggregation
COH             144251280026                Gas           Gov. Aggregation   VEDO         4020912692374535            Gas           Gov. Aggregation
COH             144278300034                Gas           Gov. Aggregation   VEDO         4004445872449391            Gas           Gov. Aggregation
COH             144372280011                Gas           Gov. Aggregation   VEDO         4021447272473927            Gas           Gov. Aggregation
COH             144423010036                Gas           Gov. Aggregation   VEDO         4021403592394172            Gas           Gov. Aggregation
COH             144439110023                Gas           Gov. Aggregation   VEDO         4021259122170489            Gas           Gov. Aggregation
COH             144444190017                Gas           Gov. Aggregation   VEDO         4021425562453099            Gas           Gov. Aggregation
COH             144492680013                Gas           Gov. Aggregation   VEDO         4021011342680336            Gas           Gov. Aggregation
COH             144670570027                Gas           Gov. Aggregation   VEDO         4021171832477879            Gas           Gov. Aggregation
COH             144671950025                Gas           Gov. Aggregation   VEDO         4021262142364740            Gas           Gov. Aggregation
COH             144746560019                Gas           Gov. Aggregation   VEDO         4021448502427500            Gas           Gov. Aggregation
COH             144747130035                Gas           Gov. Aggregation   VEDO         4021096972340628            Gas           Gov. Aggregation
COH             144763500024                Gas           Gov. Aggregation   VEDO         4021396962217867            Gas           Gov. Aggregation
COH             144810440026                Gas           Gov. Aggregation   VEDO         4021442192685128            Gas           Gov. Aggregation
COH             144907310028                Gas           Gov. Aggregation   VEDO         4021205332512689            Gas           Gov. Aggregation
COH             144951550016                Gas           Gov. Aggregation   VEDO         4021265522500781            Gas           Gov. Aggregation
COH             145142900034                Gas           Gov. Aggregation   VEDO         4021101962394781            Gas           Gov. Aggregation
COH             145192130031                Gas           Gov. Aggregation   VEDO         4002051772492439            Gas           Gov. Aggregation
COH             145235050027                Gas           Gov. Aggregation   VEDO         4015212292213897            Gas           Gov. Aggregation
COH             145245470028                Gas           Gov. Aggregation   VEDO         4005133232173300            Gas           Gov. Aggregation
COH             145367440017                Gas           Gov. Aggregation   VEDO         4021408902149617            Gas           Gov. Aggregation
COH             145396100017                Gas           Gov. Aggregation   VEDO         4019416652276399            Gas           Gov. Aggregation
COH             145467700010                Gas           Gov. Aggregation   VEDO         4018229562242673            Gas           Gov. Aggregation
COH             145594650012                Gas           Gov. Aggregation   VEDO         4021455282631083            Gas           Gov. Aggregation
COH             145710130013                Gas           Gov. Aggregation   VEDO         4021277882433218            Gas           Gov. Aggregation
COH             145762480011                Gas           Gov. Aggregation   VEDO         4021477962383919            Gas           Gov. Aggregation
COH             145792720026                Gas           Gov. Aggregation   VEDO         4021312152140783            Gas           Gov. Aggregation
COH             145827640019                Gas           Gov. Aggregation   VEDO         4021218402177339            Gas           Gov. Aggregation
COH             145840780012                Gas           Gov. Aggregation   VEDO         4018479642256558            Gas           Gov. Aggregation
COH             145917660023                Gas           Gov. Aggregation   VEDO         4003293092345914            Gas           Gov. Aggregation
COH             145933870016                Gas           Gov. Aggregation   VEDO         4002078722169050            Gas           Gov. Aggregation
COH             145936310035                Gas           Gov. Aggregation   VEDO         4016772672138066            Gas           Gov. Aggregation
COH             146135890086                Gas           Gov. Aggregation   VEDO         4021304962177161            Gas           Gov. Aggregation
COH             146198690040                Gas           Gov. Aggregation   VEDO         4021230412313684            Gas           Gov. Aggregation
COH             146217260011                Gas           Gov. Aggregation   VEDO         4020311732192671            Gas           Gov. Aggregation
COH             146245490023                Gas           Gov. Aggregation   VEDO         4015220562195088            Gas           Gov. Aggregation
COH             146270350010                Gas           Gov. Aggregation   VEDO         4004628752312519            Gas           Gov. Aggregation
COH             146364760033                Gas           Gov. Aggregation   VEDO         4021111282222773            Gas           Gov. Aggregation
COH             146368320019                Gas           Gov. Aggregation   VEDO         4020872472170192            Gas           Gov. Aggregation
COH             146389620012                Gas           Gov. Aggregation   VEDO         4021485572154987            Gas           Gov. Aggregation
COH             146434080037                Gas           Gov. Aggregation   VEDO         4021453332222513            Gas           Gov. Aggregation
COH             146534560016                Gas           Gov. Aggregation   VEDO         4021282722504086            Gas           Gov. Aggregation
COH             146698490024                Gas           Gov. Aggregation   VEDO         4021265852142208            Gas           Gov. Aggregation
COH             146722970020                Gas           Gov. Aggregation   VEDO         4021256122236668            Gas           Gov. Aggregation
COH             146729080050                Gas           Gov. Aggregation   VEDO         4021232872157013            Gas           Gov. Aggregation
COH             146839310012                Gas           Gov. Aggregation   VEDO         4021075392349939            Gas           Gov. Aggregation
COH             146890500014                Gas           Gov. Aggregation   VEDO         4021417002508029            Gas           Gov. Aggregation
COH             146980870016                Gas           Gov. Aggregation   VEDO         4017301242325674            Gas           Gov. Aggregation
COH             146985450014                Gas           Gov. Aggregation   VEDO         4021443032102863            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             147025840024                Gas           Gov. Aggregation   VEDO         4019416652164918            Gas           Gov. Aggregation
COH             147035130031                Gas           Gov. Aggregation   VEDO         4019167152526635            Gas           Gov. Aggregation
COH             147065440033                Gas           Gov. Aggregation   VEDO         4015878962296832            Gas           Gov. Aggregation
COH             147074290018                Gas           Gov. Aggregation   VEDO         4021461052360794            Gas           Gov. Aggregation
COH             147119410016                Gas           Gov. Aggregation   VEDO         4021427812430042            Gas           Gov. Aggregation
COH             147164660073                Gas           Gov. Aggregation   VEDO         4021106032392004            Gas           Gov. Aggregation
COH             147165180018                Gas           Gov. Aggregation   VEDO         4021110702337881            Gas           Gov. Aggregation
COH             147203960012                Gas           Gov. Aggregation   VEDO         4021198002261338            Gas           Gov. Aggregation
COH             147230810016                Gas           Gov. Aggregation   VEDO         4021483142497274            Gas           Gov. Aggregation
COH             147247700023                Gas           Gov. Aggregation   VEDO         4021292092473097            Gas           Gov. Aggregation
COH             147342810037                Gas           Gov. Aggregation   VEDO         4001810842176698            Gas           Gov. Aggregation
COH             147383860013                Gas           Gov. Aggregation   VEDO         4021452282150937            Gas           Gov. Aggregation
COH             147391130037                Gas           Gov. Aggregation   VEDO         4021088992293599            Gas           Gov. Aggregation
COH             147482330023                Gas           Gov. Aggregation   VEDO         4021445322479806            Gas           Gov. Aggregation
COH             147505120027                Gas           Gov. Aggregation   VEDO         4020795472159771            Gas           Gov. Aggregation
COH             147524460053                Gas           Gov. Aggregation   VEDO         4019422412439887            Gas           Gov. Aggregation
COH             147708700025                Gas           Gov. Aggregation   VEDO         4020030352379172            Gas           Gov. Aggregation
COH             147779530059                Gas           Gov. Aggregation   VEDO         4017424512524625            Gas           Gov. Aggregation
COH             147955370013                Gas           Gov. Aggregation   VEDO         4005017392311432            Gas           Gov. Aggregation
COH             147962340023                Gas           Gov. Aggregation   VEDO         4016178752271446            Gas           Gov. Aggregation
COH             147963850042                Gas           Gov. Aggregation   VEDO         4002663892613887            Gas           Gov. Aggregation
COH             147996070010                Gas           Gov. Aggregation   VEDO         4021052832618558            Gas           Gov. Aggregation
COH             148056290024                Gas           Gov. Aggregation   VEDO         4021402652501846            Gas           Gov. Aggregation
COH             148091030024                Gas           Gov. Aggregation   VEDO         4018266492326482            Gas           Gov. Aggregation
COH             148095270026                Gas           Gov. Aggregation   VEDO         4016145972448286            Gas           Gov. Aggregation
COH             148141820021                Gas           Gov. Aggregation   VEDO         4021202932129476            Gas           Gov. Aggregation
COH             148201530024                Gas           Gov. Aggregation   VEDO         4021260562265518            Gas           Gov. Aggregation
COH             148242340082                Gas           Gov. Aggregation   VEDO         4021120342448495            Gas           Gov. Aggregation
COH             148354900023                Gas           Gov. Aggregation   VEDO         4021421392108918            Gas           Gov. Aggregation
COH             148436090020                Gas           Gov. Aggregation   VEDO         4017778672288149            Gas           Gov. Aggregation
COH             148440550015                Gas           Gov. Aggregation   VEDO         4017366122412344            Gas           Gov. Aggregation
COH             148489530017                Gas           Gov. Aggregation   VEDO         4020924292404121            Gas           Gov. Aggregation
COH             148493530036                Gas           Gov. Aggregation   VEDO         4019198012356505            Gas           Gov. Aggregation
COH             148522240025                Gas           Gov. Aggregation   VEDO         4001923402177052            Gas           Gov. Aggregation
COH             148555800019                Gas           Gov. Aggregation   VEDO         4018527232285243            Gas           Gov. Aggregation
COH             148567330022                Gas           Gov. Aggregation   VEDO         4021469612511055            Gas           Gov. Aggregation
COH             148615770018                Gas           Gov. Aggregation   VEDO         4021244152433862            Gas           Gov. Aggregation
COH             148675720021                Gas           Gov. Aggregation   VEDO         4016742922171291            Gas           Gov. Aggregation
COH             148707380104                Gas           Gov. Aggregation   VEDO         4020845482511805            Gas           Gov. Aggregation
COH             148733170023                Gas           Gov. Aggregation   VEDO         4020068952274428            Gas           Gov. Aggregation
COH             148747930042                Gas           Gov. Aggregation   VEDO         4019110042541046            Gas           Gov. Aggregation
COH             148850290011                Gas           Gov. Aggregation   VEDO         4021306412528268            Gas           Gov. Aggregation
COH             148851210015                Gas           Gov. Aggregation   VEDO         4015720152175249            Gas           Gov. Aggregation
COH             149033040014                Gas           Gov. Aggregation   VEDO         4021026932186760            Gas           Gov. Aggregation
COH             149110860045                Gas           Gov. Aggregation   VEDO         4019108232337612            Gas           Gov. Aggregation
COH             149155910013                Gas           Gov. Aggregation   VEDO         4021399822625032            Gas           Gov. Aggregation
COH             149192860016                Gas           Gov. Aggregation   VEDO         4015952492268691            Gas           Gov. Aggregation
COH             149291420036                Gas           Gov. Aggregation   VEDO         4020883332684318            Gas           Gov. Aggregation
COH             149340890033                Gas           Gov. Aggregation   VEDO         4015785502113064            Gas           Gov. Aggregation
COH             149464400024                Gas           Gov. Aggregation   VEDO         4020900792279506            Gas           Gov. Aggregation
COH             149550160022                Gas           Gov. Aggregation   VEDO         4021173722165115            Gas           Gov. Aggregation
COH             149616580033                Gas           Gov. Aggregation   VEDO         4019873202326279            Gas           Gov. Aggregation
COH             149660500027                Gas           Gov. Aggregation   VEDO         4021299352468749            Gas           Gov. Aggregation
COH             149694740044                Gas           Gov. Aggregation   VEDO         4021173192438855            Gas           Gov. Aggregation
COH             149731820038                Gas           Gov. Aggregation   VEDO         4020056302470884            Gas           Gov. Aggregation
COH             149769900014                Gas           Gov. Aggregation   VEDO         4002574072473371            Gas           Gov. Aggregation
COH             149807970018                Gas           Gov. Aggregation   VEDO         4015535312106499            Gas           Gov. Aggregation
COH             149818870025                Gas           Gov. Aggregation   VEDO         4021254252319233            Gas           Gov. Aggregation
COH             149898370022                Gas           Gov. Aggregation   VEDO         4021444672371420            Gas           Gov. Aggregation
COH             149958080016                Gas           Gov. Aggregation   VEDO         4021457152502922            Gas           Gov. Aggregation
COH             149983240037                Gas           Gov. Aggregation   VEDO         4020258592350992            Gas           Gov. Aggregation
COH             150000180011                Gas           Gov. Aggregation   VEDO         4001414382138838            Gas           Gov. Aggregation
COH             150141080023                Gas           Gov. Aggregation   VEDO         4019864052280491            Gas           Gov. Aggregation
COH             150160170042                Gas           Gov. Aggregation   VEDO         4015649162294541            Gas           Gov. Aggregation
COH             150212420011                Gas           Gov. Aggregation   VEDO         4017621802353266            Gas           Gov. Aggregation
COH             150228390060                Gas           Gov. Aggregation   VEDO         4021305332473473            Gas           Gov. Aggregation
COH             150282060047                Gas           Gov. Aggregation   VEDO         4018253572149551            Gas           Gov. Aggregation
COH             150347560044                Gas           Gov. Aggregation   VEDO         4017475602219291            Gas           Gov. Aggregation
COH             150473470019                Gas           Gov. Aggregation   VEDO         4019037352204156            Gas           Gov. Aggregation
COH             150491890013                Gas           Gov. Aggregation   VEDO         4021193822281306            Gas           Gov. Aggregation
COH             150546000012                Gas           Gov. Aggregation   VEDO         4021306802143653            Gas           Gov. Aggregation
COH             150624260012                Gas           Gov. Aggregation   VEDO         4021061212465550            Gas           Gov. Aggregation
COH             150781430014                Gas           Gov. Aggregation   VEDO         4021087422682967            Gas           Gov. Aggregation
COH             150853450035                Gas           Gov. Aggregation   VEDO         4021394062641047            Gas           Gov. Aggregation
COH             150854720018                Gas           Gov. Aggregation   VEDO         4019853562380484            Gas           Gov. Aggregation
COH             150907610027                Gas           Gov. Aggregation   VEDO         4021291032337878            Gas           Gov. Aggregation
COH             150943620010                Gas           Gov. Aggregation   VEDO         4021109852640881            Gas           Gov. Aggregation
COH             150972410013                Gas           Gov. Aggregation   VEDO         4001300272684205            Gas           Gov. Aggregation
COH             151050540019                Gas           Gov. Aggregation   VEDO         4021228952684533            Gas           Gov. Aggregation
COH             151097380015                Gas           Gov. Aggregation   VEDO         4021090042327207            Gas           Gov. Aggregation
COH             151157680023                Gas           Gov. Aggregation   VEDO         4021094532151799            Gas           Gov. Aggregation
COH             151182310036                Gas           Gov. Aggregation   VEDO         4021301412489050            Gas           Gov. Aggregation
COH             151195670016                Gas           Gov. Aggregation   VEDO         4020880462248314            Gas           Gov. Aggregation
COH             151200230024                Gas           Gov. Aggregation   VEDO         4021069322252329            Gas           Gov. Aggregation
COH             151203930012                Gas           Gov. Aggregation   VEDO         4001163442211010            Gas           Gov. Aggregation
COH             151219630021                Gas           Gov. Aggregation   VEDO         4021257672434308            Gas           Gov. Aggregation
COH             151316150035                Gas           Gov. Aggregation   VEDO         4021407612189294            Gas           Gov. Aggregation
COH             151349011445                Gas           Gov. Aggregation   VEDO         4021428392154546            Gas           Gov. Aggregation
COH             151349011481                Gas           Gov. Aggregation   VEDO         4021285362527084            Gas           Gov. Aggregation
COH             151349011490                Gas           Gov. Aggregation   VEDO         4019892252680361            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             151403770012                Gas           Gov. Aggregation   VEDO         4019963362386042            Gas           Gov. Aggregation
COH             151444930012                Gas           Gov. Aggregation   VEDO         4018621502135029            Gas           Gov. Aggregation
COH             151466300018                Gas           Gov. Aggregation   VEDO         4021209152375632            Gas           Gov. Aggregation
COH             151526260028                Gas           Gov. Aggregation   VEDO         4017950882477824            Gas           Gov. Aggregation
COH             151535030018                Gas           Gov. Aggregation   VEDO         4003937012510351            Gas           Gov. Aggregation
COH             151574550017                Gas           Gov. Aggregation   VEDO         4019425832104322            Gas           Gov. Aggregation
COH             151643670024                Gas           Gov. Aggregation   VEDO         4021268852132385            Gas           Gov. Aggregation
COH             151660340018                Gas           Gov. Aggregation   VEDO         4015875502169072            Gas           Gov. Aggregation
COH             151753520086                Gas           Gov. Aggregation   VEDO         4020033532364962            Gas           Gov. Aggregation
COH             151790010021                Gas           Gov. Aggregation   VEDO         4021401182680757            Gas           Gov. Aggregation
COH             151812830012                Gas           Gov. Aggregation   VEDO         4004259272256946            Gas           Gov. Aggregation
COH             151891760020                Gas           Gov. Aggregation   VEDO         4021286662538465            Gas           Gov. Aggregation
COH             151896560166                Gas           Gov. Aggregation   VEDO         4020282232339170            Gas           Gov. Aggregation
COH             151913390011                Gas           Gov. Aggregation   VEDO         4021303972128538            Gas           Gov. Aggregation
COH             151927200020                Gas           Gov. Aggregation   VEDO         4020027722405232            Gas           Gov. Aggregation
COH             151960590029                Gas           Gov. Aggregation   VEDO         4021093572606550            Gas           Gov. Aggregation
COH             151991800010                Gas           Gov. Aggregation   VEDO         4017444672683139            Gas           Gov. Aggregation
COH             152014350014                Gas           Gov. Aggregation   VEDO         4004413952686028            Gas           Gov. Aggregation
COH             152056960036                Gas           Gov. Aggregation   VEDO         4021423852531447            Gas           Gov. Aggregation
COH             152083130033                Gas           Gov. Aggregation   VEDO         4021311642598874            Gas           Gov. Aggregation
COH             152146800029                Gas           Gov. Aggregation   VEDO         4021076712584212            Gas           Gov. Aggregation
COH             152150440035                Gas           Gov. Aggregation   VEDO         4003890422455966            Gas           Gov. Aggregation
COH             152252190023                Gas           Gov. Aggregation   VEDO         4021270582558034            Gas           Gov. Aggregation
COH             152275270019                Gas           Gov. Aggregation   VEDO         4016281152563654            Gas           Gov. Aggregation
COH             152284840029                Gas           Gov. Aggregation   VEDO         4017679162532895            Gas           Gov. Aggregation
COH             152288700011                Gas           Gov. Aggregation   VEDO         4021055132535951            Gas           Gov. Aggregation
COH             152406920013                Gas           Gov. Aggregation   VEDO         4003185082588907            Gas           Gov. Aggregation
COH             152495410013                Gas           Gov. Aggregation   VEDO         4019340452238235            Gas           Gov. Aggregation
COH             152596040026                Gas           Gov. Aggregation   VEDO         4021079262360776            Gas           Gov. Aggregation
COH             152617790014                Gas           Gov. Aggregation   VEDO         4021411312336225            Gas           Gov. Aggregation
COH             152634330014                Gas           Gov. Aggregation   VEDO         4001900402442400            Gas           Gov. Aggregation
COH             152745580026                Gas           Gov. Aggregation   VEDO         4020216842123833            Gas           Gov. Aggregation
COH             152773480028                Gas           Gov. Aggregation   VEDO         4021252502214692            Gas           Gov. Aggregation
COH             152784470027                Gas           Gov. Aggregation   VEDO         4021438852343415            Gas           Gov. Aggregation
COH             152798920023                Gas           Gov. Aggregation   VEDO         4020069032369213            Gas           Gov. Aggregation
COH             152862530028                Gas           Gov. Aggregation   VEDO         4020179232327691            Gas           Gov. Aggregation
COH             152877020015                Gas           Gov. Aggregation   VEDO         4021288502381688            Gas           Gov. Aggregation
COH             152995800057                Gas           Gov. Aggregation   VEDO         4021462842392883            Gas           Gov. Aggregation
COH             153307470017                Gas           Gov. Aggregation   VEDO         4016371372523414            Gas           Gov. Aggregation
COH             153323160018                Gas           Gov. Aggregation   VEDO         4021157452679417            Gas           Gov. Aggregation
COH             153351120017                Gas           Gov. Aggregation   VEDO         4001043192484485            Gas           Gov. Aggregation
COH             153459020038                Gas           Gov. Aggregation   VEDO         4001951452203632            Gas           Gov. Aggregation
COH             153481380018                Gas           Gov. Aggregation   VEDO         4016554772684453            Gas           Gov. Aggregation
COH             153505540012                Gas           Gov. Aggregation   VEDO         4003423262684455            Gas           Gov. Aggregation
COH             153528860026                Gas           Gov. Aggregation   VEDO         4021417922317637            Gas           Gov. Aggregation
COH             153607360041                Gas           Gov. Aggregation   VEDO         4003982812161558            Gas           Gov. Aggregation
COH             153660570036                Gas           Gov. Aggregation   VEDO         4021105162153193            Gas           Gov. Aggregation
COH             153782050019                Gas           Gov. Aggregation   VEDO         4021080152631746            Gas           Gov. Aggregation
COH             153846760014                Gas           Gov. Aggregation   VEDO         4021196982434597            Gas           Gov. Aggregation
COH             153869360047                Gas           Gov. Aggregation   VEDO         4019813522195241            Gas           Gov. Aggregation
COH             153888170010                Gas           Gov. Aggregation   VEDO         4010025962271505            Gas           Gov. Aggregation
COH             153892160031                Gas           Gov. Aggregation   VEDO         4019417732142866            Gas           Gov. Aggregation
COH             153956000010                Gas           Gov. Aggregation   VEDO         4021486082279528            Gas           Gov. Aggregation
COH             153988000013                Gas           Gov. Aggregation   VEDO         4019941702395397            Gas           Gov. Aggregation
COH             154123410018                Gas           Gov. Aggregation   VEDO         4019913232351816            Gas           Gov. Aggregation
COH             154162130015                Gas           Gov. Aggregation   VEDO         4020213852393809            Gas           Gov. Aggregation
COH             154165480016                Gas           Gov. Aggregation   VEDO         4016428652369537            Gas           Gov. Aggregation
COH             154228840016                Gas           Gov. Aggregation   VEDO         4019986862232915            Gas           Gov. Aggregation
COH             154263240018                Gas           Gov. Aggregation   VEDO         4020856852419935            Gas           Gov. Aggregation
COH             154265550037                Gas           Gov. Aggregation   VEDO         4021477302351982            Gas           Gov. Aggregation
COH             154287570028                Gas           Gov. Aggregation   VEDO         4021285162187331            Gas           Gov. Aggregation
COH             154301210021                Gas           Gov. Aggregation   VEDO         4021397052329519            Gas           Gov. Aggregation
COH             154323810029                Gas           Gov. Aggregation   VEDO         4005092992430477            Gas           Gov. Aggregation
COH             154354610026                Gas           Gov. Aggregation   VEDO         4021481332276385            Gas           Gov. Aggregation
COH             154386590033                Gas           Gov. Aggregation   VEDO         4021395842173881            Gas           Gov. Aggregation
COH             154486710044                Gas           Gov. Aggregation   VEDO         4021111972501352            Gas           Gov. Aggregation
COH             154581410018                Gas           Gov. Aggregation   VEDO         4019128382509077            Gas           Gov. Aggregation
COH             154797250024                Gas           Gov. Aggregation   VEDO         4021467532364985            Gas           Gov. Aggregation
COH             154877440024                Gas           Gov. Aggregation   VEDO         4016727052106875            Gas           Gov. Aggregation
COH             154981640030                Gas           Gov. Aggregation   VEDO         4020916872270834            Gas           Gov. Aggregation
COH             155016320013                Gas           Gov. Aggregation   VEDO         4019097602373131            Gas           Gov. Aggregation
COH             155027190027                Gas           Gov. Aggregation   VEDO         4018212302109498            Gas           Gov. Aggregation
COH             155027220048                Gas           Gov. Aggregation   VEDO         4018282562492375            Gas           Gov. Aggregation
COH             155068870028                Gas           Gov. Aggregation   VEDO         4021229952411397            Gas           Gov. Aggregation
COH             155119150020                Gas           Gov. Aggregation   VEDO         4021459312454227            Gas           Gov. Aggregation
COH             155143650015                Gas           Gov. Aggregation   VEDO         4021245852485850            Gas           Gov. Aggregation
COH             155253360013                Gas           Gov. Aggregation   VEDO         4002614972161155            Gas           Gov. Aggregation
COH             155266490019                Gas           Gov. Aggregation   VEDO         4021285722271128            Gas           Gov. Aggregation
COH             155305480017                Gas           Gov. Aggregation   VEDO         4019162312511496            Gas           Gov. Aggregation
COH             155305560010                Gas           Gov. Aggregation   VEDO         4002808952226342            Gas           Gov. Aggregation
COH             155320700036                Gas           Gov. Aggregation   VEDO         4016017632102238            Gas           Gov. Aggregation
COH             155455270014                Gas           Gov. Aggregation   VEDO         4017528392265883            Gas           Gov. Aggregation
COH             155478220016                Gas           Gov. Aggregation   VEDO         4010089272113731            Gas           Gov. Aggregation
COH             155485830013                Gas           Gov. Aggregation   VEDO         4021226912126763            Gas           Gov. Aggregation
COH             155508350014                Gas           Gov. Aggregation   VEDO         4021268032333614            Gas           Gov. Aggregation
COH             155561660017                Gas           Gov. Aggregation   VEDO         4021187692469121            Gas           Gov. Aggregation
COH             155590600027                Gas           Gov. Aggregation   VEDO         4019035562362901            Gas           Gov. Aggregation
COH             155665440022                Gas           Gov. Aggregation   VEDO         4021284162511600            Gas           Gov. Aggregation
COH             155702960014                Gas           Gov. Aggregation   VEDO         4021402752394853            Gas           Gov. Aggregation
COH             155724340018                Gas           Gov. Aggregation   VEDO         4021196002428927            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             155741080026                Gas           Gov. Aggregation   VEDO         4015247992418271            Gas           Gov. Aggregation
COH             155745150014                Gas           Gov. Aggregation   VEDO         4019744222485513            Gas           Gov. Aggregation
COH             155769070011                Gas           Gov. Aggregation   VEDO         4016559732348382            Gas           Gov. Aggregation
COH             155775860058                Gas           Gov. Aggregation   VEDO         4021430812216720            Gas           Gov. Aggregation
COH             155778990019                Gas           Gov. Aggregation   VEDO         4003051622426336            Gas           Gov. Aggregation
COH             155792860016                Gas           Gov. Aggregation   VEDO         4021403422331781            Gas           Gov. Aggregation
COH             155843840039                Gas           Gov. Aggregation   VEDO         4004227522171347            Gas           Gov. Aggregation
COH             155859520015                Gas           Gov. Aggregation   VEDO         4010085062149621            Gas           Gov. Aggregation
COH             155860050020                Gas           Gov. Aggregation   VEDO         4021413502377019            Gas           Gov. Aggregation
COH             155875090012                Gas           Gov. Aggregation   VEDO         4021191772169543            Gas           Gov. Aggregation
COH             155956400014                Gas           Gov. Aggregation   VEDO         4021173182429926            Gas           Gov. Aggregation
COH             155958690010                Gas           Gov. Aggregation   VEDO         4021290532155173            Gas           Gov. Aggregation
COH             156036150025                Gas           Gov. Aggregation   VEDO         4021113812462697            Gas           Gov. Aggregation
COH             156050430035                Gas           Gov. Aggregation   VEDO         4015146972377015            Gas           Gov. Aggregation
COH             156104200010                Gas           Gov. Aggregation   VEDO         4021478322280602            Gas           Gov. Aggregation
COH             156124930042                Gas           Gov. Aggregation   VEDO         4017380932105802            Gas           Gov. Aggregation
COH             156223560031                Gas           Gov. Aggregation   VEDO         4002852222294492            Gas           Gov. Aggregation
COH             156297790047                Gas           Gov. Aggregation   VEDO         4017141162283330            Gas           Gov. Aggregation
COH             156330480013                Gas           Gov. Aggregation   VEDO         4015513192227348            Gas           Gov. Aggregation
COH             156393480011                Gas           Gov. Aggregation   VEDO         4018412972119528            Gas           Gov. Aggregation
COH             156394410022                Gas           Gov. Aggregation   VEDO         4020797122319261            Gas           Gov. Aggregation
COH             156523690010                Gas           Gov. Aggregation   VEDO         4021211232294951            Gas           Gov. Aggregation
COH             156526920042                Gas           Gov. Aggregation   VEDO         4020226482142081            Gas           Gov. Aggregation
COH             156547650018                Gas           Gov. Aggregation   VEDO         4021440752211244            Gas           Gov. Aggregation
COH             156622810014                Gas           Gov. Aggregation   VEDO         4021449102135396            Gas           Gov. Aggregation
COH             156640240016                Gas           Gov. Aggregation   VEDO         4016410782122216            Gas           Gov. Aggregation
COH             156680610023                Gas           Gov. Aggregation   VEDO         4021277182422662            Gas           Gov. Aggregation
COH             156694780010                Gas           Gov. Aggregation   VEDO         4017984452198435            Gas           Gov. Aggregation
COH             156762080021                Gas           Gov. Aggregation   VEDO         4021475602463874            Gas           Gov. Aggregation
COH             156762140019                Gas           Gov. Aggregation   VEDO         4018542342139216            Gas           Gov. Aggregation
COH             156783930037                Gas           Gov. Aggregation   VEDO         4002297402146609            Gas           Gov. Aggregation
COH             156822970026                Gas           Gov. Aggregation   VEDO         4021151702504280            Gas           Gov. Aggregation
COH             156845230023                Gas           Gov. Aggregation   VEDO         4021199742460650            Gas           Gov. Aggregation
COH             156923570026                Gas           Gov. Aggregation   VEDO         4021166512445749            Gas           Gov. Aggregation
COH             156934930027                Gas           Gov. Aggregation   VEDO         4020236262450688            Gas           Gov. Aggregation
COH             157109760030                Gas           Gov. Aggregation   VEDO         4017474082498627            Gas           Gov. Aggregation
COH             157149690031                Gas           Gov. Aggregation   VEDO         4002888342220748            Gas           Gov. Aggregation
COH             157182310021                Gas           Gov. Aggregation   VEDO         4021222992297091            Gas           Gov. Aggregation
COH             157218850012                Gas           Gov. Aggregation   VEDO         4021149572296167            Gas           Gov. Aggregation
COH             157260120016                Gas           Gov. Aggregation   VEDO         4004638932470800            Gas           Gov. Aggregation
COH             157316770011                Gas           Gov. Aggregation   VEDO         4021156362112027            Gas           Gov. Aggregation
COH             157333670025                Gas           Gov. Aggregation   VEDO         4017694452364578            Gas           Gov. Aggregation
COH             157351070014                Gas           Gov. Aggregation   VEDO         4017105402214159            Gas           Gov. Aggregation
COH             157391050014                Gas           Gov. Aggregation   VEDO         4020255232148318            Gas           Gov. Aggregation
COH             157445150036                Gas           Gov. Aggregation   VEDO         4021212792220473            Gas           Gov. Aggregation
COH             157516940011                Gas           Gov. Aggregation   VEDO         4021207952252454            Gas           Gov. Aggregation
COH             157545980012                Gas           Gov. Aggregation   VEDO         4016448392279790            Gas           Gov. Aggregation
COH             157591100019                Gas           Gov. Aggregation   VEDO         4001253112260403            Gas           Gov. Aggregation
COH             157645790029                Gas           Gov. Aggregation   VEDO         4016173352471182            Gas           Gov. Aggregation
COH             157664560027                Gas           Gov. Aggregation   VEDO         4001402762512734            Gas           Gov. Aggregation
COH             157693780020                Gas           Gov. Aggregation   VEDO         4017539132103432            Gas           Gov. Aggregation
COH             157707220017                Gas           Gov. Aggregation   VEDO         4016677232211172            Gas           Gov. Aggregation
COH             157726450028                Gas           Gov. Aggregation   VEDO         4021443492488045            Gas           Gov. Aggregation
COH             157731580048                Gas           Gov. Aggregation   VEDO         4020259402502987            Gas           Gov. Aggregation
COH             157749970012                Gas           Gov. Aggregation   VEDO         4020914832487447            Gas           Gov. Aggregation
COH             157761330029                Gas           Gov. Aggregation   VEDO         4020895932195169            Gas           Gov. Aggregation
COH             157797040025                Gas           Gov. Aggregation   VEDO         4021245092119005            Gas           Gov. Aggregation
COH             157991720011                Gas           Gov. Aggregation   VEDO         4016034472107783            Gas           Gov. Aggregation
COH             157992780017                Gas           Gov. Aggregation   VEDO         4021221132305527            Gas           Gov. Aggregation
COH             158012320027                Gas           Gov. Aggregation   VEDO         4021170462296429            Gas           Gov. Aggregation
COH             158035910016                Gas           Gov. Aggregation   VEDO         4021199502449089            Gas           Gov. Aggregation
COH             158066460025                Gas           Gov. Aggregation   VEDO         4020867852193673            Gas           Gov. Aggregation
COH             158080250010                Gas           Gov. Aggregation   VEDO         4021159692223372            Gas           Gov. Aggregation
COH             158119210015                Gas           Gov. Aggregation   VEDO         4021406622326823            Gas           Gov. Aggregation
COH             158119210024                Gas           Gov. Aggregation   VEDO         4020111572396265            Gas           Gov. Aggregation
COH             158196340016                Gas           Gov. Aggregation   VEDO         4015192002382440            Gas           Gov. Aggregation
COH             158339840017                Gas           Gov. Aggregation   VEDO         4002039612138152            Gas           Gov. Aggregation
COH             158340220014                Gas           Gov. Aggregation   VEDO         4015049292466014            Gas           Gov. Aggregation
COH             158450340025                Gas           Gov. Aggregation   VEDO         4021113602166070            Gas           Gov. Aggregation
COH             158476620013                Gas           Gov. Aggregation   VEDO         4015337852316659            Gas           Gov. Aggregation
COH             158529840014                Gas           Gov. Aggregation   VEDO         4021233162410434            Gas           Gov. Aggregation
COH             158562100019                Gas           Gov. Aggregation   VEDO         4021190242327343            Gas           Gov. Aggregation
COH             158599080017                Gas           Gov. Aggregation   VEDO         4021266802132913            Gas           Gov. Aggregation
COH             158621300011                Gas           Gov. Aggregation   VEDO         4019733842471052            Gas           Gov. Aggregation
COH             158621510017                Gas           Gov. Aggregation   VEDO         4020129882254119            Gas           Gov. Aggregation
COH             158734960014                Gas           Gov. Aggregation   VEDO         4002655932518214            Gas           Gov. Aggregation
COH             158855470011                Gas           Gov. Aggregation   VEDO         4021182702223163            Gas           Gov. Aggregation
COH             158870310012                Gas           Gov. Aggregation   VEDO         4020138722317854            Gas           Gov. Aggregation
COH             158898570010                Gas           Gov. Aggregation   VEDO         4002660642434592            Gas           Gov. Aggregation
COH             158910080015                Gas           Gov. Aggregation   VEDO         4021208792357396            Gas           Gov. Aggregation
COH             158910970018                Gas           Gov. Aggregation   VEDO         4019498772263589            Gas           Gov. Aggregation
COH             158933640019                Gas           Gov. Aggregation   VEDO         4021108952410220            Gas           Gov. Aggregation
COH             158935710038                Gas           Gov. Aggregation   VEDO         4021120502375079            Gas           Gov. Aggregation
COH             158963630018                Gas           Gov. Aggregation   VEDO         4021267332429068            Gas           Gov. Aggregation
COH             159027620013                Gas           Gov. Aggregation   VEDO         4017082702480499            Gas           Gov. Aggregation
COH             159033490063                Gas           Gov. Aggregation   VEDO         4019515742374274            Gas           Gov. Aggregation
COH             159048950038                Gas           Gov. Aggregation   VEDO         4021213542259799            Gas           Gov. Aggregation
COH             159179000012                Gas           Gov. Aggregation   VEDO         4004991942413910            Gas           Gov. Aggregation
COH             159205450011                Gas           Gov. Aggregation   VEDO         4019389352333960            Gas           Gov. Aggregation
COH             159213470010                Gas           Gov. Aggregation   VEDO         4021172652396354            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             159266340016                Gas           Gov. Aggregation   VEDO            4001745992210656            Gas           Gov. Aggregation
COH             159303610028                Gas           Gov. Aggregation   VEDO            4021305502504802            Gas           Gov. Aggregation
COH             159308280019                Gas           Gov. Aggregation   VEDO            4021447702527348            Gas           Gov. Aggregation
COH             159357590048                Gas           Gov. Aggregation   VEDO            4021209032389201            Gas           Gov. Aggregation
COH             159373720019                Gas           Gov. Aggregation   VEDO            4021187562379715            Gas           Gov. Aggregation
COH             159391360017                Gas           Gov. Aggregation   VEDO            4021299942645681            Gas           Gov. Aggregation
COH             159449940021                Gas           Gov. Aggregation   VEDO            4017562142253230            Gas           Gov. Aggregation
COH             159593590011                Gas           Gov. Aggregation   VEDO            4021414302367826            Gas           Gov. Aggregation
COH             159724070048                Gas           Gov. Aggregation   VEDO            4003788712627171            Gas           Gov. Aggregation
COH             159753670023                Gas           Gov. Aggregation   VEDO            4021223382627170            Gas           Gov. Aggregation
COH             159811000010                Gas           Gov. Aggregation   VEDO            4003449552620827            Gas           Gov. Aggregation
COH             159818440096                Gas           Gov. Aggregation   VEDO            4015135572442332            Gas           Gov. Aggregation
COH             159824920010                Gas           Gov. Aggregation   VEDO            4004998012446305            Gas           Gov. Aggregation
COH             159851430016                Gas           Gov. Aggregation   VEDO            4004898402397207            Gas           Gov. Aggregation
COH             159873210016                Gas           Gov. Aggregation   VEDO            4021290222455415            Gas           Gov. Aggregation
COH             159978180011                Gas           Gov. Aggregation   VEDO            4021206122603147            Gas           Gov. Aggregation
COH             160056830015                Gas           Gov. Aggregation   VEDO            4002133142613099            Gas           Gov. Aggregation
COH             160177830019                Gas           Gov. Aggregation   VEDO            4021077132603140            Gas           Gov. Aggregation
COH             160200750015                Gas           Gov. Aggregation   VEDO            4021447322603138            Gas           Gov. Aggregation
COH             160254310014                Gas           Gov. Aggregation   VEDO            4021221072209080            Gas           Gov. Aggregation
COH             160264010016                Gas           Gov. Aggregation   VEDO            4001206512433430            Gas           Gov. Aggregation
COH             160278700012                Gas           Gov. Aggregation   VEDO            4020153642294959            Gas           Gov. Aggregation
COH             160295820020                Gas           Gov. Aggregation   VEDO            4020270342211079            Gas           Gov. Aggregation
COH             160315270013                Gas           Gov. Aggregation   VEDO            4021107002504141            Gas           Gov. Aggregation
COH             160352290011                Gas           Gov. Aggregation   VEDO            4021166992354955            Gas           Gov. Aggregation
COH             160482740011                Gas           Gov. Aggregation   VEDO            4021219742484715            Gas           Gov. Aggregation
COH             160564820010                Gas           Gov. Aggregation   VEDO            4021290642338045            Gas           Gov. Aggregation
COH             160605030027                Gas           Gov. Aggregation   VEDO            4021403062306728            Gas           Gov. Aggregation
COH             160618150016                Gas           Gov. Aggregation   VEDO            4021408592100706            Gas           Gov. Aggregation
COH             160663430012                Gas           Gov. Aggregation   VEDO            4021428362320362            Gas           Gov. Aggregation
COH             160687280014                Gas           Gov. Aggregation   VEDO            4021431262167968            Gas           Gov. Aggregation
COH             160687580039                Gas           Gov. Aggregation   VEDO            4021447642330601            Gas           Gov. Aggregation
COH             160729250047                Gas           Gov. Aggregation   VEDO            4017249882303269            Gas           Gov. Aggregation
COH             160771640019                Gas           Gov. Aggregation   VEDO            4002996642255874            Gas           Gov. Aggregation
COH             160777180032                Gas           Gov. Aggregation   VEDO            4021427632196660            Gas           Gov. Aggregation
COH             160806830014                Gas           Gov. Aggregation   VEDO            4021464002469431            Gas           Gov. Aggregation
COH             160830020013                Gas           Gov. Aggregation   VEDO            4003446062341635            Gas           Gov. Aggregation
COH             160867840023                Gas           Gov. Aggregation   VEDO            4021484572313826            Gas           Gov. Aggregation
COH             160868260014                Gas           Gov. Aggregation   VEDO            4021415072414233            Gas           Gov. Aggregation
COH             160891290028                Gas           Gov. Aggregation   VEDO            4021113992198166            Gas           Gov. Aggregation
COH             160980550042                Gas           Gov. Aggregation   VEDO            4018468132251063            Gas           Gov. Aggregation
COH             161113120011                Gas           Gov. Aggregation   VEDO            4010037152319377            Gas           Gov. Aggregation
COH             161188120032                Gas           Gov. Aggregation   VEDO            4021103722442358            Gas           Gov. Aggregation
COH             161212140017                Gas           Gov. Aggregation   VEDO            4021114612313506            Gas           Gov. Aggregation
COH             161213470034                Gas           Gov. Aggregation   VEDO            4021253172377101            Gas           Gov. Aggregation
COH             161214580011                Gas           Gov. Aggregation   VEDO            4021192572285645            Gas           Gov. Aggregation
COH             161216320011                Gas           Gov. Aggregation   VEDO            4021463592330026            Gas           Gov. Aggregation
COH             161250460010                Gas           Gov. Aggregation   VEDO            4021227322294268            Gas           Gov. Aggregation
COH             161285390021                Gas           Gov. Aggregation   VEDO            4021468542127224            Gas           Gov. Aggregation
COH             161307540012                Gas           Gov. Aggregation   VEDO            4019962112277579            Gas           Gov. Aggregation
COH             161321170010                Gas           Gov. Aggregation   VEDO            4021285022373263            Gas           Gov. Aggregation
COH             161347310034                Gas           Gov. Aggregation   VEDO            4021108922252488            Gas           Gov. Aggregation
COH             161418370013                Gas           Gov. Aggregation   VEDO            4018724362446803            Gas           Gov. Aggregation
COH             161434840010                Gas           Gov. Aggregation   VEDO            4021184342204728            Gas           Gov. Aggregation
COH             161438400014                Gas           Gov. Aggregation   VEDO            4003380862118582            Gas           Gov. Aggregation
COH             161483100030                Gas           Gov. Aggregation   VEDO            4021101802249201            Gas           Gov. Aggregation
COH             161491190017                Gas           Gov. Aggregation   VEDO            4021279502140668            Gas           Gov. Aggregation
COH             161523230019                Gas           Gov. Aggregation   VEDO            4021487222570983            Gas           Gov. Aggregation
COH             161641900018                Gas           Gov. Aggregation   VEDO            4002100802557976            Gas           Gov. Aggregation
COH             161697500033                Gas           Gov. Aggregation   VEDO            4021106162537456            Gas           Gov. Aggregation
COH             161716610010                Gas           Gov. Aggregation   VEDO            4004467392279748            Gas           Gov. Aggregation
COH             161781140012                Gas           Gov. Aggregation   VEDO            4021439592340868            Gas           Gov. Aggregation
COH             161885340029                Gas           Gov. Aggregation   VEDO            4016240572298081            Gas           Gov. Aggregation
COH             162094840011                Gas           Gov. Aggregation   VEDO            4021194652679635            Gas           Gov. Aggregation
COH             162136290017                Gas           Gov. Aggregation   VEDO            4021465992307227            Gas           Gov. Aggregation
COH             162215630017                Gas           Gov. Aggregation   VEDO            4003179842116405            Gas           Gov. Aggregation
COH             162246400010                Gas           Gov. Aggregation   VEDO            4017859762154507            Gas           Gov. Aggregation
COH             162279320018                Gas           Gov. Aggregation   VEDO            4018161032398722            Gas           Gov. Aggregation
COH             162318450017                Gas           Gov. Aggregation   VEDO            4021161162226189            Gas           Gov. Aggregation
COH             162409620018                Gas           Gov. Aggregation   VEDO            4021401822685555            Gas           Gov. Aggregation
COH             162453450020                Gas           Gov. Aggregation   VEDO            4018998742628030            Gas           Gov. Aggregation
COH             162567200012                Gas           Gov. Aggregation   VEDO            4021088022412814            Gas           Gov. Aggregation
COH             162630610048                Gas           Gov. Aggregation   COH             208940590014                Gas           Gov. Aggregation
COH             162637150014                Gas           Gov. Aggregation   COH             209122270014                Gas           Gov. Aggregation
COH             162728040014                Gas           Gov. Aggregation   COH             174168500084                Gas           Gov. Aggregation
COH             162729430010                Gas           Gov. Aggregation   COH             209171630015                Gas           Gov. Aggregation
COH             162747340020                Gas           Gov. Aggregation   COH             193881760030                Gas           Gov. Aggregation
COH             162766450018                Gas           Gov. Aggregation   COH             209013030015                Gas           Gov. Aggregation
COH             162772980014                Gas           Gov. Aggregation   COH             207070630020                Gas           Gov. Aggregation
COH             162817910012                Gas           Gov. Aggregation   COH             202312070029                Gas           Gov. Aggregation
COH             162818640017                Gas           Gov. Aggregation   COH             208975110011                Gas           Gov. Aggregation
COH             162857150018                Gas           Gov. Aggregation   COH             208975110039                Gas           Gov. Aggregation
COH             162857180012                Gas           Gov. Aggregation   COH             208752530015                Gas           Gov. Aggregation
COH             162860030016                Gas           Gov. Aggregation   COH             209050330014                Gas           Gov. Aggregation
COH             162873140025                Gas           Gov. Aggregation   COH             195855350020                Gas           Gov. Aggregation
COH             162936160018                Gas           Gov. Aggregation   COH             195712940046                Gas           Gov. Aggregation
COH             162946500015                Gas           Gov. Aggregation   COH             192136730054                Gas           Gov. Aggregation
COH             162966250016                Gas           Gov. Aggregation   COH             208755100019                Gas           Gov. Aggregation
COH             162976460011                Gas           Gov. Aggregation   COH             209182190015                Gas           Gov. Aggregation
COH             162983030025                Gas           Gov. Aggregation   COH             208801100010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             162991540012                Gas           Gov. Aggregation   COH             150804080036                Gas           Gov. Aggregation
COH             162991860015                Gas           Gov. Aggregation   COH             204529510034                Gas           Gov. Aggregation
COH             163018810016                Gas           Gov. Aggregation   COH             188232960012                Gas           Gov. Aggregation
COH             163107820015                Gas           Gov. Aggregation   COH             199688970030                Gas           Gov. Aggregation
COH             163160750018                Gas           Gov. Aggregation   COH             208699680018                Gas           Gov. Aggregation
COH             163241840017                Gas           Gov. Aggregation   COH             205490590012                Gas           Gov. Aggregation
COH             163242940014                Gas           Gov. Aggregation   COH             208916490016                Gas           Gov. Aggregation
COH             163321290022                Gas           Gov. Aggregation   COH             165536430061                Gas           Gov. Aggregation
COH             163331330022                Gas           Gov. Aggregation   COH             209182200012                Gas           Gov. Aggregation
COH             163397670014                Gas           Gov. Aggregation   COH             200510400030                Gas           Gov. Aggregation
COH             163429200013                Gas           Gov. Aggregation   COH             150052270022                Gas           Gov. Aggregation
COH             163479190020                Gas           Gov. Aggregation   COH             150092170029                Gas           Gov. Aggregation
COH             163479210016                Gas           Gov. Aggregation   VEDO            4001283602143038            Gas           Gov. Aggregation
COH             163590160011                Gas           Gov. Aggregation   COH             130773780049                Gas           Gov. Aggregation
COH             163604760014                Gas           Gov. Aggregation   DUKE            0140038759                  Gas           Gov. Aggregation
COH             163604770012                Gas           Gov. Aggregation   DUKE            0930038734                  Gas           Gov. Aggregation
COH             163605290011                Gas           Gov. Aggregation   DUKE            0730038752                  Gas           Gov. Aggregation
COH             163634400016                Gas           Gov. Aggregation   DUKE            0430038736                  Gas           Gov. Aggregation
COH             163639220069                Gas           Gov. Aggregation   DUKE            0630038746                  Gas           Gov. Aggregation
COH             163704160018                Gas           Gov. Aggregation   DUKE            0330038751                  Gas           Gov. Aggregation
COH             163785040013                Gas           Gov. Aggregation   DUKE            0230038740                  Gas           Gov. Aggregation
COH             163789550018                Gas           Gov. Aggregation   DUKE            0280038726                  Gas           Gov. Aggregation
COH             163841600024                Gas           Gov. Aggregation   DUKE            0180038723                  Gas           Gov. Aggregation
COH             163854800016                Gas           Gov. Aggregation   DUKE            0890038524                  Gas           Gov. Aggregation
COH             163933480016                Gas           Gov. Aggregation   DUKE            0780038532                  Gas           Gov. Aggregation
COH             163990290034                Gas           Gov. Aggregation   DUKE            0290038531                  Gas           Gov. Aggregation
COH             164006020016                Gas           Gov. Aggregation   DUKE            0390038527                  Gas           Gov. Aggregation
COH             164023780020                Gas           Gov. Aggregation   DUKE            0800020222                  Gas           Gov. Aggregation
COH             164024530011                Gas           Gov. Aggregation   DUKE            0790020125                  Gas           Gov. Aggregation
COH             164107350013                Gas           Gov. Aggregation   DUKE            0700020221                  Gas           Gov. Aggregation
COH             164113870011                Gas           Gov. Aggregation   DUKE            0020020228                  Gas           Gov. Aggregation
COH             164135030011                Gas           Gov. Aggregation   DUKE            0890020122                  Gas           Gov. Aggregation
COH             164238930041                Gas           Gov. Aggregation   DUKE            0880038532                  Gas           Gov. Aggregation
COH             164239750038                Gas           Gov. Aggregation   DUKE            0110020221                  Gas           Gov. Aggregation
COH             164293380014                Gas           Gov. Aggregation   DUKE            0120020224                  Gas           Gov. Aggregation
COH             164352960016                Gas           Gov. Aggregation   DUKE            7420020033                  Gas           Gov. Aggregation
COH             164377660017                Gas           Gov. Aggregation   DUKE            8420020024                  Gas           Gov. Aggregation
COH             164424880010                Gas           Gov. Aggregation   DUKE            8720384401                  Gas           Gov. Aggregation
COH             164441240018                Gas           Gov. Aggregation   DUKE            9710020224                  Gas           Gov. Aggregation
COH             164506650014                Gas           Gov. Aggregation   DUKE            9910020225                  Gas           Gov. Aggregation
COH             164546060014                Gas           Gov. Aggregation   DUKE            9820038621                  Gas           Gov. Aggregation
COH             164684640010                Gas           Gov. Aggregation   DUKE            3940038620                  Gas           Gov. Aggregation
COH             164696900010                Gas           Gov. Aggregation   DUKE            4060020221                  Gas           Gov. Aggregation
COH             164706800018                Gas           Gov. Aggregation   DUKE            2570038720                  Gas           Gov. Aggregation
COH             164742490018                Gas           Gov. Aggregation   DUKE            6950020221                  Gas           Gov. Aggregation
COH             164770970027                Gas           Gov. Aggregation   DUKE            7330038621                  Gas           Gov. Aggregation
COH             164805740011                Gas           Gov. Aggregation   DUKE            6840038621                  Gas           Gov. Aggregation
COH             164813130012                Gas           Gov. Aggregation   DUKE            6440367301                  Gas           Gov. Aggregation
COH             164837770018                Gas           Gov. Aggregation   DUKE            9090020230                  Gas           Gov. Aggregation
COH             164853910032                Gas           Gov. Aggregation   DUKE            6200020221                  Gas           Gov. Aggregation
COH             164866120013                Gas           Gov. Aggregation   DUKE            3530038620                  Gas           Gov. Aggregation
COH             164924700017                Gas           Gov. Aggregation   DUKE            7220038621                  Gas           Gov. Aggregation
COH             164965810018                Gas           Gov. Aggregation   DUKE            5140038623                  Gas           Gov. Aggregation
COH             164982380059                Gas           Gov. Aggregation   DUKE            6300020224                  Gas           Gov. Aggregation
COH             165069710018                Gas           Gov. Aggregation   DUKE            6540038621                  Gas           Gov. Aggregation
COH             165071630010                Gas           Gov. Aggregation   DUKE            0250038520                  Gas           Gov. Aggregation
COH             165090610014                Gas           Gov. Aggregation   DUKE            4410020222                  Gas           Gov. Aggregation
COH             165155560017                Gas           Gov. Aggregation   DUKE            7300020222                  Gas           Gov. Aggregation
COH             165175440010                Gas           Gov. Aggregation   DUKE            0900020221                  Gas           Gov. Aggregation
COH             165206540012                Gas           Gov. Aggregation   DUKE            4560038526                  Gas           Gov. Aggregation
COH             165248440015                Gas           Gov. Aggregation   DUKE            8390038723                  Gas           Gov. Aggregation
COH             165315920011                Gas           Gov. Aggregation   DUKE            9810038622                  Gas           Gov. Aggregation
COH             165373470032                Gas           Gov. Aggregation   DUKE            6700038621                  Gas           Gov. Aggregation
COH             165384640015                Gas           Gov. Aggregation   DUKE            9360038721                  Gas           Gov. Aggregation
COH             165384650013                Gas           Gov. Aggregation   DUKE            4830038520                  Gas           Gov. Aggregation
COH             165384660011                Gas           Gov. Aggregation   DUKE            6020020221                  Gas           Gov. Aggregation
COH             165455980031                Gas           Gov. Aggregation   DUKE            2370020124                  Gas           Gov. Aggregation
COH             165478720019                Gas           Gov. Aggregation   DUKE            6110020225                  Gas           Gov. Aggregation
COH             165497340019                Gas           Gov. Aggregation   DUKE            8670038730                  Gas           Gov. Aggregation
COH             165530170013                Gas           Gov. Aggregation   DUKE            9210020221                  Gas           Gov. Aggregation
COH             165719450032                Gas           Gov. Aggregation   DUKE            8010020228                  Gas           Gov. Aggregation
COH             165719920015                Gas           Gov. Aggregation   DUKE            6010020221                  Gas           Gov. Aggregation
COH             165751770028                Gas           Gov. Aggregation   DUKE            9700020221                  Gas           Gov. Aggregation
COH             165870310013                Gas           Gov. Aggregation   DUKE            8900020225                  Gas           Gov. Aggregation
COH             165895820014                Gas           Gov. Aggregation   DUKE            9900020224                  Gas           Gov. Aggregation
COH             165949590018                Gas           Gov. Aggregation   DUKE            2760020228                  Gas           Gov. Aggregation
COH             166013980018                Gas           Gov. Aggregation   DUKE            1290020124                  Gas           Gov. Aggregation
COH             166069820014                Gas           Gov. Aggregation   DUKE            7670038423                  Gas           Gov. Aggregation
COH             166092270011                Gas           Gov. Aggregation   COH             209119540014                Gas           Gov. Aggregation
COH             166145370017                Gas           Gov. Aggregation   COH             189303160072                Gas           Gov. Aggregation
COH             166191090019                Gas           Gov. Aggregation   COH             209100270010                Gas           Gov. Aggregation
COH             166229300022                Gas           Gov. Aggregation   VEDO            4021464812175539            Gas           Gov. Aggregation
COH             166301780019                Gas           Gov. Aggregation   VEDO            4004396722260039            Gas           Gov. Aggregation
COH             166302950011                Gas           Gov. Aggregation   VEDO            4001417362139118            Gas           Gov. Aggregation
COH             166332880013                Gas           Gov. Aggregation   VEDO            4003780412376930            Gas           Gov. Aggregation
COH             166387640027                Gas           Gov. Aggregation   COH             122487910020                Gas           Gov. Aggregation
COH             166427840010                Gas           Gov. Aggregation   VEDO            4016849422319147            Gas           Gov. Aggregation
COH             166439610013                Gas           Gov. Aggregation   COH             172576640019                Gas           Gov. Aggregation
COH             166452470042                Gas           Gov. Aggregation   COH             151070920053                Gas           Gov. Aggregation
COH             166527380015                Gas           Gov. Aggregation   COH             151070920062                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             166667580026                Gas           Gov. Aggregation   COH             202427380012                Gas           Gov. Aggregation
COH             166684560015                Gas           Gov. Aggregation   COH             201644730019                Gas           Gov. Aggregation
COH             166794100027                Gas           Gov. Aggregation   COH             203489700013                Gas           Gov. Aggregation
COH             166807370013                Gas           Gov. Aggregation   COH             203733570012                Gas           Gov. Aggregation
COH             166870050035                Gas           Gov. Aggregation   COH             203833440017                Gas           Gov. Aggregation
COH             166872710014                Gas           Gov. Aggregation   COH             166669510017                Gas           Gov. Aggregation
COH             166907100017                Gas           Gov. Aggregation   COH             166672090019                Gas           Gov. Aggregation
COH             166952740027                Gas           Gov. Aggregation   COH             175959460012                Gas           Gov. Aggregation
COH             166966250030                Gas           Gov. Aggregation   COH             200461980016                Gas           Gov. Aggregation
COH             166992770018                Gas           Gov. Aggregation   COH             200511390013                Gas           Gov. Aggregation
COH             167012710024                Gas           Gov. Aggregation   COH             198979320012                Gas           Gov. Aggregation
COH             167026570025                Gas           Gov. Aggregation   COH             201040820010                Gas           Gov. Aggregation
COH             167047140012                Gas           Gov. Aggregation   COH             201450450019                Gas           Gov. Aggregation
COH             167111810014                Gas           Gov. Aggregation   COH             200021300010                Gas           Gov. Aggregation
COH             167213550013                Gas           Gov. Aggregation   COH             201941260018                Gas           Gov. Aggregation
COH             167243990018                Gas           Gov. Aggregation   COH             201961140011                Gas           Gov. Aggregation
COH             167244160038                Gas           Gov. Aggregation   COH             201968750019                Gas           Gov. Aggregation
COH             167244950014                Gas           Gov. Aggregation   COH             192817870033                Gas           Gov. Aggregation
COH             167274880016                Gas           Gov. Aggregation   COH             204349440013                Gas           Gov. Aggregation
COH             167319700017                Gas           Gov. Aggregation   COH             198294100029                Gas           Gov. Aggregation
COH             167511710017                Gas           Gov. Aggregation   COH             199322610039                Gas           Gov. Aggregation
COH             167522150012                Gas           Gov. Aggregation   COH             128992040035                Gas           Gov. Aggregation
COH             167600740021                Gas           Gov. Aggregation   COH             123830550017                Gas           Gov. Aggregation
COH             167643590014                Gas           Gov. Aggregation   COH             123830820010                Gas           Gov. Aggregation
COH             167653670016                Gas           Gov. Aggregation   COH             123854580048                Gas           Gov. Aggregation
COH             167770740022                Gas           Gov. Aggregation   COH             123855230012                Gas           Gov. Aggregation
COH             167797620012                Gas           Gov. Aggregation   COH             123882720012                Gas           Gov. Aggregation
COH             167804960014                Gas           Gov. Aggregation   COH             200268120016                Gas           Gov. Aggregation
COH             167829070037                Gas           Gov. Aggregation   COH             200268130014                Gas           Gov. Aggregation
COH             167880410019                Gas           Gov. Aggregation   COH             200268190012                Gas           Gov. Aggregation
COH             167904750016                Gas           Gov. Aggregation   COH             200287830035                Gas           Gov. Aggregation
COH             167947020019                Gas           Gov. Aggregation   COH             200299630014                Gas           Gov. Aggregation
COH             168036390085                Gas           Gov. Aggregation   COH             203170590021                Gas           Gov. Aggregation
COH             168209800018                Gas           Gov. Aggregation   COH             160762780019                Gas           Gov. Aggregation
COH             168234710014                Gas           Gov. Aggregation   COH             201708480016                Gas           Gov. Aggregation
COH             168277660015                Gas           Gov. Aggregation   COH             206291840010                Gas           Gov. Aggregation
COH             168291760014                Gas           Gov. Aggregation   COH             114983230094                Gas           Gov. Aggregation
COH             168309530013                Gas           Gov. Aggregation   COH             114991640019                Gas           Gov. Aggregation
COH             168436380016                Gas           Gov. Aggregation   COH             114992510023                Gas           Gov. Aggregation
COH             168462860010                Gas           Gov. Aggregation   COH             169218360039                Gas           Gov. Aggregation
COH             168490850013                Gas           Gov. Aggregation   COH             191134200014                Gas           Gov. Aggregation
COH             168503870010                Gas           Gov. Aggregation   COH             130282960033                Gas           Gov. Aggregation
COH             168541550026                Gas           Gov. Aggregation   COH             111185420017                Gas           Gov. Aggregation
COH             168608330011                Gas           Gov. Aggregation   DEO             1180016456776               Gas           Gov. Aggregation
COH             168634010013                Gas           Gov. Aggregation   DEO             1180007145018               Gas           Gov. Aggregation
COH             168718850019                Gas           Gov. Aggregation   DEO             0500055160346               Gas           Gov. Aggregation
COH             168749610032                Gas           Gov. Aggregation   COH             211439740010                Gas           Gov. Aggregation
COH             168849620010                Gas           Gov. Aggregation   COH             119916040036                Gas           Gov. Aggregation
COH             168900540017                Gas           Gov. Aggregation   VEDO            4001601802237897            Gas           Gov. Aggregation
COH             168911460011                Gas           Gov. Aggregation   COH             140875900018                Gas           Gov. Aggregation
COH             168994950014                Gas           Gov. Aggregation   VEDO            4017615382101412            Gas           Gov. Aggregation
COH             169105000015                Gas           Gov. Aggregation   COH             139282880059                Gas           Gov. Aggregation
COH             169156740013                Gas           Gov. Aggregation   VEDO            4016632572355736            Gas           Gov. Aggregation
COH             169370320026                Gas           Gov. Aggregation   COH             206651110019                Gas           Gov. Aggregation
COH             169417140024                Gas           Gov. Aggregation   COH             206651110073                Gas           Gov. Aggregation
COH             169581180029                Gas           Gov. Aggregation   COH             198214420066                Gas           Gov. Aggregation
COH             169830450014                Gas           Gov. Aggregation   COH             206802840015                Gas           Gov. Aggregation
COH             169840000017                Gas           Gov. Aggregation   COH             188094620099                Gas           Gov. Aggregation
COH             169891850021                Gas           Gov. Aggregation   COH             205534480011                Gas           Gov. Aggregation
COH             169962420011                Gas           Gov. Aggregation   COH             201450470015                Gas           Gov. Aggregation
COH             169991480018                Gas           Gov. Aggregation   COH             144638440013                Gas           Gov. Aggregation
COH             170040780017                Gas           Gov. Aggregation   COH             207217530010                Gas           Gov. Aggregation
COH             170051400022                Gas           Gov. Aggregation   COH             146245160031                Gas           Gov. Aggregation
COH             170071690020                Gas           Gov. Aggregation   COH             206021600011                Gas           Gov. Aggregation
COH             170073190012                Gas           Gov. Aggregation   COH             201694970014                Gas           Gov. Aggregation
COH             170158790043                Gas           Gov. Aggregation   COH             123866330054                Gas           Gov. Aggregation
COH             170172700014                Gas           Gov. Aggregation   COH             206320870011                Gas           Gov. Aggregation
COH             170226460010                Gas           Gov. Aggregation   COH             207254310018                Gas           Gov. Aggregation
COH             170255240015                Gas           Gov. Aggregation   COH             123877020074                Gas           Gov. Aggregation
COH             170286400016                Gas           Gov. Aggregation   COH             166783100039                Gas           Gov. Aggregation
COH             170314010017                Gas           Gov. Aggregation   COH             206276460012                Gas           Gov. Aggregation
COH             170325190026                Gas           Gov. Aggregation   COH             205131920012                Gas           Gov. Aggregation
COH             170348240018                Gas           Gov. Aggregation   COH             132835630019                Gas           Gov. Aggregation
COH             170416760014                Gas           Gov. Aggregation   COH             201177830037                Gas           Gov. Aggregation
COH             170417350018                Gas           Gov. Aggregation   COH             207470680013                Gas           Gov. Aggregation
COH             170539030026                Gas           Gov. Aggregation   COH             202862230011                Gas           Gov. Aggregation
COH             170556860017                Gas           Gov. Aggregation   COH             188788800054                Gas           Gov. Aggregation
COH             170565470010                Gas           Gov. Aggregation   COH             164066560062                Gas           Gov. Aggregation
COH             170574960018                Gas           Gov. Aggregation   COH             207405300019                Gas           Gov. Aggregation
COH             170575740012                Gas           Gov. Aggregation   COH             195264510038                Gas           Gov. Aggregation
COH             170698560010                Gas           Gov. Aggregation   COH             165498380055                Gas           Gov. Aggregation
COH             170711160032                Gas           Gov. Aggregation   COH             198305060041                Gas           Gov. Aggregation
COH             170783140035                Gas           Gov. Aggregation   COH             202175430016                Gas           Gov. Aggregation
COH             170794340021                Gas           Gov. Aggregation   COH             203487020010                Gas           Gov. Aggregation
COH             170833370012                Gas           Gov. Aggregation   COH             136244025440                Gas           Gov. Aggregation
COH             171065870015                Gas           Gov. Aggregation   COH             185730980104                Gas           Gov. Aggregation
COH             171088700012                Gas           Gov. Aggregation   COH             168233720023                Gas           Gov. Aggregation
COH             171122350012                Gas           Gov. Aggregation   COH             123868420024                Gas           Gov. Aggregation
COH             171156780075                Gas           Gov. Aggregation   COH             207733210013                Gas           Gov. Aggregation
COH             171212700017                Gas           Gov. Aggregation   COH             169538820043                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             171253770017                Gas           Gov. Aggregation   COH             204903020015                Gas           Gov. Aggregation
COH             171277450014                Gas           Gov. Aggregation   COH             199951640067                Gas           Gov. Aggregation
COH             171295770019                Gas           Gov. Aggregation   COH             197903300025                Gas           Gov. Aggregation
COH             171348390016                Gas           Gov. Aggregation   COH             199617500028                Gas           Gov. Aggregation
COH             171385840013                Gas           Gov. Aggregation   COH             207624990011                Gas           Gov. Aggregation
COH             171421650015                Gas           Gov. Aggregation   COH             206134150017                Gas           Gov. Aggregation
COH             171502250017                Gas           Gov. Aggregation   COH             200438200027                Gas           Gov. Aggregation
COH             171505210019                Gas           Gov. Aggregation   COH             200384680013                Gas           Gov. Aggregation
COH             171512970015                Gas           Gov. Aggregation   COH             207272270019                Gas           Gov. Aggregation
COH             171538150013                Gas           Gov. Aggregation   COH             147456370011                Gas           Gov. Aggregation
COH             171558370015                Gas           Gov. Aggregation   COH             206226910012                Gas           Gov. Aggregation
COH             171576840018                Gas           Gov. Aggregation   COH             205680930053                Gas           Gov. Aggregation
COH             171591690018                Gas           Gov. Aggregation   COH             205680930035                Gas           Gov. Aggregation
COH             171637440049                Gas           Gov. Aggregation   COH             206843400011                Gas           Gov. Aggregation
COH             171682260015                Gas           Gov. Aggregation   COH             187390200036                Gas           Gov. Aggregation
COH             171711140017                Gas           Gov. Aggregation   COH             151857530011                Gas           Gov. Aggregation
COH             171727120018                Gas           Gov. Aggregation   COH             205851530018                Gas           Gov. Aggregation
COH             171793020010                Gas           Gov. Aggregation   COH             208132620010                Gas           Gov. Aggregation
COH             171911660014                Gas           Gov. Aggregation   COH             202282360014                Gas           Gov. Aggregation
COH             172040070014                Gas           Gov. Aggregation   COH             200401560038                Gas           Gov. Aggregation
COH             172117050015                Gas           Gov. Aggregation   COH             142896710094                Gas           Gov. Aggregation
COH             172137550018                Gas           Gov. Aggregation   COH             208354060018                Gas           Gov. Aggregation
COH             172354840017                Gas           Gov. Aggregation   COH             192759920090                Gas           Gov. Aggregation
COH             172366760019                Gas           Gov. Aggregation   COH             155816680085                Gas           Gov. Aggregation
COH             172409490096                Gas           Gov. Aggregation   COH             205962260010                Gas           Gov. Aggregation
COH             172557270017                Gas           Gov. Aggregation   COH             171226120109                Gas           Gov. Aggregation
COH             172564780015                Gas           Gov. Aggregation   COH             171911720039                Gas           Gov. Aggregation
COH             172674810015                Gas           Gov. Aggregation   COH             170206250061                Gas           Gov. Aggregation
COH             172682200016                Gas           Gov. Aggregation   COH             150788110044                Gas           Gov. Aggregation
COH             172704130013                Gas           Gov. Aggregation   COH             195747400028                Gas           Gov. Aggregation
COH             172815840019                Gas           Gov. Aggregation   COH             195764710027                Gas           Gov. Aggregation
COH             172841220023                Gas           Gov. Aggregation   COH             189450660030                Gas           Gov. Aggregation
COH             172846790015                Gas           Gov. Aggregation   COH             196168680036                Gas           Gov. Aggregation
COH             172903430027                Gas           Gov. Aggregation   COH             153957170040                Gas           Gov. Aggregation
COH             172951930021                Gas           Gov. Aggregation   COH             192805100039                Gas           Gov. Aggregation
COH             172964750013                Gas           Gov. Aggregation   COH             188452600048                Gas           Gov. Aggregation
COH             173053070016                Gas           Gov. Aggregation   COH             202249420011                Gas           Gov. Aggregation
COH             173081150010                Gas           Gov. Aggregation   COH             202249440017                Gas           Gov. Aggregation
COH             173107220019                Gas           Gov. Aggregation   COH             202277150019                Gas           Gov. Aggregation
COH             173138810010                Gas           Gov. Aggregation   COH             204270120017                Gas           Gov. Aggregation
COH             173256850012                Gas           Gov. Aggregation   COH             200883750010                Gas           Gov. Aggregation
COH             173283610015                Gas           Gov. Aggregation   COH             199345150029                Gas           Gov. Aggregation
COH             173369240020                Gas           Gov. Aggregation   COH             201329160017                Gas           Gov. Aggregation
COH             173416320013                Gas           Gov. Aggregation   COH             201338260017                Gas           Gov. Aggregation
COH             173462340012                Gas           Gov. Aggregation   COH             201355770014                Gas           Gov. Aggregation
COH             173476560017                Gas           Gov. Aggregation   COH             201384950015                Gas           Gov. Aggregation
COH             173503600019                Gas           Gov. Aggregation   COH             201795850015                Gas           Gov. Aggregation
COH             173631390022                Gas           Gov. Aggregation   COH             201805240010                Gas           Gov. Aggregation
COH             173693980019                Gas           Gov. Aggregation   COH             201124910013                Gas           Gov. Aggregation
COH             173696780015                Gas           Gov. Aggregation   COH             201187520013                Gas           Gov. Aggregation
COH             173720460019                Gas           Gov. Aggregation   COH             201574550034                Gas           Gov. Aggregation
COH             173811770011                Gas           Gov. Aggregation   COH             163602830022                Gas           Gov. Aggregation
COH             173824110012                Gas           Gov. Aggregation   COH             164692780050                Gas           Gov. Aggregation
COH             173859620021                Gas           Gov. Aggregation   COH             200166020013                Gas           Gov. Aggregation
COH             173879930015                Gas           Gov. Aggregation   COH             202043590012                Gas           Gov. Aggregation
COH             173944800013                Gas           Gov. Aggregation   COH             202067410028                Gas           Gov. Aggregation
COH             173957430014                Gas           Gov. Aggregation   COH             200570290010                Gas           Gov. Aggregation
COH             173976550019                Gas           Gov. Aggregation   COH             200616950013                Gas           Gov. Aggregation
COH             174031030019                Gas           Gov. Aggregation   COH             123810370026                Gas           Gov. Aggregation
COH             174053120014                Gas           Gov. Aggregation   COH             169435390060                Gas           Gov. Aggregation
COH             174054870024                Gas           Gov. Aggregation   COH             144317790047                Gas           Gov. Aggregation
COH             174084190015                Gas           Gov. Aggregation   COH             123841860037                Gas           Gov. Aggregation
COH             174126380015                Gas           Gov. Aggregation   COH             201951900012                Gas           Gov. Aggregation
COH             174186440034                Gas           Gov. Aggregation   COH             203867400014                Gas           Gov. Aggregation
COH             174197670015                Gas           Gov. Aggregation   COH             194247520097                Gas           Gov. Aggregation
COH             174375940010                Gas           Gov. Aggregation   COH             202321450011                Gas           Gov. Aggregation
COH             174398380010                Gas           Gov. Aggregation   COH             195403900021                Gas           Gov. Aggregation
COH             174457370016                Gas           Gov. Aggregation   COH             194781390011                Gas           Gov. Aggregation
COH             174492090057                Gas           Gov. Aggregation   COH             201162790028                Gas           Gov. Aggregation
COH             174585020018                Gas           Gov. Aggregation   COH             193732230036                Gas           Gov. Aggregation
COH             174660950013                Gas           Gov. Aggregation   COH             193732290025                Gas           Gov. Aggregation
COH             174690830024                Gas           Gov. Aggregation   COH             196182930024                Gas           Gov. Aggregation
COH             174788900013                Gas           Gov. Aggregation   COH             145936310062                Gas           Gov. Aggregation
COH             174789320022                Gas           Gov. Aggregation   COH             123836810010                Gas           Gov. Aggregation
COH             174809780013                Gas           Gov. Aggregation   COH             205672450015                Gas           Gov. Aggregation
COH             174857780012                Gas           Gov. Aggregation   COH             207893740014                Gas           Gov. Aggregation
COH             174913390014                Gas           Gov. Aggregation   COH             171543090033                Gas           Gov. Aggregation
COH             174980400029                Gas           Gov. Aggregation   COH             176445030038                Gas           Gov. Aggregation
COH             175023430020                Gas           Gov. Aggregation   COH             170677620020                Gas           Gov. Aggregation
COH             175050710015                Gas           Gov. Aggregation   COH             151260470046                Gas           Gov. Aggregation
COH             175078310011                Gas           Gov. Aggregation   COH             197258870034                Gas           Gov. Aggregation
COH             175088890019                Gas           Gov. Aggregation   COH             196096130016                Gas           Gov. Aggregation
COH             175097740011                Gas           Gov. Aggregation   COH             171787590121                Gas           Gov. Aggregation
COH             175228810017                Gas           Gov. Aggregation   COH             151919540062                Gas           Gov. Aggregation
COH             175237790013                Gas           Gov. Aggregation   COH             191524630017                Gas           Gov. Aggregation
COH             175296570024                Gas           Gov. Aggregation   COH             176113200071                Gas           Gov. Aggregation
COH             175334890016                Gas           Gov. Aggregation   COH             191774560068                Gas           Gov. Aggregation
COH             175345730016                Gas           Gov. Aggregation   COH             187963440022                Gas           Gov. Aggregation
COH             175570260018                Gas           Gov. Aggregation   COH             202363080011                Gas           Gov. Aggregation
COH             175579420016                Gas           Gov. Aggregation   COH             202376270014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             175682010013                Gas           Gov. Aggregation   COH             204360310016                Gas           Gov. Aggregation
COH             175693240012                Gas           Gov. Aggregation   COH             204372370019                Gas           Gov. Aggregation
COH             175703620019                Gas           Gov. Aggregation   COH             203957710018                Gas           Gov. Aggregation
COH             175704920014                Gas           Gov. Aggregation   COH             163771700068                Gas           Gov. Aggregation
COH             175714200014                Gas           Gov. Aggregation   COH             156620200052                Gas           Gov. Aggregation
COH             175772640010                Gas           Gov. Aggregation   COH             188591780047                Gas           Gov. Aggregation
COH             175781150014                Gas           Gov. Aggregation   COH             123868580021                Gas           Gov. Aggregation
COH             175861020011                Gas           Gov. Aggregation   COH             204015210018                Gas           Gov. Aggregation
COH             175930510011                Gas           Gov. Aggregation   COH             123861930067                Gas           Gov. Aggregation
COH             175976610014                Gas           Gov. Aggregation   COH             202523410011                Gas           Gov. Aggregation
COH             175980380014                Gas           Gov. Aggregation   COH             204134490018                Gas           Gov. Aggregation
COH             175996960028                Gas           Gov. Aggregation   COH             166323000696                Gas           Gov. Aggregation
COH             176044400030                Gas           Gov. Aggregation   COH             166323000749                Gas           Gov. Aggregation
COH             176064240014                Gas           Gov. Aggregation   COH             164388790099                Gas           Gov. Aggregation
COH             176142610010                Gas           Gov. Aggregation   COH             162342540044                Gas           Gov. Aggregation
COH             176187720013                Gas           Gov. Aggregation   COH             109457090256                Gas           Gov. Aggregation
COH             176190840011                Gas           Gov. Aggregation   COH             206723170014                Gas           Gov. Aggregation
COH             176214690011                Gas           Gov. Aggregation   COH             206787400011                Gas           Gov. Aggregation
COH             176235370014                Gas           Gov. Aggregation   COH             205553550016                Gas           Gov. Aggregation
COH             176302550013                Gas           Gov. Aggregation   COH             162908720046                Gas           Gov. Aggregation
COH             176315190012                Gas           Gov. Aggregation   COH             145232590084                Gas           Gov. Aggregation
COH             176358810011                Gas           Gov. Aggregation   COH             126456470033                Gas           Gov. Aggregation
COH             176429920017                Gas           Gov. Aggregation   COH             185018510040                Gas           Gov. Aggregation
COH             176487340026                Gas           Gov. Aggregation   COH             192744620021                Gas           Gov. Aggregation
COH             176496210024                Gas           Gov. Aggregation   COH             204416560015                Gas           Gov. Aggregation
COH             176593670013                Gas           Gov. Aggregation   COH             201218760016                Gas           Gov. Aggregation
COH             176630350010                Gas           Gov. Aggregation   COH             201226830014                Gas           Gov. Aggregation
COH             176631670011                Gas           Gov. Aggregation   COH             201248050012                Gas           Gov. Aggregation
COH             176713500012                Gas           Gov. Aggregation   COH             203140140019                Gas           Gov. Aggregation
COH             176715070019                Gas           Gov. Aggregation   COH             203140150017                Gas           Gov. Aggregation
COH             176735500016                Gas           Gov. Aggregation   COH             203170560018                Gas           Gov. Aggregation
COH             176760600021                Gas           Gov. Aggregation   COH             203179240017                Gas           Gov. Aggregation
COH             176772570014                Gas           Gov. Aggregation   COH             201617620019                Gas           Gov. Aggregation
COH             176822170011                Gas           Gov. Aggregation   COH             201639630011                Gas           Gov. Aggregation
COH             176859510012                Gas           Gov. Aggregation   COH             203648910011                Gas           Gov. Aggregation
COH             176881020018                Gas           Gov. Aggregation   COH             202189970014                Gas           Gov. Aggregation
COH             176905080014                Gas           Gov. Aggregation   COH             204150620016                Gas           Gov. Aggregation
COH             176924030014                Gas           Gov. Aggregation   COH             202632640012                Gas           Gov. Aggregation
COH             176933880017                Gas           Gov. Aggregation   COH             202665370010                Gas           Gov. Aggregation
COH             176952040013                Gas           Gov. Aggregation   COH             202707970014                Gas           Gov. Aggregation
COH             177055280014                Gas           Gov. Aggregation   COH             203248870018                Gas           Gov. Aggregation
COH             177089280013                Gas           Gov. Aggregation   COH             203678960018                Gas           Gov. Aggregation
COH             177135510015                Gas           Gov. Aggregation   COH             129540030024                Gas           Gov. Aggregation
COH             177143100014                Gas           Gov. Aggregation   COH             205113630011                Gas           Gov. Aggregation
COH             177168710014                Gas           Gov. Aggregation   COH             204941210015                Gas           Gov. Aggregation
COH             177247470017                Gas           Gov. Aggregation   COH             123852610036                Gas           Gov. Aggregation
COH             177265160014                Gas           Gov. Aggregation   COH             173684180016                Gas           Gov. Aggregation
COH             177270240025                Gas           Gov. Aggregation   COH             204360360025                Gas           Gov. Aggregation
COH             177342980018                Gas           Gov. Aggregation   COH             109457090425                Gas           Gov. Aggregation
COH             177364090019                Gas           Gov. Aggregation   COH             205786480027                Gas           Gov. Aggregation
COH             177386290011                Gas           Gov. Aggregation   COH             205617070011                Gas           Gov. Aggregation
COH             177420200015                Gas           Gov. Aggregation   COH             208312360013                Gas           Gov. Aggregation
COH             177524010015                Gas           Gov. Aggregation   COH             200324270015                Gas           Gov. Aggregation
COH             177540470015                Gas           Gov. Aggregation   COH             185985110027                Gas           Gov. Aggregation
COH             177564160010                Gas           Gov. Aggregation   COH             198789250065                Gas           Gov. Aggregation
COH             177573240014                Gas           Gov. Aggregation   COH             145660800037                Gas           Gov. Aggregation
COH             177580640024                Gas           Gov. Aggregation   COH             206258110013                Gas           Gov. Aggregation
COH             177581810017                Gas           Gov. Aggregation   COH             207345110017                Gas           Gov. Aggregation
COH             177594820018                Gas           Gov. Aggregation   COH             197960290028                Gas           Gov. Aggregation
COH             177610350011                Gas           Gov. Aggregation   COH             201991980012                Gas           Gov. Aggregation
COH             177633100024                Gas           Gov. Aggregation   COH             205506930033                Gas           Gov. Aggregation
COH             177655070016                Gas           Gov. Aggregation   COH             205680930142                Gas           Gov. Aggregation
COH             177657550020                Gas           Gov. Aggregation   COH             205680930115                Gas           Gov. Aggregation
COH             177661900018                Gas           Gov. Aggregation   COH             206223620019                Gas           Gov. Aggregation
COH             177668320025                Gas           Gov. Aggregation   COH             172926470076                Gas           Gov. Aggregation
COH             177732100015                Gas           Gov. Aggregation   COH             187568160047                Gas           Gov. Aggregation
COH             177732220010                Gas           Gov. Aggregation   COH             208533830016                Gas           Gov. Aggregation
COH             177745750012                Gas           Gov. Aggregation   COH             196526780026                Gas           Gov. Aggregation
COH             177761970012                Gas           Gov. Aggregation   COH             206543400017                Gas           Gov. Aggregation
COH             177821390016                Gas           Gov. Aggregation   COH             205249930020                Gas           Gov. Aggregation
COH             177853530019                Gas           Gov. Aggregation   COH             200400280011                Gas           Gov. Aggregation
COH             185053270010                Gas           Gov. Aggregation   COH             200430690012                Gas           Gov. Aggregation
COH             185087380025                Gas           Gov. Aggregation   COH             202298400030                Gas           Gov. Aggregation
COH             185234490010                Gas           Gov. Aggregation   COH             200929350025                Gas           Gov. Aggregation
COH             185244830017                Gas           Gov. Aggregation   COH             202874030018                Gas           Gov. Aggregation
COH             185303740010                Gas           Gov. Aggregation   COH             202920420017                Gas           Gov. Aggregation
COH             185359400014                Gas           Gov. Aggregation   COH             201428700013                Gas           Gov. Aggregation
COH             185376640018                Gas           Gov. Aggregation   COH             203386370011                Gas           Gov. Aggregation
COH             185389350012                Gas           Gov. Aggregation   COH             203394640017                Gas           Gov. Aggregation
COH             185436670023                Gas           Gov. Aggregation   COH             203417640017                Gas           Gov. Aggregation
COH             185512850014                Gas           Gov. Aggregation   COH             162179410039                Gas           Gov. Aggregation
COH             185512930017                Gas           Gov. Aggregation   COH             155414540013                Gas           Gov. Aggregation
COH             185531720011                Gas           Gov. Aggregation   COH             198773590012                Gas           Gov. Aggregation
COH             185537200018                Gas           Gov. Aggregation   COH             199203340029                Gas           Gov. Aggregation
COH             185567640013                Gas           Gov. Aggregation   COH             201662960013                Gas           Gov. Aggregation
COH             185575350017                Gas           Gov. Aggregation   COH             123808300034                Gas           Gov. Aggregation
COH             185598990015                Gas           Gov. Aggregation   COH             198960500040                Gas           Gov. Aggregation
COH             185715250010                Gas           Gov. Aggregation   COH             198960500059                Gas           Gov. Aggregation
COH             185715940015                Gas           Gov. Aggregation   COH             198960500031                Gas           Gov. Aggregation
COH             185730680018                Gas           Gov. Aggregation   COH             198427880032                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             185772850023                Gas           Gov. Aggregation   COH             199447060031                Gas           Gov. Aggregation
COH             185773050010                Gas           Gov. Aggregation   COH             199935340037                Gas           Gov. Aggregation
COH             185777010038                Gas           Gov. Aggregation   COH             129210310024                Gas           Gov. Aggregation
COH             185826230019                Gas           Gov. Aggregation   COH             130570690084                Gas           Gov. Aggregation
COH             185869250015                Gas           Gov. Aggregation   COH             140116350049                Gas           Gov. Aggregation
COH             185900040011                Gas           Gov. Aggregation   COH             190277480042                Gas           Gov. Aggregation
COH             186015530014                Gas           Gov. Aggregation   COH             196561180028                Gas           Gov. Aggregation
COH             186027350017                Gas           Gov. Aggregation   COH             190355470066                Gas           Gov. Aggregation
COH             186040940015                Gas           Gov. Aggregation   COH             171186660068                Gas           Gov. Aggregation
COH             186064690018                Gas           Gov. Aggregation   COH             206016920015                Gas           Gov. Aggregation
COH             186108180011                Gas           Gov. Aggregation   COH             198832970025                Gas           Gov. Aggregation
COH             186133960014                Gas           Gov. Aggregation   COH             208436710017                Gas           Gov. Aggregation
COH             186172910012                Gas           Gov. Aggregation   COH             207792520014                Gas           Gov. Aggregation
COH             186187100020                Gas           Gov. Aggregation   COH             123809480133                Gas           Gov. Aggregation
COH             186237790010                Gas           Gov. Aggregation   COH             202748630019                Gas           Gov. Aggregation
COH             186278780016                Gas           Gov. Aggregation   COH             202781920036                Gas           Gov. Aggregation
COH             186376740016                Gas           Gov. Aggregation   COH             201297590016                Gas           Gov. Aggregation
COH             186402850016                Gas           Gov. Aggregation   COH             201297600013                Gas           Gov. Aggregation
COH             186421080018                Gas           Gov. Aggregation   COH             203252510014                Gas           Gov. Aggregation
COH             186479340012                Gas           Gov. Aggregation   COH             201747120019                Gas           Gov. Aggregation
COH             186516470024                Gas           Gov. Aggregation   COH             201766970011                Gas           Gov. Aggregation
COH             186581080010                Gas           Gov. Aggregation   COH             201772320014                Gas           Gov. Aggregation
COH             186583100011                Gas           Gov. Aggregation   COH             201788280010                Gas           Gov. Aggregation
COH             186621020016                Gas           Gov. Aggregation   COH             203693350014                Gas           Gov. Aggregation
COH             186622210014                Gas           Gov. Aggregation   COH             203975890013                Gas           Gov. Aggregation
COH             186623450012                Gas           Gov. Aggregation   COH             138019110049                Gas           Gov. Aggregation
COH             186675670017                Gas           Gov. Aggregation   COH             163238850030                Gas           Gov. Aggregation
COH             186676430015                Gas           Gov. Aggregation   COH             166228580026                Gas           Gov. Aggregation
COH             186690690011                Gas           Gov. Aggregation   COH             164941990011                Gas           Gov. Aggregation
COH             186702520019                Gas           Gov. Aggregation   COH             204083000019                Gas           Gov. Aggregation
COH             186710380021                Gas           Gov. Aggregation   COH             198039460024                Gas           Gov. Aggregation
COH             186735270013                Gas           Gov. Aggregation   COH             198074000053                Gas           Gov. Aggregation
COH             186815410013                Gas           Gov. Aggregation   COH             199019150011                Gas           Gov. Aggregation
COH             186816150016                Gas           Gov. Aggregation   COH             199032560053                Gas           Gov. Aggregation
COH             186819780018                Gas           Gov. Aggregation   COH             123749820166                Gas           Gov. Aggregation
COH             186880120017                Gas           Gov. Aggregation   COH             201586730013                Gas           Gov. Aggregation
COH             186887530017                Gas           Gov. Aggregation   COH             194582970084                Gas           Gov. Aggregation
COH             186908320024                Gas           Gov. Aggregation   COH             194582970191                Gas           Gov. Aggregation
COH             186916160058                Gas           Gov. Aggregation   COH             194582970093                Gas           Gov. Aggregation
COH             186969090016                Gas           Gov. Aggregation   COH             194582970075                Gas           Gov. Aggregation
COH             187046560012                Gas           Gov. Aggregation   COH             200787450035                Gas           Gov. Aggregation
COH             187075340017                Gas           Gov. Aggregation   COH             201009450014                Gas           Gov. Aggregation
COH             187097940015                Gas           Gov. Aggregation   COH             198873130034                Gas           Gov. Aggregation
COH             187216290027                Gas           Gov. Aggregation   VEDO            4017125912588787            Gas           Gov. Aggregation
COH             187288000017                Gas           Gov. Aggregation   COH             123991190013                Gas           Gov. Aggregation
COH             187315030012                Gas           Gov. Aggregation   DEO             9170000004553               Gas           Gov. Aggregation
COH             187447240019                Gas           Gov. Aggregation   DEO             8442008144032               Gas           Gov. Aggregation
COH             187455510015                Gas           Gov. Aggregation   DEO             8442008144027               Gas           Gov. Aggregation
COH             187490210014                Gas           Gov. Aggregation   DEO             3140000098553               Gas           Gov. Aggregation
COH             187532260014                Gas           Gov. Aggregation   DEO             8500027384789               Gas           Gov. Aggregation
COH             187556860027                Gas           Gov. Aggregation   DEO             1500028982272               Gas           Gov. Aggregation
COH             187588420013                Gas           Gov. Aggregation   DEO             9420902261223               Gas           Gov. Aggregation
COH             187626480019                Gas           Gov. Aggregation   COH             108701990035                Gas           Gov. Aggregation
COH             187671370017                Gas           Gov. Aggregation   COH             108727920017                Gas           Gov. Aggregation
COH             187672280023                Gas           Gov. Aggregation   COH             108728710019                Gas           Gov. Aggregation
COH             187682600015                Gas           Gov. Aggregation   COH             108735510016                Gas           Gov. Aggregation
COH             187793210012                Gas           Gov. Aggregation   COH             108745040032                Gas           Gov. Aggregation
COH             187825350014                Gas           Gov. Aggregation   COH             108748420027                Gas           Gov. Aggregation
COH             187892670016                Gas           Gov. Aggregation   COH             108748670025                Gas           Gov. Aggregation
COH             187937310015                Gas           Gov. Aggregation   COH             108749300011                Gas           Gov. Aggregation
COH             187964170018                Gas           Gov. Aggregation   COH             108750740016                Gas           Gov. Aggregation
COH             188019360047                Gas           Gov. Aggregation   COH             108819310010                Gas           Gov. Aggregation
COH             188105510015                Gas           Gov. Aggregation   COH             109073330017                Gas           Gov. Aggregation
COH             188156390014                Gas           Gov. Aggregation   COH             109098081606                Gas           Gov. Aggregation
COH             188173810019                Gas           Gov. Aggregation   COH             110350900025                Gas           Gov. Aggregation
COH             188184700019                Gas           Gov. Aggregation   COH             110553810015                Gas           Gov. Aggregation
COH             188194670015                Gas           Gov. Aggregation   COH             110554550018                Gas           Gov. Aggregation
COH             188286970017                Gas           Gov. Aggregation   COH             110627280029                Gas           Gov. Aggregation
COH             188295080015                Gas           Gov. Aggregation   COH             110628560019                Gas           Gov. Aggregation
COH             188305340017                Gas           Gov. Aggregation   COH             110645440018                Gas           Gov. Aggregation
COH             188317770012                Gas           Gov. Aggregation   COH             110726580222                Gas           Gov. Aggregation
COH             188318170016                Gas           Gov. Aggregation   COH             110941620012                Gas           Gov. Aggregation
COH             188364030018                Gas           Gov. Aggregation   COH             110941780019                Gas           Gov. Aggregation
COH             188427960019                Gas           Gov. Aggregation   COH             110973760025                Gas           Gov. Aggregation
COH             188434390014                Gas           Gov. Aggregation   COH             110975100010                Gas           Gov. Aggregation
COH             188473440011                Gas           Gov. Aggregation   COH             110976930014                Gas           Gov. Aggregation
COH             188522410012                Gas           Gov. Aggregation   COH             110982530015                Gas           Gov. Aggregation
COH             188571200013                Gas           Gov. Aggregation   COH             110988380033                Gas           Gov. Aggregation
COH             188579860019                Gas           Gov. Aggregation   COH             111013690023                Gas           Gov. Aggregation
COH             188615590018                Gas           Gov. Aggregation   COH             111064710012                Gas           Gov. Aggregation
COH             188628200012                Gas           Gov. Aggregation   COH             111068090024                Gas           Gov. Aggregation
COH             188642260010                Gas           Gov. Aggregation   COH             111069160081                Gas           Gov. Aggregation
COH             188670600019                Gas           Gov. Aggregation   COH             111076670016                Gas           Gov. Aggregation
COH             188696990032                Gas           Gov. Aggregation   COH             111094970015                Gas           Gov. Aggregation
COH             188749330019                Gas           Gov. Aggregation   COH             111095070012                Gas           Gov. Aggregation
COH             188770790018                Gas           Gov. Aggregation   COH             111096760024                Gas           Gov. Aggregation
COH             188793830011                Gas           Gov. Aggregation   COH             111099610010                Gas           Gov. Aggregation
COH             188796440035                Gas           Gov. Aggregation   COH             111099660010                Gas           Gov. Aggregation
COH             188799410017                Gas           Gov. Aggregation   COH             111100030017                Gas           Gov. Aggregation
COH             188801130019                Gas           Gov. Aggregation   COH             111115670012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             188833060017                Gas           Gov. Aggregation   COH             111215220023                Gas           Gov. Aggregation
COH             188858440015                Gas           Gov. Aggregation   COH             111256870021                Gas           Gov. Aggregation
COH             188894470013                Gas           Gov. Aggregation   COH             111256950015                Gas           Gov. Aggregation
COH             188938360012                Gas           Gov. Aggregation   COH             111257530011                Gas           Gov. Aggregation
COH             189022310012                Gas           Gov. Aggregation   COH             111257760022                Gas           Gov. Aggregation
COH             189051750019                Gas           Gov. Aggregation   COH             111257880018                Gas           Gov. Aggregation
COH             189124250019                Gas           Gov. Aggregation   COH             111261270026                Gas           Gov. Aggregation
COH             189154090010                Gas           Gov. Aggregation   COH             111265290079                Gas           Gov. Aggregation
COH             189165490013                Gas           Gov. Aggregation   COH             111268770018                Gas           Gov. Aggregation
COH             189217410018                Gas           Gov. Aggregation   COH             111268960018                Gas           Gov. Aggregation
COH             189225980012                Gas           Gov. Aggregation   COH             111269780023                Gas           Gov. Aggregation
COH             189256560024                Gas           Gov. Aggregation   COH             111280580012                Gas           Gov. Aggregation
COH             189307700016                Gas           Gov. Aggregation   COH             111282540025                Gas           Gov. Aggregation
COH             189307850015                Gas           Gov. Aggregation   COH             111327630011                Gas           Gov. Aggregation
COH             189316100013                Gas           Gov. Aggregation   COH             111329040011                Gas           Gov. Aggregation
COH             189334810016                Gas           Gov. Aggregation   COH             111329160016                Gas           Gov. Aggregation
COH             189336110028                Gas           Gov. Aggregation   COH             111329330010                Gas           Gov. Aggregation
COH             189336490010                Gas           Gov. Aggregation   COH             111396590015                Gas           Gov. Aggregation
COH             189386570018                Gas           Gov. Aggregation   COH             111398970011                Gas           Gov. Aggregation
COH             189429520016                Gas           Gov. Aggregation   COH             111459460027                Gas           Gov. Aggregation
COH             189441560012                Gas           Gov. Aggregation   COH             112217260011                Gas           Gov. Aggregation
COH             189509210011                Gas           Gov. Aggregation   COH             112219700023                Gas           Gov. Aggregation
COH             189515120017                Gas           Gov. Aggregation   COH             112223370024                Gas           Gov. Aggregation
COH             189530450016                Gas           Gov. Aggregation   COH             112303620021                Gas           Gov. Aggregation
COH             189543710014                Gas           Gov. Aggregation   COH             112321610025                Gas           Gov. Aggregation
COH             189549460015                Gas           Gov. Aggregation   COH             112437780025                Gas           Gov. Aggregation
COH             189572830018                Gas           Gov. Aggregation   COH             113692360031                Gas           Gov. Aggregation
COH             189587960010                Gas           Gov. Aggregation   COH             114506000029                Gas           Gov. Aggregation
COH             189646570016                Gas           Gov. Aggregation   COH             114901810021                Gas           Gov. Aggregation
COH             189664000017                Gas           Gov. Aggregation   COH             114916270024                Gas           Gov. Aggregation
COH             189715230010                Gas           Gov. Aggregation   COH             114937380054                Gas           Gov. Aggregation
COH             189759220010                Gas           Gov. Aggregation   COH             114964330020                Gas           Gov. Aggregation
COH             189766780018                Gas           Gov. Aggregation   COH             115015960019                Gas           Gov. Aggregation
COH             189781600013                Gas           Gov. Aggregation   COH             115016070014                Gas           Gov. Aggregation
COH             189806090017                Gas           Gov. Aggregation   COH             115038850023                Gas           Gov. Aggregation
COH             189827810011                Gas           Gov. Aggregation   COH             115041650055                Gas           Gov. Aggregation
COH             189833730015                Gas           Gov. Aggregation   COH             115485350030                Gas           Gov. Aggregation
COH             189850000012                Gas           Gov. Aggregation   COH             115532130026                Gas           Gov. Aggregation
COH             189858400012                Gas           Gov. Aggregation   COH             115567540027                Gas           Gov. Aggregation
COH             189871700011                Gas           Gov. Aggregation   COH             115605620028                Gas           Gov. Aggregation
COH             189879760013                Gas           Gov. Aggregation   COH             115677650049                Gas           Gov. Aggregation
COH             189885520010                Gas           Gov. Aggregation   COH             115772530015                Gas           Gov. Aggregation
COH             189885780016                Gas           Gov. Aggregation   COH             115839840018                Gas           Gov. Aggregation
COH             189894820018                Gas           Gov. Aggregation   COH             115841950010                Gas           Gov. Aggregation
COH             189921020017                Gas           Gov. Aggregation   COH             115842840020                Gas           Gov. Aggregation
COH             189950370013                Gas           Gov. Aggregation   COH             115843570016                Gas           Gov. Aggregation
COH             189960700030                Gas           Gov. Aggregation   COH             115853580013                Gas           Gov. Aggregation
COH             189987790018                Gas           Gov. Aggregation   COH             115854650016                Gas           Gov. Aggregation
COH             190015590016                Gas           Gov. Aggregation   COH             115856010016                Gas           Gov. Aggregation
COH             190036300012                Gas           Gov. Aggregation   COH             115862670015                Gas           Gov. Aggregation
COH             110291310016                Gas           Gov. Aggregation   COH             115863550018                Gas           Gov. Aggregation
COH             110291430011                Gas           Gov. Aggregation   COH             115876840010                Gas           Gov. Aggregation
COH             110292050019                Gas           Gov. Aggregation   COH             115876890010                Gas           Gov. Aggregation
COH             110292130012                Gas           Gov. Aggregation   COH             116976240022                Gas           Gov. Aggregation
COH             110963030010                Gas           Gov. Aggregation   COH             117024720036                Gas           Gov. Aggregation
COH             110962250016                Gas           Gov. Aggregation   COH             117088880020                Gas           Gov. Aggregation
COH             114921200018                Gas           Gov. Aggregation   COH             117138150026                Gas           Gov. Aggregation
COH             110987690012                Gas           Gov. Aggregation   COH             117295920031                Gas           Gov. Aggregation
COH             110988390013                Gas           Gov. Aggregation   COH             117295980011                Gas           Gov. Aggregation
COH             110994220015                Gas           Gov. Aggregation   COH             117302460031                Gas           Gov. Aggregation
COH             110994240011                Gas           Gov. Aggregation   COH             117304250013                Gas           Gov. Aggregation
COH             110994360025                Gas           Gov. Aggregation   COH             117304800035                Gas           Gov. Aggregation
COH             110994540018                Gas           Gov. Aggregation   COH             117329070019                Gas           Gov. Aggregation
COH             110994560014                Gas           Gov. Aggregation   COH             117329820011                Gas           Gov. Aggregation
COH             110994570012                Gas           Gov. Aggregation   COH             117349770038                Gas           Gov. Aggregation
COH             110994580010                Gas           Gov. Aggregation   COH             117351550011                Gas           Gov. Aggregation
COH             111006290013                Gas           Gov. Aggregation   COH             117354620029                Gas           Gov. Aggregation
COH             111012420012                Gas           Gov. Aggregation   COH             117358980017                Gas           Gov. Aggregation
COH             111012550024                Gas           Gov. Aggregation   COH             117362200011                Gas           Gov. Aggregation
COH             111013770017                Gas           Gov. Aggregation   COH             117365600011                Gas           Gov. Aggregation
COH             111013800010                Gas           Gov. Aggregation   COH             117463130021                Gas           Gov. Aggregation
COH             111013930013                Gas           Gov. Aggregation   COH             117591410030                Gas           Gov. Aggregation
COH             111023700010                Gas           Gov. Aggregation   COH             117591560039                Gas           Gov. Aggregation
COH             111024150014                Gas           Gov. Aggregation   COH             117946340023                Gas           Gov. Aggregation
COH             111030290012                Gas           Gov. Aggregation   COH             118073260020                Gas           Gov. Aggregation
COH             111030480012                Gas           Gov. Aggregation   COH             118106760042                Gas           Gov. Aggregation
COH             111030930017                Gas           Gov. Aggregation   COH             118218900045                Gas           Gov. Aggregation
COH             110395350027                Gas           Gov. Aggregation   COH             118261980020                Gas           Gov. Aggregation
COH             110302600010                Gas           Gov. Aggregation   COH             118289910044                Gas           Gov. Aggregation
COH             110310810028                Gas           Gov. Aggregation   COH             118296630039                Gas           Gov. Aggregation
COH             110337150021                Gas           Gov. Aggregation   COH             118300430021                Gas           Gov. Aggregation
COH             110364640012                Gas           Gov. Aggregation   COH             118314960021                Gas           Gov. Aggregation
COH             110364650010                Gas           Gov. Aggregation   COH             118315450026                Gas           Gov. Aggregation
COH             110371170034                Gas           Gov. Aggregation   COH             118583470025                Gas           Gov. Aggregation
COH             110399660015                Gas           Gov. Aggregation   COH             118779690024                Gas           Gov. Aggregation
COH             110399690019                Gas           Gov. Aggregation   COH             118782980026                Gas           Gov. Aggregation
COH             131945730025                Gas           Gov. Aggregation   COH             118784400032                Gas           Gov. Aggregation
COH             129525860013                Gas           Gov. Aggregation   COH             118865930039                Gas           Gov. Aggregation
COH             110929320011                Gas           Gov. Aggregation   COH             118881780028                Gas           Gov. Aggregation
COH             110942210016                Gas           Gov. Aggregation   COH             119288710029                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             110960420014                Gas           Gov. Aggregation   COH             119767410035                Gas           Gov. Aggregation
COH             110962120013                Gas           Gov. Aggregation   COH             119894230025                Gas           Gov. Aggregation
COH             110963080010                Gas           Gov. Aggregation   COH             119896790024                Gas           Gov. Aggregation
COH             110969540011                Gas           Gov. Aggregation   COH             119914840023                Gas           Gov. Aggregation
COH             110969550019                Gas           Gov. Aggregation   COH             119916600074                Gas           Gov. Aggregation
COH             110969690010                Gas           Gov. Aggregation   COH             120174900018                Gas           Gov. Aggregation
COH             110981700020                Gas           Gov. Aggregation   COH             120207130019                Gas           Gov. Aggregation
COH             110981750011                Gas           Gov. Aggregation   COH             120239870035                Gas           Gov. Aggregation
COH             110985600014                Gas           Gov. Aggregation   COH             120240170039                Gas           Gov. Aggregation
COH             110985720019                Gas           Gov. Aggregation   COH             120384080025                Gas           Gov. Aggregation
COH             131663450013                Gas           Gov. Aggregation   COH             120427550088                Gas           Gov. Aggregation
COH             134470500018                Gas           Gov. Aggregation   COH             120531180012                Gas           Gov. Aggregation
COH             134518490019                Gas           Gov. Aggregation   COH             120531850011                Gas           Gov. Aggregation
COH             143975220016                Gas           Gov. Aggregation   COH             120537000026                Gas           Gov. Aggregation
COH             144854020013                Gas           Gov. Aggregation   COH             120541670018                Gas           Gov. Aggregation
COH             144875990016                Gas           Gov. Aggregation   COH             120541800038                Gas           Gov. Aggregation
COH             122030020015                Gas           Gov. Aggregation   COH             120542030010                Gas           Gov. Aggregation
COH             146381340017                Gas           Gov. Aggregation   COH             121826270017                Gas           Gov. Aggregation
COH             146428370039                Gas           Gov. Aggregation   COH             121945110018                Gas           Gov. Aggregation
COH             146463930028                Gas           Gov. Aggregation   COH             122375330010                Gas           Gov. Aggregation
COH             146511660013                Gas           Gov. Aggregation   COH             122378040024                Gas           Gov. Aggregation
COH             140093210011                Gas           Gov. Aggregation   COH             122379960010                Gas           Gov. Aggregation
COH             141671100017                Gas           Gov. Aggregation   COH             122477970029                Gas           Gov. Aggregation
COH             149289420031                Gas           Gov. Aggregation   COH             122478910010                Gas           Gov. Aggregation
COH             149356240063                Gas           Gov. Aggregation   COH             122480920022                Gas           Gov. Aggregation
COH             149748640013                Gas           Gov. Aggregation   COH             122501470012                Gas           Gov. Aggregation
COH             157123050011                Gas           Gov. Aggregation   COH             123121880020                Gas           Gov. Aggregation
COH             136758220015                Gas           Gov. Aggregation   COH             123625680015                Gas           Gov. Aggregation
COH             137820840011                Gas           Gov. Aggregation   COH             123654970022                Gas           Gov. Aggregation
COH             137840570016                Gas           Gov. Aggregation   COH             123655740037                Gas           Gov. Aggregation
COH             138534010011                Gas           Gov. Aggregation   COH             123664710025                Gas           Gov. Aggregation
COH             160137260013                Gas           Gov. Aggregation   COH             123680520012                Gas           Gov. Aggregation
COH             160229400018                Gas           Gov. Aggregation   COH             123681410031                Gas           Gov. Aggregation
COH             154974200019                Gas           Gov. Aggregation   COH             123682690022                Gas           Gov. Aggregation
COH             156028200012                Gas           Gov. Aggregation   COH             123694510015                Gas           Gov. Aggregation
COH             156031090019                Gas           Gov. Aggregation   COH             123700210040                Gas           Gov. Aggregation
COH             160769280010                Gas           Gov. Aggregation   COH             123700760018                Gas           Gov. Aggregation
COH             161216890012                Gas           Gov. Aggregation   COH             123832870016                Gas           Gov. Aggregation
COH             166205020012                Gas           Gov. Aggregation   COH             123833880012                Gas           Gov. Aggregation
COH             150238890019                Gas           Gov. Aggregation   COH             123836600014                Gas           Gov. Aggregation
COH             151724380014                Gas           Gov. Aggregation   COH             123838130019                Gas           Gov. Aggregation
COH             153226690013                Gas           Gov. Aggregation   COH             123843060013                Gas           Gov. Aggregation
COH             167274920017                Gas           Gov. Aggregation   COH             123843620024                Gas           Gov. Aggregation
COH             158727020016                Gas           Gov. Aggregation   COH             123843840019                Gas           Gov. Aggregation
COH             165224850019                Gas           Gov. Aggregation   COH             123850740015                Gas           Gov. Aggregation
COH             162590840019                Gas           Gov. Aggregation   COH             123855890014                Gas           Gov. Aggregation
COH             147297970013                Gas           Gov. Aggregation   COH             123856970015                Gas           Gov. Aggregation
COH             161693980031                Gas           Gov. Aggregation   COH             123879550015                Gas           Gov. Aggregation
COH             162810180010                Gas           Gov. Aggregation   COH             123879980024                Gas           Gov. Aggregation
COH             163450450016                Gas           Gov. Aggregation   COH             123881670024                Gas           Gov. Aggregation
COH             111258370013                Gas           Gov. Aggregation   COH             123908380018                Gas           Gov. Aggregation
COH             122482880018                Gas           Gov. Aggregation   COH             123908540014                Gas           Gov. Aggregation
COH             150187150013                Gas           Gov. Aggregation   COH             123909150014                Gas           Gov. Aggregation
COH             140028700015                Gas           Gov. Aggregation   COH             124006980022                Gas           Gov. Aggregation
COH             110988870012                Gas           Gov. Aggregation   COH             124021670034                Gas           Gov. Aggregation
COH             169416080010                Gas           Gov. Aggregation   COH             124043550024                Gas           Gov. Aggregation
COH             169897110015                Gas           Gov. Aggregation   COH             124043970017                Gas           Gov. Aggregation
COH             117355740013                Gas           Gov. Aggregation   COH             124046290014                Gas           Gov. Aggregation
COH             168884120011                Gas           Gov. Aggregation   COH             124054890048                Gas           Gov. Aggregation
COH             168913210019                Gas           Gov. Aggregation   COH             124122360017                Gas           Gov. Aggregation
COH             168937120018                Gas           Gov. Aggregation   COH             124122360026                Gas           Gov. Aggregation
COH             169139040016                Gas           Gov. Aggregation   COH             124133040020                Gas           Gov. Aggregation
COH             169421550010                Gas           Gov. Aggregation   COH             124133350016                Gas           Gov. Aggregation
COH             169439330019                Gas           Gov. Aggregation   COH             124134600020                Gas           Gov. Aggregation
COH             169760910016                Gas           Gov. Aggregation   COH             124229770015                Gas           Gov. Aggregation
COH             169792930015                Gas           Gov. Aggregation   COH             124230030017                Gas           Gov. Aggregation
COH             169911890010                Gas           Gov. Aggregation   COH             124230110029                Gas           Gov. Aggregation
COH             167351320019                Gas           Gov. Aggregation   COH             124230400019                Gas           Gov. Aggregation
COH             167446470017                Gas           Gov. Aggregation   COH             124230620013                Gas           Gov. Aggregation
COH             167450720015                Gas           Gov. Aggregation   COH             124262830012                Gas           Gov. Aggregation
COH             167458670010                Gas           Gov. Aggregation   COH             124263290014                Gas           Gov. Aggregation
COH             167500980014                Gas           Gov. Aggregation   COH             124308910026                Gas           Gov. Aggregation
COH             167681470019                Gas           Gov. Aggregation   COH             124309900062                Gas           Gov. Aggregation
COH             167726530010                Gas           Gov. Aggregation   COH             124310080017                Gas           Gov. Aggregation
COH             154290560014                Gas           Gov. Aggregation   COH             124328820023                Gas           Gov. Aggregation
COH             154473630011                Gas           Gov. Aggregation   COH             124329710015                Gas           Gov. Aggregation
COH             154537750010                Gas           Gov. Aggregation   COH             124337020040                Gas           Gov. Aggregation
COH             154960730017                Gas           Gov. Aggregation   COH             124340660021                Gas           Gov. Aggregation
COH             155132590011                Gas           Gov. Aggregation   COH             124341710028                Gas           Gov. Aggregation
COH             155312400018                Gas           Gov. Aggregation   COH             124347440023                Gas           Gov. Aggregation
COH             155550290018                Gas           Gov. Aggregation   COH             124348050023                Gas           Gov. Aggregation
COH             155945620020                Gas           Gov. Aggregation   COH             124373890024                Gas           Gov. Aggregation
COH             156181760011                Gas           Gov. Aggregation   COH             124374720027                Gas           Gov. Aggregation
COH             156555890011                Gas           Gov. Aggregation   COH             124376440013                Gas           Gov. Aggregation
COH             156621000016                Gas           Gov. Aggregation   COH             124387580039                Gas           Gov. Aggregation
COH             156712520014                Gas           Gov. Aggregation   COH             124398810028                Gas           Gov. Aggregation
COH             156739940010                Gas           Gov. Aggregation   COH             124406960028                Gas           Gov. Aggregation
COH             156924270018                Gas           Gov. Aggregation   COH             124409880010                Gas           Gov. Aggregation
COH             114888690018                Gas           Gov. Aggregation   COH             124445390017                Gas           Gov. Aggregation
COH             149720830020                Gas           Gov. Aggregation   COH             124445480018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             150201570013                Gas           Gov. Aggregation   COH             124449710011                Gas           Gov. Aggregation
COH             150276500010                Gas           Gov. Aggregation   COH             124455380018                Gas           Gov. Aggregation
COH             150330240019                Gas           Gov. Aggregation   COH             124464050018                Gas           Gov. Aggregation
COH             150484700017                Gas           Gov. Aggregation   COH             124464540015                Gas           Gov. Aggregation
COH             151024100025                Gas           Gov. Aggregation   COH             124465760017                Gas           Gov. Aggregation
COH             151057170013                Gas           Gov. Aggregation   COH             124478740023                Gas           Gov. Aggregation
COH             151708160041                Gas           Gov. Aggregation   COH             124480530022                Gas           Gov. Aggregation
COH             152068860032                Gas           Gov. Aggregation   COH             124493870015                Gas           Gov. Aggregation
COH             152168890016                Gas           Gov. Aggregation   COH             124494040017                Gas           Gov. Aggregation
COH             152274750010                Gas           Gov. Aggregation   COH             124494400011                Gas           Gov. Aggregation
COH             152785610025                Gas           Gov. Aggregation   COH             124508930019                Gas           Gov. Aggregation
COH             152837990025                Gas           Gov. Aggregation   COH             124531830011                Gas           Gov. Aggregation
COH             152868130011                Gas           Gov. Aggregation   COH             124531860042                Gas           Gov. Aggregation
COH             152877270077                Gas           Gov. Aggregation   COH             124560100013                Gas           Gov. Aggregation
COH             118831310165                Gas           Gov. Aggregation   COH             124565980028                Gas           Gov. Aggregation
COH             119013660156                Gas           Gov. Aggregation   COH             124747200025                Gas           Gov. Aggregation
COH             121857080021                Gas           Gov. Aggregation   COH             124760700022                Gas           Gov. Aggregation
COH             126962250036                Gas           Gov. Aggregation   COH             125298170042                Gas           Gov. Aggregation
COH             127085020024                Gas           Gov. Aggregation   COH             125349340029                Gas           Gov. Aggregation
COH             127164490019                Gas           Gov. Aggregation   COH             125449130021                Gas           Gov. Aggregation
COH             115017670016                Gas           Gov. Aggregation   COH             125494700026                Gas           Gov. Aggregation
COH             115018800025                Gas           Gov. Aggregation   COH             125529290028                Gas           Gov. Aggregation
COH             115019620012                Gas           Gov. Aggregation   COH             125570940033                Gas           Gov. Aggregation
COH             115022630013                Gas           Gov. Aggregation   COH             125783810011                Gas           Gov. Aggregation
COH             115022670015                Gas           Gov. Aggregation   COH             125798810010                Gas           Gov. Aggregation
COH             115023230033                Gas           Gov. Aggregation   COH             125802580036                Gas           Gov. Aggregation
COH             115023260019                Gas           Gov. Aggregation   COH             126744290049                Gas           Gov. Aggregation
COH             115023340021                Gas           Gov. Aggregation   COH             126827790020                Gas           Gov. Aggregation
COH             115023850024                Gas           Gov. Aggregation   COH             126860600047                Gas           Gov. Aggregation
COH             115024550025                Gas           Gov. Aggregation   COH             126907410010                Gas           Gov. Aggregation
COH             115031390015                Gas           Gov. Aggregation   COH             126945770033                Gas           Gov. Aggregation
COH             115034080014                Gas           Gov. Aggregation   COH             126947260036                Gas           Gov. Aggregation
COH             115036500011                Gas           Gov. Aggregation   COH             127037650014                Gas           Gov. Aggregation
COH             115041930010                Gas           Gov. Aggregation   COH             127065630028                Gas           Gov. Aggregation
COH             115041940018                Gas           Gov. Aggregation   COH             127066790014                Gas           Gov. Aggregation
COH             115042570014                Gas           Gov. Aggregation   COH             127265200015                Gas           Gov. Aggregation
COH             115042670013                Gas           Gov. Aggregation   COH             127304890026                Gas           Gov. Aggregation
COH             115043320014                Gas           Gov. Aggregation   COH             127414610021                Gas           Gov. Aggregation
COH             115044290019                Gas           Gov. Aggregation   COH             127449510010                Gas           Gov. Aggregation
COH             115051220018                Gas           Gov. Aggregation   COH             127534840010                Gas           Gov. Aggregation
COH             115051800016                Gas           Gov. Aggregation   COH             127612510040                Gas           Gov. Aggregation
COH             115052130024                Gas           Gov. Aggregation   COH             127613040038                Gas           Gov. Aggregation
COH             115059640014                Gas           Gov. Aggregation   COH             127623290026                Gas           Gov. Aggregation
COH             115060600046                Gas           Gov. Aggregation   COH             128878880013                Gas           Gov. Aggregation
COH             115062010028                Gas           Gov. Aggregation   COH             128882730024                Gas           Gov. Aggregation
COH             115066230015                Gas           Gov. Aggregation   COH             129307840046                Gas           Gov. Aggregation
COH             115068190029                Gas           Gov. Aggregation   COH             129383350049                Gas           Gov. Aggregation
COH             115069560029                Gas           Gov. Aggregation   COH             129497220036                Gas           Gov. Aggregation
COH             115079810025                Gas           Gov. Aggregation   COH             129940880028                Gas           Gov. Aggregation
COH             115079980020                Gas           Gov. Aggregation   COH             129981380045                Gas           Gov. Aggregation
COH             115081780036                Gas           Gov. Aggregation   COH             130187350015                Gas           Gov. Aggregation
COH             115129530054                Gas           Gov. Aggregation   COH             130300950026                Gas           Gov. Aggregation
COH             128907650027                Gas           Gov. Aggregation   COH             130308730044                Gas           Gov. Aggregation
COH             128929340026                Gas           Gov. Aggregation   COH             130429970039                Gas           Gov. Aggregation
COH             128986840012                Gas           Gov. Aggregation   COH             130702420016                Gas           Gov. Aggregation
COH             129032330028                Gas           Gov. Aggregation   COH             130730530014                Gas           Gov. Aggregation
COH             129152930064                Gas           Gov. Aggregation   COH             130734440042                Gas           Gov. Aggregation
COH             129215710020                Gas           Gov. Aggregation   COH             130807920037                Gas           Gov. Aggregation
COH             129332720066                Gas           Gov. Aggregation   COH             131051780020                Gas           Gov. Aggregation
COH             129775260010                Gas           Gov. Aggregation   COH             131139190064                Gas           Gov. Aggregation
COH             129850990053                Gas           Gov. Aggregation   COH             131388410024                Gas           Gov. Aggregation
COH             129898390022                Gas           Gov. Aggregation   COH             131429420131                Gas           Gov. Aggregation
COH             129959870012                Gas           Gov. Aggregation   COH             131429420195                Gas           Gov. Aggregation
COH             114966590013                Gas           Gov. Aggregation   COH             131453450027                Gas           Gov. Aggregation
COH             114966950035                Gas           Gov. Aggregation   COH             131453710013                Gas           Gov. Aggregation
COH             114967380015                Gas           Gov. Aggregation   COH             131657940013                Gas           Gov. Aggregation
COH             114973290020                Gas           Gov. Aggregation   COH             131811400054                Gas           Gov. Aggregation
COH             114973890024                Gas           Gov. Aggregation   COH             131970920031                Gas           Gov. Aggregation
COH             114974060035                Gas           Gov. Aggregation   COH             131973930015                Gas           Gov. Aggregation
COH             114974350016                Gas           Gov. Aggregation   COH             132110200015                Gas           Gov. Aggregation
COH             114976290024                Gas           Gov. Aggregation   COH             132575320034                Gas           Gov. Aggregation
COH             114976400011                Gas           Gov. Aggregation   COH             132850710010                Gas           Gov. Aggregation
COH             114976520016                Gas           Gov. Aggregation   COH             132923200012                Gas           Gov. Aggregation
COH             114976850017                Gas           Gov. Aggregation   COH             132965220029                Gas           Gov. Aggregation
COH             114977680020                Gas           Gov. Aggregation   COH             133006930012                Gas           Gov. Aggregation
COH             114979680026                Gas           Gov. Aggregation   COH             133027210019                Gas           Gov. Aggregation
COH             114979780105                Gas           Gov. Aggregation   COH             133150560015                Gas           Gov. Aggregation
COH             114979780329                Gas           Gov. Aggregation   COH             133192630012                Gas           Gov. Aggregation
COH             114979930014                Gas           Gov. Aggregation   COH             133291450010                Gas           Gov. Aggregation
COH             114980550011                Gas           Gov. Aggregation   COH             133378220032                Gas           Gov. Aggregation
COH             114980610027                Gas           Gov. Aggregation   COH             133436630014                Gas           Gov. Aggregation
COH             114980860025                Gas           Gov. Aggregation   COH             133446210020                Gas           Gov. Aggregation
COH             114984650021                Gas           Gov. Aggregation   COH             133473910017                Gas           Gov. Aggregation
COH             114986450010                Gas           Gov. Aggregation   COH             133510160015                Gas           Gov. Aggregation
COH             114986850025                Gas           Gov. Aggregation   COH             133618590017                Gas           Gov. Aggregation
COH             114986970020                Gas           Gov. Aggregation   COH             133716540019                Gas           Gov. Aggregation
COH             114997510032                Gas           Gov. Aggregation   COH             133823960014                Gas           Gov. Aggregation
COH             114997570021                Gas           Gov. Aggregation   COH             133832300013                Gas           Gov. Aggregation
COH             114998050037                Gas           Gov. Aggregation   COH             133836470010                Gas           Gov. Aggregation
COH             114999200015                Gas           Gov. Aggregation   COH             133887810011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             115001730016                Gas           Gov. Aggregation   COH             133888700021                Gas           Gov. Aggregation
COH             115005510014                Gas           Gov. Aggregation   COH             133890120028                Gas           Gov. Aggregation
COH             115007030011                Gas           Gov. Aggregation   COH             133913520015                Gas           Gov. Aggregation
COH             115012940028                Gas           Gov. Aggregation   COH             133975900024                Gas           Gov. Aggregation
COH             115013360046                Gas           Gov. Aggregation   COH             134029180039                Gas           Gov. Aggregation
COH             115014120017                Gas           Gov. Aggregation   COH             134123570019                Gas           Gov. Aggregation
COH             115014390011                Gas           Gov. Aggregation   COH             134161300042                Gas           Gov. Aggregation
COH             115014710040                Gas           Gov. Aggregation   COH             134270540032                Gas           Gov. Aggregation
COH             115014780019                Gas           Gov. Aggregation   COH             134342360028                Gas           Gov. Aggregation
COH             130895850028                Gas           Gov. Aggregation   COH             134342830010                Gas           Gov. Aggregation
COH             130966230321                Gas           Gov. Aggregation   COH             134350910034                Gas           Gov. Aggregation
COH             130966230330                Gas           Gov. Aggregation   COH             134352380023                Gas           Gov. Aggregation
COH             131044310023                Gas           Gov. Aggregation   COH             134365720033                Gas           Gov. Aggregation
COH             132048260034                Gas           Gov. Aggregation   COH             134377580010                Gas           Gov. Aggregation
COH             132212320087                Gas           Gov. Aggregation   COH             134451240059                Gas           Gov. Aggregation
COH             132333320027                Gas           Gov. Aggregation   COH             134559450048                Gas           Gov. Aggregation
COH             154011010046                Gas           Gov. Aggregation   COH             134869510011                Gas           Gov. Aggregation
COH             154014790010                Gas           Gov. Aggregation   COH             134908070010                Gas           Gov. Aggregation
COH             154137010031                Gas           Gov. Aggregation   COH             134966760013                Gas           Gov. Aggregation
COH             154144500024                Gas           Gov. Aggregation   COH             135058690012                Gas           Gov. Aggregation
COH             157457110048                Gas           Gov. Aggregation   COH             135148390014                Gas           Gov. Aggregation
COH             157500080015                Gas           Gov. Aggregation   COH             135227310012                Gas           Gov. Aggregation
COH             157537980019                Gas           Gov. Aggregation   COH             135320230084                Gas           Gov. Aggregation
COH             157550250014                Gas           Gov. Aggregation   COH             135358660030                Gas           Gov. Aggregation
COH             167842770014                Gas           Gov. Aggregation   COH             135386770038                Gas           Gov. Aggregation
COH             167847220019                Gas           Gov. Aggregation   COH             135389540030                Gas           Gov. Aggregation
COH             167872680010                Gas           Gov. Aggregation   COH             135406200015                Gas           Gov. Aggregation
COH             167881500018                Gas           Gov. Aggregation   COH             135619940037                Gas           Gov. Aggregation
COH             167915590035                Gas           Gov. Aggregation   COH             135705980018                Gas           Gov. Aggregation
COH             114933030019                Gas           Gov. Aggregation   COH             135718460029                Gas           Gov. Aggregation
COH             114933040017                Gas           Gov. Aggregation   COH             135749840024                Gas           Gov. Aggregation
COH             114933900016                Gas           Gov. Aggregation   COH             135907980029                Gas           Gov. Aggregation
COH             114934120018                Gas           Gov. Aggregation   COH             135936110011                Gas           Gov. Aggregation
COH             114934370025                Gas           Gov. Aggregation   COH             136053880119                Gas           Gov. Aggregation
COH             114937640013                Gas           Gov. Aggregation   COH             136108450023                Gas           Gov. Aggregation
COH             114938210011                Gas           Gov. Aggregation   COH             136151630015                Gas           Gov. Aggregation
COH             114938250022                Gas           Gov. Aggregation   COH             136235970016                Gas           Gov. Aggregation
COH             114940580028                Gas           Gov. Aggregation   COH             136259680062                Gas           Gov. Aggregation
COH             114941470029                Gas           Gov. Aggregation   COH             136294230026                Gas           Gov. Aggregation
COH             114945450016                Gas           Gov. Aggregation   COH             136330580016                Gas           Gov. Aggregation
COH             114945910019                Gas           Gov. Aggregation   COH             136382010034                Gas           Gov. Aggregation
COH             114946040010                Gas           Gov. Aggregation   COH             136476120014                Gas           Gov. Aggregation
COH             114946200016                Gas           Gov. Aggregation   COH             136502230023                Gas           Gov. Aggregation
COH             114948780011                Gas           Gov. Aggregation   COH             136567460029                Gas           Gov. Aggregation
COH             114949030025                Gas           Gov. Aggregation   COH             136570600022                Gas           Gov. Aggregation
COH             114949060029                Gas           Gov. Aggregation   COH             136591300030                Gas           Gov. Aggregation
COH             114950180076                Gas           Gov. Aggregation   COH             136596200022                Gas           Gov. Aggregation
COH             114950410022                Gas           Gov. Aggregation   COH             136732280026                Gas           Gov. Aggregation
COH             114952350012                Gas           Gov. Aggregation   COH             136761260029                Gas           Gov. Aggregation
COH             114952720014                Gas           Gov. Aggregation   COH             137009560047                Gas           Gov. Aggregation
COH             114953550018                Gas           Gov. Aggregation   COH             137077360019                Gas           Gov. Aggregation
COH             114954360016                Gas           Gov. Aggregation   COH             137078610014                Gas           Gov. Aggregation
COH             114954470013                Gas           Gov. Aggregation   COH             137099050018                Gas           Gov. Aggregation
COH             114954510014                Gas           Gov. Aggregation   COH             137108840020                Gas           Gov. Aggregation
COH             114954580010                Gas           Gov. Aggregation   COH             137180900016                Gas           Gov. Aggregation
COH             114957300012                Gas           Gov. Aggregation   COH             137333500015                Gas           Gov. Aggregation
COH             114957450011                Gas           Gov. Aggregation   COH             137485090011                Gas           Gov. Aggregation
COH             114957690020                Gas           Gov. Aggregation   COH             137485840040                Gas           Gov. Aggregation
COH             114957980029                Gas           Gov. Aggregation   COH             137506100012                Gas           Gov. Aggregation
COH             114959990023                Gas           Gov. Aggregation   COH             137527400024                Gas           Gov. Aggregation
COH             114960070014                Gas           Gov. Aggregation   COH             137811930011                Gas           Gov. Aggregation
COH             114962850025                Gas           Gov. Aggregation   COH             137814770037                Gas           Gov. Aggregation
COH             114963460016                Gas           Gov. Aggregation   COH             137828020044                Gas           Gov. Aggregation
COH             114963480021                Gas           Gov. Aggregation   COH             137829930014                Gas           Gov. Aggregation
COH             114963590019                Gas           Gov. Aggregation   COH             137894760013                Gas           Gov. Aggregation
COH             145174210023                Gas           Gov. Aggregation   COH             137934620034                Gas           Gov. Aggregation
COH             145246410028                Gas           Gov. Aggregation   COH             138002480029                Gas           Gov. Aggregation
COH             145435340013                Gas           Gov. Aggregation   COH             138229120015                Gas           Gov. Aggregation
COH             146235940010                Gas           Gov. Aggregation   COH             138304050029                Gas           Gov. Aggregation
COH             146332170043                Gas           Gov. Aggregation   COH             138547390015                Gas           Gov. Aggregation
COH             146342940013                Gas           Gov. Aggregation   COH             138744120022                Gas           Gov. Aggregation
COH             146364450010                Gas           Gov. Aggregation   COH             138757180014                Gas           Gov. Aggregation
COH             147243940021                Gas           Gov. Aggregation   COH             138791240046                Gas           Gov. Aggregation
COH             147370550015                Gas           Gov. Aggregation   COH             138809210043                Gas           Gov. Aggregation
COH             147937010016                Gas           Gov. Aggregation   COH             138846610041                Gas           Gov. Aggregation
COH             148064180011                Gas           Gov. Aggregation   COH             138873580014                Gas           Gov. Aggregation
COH             148177420020                Gas           Gov. Aggregation   COH             138919030011                Gas           Gov. Aggregation
COH             148265570022                Gas           Gov. Aggregation   COH             138991750018                Gas           Gov. Aggregation
COH             148278850017                Gas           Gov. Aggregation   COH             139057820021                Gas           Gov. Aggregation
COH             149123840024                Gas           Gov. Aggregation   COH             139071550064                Gas           Gov. Aggregation
COH             149232950048                Gas           Gov. Aggregation   COH             139115680018                Gas           Gov. Aggregation
COH             149282240033                Gas           Gov. Aggregation   COH             139226510018                Gas           Gov. Aggregation
COH             168451850015                Gas           Gov. Aggregation   COH             139324130010                Gas           Gov. Aggregation
COH             168574340012                Gas           Gov. Aggregation   COH             139393100011                Gas           Gov. Aggregation
COH             170044500017                Gas           Gov. Aggregation   COH             139504110058                Gas           Gov. Aggregation
COH             170102630016                Gas           Gov. Aggregation   COH             139612720015                Gas           Gov. Aggregation
COH             170145190019                Gas           Gov. Aggregation   COH             139750990026                Gas           Gov. Aggregation
COH             170346130015                Gas           Gov. Aggregation   COH             139764840037                Gas           Gov. Aggregation
COH             170445840025                Gas           Gov. Aggregation   COH             139960940021                Gas           Gov. Aggregation
COH             170666230016                Gas           Gov. Aggregation   COH             140109480029                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             170668070016                Gas           Gov. Aggregation   COH             140674760023                Gas           Gov. Aggregation
COH             170751590010                Gas           Gov. Aggregation   COH             140691630033                Gas           Gov. Aggregation
COH             170835130018                Gas           Gov. Aggregation   COH             140719080020                Gas           Gov. Aggregation
COH             170955880017                Gas           Gov. Aggregation   COH             140808570073                Gas           Gov. Aggregation
COH             170956950010                Gas           Gov. Aggregation   COH             140821970017                Gas           Gov. Aggregation
COH             170980510011                Gas           Gov. Aggregation   COH             140847480016                Gas           Gov. Aggregation
COH             170988300019                Gas           Gov. Aggregation   COH             141006120012                Gas           Gov. Aggregation
COH             109758450029                Gas           Gov. Aggregation   COH             141225910012                Gas           Gov. Aggregation
COH             114546750028                Gas           Gov. Aggregation   COH             141300570023                Gas           Gov. Aggregation
COH             114678640031                Gas           Gov. Aggregation   COH             141307240019                Gas           Gov. Aggregation
COH             114889660012                Gas           Gov. Aggregation   COH             141508960012                Gas           Gov. Aggregation
COH             114889980015                Gas           Gov. Aggregation   COH             141560790018                Gas           Gov. Aggregation
COH             114890280019                Gas           Gov. Aggregation   COH             141561190012                Gas           Gov. Aggregation
COH             114891080028                Gas           Gov. Aggregation   COH             141838160011                Gas           Gov. Aggregation
COH             114902360015                Gas           Gov. Aggregation   COH             141911820034                Gas           Gov. Aggregation
COH             114903230029                Gas           Gov. Aggregation   COH             141912750046                Gas           Gov. Aggregation
COH             114903560011                Gas           Gov. Aggregation   COH             141934190011                Gas           Gov. Aggregation
COH             114906710013                Gas           Gov. Aggregation   COH             141937510026                Gas           Gov. Aggregation
COH             114907030014                Gas           Gov. Aggregation   COH             141984880020                Gas           Gov. Aggregation
COH             114907460014                Gas           Gov. Aggregation   COH             142070480011                Gas           Gov. Aggregation
COH             114907460023                Gas           Gov. Aggregation   COH             142127310024                Gas           Gov. Aggregation
COH             114908720017                Gas           Gov. Aggregation   COH             142154510016                Gas           Gov. Aggregation
COH             114908880023                Gas           Gov. Aggregation   COH             142156090048                Gas           Gov. Aggregation
COH             114909550020                Gas           Gov. Aggregation   COH             142254310043                Gas           Gov. Aggregation
COH             114915610024                Gas           Gov. Aggregation   COH             142311740014                Gas           Gov. Aggregation
COH             114915640028                Gas           Gov. Aggregation   COH             142517000040                Gas           Gov. Aggregation
COH             114916650033                Gas           Gov. Aggregation   COH             142697900050                Gas           Gov. Aggregation
COH             114916670011                Gas           Gov. Aggregation   COH             142698360052                Gas           Gov. Aggregation
COH             114918300014                Gas           Gov. Aggregation   COH             142826620018                Gas           Gov. Aggregation
COH             114919100023                Gas           Gov. Aggregation   COH             142977130290                Gas           Gov. Aggregation
COH             114919370036                Gas           Gov. Aggregation   COH             143073160011                Gas           Gov. Aggregation
COH             114921510022                Gas           Gov. Aggregation   COH             143207820017                Gas           Gov. Aggregation
COH             114923420027                Gas           Gov. Aggregation   COH             143246060024                Gas           Gov. Aggregation
COH             114930410015                Gas           Gov. Aggregation   COH             143274180039                Gas           Gov. Aggregation
COH             114930680046                Gas           Gov. Aggregation   COH             143310540017                Gas           Gov. Aggregation
COH             164768200023                Gas           Gov. Aggregation   COH             143343170025                Gas           Gov. Aggregation
COH             164784450054                Gas           Gov. Aggregation   COH             143344350025                Gas           Gov. Aggregation
COH             165169750027                Gas           Gov. Aggregation   COH             143367780018                Gas           Gov. Aggregation
COH             165449490019                Gas           Gov. Aggregation   COH             143392000036                Gas           Gov. Aggregation
COH             139854720013                Gas           Gov. Aggregation   COH             143402980029                Gas           Gov. Aggregation
COH             140637900012                Gas           Gov. Aggregation   COH             143450190015                Gas           Gov. Aggregation
COH             140690800020                Gas           Gov. Aggregation   COH             143698090049                Gas           Gov. Aggregation
COH             140743150015                Gas           Gov. Aggregation   COH             143763580029                Gas           Gov. Aggregation
COH             140827860018                Gas           Gov. Aggregation   COH             143838760013                Gas           Gov. Aggregation
COH             140851790021                Gas           Gov. Aggregation   COH             143972240018                Gas           Gov. Aggregation
COH             141762570070                Gas           Gov. Aggregation   COH             144053190016                Gas           Gov. Aggregation
COH             141915480029                Gas           Gov. Aggregation   COH             144389410027                Gas           Gov. Aggregation
COH             142600610018                Gas           Gov. Aggregation   COH             144437040040                Gas           Gov. Aggregation
COH             143449400059                Gas           Gov. Aggregation   COH             144456690017                Gas           Gov. Aggregation
COH             143582690011                Gas           Gov. Aggregation   COH             144588750033                Gas           Gov. Aggregation
COH             143628370038                Gas           Gov. Aggregation   COH             144652080028                Gas           Gov. Aggregation
COH             143782220079                Gas           Gov. Aggregation   COH             144654040031                Gas           Gov. Aggregation
COH             144158140041                Gas           Gov. Aggregation   COH             144703350013                Gas           Gov. Aggregation
COH             144432520012                Gas           Gov. Aggregation   COH             144879860015                Gas           Gov. Aggregation
COH             144517910010                Gas           Gov. Aggregation   COH             144882880032                Gas           Gov. Aggregation
COH             144623560019                Gas           Gov. Aggregation   COH             144902140159                Gas           Gov. Aggregation
COH             144653320016                Gas           Gov. Aggregation   COH             144953210013                Gas           Gov. Aggregation
COH             144707190028                Gas           Gov. Aggregation   COH             145027010106                Gas           Gov. Aggregation
COH             166147880016                Gas           Gov. Aggregation   COH             145102100027                Gas           Gov. Aggregation
COH             166523690018                Gas           Gov. Aggregation   COH             145109230017                Gas           Gov. Aggregation
COH             166880660036                Gas           Gov. Aggregation   COH             145109290024                Gas           Gov. Aggregation
COH             166929340011                Gas           Gov. Aggregation   COH             145123330025                Gas           Gov. Aggregation
COH             115012290016                Gas           Gov. Aggregation   COH             145133000023                Gas           Gov. Aggregation
COH             135785430015                Gas           Gov. Aggregation   COH             145174420010                Gas           Gov. Aggregation
COH             135785430024                Gas           Gov. Aggregation   COH             145182870037                Gas           Gov. Aggregation
COH             110402310046                Gas           Gov. Aggregation   COH             145522640024                Gas           Gov. Aggregation
COH             133001770061                Gas           Gov. Aggregation   COH             145581610035                Gas           Gov. Aggregation
COH             133120860015                Gas           Gov. Aggregation   COH             145588290020                Gas           Gov. Aggregation
COH             133377510024                Gas           Gov. Aggregation   COH             145591720013                Gas           Gov. Aggregation
COH             134157570063                Gas           Gov. Aggregation   COH             145696590055                Gas           Gov. Aggregation
COH             134246260014                Gas           Gov. Aggregation   COH             145862790032                Gas           Gov. Aggregation
COH             134311250035                Gas           Gov. Aggregation   COH             145906840028                Gas           Gov. Aggregation
COH             134899800026                Gas           Gov. Aggregation   COH             145908020035                Gas           Gov. Aggregation
COH             135007670022                Gas           Gov. Aggregation   COH             146017260024                Gas           Gov. Aggregation
COH             135107720038                Gas           Gov. Aggregation   COH             146233950012                Gas           Gov. Aggregation
COH             136090250033                Gas           Gov. Aggregation   COH             146339500012                Gas           Gov. Aggregation
COH             136223080018                Gas           Gov. Aggregation   COH             146473740018                Gas           Gov. Aggregation
COH             136354610028                Gas           Gov. Aggregation   COH             146475960018                Gas           Gov. Aggregation
COH             136416080028                Gas           Gov. Aggregation   COH             146521490018                Gas           Gov. Aggregation
COH             136964460018                Gas           Gov. Aggregation   COH             146547810025                Gas           Gov. Aggregation
COH             137008830024                Gas           Gov. Aggregation   COH             146797040046                Gas           Gov. Aggregation
COH             137187010046                Gas           Gov. Aggregation   COH             146799190023                Gas           Gov. Aggregation
COH             137271720011                Gas           Gov. Aggregation   COH             146897800026                Gas           Gov. Aggregation
COH             137789840019                Gas           Gov. Aggregation   COH             146898610015                Gas           Gov. Aggregation
COH             137830350040                Gas           Gov. Aggregation   COH             146998900021                Gas           Gov. Aggregation
COH             138042440023                Gas           Gov. Aggregation   COH             147015800023                Gas           Gov. Aggregation
COH             138146670025                Gas           Gov. Aggregation   COH             147076790019                Gas           Gov. Aggregation
COH             138194160012                Gas           Gov. Aggregation   COH             147193850018                Gas           Gov. Aggregation
COH             138648550017                Gas           Gov. Aggregation   COH             147205790032                Gas           Gov. Aggregation
COH             138725990011                Gas           Gov. Aggregation   COH             147207530014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             138763430018                Gas           Gov. Aggregation   COH             147305540050                Gas           Gov. Aggregation
COH             138966900019                Gas           Gov. Aggregation   COH             147425770021                Gas           Gov. Aggregation
COH             138975320147                Gas           Gov. Aggregation   COH             147520420040                Gas           Gov. Aggregation
COH             139038860014                Gas           Gov. Aggregation   COH             147532440014                Gas           Gov. Aggregation
COH             161888000033                Gas           Gov. Aggregation   COH             147596000021                Gas           Gov. Aggregation
COH             161996300031                Gas           Gov. Aggregation   COH             147620490017                Gas           Gov. Aggregation
COH             162066950017                Gas           Gov. Aggregation   COH             147627510018                Gas           Gov. Aggregation
COH             162158780018                Gas           Gov. Aggregation   COH             147759600029                Gas           Gov. Aggregation
COH             162615050011                Gas           Gov. Aggregation   COH             147914110022                Gas           Gov. Aggregation
COH             162683460012                Gas           Gov. Aggregation   COH             147948880020                Gas           Gov. Aggregation
COH             162740610018                Gas           Gov. Aggregation   COH             148162340019                Gas           Gov. Aggregation
COH             162747150011                Gas           Gov. Aggregation   COH             148184510026                Gas           Gov. Aggregation
COH             162756550027                Gas           Gov. Aggregation   COH             148187490016                Gas           Gov. Aggregation
COH             163112870014                Gas           Gov. Aggregation   COH             148189690010                Gas           Gov. Aggregation
COH             163112880012                Gas           Gov. Aggregation   COH             148262050036                Gas           Gov. Aggregation
COH             163344580014                Gas           Gov. Aggregation   COH             148462170055                Gas           Gov. Aggregation
COH             163878580013                Gas           Gov. Aggregation   COH             148476580032                Gas           Gov. Aggregation
COH             163880860019                Gas           Gov. Aggregation   COH             148480640012                Gas           Gov. Aggregation
COH             163899110017                Gas           Gov. Aggregation   COH             148480950017                Gas           Gov. Aggregation
COH             163948900052                Gas           Gov. Aggregation   COH             148721510106                Gas           Gov. Aggregation
COH             164464020025                Gas           Gov. Aggregation   COH             148740710015                Gas           Gov. Aggregation
COH             147995780013                Gas           Gov. Aggregation   COH             148742510031                Gas           Gov. Aggregation
COH             140841960017                Gas           Gov. Aggregation   COH             148756590018                Gas           Gov. Aggregation
COH             169401130010                Gas           Gov. Aggregation   COH             148771950038                Gas           Gov. Aggregation
COH             158043420012                Gas           Gov. Aggregation   COH             148778860015                Gas           Gov. Aggregation
COH             158062680018                Gas           Gov. Aggregation   COH             148813350025                Gas           Gov. Aggregation
COH             158277910014                Gas           Gov. Aggregation   COH             148907650014                Gas           Gov. Aggregation
COH             158467210018                Gas           Gov. Aggregation   COH             148963720066                Gas           Gov. Aggregation
COH             158912630015                Gas           Gov. Aggregation   COH             149121050024                Gas           Gov. Aggregation
COH             159045470017                Gas           Gov. Aggregation   COH             149121160030                Gas           Gov. Aggregation
COH             159082810017                Gas           Gov. Aggregation   COH             149143920016                Gas           Gov. Aggregation
COH             159628820035                Gas           Gov. Aggregation   COH             149199890034                Gas           Gov. Aggregation
COH             159640160065                Gas           Gov. Aggregation   COH             149217580020                Gas           Gov. Aggregation
COH             159764440028                Gas           Gov. Aggregation   COH             149304520027                Gas           Gov. Aggregation
COH             159983660037                Gas           Gov. Aggregation   COH             149323040046                Gas           Gov. Aggregation
COH             161199860016                Gas           Gov. Aggregation   COH             149468160054                Gas           Gov. Aggregation
COH             161258720046                Gas           Gov. Aggregation   COH             149537500028                Gas           Gov. Aggregation
COH             161363120012                Gas           Gov. Aggregation   COH             149594240023                Gas           Gov. Aggregation
COH             110981960017                Gas           Gov. Aggregation   COH             149603340021                Gas           Gov. Aggregation
COH             167945600011                Gas           Gov. Aggregation   COH             149700070086                Gas           Gov. Aggregation
COH             138833010044                Gas           Gov. Aggregation   COH             149760630028                Gas           Gov. Aggregation
COH             149443370016                Gas           Gov. Aggregation   COH             149783720021                Gas           Gov. Aggregation
COH             141260210024                Gas           Gov. Aggregation   COH             149988670046                Gas           Gov. Aggregation
COH             110961960019                Gas           Gov. Aggregation   COH             150107580011                Gas           Gov. Aggregation
COH             170983410016                Gas           Gov. Aggregation   COH             150183420014                Gas           Gov. Aggregation
COH             160610380023                Gas           Gov. Aggregation   COH             150205600027                Gas           Gov. Aggregation
COH             140732370021                Gas           Gov. Aggregation   COH             150313190016                Gas           Gov. Aggregation
COH             171295230012                Gas           Gov. Aggregation   COH             150403730020                Gas           Gov. Aggregation
COH             110975460015                Gas           Gov. Aggregation   COH             150631650033                Gas           Gov. Aggregation
COH             171897620014                Gas           Gov. Aggregation   COH             150636300027                Gas           Gov. Aggregation
COH             172135160014                Gas           Gov. Aggregation   COH             150846940019                Gas           Gov. Aggregation
COH             172140720015                Gas           Gov. Aggregation   COH             151077730022                Gas           Gov. Aggregation
COH             172149590015                Gas           Gov. Aggregation   COH             151190470018                Gas           Gov. Aggregation
COH             172200290018                Gas           Gov. Aggregation   COH             151225340010                Gas           Gov. Aggregation
COH             172270590018                Gas           Gov. Aggregation   COH             151291590019                Gas           Gov. Aggregation
COH             172310670015                Gas           Gov. Aggregation   COH             151321140018                Gas           Gov. Aggregation
COH             110299120029                Gas           Gov. Aggregation   COH             151326040019                Gas           Gov. Aggregation
COH             110976910018                Gas           Gov. Aggregation   COH             151349010704                Gas           Gov. Aggregation
COH             110976890013                Gas           Gov. Aggregation   COH             151349011525                Gas           Gov. Aggregation
COH             141984770014                Gas           Gov. Aggregation   COH             151349011696                Gas           Gov. Aggregation
COH             110974410017                Gas           Gov. Aggregation   COH             151349012113                Gas           Gov. Aggregation
COH             135320750021                Gas           Gov. Aggregation   COH             151379940028                Gas           Gov. Aggregation
COH             110974150021                Gas           Gov. Aggregation   COH             151380140014                Gas           Gov. Aggregation
COH             154535920018                Gas           Gov. Aggregation   COH             151487260013                Gas           Gov. Aggregation
COH             153726210022                Gas           Gov. Aggregation   COH             151522550016                Gas           Gov. Aggregation
COH             165384690015                Gas           Gov. Aggregation   COH             151571190028                Gas           Gov. Aggregation
COH             156475590014                Gas           Gov. Aggregation   COH             151589970027                Gas           Gov. Aggregation
COH             111013050027                Gas           Gov. Aggregation   COH             151641160034                Gas           Gov. Aggregation
COH             110975120016                Gas           Gov. Aggregation   COH             151827480024                Gas           Gov. Aggregation
COH             132187840010                Gas           Gov. Aggregation   COH             151881900012                Gas           Gov. Aggregation
COH             157746780036                Gas           Gov. Aggregation   COH             151918940015                Gas           Gov. Aggregation
COH             110960540019                Gas           Gov. Aggregation   COH             151975480030                Gas           Gov. Aggregation
COH             110961360015                Gas           Gov. Aggregation   COH             152010220028                Gas           Gov. Aggregation
COH             167568390016                Gas           Gov. Aggregation   COH             152017840015                Gas           Gov. Aggregation
COH             110974940016                Gas           Gov. Aggregation   COH             152027510013                Gas           Gov. Aggregation
COH             172398830017                Gas           Gov. Aggregation   COH             152087840018                Gas           Gov. Aggregation
COH             172547760015                Gas           Gov. Aggregation   COH             152135260035                Gas           Gov. Aggregation
COH             155156590011                Gas           Gov. Aggregation   COH             152192260017                Gas           Gov. Aggregation
COH             165610950019                Gas           Gov. Aggregation   COH             152314200028                Gas           Gov. Aggregation
COH             110985960019                Gas           Gov. Aggregation   COH             152517990014                Gas           Gov. Aggregation
COH             110985250018                Gas           Gov. Aggregation   COH             152531330030                Gas           Gov. Aggregation
COH             144462180020                Gas           Gov. Aggregation   COH             152691720012                Gas           Gov. Aggregation
COH             170126870016                Gas           Gov. Aggregation   COH             152698900029                Gas           Gov. Aggregation
COH             168185310013                Gas           Gov. Aggregation   COH             152701070016                Gas           Gov. Aggregation
COH             167384380018                Gas           Gov. Aggregation   COH             152706180031                Gas           Gov. Aggregation
COH             171177370013                Gas           Gov. Aggregation   COH             152711170023                Gas           Gov. Aggregation
COH             164246500017                Gas           Gov. Aggregation   COH             152711730016                Gas           Gov. Aggregation
COH             110987570017                Gas           Gov. Aggregation   COH             152851350056                Gas           Gov. Aggregation
COH             171101790014                Gas           Gov. Aggregation   COH             152930250031                Gas           Gov. Aggregation
COH             171136240025                Gas           Gov. Aggregation   COH             152937260017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             171359140015                Gas           Gov. Aggregation   COH             152985490018                Gas           Gov. Aggregation
COH             171375550015                Gas           Gov. Aggregation   COH             153005070011                Gas           Gov. Aggregation
COH             171427300016                Gas           Gov. Aggregation   COH             153128200031                Gas           Gov. Aggregation
COH             171459080016                Gas           Gov. Aggregation   COH             153139160028                Gas           Gov. Aggregation
COH             171478520013                Gas           Gov. Aggregation   COH             153317510035                Gas           Gov. Aggregation
COH             171602910016                Gas           Gov. Aggregation   COH             153387880013                Gas           Gov. Aggregation
COH             171644720018                Gas           Gov. Aggregation   COH             153420700018                Gas           Gov. Aggregation
COH             171672610012                Gas           Gov. Aggregation   COH             153444360029                Gas           Gov. Aggregation
COH             150316340018                Gas           Gov. Aggregation   COH             153459810014                Gas           Gov. Aggregation
COH             160629720013                Gas           Gov. Aggregation   COH             153518530035                Gas           Gov. Aggregation
COH             170235490015                Gas           Gov. Aggregation   COH             153577640010                Gas           Gov. Aggregation
COH             110959850017                Gas           Gov. Aggregation   COH             153578450018                Gas           Gov. Aggregation
COH             170126830014                Gas           Gov. Aggregation   COH             153769600057                Gas           Gov. Aggregation
COH             136511420024                Gas           Gov. Aggregation   COH             153810050018                Gas           Gov. Aggregation
COH             110970680019                Gas           Gov. Aggregation   COH             153812760015                Gas           Gov. Aggregation
COH             144212230019                Gas           Gov. Aggregation   COH             153831010021                Gas           Gov. Aggregation
COH             135159320015                Gas           Gov. Aggregation   COH             153872690014                Gas           Gov. Aggregation
COH             110975250028                Gas           Gov. Aggregation   COH             153936990024                Gas           Gov. Aggregation
COH             110970660022                Gas           Gov. Aggregation   COH             153979910011                Gas           Gov. Aggregation
COH             166955220011                Gas           Gov. Aggregation   COH             154024860014                Gas           Gov. Aggregation
COH             130083070032                Gas           Gov. Aggregation   COH             154283500011                Gas           Gov. Aggregation
COH             158119920016                Gas           Gov. Aggregation   COH             154349070012                Gas           Gov. Aggregation
COH             110975040013                Gas           Gov. Aggregation   COH             154362290063                Gas           Gov. Aggregation
COH             110976660011                Gas           Gov. Aggregation   COH             154366200018                Gas           Gov. Aggregation
COH             110962380019                Gas           Gov. Aggregation   COH             154385860010                Gas           Gov. Aggregation
COH             110981510011                Gas           Gov. Aggregation   COH             154393320025                Gas           Gov. Aggregation
COH             110398870013                Gas           Gov. Aggregation   COH             154407570022                Gas           Gov. Aggregation
COH             148965130011                Gas           Gov. Aggregation   COH             154440550017                Gas           Gov. Aggregation
COH             110307620025                Gas           Gov. Aggregation   COH             154468220045                Gas           Gov. Aggregation
COH             154491590012                Gas           Gov. Aggregation   COH             154480060267                Gas           Gov. Aggregation
COH             157399630016                Gas           Gov. Aggregation   COH             154480610010                Gas           Gov. Aggregation
COH             157807520012                Gas           Gov. Aggregation   COH             154523770042                Gas           Gov. Aggregation
COH             163073550015                Gas           Gov. Aggregation   COH             154702900026                Gas           Gov. Aggregation
COH             164507590015                Gas           Gov. Aggregation   COH             154765490012                Gas           Gov. Aggregation
COH             164697630015                Gas           Gov. Aggregation   COH             154848590015                Gas           Gov. Aggregation
COH             168886320015                Gas           Gov. Aggregation   COH             154873730012                Gas           Gov. Aggregation
COH             169184520010                Gas           Gov. Aggregation   COH             154975520010                Gas           Gov. Aggregation
COH             108786810025                Gas           Gov. Aggregation   COH             154987750035                Gas           Gov. Aggregation
COH             108786820023                Gas           Gov. Aggregation   COH             155072880018                Gas           Gov. Aggregation
COH             108791030019                Gas           Gov. Aggregation   COH             155080690020                Gas           Gov. Aggregation
COH             108791030028                Gas           Gov. Aggregation   COH             155108450011                Gas           Gov. Aggregation
COH             108800050014                Gas           Gov. Aggregation   COH             155183290491                Gas           Gov. Aggregation
COH             108800190015                Gas           Gov. Aggregation   COH             155227510034                Gas           Gov. Aggregation
COH             108800920011                Gas           Gov. Aggregation   COH             155231200030                Gas           Gov. Aggregation
COH             108805030018                Gas           Gov. Aggregation   COH             155256200010                Gas           Gov. Aggregation
COH             108805560017                Gas           Gov. Aggregation   COH             155401170027                Gas           Gov. Aggregation
COH             108805580013                Gas           Gov. Aggregation   COH             155496270018                Gas           Gov. Aggregation
COH             108805630012                Gas           Gov. Aggregation   COH             155515120017                Gas           Gov. Aggregation
COH             108806020018                Gas           Gov. Aggregation   COH             155529120036                Gas           Gov. Aggregation
COH             108806020036                Gas           Gov. Aggregation   COH             155531070032                Gas           Gov. Aggregation
COH             108811610022                Gas           Gov. Aggregation   COH             155567330014                Gas           Gov. Aggregation
COH             108814830011                Gas           Gov. Aggregation   COH             155600350018                Gas           Gov. Aggregation
COH             108815050013                Gas           Gov. Aggregation   COH             155716820032                Gas           Gov. Aggregation
COH             108822190037                Gas           Gov. Aggregation   COH             155784150012                Gas           Gov. Aggregation
COH             108827180011                Gas           Gov. Aggregation   COH             155788840144                Gas           Gov. Aggregation
COH             108834530021                Gas           Gov. Aggregation   COH             155796470010                Gas           Gov. Aggregation
COH             108834710023                Gas           Gov. Aggregation   COH             155797340079                Gas           Gov. Aggregation
COH             108834740036                Gas           Gov. Aggregation   COH             155800640022                Gas           Gov. Aggregation
COH             108834880019                Gas           Gov. Aggregation   COH             155826570023                Gas           Gov. Aggregation
COH             108836660057                Gas           Gov. Aggregation   COH             155993490018                Gas           Gov. Aggregation
COH             108836830015                Gas           Gov. Aggregation   COH             155999760019                Gas           Gov. Aggregation
COH             108836840013                Gas           Gov. Aggregation   COH             156075990027                Gas           Gov. Aggregation
COH             108837020013                Gas           Gov. Aggregation   COH             156186330020                Gas           Gov. Aggregation
COH             108837810017                Gas           Gov. Aggregation   COH             156201720015                Gas           Gov. Aggregation
COH             108842070012                Gas           Gov. Aggregation   COH             156201980020                Gas           Gov. Aggregation
COH             108842800027                Gas           Gov. Aggregation   COH             156266010018                Gas           Gov. Aggregation
COH             108842840010                Gas           Gov. Aggregation   COH             156266970053                Gas           Gov. Aggregation
COH             108843460018                Gas           Gov. Aggregation   COH             156394970016                Gas           Gov. Aggregation
COH             108843550019                Gas           Gov. Aggregation   COH             156437350014                Gas           Gov. Aggregation
COH             108843690029                Gas           Gov. Aggregation   COH             156452430015                Gas           Gov. Aggregation
COH             108848510062                Gas           Gov. Aggregation   COH             156452840019                Gas           Gov. Aggregation
COH             108848830010                Gas           Gov. Aggregation   COH             156452850017                Gas           Gov. Aggregation
COH             108848900015                Gas           Gov. Aggregation   COH             156463250038                Gas           Gov. Aggregation
COH             108849010010                Gas           Gov. Aggregation   COH             156494510065                Gas           Gov. Aggregation
COH             171113160011                Gas           Gov. Aggregation   COH             156501260016                Gas           Gov. Aggregation
COH             170687490018                Gas           Gov. Aggregation   COH             156545520028                Gas           Gov. Aggregation
COH             111014400012                Gas           Gov. Aggregation   COH             156553950049                Gas           Gov. Aggregation
COH             111015120019                Gas           Gov. Aggregation   COH             156554290028                Gas           Gov. Aggregation
COH             111015280016                Gas           Gov. Aggregation   COH             156632060075                Gas           Gov. Aggregation
COH             135572040018                Gas           Gov. Aggregation   COH             156655080064                Gas           Gov. Aggregation
COH             139413290018                Gas           Gov. Aggregation   COH             156737060028                Gas           Gov. Aggregation
COH             147622060013                Gas           Gov. Aggregation   COH             156807220025                Gas           Gov. Aggregation
COH             147994190019                Gas           Gov. Aggregation   COH             156929780039                Gas           Gov. Aggregation
COH             150118730016                Gas           Gov. Aggregation   COH             157010920053                Gas           Gov. Aggregation
COH             150478820015                Gas           Gov. Aggregation   COH             157034850021                Gas           Gov. Aggregation
COH             115011400014                Gas           Gov. Aggregation   COH             157130910015                Gas           Gov. Aggregation
COH             110302660036                Gas           Gov. Aggregation   COH             157131130035                Gas           Gov. Aggregation
COH             110305560013                Gas           Gov. Aggregation   COH             157287120047                Gas           Gov. Aggregation
COH             110364020012                Gas           Gov. Aggregation   COH             157290930013                Gas           Gov. Aggregation
COH             110378590014                Gas           Gov. Aggregation   COH             157316990015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             110392440015                Gas           Gov. Aggregation   COH             157326320023                Gas           Gov. Aggregation
COH             110398930010                Gas           Gov. Aggregation   COH             157416800012                Gas           Gov. Aggregation
COH             110959420026                Gas           Gov. Aggregation   COH             157661980025                Gas           Gov. Aggregation
COH             110959430015                Gas           Gov. Aggregation   COH             157701830039                Gas           Gov. Aggregation
COH             110962790013                Gas           Gov. Aggregation   COH             157702300010                Gas           Gov. Aggregation
COH             160705360017                Gas           Gov. Aggregation   COH             157708770029                Gas           Gov. Aggregation
COH             162224470021                Gas           Gov. Aggregation   COH             157708830017                Gas           Gov. Aggregation
COH             174551930018                Gas           Gov. Aggregation   COH             157714150035                Gas           Gov. Aggregation
COH             150254180032                Gas           Gov. Aggregation   COH             157732670029                Gas           Gov. Aggregation
COH             110957690015                Gas           Gov. Aggregation   COH             157933320017                Gas           Gov. Aggregation
COH             110981720017                Gas           Gov. Aggregation   COH             157939020027                Gas           Gov. Aggregation
COH             111015110020                Gas           Gov. Aggregation   COH             158087520037                Gas           Gov. Aggregation
COH             135189660011                Gas           Gov. Aggregation   COH             158117620013                Gas           Gov. Aggregation
COH             138344020012                Gas           Gov. Aggregation   COH             158123660012                Gas           Gov. Aggregation
COH             138652540127                Gas           Gov. Aggregation   COH             158143740022                Gas           Gov. Aggregation
COH             139217760015                Gas           Gov. Aggregation   COH             158144050016                Gas           Gov. Aggregation
COH             172557150012                Gas           Gov. Aggregation   COH             158172280028                Gas           Gov. Aggregation
COH             172568650014                Gas           Gov. Aggregation   COH             158198130016                Gas           Gov. Aggregation
COH             172625760019                Gas           Gov. Aggregation   COH             158248100033                Gas           Gov. Aggregation
COH             172732720010                Gas           Gov. Aggregation   COH             158267450012                Gas           Gov. Aggregation
COH             172782450012                Gas           Gov. Aggregation   COH             158285190037                Gas           Gov. Aggregation
COH             174246060018                Gas           Gov. Aggregation   COH             158381990017                Gas           Gov. Aggregation
COH             174573670017                Gas           Gov. Aggregation   COH             158402890012                Gas           Gov. Aggregation
COH             174789180013                Gas           Gov. Aggregation   COH             158405820010                Gas           Gov. Aggregation
COH             175028390010                Gas           Gov. Aggregation   COH             158533540027                Gas           Gov. Aggregation
COH             175498670016                Gas           Gov. Aggregation   COH             158534720018                Gas           Gov. Aggregation
COH             175538740015                Gas           Gov. Aggregation   COH             158591260015                Gas           Gov. Aggregation
COH             174651420013                Gas           Gov. Aggregation   COH             158743960033                Gas           Gov. Aggregation
COH             143743420015                Gas           Gov. Aggregation   COH             158756200017                Gas           Gov. Aggregation
COH             127518610012                Gas           Gov. Aggregation   COH             158757080020                Gas           Gov. Aggregation
COH             159560070028                Gas           Gov. Aggregation   COH             158815210037                Gas           Gov. Aggregation
COH             159560070019                Gas           Gov. Aggregation   COH             158858420051                Gas           Gov. Aggregation
COH             114968170026                Gas           Gov. Aggregation   COH             158888860010                Gas           Gov. Aggregation
COH             114929230016                Gas           Gov. Aggregation   COH             158912590032                Gas           Gov. Aggregation
COH             114929240014                Gas           Gov. Aggregation   COH             158937670015                Gas           Gov. Aggregation
COH             114974180012                Gas           Gov. Aggregation   COH             158951440013                Gas           Gov. Aggregation
COH             148141760015                Gas           Gov. Aggregation   COH             158951630013                Gas           Gov. Aggregation
COH             114924070010                Gas           Gov. Aggregation   COH             159028700014                Gas           Gov. Aggregation
COH             114943720022                Gas           Gov. Aggregation   COH             159077800010                Gas           Gov. Aggregation
COH             110988640010                Gas           Gov. Aggregation   COH             159078540013                Gas           Gov. Aggregation
COH             141182930038                Gas           Gov. Aggregation   COH             159209780014                Gas           Gov. Aggregation
COH             159266920014                Gas           Gov. Aggregation   COH             159239690010                Gas           Gov. Aggregation
COH             161184170058                Gas           Gov. Aggregation   COH             159248360010                Gas           Gov. Aggregation
COH             163606100036                Gas           Gov. Aggregation   COH             159374810027                Gas           Gov. Aggregation
COH             136528780015                Gas           Gov. Aggregation   COH             159384540050                Gas           Gov. Aggregation
COH             166050420035                Gas           Gov. Aggregation   COH             159424270015                Gas           Gov. Aggregation
COH             162463200012                Gas           Gov. Aggregation   COH             159495260018                Gas           Gov. Aggregation
COH             162778130029                Gas           Gov. Aggregation   COH             159531850016                Gas           Gov. Aggregation
COH             164009750017                Gas           Gov. Aggregation   COH             159532950013                Gas           Gov. Aggregation
COH             165627560034                Gas           Gov. Aggregation   COH             159590730017                Gas           Gov. Aggregation
COH             165627560043                Gas           Gov. Aggregation   COH             159591320173                Gas           Gov. Aggregation
COH             165627560052                Gas           Gov. Aggregation   COH             159642710010                Gas           Gov. Aggregation
COH             166036510018                Gas           Gov. Aggregation   COH             159652650021                Gas           Gov. Aggregation
COH             167636100011                Gas           Gov. Aggregation   COH             159742990010                Gas           Gov. Aggregation
COH             167696680014                Gas           Gov. Aggregation   COH             159817850029                Gas           Gov. Aggregation
COH             167789010017                Gas           Gov. Aggregation   COH             159949090020                Gas           Gov. Aggregation
COH             167898900019                Gas           Gov. Aggregation   COH             159968430019                Gas           Gov. Aggregation
COH             167898900028                Gas           Gov. Aggregation   COH             159981020017                Gas           Gov. Aggregation
COH             168011540012                Gas           Gov. Aggregation   COH             160146150026                Gas           Gov. Aggregation
COH             169125990016                Gas           Gov. Aggregation   COH             160151340025                Gas           Gov. Aggregation
COH             173626110012                Gas           Gov. Aggregation   COH             160156970032                Gas           Gov. Aggregation
COH             173700650011                Gas           Gov. Aggregation   COH             160263060027                Gas           Gov. Aggregation
COH             173901650015                Gas           Gov. Aggregation   COH             160320420029                Gas           Gov. Aggregation
COH             174017690011                Gas           Gov. Aggregation   COH             160445270018                Gas           Gov. Aggregation
COH             150974280017                Gas           Gov. Aggregation   COH             160557140018                Gas           Gov. Aggregation
COH             110577540012                Gas           Gov. Aggregation   COH             160557460011                Gas           Gov. Aggregation
COH             132145580013                Gas           Gov. Aggregation   COH             160573190014                Gas           Gov. Aggregation
COH             132555500010                Gas           Gov. Aggregation   COH             160606870010                Gas           Gov. Aggregation
COH             138284180017                Gas           Gov. Aggregation   COH             160643240014                Gas           Gov. Aggregation
COH             138750160012                Gas           Gov. Aggregation   COH             160687650016                Gas           Gov. Aggregation
COH             142591040019                Gas           Gov. Aggregation   COH             160727620016                Gas           Gov. Aggregation
COH             143095460076                Gas           Gov. Aggregation   COH             160791960010                Gas           Gov. Aggregation
COH             143162670015                Gas           Gov. Aggregation   COH             160836530014                Gas           Gov. Aggregation
COH             143218230018                Gas           Gov. Aggregation   COH             160871210017                Gas           Gov. Aggregation
COH             146873910032                Gas           Gov. Aggregation   COH             160871290011                Gas           Gov. Aggregation
COH             147312920019                Gas           Gov. Aggregation   COH             161160310021                Gas           Gov. Aggregation
COH             147815080038                Gas           Gov. Aggregation   COH             161235340026                Gas           Gov. Aggregation
COH             149837750011                Gas           Gov. Aggregation   COH             161329050037                Gas           Gov. Aggregation
COH             149992060018                Gas           Gov. Aggregation   COH             161343830015                Gas           Gov. Aggregation
COH             150254820073                Gas           Gov. Aggregation   COH             161434820014                Gas           Gov. Aggregation
COH             150686190035                Gas           Gov. Aggregation   COH             161496640012                Gas           Gov. Aggregation
COH             150686190071                Gas           Gov. Aggregation   COH             161689030039                Gas           Gov. Aggregation
COH             150686190080                Gas           Gov. Aggregation   COH             161947320021                Gas           Gov. Aggregation
COH             152692910010                Gas           Gov. Aggregation   COH             162001170017                Gas           Gov. Aggregation
COH             153055130013                Gas           Gov. Aggregation   COH             162018280019                Gas           Gov. Aggregation
COH             153094860018                Gas           Gov. Aggregation   COH             162033160021                Gas           Gov. Aggregation
COH             153296380057                Gas           Gov. Aggregation   COH             162129980017                Gas           Gov. Aggregation
COH             153513030021                Gas           Gov. Aggregation   COH             162144070016                Gas           Gov. Aggregation
COH             155202210011                Gas           Gov. Aggregation   COH             162225160015                Gas           Gov. Aggregation
COH             156872130018                Gas           Gov. Aggregation   COH             162351570012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             157775080014                Gas           Gov. Aggregation   COH             162612060024                Gas           Gov. Aggregation
COH             157798480012                Gas           Gov. Aggregation   COH             162628510017                Gas           Gov. Aggregation
COH             157860040011                Gas           Gov. Aggregation   COH             162643760013                Gas           Gov. Aggregation
COH             158365600012                Gas           Gov. Aggregation   COH             162691860011                Gas           Gov. Aggregation
COH             159383310014                Gas           Gov. Aggregation   COH             162739760047                Gas           Gov. Aggregation
COH             159542110027                Gas           Gov. Aggregation   COH             162748680018                Gas           Gov. Aggregation
COH             160020350011                Gas           Gov. Aggregation   COH             162765750035                Gas           Gov. Aggregation
COH             160340980011                Gas           Gov. Aggregation   COH             162785910020                Gas           Gov. Aggregation
COH             161690640010                Gas           Gov. Aggregation   COH             162811850026                Gas           Gov. Aggregation
COH             141183720021                Gas           Gov. Aggregation   COH             162824250016                Gas           Gov. Aggregation
COH             151240060035                Gas           Gov. Aggregation   COH             162835910014                Gas           Gov. Aggregation
COH             134444490016                Gas           Gov. Aggregation   COH             162899470013                Gas           Gov. Aggregation
COH             170924890010                Gas           Gov. Aggregation   COH             162951420039                Gas           Gov. Aggregation
COH             172975640013                Gas           Gov. Aggregation   COH             162998600015                Gas           Gov. Aggregation
COH             134797340029                Gas           Gov. Aggregation   COH             163129410015                Gas           Gov. Aggregation
COH             134884730086                Gas           Gov. Aggregation   COH             163197670036                Gas           Gov. Aggregation
COH             135338490029                Gas           Gov. Aggregation   COH             163198200023                Gas           Gov. Aggregation
COH             135416450021                Gas           Gov. Aggregation   COH             163215180011                Gas           Gov. Aggregation
COH             136009990011                Gas           Gov. Aggregation   COH             163244900036                Gas           Gov. Aggregation
COH             136072020020                Gas           Gov. Aggregation   COH             163284030017                Gas           Gov. Aggregation
COH             136256930010                Gas           Gov. Aggregation   COH             163313910028                Gas           Gov. Aggregation
COH             137397190017                Gas           Gov. Aggregation   COH             163488280013                Gas           Gov. Aggregation
COH             137397240034                Gas           Gov. Aggregation   COH             163621990029                Gas           Gov. Aggregation
COH             137439250014                Gas           Gov. Aggregation   COH             163645760018                Gas           Gov. Aggregation
COH             137816820014                Gas           Gov. Aggregation   COH             163664570018                Gas           Gov. Aggregation
COH             137816950026                Gas           Gov. Aggregation   COH             163679540013                Gas           Gov. Aggregation
COH             137830320028                Gas           Gov. Aggregation   COH             163695420014                Gas           Gov. Aggregation
COH             138394230031                Gas           Gov. Aggregation   COH             163700870026                Gas           Gov. Aggregation
COH             138494690015                Gas           Gov. Aggregation   COH             163764760016                Gas           Gov. Aggregation
COH             138502610030                Gas           Gov. Aggregation   COH             163796600012                Gas           Gov. Aggregation
COH             138535740034                Gas           Gov. Aggregation   COH             163829540014                Gas           Gov. Aggregation
COH             138585420018                Gas           Gov. Aggregation   COH             163974210025                Gas           Gov. Aggregation
COH             139486600019                Gas           Gov. Aggregation   COH             164084610018                Gas           Gov. Aggregation
COH             139529740018                Gas           Gov. Aggregation   COH             164150920012                Gas           Gov. Aggregation
COH             139618660016                Gas           Gov. Aggregation   COH             164152920018                Gas           Gov. Aggregation
COH             139659140028                Gas           Gov. Aggregation   COH             164271750012                Gas           Gov. Aggregation
COH             140427460029                Gas           Gov. Aggregation   COH             164297080019                Gas           Gov. Aggregation
COH             140682430052                Gas           Gov. Aggregation   COH             164354590038                Gas           Gov. Aggregation
COH             140748600010                Gas           Gov. Aggregation   COH             164426880016                Gas           Gov. Aggregation
COH             140791690020                Gas           Gov. Aggregation   COH             164474980014                Gas           Gov. Aggregation
COH             140894220039                Gas           Gov. Aggregation   COH             164475270011                Gas           Gov. Aggregation
COH             142042090012                Gas           Gov. Aggregation   COH             164501110017                Gas           Gov. Aggregation
COH             142070920018                Gas           Gov. Aggregation   COH             164558420040                Gas           Gov. Aggregation
COH             142189900020                Gas           Gov. Aggregation   COH             164562000012                Gas           Gov. Aggregation
COH             142220860058                Gas           Gov. Aggregation   COH             164598100016                Gas           Gov. Aggregation
COH             142663550046                Gas           Gov. Aggregation   COH             164885960017                Gas           Gov. Aggregation
COH             142853530029                Gas           Gov. Aggregation   COH             164895850019                Gas           Gov. Aggregation
COH             143439750020                Gas           Gov. Aggregation   COH             165038870029                Gas           Gov. Aggregation
COH             143585460013                Gas           Gov. Aggregation   COH             165039830016                Gas           Gov. Aggregation
COH             143592720022                Gas           Gov. Aggregation   COH             165072190011                Gas           Gov. Aggregation
COH             143678610032                Gas           Gov. Aggregation   COH             165093840010                Gas           Gov. Aggregation
COH             115069630015                Gas           Gov. Aggregation   COH             165093970013                Gas           Gov. Aggregation
COH             115070940017                Gas           Gov. Aggregation   COH             165167820017                Gas           Gov. Aggregation
COH             115072330011                Gas           Gov. Aggregation   COH             165170810021                Gas           Gov. Aggregation
COH             115072590035                Gas           Gov. Aggregation   COH             165187900018                Gas           Gov. Aggregation
COH             115073320020                Gas           Gov. Aggregation   COH             165209680017                Gas           Gov. Aggregation
COH             115082560049                Gas           Gov. Aggregation   COH             165232150019                Gas           Gov. Aggregation
COH             115124020024                Gas           Gov. Aggregation   COH             165319040018                Gas           Gov. Aggregation
COH             115825130025                Gas           Gov. Aggregation   COH             165528370016                Gas           Gov. Aggregation
COH             116256460086                Gas           Gov. Aggregation   COH             165562710012                Gas           Gov. Aggregation
COH             116262330053                Gas           Gov. Aggregation   COH             165594490030                Gas           Gov. Aggregation
COH             116271550058                Gas           Gov. Aggregation   COH             165606670017                Gas           Gov. Aggregation
COH             126768840016                Gas           Gov. Aggregation   COH             165680870019                Gas           Gov. Aggregation
COH             126783230012                Gas           Gov. Aggregation   COH             165896670023                Gas           Gov. Aggregation
COH             126954650011                Gas           Gov. Aggregation   COH             165962990016                Gas           Gov. Aggregation
COH             173344150012                Gas           Gov. Aggregation   COH             166018920038                Gas           Gov. Aggregation
COH             173390220010                Gas           Gov. Aggregation   COH             166179950014                Gas           Gov. Aggregation
COH             173623290011                Gas           Gov. Aggregation   COH             166190800011                Gas           Gov. Aggregation
COH             173947130018                Gas           Gov. Aggregation   COH             166253070011                Gas           Gov. Aggregation
COH             173949640017                Gas           Gov. Aggregation   COH             166325380022                Gas           Gov. Aggregation
COH             174089120028                Gas           Gov. Aggregation   COH             166385570017                Gas           Gov. Aggregation
COH             174155580012                Gas           Gov. Aggregation   COH             166497330010                Gas           Gov. Aggregation
COH             169690370028                Gas           Gov. Aggregation   COH             166521380017                Gas           Gov. Aggregation
COH             170058260028                Gas           Gov. Aggregation   COH             166544590024                Gas           Gov. Aggregation
COH             170126560020                Gas           Gov. Aggregation   COH             166568870034                Gas           Gov. Aggregation
COH             171542040017                Gas           Gov. Aggregation   COH             166778040042                Gas           Gov. Aggregation
COH             171547870031                Gas           Gov. Aggregation   COH             166780980013                Gas           Gov. Aggregation
COH             172295880024                Gas           Gov. Aggregation   COH             166912890048                Gas           Gov. Aggregation
COH             172349390022                Gas           Gov. Aggregation   COH             166972160018                Gas           Gov. Aggregation
COH             172351530018                Gas           Gov. Aggregation   COH             167037640027                Gas           Gov. Aggregation
COH             172549510013                Gas           Gov. Aggregation   COH             167075640018                Gas           Gov. Aggregation
COH             172729410012                Gas           Gov. Aggregation   COH             167105170030                Gas           Gov. Aggregation
COH             172743510011                Gas           Gov. Aggregation   COH             167144220028                Gas           Gov. Aggregation
COH             172963930017                Gas           Gov. Aggregation   COH             167172830021                Gas           Gov. Aggregation
COH             173013060012                Gas           Gov. Aggregation   COH             167185410013                Gas           Gov. Aggregation
COH             173020710010                Gas           Gov. Aggregation   COH             167207030015                Gas           Gov. Aggregation
COH             174329020010                Gas           Gov. Aggregation   COH             167239920011                Gas           Gov. Aggregation
COH             174436100016                Gas           Gov. Aggregation   COH             167324120018                Gas           Gov. Aggregation
COH             127283470020                Gas           Gov. Aggregation   COH             167339820010                Gas           Gov. Aggregation
COH             127417410027                Gas           Gov. Aggregation   COH             167340330010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             127469880271                Gas           Gov. Aggregation   COH             167451820012                Gas           Gov. Aggregation
COH             127565690026                Gas           Gov. Aggregation   COH             167515020014                Gas           Gov. Aggregation
COH             129272690025                Gas           Gov. Aggregation   COH             167525230019                Gas           Gov. Aggregation
COH             129328170025                Gas           Gov. Aggregation   COH             167676780024                Gas           Gov. Aggregation
COH             129686000460                Gas           Gov. Aggregation   COH             167713740013                Gas           Gov. Aggregation
COH             130536720025                Gas           Gov. Aggregation   COH             167808260022                Gas           Gov. Aggregation
COH             130680550017                Gas           Gov. Aggregation   COH             167869620019                Gas           Gov. Aggregation
COH             130797920021                Gas           Gov. Aggregation   COH             167907210031                Gas           Gov. Aggregation
COH             130845870029                Gas           Gov. Aggregation   COH             167972350017                Gas           Gov. Aggregation
COH             163770910011                Gas           Gov. Aggregation   COH             167981530056                Gas           Gov. Aggregation
COH             163904340025                Gas           Gov. Aggregation   COH             167992330028                Gas           Gov. Aggregation
COH             164077790016                Gas           Gov. Aggregation   COH             168019780016                Gas           Gov. Aggregation
COH             164098870015                Gas           Gov. Aggregation   COH             168155260035                Gas           Gov. Aggregation
COH             164645640012                Gas           Gov. Aggregation   COH             168213420019                Gas           Gov. Aggregation
COH             164714380038                Gas           Gov. Aggregation   COH             168399850017                Gas           Gov. Aggregation
COH             164806400010                Gas           Gov. Aggregation   COH             168423860012                Gas           Gov. Aggregation
COH             165404360010                Gas           Gov. Aggregation   COH             168423970019                Gas           Gov. Aggregation
COH             165435220014                Gas           Gov. Aggregation   COH             168429770019                Gas           Gov. Aggregation
COH             165699110019                Gas           Gov. Aggregation   COH             168469230018                Gas           Gov. Aggregation
COH             166353570014                Gas           Gov. Aggregation   COH             168538760010                Gas           Gov. Aggregation
COH             166373490019                Gas           Gov. Aggregation   COH             168539060015                Gas           Gov. Aggregation
COH             166399310012                Gas           Gov. Aggregation   COH             168590700012                Gas           Gov. Aggregation
COH             166682370019                Gas           Gov. Aggregation   COH             168594800013                Gas           Gov. Aggregation
COH             166796970030                Gas           Gov. Aggregation   COH             168604820016                Gas           Gov. Aggregation
COH             166841200016                Gas           Gov. Aggregation   COH             168615310010                Gas           Gov. Aggregation
COH             167144290015                Gas           Gov. Aggregation   COH             168617620020                Gas           Gov. Aggregation
COH             168179860020                Gas           Gov. Aggregation   COH             168642190019                Gas           Gov. Aggregation
COH             131661690035                Gas           Gov. Aggregation   COH             168656240019                Gas           Gov. Aggregation
COH             131746300018                Gas           Gov. Aggregation   COH             168757740010                Gas           Gov. Aggregation
COH             131772610027                Gas           Gov. Aggregation   COH             168780520017                Gas           Gov. Aggregation
COH             132059840039                Gas           Gov. Aggregation   COH             168919370014                Gas           Gov. Aggregation
COH             132122920019                Gas           Gov. Aggregation   COH             168940470018                Gas           Gov. Aggregation
COH             132264290012                Gas           Gov. Aggregation   COH             168988830021                Gas           Gov. Aggregation
COH             132962950022                Gas           Gov. Aggregation   COH             168995010019                Gas           Gov. Aggregation
COH             133218220012                Gas           Gov. Aggregation   COH             169031590019                Gas           Gov. Aggregation
COH             133259410034                Gas           Gov. Aggregation   COH             169250930013                Gas           Gov. Aggregation
COH             134559370018                Gas           Gov. Aggregation   COH             169511330024                Gas           Gov. Aggregation
COH             145336720022                Gas           Gov. Aggregation   COH             169691810023                Gas           Gov. Aggregation
COH             145468650046                Gas           Gov. Aggregation   COH             169720640035                Gas           Gov. Aggregation
COH             145503010044                Gas           Gov. Aggregation   COH             169743800015                Gas           Gov. Aggregation
COH             145589110025                Gas           Gov. Aggregation   COH             169751850027                Gas           Gov. Aggregation
COH             145610370015                Gas           Gov. Aggregation   COH             169757510017                Gas           Gov. Aggregation
COH             146415770023                Gas           Gov. Aggregation   COH             169804570023                Gas           Gov. Aggregation
COH             147514610025                Gas           Gov. Aggregation   COH             169808630022                Gas           Gov. Aggregation
COH             147553200029                Gas           Gov. Aggregation   COH             169865060013                Gas           Gov. Aggregation
COH             147633240012                Gas           Gov. Aggregation   COH             169866940016                Gas           Gov. Aggregation
COH             147676690027                Gas           Gov. Aggregation   COH             169884180027                Gas           Gov. Aggregation
COH             148290720018                Gas           Gov. Aggregation   COH             169908680020                Gas           Gov. Aggregation
COH             148381560019                Gas           Gov. Aggregation   COH             170019440013                Gas           Gov. Aggregation
COH             148817940023                Gas           Gov. Aggregation   COH             170050570029                Gas           Gov. Aggregation
COH             148846340019                Gas           Gov. Aggregation   COH             170119110010                Gas           Gov. Aggregation
COH             149486690046                Gas           Gov. Aggregation   COH             170174230019                Gas           Gov. Aggregation
COH             149651620012                Gas           Gov. Aggregation   COH             170258580027                Gas           Gov. Aggregation
COH             149651640027                Gas           Gov. Aggregation   COH             170328560013                Gas           Gov. Aggregation
COH             149658050018                Gas           Gov. Aggregation   COH             170494580018                Gas           Gov. Aggregation
COH             149666710067                Gas           Gov. Aggregation   COH             170812200011                Gas           Gov. Aggregation
COH             150497470037                Gas           Gov. Aggregation   VEDO            4018214402354177            Gas           Gov. Aggregation
COH             150514370021                Gas           Gov. Aggregation   COH             171107690013                Gas           Gov. Aggregation
COH             150599750032                Gas           Gov. Aggregation   COH             171215190037                Gas           Gov. Aggregation
COH             151811540033                Gas           Gov. Aggregation   COH             171305500012                Gas           Gov. Aggregation
COH             151975760022                Gas           Gov. Aggregation   COH             171333800010                Gas           Gov. Aggregation
COH             158083610027                Gas           Gov. Aggregation   COH             171415890018                Gas           Gov. Aggregation
COH             158308540015                Gas           Gov. Aggregation   COH             171500050022                Gas           Gov. Aggregation
COH             158335130014                Gas           Gov. Aggregation   COH             171500340049                Gas           Gov. Aggregation
COH             158901880025                Gas           Gov. Aggregation   COH             171500380069                Gas           Gov. Aggregation
COH             159049560010                Gas           Gov. Aggregation   COH             171518370019                Gas           Gov. Aggregation
COH             159152820016                Gas           Gov. Aggregation   COH             171531820016                Gas           Gov. Aggregation
COH             159551050012                Gas           Gov. Aggregation   COH             171583160034                Gas           Gov. Aggregation
COH             159596510020                Gas           Gov. Aggregation   COH             171668610011                Gas           Gov. Aggregation
COH             159613210025                Gas           Gov. Aggregation   COH             171736190015                Gas           Gov. Aggregation
COH             159641260035                Gas           Gov. Aggregation   COH             171849510036                Gas           Gov. Aggregation
COH             159794540033                Gas           Gov. Aggregation   COH             171921870037                Gas           Gov. Aggregation
COH             160308830010                Gas           Gov. Aggregation   COH             171954160019                Gas           Gov. Aggregation
COH             160469990017                Gas           Gov. Aggregation   COH             171994670018                Gas           Gov. Aggregation
COH             160482770015                Gas           Gov. Aggregation   COH             171995020012                Gas           Gov. Aggregation
COH             161035470014                Gas           Gov. Aggregation   COH             172013150014                Gas           Gov. Aggregation
COH             161036960019                Gas           Gov. Aggregation   COH             172052250011                Gas           Gov. Aggregation
COH             161146510010                Gas           Gov. Aggregation   COH             172090870011                Gas           Gov. Aggregation
COH             161192830016                Gas           Gov. Aggregation   COH             172150600019                Gas           Gov. Aggregation
COH             161258700013                Gas           Gov. Aggregation   COH             172203270016                Gas           Gov. Aggregation
COH             161827110029                Gas           Gov. Aggregation   COH             172248880014                Gas           Gov. Aggregation
COH             161856940015                Gas           Gov. Aggregation   COH             172250160010                Gas           Gov. Aggregation
COH             161935800043                Gas           Gov. Aggregation   COH             172263990019                Gas           Gov. Aggregation
COH             161996300013                Gas           Gov. Aggregation   COH             172270230013                Gas           Gov. Aggregation
COH             162577490020                Gas           Gov. Aggregation   COH             172280120033                Gas           Gov. Aggregation
COH             162615080015                Gas           Gov. Aggregation   COH             172412890013                Gas           Gov. Aggregation
COH             162683470010                Gas           Gov. Aggregation   COH             172450830015                Gas           Gov. Aggregation
COH             163635290018                Gas           Gov. Aggregation   COH             172479640015                Gas           Gov. Aggregation
COH             163657800014                Gas           Gov. Aggregation   COH             172523760024                Gas           Gov. Aggregation
COH             163662450026                Gas           Gov. Aggregation   COH             172547450029                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             176860070012                Gas           Gov. Aggregation   COH             172583430018                Gas           Gov. Aggregation
COH             176881980017                Gas           Gov. Aggregation   COH             172583550022                Gas           Gov. Aggregation
COH             176903720013                Gas           Gov. Aggregation   COH             172686810010                Gas           Gov. Aggregation
COH             176933840015                Gas           Gov. Aggregation   COH             172724060016                Gas           Gov. Aggregation
COH             115042640019                Gas           Gov. Aggregation   COH             172774930018                Gas           Gov. Aggregation
COH             115045190018                Gas           Gov. Aggregation   COH             172951910016                Gas           Gov. Aggregation
COH             115045430017                Gas           Gov. Aggregation   COH             172992990014                Gas           Gov. Aggregation
COH             115045440015                Gas           Gov. Aggregation   COH             173065580014                Gas           Gov. Aggregation
COH             115052830018                Gas           Gov. Aggregation   COH             173176410032                Gas           Gov. Aggregation
COH             115057040014                Gas           Gov. Aggregation   COH             173641720012                Gas           Gov. Aggregation
COH             115058890014                Gas           Gov. Aggregation   COH             173819590013                Gas           Gov. Aggregation
COH             115059330019                Gas           Gov. Aggregation   COH             173857910015                Gas           Gov. Aggregation
COH             115059560020                Gas           Gov. Aggregation   COH             173872100013                Gas           Gov. Aggregation
COH             173974040010                Gas           Gov. Aggregation   COH             173982090013                Gas           Gov. Aggregation
COH             174776710018                Gas           Gov. Aggregation   COH             174091350025                Gas           Gov. Aggregation
COH             110521470014                Gas           Gov. Aggregation   COH             174092420019                Gas           Gov. Aggregation
COH             127454230018                Gas           Gov. Aggregation   COH             174135390032                Gas           Gov. Aggregation
COH             129355500037                Gas           Gov. Aggregation   COH             174147130040                Gas           Gov. Aggregation
COH             130067800014                Gas           Gov. Aggregation   COH             174371400039                Gas           Gov. Aggregation
COH             133978150017                Gas           Gov. Aggregation   COH             174689100011                Gas           Gov. Aggregation
COH             134177740010                Gas           Gov. Aggregation   COH             174726670012                Gas           Gov. Aggregation
COH             134674570030                Gas           Gov. Aggregation   COH             174726720020                Gas           Gov. Aggregation
COH             134955270037                Gas           Gov. Aggregation   COH             174758670024                Gas           Gov. Aggregation
COH             135981260024                Gas           Gov. Aggregation   COH             174759370016                Gas           Gov. Aggregation
COH             136752400028                Gas           Gov. Aggregation   COH             174786140017                Gas           Gov. Aggregation
COH             146324190019                Gas           Gov. Aggregation   COH             174805740028                Gas           Gov. Aggregation
COH             147097790015                Gas           Gov. Aggregation   COH             174838090017                Gas           Gov. Aggregation
COH             147246290013                Gas           Gov. Aggregation   COH             174854110018                Gas           Gov. Aggregation
COH             147484550014                Gas           Gov. Aggregation   COH             174929660032                Gas           Gov. Aggregation
COH             151608910036                Gas           Gov. Aggregation   COH             174943910011                Gas           Gov. Aggregation
COH             155911410025                Gas           Gov. Aggregation   COH             174995760014                Gas           Gov. Aggregation
COH             156375920016                Gas           Gov. Aggregation   COH             175002110012                Gas           Gov. Aggregation
COH             160604980011                Gas           Gov. Aggregation   COH             175012740019                Gas           Gov. Aggregation
COH             160608820025                Gas           Gov. Aggregation   COH             175021180018                Gas           Gov. Aggregation
COH             161704540010                Gas           Gov. Aggregation   COH             175052030014                Gas           Gov. Aggregation
COH             163892790019                Gas           Gov. Aggregation   COH             175075430021                Gas           Gov. Aggregation
COH             163952370019                Gas           Gov. Aggregation   COH             175124380027                Gas           Gov. Aggregation
COH             163996940017                Gas           Gov. Aggregation   COH             175204720016                Gas           Gov. Aggregation
COH             115012130019                Gas           Gov. Aggregation   COH             175234130017                Gas           Gov. Aggregation
COH             157098060041                Gas           Gov. Aggregation   COH             175328150023                Gas           Gov. Aggregation
COH             157134710019                Gas           Gov. Aggregation   COH             175500680017                Gas           Gov. Aggregation
COH             157552330031                Gas           Gov. Aggregation   COH             175829550027                Gas           Gov. Aggregation
COH             157615500022                Gas           Gov. Aggregation   COH             175971670012                Gas           Gov. Aggregation
COH             157650040016                Gas           Gov. Aggregation   COH             176046690027                Gas           Gov. Aggregation
COH             176154680011                Gas           Gov. Aggregation   COH             176089040014                Gas           Gov. Aggregation
COH             176359440017                Gas           Gov. Aggregation   COH             176154700016                Gas           Gov. Aggregation
COH             176367360017                Gas           Gov. Aggregation   COH             176298910027                Gas           Gov. Aggregation
COH             176374770016                Gas           Gov. Aggregation   COH             176320240010                Gas           Gov. Aggregation
COH             176403380015                Gas           Gov. Aggregation   COH             176328650018                Gas           Gov. Aggregation
COH             157124040039                Gas           Gov. Aggregation   COH             176331180010                Gas           Gov. Aggregation
COH             158413250013                Gas           Gov. Aggregation   COH             176487990011                Gas           Gov. Aggregation
COH             165997240010                Gas           Gov. Aggregation   COH             176496240046                Gas           Gov. Aggregation
COH             168070340010                Gas           Gov. Aggregation   COH             176498180018                Gas           Gov. Aggregation
COH             168248460018                Gas           Gov. Aggregation   COH             176688670012                Gas           Gov. Aggregation
COH             172529030016                Gas           Gov. Aggregation   COH             176719110012                Gas           Gov. Aggregation
COH             173510710011                Gas           Gov. Aggregation   COH             176729550019                Gas           Gov. Aggregation
COH             174632720010                Gas           Gov. Aggregation   COH             176815000164                Gas           Gov. Aggregation
COH             110425790011                Gas           Gov. Aggregation   COH             176951270017                Gas           Gov. Aggregation
COH             110426350011                Gas           Gov. Aggregation   COH             176959700010                Gas           Gov. Aggregation
COH             110426700017                Gas           Gov. Aggregation   COH             177045510016                Gas           Gov. Aggregation
COH             110426740019                Gas           Gov. Aggregation   COH             177070080014                Gas           Gov. Aggregation
COH             110430860033                Gas           Gov. Aggregation   COH             177085880015                Gas           Gov. Aggregation
COH             110437430011                Gas           Gov. Aggregation   COH             177105410019                Gas           Gov. Aggregation
COH             110437860011                Gas           Gov. Aggregation   COH             177124150014                Gas           Gov. Aggregation
COH             110447810010                Gas           Gov. Aggregation   COH             177134690010                Gas           Gov. Aggregation
COH             110448010025                Gas           Gov. Aggregation   COH             177206390010                Gas           Gov. Aggregation
COH             110448110024                Gas           Gov. Aggregation   COH             177251030010                Gas           Gov. Aggregation
COH             110454650019                Gas           Gov. Aggregation   COH             177266440013                Gas           Gov. Aggregation
COH             110454700018                Gas           Gov. Aggregation   COH             177309930018                Gas           Gov. Aggregation
COH             110454810015                Gas           Gov. Aggregation   COH             177331320019                Gas           Gov. Aggregation
COH             110455160010                Gas           Gov. Aggregation   COH             177476180013                Gas           Gov. Aggregation
COH             110455210019                Gas           Gov. Aggregation   COH             177526040015                Gas           Gov. Aggregation
COH             110475340010                Gas           Gov. Aggregation   COH             177565270015                Gas           Gov. Aggregation
COH             110475780018                Gas           Gov. Aggregation   COH             177651840012                Gas           Gov. Aggregation
COH             110483910013                Gas           Gov. Aggregation   COH             177652450012                Gas           Gov. Aggregation
COH             114783900051                Gas           Gov. Aggregation   COH             177659070018                Gas           Gov. Aggregation
COH             115142870019                Gas           Gov. Aggregation   COH             177743970010                Gas           Gov. Aggregation
COH             115144370029                Gas           Gov. Aggregation   COH             177787550016                Gas           Gov. Aggregation
COH             115144390016                Gas           Gov. Aggregation   COH             185078680012                Gas           Gov. Aggregation
COH             115144410011                Gas           Gov. Aggregation   COH             185088680011                Gas           Gov. Aggregation
COH             115144580025                Gas           Gov. Aggregation   COH             185125880028                Gas           Gov. Aggregation
COH             115144760018                Gas           Gov. Aggregation   COH             185126540018                Gas           Gov. Aggregation
COH             115144850019                Gas           Gov. Aggregation   COH             185170730015                Gas           Gov. Aggregation
COH             115155400038                Gas           Gov. Aggregation   COH             185194910017                Gas           Gov. Aggregation
COH             115156040014                Gas           Gov. Aggregation   COH             185245900029                Gas           Gov. Aggregation
COH             115170270034                Gas           Gov. Aggregation   COH             185342950014                Gas           Gov. Aggregation
COH             115170520022                Gas           Gov. Aggregation   COH             185408920029                Gas           Gov. Aggregation
COH             115171700013                Gas           Gov. Aggregation   COH             185409870028                Gas           Gov. Aggregation
COH             116963510022                Gas           Gov. Aggregation   COH             185511120019                Gas           Gov. Aggregation
COH             121901560016                Gas           Gov. Aggregation   COH             185512080016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             124121220054                Gas           Gov. Aggregation   COH             185513030014                Gas           Gov. Aggregation
COH             126867460025                Gas           Gov. Aggregation   COH             185700400019                Gas           Gov. Aggregation
COH             114990220028                Gas           Gov. Aggregation   COH             185792150019                Gas           Gov. Aggregation
COH             114991010011                Gas           Gov. Aggregation   COH             185811580026                Gas           Gov. Aggregation
COH             114991620013                Gas           Gov. Aggregation   COH             185812530015                Gas           Gov. Aggregation
COH             114991630011                Gas           Gov. Aggregation   COH             185813830038                Gas           Gov. Aggregation
COH             114997680028                Gas           Gov. Aggregation   COH             185881050011                Gas           Gov. Aggregation
COH             114999360012                Gas           Gov. Aggregation   COH             185934080012                Gas           Gov. Aggregation
COH             114999490015                Gas           Gov. Aggregation   COH             185968260013                Gas           Gov. Aggregation
COH             114999850037                Gas           Gov. Aggregation   COH             186012160018                Gas           Gov. Aggregation
COH             115002230019                Gas           Gov. Aggregation   COH             186018220013                Gas           Gov. Aggregation
COH             115004400028                Gas           Gov. Aggregation   COH             186056330010                Gas           Gov. Aggregation
COH             115004430022                Gas           Gov. Aggregation   COH             186091940018                Gas           Gov. Aggregation
COH             115004530012                Gas           Gov. Aggregation   COH             186101600016                Gas           Gov. Aggregation
COH             115007860017                Gas           Gov. Aggregation   COH             186115570014                Gas           Gov. Aggregation
COH             115008860024                Gas           Gov. Aggregation   COH             186140360015                Gas           Gov. Aggregation
COH             115012690049                Gas           Gov. Aggregation   COH             186162400010                Gas           Gov. Aggregation
COH             115012950017                Gas           Gov. Aggregation   COH             186166420018                Gas           Gov. Aggregation
COH             115013250021                Gas           Gov. Aggregation   COH             186232930029                Gas           Gov. Aggregation
COH             115019730019                Gas           Gov. Aggregation   COH             186278410013                Gas           Gov. Aggregation
COH             115025040011                Gas           Gov. Aggregation   COH             186401860025                Gas           Gov. Aggregation
COH             115025230048                Gas           Gov. Aggregation   COH             186420740020                Gas           Gov. Aggregation
COH             115025270013                Gas           Gov. Aggregation   COH             186468080010                Gas           Gov. Aggregation
COH             115025280048                Gas           Gov. Aggregation   COH             186500070012                Gas           Gov. Aggregation
COH             115026600020                Gas           Gov. Aggregation   COH             186568780011                Gas           Gov. Aggregation
COH             115027360010                Gas           Gov. Aggregation   COH             186593130014                Gas           Gov. Aggregation
COH             115032050014                Gas           Gov. Aggregation   COH             186770200013                Gas           Gov. Aggregation
COH             115033480012                Gas           Gov. Aggregation   COH             186825250016                Gas           Gov. Aggregation
COH             115033620012                Gas           Gov. Aggregation   COH             186919090011                Gas           Gov. Aggregation
COH             115033650025                Gas           Gov. Aggregation   COH             187016480012                Gas           Gov. Aggregation
COH             115035510011                Gas           Gov. Aggregation   COH             187016800014                Gas           Gov. Aggregation
COH             140297410026                Gas           Gov. Aggregation   COH             187152450010                Gas           Gov. Aggregation
COH             160845600038                Gas           Gov. Aggregation   COH             187331300011                Gas           Gov. Aggregation
COH             132601620025                Gas           Gov. Aggregation   COH             187341100012                Gas           Gov. Aggregation
COH             133674130015                Gas           Gov. Aggregation   COH             187374320017                Gas           Gov. Aggregation
COH             134749430012                Gas           Gov. Aggregation   COH             187410720015                Gas           Gov. Aggregation
COH             143153040043                Gas           Gov. Aggregation   COH             187446940014                Gas           Gov. Aggregation
COH             143642280028                Gas           Gov. Aggregation   COH             187469730038                Gas           Gov. Aggregation
COH             144873950027                Gas           Gov. Aggregation   COH             187558920011                Gas           Gov. Aggregation
COH             146096960021                Gas           Gov. Aggregation   COH             187635690016                Gas           Gov. Aggregation
COH             149879390028                Gas           Gov. Aggregation   COH             187642600019                Gas           Gov. Aggregation
COH             150698630019                Gas           Gov. Aggregation   COH             187678600014                Gas           Gov. Aggregation
COH             151900070186                Gas           Gov. Aggregation   COH             187679150017                Gas           Gov. Aggregation
COH             151900070195                Gas           Gov. Aggregation   COH             187681430013                Gas           Gov. Aggregation
COH             151957820198                Gas           Gov. Aggregation   COH             187693100017                Gas           Gov. Aggregation
COH             155526040011                Gas           Gov. Aggregation   COH             187779020012                Gas           Gov. Aggregation
COH             156092440017                Gas           Gov. Aggregation   COH             187867480019                Gas           Gov. Aggregation
COH             156225530024                Gas           Gov. Aggregation   COH             187870520013                Gas           Gov. Aggregation
COH             156463320015                Gas           Gov. Aggregation   COH             187881370012                Gas           Gov. Aggregation
COH             114929440012                Gas           Gov. Aggregation   COH             187883680013                Gas           Gov. Aggregation
COH             114929490012                Gas           Gov. Aggregation   COH             187902090015                Gas           Gov. Aggregation
COH             114930590018                Gas           Gov. Aggregation   COH             187931940015                Gas           Gov. Aggregation
COH             114944390011                Gas           Gov. Aggregation   COH             187939090018                Gas           Gov. Aggregation
COH             114944710013                Gas           Gov. Aggregation   COH             187973990026                Gas           Gov. Aggregation
COH             114949880018                Gas           Gov. Aggregation   COH             188023530015                Gas           Gov. Aggregation
COH             114949990042                Gas           Gov. Aggregation   COH             188064920017                Gas           Gov. Aggregation
COH             114950130012                Gas           Gov. Aggregation   COH             188097730018                Gas           Gov. Aggregation
COH             114950280011                Gas           Gov. Aggregation   COH             188139390010                Gas           Gov. Aggregation
COH             114952650019                Gas           Gov. Aggregation   COH             188190530012                Gas           Gov. Aggregation
COH             114957410019                Gas           Gov. Aggregation   COH             188199450011                Gas           Gov. Aggregation
COH             114957710025                Gas           Gov. Aggregation   COH             188207060014                Gas           Gov. Aggregation
COH             114958030017                Gas           Gov. Aggregation   COH             188228160019                Gas           Gov. Aggregation
COH             114958160056                Gas           Gov. Aggregation   COH             188269730013                Gas           Gov. Aggregation
COH             114959570012                Gas           Gov. Aggregation   COH             188320890010                Gas           Gov. Aggregation
COH             114959720010                Gas           Gov. Aggregation   COH             188365370015                Gas           Gov. Aggregation
COH             114959730018                Gas           Gov. Aggregation   COH             188369310019                Gas           Gov. Aggregation
COH             114959920027                Gas           Gov. Aggregation   COH             188383680012                Gas           Gov. Aggregation
COH             114960230029                Gas           Gov. Aggregation   COH             188405790011                Gas           Gov. Aggregation
COH             114960270012                Gas           Gov. Aggregation   COH             188437860019                Gas           Gov. Aggregation
COH             114960440016                Gas           Gov. Aggregation   COH             188452160014                Gas           Gov. Aggregation
COH             114963070027                Gas           Gov. Aggregation   COH             188643930017                Gas           Gov. Aggregation
COH             114963330013                Gas           Gov. Aggregation   COH             188755990018                Gas           Gov. Aggregation
COH             114963580020                Gas           Gov. Aggregation   COH             188772330010                Gas           Gov. Aggregation
COH             114963960011                Gas           Gov. Aggregation   COH             188782480018                Gas           Gov. Aggregation
COH             114964100028                Gas           Gov. Aggregation   COH             188782850010                Gas           Gov. Aggregation
COH             114966160022                Gas           Gov. Aggregation   COH             188822010010                Gas           Gov. Aggregation
COH             114966640021                Gas           Gov. Aggregation   COH             188939730012                Gas           Gov. Aggregation
COH             114966860025                Gas           Gov. Aggregation   COH             188944310019                Gas           Gov. Aggregation
COH             114967410018                Gas           Gov. Aggregation   COH             188950840015                Gas           Gov. Aggregation
COH             114967640029                Gas           Gov. Aggregation   COH             189091570013                Gas           Gov. Aggregation
COH             114969690016                Gas           Gov. Aggregation   COH             189269660017                Gas           Gov. Aggregation
COH             114969740015                Gas           Gov. Aggregation   COH             189369900014                Gas           Gov. Aggregation
COH             114969830016                Gas           Gov. Aggregation   COH             189444890017                Gas           Gov. Aggregation
COH             114970080011                Gas           Gov. Aggregation   COH             189479110017                Gas           Gov. Aggregation
COH             114973090013                Gas           Gov. Aggregation   COH             189534650016                Gas           Gov. Aggregation
COH             114973490019                Gas           Gov. Aggregation   COH             189596030016                Gas           Gov. Aggregation
COH             114973670011                Gas           Gov. Aggregation   COH             189605030015                Gas           Gov. Aggregation
COH             174703400016                Gas           Gov. Aggregation   COH             189678620018                Gas           Gov. Aggregation
COH             174727930015                Gas           Gov. Aggregation   COH             189686320032                Gas           Gov. Aggregation
COH             174885420018                Gas           Gov. Aggregation   COH             189770370015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             174900690018                Gas           Gov. Aggregation   COH             189865330012                Gas           Gov. Aggregation
COH             174929030016                Gas           Gov. Aggregation   COH             189987080017                Gas           Gov. Aggregation
COH             175163480015                Gas           Gov. Aggregation   COH             189992360017                Gas           Gov. Aggregation
COH             175169400019                Gas           Gov. Aggregation   COH             189998310015                Gas           Gov. Aggregation
COH             175266700010                Gas           Gov. Aggregation   COH             190049790013                Gas           Gov. Aggregation
COH             175318410010                Gas           Gov. Aggregation   COH             190111750018                Gas           Gov. Aggregation
COH             175488240017                Gas           Gov. Aggregation   COH             190111790010                Gas           Gov. Aggregation
COH             175656990013                Gas           Gov. Aggregation   COH             190227890014                Gas           Gov. Aggregation
COH             114977250048                Gas           Gov. Aggregation   COH             190239040017                Gas           Gov. Aggregation
COH             114977290013                Gas           Gov. Aggregation   COH             190262320019                Gas           Gov. Aggregation
COH             114977310018                Gas           Gov. Aggregation   COH             190267640012                Gas           Gov. Aggregation
COH             114977870011                Gas           Gov. Aggregation   COH             163721090017                Gas           Gov. Aggregation
COH             114978130014                Gas           Gov. Aggregation   COH             146294870020                Gas           Gov. Aggregation
COH             114978590018                Gas           Gov. Aggregation   COH             110988500019                Gas           Gov. Aggregation
COH             114980640021                Gas           Gov. Aggregation   COH             110988980019                Gas           Gov. Aggregation
COH             114981070010                Gas           Gov. Aggregation   COH             110989000012                Gas           Gov. Aggregation
COH             114981690010                Gas           Gov. Aggregation   COH             110993930018                Gas           Gov. Aggregation
COH             114983920017                Gas           Gov. Aggregation   COH             110993990016                Gas           Gov. Aggregation
COH             114985260012                Gas           Gov. Aggregation   COH             110994130014                Gas           Gov. Aggregation
COH             114985770015                Gas           Gov. Aggregation   COH             110994670011                Gas           Gov. Aggregation
COH             156869380013                Gas           Gov. Aggregation   COH             110994700014                Gas           Gov. Aggregation
COH             157418050016                Gas           Gov. Aggregation   COH             110994840015                Gas           Gov. Aggregation
COH             158557310025                Gas           Gov. Aggregation   COH             111012860010                Gas           Gov. Aggregation
COH             161971420010                Gas           Gov. Aggregation   COH             111012900011                Gas           Gov. Aggregation
COH             162592630037                Gas           Gov. Aggregation   COH             111013080012                Gas           Gov. Aggregation
COH             162700420012                Gas           Gov. Aggregation   COH             111013190019                Gas           Gov. Aggregation
COH             163269040017                Gas           Gov. Aggregation   COH             111013230010                Gas           Gov. Aggregation
COH             163286430019                Gas           Gov. Aggregation   COH             111013970015                Gas           Gov. Aggregation
COH             163805890020                Gas           Gov. Aggregation   COH             111014040018                Gas           Gov. Aggregation
COH             165977850014                Gas           Gov. Aggregation   COH             111014160013                Gas           Gov. Aggregation
COH             166238120012                Gas           Gov. Aggregation   COH             111014240016                Gas           Gov. Aggregation
COH             166648820016                Gas           Gov. Aggregation   COH             111014300013                Gas           Gov. Aggregation
COH             168126860012                Gas           Gov. Aggregation   COH             111014320019                Gas           Gov. Aggregation
COH             110501910013                Gas           Gov. Aggregation   COH             111024410019                Gas           Gov. Aggregation
COH             110502560015                Gas           Gov. Aggregation   COH             111026440019                Gas           Gov. Aggregation
COH             110502590019                Gas           Gov. Aggregation   COH             111031000010                Gas           Gov. Aggregation
COH             110521160019                Gas           Gov. Aggregation   COH             111031080014                Gas           Gov. Aggregation
COH             164082160026                Gas           Gov. Aggregation   COH             112074390045                Gas           Gov. Aggregation
COH             166629760019                Gas           Gov. Aggregation   COH             110305680018                Gas           Gov. Aggregation
COH             166663320019                Gas           Gov. Aggregation   COH             110418400026                Gas           Gov. Aggregation
COH             166740520013                Gas           Gov. Aggregation   COH             133126270026                Gas           Gov. Aggregation
COH             167254010010                Gas           Gov. Aggregation   COH             127194550022                Gas           Gov. Aggregation
COH             167507370018                Gas           Gov. Aggregation   COH             127398400012                Gas           Gov. Aggregation
COH             169404110018                Gas           Gov. Aggregation   COH             127611430012                Gas           Gov. Aggregation
COH             114887610034                Gas           Gov. Aggregation   COH             128779420019                Gas           Gov. Aggregation
COH             114887920057                Gas           Gov. Aggregation   COH             128916420026                Gas           Gov. Aggregation
COH             114893440019                Gas           Gov. Aggregation   COH             130312120016                Gas           Gov. Aggregation
COH             114893460024                Gas           Gov. Aggregation   COH             110922100011                Gas           Gov. Aggregation
COH             114900420025                Gas           Gov. Aggregation   COH             110932610013                Gas           Gov. Aggregation
COH             114900700026                Gas           Gov. Aggregation   COH             110935000015                Gas           Gov. Aggregation
COH             114900990017                Gas           Gov. Aggregation   COH             110970570012                Gas           Gov. Aggregation
COH             114901510015                Gas           Gov. Aggregation   COH             110985030014                Gas           Gov. Aggregation
COH             114901590028                Gas           Gov. Aggregation   COH             110985120015                Gas           Gov. Aggregation
COH             114903820016                Gas           Gov. Aggregation   COH             110985370013                Gas           Gov. Aggregation
COH             114904200014                Gas           Gov. Aggregation   COH             110985410014                Gas           Gov. Aggregation
COH             114904260012                Gas           Gov. Aggregation   COH             110985940013                Gas           Gov. Aggregation
COH             114904370019                Gas           Gov. Aggregation   COH             110986330019                Gas           Gov. Aggregation
COH             114905590020                Gas           Gov. Aggregation   COH             110986420010                Gas           Gov. Aggregation
COH             114908430036                Gas           Gov. Aggregation   COH             110986510011                Gas           Gov. Aggregation
COH             114908470010                Gas           Gov. Aggregation   COH             130583370011                Gas           Gov. Aggregation
COH             114908510011                Gas           Gov. Aggregation   COH             134323740028                Gas           Gov. Aggregation
COH             114908560011                Gas           Gov. Aggregation   COH             124514280013                Gas           Gov. Aggregation
COH             114908620018                Gas           Gov. Aggregation   COH             134834580010                Gas           Gov. Aggregation
COH             114908640014                Gas           Gov. Aggregation   COH             146930320016                Gas           Gov. Aggregation
COH             114911050011                Gas           Gov. Aggregation   COH             147359920011                Gas           Gov. Aggregation
COH             114914130027                Gas           Gov. Aggregation   COH             147372820014                Gas           Gov. Aggregation
COH             114920930026                Gas           Gov. Aggregation   COH             146137340014                Gas           Gov. Aggregation
COH             114922020014                Gas           Gov. Aggregation   COH             146213090015                Gas           Gov. Aggregation
COH             114922990039                Gas           Gov. Aggregation   COH             148501110017                Gas           Gov. Aggregation
COH             114925990015                Gas           Gov. Aggregation   COH             148548070018                Gas           Gov. Aggregation
COH             114926520039                Gas           Gov. Aggregation   COH             140093240024                Gas           Gov. Aggregation
COH             114927350024                Gas           Gov. Aggregation   COH             141548220013                Gas           Gov. Aggregation
COH             114927520019                Gas           Gov. Aggregation   COH             142664470014                Gas           Gov. Aggregation
COH             124896540029                Gas           Gov. Aggregation   COH             143335900019                Gas           Gov. Aggregation
COH             109427500038                Gas           Gov. Aggregation   COH             149522970012                Gas           Gov. Aggregation
COH             109436470036                Gas           Gov. Aggregation   COH             159029390018                Gas           Gov. Aggregation
COH             109465150014                Gas           Gov. Aggregation   COH             159068310012                Gas           Gov. Aggregation
COH             109465200013                Gas           Gov. Aggregation   COH             159572910017                Gas           Gov. Aggregation
COH             109465210011                Gas           Gov. Aggregation   COH             156238240019                Gas           Gov. Aggregation
COH             109466450019                Gas           Gov. Aggregation   COH             156272100016                Gas           Gov. Aggregation
COH             109466460017                Gas           Gov. Aggregation   COH             156361220067                Gas           Gov. Aggregation
COH             109466650017                Gas           Gov. Aggregation   COH             156446910017                Gas           Gov. Aggregation
COH             109466880019                Gas           Gov. Aggregation   COH             156835730010                Gas           Gov. Aggregation
COH             109470320017                Gas           Gov. Aggregation   COH             156848810016                Gas           Gov. Aggregation
COH             109470350011                Gas           Gov. Aggregation   COH             137509870015                Gas           Gov. Aggregation
COH             109470440030                Gas           Gov. Aggregation   COH             137693150017                Gas           Gov. Aggregation
COH             109472250018                Gas           Gov. Aggregation   COH             157913180019                Gas           Gov. Aggregation
COH             109472350017                Gas           Gov. Aggregation   COH             160363380019                Gas           Gov. Aggregation
COH             109472380011                Gas           Gov. Aggregation   COH             160524160013                Gas           Gov. Aggregation
COH             109472480010                Gas           Gov. Aggregation   COH             153960260017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             109472520011                Gas           Gov. Aggregation   COH             154051720016                Gas           Gov. Aggregation
COH             109472710011                Gas           Gov. Aggregation   COH             155855110019                Gas           Gov. Aggregation
COH             109472820018                Gas           Gov. Aggregation   COH             161113470018                Gas           Gov. Aggregation
COH             134344390019                Gas           Gov. Aggregation   COH             110981770017                Gas           Gov. Aggregation
COH             135128520018                Gas           Gov. Aggregation   COH             166077700012                Gas           Gov. Aggregation
COH             136074010064                Gas           Gov. Aggregation   COH             166619340018                Gas           Gov. Aggregation
COH             136607500015                Gas           Gov. Aggregation   COH             150662250014                Gas           Gov. Aggregation
COH             137594060052                Gas           Gov. Aggregation   COH             150849660012                Gas           Gov. Aggregation
COH             138628970020                Gas           Gov. Aggregation   COH             151297730017                Gas           Gov. Aggregation
COH             146127610027                Gas           Gov. Aggregation   COH             152469650018                Gas           Gov. Aggregation
COH             148349950024                Gas           Gov. Aggregation   COH             167400830017                Gas           Gov. Aggregation
COH             148443170037                Gas           Gov. Aggregation   COH             110962800010                Gas           Gov. Aggregation
COH             149826960038                Gas           Gov. Aggregation   COH             161773430018                Gas           Gov. Aggregation
COH             149948810013                Gas           Gov. Aggregation   COH             161862780016                Gas           Gov. Aggregation
COH             172703530011                Gas           Gov. Aggregation   COH             162966810018                Gas           Gov. Aggregation
COH             175517140015                Gas           Gov. Aggregation   COH             163489610011                Gas           Gov. Aggregation
COH             175517270018                Gas           Gov. Aggregation   COH             140175710021                Gas           Gov. Aggregation
COH             176197010011                Gas           Gov. Aggregation   COH             108791020011                Gas           Gov. Aggregation
COH             176607420014                Gas           Gov. Aggregation   COH             108836840031                Gas           Gov. Aggregation
COH             176800710013                Gas           Gov. Aggregation   COH             149953020018                Gas           Gov. Aggregation
COH             152074810011                Gas           Gov. Aggregation   COH             110989080016                Gas           Gov. Aggregation
COH             152245410012                Gas           Gov. Aggregation   COH             166521920013                Gas           Gov. Aggregation
COH             152247730057                Gas           Gov. Aggregation   COH             110994740016                Gas           Gov. Aggregation
COH             152827380015                Gas           Gov. Aggregation   COH             169303730012                Gas           Gov. Aggregation
COH             152871680019                Gas           Gov. Aggregation   COH             169311330019                Gas           Gov. Aggregation
COH             153427900030                Gas           Gov. Aggregation   COH             169388580016                Gas           Gov. Aggregation
COH             153644740025                Gas           Gov. Aggregation   COH             169938890014                Gas           Gov. Aggregation
COH             154317990016                Gas           Gov. Aggregation   COH             169971790015                Gas           Gov. Aggregation
COH             154465940013                Gas           Gov. Aggregation   COH             167291340013                Gas           Gov. Aggregation
COH             154537730014                Gas           Gov. Aggregation   COH             167652980013                Gas           Gov. Aggregation
COH             154587910011                Gas           Gov. Aggregation   COH             154630780016                Gas           Gov. Aggregation
COH             155031470010                Gas           Gov. Aggregation   COH             154799540029                Gas           Gov. Aggregation
COH             155932390080                Gas           Gov. Aggregation   COH             154841080025                Gas           Gov. Aggregation
COH             156020490018                Gas           Gov. Aggregation   COH             155614700015                Gas           Gov. Aggregation
COH             156039960010                Gas           Gov. Aggregation   COH             155630470010                Gas           Gov. Aggregation
COH             156048560015                Gas           Gov. Aggregation   COH             155689220019                Gas           Gov. Aggregation
COH             156274760014                Gas           Gov. Aggregation   COH             155712550019                Gas           Gov. Aggregation
COH             156975970032                Gas           Gov. Aggregation   COH             155729020015                Gas           Gov. Aggregation
COH             157001990012                Gas           Gov. Aggregation   COH             156225470018                Gas           Gov. Aggregation
COH             140214570036                Gas           Gov. Aggregation   COH             156225480016                Gas           Gov. Aggregation
COH             111281480011                Gas           Gov. Aggregation   COH             156503310011                Gas           Gov. Aggregation
COH             111260940018                Gas           Gov. Aggregation   COH             156538810013                Gas           Gov. Aggregation
COH             111289320018                Gas           Gov. Aggregation   COH             150651480028                Gas           Gov. Aggregation
COH             111255370019                Gas           Gov. Aggregation   COH             150719660017                Gas           Gov. Aggregation
COH             172292350012                Gas           Gov. Aggregation   COH             150752590012                Gas           Gov. Aggregation
COH             118680910026                Gas           Gov. Aggregation   COH             150790970012                Gas           Gov. Aggregation
COH             160200530057                Gas           Gov. Aggregation   COH             150853150038                Gas           Gov. Aggregation
COH             172034140012                Gas           Gov. Aggregation   COH             150971820064                Gas           Gov. Aggregation
COH             139354010021                Gas           Gov. Aggregation   COH             126715070019                Gas           Gov. Aggregation
COH             170101370013                Gas           Gov. Aggregation   COH             126733990036                Gas           Gov. Aggregation
COH             118822650038                Gas           Gov. Aggregation   COH             126793660011                Gas           Gov. Aggregation
COH             141406110025                Gas           Gov. Aggregation   COH             126827010023                Gas           Gov. Aggregation
COH             142228750046                Gas           Gov. Aggregation   COH             126834630037                Gas           Gov. Aggregation
COH             169896740015                Gas           Gov. Aggregation   COH             115017710017                Gas           Gov. Aggregation
COH             175994720013                Gas           Gov. Aggregation   COH             115017750019                Gas           Gov. Aggregation
COH             132768890036                Gas           Gov. Aggregation   COH             115018030018                Gas           Gov. Aggregation
COH             145822120018                Gas           Gov. Aggregation   COH             115018560053                Gas           Gov. Aggregation
COH             162357120014                Gas           Gov. Aggregation   COH             115020480028                Gas           Gov. Aggregation
COH             130321460016                Gas           Gov. Aggregation   COH             115020560021                Gas           Gov. Aggregation
COH             118175600022                Gas           Gov. Aggregation   COH             115021490015                Gas           Gov. Aggregation
COH             120195750025                Gas           Gov. Aggregation   COH             115022520016                Gas           Gov. Aggregation
COH             152579490037                Gas           Gov. Aggregation   COH             115025840022                Gas           Gov. Aggregation
COH             156662360015                Gas           Gov. Aggregation   COH             115027920067                Gas           Gov. Aggregation
COH             117214900017                Gas           Gov. Aggregation   COH             115028520014                Gas           Gov. Aggregation
COH             161757480021                Gas           Gov. Aggregation   COH             115028670022                Gas           Gov. Aggregation
COH             140544520037                Gas           Gov. Aggregation   COH             115037900015                Gas           Gov. Aggregation
COH             166817330010                Gas           Gov. Aggregation   COH             115038000012                Gas           Gov. Aggregation
COH             161970380011                Gas           Gov. Aggregation   COH             115040250015                Gas           Gov. Aggregation
COH             159920940012                Gas           Gov. Aggregation   COH             115040330018                Gas           Gov. Aggregation
COH             159920940030                Gas           Gov. Aggregation   COH             115058120024                Gas           Gov. Aggregation
COH             148670580012                Gas           Gov. Aggregation   COH             115058150019                Gas           Gov. Aggregation
COH             156806370017                Gas           Gov. Aggregation   COH             115058180022                Gas           Gov. Aggregation
COH             165191370011                Gas           Gov. Aggregation   COH             115058330011                Gas           Gov. Aggregation
COH             170629230014                Gas           Gov. Aggregation   COH             115070080027                Gas           Gov. Aggregation
COH             173207200011                Gas           Gov. Aggregation   COH             115072790015                Gas           Gov. Aggregation
COH             167383910018                Gas           Gov. Aggregation   COH             115073310013                Gas           Gov. Aggregation
COH             158197950034                Gas           Gov. Aggregation   COH             115073330028                Gas           Gov. Aggregation
COH             164902880025                Gas           Gov. Aggregation   COH             115073460012                Gas           Gov. Aggregation
COH             175307750012                Gas           Gov. Aggregation   COH             115073460021                Gas           Gov. Aggregation
COH             147434480023                Gas           Gov. Aggregation   COH             127356400038                Gas           Gov. Aggregation
COH             152507010038                Gas           Gov. Aggregation   COH             127359220174                Gas           Gov. Aggregation
COH             117192720040                Gas           Gov. Aggregation   COH             127512670012                Gas           Gov. Aggregation
COH             156846360015                Gas           Gov. Aggregation   COH             127566410013                Gas           Gov. Aggregation
COH             156846380020                Gas           Gov. Aggregation   COH             127575720028                Gas           Gov. Aggregation
COH             156846370013                Gas           Gov. Aggregation   COH             128726370011                Gas           Gov. Aggregation
COH             156846380011                Gas           Gov. Aggregation   COH             128779220020                Gas           Gov. Aggregation
COH             171476260021                Gas           Gov. Aggregation   COH             128833400017                Gas           Gov. Aggregation
COH             172625000018                Gas           Gov. Aggregation   COH             129977640030                Gas           Gov. Aggregation
COH             118182580022                Gas           Gov. Aggregation   COH             130152070017                Gas           Gov. Aggregation
COH             151613620027                Gas           Gov. Aggregation   COH             130441300015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             163985470019                Gas           Gov. Aggregation   COH             114965680034                Gas           Gov. Aggregation
COH             164353240015                Gas           Gov. Aggregation   COH             114968620012                Gas           Gov. Aggregation
COH             165641090015                Gas           Gov. Aggregation   COH             114969640025                Gas           Gov. Aggregation
COH             161184350014                Gas           Gov. Aggregation   COH             114970740021                Gas           Gov. Aggregation
COH             136429870052                Gas           Gov. Aggregation   COH             114971260020                Gas           Gov. Aggregation
COH             117106090017                Gas           Gov. Aggregation   COH             114972950023                Gas           Gov. Aggregation
COH             176162880012                Gas           Gov. Aggregation   COH             114974790023                Gas           Gov. Aggregation
COH             131536020049                Gas           Gov. Aggregation   COH             114974870026                Gas           Gov. Aggregation
COH             128955520014                Gas           Gov. Aggregation   COH             114975700029                Gas           Gov. Aggregation
COH             117234660025                Gas           Gov. Aggregation   COH             114977950023                Gas           Gov. Aggregation
COH             159841350014                Gas           Gov. Aggregation   COH             114979330010                Gas           Gov. Aggregation
COH             149322920025                Gas           Gov. Aggregation   COH             114979380010                Gas           Gov. Aggregation
COH             117041040015                Gas           Gov. Aggregation   COH             114981140015                Gas           Gov. Aggregation
COH             151055030016                Gas           Gov. Aggregation   COH             114981470016                Gas           Gov. Aggregation
COH             157704750049                Gas           Gov. Aggregation   COH             114981470034                Gas           Gov. Aggregation
COH             117307650059                Gas           Gov. Aggregation   COH             114982320042                Gas           Gov. Aggregation
COH             135605720041                Gas           Gov. Aggregation   COH             114983200018                Gas           Gov. Aggregation
COH             176115630013                Gas           Gov. Aggregation   COH             115003050015                Gas           Gov. Aggregation
COH             117344400053                Gas           Gov. Aggregation   COH             115003910023                Gas           Gov. Aggregation
COH             130270660013                Gas           Gov. Aggregation   COH             115004230024                Gas           Gov. Aggregation
COH             131377940026                Gas           Gov. Aggregation   COH             115004540029                Gas           Gov. Aggregation
COH             185140510014                Gas           Gov. Aggregation   COH             111263410059                Gas           Gov. Aggregation
COH             152766710015                Gas           Gov. Aggregation   COH             169355350013                Gas           Gov. Aggregation
COH             153988070019                Gas           Gov. Aggregation   COH             115008530014                Gas           Gov. Aggregation
COH             173049880015                Gas           Gov. Aggregation   COH             115009740027                Gas           Gov. Aggregation
COH             140127630056                Gas           Gov. Aggregation   COH             115011080012                Gas           Gov. Aggregation
COH             147790490054                Gas           Gov. Aggregation   COH             115015260016                Gas           Gov. Aggregation
COH             117107860013                Gas           Gov. Aggregation   COH             115016290018                Gas           Gov. Aggregation
COH             138098780025                Gas           Gov. Aggregation   COH             115017040018                Gas           Gov. Aggregation
COH             165415490010                Gas           Gov. Aggregation   COH             115017050025                Gas           Gov. Aggregation
COH             159858410016                Gas           Gov. Aggregation   COH             115017220038                Gas           Gov. Aggregation
COH             166204690023                Gas           Gov. Aggregation   COH             115017230018                Gas           Gov. Aggregation
COH             165935780017                Gas           Gov. Aggregation   COH             131271750020                Gas           Gov. Aggregation
COH             163845340012                Gas           Gov. Aggregation   COH             131473120024                Gas           Gov. Aggregation
COH             170142790019                Gas           Gov. Aggregation   COH             131536930020                Gas           Gov. Aggregation
COH             170993710012                Gas           Gov. Aggregation   COH             131752400014                Gas           Gov. Aggregation
COH             133417470036                Gas           Gov. Aggregation   COH             153246530130                Gas           Gov. Aggregation
COH             171612510019                Gas           Gov. Aggregation   COH             153373420054                Gas           Gov. Aggregation
COH             177233530013                Gas           Gov. Aggregation   COH             153561570018                Gas           Gov. Aggregation
COH             117373420021                Gas           Gov. Aggregation   COH             157119860010                Gas           Gov. Aggregation
COH             117280520027                Gas           Gov. Aggregation   COH             157318970024                Gas           Gov. Aggregation
COH             149460930049                Gas           Gov. Aggregation   COH             167928550018                Gas           Gov. Aggregation
COH             121885150027                Gas           Gov. Aggregation   COH             168032530010                Gas           Gov. Aggregation
COH             117106530014                Gas           Gov. Aggregation   COH             168032530038                Gas           Gov. Aggregation
COH             117245400017                Gas           Gov. Aggregation   COH             168121270016                Gas           Gov. Aggregation
COH             138322120026                Gas           Gov. Aggregation   COH             168159440011                Gas           Gov. Aggregation
COH             165010970017                Gas           Gov. Aggregation   COH             168404310017                Gas           Gov. Aggregation
COH             169882560012                Gas           Gov. Aggregation   COH             168429660012                Gas           Gov. Aggregation
COH             170108680014                Gas           Gov. Aggregation   COH             114931810019                Gas           Gov. Aggregation
COH             170162530011                Gas           Gov. Aggregation   COH             114931970016                Gas           Gov. Aggregation
COH             171297390015                Gas           Gov. Aggregation   COH             114944490029                Gas           Gov. Aggregation
COH             171461710018                Gas           Gov. Aggregation   COH             114944510015                Gas           Gov. Aggregation
COH             171602960016                Gas           Gov. Aggregation   COH             114944790017                Gas           Gov. Aggregation
COH             171730730013                Gas           Gov. Aggregation   COH             114945080041                Gas           Gov. Aggregation
COH             175080050011                Gas           Gov. Aggregation   COH             114945300017                Gas           Gov. Aggregation
COH             176089160019                Gas           Gov. Aggregation   COH             114946530026                Gas           Gov. Aggregation
COH             110395360025                Gas           Gov. Aggregation   COH             114946800029                Gas           Gov. Aggregation
COH             136097940025                Gas           Gov. Aggregation   COH             114947900017                Gas           Gov. Aggregation
COH             166629860036                Gas           Gov. Aggregation   COH             114947990019                Gas           Gov. Aggregation
COH             139236090043                Gas           Gov. Aggregation   COH             114951460011                Gas           Gov. Aggregation
COH             131798290021                Gas           Gov. Aggregation   COH             114951520018                Gas           Gov. Aggregation
COH             173750030016                Gas           Gov. Aggregation   COH             114951640013                Gas           Gov. Aggregation
COH             117112970019                Gas           Gov. Aggregation   COH             114951910016                Gas           Gov. Aggregation
COH             171212100013                Gas           Gov. Aggregation   COH             114952110012                Gas           Gov. Aggregation
COH             170937380010                Gas           Gov. Aggregation   COH             114953760014                Gas           Gov. Aggregation
COH             133184530029                Gas           Gov. Aggregation   COH             114953920010                Gas           Gov. Aggregation
COH             156385300024                Gas           Gov. Aggregation   COH             114953960012                Gas           Gov. Aggregation
COH             152493330023                Gas           Gov. Aggregation   COH             114954290011                Gas           Gov. Aggregation
COH             140948870010                Gas           Gov. Aggregation   COH             114954340010                Gas           Gov. Aggregation
COH             149015010072                Gas           Gov. Aggregation   COH             114955900010                Gas           Gov. Aggregation
COH             177279070014                Gas           Gov. Aggregation   COH             114955930014                Gas           Gov. Aggregation
COH             120429110022                Gas           Gov. Aggregation   COH             114956710018                Gas           Gov. Aggregation
COH             130617620015                Gas           Gov. Aggregation   COH             114956800019                Gas           Gov. Aggregation
COH             129401820013                Gas           Gov. Aggregation   COH             114960340017                Gas           Gov. Aggregation
COH             162995920014                Gas           Gov. Aggregation   COH             114960630016                Gas           Gov. Aggregation
COH             175163800035                Gas           Gov. Aggregation   COH             114961470027                Gas           Gov. Aggregation
COH             144347250029                Gas           Gov. Aggregation   COH             114962710024                Gas           Gov. Aggregation
COH             152791420013                Gas           Gov. Aggregation   COH             145586660017                Gas           Gov. Aggregation
COH             165205400013                Gas           Gov. Aggregation   COH             145610260045                Gas           Gov. Aggregation
COH             165106660028                Gas           Gov. Aggregation   COH             145889660015                Gas           Gov. Aggregation
COH             152747130017                Gas           Gov. Aggregation   COH             145918060045                Gas           Gov. Aggregation
COH             177790340013                Gas           Gov. Aggregation   COH             145918230012                Gas           Gov. Aggregation
COH             170528950017                Gas           Gov. Aggregation   COH             145931690018                Gas           Gov. Aggregation
COH             150850520054                Gas           Gov. Aggregation   COH             146041890012                Gas           Gov. Aggregation
COH             165760140012                Gas           Gov. Aggregation   COH             146530930025                Gas           Gov. Aggregation
COH             158704910017                Gas           Gov. Aggregation   COH             146738710021                Gas           Gov. Aggregation
COH             172503880012                Gas           Gov. Aggregation   COH             146820990037                Gas           Gov. Aggregation
COH             157816650025                Gas           Gov. Aggregation   COH             146906860014                Gas           Gov. Aggregation
COH             170901110039                Gas           Gov. Aggregation   COH             147442720016                Gas           Gov. Aggregation
COH             132652680026                Gas           Gov. Aggregation   COH             147743530027                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             156031770016                Gas           Gov. Aggregation   COH             148433100023                Gas           Gov. Aggregation
COH             172672290019                Gas           Gov. Aggregation   COH             148672770018                Gas           Gov. Aggregation
COH             160220100028                Gas           Gov. Aggregation   COH             149404440031                Gas           Gov. Aggregation
COH             164645010032                Gas           Gov. Aggregation   COH             149496530011                Gas           Gov. Aggregation
COH             135470610014                Gas           Gov. Aggregation   COH             149516190028                Gas           Gov. Aggregation
COH             174540570026                Gas           Gov. Aggregation   COH             149551870012                Gas           Gov. Aggregation
COH             115018910013                Gas           Gov. Aggregation   COH             149631420034                Gas           Gov. Aggregation
COH             110959960014                Gas           Gov. Aggregation   COH             168821920015                Gas           Gov. Aggregation
COH             151220800013                Gas           Gov. Aggregation   COH             168821950028                Gas           Gov. Aggregation
COH             115155470025                Gas           Gov. Aggregation   COH             170842380011                Gas           Gov. Aggregation
COH             171789680011                Gas           Gov. Aggregation   COH             170904220012                Gas           Gov. Aggregation
COH             172790520010                Gas           Gov. Aggregation   COH             170904260014                Gas           Gov. Aggregation
COH             174916950010                Gas           Gov. Aggregation   COH             170919470019                Gas           Gov. Aggregation
COH             176391800013                Gas           Gov. Aggregation   COH             114884880025                Gas           Gov. Aggregation
COH             176391810011                Gas           Gov. Aggregation   COH             114888610014                Gas           Gov. Aggregation
COH             176930570018                Gas           Gov. Aggregation   COH             114888940024                Gas           Gov. Aggregation
COH             110276240022                Gas           Gov. Aggregation   COH             114896400011                Gas           Gov. Aggregation
COH             110292250017                Gas           Gov. Aggregation   COH             114897990016                Gas           Gov. Aggregation
COH             110295120036                Gas           Gov. Aggregation   COH             114898660040                Gas           Gov. Aggregation
COH             110318850079                Gas           Gov. Aggregation   COH             114899910018                Gas           Gov. Aggregation
COH             110318850088                Gas           Gov. Aggregation   COH             114900350020                Gas           Gov. Aggregation
COH             148925920037                Gas           Gov. Aggregation   COH             114903630016                Gas           Gov. Aggregation
COH             167557810010                Gas           Gov. Aggregation   COH             114905190015                Gas           Gov. Aggregation
COH             158843900033                Gas           Gov. Aggregation   COH             114905500019                Gas           Gov. Aggregation
COH             172910500018                Gas           Gov. Aggregation   COH             114906300028                Gas           Gov. Aggregation
COH             142312140027                Gas           Gov. Aggregation   COH             114906340057                Gas           Gov. Aggregation
COH             117003510034                Gas           Gov. Aggregation   COH             114910030017                Gas           Gov. Aggregation
COH             156452160021                Gas           Gov. Aggregation   COH             114913430017                Gas           Gov. Aggregation
COH             163893470014                Gas           Gov. Aggregation   COH             114913440015                Gas           Gov. Aggregation
COH             169006420017                Gas           Gov. Aggregation   COH             114913570036                Gas           Gov. Aggregation
COH             137433590033                Gas           Gov. Aggregation   COH             114913660019                Gas           Gov. Aggregation
COH             117247460011                Gas           Gov. Aggregation   COH             114915500018                Gas           Gov. Aggregation
COH             172972590010                Gas           Gov. Aggregation   COH             114916890015                Gas           Gov. Aggregation
COH             117106600019                Gas           Gov. Aggregation   COH             114917030013                Gas           Gov. Aggregation
COH             171275200029                Gas           Gov. Aggregation   COH             114917080013                Gas           Gov. Aggregation
COH             169833000012                Gas           Gov. Aggregation   COH             114917160016                Gas           Gov. Aggregation
COH             144278690033                Gas           Gov. Aggregation   COH             114917180012                Gas           Gov. Aggregation
COH             142452330030                Gas           Gov. Aggregation   COH             114917240019                Gas           Gov. Aggregation
COH             176210670013                Gas           Gov. Aggregation   COH             114917810019                Gas           Gov. Aggregation
COH             160146000018                Gas           Gov. Aggregation   COH             114917980014                Gas           Gov. Aggregation
COH             154679230028                Gas           Gov. Aggregation   COH             114918000017                Gas           Gov. Aggregation
COH             140642800030                Gas           Gov. Aggregation   COH             114928380026                Gas           Gov. Aggregation
COH             176932550018                Gas           Gov. Aggregation   COH             114928480016                Gas           Gov. Aggregation
COH             140542310017                Gas           Gov. Aggregation   COH             114928940028                Gas           Gov. Aggregation
COH             144634010039                Gas           Gov. Aggregation   COH             114929710015                Gas           Gov. Aggregation
COH             132652130058                Gas           Gov. Aggregation   COH             114930140021                Gas           Gov. Aggregation
COH             116699800022                Gas           Gov. Aggregation   COH             164809510039                Gas           Gov. Aggregation
COH             144319370023                Gas           Gov. Aggregation   COH             164948050014                Gas           Gov. Aggregation
COH             155336590028                Gas           Gov. Aggregation   COH             165031080029                Gas           Gov. Aggregation
COH             172763140017                Gas           Gov. Aggregation   COH             165077100019                Gas           Gov. Aggregation
COH             156782570017                Gas           Gov. Aggregation   COH             165459160026                Gas           Gov. Aggregation
COH             172942240016                Gas           Gov. Aggregation   COH             165585390012                Gas           Gov. Aggregation
COH             166650710014                Gas           Gov. Aggregation   COH             165612900024                Gas           Gov. Aggregation
COH             117245740025                Gas           Gov. Aggregation   COH             139255060030                Gas           Gov. Aggregation
COH             137583880017                Gas           Gov. Aggregation   COH             140292010048                Gas           Gov. Aggregation
COH             151978750019                Gas           Gov. Aggregation   COH             140313660028                Gas           Gov. Aggregation
COH             171571610016                Gas           Gov. Aggregation   COH             140397540018                Gas           Gov. Aggregation
COH             164773830011                Gas           Gov. Aggregation   COH             140596730016                Gas           Gov. Aggregation
COH             161926730010                Gas           Gov. Aggregation   COH             140922200032                Gas           Gov. Aggregation
COH             177348310016                Gas           Gov. Aggregation   COH             141001570036                Gas           Gov. Aggregation
COH             159224380025                Gas           Gov. Aggregation   COH             141468870099                Gas           Gov. Aggregation
COH             117486940069                Gas           Gov. Aggregation   COH             141520170012                Gas           Gov. Aggregation
COH             165456340015                Gas           Gov. Aggregation   COH             141557550033                Gas           Gov. Aggregation
COH             137711780015                Gas           Gov. Aggregation   COH             142979370027                Gas           Gov. Aggregation
COH             121144490080                Gas           Gov. Aggregation   COH             143034350013                Gas           Gov. Aggregation
COH             160476470011                Gas           Gov. Aggregation   COH             143107950012                Gas           Gov. Aggregation
COH             136396320030                Gas           Gov. Aggregation   COH             143116220025                Gas           Gov. Aggregation
COH             157629220040                Gas           Gov. Aggregation   COH             143117040012                Gas           Gov. Aggregation
COH             156715600020                Gas           Gov. Aggregation   COH             143220240011                Gas           Gov. Aggregation
COH             165477950022                Gas           Gov. Aggregation   COH             143824130014                Gas           Gov. Aggregation
COH             175816920017                Gas           Gov. Aggregation   COH             143872010027                Gas           Gov. Aggregation
COH             137966970016                Gas           Gov. Aggregation   COH             143916320028                Gas           Gov. Aggregation
COH             149383160027                Gas           Gov. Aggregation   COH             143920940029                Gas           Gov. Aggregation
COH             156467700017                Gas           Gov. Aggregation   COH             143976650023                Gas           Gov. Aggregation
COH             165741360089                Gas           Gov. Aggregation   COH             144797960018                Gas           Gov. Aggregation
COH             148759270037                Gas           Gov. Aggregation   COH             145028060015                Gas           Gov. Aggregation
COH             145480460013                Gas           Gov. Aggregation   COH             145044780010                Gas           Gov. Aggregation
COH             117041700016                Gas           Gov. Aggregation   COH             165906560032                Gas           Gov. Aggregation
COH             130592290019                Gas           Gov. Aggregation   COH             165923400011                Gas           Gov. Aggregation
COH             151973090045                Gas           Gov. Aggregation   COH             166177460039                Gas           Gov. Aggregation
COH             152678890024                Gas           Gov. Aggregation   COH             166305490012                Gas           Gov. Aggregation
COH             172147850014                Gas           Gov. Aggregation   COH             166351980021                Gas           Gov. Aggregation
COH             170416860013                Gas           Gov. Aggregation   COH             166352050015                Gas           Gov. Aggregation
COH             138570500021                Gas           Gov. Aggregation   COH             167002810024                Gas           Gov. Aggregation
COH             117107560016                Gas           Gov. Aggregation   COH             167122350018                Gas           Gov. Aggregation
COH             164145470018                Gas           Gov. Aggregation   COH             167197270018                Gas           Gov. Aggregation
COH             164680290012                Gas           Gov. Aggregation   COH             167205720014                Gas           Gov. Aggregation
COH             162644070025                Gas           Gov. Aggregation   COH             134390770012                Gas           Gov. Aggregation
COH             128763560013                Gas           Gov. Aggregation   COH             134677240042                Gas           Gov. Aggregation
COH             133475330015                Gas           Gov. Aggregation   COH             134720260045                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             146341840016                Gas           Gov. Aggregation   COH             134723290025                Gas           Gov. Aggregation
COH             140040450021                Gas           Gov. Aggregation   COH             135639060012                Gas           Gov. Aggregation
COH             150462300044                Gas           Gov. Aggregation   COH             135741840075                Gas           Gov. Aggregation
COH             156338840020                Gas           Gov. Aggregation   COH             135797770028                Gas           Gov. Aggregation
COH             163297460010                Gas           Gov. Aggregation   COH             136080170013                Gas           Gov. Aggregation
COH             136266970020                Gas           Gov. Aggregation   COH             136529870014                Gas           Gov. Aggregation
COH             156775810011                Gas           Gov. Aggregation   COH             136568040016                Gas           Gov. Aggregation
COH             147265850024                Gas           Gov. Aggregation   COH             136589250018                Gas           Gov. Aggregation
COH             148844720031                Gas           Gov. Aggregation   COH             136680620052                Gas           Gov. Aggregation
COH             119644380023                Gas           Gov. Aggregation   COH             137466090011                Gas           Gov. Aggregation
COH             165029150010                Gas           Gov. Aggregation   COH             137522790014                Gas           Gov. Aggregation
COH             161194050016                Gas           Gov. Aggregation   COH             137626860064                Gas           Gov. Aggregation
COH             155305130010                Gas           Gov. Aggregation   COH             137733380175                Gas           Gov. Aggregation
COH             170008230010                Gas           Gov. Aggregation   COH             137779970031                Gas           Gov. Aggregation
COH             117802230020                Gas           Gov. Aggregation   COH             138317650044                Gas           Gov. Aggregation
COH             143778120024                Gas           Gov. Aggregation   COH             138371710038                Gas           Gov. Aggregation
COH             126756560029                Gas           Gov. Aggregation   COH             138445790035                Gas           Gov. Aggregation
COH             136283670027                Gas           Gov. Aggregation   COH             138480230029                Gas           Gov. Aggregation
COH             168369280010                Gas           Gov. Aggregation   COH             138627990019                Gas           Gov. Aggregation
COH             117247650011                Gas           Gov. Aggregation   COH             161675440041                Gas           Gov. Aggregation
COH             167142410013                Gas           Gov. Aggregation   COH             161883660017                Gas           Gov. Aggregation
COH             151846720014                Gas           Gov. Aggregation   COH             162434100032                Gas           Gov. Aggregation
COH             139555670036                Gas           Gov. Aggregation   COH             162860200029                Gas           Gov. Aggregation
COH             164517830013                Gas           Gov. Aggregation   COH             162968170037                Gas           Gov. Aggregation
COH             136462900037                Gas           Gov. Aggregation   COH             163878530013                Gas           Gov. Aggregation
COH             117318810043                Gas           Gov. Aggregation   COH             164101600012                Gas           Gov. Aggregation
COH             155448600019                Gas           Gov. Aggregation   COH             164381770015                Gas           Gov. Aggregation
COH             117043650022                Gas           Gov. Aggregation   COH             164403370011                Gas           Gov. Aggregation
COH             116843980028                Gas           Gov. Aggregation   COH             147845800015                Gas           Gov. Aggregation
COH             117103990023                Gas           Gov. Aggregation   COH             158798400017                Gas           Gov. Aggregation
COH             148706680014                Gas           Gov. Aggregation   COH             158810340021                Gas           Gov. Aggregation
COH             163265840017                Gas           Gov. Aggregation   COH             158849630010                Gas           Gov. Aggregation
COH             117106360010                Gas           Gov. Aggregation   COH             158874790014                Gas           Gov. Aggregation
COH             156789960039                Gas           Gov. Aggregation   COH             158903690012                Gas           Gov. Aggregation
COH             176402250014                Gas           Gov. Aggregation   COH             159143760027                Gas           Gov. Aggregation
COH             117106490022                Gas           Gov. Aggregation   COH             159173570015                Gas           Gov. Aggregation
COH             133163060031                Gas           Gov. Aggregation   COH             159224890028                Gas           Gov. Aggregation
COH             167797250010                Gas           Gov. Aggregation   COH             159486370014                Gas           Gov. Aggregation
COH             177840220011                Gas           Gov. Aggregation   COH             160341200012                Gas           Gov. Aggregation
COH             157440210024                Gas           Gov. Aggregation   COH             160762340011                Gas           Gov. Aggregation
COH             118008540055                Gas           Gov. Aggregation   COH             160782560022                Gas           Gov. Aggregation
COH             117070660032                Gas           Gov. Aggregation   COH             160843240038                Gas           Gov. Aggregation
COH             143915030021                Gas           Gov. Aggregation   COH             161471760019                Gas           Gov. Aggregation
COH             173249250013                Gas           Gov. Aggregation   COH             161543690039                Gas           Gov. Aggregation
COH             117249860040                Gas           Gov. Aggregation   COH             161559000021                Gas           Gov. Aggregation
COH             162706700011                Gas           Gov. Aggregation   COH             110386250018                Gas           Gov. Aggregation
COH             160469480032                Gas           Gov. Aggregation   COH             110959990018                Gas           Gov. Aggregation
COH             158182150033                Gas           Gov. Aggregation   COH             171835620014                Gas           Gov. Aggregation
COH             165750030025                Gas           Gov. Aggregation   COH             171688050017                Gas           Gov. Aggregation
COH             145859970013                Gas           Gov. Aggregation   COH             170159700012                Gas           Gov. Aggregation
COH             117217660012                Gas           Gov. Aggregation   COH             172050380018                Gas           Gov. Aggregation
COH             170359960014                Gas           Gov. Aggregation   COH             172058170016                Gas           Gov. Aggregation
COH             117042020017                Gas           Gov. Aggregation   COH             172092820017                Gas           Gov. Aggregation
COH             120468960022                Gas           Gov. Aggregation   COH             172129720019                Gas           Gov. Aggregation
COH             135737660018                Gas           Gov. Aggregation   COH             114987580011                Gas           Gov. Aggregation
COH             168748990017                Gas           Gov. Aggregation   COH             149765430020                Gas           Gov. Aggregation
COH             137140040020                Gas           Gov. Aggregation   COH             155696860029                Gas           Gov. Aggregation
COH             164283080018                Gas           Gov. Aggregation   COH             110969860014                Gas           Gov. Aggregation
COH             176597750018                Gas           Gov. Aggregation   COH             110961750013                Gas           Gov. Aggregation
COH             120238770029                Gas           Gov. Aggregation   COH             139979410014                Gas           Gov. Aggregation
COH             117242870015                Gas           Gov. Aggregation   COH             140534890013                Gas           Gov. Aggregation
COH             118206540028                Gas           Gov. Aggregation   COH             110959800017                Gas           Gov. Aggregation
COH             177124040017                Gas           Gov. Aggregation   COH             135993910013                Gas           Gov. Aggregation
COH             177163540010                Gas           Gov. Aggregation   COH             110981650012                Gas           Gov. Aggregation
COH             115156200010                Gas           Gov. Aggregation   COH             140498570018                Gas           Gov. Aggregation
COH             116914620022                Gas           Gov. Aggregation   COH             114966930011                Gas           Gov. Aggregation
COH             139648320014                Gas           Gov. Aggregation   COH             165498220021                Gas           Gov. Aggregation
COH             162386730015                Gas           Gov. Aggregation   COH             110985970017                Gas           Gov. Aggregation
COH             117374190028                Gas           Gov. Aggregation   COH             140310580012                Gas           Gov. Aggregation
COH             137581460019                Gas           Gov. Aggregation   COH             111012880016                Gas           Gov. Aggregation
COH             117113260025                Gas           Gov. Aggregation   COH             144979330014                Gas           Gov. Aggregation
COH             117213950028                Gas           Gov. Aggregation   COH             158710710034                Gas           Gov. Aggregation
COH             174410700014                Gas           Gov. Aggregation   COH             111014290016                Gas           Gov. Aggregation
COH             155154230010                Gas           Gov. Aggregation   COH             110988070010                Gas           Gov. Aggregation
COH             152668250029                Gas           Gov. Aggregation   COH             110987640021                Gas           Gov. Aggregation
COH             145450930035                Gas           Gov. Aggregation   COH             166589860014                Gas           Gov. Aggregation
COH             172711430015                Gas           Gov. Aggregation   COH             138638430013                Gas           Gov. Aggregation
COH             117214580015                Gas           Gov. Aggregation   COH             166615860017                Gas           Gov. Aggregation
COH             129127250051                Gas           Gov. Aggregation   COH             150999480013                Gas           Gov. Aggregation
COH             170459350010                Gas           Gov. Aggregation   COH             171668600013                Gas           Gov. Aggregation
COH             163073310033                Gas           Gov. Aggregation   COH             171757360015                Gas           Gov. Aggregation
COH             172448370017                Gas           Gov. Aggregation   COH             171796010016                Gas           Gov. Aggregation
COH             114998030031                Gas           Gov. Aggregation   COH             110974930018                Gas           Gov. Aggregation
COH             121921970018                Gas           Gov. Aggregation   COH             170787490016                Gas           Gov. Aggregation
COH             144148510017                Gas           Gov. Aggregation   COH             153307600019                Gas           Gov. Aggregation
COH             157448410017                Gas           Gov. Aggregation   COH             130960750011                Gas           Gov. Aggregation
COH             110745960017                Gas           Gov. Aggregation   COH             110975360016                Gas           Gov. Aggregation
COH             157719640014                Gas           Gov. Aggregation   COH             142776850017                Gas           Gov. Aggregation
COH             114991110029                Gas           Gov. Aggregation   COH             160092830019                Gas           Gov. Aggregation
COH             149447610017                Gas           Gov. Aggregation   COH             132814240015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             140287800016                Gas           Gov. Aggregation   COH             164238890013                Gas           Gov. Aggregation
COH             163893340020                Gas           Gov. Aggregation   COH             165925360016                Gas           Gov. Aggregation
COH             171364470024                Gas           Gov. Aggregation   COH             167792020018                Gas           Gov. Aggregation
COH             174809240016                Gas           Gov. Aggregation   COH             166083870014                Gas           Gov. Aggregation
COH             154703630049                Gas           Gov. Aggregation   COH             166465460010                Gas           Gov. Aggregation
COH             176119520018                Gas           Gov. Aggregation   COH             166778230015                Gas           Gov. Aggregation
COH             171210800010                Gas           Gov. Aggregation   COH             108791180018                Gas           Gov. Aggregation
COH             158150090024                Gas           Gov. Aggregation   COH             108791240015                Gas           Gov. Aggregation
COH             149791220010                Gas           Gov. Aggregation   COH             108791330016                Gas           Gov. Aggregation
COH             167225510016                Gas           Gov. Aggregation   COH             108792380014                Gas           Gov. Aggregation
COH             152531290020                Gas           Gov. Aggregation   COH             108799770027                Gas           Gov. Aggregation
COH             117106550029                Gas           Gov. Aggregation   COH             108847930011                Gas           Gov. Aggregation
COH             117217450016                Gas           Gov. Aggregation   COH             108847970013                Gas           Gov. Aggregation
COH             166145120019                Gas           Gov. Aggregation   COH             108848130017                Gas           Gov. Aggregation
COH             164773850017                Gas           Gov. Aggregation   COH             108848160011                Gas           Gov. Aggregation
COH             153703800026                Gas           Gov. Aggregation   COH             108848420016                Gas           Gov. Aggregation
COH             170804380020                Gas           Gov. Aggregation   COH             108849060010                Gas           Gov. Aggregation
COH             147002820035                Gas           Gov. Aggregation   COH             108849600025                Gas           Gov. Aggregation
COH             134088380015                Gas           Gov. Aggregation   COH             108849630010                Gas           Gov. Aggregation
COH             162339410011                Gas           Gov. Aggregation   COH             108849940015                Gas           Gov. Aggregation
COH             163206810017                Gas           Gov. Aggregation   COH             108850470011                Gas           Gov. Aggregation
COH             161650310022                Gas           Gov. Aggregation   COH             116570450019                Gas           Gov. Aggregation
COH             138786180031                Gas           Gov. Aggregation   COH             116599660015                Gas           Gov. Aggregation
COH             144482880021                Gas           Gov. Aggregation   COH             117071210034                Gas           Gov. Aggregation
COH             148432720025                Gas           Gov. Aggregation   COH             120128120028                Gas           Gov. Aggregation
COH             129562390014                Gas           Gov. Aggregation   COH             123553980024                Gas           Gov. Aggregation
COH             117063690031                Gas           Gov. Aggregation   COH             127247350030                Gas           Gov. Aggregation
COH             170754650011                Gas           Gov. Aggregation   COH             127510070012                Gas           Gov. Aggregation
COH             117942010048                Gas           Gov. Aggregation   COH             111283160014                Gas           Gov. Aggregation
COH             185041670011                Gas           Gov. Aggregation   COH             111263910018                Gas           Gov. Aggregation
COH             166562660030                Gas           Gov. Aggregation   COH             112107770017                Gas           Gov. Aggregation
COH             158766770035                Gas           Gov. Aggregation   COH             128781850014                Gas           Gov. Aggregation
COH             167583180027                Gas           Gov. Aggregation   COH             129691650034                Gas           Gov. Aggregation
COH             175609350016                Gas           Gov. Aggregation   COH             133170560013                Gas           Gov. Aggregation
COH             167967140012                Gas           Gov. Aggregation   COH             133948330012                Gas           Gov. Aggregation
COH             177483390014                Gas           Gov. Aggregation   COH             133985750016                Gas           Gov. Aggregation
COH             132703620056                Gas           Gov. Aggregation   COH             134142000018                Gas           Gov. Aggregation
COH             166387010029                Gas           Gov. Aggregation   COH             141565610024                Gas           Gov. Aggregation
COH             185012470014                Gas           Gov. Aggregation   COH             142119500012                Gas           Gov. Aggregation
COH             185288090011                Gas           Gov. Aggregation   COH             142732830031                Gas           Gov. Aggregation
COH             185300860011                Gas           Gov. Aggregation   COH             144867730035                Gas           Gov. Aggregation
COH             110738010020                Gas           Gov. Aggregation   COH             146083690016                Gas           Gov. Aggregation
COH             110746010014                Gas           Gov. Aggregation   COH             151836720033                Gas           Gov. Aggregation
COH             110746040018                Gas           Gov. Aggregation   COH             152800840014                Gas           Gov. Aggregation
COH             110746070012                Gas           Gov. Aggregation   COH             153551720017                Gas           Gov. Aggregation
COH             110746580015                Gas           Gov. Aggregation   COH             110962370011                Gas           Gov. Aggregation
COH             110747460018                Gas           Gov. Aggregation   COH             151694720044                Gas           Gov. Aggregation
COH             110747560017                Gas           Gov. Aggregation   COH             110272590018                Gas           Gov. Aggregation
COH             110747590011                Gas           Gov. Aggregation   COH             110322640029                Gas           Gov. Aggregation
COH             110747640010                Gas           Gov. Aggregation   COH             110399710014                Gas           Gov. Aggregation
COH             110748000012                Gas           Gov. Aggregation   COH             110936500027                Gas           Gov. Aggregation
COH             110748130015                Gas           Gov. Aggregation   COH             110974300010                Gas           Gov. Aggregation
COH             110748490010                Gas           Gov. Aggregation   COH             110974540010                Gas           Gov. Aggregation
COH             130184540020                Gas           Gov. Aggregation   COH             110980790015                Gas           Gov. Aggregation
COH             119760310021                Gas           Gov. Aggregation   COH             110981680016                Gas           Gov. Aggregation
COH             117516420027                Gas           Gov. Aggregation   COH             114888450054                Gas           Gov. Aggregation
COH             136327840027                Gas           Gov. Aggregation   COH             110961600023                Gas           Gov. Aggregation
COH             142803500011                Gas           Gov. Aggregation   COH             110969240014                Gas           Gov. Aggregation
COH             161440140014                Gas           Gov. Aggregation   COH             110970100010                Gas           Gov. Aggregation
COH             161514490041                Gas           Gov. Aggregation   COH             110974440011                Gas           Gov. Aggregation
COH             117292380022                Gas           Gov. Aggregation   COH             110974730010                Gas           Gov. Aggregation
COH             162018450013                Gas           Gov. Aggregation   COH             110975290020                Gas           Gov. Aggregation
COH             135110520024                Gas           Gov. Aggregation   COH             110975880017                Gas           Gov. Aggregation
COH             174315250011                Gas           Gov. Aggregation   COH             110981590024                Gas           Gov. Aggregation
COH             130301290023                Gas           Gov. Aggregation   COH             143350310048                Gas           Gov. Aggregation
COH             161851430049                Gas           Gov. Aggregation   COH             147379970019                Gas           Gov. Aggregation
COH             155363110012                Gas           Gov. Aggregation   COH             148916960010                Gas           Gov. Aggregation
COH             185417040016                Gas           Gov. Aggregation   COH             153871230030                Gas           Gov. Aggregation
COH             159773380031                Gas           Gov. Aggregation   COH             160777180014                Gas           Gov. Aggregation
COH             159751040010                Gas           Gov. Aggregation   COH             165087070015                Gas           Gov. Aggregation
COH             140781510019                Gas           Gov. Aggregation   COH             166921730015                Gas           Gov. Aggregation
COH             117318260021                Gas           Gov. Aggregation   COH             175112470014                Gas           Gov. Aggregation
COH             154430470015                Gas           Gov. Aggregation   COH             175150400018                Gas           Gov. Aggregation
COH             165986040015                Gas           Gov. Aggregation   COH             175201640019                Gas           Gov. Aggregation
COH             173918030010                Gas           Gov. Aggregation   COH             175372910011                Gas           Gov. Aggregation
COH             174698140014                Gas           Gov. Aggregation   COH             175379960017                Gas           Gov. Aggregation
COH             167199720019                Gas           Gov. Aggregation   COH             110994080015                Gas           Gov. Aggregation
COH             136327710015                Gas           Gov. Aggregation   COH             110981000018                Gas           Gov. Aggregation
COH             117042120016                Gas           Gov. Aggregation   COH             117220860013                Gas           Gov. Aggregation
COH             159590800021                Gas           Gov. Aggregation   COH             114965610010                Gas           Gov. Aggregation
COH             136634640046                Gas           Gov. Aggregation   COH             164554750012                Gas           Gov. Aggregation
COH             160859610019                Gas           Gov. Aggregation   COH             172813440017                Gas           Gov. Aggregation
COH             163197640023                Gas           Gov. Aggregation   COH             165047330014                Gas           Gov. Aggregation
COH             130548750042                Gas           Gov. Aggregation   COH             165440410013                Gas           Gov. Aggregation
COH             155522900018                Gas           Gov. Aggregation   COH             165627560016                Gas           Gov. Aggregation
COH             173601880013                Gas           Gov. Aggregation   COH             167387410015                Gas           Gov. Aggregation
COH             140829130017                Gas           Gov. Aggregation   COH             167484550010                Gas           Gov. Aggregation
COH             156374350018                Gas           Gov. Aggregation   COH             169754760011                Gas           Gov. Aggregation
COH             176985410016                Gas           Gov. Aggregation   COH             169888260013                Gas           Gov. Aggregation
COH             158969080012                Gas           Gov. Aggregation   COH             170539770012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             148313300016                Gas           Gov. Aggregation   COH             171756860012                Gas           Gov. Aggregation
COH             170399820019                Gas           Gov. Aggregation   COH             174616140016                Gas           Gov. Aggregation
COH             147546470028                Gas           Gov. Aggregation   COH             153902390012                Gas           Gov. Aggregation
COH             162872510010                Gas           Gov. Aggregation   COH             153997980028                Gas           Gov. Aggregation
COH             152641590024                Gas           Gov. Aggregation   COH             154448670016                Gas           Gov. Aggregation
COH             117106280017                Gas           Gov. Aggregation   COH             154481860061                Gas           Gov. Aggregation
COH             166292410017                Gas           Gov. Aggregation   COH             154562890018                Gas           Gov. Aggregation
COH             138316520034                Gas           Gov. Aggregation   COH             154604790019                Gas           Gov. Aggregation
COH             160108260014                Gas           Gov. Aggregation   COH             158478680017                Gas           Gov. Aggregation
COH             139299020027                Gas           Gov. Aggregation   COH             158512440013                Gas           Gov. Aggregation
COH             161620530029                Gas           Gov. Aggregation   COH             158617640019                Gas           Gov. Aggregation
COH             165740510016                Gas           Gov. Aggregation   COH             158827860045                Gas           Gov. Aggregation
COH             117107060011                Gas           Gov. Aggregation   COH             159122540027                Gas           Gov. Aggregation
COH             136179070015                Gas           Gov. Aggregation   COH             160959250013                Gas           Gov. Aggregation
COH             141486970027                Gas           Gov. Aggregation   COH             161299180017                Gas           Gov. Aggregation
COH             170325450012                Gas           Gov. Aggregation   COH             115011940011                Gas           Gov. Aggregation
COH             148171070017                Gas           Gov. Aggregation   COH             125785690031                Gas           Gov. Aggregation
COH             117106380016                Gas           Gov. Aggregation   COH             135426250013                Gas           Gov. Aggregation
COH             108839930018                Gas           Gov. Aggregation   COH             135449520027                Gas           Gov. Aggregation
COH             138438530016                Gas           Gov. Aggregation   COH             135456830027                Gas           Gov. Aggregation
COH             154466360013                Gas           Gov. Aggregation   COH             135604250024                Gas           Gov. Aggregation
COH             157462800079                Gas           Gov. Aggregation   COH             135632840012                Gas           Gov. Aggregation
COH             158500730017                Gas           Gov. Aggregation   COH             135828170018                Gas           Gov. Aggregation
COH             167943610013                Gas           Gov. Aggregation   COH             137992860023                Gas           Gov. Aggregation
COH             168426960015                Gas           Gov. Aggregation   COH             138072330014                Gas           Gov. Aggregation
COH             169377370013                Gas           Gov. Aggregation   COH             138089970015                Gas           Gov. Aggregation
COH             170600790017                Gas           Gov. Aggregation   COH             138221850027                Gas           Gov. Aggregation
COH             110439060015                Gas           Gov. Aggregation   COH             139133360017                Gas           Gov. Aggregation
COH             161532980013                Gas           Gov. Aggregation   COH             139176900022                Gas           Gov. Aggregation
COH             165559290045                Gas           Gov. Aggregation   COH             141547870028                Gas           Gov. Aggregation
COH             147550700020                Gas           Gov. Aggregation   COH             141588690011                Gas           Gov. Aggregation
COH             117041800015                Gas           Gov. Aggregation   COH             141657430036                Gas           Gov. Aggregation
COH             163997180024                Gas           Gov. Aggregation   COH             141705940018                Gas           Gov. Aggregation
COH             162537570018                Gas           Gov. Aggregation   COH             141839420023                Gas           Gov. Aggregation
COH             146912280013                Gas           Gov. Aggregation   COH             141853380022                Gas           Gov. Aggregation
COH             171788790010                Gas           Gov. Aggregation   COH             143161990010                Gas           Gov. Aggregation
COH             120429660027                Gas           Gov. Aggregation   COH             143254050038                Gas           Gov. Aggregation
COH             147741080035                Gas           Gov. Aggregation   COH             143348740016                Gas           Gov. Aggregation
COH             159527990016                Gas           Gov. Aggregation   COH             143730590017                Gas           Gov. Aggregation
COH             133853290012                Gas           Gov. Aggregation   COH             143764630062                Gas           Gov. Aggregation
COH             136890930025                Gas           Gov. Aggregation   COH             143775000025                Gas           Gov. Aggregation
COH             118409530020                Gas           Gov. Aggregation   COH             143778790024                Gas           Gov. Aggregation
COH             117106770023                Gas           Gov. Aggregation   COH             143782230022                Gas           Gov. Aggregation
COH             149930160026                Gas           Gov. Aggregation   COH             115080960067                Gas           Gov. Aggregation
COH             120467600029                Gas           Gov. Aggregation   COH             115082370012                Gas           Gov. Aggregation
COH             157997920026                Gas           Gov. Aggregation   COH             116585530020                Gas           Gov. Aggregation
COH             117241440017                Gas           Gov. Aggregation   COH             116646610032                Gas           Gov. Aggregation
COH             130891080037                Gas           Gov. Aggregation   COH             123605340018                Gas           Gov. Aggregation
COH             167887640017                Gas           Gov. Aggregation   COH             173177000018                Gas           Gov. Aggregation
COH             134479890037                Gas           Gov. Aggregation   COH             173220960014                Gas           Gov. Aggregation
COH             173499270010                Gas           Gov. Aggregation   COH             173329990018                Gas           Gov. Aggregation
COH             144881010027                Gas           Gov. Aggregation   COH             173481780010                Gas           Gov. Aggregation
COH             170993690017                Gas           Gov. Aggregation   COH             173519910011                Gas           Gov. Aggregation
COH             149917780024                Gas           Gov. Aggregation   COH             173524820019                Gas           Gov. Aggregation
COH             164142280023                Gas           Gov. Aggregation   COH             173838560019                Gas           Gov. Aggregation
COH             152685610018                Gas           Gov. Aggregation   COH             173868530012                Gas           Gov. Aggregation
COH             149367160021                Gas           Gov. Aggregation   COH             173878240012                Gas           Gov. Aggregation
COH             116998960025                Gas           Gov. Aggregation   COH             173885880022                Gas           Gov. Aggregation
COH             146023450012                Gas           Gov. Aggregation   COH             173953970019                Gas           Gov. Aggregation
COH             153643680011                Gas           Gov. Aggregation   COH             173962260019                Gas           Gov. Aggregation
COH             172156380014                Gas           Gov. Aggregation   COH             174060790019                Gas           Gov. Aggregation
COH             140326080014                Gas           Gov. Aggregation   COH             174060820012                Gas           Gov. Aggregation
COH             158763970011                Gas           Gov. Aggregation   COH             170252030033                Gas           Gov. Aggregation
COH             117292810021                Gas           Gov. Aggregation   COH             170371940012                Gas           Gov. Aggregation
COH             117351240025                Gas           Gov. Aggregation   COH             170778920023                Gas           Gov. Aggregation
COH             140251120014                Gas           Gov. Aggregation   COH             171560420028                Gas           Gov. Aggregation
COH             140808600021                Gas           Gov. Aggregation   COH             171933240025                Gas           Gov. Aggregation
COH             175112670012                Gas           Gov. Aggregation   COH             171974970026                Gas           Gov. Aggregation
COH             162900910015                Gas           Gov. Aggregation   COH             172176970027                Gas           Gov. Aggregation
COH             129195720031                Gas           Gov. Aggregation   COH             172395100016                Gas           Gov. Aggregation
COH             150950080019                Gas           Gov. Aggregation   COH             172462580013                Gas           Gov. Aggregation
COH             166416410013                Gas           Gov. Aggregation   COH             123916130013                Gas           Gov. Aggregation
COH             164931520010                Gas           Gov. Aggregation   COH             138053410026                Gas           Gov. Aggregation
COH             126809220045                Gas           Gov. Aggregation   COH             111515670078                Gas           Gov. Aggregation
COH             137743010019                Gas           Gov. Aggregation   COH             111515670069                Gas           Gov. Aggregation
COH             160793550012                Gas           Gov. Aggregation   COH             111515670121                Gas           Gov. Aggregation
COH             153683330010                Gas           Gov. Aggregation   COH             172676300018                Gas           Gov. Aggregation
COH             117041680011                Gas           Gov. Aggregation   COH             172871320010                Gas           Gov. Aggregation
COH             138217000033                Gas           Gov. Aggregation   COH             172904840010                Gas           Gov. Aggregation
COH             169839640016                Gas           Gov. Aggregation   COH             172939990034                Gas           Gov. Aggregation
COH             117113440018                Gas           Gov. Aggregation   COH             173106400022                Gas           Gov. Aggregation
COH             168686490023                Gas           Gov. Aggregation   COH             174237740014                Gas           Gov. Aggregation
COH             129163210017                Gas           Gov. Aggregation   COH             128809000012                Gas           Gov. Aggregation
COH             174197790010                Gas           Gov. Aggregation   COH             128877980041                Gas           Gov. Aggregation
COH             148666610023                Gas           Gov. Aggregation   COH             128930440031                Gas           Gov. Aggregation
COH             151349010713                Gas           Gov. Aggregation   COH             128967770017                Gas           Gov. Aggregation
COH             151349010875                Gas           Gov. Aggregation   COH             128983180026                Gas           Gov. Aggregation
COH             117213710028                Gas           Gov. Aggregation   COH             129113980011                Gas           Gov. Aggregation
COH             156790450015                Gas           Gov. Aggregation   COH             129947360032                Gas           Gov. Aggregation
COH             142579250020                Gas           Gov. Aggregation   COH             130315310010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             162203210038                Gas           Gov. Aggregation   COH             130332200017                Gas           Gov. Aggregation
COH             108818600020                Gas           Gov. Aggregation   COH             164905120037                Gas           Gov. Aggregation
COH             108818820024                Gas           Gov. Aggregation   COH             165699110037                Gas           Gov. Aggregation
COH             108819420026                Gas           Gov. Aggregation   COH             165941240017                Gas           Gov. Aggregation
COH             108819900016                Gas           Gov. Aggregation   COH             165975760017                Gas           Gov. Aggregation
COH             108833180018                Gas           Gov. Aggregation   COH             166036710016                Gas           Gov. Aggregation
COH             130274650026                Gas           Gov. Aggregation   COH             166436420019                Gas           Gov. Aggregation
COH             130420510060                Gas           Gov. Aggregation   COH             166436690022                Gas           Gov. Aggregation
COH             132112510016                Gas           Gov. Aggregation   COH             166436690068                Gas           Gov. Aggregation
COH             134659520014                Gas           Gov. Aggregation   COH             166668610018                Gas           Gov. Aggregation
COH             136225190020                Gas           Gov. Aggregation   COH             167366760025                Gas           Gov. Aggregation
COH             151565450026                Gas           Gov. Aggregation   COH             167507810024                Gas           Gov. Aggregation
COH             153786110018                Gas           Gov. Aggregation   COH             167734990026                Gas           Gov. Aggregation
COH             154080250023                Gas           Gov. Aggregation   COH             168930770034                Gas           Gov. Aggregation
COH             154721400021                Gas           Gov. Aggregation   COH             131236510024                Gas           Gov. Aggregation
COH             155749580025                Gas           Gov. Aggregation   COH             131661340056                Gas           Gov. Aggregation
COH             162878990018                Gas           Gov. Aggregation   COH             132489100024                Gas           Gov. Aggregation
COH             165159830012                Gas           Gov. Aggregation   COH             132712720029                Gas           Gov. Aggregation
COH             165235190015                Gas           Gov. Aggregation   COH             132810680011                Gas           Gov. Aggregation
COH             166179300010                Gas           Gov. Aggregation   COH             132837960043                Gas           Gov. Aggregation
COH             173430280012                Gas           Gov. Aggregation   COH             132837960052                Gas           Gov. Aggregation
COH             174455770016                Gas           Gov. Aggregation   COH             133917560037                Gas           Gov. Aggregation
COH             175331210014                Gas           Gov. Aggregation   COH             134168860014                Gas           Gov. Aggregation
COH             176611850015                Gas           Gov. Aggregation   COH             134268480012                Gas           Gov. Aggregation
COH             164763790011                Gas           Gov. Aggregation   COH             134455590012                Gas           Gov. Aggregation
COH             165232350017                Gas           Gov. Aggregation   COH             144628880021                Gas           Gov. Aggregation
COH             171558410016                Gas           Gov. Aggregation   COH             144811650020                Gas           Gov. Aggregation
COH             145234980079                Gas           Gov. Aggregation   COH             144873610019                Gas           Gov. Aggregation
COH             151684280020                Gas           Gov. Aggregation   COH             145744840040                Gas           Gov. Aggregation
COH             162426990015                Gas           Gov. Aggregation   COH             145744840059                Gas           Gov. Aggregation
COH             147954960048                Gas           Gov. Aggregation   COH             145744840068                Gas           Gov. Aggregation
COH             132678270019                Gas           Gov. Aggregation   COH             145744840077                Gas           Gov. Aggregation
COH             138856480011                Gas           Gov. Aggregation   COH             145744840086                Gas           Gov. Aggregation
COH             144646030021                Gas           Gov. Aggregation   COH             145763100036                Gas           Gov. Aggregation
COH             167554310020                Gas           Gov. Aggregation   COH             146011580029                Gas           Gov. Aggregation
COH             133327560010                Gas           Gov. Aggregation   COH             146805890012                Gas           Gov. Aggregation
COH             141730430021                Gas           Gov. Aggregation   COH             146990060024                Gas           Gov. Aggregation
COH             118265520046                Gas           Gov. Aggregation   COH             147141750036                Gas           Gov. Aggregation
COH             174881250012                Gas           Gov. Aggregation   COH             147213750024                Gas           Gov. Aggregation
COH             155825950016                Gas           Gov. Aggregation   COH             147400920012                Gas           Gov. Aggregation
COH             165106390016                Gas           Gov. Aggregation   COH             147435370015                Gas           Gov. Aggregation
COH             175544060015                Gas           Gov. Aggregation   COH             147894090012                Gas           Gov. Aggregation
COH             166204490016                Gas           Gov. Aggregation   COH             147943850017                Gas           Gov. Aggregation
COH             169078430014                Gas           Gov. Aggregation   COH             148030810028                Gas           Gov. Aggregation
COH             149382930027                Gas           Gov. Aggregation   COH             148168320048                Gas           Gov. Aggregation
COH             148652440037                Gas           Gov. Aggregation   COH             149769790027                Gas           Gov. Aggregation
COH             175810150011                Gas           Gov. Aggregation   COH             149862060013                Gas           Gov. Aggregation
COH             117083180027                Gas           Gov. Aggregation   COH             150027840025                Gas           Gov. Aggregation
COH             152047450014                Gas           Gov. Aggregation   COH             150164660032                Gas           Gov. Aggregation
COH             117907520045                Gas           Gov. Aggregation   COH             150322800036                Gas           Gov. Aggregation
COH             165232380011                Gas           Gov. Aggregation   COH             151111230014                Gas           Gov. Aggregation
COH             127638220010                Gas           Gov. Aggregation   COH             151501370018                Gas           Gov. Aggregation
COH             133483770016                Gas           Gov. Aggregation   COH             176711970018                Gas           Gov. Aggregation
COH             165849730010                Gas           Gov. Aggregation   COH             176718010015                Gas           Gov. Aggregation
COH             117068660028                Gas           Gov. Aggregation   COH             176765170013                Gas           Gov. Aggregation
COH             177592250012                Gas           Gov. Aggregation   COH             157956610018                Gas           Gov. Aggregation
COH             172801130017                Gas           Gov. Aggregation   COH             157980360029                Gas           Gov. Aggregation
COH             117165770038                Gas           Gov. Aggregation   COH             158015310014                Gas           Gov. Aggregation
COH             155723740025                Gas           Gov. Aggregation   COH             158499650028                Gas           Gov. Aggregation
COH             146071140034                Gas           Gov. Aggregation   COH             158855660011                Gas           Gov. Aggregation
COH             133346590023                Gas           Gov. Aggregation   COH             158885410038                Gas           Gov. Aggregation
COH             170565420010                Gas           Gov. Aggregation   COH             159224980010                Gas           Gov. Aggregation
COH             134851160012                Gas           Gov. Aggregation   COH             159307980014                Gas           Gov. Aggregation
COH             157558780017                Gas           Gov. Aggregation   COH             159406870017                Gas           Gov. Aggregation
COH             117038640034                Gas           Gov. Aggregation   COH             160011640037                Gas           Gov. Aggregation
COH             163620300016                Gas           Gov. Aggregation   COH             160193690015                Gas           Gov. Aggregation
COH             147265780038                Gas           Gov. Aggregation   COH             160207550013                Gas           Gov. Aggregation
COH             167294270030                Gas           Gov. Aggregation   COH             160207550022                Gas           Gov. Aggregation
COH             152047690023                Gas           Gov. Aggregation   COH             160959430015                Gas           Gov. Aggregation
COH             176475030017                Gas           Gov. Aggregation   COH             161363100025                Gas           Gov. Aggregation
COH             114964200018                Gas           Gov. Aggregation   COH             161418520011                Gas           Gov. Aggregation
COH             176903720031                Gas           Gov. Aggregation   COH             161451360088                Gas           Gov. Aggregation
COH             167237730033                Gas           Gov. Aggregation   COH             161737540011                Gas           Gov. Aggregation
COH             111215360033                Gas           Gov. Aggregation   COH             162916070019                Gas           Gov. Aggregation
COH             111250670016                Gas           Gov. Aggregation   COH             162968190328                Gas           Gov. Aggregation
COH             111251020010                Gas           Gov. Aggregation   COH             163516550015                Gas           Gov. Aggregation
COH             111251240014                Gas           Gov. Aggregation   COH             176844070016                Gas           Gov. Aggregation
COH             111251270018                Gas           Gov. Aggregation   COH             176844090012                Gas           Gov. Aggregation
COH             111251330015                Gas           Gov. Aggregation   COH             176852460017                Gas           Gov. Aggregation
COH             111251380015                Gas           Gov. Aggregation   COH             176852470015                Gas           Gov. Aggregation
COH             111255320019                Gas           Gov. Aggregation   COH             176852480013                Gas           Gov. Aggregation
COH             111255400030                Gas           Gov. Aggregation   COH             176852490011                Gas           Gov. Aggregation
COH             111255400049                Gas           Gov. Aggregation   COH             176852500018                Gas           Gov. Aggregation
COH             111255820014                Gas           Gov. Aggregation   COH             176854590016                Gas           Gov. Aggregation
COH             111255920022                Gas           Gov. Aggregation   COH             115041050024                Gas           Gov. Aggregation
COH             111256070010                Gas           Gov. Aggregation   COH             115041840028                Gas           Gov. Aggregation
COH             111260190016                Gas           Gov. Aggregation   COH             115042360018                Gas           Gov. Aggregation
COH             161854300013                Gas           Gov. Aggregation   COH             115048640026                Gas           Gov. Aggregation
COH             151054850025                Gas           Gov. Aggregation   COH             115048750032                Gas           Gov. Aggregation
COH             118024290027                Gas           Gov. Aggregation   COH             115052120053                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             117107720012                Gas           Gov. Aggregation   COH             115060410028                Gas           Gov. Aggregation
COH             132677690013                Gas           Gov. Aggregation   COH             172801790019                Gas           Gov. Aggregation
COH             160101420023                Gas           Gov. Aggregation   COH             173166820019                Gas           Gov. Aggregation
COH             161031450043                Gas           Gov. Aggregation   COH             174500970017                Gas           Gov. Aggregation
COH             144657830039                Gas           Gov. Aggregation   COH             174572490017                Gas           Gov. Aggregation
COH             117218090010                Gas           Gov. Aggregation   COH             148108200012                Gas           Gov. Aggregation
COH             164424450010                Gas           Gov. Aggregation   COH             148309880014                Gas           Gov. Aggregation
COH             167917400012                Gas           Gov. Aggregation   COH             148551450075                Gas           Gov. Aggregation
COH             117221020026                Gas           Gov. Aggregation   COH             149664080019                Gas           Gov. Aggregation
COH             117243550010                Gas           Gov. Aggregation   COH             150130070019                Gas           Gov. Aggregation
COH             117347770032                Gas           Gov. Aggregation   COH             161823460015                Gas           Gov. Aggregation
COH             152760990019                Gas           Gov. Aggregation   COH             162502780017                Gas           Gov. Aggregation
COH             154731100014                Gas           Gov. Aggregation   COH             162755470017                Gas           Gov. Aggregation
COH             149012270010                Gas           Gov. Aggregation   COH             162963240014                Gas           Gov. Aggregation
COH             147056110013                Gas           Gov. Aggregation   COH             115001690015                Gas           Gov. Aggregation
COH             155019670032                Gas           Gov. Aggregation   COH             157342050017                Gas           Gov. Aggregation
COH             149454420030                Gas           Gov. Aggregation   COH             157355810047                Gas           Gov. Aggregation
COH             169994090023                Gas           Gov. Aggregation   COH             157361560010                Gas           Gov. Aggregation
COH             117173220027                Gas           Gov. Aggregation   COH             157845250037                Gas           Gov. Aggregation
COH             166438020028                Gas           Gov. Aggregation   COH             157866730041                Gas           Gov. Aggregation
COH             141624360030                Gas           Gov. Aggregation   COH             175749710014                Gas           Gov. Aggregation
COH             139372610018                Gas           Gov. Aggregation   COH             175757320019                Gas           Gov. Aggregation
COH             173929360018                Gas           Gov. Aggregation   COH             175770460012                Gas           Gov. Aggregation
COH             157459580019                Gas           Gov. Aggregation   COH             175929400017                Gas           Gov. Aggregation
COH             165415420023                Gas           Gov. Aggregation   COH             175929720010                Gas           Gov. Aggregation
COH             175634770015                Gas           Gov. Aggregation   COH             175931650010                Gas           Gov. Aggregation
COH             177380970010                Gas           Gov. Aggregation   COH             175972940077                Gas           Gov. Aggregation
COH             141980410035                Gas           Gov. Aggregation   COH             176257880011                Gas           Gov. Aggregation
COH             117116050023                Gas           Gov. Aggregation   COH             176310470013                Gas           Gov. Aggregation
COH             151065980016                Gas           Gov. Aggregation   COH             176324010010                Gas           Gov. Aggregation
COH             185184010017                Gas           Gov. Aggregation   COH             153373130019                Gas           Gov. Aggregation
COH             173411560013                Gas           Gov. Aggregation   COH             154116010017                Gas           Gov. Aggregation
COH             137001100030                Gas           Gov. Aggregation   COH             154399210044                Gas           Gov. Aggregation
COH             173088900027                Gas           Gov. Aggregation   COH             175395950015                Gas           Gov. Aggregation
COH             154150840020                Gas           Gov. Aggregation   COH             175805640019                Gas           Gov. Aggregation
COH             154416940016                Gas           Gov. Aggregation   COH             175919320015                Gas           Gov. Aggregation
COH             154426910011                Gas           Gov. Aggregation   COH             175999900015                Gas           Gov. Aggregation
COH             154552570025                Gas           Gov. Aggregation   COH             176339660013                Gas           Gov. Aggregation
COH             155905720041                Gas           Gov. Aggregation   COH             110453410011                Gas           Gov. Aggregation
COH             156324080056                Gas           Gov. Aggregation   COH             110453810026                Gas           Gov. Aggregation
COH             156485520017                Gas           Gov. Aggregation   COH             110454350012                Gas           Gov. Aggregation
COH             156679970012                Gas           Gov. Aggregation   COH             110454540012                Gas           Gov. Aggregation
COH             159079370026                Gas           Gov. Aggregation   COH             110467700011                Gas           Gov. Aggregation
COH             159356420036                Gas           Gov. Aggregation   COH             110483480014                Gas           Gov. Aggregation
COH             161053620032                Gas           Gov. Aggregation   COH             110483500019                Gas           Gov. Aggregation
COH             162183280029                Gas           Gov. Aggregation   COH             110483690010                Gas           Gov. Aggregation
COH             162346110019                Gas           Gov. Aggregation   COH             110483770013                Gas           Gov. Aggregation
COH             162784790019                Gas           Gov. Aggregation   COH             110483800025                Gas           Gov. Aggregation
COH             162845400010                Gas           Gov. Aggregation   COH             115143560021                Gas           Gov. Aggregation
COH             162878550029                Gas           Gov. Aggregation   COH             115143680017                Gas           Gov. Aggregation
COH             163359870012                Gas           Gov. Aggregation   COH             115143870017                Gas           Gov. Aggregation
COH             138146830012                Gas           Gov. Aggregation   COH             115144060033                Gas           Gov. Aggregation
COH             165477470014                Gas           Gov. Aggregation   COH             115144120012                Gas           Gov. Aggregation
COH             166078500012                Gas           Gov. Aggregation   COH             115144260013                Gas           Gov. Aggregation
COH             166083380017                Gas           Gov. Aggregation   COH             115154430016                Gas           Gov. Aggregation
COH             166140210010                Gas           Gov. Aggregation   COH             115154460029                Gas           Gov. Aggregation
COH             167394720033                Gas           Gov. Aggregation   COH             115154470018                Gas           Gov. Aggregation
COH             167917190017                Gas           Gov. Aggregation   COH             115154500011                Gas           Gov. Aggregation
COH             168756690031                Gas           Gov. Aggregation   COH             115156580011                Gas           Gov. Aggregation
COH             168886920019                Gas           Gov. Aggregation   COH             115156590028                Gas           Gov. Aggregation
COH             168992270057                Gas           Gov. Aggregation   COH             115169790029                Gas           Gov. Aggregation
COH             169238960013                Gas           Gov. Aggregation   COH             115170030016                Gas           Gov. Aggregation
COH             170774920012                Gas           Gov. Aggregation   COH             115170050012                Gas           Gov. Aggregation
COH             171476070012                Gas           Gov. Aggregation   COH             115172470010                Gas           Gov. Aggregation
COH             171539970019                Gas           Gov. Aggregation   COH             115175690018                Gas           Gov. Aggregation
COH             172024740017                Gas           Gov. Aggregation   COH             115176690016                Gas           Gov. Aggregation
COH             173248620017                Gas           Gov. Aggregation   COH             128704980028                Gas           Gov. Aggregation
COH             173313690014                Gas           Gov. Aggregation   COH             128795590010                Gas           Gov. Aggregation
COH             173407140010                Gas           Gov. Aggregation   COH             128842650016                Gas           Gov. Aggregation
COH             174298130014                Gas           Gov. Aggregation   COH             114988070016                Gas           Gov. Aggregation
COH             174523160019                Gas           Gov. Aggregation   COH             114992520021                Gas           Gov. Aggregation
COH             162983040014                Gas           Gov. Aggregation   COH             114993320030                Gas           Gov. Aggregation
COH             162992570014                Gas           Gov. Aggregation   COH             114996170018                Gas           Gov. Aggregation
COH             163809820017                Gas           Gov. Aggregation   COH             114997620011                Gas           Gov. Aggregation
COH             164081490010                Gas           Gov. Aggregation   COH             115000260026                Gas           Gov. Aggregation
COH             164107340015                Gas           Gov. Aggregation   COH             115001040011                Gas           Gov. Aggregation
COH             164560800018                Gas           Gov. Aggregation   COH             115001240028                Gas           Gov. Aggregation
COH             165561690019                Gas           Gov. Aggregation   COH             115004800015                Gas           Gov. Aggregation
COH             165858980019                Gas           Gov. Aggregation   COH             115005050011                Gas           Gov. Aggregation
COH             166104090058                Gas           Gov. Aggregation   COH             115005060028                Gas           Gov. Aggregation
COH             167356730013                Gas           Gov. Aggregation   COH             115005300027                Gas           Gov. Aggregation
COH             167766250033                Gas           Gov. Aggregation   COH             115006230020                Gas           Gov. Aggregation
COH             167904170018                Gas           Gov. Aggregation   COH             115006290019                Gas           Gov. Aggregation
COH             168232820015                Gas           Gov. Aggregation   COH             115011730015                Gas           Gov. Aggregation
COH             169554830010                Gas           Gov. Aggregation   COH             115011750011                Gas           Gov. Aggregation
COH             169581090019                Gas           Gov. Aggregation   COH             115012060014                Gas           Gov. Aggregation
COH             169732110031                Gas           Gov. Aggregation   COH             115012490014                Gas           Gov. Aggregation
COH             169751200014                Gas           Gov. Aggregation   COH             115012650010                Gas           Gov. Aggregation
COH             170673950010                Gas           Gov. Aggregation   COH             115014880018                Gas           Gov. Aggregation
COH             171508770016                Gas           Gov. Aggregation   COH             115015020025                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             171668140010                Gas           Gov. Aggregation   COH             115015460032                Gas           Gov. Aggregation
COH             172064670018                Gas           Gov. Aggregation   COH             115016960017                Gas           Gov. Aggregation
COH             172544320013                Gas           Gov. Aggregation   COH             115017560019                Gas           Gov. Aggregation
COH             172624570011                Gas           Gov. Aggregation   COH             115018290014                Gas           Gov. Aggregation
COH             173853290023                Gas           Gov. Aggregation   COH             115021170012                Gas           Gov. Aggregation
COH             173981870011                Gas           Gov. Aggregation   COH             115021450013                Gas           Gov. Aggregation
COH             173987010019                Gas           Gov. Aggregation   COH             115022100014                Gas           Gov. Aggregation
COH             174809090018                Gas           Gov. Aggregation   COH             115022490013                Gas           Gov. Aggregation
COH             175269310016                Gas           Gov. Aggregation   COH             115024090022                Gas           Gov. Aggregation
COH             175364160016                Gas           Gov. Aggregation   COH             115028670013                Gas           Gov. Aggregation
COH             175513040023                Gas           Gov. Aggregation   COH             115029210026                Gas           Gov. Aggregation
COH             175847560018                Gas           Gov. Aggregation   COH             115029690044                Gas           Gov. Aggregation
COH             175905700014                Gas           Gov. Aggregation   COH             115030400014                Gas           Gov. Aggregation
COH             175975470016                Gas           Gov. Aggregation   COH             115030940020                Gas           Gov. Aggregation
COH             176176140027                Gas           Gov. Aggregation   COH             115036740020                Gas           Gov. Aggregation
COH             176863850012                Gas           Gov. Aggregation   COH             115038420014                Gas           Gov. Aggregation
COH             121855930115                Gas           Gov. Aggregation   COH             136557780014                Gas           Gov. Aggregation
COH             121855930124                Gas           Gov. Aggregation   COH             139421900085                Gas           Gov. Aggregation
COH             121855930188                Gas           Gov. Aggregation   COH             141124580016                Gas           Gov. Aggregation
COH             121855930204                Gas           Gov. Aggregation   COH             141201970010                Gas           Gov. Aggregation
COH             121855930213                Gas           Gov. Aggregation   COH             156480100015                Gas           Gov. Aggregation
COH             127662160012                Gas           Gov. Aggregation   COH             114928850027                Gas           Gov. Aggregation
COH             129633490021                Gas           Gov. Aggregation   COH             114930840015                Gas           Gov. Aggregation
COH             130114420022                Gas           Gov. Aggregation   COH             114931080013                Gas           Gov. Aggregation
COH             130190520012                Gas           Gov. Aggregation   COH             114931240028                Gas           Gov. Aggregation
COH             130287160013                Gas           Gov. Aggregation   COH             114931340018                Gas           Gov. Aggregation
COH             130533220017                Gas           Gov. Aggregation   COH             114934080017                Gas           Gov. Aggregation
COH             133914610023                Gas           Gov. Aggregation   COH             114937030020                Gas           Gov. Aggregation
COH             134290880039                Gas           Gov. Aggregation   COH             114944890016                Gas           Gov. Aggregation
COH             136075590025                Gas           Gov. Aggregation   COH             114944990042                Gas           Gov. Aggregation
COH             136231540014                Gas           Gov. Aggregation   COH             114949430012                Gas           Gov. Aggregation
COH             136663930017                Gas           Gov. Aggregation   COH             114955330010                Gas           Gov. Aggregation
COH             136890990014                Gas           Gov. Aggregation   COH             114956130038                Gas           Gov. Aggregation
COH             136895090013                Gas           Gov. Aggregation   COH             114959080024                Gas           Gov. Aggregation
COH             138019700027                Gas           Gov. Aggregation   COH             114959360016                Gas           Gov. Aggregation
COH             138457960052                Gas           Gov. Aggregation   COH             114959420013                Gas           Gov. Aggregation
COH             138578750014                Gas           Gov. Aggregation   COH             114961010014                Gas           Gov. Aggregation
COH             138946450016                Gas           Gov. Aggregation   COH             114961520017                Gas           Gov. Aggregation
COH             139165260039                Gas           Gov. Aggregation   COH             114961760017                Gas           Gov. Aggregation
COH             140980590020                Gas           Gov. Aggregation   COH             114964520011                Gas           Gov. Aggregation
COH             141159280025                Gas           Gov. Aggregation   COH             114964620010                Gas           Gov. Aggregation
COH             141172070012                Gas           Gov. Aggregation   COH             114964720019                Gas           Gov. Aggregation
COH             141346540014                Gas           Gov. Aggregation   COH             114964820018                Gas           Gov. Aggregation
COH             115228900010                Gas           Gov. Aggregation   COH             114964920017                Gas           Gov. Aggregation
COH             131951300013                Gas           Gov. Aggregation   COH             114965020014                Gas           Gov. Aggregation
COH             110628020030                Gas           Gov. Aggregation   COH             114965530017                Gas           Gov. Aggregation
COH             111211940011                Gas           Gov. Aggregation   COH             114965900019                Gas           Gov. Aggregation
COH             111221790021                Gas           Gov. Aggregation   COH             114968680010                Gas           Gov. Aggregation
COH             111222180018                Gas           Gov. Aggregation   COH             114968690018                Gas           Gov. Aggregation
COH             111229030033                Gas           Gov. Aggregation   COH             114968700015                Gas           Gov. Aggregation
COH             111229050011                Gas           Gov. Aggregation   COH             114968920028                Gas           Gov. Aggregation
COH             111229260017                Gas           Gov. Aggregation   COH             114968930017                Gas           Gov. Aggregation
COH             111229490037                Gas           Gov. Aggregation   COH             114974270013                Gas           Gov. Aggregation
COH             111229650024                Gas           Gov. Aggregation   COH             174564930011                Gas           Gov. Aggregation
COH             111238530011                Gas           Gov. Aggregation   COH             174963960019                Gas           Gov. Aggregation
COH             111238750015                Gas           Gov. Aggregation   COH             175022350010                Gas           Gov. Aggregation
COH             111238820038                Gas           Gov. Aggregation   COH             175029590016                Gas           Gov. Aggregation
COH             111238970019                Gas           Gov. Aggregation   COH             175029600013                Gas           Gov. Aggregation
COH             111239060018                Gas           Gov. Aggregation   COH             175053280010                Gas           Gov. Aggregation
COH             111246210020                Gas           Gov. Aggregation   COH             175366440013                Gas           Gov. Aggregation
COH             111246470017                Gas           Gov. Aggregation   COH             175402080011                Gas           Gov. Aggregation
COH             111246580014                Gas           Gov. Aggregation   COH             175468520010                Gas           Gov. Aggregation
COH             111265420026                Gas           Gov. Aggregation   COH             175677650010                Gas           Gov. Aggregation
COH             111265650019                Gas           Gov. Aggregation   COH             114974810019                Gas           Gov. Aggregation
COH             111265670015                Gas           Gov. Aggregation   COH             114975040037                Gas           Gov. Aggregation
COH             111265800017                Gas           Gov. Aggregation   COH             114978670020                Gas           Gov. Aggregation
COH             111266080026                Gas           Gov. Aggregation   COH             114978740016                Gas           Gov. Aggregation
COH             111267620011                Gas           Gov. Aggregation   COH             114978870019                Gas           Gov. Aggregation
COH             111275650018                Gas           Gov. Aggregation   COH             114979030013                Gas           Gov. Aggregation
COH             111276030016                Gas           Gov. Aggregation   COH             114979070015                Gas           Gov. Aggregation
COH             111276400018                Gas           Gov. Aggregation   COH             114979150018                Gas           Gov. Aggregation
COH             111287090020                Gas           Gov. Aggregation   COH             114980070021                Gas           Gov. Aggregation
COH             129303260028                Gas           Gov. Aggregation   COH             114981860014                Gas           Gov. Aggregation
COH             129898820021                Gas           Gov. Aggregation   COH             114982610023                Gas           Gov. Aggregation
COH             134563080010                Gas           Gov. Aggregation   COH             114983910019                Gas           Gov. Aggregation
COH             134837030028                Gas           Gov. Aggregation   COH             114986220018                Gas           Gov. Aggregation
COH             134982870025                Gas           Gov. Aggregation   COH             114986340013                Gas           Gov. Aggregation
COH             135504150036                Gas           Gov. Aggregation   COH             114987080016                Gas           Gov. Aggregation
COH             135911200023                Gas           Gov. Aggregation   COH             114987300019                Gas           Gov. Aggregation
COH             139010370195                Gas           Gov. Aggregation   COH             114987460016                Gas           Gov. Aggregation
COH             140021480016                Gas           Gov. Aggregation   COH             160354920014                Gas           Gov. Aggregation
COH             143224690019                Gas           Gov. Aggregation   COH             161813110037                Gas           Gov. Aggregation
COH             143730090012                Gas           Gov. Aggregation   COH             164721610016                Gas           Gov. Aggregation
COH             144308950015                Gas           Gov. Aggregation   COH             165362760016                Gas           Gov. Aggregation
COH             144418520012                Gas           Gov. Aggregation   COH             110503120024                Gas           Gov. Aggregation
COH             144568430014                Gas           Gov. Aggregation   COH             110503310015                Gas           Gov. Aggregation
COH             146975620019                Gas           Gov. Aggregation   COH             110519330018                Gas           Gov. Aggregation
COH             147389480020                Gas           Gov. Aggregation   COH             110519500012                Gas           Gov. Aggregation
COH             151456390020                Gas           Gov. Aggregation   COH             166400980017                Gas           Gov. Aggregation
COH             151992790011                Gas           Gov. Aggregation   COH             166539200017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             152497250013                Gas           Gov. Aggregation   COH             170489710011                Gas           Gov. Aggregation
COH             152567530024                Gas           Gov. Aggregation   COH             170579660011                Gas           Gov. Aggregation
COH             124122590019                Gas           Gov. Aggregation   COH             114570890028                Gas           Gov. Aggregation
COH             108847870014                Gas           Gov. Aggregation   COH             114677230039                Gas           Gov. Aggregation
COH             137966910027                Gas           Gov. Aggregation   COH             114884670010                Gas           Gov. Aggregation
COH             141552320013                Gas           Gov. Aggregation   COH             114884850012                Gas           Gov. Aggregation
COH             142591040055                Gas           Gov. Aggregation   COH             114885050027                Gas           Gov. Aggregation
COH             145831100031                Gas           Gov. Aggregation   COH             114885360013                Gas           Gov. Aggregation
COH             145978340022                Gas           Gov. Aggregation   COH             114889840014                Gas           Gov. Aggregation
COH             145978340031                Gas           Gov. Aggregation   COH             114892200011                Gas           Gov. Aggregation
COH             145978340040                Gas           Gov. Aggregation   COH             114893110045                Gas           Gov. Aggregation
COH             145978340059                Gas           Gov. Aggregation   COH             114895610028                Gas           Gov. Aggregation
COH             158777620024                Gas           Gov. Aggregation   COH             114899120087                Gas           Gov. Aggregation
COH             168947660032                Gas           Gov. Aggregation   COH             114901760031                Gas           Gov. Aggregation
COH             169868820026                Gas           Gov. Aggregation   COH             114901920019                Gas           Gov. Aggregation
COH             115016620018                Gas           Gov. Aggregation   COH             114902130013                Gas           Gov. Aggregation
COH             174510020051                Gas           Gov. Aggregation   COH             114905660089                Gas           Gov. Aggregation
COH             177169890015                Gas           Gov. Aggregation   COH             114905750017                Gas           Gov. Aggregation
COH             177222880013                Gas           Gov. Aggregation   COH             114905910013                Gas           Gov. Aggregation
COH             115005900021                Gas           Gov. Aggregation   COH             114906870056                Gas           Gov. Aggregation
COH             143640780027                Gas           Gov. Aggregation   COH             114907120015                Gas           Gov. Aggregation
COH             144280940017                Gas           Gov. Aggregation   COH             114907740015                Gas           Gov. Aggregation
COH             144549080018                Gas           Gov. Aggregation   COH             114915810013                Gas           Gov. Aggregation
COH             146357940012                Gas           Gov. Aggregation   COH             114917870017                Gas           Gov. Aggregation
COH             146708480023                Gas           Gov. Aggregation   COH             114918860017                Gas           Gov. Aggregation
COH             147199820012                Gas           Gov. Aggregation   COH             114920910011                Gas           Gov. Aggregation
COH             147263850019                Gas           Gov. Aggregation   COH             114923370019                Gas           Gov. Aggregation
COH             147288470026                Gas           Gov. Aggregation   COH             114923600029                Gas           Gov. Aggregation
COH             147601660011                Gas           Gov. Aggregation   COH             114924420016                Gas           Gov. Aggregation
COH             147614380013                Gas           Gov. Aggregation   COH             114924420034                Gas           Gov. Aggregation
COH             149651810012                Gas           Gov. Aggregation   COH             114925410016                Gas           Gov. Aggregation
COH             149689920010                Gas           Gov. Aggregation   COH             114925410034                Gas           Gov. Aggregation
COH             149942180018                Gas           Gov. Aggregation   COH             114925880027                Gas           Gov. Aggregation
COH             151170510011                Gas           Gov. Aggregation   COH             109402670026                Gas           Gov. Aggregation
COH             152106900031                Gas           Gov. Aggregation   COH             109466100012                Gas           Gov. Aggregation
COH             152388980011                Gas           Gov. Aggregation   COH             109466240013                Gas           Gov. Aggregation
COH             152521060010                Gas           Gov. Aggregation   COH             109466340021                Gas           Gov. Aggregation
COH             153980610011                Gas           Gov. Aggregation   COH             109466380014                Gas           Gov. Aggregation
COH             154409090029                Gas           Gov. Aggregation   COH             109466400019                Gas           Gov. Aggregation
COH             154416960021                Gas           Gov. Aggregation   COH             109471340039                Gas           Gov. Aggregation
COH             154731510036                Gas           Gov. Aggregation   COH             109472000010                Gas           Gov. Aggregation
COH             154760790019                Gas           Gov. Aggregation   COH             109472090012                Gas           Gov. Aggregation
COH             154933830013                Gas           Gov. Aggregation   COH             109473280010                Gas           Gov. Aggregation
COH             185070090012                Gas           Gov. Aggregation   COH             126911580016                Gas           Gov. Aggregation
COH             186338420013                Gas           Gov. Aggregation   COH             127162320054                Gas           Gov. Aggregation
COH             111211170013                Gas           Gov. Aggregation   COH             131533500017                Gas           Gov. Aggregation
COH             154688490016                Gas           Gov. Aggregation   COH             141042430011                Gas           Gov. Aggregation
COH             157662040011                Gas           Gov. Aggregation   COH             141129360012                Gas           Gov. Aggregation
COH             157719040010                Gas           Gov. Aggregation   COH             142101350011                Gas           Gov. Aggregation
COH             157795930013                Gas           Gov. Aggregation   COH             143094790015                Gas           Gov. Aggregation
COH             157883840015                Gas           Gov. Aggregation   COH             151297650023                Gas           Gov. Aggregation
COH             157912240018                Gas           Gov. Aggregation   COH             151803930010                Gas           Gov. Aggregation
COH             159423810013                Gas           Gov. Aggregation   COH             152410130010                Gas           Gov. Aggregation
COH             159548720018                Gas           Gov. Aggregation   COH             152415140018                Gas           Gov. Aggregation
COH             159657570082                Gas           Gov. Aggregation   COH             152927980017                Gas           Gov. Aggregation
COH             161395360015                Gas           Gov. Aggregation   COH             153017140020                Gas           Gov. Aggregation
COH             161757900013                Gas           Gov. Aggregation   COH             153296230012                Gas           Gov. Aggregation
COH             162127280018                Gas           Gov. Aggregation   COH             153750290016                Gas           Gov. Aggregation
COH             162169360013                Gas           Gov. Aggregation   COH             153974720020                Gas           Gov. Aggregation
COH             185460770012                Gas           Gov. Aggregation   COH             154177020026                Gas           Gov. Aggregation
COH             185689740014                Gas           Gov. Aggregation   COH             154671820020                Gas           Gov. Aggregation
COH             185715990015                Gas           Gov. Aggregation   COH             154729250027                Gas           Gov. Aggregation
COH             186237470017                Gas           Gov. Aggregation   COH             154735630015                Gas           Gov. Aggregation
COH             186346640010                Gas           Gov. Aggregation   COH             154837360016                Gas           Gov. Aggregation
COH             186608300015                Gas           Gov. Aggregation   COH             154854620024                Gas           Gov. Aggregation
COH             187349570018                Gas           Gov. Aggregation   COH             154895410022                Gas           Gov. Aggregation
COH             162075740030                Gas           Gov. Aggregation   COH             155503410011                Gas           Gov. Aggregation
COH             163873750017                Gas           Gov. Aggregation   COH             155675920039                Gas           Gov. Aggregation
COH             166045020012                Gas           Gov. Aggregation   COH             155834990037                Gas           Gov. Aggregation
COH             172415350038                Gas           Gov. Aggregation   COH             155919920013                Gas           Gov. Aggregation
COH             176251860017                Gas           Gov. Aggregation   COH             156779510043                Gas           Gov. Aggregation
COH             177100600019                Gas           Gov. Aggregation   COH             156909360011                Gas           Gov. Aggregation
COH             177370520015                Gas           Gov. Aggregation   COH             156909360039                Gas           Gov. Aggregation
COH             186372320012                Gas           Gov. Aggregation   COH             156947810025                Gas           Gov. Aggregation
COH             186690960014                Gas           Gov. Aggregation   COH             137691640036                Gas           Gov. Aggregation
COH             186876600015                Gas           Gov. Aggregation   COH             141346150089                Gas           Gov. Aggregation
COH             187443740012                Gas           Gov. Aggregation   COH             141429500016                Gas           Gov. Aggregation
COH             154581820049                Gas           Gov. Aggregation   COH             142024900028                Gas           Gov. Aggregation
COH             160412760041                Gas           Gov. Aggregation   COH             166860070014                Gas           Gov. Aggregation
COH             111270700017                Gas           Gov. Aggregation   COH             117083250022                Gas           Gov. Aggregation
COH             111271190013                Gas           Gov. Aggregation   COH             150475660024                Gas           Gov. Aggregation
COH             111271300019                Gas           Gov. Aggregation   COH             164993580045                Gas           Gov. Aggregation
COH             111271310026                Gas           Gov. Aggregation   COH             170528960024                Gas           Gov. Aggregation
COH             111272300017                Gas           Gov. Aggregation   COH             176315740016                Gas           Gov. Aggregation
COH             111279590013                Gas           Gov. Aggregation   COH             138651210011                Gas           Gov. Aggregation
COH             111279640012                Gas           Gov. Aggregation   COH             150437760032                Gas           Gov. Aggregation
COH             111279910015                Gas           Gov. Aggregation   COH             159355140028                Gas           Gov. Aggregation
COH             111289560018                Gas           Gov. Aggregation   COH             175296560017                Gas           Gov. Aggregation
COH             111289570016                Gas           Gov. Aggregation   COH             150826470029                Gas           Gov. Aggregation
COH             111941640035                Gas           Gov. Aggregation   COH             171933090018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             116550840019                Gas           Gov. Aggregation   COH             152468600029                Gas           Gov. Aggregation
COH             124498000035                Gas           Gov. Aggregation   COH             153059900077                Gas           Gov. Aggregation
COH             127039750019                Gas           Gov. Aggregation   COH             159572560011                Gas           Gov. Aggregation
COH             137400530016                Gas           Gov. Aggregation   COH             156972110038                Gas           Gov. Aggregation
COH             138220430027                Gas           Gov. Aggregation   COH             150461720011                Gas           Gov. Aggregation
COH             138519020011                Gas           Gov. Aggregation   COH             117040610017                Gas           Gov. Aggregation
COH             144614740010                Gas           Gov. Aggregation   COH             168224890018                Gas           Gov. Aggregation
COH             145325740012                Gas           Gov. Aggregation   COH             117366650028                Gas           Gov. Aggregation
COH             151461470120                Gas           Gov. Aggregation   COH             154251690037                Gas           Gov. Aggregation
COH             153692700013                Gas           Gov. Aggregation   COH             144358420066                Gas           Gov. Aggregation
COH             154267610012                Gas           Gov. Aggregation   COH             144829780062                Gas           Gov. Aggregation
COH             157358270018                Gas           Gov. Aggregation   COH             159712630018                Gas           Gov. Aggregation
COH             157837040010                Gas           Gov. Aggregation   COH             160805300017                Gas           Gov. Aggregation
COH             158431140018                Gas           Gov. Aggregation   COH             135987050026                Gas           Gov. Aggregation
COH             158821360015                Gas           Gov. Aggregation   COH             167673570024                Gas           Gov. Aggregation
COH             158850440017                Gas           Gov. Aggregation   COH             133067810019                Gas           Gov. Aggregation
COH             162194200013                Gas           Gov. Aggregation   COH             139537350022                Gas           Gov. Aggregation
COH             162863740011                Gas           Gov. Aggregation   COH             185460830019                Gas           Gov. Aggregation
COH             163127230017                Gas           Gov. Aggregation   COH             177625860013                Gas           Gov. Aggregation
COH             163826660015                Gas           Gov. Aggregation   COH             117106620015                Gas           Gov. Aggregation
COH             167349080015                Gas           Gov. Aggregation   COH             157974130020                Gas           Gov. Aggregation
COH             167934660012                Gas           Gov. Aggregation   COH             156846390019                Gas           Gov. Aggregation
COH             168778360025                Gas           Gov. Aggregation   COH             156846350017                Gas           Gov. Aggregation
COH             169131550015                Gas           Gov. Aggregation   COH             153248930016                Gas           Gov. Aggregation
COH             169136650014                Gas           Gov. Aggregation   COH             117497240045                Gas           Gov. Aggregation
COH             172249970031                Gas           Gov. Aggregation   COH             117107460017                Gas           Gov. Aggregation
COH             172272270020                Gas           Gov. Aggregation   COH             163502830015                Gas           Gov. Aggregation
COH             173111410010                Gas           Gov. Aggregation   COH             175752570017                Gas           Gov. Aggregation
COH             110450940025                Gas           Gov. Aggregation   COH             117216970028                Gas           Gov. Aggregation
COH             110465280023                Gas           Gov. Aggregation   COH             130477230024                Gas           Gov. Aggregation
COH             110474470024                Gas           Gov. Aggregation   COH             185336560019                Gas           Gov. Aggregation
COH             110477760027                Gas           Gov. Aggregation   COH             170417030015                Gas           Gov. Aggregation
COH             110482710026                Gas           Gov. Aggregation   COH             117041930018                Gas           Gov. Aggregation
COH             110548920022                Gas           Gov. Aggregation   COH             158155550027                Gas           Gov. Aggregation
COH             111216380019                Gas           Gov. Aggregation   COH             136023640032                Gas           Gov. Aggregation
COH             111216400014                Gas           Gov. Aggregation   COH             166216030017                Gas           Gov. Aggregation
COH             111216450014                Gas           Gov. Aggregation   COH             155707210011                Gas           Gov. Aggregation
COH             111216670018                Gas           Gov. Aggregation   COH             177563820013                Gas           Gov. Aggregation
COH             111216910017                Gas           Gov. Aggregation   COH             143118350024                Gas           Gov. Aggregation
COH             111217010023                Gas           Gov. Aggregation   COH             176673290013                Gas           Gov. Aggregation
COH             111220400033                Gas           Gov. Aggregation   COH             143442530029                Gas           Gov. Aggregation
COH             111220510012                Gas           Gov. Aggregation   COH             155821910012                Gas           Gov. Aggregation
COH             111221310021                Gas           Gov. Aggregation   COH             156494130029                Gas           Gov. Aggregation
COH             111227140034                Gas           Gov. Aggregation   COH             127638240016                Gas           Gov. Aggregation
COH             111227880011                Gas           Gov. Aggregation   COH             159374720017                Gas           Gov. Aggregation
COH             111228060011                Gas           Gov. Aggregation   COH             117085930025                Gas           Gov. Aggregation
COH             111228220017                Gas           Gov. Aggregation   COH             176536350010                Gas           Gov. Aggregation
COH             125804040017                Gas           Gov. Aggregation   COH             167499630012                Gas           Gov. Aggregation
COH             111232590011                Gas           Gov. Aggregation   COH             140120200069                Gas           Gov. Aggregation
COH             111233440010                Gas           Gov. Aggregation   COH             153250340051                Gas           Gov. Aggregation
COH             111234040012                Gas           Gov. Aggregation   COH             117242990010                Gas           Gov. Aggregation
COH             111234050010                Gas           Gov. Aggregation   COH             163170960013                Gas           Gov. Aggregation
COH             111234060018                Gas           Gov. Aggregation   COH             148131210020                Gas           Gov. Aggregation
COH             111234070016                Gas           Gov. Aggregation   COH             137986390034                Gas           Gov. Aggregation
COH             111234070025                Gas           Gov. Aggregation   COH             135334350035                Gas           Gov. Aggregation
COH             111234070034                Gas           Gov. Aggregation   COH             176648250014                Gas           Gov. Aggregation
COH             111234070043                Gas           Gov. Aggregation   COH             155037700019                Gas           Gov. Aggregation
COH             111234070052                Gas           Gov. Aggregation   COH             152470630028                Gas           Gov. Aggregation
COH             111235060016                Gas           Gov. Aggregation   COH             117248550010                Gas           Gov. Aggregation
COH             111235080012                Gas           Gov. Aggregation   COH             117210350020                Gas           Gov. Aggregation
COH             111235480018                Gas           Gov. Aggregation   COH             136808410054                Gas           Gov. Aggregation
COH             111235500013                Gas           Gov. Aggregation   COH             117111250021                Gas           Gov. Aggregation
COH             111235510011                Gas           Gov. Aggregation   COH             149976100022                Gas           Gov. Aggregation
COH             111235530026                Gas           Gov. Aggregation   COH             140203660021                Gas           Gov. Aggregation
COH             111236310011                Gas           Gov. Aggregation   COH             117239180017                Gas           Gov. Aggregation
COH             111236440023                Gas           Gov. Aggregation   COH             145064360016                Gas           Gov. Aggregation
COH             111236670016                Gas           Gov. Aggregation   COH             172039930016                Gas           Gov. Aggregation
COH             111236730013                Gas           Gov. Aggregation   COH             176977050019                Gas           Gov. Aggregation
COH             111236780013                Gas           Gov. Aggregation   COH             157749460019                Gas           Gov. Aggregation
COH             111236810016                Gas           Gov. Aggregation   COH             160018070015                Gas           Gov. Aggregation
COH             111236990019                Gas           Gov. Aggregation   COH             146438430017                Gas           Gov. Aggregation
COH             111262940014                Gas           Gov. Aggregation   COH             117526800053                Gas           Gov. Aggregation
COH             111263260024                Gas           Gov. Aggregation   COH             158785580026                Gas           Gov. Aggregation
COH             111263290019                Gas           Gov. Aggregation   COH             136743090014                Gas           Gov. Aggregation
COH             111264410011                Gas           Gov. Aggregation   COH             150723760035                Gas           Gov. Aggregation
COH             111264440024                Gas           Gov. Aggregation   COH             167151260016                Gas           Gov. Aggregation
COH             111264490015                Gas           Gov. Aggregation   COH             158093730012                Gas           Gov. Aggregation
COH             111264500021                Gas           Gov. Aggregation   COH             155973280023                Gas           Gov. Aggregation
COH             111264700047                Gas           Gov. Aggregation   COH             167598180017                Gas           Gov. Aggregation
COH             111264940010                Gas           Gov. Aggregation   COH             130596960029                Gas           Gov. Aggregation
COH             111269660019                Gas           Gov. Aggregation   COH             132214090019                Gas           Gov. Aggregation
COH             111269910016                Gas           Gov. Aggregation   COH             163562020019                Gas           Gov. Aggregation
COH             111272800012                Gas           Gov. Aggregation   COH             173063930014                Gas           Gov. Aggregation
COH             111274800018                Gas           Gov. Aggregation   COH             143034790039                Gas           Gov. Aggregation
COH             111274850018                Gas           Gov. Aggregation   COH             162162750015                Gas           Gov. Aggregation
COH             111274920013                Gas           Gov. Aggregation   COH             169468350014                Gas           Gov. Aggregation
COH             111282420020                Gas           Gov. Aggregation   COH             176688830018                Gas           Gov. Aggregation
COH             111282570029                Gas           Gov. Aggregation   COH             131771000018                Gas           Gov. Aggregation
COH             111282620019                Gas           Gov. Aggregation   COH             117251140019                Gas           Gov. Aggregation
COH             111282830024                Gas           Gov. Aggregation   COH             170783570017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             111283320010                Gas           Gov. Aggregation   COH             176748610016                Gas           Gov. Aggregation
COH             111286530029                Gas           Gov. Aggregation   COH             146300870034                Gas           Gov. Aggregation
COH             112092500025                Gas           Gov. Aggregation   COH             165999850036                Gas           Gov. Aggregation
COH             114405390013                Gas           Gov. Aggregation   COH             148119510023                Gas           Gov. Aggregation
COH             110446980026                Gas           Gov. Aggregation   COH             143691270036                Gas           Gov. Aggregation
COH             110453260086                Gas           Gov. Aggregation   COH             146542190044                Gas           Gov. Aggregation
COH             110483270018                Gas           Gov. Aggregation   COH             161885410015                Gas           Gov. Aggregation
COH             110483730020                Gas           Gov. Aggregation   COH             176951130016                Gas           Gov. Aggregation
COH             140743180028                Gas           Gov. Aggregation   COH             117240410015                Gas           Gov. Aggregation
COH             144151060088                Gas           Gov. Aggregation   COH             162183540015                Gas           Gov. Aggregation
COH             156351390036                Gas           Gov. Aggregation   COH             142809070010                Gas           Gov. Aggregation
COH             174735340021                Gas           Gov. Aggregation   COH             144889850025                Gas           Gov. Aggregation
COH             185522370014                Gas           Gov. Aggregation   COH             153689870033                Gas           Gov. Aggregation
COH             185693530019                Gas           Gov. Aggregation   COH             160363100035                Gas           Gov. Aggregation
COH             186021600025                Gas           Gov. Aggregation   COH             155319970033                Gas           Gov. Aggregation
COH             186076990038                Gas           Gov. Aggregation   COH             169179220014                Gas           Gov. Aggregation
COH             188047900017                Gas           Gov. Aggregation   COH             150932990025                Gas           Gov. Aggregation
COH             111289520016                Gas           Gov. Aggregation   COH             157875130039                Gas           Gov. Aggregation
COH             185305970018                Gas           Gov. Aggregation   COH             185154810012                Gas           Gov. Aggregation
COH             185788430019                Gas           Gov. Aggregation   COH             159981480020                Gas           Gov. Aggregation
COH             185910830014                Gas           Gov. Aggregation   COH             174735450019                Gas           Gov. Aggregation
COH             185920050017                Gas           Gov. Aggregation   COH             139030810074                Gas           Gov. Aggregation
COH             173620040019                Gas           Gov. Aggregation   COH             168466500017                Gas           Gov. Aggregation
COH             187650330019                Gas           Gov. Aggregation   COH             149710500011                Gas           Gov. Aggregation
COH             185636600014                Gas           Gov. Aggregation   COH             155531810018                Gas           Gov. Aggregation
COH             187548220019                Gas           Gov. Aggregation   COH             142517000031                Gas           Gov. Aggregation
COH             161585750010                Gas           Gov. Aggregation   COH             170823420012                Gas           Gov. Aggregation
COH             110284870041                Gas           Gov. Aggregation   COH             163137210038                Gas           Gov. Aggregation
COH             186675580016                Gas           Gov. Aggregation   COH             172765490010                Gas           Gov. Aggregation
COH             115033050012                Gas           Gov. Aggregation   COH             170682620010                Gas           Gov. Aggregation
COH             162398940025                Gas           Gov. Aggregation   COH             171086220026                Gas           Gov. Aggregation
COH             169508270033                Gas           Gov. Aggregation   COH             171429660017                Gas           Gov. Aggregation
COH             150050920029                Gas           Gov. Aggregation   COH             171527690013                Gas           Gov. Aggregation
COH             114904460029                Gas           Gov. Aggregation   COH             175707230013                Gas           Gov. Aggregation
COH             114907880016                Gas           Gov. Aggregation   COH             176152920014                Gas           Gov. Aggregation
COH             114908420010                Gas           Gov. Aggregation   COH             110273190010                Gas           Gov. Aggregation
COH             114915560016                Gas           Gov. Aggregation   COH             117243420017                Gas           Gov. Aggregation
COH             114931420011                Gas           Gov. Aggregation   COH             135833360026                Gas           Gov. Aggregation
COH             114932410039                Gas           Gov. Aggregation   COH             185099690016                Gas           Gov. Aggregation
COH             114950140010                Gas           Gov. Aggregation   COH             159044860026                Gas           Gov. Aggregation
COH             114969910055                Gas           Gov. Aggregation   COH             164965780015                Gas           Gov. Aggregation
COH             114974240019                Gas           Gov. Aggregation   COH             159531990017                Gas           Gov. Aggregation
COH             114977190014                Gas           Gov. Aggregation   COH             173721010011                Gas           Gov. Aggregation
COH             114977390012                Gas           Gov. Aggregation   COH             163107860017                Gas           Gov. Aggregation
COH             114978400017                Gas           Gov. Aggregation   COH             142637010017                Gas           Gov. Aggregation
COH             114980740020                Gas           Gov. Aggregation   COH             117243130027                Gas           Gov. Aggregation
COH             115001910054                Gas           Gov. Aggregation   COH             167539050018                Gas           Gov. Aggregation
COH             115001990021                Gas           Gov. Aggregation   COH             141790880012                Gas           Gov. Aggregation
COH             115002260040                Gas           Gov. Aggregation   COH             151200040024                Gas           Gov. Aggregation
COH             115005120016                Gas           Gov. Aggregation   COH             117247660019                Gas           Gov. Aggregation
COH             115005590045                Gas           Gov. Aggregation   COH             132531020011                Gas           Gov. Aggregation
COH             115017530024                Gas           Gov. Aggregation   COH             157212470023                Gas           Gov. Aggregation
COH             115018770022                Gas           Gov. Aggregation   COH             169253980035                Gas           Gov. Aggregation
COH             115020620028                Gas           Gov. Aggregation   COH             154381590033                Gas           Gov. Aggregation
COH             115022810024                Gas           Gov. Aggregation   COH             142775280019                Gas           Gov. Aggregation
COH             115023330050                Gas           Gov. Aggregation   COH             153093380020                Gas           Gov. Aggregation
COH             115027270019                Gas           Gov. Aggregation   COH             167521800017                Gas           Gov. Aggregation
COH             115028450046                Gas           Gov. Aggregation   COH             169441660015                Gas           Gov. Aggregation
COH             175673360019                Gas           Gov. Aggregation   COH             153032710019                Gas           Gov. Aggregation
COH             175890300011                Gas           Gov. Aggregation   COH             167507500010                Gas           Gov. Aggregation
COH             176314890017                Gas           Gov. Aggregation   COH             153143810022                Gas           Gov. Aggregation
COH             176413380014                Gas           Gov. Aggregation   COH             142824840016                Gas           Gov. Aggregation
COH             177761890019                Gas           Gov. Aggregation   COH             140518720012                Gas           Gov. Aggregation
COH             177833730019                Gas           Gov. Aggregation   COH             165117730011                Gas           Gov. Aggregation
COH             185315040012                Gas           Gov. Aggregation   COH             176872250019                Gas           Gov. Aggregation
COH             186603410021                Gas           Gov. Aggregation   COH             138896590023                Gas           Gov. Aggregation
COH             186686670014                Gas           Gov. Aggregation   COH             116879310032                Gas           Gov. Aggregation
COH             187394710013                Gas           Gov. Aggregation   COH             117214780013                Gas           Gov. Aggregation
COH             186583060010                Gas           Gov. Aggregation   COH             114903490016                Gas           Gov. Aggregation
COH             108855160025                Gas           Gov. Aggregation   COH             117245550016                Gas           Gov. Aggregation
COH             138155700029                Gas           Gov. Aggregation   COH             116955730023                Gas           Gov. Aggregation
COH             117137740033                Gas           Gov. Aggregation   COH             177468300014                Gas           Gov. Aggregation
COH             174447910013                Gas           Gov. Aggregation   COH             154497380023                Gas           Gov. Aggregation
COH             175826500014                Gas           Gov. Aggregation   COH             159459980013                Gas           Gov. Aggregation
COH             175932780011                Gas           Gov. Aggregation   COH             140751290028                Gas           Gov. Aggregation
COH             187269660019                Gas           Gov. Aggregation   COH             156827580037                Gas           Gov. Aggregation
COH             187769200015                Gas           Gov. Aggregation   COH             141256230029                Gas           Gov. Aggregation
COH             165949560014                Gas           Gov. Aggregation   COH             172225780022                Gas           Gov. Aggregation
COH             188851210017                Gas           Gov. Aggregation   COH             172989870016                Gas           Gov. Aggregation
COH             115144140018                Gas           Gov. Aggregation   COH             151641260033                Gas           Gov. Aggregation
COH             122413870015                Gas           Gov. Aggregation   COH             135930620016                Gas           Gov. Aggregation
COH             122415300010                Gas           Gov. Aggregation   COH             117327710036                Gas           Gov. Aggregation
COH             165232950011                Gas           Gov. Aggregation   COH             117192100040                Gas           Gov. Aggregation
COH             122422040029                Gas           Gov. Aggregation   COH             116930010035                Gas           Gov. Aggregation
COH             122415760014                Gas           Gov. Aggregation   COH             135251400030                Gas           Gov. Aggregation
COH             122535650022                Gas           Gov. Aggregation   COH             146336940016                Gas           Gov. Aggregation
COH             122395380018                Gas           Gov. Aggregation   COH             173839450010                Gas           Gov. Aggregation
COH             160873640013                Gas           Gov. Aggregation   COH             123590300037                Gas           Gov. Aggregation
COH             129264900018                Gas           Gov. Aggregation   COH             185283130012                Gas           Gov. Aggregation
COH             150328310019                Gas           Gov. Aggregation   COH             171570940019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             122483930015                Gas           Gov. Aggregation   COH             151121250028                Gas           Gov. Aggregation
COH             154864910013                Gas           Gov. Aggregation   COH             167400250019                Gas           Gov. Aggregation
COH             122386970013                Gas           Gov. Aggregation   COH             157247810019                Gas           Gov. Aggregation
COH             130139590016                Gas           Gov. Aggregation   COH             117209850028                Gas           Gov. Aggregation
COH             122339200013                Gas           Gov. Aggregation   COH             167289800011                Gas           Gov. Aggregation
COH             161053920020                Gas           Gov. Aggregation   COH             169581890020                Gas           Gov. Aggregation
COH             122497900021                Gas           Gov. Aggregation   COH             159532760013                Gas           Gov. Aggregation
COH             122378830028                Gas           Gov. Aggregation   COH             174505780026                Gas           Gov. Aggregation
COH             122460820016                Gas           Gov. Aggregation   COH             117113150019                Gas           Gov. Aggregation
COH             122398070017                Gas           Gov. Aggregation   COH             117106520016                Gas           Gov. Aggregation
COH             122362730013                Gas           Gov. Aggregation   COH             168980030016                Gas           Gov. Aggregation
COH             151716100019                Gas           Gov. Aggregation   COH             147269790047                Gas           Gov. Aggregation
COH             147086960021                Gas           Gov. Aggregation   COH             152017100010                Gas           Gov. Aggregation
COH             122362830012                Gas           Gov. Aggregation   COH             165148820017                Gas           Gov. Aggregation
COH             122388280023                Gas           Gov. Aggregation   COH             151860900025                Gas           Gov. Aggregation
COH             135529190018                Gas           Gov. Aggregation   COH             138755050042                Gas           Gov. Aggregation
COH             122381540022                Gas           Gov. Aggregation   COH             133018890016                Gas           Gov. Aggregation
COH             122431860019                Gas           Gov. Aggregation   COH             156670230079                Gas           Gov. Aggregation
COH             122420110019                Gas           Gov. Aggregation   COH             142909090014                Gas           Gov. Aggregation
COH             122485360011                Gas           Gov. Aggregation   COH             136961050029                Gas           Gov. Aggregation
COH             130403600021                Gas           Gov. Aggregation   COH             176649250012                Gas           Gov. Aggregation
COH             122432500012                Gas           Gov. Aggregation   COH             139564780025                Gas           Gov. Aggregation
COH             122416580010                Gas           Gov. Aggregation   COH             117275570028                Gas           Gov. Aggregation
COH             110471830024                Gas           Gov. Aggregation   COH             167712170015                Gas           Gov. Aggregation
COH             111252760013                Gas           Gov. Aggregation   COH             154127200014                Gas           Gov. Aggregation
COH             111286990014                Gas           Gov. Aggregation   COH             136365950033                Gas           Gov. Aggregation
COH             111288940010                Gas           Gov. Aggregation   COH             140384270049                Gas           Gov. Aggregation
COH             111289160021                Gas           Gov. Aggregation   COH             152957200017                Gas           Gov. Aggregation
COH             111291230012                Gas           Gov. Aggregation   COH             168673780029                Gas           Gov. Aggregation
COH             111292460012                Gas           Gov. Aggregation   COH             173703010019                Gas           Gov. Aggregation
COH             111292540015                Gas           Gov. Aggregation   COH             172278320018                Gas           Gov. Aggregation
COH             111292610010                Gas           Gov. Aggregation   COH             139940290020                Gas           Gov. Aggregation
COH             111292670018                Gas           Gov. Aggregation   COH             154495800019                Gas           Gov. Aggregation
COH             111292680025                Gas           Gov. Aggregation   COH             172426590017                Gas           Gov. Aggregation
COH             111293100015                Gas           Gov. Aggregation   COH             166174110038                Gas           Gov. Aggregation
COH             140089410036                Gas           Gov. Aggregation   COH             166174110029                Gas           Gov. Aggregation
COH             143013990013                Gas           Gov. Aggregation   COH             153681890017                Gas           Gov. Aggregation
COH             143059620023                Gas           Gov. Aggregation   COH             158607870049                Gas           Gov. Aggregation
COH             148003360011                Gas           Gov. Aggregation   COH             149698240023                Gas           Gov. Aggregation
COH             155022330027                Gas           Gov. Aggregation   COH             135633370064                Gas           Gov. Aggregation
COH             155043100012                Gas           Gov. Aggregation   COH             117260860037                Gas           Gov. Aggregation
COH             155259050016                Gas           Gov. Aggregation   COH             152515390032                Gas           Gov. Aggregation
COH             159900090013                Gas           Gov. Aggregation   COH             126748240050                Gas           Gov. Aggregation
COH             162076890019                Gas           Gov. Aggregation   COH             173944380012                Gas           Gov. Aggregation
COH             167904190032                Gas           Gov. Aggregation   COH             165935890014                Gas           Gov. Aggregation
COH             168010190018                Gas           Gov. Aggregation   COH             176320200018                Gas           Gov. Aggregation
COH             168291840017                Gas           Gov. Aggregation   COH             170701750020                Gas           Gov. Aggregation
COH             168911160014                Gas           Gov. Aggregation   COH             165059884029                Gas           Gov. Aggregation
COH             169382550014                Gas           Gov. Aggregation   COH             117366340023                Gas           Gov. Aggregation
COH             115170040032                Gas           Gov. Aggregation   COH             165198180017                Gas           Gov. Aggregation
COH             115171990013                Gas           Gov. Aggregation   COH             170379110010                Gas           Gov. Aggregation
COH             115172040010                Gas           Gov. Aggregation   COH             135648890046                Gas           Gov. Aggregation
COH             135700360036                Gas           Gov. Aggregation   COH             147536150044                Gas           Gov. Aggregation
COH             138151380025                Gas           Gov. Aggregation   COH             150674140030                Gas           Gov. Aggregation
COH             139445970036                Gas           Gov. Aggregation   COH             151227260013                Gas           Gov. Aggregation
COH             160396540016                Gas           Gov. Aggregation   COH             177655180013                Gas           Gov. Aggregation
COH             161249340018                Gas           Gov. Aggregation   COH             134663450038                Gas           Gov. Aggregation
COH             163672010018                Gas           Gov. Aggregation   COH             132058480037                Gas           Gov. Aggregation
COH             176582580015                Gas           Gov. Aggregation   COH             160010050015                Gas           Gov. Aggregation
COH             177229520014                Gas           Gov. Aggregation   COH             135517800032                Gas           Gov. Aggregation
COH             177268330021                Gas           Gov. Aggregation   COH             159611730011                Gas           Gov. Aggregation
COH             185662110012                Gas           Gov. Aggregation   COH             160571590014                Gas           Gov. Aggregation
COH             133024030013                Gas           Gov. Aggregation   COH             171527810017                Gas           Gov. Aggregation
COH             186022060018                Gas           Gov. Aggregation   COH             147457740039                Gas           Gov. Aggregation
COH             186160250016                Gas           Gov. Aggregation   COH             120286760020                Gas           Gov. Aggregation
COH             186262330013                Gas           Gov. Aggregation   COH             177017820010                Gas           Gov. Aggregation
COH             186396080013                Gas           Gov. Aggregation   COH             136657610017                Gas           Gov. Aggregation
COH             186538920014                Gas           Gov. Aggregation   COH             134920460049                Gas           Gov. Aggregation
COH             176283000056                Gas           Gov. Aggregation   COH             169592450010                Gas           Gov. Aggregation
COH             176357080035                Gas           Gov. Aggregation   COH             117218050018                Gas           Gov. Aggregation
COH             177012730019                Gas           Gov. Aggregation   COH             146998770010                Gas           Gov. Aggregation
COH             177119960015                Gas           Gov. Aggregation   COH             145885380030                Gas           Gov. Aggregation
COH             177285990036                Gas           Gov. Aggregation   COH             117302150036                Gas           Gov. Aggregation
COH             177286040015                Gas           Gov. Aggregation   COH             117471880027                Gas           Gov. Aggregation
COH             177456220016                Gas           Gov. Aggregation   COH             165740130016                Gas           Gov. Aggregation
COH             177671720024                Gas           Gov. Aggregation   COH             169563130018                Gas           Gov. Aggregation
COH             177813100013                Gas           Gov. Aggregation   COH             156172870026                Gas           Gov. Aggregation
COH             185200830019                Gas           Gov. Aggregation   COH             166585860012                Gas           Gov. Aggregation
COH             185334120015                Gas           Gov. Aggregation   COH             117160440028                Gas           Gov. Aggregation
COH             185343540018                Gas           Gov. Aggregation   COH             157880180029                Gas           Gov. Aggregation
COH             185532270014                Gas           Gov. Aggregation   COH             116845070052                Gas           Gov. Aggregation
COH             185805910010                Gas           Gov. Aggregation   COH             118217260024                Gas           Gov. Aggregation
COH             185823540010                Gas           Gov. Aggregation   COH             117108260017                Gas           Gov. Aggregation
COH             186688670010                Gas           Gov. Aggregation   COH             115175390020                Gas           Gov. Aggregation
COH             186703870014                Gas           Gov. Aggregation   COH             121921990014                Gas           Gov. Aggregation
COH             186703880012                Gas           Gov. Aggregation   COH             121922020015                Gas           Gov. Aggregation
COH             186738800015                Gas           Gov. Aggregation   COH             121921970027                Gas           Gov. Aggregation
COH             186747120019                Gas           Gov. Aggregation   COH             150832590030                Gas           Gov. Aggregation
COH             186930330016                Gas           Gov. Aggregation   COH             156398590018                Gas           Gov. Aggregation
COH             186995980014                Gas           Gov. Aggregation   COH             161372410012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             187121370012                Gas           Gov. Aggregation   COH             133184280031                Gas           Gov. Aggregation
COH             187142400011                Gas           Gov. Aggregation   COH             169260760036                Gas           Gov. Aggregation
COH             187173320013                Gas           Gov. Aggregation   COH             170922990013                Gas           Gov. Aggregation
COH             187255620016                Gas           Gov. Aggregation   COH             117002440022                Gas           Gov. Aggregation
COH             167091400032                Gas           Gov. Aggregation   COH             116839490039                Gas           Gov. Aggregation
COH             167976320015                Gas           Gov. Aggregation   COH             160832710023                Gas           Gov. Aggregation
COH             168429560068                Gas           Gov. Aggregation   COH             152784140017                Gas           Gov. Aggregation
COH             169742310065                Gas           Gov. Aggregation   COH             151516000032                Gas           Gov. Aggregation
COH             171090390022                Gas           Gov. Aggregation   COH             155795590017                Gas           Gov. Aggregation
COH             171918870025                Gas           Gov. Aggregation   COH             154289770013                Gas           Gov. Aggregation
COH             172198060059                Gas           Gov. Aggregation   COH             148643900075                Gas           Gov. Aggregation
COH             174717790034                Gas           Gov. Aggregation   COH             165477870029                Gas           Gov. Aggregation
COH             174856260031                Gas           Gov. Aggregation   COH             157613670021                Gas           Gov. Aggregation
COH             175284180021                Gas           Gov. Aggregation   COH             152895030015                Gas           Gov. Aggregation
COH             175402070111                Gas           Gov. Aggregation   COH             116844910039                Gas           Gov. Aggregation
COH             176188730028                Gas           Gov. Aggregation   COH             129712700028                Gas           Gov. Aggregation
COH             187274130019                Gas           Gov. Aggregation   COH             152253750023                Gas           Gov. Aggregation
COH             187484020017                Gas           Gov. Aggregation   COH             151131020034                Gas           Gov. Aggregation
COH             188084660010                Gas           Gov. Aggregation   COH             117113800012                Gas           Gov. Aggregation
COH             167082210013                Gas           Gov. Aggregation   COH             155320090026                Gas           Gov. Aggregation
COH             150212370021                Gas           Gov. Aggregation   COH             165641220017                Gas           Gov. Aggregation
COH             150471700014                Gas           Gov. Aggregation   COH             174118340010                Gas           Gov. Aggregation
COH             152348280021                Gas           Gov. Aggregation   COH             152555130014                Gas           Gov. Aggregation
COH             152670850037                Gas           Gov. Aggregation   COH             147897120028                Gas           Gov. Aggregation
COH             154579330074                Gas           Gov. Aggregation   COH             153626570010                Gas           Gov. Aggregation
COH             157717650016                Gas           Gov. Aggregation   COH             151101760023                Gas           Gov. Aggregation
COH             157860220031                Gas           Gov. Aggregation   COH             140303980013                Gas           Gov. Aggregation
COH             159560070091                Gas           Gov. Aggregation   COH             117051810030                Gas           Gov. Aggregation
COH             161506570041                Gas           Gov. Aggregation   COH             150821980022                Gas           Gov. Aggregation
COH             161762930061                Gas           Gov. Aggregation   COH             159664140014                Gas           Gov. Aggregation
COH             161762930070                Gas           Gov. Aggregation   COH             143410590033                Gas           Gov. Aggregation
COH             161896530099                Gas           Gov. Aggregation   COH             171612610036                Gas           Gov. Aggregation
COH             162315140018                Gas           Gov. Aggregation   COH             160674580018                Gas           Gov. Aggregation
COH             162412890060                Gas           Gov. Aggregation   COH             185154730019                Gas           Gov. Aggregation
COH             163675600036                Gas           Gov. Aggregation   COH             110746590013                Gas           Gov. Aggregation
COH             164231880028                Gas           Gov. Aggregation   COH             110746640012                Gas           Gov. Aggregation
COH             166107780020                Gas           Gov. Aggregation   COH             110746650010                Gas           Gov. Aggregation
COH             166339730065                Gas           Gov. Aggregation   COH             110747230016                Gas           Gov. Aggregation
COH             167552670056                Gas           Gov. Aggregation   COH             111850570024                Gas           Gov. Aggregation
COH             140060400029                Gas           Gov. Aggregation   COH             115005740016                Gas           Gov. Aggregation
COH             162717110021                Gas           Gov. Aggregation   COH             115022700018                Gas           Gov. Aggregation
COH             147872890029                Gas           Gov. Aggregation   COH             117422950043                Gas           Gov. Aggregation
COH             188253120014                Gas           Gov. Aggregation   COH             144704560017                Gas           Gov. Aggregation
COH             114886680023                Gas           Gov. Aggregation   COH             168444720017                Gas           Gov. Aggregation
COH             122398420031                Gas           Gov. Aggregation   COH             117246640015                Gas           Gov. Aggregation
COH             122381790011                Gas           Gov. Aggregation   COH             117217930015                Gas           Gov. Aggregation
COH             115004910021                Gas           Gov. Aggregation   COH             117106470017                Gas           Gov. Aggregation
COH             122383410016                Gas           Gov. Aggregation   COH             117404710050                Gas           Gov. Aggregation
COH             122359340049                Gas           Gov. Aggregation   COH             143623480026                Gas           Gov. Aggregation
COH             122487720011                Gas           Gov. Aggregation   COH             140086040030                Gas           Gov. Aggregation
COH             140164640010                Gas           Gov. Aggregation   COH             145623310029                Gas           Gov. Aggregation
COH             175264590018                Gas           Gov. Aggregation   COH             162249700011                Gas           Gov. Aggregation
COH             130854980027                Gas           Gov. Aggregation   COH             172147910011                Gas           Gov. Aggregation
COH             122423090018                Gas           Gov. Aggregation   COH             152430170010                Gas           Gov. Aggregation
COH             122428390024                Gas           Gov. Aggregation   COH             160783560011                Gas           Gov. Aggregation
COH             122350770029                Gas           Gov. Aggregation   COH             162052280017                Gas           Gov. Aggregation
COH             122387240014                Gas           Gov. Aggregation   COH             154719880026                Gas           Gov. Aggregation
COH             160074850013                Gas           Gov. Aggregation   COH             134997400022                Gas           Gov. Aggregation
COH             122475160014                Gas           Gov. Aggregation   COH             168314520023                Gas           Gov. Aggregation
COH             122446650030                Gas           Gov. Aggregation   COH             167991330020                Gas           Gov. Aggregation
COH             122381680023                Gas           Gov. Aggregation   COH             151587340023                Gas           Gov. Aggregation
COH             122488240010                Gas           Gov. Aggregation   COH             139587470022                Gas           Gov. Aggregation
COH             147423500021                Gas           Gov. Aggregation   COH             160096910032                Gas           Gov. Aggregation
COH             128869340024                Gas           Gov. Aggregation   COH             154175780021                Gas           Gov. Aggregation
COH             150602030016                Gas           Gov. Aggregation   COH             153913370022                Gas           Gov. Aggregation
COH             166422380017                Gas           Gov. Aggregation   COH             148131350049                Gas           Gov. Aggregation
COH             164888660014                Gas           Gov. Aggregation   COH             135764120023                Gas           Gov. Aggregation
COH             138624300028                Gas           Gov. Aggregation   COH             151035920048                Gas           Gov. Aggregation
COH             132394740012                Gas           Gov. Aggregation   COH             140844450045                Gas           Gov. Aggregation
COH             122414270019                Gas           Gov. Aggregation   COH             176162980011                Gas           Gov. Aggregation
COH             131924790018                Gas           Gov. Aggregation   COH             155328010026                Gas           Gov. Aggregation
COH             163637510017                Gas           Gov. Aggregation   COH             142998330061                Gas           Gov. Aggregation
COH             122369650016                Gas           Gov. Aggregation   COH             152363990011                Gas           Gov. Aggregation
COH             122381850018                Gas           Gov. Aggregation   COH             175253810014                Gas           Gov. Aggregation
COH             143421680013                Gas           Gov. Aggregation   COH             117112830018                Gas           Gov. Aggregation
COH             122495090017                Gas           Gov. Aggregation   COH             130266040021                Gas           Gov. Aggregation
COH             135010590022                Gas           Gov. Aggregation   COH             175876190015                Gas           Gov. Aggregation
COH             140445300024                Gas           Gov. Aggregation   COH             173175370024                Gas           Gov. Aggregation
COH             122413320010                Gas           Gov. Aggregation   COH             151391580019                Gas           Gov. Aggregation
COH             122480430016                Gas           Gov. Aggregation   COH             160985260016                Gas           Gov. Aggregation
COH             122356830015                Gas           Gov. Aggregation   COH             117382530047                Gas           Gov. Aggregation
COH             122439960021                Gas           Gov. Aggregation   COH             137774890047                Gas           Gov. Aggregation
COH             146564800012                Gas           Gov. Aggregation   COH             141366160021                Gas           Gov. Aggregation
COH             146046820025                Gas           Gov. Aggregation   COH             142311420020                Gas           Gov. Aggregation
COH             122348970031                Gas           Gov. Aggregation   COH             141246260015                Gas           Gov. Aggregation
COH             122015620039                Gas           Gov. Aggregation   COH             117283040059                Gas           Gov. Aggregation
COH             122374080015                Gas           Gov. Aggregation   COH             170253780025                Gas           Gov. Aggregation
COH             122490320018                Gas           Gov. Aggregation   COH             108854470022                Gas           Gov. Aggregation
COH             139822760012                Gas           Gov. Aggregation   COH             108855100018                Gas           Gov. Aggregation
COH             122431370012                Gas           Gov. Aggregation   COH             108855140029                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             150958810019                Gas           Gov. Aggregation   COH             127033110042                Gas           Gov. Aggregation
COH             122471520016                Gas           Gov. Aggregation   COH             164518180018                Gas           Gov. Aggregation
COH             122387920011                Gas           Gov. Aggregation   COH             164809120031                Gas           Gov. Aggregation
COH             122352410020                Gas           Gov. Aggregation   COH             171647430013                Gas           Gov. Aggregation
COH             129771640018                Gas           Gov. Aggregation   COH             171828720018                Gas           Gov. Aggregation
COH             149158210014                Gas           Gov. Aggregation   COH             173330600025                Gas           Gov. Aggregation
COH             159050390013                Gas           Gov. Aggregation   COH             173782870013                Gas           Gov. Aggregation
COH             131705170012                Gas           Gov. Aggregation   COH             185212250016                Gas           Gov. Aggregation
COH             122437330045                Gas           Gov. Aggregation   COH             165562200019                Gas           Gov. Aggregation
COH             148154770016                Gas           Gov. Aggregation   COH             185556000010                Gas           Gov. Aggregation
COH             122479450060                Gas           Gov. Aggregation   COH             135568660017                Gas           Gov. Aggregation
COH             122408160033                Gas           Gov. Aggregation   COH             117219310011                Gas           Gov. Aggregation
COH             145798400012                Gas           Gov. Aggregation   COH             173640550010                Gas           Gov. Aggregation
COH             150038150018                Gas           Gov. Aggregation   COH             167124220011                Gas           Gov. Aggregation
COH             150281560017                Gas           Gov. Aggregation   COH             149499950035                Gas           Gov. Aggregation
COH             150356310010                Gas           Gov. Aggregation   COH             166651490037                Gas           Gov. Aggregation
COH             115042990016                Gas           Gov. Aggregation   COH             148673740012                Gas           Gov. Aggregation
COH             115065260048                Gas           Gov. Aggregation   COH             159245810039                Gas           Gov. Aggregation
COH             115067190021                Gas           Gov. Aggregation   COH             133329570023                Gas           Gov. Aggregation
COH             115069130038                Gas           Gov. Aggregation   COH             154317570023                Gas           Gov. Aggregation
COH             115069970023                Gas           Gov. Aggregation   COH             117244800015                Gas           Gov. Aggregation
COH             115073020014                Gas           Gov. Aggregation   COH             164594890019                Gas           Gov. Aggregation
COH             130021330028                Gas           Gov. Aggregation   COH             175028240011                Gas           Gov. Aggregation
COH             130332200026                Gas           Gov. Aggregation   COH             117239030018                Gas           Gov. Aggregation
COH             131481890017                Gas           Gov. Aggregation   COH             141281770014                Gas           Gov. Aggregation
COH             132292790054                Gas           Gov. Aggregation   COH             166731500025                Gas           Gov. Aggregation
COH             137270570033                Gas           Gov. Aggregation   COH             117107840017                Gas           Gov. Aggregation
COH             138094810017                Gas           Gov. Aggregation   COH             117106560018                Gas           Gov. Aggregation
COH             138578420022                Gas           Gov. Aggregation   COH             131567120034                Gas           Gov. Aggregation
COH             139522650039                Gas           Gov. Aggregation   COH             117236950020                Gas           Gov. Aggregation
COH             140169240032                Gas           Gov. Aggregation   COH             117107290013                Gas           Gov. Aggregation
COH             144133690020                Gas           Gov. Aggregation   COH             117005550023                Gas           Gov. Aggregation
COH             144532420020                Gas           Gov. Aggregation   COH             162865990015                Gas           Gov. Aggregation
COH             145322960012                Gas           Gov. Aggregation   COH             138723640027                Gas           Gov. Aggregation
COH             147301180036                Gas           Gov. Aggregation   COH             157901680028                Gas           Gov. Aggregation
COH             148226570060                Gas           Gov. Aggregation   COH             169030720013                Gas           Gov. Aggregation
COH             148543840043                Gas           Gov. Aggregation   COH             129583680064                Gas           Gov. Aggregation
COH             115143640024                Gas           Gov. Aggregation   COH             138842530037                Gas           Gov. Aggregation
COH             111250330017                Gas           Gov. Aggregation   COH             142561420012                Gas           Gov. Aggregation
COH             127347560016                Gas           Gov. Aggregation   COH             116928620041                Gas           Gov. Aggregation
COH             189062680011                Gas           Gov. Aggregation   COH             150457100010                Gas           Gov. Aggregation
COH             189078360015                Gas           Gov. Aggregation   COH             153075260041                Gas           Gov. Aggregation
COH             189147220017                Gas           Gov. Aggregation   COH             176158600019                Gas           Gov. Aggregation
COH             189237430012                Gas           Gov. Aggregation   COH             173900370016                Gas           Gov. Aggregation
COH             189279540011                Gas           Gov. Aggregation   COH             138898930027                Gas           Gov. Aggregation
COH             189417570011                Gas           Gov. Aggregation   COH             175355820016                Gas           Gov. Aggregation
COH             107406280031                Gas           Gov. Aggregation   COH             168067990011                Gas           Gov. Aggregation
COH             114502480054                Gas           Gov. Aggregation   COH             117041480013                Gas           Gov. Aggregation
COH             114601820025                Gas           Gov. Aggregation   COH             117200830048                Gas           Gov. Aggregation
COH             117492230029                Gas           Gov. Aggregation   COH             116998660028                Gas           Gov. Aggregation
COH             118010860124                Gas           Gov. Aggregation   COH             149053780026                Gas           Gov. Aggregation
COH             118090550032                Gas           Gov. Aggregation   COH             118200130026                Gas           Gov. Aggregation
COH             119300240020                Gas           Gov. Aggregation   COH             117164800024                Gas           Gov. Aggregation
COH             119945330034                Gas           Gov. Aggregation   COH             138604270018                Gas           Gov. Aggregation
COH             122026810027                Gas           Gov. Aggregation   COH             132274740016                Gas           Gov. Aggregation
COH             122106710028                Gas           Gov. Aggregation   COH             140876150014                Gas           Gov. Aggregation
COH             122335960030                Gas           Gov. Aggregation   COH             117175600050                Gas           Gov. Aggregation
COH             122336000011                Gas           Gov. Aggregation   COH             170008250016                Gas           Gov. Aggregation
COH             122336170016                Gas           Gov. Aggregation   COH             172801110011                Gas           Gov. Aggregation
COH             122336370014                Gas           Gov. Aggregation   COH             142276080019                Gas           Gov. Aggregation
COH             122338150025                Gas           Gov. Aggregation   COH             129639180033                Gas           Gov. Aggregation
COH             122338610019                Gas           Gov. Aggregation   COH             117161690024                Gas           Gov. Aggregation
COH             122338710045                Gas           Gov. Aggregation   COH             153831920039                Gas           Gov. Aggregation
COH             122343550020                Gas           Gov. Aggregation   COH             146504450021                Gas           Gov. Aggregation
COH             122343640021                Gas           Gov. Aggregation   COH             171247540018                Gas           Gov. Aggregation
COH             122343820014                Gas           Gov. Aggregation   COH             132305510017                Gas           Gov. Aggregation
COH             122344160039                Gas           Gov. Aggregation   COH             163360120016                Gas           Gov. Aggregation
COH             122344680030                Gas           Gov. Aggregation   COH             174433130016                Gas           Gov. Aggregation
COH             122346910028                Gas           Gov. Aggregation   COH             134170140029                Gas           Gov. Aggregation
COH             122347120013                Gas           Gov. Aggregation   COH             158306640018                Gas           Gov. Aggregation
COH             122347340017                Gas           Gov. Aggregation   COH             167961700016                Gas           Gov. Aggregation
COH             122347720026                Gas           Gov. Aggregation   COH             166199280022                Gas           Gov. Aggregation
COH             122348030038                Gas           Gov. Aggregation   COH             157196820025                Gas           Gov. Aggregation
COH             188441270014                Gas           Gov. Aggregation   COH             159546680011                Gas           Gov. Aggregation
COH             188479450017                Gas           Gov. Aggregation   COH             165610760019                Gas           Gov. Aggregation
COH             188521580019                Gas           Gov. Aggregation   COH             162871910027                Gas           Gov. Aggregation
COH             188529620014                Gas           Gov. Aggregation   COH             167639290025                Gas           Gov. Aggregation
COH             188576060013                Gas           Gov. Aggregation   COH             117240350018                Gas           Gov. Aggregation
COH             188642100022                Gas           Gov. Aggregation   COH             175945940010                Gas           Gov. Aggregation
COH             176625680076                Gas           Gov. Aggregation   COH             164020820018                Gas           Gov. Aggregation
COH             176774470011                Gas           Gov. Aggregation   COH             151349010893                Gas           Gov. Aggregation
COH             176858550034                Gas           Gov. Aggregation   COH             151349010811                Gas           Gov. Aggregation
COH             176899530014                Gas           Gov. Aggregation   COH             151349010973                Gas           Gov. Aggregation
COH             176963170013                Gas           Gov. Aggregation   COH             156110130021                Gas           Gov. Aggregation
COH             176996980014                Gas           Gov. Aggregation   COH             130788980055                Gas           Gov. Aggregation
COH             177052850010                Gas           Gov. Aggregation   COH             167583200013                Gas           Gov. Aggregation
COH             177140860011                Gas           Gov. Aggregation   COH             108785490016                Gas           Gov. Aggregation
COH             177258150011                Gas           Gov. Aggregation   COH             108818190018                Gas           Gov. Aggregation
COH             177261620024                Gas           Gov. Aggregation   COH             108832440015                Gas           Gov. Aggregation
COH             177266500010                Gas           Gov. Aggregation   COH             108832640031                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             177388560010                Gas           Gov. Aggregation   COH             108832670017                Gas           Gov. Aggregation
COH             177395600016                Gas           Gov. Aggregation   COH             127348410015                Gas           Gov. Aggregation
COH             177461950012                Gas           Gov. Aggregation   COH             139300660019                Gas           Gov. Aggregation
COH             177476280012                Gas           Gov. Aggregation   COH             139576860014                Gas           Gov. Aggregation
COH             177580920016                Gas           Gov. Aggregation   COH             141152880014                Gas           Gov. Aggregation
COH             177592810014                Gas           Gov. Aggregation   COH             141681680015                Gas           Gov. Aggregation
COH             187638540011                Gas           Gov. Aggregation   COH             143156180011                Gas           Gov. Aggregation
COH             188384650016                Gas           Gov. Aggregation   COH             143890430012                Gas           Gov. Aggregation
COH             157862550010                Gas           Gov. Aggregation   COH             156820820012                Gas           Gov. Aggregation
COH             115142930016                Gas           Gov. Aggregation   COH             156822810029                Gas           Gov. Aggregation
COH             174698420015                Gas           Gov. Aggregation   COH             157056120019                Gas           Gov. Aggregation
COH             174708470076                Gas           Gov. Aggregation   COH             158888660012                Gas           Gov. Aggregation
COH             174844670012                Gas           Gov. Aggregation   COH             167803510010                Gas           Gov. Aggregation
COH             174863910011                Gas           Gov. Aggregation   COH             170618460028                Gas           Gov. Aggregation
COH             174881840018                Gas           Gov. Aggregation   COH             170731450011                Gas           Gov. Aggregation
COH             174932170010                Gas           Gov. Aggregation   COH             170857470011                Gas           Gov. Aggregation
COH             174962980017                Gas           Gov. Aggregation   COH             185659760013                Gas           Gov. Aggregation
COH             174977530010                Gas           Gov. Aggregation   COH             164625640023                Gas           Gov. Aggregation
COH             175042470013                Gas           Gov. Aggregation   COH             173371060014                Gas           Gov. Aggregation
COH             175044780023                Gas           Gov. Aggregation   COH             160260720015                Gas           Gov. Aggregation
COH             175060830019                Gas           Gov. Aggregation   COH             175609390018                Gas           Gov. Aggregation
COH             175140450028                Gas           Gov. Aggregation   COH             117241030022                Gas           Gov. Aggregation
COH             175223390025                Gas           Gov. Aggregation   COH             136692170025                Gas           Gov. Aggregation
COH             175254070018                Gas           Gov. Aggregation   COH             117284020033                Gas           Gov. Aggregation
COH             175440340025                Gas           Gov. Aggregation   COH             160519960043                Gas           Gov. Aggregation
COH             175454710019                Gas           Gov. Aggregation   COH             148233870026                Gas           Gov. Aggregation
COH             175599910011                Gas           Gov. Aggregation   COH             117214680023                Gas           Gov. Aggregation
COH             175609870017                Gas           Gov. Aggregation   COH             144661980039                Gas           Gov. Aggregation
COH             175616390013                Gas           Gov. Aggregation   COH             176413210019                Gas           Gov. Aggregation
COH             175733930011                Gas           Gov. Aggregation   COH             172241280014                Gas           Gov. Aggregation
COH             175746290037                Gas           Gov. Aggregation   COH             151731230010                Gas           Gov. Aggregation
COH             175941940018                Gas           Gov. Aggregation   COH             157558870018                Gas           Gov. Aggregation
COH             175956980019                Gas           Gov. Aggregation   COH             133193500035                Gas           Gov. Aggregation
COH             165280980014                Gas           Gov. Aggregation   COH             118057290028                Gas           Gov. Aggregation
COH             165301030017                Gas           Gov. Aggregation   COH             154602630016                Gas           Gov. Aggregation
COH             165354900013                Gas           Gov. Aggregation   COH             162746450010                Gas           Gov. Aggregation
COH             165354920019                Gas           Gov. Aggregation   COH             162746450038                Gas           Gov. Aggregation
COH             165479560011                Gas           Gov. Aggregation   COH             117110180028                Gas           Gov. Aggregation
COH             165479680016                Gas           Gov. Aggregation   COH             167797600016                Gas           Gov. Aggregation
COH             165498310013                Gas           Gov. Aggregation   COH             117249980027                Gas           Gov. Aggregation
COH             165611050025                Gas           Gov. Aggregation   COH             138675410028                Gas           Gov. Aggregation
COH             165642050011                Gas           Gov. Aggregation   COH             117217590017                Gas           Gov. Aggregation
COH             165709060026                Gas           Gov. Aggregation   COH             118094850040                Gas           Gov. Aggregation
COH             165906500016                Gas           Gov. Aggregation   COH             150543440025                Gas           Gov. Aggregation
COH             165925990014                Gas           Gov. Aggregation   COH             149837560057                Gas           Gov. Aggregation
COH             165932380017                Gas           Gov. Aggregation   COH             175454120013                Gas           Gov. Aggregation
COH             165949520012                Gas           Gov. Aggregation   COH             139600740016                Gas           Gov. Aggregation
COH             166081920026                Gas           Gov. Aggregation   COH             185436500019                Gas           Gov. Aggregation
COH             166082040038                Gas           Gov. Aggregation   COH             116884300024                Gas           Gov. Aggregation
COH             162246730057                Gas           Gov. Aggregation   COH             158933730010                Gas           Gov. Aggregation
COH             162378020011                Gas           Gov. Aggregation   COH             141097940055                Gas           Gov. Aggregation
COH             162409960017                Gas           Gov. Aggregation   COH             134752570016                Gas           Gov. Aggregation
COH             162410100014                Gas           Gov. Aggregation   COH             135103670037                Gas           Gov. Aggregation
COH             162453660017                Gas           Gov. Aggregation   COH             174743080010                Gas           Gov. Aggregation
COH             162541080030                Gas           Gov. Aggregation   COH             151026130016                Gas           Gov. Aggregation
COH             162558170036                Gas           Gov. Aggregation   COH             171425080017                Gas           Gov. Aggregation
COH             162574580018                Gas           Gov. Aggregation   COH             158396440020                Gas           Gov. Aggregation
COH             162612410020                Gas           Gov. Aggregation   COH             152869480016                Gas           Gov. Aggregation
COH             162797170094                Gas           Gov. Aggregation   COH             185320630017                Gas           Gov. Aggregation
COH             162829410012                Gas           Gov. Aggregation   COH             144903860030                Gas           Gov. Aggregation
COH             162840980019                Gas           Gov. Aggregation   COH             155002830024                Gas           Gov. Aggregation
COH             162841210018                Gas           Gov. Aggregation   COH             171649590016                Gas           Gov. Aggregation
COH             162845810014                Gas           Gov. Aggregation   COH             167622240011                Gas           Gov. Aggregation
COH             162857540025                Gas           Gov. Aggregation   COH             170408810010                Gas           Gov. Aggregation
COH             162946880034                Gas           Gov. Aggregation   COH             141764400026                Gas           Gov. Aggregation
COH             162967030010                Gas           Gov. Aggregation   COH             133749680011                Gas           Gov. Aggregation
COH             162975720018                Gas           Gov. Aggregation   COH             177250980013                Gas           Gov. Aggregation
COH             163043680039                Gas           Gov. Aggregation   COH             111254630016                Gas           Gov. Aggregation
COH             163059650014                Gas           Gov. Aggregation   COH             111254760019                Gas           Gov. Aggregation
COH             163196080032                Gas           Gov. Aggregation   COH             111255090018                Gas           Gov. Aggregation
COH             163197230010                Gas           Gov. Aggregation   COH             111255180019                Gas           Gov. Aggregation
COH             163207890019                Gas           Gov. Aggregation   COH             111260630013                Gas           Gov. Aggregation
COH             163394630018                Gas           Gov. Aggregation   COH             111260910023                Gas           Gov. Aggregation
COH             163489750012                Gas           Gov. Aggregation   COH             111261490011                Gas           Gov. Aggregation
COH             163489840013                Gas           Gov. Aggregation   COH             111261560016                Gas           Gov. Aggregation
COH             163503330018                Gas           Gov. Aggregation   COH             111261820011                Gas           Gov. Aggregation
COH             163662600024                Gas           Gov. Aggregation   COH             131664610017                Gas           Gov. Aggregation
COH             163686730018                Gas           Gov. Aggregation   COH             150875080028                Gas           Gov. Aggregation
COH             163708330023                Gas           Gov. Aggregation   COH             168350930012                Gas           Gov. Aggregation
COH             163731540020                Gas           Gov. Aggregation   COH             176473620026                Gas           Gov. Aggregation
COH             163746440011                Gas           Gov. Aggregation   COH             140600290027                Gas           Gov. Aggregation
COH             163746460017                Gas           Gov. Aggregation   COH             169783150018                Gas           Gov. Aggregation
COH             163854760024                Gas           Gov. Aggregation   COH             169341750018                Gas           Gov. Aggregation
COH             163944870100                Gas           Gov. Aggregation   COH             117106150023                Gas           Gov. Aggregation
COH             164057090015                Gas           Gov. Aggregation   COH             117242830013                Gas           Gov. Aggregation
COH             164105710048                Gas           Gov. Aggregation   COH             156710400013                Gas           Gov. Aggregation
COH             164126930020                Gas           Gov. Aggregation   COH             171694530022                Gas           Gov. Aggregation
COH             164169690012                Gas           Gov. Aggregation   COH             170749330019                Gas           Gov. Aggregation
COH             164175560016                Gas           Gov. Aggregation   COH             151960840035                Gas           Gov. Aggregation
COH             164175580085                Gas           Gov. Aggregation   COH             144758760012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             164344880047                Gas           Gov. Aggregation   COH             173879210016                Gas           Gov. Aggregation
COH             164363510035                Gas           Gov. Aggregation   COH             176115660017                Gas           Gov. Aggregation
COH             164373560016                Gas           Gov. Aggregation   COH             171546970014                Gas           Gov. Aggregation
COH             164373570014                Gas           Gov. Aggregation   COH             172115630026                Gas           Gov. Aggregation
COH             164395110050                Gas           Gov. Aggregation   COH             172220220010                Gas           Gov. Aggregation
COH             164509260010                Gas           Gov. Aggregation   COH             148032660026                Gas           Gov. Aggregation
COH             164525640016                Gas           Gov. Aggregation   COH             175097750019                Gas           Gov. Aggregation
COH             164626160013                Gas           Gov. Aggregation   COH             165592550013                Gas           Gov. Aggregation
COH             164632740027                Gas           Gov. Aggregation   COH             140661880098                Gas           Gov. Aggregation
COH             164638250019                Gas           Gov. Aggregation   COH             146757070053                Gas           Gov. Aggregation
COH             164638270024                Gas           Gov. Aggregation   COH             134260290054                Gas           Gov. Aggregation
COH             164771270013                Gas           Gov. Aggregation   COH             177305270015                Gas           Gov. Aggregation
COH             164811270017                Gas           Gov. Aggregation   COH             163070160013                Gas           Gov. Aggregation
COH             164969950048                Gas           Gov. Aggregation   COH             133220150021                Gas           Gov. Aggregation
COH             164974320012                Gas           Gov. Aggregation   COH             168048560011                Gas           Gov. Aggregation
COH             165157450034                Gas           Gov. Aggregation   COH             168817610019                Gas           Gov. Aggregation
COH             165208200019                Gas           Gov. Aggregation   COH             117047030024                Gas           Gov. Aggregation
COH             166266880014                Gas           Gov. Aggregation   COH             177259720019                Gas           Gov. Aggregation
COH             166328070021                Gas           Gov. Aggregation   COH             160058050015                Gas           Gov. Aggregation
COH             166473060017                Gas           Gov. Aggregation   COH             149661470013                Gas           Gov. Aggregation
COH             166484240016                Gas           Gov. Aggregation   COH             138503580035                Gas           Gov. Aggregation
COH             166484260012                Gas           Gov. Aggregation   COH             139990500039                Gas           Gov. Aggregation
COH             166497840013                Gas           Gov. Aggregation   COH             133005800039                Gas           Gov. Aggregation
COH             166504230014                Gas           Gov. Aggregation   COH             172412760010                Gas           Gov. Aggregation
COH             166708900011                Gas           Gov. Aggregation   COH             163718580057                Gas           Gov. Aggregation
COH             166708930024                Gas           Gov. Aggregation   COH             173706310010                Gas           Gov. Aggregation
COH             166724180028                Gas           Gov. Aggregation   COH             173974420029                Gas           Gov. Aggregation
COH             166893830015                Gas           Gov. Aggregation   COH             153705630019                Gas           Gov. Aggregation
COH             166907020014                Gas           Gov. Aggregation   COH             153953220234                Gas           Gov. Aggregation
COH             166943940015                Gas           Gov. Aggregation   COH             153953220412                Gas           Gov. Aggregation
COH             166973250017                Gas           Gov. Aggregation   COH             157568710010                Gas           Gov. Aggregation
COH             167121080017                Gas           Gov. Aggregation   COH             158108440010                Gas           Gov. Aggregation
COH             167170010018                Gas           Gov. Aggregation   COH             158286360011                Gas           Gov. Aggregation
COH             167254310026                Gas           Gov. Aggregation   COH             158356510029                Gas           Gov. Aggregation
COH             167294560011                Gas           Gov. Aggregation   COH             161276590019                Gas           Gov. Aggregation
COH             158757060024                Gas           Gov. Aggregation   COH             161480520010                Gas           Gov. Aggregation
COH             158929080016                Gas           Gov. Aggregation   COH             161595130019                Gas           Gov. Aggregation
COH             159061540045                Gas           Gov. Aggregation   COH             161925100014                Gas           Gov. Aggregation
COH             159121730010                Gas           Gov. Aggregation   COH             110961730026                Gas           Gov. Aggregation
COH             159354660012                Gas           Gov. Aggregation   COH             166868820010                Gas           Gov. Aggregation
COH             159359440054                Gas           Gov. Aggregation   COH             167185060035                Gas           Gov. Aggregation
COH             159372350028                Gas           Gov. Aggregation   COH             167209970014                Gas           Gov. Aggregation
COH             159385560018                Gas           Gov. Aggregation   COH             169355690030                Gas           Gov. Aggregation
COH             159692380033                Gas           Gov. Aggregation   COH             169426840046                Gas           Gov. Aggregation
COH             159699370022                Gas           Gov. Aggregation   COH             169483210011                Gas           Gov. Aggregation
COH             159704640022                Gas           Gov. Aggregation   COH             169629320018                Gas           Gov. Aggregation
COH             159832250014                Gas           Gov. Aggregation   COH             169901880031                Gas           Gov. Aggregation
COH             159850510011                Gas           Gov. Aggregation   COH             170114980018                Gas           Gov. Aggregation
COH             159857620032                Gas           Gov. Aggregation   COH             170253510021                Gas           Gov. Aggregation
COH             159869100018                Gas           Gov. Aggregation   COH             170479900012                Gas           Gov. Aggregation
COH             159904600017                Gas           Gov. Aggregation   COH             172090410973                Gas           Gov. Aggregation
COH             160002570013                Gas           Gov. Aggregation   COH             172156240022                Gas           Gov. Aggregation
COH             160015180027                Gas           Gov. Aggregation   COH             172419230017                Gas           Gov. Aggregation
COH             160095580016                Gas           Gov. Aggregation   COH             172547210010                Gas           Gov. Aggregation
COH             160191900014                Gas           Gov. Aggregation   COH             173040560010                Gas           Gov. Aggregation
COH             160270960023                Gas           Gov. Aggregation   COH             173566480022                Gas           Gov. Aggregation
COH             160279400013                Gas           Gov. Aggregation   COH             173607820013                Gas           Gov. Aggregation
COH             160447270032                Gas           Gov. Aggregation   COH             173719860018                Gas           Gov. Aggregation
COH             160484410034                Gas           Gov. Aggregation   COH             173977940015                Gas           Gov. Aggregation
COH             160498520014                Gas           Gov. Aggregation   COH             163058610023                Gas           Gov. Aggregation
COH             160780580031                Gas           Gov. Aggregation   COH             163274500019                Gas           Gov. Aggregation
COH             160853700012                Gas           Gov. Aggregation   COH             163594590013                Gas           Gov. Aggregation
COH             160853760029                Gas           Gov. Aggregation   COH             163803060028                Gas           Gov. Aggregation
COH             161127720016                Gas           Gov. Aggregation   COH             163805500021                Gas           Gov. Aggregation
COH             161174240027                Gas           Gov. Aggregation   COH             165083050017                Gas           Gov. Aggregation
COH             161203990018                Gas           Gov. Aggregation   COH             165232160035                Gas           Gov. Aggregation
COH             161320220011                Gas           Gov. Aggregation   COH             165296440014                Gas           Gov. Aggregation
COH             161320280019                Gas           Gov. Aggregation   COH             165376100015                Gas           Gov. Aggregation
COH             161460650042                Gas           Gov. Aggregation   COH             165384410022                Gas           Gov. Aggregation
COH             161484480011                Gas           Gov. Aggregation   COH             165398300017                Gas           Gov. Aggregation
COH             161491640012                Gas           Gov. Aggregation   COH             166158160014                Gas           Gov. Aggregation
COH             161527230011                Gas           Gov. Aggregation   COH             166169350011                Gas           Gov. Aggregation
COH             161778900019                Gas           Gov. Aggregation   COH             166416320021                Gas           Gov. Aggregation
COH             161811580042                Gas           Gov. Aggregation   COH             166420900020                Gas           Gov. Aggregation
COH             162051300050                Gas           Gov. Aggregation   COH             166497080022                Gas           Gov. Aggregation
COH             162063540019                Gas           Gov. Aggregation   COH             166520740031                Gas           Gov. Aggregation
COH             162175950016                Gas           Gov. Aggregation   COH             166551330014                Gas           Gov. Aggregation
COH             162243280021                Gas           Gov. Aggregation   COH             166554960025                Gas           Gov. Aggregation
COH             167507770014                Gas           Gov. Aggregation   COH             167356760017                Gas           Gov. Aggregation
COH             167618840014                Gas           Gov. Aggregation   COH             167633240018                Gas           Gov. Aggregation
COH             167622650015                Gas           Gov. Aggregation   COH             167703550014                Gas           Gov. Aggregation
COH             167625900052                Gas           Gov. Aggregation   COH             168556780018                Gas           Gov. Aggregation
COH             167633990011                Gas           Gov. Aggregation   COH             168556800013                Gas           Gov. Aggregation
COH             167651450016                Gas           Gov. Aggregation   COH             168817440042                Gas           Gov. Aggregation
COH             167723910016                Gas           Gov. Aggregation   COH             169002720021                Gas           Gov. Aggregation
COH             167769070017                Gas           Gov. Aggregation   COH             170240360011                Gas           Gov. Aggregation
COH             176007950024                Gas           Gov. Aggregation   COH             170399320014                Gas           Gov. Aggregation
COH             176007950033                Gas           Gov. Aggregation   COH             172832750012                Gas           Gov. Aggregation
COH             176149410018                Gas           Gov. Aggregation   COH             173354320015                Gas           Gov. Aggregation
COH             176285010014                Gas           Gov. Aggregation   COH             173592970015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             176439460013                Gas           Gov. Aggregation   COH             174082200016                Gas           Gov. Aggregation
COH             177678290012                Gas           Gov. Aggregation   COH             174101080010                Gas           Gov. Aggregation
COH             177850540013                Gas           Gov. Aggregation   COH             174190000019                Gas           Gov. Aggregation
COH             185100180018                Gas           Gov. Aggregation   COH             174448350019                Gas           Gov. Aggregation
COH             185103220013                Gas           Gov. Aggregation   COH             174589000014                Gas           Gov. Aggregation
COH             185123560010                Gas           Gov. Aggregation   COH             176322110013                Gas           Gov. Aggregation
COH             188738470013                Gas           Gov. Aggregation   COH             176327760017                Gas           Gov. Aggregation
COH             188745020012                Gas           Gov. Aggregation   COH             176420210014                Gas           Gov. Aggregation
COH             188772750012                Gas           Gov. Aggregation   COH             176962670010                Gas           Gov. Aggregation
COH             188835080019                Gas           Gov. Aggregation   COH             177045250011                Gas           Gov. Aggregation
COH             188880920017                Gas           Gov. Aggregation   COH             177106760014                Gas           Gov. Aggregation
COH             155185370070                Gas           Gov. Aggregation   COH             177113310013                Gas           Gov. Aggregation
COH             155207220019                Gas           Gov. Aggregation   COH             177126880017                Gas           Gov. Aggregation
COH             155244750010                Gas           Gov. Aggregation   COH             177131280012                Gas           Gov. Aggregation
COH             155244750038                Gas           Gov. Aggregation   COH             185282950012                Gas           Gov. Aggregation
COH             155244750047                Gas           Gov. Aggregation   COH             121855930053                Gas           Gov. Aggregation
COH             155244750056                Gas           Gov. Aggregation   COH             121855930099                Gas           Gov. Aggregation
COH             155338100035                Gas           Gov. Aggregation   COH             121855930222                Gas           Gov. Aggregation
COH             155428940010                Gas           Gov. Aggregation   COH             126711490028                Gas           Gov. Aggregation
COH             155473250056                Gas           Gov. Aggregation   COH             126854980014                Gas           Gov. Aggregation
COH             155499370011                Gas           Gov. Aggregation   COH             126951170018                Gas           Gov. Aggregation
COH             155624510023                Gas           Gov. Aggregation   COH             127300230013                Gas           Gov. Aggregation
COH             155651350011                Gas           Gov. Aggregation   COH             132303240018                Gas           Gov. Aggregation
COH             155732700015                Gas           Gov. Aggregation   COH             133058860054                Gas           Gov. Aggregation
COH             155946430028                Gas           Gov. Aggregation   COH             133059480016                Gas           Gov. Aggregation
COH             155958860023                Gas           Gov. Aggregation   COH             133418350039                Gas           Gov. Aggregation
COH             155983270042                Gas           Gov. Aggregation   COH             135204900016                Gas           Gov. Aggregation
COH             156018710025                Gas           Gov. Aggregation   COH             135281990016                Gas           Gov. Aggregation
COH             156048080043                Gas           Gov. Aggregation   COH             135393930039                Gas           Gov. Aggregation
COH             156197390034                Gas           Gov. Aggregation   COH             135555940042                Gas           Gov. Aggregation
COH             156223760011                Gas           Gov. Aggregation   COH             135693350017                Gas           Gov. Aggregation
COH             156329410010                Gas           Gov. Aggregation   COH             135694050018                Gas           Gov. Aggregation
COH             156340100011                Gas           Gov. Aggregation   COH             135942240011                Gas           Gov. Aggregation
COH             156584270010                Gas           Gov. Aggregation   COH             137313960011                Gas           Gov. Aggregation
COH             156584330017                Gas           Gov. Aggregation   COH             137397900035                Gas           Gov. Aggregation
COH             156599530014                Gas           Gov. Aggregation   COH             137653810021                Gas           Gov. Aggregation
COH             156663030012                Gas           Gov. Aggregation   COH             137780930018                Gas           Gov. Aggregation
COH             156837600022                Gas           Gov. Aggregation   COH             137831830010                Gas           Gov. Aggregation
COH             156900720022                Gas           Gov. Aggregation   COH             137851610032                Gas           Gov. Aggregation
COH             156900730011                Gas           Gov. Aggregation   COH             139186010019                Gas           Gov. Aggregation
COH             157053060018                Gas           Gov. Aggregation   COH             139840010011                Gas           Gov. Aggregation
COH             157132350037                Gas           Gov. Aggregation   COH             139863110012                Gas           Gov. Aggregation
COH             157182960052                Gas           Gov. Aggregation   COH             139890220012                Gas           Gov. Aggregation
COH             157255050021                Gas           Gov. Aggregation   COH             139999670018                Gas           Gov. Aggregation
COH             157278080018                Gas           Gov. Aggregation   COH             140430970016                Gas           Gov. Aggregation
COH             157349340067                Gas           Gov. Aggregation   COH             140702490038                Gas           Gov. Aggregation
COH             157353880029                Gas           Gov. Aggregation   COH             140872190023                Gas           Gov. Aggregation
COH             157434670012                Gas           Gov. Aggregation   COH             141367190014                Gas           Gov. Aggregation
COH             157435640034                Gas           Gov. Aggregation   COH             141497840021                Gas           Gov. Aggregation
COH             157488750030                Gas           Gov. Aggregation   COH             141991250027                Gas           Gov. Aggregation
COH             157619440027                Gas           Gov. Aggregation   COH             111169330010                Gas           Gov. Aggregation
COH             157646810013                Gas           Gov. Aggregation   COH             111222490013                Gas           Gov. Aggregation
COH             157646830028                Gas           Gov. Aggregation   COH             111223040033                Gas           Gov. Aggregation
COH             157665310018                Gas           Gov. Aggregation   COH             111223050022                Gas           Gov. Aggregation
COH             157677330019                Gas           Gov. Aggregation   COH             111223390021                Gas           Gov. Aggregation
COH             157807550016                Gas           Gov. Aggregation   COH             111223740018                Gas           Gov. Aggregation
COH             157842870024                Gas           Gov. Aggregation   COH             111223830019                Gas           Gov. Aggregation
COH             157847650011                Gas           Gov. Aggregation   COH             111229650033                Gas           Gov. Aggregation
COH             158195340018                Gas           Gov. Aggregation   COH             111229850013                Gas           Gov. Aggregation
COH             158196570018                Gas           Gov. Aggregation   COH             111229860011                Gas           Gov. Aggregation
COH             158199010019                Gas           Gov. Aggregation   COH             111230010043                Gas           Gov. Aggregation
COH             158379150018                Gas           Gov. Aggregation   COH             111230290027                Gas           Gov. Aggregation
COH             158439270015                Gas           Gov. Aggregation   COH             111230500013                Gas           Gov. Aggregation
COH             158535290017                Gas           Gov. Aggregation   COH             111239300017                Gas           Gov. Aggregation
COH             158588750064                Gas           Gov. Aggregation   COH             111245550012                Gas           Gov. Aggregation
COH             172665390013                Gas           Gov. Aggregation   COH             111245810017                Gas           Gov. Aggregation
COH             172754490013                Gas           Gov. Aggregation   COH             111245990010                Gas           Gov. Aggregation
COH             172765850014                Gas           Gov. Aggregation   COH             111266170027                Gas           Gov. Aggregation
COH             172772260013                Gas           Gov. Aggregation   COH             111266590010                Gas           Gov. Aggregation
COH             172787600010                Gas           Gov. Aggregation   COH             111266860022                Gas           Gov. Aggregation
COH             172990350049                Gas           Gov. Aggregation   COH             111267040013                Gas           Gov. Aggregation
COH             173007410011                Gas           Gov. Aggregation   COH             111267060019                Gas           Gov. Aggregation
COH             173121860015                Gas           Gov. Aggregation   COH             111267070017                Gas           Gov. Aggregation
COH             173142520012                Gas           Gov. Aggregation   COH             111267430011                Gas           Gov. Aggregation
COH             173228030013                Gas           Gov. Aggregation   COH             130579520018                Gas           Gov. Aggregation
COH             173238100017                Gas           Gov. Aggregation   COH             131259330015                Gas           Gov. Aggregation
COH             173251480029                Gas           Gov. Aggregation   COH             131713590017                Gas           Gov. Aggregation
COH             173327920016                Gas           Gov. Aggregation   COH             132771800028                Gas           Gov. Aggregation
COH             173460890011                Gas           Gov. Aggregation   COH             132773520023                Gas           Gov. Aggregation
COH             173477750015                Gas           Gov. Aggregation   COH             133156860010                Gas           Gov. Aggregation
COH             173567040013                Gas           Gov. Aggregation   COH             133521770023                Gas           Gov. Aggregation
COH             173684090015                Gas           Gov. Aggregation   COH             136440170019                Gas           Gov. Aggregation
COH             173721560016                Gas           Gov. Aggregation   COH             138565730015                Gas           Gov. Aggregation
COH             173753050052                Gas           Gov. Aggregation   COH             138767200027                Gas           Gov. Aggregation
COH             174056000013                Gas           Gov. Aggregation   COH             150684440027                Gas           Gov. Aggregation
COH             174059370010                Gas           Gov. Aggregation   COH             108839260019                Gas           Gov. Aggregation
COH             174147640016                Gas           Gov. Aggregation   COH             108842780068                Gas           Gov. Aggregation
COH             174149720015                Gas           Gov. Aggregation   COH             108847780013                Gas           Gov. Aggregation
COH             174224870014                Gas           Gov. Aggregation   COH             149152920017                Gas           Gov. Aggregation
COH             174341280010                Gas           Gov. Aggregation   COH             149792480014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             174348940017                Gas           Gov. Aggregation   COH             150066520020                Gas           Gov. Aggregation
COH             174361610018                Gas           Gov. Aggregation   COH             153582310027                Gas           Gov. Aggregation
COH             174464900019                Gas           Gov. Aggregation   COH             162949740028                Gas           Gov. Aggregation
COH             174620650010                Gas           Gov. Aggregation   COH             163967450155                Gas           Gov. Aggregation
COH             174634220020                Gas           Gov. Aggregation   COH             172201740011                Gas           Gov. Aggregation
COH             174634240017                Gas           Gov. Aggregation   COH             108800930019                Gas           Gov. Aggregation
COH             174640820012                Gas           Gov. Aggregation   COH             174946100015                Gas           Gov. Aggregation
COH             188927710011                Gas           Gov. Aggregation   COH             174961530013                Gas           Gov. Aggregation
COH             188971610019                Gas           Gov. Aggregation   COH             175255290010                Gas           Gov. Aggregation
COH             189006600015                Gas           Gov. Aggregation   COH             175488140018                Gas           Gov. Aggregation
COH             122350690035                Gas           Gov. Aggregation   COH             176323840018                Gas           Gov. Aggregation
COH             122350790016                Gas           Gov. Aggregation   COH             115802760012                Gas           Gov. Aggregation
COH             122351260033                Gas           Gov. Aggregation   COH             143415880014                Gas           Gov. Aggregation
COH             122352600020                Gas           Gov. Aggregation   COH             143774340017                Gas           Gov. Aggregation
COH             122353090035                Gas           Gov. Aggregation   COH             142654710014                Gas           Gov. Aggregation
COH             122354100021                Gas           Gov. Aggregation   COH             143071220012                Gas           Gov. Aggregation
COH             122354260019                Gas           Gov. Aggregation   COH             143120150021                Gas           Gov. Aggregation
COH             122354550027                Gas           Gov. Aggregation   COH             143253510015                Gas           Gov. Aggregation
COH             122354560016                Gas           Gov. Aggregation   COH             144716560021                Gas           Gov. Aggregation
COH             122354590010                Gas           Gov. Aggregation   COH             144907300011                Gas           Gov. Aggregation
COH             122355740034                Gas           Gov. Aggregation   COH             145676610016                Gas           Gov. Aggregation
COH             122355900012                Gas           Gov. Aggregation   COH             147653070016                Gas           Gov. Aggregation
COH             122356280039                Gas           Gov. Aggregation   COH             147671360017                Gas           Gov. Aggregation
COH             122356490017                Gas           Gov. Aggregation   COH             148587540026                Gas           Gov. Aggregation
COH             122356650013                Gas           Gov. Aggregation   COH             149042720021                Gas           Gov. Aggregation
COH             122357180029                Gas           Gov. Aggregation   COH             149272760017                Gas           Gov. Aggregation
COH             122357440024                Gas           Gov. Aggregation   COH             150433660013                Gas           Gov. Aggregation
COH             122357460020                Gas           Gov. Aggregation   COH             150638990010                Gas           Gov. Aggregation
COH             122357560010                Gas           Gov. Aggregation   COH             150731730016                Gas           Gov. Aggregation
COH             122357570018                Gas           Gov. Aggregation   COH             150767490012                Gas           Gov. Aggregation
COH             122358230062                Gas           Gov. Aggregation   COH             150819490011                Gas           Gov. Aggregation
COH             122358470026                Gas           Gov. Aggregation   COH             150921260021                Gas           Gov. Aggregation
COH             122358710016                Gas           Gov. Aggregation   COH             152567520035                Gas           Gov. Aggregation
COH             122360490090                Gas           Gov. Aggregation   COH             152692730018                Gas           Gov. Aggregation
COH             122360710020                Gas           Gov. Aggregation   COH             153204950014                Gas           Gov. Aggregation
COH             122360720019                Gas           Gov. Aggregation   COH             153221360012                Gas           Gov. Aggregation
COH             122362920031                Gas           Gov. Aggregation   COH             153275090016                Gas           Gov. Aggregation
COH             122362930011                Gas           Gov. Aggregation   COH             153333830016                Gas           Gov. Aggregation
COH             122363010030                Gas           Gov. Aggregation   COH             153359950017                Gas           Gov. Aggregation
COH             122363800016                Gas           Gov. Aggregation   COH             153754910017                Gas           Gov. Aggregation
COH             122363880038                Gas           Gov. Aggregation   COH             154955760021                Gas           Gov. Aggregation
COH             122368440030                Gas           Gov. Aggregation   COH             185924530018                Gas           Gov. Aggregation
COH             122368700026                Gas           Gov. Aggregation   COH             156300930011                Gas           Gov. Aggregation
COH             122368840018                Gas           Gov. Aggregation   COH             156311870011                Gas           Gov. Aggregation
COH             122371440024                Gas           Gov. Aggregation   COH             157340340029                Gas           Gov. Aggregation
COH             122371490024                Gas           Gov. Aggregation   COH             158743910015                Gas           Gov. Aggregation
COH             122371750029                Gas           Gov. Aggregation   COH             158910710012                Gas           Gov. Aggregation
COH             122372820013                Gas           Gov. Aggregation   COH             158910710058                Gas           Gov. Aggregation
COH             122372870022                Gas           Gov. Aggregation   COH             160156810017                Gas           Gov. Aggregation
COH             122372920012                Gas           Gov. Aggregation   COH             161004940010                Gas           Gov. Aggregation
COH             122373100012                Gas           Gov. Aggregation   COH             161009840226                Gas           Gov. Aggregation
COH             122373530021                Gas           Gov. Aggregation   COH             161009840593                Gas           Gov. Aggregation
COH             122374410015                Gas           Gov. Aggregation   COH             161072400010                Gas           Gov. Aggregation
COH             122375790023                Gas           Gov. Aggregation   COH             161118420018                Gas           Gov. Aggregation
COH             122376000035                Gas           Gov. Aggregation   COH             161141780032                Gas           Gov. Aggregation
COH             122377280026                Gas           Gov. Aggregation   COH             162533300012                Gas           Gov. Aggregation
COH             122377320018                Gas           Gov. Aggregation   COH             162537490024                Gas           Gov. Aggregation
COH             122377510027                Gas           Gov. Aggregation   COH             162644000010                Gas           Gov. Aggregation
COH             122377560018                Gas           Gov. Aggregation   COH             162845390013                Gas           Gov. Aggregation
COH             122377840028                Gas           Gov. Aggregation   COH             185458020014                Gas           Gov. Aggregation
COH             122377880011                Gas           Gov. Aggregation   COH             186388450012                Gas           Gov. Aggregation
COH             122378650026                Gas           Gov. Aggregation   COH             186412200011                Gas           Gov. Aggregation
COH             122379510014                Gas           Gov. Aggregation   COH             186420450012                Gas           Gov. Aggregation
COH             150696200031                Gas           Gov. Aggregation   COH             186424000018                Gas           Gov. Aggregation
COH             150729070010                Gas           Gov. Aggregation   COH             186459450011                Gas           Gov. Aggregation
COH             150991750049                Gas           Gov. Aggregation   COH             110988210029                Gas           Gov. Aggregation
COH             150994620068                Gas           Gov. Aggregation   COH             111014160022                Gas           Gov. Aggregation
COH             151023080031                Gas           Gov. Aggregation   COH             129233690018                Gas           Gov. Aggregation
COH             151115440058                Gas           Gov. Aggregation   COH             175201600026                Gas           Gov. Aggregation
COH             151447770029                Gas           Gov. Aggregation   COH             176046390011                Gas           Gov. Aggregation
COH             151730200018                Gas           Gov. Aggregation   COH             176135210019                Gas           Gov. Aggregation
COH             151743660024                Gas           Gov. Aggregation   COH             176184800012                Gas           Gov. Aggregation
COH             151945550010                Gas           Gov. Aggregation   COH             177560690026                Gas           Gov. Aggregation
COH             151981610011                Gas           Gov. Aggregation   COH             185210540019                Gas           Gov. Aggregation
COH             152029400012                Gas           Gov. Aggregation   COH             185216480010                Gas           Gov. Aggregation
COH             152056480028                Gas           Gov. Aggregation   COH             186126670010                Gas           Gov. Aggregation
COH             152103650021                Gas           Gov. Aggregation   COH             187477180019                Gas           Gov. Aggregation
COH             152361840052                Gas           Gov. Aggregation   COH             110961830034                Gas           Gov. Aggregation
COH             152393100023                Gas           Gov. Aggregation   COH             110962520019                Gas           Gov. Aggregation
COH             152402800016                Gas           Gov. Aggregation   COH             110969450029                Gas           Gov. Aggregation
COH             152698850020                Gas           Gov. Aggregation   COH             111271980017                Gas           Gov. Aggregation
COH             152718310010                Gas           Gov. Aggregation   COH             111272240010                Gas           Gov. Aggregation
COH             152735370030                Gas           Gov. Aggregation   COH             130464090021                Gas           Gov. Aggregation
COH             153092090023                Gas           Gov. Aggregation   COH             131554170013                Gas           Gov. Aggregation
COH             153142480024                Gas           Gov. Aggregation   COH             131898570011                Gas           Gov. Aggregation
COH             153318340048                Gas           Gov. Aggregation   COH             133497370039                Gas           Gov. Aggregation
COH             153322030035                Gas           Gov. Aggregation   COH             134787700024                Gas           Gov. Aggregation
COH             153354990019                Gas           Gov. Aggregation   COH             142049350013                Gas           Gov. Aggregation
COH             153437980042                Gas           Gov. Aggregation   COH             142282240021                Gas           Gov. Aggregation
COH             153576930020                Gas           Gov. Aggregation   COH             143166930012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             153636710037                Gas           Gov. Aggregation   COH             147721340014                Gas           Gov. Aggregation
COH             153654220023                Gas           Gov. Aggregation   COH             148589060014                Gas           Gov. Aggregation
COH             153867310014                Gas           Gov. Aggregation   COH             148948160011                Gas           Gov. Aggregation
COH             153912790026                Gas           Gov. Aggregation   COH             149466680013                Gas           Gov. Aggregation
COH             153921850024                Gas           Gov. Aggregation   COH             159489940018                Gas           Gov. Aggregation
COH             153938790022                Gas           Gov. Aggregation   COH             159858280014                Gas           Gov. Aggregation
COH             153939640030                Gas           Gov. Aggregation   COH             161278750011                Gas           Gov. Aggregation
COH             154095520016                Gas           Gov. Aggregation   COH             161665650011                Gas           Gov. Aggregation
COH             154095540012                Gas           Gov. Aggregation   COH             161970320013                Gas           Gov. Aggregation
COH             154133550018                Gas           Gov. Aggregation   COH             162027070014                Gas           Gov. Aggregation
COH             154157130016                Gas           Gov. Aggregation   COH             164543340011                Gas           Gov. Aggregation
COH             154586460018                Gas           Gov. Aggregation   COH             164736740018                Gas           Gov. Aggregation
COH             154790330021                Gas           Gov. Aggregation   COH             165610610010                Gas           Gov. Aggregation
COH             154803250010                Gas           Gov. Aggregation   COH             166169310019                Gas           Gov. Aggregation
COH             154818060028                Gas           Gov. Aggregation   COH             171166420015                Gas           Gov. Aggregation
COH             154839740021                Gas           Gov. Aggregation   COH             171885990030                Gas           Gov. Aggregation
COH             154848860036                Gas           Gov. Aggregation   COH             173747040020                Gas           Gov. Aggregation
COH             154892710016                Gas           Gov. Aggregation   COH             173925650015                Gas           Gov. Aggregation
COH             154988870038                Gas           Gov. Aggregation   COH             174064120011                Gas           Gov. Aggregation
COH             155017940011                Gas           Gov. Aggregation   COH             174610030011                Gas           Gov. Aggregation
COH             155049820019                Gas           Gov. Aggregation   COH             175398520019                Gas           Gov. Aggregation
COH             155069140029                Gas           Gov. Aggregation   COH             109735670021                Gas           Gov. Aggregation
COH             187513550013                Gas           Gov. Aggregation   COH             110443700020                Gas           Gov. Aggregation
COH             187551800010                Gas           Gov. Aggregation   COH             111215320022                Gas           Gov. Aggregation
COH             187792440016                Gas           Gov. Aggregation   COH             111215330011                Gas           Gov. Aggregation
COH             187800520010                Gas           Gov. Aggregation   COH             111215380011                Gas           Gov. Aggregation
COH             187830510019                Gas           Gov. Aggregation   COH             111215700013                Gas           Gov. Aggregation
COH             170459910012                Gas           Gov. Aggregation   COH             111216240018                Gas           Gov. Aggregation
COH             170460020034                Gas           Gov. Aggregation   COH             111216290018                Gas           Gov. Aggregation
COH             170597460015                Gas           Gov. Aggregation   COH             111217240025                Gas           Gov. Aggregation
COH             170606410023                Gas           Gov. Aggregation   COH             111219930017                Gas           Gov. Aggregation
COH             170716190027                Gas           Gov. Aggregation   COH             111220140010                Gas           Gov. Aggregation
COH             170743250018                Gas           Gov. Aggregation   COH             111220200017                Gas           Gov. Aggregation
COH             170761050012                Gas           Gov. Aggregation   COH             111220240019                Gas           Gov. Aggregation
COH             170968640010                Gas           Gov. Aggregation   COH             111226110023                Gas           Gov. Aggregation
COH             170987880056                Gas           Gov. Aggregation   COH             111226660028                Gas           Gov. Aggregation
COH             170994440017                Gas           Gov. Aggregation   COH             111227140016                Gas           Gov. Aggregation
COH             171088920016                Gas           Gov. Aggregation   COH             111227140025                Gas           Gov. Aggregation
COH             171107810017                Gas           Gov. Aggregation   COH             111234070070                Gas           Gov. Aggregation
COH             171139730017                Gas           Gov. Aggregation   COH             111234070089                Gas           Gov. Aggregation
COH             171285260035                Gas           Gov. Aggregation   COH             111234070098                Gas           Gov. Aggregation
COH             171405320018                Gas           Gov. Aggregation   COH             111234230012                Gas           Gov. Aggregation
COH             171645690013                Gas           Gov. Aggregation   COH             111234790015                Gas           Gov. Aggregation
COH             171769310029                Gas           Gov. Aggregation   COH             111234920017                Gas           Gov. Aggregation
COH             171790680018                Gas           Gov. Aggregation   COH             111235030012                Gas           Gov. Aggregation
COH             171809580027                Gas           Gov. Aggregation   COH             111235600021                Gas           Gov. Aggregation
COH             171827600015                Gas           Gov. Aggregation   COH             111235640014                Gas           Gov. Aggregation
COH             171842230011                Gas           Gov. Aggregation   COH             111235650012                Gas           Gov. Aggregation
COH             171958320035                Gas           Gov. Aggregation   COH             111235810018                Gas           Gov. Aggregation
COH             172025150019                Gas           Gov. Aggregation   COH             111235950019                Gas           Gov. Aggregation
COH             172179830011                Gas           Gov. Aggregation   COH             111236100015                Gas           Gov. Aggregation
COH             172200830014                Gas           Gov. Aggregation   COH             111258290029                Gas           Gov. Aggregation
COH             172202870012                Gas           Gov. Aggregation   COH             111262660022                Gas           Gov. Aggregation
COH             172203020054                Gas           Gov. Aggregation   COH             111263690015                Gas           Gov. Aggregation
COH             172316310018                Gas           Gov. Aggregation   COH             111263840013                Gas           Gov. Aggregation
COH             172444020018                Gas           Gov. Aggregation   COH             111263930014                Gas           Gov. Aggregation
COH             172461490014                Gas           Gov. Aggregation   COH             111264200015                Gas           Gov. Aggregation
COH             172461500020                Gas           Gov. Aggregation   COH             111264270011                Gas           Gov. Aggregation
COH             172474930014                Gas           Gov. Aggregation   COH             111265020011                Gas           Gov. Aggregation
COH             172519760032                Gas           Gov. Aggregation   COH             111265030019                Gas           Gov. Aggregation
COH             172530980014                Gas           Gov. Aggregation   COH             111265030028                Gas           Gov. Aggregation
COH             172604140022                Gas           Gov. Aggregation   COH             111267910010                Gas           Gov. Aggregation
COH             172611530016                Gas           Gov. Aggregation   COH             111267930016                Gas           Gov. Aggregation
COH             187885500016                Gas           Gov. Aggregation   COH             111269440015                Gas           Gov. Aggregation
COH             187890160017                Gas           Gov. Aggregation   COH             111269520018                Gas           Gov. Aggregation
COH             187932000010                Gas           Gov. Aggregation   COH             111273030012                Gas           Gov. Aggregation
COH             187963420017                Gas           Gov. Aggregation   COH             111273070014                Gas           Gov. Aggregation
COH             188034950014                Gas           Gov. Aggregation   COH             111273160015                Gas           Gov. Aggregation
COH             188254530016                Gas           Gov. Aggregation   COH             111273380019                Gas           Gov. Aggregation
COH             188314530018                Gas           Gov. Aggregation   COH             111273630025                Gas           Gov. Aggregation
COH             188403190011                Gas           Gov. Aggregation   COH             111281790016                Gas           Gov. Aggregation
COH             188409520019                Gas           Gov. Aggregation   COH             111281850013                Gas           Gov. Aggregation
COH             167954460030                Gas           Gov. Aggregation   COH             111281940014                Gas           Gov. Aggregation
COH             167991580019                Gas           Gov. Aggregation   COH             111281950012                Gas           Gov. Aggregation
COH             168132410022                Gas           Gov. Aggregation   COH             111281960010                Gas           Gov. Aggregation
COH             168288670029                Gas           Gov. Aggregation   COH             111282070015                Gas           Gov. Aggregation
COH             168422820012                Gas           Gov. Aggregation   COH             111282410013                Gas           Gov. Aggregation
COH             168449980013                Gas           Gov. Aggregation   COH             111283410020                Gas           Gov. Aggregation
COH             168459930012                Gas           Gov. Aggregation   COH             111283770016                Gas           Gov. Aggregation
COH             168460010012                Gas           Gov. Aggregation   COH             111283840011                Gas           Gov. Aggregation
COH             168571260015                Gas           Gov. Aggregation   COH             111284060022                Gas           Gov. Aggregation
COH             168584400018                Gas           Gov. Aggregation   COH             111284310038                Gas           Gov. Aggregation
COH             168588320017                Gas           Gov. Aggregation   COH             111284310047                Gas           Gov. Aggregation
COH             168594650015                Gas           Gov. Aggregation   COH             162791040039                Gas           Gov. Aggregation
COH             168686790011                Gas           Gov. Aggregation   COH             166125790020                Gas           Gov. Aggregation
COH             168686800018                Gas           Gov. Aggregation   COH             187837300019                Gas           Gov. Aggregation
COH             168708080012                Gas           Gov. Aggregation   COH             187917590019                Gas           Gov. Aggregation
COH             168708090010                Gas           Gov. Aggregation   COH             148477210037                Gas           Gov. Aggregation
COH             168779980014                Gas           Gov. Aggregation   COH             111266080017                Gas           Gov. Aggregation
COH             169301210015                Gas           Gov. Aggregation   COH             170713030062                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             169480110018                Gas           Gov. Aggregation   COH             139678770026                Gas           Gov. Aggregation
COH             169482390043                Gas           Gov. Aggregation   COH             140973780016                Gas           Gov. Aggregation
COH             169674640034                Gas           Gov. Aggregation   COH             114919520025                Gas           Gov. Aggregation
COH             169937560015                Gas           Gov. Aggregation   COH             114929720031                Gas           Gov. Aggregation
COH             170104450010                Gas           Gov. Aggregation   COH             114930420031                Gas           Gov. Aggregation
COH             170135910018                Gas           Gov. Aggregation   COH             114965070014                Gas           Gov. Aggregation
COH             170143050012                Gas           Gov. Aggregation   COH             114966470018                Gas           Gov. Aggregation
COH             170198010015                Gas           Gov. Aggregation   COH             114983710039                Gas           Gov. Aggregation
COH             186374640011                Gas           Gov. Aggregation   COH             114983710057                Gas           Gov. Aggregation
COH             186375680011                Gas           Gov. Aggregation   COH             114989520028                Gas           Gov. Aggregation
COH             186451070026                Gas           Gov. Aggregation   COH             114989630016                Gas           Gov. Aggregation
COH             186456740016                Gas           Gov. Aggregation   COH             115009670013                Gas           Gov. Aggregation
COH             186514910016                Gas           Gov. Aggregation   COH             115012570017                Gas           Gov. Aggregation
COH             186534670015                Gas           Gov. Aggregation   COH             115016000036                Gas           Gov. Aggregation
COH             186633700018                Gas           Gov. Aggregation   COH             115028690019                Gas           Gov. Aggregation
COH             186663390011                Gas           Gov. Aggregation   COH             115029030024                Gas           Gov. Aggregation
COH             186719470015                Gas           Gov. Aggregation   COH             115030030012                Gas           Gov. Aggregation
COH             186735020015                Gas           Gov. Aggregation   COH             115032340031                Gas           Gov. Aggregation
COH             186738390012                Gas           Gov. Aggregation   COH             176875080019                Gas           Gov. Aggregation
COH             186794550010                Gas           Gov. Aggregation   COH             176985750015                Gas           Gov. Aggregation
COH             186804390011                Gas           Gov. Aggregation   COH             177324920018                Gas           Gov. Aggregation
COH             186807390015                Gas           Gov. Aggregation   COH             185553440014                Gas           Gov. Aggregation
COH             186879020011                Gas           Gov. Aggregation   COH             185586970014                Gas           Gov. Aggregation
COH             186921820012                Gas           Gov. Aggregation   COH             186780250012                Gas           Gov. Aggregation
COH             187037510011                Gas           Gov. Aggregation   COH             186912980018                Gas           Gov. Aggregation
COH             187099670018                Gas           Gov. Aggregation   COH             187033020012                Gas           Gov. Aggregation
COH             187170200014                Gas           Gov. Aggregation   COH             177227350014                Gas           Gov. Aggregation
COH             187226800019                Gas           Gov. Aggregation   COH             177373220012                Gas           Gov. Aggregation
COH             187398470016                Gas           Gov. Aggregation   COH             150003150011                Gas           Gov. Aggregation
COH             122415020019                Gas           Gov. Aggregation   COH             122395720016                Gas           Gov. Aggregation
COH             132527850150                Gas           Gov. Aggregation   COH             122495360010                Gas           Gov. Aggregation
COH             132528480012                Gas           Gov. Aggregation   COH             128711180049                Gas           Gov. Aggregation
COH             132554830031                Gas           Gov. Aggregation   COH             122402270023                Gas           Gov. Aggregation
COH             132619990021                Gas           Gov. Aggregation   COH             122405900015                Gas           Gov. Aggregation
COH             132640100013                Gas           Gov. Aggregation   COH             122388440010                Gas           Gov. Aggregation
COH             132665630056                Gas           Gov. Aggregation   COH             154460320013                Gas           Gov. Aggregation
COH             132959470048                Gas           Gov. Aggregation   COH             127313430023                Gas           Gov. Aggregation
COH             132973640015                Gas           Gov. Aggregation   COH             122357250015                Gas           Gov. Aggregation
COH             133014760011                Gas           Gov. Aggregation   COH             122363390013                Gas           Gov. Aggregation
COH             133115090054                Gas           Gov. Aggregation   COH             161934440014                Gas           Gov. Aggregation
COH             133456360028                Gas           Gov. Aggregation   COH             122356940012                Gas           Gov. Aggregation
COH             133505650022                Gas           Gov. Aggregation   COH             122355870019                Gas           Gov. Aggregation
COH             133867470015                Gas           Gov. Aggregation   COH             122384520011                Gas           Gov. Aggregation
COH             133897700013                Gas           Gov. Aggregation   COH             122406530011                Gas           Gov. Aggregation
COH             133901260015                Gas           Gov. Aggregation   COH             132224190017                Gas           Gov. Aggregation
COH             134169840025                Gas           Gov. Aggregation   COH             122402190011                Gas           Gov. Aggregation
COH             134192940034                Gas           Gov. Aggregation   COH             157142830017                Gas           Gov. Aggregation
COH             134477460013                Gas           Gov. Aggregation   COH             129127190018                Gas           Gov. Aggregation
COH             134496600022                Gas           Gov. Aggregation   COH             122391080019                Gas           Gov. Aggregation
COH             134716260017                Gas           Gov. Aggregation   COH             122410490020                Gas           Gov. Aggregation
COH             134815360016                Gas           Gov. Aggregation   COH             122421960019                Gas           Gov. Aggregation
COH             135094490027                Gas           Gov. Aggregation   COH             122483150028                Gas           Gov. Aggregation
COH             135140650024                Gas           Gov. Aggregation   COH             122489120013                Gas           Gov. Aggregation
COH             122510670020                Gas           Gov. Aggregation   COH             122407360024                Gas           Gov. Aggregation
COH             122510880026                Gas           Gov. Aggregation   COH             111287360023                Gas           Gov. Aggregation
COH             122510890033                Gas           Gov. Aggregation   COH             111287530027                Gas           Gov. Aggregation
COH             122510900030                Gas           Gov. Aggregation   COH             111287630017                Gas           Gov. Aggregation
COH             122512710018                Gas           Gov. Aggregation   COH             111288820015                Gas           Gov. Aggregation
COH             122512930012                Gas           Gov. Aggregation   COH             111291240010                Gas           Gov. Aggregation
COH             122513080019                Gas           Gov. Aggregation   COH             111291540017                Gas           Gov. Aggregation
COH             122513120038                Gas           Gov. Aggregation   COH             111291770028                Gas           Gov. Aggregation
COH             122513290015                Gas           Gov. Aggregation   COH             111291910019                Gas           Gov. Aggregation
COH             122513370027                Gas           Gov. Aggregation   COH             111291930015                Gas           Gov. Aggregation
COH             122514350029                Gas           Gov. Aggregation   COH             121876790013                Gas           Gov. Aggregation
COH             122514620013                Gas           Gov. Aggregation   COH             134597400020                Gas           Gov. Aggregation
COH             122514740027                Gas           Gov. Aggregation   COH             135541410024                Gas           Gov. Aggregation
COH             122514880019                Gas           Gov. Aggregation   COH             135541410033                Gas           Gov. Aggregation
COH             122515740025                Gas           Gov. Aggregation   COH             138880650014                Gas           Gov. Aggregation
COH             122519290022                Gas           Gov. Aggregation   COH             155400940018                Gas           Gov. Aggregation
COH             122524300037                Gas           Gov. Aggregation   COH             155754890010                Gas           Gov. Aggregation
COH             122524630029                Gas           Gov. Aggregation   COH             156704900020                Gas           Gov. Aggregation
COH             122531680033                Gas           Gov. Aggregation   COH             156779240013                Gas           Gov. Aggregation
COH             122544440045                Gas           Gov. Aggregation   COH             156905390022                Gas           Gov. Aggregation
COH             123042250020                Gas           Gov. Aggregation   COH             157662060017                Gas           Gov. Aggregation
COH             123085020028                Gas           Gov. Aggregation   COH             164606190028                Gas           Gov. Aggregation
COH             123390250023                Gas           Gov. Aggregation   COH             165292000023                Gas           Gov. Aggregation
COH             126703250016                Gas           Gov. Aggregation   COH             165904600019                Gas           Gov. Aggregation
COH             126709100079                Gas           Gov. Aggregation   COH             115143770027                Gas           Gov. Aggregation
COH             126738080028                Gas           Gov. Aggregation   COH             115143830015                Gas           Gov. Aggregation
COH             126752620024                Gas           Gov. Aggregation   COH             150303720079                Gas           Gov. Aggregation
COH             126794660037                Gas           Gov. Aggregation   COH             154810170021                Gas           Gov. Aggregation
COH             126842130099                Gas           Gov. Aggregation   COH             157040250015                Gas           Gov. Aggregation
COH             126853960047                Gas           Gov. Aggregation   COH             157872520033                Gas           Gov. Aggregation
COH             127207470020                Gas           Gov. Aggregation   COH             173695080014                Gas           Gov. Aggregation
COH             127207470039                Gas           Gov. Aggregation   COH             175288550016                Gas           Gov. Aggregation
COH             127298091484                Gas           Gov. Aggregation   COH             175378100028                Gas           Gov. Aggregation
COH             127478270010                Gas           Gov. Aggregation   COH             177545260019                Gas           Gov. Aggregation
COH             128701040076                Gas           Gov. Aggregation   COH             177766920021                Gas           Gov. Aggregation
COH             128701040094                Gas           Gov. Aggregation   COH             185323910012                Gas           Gov. Aggregation
COH             128701040101                Gas           Gov. Aggregation   COH             186604730013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             128987320055                Gas           Gov. Aggregation   COH             186943830023                Gas           Gov. Aggregation
COH             129336700044                Gas           Gov. Aggregation   COH             186946560015                Gas           Gov. Aggregation
COH             129346650026                Gas           Gov. Aggregation   COH             186975790016                Gas           Gov. Aggregation
COH             129381610011                Gas           Gov. Aggregation   COH             186976680017                Gas           Gov. Aggregation
COH             129392940028                Gas           Gov. Aggregation   COH             187807310010                Gas           Gov. Aggregation
COH             129472550020                Gas           Gov. Aggregation   COH             187903380012                Gas           Gov. Aggregation
COH             130048900022                Gas           Gov. Aggregation   COH             166163630014                Gas           Gov. Aggregation
COH             130066450047                Gas           Gov. Aggregation   COH             186067510019                Gas           Gov. Aggregation
COH             130099880039                Gas           Gov. Aggregation   COH             186070690033                Gas           Gov. Aggregation
COH             130099880048                Gas           Gov. Aggregation   COH             186079050011                Gas           Gov. Aggregation
COH             130099880057                Gas           Gov. Aggregation   COH             186097360018                Gas           Gov. Aggregation
COH             130446010016                Gas           Gov. Aggregation   COH             186113980021                Gas           Gov. Aggregation
COH             130485640049                Gas           Gov. Aggregation   COH             186122470010                Gas           Gov. Aggregation
COH             130519980072                Gas           Gov. Aggregation   COH             186287360015                Gas           Gov. Aggregation
COH             130604870038                Gas           Gov. Aggregation   COH             186295250011                Gas           Gov. Aggregation
COH             130747070230                Gas           Gov. Aggregation   COH             186325790022                Gas           Gov. Aggregation
COH             130789470014                Gas           Gov. Aggregation   COH             186342470014                Gas           Gov. Aggregation
COH             130865600014                Gas           Gov. Aggregation   COH             186433770018                Gas           Gov. Aggregation
COH             131085370016                Gas           Gov. Aggregation   COH             186445130017                Gas           Gov. Aggregation
COH             131125820024                Gas           Gov. Aggregation   COH             186479380014                Gas           Gov. Aggregation
COH             131140160021                Gas           Gov. Aggregation   COH             186479390012                Gas           Gov. Aggregation
COH             131173220065                Gas           Gov. Aggregation   COH             186479430013                Gas           Gov. Aggregation
COH             131622630011                Gas           Gov. Aggregation   COH             186548010014                Gas           Gov. Aggregation
COH             131696760046                Gas           Gov. Aggregation   COH             186565870018                Gas           Gov. Aggregation
COH             131700020022                Gas           Gov. Aggregation   COH             186576870015                Gas           Gov. Aggregation
COH             131746350018                Gas           Gov. Aggregation   COH             176881980026                Gas           Gov. Aggregation
COH             131846830051                Gas           Gov. Aggregation   COH             177198690016                Gas           Gov. Aggregation
COH             131846830855                Gas           Gov. Aggregation   COH             177385960012                Gas           Gov. Aggregation
COH             132007710017                Gas           Gov. Aggregation   COH             177438100019                Gas           Gov. Aggregation
COH             132007780040                Gas           Gov. Aggregation   COH             177438110017                Gas           Gov. Aggregation
COH             132039590016                Gas           Gov. Aggregation   COH             185044260011                Gas           Gov. Aggregation
COH             132216430013                Gas           Gov. Aggregation   COH             185056900011                Gas           Gov. Aggregation
COH             135388610037                Gas           Gov. Aggregation   COH             185061620019                Gas           Gov. Aggregation
COH             135421530023                Gas           Gov. Aggregation   COH             185257730011                Gas           Gov. Aggregation
COH             135448140010                Gas           Gov. Aggregation   COH             185270280018                Gas           Gov. Aggregation
COH             135451910011                Gas           Gov. Aggregation   COH             185423830017                Gas           Gov. Aggregation
COH             135452130013                Gas           Gov. Aggregation   COH             185483480015                Gas           Gov. Aggregation
COH             135705100058                Gas           Gov. Aggregation   COH             185496950019                Gas           Gov. Aggregation
COH             135722380027                Gas           Gov. Aggregation   COH             185673270016                Gas           Gov. Aggregation
COH             135734550017                Gas           Gov. Aggregation   COH             185834900011                Gas           Gov. Aggregation
COH             135753240021                Gas           Gov. Aggregation   COH             185862500025                Gas           Gov. Aggregation
COH             135772900013                Gas           Gov. Aggregation   COH             186752110010                Gas           Gov. Aggregation
COH             135786630020                Gas           Gov. Aggregation   COH             186816760018                Gas           Gov. Aggregation
COH             136272930025                Gas           Gov. Aggregation   COH             187042280019                Gas           Gov. Aggregation
COH             136429110015                Gas           Gov. Aggregation   COH             187047140018                Gas           Gov. Aggregation
COH             136443220030                Gas           Gov. Aggregation   COH             187179170013                Gas           Gov. Aggregation
COH             136466970026                Gas           Gov. Aggregation   COH             187181070019                Gas           Gov. Aggregation
COH             136467090029                Gas           Gov. Aggregation   COH             167205730012                Gas           Gov. Aggregation
COH             136481170031                Gas           Gov. Aggregation   COH             167368340047                Gas           Gov. Aggregation
COH             136915760072                Gas           Gov. Aggregation   COH             167624590023                Gas           Gov. Aggregation
COH             137032660029                Gas           Gov. Aggregation   COH             172630760036                Gas           Gov. Aggregation
COH             137168040022                Gas           Gov. Aggregation   COH             175079900024                Gas           Gov. Aggregation
COH             137182790043                Gas           Gov. Aggregation   COH             175842130027                Gas           Gov. Aggregation
COH             137182810020                Gas           Gov. Aggregation   COH             175867900023                Gas           Gov. Aggregation
COH             137436410025                Gas           Gov. Aggregation   COH             187459790019                Gas           Gov. Aggregation
COH             137484930025                Gas           Gov. Aggregation   COH             149085250039                Gas           Gov. Aggregation
COH             137485160025                Gas           Gov. Aggregation   COH             149224150016                Gas           Gov. Aggregation
COH             137495600021                Gas           Gov. Aggregation   COH             151073820030                Gas           Gov. Aggregation
COH             137756740046                Gas           Gov. Aggregation   COH             151207490035                Gas           Gov. Aggregation
COH             137765290015                Gas           Gov. Aggregation   COH             151714080063                Gas           Gov. Aggregation
COH             137826550010                Gas           Gov. Aggregation   COH             153791320013                Gas           Gov. Aggregation
COH             137931300019                Gas           Gov. Aggregation   COH             156885450032                Gas           Gov. Aggregation
COH             137941570021                Gas           Gov. Aggregation   COH             157223840068                Gas           Gov. Aggregation
COH             122474550032                Gas           Gov. Aggregation   COH             158133270022                Gas           Gov. Aggregation
COH             122475030020                Gas           Gov. Aggregation   COH             159224940090                Gas           Gov. Aggregation
COH             122475060024                Gas           Gov. Aggregation   COH             161086380034                Gas           Gov. Aggregation
COH             122476170029                Gas           Gov. Aggregation   COH             161406500038                Gas           Gov. Aggregation
COH             122476200013                Gas           Gov. Aggregation   COH             161451360104                Gas           Gov. Aggregation
COH             122476210020                Gas           Gov. Aggregation   COH             162620310015                Gas           Gov. Aggregation
COH             122476260057                Gas           Gov. Aggregation   COH             162968190346                Gas           Gov. Aggregation
COH             122477180016                Gas           Gov. Aggregation   COH             164699880028                Gas           Gov. Aggregation
COH             122477220017                Gas           Gov. Aggregation   COH             165253060023                Gas           Gov. Aggregation
COH             122477320016                Gas           Gov. Aggregation   COH             165300890055                Gas           Gov. Aggregation
COH             122477490011                Gas           Gov. Aggregation   COH             165382420015                Gas           Gov. Aggregation
COH             122477640028                Gas           Gov. Aggregation   COH             165407950010                Gas           Gov. Aggregation
COH             122480180019                Gas           Gov. Aggregation   COH             166413330034                Gas           Gov. Aggregation
COH             122480220010                Gas           Gov. Aggregation   COH             166901080023                Gas           Gov. Aggregation
COH             122480230018                Gas           Gov. Aggregation   COH             177652360011                Gas           Gov. Aggregation
COH             122480350031                Gas           Gov. Aggregation   COH             109471460034                Gas           Gov. Aggregation
COH             122480360020                Gas           Gov. Aggregation   COH             186217030011                Gas           Gov. Aggregation
COH             122480560028                Gas           Gov. Aggregation   COH             186516390012                Gas           Gov. Aggregation
COH             122481350011                Gas           Gov. Aggregation   COH             122461100015                Gas           Gov. Aggregation
COH             122481390013                Gas           Gov. Aggregation   COH             122344780048                Gas           Gov. Aggregation
COH             122481960022                Gas           Gov. Aggregation   COH             122420820010                Gas           Gov. Aggregation
COH             122482180104                Gas           Gov. Aggregation   COH             122488100019                Gas           Gov. Aggregation
COH             122485340015                Gas           Gov. Aggregation   COH             122402540026                Gas           Gov. Aggregation
COH             122485400021                Gas           Gov. Aggregation   COH             161320230019                Gas           Gov. Aggregation
COH             122485700046                Gas           Gov. Aggregation   COH             122478960029                Gas           Gov. Aggregation
COH             122485760017                Gas           Gov. Aggregation   COH             122430140012                Gas           Gov. Aggregation
COH             122486310019                Gas           Gov. Aggregation   COH             122373910012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             122486470016                Gas           Gov. Aggregation   COH             142249120026                Gas           Gov. Aggregation
COH             122486490012                Gas           Gov. Aggregation   COH             122442390015                Gas           Gov. Aggregation
COH             122486780011                Gas           Gov. Aggregation   COH             122417120023                Gas           Gov. Aggregation
COH             122487310017                Gas           Gov. Aggregation   COH             122384840014                Gas           Gov. Aggregation
COH             122488630018                Gas           Gov. Aggregation   COH             136211220022                Gas           Gov. Aggregation
COH             122488640025                Gas           Gov. Aggregation   COH             122403890012                Gas           Gov. Aggregation
COH             122488720019                Gas           Gov. Aggregation   COH             122376890011                Gas           Gov. Aggregation
COH             122489160015                Gas           Gov. Aggregation   COH             122418880013                Gas           Gov. Aggregation
COH             122489210023                Gas           Gov. Aggregation   COH             122477300010                Gas           Gov. Aggregation
COH             122490250013                Gas           Gov. Aggregation   COH             122345870065                Gas           Gov. Aggregation
COH             122490410019                Gas           Gov. Aggregation   COH             122347920033                Gas           Gov. Aggregation
COH             122490680013                Gas           Gov. Aggregation   COH             122514180025                Gas           Gov. Aggregation
COH             122490810024                Gas           Gov. Aggregation   COH             122429720022                Gas           Gov. Aggregation
COH             122490820013                Gas           Gov. Aggregation   COH             122408370020                Gas           Gov. Aggregation
COH             122491670022                Gas           Gov. Aggregation   COH             152913100029                Gas           Gov. Aggregation
COH             122491840017                Gas           Gov. Aggregation   COH             148563660012                Gas           Gov. Aggregation
COH             122492520021                Gas           Gov. Aggregation   COH             122413750010                Gas           Gov. Aggregation
COH             122494620026                Gas           Gov. Aggregation   COH             122476370027                Gas           Gov. Aggregation
COH             122495240015                Gas           Gov. Aggregation   COH             122378050031                Gas           Gov. Aggregation
COH             122495630013                Gas           Gov. Aggregation   COH             185525390014                Gas           Gov. Aggregation
COH             122496130016                Gas           Gov. Aggregation   COH             122354840035                Gas           Gov. Aggregation
COH             122499240017                Gas           Gov. Aggregation   COH             122390230028                Gas           Gov. Aggregation
COH             122499760027                Gas           Gov. Aggregation   COH             138081400010                Gas           Gov. Aggregation
COH             122499850028                Gas           Gov. Aggregation   COH             122352460011                Gas           Gov. Aggregation
COH             122499870015                Gas           Gov. Aggregation   COH             122484870016                Gas           Gov. Aggregation
COH             185221480019                Gas           Gov. Aggregation   COH             149440610011                Gas           Gov. Aggregation
COH             185234390011                Gas           Gov. Aggregation   COH             147664600020                Gas           Gov. Aggregation
COH             185294990019                Gas           Gov. Aggregation   COH             144701620010                Gas           Gov. Aggregation
COH             185321080011                Gas           Gov. Aggregation   COH             122428550011                Gas           Gov. Aggregation
COH             185370230016                Gas           Gov. Aggregation   COH             122416350027                Gas           Gov. Aggregation
COH             185399500019                Gas           Gov. Aggregation   COH             148094310010                Gas           Gov. Aggregation
COH             185464560018                Gas           Gov. Aggregation   COH             122493470011                Gas           Gov. Aggregation
COH             185539640012                Gas           Gov. Aggregation   COH             123387850024                Gas           Gov. Aggregation
COH             185548580025                Gas           Gov. Aggregation   COH             150356310047                Gas           Gov. Aggregation
COH             185668100012                Gas           Gov. Aggregation   COH             150356310109                Gas           Gov. Aggregation
COH             185730950011                Gas           Gov. Aggregation   COH             150356310118                Gas           Gov. Aggregation
COH             185780950016                Gas           Gov. Aggregation   COH             115038610014                Gas           Gov. Aggregation
COH             185906070013                Gas           Gov. Aggregation   COH             115049460031                Gas           Gov. Aggregation
COH             185908760014                Gas           Gov. Aggregation   COH             115054170013                Gas           Gov. Aggregation
COH             186006970011                Gas           Gov. Aggregation   COH             115057600016                Gas           Gov. Aggregation
COH             186029880021                Gas           Gov. Aggregation   COH             115075110020                Gas           Gov. Aggregation
COH             186098600015                Gas           Gov. Aggregation   COH             115080760014                Gas           Gov. Aggregation
COH             186144260018                Gas           Gov. Aggregation   COH             115081970036                Gas           Gov. Aggregation
COH             186148520015                Gas           Gov. Aggregation   COH             115082130110                Gas           Gov. Aggregation
COH             186246980011                Gas           Gov. Aggregation   COH             127274490025                Gas           Gov. Aggregation
COH             186320110015                Gas           Gov. Aggregation   COH             127565550034                Gas           Gov. Aggregation
COH             122500450036                Gas           Gov. Aggregation   COH             130536420733                Gas           Gov. Aggregation
COH             122500540019                Gas           Gov. Aggregation   COH             130740750062                Gas           Gov. Aggregation
COH             122502670036                Gas           Gov. Aggregation   COH             132866040027                Gas           Gov. Aggregation
COH             122504010021                Gas           Gov. Aggregation   COH             133376050014                Gas           Gov. Aggregation
COH             122506220890                Gas           Gov. Aggregation   COH             133618610021                Gas           Gov. Aggregation
COH             122508170011                Gas           Gov. Aggregation   COH             133824380087                Gas           Gov. Aggregation
COH             122509150040                Gas           Gov. Aggregation   COH             136350130018                Gas           Gov. Aggregation
COH             137998520022                Gas           Gov. Aggregation   COH             138667310017                Gas           Gov. Aggregation
COH             138271910029                Gas           Gov. Aggregation   COH             138870340029                Gas           Gov. Aggregation
COH             138323390019                Gas           Gov. Aggregation   COH             139101380029                Gas           Gov. Aggregation
COH             138378390050                Gas           Gov. Aggregation   COH             139306320036                Gas           Gov. Aggregation
COH             138414640068                Gas           Gov. Aggregation   COH             142353420013                Gas           Gov. Aggregation
COH             138429990019                Gas           Gov. Aggregation   COH             142456620031                Gas           Gov. Aggregation
COH             138657050022                Gas           Gov. Aggregation   COH             142804370017                Gas           Gov. Aggregation
COH             138781900020                Gas           Gov. Aggregation   COH             145379540039                Gas           Gov. Aggregation
COH             138811650019                Gas           Gov. Aggregation   COH             146750920021                Gas           Gov. Aggregation
COH             138829290036                Gas           Gov. Aggregation   COH             148861300159                Gas           Gov. Aggregation
COH             139302980027                Gas           Gov. Aggregation   COH             127419230021                Gas           Gov. Aggregation
COH             139351400025                Gas           Gov. Aggregation   COH             189086420015                Gas           Gov. Aggregation
COH             122418970014                Gas           Gov. Aggregation   COH             189087430011                Gas           Gov. Aggregation
COH             122419000015                Gas           Gov. Aggregation   COH             189297860016                Gas           Gov. Aggregation
COH             122419060013                Gas           Gov. Aggregation   COH             189408720018                Gas           Gov. Aggregation
COH             122420980017                Gas           Gov. Aggregation   COH             115247280020                Gas           Gov. Aggregation
COH             122420990015                Gas           Gov. Aggregation   COH             121958510026                Gas           Gov. Aggregation
COH             122422080021                Gas           Gov. Aggregation   COH             121996160020                Gas           Gov. Aggregation
COH             122422090010                Gas           Gov. Aggregation   COH             121999980040                Gas           Gov. Aggregation
COH             122422690014                Gas           Gov. Aggregation   COH             122001880043                Gas           Gov. Aggregation
COH             122422930031                Gas           Gov. Aggregation   COH             122009580059                Gas           Gov. Aggregation
COH             122423980011                Gas           Gov. Aggregation   COH             122016130049                Gas           Gov. Aggregation
COH             122424010012                Gas           Gov. Aggregation   COH             122336440046                Gas           Gov. Aggregation
COH             122424270045                Gas           Gov. Aggregation   COH             122336450017                Gas           Gov. Aggregation
COH             122424440030                Gas           Gov. Aggregation   COH             122336770010                Gas           Gov. Aggregation
COH             122424520015                Gas           Gov. Aggregation   COH             122336780018                Gas           Gov. Aggregation
COH             122428820023                Gas           Gov. Aggregation   COH             122345270025                Gas           Gov. Aggregation
COH             122429290023                Gas           Gov. Aggregation   COH             122346190011                Gas           Gov. Aggregation
COH             122429430014                Gas           Gov. Aggregation   COH             122346370095                Gas           Gov. Aggregation
COH             122431790032                Gas           Gov. Aggregation   COH             122346420094                Gas           Gov. Aggregation
COH             122431910018                Gas           Gov. Aggregation   COH             188546910017                Gas           Gov. Aggregation
COH             122432620026                Gas           Gov. Aggregation   COH             188549060010                Gas           Gov. Aggregation
COH             122436700012                Gas           Gov. Aggregation   COH             188560760019                Gas           Gov. Aggregation
COH             122436710056                Gas           Gov. Aggregation   COH             188571140016                Gas           Gov. Aggregation
COH             122436720107                Gas           Gov. Aggregation   COH             188593810019                Gas           Gov. Aggregation
COH             122436770072                Gas           Gov. Aggregation   COH             188605470014                Gas           Gov. Aggregation
COH             122436770081                Gas           Gov. Aggregation   COH             188642110011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             122439710014                Gas           Gov. Aggregation   COH             188642140015                Gas           Gov. Aggregation
COH             122440510013                Gas           Gov. Aggregation   COH             188657030017                Gas           Gov. Aggregation
COH             122441080049                Gas           Gov. Aggregation   COH             176533890013                Gas           Gov. Aggregation
COH             122441780015                Gas           Gov. Aggregation   COH             176604130011                Gas           Gov. Aggregation
COH             122442070021                Gas           Gov. Aggregation   COH             176796590010                Gas           Gov. Aggregation
COH             122442380026                Gas           Gov. Aggregation   COH             176822650010                Gas           Gov. Aggregation
COH             122442670016                Gas           Gov. Aggregation   COH             176841410010                Gas           Gov. Aggregation
COH             122446610029                Gas           Gov. Aggregation   COH             176924230021                Gas           Gov. Aggregation
COH             122446680016                Gas           Gov. Aggregation   COH             177155030014                Gas           Gov. Aggregation
COH             122447170011                Gas           Gov. Aggregation   COH             177297690016                Gas           Gov. Aggregation
COH             122447590022                Gas           Gov. Aggregation   COH             177352550017                Gas           Gov. Aggregation
COH             122449180024                Gas           Gov. Aggregation   COH             177364340016                Gas           Gov. Aggregation
COH             122450150027                Gas           Gov. Aggregation   COH             177427540029                Gas           Gov. Aggregation
COH             122450550014                Gas           Gov. Aggregation   COH             177440360010                Gas           Gov. Aggregation
COH             122450830015                Gas           Gov. Aggregation   COH             177501100023                Gas           Gov. Aggregation
COH             122451120012                Gas           Gov. Aggregation   COH             177524450013                Gas           Gov. Aggregation
COH             122451650011                Gas           Gov. Aggregation   COH             177607390010                Gas           Gov. Aggregation
COH             122452620015                Gas           Gov. Aggregation   COH             177607390038                Gas           Gov. Aggregation
COH             122456430044                Gas           Gov. Aggregation   COH             177608380010                Gas           Gov. Aggregation
COH             122456440015                Gas           Gov. Aggregation   COH             177609780014                Gas           Gov. Aggregation
COH             122456880013                Gas           Gov. Aggregation   COH             188450000011                Gas           Gov. Aggregation
COH             122460110015                Gas           Gov. Aggregation   COH             188450000039                Gas           Gov. Aggregation
COH             122460160033                Gas           Gov. Aggregation   COH             188458470017                Gas           Gov. Aggregation
COH             122460200016                Gas           Gov. Aggregation   COH             147473530020                Gas           Gov. Aggregation
COH             122460220049                Gas           Gov. Aggregation   COH             174722540017                Gas           Gov. Aggregation
COH             122463760022                Gas           Gov. Aggregation   COH             174724860016                Gas           Gov. Aggregation
COH             122463780019                Gas           Gov. Aggregation   COH             174818740012                Gas           Gov. Aggregation
COH             122463910048                Gas           Gov. Aggregation   COH             174909840018                Gas           Gov. Aggregation
COH             122464010045                Gas           Gov. Aggregation   COH             175108070017                Gas           Gov. Aggregation
COH             122466720033                Gas           Gov. Aggregation   COH             175186590014                Gas           Gov. Aggregation
COH             122466970022                Gas           Gov. Aggregation   COH             175634960015                Gas           Gov. Aggregation
COH             122467030036                Gas           Gov. Aggregation   COH             175857920011                Gas           Gov. Aggregation
COH             122467400047                Gas           Gov. Aggregation   COH             175992400023                Gas           Gov. Aggregation
COH             122469510013                Gas           Gov. Aggregation   COH             176007800016                Gas           Gov. Aggregation
COH             122469520011                Gas           Gov. Aggregation   COH             165273620032                Gas           Gov. Aggregation
COH             122469670029                Gas           Gov. Aggregation   COH             165276900019                Gas           Gov. Aggregation
COH             122469740015                Gas           Gov. Aggregation   COH             165366040019                Gas           Gov. Aggregation
COH             122470000026                Gas           Gov. Aggregation   COH             165418290025                Gas           Gov. Aggregation
COH             122473280013                Gas           Gov. Aggregation   COH             165511940011                Gas           Gov. Aggregation
COH             122493020024                Gas           Gov. Aggregation   COH             165531740039                Gas           Gov. Aggregation
COH             143142140018                Gas           Gov. Aggregation   COH             165850090012                Gas           Gov. Aggregation
COH             111266820011                Gas           Gov. Aggregation   COH             165986580012                Gas           Gov. Aggregation
COH             122412890031                Gas           Gov. Aggregation   COH             166059010024                Gas           Gov. Aggregation
COH             122381770015                Gas           Gov. Aggregation   COH             162294800015                Gas           Gov. Aggregation
COH             122382720022                Gas           Gov. Aggregation   COH             162296980014                Gas           Gov. Aggregation
COH             122382920039                Gas           Gov. Aggregation   COH             162322630029                Gas           Gov. Aggregation
COH             122384260016                Gas           Gov. Aggregation   COH             162322700015                Gas           Gov. Aggregation
COH             122384310015                Gas           Gov. Aggregation   COH             162322740017                Gas           Gov. Aggregation
COH             122384420012                Gas           Gov. Aggregation   COH             162457860017                Gas           Gov. Aggregation
COH             122384450016                Gas           Gov. Aggregation   COH             162505410018                Gas           Gov. Aggregation
COH             122385810027                Gas           Gov. Aggregation   COH             162645540033                Gas           Gov. Aggregation
COH             122385870016                Gas           Gov. Aggregation   COH             162681000012                Gas           Gov. Aggregation
COH             122385910017                Gas           Gov. Aggregation   COH             162890880015                Gas           Gov. Aggregation
COH             122386070021                Gas           Gov. Aggregation   COH             163292150024                Gas           Gov. Aggregation
COH             122387070010                Gas           Gov. Aggregation   COH             163316200067                Gas           Gov. Aggregation
COH             122387740028                Gas           Gov. Aggregation   COH             163342410013                Gas           Gov. Aggregation
COH             122387850016                Gas           Gov. Aggregation   COH             163369330014                Gas           Gov. Aggregation
COH             122388740017                Gas           Gov. Aggregation   COH             163377610018                Gas           Gov. Aggregation
COH             122388910020                Gas           Gov. Aggregation   COH             163753640014                Gas           Gov. Aggregation
COH             122388930017                Gas           Gov. Aggregation   COH             163814420029                Gas           Gov. Aggregation
COH             122389480038                Gas           Gov. Aggregation   COH             163814420038                Gas           Gov. Aggregation
COH             122389760020                Gas           Gov. Aggregation   COH             163816330015                Gas           Gov. Aggregation
COH             122390140027                Gas           Gov. Aggregation   COH             163848900018                Gas           Gov. Aggregation
COH             122390170012                Gas           Gov. Aggregation   COH             163991010012                Gas           Gov. Aggregation
COH             122391200022                Gas           Gov. Aggregation   COH             164048620021                Gas           Gov. Aggregation
COH             122391310010                Gas           Gov. Aggregation   COH             164181580082                Gas           Gov. Aggregation
COH             122391330016                Gas           Gov. Aggregation   COH             164295670019                Gas           Gov. Aggregation
COH             122391700018                Gas           Gov. Aggregation   COH             164534550016                Gas           Gov. Aggregation
COH             122397570014                Gas           Gov. Aggregation   COH             164554850011                Gas           Gov. Aggregation
COH             122397950014                Gas           Gov. Aggregation   COH             165048280013                Gas           Gov. Aggregation
COH             122398050011                Gas           Gov. Aggregation   COH             165104650015                Gas           Gov. Aggregation
COH             122398400017                Gas           Gov. Aggregation   COH             165117970011                Gas           Gov. Aggregation
COH             122398500114                Gas           Gov. Aggregation   COH             165127850015                Gas           Gov. Aggregation
COH             122402320013                Gas           Gov. Aggregation   COH             166180610021                Gas           Gov. Aggregation
COH             122402360015                Gas           Gov. Aggregation   COH             166236820019                Gas           Gov. Aggregation
COH             122402410014                Gas           Gov. Aggregation   COH             166248590022                Gas           Gov. Aggregation
COH             122402620010                Gas           Gov. Aggregation   COH             166256270013                Gas           Gov. Aggregation
COH             122403150026                Gas           Gov. Aggregation   COH             166266810063                Gas           Gov. Aggregation
COH             122404400021                Gas           Gov. Aggregation   COH             166371630031                Gas           Gov. Aggregation
COH             122404450012                Gas           Gov. Aggregation   COH             166416630026                Gas           Gov. Aggregation
COH             122405260010                Gas           Gov. Aggregation   COH             166426220012                Gas           Gov. Aggregation
COH             122406270016                Gas           Gov. Aggregation   COH             166456770041                Gas           Gov. Aggregation
COH             122406310017                Gas           Gov. Aggregation   COH             166469200016                Gas           Gov. Aggregation
COH             122406550017                Gas           Gov. Aggregation   COH             167062950010                Gas           Gov. Aggregation
COH             122406690054                Gas           Gov. Aggregation   COH             167065580021                Gas           Gov. Aggregation
COH             122406700024                Gas           Gov. Aggregation   COH             167074090016                Gas           Gov. Aggregation
COH             122406710040                Gas           Gov. Aggregation   COH             167085250019                Gas           Gov. Aggregation
COH             122407340028                Gas           Gov. Aggregation   COH             167102760023                Gas           Gov. Aggregation
COH             122407400016                Gas           Gov. Aggregation   COH             167226410015                Gas           Gov. Aggregation
COH             122407450016                Gas           Gov. Aggregation   COH             167226510014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             122407510022                Gas           Gov. Aggregation   COH             158938130034                Gas           Gov. Aggregation
COH             122407590017                Gas           Gov. Aggregation   COH             158941540013                Gas           Gov. Aggregation
COH             122408510011                Gas           Gov. Aggregation   COH             158949760039                Gas           Gov. Aggregation
COH             122408540015                Gas           Gov. Aggregation   COH             158959650013                Gas           Gov. Aggregation
COH             122408780015                Gas           Gov. Aggregation   COH             158959660039                Gas           Gov. Aggregation
COH             122408970015                Gas           Gov. Aggregation   COH             159164350029                Gas           Gov. Aggregation
COH             122409080029                Gas           Gov. Aggregation   COH             159231980015                Gas           Gov. Aggregation
COH             122409210012                Gas           Gov. Aggregation   COH             159271320064                Gas           Gov. Aggregation
COH             122413070022                Gas           Gov. Aggregation   COH             159332920022                Gas           Gov. Aggregation
COH             122413530025                Gas           Gov. Aggregation   COH             159338770013                Gas           Gov. Aggregation
COH             122414670015                Gas           Gov. Aggregation   COH             159461550018                Gas           Gov. Aggregation
COH             122414710025                Gas           Gov. Aggregation   COH             159520330027                Gas           Gov. Aggregation
COH             122414790010                Gas           Gov. Aggregation   COH             159591100026                Gas           Gov. Aggregation
COH             122414880039                Gas           Gov. Aggregation   COH             159591280010                Gas           Gov. Aggregation
COH             122416440019                Gas           Gov. Aggregation   COH             159638620036                Gas           Gov. Aggregation
COH             122416680028                Gas           Gov. Aggregation   COH             159915680027                Gas           Gov. Aggregation
COH             122417030031                Gas           Gov. Aggregation   COH             159941570034                Gas           Gov. Aggregation
COH             122417080013                Gas           Gov. Aggregation   COH             159942160010                Gas           Gov. Aggregation
COH             122418260013                Gas           Gov. Aggregation   COH             159947620077                Gas           Gov. Aggregation
COH             145286170016                Gas           Gov. Aggregation   COH             159953740033                Gas           Gov. Aggregation
COH             145310690014                Gas           Gov. Aggregation   COH             160295170018                Gas           Gov. Aggregation
COH             145320250015                Gas           Gov. Aggregation   COH             160338980025                Gas           Gov. Aggregation
COH             145594810027                Gas           Gov. Aggregation   COH             160373970014                Gas           Gov. Aggregation
COH             145619490021                Gas           Gov. Aggregation   COH             160373980012                Gas           Gov. Aggregation
COH             146054720010                Gas           Gov. Aggregation   COH             160412860022                Gas           Gov. Aggregation
COH             146173180012                Gas           Gov. Aggregation   COH             160528910017                Gas           Gov. Aggregation
COH             146418780016                Gas           Gov. Aggregation   COH             160572220019                Gas           Gov. Aggregation
COH             146584750048                Gas           Gov. Aggregation   COH             160605400010                Gas           Gov. Aggregation
COH             146610650015                Gas           Gov. Aggregation   COH             160609950017                Gas           Gov. Aggregation
COH             146629830036                Gas           Gov. Aggregation   COH             160884020010                Gas           Gov. Aggregation
COH             146629850014                Gas           Gov. Aggregation   COH             160902860041                Gas           Gov. Aggregation
COH             146638580012                Gas           Gov. Aggregation   COH             161006060039                Gas           Gov. Aggregation
COH             146998730018                Gas           Gov. Aggregation   COH             161027250026                Gas           Gov. Aggregation
COH             147015290021                Gas           Gov. Aggregation   COH             161342950012                Gas           Gov. Aggregation
COH             147118570033                Gas           Gov. Aggregation   COH             161366750014                Gas           Gov. Aggregation
COH             147350270034                Gas           Gov. Aggregation   COH             161378950017                Gas           Gov. Aggregation
COH             147432360013                Gas           Gov. Aggregation   COH             161379590039                Gas           Gov. Aggregation
COH             147521870035                Gas           Gov. Aggregation   COH             161385760012                Gas           Gov. Aggregation
COH             147534250010                Gas           Gov. Aggregation   COH             161387830013                Gas           Gov. Aggregation
COH             147778190026                Gas           Gov. Aggregation   COH             161641960025                Gas           Gov. Aggregation
COH             147826720012                Gas           Gov. Aggregation   COH             161671540011                Gas           Gov. Aggregation
COH             147826720021                Gas           Gov. Aggregation   COH             161722280017                Gas           Gov. Aggregation
COH             147844880011                Gas           Gov. Aggregation   COH             161745190027                Gas           Gov. Aggregation
COH             147930710022                Gas           Gov. Aggregation   COH             162027760019                Gas           Gov. Aggregation
COH             148229450032                Gas           Gov. Aggregation   COH             162113840019                Gas           Gov. Aggregation
COH             148511770027                Gas           Gov. Aggregation   COH             162136540014                Gas           Gov. Aggregation
COH             148540620045                Gas           Gov. Aggregation   COH             162138440011                Gas           Gov. Aggregation
COH             148639970025                Gas           Gov. Aggregation   COH             162143010010                Gas           Gov. Aggregation
COH             148642430049                Gas           Gov. Aggregation   COH             162143030016                Gas           Gov. Aggregation
COH             149002060042                Gas           Gov. Aggregation   COH             162149860010                Gas           Gov. Aggregation
COH             149095370024                Gas           Gov. Aggregation   COH             167413870058                Gas           Gov. Aggregation
COH             149105700012                Gas           Gov. Aggregation   COH             167448900012                Gas           Gov. Aggregation
COH             149422810017                Gas           Gov. Aggregation   COH             167464040019                Gas           Gov. Aggregation
COH             149474450032                Gas           Gov. Aggregation   COH             167478510011                Gas           Gov. Aggregation
COH             149483610011                Gas           Gov. Aggregation   COH             167478530026                Gas           Gov. Aggregation
COH             149674720013                Gas           Gov. Aggregation   COH             167522340012                Gas           Gov. Aggregation
COH             149674730011                Gas           Gov. Aggregation   COH             167537540019                Gas           Gov. Aggregation
COH             149709760010                Gas           Gov. Aggregation   COH             167542050039                Gas           Gov. Aggregation
COH             149715900017                Gas           Gov. Aggregation   COH             167549590014                Gas           Gov. Aggregation
COH             145146360012                Gas           Gov. Aggregation   COH             167657110015                Gas           Gov. Aggregation
COH             122504750026                Gas           Gov. Aggregation   COH             167667130010                Gas           Gov. Aggregation
COH             122439760023                Gas           Gov. Aggregation   COH             167684520012                Gas           Gov. Aggregation
COH             158695640024                Gas           Gov. Aggregation   COH             167685960018                Gas           Gov. Aggregation
COH             147193390024                Gas           Gov. Aggregation   COH             167813090018                Gas           Gov. Aggregation
COH             157603940016                Gas           Gov. Aggregation   COH             167841140018                Gas           Gov. Aggregation
COH             127572960033                Gas           Gov. Aggregation   COH             167849500016                Gas           Gov. Aggregation
COH             122377670024                Gas           Gov. Aggregation   COH             167852480032                Gas           Gov. Aggregation
COH             122477540010                Gas           Gov. Aggregation   COH             167870630014                Gas           Gov. Aggregation
COH             122378100021                Gas           Gov. Aggregation   COH             176031110010                Gas           Gov. Aggregation
COH             149357020012                Gas           Gov. Aggregation   COH             176163410018                Gas           Gov. Aggregation
COH             144945640029                Gas           Gov. Aggregation   COH             176217270013                Gas           Gov. Aggregation
COH             144119950016                Gas           Gov. Aggregation   COH             176465110011                Gas           Gov. Aggregation
COH             131652670010                Gas           Gov. Aggregation   COH             177646890013                Gas           Gov. Aggregation
COH             139681460051                Gas           Gov. Aggregation   COH             185041940014                Gas           Gov. Aggregation
COH             139996130026                Gas           Gov. Aggregation   COH             185053300013                Gas           Gov. Aggregation
COH             140004150020                Gas           Gov. Aggregation   COH             185100110012                Gas           Gov. Aggregation
COH             140047750042                Gas           Gov. Aggregation   COH             185141140029                Gas           Gov. Aggregation
COH             140221180453                Gas           Gov. Aggregation   COH             188672490019                Gas           Gov. Aggregation
COH             140247830014                Gas           Gov. Aggregation   COH             188725900019                Gas           Gov. Aggregation
COH             140318750056                Gas           Gov. Aggregation   COH             188725970015                Gas           Gov. Aggregation
COH             140533080033                Gas           Gov. Aggregation   COH             188735470019                Gas           Gov. Aggregation
COH             140536590021                Gas           Gov. Aggregation   COH             188828960019                Gas           Gov. Aggregation
COH             140583460029                Gas           Gov. Aggregation   COH             188896130010                Gas           Gov. Aggregation
COH             140763020038                Gas           Gov. Aggregation   COH             155138070036                Gas           Gov. Aggregation
COH             141039120031                Gas           Gov. Aggregation   COH             155171970019                Gas           Gov. Aggregation
COH             141074080027                Gas           Gov. Aggregation   COH             155249070022                Gas           Gov. Aggregation
COH             141162790021                Gas           Gov. Aggregation   COH             155303690017                Gas           Gov. Aggregation
COH             141234430032                Gas           Gov. Aggregation   COH             155306360010                Gas           Gov. Aggregation
COH             141258710024                Gas           Gov. Aggregation   COH             155321850042                Gas           Gov. Aggregation
COH             141529640042                Gas           Gov. Aggregation   COH             155338070023                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             141555250021                Gas           Gov. Aggregation   COH             156922840049                Gas           Gov. Aggregation
COH             141577710028                Gas           Gov. Aggregation   COH             157004020028                Gas           Gov. Aggregation
COH             141629820033                Gas           Gov. Aggregation   COH             157187910016                Gas           Gov. Aggregation
COH             141830970017                Gas           Gov. Aggregation   COH             157197240016                Gas           Gov. Aggregation
COH             141851070067                Gas           Gov. Aggregation   COH             157382270017                Gas           Gov. Aggregation
COH             141909360018                Gas           Gov. Aggregation   COH             157391610025                Gas           Gov. Aggregation
COH             141979940019                Gas           Gov. Aggregation   COH             157715260067                Gas           Gov. Aggregation
COH             141987060035                Gas           Gov. Aggregation   COH             157715260138                Gas           Gov. Aggregation
COH             141997650058                Gas           Gov. Aggregation   COH             157725130018                Gas           Gov. Aggregation
COH             142310490028                Gas           Gov. Aggregation   COH             157725150023                Gas           Gov. Aggregation
COH             142363490018                Gas           Gov. Aggregation   COH             158238280019                Gas           Gov. Aggregation
COH             142391620011                Gas           Gov. Aggregation   COH             158272630013                Gas           Gov. Aggregation
COH             142587370019                Gas           Gov. Aggregation   COH             172625910026                Gas           Gov. Aggregation
COH             142587440023                Gas           Gov. Aggregation   COH             172694370016                Gas           Gov. Aggregation
COH             142597040017                Gas           Gov. Aggregation   COH             172712130016                Gas           Gov. Aggregation
COH             142609500059                Gas           Gov. Aggregation   COH             172712200011                Gas           Gov. Aggregation
COH             142634850026                Gas           Gov. Aggregation   COH             172915610024                Gas           Gov. Aggregation
COH             142651440017                Gas           Gov. Aggregation   COH             172942580015                Gas           Gov. Aggregation
COH             142866930028                Gas           Gov. Aggregation   COH             172958630011                Gas           Gov. Aggregation
COH             142995190021                Gas           Gov. Aggregation   COH             172966750019                Gas           Gov. Aggregation
COH             143427350010                Gas           Gov. Aggregation   COH             172971300012                Gas           Gov. Aggregation
COH             143560770038                Gas           Gov. Aggregation   COH             173080580012                Gas           Gov. Aggregation
COH             143574230014                Gas           Gov. Aggregation   COH             173089680022                Gas           Gov. Aggregation
COH             143846880093                Gas           Gov. Aggregation   COH             173411070016                Gas           Gov. Aggregation
COH             143971100019                Gas           Gov. Aggregation   COH             173432420018                Gas           Gov. Aggregation
COH             143984010011                Gas           Gov. Aggregation   COH             173433770013                Gas           Gov. Aggregation
COH             143994670012                Gas           Gov. Aggregation   COH             173507480035                Gas           Gov. Aggregation
COH             144231890020                Gas           Gov. Aggregation   COH             173518100022                Gas           Gov. Aggregation
COH             144265660045                Gas           Gov. Aggregation   COH             173538180015                Gas           Gov. Aggregation
COH             144285270027                Gas           Gov. Aggregation   COH             173549040011                Gas           Gov. Aggregation
COH             144316940010                Gas           Gov. Aggregation   COH             173611130019                Gas           Gov. Aggregation
COH             144503110017                Gas           Gov. Aggregation   COH             173617550019                Gas           Gov. Aggregation
COH             144535110029                Gas           Gov. Aggregation   COH             173662850011                Gas           Gov. Aggregation
COH             144660350015                Gas           Gov. Aggregation   COH             173668710018                Gas           Gov. Aggregation
COH             144731590032                Gas           Gov. Aggregation   COH             173814980011                Gas           Gov. Aggregation
COH             145060340027                Gas           Gov. Aggregation   COH             174254810013                Gas           Gov. Aggregation
COH             145106470040                Gas           Gov. Aggregation   COH             174314090026                Gas           Gov. Aggregation
COH             145117170031                Gas           Gov. Aggregation   COH             174531820013                Gas           Gov. Aggregation
COH             145131730015                Gas           Gov. Aggregation   COH             174546640010                Gas           Gov. Aggregation
COH             145131730024                Gas           Gov. Aggregation   COH             174582440016                Gas           Gov. Aggregation
COH             145146350023                Gas           Gov. Aggregation   COH             174589270018                Gas           Gov. Aggregation
COH             111341780010                Gas           Gov. Aggregation   COH             188910500010                Gas           Gov. Aggregation
COH             130957780021                Gas           Gov. Aggregation   COH             188910700018                Gas           Gov. Aggregation
COH             131454210034                Gas           Gov. Aggregation   COH             188937680017                Gas           Gov. Aggregation
COH             138327830018                Gas           Gov. Aggregation   COH             188937730016                Gas           Gov. Aggregation
COH             125688270026                Gas           Gov. Aggregation   COH             122348920013                Gas           Gov. Aggregation
COH             143610920020                Gas           Gov. Aggregation   COH             122349230043                Gas           Gov. Aggregation
COH             142671100052                Gas           Gov. Aggregation   COH             122349520015                Gas           Gov. Aggregation
COH             165634410012                Gas           Gov. Aggregation   COH             122349560026                Gas           Gov. Aggregation
COH             112259950018                Gas           Gov. Aggregation   COH             122356680017                Gas           Gov. Aggregation
COH             167941990018                Gas           Gov. Aggregation   COH             122356840022                Gas           Gov. Aggregation
COH             112215350016                Gas           Gov. Aggregation   COH             122356850011                Gas           Gov. Aggregation
COH             112216040028                Gas           Gov. Aggregation   COH             122356870044                Gas           Gov. Aggregation
COH             112219770010                Gas           Gov. Aggregation   COH             122357060033                Gas           Gov. Aggregation
COH             112220360022                Gas           Gov. Aggregation   COH             122357650020                Gas           Gov. Aggregation
COH             112293620015                Gas           Gov. Aggregation   COH             122357670026                Gas           Gov. Aggregation
COH             112188640023                Gas           Gov. Aggregation   COH             122357810017                Gas           Gov. Aggregation
COH             112285650016                Gas           Gov. Aggregation   COH             122357860017                Gas           Gov. Aggregation
COH             112702470027                Gas           Gov. Aggregation   COH             122357870024                Gas           Gov. Aggregation
COH             112797850064                Gas           Gov. Aggregation   COH             122357940010                Gas           Gov. Aggregation
COH             154870030033                Gas           Gov. Aggregation   COH             122358750018                Gas           Gov. Aggregation
COH             130918190027                Gas           Gov. Aggregation   COH             122359420015                Gas           Gov. Aggregation
COH             123868460026                Gas           Gov. Aggregation   COH             122359600017                Gas           Gov. Aggregation
COH             123902090011                Gas           Gov. Aggregation   COH             122359600026                Gas           Gov. Aggregation
COH             129491580024                Gas           Gov. Aggregation   COH             122359820011                Gas           Gov. Aggregation
COH             135715210036                Gas           Gov. Aggregation   COH             122363200012                Gas           Gov. Aggregation
COH             136910840011                Gas           Gov. Aggregation   COH             122363210010                Gas           Gov. Aggregation
COH             121971520017                Gas           Gov. Aggregation   COH             122363480014                Gas           Gov. Aggregation
COH             122478990014                Gas           Gov. Aggregation   COH             122369740017                Gas           Gov. Aggregation
COH             144798460020                Gas           Gov. Aggregation   COH             122370620019                Gas           Gov. Aggregation
COH             131567920018                Gas           Gov. Aggregation   COH             122372390014                Gas           Gov. Aggregation
COH             137530810030                Gas           Gov. Aggregation   COH             122372390032                Gas           Gov. Aggregation
COH             145450320015                Gas           Gov. Aggregation   COH             122372670024                Gas           Gov. Aggregation
COH             148809140028                Gas           Gov. Aggregation   COH             122372700018                Gas           Gov. Aggregation
COH             146253440017                Gas           Gov. Aggregation   COH             122372760016                Gas           Gov. Aggregation
COH             169813710015                Gas           Gov. Aggregation   COH             122374580010                Gas           Gov. Aggregation
COH             147935240012                Gas           Gov. Aggregation   COH             122374970018                Gas           Gov. Aggregation
COH             148771140056                Gas           Gov. Aggregation   COH             122375030031                Gas           Gov. Aggregation
COH             141652580017                Gas           Gov. Aggregation   COH             122375030040                Gas           Gov. Aggregation
COH             142237080011                Gas           Gov. Aggregation   COH             122375030059                Gas           Gov. Aggregation
COH             142503850023                Gas           Gov. Aggregation   COH             122375050028                Gas           Gov. Aggregation
COH             110972850019                Gas           Gov. Aggregation   COH             122375250017                Gas           Gov. Aggregation
COH             124651200028                Gas           Gov. Aggregation   COH             122375320030                Gas           Gov. Aggregation
COH             142384690012                Gas           Gov. Aggregation   COH             122376390016                Gas           Gov. Aggregation
COH             150138990029                Gas           Gov. Aggregation   COH             122376420019                Gas           Gov. Aggregation
COH             143789520036                Gas           Gov. Aggregation   COH             122376610019                Gas           Gov. Aggregation
COH             123760320023                Gas           Gov. Aggregation   COH             122376640013                Gas           Gov. Aggregation
COH             120201280010                Gas           Gov. Aggregation   COH             122377960032                Gas           Gov. Aggregation
COH             150544550020                Gas           Gov. Aggregation   COH             122378130025                Gas           Gov. Aggregation
COH             154151060031                Gas           Gov. Aggregation   COH             122378320016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             152792270040                Gas           Gov. Aggregation   COH             122378550018                Gas           Gov. Aggregation
COH             156105580037                Gas           Gov. Aggregation   COH             151243990025                Gas           Gov. Aggregation
COH             151075140011                Gas           Gov. Aggregation   COH             151253200225                Gas           Gov. Aggregation
COH             114968950022                Gas           Gov. Aggregation   COH             151301660011                Gas           Gov. Aggregation
COH             130022980011                Gas           Gov. Aggregation   COH             151389140016                Gas           Gov. Aggregation
COH             108749380024                Gas           Gov. Aggregation   COH             151389380043                Gas           Gov. Aggregation
COH             148603940026                Gas           Gov. Aggregation   COH             151845530025                Gas           Gov. Aggregation
COH             149649550012                Gas           Gov. Aggregation   COH             151846150023                Gas           Gov. Aggregation
COH             111034470016                Gas           Gov. Aggregation   COH             151925640013                Gas           Gov. Aggregation
COH             111068950014                Gas           Gov. Aggregation   COH             151934300033                Gas           Gov. Aggregation
COH             160401600010                Gas           Gov. Aggregation   COH             151937640054                Gas           Gov. Aggregation
COH             175425000019                Gas           Gov. Aggregation   COH             152166240034                Gas           Gov. Aggregation
COH             108758850035                Gas           Gov. Aggregation   COH             152553980010                Gas           Gov. Aggregation
COH             114705210014                Gas           Gov. Aggregation   COH             152599710010                Gas           Gov. Aggregation
COH             117129160032                Gas           Gov. Aggregation   COH             152857470022                Gas           Gov. Aggregation
COH             117214620016                Gas           Gov. Aggregation   COH             152898000015                Gas           Gov. Aggregation
COH             117361710016                Gas           Gov. Aggregation   COH             153015040025                Gas           Gov. Aggregation
COH             145926010119                Gas           Gov. Aggregation   COH             153020290013                Gas           Gov. Aggregation
COH             156299980034                Gas           Gov. Aggregation   COH             153030310017                Gas           Gov. Aggregation
COH             190209340017                Gas           Gov. Aggregation   COH             153682660013                Gas           Gov. Aggregation
COH             123732200036                Gas           Gov. Aggregation   COH             153682680019                Gas           Gov. Aggregation
COH             123738160015                Gas           Gov. Aggregation   COH             153721590032                Gas           Gov. Aggregation
COH             153950800014                Gas           Gov. Aggregation   COH             153735990011                Gas           Gov. Aggregation
COH             159472180013                Gas           Gov. Aggregation   COH             153741230017                Gas           Gov. Aggregation
COH             161979300019                Gas           Gov. Aggregation   COH             153753490018                Gas           Gov. Aggregation
COH             149461980010                Gas           Gov. Aggregation   COH             153809150010                Gas           Gov. Aggregation
COH             152770530032                Gas           Gov. Aggregation   COH             153952510333                Gas           Gov. Aggregation
COH             154808940042                Gas           Gov. Aggregation   COH             153970810010                Gas           Gov. Aggregation
COH             156822390037                Gas           Gov. Aggregation   COH             154037340016                Gas           Gov. Aggregation
COH             137108660117                Gas           Gov. Aggregation   COH             154045460023                Gas           Gov. Aggregation
COH             162649540017                Gas           Gov. Aggregation   COH             154917790034                Gas           Gov. Aggregation
COH             152517690026                Gas           Gov. Aggregation   COH             154917900067                Gas           Gov. Aggregation
COH             187914000018                Gas           Gov. Aggregation   COH             154945260018                Gas           Gov. Aggregation
COH             163803810011                Gas           Gov. Aggregation   COH             187498260018                Gas           Gov. Aggregation
COH             190228230010                Gas           Gov. Aggregation   COH             187591010012                Gas           Gov. Aggregation
COH             147438460010                Gas           Gov. Aggregation   COH             187612490016                Gas           Gov. Aggregation
COH             157458120035                Gas           Gov. Aggregation   COH             187685480015                Gas           Gov. Aggregation
COH             161665760027                Gas           Gov. Aggregation   COH             187692440018                Gas           Gov. Aggregation
COH             161898500037                Gas           Gov. Aggregation   COH             187819210016                Gas           Gov. Aggregation
COH             158587300033                Gas           Gov. Aggregation   COH             187824920034                Gas           Gov. Aggregation
COH             108724230063                Gas           Gov. Aggregation   COH             187846390012                Gas           Gov. Aggregation
COH             164848850018                Gas           Gov. Aggregation   COH             187869080019                Gas           Gov. Aggregation
COH             158578200015                Gas           Gov. Aggregation   COH             187870820010                Gas           Gov. Aggregation
COH             188177640017                Gas           Gov. Aggregation   COH             170493460015                Gas           Gov. Aggregation
COH             160681300039                Gas           Gov. Aggregation   COH             170493490019                Gas           Gov. Aggregation
COH             109881180016                Gas           Gov. Aggregation   COH             170493590018                Gas           Gov. Aggregation
COH             190227460014                Gas           Gov. Aggregation   COH             170558000013                Gas           Gov. Aggregation
COH             190308340017                Gas           Gov. Aggregation   COH             170650090019                Gas           Gov. Aggregation
COH             129053630030                Gas           Gov. Aggregation   COH             170829450014                Gas           Gov. Aggregation
COH             173973810029                Gas           Gov. Aggregation   COH             170844790020                Gas           Gov. Aggregation
COH             170393100012                Gas           Gov. Aggregation   COH             171011150019                Gas           Gov. Aggregation
COH             164214710029                Gas           Gov. Aggregation   COH             171017780015                Gas           Gov. Aggregation
COH             148877520016                Gas           Gov. Aggregation   COH             171054010018                Gas           Gov. Aggregation
COH             154758840013                Gas           Gov. Aggregation   COH             171067650017                Gas           Gov. Aggregation
COH             170662750015                Gas           Gov. Aggregation   COH             171212280016                Gas           Gov. Aggregation
COH             173476910013                Gas           Gov. Aggregation   COH             171325010013                Gas           Gov. Aggregation
COH             172259970012                Gas           Gov. Aggregation   COH             171345590010                Gas           Gov. Aggregation
COH             190101080010                Gas           Gov. Aggregation   COH             171356810010                Gas           Gov. Aggregation
COH             166216260028                Gas           Gov. Aggregation   COH             171476550011                Gas           Gov. Aggregation
COH             175132420012                Gas           Gov. Aggregation   COH             171540430019                Gas           Gov. Aggregation
COH             172711240015                Gas           Gov. Aggregation   COH             171558840016                Gas           Gov. Aggregation
COH             190225520015                Gas           Gov. Aggregation   COH             171571380024                Gas           Gov. Aggregation
COH             148132300074                Gas           Gov. Aggregation   COH             171571390013                Gas           Gov. Aggregation
COH             163739000018                Gas           Gov. Aggregation   COH             171729710029                Gas           Gov. Aggregation
COH             174456800026                Gas           Gov. Aggregation   COH             171768140018                Gas           Gov. Aggregation
COH             185010810016                Gas           Gov. Aggregation   COH             172071910012                Gas           Gov. Aggregation
COH             186264960017                Gas           Gov. Aggregation   COH             172350660013                Gas           Gov. Aggregation
COH             176312670017                Gas           Gov. Aggregation   COH             172390980012                Gas           Gov. Aggregation
COH             185527280013                Gas           Gov. Aggregation   COH             172392100021                Gas           Gov. Aggregation
COH             186710790016                Gas           Gov. Aggregation   COH             172557230015                Gas           Gov. Aggregation
COH             110447550015                Gas           Gov. Aggregation   COH             172595500018                Gas           Gov. Aggregation
COH             129370800032                Gas           Gov. Aggregation   COH             172595530012                Gas           Gov. Aggregation
COH             132375470028                Gas           Gov. Aggregation   COH             187981340016                Gas           Gov. Aggregation
COH             153907990052                Gas           Gov. Aggregation   COH             188030500016                Gas           Gov. Aggregation
COH             190200330017                Gas           Gov. Aggregation   COH             188090460019                Gas           Gov. Aggregation
COH             115851850047                Gas           Gov. Aggregation   COH             188096950014                Gas           Gov. Aggregation
COH             112071760016                Gas           Gov. Aggregation   COH             188155810017                Gas           Gov. Aggregation
COH             131286590032                Gas           Gov. Aggregation   COH             188164680016                Gas           Gov. Aggregation
COH             129299170028                Gas           Gov. Aggregation   COH             188170550010                Gas           Gov. Aggregation
COH             159556120017                Gas           Gov. Aggregation   COH             188170580014                Gas           Gov. Aggregation
COH             164329560055                Gas           Gov. Aggregation   COH             188178200017                Gas           Gov. Aggregation
COH             175996030023                Gas           Gov. Aggregation   COH             188301940019                Gas           Gov. Aggregation
COH             116622020027                Gas           Gov. Aggregation   COH             167878260016                Gas           Gov. Aggregation
COH             114885200052                Gas           Gov. Aggregation   COH             167887860020                Gas           Gov. Aggregation
COH             114892190014                Gas           Gov. Aggregation   COH             167895990017                Gas           Gov. Aggregation
COH             114896180027                Gas           Gov. Aggregation   COH             167912790020                Gas           Gov. Aggregation
COH             114897280024                Gas           Gov. Aggregation   COH             167915050047                Gas           Gov. Aggregation
COH             114901360017                Gas           Gov. Aggregation   COH             167927490013                Gas           Gov. Aggregation
COH             114902340019                Gas           Gov. Aggregation   COH             168017250011                Gas           Gov. Aggregation
COH             114905430014                Gas           Gov. Aggregation   COH             168038500014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             114905720022                Gas           Gov. Aggregation   COH             168080670029                Gas           Gov. Aggregation
COH             114910500018                Gas           Gov. Aggregation   COH             168091930012                Gas           Gov. Aggregation
COH             114913040028                Gas           Gov. Aggregation   COH             168191250013                Gas           Gov. Aggregation
COH             114916990014                Gas           Gov. Aggregation   COH             168191260020                Gas           Gov. Aggregation
COH             114917300016                Gas           Gov. Aggregation   COH             168212660011                Gas           Gov. Aggregation
COH             114920790017                Gas           Gov. Aggregation   COH             168233620015                Gas           Gov. Aggregation
COH             114931010017                Gas           Gov. Aggregation   COH             168503350019                Gas           Gov. Aggregation
COH             114931770027                Gas           Gov. Aggregation   COH             168525370046                Gas           Gov. Aggregation
COH             114934060011                Gas           Gov. Aggregation   COH             169017580020                Gas           Gov. Aggregation
COH             114934100012                Gas           Gov. Aggregation   COH             169033070032                Gas           Gov. Aggregation
COH             114936390018                Gas           Gov. Aggregation   COH             169042700012                Gas           Gov. Aggregation
COH             114945060036                Gas           Gov. Aggregation   COH             169152500011                Gas           Gov. Aggregation
COH             114945980015                Gas           Gov. Aggregation   COH             169194490034                Gas           Gov. Aggregation
COH             114948180017                Gas           Gov. Aggregation   COH             169203180010                Gas           Gov. Aggregation
COH             114949240012                Gas           Gov. Aggregation   COH             169221430019                Gas           Gov. Aggregation
COH             114949730028                Gas           Gov. Aggregation   COH             169239480012                Gas           Gov. Aggregation
COH             114951510010                Gas           Gov. Aggregation   COH             169443890031                Gas           Gov. Aggregation
COH             114951700074                Gas           Gov. Aggregation   COH             169466760021                Gas           Gov. Aggregation
COH             114954670020                Gas           Gov. Aggregation   COH             169479220018                Gas           Gov. Aggregation
COH             114956960025                Gas           Gov. Aggregation   COH             169538810018                Gas           Gov. Aggregation
COH             114956970014                Gas           Gov. Aggregation   COH             169544020011                Gas           Gov. Aggregation
COH             114962320017                Gas           Gov. Aggregation   COH             169623180038                Gas           Gov. Aggregation
COH             114962340013                Gas           Gov. Aggregation   COH             169652140017                Gas           Gov. Aggregation
COH             114962360019                Gas           Gov. Aggregation   COH             169808050033                Gas           Gov. Aggregation
COH             114962960013                Gas           Gov. Aggregation   COH             169876700015                Gas           Gov. Aggregation
COH             114963350028                Gas           Gov. Aggregation   COH             170072280015                Gas           Gov. Aggregation
COH             114967870012                Gas           Gov. Aggregation   COH             170072370025                Gas           Gov. Aggregation
COH             114968160019                Gas           Gov. Aggregation   COH             170101710011                Gas           Gov. Aggregation
COH             114968320015                Gas           Gov. Aggregation   COH             170101750022                Gas           Gov. Aggregation
COH             114977560016                Gas           Gov. Aggregation   COH             170146990019                Gas           Gov. Aggregation
COH             114983710048                Gas           Gov. Aggregation   COH             170197860019                Gas           Gov. Aggregation
COH             114986320026                Gas           Gov. Aggregation   COH             170400660018                Gas           Gov. Aggregation
COH             114991170018                Gas           Gov. Aggregation   COH             170400680023                Gas           Gov. Aggregation
COH             114991940052                Gas           Gov. Aggregation   COH             170439490013                Gas           Gov. Aggregation
COH             114993460040                Gas           Gov. Aggregation   COH             186552360021                Gas           Gov. Aggregation
COH             114999990056                Gas           Gov. Aggregation   COH             186622590015                Gas           Gov. Aggregation
COH             115000230040                Gas           Gov. Aggregation   COH             186686720013                Gas           Gov. Aggregation
COH             115000480011                Gas           Gov. Aggregation   COH             186686730011                Gas           Gov. Aggregation
COH             115001320021                Gas           Gov. Aggregation   COH             186709620014                Gas           Gov. Aggregation
COH             115007000017                Gas           Gov. Aggregation   COH             186774890011                Gas           Gov. Aggregation
COH             115008870022                Gas           Gov. Aggregation   COH             186780290014                Gas           Gov. Aggregation
COH             115012030038                Gas           Gov. Aggregation   COH             186889750017                Gas           Gov. Aggregation
COH             115013020010                Gas           Gov. Aggregation   COH             186915470019                Gas           Gov. Aggregation
COH             115013620014                Gas           Gov. Aggregation   COH             186981970015                Gas           Gov. Aggregation
COH             115013700035                Gas           Gov. Aggregation   COH             187073190013                Gas           Gov. Aggregation
COH             115014100011                Gas           Gov. Aggregation   COH             187288290017                Gas           Gov. Aggregation
COH             115014160019                Gas           Gov. Aggregation   COH             187368750010                Gas           Gov. Aggregation
COH             115018230034                Gas           Gov. Aggregation   COH             187373370019                Gas           Gov. Aggregation
COH             115020150018                Gas           Gov. Aggregation   COH             187439000025                Gas           Gov. Aggregation
COH             115023990025                Gas           Gov. Aggregation   COH             160250400013                Gas           Gov. Aggregation
COH             115030110024                Gas           Gov. Aggregation   COH             141861580023                Gas           Gov. Aggregation
COH             115031280027                Gas           Gov. Aggregation   COH             132325600034                Gas           Gov. Aggregation
COH             115031320028                Gas           Gov. Aggregation   COH             132338720023                Gas           Gov. Aggregation
COH             115031540013                Gas           Gov. Aggregation   COH             132377970029                Gas           Gov. Aggregation
COH             115037360019                Gas           Gov. Aggregation   COH             132728410030                Gas           Gov. Aggregation
COH             115037890036                Gas           Gov. Aggregation   COH             132728730015                Gas           Gov. Aggregation
COH             115038470078                Gas           Gov. Aggregation   COH             132763100040                Gas           Gov. Aggregation
COH             115041860015                Gas           Gov. Aggregation   COH             132808900019                Gas           Gov. Aggregation
COH             115042060011                Gas           Gov. Aggregation   COH             132941480052                Gas           Gov. Aggregation
COH             115051080036                Gas           Gov. Aggregation   COH             132952410017                Gas           Gov. Aggregation
COH             115059380028                Gas           Gov. Aggregation   COH             133115090143                Gas           Gov. Aggregation
COH             115060070020                Gas           Gov. Aggregation   COH             133210450136                Gas           Gov. Aggregation
COH             115064040028                Gas           Gov. Aggregation   COH             133215620032                Gas           Gov. Aggregation
COH             115064820024                Gas           Gov. Aggregation   COH             133222930014                Gas           Gov. Aggregation
COH             115077640025                Gas           Gov. Aggregation   COH             133237070014                Gas           Gov. Aggregation
COH             116296980065                Gas           Gov. Aggregation   COH             133238220029                Gas           Gov. Aggregation
COH             116297060066                Gas           Gov. Aggregation   COH             134356790038                Gas           Gov. Aggregation
COH             116861790020                Gas           Gov. Aggregation   COH             134373910018                Gas           Gov. Aggregation
COH             121800950027                Gas           Gov. Aggregation   COH             134407970013                Gas           Gov. Aggregation
COH             121886120030                Gas           Gov. Aggregation   COH             122511520038                Gas           Gov. Aggregation
COH             122485910024                Gas           Gov. Aggregation   COH             122511590025                Gas           Gov. Aggregation
COH             125849690026                Gas           Gov. Aggregation   COH             122511890013                Gas           Gov. Aggregation
COH             126740070025                Gas           Gov. Aggregation   COH             122512380027                Gas           Gov. Aggregation
COH             126925400014                Gas           Gov. Aggregation   COH             122512440015                Gas           Gov. Aggregation
COH             129378630014                Gas           Gov. Aggregation   COH             122512660019                Gas           Gov. Aggregation
COH             129413050065                Gas           Gov. Aggregation   COH             122513390014                Gas           Gov. Aggregation
COH             129462260040                Gas           Gov. Aggregation   COH             122513450020                Gas           Gov. Aggregation
COH             130292110012                Gas           Gov. Aggregation   COH             122513500029                Gas           Gov. Aggregation
COH             130845910011                Gas           Gov. Aggregation   COH             122513540012                Gas           Gov. Aggregation
COH             131533230078                Gas           Gov. Aggregation   COH             122513610017                Gas           Gov. Aggregation
COH             132395610026                Gas           Gov. Aggregation   COH             122513700036                Gas           Gov. Aggregation
COH             132747780024                Gas           Gov. Aggregation   COH             122514030017                Gas           Gov. Aggregation
COH             133790610018                Gas           Gov. Aggregation   COH             126889380026                Gas           Gov. Aggregation
COH             134720430030                Gas           Gov. Aggregation   COH             126909310017                Gas           Gov. Aggregation
COH             134851540021                Gas           Gov. Aggregation   COH             126937560034                Gas           Gov. Aggregation
COH             136045250010                Gas           Gov. Aggregation   COH             127039370019                Gas           Gov. Aggregation
COH             136069310044                Gas           Gov. Aggregation   COH             127120790027                Gas           Gov. Aggregation
COH             136173680028                Gas           Gov. Aggregation   COH             127127940012                Gas           Gov. Aggregation
COH             136235370012                Gas           Gov. Aggregation   COH             127298091493                Gas           Gov. Aggregation
COH             136253360016                Gas           Gov. Aggregation   COH             127298091519                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             136757440048                Gas           Gov. Aggregation   COH             127298840021                Gas           Gov. Aggregation
COH             136927110019                Gas           Gov. Aggregation   COH             127313810023                Gas           Gov. Aggregation
COH             136927110028                Gas           Gov. Aggregation   COH             128701040129                Gas           Gov. Aggregation
COH             136932460024                Gas           Gov. Aggregation   COH             128754840040                Gas           Gov. Aggregation
COH             138255650037                Gas           Gov. Aggregation   COH             128759870026                Gas           Gov. Aggregation
COH             138984810029                Gas           Gov. Aggregation   COH             128820120040                Gas           Gov. Aggregation
COH             139634300026                Gas           Gov. Aggregation   COH             128861580057                Gas           Gov. Aggregation
COH             139935490056                Gas           Gov. Aggregation   COH             129101770029                Gas           Gov. Aggregation
COH             140249650027                Gas           Gov. Aggregation   COH             129144110018                Gas           Gov. Aggregation
COH             140291540021                Gas           Gov. Aggregation   COH             129187970036                Gas           Gov. Aggregation
COH             141040630022                Gas           Gov. Aggregation   COH             129241390041                Gas           Gov. Aggregation
COH             141044560029                Gas           Gov. Aggregation   COH             130898630019                Gas           Gov. Aggregation
COH             141828350012                Gas           Gov. Aggregation   COH             131018420043                Gas           Gov. Aggregation
COH             141883440017                Gas           Gov. Aggregation   COH             131293430030                Gas           Gov. Aggregation
COH             142366400029                Gas           Gov. Aggregation   COH             131371660018                Gas           Gov. Aggregation
COH             142496250026                Gas           Gov. Aggregation   COH             131390240025                Gas           Gov. Aggregation
COH             142911220039                Gas           Gov. Aggregation   COH             131514800023                Gas           Gov. Aggregation
COH             142919670039                Gas           Gov. Aggregation   COH             131562730027                Gas           Gov. Aggregation
COH             142954120021                Gas           Gov. Aggregation   COH             131846831005                Gas           Gov. Aggregation
COH             143057810081                Gas           Gov. Aggregation   COH             131864610148                Gas           Gov. Aggregation
COH             143592510035                Gas           Gov. Aggregation   COH             131890960024                Gas           Gov. Aggregation
COH             144109900026                Gas           Gov. Aggregation   COH             131918530015                Gas           Gov. Aggregation
COH             144424440070                Gas           Gov. Aggregation   COH             131963320078                Gas           Gov. Aggregation
COH             144454950043                Gas           Gov. Aggregation   COH             132224940037                Gas           Gov. Aggregation
COH             144683980015                Gas           Gov. Aggregation   COH             132226470069                Gas           Gov. Aggregation
COH             145489240048                Gas           Gov. Aggregation   COH             132287860023                Gas           Gov. Aggregation
COH             145889720021                Gas           Gov. Aggregation   COH             135346550038                Gas           Gov. Aggregation
COH             145911860023                Gas           Gov. Aggregation   COH             135355780022                Gas           Gov. Aggregation
COH             145972790011                Gas           Gov. Aggregation   COH             135365380016                Gas           Gov. Aggregation
COH             146009240034                Gas           Gov. Aggregation   COH             135378510020                Gas           Gov. Aggregation
COH             146467780013                Gas           Gov. Aggregation   COH             135471440018                Gas           Gov. Aggregation
COH             146612000035                Gas           Gov. Aggregation   COH             135498440021                Gas           Gov. Aggregation
COH             146933180038                Gas           Gov. Aggregation   COH             135527740025                Gas           Gov. Aggregation
COH             146955040022                Gas           Gov. Aggregation   COH             135593350019                Gas           Gov. Aggregation
COH             147172480029                Gas           Gov. Aggregation   COH             135629260066                Gas           Gov. Aggregation
COH             147623230024                Gas           Gov. Aggregation   COH             135649770012                Gas           Gov. Aggregation
COH             147757340037                Gas           Gov. Aggregation   COH             136486420010                Gas           Gov. Aggregation
COH             148471080091                Gas           Gov. Aggregation   COH             136531040040                Gas           Gov. Aggregation
COH             148664860016                Gas           Gov. Aggregation   COH             136669060027                Gas           Gov. Aggregation
COH             149276370011                Gas           Gov. Aggregation   COH             136734970018                Gas           Gov. Aggregation
COH             149280170014                Gas           Gov. Aggregation   COH             136796220024                Gas           Gov. Aggregation
COH             149656090103                Gas           Gov. Aggregation   COH             136853670019                Gas           Gov. Aggregation
COH             149763410019                Gas           Gov. Aggregation   COH             136895280237                Gas           Gov. Aggregation
COH             149785160016                Gas           Gov. Aggregation   COH             122477650035                Gas           Gov. Aggregation
COH             150177490031                Gas           Gov. Aggregation   COH             122478200028                Gas           Gov. Aggregation
COH             150242330017                Gas           Gov. Aggregation   COH             122479740014                Gas           Gov. Aggregation
COH             150406140019                Gas           Gov. Aggregation   COH             122479930014                Gas           Gov. Aggregation
COH             150908130017                Gas           Gov. Aggregation   COH             122479960018                Gas           Gov. Aggregation
COH             150916720016                Gas           Gov. Aggregation   COH             122482320024                Gas           Gov. Aggregation
COH             151002500018                Gas           Gov. Aggregation   COH             122483020061                Gas           Gov. Aggregation
COH             151473830067                Gas           Gov. Aggregation   COH             122485130019                Gas           Gov. Aggregation
COH             151473920059                Gas           Gov. Aggregation   COH             122485170039                Gas           Gov. Aggregation
COH             152066500040                Gas           Gov. Aggregation   COH             122485810034                Gas           Gov. Aggregation
COH             152736990029                Gas           Gov. Aggregation   COH             122485820014                Gas           Gov. Aggregation
COH             152986150026                Gas           Gov. Aggregation   COH             122486120019                Gas           Gov. Aggregation
COH             153085660046                Gas           Gov. Aggregation   COH             122486120028                Gas           Gov. Aggregation
COH             153477500011                Gas           Gov. Aggregation   COH             122486140015                Gas           Gov. Aggregation
COH             153557280027                Gas           Gov. Aggregation   COH             122486260010                Gas           Gov. Aggregation
COH             153906520016                Gas           Gov. Aggregation   COH             122487410016                Gas           Gov. Aggregation
COH             154873650019                Gas           Gov. Aggregation   COH             122487940015                Gas           Gov. Aggregation
COH             154957330045                Gas           Gov. Aggregation   COH             122487950013                Gas           Gov. Aggregation
COH             155526640015                Gas           Gov. Aggregation   COH             122488140011                Gas           Gov. Aggregation
COH             155548830028                Gas           Gov. Aggregation   COH             122489260014                Gas           Gov. Aggregation
COH             155614550035                Gas           Gov. Aggregation   COH             122489360031                Gas           Gov. Aggregation
COH             155643340038                Gas           Gov. Aggregation   COH             122489960035                Gas           Gov. Aggregation
COH             156108360019                Gas           Gov. Aggregation   COH             122490080019                Gas           Gov. Aggregation
COH             156311010066                Gas           Gov. Aggregation   COH             122490120010                Gas           Gov. Aggregation
COH             156798610051                Gas           Gov. Aggregation   COH             122490210020                Gas           Gov. Aggregation
COH             157287260011                Gas           Gov. Aggregation   COH             122490840019                Gas           Gov. Aggregation
COH             157615510011                Gas           Gov. Aggregation   COH             122490950016                Gas           Gov. Aggregation
COH             157685470013                Gas           Gov. Aggregation   COH             122491040033                Gas           Gov. Aggregation
COH             158681680025                Gas           Gov. Aggregation   COH             122491160010                Gas           Gov. Aggregation
COH             158691990056                Gas           Gov. Aggregation   COH             122491420015                Gas           Gov. Aggregation
COH             159276750028                Gas           Gov. Aggregation   COH             122491590010                Gas           Gov. Aggregation
COH             159537260072                Gas           Gov. Aggregation   COH             122491660015                Gas           Gov. Aggregation
COH             159696420018                Gas           Gov. Aggregation   COH             122496700025                Gas           Gov. Aggregation
COH             160211290064                Gas           Gov. Aggregation   COH             122497390029                Gas           Gov. Aggregation
COH             160804380059                Gas           Gov. Aggregation   COH             122498250026                Gas           Gov. Aggregation
COH             160845420045                Gas           Gov. Aggregation   COH             122499140036                Gas           Gov. Aggregation
COH             160856810022                Gas           Gov. Aggregation   COH             185160760010                Gas           Gov. Aggregation
COH             161156020012                Gas           Gov. Aggregation   COH             185210580011                Gas           Gov. Aggregation
COH             161396950019                Gas           Gov. Aggregation   COH             185210640018                Gas           Gov. Aggregation
COH             161406490013                Gas           Gov. Aggregation   COH             185242630013                Gas           Gov. Aggregation
COH             162968190373                Gas           Gov. Aggregation   COH             185436870012                Gas           Gov. Aggregation
COH             162968190382                Gas           Gov. Aggregation   COH             185445280017                Gas           Gov. Aggregation
COH             163034790026                Gas           Gov. Aggregation   COH             185459160022                Gas           Gov. Aggregation
COH             163048840017                Gas           Gov. Aggregation   COH             185511370017                Gas           Gov. Aggregation
COH             163386680033                Gas           Gov. Aggregation   COH             185522790025                Gas           Gov. Aggregation
COH             163570080010                Gas           Gov. Aggregation   COH             185522800022                Gas           Gov. Aggregation
COH             163977950015                Gas           Gov. Aggregation   COH             185522800068                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             164034080024                Gas           Gov. Aggregation   COH             185588450019                Gas           Gov. Aggregation
COH             164255420015                Gas           Gov. Aggregation   COH             185592860032                Gas           Gov. Aggregation
COH             164784450018                Gas           Gov. Aggregation   COH             185833910011                Gas           Gov. Aggregation
COH             165080000013                Gas           Gov. Aggregation   COH             185957030014                Gas           Gov. Aggregation
COH             165171180013                Gas           Gov. Aggregation   COH             186006930019                Gas           Gov. Aggregation
COH             165171560059                Gas           Gov. Aggregation   COH             186058490013                Gas           Gov. Aggregation
COH             165622550018                Gas           Gov. Aggregation   COH             186077800017                Gas           Gov. Aggregation
COH             166071870019                Gas           Gov. Aggregation   COH             186184870016                Gas           Gov. Aggregation
COH             166122310026                Gas           Gov. Aggregation   COH             186184900019                Gas           Gov. Aggregation
COH             166974630024                Gas           Gov. Aggregation   COH             186193500014                Gas           Gov. Aggregation
COH             167104060053                Gas           Gov. Aggregation   COH             186258580010                Gas           Gov. Aggregation
COH             167345680035                Gas           Gov. Aggregation   COH             186263200018                Gas           Gov. Aggregation
COH             167818340015                Gas           Gov. Aggregation   COH             186300240029                Gas           Gov. Aggregation
COH             167852680058                Gas           Gov. Aggregation   COH             186309520013                Gas           Gov. Aggregation
COH             167993020012                Gas           Gov. Aggregation   COH             186309610014                Gas           Gov. Aggregation
COH             168370280035                Gas           Gov. Aggregation   COH             186359640013                Gas           Gov. Aggregation
COH             168387990013                Gas           Gov. Aggregation   COH             122499950054                Gas           Gov. Aggregation
COH             168481220014                Gas           Gov. Aggregation   COH             122499980021                Gas           Gov. Aggregation
COH             168567850038                Gas           Gov. Aggregation   COH             122499990010                Gas           Gov. Aggregation
COH             168884070012                Gas           Gov. Aggregation   COH             122504790046                Gas           Gov. Aggregation
COH             168938610013                Gas           Gov. Aggregation   COH             122504910059                Gas           Gov. Aggregation
COH             169501100050                Gas           Gov. Aggregation   COH             122505030016                Gas           Gov. Aggregation
COH             169501100069                Gas           Gov. Aggregation   COH             122505280023                Gas           Gov. Aggregation
COH             169501100078                Gas           Gov. Aggregation   COH             122505610023                Gas           Gov. Aggregation
COH             169501100087                Gas           Gov. Aggregation   COH             122505650016                Gas           Gov. Aggregation
COH             169501100096                Gas           Gov. Aggregation   COH             122505740017                Gas           Gov. Aggregation
COH             169501100103                Gas           Gov. Aggregation   COH             122506420030                Gas           Gov. Aggregation
COH             169501100112                Gas           Gov. Aggregation   COH             122507020014                Gas           Gov. Aggregation
COH             169501100121                Gas           Gov. Aggregation   COH             122507400023                Gas           Gov. Aggregation
COH             169501100130                Gas           Gov. Aggregation   COH             138916430022                Gas           Gov. Aggregation
COH             169693200027                Gas           Gov. Aggregation   COH             138952230028                Gas           Gov. Aggregation
COH             169735260016                Gas           Gov. Aggregation   COH             138998100029                Gas           Gov. Aggregation
COH             169762070126                Gas           Gov. Aggregation   COH             138998610013                Gas           Gov. Aggregation
COH             169798890030                Gas           Gov. Aggregation   COH             139121610019                Gas           Gov. Aggregation
COH             170202350013                Gas           Gov. Aggregation   COH             122427960035                Gas           Gov. Aggregation
COH             170227780020                Gas           Gov. Aggregation   COH             122428260030                Gas           Gov. Aggregation
COH             170257950021                Gas           Gov. Aggregation   COH             122428490014                Gas           Gov. Aggregation
COH             170566960024                Gas           Gov. Aggregation   COH             122428610027                Gas           Gov. Aggregation
COH             170753790014                Gas           Gov. Aggregation   COH             122428680014                Gas           Gov. Aggregation
COH             170764280018                Gas           Gov. Aggregation   COH             122434610024                Gas           Gov. Aggregation
COH             170794220026                Gas           Gov. Aggregation   COH             122436140010                Gas           Gov. Aggregation
COH             170890600022                Gas           Gov. Aggregation   COH             122436280011                Gas           Gov. Aggregation
COH             171170160057                Gas           Gov. Aggregation   COH             122436420011                Gas           Gov. Aggregation
COH             171594060032                Gas           Gov. Aggregation   COH             122436440017                Gas           Gov. Aggregation
COH             171725210077                Gas           Gov. Aggregation   COH             122436510012                Gas           Gov. Aggregation
COH             171968570032                Gas           Gov. Aggregation   COH             122437950027                Gas           Gov. Aggregation
COH             172098310058                Gas           Gov. Aggregation   COH             122438070066                Gas           Gov. Aggregation
COH             172700550013                Gas           Gov. Aggregation   COH             122438740038                Gas           Gov. Aggregation
COH             172979250017                Gas           Gov. Aggregation   COH             122439310018                Gas           Gov. Aggregation
COH             173056310019                Gas           Gov. Aggregation   COH             122441280010                Gas           Gov. Aggregation
COH             173422210022                Gas           Gov. Aggregation   COH             122441320020                Gas           Gov. Aggregation
COH             173486800015                Gas           Gov. Aggregation   COH             122441360022                Gas           Gov. Aggregation
COH             173584230026                Gas           Gov. Aggregation   COH             122443020029                Gas           Gov. Aggregation
COH             173783780038                Gas           Gov. Aggregation   COH             122446420029                Gas           Gov. Aggregation
COH             174019100010                Gas           Gov. Aggregation   COH             122446450023                Gas           Gov. Aggregation
COH             174191600011                Gas           Gov. Aggregation   COH             122449250056                Gas           Gov. Aggregation
COH             174450540014                Gas           Gov. Aggregation   COH             122450120032                Gas           Gov. Aggregation
COH             174710330025                Gas           Gov. Aggregation   COH             122464970017                Gas           Gov. Aggregation
COH             174737680035                Gas           Gov. Aggregation   COH             122464980015                Gas           Gov. Aggregation
COH             174745840025                Gas           Gov. Aggregation   COH             122465030049                Gas           Gov. Aggregation
COH             174759900014                Gas           Gov. Aggregation   COH             122465140037                Gas           Gov. Aggregation
COH             175402070228                Gas           Gov. Aggregation   COH             122465760019                Gas           Gov. Aggregation
COH             175631140013                Gas           Gov. Aggregation   COH             122466000025                Gas           Gov. Aggregation
COH             175661430028                Gas           Gov. Aggregation   COH             122466350022                Gas           Gov. Aggregation
COH             175851130037                Gas           Gov. Aggregation   COH             122466560037                Gas           Gov. Aggregation
COH             176051350018                Gas           Gov. Aggregation   COH             122468110037                Gas           Gov. Aggregation
COH             176059370036                Gas           Gov. Aggregation   COH             122468650034                Gas           Gov. Aggregation
COH             176416910016                Gas           Gov. Aggregation   COH             122469260016                Gas           Gov. Aggregation
COH             176688720011                Gas           Gov. Aggregation   COH             122469270014                Gas           Gov. Aggregation
COH             176711080024                Gas           Gov. Aggregation   COH             122471660017                Gas           Gov. Aggregation
COH             176848850023                Gas           Gov. Aggregation   COH             122471710016                Gas           Gov. Aggregation
COH             177084340010                Gas           Gov. Aggregation   COH             122471860015                Gas           Gov. Aggregation
COH             177159320015                Gas           Gov. Aggregation   COH             122472170027                Gas           Gov. Aggregation
COH             177415980013                Gas           Gov. Aggregation   COH             172357100025                Gas           Gov. Aggregation
COH             177652540022                Gas           Gov. Aggregation   COH             122468380022                Gas           Gov. Aggregation
COH             185015380017                Gas           Gov. Aggregation   COH             122346470021                Gas           Gov. Aggregation
COH             185044250013                Gas           Gov. Aggregation   COH             173994770015                Gas           Gov. Aggregation
COH             185057220012                Gas           Gov. Aggregation   COH             122401810012                Gas           Gov. Aggregation
COH             185291910011                Gas           Gov. Aggregation   COH             122380560020                Gas           Gov. Aggregation
COH             185496940011                Gas           Gov. Aggregation   COH             122380720017                Gas           Gov. Aggregation
COH             185626280013                Gas           Gov. Aggregation   COH             122381000025                Gas           Gov. Aggregation
COH             185735440018                Gas           Gov. Aggregation   COH             122381200023                Gas           Gov. Aggregation
COH             185884570016                Gas           Gov. Aggregation   COH             122381370019                Gas           Gov. Aggregation
COH             186014600039                Gas           Gov. Aggregation   COH             122384670010                Gas           Gov. Aggregation
COH             186054920010                Gas           Gov. Aggregation   COH             122385050018                Gas           Gov. Aggregation
COH             186377980023                Gas           Gov. Aggregation   COH             122385660038                Gas           Gov. Aggregation
COH             186415980012                Gas           Gov. Aggregation   COH             122388250029                Gas           Gov. Aggregation
COH             186537570010                Gas           Gov. Aggregation   COH             122388420014                Gas           Gov. Aggregation
COH             186585340017                Gas           Gov. Aggregation   COH             122388460025                Gas           Gov. Aggregation
COH             186701520057                Gas           Gov. Aggregation   COH             122388590019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             187110530011                Gas           Gov. Aggregation   COH             122388600150                Gas           Gov. Aggregation
COH             187412270016                Gas           Gov. Aggregation   COH             122389180013                Gas           Gov. Aggregation
COH             187432990013                Gas           Gov. Aggregation   COH             122390450013                Gas           Gov. Aggregation
COH             187439830012                Gas           Gov. Aggregation   COH             122390510038                Gas           Gov. Aggregation
COH             187516260018                Gas           Gov. Aggregation   COH             122390840020                Gas           Gov. Aggregation
COH             187519880012                Gas           Gov. Aggregation   COH             122390910016                Gas           Gov. Aggregation
COH             187557920013                Gas           Gov. Aggregation   COH             122390990029                Gas           Gov. Aggregation
COH             187721640013                Gas           Gov. Aggregation   COH             122391130018                Gas           Gov. Aggregation
COH             187751340013                Gas           Gov. Aggregation   COH             122395630024                Gas           Gov. Aggregation
COH             187887720016                Gas           Gov. Aggregation   COH             122395670017                Gas           Gov. Aggregation
COH             188165310011                Gas           Gov. Aggregation   COH             122395890011                Gas           Gov. Aggregation
COH             188473580012                Gas           Gov. Aggregation   COH             122396000015                Gas           Gov. Aggregation
COH             188543570015                Gas           Gov. Aggregation   COH             122401650016                Gas           Gov. Aggregation
COH             188684970013                Gas           Gov. Aggregation   COH             122401790053                Gas           Gov. Aggregation
COH             188699940018                Gas           Gov. Aggregation   COH             122402040012                Gas           Gov. Aggregation
COH             188742890025                Gas           Gov. Aggregation   COH             122402280012                Gas           Gov. Aggregation
COH             188754570018                Gas           Gov. Aggregation   COH             122403850010                Gas           Gov. Aggregation
COH             188783410010                Gas           Gov. Aggregation   COH             122403930022                Gas           Gov. Aggregation
COH             188841490010                Gas           Gov. Aggregation   COH             122404040018                Gas           Gov. Aggregation
COH             188849200023                Gas           Gov. Aggregation   COH             122404110013                Gas           Gov. Aggregation
COH             188883390022                Gas           Gov. Aggregation   COH             122406800023                Gas           Gov. Aggregation
COH             188914350014                Gas           Gov. Aggregation   COH             122406860012                Gas           Gov. Aggregation
COH             188914360012                Gas           Gov. Aggregation   COH             122406890016                Gas           Gov. Aggregation
COH             188959920010                Gas           Gov. Aggregation   COH             122407050010                Gas           Gov. Aggregation
COH             188964450018                Gas           Gov. Aggregation   COH             122407120015                Gas           Gov. Aggregation
COH             189069370012                Gas           Gov. Aggregation   COH             122407640025                Gas           Gov. Aggregation
COH             189096360017                Gas           Gov. Aggregation   COH             122407740033                Gas           Gov. Aggregation
COH             189096440010                Gas           Gov. Aggregation   COH             122407870018                Gas           Gov. Aggregation
COH             189201050017                Gas           Gov. Aggregation   COH             122407940031                Gas           Gov. Aggregation
COH             189305240017                Gas           Gov. Aggregation   COH             122407970026                Gas           Gov. Aggregation
COH             189394760011                Gas           Gov. Aggregation   COH             122408200025                Gas           Gov. Aggregation
COH             189422580018                Gas           Gov. Aggregation   COH             122408350024                Gas           Gov. Aggregation
COH             189467510018                Gas           Gov. Aggregation   COH             122409260030                Gas           Gov. Aggregation
COH             189570580015                Gas           Gov. Aggregation   COH             122409550011                Gas           Gov. Aggregation
COH             189577160019                Gas           Gov. Aggregation   COH             122409590022                Gas           Gov. Aggregation
COH             189601910018                Gas           Gov. Aggregation   COH             122412930014                Gas           Gov. Aggregation
COH             189735010014                Gas           Gov. Aggregation   COH             122415200011                Gas           Gov. Aggregation
COH             189780110018                Gas           Gov. Aggregation   COH             122415280015                Gas           Gov. Aggregation
COH             190012960014                Gas           Gov. Aggregation   COH             122415740054                Gas           Gov. Aggregation
COH             190088480016                Gas           Gov. Aggregation   COH             122416180014                Gas           Gov. Aggregation
COH             190096610011                Gas           Gov. Aggregation   COH             122416250019                Gas           Gov. Aggregation
COH             190215560018                Gas           Gov. Aggregation   COH             122416290011                Gas           Gov. Aggregation
COH             114963130015                Gas           Gov. Aggregation   COH             145352970044                Gas           Gov. Aggregation
COH             111211560020                Gas           Gov. Aggregation   COH             145371580028                Gas           Gov. Aggregation
COH             111211660010                Gas           Gov. Aggregation   COH             145395680018                Gas           Gov. Aggregation
COH             111211720044                Gas           Gov. Aggregation   COH             145498210045                Gas           Gov. Aggregation
COH             111217940028                Gas           Gov. Aggregation   COH             145498230014                Gas           Gov. Aggregation
COH             111221920014                Gas           Gov. Aggregation   COH             145512570048                Gas           Gov. Aggregation
COH             111238510024                Gas           Gov. Aggregation   COH             145569080015                Gas           Gov. Aggregation
COH             111238650034                Gas           Gov. Aggregation   COH             145920730012                Gas           Gov. Aggregation
COH             111247410017                Gas           Gov. Aggregation   COH             145956030023                Gas           Gov. Aggregation
COH             111247530012                Gas           Gov. Aggregation   COH             145967840011                Gas           Gov. Aggregation
COH             111247590029                Gas           Gov. Aggregation   COH             145971520037                Gas           Gov. Aggregation
COH             111247630011                Gas           Gov. Aggregation   COH             146447990011                Gas           Gov. Aggregation
COH             111253200027                Gas           Gov. Aggregation   COH             146463450010                Gas           Gov. Aggregation
COH             111265790010                Gas           Gov. Aggregation   COH             146558450019                Gas           Gov. Aggregation
COH             111277060018                Gas           Gov. Aggregation   COH             146584750011                Gas           Gov. Aggregation
COH             111277160017                Gas           Gov. Aggregation   COH             146739300025                Gas           Gov. Aggregation
COH             111277400016                Gas           Gov. Aggregation   COH             148001180040                Gas           Gov. Aggregation
COH             111287180021                Gas           Gov. Aggregation   COH             148043220025                Gas           Gov. Aggregation
COH             140442800016                Gas           Gov. Aggregation   COH             148112850035                Gas           Gov. Aggregation
COH             140675860066                Gas           Gov. Aggregation   COH             148130170012                Gas           Gov. Aggregation
COH             141159470016                Gas           Gov. Aggregation   COH             148365790024                Gas           Gov. Aggregation
COH             142007140051                Gas           Gov. Aggregation   COH             148374610013                Gas           Gov. Aggregation
COH             146149720037                Gas           Gov. Aggregation   COH             148385860027                Gas           Gov. Aggregation
COH             148438570070                Gas           Gov. Aggregation   COH             148425600034                Gas           Gov. Aggregation
COH             148726490012                Gas           Gov. Aggregation   COH             149797140113                Gas           Gov. Aggregation
COH             148967550019                Gas           Gov. Aggregation   COH             149800470017                Gas           Gov. Aggregation
COH             149641310018                Gas           Gov. Aggregation   COH             149801540029                Gas           Gov. Aggregation
COH             154704520022                Gas           Gov. Aggregation   COH             149809890011                Gas           Gov. Aggregation
COH             164300660018                Gas           Gov. Aggregation   COH             129868060042                Gas           Gov. Aggregation
COH             164434610033                Gas           Gov. Aggregation   COH             122351980014                Gas           Gov. Aggregation
COH             164605770046                Gas           Gov. Aggregation   COH             122428940019                Gas           Gov. Aggregation
COH             168756630042                Gas           Gov. Aggregation   COH             139760630039                Gas           Gov. Aggregation
COH             168857070019                Gas           Gov. Aggregation   COH             139805230037                Gas           Gov. Aggregation
COH             169577510019                Gas           Gov. Aggregation   COH             139811380015                Gas           Gov. Aggregation
COH             169662770014                Gas           Gov. Aggregation   COH             139855410025                Gas           Gov. Aggregation
COH             172213880017                Gas           Gov. Aggregation   COH             140319040017                Gas           Gov. Aggregation
COH             172291960016                Gas           Gov. Aggregation   COH             140343260029                Gas           Gov. Aggregation
COH             173407550014                Gas           Gov. Aggregation   COH             140377310018                Gas           Gov. Aggregation
COH             174127520013                Gas           Gov. Aggregation   COH             140491320023                Gas           Gov. Aggregation
COH             175416220030                Gas           Gov. Aggregation   COH             140491480057                Gas           Gov. Aggregation
COH             186655320030                Gas           Gov. Aggregation   COH             140776070013                Gas           Gov. Aggregation
COH             187338450016                Gas           Gov. Aggregation   COH             140834320043                Gas           Gov. Aggregation
COH             187787580018                Gas           Gov. Aggregation   COH             140837940083                Gas           Gov. Aggregation
COH             187915360011                Gas           Gov. Aggregation   COH             140952840035                Gas           Gov. Aggregation
COH             188618910014                Gas           Gov. Aggregation   COH             140974860017                Gas           Gov. Aggregation
COH             188655910016                Gas           Gov. Aggregation   COH             140975120029                Gas           Gov. Aggregation
COH             188980360013                Gas           Gov. Aggregation   COH             141287170045                Gas           Gov. Aggregation
COH             110478320027                Gas           Gov. Aggregation   COH             141321770045                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             110491960034                Gas           Gov. Aggregation   COH             141371350020                Gas           Gov. Aggregation
COH             111215650023                Gas           Gov. Aggregation   COH             141449960027                Gas           Gov. Aggregation
COH             111216110024                Gas           Gov. Aggregation   COH             141521820022                Gas           Gov. Aggregation
COH             111216740022                Gas           Gov. Aggregation   COH             141529370012                Gas           Gov. Aggregation
COH             111220010026                Gas           Gov. Aggregation   COH             141650910520                Gas           Gov. Aggregation
COH             111225960027                Gas           Gov. Aggregation   COH             141674010010                Gas           Gov. Aggregation
COH             111233250029                Gas           Gov. Aggregation   COH             141679880045                Gas           Gov. Aggregation
COH             111233270016                Gas           Gov. Aggregation   COH             141717890014                Gas           Gov. Aggregation
COH             111234190020                Gas           Gov. Aggregation   COH             141756440016                Gas           Gov. Aggregation
COH             111234340019                Gas           Gov. Aggregation   COH             141777030063                Gas           Gov. Aggregation
COH             111234380011                Gas           Gov. Aggregation   COH             142064080438                Gas           Gov. Aggregation
COH             111257050012                Gas           Gov. Aggregation   COH             142113110043                Gas           Gov. Aggregation
COH             111257060010                Gas           Gov. Aggregation   COH             142199270068                Gas           Gov. Aggregation
COH             111257130015                Gas           Gov. Aggregation   COH             142227370039                Gas           Gov. Aggregation
COH             111257150011                Gas           Gov. Aggregation   COH             142402180073                Gas           Gov. Aggregation
COH             111257480012                Gas           Gov. Aggregation   COH             142502610025                Gas           Gov. Aggregation
COH             111257490038                Gas           Gov. Aggregation   COH             142502610043                Gas           Gov. Aggregation
COH             111258120015                Gas           Gov. Aggregation   COH             142502610052                Gas           Gov. Aggregation
COH             111258130013                Gas           Gov. Aggregation   COH             142502610061                Gas           Gov. Aggregation
COH             111258300017                Gas           Gov. Aggregation   COH             142538960045                Gas           Gov. Aggregation
COH             111268830015                Gas           Gov. Aggregation   COH             142570160027                Gas           Gov. Aggregation
COH             111268940012                Gas           Gov. Aggregation   COH             142733470035                Gas           Gov. Aggregation
COH             111269050017                Gas           Gov. Aggregation   COH             142760810027                Gas           Gov. Aggregation
COH             111269060015                Gas           Gov. Aggregation   COH             143082920012                Gas           Gov. Aggregation
COH             111270260010                Gas           Gov. Aggregation   COH             143211890121                Gas           Gov. Aggregation
COH             111270270018                Gas           Gov. Aggregation   COH             144374720014                Gas           Gov. Aggregation
COH             111270300011                Gas           Gov. Aggregation   COH             144374730021                Gas           Gov. Aggregation
COH             111274810025                Gas           Gov. Aggregation   COH             144426900015                Gas           Gov. Aggregation
COH             111284500029                Gas           Gov. Aggregation   COH             144808650054                Gas           Gov. Aggregation
COH             111284600019                Gas           Gov. Aggregation   COH             144844140019                Gas           Gov. Aggregation
COH             111285120018                Gas           Gov. Aggregation   COH             144887960026                Gas           Gov. Aggregation
COH             111285140014                Gas           Gov. Aggregation   COH             144948270021                Gas           Gov. Aggregation
COH             111285150012                Gas           Gov. Aggregation   COH             145181140014                Gas           Gov. Aggregation
COH             111285180016                Gas           Gov. Aggregation   COH             145182190012                Gas           Gov. Aggregation
COH             111285240013                Gas           Gov. Aggregation   COH             145190590011                Gas           Gov. Aggregation
COH             114453990016                Gas           Gov. Aggregation   COH             145200000011                Gas           Gov. Aggregation
COH             126751840011                Gas           Gov. Aggregation   COH             172516620019                Gas           Gov. Aggregation
COH             130195870037                Gas           Gov. Aggregation   COH             111260900016                Gas           Gov. Aggregation
COH             130970530016                Gas           Gov. Aggregation   COH             117107890017                Gas           Gov. Aggregation
COH             131586350018                Gas           Gov. Aggregation   COH             133957650034                Gas           Gov. Aggregation
COH             131933800016                Gas           Gov. Aggregation   COH             136757160029                Gas           Gov. Aggregation
COH             133674100039                Gas           Gov. Aggregation   COH             143222780014                Gas           Gov. Aggregation
COH             134794430026                Gas           Gov. Aggregation   COH             162054370023                Gas           Gov. Aggregation
COH             135718280027                Gas           Gov. Aggregation   COH             164829790020                Gas           Gov. Aggregation
COH             136153450019                Gas           Gov. Aggregation   COH             186259540016                Gas           Gov. Aggregation
COH             138519000015                Gas           Gov. Aggregation   COH             112297130029                Gas           Gov. Aggregation
COH             138667970028                Gas           Gov. Aggregation   COH             112259990010                Gas           Gov. Aggregation
COH             139562180016                Gas           Gov. Aggregation   COH             112267300044                Gas           Gov. Aggregation
COH             139705530018                Gas           Gov. Aggregation   COH             113487310054                Gas           Gov. Aggregation
COH             139774210010                Gas           Gov. Aggregation   COH             123866290035                Gas           Gov. Aggregation
COH             141599380013                Gas           Gov. Aggregation   COH             113775840034                Gas           Gov. Aggregation
COH             141747300023                Gas           Gov. Aggregation   COH             113867850037                Gas           Gov. Aggregation
COH             141984420044                Gas           Gov. Aggregation   COH             121945190012                Gas           Gov. Aggregation
COH             142612520021                Gas           Gov. Aggregation   COH             130799540027                Gas           Gov. Aggregation
COH             142939890022                Gas           Gov. Aggregation   COH             130911910010                Gas           Gov. Aggregation
COH             143002510016                Gas           Gov. Aggregation   COH             123398200036                Gas           Gov. Aggregation
COH             145083240011                Gas           Gov. Aggregation   COH             188619010011                Gas           Gov. Aggregation
COH             145204530012                Gas           Gov. Aggregation   COH             147490380017                Gas           Gov. Aggregation
COH             145347140012                Gas           Gov. Aggregation   COH             125780710018                Gas           Gov. Aggregation
COH             145472820014                Gas           Gov. Aggregation   COH             157471640010                Gas           Gov. Aggregation
COH             146196160027                Gas           Gov. Aggregation   COH             140787290023                Gas           Gov. Aggregation
COH             146256500027                Gas           Gov. Aggregation   COH             142001160022                Gas           Gov. Aggregation
COH             146621220012                Gas           Gov. Aggregation   COH             143328090042                Gas           Gov. Aggregation
COH             147538000014                Gas           Gov. Aggregation   COH             166441750019                Gas           Gov. Aggregation
COH             150717070015                Gas           Gov. Aggregation   COH             168829420014                Gas           Gov. Aggregation
COH             151967970016                Gas           Gov. Aggregation   COH             125737330028                Gas           Gov. Aggregation
COH             153659150019                Gas           Gov. Aggregation   COH             127662910023                Gas           Gov. Aggregation
COH             154032690013                Gas           Gov. Aggregation   COH             123107770014                Gas           Gov. Aggregation
COH             154224590017                Gas           Gov. Aggregation   COH             156032370018                Gas           Gov. Aggregation
COH             155276860010                Gas           Gov. Aggregation   COH             117338340013                Gas           Gov. Aggregation
COH             155302150012                Gas           Gov. Aggregation   COH             154776370023                Gas           Gov. Aggregation
COH             155443680013                Gas           Gov. Aggregation   COH             135767110029                Gas           Gov. Aggregation
COH             155465440017                Gas           Gov. Aggregation   COH             141463830024                Gas           Gov. Aggregation
COH             155540620019                Gas           Gov. Aggregation   COH             115070200030                Gas           Gov. Aggregation
COH             156026200016                Gas           Gov. Aggregation   COH             132994720050                Gas           Gov. Aggregation
COH             156059280020                Gas           Gov. Aggregation   COH             134526550055                Gas           Gov. Aggregation
COH             157250180042                Gas           Gov. Aggregation   COH             167189000011                Gas           Gov. Aggregation
COH             157439790026                Gas           Gov. Aggregation   COH             148642280023                Gas           Gov. Aggregation
COH             157535830023                Gas           Gov. Aggregation   COH             150164740044                Gas           Gov. Aggregation
COH             157659510019                Gas           Gov. Aggregation   COH             152290520023                Gas           Gov. Aggregation
COH             157946110014                Gas           Gov. Aggregation   COH             190375850019                Gas           Gov. Aggregation
COH             158243900017                Gas           Gov. Aggregation   COH             111279570017                Gas           Gov. Aggregation
COH             159926830013                Gas           Gov. Aggregation   COH             189453240014                Gas           Gov. Aggregation
COH             160786170026                Gas           Gov. Aggregation   COH             189308910010                Gas           Gov. Aggregation
COH             160825450014                Gas           Gov. Aggregation   COH             139906660024                Gas           Gov. Aggregation
COH             162102250016                Gas           Gov. Aggregation   COH             144024310075                Gas           Gov. Aggregation
COH             162592900012                Gas           Gov. Aggregation   COH             161548300030                Gas           Gov. Aggregation
COH             162644020025                Gas           Gov. Aggregation   COH             141361490013                Gas           Gov. Aggregation
COH             163042690011                Gas           Gov. Aggregation   COH             168461360017                Gas           Gov. Aggregation
COH             163876510057                Gas           Gov. Aggregation   COH             150198940014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             164109100020                Gas           Gov. Aggregation   COH             152627750057                Gas           Gov. Aggregation
COH             164250740018                Gas           Gov. Aggregation   COH             155173140028                Gas           Gov. Aggregation
COH             164403750011                Gas           Gov. Aggregation   COH             157934570013                Gas           Gov. Aggregation
COH             166215890019                Gas           Gov. Aggregation   COH             157185860011                Gas           Gov. Aggregation
COH             166840050010                Gas           Gov. Aggregation   COH             124050090026                Gas           Gov. Aggregation
COH             167746490035                Gas           Gov. Aggregation   COH             169269940012                Gas           Gov. Aggregation
COH             167917200014                Gas           Gov. Aggregation   COH             163005960058                Gas           Gov. Aggregation
COH             168038070015                Gas           Gov. Aggregation   COH             167962800022                Gas           Gov. Aggregation
COH             168053610028                Gas           Gov. Aggregation   COH             167814230016                Gas           Gov. Aggregation
COH             169016920011                Gas           Gov. Aggregation   COH             168533840022                Gas           Gov. Aggregation
COH             169036780019                Gas           Gov. Aggregation   COH             168820600014                Gas           Gov. Aggregation
COH             169145190012                Gas           Gov. Aggregation   COH             161801930012                Gas           Gov. Aggregation
COH             169152010014                Gas           Gov. Aggregation   COH             166047770020                Gas           Gov. Aggregation
COH             169243340012                Gas           Gov. Aggregation   COH             151276860014                Gas           Gov. Aggregation
COH             170348240027                Gas           Gov. Aggregation   COH             153461830015                Gas           Gov. Aggregation
COH             170348250016                Gas           Gov. Aggregation   COH             170995060015                Gas           Gov. Aggregation
COH             171944090015                Gas           Gov. Aggregation   COH             187429190018                Gas           Gov. Aggregation
COH             172235250013                Gas           Gov. Aggregation   COH             177813010030                Gas           Gov. Aggregation
COH             172583370011                Gas           Gov. Aggregation   COH             165415690054                Gas           Gov. Aggregation
COH             172583380019                Gas           Gov. Aggregation   COH             172686650014                Gas           Gov. Aggregation
COH             173649480017                Gas           Gov. Aggregation   COH             174736260026                Gas           Gov. Aggregation
COH             173778730020                Gas           Gov. Aggregation   COH             187583300018                Gas           Gov. Aggregation
COH             174039060017                Gas           Gov. Aggregation   COH             175445290017                Gas           Gov. Aggregation
COH             174333980029                Gas           Gov. Aggregation   COH             176022110037                Gas           Gov. Aggregation
COH             174551510016                Gas           Gov. Aggregation   COH             169975550017                Gas           Gov. Aggregation
COH             175836050018                Gas           Gov. Aggregation   COH             176302830023                Gas           Gov. Aggregation
COH             176087950026                Gas           Gov. Aggregation   COH             110488820021                Gas           Gov. Aggregation
COH             176109650012                Gas           Gov. Aggregation   COH             152775440013                Gas           Gov. Aggregation
COH             177140110018                Gas           Gov. Aggregation   COH             155292600010                Gas           Gov. Aggregation
COH             177153670014                Gas           Gov. Aggregation   COH             176147140028                Gas           Gov. Aggregation
COH             177162450020                Gas           Gov. Aggregation   COH             190140710015                Gas           Gov. Aggregation
COH             185255970015                Gas           Gov. Aggregation   COH             175866750045                Gas           Gov. Aggregation
COH             185399230016                Gas           Gov. Aggregation   COH             188219470013                Gas           Gov. Aggregation
COH             185899240014                Gas           Gov. Aggregation   COH             186426410018                Gas           Gov. Aggregation
COH             186121640016                Gas           Gov. Aggregation   COH             137747970010                Gas           Gov. Aggregation
COH             186933130012                Gas           Gov. Aggregation   COH             115569630060                Gas           Gov. Aggregation
COH             187098480010                Gas           Gov. Aggregation   COH             136530980036                Gas           Gov. Aggregation
COH             187214250010                Gas           Gov. Aggregation   COH             145880780027                Gas           Gov. Aggregation
COH             187214270016                Gas           Gov. Aggregation   COH             151347670022                Gas           Gov. Aggregation
COH             187537720017                Gas           Gov. Aggregation   COH             140132520012                Gas           Gov. Aggregation
COH             187601130014                Gas           Gov. Aggregation   COH             155833160024                Gas           Gov. Aggregation
COH             188908090012                Gas           Gov. Aggregation   COH             174500650014                Gas           Gov. Aggregation
COH             188958480015                Gas           Gov. Aggregation   COH             170111840013                Gas           Gov. Aggregation
COH             189773880012                Gas           Gov. Aggregation   COH             190280400014                Gas           Gov. Aggregation
COH             190049040010                Gas           Gov. Aggregation   COH             113710090029                Gas           Gov. Aggregation
COH             190259350010                Gas           Gov. Aggregation   COH             114579870015                Gas           Gov. Aggregation
COH             109858080025                Gas           Gov. Aggregation   COH             114887560026                Gas           Gov. Aggregation
COH             109858090032                Gas           Gov. Aggregation   COH             114887720022                Gas           Gov. Aggregation
COH             109858280032                Gas           Gov. Aggregation   COH             114888160019                Gas           Gov. Aggregation
COH             109858570013                Gas           Gov. Aggregation   COH             114889720028                Gas           Gov. Aggregation
COH             109858620012                Gas           Gov. Aggregation   COH             114891630013                Gas           Gov. Aggregation
COH             109859450016                Gas           Gov. Aggregation   COH             114898850013                Gas           Gov. Aggregation
COH             109859720019                Gas           Gov. Aggregation   COH             114906850050                Gas           Gov. Aggregation
COH             109860000026                Gas           Gov. Aggregation   COH             114909530015                Gas           Gov. Aggregation
COH             109860130010                Gas           Gov. Aggregation   COH             114918950027                Gas           Gov. Aggregation
COH             109869120014                Gas           Gov. Aggregation   COH             114919050024                Gas           Gov. Aggregation
COH             109869860019                Gas           Gov. Aggregation   COH             114919650019                Gas           Gov. Aggregation
COH             109881020019                Gas           Gov. Aggregation   COH             114919800026                Gas           Gov. Aggregation
COH             109881090015                Gas           Gov. Aggregation   COH             114920000012                Gas           Gov. Aggregation
COH             109881130016                Gas           Gov. Aggregation   COH             114926010036                Gas           Gov. Aggregation
COH             109881690028                Gas           Gov. Aggregation   COH             114927350042                Gas           Gov. Aggregation
COH             109940280037                Gas           Gov. Aggregation   COH             114927950073                Gas           Gov. Aggregation
COH             126950230035                Gas           Gov. Aggregation   COH             114933470017                Gas           Gov. Aggregation
COH             128827120028                Gas           Gov. Aggregation   COH             114936530018                Gas           Gov. Aggregation
COH             131351910017                Gas           Gov. Aggregation   COH             114936680017                Gas           Gov. Aggregation
COH             136068450010                Gas           Gov. Aggregation   COH             114937210059                Gas           Gov. Aggregation
COH             136102550024                Gas           Gov. Aggregation   COH             114937300014                Gas           Gov. Aggregation
COH             140020490034                Gas           Gov. Aggregation   COH             114937530016                Gas           Gov. Aggregation
COH             145414470010                Gas           Gov. Aggregation   COH             114946310013                Gas           Gov. Aggregation
COH             145507130023                Gas           Gov. Aggregation   COH             114946620018                Gas           Gov. Aggregation
COH             145630770028                Gas           Gov. Aggregation   COH             114946630016                Gas           Gov. Aggregation
COH             150891180014                Gas           Gov. Aggregation   COH             114947580079                Gas           Gov. Aggregation
COH             151000380018                Gas           Gov. Aggregation   COH             114947680014                Gas           Gov. Aggregation
COH             153094760028                Gas           Gov. Aggregation   COH             114949730055                Gas           Gov. Aggregation
COH             153582130294                Gas           Gov. Aggregation   COH             114950560012                Gas           Gov. Aggregation
COH             156767930031                Gas           Gov. Aggregation   COH             114950970016                Gas           Gov. Aggregation
COH             157939500017                Gas           Gov. Aggregation   COH             114953150012                Gas           Gov. Aggregation
COH             158602670014                Gas           Gov. Aggregation   COH             114953930018                Gas           Gov. Aggregation
COH             161747540010                Gas           Gov. Aggregation   COH             114954590018                Gas           Gov. Aggregation
COH             164535300016                Gas           Gov. Aggregation   COH             114958480031                Gas           Gov. Aggregation
COH             166802890014                Gas           Gov. Aggregation   COH             114959300018                Gas           Gov. Aggregation
COH             167135670014                Gas           Gov. Aggregation   COH             114960150017                Gas           Gov. Aggregation
COH             167611690010                Gas           Gov. Aggregation   COH             114961230027                Gas           Gov. Aggregation
COH             167907740012                Gas           Gov. Aggregation   COH             114970430017                Gas           Gov. Aggregation
COH             170389850014                Gas           Gov. Aggregation   COH             114971760025                Gas           Gov. Aggregation
COH             170955420022                Gas           Gov. Aggregation   COH             114971830066                Gas           Gov. Aggregation
COH             171181200028                Gas           Gov. Aggregation   COH             114974260015                Gas           Gov. Aggregation
COH             173510610012                Gas           Gov. Aggregation   COH             114974460022                Gas           Gov. Aggregation
COH             173568510012                Gas           Gov. Aggregation   COH             114977890026                Gas           Gov. Aggregation
COH             186904090012                Gas           Gov. Aggregation   COH             114978270033                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             188841220016                Gas           Gov. Aggregation   COH             114978610022                Gas           Gov. Aggregation
COH             189358240016                Gas           Gov. Aggregation   COH             114979310014                Gas           Gov. Aggregation
COH             190263210010                Gas           Gov. Aggregation   COH             114981180026                Gas           Gov. Aggregation
COH             130481010012                Gas           Gov. Aggregation   COH             114997360061                Gas           Gov. Aggregation
COH             186775640039                Gas           Gov. Aggregation   COH             114999420019                Gas           Gov. Aggregation
COH             133203740014                Gas           Gov. Aggregation   COH             114999630015                Gas           Gov. Aggregation
COH             190308410012                Gas           Gov. Aggregation   COH             115010100019                Gas           Gov. Aggregation
COH             161887650020                Gas           Gov. Aggregation   COH             115011440034                Gas           Gov. Aggregation
COH             159865410039                Gas           Gov. Aggregation   COH             115011790013                Gas           Gov. Aggregation
COH             130374980025                Gas           Gov. Aggregation   COH             115017130019                Gas           Gov. Aggregation
COH             145603580043                Gas           Gov. Aggregation   COH             115017930011                Gas           Gov. Aggregation
COH             186074990023                Gas           Gov. Aggregation   COH             115025640015                Gas           Gov. Aggregation
COH             170209750024                Gas           Gov. Aggregation   COH             115027000015                Gas           Gov. Aggregation
COH             166724610018                Gas           Gov. Aggregation   COH             115027280026                Gas           Gov. Aggregation
COH             161470660012                Gas           Gov. Aggregation   COH             115028560016                Gas           Gov. Aggregation
COH             131055330053                Gas           Gov. Aggregation   COH             115031790011                Gas           Gov. Aggregation
COH             140303900028                Gas           Gov. Aggregation   COH             115034590026                Gas           Gov. Aggregation
COH             111036880016                Gas           Gov. Aggregation   COH             115036860016                Gas           Gov. Aggregation
COH             131559180020                Gas           Gov. Aggregation   COH             115040900018                Gas           Gov. Aggregation
COH             108755070026                Gas           Gov. Aggregation   COH             115043960029                Gas           Gov. Aggregation
COH             110520630012                Gas           Gov. Aggregation   COH             115045730032                Gas           Gov. Aggregation
COH             148954710030                Gas           Gov. Aggregation   COH             115057820029                Gas           Gov. Aggregation
COH             160430320018                Gas           Gov. Aggregation   COH             115058850012                Gas           Gov. Aggregation
COH             123700820015                Gas           Gov. Aggregation   COH             118859130021                Gas           Gov. Aggregation
COH             155027500021                Gas           Gov. Aggregation   COH             119948630071                Gas           Gov. Aggregation
COH             190459700012                Gas           Gov. Aggregation   COH             123586740025                Gas           Gov. Aggregation
COH             172819130010                Gas           Gov. Aggregation   COH             123622160010                Gas           Gov. Aggregation
COH             154236870013                Gas           Gov. Aggregation   COH             123942530032                Gas           Gov. Aggregation
COH             165777870014                Gas           Gov. Aggregation   COH             127149090015                Gas           Gov. Aggregation
COH             139787550030                Gas           Gov. Aggregation   COH             127151450032                Gas           Gov. Aggregation
COH             168701730019                Gas           Gov. Aggregation   COH             127284210040                Gas           Gov. Aggregation
COH             151845390089                Gas           Gov. Aggregation   COH             127305280013                Gas           Gov. Aggregation
COH             114712340012                Gas           Gov. Aggregation   COH             129850930046                Gas           Gov. Aggregation
COH             136439130010                Gas           Gov. Aggregation   COH             129969840035                Gas           Gov. Aggregation
COH             120344090054                Gas           Gov. Aggregation   COH             130013160021                Gas           Gov. Aggregation
COH             174742670018                Gas           Gov. Aggregation   COH             130314000026                Gas           Gov. Aggregation
COH             163469450017                Gas           Gov. Aggregation   COH             130449440029                Gas           Gov. Aggregation
COH             163283510018                Gas           Gov. Aggregation   COH             130851260015                Gas           Gov. Aggregation
COH             186593030024                Gas           Gov. Aggregation   COH             133041340021                Gas           Gov. Aggregation
COH             118782140040                Gas           Gov. Aggregation   COH             133153340024                Gas           Gov. Aggregation
COH             176173690019                Gas           Gov. Aggregation   COH             133181880013                Gas           Gov. Aggregation
COH             143881810100                Gas           Gov. Aggregation   COH             133675800085                Gas           Gov. Aggregation
COH             120170110021                Gas           Gov. Aggregation   COH             133902910061                Gas           Gov. Aggregation
COH             169131130013                Gas           Gov. Aggregation   COH             135104360058                Gas           Gov. Aggregation
COH             154433480017                Gas           Gov. Aggregation   COH             135233780011                Gas           Gov. Aggregation
COH             163854300011                Gas           Gov. Aggregation   COH             135270560019                Gas           Gov. Aggregation
COH             168800900013                Gas           Gov. Aggregation   COH             135471130013                Gas           Gov. Aggregation
COH             108789810029                Gas           Gov. Aggregation   COH             135478080047                Gas           Gov. Aggregation
COH             163275370015                Gas           Gov. Aggregation   COH             135985460024                Gas           Gov. Aggregation
COH             185400150027                Gas           Gov. Aggregation   COH             137014140017                Gas           Gov. Aggregation
COH             190397310016                Gas           Gov. Aggregation   COH             137117460076                Gas           Gov. Aggregation
COH             190478220013                Gas           Gov. Aggregation   COH             137403640017                Gas           Gov. Aggregation
COH             190368650016                Gas           Gov. Aggregation   COH             137902680057                Gas           Gov. Aggregation
COH             115015340028                Gas           Gov. Aggregation   COH             138109620041                Gas           Gov. Aggregation
COH             175466730038                Gas           Gov. Aggregation   COH             138468190024                Gas           Gov. Aggregation
COH             190176140010                Gas           Gov. Aggregation   COH             138502420012                Gas           Gov. Aggregation
COH             124014240011                Gas           Gov. Aggregation   COH             138862180011                Gas           Gov. Aggregation
COH             150454330018                Gas           Gov. Aggregation   COH             139704040059                Gas           Gov. Aggregation
COH             148536210120                Gas           Gov. Aggregation   COH             139714590026                Gas           Gov. Aggregation
COH             189775160028                Gas           Gov. Aggregation   COH             139721350094                Gas           Gov. Aggregation
COH             172026370011                Gas           Gov. Aggregation   COH             139785990041                Gas           Gov. Aggregation
COH             172351170014                Gas           Gov. Aggregation   COH             139797560019                Gas           Gov. Aggregation
COH             186717250015                Gas           Gov. Aggregation   COH             140637180014                Gas           Gov. Aggregation
COH             190511340016                Gas           Gov. Aggregation   COH             140793390038                Gas           Gov. Aggregation
COH             123085720030                Gas           Gov. Aggregation   COH             140797650026                Gas           Gov. Aggregation
COH             142415740023                Gas           Gov. Aggregation   COH             141290780031                Gas           Gov. Aggregation
COH             111169100027                Gas           Gov. Aggregation   COH             141303970014                Gas           Gov. Aggregation
COH             190386770013                Gas           Gov. Aggregation   COH             142624820023                Gas           Gov. Aggregation
COH             115171880016                Gas           Gov. Aggregation   COH             142740470021                Gas           Gov. Aggregation
COH             189856080014                Gas           Gov. Aggregation   COH             142790910014                Gas           Gov. Aggregation
COH             159526140016                Gas           Gov. Aggregation   COH             142881830018                Gas           Gov. Aggregation
COH             149764190014                Gas           Gov. Aggregation   COH             143937160019                Gas           Gov. Aggregation
COH             111255050016                Gas           Gov. Aggregation   COH             144716760029                Gas           Gov. Aggregation
COH             150880750026                Gas           Gov. Aggregation   COH             144855760016                Gas           Gov. Aggregation
COH             172711180018                Gas           Gov. Aggregation   COH             144878900027                Gas           Gov. Aggregation
COH             186796960010                Gas           Gov. Aggregation   COH             145624880028                Gas           Gov. Aggregation
COH             111270600027                Gas           Gov. Aggregation   COH             145673060018                Gas           Gov. Aggregation
COH             111271910011                Gas           Gov. Aggregation   COH             145744840095                Gas           Gov. Aggregation
COH             111271630010                Gas           Gov. Aggregation   COH             145789780021                Gas           Gov. Aggregation
COH             111271690018                Gas           Gov. Aggregation   COH             145809700023                Gas           Gov. Aggregation
COH             126808130019                Gas           Gov. Aggregation   COH             145821910023                Gas           Gov. Aggregation
COH             173937060014                Gas           Gov. Aggregation   COH             145845320063                Gas           Gov. Aggregation
COH             111270360019                Gas           Gov. Aggregation   COH             146194490013                Gas           Gov. Aggregation
COH             190261390017                Gas           Gov. Aggregation   COH             146250250022                Gas           Gov. Aggregation
COH             173853240032                Gas           Gov. Aggregation   COH             146265200012                Gas           Gov. Aggregation
COH             188085990019                Gas           Gov. Aggregation   COH             146347550024                Gas           Gov. Aggregation
COH             189135160015                Gas           Gov. Aggregation   COH             146404760037                Gas           Gov. Aggregation
COH             170723110037                Gas           Gov. Aggregation   COH             147400910023                Gas           Gov. Aggregation
COH             111254520019                Gas           Gov. Aggregation   COH             147435310017                Gas           Gov. Aggregation
COH             188740780013                Gas           Gov. Aggregation   COH             147518260021                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             154062240014                Gas           Gov. Aggregation   COH             148098780069                Gas           Gov. Aggregation
COH             109430620027                Gas           Gov. Aggregation   COH             148332570010                Gas           Gov. Aggregation
COH             188593370012                Gas           Gov. Aggregation   COH             148337810028                Gas           Gov. Aggregation
COH             154288520026                Gas           Gov. Aggregation   COH             151279300033                Gas           Gov. Aggregation
COH             189754230018                Gas           Gov. Aggregation   COH             151777090014                Gas           Gov. Aggregation
COH             173302780018                Gas           Gov. Aggregation   COH             152330120030                Gas           Gov. Aggregation
COH             189929830011                Gas           Gov. Aggregation   COH             152356800024                Gas           Gov. Aggregation
COH             127165890308                Gas           Gov. Aggregation   COH             152402450010                Gas           Gov. Aggregation
COH             111261270017                Gas           Gov. Aggregation   COH             152476770036                Gas           Gov. Aggregation
COH             154130980023                Gas           Gov. Aggregation   COH             152698110025                Gas           Gov. Aggregation
COH             151230130013                Gas           Gov. Aggregation   COH             153990700468                Gas           Gov. Aggregation
COH             171572980017                Gas           Gov. Aggregation   COH             154241120055                Gas           Gov. Aggregation
COH             108840570084                Gas           Gov. Aggregation   COH             156520380057                Gas           Gov. Aggregation
COH             108854080024                Gas           Gov. Aggregation   COH             157060220019                Gas           Gov. Aggregation
COH             185534880012                Gas           Gov. Aggregation   COH             157333150033                Gas           Gov. Aggregation
COH             108819270019                Gas           Gov. Aggregation   COH             157417110042                Gas           Gov. Aggregation
COH             172176820019                Gas           Gov. Aggregation   COH             157752390017                Gas           Gov. Aggregation
COH             143592510017                Gas           Gov. Aggregation   COH             157755630172                Gas           Gov. Aggregation
COH             111515670149                Gas           Gov. Aggregation   COH             157838940082                Gas           Gov. Aggregation
COH             116876630022                Gas           Gov. Aggregation   COH             158076210035                Gas           Gov. Aggregation
COH             116933200075                Gas           Gov. Aggregation   COH             158721730019                Gas           Gov. Aggregation
COH             116946550039                Gas           Gov. Aggregation   COH             159021840037                Gas           Gov. Aggregation
COH             116952740045                Gas           Gov. Aggregation   COH             159026640057                Gas           Gov. Aggregation
COH             117004290020                Gas           Gov. Aggregation   COH             159411260041                Gas           Gov. Aggregation
COH             117061480020                Gas           Gov. Aggregation   COH             159463310014                Gas           Gov. Aggregation
COH             117066030015                Gas           Gov. Aggregation   COH             159514520039                Gas           Gov. Aggregation
COH             117107650017                Gas           Gov. Aggregation   COH             161033480034                Gas           Gov. Aggregation
COH             117107790018                Gas           Gov. Aggregation   COH             161108730130                Gas           Gov. Aggregation
COH             117107850015                Gas           Gov. Aggregation   COH             162043040025                Gas           Gov. Aggregation
COH             117108040022                Gas           Gov. Aggregation   COH             162185780020                Gas           Gov. Aggregation
COH             117113910037                Gas           Gov. Aggregation   COH             162700410023                Gas           Gov. Aggregation
COH             117115940037                Gas           Gov. Aggregation   COH             162903160044                Gas           Gov. Aggregation
COH             117117910020                Gas           Gov. Aggregation   COH             162949840027                Gas           Gov. Aggregation
COH             117124580025                Gas           Gov. Aggregation   COH             163276860010                Gas           Gov. Aggregation
COH             117126990025                Gas           Gov. Aggregation   COH             163326580012                Gas           Gov. Aggregation
COH             117155760068                Gas           Gov. Aggregation   COH             163904340034                Gas           Gov. Aggregation
COH             117161920025                Gas           Gov. Aggregation   COH             164393430011                Gas           Gov. Aggregation
COH             117187280026                Gas           Gov. Aggregation   COH             165708730018                Gas           Gov. Aggregation
COH             117214840010                Gas           Gov. Aggregation   COH             165816080025                Gas           Gov. Aggregation
COH             117214980011                Gas           Gov. Aggregation   COH             165889210033                Gas           Gov. Aggregation
COH             117214990019                Gas           Gov. Aggregation   COH             165915570013                Gas           Gov. Aggregation
COH             117216010010                Gas           Gov. Aggregation   COH             166413860015                Gas           Gov. Aggregation
COH             117216020027                Gas           Gov. Aggregation   COH             167752920031                Gas           Gov. Aggregation
COH             117216040014                Gas           Gov. Aggregation   COH             167800910058                Gas           Gov. Aggregation
COH             117216060010                Gas           Gov. Aggregation   COH             169048670062                Gas           Gov. Aggregation
COH             117216290012                Gas           Gov. Aggregation   COH             169149960012                Gas           Gov. Aggregation
COH             117217160017                Gas           Gov. Aggregation   COH             169184320021                Gas           Gov. Aggregation
COH             117221160018                Gas           Gov. Aggregation   COH             169325660039                Gas           Gov. Aggregation
COH             117240000011                Gas           Gov. Aggregation   COH             169331530033                Gas           Gov. Aggregation
COH             117240400017                Gas           Gov. Aggregation   COH             169501100023                Gas           Gov. Aggregation
COH             117240440019                Gas           Gov. Aggregation   COH             169501100032                Gas           Gov. Aggregation
COH             117256550013                Gas           Gov. Aggregation   COH             169501100041                Gas           Gov. Aggregation
COH             117288190030                Gas           Gov. Aggregation   COH             169510860034                Gas           Gov. Aggregation
COH             117322470028                Gas           Gov. Aggregation   COH             169515640030                Gas           Gov. Aggregation
COH             117591270030                Gas           Gov. Aggregation   COH             170670210011                Gas           Gov. Aggregation
COH             117836940020                Gas           Gov. Aggregation   COH             170680790117                Gas           Gov. Aggregation
COH             119077310039                Gas           Gov. Aggregation   COH             170941050029                Gas           Gov. Aggregation
COH             119707530045                Gas           Gov. Aggregation   COH             170980970033                Gas           Gov. Aggregation
COH             119904740034                Gas           Gov. Aggregation   COH             171070130046                Gas           Gov. Aggregation
COH             120118490031                Gas           Gov. Aggregation   COH             172768030029                Gas           Gov. Aggregation
COH             126939260015                Gas           Gov. Aggregation   COH             172854830019                Gas           Gov. Aggregation
COH             127029490015                Gas           Gov. Aggregation   COH             172862680023                Gas           Gov. Aggregation
COH             127305190012                Gas           Gov. Aggregation   COH             172871340052                Gas           Gov. Aggregation
COH             127331370019                Gas           Gov. Aggregation   COH             172913640031                Gas           Gov. Aggregation
COH             129027910027                Gas           Gov. Aggregation   COH             173131470034                Gas           Gov. Aggregation
COH             129403140012                Gas           Gov. Aggregation   COH             173849820020                Gas           Gov. Aggregation
COH             129747020019                Gas           Gov. Aggregation   COH             173915680010                Gas           Gov. Aggregation
COH             129751950015                Gas           Gov. Aggregation   COH             173975130028                Gas           Gov. Aggregation
COH             130094710043                Gas           Gov. Aggregation   COH             174258730030                Gas           Gov. Aggregation
COH             131273750017                Gas           Gov. Aggregation   COH             174507580033                Gas           Gov. Aggregation
COH             131471170019                Gas           Gov. Aggregation   COH             174934160018                Gas           Gov. Aggregation
COH             131622730029                Gas           Gov. Aggregation   COH             175129820033                Gas           Gov. Aggregation
COH             132694290011                Gas           Gov. Aggregation   COH             175402070040                Gas           Gov. Aggregation
COH             132874680026                Gas           Gov. Aggregation   COH             175402070059                Gas           Gov. Aggregation
COH             133282060020                Gas           Gov. Aggregation   COH             175581810019                Gas           Gov. Aggregation
COH             133427620015                Gas           Gov. Aggregation   COH             175605450013                Gas           Gov. Aggregation
COH             133628920034                Gas           Gov. Aggregation   COH             175609700021                Gas           Gov. Aggregation
COH             134710470051                Gas           Gov. Aggregation   COH             175783030015                Gas           Gov. Aggregation
COH             134732110041                Gas           Gov. Aggregation   COH             176154720012                Gas           Gov. Aggregation
COH             134773110027                Gas           Gov. Aggregation   COH             176178360018                Gas           Gov. Aggregation
COH             135162180036                Gas           Gov. Aggregation   COH             176204540013                Gas           Gov. Aggregation
COH             135249700050                Gas           Gov. Aggregation   COH             176582200032                Gas           Gov. Aggregation
COH             136214940034                Gas           Gov. Aggregation   COH             176978200015                Gas           Gov. Aggregation
COH             136293830077                Gas           Gov. Aggregation   COH             177204220019                Gas           Gov. Aggregation
COH             136660270021                Gas           Gov. Aggregation   COH             177235610012                Gas           Gov. Aggregation
COH             137721230019                Gas           Gov. Aggregation   COH             177354180011                Gas           Gov. Aggregation
COH             137829610011                Gas           Gov. Aggregation   COH             177481330010                Gas           Gov. Aggregation
COH             138921070045                Gas           Gov. Aggregation   COH             177709840019                Gas           Gov. Aggregation
COH             139076360135                Gas           Gov. Aggregation   COH             177813090016                Gas           Gov. Aggregation
COH             139123980027                Gas           Gov. Aggregation   COH             185202070015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             140529800049                Gas           Gov. Aggregation   COH             185513000010                Gas           Gov. Aggregation
COH             140751600022                Gas           Gov. Aggregation   COH             185680100016                Gas           Gov. Aggregation
COH             140780320020                Gas           Gov. Aggregation   COH             185694330028                Gas           Gov. Aggregation
COH             140880890029                Gas           Gov. Aggregation   COH             185694360013                Gas           Gov. Aggregation
COH             140919340021                Gas           Gov. Aggregation   COH             185709910014                Gas           Gov. Aggregation
COH             141719330071                Gas           Gov. Aggregation   COH             185732500020                Gas           Gov. Aggregation
COH             141726730027                Gas           Gov. Aggregation   COH             185832700017                Gas           Gov. Aggregation
COH             141746550014                Gas           Gov. Aggregation   COH             185834910019                Gas           Gov. Aggregation
COH             141754890016                Gas           Gov. Aggregation   COH             185840010015                Gas           Gov. Aggregation
COH             143137530035                Gas           Gov. Aggregation   COH             186062710017                Gas           Gov. Aggregation
COH             144058480113                Gas           Gov. Aggregation   COH             186110980018                Gas           Gov. Aggregation
COH             144253560050                Gas           Gov. Aggregation   COH             186271010011                Gas           Gov. Aggregation
COH             144307400058                Gas           Gov. Aggregation   COH             186315400015                Gas           Gov. Aggregation
COH             145223740027                Gas           Gov. Aggregation   COH             186361470014                Gas           Gov. Aggregation
COH             145256750017                Gas           Gov. Aggregation   COH             186458590014                Gas           Gov. Aggregation
COH             146141620034                Gas           Gov. Aggregation   COH             186464690029                Gas           Gov. Aggregation
COH             146145000018                Gas           Gov. Aggregation   COH             186696300010                Gas           Gov. Aggregation
COH             146255130036                Gas           Gov. Aggregation   COH             186766630030                Gas           Gov. Aggregation
COH             146308200038                Gas           Gov. Aggregation   COH             187230890012                Gas           Gov. Aggregation
COH             146603330035                Gas           Gov. Aggregation   COH             187565270013                Gas           Gov. Aggregation
COH             147408000019                Gas           Gov. Aggregation   COH             187795560015                Gas           Gov. Aggregation
COH             147693380035                Gas           Gov. Aggregation   COH             187936400018                Gas           Gov. Aggregation
COH             147888890017                Gas           Gov. Aggregation   COH             188148350019                Gas           Gov. Aggregation
COH             149031120020                Gas           Gov. Aggregation   COH             188195500018                Gas           Gov. Aggregation
COH             149178290025                Gas           Gov. Aggregation   COH             188490610019                Gas           Gov. Aggregation
COH             149230320026                Gas           Gov. Aggregation   COH             188512930014                Gas           Gov. Aggregation
COH             149277060050                Gas           Gov. Aggregation   COH             188570490015                Gas           Gov. Aggregation
COH             149366510038                Gas           Gov. Aggregation   COH             188572780010                Gas           Gov. Aggregation
COH             149400920038                Gas           Gov. Aggregation   COH             188595890019                Gas           Gov. Aggregation
COH             149427410020                Gas           Gov. Aggregation   COH             188730200015                Gas           Gov. Aggregation
COH             150051520012                Gas           Gov. Aggregation   COH             188814780016                Gas           Gov. Aggregation
COH             150237050026                Gas           Gov. Aggregation   COH             188975260015                Gas           Gov. Aggregation
COH             150283810010                Gas           Gov. Aggregation   COH             189008170012                Gas           Gov. Aggregation
COH             150956720012                Gas           Gov. Aggregation   COH             189008180010                Gas           Gov. Aggregation
COH             151054910059                Gas           Gov. Aggregation   COH             189234620018                Gas           Gov. Aggregation
COH             151073290014                Gas           Gov. Aggregation   COH             189410170019                Gas           Gov. Aggregation
COH             152227130019                Gas           Gov. Aggregation   COH             189453250012                Gas           Gov. Aggregation
COH             152347240021                Gas           Gov. Aggregation   COH             189453260010                Gas           Gov. Aggregation
COH             153075290036                Gas           Gov. Aggregation   COH             189583610011                Gas           Gov. Aggregation
COH             153109950043                Gas           Gov. Aggregation   COH             189588190010                Gas           Gov. Aggregation
COH             153139980044                Gas           Gov. Aggregation   COH             189703690019                Gas           Gov. Aggregation
COH             153273840012                Gas           Gov. Aggregation   COH             189766800013                Gas           Gov. Aggregation
COH             154138860022                Gas           Gov. Aggregation   COH             189797180019                Gas           Gov. Aggregation
COH             154437400042                Gas           Gov. Aggregation   COH             189797190017                Gas           Gov. Aggregation
COH             154544950022                Gas           Gov. Aggregation   COH             190081950011                Gas           Gov. Aggregation
COH             155227440011                Gas           Gov. Aggregation   COH             190083350013                Gas           Gov. Aggregation
COH             155292030029                Gas           Gov. Aggregation   COH             130064760037                Gas           Gov. Aggregation
COH             155372940019                Gas           Gov. Aggregation   COH             134011350012                Gas           Gov. Aggregation
COH             155373050014                Gas           Gov. Aggregation   COH             111014270029                Gas           Gov. Aggregation
COH             155385260024                Gas           Gov. Aggregation   COH             177166170030                Gas           Gov. Aggregation
COH             155393030016                Gas           Gov. Aggregation   COH             111222720014                Gas           Gov. Aggregation
COH             156282540040                Gas           Gov. Aggregation   COH             111230660029                Gas           Gov. Aggregation
COH             156324320019                Gas           Gov. Aggregation   COH             111230670018                Gas           Gov. Aggregation
COH             156388710031                Gas           Gov. Aggregation   COH             111230700011                Gas           Gov. Aggregation
COH             156388800014                Gas           Gov. Aggregation   COH             111230700020                Gas           Gov. Aggregation
COH             157574890010                Gas           Gov. Aggregation   COH             111275520015                Gas           Gov. Aggregation
COH             157724500012                Gas           Gov. Aggregation   COH             111275890018                Gas           Gov. Aggregation
COH             157796110013                Gas           Gov. Aggregation   COH             111276350019                Gas           Gov. Aggregation
COH             158199080015                Gas           Gov. Aggregation   COH             143923540018                Gas           Gov. Aggregation
COH             158206710015                Gas           Gov. Aggregation   COH             144721960053                Gas           Gov. Aggregation
COH             158271530034                Gas           Gov. Aggregation   COH             144812080019                Gas           Gov. Aggregation
COH             158427800027                Gas           Gov. Aggregation   COH             144907280016                Gas           Gov. Aggregation
COH             158431330036                Gas           Gov. Aggregation   COH             150018990014                Gas           Gov. Aggregation
COH             158797790063                Gas           Gov. Aggregation   COH             152497230017                Gas           Gov. Aggregation
COH             158843900042                Gas           Gov. Aggregation   COH             152547360013                Gas           Gov. Aggregation
COH             158948830027                Gas           Gov. Aggregation   COH             152873740012                Gas           Gov. Aggregation
COH             158948970019                Gas           Gov. Aggregation   COH             166117260019                Gas           Gov. Aggregation
COH             159619400014                Gas           Gov. Aggregation   COH             167185070015                Gas           Gov. Aggregation
COH             159882500025                Gas           Gov. Aggregation   COH             176196600019                Gas           Gov. Aggregation
COH             160583790062                Gas           Gov. Aggregation   COH             176668860014                Gas           Gov. Aggregation
COH             160651530034                Gas           Gov. Aggregation   COH             187015520015                Gas           Gov. Aggregation
COH             160687570013                Gas           Gov. Aggregation   COH             187016040014                Gas           Gov. Aggregation
COH             161160590023                Gas           Gov. Aggregation   COH             187034270018                Gas           Gov. Aggregation
COH             161323690071                Gas           Gov. Aggregation   COH             187073660014                Gas           Gov. Aggregation
COH             161342360016                Gas           Gov. Aggregation   COH             187613140017                Gas           Gov. Aggregation
COH             161487290015                Gas           Gov. Aggregation   COH             187982430015                Gas           Gov. Aggregation
COH             161885450017                Gas           Gov. Aggregation   COH             188199570016                Gas           Gov. Aggregation
COH             161936440065                Gas           Gov. Aggregation   COH             188799070019                Gas           Gov. Aggregation
COH             161969270035                Gas           Gov. Aggregation   COH             189369840017                Gas           Gov. Aggregation
COH             161975530028                Gas           Gov. Aggregation   COH             189403180012                Gas           Gov. Aggregation
COH             162014880100                Gas           Gov. Aggregation   COH             189439180017                Gas           Gov. Aggregation
COH             162495010015                Gas           Gov. Aggregation   COH             189898400018                Gas           Gov. Aggregation
COH             162519830039                Gas           Gov. Aggregation   COH             190205850018                Gas           Gov. Aggregation
COH             162659420020                Gas           Gov. Aggregation   COH             110505680041                Gas           Gov. Aggregation
COH             162667530011                Gas           Gov. Aggregation   COH             110510010031                Gas           Gov. Aggregation
COH             163265940025                Gas           Gov. Aggregation   COH             110512070035                Gas           Gov. Aggregation
COH             163803280059                Gas           Gov. Aggregation   COH             110512830026                Gas           Gov. Aggregation
COH             163814190019                Gas           Gov. Aggregation   COH             110544850025                Gas           Gov. Aggregation
COH             164319700038                Gas           Gov. Aggregation   COH             111226700010                Gas           Gov. Aggregation
COH             164357980021                Gas           Gov. Aggregation   COH             111226990056                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             164369180033                Gas           Gov. Aggregation   COH             111232960013                Gas           Gov. Aggregation
COH             164414720014                Gas           Gov. Aggregation   COH             111233080016                Gas           Gov. Aggregation
COH             164594720014                Gas           Gov. Aggregation   COH             111233110019                Gas           Gov. Aggregation
COH             165203650024                Gas           Gov. Aggregation   COH             111233130015                Gas           Gov. Aggregation
COH             165446730014                Gas           Gov. Aggregation   COH             111234390019                Gas           Gov. Aggregation
COH             165478240038                Gas           Gov. Aggregation   COH             111235550022                Gas           Gov. Aggregation
COH             165526950045                Gas           Gov. Aggregation   COH             111257040014                Gas           Gov. Aggregation
COH             165851400096                Gas           Gov. Aggregation   COH             111257570013                Gas           Gov. Aggregation
COH             165986110038                Gas           Gov. Aggregation   COH             111257760068                Gas           Gov. Aggregation
COH             166117360018                Gas           Gov. Aggregation   COH             111257890016                Gas           Gov. Aggregation
COH             166129120013                Gas           Gov. Aggregation   COH             111257890025                Gas           Gov. Aggregation
COH             166218140047                Gas           Gov. Aggregation   COH             111257900040                Gas           Gov. Aggregation
COH             166699670020                Gas           Gov. Aggregation   COH             111263150018                Gas           Gov. Aggregation
COH             167488780014                Gas           Gov. Aggregation   COH             111268450015                Gas           Gov. Aggregation
COH             167567960027                Gas           Gov. Aggregation   COH             111268660020                Gas           Gov. Aggregation
COH             168409800023                Gas           Gov. Aggregation   COH             111269110014                Gas           Gov. Aggregation
COH             168992330018                Gas           Gov. Aggregation   COH             111269850019                Gas           Gov. Aggregation
COH             169042220013                Gas           Gov. Aggregation   COH             111270030018                Gas           Gov. Aggregation
COH             169365480033                Gas           Gov. Aggregation   COH             111270160011                Gas           Gov. Aggregation
COH             169415810018                Gas           Gov. Aggregation   COH             111284630013                Gas           Gov. Aggregation
COH             169816380028                Gas           Gov. Aggregation   COH             111284730012                Gas           Gov. Aggregation
COH             170430810013                Gas           Gov. Aggregation   COH             111284780012                Gas           Gov. Aggregation
COH             170484700013                Gas           Gov. Aggregation   COH             111285040015                Gas           Gov. Aggregation
COH             170855750016                Gas           Gov. Aggregation   COH             111285050013                Gas           Gov. Aggregation
COH             171005950014                Gas           Gov. Aggregation   COH             126851840028                Gas           Gov. Aggregation
COH             171353920059                Gas           Gov. Aggregation   COH             126978540014                Gas           Gov. Aggregation
COH             171552430069                Gas           Gov. Aggregation   COH             127126180014                Gas           Gov. Aggregation
COH             171566200077                Gas           Gov. Aggregation   COH             127140510014                Gas           Gov. Aggregation
COH             171690450018                Gas           Gov. Aggregation   COH             127164290011                Gas           Gov. Aggregation
COH             172223780017                Gas           Gov. Aggregation   COH             128980600014                Gas           Gov. Aggregation
COH             172316970010                Gas           Gov. Aggregation   COH             132374860046                Gas           Gov. Aggregation
COH             172458900023                Gas           Gov. Aggregation   COH             133291950042                Gas           Gov. Aggregation
COH             172534570012                Gas           Gov. Aggregation   COH             140743180046                Gas           Gov. Aggregation
COH             172547360019                Gas           Gov. Aggregation   COH             140784540017                Gas           Gov. Aggregation
COH             172569750011                Gas           Gov. Aggregation   COH             140845780017                Gas           Gov. Aggregation
COH             173015410014                Gas           Gov. Aggregation   COH             141130910013                Gas           Gov. Aggregation
COH             173094770013                Gas           Gov. Aggregation   COH             143223690039                Gas           Gov. Aggregation
COH             173619660021                Gas           Gov. Aggregation   COH             143432610014                Gas           Gov. Aggregation
COH             173706310047                Gas           Gov. Aggregation   COH             143554800016                Gas           Gov. Aggregation
COH             174052580010                Gas           Gov. Aggregation   COH             143918260018                Gas           Gov. Aggregation
COH             174405350028                Gas           Gov. Aggregation   COH             144308960013                Gas           Gov. Aggregation
COH             174589030018                Gas           Gov. Aggregation   COH             144558150014                Gas           Gov. Aggregation
COH             174724370019                Gas           Gov. Aggregation   COH             145652290014                Gas           Gov. Aggregation
COH             174765680027                Gas           Gov. Aggregation   COH             145759240027                Gas           Gov. Aggregation
COH             175033310042                Gas           Gov. Aggregation   COH             145816730013                Gas           Gov. Aggregation
COH             175075620012                Gas           Gov. Aggregation   COH             145877290027                Gas           Gov. Aggregation
COH             175585310016                Gas           Gov. Aggregation   COH             145927000020                Gas           Gov. Aggregation
COH             175699250018                Gas           Gov. Aggregation   COH             146039400019                Gas           Gov. Aggregation
COH             176336790021                Gas           Gov. Aggregation   COH             146039560025                Gas           Gov. Aggregation
COH             177259700040                Gas           Gov. Aggregation   COH             146179690031                Gas           Gov. Aggregation
COH             177352220016                Gas           Gov. Aggregation   COH             148683370019                Gas           Gov. Aggregation
COH             177856730011                Gas           Gov. Aggregation   COH             149176480010                Gas           Gov. Aggregation
COH             185566220013                Gas           Gov. Aggregation   COH             149318980013                Gas           Gov. Aggregation
COH             185723570016                Gas           Gov. Aggregation   COH             152037020015                Gas           Gov. Aggregation
COH             186046280012                Gas           Gov. Aggregation   COH             152272750014                Gas           Gov. Aggregation
COH             186056050028                Gas           Gov. Aggregation   COH             152467790255                Gas           Gov. Aggregation
COH             186107350017                Gas           Gov. Aggregation   COH             152844530035                Gas           Gov. Aggregation
COH             186231670017                Gas           Gov. Aggregation   COH             153250920095                Gas           Gov. Aggregation
COH             186237630013                Gas           Gov. Aggregation   COH             154552580023                Gas           Gov. Aggregation
COH             186263080014                Gas           Gov. Aggregation   COH             154565860045                Gas           Gov. Aggregation
COH             186286350019                Gas           Gov. Aggregation   COH             154644560031                Gas           Gov. Aggregation
COH             186738140014                Gas           Gov. Aggregation   COH             154735240017                Gas           Gov. Aggregation
COH             186756790010                Gas           Gov. Aggregation   COH             154867160024                Gas           Gov. Aggregation
COH             186854800019                Gas           Gov. Aggregation   COH             155022600020                Gas           Gov. Aggregation
COH             186878440015                Gas           Gov. Aggregation   COH             155022790012                Gas           Gov. Aggregation
COH             186878470019                Gas           Gov. Aggregation   COH             155170890027                Gas           Gov. Aggregation
COH             187182710012                Gas           Gov. Aggregation   COH             156096470022                Gas           Gov. Aggregation
COH             187192230012                Gas           Gov. Aggregation   COH             156785220023                Gas           Gov. Aggregation
COH             187372880014                Gas           Gov. Aggregation   COH             156916900012                Gas           Gov. Aggregation
COH             187624260019                Gas           Gov. Aggregation   COH             158396240013                Gas           Gov. Aggregation
COH             187674130020                Gas           Gov. Aggregation   COH             158424210027                Gas           Gov. Aggregation
COH             187674170013                Gas           Gov. Aggregation   COH             158674560016                Gas           Gov. Aggregation
COH             187768660020                Gas           Gov. Aggregation   COH             159158410038                Gas           Gov. Aggregation
COH             187800320012                Gas           Gov. Aggregation   COH             159510000018                Gas           Gov. Aggregation
COH             188321630012                Gas           Gov. Aggregation   COH             160833850013                Gas           Gov. Aggregation
COH             188357930014                Gas           Gov. Aggregation   COH             161000420017                Gas           Gov. Aggregation
COH             188471670017                Gas           Gov. Aggregation   COH             161216320020                Gas           Gov. Aggregation
COH             188516210017                Gas           Gov. Aggregation   COH             161348240028                Gas           Gov. Aggregation
COH             188524690038                Gas           Gov. Aggregation   COH             161632410010                Gas           Gov. Aggregation
COH             188529190015                Gas           Gov. Aggregation   COH             161901360056                Gas           Gov. Aggregation
COH             188658970018                Gas           Gov. Aggregation   COH             161961000019                Gas           Gov. Aggregation
COH             188659820017                Gas           Gov. Aggregation   COH             164706890010                Gas           Gov. Aggregation
COH             188689150015                Gas           Gov. Aggregation   COH             165113710022                Gas           Gov. Aggregation
COH             188713110010                Gas           Gov. Aggregation   COH             165175140013                Gas           Gov. Aggregation
COH             188769940019                Gas           Gov. Aggregation   COH             167037640018                Gas           Gov. Aggregation
COH             188936470013                Gas           Gov. Aggregation   COH             167119120013                Gas           Gov. Aggregation
COH             189112010014                Gas           Gov. Aggregation   COH             167185050019                Gas           Gov. Aggregation
COH             189121000017                Gas           Gov. Aggregation   COH             167424220060                Gas           Gov. Aggregation
COH             189297590013                Gas           Gov. Aggregation   COH             167666410013                Gas           Gov. Aggregation
COH             189307160010                Gas           Gov. Aggregation   COH             171130980013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             189307690019                Gas           Gov. Aggregation   COH             171151640010                Gas           Gov. Aggregation
COH             189457990019                Gas           Gov. Aggregation   COH             171512650012                Gas           Gov. Aggregation
COH             189475320039                Gas           Gov. Aggregation   COH             171518390015                Gas           Gov. Aggregation
COH             189523680013                Gas           Gov. Aggregation   COH             171539990015                Gas           Gov. Aggregation
COH             189832590017                Gas           Gov. Aggregation   COH             172901740017                Gas           Gov. Aggregation
COH             189950100019                Gas           Gov. Aggregation   COH             176311710029                Gas           Gov. Aggregation
COH             189989590016                Gas           Gov. Aggregation   COH             177419950011                Gas           Gov. Aggregation
COH             190000370013                Gas           Gov. Aggregation   COH             177428730018                Gas           Gov. Aggregation
COH             190098120010                Gas           Gov. Aggregation   COH             177821380018                Gas           Gov. Aggregation
COH             190146230014                Gas           Gov. Aggregation   COH             185566010017                Gas           Gov. Aggregation
COH             190320010010                Gas           Gov. Aggregation   COH             185686650019                Gas           Gov. Aggregation
COH             190321040012                Gas           Gov. Aggregation   COH             185757740019                Gas           Gov. Aggregation
COH             190325690018                Gas           Gov. Aggregation   COH             186335210013                Gas           Gov. Aggregation
COH             154700940013                Gas           Gov. Aggregation   COH             186391690015                Gas           Gov. Aggregation
COH             168175090020                Gas           Gov. Aggregation   COH             186424140019                Gas           Gov. Aggregation
COH             144937240039                Gas           Gov. Aggregation   COH             186440080018                Gas           Gov. Aggregation
COH             147225400031                Gas           Gov. Aggregation   COH             186662190015                Gas           Gov. Aggregation
COH             190610250015                Gas           Gov. Aggregation   COH             186756660017                Gas           Gov. Aggregation
COH             111326990018                Gas           Gov. Aggregation   COH             187329410013                Gas           Gov. Aggregation
COH             169031530020                Gas           Gov. Aggregation   COH             187397920013                Gas           Gov. Aggregation
COH             114914140034                Gas           Gov. Aggregation   COH             187424690013                Gas           Gov. Aggregation
COH             188877490015                Gas           Gov. Aggregation   COH             188191730018                Gas           Gov. Aggregation
COH             170110330012                Gas           Gov. Aggregation   COH             188281890014                Gas           Gov. Aggregation
COH             110352780018                Gas           Gov. Aggregation   COH             188414270011                Gas           Gov. Aggregation
COH             168783800030                Gas           Gov. Aggregation   COH             188687230012                Gas           Gov. Aggregation
COH             189720740030                Gas           Gov. Aggregation   COH             189335660016                Gas           Gov. Aggregation
COH             190598220019                Gas           Gov. Aggregation   COH             189424720014                Gas           Gov. Aggregation
COH             190530110014                Gas           Gov. Aggregation   COH             189580270019                Gas           Gov. Aggregation
COH             141956980037                Gas           Gov. Aggregation   COH             189830770013                Gas           Gov. Aggregation
COH             189605050020                Gas           Gov. Aggregation   COH             189838880014                Gas           Gov. Aggregation
COH             165479530044                Gas           Gov. Aggregation   COH             189838880032                Gas           Gov. Aggregation
COH             144335700047                Gas           Gov. Aggregation   COH             189838880050                Gas           Gov. Aggregation
COH             188463990026                Gas           Gov. Aggregation   COH             189949880019                Gas           Gov. Aggregation
COH             175174840034                Gas           Gov. Aggregation   COH             109859200018                Gas           Gov. Aggregation
COH             124035320010                Gas           Gov. Aggregation   COH             109859310051                Gas           Gov. Aggregation
COH             190852260011                Gas           Gov. Aggregation   COH             109859410023                Gas           Gov. Aggregation
COH             161781040013                Gas           Gov. Aggregation   COH             109869130012                Gas           Gov. Aggregation
COH             167195850010                Gas           Gov. Aggregation   COH             109869840040                Gas           Gov. Aggregation
COH             117239210010                Gas           Gov. Aggregation   COH             109870920013                Gas           Gov. Aggregation
COH             108847930020                Gas           Gov. Aggregation   COH             109871130017                Gas           Gov. Aggregation
COH             121717050041                Gas           Gov. Aggregation   COH             109882770010                Gas           Gov. Aggregation
COH             127376490038                Gas           Gov. Aggregation   COH             109883110016                Gas           Gov. Aggregation
COH             138491060022                Gas           Gov. Aggregation   COH             109909410106                Gas           Gov. Aggregation
COH             144439940047                Gas           Gov. Aggregation   COH             109913150040                Gas           Gov. Aggregation
COH             147449380023                Gas           Gov. Aggregation   COH             109941140016                Gas           Gov. Aggregation
COH             153963730012                Gas           Gov. Aggregation   COH             117106540021                Gas           Gov. Aggregation
COH             154962070049                Gas           Gov. Aggregation   COH             124476980027                Gas           Gov. Aggregation
COH             157668690031                Gas           Gov. Aggregation   COH             132402880032                Gas           Gov. Aggregation
COH             166756290028                Gas           Gov. Aggregation   COH             132474420019                Gas           Gov. Aggregation
COH             170969460025                Gas           Gov. Aggregation   COH             132851590023                Gas           Gov. Aggregation
COH             171153780026                Gas           Gov. Aggregation   COH             133079230016                Gas           Gov. Aggregation
COH             175977690016                Gas           Gov. Aggregation   COH             133226680028                Gas           Gov. Aggregation
COH             177698840032                Gas           Gov. Aggregation   COH             133457360026                Gas           Gov. Aggregation
COH             188561180019                Gas           Gov. Aggregation   COH             134522170017                Gas           Gov. Aggregation
COH             189465010044                Gas           Gov. Aggregation   COH             137719520013                Gas           Gov. Aggregation
COH             190139370010                Gas           Gov. Aggregation   COH             138576960014                Gas           Gov. Aggregation
COH             190295040019                Gas           Gov. Aggregation   COH             139544250019                Gas           Gov. Aggregation
COH             190680740015                Gas           Gov. Aggregation   COH             141768960030                Gas           Gov. Aggregation
COH             190707560015                Gas           Gov. Aggregation   COH             144391550014                Gas           Gov. Aggregation
COH             190734030019                Gas           Gov. Aggregation   COH             144814000048                Gas           Gov. Aggregation
COH             190786570017                Gas           Gov. Aggregation   COH             145108760027                Gas           Gov. Aggregation
COH             190841010016                Gas           Gov. Aggregation   COH             147188050026                Gas           Gov. Aggregation
COH             190868920019                Gas           Gov. Aggregation   COH             148074250015                Gas           Gov. Aggregation
COH             190917340016                Gas           Gov. Aggregation   COH             148951450031                Gas           Gov. Aggregation
COH             190950140018                Gas           Gov. Aggregation   COH             149089600073                Gas           Gov. Aggregation
COH             172050320010                Gas           Gov. Aggregation   COH             149630390015                Gas           Gov. Aggregation
COH             123806030017                Gas           Gov. Aggregation   COH             155082880026                Gas           Gov. Aggregation
COH             110746610018                Gas           Gov. Aggregation   COH             155122730021                Gas           Gov. Aggregation
COH             187964790018                Gas           Gov. Aggregation   COH             155486070011                Gas           Gov. Aggregation
COH             190502140017                Gas           Gov. Aggregation   COH             155612100015                Gas           Gov. Aggregation
COH             110745720017                Gas           Gov. Aggregation   COH             156275220015                Gas           Gov. Aggregation
COH             150466670021                Gas           Gov. Aggregation   COH             158841500013                Gas           Gov. Aggregation
COH             189931370013                Gas           Gov. Aggregation   COH             159249000095                Gas           Gov. Aggregation
COH             191044060015                Gas           Gov. Aggregation   COH             159454410012                Gas           Gov. Aggregation
COH             154562720022                Gas           Gov. Aggregation   COH             160391450024                Gas           Gov. Aggregation
COH             110745630016                Gas           Gov. Aggregation   COH             168199180012                Gas           Gov. Aggregation
COH             176032850013                Gas           Gov. Aggregation   COH             168442240021                Gas           Gov. Aggregation
COH             185386240011                Gas           Gov. Aggregation   COH             169983500010                Gas           Gov. Aggregation
COH             113450930033                Gas           Gov. Aggregation   COH             171859760015                Gas           Gov. Aggregation
COH             113794780046                Gas           Gov. Aggregation   COH             171859760024                Gas           Gov. Aggregation
COH             118009860029                Gas           Gov. Aggregation   COH             172087830016                Gas           Gov. Aggregation
COH             122295800164                Gas           Gov. Aggregation   COH             186118640013                Gas           Gov. Aggregation
COH             122304290027                Gas           Gov. Aggregation   COH             186331240015                Gas           Gov. Aggregation
COH             122576540065                Gas           Gov. Aggregation   COH             186531460015                Gas           Gov. Aggregation
COH             122601000027                Gas           Gov. Aggregation   COH             189263570018                Gas           Gov. Aggregation
COH             122618900023                Gas           Gov. Aggregation   COH             189280610013                Gas           Gov. Aggregation
COH             122625700039                Gas           Gov. Aggregation   COH             189858930011                Gas           Gov. Aggregation
COH             122630950027                Gas           Gov. Aggregation   COH             124329400010                Gas           Gov. Aggregation
COH             122651170036                Gas           Gov. Aggregation   COH             115415510015                Gas           Gov. Aggregation
COH             122669070030                Gas           Gov. Aggregation   COH             173880900045                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             122673600011                Gas           Gov. Aggregation   COH             190289460014                Gas           Gov. Aggregation
COH             122673850019                Gas           Gov. Aggregation   COH             159043170014                Gas           Gov. Aggregation
COH             122674020011                Gas           Gov. Aggregation   COH             157929340012                Gas           Gov. Aggregation
COH             122674220019                Gas           Gov. Aggregation   COH             154633290013                Gas           Gov. Aggregation
COH             122674310029                Gas           Gov. Aggregation   COH             135805710067                Gas           Gov. Aggregation
COH             122675140014                Gas           Gov. Aggregation   COH             124427340015                Gas           Gov. Aggregation
COH             122675250011                Gas           Gov. Aggregation   COH             144902930028                Gas           Gov. Aggregation
COH             122675530012                Gas           Gov. Aggregation   COH             172468910011                Gas           Gov. Aggregation
COH             122675680020                Gas           Gov. Aggregation   COH             186718890019                Gas           Gov. Aggregation
COH             122675690019                Gas           Gov. Aggregation   COH             168463890030                Gas           Gov. Aggregation
COH             122697140036                Gas           Gov. Aggregation   COH             190301020018                Gas           Gov. Aggregation
COH             122699990016                Gas           Gov. Aggregation   COH             170348240036                Gas           Gov. Aggregation
COH             122700010016                Gas           Gov. Aggregation   COH             115752880014                Gas           Gov. Aggregation
COH             122700010025                Gas           Gov. Aggregation   COH             132531430051                Gas           Gov. Aggregation
COH             122700060016                Gas           Gov. Aggregation   COH             123660820020                Gas           Gov. Aggregation
COH             122700070014                Gas           Gov. Aggregation   COH             167291520015                Gas           Gov. Aggregation
COH             122733960018                Gas           Gov. Aggregation   COH             123680670020                Gas           Gov. Aggregation
COH             122734400013                Gas           Gov. Aggregation   COH             137931180015                Gas           Gov. Aggregation
COH             122734440015                Gas           Gov. Aggregation   COH             111163360052                Gas           Gov. Aggregation
COH             122736250066                Gas           Gov. Aggregation   COH             123680850013                Gas           Gov. Aggregation
COH             122749380017                Gas           Gov. Aggregation   COH             115581450026                Gas           Gov. Aggregation
COH             122788100022                Gas           Gov. Aggregation   COH             131757370011                Gas           Gov. Aggregation
COH             122875850020                Gas           Gov. Aggregation   COH             190525650012                Gas           Gov. Aggregation
COH             122890840020                Gas           Gov. Aggregation   COH             115810150013                Gas           Gov. Aggregation
COH             122895500012                Gas           Gov. Aggregation   COH             154430980054                Gas           Gov. Aggregation
COH             122895510029                Gas           Gov. Aggregation   COH             190490240013                Gas           Gov. Aggregation
COH             122895690013                Gas           Gov. Aggregation   COH             190225520051                Gas           Gov. Aggregation
COH             122895730014                Gas           Gov. Aggregation   COH             188163350026                Gas           Gov. Aggregation
COH             122915960021                Gas           Gov. Aggregation   COH             132902650058                Gas           Gov. Aggregation
COH             122939820020                Gas           Gov. Aggregation   COH             111123220019                Gas           Gov. Aggregation
COH             122969470030                Gas           Gov. Aggregation   COH             190378490019                Gas           Gov. Aggregation
COH             122976320027                Gas           Gov. Aggregation   COH             187843980023                Gas           Gov. Aggregation
COH             122995810024                Gas           Gov. Aggregation   COH             124533290011                Gas           Gov. Aggregation
COH             123781750029                Gas           Gov. Aggregation   COH             190380600010                Gas           Gov. Aggregation
COH             123790230038                Gas           Gov. Aggregation   COH             110725930015                Gas           Gov. Aggregation
COH             123796620025                Gas           Gov. Aggregation   COH             111255200014                Gas           Gov. Aggregation
COH             123800950025                Gas           Gov. Aggregation   COH             161821580014                Gas           Gov. Aggregation
COH             124624200025                Gas           Gov. Aggregation   COH             137131390017                Gas           Gov. Aggregation
COH             124625310020                Gas           Gov. Aggregation   COH             190225520033                Gas           Gov. Aggregation
COH             124632070035                Gas           Gov. Aggregation   COH             111281290057                Gas           Gov. Aggregation
COH             124632090022                Gas           Gov. Aggregation   COH             149714520019                Gas           Gov. Aggregation
COH             124632260026                Gas           Gov. Aggregation   COH             132392910029                Gas           Gov. Aggregation
COH             124632300018                Gas           Gov. Aggregation   COH             111261970029                Gas           Gov. Aggregation
COH             124632440019                Gas           Gov. Aggregation   COH             165193060012                Gas           Gov. Aggregation
COH             124639100034                Gas           Gov. Aggregation   COH             111290560088                Gas           Gov. Aggregation
COH             124639610037                Gas           Gov. Aggregation   COH             144914230011                Gas           Gov. Aggregation
COH             124640000032                Gas           Gov. Aggregation   COH             188129810012                Gas           Gov. Aggregation
COH             124640230025                Gas           Gov. Aggregation   COH             136664780026                Gas           Gov. Aggregation
COH             124640930028                Gas           Gov. Aggregation   COH             152357270042                Gas           Gov. Aggregation
COH             124641580020                Gas           Gov. Aggregation   COH             139056090018                Gas           Gov. Aggregation
COH             124641630029                Gas           Gov. Aggregation   COH             108832240017                Gas           Gov. Aggregation
COH             124647230012                Gas           Gov. Aggregation   COH             108818540014                Gas           Gov. Aggregation
COH             124648290018                Gas           Gov. Aggregation   COH             162664200016                Gas           Gov. Aggregation
COH             124648430018                Gas           Gov. Aggregation   COH             162383960013                Gas           Gov. Aggregation
COH             124648500013                Gas           Gov. Aggregation   COH             108784900084                Gas           Gov. Aggregation
COH             125270350033                Gas           Gov. Aggregation   COH             108840560022                Gas           Gov. Aggregation
COH             125324120027                Gas           Gov. Aggregation   COH             135604360030                Gas           Gov. Aggregation
COH             125416100053                Gas           Gov. Aggregation   COH             141023290020                Gas           Gov. Aggregation
COH             125495280023                Gas           Gov. Aggregation   COH             143081670035                Gas           Gov. Aggregation
COH             125558290027                Gas           Gov. Aggregation   COH             137697830025                Gas           Gov. Aggregation
COH             125712210016                Gas           Gov. Aggregation   COH             186891340018                Gas           Gov. Aggregation
COH             125712350026                Gas           Gov. Aggregation   COH             117013250038                Gas           Gov. Aggregation
COH             125715030018                Gas           Gov. Aggregation   COH             117041120018                Gas           Gov. Aggregation
COH             125715750017                Gas           Gov. Aggregation   COH             117041140014                Gas           Gov. Aggregation
COH             125716880018                Gas           Gov. Aggregation   COH             117041840017                Gas           Gov. Aggregation
COH             125716890016                Gas           Gov. Aggregation   COH             117112920019                Gas           Gov. Aggregation
COH             125723900018                Gas           Gov. Aggregation   COH             117113290010                Gas           Gov. Aggregation
COH             125724140016                Gas           Gov. Aggregation   COH             117113350017                Gas           Gov. Aggregation
COH             125724200013                Gas           Gov. Aggregation   COH             117164870020                Gas           Gov. Aggregation
COH             125724520016                Gas           Gov. Aggregation   COH             117171690023                Gas           Gov. Aggregation
COH             125724960023                Gas           Gov. Aggregation   COH             117171940020                Gas           Gov. Aggregation
COH             125726020026                Gas           Gov. Aggregation   COH             117175360024                Gas           Gov. Aggregation
COH             125733770015                Gas           Gov. Aggregation   COH             117181230055                Gas           Gov. Aggregation
COH             125734230016                Gas           Gov. Aggregation   COH             117215480014                Gas           Gov. Aggregation
COH             125734290014                Gas           Gov. Aggregation   COH             117215530013                Gas           Gov. Aggregation
COH             125734490012                Gas           Gov. Aggregation   COH             117215630021                Gas           Gov. Aggregation
COH             125734790019                Gas           Gov. Aggregation   COH             117323840028                Gas           Gov. Aggregation
COH             125745430011                Gas           Gov. Aggregation   COH             117331070023                Gas           Gov. Aggregation
COH             125745460015                Gas           Gov. Aggregation   COH             117387590027                Gas           Gov. Aggregation
COH             125745700014                Gas           Gov. Aggregation   COH             117430380028                Gas           Gov. Aggregation
COH             125745830017                Gas           Gov. Aggregation   COH             117941880039                Gas           Gov. Aggregation
COH             125746880015                Gas           Gov. Aggregation   COH             118265540060                Gas           Gov. Aggregation
COH             125747090019                Gas           Gov. Aggregation   COH             118335910027                Gas           Gov. Aggregation
COH             125747150016                Gas           Gov. Aggregation   COH             118374690022                Gas           Gov. Aggregation
COH             125748880020                Gas           Gov. Aggregation   COH             118778010028                Gas           Gov. Aggregation
COH             125748890019                Gas           Gov. Aggregation   COH             120281740033                Gas           Gov. Aggregation
COH             125749130016                Gas           Gov. Aggregation   COH             121884160036                Gas           Gov. Aggregation
COH             125749250011                Gas           Gov. Aggregation   COH             123615430018                Gas           Gov. Aggregation
COH             125749600017                Gas           Gov. Aggregation   COH             126706820038                Gas           Gov. Aggregation
COH             125749770058                Gas           Gov. Aggregation   COH             127352820010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             125750730017                Gas           Gov. Aggregation   COH             127374350068                Gas           Gov. Aggregation
COH             125750840014                Gas           Gov. Aggregation   COH             127473070021                Gas           Gov. Aggregation
COH             125750960019                Gas           Gov. Aggregation   COH             127509770045                Gas           Gov. Aggregation
COH             125751100017                Gas           Gov. Aggregation   COH             130452070075                Gas           Gov. Aggregation
COH             125751250016                Gas           Gov. Aggregation   COH             130663340026                Gas           Gov. Aggregation
COH             125759620030                Gas           Gov. Aggregation   COH             130892030017                Gas           Gov. Aggregation
COH             125763340021                Gas           Gov. Aggregation   COH             130929880047                Gas           Gov. Aggregation
COH             125764430039                Gas           Gov. Aggregation   COH             131064030057                Gas           Gov. Aggregation
COH             125766200033                Gas           Gov. Aggregation   COH             131923050015                Gas           Gov. Aggregation
COH             125771390015                Gas           Gov. Aggregation   COH             132619470011                Gas           Gov. Aggregation
COH             125771400012                Gas           Gov. Aggregation   COH             133715790135                Gas           Gov. Aggregation
COH             125771610027                Gas           Gov. Aggregation   COH             133931370091                Gas           Gov. Aggregation
COH             125771660018                Gas           Gov. Aggregation   COH             134061340028                Gas           Gov. Aggregation
COH             125776810025                Gas           Gov. Aggregation   COH             134379800019                Gas           Gov. Aggregation
COH             125778190013                Gas           Gov. Aggregation   COH             134421510028                Gas           Gov. Aggregation
COH             125778240067                Gas           Gov. Aggregation   COH             135250890012                Gas           Gov. Aggregation
COH             125779600014                Gas           Gov. Aggregation   COH             135252630085                Gas           Gov. Aggregation
COH             125779810010                Gas           Gov. Aggregation   COH             135751190035                Gas           Gov. Aggregation
COH             125780200024                Gas           Gov. Aggregation   COH             135853910037                Gas           Gov. Aggregation
COH             125780250015                Gas           Gov. Aggregation   COH             136064720039                Gas           Gov. Aggregation
COH             125781050015                Gas           Gov. Aggregation   COH             136749760011                Gas           Gov. Aggregation
COH             125781180027                Gas           Gov. Aggregation   COH             137032580026                Gas           Gov. Aggregation
COH             125781630022                Gas           Gov. Aggregation   COH             137073140013                Gas           Gov. Aggregation
COH             125781710025                Gas           Gov. Aggregation   COH             137115620021                Gas           Gov. Aggregation
COH             125782720030                Gas           Gov. Aggregation   COH             137243710012                Gas           Gov. Aggregation
COH             125783180014                Gas           Gov. Aggregation   COH             137270300011                Gas           Gov. Aggregation
COH             125783230013                Gas           Gov. Aggregation   COH             138229690052                Gas           Gov. Aggregation
COH             125783240039                Gas           Gov. Aggregation   COH             138604950015                Gas           Gov. Aggregation
COH             125784310023                Gas           Gov. Aggregation   COH             138747710022                Gas           Gov. Aggregation
COH             125784340018                Gas           Gov. Aggregation   COH             139922370021                Gas           Gov. Aggregation
COH             125784510012                Gas           Gov. Aggregation   COH             140965960042                Gas           Gov. Aggregation
COH             125784580018                Gas           Gov. Aggregation   COH             141389660019                Gas           Gov. Aggregation
COH             125784840013                Gas           Gov. Aggregation   COH             142321140037                Gas           Gov. Aggregation
COH             125786360029                Gas           Gov. Aggregation   COH             142579240031                Gas           Gov. Aggregation
COH             125786450020                Gas           Gov. Aggregation   COH             142643110031                Gas           Gov. Aggregation
COH             125786630013                Gas           Gov. Aggregation   COH             143505180038                Gas           Gov. Aggregation
COH             125786660017                Gas           Gov. Aggregation   COH             143532730071                Gas           Gov. Aggregation
COH             125786880011                Gas           Gov. Aggregation   COH             143623810035                Gas           Gov. Aggregation
COH             125787810013                Gas           Gov. Aggregation   COH             143696570015                Gas           Gov. Aggregation
COH             125788170016                Gas           Gov. Aggregation   COH             143728070048                Gas           Gov. Aggregation
COH             125788180014                Gas           Gov. Aggregation   COH             144536440037                Gas           Gov. Aggregation
COH             125788310016                Gas           Gov. Aggregation   COH             144826890038                Gas           Gov. Aggregation
COH             125788410024                Gas           Gov. Aggregation   COH             144927350019                Gas           Gov. Aggregation
COH             125791430023                Gas           Gov. Aggregation   COH             145649680046                Gas           Gov. Aggregation
COH             125791810023                Gas           Gov. Aggregation   COH             145660000035                Gas           Gov. Aggregation
COH             125791980019                Gas           Gov. Aggregation   COH             145668240066                Gas           Gov. Aggregation
COH             125792410016                Gas           Gov. Aggregation   COH             145857970035                Gas           Gov. Aggregation
COH             125792660014                Gas           Gov. Aggregation   COH             145960390010                Gas           Gov. Aggregation
COH             125798230012                Gas           Gov. Aggregation   COH             146768210032                Gas           Gov. Aggregation
COH             125798320013                Gas           Gov. Aggregation   COH             147006040102                Gas           Gov. Aggregation
COH             125798350017                Gas           Gov. Aggregation   COH             147097820045                Gas           Gov. Aggregation
COH             125798580019                Gas           Gov. Aggregation   COH             147213940024                Gas           Gov. Aggregation
COH             125798680018                Gas           Gov. Aggregation   COH             147252010027                Gas           Gov. Aggregation
COH             125801540063                Gas           Gov. Aggregation   COH             148529750060                Gas           Gov. Aggregation
COH             125802290019                Gas           Gov. Aggregation   COH             149026270011                Gas           Gov. Aggregation
COH             125802300016                Gas           Gov. Aggregation   COH             149447630013                Gas           Gov. Aggregation
COH             125802500014                Gas           Gov. Aggregation   COH             149484940010                Gas           Gov. Aggregation
COH             125803830031                Gas           Gov. Aggregation   COH             149666660031                Gas           Gov. Aggregation
COH             125803940029                Gas           Gov. Aggregation   COH             149777370028                Gas           Gov. Aggregation
COH             125804050015                Gas           Gov. Aggregation   COH             149871060014                Gas           Gov. Aggregation
COH             125804260011                Gas           Gov. Aggregation   COH             149918660018                Gas           Gov. Aggregation
COH             125805270017                Gas           Gov. Aggregation   COH             151228600037                Gas           Gov. Aggregation
COH             125805310018                Gas           Gov. Aggregation   COH             151822890046                Gas           Gov. Aggregation
COH             125805560016                Gas           Gov. Aggregation   COH             151899510026                Gas           Gov. Aggregation
COH             125805670013                Gas           Gov. Aggregation   COH             153623640011                Gas           Gov. Aggregation
COH             125808090028                Gas           Gov. Aggregation   COH             153722790010                Gas           Gov. Aggregation
COH             125808280028                Gas           Gov. Aggregation   COH             153794460018                Gas           Gov. Aggregation
COH             125811610021                Gas           Gov. Aggregation   COH             153969640028                Gas           Gov. Aggregation
COH             125812070023                Gas           Gov. Aggregation   COH             154708340022                Gas           Gov. Aggregation
COH             125829700034                Gas           Gov. Aggregation   COH             154768440016                Gas           Gov. Aggregation
COH             125831050027                Gas           Gov. Aggregation   COH             154931340010                Gas           Gov. Aggregation
COH             125833210029                Gas           Gov. Aggregation   COH             155170990044                Gas           Gov. Aggregation
COH             125833230025                Gas           Gov. Aggregation   COH             156997180041                Gas           Gov. Aggregation
COH             125837000025                Gas           Gov. Aggregation   COH             157915090023                Gas           Gov. Aggregation
COH             125837250014                Gas           Gov. Aggregation   COH             157976470025                Gas           Gov. Aggregation
COH             125837350013                Gas           Gov. Aggregation   COH             158040160031                Gas           Gov. Aggregation
COH             125838480014                Gas           Gov. Aggregation   COH             158144810034                Gas           Gov. Aggregation
COH             125838530013                Gas           Gov. Aggregation   COH             158438730029                Gas           Gov. Aggregation
COH             125838640010                Gas           Gov. Aggregation   COH             158460380017                Gas           Gov. Aggregation
COH             125838710015                Gas           Gov. Aggregation   COH             158584820012                Gas           Gov. Aggregation
COH             125839860094                Gas           Gov. Aggregation   COH             158596620019                Gas           Gov. Aggregation
COH             125841230028                Gas           Gov. Aggregation   COH             158597320010                Gas           Gov. Aggregation
COH             125843380014                Gas           Gov. Aggregation   COH             158781050016                Gas           Gov. Aggregation
COH             125846760036                Gas           Gov. Aggregation   COH             159439230012                Gas           Gov. Aggregation
COH             125848170027                Gas           Gov. Aggregation   COH             159467720029                Gas           Gov. Aggregation
COH             125849390029                Gas           Gov. Aggregation   COH             159526190016                Gas           Gov. Aggregation
COH             125850040029                Gas           Gov. Aggregation   COH             160021640072                Gas           Gov. Aggregation
COH             125864550014                Gas           Gov. Aggregation   COH             160074290011                Gas           Gov. Aggregation
COH             125864700012                Gas           Gov. Aggregation   COH             160091110012                Gas           Gov. Aggregation
COH             125864860019                Gas           Gov. Aggregation   COH             160146030012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             125865060015                Gas           Gov. Aggregation   COH             160793570018                Gas           Gov. Aggregation
COH             125865140018                Gas           Gov. Aggregation   COH             160867570020                Gas           Gov. Aggregation
COH             125865230019                Gas           Gov. Aggregation   COH             161142530023                Gas           Gov. Aggregation
COH             125865410011                Gas           Gov. Aggregation   COH             161557490032                Gas           Gov. Aggregation
COH             125866590012                Gas           Gov. Aggregation   COH             161570700057                Gas           Gov. Aggregation
COH             125866720014                Gas           Gov. Aggregation   COH             161734190020                Gas           Gov. Aggregation
COH             125867050013                Gas           Gov. Aggregation   COH             161773270021                Gas           Gov. Aggregation
COH             125867080017                Gas           Gov. Aggregation   COH             161847330012                Gas           Gov. Aggregation
COH             125873030032                Gas           Gov. Aggregation   COH             162183560011                Gas           Gov. Aggregation
COH             125873050010                Gas           Gov. Aggregation   COH             162204160028                Gas           Gov. Aggregation
COH             125873210016                Gas           Gov. Aggregation   COH             162349160013                Gas           Gov. Aggregation
COH             125873230012                Gas           Gov. Aggregation   COH             162409230010                Gas           Gov. Aggregation
COH             125873230021                Gas           Gov. Aggregation   COH             162784870012                Gas           Gov. Aggregation
COH             125873350017                Gas           Gov. Aggregation   COH             162809800012                Gas           Gov. Aggregation
COH             125874420010                Gas           Gov. Aggregation   COH             162812100021                Gas           Gov. Aggregation
COH             125874560020                Gas           Gov. Aggregation   COH             162872020013                Gas           Gov. Aggregation
COH             125874690014                Gas           Gov. Aggregation   COH             162872520018                Gas           Gov. Aggregation
COH             125874750020                Gas           Gov. Aggregation   COH             163175520042                Gas           Gov. Aggregation
COH             125874920024                Gas           Gov. Aggregation   COH             163874620012                Gas           Gov. Aggregation
COH             125874950019                Gas           Gov. Aggregation   COH             163876530035                Gas           Gov. Aggregation
COH             125875070030                Gas           Gov. Aggregation   COH             163893420014                Gas           Gov. Aggregation
COH             125876000023                Gas           Gov. Aggregation   COH             163919550011                Gas           Gov. Aggregation
COH             125876330033                Gas           Gov. Aggregation   COH             164093620053                Gas           Gov. Aggregation
COH             125876450029                Gas           Gov. Aggregation   COH             165655050014                Gas           Gov. Aggregation
COH             125876500019                Gas           Gov. Aggregation   COH             165702470015                Gas           Gov. Aggregation
COH             125877110019                Gas           Gov. Aggregation   COH             165719470029                Gas           Gov. Aggregation
COH             125877170035                Gas           Gov. Aggregation   COH             165785520010                Gas           Gov. Aggregation
COH             125896780028                Gas           Gov. Aggregation   COH             166276700038                Gas           Gov. Aggregation
COH             125898940020                Gas           Gov. Aggregation   COH             166340560031                Gas           Gov. Aggregation
COH             125899750046                Gas           Gov. Aggregation   COH             166468650014                Gas           Gov. Aggregation
COH             125903320036                Gas           Gov. Aggregation   COH             166533620020                Gas           Gov. Aggregation
COH             125903510027                Gas           Gov. Aggregation   COH             167034510020                Gas           Gov. Aggregation
COH             125907530016                Gas           Gov. Aggregation   COH             167110760035                Gas           Gov. Aggregation
COH             125907830022                Gas           Gov. Aggregation   COH             167301690017                Gas           Gov. Aggregation
COH             125916090029                Gas           Gov. Aggregation   COH             167723430017                Gas           Gov. Aggregation
COH             126658570025                Gas           Gov. Aggregation   COH             167768520014                Gas           Gov. Aggregation
COH             126667040036                Gas           Gov. Aggregation   COH             167812090010                Gas           Gov. Aggregation
COH             126956660015                Gas           Gov. Aggregation   COH             167950210012                Gas           Gov. Aggregation
COH             126959140027                Gas           Gov. Aggregation   COH             169666260022                Gas           Gov. Aggregation
COH             127003100010                Gas           Gov. Aggregation   COH             169742890019                Gas           Gov. Aggregation
COH             127116270016                Gas           Gov. Aggregation   COH             169742920012                Gas           Gov. Aggregation
COH             127595990039                Gas           Gov. Aggregation   COH             169799940028                Gas           Gov. Aggregation
COH             128922440029                Gas           Gov. Aggregation   COH             170521720028                Gas           Gov. Aggregation
COH             129057420027                Gas           Gov. Aggregation   COH             170691540018                Gas           Gov. Aggregation
COH             129815830032                Gas           Gov. Aggregation   COH             170776000020                Gas           Gov. Aggregation
COH             130135280028                Gas           Gov. Aggregation   COH             171022780014                Gas           Gov. Aggregation
COH             130193510036                Gas           Gov. Aggregation   COH             171131200014                Gas           Gov. Aggregation
COH             130304940020                Gas           Gov. Aggregation   COH             171196480038                Gas           Gov. Aggregation
COH             130327680054                Gas           Gov. Aggregation   COH             171212020010                Gas           Gov. Aggregation
COH             130392930063                Gas           Gov. Aggregation   COH             171261660013                Gas           Gov. Aggregation
COH             130455360023                Gas           Gov. Aggregation   COH             171262710010                Gas           Gov. Aggregation
COH             131274110019                Gas           Gov. Aggregation   COH             172594980029                Gas           Gov. Aggregation
COH             131416430010                Gas           Gov. Aggregation   COH             172665140024                Gas           Gov. Aggregation
COH             131458540037                Gas           Gov. Aggregation   COH             172818310023                Gas           Gov. Aggregation
COH             131896330033                Gas           Gov. Aggregation   COH             174183540011                Gas           Gov. Aggregation
COH             132314280035                Gas           Gov. Aggregation   COH             174350400015                Gas           Gov. Aggregation
COH             133047990014                Gas           Gov. Aggregation   COH             174797210037                Gas           Gov. Aggregation
COH             133057340019                Gas           Gov. Aggregation   COH             177106950023                Gas           Gov. Aggregation
COH             133065190023                Gas           Gov. Aggregation   COH             177211390028                Gas           Gov. Aggregation
COH             133111370035                Gas           Gov. Aggregation   COH             177509590025                Gas           Gov. Aggregation
COH             133140120036                Gas           Gov. Aggregation   COH             177723550029                Gas           Gov. Aggregation
COH             133458360033                Gas           Gov. Aggregation   COH             185311730024                Gas           Gov. Aggregation
COH             133515320048                Gas           Gov. Aggregation   COH             186184380019                Gas           Gov. Aggregation
COH             133588160021                Gas           Gov. Aggregation   COH             186351030017                Gas           Gov. Aggregation
COH             134207000038                Gas           Gov. Aggregation   COH             186357300018                Gas           Gov. Aggregation
COH             134300770011                Gas           Gov. Aggregation   COH             186517560130                Gas           Gov. Aggregation
COH             134310760012                Gas           Gov. Aggregation   COH             186601530011                Gas           Gov. Aggregation
COH             134313300021                Gas           Gov. Aggregation   COH             186606180015                Gas           Gov. Aggregation
COH             134517990043                Gas           Gov. Aggregation   COH             186824820018                Gas           Gov. Aggregation
COH             134606770022                Gas           Gov. Aggregation   COH             187674170022                Gas           Gov. Aggregation
COH             134642740013                Gas           Gov. Aggregation   COH             187724510014                Gas           Gov. Aggregation
COH             135109200015                Gas           Gov. Aggregation   COH             188103010014                Gas           Gov. Aggregation
COH             135181480015                Gas           Gov. Aggregation   COH             188134650015                Gas           Gov. Aggregation
COH             135181580014                Gas           Gov. Aggregation   COH             188138010011                Gas           Gov. Aggregation
COH             135221810037                Gas           Gov. Aggregation   COH             189206740012                Gas           Gov. Aggregation
COH             135231760037                Gas           Gov. Aggregation   COH             189219890014                Gas           Gov. Aggregation
COH             135280020020                Gas           Gov. Aggregation   COH             189236600018                Gas           Gov. Aggregation
COH             135297350053                Gas           Gov. Aggregation   COH             189437650012                Gas           Gov. Aggregation
COH             135315360024                Gas           Gov. Aggregation   COH             189548180016                Gas           Gov. Aggregation
COH             135749170034                Gas           Gov. Aggregation   COH             189578630018                Gas           Gov. Aggregation
COH             135826120030                Gas           Gov. Aggregation   COH             189628500018                Gas           Gov. Aggregation
COH             135859060016                Gas           Gov. Aggregation   COH             189923300014                Gas           Gov. Aggregation
COH             135985420022                Gas           Gov. Aggregation   COH             190000400016                Gas           Gov. Aggregation
COH             136016520014                Gas           Gov. Aggregation   COH             165418910015                Gas           Gov. Aggregation
COH             136426750017                Gas           Gov. Aggregation   COH             123324940036                Gas           Gov. Aggregation
COH             136453600020                Gas           Gov. Aggregation   COH             138895760029                Gas           Gov. Aggregation
COH             136455280033                Gas           Gov. Aggregation   COH             174954370030                Gas           Gov. Aggregation
COH             136700500026                Gas           Gov. Aggregation   COH             158379100027                Gas           Gov. Aggregation
COH             136745960017                Gas           Gov. Aggregation   COH             190695310014                Gas           Gov. Aggregation
COH             136812530014                Gas           Gov. Aggregation   COH             190566020018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             137374800016                Gas           Gov. Aggregation   COH             155194090034                Gas           Gov. Aggregation
COH             137435280025                Gas           Gov. Aggregation   COH             166205100015                Gas           Gov. Aggregation
COH             137573290049                Gas           Gov. Aggregation   COH             190505560013                Gas           Gov. Aggregation
COH             137626080022                Gas           Gov. Aggregation   COH             188660420027                Gas           Gov. Aggregation
COH             137699040027                Gas           Gov. Aggregation   COH             190559660019                Gas           Gov. Aggregation
COH             138273400059                Gas           Gov. Aggregation   COH             172292900034                Gas           Gov. Aggregation
COH             138408540017                Gas           Gov. Aggregation   COH             190529720019                Gas           Gov. Aggregation
COH             138466320020                Gas           Gov. Aggregation   COH             190617510016                Gas           Gov. Aggregation
COH             138497700016                Gas           Gov. Aggregation   COH             124587170022                Gas           Gov. Aggregation
COH             138600210027                Gas           Gov. Aggregation   COH             190618710012                Gas           Gov. Aggregation
COH             138643390020                Gas           Gov. Aggregation   COH             159492230010                Gas           Gov. Aggregation
COH             138952180029                Gas           Gov. Aggregation   COH             120160050016                Gas           Gov. Aggregation
COH             138970220022                Gas           Gov. Aggregation   COH             134337890019                Gas           Gov. Aggregation
COH             139051760017                Gas           Gov. Aggregation   COH             143537070016                Gas           Gov. Aggregation
COH             139052070029                Gas           Gov. Aggregation   COH             147040680035                Gas           Gov. Aggregation
COH             139053260018                Gas           Gov. Aggregation   COH             168801360042                Gas           Gov. Aggregation
COH             139556430016                Gas           Gov. Aggregation   COH             172949830045                Gas           Gov. Aggregation
COH             139665120029                Gas           Gov. Aggregation   COH             188770860031                Gas           Gov. Aggregation
COH             139671290049                Gas           Gov. Aggregation   COH             190437660017                Gas           Gov. Aggregation
COH             139687700021                Gas           Gov. Aggregation   COH             190696760018                Gas           Gov. Aggregation
COH             139733230085                Gas           Gov. Aggregation   COH             190709040010                Gas           Gov. Aggregation
COH             139760050013                Gas           Gov. Aggregation   COH             190733340016                Gas           Gov. Aggregation
COH             140268710015                Gas           Gov. Aggregation   COH             190793980016                Gas           Gov. Aggregation
COH             140276160023                Gas           Gov. Aggregation   COH             190842710017                Gas           Gov. Aggregation
COH             140346170013                Gas           Gov. Aggregation   COH             190861110013                Gas           Gov. Aggregation
COH             140928870021                Gas           Gov. Aggregation   COH             190870910016                Gas           Gov. Aggregation
COH             141125060013                Gas           Gov. Aggregation   COH             110747080027                Gas           Gov. Aggregation
COH             141137530073                Gas           Gov. Aggregation   COH             129856650132                Gas           Gov. Aggregation
COH             141187290015                Gas           Gov. Aggregation   COH             176343280014                Gas           Gov. Aggregation
COH             141206110074                Gas           Gov. Aggregation   COH             177832600027                Gas           Gov. Aggregation
COH             141267750018                Gas           Gov. Aggregation   COH             117171540024                Gas           Gov. Aggregation
COH             141549870015                Gas           Gov. Aggregation   COH             125780540014                Gas           Gov. Aggregation
COH             141651610012                Gas           Gov. Aggregation   COH             125748190016                Gas           Gov. Aggregation
COH             141698920046                Gas           Gov. Aggregation   COH             119379150024                Gas           Gov. Aggregation
COH             141736590026                Gas           Gov. Aggregation   COH             119480780045                Gas           Gov. Aggregation
COH             141785330072                Gas           Gov. Aggregation   COH             121942730041                Gas           Gov. Aggregation
COH             142402380017                Gas           Gov. Aggregation   COH             122070370027                Gas           Gov. Aggregation
COH             142417800035                Gas           Gov. Aggregation   COH             122076190023                Gas           Gov. Aggregation
COH             142457650024                Gas           Gov. Aggregation   COH             122211410028                Gas           Gov. Aggregation
COH             142595370021                Gas           Gov. Aggregation   COH             122655630031                Gas           Gov. Aggregation
COH             142609780024                Gas           Gov. Aggregation   COH             122663610029                Gas           Gov. Aggregation
COH             142620640029                Gas           Gov. Aggregation   COH             122664680014                Gas           Gov. Aggregation
COH             142748210010                Gas           Gov. Aggregation   COH             122664980020                Gas           Gov. Aggregation
COH             143199960017                Gas           Gov. Aggregation   COH             122666320015                Gas           Gov. Aggregation
COH             143335240018                Gas           Gov. Aggregation   COH             122674440013                Gas           Gov. Aggregation
COH             143363180012                Gas           Gov. Aggregation   COH             122674620015                Gas           Gov. Aggregation
COH             143413860030                Gas           Gov. Aggregation   COH             122674730012                Gas           Gov. Aggregation
COH             143462640015                Gas           Gov. Aggregation   COH             122678620035                Gas           Gov. Aggregation
COH             143714260010                Gas           Gov. Aggregation   COH             122682800038                Gas           Gov. Aggregation
COH             143775930093                Gas           Gov. Aggregation   COH             122685170026                Gas           Gov. Aggregation
COH             143845950018                Gas           Gov. Aggregation   COH             122687230029                Gas           Gov. Aggregation
COH             144231010024                Gas           Gov. Aggregation   COH             122687910035                Gas           Gov. Aggregation
COH             144273960027                Gas           Gov. Aggregation   COH             122700150017                Gas           Gov. Aggregation
COH             144311560029                Gas           Gov. Aggregation   COH             122700220021                Gas           Gov. Aggregation
COH             144406950017                Gas           Gov. Aggregation   COH             122700260014                Gas           Gov. Aggregation
COH             144431340021                Gas           Gov. Aggregation   COH             122700620018                Gas           Gov. Aggregation
COH             144446040014                Gas           Gov. Aggregation   COH             122720350040                Gas           Gov. Aggregation
COH             144935350021                Gas           Gov. Aggregation   COH             122792950025                Gas           Gov. Aggregation
COH             145034690029                Gas           Gov. Aggregation   COH             122834220028                Gas           Gov. Aggregation
COH             145074120015                Gas           Gov. Aggregation   COH             122843050025                Gas           Gov. Aggregation
COH             145090000052                Gas           Gov. Aggregation   COH             122847990208                Gas           Gov. Aggregation
COH             145177530011                Gas           Gov. Aggregation   COH             122874570021                Gas           Gov. Aggregation
COH             145223270017                Gas           Gov. Aggregation   COH             122896400011                Gas           Gov. Aggregation
COH             145244440017                Gas           Gov. Aggregation   COH             122896480015                Gas           Gov. Aggregation
COH             145825950054                Gas           Gov. Aggregation   COH             122896640011                Gas           Gov. Aggregation
COH             145850950015                Gas           Gov. Aggregation   COH             122896730012                Gas           Gov. Aggregation
COH             145861870019                Gas           Gov. Aggregation   COH             122896760016                Gas           Gov. Aggregation
COH             145879830029                Gas           Gov. Aggregation   COH             123121710034                Gas           Gov. Aggregation
COH             145905250015                Gas           Gov. Aggregation   COH             123122280024                Gas           Gov. Aggregation
COH             145989470031                Gas           Gov. Aggregation   COH             123722190049                Gas           Gov. Aggregation
COH             146359720069                Gas           Gov. Aggregation   COH             123777880021                Gas           Gov. Aggregation
COH             146492140014                Gas           Gov. Aggregation   COH             123779150020                Gas           Gov. Aggregation
COH             146503760046                Gas           Gov. Aggregation   COH             124632610013                Gas           Gov. Aggregation
COH             146606750013                Gas           Gov. Aggregation   COH             124632870019                Gas           Gov. Aggregation
COH             146953990036                Gas           Gov. Aggregation   COH             124632890015                Gas           Gov. Aggregation
COH             147002410040                Gas           Gov. Aggregation   COH             124632920018                Gas           Gov. Aggregation
COH             147006570021                Gas           Gov. Aggregation   COH             124632940014                Gas           Gov. Aggregation
COH             147186240020                Gas           Gov. Aggregation   COH             124636770021                Gas           Gov. Aggregation
COH             147203130016                Gas           Gov. Aggregation   COH             124636970010                Gas           Gov. Aggregation
COH             147240700018                Gas           Gov. Aggregation   COH             124637110018                Gas           Gov. Aggregation
COH             147853390015                Gas           Gov. Aggregation   COH             124642700013                Gas           Gov. Aggregation
COH             147915830029                Gas           Gov. Aggregation   COH             124642740024                Gas           Gov. Aggregation
COH             147964880044                Gas           Gov. Aggregation   COH             124642850012                Gas           Gov. Aggregation
COH             148031850126                Gas           Gov. Aggregation   COH             124643220021                Gas           Gov. Aggregation
COH             148463100039                Gas           Gov. Aggregation   COH             124643560011                Gas           Gov. Aggregation
COH             148478300018                Gas           Gov. Aggregation   COH             124838650028                Gas           Gov. Aggregation
COH             148638820019                Gas           Gov. Aggregation   COH             124888790024                Gas           Gov. Aggregation
COH             148647600016                Gas           Gov. Aggregation   COH             125086290028                Gas           Gov. Aggregation
COH             148734410011                Gas           Gov. Aggregation   COH             125201190023                Gas           Gov. Aggregation
COH             148793510016                Gas           Gov. Aggregation   COH             125225040113                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             148975400013                Gas           Gov. Aggregation   COH             125719410029                Gas           Gov. Aggregation
COH             149158400023                Gas           Gov. Aggregation   COH             125721860020                Gas           Gov. Aggregation
COH             149450110015                Gas           Gov. Aggregation   COH             125722110034                Gas           Gov. Aggregation
COH             149453570022                Gas           Gov. Aggregation   COH             125722680080                Gas           Gov. Aggregation
COH             149730670014                Gas           Gov. Aggregation   COH             125723000035                Gas           Gov. Aggregation
COH             149748310012                Gas           Gov. Aggregation   COH             125723710027                Gas           Gov. Aggregation
COH             149865350052                Gas           Gov. Aggregation   COH             125723720025                Gas           Gov. Aggregation
COH             149882860022                Gas           Gov. Aggregation   COH             125723830013                Gas           Gov. Aggregation
COH             150197870020                Gas           Gov. Aggregation   COH             125727680026                Gas           Gov. Aggregation
COH             150227050018                Gas           Gov. Aggregation   COH             125727770027                Gas           Gov. Aggregation
COH             150231050019                Gas           Gov. Aggregation   COH             125728170021                Gas           Gov. Aggregation
COH             150253800033                Gas           Gov. Aggregation   COH             125729200022                Gas           Gov. Aggregation
COH             150264080023                Gas           Gov. Aggregation   COH             125730010029                Gas           Gov. Aggregation
COH             150279520010                Gas           Gov. Aggregation   COH             125730200038                Gas           Gov. Aggregation
COH             150282220016                Gas           Gov. Aggregation   COH             125733100015                Gas           Gov. Aggregation
COH             150354810028                Gas           Gov. Aggregation   COH             125733550020                Gas           Gov. Aggregation
COH             150879120030                Gas           Gov. Aggregation   COH             125737510020                Gas           Gov. Aggregation
COH             151217500013                Gas           Gov. Aggregation   COH             125739800034                Gas           Gov. Aggregation
COH             151608160016                Gas           Gov. Aggregation   COH             125741880024                Gas           Gov. Aggregation
COH             151634970075                Gas           Gov. Aggregation   COH             125743020039                Gas           Gov. Aggregation
COH             151660730025                Gas           Gov. Aggregation   COH             125745370014                Gas           Gov. Aggregation
COH             151676470045                Gas           Gov. Aggregation   COH             125746370012                Gas           Gov. Aggregation
COH             151676480025                Gas           Gov. Aggregation   COH             125746400015                Gas           Gov. Aggregation
COH             151685280028                Gas           Gov. Aggregation   COH             125746460013                Gas           Gov. Aggregation
COH             152123850027                Gas           Gov. Aggregation   COH             125746630017                Gas           Gov. Aggregation
COH             152202770017                Gas           Gov. Aggregation   COH             125746720018                Gas           Gov. Aggregation
COH             152232590012                Gas           Gov. Aggregation   COH             125747460011                Gas           Gov. Aggregation
COH             152437790016                Gas           Gov. Aggregation   COH             125747590014                Gas           Gov. Aggregation
COH             152447670010                Gas           Gov. Aggregation   COH             125748130018                Gas           Gov. Aggregation
COH             152451700014                Gas           Gov. Aggregation   COH             125748590012                Gas           Gov. Aggregation
COH             152462630016                Gas           Gov. Aggregation   COH             125749830019                Gas           Gov. Aggregation
COH             152566540015                Gas           Gov. Aggregation   COH             125749950014                Gas           Gov. Aggregation
COH             153360500018                Gas           Gov. Aggregation   COH             125749990016                Gas           Gov. Aggregation
COH             153390870036                Gas           Gov. Aggregation   COH             125753510017                Gas           Gov. Aggregation
COH             153444030055                Gas           Gov. Aggregation   COH             125754470014                Gas           Gov. Aggregation
COH             153511620030                Gas           Gov. Aggregation   COH             125754500017                Gas           Gov. Aggregation
COH             153537150035                Gas           Gov. Aggregation   COH             125770960035                Gas           Gov. Aggregation
COH             154033680013                Gas           Gov. Aggregation   COH             125771160031                Gas           Gov. Aggregation
COH             154164080021                Gas           Gov. Aggregation   COH             125771220010                Gas           Gov. Aggregation
COH             154266840016                Gas           Gov. Aggregation   COH             125771290016                Gas           Gov. Aggregation
COH             154283170011                Gas           Gov. Aggregation   COH             125771360011                Gas           Gov. Aggregation
COH             154570590032                Gas           Gov. Aggregation   COH             125772410018                Gas           Gov. Aggregation
COH             154574470011                Gas           Gov. Aggregation   COH             125772440021                Gas           Gov. Aggregation
COH             154578510023                Gas           Gov. Aggregation   COH             125772620014                Gas           Gov. Aggregation
COH             154987290069                Gas           Gov. Aggregation   COH             125772700017                Gas           Gov. Aggregation
COH             155081560016                Gas           Gov. Aggregation   COH             125774070025                Gas           Gov. Aggregation
COH             155120590016                Gas           Gov. Aggregation   COH             125774130022                Gas           Gov. Aggregation
COH             155633540019                Gas           Gov. Aggregation   COH             125776570017                Gas           Gov. Aggregation
COH             155757210016                Gas           Gov. Aggregation   COH             125778550035                Gas           Gov. Aggregation
COH             155827230022                Gas           Gov. Aggregation   COH             125778770011                Gas           Gov. Aggregation
COH             155906390030                Gas           Gov. Aggregation   COH             125778940042                Gas           Gov. Aggregation
COH             156270570030                Gas           Gov. Aggregation   COH             125779040030                Gas           Gov. Aggregation
COH             156304520019                Gas           Gov. Aggregation   COH             125779070025                Gas           Gov. Aggregation
COH             156313910018                Gas           Gov. Aggregation   COH             125779080014                Gas           Gov. Aggregation
COH             156325610016                Gas           Gov. Aggregation   COH             125779220014                Gas           Gov. Aggregation
COH             156339870022                Gas           Gov. Aggregation   COH             125780500030                Gas           Gov. Aggregation
COH             156388970019                Gas           Gov. Aggregation   COH             125780860017                Gas           Gov. Aggregation
COH             156739660028                Gas           Gov. Aggregation   COH             125781040026                Gas           Gov. Aggregation
COH             156841270014                Gas           Gov. Aggregation   COH             125783540018                Gas           Gov. Aggregation
COH             156888080034                Gas           Gov. Aggregation   COH             125784050028                Gas           Gov. Aggregation
COH             156891590012                Gas           Gov. Aggregation   COH             125784260015                Gas           Gov. Aggregation
COH             157192600029                Gas           Gov. Aggregation   COH             125784270013                Gas           Gov. Aggregation
COH             157226510025                Gas           Gov. Aggregation   COH             125785000017                Gas           Gov. Aggregation
COH             157359660032                Gas           Gov. Aggregation   COH             125785030011                Gas           Gov. Aggregation
COH             157386470026                Gas           Gov. Aggregation   COH             125785900018                Gas           Gov. Aggregation
COH             157427730023                Gas           Gov. Aggregation   COH             125785930021                Gas           Gov. Aggregation
COH             157773020010                Gas           Gov. Aggregation   COH             125786180018                Gas           Gov. Aggregation
COH             157866660019                Gas           Gov. Aggregation   COH             125786200022                Gas           Gov. Aggregation
COH             157946870024                Gas           Gov. Aggregation   COH             125786230017                Gas           Gov. Aggregation
COH             158258490013                Gas           Gov. Aggregation   COH             125786930010                Gas           Gov. Aggregation
COH             158352680022                Gas           Gov. Aggregation   COH             125787060020                Gas           Gov. Aggregation
COH             158508730011                Gas           Gov. Aggregation   COH             125787600026                Gas           Gov. Aggregation
COH             158738590014                Gas           Gov. Aggregation   COH             125787790018                Gas           Gov. Aggregation
COH             158744900033                Gas           Gov. Aggregation   COH             125788740025                Gas           Gov. Aggregation
COH             158776720016                Gas           Gov. Aggregation   COH             125788790025                Gas           Gov. Aggregation
COH             158840060018                Gas           Gov. Aggregation   COH             125788810020                Gas           Gov. Aggregation
COH             158865200052                Gas           Gov. Aggregation   COH             125788910010                Gas           Gov. Aggregation
COH             158966420025                Gas           Gov. Aggregation   COH             125789060017                Gas           Gov. Aggregation
COH             159156720028                Gas           Gov. Aggregation   COH             125789230020                Gas           Gov. Aggregation
COH             159179310017                Gas           Gov. Aggregation   COH             125789680017                Gas           Gov. Aggregation
COH             159247740030                Gas           Gov. Aggregation   COH             125793960028                Gas           Gov. Aggregation
COH             159368860011                Gas           Gov. Aggregation   COH             125797450018                Gas           Gov. Aggregation
COH             159711950013                Gas           Gov. Aggregation   COH             125797710013                Gas           Gov. Aggregation
COH             159739470016                Gas           Gov. Aggregation   COH             125798020025                Gas           Gov. Aggregation
COH             159774410014                Gas           Gov. Aggregation   COH             125799660010                Gas           Gov. Aggregation
COH             159826280020                Gas           Gov. Aggregation   COH             125800190023                Gas           Gov. Aggregation
COH             160007630029                Gas           Gov. Aggregation   COH             125800620022                Gas           Gov. Aggregation
COH             160013730025                Gas           Gov. Aggregation   COH             125801040022                Gas           Gov. Aggregation
COH             160119910023                Gas           Gov. Aggregation   COH             125803060015                Gas           Gov. Aggregation
COH             160128890047                Gas           Gov. Aggregation   COH             125803110041                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             160158060011                Gas           Gov. Aggregation   COH             125803410011                Gas           Gov. Aggregation
COH             160170210013                Gas           Gov. Aggregation   COH             125803510010                Gas           Gov. Aggregation
COH             160424580124                Gas           Gov. Aggregation   COH             125803730032                Gas           Gov. Aggregation
COH             160450760023                Gas           Gov. Aggregation   COH             125804360010                Gas           Gov. Aggregation
COH             160563280043                Gas           Gov. Aggregation   COH             125804660017                Gas           Gov. Aggregation
COH             160844240018                Gas           Gov. Aggregation   COH             125804800026                Gas           Gov. Aggregation
COH             160868460012                Gas           Gov. Aggregation   COH             125804970012                Gas           Gov. Aggregation
COH             160880490038                Gas           Gov. Aggregation   COH             125805110010                Gas           Gov. Aggregation
COH             160938030022                Gas           Gov. Aggregation   COH             125805710014                Gas           Gov. Aggregation
COH             160957980014                Gas           Gov. Aggregation   COH             125805750016                Gas           Gov. Aggregation
COH             160988040016                Gas           Gov. Aggregation   COH             125805800051                Gas           Gov. Aggregation
COH             161042800019                Gas           Gov. Aggregation   COH             125805840017                Gas           Gov. Aggregation
COH             161250210012                Gas           Gov. Aggregation   COH             125806360016                Gas           Gov. Aggregation
COH             161269520027                Gas           Gov. Aggregation   COH             125836510011                Gas           Gov. Aggregation
COH             161290050012                Gas           Gov. Aggregation   COH             125836510020                Gas           Gov. Aggregation
COH             161298500011                Gas           Gov. Aggregation   COH             125836570019                Gas           Gov. Aggregation
COH             161305930050                Gas           Gov. Aggregation   COH             125836660029                Gas           Gov. Aggregation
COH             161430880010                Gas           Gov. Aggregation   COH             125836890012                Gas           Gov. Aggregation
COH             161765140016                Gas           Gov. Aggregation   COH             125836930022                Gas           Gov. Aggregation
COH             161782640024                Gas           Gov. Aggregation   COH             125836980013                Gas           Gov. Aggregation
COH             162122420018                Gas           Gov. Aggregation   COH             125837670016                Gas           Gov. Aggregation
COH             162195090015                Gas           Gov. Aggregation   COH             125837840010                Gas           Gov. Aggregation
COH             162204470014                Gas           Gov. Aggregation   COH             125838150013                Gas           Gov. Aggregation
COH             162514710016                Gas           Gov. Aggregation   COH             125838430014                Gas           Gov. Aggregation
COH             162629850014                Gas           Gov. Aggregation   COH             125841540023                Gas           Gov. Aggregation
COH             162874230024                Gas           Gov. Aggregation   COH             125842280035                Gas           Gov. Aggregation
COH             162923890012                Gas           Gov. Aggregation   COH             125842550010                Gas           Gov. Aggregation
COH             162957330018                Gas           Gov. Aggregation   COH             125842640011                Gas           Gov. Aggregation
COH             162958660017                Gas           Gov. Aggregation   COH             125842710034                Gas           Gov. Aggregation
COH             162985860018                Gas           Gov. Aggregation   COH             125842960014                Gas           Gov. Aggregation
COH             162992820011                Gas           Gov. Aggregation   COH             125852250021                Gas           Gov. Aggregation
COH             163208240013                Gas           Gov. Aggregation   COH             125854320022                Gas           Gov. Aggregation
COH             163320850026                Gas           Gov. Aggregation   COH             125856940028                Gas           Gov. Aggregation
COH             163360630019                Gas           Gov. Aggregation   COH             125863400035                Gas           Gov. Aggregation
COH             163377830021                Gas           Gov. Aggregation   COH             125865480035                Gas           Gov. Aggregation
COH             163426050011                Gas           Gov. Aggregation   COH             125865910016                Gas           Gov. Aggregation
COH             163621000017                Gas           Gov. Aggregation   COH             125866060022                Gas           Gov. Aggregation
COH             163686270024                Gas           Gov. Aggregation   COH             125866310010                Gas           Gov. Aggregation
COH             163686880026                Gas           Gov. Aggregation   COH             125866500010                Gas           Gov. Aggregation
COH             163715160015                Gas           Gov. Aggregation   COH             125866570016                Gas           Gov. Aggregation
COH             163721250013                Gas           Gov. Aggregation   COH             125869290037                Gas           Gov. Aggregation
COH             163731610025                Gas           Gov. Aggregation   COH             125869880033                Gas           Gov. Aggregation
COH             163746700025                Gas           Gov. Aggregation   COH             125872060029                Gas           Gov. Aggregation
COH             163941180012                Gas           Gov. Aggregation   COH             125872140022                Gas           Gov. Aggregation
COH             163993080014                Gas           Gov. Aggregation   COH             125872220016                Gas           Gov. Aggregation
COH             164028130017                Gas           Gov. Aggregation   COH             125872740017                Gas           Gov. Aggregation
COH             164029460016                Gas           Gov. Aggregation   COH             125873900011                Gas           Gov. Aggregation
COH             164075660017                Gas           Gov. Aggregation   COH             125873950011                Gas           Gov. Aggregation
COH             164200150017                Gas           Gov. Aggregation   COH             125873990013                Gas           Gov. Aggregation
COH             164467510017                Gas           Gov. Aggregation   COH             125874180011                Gas           Gov. Aggregation
COH             164467520015                Gas           Gov. Aggregation   COH             125874250016                Gas           Gov. Aggregation
COH             164475710018                Gas           Gov. Aggregation   COH             125875200014                Gas           Gov. Aggregation
COH             164515180014                Gas           Gov. Aggregation   COH             125875330017                Gas           Gov. Aggregation
COH             164526230010                Gas           Gov. Aggregation   COH             125875740011                Gas           Gov. Aggregation
COH             164550380018                Gas           Gov. Aggregation   COH             125875750019                Gas           Gov. Aggregation
COH             164595280015                Gas           Gov. Aggregation   COH             125875930048                Gas           Gov. Aggregation
COH             164865070016                Gas           Gov. Aggregation   COH             125908160030                Gas           Gov. Aggregation
COH             164886330017                Gas           Gov. Aggregation   COH             125908320027                Gas           Gov. Aggregation
COH             164888750015                Gas           Gov. Aggregation   COH             125909670022                Gas           Gov. Aggregation
COH             164921760011                Gas           Gov. Aggregation   COH             125911430036                Gas           Gov. Aggregation
COH             165182170021                Gas           Gov. Aggregation   COH             126726830016                Gas           Gov. Aggregation
COH             165200980021                Gas           Gov. Aggregation   COH             126880750017                Gas           Gov. Aggregation
COH             165233060016                Gas           Gov. Aggregation   COH             126885150013                Gas           Gov. Aggregation
COH             165297070010                Gas           Gov. Aggregation   COH             126885530013                Gas           Gov. Aggregation
COH             165481660015                Gas           Gov. Aggregation   COH             126954910016                Gas           Gov. Aggregation
COH             165535290018                Gas           Gov. Aggregation   COH             127223630031                Gas           Gov. Aggregation
COH             165591980015                Gas           Gov. Aggregation   COH             127286110010                Gas           Gov. Aggregation
COH             165944380012                Gas           Gov. Aggregation   COH             127375370026                Gas           Gov. Aggregation
COH             166002160022                Gas           Gov. Aggregation   COH             127433610012                Gas           Gov. Aggregation
COH             166002170011                Gas           Gov. Aggregation   COH             127440080019                Gas           Gov. Aggregation
COH             166002230018                Gas           Gov. Aggregation   COH             127569580012                Gas           Gov. Aggregation
COH             166021450012                Gas           Gov. Aggregation   COH             127584750050                Gas           Gov. Aggregation
COH             166041160011                Gas           Gov. Aggregation   COH             129085920087                Gas           Gov. Aggregation
COH             166041880010                Gas           Gov. Aggregation   COH             129088850013                Gas           Gov. Aggregation
COH             166363850014                Gas           Gov. Aggregation   COH             129231840010                Gas           Gov. Aggregation
COH             166407730024                Gas           Gov. Aggregation   COH             129791670029                Gas           Gov. Aggregation
COH             166439150010                Gas           Gov. Aggregation   COH             130546470018                Gas           Gov. Aggregation
COH             166447290014                Gas           Gov. Aggregation   COH             130643300035                Gas           Gov. Aggregation
COH             166484420018                Gas           Gov. Aggregation   COH             130817710030                Gas           Gov. Aggregation
COH             166765770019                Gas           Gov. Aggregation   COH             130885000018                Gas           Gov. Aggregation
COH             166849520013                Gas           Gov. Aggregation   COH             131199870029                Gas           Gov. Aggregation
COH             166941860016                Gas           Gov. Aggregation   COH             131570540039                Gas           Gov. Aggregation
COH             166973340027                Gas           Gov. Aggregation   COH             131593980039                Gas           Gov. Aggregation
COH             167165520012                Gas           Gov. Aggregation   COH             131761710029                Gas           Gov. Aggregation
COH             167172850018                Gas           Gov. Aggregation   COH             131848730012                Gas           Gov. Aggregation
COH             167226750014                Gas           Gov. Aggregation   COH             133675920026                Gas           Gov. Aggregation
COH             167302260015                Gas           Gov. Aggregation   COH             133724010013                Gas           Gov. Aggregation
COH             167374040010                Gas           Gov. Aggregation   COH             133918910013                Gas           Gov. Aggregation
COH             167376070010                Gas           Gov. Aggregation   COH             133948640017                Gas           Gov. Aggregation
COH             167677380017                Gas           Gov. Aggregation   COH             133953210016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             167677680014                Gas           Gov. Aggregation   COH             134000780211                Gas           Gov. Aggregation
COH             167724110012                Gas           Gov. Aggregation   COH             134073210011                Gas           Gov. Aggregation
COH             167736040012                Gas           Gov. Aggregation   COH             134727970015                Gas           Gov. Aggregation
COH             167948780018                Gas           Gov. Aggregation   COH             134749660023                Gas           Gov. Aggregation
COH             167973360013                Gas           Gov. Aggregation   COH             134766750028                Gas           Gov. Aggregation
COH             168003190013                Gas           Gov. Aggregation   COH             134949530026                Gas           Gov. Aggregation
COH             168021710015                Gas           Gov. Aggregation   COH             135024890011                Gas           Gov. Aggregation
COH             168022560024                Gas           Gov. Aggregation   COH             135444230055                Gas           Gov. Aggregation
COH             168094240011                Gas           Gov. Aggregation   COH             135510270029                Gas           Gov. Aggregation
COH             168133960016                Gas           Gov. Aggregation   COH             135526970010                Gas           Gov. Aggregation
COH             168360780013                Gas           Gov. Aggregation   COH             135649210037                Gas           Gov. Aggregation
COH             168630000013                Gas           Gov. Aggregation   COH             135672730020                Gas           Gov. Aggregation
COH             168934910027                Gas           Gov. Aggregation   COH             135710300019                Gas           Gov. Aggregation
COH             168945650010                Gas           Gov. Aggregation   COH             136041590017                Gas           Gov. Aggregation
COH             168967090012                Gas           Gov. Aggregation   COH             136131000019                Gas           Gov. Aggregation
COH             169042810019                Gas           Gov. Aggregation   COH             136139070019                Gas           Gov. Aggregation
COH             169055990042                Gas           Gov. Aggregation   COH             136184390017                Gas           Gov. Aggregation
COH             169365810015                Gas           Gov. Aggregation   COH             136268460032                Gas           Gov. Aggregation
COH             169401210022                Gas           Gov. Aggregation   COH             137015270018                Gas           Gov. Aggregation
COH             169458700020                Gas           Gov. Aggregation   COH             137154120015                Gas           Gov. Aggregation
COH             169489160010                Gas           Gov. Aggregation   COH             137172120026                Gas           Gov. Aggregation
COH             169497810016                Gas           Gov. Aggregation   COH             137195180044                Gas           Gov. Aggregation
COH             169512970019                Gas           Gov. Aggregation   COH             137198950037                Gas           Gov. Aggregation
COH             169520990018                Gas           Gov. Aggregation   COH             137731610036                Gas           Gov. Aggregation
COH             169937620012                Gas           Gov. Aggregation   COH             137759120013                Gas           Gov. Aggregation
COH             169995460014                Gas           Gov. Aggregation   COH             137773550031                Gas           Gov. Aggregation
COH             170053510034                Gas           Gov. Aggregation   COH             137925390032                Gas           Gov. Aggregation
COH             170270420015                Gas           Gov. Aggregation   COH             137932820027                Gas           Gov. Aggregation
COH             170279700018                Gas           Gov. Aggregation   COH             138056640040                Gas           Gov. Aggregation
COH             170285240012                Gas           Gov. Aggregation   COH             138059350027                Gas           Gov. Aggregation
COH             170286730026                Gas           Gov. Aggregation   COH             138675370018                Gas           Gov. Aggregation
COH             170295300018                Gas           Gov. Aggregation   COH             138737570014                Gas           Gov. Aggregation
COH             170295310016                Gas           Gov. Aggregation   COH             138796860037                Gas           Gov. Aggregation
COH             170492210019                Gas           Gov. Aggregation   COH             138850170072                Gas           Gov. Aggregation
COH             170561820014                Gas           Gov. Aggregation   COH             138884690036                Gas           Gov. Aggregation
COH             170632560027                Gas           Gov. Aggregation   COH             139106640024                Gas           Gov. Aggregation
COH             170814870017                Gas           Gov. Aggregation   COH             139186030051                Gas           Gov. Aggregation
COH             170861220014                Gas           Gov. Aggregation   COH             139412300026                Gas           Gov. Aggregation
COH             170883160011                Gas           Gov. Aggregation   COH             139523400020                Gas           Gov. Aggregation
COH             170952310012                Gas           Gov. Aggregation   COH             139844280026                Gas           Gov. Aggregation
COH             171148030015                Gas           Gov. Aggregation   COH             139996710015                Gas           Gov. Aggregation
COH             171157360035                Gas           Gov. Aggregation   COH             140004870029                Gas           Gov. Aggregation
COH             171157370024                Gas           Gov. Aggregation   COH             140217850013                Gas           Gov. Aggregation
COH             171265910012                Gas           Gov. Aggregation   COH             140226620012                Gas           Gov. Aggregation
COH             171323170023                Gas           Gov. Aggregation   COH             140563530017                Gas           Gov. Aggregation
COH             171356970017                Gas           Gov. Aggregation   COH             140687990019                Gas           Gov. Aggregation
COH             171371590015                Gas           Gov. Aggregation   COH             140763170019                Gas           Gov. Aggregation
COH             171532850027                Gas           Gov. Aggregation   COH             140853700025                Gas           Gov. Aggregation
COH             171555200016                Gas           Gov. Aggregation   COH             140854390029                Gas           Gov. Aggregation
COH             171613790037                Gas           Gov. Aggregation   COH             140860840012                Gas           Gov. Aggregation
COH             171886880022                Gas           Gov. Aggregation   COH             140882700015                Gas           Gov. Aggregation
COH             171953740019                Gas           Gov. Aggregation   COH             141276940019                Gas           Gov. Aggregation
COH             172004460018                Gas           Gov. Aggregation   COH             141283060046                Gas           Gov. Aggregation
COH             172083890012                Gas           Gov. Aggregation   COH             141321080013                Gas           Gov. Aggregation
COH             172133790016                Gas           Gov. Aggregation   COH             142870850062                Gas           Gov. Aggregation
COH             172350690017                Gas           Gov. Aggregation   COH             142995500025                Gas           Gov. Aggregation
COH             172357560010                Gas           Gov. Aggregation   COH             143034680023                Gas           Gov. Aggregation
COH             172365790015                Gas           Gov. Aggregation   COH             143182510034                Gas           Gov. Aggregation
COH             172367460010                Gas           Gov. Aggregation   COH             143469930010                Gas           Gov. Aggregation
COH             172376220020                Gas           Gov. Aggregation   COH             143478410010                Gas           Gov. Aggregation
COH             172376370010                Gas           Gov. Aggregation   COH             143608810019                Gas           Gov. Aggregation
COH             172404520017                Gas           Gov. Aggregation   COH             143632370011                Gas           Gov. Aggregation
COH             172703990015                Gas           Gov. Aggregation   COH             143652080010                Gas           Gov. Aggregation
COH             172732900012                Gas           Gov. Aggregation   COH             143664290020                Gas           Gov. Aggregation
COH             172732920018                Gas           Gov. Aggregation   COH             143874470045                Gas           Gov. Aggregation
COH             172740100013                Gas           Gov. Aggregation   COH             144148410027                Gas           Gov. Aggregation
COH             172867400012                Gas           Gov. Aggregation   COH             144605490012                Gas           Gov. Aggregation
COH             172876710027                Gas           Gov. Aggregation   COH             144688680036                Gas           Gov. Aggregation
COH             172949700015                Gas           Gov. Aggregation   COH             144710140021                Gas           Gov. Aggregation
COH             172958970010                Gas           Gov. Aggregation   COH             144725990013                Gas           Gov. Aggregation
COH             173219690023                Gas           Gov. Aggregation   COH             144736120021                Gas           Gov. Aggregation
COH             173251780017                Gas           Gov. Aggregation   COH             145334580026                Gas           Gov. Aggregation
COH             173270340019                Gas           Gov. Aggregation   COH             145592850014                Gas           Gov. Aggregation
COH             173287340014                Gas           Gov. Aggregation   COH             145617860018                Gas           Gov. Aggregation
COH             173590290012                Gas           Gov. Aggregation   COH             146651370018                Gas           Gov. Aggregation
COH             173600070015                Gas           Gov. Aggregation   COH             146837070017                Gas           Gov. Aggregation
COH             173668840011                Gas           Gov. Aggregation   COH             146878980010                Gas           Gov. Aggregation
COH             174068400014                Gas           Gov. Aggregation   COH             146884610023                Gas           Gov. Aggregation
COH             174091830033                Gas           Gov. Aggregation   COH             146953980010                Gas           Gov. Aggregation
COH             174154510027                Gas           Gov. Aggregation   COH             147249970023                Gas           Gov. Aggregation
COH             174187550011                Gas           Gov. Aggregation   COH             147336180015                Gas           Gov. Aggregation
COH             174427590013                Gas           Gov. Aggregation   COH             147355610014                Gas           Gov. Aggregation
COH             174440070014                Gas           Gov. Aggregation   COH             147607930030                Gas           Gov. Aggregation
COH             174513160010                Gas           Gov. Aggregation   COH             147714750068                Gas           Gov. Aggregation
COH             174573930012                Gas           Gov. Aggregation   COH             148830030026                Gas           Gov. Aggregation
COH             174759080026                Gas           Gov. Aggregation   COH             148843800018                Gas           Gov. Aggregation
COH             174789580019                Gas           Gov. Aggregation   COH             148863610016                Gas           Gov. Aggregation
COH             175101660017                Gas           Gov. Aggregation   COH             148867980011                Gas           Gov. Aggregation
COH             175128310023                Gas           Gov. Aggregation   COH             148908410012                Gas           Gov. Aggregation
COH             175159790019                Gas           Gov. Aggregation   COH             148909510037                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             175339730019                Gas           Gov. Aggregation   COH             148965060034                Gas           Gov. Aggregation
COH             175430400014                Gas           Gov. Aggregation   COH             149910570013                Gas           Gov. Aggregation
COH             175454830014                Gas           Gov. Aggregation   COH             150038680017                Gas           Gov. Aggregation
COH             175638160015                Gas           Gov. Aggregation   COH             150148830021                Gas           Gov. Aggregation
COH             175663970012                Gas           Gov. Aggregation   COH             150197710014                Gas           Gov. Aggregation
COH             175754350019                Gas           Gov. Aggregation   COH             150485870010                Gas           Gov. Aggregation
COH             175765940012                Gas           Gov. Aggregation   COH             150495390038                Gas           Gov. Aggregation
COH             176048240018                Gas           Gov. Aggregation   COH             150528070016                Gas           Gov. Aggregation
COH             176070450017                Gas           Gov. Aggregation   COH             150545620014                Gas           Gov. Aggregation
COH             176132600013                Gas           Gov. Aggregation   COH             150570550016                Gas           Gov. Aggregation
COH             176355340016                Gas           Gov. Aggregation   COH             150675960036                Gas           Gov. Aggregation
COH             176366300011                Gas           Gov. Aggregation   COH             151296930044                Gas           Gov. Aggregation
COH             176388080012                Gas           Gov. Aggregation   COH             151389070020                Gas           Gov. Aggregation
COH             176589130015                Gas           Gov. Aggregation   COH             151447830026                Gas           Gov. Aggregation
COH             176604610029                Gas           Gov. Aggregation   COH             151525800026                Gas           Gov. Aggregation
COH             176641830016                Gas           Gov. Aggregation   COH             151875440012                Gas           Gov. Aggregation
COH             176686060014                Gas           Gov. Aggregation   COH             151920120021                Gas           Gov. Aggregation
COH             176702290010                Gas           Gov. Aggregation   COH             151920130038                Gas           Gov. Aggregation
COH             176703450014                Gas           Gov. Aggregation   COH             151925980030                Gas           Gov. Aggregation
COH             176892030013                Gas           Gov. Aggregation   COH             152257970010                Gas           Gov. Aggregation
COH             176945890010                Gas           Gov. Aggregation   COH             152257970029                Gas           Gov. Aggregation
COH             176963360013                Gas           Gov. Aggregation   COH             152331240024                Gas           Gov. Aggregation
COH             177237920013                Gas           Gov. Aggregation   COH             152333770010                Gas           Gov. Aggregation
COH             177247500010                Gas           Gov. Aggregation   COH             152354590014                Gas           Gov. Aggregation
COH             177266530014                Gas           Gov. Aggregation   COH             152380910020                Gas           Gov. Aggregation
COH             177300230013                Gas           Gov. Aggregation   COH             152743190031                Gas           Gov. Aggregation
COH             177305720010                Gas           Gov. Aggregation   COH             152773160016                Gas           Gov. Aggregation
COH             177476350017                Gas           Gov. Aggregation   COH             152775240015                Gas           Gov. Aggregation
COH             177476360015                Gas           Gov. Aggregation   COH             153092530011                Gas           Gov. Aggregation
COH             177476790015                Gas           Gov. Aggregation   COH             153726070013                Gas           Gov. Aggregation
COH             177479700017                Gas           Gov. Aggregation   COH             153904840022                Gas           Gov. Aggregation
COH             177491800010                Gas           Gov. Aggregation   COH             153957220012                Gas           Gov. Aggregation
COH             177524660019                Gas           Gov. Aggregation   COH             154380310015                Gas           Gov. Aggregation
COH             177746560010                Gas           Gov. Aggregation   COH             154433680015                Gas           Gov. Aggregation
COH             177747110012                Gas           Gov. Aggregation   COH             154435500018                Gas           Gov. Aggregation
COH             177821900018                Gas           Gov. Aggregation   COH             154437010026                Gas           Gov. Aggregation
COH             185282470013                Gas           Gov. Aggregation   COH             154447700011                Gas           Gov. Aggregation
COH             185287680019                Gas           Gov. Aggregation   COH             154464320024                Gas           Gov. Aggregation
COH             185303910014                Gas           Gov. Aggregation   COH             154486430025                Gas           Gov. Aggregation
COH             185333170017                Gas           Gov. Aggregation   COH             154495540032                Gas           Gov. Aggregation
COH             185335120013                Gas           Gov. Aggregation   COH             154625170015                Gas           Gov. Aggregation
COH             185531610014                Gas           Gov. Aggregation   COH             154669090029                Gas           Gov. Aggregation
COH             185607360016                Gas           Gov. Aggregation   COH             154700870027                Gas           Gov. Aggregation
COH             185640320014                Gas           Gov. Aggregation   COH             154702180019                Gas           Gov. Aggregation
COH             185869290017                Gas           Gov. Aggregation   COH             154718460035                Gas           Gov. Aggregation
COH             186062140017                Gas           Gov. Aggregation   COH             154742450036                Gas           Gov. Aggregation
COH             186092200011                Gas           Gov. Aggregation   COH             154787820025                Gas           Gov. Aggregation
COH             186133400011                Gas           Gov. Aggregation   COH             155121540023                Gas           Gov. Aggregation
COH             186139070019                Gas           Gov. Aggregation   COH             155150540022                Gas           Gov. Aggregation
COH             186235750012                Gas           Gov. Aggregation   COH             155161710032                Gas           Gov. Aggregation
COH             186238430013                Gas           Gov. Aggregation   COH             155333710028                Gas           Gov. Aggregation
COH             186336320018                Gas           Gov. Aggregation   COH             155417040030                Gas           Gov. Aggregation
COH             186492840019                Gas           Gov. Aggregation   COH             155555050054                Gas           Gov. Aggregation
COH             186504960017                Gas           Gov. Aggregation   COH             155926670048                Gas           Gov. Aggregation
COH             186528290018                Gas           Gov. Aggregation   COH             156046540022                Gas           Gov. Aggregation
COH             186804450018                Gas           Gov. Aggregation   COH             156078100054                Gas           Gov. Aggregation
COH             187183160016                Gas           Gov. Aggregation   COH             156194810013                Gas           Gov. Aggregation
COH             187238080016                Gas           Gov. Aggregation   COH             156951940010                Gas           Gov. Aggregation
COH             187246000015                Gas           Gov. Aggregation   COH             156963820047                Gas           Gov. Aggregation
COH             187446570012                Gas           Gov. Aggregation   COH             157000490028                Gas           Gov. Aggregation
COH             187463870013                Gas           Gov. Aggregation   COH             157154190017                Gas           Gov. Aggregation
COH             187525910012                Gas           Gov. Aggregation   COH             157536450021                Gas           Gov. Aggregation
COH             187797860018                Gas           Gov. Aggregation   COH             157547200020                Gas           Gov. Aggregation
COH             187817550019                Gas           Gov. Aggregation   COH             157560050024                Gas           Gov. Aggregation
COH             187830730013                Gas           Gov. Aggregation   COH             157560100014                Gas           Gov. Aggregation
COH             187885580010                Gas           Gov. Aggregation   COH             157593090018                Gas           Gov. Aggregation
COH             188273280019                Gas           Gov. Aggregation   COH             157619660012                Gas           Gov. Aggregation
COH             188372740012                Gas           Gov. Aggregation   COH             157665800024                Gas           Gov. Aggregation
COH             188625860010                Gas           Gov. Aggregation   COH             158023280023                Gas           Gov. Aggregation
COH             188641380017                Gas           Gov. Aggregation   COH             158047180015                Gas           Gov. Aggregation
COH             188820830012                Gas           Gov. Aggregation   COH             158206350011                Gas           Gov. Aggregation
COH             189006940014                Gas           Gov. Aggregation   COH             158589110011                Gas           Gov. Aggregation
COH             189022820015                Gas           Gov. Aggregation   COH             158600660029                Gas           Gov. Aggregation
COH             189043930018                Gas           Gov. Aggregation   COH             158717560023                Gas           Gov. Aggregation
COH             189044000011                Gas           Gov. Aggregation   COH             158973800011                Gas           Gov. Aggregation
COH             189052390013                Gas           Gov. Aggregation   COH             158984520026                Gas           Gov. Aggregation
COH             125799840138                Gas           Gov. Aggregation   COH             159104430028                Gas           Gov. Aggregation
COH             122249080047                Gas           Gov. Aggregation   COH             159412190017                Gas           Gov. Aggregation
COH             125915670038                Gas           Gov. Aggregation   COH             159416430027                Gas           Gov. Aggregation
COH             154914800019                Gas           Gov. Aggregation   COH             159452940024                Gas           Gov. Aggregation
COH             150143850018                Gas           Gov. Aggregation   COH             159536990017                Gas           Gov. Aggregation
COH             172164570017                Gas           Gov. Aggregation   COH             159652320011                Gas           Gov. Aggregation
COH             187722750018                Gas           Gov. Aggregation   COH             159657920033                Gas           Gov. Aggregation
COH             125788230059                Gas           Gov. Aggregation   COH             159836600012                Gas           Gov. Aggregation
COH             148728320059                Gas           Gov. Aggregation   COH             159864320012                Gas           Gov. Aggregation
COH             187636520019                Gas           Gov. Aggregation   COH             159866180018                Gas           Gov. Aggregation
COH             171332110035                Gas           Gov. Aggregation   COH             159891380013                Gas           Gov. Aggregation
COH             129027030022                Gas           Gov. Aggregation   COH             159900620020                Gas           Gov. Aggregation
COH             141537780019                Gas           Gov. Aggregation   COH             160201010018                Gas           Gov. Aggregation
COH             159299300015                Gas           Gov. Aggregation   COH             160250620017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             125806860011                Gas           Gov. Aggregation   COH             160315630017                Gas           Gov. Aggregation
COH             134853670039                Gas           Gov. Aggregation   COH             160675050017                Gas           Gov. Aggregation
COH             123070680085                Gas           Gov. Aggregation   COH             160709170019                Gas           Gov. Aggregation
COH             144829020025                Gas           Gov. Aggregation   COH             160709460018                Gas           Gov. Aggregation
COH             122657690035                Gas           Gov. Aggregation   COH             160738010011                Gas           Gov. Aggregation
COH             168488430132                Gas           Gov. Aggregation   COH             160824670047                Gas           Gov. Aggregation
COH             125754990015                Gas           Gov. Aggregation   COH             160825870016                Gas           Gov. Aggregation
COH             156129250018                Gas           Gov. Aggregation   COH             161127940029                Gas           Gov. Aggregation
COH             136266830010                Gas           Gov. Aggregation   COH             161143950014                Gas           Gov. Aggregation
COH             167271730013                Gas           Gov. Aggregation   COH             161149470013                Gas           Gov. Aggregation
COH             172868160011                Gas           Gov. Aggregation   COH             161169540016                Gas           Gov. Aggregation
COH             147874102671                Gas           Gov. Aggregation   COH             161575960017                Gas           Gov. Aggregation
COH             138774180554                Gas           Gov. Aggregation   COH             161689400022                Gas           Gov. Aggregation
COH             138774180581                Gas           Gov. Aggregation   COH             161705040013                Gas           Gov. Aggregation
COH             121943350012                Gas           Gov. Aggregation   COH             161915280018                Gas           Gov. Aggregation
COH             124455380036                Gas           Gov. Aggregation   COH             161927220015                Gas           Gov. Aggregation
COH             127277200029                Gas           Gov. Aggregation   COH             161947310014                Gas           Gov. Aggregation
COH             146213130034                Gas           Gov. Aggregation   COH             161982440013                Gas           Gov. Aggregation
COH             147904630033                Gas           Gov. Aggregation   COH             161989370014                Gas           Gov. Aggregation
COH             148635000017                Gas           Gov. Aggregation   COH             162060430018                Gas           Gov. Aggregation
COH             156820850025                Gas           Gov. Aggregation   COH             162094240017                Gas           Gov. Aggregation
COH             161833610058                Gas           Gov. Aggregation   COH             162100680029                Gas           Gov. Aggregation
COH             174576160018                Gas           Gov. Aggregation   COH             162299080017                Gas           Gov. Aggregation
COH             176135290077                Gas           Gov. Aggregation   COH             162428680016                Gas           Gov. Aggregation
COH             186537450051                Gas           Gov. Aggregation   COH             162487410027                Gas           Gov. Aggregation
COH             190831960036                Gas           Gov. Aggregation   COH             162707100033                Gas           Gov. Aggregation
COH             190863350019                Gas           Gov. Aggregation   COH             162728070018                Gas           Gov. Aggregation
COH             190915030015                Gas           Gov. Aggregation   COH             162762820036                Gas           Gov. Aggregation
COH             190919200011                Gas           Gov. Aggregation   COH             162784300020                Gas           Gov. Aggregation
COH             190926740013                Gas           Gov. Aggregation   COH             163059740015                Gas           Gov. Aggregation
COH             190942950015                Gas           Gov. Aggregation   COH             163072330022                Gas           Gov. Aggregation
COH             190945720017                Gas           Gov. Aggregation   COH             163129730018                Gas           Gov. Aggregation
COH             190953340010                Gas           Gov. Aggregation   COH             163148970018                Gas           Gov. Aggregation
COH             190954310014                Gas           Gov. Aggregation   COH             163169820015                Gas           Gov. Aggregation
COH             190958040013                Gas           Gov. Aggregation   COH             163454700015                Gas           Gov. Aggregation
COH             190993830013                Gas           Gov. Aggregation   COH             163455220014                Gas           Gov. Aggregation
COH             191042320014                Gas           Gov. Aggregation   COH             163457680014                Gas           Gov. Aggregation
COH             191063730014                Gas           Gov. Aggregation   COH             163490040018                Gas           Gov. Aggregation
COH             191103550016                Gas           Gov. Aggregation   COH             163537660018                Gas           Gov. Aggregation
COH             174602240050                Gas           Gov. Aggregation   COH             163543840017                Gas           Gov. Aggregation
COH             190888070016                Gas           Gov. Aggregation   COH             163576420016                Gas           Gov. Aggregation
COH             115170280014                Gas           Gov. Aggregation   COH             163794420014                Gas           Gov. Aggregation
COH             174167560011                Gas           Gov. Aggregation   COH             163889490037                Gas           Gov. Aggregation
COH             157756850030                Gas           Gov. Aggregation   COH             163894830016                Gas           Gov. Aggregation
COH             115172230010                Gas           Gov. Aggregation   COH             163910820012                Gas           Gov. Aggregation
COH             188833810019                Gas           Gov. Aggregation   COH             163922060017                Gas           Gov. Aggregation
COH             175931660018                Gas           Gov. Aggregation   COH             163935000021                Gas           Gov. Aggregation
COH             141078590013                Gas           Gov. Aggregation   COH             163941150018                Gas           Gov. Aggregation
COH             115156480012                Gas           Gov. Aggregation   COH             164207170019                Gas           Gov. Aggregation
COH             189339470018                Gas           Gov. Aggregation   COH             164227510033                Gas           Gov. Aggregation
COH             115156680010                Gas           Gov. Aggregation   COH             164258260013                Gas           Gov. Aggregation
COH             132749750035                Gas           Gov. Aggregation   COH             164353730012                Gas           Gov. Aggregation
COH             115176930024                Gas           Gov. Aggregation   COH             164360570011                Gas           Gov. Aggregation
COH             140338520016                Gas           Gov. Aggregation   COH             164404920013                Gas           Gov. Aggregation
COH             187651270010                Gas           Gov. Aggregation   COH             164422900046                Gas           Gov. Aggregation
COH             123905190023                Gas           Gov. Aggregation   COH             164464380011                Gas           Gov. Aggregation
COH             148990910014                Gas           Gov. Aggregation   COH             164829290025                Gas           Gov. Aggregation
COH             123902300034                Gas           Gov. Aggregation   COH             164844530013                Gas           Gov. Aggregation
COH             123849990016                Gas           Gov. Aggregation   COH             164956550012                Gas           Gov. Aggregation
COH             123850000010                Gas           Gov. Aggregation   COH             164957120010                Gas           Gov. Aggregation
COH             123838150015                Gas           Gov. Aggregation   COH             164979280039                Gas           Gov. Aggregation
COH             123817820018                Gas           Gov. Aggregation   COH             164983180031                Gas           Gov. Aggregation
COH             145072850016                Gas           Gov. Aggregation   COH             164994210013                Gas           Gov. Aggregation
COH             186975150010                Gas           Gov. Aggregation   COH             165048410015                Gas           Gov. Aggregation
COH             123895190017                Gas           Gov. Aggregation   COH             165820270026                Gas           Gov. Aggregation
COH             153301570018                Gas           Gov. Aggregation   COH             165825200020                Gas           Gov. Aggregation
COH             150730340029                Gas           Gov. Aggregation   COH             165850160017                Gas           Gov. Aggregation
COH             150730340038                Gas           Gov. Aggregation   COH             165875830014                Gas           Gov. Aggregation
COH             151470860012                Gas           Gov. Aggregation   COH             165920030051                Gas           Gov. Aggregation
COH             155446120014                Gas           Gov. Aggregation   COH             166084120028                Gas           Gov. Aggregation
COH             177262810013                Gas           Gov. Aggregation   COH             166086830016                Gas           Gov. Aggregation
COH             123875130039                Gas           Gov. Aggregation   COH             166191670017                Gas           Gov. Aggregation
COH             188813120016                Gas           Gov. Aggregation   COH             166281220010                Gas           Gov. Aggregation
COH             123850750013                Gas           Gov. Aggregation   COH             166291980029                Gas           Gov. Aggregation
COH             155212630049                Gas           Gov. Aggregation   COH             166498070022                Gas           Gov. Aggregation
COH             156806500019                Gas           Gov. Aggregation   COH             166522160011                Gas           Gov. Aggregation
COH             189138930017                Gas           Gov. Aggregation   COH             166638450015                Gas           Gov. Aggregation
COH             176740750013                Gas           Gov. Aggregation   COH             166684640018                Gas           Gov. Aggregation
COH             131213940577                Gas           Gov. Aggregation   COH             166708990022                Gas           Gov. Aggregation
COH             166323000089                Gas           Gov. Aggregation   COH             167060800015                Gas           Gov. Aggregation
COH             134894830020                Gas           Gov. Aggregation   COH             167384620017                Gas           Gov. Aggregation
COH             189116910017                Gas           Gov. Aggregation   COH             167464120012                Gas           Gov. Aggregation
COH             153952510397                Gas           Gov. Aggregation   COH             167467900012                Gas           Gov. Aggregation
COH             122386110059                Gas           Gov. Aggregation   COH             167478760019                Gas           Gov. Aggregation
COH             123842110014                Gas           Gov. Aggregation   COH             167532990015                Gas           Gov. Aggregation
COH             113337110035                Gas           Gov. Aggregation   COH             167566640017                Gas           Gov. Aggregation
COH             123808290028                Gas           Gov. Aggregation   COH             167599510015                Gas           Gov. Aggregation
COH             172062770011                Gas           Gov. Aggregation   COH             167742830013                Gas           Gov. Aggregation
COH             173570690010                Gas           Gov. Aggregation   COH             167805000031                Gas           Gov. Aggregation
COH             155941280039                Gas           Gov. Aggregation   COH             167841200015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             123829680013                Gas           Gov. Aggregation   COH             167850670018                Gas           Gov. Aggregation
COH             131421020042                Gas           Gov. Aggregation   COH             168212850011                Gas           Gov. Aggregation
COH             123829800026                Gas           Gov. Aggregation   COH             168212850020                Gas           Gov. Aggregation
COH             133166020042                Gas           Gov. Aggregation   COH             168293480019                Gas           Gov. Aggregation
COH             126809740019                Gas           Gov. Aggregation   COH             168358990014                Gas           Gov. Aggregation
COH             168525420018                Gas           Gov. Aggregation   COH             168648610018                Gas           Gov. Aggregation
COH             123877280016                Gas           Gov. Aggregation   COH             168660800012                Gas           Gov. Aggregation
COH             123875540015                Gas           Gov. Aggregation   COH             168915810019                Gas           Gov. Aggregation
COH             130957040026                Gas           Gov. Aggregation   COH             168917930010                Gas           Gov. Aggregation
COH             131420160018                Gas           Gov. Aggregation   COH             169134800016                Gas           Gov. Aggregation
COH             186197540018                Gas           Gov. Aggregation   COH             169179250018                Gas           Gov. Aggregation
COH             135223180036                Gas           Gov. Aggregation   COH             169203510010                Gas           Gov. Aggregation
COH             123900060011                Gas           Gov. Aggregation   COH             169249540018                Gas           Gov. Aggregation
COH             152913760012                Gas           Gov. Aggregation   COH             169333100011                Gas           Gov. Aggregation
COH             123900630011                Gas           Gov. Aggregation   COH             169611680010                Gas           Gov. Aggregation
COH             123900620013                Gas           Gov. Aggregation   COH             169867630019                Gas           Gov. Aggregation
COH             123899750011                Gas           Gov. Aggregation   COH             169876840016                Gas           Gov. Aggregation
COH             164626170011                Gas           Gov. Aggregation   COH             169882740050                Gas           Gov. Aggregation
COH             185988050015                Gas           Gov. Aggregation   COH             170160540013                Gas           Gov. Aggregation
COH             139286800011                Gas           Gov. Aggregation   COH             170235660019                Gas           Gov. Aggregation
COH             167237800010                Gas           Gov. Aggregation   COH             170443100015                Gas           Gov. Aggregation
COH             186633810015                Gas           Gov. Aggregation   COH             170485020014                Gas           Gov. Aggregation
COH             154408320040                Gas           Gov. Aggregation   COH             170664000027                Gas           Gov. Aggregation
COH             189000870020                Gas           Gov. Aggregation   COH             170716370010                Gas           Gov. Aggregation
COH             123075090034                Gas           Gov. Aggregation   COH             170717020011                Gas           Gov. Aggregation
COH             123821320014                Gas           Gov. Aggregation   COH             170750240015                Gas           Gov. Aggregation
COH             123819740011                Gas           Gov. Aggregation   COH             170750250013                Gas           Gov. Aggregation
COH             123820000013                Gas           Gov. Aggregation   COH             170762130013                Gas           Gov. Aggregation
COH             177452550015                Gas           Gov. Aggregation   COH             170762200018                Gas           Gov. Aggregation
COH             123821910010                Gas           Gov. Aggregation   COH             171068300018                Gas           Gov. Aggregation
COH             127200110029                Gas           Gov. Aggregation   COH             171120170014                Gas           Gov. Aggregation
COH             160734470031                Gas           Gov. Aggregation   COH             171386540014                Gas           Gov. Aggregation
COH             123854490010                Gas           Gov. Aggregation   COH             171468260019                Gas           Gov. Aggregation
COH             155933880030                Gas           Gov. Aggregation   COH             171476750019                Gas           Gov. Aggregation
COH             123843140025                Gas           Gov. Aggregation   COH             171528240015                Gas           Gov. Aggregation
COH             131171820018                Gas           Gov. Aggregation   COH             171532200014                Gas           Gov. Aggregation
COH             123839900015                Gas           Gov. Aggregation   COH             171630060025                Gas           Gov. Aggregation
COH             167584130043                Gas           Gov. Aggregation   COH             171630090010                Gas           Gov. Aggregation
COH             150684090012                Gas           Gov. Aggregation   COH             171649830024                Gas           Gov. Aggregation
COH             138719170025                Gas           Gov. Aggregation   COH             171659690014                Gas           Gov. Aggregation
COH             123832290018                Gas           Gov. Aggregation   COH             171774630012                Gas           Gov. Aggregation
COH             123832260014                Gas           Gov. Aggregation   COH             172183910024                Gas           Gov. Aggregation
COH             136413850022                Gas           Gov. Aggregation   COH             172229670018                Gas           Gov. Aggregation
COH             123860800226                Gas           Gov. Aggregation   COH             172231470015                Gas           Gov. Aggregation
COH             143700570014                Gas           Gov. Aggregation   COH             172280100028                Gas           Gov. Aggregation
COH             123850800021                Gas           Gov. Aggregation   COH             172475920014                Gas           Gov. Aggregation
COH             135324690017                Gas           Gov. Aggregation   COH             172475930012                Gas           Gov. Aggregation
COH             137774080038                Gas           Gov. Aggregation   COH             172547990017                Gas           Gov. Aggregation
COH             123802880026                Gas           Gov. Aggregation   COH             172626350013                Gas           Gov. Aggregation
COH             123895150024                Gas           Gov. Aggregation   COH             172763460010                Gas           Gov. Aggregation
COH             167558210014                Gas           Gov. Aggregation   COH             172775180014                Gas           Gov. Aggregation
COH             170133420015                Gas           Gov. Aggregation   COH             172791180010                Gas           Gov. Aggregation
COH             161804590018                Gas           Gov. Aggregation   COH             172819470046                Gas           Gov. Aggregation
COH             132524580046                Gas           Gov. Aggregation   COH             172833320010                Gas           Gov. Aggregation
COH             155937160015                Gas           Gov. Aggregation   COH             173112670014                Gas           Gov. Aggregation
COH             162864060021                Gas           Gov. Aggregation   COH             173142860011                Gas           Gov. Aggregation
COH             190696010015                Gas           Gov. Aggregation   COH             173188810042                Gas           Gov. Aggregation
COH             172595560016                Gas           Gov. Aggregation   COH             173193710015                Gas           Gov. Aggregation
COH             123877590048                Gas           Gov. Aggregation   COH             173199730019                Gas           Gov. Aggregation
COH             129133880010                Gas           Gov. Aggregation   COH             173214610010                Gas           Gov. Aggregation
COH             186569540019                Gas           Gov. Aggregation   COH             173444770010                Gas           Gov. Aggregation
COH             136167360028                Gas           Gov. Aggregation   COH             173866630015                Gas           Gov. Aggregation
COH             123802890015                Gas           Gov. Aggregation   COH             173894200016                Gas           Gov. Aggregation
COH             129360860059                Gas           Gov. Aggregation   COH             174006750011                Gas           Gov. Aggregation
COH             162761750015                Gas           Gov. Aggregation   COH             174068190019                Gas           Gov. Aggregation
COH             123861560010                Gas           Gov. Aggregation   COH             174213340018                Gas           Gov. Aggregation
COH             123814210021                Gas           Gov. Aggregation   COH             174234060013                Gas           Gov. Aggregation
COH             164031350014                Gas           Gov. Aggregation   COH             174302770019                Gas           Gov. Aggregation
COH             168115670015                Gas           Gov. Aggregation   COH             174303800010                Gas           Gov. Aggregation
COH             126453930032                Gas           Gov. Aggregation   COH             174330620011                Gas           Gov. Aggregation
COH             163570070058                Gas           Gov. Aggregation   COH             174355610011                Gas           Gov. Aggregation
COH             171582280013                Gas           Gov. Aggregation   COH             174603990015                Gas           Gov. Aggregation
COH             149801800033                Gas           Gov. Aggregation   COH             174652340018                Gas           Gov. Aggregation
COH             123856700011                Gas           Gov. Aggregation   COH             174673170010                Gas           Gov. Aggregation
COH             175683900032                Gas           Gov. Aggregation   COH             174714500012                Gas           Gov. Aggregation
COH             142635520032                Gas           Gov. Aggregation   COH             175159810014                Gas           Gov. Aggregation
COH             123881020011                Gas           Gov. Aggregation   COH             175223510010                Gas           Gov. Aggregation
COH             136453820024                Gas           Gov. Aggregation   COH             175264690017                Gas           Gov. Aggregation
COH             155172020043                Gas           Gov. Aggregation   COH             175289930023                Gas           Gov. Aggregation
COH             188403280012                Gas           Gov. Aggregation   COH             175837090018                Gas           Gov. Aggregation
COH             123860590016                Gas           Gov. Aggregation   COH             175839390011                Gas           Gov. Aggregation
COH             164712530021                Gas           Gov. Aggregation   COH             175852940017                Gas           Gov. Aggregation
COH             189956150017                Gas           Gov. Aggregation   COH             175857430014                Gas           Gov. Aggregation
COH             153031820018                Gas           Gov. Aggregation   COH             175918590011                Gas           Gov. Aggregation
COH             152238320016                Gas           Gov. Aggregation   COH             176404960011                Gas           Gov. Aggregation
COH             130543760022                Gas           Gov. Aggregation   COH             176409900013                Gas           Gov. Aggregation
COH             132648950055                Gas           Gov. Aggregation   COH             176487540015                Gas           Gov. Aggregation
COH             136001890027                Gas           Gov. Aggregation   COH             176492390016                Gas           Gov. Aggregation
COH             159351200014                Gas           Gov. Aggregation   COH             176710410017                Gas           Gov. Aggregation
COH             188785350019                Gas           Gov. Aggregation   COH             176745340019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             123815550019                Gas           Gov. Aggregation   COH             176749020018                Gas           Gov. Aggregation
COH             140130980029                Gas           Gov. Aggregation   COH             176806540017                Gas           Gov. Aggregation
COH             138054930025                Gas           Gov. Aggregation   COH             176977410013                Gas           Gov. Aggregation
COH             139827610040                Gas           Gov. Aggregation   COH             177010330017                Gas           Gov. Aggregation
COH             150827790020                Gas           Gov. Aggregation   COH             177011170019                Gas           Gov. Aggregation
COH             123837180020                Gas           Gov. Aggregation   COH             177024900018                Gas           Gov. Aggregation
COH             169391540017                Gas           Gov. Aggregation   COH             177032770019                Gas           Gov. Aggregation
COH             123895860016                Gas           Gov. Aggregation   COH             177081370010                Gas           Gov. Aggregation
COH             144916870013                Gas           Gov. Aggregation   COH             177093930017                Gas           Gov. Aggregation
COH             139746470015                Gas           Gov. Aggregation   COH             177533550013                Gas           Gov. Aggregation
COH             123894520028                Gas           Gov. Aggregation   COH             177601470015                Gas           Gov. Aggregation
COH             135673180015                Gas           Gov. Aggregation   COH             177616530011                Gas           Gov. Aggregation
COH             172740030018                Gas           Gov. Aggregation   COH             177617630018                Gas           Gov. Aggregation
COH             185279280029                Gas           Gov. Aggregation   COH             177668560016                Gas           Gov. Aggregation
COH             175126380032                Gas           Gov. Aggregation   COH             177668730010                Gas           Gov. Aggregation
COH             123860010017                Gas           Gov. Aggregation   COH             185007530012                Gas           Gov. Aggregation
COH             123860030013                Gas           Gov. Aggregation   COH             185042340018                Gas           Gov. Aggregation
COH             187369690011                Gas           Gov. Aggregation   COH             185062790012                Gas           Gov. Aggregation
COH             123894980022                Gas           Gov. Aggregation   COH             185155360015                Gas           Gov. Aggregation
COH             143241250015                Gas           Gov. Aggregation   COH             185383840011                Gas           Gov. Aggregation
COH             123904540012                Gas           Gov. Aggregation   COH             185386580010                Gas           Gov. Aggregation
COH             165597080012                Gas           Gov. Aggregation   COH             185409010019                Gas           Gov. Aggregation
COH             133739800034                Gas           Gov. Aggregation   COH             185461180014                Gas           Gov. Aggregation
COH             189874020018                Gas           Gov. Aggregation   COH             185702000019                Gas           Gov. Aggregation
COH             175095380020                Gas           Gov. Aggregation   COH             185716430010                Gas           Gov. Aggregation
COH             123880720034                Gas           Gov. Aggregation   COH             185781120018                Gas           Gov. Aggregation
COH             188349760017                Gas           Gov. Aggregation   COH             185798170013                Gas           Gov. Aggregation
COH             141615120011                Gas           Gov. Aggregation   COH             186399450019                Gas           Gov. Aggregation
COH             156070320018                Gas           Gov. Aggregation   COH             186460300019                Gas           Gov. Aggregation
COH             123830810021                Gas           Gov. Aggregation   COH             186583600016                Gas           Gov. Aggregation
COH             123892580011                Gas           Gov. Aggregation   COH             186708100015                Gas           Gov. Aggregation
COH             131361420028                Gas           Gov. Aggregation   COH             186719600017                Gas           Gov. Aggregation
COH             135519990048                Gas           Gov. Aggregation   COH             186969790019                Gas           Gov. Aggregation
COH             167991660012                Gas           Gov. Aggregation   COH             186982100015                Gas           Gov. Aggregation
COH             156479130012                Gas           Gov. Aggregation   COH             187015170019                Gas           Gov. Aggregation
COH             177395640018                Gas           Gov. Aggregation   COH             187053230016                Gas           Gov. Aggregation
COH             123844630011                Gas           Gov. Aggregation   COH             187108690013                Gas           Gov. Aggregation
COH             189417590017                Gas           Gov. Aggregation   COH             187149770010                Gas           Gov. Aggregation
COH             123827400033                Gas           Gov. Aggregation   COH             187582070019                Gas           Gov. Aggregation
COH             175020460011                Gas           Gov. Aggregation   COH             187593880016                Gas           Gov. Aggregation
COH             123899260023                Gas           Gov. Aggregation   COH             187642100014                Gas           Gov. Aggregation
COH             172976710016                Gas           Gov. Aggregation   COH             187664700012                Gas           Gov. Aggregation
COH             139662000039                Gas           Gov. Aggregation   COH             187675520017                Gas           Gov. Aggregation
COH             123880600020                Gas           Gov. Aggregation   COH             187730450014                Gas           Gov. Aggregation
COH             123879700031                Gas           Gov. Aggregation   COH             187922910010                Gas           Gov. Aggregation
COH             139040870017                Gas           Gov. Aggregation   COH             188529740019                Gas           Gov. Aggregation
COH             176211600015                Gas           Gov. Aggregation   COH             188529750017                Gas           Gov. Aggregation
COH             160366700033                Gas           Gov. Aggregation   COH             188546690014                Gas           Gov. Aggregation
COH             123880320010                Gas           Gov. Aggregation   COH             188583440018                Gas           Gov. Aggregation
COH             153546060026                Gas           Gov. Aggregation   COH             188771810011                Gas           Gov. Aggregation
COH             123884050019                Gas           Gov. Aggregation   COH             188785970019                Gas           Gov. Aggregation
COH             172683020012                Gas           Gov. Aggregation   COH             189062840017                Gas           Gov. Aggregation
COH             176881220016                Gas           Gov. Aggregation   COH             189062990016                Gas           Gov. Aggregation
COH             136200100011                Gas           Gov. Aggregation   COH             189064950010                Gas           Gov. Aggregation
COH             172742020016                Gas           Gov. Aggregation   COH             189070190017                Gas           Gov. Aggregation
COH             123851870016                Gas           Gov. Aggregation   COH             170680790028                Gas           Gov. Aggregation
COH             131190630018                Gas           Gov. Aggregation   COH             125907500012                Gas           Gov. Aggregation
COH             123893350017                Gas           Gov. Aggregation   COH             118010860099                Gas           Gov. Aggregation
COH             166534070015                Gas           Gov. Aggregation   COH             125732900019                Gas           Gov. Aggregation
COH             123879300035                Gas           Gov. Aggregation   COH             124632790016                Gas           Gov. Aggregation
COH             166630240015                Gas           Gov. Aggregation   COH             125866350012                Gas           Gov. Aggregation
COH             167584120018                Gas           Gov. Aggregation   COH             158067760075                Gas           Gov. Aggregation
COH             127155330020                Gas           Gov. Aggregation   COH             122675040015                Gas           Gov. Aggregation
COH             113259020021                Gas           Gov. Aggregation   COH             160748100020                Gas           Gov. Aggregation
COH             123817200018                Gas           Gov. Aggregation   COH             153954590011                Gas           Gov. Aggregation
COH             123817320013                Gas           Gov. Aggregation   COH             171538690029                Gas           Gov. Aggregation
COH             136778740229                Gas           Gov. Aggregation   COH             124589850098                Gas           Gov. Aggregation
COH             177467100018                Gas           Gov. Aggregation   COH             125751030030                Gas           Gov. Aggregation
COH             187201220022                Gas           Gov. Aggregation   COH             164980000043                Gas           Gov. Aggregation
COH             129243640044                Gas           Gov. Aggregation   COH             125909770049                Gas           Gov. Aggregation
COH             187691430012                Gas           Gov. Aggregation   COH             125918150022                Gas           Gov. Aggregation
COH             144315210015                Gas           Gov. Aggregation   COH             187452810018                Gas           Gov. Aggregation
COH             141090440027                Gas           Gov. Aggregation   COH             187452850010                Gas           Gov. Aggregation
COH             157886730030                Gas           Gov. Aggregation   COH             187452880014                Gas           Gov. Aggregation
COH             158328420018                Gas           Gov. Aggregation   COH             125867280051                Gas           Gov. Aggregation
COH             154839820024                Gas           Gov. Aggregation   COH             185310860038                Gas           Gov. Aggregation
COH             170004110013                Gas           Gov. Aggregation   COH             125881670031                Gas           Gov. Aggregation
COH             162758770027                Gas           Gov. Aggregation   COH             173063140010                Gas           Gov. Aggregation
COH             165174310019                Gas           Gov. Aggregation   COH             136663440010                Gas           Gov. Aggregation
COH             123865280020                Gas           Gov. Aggregation   COH             186964160011                Gas           Gov. Aggregation
COH             190378520012                Gas           Gov. Aggregation   COH             188745370019                Gas           Gov. Aggregation
COH             171550570028                Gas           Gov. Aggregation   COH             110294790038                Gas           Gov. Aggregation
COH             170159850011                Gas           Gov. Aggregation   COH             110320890021                Gas           Gov. Aggregation
COH             123851610010                Gas           Gov. Aggregation   COH             110920130019                Gas           Gov. Aggregation
COH             156440950020                Gas           Gov. Aggregation   COH             111185620015                Gas           Gov. Aggregation
COH             154150020013                Gas           Gov. Aggregation   COH             114919020011                Gas           Gov. Aggregation
COH             173742980041                Gas           Gov. Aggregation   COH             140746580055                Gas           Gov. Aggregation
COH             136830120030                Gas           Gov. Aggregation   COH             147149050046                Gas           Gov. Aggregation
COH             123841300025                Gas           Gov. Aggregation   COH             166181120022                Gas           Gov. Aggregation
COH             123802990023                Gas           Gov. Aggregation   COH             168310090022                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             123820860022                Gas           Gov. Aggregation   COH             176059190034                Gas           Gov. Aggregation
COH             156679280017                Gas           Gov. Aggregation   COH             190873250019                Gas           Gov. Aggregation
COH             144407000014                Gas           Gov. Aggregation   COH             190929160019                Gas           Gov. Aggregation
COH             156461080010                Gas           Gov. Aggregation   COH             190943180015                Gas           Gov. Aggregation
COH             169093590019                Gas           Gov. Aggregation   COH             190982430010                Gas           Gov. Aggregation
COH             187428820017                Gas           Gov. Aggregation   COH             191011620016                Gas           Gov. Aggregation
COH             123814180028                Gas           Gov. Aggregation   COH             191017610016                Gas           Gov. Aggregation
COH             154876840040                Gas           Gov. Aggregation   COH             176626340020                Gas           Gov. Aggregation
COH             173316700024                Gas           Gov. Aggregation   COH             189643550016                Gas           Gov. Aggregation
COH             123882770012                Gas           Gov. Aggregation   COH             135214270018                Gas           Gov. Aggregation
COH             174075590010                Gas           Gov. Aggregation   COH             114917430046                Gas           Gov. Aggregation
COH             165364520012                Gas           Gov. Aggregation   COH             154273450013                Gas           Gov. Aggregation
COH             123837790013                Gas           Gov. Aggregation   COH             188223220016                Gas           Gov. Aggregation
COH             138008280065                Gas           Gov. Aggregation   COH             124095160036                Gas           Gov. Aggregation
COH             173068160016                Gas           Gov. Aggregation   COH             161737640010                Gas           Gov. Aggregation
COH             166235950023                Gas           Gov. Aggregation   COH             115170270016                Gas           Gov. Aggregation
COH             123857710026                Gas           Gov. Aggregation   COH             175724500038                Gas           Gov. Aggregation
COH             123822910018                Gas           Gov. Aggregation   COH             123822620037                Gas           Gov. Aggregation
COH             167902740012                Gas           Gov. Aggregation   COH             139231420043                Gas           Gov. Aggregation
COH             130570710016                Gas           Gov. Aggregation   COH             123889640015                Gas           Gov. Aggregation
COH             154821040016                Gas           Gov. Aggregation   COH             156136380025                Gas           Gov. Aggregation
COH             123867700018                Gas           Gov. Aggregation   COH             123817550015                Gas           Gov. Aggregation
COH             141463530018                Gas           Gov. Aggregation   COH             137902070046                Gas           Gov. Aggregation
COH             155670940017                Gas           Gov. Aggregation   COH             158716350047                Gas           Gov. Aggregation
COH             153467080011                Gas           Gov. Aggregation   COH             165857580097                Gas           Gov. Aggregation
COH             146003700011                Gas           Gov. Aggregation   COH             123903010015                Gas           Gov. Aggregation
COH             123866140018                Gas           Gov. Aggregation   COH             190383610012                Gas           Gov. Aggregation
COH             136001000014                Gas           Gov. Aggregation   COH             161356660032                Gas           Gov. Aggregation
COH             123896240014                Gas           Gov. Aggregation   COH             159328520016                Gas           Gov. Aggregation
COH             152599750012                Gas           Gov. Aggregation   COH             123804780014                Gas           Gov. Aggregation
COH             123738950028                Gas           Gov. Aggregation   COH             123893990013                Gas           Gov. Aggregation
COH             123869080015                Gas           Gov. Aggregation   COH             142343140013                Gas           Gov. Aggregation
COH             123868890017                Gas           Gov. Aggregation   COH             154974320014                Gas           Gov. Aggregation
COH             186073820011                Gas           Gov. Aggregation   COH             123818050054                Gas           Gov. Aggregation
COH             159330660021                Gas           Gov. Aggregation   COH             170697870026                Gas           Gov. Aggregation
COH             152192180014                Gas           Gov. Aggregation   COH             152162620014                Gas           Gov. Aggregation
COH             123897940015                Gas           Gov. Aggregation   COH             164782050016                Gas           Gov. Aggregation
COH             159003010011                Gas           Gov. Aggregation   COH             129281740098                Gas           Gov. Aggregation
COH             165392960011                Gas           Gov. Aggregation   COH             131421830079                Gas           Gov. Aggregation
COH             123807330012                Gas           Gov. Aggregation   COH             172813720018                Gas           Gov. Aggregation
COH             157359550026                Gas           Gov. Aggregation   COH             163264010013                Gas           Gov. Aggregation
COH             188843440016                Gas           Gov. Aggregation   COH             126456870048                Gas           Gov. Aggregation
COH             123883770029                Gas           Gov. Aggregation   COH             172791090019                Gas           Gov. Aggregation
COH             123848030082                Gas           Gov. Aggregation   COH             152970250019                Gas           Gov. Aggregation
COH             156862300077                Gas           Gov. Aggregation   COH             176831510010                Gas           Gov. Aggregation
COH             123854600016                Gas           Gov. Aggregation   COH             123820080017                Gas           Gov. Aggregation
COH             123802620011                Gas           Gov. Aggregation   COH             123809890011                Gas           Gov. Aggregation
COH             123846410013                Gas           Gov. Aggregation   COH             123805640039                Gas           Gov. Aggregation
COH             160157950016                Gas           Gov. Aggregation   COH             135446770021                Gas           Gov. Aggregation
COH             168834720010                Gas           Gov. Aggregation   COH             123817300026                Gas           Gov. Aggregation
COH             171811120055                Gas           Gov. Aggregation   COH             149256370095                Gas           Gov. Aggregation
COH             123820270017                Gas           Gov. Aggregation   COH             156721090025                Gas           Gov. Aggregation
COH             135271270027                Gas           Gov. Aggregation   COH             141844870037                Gas           Gov. Aggregation
COH             174279470013                Gas           Gov. Aggregation   COH             123821720010                Gas           Gov. Aggregation
COH             177420340016                Gas           Gov. Aggregation   COH             138019110030                Gas           Gov. Aggregation
COH             123820420015                Gas           Gov. Aggregation   COH             137804420013                Gas           Gov. Aggregation
COH             123820480013                Gas           Gov. Aggregation   COH             123840650024                Gas           Gov. Aggregation
COH             132220330015                Gas           Gov. Aggregation   COH             126932390021                Gas           Gov. Aggregation
COH             130919760034                Gas           Gov. Aggregation   COH             150426100024                Gas           Gov. Aggregation
COH             190251790014                Gas           Gov. Aggregation   COH             132588800027                Gas           Gov. Aggregation
COH             136624580022                Gas           Gov. Aggregation   COH             123841320012                Gas           Gov. Aggregation
COH             123830610014                Gas           Gov. Aggregation   COH             133139120011                Gas           Gov. Aggregation
COH             159850590015                Gas           Gov. Aggregation   COH             174198060011                Gas           Gov. Aggregation
COH             161981420019                Gas           Gov. Aggregation   COH             143656090010                Gas           Gov. Aggregation
COH             123759960139                Gas           Gov. Aggregation   COH             123901650015                Gas           Gov. Aggregation
COH             186221600012                Gas           Gov. Aggregation   COH             152380820010                Gas           Gov. Aggregation
COH             136500190017                Gas           Gov. Aggregation   COH             142832350012                Gas           Gov. Aggregation
COH             174957050013                Gas           Gov. Aggregation   COH             152447590017                Gas           Gov. Aggregation
COH             123882070019                Gas           Gov. Aggregation   COH             130875170041                Gas           Gov. Aggregation
COH             161310660010                Gas           Gov. Aggregation   COH             123814760026                Gas           Gov. Aggregation
COH             156842500013                Gas           Gov. Aggregation   COH             145034350039                Gas           Gov. Aggregation
COH             151807660028                Gas           Gov. Aggregation   COH             123891030027                Gas           Gov. Aggregation
COH             154205220032                Gas           Gov. Aggregation   COH             149267710018                Gas           Gov. Aggregation
COH             151314040292                Gas           Gov. Aggregation   COH             190003380015                Gas           Gov. Aggregation
COH             123853100022                Gas           Gov. Aggregation   COH             175775870016                Gas           Gov. Aggregation
COH             186561440016                Gas           Gov. Aggregation   COH             134633740021                Gas           Gov. Aggregation
COH             147714860029                Gas           Gov. Aggregation   COH             123868750016                Gas           Gov. Aggregation
COH             112962730059                Gas           Gov. Aggregation   COH             156922880014                Gas           Gov. Aggregation
COH             123844950014                Gas           Gov. Aggregation   COH             145669080022                Gas           Gov. Aggregation
COH             166859060019                Gas           Gov. Aggregation   COH             189380500014                Gas           Gov. Aggregation
COH             156809460021                Gas           Gov. Aggregation   COH             123841640015                Gas           Gov. Aggregation
COH             188115590018                Gas           Gov. Aggregation   COH             123883320023                Gas           Gov. Aggregation
COH             149686270013                Gas           Gov. Aggregation   COH             123893150019                Gas           Gov. Aggregation
COH             123876100015                Gas           Gov. Aggregation   COH             190041420016                Gas           Gov. Aggregation
COH             169799310057                Gas           Gov. Aggregation   COH             156395040028                Gas           Gov. Aggregation
COH             157268240024                Gas           Gov. Aggregation   COH             185479930019                Gas           Gov. Aggregation
COH             139068630019                Gas           Gov. Aggregation   COH             158037980027                Gas           Gov. Aggregation
COH             159665180014                Gas           Gov. Aggregation   COH             189833960017                Gas           Gov. Aggregation
COH             170101790015                Gas           Gov. Aggregation   COH             163669010024                Gas           Gov. Aggregation
COH             142682190024                Gas           Gov. Aggregation   COH             165242960018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             123822830079                Gas           Gov. Aggregation   COH             170815390016                Gas           Gov. Aggregation
COH             176187790019                Gas           Gov. Aggregation   COH             123803270068                Gas           Gov. Aggregation
COH             123838380017                Gas           Gov. Aggregation   COH             157129930023                Gas           Gov. Aggregation
COH             164707230016                Gas           Gov. Aggregation   COH             123739520044                Gas           Gov. Aggregation
COH             174448690018                Gas           Gov. Aggregation   COH             157207640037                Gas           Gov. Aggregation
COH             189628890017                Gas           Gov. Aggregation   COH             123875600021                Gas           Gov. Aggregation
COH             123861340016                Gas           Gov. Aggregation   COH             187439040018                Gas           Gov. Aggregation
COH             123812900011                Gas           Gov. Aggregation   COH             123845130014                Gas           Gov. Aggregation
COH             185854350015                Gas           Gov. Aggregation   COH             123845180014                Gas           Gov. Aggregation
COH             123806770012                Gas           Gov. Aggregation   COH             123813530026                Gas           Gov. Aggregation
COH             123823050044                Gas           Gov. Aggregation   COH             124638640033                Gas           Gov. Aggregation
COH             123868250011                Gas           Gov. Aggregation   COH             150510900027                Gas           Gov. Aggregation
COH             147230540059                Gas           Gov. Aggregation   COH             163707630031                Gas           Gov. Aggregation
COH             123878480012                Gas           Gov. Aggregation   COH             123861120021                Gas           Gov. Aggregation
COH             156477490039                Gas           Gov. Aggregation   COH             123861120012                Gas           Gov. Aggregation
COH             168472120014                Gas           Gov. Aggregation   COH             154344270065                Gas           Gov. Aggregation
COH             167942690019                Gas           Gov. Aggregation   COH             123863090015                Gas           Gov. Aggregation
COH             186246990019                Gas           Gov. Aggregation   COH             174179510016                Gas           Gov. Aggregation
COH             123838690012                Gas           Gov. Aggregation   COH             190247040010                Gas           Gov. Aggregation
COH             123807010019                Gas           Gov. Aggregation   COH             134976550016                Gas           Gov. Aggregation
COH             187370410016                Gas           Gov. Aggregation   COH             170505850016                Gas           Gov. Aggregation
COH             155138170080                Gas           Gov. Aggregation   COH             161697580019                Gas           Gov. Aggregation
COH             188391390025                Gas           Gov. Aggregation   COH             151623320038                Gas           Gov. Aggregation
COH             173804590014                Gas           Gov. Aggregation   COH             123843800017                Gas           Gov. Aggregation
COH             123805330016                Gas           Gov. Aggregation   COH             132052250028                Gas           Gov. Aggregation
COH             123813340017                Gas           Gov. Aggregation   COH             158316920027                Gas           Gov. Aggregation
COH             152665970015                Gas           Gov. Aggregation   COH             123896850034                Gas           Gov. Aggregation
COH             123854760031                Gas           Gov. Aggregation   COH             134584350019                Gas           Gov. Aggregation
COH             123860800137                Gas           Gov. Aggregation   COH             123892560015                Gas           Gov. Aggregation
COH             186549450010                Gas           Gov. Aggregation   COH             163108790010                Gas           Gov. Aggregation
COH             123806590010                Gas           Gov. Aggregation   COH             166216560034                Gas           Gov. Aggregation
COH             190812850011                Gas           Gov. Aggregation   COH             133053440025                Gas           Gov. Aggregation
COH             175972860010                Gas           Gov. Aggregation   COH             144702690014                Gas           Gov. Aggregation
COH             174508910031                Gas           Gov. Aggregation   COH             123844540010                Gas           Gov. Aggregation
COH             157349480013                Gas           Gov. Aggregation   COH             123853540011                Gas           Gov. Aggregation
COH             139302890017                Gas           Gov. Aggregation   COH             140464220030                Gas           Gov. Aggregation
COH             133066700014                Gas           Gov. Aggregation   COH             157665680039                Gas           Gov. Aggregation
COH             165277020021                Gas           Gov. Aggregation   COH             137266800024                Gas           Gov. Aggregation
COH             147947240017                Gas           Gov. Aggregation   COH             169913900013                Gas           Gov. Aggregation
COH             162768300015                Gas           Gov. Aggregation   COH             186578430031                Gas           Gov. Aggregation
COH             123745540038                Gas           Gov. Aggregation   COH             153322630011                Gas           Gov. Aggregation
COH             185723870013                Gas           Gov. Aggregation   COH             158398530018                Gas           Gov. Aggregation
COH             119537540035                Gas           Gov. Aggregation   COH             123880350014                Gas           Gov. Aggregation
COH             157564330018                Gas           Gov. Aggregation   COH             123896170028                Gas           Gov. Aggregation
COH             165305100023                Gas           Gov. Aggregation   COH             187232110011                Gas           Gov. Aggregation
COH             123834830010                Gas           Gov. Aggregation   COH             123864210035                Gas           Gov. Aggregation
COH             148223850012                Gas           Gov. Aggregation   COH             123897420014                Gas           Gov. Aggregation
COH             174489330044                Gas           Gov. Aggregation   COH             190300490012                Gas           Gov. Aggregation
COH             176586730015                Gas           Gov. Aggregation   COH             142550170036                Gas           Gov. Aggregation
COH             123905050013                Gas           Gov. Aggregation   COH             167940160014                Gas           Gov. Aggregation
COH             147256010029                Gas           Gov. Aggregation   COH             123818720017                Gas           Gov. Aggregation
COH             134241290027                Gas           Gov. Aggregation   COH             123817150019                Gas           Gov. Aggregation
COH             123904400011                Gas           Gov. Aggregation   COH             141529680044                Gas           Gov. Aggregation
COH             162178960036                Gas           Gov. Aggregation   COH             174341320039                Gas           Gov. Aggregation
COH             148300400012                Gas           Gov. Aggregation   COH             138240800045                Gas           Gov. Aggregation
COH             154490060015                Gas           Gov. Aggregation   COH             169416260021                Gas           Gov. Aggregation
COH             123857220010                Gas           Gov. Aggregation   COH             176911990010                Gas           Gov. Aggregation
COH             123857210012                Gas           Gov. Aggregation   COH             123907070015                Gas           Gov. Aggregation
COH             123851340026                Gas           Gov. Aggregation   COH             187948240017                Gas           Gov. Aggregation
COH             148975300014                Gas           Gov. Aggregation   COH             123819370028                Gas           Gov. Aggregation
COH             188621550013                Gas           Gov. Aggregation   COH             127665310041                Gas           Gov. Aggregation
COH             171777900019                Gas           Gov. Aggregation   COH             123843150014                Gas           Gov. Aggregation
COH             177275770015                Gas           Gov. Aggregation   COH             123900110047                Gas           Gov. Aggregation
COH             136758310016                Gas           Gov. Aggregation   COH             186647600010                Gas           Gov. Aggregation
COH             148597780025                Gas           Gov. Aggregation   COH             166497980014                Gas           Gov. Aggregation
COH             159739420016                Gas           Gov. Aggregation   COH             176975850015                Gas           Gov. Aggregation
COH             123886340014                Gas           Gov. Aggregation   COH             137691250029                Gas           Gov. Aggregation
COH             167657810036                Gas           Gov. Aggregation   COH             160481580017                Gas           Gov. Aggregation
COH             174480970011                Gas           Gov. Aggregation   COH             172705740013                Gas           Gov. Aggregation
COH             130901700024                Gas           Gov. Aggregation   COH             164869650025                Gas           Gov. Aggregation
COH             123887630011                Gas           Gov. Aggregation   COH             155846440028                Gas           Gov. Aggregation
COH             176063550011                Gas           Gov. Aggregation   COH             168191280035                Gas           Gov. Aggregation
COH             146314070042                Gas           Gov. Aggregation   COH             145498680010                Gas           Gov. Aggregation
COH             148829270038                Gas           Gov. Aggregation   COH             188249670018                Gas           Gov. Aggregation
COH             170250960014                Gas           Gov. Aggregation   COH             130773720023                Gas           Gov. Aggregation
COH             151263280022                Gas           Gov. Aggregation   COH             130919460028                Gas           Gov. Aggregation
COH             165850110017                Gas           Gov. Aggregation   COH             123892470014                Gas           Gov. Aggregation
COH             173837390026                Gas           Gov. Aggregation   COH             133694810010                Gas           Gov. Aggregation
COH             166124510011                Gas           Gov. Aggregation   COH             123867720014                Gas           Gov. Aggregation
COH             185244850013                Gas           Gov. Aggregation   COH             185505670017                Gas           Gov. Aggregation
COH             123827910018                Gas           Gov. Aggregation   COH             123867760016                Gas           Gov. Aggregation
COH             137350980091                Gas           Gov. Aggregation   COH             174868050030                Gas           Gov. Aggregation
COH             130621780031                Gas           Gov. Aggregation   COH             129935270027                Gas           Gov. Aggregation
COH             174664830010                Gas           Gov. Aggregation   COH             186126720019                Gas           Gov. Aggregation
COH             123887460026                Gas           Gov. Aggregation   COH             153855150022                Gas           Gov. Aggregation
COH             188520410016                Gas           Gov. Aggregation   COH             174851960016                Gas           Gov. Aggregation
COH             185992800018                Gas           Gov. Aggregation   COH             160890160027                Gas           Gov. Aggregation
COH             138650090019                Gas           Gov. Aggregation   COH             156769790019                Gas           Gov. Aggregation
COH             123878840025                Gas           Gov. Aggregation   COH             123853610025                Gas           Gov. Aggregation
COH             175714510028                Gas           Gov. Aggregation   COH             148946990020                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             123883110018                Gas           Gov. Aggregation   COH             139571630021                Gas           Gov. Aggregation
COH             148375860037                Gas           Gov. Aggregation   COH             172557360018                Gas           Gov. Aggregation
COH             152214530012                Gas           Gov. Aggregation   COH             146854190034                Gas           Gov. Aggregation
COH             123883080015                Gas           Gov. Aggregation   COH             164946320048                Gas           Gov. Aggregation
COH             140134790012                Gas           Gov. Aggregation   COH             123886510027                Gas           Gov. Aggregation
COH             123883060019                Gas           Gov. Aggregation   COH             135232840038                Gas           Gov. Aggregation
COH             161263580018                Gas           Gov. Aggregation   COH             123829720032                Gas           Gov. Aggregation
COH             172802110019                Gas           Gov. Aggregation   COH             123884380010                Gas           Gov. Aggregation
COH             123829730012                Gas           Gov. Aggregation   COH             176024410049                Gas           Gov. Aggregation
COH             123829760016                Gas           Gov. Aggregation   COH             173270220014                Gas           Gov. Aggregation
COH             162685140015                Gas           Gov. Aggregation   COH             151888760018                Gas           Gov. Aggregation
COH             176358200019                Gas           Gov. Aggregation   COH             123888530010                Gas           Gov. Aggregation
COH             123832030021                Gas           Gov. Aggregation   COH             123857080065                Gas           Gov. Aggregation
COH             168293290019                Gas           Gov. Aggregation   COH             137844520045                Gas           Gov. Aggregation
COH             152603550031                Gas           Gov. Aggregation   COH             123832790022                Gas           Gov. Aggregation
COH             150511010022                Gas           Gov. Aggregation   COH             123804430026                Gas           Gov. Aggregation
COH             139345600044                Gas           Gov. Aggregation   COH             123802970036                Gas           Gov. Aggregation
COH             137214370024                Gas           Gov. Aggregation   COH             190702220016                Gas           Gov. Aggregation
COH             123852150015                Gas           Gov. Aggregation   COH             123864170034                Gas           Gov. Aggregation
COH             154993170025                Gas           Gov. Aggregation   COH             147495320028                Gas           Gov. Aggregation
COH             172724590015                Gas           Gov. Aggregation   COH             185599290010                Gas           Gov. Aggregation
COH             190789940013                Gas           Gov. Aggregation   COH             187711500013                Gas           Gov. Aggregation
COH             126828190195                Gas           Gov. Aggregation   COH             161416060012                Gas           Gov. Aggregation
COH             164015530038                Gas           Gov. Aggregation   COH             187830580015                Gas           Gov. Aggregation
COH             123828100016                Gas           Gov. Aggregation   COH             123875660010                Gas           Gov. Aggregation
COH             123900720049                Gas           Gov. Aggregation   COH             149033330013                Gas           Gov. Aggregation
COH             123868850024                Gas           Gov. Aggregation   COH             172338820015                Gas           Gov. Aggregation
COH             161600640019                Gas           Gov. Aggregation   COH             171206370038                Gas           Gov. Aggregation
COH             174698440020                Gas           Gov. Aggregation   COH             130649970015                Gas           Gov. Aggregation
COH             123853830010                Gas           Gov. Aggregation   COH             148022670034                Gas           Gov. Aggregation
COH             138210310023                Gas           Gov. Aggregation   COH             131825580030                Gas           Gov. Aggregation
COH             185208810017                Gas           Gov. Aggregation   COH             143066010026                Gas           Gov. Aggregation
COH             172101010025                Gas           Gov. Aggregation   COH             151783900038                Gas           Gov. Aggregation
COH             123833660018                Gas           Gov. Aggregation   COH             123815750017                Gas           Gov. Aggregation
COH             123814350022                Gas           Gov. Aggregation   COH             159448010046                Gas           Gov. Aggregation
COH             159915710011                Gas           Gov. Aggregation   COH             164525760011                Gas           Gov. Aggregation
COH             167287920010                Gas           Gov. Aggregation   COH             170193630015                Gas           Gov. Aggregation
COH             177420340025                Gas           Gov. Aggregation   COH             123837020014                Gas           Gov. Aggregation
COH             123848960032                Gas           Gov. Aggregation   COH             190917430017                Gas           Gov. Aggregation
COH             154293310010                Gas           Gov. Aggregation   COH             159665170016                Gas           Gov. Aggregation
COH             177182250011                Gas           Gov. Aggregation   COH             123812780017                Gas           Gov. Aggregation
COH             123818520019                Gas           Gov. Aggregation   COH             166529750022                Gas           Gov. Aggregation
COH             154230210077                Gas           Gov. Aggregation   COH             147295920017                Gas           Gov. Aggregation
COH             123833980011                Gas           Gov. Aggregation   COH             123837460030                Gas           Gov. Aggregation
COH             176614360021                Gas           Gov. Aggregation   COH             125913300020                Gas           Gov. Aggregation
COH             123855710020                Gas           Gov. Aggregation   COH             158898560012                Gas           Gov. Aggregation
COH             123856070014                Gas           Gov. Aggregation   COH             185699560011                Gas           Gov. Aggregation
COH             168479160012                Gas           Gov. Aggregation   COH             185833940024                Gas           Gov. Aggregation
COH             148232310025                Gas           Gov. Aggregation   COH             149760030015                Gas           Gov. Aggregation
COH             123845740025                Gas           Gov. Aggregation   COH             187329970016                Gas           Gov. Aggregation
COH             123855880025                Gas           Gov. Aggregation   COH             176618900010                Gas           Gov. Aggregation
COH             161476530017                Gas           Gov. Aggregation   COH             156866160015                Gas           Gov. Aggregation
COH             133739800114                Gas           Gov. Aggregation   COH             187088250028                Gas           Gov. Aggregation
COH             171275450018                Gas           Gov. Aggregation   COH             123887740036                Gas           Gov. Aggregation
COH             185408960012                Gas           Gov. Aggregation   COH             123863400019                Gas           Gov. Aggregation
COH             162250170010                Gas           Gov. Aggregation   COH             133632940013                Gas           Gov. Aggregation
COH             123819950017                Gas           Gov. Aggregation   COH             162824580017                Gas           Gov. Aggregation
COH             123818180020                Gas           Gov. Aggregation   COH             166216340021                Gas           Gov. Aggregation
COH             157160190014                Gas           Gov. Aggregation   COH             159255030023                Gas           Gov. Aggregation
COH             151995790015                Gas           Gov. Aggregation   COH             171571370053                Gas           Gov. Aggregation
COH             123856540015                Gas           Gov. Aggregation   COH             123841150027                Gas           Gov. Aggregation
COH             165029610022                Gas           Gov. Aggregation   COH             160387430027                Gas           Gov. Aggregation
COH             137980770027                Gas           Gov. Aggregation   COH             144643800016                Gas           Gov. Aggregation
COH             174682100015                Gas           Gov. Aggregation   COH             188948950017                Gas           Gov. Aggregation
COH             148073780025                Gas           Gov. Aggregation   COH             123845580010                Gas           Gov. Aggregation
COH             170594200033                Gas           Gov. Aggregation   COH             164465220049                Gas           Gov. Aggregation
COH             162526460023                Gas           Gov. Aggregation   COH             189833970015                Gas           Gov. Aggregation
COH             123882320025                Gas           Gov. Aggregation   COH             187491690012                Gas           Gov. Aggregation
COH             151774270030                Gas           Gov. Aggregation   COH             144641710046                Gas           Gov. Aggregation
COH             123892690027                Gas           Gov. Aggregation   COH             144333990023                Gas           Gov. Aggregation
COH             123806660024                Gas           Gov. Aggregation   COH             123857400012                Gas           Gov. Aggregation
COH             137307810015                Gas           Gov. Aggregation   COH             123857370019                Gas           Gov. Aggregation
COH             141563420019                Gas           Gov. Aggregation   COH             161494760011                Gas           Gov. Aggregation
COH             123890230027                Gas           Gov. Aggregation   COH             123889650013                Gas           Gov. Aggregation
COH             187909420011                Gas           Gov. Aggregation   COH             139782010033                Gas           Gov. Aggregation
COH             127544740047                Gas           Gov. Aggregation   COH             123888660013                Gas           Gov. Aggregation
COH             152380420041                Gas           Gov. Aggregation   COH             188826900015                Gas           Gov. Aggregation
COH             155129520012                Gas           Gov. Aggregation   COH             123888190012                Gas           Gov. Aggregation
COH             136239010028                Gas           Gov. Aggregation   COH             176413500018                Gas           Gov. Aggregation
COH             174427550011                Gas           Gov. Aggregation   COH             172754530014                Gas           Gov. Aggregation
COH             123894090047                Gas           Gov. Aggregation   COH             131725410037                Gas           Gov. Aggregation
COH             158114190010                Gas           Gov. Aggregation   COH             158688160011                Gas           Gov. Aggregation
COH             173371620016                Gas           Gov. Aggregation   COH             176147170013                Gas           Gov. Aggregation
COH             123863650026                Gas           Gov. Aggregation   COH             123890260012                Gas           Gov. Aggregation
COH             166121450010                Gas           Gov. Aggregation   COH             123903460020                Gas           Gov. Aggregation
COH             123762400013                Gas           Gov. Aggregation   COH             149587460022                Gas           Gov. Aggregation
COH             167356100015                Gas           Gov. Aggregation   COH             123892270016                Gas           Gov. Aggregation
COH             164216590012                Gas           Gov. Aggregation   COH             163922020033                Gas           Gov. Aggregation
COH             123898170015                Gas           Gov. Aggregation   COH             189911900013                Gas           Gov. Aggregation
COH             153143330014                Gas           Gov. Aggregation   COH             123892370015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             159196450085                Gas           Gov. Aggregation   COH             123769990043                Gas           Gov. Aggregation
COH             175223420019                Gas           Gov. Aggregation   COH             123861780023                Gas           Gov. Aggregation
COH             161393170019                Gas           Gov. Aggregation   COH             165277030010                Gas           Gov. Aggregation
COH             123898440018                Gas           Gov. Aggregation   COH             123840510014                Gas           Gov. Aggregation
COH             156945820018                Gas           Gov. Aggregation   COH             123855810029                Gas           Gov. Aggregation
COH             163222930018                Gas           Gov. Aggregation   COH             123844000022                Gas           Gov. Aggregation
COH             123851230029                Gas           Gov. Aggregation   COH             134976230031                Gas           Gov. Aggregation
COH             141090470012                Gas           Gov. Aggregation   COH             185890360017                Gas           Gov. Aggregation
COH             123854650025                Gas           Gov. Aggregation   COH             126828190186                Gas           Gov. Aggregation
COH             163337050010                Gas           Gov. Aggregation   COH             158851190027                Gas           Gov. Aggregation
COH             189919500011                Gas           Gov. Aggregation   COH             160734470040                Gas           Gov. Aggregation
COH             152001270018                Gas           Gov. Aggregation   COH             189781650013                Gas           Gov. Aggregation
COH             168929060018                Gas           Gov. Aggregation   COH             123856170013                Gas           Gov. Aggregation
COH             123842340016                Gas           Gov. Aggregation   COH             175108170016                Gas           Gov. Aggregation
COH             171856140011                Gas           Gov. Aggregation   COH             123848280017                Gas           Gov. Aggregation
COH             123824550010                Gas           Gov. Aggregation   COH             188714610013                Gas           Gov. Aggregation
COH             123847190018                Gas           Gov. Aggregation   COH             123832970015                Gas           Gov. Aggregation
COH             123805700027                Gas           Gov. Aggregation   COH             123813620027                Gas           Gov. Aggregation
COH             158898580018                Gas           Gov. Aggregation   COH             175264640017                Gas           Gov. Aggregation
COH             171743370012                Gas           Gov. Aggregation   COH             188364520015                Gas           Gov. Aggregation
COH             123843600028                Gas           Gov. Aggregation   COH             123842200015                Gas           Gov. Aggregation
COH             123836820027                Gas           Gov. Aggregation   COH             149910540019                Gas           Gov. Aggregation
COH             169082140016                Gas           Gov. Aggregation   COH             143537430029                Gas           Gov. Aggregation
COH             123854190022                Gas           Gov. Aggregation   COH             139627880011                Gas           Gov. Aggregation
COH             143610620014                Gas           Gov. Aggregation   COH             140945180020                Gas           Gov. Aggregation
COH             123841350034                Gas           Gov. Aggregation   COH             154261400027                Gas           Gov. Aggregation
COH             164697800019                Gas           Gov. Aggregation   COH             152687800014                Gas           Gov. Aggregation
COH             156479130021                Gas           Gov. Aggregation   COH             168255600013                Gas           Gov. Aggregation
COH             123863750016                Gas           Gov. Aggregation   COH             175609960018                Gas           Gov. Aggregation
COH             171219700013                Gas           Gov. Aggregation   COH             123842770016                Gas           Gov. Aggregation
COH             158328410010                Gas           Gov. Aggregation   COH             123842760018                Gas           Gov. Aggregation
COH             132344360035                Gas           Gov. Aggregation   COH             123831460023                Gas           Gov. Aggregation
COH             169338650016                Gas           Gov. Aggregation   COH             123843240015                Gas           Gov. Aggregation
COH             123842820015                Gas           Gov. Aggregation   COH             138936980016                Gas           Gov. Aggregation
COH             138585040027                Gas           Gov. Aggregation   COH             144045890025                Gas           Gov. Aggregation
COH             149605810073                Gas           Gov. Aggregation   COH             165681300025                Gas           Gov. Aggregation
COH             123903710027                Gas           Gov. Aggregation   COH             123843220019                Gas           Gov. Aggregation
COH             123867770023                Gas           Gov. Aggregation   COH             123860050028                Gas           Gov. Aggregation
COH             123826090013                Gas           Gov. Aggregation   COH             176481440018                Gas           Gov. Aggregation
COH             123804800055                Gas           Gov. Aggregation   COH             160996640022                Gas           Gov. Aggregation
COH             159674130024                Gas           Gov. Aggregation   COH             123880540023                Gas           Gov. Aggregation
COH             123807870019                Gas           Gov. Aggregation   COH             123852540031                Gas           Gov. Aggregation
COH             151676430034                Gas           Gov. Aggregation   COH             138413270022                Gas           Gov. Aggregation
COH             176373640015                Gas           Gov. Aggregation   COH             162658400017                Gas           Gov. Aggregation
COH             169986540016                Gas           Gov. Aggregation   COH             123887930027                Gas           Gov. Aggregation
COH             176731230011                Gas           Gov. Aggregation   COH             171593260014                Gas           Gov. Aggregation
COH             123824110012                Gas           Gov. Aggregation   COH             123839760015                Gas           Gov. Aggregation
COH             123823800037                Gas           Gov. Aggregation   COH             123865460022                Gas           Gov. Aggregation
COH             189625110016                Gas           Gov. Aggregation   COH             177609850019                Gas           Gov. Aggregation
COH             141615120020                Gas           Gov. Aggregation   COH             142052670046                Gas           Gov. Aggregation
COH             123835730019                Gas           Gov. Aggregation   COH             161954760015                Gas           Gov. Aggregation
COH             123810310019                Gas           Gov. Aggregation   COH             123835810012                Gas           Gov. Aggregation
COH             123810450010                Gas           Gov. Aggregation   COH             173379680018                Gas           Gov. Aggregation
COH             123810330015                Gas           Gov. Aggregation   COH             152087170019                Gas           Gov. Aggregation
COH             123842130029                Gas           Gov. Aggregation   COH             161252940015                Gas           Gov. Aggregation
COH             188529680012                Gas           Gov. Aggregation   COH             123882390021                Gas           Gov. Aggregation
COH             166084070010                Gas           Gov. Aggregation   COH             160504330028                Gas           Gov. Aggregation
COH             186255810017                Gas           Gov. Aggregation   COH             138326130026                Gas           Gov. Aggregation
COH             165917530017                Gas           Gov. Aggregation   COH             115015660021                Gas           Gov. Aggregation
COH             157788430031                Gas           Gov. Aggregation   COH             110987120020                Gas           Gov. Aggregation
COH             175579980019                Gas           Gov. Aggregation   COH             188421440010                Gas           Gov. Aggregation
COH             187572680012                Gas           Gov. Aggregation   COH             153960260026                Gas           Gov. Aggregation
COH             187480780025                Gas           Gov. Aggregation   COH             187548210011                Gas           Gov. Aggregation
COH             189765240013                Gas           Gov. Aggregation   COH             190330450017                Gas           Gov. Aggregation
COH             165917380019                Gas           Gov. Aggregation   COH             188199980010                Gas           Gov. Aggregation
COH             137700550025                Gas           Gov. Aggregation   COH             167439380011                Gas           Gov. Aggregation
COH             148095380014                Gas           Gov. Aggregation   COH             188617730014                Gas           Gov. Aggregation
COH             190511190018                Gas           Gov. Aggregation   COH             136788110015                Gas           Gov. Aggregation
COH             189899350017                Gas           Gov. Aggregation   COH             188759540014                Gas           Gov. Aggregation
COH             189286100018                Gas           Gov. Aggregation   COH             110988360028                Gas           Gov. Aggregation
COH             163197900019                Gas           Gov. Aggregation   COH             171918120013                Gas           Gov. Aggregation
COH             110987930039                Gas           Gov. Aggregation   COH             189209050011                Gas           Gov. Aggregation
COH             111012180013                Gas           Gov. Aggregation   COH             188711690013                Gas           Gov. Aggregation
COH             134177890019                Gas           Gov. Aggregation   COH             166045020058                Gas           Gov. Aggregation
COH             190798480011                Gas           Gov. Aggregation   COH             129969400019                Gas           Gov. Aggregation
COH             188357690015                Gas           Gov. Aggregation   COH             166050490013                Gas           Gov. Aggregation
COH             145256330033                Gas           Gov. Aggregation   COH             155516470030                Gas           Gov. Aggregation
COH             144279630033                Gas           Gov. Aggregation   COH             144862800012                Gas           Gov. Aggregation
COH             111012510013                Gas           Gov. Aggregation   COH             134071170023                Gas           Gov. Aggregation
COH             154982280025                Gas           Gov. Aggregation   COH             158650880019                Gas           Gov. Aggregation
COH             110994780018                Gas           Gov. Aggregation   COH             110993780010                Gas           Gov. Aggregation
COH             189670680012                Gas           Gov. Aggregation   COH             128692700014                Gas           Gov. Aggregation
COH             139978450018                Gas           Gov. Aggregation   COH             170254130010                Gas           Gov. Aggregation
COH             165527980056                Gas           Gov. Aggregation   COH             131795030012                Gas           Gov. Aggregation
COH             176187710015                Gas           Gov. Aggregation   COH             154613160030                Gas           Gov. Aggregation
COH             110993880019                Gas           Gov. Aggregation   COH             111014080029                Gas           Gov. Aggregation
COH             162845740019                Gas           Gov. Aggregation   COH             153392170011                Gas           Gov. Aggregation
COH             110987540040                Gas           Gov. Aggregation   COH             187758420012                Gas           Gov. Aggregation
COH             185068740010                Gas           Gov. Aggregation   COH             158946720015                Gas           Gov. Aggregation
COH             162773340025                Gas           Gov. Aggregation   COH             136435530014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             174511560010                Gas           Gov. Aggregation   COH             143430190017                Gas           Gov. Aggregation
COH             187784240015                Gas           Gov. Aggregation   COH             185426140016                Gas           Gov. Aggregation
COH             191006550012                Gas           Gov. Aggregation   COH             190798510014                Gas           Gov. Aggregation
COH             146283480025                Gas           Gov. Aggregation   COH             190908210012                Gas           Gov. Aggregation
COH             133118470012                Gas           Gov. Aggregation   COH             110960910011                Gas           Gov. Aggregation
COH             172260590019                Gas           Gov. Aggregation   COH             110969360019                Gas           Gov. Aggregation
COH             164827650023                Gas           Gov. Aggregation   COH             110975360034                Gas           Gov. Aggregation
COH             110959610026                Gas           Gov. Aggregation   COH             151763290020                Gas           Gov. Aggregation
COH             142128040010                Gas           Gov. Aggregation   COH             185092230016                Gas           Gov. Aggregation
COH             190243850018                Gas           Gov. Aggregation   COH             188286290010                Gas           Gov. Aggregation
COH             167279490036                Gas           Gov. Aggregation   COH             110975740025                Gas           Gov. Aggregation
COH             189662760012                Gas           Gov. Aggregation   COH             110981400014                Gas           Gov. Aggregation
COH             191093260010                Gas           Gov. Aggregation   COH             185035750026                Gas           Gov. Aggregation
COH             173460840011                Gas           Gov. Aggregation   COH             144928580019                Gas           Gov. Aggregation
COH             160771580030                Gas           Gov. Aggregation   COH             147966080020                Gas           Gov. Aggregation
COH             174743690021                Gas           Gov. Aggregation   COH             172175520014                Gas           Gov. Aggregation
COH             161697550015                Gas           Gov. Aggregation   COH             188112800019                Gas           Gov. Aggregation
COH             163803700014                Gas           Gov. Aggregation   COH             189485790012                Gas           Gov. Aggregation
COH             152245010016                Gas           Gov. Aggregation   COH             168521330042                Gas           Gov. Aggregation
COH             189062570014                Gas           Gov. Aggregation   COH             110962210014                Gas           Gov. Aggregation
COH             176618870026                Gas           Gov. Aggregation   COH             185127670028                Gas           Gov. Aggregation
COH             154762920053                Gas           Gov. Aggregation   COH             191093220018                Gas           Gov. Aggregation
COH             145560850011                Gas           Gov. Aggregation   COH             191170550015                Gas           Gov. Aggregation
COH             111015130017                Gas           Gov. Aggregation   COH             191234760015                Gas           Gov. Aggregation
COH             190063210014                Gas           Gov. Aggregation   COH             191081810019                Gas           Gov. Aggregation
COH             189085640011                Gas           Gov. Aggregation   COH             187288410020                Gas           Gov. Aggregation
COH             190267580015                Gas           Gov. Aggregation   COH             191237020014                Gas           Gov. Aggregation
COH             152817860033                Gas           Gov. Aggregation   COH             191139020012                Gas           Gov. Aggregation
COH             190833000015                Gas           Gov. Aggregation   COH             190970010013                Gas           Gov. Aggregation
COH             155296600021                Gas           Gov. Aggregation   COH             191044310012                Gas           Gov. Aggregation
COH             108697500038                Gas           Gov. Aggregation   COH             185716370022                Gas           Gov. Aggregation
COH             134876970029                Gas           Gov. Aggregation   COH             191236940013                Gas           Gov. Aggregation
COH             164276880051                Gas           Gov. Aggregation   COH             191115000016                Gas           Gov. Aggregation
COH             191200630013                Gas           Gov. Aggregation   COH             168615870022                Gas           Gov. Aggregation
COH             168807360022                Gas           Gov. Aggregation   COH             176358070044                Gas           Gov. Aggregation
COH             191047580010                Gas           Gov. Aggregation   COH             191235390011                Gas           Gov. Aggregation
COH             191292100011                Gas           Gov. Aggregation   COH             122379810011                Gas           Gov. Aggregation
COH             191125470017                Gas           Gov. Aggregation   COH             142249930017                Gas           Gov. Aggregation
COH             155751620067                Gas           Gov. Aggregation   COH             110304590019                Gas           Gov. Aggregation
COH             164064580026                Gas           Gov. Aggregation   COH             189823540016                Gas           Gov. Aggregation
COH             191284900010                Gas           Gov. Aggregation   COH             110364150015                Gas           Gov. Aggregation
COH             191156490018                Gas           Gov. Aggregation   COH             110399860013                Gas           Gov. Aggregation
COH             177062480035                Gas           Gov. Aggregation   COH             186351340012                Gas           Gov. Aggregation
COH             186104550020                Gas           Gov. Aggregation   COH             110343000029                Gas           Gov. Aggregation
COH             136288380019                Gas           Gov. Aggregation   COH             169958250034                Gas           Gov. Aggregation
COH             191083290015                Gas           Gov. Aggregation   COH             143865970076                Gas           Gov. Aggregation
COH             124400520022                Gas           Gov. Aggregation   COH             186276750016                Gas           Gov. Aggregation
COH             171697320039                Gas           Gov. Aggregation   COH             135215660014                Gas           Gov. Aggregation
COH             167956030036                Gas           Gov. Aggregation   COH             111068610024                Gas           Gov. Aggregation
COH             164787490023                Gas           Gov. Aggregation   COH             110361930026                Gas           Gov. Aggregation
COH             191196860016                Gas           Gov. Aggregation   COH             168172720014                Gas           Gov. Aggregation
COH             117249900032                Gas           Gov. Aggregation   COH             110371200037                Gas           Gov. Aggregation
COH             125419590028                Gas           Gov. Aggregation   COH             110370260082                Gas           Gov. Aggregation
COH             155274120028                Gas           Gov. Aggregation   COH             114502480081                Gas           Gov. Aggregation
COH             161007410015                Gas           Gov. Aggregation   COH             122337870053                Gas           Gov. Aggregation
COH             191209190018                Gas           Gov. Aggregation   COH             122344020010                Gas           Gov. Aggregation
COH             114980510037                Gas           Gov. Aggregation   COH             122344030018                Gas           Gov. Aggregation
COH             187402560025                Gas           Gov. Aggregation   COH             122345430030                Gas           Gov. Aggregation
COH             157125030020                Gas           Gov. Aggregation   COH             122346120024                Gas           Gov. Aggregation
COH             191208930014                Gas           Gov. Aggregation   COH             122349570015                Gas           Gov. Aggregation
COH             191009820019                Gas           Gov. Aggregation   COH             122350500016                Gas           Gov. Aggregation
COH             125781620033                Gas           Gov. Aggregation   COH             122351140029                Gas           Gov. Aggregation
COH             131597910160                Gas           Gov. Aggregation   COH             122356990021                Gas           Gov. Aggregation
COH             191176130011                Gas           Gov. Aggregation   COH             122357100025                Gas           Gov. Aggregation
COH             191174200010                Gas           Gov. Aggregation   COH             122357210022                Gas           Gov. Aggregation
COH             110387120022                Gas           Gov. Aggregation   COH             122357570027                Gas           Gov. Aggregation
COH             191112530011                Gas           Gov. Aggregation   COH             122357890011                Gas           Gov. Aggregation
COH             152800670010                Gas           Gov. Aggregation   COH             122358660017                Gas           Gov. Aggregation
COH             161139020018                Gas           Gov. Aggregation   COH             122366870025                Gas           Gov. Aggregation
COH             110406830012                Gas           Gov. Aggregation   COH             122367260012                Gas           Gov. Aggregation
COH             173899170022                Gas           Gov. Aggregation   COH             122368310019                Gas           Gov. Aggregation
COH             155777470010                Gas           Gov. Aggregation   COH             122368670014                Gas           Gov. Aggregation
COH             168898510065                Gas           Gov. Aggregation   COH             122376930012                Gas           Gov. Aggregation
COH             138050870026                Gas           Gov. Aggregation   COH             122377720014                Gas           Gov. Aggregation
COH             116598080019                Gas           Gov. Aggregation   COH             122377980056                Gas           Gov. Aggregation
COH             169782210044                Gas           Gov. Aggregation   COH             122378170018                Gas           Gov. Aggregation
COH             190949690016                Gas           Gov. Aggregation   COH             122382340022                Gas           Gov. Aggregation
COH             110291160018                Gas           Gov. Aggregation   COH             122383560024                Gas           Gov. Aggregation
COH             110372920016                Gas           Gov. Aggregation   COH             122384090012                Gas           Gov. Aggregation
COH             110274110014                Gas           Gov. Aggregation   COH             122384140039                Gas           Gov. Aggregation
COH             110401500020                Gas           Gov. Aggregation   COH             122384240029                Gas           Gov. Aggregation
COH             110292490017                Gas           Gov. Aggregation   COH             122384460014                Gas           Gov. Aggregation
COH             114570020048                Gas           Gov. Aggregation   COH             122390780014                Gas           Gov. Aggregation
COH             119255180048                Gas           Gov. Aggregation   COH             122391380016                Gas           Gov. Aggregation
COH             122336140012                Gas           Gov. Aggregation   COH             122391690011                Gas           Gov. Aggregation
COH             122337530018                Gas           Gov. Aggregation   COH             122392760023                Gas           Gov. Aggregation
COH             122346950011                Gas           Gov. Aggregation   COH             122393060037                Gas           Gov. Aggregation
COH             122347770017                Gas           Gov. Aggregation   COH             122396150014                Gas           Gov. Aggregation
COH             122348070012                Gas           Gov. Aggregation   COH             122402790015                Gas           Gov. Aggregation
COH             122348080010                Gas           Gov. Aggregation   COH             122403120013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             122348120020                Gas           Gov. Aggregation   COH             122403440025                Gas           Gov. Aggregation
COH             122348340015                Gas           Gov. Aggregation   COH             122403880014                Gas           Gov. Aggregation
COH             122352360021                Gas           Gov. Aggregation   COH             122415400028                Gas           Gov. Aggregation
COH             122353110030                Gas           Gov. Aggregation   COH             122415900014                Gas           Gov. Aggregation
COH             122354180016                Gas           Gov. Aggregation   COH             122416240011                Gas           Gov. Aggregation
COH             122355620057                Gas           Gov. Aggregation   COH             122419590021                Gas           Gov. Aggregation
COH             122355830017                Gas           Gov. Aggregation   COH             122419960014                Gas           Gov. Aggregation
COH             122358870013                Gas           Gov. Aggregation   COH             122428070012                Gas           Gov. Aggregation
COH             122362130019                Gas           Gov. Aggregation   COH             122429020038                Gas           Gov. Aggregation
COH             122378680011                Gas           Gov. Aggregation   COH             122430950012                Gas           Gov. Aggregation
COH             122378690019                Gas           Gov. Aggregation   COH             122431720018                Gas           Gov. Aggregation
COH             122378910012                Gas           Gov. Aggregation   COH             122436710047                Gas           Gov. Aggregation
COH             122379720010                Gas           Gov. Aggregation   COH             122437410011                Gas           Gov. Aggregation
COH             122384990022                Gas           Gov. Aggregation   COH             122438070039                Gas           Gov. Aggregation
COH             122385180039                Gas           Gov. Aggregation   COH             122441690014                Gas           Gov. Aggregation
COH             122401780019                Gas           Gov. Aggregation   COH             122460900028                Gas           Gov. Aggregation
COH             122402230021                Gas           Gov. Aggregation   COH             122466100015                Gas           Gov. Aggregation
COH             122404730013                Gas           Gov. Aggregation   COH             122466250041                Gas           Gov. Aggregation
COH             122404900026                Gas           Gov. Aggregation   COH             122467300011                Gas           Gov. Aggregation
COH             122405100022                Gas           Gov. Aggregation   COH             122469190011                Gas           Gov. Aggregation
COH             122407100055                Gas           Gov. Aggregation   COH             122474170050                Gas           Gov. Aggregation
COH             122413850028                Gas           Gov. Aggregation   COH             122474250035                Gas           Gov. Aggregation
COH             122413990029                Gas           Gov. Aggregation   COH             122474560021                Gas           Gov. Aggregation
COH             122420260018                Gas           Gov. Aggregation   COH             122474730025                Gas           Gov. Aggregation
COH             122421580028                Gas           Gov. Aggregation   COH             122474860019                Gas           Gov. Aggregation
COH             122421780017                Gas           Gov. Aggregation   COH             122475510029                Gas           Gov. Aggregation
COH             122422340017                Gas           Gov. Aggregation   COH             122475610019                Gas           Gov. Aggregation
COH             122423720033                Gas           Gov. Aggregation   COH             122477980027                Gas           Gov. Aggregation
COH             122432540023                Gas           Gov. Aggregation   COH             122478560023                Gas           Gov. Aggregation
COH             122436460013                Gas           Gov. Aggregation   COH             122478620011                Gas           Gov. Aggregation
COH             122443310019                Gas           Gov. Aggregation   COH             122479550023                Gas           Gov. Aggregation
COH             122448200030                Gas           Gov. Aggregation   COH             122479700012                Gas           Gov. Aggregation
COH             122458700016                Gas           Gov. Aggregation   COH             122490690011                Gas           Gov. Aggregation
COH             122460610010                Gas           Gov. Aggregation   COH             122491460017                Gas           Gov. Aggregation
COH             122469540017                Gas           Gov. Aggregation   COH             122492440019                Gas           Gov. Aggregation
COH             122469840014                Gas           Gov. Aggregation   COH             122493500023                Gas           Gov. Aggregation
COH             122469910028                Gas           Gov. Aggregation   COH             122507860018                Gas           Gov. Aggregation
COH             122471230035                Gas           Gov. Aggregation   COH             122507880078                Gas           Gov. Aggregation
COH             122475890039                Gas           Gov. Aggregation   COH             122508190044                Gas           Gov. Aggregation
COH             122476820013                Gas           Gov. Aggregation   COH             122508730022                Gas           Gov. Aggregation
COH             122479940021                Gas           Gov. Aggregation   COH             122511490026                Gas           Gov. Aggregation
COH             122480030010                Gas           Gov. Aggregation   COH             122511910045                Gas           Gov. Aggregation
COH             122481150031                Gas           Gov. Aggregation   COH             122513870013                Gas           Gov. Aggregation
COH             122481310037                Gas           Gov. Aggregation   COH             122514480022                Gas           Gov. Aggregation
COH             122481360019                Gas           Gov. Aggregation   COH             122516020051                Gas           Gov. Aggregation
COH             122482470023                Gas           Gov. Aggregation   COH             122520340028                Gas           Gov. Aggregation
COH             122487060029                Gas           Gov. Aggregation   COH             122547230025                Gas           Gov. Aggregation
COH             122487670012                Gas           Gov. Aggregation   COH             122570960023                Gas           Gov. Aggregation
COH             122487920028                Gas           Gov. Aggregation   COH             128908630029                Gas           Gov. Aggregation
COH             122490020011                Gas           Gov. Aggregation   COH             129101410033                Gas           Gov. Aggregation
COH             122495210011                Gas           Gov. Aggregation   COH             130025530028                Gas           Gov. Aggregation
COH             122495220019                Gas           Gov. Aggregation   COH             133604630026                Gas           Gov. Aggregation
COH             122502540015                Gas           Gov. Aggregation   COH             133656303149                Gas           Gov. Aggregation
COH             122505920019                Gas           Gov. Aggregation   COH             133705910032                Gas           Gov. Aggregation
COH             122506970017                Gas           Gov. Aggregation   COH             134170020042                Gas           Gov. Aggregation
COH             122512770016                Gas           Gov. Aggregation   COH             134350050026                Gas           Gov. Aggregation
COH             122513020011                Gas           Gov. Aggregation   COH             136568560026                Gas           Gov. Aggregation
COH             122513180018                Gas           Gov. Aggregation   COH             136938050037                Gas           Gov. Aggregation
COH             122513420035                Gas           Gov. Aggregation   COH             136943090010                Gas           Gov. Aggregation
COH             122581840132                Gas           Gov. Aggregation   COH             136975580029                Gas           Gov. Aggregation
COH             126881950077                Gas           Gov. Aggregation   COH             137168380049                Gas           Gov. Aggregation
COH             130114750630                Gas           Gov. Aggregation   COH             137190660016                Gas           Gov. Aggregation
COH             130114750649                Gas           Gov. Aggregation   COH             140867560026                Gas           Gov. Aggregation
COH             130114750667                Gas           Gov. Aggregation   COH             140878350027                Gas           Gov. Aggregation
COH             130114780027                Gas           Gov. Aggregation   COH             140884820016                Gas           Gov. Aggregation
COH             130128760022                Gas           Gov. Aggregation   COH             140894490024                Gas           Gov. Aggregation
COH             130254510036                Gas           Gov. Aggregation   COH             140894810017                Gas           Gov. Aggregation
COH             131381220046                Gas           Gov. Aggregation   COH             142183980044                Gas           Gov. Aggregation
COH             131463570049                Gas           Gov. Aggregation   COH             142872020026                Gas           Gov. Aggregation
COH             131464340036                Gas           Gov. Aggregation   COH             143062800019                Gas           Gov. Aggregation
COH             131846831185                Gas           Gov. Aggregation   COH             143092680030                Gas           Gov. Aggregation
COH             131918260012                Gas           Gov. Aggregation   COH             146766960020                Gas           Gov. Aggregation
COH             132984070012                Gas           Gov. Aggregation   COH             146889330031                Gas           Gov. Aggregation
COH             133074400010                Gas           Gov. Aggregation   COH             147212710015                Gas           Gov. Aggregation
COH             133196170020                Gas           Gov. Aggregation   COH             147479660021                Gas           Gov. Aggregation
COH             133307480019                Gas           Gov. Aggregation   COH             147595580022                Gas           Gov. Aggregation
COH             134612620048                Gas           Gov. Aggregation   COH             148217890017                Gas           Gov. Aggregation
COH             134846360011                Gas           Gov. Aggregation   COH             148375590016                Gas           Gov. Aggregation
COH             135801100036                Gas           Gov. Aggregation   COH             148916270024                Gas           Gov. Aggregation
COH             135814700015                Gas           Gov. Aggregation   COH             149843840037                Gas           Gov. Aggregation
COH             136200800014                Gas           Gov. Aggregation   COH             149925240020                Gas           Gov. Aggregation
COH             136411000024                Gas           Gov. Aggregation   COH             151981430037                Gas           Gov. Aggregation
COH             137217660027                Gas           Gov. Aggregation   COH             152064410025                Gas           Gov. Aggregation
COH             137587670013                Gas           Gov. Aggregation   COH             152910280028                Gas           Gov. Aggregation
COH             138437550014                Gas           Gov. Aggregation   COH             153014890038                Gas           Gov. Aggregation
COH             138631270020                Gas           Gov. Aggregation   COH             153719490038                Gas           Gov. Aggregation
COH             138877100025                Gas           Gov. Aggregation   COH             153755310039                Gas           Gov. Aggregation
COH             138916270035                Gas           Gov. Aggregation   COH             153841740036                Gas           Gov. Aggregation
COH             140108170035                Gas           Gov. Aggregation   COH             153881780016                Gas           Gov. Aggregation
COH             140213710010                Gas           Gov. Aggregation   COH             153904620046                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             140318440097                Gas           Gov. Aggregation   COH             155665060013                Gas           Gov. Aggregation
COH             140913470062                Gas           Gov. Aggregation   COH             155708300010                Gas           Gov. Aggregation
COH             140974780014                Gas           Gov. Aggregation   COH             155771920017                Gas           Gov. Aggregation
COH             141157460012                Gas           Gov. Aggregation   COH             155974710048                Gas           Gov. Aggregation
COH             141341950018                Gas           Gov. Aggregation   COH             156203100020                Gas           Gov. Aggregation
COH             141486070026                Gas           Gov. Aggregation   COH             157460620026                Gas           Gov. Aggregation
COH             141580900030                Gas           Gov. Aggregation   COH             157666110027                Gas           Gov. Aggregation
COH             142411560047                Gas           Gov. Aggregation   COH             157902310023                Gas           Gov. Aggregation
COH             142532810020                Gas           Gov. Aggregation   COH             158167650067                Gas           Gov. Aggregation
COH             142609530017                Gas           Gov. Aggregation   COH             158293660031                Gas           Gov. Aggregation
COH             142644710015                Gas           Gov. Aggregation   COH             158334110010                Gas           Gov. Aggregation
COH             143755750020                Gas           Gov. Aggregation   COH             158384220049                Gas           Gov. Aggregation
COH             144049460027                Gas           Gov. Aggregation   COH             158899890039                Gas           Gov. Aggregation
COH             144231910025                Gas           Gov. Aggregation   COH             159388650013                Gas           Gov. Aggregation
COH             144844050018                Gas           Gov. Aggregation   COH             159427870022                Gas           Gov. Aggregation
COH             144844080030                Gas           Gov. Aggregation   COH             159999150013                Gas           Gov. Aggregation
COH             144868400023                Gas           Gov. Aggregation   COH             160157790029                Gas           Gov. Aggregation
COH             145052140026                Gas           Gov. Aggregation   COH             160250380018                Gas           Gov. Aggregation
COH             146462010023                Gas           Gov. Aggregation   COH             160250410084                Gas           Gov. Aggregation
COH             146590130027                Gas           Gov. Aggregation   COH             160498170036                Gas           Gov. Aggregation
COH             147732110028                Gas           Gov. Aggregation   COH             160512970036                Gas           Gov. Aggregation
COH             147964290039                Gas           Gov. Aggregation   COH             160996570018                Gas           Gov. Aggregation
COH             149363860013                Gas           Gov. Aggregation   COH             161127760027                Gas           Gov. Aggregation
COH             149624960027                Gas           Gov. Aggregation   COH             161284280017                Gas           Gov. Aggregation
COH             149633860010                Gas           Gov. Aggregation   COH             161320280064                Gas           Gov. Aggregation
COH             149674240014                Gas           Gov. Aggregation   COH             161516530011                Gas           Gov. Aggregation
COH             150173460017                Gas           Gov. Aggregation   COH             162122320019                Gas           Gov. Aggregation
COH             150281600027                Gas           Gov. Aggregation   COH             162284740019                Gas           Gov. Aggregation
COH             150390970029                Gas           Gov. Aggregation   COH             162428140028                Gas           Gov. Aggregation
COH             151379740020                Gas           Gov. Aggregation   COH             163108720014                Gas           Gov. Aggregation
COH             151583950023                Gas           Gov. Aggregation   COH             163894310015                Gas           Gov. Aggregation
COH             151639560026                Gas           Gov. Aggregation   COH             164037690011                Gas           Gov. Aggregation
COH             152361960039                Gas           Gov. Aggregation   COH             164041390042                Gas           Gov. Aggregation
COH             153526240020                Gas           Gov. Aggregation   COH             164214590025                Gas           Gov. Aggregation
COH             154472070011                Gas           Gov. Aggregation   COH             165157500015                Gas           Gov. Aggregation
COH             154717460037                Gas           Gov. Aggregation   COH             165172240018                Gas           Gov. Aggregation
COH             154888030018                Gas           Gov. Aggregation   COH             165303340107                Gas           Gov. Aggregation
COH             155373850025                Gas           Gov. Aggregation   COH             165641970038                Gas           Gov. Aggregation
COH             155377420045                Gas           Gov. Aggregation   COH             165802560032                Gas           Gov. Aggregation
COH             155545900029                Gas           Gov. Aggregation   COH             165838540013                Gas           Gov. Aggregation
COH             156383110019                Gas           Gov. Aggregation   COH             165895680014                Gas           Gov. Aggregation
COH             156420910011                Gas           Gov. Aggregation   COH             165942110012                Gas           Gov. Aggregation
COH             157182920014                Gas           Gov. Aggregation   COH             165949470013                Gas           Gov. Aggregation
COH             157203550016                Gas           Gov. Aggregation   COH             168119040028                Gas           Gov. Aggregation
COH             157217390020                Gas           Gov. Aggregation   COH             168250140029                Gas           Gov. Aggregation
COH             157241480020                Gas           Gov. Aggregation   COH             170036800011                Gas           Gov. Aggregation
COH             157391710033                Gas           Gov. Aggregation   COH             170234740014                Gas           Gov. Aggregation
COH             158101380133                Gas           Gov. Aggregation   COH             171761230013                Gas           Gov. Aggregation
COH             158167520019                Gas           Gov. Aggregation   COH             171790710020                Gas           Gov. Aggregation
COH             158631850033                Gas           Gov. Aggregation   COH             171944600017                Gas           Gov. Aggregation
COH             158678630022                Gas           Gov. Aggregation   COH             172238140029                Gas           Gov. Aggregation
COH             158782870021                Gas           Gov. Aggregation   COH             172438530032                Gas           Gov. Aggregation
COH             159489620033                Gas           Gov. Aggregation   COH             172891110021                Gas           Gov. Aggregation
COH             159548550041                Gas           Gov. Aggregation   COH             172900330033                Gas           Gov. Aggregation
COH             159682180027                Gas           Gov. Aggregation   COH             172930390029                Gas           Gov. Aggregation
COH             160761350020                Gas           Gov. Aggregation   COH             172951440015                Gas           Gov. Aggregation
COH             160837260019                Gas           Gov. Aggregation   COH             173270100019                Gas           Gov. Aggregation
COH             161734260034                Gas           Gov. Aggregation   COH             173313620018                Gas           Gov. Aggregation
COH             162602440043                Gas           Gov. Aggregation   COH             173503060013                Gas           Gov. Aggregation
COH             162612340016                Gas           Gov. Aggregation   COH             173546870013                Gas           Gov. Aggregation
COH             162697390036                Gas           Gov. Aggregation   COH             175609850011                Gas           Gov. Aggregation
COH             162727870030                Gas           Gov. Aggregation   COH             175641560032                Gas           Gov. Aggregation
COH             162792630015                Gas           Gov. Aggregation   COH             176176590014                Gas           Gov. Aggregation
COH             162824530017                Gas           Gov. Aggregation   COH             176585600032                Gas           Gov. Aggregation
COH             162859350030                Gas           Gov. Aggregation   COH             176632110016                Gas           Gov. Aggregation
COH             163559760039                Gas           Gov. Aggregation   COH             177541360025                Gas           Gov. Aggregation
COH             163822170016                Gas           Gov. Aggregation   COH             177668030026                Gas           Gov. Aggregation
COH             164399660011                Gas           Gov. Aggregation   COH             177791050030                Gas           Gov. Aggregation
COH             164424920020                Gas           Gov. Aggregation   COH             185007620013                Gas           Gov. Aggregation
COH             164931790014                Gas           Gov. Aggregation   COH             185519320011                Gas           Gov. Aggregation
COH             165039110026                Gas           Gov. Aggregation   COH             185606870011                Gas           Gov. Aggregation
COH             165480010022                Gas           Gov. Aggregation   COH             185939770017                Gas           Gov. Aggregation
COH             165575850043                Gas           Gov. Aggregation   COH             185985130023                Gas           Gov. Aggregation
COH             165596090012                Gas           Gov. Aggregation   COH             187269350032                Gas           Gov. Aggregation
COH             166073950116                Gas           Gov. Aggregation   COH             187909390018                Gas           Gov. Aggregation
COH             166168050052                Gas           Gov. Aggregation   COH             188749350033                Gas           Gov. Aggregation
COH             166982130013                Gas           Gov. Aggregation   COH             189427330010                Gas           Gov. Aggregation
COH             167008790036                Gas           Gov. Aggregation   COH             189438610036                Gas           Gov. Aggregation
COH             167025490024                Gas           Gov. Aggregation   COH             189455020016                Gas           Gov. Aggregation
COH             167962270033                Gas           Gov. Aggregation   COH             189461200015                Gas           Gov. Aggregation
COH             168075800031                Gas           Gov. Aggregation   COH             189662540018                Gas           Gov. Aggregation
COH             168410190029                Gas           Gov. Aggregation   COH             189670740019                Gas           Gov. Aggregation
COH             168491590034                Gas           Gov. Aggregation   COH             189678670018                Gas           Gov. Aggregation
COH             168495050011                Gas           Gov. Aggregation   COH             189689010013                Gas           Gov. Aggregation
COH             168783750022                Gas           Gov. Aggregation   COH             189689070039                Gas           Gov. Aggregation
COH             168871860013                Gas           Gov. Aggregation   COH             189724000019                Gas           Gov. Aggregation
COH             169042680017                Gas           Gov. Aggregation   COH             190082550013                Gas           Gov. Aggregation
COH             169068070020                Gas           Gov. Aggregation   COH             190243960015                Gas           Gov. Aggregation
COH             169568460037                Gas           Gov. Aggregation   COH             190286270010                Gas           Gov. Aggregation
COH             169743320025                Gas           Gov. Aggregation   COH             190300460018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             170458800017                Gas           Gov. Aggregation   COH             190313700010                Gas           Gov. Aggregation
COH             170841910011                Gas           Gov. Aggregation   COH             190315350010                Gas           Gov. Aggregation
COH             170906320017                Gas           Gov. Aggregation   COH             190326980015                Gas           Gov. Aggregation
COH             171476570017                Gas           Gov. Aggregation   COH             190334490011                Gas           Gov. Aggregation
COH             171575140026                Gas           Gov. Aggregation   COH             190378430011                Gas           Gov. Aggregation
COH             171641680013                Gas           Gov. Aggregation   COH             190392150010                Gas           Gov. Aggregation
COH             172095250039                Gas           Gov. Aggregation   COH             190393510012                Gas           Gov. Aggregation
COH             172100990013                Gas           Gov. Aggregation   COH             190478150018                Gas           Gov. Aggregation
COH             172108600018                Gas           Gov. Aggregation   COH             190478180012                Gas           Gov. Aggregation
COH             172175600017                Gas           Gov. Aggregation   COH             190516270011                Gas           Gov. Aggregation
COH             172527750019                Gas           Gov. Aggregation   COH             190526480016                Gas           Gov. Aggregation
COH             172613560016                Gas           Gov. Aggregation   COH             190568660010                Gas           Gov. Aggregation
COH             172712190014                Gas           Gov. Aggregation   COH             190584520015                Gas           Gov. Aggregation
COH             173016450023                Gas           Gov. Aggregation   COH             190746570011                Gas           Gov. Aggregation
COH             173193580013                Gas           Gov. Aggregation   COH             190766710019                Gas           Gov. Aggregation
COH             174118650015                Gas           Gov. Aggregation   COH             190768790019                Gas           Gov. Aggregation
COH             174261090038                Gas           Gov. Aggregation   COH             190833480015                Gas           Gov. Aggregation
COH             174724940019                Gas           Gov. Aggregation   COH             190871130018                Gas           Gov. Aggregation
COH             174808650012                Gas           Gov. Aggregation   COH             190871160012                Gas           Gov. Aggregation
COH             175334850014                Gas           Gov. Aggregation   COH             191017660016                Gas           Gov. Aggregation
COH             175376620014                Gas           Gov. Aggregation   COH             191019170015                Gas           Gov. Aggregation
COH             175384360012                Gas           Gov. Aggregation   COH             191019270014                Gas           Gov. Aggregation
COH             175411040029                Gas           Gov. Aggregation   COH             191031000014                Gas           Gov. Aggregation
COH             176365540013                Gas           Gov. Aggregation   COH             191031020010                Gas           Gov. Aggregation
COH             176441390022                Gas           Gov. Aggregation   COH             191093600018                Gas           Gov. Aggregation
COH             176893930030                Gas           Gov. Aggregation   COH             191222070015                Gas           Gov. Aggregation
COH             176941380042                Gas           Gov. Aggregation   COH             191330320013                Gas           Gov. Aggregation
COH             177322820013                Gas           Gov. Aggregation   COH             191487450015                Gas           Gov. Aggregation
COH             177373600021                Gas           Gov. Aggregation   COH             122495760016                Gas           Gov. Aggregation
COH             177381160018                Gas           Gov. Aggregation   COH             122512420019                Gas           Gov. Aggregation
COH             177503970027                Gas           Gov. Aggregation   COH             121977960013                Gas           Gov. Aggregation
COH             185032030023                Gas           Gov. Aggregation   COH             164949770155                Gas           Gov. Aggregation
COH             185321060015                Gas           Gov. Aggregation   COH             121977921172                Gas           Gov. Aggregation
COH             185342470015                Gas           Gov. Aggregation   COH             164949770244                Gas           Gov. Aggregation
COH             185354640014                Gas           Gov. Aggregation   COH             185444330018                Gas           Gov. Aggregation
COH             185370280016                Gas           Gov. Aggregation   COH             164949770253                Gas           Gov. Aggregation
COH             185632280010                Gas           Gov. Aggregation   COH             164949770137                Gas           Gov. Aggregation
COH             185687080026                Gas           Gov. Aggregation   COH             155436130013                Gas           Gov. Aggregation
COH             185742640039                Gas           Gov. Aggregation   COH             124445190055                Gas           Gov. Aggregation
COH             185779550013                Gas           Gov. Aggregation   COH             146190050022                Gas           Gov. Aggregation
COH             186072630013                Gas           Gov. Aggregation   COH             150047020034                Gas           Gov. Aggregation
COH             186633690011                Gas           Gov. Aggregation   COH             164157360034                Gas           Gov. Aggregation
COH             187327090024                Gas           Gov. Aggregation   COH             166827150017                Gas           Gov. Aggregation
COH             187429650020                Gas           Gov. Aggregation   COH             191279400016                Gas           Gov. Aggregation
COH             187495380019                Gas           Gov. Aggregation   COH             191369050019                Gas           Gov. Aggregation
COH             187694660018                Gas           Gov. Aggregation   COH             191405670011                Gas           Gov. Aggregation
COH             187983090024                Gas           Gov. Aggregation   COH             191498150015                Gas           Gov. Aggregation
COH             188249650049                Gas           Gov. Aggregation   COH             122355760021                Gas           Gov. Aggregation
COH             188579690015                Gas           Gov. Aggregation   COH             122405450010                Gas           Gov. Aggregation
COH             189383870011                Gas           Gov. Aggregation   COH             111227850017                Gas           Gov. Aggregation
COH             189402600024                Gas           Gov. Aggregation   COH             111104840019                Gas           Gov. Aggregation
COH             189476250014                Gas           Gov. Aggregation   COH             111109160012                Gas           Gov. Aggregation
COH             189491080018                Gas           Gov. Aggregation   COH             135367080015                Gas           Gov. Aggregation
COH             189562540010                Gas           Gov. Aggregation   COH             138743280030                Gas           Gov. Aggregation
COH             189628860013                Gas           Gov. Aggregation   COH             149918260012                Gas           Gov. Aggregation
COH             189646660017                Gas           Gov. Aggregation   COH             158783960020                Gas           Gov. Aggregation
COH             189705160025                Gas           Gov. Aggregation   COH             160317780076                Gas           Gov. Aggregation
COH             189713990015                Gas           Gov. Aggregation   COH             163465790014                Gas           Gov. Aggregation
COH             189715340017                Gas           Gov. Aggregation   COH             168055820011                Gas           Gov. Aggregation
COH             189888550018                Gas           Gov. Aggregation   COH             191592730013                Gas           Gov. Aggregation
COH             189893040014                Gas           Gov. Aggregation   COH             191605470117                Gas           Gov. Aggregation
COH             189904820015                Gas           Gov. Aggregation   COH             191607610015                Gas           Gov. Aggregation
COH             189978770011                Gas           Gov. Aggregation   COH             191633620018                Gas           Gov. Aggregation
COH             189992990015                Gas           Gov. Aggregation   COH             191639220010                Gas           Gov. Aggregation
COH             190013690019                Gas           Gov. Aggregation   COH             191656830016                Gas           Gov. Aggregation
COH             190115200015                Gas           Gov. Aggregation   COH             191703860019                Gas           Gov. Aggregation
COH             190116640011                Gas           Gov. Aggregation   COH             191729170010                Gas           Gov. Aggregation
COH             190175040013                Gas           Gov. Aggregation   COH             191729640011                Gas           Gov. Aggregation
COH             190341640014                Gas           Gov. Aggregation   COH             191744110010                Gas           Gov. Aggregation
COH             190362880010                Gas           Gov. Aggregation   COH             156578970016                Gas           Gov. Aggregation
COH             190452510016                Gas           Gov. Aggregation   COH             187302150014                Gas           Gov. Aggregation
COH             190505640016                Gas           Gov. Aggregation   COH             187339870016                Gas           Gov. Aggregation
COH             190644480016                Gas           Gov. Aggregation   COH             108801890034                Gas           Gov. Aggregation
COH             190644650010                Gas           Gov. Aggregation   COH             137585640013                Gas           Gov. Aggregation
COH             190654850017                Gas           Gov. Aggregation   COH             108788740035                Gas           Gov. Aggregation
COH             190740720011                Gas           Gov. Aggregation   COH             147814910017                Gas           Gov. Aggregation
COH             190798580010                Gas           Gov. Aggregation   COH             190398320012                Gas           Gov. Aggregation
COH             190849390011                Gas           Gov. Aggregation   COH             189524680011                Gas           Gov. Aggregation
COH             190862320017                Gas           Gov. Aggregation   COH             187656630014                Gas           Gov. Aggregation
COH             190886530013                Gas           Gov. Aggregation   COH             141506060015                Gas           Gov. Aggregation
COH             190943080016                Gas           Gov. Aggregation   COH             140298890024                Gas           Gov. Aggregation
COH             190943090014                Gas           Gov. Aggregation   COH             163555030012                Gas           Gov. Aggregation
COH             190946140017                Gas           Gov. Aggregation   COH             166036510036                Gas           Gov. Aggregation
COH             191010060016                Gas           Gov. Aggregation   COH             186598090013                Gas           Gov. Aggregation
COH             191059920013                Gas           Gov. Aggregation   COH             128922960075                Gas           Gov. Aggregation
COH             191069430015                Gas           Gov. Aggregation   COH             160263910019                Gas           Gov. Aggregation
COH             191110670016                Gas           Gov. Aggregation   COH             172506320013                Gas           Gov. Aggregation
COH             191204860017                Gas           Gov. Aggregation   COH             174608360017                Gas           Gov. Aggregation
COH             191210660016                Gas           Gov. Aggregation   COH             169663090015                Gas           Gov. Aggregation
COH             191276070012                Gas           Gov. Aggregation   COH             112258440017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             191318540013                Gas           Gov. Aggregation   COH             123814960042                Gas           Gov. Aggregation
COH             191395370017                Gas           Gov. Aggregation   COH             127403320043                Gas           Gov. Aggregation
COH             191405550016                Gas           Gov. Aggregation   COH             132430630035                Gas           Gov. Aggregation
COH             191415570011                Gas           Gov. Aggregation   COH             159858620012                Gas           Gov. Aggregation
COH             191462760012                Gas           Gov. Aggregation   COH             164626040027                Gas           Gov. Aggregation
COH             191467040013                Gas           Gov. Aggregation   COH             164895820024                Gas           Gov. Aggregation
COH             122355240011                Gas           Gov. Aggregation   COH             165256880016                Gas           Gov. Aggregation
COH             122376010015                Gas           Gov. Aggregation   COH             171840170018                Gas           Gov. Aggregation
COH             122380730024                Gas           Gov. Aggregation   COH             176066950020                Gas           Gov. Aggregation
COH             122397820039                Gas           Gov. Aggregation   COH             187723600035                Gas           Gov. Aggregation
COH             122476340014                Gas           Gov. Aggregation   COH             189297770024                Gas           Gov. Aggregation
COH             122495330016                Gas           Gov. Aggregation   COH             191611650018                Gas           Gov. Aggregation
COH             146158530010                Gas           Gov. Aggregation   COH             191617490010                Gas           Gov. Aggregation
COH             121977921234                Gas           Gov. Aggregation   COH             191837090018                Gas           Gov. Aggregation
COH             158522090052                Gas           Gov. Aggregation   COH             191861690011                Gas           Gov. Aggregation
COH             122480440014                Gas           Gov. Aggregation   COH             191900680019                Gas           Gov. Aggregation
COH             122378200011                Gas           Gov. Aggregation   COH             191954950019                Gas           Gov. Aggregation
COH             143683080015                Gas           Gov. Aggregation   COH             122345920019                Gas           Gov. Aggregation
COH             125837790011                Gas           Gov. Aggregation   COH             141396890034                Gas           Gov. Aggregation
COH             122397940016                Gas           Gov. Aggregation   COH             161175580033                Gas           Gov. Aggregation
COH             143574250010                Gas           Gov. Aggregation   COH             191840920016                Gas           Gov. Aggregation
COH             122385360022                Gas           Gov. Aggregation   COH             146450800040                Gas           Gov. Aggregation
COH             151991180020                Gas           Gov. Aggregation   COH             147271410096                Gas           Gov. Aggregation
COH             122405230016                Gas           Gov. Aggregation   COH             151640710030                Gas           Gov. Aggregation
COH             123711300011                Gas           Gov. Aggregation   COH             153852500024                Gas           Gov. Aggregation
COH             123768210084                Gas           Gov. Aggregation   COH             155030520011                Gas           Gov. Aggregation
COH             147186340047                Gas           Gov. Aggregation   COH             165099160020                Gas           Gov. Aggregation
COH             155606230039                Gas           Gov. Aggregation   COH             169073450172                Gas           Gov. Aggregation
COH             156962130035                Gas           Gov. Aggregation   COH             187023610046                Gas           Gov. Aggregation
COH             157477670012                Gas           Gov. Aggregation   COH             187878670025                Gas           Gov. Aggregation
COH             159860460039                Gas           Gov. Aggregation   COH             191113280012                Gas           Gov. Aggregation
COH             164415990016                Gas           Gov. Aggregation   COH             191851390015                Gas           Gov. Aggregation
COH             168657760027                Gas           Gov. Aggregation   COH             191908410019                Gas           Gov. Aggregation
COH             169240690033                Gas           Gov. Aggregation   COH             191953520011                Gas           Gov. Aggregation
COH             170142600072                Gas           Gov. Aggregation   COH             191956940017                Gas           Gov. Aggregation
COH             185104980058                Gas           Gov. Aggregation   COH             191985370016                Gas           Gov. Aggregation
COH             185152340024                Gas           Gov. Aggregation   COH             192068870014                Gas           Gov. Aggregation
COH             187956240038                Gas           Gov. Aggregation   COH             192069430014                Gas           Gov. Aggregation
COH             191210420016                Gas           Gov. Aggregation   COH             125754980017                Gas           Gov. Aggregation
COH             191237900019                Gas           Gov. Aggregation   COH             122464310015                Gas           Gov. Aggregation
COH             191320540018                Gas           Gov. Aggregation   COH             123876990028                Gas           Gov. Aggregation
COH             191345770018                Gas           Gov. Aggregation   COH             123804330018                Gas           Gov. Aggregation
COH             191354380011                Gas           Gov. Aggregation   COH             123804330027                Gas           Gov. Aggregation
COH             191366170010                Gas           Gov. Aggregation   COH             123846760029                Gas           Gov. Aggregation
COH             191376990017                Gas           Gov. Aggregation   COH             123890630014                Gas           Gov. Aggregation
COH             191390340013                Gas           Gov. Aggregation   COH             108850350016                Gas           Gov. Aggregation
COH             191403450011                Gas           Gov. Aggregation   COH             134398810017                Gas           Gov. Aggregation
COH             191404660015                Gas           Gov. Aggregation   COH             133111990017                Gas           Gov. Aggregation
COH             191437530013                Gas           Gov. Aggregation   COH             133112070018                Gas           Gov. Aggregation
COH             191445070013                Gas           Gov. Aggregation   COH             117321420011                Gas           Gov. Aggregation
COH             191446140016                Gas           Gov. Aggregation   COH             149107500038                Gas           Gov. Aggregation
COH             191466960012                Gas           Gov. Aggregation   COH             149639650209                Gas           Gov. Aggregation
COH             191467340010                Gas           Gov. Aggregation   COH             149650290023                Gas           Gov. Aggregation
COH             191475680012                Gas           Gov. Aggregation   COH             149765000039                Gas           Gov. Aggregation
COH             108738330027                Gas           Gov. Aggregation   COH             151068520016                Gas           Gov. Aggregation
COH             119219250076                Gas           Gov. Aggregation   COH             150003470041                Gas           Gov. Aggregation
COH             120786760039                Gas           Gov. Aggregation   COH             151138850027                Gas           Gov. Aggregation
COH             138299750025                Gas           Gov. Aggregation   COH             151254130013                Gas           Gov. Aggregation
COH             151169060108                Gas           Gov. Aggregation   COH             151358380011                Gas           Gov. Aggregation
COH             154325050043                Gas           Gov. Aggregation   COH             149188390014                Gas           Gov. Aggregation
COH             156162320013                Gas           Gov. Aggregation   COH             149845630019                Gas           Gov. Aggregation
COH             161885820046                Gas           Gov. Aggregation   COH             150026550037                Gas           Gov. Aggregation
COH             166422380035                Gas           Gov. Aggregation   COH             150063240016                Gas           Gov. Aggregation
COH             167545060013                Gas           Gov. Aggregation   COH             150963720017                Gas           Gov. Aggregation
COH             177758950013                Gas           Gov. Aggregation   COH             135295460018                Gas           Gov. Aggregation
COH             186101460016                Gas           Gov. Aggregation   COH             135763160018                Gas           Gov. Aggregation
COH             189915510026                Gas           Gov. Aggregation   COH             187950380013                Gas           Gov. Aggregation
COH             191473440016                Gas           Gov. Aggregation   COH             134884340042                Gas           Gov. Aggregation
COH             191481900012                Gas           Gov. Aggregation   COH             137600440020                Gas           Gov. Aggregation
COH             191535250014                Gas           Gov. Aggregation   COH             175930490016                Gas           Gov. Aggregation
COH             191565210019                Gas           Gov. Aggregation   COH             188322260018                Gas           Gov. Aggregation
COH             191590270014                Gas           Gov. Aggregation   COH             177140660013                Gas           Gov. Aggregation
COH             191625640011                Gas           Gov. Aggregation   COH             177273520020                Gas           Gov. Aggregation
COH             191638430018                Gas           Gov. Aggregation   COH             176831240026                Gas           Gov. Aggregation
COH             191638490016                Gas           Gov. Aggregation   COH             176874920014                Gas           Gov. Aggregation
COH             191642790014                Gas           Gov. Aggregation   COH             177527180041                Gas           Gov. Aggregation
COH             191668970012                Gas           Gov. Aggregation   COH             145091150013                Gas           Gov. Aggregation
COH             191708160016                Gas           Gov. Aggregation   COH             188613890019                Gas           Gov. Aggregation
COH             191718400014                Gas           Gov. Aggregation   COH             177024720025                Gas           Gov. Aggregation
COH             114916360034                Gas           Gov. Aggregation   COH             188598890013                Gas           Gov. Aggregation
COH             108791220019                Gas           Gov. Aggregation   COH             177326910016                Gas           Gov. Aggregation
COH             113271540062                Gas           Gov. Aggregation   COH             176813630013                Gas           Gov. Aggregation
COH             190629990011                Gas           Gov. Aggregation   COH             176858960010                Gas           Gov. Aggregation
COH             187715590017                Gas           Gov. Aggregation   COH             189184830011                Gas           Gov. Aggregation
COH             108788620012                Gas           Gov. Aggregation   COH             177010780022                Gas           Gov. Aggregation
COH             131768440013                Gas           Gov. Aggregation   COH             177429760038                Gas           Gov. Aggregation
COH             137978390013                Gas           Gov. Aggregation   COH             177706940014                Gas           Gov. Aggregation
COH             108807160026                Gas           Gov. Aggregation   COH             177609650020                Gas           Gov. Aggregation
COH             108790430017                Gas           Gov. Aggregation   COH             185230270014                Gas           Gov. Aggregation
COH             171616950019                Gas           Gov. Aggregation   COH             185227120012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             108789330011                Gas           Gov. Aggregation   COH             145425730012                Gas           Gov. Aggregation
COH             188674430017                Gas           Gov. Aggregation   COH             185267600017                Gas           Gov. Aggregation
COH             188442510011                Gas           Gov. Aggregation   COH             189037240016                Gas           Gov. Aggregation
COH             152145910019                Gas           Gov. Aggregation   COH             189615990013                Gas           Gov. Aggregation
COH             149610110015                Gas           Gov. Aggregation   COH             190063500013                Gas           Gov. Aggregation
COH             158624190037                Gas           Gov. Aggregation   COH             190012110012                Gas           Gov. Aggregation
COH             109066320023                Gas           Gov. Aggregation   COH             185752530013                Gas           Gov. Aggregation
COH             190449300017                Gas           Gov. Aggregation   COH             185811300024                Gas           Gov. Aggregation
COH             190439070017                Gas           Gov. Aggregation   COH             185910610010                Gas           Gov. Aggregation
COH             148174260039                Gas           Gov. Aggregation   COH             146165460010                Gas           Gov. Aggregation
COH             108800810078                Gas           Gov. Aggregation   COH             186158350010                Gas           Gov. Aggregation
COH             191601690011                Gas           Gov. Aggregation   COH             170599110014                Gas           Gov. Aggregation
COH             147312950022                Gas           Gov. Aggregation   COH             121925320016                Gas           Gov. Aggregation
COH             158118050039                Gas           Gov. Aggregation   COH             186366770011                Gas           Gov. Aggregation
COH             190953020017                Gas           Gov. Aggregation   COH             186366820010                Gas           Gov. Aggregation
COH             119507290022                Gas           Gov. Aggregation   COH             168211780045                Gas           Gov. Aggregation
COH             146204760013                Gas           Gov. Aggregation   COH             170107740013                Gas           Gov. Aggregation
COH             108791710034                Gas           Gov. Aggregation   COH             117323400011                Gas           Gov. Aggregation
COH             149171130013                Gas           Gov. Aggregation   COH             172821530020                Gas           Gov. Aggregation
COH             138801300022                Gas           Gov. Aggregation   COH             150472310014                Gas           Gov. Aggregation
COH             145128590012                Gas           Gov. Aggregation   COH             120540720019                Gas           Gov. Aggregation
COH             155718070018                Gas           Gov. Aggregation   COH             167797340011                Gas           Gov. Aggregation
COH             174510020015                Gas           Gov. Aggregation   COH             125784400015                Gas           Gov. Aggregation
COH             190865890012                Gas           Gov. Aggregation   COH             118051890015                Gas           Gov. Aggregation
COH             132262150033                Gas           Gov. Aggregation   COH             165486380096                Gas           Gov. Aggregation
COH             129871750013                Gas           Gov. Aggregation   COH             186533320038                Gas           Gov. Aggregation
COH             170751470015                Gas           Gov. Aggregation   COH             137111380020                Gas           Gov. Aggregation
COH             146306720015                Gas           Gov. Aggregation   COH             175383940012                Gas           Gov. Aggregation
COH             188615600015                Gas           Gov. Aggregation   COH             186278330010                Gas           Gov. Aggregation
COH             188615610013                Gas           Gov. Aggregation   COH             168511000015                Gas           Gov. Aggregation
COH             148048580011                Gas           Gov. Aggregation   COH             186827160020                Gas           Gov. Aggregation
COH             174699730018                Gas           Gov. Aggregation   COH             186675490015                Gas           Gov. Aggregation
COH             108847900017                Gas           Gov. Aggregation   COH             191306760012                Gas           Gov. Aggregation
COH             164723320013                Gas           Gov. Aggregation   COH             186824970017                Gas           Gov. Aggregation
COH             155388410071                Gas           Gov. Aggregation   COH             187149570021                Gas           Gov. Aggregation
COH             187645060017                Gas           Gov. Aggregation   COH             191451320017                Gas           Gov. Aggregation
COH             139189200013                Gas           Gov. Aggregation   COH             187039890018                Gas           Gov. Aggregation
COH             142468480027                Gas           Gov. Aggregation   COH             186804210018                Gas           Gov. Aggregation
COH             108848990017                Gas           Gov. Aggregation   COH             191150090014                Gas           Gov. Aggregation
COH             111267860011                Gas           Gov. Aggregation   COH             191232740013                Gas           Gov. Aggregation
COH             137848780043                Gas           Gov. Aggregation   COH             172400100013                Gas           Gov. Aggregation
COH             108783620076                Gas           Gov. Aggregation   COH             187310660010                Gas           Gov. Aggregation
COH             128743990033                Gas           Gov. Aggregation   COH             171502190010                Gas           Gov. Aggregation
COH             135075600318                Gas           Gov. Aggregation   COH             187447090011                Gas           Gov. Aggregation
COH             143984330050                Gas           Gov. Aggregation   COH             187538010014                Gas           Gov. Aggregation
COH             144317950061                Gas           Gov. Aggregation   COH             187546390018                Gas           Gov. Aggregation
COH             156152350161                Gas           Gov. Aggregation   COH             187740000017                Gas           Gov. Aggregation
COH             166323000383                Gas           Gov. Aggregation   COH             192206620012                Gas           Gov. Aggregation
COH             167769110027                Gas           Gov. Aggregation   COH             192240270014                Gas           Gov. Aggregation
COH             173178350022                Gas           Gov. Aggregation   COH             187905710018                Gas           Gov. Aggregation
COH             175312440025                Gas           Gov. Aggregation   COH             187946210026                Gas           Gov. Aggregation
COH             176404700033                Gas           Gov. Aggregation   COH             188041110015                Gas           Gov. Aggregation
COH             176678740045                Gas           Gov. Aggregation   COH             188041790013                Gas           Gov. Aggregation
COH             186574900012                Gas           Gov. Aggregation   COH             188048690010                Gas           Gov. Aggregation
COH             186764520037                Gas           Gov. Aggregation   COH             188126300015                Gas           Gov. Aggregation
COH             187418500015                Gas           Gov. Aggregation   COH             188249500013                Gas           Gov. Aggregation
COH             187787400015                Gas           Gov. Aggregation   COH             188433140018                Gas           Gov. Aggregation
COH             189150730040                Gas           Gov. Aggregation   COH             188487220027                Gas           Gov. Aggregation
COH             191662030011                Gas           Gov. Aggregation   COH             188687920017                Gas           Gov. Aggregation
COH             191681190018                Gas           Gov. Aggregation   COH             188803450027                Gas           Gov. Aggregation
COH             191726960010                Gas           Gov. Aggregation   COH             188594440015                Gas           Gov. Aggregation
COH             191812090010                Gas           Gov. Aggregation   COH             188826670023                Gas           Gov. Aggregation
COH             191817680016                Gas           Gov. Aggregation   COH             189052150013                Gas           Gov. Aggregation
COH             191820460015                Gas           Gov. Aggregation   COH             189062520014                Gas           Gov. Aggregation
COH             191837950017                Gas           Gov. Aggregation   COH             189124000011                Gas           Gov. Aggregation
COH             191838210010                Gas           Gov. Aggregation   COH             189209000020                Gas           Gov. Aggregation
COH             191888790014                Gas           Gov. Aggregation   COH             189237220016                Gas           Gov. Aggregation
COH             122470520027                Gas           Gov. Aggregation   COH             189292640012                Gas           Gov. Aggregation
COH             108740960011                Gas           Gov. Aggregation   COH             189079450014                Gas           Gov. Aggregation
COH             112441130059                Gas           Gov. Aggregation   COH             189175280016                Gas           Gov. Aggregation
COH             114949780046                Gas           Gov. Aggregation   COH             189774040016                Gas           Gov. Aggregation
COH             123728260015                Gas           Gov. Aggregation   COH             189805800019                Gas           Gov. Aggregation
COH             136854620035                Gas           Gov. Aggregation   COH             190108530011                Gas           Gov. Aggregation
COH             144100380042                Gas           Gov. Aggregation   COH             189570510019                Gas           Gov. Aggregation
COH             150345740086                Gas           Gov. Aggregation   COH             189962370018                Gas           Gov. Aggregation
COH             156339250022                Gas           Gov. Aggregation   COH             190375000017                Gas           Gov. Aggregation
COH             158740980035                Gas           Gov. Aggregation   COH             190811860011                Gas           Gov. Aggregation
COH             163220470037                Gas           Gov. Aggregation   COH             190811890015                Gas           Gov. Aggregation
COH             164888450036                Gas           Gov. Aggregation   COH             190499250013                Gas           Gov. Aggregation
COH             168097400020                Gas           Gov. Aggregation   COH             190977040013                Gas           Gov. Aggregation
COH             175427530023                Gas           Gov. Aggregation   COH             190711500018                Gas           Gov. Aggregation
COH             175435930022                Gas           Gov. Aggregation   COH             190953000011                Gas           Gov. Aggregation
COH             176230690035                Gas           Gov. Aggregation   COH             190576860020                Gas           Gov. Aggregation
COH             186879690020                Gas           Gov. Aggregation   COH             191018660014                Gas           Gov. Aggregation
COH             191849940014                Gas           Gov. Aggregation   COH             190993030011                Gas           Gov. Aggregation
COH             191875080010                Gas           Gov. Aggregation   COH             190851460011                Gas           Gov. Aggregation
COH             191902800019                Gas           Gov. Aggregation   COH             191173990017                Gas           Gov. Aggregation
COH             191907970014                Gas           Gov. Aggregation   COH             191221200019                Gas           Gov. Aggregation
COH             191951480014                Gas           Gov. Aggregation   COH             191221710012                Gas           Gov. Aggregation
COH             191959610010                Gas           Gov. Aggregation   COH             191285000017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             191969100016                Gas           Gov. Aggregation   COH             191540140034                Gas           Gov. Aggregation
COH             191971620012                Gas           Gov. Aggregation   COH             191680040011                Gas           Gov. Aggregation
COH             191997760019                Gas           Gov. Aggregation   COH             188252080015                Gas           Gov. Aggregation
COH             192010000017                Gas           Gov. Aggregation   COH             188255080019                Gas           Gov. Aggregation
COH             165770790042                Gas           Gov. Aggregation   COH             191376720013                Gas           Gov. Aggregation
COH             145978390040                Gas           Gov. Aggregation   COH             191517590011                Gas           Gov. Aggregation
COH             147571180017                Gas           Gov. Aggregation   COH             191290940019                Gas           Gov. Aggregation
COH             123840700023                Gas           Gov. Aggregation   COH             191701370016                Gas           Gov. Aggregation
COH             123849430013                Gas           Gov. Aggregation   COH             191823670033                Gas           Gov. Aggregation
COH             123849430022                Gas           Gov. Aggregation   COH             189267170014                Gas           Gov. Aggregation
COH             123849430040                Gas           Gov. Aggregation   COH             187903190012                Gas           Gov. Aggregation
COH             123890620016                Gas           Gov. Aggregation   COH             187910200023                Gas           Gov. Aggregation
COH             108834760023                Gas           Gov. Aggregation   COH             187958350013                Gas           Gov. Aggregation
COH             134398810026                Gas           Gov. Aggregation   COH             187971590015                Gas           Gov. Aggregation
COH             124608620012                Gas           Gov. Aggregation   COH             189883420015                Gas           Gov. Aggregation
COH             124570200011                Gas           Gov. Aggregation   COH             192218980012                Gas           Gov. Aggregation
COH             124608630010                Gas           Gov. Aggregation   COH             192221110017                Gas           Gov. Aggregation
COH             138112470019                Gas           Gov. Aggregation   COH             149399740013                Gas           Gov. Aggregation
COH             134049660027                Gas           Gov. Aggregation   COH             192149360019                Gas           Gov. Aggregation
COH             159361630031                Gas           Gov. Aggregation   COH             190165560015                Gas           Gov. Aggregation
VEDO            4004619422622872            Gas           Gov. Aggregation   COH             190356580016                Gas           Gov. Aggregation
COH             111236510019                Gas           Gov. Aggregation   COH             190466540011                Gas           Gov. Aggregation
COH             149765760012                Gas           Gov. Aggregation   COH             155117980039                Gas           Gov. Aggregation
COH             149866120012                Gas           Gov. Aggregation   COH             155784410017                Gas           Gov. Aggregation
COH             150305210018                Gas           Gov. Aggregation   COH             156291690022                Gas           Gov. Aggregation
COH             151269060026                Gas           Gov. Aggregation   COH             158720090016                Gas           Gov. Aggregation
COH             149412040010                Gas           Gov. Aggregation   COH             158771720016                Gas           Gov. Aggregation
COH             149735170037                Gas           Gov. Aggregation   COH             165246730018                Gas           Gov. Aggregation
COH             150608490036                Gas           Gov. Aggregation   COH             158357920067                Gas           Gov. Aggregation
COH             150733890028                Gas           Gov. Aggregation   COH             191215970020                Gas           Gov. Aggregation
COH             149603370025                Gas           Gov. Aggregation   COH             191510650012                Gas           Gov. Aggregation
COH             149660740018                Gas           Gov. Aggregation   COH             191605470233                Gas           Gov. Aggregation
COH             150183710022                Gas           Gov. Aggregation   COH             111328010019                Gas           Gov. Aggregation
COH             150715300010                Gas           Gov. Aggregation   COH             111326790010                Gas           Gov. Aggregation
COH             175442550027                Gas           Gov. Aggregation   COH             111327090015                Gas           Gov. Aggregation
COH             175708670019                Gas           Gov. Aggregation   COH             111323590036                Gas           Gov. Aggregation
COH             176226200027                Gas           Gov. Aggregation   COH             111324940012                Gas           Gov. Aggregation
COH             136826890010                Gas           Gov. Aggregation   COH             111328870019                Gas           Gov. Aggregation
COH             138389200010                Gas           Gov. Aggregation   COH             111399310017                Gas           Gov. Aggregation
COH             132506660029                Gas           Gov. Aggregation   COH             111472820023                Gas           Gov. Aggregation
COH             134022390011                Gas           Gov. Aggregation   COH             191642280011                Gas           Gov. Aggregation
COH             134732300014                Gas           Gov. Aggregation   COH             135411250023                Gas           Gov. Aggregation
COH             136891740023                Gas           Gov. Aggregation   COH             138277220013                Gas           Gov. Aggregation
COH             140904590011                Gas           Gov. Aggregation   COH             144322720022                Gas           Gov. Aggregation
COH             140593240015                Gas           Gov. Aggregation   COH             144400950019                Gas           Gov. Aggregation
COH             187996720015                Gas           Gov. Aggregation   COH             174523110019                Gas           Gov. Aggregation
COH             142807360031                Gas           Gov. Aggregation   COH             192152580016                Gas           Gov. Aggregation
COH             142895600017                Gas           Gov. Aggregation   COH             173131850016                Gas           Gov. Aggregation
COH             177064250011                Gas           Gov. Aggregation   COH             111097950013                Gas           Gov. Aggregation
COH             177149480013                Gas           Gov. Aggregation   COH             111098200027                Gas           Gov. Aggregation
COH             177221620028                Gas           Gov. Aggregation   COH             185485160018                Gas           Gov. Aggregation
COH             177287160018                Gas           Gov. Aggregation   COH             176090450015                Gas           Gov. Aggregation
COH             177080910018                Gas           Gov. Aggregation   COH             177275190017                Gas           Gov. Aggregation
COH             177491570019                Gas           Gov. Aggregation   COH             185266040017                Gas           Gov. Aggregation
COH             144873800019                Gas           Gov. Aggregation   COH             176470200011                Gas           Gov. Aggregation
COH             177157900017                Gas           Gov. Aggregation   COH             189231500019                Gas           Gov. Aggregation
COH             141647300034                Gas           Gov. Aggregation   COH             189788360010                Gas           Gov. Aggregation
COH             177095470029                Gas           Gov. Aggregation   COH             191215890018                Gas           Gov. Aggregation
COH             189001460015                Gas           Gov. Aggregation   COH             164526580017                Gas           Gov. Aggregation
COH             177185330018                Gas           Gov. Aggregation   COH             127533550040                Gas           Gov. Aggregation
COH             177275570017                Gas           Gov. Aggregation   COH             191941270019                Gas           Gov. Aggregation
COH             177425030020                Gas           Gov. Aggregation   COH             124436530016                Gas           Gov. Aggregation
COH             189506850013                Gas           Gov. Aggregation   COH             150102030016                Gas           Gov. Aggregation
COH             189554050010                Gas           Gov. Aggregation   COH             148199670022                Gas           Gov. Aggregation
COH             185010030029                Gas           Gov. Aggregation   COH             149578670063                Gas           Gov. Aggregation
COH             143911010014                Gas           Gov. Aggregation   COH             149592990011                Gas           Gov. Aggregation
COH             145196640018                Gas           Gov. Aggregation   COH             150213030011                Gas           Gov. Aggregation
COH             185086840011                Gas           Gov. Aggregation   COH             150608490018                Gas           Gov. Aggregation
COH             145837980017                Gas           Gov. Aggregation   COH             150717660020                Gas           Gov. Aggregation
COH             143030390022                Gas           Gov. Aggregation   COH             151389590021                Gas           Gov. Aggregation
COH             143713190017                Gas           Gov. Aggregation   COH             152032850020                Gas           Gov. Aggregation
COH             189490300013                Gas           Gov. Aggregation   COH             152123160068                Gas           Gov. Aggregation
COH             185244730018                Gas           Gov. Aggregation   COH             152651910034                Gas           Gov. Aggregation
COH             189856070016                Gas           Gov. Aggregation   COH             153118690049                Gas           Gov. Aggregation
COH             190410940014                Gas           Gov. Aggregation   COH             154096050040                Gas           Gov. Aggregation
COH             185752610016                Gas           Gov. Aggregation   COH             154127060023                Gas           Gov. Aggregation
COH             185880880028                Gas           Gov. Aggregation   COH             151617510013                Gas           Gov. Aggregation
COH             190533310025                Gas           Gov. Aggregation   COH             152174860019                Gas           Gov. Aggregation
COH             185958940011                Gas           Gov. Aggregation   COH             152363300033                Gas           Gov. Aggregation
COH             185975330040                Gas           Gov. Aggregation   COH             152381140011                Gas           Gov. Aggregation
COH             166370030011                Gas           Gov. Aggregation   COH             152589490027                Gas           Gov. Aggregation
COH             185385060011                Gas           Gov. Aggregation   COH             153143450028                Gas           Gov. Aggregation
COH             185831600010                Gas           Gov. Aggregation   COH             153435510026                Gas           Gov. Aggregation
COH             185970970019                Gas           Gov. Aggregation   COH             152346600045                Gas           Gov. Aggregation
COH             190671650013                Gas           Gov. Aggregation   COH             153098030014                Gas           Gov. Aggregation
COH             186170760018                Gas           Gov. Aggregation   COH             153657390022                Gas           Gov. Aggregation
COH             186354290017                Gas           Gov. Aggregation   COH             154253193259                Gas           Gov. Aggregation
COH             146817150012                Gas           Gov. Aggregation   COH             154464560033                Gas           Gov. Aggregation
COH             115794120051                Gas           Gov. Aggregation   COH             154944870012                Gas           Gov. Aggregation
COH             191947360018                Gas           Gov. Aggregation   COH             155492950022                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             133439160017                Gas           Gov. Aggregation   COH             153466080022                Gas           Gov. Aggregation
COH             191457850014                Gas           Gov. Aggregation   COH             153499780017                Gas           Gov. Aggregation
COH             190724470018                Gas           Gov. Aggregation   COH             153814990013                Gas           Gov. Aggregation
COH             186317040017                Gas           Gov. Aggregation   COH             154373160012                Gas           Gov. Aggregation
COH             186378610019                Gas           Gov. Aggregation   COH             155090240014                Gas           Gov. Aggregation
COH             153285700016                Gas           Gov. Aggregation   COH             153946050020                Gas           Gov. Aggregation
COH             108732080013                Gas           Gov. Aggregation   COH             154017070015                Gas           Gov. Aggregation
COH             192087220010                Gas           Gov. Aggregation   COH             154666240014                Gas           Gov. Aggregation
COH             188922100028                Gas           Gov. Aggregation   COH             155435700024                Gas           Gov. Aggregation
COH             190371320018                Gas           Gov. Aggregation   COH             155651030027                Gas           Gov. Aggregation
COH             189651330015                Gas           Gov. Aggregation   COH             155677940022                Gas           Gov. Aggregation
COH             166400980026                Gas           Gov. Aggregation   COH             155956570055                Gas           Gov. Aggregation
COH             186438090011                Gas           Gov. Aggregation   COH             156602450012                Gas           Gov. Aggregation
COH             186477790012                Gas           Gov. Aggregation   COH             156630030020                Gas           Gov. Aggregation
COH             190830390010                Gas           Gov. Aggregation   COH             156630030039                Gas           Gov. Aggregation
COH             161963930010                Gas           Gov. Aggregation   COH             155643460015                Gas           Gov. Aggregation
COH             186474160010                Gas           Gov. Aggregation   COH             157307200028                Gas           Gov. Aggregation
COH             186555980016                Gas           Gov. Aggregation   COH             154289600018                Gas           Gov. Aggregation
COH             190919100012                Gas           Gov. Aggregation   COH             154806840038                Gas           Gov. Aggregation
COH             191123830015                Gas           Gov. Aggregation   COH             155523140016                Gas           Gov. Aggregation
COH             186711290037                Gas           Gov. Aggregation   COH             156675470024                Gas           Gov. Aggregation
COH             168954620035                Gas           Gov. Aggregation   COH             157409600037                Gas           Gov. Aggregation
COH             170089390071                Gas           Gov. Aggregation   COH             157796740020                Gas           Gov. Aggregation
COH             186878640013                Gas           Gov. Aggregation   COH             157969790014                Gas           Gov. Aggregation
COH             186942550015                Gas           Gov. Aggregation   COH             157988220022                Gas           Gov. Aggregation
COH             166886670032                Gas           Gov. Aggregation   COH             158091290037                Gas           Gov. Aggregation
COH             186470720010                Gas           Gov. Aggregation   COH             158373000011                Gas           Gov. Aggregation
COH             187016540028                Gas           Gov. Aggregation   COH             158398050019                Gas           Gov. Aggregation
COH             171141760016                Gas           Gov. Aggregation   COH             157085590029                Gas           Gov. Aggregation
COH             187385350018                Gas           Gov. Aggregation   COH             157197140026                Gas           Gov. Aggregation
COH             187464220017                Gas           Gov. Aggregation   COH             157226430013                Gas           Gov. Aggregation
COH             187464610015                Gas           Gov. Aggregation   COH             158167030012                Gas           Gov. Aggregation
COH             172521310022                Gas           Gov. Aggregation   COH             158521740011                Gas           Gov. Aggregation
COH             191603180014                Gas           Gov. Aggregation   COH             158832250015                Gas           Gov. Aggregation
COH             187488300010                Gas           Gov. Aggregation   COH             158823130028                Gas           Gov. Aggregation
COH             191245730018                Gas           Gov. Aggregation   COH             159248340014                Gas           Gov. Aggregation
COH             186867300017                Gas           Gov. Aggregation   COH             158744650018                Gas           Gov. Aggregation
COH             187634920028                Gas           Gov. Aggregation   COH             158794340018                Gas           Gov. Aggregation
COH             187247400019                Gas           Gov. Aggregation   COH             159785940010                Gas           Gov. Aggregation
COH             191874540015                Gas           Gov. Aggregation   COH             159842900025                Gas           Gov. Aggregation
COH             187065970016                Gas           Gov. Aggregation   COH             159788630064                Gas           Gov. Aggregation
COH             187074560013                Gas           Gov. Aggregation   COH             159827010051                Gas           Gov. Aggregation
COH             187187250019                Gas           Gov. Aggregation   COH             160488860014                Gas           Gov. Aggregation
COH             187288010015                Gas           Gov. Aggregation   COH             160505000016                Gas           Gov. Aggregation
COH             187828310016                Gas           Gov. Aggregation   COH             160285070029                Gas           Gov. Aggregation
COH             173941420019                Gas           Gov. Aggregation   COH             160389470016                Gas           Gov. Aggregation
COH             187866830017                Gas           Gov. Aggregation   COH             161989990014                Gas           Gov. Aggregation
COH             187800390018                Gas           Gov. Aggregation   COH             160598210044                Gas           Gov. Aggregation
COH             192055700025                Gas           Gov. Aggregation   COH             161396190028                Gas           Gov. Aggregation
COH             187851200010                Gas           Gov. Aggregation   COH             161428260015                Gas           Gov. Aggregation
COH             188031710010                Gas           Gov. Aggregation   COH             161746610035                Gas           Gov. Aggregation
COH             188168680018                Gas           Gov. Aggregation   COH             161841590010                Gas           Gov. Aggregation
COH             188171360018                Gas           Gov. Aggregation   COH             162174800019                Gas           Gov. Aggregation
COH             174723980013                Gas           Gov. Aggregation   COH             162204870010                Gas           Gov. Aggregation
COH             188337510014                Gas           Gov. Aggregation   COH             161755480016                Gas           Gov. Aggregation
COH             188341810012                Gas           Gov. Aggregation   COH             161881560012                Gas           Gov. Aggregation
COH             188570050017                Gas           Gov. Aggregation   COH             162699810015                Gas           Gov. Aggregation
COH             188606420021                Gas           Gov. Aggregation   COH             162211130010                Gas           Gov. Aggregation
COH             188725460012                Gas           Gov. Aggregation   COH             162366500024                Gas           Gov. Aggregation
COH             188605400018                Gas           Gov. Aggregation   COH             163048450019                Gas           Gov. Aggregation
COH             188683890012                Gas           Gov. Aggregation   COH             163240140016                Gas           Gov. Aggregation
COH             188812850024                Gas           Gov. Aggregation   COH             162519700018                Gas           Gov. Aggregation
COH             188980720017                Gas           Gov. Aggregation   COH             163469420013                Gas           Gov. Aggregation
COH             175372600016                Gas           Gov. Aggregation   COH             163645750038                Gas           Gov. Aggregation
COH             188880180013                Gas           Gov. Aggregation   COH             163743270031                Gas           Gov. Aggregation
COH             188975820017                Gas           Gov. Aggregation   COH             163896590022                Gas           Gov. Aggregation
COH             174854140012                Gas           Gov. Aggregation   COH             162314220013                Gas           Gov. Aggregation
COH             189070710017                Gas           Gov. Aggregation   COH             162765490012                Gas           Gov. Aggregation
COH             189225900018                Gas           Gov. Aggregation   COH             163093100026                Gas           Gov. Aggregation
COH             189025400017                Gas           Gov. Aggregation   COH             163307580012                Gas           Gov. Aggregation
COH             189124460015                Gas           Gov. Aggregation   COH             163597230012                Gas           Gov. Aggregation
COH             189185390012                Gas           Gov. Aggregation   COH             163621730014                Gas           Gov. Aggregation
COH             175941520016                Gas           Gov. Aggregation   COH             163726720014                Gas           Gov. Aggregation
COH             175971580020                Gas           Gov. Aggregation   COH             163855670012                Gas           Gov. Aggregation
COH             189455830025                Gas           Gov. Aggregation   COH             164356090011                Gas           Gov. Aggregation
COH             189861480019                Gas           Gov. Aggregation   COH             163044920018                Gas           Gov. Aggregation
COH             177290500108                Gas           Gov. Aggregation   COH             163374890016                Gas           Gov. Aggregation
COH             190108270016                Gas           Gov. Aggregation   COH             164399150018                Gas           Gov. Aggregation
COH             189408490017                Gas           Gov. Aggregation   COH             164428730013                Gas           Gov. Aggregation
COH             189538040016                Gas           Gov. Aggregation   COH             164995290015                Gas           Gov. Aggregation
COH             177761140025                Gas           Gov. Aggregation   COH             165182850019                Gas           Gov. Aggregation
COH             190262450012                Gas           Gov. Aggregation   COH             164067200029                Gas           Gov. Aggregation
COH             190267420018                Gas           Gov. Aggregation   COH             164476100014                Gas           Gov. Aggregation
COH             190438500018                Gas           Gov. Aggregation   COH             164745010012                Gas           Gov. Aggregation
COH             190397180014                Gas           Gov. Aggregation   COH             165629660011                Gas           Gov. Aggregation
COH             190551020019                Gas           Gov. Aggregation   COH             165616440014                Gas           Gov. Aggregation
COH             190798370014                Gas           Gov. Aggregation   COH             165624380010                Gas           Gov. Aggregation
COH             190825700015                Gas           Gov. Aggregation   COH             165771270012                Gas           Gov. Aggregation
COH             190840750013                Gas           Gov. Aggregation   COH             165108430013                Gas           Gov. Aggregation
COH             190878350018                Gas           Gov. Aggregation   COH             165280960018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             190448350019                Gas           Gov. Aggregation   COH             122128100020                Gas           Gov. Aggregation
COH             186198090011                Gas           Gov. Aggregation   COH             124311030024                Gas           Gov. Aggregation
COH             190858470015                Gas           Gov. Aggregation   COH             124318640013                Gas           Gov. Aggregation
COH             190757030011                Gas           Gov. Aggregation   COH             124318790049                Gas           Gov. Aggregation
COH             190957340012                Gas           Gov. Aggregation   COH             124353530012                Gas           Gov. Aggregation
COH             190904560017                Gas           Gov. Aggregation   COH             124359720038                Gas           Gov. Aggregation
COH             190924320015                Gas           Gov. Aggregation   COH             124360700020                Gas           Gov. Aggregation
COH             191098940017                Gas           Gov. Aggregation   COH             124361130028                Gas           Gov. Aggregation
COH             191150220016                Gas           Gov. Aggregation   COH             124361870014                Gas           Gov. Aggregation
COH             191211680010                Gas           Gov. Aggregation   COH             124373820028                Gas           Gov. Aggregation
COH             190989910015                Gas           Gov. Aggregation   COH             124377360018                Gas           Gov. Aggregation
COH             191270500013                Gas           Gov. Aggregation   COH             124379920025                Gas           Gov. Aggregation
COH             191239870012                Gas           Gov. Aggregation   COH             124402930022                Gas           Gov. Aggregation
COH             186844070014                Gas           Gov. Aggregation   COH             124409380015                Gas           Gov. Aggregation
COH             191642520010                Gas           Gov. Aggregation   COH             124370100025                Gas           Gov. Aggregation
COH             187447320012                Gas           Gov. Aggregation   COH             124356990029                Gas           Gov. Aggregation
COH             191285010015                Gas           Gov. Aggregation   COH             124324550028                Gas           Gov. Aggregation
COH             191290810016                Gas           Gov. Aggregation   COH             124386440021                Gas           Gov. Aggregation
COH             191339190013                Gas           Gov. Aggregation   COH             124442160011                Gas           Gov. Aggregation
COH             191211740017                Gas           Gov. Aggregation   COH             124444570011                Gas           Gov. Aggregation
COH             191707940014                Gas           Gov. Aggregation   COH             124445780015                Gas           Gov. Aggregation
COH             191786500010                Gas           Gov. Aggregation   COH             124448420167                Gas           Gov. Aggregation
COH             189069670019                Gas           Gov. Aggregation   COH             124449030014                Gas           Gov. Aggregation
COH             188060190019                Gas           Gov. Aggregation   COH             124454150036                Gas           Gov. Aggregation
COH             188090240015                Gas           Gov. Aggregation   COH             124414040024                Gas           Gov. Aggregation
COH             191808730014                Gas           Gov. Aggregation   COH             124455100034                Gas           Gov. Aggregation
COH             191599390011                Gas           Gov. Aggregation   COH             124457250011                Gas           Gov. Aggregation
COH             191947140014                Gas           Gov. Aggregation   COH             124460730013                Gas           Gov. Aggregation
COH             191968880015                Gas           Gov. Aggregation   COH             124473560021                Gas           Gov. Aggregation
COH             191653900017                Gas           Gov. Aggregation   COH             124501130020                Gas           Gov. Aggregation
COH             191665700014                Gas           Gov. Aggregation   COH             124361880021                Gas           Gov. Aggregation
COH             188440930017                Gas           Gov. Aggregation   COH             124362910040                Gas           Gov. Aggregation
COH             190147490018                Gas           Gov. Aggregation   COH             124377340012                Gas           Gov. Aggregation
COH             190199390010                Gas           Gov. Aggregation   COH             124388860010                Gas           Gov. Aggregation
COH             188653360016                Gas           Gov. Aggregation   COH             124399330027                Gas           Gov. Aggregation
COH             188888950024                Gas           Gov. Aggregation   COH             124428370026                Gas           Gov. Aggregation
COH             189063560014                Gas           Gov. Aggregation   COH             124430400015                Gas           Gov. Aggregation
COH             189255460018                Gas           Gov. Aggregation   COH             124446460038                Gas           Gov. Aggregation
COH             189734840021                Gas           Gov. Aggregation   COH             124449430010                Gas           Gov. Aggregation
COH             192170390018                Gas           Gov. Aggregation   COH             124456390014                Gas           Gov. Aggregation
COH             192201040014                Gas           Gov. Aggregation   COH             124457100012                Gas           Gov. Aggregation
COH             190016080011                Gas           Gov. Aggregation   COH             124509020018                Gas           Gov. Aggregation
COH             192220920019                Gas           Gov. Aggregation   COH             124509050012                Gas           Gov. Aggregation
COH             152206930015                Gas           Gov. Aggregation   COH             124532550018                Gas           Gov. Aggregation
COH             153975100019                Gas           Gov. Aggregation   COH             124533800013                Gas           Gov. Aggregation
COH             190732840013                Gas           Gov. Aggregation   COH             124502420018                Gas           Gov. Aggregation
COH             154190140032                Gas           Gov. Aggregation   COH             124515070033                Gas           Gov. Aggregation
COH             154955750014                Gas           Gov. Aggregation   COH             124520950019                Gas           Gov. Aggregation
COH             157937840029                Gas           Gov. Aggregation   COH             124406000010                Gas           Gov. Aggregation
COH             158838590012                Gas           Gov. Aggregation   COH             124406110017                Gas           Gov. Aggregation
COH             191204410011                Gas           Gov. Aggregation   COH             124424920019                Gas           Gov. Aggregation
COH             159548400015                Gas           Gov. Aggregation   COH             124430350016                Gas           Gov. Aggregation
COH             165640890028                Gas           Gov. Aggregation   COH             124449090049                Gas           Gov. Aggregation
COH             161246890037                Gas           Gov. Aggregation   COH             124456290015                Gas           Gov. Aggregation
COH             191015320011                Gas           Gov. Aggregation   COH             124484170011                Gas           Gov. Aggregation
COH             191284930014                Gas           Gov. Aggregation   COH             124502070012                Gas           Gov. Aggregation
COH             163255150013                Gas           Gov. Aggregation   COH             124789950020                Gas           Gov. Aggregation
COH             163330290014                Gas           Gov. Aggregation   COH             124791110021                Gas           Gov. Aggregation
COH             110460600016                Gas           Gov. Aggregation   COH             125101980029                Gas           Gov. Aggregation
COH             111316500020                Gas           Gov. Aggregation   COH             124509100011                Gas           Gov. Aggregation
COH             110474450019                Gas           Gov. Aggregation   COH             124521140017                Gas           Gov. Aggregation
COH             110476090011                Gas           Gov. Aggregation   COH             124521940046                Gas           Gov. Aggregation
COH             110478190016                Gas           Gov. Aggregation   COH             124532090033                Gas           Gov. Aggregation
COH             110501560026                Gas           Gov. Aggregation   COH             124726670021                Gas           Gov. Aggregation
COH             110502570013                Gas           Gov. Aggregation   COH             125104040039                Gas           Gov. Aggregation
COH             110529130028                Gas           Gov. Aggregation   COH             124876410028                Gas           Gov. Aggregation
COH             110782260016                Gas           Gov. Aggregation   COH             125229580023                Gas           Gov. Aggregation
COH             111325830013                Gas           Gov. Aggregation   COH             125184820037                Gas           Gov. Aggregation
COH             111326090017                Gas           Gov. Aggregation   COH             125191120020                Gas           Gov. Aggregation
COH             111327740036                Gas           Gov. Aggregation   COH             125184480048                Gas           Gov. Aggregation
COH             111343670028                Gas           Gov. Aggregation   COH             125456730020                Gas           Gov. Aggregation
COH             111328050011                Gas           Gov. Aggregation   COH             127154480012                Gas           Gov. Aggregation
COH             111329360014                Gas           Gov. Aggregation   COH             128825800029                Gas           Gov. Aggregation
COH             111329150018                Gas           Gov. Aggregation   COH             129677170017                Gas           Gov. Aggregation
COH             191605470037                Gas           Gov. Aggregation   COH             127654630047                Gas           Gov. Aggregation
COH             111331530013                Gas           Gov. Aggregation   COH             129565700030                Gas           Gov. Aggregation
COH             191854040012                Gas           Gov. Aggregation   COH             129605530012                Gas           Gov. Aggregation
COH             111389630011                Gas           Gov. Aggregation   COH             129647230026                Gas           Gov. Aggregation
COH             111442480028                Gas           Gov. Aggregation   COH             131192360020                Gas           Gov. Aggregation
COH             133592740048                Gas           Gov. Aggregation   COH             131594680067                Gas           Gov. Aggregation
COH             136238790018                Gas           Gov. Aggregation   COH             130221100040                Gas           Gov. Aggregation
COH             139378400047                Gas           Gov. Aggregation   COH             130434090024                Gas           Gov. Aggregation
COH             131324020011                Gas           Gov. Aggregation   COH             130589000052                Gas           Gov. Aggregation
COH             133989350012                Gas           Gov. Aggregation   COH             131035360031                Gas           Gov. Aggregation
COH             140657160025                Gas           Gov. Aggregation   COH             132014970036                Gas           Gov. Aggregation
COH             148376520054                Gas           Gov. Aggregation   COH             133032230023                Gas           Gov. Aggregation
COH             169260460011                Gas           Gov. Aggregation   COH             129044750025                Gas           Gov. Aggregation
COH             167738600010                Gas           Gov. Aggregation   COH             129169530018                Gas           Gov. Aggregation
COH             166225880010                Gas           Gov. Aggregation   COH             129511430021                Gas           Gov. Aggregation
COH             167128230011                Gas           Gov. Aggregation   COH             129772200018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             174030990010                Gas           Gov. Aggregation   COH             130587380011                Gas           Gov. Aggregation
COH             161995140019                Gas           Gov. Aggregation   COH             132151020017                Gas           Gov. Aggregation
COH             111096380033                Gas           Gov. Aggregation   COH             132197390014                Gas           Gov. Aggregation
COH             176491180012                Gas           Gov. Aggregation   COH             132860290018                Gas           Gov. Aggregation
COH             139074970024                Gas           Gov. Aggregation   COH             133365830013                Gas           Gov. Aggregation
COH             185385250011                Gas           Gov. Aggregation   COH             133388410013                Gas           Gov. Aggregation
COH             186763680018                Gas           Gov. Aggregation   COH             133829710014                Gas           Gov. Aggregation
COH             186207600012                Gas           Gov. Aggregation   COH             133857190015                Gas           Gov. Aggregation
COH             187199560019                Gas           Gov. Aggregation   COH             134342420016                Gas           Gov. Aggregation
COH             187530730019                Gas           Gov. Aggregation   COH             134493090017                Gas           Gov. Aggregation
COH             187749700012                Gas           Gov. Aggregation   COH             135047180030                Gas           Gov. Aggregation
COH             188427070016                Gas           Gov. Aggregation   COH             135615530022                Gas           Gov. Aggregation
COH             191087410011                Gas           Gov. Aggregation   COH             135616790017                Gas           Gov. Aggregation
COH             188937000019                Gas           Gov. Aggregation   COH             132146620021                Gas           Gov. Aggregation
COH             189484340018                Gas           Gov. Aggregation   COH             133201550036                Gas           Gov. Aggregation
COH             191051060010                Gas           Gov. Aggregation   COH             133224840028                Gas           Gov. Aggregation
COH             192130920010                Gas           Gov. Aggregation   COH             133954940011                Gas           Gov. Aggregation
COH             192031630011                Gas           Gov. Aggregation   COH             133966850015                Gas           Gov. Aggregation
COH             192005270012                Gas           Gov. Aggregation   COH             134138900018                Gas           Gov. Aggregation
COH             129666860024                Gas           Gov. Aggregation   COH             134799880013                Gas           Gov. Aggregation
COH             125893740022                Gas           Gov. Aggregation   COH             133026880020                Gas           Gov. Aggregation
COH             115781730014                Gas           Gov. Aggregation   COH             133046990016                Gas           Gov. Aggregation
COH             155407180014                Gas           Gov. Aggregation   COH             134492810017                Gas           Gov. Aggregation
COH             115849030017                Gas           Gov. Aggregation   COH             135331160031                Gas           Gov. Aggregation
COH             154674170012                Gas           Gov. Aggregation   COH             135464130036                Gas           Gov. Aggregation
COH             175202030015                Gas           Gov. Aggregation   COH             135471010018                Gas           Gov. Aggregation
COH             131482300018                Gas           Gov. Aggregation   COH             135857620049                Gas           Gov. Aggregation
COH             191718370011                Gas           Gov. Aggregation   COH             136601660014                Gas           Gov. Aggregation
COH             189006500016                Gas           Gov. Aggregation   COH             136739260026                Gas           Gov. Aggregation
COH             117292150011                Gas           Gov. Aggregation   COH             137062560018                Gas           Gov. Aggregation
COH             155677890014                Gas           Gov. Aggregation   COH             137691920019                Gas           Gov. Aggregation
COH             145689810017                Gas           Gov. Aggregation   COH             133908850017                Gas           Gov. Aggregation
COH             132327170022                Gas           Gov. Aggregation   COH             135649530049                Gas           Gov. Aggregation
COH             151942860039                Gas           Gov. Aggregation   COH             136122510011                Gas           Gov. Aggregation
COH             149918160031                Gas           Gov. Aggregation   COH             137112290027                Gas           Gov. Aggregation
COH             151170880041                Gas           Gov. Aggregation   COH             136831710025                Gas           Gov. Aggregation
COH             151244170016                Gas           Gov. Aggregation   COH             136977050017                Gas           Gov. Aggregation
COH             152418700023                Gas           Gov. Aggregation   COH             137430330024                Gas           Gov. Aggregation
COH             152675450013                Gas           Gov. Aggregation   COH             136134180098                Gas           Gov. Aggregation
COH             152735970034                Gas           Gov. Aggregation   COH             136218850017                Gas           Gov. Aggregation
COH             152984370024                Gas           Gov. Aggregation   COH             136707160024                Gas           Gov. Aggregation
COH             153354650029                Gas           Gov. Aggregation   COH             136939910016                Gas           Gov. Aggregation
COH             152071730023                Gas           Gov. Aggregation   COH             137725480046                Gas           Gov. Aggregation
COH             152751240015                Gas           Gov. Aggregation   COH             137950700015                Gas           Gov. Aggregation
COH             153952480723                Gas           Gov. Aggregation   COH             138628930019                Gas           Gov. Aggregation
COH             151434930022                Gas           Gov. Aggregation   COH             139107860035                Gas           Gov. Aggregation
COH             151598180033                Gas           Gov. Aggregation   COH             139172010018                Gas           Gov. Aggregation
COH             151910600021                Gas           Gov. Aggregation   COH             139293450029                Gas           Gov. Aggregation
COH             152914220022                Gas           Gov. Aggregation   COH             140015290037                Gas           Gov. Aggregation
COH             151674490018                Gas           Gov. Aggregation   COH             140327910017                Gas           Gov. Aggregation
COH             152269100026                Gas           Gov. Aggregation   COH             140644880110                Gas           Gov. Aggregation
COH             152319730027                Gas           Gov. Aggregation   COH             139283100050                Gas           Gov. Aggregation
COH             152520020029                Gas           Gov. Aggregation   COH             139941720045                Gas           Gov. Aggregation
COH             153032380028                Gas           Gov. Aggregation   COH             141414710013                Gas           Gov. Aggregation
COH             153930100022                Gas           Gov. Aggregation   COH             141529320021                Gas           Gov. Aggregation
COH             154045760011                Gas           Gov. Aggregation   COH             141735150011                Gas           Gov. Aggregation
COH             154425380024                Gas           Gov. Aggregation   COH             141808740030                Gas           Gov. Aggregation
COH             154857580018                Gas           Gov. Aggregation   COH             142031470051                Gas           Gov. Aggregation
COH             153508770027                Gas           Gov. Aggregation   COH             142813320027                Gas           Gov. Aggregation
COH             153694870014                Gas           Gov. Aggregation   COH             141356950044                Gas           Gov. Aggregation
COH             153763350034                Gas           Gov. Aggregation   COH             141581830015                Gas           Gov. Aggregation
COH             154433750010                Gas           Gov. Aggregation   COH             143756110013                Gas           Gov. Aggregation
COH             155035970017                Gas           Gov. Aggregation   COH             143085920016                Gas           Gov. Aggregation
COH             155206570027                Gas           Gov. Aggregation   COH             143717350024                Gas           Gov. Aggregation
COH             155845380032                Gas           Gov. Aggregation   COH             141831320020                Gas           Gov. Aggregation
COH             155866580018                Gas           Gov. Aggregation   COH             142402820032                Gas           Gov. Aggregation
COH             156158640024                Gas           Gov. Aggregation   COH             142888460021                Gas           Gov. Aggregation
COH             156855430020                Gas           Gov. Aggregation   COH             144334460031                Gas           Gov. Aggregation
COH             157035350015                Gas           Gov. Aggregation   COH             144241610018                Gas           Gov. Aggregation
COH             157084970021                Gas           Gov. Aggregation   COH             144512400026                Gas           Gov. Aggregation
COH             154608940028                Gas           Gov. Aggregation   COH             144609910060                Gas           Gov. Aggregation
COH             155373470025                Gas           Gov. Aggregation   COH             145147030037                Gas           Gov. Aggregation
COH             155469280013                Gas           Gov. Aggregation   COH             145341900023                Gas           Gov. Aggregation
COH             155509980029                Gas           Gov. Aggregation   COH             145499420021                Gas           Gov. Aggregation
COH             155724170023                Gas           Gov. Aggregation   COH             144439010024                Gas           Gov. Aggregation
COH             155784100012                Gas           Gov. Aggregation   COH             146403930033                Gas           Gov. Aggregation
COH             155981500010                Gas           Gov. Aggregation   COH             146654810019                Gas           Gov. Aggregation
COH             156325680021                Gas           Gov. Aggregation   COH             146593180012                Gas           Gov. Aggregation
COH             156429650018                Gas           Gov. Aggregation   COH             144632510029                Gas           Gov. Aggregation
COH             157153730015                Gas           Gov. Aggregation   COH             145917750015                Gas           Gov. Aggregation
COH             157159530015                Gas           Gov. Aggregation   COH             146249750020                Gas           Gov. Aggregation
COH             157433460027                Gas           Gov. Aggregation   COH             146549370033                Gas           Gov. Aggregation
COH             157435360024                Gas           Gov. Aggregation   COH             147114420023                Gas           Gov. Aggregation
COH             157453820010                Gas           Gov. Aggregation   COH             147622000015                Gas           Gov. Aggregation
COH             157536260021                Gas           Gov. Aggregation   COH             147962340014                Gas           Gov. Aggregation
COH             156914870013                Gas           Gov. Aggregation   COH             147696920026                Gas           Gov. Aggregation
COH             156914920021                Gas           Gov. Aggregation   COH             148900770022                Gas           Gov. Aggregation
COH             156972420024                Gas           Gov. Aggregation   COH             166396830019                Gas           Gov. Aggregation
COH             158459790014                Gas           Gov. Aggregation   COH             166413830011                Gas           Gov. Aggregation
COH             157426690015                Gas           Gov. Aggregation   COH             167521330016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             157570280034                Gas           Gov. Aggregation   COH             148706140026                Gas           Gov. Aggregation
COH             157807400017                Gas           Gov. Aggregation   COH             166406150019                Gas           Gov. Aggregation
COH             158540500011                Gas           Gov. Aggregation   COH             166417230019                Gas           Gov. Aggregation
COH             158574050033                Gas           Gov. Aggregation   COH             166734590012                Gas           Gov. Aggregation
COH             156463070018                Gas           Gov. Aggregation   COH             166741780017                Gas           Gov. Aggregation
COH             156518320027                Gas           Gov. Aggregation   COH             166809230018                Gas           Gov. Aggregation
COH             158006240018                Gas           Gov. Aggregation   COH             166439540018                Gas           Gov. Aggregation
COH             158698890017                Gas           Gov. Aggregation   COH             166454950010                Gas           Gov. Aggregation
COH             159232410012                Gas           Gov. Aggregation   COH             166569740011                Gas           Gov. Aggregation
COH             159239680012                Gas           Gov. Aggregation   COH             166722610021                Gas           Gov. Aggregation
COH             159866490013                Gas           Gov. Aggregation   COH             166709510011                Gas           Gov. Aggregation
COH             157895690030                Gas           Gov. Aggregation   COH             166732430028                Gas           Gov. Aggregation
COH             158328120011                Gas           Gov. Aggregation   COH             167960150014                Gas           Gov. Aggregation
COH             158464450014                Gas           Gov. Aggregation   COH             168021430023                Gas           Gov. Aggregation
COH             158993940010                Gas           Gov. Aggregation   COH             169000240035                Gas           Gov. Aggregation
COH             159467270024                Gas           Gov. Aggregation   COH             167815330022                Gas           Gov. Aggregation
COH             159604440017                Gas           Gov. Aggregation   COH             167841780014                Gas           Gov. Aggregation
COH             159828250022                Gas           Gov. Aggregation   COH             167928100012                Gas           Gov. Aggregation
COH             160480710011                Gas           Gov. Aggregation   COH             168178370016                Gas           Gov. Aggregation
COH             158622100020                Gas           Gov. Aggregation   COH             169171750019                Gas           Gov. Aggregation
COH             158967100011                Gas           Gov. Aggregation   COH             169617800012                Gas           Gov. Aggregation
COH             160030570023                Gas           Gov. Aggregation   COH             169744040013                Gas           Gov. Aggregation
COH             160063590011                Gas           Gov. Aggregation   COH             169751800018                Gas           Gov. Aggregation
COH             160086180019                Gas           Gov. Aggregation   COH             169203690013                Gas           Gov. Aggregation
COH             160278760029                Gas           Gov. Aggregation   COH             170064800012                Gas           Gov. Aggregation
COH             160620290021                Gas           Gov. Aggregation   COH             170226350013                Gas           Gov. Aggregation
COH             160715970018                Gas           Gov. Aggregation   COH             170243710011                Gas           Gov. Aggregation
COH             160529600010                Gas           Gov. Aggregation   COH             170478260019                Gas           Gov. Aggregation
COH             161275320017                Gas           Gov. Aggregation   COH             170538740010                Gas           Gov. Aggregation
COH             161824020015                Gas           Gov. Aggregation   COH             170741370017                Gas           Gov. Aggregation
COH             162079040039                Gas           Gov. Aggregation   COH             170616850011                Gas           Gov. Aggregation
COH             162089760019                Gas           Gov. Aggregation   COH             170792620017                Gas           Gov. Aggregation
COH             160463820023                Gas           Gov. Aggregation   COH             171278370028                Gas           Gov. Aggregation
COH             160513660011                Gas           Gov. Aggregation   COH             171426290011                Gas           Gov. Aggregation
COH             161039680012                Gas           Gov. Aggregation   COH             171809930023                Gas           Gov. Aggregation
COH             161054320015                Gas           Gov. Aggregation   COH             171856710011                Gas           Gov. Aggregation
COH             161185810015                Gas           Gov. Aggregation   COH             171044090013                Gas           Gov. Aggregation
COH             161417420014                Gas           Gov. Aggregation   COH             171068810011                Gas           Gov. Aggregation
COH             161420980010                Gas           Gov. Aggregation   COH             171226170029                Gas           Gov. Aggregation
COH             161773880032                Gas           Gov. Aggregation   COH             171414310011                Gas           Gov. Aggregation
COH             160816120012                Gas           Gov. Aggregation   COH             171528970012                Gas           Gov. Aggregation
COH             161438910017                Gas           Gov. Aggregation   COH             171653860010                Gas           Gov. Aggregation
COH             161526110018                Gas           Gov. Aggregation   COH             171653860029                Gas           Gov. Aggregation
COH             161963820022                Gas           Gov. Aggregation   COH             171707910014                Gas           Gov. Aggregation
COH             162018990010                Gas           Gov. Aggregation   COH             171749830022                Gas           Gov. Aggregation
COH             161426410026                Gas           Gov. Aggregation   COH             171894620010                Gas           Gov. Aggregation
COH             161443260013                Gas           Gov. Aggregation   COH             171767280011                Gas           Gov. Aggregation
COH             162520290012                Gas           Gov. Aggregation   COH             149514610032                Gas           Gov. Aggregation
COH             162527630016                Gas           Gov. Aggregation   COH             152878540069                Gas           Gov. Aggregation
COH             162598820017                Gas           Gov. Aggregation   COH             171826160010                Gas           Gov. Aggregation
COH             162641610018                Gas           Gov. Aggregation   COH             173208620011                Gas           Gov. Aggregation
COH             162125380011                Gas           Gov. Aggregation   COH             173571850014                Gas           Gov. Aggregation
COH             163521590016                Gas           Gov. Aggregation   COH             156032450011                Gas           Gov. Aggregation
COH             163582770010                Gas           Gov. Aggregation   COH             172250940016                Gas           Gov. Aggregation
COH             162281880016                Gas           Gov. Aggregation   COH             172766790015                Gas           Gov. Aggregation
COH             162334380027                Gas           Gov. Aggregation   COH             153682940014                Gas           Gov. Aggregation
COH             163218230014                Gas           Gov. Aggregation   COH             173570170028                Gas           Gov. Aggregation
COH             163302020019                Gas           Gov. Aggregation   COH             173837840021                Gas           Gov. Aggregation
COH             162630290028                Gas           Gov. Aggregation   COH             174234440022                Gas           Gov. Aggregation
COH             162876910018                Gas           Gov. Aggregation   COH             173955050027                Gas           Gov. Aggregation
COH             164225660018                Gas           Gov. Aggregation   COH             174323170011                Gas           Gov. Aggregation
COH             164591850013                Gas           Gov. Aggregation   COH             174257870015                Gas           Gov. Aggregation
COH             164775240011                Gas           Gov. Aggregation   COH             174810430013                Gas           Gov. Aggregation
COH             164845750024                Gas           Gov. Aggregation   COH             174524620010                Gas           Gov. Aggregation
COH             165137020018                Gas           Gov. Aggregation   COH             174552860011                Gas           Gov. Aggregation
COH             162785830018                Gas           Gov. Aggregation   COH             157807800013                Gas           Gov. Aggregation
COH             163563420013                Gas           Gov. Aggregation   COH             174697520016                Gas           Gov. Aggregation
COH             163988990014                Gas           Gov. Aggregation   COH             174825380013                Gas           Gov. Aggregation
COH             164315840019                Gas           Gov. Aggregation   COH             189395110015                Gas           Gov. Aggregation
COH             164630900018                Gas           Gov. Aggregation   COH             149257170013                Gas           Gov. Aggregation
COH             164171060019                Gas           Gov. Aggregation   COH             175224450011                Gas           Gov. Aggregation
COH             164222350019                Gas           Gov. Aggregation   COH             150336140018                Gas           Gov. Aggregation
COH             164517480017                Gas           Gov. Aggregation   COH             175718670018                Gas           Gov. Aggregation
COH             164800540013                Gas           Gov. Aggregation   COH             176077930012                Gas           Gov. Aggregation
COH             165250230014                Gas           Gov. Aggregation   COH             176132430019                Gas           Gov. Aggregation
COH             165313840012                Gas           Gov. Aggregation   COH             176463480018                Gas           Gov. Aggregation
COH             154042570017                Gas           Gov. Aggregation   COH             149381840019                Gas           Gov. Aggregation
COH             164026680016                Gas           Gov. Aggregation   COH             150298080068                Gas           Gov. Aggregation
COH             164231200020                Gas           Gov. Aggregation   COH             151671540835                Gas           Gov. Aggregation
COH             164278250022                Gas           Gov. Aggregation   COH             151649490066                Gas           Gov. Aggregation
COH             164875740014                Gas           Gov. Aggregation   COH             152264240036                Gas           Gov. Aggregation
COH             165466140025                Gas           Gov. Aggregation   COH             151837030054                Gas           Gov. Aggregation
COH             165228840013                Gas           Gov. Aggregation   COH             175796880010                Gas           Gov. Aggregation
COH             165509770021                Gas           Gov. Aggregation   COH             164697980012                Gas           Gov. Aggregation
COH             165509850015                Gas           Gov. Aggregation   COH             176468900028                Gas           Gov. Aggregation
COH             165516270012                Gas           Gov. Aggregation   COH             153061100016                Gas           Gov. Aggregation
COH             165542920010                Gas           Gov. Aggregation   COH             154834630033                Gas           Gov. Aggregation
COH             109579400010                Gas           Gov. Aggregation   COH             155524630020                Gas           Gov. Aggregation
COH             109580480020                Gas           Gov. Aggregation   COH             176567340017                Gas           Gov. Aggregation
COH             165482440028                Gas           Gov. Aggregation   COH             176575500025                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             165264270026                Gas           Gov. Aggregation   COH             154433510010                Gas           Gov. Aggregation
COH             165386890019                Gas           Gov. Aggregation   COH             153710320022                Gas           Gov. Aggregation
COH             122115710029                Gas           Gov. Aggregation   COH             154789140033                Gas           Gov. Aggregation
COH             165740680011                Gas           Gov. Aggregation   COH             154823400016                Gas           Gov. Aggregation
COH             122133040022                Gas           Gov. Aggregation   COH             155322030033                Gas           Gov. Aggregation
COH             122272750010                Gas           Gov. Aggregation   COH             155410600054                Gas           Gov. Aggregation
COH             124310090015                Gas           Gov. Aggregation   COH             176788130022                Gas           Gov. Aggregation
COH             124310550018                Gas           Gov. Aggregation   COH             176998780021                Gas           Gov. Aggregation
COH             124335580029                Gas           Gov. Aggregation   COH             177081970014                Gas           Gov. Aggregation
COH             124346130011                Gas           Gov. Aggregation   COH             155625770036                Gas           Gov. Aggregation
COH             124352440013                Gas           Gov. Aggregation   COH             155767500014                Gas           Gov. Aggregation
COH             124371370027                Gas           Gov. Aggregation   COH             177763460015                Gas           Gov. Aggregation
COH             124388960019                Gas           Gov. Aggregation   COH             185114000016                Gas           Gov. Aggregation
COH             124311050011                Gas           Gov. Aggregation   COH             185142580025                Gas           Gov. Aggregation
COH             124311110018                Gas           Gov. Aggregation   COH             157382340067                Gas           Gov. Aggregation
COH             124312000019                Gas           Gov. Aggregation   COH             157517256054                Gas           Gov. Aggregation
COH             124336260024                Gas           Gov. Aggregation   COH             185269490017                Gas           Gov. Aggregation
COH             124340380039                Gas           Gov. Aggregation   COH             185269530018                Gas           Gov. Aggregation
COH             124346340044                Gas           Gov. Aggregation   COH             185312270010                Gas           Gov. Aggregation
COH             124346550022                Gas           Gov. Aggregation   COH             185426850017                Gas           Gov. Aggregation
COH             124372340030                Gas           Gov. Aggregation   COH             157872550019                Gas           Gov. Aggregation
COH             124378940014                Gas           Gov. Aggregation   COH             157887940016                Gas           Gov. Aggregation
COH             122949110028                Gas           Gov. Aggregation   COH             185540520014                Gas           Gov. Aggregation
COH             124367250012                Gas           Gov. Aggregation   COH             185854610010                Gas           Gov. Aggregation
COH             124311170016                Gas           Gov. Aggregation   COH             185875880010                Gas           Gov. Aggregation
COH             124318930021                Gas           Gov. Aggregation   COH             161358910017                Gas           Gov. Aggregation
COH             124344540028                Gas           Gov. Aggregation   COH             161575110015                Gas           Gov. Aggregation
COH             124346730033                Gas           Gov. Aggregation   COH             185493170037                Gas           Gov. Aggregation
COH             124390690011                Gas           Gov. Aggregation   COH             161610330031                Gas           Gov. Aggregation
COH             124390770014                Gas           Gov. Aggregation   COH             161611650014                Gas           Gov. Aggregation
COH             124393880024                Gas           Gov. Aggregation   COH             161516470014                Gas           Gov. Aggregation
COH             124394790030                Gas           Gov. Aggregation   COH             161556200016                Gas           Gov. Aggregation
COH             124434340010                Gas           Gov. Aggregation   COH             161577480014                Gas           Gov. Aggregation
COH             124457910021                Gas           Gov. Aggregation   COH             185963210013                Gas           Gov. Aggregation
COH             124486540028                Gas           Gov. Aggregation   COH             185998620014                Gas           Gov. Aggregation
COH             124410260017                Gas           Gov. Aggregation   COH             186003820018                Gas           Gov. Aggregation
COH             124438230024                Gas           Gov. Aggregation   COH             162250180054                Gas           Gov. Aggregation
COH             124486500026                Gas           Gov. Aggregation   COH             162461200016                Gas           Gov. Aggregation
COH             124491170025                Gas           Gov. Aggregation   COH             162923730015                Gas           Gov. Aggregation
COH             124494540012                Gas           Gov. Aggregation   COH             186212630024                Gas           Gov. Aggregation
COH             124494660017                Gas           Gov. Aggregation   COH             186387480018                Gas           Gov. Aggregation
COH             124503300020                Gas           Gov. Aggregation   COH             186431400019                Gas           Gov. Aggregation
COH             124503340013                Gas           Gov. Aggregation   COH             186431490011                Gas           Gov. Aggregation
COH             124370600020                Gas           Gov. Aggregation   COH             186600990026                Gas           Gov. Aggregation
COH             124389030012                Gas           Gov. Aggregation   COH             162335400011                Gas           Gov. Aggregation
COH             124389090010                Gas           Gov. Aggregation   COH             186458870015                Gas           Gov. Aggregation
COH             124390530014                Gas           Gov. Aggregation   COH             185814420078                Gas           Gov. Aggregation
COH             124390980010                Gas           Gov. Aggregation   COH             122737160027                Gas           Gov. Aggregation
COH             124403240034                Gas           Gov. Aggregation   COH             163470300033                Gas           Gov. Aggregation
COH             124409950024                Gas           Gov. Aggregation   COH             164765570013                Gas           Gov. Aggregation
COH             124432780012                Gas           Gov. Aggregation   COH             164775980016                Gas           Gov. Aggregation
COH             124437340023                Gas           Gov. Aggregation   COH             186345470018                Gas           Gov. Aggregation
COH             124464060016                Gas           Gov. Aggregation   COH             186421760015                Gas           Gov. Aggregation
COH             124467310044                Gas           Gov. Aggregation   COH             186502770011                Gas           Gov. Aggregation
COH             124468540017                Gas           Gov. Aggregation   COH             162526440036                Gas           Gov. Aggregation
COH             124490720021                Gas           Gov. Aggregation   COH             185969500010                Gas           Gov. Aggregation
COH             124494700018                Gas           Gov. Aggregation   COH             186230590016                Gas           Gov. Aggregation
COH             124508980019                Gas           Gov. Aggregation   COH             152140230030                Gas           Gov. Aggregation
COH             124522290014                Gas           Gov. Aggregation   COH             164155050015                Gas           Gov. Aggregation
COH             124532500018                Gas           Gov. Aggregation   COH             164184200012                Gas           Gov. Aggregation
COH             124727140039                Gas           Gov. Aggregation   COH             123106870015                Gas           Gov. Aggregation
COH             124731260026                Gas           Gov. Aggregation   COH             187029680022                Gas           Gov. Aggregation
COH             124491890024                Gas           Gov. Aggregation   COH             187043300012                Gas           Gov. Aggregation
COH             124494370018                Gas           Gov. Aggregation   COH             187183660011                Gas           Gov. Aggregation
COH             124509090014                Gas           Gov. Aggregation   COH             187210830016                Gas           Gov. Aggregation
COH             124521530015                Gas           Gov. Aggregation   COH             165447480015                Gas           Gov. Aggregation
COH             124522570015                Gas           Gov. Aggregation   COH             165479330028                Gas           Gov. Aggregation
COH             124532150012                Gas           Gov. Aggregation   COH             112133060039                Gas           Gov. Aggregation
COH             124419990016                Gas           Gov. Aggregation   COH             112216870015                Gas           Gov. Aggregation
COH             124437920021                Gas           Gov. Aggregation   COH             112239000028                Gas           Gov. Aggregation
COH             124468480010                Gas           Gov. Aggregation   COH             123750250010                Gas           Gov. Aggregation
COH             124494210020                Gas           Gov. Aggregation   COH             123754330015                Gas           Gov. Aggregation
COH             124503590011                Gas           Gov. Aggregation   COH             187984070017                Gas           Gov. Aggregation
COH             124508460027                Gas           Gov. Aggregation   COH             188286660012                Gas           Gov. Aggregation
COH             124508510017                Gas           Gov. Aggregation   COH             187644710012                Gas           Gov. Aggregation
COH             124521080029                Gas           Gov. Aggregation   COH             112292210013                Gas           Gov. Aggregation
COH             124683940026                Gas           Gov. Aggregation   COH             112294380014                Gas           Gov. Aggregation
COH             124722260025                Gas           Gov. Aggregation   COH             112295680019                Gas           Gov. Aggregation
COH             124837310021                Gas           Gov. Aggregation   COH             159387420022                Gas           Gov. Aggregation
COH             124938010020                Gas           Gov. Aggregation   COH             187495840012                Gas           Gov. Aggregation
COH             124782500028                Gas           Gov. Aggregation   COH             112174630024                Gas           Gov. Aggregation
COH             124825880036                Gas           Gov. Aggregation   COH             123797980019                Gas           Gov. Aggregation
COH             125057580037                Gas           Gov. Aggregation   COH             187964230015                Gas           Gov. Aggregation
COH             124684030025                Gas           Gov. Aggregation   COH             124646930017                Gas           Gov. Aggregation
COH             124700270029                Gas           Gov. Aggregation   COH             112648020027                Gas           Gov. Aggregation
COH             124745530020                Gas           Gov. Aggregation   COH             125798940013                Gas           Gov. Aggregation
COH             124949450025                Gas           Gov. Aggregation   COH             125798770019                Gas           Gov. Aggregation
COH             124974950027                Gas           Gov. Aggregation   COH             125875900017                Gas           Gov. Aggregation
COH             124828410029                Gas           Gov. Aggregation   COH             187902640019                Gas           Gov. Aggregation
COH             125143890039                Gas           Gov. Aggregation   COH             125711340011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             125167650020                Gas           Gov. Aggregation   COH             125715400010                Gas           Gov. Aggregation
COH             125159870030                Gas           Gov. Aggregation   COH             125739740028                Gas           Gov. Aggregation
COH             125282070028                Gas           Gov. Aggregation   COH             188679680015                Gas           Gov. Aggregation
COH             125351020030                Gas           Gov. Aggregation   COH             114888290012                Gas           Gov. Aggregation
COH             125389550021                Gas           Gov. Aggregation   COH             114911770010                Gas           Gov. Aggregation
COH             125544270048                Gas           Gov. Aggregation   COH             114961270029                Gas           Gov. Aggregation
COH             125504880026                Gas           Gov. Aggregation   COH             188701460012                Gas           Gov. Aggregation
COH             125827890048                Gas           Gov. Aggregation   COH             189032410010                Gas           Gov. Aggregation
COH             126980260027                Gas           Gov. Aggregation   COH             189105310016                Gas           Gov. Aggregation
COH             127352600043                Gas           Gov. Aggregation   COH             127122740014                Gas           Gov. Aggregation
COH             127353940031                Gas           Gov. Aggregation   COH             130610980014                Gas           Gov. Aggregation
COH             127493740028                Gas           Gov. Aggregation   COH             132494870022                Gas           Gov. Aggregation
COH             129096150022                Gas           Gov. Aggregation   COH             189160480015                Gas           Gov. Aggregation
COH             129466350016                Gas           Gov. Aggregation   COH             189166370016                Gas           Gov. Aggregation
COH             131458190022                Gas           Gov. Aggregation   COH             113253720026                Gas           Gov. Aggregation
COH             129523120021                Gas           Gov. Aggregation   COH             189238240010                Gas           Gov. Aggregation
COH             129879860041                Gas           Gov. Aggregation   COH             190537400019                Gas           Gov. Aggregation
COH             130203350019                Gas           Gov. Aggregation   COH             132727540026                Gas           Gov. Aggregation
COH             131710400021                Gas           Gov. Aggregation   COH             190133740014                Gas           Gov. Aggregation
COH             129305160016                Gas           Gov. Aggregation   COH             189594050016                Gas           Gov. Aggregation
COH             130348710026                Gas           Gov. Aggregation   COH             189636870014                Gas           Gov. Aggregation
COH             130914370036                Gas           Gov. Aggregation   COH             189755630012                Gas           Gov. Aggregation
COH             132557910029                Gas           Gov. Aggregation   COH             135474600027                Gas           Gov. Aggregation
COH             132295930021                Gas           Gov. Aggregation   COH             135851570015                Gas           Gov. Aggregation
COH             132405060010                Gas           Gov. Aggregation   COH             190295840011                Gas           Gov. Aggregation
COH             132408970022                Gas           Gov. Aggregation   COH             190297150012                Gas           Gov. Aggregation
COH             132516040028                Gas           Gov. Aggregation   COH             190506110015                Gas           Gov. Aggregation
COH             133163040017                Gas           Gov. Aggregation   COH             190760530019                Gas           Gov. Aggregation
COH             134184880034                Gas           Gov. Aggregation   COH             143752910031                Gas           Gov. Aggregation
COH             134631210026                Gas           Gov. Aggregation   COH             190963040012                Gas           Gov. Aggregation
COH             134930760036                Gas           Gov. Aggregation   COH             190968000010                Gas           Gov. Aggregation
COH             132240780279                Gas           Gov. Aggregation   COH             191070320015                Gas           Gov. Aggregation
COH             132577370021                Gas           Gov. Aggregation   COH             134723290034                Gas           Gov. Aggregation
COH             133134910024                Gas           Gov. Aggregation   COH             191239380015                Gas           Gov. Aggregation
COH             134283520011                Gas           Gov. Aggregation   COH             167312190019                Gas           Gov. Aggregation
COH             134368480038                Gas           Gov. Aggregation   COH             147635450014                Gas           Gov. Aggregation
COH             134477440017                Gas           Gov. Aggregation   COH             168980780037                Gas           Gov. Aggregation
COH             132899160023                Gas           Gov. Aggregation   COH             114755110029                Gas           Gov. Aggregation
COH             133242580034                Gas           Gov. Aggregation   COH             121981080019                Gas           Gov. Aggregation
COH             133803930012                Gas           Gov. Aggregation   COH             167163210011                Gas           Gov. Aggregation
COH             134378670037                Gas           Gov. Aggregation   COH             122348130037                Gas           Gov. Aggregation
COH             135221180012                Gas           Gov. Aggregation   COH             122436580063                Gas           Gov. Aggregation
COH             135680800019                Gas           Gov. Aggregation   COH             122439800024                Gas           Gov. Aggregation
COH             135927630039                Gas           Gov. Aggregation   COH             122482870010                Gas           Gov. Aggregation
COH             135828320034                Gas           Gov. Aggregation   COH             121937280029                Gas           Gov. Aggregation
COH             135828680011                Gas           Gov. Aggregation   COH             191223500012                Gas           Gov. Aggregation
COH             136265890010                Gas           Gov. Aggregation   COH             123941740012                Gas           Gov. Aggregation
COH             136531810039                Gas           Gov. Aggregation   COH             124014860011                Gas           Gov. Aggregation
COH             137426840017                Gas           Gov. Aggregation   COH             124015720027                Gas           Gov. Aggregation
COH             138002320013                Gas           Gov. Aggregation   COH             124017570061                Gas           Gov. Aggregation
COH             133647230075                Gas           Gov. Aggregation   COH             124035890137                Gas           Gov. Aggregation
COH             135640570030                Gas           Gov. Aggregation   COH             122508040045                Gas           Gov. Aggregation
COH             136265670016                Gas           Gov. Aggregation   COH             122511190038                Gas           Gov. Aggregation
COH             132805300011                Gas           Gov. Aggregation   COH             191523850013                Gas           Gov. Aggregation
COH             135899980019                Gas           Gov. Aggregation   COH             191655590019                Gas           Gov. Aggregation
COH             136016380032                Gas           Gov. Aggregation   COH             122509240014                Gas           Gov. Aggregation
COH             136576140027                Gas           Gov. Aggregation   COH             122009960022                Gas           Gov. Aggregation
COH             136626480010                Gas           Gov. Aggregation   COH             122362370028                Gas           Gov. Aggregation
COH             137118850018                Gas           Gov. Aggregation   COH             122370180030                Gas           Gov. Aggregation
COH             137660530016                Gas           Gov. Aggregation   COH             191406800011                Gas           Gov. Aggregation
COH             137701590016                Gas           Gov. Aggregation   COH             191436970013                Gas           Gov. Aggregation
COH             137782520010                Gas           Gov. Aggregation   COH             191440280019                Gas           Gov. Aggregation
COH             137973120019                Gas           Gov. Aggregation   COH             191802610011                Gas           Gov. Aggregation
COH             136345020021                Gas           Gov. Aggregation   COH             124232140010                Gas           Gov. Aggregation
COH             138682980015                Gas           Gov. Aggregation   COH             124261370011                Gas           Gov. Aggregation
COH             139094720024                Gas           Gov. Aggregation   COH             124564621051                Gas           Gov. Aggregation
COH             139182510012                Gas           Gov. Aggregation   COH             124565850016                Gas           Gov. Aggregation
COH             139212850016                Gas           Gov. Aggregation   COH             124582090010                Gas           Gov. Aggregation
COH             137664780025                Gas           Gov. Aggregation   COH             172168610010                Gas           Gov. Aggregation
COH             138432300016                Gas           Gov. Aggregation   COH             123909220019                Gas           Gov. Aggregation
COH             139049370014                Gas           Gov. Aggregation   COH             124002970031                Gas           Gov. Aggregation
COH             140083610018                Gas           Gov. Aggregation   COH             124014100010                Gas           Gov. Aggregation
COH             140225920011                Gas           Gov. Aggregation   COH             124037640091                Gas           Gov. Aggregation
COH             141019190011                Gas           Gov. Aggregation   COH             124038180014                Gas           Gov. Aggregation
COH             141025350014                Gas           Gov. Aggregation   COH             124559880013                Gas           Gov. Aggregation
COH             139424390023                Gas           Gov. Aggregation   COH             124570080017                Gas           Gov. Aggregation
COH             140168630014                Gas           Gov. Aggregation   COH             124570960049                Gas           Gov. Aggregation
COH             140654070011                Gas           Gov. Aggregation   COH             123908600011                Gas           Gov. Aggregation
COH             140679480022                Gas           Gov. Aggregation   COH             124157760010                Gas           Gov. Aggregation
COH             140704970015                Gas           Gov. Aggregation   COH             124262030010                Gas           Gov. Aggregation
COH             139527290026                Gas           Gov. Aggregation   COH             124268560017                Gas           Gov. Aggregation
COH             140787460018                Gas           Gov. Aggregation   COH             124560370035                Gas           Gov. Aggregation
COH             140826450016                Gas           Gov. Aggregation   COH             124616520016                Gas           Gov. Aggregation
COH             141266650137                Gas           Gov. Aggregation   COH             191776830012                Gas           Gov. Aggregation
COH             141893900028                Gas           Gov. Aggregation   COH             191776880012                Gas           Gov. Aggregation
COH             141324860013                Gas           Gov. Aggregation   COH             124186320020                Gas           Gov. Aggregation
COH             142237940010                Gas           Gov. Aggregation   COH             124225910013                Gas           Gov. Aggregation
COH             142636460015                Gas           Gov. Aggregation   COH             124229960015                Gas           Gov. Aggregation
COH             141298540017                Gas           Gov. Aggregation   COH             124560960013                Gas           Gov. Aggregation
COH             141962960029                Gas           Gov. Aggregation   COH             124564940019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             142178390012                Gas           Gov. Aggregation   COH             124587650012                Gas           Gov. Aggregation
COH             143420530043                Gas           Gov. Aggregation   COH             127549110012                Gas           Gov. Aggregation
COH             143510520017                Gas           Gov. Aggregation   COH             191765970016                Gas           Gov. Aggregation
COH             142643800027                Gas           Gov. Aggregation   COH             191765950010                Gas           Gov. Aggregation
COH             143342170027                Gas           Gov. Aggregation   COH             127588790072                Gas           Gov. Aggregation
COH             143346230026                Gas           Gov. Aggregation   COH             130555500012                Gas           Gov. Aggregation
COH             143848820028                Gas           Gov. Aggregation   COH             173930150019                Gas           Gov. Aggregation
COH             141428350010                Gas           Gov. Aggregation   COH             168406460076                Gas           Gov. Aggregation
COH             141856740048                Gas           Gov. Aggregation   COH             134313230026                Gas           Gov. Aggregation
COH             142037740016                Gas           Gov. Aggregation   COH             132236060037                Gas           Gov. Aggregation
COH             142466760022                Gas           Gov. Aggregation   COH             132820640018                Gas           Gov. Aggregation
COH             144007550017                Gas           Gov. Aggregation   COH             133967110018                Gas           Gov. Aggregation
COH             144150920025                Gas           Gov. Aggregation   COH             131582880015                Gas           Gov. Aggregation
COH             142971950012                Gas           Gov. Aggregation   COH             136787570020                Gas           Gov. Aggregation
COH             143622910027                Gas           Gov. Aggregation   COH             177481210015                Gas           Gov. Aggregation
COH             144689430027                Gas           Gov. Aggregation   COH             177138880021                Gas           Gov. Aggregation
COH             146101100019                Gas           Gov. Aggregation   COH             177377510013                Gas           Gov. Aggregation
COH             144910920032                Gas           Gov. Aggregation   COH             192095370012                Gas           Gov. Aggregation
COH             146122530015                Gas           Gov. Aggregation   COH             149956690021                Gas           Gov. Aggregation
COH             147191840023                Gas           Gov. Aggregation   COH             138798270028                Gas           Gov. Aggregation
COH             147251820010                Gas           Gov. Aggregation   COH             140165100020                Gas           Gov. Aggregation
COH             147055530017                Gas           Gov. Aggregation   COH             141085340010                Gas           Gov. Aggregation
COH             145256070029                Gas           Gov. Aggregation   COH             141140300047                Gas           Gov. Aggregation
COH             145350420025                Gas           Gov. Aggregation   COH             139043880019                Gas           Gov. Aggregation
COH             147327910010                Gas           Gov. Aggregation   COH             142240720028                Gas           Gov. Aggregation
COH             148051310010                Gas           Gov. Aggregation   COH             140647690016                Gas           Gov. Aggregation
COH             147803930025                Gas           Gov. Aggregation   COH             141330550015                Gas           Gov. Aggregation
COH             148008680023                Gas           Gov. Aggregation   COH             141900780018                Gas           Gov. Aggregation
COH             148026140037                Gas           Gov. Aggregation   COH             142609360013                Gas           Gov. Aggregation
COH             148637660024                Gas           Gov. Aggregation   COH             144508220041                Gas           Gov. Aggregation
COH             148721510053                Gas           Gov. Aggregation   COH             141797710013                Gas           Gov. Aggregation
COH             165950360013                Gas           Gov. Aggregation   COH             192171120012                Gas           Gov. Aggregation
COH             146860190031                Gas           Gov. Aggregation   COH             149230130017                Gas           Gov. Aggregation
COH             147476600029                Gas           Gov. Aggregation   COH             151083570041                Gas           Gov. Aggregation
COH             148685340020                Gas           Gov. Aggregation   COH             152882230029                Gas           Gov. Aggregation
COH             148513010013                Gas           Gov. Aggregation   COH             144170800028                Gas           Gov. Aggregation
COH             148834320036                Gas           Gov. Aggregation   COH             144702660047                Gas           Gov. Aggregation
COH             148838350041                Gas           Gov. Aggregation   COH             146532230037                Gas           Gov. Aggregation
COH             166178470017                Gas           Gov. Aggregation   COH             146799130016                Gas           Gov. Aggregation
COH             166519610013                Gas           Gov. Aggregation   COH             147332890014                Gas           Gov. Aggregation
COH             166883730017                Gas           Gov. Aggregation   COH             150963760028                Gas           Gov. Aggregation
COH             167449670028                Gas           Gov. Aggregation   COH             108727070105                Gas           Gov. Aggregation
COH             167683180016                Gas           Gov. Aggregation   COH             152800750031                Gas           Gov. Aggregation
COH             167809050024                Gas           Gov. Aggregation   COH             155926250019                Gas           Gov. Aggregation
COH             167850960026                Gas           Gov. Aggregation   COH             156922750011                Gas           Gov. Aggregation
COH             167863050011                Gas           Gov. Aggregation   COH             140406060018                Gas           Gov. Aggregation
COH             148962400010                Gas           Gov. Aggregation   COH             142570920036                Gas           Gov. Aggregation
COH             148997160018                Gas           Gov. Aggregation   COH             143432060010                Gas           Gov. Aggregation
COH             166246400016                Gas           Gov. Aggregation   COH             144888010014                Gas           Gov. Aggregation
COH             166268870012                Gas           Gov. Aggregation   COH             189297950017                Gas           Gov. Aggregation
COH             166571680019                Gas           Gov. Aggregation   COH             189297970013                Gas           Gov. Aggregation
COH             166861670016                Gas           Gov. Aggregation   COH             189346020035                Gas           Gov. Aggregation
COH             166620290043                Gas           Gov. Aggregation   COH             152925990028                Gas           Gov. Aggregation
COH             166685260016                Gas           Gov. Aggregation   COH             148413090019                Gas           Gov. Aggregation
COH             167215060012                Gas           Gov. Aggregation   COH             188417260017                Gas           Gov. Aggregation
COH             167623530018                Gas           Gov. Aggregation   COH             189933650010                Gas           Gov. Aggregation
COH             167670220014                Gas           Gov. Aggregation   COH             147426330012                Gas           Gov. Aggregation
COH             167005190010                Gas           Gov. Aggregation   COH             166088410010                Gas           Gov. Aggregation
COH             167039990020                Gas           Gov. Aggregation   COH             166344320015                Gas           Gov. Aggregation
COH             167371790037                Gas           Gov. Aggregation   COH             157584610035                Gas           Gov. Aggregation
COH             167585580010                Gas           Gov. Aggregation   COH             157743720025                Gas           Gov. Aggregation
COH             167597320019                Gas           Gov. Aggregation   COH             166422380044                Gas           Gov. Aggregation
COH             167858650016                Gas           Gov. Aggregation   COH             167335680036                Gas           Gov. Aggregation
COH             168091270011                Gas           Gov. Aggregation   COH             167850600021                Gas           Gov. Aggregation
COH             168135640019                Gas           Gov. Aggregation   COH             166826750013                Gas           Gov. Aggregation
COH             168514710010                Gas           Gov. Aggregation   COH             167771500020                Gas           Gov. Aggregation
COH             168734360027                Gas           Gov. Aggregation   COH             168065580011                Gas           Gov. Aggregation
COH             168744080016                Gas           Gov. Aggregation   COH             168648740011                Gas           Gov. Aggregation
COH             169174490018                Gas           Gov. Aggregation   COH             167992960017                Gas           Gov. Aggregation
COH             169174600014                Gas           Gov. Aggregation   COH             168293280011                Gas           Gov. Aggregation
COH             167544180010                Gas           Gov. Aggregation   COH             169301680017                Gas           Gov. Aggregation
COH             167757720015                Gas           Gov. Aggregation   COH             190141050012                Gas           Gov. Aggregation
COH             167757780022                Gas           Gov. Aggregation   COH             169565990023                Gas           Gov. Aggregation
COH             167779990013                Gas           Gov. Aggregation   COH             149132900031                Gas           Gov. Aggregation
COH             168004500015                Gas           Gov. Aggregation   COH             149197070012                Gas           Gov. Aggregation
COH             168820240010                Gas           Gov. Aggregation   COH             170677940014                Gas           Gov. Aggregation
COH             169391910037                Gas           Gov. Aggregation   COH             154633480013                Gas           Gov. Aggregation
COH             169555890016                Gas           Gov. Aggregation   COH             157665090015                Gas           Gov. Aggregation
COH             169705430013                Gas           Gov. Aggregation   COH             168902260012                Gas           Gov. Aggregation
COH             168056390029                Gas           Gov. Aggregation   COH             170225930013                Gas           Gov. Aggregation
COH             168081690014                Gas           Gov. Aggregation   COH             170787740013                Gas           Gov. Aggregation
COH             168344570011                Gas           Gov. Aggregation   COH             171298940026                Gas           Gov. Aggregation
COH             168367910057                Gas           Gov. Aggregation   COH             149651160037                Gas           Gov. Aggregation
COH             168541380022                Gas           Gov. Aggregation   COH             170491470017                Gas           Gov. Aggregation
COH             168541460025                Gas           Gov. Aggregation   COH             170648390020                Gas           Gov. Aggregation
COH             168630200011                Gas           Gov. Aggregation   COH             149846320021                Gas           Gov. Aggregation
COH             169379180019                Gas           Gov. Aggregation   COH             149857450012                Gas           Gov. Aggregation
COH             169421570016                Gas           Gov. Aggregation   COH             149900630039                Gas           Gov. Aggregation
COH             169438380020                Gas           Gov. Aggregation   COH             150140390020                Gas           Gov. Aggregation
COH             169262280024                Gas           Gov. Aggregation   COH             150470830019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             169325700012                Gas           Gov. Aggregation   COH             150474130045                Gas           Gov. Aggregation
COH             168150580010                Gas           Gov. Aggregation   COH             150419490028                Gas           Gov. Aggregation
COH             168294880013                Gas           Gov. Aggregation   COH             150832950016                Gas           Gov. Aggregation
COH             168479970067                Gas           Gov. Aggregation   COH             173308410031                Gas           Gov. Aggregation
COH             168956530012                Gas           Gov. Aggregation   COH             173559070014                Gas           Gov. Aggregation
COH             169043520018                Gas           Gov. Aggregation   COH             173733070032                Gas           Gov. Aggregation
COH             169391910055                Gas           Gov. Aggregation   COH             173803240019                Gas           Gov. Aggregation
COH             169683600015                Gas           Gov. Aggregation   COH             150512160029                Gas           Gov. Aggregation
COH             169993570015                Gas           Gov. Aggregation   COH             151310240010                Gas           Gov. Aggregation
COH             170403140011                Gas           Gov. Aggregation   COH             151349011918                Gas           Gov. Aggregation
COH             170025400018                Gas           Gov. Aggregation   COH             151875810014                Gas           Gov. Aggregation
COH             170296000037                Gas           Gov. Aggregation   COH             152122310013                Gas           Gov. Aggregation
COH             170380120015                Gas           Gov. Aggregation   COH             173065100041                Gas           Gov. Aggregation
COH             169636430029                Gas           Gov. Aggregation   COH             152049380024                Gas           Gov. Aggregation
COH             169808650019                Gas           Gov. Aggregation   COH             152075410013                Gas           Gov. Aggregation
COH             170700500015                Gas           Gov. Aggregation   COH             174129080012                Gas           Gov. Aggregation
COH             171296150017                Gas           Gov. Aggregation   COH             151763840024                Gas           Gov. Aggregation
COH             171008020013                Gas           Gov. Aggregation   COH             152347550017                Gas           Gov. Aggregation
COH             171615210016                Gas           Gov. Aggregation   COH             164895200015                Gas           Gov. Aggregation
COH             171864830019                Gas           Gov. Aggregation   COH             152049960031                Gas           Gov. Aggregation
COH             170856780018                Gas           Gov. Aggregation   COH             152198610011                Gas           Gov. Aggregation
COH             170885090021                Gas           Gov. Aggregation   COH             152448450050                Gas           Gov. Aggregation
COH             149177810027                Gas           Gov. Aggregation   COH             160937680019                Gas           Gov. Aggregation
COH             171556130019                Gas           Gov. Aggregation   COH             162212530014                Gas           Gov. Aggregation
COH             171849440040                Gas           Gov. Aggregation   COH             163255160011                Gas           Gov. Aggregation
COH             172057450019                Gas           Gov. Aggregation   COH             164774300029                Gas           Gov. Aggregation
COH             171828210015                Gas           Gov. Aggregation   COH             164931690033                Gas           Gov. Aggregation
COH             151946590010                Gas           Gov. Aggregation   COH             152701510031                Gas           Gov. Aggregation
COH             151436110048                Gas           Gov. Aggregation   COH             153166680013                Gas           Gov. Aggregation
COH             151952640025                Gas           Gov. Aggregation   COH             174982880016                Gas           Gov. Aggregation
COH             152857390010                Gas           Gov. Aggregation   COH             153038650029                Gas           Gov. Aggregation
COH             171913320039                Gas           Gov. Aggregation   COH             175714400021                Gas           Gov. Aggregation
COH             171949290013                Gas           Gov. Aggregation   COH             153139010010                Gas           Gov. Aggregation
COH             172208510015                Gas           Gov. Aggregation   COH             153336150040                Gas           Gov. Aggregation
COH             172428210012                Gas           Gov. Aggregation   COH             153347330021                Gas           Gov. Aggregation
COH             172577190021                Gas           Gov. Aggregation   COH             153346350010                Gas           Gov. Aggregation
COH             173494910015                Gas           Gov. Aggregation   COH             110310570029                Gas           Gov. Aggregation
COH             153315390017                Gas           Gov. Aggregation   COH             154086970039                Gas           Gov. Aggregation
COH             155338500031                Gas           Gov. Aggregation   COH             154164710046                Gas           Gov. Aggregation
COH             155926350027                Gas           Gov. Aggregation   COH             154425560026                Gas           Gov. Aggregation
COH             156111880013                Gas           Gov. Aggregation   COH             154426420023                Gas           Gov. Aggregation
COH             157870400041                Gas           Gov. Aggregation   COH             154549580011                Gas           Gov. Aggregation
COH             172367220029                Gas           Gov. Aggregation   COH             154059410015                Gas           Gov. Aggregation
COH             172803980015                Gas           Gov. Aggregation   COH             110914960018                Gas           Gov. Aggregation
COH             156504350020                Gas           Gov. Aggregation   COH             110993310018                Gas           Gov. Aggregation
COH             172977710014                Gas           Gov. Aggregation   COH             110993340012                Gas           Gov. Aggregation
COH             172977960012                Gas           Gov. Aggregation   COH             154455520021                Gas           Gov. Aggregation
COH             173144160014                Gas           Gov. Aggregation   COH             154636070031                Gas           Gov. Aggregation
COH             156564520019                Gas           Gov. Aggregation   COH             154663630036                Gas           Gov. Aggregation
COH             156665540011                Gas           Gov. Aggregation   COH             108680000010                Gas           Gov. Aggregation
COH             173982770010                Gas           Gov. Aggregation   COH             108686960017                Gas           Gov. Aggregation
COH             174007110013                Gas           Gov. Aggregation   COH             154657520023                Gas           Gov. Aggregation
COH             174135290015                Gas           Gov. Aggregation   COH             154741820058                Gas           Gov. Aggregation
COH             173311350019                Gas           Gov. Aggregation   COH             110392360012                Gas           Gov. Aggregation
COH             173684840017                Gas           Gov. Aggregation   COH             110399520014                Gas           Gov. Aggregation
COH             174021950017                Gas           Gov. Aggregation   COH             110936510025                Gas           Gov. Aggregation
COH             173567800013                Gas           Gov. Aggregation   COH             110943860027                Gas           Gov. Aggregation
COH             174083450012                Gas           Gov. Aggregation   COH             110964970020                Gas           Gov. Aggregation
COH             174624900055                Gas           Gov. Aggregation   COH             110972710045                Gas           Gov. Aggregation
COH             174824700017                Gas           Gov. Aggregation   COH             110977530025                Gas           Gov. Aggregation
COH             174883650014                Gas           Gov. Aggregation   COH             153364610026                Gas           Gov. Aggregation
COH             174736810011                Gas           Gov. Aggregation   COH             153811170048                Gas           Gov. Aggregation
COH             174996290011                Gas           Gov. Aggregation   COH             110950660024                Gas           Gov. Aggregation
COH             158865710019                Gas           Gov. Aggregation   COH             110993300010                Gas           Gov. Aggregation
COH             159342370063                Gas           Gov. Aggregation   COH             176977350098                Gas           Gov. Aggregation
COH             175098880010                Gas           Gov. Aggregation   COH             192223170011                Gas           Gov. Aggregation
COH             175274610058                Gas           Gov. Aggregation   COH             108667300015                Gas           Gov. Aggregation
COH             175317680016                Gas           Gov. Aggregation   COH             108674280033                Gas           Gov. Aggregation
COH             174280000018                Gas           Gov. Aggregation   COH             108675010037                Gas           Gov. Aggregation
COH             159068550021                Gas           Gov. Aggregation   COH             108675260026                Gas           Gov. Aggregation
COH             175050060021                Gas           Gov. Aggregation   COH             110936200020                Gas           Gov. Aggregation
COH             175336070014                Gas           Gov. Aggregation   COH             177123480017                Gas           Gov. Aggregation
COH             158233710027                Gas           Gov. Aggregation   COH             177439190019                Gas           Gov. Aggregation
COH             158471460017                Gas           Gov. Aggregation   COH             108669040016                Gas           Gov. Aggregation
COH             159697390013                Gas           Gov. Aggregation   COH             108683000014                Gas           Gov. Aggregation
COH             160854030011                Gas           Gov. Aggregation   COH             108723080021                Gas           Gov. Aggregation
COH             149025510012                Gas           Gov. Aggregation   COH             108724340024                Gas           Gov. Aggregation
COH             149487730036                Gas           Gov. Aggregation   COH             108739120010                Gas           Gov. Aggregation
COH             160709160020                Gas           Gov. Aggregation   COH             108739330016                Gas           Gov. Aggregation
COH             161231190017                Gas           Gov. Aggregation   COH             108739450011                Gas           Gov. Aggregation
COH             175421170021                Gas           Gov. Aggregation   COH             108746940031                Gas           Gov. Aggregation
COH             175957620012                Gas           Gov. Aggregation   COH             108747570046                Gas           Gov. Aggregation
COH             176487960017                Gas           Gov. Aggregation   COH             108747630016                Gas           Gov. Aggregation
COH             150750790014                Gas           Gov. Aggregation   COH             155373280016                Gas           Gov. Aggregation
COH             150769010027                Gas           Gov. Aggregation   COH             155437190046                Gas           Gov. Aggregation
COH             151910090010                Gas           Gov. Aggregation   COH             111148920056                Gas           Gov. Aggregation
COH             150050670013                Gas           Gov. Aggregation   COH             108775850039                Gas           Gov. Aggregation
COH             175740730027                Gas           Gov. Aggregation   COH             155621310021                Gas           Gov. Aggregation
COH             176486860010                Gas           Gov. Aggregation   COH             111088750014                Gas           Gov. Aggregation
COH             162958370018                Gas           Gov. Aggregation   COH             111088880017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             151262600017                Gas           Gov. Aggregation   COH             111107370012                Gas           Gov. Aggregation
COH             150635880028                Gas           Gov. Aggregation   COH             111112300015                Gas           Gov. Aggregation
COH             151552720286                Gas           Gov. Aggregation   COH             111122560029                Gas           Gov. Aggregation
COH             151934250025                Gas           Gov. Aggregation   COH             108719840011                Gas           Gov. Aggregation
COH             176366820012                Gas           Gov. Aggregation   COH             108734870013                Gas           Gov. Aggregation
COH             176374100016                Gas           Gov. Aggregation   COH             108735000013                Gas           Gov. Aggregation
COH             176379070013                Gas           Gov. Aggregation   COH             176671940010                Gas           Gov. Aggregation
COH             163404050026                Gas           Gov. Aggregation   COH             155090070010                Gas           Gov. Aggregation
COH             164957050024                Gas           Gov. Aggregation   COH             155269960014                Gas           Gov. Aggregation
COH             152798140036                Gas           Gov. Aggregation   COH             177364730014                Gas           Gov. Aggregation
COH             176780340024                Gas           Gov. Aggregation   COH             155460330029                Gas           Gov. Aggregation
COH             189427430019                Gas           Gov. Aggregation   COH             155664490024                Gas           Gov. Aggregation
COH             153835260021                Gas           Gov. Aggregation   COH             185427620013                Gas           Gov. Aggregation
COH             154227510017                Gas           Gov. Aggregation   COH             156004920011                Gas           Gov. Aggregation
COH             176692190014                Gas           Gov. Aggregation   COH             155875070016                Gas           Gov. Aggregation
COH             176731520010                Gas           Gov. Aggregation   COH             111089920025                Gas           Gov. Aggregation
COH             153825750029                Gas           Gov. Aggregation   COH             111100460017                Gas           Gov. Aggregation
COH             177374190017                Gas           Gov. Aggregation   COH             111105780010                Gas           Gov. Aggregation
COH             177049530014                Gas           Gov. Aggregation   COH             111203300021                Gas           Gov. Aggregation
COH             177610360019                Gas           Gov. Aggregation   COH             156507340026                Gas           Gov. Aggregation
COH             155817860012                Gas           Gov. Aggregation   COH             156324600010                Gas           Gov. Aggregation
COH             177141760029                Gas           Gov. Aggregation   COH             156473670020                Gas           Gov. Aggregation
COH             157154130019                Gas           Gov. Aggregation   COH             156104270016                Gas           Gov. Aggregation
COH             155963670013                Gas           Gov. Aggregation   COH             157413550011                Gas           Gov. Aggregation
COH             157226760023                Gas           Gov. Aggregation   COH             149596180013                Gas           Gov. Aggregation
COH             157523920029                Gas           Gov. Aggregation   COH             149736010029                Gas           Gov. Aggregation
COH             177776260010                Gas           Gov. Aggregation   COH             150194170032                Gas           Gov. Aggregation
COH             156087680018                Gas           Gov. Aggregation   COH             150409360026                Gas           Gov. Aggregation
COH             163324510029                Gas           Gov. Aggregation   COH             150546920028                Gas           Gov. Aggregation
COH             157432730013                Gas           Gov. Aggregation   COH             151442290066                Gas           Gov. Aggregation
COH             157882590065                Gas           Gov. Aggregation   COH             151689140010                Gas           Gov. Aggregation
COH             157938730020                Gas           Gov. Aggregation   COH             157061570014                Gas           Gov. Aggregation
COH             149097260014                Gas           Gov. Aggregation   COH             157621930038                Gas           Gov. Aggregation
COH             159058240018                Gas           Gov. Aggregation   COH             151936480014                Gas           Gov. Aggregation
COH             185087840019                Gas           Gov. Aggregation   COH             152515310038                Gas           Gov. Aggregation
COH             185106830019                Gas           Gov. Aggregation   COH             156854860013                Gas           Gov. Aggregation
COH             185343070017                Gas           Gov. Aggregation   COH             156953380014                Gas           Gov. Aggregation
COH             185347710014                Gas           Gov. Aggregation   COH             186147330017                Gas           Gov. Aggregation
COH             185520620015                Gas           Gov. Aggregation   COH             186563190015                Gas           Gov. Aggregation
COH             165655150031                Gas           Gov. Aggregation   COH             151102810011                Gas           Gov. Aggregation
COH             157719360013                Gas           Gov. Aggregation   COH             151546190012                Gas           Gov. Aggregation
COH             158508560017                Gas           Gov. Aggregation   COH             152575060026                Gas           Gov. Aggregation
COH             158882950013                Gas           Gov. Aggregation   COH             150533400051                Gas           Gov. Aggregation
COH             185351370017                Gas           Gov. Aggregation   COH             150670410031                Gas           Gov. Aggregation
COH             185453690023                Gas           Gov. Aggregation   COH             150997610019                Gas           Gov. Aggregation
COH             159258360019                Gas           Gov. Aggregation   COH             152774250015                Gas           Gov. Aggregation
COH             159993680023                Gas           Gov. Aggregation   COH             153760350012                Gas           Gov. Aggregation
COH             185114060014                Gas           Gov. Aggregation   COH             187335460038                Gas           Gov. Aggregation
COH             160506280016                Gas           Gov. Aggregation   COH             153834300024                Gas           Gov. Aggregation
COH             185552220012                Gas           Gov. Aggregation   COH             150439420011                Gas           Gov. Aggregation
COH             160018700012                Gas           Gov. Aggregation   COH             157942210011                Gas           Gov. Aggregation
COH             160297940012                Gas           Gov. Aggregation   COH             157956280036                Gas           Gov. Aggregation
COH             161044960012                Gas           Gov. Aggregation   COH             187018720017                Gas           Gov. Aggregation
COH             161341490039                Gas           Gov. Aggregation   COH             187926850015                Gas           Gov. Aggregation
COH             161447340018                Gas           Gov. Aggregation   COH             158270590016                Gas           Gov. Aggregation
COH             162225600021                Gas           Gov. Aggregation   COH             153309790016                Gas           Gov. Aggregation
COH             163000410026                Gas           Gov. Aggregation   COH             155315030038                Gas           Gov. Aggregation
COH             186446080016                Gas           Gov. Aggregation   COH             188249830014                Gas           Gov. Aggregation
COH             186395180014                Gas           Gov. Aggregation   COH             188266760013                Gas           Gov. Aggregation
COH             186528570019                Gas           Gov. Aggregation   COH             152093100029                Gas           Gov. Aggregation
COH             186816200015                Gas           Gov. Aggregation   COH             187910340015                Gas           Gov. Aggregation
COH             165388690026                Gas           Gov. Aggregation   COH             157987800013                Gas           Gov. Aggregation
COH             159384670017                Gas           Gov. Aggregation   COH             158434880017                Gas           Gov. Aggregation
COH             164579940010                Gas           Gov. Aggregation   COH             188512200017                Gas           Gov. Aggregation
COH             154885090012                Gas           Gov. Aggregation   COH             155979270014                Gas           Gov. Aggregation
COH             162562620023                Gas           Gov. Aggregation   COH             155989930014                Gas           Gov. Aggregation
COH             162836250011                Gas           Gov. Aggregation   COH             188553100021                Gas           Gov. Aggregation
COH             163195180042                Gas           Gov. Aggregation   COH             155536900019                Gas           Gov. Aggregation
COH             186172770012                Gas           Gov. Aggregation   COH             155643370014                Gas           Gov. Aggregation
COH             186576190018                Gas           Gov. Aggregation   COH             188030500034                Gas           Gov. Aggregation
COH             162388550019                Gas           Gov. Aggregation   COH             156955900038                Gas           Gov. Aggregation
COH             186102170015                Gas           Gov. Aggregation   COH             159061410042                Gas           Gov. Aggregation
COH             162766440010                Gas           Gov. Aggregation   COH             159401540034                Gas           Gov. Aggregation
COH             151505150052                Gas           Gov. Aggregation   COH             158680100037                Gas           Gov. Aggregation
COH             186711180012                Gas           Gov. Aggregation   COH             159282810013                Gas           Gov. Aggregation
COH             186719990016                Gas           Gov. Aggregation   COH             159511720015                Gas           Gov. Aggregation
COH             163807770012                Gas           Gov. Aggregation   COH             157134990020                Gas           Gov. Aggregation
COH             165184070019                Gas           Gov. Aggregation   COH             157170380022                Gas           Gov. Aggregation
COH             164997370023                Gas           Gov. Aggregation   COH             188465350017                Gas           Gov. Aggregation
COH             123106860017                Gas           Gov. Aggregation   COH             156583230038                Gas           Gov. Aggregation
COH             186863710019                Gas           Gov. Aggregation   COH             159607630039                Gas           Gov. Aggregation
COH             187022440017                Gas           Gov. Aggregation   COH             158511580034                Gas           Gov. Aggregation
COH             187259300015                Gas           Gov. Aggregation   COH             188988450018                Gas           Gov. Aggregation
COH             112182140039                Gas           Gov. Aggregation   COH             159882710012                Gas           Gov. Aggregation
COH             112314610048                Gas           Gov. Aggregation   COH             160138190034                Gas           Gov. Aggregation
COH             158766440016                Gas           Gov. Aggregation   COH             160157600019                Gas           Gov. Aggregation
COH             186676470017                Gas           Gov. Aggregation   COH             160537770027                Gas           Gov. Aggregation
COH             186700640027                Gas           Gov. Aggregation   COH             188994420020                Gas           Gov. Aggregation
COH             186855490013                Gas           Gov. Aggregation   COH             159184150010                Gas           Gov. Aggregation
COH             187073540019                Gas           Gov. Aggregation   COH             159193710013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             187137790039                Gas           Gov. Aggregation   COH             159287920038                Gas           Gov. Aggregation
COH             187259230010                Gas           Gov. Aggregation   COH             159294350015                Gas           Gov. Aggregation
COH             165305030019                Gas           Gov. Aggregation   COH             188966210014                Gas           Gov. Aggregation
COH             112186790026                Gas           Gov. Aggregation   COH             189175670023                Gas           Gov. Aggregation
COH             123966130198                Gas           Gov. Aggregation   COH             159891950013                Gas           Gov. Aggregation
COH             123755350019                Gas           Gov. Aggregation   COH             159200660017                Gas           Gov. Aggregation
COH             187568590010                Gas           Gov. Aggregation   COH             160326980011                Gas           Gov. Aggregation
COH             187842760012                Gas           Gov. Aggregation   COH             159021750018                Gas           Gov. Aggregation
COH             188073170016                Gas           Gov. Aggregation   COH             159441610197                Gas           Gov. Aggregation
COH             187160230019                Gas           Gov. Aggregation   COH             159542260017                Gas           Gov. Aggregation
COH             187350180017                Gas           Gov. Aggregation   COH             160528780015                Gas           Gov. Aggregation
COH             187601810011                Gas           Gov. Aggregation   COH             160793610019                Gas           Gov. Aggregation
COH             187628820013                Gas           Gov. Aggregation   COH             160782240038                Gas           Gov. Aggregation
COH             112267920017                Gas           Gov. Aggregation   COH             190023690027                Gas           Gov. Aggregation
COH             112295750014                Gas           Gov. Aggregation   COH             157377440030                Gas           Gov. Aggregation
COH             112306290025                Gas           Gov. Aggregation   COH             159174710068                Gas           Gov. Aggregation
COH             165597280010                Gas           Gov. Aggregation   COH             189781170014                Gas           Gov. Aggregation
COH             165889570010                Gas           Gov. Aggregation   COH             160516500018                Gas           Gov. Aggregation
COH             188333430019                Gas           Gov. Aggregation   COH             159747090037                Gas           Gov. Aggregation
COH             188336350010                Gas           Gov. Aggregation   COH             161244870017                Gas           Gov. Aggregation
COH             187441540018                Gas           Gov. Aggregation   COH             161344670026                Gas           Gov. Aggregation
COH             112186030016                Gas           Gov. Aggregation   COH             161684290017                Gas           Gov. Aggregation
COH             112187710011                Gas           Gov. Aggregation   COH             160815220013                Gas           Gov. Aggregation
COH             123741120016                Gas           Gov. Aggregation   COH             161263550069                Gas           Gov. Aggregation
COH             112392780021                Gas           Gov. Aggregation   COH             162194030064                Gas           Gov. Aggregation
COH             188606250018                Gas           Gov. Aggregation   COH             162228940015                Gas           Gov. Aggregation
COH             165486390012                Gas           Gov. Aggregation   COH             161270220018                Gas           Gov. Aggregation
COH             112294780010                Gas           Gov. Aggregation   COH             163188870015                Gas           Gov. Aggregation
COH             187858910017                Gas           Gov. Aggregation   COH             189957630014                Gas           Gov. Aggregation
COH             187906790010                Gas           Gov. Aggregation   COH             161316810061                Gas           Gov. Aggregation
COH             124639650011                Gas           Gov. Aggregation   COH             161689010015                Gas           Gov. Aggregation
COH             124632280013                Gas           Gov. Aggregation   COH             162895940021                Gas           Gov. Aggregation
COH             124640570024                Gas           Gov. Aggregation   COH             163112740011                Gas           Gov. Aggregation
COH             125742250024                Gas           Gov. Aggregation   COH             161734710020                Gas           Gov. Aggregation
COH             112689670025                Gas           Gov. Aggregation   COH             161941340029                Gas           Gov. Aggregation
COH             125750590017                Gas           Gov. Aggregation   COH             161885510032                Gas           Gov. Aggregation
COH             125793590017                Gas           Gov. Aggregation   COH             161934850027                Gas           Gov. Aggregation
COH             125753170037                Gas           Gov. Aggregation   COH             162023780013                Gas           Gov. Aggregation
COH             125784300025                Gas           Gov. Aggregation   COH             162213370016                Gas           Gov. Aggregation
COH             125795020021                Gas           Gov. Aggregation   COH             190714450013                Gas           Gov. Aggregation
COH             125795190017                Gas           Gov. Aggregation   COH             162194490013                Gas           Gov. Aggregation
COH             125872960011                Gas           Gov. Aggregation   COH             163652550017                Gas           Gov. Aggregation
COH             125867280097                Gas           Gov. Aggregation   COH             162525620012                Gas           Gov. Aggregation
COH             187730290018                Gas           Gov. Aggregation   COH             165289360016                Gas           Gov. Aggregation
COH             188008690014                Gas           Gov. Aggregation   COH             111169500014                Gas           Gov. Aggregation
COH             188035540018                Gas           Gov. Aggregation   COH             190301620012                Gas           Gov. Aggregation
COH             188267950011                Gas           Gov. Aggregation   COH             111178510022                Gas           Gov. Aggregation
COH             163322120061                Gas           Gov. Aggregation   COH             161673880016                Gas           Gov. Aggregation
COH             125732640032                Gas           Gov. Aggregation   COH             161687530010                Gas           Gov. Aggregation
COH             189067210028                Gas           Gov. Aggregation   COH             161745120012                Gas           Gov. Aggregation
COH             115007310012                Gas           Gov. Aggregation   COH             161776580011                Gas           Gov. Aggregation
COH             115023640019                Gas           Gov. Aggregation   COH             190577310014                Gas           Gov. Aggregation
COH             125792580011                Gas           Gov. Aggregation   COH             162624970019                Gas           Gov. Aggregation
COH             125793630018                Gas           Gov. Aggregation   COH             112061430025                Gas           Gov. Aggregation
COH             125812720026                Gas           Gov. Aggregation   COH             126878880015                Gas           Gov. Aggregation
COH             189461740012                Gas           Gov. Aggregation   COH             162747770020                Gas           Gov. Aggregation
COH             189677210016                Gas           Gov. Aggregation   COH             165862660053                Gas           Gov. Aggregation
COH             114988890014                Gas           Gov. Aggregation   COH             165705780023                Gas           Gov. Aggregation
COH             125787830019                Gas           Gov. Aggregation   COH             163058700015                Gas           Gov. Aggregation
COH             125797420014                Gas           Gov. Aggregation   COH             190750780018                Gas           Gov. Aggregation
COH             125864130021                Gas           Gov. Aggregation   COH             163512250016                Gas           Gov. Aggregation
COH             125864520010                Gas           Gov. Aggregation   COH             190878520012                Gas           Gov. Aggregation
COH             188652660024                Gas           Gov. Aggregation   COH             190878550016                Gas           Gov. Aggregation
COH             188756770012                Gas           Gov. Aggregation   COH             190900750015                Gas           Gov. Aggregation
COH             189191180031                Gas           Gov. Aggregation   COH             163489490026                Gas           Gov. Aggregation
COH             189409150016                Gas           Gov. Aggregation   COH             163763280019                Gas           Gov. Aggregation
COH             127518400025                Gas           Gov. Aggregation   COH             190872310018                Gas           Gov. Aggregation
COH             132940610029                Gas           Gov. Aggregation   COH             191056920019                Gas           Gov. Aggregation
COH             132997070024                Gas           Gov. Aggregation   COH             164112130018                Gas           Gov. Aggregation
COH             189198870014                Gas           Gov. Aggregation   COH             131628890015                Gas           Gov. Aggregation
COH             189389650015                Gas           Gov. Aggregation   COH             132102250067                Gas           Gov. Aggregation
COH             130100310024                Gas           Gov. Aggregation   COH             133486400017                Gas           Gov. Aggregation
COH             132360880014                Gas           Gov. Aggregation   COH             164100140011                Gas           Gov. Aggregation
COH             188753030013                Gas           Gov. Aggregation   COH             191192110039                Gas           Gov. Aggregation
COH             188756820011                Gas           Gov. Aggregation   COH             191501020013                Gas           Gov. Aggregation
COH             189263420019                Gas           Gov. Aggregation   COH             130946560011                Gas           Gov. Aggregation
COH             132025460021                Gas           Gov. Aggregation   COH             109098080349                Gas           Gov. Aggregation
COH             189765910012                Gas           Gov. Aggregation   COH             109098080714                Gas           Gov. Aggregation
COH             189871660010                Gas           Gov. Aggregation   COH             163828910018                Gas           Gov. Aggregation
COH             189893900013                Gas           Gov. Aggregation   COH             136391270013                Gas           Gov. Aggregation
COH             134503480049                Gas           Gov. Aggregation   COH             115176830016                Gas           Gov. Aggregation
COH             137019460029                Gas           Gov. Aggregation   COH             191447570014                Gas           Gov. Aggregation
COH             138437170014                Gas           Gov. Aggregation   COH             137649420013                Gas           Gov. Aggregation
COH             190431590014                Gas           Gov. Aggregation   COH             164301910013                Gas           Gov. Aggregation
COH             189977020029                Gas           Gov. Aggregation   COH             164486390022                Gas           Gov. Aggregation
COH             133745030015                Gas           Gov. Aggregation   COH             191620550010                Gas           Gov. Aggregation
COH             135023770036                Gas           Gov. Aggregation   COH             191621190014                Gas           Gov. Aggregation
COH             137395020016                Gas           Gov. Aggregation   COH             164193060031                Gas           Gov. Aggregation
COH             138872250015                Gas           Gov. Aggregation   COH             164199810013                Gas           Gov. Aggregation
COH             113492780028                Gas           Gov. Aggregation   COH             164295540016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             189740660017                Gas           Gov. Aggregation   COH             164737000020                Gas           Gov. Aggregation
COH             189755560017                Gas           Gov. Aggregation   COH             164889230067                Gas           Gov. Aggregation
COH             190293890015                Gas           Gov. Aggregation   COH             164993840013                Gas           Gov. Aggregation
COH             189867210013                Gas           Gov. Aggregation   COH             164688430016                Gas           Gov. Aggregation
COH             133707060019                Gas           Gov. Aggregation   COH             164703920019                Gas           Gov. Aggregation
COH             133930450014                Gas           Gov. Aggregation   COH             165157090012                Gas           Gov. Aggregation
COH             137460200028                Gas           Gov. Aggregation   COH             164993790014                Gas           Gov. Aggregation
COH             113865180032                Gas           Gov. Aggregation   COH             165060310029                Gas           Gov. Aggregation
COH             190082800010                Gas           Gov. Aggregation   COH             165478930024                Gas           Gov. Aggregation
COH             190114110016                Gas           Gov. Aggregation   COH             165580890017                Gas           Gov. Aggregation
COH             190115480017                Gas           Gov. Aggregation   COH             165589360010                Gas           Gov. Aggregation
COH             190385900017                Gas           Gov. Aggregation   COH             117095780026                Gas           Gov. Aggregation
COH             190392460015                Gas           Gov. Aggregation   COH             165457440021                Gas           Gov. Aggregation
COH             140877880019                Gas           Gov. Aggregation   COH             165458630010                Gas           Gov. Aggregation
COH             143257580013                Gas           Gov. Aggregation   COH             140444760020                Gas           Gov. Aggregation
COH             190869530028                Gas           Gov. Aggregation   COH             164956200015                Gas           Gov. Aggregation
COH             190395970012                Gas           Gov. Aggregation   COH             165095600025                Gas           Gov. Aggregation
COH             190442310019                Gas           Gov. Aggregation   COH             165210480016                Gas           Gov. Aggregation
COH             144556420039                Gas           Gov. Aggregation   COH             165690760011                Gas           Gov. Aggregation
COH             143732920031                Gas           Gov. Aggregation   COH             165690910019                Gas           Gov. Aggregation
COH             144901240043                Gas           Gov. Aggregation   COH             123657810056                Gas           Gov. Aggregation
COH             144193520038                Gas           Gov. Aggregation   COH             123662730025                Gas           Gov. Aggregation
COH             190905240012                Gas           Gov. Aggregation   COH             123704410031                Gas           Gov. Aggregation
COH             190932070011                Gas           Gov. Aggregation   COH             123708180023                Gas           Gov. Aggregation
COH             191008140014                Gas           Gov. Aggregation   COH             123708460024                Gas           Gov. Aggregation
COH             146565160033                Gas           Gov. Aggregation   COH             117542990023                Gas           Gov. Aggregation
COH             191020300014                Gas           Gov. Aggregation   COH             118091570027                Gas           Gov. Aggregation
COH             145117940020                Gas           Gov. Aggregation   COH             123697930020                Gas           Gov. Aggregation
COH             147571320017                Gas           Gov. Aggregation   COH             123714890021                Gas           Gov. Aggregation
COH             132264250038                Gas           Gov. Aggregation   COH             123715090027                Gas           Gov. Aggregation
COH             191174970019                Gas           Gov. Aggregation   COH             123720240015                Gas           Gov. Aggregation
COH             168584570013                Gas           Gov. Aggregation   COH             123720800026                Gas           Gov. Aggregation
COH             168398640013                Gas           Gov. Aggregation   COH             123646550018                Gas           Gov. Aggregation
COH             121942000017                Gas           Gov. Aggregation   COH             123688880020                Gas           Gov. Aggregation
COH             121945600033                Gas           Gov. Aggregation   COH             123737670010                Gas           Gov. Aggregation
COH             121947200015                Gas           Gov. Aggregation   COH             123990270027                Gas           Gov. Aggregation
COH             121952560028                Gas           Gov. Aggregation   COH             123990990017                Gas           Gov. Aggregation
COH             121990640021                Gas           Gov. Aggregation   COH             144673860011                Gas           Gov. Aggregation
COH             166802490018                Gas           Gov. Aggregation   COH             144820920015                Gas           Gov. Aggregation
COH             122432740030                Gas           Gov. Aggregation   COH             146202920013                Gas           Gov. Aggregation
COH             122514940034                Gas           Gov. Aggregation   COH             166159150023                Gas           Gov. Aggregation
COH             167402500012                Gas           Gov. Aggregation   COH             149487590027                Gas           Gov. Aggregation
COH             121958950015                Gas           Gov. Aggregation   COH             124024950011                Gas           Gov. Aggregation
COH             121963250066                Gas           Gov. Aggregation   COH             150372890015                Gas           Gov. Aggregation
COH             122346750022                Gas           Gov. Aggregation   COH             124215190025                Gas           Gov. Aggregation
COH             122361880023                Gas           Gov. Aggregation   COH             124252180029                Gas           Gov. Aggregation
COH             122391770023                Gas           Gov. Aggregation   COH             150880030018                Gas           Gov. Aggregation
COH             122446590024                Gas           Gov. Aggregation   COH             151347670013                Gas           Gov. Aggregation
COH             141650911065                Gas           Gov. Aggregation   COH             124047170035                Gas           Gov. Aggregation
COH             134809510053                Gas           Gov. Aggregation   COH             165630520017                Gas           Gov. Aggregation
COH             121993440018                Gas           Gov. Aggregation   COH             165719720017                Gas           Gov. Aggregation
COH             122001610012                Gas           Gov. Aggregation   COH             124174680020                Gas           Gov. Aggregation
COH             191218910017                Gas           Gov. Aggregation   COH             152071070013                Gas           Gov. Aggregation
COH             171316190122                Gas           Gov. Aggregation   COH             124080340011                Gas           Gov. Aggregation
COH             123891320017                Gas           Gov. Aggregation   COH             149824230017                Gas           Gov. Aggregation
COH             123993830014                Gas           Gov. Aggregation   COH             151057500013                Gas           Gov. Aggregation
COH             143923070142                Gas           Gov. Aggregation   COH             165915710013                Gas           Gov. Aggregation
COH             145641990029                Gas           Gov. Aggregation   COH             152548250014                Gas           Gov. Aggregation
COH             169338040014                Gas           Gov. Aggregation   COH             114682270021                Gas           Gov. Aggregation
COH             170028900017                Gas           Gov. Aggregation   COH             114706200014                Gas           Gov. Aggregation
COH             170122670016                Gas           Gov. Aggregation   COH             114713600015                Gas           Gov. Aggregation
COH             144251290015                Gas           Gov. Aggregation   COH             114703820010                Gas           Gov. Aggregation
COH             191406850011                Gas           Gov. Aggregation   COH             114704410014                Gas           Gov. Aggregation
COH             191480540010                Gas           Gov. Aggregation   COH             110323310026                Gas           Gov. Aggregation
COH             191485930018                Gas           Gov. Aggregation   COH             114712890017                Gas           Gov. Aggregation
COH             191596160015                Gas           Gov. Aggregation   COH             114713510014                Gas           Gov. Aggregation
COH             122476980010                Gas           Gov. Aggregation   COH             152203500011                Gas           Gov. Aggregation
COH             122486240014                Gas           Gov. Aggregation   COH             152322390013                Gas           Gov. Aggregation
COH             167860150016                Gas           Gov. Aggregation   COH             147675020010                Gas           Gov. Aggregation
COH             191287630011                Gas           Gov. Aggregation   COH             148170970038                Gas           Gov. Aggregation
COH             122458710014                Gas           Gov. Aggregation   COH             167946720014                Gas           Gov. Aggregation
COH             122461080029                Gas           Gov. Aggregation   COH             165817420049                Gas           Gov. Aggregation
COH             191632980015                Gas           Gov. Aggregation   COH             132204150017                Gas           Gov. Aggregation
COH             170614760014                Gas           Gov. Aggregation   COH             116678670024                Gas           Gov. Aggregation
COH             124132530010                Gas           Gov. Aggregation   COH             126884660018                Gas           Gov. Aggregation
COH             124133780016                Gas           Gov. Aggregation   COH             129852390108                Gas           Gov. Aggregation
COH             124134490015                Gas           Gov. Aggregation   COH             130344560026                Gas           Gov. Aggregation
COH             124137170043                Gas           Gov. Aggregation   COH             131245940016                Gas           Gov. Aggregation
COH             124268490012                Gas           Gov. Aggregation   COH             166345370013                Gas           Gov. Aggregation
COH             124593580014                Gas           Gov. Aggregation   COH             166817220013                Gas           Gov. Aggregation
COH             169351680012                Gas           Gov. Aggregation   COH             167686510010                Gas           Gov. Aggregation
COH             170469860012                Gas           Gov. Aggregation   COH             168080430010                Gas           Gov. Aggregation
COH             171383810013                Gas           Gov. Aggregation   COH             170135860019                Gas           Gov. Aggregation
COH             123908550012                Gas           Gov. Aggregation   COH             126779580036                Gas           Gov. Aggregation
COH             123908980021                Gas           Gov. Aggregation   COH             130112290042                Gas           Gov. Aggregation
COH             123917640014                Gas           Gov. Aggregation   COH             151473120011                Gas           Gov. Aggregation
COH             123944020026                Gas           Gov. Aggregation   COH             153798610018                Gas           Gov. Aggregation
COH             123964720018                Gas           Gov. Aggregation   COH             132777210011                Gas           Gov. Aggregation
COH             123995740019                Gas           Gov. Aggregation   COH             132030800037                Gas           Gov. Aggregation
COH             124229790011                Gas           Gov. Aggregation   COH             132215650019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             124231580029                Gas           Gov. Aggregation   COH             132576690026                Gas           Gov. Aggregation
COH             124262390033                Gas           Gov. Aggregation   COH             132924110019                Gas           Gov. Aggregation
COH             124576930016                Gas           Gov. Aggregation   COH             171006200019                Gas           Gov. Aggregation
COH             124013860059                Gas           Gov. Aggregation   COH             134315170016                Gas           Gov. Aggregation
COH             124132710021                Gas           Gov. Aggregation   COH             136724730028                Gas           Gov. Aggregation
COH             124133370012                Gas           Gov. Aggregation   COH             136972020040                Gas           Gov. Aggregation
COH             124134100016                Gas           Gov. Aggregation   COH             137279790011                Gas           Gov. Aggregation
COH             124225410018                Gas           Gov. Aggregation   COH             138040060027                Gas           Gov. Aggregation
COH             124231150010                Gas           Gov. Aggregation   COH             167950540013                Gas           Gov. Aggregation
COH             124257820024                Gas           Gov. Aggregation   COH             136198990012                Gas           Gov. Aggregation
COH             124570860013                Gas           Gov. Aggregation   COH             136241050016                Gas           Gov. Aggregation
COH             124583150097                Gas           Gov. Aggregation   COH             136392000026                Gas           Gov. Aggregation
COH             124586970017                Gas           Gov. Aggregation   COH             137358430018                Gas           Gov. Aggregation
COH             191831580017                Gas           Gov. Aggregation   COH             171503800019                Gas           Gov. Aggregation
COH             123942300021                Gas           Gov. Aggregation   COH             116958170034                Gas           Gov. Aggregation
COH             123944020017                Gas           Gov. Aggregation   COH             116967730028                Gas           Gov. Aggregation
COH             123966320018                Gas           Gov. Aggregation   COH             117026110021                Gas           Gov. Aggregation
COH             124134550012                Gas           Gov. Aggregation   COH             168459370010                Gas           Gov. Aggregation
COH             124268980046                Gas           Gov. Aggregation   COH             136948140019                Gas           Gov. Aggregation
COH             124301670012                Gas           Gov. Aggregation   COH             138042200032                Gas           Gov. Aggregation
COH             124605280010                Gas           Gov. Aggregation   COH             138274430024                Gas           Gov. Aggregation
COH             191909820011                Gas           Gov. Aggregation   COH             116989730022                Gas           Gov. Aggregation
COH             126806710020                Gas           Gov. Aggregation   COH             117069340023                Gas           Gov. Aggregation
COH             191743950016                Gas           Gov. Aggregation   COH             172525930015                Gas           Gov. Aggregation
COH             147757710119                Gas           Gov. Aggregation   COH             172832730025                Gas           Gov. Aggregation
COH             191927790010                Gas           Gov. Aggregation   COH             117062760038                Gas           Gov. Aggregation
COH             192090560012                Gas           Gov. Aggregation   COH             117161550023                Gas           Gov. Aggregation
COH             127326060015                Gas           Gov. Aggregation   COH             156405780020                Gas           Gov. Aggregation
COH             127421520043                Gas           Gov. Aggregation   COH             141243100014                Gas           Gov. Aggregation
COH             174596540016                Gas           Gov. Aggregation   COH             141381540038                Gas           Gov. Aggregation
COH             128974150049                Gas           Gov. Aggregation   COH             141546280015                Gas           Gov. Aggregation
COH             191956950015                Gas           Gov. Aggregation   COH             142580830025                Gas           Gov. Aggregation
COH             130762300033                Gas           Gov. Aggregation   COH             142716060019                Gas           Gov. Aggregation
COH             131846710010                Gas           Gov. Aggregation   COH             117285770070                Gas           Gov. Aggregation
COH             131875770017                Gas           Gov. Aggregation   COH             140638980014                Gas           Gov. Aggregation
COH             174330180032                Gas           Gov. Aggregation   COH             141324470015                Gas           Gov. Aggregation
COH             175108160018                Gas           Gov. Aggregation   COH             142405000029                Gas           Gov. Aggregation
COH             192101460018                Gas           Gov. Aggregation   COH             142789620036                Gas           Gov. Aggregation
COH             146364450029                Gas           Gov. Aggregation   COH             117293330020                Gas           Gov. Aggregation
COH             192041540019                Gas           Gov. Aggregation   COH             117305430031                Gas           Gov. Aggregation
COH             192079620013                Gas           Gov. Aggregation   COH             117311170015                Gas           Gov. Aggregation
COH             175256120013                Gas           Gov. Aggregation   COH             117313900026                Gas           Gov. Aggregation
COH             133235390011                Gas           Gov. Aggregation   COH             117330180013                Gas           Gov. Aggregation
COH             133705710025                Gas           Gov. Aggregation   COH             117331910026                Gas           Gov. Aggregation
COH             134117740016                Gas           Gov. Aggregation   COH             117334790026                Gas           Gov. Aggregation
COH             134121980044                Gas           Gov. Aggregation   COH             117338200012                Gas           Gov. Aggregation
COH             134769040012                Gas           Gov. Aggregation   COH             140582670045                Gas           Gov. Aggregation
COH             131758480016                Gas           Gov. Aggregation   COH             140595230022                Gas           Gov. Aggregation
COH             135993010012                Gas           Gov. Aggregation   COH             140805990026                Gas           Gov. Aggregation
COH             177640700014                Gas           Gov. Aggregation   COH             142804360019                Gas           Gov. Aggregation
COH             136016850051                Gas           Gov. Aggregation   COH             142940230036                Gas           Gov. Aggregation
COH             136982090018                Gas           Gov. Aggregation   COH             143474910013                Gas           Gov. Aggregation
COH             137160960016                Gas           Gov. Aggregation   COH             156161640018                Gas           Gov. Aggregation
COH             137691730019                Gas           Gov. Aggregation   COH             139483280031                Gas           Gov. Aggregation
COH             137746470017                Gas           Gov. Aggregation   COH             139769530023                Gas           Gov. Aggregation
COH             138365630056                Gas           Gov. Aggregation   COH             141456890018                Gas           Gov. Aggregation
COH             185947380012                Gas           Gov. Aggregation   COH             117331010016                Gas           Gov. Aggregation
COH             186637490015                Gas           Gov. Aggregation   COH             117331710019                Gas           Gov. Aggregation
COH             176777080035                Gas           Gov. Aggregation   COH             117334430012                Gas           Gov. Aggregation
COH             176880360019                Gas           Gov. Aggregation   COH             117360510127                Gas           Gov. Aggregation
COH             136526170062                Gas           Gov. Aggregation   COH             117362190014                Gas           Gov. Aggregation
COH             137462150025                Gas           Gov. Aggregation   COH             117365320038                Gas           Gov. Aggregation
COH             185252020010                Gas           Gov. Aggregation   COH             117365470028                Gas           Gov. Aggregation
COH             137352860010                Gas           Gov. Aggregation   COH             117309240024                Gas           Gov. Aggregation
COH             138052640039                Gas           Gov. Aggregation   COH             117313900017                Gas           Gov. Aggregation
COH             139701330036                Gas           Gov. Aggregation   COH             117328670024                Gas           Gov. Aggregation
COH             141238530033                Gas           Gov. Aggregation   COH             117329580012                Gas           Gov. Aggregation
COH             141311210052                Gas           Gov. Aggregation   COH             117330030014                Gas           Gov. Aggregation
COH             141379300042                Gas           Gov. Aggregation   COH             117331720017                Gas           Gov. Aggregation
COH             139934580022                Gas           Gov. Aggregation   COH             117349360016                Gas           Gov. Aggregation
COH             140257150016                Gas           Gov. Aggregation   COH             117351780013                Gas           Gov. Aggregation
COH             188383730011                Gas           Gov. Aggregation   COH             117356940019                Gas           Gov. Aggregation
COH             174858570032                Gas           Gov. Aggregation   COH             156943130017                Gas           Gov. Aggregation
COH             142011250031                Gas           Gov. Aggregation   COH             157333400012                Gas           Gov. Aggregation
COH             142014710010                Gas           Gov. Aggregation   COH             143618830041                Gas           Gov. Aggregation
COH             143123270020                Gas           Gov. Aggregation   COH             144357570030                Gas           Gov. Aggregation
COH             143243650017                Gas           Gov. Aggregation   COH             144646390035                Gas           Gov. Aggregation
COH             141333690010                Gas           Gov. Aggregation   COH             144646460012                Gas           Gov. Aggregation
COH             142532760012                Gas           Gov. Aggregation   COH             145076650010                Gas           Gov. Aggregation
COH             192193150010                Gas           Gov. Aggregation   COH             145170970059                Gas           Gov. Aggregation
COH             150227650030                Gas           Gov. Aggregation   COH             144028490016                Gas           Gov. Aggregation
COH             144881780017                Gas           Gov. Aggregation   COH             145451660058                Gas           Gov. Aggregation
COH             145294290014                Gas           Gov. Aggregation   COH             145541940058                Gas           Gov. Aggregation
COH             188477060013                Gas           Gov. Aggregation   COH             145636270030                Gas           Gov. Aggregation
COH             143885300010                Gas           Gov. Aggregation   COH             157583450022                Gas           Gov. Aggregation
COH             144285270018                Gas           Gov. Aggregation   COH             145479270034                Gas           Gov. Aggregation
COH             144546060027                Gas           Gov. Aggregation   COH             145864260020                Gas           Gov. Aggregation
COH             145224820019                Gas           Gov. Aggregation   COH             117292450018                Gas           Gov. Aggregation
COH             145436940024                Gas           Gov. Aggregation   COH             117295030010                Gas           Gov. Aggregation
COH             188295890042                Gas           Gov. Aggregation   COH             117295730013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             188597530029                Gas           Gov. Aggregation   COH             117311490018                Gas           Gov. Aggregation
COH             144660700011                Gas           Gov. Aggregation   COH             117328890019                Gas           Gov. Aggregation
COH             145200100010                Gas           Gov. Aggregation   COH             117364470011                Gas           Gov. Aggregation
COH             145874810023                Gas           Gov. Aggregation   COH             117368060037                Gas           Gov. Aggregation
COH             145538890038                Gas           Gov. Aggregation   COH             117368070035                Gas           Gov. Aggregation
COH             146277140029                Gas           Gov. Aggregation   COH             156628660032                Gas           Gov. Aggregation
COH             146739650022                Gas           Gov. Aggregation   COH             141981280040                Gas           Gov. Aggregation
COH             147218600034                Gas           Gov. Aggregation   COH             142166520028                Gas           Gov. Aggregation
COH             151846640039                Gas           Gov. Aggregation   COH             143001820013                Gas           Gov. Aggregation
COH             139790220023                Gas           Gov. Aggregation   COH             143014310022                Gas           Gov. Aggregation
COH             153794910013                Gas           Gov. Aggregation   COH             143089920018                Gas           Gov. Aggregation
COH             141824910021                Gas           Gov. Aggregation   COH             143469190016                Gas           Gov. Aggregation
COH             142468570037                Gas           Gov. Aggregation   COH             117457850041                Gas           Gov. Aggregation
COH             143017980017                Gas           Gov. Aggregation   COH             173896170046                Gas           Gov. Aggregation
COH             143130160028                Gas           Gov. Aggregation   COH             174365560020                Gas           Gov. Aggregation
COH             143905220013                Gas           Gov. Aggregation   COH             174643230010                Gas           Gov. Aggregation
COH             144670570045                Gas           Gov. Aggregation   COH             117501850046                Gas           Gov. Aggregation
COH             188689660018                Gas           Gov. Aggregation   COH             117514150019                Gas           Gov. Aggregation
COH             189475370011                Gas           Gov. Aggregation   COH             148633340010                Gas           Gov. Aggregation
COH             189871010016                Gas           Gov. Aggregation   COH             166085640036                Gas           Gov. Aggregation
COH             185470910020                Gas           Gov. Aggregation   COH             147378940017                Gas           Gov. Aggregation
COH             154945050012                Gas           Gov. Aggregation   COH             165951910042                Gas           Gov. Aggregation
COH             156794380021                Gas           Gov. Aggregation   COH             166006220012                Gas           Gov. Aggregation
COH             185848570012                Gas           Gov. Aggregation   COH             148766750022                Gas           Gov. Aggregation
COH             148520660012                Gas           Gov. Aggregation   COH             148808040094                Gas           Gov. Aggregation
COH             189368750018                Gas           Gov. Aggregation   COH             167114050018                Gas           Gov. Aggregation
COH             147228290011                Gas           Gov. Aggregation   COH             117789000028                Gas           Gov. Aggregation
COH             148025530028                Gas           Gov. Aggregation   COH             175159570015                Gas           Gov. Aggregation
COH             148751630037                Gas           Gov. Aggregation   COH             159716820010                Gas           Gov. Aggregation
COH             152777320014                Gas           Gov. Aggregation   COH             176122700013                Gas           Gov. Aggregation
COH             153092740035                Gas           Gov. Aggregation   COH             160976600013                Gas           Gov. Aggregation
COH             189408790014                Gas           Gov. Aggregation   COH             158691530034                Gas           Gov. Aggregation
COH             190191220011                Gas           Gov. Aggregation   COH             160892060015                Gas           Gov. Aggregation
COH             190484410010                Gas           Gov. Aggregation   COH             167703740014                Gas           Gov. Aggregation
COH             154484870027                Gas           Gov. Aggregation   COH             167762940018                Gas           Gov. Aggregation
COH             154917440019                Gas           Gov. Aggregation   COH             117947080026                Gas           Gov. Aggregation
COH             190017470017                Gas           Gov. Aggregation   COH             166363910020                Gas           Gov. Aggregation
COH             186801070032                Gas           Gov. Aggregation   COH             166373450017                Gas           Gov. Aggregation
COH             190548030014                Gas           Gov. Aggregation   COH             117937470025                Gas           Gov. Aggregation
COH             190741650014                Gas           Gov. Aggregation   COH             118050860013                Gas           Gov. Aggregation
COH             167507170029                Gas           Gov. Aggregation   COH             167696750019                Gas           Gov. Aggregation
COH             148571260019                Gas           Gov. Aggregation   COH             167783800031                Gas           Gov. Aggregation
COH             166372020019                Gas           Gov. Aggregation   COH             162381480018                Gas           Gov. Aggregation
COH             191063310012                Gas           Gov. Aggregation   COH             118073510027                Gas           Gov. Aggregation
COH             167057640016                Gas           Gov. Aggregation   COH             118044080029                Gas           Gov. Aggregation
COH             167507960041                Gas           Gov. Aggregation   COH             118137590025                Gas           Gov. Aggregation
COH             168911890020                Gas           Gov. Aggregation   COH             168468430018                Gas           Gov. Aggregation
COH             190759880019                Gas           Gov. Aggregation   COH             168520360020                Gas           Gov. Aggregation
COH             190767970013                Gas           Gov. Aggregation   COH             168772600035                Gas           Gov. Aggregation
COH             191010220012                Gas           Gov. Aggregation   COH             169272500044                Gas           Gov. Aggregation
COH             191249500018                Gas           Gov. Aggregation   COH             168350200042                Gas           Gov. Aggregation
COH             191196190017                Gas           Gov. Aggregation   COH             162113430015                Gas           Gov. Aggregation
COH             191637760011                Gas           Gov. Aggregation   COH             170405520017                Gas           Gov. Aggregation
COH             191561750014                Gas           Gov. Aggregation   COH             163934430023                Gas           Gov. Aggregation
COH             191592590013                Gas           Gov. Aggregation   COH             118049940037                Gas           Gov. Aggregation
COH             188337650024                Gas           Gov. Aggregation   COH             118051410015                Gas           Gov. Aggregation
COH             170258160016                Gas           Gov. Aggregation   COH             118091910034                Gas           Gov. Aggregation
COH             170341440010                Gas           Gov. Aggregation   COH             118113500023                Gas           Gov. Aggregation
COH             191940750010                Gas           Gov. Aggregation   COH             118132840022                Gas           Gov. Aggregation
COH             192123550013                Gas           Gov. Aggregation   COH             162513140027                Gas           Gov. Aggregation
COH             191962430011                Gas           Gov. Aggregation   COH             118205990053                Gas           Gov. Aggregation
COH             192197510016                Gas           Gov. Aggregation   COH             118265010025                Gas           Gov. Aggregation
COH             157063530036                Gas           Gov. Aggregation   COH             118307970024                Gas           Gov. Aggregation
COH             160727590013                Gas           Gov. Aggregation   COH             118225150020                Gas           Gov. Aggregation
COH             154972020011                Gas           Gov. Aggregation   COH             165192990028                Gas           Gov. Aggregation
COH             155545760029                Gas           Gov. Aggregation   COH             165228000019                Gas           Gov. Aggregation
COH             157213320013                Gas           Gov. Aggregation   COH             170280790017                Gas           Gov. Aggregation
COH             168769060036                Gas           Gov. Aggregation   COH             171405260011                Gas           Gov. Aggregation
COH             168857950023                Gas           Gov. Aggregation   COH             118647540042                Gas           Gov. Aggregation
COH             169510550011                Gas           Gov. Aggregation   COH             175876300011                Gas           Gov. Aggregation
COH             170319980032                Gas           Gov. Aggregation   COH             186130970018                Gas           Gov. Aggregation
COH             191680470011                Gas           Gov. Aggregation   COH             186138840019                Gas           Gov. Aggregation
COH             149197640021                Gas           Gov. Aggregation   COH             186309420014                Gas           Gov. Aggregation
COH             170731640011                Gas           Gov. Aggregation   COH             170175500029                Gas           Gov. Aggregation
COH             171400080019                Gas           Gov. Aggregation   COH             170179090019                Gas           Gov. Aggregation
COH             171617080010                Gas           Gov. Aggregation   COH             170999820017                Gas           Gov. Aggregation
COH             149178410038                Gas           Gov. Aggregation   COH             171410150433                Gas           Gov. Aggregation
COH             191828560018                Gas           Gov. Aggregation   COH             170503720017                Gas           Gov. Aggregation
COH             171238710039                Gas           Gov. Aggregation   COH             170596630011                Gas           Gov. Aggregation
COH             149865470011                Gas           Gov. Aggregation   COH             170605780019                Gas           Gov. Aggregation
COH             149802470022                Gas           Gov. Aggregation   COH             186522370013                Gas           Gov. Aggregation
COH             150212430028                Gas           Gov. Aggregation   COH             186322090025                Gas           Gov. Aggregation
COH             149516240027                Gas           Gov. Aggregation   COH             186332820011                Gas           Gov. Aggregation
COH             149906090031                Gas           Gov. Aggregation   COH             186565410014                Gas           Gov. Aggregation
COH             149821130032                Gas           Gov. Aggregation   COH             187403370014                Gas           Gov. Aggregation
COH             149935310033                Gas           Gov. Aggregation   COH             165401350036                Gas           Gov. Aggregation
COH             150060340020                Gas           Gov. Aggregation   COH             187324610011                Gas           Gov. Aggregation
COH             150287230069                Gas           Gov. Aggregation   COH             118824190013                Gas           Gov. Aggregation
COH             150426630023                Gas           Gov. Aggregation   COH             172469580019                Gas           Gov. Aggregation
COH             172127310019                Gas           Gov. Aggregation   COH             172805820014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             150039700029                Gas           Gov. Aggregation   COH             118823190015                Gas           Gov. Aggregation
COH             150045500046                Gas           Gov. Aggregation   COH             118850700038                Gas           Gov. Aggregation
COH             160261250021                Gas           Gov. Aggregation   COH             172717580012                Gas           Gov. Aggregation
COH             160618340016                Gas           Gov. Aggregation   COH             172834540012                Gas           Gov. Aggregation
COH             163842110034                Gas           Gov. Aggregation   COH             173381840019                Gas           Gov. Aggregation
COH             150344880016                Gas           Gov. Aggregation   COH             118874090037                Gas           Gov. Aggregation
COH             172323700011                Gas           Gov. Aggregation   COH             185991470010                Gas           Gov. Aggregation
COH             150284430018                Gas           Gov. Aggregation   COH             186171390014                Gas           Gov. Aggregation
COH             150340100026                Gas           Gov. Aggregation   COH             187000050015                Gas           Gov. Aggregation
COH             151037630027                Gas           Gov. Aggregation   COH             187098410014                Gas           Gov. Aggregation
COH             151049510027                Gas           Gov. Aggregation   COH             187196600016                Gas           Gov. Aggregation
COH             151196170019                Gas           Gov. Aggregation   COH             187242450019                Gas           Gov. Aggregation
COH             151226870017                Gas           Gov. Aggregation   COH             119188090031                Gas           Gov. Aggregation
COH             150494190069                Gas           Gov. Aggregation   COH             173185330012                Gas           Gov. Aggregation
COH             150619390061                Gas           Gov. Aggregation   COH             115129220022                Gas           Gov. Aggregation
COH             150637370012                Gas           Gov. Aggregation   COH             165824310010                Gas           Gov. Aggregation
COH             173244930029                Gas           Gov. Aggregation   COH             165847320038                Gas           Gov. Aggregation
COH             173885020031                Gas           Gov. Aggregation   COH             173795310013                Gas           Gov. Aggregation
COH             151641690042                Gas           Gov. Aggregation   COH             173797900015                Gas           Gov. Aggregation
COH             172765950013                Gas           Gov. Aggregation   COH             174024300026                Gas           Gov. Aggregation
COH             150803630023                Gas           Gov. Aggregation   COH             174063390035                Gas           Gov. Aggregation
COH             151349011892                Gas           Gov. Aggregation   COH             174334780029                Gas           Gov. Aggregation
COH             151349011945                Gas           Gov. Aggregation   COH             174525590015                Gas           Gov. Aggregation
COH             151349011972                Gas           Gov. Aggregation   COH             174811170016                Gas           Gov. Aggregation
COH             151349012140                Gas           Gov. Aggregation   COH             174035150016                Gas           Gov. Aggregation
COH             151691060012                Gas           Gov. Aggregation   COH             174046900015                Gas           Gov. Aggregation
COH             151964940036                Gas           Gov. Aggregation   COH             173366660019                Gas           Gov. Aggregation
COH             151349010802                Gas           Gov. Aggregation   COH             173993660010                Gas           Gov. Aggregation
COH             151401370029                Gas           Gov. Aggregation   COH             174011170012                Gas           Gov. Aggregation
COH             152079410033                Gas           Gov. Aggregation   COH             189482390012                Gas           Gov. Aggregation
COH             173403120021                Gas           Gov. Aggregation   COH             189751250010                Gas           Gov. Aggregation
COH             152347150020                Gas           Gov. Aggregation   COH             115754330015                Gas           Gov. Aggregation
COH             190348780011                Gas           Gov. Aggregation   COH             119917400038                Gas           Gov. Aggregation
COH             190772380016                Gas           Gov. Aggregation   COH             119384900016                Gas           Gov. Aggregation
COH             191061430011                Gas           Gov. Aggregation   COH             115731830027                Gas           Gov. Aggregation
COH             152194300014                Gas           Gov. Aggregation   COH             188383630012                Gas           Gov. Aggregation
COH             173918560019                Gas           Gov. Aggregation   COH             188563950013                Gas           Gov. Aggregation
COH             173965120012                Gas           Gov. Aggregation   COH             189336520013                Gas           Gov. Aggregation
COH             151616500017                Gas           Gov. Aggregation   COH             115668370047                Gas           Gov. Aggregation
COH             152181910013                Gas           Gov. Aggregation   COH             115694850050                Gas           Gov. Aggregation
COH             174781940019                Gas           Gov. Aggregation   COH             175374640014                Gas           Gov. Aggregation
COH             152476250017                Gas           Gov. Aggregation   COH             175771650010                Gas           Gov. Aggregation
COH             190916220013                Gas           Gov. Aggregation   COH             115782440013                Gas           Gov. Aggregation
COH             152364030010                Gas           Gov. Aggregation   COH             115831380011                Gas           Gov. Aggregation
COH             152469880010                Gas           Gov. Aggregation   COH             115831530019                Gas           Gov. Aggregation
COH             152812580023                Gas           Gov. Aggregation   COH             115847300014                Gas           Gov. Aggregation
COH             162408520011                Gas           Gov. Aggregation   COH             115848990018                Gas           Gov. Aggregation
COH             163825760016                Gas           Gov. Aggregation   COH             115856000018                Gas           Gov. Aggregation
COH             165208020017                Gas           Gov. Aggregation   COH             115826520021                Gas           Gov. Aggregation
COH             165296820014                Gas           Gov. Aggregation   COH             120115640026                Gas           Gov. Aggregation
COH             151194630016                Gas           Gov. Aggregation   COH             120152780029                Gas           Gov. Aggregation
COH             151212960035                Gas           Gov. Aggregation   COH             174683000014                Gas           Gov. Aggregation
COH             151393250023                Gas           Gov. Aggregation   COH             189261270015                Gas           Gov. Aggregation
COH             151467280020                Gas           Gov. Aggregation   COH             189355880018                Gas           Gov. Aggregation
COH             173002890011                Gas           Gov. Aggregation   COH             189380350016                Gas           Gov. Aggregation
COH             173166130176                Gas           Gov. Aggregation   COH             115876760017                Gas           Gov. Aggregation
COH             152632790030                Gas           Gov. Aggregation   COH             120175800017                Gas           Gov. Aggregation
COH             159422060013                Gas           Gov. Aggregation   COH             175431480016                Gas           Gov. Aggregation
COH             159717060018                Gas           Gov. Aggregation   COH             177744090013                Gas           Gov. Aggregation
COH             160589250036                Gas           Gov. Aggregation   COH             115851020014                Gas           Gov. Aggregation
COH             161817620014                Gas           Gov. Aggregation   COH             115852730022                Gas           Gov. Aggregation
COH             165838390024                Gas           Gov. Aggregation   COH             115854410016                Gas           Gov. Aggregation
COH             110279840020                Gas           Gov. Aggregation   COH             115859740026                Gas           Gov. Aggregation
COH             191532890016                Gas           Gov. Aggregation   COH             115876820014                Gas           Gov. Aggregation
COH             152915060024                Gas           Gov. Aggregation   COH             120153280013                Gas           Gov. Aggregation
COH             152922060047                Gas           Gov. Aggregation   COH             120160120011                Gas           Gov. Aggregation
COH             152272560014                Gas           Gov. Aggregation   COH             177374650010                Gas           Gov. Aggregation
COH             152298280019                Gas           Gov. Aggregation   COH             177215170026                Gas           Gov. Aggregation
COH             164534510014                Gas           Gov. Aggregation   COH             177220210017                Gas           Gov. Aggregation
COH             190497100018                Gas           Gov. Aggregation   COH             185204320018                Gas           Gov. Aggregation
COH             190820850014                Gas           Gov. Aggregation   COH             185537690016                Gas           Gov. Aggregation
COH             190944060018                Gas           Gov. Aggregation   COH             190428690010                Gas           Gov. Aggregation
COH             191325410015                Gas           Gov. Aggregation   COH             190471850015                Gas           Gov. Aggregation
COH             191547910010                Gas           Gov. Aggregation   COH             190539690015                Gas           Gov. Aggregation
COH             152645490018                Gas           Gov. Aggregation   COH             191327110014                Gas           Gov. Aggregation
COH             152645760020                Gas           Gov. Aggregation   COH             115842040019                Gas           Gov. Aggregation
COH             152858990049                Gas           Gov. Aggregation   COH             115844370016                Gas           Gov. Aggregation
COH             174162790031                Gas           Gov. Aggregation   COH             115846260015                Gas           Gov. Aggregation
COH             153217590013                Gas           Gov. Aggregation   COH             115847550012                Gas           Gov. Aggregation
COH             153233360017                Gas           Gov. Aggregation   COH             115855770037                Gas           Gov. Aggregation
COH             173911610012                Gas           Gov. Aggregation   COH             115856130011                Gas           Gov. Aggregation
COH             174525560011                Gas           Gov. Aggregation   COH             115856540024                Gas           Gov. Aggregation
COH             152989790026                Gas           Gov. Aggregation   COH             120169270021                Gas           Gov. Aggregation
COH             153253370013                Gas           Gov. Aggregation   COH             120197490017                Gas           Gov. Aggregation
COH             175334890025                Gas           Gov. Aggregation   COH             120201860018                Gas           Gov. Aggregation
COH             175580130023                Gas           Gov. Aggregation   COH             177117370013                Gas           Gov. Aggregation
COH             153883690020                Gas           Gov. Aggregation   COH             185470850014                Gas           Gov. Aggregation
COH             153795120026                Gas           Gov. Aggregation   COH             185688260017                Gas           Gov. Aggregation
COH             110305240010                Gas           Gov. Aggregation   COH             191371150013                Gas           Gov. Aggregation
COH             110305770019                Gas           Gov. Aggregation   COH             120458510027                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             110378520045                Gas           Gov. Aggregation   COH             185091250014                Gas           Gov. Aggregation
COH             110400250025                Gas           Gov. Aggregation   COH             120431940014                Gas           Gov. Aggregation
COH             110905270012                Gas           Gov. Aggregation   COH             185624950025                Gas           Gov. Aggregation
COH             153605790018                Gas           Gov. Aggregation   COH             120460640016                Gas           Gov. Aggregation
COH             153614330024                Gas           Gov. Aggregation   COH             190265600014                Gas           Gov. Aggregation
COH             153769300014                Gas           Gov. Aggregation   COH             190534580018                Gas           Gov. Aggregation
COH             153807710025                Gas           Gov. Aggregation   COH             190559010015                Gas           Gov. Aggregation
COH             110920220010                Gas           Gov. Aggregation   COH             120447030012                Gas           Gov. Aggregation
COH             110921180017                Gas           Gov. Aggregation   COH             187195380015                Gas           Gov. Aggregation
COH             110921370017                Gas           Gov. Aggregation   COH             191709860017                Gas           Gov. Aggregation
COH             110928650014                Gas           Gov. Aggregation   COH             185694340017                Gas           Gov. Aggregation
COH             191236570011                Gas           Gov. Aggregation   COH             119195330026                Gas           Gov. Aggregation
COH             191267730012                Gas           Gov. Aggregation   COH             186253810011                Gas           Gov. Aggregation
COH             191674740017                Gas           Gov. Aggregation   COH             186288320011                Gas           Gov. Aggregation
COH             154147460018                Gas           Gov. Aggregation   COH             186301180011                Gas           Gov. Aggregation
COH             191942050013                Gas           Gov. Aggregation   COH             186727460010                Gas           Gov. Aggregation
COH             153925480060                Gas           Gov. Aggregation   COH             186791050011                Gas           Gov. Aggregation
COH             111036430010                Gas           Gov. Aggregation   COH             187467220020                Gas           Gov. Aggregation
COH             192051040013                Gas           Gov. Aggregation   COH             191787800015                Gas           Gov. Aggregation
COH             108668870014                Gas           Gov. Aggregation   COH             108843140015                Gas           Gov. Aggregation
COH             108677860026                Gas           Gov. Aggregation   COH             187289730012                Gas           Gov. Aggregation
COH             108690070015                Gas           Gov. Aggregation   COH             126749180015                Gas           Gov. Aggregation
COH             108693690019                Gas           Gov. Aggregation   COH             127599600023                Gas           Gov. Aggregation
COH             108694170016                Gas           Gov. Aggregation   COH             187988240013                Gas           Gov. Aggregation
COH             108712420022                Gas           Gov. Aggregation   COH             150578920012                Gas           Gov. Aggregation
COH             110941570022                Gas           Gov. Aggregation   COH             187748810011                Gas           Gov. Aggregation
COH             154800540024                Gas           Gov. Aggregation   COH             127290820012                Gas           Gov. Aggregation
COH             154803070018                Gas           Gov. Aggregation   COH             188648300019                Gas           Gov. Aggregation
COH             110899590010                Gas           Gov. Aggregation   COH             188740960015                Gas           Gov. Aggregation
COH             110905900019                Gas           Gov. Aggregation   COH             188910550181                Gas           Gov. Aggregation
COH             110918330012                Gas           Gov. Aggregation   COH             191895940017                Gas           Gov. Aggregation
COH             110928740015                Gas           Gov. Aggregation   COH             191926890011                Gas           Gov. Aggregation
COH             110929730015                Gas           Gov. Aggregation   COH             191949560012                Gas           Gov. Aggregation
COH             110950750016                Gas           Gov. Aggregation   COH             129338690034                Gas           Gov. Aggregation
COH             110982770051                Gas           Gov. Aggregation   COH             192048080012                Gas           Gov. Aggregation
COH             110984960011                Gas           Gov. Aggregation   COH             192048100017                Gas           Gov. Aggregation
COH             191636600016                Gas           Gov. Aggregation   COH             192127810010                Gas           Gov. Aggregation
COH             153612410049                Gas           Gov. Aggregation   COH             128911020020                Gas           Gov. Aggregation
COH             153716950019                Gas           Gov. Aggregation   COH             188695290013                Gas           Gov. Aggregation
COH             153874370017                Gas           Gov. Aggregation   COH             129657700017                Gas           Gov. Aggregation
COH             175010560057                Gas           Gov. Aggregation   COH             130391700018                Gas           Gov. Aggregation
COH             175334890034                Gas           Gov. Aggregation   COH             131301230015                Gas           Gov. Aggregation
COH             176968430018                Gas           Gov. Aggregation   COH             131990500055                Gas           Gov. Aggregation
COH             155080310010                Gas           Gov. Aggregation   COH             189420700016                Gas           Gov. Aggregation
COH             110978300030                Gas           Gov. Aggregation   COH             120440980035                Gas           Gov. Aggregation
COH             111052190017                Gas           Gov. Aggregation   COH             120539800024                Gas           Gov. Aggregation
COH             192075520012                Gas           Gov. Aggregation   COH             120541630016                Gas           Gov. Aggregation
COH             108678170010                Gas           Gov. Aggregation   COH             131890970022                Gas           Gov. Aggregation
COH             154004380017                Gas           Gov. Aggregation   COH             132073850028                Gas           Gov. Aggregation
COH             154136320010                Gas           Gov. Aggregation   COH             130159770025                Gas           Gov. Aggregation
COH             154321590011                Gas           Gov. Aggregation   COH             130355060019                Gas           Gov. Aggregation
COH             154434010013                Gas           Gov. Aggregation   COH             131173640049                Gas           Gov. Aggregation
COH             110906090018                Gas           Gov. Aggregation   COH             131343650046                Gas           Gov. Aggregation
COH             110927500017                Gas           Gov. Aggregation   COH             189481800017                Gas           Gov. Aggregation
COH             110927600016                Gas           Gov. Aggregation   COH             189513680014                Gas           Gov. Aggregation
COH             110949770015                Gas           Gov. Aggregation   COH             132474950036                Gas           Gov. Aggregation
COH             154640350024                Gas           Gov. Aggregation   COH             154997860013                Gas           Gov. Aggregation
COH             154937370021                Gas           Gov. Aggregation   COH             132514560023                Gas           Gov. Aggregation
COH             191777860023                Gas           Gov. Aggregation   COH             155400930010                Gas           Gov. Aggregation
COH             191800830019                Gas           Gov. Aggregation   COH             132954970025                Gas           Gov. Aggregation
COH             155275560033                Gas           Gov. Aggregation   COH             133500760065                Gas           Gov. Aggregation
COH             177461930016                Gas           Gov. Aggregation   COH             190245220016                Gas           Gov. Aggregation
COH             108686240018                Gas           Gov. Aggregation   COH             190309850018                Gas           Gov. Aggregation
COH             108700630014                Gas           Gov. Aggregation   COH             133377840034                Gas           Gov. Aggregation
COH             108713920016                Gas           Gov. Aggregation   COH             133585190049                Gas           Gov. Aggregation
COH             108718310014                Gas           Gov. Aggregation   COH             190159790010                Gas           Gov. Aggregation
COH             108720600027                Gas           Gov. Aggregation   COH             135225310016                Gas           Gov. Aggregation
COH             108734620015                Gas           Gov. Aggregation   COH             136842170017                Gas           Gov. Aggregation
COH             108735960021                Gas           Gov. Aggregation   COH             137244130030                Gas           Gov. Aggregation
COH             108749860014                Gas           Gov. Aggregation   COH             120541650012                Gas           Gov. Aggregation
COH             108753790047                Gas           Gov. Aggregation   COH             134249800032                Gas           Gov. Aggregation
COH             108753860015                Gas           Gov. Aggregation   COH             134677370018                Gas           Gov. Aggregation
COH             108757290017                Gas           Gov. Aggregation   COH             134898930012                Gas           Gov. Aggregation
COH             108763330015                Gas           Gov. Aggregation   COH             135310880016                Gas           Gov. Aggregation
COH             108763860014                Gas           Gov. Aggregation   COH             136296060037                Gas           Gov. Aggregation
COH             108703810010                Gas           Gov. Aggregation   COH             136934500012                Gas           Gov. Aggregation
COH             108715510027                Gas           Gov. Aggregation   COH             135880960049                Gas           Gov. Aggregation
COH             108733110014                Gas           Gov. Aggregation   COH             137775540075                Gas           Gov. Aggregation
COH             108736060028                Gas           Gov. Aggregation   COH             191240960010                Gas           Gov. Aggregation
COH             108739110012                Gas           Gov. Aggregation   COH             191299990011                Gas           Gov. Aggregation
COH             155328210024                Gas           Gov. Aggregation   COH             136551360014                Gas           Gov. Aggregation
COH             155352600030                Gas           Gov. Aggregation   COH             136795150067                Gas           Gov. Aggregation
COH             111054400018                Gas           Gov. Aggregation   COH             191402130038                Gas           Gov. Aggregation
COH             111080290017                Gas           Gov. Aggregation   COH             191233040018                Gas           Gov. Aggregation
COH             111088120025                Gas           Gov. Aggregation   COH             191241060017                Gas           Gov. Aggregation
COH             108763940017                Gas           Gov. Aggregation   COH             190602560017                Gas           Gov. Aggregation
COH             108771790067                Gas           Gov. Aggregation   COH             135393600065                Gas           Gov. Aggregation
COH             108772560027                Gas           Gov. Aggregation   COH             135974830010                Gas           Gov. Aggregation
COH             108772560036                Gas           Gov. Aggregation   COH             137186910030                Gas           Gov. Aggregation
COH             155844090026                Gas           Gov. Aggregation   COH             138015310027                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             111053360019                Gas           Gov. Aggregation   COH             138399710012                Gas           Gov. Aggregation
COH             111064240048                Gas           Gov. Aggregation   COH             191861000015                Gas           Gov. Aggregation
COH             111069820019                Gas           Gov. Aggregation   COH             191881570014                Gas           Gov. Aggregation
COH             108722480038                Gas           Gov. Aggregation   COH             191898210014                Gas           Gov. Aggregation
COH             108723570028                Gas           Gov. Aggregation   COH             137937180013                Gas           Gov. Aggregation
COH             108727920026                Gas           Gov. Aggregation   COH             138936710030                Gas           Gov. Aggregation
COH             108729730013                Gas           Gov. Aggregation   COH             139096890025                Gas           Gov. Aggregation
COH             108729740057                Gas           Gov. Aggregation   COH             138014730021                Gas           Gov. Aggregation
COH             108736170016                Gas           Gov. Aggregation   COH             139053780055                Gas           Gov. Aggregation
COH             108744410018                Gas           Gov. Aggregation   COH             130136930010                Gas           Gov. Aggregation
COH             108769800014                Gas           Gov. Aggregation   COH             138927810029                Gas           Gov. Aggregation
COH             108770630035                Gas           Gov. Aggregation   COH             140003810023                Gas           Gov. Aggregation
COH             108771790012                Gas           Gov. Aggregation   COH             138330510027                Gas           Gov. Aggregation
COH             108772120010                Gas           Gov. Aggregation   COH             138607990020                Gas           Gov. Aggregation
COH             192133850019                Gas           Gov. Aggregation   COH             140409330060                Gas           Gov. Aggregation
COH             108675670011                Gas           Gov. Aggregation   COH             130939630011                Gas           Gov. Aggregation
COH             108687980011                Gas           Gov. Aggregation   COH             139130460012                Gas           Gov. Aggregation
COH             176496420020                Gas           Gov. Aggregation   COH             139133170026                Gas           Gov. Aggregation
COH             177008620011                Gas           Gov. Aggregation   COH             139166420024                Gas           Gov. Aggregation
COH             111045460015                Gas           Gov. Aggregation   COH             139863940018                Gas           Gov. Aggregation
COH             111071970013                Gas           Gov. Aggregation   COH             139980880013                Gas           Gov. Aggregation
COH             111108590014                Gas           Gov. Aggregation   COH             130982150011                Gas           Gov. Aggregation
COH             155026490017                Gas           Gov. Aggregation   COH             160898920012                Gas           Gov. Aggregation
COH             155109170027                Gas           Gov. Aggregation   COH             140466500046                Gas           Gov. Aggregation
COH             155340650026                Gas           Gov. Aggregation   COH             138644090012                Gas           Gov. Aggregation
COH             155818920026                Gas           Gov. Aggregation   COH             134204390015                Gas           Gov. Aggregation
COH             108728910026                Gas           Gov. Aggregation   COH             140675230022                Gas           Gov. Aggregation
COH             108736320014                Gas           Gov. Aggregation   COH             132187720033                Gas           Gov. Aggregation
COH             108736450026                Gas           Gov. Aggregation   COH             133606530014                Gas           Gov. Aggregation
COH             108739760016                Gas           Gov. Aggregation   COH             141082330018                Gas           Gov. Aggregation
COH             108752180029                Gas           Gov. Aggregation   COH             141616800034                Gas           Gov. Aggregation
COH             108773670013                Gas           Gov. Aggregation   COH             141831600021                Gas           Gov. Aggregation
COH             149552490038                Gas           Gov. Aggregation   COH             163633450018                Gas           Gov. Aggregation
COH             185159800014                Gas           Gov. Aggregation   COH             142410830024                Gas           Gov. Aggregation
COH             177673840016                Gas           Gov. Aggregation   COH             139757760011                Gas           Gov. Aggregation
COH             185036090014                Gas           Gov. Aggregation   COH             140005400016                Gas           Gov. Aggregation
COH             155579520028                Gas           Gov. Aggregation   COH             140013500045                Gas           Gov. Aggregation
COH             155648450017                Gas           Gov. Aggregation   COH             131877180017                Gas           Gov. Aggregation
COH             156037750018                Gas           Gov. Aggregation   COH             142668150040                Gas           Gov. Aggregation
COH             155958220081                Gas           Gov. Aggregation   COH             142710390049                Gas           Gov. Aggregation
COH             155981660017                Gas           Gov. Aggregation   COH             141168750027                Gas           Gov. Aggregation
COH             156091190049                Gas           Gov. Aggregation   COH             133471960011                Gas           Gov. Aggregation
COH             155947960025                Gas           Gov. Aggregation   COH             134161290018                Gas           Gov. Aggregation
COH             156268020012                Gas           Gov. Aggregation   COH             141610370028                Gas           Gov. Aggregation
COH             185755590015                Gas           Gov. Aggregation   COH             142550740036                Gas           Gov. Aggregation
COH             185777670012                Gas           Gov. Aggregation   COH             142599520021                Gas           Gov. Aggregation
COH             186107620010                Gas           Gov. Aggregation   COH             142732990038                Gas           Gov. Aggregation
COH             108770890022                Gas           Gov. Aggregation   COH             143174020025                Gas           Gov. Aggregation
COH             108771170021                Gas           Gov. Aggregation   COH             136055570058                Gas           Gov. Aggregation
COH             108772140025                Gas           Gov. Aggregation   COH             143388380027                Gas           Gov. Aggregation
COH             108774210017                Gas           Gov. Aggregation   COH             143400690024                Gas           Gov. Aggregation
COH             149927160014                Gas           Gov. Aggregation   COH             143801970043                Gas           Gov. Aggregation
COH             150496090039                Gas           Gov. Aggregation   COH             136048890010                Gas           Gov. Aggregation
COH             156849920011                Gas           Gov. Aggregation   COH             144184160024                Gas           Gov. Aggregation
COH             156865290010                Gas           Gov. Aggregation   COH             144436010020                Gas           Gov. Aggregation
COH             155900540012                Gas           Gov. Aggregation   COH             144496060015                Gas           Gov. Aggregation
COH             155918820016                Gas           Gov. Aggregation   COH             144656710027                Gas           Gov. Aggregation
COH             155918820025                Gas           Gov. Aggregation   COH             143868020024                Gas           Gov. Aggregation
COH             156029840016                Gas           Gov. Aggregation   COH             144653420024                Gas           Gov. Aggregation
COH             156038780010                Gas           Gov. Aggregation   COH             145114490030                Gas           Gov. Aggregation
COH             156223430010                Gas           Gov. Aggregation   COH             144458450022                Gas           Gov. Aggregation
COH             157545970023                Gas           Gov. Aggregation   COH             144653370025                Gas           Gov. Aggregation
COH             156485970013                Gas           Gov. Aggregation   COH             145677020072                Gas           Gov. Aggregation
COH             156613360027                Gas           Gov. Aggregation   COH             138627440014                Gas           Gov. Aggregation
COH             149243180038                Gas           Gov. Aggregation   COH             145719800041                Gas           Gov. Aggregation
COH             149969390018                Gas           Gov. Aggregation   COH             145596470034                Gas           Gov. Aggregation
COH             150101240032                Gas           Gov. Aggregation   COH             110572110012                Gas           Gov. Aggregation
COH             151174710011                Gas           Gov. Aggregation   COH             146459690019                Gas           Gov. Aggregation
COH             157306720012                Gas           Gov. Aggregation   COH             110644120017                Gas           Gov. Aggregation
COH             187095670016                Gas           Gov. Aggregation   COH             110740560011                Gas           Gov. Aggregation
COH             157779830027                Gas           Gov. Aggregation   COH             110741560019                Gas           Gov. Aggregation
COH             156069560011                Gas           Gov. Aggregation   COH             142119440015                Gas           Gov. Aggregation
COH             156666160019                Gas           Gov. Aggregation   COH             110572120010                Gas           Gov. Aggregation
COH             157009630048                Gas           Gov. Aggregation   COH             140754500018                Gas           Gov. Aggregation
COH             157239920031                Gas           Gov. Aggregation   COH             110571960016                Gas           Gov. Aggregation
COH             152036080088                Gas           Gov. Aggregation   COH             140720160057                Gas           Gov. Aggregation
COH             152395680019                Gas           Gov. Aggregation   COH             140735800033                Gas           Gov. Aggregation
COH             152461250027                Gas           Gov. Aggregation   COH             141042140030                Gas           Gov. Aggregation
COH             150175460031                Gas           Gov. Aggregation   COH             146318530010                Gas           Gov. Aggregation
COH             150293120050                Gas           Gov. Aggregation   COH             146737000022                Gas           Gov. Aggregation
COH             151952450016                Gas           Gov. Aggregation   COH             139780650042                Gas           Gov. Aggregation
COH             153205230022                Gas           Gov. Aggregation   COH             147127620015                Gas           Gov. Aggregation
COH             154062290014                Gas           Gov. Aggregation   COH             142977130370                Gas           Gov. Aggregation
COH             152593030015                Gas           Gov. Aggregation   COH             143018590017                Gas           Gov. Aggregation
COH             153362180021                Gas           Gov. Aggregation   COH             143054000023                Gas           Gov. Aggregation
COH             153952510404                Gas           Gov. Aggregation   COH             111216140019                Gas           Gov. Aggregation
COH             156785410023                Gas           Gov. Aggregation   COH             111256820021                Gas           Gov. Aggregation
COH             156811530012                Gas           Gov. Aggregation   COH             111258440018                Gas           Gov. Aggregation
COH             157095280023                Gas           Gov. Aggregation   COH             111283170021                Gas           Gov. Aggregation
COH             157121050015                Gas           Gov. Aggregation   COH             148488650023                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             157126530014                Gas           Gov. Aggregation   COH             148324050025                Gas           Gov. Aggregation
COH             149998340053                Gas           Gov. Aggregation   COH             148410530012                Gas           Gov. Aggregation
COH             150143300031                Gas           Gov. Aggregation   COH             148645330035                Gas           Gov. Aggregation
COH             151798880014                Gas           Gov. Aggregation   COH             143457070016                Gas           Gov. Aggregation
COH             151873080012                Gas           Gov. Aggregation   COH             148309870025                Gas           Gov. Aggregation
COH             151911970040                Gas           Gov. Aggregation   COH             166016140018                Gas           Gov. Aggregation
COH             187481160014                Gas           Gov. Aggregation   COH             147438490014                Gas           Gov. Aggregation
COH             187795550017                Gas           Gov. Aggregation   COH             147615190039                Gas           Gov. Aggregation
COH             153887220048                Gas           Gov. Aggregation   COH             147982040033                Gas           Gov. Aggregation
COH             154592210017                Gas           Gov. Aggregation   COH             142672690057                Gas           Gov. Aggregation
COH             154967160031                Gas           Gov. Aggregation   COH             148948120037                Gas           Gov. Aggregation
COH             155012080012                Gas           Gov. Aggregation   COH             165961020048                Gas           Gov. Aggregation
COH             188001470014                Gas           Gov. Aggregation   COH             144500560037                Gas           Gov. Aggregation
COH             155084590023                Gas           Gov. Aggregation   COH             148942290016                Gas           Gov. Aggregation
COH             155772950055                Gas           Gov. Aggregation   COH             165965270039                Gas           Gov. Aggregation
COH             156204880016                Gas           Gov. Aggregation   COH             144570800011                Gas           Gov. Aggregation
COH             157686720027                Gas           Gov. Aggregation   COH             166248400049                Gas           Gov. Aggregation
COH             153698480018                Gas           Gov. Aggregation   COH             166248440014                Gas           Gov. Aggregation
COH             154700490036                Gas           Gov. Aggregation   COH             166102360037                Gas           Gov. Aggregation
COH             154773980021                Gas           Gov. Aggregation   COH             144718170029                Gas           Gov. Aggregation
COH             187444560018                Gas           Gov. Aggregation   COH             166247890021                Gas           Gov. Aggregation
COH             158257760027                Gas           Gov. Aggregation   COH             166319820013                Gas           Gov. Aggregation
COH             188433440024                Gas           Gov. Aggregation   COH             166416500014                Gas           Gov. Aggregation
COH             155279170019                Gas           Gov. Aggregation   COH             166389640032                Gas           Gov. Aggregation
COH             155977520033                Gas           Gov. Aggregation   COH             166717080015                Gas           Gov. Aggregation
COH             158327630016                Gas           Gov. Aggregation   COH             166965260030                Gas           Gov. Aggregation
COH             188355570014                Gas           Gov. Aggregation   COH             166579920012                Gas           Gov. Aggregation
COH             188154010017                Gas           Gov. Aggregation   COH             145780850015                Gas           Gov. Aggregation
COH             188590440013                Gas           Gov. Aggregation   COH             167102470015                Gas           Gov. Aggregation
COH             158219810026                Gas           Gov. Aggregation   COH             167319710042                Gas           Gov. Aggregation
COH             154969780019                Gas           Gov. Aggregation   COH             167499590039                Gas           Gov. Aggregation
COH             155895630034                Gas           Gov. Aggregation   COH             167643860026                Gas           Gov. Aggregation
COH             156086150039                Gas           Gov. Aggregation   COH             147435560015                Gas           Gov. Aggregation
COH             156549680018                Gas           Gov. Aggregation   COH             167950460010                Gas           Gov. Aggregation
COH             158917220020                Gas           Gov. Aggregation   COH             166247570019                Gas           Gov. Aggregation
COH             159331310022                Gas           Gov. Aggregation   COH             167647150027                Gas           Gov. Aggregation
COH             158497170014                Gas           Gov. Aggregation   COH             168203010025                Gas           Gov. Aggregation
COH             158506480018                Gas           Gov. Aggregation   COH             168019380010                Gas           Gov. Aggregation
COH             158670400017                Gas           Gov. Aggregation   COH             168019500014                Gas           Gov. Aggregation
COH             188813030024                Gas           Gov. Aggregation   COH             167182740010                Gas           Gov. Aggregation
COH             159526340014                Gas           Gov. Aggregation   COH             167515180020                Gas           Gov. Aggregation
COH             159628860028                Gas           Gov. Aggregation   COH             147956410012                Gas           Gov. Aggregation
COH             159673680012                Gas           Gov. Aggregation   COH             167666880024                Gas           Gov. Aggregation
COH             188293460019                Gas           Gov. Aggregation   COH             167748490013                Gas           Gov. Aggregation
COH             158882030025                Gas           Gov. Aggregation   COH             166544430018                Gas           Gov. Aggregation
COH             189157030016                Gas           Gov. Aggregation   COH             168257450011                Gas           Gov. Aggregation
COH             156163490025                Gas           Gov. Aggregation   COH             168450920012                Gas           Gov. Aggregation
COH             156200390035                Gas           Gov. Aggregation   COH             168504040049                Gas           Gov. Aggregation
COH             158218060017                Gas           Gov. Aggregation   COH             167300840053                Gas           Gov. Aggregation
COH             158277860033                Gas           Gov. Aggregation   COH             168557370030                Gas           Gov. Aggregation
COH             158382060010                Gas           Gov. Aggregation   COH             148972600035                Gas           Gov. Aggregation
COH             159828220019                Gas           Gov. Aggregation   COH             167962040013                Gas           Gov. Aggregation
COH             159831700011                Gas           Gov. Aggregation   COH             168869170013                Gas           Gov. Aggregation
COH             159939420012                Gas           Gov. Aggregation   COH             168001780013                Gas           Gov. Aggregation
COH             159960400020                Gas           Gov. Aggregation   COH             168298640033                Gas           Gov. Aggregation
COH             160002410016                Gas           Gov. Aggregation   COH             167981750032                Gas           Gov. Aggregation
COH             189469160018                Gas           Gov. Aggregation   COH             168167120048                Gas           Gov. Aggregation
COH             160184370048                Gas           Gov. Aggregation   COH             169210830018                Gas           Gov. Aggregation
COH             159211260027                Gas           Gov. Aggregation   COH             168846120011                Gas           Gov. Aggregation
COH             159213540015                Gas           Gov. Aggregation   COH             168199370012                Gas           Gov. Aggregation
COH             159422160012                Gas           Gov. Aggregation   COH             168617730018                Gas           Gov. Aggregation
COH             159687870013                Gas           Gov. Aggregation   COH             168966810012                Gas           Gov. Aggregation
COH             159858600025                Gas           Gov. Aggregation   COH             169003050011                Gas           Gov. Aggregation
COH             159890120037                Gas           Gov. Aggregation   COH             169260720025                Gas           Gov. Aggregation
COH             160039520016                Gas           Gov. Aggregation   COH             168923420014                Gas           Gov. Aggregation
COH             159441520409                Gas           Gov. Aggregation   COH             169030580013                Gas           Gov. Aggregation
COH             159385460028                Gas           Gov. Aggregation   COH             169687170027                Gas           Gov. Aggregation
COH             159489280044                Gas           Gov. Aggregation   COH             169555040014                Gas           Gov. Aggregation
COH             159511310011                Gas           Gov. Aggregation   COH             170303720011                Gas           Gov. Aggregation
COH             160782450016                Gas           Gov. Aggregation   COH             169982750029                Gas           Gov. Aggregation
COH             160250300014                Gas           Gov. Aggregation   COH             170477460019                Gas           Gov. Aggregation
COH             159718740022                Gas           Gov. Aggregation   COH             170674040019                Gas           Gov. Aggregation
COH             160039320027                Gas           Gov. Aggregation   COH             169839950039                Gas           Gov. Aggregation
COH             160169230012                Gas           Gov. Aggregation   COH             170036820017                Gas           Gov. Aggregation
COH             159169160010                Gas           Gov. Aggregation   COH             170430760014                Gas           Gov. Aggregation
COH             159172790011                Gas           Gov. Aggregation   COH             170089140019                Gas           Gov. Aggregation
COH             160138670015                Gas           Gov. Aggregation   COH             170218930018                Gas           Gov. Aggregation
COH             160567140035                Gas           Gov. Aggregation   COH             172547160011                Gas           Gov. Aggregation
COH             160892000017                Gas           Gov. Aggregation   COH             171218200010                Gas           Gov. Aggregation
COH             160801310013                Gas           Gov. Aggregation   COH             170617270011                Gas           Gov. Aggregation
COH             160900330019                Gas           Gov. Aggregation   COH             170632330025                Gas           Gov. Aggregation
COH             161087710041                Gas           Gov. Aggregation   COH             173192630014                Gas           Gov. Aggregation
COH             160871080015                Gas           Gov. Aggregation   COH             172975670017                Gas           Gov. Aggregation
COH             189661740018                Gas           Gov. Aggregation   COH             171752720019                Gas           Gov. Aggregation
COH             189843120012                Gas           Gov. Aggregation   COH             171387240033                Gas           Gov. Aggregation
COH             160942880034                Gas           Gov. Aggregation   COH             171540270013                Gas           Gov. Aggregation
COH             161017510013                Gas           Gov. Aggregation   COH             173192660018                Gas           Gov. Aggregation
COH             161386650013                Gas           Gov. Aggregation   COH             174287980019                Gas           Gov. Aggregation
COH             161426870011                Gas           Gov. Aggregation   COH             172156470015                Gas           Gov. Aggregation
COH             161531490027                Gas           Gov. Aggregation   COH             172419280017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             161941780027                Gas           Gov. Aggregation   COH             172426850012                Gas           Gov. Aggregation
COH             158358640037                Gas           Gov. Aggregation   COH             172682660010                Gas           Gov. Aggregation
COH             161145550032                Gas           Gov. Aggregation   COH             174876150014                Gas           Gov. Aggregation
COH             159596110015                Gas           Gov. Aggregation   COH             172090810013                Gas           Gov. Aggregation
COH             160048260012                Gas           Gov. Aggregation   COH             172152170016                Gas           Gov. Aggregation
COH             160671270046                Gas           Gov. Aggregation   COH             174717900049                Gas           Gov. Aggregation
COH             161028970014                Gas           Gov. Aggregation   COH             174801510015                Gas           Gov. Aggregation
COH             161536030050                Gas           Gov. Aggregation   COH             175107510016                Gas           Gov. Aggregation
COH             189605160018                Gas           Gov. Aggregation   COH             172801000023                Gas           Gov. Aggregation
COH             189608350012                Gas           Gov. Aggregation   COH             172862350022                Gas           Gov. Aggregation
COH             161061090019                Gas           Gov. Aggregation   COH             175792360017                Gas           Gov. Aggregation
COH             161215910019                Gas           Gov. Aggregation   COH             173101300014                Gas           Gov. Aggregation
COH             161341520014                Gas           Gov. Aggregation   COH             173402500014                Gas           Gov. Aggregation
COH             162879360045                Gas           Gov. Aggregation   COH             173619840014                Gas           Gov. Aggregation
COH             162962490014                Gas           Gov. Aggregation   COH             174154110012                Gas           Gov. Aggregation
COH             163385960018                Gas           Gov. Aggregation   COH             174160020018                Gas           Gov. Aggregation
COH             161537960017                Gas           Gov. Aggregation   COH             173869100010                Gas           Gov. Aggregation
COH             161656130028                Gas           Gov. Aggregation   COH             177559690010                Gas           Gov. Aggregation
COH             161443930021                Gas           Gov. Aggregation   COH             174562420012                Gas           Gov. Aggregation
COH             189806140016                Gas           Gov. Aggregation   COH             185172540020                Gas           Gov. Aggregation
COH             161256170019                Gas           Gov. Aggregation   COH             177474060012                Gas           Gov. Aggregation
COH             161385440224                Gas           Gov. Aggregation   COH             174133500041                Gas           Gov. Aggregation
COH             161404360014                Gas           Gov. Aggregation   COH             174881200012                Gas           Gov. Aggregation
COH             161529840019                Gas           Gov. Aggregation   COH             133241500050                Gas           Gov. Aggregation
COH             162077000013                Gas           Gov. Aggregation   COH             128746760026                Gas           Gov. Aggregation
COH             162132890037                Gas           Gov. Aggregation   COH             177650940013                Gas           Gov. Aggregation
COH             190348720013                Gas           Gov. Aggregation   COH             177852360017                Gas           Gov. Aggregation
COH             161721570027                Gas           Gov. Aggregation   COH             185223190016                Gas           Gov. Aggregation
COH             161862570010                Gas           Gov. Aggregation   COH             174507300013                Gas           Gov. Aggregation
COH             161897260012                Gas           Gov. Aggregation   COH             185739950013                Gas           Gov. Aggregation
COH             162939090035                Gas           Gov. Aggregation   COH             185880590010                Gas           Gov. Aggregation
COH             161689210013                Gas           Gov. Aggregation   COH             175214850018                Gas           Gov. Aggregation
COH             161736330026                Gas           Gov. Aggregation   COH             175277570015                Gas           Gov. Aggregation
COH             161801350023                Gas           Gov. Aggregation   COH             174952810031                Gas           Gov. Aggregation
COH             190251750012                Gas           Gov. Aggregation   COH             192193430011                Gas           Gov. Aggregation
COH             190273910012                Gas           Gov. Aggregation   COH             175355930022                Gas           Gov. Aggregation
COH             162028920013                Gas           Gov. Aggregation   COH             175398840012                Gas           Gov. Aggregation
COH             162276080015                Gas           Gov. Aggregation   COH             175439970017                Gas           Gov. Aggregation
COH             164678870024                Gas           Gov. Aggregation   COH             186425480016                Gas           Gov. Aggregation
COH             164684480014                Gas           Gov. Aggregation   COH             187149150010                Gas           Gov. Aggregation
COH             165292320035                Gas           Gov. Aggregation   COH             175673520015                Gas           Gov. Aggregation
COH             162322490010                Gas           Gov. Aggregation   COH             187352920017                Gas           Gov. Aggregation
COH             162130870231                Gas           Gov. Aggregation   COH             175992340017                Gas           Gov. Aggregation
COH             190644630014                Gas           Gov. Aggregation   COH             187446240020                Gas           Gov. Aggregation
COH             162242840034                Gas           Gov. Aggregation   COH             186518810019                Gas           Gov. Aggregation
COH             162246080018                Gas           Gov. Aggregation   COH             176077040019                Gas           Gov. Aggregation
COH             162349930011                Gas           Gov. Aggregation   COH             175644640011                Gas           Gov. Aggregation
COH             162365180015                Gas           Gov. Aggregation   COH             175926510010                Gas           Gov. Aggregation
COH             163918150017                Gas           Gov. Aggregation   DUKE            1690036021                  Gas           Gov. Aggregation
COH             163999610010                Gas           Gov. Aggregation   DUKE            0800038621                  Gas           Gov. Aggregation
COH             164525200018                Gas           Gov. Aggregation   DUKE            8720038521                  Gas           Gov. Aggregation
COH             165040650011                Gas           Gov. Aggregation   DUKE            2380038531                  Gas           Gov. Aggregation
COH             164173560010                Gas           Gov. Aggregation   DUKE            7650086621                  Gas           Gov. Aggregation
COH             164251820019                Gas           Gov. Aggregation   DUKE            6060217801                  Gas           Gov. Aggregation
COH             162480640014                Gas           Gov. Aggregation   DUKE            3010055422                  Gas           Gov. Aggregation
COH             190336170014                Gas           Gov. Aggregation   DUKE            3090058321                  Gas           Gov. Aggregation
COH             162067610052                Gas           Gov. Aggregation   DUKE            5750055420                  Gas           Gov. Aggregation
COH             162364320017                Gas           Gov. Aggregation   DUKE            1460224103                  Gas           Gov. Aggregation
COH             162827260018                Gas           Gov. Aggregation   DUKE            1950038522                  Gas           Gov. Aggregation
COH             163999660029                Gas           Gov. Aggregation   DUKE            3670020238                  Gas           Gov. Aggregation
COH             111151410010                Gas           Gov. Aggregation   DEO             0500008202009               Gas           Gov. Aggregation
COH             127585960018                Gas           Gov. Aggregation   DEO             6500045354886               Gas           Gov. Aggregation
COH             161704570014                Gas           Gov. Aggregation   DEO             4500053106389               Gas           Gov. Aggregation
COH             161721990029                Gas           Gov. Aggregation   DEO             8500039798619               Gas           Gov. Aggregation
COH             161872160024                Gas           Gov. Aggregation   DEO             3500007692783               Gas           Gov. Aggregation
COH             162409370020                Gas           Gov. Aggregation   DEO             4500020566073               Gas           Gov. Aggregation
COH             190722300017                Gas           Gov. Aggregation   DEO             4500017676490               Gas           Gov. Aggregation
COH             162526120015                Gas           Gov. Aggregation   DEO             6421705875445               Gas           Gov. Aggregation
COH             162871810037                Gas           Gov. Aggregation   COH             151087540030                Gas           Gov. Aggregation
COH             126781390013                Gas           Gov. Aggregation   COH             110597660051                Gas           Gov. Aggregation
COH             130068170024                Gas           Gov. Aggregation   COH             111267480011                Gas           Gov. Aggregation
COH             162775760014                Gas           Gov. Aggregation   VEDO            4018678292363166            Gas           Gov. Aggregation
COH             162844320019                Gas           Gov. Aggregation   COH             122383750024                Gas           Gov. Aggregation
COH             162845590011                Gas           Gov. Aggregation   COH             154230890011                Gas           Gov. Aggregation
COH             165824620015                Gas           Gov. Aggregation   COH             129853650165                Gas           Gov. Aggregation
COH             162725000018                Gas           Gov. Aggregation   COH             177675450014                Gas           Gov. Aggregation
COH             162772180021                Gas           Gov. Aggregation   COH             177736140046                Gas           Gov. Aggregation
COH             162553920029                Gas           Gov. Aggregation   COH             173120200042                Gas           Gov. Aggregation
COH             162602300015                Gas           Gov. Aggregation   COH             171570260012                Gas           Gov. Aggregation
COH             162606600014                Gas           Gov. Aggregation   COH             123738020032                Gas           Gov. Aggregation
COH             162622240016                Gas           Gov. Aggregation   COH             187585500021                Gas           Gov. Aggregation
COH             109098080269                Gas           Gov. Aggregation   COH             155846130014                Gas           Gov. Aggregation
COH             109098080723                Gas           Gov. Aggregation   COH             152538230019                Gas           Gov. Aggregation
COH             164832010017                Gas           Gov. Aggregation   COH             112183140019                Gas           Gov. Aggregation
COH             165935910019                Gas           Gov. Aggregation   COH             171709950012                Gas           Gov. Aggregation
COH             190836310014                Gas           Gov. Aggregation   COH             170983510015                Gas           Gov. Aggregation
COH             162771910010                Gas           Gov. Aggregation   COH             145551390026                Gas           Gov. Aggregation
COH             162790010019                Gas           Gov. Aggregation   COH             123742350016                Gas           Gov. Aggregation
COH             162855870011                Gas           Gov. Aggregation   COH             191973010016                Gas           Gov. Aggregation
COH             163159930013                Gas           Gov. Aggregation   COH             166932330016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             190760020016                Gas           Gov. Aggregation   COH             165855770019                Gas           Gov. Aggregation
COH             190943130015                Gas           Gov. Aggregation   COH             147573830034                Gas           Gov. Aggregation
COH             190975060013                Gas           Gov. Aggregation   COH             153507620020                Gas           Gov. Aggregation
COH             163839640012                Gas           Gov. Aggregation   COH             166340460014                Gas           Gov. Aggregation
COH             162944200021                Gas           Gov. Aggregation   COH             122511220013                Gas           Gov. Aggregation
COH             163235560019                Gas           Gov. Aggregation   COH             161934970013                Gas           Gov. Aggregation
COH             163320460019                Gas           Gov. Aggregation   COH             148789820010                Gas           Gov. Aggregation
COH             109084140032                Gas           Gov. Aggregation   COH             164972760014                Gas           Gov. Aggregation
COH             116582940011                Gas           Gov. Aggregation   COH             120457730014                Gas           Gov. Aggregation
COH             126841370019                Gas           Gov. Aggregation   COH             123749840028                Gas           Gov. Aggregation
COH             126871260064                Gas           Gov. Aggregation   COH             163043220026                Gas           Gov. Aggregation
COH             127501930010                Gas           Gov. Aggregation   COH             168643960033                Gas           Gov. Aggregation
COH             127632030058                Gas           Gov. Aggregation   COH             192328920011                Gas           Gov. Aggregation
COH             190938010020                Gas           Gov. Aggregation   COH             136765350013                Gas           Gov. Aggregation
COH             163032660027                Gas           Gov. Aggregation   COH             149693860041                Gas           Gov. Aggregation
COH             163231260010                Gas           Gov. Aggregation   COH             150359040011                Gas           Gov. Aggregation
COH             163360360016                Gas           Gov. Aggregation   COH             147276950011                Gas           Gov. Aggregation
COH             163785730018                Gas           Gov. Aggregation   COH             135567620017                Gas           Gov. Aggregation
COH             191372600016                Gas           Gov. Aggregation   COH             167196450012                Gas           Gov. Aggregation
COH             191380080019                Gas           Gov. Aggregation   COH             192387120015                Gas           Gov. Aggregation
COH             134299790021                Gas           Gov. Aggregation   COH             167723470037                Gas           Gov. Aggregation
COH             134802870016                Gas           Gov. Aggregation   COH             192202930015                Gas           Gov. Aggregation
COH             136828000030                Gas           Gov. Aggregation   COH             110137710072                Gas           Gov. Aggregation
COH             139605410015                Gas           Gov. Aggregation   COH             170831490011                Gas           Gov. Aggregation
COH             114592870053                Gas           Gov. Aggregation   COH             191230550017                Gas           Gov. Aggregation
COH             191612190013                Gas           Gov. Aggregation   COH             111396100017                Gas           Gov. Aggregation
COH             115363990025                Gas           Gov. Aggregation   COH             186352940014                Gas           Gov. Aggregation
COH             191602060057                Gas           Gov. Aggregation   COH             139563200028                Gas           Gov. Aggregation
COH             115336910019                Gas           Gov. Aggregation   COH             151936360037                Gas           Gov. Aggregation
COH             134613810019                Gas           Gov. Aggregation   COH             169996140028                Gas           Gov. Aggregation
COH             163918160024                Gas           Gov. Aggregation   COH             112243050038                Gas           Gov. Aggregation
COH             164211440013                Gas           Gov. Aggregation   COH             129062250031                Gas           Gov. Aggregation
COH             191404120018                Gas           Gov. Aggregation   COH             161962660028                Gas           Gov. Aggregation
COH             164606250016                Gas           Gov. Aggregation   COH             149265590018                Gas           Gov. Aggregation
COH             164525110017                Gas           Gov. Aggregation   COH             147031030012                Gas           Gov. Aggregation
COH             115332510020                Gas           Gov. Aggregation   COH             192328800016                Gas           Gov. Aggregation
COH             191739320017                Gas           Gov. Aggregation   COH             160158450019                Gas           Gov. Aggregation
COH             191791700017                Gas           Gov. Aggregation   COH             161338310015                Gas           Gov. Aggregation
COH             115367420026                Gas           Gov. Aggregation   COH             192395630011                Gas           Gov. Aggregation
COH             164323140019                Gas           Gov. Aggregation   COH             110966530028                Gas           Gov. Aggregation
COH             115336700013                Gas           Gov. Aggregation   COH             192244180015                Gas           Gov. Aggregation
COH             164616030011                Gas           Gov. Aggregation   COH             149790800029                Gas           Gov. Aggregation
COH             117888910036                Gas           Gov. Aggregation   COH             187695240014                Gas           Gov. Aggregation
COH             165024554487                Gas           Gov. Aggregation   COH             135277800014                Gas           Gov. Aggregation
COH             165010770019                Gas           Gov. Aggregation   COH             174481760031                Gas           Gov. Aggregation
COH             165029340010                Gas           Gov. Aggregation   COH             159706240031                Gas           Gov. Aggregation
COH             165401280013                Gas           Gov. Aggregation   COH             192313730012                Gas           Gov. Aggregation
COH             165417290045                Gas           Gov. Aggregation   COH             149918070012                Gas           Gov. Aggregation
COH             191926930012                Gas           Gov. Aggregation   COH             145408720010                Gas           Gov. Aggregation
COH             191976410016                Gas           Gov. Aggregation   COH             160783520019                Gas           Gov. Aggregation
COH             192012650017                Gas           Gov. Aggregation   COH             113090240032                Gas           Gov. Aggregation
COH             165594820012                Gas           Gov. Aggregation   COH             121939120028                Gas           Gov. Aggregation
COH             117169620022                Gas           Gov. Aggregation   COH             150047270023                Gas           Gov. Aggregation
COH             117358110028                Gas           Gov. Aggregation   COH             124390630013                Gas           Gov. Aggregation
COH             165524510014                Gas           Gov. Aggregation   COH             173855820036                Gas           Gov. Aggregation
COH             192088200012                Gas           Gov. Aggregation   COH             157027280017                Gas           Gov. Aggregation
COH             117163950025                Gas           Gov. Aggregation   COH             129179930013                Gas           Gov. Aggregation
COH             140120560019                Gas           Gov. Aggregation   COH             192298860019                Gas           Gov. Aggregation
COH             128722980011                Gas           Gov. Aggregation   COH             165344320034                Gas           Gov. Aggregation
COH             136455170018                Gas           Gov. Aggregation   COH             173049120014                Gas           Gov. Aggregation
COH             136637720016                Gas           Gov. Aggregation   COH             138912390010                Gas           Gov. Aggregation
COH             164799750023                Gas           Gov. Aggregation   COH             149945380029                Gas           Gov. Aggregation
COH             164920460016                Gas           Gov. Aggregation   COH             113865060028                Gas           Gov. Aggregation
COH             165348900016                Gas           Gov. Aggregation   COH             121948560018                Gas           Gov. Aggregation
COH             165458590019                Gas           Gov. Aggregation   COH             172969900011                Gas           Gov. Aggregation
COH             165466530023                Gas           Gov. Aggregation   COH             191994180017                Gas           Gov. Aggregation
COH             192136240011                Gas           Gov. Aggregation   COH             155018300031                Gas           Gov. Aggregation
COH             138779850017                Gas           Gov. Aggregation   COH             138187900020                Gas           Gov. Aggregation
COH             138802950015                Gas           Gov. Aggregation   COH             141261680051                Gas           Gov. Aggregation
COH             123640800026                Gas           Gov. Aggregation   COH             160954160049                Gas           Gov. Aggregation
COH             123645130027                Gas           Gov. Aggregation   COH             123625130010                Gas           Gov. Aggregation
COH             123680990023                Gas           Gov. Aggregation   COH             124388790015                Gas           Gov. Aggregation
COH             123684610024                Gas           Gov. Aggregation   COH             140561000021                Gas           Gov. Aggregation
COH             123713500015                Gas           Gov. Aggregation   COH             132442530031                Gas           Gov. Aggregation
COH             123714500013                Gas           Gov. Aggregation   COH             145374260038                Gas           Gov. Aggregation
COH             123714780024                Gas           Gov. Aggregation   COH             147664420019                Gas           Gov. Aggregation
COH             123715770015                Gas           Gov. Aggregation   COH             139591900031                Gas           Gov. Aggregation
COH             123717050021                Gas           Gov. Aggregation   COH             157567440019                Gas           Gov. Aggregation
COH             123717460016                Gas           Gov. Aggregation   COH             159338300020                Gas           Gov. Aggregation
COH             123737550015                Gas           Gov. Aggregation   COH             143346340041                Gas           Gov. Aggregation
COH             166438510016                Gas           Gov. Aggregation   COH             132334320025                Gas           Gov. Aggregation
COH             123699050012                Gas           Gov. Aggregation   COH             171592070016                Gas           Gov. Aggregation
COH             123699320024                Gas           Gov. Aggregation   COH             122371400031                Gas           Gov. Aggregation
COH             123707690019                Gas           Gov. Aggregation   COH             165657760048                Gas           Gov. Aggregation
COH             123707950014                Gas           Gov. Aggregation   COH             117366820022                Gas           Gov. Aggregation
COH             123728550032                Gas           Gov. Aggregation   COH             147621400013                Gas           Gov. Aggregation
COH             123729340025                Gas           Gov. Aggregation   COH             145269740021                Gas           Gov. Aggregation
COH             123735170082                Gas           Gov. Aggregation   COH             165907960027                Gas           Gov. Aggregation
COH             123642230022                Gas           Gov. Aggregation   COH             162670150014                Gas           Gov. Aggregation
COH             123646600035                Gas           Gov. Aggregation   COH             133055680021                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             123674150022                Gas           Gov. Aggregation   COH             192315380012                Gas           Gov. Aggregation
COH             123678060014                Gas           Gov. Aggregation   COH             173817950011                Gas           Gov. Aggregation
COH             123684980018                Gas           Gov. Aggregation   COH             110661560019                Gas           Gov. Aggregation
COH             123714820016                Gas           Gov. Aggregation   COH             156671630028                Gas           Gov. Aggregation
COH             123733290018                Gas           Gov. Aggregation   COH             189788640020                Gas           Gov. Aggregation
COH             123734830021                Gas           Gov. Aggregation   COH             192214900016                Gas           Gov. Aggregation
COH             123735400029                Gas           Gov. Aggregation   COH             141314450010                Gas           Gov. Aggregation
COH             123662740023                Gas           Gov. Aggregation   COH             148173200042                Gas           Gov. Aggregation
COH             123665220026                Gas           Gov. Aggregation   COH             113812870029                Gas           Gov. Aggregation
COH             123698330042                Gas           Gov. Aggregation   COH             162538560018                Gas           Gov. Aggregation
COH             123715060023                Gas           Gov. Aggregation   COH             175193820010                Gas           Gov. Aggregation
COH             123715520017                Gas           Gov. Aggregation   COH             112323010027                Gas           Gov. Aggregation
COH             123716070010                Gas           Gov. Aggregation   COH             146199440022                Gas           Gov. Aggregation
COH             123720480024                Gas           Gov. Aggregation   COH             177100960014                Gas           Gov. Aggregation
COH             123729370010                Gas           Gov. Aggregation   COH             155777760019                Gas           Gov. Aggregation
COH             123733560020                Gas           Gov. Aggregation   COH             191960810015                Gas           Gov. Aggregation
COH             123734600010                Gas           Gov. Aggregation   COH             111070700011                Gas           Gov. Aggregation
COH             123939290030                Gas           Gov. Aggregation   COH             192332950016                Gas           Gov. Aggregation
COH             123954290029                Gas           Gov. Aggregation   COH             158057940032                Gas           Gov. Aggregation
COH             124006720017                Gas           Gov. Aggregation   COH             192130920038                Gas           Gov. Aggregation
COH             124025150017                Gas           Gov. Aggregation   COH             152763760011                Gas           Gov. Aggregation
COH             124044190028                Gas           Gov. Aggregation   COH             135163640028                Gas           Gov. Aggregation
COH             124062860047                Gas           Gov. Aggregation   COH             161530720020                Gas           Gov. Aggregation
COH             124084560035                Gas           Gov. Aggregation   COH             145381110034                Gas           Gov. Aggregation
COH             124085100020                Gas           Gov. Aggregation   COH             154732080044                Gas           Gov. Aggregation
COH             143768930016                Gas           Gov. Aggregation   COH             192183270016                Gas           Gov. Aggregation
COH             147230920013                Gas           Gov. Aggregation   COH             188876980032                Gas           Gov. Aggregation
COH             147804060026                Gas           Gov. Aggregation   COH             108710990027                Gas           Gov. Aggregation
COH             123932160031                Gas           Gov. Aggregation   COH             138532660019                Gas           Gov. Aggregation
COH             151378670018                Gas           Gov. Aggregation   COH             185247580032                Gas           Gov. Aggregation
COH             124020180011                Gas           Gov. Aggregation   COH             140061630010                Gas           Gov. Aggregation
COH             124068360308                Gas           Gov. Aggregation   COH             176851440022                Gas           Gov. Aggregation
COH             124151190021                Gas           Gov. Aggregation   COH             164759320018                Gas           Gov. Aggregation
COH             124185900020                Gas           Gov. Aggregation   COH             161234190011                Gas           Gov. Aggregation
COH             124260390028                Gas           Gov. Aggregation   COH             192239750016                Gas           Gov. Aggregation
COH             150438900012                Gas           Gov. Aggregation   COH             167379900019                Gas           Gov. Aggregation
COH             124018700025                Gas           Gov. Aggregation   COH             152847650016                Gas           Gov. Aggregation
COH             124046790019                Gas           Gov. Aggregation   COH             154135110043                Gas           Gov. Aggregation
COH             124212080024                Gas           Gov. Aggregation   COH             140710850044                Gas           Gov. Aggregation
COH             151543550021                Gas           Gov. Aggregation   COH             113509690020                Gas           Gov. Aggregation
COH             124121350011                Gas           Gov. Aggregation   DEO             5500018761039               Gas           Gov. Aggregation
COH             124125530033                Gas           Gov. Aggregation   DEO             9500043162227               Gas           Gov. Aggregation
COH             124125620016                Gas           Gov. Aggregation   DEO             0500034343558               Gas           Gov. Aggregation
COH             149086690017                Gas           Gov. Aggregation   DEO             4440201702582               Gas           Gov. Aggregation
COH             149392410025                Gas           Gov. Aggregation   COH             109473310013                Gas           Gov. Aggregation
COH             150301860010                Gas           Gov. Aggregation   COH             139283110012                Gas           Gov. Aggregation
COH             150497600011                Gas           Gov. Aggregation   COH             187665300023                Gas           Gov. Aggregation
COH             150497620026                Gas           Gov. Aggregation   COH             189844330016                Gas           Gov. Aggregation
COH             151217770017                Gas           Gov. Aggregation   COH             189262410013                Gas           Gov. Aggregation
COH             114680220016                Gas           Gov. Aggregation   COH             189726100014                Gas           Gov. Aggregation
COH             114703180015                Gas           Gov. Aggregation   COH             154480060258                Gas           Gov. Aggregation
COH             114704880016                Gas           Gov. Aggregation   COH             110425160102                Gas           Gov. Aggregation
COH             114705440025                Gas           Gov. Aggregation   COH             111232940017                Gas           Gov. Aggregation
COH             115369020026                Gas           Gov. Aggregation   COH             111257460016                Gas           Gov. Aggregation
COH             115372390013                Gas           Gov. Aggregation   COH             145700660013                Gas           Gov. Aggregation
COH             115372720013                Gas           Gov. Aggregation   COH             147189810024                Gas           Gov. Aggregation
COH             114682410012                Gas           Gov. Aggregation   COH             150716870019                Gas           Gov. Aggregation
COH             114715280028                Gas           Gov. Aggregation   COH             151419820027                Gas           Gov. Aggregation
COH             114681980015                Gas           Gov. Aggregation   COH             152293620017                Gas           Gov. Aggregation
COH             146295490019                Gas           Gov. Aggregation   COH             164438120038                Gas           Gov. Aggregation
COH             146830850017                Gas           Gov. Aggregation   COH             165126080019                Gas           Gov. Aggregation
COH             148939510034                Gas           Gov. Aggregation   COH             165934670030                Gas           Gov. Aggregation
COH             130484100026                Gas           Gov. Aggregation   COH             169332510017                Gas           Gov. Aggregation
COH             130555420028                Gas           Gov. Aggregation   COH             187505090017                Gas           Gov. Aggregation
COH             131429420015                Gas           Gov. Aggregation   COH             191264340010                Gas           Gov. Aggregation
COH             130696320012                Gas           Gov. Aggregation   COH             191287780010                Gas           Gov. Aggregation
COH             153104020011                Gas           Gov. Aggregation   COH             191885990018                Gas           Gov. Aggregation
COH             152716880015                Gas           Gov. Aggregation   COH             113536830032                Gas           Gov. Aggregation
COH             153785760014                Gas           Gov. Aggregation   COH             113786780052                Gas           Gov. Aggregation
COH             168377780018                Gas           Gov. Aggregation   COH             117213120013                Gas           Gov. Aggregation
COH             168495120016                Gas           Gov. Aggregation   COH             120447600012                Gas           Gov. Aggregation
COH             168539360012                Gas           Gov. Aggregation   COH             123655790019                Gas           Gov. Aggregation
COH             114544230021                Gas           Gov. Aggregation   COH             123694080025                Gas           Gov. Aggregation
COH             124406230030                Gas           Gov. Aggregation   COH             123724570027                Gas           Gov. Aggregation
COH             129859060863                Gas           Gov. Aggregation   COH             129007600024                Gas           Gov. Aggregation
COH             153642200013                Gas           Gov. Aggregation   COH             133103320023                Gas           Gov. Aggregation
COH             153825700010                Gas           Gov. Aggregation   COH             133307760029                Gas           Gov. Aggregation
COH             153831180017                Gas           Gov. Aggregation   COH             134591790021                Gas           Gov. Aggregation
COH             133207080015                Gas           Gov. Aggregation   COH             139465360023                Gas           Gov. Aggregation
COH             134067450014                Gas           Gov. Aggregation   COH             140357060059                Gas           Gov. Aggregation
COH             115361530034                Gas           Gov. Aggregation   COH             146018930058                Gas           Gov. Aggregation
COH             152783910035                Gas           Gov. Aggregation   COH             151069580021                Gas           Gov. Aggregation
COH             130710350032                Gas           Gov. Aggregation   COH             152612650013                Gas           Gov. Aggregation
COH             131302610031                Gas           Gov. Aggregation   COH             156044630081                Gas           Gov. Aggregation
COH             132396580012                Gas           Gov. Aggregation   COH             157352480016                Gas           Gov. Aggregation
COH             132418860033                Gas           Gov. Aggregation   COH             158412752358                Gas           Gov. Aggregation
COH             132801860012                Gas           Gov. Aggregation   COH             159925460022                Gas           Gov. Aggregation
COH             133569760025                Gas           Gov. Aggregation   COH             160752370016                Gas           Gov. Aggregation
COH             133767960023                Gas           Gov. Aggregation   COH             162924480034                Gas           Gov. Aggregation
COH             115371930011                Gas           Gov. Aggregation   COH             165323320047                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             132334280024                Gas           Gov. Aggregation   COH             170528860016                Gas           Gov. Aggregation
COH             132977930016                Gas           Gov. Aggregation   COH             171641470017                Gas           Gov. Aggregation
COH             133707140021                Gas           Gov. Aggregation   COH             172249970077                Gas           Gov. Aggregation
COH             153839310399                Gas           Gov. Aggregation   COH             173302780027                Gas           Gov. Aggregation
COH             154004760071                Gas           Gov. Aggregation   COH             173650300020                Gas           Gov. Aggregation
COH             135011310037                Gas           Gov. Aggregation   COH             175946050033                Gas           Gov. Aggregation
COH             135149540029                Gas           Gov. Aggregation   COH             177609860017                Gas           Gov. Aggregation
COH             136149540019                Gas           Gov. Aggregation   COH             186328030034                Gas           Gov. Aggregation
COH             116818530025                Gas           Gov. Aggregation   COH             190172800037                Gas           Gov. Aggregation
COH             132874130021                Gas           Gov. Aggregation   COH             191829510016                Gas           Gov. Aggregation
COH             132915850013                Gas           Gov. Aggregation   COH             192322310011                Gas           Gov. Aggregation
COH             135430460056                Gas           Gov. Aggregation   COH             192360840010                Gas           Gov. Aggregation
COH             116897680028                Gas           Gov. Aggregation   COH             192366870012                Gas           Gov. Aggregation
COH             153788630015                Gas           Gov. Aggregation   COH             192370280017                Gas           Gov. Aggregation
COH             116925350026                Gas           Gov. Aggregation   COH             192414490019                Gas           Gov. Aggregation
COH             154790990014                Gas           Gov. Aggregation   COH             192421720015                Gas           Gov. Aggregation
COH             117008980027                Gas           Gov. Aggregation   COH             192433570012                Gas           Gov. Aggregation
COH             117024090039                Gas           Gov. Aggregation   COH             192476410015                Gas           Gov. Aggregation
COH             138739200017                Gas           Gov. Aggregation   COH             192485740017                Gas           Gov. Aggregation
COH             117041460017                Gas           Gov. Aggregation   COH             192499860013                Gas           Gov. Aggregation
COH             117042000011                Gas           Gov. Aggregation   COH             192508810012                Gas           Gov. Aggregation
COH             168249970019                Gas           Gov. Aggregation   COH             192541450018                Gas           Gov. Aggregation
COH             139358350077                Gas           Gov. Aggregation   COH             147818330020                Gas           Gov. Aggregation
COH             139524770012                Gas           Gov. Aggregation   COH             174990970047                Gas           Gov. Aggregation
COH             170197740014                Gas           Gov. Aggregation   VEDO            4016520572629910            Gas           Gov. Aggregation
COH             171285220015                Gas           Gov. Aggregation   DEO             4500045437515               Gas           Gov. Aggregation
COH             172017930012                Gas           Gov. Aggregation   COH             170611420011                Gas           Gov. Aggregation
COH             136822630030                Gas           Gov. Aggregation   COH             185661810017                Gas           Gov. Aggregation
COH             137690620023                Gas           Gov. Aggregation   COH             173661450017                Gas           Gov. Aggregation
COH             154656540012                Gas           Gov. Aggregation   COH             149313830014                Gas           Gov. Aggregation
COH             138983320122                Gas           Gov. Aggregation   COH             187944970030                Gas           Gov. Aggregation
COH             139685740107                Gas           Gov. Aggregation   COH             155005660015                Gas           Gov. Aggregation
COH             155216210012                Gas           Gov. Aggregation   COH             150237180029                Gas           Gov. Aggregation
COH             136566150035                Gas           Gov. Aggregation   COH             114711740010                Gas           Gov. Aggregation
COH             137705900012                Gas           Gov. Aggregation   COH             166385320019                Gas           Gov. Aggregation
COH             137836700026                Gas           Gov. Aggregation   COH             156083220021                Gas           Gov. Aggregation
COH             117091050027                Gas           Gov. Aggregation   COH             170324820016                Gas           Gov. Aggregation
COH             154822780019                Gas           Gov. Aggregation   COH             114701500011                Gas           Gov. Aggregation
COH             117065480086                Gas           Gov. Aggregation   COH             176837270019                Gas           Gov. Aggregation
COH             117102280024                Gas           Gov. Aggregation   COH             132768520024                Gas           Gov. Aggregation
COH             117166730025                Gas           Gov. Aggregation   COH             143343920036                Gas           Gov. Aggregation
COH             117193720020                Gas           Gov. Aggregation   COH             188304480010                Gas           Gov. Aggregation
COH             117137400025                Gas           Gov. Aggregation   COH             190894330018                Gas           Gov. Aggregation
COH             117171050027                Gas           Gov. Aggregation   COH             163108120029                Gas           Gov. Aggregation
COH             140828780022                Gas           Gov. Aggregation   COH             165412160015                Gas           Gov. Aggregation
COH             141197210029                Gas           Gov. Aggregation   COH             114701240016                Gas           Gov. Aggregation
COH             141666350052                Gas           Gov. Aggregation   COH             186253090013                Gas           Gov. Aggregation
COH             141808060015                Gas           Gov. Aggregation   COH             186066820016                Gas           Gov. Aggregation
COH             142405140039                Gas           Gov. Aggregation   COH             167646850013                Gas           Gov. Aggregation
COH             142420160015                Gas           Gov. Aggregation   COH             186932400017                Gas           Gov. Aggregation
COH             142456590047                Gas           Gov. Aggregation   COH             191937200012                Gas           Gov. Aggregation
COH             117273560060                Gas           Gov. Aggregation   COH             167025100016                Gas           Gov. Aggregation
COH             140327550013                Gas           Gov. Aggregation   COH             177691210010                Gas           Gov. Aggregation
COH             141039130011                Gas           Gov. Aggregation   COH             172144880014                Gas           Gov. Aggregation
COH             142482650012                Gas           Gov. Aggregation   COH             114713270015                Gas           Gov. Aggregation
COH             142589160046                Gas           Gov. Aggregation   COH             164787340042                Gas           Gov. Aggregation
COH             142740320120                Gas           Gov. Aggregation   COH             189306100014                Gas           Gov. Aggregation
COH             117295600010                Gas           Gov. Aggregation   COH             137267940023                Gas           Gov. Aggregation
COH             117328200013                Gas           Gov. Aggregation   COH             155199710024                Gas           Gov. Aggregation
COH             117328230017                Gas           Gov. Aggregation   COH             176793590016                Gas           Gov. Aggregation
COH             117329490011                Gas           Gov. Aggregation   COH             114713110027                Gas           Gov. Aggregation
COH             117330060018                Gas           Gov. Aggregation   COH             170024620014                Gas           Gov. Aggregation
COH             157153270021                Gas           Gov. Aggregation   COH             177199620018                Gas           Gov. Aggregation
COH             142167430025                Gas           Gov. Aggregation   COH             129489920054                Gas           Gov. Aggregation
COH             138909890012                Gas           Gov. Aggregation   COH             132555780021                Gas           Gov. Aggregation
COH             139265350010                Gas           Gov. Aggregation   COH             187403350018                Gas           Gov. Aggregation
COH             139308030015                Gas           Gov. Aggregation   COH             160271630020                Gas           Gov. Aggregation
COH             140729860016                Gas           Gov. Aggregation   COH             186138770014                Gas           Gov. Aggregation
COH             140874990012                Gas           Gov. Aggregation   COH             190430160016                Gas           Gov. Aggregation
COH             141731950011                Gas           Gov. Aggregation   COH             114704740015                Gas           Gov. Aggregation
COH             168749170017                Gas           Gov. Aggregation   COH             191530970013                Gas           Gov. Aggregation
COH             171650680014                Gas           Gov. Aggregation   COH             190551160029                Gas           Gov. Aggregation
COH             173251420012                Gas           Gov. Aggregation   COH             161142350012                Gas           Gov. Aggregation
COH             117176520037                Gas           Gov. Aggregation   COH             172494800028                Gas           Gov. Aggregation
COH             117180410040                Gas           Gov. Aggregation   COH             159477910028                Gas           Gov. Aggregation
COH             117306210017                Gas           Gov. Aggregation   COH             192139820013                Gas           Gov. Aggregation
COH             117323390014                Gas           Gov. Aggregation   COH             145866180023                Gas           Gov. Aggregation
COH             117328170010                Gas           Gov. Aggregation   COH             189678510011                Gas           Gov. Aggregation
COH             117329440011                Gas           Gov. Aggregation   COH             160674770027                Gas           Gov. Aggregation
COH             117341990010                Gas           Gov. Aggregation   COH             161082670013                Gas           Gov. Aggregation
COH             117356270029                Gas           Gov. Aggregation   COH             161050330011                Gas           Gov. Aggregation
COH             117359620010                Gas           Gov. Aggregation   COH             191352760024                Gas           Gov. Aggregation
COH             117369670037                Gas           Gov. Aggregation   COH             158191630033                Gas           Gov. Aggregation
COH             117294630016                Gas           Gov. Aggregation   COH             192281270018                Gas           Gov. Aggregation
COH             117295490023                Gas           Gov. Aggregation   COH             162818620011                Gas           Gov. Aggregation
COH             117320920018                Gas           Gov. Aggregation   COH             167518200010                Gas           Gov. Aggregation
COH             117322310012                Gas           Gov. Aggregation   COH             192165360015                Gas           Gov. Aggregation
COH             117322450013                Gas           Gov. Aggregation   COH             130468900068                Gas           Gov. Aggregation
COH             117346390016                Gas           Gov. Aggregation   COH             160412540029                Gas           Gov. Aggregation
COH             117348580021                Gas           Gov. Aggregation   COH             191902830013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             117360980012                Gas           Gov. Aggregation   COH             118498300021                Gas           Gov. Aggregation
COH             117363190012                Gas           Gov. Aggregation   COH             114702180017                Gas           Gov. Aggregation
COH             117363780018                Gas           Gov. Aggregation   COH             168190440015                Gas           Gov. Aggregation
COH             117341710018                Gas           Gov. Aggregation   COH             163043180034                Gas           Gov. Aggregation
COH             117343640019                Gas           Gov. Aggregation   COH             114703670012                Gas           Gov. Aggregation
COH             117346370010                Gas           Gov. Aggregation   COH             114702940017                Gas           Gov. Aggregation
COH             117347390014                Gas           Gov. Aggregation   COH             166849200010                Gas           Gov. Aggregation
COH             117349920027                Gas           Gov. Aggregation   COH             177405090011                Gas           Gov. Aggregation
COH             117364710010                Gas           Gov. Aggregation   COH             142643030029                Gas           Gov. Aggregation
COH             157716620032                Gas           Gov. Aggregation   COH             116973900029                Gas           Gov. Aggregation
COH             117374060025                Gas           Gov. Aggregation   COH             162790110018                Gas           Gov. Aggregation
COH             117417230063                Gas           Gov. Aggregation   COH             188414480017                Gas           Gov. Aggregation
COH             143649190078                Gas           Gov. Aggregation   COH             162018530016                Gas           Gov. Aggregation
COH             157215160040                Gas           Gov. Aggregation   COH             187830230018                Gas           Gov. Aggregation
COH             146134700014                Gas           Gov. Aggregation   COH             114714220013                Gas           Gov. Aggregation
COH             143708220619                Gas           Gov. Aggregation   COH             166324780066                Gas           Gov. Aggregation
COH             117251950037                Gas           Gov. Aggregation   COH             175023140021                Gas           Gov. Aggregation
COH             117286460073                Gas           Gov. Aggregation   COH             144784730031                Gas           Gov. Aggregation
COH             117290420018                Gas           Gov. Aggregation   COH             119583930027                Gas           Gov. Aggregation
COH             117303350014                Gas           Gov. Aggregation   COH             186372290019                Gas           Gov. Aggregation
COH             117306470013                Gas           Gov. Aggregation   COH             189918030012                Gas           Gov. Aggregation
COH             117324260019                Gas           Gov. Aggregation   COH             158093180045                Gas           Gov. Aggregation
COH             117335590026                Gas           Gov. Aggregation   COH             190095840015                Gas           Gov. Aggregation
COH             117340570010                Gas           Gov. Aggregation   COH             174020890012                Gas           Gov. Aggregation
COH             117356790011                Gas           Gov. Aggregation   COH             155333920033                Gas           Gov. Aggregation
COH             117361200013                Gas           Gov. Aggregation   COH             190653100016                Gas           Gov. Aggregation
COH             117363490019                Gas           Gov. Aggregation   COH             161801800019                Gas           Gov. Aggregation
COH             117373370022                Gas           Gov. Aggregation   COH             152278990021                Gas           Gov. Aggregation
COH             157348410019                Gas           Gov. Aggregation   COH             137250510019                Gas           Gov. Aggregation
COH             143213890010                Gas           Gov. Aggregation   COH             114704390019                Gas           Gov. Aggregation
COH             144908360026                Gas           Gov. Aggregation   COH             162810130010                Gas           Gov. Aggregation
COH             117382510032                Gas           Gov. Aggregation   COH             130962830056                Gas           Gov. Aggregation
COH             117439410032                Gas           Gov. Aggregation   COH             166860340017                Gas           Gov. Aggregation
COH             146588250018                Gas           Gov. Aggregation   COH             146654990021                Gas           Gov. Aggregation
COH             146665650010                Gas           Gov. Aggregation   COH             190153670017                Gas           Gov. Aggregation
COH             172207850016                Gas           Gov. Aggregation   COH             187349700010                Gas           Gov. Aggregation
COH             172274060011                Gas           Gov. Aggregation   DEO             2500053298462               Gas           Gov. Aggregation
COH             172392030017                Gas           Gov. Aggregation   DEO             2500053869688               Gas           Gov. Aggregation
COH             172564790013                Gas           Gov. Aggregation   DEO             1500054157845               Gas           Gov. Aggregation
COH             175551490010                Gas           Gov. Aggregation   DEO             2500054211160               Gas           Gov. Aggregation
COH             117467720029                Gas           Gov. Aggregation   COH             109335280012                Gas           Gov. Aggregation
COH             117499650027                Gas           Gov. Aggregation   COH             112292730014                Gas           Gov. Aggregation
COH             117439760020                Gas           Gov. Aggregation   COH             131409110101                Gas           Gov. Aggregation
COH             158719640013                Gas           Gov. Aggregation   COH             134252580023                Gas           Gov. Aggregation
COH             117557000029                Gas           Gov. Aggregation   COH             135557620072                Gas           Gov. Aggregation
COH             117566610022                Gas           Gov. Aggregation   COH             138233040059                Gas           Gov. Aggregation
COH             146975580027                Gas           Gov. Aggregation   COH             140050520016                Gas           Gov. Aggregation
COH             146320710099                Gas           Gov. Aggregation   COH             140186630052                Gas           Gov. Aggregation
COH             148007750020                Gas           Gov. Aggregation   COH             140293390010                Gas           Gov. Aggregation
COH             148789650203                Gas           Gov. Aggregation   COH             147147710041                Gas           Gov. Aggregation
COH             148969600032                Gas           Gov. Aggregation   COH             150077350050                Gas           Gov. Aggregation
COH             166107730011                Gas           Gov. Aggregation   COH             150949680025                Gas           Gov. Aggregation
COH             166184690018                Gas           Gov. Aggregation   COH             151964080028                Gas           Gov. Aggregation
COH             159028500016                Gas           Gov. Aggregation   COH             152059810102                Gas           Gov. Aggregation
COH             117650450036                Gas           Gov. Aggregation   COH             153997740064                Gas           Gov. Aggregation
COH             117906160025                Gas           Gov. Aggregation   COH             154049850023                Gas           Gov. Aggregation
COH             117938850023                Gas           Gov. Aggregation   COH             156953390030                Gas           Gov. Aggregation
COH             117962040040                Gas           Gov. Aggregation   COH             157063750021                Gas           Gov. Aggregation
COH             166832270011                Gas           Gov. Aggregation   COH             158218390027                Gas           Gov. Aggregation
COH             117938300028                Gas           Gov. Aggregation   COH             160296840024                Gas           Gov. Aggregation
COH             174941940019                Gas           Gov. Aggregation   COH             165052400018                Gas           Gov. Aggregation
COH             175108010019                Gas           Gov. Aggregation   COH             170269550011                Gas           Gov. Aggregation
COH             177045580021                Gas           Gov. Aggregation   COH             171316480014                Gas           Gov. Aggregation
COH             166857290024                Gas           Gov. Aggregation   COH             172682760028                Gas           Gov. Aggregation
COH             158542800014                Gas           Gov. Aggregation   COH             173476210010                Gas           Gov. Aggregation
COH             166919190014                Gas           Gov. Aggregation   COH             175234720031                Gas           Gov. Aggregation
COH             161319570011                Gas           Gov. Aggregation   COH             176243190024                Gas           Gov. Aggregation
COH             160904410014                Gas           Gov. Aggregation   COH             185906770016                Gas           Gov. Aggregation
COH             147906050013                Gas           Gov. Aggregation   COH             186244110035                Gas           Gov. Aggregation
COH             148504540020                Gas           Gov. Aggregation   COH             188390700030                Gas           Gov. Aggregation
COH             148923010014                Gas           Gov. Aggregation   COH             189044230013                Gas           Gov. Aggregation
COH             166544290027                Gas           Gov. Aggregation   COH             189078480010                Gas           Gov. Aggregation
COH             161017040012                Gas           Gov. Aggregation   COH             189210710019                Gas           Gov. Aggregation
COH             174101410010                Gas           Gov. Aggregation   COH             190170350018                Gas           Gov. Aggregation
COH             161954190015                Gas           Gov. Aggregation   COH             190256150018                Gas           Gov. Aggregation
COH             118006800027                Gas           Gov. Aggregation   COH             190428850016                Gas           Gov. Aggregation
COH             118051580010                Gas           Gov. Aggregation   COH             191018960020                Gas           Gov. Aggregation
COH             162175670015                Gas           Gov. Aggregation   COH             192133190018                Gas           Gov. Aggregation
COH             176476550016                Gas           Gov. Aggregation   COH             192505120013                Gas           Gov. Aggregation
COH             161954220018                Gas           Gov. Aggregation   COH             192515550012                Gas           Gov. Aggregation
COH             118022130042                Gas           Gov. Aggregation   COH             192548530017                Gas           Gov. Aggregation
COH             118054840028                Gas           Gov. Aggregation   COH             192550390012                Gas           Gov. Aggregation
COH             118057900038                Gas           Gov. Aggregation   COH             192553540014                Gas           Gov. Aggregation
COH             118124720033                Gas           Gov. Aggregation   COH             192576440017                Gas           Gov. Aggregation
COH             118127160026                Gas           Gov. Aggregation   COH             192589250010                Gas           Gov. Aggregation
COH             118128780024                Gas           Gov. Aggregation   COH             192590390018                Gas           Gov. Aggregation
COH             118133350023                Gas           Gov. Aggregation   COH             192599380012                Gas           Gov. Aggregation
COH             162752650015                Gas           Gov. Aggregation   COH             192599910010                Gas           Gov. Aggregation
COH             169600550010                Gas           Gov. Aggregation   COH             192628330019                Gas           Gov. Aggregation
COH             169860890019                Gas           Gov. Aggregation   COH             192645040014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             118145580048                Gas           Gov. Aggregation   COH             115144430017                Gas           Gov. Aggregation
COH             162185650018                Gas           Gov. Aggregation   COH             110335280028                Gas           Gov. Aggregation
COH             169384430015                Gas           Gov. Aggregation   COH             162738820028                Gas           Gov. Aggregation
COH             169759090012                Gas           Gov. Aggregation   DEO             4500054352470               Gas           Gov. Aggregation
COH             168068080010                Gas           Gov. Aggregation   COH             148438570061                Gas           Gov. Aggregation
COH             168137730016                Gas           Gov. Aggregation   COH             150904030052                Gas           Gov. Aggregation
COH             168488430052                Gas           Gov. Aggregation   COH             188880080014                Gas           Gov. Aggregation
COH             118002030036                Gas           Gov. Aggregation   COH             189445640017                Gas           Gov. Aggregation
COH             118029460030                Gas           Gov. Aggregation   COH             191824880019                Gas           Gov. Aggregation
COH             162966420010                Gas           Gov. Aggregation   COH             192035080019                Gas           Gov. Aggregation
COH             163083530018                Gas           Gov. Aggregation   COH             192627910019                Gas           Gov. Aggregation
COH             118202410032                Gas           Gov. Aggregation   COH             192190290017                Gas           Gov. Aggregation
COH             118218090028                Gas           Gov. Aggregation   COH             190648890012                Gas           Gov. Aggregation
COH             118237150034                Gas           Gov. Aggregation   COH             153851350064                Gas           Gov. Aggregation
COH             163878400010                Gas           Gov. Aggregation   COH             160948590042                Gas           Gov. Aggregation
COH             163853980011                Gas           Gov. Aggregation   COH             190455020022                Gas           Gov. Aggregation
COH             118127940022                Gas           Gov. Aggregation   COH             185713200014                Gas           Gov. Aggregation
COH             164407290010                Gas           Gov. Aggregation   COH             133404550027                Gas           Gov. Aggregation
COH             118298160034                Gas           Gov. Aggregation   COH             191757210012                Gas           Gov. Aggregation
COH             118315140030                Gas           Gov. Aggregation   COH             162778310021                Gas           Gov. Aggregation
COH             169574670012                Gas           Gov. Aggregation   COH             115080600026                Gas           Gov. Aggregation
COH             169648460019                Gas           Gov. Aggregation   COH             137012890014                Gas           Gov. Aggregation
COH             170033500010                Gas           Gov. Aggregation   COH             191678430014                Gas           Gov. Aggregation
COH             170049210063                Gas           Gov. Aggregation   COH             192603600014                Gas           Gov. Aggregation
COH             171090330015                Gas           Gov. Aggregation   COH             170857780034                Gas           Gov. Aggregation
COH             171101740014                Gas           Gov. Aggregation   COH             191628920016                Gas           Gov. Aggregation
COH             177706510014                Gas           Gov. Aggregation   COH             144251280017                Gas           Gov. Aggregation
COH             186425000016                Gas           Gov. Aggregation   COH             114970090019                Gas           Gov. Aggregation
COH             186548000016                Gas           Gov. Aggregation   COH             191622810011                Gas           Gov. Aggregation
COH             118462360033                Gas           Gov. Aggregation   COH             165938530040                Gas           Gov. Aggregation
COH             170312550018                Gas           Gov. Aggregation   COH             191205860015                Gas           Gov. Aggregation
COH             170677590018                Gas           Gov. Aggregation   COH             187751350039                Gas           Gov. Aggregation
COH             171568020053                Gas           Gov. Aggregation   COH             140101080010                Gas           Gov. Aggregation
COH             118266730031                Gas           Gov. Aggregation   COH             170343350015                Gas           Gov. Aggregation
COH             164183430016                Gas           Gov. Aggregation   COH             190686390017                Gas           Gov. Aggregation
COH             177645280013                Gas           Gov. Aggregation   COH             115003070020                Gas           Gov. Aggregation
COH             186029850027                Gas           Gov. Aggregation   COH             114926670010                Gas           Gov. Aggregation
COH             186679540016                Gas           Gov. Aggregation   COH             191340140010                Gas           Gov. Aggregation
COH             164437870015                Gas           Gov. Aggregation   COH             191384340016                Gas           Gov. Aggregation
COH             177761870013                Gas           Gov. Aggregation   COH             191493830012                Gas           Gov. Aggregation
COH             186898690011                Gas           Gov. Aggregation   COH             191989760016                Gas           Gov. Aggregation
COH             170890120014                Gas           Gov. Aggregation   COH             133107780038                Gas           Gov. Aggregation
COH             171320700018                Gas           Gov. Aggregation   COH             115071950013                Gas           Gov. Aggregation
COH             171870780035                Gas           Gov. Aggregation   COH             114963260018                Gas           Gov. Aggregation
COH             172477290013                Gas           Gov. Aggregation   COH             189299370024                Gas           Gov. Aggregation
COH             187641980012                Gas           Gov. Aggregation   COH             192621060010                Gas           Gov. Aggregation
COH             118806550060                Gas           Gov. Aggregation   COH             191302720018                Gas           Gov. Aggregation
COH             118824010029                Gas           Gov. Aggregation   COH             191832910015                Gas           Gov. Aggregation
COH             171946310014                Gas           Gov. Aggregation   COH             191567200017                Gas           Gov. Aggregation
COH             171974720028                Gas           Gov. Aggregation   COH             174002940046                Gas           Gov. Aggregation
COH             172084490023                Gas           Gov. Aggregation   COH             191759300028                Gas           Gov. Aggregation
COH             172212000013                Gas           Gov. Aggregation   COH             175958290029                Gas           Gov. Aggregation
COH             172561940017                Gas           Gov. Aggregation   COH             139741030017                Gas           Gov. Aggregation
COH             118911820024                Gas           Gov. Aggregation   COH             131750950040                Gas           Gov. Aggregation
COH             173484340025                Gas           Gov. Aggregation   COH             114990390023                Gas           Gov. Aggregation
COH             172652150010                Gas           Gov. Aggregation   COH             144092150021                Gas           Gov. Aggregation
COH             173137280032                Gas           Gov. Aggregation   COH             190715510018                Gas           Gov. Aggregation
COH             173185340010                Gas           Gov. Aggregation   COH             191251670018                Gas           Gov. Aggregation
COH             119136400025                Gas           Gov. Aggregation   COH             169358960055                Gas           Gov. Aggregation
COH             165527330016                Gas           Gov. Aggregation   COH             159972140011                Gas           Gov. Aggregation
COH             187244250017                Gas           Gov. Aggregation   COH             190216170018                Gas           Gov. Aggregation
COH             172992970018                Gas           Gov. Aggregation   COH             164773390050                Gas           Gov. Aggregation
COH             115487450035                Gas           Gov. Aggregation   COH             191888910018                Gas           Gov. Aggregation
COH             115612600027                Gas           Gov. Aggregation   COH             175852650027                Gas           Gov. Aggregation
COH             175090780017                Gas           Gov. Aggregation   COH             190544660010                Gas           Gov. Aggregation
COH             187724630019                Gas           Gov. Aggregation   COH             156704300017                Gas           Gov. Aggregation
COH             115520500069                Gas           Gov. Aggregation   COH             167654450038                Gas           Gov. Aggregation
COH             173209860019                Gas           Gov. Aggregation   COH             191924550016                Gas           Gov. Aggregation
COH             173848580014                Gas           Gov. Aggregation   COH             170566960113                Gas           Gov. Aggregation
COH             188383640010                Gas           Gov. Aggregation   COH             163719710011                Gas           Gov. Aggregation
COH             188678840013                Gas           Gov. Aggregation   COH             187832410025                Gas           Gov. Aggregation
COH             119576400023                Gas           Gov. Aggregation   COH             174498060024                Gas           Gov. Aggregation
COH             119897030030                Gas           Gov. Aggregation   COH             115070320026                Gas           Gov. Aggregation
COH             119902240024                Gas           Gov. Aggregation   COH             166197590067                Gas           Gov. Aggregation
COH             119439470029                Gas           Gov. Aggregation   COH             157959890078                Gas           Gov. Aggregation
COH             115753430016                Gas           Gov. Aggregation   COH             129723170018                Gas           Gov. Aggregation
COH             115753590013                Gas           Gov. Aggregation   COH             176846230018                Gas           Gov. Aggregation
COH             119703150034                Gas           Gov. Aggregation   COH             114989530026                Gas           Gov. Aggregation
COH             115754560017                Gas           Gov. Aggregation   COH             190832340016                Gas           Gov. Aggregation
COH             188090030019                Gas           Gov. Aggregation   COH             129853650129                Gas           Gov. Aggregation
COH             189031040010                Gas           Gov. Aggregation   COH             129853650138                Gas           Gov. Aggregation
COH             174236900012                Gas           Gov. Aggregation   COH             129853650147                Gas           Gov. Aggregation
COH             115598220029                Gas           Gov. Aggregation   COH             129853650156                Gas           Gov. Aggregation
COH             119540380041                Gas           Gov. Aggregation   COH             129853650209                Gas           Gov. Aggregation
COH             119583120045                Gas           Gov. Aggregation   COH             129853650101                Gas           Gov. Aggregation
COH             175209020013                Gas           Gov. Aggregation   COH             129853650174                Gas           Gov. Aggregation
COH             175456910022                Gas           Gov. Aggregation   COH             191716260018                Gas           Gov. Aggregation
COH             119819140022                Gas           Gov. Aggregation   COH             150559640039                Gas           Gov. Aggregation
COH             115753190017                Gas           Gov. Aggregation   COH             129853650110                Gas           Gov. Aggregation
COH             115753400021                Gas           Gov. Aggregation   COH             163863850017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             115754850025                Gas           Gov. Aggregation   COH             147097090030                Gas           Gov. Aggregation
COH             115773690047                Gas           Gov. Aggregation   COH             166654160012                Gas           Gov. Aggregation
COH             115786120030                Gas           Gov. Aggregation   COH             173571530039                Gas           Gov. Aggregation
COH             115787090026                Gas           Gov. Aggregation   COH             186630930034                Gas           Gov. Aggregation
COH             189780800013                Gas           Gov. Aggregation   COH             118285550075                Gas           Gov. Aggregation
COH             115784890015                Gas           Gov. Aggregation   COH             161350000023                Gas           Gov. Aggregation
COH             115810020010                Gas           Gov. Aggregation   COH             191772080018                Gas           Gov. Aggregation
COH             115810400010                Gas           Gov. Aggregation   COH             190911650013                Gas           Gov. Aggregation
COH             115770490027                Gas           Gov. Aggregation   COH             114932590023                Gas           Gov. Aggregation
COH             115801000013                Gas           Gov. Aggregation   COH             114884990059                Gas           Gov. Aggregation
COH             115802960010                Gas           Gov. Aggregation   COH             190189050030                Gas           Gov. Aggregation
COH             115828560029                Gas           Gov. Aggregation   COH             114945850012                Gas           Gov. Aggregation
COH             115828770016                Gas           Gov. Aggregation   COH             143491970042                Gas           Gov. Aggregation
COH             115839180017                Gas           Gov. Aggregation   COH             116955030039                Gas           Gov. Aggregation
COH             115839210010                Gas           Gov. Aggregation   COH             160640990068                Gas           Gov. Aggregation
COH             115839930019                Gas           Gov. Aggregation   COH             175201410026                Gas           Gov. Aggregation
COH             115841160016                Gas           Gov. Aggregation   COH             191018750015                Gas           Gov. Aggregation
COH             115845180014                Gas           Gov. Aggregation   COH             117107100012                Gas           Gov. Aggregation
COH             115829030019                Gas           Gov. Aggregation   COH             154414450059                Gas           Gov. Aggregation
COH             115831600014                Gas           Gov. Aggregation   COH             174127600034                Gas           Gov. Aggregation
COH             115847310012                Gas           Gov. Aggregation   COH             160017240039                Gas           Gov. Aggregation
COH             115848470017                Gas           Gov. Aggregation   COH             139402130023                Gas           Gov. Aggregation
COH             115848850017                Gas           Gov. Aggregation   COH             187127690013                Gas           Gov. Aggregation
COH             115849760014                Gas           Gov. Aggregation   COH             192510980012                Gas           Gov. Aggregation
COH             119913320015                Gas           Gov. Aggregation   COH             165137140040                Gas           Gov. Aggregation
COH             119996840058                Gas           Gov. Aggregation   COH             190671040011                Gas           Gov. Aggregation
COH             115866610019                Gas           Gov. Aggregation   COH             190428550019                Gas           Gov. Aggregation
COH             120103050034                Gas           Gov. Aggregation   COH             155374760040                Gas           Gov. Aggregation
COH             120174950018                Gas           Gov. Aggregation   COH             162027290036                Gas           Gov. Aggregation
COH             115781830013                Gas           Gov. Aggregation   COH             188034710023                Gas           Gov. Aggregation
COH             115827420011                Gas           Gov. Aggregation   COH             191237290018                Gas           Gov. Aggregation
COH             115827640024                Gas           Gov. Aggregation   COH             191150210018                Gas           Gov. Aggregation
COH             115837990020                Gas           Gov. Aggregation   COH             172064780015                Gas           Gov. Aggregation
COH             115840010019                Gas           Gov. Aggregation   COH             192574990016                Gas           Gov. Aggregation
COH             115842560010                Gas           Gov. Aggregation   COH             191557450016                Gas           Gov. Aggregation
COH             115848960014                Gas           Gov. Aggregation   COH             191550170019                Gas           Gov. Aggregation
COH             115849040024                Gas           Gov. Aggregation   COH             187273340026                Gas           Gov. Aggregation
COH             115849320016                Gas           Gov. Aggregation   COH             159222750030                Gas           Gov. Aggregation
COH             115849820011                Gas           Gov. Aggregation   COH             158957690055                Gas           Gov. Aggregation
COH             120103660036                Gas           Gov. Aggregation   COH             191709640013                Gas           Gov. Aggregation
COH             175730350019                Gas           Gov. Aggregation   COH             170532810035                Gas           Gov. Aggregation
COH             115804870015                Gas           Gov. Aggregation   COH             149353630101                Gas           Gov. Aggregation
COH             189062590010                Gas           Gov. Aggregation   COH             191150180015                Gas           Gov. Aggregation
COH             190147680018                Gas           Gov. Aggregation   COH             141650911092                Gas           Gov. Aggregation
COH             190213270013                Gas           Gov. Aggregation   COH             153975960055                Gas           Gov. Aggregation
COH             190229130019                Gas           Gov. Aggregation   COH             152514540078                Gas           Gov. Aggregation
COH             119912860014                Gas           Gov. Aggregation   COH             172818260024                Gas           Gov. Aggregation
COH             120152160010                Gas           Gov. Aggregation   COH             189140490024                Gas           Gov. Aggregation
COH             120153030015                Gas           Gov. Aggregation   COH             175721170025                Gas           Gov. Aggregation
COH             120159570010                Gas           Gov. Aggregation   COH             190935880015                Gas           Gov. Aggregation
COH             175539280047                Gas           Gov. Aggregation   COH             172754090026                Gas           Gov. Aggregation
COH             176118090011                Gas           Gov. Aggregation   COH             173843680031                Gas           Gov. Aggregation
COH             176528220023                Gas           Gov. Aggregation   COH             190391930018                Gas           Gov. Aggregation
COH             177488640011                Gas           Gov. Aggregation   COH             156338490015                Gas           Gov. Aggregation
COH             115863010011                Gas           Gov. Aggregation   COH             192348600016                Gas           Gov. Aggregation
COH             120169790013                Gas           Gov. Aggregation   COH             149383140012                Gas           Gov. Aggregation
COH             120175180018                Gas           Gov. Aggregation   COH             172183450012                Gas           Gov. Aggregation
COH             120175560018                Gas           Gov. Aggregation   COH             188590600028                Gas           Gov. Aggregation
COH             177475970019                Gas           Gov. Aggregation   COH             186478630022                Gas           Gov. Aggregation
COH             176339030015                Gas           Gov. Aggregation   COH             192619150016                Gas           Gov. Aggregation
COH             177328860022                Gas           Gov. Aggregation   COH             191124900018                Gas           Gov. Aggregation
COH             117517000023                Gas           Gov. Aggregation   COH             147972280034                Gas           Gov. Aggregation
COH             117125320027                Gas           Gov. Aggregation   COH             139870830016                Gas           Gov. Aggregation
COH             115831190011                Gas           Gov. Aggregation   COH             117344680055                Gas           Gov. Aggregation
COH             115837320011                Gas           Gov. Aggregation   COH             166483780015                Gas           Gov. Aggregation
COH             115848380034                Gas           Gov. Aggregation   COH             185718750037                Gas           Gov. Aggregation
COH             115848510018                Gas           Gov. Aggregation   COH             162998190021                Gas           Gov. Aggregation
COH             115850160017                Gas           Gov. Aggregation   COH             188895690024                Gas           Gov. Aggregation
COH             115859160019                Gas           Gov. Aggregation   COH             191221390010                Gas           Gov. Aggregation
COH             115862690011                Gas           Gov. Aggregation   COH             159045100014                Gas           Gov. Aggregation
COH             115863160065                Gas           Gov. Aggregation   COH             190969590015                Gas           Gov. Aggregation
COH             119984290022                Gas           Gov. Aggregation   COH             172658390018                Gas           Gov. Aggregation
COH             120153670011                Gas           Gov. Aggregation   COH             189636020021                Gas           Gov. Aggregation
COH             176384330026                Gas           Gov. Aggregation   COH             187199640012                Gas           Gov. Aggregation
COH             120385780026                Gas           Gov. Aggregation   COH             192525170011                Gas           Gov. Aggregation
COH             185183480011                Gas           Gov. Aggregation   COH             191352610016                Gas           Gov. Aggregation
COH             185295860014                Gas           Gov. Aggregation   COH             192068900017                Gas           Gov. Aggregation
COH             185810520011                Gas           Gov. Aggregation   COH             192100880021                Gas           Gov. Aggregation
COH             190092770034                Gas           Gov. Aggregation   COH             191237230010                Gas           Gov. Aggregation
COH             190638720018                Gas           Gov. Aggregation   COH             148264310028                Gas           Gov. Aggregation
COH             191237890012                Gas           Gov. Aggregation   COH             191420870017                Gas           Gov. Aggregation
COH             191275980013                Gas           Gov. Aggregation   COH             192462830016                Gas           Gov. Aggregation
COH             191462650015                Gas           Gov. Aggregation   COH             176551360034                Gas           Gov. Aggregation
COH             120447680016                Gas           Gov. Aggregation   COH             172453490020                Gas           Gov. Aggregation
COH             120448280018                Gas           Gov. Aggregation   COH             134172240408                Gas           Gov. Aggregation
COH             120458760016                Gas           Gov. Aggregation   COH             146854120029                Gas           Gov. Aggregation
COH             120459280015                Gas           Gov. Aggregation   COH             134262740028                Gas           Gov. Aggregation
COH             120459640037                Gas           Gov. Aggregation   COH             170928580035                Gas           Gov. Aggregation
COH             120460780017                Gas           Gov. Aggregation   COH             130422010025                Gas           Gov. Aggregation
COH             120457450013                Gas           Gov. Aggregation   COH             111105680011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             120457770016                Gas           Gov. Aggregation   COH             111133810014                Gas           Gov. Aggregation
COH             120458910014                Gas           Gov. Aggregation   COH             111178280012                Gas           Gov. Aggregation
COH             185025250013                Gas           Gov. Aggregation   COH             111190610016                Gas           Gov. Aggregation
COH             185795600036                Gas           Gov. Aggregation   COH             125333410036                Gas           Gov. Aggregation
COH             185805870019                Gas           Gov. Aggregation   COH             128873490015                Gas           Gov. Aggregation
COH             186044670014                Gas           Gov. Aggregation   COH             135621430020                Gas           Gov. Aggregation
COH             185541230013                Gas           Gov. Aggregation   COH             135660600013                Gas           Gov. Aggregation
COH             120442640023                Gas           Gov. Aggregation   COH             137545220051                Gas           Gov. Aggregation
COH             120445920019                Gas           Gov. Aggregation   COH             139296710108                Gas           Gov. Aggregation
COH             120446590017                Gas           Gov. Aggregation   COH             139305390043                Gas           Gov. Aggregation
COH             120458290024                Gas           Gov. Aggregation   COH             144665220049                Gas           Gov. Aggregation
COH             120459230015                Gas           Gov. Aggregation   COH             145215100037                Gas           Gov. Aggregation
COH             190776670017                Gas           Gov. Aggregation   COH             149767800019                Gas           Gov. Aggregation
COH             120459890017                Gas           Gov. Aggregation   COH             149916970035                Gas           Gov. Aggregation
COH             186428370013                Gas           Gov. Aggregation   COH             150154220017                Gas           Gov. Aggregation
COH             191631440010                Gas           Gov. Aggregation   COH             150256850055                Gas           Gov. Aggregation
COH             185674700013                Gas           Gov. Aggregation   COH             152609300013                Gas           Gov. Aggregation
COH             185874020049                Gas           Gov. Aggregation   COH             153376190039                Gas           Gov. Aggregation
COH             186234230031                Gas           Gov. Aggregation   COH             156836920107                Gas           Gov. Aggregation
COH             186864200014                Gas           Gov. Aggregation   COH             159223950036                Gas           Gov. Aggregation
COH             187349600011                Gas           Gov. Aggregation   COH             159476570031                Gas           Gov. Aggregation
COH             191654100013                Gas           Gov. Aggregation   COH             159780570063                Gas           Gov. Aggregation
COH             191684430011                Gas           Gov. Aggregation   COH             161927740016                Gas           Gov. Aggregation
COH             186014530025                Gas           Gov. Aggregation   COH             163513930057                Gas           Gov. Aggregation
COH             186462460012                Gas           Gov. Aggregation   COH             165477880018                Gas           Gov. Aggregation
COH             190708910019                Gas           Gov. Aggregation   COH             165482700023                Gas           Gov. Aggregation
COH             192074610015                Gas           Gov. Aggregation   COH             169144080124                Gas           Gov. Aggregation
COH             191951380015                Gas           Gov. Aggregation   COH             170528970013                Gas           Gov. Aggregation
COH             126983530042                Gas           Gov. Aggregation   COH             173887060048                Gas           Gov. Aggregation
COH             127071020032                Gas           Gov. Aggregation   COH             186237940018                Gas           Gov. Aggregation
COH             128729000012                Gas           Gov. Aggregation   COH             188249380028                Gas           Gov. Aggregation
COH             188740930011                Gas           Gov. Aggregation   COH             188546380037                Gas           Gov. Aggregation
COH             187731470018                Gas           Gov. Aggregation   COH             190046960022                Gas           Gov. Aggregation
COH             127333410043                Gas           Gov. Aggregation   COH             191269630028                Gas           Gov. Aggregation
COH             188862880014                Gas           Gov. Aggregation   COH             191317000027                Gas           Gov. Aggregation
COH             190897780018                Gas           Gov. Aggregation   COH             192612470013                Gas           Gov. Aggregation
COH             191382230013                Gas           Gov. Aggregation   COH             192619590014                Gas           Gov. Aggregation
COH             191550360019                Gas           Gov. Aggregation   COH             192682160011                Gas           Gov. Aggregation
COH             187896980013                Gas           Gov. Aggregation   COH             192710580012                Gas           Gov. Aggregation
COH             189075130019                Gas           Gov. Aggregation   COH             192714470017                Gas           Gov. Aggregation
COH             128975750032                Gas           Gov. Aggregation   COH             192720530011                Gas           Gov. Aggregation
COH             126720730028                Gas           Gov. Aggregation   COH             192721110017                Gas           Gov. Aggregation
COH             192220810012                Gas           Gov. Aggregation   COH             192729480014                Gas           Gov. Aggregation
COH             129757000021                Gas           Gov. Aggregation   COH             192737270039                Gas           Gov. Aggregation
COH             130316040042                Gas           Gov. Aggregation   COH             192739730010                Gas           Gov. Aggregation
COH             129769680033                Gas           Gov. Aggregation   COH             192741760019                Gas           Gov. Aggregation
COH             130034520021                Gas           Gov. Aggregation   COH             192750640015                Gas           Gov. Aggregation
COH             130059010026                Gas           Gov. Aggregation   COH             192764170015                Gas           Gov. Aggregation
COH             129561150016                Gas           Gov. Aggregation   COH             192766040018                Gas           Gov. Aggregation
COH             130576400028                Gas           Gov. Aggregation   COH             192781700017                Gas           Gov. Aggregation
COH             189093640014                Gas           Gov. Aggregation   COH             192807870016                Gas           Gov. Aggregation
COH             130484170013                Gas           Gov. Aggregation   COH             192881540019                Gas           Gov. Aggregation
COH             131262480035                Gas           Gov. Aggregation   COH             192889840010                Gas           Gov. Aggregation
COH             130555360049                Gas           Gov. Aggregation   COH             165963550016                Gas           Gov. Aggregation
COH             131141520041                Gas           Gov. Aggregation   COH             176198320023                Gas           Gov. Aggregation
COH             130616310030                Gas           Gov. Aggregation   COH             166414920010                Gas           Gov. Aggregation
COH             131493200070                Gas           Gov. Aggregation   COH             113351100037                Gas           Gov. Aggregation
COH             120534660024                Gas           Gov. Aggregation   COH             166255520012                Gas           Gov. Aggregation
COH             120531190010                Gas           Gov. Aggregation   COH             140723840049                Gas           Gov. Aggregation
COH             132165990042                Gas           Gov. Aggregation   COH             142816600040                Gas           Gov. Aggregation
COH             120542430016                Gas           Gov. Aggregation   COH             170995070022                Gas           Gov. Aggregation
COH             132120670016                Gas           Gov. Aggregation   COH             174128050010                Gas           Gov. Aggregation
COH             132549840021                Gas           Gov. Aggregation   COH             162526600149                Gas           Gov. Aggregation
COH             130215880031                Gas           Gov. Aggregation   COH             112257260017                Gas           Gov. Aggregation
COH             130385630025                Gas           Gov. Aggregation   COH             187593900011                Gas           Gov. Aggregation
COH             130601010025                Gas           Gov. Aggregation   COH             132911580018                Gas           Gov. Aggregation
COH             130634540016                Gas           Gov. Aggregation   COH             112276420059                Gas           Gov. Aggregation
COH             189418580017                Gas           Gov. Aggregation   COH             130746670030                Gas           Gov. Aggregation
COH             131758780040                Gas           Gov. Aggregation   COH             126879770034                Gas           Gov. Aggregation
COH             190042480012                Gas           Gov. Aggregation   COH             177081200024                Gas           Gov. Aggregation
COH             133121590029                Gas           Gov. Aggregation   COH             192150450017                Gas           Gov. Aggregation
COH             132643520019                Gas           Gov. Aggregation   COH             187443580016                Gas           Gov. Aggregation
COH             132748580024                Gas           Gov. Aggregation   COH             165571310017                Gas           Gov. Aggregation
COH             190034290019                Gas           Gov. Aggregation   COH             112294260019                Gas           Gov. Aggregation
COH             133465200022                Gas           Gov. Aggregation   COH             112294390012                Gas           Gov. Aggregation
COH             133968370012                Gas           Gov. Aggregation   COH             112473780029                Gas           Gov. Aggregation
COH             134765200043                Gas           Gov. Aggregation   COH             131141480013                Gas           Gov. Aggregation
COH             190055840019                Gas           Gov. Aggregation   COH             127044230026                Gas           Gov. Aggregation
COH             135124320036                Gas           Gov. Aggregation   COH             112258450042                Gas           Gov. Aggregation
COH             135412690038                Gas           Gov. Aggregation   COH             112285430012                Gas           Gov. Aggregation
COH             136212800046                Gas           Gov. Aggregation   COH             112972400039                Gas           Gov. Aggregation
COH             135108090048                Gas           Gov. Aggregation   COH             112259320029                Gas           Gov. Aggregation
COH             135204860033                Gas           Gov. Aggregation   COH             112294560016                Gas           Gov. Aggregation
COH             136130560032                Gas           Gov. Aggregation   COH             154709560042                Gas           Gov. Aggregation
COH             136654940023                Gas           Gov. Aggregation   COH             187642190016                Gas           Gov. Aggregation
COH             136836940198                Gas           Gov. Aggregation   COH             139369700016                Gas           Gov. Aggregation
COH             136985630018                Gas           Gov. Aggregation   COH             112512450024                Gas           Gov. Aggregation
COH             137366980025                Gas           Gov. Aggregation   COH             170076140034                Gas           Gov. Aggregation
COH             137625200028                Gas           Gov. Aggregation   COH             190159370018                Gas           Gov. Aggregation
COH             137636520028                Gas           Gov. Aggregation   COH             177641080013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             137856440010                Gas           Gov. Aggregation   COH             177679120015                Gas           Gov. Aggregation
COH             137392970022                Gas           Gov. Aggregation   COH             189125810019                Gas           Gov. Aggregation
COH             136117220022                Gas           Gov. Aggregation   COH             112217190016                Gas           Gov. Aggregation
COH             136465180033                Gas           Gov. Aggregation   COH             192779280011                Gas           Gov. Aggregation
COH             136640750031                Gas           Gov. Aggregation   COH             112303170026                Gas           Gov. Aggregation
COH             136914620019                Gas           Gov. Aggregation   COH             159537160037                Gas           Gov. Aggregation
COH             191536070010                Gas           Gov. Aggregation   COH             159921280019                Gas           Gov. Aggregation
COH             158174380023                Gas           Gov. Aggregation   COH             161918240029                Gas           Gov. Aggregation
COH             157816550017                Gas           Gov. Aggregation   COH             169593340011                Gas           Gov. Aggregation
COH             137308030026                Gas           Gov. Aggregation   COH             155480460020                Gas           Gov. Aggregation
COH             137374630021                Gas           Gov. Aggregation   COH             155356810029                Gas           Gov. Aggregation
COH             137582530021                Gas           Gov. Aggregation   COH             137763080022                Gas           Gov. Aggregation
COH             137708370018                Gas           Gov. Aggregation   COH             189798810014                Gas           Gov. Aggregation
COH             137768860028                Gas           Gov. Aggregation   COH             136316280019                Gas           Gov. Aggregation
COH             138025390011                Gas           Gov. Aggregation   COH             112272040020                Gas           Gov. Aggregation
COH             138025410025                Gas           Gov. Aggregation   COH             177356670014                Gas           Gov. Aggregation
COH             191395070010                Gas           Gov. Aggregation   COH             112270540118                Gas           Gov. Aggregation
COH             191510440016                Gas           Gov. Aggregation   COH             154740550020                Gas           Gov. Aggregation
COH             190401060018                Gas           Gov. Aggregation   COH             112440130024                Gas           Gov. Aggregation
COH             190578300014                Gas           Gov. Aggregation   COH             112782330055                Gas           Gov. Aggregation
COH             136091970012                Gas           Gov. Aggregation   COH             169965550018                Gas           Gov. Aggregation
COH             136527270014                Gas           Gov. Aggregation   COH             171240100014                Gas           Gov. Aggregation
COH             137299040025                Gas           Gov. Aggregation   COH             175664360027                Gas           Gov. Aggregation
COH             137327560034                Gas           Gov. Aggregation   COH             142727170022                Gas           Gov. Aggregation
COH             191329380014                Gas           Gov. Aggregation   COH             156309110015                Gas           Gov. Aggregation
COH             126724090025                Gas           Gov. Aggregation   COH             156617500010                Gas           Gov. Aggregation
COH             191710920011                Gas           Gov. Aggregation   COH             112215980014                Gas           Gov. Aggregation
COH             191977940013                Gas           Gov. Aggregation   COH             157175200038                Gas           Gov. Aggregation
COH             129453700046                Gas           Gov. Aggregation   COH             112477860024                Gas           Gov. Aggregation
COH             138338380029                Gas           Gov. Aggregation   COH             157227570012                Gas           Gov. Aggregation
COH             191676030012                Gas           Gov. Aggregation   COH             113012360022                Gas           Gov. Aggregation
COH             191690950019                Gas           Gov. Aggregation   COH             112456410031                Gas           Gov. Aggregation
COH             192069860014                Gas           Gov. Aggregation   COH             112258120014                Gas           Gov. Aggregation
COH             191538680018                Gas           Gov. Aggregation   COH             112449620032                Gas           Gov. Aggregation
COH             191603570012                Gas           Gov. Aggregation   COH             128984960048                Gas           Gov. Aggregation
COH             138632000015                Gas           Gov. Aggregation   COH             130520800067                Gas           Gov. Aggregation
COH             138813200055                Gas           Gov. Aggregation   COH             112216180029                Gas           Gov. Aggregation
COH             138420370017                Gas           Gov. Aggregation   COH             112216390025                Gas           Gov. Aggregation
COH             138347600014                Gas           Gov. Aggregation   COH             128734140012                Gas           Gov. Aggregation
COH             139642870039                Gas           Gov. Aggregation   COH             141946030028                Gas           Gov. Aggregation
COH             127623490015                Gas           Gov. Aggregation   COH             112292610019                Gas           Gov. Aggregation
COH             138898760023                Gas           Gov. Aggregation   COH             170816940027                Gas           Gov. Aggregation
COH             139182700049                Gas           Gov. Aggregation   COH             137780410017                Gas           Gov. Aggregation
COH             139826770021                Gas           Gov. Aggregation   COH             154415340023                Gas           Gov. Aggregation
COH             139867110032                Gas           Gov. Aggregation   COH             185018200018                Gas           Gov. Aggregation
COH             191845180012                Gas           Gov. Aggregation   COH             190904950015                Gas           Gov. Aggregation
COH             131566520023                Gas           Gov. Aggregation   COH             165402790014                Gas           Gov. Aggregation
COH             131592420029                Gas           Gov. Aggregation   COH             132981730019                Gas           Gov. Aggregation
COH             139870110017                Gas           Gov. Aggregation   COH             134038370101                Gas           Gov. Aggregation
COH             140008470025                Gas           Gov. Aggregation   COH             112116000019                Gas           Gov. Aggregation
COH             139079330037                Gas           Gov. Aggregation   COH             192475770012                Gas           Gov. Aggregation
COH             139621360012                Gas           Gov. Aggregation   COH             188421770011                Gas           Gov. Aggregation
COH             140225980019                Gas           Gov. Aggregation   COH             153508010053                Gas           Gov. Aggregation
COH             160567870014                Gas           Gov. Aggregation   COH             189102790012                Gas           Gov. Aggregation
COH             140294390018                Gas           Gov. Aggregation   COH             112259010051                Gas           Gov. Aggregation
COH             138752080015                Gas           Gov. Aggregation   COH             167752300013                Gas           Gov. Aggregation
COH             129125290011                Gas           Gov. Aggregation   COH             132706200030                Gas           Gov. Aggregation
COH             133017340013                Gas           Gov. Aggregation   COH             112214660013                Gas           Gov. Aggregation
COH             133714910015                Gas           Gov. Aggregation   COH             143907380025                Gas           Gov. Aggregation
COH             133720470015                Gas           Gov. Aggregation   COH             174234250013                Gas           Gov. Aggregation
COH             140502070067                Gas           Gov. Aggregation   COH             112215520010                Gas           Gov. Aggregation
COH             131894690023                Gas           Gov. Aggregation   COH             112295740016                Gas           Gov. Aggregation
COH             131921700012                Gas           Gov. Aggregation   COH             192340800010                Gas           Gov. Aggregation
COH             130340890025                Gas           Gov. Aggregation   COH             172049640016                Gas           Gov. Aggregation
COH             141659850025                Gas           Gov. Aggregation   COH             192127070016                Gas           Gov. Aggregation
COH             162389690018                Gas           Gov. Aggregation   COH             112295850013                Gas           Gov. Aggregation
COH             141971830027                Gas           Gov. Aggregation   COH             112293410028                Gas           Gov. Aggregation
COH             139820940018                Gas           Gov. Aggregation   COH             113701980021                Gas           Gov. Aggregation
COH             142510790012                Gas           Gov. Aggregation   COH             113374640045                Gas           Gov. Aggregation
COH             134456690019                Gas           Gov. Aggregation   COH             168594940014                Gas           Gov. Aggregation
COH             143088830046                Gas           Gov. Aggregation   COH             162301500039                Gas           Gov. Aggregation
COH             135266590012                Gas           Gov. Aggregation   COH             167121050022                Gas           Gov. Aggregation
COH             135298630016                Gas           Gov. Aggregation   COH             155607040019                Gas           Gov. Aggregation
COH             142888050018                Gas           Gov. Aggregation   COH             152875630011                Gas           Gov. Aggregation
COH             140423700026                Gas           Gov. Aggregation   COH             159347590138                Gas           Gov. Aggregation
COH             141064170056                Gas           Gov. Aggregation   COH             185094230012                Gas           Gov. Aggregation
COH             133295460038                Gas           Gov. Aggregation   COH             112215750012                Gas           Gov. Aggregation
COH             134368150019                Gas           Gov. Aggregation   COH             168438050011                Gas           Gov. Aggregation
COH             141751180093                Gas           Gov. Aggregation   COH             176527740017                Gas           Gov. Aggregation
COH             164008110013                Gas           Gov. Aggregation   COH             171783020020                Gas           Gov. Aggregation
COH             164344460018                Gas           Gov. Aggregation   COH             112216850019                Gas           Gov. Aggregation
COH             135944350014                Gas           Gov. Aggregation   COH             192127140011                Gas           Gov. Aggregation
COH             142855350014                Gas           Gov. Aggregation   COH             191606410019                Gas           Gov. Aggregation
COH             143298480027                Gas           Gov. Aggregation   COH             190916440017                Gas           Gov. Aggregation
COH             143538530026                Gas           Gov. Aggregation   COH             139082520030                Gas           Gov. Aggregation
COH             143563620015                Gas           Gov. Aggregation   COH             141379440025                Gas           Gov. Aggregation
COH             144056410031                Gas           Gov. Aggregation   COH             154045420012                Gas           Gov. Aggregation
COH             144226350033                Gas           Gov. Aggregation   COH             189704080015                Gas           Gov. Aggregation
COH             144528740013                Gas           Gov. Aggregation   COH             176911550012                Gas           Gov. Aggregation
COH             143518920017                Gas           Gov. Aggregation   COH             192558920014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             143700840026                Gas           Gov. Aggregation   COH             161088530038                Gas           Gov. Aggregation
COH             143878630025                Gas           Gov. Aggregation   COH             166337750010                Gas           Gov. Aggregation
COH             144056260015                Gas           Gov. Aggregation   COH             175440710018                Gas           Gov. Aggregation
COH             144295870020                Gas           Gov. Aggregation   COH             164523170019                Gas           Gov. Aggregation
COH             144307310011                Gas           Gov. Aggregation   COH             160206990022                Gas           Gov. Aggregation
COH             145095800027                Gas           Gov. Aggregation   COH             143071630016                Gas           Gov. Aggregation
COH             144813420060                Gas           Gov. Aggregation   COH             190858890017                Gas           Gov. Aggregation
COH             136193420011                Gas           Gov. Aggregation   COH             170085030029                Gas           Gov. Aggregation
COH             136304730019                Gas           Gov. Aggregation   COH             163678090010                Gas           Gov. Aggregation
COH             144853940058                Gas           Gov. Aggregation   COH             169056390019                Gas           Gov. Aggregation
COH             145030560042                Gas           Gov. Aggregation   COH             112294450019                Gas           Gov. Aggregation
COH             145449390032                Gas           Gov. Aggregation   COH             158522660016                Gas           Gov. Aggregation
COH             145455120035                Gas           Gov. Aggregation   COH             121911590028                Gas           Gov. Aggregation
COH             145634890025                Gas           Gov. Aggregation   COH             112316730021                Gas           Gov. Aggregation
COH             145662010093                Gas           Gov. Aggregation   COH             112286190020                Gas           Gov. Aggregation
COH             145747860022                Gas           Gov. Aggregation   COH             121924570025                Gas           Gov. Aggregation
COH             137813820010                Gas           Gov. Aggregation   COH             166462220016                Gas           Gov. Aggregation
COH             138671130016                Gas           Gov. Aggregation   COH             168410360032                Gas           Gov. Aggregation
COH             137202700010                Gas           Gov. Aggregation   COH             129526730036                Gas           Gov. Aggregation
COH             137530450018                Gas           Gov. Aggregation   COH             138137400011                Gas           Gov. Aggregation
COH             145074890014                Gas           Gov. Aggregation   COH             165929310036                Gas           Gov. Aggregation
COH             144186790028                Gas           Gov. Aggregation   COH             112233310025                Gas           Gov. Aggregation
COH             144487980011                Gas           Gov. Aggregation   COH             168488780013                Gas           Gov. Aggregation
COH             144493220017                Gas           Gov. Aggregation   COH             141795500011                Gas           Gov. Aggregation
COH             108991220033                Gas           Gov. Aggregation   COH             131152050047                Gas           Gov. Aggregation
COH             137514050025                Gas           Gov. Aggregation   COH             112185650018                Gas           Gov. Aggregation
COH             137980550014                Gas           Gov. Aggregation   COH             186199320010                Gas           Gov. Aggregation
COH             145640020033                Gas           Gov. Aggregation   COH             142856410073                Gas           Gov. Aggregation
COH             145997360028                Gas           Gov. Aggregation   COH             190402690014                Gas           Gov. Aggregation
COH             146192750030                Gas           Gov. Aggregation   COH             155292630041                Gas           Gov. Aggregation
COH             139030660012                Gas           Gov. Aggregation   COH             162244280038                Gas           Gov. Aggregation
COH             139769900034                Gas           Gov. Aggregation   COH             157703750014                Gas           Gov. Aggregation
COH             145247890026                Gas           Gov. Aggregation   COH             154712460019                Gas           Gov. Aggregation
COH             145258270050                Gas           Gov. Aggregation   COH             143799080010                Gas           Gov. Aggregation
COH             145546890022                Gas           Gov. Aggregation   COH             192118500014                Gas           Gov. Aggregation
COH             137936390039                Gas           Gov. Aggregation   COH             174455070031                Gas           Gov. Aggregation
COH             146162340039                Gas           Gov. Aggregation   COH             190254430013                Gas           Gov. Aggregation
COH             146178530027                Gas           Gov. Aggregation   COH             171498080041                Gas           Gov. Aggregation
COH             109870850018                Gas           Gov. Aggregation   COH             158567150019                Gas           Gov. Aggregation
COH             110488690029                Gas           Gov. Aggregation   COH             164911990014                Gas           Gov. Aggregation
COH             145930860023                Gas           Gov. Aggregation   COH             167082630015                Gas           Gov. Aggregation
COH             110576780023                Gas           Gov. Aggregation   COH             145385590027                Gas           Gov. Aggregation
COH             110594150027                Gas           Gov. Aggregation   COH             187126550014                Gas           Gov. Aggregation
COH             110645480056                Gas           Gov. Aggregation   COH             174370750029                Gas           Gov. Aggregation
COH             110645500015                Gas           Gov. Aggregation   COH             112294070019                Gas           Gov. Aggregation
COH             141170590017                Gas           Gov. Aggregation   COH             164367000016                Gas           Gov. Aggregation
COH             146408400016                Gas           Gov. Aggregation   COH             168134420017                Gas           Gov. Aggregation
COH             146433490024                Gas           Gov. Aggregation   COH             113161340030                Gas           Gov. Aggregation
COH             146458240051                Gas           Gov. Aggregation   COH             144761810032                Gas           Gov. Aggregation
COH             110561770017                Gas           Gov. Aggregation   COH             191042590018                Gas           Gov. Aggregation
COH             110568450010                Gas           Gov. Aggregation   COH             127598330031                Gas           Gov. Aggregation
COH             140129690041                Gas           Gov. Aggregation   COH             136461830016                Gas           Gov. Aggregation
COH             140318220011                Gas           Gov. Aggregation   COH             154400530024                Gas           Gov. Aggregation
COH             140870540014                Gas           Gov. Aggregation   COH             189970530017                Gas           Gov. Aggregation
COH             141224820013                Gas           Gov. Aggregation   COH             173284200019                Gas           Gov. Aggregation
COH             110646850010                Gas           Gov. Aggregation   COH             137586450011                Gas           Gov. Aggregation
COH             110691050040                Gas           Gov. Aggregation   COH             189006970018                Gas           Gov. Aggregation
COH             110745750011                Gas           Gov. Aggregation   COH             112294720012                Gas           Gov. Aggregation
COH             140870970014                Gas           Gov. Aggregation   COH             127198620029                Gas           Gov. Aggregation
COH             146609940026                Gas           Gov. Aggregation   COH             112927340037                Gas           Gov. Aggregation
COH             110610200011                Gas           Gov. Aggregation   COH             188222660016                Gas           Gov. Aggregation
COH             110620830018                Gas           Gov. Aggregation   COH             112214530038                Gas           Gov. Aggregation
COH             110646670018                Gas           Gov. Aggregation   COH             174190640015                Gas           Gov. Aggregation
COH             110673450035                Gas           Gov. Aggregation   COH             176225720011                Gas           Gov. Aggregation
COH             110684970015                Gas           Gov. Aggregation   COH             112311510027                Gas           Gov. Aggregation
COH             147034930053                Gas           Gov. Aggregation   COH             171933750019                Gas           Gov. Aggregation
COH             140114150018                Gas           Gov. Aggregation   COH             187422910010                Gas           Gov. Aggregation
COH             110555380012                Gas           Gov. Aggregation   COH             112294220026                Gas           Gov. Aggregation
COH             110620870010                Gas           Gov. Aggregation   COH             112258560012                Gas           Gov. Aggregation
COH             110620920019                Gas           Gov. Aggregation   COH             187788490015                Gas           Gov. Aggregation
COH             147475080021                Gas           Gov. Aggregation   COH             175390480023                Gas           Gov. Aggregation
COH             147503230019                Gas           Gov. Aggregation   COH             152337030035                Gas           Gov. Aggregation
COH             110691010011                Gas           Gov. Aggregation   COH             186303250012                Gas           Gov. Aggregation
COH             147179910015                Gas           Gov. Aggregation   COH             112220400014                Gas           Gov. Aggregation
COH             147247860039                Gas           Gov. Aggregation   COH             166731980016                Gas           Gov. Aggregation
COH             141739620014                Gas           Gov. Aggregation   COH             131257160015                Gas           Gov. Aggregation
COH             111235420010                Gas           Gov. Aggregation   COH             144099830015                Gas           Gov. Aggregation
COH             111292130011                Gas           Gov. Aggregation   COH             142329300082                Gas           Gov. Aggregation
COH             142304860014                Gas           Gov. Aggregation   COH             112219910010                Gas           Gov. Aggregation
COH             142553030011                Gas           Gov. Aggregation   COH             188437590016                Gas           Gov. Aggregation
COH             111227450011                Gas           Gov. Aggregation   COH             112186860021                Gas           Gov. Aggregation
COH             111232760042                Gas           Gov. Aggregation   COH             112257570049                Gas           Gov. Aggregation
COH             111236290016                Gas           Gov. Aggregation   COH             112260000014                Gas           Gov. Aggregation
COH             147888870011                Gas           Gov. Aggregation   COH             132790900036                Gas           Gov. Aggregation
COH             141237410067                Gas           Gov. Aggregation   COH             113365320041                Gas           Gov. Aggregation
COH             141782890017                Gas           Gov. Aggregation   COH             112432510021                Gas           Gov. Aggregation
COH             111274180260                Gas           Gov. Aggregation   COH             113683550030                Gas           Gov. Aggregation
COH             110655640060                Gas           Gov. Aggregation   COH             192779310014                Gas           Gov. Aggregation
COH             146740520026                Gas           Gov. Aggregation   COH             186333140012                Gas           Gov. Aggregation
COH             146797050017                Gas           Gov. Aggregation   COH             170883850034                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             147052070010                Gas           Gov. Aggregation   COH             188635840013                Gas           Gov. Aggregation
COH             111284310029                Gas           Gov. Aggregation   COH             168939720036                Gas           Gov. Aggregation
COH             148219930023                Gas           Gov. Aggregation   COH             189524120018                Gas           Gov. Aggregation
COH             148362510046                Gas           Gov. Aggregation   COH             190991290011                Gas           Gov. Aggregation
COH             143678790026                Gas           Gov. Aggregation   COH             169804570032                Gas           Gov. Aggregation
COH             142585880016                Gas           Gov. Aggregation   COH             169458880014                Gas           Gov. Aggregation
COH             148752900038                Gas           Gov. Aggregation   COH             186995390018                Gas           Gov. Aggregation
COH             165986330014                Gas           Gov. Aggregation   COH             190363060010                Gas           Gov. Aggregation
COH             147408030031                Gas           Gov. Aggregation   COH             172078100018                Gas           Gov. Aggregation
COH             110883650010                Gas           Gov. Aggregation   COH             177651620027                Gas           Gov. Aggregation
COH             111215380020                Gas           Gov. Aggregation   COH             189781780016                Gas           Gov. Aggregation
COH             142990720029                Gas           Gov. Aggregation   COH             174736320014                Gas           Gov. Aggregation
COH             148569160024                Gas           Gov. Aggregation   COH             177564420015                Gas           Gov. Aggregation
COH             148592530027                Gas           Gov. Aggregation   COH             141785110014                Gas           Gov. Aggregation
COH             148961180028                Gas           Gov. Aggregation   COH             139251170035                Gas           Gov. Aggregation
COH             144913620020                Gas           Gov. Aggregation   COH             188464360017                Gas           Gov. Aggregation
COH             145391950028                Gas           Gov. Aggregation   COH             112230300041                Gas           Gov. Aggregation
COH             166282610016                Gas           Gov. Aggregation   COH             185409170016                Gas           Gov. Aggregation
COH             166322920015                Gas           Gov. Aggregation   COH             113270170035                Gas           Gov. Aggregation
COH             143708200024                Gas           Gov. Aggregation   COH             112778570063                Gas           Gov. Aggregation
COH             166129300015                Gas           Gov. Aggregation   COH             153259760019                Gas           Gov. Aggregation
COH             166473790032                Gas           Gov. Aggregation   COH             190346460012                Gas           Gov. Aggregation
COH             166341230029                Gas           Gov. Aggregation   COH             112222480023                Gas           Gov. Aggregation
COH             145866540018                Gas           Gov. Aggregation   COH             177602550016                Gas           Gov. Aggregation
COH             146179500030                Gas           Gov. Aggregation   COH             189773710017                Gas           Gov. Aggregation
COH             146185790019                Gas           Gov. Aggregation   COH             112191120034                Gas           Gov. Aggregation
COH             146187180013                Gas           Gov. Aggregation   COH             149118360044                Gas           Gov. Aggregation
COH             167003530049                Gas           Gov. Aggregation   COH             186228410036                Gas           Gov. Aggregation
COH             167038000010                Gas           Gov. Aggregation   COH             113151210029                Gas           Gov. Aggregation
COH             166669940017                Gas           Gov. Aggregation   COH             172902670029                Gas           Gov. Aggregation
COH             167060640019                Gas           Gov. Aggregation   COH             173897330013                Gas           Gov. Aggregation
COH             167281460019                Gas           Gov. Aggregation   COH             192921040018                Gas           Gov. Aggregation
COH             167369080013                Gas           Gov. Aggregation   COH             138501530011                Gas           Gov. Aggregation
COH             167213910017                Gas           Gov. Aggregation   COH             188621830014                Gas           Gov. Aggregation
COH             167442300010                Gas           Gov. Aggregation   COH             170115790016                Gas           Gov. Aggregation
COH             167448390010                Gas           Gov. Aggregation   COH             176116490011                Gas           Gov. Aggregation
COH             167596180011                Gas           Gov. Aggregation   COH             140802210016                Gas           Gov. Aggregation
COH             167596810045                Gas           Gov. Aggregation   COH             113525040022                Gas           Gov. Aggregation
COH             167812650012                Gas           Gov. Aggregation   COH             150071860019                Gas           Gov. Aggregation
COH             167963510012                Gas           Gov. Aggregation   COH             173041710025                Gas           Gov. Aggregation
COH             166025100017                Gas           Gov. Aggregation   COH             191422340014                Gas           Gov. Aggregation
COH             148424760015                Gas           Gov. Aggregation   COH             112292510010                Gas           Gov. Aggregation
COH             148433820022                Gas           Gov. Aggregation   COH             112292500012                Gas           Gov. Aggregation
COH             167733120011                Gas           Gov. Aggregation   COH             147674990037                Gas           Gov. Aggregation
COH             167741660011                Gas           Gov. Aggregation   COH             110987760017                Gas           Gov. Aggregation
COH             167324870011                Gas           Gov. Aggregation   COH             117365090028                Gas           Gov. Aggregation
COH             166305880010                Gas           Gov. Aggregation   COH             127355990037                Gas           Gov. Aggregation
COH             166908380026                Gas           Gov. Aggregation   COH             133448840024                Gas           Gov. Aggregation
COH             167224690011                Gas           Gov. Aggregation   COH             133653460029                Gas           Gov. Aggregation
COH             168249690045                Gas           Gov. Aggregation   COH             133672620043                Gas           Gov. Aggregation
COH             167694240010                Gas           Gov. Aggregation   COH             138963370044                Gas           Gov. Aggregation
COH             168437460017                Gas           Gov. Aggregation   COH             139593180039                Gas           Gov. Aggregation
COH             167622060019                Gas           Gov. Aggregation   COH             143373860063                Gas           Gov. Aggregation
COH             168624580015                Gas           Gov. Aggregation   COH             147194790028                Gas           Gov. Aggregation
COH             168649760015                Gas           Gov. Aggregation   COH             149634460021                Gas           Gov. Aggregation
COH             148797820013                Gas           Gov. Aggregation   COH             150919940023                Gas           Gov. Aggregation
COH             148871660028                Gas           Gov. Aggregation   COH             151350800036                Gas           Gov. Aggregation
COH             148918740021                Gas           Gov. Aggregation   COH             158397940103                Gas           Gov. Aggregation
COH             114405480014                Gas           Gov. Aggregation   COH             160703620016                Gas           Gov. Aggregation
COH             167239220018                Gas           Gov. Aggregation   COH             164841450016                Gas           Gov. Aggregation
COH             167990990024                Gas           Gov. Aggregation   COH             165157340037                Gas           Gov. Aggregation
COH             168351140016                Gas           Gov. Aggregation   COH             166085670012                Gas           Gov. Aggregation
COH             169261170010                Gas           Gov. Aggregation   COH             168550920010                Gas           Gov. Aggregation
COH             169296810021                Gas           Gov. Aggregation   COH             168626570059                Gas           Gov. Aggregation
COH             168817290035                Gas           Gov. Aggregation   COH             169180730032                Gas           Gov. Aggregation
COH             169611350019                Gas           Gov. Aggregation   COH             170048070047                Gas           Gov. Aggregation
COH             168409410016                Gas           Gov. Aggregation   COH             172366800038                Gas           Gov. Aggregation
COH             168772240040                Gas           Gov. Aggregation   COH             177072690021                Gas           Gov. Aggregation
COH             168999200020                Gas           Gov. Aggregation   COH             177736830023                Gas           Gov. Aggregation
COH             168478440015                Gas           Gov. Aggregation   COH             185791000030                Gas           Gov. Aggregation
COH             168557230011                Gas           Gov. Aggregation   COH             186582760024                Gas           Gov. Aggregation
COH             168673850024                Gas           Gov. Aggregation   COH             186869230027                Gas           Gov. Aggregation
COH             168723410010                Gas           Gov. Aggregation   COH             189903960027                Gas           Gov. Aggregation
COH             169221320012                Gas           Gov. Aggregation   COH             191671850029                Gas           Gov. Aggregation
COH             169467730034                Gas           Gov. Aggregation   COH             192085510031                Gas           Gov. Aggregation
COH             169108750076                Gas           Gov. Aggregation   COH             192754220015                Gas           Gov. Aggregation
COH             169562370010                Gas           Gov. Aggregation   COH             192823470016                Gas           Gov. Aggregation
COH             169548190018                Gas           Gov. Aggregation   COH             192849110017                Gas           Gov. Aggregation
COH             169817690012                Gas           Gov. Aggregation   COH             192849140011                Gas           Gov. Aggregation
COH             170172110018                Gas           Gov. Aggregation   COH             192868200018                Gas           Gov. Aggregation
COH             169632040010                Gas           Gov. Aggregation   COH             192881570013                Gas           Gov. Aggregation
COH             170235080011                Gas           Gov. Aggregation   COH             192929440018                Gas           Gov. Aggregation
COH             169803500092                Gas           Gov. Aggregation   COH             192929520011                Gas           Gov. Aggregation
COH             169943930032                Gas           Gov. Aggregation   COH             192943820018                Gas           Gov. Aggregation
COH             170235380018                Gas           Gov. Aggregation   COH             192947570013                Gas           Gov. Aggregation
COH             170305070014                Gas           Gov. Aggregation   COH             192967840014                Gas           Gov. Aggregation
COH             170649520011                Gas           Gov. Aggregation   COH             192970470015                Gas           Gov. Aggregation
COH             171018250014                Gas           Gov. Aggregation   COH             192979230017                Gas           Gov. Aggregation
COH             170447760028                Gas           Gov. Aggregation   COH             192980120017                Gas           Gov. Aggregation
COH             169982950027                Gas           Gov. Aggregation   COH             192988210012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             170663030014                Gas           Gov. Aggregation   COH             192990200019                Gas           Gov. Aggregation
COH             170867190037                Gas           Gov. Aggregation   COH             192997680015                Gas           Gov. Aggregation
COH             170712070020                Gas           Gov. Aggregation   COH             193061920016                Gas           Gov. Aggregation
COH             171759850018                Gas           Gov. Aggregation   COH             165468290011                Gas           Gov. Aggregation
COH             172200370020                Gas           Gov. Aggregation   COH             168373790032                Gas           Gov. Aggregation
COH             170740170020                Gas           Gov. Aggregation   COH             189807350010                Gas           Gov. Aggregation
COH             171231750035                Gas           Gov. Aggregation   COH             189814760028                Gas           Gov. Aggregation
COH             171345470015                Gas           Gov. Aggregation   COH             191740270015                Gas           Gov. Aggregation
COH             173858260010                Gas           Gov. Aggregation   COH             124388980015                Gas           Gov. Aggregation
COH             171500190023                Gas           Gov. Aggregation   COH             188660400030                Gas           Gov. Aggregation
COH             171571180017                Gas           Gov. Aggregation   COH             135232790057                Gas           Gov. Aggregation
COH             171205630017                Gas           Gov. Aggregation   COH             111266190032                Gas           Gov. Aggregation
COH             173250150011                Gas           Gov. Aggregation   COH             111276990015                Gas           Gov. Aggregation
COH             171673270012                Gas           Gov. Aggregation   COH             145108960043                Gas           Gov. Aggregation
COH             173831580019                Gas           Gov. Aggregation   COH             145838000029                Gas           Gov. Aggregation
COH             174344850032                Gas           Gov. Aggregation   COH             165159780022                Gas           Gov. Aggregation
COH             171769010013                Gas           Gov. Aggregation   COH             165183550010                Gas           Gov. Aggregation
COH             172040350015                Gas           Gov. Aggregation   COH             168130910012                Gas           Gov. Aggregation
COH             172183430016                Gas           Gov. Aggregation   COH             169014890012                Gas           Gov. Aggregation
COH             172250120018                Gas           Gov. Aggregation   COH             188798540030                Gas           Gov. Aggregation
COH             174340800012                Gas           Gov. Aggregation   COH             191751110015                Gas           Gov. Aggregation
COH             172513600037                Gas           Gov. Aggregation   COH             192355050017                Gas           Gov. Aggregation
COH             172366310013                Gas           Gov. Aggregation   COH             192574860013                Gas           Gov. Aggregation
COH             175182980010                Gas           Gov. Aggregation   COH             192642160015                Gas           Gov. Aggregation
COH             172213760012                Gas           Gov. Aggregation   COH             193213520017                Gas           Gov. Aggregation
COH             172450450015                Gas           Gov. Aggregation   VEDO            4018491212419477            Gas           Gov. Aggregation
COH             172668270012                Gas           Gov. Aggregation   VEDO            4005114502638714            Gas           Gov. Aggregation
COH             175556400018                Gas           Gov. Aggregation   VEDO            4018493352636754            Gas           Gov. Aggregation
COH             175018420023                Gas           Gov. Aggregation   VEDO            4018420962462639            Gas           Gov. Aggregation
COH             172682730015                Gas           Gov. Aggregation   VEDO            4018504622385903            Gas           Gov. Aggregation
COH             172849760015                Gas           Gov. Aggregation   VEDO            4002819892224651            Gas           Gov. Aggregation
COH             172872340014                Gas           Gov. Aggregation   VEDO            4001419242529321            Gas           Gov. Aggregation
COH             173040760036                Gas           Gov. Aggregation   VEDO            4002108602273153            Gas           Gov. Aggregation
COH             176344930015                Gas           Gov. Aggregation   VEDO            4001025452285695            Gas           Gov. Aggregation
COH             173068350016                Gas           Gov. Aggregation   VEDO            4016232182131013            Gas           Gov. Aggregation
COH             172752290019                Gas           Gov. Aggregation   VEDO            4016845352205132            Gas           Gov. Aggregation
COH             175847520016                Gas           Gov. Aggregation   VEDO            4004041852322386            Gas           Gov. Aggregation
COH             176045280016                Gas           Gov. Aggregation   VEDO            4018486502304435            Gas           Gov. Aggregation
COH             173053710011                Gas           Gov. Aggregation   VEDO            4018131462327625            Gas           Gov. Aggregation
COH             173237270014                Gas           Gov. Aggregation   VEDO            4018416482490538            Gas           Gov. Aggregation
COH             173193330033                Gas           Gov. Aggregation   VEDO            4017754252295157            Gas           Gov. Aggregation
COH             173316440010                Gas           Gov. Aggregation   VEDO            4018476122161985            Gas           Gov. Aggregation
COH             176315610013                Gas           Gov. Aggregation   VEDO            4018666372421839            Gas           Gov. Aggregation
COH             176509250018                Gas           Gov. Aggregation   VEDO            4018656252316859            Gas           Gov. Aggregation
COH             177010450012                Gas           Gov. Aggregation   VEDO            4018821632402631            Gas           Gov. Aggregation
COH             177373160015                Gas           Gov. Aggregation   VEDO            4001387292136322            Gas           Gov. Aggregation
COH             173053750013                Gas           Gov. Aggregation   VEDO            4015703372517743            Gas           Gov. Aggregation
COH             173068210015                Gas           Gov. Aggregation   VEDO            4018643582191629            Gas           Gov. Aggregation
COH             173304620026                Gas           Gov. Aggregation   VEDO            4018365522137636            Gas           Gov. Aggregation
COH             176748440012                Gas           Gov. Aggregation   VEDO            4018697632361890            Gas           Gov. Aggregation
COH             173759250012                Gas           Gov. Aggregation   VEDO            4004174492419727            Gas           Gov. Aggregation
COH             176852370016                Gas           Gov. Aggregation   VEDO            4015364962224217            Gas           Gov. Aggregation
COH             173866420019                Gas           Gov. Aggregation   VEDO            4016214852119942            Gas           Gov. Aggregation
COH             174224780013                Gas           Gov. Aggregation   VEDO            4017249382459224            Gas           Gov. Aggregation
COH             174551810013                Gas           Gov. Aggregation   VEDO            4018706472145071            Gas           Gov. Aggregation
COH             174190270013                Gas           Gov. Aggregation   VEDO            4016739522445944            Gas           Gov. Aggregation
COH             174646590019                Gas           Gov. Aggregation   VEDO            4018533582255530            Gas           Gov. Aggregation
COH             174825950031                Gas           Gov. Aggregation   VEDO            4015656512463351            Gas           Gov. Aggregation
COH             174484740011                Gas           Gov. Aggregation   VEDO            4018656212532929            Gas           Gov. Aggregation
COH             177720090013                Gas           Gov. Aggregation   VEDO            4018225602542649            Gas           Gov. Aggregation
COH             174443610014                Gas           Gov. Aggregation   VEDO            4018270942634382            Gas           Gov. Aggregation
COH             174603430012                Gas           Gov. Aggregation   VEDO            4004869172496097            Gas           Gov. Aggregation
COH             174633910027                Gas           Gov. Aggregation   VEDO            4018701052253441            Gas           Gov. Aggregation
COH             186138310010                Gas           Gov. Aggregation   VEDO            4004171892574140            Gas           Gov. Aggregation
COH             175140200020                Gas           Gov. Aggregation   VEDO            4004363852564246            Gas           Gov. Aggregation
COH             175224620024                Gas           Gov. Aggregation   VEDO            4018389822624354            Gas           Gov. Aggregation
COH             175028320014                Gas           Gov. Aggregation   VEDO            4001162492623193            Gas           Gov. Aggregation
COH             175050300039                Gas           Gov. Aggregation   VEDO            4005136872379931            Gas           Gov. Aggregation
COH             175050350011                Gas           Gov. Aggregation   VEDO            4004972612507602            Gas           Gov. Aggregation
COH             175114030012                Gas           Gov. Aggregation   VEDO            4010104422545637            Gas           Gov. Aggregation
COH             175256720017                Gas           Gov. Aggregation   VEDO            4018471302151317            Gas           Gov. Aggregation
COH             174854500016                Gas           Gov. Aggregation   VEDO            4010048292268520            Gas           Gov. Aggregation
COH             192103520011                Gas           Gov. Aggregation   VEDO            4001251912123706            Gas           Gov. Aggregation
COH             175410900011                Gas           Gov. Aggregation   VEDO            4018130752266970            Gas           Gov. Aggregation
COH             186905970015                Gas           Gov. Aggregation   VEDO            4003656012324461            Gas           Gov. Aggregation
COH             175728290017                Gas           Gov. Aggregation   VEDO            4004390652146921            Gas           Gov. Aggregation
COH             187402330014                Gas           Gov. Aggregation   VEDO            4005007852511552            Gas           Gov. Aggregation
COH             187412950031                Gas           Gov. Aggregation   VEDO            4001836522179208            Gas           Gov. Aggregation
COH             187429110014                Gas           Gov. Aggregation   VEDO            4002207372258680            Gas           Gov. Aggregation
COH             175826750021                Gas           Gov. Aggregation   VEDO            4015423322271890            Gas           Gov. Aggregation
COH             187514380017                Gas           Gov. Aggregation   VEDO            4018442812232992            Gas           Gov. Aggregation
COH             176143060014                Gas           Gov. Aggregation   VEDO            4003947912395071            Gas           Gov. Aggregation
COH             186744990013                Gas           Gov. Aggregation   VEDO            4015056202236519            Gas           Gov. Aggregation
COH             187711280010                Gas           Gov. Aggregation   VEDO            4004498882324314            Gas           Gov. Aggregation
COH             187464750016                Gas           Gov. Aggregation   VEDO            4003638792588649            Gas           Gov. Aggregation
COH             175780780014                Gas           Gov. Aggregation   VEDO            4016810632605706            Gas           Gov. Aggregation
DUKE            9630038529                  Gas           Gov. Aggregation   VEDO            4018773142623464            Gas           Gov. Aggregation
DUKE            9180020225                  Gas           Gov. Aggregation   VEDO            4001296592634713            Gas           Gov. Aggregation
DUKE            5310085626                  Gas           Gov. Aggregation   VEDO            4018464732165169            Gas           Gov. Aggregation
DUKE            2730038523                  Gas           Gov. Aggregation   VEDO            4003635892361599            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DUKE            4430038620                  Gas           Gov. Aggregation   VEDO            4018554812234355            Gas           Gov. Aggregation
DUKE            3790038520                  Gas           Gov. Aggregation   VEDO            4001318942204284            Gas           Gov. Aggregation
DUKE            1480015232                  Gas           Gov. Aggregation   VEDO            4018588112104467            Gas           Gov. Aggregation
DUKE            1590036024                  Gas           Gov. Aggregation   VEDO            4018474332624886            Gas           Gov. Aggregation
DUKE            1380038526                  Gas           Gov. Aggregation   VEDO            4018549792291929            Gas           Gov. Aggregation
DUKE            2950036421                  Gas           Gov. Aggregation   VEDO            4018096842481547            Gas           Gov. Aggregation
DUKE            6260020221                  Gas           Gov. Aggregation   VEDO            4018761392340082            Gas           Gov. Aggregation
DUKE            9930058321                  Gas           Gov. Aggregation   VEDO            4018512492371131            Gas           Gov. Aggregation
DUKE            1430020233                  Gas           Gov. Aggregation   VEDO            4002937532413864            Gas           Gov. Aggregation
DUKE            4830210901                  Gas           Gov. Aggregation   VEDO            4017425992456676            Gas           Gov. Aggregation
DUKE            0430038520                  Gas           Gov. Aggregation   VEDO            4017328512216553            Gas           Gov. Aggregation
DUKE            9080052124                  Gas           Gov. Aggregation   VEDO            4015737942181583            Gas           Gov. Aggregation
DUKE            1080082425                  Gas           Gov. Aggregation   VEDO            4018163812286500            Gas           Gov. Aggregation
DUKE            3620058328                  Gas           Gov. Aggregation   VEDO            4017656712132508            Gas           Gov. Aggregation
DUKE            0510077020                  Gas           Gov. Aggregation   VEDO            4001129572131894            Gas           Gov. Aggregation
DUKE            2640038523                  Gas           Gov. Aggregation   VEDO            4018581442453050            Gas           Gov. Aggregation
DEO             7500052950050               Gas           Gov. Aggregation   VEDO            4018446552498306            Gas           Gov. Aggregation
DEO             1442007341143               Gas           Gov. Aggregation   VEDO            4002568332251837            Gas           Gov. Aggregation
DEO             3442007258119               Gas           Gov. Aggregation   VEDO            4018539582178502            Gas           Gov. Aggregation
DEO             4500052447462               Gas           Gov. Aggregation   VEDO            4018602222371829            Gas           Gov. Aggregation
DEO             4500048196484               Gas           Gov. Aggregation   VEDO            4004587242638176            Gas           Gov. Aggregation
DEO             6442008214398               Gas           Gov. Aggregation   VEDO            4018580462342918            Gas           Gov. Aggregation
DEO             1500051850990               Gas           Gov. Aggregation   VEDO            4018365702393314            Gas           Gov. Aggregation
DEO             1440208182598               Gas           Gov. Aggregation   VEDO            4002596582386834            Gas           Gov. Aggregation
DEO             2500047154505               Gas           Gov. Aggregation   VEDO            4001635462159915            Gas           Gov. Aggregation
DEO             0500046252411               Gas           Gov. Aggregation   VEDO            4002833162202607            Gas           Gov. Aggregation
DEO             6500052085388               Gas           Gov. Aggregation   VEDO            4018642842637438            Gas           Gov. Aggregation
DEO             5500022917462               Gas           Gov. Aggregation   VEDO            4002962052291441            Gas           Gov. Aggregation
DEO             7421004507919               Gas           Gov. Aggregation   VEDO            4002451832240054            Gas           Gov. Aggregation
DEO             0500053219715               Gas           Gov. Aggregation   VEDO            4018609012417559            Gas           Gov. Aggregation
DEO             6500042617273               Gas           Gov. Aggregation   VEDO            4003135562309260            Gas           Gov. Aggregation
DEO             2500012697484               Gas           Gov. Aggregation   VEDO            4002737012235870            Gas           Gov. Aggregation
DEO             6500053252423               Gas           Gov. Aggregation   VEDO            4001169512116000            Gas           Gov. Aggregation
DEO             0500052684218               Gas           Gov. Aggregation   VEDO            4004242542427110            Gas           Gov. Aggregation
DEO             8500031041953               Gas           Gov. Aggregation   VEDO            4017455812352740            Gas           Gov. Aggregation
DEO             2500047741843               Gas           Gov. Aggregation   VEDO            4015470152397690            Gas           Gov. Aggregation
DEO             8500050510899               Gas           Gov. Aggregation   VEDO            4015737942165080            Gas           Gov. Aggregation
DEO             9421605281676               Gas           Gov. Aggregation   VEDO            4016765122269550            Gas           Gov. Aggregation
DEO             3421706470966               Gas           Gov. Aggregation   VEDO            4001834352276580            Gas           Gov. Aggregation
DEO             7500032199927               Gas           Gov. Aggregation   VEDO            4004907232500300            Gas           Gov. Aggregation
COH             130347250025                Gas           Gov. Aggregation   VEDO            4015624952153250            Gas           Gov. Aggregation
COH             124361330026                Gas           Gov. Aggregation   VEDO            4001429712445390            Gas           Gov. Aggregation
VEDO            4001863142397689            Gas           Gov. Aggregation   VEDO            4004781892352960            Gas           Gov. Aggregation
COH             187497440012                Gas           Gov. Aggregation   VEDO            4015804992407900            Gas           Gov. Aggregation
COH             187422930016                Gas           Gov. Aggregation   VEDO            4001128182430130            Gas           Gov. Aggregation
COH             122356760029                Gas           Gov. Aggregation   VEDO            4004371422441260            Gas           Gov. Aggregation
COH             129853650192                Gas           Gov. Aggregation   VEDO            4002033742602910            Gas           Gov. Aggregation
COH             188265590011                Gas           Gov. Aggregation   VEDO            4001012232101260            Gas           Gov. Aggregation
COH             115855640016                Gas           Gov. Aggregation   VEDO            4004962532506500            Gas           Gov. Aggregation
COH             155012190019                Gas           Gov. Aggregation   VEDO            4003277392323870            Gas           Gov. Aggregation
COH             188780650025                Gas           Gov. Aggregation   VEDO            4003369802333600            Gas           Gov. Aggregation
COH             162169750048                Gas           Gov. Aggregation   VEDO            4015405562538630            Gas           Gov. Aggregation
COH             160424770026                Gas           Gov. Aggregation   VEDO            4002609262428680            Gas           Gov. Aggregation
COH             171689590021                Gas           Gov. Aggregation   VEDO            4002873492282350            Gas           Gov. Aggregation
COH             186407840018                Gas           Gov. Aggregation   VEDO            4004812852489840            Gas           Gov. Aggregation
COH             130069910035                Gas           Gov. Aggregation   VEDO            4015391762219420            Gas           Gov. Aggregation
COH             192267940017                Gas           Gov. Aggregation   VEDO            4015970082128660            Gas           Gov. Aggregation
COH             192369240018                Gas           Gov. Aggregation   VEDO            4001333542131330            Gas           Gov. Aggregation
COH             114913780041                Gas           Gov. Aggregation   VEDO            4002902952285270            Gas           Gov. Aggregation
COH             192189070016                Gas           Gov. Aggregation   VEDO            4015054942377860            Gas           Gov. Aggregation
COH             171989360014                Gas           Gov. Aggregation   VEDO            4004545842460430            Gas           Gov. Aggregation
COH             143730070052                Gas           Gov. Aggregation   VEDO            4016959612135330            Gas           Gov. Aggregation
COH             126735020026                Gas           Gov. Aggregation   VEDO            4004147752416740            Gas           Gov. Aggregation
COH             174541820030                Gas           Gov. Aggregation   VEDO            4017185762625330            Gas           Gov. Aggregation
COH             151401890011                Gas           Gov. Aggregation   VEDO            4002384002233290            Gas           Gov. Aggregation
COH             123699820029                Gas           Gov. Aggregation   COH             122389620047                Gas           Gov. Aggregation
COH             143600390023                Gas           Gov. Aggregation   COH             130270580047                Gas           Gov. Aggregation
COH             173524220015                Gas           Gov. Aggregation   COH             136388970022                Gas           Gov. Aggregation
COH             172772260031                Gas           Gov. Aggregation   COH             148409870032                Gas           Gov. Aggregation
COH             145064580010                Gas           Gov. Aggregation   COH             148745010021                Gas           Gov. Aggregation
COH             131564920014                Gas           Gov. Aggregation   COH             154393550027                Gas           Gov. Aggregation
COH             111162910012                Gas           Gov. Aggregation   COH             158195260079                Gas           Gov. Aggregation
COH             153952510486                Gas           Gov. Aggregation   COH             162062410027                Gas           Gov. Aggregation
COH             160263230021                Gas           Gov. Aggregation   COH             162114400037                Gas           Gov. Aggregation
COH             112129400027                Gas           Gov. Aggregation   COH             164800510037                Gas           Gov. Aggregation
COH             185765850019                Gas           Gov. Aggregation   COH             166430380038                Gas           Gov. Aggregation
COH             191046170018                Gas           Gov. Aggregation   COH             169962370021                Gas           Gov. Aggregation
COH             185765780032                Gas           Gov. Aggregation   COH             171528170029                Gas           Gov. Aggregation
COH             134207050029                Gas           Gov. Aggregation   COH             177783480019                Gas           Gov. Aggregation
COH             112259540014                Gas           Gov. Aggregation   COH             185741900027                Gas           Gov. Aggregation
COH             111138230016                Gas           Gov. Aggregation   COH             186623150024                Gas           Gov. Aggregation
COH             187075620018                Gas           Gov. Aggregation   COH             187929480017                Gas           Gov. Aggregation
COH             185269000019                Gas           Gov. Aggregation   COH             192005550022                Gas           Gov. Aggregation
COH             123663510010                Gas           Gov. Aggregation   COH             192947520013                Gas           Gov. Aggregation
COH             188434750018                Gas           Gov. Aggregation   COH             192950180018                Gas           Gov. Aggregation
COH             110599330038                Gas           Gov. Aggregation   COH             193024560010                Gas           Gov. Aggregation
COH             171359050014                Gas           Gov. Aggregation   COH             193046020017                Gas           Gov. Aggregation
COH             142728660054                Gas           Gov. Aggregation   COH             193059290014                Gas           Gov. Aggregation
COH             170890120041                Gas           Gov. Aggregation   COH             193059760015                Gas           Gov. Aggregation
COH             139995060023                Gas           Gov. Aggregation   COH             193084190012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             156132710023                Gas           Gov. Aggregation   COH             193092940017                Gas           Gov. Aggregation
COH             145440620013                Gas           Gov. Aggregation   COH             193102500016                Gas           Gov. Aggregation
COH             157614000010                Gas           Gov. Aggregation   COH             193114300013                Gas           Gov. Aggregation
COH             177046080015                Gas           Gov. Aggregation   COH             193128030011                Gas           Gov. Aggregation
COH             140267110013                Gas           Gov. Aggregation   COH             193150410014                Gas           Gov. Aggregation
COH             176387320040                Gas           Gov. Aggregation   COH             193151540015                Gas           Gov. Aggregation
COH             128864850054                Gas           Gov. Aggregation   COH             193187150012                Gas           Gov. Aggregation
COH             132002560037                Gas           Gov. Aggregation   COH             193195800018                Gas           Gov. Aggregation
COH             132657530018                Gas           Gov. Aggregation   COH             193335380019                Gas           Gov. Aggregation
COH             192237670017                Gas           Gov. Aggregation   COH             111254420038                Gas           Gov. Aggregation
COH             147268950036                Gas           Gov. Aggregation   COH             111255270074                Gas           Gov. Aggregation
COH             188118730021                Gas           Gov. Aggregation   COH             111279500020                Gas           Gov. Aggregation
COH             155090860023                Gas           Gov. Aggregation   COH             138753040011                Gas           Gov. Aggregation
COH             162836520014                Gas           Gov. Aggregation   COH             139343440051                Gas           Gov. Aggregation
COH             131857580033                Gas           Gov. Aggregation   COH             191881480013                Gas           Gov. Aggregation
COH             187875720011                Gas           Gov. Aggregation   COH             192541490010                Gas           Gov. Aggregation
COH             187984080015                Gas           Gov. Aggregation   COH             192556980016                Gas           Gov. Aggregation
COH             190688350011                Gas           Gov. Aggregation   COH             192612230013                Gas           Gov. Aggregation
COH             192281630012                Gas           Gov. Aggregation   COH             193092800016                Gas           Gov. Aggregation
COH             113474520020                Gas           Gov. Aggregation   COH             193114060014                Gas           Gov. Aggregation
COH             192250470011                Gas           Gov. Aggregation   VEDO            4016186062132793            Gas           Gov. Aggregation
COH             151598610014                Gas           Gov. Aggregation   VEDO            4001832812178865            Gas           Gov. Aggregation
COH             192197330014                Gas           Gov. Aggregation   VEDO            4005036172514762            Gas           Gov. Aggregation
COH             157401110027                Gas           Gov. Aggregation   VEDO            4003359502332496            Gas           Gov. Aggregation
COH             145642020066                Gas           Gov. Aggregation   VEDO            4004814652490021            Gas           Gov. Aggregation
COH             149880710018                Gas           Gov. Aggregation   VEDO            4002355052230468            Gas           Gov. Aggregation
COH             133934680036                Gas           Gov. Aggregation   VEDO            4010037062225096            Gas           Gov. Aggregation
COH             168429080014                Gas           Gov. Aggregation   VEDO            4002978502478034            Gas           Gov. Aggregation
COH             134616360036                Gas           Gov. Aggregation   VEDO            4010037062109839            Gas           Gov. Aggregation
COH             165342400013                Gas           Gov. Aggregation   VEDO            4010037062399864            Gas           Gov. Aggregation
COH             115825690019                Gas           Gov. Aggregation   VEDO            4001391992521071            Gas           Gov. Aggregation
COH             155944390085                Gas           Gov. Aggregation   VEDO            4015669132233504            Gas           Gov. Aggregation
COH             165838960024                Gas           Gov. Aggregation   VEDO            4004613772467994            Gas           Gov. Aggregation
COH             144117450033                Gas           Gov. Aggregation   VEDO            4001150442316748            Gas           Gov. Aggregation
COH             167548980032                Gas           Gov. Aggregation   VEDO            4001293132583708            Gas           Gov. Aggregation
COH             192299980012                Gas           Gov. Aggregation   VEDO            4002204372215565            Gas           Gov. Aggregation
COH             192223140017                Gas           Gov. Aggregation   VEDO            4003658452600139            Gas           Gov. Aggregation
COH             113415770031                Gas           Gov. Aggregation   VEDO            4005077742519481            Gas           Gov. Aggregation
COH             177430860016                Gas           Gov. Aggregation   VEDO            4004255992428575            Gas           Gov. Aggregation
COH             191454210014                Gas           Gov. Aggregation   VEDO            4016851662249899            Gas           Gov. Aggregation
COH             146155520018                Gas           Gov. Aggregation   VEDO            4016606672107948            Gas           Gov. Aggregation
COH             192371720012                Gas           Gov. Aggregation   VEDO            4004842292493112            Gas           Gov. Aggregation
COH             177166480026                Gas           Gov. Aggregation   VEDO            4001049592104715            Gas           Gov. Aggregation
COH             192149990017                Gas           Gov. Aggregation   VEDO            4018097232244346            Gas           Gov. Aggregation
COH             152096850017                Gas           Gov. Aggregation   VEDO            4001558552152509            Gas           Gov. Aggregation
COH             147673500022                Gas           Gov. Aggregation   VEDO            4004949572504999            Gas           Gov. Aggregation
COH             192238480015                Gas           Gov. Aggregation   VEDO            4002561412251152            Gas           Gov. Aggregation
COH             129853650218                Gas           Gov. Aggregation   VEDO            4015286252456589            Gas           Gov. Aggregation
COH             112285860012                Gas           Gov. Aggregation   VEDO            4001691522165083            Gas           Gov. Aggregation
COH             172570950016                Gas           Gov. Aggregation   VEDO            4004216922424338            Gas           Gov. Aggregation
COH             154974500043                Gas           Gov. Aggregation   VEDO            4002691232263991            Gas           Gov. Aggregation
COH             112267170024                Gas           Gov. Aggregation   VEDO            4016917432270977            Gas           Gov. Aggregation
COH             162407360017                Gas           Gov. Aggregation   VEDO            4003091702304685            Gas           Gov. Aggregation
COH             169250970015                Gas           Gov. Aggregation   VEDO            4002659392260825            Gas           Gov. Aggregation
COH             112193200015                Gas           Gov. Aggregation   VEDO            4016361782586434            Gas           Gov. Aggregation
COH             112646920031                Gas           Gov. Aggregation   VEDO            4002635752258474            Gas           Gov. Aggregation
COH             101373350051                Gas           Gov. Aggregation   VEDO            4017001562306837            Gas           Gov. Aggregation
COH             166218170014                Gas           Gov. Aggregation   VEDO            4001908432186267            Gas           Gov. Aggregation
COH             155639590017                Gas           Gov. Aggregation   VEDO            4003602522358094            Gas           Gov. Aggregation
COH             140935890031                Gas           Gov. Aggregation   VEDO            4015163482427675            Gas           Gov. Aggregation
COH             112736910023                Gas           Gov. Aggregation   VEDO            4001886462184074            Gas           Gov. Aggregation
COH             155598110015                Gas           Gov. Aggregation   VEDO            4017917462543855            Gas           Gov. Aggregation
COH             112306940028                Gas           Gov. Aggregation   VEDO            4001768152172507            Gas           Gov. Aggregation
COH             112274130027                Gas           Gov. Aggregation   VEDO            4003010632296427            Gas           Gov. Aggregation
COH             174494760025                Gas           Gov. Aggregation   VEDO            4003818292381038            Gas           Gov. Aggregation
COH             140636170045                Gas           Gov. Aggregation   VEDO            4015666022358674            Gas           Gov. Aggregation
COH             110609860016                Gas           Gov. Aggregation   VEDO            4001992842531912            Gas           Gov. Aggregation
COH             187560000037                Gas           Gov. Aggregation   VEDO            4017350742623343            Gas           Gov. Aggregation
COH             144030270017                Gas           Gov. Aggregation   VEDO            4002901522285128            Gas           Gov. Aggregation
COH             124263750044                Gas           Gov. Aggregation   VEDO            4002842702279302            Gas           Gov. Aggregation
COH             114891600055                Gas           Gov. Aggregation   VEDO            4015227772337895            Gas           Gov. Aggregation
COH             114961050016                Gas           Gov. Aggregation   VEDO            4017259012623357            Gas           Gov. Aggregation
COH             187293120011                Gas           Gov. Aggregation   VEDO            4002622552257196            Gas           Gov. Aggregation
COH             192360630014                Gas           Gov. Aggregation   VEDO            4015228212283547            Gas           Gov. Aggregation
COH             170398130016                Gas           Gov. Aggregation   VEDO            4017344612617095            Gas           Gov. Aggregation
COH             115845580029                Gas           Gov. Aggregation   VEDO            4001056462105306            Gas           Gov. Aggregation
COH             177266620015                Gas           Gov. Aggregation   VEDO            4002955522290745            Gas           Gov. Aggregation
COH             139816000023                Gas           Gov. Aggregation   VEDO            4001665172162686            Gas           Gov. Aggregation
COH             113364840035                Gas           Gov. Aggregation   VEDO            4004725252293033            Gas           Gov. Aggregation
COH             145235200016                Gas           Gov. Aggregation   VEDO            4017306052344062            Gas           Gov. Aggregation
COH             152076850019                Gas           Gov. Aggregation   VEDO            4001620912158515            Gas           Gov. Aggregation
COH             149760370014                Gas           Gov. Aggregation   VEDO            4016147112339975            Gas           Gov. Aggregation
COH             163883070019                Gas           Gov. Aggregation   VEDO            4002260802221196            Gas           Gov. Aggregation
COH             120544120026                Gas           Gov. Aggregation   VEDO            4001156572114749            Gas           Gov. Aggregation
COH             135787660031                Gas           Gov. Aggregation   VEDO            4003348642331366            Gas           Gov. Aggregation
COH             186044380015                Gas           Gov. Aggregation   VEDO            4002232902570505            Gas           Gov. Aggregation
COH             126939940218                Gas           Gov. Aggregation   VEDO            4001640632160397            Gas           Gov. Aggregation
COH             163082100010                Gas           Gov. Aggregation   VEDO            4002203572415145            Gas           Gov. Aggregation
COH             154375700023                Gas           Gov. Aggregation   VEDO            4005030692514143            Gas           Gov. Aggregation
COH             190218240028                Gas           Gov. Aggregation   VEDO            4003984242398969            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             108692580041                Gas           Gov. Aggregation   VEDO         4004417032446251            Gas           Gov. Aggregation
COH             124494710016                Gas           Gov. Aggregation   VEDO         4015574172490644            Gas           Gov. Aggregation
COH             112295280013                Gas           Gov. Aggregation   VEDO         4017909912163803            Gas           Gov. Aggregation
COH             171499800065                Gas           Gov. Aggregation   VEDO         4005059932517469            Gas           Gov. Aggregation
COH             159816120024                Gas           Gov. Aggregation   VEDO         4002838092278834            Gas           Gov. Aggregation
COH             162251090015                Gas           Gov. Aggregation   VEDO         4017404552489342            Gas           Gov. Aggregation
COH             112277240046                Gas           Gov. Aggregation   VEDO         4003196392315546            Gas           Gov. Aggregation
COH             151769760038                Gas           Gov. Aggregation   VEDO         4003753692374095            Gas           Gov. Aggregation
COH             187438780015                Gas           Gov. Aggregation   VEDO         4003249442321031            Gas           Gov. Aggregation
COH             158328800018                Gas           Gov. Aggregation   VEDO         4015707932551021            Gas           Gov. Aggregation
COH             162290290011                Gas           Gov. Aggregation   VEDO         4002519712246897            Gas           Gov. Aggregation
COH             145760820059                Gas           Gov. Aggregation   VEDO         4001086242119151            Gas           Gov. Aggregation
COH             112321240023                Gas           Gov. Aggregation   VEDO         4002161102211245            Gas           Gov. Aggregation
COH             137143430022                Gas           Gov. Aggregation   VEDO         4003048222306252            Gas           Gov. Aggregation
COH             112270000022                Gas           Gov. Aggregation   VEDO         4015035162132958            Gas           Gov. Aggregation
COH             139300860017                Gas           Gov. Aggregation   VEDO         4004054892406595            Gas           Gov. Aggregation
COH             153481010015                Gas           Gov. Aggregation   VEDO         4001188072117779            Gas           Gov. Aggregation
COH             169155270014                Gas           Gov. Aggregation   VEDO         4002779842272897            Gas           Gov. Aggregation
COH             159375780022                Gas           Gov. Aggregation   VEDO         4001296312629124            Gas           Gov. Aggregation
COH             163550020014                Gas           Gov. Aggregation   VEDO         4015391762188622            Gas           Gov. Aggregation
COH             173283830019                Gas           Gov. Aggregation   VEDO         4001801712203769            Gas           Gov. Aggregation
COH             131356720035                Gas           Gov. Aggregation   VEDO         4016963982603509            Gas           Gov. Aggregation
COH             163359310019                Gas           Gov. Aggregation   VEDO         4004853892494438            Gas           Gov. Aggregation
COH             136395280013                Gas           Gov. Aggregation   VEDO         4002979992257687            Gas           Gov. Aggregation
COH             114969840041                Gas           Gov. Aggregation   VEDO         4018231892430084            Gas           Gov. Aggregation
COH             145891930022                Gas           Gov. Aggregation   VEDO         4017621602318733            Gas           Gov. Aggregation
DEO             6500029957858               Gas           Gov. Aggregation   VEDO         4003711912472389            Gas           Gov. Aggregation
DEO             8500021666598               Gas           Gov. Aggregation   VEDO         4001388082136394            Gas           Gov. Aggregation
DEO             5500036961598               Gas           Gov. Aggregation   VEDO         4003077832518179            Gas           Gov. Aggregation
DEO             5422102273344               Gas           Gov. Aggregation   VEDO         4004519402457517            Gas           Gov. Aggregation
DEO             7500049808792               Gas           Gov. Aggregation   VEDO         4001930432188515            Gas           Gov. Aggregation
DEO             2420106026771               Gas           Gov. Aggregation   VEDO         4017958282465106            Gas           Gov. Aggregation
DEO             1422106620699               Gas           Gov. Aggregation   VEDO         4016307502458612            Gas           Gov. Aggregation
DEO             7420105615634               Gas           Gov. Aggregation   VEDO         4003128552311285            Gas           Gov. Aggregation
DEO             9422004790101               Gas           Gov. Aggregation   VEDO         4017912482628384            Gas           Gov. Aggregation
DEO             9500033501361               Gas           Gov. Aggregation   VEDO         4017854972165217            Gas           Gov. Aggregation
DEO             2500051252163               Gas           Gov. Aggregation   VEDO         4003427102339647            Gas           Gov. Aggregation
DEO             4500051135239               Gas           Gov. Aggregation   VEDO         4003143592310102            Gas           Gov. Aggregation
DEO             0500053661341               Gas           Gov. Aggregation   VEDO         4017644852450229            Gas           Gov. Aggregation
DEO             4420501798820               Gas           Gov. Aggregation   VEDO         4004730782480807            Gas           Gov. Aggregation
COH             109466020055                Gas           Gov. Aggregation   VEDO         4016011872572371            Gas           Gov. Aggregation
COH             176875740029                Gas           Gov. Aggregation   VEDO         4004413322445854            Gas           Gov. Aggregation
COH             186594660020                Gas           Gov. Aggregation   VEDO         4002489812243887            Gas           Gov. Aggregation
COH             138059170016                Gas           Gov. Aggregation   VEDO         4004170302419264            Gas           Gov. Aggregation
COH             156367110013                Gas           Gov. Aggregation   VEDO         4002753452270226            Gas           Gov. Aggregation
COH             159000000019                Gas           Gov. Aggregation   VEDO         4015219032380149            Gas           Gov. Aggregation
COH             159047900012                Gas           Gov. Aggregation   VEDO         4015980552231704            Gas           Gov. Aggregation
COH             159360470028                Gas           Gov. Aggregation   VEDO         4001084892108122            Gas           Gov. Aggregation
COH             171226040035                Gas           Gov. Aggregation   VEDO         4004464602117683            Gas           Gov. Aggregation
COH             175419990015                Gas           Gov. Aggregation   VEDO         4003921682392257            Gas           Gov. Aggregation
COH             175661570038                Gas           Gov. Aggregation   VEDO         4016007342357376            Gas           Gov. Aggregation
COH             175739050023                Gas           Gov. Aggregation   VEDO         4001947222281111            Gas           Gov. Aggregation
COH             176183380031                Gas           Gov. Aggregation   VEDO         4017328392422132            Gas           Gov. Aggregation
COH             190289560013                Gas           Gov. Aggregation   VEDO         4001277522126135            Gas           Gov. Aggregation
COH             190768250012                Gas           Gov. Aggregation   VEDO         4017169592400604            Gas           Gov. Aggregation
COH             190980970011                Gas           Gov. Aggregation   VEDO         4003360452332606            Gas           Gov. Aggregation
COH             191505600013                Gas           Gov. Aggregation   VEDO         4001865482181987            Gas           Gov. Aggregation
COH             191560880019                Gas           Gov. Aggregation   VEDO         4002769802271859            Gas           Gov. Aggregation
COH             191607290013                Gas           Gov. Aggregation   VEDO         4018269012392773            Gas           Gov. Aggregation
COH             191667150016                Gas           Gov. Aggregation   VEDO         4016940282513746            Gas           Gov. Aggregation
COH             192230250019                Gas           Gov. Aggregation   VEDO         4002947712289913            Gas           Gov. Aggregation
COH             192288850012                Gas           Gov. Aggregation   VEDO         4003555762353058            Gas           Gov. Aggregation
COH             108770170069                Gas           Gov. Aggregation   VEDO         4004516002457108            Gas           Gov. Aggregation
COH             111117950019                Gas           Gov. Aggregation   VEDO         4001833902178964            Gas           Gov. Aggregation
COH             117360590023                Gas           Gov. Aggregation   VEDO         4004815122490085            Gas           Gov. Aggregation
COH             120447440016                Gas           Gov. Aggregation   VEDO         4002858212280859            Gas           Gov. Aggregation
COH             121566730049                Gas           Gov. Aggregation   VEDO         4003048232333363            Gas           Gov. Aggregation
COH             122475620017                Gas           Gov. Aggregation   VEDO         4002682222263123            Gas           Gov. Aggregation
COH             123638520039                Gas           Gov. Aggregation   VEDO         4004912452209901            Gas           Gov. Aggregation
COH             123832300024                Gas           Gov. Aggregation   VEDO         4004912452500906            Gas           Gov. Aggregation
COH             124122380040                Gas           Gov. Aggregation   VEDO         4002758962535049            Gas           Gov. Aggregation
COH             125831040038                Gas           Gov. Aggregation   VEDO         4002546182249612            Gas           Gov. Aggregation
COH             130048800014                Gas           Gov. Aggregation   VEDO         4003554072352879            Gas           Gov. Aggregation
COH             133397890078                Gas           Gov. Aggregation   VEDO         4015105212118476            Gas           Gov. Aggregation
COH             137516960011                Gas           Gov. Aggregation   VEDO         4001687612420506            Gas           Gov. Aggregation
COH             138269410065                Gas           Gov. Aggregation   VEDO         4001331602131132            Gas           Gov. Aggregation
COH             138938590023                Gas           Gov. Aggregation   VEDO         4003499082347113            Gas           Gov. Aggregation
COH             141163250040                Gas           Gov. Aggregation   VEDO         4015918282452396            Gas           Gov. Aggregation
COH             142434860019                Gas           Gov. Aggregation   VEDO         4003911542128449            Gas           Gov. Aggregation
COH             147485010060                Gas           Gov. Aggregation   VEDO         4018311562439154            Gas           Gov. Aggregation
COH             149650140024                Gas           Gov. Aggregation   VEDO         4018146782247511            Gas           Gov. Aggregation
COH             150357110038                Gas           Gov. Aggregation   VEDO         4003777342476487            Gas           Gov. Aggregation
COH             151893460038                Gas           Gov. Aggregation   VEDO         4003911782391156            Gas           Gov. Aggregation
COH             152496330045                Gas           Gov. Aggregation   VEDO         4001568272153468            Gas           Gov. Aggregation
COH             153643460017                Gas           Gov. Aggregation   VEDO         4004107242185124            Gas           Gov. Aggregation
COH             154067130044                Gas           Gov. Aggregation   VEDO         4018353222487612            Gas           Gov. Aggregation
COH             154425450038                Gas           Gov. Aggregation   VEDO         4001807132176375            Gas           Gov. Aggregation
COH             155026530072                Gas           Gov. Aggregation   VEDO         4004809512390765            Gas           Gov. Aggregation
COH             155280650024                Gas           Gov. Aggregation   VEDO         4015704412229327            Gas           Gov. Aggregation
COH             155579950037                Gas           Gov. Aggregation   VEDO         4017355292338776            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             157262070013                Gas           Gov. Aggregation   VEDO         4016219202279226            Gas           Gov. Aggregation
COH             159544630015                Gas           Gov. Aggregation   VEDO         4003362442332815            Gas           Gov. Aggregation
COH             160107810029                Gas           Gov. Aggregation   VEDO         4002556812530041            Gas           Gov. Aggregation
COH             160513670064                Gas           Gov. Aggregation   VEDO         4016103692107914            Gas           Gov. Aggregation
COH             161211580017                Gas           Gov. Aggregation   VEDO         4016089712484003            Gas           Gov. Aggregation
COH             164264110075                Gas           Gov. Aggregation   VEDO         4002262832159891            Gas           Gov. Aggregation
COH             164465300024                Gas           Gov. Aggregation   VEDO         4004523862458018            Gas           Gov. Aggregation
COH             165539270078                Gas           Gov. Aggregation   VEDO         4017183172337236            Gas           Gov. Aggregation
COH             170810140036                Gas           Gov. Aggregation   VEDO         4001284302126708            Gas           Gov. Aggregation
COH             171214880025                Gas           Gov. Aggregation   VEDO         4001721582168026            Gas           Gov. Aggregation
COH             171731670014                Gas           Gov. Aggregation   VEDO         4017217412321854            Gas           Gov. Aggregation
COH             172527480025                Gas           Gov. Aggregation   VEDO         4002816682276622            Gas           Gov. Aggregation
COH             177175370011                Gas           Gov. Aggregation   VEDO         4001451542142262            Gas           Gov. Aggregation
COH             177285170047                Gas           Gov. Aggregation   VEDO         4002679762262852            Gas           Gov. Aggregation
COH             177638030029                Gas           Gov. Aggregation   VEDO         4004349702438852            Gas           Gov. Aggregation
COH             186029890010                Gas           Gov. Aggregation   VEDO         4002565992251589            Gas           Gov. Aggregation
COH             188329070023                Gas           Gov. Aggregation   VEDO         4017854932451083            Gas           Gov. Aggregation
COH             190179100021                Gas           Gov. Aggregation   VEDO         4003899122389761            Gas           Gov. Aggregation
COH             191552750013                Gas           Gov. Aggregation   VEDO         4017296022480232            Gas           Gov. Aggregation
COH             191728060015                Gas           Gov. Aggregation   VEDO         4016183402208098            Gas           Gov. Aggregation
COH             191922550010                Gas           Gov. Aggregation   VEDO         4001661882162372            Gas           Gov. Aggregation
COH             192218150034                Gas           Gov. Aggregation   VEDO         4003729292461244            Gas           Gov. Aggregation
COH             192332120010                Gas           Gov. Aggregation   VEDO         4015300772458361            Gas           Gov. Aggregation
COH             192335900010                Gas           Gov. Aggregation   VEDO         4015979022261793            Gas           Gov. Aggregation
COH             192358220015                Gas           Gov. Aggregation   VEDO         4004865412495705            Gas           Gov. Aggregation
COH             192419420013                Gas           Gov. Aggregation   VEDO         4002971492292372            Gas           Gov. Aggregation
COH             192422080018                Gas           Gov. Aggregation   VEDO         4002552892250286            Gas           Gov. Aggregation
COH             192427600018                Gas           Gov. Aggregation   VEDO         4002412152376173            Gas           Gov. Aggregation
COH             192428670012                Gas           Gov. Aggregation   VEDO         4005158272528648            Gas           Gov. Aggregation
COH             192450070011                Gas           Gov. Aggregation   VEDO         4001380472135704            Gas           Gov. Aggregation
COH             192466360017                Gas           Gov. Aggregation   VEDO         4017130132177413            Gas           Gov. Aggregation
COH             192481370013                Gas           Gov. Aggregation   VEDO         4004786152376581            Gas           Gov. Aggregation
COH             192489640010                Gas           Gov. Aggregation   VEDO         4003265822307303            Gas           Gov. Aggregation
COH             192503070018                Gas           Gov. Aggregation   VEDO         4004056742529735            Gas           Gov. Aggregation
COH             192506520017                Gas           Gov. Aggregation   VEDO         4002477342483106            Gas           Gov. Aggregation
COH             192515790012                Gas           Gov. Aggregation   VEDO         4017475602364547            Gas           Gov. Aggregation
COH             192526110011                Gas           Gov. Aggregation   VEDO         4002691232513644            Gas           Gov. Aggregation
COH             192542590017                Gas           Gov. Aggregation   VEDO         4002439222238817            Gas           Gov. Aggregation
COH             192549990019                Gas           Gov. Aggregation   VEDO         4003903832390275            Gas           Gov. Aggregation
COH             111030990033                Gas           Gov. Aggregation   VEDO         4001408352138298            Gas           Gov. Aggregation
COH             156224730042                Gas           Gov. Aggregation   VEDO         4005021132513053            Gas           Gov. Aggregation
COH             185073230016                Gas           Gov. Aggregation   VEDO         4001595172156037            Gas           Gov. Aggregation
COH             114701850018                Gas           Gov. Aggregation   VEDO         4018175432497844            Gas           Gov. Aggregation
COH             126832740010                Gas           Gov. Aggregation   VEDO         4002380462232974            Gas           Gov. Aggregation
COH             177460130016                Gas           Gov. Aggregation   VEDO         4004386352442849            Gas           Gov. Aggregation
COH             130960700011                Gas           Gov. Aggregation   VEDO         4004154102417433            Gas           Gov. Aggregation
COH             176241470010                Gas           Gov. Aggregation   VEDO         4003256102321683            Gas           Gov. Aggregation
COH             151033010016                Gas           Gov. Aggregation   VEDO         4004770772485225            Gas           Gov. Aggregation
COH             114712070028                Gas           Gov. Aggregation   VEDO         4016662272421804            Gas           Gov. Aggregation
COH             162062940026                Gas           Gov. Aggregation   VEDO         4004215362424163            Gas           Gov. Aggregation
COH             118825460023                Gas           Gov. Aggregation   VEDO         4004948042504806            Gas           Gov. Aggregation
COH             154157560016                Gas           Gov. Aggregation   VEDO         4001744252170198            Gas           Gov. Aggregation
COH             146514860033                Gas           Gov. Aggregation   VEDO         4017976202463376            Gas           Gov. Aggregation
COH             187182910010                Gas           Gov. Aggregation   VEDO         4002728792267737            Gas           Gov. Aggregation
COH             140747430018                Gas           Gov. Aggregation   VEDO         4001278172155879            Gas           Gov. Aggregation
COH             144800340037                Gas           Gov. Aggregation   VEDO         4017725412398533            Gas           Gov. Aggregation
COH             137535410016                Gas           Gov. Aggregation   VEDO         4016326142442078            Gas           Gov. Aggregation
COH             114713720029                Gas           Gov. Aggregation   VEDO         4004131282414998            Gas           Gov. Aggregation
COH             130254110012                Gas           Gov. Aggregation   VEDO         4001814762368946            Gas           Gov. Aggregation
COH             186459970012                Gas           Gov. Aggregation   VEDO         4016260012447232            Gas           Gov. Aggregation
COH             176779720018                Gas           Gov. Aggregation   VEDO         4003554512352923            Gas           Gov. Aggregation
COH             138914960025                Gas           Gov. Aggregation   VEDO         4002238722629212            Gas           Gov. Aggregation
COH             163425690019                Gas           Gov. Aggregation   VEDO         4002634492258322            Gas           Gov. Aggregation
COH             156944560015                Gas           Gov. Aggregation   VEDO         4004656032472645            Gas           Gov. Aggregation
COH             166324780057                Gas           Gov. Aggregation   VEDO         4004591822465544            Gas           Gov. Aggregation
COH             155826080017                Gas           Gov. Aggregation   VEDO         4017140292146338            Gas           Gov. Aggregation
COH             149088100016                Gas           Gov. Aggregation   VEDO         4002518652246793            Gas           Gov. Aggregation
COH             164534350018                Gas           Gov. Aggregation   VEDO         4001250782123606            Gas           Gov. Aggregation
COH             175795760017                Gas           Gov. Aggregation   VEDO         4004127932414611            Gas           Gov. Aggregation
COH             173581710012                Gas           Gov. Aggregation   VEDO         4004377812441922            Gas           Gov. Aggregation
COH             188170380025                Gas           Gov. Aggregation   VEDO         4002139172209041            Gas           Gov. Aggregation
COH             147597010054                Gas           Gov. Aggregation   VEDO         4017431532510021            Gas           Gov. Aggregation
COH             169147170012                Gas           Gov. Aggregation   VEDO         4002001522265607            Gas           Gov. Aggregation
COH             127603770054                Gas           Gov. Aggregation   VEDO         4003738172312567            Gas           Gov. Aggregation
COH             177297660012                Gas           Gov. Aggregation   VEDO         4005042222282311            Gas           Gov. Aggregation
COH             169925000017                Gas           Gov. Aggregation   VEDO         4016081322490708            Gas           Gov. Aggregation
COH             175277920020                Gas           Gov. Aggregation   VEDO         4003990372399643            Gas           Gov. Aggregation
COH             185566600013                Gas           Gov. Aggregation   VEDO         4004183632420692            Gas           Gov. Aggregation
COH             188921280014                Gas           Gov. Aggregation   VEDO         4004693212476773            Gas           Gov. Aggregation
COH             114703930017                Gas           Gov. Aggregation   VEDO         4001692962600201            Gas           Gov. Aggregation
COH             159350150044                Gas           Gov. Aggregation   VEDO         4015845032288164            Gas           Gov. Aggregation
COH             114682650021                Gas           Gov. Aggregation   VEDO         4002008872196218            Gas           Gov. Aggregation
COH             138550430019                Gas           Gov. Aggregation   VEDO         4004669812474208            Gas           Gov. Aggregation
COH             172200610010                Gas           Gov. Aggregation   VEDO         4015539332125899            Gas           Gov. Aggregation
COH             148234320029                Gas           Gov. Aggregation   VEDO         4002520222230874            Gas           Gov. Aggregation
COH             191114630016                Gas           Gov. Aggregation   VEDO         4002148582209989            Gas           Gov. Aggregation
COH             155028590021                Gas           Gov. Aggregation   VEDO         4005126092524981            Gas           Gov. Aggregation
COH             165258630014                Gas           Gov. Aggregation   VEDO         4002967402291968            Gas           Gov. Aggregation
COH             158119560012                Gas           Gov. Aggregation   VEDO         4001102252164992            Gas           Gov. Aggregation
COH             158265770037                Gas           Gov. Aggregation   VEDO         4004242662427123            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             148185460043                Gas           Gov. Aggregation   VEDO            4001013162101334            Gas           Gov. Aggregation
COH             159664940016                Gas           Gov. Aggregation   VEDO            4016396942190176            Gas           Gov. Aggregation
COH             142729320026                Gas           Gov. Aggregation   VEDO            4016826382163932            Gas           Gov. Aggregation
COH             186857600015                Gas           Gov. Aggregation   VEDO            4015395312463058            Gas           Gov. Aggregation
COH             169623000026                Gas           Gov. Aggregation   VEDO            4004483162386348            Gas           Gov. Aggregation
COH             158847490014                Gas           Gov. Aggregation   VEDO            4001795212421967            Gas           Gov. Aggregation
COH             169094200027                Gas           Gov. Aggregation   VEDO            4001396202409411            Gas           Gov. Aggregation
COH             114713460015                Gas           Gov. Aggregation   VEDO            4001960632191521            Gas           Gov. Aggregation
COH             186420790011                Gas           Gov. Aggregation   VEDO            4003062312301682            Gas           Gov. Aggregation
COH             162398040015                Gas           Gov. Aggregation   VEDO            4017905812156649            Gas           Gov. Aggregation
COH             161142650019                Gas           Gov. Aggregation   VEDO            4001497412146543            Gas           Gov. Aggregation
COH             114680340020                Gas           Gov. Aggregation   VEDO            4003253782321469            Gas           Gov. Aggregation
COH             191969290017                Gas           Gov. Aggregation   VEDO            4003063322301793            Gas           Gov. Aggregation
COH             167065440011                Gas           Gov. Aggregation   VEDO            4003152992311088            Gas           Gov. Aggregation
COH             160432860011                Gas           Gov. Aggregation   VEDO            4017687562213245            Gas           Gov. Aggregation
COH             139936340055                Gas           Gov. Aggregation   VEDO            4004072142350934            Gas           Gov. Aggregation
COH             140295020031                Gas           Gov. Aggregation   VEDO            4001663352162517            Gas           Gov. Aggregation
COH             130648340028                Gas           Gov. Aggregation   VEDO            4017845282275816            Gas           Gov. Aggregation
COH             169745030022                Gas           Gov. Aggregation   VEDO            4016245072571522            Gas           Gov. Aggregation
COH             160467090010                Gas           Gov. Aggregation   VEDO            4004347342438571            Gas           Gov. Aggregation
COH             190776560010                Gas           Gov. Aggregation   VEDO            4003543952351828            Gas           Gov. Aggregation
COH             160733960012                Gas           Gov. Aggregation   VEDO            4016962182250538            Gas           Gov. Aggregation
COH             114702390013                Gas           Gov. Aggregation   VEDO            4002251322394959            Gas           Gov. Aggregation
COH             114705070014                Gas           Gov. Aggregation   VEDO            4003121002307735            Gas           Gov. Aggregation
COH             114713010019                Gas           Gov. Aggregation   VEDO            4018080062428732            Gas           Gov. Aggregation
COH             114712390012                Gas           Gov. Aggregation   VEDO            4015515562499759            Gas           Gov. Aggregation
COH             171587490019                Gas           Gov. Aggregation   VEDO            4016459372367481            Gas           Gov. Aggregation
COH             164281780015                Gas           Gov. Aggregation   VEDO            4002331152228118            Gas           Gov. Aggregation
COH             119234080034                Gas           Gov. Aggregation   VEDO            4016205202346381            Gas           Gov. Aggregation
COH             162838570029                Gas           Gov. Aggregation   VEDO            4015737942354507            Gas           Gov. Aggregation
COH             129415940055                Gas           Gov. Aggregation   VEDO            4015737942299773            Gas           Gov. Aggregation
COH             115226580021                Gas           Gov. Aggregation   VEDO            4015737942415004            Gas           Gov. Aggregation
COH             149122010011                Gas           Gov. Aggregation   VEDO            4015737942288169            Gas           Gov. Aggregation
COH             135812460029                Gas           Gov. Aggregation   VEDO            4004691982476652            Gas           Gov. Aggregation
COH             118249190095                Gas           Gov. Aggregation   VEDO            4002310222226051            Gas           Gov. Aggregation
COH             118055430059                Gas           Gov. Aggregation   VEDO            4001081002107746            Gas           Gov. Aggregation
COH             136016410017                Gas           Gov. Aggregation   VEDO            4003866122386267            Gas           Gov. Aggregation
COH             114680090014                Gas           Gov. Aggregation   VEDO            4017224322439459            Gas           Gov. Aggregation
COH             114680150011                Gas           Gov. Aggregation   VEDO            4003008942296258            Gas           Gov. Aggregation
COH             191405420013                Gas           Gov. Aggregation   VEDO            4002877152282718            Gas           Gov. Aggregation
COH             170150670026                Gas           Gov. Aggregation   VEDO            4003319242328287            Gas           Gov. Aggregation
COH             167784300025                Gas           Gov. Aggregation   VEDO            4015381042432121            Gas           Gov. Aggregation
COH             175644670015                Gas           Gov. Aggregation   VEDO            4016687382601714            Gas           Gov. Aggregation
COH             118274860037                Gas           Gov. Aggregation   VEDO            4002572192252234            Gas           Gov. Aggregation
COH             154592160045                Gas           Gov. Aggregation   VEDO            4002008222196163            Gas           Gov. Aggregation
COH             190692570016                Gas           Gov. Aggregation   VEDO            4002941142289254            Gas           Gov. Aggregation
COH             188383540011                Gas           Gov. Aggregation   VEDO            4001339612131907            Gas           Gov. Aggregation
COH             185496000018                Gas           Gov. Aggregation   VEDO            4003412572338116            Gas           Gov. Aggregation
COH             177441140023                Gas           Gov. Aggregation   VEDO            4017457742605708            Gas           Gov. Aggregation
COH             163041160078                Gas           Gov. Aggregation   VEDO            4003943672394629            Gas           Gov. Aggregation
COH             185399450010                Gas           Gov. Aggregation   VEDO            4004720622479735            Gas           Gov. Aggregation
COH             157885250024                Gas           Gov. Aggregation   VEDO            4002115602206706            Gas           Gov. Aggregation
COH             166397570058                Gas           Gov. Aggregation   VEDO            4015838782402655            Gas           Gov. Aggregation
COH             162596790036                Gas           Gov. Aggregation   VEDO            4005067612518356            Gas           Gov. Aggregation
COH             174485860014                Gas           Gov. Aggregation   VEDO            4016540032163106            Gas           Gov. Aggregation
COH             161395580019                Gas           Gov. Aggregation   VEDO            4002123052207415            Gas           Gov. Aggregation
COH             114702010012                Gas           Gov. Aggregation   VEDO            4003110312306615            Gas           Gov. Aggregation
COH             123544080013                Gas           Gov. Aggregation   VEDO            4002263172221448            Gas           Gov. Aggregation
COH             171058970019                Gas           Gov. Aggregation   VEDO            4017065062281832            Gas           Gov. Aggregation
COH             159048340018                Gas           Gov. Aggregation   VEDO            4001922612187724            Gas           Gov. Aggregation
COH             157959810010                Gas           Gov. Aggregation   VEDO            4003508632348096            Gas           Gov. Aggregation
COH             157081340010                Gas           Gov. Aggregation   VEDO            4002206442215757            Gas           Gov. Aggregation
COH             187716210014                Gas           Gov. Aggregation   VEDO            4018187582427404            Gas           Gov. Aggregation
COH             118333110029                Gas           Gov. Aggregation   VEDO            4004540592459843            Gas           Gov. Aggregation
COH             134391390029                Gas           Gov. Aggregation   VEDO            4001362782134057            Gas           Gov. Aggregation
DEO             3500054212271               Gas           Gov. Aggregation   VEDO            4015517072412831            Gas           Gov. Aggregation
COH             108717740016                Gas           Gov. Aggregation   VEDO            4001734822182141            Gas           Gov. Aggregation
COH             123729980021                Gas           Gov. Aggregation   VEDO            4001734822461223            Gas           Gov. Aggregation
COH             124134540023                Gas           Gov. Aggregation   VEDO            4001734822280099            Gas           Gov. Aggregation
COH             124503700017                Gas           Gov. Aggregation   VEDO            4001734822258607            Gas           Gov. Aggregation
COH             125212700022                Gas           Gov. Aggregation   VEDO            4001166602172811            Gas           Gov. Aggregation
COH             125865070022                Gas           Gov. Aggregation   VEDO            4001166602115717            Gas           Gov. Aggregation
COH             126910820026                Gas           Gov. Aggregation   VEDO            4003879592387661            Gas           Gov. Aggregation
COH             135341370036                Gas           Gov. Aggregation   VEDO            4002369092231878            Gas           Gov. Aggregation
COH             139110870036                Gas           Gov. Aggregation   COH             122657690099                Gas           Gov. Aggregation
COH             153593820036                Gas           Gov. Aggregation   COH             122671850022                Gas           Gov. Aggregation
COH             155419540013                Gas           Gov. Aggregation   COH             122674120010                Gas           Gov. Aggregation
COH             156201960024                Gas           Gov. Aggregation   COH             122675180016                Gas           Gov. Aggregation
COH             157271390026                Gas           Gov. Aggregation   COH             122734420019                Gas           Gov. Aggregation
COH             157550140017                Gas           Gov. Aggregation   COH             122734490015                Gas           Gov. Aggregation
COH             158412752410                Gas           Gov. Aggregation   COH             122734620017                Gas           Gov. Aggregation
COH             160557110023                Gas           Gov. Aggregation   COH             122826530020                Gas           Gov. Aggregation
COH             161313710013                Gas           Gov. Aggregation   COH             122843710026                Gas           Gov. Aggregation
COH             161322360027                Gas           Gov. Aggregation   COH             122887060021                Gas           Gov. Aggregation
COH             165018320035                Gas           Gov. Aggregation   COH             122896160021                Gas           Gov. Aggregation
COH             165246690017                Gas           Gov. Aggregation   COH             124633780034                Gas           Gov. Aggregation
COH             165559620063                Gas           Gov. Aggregation   COH             124642840014                Gas           Gov. Aggregation
COH             167721640035                Gas           Gov. Aggregation   COH             124647130022                Gas           Gov. Aggregation
COH             170009140026                Gas           Gov. Aggregation   COH             124648620036                Gas           Gov. Aggregation
COH             174745750024                Gas           Gov. Aggregation   COH             124692970021                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             175086440026                Gas           Gov. Aggregation   COH             125748450011                Gas           Gov. Aggregation
COH             176892810028                Gas           Gov. Aggregation   COH             125754570022                Gas           Gov. Aggregation
COH             186803480014                Gas           Gov. Aggregation   COH             125754900013                Gas           Gov. Aggregation
COH             188772910018                Gas           Gov. Aggregation   COH             125776610018                Gas           Gov. Aggregation
COH             189889380012                Gas           Gov. Aggregation   COH             125777060012                Gas           Gov. Aggregation
COH             192518610013                Gas           Gov. Aggregation   COH             125777530022                Gas           Gov. Aggregation
COH             192519590016                Gas           Gov. Aggregation   COH             125781130018                Gas           Gov. Aggregation
COH             192530900016                Gas           Gov. Aggregation   COH             125781190016                Gas           Gov. Aggregation
COH             192550550018                Gas           Gov. Aggregation   COH             125783640017                Gas           Gov. Aggregation
COH             192562960017                Gas           Gov. Aggregation   COH             125785220011                Gas           Gov. Aggregation
COH             192571350016                Gas           Gov. Aggregation   COH             125785230019                Gas           Gov. Aggregation
COH             192589290012                Gas           Gov. Aggregation   COH             125786210011                Gas           Gov. Aggregation
COH             192589560015                Gas           Gov. Aggregation   COH             125788460015                Gas           Gov. Aggregation
COH             192599480011                Gas           Gov. Aggregation   COH             125792050021                Gas           Gov. Aggregation
COH             192611240013                Gas           Gov. Aggregation   COH             125793100019                Gas           Gov. Aggregation
COH             192612290011                Gas           Gov. Aggregation   COH             125793420012                Gas           Gov. Aggregation
COH             192613480019                Gas           Gov. Aggregation   COH             125795200014                Gas           Gov. Aggregation
COH             192617260017                Gas           Gov. Aggregation   COH             125797860012                Gas           Gov. Aggregation
COH             192620170019                Gas           Gov. Aggregation   COH             125804310029                Gas           Gov. Aggregation
COH             192640630010                Gas           Gov. Aggregation   COH             125805260019                Gas           Gov. Aggregation
COH             192654280015                Gas           Gov. Aggregation   COH             125808520027                Gas           Gov. Aggregation
COH             192691730012                Gas           Gov. Aggregation   COH             125821240037                Gas           Gov. Aggregation
COH             110310920025                Gas           Gov. Aggregation   COH             125864190010                Gas           Gov. Aggregation
COH             110325600049                Gas           Gov. Aggregation   COH             125864310014                Gas           Gov. Aggregation
COH             132736110054                Gas           Gov. Aggregation   COH             125864580018                Gas           Gov. Aggregation
COH             140360280056                Gas           Gov. Aggregation   COH             125865180010                Gas           Gov. Aggregation
COH             146655760045                Gas           Gov. Aggregation   COH             125865220020                Gas           Gov. Aggregation
COH             154398160010                Gas           Gov. Aggregation   COH             125865430035                Gas           Gov. Aggregation
COH             157123080024                Gas           Gov. Aggregation   COH             125872040069                Gas           Gov. Aggregation
COH             169064750016                Gas           Gov. Aggregation   COH             125872330013                Gas           Gov. Aggregation
COH             173656480021                Gas           Gov. Aggregation   COH             125873340019                Gas           Gov. Aggregation
COH             173958790044                Gas           Gov. Aggregation   COH             125873650014                Gas           Gov. Aggregation
COH             185980470013                Gas           Gov. Aggregation   COH             125874900046                Gas           Gov. Aggregation
COH             191383810019                Gas           Gov. Aggregation   COH             125875210012                Gas           Gov. Aggregation
COH             191876700017                Gas           Gov. Aggregation   COH             125875340015                Gas           Gov. Aggregation
DEO             3500031929652               Gas           Gov. Aggregation   COH             128828040014                Gas           Gov. Aggregation
DEO             0500054320184               Gas           Gov. Aggregation   COH             128882610047                Gas           Gov. Aggregation
COH             111257080025                Gas           Gov. Aggregation   COH             129252910020                Gas           Gov. Aggregation
COH             111288130010                Gas           Gov. Aggregation   COH             130470450022                Gas           Gov. Aggregation
COH             111288370010                Gas           Gov. Aggregation   COH             131222010019                Gas           Gov. Aggregation
COH             131676660021                Gas           Gov. Aggregation   COH             132523440029                Gas           Gov. Aggregation
COH             140881770013                Gas           Gov. Aggregation   COH             132830510050                Gas           Gov. Aggregation
COH             144593950012                Gas           Gov. Aggregation   COH             133657770035                Gas           Gov. Aggregation
COH             156130530070                Gas           Gov. Aggregation   COH             133698610023                Gas           Gov. Aggregation
COH             157140810015                Gas           Gov. Aggregation   COH             134587180037                Gas           Gov. Aggregation
COH             158948660050                Gas           Gov. Aggregation   COH             134618690033                Gas           Gov. Aggregation
COH             159128410022                Gas           Gov. Aggregation   COH             136442930015                Gas           Gov. Aggregation
COH             160693880015                Gas           Gov. Aggregation   COH             136652310010                Gas           Gov. Aggregation
COH             175208920025                Gas           Gov. Aggregation   COH             137776640018                Gas           Gov. Aggregation
COH             175307490053                Gas           Gov. Aggregation   COH             139296140037                Gas           Gov. Aggregation
COH             175763220017                Gas           Gov. Aggregation   COH             139647110029                Gas           Gov. Aggregation
COH             185140410024                Gas           Gov. Aggregation   COH             139684770023                Gas           Gov. Aggregation
COH             188471580016                Gas           Gov. Aggregation   COH             139698730022                Gas           Gov. Aggregation
COH             190680530019                Gas           Gov. Aggregation   COH             141039290018                Gas           Gov. Aggregation
COH             191328330016                Gas           Gov. Aggregation   COH             141049720025                Gas           Gov. Aggregation
COH             191813180019                Gas           Gov. Aggregation   COH             141893490016                Gas           Gov. Aggregation
COH             191432180017                Gas           Gov. Aggregation   COH             142052630017                Gas           Gov. Aggregation
COH             114897580012                Gas           Gov. Aggregation   COH             142288650023                Gas           Gov. Aggregation
COH             192571010017                Gas           Gov. Aggregation   COH             142316570065                Gas           Gov. Aggregation
COH             115014730019                Gas           Gov. Aggregation   COH             142435530016                Gas           Gov. Aggregation
COH             173745040042                Gas           Gov. Aggregation   COH             142435530025                Gas           Gov. Aggregation
COH             169678500035                Gas           Gov. Aggregation   COH             144342070036                Gas           Gov. Aggregation
COH             148472110074                Gas           Gov. Aggregation   COH             144963700028                Gas           Gov. Aggregation
COH             147195670030                Gas           Gov. Aggregation   COH             145117940039                Gas           Gov. Aggregation
COH             159296110039                Gas           Gov. Aggregation   COH             148232500025                Gas           Gov. Aggregation
COH             169873420074                Gas           Gov. Aggregation   COH             148283090016                Gas           Gov. Aggregation
COH             191618380011                Gas           Gov. Aggregation   COH             151402660017                Gas           Gov. Aggregation
COH             114952930010                Gas           Gov. Aggregation   COH             151456050012                Gas           Gov. Aggregation
COH             133644140098                Gas           Gov. Aggregation   COH             151466080024                Gas           Gov. Aggregation
COH             187888740038                Gas           Gov. Aggregation   COH             151560490019                Gas           Gov. Aggregation
COH             192557840013                Gas           Gov. Aggregation   COH             151605070011                Gas           Gov. Aggregation
COH             190270920016                Gas           Gov. Aggregation   COH             152292800011                Gas           Gov. Aggregation
COH             141610990108                Gas           Gov. Aggregation   COH             152393440022                Gas           Gov. Aggregation
COH             157554120095                Gas           Gov. Aggregation   COH             152427810049                Gas           Gov. Aggregation
COH             114959290011                Gas           Gov. Aggregation   COH             156554170121                Gas           Gov. Aggregation
COH             192603590017                Gas           Gov. Aggregation   COH             156755080017                Gas           Gov. Aggregation
COH             151857610087                Gas           Gov. Aggregation   COH             156762540060                Gas           Gov. Aggregation
COH             138146260058                Gas           Gov. Aggregation   COH             158076820073                Gas           Gov. Aggregation
COH             191840910018                Gas           Gov. Aggregation   COH             158340700022                Gas           Gov. Aggregation
COH             167586960027                Gas           Gov. Aggregation   COH             158480080018                Gas           Gov. Aggregation
COH             186884820012                Gas           Gov. Aggregation   COH             161963600019                Gas           Gov. Aggregation
COH             188334240026                Gas           Gov. Aggregation   COH             162122380017                Gas           Gov. Aggregation
COH             192139020011                Gas           Gov. Aggregation   COH             165107490013                Gas           Gov. Aggregation
COH             115038570040                Gas           Gov. Aggregation   COH             165233110024                Gas           Gov. Aggregation
COH             150646470012                Gas           Gov. Aggregation   COH             165344410035                Gas           Gov. Aggregation
COH             190724610018                Gas           Gov. Aggregation   COH             165657320013                Gas           Gov. Aggregation
COH             126838360027                Gas           Gov. Aggregation   COH             165703130014                Gas           Gov. Aggregation
COH             174497120023                Gas           Gov. Aggregation   COH             165720300012                Gas           Gov. Aggregation
COH             159514540044                Gas           Gov. Aggregation   COH             165825730029                Gas           Gov. Aggregation
COH             115080090051                Gas           Gov. Aggregation   COH             168898480017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             192023810010                Gas           Gov. Aggregation   COH             169252750035                Gas           Gov. Aggregation
COH             127089950021                Gas           Gov. Aggregation   COH             169666750010                Gas           Gov. Aggregation
COH             190341500013                Gas           Gov. Aggregation   COH             170196520012                Gas           Gov. Aggregation
COH             169625040024                Gas           Gov. Aggregation   COH             170239680026                Gas           Gov. Aggregation
COH             162509470018                Gas           Gov. Aggregation   COH             171582300018                Gas           Gov. Aggregation
COH             191151510013                Gas           Gov. Aggregation   COH             171944760023                Gas           Gov. Aggregation
COH             154865780028                Gas           Gov. Aggregation   COH             173238240018                Gas           Gov. Aggregation
COH             155660850062                Gas           Gov. Aggregation   COH             173424060039                Gas           Gov. Aggregation
COH             141435240036                Gas           Gov. Aggregation   COH             173802070017                Gas           Gov. Aggregation
COH             176310460033                Gas           Gov. Aggregation   COH             173918590013                Gas           Gov. Aggregation
COH             190544670018                Gas           Gov. Aggregation   COH             175140520014                Gas           Gov. Aggregation
COH             135179280067                Gas           Gov. Aggregation   COH             175153150033                Gas           Gov. Aggregation
COH             192057620019                Gas           Gov. Aggregation   COH             175600240062                Gas           Gov. Aggregation
COH             191831640014                Gas           Gov. Aggregation   COH             175697040016                Gas           Gov. Aggregation
COH             115018610016                Gas           Gov. Aggregation   COH             175799710019                Gas           Gov. Aggregation
COH             116254750123                Gas           Gov. Aggregation   COH             175827020013                Gas           Gov. Aggregation
COH             190848190015                Gas           Gov. Aggregation   COH             175848160029                Gas           Gov. Aggregation
COH             127082640057                Gas           Gov. Aggregation   COH             176686570026                Gas           Gov. Aggregation
COH             187428000046                Gas           Gov. Aggregation   COH             185781110065                Gas           Gov. Aggregation
COH             168530430060                Gas           Gov. Aggregation   COH             185781110083                Gas           Gov. Aggregation
COH             143136910199                Gas           Gov. Aggregation   COH             186293360021                Gas           Gov. Aggregation
COH             190521170011                Gas           Gov. Aggregation   COH             186339000019                Gas           Gov. Aggregation
COH             143136910180                Gas           Gov. Aggregation   COH             187522530018                Gas           Gov. Aggregation
COH             115006460031                Gas           Gov. Aggregation   COH             187538290025                Gas           Gov. Aggregation
COH             189805020022                Gas           Gov. Aggregation   COH             187626950010                Gas           Gov. Aggregation
COH             191176190019                Gas           Gov. Aggregation   COH             187653960020                Gas           Gov. Aggregation
COH             132659080046                Gas           Gov. Aggregation   COH             187732200012                Gas           Gov. Aggregation
COH             175730510033                Gas           Gov. Aggregation   COH             187765190025                Gas           Gov. Aggregation
COH             191225040015                Gas           Gov. Aggregation   COH             189172220014                Gas           Gov. Aggregation
COH             191053260014                Gas           Gov. Aggregation   COH             189328870017                Gas           Gov. Aggregation
COH             190891500018                Gas           Gov. Aggregation   COH             189612120011                Gas           Gov. Aggregation
COH             176725270034                Gas           Gov. Aggregation   COH             189646810015                Gas           Gov. Aggregation
COH             115007120012                Gas           Gov. Aggregation   COH             189655780013                Gas           Gov. Aggregation
COH             115003880020                Gas           Gov. Aggregation   COH             189733730017                Gas           Gov. Aggregation
COH             115019750024                Gas           Gov. Aggregation   COH             189781700012                Gas           Gov. Aggregation
COH             147164480026                Gas           Gov. Aggregation   COH             189834060014                Gas           Gov. Aggregation
COH             187230890030                Gas           Gov. Aggregation   COH             190904760015                Gas           Gov. Aggregation
COH             129853650183                Gas           Gov. Aggregation   COH             190927350013                Gas           Gov. Aggregation
COH             173510900011                Gas           Gov. Aggregation   COH             191454220012                Gas           Gov. Aggregation
COH             190281840010                Gas           Gov. Aggregation   COH             191456270018                Gas           Gov. Aggregation
COH             155208680020                Gas           Gov. Aggregation   COH             191480930018                Gas           Gov. Aggregation
COH             114951720016                Gas           Gov. Aggregation   COH             191541570014                Gas           Gov. Aggregation
COH             190435220013                Gas           Gov. Aggregation   COH             191573580015                Gas           Gov. Aggregation
COH             114891140016                Gas           Gov. Aggregation   COH             191607870011                Gas           Gov. Aggregation
COH             114889440018                Gas           Gov. Aggregation   COH             191823360010                Gas           Gov. Aggregation
COH             174269920108                Gas           Gov. Aggregation   COH             191934930015                Gas           Gov. Aggregation
COH             190831570010                Gas           Gov. Aggregation   COH             192054850017                Gas           Gov. Aggregation
COH             138001650025                Gas           Gov. Aggregation   COH             192063250014                Gas           Gov. Aggregation
COH             190777690011                Gas           Gov. Aggregation   COH             192137570010                Gas           Gov. Aggregation
COH             190491810011                Gas           Gov. Aggregation   COH             192377420013                Gas           Gov. Aggregation
COH             191209590014                Gas           Gov. Aggregation   COH             192382110017                Gas           Gov. Aggregation
COH             170751620040                Gas           Gov. Aggregation   COH             192382120015                Gas           Gov. Aggregation
COH             173020780034                Gas           Gov. Aggregation   COH             192417480015                Gas           Gov. Aggregation
COH             115042520023                Gas           Gov. Aggregation   COH             192469590013                Gas           Gov. Aggregation
COH             168214070039                Gas           Gov. Aggregation   COH             192581250016                Gas           Gov. Aggregation
COH             192107130015                Gas           Gov. Aggregation   COH             192612660013                Gas           Gov. Aggregation
COH             152514530034                Gas           Gov. Aggregation   COH             192662730013                Gas           Gov. Aggregation
COH             162257620155                Gas           Gov. Aggregation   COH             192677600019                Gas           Gov. Aggregation
COH             114918300023                Gas           Gov. Aggregation   COH             192869100017                Gas           Gov. Aggregation
COH             139764330016                Gas           Gov. Aggregation   COH             192945480016                Gas           Gov. Aggregation
COH             176900600014                Gas           Gov. Aggregation   COH             192976700014                Gas           Gov. Aggregation
COH             142862130088                Gas           Gov. Aggregation   COH             193170700011                Gas           Gov. Aggregation
COH             191677590013                Gas           Gov. Aggregation   COH             193171100015                Gas           Gov. Aggregation
COH             190537870011                Gas           Gov. Aggregation   COH             108746930015                Gas           Gov. Aggregation
COH             191456870012                Gas           Gov. Aggregation   COH             108748700028                Gas           Gov. Aggregation
COH             191414130015                Gas           Gov. Aggregation   COH             115142970027                Gas           Gov. Aggregation
COH             191176180011                Gas           Gov. Aggregation   COH             122442480025                Gas           Gov. Aggregation
COH             166852120118                Gas           Gov. Aggregation   COH             131308490026                Gas           Gov. Aggregation
COH             115008270028                Gas           Gov. Aggregation   COH             146687710039                Gas           Gov. Aggregation
COH             190496090139                Gas           Gov. Aggregation   COH             147448210039                Gas           Gov. Aggregation
COH             191061420013                Gas           Gov. Aggregation   COH             149468350045                Gas           Gov. Aggregation
COH             132433720012                Gas           Gov. Aggregation   COH             154657310027                Gas           Gov. Aggregation
COH             191186180010                Gas           Gov. Aggregation   COH             156367600010                Gas           Gov. Aggregation
COH             152318560034                Gas           Gov. Aggregation   COH             156469040012                Gas           Gov. Aggregation
COH             117112490010                Gas           Gov. Aggregation   COH             158412752518                Gas           Gov. Aggregation
COH             190174760023                Gas           Gov. Aggregation   COH             163043480022                Gas           Gov. Aggregation
COH             144299480060                Gas           Gov. Aggregation   COH             165232330048                Gas           Gov. Aggregation
COH             185970980035                Gas           Gov. Aggregation   COH             166291430042                Gas           Gov. Aggregation
COH             186926300011                Gas           Gov. Aggregation   COH             166860330028                Gas           Gov. Aggregation
COH             153777060027                Gas           Gov. Aggregation   COH             166965930011                Gas           Gov. Aggregation
COH             191874680016                Gas           Gov. Aggregation   COH             168539740021                Gas           Gov. Aggregation
COH             140764170035                Gas           Gov. Aggregation   COH             171032780040                Gas           Gov. Aggregation
COH             164792390032                Gas           Gov. Aggregation   COH             175002770078                Gas           Gov. Aggregation
COH             165870410021                Gas           Gov. Aggregation   COH             175107750016                Gas           Gov. Aggregation
COH             191376740019                Gas           Gov. Aggregation   COH             176843650034                Gas           Gov. Aggregation
COH             153548210048                Gas           Gov. Aggregation   COH             186561360022                Gas           Gov. Aggregation
COH             166416340027                Gas           Gov. Aggregation   COH             190592960034                Gas           Gov. Aggregation
COH             190453890015                Gas           Gov. Aggregation   COH             192859430028                Gas           Gov. Aggregation
COH             190750380012                Gas           Gov. Aggregation   COH             193017570013                Gas           Gov. Aggregation
COH             165086820028                Gas           Gov. Aggregation   COH             193170350015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             190584260010                Gas           Gov. Aggregation   COH             193170600012                Gas           Gov. Aggregation
COH             173477070027                Gas           Gov. Aggregation   COH             193196360019                Gas           Gov. Aggregation
COH             161814150046                Gas           Gov. Aggregation   COH             193259660012                Gas           Gov. Aggregation
COH             169689450033                Gas           Gov. Aggregation   COH             193308130018                Gas           Gov. Aggregation
COH             162290070017                Gas           Gov. Aggregation   COH             193324940014                Gas           Gov. Aggregation
COH             144970040040                Gas           Gov. Aggregation   COH             193325820017                Gas           Gov. Aggregation
COH             170557070011                Gas           Gov. Aggregation   COH             193325880015                Gas           Gov. Aggregation
COH             169951450027                Gas           Gov. Aggregation   COH             193358060018                Gas           Gov. Aggregation
COH             191376750017                Gas           Gov. Aggregation   COH             193358270014                Gas           Gov. Aggregation
COH             147831900022                Gas           Gov. Aggregation   COH             193398710017                Gas           Gov. Aggregation
COH             192340350015                Gas           Gov. Aggregation   COH             193416360011                Gas           Gov. Aggregation
COH             156680160037                Gas           Gov. Aggregation   COH             193419530019                Gas           Gov. Aggregation
COH             119426830039                Gas           Gov. Aggregation   COH             193424320012                Gas           Gov. Aggregation
COH             188468370017                Gas           Gov. Aggregation   COH             193435730013                Gas           Gov. Aggregation
COH             191521730012                Gas           Gov. Aggregation   COH             193435780013                Gas           Gov. Aggregation
COH             192274520010                Gas           Gov. Aggregation   COH             193456480012                Gas           Gov. Aggregation
COH             141865970050                Gas           Gov. Aggregation   COH             193456720011                Gas           Gov. Aggregation
COH             187841000013                Gas           Gov. Aggregation   COH             193461750014                Gas           Gov. Aggregation
COH             191880320018                Gas           Gov. Aggregation   COH             193475290012                Gas           Gov. Aggregation
COH             153273810054                Gas           Gov. Aggregation   COH             193486240019                Gas           Gov. Aggregation
COH             190864540017                Gas           Gov. Aggregation   DEO             2500055257310               Gas           Gov. Aggregation
COH             190766870016                Gas           Gov. Aggregation   COH             161907070046                Gas           Gov. Aggregation
COH             141172720060                Gas           Gov. Aggregation   VEDO            4016968162216129            Gas           Gov. Aggregation
COH             191298770019                Gas           Gov. Aggregation   COH             159872490038                Gas           Gov. Aggregation
COH             191352590011                Gas           Gov. Aggregation   COH             108808130011                Gas           Gov. Aggregation
COH             187459980037                Gas           Gov. Aggregation   COH             155950930024                Gas           Gov. Aggregation
COH             191344610013                Gas           Gov. Aggregation   COH             159564780049                Gas           Gov. Aggregation
COH             190916410013                Gas           Gov. Aggregation   COH             191903790010                Gas           Gov. Aggregation
COH             187580210031                Gas           Gov. Aggregation   COH             191939580019                Gas           Gov. Aggregation
COH             135333560033                Gas           Gov. Aggregation   COH             193332730011                Gas           Gov. Aggregation
COH             163356110026                Gas           Gov. Aggregation   COH             117245130023                Gas           Gov. Aggregation
COH             175466690019                Gas           Gov. Aggregation   COH             117311990013                Gas           Gov. Aggregation
COH             177796100011                Gas           Gov. Aggregation   COH             127441050059                Gas           Gov. Aggregation
COH             191828240015                Gas           Gov. Aggregation   COH             137769390016                Gas           Gov. Aggregation
COH             117241780098                Gas           Gov. Aggregation   COH             137916570024                Gas           Gov. Aggregation
COH             191700640011                Gas           Gov. Aggregation   COH             143579410034                Gas           Gov. Aggregation
COH             192234240013                Gas           Gov. Aggregation   COH             144093100029                Gas           Gov. Aggregation
COH             159315430021                Gas           Gov. Aggregation   COH             156692010024                Gas           Gov. Aggregation
COH             139503000035                Gas           Gov. Aggregation   COH             156747800049                Gas           Gov. Aggregation
COH             136271900050                Gas           Gov. Aggregation   COH             161814300044                Gas           Gov. Aggregation
COH             190811780027                Gas           Gov. Aggregation   COH             163688450022                Gas           Gov. Aggregation
COH             190714200015                Gas           Gov. Aggregation   COH             168320920017                Gas           Gov. Aggregation
COH             126950180018                Gas           Gov. Aggregation   COH             172193790010                Gas           Gov. Aggregation
COH             191444620019                Gas           Gov. Aggregation   COH             173944820028                Gas           Gov. Aggregation
COH             191625620015                Gas           Gov. Aggregation   COH             175530890038                Gas           Gov. Aggregation
COH             132844690018                Gas           Gov. Aggregation   COH             185118700155                Gas           Gov. Aggregation
COH             149714970015                Gas           Gov. Aggregation   COH             185885320025                Gas           Gov. Aggregation
COH             117248700018                Gas           Gov. Aggregation   COH             186852860020                Gas           Gov. Aggregation
COH             158200010023                Gas           Gov. Aggregation   COH             186854660019                Gas           Gov. Aggregation
COH             151593020027                Gas           Gov. Aggregation   COH             188768330019                Gas           Gov. Aggregation
COH             186496520018                Gas           Gov. Aggregation   COH             193402780012                Gas           Gov. Aggregation
COH             190957420015                Gas           Gov. Aggregation   COH             193451740017                Gas           Gov. Aggregation
COH             192658460019                Gas           Gov. Aggregation   COH             193475560015                Gas           Gov. Aggregation
COH             169341000042                Gas           Gov. Aggregation   COH             193489370016                Gas           Gov. Aggregation
COH             117255650032                Gas           Gov. Aggregation   COH             193519050018                Gas           Gov. Aggregation
COH             154415980038                Gas           Gov. Aggregation   COH             193536960011                Gas           Gov. Aggregation
COH             185986870035                Gas           Gov. Aggregation   COH             193569000013                Gas           Gov. Aggregation
DEO             3500054361241               Gas           Gov. Aggregation   COH             193582570016                Gas           Gov. Aggregation
DEO             0500050808938               Gas           Gov. Aggregation   COH             193582990018                Gas           Gov. Aggregation
COH             108708910019                Gas           Gov. Aggregation   COH             193583910012                Gas           Gov. Aggregation
COH             108766330019                Gas           Gov. Aggregation   COH             193589970018                Gas           Gov. Aggregation
COH             111053900015                Gas           Gov. Aggregation   COH             193597420016                Gas           Gov. Aggregation
COH             111062340014                Gas           Gov. Aggregation   COH             193597450010                Gas           Gov. Aggregation
COH             114902850012                Gas           Gov. Aggregation   COH             193597590011                Gas           Gov. Aggregation
COH             119476190020                Gas           Gov. Aggregation   COH             193628270011                Gas           Gov. Aggregation
COH             119953180020                Gas           Gov. Aggregation   COH             193635460016                Gas           Gov. Aggregation
COH             122666180024                Gas           Gov. Aggregation   COH             193647690013                Gas           Gov. Aggregation
COH             124080310017                Gas           Gov. Aggregation   COH             193665620019                Gas           Gov. Aggregation
COH             124440680016                Gas           Gov. Aggregation   COH             193678970019                Gas           Gov. Aggregation
COH             124442180017                Gas           Gov. Aggregation   COH             193679350017                Gas           Gov. Aggregation
COH             125917220029                Gas           Gov. Aggregation   DEO             4500054879210               Gas           Gov. Aggregation
COH             132274340136                Gas           Gov. Aggregation   VEDO            4004284312431666            Gas           Gov. Aggregation
COH             134586560119                Gas           Gov. Aggregation   VEDO            4004128122414633            Gas           Gov. Aggregation
COH             137963190034                Gas           Gov. Aggregation   COH             159174710059                Gas           Gov. Aggregation
COH             137983190014                Gas           Gov. Aggregation   COH             108804580015                Gas           Gov. Aggregation
COH             142219000033                Gas           Gov. Aggregation   COH             115878230014                Gas           Gov. Aggregation
COH             144581600010                Gas           Gov. Aggregation   COH             124035890155                Gas           Gov. Aggregation
COH             149711140015                Gas           Gov. Aggregation   COH             134006550020                Gas           Gov. Aggregation
COH             151086150052                Gas           Gov. Aggregation   COH             134153660080                Gas           Gov. Aggregation
COH             156598830120                Gas           Gov. Aggregation   COH             140596700058                Gas           Gov. Aggregation
COH             158568430027                Gas           Gov. Aggregation   COH             151511850016                Gas           Gov. Aggregation
COH             161650360013                Gas           Gov. Aggregation   COH             156605720046                Gas           Gov. Aggregation
COH             165156710013                Gas           Gov. Aggregation   COH             158045720024                Gas           Gov. Aggregation
COH             167185800039                Gas           Gov. Aggregation   COH             158959940021                Gas           Gov. Aggregation
COH             167841840020                Gas           Gov. Aggregation   COH             158982510013                Gas           Gov. Aggregation
COH             168824960011                Gas           Gov. Aggregation   COH             159332430025                Gas           Gov. Aggregation
COH             169461670011                Gas           Gov. Aggregation   COH             161068080026                Gas           Gov. Aggregation
COH             169726210033                Gas           Gov. Aggregation   COH             162871350034                Gas           Gov. Aggregation
COH             171398980071                Gas           Gov. Aggregation   COH             165593210076                Gas           Gov. Aggregation
COH             173001010017                Gas           Gov. Aggregation   COH             170682920044                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             173354000012                Gas           Gov. Aggregation   COH             171504670051                Gas           Gov. Aggregation
COH             174594180034                Gas           Gov. Aggregation   COH             174785260069                Gas           Gov. Aggregation
COH             174633960045                Gas           Gov. Aggregation   COH             176966730028                Gas           Gov. Aggregation
COH             174899550021                Gas           Gov. Aggregation   COH             185320540016                Gas           Gov. Aggregation
COH             174913350030                Gas           Gov. Aggregation   COH             185507580030                Gas           Gov. Aggregation
COH             177064140014                Gas           Gov. Aggregation   COH             187535100011                Gas           Gov. Aggregation
COH             177281690064                Gas           Gov. Aggregation   COH             187956970026                Gas           Gov. Aggregation
COH             177819310035                Gas           Gov. Aggregation   COH             193483630013                Gas           Gov. Aggregation
COH             185720510032                Gas           Gov. Aggregation   COH             193586410011                Gas           Gov. Aggregation
COH             186323380022                Gas           Gov. Aggregation   COH             193701990014                Gas           Gov. Aggregation
COH             188062840072                Gas           Gov. Aggregation   COH             193723640011                Gas           Gov. Aggregation
COH             189031340026                Gas           Gov. Aggregation   COH             193750860018                Gas           Gov. Aggregation
COH             189250710033                Gas           Gov. Aggregation   COH             193766060013                Gas           Gov. Aggregation
COH             190442890027                Gas           Gov. Aggregation   COH             193804370016                Gas           Gov. Aggregation
COH             191009970027                Gas           Gov. Aggregation   COH             193823600017                Gas           Gov. Aggregation
COH             192402700019                Gas           Gov. Aggregation   COH             193825700012                Gas           Gov. Aggregation
COH             192583910013                Gas           Gov. Aggregation   COH             193826570018                Gas           Gov. Aggregation
COH             192600380017                Gas           Gov. Aggregation   COH             193855080010                Gas           Gov. Aggregation
COH             192600420018                Gas           Gov. Aggregation   DEO             9420904935094               Gas           Gov. Aggregation
COH             192611150012                Gas           Gov. Aggregation   COH             189161350010                Gas           Gov. Aggregation
COH             192620180017                Gas           Gov. Aggregation   COH             192157900018                Gas           Gov. Aggregation
COH             192629100015                Gas           Gov. Aggregation   COH             127352290030                Gas           Gov. Aggregation
COH             192655300018                Gas           Gov. Aggregation   COH             185693780017                Gas           Gov. Aggregation
COH             192677440013                Gas           Gov. Aggregation   COH             133216780028                Gas           Gov. Aggregation
COH             192685040010                Gas           Gov. Aggregation   COH             193010050016                Gas           Gov. Aggregation
COH             192690050017                Gas           Gov. Aggregation   COH             192402970013                Gas           Gov. Aggregation
COH             192700990017                Gas           Gov. Aggregation   COH             153340450093                Gas           Gov. Aggregation
COH             192720170017                Gas           Gov. Aggregation   COH             141882360034                Gas           Gov. Aggregation
COH             192754200019                Gas           Gov. Aggregation   COH             192328520015                Gas           Gov. Aggregation
COH             192754290011                Gas           Gov. Aggregation   COH             189125130021                Gas           Gov. Aggregation
COH             192763880018                Gas           Gov. Aggregation   COH             123849170045                Gas           Gov. Aggregation
COH             192767820012                Gas           Gov. Aggregation   COH             191184380012                Gas           Gov. Aggregation
COH             192806320013                Gas           Gov. Aggregation   COH             193366350010                Gas           Gov. Aggregation
COH             192817820015                Gas           Gov. Aggregation   COH             192507340013                Gas           Gov. Aggregation
COH             192819610015                Gas           Gov. Aggregation   COH             153442590052                Gas           Gov. Aggregation
COH             192822490014                Gas           Gov. Aggregation   COH             130455470324                Gas           Gov. Aggregation
COH             192841970013                Gas           Gov. Aggregation   COH             191339580011                Gas           Gov. Aggregation
COH             192842310019                Gas           Gov. Aggregation   COH             192095040011                Gas           Gov. Aggregation
COH             192859120014                Gas           Gov. Aggregation   COH             123817420012                Gas           Gov. Aggregation
COH             192875060013                Gas           Gov. Aggregation   COH             168432250066                Gas           Gov. Aggregation
COH             192890860013                Gas           Gov. Aggregation   COH             192283950011                Gas           Gov. Aggregation
DEO             7500054444724               Gas           Gov. Aggregation   COH             193475280014                Gas           Gov. Aggregation
COH             147807930018                Gas           Gov. Aggregation   COH             123837970015                Gas           Gov. Aggregation
COH             106929350084                Gas           Gov. Aggregation   COH             142147740013                Gas           Gov. Aggregation
COH             110719450028                Gas           Gov. Aggregation   COH             193749670011                Gas           Gov. Aggregation
COH             116614700012                Gas           Gov. Aggregation   COH             169458640014                Gas           Gov. Aggregation
COH             192649050014                Gas           Gov. Aggregation   COH             123889020042                Gas           Gov. Aggregation
COH             176328320026                Gas           Gov. Aggregation   COH             193597680012                Gas           Gov. Aggregation
COH             144585340035                Gas           Gov. Aggregation   COH             152927240058                Gas           Gov. Aggregation
COH             128825150017                Gas           Gov. Aggregation   COH             188176120036                Gas           Gov. Aggregation
COH             156414110049                Gas           Gov. Aggregation   COH             193269750012                Gas           Gov. Aggregation
COH             174714810017                Gas           Gov. Aggregation   COH             141812310077                Gas           Gov. Aggregation
COH             135270530033                Gas           Gov. Aggregation   COH             192392230011                Gas           Gov. Aggregation
COH             142318290015                Gas           Gov. Aggregation   COH             189884210026                Gas           Gov. Aggregation
COH             187271420014                Gas           Gov. Aggregation   COH             166290350050                Gas           Gov. Aggregation
COH             135660640024                Gas           Gov. Aggregation   COH             192510370010                Gas           Gov. Aggregation
COH             112284560017                Gas           Gov. Aggregation   COH             192180510011                Gas           Gov. Aggregation
COH             186634130016                Gas           Gov. Aggregation   COH             192385330015                Gas           Gov. Aggregation
COH             142559730012                Gas           Gov. Aggregation   COH             163279650018                Gas           Gov. Aggregation
COH             112301470027                Gas           Gov. Aggregation   COH             193972190019                Gas           Gov. Aggregation
COH             160107200018                Gas           Gov. Aggregation   COH             192005680016                Gas           Gov. Aggregation
COH             112256750025                Gas           Gov. Aggregation   COH             186077840028                Gas           Gov. Aggregation
COH             112254450022                Gas           Gov. Aggregation   COH             190720380033                Gas           Gov. Aggregation
COH             143556870045                Gas           Gov. Aggregation   COH             192589340011                Gas           Gov. Aggregation
COH             148107550020                Gas           Gov. Aggregation   COH             123892300046                Gas           Gov. Aggregation
COH             145587980018                Gas           Gov. Aggregation   COH             193510810016                Gas           Gov. Aggregation
COH             112235460020                Gas           Gov. Aggregation   COH             123907200017                Gas           Gov. Aggregation
COH             112286130013                Gas           Gov. Aggregation   COH             187870880027                Gas           Gov. Aggregation
COH             145231990037                Gas           Gov. Aggregation   COH             149514520031                Gas           Gov. Aggregation
COH             173837570019                Gas           Gov. Aggregation   COH             186504900028                Gas           Gov. Aggregation
COH             191307610011                Gas           Gov. Aggregation   COH             188631360012                Gas           Gov. Aggregation
COH             165896200021                Gas           Gov. Aggregation   COH             126443830025                Gas           Gov. Aggregation
COH             186561620018                Gas           Gov. Aggregation   COH             174771700056                Gas           Gov. Aggregation
COH             147577050012                Gas           Gov. Aggregation   COH             192619630015                Gas           Gov. Aggregation
COH             145545950012                Gas           Gov. Aggregation   COH             193597690010                Gas           Gov. Aggregation
COH             162756110010                Gas           Gov. Aggregation   COH             193017670012                Gas           Gov. Aggregation
COH             129499780026                Gas           Gov. Aggregation   COH             164254580014                Gas           Gov. Aggregation
COH             135030860041                Gas           Gov. Aggregation   COH             193512780028                Gas           Gov. Aggregation
COH             149880710036                Gas           Gov. Aggregation   COH             185475940033                Gas           Gov. Aggregation
COH             116549720062                Gas           Gov. Aggregation   COH             189727450037                Gas           Gov. Aggregation
COH             151358520011                Gas           Gov. Aggregation   COH             114706110013                Gas           Gov. Aggregation
COH             112220100026                Gas           Gov. Aggregation   COH             158600150017                Gas           Gov. Aggregation
COH             112214320014                Gas           Gov. Aggregation   COH             189686940014                Gas           Gov. Aggregation
COH             147040680026                Gas           Gov. Aggregation   COH             186514460011                Gas           Gov. Aggregation
COH             112322890025                Gas           Gov. Aggregation   COH             127632520046                Gas           Gov. Aggregation
COH             112217230017                Gas           Gov. Aggregation   COH             110584630134                Gas           Gov. Aggregation
COH             163605930016                Gas           Gov. Aggregation   COH             121962200013                Gas           Gov. Aggregation
COH             191812410012                Gas           Gov. Aggregation   COH             124392260017                Gas           Gov. Aggregation
COH             130512570018                Gas           Gov. Aggregation   COH             124424240049                Gas           Gov. Aggregation
COH             185386750014                Gas           Gov. Aggregation   COH             136836940241                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             157130110013                Gas           Gov. Aggregation   COH             136836940250                Gas           Gov. Aggregation
COH             171879970046                Gas           Gov. Aggregation   COH             139832830061                Gas           Gov. Aggregation
COH             172199250011                Gas           Gov. Aggregation   COH             149649290035                Gas           Gov. Aggregation
COH             112302050023                Gas           Gov. Aggregation   COH             154754740030                Gas           Gov. Aggregation
COH             127541120034                Gas           Gov. Aggregation   COH             159408450057                Gas           Gov. Aggregation
COH             185107640017                Gas           Gov. Aggregation   COH             160582400056                Gas           Gov. Aggregation
COH             136988140015                Gas           Gov. Aggregation   COH             160869020049                Gas           Gov. Aggregation
COH             160618860017                Gas           Gov. Aggregation   COH             163279240112                Gas           Gov. Aggregation
COH             189439940017                Gas           Gov. Aggregation   COH             173459510086                Gas           Gov. Aggregation
COH             127378060025                Gas           Gov. Aggregation   COH             175143720016                Gas           Gov. Aggregation
COH             146847890014                Gas           Gov. Aggregation   COH             190482860038                Gas           Gov. Aggregation
COH             112248130068                Gas           Gov. Aggregation   COH             193824790016                Gas           Gov. Aggregation
COH             137087770058                Gas           Gov. Aggregation   COH             193860970012                Gas           Gov. Aggregation
COH             192889100015                Gas           Gov. Aggregation   COH             193865570016                Gas           Gov. Aggregation
COH             174416010017                Gas           Gov. Aggregation   COH             193886520012                Gas           Gov. Aggregation
COH             186815760010                Gas           Gov. Aggregation   COH             193904850013                Gas           Gov. Aggregation
COH             154945880036                Gas           Gov. Aggregation   COH             193905770018                Gas           Gov. Aggregation
COH             112287510011                Gas           Gov. Aggregation   COH             193932460016                Gas           Gov. Aggregation
COH             112257930025                Gas           Gov. Aggregation   COH             193932850014                Gas           Gov. Aggregation
COH             112298140061                Gas           Gov. Aggregation   COH             193960110010                Gas           Gov. Aggregation
COH             192498010013                Gas           Gov. Aggregation   COH             193967080013                Gas           Gov. Aggregation
COH             142411370010                Gas           Gov. Aggregation   COH             193971950011                Gas           Gov. Aggregation
COH             159440120012                Gas           Gov. Aggregation   COH             193972100017                Gas           Gov. Aggregation
COH             189922150018                Gas           Gov. Aggregation   COH             193972360013                Gas           Gov. Aggregation
COH             145602590016                Gas           Gov. Aggregation   COH             193975450018                Gas           Gov. Aggregation
COH             136451770029                Gas           Gov. Aggregation   COH             193975640018                Gas           Gov. Aggregation
COH             168119340025                Gas           Gov. Aggregation   COH             193977910017                Gas           Gov. Aggregation
COH             192189270014                Gas           Gov. Aggregation   COH             193980080015                Gas           Gov. Aggregation
COH             131682640031                Gas           Gov. Aggregation   COH             193988010013                Gas           Gov. Aggregation
COH             138753200026                Gas           Gov. Aggregation   COH             194050940014                Gas           Gov. Aggregation
COH             171856450016                Gas           Gov. Aggregation   COH             194054550018                Gas           Gov. Aggregation
COH             112304610030                Gas           Gov. Aggregation   COH             194064820010                Gas           Gov. Aggregation
COH             112261430021                Gas           Gov. Aggregation   COH             194068280016                Gas           Gov. Aggregation
COH             113767690024                Gas           Gov. Aggregation   COH             194073070019                Gas           Gov. Aggregation
COH             171634050010                Gas           Gov. Aggregation   COH             194109360011                Gas           Gov. Aggregation
COH             112238850022                Gas           Gov. Aggregation   COH             194110330014                Gas           Gov. Aggregation
COH             191258630012                Gas           Gov. Aggregation   VEDO            4002084682203734            Gas           Gov. Aggregation
COH             150616860013                Gas           Gov. Aggregation   VEDO            4002084682254125            Gas           Gov. Aggregation
COH             153833280012                Gas           Gov. Aggregation   COH             173944550025                Gas           Gov. Aggregation
COH             113236650027                Gas           Gov. Aggregation   COH             194132120012                Gas           Gov. Aggregation
COH             158807170024                Gas           Gov. Aggregation   VEDO            4004691302502906            Gas           Gov. Aggregation
COH             112993160027                Gas           Gov. Aggregation   DEO             6500060732021               Gas           Gov. Aggregation
COH             157000740025                Gas           Gov. Aggregation   COH             111191230023                Gas           Gov. Aggregation
COH             137004750010                Gas           Gov. Aggregation   COH             117106820040                Gas           Gov. Aggregation
COH             174618020017                Gas           Gov. Aggregation   COH             141156800021                Gas           Gov. Aggregation
COH             192289590015                Gas           Gov. Aggregation   COH             150418840017                Gas           Gov. Aggregation
COH             112279810024                Gas           Gov. Aggregation   COH             151660070033                Gas           Gov. Aggregation
COH             112258110016                Gas           Gov. Aggregation   COH             158843900051                Gas           Gov. Aggregation
COH             112217770032                Gas           Gov. Aggregation   COH             172591220024                Gas           Gov. Aggregation
COH             112217770014                Gas           Gov. Aggregation   COH             188725890021                Gas           Gov. Aggregation
COH             112217750018                Gas           Gov. Aggregation   COH             190022950060                Gas           Gov. Aggregation
COH             187429950018                Gas           Gov. Aggregation   COH             192041720020                Gas           Gov. Aggregation
COH             141946030037                Gas           Gov. Aggregation   COH             194078250011                Gas           Gov. Aggregation
COH             190653130010                Gas           Gov. Aggregation   COH             194087070010                Gas           Gov. Aggregation
COH             112216650011                Gas           Gov. Aggregation   COH             194091950016                Gas           Gov. Aggregation
COH             188843600012                Gas           Gov. Aggregation   COH             194217510010                Gas           Gov. Aggregation
COH             168808220010                Gas           Gov. Aggregation   VEDO            4003038692523597            Gas           Gov. Aggregation
COH             158398940021                Gas           Gov. Aggregation   COH             122076820020                Gas           Gov. Aggregation
COH             150822230036                Gas           Gov. Aggregation   COH             124333310029                Gas           Gov. Aggregation
COH             161054200010                Gas           Gov. Aggregation   COH             124341540024                Gas           Gov. Aggregation
COH             112290610022                Gas           Gov. Aggregation   COH             124389600012                Gas           Gov. Aggregation
COH             112314000046                Gas           Gov. Aggregation   COH             124400240021                Gas           Gov. Aggregation
COH             160192120025                Gas           Gov. Aggregation   COH             124437680013                Gas           Gov. Aggregation
COH             191602060039                Gas           Gov. Aggregation   COH             124437770014                Gas           Gov. Aggregation
COH             148522240043                Gas           Gov. Aggregation   COH             124437810024                Gas           Gov. Aggregation
COH             174761450014                Gas           Gov. Aggregation   COH             124439120016                Gas           Gov. Aggregation
COH             186166740011                Gas           Gov. Aggregation   COH             124494390014                Gas           Gov. Aggregation
COH             148522240034                Gas           Gov. Aggregation   COH             124494470017                Gas           Gov. Aggregation
COH             148522240052                Gas           Gov. Aggregation   COH             124388490027                Gas           Gov. Aggregation
COH             140772990018                Gas           Gov. Aggregation   COH             124390700018                Gas           Gov. Aggregation
COH             134097580023                Gas           Gov. Aggregation   COH             124396590029                Gas           Gov. Aggregation
COH             191500210015                Gas           Gov. Aggregation   COH             124419760041                Gas           Gov. Aggregation
COH             169150100019                Gas           Gov. Aggregation   COH             124422950026                Gas           Gov. Aggregation
COH             155645820015                Gas           Gov. Aggregation   COH             124430470011                Gas           Gov. Aggregation
COH             112676640037                Gas           Gov. Aggregation   COH             124502440014                Gas           Gov. Aggregation
COH             112676640028                Gas           Gov. Aggregation   COH             124308680025                Gas           Gov. Aggregation
COH             150527320015                Gas           Gov. Aggregation   COH             124314480015                Gas           Gov. Aggregation
COH             131729730023                Gas           Gov. Aggregation   COH             124324560035                Gas           Gov. Aggregation
COH             162540110044                Gas           Gov. Aggregation   COH             124389620027                Gas           Gov. Aggregation
COH             191356290016                Gas           Gov. Aggregation   COH             124390470044                Gas           Gov. Aggregation
COH             163885200017                Gas           Gov. Aggregation   COH             124393100027                Gas           Gov. Aggregation
COH             171920990016                Gas           Gov. Aggregation   COH             124445570019                Gas           Gov. Aggregation
COH             192958890013                Gas           Gov. Aggregation   COH             124494290015                Gas           Gov. Aggregation
COH             141094650016                Gas           Gov. Aggregation   COH             124504780019                Gas           Gov. Aggregation
COH             112184240016                Gas           Gov. Aggregation   COH             124532370016                Gas           Gov. Aggregation
COH             168584680010                Gas           Gov. Aggregation   COH             124533100038                Gas           Gov. Aggregation
COH             112215990021                Gas           Gov. Aggregation   COH             124533310016                Gas           Gov. Aggregation
COH             112216020013                Gas           Gov. Aggregation   COH             124677920023                Gas           Gov. Aggregation
COH             112291720027                Gas           Gov. Aggregation   COH             124377390012                Gas           Gov. Aggregation
COH             190121340013                Gas           Gov. Aggregation   COH             124427520017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             112269210021                Gas           Gov. Aggregation   COH             124429770039                Gas           Gov. Aggregation
COH             112217130018                Gas           Gov. Aggregation   COH             124430440017                Gas           Gov. Aggregation
COH             112217140016                Gas           Gov. Aggregation   COH             124504960011                Gas           Gov. Aggregation
COH             192145190013                Gas           Gov. Aggregation   COH             124507960015                Gas           Gov. Aggregation
COH             159309830039                Gas           Gov. Aggregation   COH             124522140015                Gas           Gov. Aggregation
COH             112216040037                Gas           Gov. Aggregation   COH             124522660016                Gas           Gov. Aggregation
COH             163620040039                Gas           Gov. Aggregation   COH             124532900014                Gas           Gov. Aggregation
COH             177379440014                Gas           Gov. Aggregation   COH             124746260043                Gas           Gov. Aggregation
COH             135413910048                Gas           Gov. Aggregation   COH             124503440012                Gas           Gov. Aggregation
COH             128684130048                Gas           Gov. Aggregation   COH             124521240025                Gas           Gov. Aggregation
COH             161047750010                Gas           Gov. Aggregation   COH             124532380014                Gas           Gov. Aggregation
COH             133333380060                Gas           Gov. Aggregation   COH             124732780034                Gas           Gov. Aggregation
COH             191893900019                Gas           Gov. Aggregation   COH             124741200036                Gas           Gov. Aggregation
COH             112200220023                Gas           Gov. Aggregation   COH             124533200019                Gas           Gov. Aggregation
COH             112293350012                Gas           Gov. Aggregation   COH             125372340020                Gas           Gov. Aggregation
COH             112294850015                Gas           Gov. Aggregation   COH             125442740036                Gas           Gov. Aggregation
COH             155765020037                Gas           Gov. Aggregation   COH             124858960021                Gas           Gov. Aggregation
COH             170032300023                Gas           Gov. Aggregation   COH             125042280022                Gas           Gov. Aggregation
COH             187896600012                Gas           Gov. Aggregation   COH             125191180028                Gas           Gov. Aggregation
COH             121875250027                Gas           Gov. Aggregation   COH             124922890047                Gas           Gov. Aggregation
COH             133173220018                Gas           Gov. Aggregation   COH             125007790029                Gas           Gov. Aggregation
COH             155688120021                Gas           Gov. Aggregation   COH             125339810021                Gas           Gov. Aggregation
COH             113288860024                Gas           Gov. Aggregation   COH             125459820025                Gas           Gov. Aggregation
COH             112497390049                Gas           Gov. Aggregation   COH             125467260026                Gas           Gov. Aggregation
COH             127266440022                Gas           Gov. Aggregation   COH             131236410016                Gas           Gov. Aggregation
COH             165642540027                Gas           Gov. Aggregation   COH             131260350027                Gas           Gov. Aggregation
COH             112213900014                Gas           Gov. Aggregation   COH             127570210016                Gas           Gov. Aggregation
COH             138757650015                Gas           Gov. Aggregation   COH             130589610018                Gas           Gov. Aggregation
COH             127323680020                Gas           Gov. Aggregation   COH             132317380029                Gas           Gov. Aggregation
COH             112185660016                Gas           Gov. Aggregation   COH             127089960047                Gas           Gov. Aggregation
COH             112189720015                Gas           Gov. Aggregation   COH             127171180019                Gas           Gov. Aggregation
COH             162354480042                Gas           Gov. Aggregation   COH             131151350019                Gas           Gov. Aggregation
COH             188569260025                Gas           Gov. Aggregation   COH             131412560011                Gas           Gov. Aggregation
COH             190766070014                Gas           Gov. Aggregation   COH             129340110021                Gas           Gov. Aggregation
COH             153354930020                Gas           Gov. Aggregation   COH             130203170044                Gas           Gov. Aggregation
COH             142416970032                Gas           Gov. Aggregation   COH             130203710013                Gas           Gov. Aggregation
COH             140172790012                Gas           Gov. Aggregation   COH             130238600022                Gas           Gov. Aggregation
COH             177284410011                Gas           Gov. Aggregation   COH             130344170019                Gas           Gov. Aggregation
COH             112442710028                Gas           Gov. Aggregation   COH             132713430019                Gas           Gov. Aggregation
COH             141716950013                Gas           Gov. Aggregation   COH             134457290048                Gas           Gov. Aggregation
COH             174267370028                Gas           Gov. Aggregation   COH             135498410018                Gas           Gov. Aggregation
COH             170213420015                Gas           Gov. Aggregation   COH             135839990031                Gas           Gov. Aggregation
COH             147163880051                Gas           Gov. Aggregation   COH             133039570019                Gas           Gov. Aggregation
COH             165509350029                Gas           Gov. Aggregation   COH             135304820011                Gas           Gov. Aggregation
COH             190826360015                Gas           Gov. Aggregation   COH             136540210018                Gas           Gov. Aggregation
COH             112293730012                Gas           Gov. Aggregation   COH             133225460026                Gas           Gov. Aggregation
COH             152292520038                Gas           Gov. Aggregation   COH             133458380011                Gas           Gov. Aggregation
COH             156908530035                Gas           Gov. Aggregation   COH             133999750026                Gas           Gov. Aggregation
COH             137001020028                Gas           Gov. Aggregation   COH             134167390015                Gas           Gov. Aggregation
COH             112115830053                Gas           Gov. Aggregation   COH             134875120038                Gas           Gov. Aggregation
COH             168091100034                Gas           Gov. Aggregation   COH             135476800012                Gas           Gov. Aggregation
COH             170316550010                Gas           Gov. Aggregation   COH             136639080017                Gas           Gov. Aggregation
COH             155738160026                Gas           Gov. Aggregation   COH             134533970016                Gas           Gov. Aggregation
COH             144822670023                Gas           Gov. Aggregation   COH             137033300022                Gas           Gov. Aggregation
COH             131504720021                Gas           Gov. Aggregation   COH             139580790010                Gas           Gov. Aggregation
COH             192946020010                Gas           Gov. Aggregation   COH             140346220012                Gas           Gov. Aggregation
COH             143790860023                Gas           Gov. Aggregation   COH             140954720027                Gas           Gov. Aggregation
COH             112222230034                Gas           Gov. Aggregation   COH             140112050068                Gas           Gov. Aggregation
COH             139712460027                Gas           Gov. Aggregation   COH             140353890026                Gas           Gov. Aggregation
COH             173786150016                Gas           Gov. Aggregation   COH             136808240023                Gas           Gov. Aggregation
COH             166047580020                Gas           Gov. Aggregation   COH             138533250013                Gas           Gov. Aggregation
COH             190783200010                Gas           Gov. Aggregation   COH             138144780026                Gas           Gov. Aggregation
COH             137725200026                Gas           Gov. Aggregation   COH             138965710020                Gas           Gov. Aggregation
COH             186710810011                Gas           Gov. Aggregation   COH             139231870030                Gas           Gov. Aggregation
COH             191954140019                Gas           Gov. Aggregation   COH             139639010027                Gas           Gov. Aggregation
COH             112229420021                Gas           Gov. Aggregation   COH             139671580048                Gas           Gov. Aggregation
COH             164329280018                Gas           Gov. Aggregation   COH             142606410027                Gas           Gov. Aggregation
COH             150966250029                Gas           Gov. Aggregation   COH             142803140026                Gas           Gov. Aggregation
COH             133502040017                Gas           Gov. Aggregation   COH             143331020021                Gas           Gov. Aggregation
COH             132326760011                Gas           Gov. Aggregation   COH             143358470030                Gas           Gov. Aggregation
COH             189549080015                Gas           Gov. Aggregation   COH             144542010025                Gas           Gov. Aggregation
COH             137152960013                Gas           Gov. Aggregation   COH             141026730021                Gas           Gov. Aggregation
COH             165562470022                Gas           Gov. Aggregation   COH             141266650011                Gas           Gov. Aggregation
COH             170590210011                Gas           Gov. Aggregation   COH             141674290021                Gas           Gov. Aggregation
COH             163349960032                Gas           Gov. Aggregation   COH             142578860015                Gas           Gov. Aggregation
COH             150888890012                Gas           Gov. Aggregation   COH             145690660016                Gas           Gov. Aggregation
COH             136892710018                Gas           Gov. Aggregation   COH             145769220020                Gas           Gov. Aggregation
COH             112286440018                Gas           Gov. Aggregation   COH             146427770046                Gas           Gov. Aggregation
COH             112284730039                Gas           Gov. Aggregation   COH             147921060028                Gas           Gov. Aggregation
COH             191802170014                Gas           Gov. Aggregation   COH             143489550018                Gas           Gov. Aggregation
COH             191882150010                Gas           Gov. Aggregation   COH             145118730022                Gas           Gov. Aggregation
COH             148572540018                Gas           Gov. Aggregation   COH             146080950026                Gas           Gov. Aggregation
COH             152050400026                Gas           Gov. Aggregation   COH             146654820071                Gas           Gov. Aggregation
COH             192945910015                Gas           Gov. Aggregation   COH             146827670012                Gas           Gov. Aggregation
COH             188662630010                Gas           Gov. Aggregation   COH             148270020026                Gas           Gov. Aggregation
COH             150377350027                Gas           Gov. Aggregation   COH             145232940026                Gas           Gov. Aggregation
COH             144182430012                Gas           Gov. Aggregation   COH             145487640011                Gas           Gov. Aggregation
COH             142607880036                Gas           Gov. Aggregation   COH             146492310018                Gas           Gov. Aggregation
COH             146608940019                Gas           Gov. Aggregation   COH             144770330025                Gas           Gov. Aggregation
COH             141645200020                Gas           Gov. Aggregation   COH             147386410020                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             188746490012                Gas           Gov. Aggregation   COH             147513370028                Gas           Gov. Aggregation
COH             131527150078                Gas           Gov. Aggregation   COH             150212040011                Gas           Gov. Aggregation
COH             152985010027                Gas           Gov. Aggregation   COH             150354180012                Gas           Gov. Aggregation
COH             176052560012                Gas           Gov. Aggregation   COH             150377450026                Gas           Gov. Aggregation
COH             112250940027                Gas           Gov. Aggregation   COH             151069710041                Gas           Gov. Aggregation
COH             112305020023                Gas           Gov. Aggregation   COH             148963720020                Gas           Gov. Aggregation
COH             189486110012                Gas           Gov. Aggregation   COH             150437460017                Gas           Gov. Aggregation
COH             155607000026                Gas           Gov. Aggregation   COH             150495910010                Gas           Gov. Aggregation
COH             112303900022                Gas           Gov. Aggregation   COH             153913250018                Gas           Gov. Aggregation
COH             174563050018                Gas           Gov. Aggregation   COH             149622170027                Gas           Gov. Aggregation
COH             188599820015                Gas           Gov. Aggregation   COH             149629800039                Gas           Gov. Aggregation
COH             139558990024                Gas           Gov. Aggregation   COH             153118900026                Gas           Gov. Aggregation
COH             165720750018                Gas           Gov. Aggregation   COH             153647550010                Gas           Gov. Aggregation
COH             144093880026                Gas           Gov. Aggregation   COH             153764590032                Gas           Gov. Aggregation
COH             162365730019                Gas           Gov. Aggregation   COH             154446530037                Gas           Gov. Aggregation
COH             138560820016                Gas           Gov. Aggregation   COH             154864800016                Gas           Gov. Aggregation
COH             130424340022                Gas           Gov. Aggregation   COH             154966570028                Gas           Gov. Aggregation
COH             127069100021                Gas           Gov. Aggregation   COH             155119490010                Gas           Gov. Aggregation
COH             135143100032                Gas           Gov. Aggregation   COH             152900680016                Gas           Gov. Aggregation
COH             177353010018                Gas           Gov. Aggregation   COH             153015680021                Gas           Gov. Aggregation
COH             113322060028                Gas           Gov. Aggregation   COH             153462000026                Gas           Gov. Aggregation
COH             163889130023                Gas           Gov. Aggregation   COH             153550100019                Gas           Gov. Aggregation
COH             191909610015                Gas           Gov. Aggregation   COH             154707780102                Gas           Gov. Aggregation
COH             142384490023                Gas           Gov. Aggregation   COH             155251480012                Gas           Gov. Aggregation
COH             153629840044                Gas           Gov. Aggregation   COH             155447270011                Gas           Gov. Aggregation
COH             150147610010                Gas           Gov. Aggregation   COH             155460650013                Gas           Gov. Aggregation
COH             112566440176                Gas           Gov. Aggregation   COH             156234550021                Gas           Gov. Aggregation
COH             174802460014                Gas           Gov. Aggregation   COH             152634950014                Gas           Gov. Aggregation
COH             139360240039                Gas           Gov. Aggregation   COH             152670370029                Gas           Gov. Aggregation
COH             162079950038                Gas           Gov. Aggregation   COH             155845730010                Gas           Gov. Aggregation
COH             188957670017                Gas           Gov. Aggregation   COH             156616920014                Gas           Gov. Aggregation
COH             191536110011                Gas           Gov. Aggregation   COH             156644700020                Gas           Gov. Aggregation
COH             187164750012                Gas           Gov. Aggregation   COH             154823560013                Gas           Gov. Aggregation
COH             192061760011                Gas           Gov. Aggregation   COH             132797340012                Gas           Gov. Aggregation
COH             192879080011                Gas           Gov. Aggregation   COH             155660150014                Gas           Gov. Aggregation
COH             158808620036                Gas           Gov. Aggregation   COH             155845970029                Gas           Gov. Aggregation
COH             175617500035                Gas           Gov. Aggregation   COH             156865620010                Gas           Gov. Aggregation
COH             192692310018                Gas           Gov. Aggregation   COH             157646320016                Gas           Gov. Aggregation
COH             112222670014                Gas           Gov. Aggregation   COH             158116910023                Gas           Gov. Aggregation
COH             112222710015                Gas           Gov. Aggregation   COH             158143080021                Gas           Gov. Aggregation
COH             186430980010                Gas           Gov. Aggregation   COH             158305060021                Gas           Gov. Aggregation
COH             153735890030                Gas           Gov. Aggregation   COH             157683620015                Gas           Gov. Aggregation
COH             147210050036                Gas           Gov. Aggregation   COH             157998640014                Gas           Gov. Aggregation
COH             137842350018                Gas           Gov. Aggregation   COH             156304660010                Gas           Gov. Aggregation
COH             112313180032                Gas           Gov. Aggregation   COH             156467900024                Gas           Gov. Aggregation
COH             191150610014                Gas           Gov. Aggregation   COH             156515220015                Gas           Gov. Aggregation
COH             162281390019                Gas           Gov. Aggregation   COH             158017750027                Gas           Gov. Aggregation
COH             166457030026                Gas           Gov. Aggregation   COH             158383990013                Gas           Gov. Aggregation
COH             138649930015                Gas           Gov. Aggregation   COH             158074560063                Gas           Gov. Aggregation
COH             137486990047                Gas           Gov. Aggregation   COH             159670120015                Gas           Gov. Aggregation
COH             112257520012                Gas           Gov. Aggregation   COH             159733340024                Gas           Gov. Aggregation
COH             112262120051                Gas           Gov. Aggregation   COH             160122670036                Gas           Gov. Aggregation
COH             113030140020                Gas           Gov. Aggregation   COH             160266480014                Gas           Gov. Aggregation
COH             174766120013                Gas           Gov. Aggregation   COH             161736000025                Gas           Gov. Aggregation
COH             191654930019                Gas           Gov. Aggregation   COH             162054480039                Gas           Gov. Aggregation
COH             113430830036                Gas           Gov. Aggregation   COH             158597380018                Gas           Gov. Aggregation
COH             165631640010                Gas           Gov. Aggregation   COH             158995210028                Gas           Gov. Aggregation
COH             174211790027                Gas           Gov. Aggregation   COH             159097760017                Gas           Gov. Aggregation
COH             149150220027                Gas           Gov. Aggregation   COH             159126850015                Gas           Gov. Aggregation
COH             151414360024                Gas           Gov. Aggregation   COH             159550150013                Gas           Gov. Aggregation
COH             171911890016                Gas           Gov. Aggregation   COH             159892780026                Gas           Gov. Aggregation
COH             172626980011                Gas           Gov. Aggregation   COH             160480720019                Gas           Gov. Aggregation
COH             112295070035                Gas           Gov. Aggregation   COH             161610940015                Gas           Gov. Aggregation
COH             146899580010                Gas           Gov. Aggregation   COH             162176450019                Gas           Gov. Aggregation
COH             161989440037                Gas           Gov. Aggregation   COH             162843380055                Gas           Gov. Aggregation
COH             188726880012                Gas           Gov. Aggregation   COH             163512870025                Gas           Gov. Aggregation
COH             161507090022                Gas           Gov. Aggregation   COH             163515920019                Gas           Gov. Aggregation
COH             139127840019                Gas           Gov. Aggregation   COH             162151630013                Gas           Gov. Aggregation
COH             155913120013                Gas           Gov. Aggregation   COH             162842040012                Gas           Gov. Aggregation
COH             176674240011                Gas           Gov. Aggregation   COH             163132010012                Gas           Gov. Aggregation
COH             137826000015                Gas           Gov. Aggregation   COH             163205690015                Gas           Gov. Aggregation
COH             146112460020                Gas           Gov. Aggregation   COH             163665740010                Gas           Gov. Aggregation
COH             188699050015                Gas           Gov. Aggregation   COH             164391890019                Gas           Gov. Aggregation
COH             168061650041                Gas           Gov. Aggregation   COH             164441300015                Gas           Gov. Aggregation
COH             173090450018                Gas           Gov. Aggregation   COH             164786420038                Gas           Gov. Aggregation
COH             172101070023                Gas           Gov. Aggregation   COH             163378690010                Gas           Gov. Aggregation
COH             192707810010                Gas           Gov. Aggregation   COH             163395990020                Gas           Gov. Aggregation
COH             188836410017                Gas           Gov. Aggregation   COH             163484000019                Gas           Gov. Aggregation
COH             170772090020                Gas           Gov. Aggregation   COH             165044860019                Gas           Gov. Aggregation
COH             134408000023                Gas           Gov. Aggregation   COH             165162280020                Gas           Gov. Aggregation
COH             190467630010                Gas           Gov. Aggregation   COH             165687030011                Gas           Gov. Aggregation
COH             166697190025                Gas           Gov. Aggregation   COH             164416910010                Gas           Gov. Aggregation
COH             160388270029                Gas           Gov. Aggregation   COH             164904410010                Gas           Gov. Aggregation
COH             112892350110                Gas           Gov. Aggregation   COH             165340690017                Gas           Gov. Aggregation
COH             135959250023                Gas           Gov. Aggregation   COH             165345090013                Gas           Gov. Aggregation
COH             191267730021                Gas           Gov. Aggregation   COH             164302650025                Gas           Gov. Aggregation
COH             109455150042                Gas           Gov. Aggregation   COH             164614200028                Gas           Gov. Aggregation
COH             122274760014                Gas           Gov. Aggregation   COH             165667790014                Gas           Gov. Aggregation
COH             123693780048                Gas           Gov. Aggregation   COH             165671800012                Gas           Gov. Aggregation
COH             123703930034                Gas           Gov. Aggregation   COH             166350260015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             130238600013                Gas           Gov. Aggregation   COH             166850090011                Gas           Gov. Aggregation
COH             134065000012                Gas           Gov. Aggregation   COH             167237840012                Gas           Gov. Aggregation
COH             134113270013                Gas           Gov. Aggregation   COH             167674550017                Gas           Gov. Aggregation
COH             134851910023                Gas           Gov. Aggregation   COH             167841740012                Gas           Gov. Aggregation
COH             140504220061                Gas           Gov. Aggregation   COH             158580940015                Gas           Gov. Aggregation
COH             143590530026                Gas           Gov. Aggregation   COH             165926630017                Gas           Gov. Aggregation
COH             144094040020                Gas           Gov. Aggregation   COH             167872670058                Gas           Gov. Aggregation
COH             145154380020                Gas           Gov. Aggregation   COH             168204140026                Gas           Gov. Aggregation
COH             146178400042                Gas           Gov. Aggregation   COH             168981500015                Gas           Gov. Aggregation
COH             148688000016                Gas           Gov. Aggregation   COH             170296000028                Gas           Gov. Aggregation
COH             154702490014                Gas           Gov. Aggregation   COH             166591860019                Gas           Gov. Aggregation
COH             155137470034                Gas           Gov. Aggregation   COH             167409120018                Gas           Gov. Aggregation
COH             155708320016                Gas           Gov. Aggregation   COH             168569620014                Gas           Gov. Aggregation
COH             156577580047                Gas           Gov. Aggregation   COH             168213470019                Gas           Gov. Aggregation
COH             157817170051                Gas           Gov. Aggregation   COH             168222890012                Gas           Gov. Aggregation
COH             162281860029                Gas           Gov. Aggregation   COH             168632210015                Gas           Gov. Aggregation
COH             162331420024                Gas           Gov. Aggregation   COH             168785250014                Gas           Gov. Aggregation
COH             166206200030                Gas           Gov. Aggregation   COH             168824250010                Gas           Gov. Aggregation
COH             168026760015                Gas           Gov. Aggregation   COH             168912370036                Gas           Gov. Aggregation
COH             168784180020                Gas           Gov. Aggregation   COH             169535650018                Gas           Gov. Aggregation
COH             171351510031                Gas           Gov. Aggregation   COH             169546940014                Gas           Gov. Aggregation
COH             172762090038                Gas           Gov. Aggregation   COH             170599140018                Gas           Gov. Aggregation
COH             176320240029                Gas           Gov. Aggregation   COH             170694930010                Gas           Gov. Aggregation
COH             187583270033                Gas           Gov. Aggregation   COH             170995920014                Gas           Gov. Aggregation
COH             188669980013                Gas           Gov. Aggregation   COH             171115000010                Gas           Gov. Aggregation
COH             188849430025                Gas           Gov. Aggregation   COH             171115090012                Gas           Gov. Aggregation
COH             190840820027                Gas           Gov. Aggregation   COH             171214260043                Gas           Gov. Aggregation
COH             192765720017                Gas           Gov. Aggregation   COH             171237700015                Gas           Gov. Aggregation
COH             192790350012                Gas           Gov. Aggregation   COH             171264940018                Gas           Gov. Aggregation
COH             192801020016                Gas           Gov. Aggregation   COH             170651100014                Gas           Gov. Aggregation
COH             192824610014                Gas           Gov. Aggregation   COH             171615080014                Gas           Gov. Aggregation
COH             192868950011                Gas           Gov. Aggregation   COH             172427920015                Gas           Gov. Aggregation
COH             192869020014                Gas           Gov. Aggregation   COH             170334800019                Gas           Gov. Aggregation
COH             192886330013                Gas           Gov. Aggregation   COH             171386630024                Gas           Gov. Aggregation
COH             192899180018                Gas           Gov. Aggregation   COH             172663950028                Gas           Gov. Aggregation
COH             192921730013                Gas           Gov. Aggregation   COH             173018470025                Gas           Gov. Aggregation
COH             192922390013                Gas           Gov. Aggregation   COH             172523150022                Gas           Gov. Aggregation
COH             192922440012                Gas           Gov. Aggregation   COH             172833880013                Gas           Gov. Aggregation
COH             192943650014                Gas           Gov. Aggregation   COH             173322520010                Gas           Gov. Aggregation
COH             192958670019                Gas           Gov. Aggregation   COH             173916480010                Gas           Gov. Aggregation
COH             192961600016                Gas           Gov. Aggregation   COH             173720480024                Gas           Gov. Aggregation
COH             192969410010                Gas           Gov. Aggregation   COH             174574950034                Gas           Gov. Aggregation
COH             192971810011                Gas           Gov. Aggregation   COH             174689900022                Gas           Gov. Aggregation
COH             192976630019                Gas           Gov. Aggregation   COH             175695320011                Gas           Gov. Aggregation
COH             192987710019                Gas           Gov. Aggregation   COH             172977890017                Gas           Gov. Aggregation
COH             192988510019                Gas           Gov. Aggregation   COH             173385490024                Gas           Gov. Aggregation
COH             192999360018                Gas           Gov. Aggregation   COH             175122160018                Gas           Gov. Aggregation
COH             193013180013                Gas           Gov. Aggregation   COH             172892100021                Gas           Gov. Aggregation
COH             193016790019                Gas           Gov. Aggregation   COH             173055030010                Gas           Gov. Aggregation
COH             193030080018                Gas           Gov. Aggregation   COH             173583090019                Gas           Gov. Aggregation
COH             193046340010                Gas           Gov. Aggregation   COH             176062000018                Gas           Gov. Aggregation
COH             193052010016                Gas           Gov. Aggregation   COH             175878400034                Gas           Gov. Aggregation
COH             193053190017                Gas           Gov. Aggregation   COH             176310020017                Gas           Gov. Aggregation
COH             193077190017                Gas           Gov. Aggregation   COH             176814250020                Gas           Gov. Aggregation
COH             193085880015                Gas           Gov. Aggregation   COH             176406940011                Gas           Gov. Aggregation
DEO             7500054826457               Gas           Gov. Aggregation   COH             176686720033                Gas           Gov. Aggregation
COH             185974490012                Gas           Gov. Aggregation   COH             176810860011                Gas           Gov. Aggregation
COH             186226970024                Gas           Gov. Aggregation   COH             176328690010                Gas           Gov. Aggregation
COH             190076690035                Gas           Gov. Aggregation   COH             176814380014                Gas           Gov. Aggregation
COH             191366940018                Gas           Gov. Aggregation   COH             177108020015                Gas           Gov. Aggregation
COH             191387400017                Gas           Gov. Aggregation   COH             185283990012                Gas           Gov. Aggregation
COH             191548400015                Gas           Gov. Aggregation   COH             177747460019                Gas           Gov. Aggregation
COH             122345710013                Gas           Gov. Aggregation   COH             177797240029                Gas           Gov. Aggregation
DEO             0500054791093               Gas           Gov. Aggregation   COH             185752460027                Gas           Gov. Aggregation
COH             137112050018                Gas           Gov. Aggregation   COH             123568520029                Gas           Gov. Aggregation
COH             174413830020                Gas           Gov. Aggregation   COH             123739850027                Gas           Gov. Aggregation
COH             123662770018                Gas           Gov. Aggregation   COH             123750650025                Gas           Gov. Aggregation
COH             111223750016                Gas           Gov. Aggregation   COH             186389840018                Gas           Gov. Aggregation
COH             111239030023                Gas           Gov. Aggregation   COH             177578360019                Gas           Gov. Aggregation
COH             139978520022                Gas           Gov. Aggregation   COH             177704120010                Gas           Gov. Aggregation
COH             144271660024                Gas           Gov. Aggregation   COH             186253360034                Gas           Gov. Aggregation
COH             160007010047                Gas           Gov. Aggregation   COH             186372640015                Gas           Gov. Aggregation
COH             161049740018                Gas           Gov. Aggregation   COH             185724420015                Gas           Gov. Aggregation
COH             162160480034                Gas           Gov. Aggregation   COH             186226590015                Gas           Gov. Aggregation
COH             163083580018                Gas           Gov. Aggregation   COH             187062490013                Gas           Gov. Aggregation
COH             191302580018                Gas           Gov. Aggregation   COH             187109090017                Gas           Gov. Aggregation
COH             191648890011                Gas           Gov. Aggregation   COH             123743820015                Gas           Gov. Aggregation
COH             192211050011                Gas           Gov. Aggregation   COH             123745620013                Gas           Gov. Aggregation
COH             192266230018                Gas           Gov. Aggregation   COH             123746800013                Gas           Gov. Aggregation
COH             192737460011                Gas           Gov. Aggregation   COH             123749280026                Gas           Gov. Aggregation
COH             192879700010                Gas           Gov. Aggregation   COH             123750970019                Gas           Gov. Aggregation
VEDO            4004014302402216            Gas           Gov. Aggregation   COH             123761630017                Gas           Gov. Aggregation
VEDO            4018757532468968            Gas           Gov. Aggregation   COH             187834620018                Gas           Gov. Aggregation
VEDO            4018522412311158            Gas           Gov. Aggregation   COH             186381910046                Gas           Gov. Aggregation
VEDO            4018777032187553            Gas           Gov. Aggregation   COH             187294170019                Gas           Gov. Aggregation
VEDO            4004539242210650            Gas           Gov. Aggregation   COH             187386290019                Gas           Gov. Aggregation
VEDO            4016295572152779            Gas           Gov. Aggregation   COH             125738340024                Gas           Gov. Aggregation
VEDO            4003782042377114            Gas           Gov. Aggregation   COH             188571880011                Gas           Gov. Aggregation
VEDO            4004990592131198            Gas           Gov. Aggregation   COH             187515790019                Gas           Gov. Aggregation
VEDO            4015569802357006            Gas           Gov. Aggregation   COH             187795220016                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4003643402362412            Gas           Gov. Aggregation   COH             188235420019                Gas           Gov. Aggregation
VEDO         4003344852115729            Gas           Gov. Aggregation   COH             188472780012                Gas           Gov. Aggregation
VEDO         4016007982174921            Gas           Gov. Aggregation   COH             188534510016                Gas           Gov. Aggregation
VEDO         4018687072632595            Gas           Gov. Aggregation   COH             188567150013                Gas           Gov. Aggregation
VEDO         4018660342470652            Gas           Gov. Aggregation   COH             188802550028                Gas           Gov. Aggregation
VEDO         4001734822313663            Gas           Gov. Aggregation   COH             188802620023                Gas           Gov. Aggregation
VEDO         4001326082224903            Gas           Gov. Aggregation   COH             188858690013                Gas           Gov. Aggregation
VEDO         4001391992424685            Gas           Gov. Aggregation   COH             188868280018                Gas           Gov. Aggregation
VEDO         4018214332199874            Gas           Gov. Aggregation   COH             188996070039                Gas           Gov. Aggregation
VEDO         4018493392348894            Gas           Gov. Aggregation   COH             189023330016                Gas           Gov. Aggregation
VEDO         4018428972421770            Gas           Gov. Aggregation   COH             189238200018                Gas           Gov. Aggregation
VEDO         4003164682499052            Gas           Gov. Aggregation   COH             189851070016                Gas           Gov. Aggregation
VEDO         4018501992159184            Gas           Gov. Aggregation   COH             190434540018                Gas           Gov. Aggregation
VEDO         4017841112317543            Gas           Gov. Aggregation   COH             190442330015                Gas           Gov. Aggregation
VEDO         4015692942151216            Gas           Gov. Aggregation   COH             188995940010                Gas           Gov. Aggregation
VEDO         4018334082423325            Gas           Gov. Aggregation   COH             189930820010                Gas           Gov. Aggregation
VEDO         4015500462429792            Gas           Gov. Aggregation   COH             190160860012                Gas           Gov. Aggregation
VEDO         4018589512256812            Gas           Gov. Aggregation   COH             190161930024                Gas           Gov. Aggregation
VEDO         4017737922484747            Gas           Gov. Aggregation   COH             190712340010                Gas           Gov. Aggregation
VEDO         4018690222130373            Gas           Gov. Aggregation   COH             190542030016                Gas           Gov. Aggregation
VEDO         4017058552503758            Gas           Gov. Aggregation   COH             190634670017                Gas           Gov. Aggregation
VEDO         4017402982227501            Gas           Gov. Aggregation   COH             109579540011                Gas           Gov. Aggregation
VEDO         4016653132261246            Gas           Gov. Aggregation   COH             109579980019                Gas           Gov. Aggregation
VEDO         4002796442274615            Gas           Gov. Aggregation   COH             191020220011                Gas           Gov. Aggregation
VEDO         4018768282323589            Gas           Gov. Aggregation   COH             190982420012                Gas           Gov. Aggregation
VEDO         4018754762335990            Gas           Gov. Aggregation   COH             191568870015                Gas           Gov. Aggregation
VEDO         4002646222261266            Gas           Gov. Aggregation   COH             191827810017                Gas           Gov. Aggregation
VEDO         4001279422126268            Gas           Gov. Aggregation   COH             191550790019                Gas           Gov. Aggregation
VEDO         4018370292163560            Gas           Gov. Aggregation   COH             191579800016                Gas           Gov. Aggregation
VEDO         4018444932482065            Gas           Gov. Aggregation   COH             191582850019                Gas           Gov. Aggregation
VEDO         4001223682638323            Gas           Gov. Aggregation   COH             191592770015                Gas           Gov. Aggregation
VEDO         4018679782372639            Gas           Gov. Aggregation   COH             191627200019                Gas           Gov. Aggregation
VEDO         4015601342143449            Gas           Gov. Aggregation   COH             191707930016                Gas           Gov. Aggregation
VEDO         4018468182384332            Gas           Gov. Aggregation   COH             191882620011                Gas           Gov. Aggregation
VEDO         4015167262110706            Gas           Gov. Aggregation   COH             191896310017                Gas           Gov. Aggregation
VEDO         4018584032328864            Gas           Gov. Aggregation   COH             191917290016                Gas           Gov. Aggregation
VEDO         4001724962591088            Gas           Gov. Aggregation   COH             145370570013                Gas           Gov. Aggregation
VEDO         4018552532320060            Gas           Gov. Aggregation   COH             191868570021                Gas           Gov. Aggregation
VEDO         4015655832472966            Gas           Gov. Aggregation   COH             192192530012                Gas           Gov. Aggregation
VEDO         4016049792578868            Gas           Gov. Aggregation   COH             192222040010                Gas           Gov. Aggregation
VEDO         4017313052171152            Gas           Gov. Aggregation   COH             192314690019                Gas           Gov. Aggregation
VEDO         4015129312468426            Gas           Gov. Aggregation   COH             149931970097                Gas           Gov. Aggregation
VEDO         4018805782380359            Gas           Gov. Aggregation   COH             150240240029                Gas           Gov. Aggregation
VEDO         4016721462364240            Gas           Gov. Aggregation   COH             192186880012                Gas           Gov. Aggregation
VEDO         4004935632503437            Gas           Gov. Aggregation   COH             192238090017                Gas           Gov. Aggregation
VEDO         4017993812231727            Gas           Gov. Aggregation   COH             192244150011                Gas           Gov. Aggregation
VEDO         4002143562209502            Gas           Gov. Aggregation   COH             192257110012                Gas           Gov. Aggregation
VEDO         4018677512230007            Gas           Gov. Aggregation   COH             192396800013                Gas           Gov. Aggregation
VEDO         4018610852534638            Gas           Gov. Aggregation   COH             192755030013                Gas           Gov. Aggregation
VEDO         4003038692513050            Gas           Gov. Aggregation   COH             192798560012                Gas           Gov. Aggregation
VEDO         4018388702318785            Gas           Gov. Aggregation   COH             192765840012                Gas           Gov. Aggregation
VEDO         4016309772636676            Gas           Gov. Aggregation   COH             154914660046                Gas           Gov. Aggregation
VEDO         4018794862364290            Gas           Gov. Aggregation   COH             193171380017                Gas           Gov. Aggregation
VEDO         4001121862228577            Gas           Gov. Aggregation   COH             193196940017                Gas           Gov. Aggregation
VEDO         4016903482512085            Gas           Gov. Aggregation   COH             192850090019                Gas           Gov. Aggregation
VEDO         4018441892440962            Gas           Gov. Aggregation   COH             193003750014                Gas           Gov. Aggregation
VEDO         4004455022450370            Gas           Gov. Aggregation   COH             193387030013                Gas           Gov. Aggregation
VEDO         4017271882514230            Gas           Gov. Aggregation   COH             193403930018                Gas           Gov. Aggregation
VEDO         4003455402342620            Gas           Gov. Aggregation   COH             193542730016                Gas           Gov. Aggregation
VEDO         4015406472540880            Gas           Gov. Aggregation   COH             193341510018                Gas           Gov. Aggregation
VEDO         4001245842123140            Gas           Gov. Aggregation   COH             193666090019                Gas           Gov. Aggregation
VEDO         4017797352420820            Gas           Gov. Aggregation   COH             163555060016                Gas           Gov. Aggregation
VEDO         4016695472107950            Gas           Gov. Aggregation   COH             193779050018                Gas           Gov. Aggregation
VEDO         4001033602103230            Gas           Gov. Aggregation   COH             193915820016                Gas           Gov. Aggregation
VEDO         4004271462430240            Gas           Gov. Aggregation   COH             194106560015                Gas           Gov. Aggregation
VEDO         4002831292411080            Gas           Gov. Aggregation   COH             193367710012                Gas           Gov. Aggregation
VEDO         4018104082204190            Gas           Gov. Aggregation   COH             194142650010                Gas           Gov. Aggregation
VEDO         4002526332124120            Gas           Gov. Aggregation   COH             194281810012                Gas           Gov. Aggregation
VEDO         4003979412226920            Gas           Gov. Aggregation   COH             194320860018                Gas           Gov. Aggregation
VEDO         4002827422277730            Gas           Gov. Aggregation   COH             110950400019                Gas           Gov. Aggregation
VEDO         4002850462280080            Gas           Gov. Aggregation   COH             110992350021                Gas           Gov. Aggregation
VEDO         4017572952482810            Gas           Gov. Aggregation   COH             111025000013                Gas           Gov. Aggregation
VEDO         4003140652220310            Gas           Gov. Aggregation   COH             110899390012                Gas           Gov. Aggregation
VEDO         4001938282364960            Gas           Gov. Aggregation   COH             110919890013                Gas           Gov. Aggregation
VEDO         4003678752366140            Gas           Gov. Aggregation   COH             110920140017                Gas           Gov. Aggregation
VEDO         4002439972238890            Gas           Gov. Aggregation   COH             110921450010                Gas           Gov. Aggregation
VEDO         4015382522539800            Gas           Gov. Aggregation   COH             110928770019                Gas           Gov. Aggregation
VEDO         4015464982494280            Gas           Gov. Aggregation   COH             110972080020                Gas           Gov. Aggregation
VEDO         4001093402108860            Gas           Gov. Aggregation   COH             110992470026                Gas           Gov. Aggregation
VEDO         4004065342407790            Gas           Gov. Aggregation   COH             110992760016                Gas           Gov. Aggregation
VEDO         4001093762108900            Gas           Gov. Aggregation   COH             110993270017                Gas           Gov. Aggregation
VEDO         4001237802122420            Gas           Gov. Aggregation   COH             111005840037                Gas           Gov. Aggregation
VEDO         4001762702171980            Gas           Gov. Aggregation   COH             111180210011                Gas           Gov. Aggregation
VEDO         4002144852182620            Gas           Gov. Aggregation   COH             121931180013                Gas           Gov. Aggregation
VEDO         4002937042330850            Gas           Gov. Aggregation   COH             121940930016                Gas           Gov. Aggregation
VEDO         4016056152351950            Gas           Gov. Aggregation   COH             121942820024                Gas           Gov. Aggregation
VEDO         4018079502384960            Gas           Gov. Aggregation   COH             121947060015                Gas           Gov. Aggregation
VEDO         4002946742202580            Gas           Gov. Aggregation   COH             122374520012                Gas           Gov. Aggregation
VEDO         4003521122349430            Gas           Gov. Aggregation   COH             122515380058                Gas           Gov. Aggregation
VEDO         4003961582103970            Gas           Gov. Aggregation   COH             122354690064                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4004566662462730            Gas           Gov. Aggregation   COH             122406250010                Gas           Gov. Aggregation
VEDO            4018279472203990            Gas           Gov. Aggregation   COH             122474750012                Gas           Gov. Aggregation
VEDO            4001389422136530            Gas           Gov. Aggregation   COH             122483310015                Gas           Gov. Aggregation
VEDO            4001571012153750            Gas           Gov. Aggregation   COH             122373290022                Gas           Gov. Aggregation
VEDO            4003731872371820            Gas           Gov. Aggregation   COH             122396280017                Gas           Gov. Aggregation
VEDO            4004502082455590            Gas           Gov. Aggregation   COH             122515510032                Gas           Gov. Aggregation
VEDO            4017990532454570            Gas           Gov. Aggregation   COH             122477840017                Gas           Gov. Aggregation
VEDO            4018076512188040            Gas           Gov. Aggregation   COH             122479380010                Gas           Gov. Aggregation
VEDO            4002031902629140            Gas           Gov. Aggregation   COH             122483140011                Gas           Gov. Aggregation
VEDO            4003663402364510            Gas           Gov. Aggregation   COH             122486420025                Gas           Gov. Aggregation
VEDO            4015035162120280            Gas           Gov. Aggregation   COH             123964200017                Gas           Gov. Aggregation
VEDO            4017974962115710            Gas           Gov. Aggregation   COH             123996100011                Gas           Gov. Aggregation
VEDO            4002731532499000            Gas           Gov. Aggregation   COH             124013860013                Gas           Gov. Aggregation
COH             117477110026                Gas           Gov. Aggregation   COH             124016110023                Gas           Gov. Aggregation
COH             122163310013                Gas           Gov. Aggregation   COH             124132480011                Gas           Gov. Aggregation
COH             123630340051                Gas           Gov. Aggregation   COH             124132970027                Gas           Gov. Aggregation
COH             124311050020                Gas           Gov. Aggregation   COH             124230570023                Gas           Gov. Aggregation
COH             124311050039                Gas           Gov. Aggregation   COH             123963350036                Gas           Gov. Aggregation
COH             131174980019                Gas           Gov. Aggregation   COH             123995110020                Gas           Gov. Aggregation
COH             132491430039                Gas           Gov. Aggregation   COH             124013660024                Gas           Gov. Aggregation
COH             142199100027                Gas           Gov. Aggregation   COH             124014980016                Gas           Gov. Aggregation
COH             146077110010                Gas           Gov. Aggregation   COH             124037130025                Gas           Gov. Aggregation
COH             147482110065                Gas           Gov. Aggregation   COH             152274400022                Gas           Gov. Aggregation
COH             152278940012                Gas           Gov. Aggregation   COH             124564720015                Gas           Gov. Aggregation
COH             152427400036                Gas           Gov. Aggregation   COH             124615930012                Gas           Gov. Aggregation
COH             153495440043                Gas           Gov. Aggregation   COH             124616530014                Gas           Gov. Aggregation
COH             158488690087                Gas           Gov. Aggregation   COH             127411860025                Gas           Gov. Aggregation
COH             159220910094                Gas           Gov. Aggregation   COH             131546230017                Gas           Gov. Aggregation
COH             159637890032                Gas           Gov. Aggregation   COH             132427400012                Gas           Gov. Aggregation
COH             161935900033                Gas           Gov. Aggregation   COH             124581700031                Gas           Gov. Aggregation
COH             164175330014                Gas           Gov. Aggregation   COH             132708280021                Gas           Gov. Aggregation
COH             167240630037                Gas           Gov. Aggregation   COH             133679150011                Gas           Gov. Aggregation
COH             168559900016                Gas           Gov. Aggregation   COH             135870310055                Gas           Gov. Aggregation
COH             173030120059                Gas           Gov. Aggregation   COH             158666910055                Gas           Gov. Aggregation
COH             176558430080                Gas           Gov. Aggregation   COH             132974210022                Gas           Gov. Aggregation
COH             176791760032                Gas           Gov. Aggregation   COH             138657220017                Gas           Gov. Aggregation
COH             176983960131                Gas           Gov. Aggregation   COH             138675680013                Gas           Gov. Aggregation
COH             177061930087                Gas           Gov. Aggregation   COH             132015470011                Gas           Gov. Aggregation
COH             177212140037                Gas           Gov. Aggregation   COH             138933090019                Gas           Gov. Aggregation
COH             185970110028                Gas           Gov. Aggregation   COH             137819850021                Gas           Gov. Aggregation
COH             189370070025                Gas           Gov. Aggregation   COH             134691860015                Gas           Gov. Aggregation
COH             189375690034                Gas           Gov. Aggregation   COH             134786810023                Gas           Gov. Aggregation
COH             190473420039                Gas           Gov. Aggregation   COH             135221600040                Gas           Gov. Aggregation
COH             192838450019                Gas           Gov. Aggregation   COH             136993400019                Gas           Gov. Aggregation
COH             192906630016                Gas           Gov. Aggregation   COH             141127300054                Gas           Gov. Aggregation
COH             192971090013                Gas           Gov. Aggregation   COH             141611490021                Gas           Gov. Aggregation
COH             193059730011                Gas           Gov. Aggregation   COH             141826230057                Gas           Gov. Aggregation
COH             193060480011                Gas           Gov. Aggregation   COH             111111740015                Gas           Gov. Aggregation
COH             193069500018                Gas           Gov. Aggregation   COH             111112480018                Gas           Gov. Aggregation
COH             193089500016                Gas           Gov. Aggregation   COH             123532110011                Gas           Gov. Aggregation
COH             193094450016                Gas           Gov. Aggregation   COH             126722280010                Gas           Gov. Aggregation
COH             193101450019                Gas           Gov. Aggregation   COH             143621610040                Gas           Gov. Aggregation
COH             193102700014                Gas           Gov. Aggregation   COH             143836720015                Gas           Gov. Aggregation
COH             193114710017                Gas           Gov. Aggregation   COH             112055760010                Gas           Gov. Aggregation
COH             193126720010                Gas           Gov. Aggregation   COH             114439320016                Gas           Gov. Aggregation
COH             193137210014                Gas           Gov. Aggregation   COH             142275140018                Gas           Gov. Aggregation
COH             193137230010                Gas           Gov. Aggregation   COH             145520440011                Gas           Gov. Aggregation
COH             193143940018                Gas           Gov. Aggregation   COH             146359380016                Gas           Gov. Aggregation
COH             193151740013                Gas           Gov. Aggregation   COH             148666100020                Gas           Gov. Aggregation
COH             193170390017                Gas           Gov. Aggregation   COH             146984390019                Gas           Gov. Aggregation
COH             193196400010                Gas           Gov. Aggregation   COH             147485310067                Gas           Gov. Aggregation
COH             193204960014                Gas           Gov. Aggregation   COH             146247960011                Gas           Gov. Aggregation
COH             193224380014                Gas           Gov. Aggregation   COH             150696270028                Gas           Gov. Aggregation
COH             193259590017                Gas           Gov. Aggregation   COH             129128120010                Gas           Gov. Aggregation
COH             193281320016                Gas           Gov. Aggregation   COH             129542190018                Gas           Gov. Aggregation
COH             193324960010                Gas           Gov. Aggregation   COH             131993580017                Gas           Gov. Aggregation
COH             106929350057                Gas           Gov. Aggregation   COH             134414860011                Gas           Gov. Aggregation
COH             111249870035                Gas           Gov. Aggregation   COH             123114270041                Gas           Gov. Aggregation
COH             144614740038                Gas           Gov. Aggregation   COH             128945230034                Gas           Gov. Aggregation
COH             159664580012                Gas           Gov. Aggregation   COH             130510240011                Gas           Gov. Aggregation
COH             190441280018                Gas           Gov. Aggregation   COH             134271160012                Gas           Gov. Aggregation
COH             190558650013                Gas           Gov. Aggregation   COH             137621190010                Gas           Gov. Aggregation
COH             191450470018                Gas           Gov. Aggregation   COH             138168570020                Gas           Gov. Aggregation
COH             192176690013                Gas           Gov. Aggregation   COH             154548250012                Gas           Gov. Aggregation
COH             192256150016                Gas           Gov. Aggregation   COH             154685460018                Gas           Gov. Aggregation
COH             192311360014                Gas           Gov. Aggregation   COH             155120170014                Gas           Gov. Aggregation
COH             193145240011                Gas           Gov. Aggregation   COH             155142470024                Gas           Gov. Aggregation
COH             193223310010                Gas           Gov. Aggregation   COH             151762270026                Gas           Gov. Aggregation
COH             193223310038                Gas           Gov. Aggregation   COH             152045490010                Gas           Gov. Aggregation
DEO             7500054953264               Gas           Gov. Aggregation   COH             138047390015                Gas           Gov. Aggregation
VEDO            4003820692381436            Gas           Gov. Aggregation   COH             140655880019                Gas           Gov. Aggregation
VEDO            4001596282156147            Gas           Gov. Aggregation   COH             155078210016                Gas           Gov. Aggregation
VEDO            4015980222600138            Gas           Gov. Aggregation   COH             114682290018                Gas           Gov. Aggregation
VEDO            4004866832495866            Gas           Gov. Aggregation   COH             115372910013                Gas           Gov. Aggregation
VEDO            4002759392427786            Gas           Gov. Aggregation   COH             115373120017                Gas           Gov. Aggregation
VEDO            4002189122212199            Gas           Gov. Aggregation   COH             134717120014                Gas           Gov. Aggregation
VEDO            4004687512476153            Gas           Gov. Aggregation   COH             135357360017                Gas           Gov. Aggregation
VEDO            4017209752391343            Gas           Gov. Aggregation   COH             157733050018                Gas           Gov. Aggregation
VEDO            4001233402121995            Gas           Gov. Aggregation   COH             157187490042                Gas           Gov. Aggregation
VEDO            4002978502178108            Gas           Gov. Aggregation   COH             158198090024                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4002871522282161            Gas           Gov. Aggregation   COH             159325790034                Gas           Gov. Aggregation
VEDO         4003486672345852            Gas           Gov. Aggregation   COH             114693910014                Gas           Gov. Aggregation
VEDO         4003518912402374            Gas           Gov. Aggregation   COH             115444640026                Gas           Gov. Aggregation
VEDO         4002487102243628            Gas           Gov. Aggregation   COH             159505400033                Gas           Gov. Aggregation
VEDO         4003330262520542            Gas           Gov. Aggregation   COH             141538750111                Gas           Gov. Aggregation
VEDO         4003514082348673            Gas           Gov. Aggregation   COH             116936220039                Gas           Gov. Aggregation
VEDO         4004895562600137            Gas           Gov. Aggregation   COH             116937330034                Gas           Gov. Aggregation
VEDO         4016549652597673            Gas           Gov. Aggregation   COH             117035280027                Gas           Gov. Aggregation
VEDO         4016632672585093            Gas           Gov. Aggregation   COH             141313720015                Gas           Gov. Aggregation
VEDO         4002686712537278            Gas           Gov. Aggregation   COH             143303680013                Gas           Gov. Aggregation
VEDO         4017541092571763            Gas           Gov. Aggregation   COH             145482230017                Gas           Gov. Aggregation
VEDO         4015320242538143            Gas           Gov. Aggregation   COH             148197230019                Gas           Gov. Aggregation
VEDO         4016845622602908            Gas           Gov. Aggregation   COH             117166070024                Gas           Gov. Aggregation
VEDO         4004572712463403            Gas           Gov. Aggregation   COH             117110620025                Gas           Gov. Aggregation
VEDO         4003010522296415            Gas           Gov. Aggregation   COH             117345790014                Gas           Gov. Aggregation
VEDO         4018236172482414            Gas           Gov. Aggregation   COH             117347310010                Gas           Gov. Aggregation
VEDO         4003275772323696            Gas           Gov. Aggregation   COH             162053200011                Gas           Gov. Aggregation
VEDO         4004310642434529            Gas           Gov. Aggregation   COH             117299720017                Gas           Gov. Aggregation
VEDO         4004603012466795            Gas           Gov. Aggregation   COH             117302810028                Gas           Gov. Aggregation
VEDO         4003427862339719            Gas           Gov. Aggregation   COH             117329270026                Gas           Gov. Aggregation
VEDO         4003569652354566            Gas           Gov. Aggregation   COH             117331310013                Gas           Gov. Aggregation
VEDO         4001930002188465            Gas           Gov. Aggregation   COH             117331360013                Gas           Gov. Aggregation
VEDO         4015269702353328            Gas           Gov. Aggregation   COH             117361850053                Gas           Gov. Aggregation
VEDO         4004066232145182            Gas           Gov. Aggregation   COH             163252510111                Gas           Gov. Aggregation
VEDO         4001933432262962            Gas           Gov. Aggregation   COH             117323900016                Gas           Gov. Aggregation
VEDO         4004109212412589            Gas           Gov. Aggregation   COH             117330990013                Gas           Gov. Aggregation
VEDO         4002122542319903            Gas           Gov. Aggregation   COH             117362500018                Gas           Gov. Aggregation
VEDO         4002675492262437            Gas           Gov. Aggregation   COH             117364740014                Gas           Gov. Aggregation
VEDO         4004405112444929            Gas           Gov. Aggregation   COH             117411190028                Gas           Gov. Aggregation
VEDO         4016486202101727            Gas           Gov. Aggregation   COH             161971360013                Gas           Gov. Aggregation
VEDO         4004279112431106            Gas           Gov. Aggregation   COH             162086140033                Gas           Gov. Aggregation
VEDO         4015017162288527            Gas           Gov. Aggregation   COH             117295920022                Gas           Gov. Aggregation
VEDO         4004028402403791            Gas           Gov. Aggregation   COH             117342520016                Gas           Gov. Aggregation
VEDO         4002487792496078            Gas           Gov. Aggregation   COH             117343260028                Gas           Gov. Aggregation
VEDO         4002352342230202            Gas           Gov. Aggregation   COH             117345900010                Gas           Gov. Aggregation
VEDO         4001096712109191            Gas           Gov. Aggregation   COH             162163070016                Gas           Gov. Aggregation
VEDO         4018021622385018            Gas           Gov. Aggregation   COH             164956430017                Gas           Gov. Aggregation
VEDO         4001493032585179            Gas           Gov. Aggregation   COH             164895210022                Gas           Gov. Aggregation
VEDO         4003907562517643            Gas           Gov. Aggregation   COH             117667190036                Gas           Gov. Aggregation
VEDO         4004959592506159            Gas           Gov. Aggregation   COH             117872160028                Gas           Gov. Aggregation
VEDO         4001177602584938            Gas           Gov. Aggregation   COH             118025230027                Gas           Gov. Aggregation
VEDO         4015876702364763            Gas           Gov. Aggregation   COH             165960170012                Gas           Gov. Aggregation
VEDO         4004717112114329            Gas           Gov. Aggregation   COH             166409890018                Gas           Gov. Aggregation
VEDO         4018162362591792            Gas           Gov. Aggregation   COH             166502940019                Gas           Gov. Aggregation
VEDO         4001544742107619            Gas           Gov. Aggregation   COH             118115370045                Gas           Gov. Aggregation
VEDO         4017141302623351            Gas           Gov. Aggregation   COH             149808710029                Gas           Gov. Aggregation
VEDO         4004906642500245            Gas           Gov. Aggregation   COH             117789780025                Gas           Gov. Aggregation
VEDO         4002504822305799            Gas           Gov. Aggregation   COH             117789890031                Gas           Gov. Aggregation
VEDO         4016388732538299            Gas           Gov. Aggregation   COH             117789490035                Gas           Gov. Aggregation
VEDO         4002329352227924            Gas           Gov. Aggregation   COH             118017420042                Gas           Gov. Aggregation
VEDO         4004093762410897            Gas           Gov. Aggregation   COH             118051090013                Gas           Gov. Aggregation
VEDO         4003846672241016            Gas           Gov. Aggregation   COH             166461880029                Gas           Gov. Aggregation
VEDO         4002423662237259            Gas           Gov. Aggregation   COH             165457580013                Gas           Gov. Aggregation
VEDO         4004492782454515            Gas           Gov. Aggregation   COH             118026120028                Gas           Gov. Aggregation
VEDO         4004691302476577            Gas           Gov. Aggregation   COH             148399980023                Gas           Gov. Aggregation
VEDO         4016186392585975            Gas           Gov. Aggregation   COH             152309610023                Gas           Gov. Aggregation
VEDO         4005037352150137            Gas           Gov. Aggregation   COH             153841510016                Gas           Gov. Aggregation
VEDO         4003539282351311            Gas           Gov. Aggregation   COH             151461010055                Gas           Gov. Aggregation
VEDO         4005129122525324            Gas           Gov. Aggregation   COH             118183630029                Gas           Gov. Aggregation
VEDO         4003554082402334            Gas           Gov. Aggregation   COH             117946730021                Gas           Gov. Aggregation
VEDO         4003868762386531            Gas           Gov. Aggregation   COH             118050870011                Gas           Gov. Aggregation
VEDO         4016757082364333            Gas           Gov. Aggregation   COH             118051340010                Gas           Gov. Aggregation
VEDO         4001435762140773            Gas           Gov. Aggregation   COH             118087670034                Gas           Gov. Aggregation
VEDO         4004163402418484            Gas           Gov. Aggregation   COH             118232000035                Gas           Gov. Aggregation
VEDO         4015951062448531            Gas           Gov. Aggregation   COH             118359090020                Gas           Gov. Aggregation
VEDO         4004569642463078            Gas           Gov. Aggregation   COH             150667570035                Gas           Gov. Aggregation
VEDO         4001773712407887            Gas           Gov. Aggregation   COH             155974590017                Gas           Gov. Aggregation
VEDO         4003249812321071            Gas           Gov. Aggregation   COH             118524350024                Gas           Gov. Aggregation
VEDO         4001663972162563            Gas           Gov. Aggregation   COH             118408640029                Gas           Gov. Aggregation
VEDO         4002710292265919            Gas           Gov. Aggregation   COH             118331670026                Gas           Gov. Aggregation
VEDO         4004314332434943            Gas           Gov. Aggregation   COH             168100190035                Gas           Gov. Aggregation
VEDO         4001087322287105            Gas           Gov. Aggregation   COH             118892910045                Gas           Gov. Aggregation
VEDO         4001645802160879            Gas           Gov. Aggregation   COH             194115580012                Gas           Gov. Aggregation
VEDO         4003656222282692            Gas           Gov. Aggregation   COH             194420110013                Gas           Gov. Aggregation
VEDO         4004996492510245            Gas           Gov. Aggregation   COH             169017570013                Gas           Gov. Aggregation
VEDO         4002518792246805            Gas           Gov. Aggregation   COH             169429010017                Gas           Gov. Aggregation
VEDO         4016601462436201            Gas           Gov. Aggregation   COH             108678270064                Gas           Gov. Aggregation
VEDO         4004790762487425            Gas           Gov. Aggregation   COH             108681890012                Gas           Gov. Aggregation
VEDO         4016566292246904            Gas           Gov. Aggregation   COH             118771150032                Gas           Gov. Aggregation
VEDO         4018011402302304            Gas           Gov. Aggregation   COH             108733850019                Gas           Gov. Aggregation
VEDO         4018095682139292            Gas           Gov. Aggregation   COH             156845660014                Gas           Gov. Aggregation
VEDO         4016250622143288            Gas           Gov. Aggregation   COH             194107110017                Gas           Gov. Aggregation
VEDO         4001046772104458            Gas           Gov. Aggregation   COH             108684890016                Gas           Gov. Aggregation
VEDO         4002855892280589            Gas           Gov. Aggregation   COH             108713230057                Gas           Gov. Aggregation
VEDO         4016272952378923            Gas           Gov. Aggregation   COH             108714250015                Gas           Gov. Aggregation
VEDO         4016091292605066            Gas           Gov. Aggregation   COH             108718480019                Gas           Gov. Aggregation
VEDO         4004956802155304            Gas           Gov. Aggregation   COH             119146610020                Gas           Gov. Aggregation
VEDO         4002009782196313            Gas           Gov. Aggregation   COH             171031260014                Gas           Gov. Aggregation
VEDO         4001674672163529            Gas           Gov. Aggregation   COH             171219800012                Gas           Gov. Aggregation
VEDO         4001667302162868            Gas           Gov. Aggregation   COH             169184710038                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4017072442116774            Gas           Gov. Aggregation   COH             108731970018                Gas           Gov. Aggregation
VEDO         4016250572112846            Gas           Gov. Aggregation   COH             108755690017                Gas           Gov. Aggregation
VEDO         4017065582366812            Gas           Gov. Aggregation   COH             108762880021                Gas           Gov. Aggregation
VEDO         4003459292343036            Gas           Gov. Aggregation   COH             108763660016                Gas           Gov. Aggregation
VEDO         4015951642345497            Gas           Gov. Aggregation   COH             108766860018                Gas           Gov. Aggregation
VEDO         4003300952326368            Gas           Gov. Aggregation   COH             170751550027                Gas           Gov. Aggregation
VEDO         4003181402314054            Gas           Gov. Aggregation   COH             170305310013                Gas           Gov. Aggregation
VEDO         4003913002391305            Gas           Gov. Aggregation   COH             170476760036                Gas           Gov. Aggregation
VEDO         4016326142163988            Gas           Gov. Aggregation   COH             119275810043                Gas           Gov. Aggregation
VEDO         4002084432203719            Gas           Gov. Aggregation   COH             119424310041                Gas           Gov. Aggregation
VEDO         4002905432285512            Gas           Gov. Aggregation   COH             119128550085                Gas           Gov. Aggregation
VEDO         4015547132113152            Gas           Gov. Aggregation   COH             155754720015                Gas           Gov. Aggregation
VEDO         4017003032434925            Gas           Gov. Aggregation   COH             156356610011                Gas           Gov. Aggregation
VEDO         4005045702515876            Gas           Gov. Aggregation   COH             162122260012                Gas           Gov. Aggregation
VEDO         4017643082313639            Gas           Gov. Aggregation   COH             163394440018                Gas           Gov. Aggregation
VEDO         4017536042123727            Gas           Gov. Aggregation   COH             108735520023                Gas           Gov. Aggregation
VEDO         4015916742475449            Gas           Gov. Aggregation   COH             108743300022                Gas           Gov. Aggregation
VEDO         4001653012343575            Gas           Gov. Aggregation   COH             108743440023                Gas           Gov. Aggregation
VEDO         4016295482176542            Gas           Gov. Aggregation   COH             108745610014                Gas           Gov. Aggregation
VEDO         4017966082627857            Gas           Gov. Aggregation   COH             155027480035                Gas           Gov. Aggregation
VEDO         4002103242205521            Gas           Gov. Aggregation   COH             158485840018                Gas           Gov. Aggregation
VEDO         4004865912495763            Gas           Gov. Aggregation   COH             115157710020                Gas           Gov. Aggregation
VEDO         4004390652483587            Gas           Gov. Aggregation   COH             119912660016                Gas           Gov. Aggregation
VEDO         4002632462258133            Gas           Gov. Aggregation   COH             108730350010                Gas           Gov. Aggregation
VEDO         4002083462377837            Gas           Gov. Aggregation   COH             108738770025                Gas           Gov. Aggregation
VEDO         4002083462269825            Gas           Gov. Aggregation   COH             108744670014                Gas           Gov. Aggregation
VEDO         4003744462600506            Gas           Gov. Aggregation   COH             120152400019                Gas           Gov. Aggregation
VEDO         4015673062151322            Gas           Gov. Aggregation   COH             119511570079                Gas           Gov. Aggregation
VEDO         4003386612335407            Gas           Gov. Aggregation   COH             115332780015                Gas           Gov. Aggregation
VEDO         4001441732632953            Gas           Gov. Aggregation   COH             173270080023                Gas           Gov. Aggregation
VEDO         4017313372626545            Gas           Gov. Aggregation   COH             173895740011                Gas           Gov. Aggregation
VEDO         4001435332140734            Gas           Gov. Aggregation   COH             173969780016                Gas           Gov. Aggregation
VEDO         4002099862205199            Gas           Gov. Aggregation   COH             120447180011                Gas           Gov. Aggregation
VEDO         4002474112242283            Gas           Gov. Aggregation   COH             173905570032                Gas           Gov. Aggregation
VEDO         4003734812372123            Gas           Gov. Aggregation   COH             160815500014                Gas           Gov. Aggregation
VEDO         4015349122429123            Gas           Gov. Aggregation   COH             161839350042                Gas           Gov. Aggregation
VEDO         4003961652396527            Gas           Gov. Aggregation   COH             163071220018                Gas           Gov. Aggregation
VEDO         4004499422455291            Gas           Gov. Aggregation   COH             164964380011                Gas           Gov. Aggregation
VEDO         4015642162549179            Gas           Gov. Aggregation   COH             120459700016                Gas           Gov. Aggregation
VEDO         4002181172287791            Gas           Gov. Aggregation   COH             120460120015                Gas           Gov. Aggregation
VEDO         4017007222518732            Gas           Gov. Aggregation   COH             115418540013                Gas           Gov. Aggregation
VEDO         4017731062432766            Gas           Gov. Aggregation   COH             115418810034                Gas           Gov. Aggregation
VEDO         4015184282528522            Gas           Gov. Aggregation   COH             118170740050                Gas           Gov. Aggregation
VEDO         4003401422336997            Gas           Gov. Aggregation   COH             175852050041                Gas           Gov. Aggregation
VEDO         4016973782199794            Gas           Gov. Aggregation   COH             126908950024                Gas           Gov. Aggregation
VEDO         4002309472225988            Gas           Gov. Aggregation   COH             120448900017                Gas           Gov. Aggregation
VEDO         4002931152449184            Gas           Gov. Aggregation   COH             120449380015                Gas           Gov. Aggregation
VEDO         4001675872368183            Gas           Gov. Aggregation   COH             120456560021                Gas           Gov. Aggregation
VEDO         4004152732280561            Gas           Gov. Aggregation   COH             176900550015                Gas           Gov. Aggregation
VEDO         4002549782249969            Gas           Gov. Aggregation   COH             177289870033                Gas           Gov. Aggregation
VEDO         4004199412422371            Gas           Gov. Aggregation   COH             127198080014                Gas           Gov. Aggregation
VEDO         4001319582130048            Gas           Gov. Aggregation   COH             124023370024                Gas           Gov. Aggregation
VEDO         4005080032519739            Gas           Gov. Aggregation   COH             126785420018                Gas           Gov. Aggregation
VEDO         4001835702179139            Gas           Gov. Aggregation   COH             177473070012                Gas           Gov. Aggregation
VEDO         4004793672487721            Gas           Gov. Aggregation   COH             129973660052                Gas           Gov. Aggregation
VEDO         4017614732504172            Gas           Gov. Aggregation   COH             119576570037                Gas           Gov. Aggregation
VEDO         4001922112187677            Gas           Gov. Aggregation   COH             128729680029                Gas           Gov. Aggregation
VEDO         4001413092138733            Gas           Gov. Aggregation   COH             128804700033                Gas           Gov. Aggregation
VEDO         4003030332298431            Gas           Gov. Aggregation   COH             185086980049                Gas           Gov. Aggregation
VEDO         4003465252343697            Gas           Gov. Aggregation   COH             185141740023                Gas           Gov. Aggregation
VEDO         4003563952353919            Gas           Gov. Aggregation   COH             185370270081                Gas           Gov. Aggregation
VEDO         4015918272567408            Gas           Gov. Aggregation   COH             129713980028                Gas           Gov. Aggregation
VEDO         4002215862216714            Gas           Gov. Aggregation   COH             130366330028                Gas           Gov. Aggregation
VEDO         4002262242283498            Gas           Gov. Aggregation   COH             130741480058                Gas           Gov. Aggregation
VEDO         4015212312202593            Gas           Gov. Aggregation   COH             127330050036                Gas           Gov. Aggregation
VEDO         4016193662316256            Gas           Gov. Aggregation   COH             177647010015                Gas           Gov. Aggregation
VEDO         4005048432516176            Gas           Gov. Aggregation   COH             129063030017                Gas           Gov. Aggregation
VEDO         4001813032176908            Gas           Gov. Aggregation   COH             129508690042                Gas           Gov. Aggregation
VEDO         4001656782161934            Gas           Gov. Aggregation   COH             129773380019                Gas           Gov. Aggregation
VEDO         4003281822321626            Gas           Gov. Aggregation   COH             130019410026                Gas           Gov. Aggregation
VEDO         4017168512551866            Gas           Gov. Aggregation   COH             130636020057                Gas           Gov. Aggregation
VEDO         4004260952536767            Gas           Gov. Aggregation   COH             129653870010                Gas           Gov. Aggregation
VEDO         4003729302371491            Gas           Gov. Aggregation   COH             130629290029                Gas           Gov. Aggregation
VEDO         4017184912511872            Gas           Gov. Aggregation   COH             130960710019                Gas           Gov. Aggregation
VEDO         4004991482509704            Gas           Gov. Aggregation   COH             131692850045                Gas           Gov. Aggregation
VEDO         4002883142283295            Gas           Gov. Aggregation   COH             132018780010                Gas           Gov. Aggregation
VEDO         4004731272480857            Gas           Gov. Aggregation   COH             121889250019                Gas           Gov. Aggregation
VEDO         4003965452396938            Gas           Gov. Aggregation   COH             122751210026                Gas           Gov. Aggregation
VEDO         4001828902351243            Gas           Gov. Aggregation   COH             123626810024                Gas           Gov. Aggregation
VEDO         4001901762185558            Gas           Gov. Aggregation   COH             123627620013                Gas           Gov. Aggregation
VEDO         4004065722556621            Gas           Gov. Aggregation   COH             123921060026                Gas           Gov. Aggregation
VEDO         4004370782560737            Gas           Gov. Aggregation   COH             132405990033                Gas           Gov. Aggregation
VEDO         4003227792318765            Gas           Gov. Aggregation   COH             132455840011                Gas           Gov. Aggregation
VEDO         4001331002131078            Gas           Gov. Aggregation   COH             186198670019                Gas           Gov. Aggregation
VEDO         4005041952515449            Gas           Gov. Aggregation   COH             186249410014                Gas           Gov. Aggregation
VEDO         4004619622468641            Gas           Gov. Aggregation   COH             123734780022                Gas           Gov. Aggregation
VEDO         4016264142204825            Gas           Gov. Aggregation   COH             123738610010                Gas           Gov. Aggregation
VEDO         4016541622517426            Gas           Gov. Aggregation   COH             123919640047                Gas           Gov. Aggregation
VEDO         4017072032166036            Gas           Gov. Aggregation   COH             164572720010                Gas           Gov. Aggregation
VEDO         4002993382529544            Gas           Gov. Aggregation   COH             168938150029                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4002777762277721            Gas           Gov. Aggregation   COH             169565620020                Gas           Gov. Aggregation
VEDO         4003973372358927            Gas           Gov. Aggregation   COH             123642100038                Gas           Gov. Aggregation
VEDO         4017455692428636            Gas           Gov. Aggregation   COH             123656730019                Gas           Gov. Aggregation
VEDO         4018004712632340            Gas           Gov. Aggregation   COH             123715900035                Gas           Gov. Aggregation
VEDO         4001896982185128            Gas           Gov. Aggregation   COH             123718190020                Gas           Gov. Aggregation
VEDO         4017270732420376            Gas           Gov. Aggregation   COH             123721070019                Gas           Gov. Aggregation
VEDO         4004109072412577            Gas           Gov. Aggregation   COH             123726420015                Gas           Gov. Aggregation
VEDO         4001624422158817            Gas           Gov. Aggregation   COH             124023270016                Gas           Gov. Aggregation
VEDO         4003620322359929            Gas           Gov. Aggregation   COH             124127460025                Gas           Gov. Aggregation
VEDO         4005056042186654            Gas           Gov. Aggregation   COH             123633370059                Gas           Gov. Aggregation
VEDO         4004786192184034            Gas           Gov. Aggregation   COH             133237590042                Gas           Gov. Aggregation
VEDO         4016356462278358            Gas           Gov. Aggregation   COH             123698110020                Gas           Gov. Aggregation
VEDO         4004489652454164            Gas           Gov. Aggregation   COH             123707290013                Gas           Gov. Aggregation
VEDO         4004452792450115            Gas           Gov. Aggregation   COH             123709850011                Gas           Gov. Aggregation
VEDO         4004449322243897            Gas           Gov. Aggregation   COH             132130810042                Gas           Gov. Aggregation
VEDO         4015297112285122            Gas           Gov. Aggregation   COH             132540480034                Gas           Gov. Aggregation
VEDO         4005136922526185            Gas           Gov. Aggregation   COH             123990530068                Gas           Gov. Aggregation
VEDO         4003085952304074            Gas           Gov. Aggregation   COH             124007620025                Gas           Gov. Aggregation
VEDO         4001793402440437            Gas           Gov. Aggregation   COH             124019380012                Gas           Gov. Aggregation
VEDO         4001502722147039            Gas           Gov. Aggregation   COH             133501320083                Gas           Gov. Aggregation
VEDO         4004678372475118            Gas           Gov. Aggregation   COH             133739290023                Gas           Gov. Aggregation
VEDO         4004976252507996            Gas           Gov. Aggregation   COH             124123870018                Gas           Gov. Aggregation
VEDO         4010115012116613            Gas           Gov. Aggregation   COH             133330760011                Gas           Gov. Aggregation
VEDO         4004839752492834            Gas           Gov. Aggregation   COH             133799630016                Gas           Gov. Aggregation
VEDO         4004558042461764            Gas           Gov. Aggregation   COH             134362270025                Gas           Gov. Aggregation
VEDO         4003177072313603            Gas           Gov. Aggregation   COH             186981830023                Gas           Gov. Aggregation
VEDO         4017114202220241            Gas           Gov. Aggregation   COH             124079490013                Gas           Gov. Aggregation
VEDO         4003585282356191            Gas           Gov. Aggregation   COH             133499820049                Gas           Gov. Aggregation
VEDO         4003729202371478            Gas           Gov. Aggregation   COH             124181680025                Gas           Gov. Aggregation
VEDO         4002170462212177            Gas           Gov. Aggregation   COH             126432790063                Gas           Gov. Aggregation
VEDO         4017224712443318            Gas           Gov. Aggregation   COH             135823540029                Gas           Gov. Aggregation
VEDO         4017841932343266            Gas           Gov. Aggregation   COH             136053820031                Gas           Gov. Aggregation
VEDO         4004190452519378            Gas           Gov. Aggregation   COH             135858370040                Gas           Gov. Aggregation
VEDO         4015644852125974            Gas           Gov. Aggregation   COH             134476530074                Gas           Gov. Aggregation
VEDO         4016281132296267            Gas           Gov. Aggregation   COH             134893160023                Gas           Gov. Aggregation
VEDO         4001869412168113            Gas           Gov. Aggregation   COH             135094250027                Gas           Gov. Aggregation
VEDO         4017099502375559            Gas           Gov. Aggregation   COH             135554450029                Gas           Gov. Aggregation
VEDO         4004455592450428            Gas           Gov. Aggregation   COH             137067980029                Gas           Gov. Aggregation
VEDO         4001918742277443            Gas           Gov. Aggregation   COH             136557930012                Gas           Gov. Aggregation
VEDO         4001438042140963            Gas           Gov. Aggregation   COH             172030690015                Gas           Gov. Aggregation
VEDO         4001897362185179            Gas           Gov. Aggregation   COH             172386310011                Gas           Gov. Aggregation
VEDO         4017738192384788            Gas           Gov. Aggregation   COH             137116120015                Gas           Gov. Aggregation
VEDO         4015472792511359            Gas           Gov. Aggregation   COH             137159800012                Gas           Gov. Aggregation
VEDO         4004773932485572            Gas           Gov. Aggregation   COH             137954710033                Gas           Gov. Aggregation
VEDO         4001661532162336            Gas           Gov. Aggregation   COH             137105690028                Gas           Gov. Aggregation
VEDO         4001299072128141            Gas           Gov. Aggregation   COH             127211200054                Gas           Gov. Aggregation
VEDO         4002717302188548            Gas           Gov. Aggregation   COH             130019140014                Gas           Gov. Aggregation
VEDO         4016677202488147            Gas           Gov. Aggregation   COH             131020750030                Gas           Gov. Aggregation
VEDO         4001504332147168            Gas           Gov. Aggregation   COH             131153710019                Gas           Gov. Aggregation
VEDO         4002056022200885            Gas           Gov. Aggregation   COH             131362510027                Gas           Gov. Aggregation
VEDO         4002460162240881            Gas           Gov. Aggregation   COH             138484540026                Gas           Gov. Aggregation
VEDO         4002689562474366            Gas           Gov. Aggregation   COH             138540230012                Gas           Gov. Aggregation
VEDO         4002498862244793            Gas           Gov. Aggregation   COH             139001470031                Gas           Gov. Aggregation
VEDO         4001597552156274            Gas           Gov. Aggregation   COH             139834570017                Gas           Gov. Aggregation
VEDO         4003766462375456            Gas           Gov. Aggregation   COH             129109650019                Gas           Gov. Aggregation
VEDO         4004626382101362            Gas           Gov. Aggregation   COH             129220350043                Gas           Gov. Aggregation
VEDO         4001425612139871            Gas           Gov. Aggregation   COH             129477450021                Gas           Gov. Aggregation
VEDO         4016333592568008            Gas           Gov. Aggregation   COH             130423400012                Gas           Gov. Aggregation
VEDO         4015845552567318            Gas           Gov. Aggregation   COH             131012420036                Gas           Gov. Aggregation
VEDO         4004457832450686            Gas           Gov. Aggregation   COH             131062400017                Gas           Gov. Aggregation
VEDO         4016765122374833            Gas           Gov. Aggregation   COH             131366560029                Gas           Gov. Aggregation
VEDO         4015755262163663            Gas           Gov. Aggregation   COH             126884660027                Gas           Gov. Aggregation
VEDO         4002731532164658            Gas           Gov. Aggregation   COH             130812140030                Gas           Gov. Aggregation
VEDO         4017592092300603            Gas           Gov. Aggregation   COH             188126400023                Gas           Gov. Aggregation
VEDO         4002485882243517            Gas           Gov. Aggregation   COH             188689530024                Gas           Gov. Aggregation
VEDO         4016435292204329            Gas           Gov. Aggregation   COH             188976190018                Gas           Gov. Aggregation
VEDO         4015594592431982            Gas           Gov. Aggregation   COH             140253890037                Gas           Gov. Aggregation
VEDO         4001696532165576            Gas           Gov. Aggregation   COH             132942180017                Gas           Gov. Aggregation
VEDO         4002979222293168            Gas           Gov. Aggregation   COH             133263090033                Gas           Gov. Aggregation
VEDO         4001128182112189            Gas           Gov. Aggregation   COH             133656610012                Gas           Gov. Aggregation
VEDO         4003435782340556            Gas           Gov. Aggregation   COH             136021070018                Gas           Gov. Aggregation
VEDO         4016893982364971            Gas           Gov. Aggregation   COH             139860410015                Gas           Gov. Aggregation
VEDO         4004286322431896            Gas           Gov. Aggregation   COH             189515150020                Gas           Gov. Aggregation
VEDO         4018268522354295            Gas           Gov. Aggregation   COH             188324270021                Gas           Gov. Aggregation
VEDO         4001145662113753            Gas           Gov. Aggregation   COH             138443660027                Gas           Gov. Aggregation
VEDO         4018268392378401            Gas           Gov. Aggregation   COH             138891130029                Gas           Gov. Aggregation
VEDO         4001301182128355            Gas           Gov. Aggregation   COH             138953770014                Gas           Gov. Aggregation
VEDO         4015552362438994            Gas           Gov. Aggregation   COH             139134340028                Gas           Gov. Aggregation
VEDO         4002065392201848            Gas           Gov. Aggregation   COH             139841080024                Gas           Gov. Aggregation
VEDO         4001254282123956            Gas           Gov. Aggregation   COH             134715670406                Gas           Gov. Aggregation
VEDO         4001521832148962            Gas           Gov. Aggregation   COH             189715330019                Gas           Gov. Aggregation
VEDO         4018147542608233            Gas           Gov. Aggregation   COH             189781610011                Gas           Gov. Aggregation
VEDO         4001591642155718            Gas           Gov. Aggregation   COH             136489030070                Gas           Gov. Aggregation
VEDO         4005157532528552            Gas           Gov. Aggregation   COH             140929150011                Gas           Gov. Aggregation
VEDO         4004544922460312            Gas           Gov. Aggregation   COH             189680080017                Gas           Gov. Aggregation
VEDO         4015015902283457            Gas           Gov. Aggregation   COH             136639780010                Gas           Gov. Aggregation
VEDO         4017090482357119            Gas           Gov. Aggregation   COH             139700080022                Gas           Gov. Aggregation
VEDO         4002555362598932            Gas           Gov. Aggregation   COH             134568620016                Gas           Gov. Aggregation
VEDO         4015505102583064            Gas           Gov. Aggregation   COH             136142180064                Gas           Gov. Aggregation
VEDO         4002932532288329            Gas           Gov. Aggregation   COH             169114770015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4017814612136605            Gas           Gov. Aggregation   COH             141082310012                Gas           Gov. Aggregation
VEDO            4017843962363787            Gas           Gov. Aggregation   COH             189715300015                Gas           Gov. Aggregation
VEDO            4017588402303657            Gas           Gov. Aggregation   COH             139777940011                Gas           Gov. Aggregation
VEDO            4004415942446141            Gas           Gov. Aggregation   COH             141207910038                Gas           Gov. Aggregation
VEDO            4001624132158789            Gas           Gov. Aggregation   COH             141811010054                Gas           Gov. Aggregation
VEDO            4004674602474703            Gas           Gov. Aggregation   COH             140232450033                Gas           Gov. Aggregation
VEDO            4018191202257422            Gas           Gov. Aggregation   COH             140242680034                Gas           Gov. Aggregation
VEDO            4015375912123149            Gas           Gov. Aggregation   COH             140371240033                Gas           Gov. Aggregation
VEDO            4001680182164026            Gas           Gov. Aggregation   COH             136509550040                Gas           Gov. Aggregation
VEDO            4015347602323092            Gas           Gov. Aggregation   COH             137419680025                Gas           Gov. Aggregation
VEDO            4001553502152069            Gas           Gov. Aggregation   COH             139768970023                Gas           Gov. Aggregation
VEDO            4004698112477293            Gas           Gov. Aggregation   COH             140527400010                Gas           Gov. Aggregation
VEDO            4015833812190304            Gas           Gov. Aggregation   COH             140611250022                Gas           Gov. Aggregation
VEDO            4015995282363962            Gas           Gov. Aggregation   COH             140708340037                Gas           Gov. Aggregation
VEDO            4004309822434451            Gas           Gov. Aggregation   COH             141886870020                Gas           Gov. Aggregation
VEDO            4015860222399183            Gas           Gov. Aggregation   COH             142622400043                Gas           Gov. Aggregation
VEDO            4015132332623463            Gas           Gov. Aggregation   COH             174147600014                Gas           Gov. Aggregation
VEDO            4004318642435421            Gas           Gov. Aggregation   COH             141344100056                Gas           Gov. Aggregation
VEDO            4002276582224785            Gas           Gov. Aggregation   COH             142251240035                Gas           Gov. Aggregation
VEDO            4016779032115834            Gas           Gov. Aggregation   COH             141439540026                Gas           Gov. Aggregation
VEDO            4016952402205594            Gas           Gov. Aggregation   COH             140543650014                Gas           Gov. Aggregation
VEDO            4002646222259523            Gas           Gov. Aggregation   COH             141018660014                Gas           Gov. Aggregation
VEDO            4004898482499325            Gas           Gov. Aggregation   COH             141531850016                Gas           Gov. Aggregation
VEDO            4002165412211672            Gas           Gov. Aggregation   COH             142738620015                Gas           Gov. Aggregation
VEDO            4002851732280213            Gas           Gov. Aggregation   COH             173312860010                Gas           Gov. Aggregation
VEDO            4003424562108331            Gas           Gov. Aggregation   COH             174154410028                Gas           Gov. Aggregation
VEDO            4002512502434288            Gas           Gov. Aggregation   COH             141700000042                Gas           Gov. Aggregation
VEDO            4002512502246181            Gas           Gov. Aggregation   COH             144485050010                Gas           Gov. Aggregation
VEDO            4004170622343869            Gas           Gov. Aggregation   COH             144058430024                Gas           Gov. Aggregation
VEDO            4015785302516708            Gas           Gov. Aggregation   COH             141700550029                Gas           Gov. Aggregation
VEDO            4015514922435605            Gas           Gov. Aggregation   COH             143082760043                Gas           Gov. Aggregation
VEDO            4015414472365757            Gas           Gov. Aggregation   COH             143257100040                Gas           Gov. Aggregation
VEDO            4004796482624602            Gas           Gov. Aggregation   COH             144410060088                Gas           Gov. Aggregation
VEDO            4017784802627711            Gas           Gov. Aggregation   COH             146566720140                Gas           Gov. Aggregation
VEDO            4003849532384435            Gas           Gov. Aggregation   COH             144517550061                Gas           Gov. Aggregation
VEDO            4015503442213687            Gas           Gov. Aggregation   COH             191198000012                Gas           Gov. Aggregation
VEDO            4002962722291497            Gas           Gov. Aggregation   COH             191650860012                Gas           Gov. Aggregation
VEDO            4002213492271429            Gas           Gov. Aggregation   COH             190834540010                Gas           Gov. Aggregation
VEDO            4003460432629136            Gas           Gov. Aggregation   COH             190871140016                Gas           Gov. Aggregation
VEDO            4002567382251732            Gas           Gov. Aggregation   COH             145301890011                Gas           Gov. Aggregation
VEDO            4017300912147074            Gas           Gov. Aggregation   COH             145365500036                Gas           Gov. Aggregation
VEDO            4003006772297445            Gas           Gov. Aggregation   COH             144663350019                Gas           Gov. Aggregation
VEDO            4003006772296007            Gas           Gov. Aggregation   COH             145043970021                Gas           Gov. Aggregation
VEDO            4003006772596262            Gas           Gov. Aggregation   COH             145291890023                Gas           Gov. Aggregation
VEDO            4001734822170414            Gas           Gov. Aggregation   COH             145978390077                Gas           Gov. Aggregation
VEDO            4003529642350321            Gas           Gov. Aggregation   COH             147532140035                Gas           Gov. Aggregation
DEO             5500055117293               Gas           Gov. Aggregation   COH             148162820027                Gas           Gov. Aggregation
DEO             9500055131955               Gas           Gov. Aggregation   COH             145763750012                Gas           Gov. Aggregation
DEO             1500054974027               Gas           Gov. Aggregation   COH             146198530016                Gas           Gov. Aggregation
DEO             7500047387789               Gas           Gov. Aggregation   COH             146463700017                Gas           Gov. Aggregation
COH             108818410039                Gas           Gov. Aggregation   COH             145093370022                Gas           Gov. Aggregation
COH             153275230025                Gas           Gov. Aggregation   COH             191851470018                Gas           Gov. Aggregation
COH             154260400029                Gas           Gov. Aggregation   COH             176778420013                Gas           Gov. Aggregation
COH             162661350011                Gas           Gov. Aggregation   COH             176996910027                Gas           Gov. Aggregation
COH             122261830025                Gas           Gov. Aggregation   COH             177037920017                Gas           Gov. Aggregation
COH             122626310020                Gas           Gov. Aggregation   COH             177793650030                Gas           Gov. Aggregation
COH             122675300010                Gas           Gov. Aggregation   COH             185205840017                Gas           Gov. Aggregation
COH             122733990012                Gas           Gov. Aggregation   COH             145836350011                Gas           Gov. Aggregation
COH             123739390042                Gas           Gov. Aggregation   COH             145564200037                Gas           Gov. Aggregation
COH             124431070022                Gas           Gov. Aggregation   COH             145572000014                Gas           Gov. Aggregation
COH             124891960021                Gas           Gov. Aggregation   COH             146712360010                Gas           Gov. Aggregation
COH             125023460024                Gas           Gov. Aggregation   COH             145933330019                Gas           Gov. Aggregation
COH             125313220029                Gas           Gov. Aggregation   COH             191349610022                Gas           Gov. Aggregation
COH             125736600014                Gas           Gov. Aggregation   COH             191622700014                Gas           Gov. Aggregation
COH             125736610012                Gas           Gov. Aggregation   COH             191622740016                Gas           Gov. Aggregation
COH             125736620010                Gas           Gov. Aggregation   COH             174826450025                Gas           Gov. Aggregation
COH             125738510028                Gas           Gov. Aggregation   COH             147722670013                Gas           Gov. Aggregation
COH             125745360034                Gas           Gov. Aggregation   COH             149314400021                Gas           Gov. Aggregation
COH             125746830015                Gas           Gov. Aggregation   COH             186055020017                Gas           Gov. Aggregation
COH             125761190027                Gas           Gov. Aggregation   COH             148320910013                Gas           Gov. Aggregation
COH             125766070031                Gas           Gov. Aggregation   COH             185566690015                Gas           Gov. Aggregation
COH             125771210012                Gas           Gov. Aggregation   COH             185991460012                Gas           Gov. Aggregation
COH             125780420019                Gas           Gov. Aggregation   COH             146931600015                Gas           Gov. Aggregation
COH             125780880013                Gas           Gov. Aggregation   COH             149792540011                Gas           Gov. Aggregation
COH             125780990010                Gas           Gov. Aggregation   COH             150112770029                Gas           Gov. Aggregation
COH             125787270017                Gas           Gov. Aggregation   COH             150172660017                Gas           Gov. Aggregation
COH             125788430020                Gas           Gov. Aggregation   COH             146756270017                Gas           Gov. Aggregation
COH             125798560013                Gas           Gov. Aggregation   COH             146970550096                Gas           Gov. Aggregation
COH             125803170012                Gas           Gov. Aggregation   COH             150791650053                Gas           Gov. Aggregation
COH             125832360020                Gas           Gov. Aggregation   COH             192137360023                Gas           Gov. Aggregation
COH             125838140015                Gas           Gov. Aggregation   COH             192351680013                Gas           Gov. Aggregation
COH             125843660024                Gas           Gov. Aggregation   COH             147762590025                Gas           Gov. Aggregation
COH             125866130018                Gas           Gov. Aggregation   COH             148148440063                Gas           Gov. Aggregation
COH             125866160012                Gas           Gov. Aggregation   COH             146443820014                Gas           Gov. Aggregation
COH             125866290015                Gas           Gov. Aggregation   COH             192452530010                Gas           Gov. Aggregation
COH             125866770014                Gas           Gov. Aggregation   COH             147424780021                Gas           Gov. Aggregation
COH             125866820022                Gas           Gov. Aggregation   COH             147596500017                Gas           Gov. Aggregation
COH             125875970013                Gas           Gov. Aggregation   COH             192597350012                Gas           Gov. Aggregation
COH             125877500017                Gas           Gov. Aggregation   COH             192907220010                Gas           Gov. Aggregation
COH             125884630024                Gas           Gov. Aggregation   COH             151642490024                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             125918660043                Gas           Gov. Aggregation   COH             153582580021                Gas           Gov. Aggregation
COH             126662670098                Gas           Gov. Aggregation   COH             192616120018                Gas           Gov. Aggregation
COH             126664430030                Gas           Gov. Aggregation   COH             147042080028                Gas           Gov. Aggregation
COH             126790480033                Gas           Gov. Aggregation   COH             147224600139                Gas           Gov. Aggregation
COH             127083710023                Gas           Gov. Aggregation   COH             147370170015                Gas           Gov. Aggregation
COH             127165420039                Gas           Gov. Aggregation   COH             150052760010                Gas           Gov. Aggregation
COH             131408450031                Gas           Gov. Aggregation   COH             148233560021                Gas           Gov. Aggregation
COH             131735510017                Gas           Gov. Aggregation   COH             149809760018                Gas           Gov. Aggregation
COH             131816461917                Gas           Gov. Aggregation   COH             186915660037                Gas           Gov. Aggregation
COH             131828760027                Gas           Gov. Aggregation   COH             154312600017                Gas           Gov. Aggregation
COH             132461640029                Gas           Gov. Aggregation   COH             193358620010                Gas           Gov. Aggregation
COH             134693260026                Gas           Gov. Aggregation   COH             150284450014                Gas           Gov. Aggregation
COH             135035530040                Gas           Gov. Aggregation   COH             155164710045                Gas           Gov. Aggregation
COH             135682430013                Gas           Gov. Aggregation   COH             192945220010                Gas           Gov. Aggregation
COH             135793780033                Gas           Gov. Aggregation   COH             193059770013                Gas           Gov. Aggregation
COH             138415970058                Gas           Gov. Aggregation   COH             155961860017                Gas           Gov. Aggregation
COH             138429250014                Gas           Gov. Aggregation   COH             149837070032                Gas           Gov. Aggregation
COH             138439180018                Gas           Gov. Aggregation   COH             157482340038                Gas           Gov. Aggregation
COH             138511530029                Gas           Gov. Aggregation   COH             193635940015                Gas           Gov. Aggregation
COH             138687390019                Gas           Gov. Aggregation   COH             193085960018                Gas           Gov. Aggregation
COH             140191210013                Gas           Gov. Aggregation   COH             153500790010                Gas           Gov. Aggregation
COH             140265520011                Gas           Gov. Aggregation   COH             153582230079                Gas           Gov. Aggregation
COH             140617050031                Gas           Gov. Aggregation   COH             150283590017                Gas           Gov. Aggregation
COH             140962190059                Gas           Gov. Aggregation   COH             193396040012                Gas           Gov. Aggregation
COH             142518310025                Gas           Gov. Aggregation   COH             193402890019                Gas           Gov. Aggregation
COH             143035530022                Gas           Gov. Aggregation   COH             193467690015                Gas           Gov. Aggregation
COH             143960830019                Gas           Gov. Aggregation   COH             151349012926                Gas           Gov. Aggregation
COH             146121530017                Gas           Gov. Aggregation   COH             157735970011                Gas           Gov. Aggregation
COH             146159330010                Gas           Gov. Aggregation   COH             151349011507                Gas           Gov. Aggregation
COH             146359760016                Gas           Gov. Aggregation   COH             151464430042                Gas           Gov. Aggregation
COH             148530000028                Gas           Gov. Aggregation   COH             157139770017                Gas           Gov. Aggregation
COH             148609160019                Gas           Gov. Aggregation   COH             193584020017                Gas           Gov. Aggregation
COH             148985620016                Gas           Gov. Aggregation   COH             193716080014                Gas           Gov. Aggregation
COH             150711220033                Gas           Gov. Aggregation   COH             193874550011                Gas           Gov. Aggregation
COH             151069460017                Gas           Gov. Aggregation   COH             193897020014                Gas           Gov. Aggregation
COH             151090470010                Gas           Gov. Aggregation   COH             151641310023                Gas           Gov. Aggregation
COH             151178100020                Gas           Gov. Aggregation   COH             157138440045                Gas           Gov. Aggregation
COH             152554200011                Gas           Gov. Aggregation   COH             157146070073                Gas           Gov. Aggregation
COH             152671200013                Gas           Gov. Aggregation   COH             157151250047                Gas           Gov. Aggregation
COH             153055360024                Gas           Gov. Aggregation   COH             158083510028                Gas           Gov. Aggregation
COH             153180450011                Gas           Gov. Aggregation   COH             152009670018                Gas           Gov. Aggregation
COH             153288550012                Gas           Gov. Aggregation   COH             152057370038                Gas           Gov. Aggregation
COH             153692600032                Gas           Gov. Aggregation   COH             157915430030                Gas           Gov. Aggregation
COH             155643670084                Gas           Gov. Aggregation   COH             158254650017                Gas           Gov. Aggregation
COH             155778620016                Gas           Gov. Aggregation   COH             152448440016                Gas           Gov. Aggregation
COH             155986770069                Gas           Gov. Aggregation   COH             161372380019                Gas           Gov. Aggregation
COH             156504880029                Gas           Gov. Aggregation   COH             161372440089                Gas           Gov. Aggregation
COH             157010610021                Gas           Gov. Aggregation   COH             161449330016                Gas           Gov. Aggregation
COH             157480040035                Gas           Gov. Aggregation   COH             161451340019                Gas           Gov. Aggregation
COH             157614210016                Gas           Gov. Aggregation   COH             161495090010                Gas           Gov. Aggregation
COH             157665960012                Gas           Gov. Aggregation   COH             152101270016                Gas           Gov. Aggregation
COH             158719750038                Gas           Gov. Aggregation   COH             193932840016                Gas           Gov. Aggregation
COH             158899470055                Gas           Gov. Aggregation   COH             193990120015                Gas           Gov. Aggregation
COH             159136820029                Gas           Gov. Aggregation   COH             194001440012                Gas           Gov. Aggregation
COH             159294690014                Gas           Gov. Aggregation   COH             194035580012                Gas           Gov. Aggregation
COH             160196400019                Gas           Gov. Aggregation   COH             152846130035                Gas           Gov. Aggregation
COH             160250610019                Gas           Gov. Aggregation   COH             152651180029                Gas           Gov. Aggregation
COH             160661380053                Gas           Gov. Aggregation   COH             158987310033                Gas           Gov. Aggregation
COH             161243440046                Gas           Gov. Aggregation   COH             159009340010                Gas           Gov. Aggregation
COH             162272450042                Gas           Gov. Aggregation   COH             153260600028                Gas           Gov. Aggregation
COH             162629080016                Gas           Gov. Aggregation   COH             153515040034                Gas           Gov. Aggregation
COH             162630550041                Gas           Gov. Aggregation   COH             153047540023                Gas           Gov. Aggregation
COH             164057460017                Gas           Gov. Aggregation   COH             152732230035                Gas           Gov. Aggregation
COH             164118290040                Gas           Gov. Aggregation   COH             152999720038                Gas           Gov. Aggregation
COH             164142960020                Gas           Gov. Aggregation   COH             153149850013                Gas           Gov. Aggregation
COH             165071000012                Gas           Gov. Aggregation   COH             153203560027                Gas           Gov. Aggregation
COH             166658530025                Gas           Gov. Aggregation   COH             193935080010                Gas           Gov. Aggregation
COH             166741140020                Gas           Gov. Aggregation   COH             160992220019                Gas           Gov. Aggregation
COH             170863420054                Gas           Gov. Aggregation   COH             154244490016                Gas           Gov. Aggregation
COH             170868440014                Gas           Gov. Aggregation   COH             153913510031                Gas           Gov. Aggregation
COH             170883290014                Gas           Gov. Aggregation   COH             152637380018                Gas           Gov. Aggregation
COH             171054700013                Gas           Gov. Aggregation   COH             152778820035                Gas           Gov. Aggregation
COH             172279120027                Gas           Gov. Aggregation   COH             188796140010                Gas           Gov. Aggregation
COH             172330560025                Gas           Gov. Aggregation   COH             160160880014                Gas           Gov. Aggregation
COH             172406800014                Gas           Gov. Aggregation   COH             160320020014                Gas           Gov. Aggregation
COH             172604590019                Gas           Gov. Aggregation   COH             160376280040                Gas           Gov. Aggregation
COH             172819460020                Gas           Gov. Aggregation   COH             160415860017                Gas           Gov. Aggregation
COH             174562890023                Gas           Gov. Aggregation   COH             153030280014                Gas           Gov. Aggregation
COH             174598860024                Gas           Gov. Aggregation   COH             194383860016                Gas           Gov. Aggregation
COH             174963350026                Gas           Gov. Aggregation   COH             163339130019                Gas           Gov. Aggregation
COH             176171540023                Gas           Gov. Aggregation   COH             194279180010                Gas           Gov. Aggregation
COH             176301790033                Gas           Gov. Aggregation   COH             163671880018                Gas           Gov. Aggregation
COH             185097210038                Gas           Gov. Aggregation   COH             163881310012                Gas           Gov. Aggregation
COH             185196400010                Gas           Gov. Aggregation   COH             154607680016                Gas           Gov. Aggregation
COH             185469540012                Gas           Gov. Aggregation   COH             166696650011                Gas           Gov. Aggregation
COH             185752740028                Gas           Gov. Aggregation   COH             153971720026                Gas           Gov. Aggregation
COH             188100530039                Gas           Gov. Aggregation   COH             154551140027                Gas           Gov. Aggregation
COH             188215120014                Gas           Gov. Aggregation   COH             164646540011                Gas           Gov. Aggregation
COH             188881090010                Gas           Gov. Aggregation   COH             164745520015                Gas           Gov. Aggregation
COH             189092040012                Gas           Gov. Aggregation   COH             156213560023                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             189141150014                Gas           Gov. Aggregation   COH             156250120018                Gas           Gov. Aggregation
COH             189346020017                Gas           Gov. Aggregation   COH             156367480016                Gas           Gov. Aggregation
COH             189446330010                Gas           Gov. Aggregation   COH             191724950016                Gas           Gov. Aggregation
COH             189477060012                Gas           Gov. Aggregation   COH             191783100010                Gas           Gov. Aggregation
COH             189867820015                Gas           Gov. Aggregation   COH             155307910012                Gas           Gov. Aggregation
COH             189930310017                Gas           Gov. Aggregation   COH             166227600014                Gas           Gov. Aggregation
COH             190300530013                Gas           Gov. Aggregation   COH             155478810012                Gas           Gov. Aggregation
COH             190666530019                Gas           Gov. Aggregation   COH             155768650020                Gas           Gov. Aggregation
COH             190793910010                Gas           Gov. Aggregation   COH             155801780012                Gas           Gov. Aggregation
COH             191273420014                Gas           Gov. Aggregation   COH             191890810023                Gas           Gov. Aggregation
COH             191318650010                Gas           Gov. Aggregation   COH             194332230015                Gas           Gov. Aggregation
COH             191429180014                Gas           Gov. Aggregation   COH             192849120015                Gas           Gov. Aggregation
COH             191454200016                Gas           Gov. Aggregation   COH             156524060010                Gas           Gov. Aggregation
COH             191621340012                Gas           Gov. Aggregation   COH             168085030014                Gas           Gov. Aggregation
COH             191677730013                Gas           Gov. Aggregation   COH             168149540011                Gas           Gov. Aggregation
COH             191683910012                Gas           Gov. Aggregation   COH             168543180011                Gas           Gov. Aggregation
COH             191747370010                Gas           Gov. Aggregation   COH             155070230018                Gas           Gov. Aggregation
COH             191765300016                Gas           Gov. Aggregation   COH             155998480029                Gas           Gov. Aggregation
COH             191947440011                Gas           Gov. Aggregation   COH             191005700012                Gas           Gov. Aggregation
COH             191962440019                Gas           Gov. Aggregation   COH             191096690014                Gas           Gov. Aggregation
COH             191969470019                Gas           Gov. Aggregation   COH             191739280016                Gas           Gov. Aggregation
COH             191995600016                Gas           Gov. Aggregation   COH             192575440019                Gas           Gov. Aggregation
COH             192002240014                Gas           Gov. Aggregation   COH             192701110019                Gas           Gov. Aggregation
COH             192243890018                Gas           Gov. Aggregation   COH             192754280013                Gas           Gov. Aggregation
COH             192568410010                Gas           Gov. Aggregation   COH             166809750019                Gas           Gov. Aggregation
COH             192572780014                Gas           Gov. Aggregation   COH             194418800013                Gas           Gov. Aggregation
COH             192754510014                Gas           Gov. Aggregation   COH             157259960013                Gas           Gov. Aggregation
COH             192764330011                Gas           Gov. Aggregation   COH             168935920014                Gas           Gov. Aggregation
COH             193119670016                Gas           Gov. Aggregation   COH             156945480029                Gas           Gov. Aggregation
COH             193348820019                Gas           Gov. Aggregation   COH             157260800013                Gas           Gov. Aggregation
VEDO            4001501112146893            Gas           Gov. Aggregation   COH             115809700010                Gas           Gov. Aggregation
COH             121962590058                Gas           Gov. Aggregation   COH             103948430142                Gas           Gov. Aggregation
COH             124134280055                Gas           Gov. Aggregation   COH             168978290035                Gas           Gov. Aggregation
COH             141552320022                Gas           Gov. Aggregation   COH             170786290010                Gas           Gov. Aggregation
COH             147302050013                Gas           Gov. Aggregation   COH             157779890025                Gas           Gov. Aggregation
COH             152002340011                Gas           Gov. Aggregation   COH             171116460030                Gas           Gov. Aggregation
COH             158340570020                Gas           Gov. Aggregation   COH             171220370029                Gas           Gov. Aggregation
COH             159128820044                Gas           Gov. Aggregation   COH             171624640044                Gas           Gov. Aggregation
COH             162577390012                Gas           Gov. Aggregation   COH             115829360010                Gas           Gov. Aggregation
COH             165830770066                Gas           Gov. Aggregation   COH             115832020014                Gas           Gov. Aggregation
COH             165839070065                Gas           Gov. Aggregation   COH             115841360014                Gas           Gov. Aggregation
COH             169800140021                Gas           Gov. Aggregation   COH             115846380010                Gas           Gov. Aggregation
COH             170996690039                Gas           Gov. Aggregation   COH             115846720018                Gas           Gov. Aggregation
COH             171403000037                Gas           Gov. Aggregation   COH             115847000017                Gas           Gov. Aggregation
COH             172548440047                Gas           Gov. Aggregation   COH             115848220019                Gas           Gov. Aggregation
COH             172674800026                Gas           Gov. Aggregation   COH             171105130014                Gas           Gov. Aggregation
COH             173293760022                Gas           Gov. Aggregation   COH             115751890023                Gas           Gov. Aggregation
COH             176818220037                Gas           Gov. Aggregation   COH             169384440013                Gas           Gov. Aggregation
COH             187063960030                Gas           Gov. Aggregation   COH             115752830014                Gas           Gov. Aggregation
COH             187124950014                Gas           Gov. Aggregation   COH             115753680014                Gas           Gov. Aggregation
COH             191004680028                Gas           Gov. Aggregation   COH             115755940033                Gas           Gov. Aggregation
COH             193037210016                Gas           Gov. Aggregation   COH             170393880019                Gas           Gov. Aggregation
COH             193138190017                Gas           Gov. Aggregation   COH             115862970030                Gas           Gov. Aggregation
COH             193211130013                Gas           Gov. Aggregation   COH             157919500055                Gas           Gov. Aggregation
COH             193233360019                Gas           Gov. Aggregation   COH             170524950033                Gas           Gov. Aggregation
COH             193244930016                Gas           Gov. Aggregation   COH             170929130028                Gas           Gov. Aggregation
COH             193248260019                Gas           Gov. Aggregation   COH             171024700016                Gas           Gov. Aggregation
COH             193269610011                Gas           Gov. Aggregation   COH             171361390036                Gas           Gov. Aggregation
COH             193283190010                Gas           Gov. Aggregation   COH             171722550027                Gas           Gov. Aggregation
COH             193289840011                Gas           Gov. Aggregation   COH             171750280016                Gas           Gov. Aggregation
COH             193289980012                Gas           Gov. Aggregation   COH             171410150460                Gas           Gov. Aggregation
COH             193296810012                Gas           Gov. Aggregation   COH             172029750015                Gas           Gov. Aggregation
COH             193330510011                Gas           Gov. Aggregation   COH             157819740020                Gas           Gov. Aggregation
COH             193332780011                Gas           Gov. Aggregation   COH             157942220019                Gas           Gov. Aggregation
COH             193333810012                Gas           Gov. Aggregation   COH             115855780017                Gas           Gov. Aggregation
COH             193347730010                Gas           Gov. Aggregation   COH             172240850034                Gas           Gov. Aggregation
COH             193364420019                Gas           Gov. Aggregation   COH             172336420013                Gas           Gov. Aggregation
COH             193367150010                Gas           Gov. Aggregation   COH             158284200018                Gas           Gov. Aggregation
COH             193373150017                Gas           Gov. Aggregation   COH             158082270030                Gas           Gov. Aggregation
COH             193379890010                Gas           Gov. Aggregation   COH             158812790032                Gas           Gov. Aggregation
COH             193380450019                Gas           Gov. Aggregation   COH             173124590016                Gas           Gov. Aggregation
COH             193384710016                Gas           Gov. Aggregation   COH             173936730033                Gas           Gov. Aggregation
COH             193406350014                Gas           Gov. Aggregation   COH             192917580014                Gas           Gov. Aggregation
COH             193426700018                Gas           Gov. Aggregation   COH             172558950030                Gas           Gov. Aggregation
COH             193464430015                Gas           Gov. Aggregation   COH             115855070016                Gas           Gov. Aggregation
COH             193470630010                Gas           Gov. Aggregation   COH             159155240012                Gas           Gov. Aggregation
COH             193509990012                Gas           Gov. Aggregation   COH             159205490013                Gas           Gov. Aggregation
COH             193515070012                Gas           Gov. Aggregation   COH             115859380013                Gas           Gov. Aggregation
COH             193521660015                Gas           Gov. Aggregation   COH             115861750010                Gas           Gov. Aggregation
VEDO            4004861802495290            Gas           Gov. Aggregation   COH             115864380021                Gas           Gov. Aggregation
VEDO            4001160162115086            Gas           Gov. Aggregation   COH             158937500010                Gas           Gov. Aggregation
DEO             2500055205990               Gas           Gov. Aggregation   COH             174781360020                Gas           Gov. Aggregation
DEO             5500055169820               Gas           Gov. Aggregation   COH             175374660010                Gas           Gov. Aggregation
VEDO            4001861152243292            Gas           Gov. Aggregation   COH             159490050012                Gas           Gov. Aggregation
COH             112292320010                Gas           Gov. Aggregation   COH             158378070017                Gas           Gov. Aggregation
COH             167065040015                Gas           Gov. Aggregation   COH             172959680046                Gas           Gov. Aggregation
DEO             3500055371431               Gas           Gov. Aggregation   COH             173790790031                Gas           Gov. Aggregation
DEO             2500055419723               Gas           Gov. Aggregation   COH             193238230016                Gas           Gov. Aggregation
COH             125865960016                Gas           Gov. Aggregation   COH             193882870017                Gas           Gov. Aggregation
COH             115176780017                Gas           Gov. Aggregation   COH             193997650010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             7500041148988               Gas           Gov. Aggregation   COH             175945220011                Gas           Gov. Aggregation
COH             108838600028                Gas           Gov. Aggregation   COH             176118110016                Gas           Gov. Aggregation
COH             159735680010                Gas           Gov. Aggregation   COH             159831520019                Gas           Gov. Aggregation
COH             163922890022                Gas           Gov. Aggregation   COH             160236470019                Gas           Gov. Aggregation
COH             165359450018                Gas           Gov. Aggregation   COH             176271530023                Gas           Gov. Aggregation
COH             186432150010                Gas           Gov. Aggregation   COH             176279310014                Gas           Gov. Aggregation
COH             188255670033                Gas           Gov. Aggregation   COH             160295030017                Gas           Gov. Aggregation
COH             190735260019                Gas           Gov. Aggregation   COH             160503320013                Gas           Gov. Aggregation
COH             192077110014                Gas           Gov. Aggregation   COH             177646380029                Gas           Gov. Aggregation
COH             192107050012                Gas           Gov. Aggregation   COH             177729940016                Gas           Gov. Aggregation
COH             192111790018                Gas           Gov. Aggregation   COH             161088050011                Gas           Gov. Aggregation
COH             192351780012                Gas           Gov. Aggregation   COH             161280890017                Gas           Gov. Aggregation
COH             193019840012                Gas           Gov. Aggregation   COH             161307510018                Gas           Gov. Aggregation
COH             193489180016                Gas           Gov. Aggregation   COH             193354640014                Gas           Gov. Aggregation
COH             193560790016                Gas           Gov. Aggregation   COH             193393900017                Gas           Gov. Aggregation
DEO             9500055353247               Gas           Gov. Aggregation   COH             177397020014                Gas           Gov. Aggregation
COH             111087880028                Gas           Gov. Aggregation   COH             160867730017                Gas           Gov. Aggregation
COH             114898280013                Gas           Gov. Aggregation   COH             161142150014                Gas           Gov. Aggregation
COH             115842120021                Gas           Gov. Aggregation   COH             161307030019                Gas           Gov. Aggregation
COH             115853620014                Gas           Gov. Aggregation   COH             161332000030                Gas           Gov. Aggregation
COH             116921480072                Gas           Gov. Aggregation   COH             161484190012                Gas           Gov. Aggregation
COH             122493560012                Gas           Gov. Aggregation   COH             185446890017                Gas           Gov. Aggregation
COH             123720070011                Gas           Gov. Aggregation   COH             185457630018                Gas           Gov. Aggregation
COH             123725960069                Gas           Gov. Aggregation   COH             185496910026                Gas           Gov. Aggregation
COH             124013800024                Gas           Gov. Aggregation   COH             185839820018                Gas           Gov. Aggregation
COH             124351950018                Gas           Gov. Aggregation   COH             186301190019                Gas           Gov. Aggregation
COH             124431380045                Gas           Gov. Aggregation   COH             186497850026                Gas           Gov. Aggregation
COH             126461120026                Gas           Gov. Aggregation   COH             194105970011                Gas           Gov. Aggregation
COH             148797720023                Gas           Gov. Aggregation   COH             194119080019                Gas           Gov. Aggregation
COH             149539980042                Gas           Gov. Aggregation   COH             194254680017                Gas           Gov. Aggregation
COH             155930740035                Gas           Gov. Aggregation   COH             110553850017                Gas           Gov. Aggregation
COH             156804810072                Gas           Gov. Aggregation   COH             110568490012                Gas           Gov. Aggregation
COH             156808110017                Gas           Gov. Aggregation   COH             186163680010                Gas           Gov. Aggregation
COH             156890860035                Gas           Gov. Aggregation   COH             186423430010                Gas           Gov. Aggregation
COH             158755070026                Gas           Gov. Aggregation   COH             161811440023                Gas           Gov. Aggregation
COH             166021030029                Gas           Gov. Aggregation   COH             161872600012                Gas           Gov. Aggregation
COH             168087960051                Gas           Gov. Aggregation   COH             162027630016                Gas           Gov. Aggregation
COH             169332690038                Gas           Gov. Aggregation   COH             162113100112                Gas           Gov. Aggregation
COH             171925140032                Gas           Gov. Aggregation   COH             194240090010                Gas           Gov. Aggregation
COH             172090980027                Gas           Gov. Aggregation   COH             185538280010                Gas           Gov. Aggregation
COH             172634990030                Gas           Gov. Aggregation   COH             185705460035                Gas           Gov. Aggregation
COH             173054530026                Gas           Gov. Aggregation   COH             108800270018                Gas           Gov. Aggregation
COH             173367640057                Gas           Gov. Aggregation   COH             108822630025                Gas           Gov. Aggregation
COH             174486780028                Gas           Gov. Aggregation   COH             110653760014                Gas           Gov. Aggregation
COH             174801960039                Gas           Gov. Aggregation   COH             161474280014                Gas           Gov. Aggregation
COH             177018620029                Gas           Gov. Aggregation   COH             186924110015                Gas           Gov. Aggregation
COH             186578410017                Gas           Gov. Aggregation   COH             187001220017                Gas           Gov. Aggregation
COH             188059480020                Gas           Gov. Aggregation   COH             187392630014                Gas           Gov. Aggregation
COH             193365980038                Gas           Gov. Aggregation   COH             161726180029                Gas           Gov. Aggregation
COH             193410370011                Gas           Gov. Aggregation   COH             110554580021                Gas           Gov. Aggregation
COH             193425800019                Gas           Gov. Aggregation   COH             110620890016                Gas           Gov. Aggregation
COH             193433340019                Gas           Gov. Aggregation   COH             110685380017                Gas           Gov. Aggregation
COH             193453080012                Gas           Gov. Aggregation   COH             187311630014                Gas           Gov. Aggregation
COH             193487080011                Gas           Gov. Aggregation   COH             162305580017                Gas           Gov. Aggregation
COH             193487200015                Gas           Gov. Aggregation   COH             162554000020                Gas           Gov. Aggregation
COH             193500890011                Gas           Gov. Aggregation   COH             162593030013                Gas           Gov. Aggregation
COH             193504460013                Gas           Gov. Aggregation   COH             187294750017                Gas           Gov. Aggregation
COH             193505550012                Gas           Gov. Aggregation   COH             162707930066                Gas           Gov. Aggregation
COH             193519700011                Gas           Gov. Aggregation   COH             162464460025                Gas           Gov. Aggregation
COH             193523870017                Gas           Gov. Aggregation   COH             162505290014                Gas           Gov. Aggregation
COH             193535690010                Gas           Gov. Aggregation   COH             120193500021                Gas           Gov. Aggregation
COH             193571540015                Gas           Gov. Aggregation   COH             188373300012                Gas           Gov. Aggregation
COH             193585180012                Gas           Gov. Aggregation   COH             186883610018                Gas           Gov. Aggregation
COH             193596320019                Gas           Gov. Aggregation   COH             187780920029                Gas           Gov. Aggregation
COH             193600360010                Gas           Gov. Aggregation   COH             187846990016                Gas           Gov. Aggregation
COH             193614790011                Gas           Gov. Aggregation   COH             120448420036                Gas           Gov. Aggregation
COH             193620460017                Gas           Gov. Aggregation   COH             110720240038                Gas           Gov. Aggregation
COH             193624890019                Gas           Gov. Aggregation   COH             111235120013                Gas           Gov. Aggregation
COH             193656840012                Gas           Gov. Aggregation   COH             189143390010                Gas           Gov. Aggregation
COH             193670090010                Gas           Gov. Aggregation   COH             110883280018                Gas           Gov. Aggregation
COH             193671420018                Gas           Gov. Aggregation   COH             163315480016                Gas           Gov. Aggregation
COH             193680200015                Gas           Gov. Aggregation   COH             111239450016                Gas           Gov. Aggregation
COH             193701050011                Gas           Gov. Aggregation   COH             189021140010                Gas           Gov. Aggregation
COH             193706370014                Gas           Gov. Aggregation   COH             162919880077                Gas           Gov. Aggregation
COH             193710780019                Gas           Gov. Aggregation   COH             162957940010                Gas           Gov. Aggregation
COH             193717790013                Gas           Gov. Aggregation   COH             163108110012                Gas           Gov. Aggregation
DEO             8500055567234               Gas           Gov. Aggregation   COH             110740510011                Gas           Gov. Aggregation
VEDO            4016040382475827            Gas           Gov. Aggregation   COH             120540930024                Gas           Gov. Aggregation
COH             117328180018                Gas           Gov. Aggregation   COH             164291970014                Gas           Gov. Aggregation
VEDO            4001723412168167            Gas           Gov. Aggregation   COH             190426200034                Gas           Gov. Aggregation
DEO             1500055634497               Gas           Gov. Aggregation   COH             190495090015                Gas           Gov. Aggregation
COH             117061440046                Gas           Gov. Aggregation   COH             190525160015                Gas           Gov. Aggregation
COH             106441400069                Gas           Gov. Aggregation   COH             164015280013                Gas           Gov. Aggregation
COH             110370740027                Gas           Gov. Aggregation   COH             164525390019                Gas           Gov. Aggregation
COH             110378290017                Gas           Gov. Aggregation   COH             164551180018                Gas           Gov. Aggregation
COH             118071170023                Gas           Gov. Aggregation   COH             120541520019                Gas           Gov. Aggregation
COH             123704670055                Gas           Gov. Aggregation   COH             164349660016                Gas           Gov. Aggregation
COH             124383570020                Gas           Gov. Aggregation   COH             190064410010                Gas           Gov. Aggregation
COH             126714860060                Gas           Gov. Aggregation   COH             190078720016                Gas           Gov. Aggregation
COH             130349360028                Gas           Gov. Aggregation   COH             190521120011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             135456370079                Gas           Gov. Aggregation   COH             190549490016                Gas           Gov. Aggregation
COH             135924170130                Gas           Gov. Aggregation   COH             126980510015                Gas           Gov. Aggregation
COH             138963780020                Gas           Gov. Aggregation   COH             164783250012                Gas           Gov. Aggregation
COH             139839400012                Gas           Gov. Aggregation   COH             164382510017                Gas           Gov. Aggregation
COH             140429240030                Gas           Gov. Aggregation   COH             120533630013                Gas           Gov. Aggregation
COH             141927300030                Gas           Gov. Aggregation   COH             120533950016                Gas           Gov. Aggregation
COH             143135600025                Gas           Gov. Aggregation   COH             120541120013                Gas           Gov. Aggregation
COH             151619400147                Gas           Gov. Aggregation   COH             165609670011                Gas           Gov. Aggregation
COH             156940490027                Gas           Gov. Aggregation   COH             164374000011                Gas           Gov. Aggregation
COH             157153730051                Gas           Gov. Aggregation   COH             192191820022                Gas           Gov. Aggregation
COH             157614390055                Gas           Gov. Aggregation   COH             192215540010                Gas           Gov. Aggregation
COH             159723070013                Gas           Gov. Aggregation   COH             192042100019                Gas           Gov. Aggregation
COH             164515460015                Gas           Gov. Aggregation   COH             166124220012                Gas           Gov. Aggregation
COH             165925940014                Gas           Gov. Aggregation   COH             165871350022                Gas           Gov. Aggregation
COH             168324350028                Gas           Gov. Aggregation   COH             192350080011                Gas           Gov. Aggregation
COH             169878270012                Gas           Gov. Aggregation   COH             165770190011                Gas           Gov. Aggregation
COH             170831770030                Gas           Gov. Aggregation   COH             166099050022                Gas           Gov. Aggregation
COH             172765960020                Gas           Gov. Aggregation   COH             166696950018                Gas           Gov. Aggregation
COH             176413450028                Gas           Gov. Aggregation   COH             166835900012                Gas           Gov. Aggregation
COH             176685340026                Gas           Gov. Aggregation   COH             166965640030                Gas           Gov. Aggregation
COH             186608140019                Gas           Gov. Aggregation   COH             192219440013                Gas           Gov. Aggregation
COH             186912970029                Gas           Gov. Aggregation   COH             133676530017                Gas           Gov. Aggregation
COH             187665500021                Gas           Gov. Aggregation   COH             167073030109                Gas           Gov. Aggregation
COH             188266280032                Gas           Gov. Aggregation   COH             167311920035                Gas           Gov. Aggregation
COH             188496780021                Gas           Gov. Aggregation   COH             192900440018                Gas           Gov. Aggregation
COH             189226150014                Gas           Gov. Aggregation   COH             192969410056                Gas           Gov. Aggregation
COH             189355870029                Gas           Gov. Aggregation   COH             133585610022                Gas           Gov. Aggregation
COH             189859690038                Gas           Gov. Aggregation   COH             166959280011                Gas           Gov. Aggregation
COH             191811000029                Gas           Gov. Aggregation   COH             166989280018                Gas           Gov. Aggregation
COH             191915920017                Gas           Gov. Aggregation   COH             167185360014                Gas           Gov. Aggregation
COH             193184930014                Gas           Gov. Aggregation   COH             167274600032                Gas           Gov. Aggregation
COH             193385460026                Gas           Gov. Aggregation   COH             193556860010                Gas           Gov. Aggregation
COH             193622220013                Gas           Gov. Aggregation   COH             167712300035                Gas           Gov. Aggregation
COH             193659970019                Gas           Gov. Aggregation   COH             136948040029                Gas           Gov. Aggregation
COH             193681760016                Gas           Gov. Aggregation   COH             137358660010                Gas           Gov. Aggregation
COH             193699430018                Gas           Gov. Aggregation   COH             168363180013                Gas           Gov. Aggregation
COH             193711370013                Gas           Gov. Aggregation   COH             168377670011                Gas           Gov. Aggregation
COH             193717870016                Gas           Gov. Aggregation   COH             137388110021                Gas           Gov. Aggregation
COH             193731600012                Gas           Gov. Aggregation   COH             168422480023                Gas           Gov. Aggregation
COH             193733610016                Gas           Gov. Aggregation   COH             137867400024                Gas           Gov. Aggregation
COH             193733670014                Gas           Gov. Aggregation   COH             136366660096                Gas           Gov. Aggregation
COH             193740510012                Gas           Gov. Aggregation   COH             167704850019                Gas           Gov. Aggregation
COH             193753740017                Gas           Gov. Aggregation   COH             137335260012                Gas           Gov. Aggregation
COH             193760590014                Gas           Gov. Aggregation   COH             194032810019                Gas           Gov. Aggregation
COH             193765660019                Gas           Gov. Aggregation   COH             168636810011                Gas           Gov. Aggregation
COH             193765700010                Gas           Gov. Aggregation   COH             167753650018                Gas           Gov. Aggregation
COH             193765800019                Gas           Gov. Aggregation   COH             136250360049                Gas           Gov. Aggregation
COH             193777850014                Gas           Gov. Aggregation   COH             168136150010                Gas           Gov. Aggregation
COH             193782520012                Gas           Gov. Aggregation   COH             193600230017                Gas           Gov. Aggregation
COH             193782890015                Gas           Gov. Aggregation   COH             168538780016                Gas           Gov. Aggregation
COH             193787980016                Gas           Gov. Aggregation   COH             194115540010                Gas           Gov. Aggregation
COH             193804190014                Gas           Gov. Aggregation   COH             168629460010                Gas           Gov. Aggregation
COH             193815860010                Gas           Gov. Aggregation   COH             169081870015                Gas           Gov. Aggregation
COH             193849850011                Gas           Gov. Aggregation   COH             139562820011                Gas           Gov. Aggregation
COH             193898150015                Gas           Gov. Aggregation   COH             168604460021                Gas           Gov. Aggregation
DEO             2500060608399               Gas           Gov. Aggregation   COH             130286480018                Gas           Gov. Aggregation
COH             123897610023                Gas           Gov. Aggregation   COH             169727010024                Gas           Gov. Aggregation
DEO             6500055743870               Gas           Gov. Aggregation   COH             170056660028                Gas           Gov. Aggregation
DEO             3500029287517               Gas           Gov. Aggregation   COH             140342160013                Gas           Gov. Aggregation
DEO             2500051028435               Gas           Gov. Aggregation   COH             140539000019                Gas           Gov. Aggregation
VEDO            4015970082380805            Gas           Gov. Aggregation   COH             140348990026                Gas           Gov. Aggregation
COH             191888070024                Gas           Gov. Aggregation   COH             131772220029                Gas           Gov. Aggregation
COH             174333650037                Gas           Gov. Aggregation   COH             170008210014                Gas           Gov. Aggregation
COH             191222210015                Gas           Gov. Aggregation   COH             170197010026                Gas           Gov. Aggregation
COH             193013520011                Gas           Gov. Aggregation   COH             170517990012                Gas           Gov. Aggregation
COH             193395380013                Gas           Gov. Aggregation   COH             170691620011                Gas           Gov. Aggregation
COH             170882920022                Gas           Gov. Aggregation   COH             142079320025                Gas           Gov. Aggregation
COH             193913220016                Gas           Gov. Aggregation   COH             170296540025                Gas           Gov. Aggregation
COH             133673170019                Gas           Gov. Aggregation   COH             170459460026                Gas           Gov. Aggregation
COH             186300290029                Gas           Gov. Aggregation   COH             170493250019                Gas           Gov. Aggregation
COH             123816450018                Gas           Gov. Aggregation   COH             144143220027                Gas           Gov. Aggregation
COH             164118230015                Gas           Gov. Aggregation   COH             145024990018                Gas           Gov. Aggregation
COH             123805820095                Gas           Gov. Aggregation   COH             171336320015                Gas           Gov. Aggregation
COH             123876220047                Gas           Gov. Aggregation   COH             171323680026                Gas           Gov. Aggregation
COH             123853580013                Gas           Gov. Aggregation   COH             171505810013                Gas           Gov. Aggregation
COH             176007970048                Gas           Gov. Aggregation   COH             171509990018                Gas           Gov. Aggregation
COH             123804170021                Gas           Gov. Aggregation   COH             171582870019                Gas           Gov. Aggregation
COH             123865930014                Gas           Gov. Aggregation   COH             171613200012                Gas           Gov. Aggregation
COH             167243300058                Gas           Gov. Aggregation   COH             146118220028                Gas           Gov. Aggregation
COH             192860180019                Gas           Gov. Aggregation   COH             139588900010                Gas           Gov. Aggregation
COH             167555020029                Gas           Gov. Aggregation   COH             145606060019                Gas           Gov. Aggregation
COH             192400340019                Gas           Gov. Aggregation   COH             139470860027                Gas           Gov. Aggregation
COH             193732290016                Gas           Gov. Aggregation   COH             147989150018                Gas           Gov. Aggregation
COH             173742980050                Gas           Gov. Aggregation   COH             146600150011                Gas           Gov. Aggregation
COH             175118890041                Gas           Gov. Aggregation   COH             172294840015                Gas           Gov. Aggregation
COH             193732230018                Gas           Gov. Aggregation   COH             172404610018                Gas           Gov. Aggregation
COH             192930280019                Gas           Gov. Aggregation   COH             147752120015                Gas           Gov. Aggregation
COH             192492410011                Gas           Gov. Aggregation   COH             172263130028                Gas           Gov. Aggregation
COH             192074670013                Gas           Gov. Aggregation   COH             172534700014                Gas           Gov. Aggregation
COH             192505840012                Gas           Gov. Aggregation   COH             172931560012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             123869280013                Gas           Gov. Aggregation   COH             172732540018                Gas           Gov. Aggregation
COH             192498880011                Gas           Gov. Aggregation   COH             172736670022                Gas           Gov. Aggregation
COH             155592310033                Gas           Gov. Aggregation   COH             172902140011                Gas           Gov. Aggregation
COH             192536230015                Gas           Gov. Aggregation   COH             173103730047                Gas           Gov. Aggregation
COH             193967590016                Gas           Gov. Aggregation   COH             150217940021                Gas           Gov. Aggregation
COH             133538590026                Gas           Gov. Aggregation   COH             172624730035                Gas           Gov. Aggregation
COH             192070890015                Gas           Gov. Aggregation   COH             141318910015                Gas           Gov. Aggregation
COH             123836780017                Gas           Gov. Aggregation   COH             142070090022                Gas           Gov. Aggregation
COH             191528470013                Gas           Gov. Aggregation   COH             173164900034                Gas           Gov. Aggregation
COH             193224370016                Gas           Gov. Aggregation   COH             150998250013                Gas           Gov. Aggregation
COH             156486570015                Gas           Gov. Aggregation   COH             149782720023                Gas           Gov. Aggregation
COH             190164910031                Gas           Gov. Aggregation   COH             173122830028                Gas           Gov. Aggregation
COH             123761520029                Gas           Gov. Aggregation   COH             173543450026                Gas           Gov. Aggregation
COH             167867130016                Gas           Gov. Aggregation   COH             173120770025                Gas           Gov. Aggregation
COH             176362040032                Gas           Gov. Aggregation   COH             173650230025                Gas           Gov. Aggregation
COH             169546500025                Gas           Gov. Aggregation   COH             153309250019                Gas           Gov. Aggregation
COH             160632900045                Gas           Gov. Aggregation   COH             173345520067                Gas           Gov. Aggregation
COH             155910490058                Gas           Gov. Aggregation   COH             174116330025                Gas           Gov. Aggregation
COH             167373290010                Gas           Gov. Aggregation   COH             174266980022                Gas           Gov. Aggregation
COH             193667800017                Gas           Gov. Aggregation   COH             153184110078                Gas           Gov. Aggregation
COH             189869190014                Gas           Gov. Aggregation   COH             174551820011                Gas           Gov. Aggregation
COH             123887870048                Gas           Gov. Aggregation   COH             174836660011                Gas           Gov. Aggregation
COH             188163940013                Gas           Gov. Aggregation   COH             174664480014                Gas           Gov. Aggregation
COH             187603740012                Gas           Gov. Aggregation   COH             174806410016                Gas           Gov. Aggregation
COH             123861120058                Gas           Gov. Aggregation   COH             154757310016                Gas           Gov. Aggregation
COH             186010550010                Gas           Gov. Aggregation   COH             155189570016                Gas           Gov. Aggregation
COH             189455930015                Gas           Gov. Aggregation   COH             154925210029                Gas           Gov. Aggregation
COH             156067290012                Gas           Gov. Aggregation   COH             174979780014                Gas           Gov. Aggregation
COH             175925140056                Gas           Gov. Aggregation   COH             175334510024                Gas           Gov. Aggregation
COH             123814030029                Gas           Gov. Aggregation   COH             175345880015                Gas           Gov. Aggregation
COH             133991790015                Gas           Gov. Aggregation   COH             155895790031                Gas           Gov. Aggregation
COH             172407480047                Gas           Gov. Aggregation   COH             175040040017                Gas           Gov. Aggregation
COH             150515020031                Gas           Gov. Aggregation   COH             175042050039                Gas           Gov. Aggregation
COH             193652370019                Gas           Gov. Aggregation   COH             157190080014                Gas           Gov. Aggregation
COH             163870060036                Gas           Gov. Aggregation   COH             155589220020                Gas           Gov. Aggregation
COH             109940920032                Gas           Gov. Aggregation   COH             175329160010                Gas           Gov. Aggregation
COH             138456970098                Gas           Gov. Aggregation   COH             156269530013                Gas           Gov. Aggregation
COH             168274240019                Gas           Gov. Aggregation   COH             156588970015                Gas           Gov. Aggregation
COH             143583900032                Gas           Gov. Aggregation   COH             156590640019                Gas           Gov. Aggregation
COH             193794930011                Gas           Gov. Aggregation   COH             156971780012                Gas           Gov. Aggregation
COH             160719650026                Gas           Gov. Aggregation   COH             175807190010                Gas           Gov. Aggregation
COH             193802390016                Gas           Gov. Aggregation   COH             157778640010                Gas           Gov. Aggregation
COH             163274740037                Gas           Gov. Aggregation   COH             157781300014                Gas           Gov. Aggregation
COH             193755210014                Gas           Gov. Aggregation   COH             176119320029                Gas           Gov. Aggregation
VEDO            4001251822123698            Gas           Gov. Aggregation   COH             157373780019                Gas           Gov. Aggregation
DEO             9442005315473               Gas           Gov. Aggregation   COH             176221320031                Gas           Gov. Aggregation
DEO             7500050366015               Gas           Gov. Aggregation   COH             157125040046                Gas           Gov. Aggregation
DEO             5500060213402               Gas           Gov. Aggregation   COH             176030920012                Gas           Gov. Aggregation
COH             108718860028                Gas           Gov. Aggregation   COH             158687500011                Gas           Gov. Aggregation
COH             110378840011                Gas           Gov. Aggregation   COH             158592890011                Gas           Gov. Aggregation
COH             122467740108                Gas           Gov. Aggregation   COH             159301600015                Gas           Gov. Aggregation
COH             122490740047                Gas           Gov. Aggregation   COH             177307420037                Gas           Gov. Aggregation
COH             124584070038                Gas           Gov. Aggregation   COH             177339160017                Gas           Gov. Aggregation
COH             124640640029                Gas           Gov. Aggregation   COH             176829470014                Gas           Gov. Aggregation
COH             130568620029                Gas           Gov. Aggregation   COH             160169530019                Gas           Gov. Aggregation
COH             131192010069                Gas           Gov. Aggregation   COH             177809690019                Gas           Gov. Aggregation
COH             132895080019                Gas           Gov. Aggregation   COH             159512130017                Gas           Gov. Aggregation
COH             133564100032                Gas           Gov. Aggregation   COH             177776460027                Gas           Gov. Aggregation
COH             143688590018                Gas           Gov. Aggregation   COH             160963760017                Gas           Gov. Aggregation
COH             144916760025                Gas           Gov. Aggregation   COH             185316820016                Gas           Gov. Aggregation
COH             145411550046                Gas           Gov. Aggregation   COH             161528550012                Gas           Gov. Aggregation
COH             145955800014                Gas           Gov. Aggregation   COH             161609910014                Gas           Gov. Aggregation
COH             151235810010                Gas           Gov. Aggregation   COH             163321920010                Gas           Gov. Aggregation
COH             153643610033                Gas           Gov. Aggregation   COH             186092050013                Gas           Gov. Aggregation
COH             154846150020                Gas           Gov. Aggregation   COH             186093920018                Gas           Gov. Aggregation
COH             157226840026                Gas           Gov. Aggregation   COH             185514480027                Gas           Gov. Aggregation
COH             158818420019                Gas           Gov. Aggregation   COH             185644760023                Gas           Gov. Aggregation
COH             161415190124                Gas           Gov. Aggregation   COH             186114620015                Gas           Gov. Aggregation
COH             163573650069                Gas           Gov. Aggregation   COH             186221490016                Gas           Gov. Aggregation
COH             164072550025                Gas           Gov. Aggregation   COH             167320690017                Gas           Gov. Aggregation
COH             164972750034                Gas           Gov. Aggregation   COH             186269260014                Gas           Gov. Aggregation
COH             165664450011                Gas           Gov. Aggregation   COH             165508740010                Gas           Gov. Aggregation
COH             171023250013                Gas           Gov. Aggregation   COH             169015520017                Gas           Gov. Aggregation
COH             171541870024                Gas           Gov. Aggregation   COH             163270430012                Gas           Gov. Aggregation
COH             173029840015                Gas           Gov. Aggregation   COH             165524790025                Gas           Gov. Aggregation
COH             173153130039                Gas           Gov. Aggregation   COH             186812570025                Gas           Gov. Aggregation
COH             174071700014                Gas           Gov. Aggregation   COH             163594520017                Gas           Gov. Aggregation
COH             175834640045                Gas           Gov. Aggregation   COH             164030740014                Gas           Gov. Aggregation
COH             175867200011                Gas           Gov. Aggregation   COH             165830960057                Gas           Gov. Aggregation
COH             185747630022                Gas           Gov. Aggregation   COH             164902510031                Gas           Gov. Aggregation
COH             187814020034                Gas           Gov. Aggregation   COH             170889660014                Gas           Gov. Aggregation
COH             188656980038                Gas           Gov. Aggregation   COH             187293900017                Gas           Gov. Aggregation
COH             189604670022                Gas           Gov. Aggregation   COH             187583220015                Gas           Gov. Aggregation
COH             189863050024                Gas           Gov. Aggregation   COH             187583260017                Gas           Gov. Aggregation
COH             191093110020                Gas           Gov. Aggregation   COH             187480220013                Gas           Gov. Aggregation
COH             191482350016                Gas           Gov. Aggregation   COH             187515330015                Gas           Gov. Aggregation
COH             193214460018                Gas           Gov. Aggregation   COH             166731280013                Gas           Gov. Aggregation
COH             193512050012                Gas           Gov. Aggregation   COH             165381240024                Gas           Gov. Aggregation
COH             193710410016                Gas           Gov. Aggregation   COH             167846480017                Gas           Gov. Aggregation
COH             193813650018                Gas           Gov. Aggregation   COH             167964440033                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             193861520014                Gas           Gov. Aggregation   COH             168297200028                Gas           Gov. Aggregation
COH             193879540013                Gas           Gov. Aggregation   COH             168604070023                Gas           Gov. Aggregation
COH             193924170014                Gas           Gov. Aggregation   COH             188199690020                Gas           Gov. Aggregation
COH             193934770017                Gas           Gov. Aggregation   COH             188247670012                Gas           Gov. Aggregation
COH             193938890014                Gas           Gov. Aggregation   COH             188461470010                Gas           Gov. Aggregation
COH             193960830019                Gas           Gov. Aggregation   COH             188614070019                Gas           Gov. Aggregation
COH             193961000011                Gas           Gov. Aggregation   COH             172624560022                Gas           Gov. Aggregation
COH             193965650017                Gas           Gov. Aggregation   COH             188343920015                Gas           Gov. Aggregation
COH             193969150014                Gas           Gov. Aggregation   COH             188540680018                Gas           Gov. Aggregation
COH             193976060018                Gas           Gov. Aggregation   COH             188484000010                Gas           Gov. Aggregation
COH             193980370014                Gas           Gov. Aggregation   COH             188572190023                Gas           Gov. Aggregation
COH             194013290019                Gas           Gov. Aggregation   COH             170142690010                Gas           Gov. Aggregation
COH             194020920011                Gas           Gov. Aggregation   COH             188889060010                Gas           Gov. Aggregation
COH             194034740010                Gas           Gov. Aggregation   COH             188824060016                Gas           Gov. Aggregation
COH             194035540010                Gas           Gov. Aggregation   COH             175079280016                Gas           Gov. Aggregation
COH             194037550014                Gas           Gov. Aggregation   COH             170315620017                Gas           Gov. Aggregation
COH             194048380017                Gas           Gov. Aggregation   COH             189009210011                Gas           Gov. Aggregation
COH             194049670014                Gas           Gov. Aggregation   COH             170670510018                Gas           Gov. Aggregation
COH             194049710015                Gas           Gov. Aggregation   COH             171429730012                Gas           Gov. Aggregation
COH             194049800016                Gas           Gov. Aggregation   COH             171629280013                Gas           Gov. Aggregation
COH             194057940010                Gas           Gov. Aggregation   COH             176443410014                Gas           Gov. Aggregation
COH             194064650016                Gas           Gov. Aggregation   COH             189406900023                Gas           Gov. Aggregation
COH             194073580012                Gas           Gov. Aggregation   COH             189628390030                Gas           Gov. Aggregation
COH             194078490011                Gas           Gov. Aggregation   COH             189795710011                Gas           Gov. Aggregation
COH             194085520019                Gas           Gov. Aggregation   COH             190156070017                Gas           Gov. Aggregation
COH             194085530017                Gas           Gov. Aggregation   COH             176911610019                Gas           Gov. Aggregation
COH             194113980012                Gas           Gov. Aggregation   COH             173840670011                Gas           Gov. Aggregation
VEDO            4017695492195952            Gas           Gov. Aggregation   COH             190347710017                Gas           Gov. Aggregation
COH             125725760014                Gas           Gov. Aggregation   COH             175139740020                Gas           Gov. Aggregation
DEO             5500060375905               Gas           Gov. Aggregation   COH             190408410010                Gas           Gov. Aggregation
VEDO            4010096542151290            Gas           Gov. Aggregation   COH             190617930018                Gas           Gov. Aggregation
COH             124502120020                Gas           Gov. Aggregation   COH             186178300036                Gas           Gov. Aggregation
COH             137394930044                Gas           Gov. Aggregation   COH             174652060017                Gas           Gov. Aggregation
COH             139580120038                Gas           Gov. Aggregation   COH             175101130045                Gas           Gov. Aggregation
COH             141316070070                Gas           Gov. Aggregation   COH             187573990015                Gas           Gov. Aggregation
COH             145426260037                Gas           Gov. Aggregation   COH             186781600016                Gas           Gov. Aggregation
COH             150228210049                Gas           Gov. Aggregation   COH             175510270012                Gas           Gov. Aggregation
COH             156584350184                Gas           Gov. Aggregation   COH             190969500013                Gas           Gov. Aggregation
COH             159112380040                Gas           Gov. Aggregation   COH             190981430012                Gas           Gov. Aggregation
COH             160996670044                Gas           Gov. Aggregation   COH             187724230013                Gas           Gov. Aggregation
COH             163004960069                Gas           Gov. Aggregation   COH             190727420012                Gas           Gov. Aggregation
COH             165652930042                Gas           Gov. Aggregation   COH             190789800012                Gas           Gov. Aggregation
COH             165793400027                Gas           Gov. Aggregation   COH             191196790011                Gas           Gov. Aggregation
COH             168585850021                Gas           Gov. Aggregation   COH             176589560051                Gas           Gov. Aggregation
COH             171410150451                Gas           Gov. Aggregation   COH             191064040017                Gas           Gov. Aggregation
COH             176663940026                Gas           Gov. Aggregation   COH             191292070018                Gas           Gov. Aggregation
COH             186010390014                Gas           Gov. Aggregation   COH             191529780025                Gas           Gov. Aggregation
COH             186635110027                Gas           Gov. Aggregation   COH             191530750019                Gas           Gov. Aggregation
COH             187033240025                Gas           Gov. Aggregation   COH             191524980014                Gas           Gov. Aggregation
COH             189167670039                Gas           Gov. Aggregation   COH             191642590016                Gas           Gov. Aggregation
COH             192487340026                Gas           Gov. Aggregation   COH             191907690013                Gas           Gov. Aggregation
COH             193573880029                Gas           Gov. Aggregation   COH             192040950015                Gas           Gov. Aggregation
COH             193628920014                Gas           Gov. Aggregation   COH             191833600027                Gas           Gov. Aggregation
COH             194058360010                Gas           Gov. Aggregation   COH             185255870016                Gas           Gov. Aggregation
COH             194074490019                Gas           Gov. Aggregation   COH             189591390039                Gas           Gov. Aggregation
COH             194113650011                Gas           Gov. Aggregation   COH             190633400015                Gas           Gov. Aggregation
COH             194124590011                Gas           Gov. Aggregation   COH             186028080012                Gas           Gov. Aggregation
COH             194132520018                Gas           Gov. Aggregation   COH             190477520012                Gas           Gov. Aggregation
COH             194134360027                Gas           Gov. Aggregation   COH             186488520024                Gas           Gov. Aggregation
COH             194138920012                Gas           Gov. Aggregation   COH             192069620014                Gas           Gov. Aggregation
COH             194150600013                Gas           Gov. Aggregation   COH             192371940016                Gas           Gov. Aggregation
COH             194158660015                Gas           Gov. Aggregation   COH             192620380015                Gas           Gov. Aggregation
COH             194158800015                Gas           Gov. Aggregation   COH             186459410019                Gas           Gov. Aggregation
COH             194166070012                Gas           Gov. Aggregation   COH             192447630010                Gas           Gov. Aggregation
COH             194176470017                Gas           Gov. Aggregation   COH             192575160018                Gas           Gov. Aggregation
COH             194181300011                Gas           Gov. Aggregation   COH             192751120030                Gas           Gov. Aggregation
COH             194183210016                Gas           Gov. Aggregation   COH             192920880014                Gas           Gov. Aggregation
COH             194189180011                Gas           Gov. Aggregation   COH             192848960011                Gas           Gov. Aggregation
COH             194190390014                Gas           Gov. Aggregation   COH             192929550015                Gas           Gov. Aggregation
COH             194199320010                Gas           Gov. Aggregation   COH             188425340013                Gas           Gov. Aggregation
COH             194206290010                Gas           Gov. Aggregation   COH             188116030013                Gas           Gov. Aggregation
COH             194211900010                Gas           Gov. Aggregation   COH             193079140013                Gas           Gov. Aggregation
COH             194219010011                Gas           Gov. Aggregation   COH             193085680017                Gas           Gov. Aggregation
VEDO            4018911572299294            Gas           Gov. Aggregation   COH             188432940012                Gas           Gov. Aggregation
COH             115036220010                Gas           Gov. Aggregation   COH             192139500010                Gas           Gov. Aggregation
COH             128882610038                Gas           Gov. Aggregation   COH             193019130011                Gas           Gov. Aggregation
DEO             5500060792864               Gas           Gov. Aggregation   COH             193085860019                Gas           Gov. Aggregation
COH             122123060029                Gas           Gov. Aggregation   COH             193069870011                Gas           Gov. Aggregation
COH             120266710059                Gas           Gov. Aggregation   COH             193269110016                Gas           Gov. Aggregation
COH             122274520014                Gas           Gov. Aggregation   COH             192898270011                Gas           Gov. Aggregation
COH             122284660069                Gas           Gov. Aggregation   COH             189556020012                Gas           Gov. Aggregation
COH             122797550029                Gas           Gov. Aggregation   COH             192920700020                Gas           Gov. Aggregation
COH             124342060023                Gas           Gov. Aggregation   COH             193415730015                Gas           Gov. Aggregation
COH             124345430029                Gas           Gov. Aggregation   COH             193443310014                Gas           Gov. Aggregation
COH             124346130020                Gas           Gov. Aggregation   COH             193467330010                Gas           Gov. Aggregation
COH             124369880034                Gas           Gov. Aggregation   COH             193596480016                Gas           Gov. Aggregation
COH             124379340018                Gas           Gov. Aggregation   COH             193504510012                Gas           Gov. Aggregation
COH             124409460018                Gas           Gov. Aggregation   COH             193474780011                Gas           Gov. Aggregation
COH             124410190049                Gas           Gov. Aggregation   COH             193580030013                Gas           Gov. Aggregation
COH             124448420158                Gas           Gov. Aggregation   COH             193619020012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             124346320011                Gas           Gov. Aggregation   COH             194131750012                Gas           Gov. Aggregation
COH             124376070011                Gas           Gov. Aggregation   COH             193804280015                Gas           Gov. Aggregation
COH             124378200019                Gas           Gov. Aggregation   COH             193854780015                Gas           Gov. Aggregation
COH             124402230029                Gas           Gov. Aggregation   COH             193836220010                Gas           Gov. Aggregation
COH             124409570015                Gas           Gov. Aggregation   COH             194001270018                Gas           Gov. Aggregation
COH             124438530012                Gas           Gov. Aggregation   COH             193905050019                Gas           Gov. Aggregation
COH             124440060052                Gas           Gov. Aggregation   COH             193906110014                Gas           Gov. Aggregation
COH             124442350011                Gas           Gov. Aggregation   COH             190810040015                Gas           Gov. Aggregation
COH             124442870012                Gas           Gov. Aggregation   COH             193941530012                Gas           Gov. Aggregation
COH             122306670041                Gas           Gov. Aggregation   COH             191205800017                Gas           Gov. Aggregation
COH             123024040031                Gas           Gov. Aggregation   COH             191204450013                Gas           Gov. Aggregation
COH             124377740018                Gas           Gov. Aggregation   COH             194073050013                Gas           Gov. Aggregation
COH             124378230031                Gas           Gov. Aggregation   COH             194077480015                Gas           Gov. Aggregation
COH             124395570016                Gas           Gov. Aggregation   COH             194129160011                Gas           Gov. Aggregation
COH             124396870011                Gas           Gov. Aggregation   COH             194272970018                Gas           Gov. Aggregation
COH             124424590019                Gas           Gov. Aggregation   COH             194273200017                Gas           Gov. Aggregation
COH             124425620056                Gas           Gov. Aggregation   COH             192516130018                Gas           Gov. Aggregation
COH             124427170011                Gas           Gov. Aggregation   COH             192820770019                Gas           Gov. Aggregation
COH             124448420149                Gas           Gov. Aggregation   COH             110782020016                Gas           Gov. Aggregation
COH             124457650017                Gas           Gov. Aggregation   COH             192858230013                Gas           Gov. Aggregation
COH             124468700013                Gas           Gov. Aggregation   COH             193218730013                Gas           Gov. Aggregation
COH             124476970029                Gas           Gov. Aggregation   COH             111399110019                Gas           Gov. Aggregation
COH             124502060014                Gas           Gov. Aggregation   COH             193442120016                Gas           Gov. Aggregation
COH             124502560019                Gas           Gov. Aggregation   COH             193111210018                Gas           Gov. Aggregation
COH             124793920045                Gas           Gov. Aggregation   COH             111327730010                Gas           Gov. Aggregation
COH             124820840025                Gas           Gov. Aggregation   COH             111331240014                Gas           Gov. Aggregation
COH             124318550021                Gas           Gov. Aggregation   COH             193449050017                Gas           Gov. Aggregation
COH             124322920024                Gas           Gov. Aggregation   COH             193596360011                Gas           Gov. Aggregation
COH             124333570034                Gas           Gov. Aggregation   COH             194172230015                Gas           Gov. Aggregation
COH             124344170026                Gas           Gov. Aggregation   COH             111442410013                Gas           Gov. Aggregation
COH             124379550014                Gas           Gov. Aggregation   COH             136858080013                Gas           Gov. Aggregation
COH             124388810010                Gas           Gov. Aggregation   COH             144953380018                Gas           Gov. Aggregation
COH             124410690017                Gas           Gov. Aggregation   COH             144548980020                Gas           Gov. Aggregation
COH             124432760016                Gas           Gov. Aggregation   COH             145122630033                Gas           Gov. Aggregation
COH             124434260035                Gas           Gov. Aggregation   COH             147980530016                Gas           Gov. Aggregation
COH             124437000015                Gas           Gov. Aggregation   COH             152494200037                Gas           Gov. Aggregation
COH             124508540011                Gas           Gov. Aggregation   COH             159540030019                Gas           Gov. Aggregation
COH             124509250010                Gas           Gov. Aggregation   COH             159626010011                Gas           Gov. Aggregation
COH             124716480031                Gas           Gov. Aggregation   COH             157747800057                Gas           Gov. Aggregation
COH             124513170027                Gas           Gov. Aggregation   COH             174573000026                Gas           Gov. Aggregation
COH             124520760064                Gas           Gov. Aggregation   COH             167953870018                Gas           Gov. Aggregation
COH             124522610016                Gas           Gov. Aggregation   COH             170739920052                Gas           Gov. Aggregation
COH             124826820027                Gas           Gov. Aggregation   COH             177840040019                Gas           Gov. Aggregation
COH             125099470023                Gas           Gov. Aggregation   COH             177840050017                Gas           Gov. Aggregation
COH             125146240020                Gas           Gov. Aggregation   COH             185070100019                Gas           Gov. Aggregation
COH             125152350024                Gas           Gov. Aggregation   COH             185105370018                Gas           Gov. Aggregation
COH             124922840038                Gas           Gov. Aggregation   COH             186569240012                Gas           Gov. Aggregation
COH             125146340029                Gas           Gov. Aggregation   COH             191306850013                Gas           Gov. Aggregation
COH             125349720029                Gas           Gov. Aggregation   COH             192822110013                Gas           Gov. Aggregation
COH             126706440065                Gas           Gov. Aggregation   COH             193792880016                Gas           Gov. Aggregation
COH             124859680028                Gas           Gov. Aggregation   COH             110455540010                Gas           Gov. Aggregation
COH             124859710021                Gas           Gov. Aggregation   COH             110483900015                Gas           Gov. Aggregation
COH             125252800036                Gas           Gov. Aggregation   COH             111097220016                Gas           Gov. Aggregation
COH             125442760023                Gas           Gov. Aggregation   COH             111097530011                Gas           Gov. Aggregation
COH             125496560022                Gas           Gov. Aggregation   COH             110468510019                Gas           Gov. Aggregation
COH             125054740039                Gas           Gov. Aggregation   COH             111096380015                Gas           Gov. Aggregation
COH             125133580026                Gas           Gov. Aggregation   COH             186927200029                Gas           Gov. Aggregation
COH             125311210025                Gas           Gov. Aggregation   COH             121946420011                Gas           Gov. Aggregation
COH             125414050021                Gas           Gov. Aggregation   COH             165462130025                Gas           Gov. Aggregation
COH             127549880020                Gas           Gov. Aggregation   COH             150227580026                Gas           Gov. Aggregation
COH             131762080020                Gas           Gov. Aggregation   COH             160100160011                Gas           Gov. Aggregation
COH             125257660027                Gas           Gov. Aggregation   COH             110554440011                Gas           Gov. Aggregation
COH             125330570048                Gas           Gov. Aggregation   COH             171743320058                Gas           Gov. Aggregation
COH             125391200038                Gas           Gov. Aggregation   COH             193755280010                Gas           Gov. Aggregation
COH             127632770026                Gas           Gov. Aggregation   COH             166144890010                Gas           Gov. Aggregation
COH             128701380011                Gas           Gov. Aggregation   COH             111088100010                Gas           Gov. Aggregation
COH             128872150018                Gas           Gov. Aggregation   COH             161675850036                Gas           Gov. Aggregation
COH             132149360039                Gas           Gov. Aggregation   COH             108753200013                Gas           Gov. Aggregation
COH             130587780026                Gas           Gov. Aggregation   COH             192345830014                Gas           Gov. Aggregation
COH             131137010029                Gas           Gov. Aggregation   COH             190576480011                Gas           Gov. Aggregation
COH             131710610018                Gas           Gov. Aggregation   COH             172876590014                Gas           Gov. Aggregation
COH             131964260015                Gas           Gov. Aggregation   COH             124523070063                Gas           Gov. Aggregation
COH             132031870013                Gas           Gov. Aggregation   COH             193208600011                Gas           Gov. Aggregation
COH             134875350021                Gas           Gov. Aggregation   COH             158546920011                Gas           Gov. Aggregation
COH             136195100014                Gas           Gov. Aggregation   COH             171493780017                Gas           Gov. Aggregation
COH             136440210056                Gas           Gov. Aggregation   COH             168575470013                Gas           Gov. Aggregation
COH             132976350109                Gas           Gov. Aggregation   COH             190000980015                Gas           Gov. Aggregation
COH             133306520012                Gas           Gov. Aggregation   COH             156324250014                Gas           Gov. Aggregation
COH             133394690012                Gas           Gov. Aggregation   COH             156835300010                Gas           Gov. Aggregation
COH             133610430016                Gas           Gov. Aggregation   COH             111329350016                Gas           Gov. Aggregation
COH             133772790019                Gas           Gov. Aggregation   COH             108728050036                Gas           Gov. Aggregation
COH             134659880028                Gas           Gov. Aggregation   COH             150351070020                Gas           Gov. Aggregation
COH             134825870018                Gas           Gov. Aggregation   COH             153143630020                Gas           Gov. Aggregation
COH             135901440042                Gas           Gov. Aggregation   COH             123107230017                Gas           Gov. Aggregation
COH             136108330019                Gas           Gov. Aggregation   COH             147535780017                Gas           Gov. Aggregation
COH             136717810017                Gas           Gov. Aggregation   COH             171231810014                Gas           Gov. Aggregation
COH             133722050019                Gas           Gov. Aggregation   COH             188011290057                Gas           Gov. Aggregation
COH             134406120022                Gas           Gov. Aggregation   COH             185571220021                Gas           Gov. Aggregation
COH             134457090031                Gas           Gov. Aggregation   COH             177642010015                Gas           Gov. Aggregation
COH             135234990042                Gas           Gov. Aggregation   COH             153133020010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             135904000011                Gas           Gov. Aggregation   COH             192806310015                Gas           Gov. Aggregation
COH             136035870020                Gas           Gov. Aggregation   COH             124104610021                Gas           Gov. Aggregation
COH             136585390017                Gas           Gov. Aggregation   COH             151511950015                Gas           Gov. Aggregation
COH             133973570019                Gas           Gov. Aggregation   COH             120175490013                Gas           Gov. Aggregation
COH             133982240037                Gas           Gov. Aggregation   COH             186976330010                Gas           Gov. Aggregation
COH             134721340019                Gas           Gov. Aggregation   COH             144260990019                Gas           Gov. Aggregation
COH             134879350014                Gas           Gov. Aggregation   VEDO            4016189202588015            Gas           Gov. Aggregation
COH             135932940015                Gas           Gov. Aggregation   VEDO            4016243302530750            Gas           Gov. Aggregation
COH             136015600037                Gas           Gov. Aggregation   VEDO            4002620392295806            Gas           Gov. Aggregation
COH             136882990020                Gas           Gov. Aggregation   VEDO            4002738762268720            Gas           Gov. Aggregation
COH             138185790028                Gas           Gov. Aggregation   VEDO            4016677062355942            Gas           Gov. Aggregation
COH             139007620091                Gas           Gov. Aggregation   VEDO            4016743712195463            Gas           Gov. Aggregation
COH             139012000027                Gas           Gov. Aggregation   VEDO            4016746632189580            Gas           Gov. Aggregation
COH             140669000014                Gas           Gov. Aggregation   VEDO            4016759362275287            Gas           Gov. Aggregation
COH             139656410018                Gas           Gov. Aggregation   VEDO            4016806832111569            Gas           Gov. Aggregation
COH             139791860018                Gas           Gov. Aggregation   VEDO            4016832342513402            Gas           Gov. Aggregation
COH             140445050018                Gas           Gov. Aggregation   VEDO            4004421322446711            Gas           Gov. Aggregation
COH             140627220025                Gas           Gov. Aggregation   VEDO            4004477972452848            Gas           Gov. Aggregation
COH             137248380012                Gas           Gov. Aggregation   VEDO            4004506332456037            Gas           Gov. Aggregation
COH             138351190030                Gas           Gov. Aggregation   VEDO            4018134552373577            Gas           Gov. Aggregation
COH             138972620024                Gas           Gov. Aggregation   VEDO            4018135732267151            Gas           Gov. Aggregation
COH             139013560019                Gas           Gov. Aggregation   VEDO            4018183372369332            Gas           Gov. Aggregation
COH             139050230010                Gas           Gov. Aggregation   VEDO            4015399722391777            Gas           Gov. Aggregation
COH             139760150012                Gas           Gov. Aggregation   VEDO            4015455612237408            Gas           Gov. Aggregation
COH             140458250028                Gas           Gov. Aggregation   VEDO            4015459672133208            Gas           Gov. Aggregation
COH             140449340028                Gas           Gov. Aggregation   VEDO            4015519592311575            Gas           Gov. Aggregation
COH             141264630019                Gas           Gov. Aggregation   VEDO            4015558702535298            Gas           Gov. Aggregation
COH             143196800016                Gas           Gov. Aggregation   VEDO            4015602822208586            Gas           Gov. Aggregation
COH             143200330032                Gas           Gov. Aggregation   VEDO            4002283832588407            Gas           Gov. Aggregation
COH             143657640012                Gas           Gov. Aggregation   VEDO            4002284102223510            Gas           Gov. Aggregation
COH             142836590023                Gas           Gov. Aggregation   VEDO            4002332412228241            Gas           Gov. Aggregation
COH             143112230049                Gas           Gov. Aggregation   VEDO            4001160672294747            Gas           Gov. Aggregation
COH             144658610024                Gas           Gov. Aggregation   VEDO            4001203842119282            Gas           Gov. Aggregation
COH             144661070012                Gas           Gov. Aggregation   VEDO            4001260642545607            Gas           Gov. Aggregation
COH             147012950019                Gas           Gov. Aggregation   VEDO            4001266892184448            Gas           Gov. Aggregation
COH             147565130074                Gas           Gov. Aggregation   VEDO            4002384432233332            Gas           Gov. Aggregation
COH             147742380021                Gas           Gov. Aggregation   VEDO            4002385212233410            Gas           Gov. Aggregation
COH             148421860038                Gas           Gov. Aggregation   VEDO            4002386622233535            Gas           Gov. Aggregation
COH             142908880029                Gas           Gov. Aggregation   VEDO            4002443152239203            Gas           Gov. Aggregation
COH             143874760017                Gas           Gov. Aggregation   VEDO            4002145312209670            Gas           Gov. Aggregation
COH             144412920010                Gas           Gov. Aggregation   VEDO            4002145312237083            Gas           Gov. Aggregation
COH             145872700039                Gas           Gov. Aggregation   VEDO            4002899832515537            Gas           Gov. Aggregation
COH             147037150024                Gas           Gov. Aggregation   VEDO            4004722432479926            Gas           Gov. Aggregation
COH             142191870022                Gas           Gov. Aggregation   VEDO            4004745262391339            Gas           Gov. Aggregation
COH             143555540028                Gas           Gov. Aggregation   VEDO            4004755812483584            Gas           Gov. Aggregation
COH             143568730021                Gas           Gov. Aggregation   VEDO            4004764152484534            Gas           Gov. Aggregation
COH             144201820036                Gas           Gov. Aggregation   VEDO            4004832492492029            Gas           Gov. Aggregation
COH             145040760012                Gas           Gov. Aggregation   VEDO            4004846692493622            Gas           Gov. Aggregation
COH             145573950022                Gas           Gov. Aggregation   VEDO            4004848652185477            Gas           Gov. Aggregation
COH             145608830031                Gas           Gov. Aggregation   VEDO            4017971942615954            Gas           Gov. Aggregation
COH             146223060038                Gas           Gov. Aggregation   VEDO            4018000742103439            Gas           Gov. Aggregation
COH             146223250029                Gas           Gov. Aggregation   VEDO            4018048662621794            Gas           Gov. Aggregation
COH             145652530031                Gas           Gov. Aggregation   VEDO            4018050172178308            Gas           Gov. Aggregation
COH             147644420011                Gas           Gov. Aggregation   VEDO            4017201322162756            Gas           Gov. Aggregation
COH             147660050015                Gas           Gov. Aggregation   VEDO            4017229782192201            Gas           Gov. Aggregation
COH             148672880015                Gas           Gov. Aggregation   VEDO            4017266122175164            Gas           Gov. Aggregation
COH             148728470012                Gas           Gov. Aggregation   VEDO            4017335442584802            Gas           Gov. Aggregation
COH             149423390023                Gas           Gov. Aggregation   VEDO            4001954112190885            Gas           Gov. Aggregation
COH             149790840021                Gas           Gov. Aggregation   VEDO            4001954262190895            Gas           Gov. Aggregation
COH             149844440039                Gas           Gov. Aggregation   VEDO            4001954772190954            Gas           Gov. Aggregation
COH             149899740013                Gas           Gov. Aggregation   VEDO            4002032712421049            Gas           Gov. Aggregation
COH             151135370033                Gas           Gov. Aggregation   VEDO            4018963262461301            Gas           Gov. Aggregation
COH             148415800015                Gas           Gov. Aggregation   VEDO            4018938322458768            Gas           Gov. Aggregation
COH             148859400028                Gas           Gov. Aggregation   VEDO            4018888462483263            Gas           Gov. Aggregation
COH             150042720028                Gas           Gov. Aggregation   VEDO            4005072652518928            Gas           Gov. Aggregation
COH             149447510018                Gas           Gov. Aggregation   VEDO            4005081572519907            Gas           Gov. Aggregation
COH             150212540025                Gas           Gov. Aggregation   VEDO            4005099402521936            Gas           Gov. Aggregation
COH             150226920026                Gas           Gov. Aggregation   VEDO            4005120572351140            Gas           Gov. Aggregation
COH             150570900012                Gas           Gov. Aggregation   VEDO            4005124342295930            Gas           Gov. Aggregation
COH             151234480012                Gas           Gov. Aggregation   VEDO            4005141982526803            Gas           Gov. Aggregation
COH             151406960016                Gas           Gov. Aggregation   VEDO            4005142982143397            Gas           Gov. Aggregation
COH             153280160029                Gas           Gov. Aggregation   VEDO            4010063412170658            Gas           Gov. Aggregation
COH             153802700018                Gas           Gov. Aggregation   VEDO            4018840322277964            Gas           Gov. Aggregation
COH             154288210021                Gas           Gov. Aggregation   VEDO            4018394042468417            Gas           Gov. Aggregation
COH             150076480055                Gas           Gov. Aggregation   VEDO            4015858092134195            Gas           Gov. Aggregation
COH             150733890019                Gas           Gov. Aggregation   VEDO            4015859312465184            Gas           Gov. Aggregation
COH             151324190021                Gas           Gov. Aggregation   VEDO            4015876452344783            Gas           Gov. Aggregation
COH             151448020015                Gas           Gov. Aggregation   VEDO            4015891242496789            Gas           Gov. Aggregation
COH             152858020033                Gas           Gov. Aggregation   VEDO            4015899862562849            Gas           Gov. Aggregation
COH             154196140030                Gas           Gov. Aggregation   VEDO            4015959762104479            Gas           Gov. Aggregation
COH             154556150025                Gas           Gov. Aggregation   VEDO            4015964462561219            Gas           Gov. Aggregation
COH             151855560019                Gas           Gov. Aggregation   VEDO            4015998012490777            Gas           Gov. Aggregation
COH             152039830020                Gas           Gov. Aggregation   VEDO            4016023532269809            Gas           Gov. Aggregation
COH             152589820036                Gas           Gov. Aggregation   VEDO            4017853882623793            Gas           Gov. Aggregation
COH             153279080010                Gas           Gov. Aggregation   VEDO            4017884812267081            Gas           Gov. Aggregation
COH             153805200017                Gas           Gov. Aggregation   VEDO            4017932332311995            Gas           Gov. Aggregation
COH             151793980022                Gas           Gov. Aggregation   VEDO            4001689652164926            Gas           Gov. Aggregation
COH             152219320025                Gas           Gov. Aggregation   VEDO            4001691712165109            Gas           Gov. Aggregation
COH             152401430025                Gas           Gov. Aggregation   VEDO            4001710222166892            Gas           Gov. Aggregation
COH             154742540019                Gas           Gov. Aggregation   VEDO            4001727392168552            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             155929180018                Gas           Gov. Aggregation   VEDO         4001727872168594            Gas           Gov. Aggregation
COH             156376460011                Gas           Gov. Aggregation   VEDO         4001737122169503            Gas           Gov. Aggregation
COH             156484750057                Gas           Gov. Aggregation   VEDO         4001737362169530            Gas           Gov. Aggregation
COH             154891910034                Gas           Gov. Aggregation   VEDO         4001761112171826            Gas           Gov. Aggregation
COH             154892460028                Gas           Gov. Aggregation   VEDO         4001762422177967            Gas           Gov. Aggregation
COH             156616920023                Gas           Gov. Aggregation   VEDO         4018807942640597            Gas           Gov. Aggregation
COH             156665550019                Gas           Gov. Aggregation   VEDO         4018813052277386            Gas           Gov. Aggregation
COH             156497100029                Gas           Gov. Aggregation   VEDO         4003521692349488            Gas           Gov. Aggregation
COH             156625770026                Gas           Gov. Aggregation   VEDO         4003527972350140            Gas           Gov. Aggregation
COH             156805650056                Gas           Gov. Aggregation   VEDO         4003538422351218            Gas           Gov. Aggregation
COH             157197560028                Gas           Gov. Aggregation   VEDO         4003538522351227            Gas           Gov. Aggregation
COH             157622710014                Gas           Gov. Aggregation   VEDO         4003616442359538            Gas           Gov. Aggregation
COH             158124100017                Gas           Gov. Aggregation   VEDO         4017042392438353            Gas           Gov. Aggregation
COH             158158930012                Gas           Gov. Aggregation   VEDO         4003173812106567            Gas           Gov. Aggregation
COH             158214120012                Gas           Gov. Aggregation   VEDO         4003196152315525            Gas           Gov. Aggregation
COH             158229240025                Gas           Gov. Aggregation   VEDO         4003199372315848            Gas           Gov. Aggregation
COH             158319560018                Gas           Gov. Aggregation   VEDO         4003200022315918            Gas           Gov. Aggregation
COH             159007360029                Gas           Gov. Aggregation   VEDO         4003237392637184            Gas           Gov. Aggregation
COH             156599410019                Gas           Gov. Aggregation   VEDO         4003238562319883            Gas           Gov. Aggregation
COH             157079950026                Gas           Gov. Aggregation   VEDO         4003285472226354            Gas           Gov. Aggregation
COH             157842440024                Gas           Gov. Aggregation   VEDO         4003837022383074            Gas           Gov. Aggregation
COH             158584920011                Gas           Gov. Aggregation   VEDO         4003857752313564            Gas           Gov. Aggregation
COH             158646550017                Gas           Gov. Aggregation   VEDO         4003878922387600            Gas           Gov. Aggregation
COH             158959490017                Gas           Gov. Aggregation   VEDO         4003910292391003            Gas           Gov. Aggregation
COH             158984270010                Gas           Gov. Aggregation   VEDO         4003948462395134            Gas           Gov. Aggregation
COH             159859570011                Gas           Gov. Aggregation   VEDO         4017103212273283            Gas           Gov. Aggregation
COH             160068720031                Gas           Gov. Aggregation   VEDO         4015228062364061            Gas           Gov. Aggregation
COH             158657820017                Gas           Gov. Aggregation   VEDO         4015228282419696            Gas           Gov. Aggregation
COH             158726160019                Gas           Gov. Aggregation   VEDO         4015273262108051            Gas           Gov. Aggregation
COH             158910470013                Gas           Gov. Aggregation   VEDO         4015316932126036            Gas           Gov. Aggregation
COH             159375730031                Gas           Gov. Aggregation   VEDO         4015383382539846            Gas           Gov. Aggregation
COH             160771180025                Gas           Gov. Aggregation   VEDO         4002786362273589            Gas           Gov. Aggregation
COH             160296030024                Gas           Gov. Aggregation   VEDO         4002828742277865            Gas           Gov. Aggregation
COH             161343160025                Gas           Gov. Aggregation   VEDO         4002882392283226            Gas           Gov. Aggregation
COH             161723170027                Gas           Gov. Aggregation   VEDO         4002906452214499            Gas           Gov. Aggregation
COH             161764000017                Gas           Gov. Aggregation   VEDO         4002909582285943            Gas           Gov. Aggregation
COH             160603540033                Gas           Gov. Aggregation   VEDO         4002911882286182            Gas           Gov. Aggregation
COH             161512270032                Gas           Gov. Aggregation   VEDO         4002917272381661            Gas           Gov. Aggregation
COH             161568940016                Gas           Gov. Aggregation   VEDO         4004182582342184            Gas           Gov. Aggregation
COH             161897950026                Gas           Gov. Aggregation   VEDO         4004189682314549            Gas           Gov. Aggregation
COH             161947580027                Gas           Gov. Aggregation   VEDO         4004192232421643            Gas           Gov. Aggregation
COH             162309960019                Gas           Gov. Aggregation   VEDO         4004209382423506            Gas           Gov. Aggregation
COH             162359310010                Gas           Gov. Aggregation   VEDO         4004221562449701            Gas           Gov. Aggregation
COH             158858110010                Gas           Gov. Aggregation   VEDO         4004228342448050            Gas           Gov. Aggregation
COH             159468810028                Gas           Gov. Aggregation   VEDO         4004238172426681            Gas           Gov. Aggregation
COH             160063570015                Gas           Gov. Aggregation   VEDO         4004274632430605            Gas           Gov. Aggregation
COH             160159630019                Gas           Gov. Aggregation   VEDO         4004308292434285            Gas           Gov. Aggregation
COH             160838130032                Gas           Gov. Aggregation   VEDO         4001310422495069            Gas           Gov. Aggregation
COH             160914020024                Gas           Gov. Aggregation   VEDO         4001324652210757            Gas           Gov. Aggregation
COH             161887630015                Gas           Gov. Aggregation   VEDO         4001337462131701            Gas           Gov. Aggregation
COH             161897880012                Gas           Gov. Aggregation   VEDO         4001344272108773            Gas           Gov. Aggregation
COH             162910520016                Gas           Gov. Aggregation   VEDO         4001365362306726            Gas           Gov. Aggregation
COH             162934910023                Gas           Gov. Aggregation   VEDO         4003941602630573            Gas           Gov. Aggregation
COH             163396150015                Gas           Gov. Aggregation   VEDO         4004037002153852            Gas           Gov. Aggregation
COH             163396310011                Gas           Gov. Aggregation   VEDO         4004948022504804            Gas           Gov. Aggregation
COH             163832600023                Gas           Gov. Aggregation   VEDO         4005014072629669            Gas           Gov. Aggregation
COH             161908800013                Gas           Gov. Aggregation   VEDO         4005103182522370            Gas           Gov. Aggregation
COH             162146170011                Gas           Gov. Aggregation   VEDO         4005118352524069            Gas           Gov. Aggregation
COH             162647190015                Gas           Gov. Aggregation   VEDO         4010066912435951            Gas           Gov. Aggregation
COH             162978540010                Gas           Gov. Aggregation   VEDO         4015281832375202            Gas           Gov. Aggregation
COH             163951310013                Gas           Gov. Aggregation   VEDO         4001404812137977            Gas           Gov. Aggregation
COH             161321320018                Gas           Gov. Aggregation   VEDO         4001427682496144            Gas           Gov. Aggregation
COH             161838850021                Gas           Gov. Aggregation   VEDO         4017670792254137            Gas           Gov. Aggregation
COH             163304300016                Gas           Gov. Aggregation   VEDO         4017713442261790            Gas           Gov. Aggregation
COH             164671420013                Gas           Gov. Aggregation   VEDO         4017748212416011            Gas           Gov. Aggregation
COH             165071510015                Gas           Gov. Aggregation   VEDO         4017775362330426            Gas           Gov. Aggregation
COH             163182370012                Gas           Gov. Aggregation   VEDO         4002548042249814            Gas           Gov. Aggregation
COH             163282350014                Gas           Gov. Aggregation   VEDO         4002548572249867            Gas           Gov. Aggregation
COH             164152850022                Gas           Gov. Aggregation   VEDO         4002566782251676            Gas           Gov. Aggregation
COH             164252820017                Gas           Gov. Aggregation   VEDO         4002569082404643            Gas           Gov. Aggregation
COH             164278170029                Gas           Gov. Aggregation   VEDO         4002609112255825            Gas           Gov. Aggregation
COH             164522650010                Gas           Gov. Aggregation   VEDO         4018746782640021            Gas           Gov. Aggregation
COH             164621600010                Gas           Gov. Aggregation   VEDO         4018757742454280            Gas           Gov. Aggregation
COH             164904330017                Gas           Gov. Aggregation   VEDO         4018775502638933            Gas           Gov. Aggregation
COH             166185470012                Gas           Gov. Aggregation   VEDO         4004715212479151            Gas           Gov. Aggregation
COH             163989350016                Gas           Gov. Aggregation   VEDO         4004715222479152            Gas           Gov. Aggregation
COH             164689930028                Gas           Gov. Aggregation   VEDO         4004716612479296            Gas           Gov. Aggregation
COH             165186570010                Gas           Gov. Aggregation   VEDO         4016249442241420            Gas           Gov. Aggregation
COH             165194970019                Gas           Gov. Aggregation   VEDO         4016315722556498            Gas           Gov. Aggregation
COH             164340370033                Gas           Gov. Aggregation   VEDO         4002110392206226            Gas           Gov. Aggregation
COH             164415580012                Gas           Gov. Aggregation   VEDO         4002130232208155            Gas           Gov. Aggregation
COH             164476090017                Gas           Gov. Aggregation   VEDO         4002135712138118            Gas           Gov. Aggregation
COH             164792090017                Gas           Gov. Aggregation   VEDO         4002145242209664            Gas           Gov. Aggregation
COH             164922880014                Gas           Gov. Aggregation   VEDO         4002159392211053            Gas           Gov. Aggregation
COH             164943700026                Gas           Gov. Aggregation   VEDO         4002165952447932            Gas           Gov. Aggregation
COH             164995510018                Gas           Gov. Aggregation   VEDO         4002180002213145            Gas           Gov. Aggregation
COH             165334800025                Gas           Gov. Aggregation   VEDO         4002219392181675            Gas           Gov. Aggregation
COH             165355900011                Gas           Gov. Aggregation   VEDO         4002221262286296            Gas           Gov. Aggregation
COH             165777920022                Gas           Gov. Aggregation   VEDO         4002242852600723            Gas           Gov. Aggregation
COH             166557700014                Gas           Gov. Aggregation   VEDO         4016357202452482            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             166620090027                Gas           Gov. Aggregation   VEDO         4018581552202594            Gas           Gov. Aggregation
COH             166648180011                Gas           Gov. Aggregation   VEDO         4004679782324826            Gas           Gov. Aggregation
COH             167312800010                Gas           Gov. Aggregation   VEDO         4001008332100905            Gas           Gov. Aggregation
COH             167774370013                Gas           Gov. Aggregation   VEDO         4001048902421903            Gas           Gov. Aggregation
COH             167994340013                Gas           Gov. Aggregation   VEDO         4015627022178977            Gas           Gov. Aggregation
COH             165797680049                Gas           Gov. Aggregation   VEDO         4015634562274931            Gas           Gov. Aggregation
COH             166162060016                Gas           Gov. Aggregation   VEDO         4015645502140822            Gas           Gov. Aggregation
COH             166534930023                Gas           Gov. Aggregation   VEDO         4004915092501165            Gas           Gov. Aggregation
COH             166426970024                Gas           Gov. Aggregation   VEDO         4004961552506392            Gas           Gov. Aggregation
COH             167312710019                Gas           Gov. Aggregation   VEDO         4005030762514151            Gas           Gov. Aggregation
COH             168092340023                Gas           Gov. Aggregation   VEDO         4005041282515369            Gas           Gov. Aggregation
COH             169281860013                Gas           Gov. Aggregation   VEDO         4015732042556708            Gas           Gov. Aggregation
COH             170101170015                Gas           Gov. Aggregation   VEDO         4015746712175047            Gas           Gov. Aggregation
COH             170127870014                Gas           Gov. Aggregation   VEDO         4018498772471039            Gas           Gov. Aggregation
COH             167449770018                Gas           Gov. Aggregation   VEDO         4018509422375490            Gas           Gov. Aggregation
COH             168368640016                Gas           Gov. Aggregation   VEDO         4018523912175498            Gas           Gov. Aggregation
COH             168526090016                Gas           Gov. Aggregation   VEDO         4017565272246779            Gas           Gov. Aggregation
COH             168770230019                Gas           Gov. Aggregation   VEDO         4017571292216806            Gas           Gov. Aggregation
COH             168585060018                Gas           Gov. Aggregation   VEDO         4017577902388763            Gas           Gov. Aggregation
COH             168656640015                Gas           Gov. Aggregation   VEDO         4016915382598992            Gas           Gov. Aggregation
COH             169202780025                Gas           Gov. Aggregation   VEDO         4016932122398551            Gas           Gov. Aggregation
COH             169702030022                Gas           Gov. Aggregation   VEDO         4016968382402324            Gas           Gov. Aggregation
COH             169910570019                Gas           Gov. Aggregation   VEDO         4016998682427046            Gas           Gov. Aggregation
COH             169429140010                Gas           Gov. Aggregation   VEDO         4017603302269612            Gas           Gov. Aggregation
COH             168435100025                Gas           Gov. Aggregation   VEDO         4017632522225601            Gas           Gov. Aggregation
COH             168730190012                Gas           Gov. Aggregation   VEDO         4001555422152231            Gas           Gov. Aggregation
COH             170814160025                Gas           Gov. Aggregation   VEDO         4001565092271332            Gas           Gov. Aggregation
COH             170845370017                Gas           Gov. Aggregation   VEDO         4018541422186833            Gas           Gov. Aggregation
COH             170869150022                Gas           Gov. Aggregation   VEDO         4001773662173061            Gas           Gov. Aggregation
COH             171127940018                Gas           Gov. Aggregation   VEDO         4001912052590357            Gas           Gov. Aggregation
COH             171426270015                Gas           Gov. Aggregation   VEDO         4001924252525333            Gas           Gov. Aggregation
COH             171864750016                Gas           Gov. Aggregation   VEDO         4018473222636447            Gas           Gov. Aggregation
COH             170324660010                Gas           Gov. Aggregation   VEDO         4018476952636575            Gas           Gov. Aggregation
COH             170431910010                Gas           Gov. Aggregation   VEDO         4018485592191198            Gas           Gov. Aggregation
COH             171441620019                Gas           Gov. Aggregation   VEDO         4018685672604911            Gas           Gov. Aggregation
COH             171401260037                Gas           Gov. Aggregation   VEDO         4018710342379355            Gas           Gov. Aggregation
COH             171842590043                Gas           Gov. Aggregation   VEDO         4018710862478024            Gas           Gov. Aggregation
COH             172138190021                Gas           Gov. Aggregation   VEDO         4018332212634899            Gas           Gov. Aggregation
COH             172235720014                Gas           Gov. Aggregation   VEDO         4018350172221142            Gas           Gov. Aggregation
COH             172451720034                Gas           Gov. Aggregation   VEDO         4015045652522939            Gas           Gov. Aggregation
COH             172480600047                Gas           Gov. Aggregation   VEDO         4015132272434424            Gas           Gov. Aggregation
COH             172401150011                Gas           Gov. Aggregation   VEDO         4018198732141526            Gas           Gov. Aggregation
COH             172511630026                Gas           Gov. Aggregation   VEDO         4018201252516157            Gas           Gov. Aggregation
COH             171515900013                Gas           Gov. Aggregation   VEDO         4018222352589824            Gas           Gov. Aggregation
COH             172401290030                Gas           Gov. Aggregation   VEDO         4018232892369952            Gas           Gov. Aggregation
COH             172713700014                Gas           Gov. Aggregation   VEDO         4018234382282958            Gas           Gov. Aggregation
COH             173385470019                Gas           Gov. Aggregation   VEDO         4018239572599371            Gas           Gov. Aggregation
COH             173751130013                Gas           Gov. Aggregation   VEDO         4017383252177671            Gas           Gov. Aggregation
COH             174392300018                Gas           Gov. Aggregation   VEDO         4017396892139966            Gas           Gov. Aggregation
COH             175077800029                Gas           Gov. Aggregation   VEDO         4017406772472085            Gas           Gov. Aggregation
COH             174253490013                Gas           Gov. Aggregation   VEDO         4015785482551141            Gas           Gov. Aggregation
COH             174534200017                Gas           Gov. Aggregation   VEDO         4018024922454599            Gas           Gov. Aggregation
COH             171886440024                Gas           Gov. Aggregation   VEDO         4003297292325939            Gas           Gov. Aggregation
COH             172614710012                Gas           Gov. Aggregation   VEDO         4003299142326144            Gas           Gov. Aggregation
COH             172782980011                Gas           Gov. Aggregation   VEDO         4003344802631012            Gas           Gov. Aggregation
COH             174513530012                Gas           Gov. Aggregation   VEDO         4003366582605450            Gas           Gov. Aggregation
COH             174538350018                Gas           Gov. Aggregation   VEDO         4003394632336295            Gas           Gov. Aggregation
COH             174912790012                Gas           Gov. Aggregation   VEDO         4003395972313250            Gas           Gov. Aggregation
COH             172761580055                Gas           Gov. Aggregation   VEDO         4003424172339364            Gas           Gov. Aggregation
COH             172803830016                Gas           Gov. Aggregation   VEDO         4003753332501792            Gas           Gov. Aggregation
COH             174281640012                Gas           Gov. Aggregation   VEDO         4003768912254103            Gas           Gov. Aggregation
COH             175116880010                Gas           Gov. Aggregation   VEDO         4003780752390085            Gas           Gov. Aggregation
COH             175184510014                Gas           Gov. Aggregation   VEDO         4001448392141947            Gas           Gov. Aggregation
COH             175519030014                Gas           Gov. Aggregation   VEDO         4001493762146235            Gas           Gov. Aggregation
COH             175645260028                Gas           Gov. Aggregation   VEDO         4001505352192472            Gas           Gov. Aggregation
COH             176098100012                Gas           Gov. Aggregation   VEDO         4001555642303972            Gas           Gov. Aggregation
COH             176502860014                Gas           Gov. Aggregation   VEDO         4001560762181094            Gas           Gov. Aggregation
COH             175335940022                Gas           Gov. Aggregation   VEDO         4001584042154974            Gas           Gov. Aggregation
COH             175664860013                Gas           Gov. Aggregation   VEDO         4002954992290695            Gas           Gov. Aggregation
COH             175711440029                Gas           Gov. Aggregation   VEDO         4002968962286675            Gas           Gov. Aggregation
COH             177284550021                Gas           Gov. Aggregation   VEDO         4002980122363523            Gas           Gov. Aggregation
COH             176177330016                Gas           Gov. Aggregation   VEDO         4003003902295712            Gas           Gov. Aggregation
COH             176977760010                Gas           Gov. Aggregation   VEDO         4003006662295998            Gas           Gov. Aggregation
COH             177386470031                Gas           Gov. Aggregation   VEDO         4003039412626387            Gas           Gov. Aggregation
COH             177659980017                Gas           Gov. Aggregation   VEDO         4003039922299418            Gas           Gov. Aggregation
COH             177673050012                Gas           Gov. Aggregation   VEDO         4003098432305390            Gas           Gov. Aggregation
COH             175635610016                Gas           Gov. Aggregation   VEDO         4003990002399602            Gas           Gov. Aggregation
COH             176212750021                Gas           Gov. Aggregation   VEDO         4003994402534604            Gas           Gov. Aggregation
COH             176213190018                Gas           Gov. Aggregation   VEDO         4004125342119021            Gas           Gov. Aggregation
COH             176842530031                Gas           Gov. Aggregation   VEDO         4004159712418084            Gas           Gov. Aggregation
COH             176956970010                Gas           Gov. Aggregation   VEDO         4016102632351776            Gas           Gov. Aggregation
COH             176977730016                Gas           Gov. Aggregation   VEDO         4016112492192648            Gas           Gov. Aggregation
COH             177256900017                Gas           Gov. Aggregation   VEDO         4016124022393457            Gas           Gov. Aggregation
COH             188159810019                Gas           Gov. Aggregation   VEDO         4018654782430061            Gas           Gov. Aggregation
COH             185399880029                Gas           Gov. Aggregation   VEDO         4018662702138725            Gas           Gov. Aggregation
COH             176637260033                Gas           Gov. Aggregation   VEDO         4018665422636484            Gas           Gov. Aggregation
COH             177704210011                Gas           Gov. Aggregation   VEDO         4018669472318720            Gas           Gov. Aggregation
COH             185093060029                Gas           Gov. Aggregation   VEDO         4018981592255220            Gas           Gov. Aggregation
COH             185142470028                Gas           Gov. Aggregation   VEDO         4018957072642117            Gas           Gov. Aggregation
COH             177690220038                Gas           Gov. Aggregation   VEDO         4018982432515418            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             185284070022                Gas           Gov. Aggregation   VEDO            4001928292390932            Gas           Gov. Aggregation
COH             185446430013                Gas           Gov. Aggregation   VEDO            4001928292393897            Gas           Gov. Aggregation
COH             122734860026                Gas           Gov. Aggregation   VEDO            4018599812506100            Gas           Gov. Aggregation
COH             186253340010                Gas           Gov. Aggregation   VEDO            4002677192262618            Gas           Gov. Aggregation
COH             186476790014                Gas           Gov. Aggregation   VEDO            4003529912350348            Gas           Gov. Aggregation
COH             122674550010                Gas           Gov. Aggregation   VEDO            4018791162508523            Gas           Gov. Aggregation
COH             122674630022                Gas           Gov. Aggregation   VEDO            4002163852211515            Gas           Gov. Aggregation
COH             186664950020                Gas           Gov. Aggregation   VEDO            4017286642399826            Gas           Gov. Aggregation
COH             185842500036                Gas           Gov. Aggregation   VEDO            4016814462295980            Gas           Gov. Aggregation
COH             186764460021                Gas           Gov. Aggregation   VEDO            4016814462236471            Gas           Gov. Aggregation
COH             123798340011                Gas           Gov. Aggregation   VEDO            4016259422301467            Gas           Gov. Aggregation
COH             186931600017                Gas           Gov. Aggregation   VEDO            4018997732601569            Gas           Gov. Aggregation
COH             186720050029                Gas           Gov. Aggregation   COH             132047420014                Gas           Gov. Aggregation
COH             123743120012                Gas           Gov. Aggregation   COH             171550450014                Gas           Gov. Aggregation
COH             124546320035                Gas           Gov. Aggregation   COH             171594980011                Gas           Gov. Aggregation
COH             186139650026                Gas           Gov. Aggregation   COH             171686570012                Gas           Gov. Aggregation
COH             122896370018                Gas           Gov. Aggregation   COH             164616220011                Gas           Gov. Aggregation
COH             186344630034                Gas           Gov. Aggregation   COH             138213430013                Gas           Gov. Aggregation
COH             186936000013                Gas           Gov. Aggregation   COH             111149530010                Gas           Gov. Aggregation
COH             123895460029                Gas           Gov. Aggregation   COH             111186080017                Gas           Gov. Aggregation
COH             124331490017                Gas           Gov. Aggregation   COH             172724470010                Gas           Gov. Aggregation
COH             187357350026                Gas           Gov. Aggregation   COH             133864380010                Gas           Gov. Aggregation
COH             187637540013                Gas           Gov. Aggregation   COH             170760870012                Gas           Gov. Aggregation
COH             187795150011                Gas           Gov. Aggregation   COH             111176470016                Gas           Gov. Aggregation
COH             186300730017                Gas           Gov. Aggregation   COH             111176650018                Gas           Gov. Aggregation
COH             123745950023                Gas           Gov. Aggregation   COH             159657800010                Gas           Gov. Aggregation
COH             187482350012                Gas           Gov. Aggregation   COH             147473360017                Gas           Gov. Aggregation
COH             187538770015                Gas           Gov. Aggregation   COH             177364280019                Gas           Gov. Aggregation
COH             125793410014                Gas           Gov. Aggregation   COH             137732530013                Gas           Gov. Aggregation
COH             125903690039                Gas           Gov. Aggregation   COH             185203640013                Gas           Gov. Aggregation
COH             125837560019                Gas           Gov. Aggregation   COH             111144080015                Gas           Gov. Aggregation
COH             129435360028                Gas           Gov. Aggregation   COH             138335820022                Gas           Gov. Aggregation
COH             188084990011                Gas           Gov. Aggregation   COH             111161740010                Gas           Gov. Aggregation
COH             188237250011                Gas           Gov. Aggregation   COH             111186010020                Gas           Gov. Aggregation
COH             188347370013                Gas           Gov. Aggregation   COH             172148170015                Gas           Gov. Aggregation
COH             188370500016                Gas           Gov. Aggregation   COH             185990840014                Gas           Gov. Aggregation
COH             125753000014                Gas           Gov. Aggregation   COH             185994030016                Gas           Gov. Aggregation
COH             125805050013                Gas           Gov. Aggregation   COH             172836420013                Gas           Gov. Aggregation
COH             188228920019                Gas           Gov. Aggregation   COH             147831620021                Gas           Gov. Aggregation
COH             129964410053                Gas           Gov. Aggregation   COH             156111390016                Gas           Gov. Aggregation
COH             130133500016                Gas           Gov. Aggregation   COH             172846620010                Gas           Gov. Aggregation
COH             187232060030                Gas           Gov. Aggregation   COH             138097710030                Gas           Gov. Aggregation
COH             187259280029                Gas           Gov. Aggregation   COH             156440790015                Gas           Gov. Aggregation
COH             187378920013                Gas           Gov. Aggregation   COH             147671150039                Gas           Gov. Aggregation
COH             187861880035                Gas           Gov. Aggregation   COH             137216790013                Gas           Gov. Aggregation
COH             125723850019                Gas           Gov. Aggregation   COH             137576670016                Gas           Gov. Aggregation
COH             125891430030                Gas           Gov. Aggregation   COH             167667060015                Gas           Gov. Aggregation
COH             188660610018                Gas           Gov. Aggregation   COH             185860710016                Gas           Gov. Aggregation
COH             188727900015                Gas           Gov. Aggregation   COH             153099620018                Gas           Gov. Aggregation
COH             188442650012                Gas           Gov. Aggregation   COH             161811520017                Gas           Gov. Aggregation
COH             189087350018                Gas           Gov. Aggregation   COH             111179880023                Gas           Gov. Aggregation
COH             189079190019                Gas           Gov. Aggregation   COH             111179890012                Gas           Gov. Aggregation
COH             189109830019                Gas           Gov. Aggregation   COH             140291680013                Gas           Gov. Aggregation
COH             189126680015                Gas           Gov. Aggregation   COH             161839360013                Gas           Gov. Aggregation
COH             135526650035                Gas           Gov. Aggregation   COH             136934760018                Gas           Gov. Aggregation
COH             134259880017                Gas           Gov. Aggregation   COH             137867990021                Gas           Gov. Aggregation
COH             189011700013                Gas           Gov. Aggregation   COH             111149540018                Gas           Gov. Aggregation
COH             189782030011                Gas           Gov. Aggregation   COH             111148640037                Gas           Gov. Aggregation
COH             189813030014                Gas           Gov. Aggregation   COH             104333570029                Gas           Gov. Aggregation
COH             137158290058                Gas           Gov. Aggregation   COH             177190010014                Gas           Gov. Aggregation
COH             137813380022                Gas           Gov. Aggregation   COH             169310290010                Gas           Gov. Aggregation
COH             140262230027                Gas           Gov. Aggregation   COH             111169280011                Gas           Gov. Aggregation
COH             190660300019                Gas           Gov. Aggregation   COH             163094960015                Gas           Gov. Aggregation
COH             190679640019                Gas           Gov. Aggregation   COH             146064010027                Gas           Gov. Aggregation
COH             189852560011                Gas           Gov. Aggregation   COH             164367780013                Gas           Gov. Aggregation
COH             134421990037                Gas           Gov. Aggregation   COH             132853320016                Gas           Gov. Aggregation
COH             190144310011                Gas           Gov. Aggregation   COH             164564850010                Gas           Gov. Aggregation
COH             190468180013                Gas           Gov. Aggregation   COH             164295190010                Gas           Gov. Aggregation
COH             137813380031                Gas           Gov. Aggregation   COH             164599110012                Gas           Gov. Aggregation
COH             191412520017                Gas           Gov. Aggregation   COH             164254510018                Gas           Gov. Aggregation
COH             190967310017                Gas           Gov. Aggregation   COH             111148500018                Gas           Gov. Aggregation
COH             109579960013                Gas           Gov. Aggregation   COH             111149670020                Gas           Gov. Aggregation
COH             190577700012                Gas           Gov. Aggregation   COH             111149690017                Gas           Gov. Aggregation
COH             190850940012                Gas           Gov. Aggregation   COH             151206610013                Gas           Gov. Aggregation
COH             191042960029                Gas           Gov. Aggregation   COH             111186690019                Gas           Gov. Aggregation
COH             191140040015                Gas           Gov. Aggregation   COH             136587540020                Gas           Gov. Aggregation
COH             146708380033                Gas           Gov. Aggregation   COH             111186930018                Gas           Gov. Aggregation
COH             144844270030                Gas           Gov. Aggregation   COH             111186960012                Gas           Gov. Aggregation
COH             191668250013                Gas           Gov. Aggregation   COH             173581990014                Gas           Gov. Aggregation
COH             191719550011                Gas           Gov. Aggregation   COH             167220660015                Gas           Gov. Aggregation
COH             191756510011                Gas           Gov. Aggregation   COH             167302090020                Gas           Gov. Aggregation
COH             192056850013                Gas           Gov. Aggregation   COH             130749020012                Gas           Gov. Aggregation
COH             110224680038                Gas           Gov. Aggregation   COH             130789410016                Gas           Gov. Aggregation
COH             141297670012                Gas           Gov. Aggregation   COH             135538610010                Gas           Gov. Aggregation
COH             143432830018                Gas           Gov. Aggregation   COH             176692040015                Gas           Gov. Aggregation
COH             191150780019                Gas           Gov. Aggregation   COH             176202570011                Gas           Gov. Aggregation
COH             191576940013                Gas           Gov. Aggregation   COH             146422670010                Gas           Gov. Aggregation
COH             191733890010                Gas           Gov. Aggregation   COH             161061550012                Gas           Gov. Aggregation
COH             191917470018                Gas           Gov. Aggregation   COH             165459470012                Gas           Gov. Aggregation
COH             192080940013                Gas           Gov. Aggregation   COH             166521960015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             192080980015                Gas           Gov. Aggregation   COH             161634770011                Gas           Gov. Aggregation
COH             192121390011                Gas           Gov. Aggregation   COH             154188060016                Gas           Gov. Aggregation
COH             114892600017                Gas           Gov. Aggregation   COH             111170650010                Gas           Gov. Aggregation
COH             115054160015                Gas           Gov. Aggregation   COH             154425470016                Gas           Gov. Aggregation
COH             192013320014                Gas           Gov. Aggregation   COH             166383670010                Gas           Gov. Aggregation
COH             192045360019                Gas           Gov. Aggregation   COH             133023140012                Gas           Gov. Aggregation
COH             192282110019                Gas           Gov. Aggregation   COH             153260450011                Gas           Gov. Aggregation
COH             192301410023                Gas           Gov. Aggregation   COH             168326080012                Gas           Gov. Aggregation
COH             192140510015                Gas           Gov. Aggregation   COH             143409140012                Gas           Gov. Aggregation
COH             192576340018                Gas           Gov. Aggregation   COH             111145450015                Gas           Gov. Aggregation
COH             114915860031                Gas           Gov. Aggregation   COH             185676550011                Gas           Gov. Aggregation
COH             114922820025                Gas           Gov. Aggregation   COH             172966670016                Gas           Gov. Aggregation
COH             150805910057                Gas           Gov. Aggregation   COH             111177770020                Gas           Gov. Aggregation
COH             192601840018                Gas           Gov. Aggregation   COH             111177940015                Gas           Gov. Aggregation
COH             192573270019                Gas           Gov. Aggregation   COH             111145500014                Gas           Gov. Aggregation
COH             192823680012                Gas           Gov. Aggregation   COH             160793990010                Gas           Gov. Aggregation
COH             192850390016                Gas           Gov. Aggregation   COH             111178370013                Gas           Gov. Aggregation
COH             192620150013                Gas           Gov. Aggregation   COH             111144990014                Gas           Gov. Aggregation
COH             192955860015                Gas           Gov. Aggregation   COH             139739960017                Gas           Gov. Aggregation
COH             157926240028                Gas           Gov. Aggregation   COH             111146150016                Gas           Gov. Aggregation
COH             192995820019                Gas           Gov. Aggregation   COH             148191510030                Gas           Gov. Aggregation
COH             154380160035                Gas           Gov. Aggregation   COH             159866060022                Gas           Gov. Aggregation
COH             192512110010                Gas           Gov. Aggregation   COH             159091620018                Gas           Gov. Aggregation
COH             154692960018                Gas           Gov. Aggregation   COH             159099650016                Gas           Gov. Aggregation
COH             193039280018                Gas           Gov. Aggregation   COH             168399790010                Gas           Gov. Aggregation
COH             193029880013                Gas           Gov. Aggregation   COH             130629850012                Gas           Gov. Aggregation
COH             193373820016                Gas           Gov. Aggregation   COH             134299710027                Gas           Gov. Aggregation
COH             193487890011                Gas           Gov. Aggregation   COH             172330430013                Gas           Gov. Aggregation
COH             193598940015                Gas           Gov. Aggregation   COH             159212370013                Gas           Gov. Aggregation
COH             193470240012                Gas           Gov. Aggregation   COH             167991540017                Gas           Gov. Aggregation
COH             193671930011                Gas           Gov. Aggregation   COH             111176890018                Gas           Gov. Aggregation
COH             193734580011                Gas           Gov. Aggregation   COH             159723280028                Gas           Gov. Aggregation
COH             162225630016                Gas           Gov. Aggregation   COH             158068930013                Gas           Gov. Aggregation
COH             164175790018                Gas           Gov. Aggregation   COH             111170040018                Gas           Gov. Aggregation
COH             194031050011                Gas           Gov. Aggregation   COH             145085030011                Gas           Gov. Aggregation
COH             194084680018                Gas           Gov. Aggregation   COH             169581330018                Gas           Gov. Aggregation
COH             193297710011                Gas           Gov. Aggregation   COH             158610860017                Gas           Gov. Aggregation
COH             193779090010                Gas           Gov. Aggregation   COH             170937810019                Gas           Gov. Aggregation
COH             194293620017                Gas           Gov. Aggregation   COH             170962990019                Gas           Gov. Aggregation
COH             163489940012                Gas           Gov. Aggregation   COH             169512740035                Gas           Gov. Aggregation
COH             166741300026                Gas           Gov. Aggregation   COH             111145330010                Gas           Gov. Aggregation
COH             112398050022                Gas           Gov. Aggregation   COH             160740200016                Gas           Gov. Aggregation
COH             113208140023                Gas           Gov. Aggregation   COH             130925090023                Gas           Gov. Aggregation
COH             167165480011                Gas           Gov. Aggregation   COH             160387080012                Gas           Gov. Aggregation
COH             194335300014                Gas           Gov. Aggregation   COH             165788690028                Gas           Gov. Aggregation
COH             110941880045                Gas           Gov. Aggregation   COH             111149390010                Gas           Gov. Aggregation
COH             110964410018                Gas           Gov. Aggregation   COH             111166540030                Gas           Gov. Aggregation
COH             110966510013                Gas           Gov. Aggregation   COH             111175890010                Gas           Gov. Aggregation
COH             194376680019                Gas           Gov. Aggregation   COH             147732340011                Gas           Gov. Aggregation
COH             110835050026                Gas           Gov. Aggregation   COH             138168950020                Gas           Gov. Aggregation
COH             110928820018                Gas           Gov. Aggregation   COH             138173040011                Gas           Gov. Aggregation
COH             111069830017                Gas           Gov. Aggregation   COH             111175950017                Gas           Gov. Aggregation
COH             111080250015                Gas           Gov. Aggregation   COH             138213370016                Gas           Gov. Aggregation
COH             111123490022                Gas           Gov. Aggregation   COH             177137870016                Gas           Gov. Aggregation
COH             110920540013                Gas           Gov. Aggregation   COH             129633800025                Gas           Gov. Aggregation
COH             111078270016                Gas           Gov. Aggregation   COH             133589890017                Gas           Gov. Aggregation
COH             111079050029                Gas           Gov. Aggregation   COH             165895640012                Gas           Gov. Aggregation
COH             141984040035                Gas           Gov. Aggregation   COH             166051650017                Gas           Gov. Aggregation
COH             110926330015                Gas           Gov. Aggregation   COH             111175940019                Gas           Gov. Aggregation
COH             110983220018                Gas           Gov. Aggregation   COH             160250350014                Gas           Gov. Aggregation
COH             111050770019                Gas           Gov. Aggregation   COH             176742680014                Gas           Gov. Aggregation
COH             111068170018                Gas           Gov. Aggregation   COH             144300150028                Gas           Gov. Aggregation
COH             111129960030                Gas           Gov. Aggregation   COH             167522240013                Gas           Gov. Aggregation
COH             111130190011                Gas           Gov. Aggregation   COH             144143690010                Gas           Gov. Aggregation
COH             172482860021                Gas           Gov. Aggregation   COH             145932710020                Gas           Gov. Aggregation
COH             172579880013                Gas           Gov. Aggregation   COH             185648700018                Gas           Gov. Aggregation
COH             173524080051                Gas           Gov. Aggregation   COH             111144970018                Gas           Gov. Aggregation
COH             174573940029                Gas           Gov. Aggregation   COH             159459450014                Gas           Gov. Aggregation
COH             175545790038                Gas           Gov. Aggregation   COH             148126940019                Gas           Gov. Aggregation
COH             122352500012                Gas           Gov. Aggregation   COH             148027070012                Gas           Gov. Aggregation
COH             121960570010                Gas           Gov. Aggregation   COH             168949750011                Gas           Gov. Aggregation
COH             121971550011                Gas           Gov. Aggregation   COH             159503240013                Gas           Gov. Aggregation
COH             121976510028                Gas           Gov. Aggregation   COH             173843410019                Gas           Gov. Aggregation
COH             122348290016                Gas           Gov. Aggregation   COH             170806480016                Gas           Gov. Aggregation
COH             122352490024                Gas           Gov. Aggregation   COH             149453950013                Gas           Gov. Aggregation
COH             122488270023                Gas           Gov. Aggregation   COH             153062300012                Gas           Gov. Aggregation
COH             121938630014                Gas           Gov. Aggregation   COH             170828690016                Gas           Gov. Aggregation
COH             121942640013                Gas           Gov. Aggregation   COH             170728220016                Gas           Gov. Aggregation
COH             122421980079                Gas           Gov. Aggregation   COH             176918260019                Gas           Gov. Aggregation
COH             122449970046                Gas           Gov. Aggregation   COH             126702580019                Gas           Gov. Aggregation
COH             122457390032                Gas           Gov. Aggregation   COH             140905060010                Gas           Gov. Aggregation
COH             122483810029                Gas           Gov. Aggregation   COH             111170140017                Gas           Gov. Aggregation
COH             122484440025                Gas           Gov. Aggregation   COH             170040990013                Gas           Gov. Aggregation
COH             177853050010                Gas           Gov. Aggregation   COH             130223250018                Gas           Gov. Aggregation
COH             121978080052                Gas           Gov. Aggregation   COH             151441270026                Gas           Gov. Aggregation
COH             121979100019                Gas           Gov. Aggregation   COH             165052150020                Gas           Gov. Aggregation
COH             122358480015                Gas           Gov. Aggregation   COH             154052330016                Gas           Gov. Aggregation
COH             122483830016                Gas           Gov. Aggregation   COH             148461210030                Gas           Gov. Aggregation
COH             149442210039                Gas           Gov. Aggregation   COH             127140780018                Gas           Gov. Aggregation
COH             123909840019                Gas           Gov. Aggregation   COH             165087080013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             123916220014                Gas           Gov. Aggregation   COH             165127260028                Gas           Gov. Aggregation
COH             124037990016                Gas           Gov. Aggregation   COH             168437550018                Gas           Gov. Aggregation
COH             123965890011                Gas           Gov. Aggregation   COH             150495950012                Gas           Gov. Aggregation
COH             123996820047                Gas           Gov. Aggregation   COH             154803390011                Gas           Gov. Aggregation
COH             124013960030                Gas           Gov. Aggregation   COH             156707750017                Gas           Gov. Aggregation
COH             124015740032                Gas           Gov. Aggregation   COH             162645210023                Gas           Gov. Aggregation
COH             124229750019                Gas           Gov. Aggregation   COH             162602390017                Gas           Gov. Aggregation
COH             124263020010                Gas           Gov. Aggregation   COH             163876840012                Gas           Gov. Aggregation
COH             124564890029                Gas           Gov. Aggregation   COH             163452570017                Gas           Gov. Aggregation
COH             186360310028                Gas           Gov. Aggregation   COH             111189830013                Gas           Gov. Aggregation
COH             123891340013                Gas           Gov. Aggregation   COH             142691530014                Gas           Gov. Aggregation
COH             123905920029                Gas           Gov. Aggregation   COH             142986200018                Gas           Gov. Aggregation
COH             123908490015                Gas           Gov. Aggregation   COH             163997570013                Gas           Gov. Aggregation
COH             123818020032                Gas           Gov. Aggregation   COH             143057240018                Gas           Gov. Aggregation
COH             124302420030                Gas           Gov. Aggregation   COH             170639930025                Gas           Gov. Aggregation
COH             124560320017                Gas           Gov. Aggregation   COH             146161170019                Gas           Gov. Aggregation
COH             129892730022                Gas           Gov. Aggregation   COH             146695960021                Gas           Gov. Aggregation
COH             132078020031                Gas           Gov. Aggregation   COH             143612610012                Gas           Gov. Aggregation
COH             124133390018                Gas           Gov. Aggregation   COH             147046190018                Gas           Gov. Aggregation
COH             124576080015                Gas           Gov. Aggregation   COH             133185360014                Gas           Gov. Aggregation
COH             124576840015                Gas           Gov. Aggregation   COH             136406030010                Gas           Gov. Aggregation
COH             129857840069                Gas           Gov. Aggregation   COH             135916530015                Gas           Gov. Aggregation
COH             129870480058                Gas           Gov. Aggregation   COH             133957220025                Gas           Gov. Aggregation
COH             131095470023                Gas           Gov. Aggregation   COH             162175900016                Gas           Gov. Aggregation
COH             133298520020                Gas           Gov. Aggregation   COH             165552930017                Gas           Gov. Aggregation
COH             134407970139                Gas           Gov. Aggregation   COH             186408020018                Gas           Gov. Aggregation
COH             135046140021                Gas           Gov. Aggregation   COH             186442120015                Gas           Gov. Aggregation
COH             131200120030                Gas           Gov. Aggregation   COH             166169580013                Gas           Gov. Aggregation
COH             131371810034                Gas           Gov. Aggregation   COH             132140810023                Gas           Gov. Aggregation
COH             189507260015                Gas           Gov. Aggregation   COH             167068280019                Gas           Gov. Aggregation
COH             189814070014                Gas           Gov. Aggregation   COH             167121030035                Gas           Gov. Aggregation
COH             141032050012                Gas           Gov. Aggregation   COH             174680110017                Gas           Gov. Aggregation
COH             133656303532                Gas           Gov. Aggregation   COH             185095640014                Gas           Gov. Aggregation
COH             134648410029                Gas           Gov. Aggregation   COH             111192940013                Gas           Gov. Aggregation
COH             135820720027                Gas           Gov. Aggregation   COH             136605660016                Gas           Gov. Aggregation
COH             190489070012                Gas           Gov. Aggregation   COH             150593660015                Gas           Gov. Aggregation
COH             139056710017                Gas           Gov. Aggregation   COH             186504700011                Gas           Gov. Aggregation
COH             141741010026                Gas           Gov. Aggregation   COH             157515580019                Gas           Gov. Aggregation
COH             111069410015                Gas           Gov. Aggregation   COH             169124540012                Gas           Gov. Aggregation
COH             111077870021                Gas           Gov. Aggregation   COH             176938360016                Gas           Gov. Aggregation
COH             111079220014                Gas           Gov. Aggregation   COH             169003160018                Gas           Gov. Aggregation
COH             111112490016                Gas           Gov. Aggregation   COH             186100310019                Gas           Gov. Aggregation
COH             135048240026                Gas           Gov. Aggregation   COH             152561020014                Gas           Gov. Aggregation
COH             139491950024                Gas           Gov. Aggregation   COH             170243240010                Gas           Gov. Aggregation
COH             140114780016                Gas           Gov. Aggregation   COH             173132200010                Gas           Gov. Aggregation
COH             140954360014                Gas           Gov. Aggregation   COH             173162290019                Gas           Gov. Aggregation
COH             190183730011                Gas           Gov. Aggregation   COH             111170800018                Gas           Gov. Aggregation
COH             142709720015                Gas           Gov. Aggregation   COH             111149550016                Gas           Gov. Aggregation
COH             142830060026                Gas           Gov. Aggregation   COH             111189000017                Gas           Gov. Aggregation
COH             192727550013                Gas           Gov. Aggregation   COH             158037330014                Gas           Gov. Aggregation
COH             141394080010                Gas           Gov. Aggregation   COH             158835530010                Gas           Gov. Aggregation
COH             111170080010                Gas           Gov. Aggregation   COH             176358110018                Gas           Gov. Aggregation
COH             142609930059                Gas           Gov. Aggregation   COH             158969650012                Gas           Gov. Aggregation
COH             163118170046                Gas           Gov. Aggregation   COH             159661810028                Gas           Gov. Aggregation
COH             191833970011                Gas           Gov. Aggregation   COH             159629000017                Gas           Gov. Aggregation
COH             141339430012                Gas           Gov. Aggregation   COH             175162450013                Gas           Gov. Aggregation
COH             142141810038                Gas           Gov. Aggregation   COH             111176430023                Gas           Gov. Aggregation
COH             169539820014                Gas           Gov. Aggregation   COH             175393910035                Gas           Gov. Aggregation
COH             191422660017                Gas           Gov. Aggregation   COH             116556110010                Gas           Gov. Aggregation
COH             145900190027                Gas           Gov. Aggregation   COH             116596580018                Gas           Gov. Aggregation
COH             192764260016                Gas           Gov. Aggregation   COH             165047270017                Gas           Gov. Aggregation
COH             192957960010                Gas           Gov. Aggregation   COH             185566710010                Gas           Gov. Aggregation
COH             193055280014                Gas           Gov. Aggregation   COH             186152030019                Gas           Gov. Aggregation
COH             148794520021                Gas           Gov. Aggregation   COH             164946270012                Gas           Gov. Aggregation
COH             146499460013                Gas           Gov. Aggregation   COH             167895960013                Gas           Gov. Aggregation
COH             151018810029                Gas           Gov. Aggregation   COH             186237950016                Gas           Gov. Aggregation
COH             151200860013                Gas           Gov. Aggregation   COH             111143500018                Gas           Gov. Aggregation
COH             151224210055                Gas           Gov. Aggregation   COH             172065030010                Gas           Gov. Aggregation
COH             151672970066                Gas           Gov. Aggregation   COH             162715340018                Gas           Gov. Aggregation
COH             151721920034                Gas           Gov. Aggregation   COH             156544220014                Gas           Gov. Aggregation
COH             116629520019                Gas           Gov. Aggregation   COH             111170200014                Gas           Gov. Aggregation
COH             121909940010                Gas           Gov. Aggregation   COH             144325900028                Gas           Gov. Aggregation
COH             131409000033                Gas           Gov. Aggregation   COH             152275530014                Gas           Gov. Aggregation
COH             131599580013                Gas           Gov. Aggregation   COH             146890930023                Gas           Gov. Aggregation
COH             148375970025                Gas           Gov. Aggregation   COH             152243560015                Gas           Gov. Aggregation
COH             152000700055                Gas           Gov. Aggregation   COH             185108140010                Gas           Gov. Aggregation
COH             133287670013                Gas           Gov. Aggregation   COH             169260430044                Gas           Gov. Aggregation
COH             134009410032                Gas           Gov. Aggregation   COH             173869150010                Gas           Gov. Aggregation
COH             135934530017                Gas           Gov. Aggregation   COH             131859740017                Gas           Gov. Aggregation
COH             132886780011                Gas           Gov. Aggregation   COH             147596320015                Gas           Gov. Aggregation
COH             135434540015                Gas           Gov. Aggregation   COH             157442240015                Gas           Gov. Aggregation
COH             136455230024                Gas           Gov. Aggregation   COH             174765850012                Gas           Gov. Aggregation
COH             137368310012                Gas           Gov. Aggregation   COH             186850000015                Gas           Gov. Aggregation
COH             138737160010                Gas           Gov. Aggregation   COH             186945090016                Gas           Gov. Aggregation
COH             138827750015                Gas           Gov. Aggregation   COH             186963080010                Gas           Gov. Aggregation
COH             153691210018                Gas           Gov. Aggregation   COH             111187110018                Gas           Gov. Aggregation
COH             153839010034                Gas           Gov. Aggregation   COH             187070320011                Gas           Gov. Aggregation
COH             193758200010                Gas           Gov. Aggregation   COH             187572690010                Gas           Gov. Aggregation
COH             193766280017                Gas           Gov. Aggregation   COH             187724200019                Gas           Gov. Aggregation
COH             194099060017                Gas           Gov. Aggregation   COH             153341460026                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             152135500034                Gas           Gov. Aggregation   COH             174957030017                Gas           Gov. Aggregation
COH             193901910016                Gas           Gov. Aggregation   COH             191654250012                Gas           Gov. Aggregation
COH             193936570015                Gas           Gov. Aggregation   COH             116650360027                Gas           Gov. Aggregation
COH             174919040042                Gas           Gov. Aggregation   COH             190788340011                Gas           Gov. Aggregation
COH             138810690013                Gas           Gov. Aggregation   COH             193559600018                Gas           Gov. Aggregation
COH             152927120062                Gas           Gov. Aggregation   COH             111150650021                Gas           Gov. Aggregation
COH             139918150017                Gas           Gov. Aggregation   COH             164555450022                Gas           Gov. Aggregation
COH             155020990014                Gas           Gov. Aggregation   COH             167694780017                Gas           Gov. Aggregation
COH             154354860024                Gas           Gov. Aggregation   COH             192063180019                Gas           Gov. Aggregation
COH             194356920010                Gas           Gov. Aggregation   COH             173283860022                Gas           Gov. Aggregation
COH             114702160020                Gas           Gov. Aggregation   COH             188895970016                Gas           Gov. Aggregation
COH             156510650015                Gas           Gov. Aggregation   COH             190501820043                Gas           Gov. Aggregation
COH             138982720013                Gas           Gov. Aggregation   COH             188980970015                Gas           Gov. Aggregation
COH             142510040019                Gas           Gov. Aggregation   COH             189031070014                Gas           Gov. Aggregation
COH             157262040019                Gas           Gov. Aggregation   COH             189185430013                Gas           Gov. Aggregation
COH             157274130015                Gas           Gov. Aggregation   COH             189236090016                Gas           Gov. Aggregation
COH             176688740160                Gas           Gov. Aggregation   COH             189636320019                Gas           Gov. Aggregation
COH             158912380027                Gas           Gov. Aggregation   COH             189688930012                Gas           Gov. Aggregation
COH             157514530011                Gas           Gov. Aggregation   COH             189688970014                Gas           Gov. Aggregation
COH             158579160012                Gas           Gov. Aggregation   COH             189731170019                Gas           Gov. Aggregation
COH             136897320010                Gas           Gov. Aggregation   COH             189813990013                Gas           Gov. Aggregation
COH             141156080014                Gas           Gov. Aggregation   COH             190092770016                Gas           Gov. Aggregation
COH             143290200049                Gas           Gov. Aggregation   COH             190140880010                Gas           Gov. Aggregation
COH             145115940024                Gas           Gov. Aggregation   COH             190147690016                Gas           Gov. Aggregation
COH             159393890012                Gas           Gov. Aggregation   COH             190257750010                Gas           Gov. Aggregation
COH             159936100015                Gas           Gov. Aggregation   COH             192875220019                Gas           Gov. Aggregation
COH             116918720023                Gas           Gov. Aggregation   COH             163043310027                Gas           Gov. Aggregation
COH             116998010033                Gas           Gov. Aggregation   COH             192118990012                Gas           Gov. Aggregation
COH             117079380024                Gas           Gov. Aggregation   COH             187120350027                Gas           Gov. Aggregation
COH             141972880016                Gas           Gov. Aggregation   COH             162706930013                Gas           Gov. Aggregation
COH             147510570013                Gas           Gov. Aggregation   COH             111176340013                Gas           Gov. Aggregation
COH             149309550012                Gas           Gov. Aggregation   COH             190789880016                Gas           Gov. Aggregation
COH             117065480095                Gas           Gov. Aggregation   COH             190478080013                Gas           Gov. Aggregation
COH             117122960038                Gas           Gov. Aggregation   COH             111178490036                Gas           Gov. Aggregation
COH             117126450028                Gas           Gov. Aggregation   COH             187226650020                Gas           Gov. Aggregation
COH             116958190030                Gas           Gov. Aggregation   COH             190981460016                Gas           Gov. Aggregation
COH             117017520051                Gas           Gov. Aggregation   COH             193532280012                Gas           Gov. Aggregation
COH             117077750020                Gas           Gov. Aggregation   COH             111177470014                Gas           Gov. Aggregation
COH             159731190020                Gas           Gov. Aggregation   COH             159797340011                Gas           Gov. Aggregation
COH             160517800040                Gas           Gov. Aggregation   COH             188471990010                Gas           Gov. Aggregation
COH             116975600028                Gas           Gov. Aggregation   COH             165965020022                Gas           Gov. Aggregation
COH             117176090029                Gas           Gov. Aggregation   COH             193281740018                Gas           Gov. Aggregation
COH             117302960036                Gas           Gov. Aggregation   COH             191454140019                Gas           Gov. Aggregation
COH             117307400024                Gas           Gov. Aggregation   COH             145074730017                Gas           Gov. Aggregation
COH             117308410011                Gas           Gov. Aggregation   COH             177703560010                Gas           Gov. Aggregation
COH             143779520082                Gas           Gov. Aggregation   COH             192127820018                Gas           Gov. Aggregation
COH             148680800014                Gas           Gov. Aggregation   COH             191042310016                Gas           Gov. Aggregation
COH             161862290055                Gas           Gov. Aggregation   COH             192526750017                Gas           Gov. Aggregation
COH             117329530012                Gas           Gov. Aggregation   COH             192930130010                Gas           Gov. Aggregation
COH             117330720028                Gas           Gov. Aggregation   COH             111151420018                Gas           Gov. Aggregation
COH             117358560024                Gas           Gov. Aggregation   COH             143758450018                Gas           Gov. Aggregation
COH             117396400036                Gas           Gov. Aggregation   COH             190826070016                Gas           Gov. Aggregation
COH             117402540023                Gas           Gov. Aggregation   COH             176992120012                Gas           Gov. Aggregation
COH             161550250018                Gas           Gov. Aggregation   COH             192469460010                Gas           Gov. Aggregation
COH             162246730173                Gas           Gov. Aggregation   COH             172400520015                Gas           Gov. Aggregation
COH             117274320022                Gas           Gov. Aggregation   COH             187454950015                Gas           Gov. Aggregation
COH             117286860024                Gas           Gov. Aggregation   COH             193009980014                Gas           Gov. Aggregation
COH             117556590028                Gas           Gov. Aggregation   COH             115072040012                Gas           Gov. Aggregation
COH             162835570043                Gas           Gov. Aggregation   VEDO            4017022632216186            Gas           Gov. Aggregation
COH             117311240010                Gas           Gov. Aggregation   COH             111170760017                Gas           Gov. Aggregation
COH             117319130017                Gas           Gov. Aggregation   COH             111177430012                Gas           Gov. Aggregation
COH             117339040014                Gas           Gov. Aggregation   COH             145026020017                Gas           Gov. Aggregation
COH             117341440024                Gas           Gov. Aggregation   COH             111144210017                Gas           Gov. Aggregation
COH             117359900011                Gas           Gov. Aggregation   COH             111186020019                Gas           Gov. Aggregation
COH             117360860035                Gas           Gov. Aggregation   COH             167468500014                Gas           Gov. Aggregation
COH             117361080028                Gas           Gov. Aggregation   COH             111175410010                Gas           Gov. Aggregation
COH             117421290026                Gas           Gov. Aggregation   COH             164914160012                Gas           Gov. Aggregation
COH             163397890018                Gas           Gov. Aggregation   COH             127630990015                Gas           Gov. Aggregation
COH             161333350017                Gas           Gov. Aggregation   COH             111145240019                Gas           Gov. Aggregation
COH             161967970014                Gas           Gov. Aggregation   COH             147955840014                Gas           Gov. Aggregation
COH             117307740014                Gas           Gov. Aggregation   VEDO            4001523142630209            Gas           Gov. Aggregation
COH             117311620010                Gas           Gov. Aggregation   VEDO            4018743712630202            Gas           Gov. Aggregation
COH             117343850015                Gas           Gov. Aggregation   VEDO            4004887812337717            Gas           Gov. Aggregation
COH             117345890013                Gas           Gov. Aggregation   VEDO            4018398442432034            Gas           Gov. Aggregation
COH             117545200022                Gas           Gov. Aggregation   VEDO            4010063412451039            Gas           Gov. Aggregation
COH             161797170013                Gas           Gov. Aggregation   VEDO            4003805272526197            Gas           Gov. Aggregation
COH             117319100022                Gas           Gov. Aggregation   VEDO            4018699942396014            Gas           Gov. Aggregation
COH             117330500024                Gas           Gov. Aggregation   VEDO            4018024922501545            Gas           Gov. Aggregation
COH             117349720010                Gas           Gov. Aggregation   VEDO            4018024922139309            Gas           Gov. Aggregation
COH             164914400039                Gas           Gov. Aggregation   VEDO            4017850182433164            Gas           Gov. Aggregation
COH             165029400017                Gas           Gov. Aggregation   VEDO            4018843792237382            Gas           Gov. Aggregation
COH             118007850025                Gas           Gov. Aggregation   VEDO            4016411662345340            Gas           Gov. Aggregation
COH             118046760031                Gas           Gov. Aggregation   VEDO            4010041062381239            Gas           Gov. Aggregation
COH             118050970010                Gas           Gov. Aggregation   VEDO            4017142982499839            Gas           Gov. Aggregation
COH             146056000017                Gas           Gov. Aggregation   VEDO            4002334632165980            Gas           Gov. Aggregation
COH             147199630012                Gas           Gov. Aggregation   VEDO            4016762572232934            Gas           Gov. Aggregation
COH             164903590033                Gas           Gov. Aggregation   VEDO            4015032732105477            Gas           Gov. Aggregation
COH             165235490021                Gas           Gov. Aggregation   VEDO            4015380782136244            Gas           Gov. Aggregation
COH             165760880026                Gas           Gov. Aggregation   VEDO            4004086212410102            Gas           Gov. Aggregation
COH             192747920013                Gas           Gov. Aggregation   VEDO            4004676332474925            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             165641950014                Gas           Gov. Aggregation   VEDO         4002873732282370            Gas           Gov. Aggregation
COH             118023660021                Gas           Gov. Aggregation   VEDO         4015904892378524            Gas           Gov. Aggregation
COH             166449430047                Gas           Gov. Aggregation   VEDO         4004574172463583            Gas           Gov. Aggregation
COH             166860770017                Gas           Gov. Aggregation   VEDO         4017826972138990            Gas           Gov. Aggregation
COH             166871530014                Gas           Gov. Aggregation   VEDO         4010121192495881            Gas           Gov. Aggregation
COH             118210950032                Gas           Gov. Aggregation   VEDO         4003593672357108            Gas           Gov. Aggregation
COH             147191390019                Gas           Gov. Aggregation   VEDO         4002307112595018            Gas           Gov. Aggregation
COH             153010080063                Gas           Gov. Aggregation   VEDO         4016734532595356            Gas           Gov. Aggregation
COH             193004490017                Gas           Gov. Aggregation   VEDO         4001550312524842            Gas           Gov. Aggregation
COH             118296070028                Gas           Gov. Aggregation   VEDO         4018224722530317            Gas           Gov. Aggregation
COH             151394560017                Gas           Gov. Aggregation   VEDO         4016605282603950            Gas           Gov. Aggregation
COH             193072740011                Gas           Gov. Aggregation   VEDO         4018700182605604            Gas           Gov. Aggregation
COH             193560740016                Gas           Gov. Aggregation   VEDO         4016848872605606            Gas           Gov. Aggregation
COH             118299680024                Gas           Gov. Aggregation   VEDO         4005026122513631            Gas           Gov. Aggregation
COH             193560750014                Gas           Gov. Aggregation   VEDO         4003825032381753            Gas           Gov. Aggregation
COH             193894830010                Gas           Gov. Aggregation   VEDO         4017985312115596            Gas           Gov. Aggregation
COH             117941270055                Gas           Gov. Aggregation   VEDO         4018918992576128            Gas           Gov. Aggregation
COH             165373970019                Gas           Gov. Aggregation   VEDO         4002087662204025            Gas           Gov. Aggregation
COH             165392860021                Gas           Gov. Aggregation   VEDO         4015497562279463            Gas           Gov. Aggregation
COH             118009350026                Gas           Gov. Aggregation   VEDO         4004056122622812            Gas           Gov. Aggregation
COH             118101250021                Gas           Gov. Aggregation   VEDO         4001402762137788            Gas           Gov. Aggregation
COH             118160800021                Gas           Gov. Aggregation   VEDO         4001402762541022            Gas           Gov. Aggregation
COH             118199580027                Gas           Gov. Aggregation   VEDO         4001402762541412            Gas           Gov. Aggregation
COH             118227400023                Gas           Gov. Aggregation   VEDO         4015067412456207            Gas           Gov. Aggregation
COH             166869770028                Gas           Gov. Aggregation   VEDO         4001195192407419            Gas           Gov. Aggregation
COH             193266680013                Gas           Gov. Aggregation   VEDO         4018444942171344            Gas           Gov. Aggregation
COH             193795120019                Gas           Gov. Aggregation   VEDO         4003745832125413            Gas           Gov. Aggregation
COH             152691480013                Gas           Gov. Aggregation   VEDO         4001490632156721            Gas           Gov. Aggregation
COH             153323480020                Gas           Gov. Aggregation   VEDO         4003941602450555            Gas           Gov. Aggregation
COH             118383950055                Gas           Gov. Aggregation   VEDO         4003941602198604            Gas           Gov. Aggregation
COH             118743380024                Gas           Gov. Aggregation   VEDO         4004413442445877            Gas           Gov. Aggregation
COH             118496690024                Gas           Gov. Aggregation   VEDO         4002483282276544            Gas           Gov. Aggregation
COH             118826330019                Gas           Gov. Aggregation   VEDO         4001589732155519            Gas           Gov. Aggregation
COH             167433440010                Gas           Gov. Aggregation   VEDO         4002280792124420            Gas           Gov. Aggregation
COH             167955630014                Gas           Gov. Aggregation   VEDO         4018917262447659            Gas           Gov. Aggregation
COH             168009700013                Gas           Gov. Aggregation   VEDO         4016836602427540            Gas           Gov. Aggregation
COH             118915840022                Gas           Gov. Aggregation   VEDO         4018665552145001            Gas           Gov. Aggregation
COH             108682060014                Gas           Gov. Aggregation   VEDO         4002442382452200            Gas           Gov. Aggregation
COH             108684760022                Gas           Gov. Aggregation   VEDO         4001409192138373            Gas           Gov. Aggregation
COH             108689300019                Gas           Gov. Aggregation   VEDO         4003500262245782            Gas           Gov. Aggregation
COH             108713760010                Gas           Gov. Aggregation   VEDO         4002771482272031            Gas           Gov. Aggregation
COH             108716650017                Gas           Gov. Aggregation   VEDO         4018619362241226            Gas           Gov. Aggregation
COH             169334440018                Gas           Gov. Aggregation   VEDO         4017320722452385            Gas           Gov. Aggregation
COH             169608620037                Gas           Gov. Aggregation   VEDO         4016664562519151            Gas           Gov. Aggregation
COH             108699080042                Gas           Gov. Aggregation   VEDO         4001193762118354            Gas           Gov. Aggregation
COH             108699720029                Gas           Gov. Aggregation   VEDO         4016400442306788            Gas           Gov. Aggregation
COH             118665840032                Gas           Gov. Aggregation   VEDO         4015274652271058            Gas           Gov. Aggregation
COH             169141750012                Gas           Gov. Aggregation   VEDO         4005159392528785            Gas           Gov. Aggregation
COH             194160170013                Gas           Gov. Aggregation   VEDO         4004806902489172            Gas           Gov. Aggregation
COH             194183380011                Gas           Gov. Aggregation   VEDO         4015697742204476            Gas           Gov. Aggregation
COH             194420380017                Gas           Gov. Aggregation   VEDO         4018403912185536            Gas           Gov. Aggregation
COH             103948430151                Gas           Gov. Aggregation   VEDO         4004234632426286            Gas           Gov. Aggregation
COH             108712940087                Gas           Gov. Aggregation   VEDO         4003286502185963            Gas           Gov. Aggregation
COH             108717850022                Gas           Gov. Aggregation   VEDO         4015393902190601            Gas           Gov. Aggregation
COH             108721110028                Gas           Gov. Aggregation   VEDO         4003923692392498            Gas           Gov. Aggregation
COH             108721220034                Gas           Gov. Aggregation   VEDO         4015048392130006            Gas           Gov. Aggregation
COH             169415250070                Gas           Gov. Aggregation   VEDO         4015238362269221            Gas           Gov. Aggregation
COH             118659070028                Gas           Gov. Aggregation   VEDO         4018891532251438            Gas           Gov. Aggregation
COH             167757040027                Gas           Gov. Aggregation   VEDO         4001279802126302            Gas           Gov. Aggregation
COH             167803760018                Gas           Gov. Aggregation   VEDO         4017095352248023            Gas           Gov. Aggregation
COH             168125000050                Gas           Gov. Aggregation   VEDO         4018376972215507            Gas           Gov. Aggregation
COH             118826640014                Gas           Gov. Aggregation   VEDO         4015241082415191            Gas           Gov. Aggregation
COH             118827960033                Gas           Gov. Aggregation   VEDO         4016829352231597            Gas           Gov. Aggregation
COH             118829580020                Gas           Gov. Aggregation   VEDO         4001195192145753            Gas           Gov. Aggregation
COH             158379020015                Gas           Gov. Aggregation   VEDO         4003271742490873            Gas           Gov. Aggregation
COH             169246400040                Gas           Gov. Aggregation   VEDO         4001830912178676            Gas           Gov. Aggregation
COH             108702520013                Gas           Gov. Aggregation   VEDO         4018122472532681            Gas           Gov. Aggregation
COH             108720390013                Gas           Gov. Aggregation   VEDO         4015243802476475            Gas           Gov. Aggregation
COH             108721860012                Gas           Gov. Aggregation   VEDO         4005104192537172            Gas           Gov. Aggregation
COH             108730490011                Gas           Gov. Aggregation   VEDO         4017300432561797            Gas           Gov. Aggregation
COH             108743030029                Gas           Gov. Aggregation   VEDO         4016677512402090            Gas           Gov. Aggregation
COH             108754010011                Gas           Gov. Aggregation   VEDO         4017479792295614            Gas           Gov. Aggregation
COH             108754790018                Gas           Gov. Aggregation   VEDO         4004988462105985            Gas           Gov. Aggregation
COH             169301250026                Gas           Gov. Aggregation   VEDO         4015855202393873            Gas           Gov. Aggregation
COH             108734620033                Gas           Gov. Aggregation   VEDO         4018024922595381            Gas           Gov. Aggregation
COH             108748050016                Gas           Gov. Aggregation   VEDO         4015989392553493            Gas           Gov. Aggregation
COH             108748310020                Gas           Gov. Aggregation   VEDO         4002403562235232            Gas           Gov. Aggregation
COH             171425560016                Gas           Gov. Aggregation   VEDO         4015678012223610            Gas           Gov. Aggregation
COH             119446660051                Gas           Gov. Aggregation   VEDO         4001080032628033            Gas           Gov. Aggregation
COH             154294390076                Gas           Gov. Aggregation   VEDO         4018764392628015            Gas           Gov. Aggregation
COH             172173050071                Gas           Gov. Aggregation   VEDO         4017438502169561            Gas           Gov. Aggregation
COH             158127090014                Gas           Gov. Aggregation   VEDO         4001215502120370            Gas           Gov. Aggregation
COH             161342800013                Gas           Gov. Aggregation   VEDO         4004045382375762            Gas           Gov. Aggregation
COH             161949600019                Gas           Gov. Aggregation   VEDO         4017826462616194            Gas           Gov. Aggregation
COH             108757370010                Gas           Gov. Aggregation   VEDO         4004941662519498            Gas           Gov. Aggregation
COH             119949650039                Gas           Gov. Aggregation   VEDO         4005053062516688            Gas           Gov. Aggregation
COH             119950500046                Gas           Gov. Aggregation   VEDO         4003972012397614            Gas           Gov. Aggregation
COH             157786910043                Gas           Gov. Aggregation   VEDO         4018063502318068            Gas           Gov. Aggregation
COH             158767970111                Gas           Gov. Aggregation   VEDO         4018570272421860            Gas           Gov. Aggregation
COH             161839330028                Gas           Gov. Aggregation   VEDO         4004323392435938            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             172976530023                Gas           Gov. Aggregation   VEDO         4003041442299555            Gas           Gov. Aggregation
COH             108752260013                Gas           Gov. Aggregation   VEDO         4001864162540474            Gas           Gov. Aggregation
COH             108752750010                Gas           Gov. Aggregation   VEDO         4018706142361526            Gas           Gov. Aggregation
COH             112113270028                Gas           Gov. Aggregation   VEDO         4018869422608594            Gas           Gov. Aggregation
COH             119738830029                Gas           Gov. Aggregation   VEDO         4015803612553187            Gas           Gov. Aggregation
COH             119764710029                Gas           Gov. Aggregation   VEDO         4001388592136435            Gas           Gov. Aggregation
COH             119945940036                Gas           Gov. Aggregation   VEDO         4003722052363603            Gas           Gov. Aggregation
COH             108765900011                Gas           Gov. Aggregation   VEDO         4018905862439800            Gas           Gov. Aggregation
COH             108768180017                Gas           Gov. Aggregation   VEDO         4001862522181713            Gas           Gov. Aggregation
COH             108771970023                Gas           Gov. Aggregation   VEDO         4016487682326422            Gas           Gov. Aggregation
COH             114672300043                Gas           Gov. Aggregation   VEDO         4018853582261459            Gas           Gov. Aggregation
COH             115323520027                Gas           Gov. Aggregation   VEDO         4003056602161953            Gas           Gov. Aggregation
COH             120197020024                Gas           Gov. Aggregation   VEDO         4002514992246441            Gas           Gov. Aggregation
COH             120159020015                Gas           Gov. Aggregation   VEDO         4015269322412863            Gas           Gov. Aggregation
COH             120197650013                Gas           Gov. Aggregation   VEDO         4016639062601638            Gas           Gov. Aggregation
COH             115336510013                Gas           Gov. Aggregation   VEDO         4018886422207343            Gas           Gov. Aggregation
COH             120200820027                Gas           Gov. Aggregation   VEDO         4018573662530252            Gas           Gov. Aggregation
COH             120179510010                Gas           Gov. Aggregation   VEDO         4015058822511532            Gas           Gov. Aggregation
COH             120330890046                Gas           Gov. Aggregation   VEDO         4015678012143415            Gas           Gov. Aggregation
COH             120264830030                Gas           Gov. Aggregation   VEDO         4002439382138982            Gas           Gov. Aggregation
COH             120364550046                Gas           Gov. Aggregation   VEDO         4017827902169677            Gas           Gov. Aggregation
COH             115336460014                Gas           Gov. Aggregation   VEDO         4015218732321624            Gas           Gov. Aggregation
COH             120459660015                Gas           Gov. Aggregation   VEDO         4018505382614541            Gas           Gov. Aggregation
COH             120446380020                Gas           Gov. Aggregation   VEDO         4018882802590355            Gas           Gov. Aggregation
COH             174160380013                Gas           Gov. Aggregation   VEDO         4003306562614066            Gas           Gov. Aggregation
COH             174545910015                Gas           Gov. Aggregation   VEDO         4004043312405367            Gas           Gov. Aggregation
COH             174950490024                Gas           Gov. Aggregation   VEDO         4018867212250593            Gas           Gov. Aggregation
COH             175039310013                Gas           Gov. Aggregation   VEDO         4001485692316673            Gas           Gov. Aggregation
COH             120431920027                Gas           Gov. Aggregation   VEDO         4003688652103059            Gas           Gov. Aggregation
COH             175849710012                Gas           Gov. Aggregation   VEDO         4005102402522280            Gas           Gov. Aggregation
COH             176452450017                Gas           Gov. Aggregation   VEDO         4002256022412785            Gas           Gov. Aggregation
COH             176526350039                Gas           Gov. Aggregation   VEDO         4004202842422759            Gas           Gov. Aggregation
COH             120432100018                Gas           Gov. Aggregation   VEDO         4002993842294657            Gas           Gov. Aggregation
COH             120433970032                Gas           Gov. Aggregation   VEDO         4004593512373001            Gas           Gov. Aggregation
COH             120445420014                Gas           Gov. Aggregation   VEDO         4016499512261575            Gas           Gov. Aggregation
COH             120458100014                Gas           Gov. Aggregation   VEDO         4018860172170373            Gas           Gov. Aggregation
COH             120458200013                Gas           Gov. Aggregation   VEDO         4004160702418185            Gas           Gov. Aggregation
COH             120458870013                Gas           Gov. Aggregation   VEDO         4002154062210537            Gas           Gov. Aggregation
COH             173971990035                Gas           Gov. Aggregation   VEDO         4015373062153051            Gas           Gov. Aggregation
COH             161127640013                Gas           Gov. Aggregation   VEDO         4015371522198419            Gas           Gov. Aggregation
COH             161227710025                Gas           Gov. Aggregation   VEDO         4001441602141295            Gas           Gov. Aggregation
COH             161449720014                Gas           Gov. Aggregation   VEDO         4010044172289784            Gas           Gov. Aggregation
COH             165549510012                Gas           Gov. Aggregation   VEDO         4003492222165740            Gas           Gov. Aggregation
COH             175238430016                Gas           Gov. Aggregation   VEDO         4004687042476097            Gas           Gov. Aggregation
COH             120445390066                Gas           Gov. Aggregation   VEDO         4003941602340950            Gas           Gov. Aggregation
COH             120540950039                Gas           Gov. Aggregation   VEDO         4017307962498162            Gas           Gov. Aggregation
COH             117302280066                Gas           Gov. Aggregation   VEDO         4004181282420459            Gas           Gov. Aggregation
COH             175594450027                Gas           Gov. Aggregation   VEDO         4017549542379551            Gas           Gov. Aggregation
COH             175628080031                Gas           Gov. Aggregation   VEDO         4005145602486815            Gas           Gov. Aggregation
COH             175517640038                Gas           Gov. Aggregation   VEDO         4003703452368684            Gas           Gov. Aggregation
COH             175640420015                Gas           Gov. Aggregation   VEDO         4016553302472706            Gas           Gov. Aggregation
COH             175661730016                Gas           Gov. Aggregation   VEDO         4016890822450699            Gas           Gov. Aggregation
COH             120459360018                Gas           Gov. Aggregation   VEDO         4016890822510435            Gas           Gov. Aggregation
COH             175898580035                Gas           Gov. Aggregation   VEDO         4018004482139229            Gas           Gov. Aggregation
COH             165349770030                Gas           Gov. Aggregation   VEDO         4002803312275298            Gas           Gov. Aggregation
COH             167074020010                Gas           Gov. Aggregation   VEDO         4018170782113947            Gas           Gov. Aggregation
COH             177117480029                Gas           Gov. Aggregation   VEDO         4018851422169747            Gas           Gov. Aggregation
COH             127341750045                Gas           Gov. Aggregation   VEDO         4002085962203862            Gas           Gov. Aggregation
COH             115419180017                Gas           Gov. Aggregation   VEDO         4017657882471713            Gas           Gov. Aggregation
COH             116857480051                Gas           Gov. Aggregation   VEDO         4017668132373480            Gas           Gov. Aggregation
COH             116870930021                Gas           Gov. Aggregation   VEDO         4001432632303200            Gas           Gov. Aggregation
COH             117207440037                Gas           Gov. Aggregation   VEDO         4002264042221529            Gas           Gov. Aggregation
COH             177140870037                Gas           Gov. Aggregation   VEDO         4002910272364212            Gas           Gov. Aggregation
COH             127002840026                Gas           Gov. Aggregation   VEDO         4004024392113522            Gas           Gov. Aggregation
COH             177525000024                Gas           Gov. Aggregation   VEDO         4001232052445537            Gas           Gov. Aggregation
COH             185114600029                Gas           Gov. Aggregation   VEDO         4001805472418475            Gas           Gov. Aggregation
COH             128883260049                Gas           Gov. Aggregation   VEDO         4015040702199227            Gas           Gov. Aggregation
COH             127204380034                Gas           Gov. Aggregation   VEDO         4015947912231798            Gas           Gov. Aggregation
COH             130065110022                Gas           Gov. Aggregation   VEDO         4018700212304693            Gas           Gov. Aggregation
COH             185207000019                Gas           Gov. Aggregation   VEDO         4018900082418358            Gas           Gov. Aggregation
COH             129436930035                Gas           Gov. Aggregation   VEDO         4003909172390876            Gas           Gov. Aggregation
COH             129804960029                Gas           Gov. Aggregation   VEDO         4004821002490744            Gas           Gov. Aggregation
COH             130633850022                Gas           Gov. Aggregation   VEDO         4015193542361031            Gas           Gov. Aggregation
COH             130420140068                Gas           Gov. Aggregation   VEDO         4016201432375728            Gas           Gov. Aggregation
COH             185419300035                Gas           Gov. Aggregation   VEDO         4001923322371949            Gas           Gov. Aggregation
COH             129475050056                Gas           Gov. Aggregation   VEDO         4017298492318271            Gas           Gov. Aggregation
COH             130220390024                Gas           Gov. Aggregation   VEDO         4001737782187797            Gas           Gov. Aggregation
COH             129264540032                Gas           Gov. Aggregation   VEDO         4016511692519774            Gas           Gov. Aggregation
COH             131219730033                Gas           Gov. Aggregation   VEDO         4017686622166570            Gas           Gov. Aggregation
COH             185632350024                Gas           Gov. Aggregation   VEDO         4018245562353911            Gas           Gov. Aggregation
COH             185993340013                Gas           Gov. Aggregation   VEDO         4018357182128989            Gas           Gov. Aggregation
COH             119406330036                Gas           Gov. Aggregation   VEDO         4005150682527767            Gas           Gov. Aggregation
COH             123636160039                Gas           Gov. Aggregation   VEDO         4018492492255580            Gas           Gov. Aggregation
COH             123651850014                Gas           Gov. Aggregation   VEDO         4002055552200838            Gas           Gov. Aggregation
COH             123655590011                Gas           Gov. Aggregation   VEDO         4003923222392438            Gas           Gov. Aggregation
COH             123655660016                Gas           Gov. Aggregation   VEDO         4015205212177883            Gas           Gov. Aggregation
COH             123657810047                Gas           Gov. Aggregation   VEDO         4001142152113445            Gas           Gov. Aggregation
COH             123692880012                Gas           Gov. Aggregation   VEDO         4018529912341885            Gas           Gov. Aggregation
COH             123693130017                Gas           Gov. Aggregation   VEDO         4001275232256426            Gas           Gov. Aggregation
COH             123700300032                Gas           Gov. Aggregation   VEDO         4018578612312961            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             123701350012                Gas           Gov. Aggregation   VEDO         4017087652172563            Gas           Gov. Aggregation
COH             123733350015                Gas           Gov. Aggregation   VEDO         4018944802452478            Gas           Gov. Aggregation
COH             123737180013                Gas           Gov. Aggregation   VEDO         4004581672237264            Gas           Gov. Aggregation
COH             130730310029                Gas           Gov. Aggregation   VEDO         4017316482190868            Gas           Gov. Aggregation
COH             130894720027                Gas           Gov. Aggregation   VEDO         4018789302497087            Gas           Gov. Aggregation
COH             130894790032                Gas           Gov. Aggregation   VEDO         4015242302121957            Gas           Gov. Aggregation
COH             185658900024                Gas           Gov. Aggregation   VEDO         4003492222116047            Gas           Gov. Aggregation
COH             185894510017                Gas           Gov. Aggregation   VEDO         4003492222204386            Gas           Gov. Aggregation
COH             123646270017                Gas           Gov. Aggregation   VEDO         4001127392106717            Gas           Gov. Aggregation
COH             123656160055                Gas           Gov. Aggregation   VEDO         4016955212507529            Gas           Gov. Aggregation
COH             123660790018                Gas           Gov. Aggregation   VEDO         4003941602239434            Gas           Gov. Aggregation
COH             123669760016                Gas           Gov. Aggregation   VEDO         4003941602479774            Gas           Gov. Aggregation
COH             123673240016                Gas           Gov. Aggregation   VEDO         4004434912448244            Gas           Gov. Aggregation
COH             123693530059                Gas           Gov. Aggregation   VEDO         4004037002633841            Gas           Gov. Aggregation
COH             123694410016                Gas           Gov. Aggregation   VEDO         4018915812255073            Gas           Gov. Aggregation
COH             123715320037                Gas           Gov. Aggregation   VEDO         4018781872239480            Gas           Gov. Aggregation
COH             132947920048                Gas           Gov. Aggregation   VEDO         4016723482232298            Gas           Gov. Aggregation
COH             163261410015                Gas           Gov. Aggregation   VEDO         4002708642265754            Gas           Gov. Aggregation
COH             168469500011                Gas           Gov. Aggregation   VEDO         4003108212306382            Gas           Gov. Aggregation
COH             123628450026                Gas           Gov. Aggregation   VEDO         4002215752268284            Gas           Gov. Aggregation
COH             123636020010                Gas           Gov. Aggregation   VEDO         4002215752238479            Gas           Gov. Aggregation
COH             123693480014                Gas           Gov. Aggregation   VEDO         4003611802359053            Gas           Gov. Aggregation
COH             123735390013                Gas           Gov. Aggregation   VEDO         4003080442303528            Gas           Gov. Aggregation
COH             123737610021                Gas           Gov. Aggregation   VEDO         4004974642507804            Gas           Gov. Aggregation
COH             132822900037                Gas           Gov. Aggregation   VEDO         4018470582530320            Gas           Gov. Aggregation
COH             124007430016                Gas           Gov. Aggregation   VEDO         4015397042536026            Gas           Gov. Aggregation
COH             124013040033                Gas           Gov. Aggregation   VEDO         4016207892536027            Gas           Gov. Aggregation
COH             123958550026                Gas           Gov. Aggregation   VEDO         4015137812386260            Gas           Gov. Aggregation
COH             123990600018                Gas           Gov. Aggregation   VEDO         4003713082369735            Gas           Gov. Aggregation
COH             124023120017                Gas           Gov. Aggregation   VEDO         4004810092526449            Gas           Gov. Aggregation
COH             131659480034                Gas           Gov. Aggregation   VEDO         4001275232125914            Gas           Gov. Aggregation
COH             116632500052                Gas           Gov. Aggregation   VEDO         4017390602173801            Gas           Gov. Aggregation
COH             117431350040                Gas           Gov. Aggregation   VEDO         4018483522128956            Gas           Gov. Aggregation
COH             123626470017                Gas           Gov. Aggregation   VEDO         4018762172605733            Gas           Gov. Aggregation
COH             124121690029                Gas           Gov. Aggregation   VEDO         4015510202534362            Gas           Gov. Aggregation
COH             123647880017                Gas           Gov. Aggregation   VEDO         4001214502583705            Gas           Gov. Aggregation
COH             123648290019                Gas           Gov. Aggregation   VEDO         4018024922591257            Gas           Gov. Aggregation
COH             123693100013                Gas           Gov. Aggregation   VEDO         4001515322148290            Gas           Gov. Aggregation
COH             123738280010                Gas           Gov. Aggregation   VEDO         4016428152398156            Gas           Gov. Aggregation
COH             123912430036                Gas           Gov. Aggregation   VEDO         4001997492195117            Gas           Gov. Aggregation
COH             123928880039                Gas           Gov. Aggregation   VEDO         4003732752439645            Gas           Gov. Aggregation
COH             124021120011                Gas           Gov. Aggregation   VEDO         4015425372629757            Gas           Gov. Aggregation
COH             124120060014                Gas           Gov. Aggregation   VEDO         4016814262601746            Gas           Gov. Aggregation
COH             133840623927                Gas           Gov. Aggregation   VEDO         4015195612601748            Gas           Gov. Aggregation
COH             134941510026                Gas           Gov. Aggregation   VEDO         4004442212449004            Gas           Gov. Aggregation
COH             186637310012                Gas           Gov. Aggregation   VEDO         4018816152625655            Gas           Gov. Aggregation
COH             133897280058                Gas           Gov. Aggregation   VEDO         4001520502148820            Gas           Gov. Aggregation
COH             134229480023                Gas           Gov. Aggregation   VEDO         4018559832230115            Gas           Gov. Aggregation
COH             134259110018                Gas           Gov. Aggregation   VEDO         4001672882300919            Gas           Gov. Aggregation
COH             135520270028                Gas           Gov. Aggregation   VEDO         4003492222259179            Gas           Gov. Aggregation
COH             166681830229                Gas           Gov. Aggregation   VEDO         4001555322152225            Gas           Gov. Aggregation
COH             135710880036                Gas           Gov. Aggregation   VEDO         4003889702388758            Gas           Gov. Aggregation
COH             169456820010                Gas           Gov. Aggregation   VEDO         4003165722312430            Gas           Gov. Aggregation
COH             136292500041                Gas           Gov. Aggregation   VEDO         4001582832379750            Gas           Gov. Aggregation
COH             136519220011                Gas           Gov. Aggregation   VEDO         4002590992254080            Gas           Gov. Aggregation
COH             133894680014                Gas           Gov. Aggregation   VEDO         4017867192210229            Gas           Gov. Aggregation
COH             134573920012                Gas           Gov. Aggregation   VEDO         4004500762181577            Gas           Gov. Aggregation
COH             187347520012                Gas           Gov. Aggregation   VEDO         4001555322162570            Gas           Gov. Aggregation
COH             187517550015                Gas           Gov. Aggregation   VEDO         4018820212186933            Gas           Gov. Aggregation
COH             136515330034                Gas           Gov. Aggregation   VEDO         4015904892377246            Gas           Gov. Aggregation
COH             124275070024                Gas           Gov. Aggregation   VEDO         4002777692272678            Gas           Gov. Aggregation
COH             135066310014                Gas           Gov. Aggregation   VEDO         4002125812630278            Gas           Gov. Aggregation
COH             135161040019                Gas           Gov. Aggregation   VEDO         4004729922480728            Gas           Gov. Aggregation
COH             187141510029                Gas           Gov. Aggregation   VEDO         4004091982392994            Gas           Gov. Aggregation
COH             187729200019                Gas           Gov. Aggregation   VEDO         4005159392268449            Gas           Gov. Aggregation
COH             135596890010                Gas           Gov. Aggregation   VEDO         4018950512416633            Gas           Gov. Aggregation
COH             124300180026                Gas           Gov. Aggregation   VEDO         4016775782256505            Gas           Gov. Aggregation
COH             126796980018                Gas           Gov. Aggregation   VEDO         4018291722252298            Gas           Gov. Aggregation
COH             129308010020                Gas           Gov. Aggregation   VEDO         4004388272443043            Gas           Gov. Aggregation
COH             170906920020                Gas           Gov. Aggregation   VEDO         4018544182298848            Gas           Gov. Aggregation
COH             137761600026                Gas           Gov. Aggregation   VEDO         4001733262212204            Gas           Gov. Aggregation
COH             187963410019                Gas           Gov. Aggregation   VEDO         4004581672115478            Gas           Gov. Aggregation
COH             137598030032                Gas           Gov. Aggregation   VEDO         4018416592445522            Gas           Gov. Aggregation
COH             138038800017                Gas           Gov. Aggregation   VEDO         4001365362286872            Gas           Gov. Aggregation
COH             131810510026                Gas           Gov. Aggregation   VEDO         4015360322501393            Gas           Gov. Aggregation
COH             138983180024                Gas           Gov. Aggregation   VEDO         4017817972372459            Gas           Gov. Aggregation
COH             139275620012                Gas           Gov. Aggregation   VEDO         4002651092259988            Gas           Gov. Aggregation
COH             139319270021                Gas           Gov. Aggregation   VEDO         4016980212426813            Gas           Gov. Aggregation
COH             130060180019                Gas           Gov. Aggregation   VEDO         4001138702113123            Gas           Gov. Aggregation
COH             131382620013                Gas           Gov. Aggregation   VEDO         4015204972324984            Gas           Gov. Aggregation
COH             136730380010                Gas           Gov. Aggregation   VEDO         4004049842345181            Gas           Gov. Aggregation
COH             131520710029                Gas           Gov. Aggregation   VEDO         4002952822290464            Gas           Gov. Aggregation
COH             138480990011                Gas           Gov. Aggregation   VEDO         4018845272395410            Gas           Gov. Aggregation
COH             140312760056                Gas           Gov. Aggregation   VEDO         4003070612302540            Gas           Gov. Aggregation
COH             135488560018                Gas           Gov. Aggregation   VEDO         4002185022483516            Gas           Gov. Aggregation
COH             135609650011                Gas           Gov. Aggregation   VEDO         4002166062211747            Gas           Gov. Aggregation
COH             135901630024                Gas           Gov. Aggregation   VEDO         4001089442108524            Gas           Gov. Aggregation
COH             140174300029                Gas           Gov. Aggregation   VEDO         4016160742210460            Gas           Gov. Aggregation
COH             140346730051                Gas           Gov. Aggregation   VEDO         4005007682464881            Gas           Gov. Aggregation
COH             139000010011                Gas           Gov. Aggregation   VEDO         4001731942168988            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             133426640031                Gas           Gov. Aggregation   VEDO            4001089832472834            Gas           Gov. Aggregation
COH             133881390030                Gas           Gov. Aggregation   VEDO            4016084302501653            Gas           Gov. Aggregation
COH             140789890032                Gas           Gov. Aggregation   VEDO            4016323172110831            Gas           Gov. Aggregation
COH             189609150094                Gas           Gov. Aggregation   VEDO            4018123482605993            Gas           Gov. Aggregation
COH             140827950037                Gas           Gov. Aggregation   VEDO            4003935682342153            Gas           Gov. Aggregation
COH             139212000023                Gas           Gov. Aggregation   VEDO            4018720432525856            Gas           Gov. Aggregation
COH             189336550017                Gas           Gov. Aggregation   VEDO            4017709782561496            Gas           Gov. Aggregation
COH             132201580022                Gas           Gov. Aggregation   VEDO            4016397732583180            Gas           Gov. Aggregation
COH             132204630016                Gas           Gov. Aggregation   VEDO            4001770582530504            Gas           Gov. Aggregation
COH             132218410059                Gas           Gov. Aggregation   VEDO            4003773952376221            Gas           Gov. Aggregation
COH             132429230014                Gas           Gov. Aggregation   VEDO            4002969552292168            Gas           Gov. Aggregation
COH             172647770011                Gas           Gov. Aggregation   VEDO            4004056342120213            Gas           Gov. Aggregation
COH             173030920015                Gas           Gov. Aggregation   VEDO            4018877212577779            Gas           Gov. Aggregation
COH             140749760033                Gas           Gov. Aggregation   VEDO            4016547392448418            Gas           Gov. Aggregation
COH             140964550031                Gas           Gov. Aggregation   VEDO            4018530732491783            Gas           Gov. Aggregation
COH             140993910016                Gas           Gov. Aggregation   VEDO            4002932952536983            Gas           Gov. Aggregation
COH             141248640011                Gas           Gov. Aggregation   VEDO            4002927822529574            Gas           Gov. Aggregation
COH             141344700032                Gas           Gov. Aggregation   VEDO            4004477732316897            Gas           Gov. Aggregation
COH             141691050016                Gas           Gov. Aggregation   VEDO            4016488902208986            Gas           Gov. Aggregation
COH             138151310010                Gas           Gov. Aggregation   VEDO            4001870952271669            Gas           Gov. Aggregation
COH             139673820025                Gas           Gov. Aggregation   COH             171094160022                Gas           Gov. Aggregation
COH             172712100012                Gas           Gov. Aggregation   COH             119768950030                Gas           Gov. Aggregation
COH             134199970052                Gas           Gov. Aggregation   COH             116973600040                Gas           Gov. Aggregation
COH             135326730023                Gas           Gov. Aggregation   COH             192849080014                Gas           Gov. Aggregation
COH             137082820011                Gas           Gov. Aggregation   COH             118381690027                Gas           Gov. Aggregation
COH             137932980015                Gas           Gov. Aggregation   COH             160537920016                Gas           Gov. Aggregation
COH             138432430019                Gas           Gov. Aggregation   COH             111144880017                Gas           Gov. Aggregation
COH             139935780019                Gas           Gov. Aggregation   COH             111149200028                Gas           Gov. Aggregation
COH             140124070050                Gas           Gov. Aggregation   COH             111178890014                Gas           Gov. Aggregation
COH             140208320077                Gas           Gov. Aggregation   COH             111179010016                Gas           Gov. Aggregation
COH             140357870013                Gas           Gov. Aggregation   COH             111179080012                Gas           Gov. Aggregation
COH             142498700018                Gas           Gov. Aggregation   COH             111179360013                Gas           Gov. Aggregation
COH             174932060013                Gas           Gov. Aggregation   COH             111185460019                Gas           Gov. Aggregation
COH             141792110028                Gas           Gov. Aggregation   COH             131954930015                Gas           Gov. Aggregation
COH             141334350028                Gas           Gov. Aggregation   COH             133681440015                Gas           Gov. Aggregation
COH             138989370022                Gas           Gov. Aggregation   COH             133830030023                Gas           Gov. Aggregation
COH             140147150019                Gas           Gov. Aggregation   COH             134593090015                Gas           Gov. Aggregation
COH             140442690029                Gas           Gov. Aggregation   COH             135438400016                Gas           Gov. Aggregation
COH             141093030018                Gas           Gov. Aggregation   COH             139202651312                Gas           Gov. Aggregation
COH             141307140010                Gas           Gov. Aggregation   COH             144335690022                Gas           Gov. Aggregation
COH             142917280017                Gas           Gov. Aggregation   COH             146993960010                Gas           Gov. Aggregation
COH             143390210018                Gas           Gov. Aggregation   COH             148233210015                Gas           Gov. Aggregation
COH             140587980031                Gas           Gov. Aggregation   COH             162691160027                Gas           Gov. Aggregation
COH             141617650025                Gas           Gov. Aggregation   COH             164246520013                Gas           Gov. Aggregation
COH             143228360047                Gas           Gov. Aggregation   COH             165038980017                Gas           Gov. Aggregation
COH             144216940021                Gas           Gov. Aggregation   COH             188772730016                Gas           Gov. Aggregation
COH             142068170039                Gas           Gov. Aggregation   COH             189100030015                Gas           Gov. Aggregation
COH             142364770017                Gas           Gov. Aggregation   COH             189325360010                Gas           Gov. Aggregation
COH             142645540028                Gas           Gov. Aggregation   COH             190165940015                Gas           Gov. Aggregation
COH             174970130018                Gas           Gov. Aggregation   COH             193562860017                Gas           Gov. Aggregation
COH             143271130017                Gas           Gov. Aggregation   COH             193733640010                Gas           Gov. Aggregation
COH             142899120010                Gas           Gov. Aggregation   COH             193777990015                Gas           Gov. Aggregation
COH             143102260017                Gas           Gov. Aggregation   COH             193824750014                Gas           Gov. Aggregation
COH             191072570019                Gas           Gov. Aggregation   COH             194084010018                Gas           Gov. Aggregation
COH             191148510038                Gas           Gov. Aggregation   COH             194113820015                Gas           Gov. Aggregation
COH             142357650017                Gas           Gov. Aggregation   COH             194181410018                Gas           Gov. Aggregation
COH             143356890045                Gas           Gov. Aggregation   COH             194332160010                Gas           Gov. Aggregation
COH             141650910422                Gas           Gov. Aggregation   COH             194332200011                Gas           Gov. Aggregation
COH             143436450010                Gas           Gov. Aggregation   COH             194350750018                Gas           Gov. Aggregation
COH             144461610021                Gas           Gov. Aggregation   COH             194392930012                Gas           Gov. Aggregation
COH             143338450027                Gas           Gov. Aggregation   COH             194396050019                Gas           Gov. Aggregation
COH             144171470035                Gas           Gov. Aggregation   COH             138756320016                Gas           Gov. Aggregation
COH             142425340026                Gas           Gov. Aggregation   COH             131384470011                Gas           Gov. Aggregation
COH             140407350051                Gas           Gov. Aggregation   COH             166064260012                Gas           Gov. Aggregation
COH             140987870018                Gas           Gov. Aggregation   COH             156636100014                Gas           Gov. Aggregation
COH             140991770038                Gas           Gov. Aggregation   COH             111191910011                Gas           Gov. Aggregation
COH             141087910016                Gas           Gov. Aggregation   COH             111189300014                Gas           Gov. Aggregation
COH             141948940014                Gas           Gov. Aggregation   VEDO            4005007092511475            Gas           Gov. Aggregation
COH             142960430032                Gas           Gov. Aggregation   VEDO            4019010042499414            Gas           Gov. Aggregation
COH             143787930025                Gas           Gov. Aggregation   COH             191545000015                Gas           Gov. Aggregation
COH             143830480027                Gas           Gov. Aggregation   COH             168654570023                Gas           Gov. Aggregation
COH             146115520012                Gas           Gov. Aggregation   COH             194579900012                Gas           Gov. Aggregation
COH             144096250068                Gas           Gov. Aggregation   COH             177045120018                Gas           Gov. Aggregation
COH             144629260047                Gas           Gov. Aggregation   COH             138518530043                Gas           Gov. Aggregation
COH             191387340010                Gas           Gov. Aggregation   COH             129916770040                Gas           Gov. Aggregation
COH             144645880034                Gas           Gov. Aggregation   COH             173235740019                Gas           Gov. Aggregation
COH             144652460028                Gas           Gov. Aggregation   COH             174144230027                Gas           Gov. Aggregation
COH             144845270038                Gas           Gov. Aggregation   COH             189109150012                Gas           Gov. Aggregation
COH             145031200018                Gas           Gov. Aggregation   COH             194487740011                Gas           Gov. Aggregation
COH             145584890013                Gas           Gov. Aggregation   COH             118029470038                Gas           Gov. Aggregation
COH             145978390068                Gas           Gov. Aggregation   COH             151155890041                Gas           Gov. Aggregation
COH             147188190036                Gas           Gov. Aggregation   COH             194443260014                Gas           Gov. Aggregation
COH             145374270045                Gas           Gov. Aggregation   COH             151564260019                Gas           Gov. Aggregation
COH             144622480045                Gas           Gov. Aggregation   COH             140450260022                Gas           Gov. Aggregation
COH             145110950031                Gas           Gov. Aggregation   COH             135579410016                Gas           Gov. Aggregation
COH             145386150027                Gas           Gov. Aggregation   COH             149008630022                Gas           Gov. Aggregation
COH             176234590010                Gas           Gov. Aggregation   COH             143335980022                Gas           Gov. Aggregation
COH             185426160012                Gas           Gov. Aggregation   COH             155664350014                Gas           Gov. Aggregation
COH             145861020026                Gas           Gov. Aggregation   COH             148057770021                Gas           Gov. Aggregation
COH             146344570035                Gas           Gov. Aggregation   COH             163503420019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             185479800016                Gas           Gov. Aggregation   COH             152517870046                Gas           Gov. Aggregation
COH             185486530018                Gas           Gov. Aggregation   COH             173261680017                Gas           Gov. Aggregation
COH             191498220010                Gas           Gov. Aggregation   COH             171612740011                Gas           Gov. Aggregation
COH             173179340013                Gas           Gov. Aggregation   COH             176496410022                Gas           Gov. Aggregation
COH             173538120017                Gas           Gov. Aggregation   COH             167437200012                Gas           Gov. Aggregation
COH             173543700096                Gas           Gov. Aggregation   COH             175180040048                Gas           Gov. Aggregation
COH             145287280039                Gas           Gov. Aggregation   COH             175531380033                Gas           Gov. Aggregation
COH             145560200026                Gas           Gov. Aggregation   COH             173120190036                Gas           Gov. Aggregation
COH             192022370015                Gas           Gov. Aggregation   COH             186988830038                Gas           Gov. Aggregation
COH             192256560010                Gas           Gov. Aggregation   COH             108736010019                Gas           Gov. Aggregation
COH             192274750012                Gas           Gov. Aggregation   COH             187789280035                Gas           Gov. Aggregation
COH             148818400015                Gas           Gov. Aggregation   COH             189439830029                Gas           Gov. Aggregation
COH             148976970049                Gas           Gov. Aggregation   COH             193258630029                Gas           Gov. Aggregation
COH             149898000056                Gas           Gov. Aggregation   COH             194339090011                Gas           Gov. Aggregation
COH             146820130028                Gas           Gov. Aggregation   COH             193213640012                Gas           Gov. Aggregation
COH             185531350019                Gas           Gov. Aggregation   COH             141944020033                Gas           Gov. Aggregation
COH             177259860010                Gas           Gov. Aggregation   COH             142903450010                Gas           Gov. Aggregation
COH             149627770030                Gas           Gov. Aggregation   COH             144620350028                Gas           Gov. Aggregation
COH             186575680026                Gas           Gov. Aggregation   COH             154640540051                Gas           Gov. Aggregation
COH             147002830024                Gas           Gov. Aggregation   COH             158002620025                Gas           Gov. Aggregation
COH             191985390012                Gas           Gov. Aggregation   COH             139043790027                Gas           Gov. Aggregation
COH             148596500025                Gas           Gov. Aggregation   COH             141131690036                Gas           Gov. Aggregation
COH             149230870067                Gas           Gov. Aggregation   COH             188555400015                Gas           Gov. Aggregation
COH             151241550021                Gas           Gov. Aggregation   COH             170530550025                Gas           Gov. Aggregation
COH             151325140029                Gas           Gov. Aggregation   COH             194406630014                Gas           Gov. Aggregation
COH             147286070060                Gas           Gov. Aggregation   COH             194450820011                Gas           Gov. Aggregation
COH             147751490038                Gas           Gov. Aggregation   COH             194502510015                Gas           Gov. Aggregation
COH             147804630026                Gas           Gov. Aggregation   COH             115827280011                Gas           Gov. Aggregation
COH             147839710017                Gas           Gov. Aggregation   COH             115837580026                Gas           Gov. Aggregation
COH             148096410015                Gas           Gov. Aggregation   COH             194487590013                Gas           Gov. Aggregation
COH             151546070026                Gas           Gov. Aggregation   COH             115830040023                Gas           Gov. Aggregation
COH             151264800039                Gas           Gov. Aggregation   COH             141373660021                Gas           Gov. Aggregation
COH             146562570033                Gas           Gov. Aggregation   COH             155825350021                Gas           Gov. Aggregation
COH             192143440014                Gas           Gov. Aggregation   COH             194552240017                Gas           Gov. Aggregation
COH             192538330010                Gas           Gov. Aggregation   COH             153366150010                Gas           Gov. Aggregation
COH             148813350043                Gas           Gov. Aggregation   COH             133150100011                Gas           Gov. Aggregation
COH             192692040015                Gas           Gov. Aggregation   COH             111152570104                Gas           Gov. Aggregation
COH             151859370020                Gas           Gov. Aggregation   COH             194420610018                Gas           Gov. Aggregation
COH             153160110023                Gas           Gov. Aggregation   COH             167489330025                Gas           Gov. Aggregation
COH             153283880040                Gas           Gov. Aggregation   COH             177316610047                Gas           Gov. Aggregation
COH             149485830020                Gas           Gov. Aggregation   COH             192608060018                Gas           Gov. Aggregation
COH             151488960014                Gas           Gov. Aggregation   COH             192507850016                Gas           Gov. Aggregation
COH             152619290015                Gas           Gov. Aggregation   COH             191660250019                Gas           Gov. Aggregation
COH             149038640018                Gas           Gov. Aggregation   COH             192859970016                Gas           Gov. Aggregation
COH             149269650035                Gas           Gov. Aggregation   COH             110621360024                Gas           Gov. Aggregation
COH             147056120020                Gas           Gov. Aggregation   COH             194485880016                Gas           Gov. Aggregation
COH             150791640019                Gas           Gov. Aggregation   COH             174548920035                Gas           Gov. Aggregation
COH             150938560014                Gas           Gov. Aggregation   COH             194375900014                Gas           Gov. Aggregation
COH             151914030032                Gas           Gov. Aggregation   COH             194357520012                Gas           Gov. Aggregation
COH             152544100013                Gas           Gov. Aggregation   COH             194407890018                Gas           Gov. Aggregation
COH             148203750015                Gas           Gov. Aggregation   COH             144081550075                Gas           Gov. Aggregation
COH             148686440063                Gas           Gov. Aggregation   COH             111185450011                Gas           Gov. Aggregation
COH             187429620026                Gas           Gov. Aggregation   COH             156162270014                Gas           Gov. Aggregation
COH             154216270020                Gas           Gov. Aggregation   COH             150008030016                Gas           Gov. Aggregation
COH             154646530015                Gas           Gov. Aggregation   COH             141623400015                Gas           Gov. Aggregation
COH             154693990010                Gas           Gov. Aggregation   COH             160352220015                Gas           Gov. Aggregation
COH             150438700032                Gas           Gov. Aggregation   COH             111145310014                Gas           Gov. Aggregation
COH             154758890013                Gas           Gov. Aggregation   COH             185914750013                Gas           Gov. Aggregation
COH             193028960018                Gas           Gov. Aggregation   COH             166697130018                Gas           Gov. Aggregation
COH             193411570017                Gas           Gov. Aggregation   COH             173193460018                Gas           Gov. Aggregation
COH             193475230014                Gas           Gov. Aggregation   COH             139083180012                Gas           Gov. Aggregation
COH             149976530022                Gas           Gov. Aggregation   COH             111175390015                Gas           Gov. Aggregation
COH             157204710029                Gas           Gov. Aggregation   COH             111176990026                Gas           Gov. Aggregation
COH             157218050118                Gas           Gov. Aggregation   COH             111145150018                Gas           Gov. Aggregation
COH             157262430017                Gas           Gov. Aggregation   COH             111144700014                Gas           Gov. Aggregation
COH             157271580053                Gas           Gov. Aggregation   COH             111192420012                Gas           Gov. Aggregation
COH             150129440023                Gas           Gov. Aggregation   COH             111161580014                Gas           Gov. Aggregation
COH             150158330025                Gas           Gov. Aggregation   COH             111186830019                Gas           Gov. Aggregation
COH             150166060034                Gas           Gov. Aggregation   COH             171694830010                Gas           Gov. Aggregation
COH             155186010046                Gas           Gov. Aggregation   COH             146394100010                Gas           Gov. Aggregation
COH             155364890035                Gas           Gov. Aggregation   COH             165115610010                Gas           Gov. Aggregation
COH             149636820012                Gas           Gov. Aggregation   COH             111176540011                Gas           Gov. Aggregation
COH             149858350011                Gas           Gov. Aggregation   COH             111180110012                Gas           Gov. Aggregation
COH             153876970017                Gas           Gov. Aggregation   COH             111189370010                Gas           Gov. Aggregation
COH             150984770013                Gas           Gov. Aggregation   COH             131359060010                Gas           Gov. Aggregation
COH             149970460038                Gas           Gov. Aggregation   COH             111149930043                Gas           Gov. Aggregation
COH             150844260025                Gas           Gov. Aggregation   VEDO            4003756472374397            Gas           Gov. Aggregation
COH             193425430017                Gas           Gov. Aggregation   VEDO            4015518462544238            Gas           Gov. Aggregation
COH             187896480027                Gas           Gov. Aggregation   VEDO            4003018022297155            Gas           Gov. Aggregation
COH             193518760011                Gas           Gov. Aggregation   VEDO            4004161622418290            Gas           Gov. Aggregation
COH             155783930047                Gas           Gov. Aggregation   VEDO            4001930622188536            Gas           Gov. Aggregation
COH             157012180028                Gas           Gov. Aggregation   VEDO            4015626962158984            Gas           Gov. Aggregation
COH             157709220013                Gas           Gov. Aggregation   VEDO            4003777422376592            Gas           Gov. Aggregation
COH             188887330017                Gas           Gov. Aggregation   VEDO            4004413532445890            Gas           Gov. Aggregation
COH             151349011963                Gas           Gov. Aggregation   VEDO            4004426982614961            Gas           Gov. Aggregation
COH             151349012186                Gas           Gov. Aggregation   VEDO            4001122142208474            Gas           Gov. Aggregation
COH             151349011641                Gas           Gov. Aggregation   COH             171407140012                Gas           Gov. Aggregation
COH             151349011810                Gas           Gov. Aggregation   COH             111149380012                Gas           Gov. Aggregation
COH             151349011829                Gas           Gov. Aggregation   COH             160914030013                Gas           Gov. Aggregation
COH             151388200024                Gas           Gov. Aggregation   VEDO            4002402612235128            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             156264980019                Gas           Gov. Aggregation   COH             135214200012                Gas           Gov. Aggregation
COH             156878510043                Gas           Gov. Aggregation   COH             111192630027                Gas           Gov. Aggregation
COH             151554000023                Gas           Gov. Aggregation   COH             111187530010                Gas           Gov. Aggregation
COH             151565050066                Gas           Gov. Aggregation   VEDO            4005001022510789            Gas           Gov. Aggregation
COH             152415510029                Gas           Gov. Aggregation   VEDO            4016908832155229            Gas           Gov. Aggregation
COH             151374930011                Gas           Gov. Aggregation   VEDO            4003079392303426            Gas           Gov. Aggregation
COH             151349011721                Gas           Gov. Aggregation   VEDO            4016653202625654            Gas           Gov. Aggregation
COH             151349012079                Gas           Gov. Aggregation   COH             192135840026                Gas           Gov. Aggregation
COH             157325420015                Gas           Gov. Aggregation   COH             119524900027                Gas           Gov. Aggregation
COH             158054600020                Gas           Gov. Aggregation   COH             121966060024                Gas           Gov. Aggregation
COH             158083400012                Gas           Gov. Aggregation   COH             135177520122                Gas           Gov. Aggregation
COH             193569440011                Gas           Gov. Aggregation   COH             139363190070                Gas           Gov. Aggregation
COH             193893610018                Gas           Gov. Aggregation   COH             140166030032                Gas           Gov. Aggregation
COH             158468330048                Gas           Gov. Aggregation   COH             143089340010                Gas           Gov. Aggregation
COH             158536450011                Gas           Gov. Aggregation   COH             143594070052                Gas           Gov. Aggregation
COH             158931100025                Gas           Gov. Aggregation   COH             145926980116                Gas           Gov. Aggregation
COH             158941460010                Gas           Gov. Aggregation   COH             145972300031                Gas           Gov. Aggregation
COH             152301420010                Gas           Gov. Aggregation   COH             148051250013                Gas           Gov. Aggregation
COH             152336040017                Gas           Gov. Aggregation   COH             149055290052                Gas           Gov. Aggregation
COH             158251630035                Gas           Gov. Aggregation   COH             154359290033                Gas           Gov. Aggregation
COH             159898920015                Gas           Gov. Aggregation   COH             156167040067                Gas           Gov. Aggregation
COH             152420740011                Gas           Gov. Aggregation   COH             158498820024                Gas           Gov. Aggregation
COH             152459010013                Gas           Gov. Aggregation   COH             165372060012                Gas           Gov. Aggregation
COH             160744690025                Gas           Gov. Aggregation   COH             169942110116                Gas           Gov. Aggregation
COH             161096840018                Gas           Gov. Aggregation   COH             170031510012                Gas           Gov. Aggregation
COH             161819090012                Gas           Gov. Aggregation   COH             173281440015                Gas           Gov. Aggregation
COH             162019230035                Gas           Gov. Aggregation   COH             174374290055                Gas           Gov. Aggregation
COH             162176900318                Gas           Gov. Aggregation   COH             174826260025                Gas           Gov. Aggregation
COH             152134480013                Gas           Gov. Aggregation   COH             175278500035                Gas           Gov. Aggregation
COH             193934880014                Gas           Gov. Aggregation   COH             176402940019                Gas           Gov. Aggregation
COH             152609690012                Gas           Gov. Aggregation   COH             177399870030                Gas           Gov. Aggregation
COH             159850220021                Gas           Gov. Aggregation   COH             177542680026                Gas           Gov. Aggregation
COH             159925940030                Gas           Gov. Aggregation   COH             190187410038                Gas           Gov. Aggregation
COH             194092110010                Gas           Gov. Aggregation   COH             190731580010                Gas           Gov. Aggregation
COH             194118100016                Gas           Gov. Aggregation   COH             190759240022                Gas           Gov. Aggregation
COH             194150740014                Gas           Gov. Aggregation   COH             192442300019                Gas           Gov. Aggregation
COH             159261900018                Gas           Gov. Aggregation   COH             194487530015                Gas           Gov. Aggregation
COH             159917460029                Gas           Gov. Aggregation   COH             194548110013                Gas           Gov. Aggregation
COH             162925030036                Gas           Gov. Aggregation   COH             194569020018                Gas           Gov. Aggregation
COH             152972760018                Gas           Gov. Aggregation   COH             194577790010                Gas           Gov. Aggregation
COH             194181570015                Gas           Gov. Aggregation   COH             194584600014                Gas           Gov. Aggregation
COH             152691940016                Gas           Gov. Aggregation   COH             194588440010                Gas           Gov. Aggregation
COH             153250470018                Gas           Gov. Aggregation   COH             194612870017                Gas           Gov. Aggregation
COH             162242690027                Gas           Gov. Aggregation   COH             194633420017                Gas           Gov. Aggregation
COH             162406380015                Gas           Gov. Aggregation   COH             194661270010                Gas           Gov. Aggregation
COH             163097150019                Gas           Gov. Aggregation   COH             194680250014                Gas           Gov. Aggregation
COH             153324370012                Gas           Gov. Aggregation   COH             194689170013                Gas           Gov. Aggregation
COH             153755230036                Gas           Gov. Aggregation   COH             194695200013                Gas           Gov. Aggregation
COH             194035620013                Gas           Gov. Aggregation   COH             194701020016                Gas           Gov. Aggregation
COH             188088320013                Gas           Gov. Aggregation   VEDO            4018937662137387            Gas           Gov. Aggregation
COH             160435670015                Gas           Gov. Aggregation   VEDO            4018968822516955            Gas           Gov. Aggregation
COH             160756360029                Gas           Gov. Aggregation   VEDO            4017432512466963            Gas           Gov. Aggregation
COH             161435140015                Gas           Gov. Aggregation   VEDO            4001647432564751            Gas           Gov. Aggregation
COH             161842590018                Gas           Gov. Aggregation   VEDO            4002965822291806            Gas           Gov. Aggregation
COH             153444910023                Gas           Gov. Aggregation   VEDO            4003668382365052            Gas           Gov. Aggregation
COH             194293280019                Gas           Gov. Aggregation   VEDO            4001987422194121            Gas           Gov. Aggregation
COH             163245960014                Gas           Gov. Aggregation   VEDO            4002455332240402            Gas           Gov. Aggregation
COH             163289170018                Gas           Gov. Aggregation   VEDO            4002840572279069            Gas           Gov. Aggregation
COH             154334420046                Gas           Gov. Aggregation   VEDO            4003713962369824            Gas           Gov. Aggregation
COH             163384310052                Gas           Gov. Aggregation   COH             187090710026                Gas           Gov. Aggregation
COH             164941110015                Gas           Gov. Aggregation   COH             187471930031                Gas           Gov. Aggregation
COH             164958560025                Gas           Gov. Aggregation   COH             139586890071                Gas           Gov. Aggregation
COH             154536210060                Gas           Gov. Aggregation   COH             193085610011                Gas           Gov. Aggregation
COH             155696720019                Gas           Gov. Aggregation   COH             193016820012                Gas           Gov. Aggregation
COH             155768700029                Gas           Gov. Aggregation   COH             111289850044                Gas           Gov. Aggregation
COH             165533320015                Gas           Gov. Aggregation   COH             192826490016                Gas           Gov. Aggregation
COH             166119740014                Gas           Gov. Aggregation   COH             193748090015                Gas           Gov. Aggregation
COH             156098330036                Gas           Gov. Aggregation   COH             192534400013                Gas           Gov. Aggregation
COH             154782120031                Gas           Gov. Aggregation   COH             194486660010                Gas           Gov. Aggregation
COH             154915930118                Gas           Gov. Aggregation   COH             193665140010                Gas           Gov. Aggregation
COH             155171090014                Gas           Gov. Aggregation   COH             111234470067                Gas           Gov. Aggregation
COH             155175360046                Gas           Gov. Aggregation   COH             158415710049                Gas           Gov. Aggregation
COH             163329830068                Gas           Gov. Aggregation   COH             193433120015                Gas           Gov. Aggregation
COH             165018240014                Gas           Gov. Aggregation   VEDO            4019035892322839            Gas           Gov. Aggregation
COH             156304040010                Gas           Gov. Aggregation   VEDO            4019037682120267            Gas           Gov. Aggregation
COH             190392080024                Gas           Gov. Aggregation   COH             193979760015                Gas           Gov. Aggregation
COH             190428710015                Gas           Gov. Aggregation   COH             194780040016                Gas           Gov. Aggregation
COH             191433780019                Gas           Gov. Aggregation   VEDO            4019046022116032            Gas           Gov. Aggregation
COH             163684790010                Gas           Gov. Aggregation   COH             111292280010                Gas           Gov. Aggregation
COH             164255370034                Gas           Gov. Aggregation   COH             139124050057                Gas           Gov. Aggregation
COH             165072090012                Gas           Gov. Aggregation   COH             140007080010                Gas           Gov. Aggregation
COH             155369000022                Gas           Gov. Aggregation   COH             142106040034                Gas           Gov. Aggregation
COH             155594810025                Gas           Gov. Aggregation   COH             143423690035                Gas           Gov. Aggregation
COH             155770440029                Gas           Gov. Aggregation   COH             144351880037                Gas           Gov. Aggregation
COH             156054070024                Gas           Gov. Aggregation   COH             146060230010                Gas           Gov. Aggregation
COH             165862580014                Gas           Gov. Aggregation   COH             149608210019                Gas           Gov. Aggregation
COH             166387740017                Gas           Gov. Aggregation   COH             150490990096                Gas           Gov. Aggregation
COH             190695880015                Gas           Gov. Aggregation   COH             156847200025                Gas           Gov. Aggregation
COH             191356260012                Gas           Gov. Aggregation   COH             162313960038                Gas           Gov. Aggregation
COH             192544990019                Gas           Gov. Aggregation   COH             164605710011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             156342270030                Gas           Gov. Aggregation   COH             164662280049                Gas           Gov. Aggregation
COH             156475450013                Gas           Gov. Aggregation   COH             166151330085                Gas           Gov. Aggregation
COH             156576870011                Gas           Gov. Aggregation   COH             167712610012                Gas           Gov. Aggregation
COH             194317530050                Gas           Gov. Aggregation   COH             169521970038                Gas           Gov. Aggregation
COH             167717610012                Gas           Gov. Aggregation   COH             176435530025                Gas           Gov. Aggregation
COH             154737200011                Gas           Gov. Aggregation   COH             185827210066                Gas           Gov. Aggregation
COH             154917760076                Gas           Gov. Aggregation   COH             189307980027                Gas           Gov. Aggregation
COH             155579370020                Gas           Gov. Aggregation   COH             189936230012                Gas           Gov. Aggregation
COH             166209330028                Gas           Gov. Aggregation   COH             193688311417                Gas           Gov. Aggregation
COH             155691440018                Gas           Gov. Aggregation   COH             194651860017                Gas           Gov. Aggregation
COH             155899840014                Gas           Gov. Aggregation   COH             194664210016                Gas           Gov. Aggregation
COH             191344770010                Gas           Gov. Aggregation   COH             194721350015                Gas           Gov. Aggregation
COH             192201890016                Gas           Gov. Aggregation   COH             194730320012                Gas           Gov. Aggregation
COH             166631660015                Gas           Gov. Aggregation   COH             194731270011                Gas           Gov. Aggregation
COH             166763570042                Gas           Gov. Aggregation   COH             194740760019                Gas           Gov. Aggregation
COH             167571110017                Gas           Gov. Aggregation   COH             194742980019                Gas           Gov. Aggregation
COH             156989680034                Gas           Gov. Aggregation   COH             194747640010                Gas           Gov. Aggregation
COH             157187250024                Gas           Gov. Aggregation   COH             194756470017                Gas           Gov. Aggregation
COH             157403850019                Gas           Gov. Aggregation   COH             194758730018                Gas           Gov. Aggregation
COH             115644980021                Gas           Gov. Aggregation   COH             194793180010                Gas           Gov. Aggregation
COH             115733370084                Gas           Gov. Aggregation   COH             194810730016                Gas           Gov. Aggregation
COH             167351210012                Gas           Gov. Aggregation   COH             194810850011                Gas           Gov. Aggregation
COH             167567970016                Gas           Gov. Aggregation   COH             194856210019                Gas           Gov. Aggregation
COH             168027180015                Gas           Gov. Aggregation   COH             194888430016                Gas           Gov. Aggregation
COH             156856720018                Gas           Gov. Aggregation   COH             194901530015                Gas           Gov. Aggregation
COH             157199780019                Gas           Gov. Aggregation   COH             188249630016                Gas           Gov. Aggregation
COH             157648510030                Gas           Gov. Aggregation   DEO             6500061669707               Gas           Gov. Aggregation
COH             157406080024                Gas           Gov. Aggregation   VEDO            4019056132477540            Gas           Gov. Aggregation
COH             115736650025                Gas           Gov. Aggregation   VEDO            4018986022642472            Gas           Gov. Aggregation
COH             157299990022                Gas           Gov. Aggregation   VEDO            4017198502180009            Gas           Gov. Aggregation
COH             157355330011                Gas           Gov. Aggregation   VEDO            4001198722640216            Gas           Gov. Aggregation
COH             157855770037                Gas           Gov. Aggregation   VEDO            4002450272239916            Gas           Gov. Aggregation
COH             169289900018                Gas           Gov. Aggregation   VEDO            4019073772368000            Gas           Gov. Aggregation
COH             170652760014                Gas           Gov. Aggregation   COH             118242370082                Gas           Gov. Aggregation
COH             169126110018                Gas           Gov. Aggregation   COH             122119000020                Gas           Gov. Aggregation
COH             169644450028                Gas           Gov. Aggregation   COH             123721210019                Gas           Gov. Aggregation
COH             170307670014                Gas           Gov. Aggregation   COH             123723490017                Gas           Gov. Aggregation
COH             115829830011                Gas           Gov. Aggregation   COH             123761320012                Gas           Gov. Aggregation
COH             115848010013                Gas           Gov. Aggregation   COH             125793250054                Gas           Gov. Aggregation
COH             115849310018                Gas           Gov. Aggregation   COH             125843120018                Gas           Gov. Aggregation
COH             115855990013                Gas           Gov. Aggregation   COH             127554840054                Gas           Gov. Aggregation
COH             171090250012                Gas           Gov. Aggregation   COH             132959610020                Gas           Gov. Aggregation
COH             170718390012                Gas           Gov. Aggregation   COH             140423750053                Gas           Gov. Aggregation
COH             115754720013                Gas           Gov. Aggregation   COH             145067690048                Gas           Gov. Aggregation
COH             115781950018                Gas           Gov. Aggregation   COH             151565590018                Gas           Gov. Aggregation
COH             115817700068                Gas           Gov. Aggregation   COH             151667610017                Gas           Gov. Aggregation
COH             157366740030                Gas           Gov. Aggregation   COH             152012500016                Gas           Gov. Aggregation
COH             167983120012                Gas           Gov. Aggregation   COH             152469250030                Gas           Gov. Aggregation
COH             168401430018                Gas           Gov. Aggregation   COH             155580120065                Gas           Gov. Aggregation
COH             115754360019                Gas           Gov. Aggregation   COH             159668030019                Gas           Gov. Aggregation
COH             115774260018                Gas           Gov. Aggregation   COH             163684660017                Gas           Gov. Aggregation
COH             168936000015                Gas           Gov. Aggregation   COH             165010160071                Gas           Gov. Aggregation
COH             168992400013                Gas           Gov. Aggregation   COH             167911180011                Gas           Gov. Aggregation
COH             169002820011                Gas           Gov. Aggregation   COH             169017720020                Gas           Gov. Aggregation
COH             169556820018                Gas           Gov. Aggregation   COH             169546170016                Gas           Gov. Aggregation
COH             169565350018                Gas           Gov. Aggregation   COH             171509060022                Gas           Gov. Aggregation
COH             115748930030                Gas           Gov. Aggregation   COH             173611890029                Gas           Gov. Aggregation
COH             115804850019                Gas           Gov. Aggregation   COH             175397500033                Gas           Gov. Aggregation
COH             115809800019                Gas           Gov. Aggregation   COH             177031820029                Gas           Gov. Aggregation
COH             115826570012                Gas           Gov. Aggregation   COH             186523010034                Gas           Gov. Aggregation
COH             115835600016                Gas           Gov. Aggregation   COH             187577180071                Gas           Gov. Aggregation
COH             115853750017                Gas           Gov. Aggregation   COH             189849440031                Gas           Gov. Aggregation
COH             115855240029                Gas           Gov. Aggregation   COH             190356840020                Gas           Gov. Aggregation
COH             115857180037                Gas           Gov. Aggregation   COH             190619470020                Gas           Gov. Aggregation
COH             170895670019                Gas           Gov. Aggregation   COH             191790060014                Gas           Gov. Aggregation
COH             171583170014                Gas           Gov. Aggregation   COH             191799340017                Gas           Gov. Aggregation
COH             115840470013                Gas           Gov. Aggregation   COH             192411540041                Gas           Gov. Aggregation
COH             115843950016                Gas           Gov. Aggregation   COH             194802690012                Gas           Gov. Aggregation
COH             172005200010                Gas           Gov. Aggregation   COH             194871520012                Gas           Gov. Aggregation
COH             115857030010                Gas           Gov. Aggregation   COH             194882280010                Gas           Gov. Aggregation
COH             115857200023                Gas           Gov. Aggregation   COH             194882660010                Gas           Gov. Aggregation
COH             115858650018                Gas           Gov. Aggregation   COH             194896010017                Gas           Gov. Aggregation
COH             115859120026                Gas           Gov. Aggregation   COH             194936490011                Gas           Gov. Aggregation
COH             115859700033                Gas           Gov. Aggregation   COH             194936650017                Gas           Gov. Aggregation
COH             172453520014                Gas           Gov. Aggregation   COH             194975530010                Gas           Gov. Aggregation
COH             172487050012                Gas           Gov. Aggregation   COH             194982920013                Gas           Gov. Aggregation
COH             158731800013                Gas           Gov. Aggregation   COH             194983490012                Gas           Gov. Aggregation
COH             173463620011                Gas           Gov. Aggregation   COH             195002570012                Gas           Gov. Aggregation
COH             174665820010                Gas           Gov. Aggregation   COH             195050850012                Gas           Gov. Aggregation
COH             158578720016                Gas           Gov. Aggregation   COH             111145060017                Gas           Gov. Aggregation
COH             158882160019                Gas           Gov. Aggregation   COH             193670500013                Gas           Gov. Aggregation
COH             157817680027                Gas           Gov. Aggregation   COH             194607690016                Gas           Gov. Aggregation
COH             157997930015                Gas           Gov. Aggregation   COH             194401310011                Gas           Gov. Aggregation
COH             115876770015                Gas           Gov. Aggregation   COH             173992670047                Gas           Gov. Aggregation
COH             159017910013                Gas           Gov. Aggregation   COH             135447040040                Gas           Gov. Aggregation
COH             174610080011                Gas           Gov. Aggregation   COH             187593900020                Gas           Gov. Aggregation
COH             174463230012                Gas           Gov. Aggregation   COH             194822860014                Gas           Gov. Aggregation
COH             174972070017                Gas           Gov. Aggregation   COH             193453610010                Gas           Gov. Aggregation
COH             175236450025                Gas           Gov. Aggregation   COH             186551290037                Gas           Gov. Aggregation
COH             158954760038                Gas           Gov. Aggregation   COH             195008120014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             193511890018                Gas           Gov. Aggregation   COH             176132740023                Gas           Gov. Aggregation
COH             193793570019                Gas           Gov. Aggregation   COH             121978080061                Gas           Gov. Aggregation
COH             193814550017                Gas           Gov. Aggregation   COH             192511640020                Gas           Gov. Aggregation
COH             159354480010                Gas           Gov. Aggregation   COH             174826690025                Gas           Gov. Aggregation
COH             174941080029                Gas           Gov. Aggregation   COH             172902790024                Gas           Gov. Aggregation
COH             175696980011                Gas           Gov. Aggregation   COH             112387460074                Gas           Gov. Aggregation
COH             159961100012                Gas           Gov. Aggregation   COH             190371450039                Gas           Gov. Aggregation
COH             160157520016                Gas           Gov. Aggregation   COH             160109050025                Gas           Gov. Aggregation
COH             175863820019                Gas           Gov. Aggregation   COH             129211370020                Gas           Gov. Aggregation
COH             176419250037                Gas           Gov. Aggregation   COH             194902120019                Gas           Gov. Aggregation
COH             175185530018                Gas           Gov. Aggregation   COH             194623420018                Gas           Gov. Aggregation
COH             176941400010                Gas           Gov. Aggregation   COH             194948670018                Gas           Gov. Aggregation
COH             160494190049                Gas           Gov. Aggregation   COH             176976540036                Gas           Gov. Aggregation
COH             174957440048                Gas           Gov. Aggregation   COH             113715280029                Gas           Gov. Aggregation
COH             175522700016                Gas           Gov. Aggregation   COH             193915550013                Gas           Gov. Aggregation
COH             175983920014                Gas           Gov. Aggregation   COH             145598590026                Gas           Gov. Aggregation
COH             176064800043                Gas           Gov. Aggregation   VEDO            4005141932526793            Gas           Gov. Aggregation
COH             160740050018                Gas           Gov. Aggregation   COH             115162370049                Gas           Gov. Aggregation
COH             160762640018                Gas           Gov. Aggregation   COH             119583380023                Gas           Gov. Aggregation
COH             160824080078                Gas           Gov. Aggregation   COH             123701220019                Gas           Gov. Aggregation
COH             161018670018                Gas           Gov. Aggregation   COH             123719310022                Gas           Gov. Aggregation
COH             176737700010                Gas           Gov. Aggregation   COH             123748510029                Gas           Gov. Aggregation
COH             176970510025                Gas           Gov. Aggregation   COH             123762180065                Gas           Gov. Aggregation
COH             177505030011                Gas           Gov. Aggregation   COH             124503200021                Gas           Gov. Aggregation
COH             160329870018                Gas           Gov. Aggregation   COH             136578450019                Gas           Gov. Aggregation
COH             192927980019                Gas           Gov. Aggregation   COH             136633670051                Gas           Gov. Aggregation
COH             193114600010                Gas           Gov. Aggregation   COH             142479380776                Gas           Gov. Aggregation
COH             193563220019                Gas           Gov. Aggregation   COH             142784560137                Gas           Gov. Aggregation
COH             194339330010                Gas           Gov. Aggregation   COH             143861960085                Gas           Gov. Aggregation
COH             194357430011                Gas           Gov. Aggregation   COH             148711300021                Gas           Gov. Aggregation
COH             177236770035                Gas           Gov. Aggregation   COH             149660130043                Gas           Gov. Aggregation
COH             177797560022                Gas           Gov. Aggregation   COH             149868900032                Gas           Gov. Aggregation
COH             160855630013                Gas           Gov. Aggregation   COH             152046890023                Gas           Gov. Aggregation
COH             160951710021                Gas           Gov. Aggregation   COH             161357500033                Gas           Gov. Aggregation
COH             161093910019                Gas           Gov. Aggregation   COH             162836600035                Gas           Gov. Aggregation
COH             161568030017                Gas           Gov. Aggregation   COH             163208400046                Gas           Gov. Aggregation
COH             185441320016                Gas           Gov. Aggregation   COH             163286370021                Gas           Gov. Aggregation
COH             185775380017                Gas           Gov. Aggregation   COH             164655940018                Gas           Gov. Aggregation
COH             185778000010                Gas           Gov. Aggregation   COH             166456890064                Gas           Gov. Aggregation
COH             186029650010                Gas           Gov. Aggregation   COH             167491360024                Gas           Gov. Aggregation
COH             186102490018                Gas           Gov. Aggregation   COH             169754560022                Gas           Gov. Aggregation
COH             185064850015                Gas           Gov. Aggregation   COH             171044220024                Gas           Gov. Aggregation
COH             185128120012                Gas           Gov. Aggregation   COH             171790660021                Gas           Gov. Aggregation
COH             185617250018                Gas           Gov. Aggregation   COH             173212220034                Gas           Gov. Aggregation
COH             185626480011                Gas           Gov. Aggregation   COH             174241490018                Gas           Gov. Aggregation
COH             194142550011                Gas           Gov. Aggregation   COH             175904990016                Gas           Gov. Aggregation
COH             194304690018                Gas           Gov. Aggregation   COH             185468820024                Gas           Gov. Aggregation
COH             110408520040                Gas           Gov. Aggregation   COH             185707290028                Gas           Gov. Aggregation
COH             161425740010                Gas           Gov. Aggregation   COH             189944900014                Gas           Gov. Aggregation
COH             161568090042                Gas           Gov. Aggregation   COH             190663010023                Gas           Gov. Aggregation
COH             194193870017                Gas           Gov. Aggregation   COH             192152750029                Gas           Gov. Aggregation
COH             110369240043                Gas           Gov. Aggregation   COH             193549570034                Gas           Gov. Aggregation
COH             110572240015                Gas           Gov. Aggregation   COH             194975890015                Gas           Gov. Aggregation
COH             110572400011                Gas           Gov. Aggregation   COH             194976210015                Gas           Gov. Aggregation
COH             186196850015                Gas           Gov. Aggregation   COH             195008450015                Gas           Gov. Aggregation
COH             161791790015                Gas           Gov. Aggregation   COH             195029780012                Gas           Gov. Aggregation
COH             162075630033                Gas           Gov. Aggregation   COH             195055410014                Gas           Gov. Aggregation
COH             161736920022                Gas           Gov. Aggregation   COH             195068950014                Gas           Gov. Aggregation
COH             186301140019                Gas           Gov. Aggregation   COH             195094370011                Gas           Gov. Aggregation
COH             110584630125                Gas           Gov. Aggregation   COH             195095070012                Gas           Gov. Aggregation
COH             110620880018                Gas           Gov. Aggregation   COH             195107220013                Gas           Gov. Aggregation
COH             110621160017                Gas           Gov. Aggregation   COH             195123850017                Gas           Gov. Aggregation
COH             161953370028                Gas           Gov. Aggregation   COH             195123990018                Gas           Gov. Aggregation
COH             162038750018                Gas           Gov. Aggregation   COH             195124030017                Gas           Gov. Aggregation
COH             110550360052                Gas           Gov. Aggregation   COH             195127120012                Gas           Gov. Aggregation
COH             186280330015                Gas           Gov. Aggregation   COH             195153610014                Gas           Gov. Aggregation
COH             161911270018                Gas           Gov. Aggregation   COH             195172520013                Gas           Gov. Aggregation
COH             162069100019                Gas           Gov. Aggregation   COH             195173640016                Gas           Gov. Aggregation
COH             162040330011                Gas           Gov. Aggregation   COH             195184390016                Gas           Gov. Aggregation
COH             162106930015                Gas           Gov. Aggregation   COH             195187270015                Gas           Gov. Aggregation
COH             110614200022                Gas           Gov. Aggregation   COH             195194470018                Gas           Gov. Aggregation
COH             110646750011                Gas           Gov. Aggregation   COH             195195800016                Gas           Gov. Aggregation
COH             162593060017                Gas           Gov. Aggregation   COH             195213960013                Gas           Gov. Aggregation
COH             188393500027                Gas           Gov. Aggregation   COH             195252360017                Gas           Gov. Aggregation
COH             187412250038                Gas           Gov. Aggregation   VEDO            4001477102138489            Gas           Gov. Aggregation
COH             187908420031                Gas           Gov. Aggregation   COH             112294670013                Gas           Gov. Aggregation
COH             186949310020                Gas           Gov. Aggregation   COH             194068640010                Gas           Gov. Aggregation
COH             187617960017                Gas           Gov. Aggregation   COH             192575410015                Gas           Gov. Aggregation
COH             187977500011                Gas           Gov. Aggregation   COH             195208320018                Gas           Gov. Aggregation
COH             162781940059                Gas           Gov. Aggregation   COH             192256470019                Gas           Gov. Aggregation
COH             162232660015                Gas           Gov. Aggregation   COH             194084000010                Gas           Gov. Aggregation
COH             188835960014                Gas           Gov. Aggregation   COH             195235100017                Gas           Gov. Aggregation
COH             189270870010                Gas           Gov. Aggregation   COH             111013110033                Gas           Gov. Aggregation
COH             186732370018                Gas           Gov. Aggregation   COH             111025770021                Gas           Gov. Aggregation
COH             187090950017                Gas           Gov. Aggregation   COH             171817140013                Gas           Gov. Aggregation
COH             162206150062                Gas           Gov. Aggregation   COH             194309700015                Gas           Gov. Aggregation
COH             162225010016                Gas           Gov. Aggregation   COH             193183880017                Gas           Gov. Aggregation
COH             162470600013                Gas           Gov. Aggregation   COH             195201930014                Gas           Gov. Aggregation
COH             187964970010                Gas           Gov. Aggregation   COH             163287860053                Gas           Gov. Aggregation
COH             188350340021                Gas           Gov. Aggregation   COH             168633590032                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             120539910012                Gas           Gov. Aggregation   COH             188457690022                Gas           Gov. Aggregation
COH             120541170013                Gas           Gov. Aggregation   COH             193733630012                Gas           Gov. Aggregation
COH             110741190017                Gas           Gov. Aggregation   COH             193383490015                Gas           Gov. Aggregation
COH             111236350013                Gas           Gov. Aggregation   COH             110961720019                Gas           Gov. Aggregation
COH             188974360016                Gas           Gov. Aggregation   COH             194083930017                Gas           Gov. Aggregation
COH             189931500024                Gas           Gov. Aggregation   COH             194365170019                Gas           Gov. Aggregation
COH             111285460017                Gas           Gov. Aggregation   COH             193905120014                Gas           Gov. Aggregation
COH             189971390015                Gas           Gov. Aggregation   COH             189179480025                Gas           Gov. Aggregation
COH             111239590017                Gas           Gov. Aggregation   COH             193542260015                Gas           Gov. Aggregation
COH             163537410010                Gas           Gov. Aggregation   DEO             7500062114356               Gas           Gov. Aggregation
COH             163542900016                Gas           Gov. Aggregation   COH             172705540015                Gas           Gov. Aggregation
COH             163720910016                Gas           Gov. Aggregation   COH             117855200150                Gas           Gov. Aggregation
COH             188803750015                Gas           Gov. Aggregation   COH             194700240012                Gas           Gov. Aggregation
COH             188883370017                Gas           Gov. Aggregation   COH             188868330026                Gas           Gov. Aggregation
COH             163149960018                Gas           Gov. Aggregation   COH             143742350147                Gas           Gov. Aggregation
COH             163525680019                Gas           Gov. Aggregation   COH             193444230019                Gas           Gov. Aggregation
COH             111303890026                Gas           Gov. Aggregation   COH             192797680019                Gas           Gov. Aggregation
COH             120531030022                Gas           Gov. Aggregation   COH             194300460014                Gas           Gov. Aggregation
COH             120533850017                Gas           Gov. Aggregation   COH             175222900038                Gas           Gov. Aggregation
COH             163746190023                Gas           Gov. Aggregation   COH             189781420020                Gas           Gov. Aggregation
COH             163775750104                Gas           Gov. Aggregation   COH             194640570011                Gas           Gov. Aggregation
COH             111219810012                Gas           Gov. Aggregation   COH             146625060054                Gas           Gov. Aggregation
COH             111228140014                Gas           Gov. Aggregation   COH             155920130043                Gas           Gov. Aggregation
COH             190367820012                Gas           Gov. Aggregation   COH             194486960017                Gas           Gov. Aggregation
COH             190398380010                Gas           Gov. Aggregation   COH             177781010020                Gas           Gov. Aggregation
COH             164283850016                Gas           Gov. Aggregation   COH             164955830042                Gas           Gov. Aggregation
COH             120533940018                Gas           Gov. Aggregation   COH             150734600017                Gas           Gov. Aggregation
COH             164103460018                Gas           Gov. Aggregation   COH             192804770013                Gas           Gov. Aggregation
COH             190018100012                Gas           Gov. Aggregation   COH             172034110018                Gas           Gov. Aggregation
COH             190648820016                Gas           Gov. Aggregation   COH             153058300020                Gas           Gov. Aggregation
COH             164738350025                Gas           Gov. Aggregation   COH             193567180010                Gas           Gov. Aggregation
COH             164755840017                Gas           Gov. Aggregation   COH             167111130044                Gas           Gov. Aggregation
COH             126776850017                Gas           Gov. Aggregation   COH             194034680013                Gas           Gov. Aggregation
COH             165127700016                Gas           Gov. Aggregation   COH             193583290013                Gas           Gov. Aggregation
COH             165247040011                Gas           Gov. Aggregation   COH             133472660012                Gas           Gov. Aggregation
COH             191224930010                Gas           Gov. Aggregation   COH             192002960031                Gas           Gov. Aggregation
COH             164118100012                Gas           Gov. Aggregation   COH             174904480032                Gas           Gov. Aggregation
COH             190715450011                Gas           Gov. Aggregation   COH             194473800017                Gas           Gov. Aggregation
COH             164706030029                Gas           Gov. Aggregation   COH             192063010014                Gas           Gov. Aggregation
COH             164713520012                Gas           Gov. Aggregation   COH             193542010017                Gas           Gov. Aggregation
COH             165143320030                Gas           Gov. Aggregation   COH             174678850062                Gas           Gov. Aggregation
COH             127519730015                Gas           Gov. Aggregation   COH             189328060035                Gas           Gov. Aggregation
COH             129254200016                Gas           Gov. Aggregation   COH             117197440049                Gas           Gov. Aggregation
COH             164697550012                Gas           Gov. Aggregation   COH             195167160010                Gas           Gov. Aggregation
COH             164719900010                Gas           Gov. Aggregation   COH             152780870030                Gas           Gov. Aggregation
COH             165446740012                Gas           Gov. Aggregation   COH             195170950017                Gas           Gov. Aggregation
COH             165702440011                Gas           Gov. Aggregation   COH             192848580011                Gas           Gov. Aggregation
COH             192228360011                Gas           Gov. Aggregation   COH             187483060048                Gas           Gov. Aggregation
COH             165263280026                Gas           Gov. Aggregation   COH             193097400010                Gas           Gov. Aggregation
COH             191914750015                Gas           Gov. Aggregation   COH             172292180027                Gas           Gov. Aggregation
COH             192348610014                Gas           Gov. Aggregation   COH             186080020014                Gas           Gov. Aggregation
COH             165743400013                Gas           Gov. Aggregation   COH             145370560033                Gas           Gov. Aggregation
COH             129850150022                Gas           Gov. Aggregation   COH             145370560042                Gas           Gov. Aggregation
COH             130233340036                Gas           Gov. Aggregation   COH             194966710011                Gas           Gov. Aggregation
COH             130651080017                Gas           Gov. Aggregation   COH             192790490013                Gas           Gov. Aggregation
COH             192365780013                Gas           Gov. Aggregation   COH             190811730027                Gas           Gov. Aggregation
COH             166372710032                Gas           Gov. Aggregation   COH             166042710013                Gas           Gov. Aggregation
COH             165770360042                Gas           Gov. Aggregation   COH             194740600012                Gas           Gov. Aggregation
COH             192133770016                Gas           Gov. Aggregation   COH             191584780029                Gas           Gov. Aggregation
COH             131672370011                Gas           Gov. Aggregation   COH             192790530014                Gas           Gov. Aggregation
COH             192250440017                Gas           Gov. Aggregation   COH             190915210035                Gas           Gov. Aggregation
COH             166657770018                Gas           Gov. Aggregation   COH             193610470016                Gas           Gov. Aggregation
COH             166748840010                Gas           Gov. Aggregation   COH             165553830025                Gas           Gov. Aggregation
COH             167185300025                Gas           Gov. Aggregation   COH             151081140036                Gas           Gov. Aggregation
COH             166438350010                Gas           Gov. Aggregation   COH             161999890069                Gas           Gov. Aggregation
COH             166797080017                Gas           Gov. Aggregation   COH             190656210026                Gas           Gov. Aggregation
COH             192794590014                Gas           Gov. Aggregation   COH             166817310014                Gas           Gov. Aggregation
COH             192501620016                Gas           Gov. Aggregation   COH             129167830019                Gas           Gov. Aggregation
COH             167022890017                Gas           Gov. Aggregation   COH             156901660078                Gas           Gov. Aggregation
COH             167151350026                Gas           Gov. Aggregation   COH             194796650015                Gas           Gov. Aggregation
COH             193004370012                Gas           Gov. Aggregation   COH             190565830010                Gas           Gov. Aggregation
COH             193077960015                Gas           Gov. Aggregation   COH             194304400018                Gas           Gov. Aggregation
COH             134681680032                Gas           Gov. Aggregation   COH             190459510012                Gas           Gov. Aggregation
COH             166014480066                Gas           Gov. Aggregation   COH             193954910015                Gas           Gov. Aggregation
COH             166159070011                Gas           Gov. Aggregation   COH             185928910010                Gas           Gov. Aggregation
COH             166250340010                Gas           Gov. Aggregation   COH             192475390012                Gas           Gov. Aggregation
COH             132391180016                Gas           Gov. Aggregation   COH             193428210017                Gas           Gov. Aggregation
COH             166639550021                Gas           Gov. Aggregation   COH             174895310038                Gas           Gov. Aggregation
COH             192506550011                Gas           Gov. Aggregation   COH             151361460017                Gas           Gov. Aggregation
COH             192564150013                Gas           Gov. Aggregation   DEO             5500062326755               Gas           Gov. Aggregation
COH             192699750012                Gas           Gov. Aggregation   COH             108667820025                Gas           Gov. Aggregation
COH             117375390033                Gas           Gov. Aggregation   COH             108840590035                Gas           Gov. Aggregation
COH             167025200015                Gas           Gov. Aggregation   COH             111124270026                Gas           Gov. Aggregation
COH             167112020018                Gas           Gov. Aggregation   COH             112478490039                Gas           Gov. Aggregation
COH             134762960013                Gas           Gov. Aggregation   COH             115809600011                Gas           Gov. Aggregation
COH             135373240036                Gas           Gov. Aggregation   COH             128855240024                Gas           Gov. Aggregation
COH             167225360036                Gas           Gov. Aggregation   COH             134155410015                Gas           Gov. Aggregation
COH             167332390015                Gas           Gov. Aggregation   COH             136952660020                Gas           Gov. Aggregation
COH             193435700019                Gas           Gov. Aggregation   COH             136967670161                Gas           Gov. Aggregation
COH             167374690023                Gas           Gov. Aggregation   COH             138667830027                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             193251700019                Gas           Gov. Aggregation   COH             141869440062                Gas           Gov. Aggregation
COH             193318830010                Gas           Gov. Aggregation   COH             148036450040                Gas           Gov. Aggregation
COH             133980710014                Gas           Gov. Aggregation   COH             154959050013                Gas           Gov. Aggregation
COH             134079560052                Gas           Gov. Aggregation   COH             158582040047                Gas           Gov. Aggregation
COH             167507550029                Gas           Gov. Aggregation   COH             160108200061                Gas           Gov. Aggregation
COH             193638790011                Gas           Gov. Aggregation   COH             164276140047                Gas           Gov. Aggregation
COH             167695260032                Gas           Gov. Aggregation   COH             164992210017                Gas           Gov. Aggregation
COH             167844770029                Gas           Gov. Aggregation   COH             168406640050                Gas           Gov. Aggregation
COH             167851560037                Gas           Gov. Aggregation   COH             171832550079                Gas           Gov. Aggregation
COH             135575280021                Gas           Gov. Aggregation   COH             177400540043                Gas           Gov. Aggregation
COH             135594940013                Gas           Gov. Aggregation   COH             186593190021                Gas           Gov. Aggregation
COH             167523580029                Gas           Gov. Aggregation   COH             187385290048                Gas           Gov. Aggregation
COH             193215580011                Gas           Gov. Aggregation   COH             188169970033                Gas           Gov. Aggregation
COH             193501460019                Gas           Gov. Aggregation   COH             189345800015                Gas           Gov. Aggregation
COH             136454230026                Gas           Gov. Aggregation   COH             189431410032                Gas           Gov. Aggregation
COH             168405610021                Gas           Gov. Aggregation   COH             192945400021                Gas           Gov. Aggregation
COH             168534860017                Gas           Gov. Aggregation   COH             193117420021                Gas           Gov. Aggregation
COH             193848860011                Gas           Gov. Aggregation   COH             193688312032                Gas           Gov. Aggregation
COH             194324740015                Gas           Gov. Aggregation   COH             195212820014                Gas           Gov. Aggregation
COH             167677160013                Gas           Gov. Aggregation   COH             195218530013                Gas           Gov. Aggregation
COH             137215230021                Gas           Gov. Aggregation   COH             195256450010                Gas           Gov. Aggregation
COH             193534200014                Gas           Gov. Aggregation   COH             195271450018                Gas           Gov. Aggregation
COH             167526100014                Gas           Gov. Aggregation   COH             195272470012                Gas           Gov. Aggregation
COH             135594870018                Gas           Gov. Aggregation   COH             195284010013                Gas           Gov. Aggregation
COH             167952030016                Gas           Gov. Aggregation   COH             195299160011                Gas           Gov. Aggregation
COH             193666700010                Gas           Gov. Aggregation   COH             195310400014                Gas           Gov. Aggregation
COH             194032100018                Gas           Gov. Aggregation   COH             195310480018                Gas           Gov. Aggregation
COH             169983030019                Gas           Gov. Aggregation   COH             195322350010                Gas           Gov. Aggregation
COH             168555490039                Gas           Gov. Aggregation   COH             195343610011                Gas           Gov. Aggregation
COH             168556880026                Gas           Gov. Aggregation   COH             195375240012                Gas           Gov. Aggregation
COH             194314690017                Gas           Gov. Aggregation   COH             195396130011                Gas           Gov. Aggregation
COH             112053410017                Gas           Gov. Aggregation   COH             195405680015                Gas           Gov. Aggregation
COH             116570410026                Gas           Gov. Aggregation   COH             195406800017                Gas           Gov. Aggregation
COH             169361510025                Gas           Gov. Aggregation   COH             195420310010                Gas           Gov. Aggregation
COH             128925090027                Gas           Gov. Aggregation   COH             195433070014                Gas           Gov. Aggregation
COH             169562890020                Gas           Gov. Aggregation   COH             195437680018                Gas           Gov. Aggregation
COH             139699910013                Gas           Gov. Aggregation   COH             195518290018                Gas           Gov. Aggregation
COH             169015710017                Gas           Gov. Aggregation   COH             195518610010                Gas           Gov. Aggregation
COH             169324700014                Gas           Gov. Aggregation   COH             124393920025                Gas           Gov. Aggregation
COH             139911060038                Gas           Gov. Aggregation   VEDO            4004461292385664            Gas           Gov. Aggregation
COH             169993870012                Gas           Gov. Aggregation   VEDO            4001680522164064            Gas           Gov. Aggregation
COH             140647550015                Gas           Gov. Aggregation   VEDO            4003016792297023            Gas           Gov. Aggregation
COH             170072030017                Gas           Gov. Aggregation   VEDO            4004906082500167            Gas           Gov. Aggregation
COH             141523290011                Gas           Gov. Aggregation   COH             192506210012                Gas           Gov. Aggregation
COH             141825810020                Gas           Gov. Aggregation   COH             195140030013                Gas           Gov. Aggregation
COH             169946380014                Gas           Gov. Aggregation   COH             185731660010                Gas           Gov. Aggregation
COH             170071810015                Gas           Gov. Aggregation   COH             177468980012                Gas           Gov. Aggregation
COH             170286480010                Gas           Gov. Aggregation   COH             177238830010                Gas           Gov. Aggregation
COH             170403260025                Gas           Gov. Aggregation   COH             177200830019                Gas           Gov. Aggregation
COH             142978020013                Gas           Gov. Aggregation   COH             174736770038                Gas           Gov. Aggregation
COH             170294670013                Gas           Gov. Aggregation   COH             187505750018                Gas           Gov. Aggregation
COH             142594140012                Gas           Gov. Aggregation   COH             194092530012                Gas           Gov. Aggregation
COH             170400350013                Gas           Gov. Aggregation   COH             194425900017                Gas           Gov. Aggregation
COH             141980980018                Gas           Gov. Aggregation   COH             194794000024                Gas           Gov. Aggregation
COH             125686900027                Gas           Gov. Aggregation   COH             195245700010                Gas           Gov. Aggregation
COH             130402830052                Gas           Gov. Aggregation   COH             161736130037                Gas           Gov. Aggregation
COH             143545260108                Gas           Gov. Aggregation   COH             172842110015                Gas           Gov. Aggregation
COH             171043240013                Gas           Gov. Aggregation   COH             168039260013                Gas           Gov. Aggregation
COH             171147190014                Gas           Gov. Aggregation   COH             166668110013                Gas           Gov. Aggregation
COH             138609140033                Gas           Gov. Aggregation   COH             166206100013                Gas           Gov. Aggregation
COH             146220410012                Gas           Gov. Aggregation   COH             185100930010                Gas           Gov. Aggregation
COH             171590270018                Gas           Gov. Aggregation   COH             189357270012                Gas           Gov. Aggregation
COH             144893960014                Gas           Gov. Aggregation   COH             155444970029                Gas           Gov. Aggregation
COH             145271030016                Gas           Gov. Aggregation   COH             194012620011                Gas           Gov. Aggregation
COH             145276430021                Gas           Gov. Aggregation   COH             136444420027                Gas           Gov. Aggregation
COH             171288750045                Gas           Gov. Aggregation   COH             132587940020                Gas           Gov. Aggregation
COH             145771600016                Gas           Gov. Aggregation   COH             125253740028                Gas           Gov. Aggregation
COH             170815840011                Gas           Gov. Aggregation   COH             138503400023                Gas           Gov. Aggregation
COH             171600890015                Gas           Gov. Aggregation   COH             175028950012                Gas           Gov. Aggregation
COH             136046050010                Gas           Gov. Aggregation   COH             192664570013                Gas           Gov. Aggregation
COH             137434940037                Gas           Gov. Aggregation   COH             138928160024                Gas           Gov. Aggregation
COH             171641550010                Gas           Gov. Aggregation   COH             160938180012                Gas           Gov. Aggregation
COH             171664640022                Gas           Gov. Aggregation   COH             190793280013                Gas           Gov. Aggregation
COH             171777580017                Gas           Gov. Aggregation   COH             191977210016                Gas           Gov. Aggregation
COH             146851390047                Gas           Gov. Aggregation   COH             164377120029                Gas           Gov. Aggregation
COH             147116290045                Gas           Gov. Aggregation   COH             161706430028                Gas           Gov. Aggregation
COH             172257440017                Gas           Gov. Aggregation   COH             160159490037                Gas           Gov. Aggregation
COH             147834830012                Gas           Gov. Aggregation   COH             173479870016                Gas           Gov. Aggregation
COH             147958270018                Gas           Gov. Aggregation   COH             173869730018                Gas           Gov. Aggregation
COH             172461350013                Gas           Gov. Aggregation   COH             173877640029                Gas           Gov. Aggregation
COH             172493260024                Gas           Gov. Aggregation   COH             187683390018                Gas           Gov. Aggregation
COH             172658410013                Gas           Gov. Aggregation   COH             193956000012                Gas           Gov. Aggregation
COH             148646140033                Gas           Gov. Aggregation   COH             189906000013                Gas           Gov. Aggregation
COH             143649190069                Gas           Gov. Aggregation   COH             186149210018                Gas           Gov. Aggregation
COH             172775800031                Gas           Gov. Aggregation   COH             186238660024                Gas           Gov. Aggregation
COH             172870090039                Gas           Gov. Aggregation   COH             185312310011                Gas           Gov. Aggregation
COH             172951330027                Gas           Gov. Aggregation   COH             185319380022                Gas           Gov. Aggregation
COH             148899220013                Gas           Gov. Aggregation   COH             186610060011                Gas           Gov. Aggregation
COH             146962910140                Gas           Gov. Aggregation   COH             186906810016                Gas           Gov. Aggregation
COH             172747710020                Gas           Gov. Aggregation   COH             165367220019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             172389080041                Gas           Gov. Aggregation   COH             166546070010                Gas           Gov. Aggregation
COH             151316390026                Gas           Gov. Aggregation   COH             167780030011                Gas           Gov. Aggregation
COH             150267030027                Gas           Gov. Aggregation   COH             169222370010                Gas           Gov. Aggregation
COH             151221720063                Gas           Gov. Aggregation   COH             163855650016                Gas           Gov. Aggregation
COH             151225130014                Gas           Gov. Aggregation   COH             163131980011                Gas           Gov. Aggregation
COH             173441550012                Gas           Gov. Aggregation   COH             192931710016                Gas           Gov. Aggregation
COH             151316370011                Gas           Gov. Aggregation   COH             165195430029                Gas           Gov. Aggregation
COH             173982040013                Gas           Gov. Aggregation   COH             124521430016                Gas           Gov. Aggregation
COH             174078500012                Gas           Gov. Aggregation   COH             124521390033                Gas           Gov. Aggregation
COH             173403220011                Gas           Gov. Aggregation   COH             154892420026                Gas           Gov. Aggregation
COH             150544240025                Gas           Gov. Aggregation   COH             128877710010                Gas           Gov. Aggregation
COH             151817340060                Gas           Gov. Aggregation   COH             136379390014                Gas           Gov. Aggregation
COH             151559930019                Gas           Gov. Aggregation   COH             160463790011                Gas           Gov. Aggregation
COH             173449580010                Gas           Gov. Aggregation   COH             125290680032                Gas           Gov. Aggregation
COH             152967990011                Gas           Gov. Aggregation   COH             189950590017                Gas           Gov. Aggregation
COH             174249130035                Gas           Gov. Aggregation   COH             192765590024                Gas           Gov. Aggregation
COH             174698310036                Gas           Gov. Aggregation   COH             172101630025                Gas           Gov. Aggregation
COH             174798830035                Gas           Gov. Aggregation   COH             171995880012                Gas           Gov. Aggregation
COH             174863610014                Gas           Gov. Aggregation   COH             173066380014                Gas           Gov. Aggregation
COH             154470480019                Gas           Gov. Aggregation   COH             174193780010                Gas           Gov. Aggregation
COH             174788660014                Gas           Gov. Aggregation   COH             173684920010                Gas           Gov. Aggregation
COH             174816480011                Gas           Gov. Aggregation   COH             176039280019                Gas           Gov. Aggregation
COH             175159480014                Gas           Gov. Aggregation   COH             175023870037                Gas           Gov. Aggregation
COH             155934790019                Gas           Gov. Aggregation   COH             175042890024                Gas           Gov. Aggregation
COH             154038810015                Gas           Gov. Aggregation   COH             175326620019                Gas           Gov. Aggregation
COH             175140290013                Gas           Gov. Aggregation   COH             175686250015                Gas           Gov. Aggregation
COH             156109470023                Gas           Gov. Aggregation   COH             187753280012                Gas           Gov. Aggregation
COH             175395250049                Gas           Gov. Aggregation   COH             187766660015                Gas           Gov. Aggregation
COH             175570310017                Gas           Gov. Aggregation   COH             187527730016                Gas           Gov. Aggregation
COH             175609580018                Gas           Gov. Aggregation   COH             186870900014                Gas           Gov. Aggregation
COH             175694750022                Gas           Gov. Aggregation   COH             186922910020                Gas           Gov. Aggregation
COH             157204630017                Gas           Gov. Aggregation   COH             192048730015                Gas           Gov. Aggregation
COH             176509290010                Gas           Gov. Aggregation   COH             192406680025                Gas           Gov. Aggregation
COH             175918260010                Gas           Gov. Aggregation   COH             193189850011                Gas           Gov. Aggregation
COH             176652830013                Gas           Gov. Aggregation   COH             193030070010                Gas           Gov. Aggregation
COH             176672850035                Gas           Gov. Aggregation   COH             194268910037                Gas           Gov. Aggregation
COH             158650200011                Gas           Gov. Aggregation   COH             190041920011                Gas           Gov. Aggregation
COH             176468440025                Gas           Gov. Aggregation   COH             194340790011                Gas           Gov. Aggregation
COH             176687290023                Gas           Gov. Aggregation   COH             194429280010                Gas           Gov. Aggregation
COH             176870230017                Gas           Gov. Aggregation   COH             189603550029                Gas           Gov. Aggregation
COH             177045350010                Gas           Gov. Aggregation   COH             190609360015                Gas           Gov. Aggregation
COH             159257110013                Gas           Gov. Aggregation   COH             190707680010                Gas           Gov. Aggregation
COH             177590350051                Gas           Gov. Aggregation   COH             190954470020                Gas           Gov. Aggregation
COH             177642230019                Gas           Gov. Aggregation   COH             190898940012                Gas           Gov. Aggregation
COH             160503020016                Gas           Gov. Aggregation   COH             191710420016                Gas           Gov. Aggregation
COH             158596930014                Gas           Gov. Aggregation   COH             191585340010                Gas           Gov. Aggregation
COH             158857080019                Gas           Gov. Aggregation   COH             168942810030                Gas           Gov. Aggregation
COH             160260360020                Gas           Gov. Aggregation   COH             167954040010                Gas           Gov. Aggregation
COH             160406740011                Gas           Gov. Aggregation   COH             168290200013                Gas           Gov. Aggregation
COH             160856540029                Gas           Gov. Aggregation   COH             163986850026                Gas           Gov. Aggregation
COH             185362330012                Gas           Gov. Aggregation   COH             163988950030                Gas           Gov. Aggregation
COH             162697000019                Gas           Gov. Aggregation   COH             163284930036                Gas           Gov. Aggregation
COH             186203920022                Gas           Gov. Aggregation   COH             162894580029                Gas           Gov. Aggregation
COH             185780850017                Gas           Gov. Aggregation   COH             162691750023                Gas           Gov. Aggregation
COH             185889690011                Gas           Gov. Aggregation   COH             162647060021                Gas           Gov. Aggregation
COH             162015370043                Gas           Gov. Aggregation   COH             158622230032                Gas           Gov. Aggregation
COH             162914310012                Gas           Gov. Aggregation   COH             158646770011                Gas           Gov. Aggregation
COH             163125600013                Gas           Gov. Aggregation   COH             155591660023                Gas           Gov. Aggregation
COH             186351060020                Gas           Gov. Aggregation   COH             152110440011                Gas           Gov. Aggregation
COH             164955710010                Gas           Gov. Aggregation   COH             155103350021                Gas           Gov. Aggregation
COH             166265250018                Gas           Gov. Aggregation   COH             160075820053                Gas           Gov. Aggregation
COH             163750810014                Gas           Gov. Aggregation   COH             152374910041                Gas           Gov. Aggregation
COH             163985740012                Gas           Gov. Aggregation   COH             154135580027                Gas           Gov. Aggregation
COH             164295320012                Gas           Gov. Aggregation   COH             144652030046                Gas           Gov. Aggregation
COH             164308570011                Gas           Gov. Aggregation   COH             145895430038                Gas           Gov. Aggregation
COH             186825390017                Gas           Gov. Aggregation   COH             141126430022                Gas           Gov. Aggregation
COH             167586930014                Gas           Gov. Aggregation   COH             140247460049                Gas           Gov. Aggregation
COH             164437990010                Gas           Gov. Aggregation   COH             134833470042                Gas           Gov. Aggregation
COH             163382120010                Gas           Gov. Aggregation   COH             136744390028                Gas           Gov. Aggregation
COH             186622120031                Gas           Gov. Aggregation   COH             132857040026                Gas           Gov. Aggregation
COH             167295310011                Gas           Gov. Aggregation   COH             133954190028                Gas           Gov. Aggregation
COH             186920930011                Gas           Gov. Aggregation   COH             130381120039                Gas           Gov. Aggregation
COH             186840070012                Gas           Gov. Aggregation   COH             151031110019                Gas           Gov. Aggregation
COH             186372210015                Gas           Gov. Aggregation   COH             186221810018                Gas           Gov. Aggregation
COH             186467420010                Gas           Gov. Aggregation   COH             163935340011                Gas           Gov. Aggregation
COH             186528130011                Gas           Gov. Aggregation   COH             175500800011                Gas           Gov. Aggregation
COH             168277030017                Gas           Gov. Aggregation   COH             161574930015                Gas           Gov. Aggregation
COH             165003730030                Gas           Gov. Aggregation   COH             160342760040                Gas           Gov. Aggregation
COH             166000190020                Gas           Gov. Aggregation   COH             124492410031                Gas           Gov. Aggregation
COH             187224690035                Gas           Gov. Aggregation   COH             159534940011                Gas           Gov. Aggregation
COH             187505210011                Gas           Gov. Aggregation   COH             171676060010                Gas           Gov. Aggregation
COH             187448140036                Gas           Gov. Aggregation   COH             131323190036                Gas           Gov. Aggregation
COH             187551190019                Gas           Gov. Aggregation   COH             125389310030                Gas           Gov. Aggregation
COH             187680640020                Gas           Gov. Aggregation   COH             189338110015                Gas           Gov. Aggregation
COH             187226230019                Gas           Gov. Aggregation   COH             159873750040                Gas           Gov. Aggregation
COH             167686150016                Gas           Gov. Aggregation   COH             189671090014                Gas           Gov. Aggregation
COH             167711960011                Gas           Gov. Aggregation   COH             189679510019                Gas           Gov. Aggregation
COH             167869960018                Gas           Gov. Aggregation   COH             186659800022                Gas           Gov. Aggregation
COH             167874200016                Gas           Gov. Aggregation   COH             165417270012                Gas           Gov. Aggregation
COH             167733270010                Gas           Gov. Aggregation   COH             163836910011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             187944450039                Gas           Gov. Aggregation   COH             172250920010                Gas           Gov. Aggregation
COH             188228050021                Gas           Gov. Aggregation   COH             190760520011                Gas           Gov. Aggregation
COH             188593480019                Gas           Gov. Aggregation   COH             190201410027                Gas           Gov. Aggregation
COH             188207750019                Gas           Gov. Aggregation   COH             170108270038                Gas           Gov. Aggregation
COH             168339660013                Gas           Gov. Aggregation   COH             167165840015                Gas           Gov. Aggregation
COH             168706910011                Gas           Gov. Aggregation   COH             170965080014                Gas           Gov. Aggregation
COH             188387040018                Gas           Gov. Aggregation   COH             195075280010                Gas           Gov. Aggregation
COH             169675680016                Gas           Gov. Aggregation   COH             160595100016                Gas           Gov. Aggregation
COH             188598210015                Gas           Gov. Aggregation   COH             190051140014                Gas           Gov. Aggregation
COH             189054390019                Gas           Gov. Aggregation   COH             167637730017                Gas           Gov. Aggregation
COH             171801220019                Gas           Gov. Aggregation   COH             167692090016                Gas           Gov. Aggregation
COH             188763330019                Gas           Gov. Aggregation   COH             164925390011                Gas           Gov. Aggregation
COH             189297690012                Gas           Gov. Aggregation   COH             171068790016                Gas           Gov. Aggregation
COH             171988150010                Gas           Gov. Aggregation   COH             139659960044                Gas           Gov. Aggregation
COH             176548940011                Gas           Gov. Aggregation   COH             155321550018                Gas           Gov. Aggregation
COH             189533430014                Gas           Gov. Aggregation   COH             173775320013                Gas           Gov. Aggregation
COH             172194460044                Gas           Gov. Aggregation   COH             161999970044                Gas           Gov. Aggregation
COH             172765170026                Gas           Gov. Aggregation   COH             160251340023                Gas           Gov. Aggregation
COH             189497780019                Gas           Gov. Aggregation   COH             141908060013                Gas           Gov. Aggregation
COH             172028440030                Gas           Gov. Aggregation   COH             123853890036                Gas           Gov. Aggregation
COH             189986960023                Gas           Gov. Aggregation   COH             125299270021                Gas           Gov. Aggregation
COH             172888560015                Gas           Gov. Aggregation   COH             129932110035                Gas           Gov. Aggregation
COH             189833530017                Gas           Gov. Aggregation   COH             124437840019                Gas           Gov. Aggregation
COH             185080860019                Gas           Gov. Aggregation   COH             165704260024                Gas           Gov. Aggregation
COH             173040450013                Gas           Gov. Aggregation   COH             127352420032                Gas           Gov. Aggregation
COH             190045870032                Gas           Gov. Aggregation   COH             147398990033                Gas           Gov. Aggregation
COH             174238080039                Gas           Gov. Aggregation   COH             124682140026                Gas           Gov. Aggregation
COH             174291900034                Gas           Gov. Aggregation   COH             124449340019                Gas           Gov. Aggregation
COH             190330230013                Gas           Gov. Aggregation   COH             138352190074                Gas           Gov. Aggregation
COH             174509280014                Gas           Gov. Aggregation   COH             165128410024                Gas           Gov. Aggregation
COH             190768320017                Gas           Gov. Aggregation   COH             195054410016                Gas           Gov. Aggregation
COH             190459840013                Gas           Gov. Aggregation   COH             190387090023                Gas           Gov. Aggregation
COH             190917170012                Gas           Gov. Aggregation   COH             171253960017                Gas           Gov. Aggregation
COH             190825640018                Gas           Gov. Aggregation   COH             150616080017                Gas           Gov. Aggregation
COH             185621320032                Gas           Gov. Aggregation   COH             170293900016                Gas           Gov. Aggregation
COH             186424000027                Gas           Gov. Aggregation   COH             185284030011                Gas           Gov. Aggregation
COH             188160930011                Gas           Gov. Aggregation   COH             174198510016                Gas           Gov. Aggregation
COH             175795330017                Gas           Gov. Aggregation   COH             190688130017                Gas           Gov. Aggregation
COH             175767670015                Gas           Gov. Aggregation   COH             192314560025                Gas           Gov. Aggregation
COH             191161220013                Gas           Gov. Aggregation   COH             168110220019                Gas           Gov. Aggregation
COH             176061680018                Gas           Gov. Aggregation   COH             194269590015                Gas           Gov. Aggregation
COH             189120130012                Gas           Gov. Aggregation   COH             117996510022                Gas           Gov. Aggregation
COH             189754400012                Gas           Gov. Aggregation   COH             142538100054                Gas           Gov. Aggregation
COH             177647370010                Gas           Gov. Aggregation   COH             142538100063                Gas           Gov. Aggregation
COH             191739260010                Gas           Gov. Aggregation   COH             192701980017                Gas           Gov. Aggregation
COH             191597310011                Gas           Gov. Aggregation   COH             194147550039                Gas           Gov. Aggregation
COH             191718610010                Gas           Gov. Aggregation   COH             124768360135                Gas           Gov. Aggregation
COH             191762360010                Gas           Gov. Aggregation   COH             137566900027                Gas           Gov. Aggregation
COH             191871670014                Gas           Gov. Aggregation   COH             186936080017                Gas           Gov. Aggregation
COH             185672250012                Gas           Gov. Aggregation   COH             146155900045                Gas           Gov. Aggregation
COH             192020770015                Gas           Gov. Aggregation   COH             193259670010                Gas           Gov. Aggregation
COH             192047740015                Gas           Gov. Aggregation   COH             147093840030                Gas           Gov. Aggregation
COH             191926600011                Gas           Gov. Aggregation   COH             148889040021                Gas           Gov. Aggregation
COH             185512840016                Gas           Gov. Aggregation   COH             172401320015                Gas           Gov. Aggregation
COH             190357770023                Gas           Gov. Aggregation   COH             190943530020                Gas           Gov. Aggregation
COH             190466560017                Gas           Gov. Aggregation   COH             193675170022                Gas           Gov. Aggregation
COH             185847800015                Gas           Gov. Aggregation   COH             140111020020                Gas           Gov. Aggregation
COH             191977430010                Gas           Gov. Aggregation   COH             145845240024                Gas           Gov. Aggregation
COH             185565940014                Gas           Gov. Aggregation   COH             146977740038                Gas           Gov. Aggregation
COH             185855920013                Gas           Gov. Aggregation   COH             147235870032                Gas           Gov. Aggregation
COH             190275130012                Gas           Gov. Aggregation   COH             149900820039                Gas           Gov. Aggregation
COH             190605170013                Gas           Gov. Aggregation   COH             150063300022                Gas           Gov. Aggregation
COH             186344740013                Gas           Gov. Aggregation   COH             154622450021                Gas           Gov. Aggregation
COH             186195190016                Gas           Gov. Aggregation   COH             155296500022                Gas           Gov. Aggregation
COH             192360590013                Gas           Gov. Aggregation   COH             162937610011                Gas           Gov. Aggregation
COH             191605470215                Gas           Gov. Aggregation   COH             166304870023                Gas           Gov. Aggregation
COH             186533150016                Gas           Gov. Aggregation   COH             167160000039                Gas           Gov. Aggregation
COH             192720540019                Gas           Gov. Aggregation   COH             167303290017                Gas           Gov. Aggregation
COH             192683970019                Gas           Gov. Aggregation   COH             167806480011                Gas           Gov. Aggregation
COH             192727240018                Gas           Gov. Aggregation   COH             167879990011                Gas           Gov. Aggregation
COH             192727260014                Gas           Gov. Aggregation   COH             136526050021                Gas           Gov. Aggregation
COH             187769030011                Gas           Gov. Aggregation   COH             144139700025                Gas           Gov. Aggregation
COH             192468950019                Gas           Gov. Aggregation   COH             144737860033                Gas           Gov. Aggregation
COH             192469340015                Gas           Gov. Aggregation   COH             151430470027                Gas           Gov. Aggregation
COH             192557020015                Gas           Gov. Aggregation   COH             155145030011                Gas           Gov. Aggregation
COH             191204140018                Gas           Gov. Aggregation   COH             158537680011                Gas           Gov. Aggregation
COH             191814650018                Gas           Gov. Aggregation   COH             158541170019                Gas           Gov. Aggregation
COH             192634580014                Gas           Gov. Aggregation   COH             158584990017                Gas           Gov. Aggregation
COH             192735760012                Gas           Gov. Aggregation   COH             167515030012                Gas           Gov. Aggregation
COH             192671130010                Gas           Gov. Aggregation   COH             162430740036                Gas           Gov. Aggregation
COH             187287830042                Gas           Gov. Aggregation   COH             164368070038                Gas           Gov. Aggregation
COH             192290670015                Gas           Gov. Aggregation   COH             171386990010                Gas           Gov. Aggregation
COH             192496680017                Gas           Gov. Aggregation   COH             124375530025                Gas           Gov. Aggregation
COH             192812220011                Gas           Gov. Aggregation   COH             124503260029                Gas           Gov. Aggregation
COH             192885100013                Gas           Gov. Aggregation   COH             124761350033                Gas           Gov. Aggregation
COH             192349980015                Gas           Gov. Aggregation   COH             125193450036                Gas           Gov. Aggregation
COH             187962880013                Gas           Gov. Aggregation   COH             195266880019                Gas           Gov. Aggregation
COH             188164410012                Gas           Gov. Aggregation   COH             124360290027                Gas           Gov. Aggregation
COH             193079050012                Gas           Gov. Aggregation   COH             151047470011                Gas           Gov. Aggregation
COH             193069740018                Gas           Gov. Aggregation   COH             154535810011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             193230630018                Gas           Gov. Aggregation   COH             154892410028                Gas           Gov. Aggregation
COH             193126660013                Gas           Gov. Aggregation   COH             154944390031                Gas           Gov. Aggregation
COH             188865510024                Gas           Gov. Aggregation   COH             158721420032                Gas           Gov. Aggregation
COH             193296220016                Gas           Gov. Aggregation   COH             165632030016                Gas           Gov. Aggregation
COH             189153770019                Gas           Gov. Aggregation   COH             166732450015                Gas           Gov. Aggregation
COH             193183490019                Gas           Gov. Aggregation   COH             167926940029                Gas           Gov. Aggregation
COH             189475030012                Gas           Gov. Aggregation   COH             168895740018                Gas           Gov. Aggregation
COH             189576920011                Gas           Gov. Aggregation   COH             169068750027                Gas           Gov. Aggregation
COH             193412420016                Gas           Gov. Aggregation   COH             170210310014                Gas           Gov. Aggregation
COH             193954680014                Gas           Gov. Aggregation   COH             171842380038                Gas           Gov. Aggregation
COH             193366900023                Gas           Gov. Aggregation   COH             186862310015                Gas           Gov. Aggregation
COH             193324580010                Gas           Gov. Aggregation   COH             190559910025                Gas           Gov. Aggregation
COH             193402580014                Gas           Gov. Aggregation   COH             190673290015                Gas           Gov. Aggregation
COH             193467450015                Gas           Gov. Aggregation   COH             190696750029                Gas           Gov. Aggregation
COH             193923770010                Gas           Gov. Aggregation   COH             194722540013                Gas           Gov. Aggregation
COH             193623130010                Gas           Gov. Aggregation   COH             194757910012                Gas           Gov. Aggregation
COH             190132700014                Gas           Gov. Aggregation   COH             195040380012                Gas           Gov. Aggregation
COH             190114010017                Gas           Gov. Aggregation   COH             124327870025                Gas           Gov. Aggregation
COH             190344790017                Gas           Gov. Aggregation   COH             124352230026                Gas           Gov. Aggregation
COH             190413090017                Gas           Gov. Aggregation   COH             138760160020                Gas           Gov. Aggregation
COH             193669570012                Gas           Gov. Aggregation   COH             138934750036                Gas           Gov. Aggregation
COH             193755030012                Gas           Gov. Aggregation   COH             148073630026                Gas           Gov. Aggregation
COH             194142320019                Gas           Gov. Aggregation   COH             154323990013                Gas           Gov. Aggregation
COH             190276570018                Gas           Gov. Aggregation   COH             159259850014                Gas           Gov. Aggregation
COH             193674290010                Gas           Gov. Aggregation   COH             160619270037                Gas           Gov. Aggregation
COH             190576430011                Gas           Gov. Aggregation   COH             162817370025                Gas           Gov. Aggregation
COH             190887990015                Gas           Gov. Aggregation   COH             176798230011                Gas           Gov. Aggregation
COH             193955110011                Gas           Gov. Aggregation   COH             124395260011                Gas           Gov. Aggregation
COH             193874090018                Gas           Gov. Aggregation   COH             144066940039                Gas           Gov. Aggregation
COH             191317830014                Gas           Gov. Aggregation   COH             149845650060                Gas           Gov. Aggregation
COH             191328290015                Gas           Gov. Aggregation   COH             155080700027                Gas           Gov. Aggregation
COH             191473860018                Gas           Gov. Aggregation   COH             155080740029                Gas           Gov. Aggregation
COH             194030850015                Gas           Gov. Aggregation   COH             158911110016                Gas           Gov. Aggregation
COH             194011800015                Gas           Gov. Aggregation   COH             168779410013                Gas           Gov. Aggregation
COH             194058160012                Gas           Gov. Aggregation   COH             186302580033                Gas           Gov. Aggregation
COH             192036830028                Gas           Gov. Aggregation   COH             186352130014                Gas           Gov. Aggregation
COH             191916080012                Gas           Gov. Aggregation   COH             190454590016                Gas           Gov. Aggregation
COH             194239910010                Gas           Gov. Aggregation   COH             194542810018                Gas           Gov. Aggregation
COH             192642110015                Gas           Gov. Aggregation   COH             195450300019                Gas           Gov. Aggregation
COH             192916450013                Gas           Gov. Aggregation   COH             125679140022                Gas           Gov. Aggregation
COH             192568020012                Gas           Gov. Aggregation   COH             125694430029                Gas           Gov. Aggregation
COH             111325670017                Gas           Gov. Aggregation   COH             124054440024                Gas           Gov. Aggregation
COH             111388830011                Gas           Gov. Aggregation   COH             124333420026                Gas           Gov. Aggregation
COH             111212700019                Gas           Gov. Aggregation   COH             124333490022                Gas           Gov. Aggregation
COH             111330920013                Gas           Gov. Aggregation   COH             124363180033                Gas           Gov. Aggregation
COH             111331490012                Gas           Gov. Aggregation   COH             124366360020                Gas           Gov. Aggregation
COH             111331620014                Gas           Gov. Aggregation   COH             124411820035                Gas           Gov. Aggregation
COH             111399180024                Gas           Gov. Aggregation   COH             124491770038                Gas           Gov. Aggregation
COH             111325010015                Gas           Gov. Aggregation   COH             133454290036                Gas           Gov. Aggregation
COH             111326580014                Gas           Gov. Aggregation   COH             134129070049                Gas           Gov. Aggregation
COH             111339120013                Gas           Gov. Aggregation   COH             134697350029                Gas           Gov. Aggregation
COH             193398430016                Gas           Gov. Aggregation   COH             135261290024                Gas           Gov. Aggregation
COH             193262330014                Gas           Gov. Aggregation   COH             135652010032                Gas           Gov. Aggregation
COH             193429510012                Gas           Gov. Aggregation   COH             141178120046                Gas           Gov. Aggregation
COH             193567380018                Gas           Gov. Aggregation   COH             141901390027                Gas           Gov. Aggregation
COH             193702310014                Gas           Gov. Aggregation   COH             142218530025                Gas           Gov. Aggregation
COH             194094580018                Gas           Gov. Aggregation   COH             142738270037                Gas           Gov. Aggregation
COH             194122860018                Gas           Gov. Aggregation   COH             143030860023                Gas           Gov. Aggregation
COH             194201130013                Gas           Gov. Aggregation   COH             143688270015                Gas           Gov. Aggregation
COH             193979700017                Gas           Gov. Aggregation   COH             149258530024                Gas           Gov. Aggregation
COH             130422520037                Gas           Gov. Aggregation   COH             149906720038                Gas           Gov. Aggregation
COH             130196630017                Gas           Gov. Aggregation   COH             150470210046                Gas           Gov. Aggregation
COH             143166010015                Gas           Gov. Aggregation   COH             151334160035                Gas           Gov. Aggregation
COH             135722990010                Gas           Gov. Aggregation   COH             152173000048                Gas           Gov. Aggregation
COH             139794260018                Gas           Gov. Aggregation   COH             154917270024                Gas           Gov. Aggregation
COH             146802600018                Gas           Gov. Aggregation   COH             155149250026                Gas           Gov. Aggregation
COH             146874780029                Gas           Gov. Aggregation   COH             155410770022                Gas           Gov. Aggregation
COH             138487490012                Gas           Gov. Aggregation   COH             155974120024                Gas           Gov. Aggregation
COH             138943290016                Gas           Gov. Aggregation   COH             156232350018                Gas           Gov. Aggregation
COH             142028090012                Gas           Gov. Aggregation   COH             158428180026                Gas           Gov. Aggregation
COH             147464440064                Gas           Gov. Aggregation   COH             158882180024                Gas           Gov. Aggregation
COH             140837400022                Gas           Gov. Aggregation   COH             158940400014                Gas           Gov. Aggregation
COH             140917100016                Gas           Gov. Aggregation   COH             158957300010                Gas           Gov. Aggregation
COH             144891700012                Gas           Gov. Aggregation   COH             159033280012                Gas           Gov. Aggregation
COH             161245970032                Gas           Gov. Aggregation   COH             159752430043                Gas           Gov. Aggregation
COH             153844480026                Gas           Gov. Aggregation   COH             161597300019                Gas           Gov. Aggregation
COH             158667100017                Gas           Gov. Aggregation   COH             162436950012                Gas           Gov. Aggregation
COH             166551340049                Gas           Gov. Aggregation   COH             162630030031                Gas           Gov. Aggregation
COH             166265230012                Gas           Gov. Aggregation   COH             164077040013                Gas           Gov. Aggregation
COH             173626120010                Gas           Gov. Aggregation   COH             164180030016                Gas           Gov. Aggregation
COH             171518350022                Gas           Gov. Aggregation   COH             164391870013                Gas           Gov. Aggregation
COH             166323960033                Gas           Gov. Aggregation   COH             164714020015                Gas           Gov. Aggregation
COH             166696210013                Gas           Gov. Aggregation   COH             164752620019                Gas           Gov. Aggregation
COH             173816610014                Gas           Gov. Aggregation   COH             164842240018                Gas           Gov. Aggregation
COH             187094880014                Gas           Gov. Aggregation   COH             164934490011                Gas           Gov. Aggregation
COH             175836030012                Gas           Gov. Aggregation   COH             165985710016                Gas           Gov. Aggregation
COH             187407690019                Gas           Gov. Aggregation   COH             166178860015                Gas           Gov. Aggregation
COH             191775160015                Gas           Gov. Aggregation   COH             166244850016                Gas           Gov. Aggregation
COH             193594170015                Gas           Gov. Aggregation   COH             166386730020                Gas           Gov. Aggregation
COH             110365030036                Gas           Gov. Aggregation   COH             166424510015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             194011650026                Gas           Gov. Aggregation   COH             166661280012                Gas           Gov. Aggregation
COH             110460380013                Gas           Gov. Aggregation   COH             168251230019                Gas           Gov. Aggregation
COH             148735500029                Gas           Gov. Aggregation   COH             168251240017                Gas           Gov. Aggregation
COH             159150750015                Gas           Gov. Aggregation   COH             168265750011                Gas           Gov. Aggregation
COH             124433820011                Gas           Gov. Aggregation   COH             168349380011                Gas           Gov. Aggregation
COH             118075960038                Gas           Gov. Aggregation   COH             168390140014                Gas           Gov. Aggregation
COH             185798460012                Gas           Gov. Aggregation   COH             168641400016                Gas           Gov. Aggregation
COH             126979340014                Gas           Gov. Aggregation   COH             169982370010                Gas           Gov. Aggregation
COH             130704600032                Gas           Gov. Aggregation   COH             170259200015                Gas           Gov. Aggregation
COH             111097410025                Gas           Gov. Aggregation   COH             170408600023                Gas           Gov. Aggregation
COH             111097660014                Gas           Gov. Aggregation   COH             170821990026                Gas           Gov. Aggregation
COH             111097800014                Gas           Gov. Aggregation   COH             170967870023                Gas           Gov. Aggregation
COH             172747530019                Gas           Gov. Aggregation   COH             171043840026                Gas           Gov. Aggregation
COH             108702030025                Gas           Gov. Aggregation   COH             171509980038                Gas           Gov. Aggregation
COH             148882180017                Gas           Gov. Aggregation   COH             172892250011                Gas           Gov. Aggregation
COH             170361600032                Gas           Gov. Aggregation   COH             173409540012                Gas           Gov. Aggregation
COH             127393530024                Gas           Gov. Aggregation   COH             173797010012                Gas           Gov. Aggregation
COH             174909640010                Gas           Gov. Aggregation   COH             173828470019                Gas           Gov. Aggregation
COH             169696570015                Gas           Gov. Aggregation   COH             174316140012                Gas           Gov. Aggregation
COH             146652600017                Gas           Gov. Aggregation   COH             174759470024                Gas           Gov. Aggregation
COH             117939710020                Gas           Gov. Aggregation   COH             174802850021                Gas           Gov. Aggregation
COH             136666630023                Gas           Gov. Aggregation   COH             174865760028                Gas           Gov. Aggregation
COH             177613290018                Gas           Gov. Aggregation   COH             174932800026                Gas           Gov. Aggregation
COH             138334880013                Gas           Gov. Aggregation   COH             174932900016                Gas           Gov. Aggregation
COH             145492000041                Gas           Gov. Aggregation   COH             124676680026                Gas           Gov. Aggregation
COH             156922280029                Gas           Gov. Aggregation   COH             124698100030                Gas           Gov. Aggregation
COH             149453820029                Gas           Gov. Aggregation   COH             124708380039                Gas           Gov. Aggregation
COH             152933430028                Gas           Gov. Aggregation   COH             124744990026                Gas           Gov. Aggregation
COH             131611520035                Gas           Gov. Aggregation   COH             124378470013                Gas           Gov. Aggregation
COH             111216320011                Gas           Gov. Aggregation   COH             124378870028                Gas           Gov. Aggregation
COH             190597000017                Gas           Gov. Aggregation   COH             124378950012                Gas           Gov. Aggregation
COH             145792720035                Gas           Gov. Aggregation   COH             124379020015                Gas           Gov. Aggregation
COH             140627040014                Gas           Gov. Aggregation   COH             124410880017                Gas           Gov. Aggregation
COH             124231610013                Gas           Gov. Aggregation   COH             124491930034                Gas           Gov. Aggregation
COH             164055110014                Gas           Gov. Aggregation   COH             124515070042                Gas           Gov. Aggregation
COH             191265560012                Gas           Gov. Aggregation   COH             124516370010                Gas           Gov. Aggregation
COH             191605470019                Gas           Gov. Aggregation   COH             124516430026                Gas           Gov. Aggregation
COH             133709690013                Gas           Gov. Aggregation   COH             124527260029                Gas           Gov. Aggregation
COH             191454890012                Gas           Gov. Aggregation   COH             126897620037                Gas           Gov. Aggregation
COH             150725660078                Gas           Gov. Aggregation   COH             127064160010                Gas           Gov. Aggregation
COH             124034810028                Gas           Gov. Aggregation   COH             128686330024                Gas           Gov. Aggregation
COH             161984160027                Gas           Gov. Aggregation   COH             128966410014                Gas           Gov. Aggregation
COH             193748940016                Gas           Gov. Aggregation   COH             132621060012                Gas           Gov. Aggregation
COH             175789770045                Gas           Gov. Aggregation   COH             133056800032                Gas           Gov. Aggregation
COH             123649930021                Gas           Gov. Aggregation   COH             133108120025                Gas           Gov. Aggregation
COH             169675920015                Gas           Gov. Aggregation   COH             133222270022                Gas           Gov. Aggregation
COH             173929830019                Gas           Gov. Aggregation   COH             133249420015                Gas           Gov. Aggregation
COH             119356940044                Gas           Gov. Aggregation   COH             133691560019                Gas           Gov. Aggregation
COH             159441520365                Gas           Gov. Aggregation   COH             134416560010                Gas           Gov. Aggregation
COH             140878550016                Gas           Gov. Aggregation   COH             135622550023                Gas           Gov. Aggregation
COH             175748170047                Gas           Gov. Aggregation   COH             135981630017                Gas           Gov. Aggregation
COH             123704410022                Gas           Gov. Aggregation   COH             136224850023                Gas           Gov. Aggregation
COH             151723930010                Gas           Gov. Aggregation   COH             137303700016                Gas           Gov. Aggregation
COH             152130540027                Gas           Gov. Aggregation   COH             138127540022                Gas           Gov. Aggregation
COH             191030650010                Gas           Gov. Aggregation   COH             138314710038                Gas           Gov. Aggregation
COH             150848580011                Gas           Gov. Aggregation   COH             152385670021                Gas           Gov. Aggregation
COH             131008560036                Gas           Gov. Aggregation   COH             152393490013                Gas           Gov. Aggregation
COH             153871390055                Gas           Gov. Aggregation   COH             152462890012                Gas           Gov. Aggregation
COH             148043480101                Gas           Gov. Aggregation   COH             152578260028                Gas           Gov. Aggregation
COH             123668300032                Gas           Gov. Aggregation   COH             152627350015                Gas           Gov. Aggregation
COH             158121500037                Gas           Gov. Aggregation   COH             153283810017                Gas           Gov. Aggregation
COH             144092700016                Gas           Gov. Aggregation   COH             153283870015                Gas           Gov. Aggregation
COH             140131490020                Gas           Gov. Aggregation   COH             153331110020                Gas           Gov. Aggregation
COH             191970230016                Gas           Gov. Aggregation   COH             153478590011                Gas           Gov. Aggregation
COH             123755400018                Gas           Gov. Aggregation   COH             153560100027                Gas           Gov. Aggregation
COH             161963790010                Gas           Gov. Aggregation   COH             153560220013                Gas           Gov. Aggregation
COH             169042510021                Gas           Gov. Aggregation   COH             153625840015                Gas           Gov. Aggregation
VEDO            4016166842194412            Gas           Gov. Aggregation   COH             153658910011                Gas           Gov. Aggregation
VEDO            4016172822582771            Gas           Gov. Aggregation   COH             154064060018                Gas           Gov. Aggregation
VEDO            4016198072441642            Gas           Gov. Aggregation   COH             154066600029                Gas           Gov. Aggregation
VEDO            4016220052571106            Gas           Gov. Aggregation   COH             154086820012                Gas           Gov. Aggregation
VEDO            4016233092475956            Gas           Gov. Aggregation   COH             154125980015                Gas           Gov. Aggregation
VEDO            4016235282221566            Gas           Gov. Aggregation   COH             154206200025                Gas           Gov. Aggregation
VEDO            4002643972259304            Gas           Gov. Aggregation   COH             154239170023                Gas           Gov. Aggregation
VEDO            4002649262402581            Gas           Gov. Aggregation   COH             154253195355                Gas           Gov. Aggregation
VEDO            4002657052112897            Gas           Gov. Aggregation   COH             154287370011                Gas           Gov. Aggregation
VEDO            4002662342261098            Gas           Gov. Aggregation   COH             154304260016                Gas           Gov. Aggregation
VEDO            4002720752266940            Gas           Gov. Aggregation   COH             155509930029                Gas           Gov. Aggregation
VEDO            4002736422478271            Gas           Gov. Aggregation   COH             155542690011                Gas           Gov. Aggregation
VEDO            4002743912269263            Gas           Gov. Aggregation   COH             155664810044                Gas           Gov. Aggregation
VEDO            4002745542269442            Gas           Gov. Aggregation   COH             155826600026                Gas           Gov. Aggregation
VEDO            4002770422271916            Gas           Gov. Aggregation   COH             155846010019                Gas           Gov. Aggregation
VEDO            4016658942515311            Gas           Gov. Aggregation   COH             155854760015                Gas           Gov. Aggregation
VEDO            4016670622104537            Gas           Gov. Aggregation   COH             156331490019                Gas           Gov. Aggregation
VEDO            4016771162187343            Gas           Gov. Aggregation   COH             156422210014                Gas           Gov. Aggregation
VEDO            4016777172125619            Gas           Gov. Aggregation   COH             156571460017                Gas           Gov. Aggregation
VEDO            4004390412443292            Gas           Gov. Aggregation   COH             156616860017                Gas           Gov. Aggregation
VEDO            4004457822225341            Gas           Gov. Aggregation   COH             156707240041                Gas           Gov. Aggregation
VEDO            4004466692155542            Gas           Gov. Aggregation   COH             156733840013                Gas           Gov. Aggregation
VEDO            4004480482528190            Gas           Gov. Aggregation   COH             157177630016                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4004522922457933            Gas           Gov. Aggregation   COH             157576580011                Gas           Gov. Aggregation
VEDO         4004541852207251            Gas           Gov. Aggregation   COH             158492420039                Gas           Gov. Aggregation
VEDO         4018088892229957            Gas           Gov. Aggregation   COH             158634710027                Gas           Gov. Aggregation
VEDO         4018104632384820            Gas           Gov. Aggregation   COH             158726830018                Gas           Gov. Aggregation
VEDO         4018131512171757            Gas           Gov. Aggregation   COH             158737800011                Gas           Gov. Aggregation
VEDO         4018157172362588            Gas           Gov. Aggregation   COH             158775780016                Gas           Gov. Aggregation
VEDO         4018191572319782            Gas           Gov. Aggregation   COH             158796550038                Gas           Gov. Aggregation
VEDO         4015427822263518            Gas           Gov. Aggregation   COH             159373230012                Gas           Gov. Aggregation
VEDO         4015437682117015            Gas           Gov. Aggregation   COH             159448240011                Gas           Gov. Aggregation
VEDO         4015464622208158            Gas           Gov. Aggregation   COH             159607790036                Gas           Gov. Aggregation
VEDO         4015487632615354            Gas           Gov. Aggregation   COH             159806910010                Gas           Gov. Aggregation
VEDO         4015505462140234            Gas           Gov. Aggregation   COH             159825260017                Gas           Gov. Aggregation
VEDO         4015530622636473            Gas           Gov. Aggregation   COH             159896070018                Gas           Gov. Aggregation
VEDO         4015566552492802            Gas           Gov. Aggregation   COH             160444860025                Gas           Gov. Aggregation
VEDO         4015582952202243            Gas           Gov. Aggregation   COH             160454210020                Gas           Gov. Aggregation
VEDO         4015595422237887            Gas           Gov. Aggregation   COH             160504930013                Gas           Gov. Aggregation
VEDO         4002305322470780            Gas           Gov. Aggregation   COH             160664720019                Gas           Gov. Aggregation
VEDO         4002318732226894            Gas           Gov. Aggregation   COH             161100390021                Gas           Gov. Aggregation
VEDO         4002335682228563            Gas           Gov. Aggregation   COH             161689930012                Gas           Gov. Aggregation
VEDO         4001251832123700            Gas           Gov. Aggregation   COH             161831150013                Gas           Gov. Aggregation
VEDO         4001276232126018            Gas           Gov. Aggregation   COH             161887540023                Gas           Gov. Aggregation
VEDO         4002381982194550            Gas           Gov. Aggregation   COH             162011950012                Gas           Gov. Aggregation
VEDO         4002452832240157            Gas           Gov. Aggregation   COH             162022270012                Gas           Gov. Aggregation
VEDO         4002082042356471            Gas           Gov. Aggregation   COH             162064010018                Gas           Gov. Aggregation
VEDO         4002102112205414            Gas           Gov. Aggregation   COH             162070590014                Gas           Gov. Aggregation
VEDO         4002252722220372            Gas           Gov. Aggregation   COH             162195860013                Gas           Gov. Aggregation
VEDO         4002314262226451            Gas           Gov. Aggregation   COH             162660350013                Gas           Gov. Aggregation
VEDO         4002366642231628            Gas           Gov. Aggregation   COH             162732980018                Gas           Gov. Aggregation
VEDO         4002366642365455            Gas           Gov. Aggregation   COH             162739660020                Gas           Gov. Aggregation
VEDO         4002384432510240            Gas           Gov. Aggregation   COH             162753320012                Gas           Gov. Aggregation
VEDO         4002424572237336            Gas           Gov. Aggregation   COH             162822520022                Gas           Gov. Aggregation
VEDO         4002442382239115            Gas           Gov. Aggregation   COH             163991800016                Gas           Gov. Aggregation
VEDO         4002631042257996            Gas           Gov. Aggregation   COH             164067230014                Gas           Gov. Aggregation
VEDO         4002833162377143            Gas           Gov. Aggregation   COH             164121460010                Gas           Gov. Aggregation
VEDO         4002867722111160            Gas           Gov. Aggregation   COH             164639490017                Gas           Gov. Aggregation
VEDO         4002870662445336            Gas           Gov. Aggregation   COH             164662870027                Gas           Gov. Aggregation
VEDO         4002955232290719            Gas           Gov. Aggregation   COH             164674530023                Gas           Gov. Aggregation
VEDO         4003145652336457            Gas           Gov. Aggregation   COH             164716930010                Gas           Gov. Aggregation
VEDO         4003163052312155            Gas           Gov. Aggregation   COH             164764890018                Gas           Gov. Aggregation
VEDO         4003243162446109            Gas           Gov. Aggregation   COH             164775190012                Gas           Gov. Aggregation
VEDO         4003244802428317            Gas           Gov. Aggregation   COH             164794090013                Gas           Gov. Aggregation
VEDO         4003492072142774            Gas           Gov. Aggregation   COH             164800500011                Gas           Gov. Aggregation
VEDO         4003596592357437            Gas           Gov. Aggregation   COH             165209640015                Gas           Gov. Aggregation
VEDO         4004726972539571            Gas           Gov. Aggregation   COH             165234180028                Gas           Gov. Aggregation
VEDO         4004734712481247            Gas           Gov. Aggregation   COH             165250530020                Gas           Gov. Aggregation
VEDO         4004751982483151            Gas           Gov. Aggregation   COH             165345020017                Gas           Gov. Aggregation
VEDO         4004802302488674            Gas           Gov. Aggregation   COH             165377220018                Gas           Gov. Aggregation
VEDO         4004805132563592            Gas           Gov. Aggregation   COH             165542990016                Gas           Gov. Aggregation
VEDO         4004811412489670            Gas           Gov. Aggregation   COH             166325560015                Gas           Gov. Aggregation
VEDO         4004830012491745            Gas           Gov. Aggregation   COH             166475700027                Gas           Gov. Aggregation
VEDO         4004862762495412            Gas           Gov. Aggregation   COH             166512050015                Gas           Gov. Aggregation
VEDO         4017981282148263            Gas           Gov. Aggregation   COH             166543970017                Gas           Gov. Aggregation
VEDO         4017995772257437            Gas           Gov. Aggregation   COH             166698630011                Gas           Gov. Aggregation
VEDO         4018009642295420            Gas           Gov. Aggregation   COH             167540570016                Gas           Gov. Aggregation
VEDO         4018022662332991            Gas           Gov. Aggregation   COH             167613750013                Gas           Gov. Aggregation
VEDO         4018039912430070            Gas           Gov. Aggregation   COH             167616100013                Gas           Gov. Aggregation
VEDO         4018064952356790            Gas           Gov. Aggregation   COH             167668100014                Gas           Gov. Aggregation
VEDO         4018065572632140            Gas           Gov. Aggregation   COH             167678110020                Gas           Gov. Aggregation
VEDO         4018071652231528            Gas           Gov. Aggregation   COH             169057100026                Gas           Gov. Aggregation
VEDO         4018071882166772            Gas           Gov. Aggregation   COH             169082710016                Gas           Gov. Aggregation
VEDO         4018079822369942            Gas           Gov. Aggregation   COH             169164890015                Gas           Gov. Aggregation
VEDO         4017232112349328            Gas           Gov. Aggregation   COH             169214300011                Gas           Gov. Aggregation
VEDO         4017234962274546            Gas           Gov. Aggregation   COH             169222330018                Gas           Gov. Aggregation
VEDO         4017261192149182            Gas           Gov. Aggregation   COH             169350640021                Gas           Gov. Aggregation
VEDO         4017288852633932            Gas           Gov. Aggregation   COH             169702150018                Gas           Gov. Aggregation
VEDO         4017296262279515            Gas           Gov. Aggregation   COH             169715230014                Gas           Gov. Aggregation
VEDO         4017311082425503            Gas           Gov. Aggregation   COH             169730090012                Gas           Gov. Aggregation
VEDO         4017325122496706            Gas           Gov. Aggregation   COH             169808550029                Gas           Gov. Aggregation
VEDO         4001938932384322            Gas           Gov. Aggregation   COH             169831820023                Gas           Gov. Aggregation
VEDO         4001950552190542            Gas           Gov. Aggregation   COH             171311440012                Gas           Gov. Aggregation
VEDO         4001971312192561            Gas           Gov. Aggregation   COH             171401080017                Gas           Gov. Aggregation
VEDO         4001986132312138            Gas           Gov. Aggregation   COH             171519350011                Gas           Gov. Aggregation
VEDO         4002069732202276            Gas           Gov. Aggregation   COH             171605470013                Gas           Gov. Aggregation
VEDO         4018986502450183            Gas           Gov. Aggregation   COH             171686610013                Gas           Gov. Aggregation
VEDO         4018942552361426            Gas           Gov. Aggregation   COH             171743750030                Gas           Gov. Aggregation
VEDO         4018962142366622            Gas           Gov. Aggregation   COH             171856720019                Gas           Gov. Aggregation
VEDO         4001169792494639            Gas           Gov. Aggregation   COH             172148850012                Gas           Gov. Aggregation
VEDO         4018986382357894            Gas           Gov. Aggregation   COH             172259080019                Gas           Gov. Aggregation
VEDO         4018879282237009            Gas           Gov. Aggregation   COH             172345030016                Gas           Gov. Aggregation
VEDO         4018882172520888            Gas           Gov. Aggregation   COH             172480600038                Gas           Gov. Aggregation
VEDO         4018885822125407            Gas           Gov. Aggregation   COH             172493120014                Gas           Gov. Aggregation
VEDO         4018892012385147            Gas           Gov. Aggregation   COH             172520830016                Gas           Gov. Aggregation
VEDO         4018892332417300            Gas           Gov. Aggregation   COH             172535260015                Gas           Gov. Aggregation
VEDO         4018898832231049            Gas           Gov. Aggregation   COH             172882730011                Gas           Gov. Aggregation
VEDO         4018917852256046            Gas           Gov. Aggregation   COH             173055060014                Gas           Gov. Aggregation
VEDO         4005078662407310            Gas           Gov. Aggregation   COH             173087310023                Gas           Gov. Aggregation
VEDO         4005095912521546            Gas           Gov. Aggregation   COH             173187570018                Gas           Gov. Aggregation
VEDO         4005104602636487            Gas           Gov. Aggregation   COH             173253220010                Gas           Gov. Aggregation
VEDO         4005117062523922            Gas           Gov. Aggregation   COH             173588520018                Gas           Gov. Aggregation
VEDO         4005159612528811            Gas           Gov. Aggregation   COH             173819640049                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4010072692525349            Gas           Gov. Aggregation   COH             173896960013                Gas           Gov. Aggregation
VEDO         4010081392390322            Gas           Gov. Aggregation   COH             173909560027                Gas           Gov. Aggregation
VEDO         4010085182445625            Gas           Gov. Aggregation   COH             173931210014                Gas           Gov. Aggregation
VEDO         4010091422351616            Gas           Gov. Aggregation   COH             174434710012                Gas           Gov. Aggregation
VEDO         4010100442437347            Gas           Gov. Aggregation   COH             174455300014                Gas           Gov. Aggregation
VEDO         4018847902181131            Gas           Gov. Aggregation   COH             174462760013                Gas           Gov. Aggregation
VEDO         4018116462263941            Gas           Gov. Aggregation   COH             174524610012                Gas           Gov. Aggregation
VEDO         4018163412633561            Gas           Gov. Aggregation   COH             174563600012                Gas           Gov. Aggregation
VEDO         4018249002451203            Gas           Gov. Aggregation   COH             174647090012                Gas           Gov. Aggregation
VEDO         4018340422266059            Gas           Gov. Aggregation   COH             174690000019                Gas           Gov. Aggregation
VEDO         4018399622365891            Gas           Gov. Aggregation   COH             175176450023                Gas           Gov. Aggregation
VEDO         4018574112633879            Gas           Gov. Aggregation   COH             175178250012                Gas           Gov. Aggregation
VEDO         4018578612284309            Gas           Gov. Aggregation   COH             175228960016                Gas           Gov. Aggregation
VEDO         4018700212372120            Gas           Gov. Aggregation   COH             175308570018                Gas           Gov. Aggregation
VEDO         4018700212635223            Gas           Gov. Aggregation   COH             175335850012                Gas           Gov. Aggregation
VEDO         4018741942388604            Gas           Gov. Aggregation   COH             175455560028                Gas           Gov. Aggregation
VEDO         4018743712603044            Gas           Gov. Aggregation   COH             175477830016                Gas           Gov. Aggregation
VEDO         4018903832165813            Gas           Gov. Aggregation   COH             176012730010                Gas           Gov. Aggregation
VEDO         4018933282123974            Gas           Gov. Aggregation   COH             176025770024                Gas           Gov. Aggregation
VEDO         4018938902641904            Gas           Gov. Aggregation   COH             176132290064                Gas           Gov. Aggregation
VEDO         4016441852261654            Gas           Gov. Aggregation   COH             176337510018                Gas           Gov. Aggregation
VEDO         4016455842276915            Gas           Gov. Aggregation   COH             176420940011                Gas           Gov. Aggregation
VEDO         4016477082184818            Gas           Gov. Aggregation   COH             177782540018                Gas           Gov. Aggregation
VEDO         4016561042316691            Gas           Gov. Aggregation   COH             187179080012                Gas           Gov. Aggregation
VEDO         4016588382188941            Gas           Gov. Aggregation   COH             187183620019                Gas           Gov. Aggregation
VEDO         4016624802343010            Gas           Gov. Aggregation   COH             187195130017                Gas           Gov. Aggregation
VEDO         4016655352488384            Gas           Gov. Aggregation   COH             187209020019                Gas           Gov. Aggregation
VEDO         4015839982521805            Gas           Gov. Aggregation   COH             187288990010                Gas           Gov. Aggregation
VEDO         4015880662282765            Gas           Gov. Aggregation   COH             187573280023                Gas           Gov. Aggregation
VEDO         4015897372202322            Gas           Gov. Aggregation   COH             187601770010                Gas           Gov. Aggregation
VEDO         4015904892402010            Gas           Gov. Aggregation   COH             187617250016                Gas           Gov. Aggregation
VEDO         4015968772260969            Gas           Gov. Aggregation   COH             187666390014                Gas           Gov. Aggregation
VEDO         4016010352489319            Gas           Gov. Aggregation   COH             188140060016                Gas           Gov. Aggregation
VEDO         4017849532110276            Gas           Gov. Aggregation   COH             188227850016                Gas           Gov. Aggregation
VEDO         4017926292394316            Gas           Gov. Aggregation   COH             188246860014                Gas           Gov. Aggregation
VEDO         4017927102252544            Gas           Gov. Aggregation   COH             188250000015                Gas           Gov. Aggregation
VEDO         4017946512480449            Gas           Gov. Aggregation   COH             188267810010                Gas           Gov. Aggregation
VEDO         4018863472488439            Gas           Gov. Aggregation   COH             188288130019                Gas           Gov. Aggregation
VEDO         4018864932282396            Gas           Gov. Aggregation   COH             188622060023                Gas           Gov. Aggregation
VEDO         4001629762159339            Gas           Gov. Aggregation   COH             188636090019                Gas           Gov. Aggregation
VEDO         4001648312161128            Gas           Gov. Aggregation   COH             188666890018                Gas           Gov. Aggregation
VEDO         4001651132161387            Gas           Gov. Aggregation   COH             188773300014                Gas           Gov. Aggregation
VEDO         4001656492161903            Gas           Gov. Aggregation   COH             188862650021                Gas           Gov. Aggregation
VEDO         4001732422169038            Gas           Gov. Aggregation   COH             189692360013                Gas           Gov. Aggregation
VEDO         4001738252169608            Gas           Gov. Aggregation   COH             189741190014                Gas           Gov. Aggregation
VEDO         4001749372170682            Gas           Gov. Aggregation   COH             190285590015                Gas           Gov. Aggregation
VEDO         4018797182598995            Gas           Gov. Aggregation   COH             190303790013                Gas           Gov. Aggregation
VEDO         4018798812449577            Gas           Gov. Aggregation   COH             190335320014                Gas           Gov. Aggregation
VEDO         4018798942424151            Gas           Gov. Aggregation   COH             190779170016                Gas           Gov. Aggregation
VEDO         4018814282337921            Gas           Gov. Aggregation   COH             191083170010                Gas           Gov. Aggregation
VEDO         4003476652344840            Gas           Gov. Aggregation   COH             191094190013                Gas           Gov. Aggregation
VEDO         4003511302348387            Gas           Gov. Aggregation   COH             191239260010                Gas           Gov. Aggregation
VEDO         4003516462166903            Gas           Gov. Aggregation   COH             191239310019                Gas           Gov. Aggregation
VEDO         4003530892350445            Gas           Gov. Aggregation   COH             191579820012                Gas           Gov. Aggregation
VEDO         4003538922351275            Gas           Gov. Aggregation   COH             191598910013                Gas           Gov. Aggregation
VEDO         4003549232352379            Gas           Gov. Aggregation   COH             191606390014                Gas           Gov. Aggregation
VEDO         4003568352145093            Gas           Gov. Aggregation   COH             191694190011                Gas           Gov. Aggregation
VEDO         4003590642301696            Gas           Gov. Aggregation   COH             191863570012                Gas           Gov. Aggregation
VEDO         4017032142207670            Gas           Gov. Aggregation   COH             191875060014                Gas           Gov. Aggregation
VEDO         4017046402598452            Gas           Gov. Aggregation   COH             191894000016                Gas           Gov. Aggregation
VEDO         4017052652331402            Gas           Gov. Aggregation   COH             191952000012                Gas           Gov. Aggregation
VEDO         4003140452483405            Gas           Gov. Aggregation   COH             191973690014                Gas           Gov. Aggregation
VEDO         4003171482313004            Gas           Gov. Aggregation   COH             192022980017                Gas           Gov. Aggregation
VEDO         4003224902318464            Gas           Gov. Aggregation   COH             192163290014                Gas           Gov. Aggregation
VEDO         4003225752318555            Gas           Gov. Aggregation   COH             192208500013                Gas           Gov. Aggregation
VEDO         4003241382635200            Gas           Gov. Aggregation   COH             192238070011                Gas           Gov. Aggregation
VEDO         4003250922321187            Gas           Gov. Aggregation   COH             192275030011                Gas           Gov. Aggregation
VEDO         4003830482382338            Gas           Gov. Aggregation   COH             192334720010                Gas           Gov. Aggregation
VEDO         4003832192382543            Gas           Gov. Aggregation   COH             192551130014                Gas           Gov. Aggregation
VEDO         4003842362383672            Gas           Gov. Aggregation   COH             192568720015                Gas           Gov. Aggregation
VEDO         4003850212603014            Gas           Gov. Aggregation   COH             192574390012                Gas           Gov. Aggregation
VEDO         4003851182380077            Gas           Gov. Aggregation   COH             192823570015                Gas           Gov. Aggregation
VEDO         4003866182445555            Gas           Gov. Aggregation   COH             192869530017                Gas           Gov. Aggregation
VEDO         4003866452386300            Gas           Gov. Aggregation   COH             192875600019                Gas           Gov. Aggregation
VEDO         4003877422387440            Gas           Gov. Aggregation   COH             192877520012                Gas           Gov. Aggregation
VEDO         4003886592388421            Gas           Gov. Aggregation   COH             192882130013                Gas           Gov. Aggregation
VEDO         4003944302394694            Gas           Gov. Aggregation   COH             192914140012                Gas           Gov. Aggregation
VEDO         4003951832395494            Gas           Gov. Aggregation   COH             193115930019                Gas           Gov. Aggregation
VEDO         4003959162396259            Gas           Gov. Aggregation   COH             193270630014                Gas           Gov. Aggregation
VEDO         4003960062133025            Gas           Gov. Aggregation   COH             193276770013                Gas           Gov. Aggregation
VEDO         4003989512475509            Gas           Gov. Aggregation   COH             193318160011                Gas           Gov. Aggregation
VEDO         4017110282558817            Gas           Gov. Aggregation   COH             193517130015                Gas           Gov. Aggregation
VEDO         4017125812209602            Gas           Gov. Aggregation   COH             193518290010                Gas           Gov. Aggregation
VEDO         4017134212558339            Gas           Gov. Aggregation   COH             193523790014                Gas           Gov. Aggregation
VEDO         4017138512624940            Gas           Gov. Aggregation   COH             193546130014                Gas           Gov. Aggregation
VEDO         4015250502377556            Gas           Gov. Aggregation   COH             193585010017                Gas           Gov. Aggregation
VEDO         4015346332553004            Gas           Gov. Aggregation   COH             193585200017                Gas           Gov. Aggregation
VEDO         4015356062116120            Gas           Gov. Aggregation   COH             193855690012                Gas           Gov. Aggregation
VEDO         4015369252196237            Gas           Gov. Aggregation   COH             194074460015                Gas           Gov. Aggregation
VEDO         4015375692269474            Gas           Gov. Aggregation   COH             194094400015                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4015388862441057            Gas           Gov. Aggregation   COH             194110200011                Gas           Gov. Aggregation
VEDO         4002793612397415            Gas           Gov. Aggregation   COH             194292020015                Gas           Gov. Aggregation
VEDO         4002806842248020            Gas           Gov. Aggregation   COH             194396420011                Gas           Gov. Aggregation
VEDO         4002840622248639            Gas           Gov. Aggregation   COH             194737550010                Gas           Gov. Aggregation
VEDO         4002844162152729            Gas           Gov. Aggregation   COH             194748020018                Gas           Gov. Aggregation
VEDO         4002853462280378            Gas           Gov. Aggregation   COH             194757810013                Gas           Gov. Aggregation
VEDO         4002893802537795            Gas           Gov. Aggregation   COH             194902560017                Gas           Gov. Aggregation
VEDO         4002916682286663            Gas           Gov. Aggregation   COH             194916630013                Gas           Gov. Aggregation
VEDO         4004229362302308            Gas           Gov. Aggregation   COH             194925590013                Gas           Gov. Aggregation
VEDO         4004243852427273            Gas           Gov. Aggregation   COH             194954550010                Gas           Gov. Aggregation
VEDO         4004249792427907            Gas           Gov. Aggregation   COH             195055990013                Gas           Gov. Aggregation
VEDO         4004269092429985            Gas           Gov. Aggregation   COH             195095030010                Gas           Gov. Aggregation
VEDO         4004270062430083            Gas           Gov. Aggregation   COH             195111270014                Gas           Gov. Aggregation
VEDO         4004302672433693            Gas           Gov. Aggregation   COH             195237620014                Gas           Gov. Aggregation
VEDO         4004315892473608            Gas           Gov. Aggregation   COH             195245540014                Gas           Gov. Aggregation
VEDO         4004317372435278            Gas           Gov. Aggregation   COH             195259940011                Gas           Gov. Aggregation
VEDO         4004320492395181            Gas           Gov. Aggregation   COH             195260610017                Gas           Gov. Aggregation
VEDO         4004329292436601            Gas           Gov. Aggregation   COH             195319590017                Gas           Gov. Aggregation
VEDO         4004331872257284            Gas           Gov. Aggregation   COH             195380040013                Gas           Gov. Aggregation
VEDO         4004338262437567            Gas           Gov. Aggregation   COH             124329410018                Gas           Gov. Aggregation
VEDO         4004370072441116            Gas           Gov. Aggregation   COH             125675780026                Gas           Gov. Aggregation
VEDO         4001281002126404            Gas           Gov. Aggregation   COH             125679640018                Gas           Gov. Aggregation
VEDO         4001285232330407            Gas           Gov. Aggregation   COH             125682430024                Gas           Gov. Aggregation
VEDO         4001285382126803            Gas           Gov. Aggregation   COH             125684760012                Gas           Gov. Aggregation
VEDO         4001286052126871            Gas           Gov. Aggregation   COH             125684770010                Gas           Gov. Aggregation
VEDO         4001321702130246            Gas           Gov. Aggregation   COH             132199880026                Gas           Gov. Aggregation
VEDO         4001321792130255            Gas           Gov. Aggregation   COH             132606240043                Gas           Gov. Aggregation
VEDO         4001322032130282            Gas           Gov. Aggregation   COH             133721460024                Gas           Gov. Aggregation
VEDO         4001360592133827            Gas           Gov. Aggregation   COH             134211680019                Gas           Gov. Aggregation
VEDO         4001361512133927            Gas           Gov. Aggregation   COH             135303010013                Gas           Gov. Aggregation
VEDO         4003735982372244            Gas           Gov. Aggregation   COH             139158390028                Gas           Gov. Aggregation
VEDO         4003740502507105            Gas           Gov. Aggregation   COH             141019090012                Gas           Gov. Aggregation
VEDO         4003871212386811            Gas           Gov. Aggregation   COH             141868890015                Gas           Gov. Aggregation
VEDO         4004006362401312            Gas           Gov. Aggregation   COH             142708600021                Gas           Gov. Aggregation
VEDO         4004152732624495            Gas           Gov. Aggregation   COH             158957270017                Gas           Gov. Aggregation
VEDO         4004365132530310            Gas           Gov. Aggregation   COH             161915110068                Gas           Gov. Aggregation
VEDO         4004419972446566            Gas           Gov. Aggregation   COH             162239540025                Gas           Gov. Aggregation
VEDO         4004503622455767            Gas           Gov. Aggregation   COH             177790480014                Gas           Gov. Aggregation
VEDO         4015589802279556            Gas           Gov. Aggregation   COH             185104030011                Gas           Gov. Aggregation
VEDO         4001400392137569            Gas           Gov. Aggregation   COH             185869930012                Gas           Gov. Aggregation
VEDO         4017666832591209            Gas           Gov. Aggregation   COH             187782830015                Gas           Gov. Aggregation
VEDO         4017730972150568            Gas           Gov. Aggregation   COH             190833830011                Gas           Gov. Aggregation
VEDO         4017746632210684            Gas           Gov. Aggregation   COH             195101850013                Gas           Gov. Aggregation
VEDO         4017758162403667            Gas           Gov. Aggregation   COH             195274420018                Gas           Gov. Aggregation
VEDO         4017760742297757            Gas           Gov. Aggregation   COH             195497190015                Gas           Gov. Aggregation
VEDO         4017776182251852            Gas           Gov. Aggregation   COH             124418960014                Gas           Gov. Aggregation
VEDO         4002459512240817            Gas           Gov. Aggregation   COH             158016050044                Gas           Gov. Aggregation
VEDO         4002472692242139            Gas           Gov. Aggregation   COH             160322860014                Gas           Gov. Aggregation
VEDO         4002484012318222            Gas           Gov. Aggregation   COH             174711740018                Gas           Gov. Aggregation
VEDO         4002487572243666            Gas           Gov. Aggregation   COH             175102450019                Gas           Gov. Aggregation
VEDO         4002502922215603            Gas           Gov. Aggregation   COH             123115290018                Gas           Gov. Aggregation
VEDO         4002529942247920            Gas           Gov. Aggregation   COH             124331250017                Gas           Gov. Aggregation
VEDO         4002585342253511            Gas           Gov. Aggregation   COH             138380140011                Gas           Gov. Aggregation
VEDO         4002585432253521            Gas           Gov. Aggregation   COH             146708380015                Gas           Gov. Aggregation
VEDO         4002602462466179            Gas           Gov. Aggregation   COH             152312660026                Gas           Gov. Aggregation
VEDO         4002604412586556            Gas           Gov. Aggregation   COH             193093700015                Gas           Gov. Aggregation
VEDO         4018741722169586            Gas           Gov. Aggregation   COH             193373500022                Gas           Gov. Aggregation
VEDO         4018741832639939            Gas           Gov. Aggregation   COH             187773300015                Gas           Gov. Aggregation
VEDO         4018745902269590            Gas           Gov. Aggregation   COH             169051560013                Gas           Gov. Aggregation
VEDO         4018749132297924            Gas           Gov. Aggregation   COH             195256160011                Gas           Gov. Aggregation
VEDO         4018754472137479            Gas           Gov. Aggregation   COH             192798550014                Gas           Gov. Aggregation
VEDO         4018754902468343            Gas           Gov. Aggregation   COH             149529340010                Gas           Gov. Aggregation
VEDO         4004570082463135            Gas           Gov. Aggregation   COH             150264580037                Gas           Gov. Aggregation
VEDO         4004577112463919            Gas           Gov. Aggregation   COH             174699130014                Gas           Gov. Aggregation
VEDO         4004592652486389            Gas           Gov. Aggregation   COH             152783350033                Gas           Gov. Aggregation
VEDO         4004599342542765            Gas           Gov. Aggregation   COH             124494230017                Gas           Gov. Aggregation
VEDO         4004626642625641            Gas           Gov. Aggregation   COH             134589190022                Gas           Gov. Aggregation
VEDO         4004687812400306            Gas           Gov. Aggregation   COH             125550760024                Gas           Gov. Aggregation
VEDO         4004691662476617            Gas           Gov. Aggregation   COH             141285890011                Gas           Gov. Aggregation
VEDO         4016282532505561            Gas           Gov. Aggregation   COH             124463810029                Gas           Gov. Aggregation
VEDO         4016293912103353            Gas           Gov. Aggregation   COH             123106960025                Gas           Gov. Aggregation
VEDO         4016320452158502            Gas           Gov. Aggregation   COH             155337620010                Gas           Gov. Aggregation
VEDO         4016326092115151            Gas           Gov. Aggregation   COH             194714400019                Gas           Gov. Aggregation
VEDO         4016327232164351            Gas           Gov. Aggregation   COH             155593930022                Gas           Gov. Aggregation
VEDO         4016352752423260            Gas           Gov. Aggregation   COH             194604740011                Gas           Gov. Aggregation
VEDO         4016355362253990            Gas           Gov. Aggregation   COH             164415560025                Gas           Gov. Aggregation
VEDO         4002115572206701            Gas           Gov. Aggregation   COH             165947550010                Gas           Gov. Aggregation
VEDO         4002123152207424            Gas           Gov. Aggregation   COH             194852060019                Gas           Gov. Aggregation
VEDO         4002177382212879            Gas           Gov. Aggregation   COH             194580330019                Gas           Gov. Aggregation
VEDO         4002200402608037            Gas           Gov. Aggregation   COH             176025590040                Gas           Gov. Aggregation
VEDO         4002207972215921            Gas           Gov. Aggregation   COH             130067850014                Gas           Gov. Aggregation
VEDO         4002235622218684            Gas           Gov. Aggregation   COH             124501160024                Gas           Gov. Aggregation
VEDO         4002239392219095            Gas           Gov. Aggregation   COH             125177490023                Gas           Gov. Aggregation
VEDO         4002244042295690            Gas           Gov. Aggregation   COH             151683530010                Gas           Gov. Aggregation
VEDO         4002247582219865            Gas           Gov. Aggregation   COH             177614770015                Gas           Gov. Aggregation
VEDO         4002269402222074            Gas           Gov. Aggregation   COH             124494640011                Gas           Gov. Aggregation
VEDO         4002269982411413            Gas           Gov. Aggregation   COH             163539970019                Gas           Gov. Aggregation
VEDO         4016366172531864            Gas           Gov. Aggregation   COH             144921270018                Gas           Gov. Aggregation
VEDO         4018565732156916            Gas           Gov. Aggregation   COH             122231790027                Gas           Gov. Aggregation
VEDO         4018579592102574            Gas           Gov. Aggregation   COH             169850090018                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4018583022340080            Gas           Gov. Aggregation   COH             164026190019                Gas           Gov. Aggregation
VEDO         4018583022614282            Gas           Gov. Aggregation   COH             124464530017                Gas           Gov. Aggregation
VEDO         4010084052352554            Gas           Gov. Aggregation   COH             140070420024                Gas           Gov. Aggregation
VEDO         4018987522488824            Gas           Gov. Aggregation   COH             193887340018                Gas           Gov. Aggregation
VEDO         4016978252441173            Gas           Gov. Aggregation   COH             190580190013                Gas           Gov. Aggregation
VEDO         4017655422629258            Gas           Gov. Aggregation   COH             185284020013                Gas           Gov. Aggregation
VEDO         4001003732369483            Gas           Gov. Aggregation   COH             125299230029                Gas           Gov. Aggregation
VEDO         4001057272478233            Gas           Gov. Aggregation   COH             157474960017                Gas           Gov. Aggregation
VEDO         4001066402214566            Gas           Gov. Aggregation   COH             124457880028                Gas           Gov. Aggregation
VEDO         4001073762107055            Gas           Gov. Aggregation   COH             146250780012                Gas           Gov. Aggregation
VEDO         4001093332351145            Gas           Gov. Aggregation   COH             194937900012                Gas           Gov. Aggregation
VEDO         4001123542313168            Gas           Gov. Aggregation   COH             195485810019                Gas           Gov. Aggregation
VEDO         4015617722336341            Gas           Gov. Aggregation   COH             124325980026                Gas           Gov. Aggregation
VEDO         4015709272389898            Gas           Gov. Aggregation   COH             124325980035                Gas           Gov. Aggregation
VEDO         4004877392497034            Gas           Gov. Aggregation   COH             124323210021                Gas           Gov. Aggregation
VEDO         4004886192497986            Gas           Gov. Aggregation   COH             148620340026                Gas           Gov. Aggregation
VEDO         4004956412105216            Gas           Gov. Aggregation   COH             192031990016                Gas           Gov. Aggregation
VEDO         4004964552354011            Gas           Gov. Aggregation   COH             190244650036                Gas           Gov. Aggregation
VEDO         4004989282509474            Gas           Gov. Aggregation   COH             167403410019                Gas           Gov. Aggregation
VEDO         4005004452322944            Gas           Gov. Aggregation   COH             146654820017                Gas           Gov. Aggregation
VEDO         4005020462512983            Gas           Gov. Aggregation   COH             141597180019                Gas           Gov. Aggregation
VEDO         4005021372244571            Gas           Gov. Aggregation   COH             123107900016                Gas           Gov. Aggregation
VEDO         4005047272516057            Gas           Gov. Aggregation   COH             124392220015                Gas           Gov. Aggregation
VEDO         4015779362551058            Gas           Gov. Aggregation   COH             124327970051                Gas           Gov. Aggregation
VEDO         4017539582434059            Gas           Gov. Aggregation   COH             135681300012                Gas           Gov. Aggregation
VEDO         4017552532156988            Gas           Gov. Aggregation   COH             124377800015                Gas           Gov. Aggregation
VEDO         4017588432537945            Gas           Gov. Aggregation   COH             153586810015                Gas           Gov. Aggregation
VEDO         4016849762154924            Gas           Gov. Aggregation   COH             150891220015                Gas           Gov. Aggregation
VEDO         4016991892307231            Gas           Gov. Aggregation   COH             195548640011                Gas           Gov. Aggregation
VEDO         4017597192126957            Gas           Gov. Aggregation   COH             194743410016                Gas           Gov. Aggregation
VEDO         4017600202421173            Gas           Gov. Aggregation   COH             146341500026                Gas           Gov. Aggregation
VEDO         4017610012189943            Gas           Gov. Aggregation   COH             147920530012                Gas           Gov. Aggregation
VEDO         4001000022328502            Gas           Gov. Aggregation   COH             144424750039                Gas           Gov. Aggregation
VEDO         4001000102100010            Gas           Gov. Aggregation   COH             167880930010                Gas           Gov. Aggregation
VEDO         4001025052561645            Gas           Gov. Aggregation   COH             187157970011                Gas           Gov. Aggregation
VEDO         4001041752104013            Gas           Gov. Aggregation   COH             168135620031                Gas           Gov. Aggregation
VEDO         4001046912365628            Gas           Gov. Aggregation   COH             171601770036                Gas           Gov. Aggregation
VEDO         4001140292113290            Gas           Gov. Aggregation   COH             124374100027                Gas           Gov. Aggregation
VEDO         4001287142126984            Gas           Gov. Aggregation   COH             153607770027                Gas           Gov. Aggregation
VEDO         4001405942575828            Gas           Gov. Aggregation   COH             168644030018                Gas           Gov. Aggregation
VEDO         4001588592479242            Gas           Gov. Aggregation   COH             162566540013                Gas           Gov. Aggregation
VEDO         4001600342156533            Gas           Gov. Aggregation   COH             186192730018                Gas           Gov. Aggregation
VEDO         4001623602496817            Gas           Gov. Aggregation   COH             166004260018                Gas           Gov. Aggregation
VEDO         4001697842120004            Gas           Gov. Aggregation   COH             139052000014                Gas           Gov. Aggregation
VEDO         4001700852517848            Gas           Gov. Aggregation   COH             142671160014                Gas           Gov. Aggregation
VEDO         4001703402166242            Gas           Gov. Aggregation   COH             143122070239                Gas           Gov. Aggregation
VEDO         4001749072473639            Gas           Gov. Aggregation   COH             143193150028                Gas           Gov. Aggregation
VEDO         4001824172178014            Gas           Gov. Aggregation   COH             143387560101                Gas           Gov. Aggregation
VEDO         4001893182591201            Gas           Gov. Aggregation   COH             143595430018                Gas           Gov. Aggregation
VEDO         4018539972388158            Gas           Gov. Aggregation   COH             143619260058                Gas           Gov. Aggregation
VEDO         4018540022534607            Gas           Gov. Aggregation   COH             144527870036                Gas           Gov. Aggregation
VEDO         4018548112342382            Gas           Gov. Aggregation   COH             144789110013                Gas           Gov. Aggregation
VEDO         4018554002369995            Gas           Gov. Aggregation   COH             148325760015                Gas           Gov. Aggregation
VEDO         4018416412405359            Gas           Gov. Aggregation   COH             149242130058                Gas           Gov. Aggregation
VEDO         4018426522460044            Gas           Gov. Aggregation   COH             149423410028                Gas           Gov. Aggregation
VEDO         4018427032333641            Gas           Gov. Aggregation   COH             149864370023                Gas           Gov. Aggregation
VEDO         4018432282206790            Gas           Gov. Aggregation   COH             150455860033                Gas           Gov. Aggregation
VEDO         4001776472173356            Gas           Gov. Aggregation   COH             150886700015                Gas           Gov. Aggregation
VEDO         4001784982174234            Gas           Gov. Aggregation   COH             151253770039                Gas           Gov. Aggregation
VEDO         4001800692175800            Gas           Gov. Aggregation   COH             151296700015                Gas           Gov. Aggregation
VEDO         4001819872177595            Gas           Gov. Aggregation   COH             158808310013                Gas           Gov. Aggregation
VEDO         4001831412178733            Gas           Gov. Aggregation   COH             158927010014                Gas           Gov. Aggregation
VEDO         4001860122181504            Gas           Gov. Aggregation   COH             159058450023                Gas           Gov. Aggregation
VEDO         4001908112186233            Gas           Gov. Aggregation   COH             159223980021                Gas           Gov. Aggregation
VEDO         4001930312188503            Gas           Gov. Aggregation   COH             159653010069                Gas           Gov. Aggregation
VEDO         4018465142529099            Gas           Gov. Aggregation   COH             160123470018                Gas           Gov. Aggregation
VEDO         4018474712636501            Gas           Gov. Aggregation   COH             161610870010                Gas           Gov. Aggregation
VEDO         4018480952306920            Gas           Gov. Aggregation   COH             162742600025                Gas           Gov. Aggregation
VEDO         4018711392427211            Gas           Gov. Aggregation   COH             162800890012                Gas           Gov. Aggregation
VEDO         4018728812181824            Gas           Gov. Aggregation   COH             163110460014                Gas           Gov. Aggregation
VEDO         4018306752610137            Gas           Gov. Aggregation   COH             167228180010                Gas           Gov. Aggregation
VEDO         4018361572515002            Gas           Gov. Aggregation   COH             167254760022                Gas           Gov. Aggregation
VEDO         4018380672377698            Gas           Gov. Aggregation   COH             167382740034                Gas           Gov. Aggregation
VEDO         4018382862521746            Gas           Gov. Aggregation   COH             167569690011                Gas           Gov. Aggregation
VEDO         4018387442277864            Gas           Gov. Aggregation   COH             167687060022                Gas           Gov. Aggregation
VEDO         4018403262388753            Gas           Gov. Aggregation   COH             167957730019                Gas           Gov. Aggregation
VEDO         4015035242400125            Gas           Gov. Aggregation   COH             170730220011                Gas           Gov. Aggregation
VEDO         4015051042264536            Gas           Gov. Aggregation   COH             171114980017                Gas           Gov. Aggregation
VEDO         4015077412233121            Gas           Gov. Aggregation   COH             174341930013                Gas           Gov. Aggregation
VEDO         4015131402558818            Gas           Gov. Aggregation   COH             174662220012                Gas           Gov. Aggregation
VEDO         4015140932269291            Gas           Gov. Aggregation   COH             176064190015                Gas           Gov. Aggregation
VEDO         4015153592131725            Gas           Gov. Aggregation   COH             176154020019                Gas           Gov. Aggregation
VEDO         4015184012599842            Gas           Gov. Aggregation   COH             189206090019                Gas           Gov. Aggregation
VEDO         4018205762633907            Gas           Gov. Aggregation   COH             189357290018                Gas           Gov. Aggregation
VEDO         4018216002373282            Gas           Gov. Aggregation   COH             190133620028                Gas           Gov. Aggregation
VEDO         4018279602605486            Gas           Gov. Aggregation   COH             190941700019                Gas           Gov. Aggregation
VEDO         4018291082192538            Gas           Gov. Aggregation   COH             191708700012                Gas           Gov. Aggregation
VEDO         4018291662300638            Gas           Gov. Aggregation   COH             192747380017                Gas           Gov. Aggregation
VEDO         4017389272625724            Gas           Gov. Aggregation   COH             193034940019                Gas           Gov. Aggregation
VEDO         4017392292349628            Gas           Gov. Aggregation   COH             195234190011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4003651322363255            Gas           Gov. Aggregation   COH             124373280022                Gas           Gov. Aggregation
VEDO            4003660772118848            Gas           Gov. Aggregation   COH             124501600012                Gas           Gov. Aggregation
VEDO            4003709502369378            Gas           Gov. Aggregation   COH             124502260012                Gas           Gov. Aggregation
VEDO            4003712542369676            Gas           Gov. Aggregation   COH             124502270010                Gas           Gov. Aggregation
VEDO            4015879722569057            Gas           Gov. Aggregation   COH             124503760015                Gas           Gov. Aggregation
VEDO            4016034942639982            Gas           Gov. Aggregation   COH             124503800016                Gas           Gov. Aggregation
VEDO            4016166992515859            Gas           Gov. Aggregation   COH             124503810014                Gas           Gov. Aggregation
VEDO            4016339522366065            Gas           Gov. Aggregation   COH             124503820012                Gas           Gov. Aggregation
VEDO            4016574002602572            Gas           Gov. Aggregation   COH             124503930019                Gas           Gov. Aggregation
VEDO            4016961942526834            Gas           Gov. Aggregation   COH             124504040014                Gas           Gov. Aggregation
VEDO            4017152982215358            Gas           Gov. Aggregation   COH             124507730013                Gas           Gov. Aggregation
VEDO            4017296912640863            Gas           Gov. Aggregation   COH             124508170019                Gas           Gov. Aggregation
VEDO            4017317192354346            Gas           Gov. Aggregation   COH             124508240014                Gas           Gov. Aggregation
VEDO            4017323692225931            Gas           Gov. Aggregation   COH             124508290014                Gas           Gov. Aggregation
VEDO            4017342362448028            Gas           Gov. Aggregation   COH             124508760015                Gas           Gov. Aggregation
VEDO            4017373462509088            Gas           Gov. Aggregation   COH             124509010010                Gas           Gov. Aggregation
VEDO            4017399842429956            Gas           Gov. Aggregation   COH             124533870019                Gas           Gov. Aggregation
VEDO            4017657792398087            Gas           Gov. Aggregation   COH             124534010017                Gas           Gov. Aggregation
VEDO            4003324072328759            Gas           Gov. Aggregation   COH             124677900027                Gas           Gov. Aggregation
VEDO            4003339132409798            Gas           Gov. Aggregation   COH             124691220020                Gas           Gov. Aggregation
VEDO            4003349132366749            Gas           Gov. Aggregation   COH             124734700027                Gas           Gov. Aggregation
VEDO            4003356392332209            Gas           Gov. Aggregation   COH             124775230020                Gas           Gov. Aggregation
VEDO            4003357022332270            Gas           Gov. Aggregation   COH             125004260053                Gas           Gov. Aggregation
VEDO            4003391032335883            Gas           Gov. Aggregation   COH             125103960029                Gas           Gov. Aggregation
VEDO            4003404002337266            Gas           Gov. Aggregation   COH             125120980029                Gas           Gov. Aggregation
VEDO            4003449042341944            Gas           Gov. Aggregation   COH             125140190023                Gas           Gov. Aggregation
VEDO            4003787222377669            Gas           Gov. Aggregation   COH             125187970021                Gas           Gov. Aggregation
VEDO            4001431912140429            Gas           Gov. Aggregation   COH             125193060029                Gas           Gov. Aggregation
VEDO            4001440492471124            Gas           Gov. Aggregation   COH             125308550021                Gas           Gov. Aggregation
VEDO            4001459022619564            Gas           Gov. Aggregation   COH             125359450025                Gas           Gov. Aggregation
VEDO            4001475532144518            Gas           Gov. Aggregation   COH             125424540027                Gas           Gov. Aggregation
VEDO            4001487442145635            Gas           Gov. Aggregation   COH             130380250016                Gas           Gov. Aggregation
VEDO            4001488162145705            Gas           Gov. Aggregation   COH             130407190011                Gas           Gov. Aggregation
VEDO            4001500642146838            Gas           Gov. Aggregation   COH             130433130018                Gas           Gov. Aggregation
VEDO            4001521702148955            Gas           Gov. Aggregation   COH             130564620018                Gas           Gov. Aggregation
VEDO            4001533632150126            Gas           Gov. Aggregation   COH             130742000010                Gas           Gov. Aggregation
VEDO            4001542112150953            Gas           Gov. Aggregation   COH             130874380021                Gas           Gov. Aggregation
VEDO            4001571742153827            Gas           Gov. Aggregation   COH             131205140027                Gas           Gov. Aggregation
VEDO            4017448572173159            Gas           Gov. Aggregation   COH             132836240019                Gas           Gov. Aggregation
VEDO            4017462322625619            Gas           Gov. Aggregation   COH             132863490010                Gas           Gov. Aggregation
VEDO            4017462402401328            Gas           Gov. Aggregation   COH             132944700031                Gas           Gov. Aggregation
VEDO            4017464242624512            Gas           Gov. Aggregation   COH             133577300024                Gas           Gov. Aggregation
VEDO            4002956172172788            Gas           Gov. Aggregation   COH             133866600019                Gas           Gov. Aggregation
VEDO            4002956722290866            Gas           Gov. Aggregation   COH             133956520015                Gas           Gov. Aggregation
VEDO            4002973772292629            Gas           Gov. Aggregation   COH             134111470015                Gas           Gov. Aggregation
VEDO            4002992472294524            Gas           Gov. Aggregation   COH             134411250015                Gas           Gov. Aggregation
VEDO            4002994652294732            Gas           Gov. Aggregation   COH             135986240019                Gas           Gov. Aggregation
VEDO            4003019942297324            Gas           Gov. Aggregation   COH             136314620020                Gas           Gov. Aggregation
VEDO            4003052132300635            Gas           Gov. Aggregation   COH             136498340012                Gas           Gov. Aggregation
VEDO            4003055062415080            Gas           Gov. Aggregation   COH             136518260015                Gas           Gov. Aggregation
VEDO            4003074672302969            Gas           Gov. Aggregation   COH             136534540012                Gas           Gov. Aggregation
VEDO            4003076602303151            Gas           Gov. Aggregation   COH             138432250017                Gas           Gov. Aggregation
VEDO            4003077462303235            Gas           Gov. Aggregation   COH             138764130028                Gas           Gov. Aggregation
VEDO            4003079902303482            Gas           Gov. Aggregation   COH             139050240018                Gas           Gov. Aggregation
VEDO            4003104532306020            Gas           Gov. Aggregation   COH             139113000023                Gas           Gov. Aggregation
VEDO            4003106602306220            Gas           Gov. Aggregation   COH             139706120030                Gas           Gov. Aggregation
VEDO            4004039752372733            Gas           Gov. Aggregation   COH             142738230017                Gas           Gov. Aggregation
VEDO            4004058952407053            Gas           Gov. Aggregation   COH             142824290012                Gas           Gov. Aggregation
VEDO            4004072592408582            Gas           Gov. Aggregation   COH             142873640051                Gas           Gov. Aggregation
VEDO            4004125842414351            Gas           Gov. Aggregation   COH             143500930012                Gas           Gov. Aggregation
VEDO            4004127592332348            Gas           Gov. Aggregation   COH             143799990019                Gas           Gov. Aggregation
VEDO            4004177002419991            Gas           Gov. Aggregation   COH             144260190026                Gas           Gov. Aggregation
VEDO            4004178252506284            Gas           Gov. Aggregation   COH             144522610021                Gas           Gov. Aggregation
VEDO            4016049632181703            Gas           Gov. Aggregation   COH             144737560018                Gas           Gov. Aggregation
VEDO            4018625202592613            Gas           Gov. Aggregation   COH             145654710020                Gas           Gov. Aggregation
VEDO            4018635092253094            Gas           Gov. Aggregation   COH             145681330014                Gas           Gov. Aggregation
VEDO            4018668632638844            Gas           Gov. Aggregation   COH             145997320017                Gas           Gov. Aggregation
VEDO            4001210042362896            Gas           Gov. Aggregation   COH             146230190018                Gas           Gov. Aggregation
VEDO            4018980872319743            Gas           Gov. Aggregation   COH             146845870012                Gas           Gov. Aggregation
VEDO            4015963742469936            Gas           Gov. Aggregation   COH             147690180015                Gas           Gov. Aggregation
VEDO            4002338972228889            Gas           Gov. Aggregation   COH             147791460012                Gas           Gov. Aggregation
VEDO            4018201832475043            Gas           Gov. Aggregation   COH             147886170021                Gas           Gov. Aggregation
VEDO            4018980032354072            Gas           Gov. Aggregation   COH             151453450032                Gas           Gov. Aggregation
VEDO            4001928292196713            Gas           Gov. Aggregation   COH             151553550011                Gas           Gov. Aggregation
VEDO            4001376102135299            Gas           Gov. Aggregation   COH             151589630028                Gas           Gov. Aggregation
VEDO            4004327902101736            Gas           Gov. Aggregation   COH             151706830106                Gas           Gov. Aggregation
VEDO            4004327902436461            Gas           Gov. Aggregation   COH             151709190025                Gas           Gov. Aggregation
VEDO            4003351872331721            Gas           Gov. Aggregation   COH             151793970015                Gas           Gov. Aggregation
VEDO            4004723252480017            Gas           Gov. Aggregation   COH             151980750014                Gas           Gov. Aggregation
VEDO            4002163852482226            Gas           Gov. Aggregation   COH             152166970013                Gas           Gov. Aggregation
COH             176832860015                Gas           Gov. Aggregation   COH             154195390012                Gas           Gov. Aggregation
VEDO            4002443792425550            Gas           Gov. Aggregation   COH             154944700017                Gas           Gov. Aggregation
VEDO            4004692812636537            Gas           Gov. Aggregation   COH             155066570016                Gas           Gov. Aggregation
VEDO            4018998822270417            Gas           Gov. Aggregation   COH             155098380028                Gas           Gov. Aggregation
VEDO            4001055862618559            Gas           Gov. Aggregation   COH             155306080037                Gas           Gov. Aggregation
VEDO            4018498122445180            Gas           Gov. Aggregation   COH             155378310019                Gas           Gov. Aggregation
COH             166684500017                Gas           Gov. Aggregation   COH             155397240014                Gas           Gov. Aggregation
COH             143916830012                Gas           Gov. Aggregation   COH             155406300010                Gas           Gov. Aggregation
COH             144028690014                Gas           Gov. Aggregation   COH             156561860050                Gas           Gov. Aggregation
COH             185350280018                Gas           Gov. Aggregation   COH             156846700022                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             162365390011                Gas           Gov. Aggregation   COH             157207260019                Gas           Gov. Aggregation
COH             162503820016                Gas           Gov. Aggregation   COH             157425410015                Gas           Gov. Aggregation
COH             170370470013                Gas           Gov. Aggregation   COH             157867380016                Gas           Gov. Aggregation
COH             171053950013                Gas           Gov. Aggregation   COH             158124500013                Gas           Gov. Aggregation
COH             149231300028                Gas           Gov. Aggregation   COH             159803600011                Gas           Gov. Aggregation
COH             158987950011                Gas           Gov. Aggregation   COH             159928670022                Gas           Gov. Aggregation
COH             147359940017                Gas           Gov. Aggregation   COH             160316070022                Gas           Gov. Aggregation
COH             147451220012                Gas           Gov. Aggregation   COH             160728290014                Gas           Gov. Aggregation
COH             111189110023                Gas           Gov. Aggregation   COH             160899920010                Gas           Gov. Aggregation
COH             111187870019                Gas           Gov. Aggregation   COH             160954370018                Gas           Gov. Aggregation
COH             111144020026                Gas           Gov. Aggregation   COH             161052310020                Gas           Gov. Aggregation
COH             111145270022                Gas           Gov. Aggregation   COH             161298800018                Gas           Gov. Aggregation
COH             138583910019                Gas           Gov. Aggregation   COH             162894700023                Gas           Gov. Aggregation
COH             138688460021                Gas           Gov. Aggregation   COH             162915390014                Gas           Gov. Aggregation
COH             111188040039                Gas           Gov. Aggregation   COH             163012430027                Gas           Gov. Aggregation
COH             111188200017                Gas           Gov. Aggregation   COH             163443680013                Gas           Gov. Aggregation
COH             155255790019                Gas           Gov. Aggregation   COH             163747390010                Gas           Gov. Aggregation
COH             153955040014                Gas           Gov. Aggregation   COH             164005920019                Gas           Gov. Aggregation
COH             147622550029                Gas           Gov. Aggregation   COH             164338270011                Gas           Gov. Aggregation
COH             134787220016                Gas           Gov. Aggregation   COH             165610190046                Gas           Gov. Aggregation
COH             133460790010                Gas           Gov. Aggregation   COH             165621580023                Gas           Gov. Aggregation
COH             158196420019                Gas           Gov. Aggregation   COH             165831580019                Gas           Gov. Aggregation
COH             186024280018                Gas           Gov. Aggregation   COH             165950640014                Gas           Gov. Aggregation
COH             154998120034                Gas           Gov. Aggregation   COH             166268810014                Gas           Gov. Aggregation
COH             142646450016                Gas           Gov. Aggregation   COH             166539020015                Gas           Gov. Aggregation
COH             163394360015                Gas           Gov. Aggregation   COH             166694110018                Gas           Gov. Aggregation
COH             156179050033                Gas           Gov. Aggregation   COH             167294990011                Gas           Gov. Aggregation
COH             156261350017                Gas           Gov. Aggregation   COH             167326720027                Gas           Gov. Aggregation
COH             167672370019                Gas           Gov. Aggregation   COH             169094040021                Gas           Gov. Aggregation
COH             177316630016                Gas           Gov. Aggregation   COH             169459010023                Gas           Gov. Aggregation
COH             137594600012                Gas           Gov. Aggregation   COH             169539270010                Gas           Gov. Aggregation
COH             173668610019                Gas           Gov. Aggregation   COH             169828100012                Gas           Gov. Aggregation
COH             185624230017                Gas           Gov. Aggregation   COH             169925430026                Gas           Gov. Aggregation
COH             111179660010                Gas           Gov. Aggregation   COH             169941890017                Gas           Gov. Aggregation
COH             111185640020                Gas           Gov. Aggregation   COH             170085370028                Gas           Gov. Aggregation
COH             173251430010                Gas           Gov. Aggregation   COH             171727120036                Gas           Gov. Aggregation
COH             163981240015                Gas           Gov. Aggregation   COH             172235630013                Gas           Gov. Aggregation
COH             166704320011                Gas           Gov. Aggregation   COH             172493160016                Gas           Gov. Aggregation
COH             143528540016                Gas           Gov. Aggregation   COH             172502510011                Gas           Gov. Aggregation
COH             146795640017                Gas           Gov. Aggregation   COH             172585150013                Gas           Gov. Aggregation
COH             164414970012                Gas           Gov. Aggregation   COH             172690890015                Gas           Gov. Aggregation
COH             163283860015                Gas           Gov. Aggregation   COH             174861080074                Gas           Gov. Aggregation
COH             131483340018                Gas           Gov. Aggregation   COH             175571150019                Gas           Gov. Aggregation
COH             161722180018                Gas           Gov. Aggregation   COH             175645190014                Gas           Gov. Aggregation
COH             170791360014                Gas           Gov. Aggregation   COH             175715170019                Gas           Gov. Aggregation
COH             164697680015                Gas           Gov. Aggregation   COH             185333320015                Gas           Gov. Aggregation
COH             185362570012                Gas           Gov. Aggregation   COH             185480910010                Gas           Gov. Aggregation
COH             133281800017                Gas           Gov. Aggregation   COH             185607600015                Gas           Gov. Aggregation
COH             165656820010                Gas           Gov. Aggregation   COH             185693930015                Gas           Gov. Aggregation
COH             165400840017                Gas           Gov. Aggregation   COH             185743650017                Gas           Gov. Aggregation
COH             111145950010                Gas           Gov. Aggregation   COH             185861170018                Gas           Gov. Aggregation
COH             111149520012                Gas           Gov. Aggregation   COH             185902700018                Gas           Gov. Aggregation
COH             111149840024                Gas           Gov. Aggregation   COH             187380110027                Gas           Gov. Aggregation
COH             153228040015                Gas           Gov. Aggregation   COH             187470590017                Gas           Gov. Aggregation
COH             154767810010                Gas           Gov. Aggregation   COH             187482340014                Gas           Gov. Aggregation
COH             147574370011                Gas           Gov. Aggregation   COH             187891310013                Gas           Gov. Aggregation
COH             132146750015                Gas           Gov. Aggregation   COH             188059840015                Gas           Gov. Aggregation
COH             175900660013                Gas           Gov. Aggregation   COH             188284670014                Gas           Gov. Aggregation
COH             167012760015                Gas           Gov. Aggregation   COH             189126590014                Gas           Gov. Aggregation
COH             174922740011                Gas           Gov. Aggregation   COH             189325990018                Gas           Gov. Aggregation
COH             173602720014                Gas           Gov. Aggregation   COH             189330160011                Gas           Gov. Aggregation
COH             161416470025                Gas           Gov. Aggregation   COH             190239330016                Gas           Gov. Aggregation
COH             166455080011                Gas           Gov. Aggregation   COH             190291190016                Gas           Gov. Aggregation
COH             155826820011                Gas           Gov. Aggregation   COH             190500060018                Gas           Gov. Aggregation
COH             175891280014                Gas           Gov. Aggregation   COH             191562370012                Gas           Gov. Aggregation
COH             143581860017                Gas           Gov. Aggregation   COH             191874990011                Gas           Gov. Aggregation
COH             166619360014                Gas           Gov. Aggregation   COH             191879580017                Gas           Gov. Aggregation
COH             154289660025                Gas           Gov. Aggregation   COH             191927670015                Gas           Gov. Aggregation
COH             172942530015                Gas           Gov. Aggregation   COH             192721010018                Gas           Gov. Aggregation
COH             111187610013                Gas           Gov. Aggregation   COH             192773550016                Gas           Gov. Aggregation
COH             175570380013                Gas           Gov. Aggregation   COH             192947470014                Gas           Gov. Aggregation
COH             175780980012                Gas           Gov. Aggregation   COH             193236810018                Gas           Gov. Aggregation
COH             172584120011                Gas           Gov. Aggregation   COH             193270410010                Gas           Gov. Aggregation
COH             172595440020                Gas           Gov. Aggregation   COH             194347200010                Gas           Gov. Aggregation
COH             111145530027                Gas           Gov. Aggregation   COH             194573890017                Gas           Gov. Aggregation
COH             136492770014                Gas           Gov. Aggregation   COH             194646830014                Gas           Gov. Aggregation
COH             155591980017                Gas           Gov. Aggregation   COH             195001480013                Gas           Gov. Aggregation
COH             111180250013                Gas           Gov. Aggregation   COH             195139570013                Gas           Gov. Aggregation
COH             130414100014                Gas           Gov. Aggregation   COH             149026050017                Gas           Gov. Aggregation
COH             160789880012                Gas           Gov. Aggregation   COH             149143520010                Gas           Gov. Aggregation
COH             159872960011                Gas           Gov. Aggregation   COH             149220570070                Gas           Gov. Aggregation
COH             159335430010                Gas           Gov. Aggregation   COH             159182570025                Gas           Gov. Aggregation
COH             160863700011                Gas           Gov. Aggregation   COH             166698440020                Gas           Gov. Aggregation
COH             160868120013                Gas           Gov. Aggregation   COH             168456080035                Gas           Gov. Aggregation
COH             159091580017                Gas           Gov. Aggregation   COH             113544060028                Gas           Gov. Aggregation
COH             111146200015                Gas           Gov. Aggregation   COH             117503650044                Gas           Gov. Aggregation
COH             111192440018                Gas           Gov. Aggregation   COH             117621460035                Gas           Gov. Aggregation
COH             111169800011                Gas           Gov. Aggregation   COH             122126360039                Gas           Gov. Aggregation
COH             124478250026                Gas           Gov. Aggregation   COH             122129610021                Gas           Gov. Aggregation
COH             171132030018                Gas           Gov. Aggregation   COH             122152580029                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             157780170014                Gas           Gov. Aggregation   COH             122996460026                Gas           Gov. Aggregation
COH             157797500028                Gas           Gov. Aggregation   COH             124120340024                Gas           Gov. Aggregation
COH             145346150012                Gas           Gov. Aggregation   COH             124324320026                Gas           Gov. Aggregation
COH             169646830015                Gas           Gov. Aggregation   COH             124328020030                Gas           Gov. Aggregation
COH             144356980018                Gas           Gov. Aggregation   COH             124332370029                Gas           Gov. Aggregation
COH             111169580027                Gas           Gov. Aggregation   COH             124334420024                Gas           Gov. Aggregation
COH             141509650024                Gas           Gov. Aggregation   COH             124334500027                Gas           Gov. Aggregation
COH             174595910010                Gas           Gov. Aggregation   COH             124335080024                Gas           Gov. Aggregation
COH             143152460010                Gas           Gov. Aggregation   COH             124336430064                Gas           Gov. Aggregation
COH             170973960012                Gas           Gov. Aggregation   COH             124340040030                Gas           Gov. Aggregation
COH             166169590011                Gas           Gov. Aggregation   COH             124341820025                Gas           Gov. Aggregation
COH             173371460010                Gas           Gov. Aggregation   COH             124357430024                Gas           Gov. Aggregation
COH             173417730015                Gas           Gov. Aggregation   COH             124360050036                Gas           Gov. Aggregation
COH             146991670015                Gas           Gov. Aggregation   COH             124360690023                Gas           Gov. Aggregation
COH             111161810015                Gas           Gov. Aggregation   COH             124360800029                Gas           Gov. Aggregation
COH             138490060015                Gas           Gov. Aggregation   COH             124362950042                Gas           Gov. Aggregation
COH             154631800019                Gas           Gov. Aggregation   COH             124369420030                Gas           Gov. Aggregation
COH             168610400011                Gas           Gov. Aggregation   COH             124369530028                Gas           Gov. Aggregation
COH             168459880013                Gas           Gov. Aggregation   COH             124387950022                Gas           Gov. Aggregation
COH             171894030014                Gas           Gov. Aggregation   COH             124388560013                Gas           Gov. Aggregation
COH             132146750033                Gas           Gov. Aggregation   COH             124388780017                Gas           Gov. Aggregation
COH             135498950015                Gas           Gov. Aggregation   COH             124389280010                Gas           Gov. Aggregation
COH             175978110033                Gas           Gov. Aggregation   COH             124389540015                Gas           Gov. Aggregation
COH             111144070017                Gas           Gov. Aggregation   COH             124391240013                Gas           Gov. Aggregation
COH             111185850017                Gas           Gov. Aggregation   COH             124391820011                Gas           Gov. Aggregation
COH             133061160018                Gas           Gov. Aggregation   COH             124391930018                Gas           Gov. Aggregation
COH             111146390016                Gas           Gov. Aggregation   COH             124409690029                Gas           Gov. Aggregation
COH             111145760010                Gas           Gov. Aggregation   COH             124409720013                Gas           Gov. Aggregation
COH             177058350013                Gas           Gov. Aggregation   COH             124409930019                Gas           Gov. Aggregation
COH             160653820020                Gas           Gov. Aggregation   COH             124410090013                Gas           Gov. Aggregation
COH             166145540011                Gas           Gov. Aggregation   COH             124410240011                Gas           Gov. Aggregation
COH             176851380016                Gas           Gov. Aggregation   COH             124426070023                Gas           Gov. Aggregation
COH             169970610014                Gas           Gov. Aggregation   COH             124430450015                Gas           Gov. Aggregation
COH             143586850019                Gas           Gov. Aggregation   COH             124430720018                Gas           Gov. Aggregation
COH             165996710013                Gas           Gov. Aggregation   COH             124430730016                Gas           Gov. Aggregation
COH             143612620010                Gas           Gov. Aggregation   COH             124430950010                Gas           Gov. Aggregation
COH             143460540029                Gas           Gov. Aggregation   COH             124431050017                Gas           Gov. Aggregation
COH             111144100010                Gas           Gov. Aggregation   COH             124433810013                Gas           Gov. Aggregation
COH             149587760010                Gas           Gov. Aggregation   COH             124433930027                Gas           Gov. Aggregation
COH             148948080018                Gas           Gov. Aggregation   COH             124434030015                Gas           Gov. Aggregation
COH             111169540016                Gas           Gov. Aggregation   COH             124434130014                Gas           Gov. Aggregation
COH             149310230016                Gas           Gov. Aggregation   COH             124434920018                Gas           Gov. Aggregation
COH             165231340011                Gas           Gov. Aggregation   COH             124435030013                Gas           Gov. Aggregation
COH             133372740017                Gas           Gov. Aggregation   COH             124436820015                Gas           Gov. Aggregation
COH             146890910018                Gas           Gov. Aggregation   COH             124436930012                Gas           Gov. Aggregation
COH             111189680015                Gas           Gov. Aggregation   COH             124437390014                Gas           Gov. Aggregation
COH             151949270011                Gas           Gov. Aggregation   COH             124437440031                Gas           Gov. Aggregation
COH             172278870013                Gas           Gov. Aggregation   COH             124437540012                Gas           Gov. Aggregation
COH             152258520021                Gas           Gov. Aggregation   COH             124442620014                Gas           Gov. Aggregation
COH             152528020014                Gas           Gov. Aggregation   COH             124443030025                Gas           Gov. Aggregation
COH             151615200012                Gas           Gov. Aggregation   COH             124443230032                Gas           Gov. Aggregation
COH             152439890011                Gas           Gov. Aggregation   COH             124456180018                Gas           Gov. Aggregation
COH             140676080040                Gas           Gov. Aggregation   COH             124456200013                Gas           Gov. Aggregation
COH             111170390024                Gas           Gov. Aggregation   COH             124456370018                Gas           Gov. Aggregation
COH             130432960016                Gas           Gov. Aggregation   COH             124456400011                Gas           Gov. Aggregation
COH             111176100022                Gas           Gov. Aggregation   COH             124456570025                Gas           Gov. Aggregation
COH             142124400012                Gas           Gov. Aggregation   COH             124456880011                Gas           Gov. Aggregation
COH             165447080019                Gas           Gov. Aggregation   COH             124457010011                Gas           Gov. Aggregation
COH             164572700014                Gas           Gov. Aggregation   COH             124458230013                Gas           Gov. Aggregation
COH             129542810017                Gas           Gov. Aggregation   COH             124458370023                Gas           Gov. Aggregation
COH             164849080018                Gas           Gov. Aggregation   COH             124458570012                Gas           Gov. Aggregation
COH             164901290012                Gas           Gov. Aggregation   COH             124458740016                Gas           Gov. Aggregation
COH             111123070020                Gas           Gov. Aggregation   COH             124458900012                Gas           Gov. Aggregation
COH             155301790010                Gas           Gov. Aggregation   COH             124462590064                Gas           Gov. Aggregation
COH             155321770012                Gas           Gov. Aggregation   COH             124464160024                Gas           Gov. Aggregation
COH             138826010012                Gas           Gov. Aggregation   COH             124499030028                Gas           Gov. Aggregation
COH             155469330021                Gas           Gov. Aggregation   COH             124506960026                Gas           Gov. Aggregation
COH             142472090020                Gas           Gov. Aggregation   COH             124508830038                Gas           Gov. Aggregation
COH             170844760017                Gas           Gov. Aggregation   COH             124509180015                Gas           Gov. Aggregation
COH             142293800011                Gas           Gov. Aggregation   COH             124512310029                Gas           Gov. Aggregation
COH             140042540019                Gas           Gov. Aggregation   COH             124770340036                Gas           Gov. Aggregation
COH             139130690014                Gas           Gov. Aggregation   COH             125092310020                Gas           Gov. Aggregation
COH             167062910018                Gas           Gov. Aggregation   COH             125128670028                Gas           Gov. Aggregation
COH             111176120028                Gas           Gov. Aggregation   COH             125133700039                Gas           Gov. Aggregation
COH             146280990015                Gas           Gov. Aggregation   COH             125136440029                Gas           Gov. Aggregation
COH             186334820017                Gas           Gov. Aggregation   COH             125154660034                Gas           Gov. Aggregation
COH             186351360018                Gas           Gov. Aggregation   COH             125158780022                Gas           Gov. Aggregation
COH             186401980011                Gas           Gov. Aggregation   COH             125159530022                Gas           Gov. Aggregation
COH             132726710013                Gas           Gov. Aggregation   COH             125160250037                Gas           Gov. Aggregation
COH             132522230016                Gas           Gov. Aggregation   COH             125456510026                Gas           Gov. Aggregation
COH             132701390013                Gas           Gov. Aggregation   COH             125457570031                Gas           Gov. Aggregation
COH             137525300010                Gas           Gov. Aggregation   COH             125555360108                Gas           Gov. Aggregation
COH             111193180020                Gas           Gov. Aggregation   COH             125579120028                Gas           Gov. Aggregation
COH             111192580019                Gas           Gov. Aggregation   COH             125591450023                Gas           Gov. Aggregation
COH             111175460010                Gas           Gov. Aggregation   COH             125662120067                Gas           Gov. Aggregation
COH             177757850016                Gas           Gov. Aggregation   COH             125693830027                Gas           Gov. Aggregation
COH             176115980010                Gas           Gov. Aggregation   COH             127546920018                Gas           Gov. Aggregation
COH             144377700012                Gas           Gov. Aggregation   COH             127640120016                Gas           Gov. Aggregation
COH             150437590010                Gas           Gov. Aggregation   COH             128750270011                Gas           Gov. Aggregation
COH             152937170025                Gas           Gov. Aggregation   COH             128820350024                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             134963470010                Gas           Gov. Aggregation   COH             128849930013                Gas           Gov. Aggregation
COH             143756830030                Gas           Gov. Aggregation   COH             128945920039                Gas           Gov. Aggregation
COH             144242970011                Gas           Gov. Aggregation   COH             129039580040                Gas           Gov. Aggregation
COH             158141430012                Gas           Gov. Aggregation   COH             129450020018                Gas           Gov. Aggregation
COH             163583930014                Gas           Gov. Aggregation   COH             129475300026                Gas           Gov. Aggregation
COH             144792000019                Gas           Gov. Aggregation   COH             129501370016                Gas           Gov. Aggregation
COH             139130820016                Gas           Gov. Aggregation   COH             130007390017                Gas           Gov. Aggregation
COH             139267150018                Gas           Gov. Aggregation   COH             130015990014                Gas           Gov. Aggregation
COH             138496080019                Gas           Gov. Aggregation   COH             130248680043                Gas           Gov. Aggregation
COH             111175610018                Gas           Gov. Aggregation   COH             130897090024                Gas           Gov. Aggregation
COH             139693180019                Gas           Gov. Aggregation   COH             131028920029                Gas           Gov. Aggregation
COH             155137800016                Gas           Gov. Aggregation   COH             131037960013                Gas           Gov. Aggregation
COH             131544280011                Gas           Gov. Aggregation   COH             131127880162                Gas           Gov. Aggregation
COH             176388790013                Gas           Gov. Aggregation   COH             131201630013                Gas           Gov. Aggregation
COH             143869500012                Gas           Gov. Aggregation   COH             131201830011                Gas           Gov. Aggregation
COH             111177310017                Gas           Gov. Aggregation   COH             132225650018                Gas           Gov. Aggregation
COH             111176250012                Gas           Gov. Aggregation   COH             132254220017                Gas           Gov. Aggregation
COH             111175710017                Gas           Gov. Aggregation   COH             132488870025                Gas           Gov. Aggregation
COH             111176320017                Gas           Gov. Aggregation   COH             132601480025                Gas           Gov. Aggregation
COH             153810190019                Gas           Gov. Aggregation   COH             132609270023                Gas           Gov. Aggregation
COH             161385700023                Gas           Gov. Aggregation   COH             132868760022                Gas           Gov. Aggregation
COH             153829700012                Gas           Gov. Aggregation   COH             133688200020                Gas           Gov. Aggregation
COH             162750880011                Gas           Gov. Aggregation   COH             133722090011                Gas           Gov. Aggregation
COH             163537490014                Gas           Gov. Aggregation   COH             133785790012                Gas           Gov. Aggregation
COH             186138850017                Gas           Gov. Aggregation   COH             133866060013                Gas           Gov. Aggregation
COH             168940420018                Gas           Gov. Aggregation   COH             133924500034                Gas           Gov. Aggregation
COH             186246900017                Gas           Gov. Aggregation   COH             133928120018                Gas           Gov. Aggregation
COH             111186040015                Gas           Gov. Aggregation   COH             133954530017                Gas           Gov. Aggregation
COH             167942610015                Gas           Gov. Aggregation   COH             134354750012                Gas           Gov. Aggregation
COH             171797730031                Gas           Gov. Aggregation   COH             134359800011                Gas           Gov. Aggregation
COH             111186320016                Gas           Gov. Aggregation   COH             134379810026                Gas           Gov. Aggregation
COH             156180740026                Gas           Gov. Aggregation   COH             134388680016                Gas           Gov. Aggregation
COH             165838460010                Gas           Gov. Aggregation   COH             134464370037                Gas           Gov. Aggregation
COH             165849970010                Gas           Gov. Aggregation   COH             134601640038                Gas           Gov. Aggregation
COH             165917450014                Gas           Gov. Aggregation   COH             134721940013                Gas           Gov. Aggregation
COH             172664780031                Gas           Gov. Aggregation   COH             134767940017                Gas           Gov. Aggregation
COH             177761930010                Gas           Gov. Aggregation   COH             134785710017                Gas           Gov. Aggregation
COH             155267420020                Gas           Gov. Aggregation   COH             134878450024                Gas           Gov. Aggregation
COH             155418470010                Gas           Gov. Aggregation   COH             134910130021                Gas           Gov. Aggregation
COH             155271810010                Gas           Gov. Aggregation   COH             135413780019                Gas           Gov. Aggregation
COH             174348880038                Gas           Gov. Aggregation   COH             135447830044                Gas           Gov. Aggregation
COH             186309390020                Gas           Gov. Aggregation   COH             135490510022                Gas           Gov. Aggregation
COH             186732700018                Gas           Gov. Aggregation   COH             135661510010                Gas           Gov. Aggregation
COH             166965840010                Gas           Gov. Aggregation   COH             135680840011                Gas           Gov. Aggregation
COH             155098510011                Gas           Gov. Aggregation   COH             135753420014                Gas           Gov. Aggregation
COH             167384360012                Gas           Gov. Aggregation   COH             135913800023                Gas           Gov. Aggregation
COH             155137720013                Gas           Gov. Aggregation   COH             135964100014                Gas           Gov. Aggregation
COH             187117940011                Gas           Gov. Aggregation   COH             136603370020                Gas           Gov. Aggregation
COH             187266450019                Gas           Gov. Aggregation   COH             136614290015                Gas           Gov. Aggregation
COH             187329880015                Gas           Gov. Aggregation   COH             136717900018                Gas           Gov. Aggregation
COH             163633890025                Gas           Gov. Aggregation   COH             136886470049                Gas           Gov. Aggregation
COH             130686870018                Gas           Gov. Aggregation   COH             136903860012                Gas           Gov. Aggregation
COH             143288430064                Gas           Gov. Aggregation   COH             137945590038                Gas           Gov. Aggregation
COH             187571430016                Gas           Gov. Aggregation   COH             138155860026                Gas           Gov. Aggregation
COH             187117950019                Gas           Gov. Aggregation   COH             138162880018                Gas           Gov. Aggregation
COH             175557160026                Gas           Gov. Aggregation   COH             138202160022                Gas           Gov. Aggregation
COH             111144480011                Gas           Gov. Aggregation   COH             138242470014                Gas           Gov. Aggregation
COH             189892960013                Gas           Gov. Aggregation   COH             138603800027                Gas           Gov. Aggregation
COH             164276810028                Gas           Gov. Aggregation   COH             138623060012                Gas           Gov. Aggregation
COH             192646490018                Gas           Gov. Aggregation   COH             138740260012                Gas           Gov. Aggregation
COH             177809830028                Gas           Gov. Aggregation   COH             138753520029                Gas           Gov. Aggregation
COH             176344160017                Gas           Gov. Aggregation   COH             138844850027                Gas           Gov. Aggregation
COH             190812630017                Gas           Gov. Aggregation   COH             138892030028                Gas           Gov. Aggregation
COH             188430080017                Gas           Gov. Aggregation   COH             138928340017                Gas           Gov. Aggregation
COH             188084650012                Gas           Gov. Aggregation   COH             139325990027                Gas           Gov. Aggregation
COH             190888720019                Gas           Gov. Aggregation   COH             139416550026                Gas           Gov. Aggregation
COH             172137610015                Gas           Gov. Aggregation   COH             139545480028                Gas           Gov. Aggregation
COH             138967230018                Gas           Gov. Aggregation   COH             139580700018                Gas           Gov. Aggregation
COH             147715890021                Gas           Gov. Aggregation   COH             139586010011                Gas           Gov. Aggregation
COH             192441050014                Gas           Gov. Aggregation   COH             139871050027                Gas           Gov. Aggregation
COH             175706670031                Gas           Gov. Aggregation   COH             140540790011                Gas           Gov. Aggregation
COH             193257610016                Gas           Gov. Aggregation   COH             140601260012                Gas           Gov. Aggregation
COH             188614180016                Gas           Gov. Aggregation   COH             140789860010                Gas           Gov. Aggregation
COH             188642050014                Gas           Gov. Aggregation   COH             140865580026                Gas           Gov. Aggregation
COH             188725760019                Gas           Gov. Aggregation   COH             141056100011                Gas           Gov. Aggregation
COH             190531560018                Gas           Gov. Aggregation   COH             141078970013                Gas           Gov. Aggregation
COH             188826830010                Gas           Gov. Aggregation   COH             141079170019                Gas           Gov. Aggregation
COH             188839480017                Gas           Gov. Aggregation   COH             141500790014                Gas           Gov. Aggregation
COH             189237300019                Gas           Gov. Aggregation   COH             141710910031                Gas           Gov. Aggregation
COH             189392920011                Gas           Gov. Aggregation   COH             141737020023                Gas           Gov. Aggregation
COH             189878910013                Gas           Gov. Aggregation   COH             142109250025                Gas           Gov. Aggregation
COH             189954290012                Gas           Gov. Aggregation   COH             142733870013                Gas           Gov. Aggregation
COH             189956090010                Gas           Gov. Aggregation   COH             142782350028                Gas           Gov. Aggregation
COH             192738110012                Gas           Gov. Aggregation   COH             142801500015                Gas           Gov. Aggregation
COH             186444190017                Gas           Gov. Aggregation   COH             142858710012                Gas           Gov. Aggregation
COH             191576410014                Gas           Gov. Aggregation   COH             143127520010                Gas           Gov. Aggregation
COH             157622820066                Gas           Gov. Aggregation   COH             143222800019                Gas           Gov. Aggregation
COH             176234590029                Gas           Gov. Aggregation   COH             143324560014                Gas           Gov. Aggregation
COH             190721630010                Gas           Gov. Aggregation   COH             144067310066                Gas           Gov. Aggregation
COH             160942780026                Gas           Gov. Aggregation   COH             144129430032                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             191515210014                Gas           Gov. Aggregation   COH             144292960018                Gas           Gov. Aggregation
COH             141307250017                Gas           Gov. Aggregation   COH             144430710016                Gas           Gov. Aggregation
COH             192822730013                Gas           Gov. Aggregation   COH             144450910058                Gas           Gov. Aggregation
COH             191093250012                Gas           Gov. Aggregation   COH             144481280038                Gas           Gov. Aggregation
COH             190904630012                Gas           Gov. Aggregation   COH             144853840040                Gas           Gov. Aggregation
COH             145226690022                Gas           Gov. Aggregation   COH             145264110014                Gas           Gov. Aggregation
COH             136610750016                Gas           Gov. Aggregation   COH             145330080010                Gas           Gov. Aggregation
COH             156676760021                Gas           Gov. Aggregation   COH             145460070017                Gas           Gov. Aggregation
COH             191718740013                Gas           Gov. Aggregation   COH             145461880015                Gas           Gov. Aggregation
COH             190467110019                Gas           Gov. Aggregation   COH             145487580069                Gas           Gov. Aggregation
COH             136193930023                Gas           Gov. Aggregation   COH             145538730013                Gas           Gov. Aggregation
COH             188033510018                Gas           Gov. Aggregation   COH             145594500013                Gas           Gov. Aggregation
COH             146055970025                Gas           Gov. Aggregation   COH             145608810044                Gas           Gov. Aggregation
COH             190753160012                Gas           Gov. Aggregation   COH             146334500012                Gas           Gov. Aggregation
COH             160249200018                Gas           Gov. Aggregation   COH             146571610026                Gas           Gov. Aggregation
COH             192348810012                Gas           Gov. Aggregation   COH             146611160034                Gas           Gov. Aggregation
COH             111170230018                Gas           Gov. Aggregation   COH             146693850037                Gas           Gov. Aggregation
COH             155211100033                Gas           Gov. Aggregation   COH             147496040016                Gas           Gov. Aggregation
COH             153289290015                Gas           Gov. Aggregation   COH             147649190029                Gas           Gov. Aggregation
COH             187052900026                Gas           Gov. Aggregation   COH             147659970015                Gas           Gov. Aggregation
COH             170874930018                Gas           Gov. Aggregation   COH             147741570014                Gas           Gov. Aggregation
COH             186858280020                Gas           Gov. Aggregation   COH             147743630017                Gas           Gov. Aggregation
COH             191103320014                Gas           Gov. Aggregation   COH             147861880015                Gas           Gov. Aggregation
COH             167332590013                Gas           Gov. Aggregation   COH             147866110070                Gas           Gov. Aggregation
COH             164073780016                Gas           Gov. Aggregation   COH             148528490012                Gas           Gov. Aggregation
COH             148699250011                Gas           Gov. Aggregation   COH             148598780014                Gas           Gov. Aggregation
COH             170475970025                Gas           Gov. Aggregation   COH             148609930017                Gas           Gov. Aggregation
COH             193375520015                Gas           Gov. Aggregation   COH             148630760018                Gas           Gov. Aggregation
COH             135265590014                Gas           Gov. Aggregation   COH             148721510080                Gas           Gov. Aggregation
COH             111177230023                Gas           Gov. Aggregation   COH             148901970019                Gas           Gov. Aggregation
COH             192868970017                Gas           Gov. Aggregation   COH             149133830025                Gas           Gov. Aggregation
COH             190833430015                Gas           Gov. Aggregation   COH             149391740028                Gas           Gov. Aggregation
COH             162691320041                Gas           Gov. Aggregation   COH             149474920015                Gas           Gov. Aggregation
COH             192439290019                Gas           Gov. Aggregation   COH             149503660026                Gas           Gov. Aggregation
COH             188421460016                Gas           Gov. Aggregation   COH             149570840027                Gas           Gov. Aggregation
COH             142119540014                Gas           Gov. Aggregation   COH             149745040024                Gas           Gov. Aggregation
VEDO            4002850702280110            Gas           Gov. Aggregation   COH             150139420026                Gas           Gov. Aggregation
VEDO            4019001962192071            Gas           Gov. Aggregation   COH             150212770018                Gas           Gov. Aggregation
VEDO            4003794822509476            Gas           Gov. Aggregation   COH             150249360017                Gas           Gov. Aggregation
VEDO            4002911522423730            Gas           Gov. Aggregation   COH             150335550023                Gas           Gov. Aggregation
VEDO            4019005502640411            Gas           Gov. Aggregation   COH             150360930039                Gas           Gov. Aggregation
COH             108847940019                Gas           Gov. Aggregation   COH             150414260026                Gas           Gov. Aggregation
VEDO            4002340972499510            Gas           Gov. Aggregation   COH             150471480011                Gas           Gov. Aggregation
COH             191466180016                Gas           Gov. Aggregation   COH             150731220013                Gas           Gov. Aggregation
COH             111188880015                Gas           Gov. Aggregation   COH             151199850029                Gas           Gov. Aggregation
COH             118040340022                Gas           Gov. Aggregation   COH             151268970018                Gas           Gov. Aggregation
COH             111193160015                Gas           Gov. Aggregation   COH             151831320037                Gas           Gov. Aggregation
COH             167544760018                Gas           Gov. Aggregation   COH             151846510018                Gas           Gov. Aggregation
COH             138297950018                Gas           Gov. Aggregation   COH             151854050036                Gas           Gov. Aggregation
COH             138331570014                Gas           Gov. Aggregation   COH             151949540069                Gas           Gov. Aggregation
COH             145714490010                Gas           Gov. Aggregation   COH             160056250017                Gas           Gov. Aggregation
COH             111189120012                Gas           Gov. Aggregation   COH             132801370024                Gas           Gov. Aggregation
COH             135000400013                Gas           Gov. Aggregation   COH             133039590015                Gas           Gov. Aggregation
COH             111179900037                Gas           Gov. Aggregation   COH             124364140020                Gas           Gov. Aggregation
COH             111170250014                Gas           Gov. Aggregation   COH             148500930017                Gas           Gov. Aggregation
COH             111144610013                Gas           Gov. Aggregation   COH             187066980012                Gas           Gov. Aggregation
COH             111146060015                Gas           Gov. Aggregation   COH             171833970015                Gas           Gov. Aggregation
COH             169880440011                Gas           Gov. Aggregation   COH             124464890012                Gas           Gov. Aggregation
COH             111188250017                Gas           Gov. Aggregation   COH             124464540024                Gas           Gov. Aggregation
VEDO            4017078032595087            Gas           Gov. Aggregation   COH             188672850013                Gas           Gov. Aggregation
VEDO            4017628992631020            Gas           Gov. Aggregation   COH             124494270028                Gas           Gov. Aggregation
VEDO            4018701722377901            Gas           Gov. Aggregation   COH             136647250032                Gas           Gov. Aggregation
VEDO            4017711532633279            Gas           Gov. Aggregation   COH             137370840025                Gas           Gov. Aggregation
VEDO            4002215752115771            Gas           Gov. Aggregation   COH             155565050017                Gas           Gov. Aggregation
VEDO            4018615272430425            Gas           Gov. Aggregation   COH             134338620013                Gas           Gov. Aggregation
VEDO            4018024922297878            Gas           Gov. Aggregation   COH             138872410011                Gas           Gov. Aggregation
VEDO            4018024922344632            Gas           Gov. Aggregation   COH             189784720012                Gas           Gov. Aggregation
VEDO            4018024922144092            Gas           Gov. Aggregation   COH             157277880012                Gas           Gov. Aggregation
VEDO            4017159472624536            Gas           Gov. Aggregation   COH             171203280015                Gas           Gov. Aggregation
VEDO            4002556972250708            Gas           Gov. Aggregation   COH             176674410033                Gas           Gov. Aggregation
VEDO            4002556972326109            Gas           Gov. Aggregation   COH             167416630016                Gas           Gov. Aggregation
VEDO            4016883522320629            Gas           Gov. Aggregation   COH             124792580021                Gas           Gov. Aggregation
VEDO            4016500802511373            Gas           Gov. Aggregation   COH             159331100017                Gas           Gov. Aggregation
VEDO            4018228612250891            Gas           Gov. Aggregation   COH             175796710015                Gas           Gov. Aggregation
VEDO            4002820642277024            Gas           Gov. Aggregation   COH             124945660029                Gas           Gov. Aggregation
VEDO            4018671772356717            Gas           Gov. Aggregation   COH             175995470014                Gas           Gov. Aggregation
VEDO            4003941602629756            Gas           Gov. Aggregation   COH             124377780010                Gas           Gov. Aggregation
VEDO            4002253462220435            Gas           Gov. Aggregation   COH             124494740010                Gas           Gov. Aggregation
VEDO            4016103702200203            Gas           Gov. Aggregation   COH             189284620013                Gas           Gov. Aggregation
VEDO            4017999782586372            Gas           Gov. Aggregation   COH             126792970027                Gas           Gov. Aggregation
VEDO            4018958642106611            Gas           Gov. Aggregation   COH             167500400015                Gas           Gov. Aggregation
VEDO            4001822952532783            Gas           Gov. Aggregation   COH             159892810010                Gas           Gov. Aggregation
VEDO            4001598622156366            Gas           Gov. Aggregation   COH             191503570014                Gas           Gov. Aggregation
VEDO            4018724962502621            Gas           Gov. Aggregation   COH             172440270023                Gas           Gov. Aggregation
VEDO            4016656102601297            Gas           Gov. Aggregation   COH             124374460031                Gas           Gov. Aggregation
VEDO            4015706792595017            Gas           Gov. Aggregation   COH             170102190019                Gas           Gov. Aggregation
VEDO            4002680232114359            Gas           Gov. Aggregation   COH             192921660018                Gas           Gov. Aggregation
VEDO            4003236602459293            Gas           Gov. Aggregation   COH             195140020015                Gas           Gov. Aggregation
VEDO            4016756812603149            Gas           Gov. Aggregation   COH             190552120016                Gas           Gov. Aggregation
VEDO            4018832322517718            Gas           Gov. Aggregation   COH             142012210019                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4016887732341035            Gas           Gov. Aggregation   COH             124464030012                Gas           Gov. Aggregation
VEDO         4017100022142276            Gas           Gov. Aggregation   COH             148908480027                Gas           Gov. Aggregation
VEDO         4018919212171859            Gas           Gov. Aggregation   COH             161989890015                Gas           Gov. Aggregation
VEDO         4003937012393957            Gas           Gov. Aggregation   COH             195029770014                Gas           Gov. Aggregation
VEDO         4001458892142940            Gas           Gov. Aggregation   COH             173479860018                Gas           Gov. Aggregation
VEDO         4015277422517194            Gas           Gov. Aggregation   COH             147222840017                Gas           Gov. Aggregation
VEDO         4002474482242325            Gas           Gov. Aggregation   COH             163606290019                Gas           Gov. Aggregation
VEDO         4017851642167641            Gas           Gov. Aggregation   COH             185063050024                Gas           Gov. Aggregation
VEDO         4005086402520426            Gas           Gov. Aggregation   COH             128882550013                Gas           Gov. Aggregation
VEDO         4001031512265331            Gas           Gov. Aggregation   COH             175781930038                Gas           Gov. Aggregation
VEDO         4004638932510542            Gas           Gov. Aggregation   COH             175796890018                Gas           Gov. Aggregation
VEDO         4003371122526307            Gas           Gov. Aggregation   COH             176271030028                Gas           Gov. Aggregation
VEDO         4001687802606820            Gas           Gov. Aggregation   COH             176429480010                Gas           Gov. Aggregation
VEDO         4015606782500137            Gas           Gov. Aggregation   COH             176441740019                Gas           Gov. Aggregation
VEDO         4018780592419158            Gas           Gov. Aggregation   COH             177132250016                Gas           Gov. Aggregation
VEDO         4018597242504703            Gas           Gov. Aggregation   COH             177365260011                Gas           Gov. Aggregation
VEDO         4001365362260155            Gas           Gov. Aggregation   COH             186643480014                Gas           Gov. Aggregation
VEDO         4003492222346435            Gas           Gov. Aggregation   COH             186646380019                Gas           Gov. Aggregation
VEDO         4016998272112641            Gas           Gov. Aggregation   COH             186693580018                Gas           Gov. Aggregation
VEDO         4004248982235262            Gas           Gov. Aggregation   COH             187017430010                Gas           Gov. Aggregation
VEDO         4017700092299793            Gas           Gov. Aggregation   COH             187396500013                Gas           Gov. Aggregation
VEDO         4003371122631775            Gas           Gov. Aggregation   COH             187546160016                Gas           Gov. Aggregation
VEDO         4015074002144678            Gas           Gov. Aggregation   COH             188935430013                Gas           Gov. Aggregation
VEDO         4005015882512451            Gas           Gov. Aggregation   COH             189051550011                Gas           Gov. Aggregation
VEDO         4017112912488994            Gas           Gov. Aggregation   COH             190347290016                Gas           Gov. Aggregation
VEDO         4018039372528074            Gas           Gov. Aggregation   COH             190862140015                Gas           Gov. Aggregation
VEDO         4016563852341162            Gas           Gov. Aggregation   COH             192627580019                Gas           Gov. Aggregation
VEDO         4018528942479563            Gas           Gov. Aggregation   COH             192850520018                Gas           Gov. Aggregation
VEDO         4017021012584211            Gas           Gov. Aggregation   COH             192965890018                Gas           Gov. Aggregation
VEDO         4016499362231316            Gas           Gov. Aggregation   COH             193196990017                Gas           Gov. Aggregation
VEDO         4016811202199026            Gas           Gov. Aggregation   COH             193520700018                Gas           Gov. Aggregation
VEDO         4017562142436261            Gas           Gov. Aggregation   COH             194588860012                Gas           Gov. Aggregation
VEDO         4002902082285196            Gas           Gov. Aggregation   COH             194634950014                Gas           Gov. Aggregation
VEDO         4004679782181282            Gas           Gov. Aggregation   COH             194711840013                Gas           Gov. Aggregation
VEDO         4004845412493474            Gas           Gov. Aggregation   COH             194895380012                Gas           Gov. Aggregation
VEDO         4004988532509389            Gas           Gov. Aggregation   COH             195015380015                Gas           Gov. Aggregation
VEDO         4016925862398869            Gas           Gov. Aggregation   COH             195029740010                Gas           Gov. Aggregation
VEDO         4003165882181033            Gas           Gov. Aggregation   COH             125273740035                Gas           Gov. Aggregation
VEDO         4002397662234634            Gas           Gov. Aggregation   COH             135750600049                Gas           Gov. Aggregation
VEDO         4018800972485081            Gas           Gov. Aggregation   COH             141314650027                Gas           Gov. Aggregation
VEDO         4004829852491729            Gas           Gov. Aggregation   COH             143623110023                Gas           Gov. Aggregation
VEDO         4018497852358832            Gas           Gov. Aggregation   COH             157182730014                Gas           Gov. Aggregation
VEDO         4004176102241161            Gas           Gov. Aggregation   COH             160262350019                Gas           Gov. Aggregation
VEDO         4004034932404496            Gas           Gov. Aggregation   COH             161257610014                Gas           Gov. Aggregation
VEDO         4015663782150740            Gas           Gov. Aggregation   COH             161619440012                Gas           Gov. Aggregation
VEDO         4004866802495861            Gas           Gov. Aggregation   COH             163823890022                Gas           Gov. Aggregation
VEDO         4001291712127446            Gas           Gov. Aggregation   COH             164387020010                Gas           Gov. Aggregation
VEDO         4005159392157147            Gas           Gov. Aggregation   COH             164626920013                Gas           Gov. Aggregation
VEDO         4001191102118058            Gas           Gov. Aggregation   COH             164892260019                Gas           Gov. Aggregation
VEDO         4016670412577639            Gas           Gov. Aggregation   COH             171615190011                Gas           Gov. Aggregation
VEDO         4004088682410349            Gas           Gov. Aggregation   COH             172304440016                Gas           Gov. Aggregation
VEDO         4018789992205750            Gas           Gov. Aggregation   COH             172326350019                Gas           Gov. Aggregation
VEDO         4002701172361101            Gas           Gov. Aggregation   COH             173467210019                Gas           Gov. Aggregation
VEDO         4016690582316048            Gas           Gov. Aggregation   COH             175729330016                Gas           Gov. Aggregation
VEDO         4001884102183830            Gas           Gov. Aggregation   COH             190509400018                Gas           Gov. Aggregation
VEDO         4017392172359938            Gas           Gov. Aggregation   COH             193041550016                Gas           Gov. Aggregation
VEDO         4017201292324647            Gas           Gov. Aggregation   COH             193359200016                Gas           Gov. Aggregation
VEDO         4015992662558035            Gas           Gov. Aggregation   COH             193507030017                Gas           Gov. Aggregation
VEDO         4002868772343099            Gas           Gov. Aggregation   COH             122624210034                Gas           Gov. Aggregation
VEDO         4015717992550787            Gas           Gov. Aggregation   COH             124437770023                Gas           Gov. Aggregation
VEDO         4018562512477837            Gas           Gov. Aggregation   COH             124448490047                Gas           Gov. Aggregation
VEDO         4016346952357096            Gas           Gov. Aggregation   COH             124460550039                Gas           Gov. Aggregation
VEDO         4004970412507352            Gas           Gov. Aggregation   COH             124465340024                Gas           Gov. Aggregation
VEDO         4001216402537954            Gas           Gov. Aggregation   COH             124468920035                Gas           Gov. Aggregation
VEDO         4018942742586724            Gas           Gov. Aggregation   COH             124475840046                Gas           Gov. Aggregation
VEDO         4017367882537949            Gas           Gov. Aggregation   COH             124504600025                Gas           Gov. Aggregation
VEDO         4002648992562241            Gas           Gov. Aggregation   COH             125184780027                Gas           Gov. Aggregation
VEDO         4004033582594513            Gas           Gov. Aggregation   COH             125284450024                Gas           Gov. Aggregation
VEDO         4018185172390316            Gas           Gov. Aggregation   COH             125315770020                Gas           Gov. Aggregation
VEDO         4003842362410418            Gas           Gov. Aggregation   COH             125334630029                Gas           Gov. Aggregation
VEDO         4003263962151802            Gas           Gov. Aggregation   COH             126822320028                Gas           Gov. Aggregation
VEDO         4017183062426818            Gas           Gov. Aggregation   COH             127167820022                Gas           Gov. Aggregation
VEDO         4018024922591255            Gas           Gov. Aggregation   COH             130210670017                Gas           Gov. Aggregation
VEDO         4018459062628034            Gas           Gov. Aggregation   COH             134112130032                Gas           Gov. Aggregation
VEDO         4004675002628027            Gas           Gov. Aggregation   COH             135010400030                Gas           Gov. Aggregation
VEDO         4004022692628029            Gas           Gov. Aggregation   COH             135169800022                Gas           Gov. Aggregation
VEDO         4002862452628009            Gas           Gov. Aggregation   COH             135681170029                Gas           Gov. Aggregation
VEDO         4016844122460708            Gas           Gov. Aggregation   COH             135787080042                Gas           Gov. Aggregation
VEDO         4001014302180308            Gas           Gov. Aggregation   COH             136304290021                Gas           Gov. Aggregation
VEDO         4001547992101408            Gas           Gov. Aggregation   COH             136475660022                Gas           Gov. Aggregation
VEDO         4015328932324979            Gas           Gov. Aggregation   COH             139564280020                Gas           Gov. Aggregation
VEDO         4005084682520252            Gas           Gov. Aggregation   COH             139615530028                Gas           Gov. Aggregation
VEDO         4003704372368787            Gas           Gov. Aggregation   COH             140203850021                Gas           Gov. Aggregation
VEDO         4015386552603136            Gas           Gov. Aggregation   COH             140613860048                Gas           Gov. Aggregation
VEDO         4003980742228740            Gas           Gov. Aggregation   COH             140895790029                Gas           Gov. Aggregation
VEDO         4004604742466980            Gas           Gov. Aggregation   COH             141464520036                Gas           Gov. Aggregation
VEDO         4004972082507538            Gas           Gov. Aggregation   COH             141486690026                Gas           Gov. Aggregation
VEDO         4004785402469858            Gas           Gov. Aggregation   COH             141745110036                Gas           Gov. Aggregation
VEDO         4003032142298624            Gas           Gov. Aggregation   COH             142770550021                Gas           Gov. Aggregation
VEDO         4016624142149657            Gas           Gov. Aggregation   COH             143093230032                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4001697582165687            Gas           Gov. Aggregation   COH             143735200045                Gas           Gov. Aggregation
VEDO         4003393162336122            Gas           Gov. Aggregation   COH             143768650015                Gas           Gov. Aggregation
VEDO         4018807182133768            Gas           Gov. Aggregation   COH             144199380063                Gas           Gov. Aggregation
VEDO         4004742002482034            Gas           Gov. Aggregation   COH             144206530028                Gas           Gov. Aggregation
VEDO         4016659372492615            Gas           Gov. Aggregation   COH             144413540036                Gas           Gov. Aggregation
VEDO         4002430762237958            Gas           Gov. Aggregation   COH             145993940024                Gas           Gov. Aggregation
VEDO         4003138302309572            Gas           Gov. Aggregation   COH             146130950038                Gas           Gov. Aggregation
VEDO         4002754222270295            Gas           Gov. Aggregation   COH             146130950047                Gas           Gov. Aggregation
VEDO         4017839562162030            Gas           Gov. Aggregation   COH             146748050038                Gas           Gov. Aggregation
VEDO         4003818432381047            Gas           Gov. Aggregation   COH             146787090029                Gas           Gov. Aggregation
VEDO         4004647742471772            Gas           Gov. Aggregation   COH             147242230031                Gas           Gov. Aggregation
VEDO         4003367872430369            Gas           Gov. Aggregation   COH             147451780033                Gas           Gov. Aggregation
VEDO         4017801972357212            Gas           Gov. Aggregation   COH             148130120021                Gas           Gov. Aggregation
VEDO         4016501242602392            Gas           Gov. Aggregation   COH             150688650034                Gas           Gov. Aggregation
VEDO         4016897662615114            Gas           Gov. Aggregation   COH             150737030020                Gas           Gov. Aggregation
VEDO         4018839032605966            Gas           Gov. Aggregation   COH             150828000041                Gas           Gov. Aggregation
VEDO         4016997032606793            Gas           Gov. Aggregation   COH             151086770034                Gas           Gov. Aggregation
VEDO         4001872072615113            Gas           Gov. Aggregation   COH             151101390021                Gas           Gov. Aggregation
VEDO         4017071072126539            Gas           Gov. Aggregation   COH             151230890023                Gas           Gov. Aggregation
VEDO         4018852592391312            Gas           Gov. Aggregation   COH             151477800047                Gas           Gov. Aggregation
VEDO         4003045262299933            Gas           Gov. Aggregation   COH             151899190024                Gas           Gov. Aggregation
VEDO         4010063532345887            Gas           Gov. Aggregation   COH             152241020049                Gas           Gov. Aggregation
VEDO         4015029992125970            Gas           Gov. Aggregation   COH             154245370019                Gas           Gov. Aggregation
VEDO         4017566662431773            Gas           Gov. Aggregation   COH             154464520022                Gas           Gov. Aggregation
VEDO         4001469992143986            Gas           Gov. Aggregation   COH             154518030020                Gas           Gov. Aggregation
VEDO         4004108562412522            Gas           Gov. Aggregation   COH             154839500021                Gas           Gov. Aggregation
VEDO         4001591082485757            Gas           Gov. Aggregation   COH             155119190031                Gas           Gov. Aggregation
VEDO         4004393732443677            Gas           Gov. Aggregation   COH             156499690031                Gas           Gov. Aggregation
VEDO         4002114972178597            Gas           Gov. Aggregation   COH             156652060055                Gas           Gov. Aggregation
VEDO         4016607702152139            Gas           Gov. Aggregation   COH             156720930020                Gas           Gov. Aggregation
VEDO         4003780332376919            Gas           Gov. Aggregation   COH             156790850011                Gas           Gov. Aggregation
VEDO         4004274642294312            Gas           Gov. Aggregation   COH             156846650014                Gas           Gov. Aggregation
VEDO         4018833132482597            Gas           Gov. Aggregation   COH             157000220024                Gas           Gov. Aggregation
VEDO         4004064172407667            Gas           Gov. Aggregation   COH             157886080055                Gas           Gov. Aggregation
VEDO         4002200742215188            Gas           Gov. Aggregation   COH             158057860011                Gas           Gov. Aggregation
VEDO         4002031872331576            Gas           Gov. Aggregation   COH             158421290018                Gas           Gov. Aggregation
VEDO         4018558172397242            Gas           Gov. Aggregation   COH             158705660027                Gas           Gov. Aggregation
VEDO         4003770932375900            Gas           Gov. Aggregation   COH             159283850031                Gas           Gov. Aggregation
VEDO         4002700192264913            Gas           Gov. Aggregation   COH             159324840026                Gas           Gov. Aggregation
VEDO         4017043332274077            Gas           Gov. Aggregation   COH             159427060013                Gas           Gov. Aggregation
VEDO         4003948782395169            Gas           Gov. Aggregation   COH             159717430029                Gas           Gov. Aggregation
VEDO         4001211152119951            Gas           Gov. Aggregation   COH             159783290020                Gas           Gov. Aggregation
VEDO         4018841732121768            Gas           Gov. Aggregation   COH             159892840014                Gas           Gov. Aggregation
VEDO         4010031232312446            Gas           Gov. Aggregation   COH             159916530035                Gas           Gov. Aggregation
VEDO         4017681322290885            Gas           Gov. Aggregation   COH             160826340024                Gas           Gov. Aggregation
VEDO         4018510782256756            Gas           Gov. Aggregation   COH             160890630019                Gas           Gov. Aggregation
VEDO         4001449712142084            Gas           Gov. Aggregation   COH             161085650011                Gas           Gov. Aggregation
VEDO         4016632282263534            Gas           Gov. Aggregation   COH             161308570014                Gas           Gov. Aggregation
VEDO         4004985532509066            Gas           Gov. Aggregation   COH             161343680026                Gas           Gov. Aggregation
VEDO         4018585062232165            Gas           Gov. Aggregation   COH             161360690019                Gas           Gov. Aggregation
VEDO         4001019592121875            Gas           Gov. Aggregation   COH             163099490023                Gas           Gov. Aggregation
VEDO         4017168952491274            Gas           Gov. Aggregation   COH             163104850015                Gas           Gov. Aggregation
VEDO         4004428652403150            Gas           Gov. Aggregation   COH             163325450011                Gas           Gov. Aggregation
VEDO         4016625052395878            Gas           Gov. Aggregation   COH             163713690018                Gas           Gov. Aggregation
VEDO         4015266852217744            Gas           Gov. Aggregation   COH             164345490010                Gas           Gov. Aggregation
VEDO         4003973212397751            Gas           Gov. Aggregation   COH             164352580016                Gas           Gov. Aggregation
VEDO         4017316262231005            Gas           Gov. Aggregation   COH             164450430019                Gas           Gov. Aggregation
VEDO         4017379022220906            Gas           Gov. Aggregation   COH             164591380012                Gas           Gov. Aggregation
VEDO         4018665562456572            Gas           Gov. Aggregation   COH             164813120014                Gas           Gov. Aggregation
VEDO         4018388832114891            Gas           Gov. Aggregation   COH             164849710015                Gas           Gov. Aggregation
VEDO         4002117162206873            Gas           Gov. Aggregation   COH             164919280017                Gas           Gov. Aggregation
VEDO         4004406932445173            Gas           Gov. Aggregation   COH             165770990013                Gas           Gov. Aggregation
VEDO         4004220262424731            Gas           Gov. Aggregation   COH             165774790017                Gas           Gov. Aggregation
VEDO         4001630642102358            Gas           Gov. Aggregation   COH             165908760018                Gas           Gov. Aggregation
VEDO         4017183772489917            Gas           Gov. Aggregation   COH             165936970051                Gas           Gov. Aggregation
VEDO         4002321022172008            Gas           Gov. Aggregation   COH             165937240016                Gas           Gov. Aggregation
VEDO         4002292732406783            Gas           Gov. Aggregation   COH             165950580026                Gas           Gov. Aggregation
VEDO         4004581672100246            Gas           Gov. Aggregation   COH             166038480011                Gas           Gov. Aggregation
VEDO         4004581672242909            Gas           Gov. Aggregation   COH             166911940012                Gas           Gov. Aggregation
VEDO         4004470392452014            Gas           Gov. Aggregation   COH             167066080024                Gas           Gov. Aggregation
VEDO         4002875852282580            Gas           Gov. Aggregation   COH             167103270015                Gas           Gov. Aggregation
VEDO         4003723252370832            Gas           Gov. Aggregation   COH             167187440013                Gas           Gov. Aggregation
VEDO         4015346942278317            Gas           Gov. Aggregation   COH             167187490013                Gas           Gov. Aggregation
VEDO         4017597542435206            Gas           Gov. Aggregation   COH             167204980012                Gas           Gov. Aggregation
VEDO         4015855802338821            Gas           Gov. Aggregation   COH             167303260013                Gas           Gov. Aggregation
VEDO         4015142272480141            Gas           Gov. Aggregation   COH             167322900018                Gas           Gov. Aggregation
VEDO         4001630612159429            Gas           Gov. Aggregation   COH             167598780020                Gas           Gov. Aggregation
VEDO         4017100092353307            Gas           Gov. Aggregation   COH             167695600021                Gas           Gov. Aggregation
VEDO         4018895322164232            Gas           Gov. Aggregation   COH             167724960014                Gas           Gov. Aggregation
VEDO         4003935222393762            Gas           Gov. Aggregation   COH             167724970012                Gas           Gov. Aggregation
VEDO         4002082402203525            Gas           Gov. Aggregation   COH             167757900017                Gas           Gov. Aggregation
VEDO         4004154292417458            Gas           Gov. Aggregation   COH             167815250038                Gas           Gov. Aggregation
VEDO         4016825302528518            Gas           Gov. Aggregation   COH             168178470015                Gas           Gov. Aggregation
VEDO         4018966602383806            Gas           Gov. Aggregation   COH             168234690028                Gas           Gov. Aggregation
VEDO         4001275232282734            Gas           Gov. Aggregation   COH             168234850033                Gas           Gov. Aggregation
VEDO         4003970142397428            Gas           Gov. Aggregation   COH             168283210016                Gas           Gov. Aggregation
VEDO         4018626882638350            Gas           Gov. Aggregation   COH             168410930023                Gas           Gov. Aggregation
VEDO         4003972762397700            Gas           Gov. Aggregation   COH             168432590010                Gas           Gov. Aggregation
VEDO         4002087872204042            Gas           Gov. Aggregation   COH             168618950010                Gas           Gov. Aggregation
VEDO         4003371122629782            Gas           Gov. Aggregation   COH             168655320014                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4003492222181938            Gas           Gov. Aggregation   COH             169370510017                Gas           Gov. Aggregation
VEDO         4018949572258054            Gas           Gov. Aggregation   COH             169401940010                Gas           Gov. Aggregation
VEDO         4002888342322107            Gas           Gov. Aggregation   COH             169428120016                Gas           Gov. Aggregation
VEDO         4016303522264319            Gas           Gov. Aggregation   COH             169556120015                Gas           Gov. Aggregation
VEDO         4001501702146950            Gas           Gov. Aggregation   COH             169705730029                Gas           Gov. Aggregation
VEDO         4001033322564643            Gas           Gov. Aggregation   COH             169835150017                Gas           Gov. Aggregation
VEDO         4001791422174893            Gas           Gov. Aggregation   COH             170326380015                Gas           Gov. Aggregation
VEDO         4018209132108415            Gas           Gov. Aggregation   COH             170458950016                Gas           Gov. Aggregation
VEDO         4003492222354897            Gas           Gov. Aggregation   COH             171756720011                Gas           Gov. Aggregation
VEDO         4001127392113885            Gas           Gov. Aggregation   COH             171802000031                Gas           Gov. Aggregation
VEDO         4001375942135278            Gas           Gov. Aggregation   COH             171894630018                Gas           Gov. Aggregation
VEDO         4010015342332138            Gas           Gov. Aggregation   COH             172102600029                Gas           Gov. Aggregation
VEDO         4002215752185956            Gas           Gov. Aggregation   COH             172270220015                Gas           Gov. Aggregation
VEDO         4001598622156945            Gas           Gov. Aggregation   COH             173946020022                Gas           Gov. Aggregation
VEDO         4018132522182913            Gas           Gov. Aggregation   COH             173957440012                Gas           Gov. Aggregation
VEDO         4003293702325582            Gas           Gov. Aggregation   COH             173988240019                Gas           Gov. Aggregation
VEDO         4003766102375420            Gas           Gov. Aggregation   COH             174059930012                Gas           Gov. Aggregation
VEDO         4017041592202624            Gas           Gov. Aggregation   COH             174294500014                Gas           Gov. Aggregation
VEDO         4001224352121188            Gas           Gov. Aggregation   COH             177526270017                Gas           Gov. Aggregation
VEDO         4002351552338157            Gas           Gov. Aggregation   COH             177555750015                Gas           Gov. Aggregation
VEDO         4001243042122899            Gas           Gov. Aggregation   COH             177581940010                Gas           Gov. Aggregation
VEDO         4002790542274011            Gas           Gov. Aggregation   COH             177584380030                Gas           Gov. Aggregation
VEDO         4018201792503389            Gas           Gov. Aggregation   COH             177602790016                Gas           Gov. Aggregation
VEDO         4018699942219592            Gas           Gov. Aggregation   COH             177667120029                Gas           Gov. Aggregation
VEDO         4002948482298516            Gas           Gov. Aggregation   COH             185506000015                Gas           Gov. Aggregation
VEDO         4017284782443753            Gas           Gov. Aggregation   COH             185640970018                Gas           Gov. Aggregation
VEDO         4018476562169566            Gas           Gov. Aggregation   COH             185666450022                Gas           Gov. Aggregation
VEDO         4015866122313676            Gas           Gov. Aggregation   COH             185724490011                Gas           Gov. Aggregation
VEDO         4016745952551621            Gas           Gov. Aggregation   COH             185753010010                Gas           Gov. Aggregation
VEDO         4018858302325136            Gas           Gov. Aggregation   COH             186056750012                Gas           Gov. Aggregation
VEDO         4018138422105976            Gas           Gov. Aggregation   COH             186071800037                Gas           Gov. Aggregation
VEDO         4016371962554037            Gas           Gov. Aggregation   COH             186553240015                Gas           Gov. Aggregation
VEDO         4018368012531878            Gas           Gov. Aggregation   COH             186593850013                Gas           Gov. Aggregation
VEDO         4016808612596918            Gas           Gov. Aggregation   COH             186623390015                Gas           Gov. Aggregation
VEDO         4018121432617489            Gas           Gov. Aggregation   COH             187136600012                Gas           Gov. Aggregation
VEDO         4016288712479029            Gas           Gov. Aggregation   COH             188664120013                Gas           Gov. Aggregation
VEDO         4015242632463585            Gas           Gov. Aggregation   COH             188764300013                Gas           Gov. Aggregation
VEDO         4004947052461553            Gas           Gov. Aggregation   COH             188773500012                Gas           Gov. Aggregation
VEDO         4001319012505169            Gas           Gov. Aggregation   COH             189227020019                Gas           Gov. Aggregation
VEDO         4018613552335278            Gas           Gov. Aggregation   COH             189357260014                Gas           Gov. Aggregation
VEDO         4017996912119180            Gas           Gov. Aggregation   COH             189530020016                Gas           Gov. Aggregation
VEDO         4017014022459180            Gas           Gov. Aggregation   COH             189698440014                Gas           Gov. Aggregation
VEDO         4001719052167760            Gas           Gov. Aggregation   COH             191146470013                Gas           Gov. Aggregation
VEDO         4003428932339820            Gas           Gov. Aggregation   COH             191254220016                Gas           Gov. Aggregation
VEDO         4003821632381393            Gas           Gov. Aggregation   COH             192048630025                Gas           Gov. Aggregation
VEDO         4017141312450348            Gas           Gov. Aggregation   COH             192106880010                Gas           Gov. Aggregation
VEDO         4003402922337155            Gas           Gov. Aggregation   COH             192215170018                Gas           Gov. Aggregation
VEDO         4015076252410149            Gas           Gov. Aggregation   COH             192406670018                Gas           Gov. Aggregation
VEDO         4010128582374938            Gas           Gov. Aggregation   COH             193649450019                Gas           Gov. Aggregation
VEDO         4015700412367411            Gas           Gov. Aggregation   COH             193720830017                Gas           Gov. Aggregation
VEDO         4010128562225339            Gas           Gov. Aggregation   COH             194228980019                Gas           Gov. Aggregation
VEDO         4001603982156891            Gas           Gov. Aggregation   COH             195029710016                Gas           Gov. Aggregation
VEDO         4001325932130636            Gas           Gov. Aggregation   COH             195036680018                Gas           Gov. Aggregation
VEDO         4001127392267679            Gas           Gov. Aggregation   COH             195040360016                Gas           Gov. Aggregation
VEDO         4001322492161290            Gas           Gov. Aggregation   COH             195136510011                Gas           Gov. Aggregation
VEDO         4001292992130320            Gas           Gov. Aggregation   COH             195463210011                Gas           Gov. Aggregation
VEDO         4002503842467056            Gas           Gov. Aggregation   COH             195463260011                Gas           Gov. Aggregation
VEDO         4004101742423277            Gas           Gov. Aggregation   COH             172790300025                Gas           Gov. Aggregation
VEDO         4018437062628125            Gas           Gov. Aggregation   COH             173441510010                Gas           Gov. Aggregation
VEDO         4015517072324197            Gas           Gov. Aggregation   COH             188571920012                Gas           Gov. Aggregation
VEDO         4018610332142850            Gas           Gov. Aggregation   COH             192238050015                Gas           Gov. Aggregation
VEDO         4001555322320756            Gas           Gov. Aggregation   COH             125137780026                Gas           Gov. Aggregation
VEDO         4001127392112121            Gas           Gov. Aggregation   COH             164824100015                Gas           Gov. Aggregation
VEDO         4016589572292863            Gas           Gov. Aggregation   COH             175623830015                Gas           Gov. Aggregation
VEDO         4018536312461350            Gas           Gov. Aggregation   COH             192231210015                Gas           Gov. Aggregation
VEDO         4004487562453927            Gas           Gov. Aggregation   COH             124449250027                Gas           Gov. Aggregation
VEDO         4018369322363850            Gas           Gov. Aggregation   COH             159949490017                Gas           Gov. Aggregation
VEDO         4002078052203121            Gas           Gov. Aggregation   COH             192728460010                Gas           Gov. Aggregation
VEDO         4002215752580873            Gas           Gov. Aggregation   COH             141376010030                Gas           Gov. Aggregation
VEDO         4017171662401750            Gas           Gov. Aggregation   COH             150121840016                Gas           Gov. Aggregation
VEDO         4004212922423889            Gas           Gov. Aggregation   COH             159048390027                Gas           Gov. Aggregation
VEDO         4001013542297796            Gas           Gov. Aggregation   COH             124916910027                Gas           Gov. Aggregation
VEDO         4015332222155863            Gas           Gov. Aggregation   COH             126927280016                Gas           Gov. Aggregation
VEDO         4018290782195418            Gas           Gov. Aggregation   COH             129535660014                Gas           Gov. Aggregation
VEDO         4017864742523918            Gas           Gov. Aggregation   COH             130742690016                Gas           Gov. Aggregation
VEDO         4002846752279703            Gas           Gov. Aggregation   COH             132427850018                Gas           Gov. Aggregation
VEDO         4017837072277736            Gas           Gov. Aggregation   COH             134917760034                Gas           Gov. Aggregation
VEDO         4002294982125257            Gas           Gov. Aggregation   COH             135179980024                Gas           Gov. Aggregation
VEDO         4001479052144868            Gas           Gov. Aggregation   COH             185925880013                Gas           Gov. Aggregation
VEDO         4002122332210569            Gas           Gov. Aggregation   COH             187386300016                Gas           Gov. Aggregation
VEDO         4017312072511061            Gas           Gov. Aggregation   COH             190646500017                Gas           Gov. Aggregation
VEDO         4001300602128295            Gas           Gov. Aggregation   COH             191514960019                Gas           Gov. Aggregation
VEDO         4002679152262808            Gas           Gov. Aggregation   COH             124327020023                Gas           Gov. Aggregation
VEDO         4003271662323279            Gas           Gov. Aggregation   COH             124351200024                Gas           Gov. Aggregation
VEDO         4004697652477245            Gas           Gov. Aggregation   COH             124352290015                Gas           Gov. Aggregation
VEDO         4004395772317031            Gas           Gov. Aggregation   COH             124352420017                Gas           Gov. Aggregation
VEDO         4016850482252194            Gas           Gov. Aggregation   COH             124352490013                Gas           Gov. Aggregation
VEDO         4001718582167701            Gas           Gov. Aggregation   COH             124352610017                Gas           Gov. Aggregation
VEDO         4003659742364076            Gas           Gov. Aggregation   COH             124352620015                Gas           Gov. Aggregation
VEDO         4004826012491263            Gas           Gov. Aggregation   COH             124353150012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4015504402416729            Gas           Gov. Aggregation   VEDO            4003412852338155            Gas           Gov. Aggregation
VEDO            4010089272338775            Gas           Gov. Aggregation   COH             111169630017                Gas           Gov. Aggregation
VEDO            4004520112457602            Gas           Gov. Aggregation   COH             173215330017                Gas           Gov. Aggregation
VEDO            4018312902337306            Gas           Gov. Aggregation   COH             109466410017                Gas           Gov. Aggregation
VEDO            4018899482119247            Gas           Gov. Aggregation   COH             133160950012                Gas           Gov. Aggregation
COH             116975950025                Gas           Gov. Aggregation   COH             111192620010                Gas           Gov. Aggregation
COH             142837010040                Gas           Gov. Aggregation   COH             132960480025                Gas           Gov. Aggregation
COH             163943780021                Gas           Gov. Aggregation   COH             111169080013                Gas           Gov. Aggregation
COH             159057580019                Gas           Gov. Aggregation   COH             144574380012                Gas           Gov. Aggregation
COH             142538460022                Gas           Gov. Aggregation   COH             111169590016                Gas           Gov. Aggregation
COH             142067510039                Gas           Gov. Aggregation   COH             147013990019                Gas           Gov. Aggregation
COH             111170240016                Gas           Gov. Aggregation   COH             138589870016                Gas           Gov. Aggregation
COH             111175520026                Gas           Gov. Aggregation   VEDO            4019049162195821            Gas           Gov. Aggregation
COH             111175830021                Gas           Gov. Aggregation   COH             110475780027                Gas           Gov. Aggregation
COH             111187440340                Gas           Gov. Aggregation   COH             122272610037                Gas           Gov. Aggregation
COH             111189960016                Gas           Gov. Aggregation   COH             130065970095                Gas           Gov. Aggregation
COH             130864190013                Gas           Gov. Aggregation   COH             143522570021                Gas           Gov. Aggregation
COH             139161360027                Gas           Gov. Aggregation   COH             144791730036                Gas           Gov. Aggregation
COH             140593600019                Gas           Gov. Aggregation   COH             146910900123                Gas           Gov. Aggregation
COH             141176880023                Gas           Gov. Aggregation   COH             147141120038                Gas           Gov. Aggregation
COH             141337200014                Gas           Gov. Aggregation   COH             149731120053                Gas           Gov. Aggregation
COH             141744920029                Gas           Gov. Aggregation   COH             157115920024                Gas           Gov. Aggregation
COH             142956330014                Gas           Gov. Aggregation   COH             157471330042                Gas           Gov. Aggregation
COH             143653530013                Gas           Gov. Aggregation   COH             158017320027                Gas           Gov. Aggregation
COH             148614740016                Gas           Gov. Aggregation   COH             159276350111                Gas           Gov. Aggregation
COH             152202970015                Gas           Gov. Aggregation   COH             159616590093                Gas           Gov. Aggregation
COH             157546870040                Gas           Gov. Aggregation   COH             159718510075                Gas           Gov. Aggregation
COH             157631170019                Gas           Gov. Aggregation   COH             166940220094                Gas           Gov. Aggregation
COH             159040030019                Gas           Gov. Aggregation   COH             167038660012                Gas           Gov. Aggregation
COH             162279700018                Gas           Gov. Aggregation   COH             167851110031                Gas           Gov. Aggregation
COH             167302060017                Gas           Gov. Aggregation   COH             174845630018                Gas           Gov. Aggregation
COH             168558020022                Gas           Gov. Aggregation   COH             175141270024                Gas           Gov. Aggregation
COH             171983510014                Gas           Gov. Aggregation   COH             188073160027                Gas           Gov. Aggregation
COH             172976490013                Gas           Gov. Aggregation   COH             188506740035                Gas           Gov. Aggregation
COH             187358850010                Gas           Gov. Aggregation   COH             189268890039                Gas           Gov. Aggregation
COH             190355520038                Gas           Gov. Aggregation   COH             192671740021                Gas           Gov. Aggregation
COH             190576980016                Gas           Gov. Aggregation   COH             195323290011                Gas           Gov. Aggregation
COH             190714390016                Gas           Gov. Aggregation   COH             195344210013                Gas           Gov. Aggregation
COH             191030890010                Gas           Gov. Aggregation   COH             195406360010                Gas           Gov. Aggregation
COH             191045740010                Gas           Gov. Aggregation   COH             195458300013                Gas           Gov. Aggregation
COH             192526770013                Gas           Gov. Aggregation   COH             195476340017                Gas           Gov. Aggregation
COH             192778430011                Gas           Gov. Aggregation   COH             195479490010                Gas           Gov. Aggregation
COH             193583870011                Gas           Gov. Aggregation   COH             195498750015                Gas           Gov. Aggregation
COH             193614950017                Gas           Gov. Aggregation   COH             195500230017                Gas           Gov. Aggregation
COH             193711710011                Gas           Gov. Aggregation   COH             195517490018                Gas           Gov. Aggregation
COH             193716700013                Gas           Gov. Aggregation   COH             195532050018                Gas           Gov. Aggregation
COH             193942030015                Gas           Gov. Aggregation   COH             195545450017                Gas           Gov. Aggregation
COH             194008080014                Gas           Gov. Aggregation   COH             195554090014                Gas           Gov. Aggregation
COH             194050180014                Gas           Gov. Aggregation   COH             195554170017                Gas           Gov. Aggregation
COH             194203910015                Gas           Gov. Aggregation   COH             195554820010                Gas           Gov. Aggregation
COH             194228600018                Gas           Gov. Aggregation   COH             195568850015                Gas           Gov. Aggregation
COH             194293270011                Gas           Gov. Aggregation   COH             195575550013                Gas           Gov. Aggregation
COH             194304730019                Gas           Gov. Aggregation   COH             195590450012                Gas           Gov. Aggregation
COH             111193090010                Gas           Gov. Aggregation   COH             195591950015                Gas           Gov. Aggregation
COH             111188620019                Gas           Gov. Aggregation   COH             195605950014                Gas           Gov. Aggregation
COH             111180010013                Gas           Gov. Aggregation   COH             195606500016                Gas           Gov. Aggregation
COH             111175340033                Gas           Gov. Aggregation   COH             195606520012                Gas           Gov. Aggregation
COH             111188460013                Gas           Gov. Aggregation   COH             195607940012                Gas           Gov. Aggregation
COH             152849830014                Gas           Gov. Aggregation   COH             195614700017                Gas           Gov. Aggregation
COH             134672460019                Gas           Gov. Aggregation   COH             195619490012                Gas           Gov. Aggregation
COH             111144890015                Gas           Gov. Aggregation   COH             195625570012                Gas           Gov. Aggregation
COH             111188590016                Gas           Gov. Aggregation   COH             195650770017                Gas           Gov. Aggregation
COH             111188320012                Gas           Gov. Aggregation   COH             195652020010                Gas           Gov. Aggregation
VEDO            4017037282341436            Gas           Gov. Aggregation   COH             195652710015                Gas           Gov. Aggregation
VEDO            4001023382191446            Gas           Gov. Aggregation   COH             195659400016                Gas           Gov. Aggregation
COH             135553760017                Gas           Gov. Aggregation   COH             195706840013                Gas           Gov. Aggregation
COH             177808570016                Gas           Gov. Aggregation   COH             195707970014                Gas           Gov. Aggregation
COH             143803450020                Gas           Gov. Aggregation   COH             195727280017                Gas           Gov. Aggregation
COH             123724460039                Gas           Gov. Aggregation   DEO             1500044285014               Gas           Gov. Aggregation
COH             125783510023                Gas           Gov. Aggregation   DEO             1500047150792               Gas           Gov. Aggregation
COH             124792830028                Gas           Gov. Aggregation   DEO             2421601083027               Gas           Gov. Aggregation
COH             168417220055                Gas           Gov. Aggregation   DEO             2421602287896               Gas           Gov. Aggregation
COH             123754210010                Gas           Gov. Aggregation   DEO             2421604622543               Gas           Gov. Aggregation
COH             124013570014                Gas           Gov. Aggregation   DEO             2421605934367               Gas           Gov. Aggregation
COH             122369200047                Gas           Gov. Aggregation   DEO             2421706296112               Gas           Gov. Aggregation
COH             192360810016                Gas           Gov. Aggregation   DEO             2421803946075               Gas           Gov. Aggregation
COH             192382420012                Gas           Gov. Aggregation   DEO             3421501870142               Gas           Gov. Aggregation
COH             194370450028                Gas           Gov. Aggregation   DEO             3421601795815               Gas           Gov. Aggregation
COH             194437690017                Gas           Gov. Aggregation   DEO             3421702975717               Gas           Gov. Aggregation
COH             142846830049                Gas           Gov. Aggregation   DEO             3500005245652               Gas           Gov. Aggregation
COH             120449410036                Gas           Gov. Aggregation   DEO             5500009427318               Gas           Gov. Aggregation
COH             117336510011                Gas           Gov. Aggregation   DEO             5500024829209               Gas           Gov. Aggregation
COH             120449110011                Gas           Gov. Aggregation   DEO             5500047724946               Gas           Gov. Aggregation
COH             140639440024                Gas           Gov. Aggregation   DEO             7500019739678               Gas           Gov. Aggregation
COH             152794140070                Gas           Gov. Aggregation   DEO             7500061899178               Gas           Gov. Aggregation
COH             129445430040                Gas           Gov. Aggregation   DEO             8421701035628               Gas           Gov. Aggregation
COH             149130030065                Gas           Gov. Aggregation   DEO             8421704800173               Gas           Gov. Aggregation
COH             120160130028                Gas           Gov. Aggregation   DEO             8500011767198               Gas           Gov. Aggregation
COH             151486610011                Gas           Gov. Aggregation   DEO             8500049007187               Gas           Gov. Aggregation
COH             146637660017                Gas           Gov. Aggregation   DEO             8500050147332               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             157099920020                Gas           Gov. Aggregation   DEO             8500054988453               Gas           Gov. Aggregation
COH             156261510013                Gas           Gov. Aggregation   DEO             8500055021529               Gas           Gov. Aggregation
COH             194329120015                Gas           Gov. Aggregation   DEO             8500055476829               Gas           Gov. Aggregation
COH             194527360015                Gas           Gov. Aggregation   DEO             8500060899796               Gas           Gov. Aggregation
COH             166283760013                Gas           Gov. Aggregation   DEO             9500024167923               Gas           Gov. Aggregation
COH             169655430010                Gas           Gov. Aggregation   DEO             9500025257569               Gas           Gov. Aggregation
COH             164534980016                Gas           Gov. Aggregation   DEO             9500026845421               Gas           Gov. Aggregation
COH             171202270019                Gas           Gov. Aggregation   DEO             9500044546652               Gas           Gov. Aggregation
COH             170115230013                Gas           Gov. Aggregation   DEO             9500050815184               Gas           Gov. Aggregation
COH             171345350029                Gas           Gov. Aggregation   DEO             9500053529964               Gas           Gov. Aggregation
COH             177357890016                Gas           Gov. Aggregation   DEO             9500061197377               Gas           Gov. Aggregation
COH             164031860026                Gas           Gov. Aggregation   DEO             2500062738142               Gas           Gov. Aggregation
COH             185672550028                Gas           Gov. Aggregation   COH             194828590019                Gas           Gov. Aggregation
COH             177848430057                Gas           Gov. Aggregation   COH             195634780019                Gas           Gov. Aggregation
COH             174748880012                Gas           Gov. Aggregation   COH             192642450023                Gas           Gov. Aggregation
COH             174764110019                Gas           Gov. Aggregation   COH             194802620016                Gas           Gov. Aggregation
COH             186627210032                Gas           Gov. Aggregation   COH             194952590016                Gas           Gov. Aggregation
COH             108685840014                Gas           Gov. Aggregation   COH             195137850018                Gas           Gov. Aggregation
COH             193968970023                Gas           Gov. Aggregation   COH             195400750010                Gas           Gov. Aggregation
COH             108766330028                Gas           Gov. Aggregation   COH             150063450021                Gas           Gov. Aggregation
COH             187493930026                Gas           Gov. Aggregation   COH             168109610010                Gas           Gov. Aggregation
COH             189943790010                Gas           Gov. Aggregation   COH             172485300022                Gas           Gov. Aggregation
COH             188451350034                Gas           Gov. Aggregation   COH             194655630017                Gas           Gov. Aggregation
COH             186596480015                Gas           Gov. Aggregation   COH             194678900012                Gas           Gov. Aggregation
COH             194175840011                Gas           Gov. Aggregation   COH             136731550021                Gas           Gov. Aggregation
COH             137417610023                Gas           Gov. Aggregation   COH             139207090017                Gas           Gov. Aggregation
COH             162661440021                Gas           Gov. Aggregation   COH             194586200014                Gas           Gov. Aggregation
COH             163268090055                Gas           Gov. Aggregation   COH             195310450014                Gas           Gov. Aggregation
COH             193723540012                Gas           Gov. Aggregation   COH             195406530014                Gas           Gov. Aggregation
COH             194360080018                Gas           Gov. Aggregation   COH             195440590010                Gas           Gov. Aggregation
COH             194447150019                Gas           Gov. Aggregation   COH             195152190015                Gas           Gov. Aggregation
COH             194386840014                Gas           Gov. Aggregation   COH             194721200016                Gas           Gov. Aggregation
COH             132474410011                Gas           Gov. Aggregation   COH             194487550011                Gas           Gov. Aggregation
COH             161056610010                Gas           Gov. Aggregation   COH             195367090011                Gas           Gov. Aggregation
COH             191913310019                Gas           Gov. Aggregation   COH             164941370066                Gas           Gov. Aggregation
COH             176925080030                Gas           Gov. Aggregation   COH             111261980045                Gas           Gov. Aggregation
COH             185768780018                Gas           Gov. Aggregation   COH             111270450010                Gas           Gov. Aggregation
COH             194531300018                Gas           Gov. Aggregation   COH             154011420031                Gas           Gov. Aggregation
COH             194605480014                Gas           Gov. Aggregation   COH             148683970022                Gas           Gov. Aggregation
COH             162310330018                Gas           Gov. Aggregation   COH             190873250046                Gas           Gov. Aggregation
COH             192314140014                Gas           Gov. Aggregation   COH             193353840032                Gas           Gov. Aggregation
COH             186749910037                Gas           Gov. Aggregation   COH             185860760034                Gas           Gov. Aggregation
COH             194430000015                Gas           Gov. Aggregation   COH             123884540034                Gas           Gov. Aggregation
COH             194474600017                Gas           Gov. Aggregation   COH             195420750018                Gas           Gov. Aggregation
COH             194577300012                Gas           Gov. Aggregation   COH             186679190038                Gas           Gov. Aggregation
COH             194376350018                Gas           Gov. Aggregation   COH             194066120013                Gas           Gov. Aggregation
COH             194391510012                Gas           Gov. Aggregation   COH             185836870041                Gas           Gov. Aggregation
COH             194472670017                Gas           Gov. Aggregation   COH             194474660015                Gas           Gov. Aggregation
COH             194474700016                Gas           Gov. Aggregation   COH             195106360016                Gas           Gov. Aggregation
COH             194525750017                Gas           Gov. Aggregation   COH             194697740016                Gas           Gov. Aggregation
COH             194446920019                Gas           Gov. Aggregation   COH             194189660029                Gas           Gov. Aggregation
COH             166708520011                Gas           Gov. Aggregation   COH             194675740012                Gas           Gov. Aggregation
COH             138396580089                Gas           Gov. Aggregation   COH             153273210096                Gas           Gov. Aggregation
COH             140413030028                Gas           Gov. Aggregation   COH             162889660149                Gas           Gov. Aggregation
COH             148418090019                Gas           Gov. Aggregation   COH             159135470025                Gas           Gov. Aggregation
COH             153931260018                Gas           Gov. Aggregation   COH             195261570014                Gas           Gov. Aggregation
COH             194475740016                Gas           Gov. Aggregation   COH             132682100024                Gas           Gov. Aggregation
COH             194517840015                Gas           Gov. Aggregation   COH             194247520015                Gas           Gov. Aggregation
COH             126692920047                Gas           Gov. Aggregation   COH             194456160018                Gas           Gov. Aggregation
COH             137777050010                Gas           Gov. Aggregation   VEDO            4003491032223895            Gas           Gov. Aggregation
COH             166407200016                Gas           Gov. Aggregation   VEDO            4003985482332484            Gas           Gov. Aggregation
COH             167274480010                Gas           Gov. Aggregation   VEDO            4003157802369876            Gas           Gov. Aggregation
COH             166415080015                Gas           Gov. Aggregation   VEDO            4003264092322526            Gas           Gov. Aggregation
COH             172640960042                Gas           Gov. Aggregation   VEDO            4003264502322570            Gas           Gov. Aggregation
COH             194533190018                Gas           Gov. Aggregation   VEDO            4003870942606304            Gas           Gov. Aggregation
COH             172309880014                Gas           Gov. Aggregation   VEDO            4001002032612006            Gas           Gov. Aggregation
COH             189929790010                Gas           Gov. Aggregation   VEDO            4001908932186318            Gas           Gov. Aggregation
COH             170031710029                Gas           Gov. Aggregation   VEDO            4001937892532932            Gas           Gov. Aggregation
COH             170056260013                Gas           Gov. Aggregation   VEDO            4002008872639841            Gas           Gov. Aggregation
COH             170979850013                Gas           Gov. Aggregation   VEDO            4002122542450120            Gas           Gov. Aggregation
COH             145998940051                Gas           Gov. Aggregation   VEDO            4001273702362624            Gas           Gov. Aggregation
COH             194474510016                Gas           Gov. Aggregation   VEDO            4001700852166007            Gas           Gov. Aggregation
COH             192250430019                Gas           Gov. Aggregation   VEDO            4016640822278722            Gas           Gov. Aggregation
COH             194405400014                Gas           Gov. Aggregation   VEDO            4017297732527513            Gas           Gov. Aggregation
COH             149161260017                Gas           Gov. Aggregation   VEDO            4017426082451071            Gas           Gov. Aggregation
COH             194498120018                Gas           Gov. Aggregation   VEDO            4017455862243474            Gas           Gov. Aggregation
COH             186391690042                Gas           Gov. Aggregation   VEDO            4017562592452505            Gas           Gov. Aggregation
COH             193372160017                Gas           Gov. Aggregation   VEDO            4017598502253583            Gas           Gov. Aggregation
COH             194521880018                Gas           Gov. Aggregation   VEDO            4018037382612709            Gas           Gov. Aggregation
COH             194522250018                Gas           Gov. Aggregation   VEDO            4017617772642468            Gas           Gov. Aggregation
COH             194400800010                Gas           Gov. Aggregation   VEDO            4017622782199620            Gas           Gov. Aggregation
COH             173384830015                Gas           Gov. Aggregation   VEDO            4017650812601602            Gas           Gov. Aggregation
COH             111149710012                Gas           Gov. Aggregation   VEDO            4018475122636519            Gas           Gov. Aggregation
COH             156083060025                Gas           Gov. Aggregation   VEDO            4018483882623354            Gas           Gov. Aggregation
COH             111186190014                Gas           Gov. Aggregation   VEDO            4018491122623372            Gas           Gov. Aggregation
COH             162208590011                Gas           Gov. Aggregation   VEDO            4017685162391268            Gas           Gov. Aggregation
COH             147397620014                Gas           Gov. Aggregation   VEDO            4017718602230227            Gas           Gov. Aggregation
VEDO            4004251722428115            Gas           Gov. Aggregation   VEDO            4018531512250688            Gas           Gov. Aggregation
COH             186601660014                Gas           Gov. Aggregation   VEDO            4004289662432302            Gas           Gov. Aggregation
COH             168768280014                Gas           Gov. Aggregation   VEDO            4004306692434125            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             153784090017                Gas           Gov. Aggregation   VEDO            4015205452623342            Gas           Gov. Aggregation
COH             111185880011                Gas           Gov. Aggregation   VEDO            4015424542261981            Gas           Gov. Aggregation
COH             173142280013                Gas           Gov. Aggregation   VEDO            4004503902267472            Gas           Gov. Aggregation
COH             111161650019                Gas           Gov. Aggregation   VEDO            4016269232431878            Gas           Gov. Aggregation
COH             111169620019                Gas           Gov. Aggregation   VEDO            4005058842296164            Gas           Gov. Aggregation
COH             165625500012                Gas           Gov. Aggregation   VEDO            4005058842517343            Gas           Gov. Aggregation
DEO             3500047044973               Gas           Gov. Aggregation   VEDO            4016320262410277            Gas           Gov. Aggregation
COH             155306260011                Gas           Gov. Aggregation   VEDO            4016400352305911            Gas           Gov. Aggregation
COH             111179860018                Gas           Gov. Aggregation   VEDO            4016416362431843            Gas           Gov. Aggregation
COH             111144940014                Gas           Gov. Aggregation   VEDO            4016451282527418            Gas           Gov. Aggregation
COH             164718070017                Gas           Gov. Aggregation   VEDO            4016466262198488            Gas           Gov. Aggregation
VEDO            4017780192210832            Gas           Gov. Aggregation   VEDO            4018915882156571            Gas           Gov. Aggregation
VEDO            4004319602435521            Gas           Gov. Aggregation   VEDO            4018947912600140            Gas           Gov. Aggregation
VEDO            4002611452256035            Gas           Gov. Aggregation   VEDO            4018580992623341            Gas           Gov. Aggregation
VEDO            4001678352163868            Gas           Gov. Aggregation   VEDO            4018967822216524            Gas           Gov. Aggregation
VEDO            4003986152399182            Gas           Gov. Aggregation   VEDO            4018993542452635            Gas           Gov. Aggregation
VEDO            4001378452135511            Gas           Gov. Aggregation   VEDO            4019011472147413            Gas           Gov. Aggregation
VEDO            4002360322230992            Gas           Gov. Aggregation   VEDO            4019011902190546            Gas           Gov. Aggregation
VEDO            4002737512268613            Gas           Gov. Aggregation   VEDO            4018617322587523            Gas           Gov. Aggregation
VEDO            4004657812557463            Gas           Gov. Aggregation   VEDO            4018634542623374            Gas           Gov. Aggregation
VEDO            4001706582166552            Gas           Gov. Aggregation   VEDO            4018642552623373            Gas           Gov. Aggregation
VEDO            4003243942399714            Gas           Gov. Aggregation   VEDO            4019027402563053            Gas           Gov. Aggregation
COH             111143730010                Gas           Gov. Aggregation   VEDO            4019030972627106            Gas           Gov. Aggregation
COH             111161750018                Gas           Gov. Aggregation   VEDO            4019052872215416            Gas           Gov. Aggregation
COH             111170830012                Gas           Gov. Aggregation   VEDO            4019060472233317            Gas           Gov. Aggregation
VEDO            4001855842412004            Gas           Gov. Aggregation   VEDO            4019085302629132            Gas           Gov. Aggregation
VEDO            4002373112232246            Gas           Gov. Aggregation   VEDO            4018702812249980            Gas           Gov. Aggregation
VEDO            4016775162602903            Gas           Gov. Aggregation   VEDO            4018853462558219            Gas           Gov. Aggregation
VEDO            4016713892604549            Gas           Gov. Aggregation   VEDO            4018860582208497            Gas           Gov. Aggregation
COH             108683870030                Gas           Gov. Aggregation   VEDO            4018867132446768            Gas           Gov. Aggregation
COH             108758130018                Gas           Gov. Aggregation   VEDO            4018881762463865            Gas           Gov. Aggregation
COH             108763960022                Gas           Gov. Aggregation   VEDO            4018896092116136            Gas           Gov. Aggregation
COH             108771060015                Gas           Gov. Aggregation   COH             111143190014                Gas           Gov. Aggregation
COH             111049910012                Gas           Gov. Aggregation   COH             167102730010                Gas           Gov. Aggregation
COH             111144030015                Gas           Gov. Aggregation   VEDO            4001584022306561            Gas           Gov. Aggregation
COH             111177000021                Gas           Gov. Aggregation   COH             165136160011                Gas           Gov. Aggregation
COH             117125440022                Gas           Gov. Aggregation   COH             111246610017                Gas           Gov. Aggregation
COH             117206020037                Gas           Gov. Aggregation   COH             193793130011                Gas           Gov. Aggregation
COH             117528100038                Gas           Gov. Aggregation   COH             193941220017                Gas           Gov. Aggregation
COH             122167300044                Gas           Gov. Aggregation   COH             116747450023                Gas           Gov. Aggregation
COH             122389740024                Gas           Gov. Aggregation   COH             194216940012                Gas           Gov. Aggregation
COH             123711190015                Gas           Gov. Aggregation   DEO             6500062831169               Gas           Gov. Aggregation
COH             124157120041                Gas           Gov. Aggregation   DEO             2500062931067               Gas           Gov. Aggregation
COH             124390590012                Gas           Gov. Aggregation   VEDO            4017984322169506            Gas           Gov. Aggregation
COH             125070540037                Gas           Gov. Aggregation   VEDO            4019163722312679            Gas           Gov. Aggregation
COH             125805690233                Gas           Gov. Aggregation   VEDO            4003598142357620            Gas           Gov. Aggregation
COH             126940120020                Gas           Gov. Aggregation   VEDO            4002731532517821            Gas           Gov. Aggregation
COH             130248050027                Gas           Gov. Aggregation   COH             124460600010                Gas           Gov. Aggregation
COH             133110920022                Gas           Gov. Aggregation   COH             152687650025                Gas           Gov. Aggregation
COH             136591530014                Gas           Gov. Aggregation   COH             162323660012                Gas           Gov. Aggregation
COH             138140200043                Gas           Gov. Aggregation   COH             192641590017                Gas           Gov. Aggregation
COH             143433170024                Gas           Gov. Aggregation   COH             188097650024                Gas           Gov. Aggregation
COH             145334000018                Gas           Gov. Aggregation   COH             165116920013                Gas           Gov. Aggregation
COH             146627670043                Gas           Gov. Aggregation   COH             187227360010                Gas           Gov. Aggregation
COH             151995380011                Gas           Gov. Aggregation   COH             147375120024                Gas           Gov. Aggregation
COH             152917270026                Gas           Gov. Aggregation   COH             147742530038                Gas           Gov. Aggregation
COH             153872280010                Gas           Gov. Aggregation   COH             144504580044                Gas           Gov. Aggregation
COH             154574410059                Gas           Gov. Aggregation   COH             154966030021                Gas           Gov. Aggregation
COH             156901020081                Gas           Gov. Aggregation   COH             148834340023                Gas           Gov. Aggregation
COH             160661010032                Gas           Gov. Aggregation   COH             176766740075                Gas           Gov. Aggregation
COH             160998650017                Gas           Gov. Aggregation   COH             176612900012                Gas           Gov. Aggregation
COH             161301050035                Gas           Gov. Aggregation   COH             190250230013                Gas           Gov. Aggregation
COH             162204330022                Gas           Gov. Aggregation   COH             195346730010                Gas           Gov. Aggregation
COH             166745840052                Gas           Gov. Aggregation   COH             195560570010                Gas           Gov. Aggregation
COH             166996480020                Gas           Gov. Aggregation   COH             188913600013                Gas           Gov. Aggregation
COH             168686450012                Gas           Gov. Aggregation   COH             148416290011                Gas           Gov. Aggregation
COH             168817370029                Gas           Gov. Aggregation   COH             151534410010                Gas           Gov. Aggregation
COH             170486960033                Gas           Gov. Aggregation   COH             136983900024                Gas           Gov. Aggregation
COH             170582830018                Gas           Gov. Aggregation   COH             124368620012                Gas           Gov. Aggregation
COH             171580440077                Gas           Gov. Aggregation   COH             124463690025                Gas           Gov. Aggregation
COH             172617720023                Gas           Gov. Aggregation   COH             124459680017                Gas           Gov. Aggregation
COH             173367960014                Gas           Gov. Aggregation   COH             124459600013                Gas           Gov. Aggregation
COH             175146370069                Gas           Gov. Aggregation   COH             163850260036                Gas           Gov. Aggregation
COH             175693740017                Gas           Gov. Aggregation   COH             124444670010                Gas           Gov. Aggregation
COH             177648470035                Gas           Gov. Aggregation   COH             124439370014                Gas           Gov. Aggregation
COH             186863720026                Gas           Gov. Aggregation   COH             140205370019                Gas           Gov. Aggregation
COH             187267830062                Gas           Gov. Aggregation   DEO             1500025539134               Gas           Gov. Aggregation
COH             189534640018                Gas           Gov. Aggregation   DEO             1500048828212               Gas           Gov. Aggregation
COH             190981160037                Gas           Gov. Aggregation   DEO             2500045886044               Gas           Gov. Aggregation
COH             191313690030                Gas           Gov. Aggregation   DEO             2500051591559               Gas           Gov. Aggregation
COH             191314760015                Gas           Gov. Aggregation   DEO             0500031167158               Gas           Gov. Aggregation
COH             191402400013                Gas           Gov. Aggregation   DEO             0500036908971               Gas           Gov. Aggregation
COH             191902880013                Gas           Gov. Aggregation   DEO             0500037600118               Gas           Gov. Aggregation
COH             192254180023                Gas           Gov. Aggregation   DEO             0500041882447               Gas           Gov. Aggregation
COH             193151630016                Gas           Gov. Aggregation   DEO             0500055174586               Gas           Gov. Aggregation
COH             194062130019                Gas           Gov. Aggregation   DEO             0500062318453               Gas           Gov. Aggregation
COH             194473260011                Gas           Gov. Aggregation   DEO             1421802373113               Gas           Gov. Aggregation
COH             194525550019                Gas           Gov. Aggregation   DEO             1500031887434               Gas           Gov. Aggregation
COH             194556770018                Gas           Gov. Aggregation   DEO             1500034645587               Gas           Gov. Aggregation
COH             194563650018                Gas           Gov. Aggregation   DEO             1500041007681               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             194564160019                Gas           Gov. Aggregation   DEO             1500044099420               Gas           Gov. Aggregation
COH             194602390019                Gas           Gov. Aggregation   DEO             1500054118229               Gas           Gov. Aggregation
COH             194605810014                Gas           Gov. Aggregation   DEO             1500060345469               Gas           Gov. Aggregation
COH             194612310014                Gas           Gov. Aggregation   DEO             1500060981115               Gas           Gov. Aggregation
COH             194612930014                Gas           Gov. Aggregation   DEO             2500062819810               Gas           Gov. Aggregation
COH             194636390018                Gas           Gov. Aggregation   DEO             3421703736454               Gas           Gov. Aggregation
COH             194636420011                Gas           Gov. Aggregation   DEO             3421803846250               Gas           Gov. Aggregation
COH             194675720016                Gas           Gov. Aggregation   DEO             3421806238985               Gas           Gov. Aggregation
COH             194687140013                Gas           Gov. Aggregation   DEO             3500034614328               Gas           Gov. Aggregation
COH             194693200017                Gas           Gov. Aggregation   DEO             3500036852939               Gas           Gov. Aggregation
COH             194712410011                Gas           Gov. Aggregation   DEO             3500042499045               Gas           Gov. Aggregation
COH             194719960012                Gas           Gov. Aggregation   DEO             3500045663891               Gas           Gov. Aggregation
COH             194730410013                Gas           Gov. Aggregation   DEO             3500052163189               Gas           Gov. Aggregation
COH             175122310016                Gas           Gov. Aggregation   DEO             3500054772627               Gas           Gov. Aggregation
VEDO            4017197832352346            Gas           Gov. Aggregation   DEO             3500055544146               Gas           Gov. Aggregation
VEDO            4001963102620405            Gas           Gov. Aggregation   DEO             3500060242651               Gas           Gov. Aggregation
VEDO            4001360602152541            Gas           Gov. Aggregation   DEO             5500045495024               Gas           Gov. Aggregation
VEDO            4001547522491528            Gas           Gov. Aggregation   DEO             5500046537987               Gas           Gov. Aggregation
VEDO            4019019612162190            Gas           Gov. Aggregation   DEO             5500047528812               Gas           Gov. Aggregation
VEDO            4019021092471982            Gas           Gov. Aggregation   DEO             5500048077292               Gas           Gov. Aggregation
VEDO            4017947612584182            Gas           Gov. Aggregation   DEO             5500048092532               Gas           Gov. Aggregation
VEDO            4004436652102057            Gas           Gov. Aggregation   DEO             5500049373084               Gas           Gov. Aggregation
VEDO            4016496982385206            Gas           Gov. Aggregation   DEO             5500054117125               Gas           Gov. Aggregation
VEDO            4019027772233424            Gas           Gov. Aggregation   DEO             5500061442717               Gas           Gov. Aggregation
VEDO            4016778202238726            Gas           Gov. Aggregation   DEO             5500062205501               Gas           Gov. Aggregation
DEO             5500039015145               Gas           Gov. Aggregation   DEO             6500053208110               Gas           Gov. Aggregation
VEDO            4001827342178339            Gas           Gov. Aggregation   DEO             6500054934868               Gas           Gov. Aggregation
VEDO            4002655932260448            Gas           Gov. Aggregation   DEO             6500060299460               Gas           Gov. Aggregation
VEDO            4016802172301818            Gas           Gov. Aggregation   DEO             6500060330712               Gas           Gov. Aggregation
VEDO            4001655282239174            Gas           Gov. Aggregation   DEO             6500062094841               Gas           Gov. Aggregation
VEDO            4005019232512843            Gas           Gov. Aggregation   DEO             6500062107945               Gas           Gov. Aggregation
VEDO            4004461832451122            Gas           Gov. Aggregation   DEO             6500062632145               Gas           Gov. Aggregation
COH             193039920013                Gas           Gov. Aggregation   DEO             7421702241763               Gas           Gov. Aggregation
COH             193615230016                Gas           Gov. Aggregation   DEO             7500034356145               Gas           Gov. Aggregation
COH             193686870013                Gas           Gov. Aggregation   DEO             7500039324398               Gas           Gov. Aggregation
COH             193848420013                Gas           Gov. Aggregation   DEO             7500044983073               Gas           Gov. Aggregation
COH             147603280017                Gas           Gov. Aggregation   DEO             7500047827225               Gas           Gov. Aggregation
COH             187396410021                Gas           Gov. Aggregation   DEO             8500045698405               Gas           Gov. Aggregation
COH             132526020058                Gas           Gov. Aggregation   DEO             8500055569051               Gas           Gov. Aggregation
COH             189386690031                Gas           Gov. Aggregation   DEO             8500060462857               Gas           Gov. Aggregation
COH             193653240014                Gas           Gov. Aggregation   DEO             8500062897833               Gas           Gov. Aggregation
COH             193726330010                Gas           Gov. Aggregation   DEO             8500020122778               Gas           Gov. Aggregation
COH             192830330010                Gas           Gov. Aggregation   DEO             1500060915166               Gas           Gov. Aggregation
COH             193824210017                Gas           Gov. Aggregation   DEO             1500032677862               Gas           Gov. Aggregation
COH             164084340382                Gas           Gov. Aggregation   COH             125510220030                Gas           Gov. Aggregation
COH             175836060025                Gas           Gov. Aggregation   COH             143196390013                Gas           Gov. Aggregation
VEDO            4017152982434904            Gas           Gov. Aggregation   COH             151136150073                Gas           Gov. Aggregation
COH             138362070023                Gas           Gov. Aggregation   COH             157722210062                Gas           Gov. Aggregation
COH             111252770011                Gas           Gov. Aggregation   COH             159364270031                Gas           Gov. Aggregation
COH             144576090037                Gas           Gov. Aggregation   COH             161358400023                Gas           Gov. Aggregation
COH             157366850073                Gas           Gov. Aggregation   COH             161737510026                Gas           Gov. Aggregation
COH             187808800015                Gas           Gov. Aggregation   COH             162858600020                Gas           Gov. Aggregation
COH             193027840015                Gas           Gov. Aggregation   COH             174652210024                Gas           Gov. Aggregation
COH             193511740019                Gas           Gov. Aggregation   COH             185686670042                Gas           Gov. Aggregation
DEO             5500061583829               Gas           Gov. Aggregation   COH             188839160050                Gas           Gov. Aggregation
COH             111147900025                Gas           Gov. Aggregation   COH             189666430022                Gas           Gov. Aggregation
VEDO            4003230902319080            Gas           Gov. Aggregation   COH             191735710031                Gas           Gov. Aggregation
VEDO            4001100102109478            Gas           Gov. Aggregation   COH             193150440027                Gas           Gov. Aggregation
VEDO            4003334782329847            Gas           Gov. Aggregation   COH             195657030018                Gas           Gov. Aggregation
VEDO            4002031422133442            Gas           Gov. Aggregation   COH             195682510014                Gas           Gov. Aggregation
VEDO            4001127392500770            Gas           Gov. Aggregation   COH             195708000015                Gas           Gov. Aggregation
VEDO            4001127392461826            Gas           Gov. Aggregation   COH             195754270012                Gas           Gov. Aggregation
VEDO            4003451692342234            Gas           Gov. Aggregation   COH             195755270010                Gas           Gov. Aggregation
COH             111144650015                Gas           Gov. Aggregation   COH             195764640013                Gas           Gov. Aggregation
VEDO            4004195122421930            Gas           Gov. Aggregation   COH             195764650011                Gas           Gov. Aggregation
VEDO            4017042962544065            Gas           Gov. Aggregation   COH             195767040013                Gas           Gov. Aggregation
COH             160815840031                Gas           Gov. Aggregation   COH             195777560013                Gas           Gov. Aggregation
DEO             6500061562458               Gas           Gov. Aggregation   COH             195778510011                Gas           Gov. Aggregation
VEDO            4002529592247890            Gas           Gov. Aggregation   COH             195803270017                Gas           Gov. Aggregation
COH             108767290016                Gas           Gov. Aggregation   COH             195818190013                Gas           Gov. Aggregation
COH             110987710017                Gas           Gov. Aggregation   COH             195840340014                Gas           Gov. Aggregation
COH             120378010102                Gas           Gov. Aggregation   COH             195848550014                Gas           Gov. Aggregation
COH             123818440025                Gas           Gov. Aggregation   DEO             9500063037263               Gas           Gov. Aggregation
COH             131694930160                Gas           Gov. Aggregation   VEDO            4002877272440878            Gas           Gov. Aggregation
COH             139719110026                Gas           Gov. Aggregation   VEDO            4002877272454700            Gas           Gov. Aggregation
COH             141196020021                Gas           Gov. Aggregation   VEDO            4002877272282731            Gas           Gov. Aggregation
COH             146429590022                Gas           Gov. Aggregation   VEDO            4002877272343960            Gas           Gov. Aggregation
COH             150291930072                Gas           Gov. Aggregation   VEDO            4002877272315698            Gas           Gov. Aggregation
COH             150636040031                Gas           Gov. Aggregation   COH             169148360010                Gas           Gov. Aggregation
COH             156685120106                Gas           Gov. Aggregation   DEO             2500062960673               Gas           Gov. Aggregation
COH             157182730023                Gas           Gov. Aggregation   VEDO            4017010662398000            Gas           Gov. Aggregation
COH             158043680018                Gas           Gov. Aggregation   COH             187277230049                Gas           Gov. Aggregation
COH             161825500352                Gas           Gov. Aggregation   COH             141305590010                Gas           Gov. Aggregation
COH             163129050011                Gas           Gov. Aggregation   COH             154031690015                Gas           Gov. Aggregation
COH             164221650027                Gas           Gov. Aggregation   COH             147736860023                Gas           Gov. Aggregation
COH             164525070025                Gas           Gov. Aggregation   COH             194571410011                Gas           Gov. Aggregation
COH             166238000026                Gas           Gov. Aggregation   COH             195208060013                Gas           Gov. Aggregation
COH             169351700062                Gas           Gov. Aggregation   COH             195494960019                Gas           Gov. Aggregation
COH             174803440016                Gas           Gov. Aggregation   COH             195946580010                Gas           Gov. Aggregation
COH             176468480027                Gas           Gov. Aggregation   COH             194784510019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             177209300030                Gas           Gov. Aggregation   COH             194701610012                Gas           Gov. Aggregation
COH             177211340019                Gas           Gov. Aggregation   COH             194341960013                Gas           Gov. Aggregation
COH             186428290047                Gas           Gov. Aggregation   COH             116582510217                Gas           Gov. Aggregation
COH             187405220039                Gas           Gov. Aggregation   COH             108821790079                Gas           Gov. Aggregation
COH             190476310036                Gas           Gov. Aggregation   COH             157184470024                Gas           Gov. Aggregation
COH             190858630020                Gas           Gov. Aggregation   COH             145149240039                Gas           Gov. Aggregation
COH             191128630017                Gas           Gov. Aggregation   COH             194460110019                Gas           Gov. Aggregation
COH             191609450024                Gas           Gov. Aggregation   COH             173527620015                Gas           Gov. Aggregation
COH             192472400015                Gas           Gov. Aggregation   VEDO            4015920122334585            Gas           Gov. Aggregation
COH             192594040022                Gas           Gov. Aggregation   VEDO            4004627022617491            Gas           Gov. Aggregation
COH             194632320010                Gas           Gov. Aggregation   VEDO            4002893002617488            Gas           Gov. Aggregation
COH             194649900013                Gas           Gov. Aggregation   VEDO            4002750472212979            Gas           Gov. Aggregation
COH             194655770018                Gas           Gov. Aggregation   VEDO            4016807852526552            Gas           Gov. Aggregation
COH             194663890016                Gas           Gov. Aggregation   VEDO            4015985702369079            Gas           Gov. Aggregation
COH             194705450018                Gas           Gov. Aggregation   VEDO            4005108782522967            Gas           Gov. Aggregation
COH             194710960010                Gas           Gov. Aggregation   VEDO            4016899052448099            Gas           Gov. Aggregation
COH             194710970018                Gas           Gov. Aggregation   VEDO            4002831732278174            Gas           Gov. Aggregation
COH             194711690015                Gas           Gov. Aggregation   VEDO            4001275232436001            Gas           Gov. Aggregation
COH             194718690011                Gas           Gov. Aggregation   VEDO            4017332042505838            Gas           Gov. Aggregation
COH             194721010016                Gas           Gov. Aggregation   VEDO            4019086082101842            Gas           Gov. Aggregation
COH             194727980011                Gas           Gov. Aggregation   VEDO            4001718952621101            Gas           Gov. Aggregation
COH             194729070018                Gas           Gov. Aggregation   VEDO            4018449592463659            Gas           Gov. Aggregation
COH             194742700017                Gas           Gov. Aggregation   VEDO            4019081662343484            Gas           Gov. Aggregation
COH             194746720015                Gas           Gov. Aggregation   VEDO            4018602322194489            Gas           Gov. Aggregation
COH             194755030011                Gas           Gov. Aggregation   VEDO            4001762742447517            Gas           Gov. Aggregation
COH             194773630017                Gas           Gov. Aggregation   VEDO            4019036532306780            Gas           Gov. Aggregation
COH             194793730014                Gas           Gov. Aggregation   VEDO            4018491062490522            Gas           Gov. Aggregation
COH             194811280019                Gas           Gov. Aggregation   VEDO            4004609982467556            Gas           Gov. Aggregation
COH             194828540019                Gas           Gov. Aggregation   VEDO            4015318682362812            Gas           Gov. Aggregation
COH             194832850015                Gas           Gov. Aggregation   VEDO            4002521242485429            Gas           Gov. Aggregation
COH             194837640019                Gas           Gov. Aggregation   VEDO            4018875852259017            Gas           Gov. Aggregation
COH             194857350018                Gas           Gov. Aggregation   VEDO            4001598622100910            Gas           Gov. Aggregation
COH             194863980013                Gas           Gov. Aggregation   VEDO            4019053432199128            Gas           Gov. Aggregation
COH             194871090013                Gas           Gov. Aggregation   VEDO            4019058602444892            Gas           Gov. Aggregation
COH             194895340010                Gas           Gov. Aggregation   VEDO            4010076532136203            Gas           Gov. Aggregation
COH             194911270019                Gas           Gov. Aggregation   VEDO            4019143492517910            Gas           Gov. Aggregation
DEO             6500061600125               Gas           Gov. Aggregation   VEDO            4004614392190522            Gas           Gov. Aggregation
DEO             9500061618671               Gas           Gov. Aggregation   VEDO            4016268522270019            Gas           Gov. Aggregation
DEO             7500061791564               Gas           Gov. Aggregation   VEDO            4019035352169364            Gas           Gov. Aggregation
DEO             4500061774819               Gas           Gov. Aggregation   VEDO            4019074922532782            Gas           Gov. Aggregation
DEO             9500036495882               Gas           Gov. Aggregation   VEDO            4019127042337990            Gas           Gov. Aggregation
DEO             4500061748412               Gas           Gov. Aggregation   VEDO            4019138852291705            Gas           Gov. Aggregation
VEDO            4002957662457871            Gas           Gov. Aggregation   VEDO            4001998722151610            Gas           Gov. Aggregation
VEDO            4001331482472588            Gas           Gov. Aggregation   VEDO            4004058852333433            Gas           Gov. Aggregation
VEDO            4019053152389733            Gas           Gov. Aggregation   VEDO            4002597972462571            Gas           Gov. Aggregation
VEDO            4015193462529515            Gas           Gov. Aggregation   VEDO            4018972952478661            Gas           Gov. Aggregation
VEDO            4016626782481677            Gas           Gov. Aggregation   VEDO            4019125162468128            Gas           Gov. Aggregation
VEDO            4015131412501189            Gas           Gov. Aggregation   VEDO            4019057812459862            Gas           Gov. Aggregation
VEDO            4019068062481587            Gas           Gov. Aggregation   VEDO            4019040772537093            Gas           Gov. Aggregation
DEO             3500061774857               Gas           Gov. Aggregation   VEDO            4003492222467221            Gas           Gov. Aggregation
VEDO            4003723262377263            Gas           Gov. Aggregation   COH             123676890023                Gas           Gov. Aggregation
COH             115008270037                Gas           Gov. Aggregation   COH             123720040017                Gas           Gov. Aggregation
COH             115031130037                Gas           Gov. Aggregation   COH             123716210010                Gas           Gov. Aggregation
COH             117305540029                Gas           Gov. Aggregation   COH             123720030019                Gas           Gov. Aggregation
COH             118079600026                Gas           Gov. Aggregation   COH             123676990013                Gas           Gov. Aggregation
COH             122413210040                Gas           Gov. Aggregation   COH             145978390013                Gas           Gov. Aggregation
COH             123636580013                Gas           Gov. Aggregation   COH             123719090010                Gas           Gov. Aggregation
COH             123674920011                Gas           Gov. Aggregation   VEDO            4004347122438544            Gas           Gov. Aggregation
COH             123697840029                Gas           Gov. Aggregation   VEDO            4001149322114096            Gas           Gov. Aggregation
COH             124437030019                Gas           Gov. Aggregation   VEDO            4002938142629915            Gas           Gov. Aggregation
COH             129012311872                Gas           Gov. Aggregation   VEDO            4003164662312330            Gas           Gov. Aggregation
COH             129012311907                Gas           Gov. Aggregation   VEDO            4001423482398488            Gas           Gov. Aggregation
COH             129012311916                Gas           Gov. Aggregation   VEDO            4001019712518773            Gas           Gov. Aggregation
COH             135405990012                Gas           Gov. Aggregation   VEDO            4002741832269061            Gas           Gov. Aggregation
COH             135872760075                Gas           Gov. Aggregation   VEDO            4001837672179335            Gas           Gov. Aggregation
COH             139121330027                Gas           Gov. Aggregation   VEDO            4001938282633424            Gas           Gov. Aggregation
COH             140225900033                Gas           Gov. Aggregation   VEDO            4003924092392539            Gas           Gov. Aggregation
COH             143418730037                Gas           Gov. Aggregation   VEDO            4018360662294884            Gas           Gov. Aggregation
COH             145224350045                Gas           Gov. Aggregation   VEDO            4017225412454326            Gas           Gov. Aggregation
COH             146827340011                Gas           Gov. Aggregation   VEDO            4002812532308024            Gas           Gov. Aggregation
COH             149878950022                Gas           Gov. Aggregation   VEDO            4001665902162750            Gas           Gov. Aggregation
COH             150289970113                Gas           Gov. Aggregation   VEDO            4001745222291205            Gas           Gov. Aggregation
COH             154917300036                Gas           Gov. Aggregation   VEDO            4001809502176566            Gas           Gov. Aggregation
COH             155335090034                Gas           Gov. Aggregation   VEDO            4001350432132837            Gas           Gov. Aggregation
COH             163696220032                Gas           Gov. Aggregation   VEDO            4002139732209105            Gas           Gov. Aggregation
COH             163771500015                Gas           Gov. Aggregation   VEDO            4004488562454042            Gas           Gov. Aggregation
COH             164895350032                Gas           Gov. Aggregation   VEDO            4004436212448377            Gas           Gov. Aggregation
COH             165124710029                Gas           Gov. Aggregation   VEDO            4017283832413727            Gas           Gov. Aggregation
COH             168380680012                Gas           Gov. Aggregation   VEDO            4016784192225242            Gas           Gov. Aggregation
COH             171447560029                Gas           Gov. Aggregation   COH             124384460021                Gas           Gov. Aggregation
COH             172117850017                Gas           Gov. Aggregation   COH             110576680033                Gas           Gov. Aggregation
COH             174618570030                Gas           Gov. Aggregation   COH             118111040042                Gas           Gov. Aggregation
COH             174896800033                Gas           Gov. Aggregation   COH             137062400066                Gas           Gov. Aggregation
COH             177541680028                Gas           Gov. Aggregation   COH             138839870015                Gas           Gov. Aggregation
COH             177662870013                Gas           Gov. Aggregation   COH             138873330016                Gas           Gov. Aggregation
COH             186634610024                Gas           Gov. Aggregation   COH             142291310045                Gas           Gov. Aggregation
COH             186759500023                Gas           Gov. Aggregation   COH             155137690074                Gas           Gov. Aggregation
COH             191769200019                Gas           Gov. Aggregation   COH             161906450093                Gas           Gov. Aggregation
COH             191785020022                Gas           Gov. Aggregation   COH             162124490038                Gas           Gov. Aggregation
COH             191881920010                Gas           Gov. Aggregation   COH             162680260047                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             192267920020                Gas           Gov. Aggregation   COH             164172610011                Gas           Gov. Aggregation
COH             193022590027                Gas           Gov. Aggregation   COH             165483440044                Gas           Gov. Aggregation
COH             193072370028                Gas           Gov. Aggregation   COH             167749660024                Gas           Gov. Aggregation
COH             193467830015                Gas           Gov. Aggregation   COH             168869300015                Gas           Gov. Aggregation
COH             193688311631                Gas           Gov. Aggregation   COH             172247120060                Gas           Gov. Aggregation
COH             194782890014                Gas           Gov. Aggregation   COH             174788240012                Gas           Gov. Aggregation
COH             194814780018                Gas           Gov. Aggregation   COH             175386900023                Gas           Gov. Aggregation
COH             194837410017                Gas           Gov. Aggregation   COH             175694920026                Gas           Gov. Aggregation
COH             194864220010                Gas           Gov. Aggregation   COH             177169300036                Gas           Gov. Aggregation
COH             194864510019                Gas           Gov. Aggregation   COH             187921770030                Gas           Gov. Aggregation
COH             194864570017                Gas           Gov. Aggregation   COH             187931950022                Gas           Gov. Aggregation
COH             194874060013                Gas           Gov. Aggregation   COH             188519460028                Gas           Gov. Aggregation
COH             194874980010                Gas           Gov. Aggregation   COH             189154130039                Gas           Gov. Aggregation
COH             194891570010                Gas           Gov. Aggregation   COH             189634450098                Gas           Gov. Aggregation
COH             194899130016                Gas           Gov. Aggregation   COH             189741390012                Gas           Gov. Aggregation
COH             194901040018                Gas           Gov. Aggregation   COH             191421810035                Gas           Gov. Aggregation
COH             194901600010                Gas           Gov. Aggregation   COH             191602280051                Gas           Gov. Aggregation
COH             194903740017                Gas           Gov. Aggregation   COH             192030490022                Gas           Gov. Aggregation
COH             194908450018                Gas           Gov. Aggregation   COH             193639210029                Gas           Gov. Aggregation
COH             194912070019                Gas           Gov. Aggregation   COH             195160570027                Gas           Gov. Aggregation
COH             194912820011                Gas           Gov. Aggregation   COH             195770710015                Gas           Gov. Aggregation
COH             194916530014                Gas           Gov. Aggregation   COH             195802090017                Gas           Gov. Aggregation
COH             194920260012                Gas           Gov. Aggregation   COH             195814460014                Gas           Gov. Aggregation
COH             194935020011                Gas           Gov. Aggregation   COH             195832170017                Gas           Gov. Aggregation
COH             194935420017                Gas           Gov. Aggregation   COH             195860500018                Gas           Gov. Aggregation
COH             194936280015                Gas           Gov. Aggregation   COH             195893980019                Gas           Gov. Aggregation
COH             194936920010                Gas           Gov. Aggregation   COH             195917950013                Gas           Gov. Aggregation
COH             194957070015                Gas           Gov. Aggregation   COH             195931050012                Gas           Gov. Aggregation
COH             194967090010                Gas           Gov. Aggregation   COH             195944970012                Gas           Gov. Aggregation
COH             194968280018                Gas           Gov. Aggregation   COH             195983610015                Gas           Gov. Aggregation
COH             194977220011                Gas           Gov. Aggregation   COH             196004080010                Gas           Gov. Aggregation
COH             194991240017                Gas           Gov. Aggregation   COH             196007190011                Gas           Gov. Aggregation
COH             195002590018                Gas           Gov. Aggregation   COH             196017140010                Gas           Gov. Aggregation
COH             195022360014                Gas           Gov. Aggregation   COH             196031100018                Gas           Gov. Aggregation
COH             195041760010                Gas           Gov. Aggregation   COH             196033980010                Gas           Gov. Aggregation
COH             124370300014                Gas           Gov. Aggregation   COH             196035520012                Gas           Gov. Aggregation
VEDO            4005057452562242            Gas           Gov. Aggregation   COH             196052390014                Gas           Gov. Aggregation
COH             195021380012                Gas           Gov. Aggregation   COH             196052440013                Gas           Gov. Aggregation
COH             112278260031                Gas           Gov. Aggregation   COH             196059810011                Gas           Gov. Aggregation
COH             141596690032                Gas           Gov. Aggregation   COH             196067630012                Gas           Gov. Aggregation
COH             192341040027                Gas           Gov. Aggregation   COH             196068250010                Gas           Gov. Aggregation
COH             139360240048                Gas           Gov. Aggregation   COH             196134100056                Gas           Gov. Aggregation
COH             112807750026                Gas           Gov. Aggregation   COH             196203930019                Gas           Gov. Aggregation
COH             191632860010                Gas           Gov. Aggregation   COH             125806660031                Gas           Gov. Aggregation
COH             193988830011                Gas           Gov. Aggregation   COH             167629630015                Gas           Gov. Aggregation
COH             194102180013                Gas           Gov. Aggregation   DEO             0500062893670               Gas           Gov. Aggregation
COH             129062610035                Gas           Gov. Aggregation   COH             115520050028                Gas           Gov. Aggregation
COH             193497400012                Gas           Gov. Aggregation   COH             177435720015                Gas           Gov. Aggregation
COH             165611690030                Gas           Gov. Aggregation   COH             167383540025                Gas           Gov. Aggregation
COH             146275710014                Gas           Gov. Aggregation   COH             191988900018                Gas           Gov. Aggregation
COH             113575620025                Gas           Gov. Aggregation   COH             163253760019                Gas           Gov. Aggregation
COH             152710160018                Gas           Gov. Aggregation   COH             154341200010                Gas           Gov. Aggregation
COH             171489890022                Gas           Gov. Aggregation   COH             144046690034                Gas           Gov. Aggregation
COH             139124050066                Gas           Gov. Aggregation   COH             115809400013                Gas           Gov. Aggregation
COH             113470990020                Gas           Gov. Aggregation   COH             115809440015                Gas           Gov. Aggregation
COH             188257000039                Gas           Gov. Aggregation   COH             162553630011                Gas           Gov. Aggregation
COH             129859950142                Gas           Gov. Aggregation   COH             115827160016                Gas           Gov. Aggregation
COH             194937060019                Gas           Gov. Aggregation   COH             163685230015                Gas           Gov. Aggregation
COH             157863840035                Gas           Gov. Aggregation   COH             173460080011                Gas           Gov. Aggregation
COH             112220320011                Gas           Gov. Aggregation   COH             194327960013                Gas           Gov. Aggregation
COH             112293270046                Gas           Gov. Aggregation   COH             160598310105                Gas           Gov. Aggregation
COH             194053660017                Gas           Gov. Aggregation   COH             115911560022                Gas           Gov. Aggregation
COH             193846870013                Gas           Gov. Aggregation   COH             141412450030                Gas           Gov. Aggregation
COH             194195380016                Gas           Gov. Aggregation   COH             142012950014                Gas           Gov. Aggregation
COH             194475120016                Gas           Gov. Aggregation   COH             139677510022                Gas           Gov. Aggregation
COH             112303990033                Gas           Gov. Aggregation   COH             115810580013                Gas           Gov. Aggregation
COH             191486950012                Gas           Gov. Aggregation   COH             150599850013                Gas           Gov. Aggregation
COH             185952990031                Gas           Gov. Aggregation   COH             165149110014                Gas           Gov. Aggregation
COH             172350560023                Gas           Gov. Aggregation   COH             164732370014                Gas           Gov. Aggregation
VEDO            4004649032471908            Gas           Gov. Aggregation   COH             168972620037                Gas           Gov. Aggregation
COH             117248170010                Gas           Gov. Aggregation   COH             175252560037                Gas           Gov. Aggregation
DEO             4500061868664               Gas           Gov. Aggregation   COH             144023480054                Gas           Gov. Aggregation
DEO             2440105095612               Gas           Gov. Aggregation   COH             135206720010                Gas           Gov. Aggregation
DEO             3500061880127               Gas           Gov. Aggregation   COH             135860810079                Gas           Gov. Aggregation
DEO             3500062013324               Gas           Gov. Aggregation   COH             135742140016                Gas           Gov. Aggregation
VEDO            4003373312642752            Gas           Gov. Aggregation   COH             115957030063                Gas           Gov. Aggregation
VEDO            4018890232427262            Gas           Gov. Aggregation   COH             115808630017                Gas           Gov. Aggregation
COH             108669940017                Gas           Gov. Aggregation   COH             176936010013                Gas           Gov. Aggregation
COH             115858130026                Gas           Gov. Aggregation   COH             133590450052                Gas           Gov. Aggregation
COH             121959300037                Gas           Gov. Aggregation   COH             115810620014                Gas           Gov. Aggregation
COH             122016010035                Gas           Gov. Aggregation   COH             150416200024                Gas           Gov. Aggregation
COH             123639560048                Gas           Gov. Aggregation   VEDO            4016448122450371            Gas           Gov. Aggregation
COH             124155650017                Gas           Gov. Aggregation   VEDO            4003397892336634            Gas           Gov. Aggregation
COH             124734200022                Gas           Gov. Aggregation   VEDO            4002012072286324            Gas           Gov. Aggregation
COH             126971020062                Gas           Gov. Aggregation   VEDO            4002641512159833            Gas           Gov. Aggregation
COH             134367230032                Gas           Gov. Aggregation   VEDO            4004807742489262            Gas           Gov. Aggregation
COH             143302690022                Gas           Gov. Aggregation   VEDO            4016536632490250            Gas           Gov. Aggregation
COH             149461510107                Gas           Gov. Aggregation   VEDO            4016929082175494            Gas           Gov. Aggregation
COH             152982400085                Gas           Gov. Aggregation   VEDO            4004722072479895            Gas           Gov. Aggregation
COH             159919210018                Gas           Gov. Aggregation   VEDO            4003866182386273            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             163089380072                Gas           Gov. Aggregation   VEDO         4016302272484308            Gas           Gov. Aggregation
COH             164228310060                Gas           Gov. Aggregation   VEDO         4016142042217556            Gas           Gov. Aggregation
COH             170964450027                Gas           Gov. Aggregation   VEDO         4018175522141685            Gas           Gov. Aggregation
COH             172116600011                Gas           Gov. Aggregation   VEDO         4019032712641480            Gas           Gov. Aggregation
COH             177525970021                Gas           Gov. Aggregation   VEDO         4018560032636966            Gas           Gov. Aggregation
COH             187542100016                Gas           Gov. Aggregation   VEDO         4018474902636510            Gas           Gov. Aggregation
COH             188634200037                Gas           Gov. Aggregation   VEDO         4018475962636544            Gas           Gov. Aggregation
COH             189124040022                Gas           Gov. Aggregation   VEDO         4017334752375907            Gas           Gov. Aggregation
COH             190625480016                Gas           Gov. Aggregation   VEDO         4017562862261284            Gas           Gov. Aggregation
COH             190832720052                Gas           Gov. Aggregation   VEDO         4018480252216505            Gas           Gov. Aggregation
COH             191909360027                Gas           Gov. Aggregation   VEDO         4018702002129894            Gas           Gov. Aggregation
COH             192131290333                Gas           Gov. Aggregation   VEDO         4017567812307062            Gas           Gov. Aggregation
COH             193597620023                Gas           Gov. Aggregation   VEDO         4017756902328373            Gas           Gov. Aggregation
COH             193688311766                Gas           Gov. Aggregation   VEDO         4016846792386475            Gas           Gov. Aggregation
COH             194994740016                Gas           Gov. Aggregation   VEDO         4016540782328492            Gas           Gov. Aggregation
COH             194998440011                Gas           Gov. Aggregation   VEDO         4018897912463902            Gas           Gov. Aggregation
COH             195026330012                Gas           Gov. Aggregation   VEDO         4004425852555446            Gas           Gov. Aggregation
COH             195028510010                Gas           Gov. Aggregation   VEDO         4001033632103236            Gas           Gov. Aggregation
COH             195038300013                Gas           Gov. Aggregation   VEDO         4003975922398057            Gas           Gov. Aggregation
COH             195058910013                Gas           Gov. Aggregation   VEDO         4019114272445220            Gas           Gov. Aggregation
COH             195062160012                Gas           Gov. Aggregation   VEDO         4018221802135998            Gas           Gov. Aggregation
COH             195098490018                Gas           Gov. Aggregation   VEDO         4001128222630425            Gas           Gov. Aggregation
COH             195101930016                Gas           Gov. Aggregation   VEDO         4002021822119466            Gas           Gov. Aggregation
COH             195109240015                Gas           Gov. Aggregation   VEDO         4005043192288479            Gas           Gov. Aggregation
COH             195109900016                Gas           Gov. Aggregation   VEDO         4016707692255776            Gas           Gov. Aggregation
COH             195116710011                Gas           Gov. Aggregation   VEDO         4004513142456789            Gas           Gov. Aggregation
COH             195123770014                Gas           Gov. Aggregation   VEDO         4017665052409782            Gas           Gov. Aggregation
COH             195126710010                Gas           Gov. Aggregation   VEDO         4001243762220549            Gas           Gov. Aggregation
COH             195132430016                Gas           Gov. Aggregation   VEDO         4017382222184787            Gas           Gov. Aggregation
COH             195136930013                Gas           Gov. Aggregation   VEDO         4018928142332957            Gas           Gov. Aggregation
COH             195137020012                Gas           Gov. Aggregation   VEDO         4018209782248403            Gas           Gov. Aggregation
COH             195155520019                Gas           Gov. Aggregation   VEDO         4018495872110985            Gas           Gov. Aggregation
COH             195160440015                Gas           Gov. Aggregation   VEDO         4019072422295600            Gas           Gov. Aggregation
COH             195161600019                Gas           Gov. Aggregation   VEDO         4017923992538420            Gas           Gov. Aggregation
COH             195166030019                Gas           Gov. Aggregation   VEDO         4018550632288834            Gas           Gov. Aggregation
COH             195166470017                Gas           Gov. Aggregation   VEDO         4017109712485157            Gas           Gov. Aggregation
COH             195168270015                Gas           Gov. Aggregation   VEDO         4001911192186548            Gas           Gov. Aggregation
COH             195172390011                Gas           Gov. Aggregation   VEDO         4003182562314182            Gas           Gov. Aggregation
COH             195172440010                Gas           Gov. Aggregation   VEDO         4018566032185573            Gas           Gov. Aggregation
COH             195177750015                Gas           Gov. Aggregation   VEDO         4001540362150801            Gas           Gov. Aggregation
COH             195210490018                Gas           Gov. Aggregation   VEDO         4002069772202283            Gas           Gov. Aggregation
COH             195213970011                Gas           Gov. Aggregation   VEDO         4001660592398883            Gas           Gov. Aggregation
COH             195244600013                Gas           Gov. Aggregation   VEDO         4015094682130653            Gas           Gov. Aggregation
COH             195257240012                Gas           Gov. Aggregation   VEDO         4015008512245405            Gas           Gov. Aggregation
COH             195285910012                Gas           Gov. Aggregation   VEDO         4004915812273461            Gas           Gov. Aggregation
VEDO            4019077122244808            Gas           Gov. Aggregation   VEDO         4004914512501107            Gas           Gov. Aggregation
VEDO            4018889702375953            Gas           Gov. Aggregation   VEDO         4002880902402886            Gas           Gov. Aggregation
VEDO            4017440802504126            Gas           Gov. Aggregation   VEDO         4003224702509510            Gas           Gov. Aggregation
VEDO            4002386332636471            Gas           Gov. Aggregation   VEDO         4004280032331488            Gas           Gov. Aggregation
VEDO            4004794752447727            Gas           Gov. Aggregation   VEDO         4016970462279633            Gas           Gov. Aggregation
VEDO            4017049502138458            Gas           Gov. Aggregation   VEDO         4001520192148786            Gas           Gov. Aggregation
VEDO            4019079542322142            Gas           Gov. Aggregation   VEDO         4002193392152208            Gas           Gov. Aggregation
COH             111250860016                Gas           Gov. Aggregation   VEDO         4002184222468481            Gas           Gov. Aggregation
DEO             8500062142177               Gas           Gov. Aggregation   VEDO         4003422082339145            Gas           Gov. Aggregation
VEDO            4002645542314166            Gas           Gov. Aggregation   VEDO         4003430822340025            Gas           Gov. Aggregation
VEDO            4004009522506336            Gas           Gov. Aggregation   VEDO         4003233912319409            Gas           Gov. Aggregation
VEDO            4019112322643021            Gas           Gov. Aggregation   VEDO         4017670342183817            Gas           Gov. Aggregation
VEDO            4001279922436126            Gas           Gov. Aggregation   VEDO         4017970742337603            Gas           Gov. Aggregation
VEDO            4003936942226671            Gas           Gov. Aggregation   VEDO         4017960892181224            Gas           Gov. Aggregation
VEDO            4004813802489942            Gas           Gov. Aggregation   VEDO         4015595572282305            Gas           Gov. Aggregation
VEDO            4018732612316950            Gas           Gov. Aggregation   VEDO         4018017002331586            Gas           Gov. Aggregation
COH             113892540020                Gas           Gov. Aggregation   VEDO         4018662662115787            Gas           Gov. Aggregation
COH             156636080028                Gas           Gov. Aggregation   VEDO         4018182722247000            Gas           Gov. Aggregation
COH             136840060032                Gas           Gov. Aggregation   VEDO         4018488142231955            Gas           Gov. Aggregation
COH             131964230020                Gas           Gov. Aggregation   VEDO         4018294232161026            Gas           Gov. Aggregation
COH             161216970024                Gas           Gov. Aggregation   VEDO         4018821322425739            Gas           Gov. Aggregation
COH             192970400019                Gas           Gov. Aggregation   VEDO         4018710542209453            Gas           Gov. Aggregation
COH             155511990040                Gas           Gov. Aggregation   VEDO         4018447052176001            Gas           Gov. Aggregation
COH             163620720045                Gas           Gov. Aggregation   VEDO         4003096482403809            Gas           Gov. Aggregation
COH             195192740015                Gas           Gov. Aggregation   VEDO         4018287422161338            Gas           Gov. Aggregation
COH             193665630017                Gas           Gov. Aggregation   VEDO         4017231642160340            Gas           Gov. Aggregation
COH             130083440016                Gas           Gov. Aggregation   VEDO         4017367732314899            Gas           Gov. Aggregation
COH             194035470015                Gas           Gov. Aggregation   VEDO         4016471552257205            Gas           Gov. Aggregation
COH             194856230015                Gas           Gov. Aggregation   VEDO         4016768412639732            Gas           Gov. Aggregation
COH             193451400018                Gas           Gov. Aggregation   VEDO         4003817002513675            Gas           Gov. Aggregation
COH             152511140014                Gas           Gov. Aggregation   VEDO         4001713042640247            Gas           Gov. Aggregation
COH             192881500017                Gas           Gov. Aggregation   VEDO         4001046912636395            Gas           Gov. Aggregation
COH             110976010080                Gas           Gov. Aggregation   VEDO         4017947612584180            Gas           Gov. Aggregation
COH             145256360064                Gas           Gov. Aggregation   VEDO         4017947612626567            Gas           Gov. Aggregation
COH             192885620014                Gas           Gov. Aggregation   VEDO         4018060422630334            Gas           Gov. Aggregation
COH             144894670013                Gas           Gov. Aggregation   VEDO         4003374062334056            Gas           Gov. Aggregation
VEDO            4005146672630129            Gas           Gov. Aggregation   VEDO         4001285012126772            Gas           Gov. Aggregation
VEDO            4001325122130574            Gas           Gov. Aggregation   VEDO         4003412232338080            Gas           Gov. Aggregation
VEDO            4002035252206612            Gas           Gov. Aggregation   VEDO         4018915392277001            Gas           Gov. Aggregation
VEDO            4002035252537632            Gas           Gov. Aggregation   VEDO         4003661602364299            Gas           Gov. Aggregation
VEDO            4001144292507474            Gas           Gov. Aggregation   VEDO         4005081832275640            Gas           Gov. Aggregation
COH             110920970031                Gas           Gov. Aggregation   VEDO         4005102032522238            Gas           Gov. Aggregation
DEO             4500062424082               Gas           Gov. Aggregation   VEDO         4004195232421947            Gas           Gov. Aggregation
COH             114579920014                Gas           Gov. Aggregation   VEDO         4010007092458782            Gas           Gov. Aggregation
DEO             4500062267146               Gas           Gov. Aggregation   VEDO         4001324652130534            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
DEO             9500062467802               Gas           Gov. Aggregation   VEDO         4002383932233285            Gas           Gov. Aggregation
COH             194874360010                Gas           Gov. Aggregation   VEDO         4002336682356743            Gas           Gov. Aggregation
COH             194148220018                Gas           Gov. Aggregation   VEDO         4001125302111930            Gas           Gov. Aggregation
COH             154491790029                Gas           Gov. Aggregation   VEDO         4001121572111557            Gas           Gov. Aggregation
COH             165315980037                Gas           Gov. Aggregation   VEDO         4004044662405519            Gas           Gov. Aggregation
COH             185749690017                Gas           Gov. Aggregation   VEDO         4001323662130424            Gas           Gov. Aggregation
COH             117246290028                Gas           Gov. Aggregation   VEDO         4018255092444901            Gas           Gov. Aggregation
COH             194771410017                Gas           Gov. Aggregation   VEDO         4015602552226403            Gas           Gov. Aggregation
COH             135812690058                Gas           Gov. Aggregation   VEDO         4015615012155393            Gas           Gov. Aggregation
COH             174279150029                Gas           Gov. Aggregation   VEDO         4018389742290842            Gas           Gov. Aggregation
COH             170870720029                Gas           Gov. Aggregation   VEDO         4017786842357224            Gas           Gov. Aggregation
COH             185126340038                Gas           Gov. Aggregation   VEDO         4018915782133763            Gas           Gov. Aggregation
COH             165762630051                Gas           Gov. Aggregation   VEDO         4017599522245162            Gas           Gov. Aggregation
COH             117175480056                Gas           Gov. Aggregation   VEDO         4018263662244929            Gas           Gov. Aggregation
COH             188495020022                Gas           Gov. Aggregation   VEDO         4004739142481750            Gas           Gov. Aggregation
COH             194693370012                Gas           Gov. Aggregation   VEDO         4015821402121785            Gas           Gov. Aggregation
COH             152873220039                Gas           Gov. Aggregation   VEDO         4016771132310340            Gas           Gov. Aggregation
COH             173706310065                Gas           Gov. Aggregation   VEDO         4004783352486639            Gas           Gov. Aggregation
COH             170522580035                Gas           Gov. Aggregation   VEDO         4004412912445803            Gas           Gov. Aggregation
COH             154376410040                Gas           Gov. Aggregation   VEDO         4002795472274528            Gas           Gov. Aggregation
COH             193954920013                Gas           Gov. Aggregation   VEDO         4002546072249602            Gas           Gov. Aggregation
COH             194350290015                Gas           Gov. Aggregation   VEDO         4002965342336991            Gas           Gov. Aggregation
COH             189476770024                Gas           Gov. Aggregation   VEDO         4002971142292335            Gas           Gov. Aggregation
COH             143693210061                Gas           Gov. Aggregation   VEDO         4003013372296675            Gas           Gov. Aggregation
COH             191962050011                Gas           Gov. Aggregation   VEDO         4018008852218100            Gas           Gov. Aggregation
COH             195094200016                Gas           Gov. Aggregation   VEDO         4017709842263209            Gas           Gov. Aggregation
COH             195038610018                Gas           Gov. Aggregation   VEDO         4017327222444641            Gas           Gov. Aggregation
COH             189185080017                Gas           Gov. Aggregation   VEDO         4017784072482198            Gas           Gov. Aggregation
COH             191338390022                Gas           Gov. Aggregation   VEDO         4018421592326163            Gas           Gov. Aggregation
COH             194951700014                Gas           Gov. Aggregation   VEDO         4018407862262063            Gas           Gov. Aggregation
COH             176724440030                Gas           Gov. Aggregation   VEDO         4018402672160330            Gas           Gov. Aggregation
COH             192938630046                Gas           Gov. Aggregation   VEDO         4018589962266824            Gas           Gov. Aggregation
COH             192938630037                Gas           Gov. Aggregation   VEDO         4017952622519502            Gas           Gov. Aggregation
COH             193538870016                Gas           Gov. Aggregation   VEDO         4017948972124257            Gas           Gov. Aggregation
COH             193752060012                Gas           Gov. Aggregation   VEDO         4003768912449552            Gas           Gov. Aggregation
COH             194320260014                Gas           Gov. Aggregation   VEDO         4004078832409250            Gas           Gov. Aggregation
COH             143052210078                Gas           Gov. Aggregation   VEDO         4001758042525602            Gas           Gov. Aggregation
COH             193596760017                Gas           Gov. Aggregation   VEDO         4001184682115250            Gas           Gov. Aggregation
COH             193017140013                Gas           Gov. Aggregation   VEDO         4001534332519700            Gas           Gov. Aggregation
COH             187436410016                Gas           Gov. Aggregation   VEDO         4004815292316452            Gas           Gov. Aggregation
COH             117975110048                Gas           Gov. Aggregation   VEDO         4004825992491261            Gas           Gov. Aggregation
COH             117246560012                Gas           Gov. Aggregation   VEDO         4004457112212907            Gas           Gov. Aggregation
COH             190931660019                Gas           Gov. Aggregation   VEDO         4005039402157716            Gas           Gov. Aggregation
COH             164083160024                Gas           Gov. Aggregation   VEDO         4016933422152566            Gas           Gov. Aggregation
COH             169733490094                Gas           Gov. Aggregation   VEDO         4016148362231093            Gas           Gov. Aggregation
COH             159589920038                Gas           Gov. Aggregation   VEDO         4001385892136201            Gas           Gov. Aggregation
COH             192726960019                Gas           Gov. Aggregation   VEDO         4001601182156616            Gas           Gov. Aggregation
COH             194951680019                Gas           Gov. Aggregation   VEDO         4001605512157036            Gas           Gov. Aggregation
COH             187045960029                Gas           Gov. Aggregation   VEDO         4015425362230333            Gas           Gov. Aggregation
COH             193596770015                Gas           Gov. Aggregation   VEDO         4019038032166612            Gas           Gov. Aggregation
COH             186184280010                Gas           Gov. Aggregation   VEDO         4018984092159000            Gas           Gov. Aggregation
COH             176577850037                Gas           Gov. Aggregation   VEDO         4002756322270507            Gas           Gov. Aggregation
COH             169954800027                Gas           Gov. Aggregation   VEDO         4003151942310975            Gas           Gov. Aggregation
COH             186450310018                Gas           Gov. Aggregation   VEDO         4003129152128095            Gas           Gov. Aggregation
COH             193694650012                Gas           Gov. Aggregation   VEDO         4016645342421833            Gas           Gov. Aggregation
COH             177661820024                Gas           Gov. Aggregation   VEDO         4016265762345281            Gas           Gov. Aggregation
COH             186224960048                Gas           Gov. Aggregation   VEDO         4004200032422453            Gas           Gov. Aggregation
COH             154550130058                Gas           Gov. Aggregation   VEDO         4003838992383304            Gas           Gov. Aggregation
COH             186061840012                Gas           Gov. Aggregation   VEDO         4015063922267080            Gas           Gov. Aggregation
COH             193765690013                Gas           Gov. Aggregation   VEDO         4018537432166207            Gas           Gov. Aggregation
COH             169098070027                Gas           Gov. Aggregation   VEDO         4001230082177269            Gas           Gov. Aggregation
COH             153612750039                Gas           Gov. Aggregation   VEDO         4001262332215953            Gas           Gov. Aggregation
COH             186437970036                Gas           Gov. Aggregation   VEDO         4001285252126792            Gas           Gov. Aggregation
COH             168424160106                Gas           Gov. Aggregation   VEDO         4018045462143592            Gas           Gov. Aggregation
COH             192859580018                Gas           Gov. Aggregation   VEDO         4002799012274870            Gas           Gov. Aggregation
COH             115709440044                Gas           Gov. Aggregation   VEDO         4017222572216672            Gas           Gov. Aggregation
COH             122476820040                Gas           Gov. Aggregation   VEDO         4018489972501676            Gas           Gov. Aggregation
COH             123965660019                Gas           Gov. Aggregation   VEDO         4018829182125597            Gas           Gov. Aggregation
COH             124332350014                Gas           Gov. Aggregation   VEDO         4018262342324922            Gas           Gov. Aggregation
COH             125520910025                Gas           Gov. Aggregation   VEDO         4017609872525474            Gas           Gov. Aggregation
COH             132508090025                Gas           Gov. Aggregation   VEDO         4003571032354707            Gas           Gov. Aggregation
COH             137439960033                Gas           Gov. Aggregation   VEDO         4003810122380160            Gas           Gov. Aggregation
COH             150228130028                Gas           Gov. Aggregation   VEDO         4003603802358226            Gas           Gov. Aggregation
COH             150234320034                Gas           Gov. Aggregation   VEDO         4015824792476177            Gas           Gov. Aggregation
COH             151076110015                Gas           Gov. Aggregation   VEDO         4001785712174308            Gas           Gov. Aggregation
COH             153517590035                Gas           Gov. Aggregation   VEDO         4001030702318234            Gas           Gov. Aggregation
COH             157400870011                Gas           Gov. Aggregation   VEDO         4001033532103225            Gas           Gov. Aggregation
COH             158170030024                Gas           Gov. Aggregation   VEDO         4004302372433655            Gas           Gov. Aggregation
COH             158681630025                Gas           Gov. Aggregation   VEDO         4003019252297260            Gas           Gov. Aggregation
COH             164254940045                Gas           Gov. Aggregation   VEDO         4002337362228736            Gas           Gov. Aggregation
COH             164633150047                Gas           Gov. Aggregation   VEDO         4002949492290099            Gas           Gov. Aggregation
COH             165073460021                Gas           Gov. Aggregation   VEDO         4019018202280000            Gas           Gov. Aggregation
COH             167135720040                Gas           Gov. Aggregation   VEDO         4019037962228261            Gas           Gov. Aggregation
COH             167339950013                Gas           Gov. Aggregation   VEDO         4018828702330217            Gas           Gov. Aggregation
COH             167862680020                Gas           Gov. Aggregation   VEDO         4017462332126319            Gas           Gov. Aggregation
COH             169691140024                Gas           Gov. Aggregation   VEDO         4017017202203311            Gas           Gov. Aggregation
COH             169791250056                Gas           Gov. Aggregation   VEDO         4003076902303178            Gas           Gov. Aggregation
COH             171188030066                Gas           Gov. Aggregation   VEDO         4003217042317665            Gas           Gov. Aggregation
COH             172182320039                Gas           Gov. Aggregation   VEDO         4004109472412616            Gas           Gov. Aggregation
COH             174340100055                Gas           Gov. Aggregation   VEDO         4002751812270064            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             174417250042                Gas           Gov. Aggregation   VEDO         4002422982237177            Gas           Gov. Aggregation
COH             185274680052                Gas           Gov. Aggregation   VEDO         4002188512213997            Gas           Gov. Aggregation
COH             188411500036                Gas           Gov. Aggregation   VEDO         4001709502166819            Gas           Gov. Aggregation
COH             188772780025                Gas           Gov. Aggregation   VEDO         4016352852211742            Gas           Gov. Aggregation
COH             191099610023                Gas           Gov. Aggregation   VEDO         4016037372109513            Gas           Gov. Aggregation
COH             192312030020                Gas           Gov. Aggregation   VEDO         4015342572148501            Gas           Gov. Aggregation
COH             192516950016                Gas           Gov. Aggregation   VEDO         4004354352439371            Gas           Gov. Aggregation
COH             193205420024                Gas           Gov. Aggregation   VEDO         4004635722470438            Gas           Gov. Aggregation
COH             193290110057                Gas           Gov. Aggregation   VEDO         4003305682326901            Gas           Gov. Aggregation
COH             194405860018                Gas           Gov. Aggregation   VEDO         4004541582459969            Gas           Gov. Aggregation
COH             195137600010                Gas           Gov. Aggregation   VEDO         4004875552247286            Gas           Gov. Aggregation
COH             195160820015                Gas           Gov. Aggregation   VEDO         4004875552496837            Gas           Gov. Aggregation
COH             195168040013                Gas           Gov. Aggregation   VEDO         4001038082103639            Gas           Gov. Aggregation
COH             195172550017                Gas           Gov. Aggregation   VEDO         4001012872101306            Gas           Gov. Aggregation
COH             195189010015                Gas           Gov. Aggregation   VEDO         4001486282458757            Gas           Gov. Aggregation
COH             195194430016                Gas           Gov. Aggregation   VEDO         4019026232323853            Gas           Gov. Aggregation
COH             195210710011                Gas           Gov. Aggregation   VEDO         4017991992511689            Gas           Gov. Aggregation
COH             195227740010                Gas           Gov. Aggregation   VEDO         4004623672638848            Gas           Gov. Aggregation
COH             195245400013                Gas           Gov. Aggregation   VEDO         4002873322637213            Gas           Gov. Aggregation
COH             195246830011                Gas           Gov. Aggregation   VEDO         4002860032636540            Gas           Gov. Aggregation
COH             195255220010                Gas           Gov. Aggregation   VEDO         4001248892636909            Gas           Gov. Aggregation
COH             195256110011                Gas           Gov. Aggregation   VEDO         4018657892638723            Gas           Gov. Aggregation
COH             195265520016                Gas           Gov. Aggregation   VEDO         4017401472636931            Gas           Gov. Aggregation
COH             195272870018                Gas           Gov. Aggregation   VEDO         4018465592639114            Gas           Gov. Aggregation
COH             195318670012                Gas           Gov. Aggregation   VEDO         4003349602636786            Gas           Gov. Aggregation
COH             195318680010                Gas           Gov. Aggregation   VEDO         4004012472487684            Gas           Gov. Aggregation
COH             195329020015                Gas           Gov. Aggregation   VEDO         4004050852406186            Gas           Gov. Aggregation
COH             195379040016                Gas           Gov. Aggregation   VEDO         4015532562247909            Gas           Gov. Aggregation
COH             195434280018                Gas           Gov. Aggregation   VEDO         4001532472464719            Gas           Gov. Aggregation
COH             195463190016                Gas           Gov. Aggregation   VEDO         4001802882468485            Gas           Gov. Aggregation
COH             195483480013                Gas           Gov. Aggregation   VEDO         4002312262639682            Gas           Gov. Aggregation
COH             195491110013                Gas           Gov. Aggregation   VEDO         4003600222139543            Gas           Gov. Aggregation
COH             195518700011                Gas           Gov. Aggregation   VEDO         4016992792428712            Gas           Gov. Aggregation
COH             195518820016                Gas           Gov. Aggregation   VEDO         4016685862307793            Gas           Gov. Aggregation
COH             195533350013                Gas           Gov. Aggregation   VEDO         4010132622638971            Gas           Gov. Aggregation
COH             195765610017                Gas           Gov. Aggregation   VEDO         4010132622638972            Gas           Gov. Aggregation
VEDO            4018111932468340            Gas           Gov. Aggregation   VEDO         4015012832636461            Gas           Gov. Aggregation
VEDO            4019119652141229            Gas           Gov. Aggregation   VEDO         4018473592636459            Gas           Gov. Aggregation
VEDO            4001281722118886            Gas           Gov. Aggregation   VEDO         4018474682636499            Gas           Gov. Aggregation
VEDO            4019111842223182            Gas           Gov. Aggregation   VEDO         4002419132236794            Gas           Gov. Aggregation
VEDO            4003347222436340            Gas           Gov. Aggregation   VEDO         4002630072257902            Gas           Gov. Aggregation
VEDO            4019121362367719            Gas           Gov. Aggregation   VEDO         4002214152216537            Gas           Gov. Aggregation
VEDO            4019122552276141            Gas           Gov. Aggregation   VEDO         4018964282302739            Gas           Gov. Aggregation
VEDO            4017793282363095            Gas           Gov. Aggregation   VEDO         4018473052636436            Gas           Gov. Aggregation
VEDO            4017218272374102            Gas           Gov. Aggregation   VEDO         4018473102636440            Gas           Gov. Aggregation
VEDO            4003431842288938            Gas           Gov. Aggregation   VEDO         4018474922636513            Gas           Gov. Aggregation
VEDO            4005100002452942            Gas           Gov. Aggregation   VEDO         4018473752636466            Gas           Gov. Aggregation
COH             153080320029                Gas           Gov. Aggregation   VEDO         4018473852636472            Gas           Gov. Aggregation
COH             169525580032                Gas           Gov. Aggregation   VEDO         4018473192636446            Gas           Gov. Aggregation
COH             169436170019                Gas           Gov. Aggregation   VEDO         4018473262636450            Gas           Gov. Aggregation
COH             159337480034                Gas           Gov. Aggregation   VEDO         4018473272636451            Gas           Gov. Aggregation
COH             164264890027                Gas           Gov. Aggregation   VEDO         4018835342640864            Gas           Gov. Aggregation
COH             156631870022                Gas           Gov. Aggregation   VEDO         4018746432640012            Gas           Gov. Aggregation
COH             192629110022                Gas           Gov. Aggregation   VEDO         4018336202636930            Gas           Gov. Aggregation
COH             193171560028                Gas           Gov. Aggregation   VEDO         4019109392641471            Gas           Gov. Aggregation
COH             193585100027                Gas           Gov. Aggregation   VEDO         4004539532180098            Gas           Gov. Aggregation
COH             193675160015                Gas           Gov. Aggregation   VEDO         4015604822362325            Gas           Gov. Aggregation
COH             193933340019                Gas           Gov. Aggregation   VEDO         4003669692365175            Gas           Gov. Aggregation
COH             194748130015                Gas           Gov. Aggregation   VEDO         4001319972130089            Gas           Gov. Aggregation
COH             194920590013                Gas           Gov. Aggregation   VEDO         4001551802151895            Gas           Gov. Aggregation
COH             177247950016                Gas           Gov. Aggregation   VEDO         4015992432442239            Gas           Gov. Aggregation
COH             177298270012                Gas           Gov. Aggregation   VEDO         4015454472420996            Gas           Gov. Aggregation
COH             176009260016                Gas           Gov. Aggregation   VEDO         4001690722638671            Gas           Gov. Aggregation
COH             148170840026                Gas           Gov. Aggregation   VEDO         4002587902636448            Gas           Gov. Aggregation
COH             152451920027                Gas           Gov. Aggregation   VEDO         4004077772640357            Gas           Gov. Aggregation
COH             150601790028                Gas           Gov. Aggregation   VEDO         4018860862636896            Gas           Gov. Aggregation
COH             148735220028                Gas           Gov. Aggregation   VEDO         4018726622639815            Gas           Gov. Aggregation
COH             190364750013                Gas           Gov. Aggregation   VEDO         4001024192102372            Gas           Gov. Aggregation
COH             163555870016                Gas           Gov. Aggregation   VEDO         4001150812114237            Gas           Gov. Aggregation
COH             161666240015                Gas           Gov. Aggregation   VEDO         4015514692483288            Gas           Gov. Aggregation
COH             188587870010                Gas           Gov. Aggregation   VEDO         4016630382266395            Gas           Gov. Aggregation
COH             174398700021                Gas           Gov. Aggregation   VEDO         4005029892514056            Gas           Gov. Aggregation
COH             176153970012                Gas           Gov. Aggregation   VEDO         4001449292142043            Gas           Gov. Aggregation
COH             150734400019                Gas           Gov. Aggregation   VEDO         4003364072335607            Gas           Gov. Aggregation
COH             124324930028                Gas           Gov. Aggregation   VEDO         4002817882147528            Gas           Gov. Aggregation
COH             124525600021                Gas           Gov. Aggregation   VEDO         4002559052250925            Gas           Gov. Aggregation
COH             141472370013                Gas           Gov. Aggregation   VEDO         4003788902229117            Gas           Gov. Aggregation
COH             142002030018                Gas           Gov. Aggregation   VEDO         4003434932340467            Gas           Gov. Aggregation
COH             138703270027                Gas           Gov. Aggregation   VEDO         4004033122404294            Gas           Gov. Aggregation
COH             136762190013                Gas           Gov. Aggregation   VEDO         4003416542338538            Gas           Gov. Aggregation
COH             172541380017                Gas           Gov. Aggregation   VEDO         4003163042421399            Gas           Gov. Aggregation
COH             162905990019                Gas           Gov. Aggregation   VEDO         4003081232303601            Gas           Gov. Aggregation
COH             167871580040                Gas           Gov. Aggregation   VEDO         4002650692259963            Gas           Gov. Aggregation
COH             163832610012                Gas           Gov. Aggregation   VEDO         4002384632428918            Gas           Gov. Aggregation
COH             162600320015                Gas           Gov. Aggregation   VEDO         4001764532172160            Gas           Gov. Aggregation
COH             190876850044                Gas           Gov. Aggregation   VEDO         4004449642340691            Gas           Gov. Aggregation
COH             191175000010                Gas           Gov. Aggregation   VEDO         4004762752484381            Gas           Gov. Aggregation
COH             191205330016                Gas           Gov. Aggregation   VEDO         4015351962459143            Gas           Gov. Aggregation
COH             190704030021                Gas           Gov. Aggregation   VEDO         4001598102156317            Gas           Gov. Aggregation
COH             194736260013                Gas           Gov. Aggregation   VEDO         4002203242215439            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             165087660039                Gas           Gov. Aggregation   VEDO            4015595462510306            Gas           Gov. Aggregation
COH             171254030010                Gas           Gov. Aggregation   VEDO            4018476372228167            Gas           Gov. Aggregation
COH             164007660038                Gas           Gov. Aggregation   VEDO            4017782852234308            Gas           Gov. Aggregation
COH             188037390016                Gas           Gov. Aggregation   VEDO            4017204562332996            Gas           Gov. Aggregation
COH             188360050012                Gas           Gov. Aggregation   VEDO            4016653332337279            Gas           Gov. Aggregation
COH             188392590012                Gas           Gov. Aggregation   VEDO            4015798252278853            Gas           Gov. Aggregation
COH             188813950012                Gas           Gov. Aggregation   VEDO            4018450012281179            Gas           Gov. Aggregation
COH             192798600013                Gas           Gov. Aggregation   VEDO            4004505752455978            Gas           Gov. Aggregation
COH             193480030015                Gas           Gov. Aggregation   VEDO            4016215502511982            Gas           Gov. Aggregation
COH             187022370012                Gas           Gov. Aggregation   VEDO            4016602332351875            Gas           Gov. Aggregation
COH             146961890021                Gas           Gov. Aggregation   VEDO            4004374042441537            Gas           Gov. Aggregation
COH             148540230029                Gas           Gov. Aggregation   VEDO            4004325472436174            Gas           Gov. Aggregation
COH             148191390036                Gas           Gov. Aggregation   VEDO            4003229212141916            Gas           Gov. Aggregation
COH             152615180025                Gas           Gov. Aggregation   VEDO            4010015472195069            Gas           Gov. Aggregation
COH             187945800015                Gas           Gov. Aggregation   VEDO            4004436662448426            Gas           Gov. Aggregation
COH             170777350016                Gas           Gov. Aggregation   VEDO            4001494152146257            Gas           Gov. Aggregation
COH             140203330020                Gas           Gov. Aggregation   VEDO            4003389382335708            Gas           Gov. Aggregation
COH             141283680037                Gas           Gov. Aggregation   VEDO            4003766532375462            Gas           Gov. Aggregation
COH             142738100023                Gas           Gov. Aggregation   VEDO            4003213172317273            Gas           Gov. Aggregation
COH             158882670012                Gas           Gov. Aggregation   VEDO            4004937082309182            Gas           Gov. Aggregation
COH             158196330027                Gas           Gov. Aggregation   VEDO            4004721622479847            Gas           Gov. Aggregation
COH             158678200013                Gas           Gov. Aggregation   VEDO            4005120632524345            Gas           Gov. Aggregation
COH             156819940010                Gas           Gov. Aggregation   VEDO            4004881592497515            Gas           Gov. Aggregation
COH             169498920039                Gas           Gov. Aggregation   VEDO            4003279872324104            Gas           Gov. Aggregation
COH             192405400016                Gas           Gov. Aggregation   VEDO            4015545012301342            Gas           Gov. Aggregation
COH             187240720016                Gas           Gov. Aggregation   VEDO            4019082462275524            Gas           Gov. Aggregation
COH             171578380011                Gas           Gov. Aggregation   VEDO            4019009222333093            Gas           Gov. Aggregation
COH             146503950028                Gas           Gov. Aggregation   VEDO            4019032572108506            Gas           Gov. Aggregation
COH             134874530025                Gas           Gov. Aggregation   VEDO            4015596222289457            Gas           Gov. Aggregation
COH             122122230034                Gas           Gov. Aggregation   VEDO            4018039022303177            Gas           Gov. Aggregation
COH             127399480023                Gas           Gov. Aggregation   VEDO            4018207612168082            Gas           Gov. Aggregation
COH             130909030056                Gas           Gov. Aggregation   VEDO            4017952082451744            Gas           Gov. Aggregation
COH             125224780021                Gas           Gov. Aggregation   VEDO            4017304742526312            Gas           Gov. Aggregation
COH             170766250010                Gas           Gov. Aggregation   VEDO            4017675782224769            Gas           Gov. Aggregation
COH             170784760033                Gas           Gov. Aggregation   VEDO            4017881522385483            Gas           Gov. Aggregation
COH             158578880022                Gas           Gov. Aggregation   VEDO            4017787992461859            Gas           Gov. Aggregation
COH             129516960020                Gas           Gov. Aggregation   VEDO            4017053642143191            Gas           Gov. Aggregation
COH             151184480019                Gas           Gov. Aggregation   VEDO            4003646812362781            Gas           Gov. Aggregation
COH             172428250014                Gas           Gov. Aggregation   VEDO            4004167012305734            Gas           Gov. Aggregation
COH             172884210016                Gas           Gov. Aggregation   VEDO            4004334882393694            Gas           Gov. Aggregation
COH             172903550013                Gas           Gov. Aggregation   VEDO            4004797992117096            Gas           Gov. Aggregation
COH             172788290014                Gas           Gov. Aggregation   VEDO            4004796682488067            Gas           Gov. Aggregation
COH             172065540013                Gas           Gov. Aggregation   VEDO            4016963152113384            Gas           Gov. Aggregation
COH             173864950012                Gas           Gov. Aggregation   VEDO            4016167282587439            Gas           Gov. Aggregation
COH             195095090018                Gas           Gov. Aggregation   VEDO            4002819252276891            Gas           Gov. Aggregation
COH             176453880015                Gas           Gov. Aggregation   VEDO            4003365812184401            Gas           Gov. Aggregation
COH             176731540016                Gas           Gov. Aggregation   VEDO            4017748902435241            Gas           Gov. Aggregation
COH             176015410011                Gas           Gov. Aggregation   VEDO            4018641142257524            Gas           Gov. Aggregation
COH             177651850010                Gas           Gov. Aggregation   VEDO            4018517562378310            Gas           Gov. Aggregation
COH             177692620012                Gas           Gov. Aggregation   VEDO            4003126762308299            Gas           Gov. Aggregation
COH             186241140026                Gas           Gov. Aggregation   VEDO            4017286492632154            Gas           Gov. Aggregation
COH             188517040011                Gas           Gov. Aggregation   VEDO            4016862972632751            Gas           Gov. Aggregation
COH             188548210038                Gas           Gov. Aggregation   VEDO            4018294322634333            Gas           Gov. Aggregation
COH             186461480010                Gas           Gov. Aggregation   COH             147128770012                Gas           Gov. Aggregation
COH             186476900029                Gas           Gov. Aggregation   VEDO            4003826202236158            Gas           Gov. Aggregation
COH             192723000016                Gas           Gov. Aggregation   COH             124436770016                Gas           Gov. Aggregation
COH             192013400026                Gas           Gov. Aggregation   DUKE            0710082320                  Gas           Gov. Aggregation
COH             192907650010                Gas           Gov. Aggregation   VEDO            4002289092224026            Gas           Gov. Aggregation
COH             193456500017                Gas           Gov. Aggregation   COH             148791640022                Gas           Gov. Aggregation
COH             193397760019                Gas           Gov. Aggregation   VEDO            4001457172142796            Gas           Gov. Aggregation
COH             193989320016                Gas           Gov. Aggregation   COH             189220880013                Gas           Gov. Aggregation
COH             194165710019                Gas           Gov. Aggregation   COH             134674570049                Gas           Gov. Aggregation
COH             189993560013                Gas           Gov. Aggregation   COH             110483730048                Gas           Gov. Aggregation
COH             188982370017                Gas           Gov. Aggregation   COH             111815860045                Gas           Gov. Aggregation
COH             189044680028                Gas           Gov. Aggregation   COH             110502190022                Gas           Gov. Aggregation
COH             189282800019                Gas           Gov. Aggregation   COH             152895380021                Gas           Gov. Aggregation
COH             191335240010                Gas           Gov. Aggregation   COH             170514630013                Gas           Gov. Aggregation
COH             170361570020                Gas           Gov. Aggregation   COH             166406020034                Gas           Gov. Aggregation
COH             170365310035                Gas           Gov. Aggregation   COH             191626860013                Gas           Gov. Aggregation
COH             170538730021                Gas           Gov. Aggregation   COH             194289970013                Gas           Gov. Aggregation
COH             171522680024                Gas           Gov. Aggregation   COH             191874590015                Gas           Gov. Aggregation
COH             170174300014                Gas           Gov. Aggregation   COH             145683300016                Gas           Gov. Aggregation
COH             170283180019                Gas           Gov. Aggregation   VEDO            4004550062460869            Gas           Gov. Aggregation
COH             169734590019                Gas           Gov. Aggregation   DEO             6421002498242               Gas           Gov. Aggregation
COH             166681020023                Gas           Gov. Aggregation   VEDO            4019217512274037            Gas           Gov. Aggregation
COH             167040120029                Gas           Gov. Aggregation   VEDO            4018992202229543            Gas           Gov. Aggregation
COH             167670230012                Gas           Gov. Aggregation   COH             157442050015                Gas           Gov. Aggregation
COH             163842930032                Gas           Gov. Aggregation   VEDO            4019221002343270            Gas           Gov. Aggregation
COH             165447810024                Gas           Gov. Aggregation   COH             170316280017                Gas           Gov. Aggregation
COH             165775000029                Gas           Gov. Aggregation   COH             195708380016                Gas           Gov. Aggregation
COH             166269150020                Gas           Gov. Aggregation   COH             168898440015                Gas           Gov. Aggregation
COH             162484760020                Gas           Gov. Aggregation   COH             185268650015                Gas           Gov. Aggregation
COH             159178910040                Gas           Gov. Aggregation   COH             110929690014                Gas           Gov. Aggregation
COH             157111670025                Gas           Gov. Aggregation   COH             191565540010                Gas           Gov. Aggregation
COH             157664810015                Gas           Gov. Aggregation   COH             134457790016                Gas           Gov. Aggregation
COH             156118240022                Gas           Gov. Aggregation   COH             132045820014                Gas           Gov. Aggregation
COH             156050480035                Gas           Gov. Aggregation   COH             162905020012                Gas           Gov. Aggregation
COH             146660390024                Gas           Gov. Aggregation   COH             191307250017                Gas           Gov. Aggregation
COH             147741050031                Gas           Gov. Aggregation   COH             168118930014                Gas           Gov. Aggregation
COH             148335960067                Gas           Gov. Aggregation   COH             166164710015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             148247540026                Gas           Gov. Aggregation   COH             166620860025                Gas           Gov. Aggregation
COH             149748540041                Gas           Gov. Aggregation   COH             191837890010                Gas           Gov. Aggregation
COH             124369330048                Gas           Gov. Aggregation   COH             192041110019                Gas           Gov. Aggregation
COH             138469440029                Gas           Gov. Aggregation   COH             177720490019                Gas           Gov. Aggregation
COH             124835220024                Gas           Gov. Aggregation   COH             142588650018                Gas           Gov. Aggregation
COH             124840430029                Gas           Gov. Aggregation   COH             110920230018                Gas           Gov. Aggregation
COH             124783350108                Gas           Gov. Aggregation   COH             155051450012                Gas           Gov. Aggregation
COH             124864030023                Gas           Gov. Aggregation   COH             190423460018                Gas           Gov. Aggregation
COH             124520280038                Gas           Gov. Aggregation   COH             133804650019                Gas           Gov. Aggregation
COH             174574910023                Gas           Gov. Aggregation   COH             110920400012                Gas           Gov. Aggregation
COH             194391060017                Gas           Gov. Aggregation   COH             110875480022                Gas           Gov. Aggregation
COH             193977950019                Gas           Gov. Aggregation   COH             110919880015                Gas           Gov. Aggregation
COH             172201190026                Gas           Gov. Aggregation   COH             168014710029                Gas           Gov. Aggregation
COH             171854510026                Gas           Gov. Aggregation   COH             194982300013                Gas           Gov. Aggregation
COH             187030090014                Gas           Gov. Aggregation   COH             191892490018                Gas           Gov. Aggregation
COH             175610440023                Gas           Gov. Aggregation   COH             195406540012                Gas           Gov. Aggregation
COH             170715100027                Gas           Gov. Aggregation   COH             172386300013                Gas           Gov. Aggregation
COH             165839570033                Gas           Gov. Aggregation   COH             171698370019                Gas           Gov. Aggregation
COH             170750880011                Gas           Gov. Aggregation   COH             185192040014                Gas           Gov. Aggregation
COH             187350210010                Gas           Gov. Aggregation   COH             188333500023                Gas           Gov. Aggregation
COH             147213300055                Gas           Gov. Aggregation   COH             193661400013                Gas           Gov. Aggregation
COH             132895900034                Gas           Gov. Aggregation   COH             162011540018                Gas           Gov. Aggregation
COH             125331300024                Gas           Gov. Aggregation   COH             169573850016                Gas           Gov. Aggregation
COH             191879630016                Gas           Gov. Aggregation   COH             162332970018                Gas           Gov. Aggregation
COH             124319750027                Gas           Gov. Aggregation   COH             110919800011                Gas           Gov. Aggregation
COH             161189880013                Gas           Gov. Aggregation   COH             162584930013                Gas           Gov. Aggregation
COH             162561480016                Gas           Gov. Aggregation   COH             195808180016                Gas           Gov. Aggregation
COH             160040080025                Gas           Gov. Aggregation   COH             149845930016                Gas           Gov. Aggregation
COH             153047060024                Gas           Gov. Aggregation   COH             144917120018                Gas           Gov. Aggregation
COH             149016240027                Gas           Gov. Aggregation   COH             166702930035                Gas           Gov. Aggregation
COH             186417060011                Gas           Gov. Aggregation   COH             176289540015                Gas           Gov. Aggregation
COH             155217250012                Gas           Gov. Aggregation   COH             195925540012                Gas           Gov. Aggregation
COH             154410620015                Gas           Gov. Aggregation   COH             196242320015                Gas           Gov. Aggregation
COH             193335120013                Gas           Gov. Aggregation   COH             145679800010                Gas           Gov. Aggregation
COH             191115910024                Gas           Gov. Aggregation   COH             160473060013                Gas           Gov. Aggregation
COH             125578020049                Gas           Gov. Aggregation   COH             171053930017                Gas           Gov. Aggregation
COH             185512090023                Gas           Gov. Aggregation   COH             171252920017                Gas           Gov. Aggregation
COH             192480160028                Gas           Gov. Aggregation   COH             138380840014                Gas           Gov. Aggregation
COH             188893570014                Gas           Gov. Aggregation   COH             188913100027                Gas           Gov. Aggregation
COH             151027010019                Gas           Gov. Aggregation   COH             142136960010                Gas           Gov. Aggregation
COH             163228260017                Gas           Gov. Aggregation   COH             195808170018                Gas           Gov. Aggregation
COH             165788320016                Gas           Gov. Aggregation   COH             193932810012                Gas           Gov. Aggregation
COH             124476930027                Gas           Gov. Aggregation   COH             191015920015                Gas           Gov. Aggregation
COH             173909610017                Gas           Gov. Aggregation   COH             138132730012                Gas           Gov. Aggregation
COH             177247960014                Gas           Gov. Aggregation   COH             136554510016                Gas           Gov. Aggregation
COH             193270640012                Gas           Gov. Aggregation   COH             147064510094                Gas           Gov. Aggregation
COH             190518750016                Gas           Gov. Aggregation   COH             176996920016                Gas           Gov. Aggregation
COH             124430220013                Gas           Gov. Aggregation   COH             177446930018                Gas           Gov. Aggregation
COH             170106070016                Gas           Gov. Aggregation   COH             159769170016                Gas           Gov. Aggregation
COH             169348490019                Gas           Gov. Aggregation   COH             187113380017                Gas           Gov. Aggregation
COH             168800470014                Gas           Gov. Aggregation   COH             189136890029                Gas           Gov. Aggregation
COH             171057890018                Gas           Gov. Aggregation   COH             172475660019                Gas           Gov. Aggregation
COH             194151570018                Gas           Gov. Aggregation   COH             195508040011                Gas           Gov. Aggregation
COH             168081170022                Gas           Gov. Aggregation   COH             110921390013                Gas           Gov. Aggregation
COH             187170750028                Gas           Gov. Aggregation   COH             195201960018                Gas           Gov. Aggregation
COH             146990010024                Gas           Gov. Aggregation   COH             174501000018                Gas           Gov. Aggregation
COH             175676270021                Gas           Gov. Aggregation   COH             162402600025                Gas           Gov. Aggregation
COH             185989030017                Gas           Gov. Aggregation   COH             110920850018                Gas           Gov. Aggregation
COH             154345170028                Gas           Gov. Aggregation   COH             190864800012                Gas           Gov. Aggregation
COH             165061750025                Gas           Gov. Aggregation   COH             190551250011                Gas           Gov. Aggregation
COH             170086510026                Gas           Gov. Aggregation   COH             193776290014                Gas           Gov. Aggregation
COH             172148750022                Gas           Gov. Aggregation   COH             175760200017                Gas           Gov. Aggregation
COH             194594870017                Gas           Gov. Aggregation   COH             191476080016                Gas           Gov. Aggregation
COH             194875800015                Gas           Gov. Aggregation   COH             169336020012                Gas           Gov. Aggregation
COH             122122270036                Gas           Gov. Aggregation   COH             151488940018                Gas           Gov. Aggregation
COH             125168030028                Gas           Gov. Aggregation   COH             110928550015                Gas           Gov. Aggregation
COH             194335750010                Gas           Gov. Aggregation   COH             152475850013                Gas           Gov. Aggregation
COH             156150490022                Gas           Gov. Aggregation   COH             158344860012                Gas           Gov. Aggregation
COH             156475580016                Gas           Gov. Aggregation   COH             195972630014                Gas           Gov. Aggregation
COH             156720850027                Gas           Gov. Aggregation   COH             142689590026                Gas           Gov. Aggregation
COH             157833070021                Gas           Gov. Aggregation   COH             189408680017                Gas           Gov. Aggregation
COH             157945860019                Gas           Gov. Aggregation   COH             193980030015                Gas           Gov. Aggregation
COH             159939230030                Gas           Gov. Aggregation   COH             168934670028                Gas           Gov. Aggregation
COH             161619420034                Gas           Gov. Aggregation   COH             185436760015                Gas           Gov. Aggregation
COH             161870300019                Gas           Gov. Aggregation   COH             110933530018                Gas           Gov. Aggregation
COH             171739440016                Gas           Gov. Aggregation   COH             168557870017                Gas           Gov. Aggregation
COH             172165590011                Gas           Gov. Aggregation   COH             190644320019                Gas           Gov. Aggregation
COH             173238820025                Gas           Gov. Aggregation   COH             162645280010                Gas           Gov. Aggregation
COH             176009230012                Gas           Gov. Aggregation   VEDO            4018714462120787            Gas           Gov. Aggregation
COH             191223470019                Gas           Gov. Aggregation   VEDO            4018150442336062            Gas           Gov. Aggregation
COH             191977150019                Gas           Gov. Aggregation   DUKE            3110061122                  Gas           Gov. Aggregation
COH             192048700011                Gas           Gov. Aggregation   VEDO            4019232692145965            Gas           Gov. Aggregation
COH             173665590010                Gas           Gov. Aggregation   VEDO            4016821862623371            Gas           Gov. Aggregation
COH             126711820037                Gas           Gov. Aggregation   COH             115853900015                Gas           Gov. Aggregation
COH             150496890031                Gas           Gov. Aggregation   COH             116849030043                Gas           Gov. Aggregation
COH             166658860017                Gas           Gov. Aggregation   COH             123798790017                Gas           Gov. Aggregation
COH             187907400019                Gas           Gov. Aggregation   COH             135196080027                Gas           Gov. Aggregation
COH             193825750012                Gas           Gov. Aggregation   COH             148860130022                Gas           Gov. Aggregation
COH             133610460029                Gas           Gov. Aggregation   COH             149050670034                Gas           Gov. Aggregation
COH             150077130029                Gas           Gov. Aggregation   COH             153988680048                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             151553520026                Gas           Gov. Aggregation   COH             155854970011                Gas           Gov. Aggregation
COH             159031910013                Gas           Gov. Aggregation   COH             156398170061                Gas           Gov. Aggregation
COH             142046360044                Gas           Gov. Aggregation   COH             162009960293                Gas           Gov. Aggregation
COH             143294130037                Gas           Gov. Aggregation   COH             164388790071                Gas           Gov. Aggregation
COH             144889170037                Gas           Gov. Aggregation   COH             167089230024                Gas           Gov. Aggregation
COH             148072470022                Gas           Gov. Aggregation   COH             168555870039                Gas           Gov. Aggregation
COH             148525740033                Gas           Gov. Aggregation   COH             169093350019                Gas           Gov. Aggregation
COH             149592240027                Gas           Gov. Aggregation   COH             171252900011                Gas           Gov. Aggregation
COH             159626660015                Gas           Gov. Aggregation   COH             174344200047                Gas           Gov. Aggregation
COH             159763350029                Gas           Gov. Aggregation   COH             175857760024                Gas           Gov. Aggregation
COH             164218310016                Gas           Gov. Aggregation   COH             176968700020                Gas           Gov. Aggregation
COH             164771160016                Gas           Gov. Aggregation   COH             185785310029                Gas           Gov. Aggregation
COH             171873030018                Gas           Gov. Aggregation   COH             190864420021                Gas           Gov. Aggregation
COH             173031730013                Gas           Gov. Aggregation   COH             191864640597                Gas           Gov. Aggregation
COH             175336100017                Gas           Gov. Aggregation   COH             192131292340                Gas           Gov. Aggregation
COH             192738980010                Gas           Gov. Aggregation   COH             192762950033                Gas           Gov. Aggregation
COH             193349040020                Gas           Gov. Aggregation   COH             196054260026                Gas           Gov. Aggregation
COH             193745790014                Gas           Gov. Aggregation   COH             196271620011                Gas           Gov. Aggregation
COH             193924790014                Gas           Gov. Aggregation   COH             196329030012                Gas           Gov. Aggregation
COH             194222850018                Gas           Gov. Aggregation   COH             196369830010                Gas           Gov. Aggregation
COH             139385770018                Gas           Gov. Aggregation   COH             196374520014                Gas           Gov. Aggregation
COH             140826010018                Gas           Gov. Aggregation   COH             196374890017                Gas           Gov. Aggregation
COH             124393300025                Gas           Gov. Aggregation   COH             196374920010                Gas           Gov. Aggregation
COH             131301820039                Gas           Gov. Aggregation   COH             196404000018                Gas           Gov. Aggregation
COH             134617290039                Gas           Gov. Aggregation   COH             196413010017                Gas           Gov. Aggregation
COH             134992250024                Gas           Gov. Aggregation   COH             196414040019                Gas           Gov. Aggregation
COH             162934940018                Gas           Gov. Aggregation   COH             196414140018                Gas           Gov. Aggregation
COH             163455520020                Gas           Gov. Aggregation   COH             196422470012                Gas           Gov. Aggregation
COH             163754810016                Gas           Gov. Aggregation   COH             196433490015                Gas           Gov. Aggregation
COH             170032730014                Gas           Gov. Aggregation   COH             196462620016                Gas           Gov. Aggregation
COH             171033780011                Gas           Gov. Aggregation   COH             196462650010                Gas           Gov. Aggregation
COH             171227740018                Gas           Gov. Aggregation   COH             111254300015                Gas           Gov. Aggregation
COH             173018660016                Gas           Gov. Aggregation   COH             148394190010                Gas           Gov. Aggregation
COH             175519090012                Gas           Gov. Aggregation   VEDO            4005074092600970            Gas           Gov. Aggregation
COH             124988170022                Gas           Gov. Aggregation   COH             111098920017                Gas           Gov. Aggregation
COH             127522160027                Gas           Gov. Aggregation   COH             141528370014                Gas           Gov. Aggregation
COH             133759860049                Gas           Gov. Aggregation   VEDO            4019227172312611            Gas           Gov. Aggregation
COH             137232150031                Gas           Gov. Aggregation   DEO             0500063173171               Gas           Gov. Aggregation
COH             162270050013                Gas           Gov. Aggregation   DEO             1500061959063               Gas           Gov. Aggregation
COH             162855720012                Gas           Gov. Aggregation   DEO             2500061018095               Gas           Gov. Aggregation
COH             166370650011                Gas           Gov. Aggregation   DEO             3500051903308               Gas           Gov. Aggregation
COH             166787340013                Gas           Gov. Aggregation   DEO             6500061711868               Gas           Gov. Aggregation
COH             167880940027                Gas           Gov. Aggregation   DEO             6500062871857               Gas           Gov. Aggregation
COH             167906800011                Gas           Gov. Aggregation   DEO             7500062619661               Gas           Gov. Aggregation
COH             191935290027                Gas           Gov. Aggregation   DEO             4420903619690               Gas           Gov. Aggregation
COH             192662880030                Gas           Gov. Aggregation   DEO             2500062573859               Gas           Gov. Aggregation
COH             192886970019                Gas           Gov. Aggregation   DEO             6500064338479               Gas           Gov. Aggregation
COH             168305600016                Gas           Gov. Aggregation   DEO             8421005734117               Gas           Gov. Aggregation
COH             174898430019                Gas           Gov. Aggregation   DEO             9421005712199               Gas           Gov. Aggregation
COH             186913550043                Gas           Gov. Aggregation   VEDO            4017063692424943            Gas           Gov. Aggregation
COH             188178720027                Gas           Gov. Aggregation   COH             163919390079                Gas           Gov. Aggregation
COH             122122050041                Gas           Gov. Aggregation   COH             169599580019                Gas           Gov. Aggregation
COH             124755890024                Gas           Gov. Aggregation   COH             170127830012                Gas           Gov. Aggregation
COH             124957310027                Gas           Gov. Aggregation   COH             166944580037                Gas           Gov. Aggregation
COH             125166480082                Gas           Gov. Aggregation   COH             166973850039                Gas           Gov. Aggregation
COH             125331100026                Gas           Gov. Aggregation   COH             170558540029                Gas           Gov. Aggregation
COH             125469770034                Gas           Gov. Aggregation   COH             186583960039                Gas           Gov. Aggregation
COH             130363010021                Gas           Gov. Aggregation   COH             187866490037                Gas           Gov. Aggregation
COH             136195320018                Gas           Gov. Aggregation   COH             191308360012                Gas           Gov. Aggregation
COH             136339270022                Gas           Gov. Aggregation   COH             192832250022                Gas           Gov. Aggregation
COH             137260150041                Gas           Gov. Aggregation   COH             195729170016                Gas           Gov. Aggregation
COH             138713380050                Gas           Gov. Aggregation   COH             195843060017                Gas           Gov. Aggregation
COH             147093710028                Gas           Gov. Aggregation   COH             195845260011                Gas           Gov. Aggregation
COH             147405470026                Gas           Gov. Aggregation   COH             195871730017                Gas           Gov. Aggregation
COH             147780370041                Gas           Gov. Aggregation   COH             196562230016                Gas           Gov. Aggregation
COH             147785280031                Gas           Gov. Aggregation   COH             124457520014                Gas           Gov. Aggregation
COH             148449120026                Gas           Gov. Aggregation   COH             124442250012                Gas           Gov. Aggregation
COH             148834350021                Gas           Gov. Aggregation   COH             124785350024                Gas           Gov. Aggregation
COH             148951340025                Gas           Gov. Aggregation   COH             125039010025                Gas           Gov. Aggregation
COH             154126970033                Gas           Gov. Aggregation   COH             124527980028                Gas           Gov. Aggregation
COH             154376260024                Gas           Gov. Aggregation   COH             127528940030                Gas           Gov. Aggregation
COH             154611320030                Gas           Gov. Aggregation   COH             136272900049                Gas           Gov. Aggregation
COH             154748600014                Gas           Gov. Aggregation   COH             141696470018                Gas           Gov. Aggregation
COH             156627080027                Gas           Gov. Aggregation   COH             149340510032                Gas           Gov. Aggregation
COH             156744610027                Gas           Gov. Aggregation   COH             151640810011                Gas           Gov. Aggregation
COH             156843470027                Gas           Gov. Aggregation   COH             151758410034                Gas           Gov. Aggregation
COH             156913980012                Gas           Gov. Aggregation   COH             160159540036                Gas           Gov. Aggregation
COH             156920340011                Gas           Gov. Aggregation   COH             167957790017                Gas           Gov. Aggregation
COH             157433240014                Gas           Gov. Aggregation   COH             168170740014                Gas           Gov. Aggregation
COH             157460400022                Gas           Gov. Aggregation   COH             169732680014                Gas           Gov. Aggregation
COH             159793720028                Gas           Gov. Aggregation   COH             164661230050                Gas           Gov. Aggregation
COH             160137960016                Gas           Gov. Aggregation   COH             165308790014                Gas           Gov. Aggregation
COH             160757100012                Gas           Gov. Aggregation   COH             163610360088                Gas           Gov. Aggregation
COH             160776180016                Gas           Gov. Aggregation   COH             167301270024                Gas           Gov. Aggregation
COH             160846190015                Gas           Gov. Aggregation   COH             169917250021                Gas           Gov. Aggregation
COH             161228210028                Gas           Gov. Aggregation   COH             176007750017                Gas           Gov. Aggregation
COH             161298870014                Gas           Gov. Aggregation   COH             187130950020                Gas           Gov. Aggregation
COH             162894410024                Gas           Gov. Aggregation   COH             190315300029                Gas           Gov. Aggregation
COH             163392280052                Gas           Gov. Aggregation   COH             190898380010                Gas           Gov. Aggregation
COH             163404370010                Gas           Gov. Aggregation   COH             189352590015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             163860050011                Gas           Gov. Aggregation   COH             190099740036                Gas           Gov. Aggregation
COH             163877650029                Gas           Gov. Aggregation   COH             153936160028                Gas           Gov. Aggregation
COH             163940160018                Gas           Gov. Aggregation   COH             193125500045                Gas           Gov. Aggregation
COH             163987020019                Gas           Gov. Aggregation   COH             167347140043                Gas           Gov. Aggregation
COH             165267850019                Gas           Gov. Aggregation   COH             195955370015                Gas           Gov. Aggregation
COH             165414910013                Gas           Gov. Aggregation   COH             169592490076                Gas           Gov. Aggregation
COH             165671820018                Gas           Gov. Aggregation   COH             170595450057                Gas           Gov. Aggregation
COH             165823160023                Gas           Gov. Aggregation   COH             173367190034                Gas           Gov. Aggregation
COH             165915950013                Gas           Gov. Aggregation   COH             195518830014                Gas           Gov. Aggregation
COH             165971830010                Gas           Gov. Aggregation   COH             195584870017                Gas           Gov. Aggregation
COH             166942000014                Gas           Gov. Aggregation   COH             195944910014                Gas           Gov. Aggregation
COH             167121700016                Gas           Gov. Aggregation   COH             196013120012                Gas           Gov. Aggregation
COH             167159580013                Gas           Gov. Aggregation   COH             194700420014                Gas           Gov. Aggregation
COH             169001520016                Gas           Gov. Aggregation   COH             195244440017                Gas           Gov. Aggregation
COH             169014900019                Gas           Gov. Aggregation   COH             196274060013                Gas           Gov. Aggregation
COH             169366140014                Gas           Gov. Aggregation   COH             110942970026                Gas           Gov. Aggregation
COH             169599600014                Gas           Gov. Aggregation   COH             195755340015                Gas           Gov. Aggregation
COH             171651210010                Gas           Gov. Aggregation   COH             195817140015                Gas           Gov. Aggregation
COH             172323190028                Gas           Gov. Aggregation   COH             110934990029                Gas           Gov. Aggregation
COH             172618970010                Gas           Gov. Aggregation   COH             110936280015                Gas           Gov. Aggregation
COH             174932910014                Gas           Gov. Aggregation   COH             196310840011                Gas           Gov. Aggregation
COH             124520850029                Gas           Gov. Aggregation   COH             110405390026                Gas           Gov. Aggregation
COH             124379470011                Gas           Gov. Aggregation   COH             110971020015                Gas           Gov. Aggregation
COH             124382670021                Gas           Gov. Aggregation   COH             110992680013                Gas           Gov. Aggregation
COH             124392660022                Gas           Gov. Aggregation   COH             170533370018                Gas           Gov. Aggregation
COH             124405260027                Gas           Gov. Aggregation   COH             171310380035                Gas           Gov. Aggregation
COH             124405960011                Gas           Gov. Aggregation   COH             171574810045                Gas           Gov. Aggregation
COH             124710090026                Gas           Gov. Aggregation   COH             110899580012                Gas           Gov. Aggregation
COH             124864020025                Gas           Gov. Aggregation   COH             110921310019                Gas           Gov. Aggregation
COH             124873980025                Gas           Gov. Aggregation   COH             110942860029                Gas           Gov. Aggregation
COH             124906770037                Gas           Gov. Aggregation   COH             110943860036                Gas           Gov. Aggregation
COH             125386080026                Gas           Gov. Aggregation   COH             111081120010                Gas           Gov. Aggregation
COH             129600640055                Gas           Gov. Aggregation   COH             111088670011                Gas           Gov. Aggregation
COH             129685550010                Gas           Gov. Aggregation   COH             111108950027                Gas           Gov. Aggregation
COH             130666360017                Gas           Gov. Aggregation   COH             187769730041                Gas           Gov. Aggregation
COH             131330130033                Gas           Gov. Aggregation   COH             110983340013                Gas           Gov. Aggregation
COH             131995900015                Gas           Gov. Aggregation   COH             111079530019                Gas           Gov. Aggregation
COH             134449160015                Gas           Gov. Aggregation   COH             111093880016                Gas           Gov. Aggregation
COH             134914040013                Gas           Gov. Aggregation   COH             111094030049                Gas           Gov. Aggregation
COH             134992380027                Gas           Gov. Aggregation   COH             111111950011                Gas           Gov. Aggregation
COH             135287360016                Gas           Gov. Aggregation   COH             195211140019                Gas           Gov. Aggregation
COH             135449760018                Gas           Gov. Aggregation   COH             195318060029                Gas           Gov. Aggregation
COH             152187150020                Gas           Gov. Aggregation   COH             192959590014                Gas           Gov. Aggregation
COH             152238480013                Gas           Gov. Aggregation   COH             194310970016                Gas           Gov. Aggregation
COH             152249630027                Gas           Gov. Aggregation   COH             135526460026                Gas           Gov. Aggregation
COH             152315860028                Gas           Gov. Aggregation   COH             142081540024                Gas           Gov. Aggregation
COH             152346740019                Gas           Gov. Aggregation   COH             121872390033                Gas           Gov. Aggregation
COH             152727800027                Gas           Gov. Aggregation   COH             126985510015                Gas           Gov. Aggregation
COH             152783610038                Gas           Gov. Aggregation   COH             156266400016                Gas           Gov. Aggregation
COH             153210230012                Gas           Gov. Aggregation   COH             142474800017                Gas           Gov. Aggregation
COH             153235600012                Gas           Gov. Aggregation   COH             142672840037                Gas           Gov. Aggregation
COH             153270020029                Gas           Gov. Aggregation   COH             196516500016                Gas           Gov. Aggregation
COH             153276770011                Gas           Gov. Aggregation   COH             115060850017                Gas           Gov. Aggregation
COH             153887300023                Gas           Gov. Aggregation   COH             196443360011                Gas           Gov. Aggregation
COH             153922090022                Gas           Gov. Aggregation   COH             154151850026                Gas           Gov. Aggregation
COH             153971190028                Gas           Gov. Aggregation   COH             157780140010                Gas           Gov. Aggregation
COH             153975660012                Gas           Gov. Aggregation   COH             159508070019                Gas           Gov. Aggregation
COH             154008240036                Gas           Gov. Aggregation   COH             155321760023                Gas           Gov. Aggregation
COH             154017680017                Gas           Gov. Aggregation   COH             155818740024                Gas           Gov. Aggregation
COH             154372020022                Gas           Gov. Aggregation   COH             164920200083                Gas           Gov. Aggregation
COH             154415650028                Gas           Gov. Aggregation   COH             169250760019                Gas           Gov. Aggregation
COH             154491480024                Gas           Gov. Aggregation   COH             170787130039                Gas           Gov. Aggregation
COH             154543090016                Gas           Gov. Aggregation   COH             165907030013                Gas           Gov. Aggregation
COH             154641900035                Gas           Gov. Aggregation   COH             115611670061                Gas           Gov. Aggregation
COH             154710150018                Gas           Gov. Aggregation   COH             187647910023                Gas           Gov. Aggregation
COH             155201130029                Gas           Gov. Aggregation   COH             186424000036                Gas           Gov. Aggregation
COH             155217170019                Gas           Gov. Aggregation   COH             152876790043                Gas           Gov. Aggregation
COH             155365880017                Gas           Gov. Aggregation   COH             108667990011                Gas           Gov. Aggregation
COH             155373650018                Gas           Gov. Aggregation   COH             108691520018                Gas           Gov. Aggregation
COH             155385880033                Gas           Gov. Aggregation   COH             108694930016                Gas           Gov. Aggregation
COH             155424310010                Gas           Gov. Aggregation   COH             108769950022                Gas           Gov. Aggregation
COH             155485270011                Gas           Gov. Aggregation   COH             108771880022                Gas           Gov. Aggregation
COH             155958680012                Gas           Gov. Aggregation   COH             108690770018                Gas           Gov. Aggregation
COH             155984250017                Gas           Gov. Aggregation   COH             108696090028                Gas           Gov. Aggregation
COH             155984250035                Gas           Gov. Aggregation   COH             108697540012                Gas           Gov. Aggregation
COH             156026720017                Gas           Gov. Aggregation   COH             108699700023                Gas           Gov. Aggregation
COH             156160380015                Gas           Gov. Aggregation   COH             108711140014                Gas           Gov. Aggregation
COH             156843560019                Gas           Gov. Aggregation   COH             108683940017                Gas           Gov. Aggregation
COH             156858900016                Gas           Gov. Aggregation   COH             108690560021                Gas           Gov. Aggregation
COH             156977410026                Gas           Gov. Aggregation   COH             108692050024                Gas           Gov. Aggregation
COH             157611270010                Gas           Gov. Aggregation   COH             108698900023                Gas           Gov. Aggregation
COH             158060620069                Gas           Gov. Aggregation   COH             108708130013                Gas           Gov. Aggregation
COH             158131170027                Gas           Gov. Aggregation   COH             108752150016                Gas           Gov. Aggregation
COH             158135980010                Gas           Gov. Aggregation   COH             108763640029                Gas           Gov. Aggregation
COH             158192600037                Gas           Gov. Aggregation   COH             108669660016                Gas           Gov. Aggregation
COH             158258040017                Gas           Gov. Aggregation   COH             108678450020                Gas           Gov. Aggregation
COH             158301820010                Gas           Gov. Aggregation   COH             108680800012                Gas           Gov. Aggregation
COH             158391990098                Gas           Gov. Aggregation   COH             108684850023                Gas           Gov. Aggregation
COH             158914070019                Gas           Gov. Aggregation   COH             108694550016                Gas           Gov. Aggregation
COH             159101520016                Gas           Gov. Aggregation   COH             108729710017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             159110260012                Gas           Gov. Aggregation   COH             108730180016                Gas           Gov. Aggregation
COH             159111940017                Gas           Gov. Aggregation   COH             108732540016                Gas           Gov. Aggregation
COH             159151120033                Gas           Gov. Aggregation   COH             108733400013                Gas           Gov. Aggregation
COH             159178940017                Gas           Gov. Aggregation   COH             108735900023                Gas           Gov. Aggregation
COH             160075830024                Gas           Gov. Aggregation   COH             108736420013                Gas           Gov. Aggregation
COH             160165470010                Gas           Gov. Aggregation   COH             108739190016                Gas           Gov. Aggregation
COH             160177440011                Gas           Gov. Aggregation   COH             108739600019                Gas           Gov. Aggregation
COH             160210290011                Gas           Gov. Aggregation   COH             108750640017                Gas           Gov. Aggregation
COH             160269530017                Gas           Gov. Aggregation   COH             192052850011                Gas           Gov. Aggregation
COH             161111400052                Gas           Gov. Aggregation   COH             108751050028                Gas           Gov. Aggregation
COH             161257470087                Gas           Gov. Aggregation   COH             162672760012                Gas           Gov. Aggregation
COH             161281480020                Gas           Gov. Aggregation   COH             162953970012                Gas           Gov. Aggregation
COH             161308460017                Gas           Gov. Aggregation   COH             193257060012                Gas           Gov. Aggregation
COH             161426400019                Gas           Gov. Aggregation   COH             164984740013                Gas           Gov. Aggregation
COH             161553060012                Gas           Gov. Aggregation   COH             166006360013                Gas           Gov. Aggregation
COH             162214370032                Gas           Gov. Aggregation   COH             166085520022                Gas           Gov. Aggregation
COH             162239660011                Gas           Gov. Aggregation   COH             162701260014                Gas           Gov. Aggregation
COH             162357800011                Gas           Gov. Aggregation   COH             163713260018                Gas           Gov. Aggregation
COH             162430870011                Gas           Gov. Aggregation   COH             192974650019                Gas           Gov. Aggregation
COH             162594000017                Gas           Gov. Aggregation   COH             168137680026                Gas           Gov. Aggregation
COH             162958780012                Gas           Gov. Aggregation   COH             168476350018                Gas           Gov. Aggregation
COH             162987110020                Gas           Gov. Aggregation   COH             166973050046                Gas           Gov. Aggregation
COH             163012460012                Gas           Gov. Aggregation   COH             167359580019                Gas           Gov. Aggregation
COH             163060870015                Gas           Gov. Aggregation   COH             171178680034                Gas           Gov. Aggregation
COH             163131720015                Gas           Gov. Aggregation   COH             195682520012                Gas           Gov. Aggregation
COH             163178990020                Gas           Gov. Aggregation   COH             171638820074                Gas           Gov. Aggregation
COH             163950720019                Gas           Gov. Aggregation   COH             195923770018                Gas           Gov. Aggregation
COH             163979750013                Gas           Gov. Aggregation   COH             171785900012                Gas           Gov. Aggregation
COH             164192660019                Gas           Gov. Aggregation   COH             172723020025                Gas           Gov. Aggregation
COH             164336560032                Gas           Gov. Aggregation   COH             172792340032                Gas           Gov. Aggregation
COH             164895750010                Gas           Gov. Aggregation   COH             173274430012                Gas           Gov. Aggregation
COH             164915880019                Gas           Gov. Aggregation   COH             174759790018                Gas           Gov. Aggregation
COH             164983820018                Gas           Gov. Aggregation   COH             196582270016                Gas           Gov. Aggregation
COH             165032220018                Gas           Gov. Aggregation   COH             175734800016                Gas           Gov. Aggregation
COH             165118740017                Gas           Gov. Aggregation   COH             110602500015                Gas           Gov. Aggregation
COH             165937080010                Gas           Gov. Aggregation   COH             196264130019                Gas           Gov. Aggregation
COH             165961220019                Gas           Gov. Aggregation   COH             110644750015                Gas           Gov. Aggregation
COH             166022180017                Gas           Gov. Aggregation   COH             110554560016                Gas           Gov. Aggregation
COH             166732420011                Gas           Gov. Aggregation   COH             177218380017                Gas           Gov. Aggregation
COH             166791670024                Gas           Gov. Aggregation   COH             177240510076                Gas           Gov. Aggregation
COH             166856790012                Gas           Gov. Aggregation   COH             177329640026                Gas           Gov. Aggregation
COH             166989810016                Gas           Gov. Aggregation   COH             111274180206                Gas           Gov. Aggregation
COH             167121500027                Gas           Gov. Aggregation   COH             111283190018                Gas           Gov. Aggregation
COH             167143470028                Gas           Gov. Aggregation   COH             177618500022                Gas           Gov. Aggregation
COH             167187320018                Gas           Gov. Aggregation   COH             185532150019                Gas           Gov. Aggregation
COH             167799390017                Gas           Gov. Aggregation   COH             111220840013                Gas           Gov. Aggregation
COH             167823210020                Gas           Gov. Aggregation   COH             111236270010                Gas           Gov. Aggregation
COH             167841790012                Gas           Gov. Aggregation   COH             187092500017                Gas           Gov. Aggregation
COH             167841820015                Gas           Gov. Aggregation   COH             187158380013                Gas           Gov. Aggregation
COH             168055540010                Gas           Gov. Aggregation   COH             187381590016                Gas           Gov. Aggregation
COH             168595160025                Gas           Gov. Aggregation   COH             188012070024                Gas           Gov. Aggregation
COH             168675070015                Gas           Gov. Aggregation   COH             188808100039                Gas           Gov. Aggregation
COH             168924910019                Gas           Gov. Aggregation   COH             188465320013                Gas           Gov. Aggregation
COH             168946070010                Gas           Gov. Aggregation   COH             188517320021                Gas           Gov. Aggregation
COH             168993080037                Gas           Gov. Aggregation   COH             189172810038                Gas           Gov. Aggregation
COH             169018560013                Gas           Gov. Aggregation   COH             190070540010                Gas           Gov. Aggregation
COH             169018610012                Gas           Gov. Aggregation   COH             190214240017                Gas           Gov. Aggregation
COH             169599490018                Gas           Gov. Aggregation   COH             190676970016                Gas           Gov. Aggregation
COH             169647310012                Gas           Gov. Aggregation   COH             190456100014                Gas           Gov. Aggregation
COH             170116470011                Gas           Gov. Aggregation   COH             190937010022                Gas           Gov. Aggregation
COH             170116480028                Gas           Gov. Aggregation   COH             192186320019                Gas           Gov. Aggregation
COH             170119360018                Gas           Gov. Aggregation   COH             192326220094                Gas           Gov. Aggregation
COH             170134950012                Gas           Gov. Aggregation   COH             192729350011                Gas           Gov. Aggregation
COH             170213990016                Gas           Gov. Aggregation   COH             130952080046                Gas           Gov. Aggregation
COH             170236100014                Gas           Gov. Aggregation   COH             193072650010                Gas           Gov. Aggregation
COH             170817590010                Gas           Gov. Aggregation   COH             193193670029                Gas           Gov. Aggregation
COH             170983960011                Gas           Gov. Aggregation   COH             193231960017                Gas           Gov. Aggregation
COH             170995580025                Gas           Gov. Aggregation   COH             129919000018                Gas           Gov. Aggregation
COH             171068720010                Gas           Gov. Aggregation   COH             193810780017                Gas           Gov. Aggregation
COH             171134320013                Gas           Gov. Aggregation   COH             193904790016                Gas           Gov. Aggregation
COH             171977410018                Gas           Gov. Aggregation   COH             138605980017                Gas           Gov. Aggregation
COH             172034910029                Gas           Gov. Aggregation   COH             139843980030                Gas           Gov. Aggregation
COH             172049880016                Gas           Gov. Aggregation   COH             140128510013                Gas           Gov. Aggregation
COH             172082140020                Gas           Gov. Aggregation   COH             144136050019                Gas           Gov. Aggregation
COH             172148810010                Gas           Gov. Aggregation   COH             195030740017                Gas           Gov. Aggregation
COH             172544310015                Gas           Gov. Aggregation   COH             145791030023                Gas           Gov. Aggregation
COH             172571010011                Gas           Gov. Aggregation   COH             195766940016                Gas           Gov. Aggregation
COH             172614450017                Gas           Gov. Aggregation   COH             196337710012                Gas           Gov. Aggregation
COH             172673610019                Gas           Gov. Aggregation   COH             146382870032                Gas           Gov. Aggregation
COH             172725490014                Gas           Gov. Aggregation   COH             195608160014                Gas           Gov. Aggregation
COH             173333530015                Gas           Gov. Aggregation   COH             146324350015                Gas           Gov. Aggregation
COH             173356060016                Gas           Gov. Aggregation   COH             146962910131                Gas           Gov. Aggregation
COH             173462110010                Gas           Gov. Aggregation   COH             196171300010                Gas           Gov. Aggregation
COH             173556290023                Gas           Gov. Aggregation   COH             109012200012                Gas           Gov. Aggregation
COH             173583050017                Gas           Gov. Aggregation   COH             114462500019                Gas           Gov. Aggregation
COH             174007030010                Gas           Gov. Aggregation   COH             118776080073                Gas           Gov. Aggregation
COH             174039700049                Gas           Gov. Aggregation   COH             119013660101                Gas           Gov. Aggregation
COH             174070510016                Gas           Gov. Aggregation   COH             123675680038                Gas           Gov. Aggregation
COH             174135260011                Gas           Gov. Aggregation   COH             123680350027                Gas           Gov. Aggregation
COH             175610790020                Gas           Gov. Aggregation   COH             123707460017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             175676150017                Gas           Gov. Aggregation   COH             123719850029                Gas           Gov. Aggregation
COH             175749600017                Gas           Gov. Aggregation   COH             123720550029                Gas           Gov. Aggregation
COH             175771140035                Gas           Gov. Aggregation   COH             115366080020                Gas           Gov. Aggregation
COH             175976840016                Gas           Gov. Aggregation   COH             115368670022                Gas           Gov. Aggregation
COH             176562980013                Gas           Gov. Aggregation   COH             119777460025                Gas           Gov. Aggregation
COH             176649750026                Gas           Gov. Aggregation   COH             123711370017                Gas           Gov. Aggregation
COH             176691520016                Gas           Gov. Aggregation   COH             123712780028                Gas           Gov. Aggregation
COH             176758130016                Gas           Gov. Aggregation   COH             123721150012                Gas           Gov. Aggregation
COH             177252860023                Gas           Gov. Aggregation   COH             124023410016                Gas           Gov. Aggregation
COH             177405910018                Gas           Gov. Aggregation   COH             115368520014                Gas           Gov. Aggregation
COH             177447790016                Gas           Gov. Aggregation   COH             123713930015                Gas           Gov. Aggregation
COH             177447810020                Gas           Gov. Aggregation   COH             123716080036                Gas           Gov. Aggregation
COH             185587390023                Gas           Gov. Aggregation   COH             123722010019                Gas           Gov. Aggregation
COH             185638970031                Gas           Gov. Aggregation   COH             123725810024                Gas           Gov. Aggregation
COH             185666350014                Gas           Gov. Aggregation   COH             119628470037                Gas           Gov. Aggregation
COH             185731440016                Gas           Gov. Aggregation   COH             120343110024                Gas           Gov. Aggregation
COH             185752990017                Gas           Gov. Aggregation   COH             123646610015                Gas           Gov. Aggregation
COH             185760420019                Gas           Gov. Aggregation   COH             123652270023                Gas           Gov. Aggregation
COH             186324290010                Gas           Gov. Aggregation   COH             123655900024                Gas           Gov. Aggregation
COH             186395110027                Gas           Gov. Aggregation   COH             123672770017                Gas           Gov. Aggregation
COH             186505690012                Gas           Gov. Aggregation   COH             123730720013                Gas           Gov. Aggregation
COH             186553180018                Gas           Gov. Aggregation   COH             123730790019                Gas           Gov. Aggregation
COH             186562130019                Gas           Gov. Aggregation   COH             123732640052                Gas           Gov. Aggregation
COH             186909990013                Gas           Gov. Aggregation   COH             123733460021                Gas           Gov. Aggregation
COH             186970780027                Gas           Gov. Aggregation   COH             123734020058                Gas           Gov. Aggregation
COH             187000560018                Gas           Gov. Aggregation   COH             123734100024                Gas           Gov. Aggregation
COH             187129960012                Gas           Gov. Aggregation   COH             123738000018                Gas           Gov. Aggregation
COH             187390990013                Gas           Gov. Aggregation   COH             123917330028                Gas           Gov. Aggregation
COH             187419920015                Gas           Gov. Aggregation   COH             124046910022                Gas           Gov. Aggregation
COH             187419960017                Gas           Gov. Aggregation   COH             126835810028                Gas           Gov. Aggregation
COH             187435720022                Gas           Gov. Aggregation   COH             126999120036                Gas           Gov. Aggregation
COH             187495770026                Gas           Gov. Aggregation   COH             130990640057                Gas           Gov. Aggregation
COH             187837960020                Gas           Gov. Aggregation   COH             133263090024                Gas           Gov. Aggregation
COH             187842710012                Gas           Gov. Aggregation   COH             133372870010                Gas           Gov. Aggregation
COH             187848320012                Gas           Gov. Aggregation   COH             135210920028                Gas           Gov. Aggregation
COH             187854280018                Gas           Gov. Aggregation   COH             132632910010                Gas           Gov. Aggregation
COH             188011560014                Gas           Gov. Aggregation   COH             137819870027                Gas           Gov. Aggregation
COH             188018000017                Gas           Gov. Aggregation   COH             137921090024                Gas           Gov. Aggregation
COH             188530540018                Gas           Gov. Aggregation   COH             138050520010                Gas           Gov. Aggregation
COH             189086860013                Gas           Gov. Aggregation   COH             134954400013                Gas           Gov. Aggregation
COH             189092270014                Gas           Gov. Aggregation   COH             138551240026                Gas           Gov. Aggregation
COH             189474750013                Gas           Gov. Aggregation   COH             138561680032                Gas           Gov. Aggregation
COH             189522240017                Gas           Gov. Aggregation   COH             139664840075                Gas           Gov. Aggregation
COH             189590180017                Gas           Gov. Aggregation   COH             140103650212                Gas           Gov. Aggregation
COH             189930750015                Gas           Gov. Aggregation   COH             145499770028                Gas           Gov. Aggregation
COH             190088110013                Gas           Gov. Aggregation   COH             136807130028                Gas           Gov. Aggregation
COH             190468040012                Gas           Gov. Aggregation   COH             138507330011                Gas           Gov. Aggregation
COH             190468050010                Gas           Gov. Aggregation   COH             141859030023                Gas           Gov. Aggregation
COH             190741920017                Gas           Gov. Aggregation   COH             140838750018                Gas           Gov. Aggregation
COH             190918090017                Gas           Gov. Aggregation   COH             140943720020                Gas           Gov. Aggregation
COH             190925970017                Gas           Gov. Aggregation   COH             141404420015                Gas           Gov. Aggregation
COH             190940900019                Gas           Gov. Aggregation   COH             143037480010                Gas           Gov. Aggregation
COH             190941390015                Gas           Gov. Aggregation   COH             143246790049                Gas           Gov. Aggregation
COH             191032110019                Gas           Gov. Aggregation   COH             145087330050                Gas           Gov. Aggregation
COH             191070530011                Gas           Gov. Aggregation   COH             147145290017                Gas           Gov. Aggregation
COH             191287690028                Gas           Gov. Aggregation   COH             148968130015                Gas           Gov. Aggregation
COH             191329000013                Gas           Gov. Aggregation   COH             142640990015                Gas           Gov. Aggregation
COH             191372790017                Gas           Gov. Aggregation   COH             146955500025                Gas           Gov. Aggregation
COH             191382870019                Gas           Gov. Aggregation   COH             150497930012                Gas           Gov. Aggregation
COH             191423060011                Gas           Gov. Aggregation   COH             150539620026                Gas           Gov. Aggregation
COH             191480740018                Gas           Gov. Aggregation   COH             150624230027                Gas           Gov. Aggregation
COH             191730250010                Gas           Gov. Aggregation   COH             152598940014                Gas           Gov. Aggregation
COH             191825030015                Gas           Gov. Aggregation   COH             153035220016                Gas           Gov. Aggregation
COH             191852680021                Gas           Gov. Aggregation   COH             153200420013                Gas           Gov. Aggregation
COH             192063560028                Gas           Gov. Aggregation   COH             153972900026                Gas           Gov. Aggregation
COH             192084960011                Gas           Gov. Aggregation   COH             155388370016                Gas           Gov. Aggregation
COH             192428210018                Gas           Gov. Aggregation   COH             156488430010                Gas           Gov. Aggregation
COH             192428290012                Gas           Gov. Aggregation   COH             155903160025                Gas           Gov. Aggregation
COH             192450190016                Gas           Gov. Aggregation   COH             155182170069                Gas           Gov. Aggregation
COH             192490100010                Gas           Gov. Aggregation   COH             159533740024                Gas           Gov. Aggregation
COH             192668040016                Gas           Gov. Aggregation   COH             159551760040                Gas           Gov. Aggregation
COH             192671690013                Gas           Gov. Aggregation   COH             162420880010                Gas           Gov. Aggregation
COH             192813460019                Gas           Gov. Aggregation   COH             165494900017                Gas           Gov. Aggregation
COH             192979070011                Gas           Gov. Aggregation   COH             169808080019                Gas           Gov. Aggregation
COH             192989050014                Gas           Gov. Aggregation   COH             170448090018                Gas           Gov. Aggregation
COH             193010420018                Gas           Gov. Aggregation   COH             177141000028                Gas           Gov. Aggregation
COH             193380370016                Gas           Gov. Aggregation   COH             191927000015                Gas           Gov. Aggregation
COH             193387210015                Gas           Gov. Aggregation   COH             193711860010                Gas           Gov. Aggregation
COH             193420660019                Gas           Gov. Aggregation   COH             194293320010                Gas           Gov. Aggregation
COH             193424750012                Gas           Gov. Aggregation   COH             195389120018                Gas           Gov. Aggregation
COH             193483790010                Gas           Gov. Aggregation   COH             195991910015                Gas           Gov. Aggregation
COH             193598900013                Gas           Gov. Aggregation   COH             194847000012                Gas           Gov. Aggregation
COH             193685860017                Gas           Gov. Aggregation   COH             195440850015                Gas           Gov. Aggregation
COH             193889260011                Gas           Gov. Aggregation   COH             195913330011                Gas           Gov. Aggregation
COH             194190380016                Gas           Gov. Aggregation   COH             195955690018                Gas           Gov. Aggregation
COH             194208990019                Gas           Gov. Aggregation   COH             123761730016                Gas           Gov. Aggregation
COH             194228960013                Gas           Gov. Aggregation   COH             125658500020                Gas           Gov. Aggregation
COH             194273870017                Gas           Gov. Aggregation   COH             123741570012                Gas           Gov. Aggregation
COH             194407270018                Gas           Gov. Aggregation   COH             123744560018                Gas           Gov. Aggregation
COH             194659160018                Gas           Gov. Aggregation   COH             125743530023                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             194659930016                Gas           Gov. Aggregation   COH             125746170023                Gas           Gov. Aggregation
COH             194670940010                Gas           Gov. Aggregation   COH             162422760011                Gas           Gov. Aggregation
COH             194729790017                Gas           Gov. Aggregation   COH             162524050023                Gas           Gov. Aggregation
COH             194799920012                Gas           Gov. Aggregation   COH             163394860010                Gas           Gov. Aggregation
COH             194803500019                Gas           Gov. Aggregation   COH             164527620016                Gas           Gov. Aggregation
COH             194803610016                Gas           Gov. Aggregation   COH             164955490044                Gas           Gov. Aggregation
COH             194865680012                Gas           Gov. Aggregation   COH             166006400023                Gas           Gov. Aggregation
COH             194865710015                Gas           Gov. Aggregation   COH             135631380011                Gas           Gov. Aggregation
COH             194987150015                Gas           Gov. Aggregation   COH             135693720019                Gas           Gov. Aggregation
COH             194991250015                Gas           Gov. Aggregation   COH             163980180010                Gas           Gov. Aggregation
COH             195001500018                Gas           Gov. Aggregation   COH             164686410014                Gas           Gov. Aggregation
COH             195149430011                Gas           Gov. Aggregation   COH             165611090018                Gas           Gov. Aggregation
COH             195172480012                Gas           Gov. Aggregation   COH             138061130028                Gas           Gov. Aggregation
COH             195177830018                Gas           Gov. Aggregation   COH             139716580033                Gas           Gov. Aggregation
COH             195419040010                Gas           Gov. Aggregation   COH             166659930010                Gas           Gov. Aggregation
COH             195441340010                Gas           Gov. Aggregation   COH             166827860027                Gas           Gov. Aggregation
COH             195480960018                Gas           Gov. Aggregation   COH             167334640018                Gas           Gov. Aggregation
COH             195492300011                Gas           Gov. Aggregation   COH             167048650013                Gas           Gov. Aggregation
COH             125684790016                Gas           Gov. Aggregation   COH             167304310010                Gas           Gov. Aggregation
COH             125694050010                Gas           Gov. Aggregation   COH             168826160024                Gas           Gov. Aggregation
COH             127577760017                Gas           Gov. Aggregation   COH             168476700014                Gas           Gov. Aggregation
COH             131329730012                Gas           Gov. Aggregation   COH             168491550014                Gas           Gov. Aggregation
COH             131934260018                Gas           Gov. Aggregation   COH             168772920047                Gas           Gov. Aggregation
COH             147581310018                Gas           Gov. Aggregation   COH             169481200017                Gas           Gov. Aggregation
COH             150283100019                Gas           Gov. Aggregation   COH             169983890019                Gas           Gov. Aggregation
COH             153372060025                Gas           Gov. Aggregation   COH             147268390034                Gas           Gov. Aggregation
COH             157345080024                Gas           Gov. Aggregation   COH             170319000019                Gas           Gov. Aggregation
COH             158203540017                Gas           Gov. Aggregation   COH             171571600018                Gas           Gov. Aggregation
COH             169910270012                Gas           Gov. Aggregation   COH             162466060016                Gas           Gov. Aggregation
COH             171266260017                Gas           Gov. Aggregation   COH             162562450010                Gas           Gov. Aggregation
COH             173547370016                Gas           Gov. Aggregation   COH             162478740027                Gas           Gov. Aggregation
COH             173766950010                Gas           Gov. Aggregation   COH             162504140017                Gas           Gov. Aggregation
COH             174178080037                Gas           Gov. Aggregation   COH             174597090028                Gas           Gov. Aggregation
COH             192475930018                Gas           Gov. Aggregation   COH             160985560013                Gas           Gov. Aggregation
COH             192520370019                Gas           Gov. Aggregation   COH             162818230031                Gas           Gov. Aggregation
COH             192576360014                Gas           Gov. Aggregation   COH             162823810010                Gas           Gov. Aggregation
COH             192639950034                Gas           Gov. Aggregation   COH             175914520040                Gas           Gov. Aggregation
COH             193685790012                Gas           Gov. Aggregation   COH             163654870016                Gas           Gov. Aggregation
COH             124419940025                Gas           Gov. Aggregation   COH             175440210022                Gas           Gov. Aggregation
COH             124425660012                Gas           Gov. Aggregation   COH             175513720011                Gas           Gov. Aggregation
COH             136781280014                Gas           Gov. Aggregation   COH             165182230028                Gas           Gov. Aggregation
COH             153569960038                Gas           Gov. Aggregation   COH             165377520033                Gas           Gov. Aggregation
COH             153647970030                Gas           Gov. Aggregation   COH             176969440014                Gas           Gov. Aggregation
COH             192589830018                Gas           Gov. Aggregation   COH             165580680011                Gas           Gov. Aggregation
COH             122794790034                Gas           Gov. Aggregation   COH             165702460017                Gas           Gov. Aggregation
COH             156460800010                Gas           Gov. Aggregation   COH             166224190026                Gas           Gov. Aggregation
COH             161095810034                Gas           Gov. Aggregation   COH             165406430011                Gas           Gov. Aggregation
COH             164367510028                Gas           Gov. Aggregation   COH             177678370015                Gas           Gov. Aggregation
COH             172678590014                Gas           Gov. Aggregation   COH             185076850038                Gas           Gov. Aggregation
COH             186535160010                Gas           Gov. Aggregation   COH             166291740056                Gas           Gov. Aggregation
COH             187439410010                Gas           Gov. Aggregation   COH             166926100044                Gas           Gov. Aggregation
COH             161627320029                Gas           Gov. Aggregation   COH             167016960015                Gas           Gov. Aggregation
COH             161114980028                Gas           Gov. Aggregation   COH             166591890013                Gas           Gov. Aggregation
COH             195534790019                Gas           Gov. Aggregation   COH             166607700017                Gas           Gov. Aggregation
COH             162366460023                Gas           Gov. Aggregation   COH             166696830022                Gas           Gov. Aggregation
COH             148409970031                Gas           Gov. Aggregation   COH             167065380032                Gas           Gov. Aggregation
COH             161083940014                Gas           Gov. Aggregation   COH             186559020019                Gas           Gov. Aggregation
COH             149879200027                Gas           Gov. Aggregation   COH             168181980066                Gas           Gov. Aggregation
COH             163448590012                Gas           Gov. Aggregation   COH             168251480035                Gas           Gov. Aggregation
COH             195421660015                Gas           Gov. Aggregation   COH             186844460012                Gas           Gov. Aggregation
COH             149423450020                Gas           Gov. Aggregation   COH             187258480029                Gas           Gov. Aggregation
COH             144067370028                Gas           Gov. Aggregation   COH             168539010033                Gas           Gov. Aggregation
COH             162613500038                Gas           Gov. Aggregation   COH             169156160024                Gas           Gov. Aggregation
COH             124494150014                Gas           Gov. Aggregation   COH             160057720034                Gas           Gov. Aggregation
COH             172034770038                Gas           Gov. Aggregation   COH             169555070018                Gas           Gov. Aggregation
COH             174328680014                Gas           Gov. Aggregation   COH             169261140016                Gas           Gov. Aggregation
COH             122169060023                Gas           Gov. Aggregation   COH             169332800016                Gas           Gov. Aggregation
COH             136202270021                Gas           Gov. Aggregation   COH             169807750010                Gas           Gov. Aggregation
COH             194431610015                Gas           Gov. Aggregation   COH             188266700024                Gas           Gov. Aggregation
COH             124493860017                Gas           Gov. Aggregation   COH             170367960044                Gas           Gov. Aggregation
COH             124464090010                Gas           Gov. Aggregation   COH             169896970017                Gas           Gov. Aggregation
COH             125022780029                Gas           Gov. Aggregation   COH             188580440023                Gas           Gov. Aggregation
COH             164127330042                Gas           Gov. Aggregation   COH             171590880010                Gas           Gov. Aggregation
COH             144125940024                Gas           Gov. Aggregation   COH             172100790024                Gas           Gov. Aggregation
COH             133360680024                Gas           Gov. Aggregation   COH             189209080042                Gas           Gov. Aggregation
COH             170009140035                Gas           Gov. Aggregation   COH             171310440023                Gas           Gov. Aggregation
COH             124493990010                Gas           Gov. Aggregation   COH             171331720048                Gas           Gov. Aggregation
COH             155435740017                Gas           Gov. Aggregation   COH             189550800065                Gas           Gov. Aggregation
COH             124493720016                Gas           Gov. Aggregation   COH             172380710019                Gas           Gov. Aggregation
COH             193261900016                Gas           Gov. Aggregation   COH             172801000032                Gas           Gov. Aggregation
COH             168216050011                Gas           Gov. Aggregation   COH             173063880024                Gas           Gov. Aggregation
COH             131236700015                Gas           Gov. Aggregation   COH             172966450012                Gas           Gov. Aggregation
COH             163720100016                Gas           Gov. Aggregation   COH             172766940013                Gas           Gov. Aggregation
COH             124463920017                Gas           Gov. Aggregation   COH             173009040024                Gas           Gov. Aggregation
COH             124464880014                Gas           Gov. Aggregation   COH             173249120038                Gas           Gov. Aggregation
COH             154843660010                Gas           Gov. Aggregation   COH             173631570015                Gas           Gov. Aggregation
COH             134947520013                Gas           Gov. Aggregation   COH             173273710033                Gas           Gov. Aggregation
COH             123107330016                Gas           Gov. Aggregation   COH             191577770017                Gas           Gov. Aggregation
COH             124464960017                Gas           Gov. Aggregation   COH             173315520033                Gas           Gov. Aggregation
COH             188059880026                Gas           Gov. Aggregation   COH             174695920025                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             163634520011                Gas           Gov. Aggregation   COH             190968200018                Gas           Gov. Aggregation
COH             124463890014                Gas           Gov. Aggregation   COH             173846850011                Gas           Gov. Aggregation
COH             188690350010                Gas           Gov. Aggregation   COH             174448520013                Gas           Gov. Aggregation
COH             165968740061                Gas           Gov. Aggregation   COH             191644060013                Gas           Gov. Aggregation
COH             124494620024                Gas           Gov. Aggregation   COH             175010240018                Gas           Gov. Aggregation
COH             124465330017                Gas           Gov. Aggregation   COH             175482260015                Gas           Gov. Aggregation
COH             141857920011                Gas           Gov. Aggregation   COH             174751470011                Gas           Gov. Aggregation
COH             176853880017                Gas           Gov. Aggregation   COH             176671500012                Gas           Gov. Aggregation
COH             177747530023                Gas           Gov. Aggregation   COH             176986980024                Gas           Gov. Aggregation
COH             123106840011                Gas           Gov. Aggregation   COH             176221320013                Gas           Gov. Aggregation
COH             138862090029                Gas           Gov. Aggregation   COH             192427810014                Gas           Gov. Aggregation
COH             124823220029                Gas           Gov. Aggregation   COH             185362050020                Gas           Gov. Aggregation
COH             169944420037                Gas           Gov. Aggregation   COH             177476090012                Gas           Gov. Aggregation
COH             172390750010                Gas           Gov. Aggregation   COH             177515900026                Gas           Gov. Aggregation
COH             185773100019                Gas           Gov. Aggregation   COH             177540410017                Gas           Gov. Aggregation
COH             160876400017                Gas           Gov. Aggregation   COH             193389290024                Gas           Gov. Aggregation
COH             141775410012                Gas           Gov. Aggregation   COH             185699440025                Gas           Gov. Aggregation
COH             142021990017                Gas           Gov. Aggregation   COH             186362970017                Gas           Gov. Aggregation
COH             142631230013                Gas           Gov. Aggregation   COH             186390530038                Gas           Gov. Aggregation
COH             146445130015                Gas           Gov. Aggregation   COH             186029760017                Gas           Gov. Aggregation
COH             146747910011                Gas           Gov. Aggregation   COH             186642860016                Gas           Gov. Aggregation
COH             147791360022                Gas           Gov. Aggregation   COH             186163200029                Gas           Gov. Aggregation
COH             148046640021                Gas           Gov. Aggregation   COH             186695270019                Gas           Gov. Aggregation
COH             153202520045                Gas           Gov. Aggregation   COH             186728980019                Gas           Gov. Aggregation
COH             153764260013                Gas           Gov. Aggregation   COH             187192900020                Gas           Gov. Aggregation
COH             156845270025                Gas           Gov. Aggregation   COH             195057850018                Gas           Gov. Aggregation
COH             157166600015                Gas           Gov. Aggregation   COH             187372830014                Gas           Gov. Aggregation
COH             157441190027                Gas           Gov. Aggregation   COH             195379340013                Gas           Gov. Aggregation
COH             158247260014                Gas           Gov. Aggregation   COH             188627220010                Gas           Gov. Aggregation
COH             160455590010                Gas           Gov. Aggregation   COH             195135240010                Gas           Gov. Aggregation
COH             160593820019                Gas           Gov. Aggregation   COH             188295380012                Gas           Gov. Aggregation
COH             160661060014                Gas           Gov. Aggregation   COH             188789930019                Gas           Gov. Aggregation
COH             160682070018                Gas           Gov. Aggregation   COH             195708400011                Gas           Gov. Aggregation
COH             160838470013                Gas           Gov. Aggregation   COH             160563290014                Gas           Gov. Aggregation
COH             165403120012                Gas           Gov. Aggregation   COH             161749070015                Gas           Gov. Aggregation
COH             165571650025                Gas           Gov. Aggregation   COH             162009960220                Gas           Gov. Aggregation
COH             165598900017                Gas           Gov. Aggregation   COH             162158480048                Gas           Gov. Aggregation
COH             165777780013                Gas           Gov. Aggregation   COH             195736330017                Gas           Gov. Aggregation
COH             168757690011                Gas           Gov. Aggregation   COH             195700890015                Gas           Gov. Aggregation
COH             168785100015                Gas           Gov. Aggregation   COH             189151530013                Gas           Gov. Aggregation
COH             170024430014                Gas           Gov. Aggregation   COH             190663440014                Gas           Gov. Aggregation
COH             170403000029                Gas           Gov. Aggregation   COH             195655510011                Gas           Gov. Aggregation
COH             170576120029                Gas           Gov. Aggregation   COH             195844290017                Gas           Gov. Aggregation
COH             170598920016                Gas           Gov. Aggregation   COH             195952910017                Gas           Gov. Aggregation
COH             172664340024                Gas           Gov. Aggregation   COH             190672870015                Gas           Gov. Aggregation
COH             172725330035                Gas           Gov. Aggregation   COH             190954280020                Gas           Gov. Aggregation
COH             173176250018                Gas           Gov. Aggregation   COH             196371470011                Gas           Gov. Aggregation
COH             173501910027                Gas           Gov. Aggregation   COH             191197510017                Gas           Gov. Aggregation
COH             173689010039                Gas           Gov. Aggregation   COH             196216620017                Gas           Gov. Aggregation
COH             177088820011                Gas           Gov. Aggregation   COH             192131291994                Gas           Gov. Aggregation
COH             177228410037                Gas           Gov. Aggregation   COH             196520740017                Gas           Gov. Aggregation
COH             186513360014                Gas           Gov. Aggregation   COH             192131292591                Gas           Gov. Aggregation
COH             186781040014                Gas           Gov. Aggregation   COH             192446920020                Gas           Gov. Aggregation
COH             186961880016                Gas           Gov. Aggregation   COH             192564490012                Gas           Gov. Aggregation
COH             187871450016                Gas           Gov. Aggregation   COH             192568220010                Gas           Gov. Aggregation
COH             190808630016                Gas           Gov. Aggregation   COH             192633341426                Gas           Gov. Aggregation
COH             190855940012                Gas           Gov. Aggregation   COH             193045740018                Gas           Gov. Aggregation
COH             191917350013                Gas           Gov. Aggregation   COH             192515310030                Gas           Gov. Aggregation
COH             192189510013                Gas           Gov. Aggregation   COH             112221070012                Gas           Gov. Aggregation
COH             193331720015                Gas           Gov. Aggregation   COH             193481170014                Gas           Gov. Aggregation
COH             195055980015                Gas           Gov. Aggregation   COH             194498880028                Gas           Gov. Aggregation
COH             124309710017                Gas           Gov. Aggregation   COH             194663800014                Gas           Gov. Aggregation
COH             124309730022                Gas           Gov. Aggregation   COH             195326510018                Gas           Gov. Aggregation
COH             124311260017                Gas           Gov. Aggregation   COH             195109620015                Gas           Gov. Aggregation
COH             124311570012                Gas           Gov. Aggregation   COH             195122930012                Gas           Gov. Aggregation
COH             124312070051                Gas           Gov. Aggregation   COH             195472310011                Gas           Gov. Aggregation
COH             124502320019                Gas           Gov. Aggregation   COH             195447440017                Gas           Gov. Aggregation
COH             124502600010                Gas           Gov. Aggregation   COH             195968290015                Gas           Gov. Aggregation
COH             124502670016                Gas           Gov. Aggregation   COH             195972580015                Gas           Gov. Aggregation
COH             124503140015                Gas           Gov. Aggregation   COH             195931750015                Gas           Gov. Aggregation
COH             124503150013                Gas           Gov. Aggregation   COH             196077040015                Gas           Gov. Aggregation
COH             124503170019                Gas           Gov. Aggregation   COH             196235030011                Gas           Gov. Aggregation
COH             124503270018                Gas           Gov. Aggregation   COH             196484370013                Gas           Gov. Aggregation
COH             124504360017                Gas           Gov. Aggregation   COH             196492180016                Gas           Gov. Aggregation
COH             124504570013                Gas           Gov. Aggregation   COH             196216060015                Gas           Gov. Aggregation
COH             124507680023                Gas           Gov. Aggregation   COH             196489170015                Gas           Gov. Aggregation
COH             124509230014                Gas           Gov. Aggregation   COH             111486850028                Gas           Gov. Aggregation
COH             124509340011                Gas           Gov. Aggregation   COH             114695090013                Gas           Gov. Aggregation
COH             124520930013                Gas           Gov. Aggregation   COH             196585610018                Gas           Gov. Aggregation
COH             124521570017                Gas           Gov. Aggregation   COH             116834640055                Gas           Gov. Aggregation
COH             124521590013                Gas           Gov. Aggregation   COH             117028050057                Gas           Gov. Aggregation
COH             124521830021                Gas           Gov. Aggregation   COH             116952780038                Gas           Gov. Aggregation
COH             124532080017                Gas           Gov. Aggregation   COH             117089710023                Gas           Gov. Aggregation
COH             124532290013                Gas           Gov. Aggregation   COH             117132870027                Gas           Gov. Aggregation
COH             124532640019                Gas           Gov. Aggregation   COH             117340390018                Gas           Gov. Aggregation
COH             124533060019                Gas           Gov. Aggregation   COH             117345000028                Gas           Gov. Aggregation
COH             124533350018                Gas           Gov. Aggregation   COH             115372030018                Gas           Gov. Aggregation
COH             124533380012                Gas           Gov. Aggregation   COH             115372100013                Gas           Gov. Aggregation
COH             124837450022                Gas           Gov. Aggregation   COH             117005240028                Gas           Gov. Aggregation
COH             124839890026                Gas           Gov. Aggregation   COH             117276340033                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             124861300022                Gas           Gov. Aggregation   COH             117290450012                Gas           Gov. Aggregation
COH             124873290020                Gas           Gov. Aggregation   COH             117310420014                Gas           Gov. Aggregation
COH             124926090029                Gas           Gov. Aggregation   COH             117311690043                Gas           Gov. Aggregation
COH             127230700022                Gas           Gov. Aggregation   COH             117328850017                Gas           Gov. Aggregation
COH             127508530029                Gas           Gov. Aggregation   COH             117329050013                Gas           Gov. Aggregation
COH             128844720017                Gas           Gov. Aggregation   COH             117357460018                Gas           Gov. Aggregation
COH             128883410010                Gas           Gov. Aggregation   COH             117361180018                Gas           Gov. Aggregation
COH             130186970026                Gas           Gov. Aggregation   COH             117282060039                Gas           Gov. Aggregation
COH             130249320037                Gas           Gov. Aggregation   COH             117738730040                Gas           Gov. Aggregation
COH             131283950014                Gas           Gov. Aggregation   COH             118007210029                Gas           Gov. Aggregation
COH             131995980019                Gas           Gov. Aggregation   COH             118029740022                Gas           Gov. Aggregation
COH             132003220018                Gas           Gov. Aggregation   COH             118102830027                Gas           Gov. Aggregation
COH             132612790018                Gas           Gov. Aggregation   COH             118631980043                Gas           Gov. Aggregation
COH             134471660013                Gas           Gov. Aggregation   COH             118631980061                Gas           Gov. Aggregation
COH             134554850017                Gas           Gov. Aggregation   COH             118051220015                Gas           Gov. Aggregation
COH             135088530012                Gas           Gov. Aggregation   COH             118057590034                Gas           Gov. Aggregation
COH             135186970012                Gas           Gov. Aggregation   COH             122001680018                Gas           Gov. Aggregation
COH             135903740027                Gas           Gov. Aggregation   COH             122008710026                Gas           Gov. Aggregation
COH             137590640030                Gas           Gov. Aggregation   COH             118101650036                Gas           Gov. Aggregation
COH             138181940024                Gas           Gov. Aggregation   COH             117294780024                Gas           Gov. Aggregation
COH             138267580019                Gas           Gov. Aggregation   COH             117308170021                Gas           Gov. Aggregation
COH             138295420013                Gas           Gov. Aggregation   COH             118264090030                Gas           Gov. Aggregation
COH             140154990036                Gas           Gov. Aggregation   COH             118013820028                Gas           Gov. Aggregation
COH             140311470013                Gas           Gov. Aggregation   COH             121939870021                Gas           Gov. Aggregation
COH             140427570017                Gas           Gov. Aggregation   COH             122338450022                Gas           Gov. Aggregation
COH             140429740017                Gas           Gov. Aggregation   COH             122371460039                Gas           Gov. Aggregation
COH             140463070025                Gas           Gov. Aggregation   COH             122381800027                Gas           Gov. Aggregation
COH             140476360045                Gas           Gov. Aggregation   COH             122385370020                Gas           Gov. Aggregation
COH             140974900027                Gas           Gov. Aggregation   COH             118231030031                Gas           Gov. Aggregation
COH             144844530017                Gas           Gov. Aggregation   COH             122484950037                Gas           Gov. Aggregation
COH             144916970012                Gas           Gov. Aggregation   COH             117558390026                Gas           Gov. Aggregation
COH             144947430010                Gas           Gov. Aggregation   COH             117640150021                Gas           Gov. Aggregation
COH             145161630022                Gas           Gov. Aggregation   COH             118071010044                Gas           Gov. Aggregation
COH             145169450015                Gas           Gov. Aggregation   COH             118082030029                Gas           Gov. Aggregation
COH             145594920015                Gas           Gov. Aggregation   COH             121947080011                Gas           Gov. Aggregation
COH             145622210013                Gas           Gov. Aggregation   COH             118350020059                Gas           Gov. Aggregation
COH             145638890036                Gas           Gov. Aggregation   COH             122390930012                Gas           Gov. Aggregation
COH             148116650011                Gas           Gov. Aggregation   COH             122487710031                Gas           Gov. Aggregation
COH             148804460012                Gas           Gov. Aggregation   COH             118391510032                Gas           Gov. Aggregation
COH             148894850011                Gas           Gov. Aggregation   COH             118799350050                Gas           Gov. Aggregation
COH             149719660010                Gas           Gov. Aggregation   COH             118825770019                Gas           Gov. Aggregation
COH             150462310033                Gas           Gov. Aggregation   COH             122450240028                Gas           Gov. Aggregation
COH             152473940018                Gas           Gov. Aggregation   COH             122459250028                Gas           Gov. Aggregation
COH             152495990012                Gas           Gov. Aggregation   COH             122467740144                Gas           Gov. Aggregation
COH             152830680015                Gas           Gov. Aggregation   COH             118823310019                Gas           Gov. Aggregation
COH             152929200034                Gas           Gov. Aggregation   COH             119652060023                Gas           Gov. Aggregation
COH             153137910015                Gas           Gov. Aggregation   COH             123941460011                Gas           Gov. Aggregation
COH             153352200045                Gas           Gov. Aggregation   COH             124036520016                Gas           Gov. Aggregation
COH             155740410028                Gas           Gov. Aggregation   COH             124037330014                Gas           Gov. Aggregation
COH             156065120039                Gas           Gov. Aggregation   COH             124582170013                Gas           Gov. Aggregation
COH             156301550019                Gas           Gov. Aggregation   COH             124593130018                Gas           Gov. Aggregation
COH             156515110018                Gas           Gov. Aggregation   COH             123908670017                Gas           Gov. Aggregation
COH             158257890011                Gas           Gov. Aggregation   COH             123908760027                Gas           Gov. Aggregation
COH             158316760030                Gas           Gov. Aggregation   COH             124036200031                Gas           Gov. Aggregation
COH             159105290017                Gas           Gov. Aggregation   COH             124132920018                Gas           Gov. Aggregation
COH             159593340013                Gas           Gov. Aggregation   COH             120240590040                Gas           Gov. Aggregation
COH             161549180016                Gas           Gov. Aggregation   COH             120246160048                Gas           Gov. Aggregation
COH             161558450029                Gas           Gov. Aggregation   COH             126963400032                Gas           Gov. Aggregation
COH             161996000025                Gas           Gov. Aggregation   COH             120447040010                Gas           Gov. Aggregation
COH             162507750013                Gas           Gov. Aggregation   COH             120461890030                Gas           Gov. Aggregation
COH             162517910018                Gas           Gov. Aggregation   COH             130325480023                Gas           Gov. Aggregation
COH             162602820016                Gas           Gov. Aggregation   COH             132631870011                Gas           Gov. Aggregation
COH             164678340034                Gas           Gov. Aggregation   COH             126790280017                Gas           Gov. Aggregation
COH             164781500013                Gas           Gov. Aggregation   COH             120460250018                Gas           Gov. Aggregation
COH             164983850012                Gas           Gov. Aggregation   COH             121470460021                Gas           Gov. Aggregation
COH             165209390018                Gas           Gov. Aggregation   COH             128830060015                Gas           Gov. Aggregation
COH             165297400010                Gas           Gov. Aggregation   COH             132102720022                Gas           Gov. Aggregation
COH             165367100014                Gas           Gov. Aggregation   COH             129402130034                Gas           Gov. Aggregation
COH             167471130024                Gas           Gov. Aggregation   COH             129520080026                Gas           Gov. Aggregation
COH             167664680011                Gas           Gov. Aggregation   COH             133137690052                Gas           Gov. Aggregation
COH             168450660017                Gas           Gov. Aggregation   COH             131728370030                Gas           Gov. Aggregation
COH             168650330012                Gas           Gov. Aggregation   COH             130888340011                Gas           Gov. Aggregation
COH             170558550027                Gas           Gov. Aggregation   COH             130990620042                Gas           Gov. Aggregation
COH             170830380052                Gas           Gov. Aggregation   COH             132746620010                Gas           Gov. Aggregation
COH             171611970033                Gas           Gov. Aggregation   COH             132860850010                Gas           Gov. Aggregation
COH             172755220017                Gas           Gov. Aggregation   COH             133282990025                Gas           Gov. Aggregation
COH             173999330017                Gas           Gov. Aggregation   COH             133437080027                Gas           Gov. Aggregation
COH             174219940010                Gas           Gov. Aggregation   COH             133448900030                Gas           Gov. Aggregation
COH             174307400016                Gas           Gov. Aggregation   COH             134445230054                Gas           Gov. Aggregation
COH             176366770013                Gas           Gov. Aggregation   COH             134765200034                Gas           Gov. Aggregation
COH             176939810019                Gas           Gov. Aggregation   COH             133837090018                Gas           Gov. Aggregation
COH             177238710015                Gas           Gov. Aggregation   COH             131253900026                Gas           Gov. Aggregation
COH             177548370010                Gas           Gov. Aggregation   COH             131595210134                Gas           Gov. Aggregation
COH             177708650011                Gas           Gov. Aggregation   COH             132187230027                Gas           Gov. Aggregation
COH             186489500017                Gas           Gov. Aggregation   COH             132777080064                Gas           Gov. Aggregation
COH             186623300013                Gas           Gov. Aggregation   COH             132868950022                Gas           Gov. Aggregation
COH             186709180017                Gas           Gov. Aggregation   COH             133860060024                Gas           Gov. Aggregation
COH             187017240010                Gas           Gov. Aggregation   COH             134262060021                Gas           Gov. Aggregation
COH             187353310013                Gas           Gov. Aggregation   COH             135601340021                Gas           Gov. Aggregation
COH             189518220029                Gas           Gov. Aggregation   COH             136446400018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             189605490028                Gas           Gov. Aggregation   COH             136050040022                Gas           Gov. Aggregation
COH             189636780013                Gas           Gov. Aggregation   COH             135124720023                Gas           Gov. Aggregation
COH             190060260010                Gas           Gov. Aggregation   COH             135729440039                Gas           Gov. Aggregation
COH             190141440010                Gas           Gov. Aggregation   COH             136836940214                Gas           Gov. Aggregation
COH             192053210013                Gas           Gov. Aggregation   COH             136811990029                Gas           Gov. Aggregation
COH             192163200012                Gas           Gov. Aggregation   COH             137074740042                Gas           Gov. Aggregation
COH             192163210010                Gas           Gov. Aggregation   COH             136411550047                Gas           Gov. Aggregation
COH             192215140014                Gas           Gov. Aggregation   COH             138918560058                Gas           Gov. Aggregation
COH             192282310026                Gas           Gov. Aggregation   COH             137986660019                Gas           Gov. Aggregation
COH             193808580014                Gas           Gov. Aggregation   COH             138101040030                Gas           Gov. Aggregation
COH             193825690015                Gas           Gov. Aggregation   COH             138397780058                Gas           Gov. Aggregation
COH             194142060014                Gas           Gov. Aggregation   COH             138622560019                Gas           Gov. Aggregation
COH             194326470018                Gas           Gov. Aggregation   COH             139778750019                Gas           Gov. Aggregation
COH             195237670014                Gas           Gov. Aggregation   COH             140062610021                Gas           Gov. Aggregation
COH             195346440011                Gas           Gov. Aggregation   COH             137136890021                Gas           Gov. Aggregation
COH             134111810013                Gas           Gov. Aggregation   COH             137335740048                Gas           Gov. Aggregation
COH             138955490019                Gas           Gov. Aggregation   COH             137855110048                Gas           Gov. Aggregation
COH             139182720018                Gas           Gov. Aggregation   COH             141317110015                Gas           Gov. Aggregation
COH             188458010013                Gas           Gov. Aggregation   COH             140818920032                Gas           Gov. Aggregation
COH             190121530013                Gas           Gov. Aggregation   COH             140500730026                Gas           Gov. Aggregation
COH             192096530016                Gas           Gov. Aggregation   COH             140788080025                Gas           Gov. Aggregation
COH             192228590013                Gas           Gov. Aggregation   COH             140827260050                Gas           Gov. Aggregation
COH             193616720011                Gas           Gov. Aggregation   COH             142019520010                Gas           Gov. Aggregation
COH             193977820016                Gas           Gov. Aggregation   COH             138673230066                Gas           Gov. Aggregation
COH             110594070024                Gas           Gov. Aggregation   COH             138687580028                Gas           Gov. Aggregation
COH             124307870036                Gas           Gov. Aggregation   COH             141265120014                Gas           Gov. Aggregation
COH             124314250013                Gas           Gov. Aggregation   COH             141326420011                Gas           Gov. Aggregation
COH             124317790032                Gas           Gov. Aggregation   COH             142652250015                Gas           Gov. Aggregation
COH             124318810044                Gas           Gov. Aggregation   COH             143317070021                Gas           Gov. Aggregation
COH             124319520025                Gas           Gov. Aggregation   COH             142067070069                Gas           Gov. Aggregation
COH             124345780026                Gas           Gov. Aggregation   COH             142067430045                Gas           Gov. Aggregation
COH             124345950020                Gas           Gov. Aggregation   COH             142856660026                Gas           Gov. Aggregation
COH             124346920186                Gas           Gov. Aggregation   COH             143324980016                Gas           Gov. Aggregation
COH             124352140025                Gas           Gov. Aggregation   COH             144970700023                Gas           Gov. Aggregation
COH             124355950029                Gas           Gov. Aggregation   COH             145513260032                Gas           Gov. Aggregation
COH             124370480035                Gas           Gov. Aggregation   COH             142251010015                Gas           Gov. Aggregation
COH             124370550030                Gas           Gov. Aggregation   COH             144407870021                Gas           Gov. Aggregation
COH             124371680022                Gas           Gov. Aggregation   COH             143250110015                Gas           Gov. Aggregation
COH             124379200026                Gas           Gov. Aggregation   COH             143578490021                Gas           Gov. Aggregation
COH             124381640029                Gas           Gov. Aggregation   COH             144526970046                Gas           Gov. Aggregation
COH             124389670018                Gas           Gov. Aggregation   COH             145451760057                Gas           Gov. Aggregation
COH             124389760019                Gas           Gov. Aggregation   COH             145881140038                Gas           Gov. Aggregation
COH             124389830014                Gas           Gov. Aggregation   COH             147156170046                Gas           Gov. Aggregation
COH             124390720014                Gas           Gov. Aggregation   COH             148398940023                Gas           Gov. Aggregation
COH             124390780012                Gas           Gov. Aggregation   COH             148804070023                Gas           Gov. Aggregation
COH             124390830011                Gas           Gov. Aggregation   COH             147527710027                Gas           Gov. Aggregation
COH             124390870013                Gas           Gov. Aggregation   COH             147867850028                Gas           Gov. Aggregation
COH             124391010011                Gas           Gov. Aggregation   COH             147913270012                Gas           Gov. Aggregation
COH             124396430013                Gas           Gov. Aggregation   COH             148191960027                Gas           Gov. Aggregation
COH             124396920010                Gas           Gov. Aggregation   COH             147828900010                Gas           Gov. Aggregation
COH             124397910038                Gas           Gov. Aggregation   COH             149095770011                Gas           Gov. Aggregation
COH             124398750021                Gas           Gov. Aggregation   COH             149197640058                Gas           Gov. Aggregation
COH             124407450023                Gas           Gov. Aggregation   COH             147340720049                Gas           Gov. Aggregation
COH             124407690023                Gas           Gov. Aggregation   COH             150009240010                Gas           Gov. Aggregation
COH             124407830032                Gas           Gov. Aggregation   COH             150828330024                Gas           Gov. Aggregation
COH             124426190028                Gas           Gov. Aggregation   COH             149154130037                Gas           Gov. Aggregation
COH             124427300013                Gas           Gov. Aggregation   COH             148217790054                Gas           Gov. Aggregation
COH             124427380017                Gas           Gov. Aggregation   COH             149499840010                Gas           Gov. Aggregation
COH             124427480016                Gas           Gov. Aggregation   COH             150030020011                Gas           Gov. Aggregation
COH             124427570017                Gas           Gov. Aggregation   COH             151349013658                Gas           Gov. Aggregation
COH             124431080011                Gas           Gov. Aggregation   COH             149491440010                Gas           Gov. Aggregation
COH             124431360012                Gas           Gov. Aggregation   COH             149946360021                Gas           Gov. Aggregation
COH             124431490024                Gas           Gov. Aggregation   COH             150193690017                Gas           Gov. Aggregation
COH             124431820015                Gas           Gov. Aggregation   COH             151276360037                Gas           Gov. Aggregation
COH             124433270017                Gas           Gov. Aggregation   COH             152403670012                Gas           Gov. Aggregation
COH             124435210015                Gas           Gov. Aggregation   COH             152467790148                Gas           Gov. Aggregation
COH             124435530018                Gas           Gov. Aggregation   COH             152850320018                Gas           Gov. Aggregation
COH             124435690033                Gas           Gov. Aggregation   COH             153526610022                Gas           Gov. Aggregation
COH             124436260013                Gas           Gov. Aggregation   COH             152373490015                Gas           Gov. Aggregation
COH             124436470019                Gas           Gov. Aggregation   COH             152512730063                Gas           Gov. Aggregation
COH             124436560010                Gas           Gov. Aggregation   COH             152376310016                Gas           Gov. Aggregation
COH             124436610019                Gas           Gov. Aggregation   COH             152434600084                Gas           Gov. Aggregation
COH             124437940018                Gas           Gov. Aggregation   COH             155862970014                Gas           Gov. Aggregation
COH             124438310045                Gas           Gov. Aggregation   COH             152001540020                Gas           Gov. Aggregation
COH             124438350010                Gas           Gov. Aggregation   COH             152263390019                Gas           Gov. Aggregation
COH             124438360018                Gas           Gov. Aggregation   COH             156961410029                Gas           Gov. Aggregation
COH             124441090018                Gas           Gov. Aggregation   COH             155545310023                Gas           Gov. Aggregation
COH             124445420010                Gas           Gov. Aggregation   COH             156018200022                Gas           Gov. Aggregation
COH             124445450014                Gas           Gov. Aggregation   COH             153957480072                Gas           Gov. Aggregation
COH             124445490016                Gas           Gov. Aggregation   COH             154569030014                Gas           Gov. Aggregation
COH             124445600012                Gas           Gov. Aggregation   COH             154677540018                Gas           Gov. Aggregation
COH             124445720017                Gas           Gov. Aggregation   COH             154879930018                Gas           Gov. Aggregation
COH             124447690010                Gas           Gov. Aggregation   COH             153514290034                Gas           Gov. Aggregation
COH             124447740019                Gas           Gov. Aggregation   COH             157425980043                Gas           Gov. Aggregation
COH             124449500015                Gas           Gov. Aggregation   COH             157700010015                Gas           Gov. Aggregation
COH             124449580028                Gas           Gov. Aggregation   COH             159091130011                Gas           Gov. Aggregation
COH             124449730017                Gas           Gov. Aggregation   COH             158311310016                Gas           Gov. Aggregation
COH             124452070037                Gas           Gov. Aggregation   COH             158401330039                Gas           Gov. Aggregation
COH             124452120027                Gas           Gov. Aggregation   COH             158966780011                Gas           Gov. Aggregation
COH             124455990010                Gas           Gov. Aggregation   COH             159247080020                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             124456020011                Gas           Gov. Aggregation   COH             159476650025                Gas           Gov. Aggregation
COH             124457150012                Gas           Gov. Aggregation   COH             159590710011                Gas           Gov. Aggregation
COH             124457180025                Gas           Gov. Aggregation   COH             156479980014                Gas           Gov. Aggregation
COH             124457640019                Gas           Gov. Aggregation   COH             157384850066                Gas           Gov. Aggregation
COH             124458180014                Gas           Gov. Aggregation   COH             157488220031                Gas           Gov. Aggregation
COH             124458190021                Gas           Gov. Aggregation   COH             157995060012                Gas           Gov. Aggregation
COH             124458220024                Gas           Gov. Aggregation   COH             159999790028                Gas           Gov. Aggregation
COH             124466270027                Gas           Gov. Aggregation   COH             160340580051                Gas           Gov. Aggregation
COH             124467490029                Gas           Gov. Aggregation   COH             159872420112                Gas           Gov. Aggregation
COH             124475230026                Gas           Gov. Aggregation   COH             160305580028                Gas           Gov. Aggregation
COH             124491230022                Gas           Gov. Aggregation   COH             159746020015                Gas           Gov. Aggregation
COH             124491670020                Gas           Gov. Aggregation   COH             158095270042                Gas           Gov. Aggregation
COH             124491720038                Gas           Gov. Aggregation   COH             158221110028                Gas           Gov. Aggregation
COH             124901780026                Gas           Gov. Aggregation   COH             154769640049                Gas           Gov. Aggregation
COH             125047610022                Gas           Gov. Aggregation   COH             156591520021                Gas           Gov. Aggregation
COH             125090040021                Gas           Gov. Aggregation   COH             159973530044                Gas           Gov. Aggregation
COH             125249840026                Gas           Gov. Aggregation   COH             158458140049                Gas           Gov. Aggregation
COH             125255510022                Gas           Gov. Aggregation   COH             161982280017                Gas           Gov. Aggregation
COH             125255510031                Gas           Gov. Aggregation   COH             162107920024                Gas           Gov. Aggregation
COH             125298980024                Gas           Gov. Aggregation   COH             160179040011                Gas           Gov. Aggregation
COH             125396370024                Gas           Gov. Aggregation   COH             161129150012                Gas           Gov. Aggregation
COH             127246640059                Gas           Gov. Aggregation   COH             161592390011                Gas           Gov. Aggregation
COH             127323690028                Gas           Gov. Aggregation   COH             158933010075                Gas           Gov. Aggregation
COH             127323840017                Gas           Gov. Aggregation   COH             159165890051                Gas           Gov. Aggregation
COH             129181110010                Gas           Gov. Aggregation   COH             161709170018                Gas           Gov. Aggregation
COH             129202100034                Gas           Gov. Aggregation   COH             162249910017                Gas           Gov. Aggregation
COH             129253360015                Gas           Gov. Aggregation   COH             161664030013                Gas           Gov. Aggregation
COH             129266000022                Gas           Gov. Aggregation   COH             161311640021                Gas           Gov. Aggregation
COH             129331230016                Gas           Gov. Aggregation   COH             161319520011                Gas           Gov. Aggregation
COH             129380510014                Gas           Gov. Aggregation   COH             161375800041                Gas           Gov. Aggregation
COH             129380680019                Gas           Gov. Aggregation   COH             164514650017                Gas           Gov. Aggregation
COH             130354720030                Gas           Gov. Aggregation   COH             163972020010                Gas           Gov. Aggregation
COH             130460590015                Gas           Gov. Aggregation   COH             163253060016                Gas           Gov. Aggregation
COH             130529370015                Gas           Gov. Aggregation   COH             167507230017                Gas           Gov. Aggregation
COH             130575430024                Gas           Gov. Aggregation   COH             165655910013                Gas           Gov. Aggregation
COH             130657450053                Gas           Gov. Aggregation   COH             164625350033                Gas           Gov. Aggregation
COH             130739050017                Gas           Gov. Aggregation   COH             165211180017                Gas           Gov. Aggregation
COH             130785020016                Gas           Gov. Aggregation   COH             166503890018                Gas           Gov. Aggregation
COH             130836400026                Gas           Gov. Aggregation   COH             166872050013                Gas           Gov. Aggregation
COH             131214970024                Gas           Gov. Aggregation   COH             175941480015                Gas           Gov. Aggregation
COH             131469240019                Gas           Gov. Aggregation   COH             168376930036                Gas           Gov. Aggregation
COH             131473070034                Gas           Gov. Aggregation   COH             173992010018                Gas           Gov. Aggregation
COH             131656100011                Gas           Gov. Aggregation   COH             170522830014                Gas           Gov. Aggregation
COH             131826130014                Gas           Gov. Aggregation   COH             171824720043                Gas           Gov. Aggregation
COH             133035540013                Gas           Gov. Aggregation   COH             169183940014                Gas           Gov. Aggregation
COH             133315980017                Gas           Gov. Aggregation   COH             169448600022                Gas           Gov. Aggregation
COH             133990900022                Gas           Gov. Aggregation   COH             170393290031                Gas           Gov. Aggregation
COH             134155060019                Gas           Gov. Aggregation   COH             173790530017                Gas           Gov. Aggregation
COH             134210960012                Gas           Gov. Aggregation   COH             186530200075                Gas           Gov. Aggregation
COH             134291410026                Gas           Gov. Aggregation   COH             188278520018                Gas           Gov. Aggregation
COH             134305160028                Gas           Gov. Aggregation   COH             176268470014                Gas           Gov. Aggregation
COH             134305240021                Gas           Gov. Aggregation   COH             176709820014                Gas           Gov. Aggregation
COH             135044970021                Gas           Gov. Aggregation   COH             190132730027                Gas           Gov. Aggregation
COH             135106790072                Gas           Gov. Aggregation   COH             191671690014                Gas           Gov. Aggregation
COH             135207490071                Gas           Gov. Aggregation   COH             192105690012                Gas           Gov. Aggregation
COH             135234470014                Gas           Gov. Aggregation   COH             188096370016                Gas           Gov. Aggregation
COH             135262300038                Gas           Gov. Aggregation   COH             188187000038                Gas           Gov. Aggregation
COH             135308290033                Gas           Gov. Aggregation   COH             188083120015                Gas           Gov. Aggregation
COH             135338780019                Gas           Gov. Aggregation   COH             194034390014                Gas           Gov. Aggregation
COH             135360870031                Gas           Gov. Aggregation   COH             196108410010                Gas           Gov. Aggregation
COH             136020280016                Gas           Gov. Aggregation   COH             196119380014                Gas           Gov. Aggregation
COH             136067500011                Gas           Gov. Aggregation   COH             189601620028                Gas           Gov. Aggregation
COH             136250040019                Gas           Gov. Aggregation   COH             189162440019                Gas           Gov. Aggregation
COH             136280290023                Gas           Gov. Aggregation   COH             188471510010                Gas           Gov. Aggregation
COH             136302270010                Gas           Gov. Aggregation   COH             190283950013                Gas           Gov. Aggregation
COH             136308440049                Gas           Gov. Aggregation   COH             190987240010                Gas           Gov. Aggregation
COH             136442860029                Gas           Gov. Aggregation   COH             111326000024                Gas           Gov. Aggregation
COH             137612100017                Gas           Gov. Aggregation   COH             111326850017                Gas           Gov. Aggregation
COH             137637720015                Gas           Gov. Aggregation   COH             191101220019                Gas           Gov. Aggregation
COH             138349440014                Gas           Gov. Aggregation   COH             192518880017                Gas           Gov. Aggregation
COH             138432500014                Gas           Gov. Aggregation   COH             194547390017                Gas           Gov. Aggregation
COH             138469810012                Gas           Gov. Aggregation   COH             112061640030                Gas           Gov. Aggregation
COH             138469870010                Gas           Gov. Aggregation   COH             195187320014                Gas           Gov. Aggregation
COH             138503360022                Gas           Gov. Aggregation   COH             195122480017                Gas           Gov. Aggregation
COH             138979620011                Gas           Gov. Aggregation   COH             195590040018                Gas           Gov. Aggregation
COH             139172090012                Gas           Gov. Aggregation   COH             131406620011                Gas           Gov. Aggregation
COH             139955340019                Gas           Gov. Aggregation   COH             195990000018                Gas           Gov. Aggregation
COH             139965180021                Gas           Gov. Aggregation   COH             196032650011                Gas           Gov. Aggregation
COH             140168470018                Gas           Gov. Aggregation   COH             196117940010                Gas           Gov. Aggregation
COH             140205250014                Gas           Gov. Aggregation   COH             144814270015                Gas           Gov. Aggregation
COH             140369010018                Gas           Gov. Aggregation   COH             156159110014                Gas           Gov. Aggregation
COH             140382540028                Gas           Gov. Aggregation   COH             145973620023                Gas           Gov. Aggregation
COH             141112650016                Gas           Gov. Aggregation   COH             154636930021                Gas           Gov. Aggregation
COH             141162880228                Gas           Gov. Aggregation   COH             154809420012                Gas           Gov. Aggregation
COH             141299760019                Gas           Gov. Aggregation   COH             115705330036                Gas           Gov. Aggregation
COH             141308590023                Gas           Gov. Aggregation   COH             115800950016                Gas           Gov. Aggregation
COH             141387030015                Gas           Gov. Aggregation   COH             115851120013                Gas           Gov. Aggregation
COH             141409180025                Gas           Gov. Aggregation   COH             115852060032                Gas           Gov. Aggregation
COH             141472360033                Gas           Gov. Aggregation   COH             115854070036                Gas           Gov. Aggregation
COH             142245170033                Gas           Gov. Aggregation   COH             115855710011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             142311100027                Gas           Gov. Aggregation   COH             115861400013                Gas           Gov. Aggregation
COH             142373950010                Gas           Gov. Aggregation   COH             115862320027                Gas           Gov. Aggregation
COH             142476920018                Gas           Gov. Aggregation   COH             115862620015                Gas           Gov. Aggregation
COH             142595590025                Gas           Gov. Aggregation   COH             115643780070                Gas           Gov. Aggregation
COH             142718230046                Gas           Gov. Aggregation   COH             115668330072                Gas           Gov. Aggregation
COH             143352720011                Gas           Gov. Aggregation   COH             115721340030                Gas           Gov. Aggregation
COH             143387680017                Gas           Gov. Aggregation   COH             115857660018                Gas           Gov. Aggregation
COH             143485130014                Gas           Gov. Aggregation   COH             115858170028                Gas           Gov. Aggregation
COH             143526230015                Gas           Gov. Aggregation   COH             115864580010                Gas           Gov. Aggregation
COH             143542930023                Gas           Gov. Aggregation   COH             115881260011                Gas           Gov. Aggregation
COH             143545930018                Gas           Gov. Aggregation   COH             115837010016                Gas           Gov. Aggregation
COH             143955870012                Gas           Gov. Aggregation   COH             115842950018                Gas           Gov. Aggregation
COH             144862610021                Gas           Gov. Aggregation   COH             115935040049                Gas           Gov. Aggregation
COH             144889110011                Gas           Gov. Aggregation   COH             129875520013                Gas           Gov. Aggregation
COH             144949180028                Gas           Gov. Aggregation   COH             129638770031                Gas           Gov. Aggregation
COH             145034520042                Gas           Gov. Aggregation   COH             126702650014                Gas           Gov. Aggregation
COH             145052370019                Gas           Gov. Aggregation   COH             132641600025                Gas           Gov. Aggregation
COH             145072320017                Gas           Gov. Aggregation   COH             131439380040                Gas           Gov. Aggregation
COH             145131010016                Gas           Gov. Aggregation   COH             137996270010                Gas           Gov. Aggregation
COH             145250150024                Gas           Gov. Aggregation   COH             142861130035                Gas           Gov. Aggregation
COH             145670430016                Gas           Gov. Aggregation   COH             142503200010                Gas           Gov. Aggregation
COH             145794820012                Gas           Gov. Aggregation   COH             142503260027                Gas           Gov. Aggregation
COH             145807960014                Gas           Gov. Aggregation   COH             142536890062                Gas           Gov. Aggregation
COH             145992380024                Gas           Gov. Aggregation   COH             140713390018                Gas           Gov. Aggregation
COH             145997300011                Gas           Gov. Aggregation   COH             141972020025                Gas           Gov. Aggregation
COH             146018630015                Gas           Gov. Aggregation   COH             144586870014                Gas           Gov. Aggregation
COH             146160640012                Gas           Gov. Aggregation   COH             143940700027                Gas           Gov. Aggregation
COH             146900970013                Gas           Gov. Aggregation   COH             143491130011                Gas           Gov. Aggregation
COH             147091170017                Gas           Gov. Aggregation   COH             145156080010                Gas           Gov. Aggregation
COH             147201890011                Gas           Gov. Aggregation   COH             145944630022                Gas           Gov. Aggregation
COH             147268610028                Gas           Gov. Aggregation   COH             147749260013                Gas           Gov. Aggregation
COH             148071930054                Gas           Gov. Aggregation   COH             151362500025                Gas           Gov. Aggregation
COH             148146300011                Gas           Gov. Aggregation   COH             151448830024                Gas           Gov. Aggregation
COH             148247550015                Gas           Gov. Aggregation   COH             152015190016                Gas           Gov. Aggregation
COH             148259720014                Gas           Gov. Aggregation   COH             151975930017                Gas           Gov. Aggregation
COH             148384480038                Gas           Gov. Aggregation   COH             153161930010                Gas           Gov. Aggregation
COH             148444130015                Gas           Gov. Aggregation   COH             153525510034                Gas           Gov. Aggregation
COH             148513170038                Gas           Gov. Aggregation   COH             152998880019                Gas           Gov. Aggregation
COH             148983860029                Gas           Gov. Aggregation   COH             154566880012                Gas           Gov. Aggregation
COH             149077130031                Gas           Gov. Aggregation   COH             155304800011                Gas           Gov. Aggregation
COH             149083550012                Gas           Gov. Aggregation   COH             158471400019                Gas           Gov. Aggregation
COH             149105410013                Gas           Gov. Aggregation   COH             160880790017                Gas           Gov. Aggregation
COH             149130350013                Gas           Gov. Aggregation   COH             161817360019                Gas           Gov. Aggregation
COH             149802160018                Gas           Gov. Aggregation   COH             188571110030                Gas           Gov. Aggregation
COH             149809110023                Gas           Gov. Aggregation   COH             194878470019                Gas           Gov. Aggregation
COH             149819870014                Gas           Gov. Aggregation   COH             111098530019                Gas           Gov. Aggregation
COH             149839120037                Gas           Gov. Aggregation   COH             161641940010                Gas           Gov. Aggregation
COH             149845680019                Gas           Gov. Aggregation   COH             134949810018                Gas           Gov. Aggregation
COH             149907300025                Gas           Gov. Aggregation   COH             130544390019                Gas           Gov. Aggregation
COH             149934460016                Gas           Gov. Aggregation   COH             108738630024                Gas           Gov. Aggregation
COH             150026460018                Gas           Gov. Aggregation   COH             163282840011                Gas           Gov. Aggregation
COH             150051200037                Gas           Gov. Aggregation   COH             167733620016                Gas           Gov. Aggregation
COH             150541240012                Gas           Gov. Aggregation   COH             161649200019                Gas           Gov. Aggregation
COH             150553650020                Gas           Gov. Aggregation   COH             161577290014                Gas           Gov. Aggregation
COH             150585920017                Gas           Gov. Aggregation   COH             196300780015                Gas           Gov. Aggregation
COH             150608490027                Gas           Gov. Aggregation   COH             194809290012                Gas           Gov. Aggregation
COH             150608490045                Gas           Gov. Aggregation   COH             147294500017                Gas           Gov. Aggregation
COH             150636250046                Gas           Gov. Aggregation   COH             194079800013                Gas           Gov. Aggregation
COH             150657110014                Gas           Gov. Aggregation   COH             192551740016                Gas           Gov. Aggregation
COH             150690700010                Gas           Gov. Aggregation   COH             191561630037                Gas           Gov. Aggregation
COH             151476600014                Gas           Gov. Aggregation   COH             163441970025                Gas           Gov. Aggregation
COH             151521770012                Gas           Gov. Aggregation   COH             193435820014                Gas           Gov. Aggregation
COH             151620210019                Gas           Gov. Aggregation   COH             193472940011                Gas           Gov. Aggregation
COH             151791500026                Gas           Gov. Aggregation   COH             111131180048                Gas           Gov. Aggregation
COH             151793950019                Gas           Gov. Aggregation   COH             150091190027                Gas           Gov. Aggregation
COH             132151230013                Gas           Gov. Aggregation   COH             194437550016                Gas           Gov. Aggregation
COH             185640960029                Gas           Gov. Aggregation   COH             174562270014                Gas           Gov. Aggregation
COH             195095000016                Gas           Gov. Aggregation   COH             111040770038                Gas           Gov. Aggregation
COH             122330040024                Gas           Gov. Aggregation   COH             190067610012                Gas           Gov. Aggregation
COH             159832820014                Gas           Gov. Aggregation   COH             173343220028                Gas           Gov. Aggregation
COH             190865190019                Gas           Gov. Aggregation   COH             117306290020                Gas           Gov. Aggregation
COH             164195250019                Gas           Gov. Aggregation   COH             138160010023                Gas           Gov. Aggregation
COH             135259730026                Gas           Gov. Aggregation   COH             110591080028                Gas           Gov. Aggregation
COH             124465320028                Gas           Gov. Aggregation   COH             192131290397                Gas           Gov. Aggregation
COH             185512230023                Gas           Gov. Aggregation   COH             171429010013                Gas           Gov. Aggregation
COH             163669940029                Gas           Gov. Aggregation   COH             192038170023                Gas           Gov. Aggregation
COH             137303980027                Gas           Gov. Aggregation   COH             108768140015                Gas           Gov. Aggregation
COH             190766460021                Gas           Gov. Aggregation   DEO             0500052288642               Gas           Gov. Aggregation
COH             132858120027                Gas           Gov. Aggregation   DEO             5500064375981               Gas           Gov. Aggregation
COH             150009520057                Gas           Gov. Aggregation   DEO             8500064552166               Gas           Gov. Aggregation
COH             190154050015                Gas           Gov. Aggregation   VEDO            4019257462399870            Gas           Gov. Aggregation
COH             170664920015                Gas           Gov. Aggregation   COH             185530330015                Gas           Gov. Aggregation
COH             170108240016                Gas           Gov. Aggregation   COH             175611160048                Gas           Gov. Aggregation
COH             148728020016                Gas           Gov. Aggregation   COH             177041530029                Gas           Gov. Aggregation
COH             165137050012                Gas           Gov. Aggregation   COH             158186860045                Gas           Gov. Aggregation
COH             122249420027                Gas           Gov. Aggregation   COH             189922940049                Gas           Gov. Aggregation
COH             154371280011                Gas           Gov. Aggregation   COH             135062720105                Gas           Gov. Aggregation
COH             152844470010                Gas           Gov. Aggregation   COH             195212340015                Gas           Gov. Aggregation
COH             148554640033                Gas           Gov. Aggregation   COH             192131291118                Gas           Gov. Aggregation
COH             124494240015                Gas           Gov. Aggregation   COH             147948320054                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             185595960017                Gas           Gov. Aggregation   COH             186055930043                Gas           Gov. Aggregation
COH             133836600012                Gas           Gov. Aggregation   COH             192192641438                Gas           Gov. Aggregation
COH             124349020027                Gas           Gov. Aggregation   COH             162558180025                Gas           Gov. Aggregation
COH             149550310011                Gas           Gov. Aggregation   COH             196281290010                Gas           Gov. Aggregation
COH             172372630013                Gas           Gov. Aggregation   COH             193688312087                Gas           Gov. Aggregation
COH             124377550027                Gas           Gov. Aggregation   COH             195773160015                Gas           Gov. Aggregation
COH             165403260013                Gas           Gov. Aggregation   COH             196119550018                Gas           Gov. Aggregation
COH             152611580038                Gas           Gov. Aggregation   COH             192131290388                Gas           Gov. Aggregation
COH             152114880011                Gas           Gov. Aggregation   COH             191837260021                Gas           Gov. Aggregation
COH             187386190010                Gas           Gov. Aggregation   COH             196272460013                Gas           Gov. Aggregation
COH             187386200017                Gas           Gov. Aggregation   COH             154279330089                Gas           Gov. Aggregation
COH             154939640011                Gas           Gov. Aggregation   COH             196288700019                Gas           Gov. Aggregation
COH             161492140024                Gas           Gov. Aggregation   COH             195922680019                Gas           Gov. Aggregation
COH             195125130014                Gas           Gov. Aggregation   COH             196327310017                Gas           Gov. Aggregation
COH             150817570036                Gas           Gov. Aggregation   COH             166247940075                Gas           Gov. Aggregation
COH             167013980017                Gas           Gov. Aggregation   COH             196346140013                Gas           Gov. Aggregation
COH             176254490019                Gas           Gov. Aggregation   COH             195388200013                Gas           Gov. Aggregation
COH             134157380018                Gas           Gov. Aggregation   COH             196067340013                Gas           Gov. Aggregation
COH             170640760019                Gas           Gov. Aggregation   COH             138706860036                Gas           Gov. Aggregation
COH             194170740012                Gas           Gov. Aggregation   COH             191102960021                Gas           Gov. Aggregation
COH             136482160022                Gas           Gov. Aggregation   COH             140127620021                Gas           Gov. Aggregation
COH             124392400017                Gas           Gov. Aggregation   COH             190519440028                Gas           Gov. Aggregation
COH             156221350011                Gas           Gov. Aggregation   COH             164826840016                Gas           Gov. Aggregation
COH             124377610015                Gas           Gov. Aggregation   COH             195944390014                Gas           Gov. Aggregation
COH             136599140038                Gas           Gov. Aggregation   COH             149856880041                Gas           Gov. Aggregation
COH             193980520012                Gas           Gov. Aggregation   COH             165016250105                Gas           Gov. Aggregation
COH             131408530025                Gas           Gov. Aggregation   COH             193823440020                Gas           Gov. Aggregation
COH             177777190013                Gas           Gov. Aggregation   COH             195563030017                Gas           Gov. Aggregation
COH             185486750012                Gas           Gov. Aggregation   COH             195870840016                Gas           Gov. Aggregation
COH             185743690019                Gas           Gov. Aggregation   COH             190070140023                Gas           Gov. Aggregation
COH             186287040012                Gas           Gov. Aggregation   COH             196489130013                Gas           Gov. Aggregation
COH             188054530010                Gas           Gov. Aggregation   VEDO            4001597632156281            Gas           Gov. Aggregation
COH             188218250011                Gas           Gov. Aggregation   VEDO            4001827242318726            Gas           Gov. Aggregation
COH             188338460013                Gas           Gov. Aggregation   VEDO            4002166232211762            Gas           Gov. Aggregation
COH             188526630018                Gas           Gov. Aggregation   VEDO            4016472392207966            Gas           Gov. Aggregation
COH             188922140011                Gas           Gov. Aggregation   VEDO            4015367192444442            Gas           Gov. Aggregation
COH             190939670011                Gas           Gov. Aggregation   VEDO            4016672162337580            Gas           Gov. Aggregation
COH             191197340013                Gas           Gov. Aggregation   VEDO            4016836452133761            Gas           Gov. Aggregation
COH             191912930011                Gas           Gov. Aggregation   VEDO            4017659462446107            Gas           Gov. Aggregation
COH             192359170014                Gas           Gov. Aggregation   VEDO            4017914652319705            Gas           Gov. Aggregation
COH             193874830012                Gas           Gov. Aggregation   VEDO            4019137002329077            Gas           Gov. Aggregation
COH             194209030018                Gas           Gov. Aggregation   VEDO            4002521222247048            Gas           Gov. Aggregation
COH             194314030015                Gas           Gov. Aggregation   VEDO            4017617492433698            Gas           Gov. Aggregation
COH             194574690017                Gas           Gov. Aggregation   VEDO            4002912582584178            Gas           Gov. Aggregation
COH             195111390019                Gas           Gov. Aggregation   VEDO            4002444742239372            Gas           Gov. Aggregation
COH             195139970019                Gas           Gov. Aggregation   VEDO            4004681212179649            Gas           Gov. Aggregation
COH             195230870016                Gas           Gov. Aggregation   VEDO            4018772672109581            Gas           Gov. Aggregation
COH             195346770012                Gas           Gov. Aggregation   VEDO            4018802192441484            Gas           Gov. Aggregation
COH             124492060035                Gas           Gov. Aggregation   VEDO            4001598852631332            Gas           Gov. Aggregation
COH             144995690060                Gas           Gov. Aggregation   VEDO            4001905422185934            Gas           Gov. Aggregation
COH             147209760058                Gas           Gov. Aggregation   VEDO            4003761952219222            Gas           Gov. Aggregation
COH             147618540020                Gas           Gov. Aggregation   VEDO            4016697492600724            Gas           Gov. Aggregation
COH             149683530023                Gas           Gov. Aggregation   VEDO            4018793432380813            Gas           Gov. Aggregation
COH             149859490029                Gas           Gov. Aggregation   VEDO            4002408672235762            Gas           Gov. Aggregation
COH             152121250027                Gas           Gov. Aggregation   VEDO            4003998832400536            Gas           Gov. Aggregation
COH             152317490040                Gas           Gov. Aggregation   VEDO            4015877212635178            Gas           Gov. Aggregation
COH             165049230011                Gas           Gov. Aggregation   VEDO            4018864582192922            Gas           Gov. Aggregation
COH             166571620011                Gas           Gov. Aggregation   VEDO            4001855312181044            Gas           Gov. Aggregation
COH             166825840016                Gas           Gov. Aggregation   VEDO            4004580552464316            Gas           Gov. Aggregation
COH             166883710011                Gas           Gov. Aggregation   VEDO            4015431522178386            Gas           Gov. Aggregation
COH             167359200018                Gas           Gov. Aggregation   VEDO            4017373462525278            Gas           Gov. Aggregation
COH             168034300014                Gas           Gov. Aggregation   VEDO            4018796172547719            Gas           Gov. Aggregation
COH             168874560010                Gas           Gov. Aggregation   VEDO            4002028092212113            Gas           Gov. Aggregation
COH             170582850014                Gas           Gov. Aggregation   VEDO            4016606932484391            Gas           Gov. Aggregation
COH             176285340015                Gas           Gov. Aggregation   VEDO            4002867722461684            Gas           Gov. Aggregation
COH             176406920015                Gas           Gov. Aggregation   VEDO            4003394292220325            Gas           Gov. Aggregation
COH             176504340019                Gas           Gov. Aggregation   VEDO            4004178002420085            Gas           Gov. Aggregation
COH             176958200017                Gas           Gov. Aggregation   VEDO            4005025922293674            Gas           Gov. Aggregation
COH             187573420014                Gas           Gov. Aggregation   VEDO            4016482882385435            Gas           Gov. Aggregation
COH             187795230014                Gas           Gov. Aggregation   VEDO            4001251832238087            Gas           Gov. Aggregation
COH             124335860020                Gas           Gov. Aggregation   VEDO            4001371692160653            Gas           Gov. Aggregation
COH             124350920043                Gas           Gov. Aggregation   VEDO            4003099342305480            Gas           Gov. Aggregation
COH             124359990023                Gas           Gov. Aggregation   VEDO            4018479202636595            Gas           Gov. Aggregation
COH             124360940020                Gas           Gov. Aggregation   VEDO            4016314822380724            Gas           Gov. Aggregation
COH             124374540043                Gas           Gov. Aggregation   VEDO            4016737342305095            Gas           Gov. Aggregation
COH             124385710035                Gas           Gov. Aggregation   VEDO            4017415632499058            Gas           Gov. Aggregation
COH             124664890045                Gas           Gov. Aggregation   VEDO            4003033452298768            Gas           Gov. Aggregation
COH             125022930036                Gas           Gov. Aggregation   VEDO            4003119682296370            Gas           Gov. Aggregation
COH             125089030035                Gas           Gov. Aggregation   VEDO            4003889172388699            Gas           Gov. Aggregation
COH             130620460021                Gas           Gov. Aggregation   VEDO            4004101542610018            Gas           Gov. Aggregation
COH             132570890026                Gas           Gov. Aggregation   VEDO            4015511072540119            Gas           Gov. Aggregation
COH             132823350022                Gas           Gov. Aggregation   VEDO            4015590662438121            Gas           Gov. Aggregation
COH             132891200020                Gas           Gov. Aggregation   VEDO            4016376642585189            Gas           Gov. Aggregation
COH             133583710025                Gas           Gov. Aggregation   VEDO            4016711692333864            Gas           Gov. Aggregation
COH             133690630043                Gas           Gov. Aggregation   VEDO            4018526082592408            Gas           Gov. Aggregation
COH             136557310049                Gas           Gov. Aggregation   VEDO            4018583022458217            Gas           Gov. Aggregation
COH             137370620030                Gas           Gov. Aggregation   VEDO            4018583022535443            Gas           Gov. Aggregation
COH             137449180018                Gas           Gov. Aggregation   VEDO            4001392632342179            Gas           Gov. Aggregation
COH             137628860033                Gas           Gov. Aggregation   VEDO            4004293982432784            Gas           Gov. Aggregation
COH             138114210046                Gas           Gov. Aggregation   VEDO            4015117662360710            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             141787310036                Gas           Gov. Aggregation   VEDO         4017396162149911            Gas           Gov. Aggregation
COH             141819010021                Gas           Gov. Aggregation   VEDO         4018745712388203            Gas           Gov. Aggregation
COH             141834830027                Gas           Gov. Aggregation   VEDO         4018970832300933            Gas           Gov. Aggregation
COH             142205370026                Gas           Gov. Aggregation   VEDO         4019008242642776            Gas           Gov. Aggregation
COH             142263690054                Gas           Gov. Aggregation   VEDO         4019102652525367            Gas           Gov. Aggregation
COH             142401440016                Gas           Gov. Aggregation   VEDO         4016223932509017            Gas           Gov. Aggregation
COH             142632380029                Gas           Gov. Aggregation   VEDO         4017178482625251            Gas           Gov. Aggregation
COH             144884860023                Gas           Gov. Aggregation   VEDO         4018737362451793            Gas           Gov. Aggregation
COH             145175710026                Gas           Gov. Aggregation   VEDO         4018785432358004            Gas           Gov. Aggregation
COH             145234590071                Gas           Gov. Aggregation   VEDO         4018376662261699            Gas           Gov. Aggregation
COH             145244820035                Gas           Gov. Aggregation   VEDO         4018679052433245            Gas           Gov. Aggregation
COH             145528830022                Gas           Gov. Aggregation   VEDO         4019023622151236            Gas           Gov. Aggregation
COH             145639270025                Gas           Gov. Aggregation   VEDO         4005000882510774            Gas           Gov. Aggregation
COH             145872660029                Gas           Gov. Aggregation   VEDO         4015209252285004            Gas           Gov. Aggregation
COH             149120390025                Gas           Gov. Aggregation   VEDO         4016141012475867            Gas           Gov. Aggregation
COH             149528310027                Gas           Gov. Aggregation   VEDO         4016149902153353            Gas           Gov. Aggregation
COH             149686410031                Gas           Gov. Aggregation   VEDO         4018391322256009            Gas           Gov. Aggregation
COH             149861240053                Gas           Gov. Aggregation   VEDO         4018567132451291            Gas           Gov. Aggregation
COH             150000330028                Gas           Gov. Aggregation   VEDO         4018614412356466            Gas           Gov. Aggregation
COH             150328830029                Gas           Gov. Aggregation   VEDO         4019029972129220            Gas           Gov. Aggregation
COH             150540620023                Gas           Gov. Aggregation   VEDO         4018914052529821            Gas           Gov. Aggregation
COH             152275190025                Gas           Gov. Aggregation   VEDO         4018739032188097            Gas           Gov. Aggregation
COH             152495900029                Gas           Gov. Aggregation   VEDO         4018477632528744            Gas           Gov. Aggregation
COH             152495970034                Gas           Gov. Aggregation   VEDO         4019031772420519            Gas           Gov. Aggregation
COH             152596300021                Gas           Gov. Aggregation   VEDO         4001337012471250            Gas           Gov. Aggregation
COH             153121020024                Gas           Gov. Aggregation   VEDO         4001452572268540            Gas           Gov. Aggregation
COH             153285470024                Gas           Gov. Aggregation   VEDO         4001552982152014            Gas           Gov. Aggregation
COH             155545660020                Gas           Gov. Aggregation   VEDO         4002395902226121            Gas           Gov. Aggregation
COH             155664780023                Gas           Gov. Aggregation   VEDO         4017471982627194            Gas           Gov. Aggregation
COH             155826720030                Gas           Gov. Aggregation   VEDO         4018749792626602            Gas           Gov. Aggregation
COH             156339190034                Gas           Gov. Aggregation   VEDO         4015872202517084            Gas           Gov. Aggregation
COH             157325660024                Gas           Gov. Aggregation   VEDO         4016661492162952            Gas           Gov. Aggregation
COH             157325820020                Gas           Gov. Aggregation   VEDO         4016695122325693            Gas           Gov. Aggregation
COH             157349110029                Gas           Gov. Aggregation   VEDO         4018915922614871            Gas           Gov. Aggregation
COH             157456500020                Gas           Gov. Aggregation   VEDO         4018999702478228            Gas           Gov. Aggregation
COH             157640840019                Gas           Gov. Aggregation   VEDO         4003139822309731            Gas           Gov. Aggregation
COH             159020780014                Gas           Gov. Aggregation   VEDO         4015392862391331            Gas           Gov. Aggregation
COH             159110070030                Gas           Gov. Aggregation   VEDO         4018290762111466            Gas           Gov. Aggregation
COH             159145530049                Gas           Gov. Aggregation   VEDO         4018792562291392            Gas           Gov. Aggregation
COH             159934260016                Gas           Gov. Aggregation   VEDO         4019239182129556            Gas           Gov. Aggregation
COH             160045410025                Gas           Gov. Aggregation   VEDO         4019253472465487            Gas           Gov. Aggregation
COH             160054270017                Gas           Gov. Aggregation   VEDO         4001165732163101            Gas           Gov. Aggregation
COH             160402490012                Gas           Gov. Aggregation   VEDO         4002091542300805            Gas           Gov. Aggregation
COH             161445000013                Gas           Gov. Aggregation   VEDO         4002515372246478            Gas           Gov. Aggregation
COH             161475690016                Gas           Gov. Aggregation   VEDO         4002617562256697            Gas           Gov. Aggregation
COH             161516720011                Gas           Gov. Aggregation   VEDO         4016716262447017            Gas           Gov. Aggregation
COH             161606780018                Gas           Gov. Aggregation   VEDO         4018955532151003            Gas           Gov. Aggregation
COH             161767160018                Gas           Gov. Aggregation   VEDO         4002201502215262            Gas           Gov. Aggregation
COH             161918580019                Gas           Gov. Aggregation   VEDO         4003004162520602            Gas           Gov. Aggregation
COH             162549020018                Gas           Gov. Aggregation   VEDO         4003318082328162            Gas           Gov. Aggregation
COH             162619700016                Gas           Gov. Aggregation   VEDO         4019080522605815            Gas           Gov. Aggregation
COH             162801010023                Gas           Gov. Aggregation   VEDO         4016003502503500            Gas           Gov. Aggregation
COH             162937590025                Gas           Gov. Aggregation   VEDO         4015206772630124            Gas           Gov. Aggregation
COH             163044200037                Gas           Gov. Aggregation   VEDO         4015973352375939            Gas           Gov. Aggregation
COH             163867120021                Gas           Gov. Aggregation   VEDO         4017042602594222            Gas           Gov. Aggregation
COH             164014820011                Gas           Gov. Aggregation   VEDO         4017372702117998            Gas           Gov. Aggregation
COH             164015830026                Gas           Gov. Aggregation   VEDO         4001004382402410            Gas           Gov. Aggregation
COH             164020850012                Gas           Gov. Aggregation   VEDO         4001046912640304            Gas           Gov. Aggregation
COH             164057720021                Gas           Gov. Aggregation   VEDO         4015248902452975            Gas           Gov. Aggregation
COH             164075740010                Gas           Gov. Aggregation   VEDO         4015256452472138            Gas           Gov. Aggregation
COH             164205290018                Gas           Gov. Aggregation   VEDO         4002892482284233            Gas           Gov. Aggregation
COH             164939480022                Gas           Gov. Aggregation   VEDO         4016269242590184            Gas           Gov. Aggregation
COH             165355850021                Gas           Gov. Aggregation   VEDO         4016551532287387            Gas           Gov. Aggregation
COH             165377260010                Gas           Gov. Aggregation   VEDO         4018193372163324            Gas           Gov. Aggregation
COH             165416690034                Gas           Gov. Aggregation   VEDO         4018473812325466            Gas           Gov. Aggregation
COH             165449800013                Gas           Gov. Aggregation   VEDO         4004044432405486            Gas           Gov. Aggregation
COH             165669810015                Gas           Gov. Aggregation   VEDO         4015313092268539            Gas           Gov. Aggregation
COH             166119680017                Gas           Gov. Aggregation   VEDO         4015407612217445            Gas           Gov. Aggregation
COH             166345650014                Gas           Gov. Aggregation   VEDO         4016227632598364            Gas           Gov. Aggregation
COH             166454030013                Gas           Gov. Aggregation   VEDO         4002224062217531            Gas           Gov. Aggregation
COH             166522850016                Gas           Gov. Aggregation   VEDO         4002224062538174            Gas           Gov. Aggregation
COH             166671590016                Gas           Gov. Aggregation   VEDO         4003720692370548            Gas           Gov. Aggregation
COH             167359150019                Gas           Gov. Aggregation   VEDO         4001329152362859            Gas           Gov. Aggregation
COH             167403370027                Gas           Gov. Aggregation   VEDO         4002337972228793            Gas           Gov. Aggregation
COH             167991890023                Gas           Gov. Aggregation   VEDO         4002362722231238            Gas           Gov. Aggregation
COH             167994190015                Gas           Gov. Aggregation   VEDO         4015544722358742            Gas           Gov. Aggregation
COH             168004530028                Gas           Gov. Aggregation   VEDO         4018465562636267            Gas           Gov. Aggregation
COH             168069540011                Gas           Gov. Aggregation   VEDO         4018473722636465            Gas           Gov. Aggregation
COH             168161360013                Gas           Gov. Aggregation   VEDO         4015419882178372            Gas           Gov. Aggregation
COH             168691770023                Gas           Gov. Aggregation   VEDO         4004496582454944            Gas           Gov. Aggregation
COH             168715250011                Gas           Gov. Aggregation   VEDO         4016254212389187            Gas           Gov. Aggregation
COH             168835300025                Gas           Gov. Aggregation   VEDO         4017260642439570            Gas           Gov. Aggregation
COH             168960760015                Gas           Gov. Aggregation   VEDO         4017490432519924            Gas           Gov. Aggregation
COH             169281810022                Gas           Gov. Aggregation   VEDO         4017864362412536            Gas           Gov. Aggregation
COH             169302040019                Gas           Gov. Aggregation   VEDO         4001097652109273            Gas           Gov. Aggregation
COH             169331440014                Gas           Gov. Aggregation   VEDO         4002789312273880            Gas           Gov. Aggregation
COH             169943200017                Gas           Gov. Aggregation   VEDO         4003505962219625            Gas           Gov. Aggregation
COH             169953760028                Gas           Gov. Aggregation   VEDO         4004736712481484            Gas           Gov. Aggregation
COH             169962880015                Gas           Gov. Aggregation   VEDO         4015425842512691            Gas           Gov. Aggregation
COH             170055930014                Gas           Gov. Aggregation   VEDO         4018340452397723            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             170073340010                Gas           Gov. Aggregation   VEDO            4019260862167306            Gas           Gov. Aggregation
COH             170083070016                Gas           Gov. Aggregation   VEDO            4019259122462936            Gas           Gov. Aggregation
COH             171033760024                Gas           Gov. Aggregation   COH             171346690017                Gas           Gov. Aggregation
COH             171237710013                Gas           Gov. Aggregation   COH             134496990012                Gas           Gov. Aggregation
COH             171285860011                Gas           Gov. Aggregation   COH             145660490015                Gas           Gov. Aggregation
COH             171519290023                Gas           Gov. Aggregation   COH             142325570039                Gas           Gov. Aggregation
COH             171524350010                Gas           Gov. Aggregation   COH             117680050037                Gas           Gov. Aggregation
COH             172401330013                Gas           Gov. Aggregation   COH             109858550017                Gas           Gov. Aggregation
COH             172440320013                Gas           Gov. Aggregation   COH             167582960052                Gas           Gov. Aggregation
COH             172440350017                Gas           Gov. Aggregation   COH             192005460021                Gas           Gov. Aggregation
COH             172545710028                Gas           Gov. Aggregation   COH             193978230018                Gas           Gov. Aggregation
COH             172565210012                Gas           Gov. Aggregation   COH             124332290017                Gas           Gov. Aggregation
COH             172585390013                Gas           Gov. Aggregation   COH             192725360017                Gas           Gov. Aggregation
COH             173557620012                Gas           Gov. Aggregation   COH             112953890046                Gas           Gov. Aggregation
COH             173591700013                Gas           Gov. Aggregation   COH             193981020024                Gas           Gov. Aggregation
COH             173877660025                Gas           Gov. Aggregation   COH             192644640010                Gas           Gov. Aggregation
COH             173931370011                Gas           Gov. Aggregation   COH             165600890068                Gas           Gov. Aggregation
COH             174554910016                Gas           Gov. Aggregation   COH             124047140013                Gas           Gov. Aggregation
COH             174584730011                Gas           Gov. Aggregation   COH             185775930066                Gas           Gov. Aggregation
COH             175011510019                Gas           Gov. Aggregation   COH             196669270012                Gas           Gov. Aggregation
COH             175695370011                Gas           Gov. Aggregation   COH             196589060016                Gas           Gov. Aggregation
COH             175743540012                Gas           Gov. Aggregation   COH             165024860075                Gas           Gov. Aggregation
COH             175867270026                Gas           Gov. Aggregation   COH             157458120017                Gas           Gov. Aggregation
COH             176009240010                Gas           Gov. Aggregation   COH             131951820023                Gas           Gov. Aggregation
COH             176126270016                Gas           Gov. Aggregation   COH             149082390018                Gas           Gov. Aggregation
COH             176951700016                Gas           Gov. Aggregation   COH             196697710010                Gas           Gov. Aggregation
COH             177095310022                Gas           Gov. Aggregation   COH             196739890013                Gas           Gov. Aggregation
COH             177108090020                Gas           Gov. Aggregation   COH             196698620017                Gas           Gov. Aggregation
COH             177108140010                Gas           Gov. Aggregation   COH             165220750036                Gas           Gov. Aggregation
COH             177108160016                Gas           Gov. Aggregation   COH             170610510032                Gas           Gov. Aggregation
COH             177145670011                Gas           Gov. Aggregation   COH             153407580021                Gas           Gov. Aggregation
COH             177214670014                Gas           Gov. Aggregation   COH             196705390019                Gas           Gov. Aggregation
COH             185360220019                Gas           Gov. Aggregation   COH             196563500017                Gas           Gov. Aggregation
COH             185417930019                Gas           Gov. Aggregation   COH             148388560033                Gas           Gov. Aggregation
COH             185461470013                Gas           Gov. Aggregation   COH             172943480014                Gas           Gov. Aggregation
COH             185470140013                Gas           Gov. Aggregation   COH             194911020011                Gas           Gov. Aggregation
COH             186129120019                Gas           Gov. Aggregation   COH             195608170012                Gas           Gov. Aggregation
COH             186139680011                Gas           Gov. Aggregation   COH             196742850014                Gas           Gov. Aggregation
COH             186185880021                Gas           Gov. Aggregation   COH             192541910011                Gas           Gov. Aggregation
COH             186232290024                Gas           Gov. Aggregation   COH             127338680010                Gas           Gov. Aggregation
COH             186385290012                Gas           Gov. Aggregation   COH             170756490048                Gas           Gov. Aggregation
COH             186395260017                Gas           Gov. Aggregation   COH             122406510033                Gas           Gov. Aggregation
COH             187272260016                Gas           Gov. Aggregation   COH             175751280056                Gas           Gov. Aggregation
COH             187766620013                Gas           Gov. Aggregation   COH             194834910018                Gas           Gov. Aggregation
COH             187902630020                Gas           Gov. Aggregation   COH             159455030056                Gas           Gov. Aggregation
COH             188097680019                Gas           Gov. Aggregation   COH             196705000010                Gas           Gov. Aggregation
COH             188200500015                Gas           Gov. Aggregation   COH             194718370036                Gas           Gov. Aggregation
COH             188827350019                Gas           Gov. Aggregation   COH             196627420018                Gas           Gov. Aggregation
COH             189134720019                Gas           Gov. Aggregation   COH             196730720016                Gas           Gov. Aggregation
COH             190067050010                Gas           Gov. Aggregation   COH             136391710010                Gas           Gov. Aggregation
COH             190088120011                Gas           Gov. Aggregation   COH             139872430025                Gas           Gov. Aggregation
COH             190154110012                Gas           Gov. Aggregation   COH             196697640015                Gas           Gov. Aggregation
COH             190709310013                Gas           Gov. Aggregation   COH             158125600038                Gas           Gov. Aggregation
COH             190722980024                Gas           Gov. Aggregation   COH             167571080014                Gas           Gov. Aggregation
COH             190814140016                Gas           Gov. Aggregation   COH             196065530017                Gas           Gov. Aggregation
COH             190850910018                Gas           Gov. Aggregation   VEDO            4018249002368140            Gas           Gov. Aggregation
COH             190889900019                Gas           Gov. Aggregation   COH             129725670019                Gas           Gov. Aggregation
COH             191377270016                Gas           Gov. Aggregation   COH             175534120013                Gas           Gov. Aggregation
COH             191384400013                Gas           Gov. Aggregation   COH             162899740016                Gas           Gov. Aggregation
COH             191454500013                Gas           Gov. Aggregation   COH             143947680037                Gas           Gov. Aggregation
COH             191655550026                Gas           Gov. Aggregation   COH             156815320018                Gas           Gov. Aggregation
COH             192542530028                Gas           Gov. Aggregation   COH             144488660016                Gas           Gov. Aggregation
COH             192581550013                Gas           Gov. Aggregation   COH             147268500049                Gas           Gov. Aggregation
COH             192586760019                Gas           Gov. Aggregation   COH             162728020027                Gas           Gov. Aggregation
COH             192791430013                Gas           Gov. Aggregation   COH             160680530015                Gas           Gov. Aggregation
COH             193259680018                Gas           Gov. Aggregation   COH             158938230015                Gas           Gov. Aggregation
COH             193315100019                Gas           Gov. Aggregation   COH             130101790013                Gas           Gov. Aggregation
COH             193426000024                Gas           Gov. Aggregation   COH             194968270010                Gas           Gov. Aggregation
COH             193972650012                Gas           Gov. Aggregation   COH             195110230014                Gas           Gov. Aggregation
COH             194028190019                Gas           Gov. Aggregation   COH             196768140019                Gas           Gov. Aggregation
COH             194037720018                Gas           Gov. Aggregation   COH             196772800011                Gas           Gov. Aggregation
COH             194459690011                Gas           Gov. Aggregation   COH             131118040023                Gas           Gov. Aggregation
COH             194466490018                Gas           Gov. Aggregation   COH             196644940013                Gas           Gov. Aggregation
COH             194511390012                Gas           Gov. Aggregation   COH             124569770015                Gas           Gov. Aggregation
COH             194644090014                Gas           Gov. Aggregation   COH             124569940019                Gas           Gov. Aggregation
COH             194954610017                Gas           Gov. Aggregation   COH             124571390010                Gas           Gov. Aggregation
COH             194976560012                Gas           Gov. Aggregation   COH             124576800013                Gas           Gov. Aggregation
COH             195026590018                Gas           Gov. Aggregation   COH             124575340012                Gas           Gov. Aggregation
COH             195256130017                Gas           Gov. Aggregation   COH             155479850236                Gas           Gov. Aggregation
COH             195330100015                Gas           Gov. Aggregation   COH             152052810017                Gas           Gov. Aggregation
COH             195346820011                Gas           Gov. Aggregation   COH             149252810027                Gas           Gov. Aggregation
COH             125693990015                Gas           Gov. Aggregation   COH             177685380063                Gas           Gov. Aggregation
COH             133954820025                Gas           Gov. Aggregation   COH             177200050013                Gas           Gov. Aggregation
COH             166449900020                Gas           Gov. Aggregation   COH             175584760032                Gas           Gov. Aggregation
COH             168785040027                Gas           Gov. Aggregation   COH             190841100017                Gas           Gov. Aggregation
COH             155778040018                Gas           Gov. Aggregation   COH             191386320016                Gas           Gov. Aggregation
COH             165961210011                Gas           Gov. Aggregation   COH             194410780014                Gas           Gov. Aggregation
COH             190833870013                Gas           Gov. Aggregation   COH             191186850019                Gas           Gov. Aggregation
COH             134140480030                Gas           Gov. Aggregation   COH             150178490020                Gas           Gov. Aggregation
COH             117364280048                Gas           Gov. Aggregation   COH             142428920091                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             124319190034                Gas           Gov. Aggregation   COH             192246040038                Gas           Gov. Aggregation
COH             124449990013                Gas           Gov. Aggregation   COH             194734160018                Gas           Gov. Aggregation
COH             124450040019                Gas           Gov. Aggregation   COH             194848060018                Gas           Gov. Aggregation
COH             124777720023                Gas           Gov. Aggregation   COH             194498420015                Gas           Gov. Aggregation
COH             124860180039                Gas           Gov. Aggregation   COH             193354410012                Gas           Gov. Aggregation
COH             135528660048                Gas           Gov. Aggregation   COH             173202410017                Gas           Gov. Aggregation
COH             138782810018                Gas           Gov. Aggregation   COH             161828950067                Gas           Gov. Aggregation
COH             147359880010                Gas           Gov. Aggregation   COH             149760150029                Gas           Gov. Aggregation
COH             164555370029                Gas           Gov. Aggregation   COH             145131060043                Gas           Gov. Aggregation
COH             167471160019                Gas           Gov. Aggregation   COH             193591150015                Gas           Gov. Aggregation
COH             172392830037                Gas           Gov. Aggregation   COH             152079050020                Gas           Gov. Aggregation
COH             192869460012                Gas           Gov. Aggregation   COH             159774380039                Gas           Gov. Aggregation
COH             193416430016                Gas           Gov. Aggregation   COH             135233430023                Gas           Gov. Aggregation
COH             194686280016                Gas           Gov. Aggregation   COH             147093470029                Gas           Gov. Aggregation
COH             195188320012                Gas           Gov. Aggregation   COH             190210460019                Gas           Gov. Aggregation
COH             124353510016                Gas           Gov. Aggregation   COH             189881340016                Gas           Gov. Aggregation
COH             124366430025                Gas           Gov. Aggregation   COH             191335260016                Gas           Gov. Aggregation
COH             124373180023                Gas           Gov. Aggregation   COH             185849400015                Gas           Gov. Aggregation
COH             124376410019                Gas           Gov. Aggregation   COH             164690050039                Gas           Gov. Aggregation
COH             124377050013                Gas           Gov. Aggregation   COH             124577400015                Gas           Gov. Aggregation
COH             124377100012                Gas           Gov. Aggregation   COH             124577240019                Gas           Gov. Aggregation
DEO             0500062641111               Gas           Gov. Aggregation   COH             124581720028                Gas           Gov. Aggregation
VEDO            4001898292494308            Gas           Gov. Aggregation   COH             129771690081                Gas           Gov. Aggregation
COH             150367120017                Gas           Gov. Aggregation   COH             141015870052                Gas           Gov. Aggregation
COH             194722190017                Gas           Gov. Aggregation   COH             191640990034                Gas           Gov. Aggregation
COH             150850740012                Gas           Gov. Aggregation   COH             196615730018                Gas           Gov. Aggregation
COH             111149430011                Gas           Gov. Aggregation   COH             116659910014                Gas           Gov. Aggregation
COH             154183410012                Gas           Gov. Aggregation   COH             186617840022                Gas           Gov. Aggregation
COH             167172360011                Gas           Gov. Aggregation   COH             170733250037                Gas           Gov. Aggregation
COH             173583030020                Gas           Gov. Aggregation   COH             159318420018                Gas           Gov. Aggregation
COH             167654950015                Gas           Gov. Aggregation   COH             137153520362                Gas           Gov. Aggregation
DEO             3500063125598               Gas           Gov. Aggregation   COH             137153520479                Gas           Gov. Aggregation
VEDO            4019148912643908            Gas           Gov. Aggregation   COH             189885450015                Gas           Gov. Aggregation
COH             111147970012                Gas           Gov. Aggregation   COH             175476850032                Gas           Gov. Aggregation
COH             112220370011                Gas           Gov. Aggregation   COH             193341640011                Gas           Gov. Aggregation
COH             112233200046                Gas           Gov. Aggregation   COH             194827980019                Gas           Gov. Aggregation
COH             115860190029                Gas           Gov. Aggregation   COH             195715540017                Gas           Gov. Aggregation
COH             121889250073                Gas           Gov. Aggregation   COH             196461970015                Gas           Gov. Aggregation
COH             121974700022                Gas           Gov. Aggregation   COH             193333210018                Gas           Gov. Aggregation
COH             122468560024                Gas           Gov. Aggregation   COH             185946770290                Gas           Gov. Aggregation
COH             122480470027                Gas           Gov. Aggregation   COH             175599630010                Gas           Gov. Aggregation
COH             123639980022                Gas           Gov. Aggregation   COH             187317460018                Gas           Gov. Aggregation
COH             124878130041                Gas           Gov. Aggregation   COH             196560180011                Gas           Gov. Aggregation
COH             125132590026                Gas           Gov. Aggregation   COH             196540670010                Gas           Gov. Aggregation
COH             127622240037                Gas           Gov. Aggregation   COH             193719430014                Gas           Gov. Aggregation
COH             130552800024                Gas           Gov. Aggregation   COH             111273970015                Gas           Gov. Aggregation
COH             131048120025                Gas           Gov. Aggregation   COH             191747050017                Gas           Gov. Aggregation
COH             138922730017                Gas           Gov. Aggregation   COH             194862760011                Gas           Gov. Aggregation
COH             138949090052                Gas           Gov. Aggregation   COH             196403370013                Gas           Gov. Aggregation
COH             140984770033                Gas           Gov. Aggregation   COH             195061230019                Gas           Gov. Aggregation
COH             143176910024                Gas           Gov. Aggregation   COH             190385860034                Gas           Gov. Aggregation
COH             144373920032                Gas           Gov. Aggregation   COH             195750320019                Gas           Gov. Aggregation
COH             147444930027                Gas           Gov. Aggregation   COH             194982610018                Gas           Gov. Aggregation
COH             151101580030                Gas           Gov. Aggregation   COH             185236990039                Gas           Gov. Aggregation
COH             154588300035                Gas           Gov. Aggregation   COH             111236720024                Gas           Gov. Aggregation
COH             155064650031                Gas           Gov. Aggregation   COH             111268000046                Gas           Gov. Aggregation
COH             155363710070                Gas           Gov. Aggregation   COH             111272760011                Gas           Gov. Aggregation
COH             155967850044                Gas           Gov. Aggregation   COH             193673870010                Gas           Gov. Aggregation
COH             157199150100                Gas           Gov. Aggregation   COH             191442800024                Gas           Gov. Aggregation
COH             163171000012                Gas           Gov. Aggregation   COH             135838810021                Gas           Gov. Aggregation
COH             165316860012                Gas           Gov. Aggregation   COH             146049400018                Gas           Gov. Aggregation
COH             167723150061                Gas           Gov. Aggregation   COH             195931220016                Gas           Gov. Aggregation
COH             169329110063                Gas           Gov. Aggregation   COH             196606900011                Gas           Gov. Aggregation
COH             172450990030                Gas           Gov. Aggregation   COH             164810060022                Gas           Gov. Aggregation
COH             172992980025                Gas           Gov. Aggregation   COH             147288460037                Gas           Gov. Aggregation
COH             176339520021                Gas           Gov. Aggregation   COH             111235300015                Gas           Gov. Aggregation
COH             176635360036                Gas           Gov. Aggregation   COH             195586030019                Gas           Gov. Aggregation
COH             185655500042                Gas           Gov. Aggregation   COH             111235880014                Gas           Gov. Aggregation
COH             186962270021                Gas           Gov. Aggregation   COH             111235900019                Gas           Gov. Aggregation
COH             190528390020                Gas           Gov. Aggregation   COH             189417220014                Gas           Gov. Aggregation
COH             192074420024                Gas           Gov. Aggregation   COH             192055740018                Gas           Gov. Aggregation
COH             192355980021                Gas           Gov. Aggregation   COH             157459190048                Gas           Gov. Aggregation
COH             193840610028                Gas           Gov. Aggregation   VEDO            4019272642540661            Gas           Gov. Aggregation
COH             194815490035                Gas           Gov. Aggregation   VEDO            4018177372143759            Gas           Gov. Aggregation
COH             194848690016                Gas           Gov. Aggregation   COH             110480510031                Gas           Gov. Aggregation
COH             195291950011                Gas           Gov. Aggregation   COH             114986770040                Gas           Gov. Aggregation
COH             195341570078                Gas           Gov. Aggregation   COH             116928470052                Gas           Gov. Aggregation
COH             195343870017                Gas           Gov. Aggregation   COH             116928470070                Gas           Gov. Aggregation
COH             195351910011                Gas           Gov. Aggregation   COH             122354690108                Gas           Gov. Aggregation
COH             195367790014                Gas           Gov. Aggregation   COH             122385450032                Gas           Gov. Aggregation
COH             195379010012                Gas           Gov. Aggregation   COH             123661620011                Gas           Gov. Aggregation
COH             195379770013                Gas           Gov. Aggregation   COH             129536380039                Gas           Gov. Aggregation
COH             195384590010                Gas           Gov. Aggregation   COH             132611590101                Gas           Gov. Aggregation
COH             195420330016                Gas           Gov. Aggregation   COH             134935260013                Gas           Gov. Aggregation
COH             195436070018                Gas           Gov. Aggregation   COH             135067500049                Gas           Gov. Aggregation
COH             195440150012                Gas           Gov. Aggregation   COH             157170950077                Gas           Gov. Aggregation
COH             195451780017                Gas           Gov. Aggregation   COH             158890890037                Gas           Gov. Aggregation
COH             195461600013                Gas           Gov. Aggregation   COH             167622530038                Gas           Gov. Aggregation
COH             195462020013                Gas           Gov. Aggregation   COH             172407480056                Gas           Gov. Aggregation
COH             195478980019                Gas           Gov. Aggregation   COH             174020970051                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             195479790017                Gas           Gov. Aggregation   COH             176480200038                Gas           Gov. Aggregation
COH             195481040019                Gas           Gov. Aggregation   COH             176717330029                Gas           Gov. Aggregation
COH             195498150011                Gas           Gov. Aggregation   COH             186516450019                Gas           Gov. Aggregation
COH             195499580019                Gas           Gov. Aggregation   COH             187329370021                Gas           Gov. Aggregation
COH             195507710012                Gas           Gov. Aggregation   COH             187996810016                Gas           Gov. Aggregation
COH             195515680012                Gas           Gov. Aggregation   COH             188759590041                Gas           Gov. Aggregation
COH             195528200015                Gas           Gov. Aggregation   COH             189419900035                Gas           Gov. Aggregation
COH             195529690011                Gas           Gov. Aggregation   COH             190898880024                Gas           Gov. Aggregation
COH             195536680018                Gas           Gov. Aggregation   COH             190932800017                Gas           Gov. Aggregation
COH             195540070017                Gas           Gov. Aggregation   COH             191683960021                Gas           Gov. Aggregation
COH             195564970018                Gas           Gov. Aggregation   COH             194405220012                Gas           Gov. Aggregation
COH             195573980017                Gas           Gov. Aggregation   COH             194525610025                Gas           Gov. Aggregation
COH             195574010018                Gas           Gov. Aggregation   COH             196244510011                Gas           Gov. Aggregation
COH             195582920010                Gas           Gov. Aggregation   COH             196763230010                Gas           Gov. Aggregation
COH             195591610016                Gas           Gov. Aggregation   COH             196763280010                Gas           Gov. Aggregation
COH             195593660012                Gas           Gov. Aggregation   COH             196807790019                Gas           Gov. Aggregation
COH             195607210015                Gas           Gov. Aggregation   COH             196810740012                Gas           Gov. Aggregation
COH             195642780012                Gas           Gov. Aggregation   COH             196817560016                Gas           Gov. Aggregation
COH             195650290018                Gas           Gov. Aggregation   COH             196824390017                Gas           Gov. Aggregation
COH             195692130013                Gas           Gov. Aggregation   COH             196829500013                Gas           Gov. Aggregation
COH             195715490018                Gas           Gov. Aggregation   COH             196844140017                Gas           Gov. Aggregation
COH             195729290011                Gas           Gov. Aggregation   COH             196851830017                Gas           Gov. Aggregation
DEO             0500005493509               Gas           Gov. Aggregation   COH             196859930010                Gas           Gov. Aggregation
DEO             0500010265503               Gas           Gov. Aggregation   COH             196885090012                Gas           Gov. Aggregation
DEO             0500014043569               Gas           Gov. Aggregation   COH             196890970016                Gas           Gov. Aggregation
DEO             0500025277210               Gas           Gov. Aggregation   COH             196894040013                Gas           Gov. Aggregation
DEO             0500062138065               Gas           Gov. Aggregation   COH             196898040015                Gas           Gov. Aggregation
DEO             1500008389115               Gas           Gov. Aggregation   COH             196947070014                Gas           Gov. Aggregation
DEO             1500024187702               Gas           Gov. Aggregation   COH             196951110016                Gas           Gov. Aggregation
DEO             1500027391571               Gas           Gov. Aggregation   VEDO            4003317222328082            Gas           Gov. Aggregation
DEO             1500032532520               Gas           Gov. Aggregation   VEDO            4001997192231157            Gas           Gov. Aggregation
DEO             1500051493391               Gas           Gov. Aggregation   COH             169682220053                Gas           Gov. Aggregation
DEO             1500053343953               Gas           Gov. Aggregation   DEO             4500064781369               Gas           Gov. Aggregation
DEO             1500054252507               Gas           Gov. Aggregation   VEDO            4004458022293070            Gas           Gov. Aggregation
DEO             1500062085161               Gas           Gov. Aggregation   VEDO            4016242282173410            Gas           Gov. Aggregation
DEO             2420000950433               Gas           Gov. Aggregation   COH             194771730010                Gas           Gov. Aggregation
DEO             2500011836258               Gas           Gov. Aggregation   COH             192256410020                Gas           Gov. Aggregation
DEO             2500022010743               Gas           Gov. Aggregation   COH             188780560042                Gas           Gov. Aggregation
DEO             2500025065407               Gas           Gov. Aggregation   COH             192812320010                Gas           Gov. Aggregation
DEO             2500052056755               Gas           Gov. Aggregation   COH             190778770012                Gas           Gov. Aggregation
DEO             2500053620642               Gas           Gov. Aggregation   COH             195101200019                Gas           Gov. Aggregation
DEO             2500054285599               Gas           Gov. Aggregation   COH             195123320018                Gas           Gov. Aggregation
DEO             3500023737714               Gas           Gov. Aggregation   COH             163084940047                Gas           Gov. Aggregation
DEO             3500028457518               Gas           Gov. Aggregation   COH             157716360028                Gas           Gov. Aggregation
DEO             3500031291979               Gas           Gov. Aggregation   COH             158589890018                Gas           Gov. Aggregation
DEO             3500035904966               Gas           Gov. Aggregation   COH             158987310104                Gas           Gov. Aggregation
DEO             3500036826921               Gas           Gov. Aggregation   COH             195343070015                Gas           Gov. Aggregation
DEO             3500037785131               Gas           Gov. Aggregation   COH             177335130020                Gas           Gov. Aggregation
DEO             3500044030281               Gas           Gov. Aggregation   COH             177481290055                Gas           Gov. Aggregation
DEO             3500044291588               Gas           Gov. Aggregation   COH             188975530036                Gas           Gov. Aggregation
DEO             3500048615891               Gas           Gov. Aggregation   COH             189261170025                Gas           Gov. Aggregation
DEO             3500054316880               Gas           Gov. Aggregation   COH             186609050043                Gas           Gov. Aggregation
DEO             3500061892150               Gas           Gov. Aggregation   COH             187664960045                Gas           Gov. Aggregation
DEO             4500019762033               Gas           Gov. Aggregation   COH             194622840012                Gas           Gov. Aggregation
DEO             4500033636279               Gas           Gov. Aggregation   COH             194792980014                Gas           Gov. Aggregation
DEO             4500034529214               Gas           Gov. Aggregation   COH             195271560015                Gas           Gov. Aggregation
DEO             4500038675455               Gas           Gov. Aggregation   COH             195299020010                Gas           Gov. Aggregation
DEO             5421601261853               Gas           Gov. Aggregation   COH             195500250013                Gas           Gov. Aggregation
DEO             5421706170952               Gas           Gov. Aggregation   COH             195692020016                Gas           Gov. Aggregation
DEO             5442106491177               Gas           Gov. Aggregation   COH             195764520018                Gas           Gov. Aggregation
DEO             5442106538950               Gas           Gov. Aggregation   VEDO            4018818692293623            Gas           Gov. Aggregation
DEO             5500009048457               Gas           Gov. Aggregation   COH             196992980018                Gas           Gov. Aggregation
DEO             6421502129207               Gas           Gov. Aggregation   COH             108817780061                Gas           Gov. Aggregation
DEO             6500001971135               Gas           Gov. Aggregation   COH             193833680010                Gas           Gov. Aggregation
DEO             6500007945620               Gas           Gov. Aggregation   COH             108785840012                Gas           Gov. Aggregation
DEO             6500023426371               Gas           Gov. Aggregation   COH             196545000010                Gas           Gov. Aggregation
DEO             6500029562236               Gas           Gov. Aggregation   COH             108832250024                Gas           Gov. Aggregation
DEO             6500040138919               Gas           Gov. Aggregation   COH             117481730063                Gas           Gov. Aggregation
DEO             6500045270295               Gas           Gov. Aggregation   COH             123627740018                Gas           Gov. Aggregation
DEO             6500045451399               Gas           Gov. Aggregation   COH             124361600029                Gas           Gov. Aggregation
DEO             6500052740894               Gas           Gov. Aggregation   COH             124398050073                Gas           Gov. Aggregation
DEO             6500053916720               Gas           Gov. Aggregation   COH             135464360065                Gas           Gov. Aggregation
DEO             6500054974813               Gas           Gov. Aggregation   COH             141674490029                Gas           Gov. Aggregation
DEO             7500032479421               Gas           Gov. Aggregation   COH             154664520046                Gas           Gov. Aggregation
DEO             7500043892628               Gas           Gov. Aggregation   COH             157445390036                Gas           Gov. Aggregation
DEO             7500044109849               Gas           Gov. Aggregation   COH             158233210013                Gas           Gov. Aggregation
DEO             7500046677693               Gas           Gov. Aggregation   COH             158258430060                Gas           Gov. Aggregation
DEO             7500047477261               Gas           Gov. Aggregation   COH             162429250069                Gas           Gov. Aggregation
DEO             7500048720175               Gas           Gov. Aggregation   COH             164864670049                Gas           Gov. Aggregation
DEO             7500048728353               Gas           Gov. Aggregation   COH             169053630041                Gas           Gov. Aggregation
DEO             7500049151027               Gas           Gov. Aggregation   COH             174045760026                Gas           Gov. Aggregation
DEO             7500049343109               Gas           Gov. Aggregation   COH             187461370030                Gas           Gov. Aggregation
DEO             7500051273223               Gas           Gov. Aggregation   COH             188029760024                Gas           Gov. Aggregation
DEO             7500060232325               Gas           Gov. Aggregation   COH             191582330036                Gas           Gov. Aggregation
DEO             8500015815902               Gas           Gov. Aggregation   COH             196861380011                Gas           Gov. Aggregation
DEO             8500020947439               Gas           Gov. Aggregation   COH             196935620013                Gas           Gov. Aggregation
DEO             8500024558910               Gas           Gov. Aggregation   COH             196935680011                Gas           Gov. Aggregation
DEO             8500035068039               Gas           Gov. Aggregation   COH             196966860018                Gas           Gov. Aggregation
DEO             8500047228316               Gas           Gov. Aggregation   COH             196981820014                Gas           Gov. Aggregation
DEO             9442006511519               Gas           Gov. Aggregation   COH             197045400015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             9442101251453               Gas           Gov. Aggregation   COH             197078730017                Gas           Gov. Aggregation
DEO             9442104480388               Gas           Gov. Aggregation   COH             197090120019                Gas           Gov. Aggregation
DEO             9442106365519               Gas           Gov. Aggregation   COH             197130490016                Gas           Gov. Aggregation
DEO             9500054539106               Gas           Gov. Aggregation   COH             197131940019                Gas           Gov. Aggregation
DEO             9500055474346               Gas           Gov. Aggregation   DEO             7500064864466               Gas           Gov. Aggregation
VEDO            4015117432308636            Gas           Gov. Aggregation   DEO             8500064904110               Gas           Gov. Aggregation
VEDO            4016250632331889            Gas           Gov. Aggregation   COH             117541020037                Gas           Gov. Aggregation
DEO             3500062626952               Gas           Gov. Aggregation   VEDO            4003807372379890            Gas           Gov. Aggregation
DEO             2500062483668               Gas           Gov. Aggregation   VEDO            4017764052629501            Gas           Gov. Aggregation
COH             188725790022                Gas           Gov. Aggregation   VEDO            4002652382509130            Gas           Gov. Aggregation
COH             111189540014                Gas           Gov. Aggregation   VEDO            4004881952497544            Gas           Gov. Aggregation
COH             194813650017                Gas           Gov. Aggregation   VEDO            4003163232150048            Gas           Gov. Aggregation
COH             195237110011                Gas           Gov. Aggregation   VEDO            4003402162337059            Gas           Gov. Aggregation
COH             194612800011                Gas           Gov. Aggregation   VEDO            4003864642386091            Gas           Gov. Aggregation
COH             193610790028                Gas           Gov. Aggregation   COH             193387460022                Gas           Gov. Aggregation
COH             160322350011                Gas           Gov. Aggregation   COH             118824850014                Gas           Gov. Aggregation
COH             195343780016                Gas           Gov. Aggregation   VEDO            4004996342510225            Gas           Gov. Aggregation
COH             149378100011                Gas           Gov. Aggregation   VEDO            4018609162558036            Gas           Gov. Aggregation
COH             195328840015                Gas           Gov. Aggregation   COH             160065180013                Gas           Gov. Aggregation
COH             195367020015                Gas           Gov. Aggregation   COH             111104980010                Gas           Gov. Aggregation
COH             195237090016                Gas           Gov. Aggregation   COH             111334900028                Gas           Gov. Aggregation
COH             190706440012                Gas           Gov. Aggregation   COH             120446050010                Gas           Gov. Aggregation
COH             194901590013                Gas           Gov. Aggregation   COH             124037920038                Gas           Gov. Aggregation
COH             195716230010                Gas           Gov. Aggregation   COH             124264880045                Gas           Gov. Aggregation
COH             195110040014                Gas           Gov. Aggregation   COH             128914560030                Gas           Gov. Aggregation
COH             185088180034                Gas           Gov. Aggregation   COH             129167790036                Gas           Gov. Aggregation
COH             194248400018                Gas           Gov. Aggregation   COH             131247320021                Gas           Gov. Aggregation
COH             170612680024                Gas           Gov. Aggregation   COH             139013350031                Gas           Gov. Aggregation
COH             188785220034                Gas           Gov. Aggregation   COH             143258630029                Gas           Gov. Aggregation
COH             193694530017                Gas           Gov. Aggregation   COH             148735240060                Gas           Gov. Aggregation
COH             167887270015                Gas           Gov. Aggregation   COH             153819170015                Gas           Gov. Aggregation
COH             195061570018                Gas           Gov. Aggregation   COH             157324220037                Gas           Gov. Aggregation
COH             195716420010                Gas           Gov. Aggregation   COH             167734340022                Gas           Gov. Aggregation
COH             159699430065                Gas           Gov. Aggregation   COH             169152880021                Gas           Gov. Aggregation
COH             194881030014                Gas           Gov. Aggregation   COH             172276580036                Gas           Gov. Aggregation
COH             167302140038                Gas           Gov. Aggregation   COH             176804210038                Gas           Gov. Aggregation
COH             123806070037                Gas           Gov. Aggregation   COH             185125930018                Gas           Gov. Aggregation
COH             123740260046                Gas           Gov. Aggregation   COH             185320880024                Gas           Gov. Aggregation
COH             167489760016                Gas           Gov. Aggregation   COH             186007030034                Gas           Gov. Aggregation
COH             123892010038                Gas           Gov. Aggregation   COH             187864170029                Gas           Gov. Aggregation
COH             194850220019                Gas           Gov. Aggregation   COH             189367290035                Gas           Gov. Aggregation
COH             195500460019                Gas           Gov. Aggregation   COH             190400500026                Gas           Gov. Aggregation
COH             194186470043                Gas           Gov. Aggregation   COH             190849710022                Gas           Gov. Aggregation
COH             123866330045                Gas           Gov. Aggregation   COH             191430910026                Gas           Gov. Aggregation
COH             195449720014                Gas           Gov. Aggregation   COH             191581940030                Gas           Gov. Aggregation
COH             126457790052                Gas           Gov. Aggregation   COH             192131293732                Gas           Gov. Aggregation
COH             123811650025                Gas           Gov. Aggregation   COH             193592820012                Gas           Gov. Aggregation
COH             165446120012                Gas           Gov. Aggregation   COH             193916250023                Gas           Gov. Aggregation
COH             126767760104                Gas           Gov. Aggregation   COH             194679260015                Gas           Gov. Aggregation
COH             164790940012                Gas           Gov. Aggregation   COH             197023390014                Gas           Gov. Aggregation
COH             151790010030                Gas           Gov. Aggregation   COH             197051170011                Gas           Gov. Aggregation
COH             159120850053                Gas           Gov. Aggregation   COH             197109410017                Gas           Gov. Aggregation
COH             153755450030                Gas           Gov. Aggregation   COH             197109970010                Gas           Gov. Aggregation
COH             190487730026                Gas           Gov. Aggregation   COH             197143870019                Gas           Gov. Aggregation
COH             186114290033                Gas           Gov. Aggregation   COH             197168950010                Gas           Gov. Aggregation
COH             192214530032                Gas           Gov. Aggregation   COH             197169000017                Gas           Gov. Aggregation
COH             176234620022                Gas           Gov. Aggregation   COH             197169660019                Gas           Gov. Aggregation
VEDO            4002931102475767            Gas           Gov. Aggregation   COH             197169850019                Gas           Gov. Aggregation
VEDO            4003112282491252            Gas           Gov. Aggregation   COH             197205850011                Gas           Gov. Aggregation
VEDO            4004006712136293            Gas           Gov. Aggregation   COH             197232400018                Gas           Gov. Aggregation
VEDO            4004053252202795            Gas           Gov. Aggregation   COH             197259740011                Gas           Gov. Aggregation
VEDO            4004158552310912            Gas           Gov. Aggregation   COH             197260910012                Gas           Gov. Aggregation
VEDO            4004196832229112            Gas           Gov. Aggregation   COH             197280370014                Gas           Gov. Aggregation
VEDO            4003396702598872            Gas           Gov. Aggregation   COH             197290270014                Gas           Gov. Aggregation
VEDO            4002243692219486            Gas           Gov. Aggregation   COH             197290440018                Gas           Gov. Aggregation
VEDO            4001463272413084            Gas           Gov. Aggregation   COH             197320690011                Gas           Gov. Aggregation
VEDO            4001970272192453            Gas           Gov. Aggregation   COH             197329550012                Gas           Gov. Aggregation
VEDO            4002519712483259            Gas           Gov. Aggregation   VEDO            4019090592643770            Gas           Gov. Aggregation
VEDO            4002520232101941            Gas           Gov. Aggregation   VEDO            4001398892137428            Gas           Gov. Aggregation
VEDO            4001688892254960            Gas           Gov. Aggregation   VEDO            4004253352428289            Gas           Gov. Aggregation
VEDO            4004754832483467            Gas           Gov. Aggregation   VEDO            4003197172315631            Gas           Gov. Aggregation
VEDO            4015808372643316            Gas           Gov. Aggregation   VEDO            4001002262166577            Gas           Gov. Aggregation
VEDO            4017873712369746            Gas           Gov. Aggregation   VEDO            4019348452360672            Gas           Gov. Aggregation
VEDO            4018245572468205            Gas           Gov. Aggregation   COH             194863790013                Gas           Gov. Aggregation
VEDO            4017358612521861            Gas           Gov. Aggregation   COH             171571680030                Gas           Gov. Aggregation
VEDO            4017998122122219            Gas           Gov. Aggregation   COH             166798590027                Gas           Gov. Aggregation
VEDO            4018008062239778            Gas           Gov. Aggregation   VEDO            4019073432450366            Gas           Gov. Aggregation
VEDO            4018354212198207            Gas           Gov. Aggregation   COH             117385360029                Gas           Gov. Aggregation
VEDO            4018376892336323            Gas           Gov. Aggregation   COH             122513520016                Gas           Gov. Aggregation
VEDO            4018405302449035            Gas           Gov. Aggregation   COH             125805540038                Gas           Gov. Aggregation
VEDO            4018437412623340            Gas           Gov. Aggregation   COH             125866980243                Gas           Gov. Aggregation
VEDO            4018446352284040            Gas           Gov. Aggregation   COH             126801760020                Gas           Gov. Aggregation
VEDO            4018475112484143            Gas           Gov. Aggregation   COH             156712420015                Gas           Gov. Aggregation
VEDO            4018137532397531            Gas           Gov. Aggregation   COH             161441940023                Gas           Gov. Aggregation
VEDO            4018163812281190            Gas           Gov. Aggregation   COH             161606690017                Gas           Gov. Aggregation
VEDO            4017817752268105            Gas           Gov. Aggregation   COH             167952560051                Gas           Gov. Aggregation
VEDO            4018182932623198            Gas           Gov. Aggregation   COH             175356180037                Gas           Gov. Aggregation
VEDO            4018205302203867            Gas           Gov. Aggregation   COH             190576640026                Gas           Gov. Aggregation
VEDO            4016006702198189            Gas           Gov. Aggregation   COH             193086430026                Gas           Gov. Aggregation
VEDO            4004341832437931            Gas           Gov. Aggregation   COH             197280510014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4004376382527957            Gas           Gov. Aggregation   COH             197289810013                Gas           Gov. Aggregation
VEDO            4004933322642546            Gas           Gov. Aggregation   COH             197290350017                Gas           Gov. Aggregation
VEDO            4005006052589766            Gas           Gov. Aggregation   COH             197290360015                Gas           Gov. Aggregation
VEDO            4015433912182394            Gas           Gov. Aggregation   COH             197301010013                Gas           Gov. Aggregation
VEDO            4016352722256885            Gas           Gov. Aggregation   COH             197319720017                Gas           Gov. Aggregation
VEDO            4005132372525669            Gas           Gov. Aggregation   COH             197344070011                Gas           Gov. Aggregation
VEDO            4016545502249082            Gas           Gov. Aggregation   COH             197371570019                Gas           Gov. Aggregation
VEDO            4004737282336500            Gas           Gov. Aggregation   COH             197382540012                Gas           Gov. Aggregation
VEDO            4018911982206047            Gas           Gov. Aggregation   COH             197382550010                Gas           Gov. Aggregation
VEDO            4018929562288359            Gas           Gov. Aggregation   COH             197395440016                Gas           Gov. Aggregation
VEDO            4018934322543290            Gas           Gov. Aggregation   COH             197421130014                Gas           Gov. Aggregation
VEDO            4018938922486517            Gas           Gov. Aggregation   COH             197421970018                Gas           Gov. Aggregation
VEDO            4018945532228093            Gas           Gov. Aggregation   COH             197422890013                Gas           Gov. Aggregation
VEDO            4018957122176953            Gas           Gov. Aggregation   COH             197422940012                Gas           Gov. Aggregation
VEDO            4018961582330459            Gas           Gov. Aggregation   COH             197437430018                Gas           Gov. Aggregation
VEDO            4018546782623346            Gas           Gov. Aggregation   VEDO            4002434822238374            Gas           Gov. Aggregation
VEDO            4018549912212061            Gas           Gov. Aggregation   COH             130460550013                Gas           Gov. Aggregation
VEDO            4018974792164978            Gas           Gov. Aggregation   COH             173517560019                Gas           Gov. Aggregation
VEDO            4019003702213931            Gas           Gov. Aggregation   COH             140516910016                Gas           Gov. Aggregation
VEDO            4019004382157010            Gas           Gov. Aggregation   COH             145281600060                Gas           Gov. Aggregation
VEDO            4019020172309333            Gas           Gov. Aggregation   COH             196198530016                Gas           Gov. Aggregation
VEDO            4019035172472775            Gas           Gov. Aggregation   COH             163473030016                Gas           Gov. Aggregation
VEDO            4019050632160582            Gas           Gov. Aggregation   COH             149849230024                Gas           Gov. Aggregation
VEDO            4019051952309807            Gas           Gov. Aggregation   COH             196901000014                Gas           Gov. Aggregation
VEDO            4019067242502585            Gas           Gov. Aggregation   COH             111329240019                Gas           Gov. Aggregation
VEDO            4019076212137847            Gas           Gov. Aggregation   COH             111329300016                Gas           Gov. Aggregation
VEDO            4019111762368064            Gas           Gov. Aggregation   COH             170524010012                Gas           Gov. Aggregation
VEDO            4019113682226122            Gas           Gov. Aggregation   COH             158994470026                Gas           Gov. Aggregation
VEDO            4018741782193004            Gas           Gov. Aggregation   COH             172344390013                Gas           Gov. Aggregation
VEDO            4018746762152960            Gas           Gov. Aggregation   COH             171223340010                Gas           Gov. Aggregation
VEDO            4018776872623358            Gas           Gov. Aggregation   COH             172876480017                Gas           Gov. Aggregation
VEDO            4018833942640855            Gas           Gov. Aggregation   COH             167651560022                Gas           Gov. Aggregation
VEDO            4018837012246958            Gas           Gov. Aggregation   COH             161357320013                Gas           Gov. Aggregation
VEDO            4018847182602899            Gas           Gov. Aggregation   COH             144713910023                Gas           Gov. Aggregation
VEDO            4018872492393023            Gas           Gov. Aggregation   COH             168689480010                Gas           Gov. Aggregation
VEDO            4018875812276806            Gas           Gov. Aggregation   COH             169117190011                Gas           Gov. Aggregation
VEDO            4018898862178625            Gas           Gov. Aggregation   COH             191362140014                Gas           Gov. Aggregation
VEDO            4018907642223327            Gas           Gov. Aggregation   COH             197008100016                Gas           Gov. Aggregation
DEO             9500062836937               Gas           Gov. Aggregation   COH             111396570019                Gas           Gov. Aggregation
DEO             7500062521080               Gas           Gov. Aggregation   COH             187128090017                Gas           Gov. Aggregation
VEDO            4019156952464886            Gas           Gov. Aggregation   COH             162018330018                Gas           Gov. Aggregation
VEDO            4017818272381110            Gas           Gov. Aggregation   COH             193786970010                Gas           Gov. Aggregation
VEDO            4019156712300377            Gas           Gov. Aggregation   COH             197370710011                Gas           Gov. Aggregation
COH             194397860017                Gas           Gov. Aggregation   COH             194693190010                Gas           Gov. Aggregation
COH             195283740012                Gas           Gov. Aggregation   COH             145010780011                Gas           Gov. Aggregation
COH             195572810014                Gas           Gov. Aggregation   COH             171760890017                Gas           Gov. Aggregation
COH             192961000021                Gas           Gov. Aggregation   COH             111327270017                Gas           Gov. Aggregation
COH             193693360015                Gas           Gov. Aggregation   COH             111376760020                Gas           Gov. Aggregation
COH             194849870016                Gas           Gov. Aggregation   COH             196947090010                Gas           Gov. Aggregation
COH             111210800012                Gas           Gov. Aggregation   COH             111472850036                Gas           Gov. Aggregation
COH             195285950014                Gas           Gov. Aggregation   COH             135604440051                Gas           Gov. Aggregation
COH             195532810018                Gas           Gov. Aggregation   COH             172930610013                Gas           Gov. Aggregation
COH             195045060019                Gas           Gov. Aggregation   COH             135046450035                Gas           Gov. Aggregation
COH             195221320010                Gas           Gov. Aggregation   COH             111427630028                Gas           Gov. Aggregation
COH             193627030013                Gas           Gov. Aggregation   COH             148570420017                Gas           Gov. Aggregation
COH             111247360018                Gas           Gov. Aggregation   COH             175031340013                Gas           Gov. Aggregation
COH             152891520038                Gas           Gov. Aggregation   COH             187436690018                Gas           Gov. Aggregation
COH             193558190017                Gas           Gov. Aggregation   COH             111331590020                Gas           Gov. Aggregation
COH             159029250017                Gas           Gov. Aggregation   COH             111329680017                Gas           Gov. Aggregation
VEDO            4018900582527323            Gas           Gov. Aggregation   COH             111333720028                Gas           Gov. Aggregation
COH             111145990012                Gas           Gov. Aggregation   COH             111326920012                Gas           Gov. Aggregation
COH             137092570013                Gas           Gov. Aggregation   COH             111326970012                Gas           Gov. Aggregation
DEO             6500062806187               Gas           Gov. Aggregation   COH             111327160010                Gas           Gov. Aggregation
DEO             6500062713739               Gas           Gov. Aggregation   COH             197192860018                Gas           Gov. Aggregation
DEO             5500062844968               Gas           Gov. Aggregation   COH             169245710010                Gas           Gov. Aggregation
VEDO            4019129502136025            Gas           Gov. Aggregation   COH             111326240015                Gas           Gov. Aggregation
VEDO            4002375282421734            Gas           Gov. Aggregation   COH             111326760016                Gas           Gov. Aggregation
VEDO            4018782342217319            Gas           Gov. Aggregation   COH             154307160011                Gas           Gov. Aggregation
VEDO            4019169062378578            Gas           Gov. Aggregation   COH             197060340016                Gas           Gov. Aggregation
COH             110286800014                Gas           Gov. Aggregation   COH             157092130020                Gas           Gov. Aggregation
COH             124507780013                Gas           Gov. Aggregation   COH             194091690011                Gas           Gov. Aggregation
VEDO            4003746542373345            Gas           Gov. Aggregation   COH             193503800013                Gas           Gov. Aggregation
VEDO            4018751652430891            Gas           Gov. Aggregation   COH             155054090021                Gas           Gov. Aggregation
COH             134316230020                Gas           Gov. Aggregation   COH             149384560030                Gas           Gov. Aggregation
COH             146228800014                Gas           Gov. Aggregation   COH             185297630018                Gas           Gov. Aggregation
COH             146235300014                Gas           Gov. Aggregation   COH             117248070011                Gas           Gov. Aggregation
COH             150469710017                Gas           Gov. Aggregation   DEO             8500065492459               Gas           Gov. Aggregation
COH             159731110017                Gas           Gov. Aggregation   VEDO            4018390262405397            Gas           Gov. Aggregation
COH             160178260017                Gas           Gov. Aggregation   VEDO            4016018362154162            Gas           Gov. Aggregation
COH             160129600027                Gas           Gov. Aggregation   VEDO            4018140702380020            Gas           Gov. Aggregation
COH             156813750049                Gas           Gov. Aggregation   VEDO            4001893762184790            Gas           Gov. Aggregation
COH             157539760011                Gas           Gov. Aggregation   COH             148905140015                Gas           Gov. Aggregation
COH             167757870014                Gas           Gov. Aggregation   COH             197119420014                Gas           Gov. Aggregation
COH             167815030141                Gas           Gov. Aggregation   COH             193693360024                Gas           Gov. Aggregation
COH             192250090011                Gas           Gov. Aggregation   COH             197278510019                Gas           Gov. Aggregation
COH             159068020013                Gas           Gov. Aggregation   COH             195727550010                Gas           Gov. Aggregation
COH             175222330010                Gas           Gov. Aggregation   COH             195338140020                Gas           Gov. Aggregation
COH             161642460019                Gas           Gov. Aggregation   COH             111221820015                Gas           Gov. Aggregation
COH             162457850019                Gas           Gov. Aggregation   COH             111222450011                Gas           Gov. Aggregation
COH             162145790013                Gas           Gov. Aggregation   COH             197381680015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             190537470024                Gas           Gov. Aggregation   COH             197480590014                Gas           Gov. Aggregation
COH             193485170016                Gas           Gov. Aggregation   VEDO            4001817022177300            Gas           Gov. Aggregation
COH             194537940012                Gas           Gov. Aggregation   COH             127121040013                Gas           Gov. Aggregation
COH             124424800032                Gas           Gov. Aggregation   VEDO            4017377862212669            Gas           Gov. Aggregation
COH             195157830010                Gas           Gov. Aggregation   VEDO            4001265072364182            Gas           Gov. Aggregation
COH             133344400026                Gas           Gov. Aggregation   VEDO            4004017512440297            Gas           Gov. Aggregation
COH             124460730102                Gas           Gov. Aggregation   COH             123819670632                Gas           Gov. Aggregation
COH             156081800069                Gas           Gov. Aggregation   COH             123848020020                Gas           Gov. Aggregation
COH             155707720014                Gas           Gov. Aggregation   COH             150121160028                Gas           Gov. Aggregation
COH             157153640014                Gas           Gov. Aggregation   COH             163106910054                Gas           Gov. Aggregation
COH             165873830072                Gas           Gov. Aggregation   COH             165912700039                Gas           Gov. Aggregation
COH             164143150019                Gas           Gov. Aggregation   COH             186432190021                Gas           Gov. Aggregation
COH             158464210023                Gas           Gov. Aggregation   COH             188215830015                Gas           Gov. Aggregation
COH             159259700015                Gas           Gov. Aggregation   COH             192131294142                Gas           Gov. Aggregation
COH             162905830012                Gas           Gov. Aggregation   COH             197395580017                Gas           Gov. Aggregation
COH             185023260015                Gas           Gov. Aggregation   COH             197508390016                Gas           Gov. Aggregation
COH             171296000018                Gas           Gov. Aggregation   COH             197508480017                Gas           Gov. Aggregation
COH             189671040023                Gas           Gov. Aggregation   COH             197544220015                Gas           Gov. Aggregation
COH             124446970022                Gas           Gov. Aggregation   COH             197560340016                Gas           Gov. Aggregation
COH             138290680019                Gas           Gov. Aggregation   COH             197569760010                Gas           Gov. Aggregation
COH             191042840015                Gas           Gov. Aggregation   COH             197575900017                Gas           Gov. Aggregation
DEO             0500046294678               Gas           Gov. Aggregation   COH             197588050019                Gas           Gov. Aggregation
DEO             5500045311185               Gas           Gov. Aggregation   COH             197638600016                Gas           Gov. Aggregation
DEO             6500041377510               Gas           Gov. Aggregation   VEDO            4002201032215220            Gas           Gov. Aggregation
DEO             0421705942360               Gas           Gov. Aggregation   VEDO            4002695142264407            Gas           Gov. Aggregation
DEO             0500013909899               Gas           Gov. Aggregation   VEDO            4015575812252656            Gas           Gov. Aggregation
DEO             0500015551924               Gas           Gov. Aggregation   VEDO            4019312882258981            Gas           Gov. Aggregation
DEO             0500017097624               Gas           Gov. Aggregation   VEDO            4019289652531522            Gas           Gov. Aggregation
DEO             0500045550147               Gas           Gov. Aggregation   VEDO            4015772082610615            Gas           Gov. Aggregation
DEO             0500048419521               Gas           Gov. Aggregation   VEDO            4019229532316112            Gas           Gov. Aggregation
DEO             0500051762638               Gas           Gov. Aggregation   VEDO            4019233102373124            Gas           Gov. Aggregation
DEO             0500052865134               Gas           Gov. Aggregation   VEDO            4016764802361525            Gas           Gov. Aggregation
DEO             0500054211544               Gas           Gov. Aggregation   VEDO            4019331382244241            Gas           Gov. Aggregation
DEO             0500054563487               Gas           Gov. Aggregation   VEDO            4019150532644397            Gas           Gov. Aggregation
DEO             1421701732285               Gas           Gov. Aggregation   VEDO            4019310012452782            Gas           Gov. Aggregation
DEO             1421704075123               Gas           Gov. Aggregation   VEDO            4018853992392917            Gas           Gov. Aggregation
DEO             1500062250138               Gas           Gov. Aggregation   VEDO            4019225302125315            Gas           Gov. Aggregation
DEO             1500062878693               Gas           Gov. Aggregation   VEDO            4019208622497447            Gas           Gov. Aggregation
DEO             2421703344286               Gas           Gov. Aggregation   VEDO            4019308262195881            Gas           Gov. Aggregation
DEO             2421801193926               Gas           Gov. Aggregation   VEDO            4018905122639915            Gas           Gov. Aggregation
DEO             2500022471516               Gas           Gov. Aggregation   VEDO            4004581672390126            Gas           Gov. Aggregation
DEO             2500026846280               Gas           Gov. Aggregation   VEDO            4019030322283778            Gas           Gov. Aggregation
DEO             2500030465453               Gas           Gov. Aggregation   COH             134940090018                Gas           Gov. Aggregation
DEO             2500033585114               Gas           Gov. Aggregation   VEDO            4003647512646558            Gas           Gov. Aggregation
DEO             2500042579265               Gas           Gov. Aggregation   VEDO            4018355162643282            Gas           Gov. Aggregation
DEO             2500042913553               Gas           Gov. Aggregation   VEDO            4019237382643283            Gas           Gov. Aggregation
DEO             2500043323051               Gas           Gov. Aggregation   VEDO            4019176942623380            Gas           Gov. Aggregation
DEO             2500048727310               Gas           Gov. Aggregation   VEDO            4015729572105073            Gas           Gov. Aggregation
DEO             2500049073289               Gas           Gov. Aggregation   VEDO            4019153102568279            Gas           Gov. Aggregation
DEO             2500049405981               Gas           Gov. Aggregation   VEDO            4019191992615021            Gas           Gov. Aggregation
DEO             2500053284580               Gas           Gov. Aggregation   VEDO            4019258802307922            Gas           Gov. Aggregation
DEO             2500053400327               Gas           Gov. Aggregation   VEDO            4019317462386191            Gas           Gov. Aggregation
DEO             2500053485518               Gas           Gov. Aggregation   VEDO            4017754652213397            Gas           Gov. Aggregation
DEO             2500054785474               Gas           Gov. Aggregation   VEDO            4015063682469410            Gas           Gov. Aggregation
DEO             2500060873057               Gas           Gov. Aggregation   VEDO            4019343822364042            Gas           Gov. Aggregation
DEO             2500062659563               Gas           Gov. Aggregation   VEDO            4019344802284883            Gas           Gov. Aggregation
DEO             3500003959745               Gas           Gov. Aggregation   VEDO            4019293412232270            Gas           Gov. Aggregation
DEO             3500025035442               Gas           Gov. Aggregation   VEDO            4001255872156729            Gas           Gov. Aggregation
DEO             3500026621174               Gas           Gov. Aggregation   VEDO            4015115202338029            Gas           Gov. Aggregation
DEO             3500029171463               Gas           Gov. Aggregation   VEDO            4019140402336897            Gas           Gov. Aggregation
DEO             3500029302494               Gas           Gov. Aggregation   VEDO            4019159252452700            Gas           Gov. Aggregation
DEO             3500034280715               Gas           Gov. Aggregation   VEDO            4019262032468970            Gas           Gov. Aggregation
DEO             3500050055621               Gas           Gov. Aggregation   VEDO            4018740982113709            Gas           Gov. Aggregation
DEO             3500050691015               Gas           Gov. Aggregation   VEDO            4016831542240590            Gas           Gov. Aggregation
DEO             3500050745547               Gas           Gov. Aggregation   VEDO            4019204972306714            Gas           Gov. Aggregation
DEO             3500051668045               Gas           Gov. Aggregation   VEDO            4001378202477628            Gas           Gov. Aggregation
DEO             3500060436053               Gas           Gov. Aggregation   VEDO            4001323852318284            Gas           Gov. Aggregation
DEO             3500061604496               Gas           Gov. Aggregation   VEDO            4019057422493740            Gas           Gov. Aggregation
DEO             3500062662471               Gas           Gov. Aggregation   VEDO            4002731532506952            Gas           Gov. Aggregation
DEO             4500045120902               Gas           Gov. Aggregation   VEDO            4019258072188104            Gas           Gov. Aggregation
DEO             4500048859760               Gas           Gov. Aggregation   VEDO            4018338312434134            Gas           Gov. Aggregation
DEO             4500054262260               Gas           Gov. Aggregation   VEDO            4002311192487502            Gas           Gov. Aggregation
DEO             4500054372770               Gas           Gov. Aggregation   VEDO            4019273902149724            Gas           Gov. Aggregation
DEO             4500054661331               Gas           Gov. Aggregation   VEDO            4019203692268927            Gas           Gov. Aggregation
DEO             4500055485725               Gas           Gov. Aggregation   VEDO            4017837362359277            Gas           Gov. Aggregation
DEO             4500060603857               Gas           Gov. Aggregation   VEDO            4017487752329380            Gas           Gov. Aggregation
DEO             4500061654004               Gas           Gov. Aggregation   VEDO            4001037992102120            Gas           Gov. Aggregation
DEO             5421703504981               Gas           Gov. Aggregation   VEDO            4004378382216841            Gas           Gov. Aggregation
DEO             5500030219154               Gas           Gov. Aggregation   VEDO            4019015332642869            Gas           Gov. Aggregation
DEO             5500032340702               Gas           Gov. Aggregation   VEDO            4019121572372095            Gas           Gov. Aggregation
DEO             5500034131873               Gas           Gov. Aggregation   VEDO            4016566292112944            Gas           Gov. Aggregation
DEO             5500040101903               Gas           Gov. Aggregation   VEDO            4004838952628972            Gas           Gov. Aggregation
DEO             5500062990950               Gas           Gov. Aggregation   VEDO            4001765602172269            Gas           Gov. Aggregation
DEO             6421704059681               Gas           Gov. Aggregation   VEDO            4003449482436115            Gas           Gov. Aggregation
DEO             6500030537056               Gas           Gov. Aggregation   VEDO            4017176542359531            Gas           Gov. Aggregation
DEO             6500032797393               Gas           Gov. Aggregation   VEDO            4019209452442346            Gas           Gov. Aggregation
DEO             6500033308661               Gas           Gov. Aggregation   VEDO            4016454572602896            Gas           Gov. Aggregation
DEO             6500038377427               Gas           Gov. Aggregation   VEDO            4004229242289961            Gas           Gov. Aggregation
DEO             6500038964892               Gas           Gov. Aggregation   VEDO            4002013762320373            Gas           Gov. Aggregation
DEO             6500044579454               Gas           Gov. Aggregation   VEDO            4018165742266808            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             6500044659942               Gas           Gov. Aggregation   COH             115860700049                Gas           Gov. Aggregation
DEO             6500048284597               Gas           Gov. Aggregation   VEDO            4019396842199237            Gas           Gov. Aggregation
DEO             6500048865888               Gas           Gov. Aggregation   VEDO            4019193182626262            Gas           Gov. Aggregation
DEO             6500049541876               Gas           Gov. Aggregation   DEO             4500065800474               Gas           Gov. Aggregation
DEO             6500051386143               Gas           Gov. Aggregation   DEO             3500065745593               Gas           Gov. Aggregation
DEO             6500051924298               Gas           Gov. Aggregation   COH             151707280084                Gas           Gov. Aggregation
DEO             6500060419419               Gas           Gov. Aggregation   COH             195534280016                Gas           Gov. Aggregation
DEO             7421703322020               Gas           Gov. Aggregation   COH             195276620012                Gas           Gov. Aggregation
DEO             7500019043781               Gas           Gov. Aggregation   COH             137123280026                Gas           Gov. Aggregation
DEO             7500029500732               Gas           Gov. Aggregation   COH             152166060023                Gas           Gov. Aggregation
DEO             7500048982812               Gas           Gov. Aggregation   COH             165173050016                Gas           Gov. Aggregation
DEO             7500049663339               Gas           Gov. Aggregation   COH             195738910011                Gas           Gov. Aggregation
DEO             7500051171154               Gas           Gov. Aggregation   COH             159200180036                Gas           Gov. Aggregation
DEO             7500054996536               Gas           Gov. Aggregation   COH             196929750019                Gas           Gov. Aggregation
DEO             8421704439118               Gas           Gov. Aggregation   COH             196321300011                Gas           Gov. Aggregation
DEO             8421806045480               Gas           Gov. Aggregation   COH             186172140023                Gas           Gov. Aggregation
DEO             8500030066736               Gas           Gov. Aggregation   COH             112763440025                Gas           Gov. Aggregation
DEO             8500030537925               Gas           Gov. Aggregation   COH             112319560021                Gas           Gov. Aggregation
DEO             8500053237681               Gas           Gov. Aggregation   COH             195255750019                Gas           Gov. Aggregation
DEO             8500053427167               Gas           Gov. Aggregation   COH             112322530039                Gas           Gov. Aggregation
DEO             8500055527803               Gas           Gov. Aggregation   COH             145282700094                Gas           Gov. Aggregation
DEO             8500055554763               Gas           Gov. Aggregation   COH             112259850019                Gas           Gov. Aggregation
DEO             9421702237267               Gas           Gov. Aggregation   COH             193259210034                Gas           Gov. Aggregation
DEO             9421702253641               Gas           Gov. Aggregation   COH             114367850125                Gas           Gov. Aggregation
DEO             9421703443839               Gas           Gov. Aggregation   COH             112259360012                Gas           Gov. Aggregation
DEO             9421705080328               Gas           Gov. Aggregation   COH             153124530049                Gas           Gov. Aggregation
DEO             9421804551557               Gas           Gov. Aggregation   COH             196034580012                Gas           Gov. Aggregation
DEO             9421805858882               Gas           Gov. Aggregation   COH             168631640017                Gas           Gov. Aggregation
DEO             9500006444489               Gas           Gov. Aggregation   COH             196842340019                Gas           Gov. Aggregation
DEO             9500022046214               Gas           Gov. Aggregation   COH             195888370018                Gas           Gov. Aggregation
DEO             9500028054970               Gas           Gov. Aggregation   COH             151080250053                Gas           Gov. Aggregation
DEO             9500029990898               Gas           Gov. Aggregation   COH             130012210013                Gas           Gov. Aggregation
DEO             9500031171768               Gas           Gov. Aggregation   COH             146816970049                Gas           Gov. Aggregation
DEO             9500038261661               Gas           Gov. Aggregation   COH             195279030010                Gas           Gov. Aggregation
DEO             9500044431914               Gas           Gov. Aggregation   COH             113234810027                Gas           Gov. Aggregation
DEO             9500060721256               Gas           Gov. Aggregation   COH             196941310015                Gas           Gov. Aggregation
DEO             9500062157920               Gas           Gov. Aggregation   COH             195194810016                Gas           Gov. Aggregation
DEO             4500062290551               Gas           Gov. Aggregation   COH             196794220017                Gas           Gov. Aggregation
DEO             4421701953890               Gas           Gov. Aggregation   COH             195379680012                Gas           Gov. Aggregation
VEDO            4019166432302196            Gas           Gov. Aggregation   COH             127590770017                Gas           Gov. Aggregation
VEDO            4005113832523526            Gas           Gov. Aggregation   COH             197002580018                Gas           Gov. Aggregation
COH             111169140010                Gas           Gov. Aggregation   COH             195681050013                Gas           Gov. Aggregation
COH             115735580031                Gas           Gov. Aggregation   COH             115333290016                Gas           Gov. Aggregation
COH             124043550051                Gas           Gov. Aggregation   COH             115331980024                Gas           Gov. Aggregation
COH             131417010043                Gas           Gov. Aggregation   COH             115332390017                Gas           Gov. Aggregation
COH             141096200052                Gas           Gov. Aggregation   COH             115332570019                Gas           Gov. Aggregation
COH             143769480019                Gas           Gov. Aggregation   COH             115332760037                Gas           Gov. Aggregation
COH             150043840067                Gas           Gov. Aggregation   COH             115332780024                Gas           Gov. Aggregation
COH             151433840041                Gas           Gov. Aggregation   COH             117204400031                Gas           Gov. Aggregation
COH             152366100039                Gas           Gov. Aggregation   COH             166870210013                Gas           Gov. Aggregation
COH             160117990012                Gas           Gov. Aggregation   COH             163905190016                Gas           Gov. Aggregation
COH             160159290039                Gas           Gov. Aggregation   COH             192131293910                Gas           Gov. Aggregation
COH             160926380015                Gas           Gov. Aggregation   COH             155777270012                Gas           Gov. Aggregation
COH             161928500041                Gas           Gov. Aggregation   COH             163573090058                Gas           Gov. Aggregation
COH             162073430066                Gas           Gov. Aggregation   COH             119581820051                Gas           Gov. Aggregation
COH             163747090095                Gas           Gov. Aggregation   COH             159048030013                Gas           Gov. Aggregation
COH             171894640016                Gas           Gov. Aggregation   COH             153180740029                Gas           Gov. Aggregation
COH             172690370023                Gas           Gov. Aggregation   COH             177123000026                Gas           Gov. Aggregation
COH             173471810032                Gas           Gov. Aggregation   COH             196093320012                Gas           Gov. Aggregation
COH             177653460027                Gas           Gov. Aggregation   COH             196695120018                Gas           Gov. Aggregation
COH             187387970032                Gas           Gov. Aggregation   COH             185241410011                Gas           Gov. Aggregation
COH             188975310014                Gas           Gov. Aggregation   COH             160753040086                Gas           Gov. Aggregation
COH             189072510051                Gas           Gov. Aggregation   COH             195518280010                Gas           Gov. Aggregation
COH             189872400021                Gas           Gov. Aggregation   COH             118358480360                Gas           Gov. Aggregation
COH             190559190027                Gas           Gov. Aggregation   COH             189153870018                Gas           Gov. Aggregation
COH             192131290824                Gas           Gov. Aggregation   COH             115372530013                Gas           Gov. Aggregation
COH             193151750020                Gas           Gov. Aggregation   COH             115372960022                Gas           Gov. Aggregation
COH             193547760010                Gas           Gov. Aggregation   COH             115372640010                Gas           Gov. Aggregation
COH             193688312247                Gas           Gov. Aggregation   COH             134222620018                Gas           Gov. Aggregation
COH             195575770017                Gas           Gov. Aggregation   COH             197261880017                Gas           Gov. Aggregation
COH             195595690012                Gas           Gov. Aggregation   COH             197311310019                Gas           Gov. Aggregation
COH             195606440019                Gas           Gov. Aggregation   COH             151187360018                Gas           Gov. Aggregation
COH             195629170018                Gas           Gov. Aggregation   COH             192477920016                Gas           Gov. Aggregation
COH             195666270019                Gas           Gov. Aggregation   COH             117092920022                Gas           Gov. Aggregation
COH             195669170014                Gas           Gov. Aggregation   COH             117136880036                Gas           Gov. Aggregation
COH             195692230012                Gas           Gov. Aggregation   COH             130566580059                Gas           Gov. Aggregation
COH             195705380012                Gas           Gov. Aggregation   COH             129703060013                Gas           Gov. Aggregation
COH             195723510016                Gas           Gov. Aggregation   COH             131020800020                Gas           Gov. Aggregation
COH             195723560016                Gas           Gov. Aggregation   COH             135574290012                Gas           Gov. Aggregation
COH             195728540010                Gas           Gov. Aggregation   COH             137342550025                Gas           Gov. Aggregation
COH             195738460016                Gas           Gov. Aggregation   COH             145543690020                Gas           Gov. Aggregation
COH             195738710013                Gas           Gov. Aggregation   COH             146006810012                Gas           Gov. Aggregation
COH             195757890016                Gas           Gov. Aggregation   COH             146620410014                Gas           Gov. Aggregation
COH             195766850015                Gas           Gov. Aggregation   COH             150195970023                Gas           Gov. Aggregation
COH             195766870011                Gas           Gov. Aggregation   COH             151394520024                Gas           Gov. Aggregation
COH             195766890017                Gas           Gov. Aggregation   COH             161368760027                Gas           Gov. Aggregation
COH             195779690012                Gas           Gov. Aggregation   COH             163552600018                Gas           Gov. Aggregation
COH             195788560010                Gas           Gov. Aggregation   COH             185649000013                Gas           Gov. Aggregation
COH             195794400010                Gas           Gov. Aggregation   COH             186726210014                Gas           Gov. Aggregation
COH             195800140010                Gas           Gov. Aggregation   COH             187022620019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             195817570015                Gas           Gov. Aggregation   COH             191313940019                Gas           Gov. Aggregation
COH             195824320012                Gas           Gov. Aggregation   COH             191475660016                Gas           Gov. Aggregation
COH             195839490016                Gas           Gov. Aggregation   COH             191548080013                Gas           Gov. Aggregation
COH             195846260019                Gas           Gov. Aggregation   COH             191968930158                Gas           Gov. Aggregation
COH             195850530013                Gas           Gov. Aggregation   COH             193738170019                Gas           Gov. Aggregation
COH             195852640016                Gas           Gov. Aggregation   COH             193859210014                Gas           Gov. Aggregation
COH             195855610016                Gas           Gov. Aggregation   VEDO            4018329172396723            Gas           Gov. Aggregation
COH             195883380016                Gas           Gov. Aggregation   VEDO            4015345682267506            Gas           Gov. Aggregation
COH             195905540014                Gas           Gov. Aggregation   DEO             1500065993671               Gas           Gov. Aggregation
COH             195912670012                Gas           Gov. Aggregation   COH             198111050017                Gas           Gov. Aggregation
COH             195922620011                Gas           Gov. Aggregation   COH             195338350026                Gas           Gov. Aggregation
COH             195948270011                Gas           Gov. Aggregation   COH             191677690049                Gas           Gov. Aggregation
COH             195963470017                Gas           Gov. Aggregation   COH             109931360020                Gas           Gov. Aggregation
COH             195982690011                Gas           Gov. Aggregation   COH             111151030038                Gas           Gov. Aggregation
COH             136849910017                Gas           Gov. Aggregation   COH             111287220022                Gas           Gov. Aggregation
VEDO            4005156952551336            Gas           Gov. Aggregation   COH             124403060023                Gas           Gov. Aggregation
VEDO            4001385962280662            Gas           Gov. Aggregation   COH             127065630046                Gas           Gov. Aggregation
VEDO            4019176362237330            Gas           Gov. Aggregation   COH             131141890062                Gas           Gov. Aggregation
COH             124503420016                Gas           Gov. Aggregation   COH             164677840040                Gas           Gov. Aggregation
VEDO            4018694772413134            Gas           Gov. Aggregation   COH             165748510029                Gas           Gov. Aggregation
COH             153769030011                Gas           Gov. Aggregation   COH             173996700079                Gas           Gov. Aggregation
DEO             4500033830089               Gas           Gov. Aggregation   COH             174024100028                Gas           Gov. Aggregation
VEDO            4002145312150333            Gas           Gov. Aggregation   COH             174157400088                Gas           Gov. Aggregation
VEDO            4016478582204909            Gas           Gov. Aggregation   COH             174842340033                Gas           Gov. Aggregation
VEDO            4018401892392892            Gas           Gov. Aggregation   COH             187626700049                Gas           Gov. Aggregation
VEDO            4002877272515153            Gas           Gov. Aggregation   COH             188190830028                Gas           Gov. Aggregation
VEDO            4003694142367741            Gas           Gov. Aggregation   COH             188562160039                Gas           Gov. Aggregation
VEDO            4019186102370271            Gas           Gov. Aggregation   COH             192547020034                Gas           Gov. Aggregation
VEDO            4019184912391608            Gas           Gov. Aggregation   COH             192568330026                Gas           Gov. Aggregation
VEDO            4001275232493205            Gas           Gov. Aggregation   COH             196056210022                Gas           Gov. Aggregation
VEDO            4017294692387839            Gas           Gov. Aggregation   COH             197446820026                Gas           Gov. Aggregation
DEO             1500063247083               Gas           Gov. Aggregation   COH             197487750016                Gas           Gov. Aggregation
DEO             0500063278656               Gas           Gov. Aggregation   COH             197587620011                Gas           Gov. Aggregation
VEDO            4004498002455115            Gas           Gov. Aggregation   COH             197654750011                Gas           Gov. Aggregation
VEDO            4018583022242425            Gas           Gov. Aggregation   COH             197683140018                Gas           Gov. Aggregation
COH             117108120016                Gas           Gov. Aggregation   COH             197707950016                Gas           Gov. Aggregation
VEDO            4018359682112060            Gas           Gov. Aggregation   COH             197721950016                Gas           Gov. Aggregation
DEO             8500063153636               Gas           Gov. Aggregation   COH             197722110010                Gas           Gov. Aggregation
VEDO            4002090962204340            Gas           Gov. Aggregation   COH             197723950012                Gas           Gov. Aggregation
COH             131844120018                Gas           Gov. Aggregation   COH             197725340016                Gas           Gov. Aggregation
COH             150437570014                Gas           Gov. Aggregation   COH             197764800017                Gas           Gov. Aggregation
VEDO            4003525732349894            Gas           Gov. Aggregation   COH             197767140010                Gas           Gov. Aggregation
VEDO            4018963192642172            Gas           Gov. Aggregation   COH             197787700010                Gas           Gov. Aggregation
VEDO            4019130712644156            Gas           Gov. Aggregation   COH             197806760016                Gas           Gov. Aggregation
COH             156409790020                Gas           Gov. Aggregation   COH             197815650010                Gas           Gov. Aggregation
COH             194931010011                Gas           Gov. Aggregation   COH             197815660018                Gas           Gov. Aggregation
COH             158385370055                Gas           Gov. Aggregation   COH             197848050017                Gas           Gov. Aggregation
COH             195845220019                Gas           Gov. Aggregation   COH             197852000018                Gas           Gov. Aggregation
COH             195493700015                Gas           Gov. Aggregation   COH             197852510011                Gas           Gov. Aggregation
COH             167594870010                Gas           Gov. Aggregation   COH             197885580018                Gas           Gov. Aggregation
VEDO            4016724532537952            Gas           Gov. Aggregation   COH             197885590016                Gas           Gov. Aggregation
VEDO            4018649382642581            Gas           Gov. Aggregation   COH             197890500013                Gas           Gov. Aggregation
VEDO            4001402762541413            Gas           Gov. Aggregation   COH             197903690015                Gas           Gov. Aggregation
VEDO            4019077132380196            Gas           Gov. Aggregation   COH             197912080014                Gas           Gov. Aggregation
VEDO            4017611592398571            Gas           Gov. Aggregation   COH             197940240011                Gas           Gov. Aggregation
VEDO            4017870722642747            Gas           Gov. Aggregation   COH             197943190016                Gas           Gov. Aggregation
VEDO            4019068902603146            Gas           Gov. Aggregation   COH             197943840019                Gas           Gov. Aggregation
VEDO            4017879932569993            Gas           Gov. Aggregation   DEO             5500065855677               Gas           Gov. Aggregation
VEDO            4019104622537849            Gas           Gov. Aggregation   VEDO            4015258692497194            Gas           Gov. Aggregation
VEDO            4002683302263219            Gas           Gov. Aggregation   COH             168776090017                Gas           Gov. Aggregation
VEDO            4001194952630167            Gas           Gov. Aggregation   COH             165802790016                Gas           Gov. Aggregation
VEDO            4019073172349967            Gas           Gov. Aggregation   COH             163712090025                Gas           Gov. Aggregation
VEDO            4001154162478905            Gas           Gov. Aggregation   COH             109870500011                Gas           Gov. Aggregation
VEDO            4018066812480063            Gas           Gov. Aggregation   COH             190195600013                Gas           Gov. Aggregation
VEDO            4019016822301435            Gas           Gov. Aggregation   COH             136700740017                Gas           Gov. Aggregation
VEDO            4002297372629717            Gas           Gov. Aggregation   COH             148717630011                Gas           Gov. Aggregation
VEDO            4017557952591116            Gas           Gov. Aggregation   COH             131519610014                Gas           Gov. Aggregation
VEDO            4018874052528351            Gas           Gov. Aggregation   COH             169319960011                Gas           Gov. Aggregation
VEDO            4018836202526216            Gas           Gov. Aggregation   COH             186878160014                Gas           Gov. Aggregation
VEDO            4019113622259064            Gas           Gov. Aggregation   COH             176477310014                Gas           Gov. Aggregation
VEDO            4019102752133482            Gas           Gov. Aggregation   COH             197259340015                Gas           Gov. Aggregation
VEDO            4019059852395409            Gas           Gov. Aggregation   COH             115880220011                Gas           Gov. Aggregation
VEDO            4018991252350011            Gas           Gov. Aggregation   COH             163383680011                Gas           Gov. Aggregation
VEDO            4017788492635348            Gas           Gov. Aggregation   COH             161030950031                Gas           Gov. Aggregation
VEDO            4018529862351337            Gas           Gov. Aggregation   COH             153840250013                Gas           Gov. Aggregation
VEDO            4018992552277504            Gas           Gov. Aggregation   COH             121817610023                Gas           Gov. Aggregation
VEDO            4017374342277419            Gas           Gov. Aggregation   COH             196803730019                Gas           Gov. Aggregation
VEDO            4019075682455420            Gas           Gov. Aggregation   COH             115810460036                Gas           Gov. Aggregation
VEDO            4019069832235817            Gas           Gov. Aggregation   COH             130291500030                Gas           Gov. Aggregation
VEDO            4003034632298879            Gas           Gov. Aggregation   COH             142392240046                Gas           Gov. Aggregation
VEDO            4019139412263364            Gas           Gov. Aggregation   COH             136772100029                Gas           Gov. Aggregation
VEDO            4019000572489816            Gas           Gov. Aggregation   COH             168170160016                Gas           Gov. Aggregation
VEDO            4003195152315434            Gas           Gov. Aggregation   COH             144637200024                Gas           Gov. Aggregation
VEDO            4019085252320220            Gas           Gov. Aggregation   COH             185191860014                Gas           Gov. Aggregation
VEDO            4010041062239139            Gas           Gov. Aggregation   COH             175727780025                Gas           Gov. Aggregation
VEDO            4003905642442556            Gas           Gov. Aggregation   COH             115842200024                Gas           Gov. Aggregation
VEDO            4018469952390829            Gas           Gov. Aggregation   COH             151241180029                Gas           Gov. Aggregation
VEDO            4018296282469479            Gas           Gov. Aggregation   COH             166768730011                Gas           Gov. Aggregation
VEDO            4017511962506834            Gas           Gov. Aggregation   COH             192960040034                Gas           Gov. Aggregation
VEDO            4019114082199078            Gas           Gov. Aggregation   COH             196568350019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4001024002511237            Gas           Gov. Aggregation   COH             147908110025                Gas           Gov. Aggregation
VEDO            4019120912595095            Gas           Gov. Aggregation   COH             115541800026                Gas           Gov. Aggregation
DEO             6442106282892               Gas           Gov. Aggregation   COH             115831990013                Gas           Gov. Aggregation
VEDO            4001619182362093            Gas           Gov. Aggregation   COH             115832000018                Gas           Gov. Aggregation
VEDO            4010063902638376            Gas           Gov. Aggregation   COH             195136660010                Gas           Gov. Aggregation
COH             123684940016                Gas           Gov. Aggregation   COH             159897410014                Gas           Gov. Aggregation
COH             123677010016                Gas           Gov. Aggregation   COH             132356380045                Gas           Gov. Aggregation
COH             123710030029                Gas           Gov. Aggregation   COH             151219420070                Gas           Gov. Aggregation
COH             123710040027                Gas           Gov. Aggregation   COH             138245390015                Gas           Gov. Aggregation
COH             123710040018                Gas           Gov. Aggregation   COH             169210430012                Gas           Gov. Aggregation
COH             123710050016                Gas           Gov. Aggregation   COH             115782950025                Gas           Gov. Aggregation
COH             123716240014                Gas           Gov. Aggregation   COH             164087410014                Gas           Gov. Aggregation
COH             123676490018                Gas           Gov. Aggregation   COH             195892020012                Gas           Gov. Aggregation
COH             111179830014                Gas           Gov. Aggregation   COH             145693680052                Gas           Gov. Aggregation
VEDO            4019194542374677            Gas           Gov. Aggregation   COH             164754470017                Gas           Gov. Aggregation
VEDO            4002580742253055            Gas           Gov. Aggregation   COH             195097560015                Gas           Gov. Aggregation
VEDO            4004577592644004            Gas           Gov. Aggregation   COH             156109510079                Gas           Gov. Aggregation
VEDO            4004214472528205            Gas           Gov. Aggregation   COH             145406960014                Gas           Gov. Aggregation
VEDO            4016389872499361            Gas           Gov. Aggregation   COH             158713780034                Gas           Gov. Aggregation
VEDO            4017936702121939            Gas           Gov. Aggregation   COH             115753710017                Gas           Gov. Aggregation
VEDO            4017936102114000            Gas           Gov. Aggregation   COH             172245880038                Gas           Gov. Aggregation
VEDO            4017576532440467            Gas           Gov. Aggregation   COH             177690940019                Gas           Gov. Aggregation
VEDO            4003644112362493            Gas           Gov. Aggregation   COH             115570700044                Gas           Gov. Aggregation
VEDO            4003648412490273            Gas           Gov. Aggregation   COH             157586060028                Gas           Gov. Aggregation
VEDO            4015782852157252            Gas           Gov. Aggregation   COH             165414930028                Gas           Gov. Aggregation
VEDO            4017429612177970            Gas           Gov. Aggregation   COH             166740510015                Gas           Gov. Aggregation
VEDO            4001945712190050            Gas           Gov. Aggregation   COH             150726670029                Gas           Gov. Aggregation
VEDO            4002568962251904            Gas           Gov. Aggregation   COH             196748520011                Gas           Gov. Aggregation
VEDO            4002342742229263            Gas           Gov. Aggregation   COH             158315590010                Gas           Gov. Aggregation
VEDO            4003467472343937            Gas           Gov. Aggregation   COH             156914580014                Gas           Gov. Aggregation
VEDO            4003740912372730            Gas           Gov. Aggregation   COH             138077690019                Gas           Gov. Aggregation
COH             111175340024                Gas           Gov. Aggregation   COH             134679950049                Gas           Gov. Aggregation
COH             111176690010                Gas           Gov. Aggregation   COH             146830020020                Gas           Gov. Aggregation
COH             110482250023                Gas           Gov. Aggregation   COH             167609220013                Gas           Gov. Aggregation
COH             110928060027                Gas           Gov. Aggregation   COH             164224940011                Gas           Gov. Aggregation
COH             122343370046                Gas           Gov. Aggregation   COH             165225850026                Gas           Gov. Aggregation
COH             130820320464                Gas           Gov. Aggregation   COH             130466380026                Gas           Gov. Aggregation
COH             138633610051                Gas           Gov. Aggregation   COH             115752990011                Gas           Gov. Aggregation
COH             140834710023                Gas           Gov. Aggregation   COH             186269430036                Gas           Gov. Aggregation
COH             142166500031                Gas           Gov. Aggregation   COH             115803380010                Gas           Gov. Aggregation
COH             144360740028                Gas           Gov. Aggregation   COH             154439640039                Gas           Gov. Aggregation
COH             147862570107                Gas           Gov. Aggregation   COH             158021480025                Gas           Gov. Aggregation
COH             150763630029                Gas           Gov. Aggregation   COH             148594550010                Gas           Gov. Aggregation
COH             151328630011                Gas           Gov. Aggregation   COH             115753730013                Gas           Gov. Aggregation
COH             152167410036                Gas           Gov. Aggregation   COH             115520970025                Gas           Gov. Aggregation
COH             155275850023                Gas           Gov. Aggregation   COH             115592380028                Gas           Gov. Aggregation
COH             160696330014                Gas           Gov. Aggregation   COH             127378940020                Gas           Gov. Aggregation
COH             161079520039                Gas           Gov. Aggregation   COH             115753340015                Gas           Gov. Aggregation
COH             162122350031                Gas           Gov. Aggregation   COH             149445830113                Gas           Gov. Aggregation
COH             163763810044                Gas           Gov. Aggregation   COH             115633730026                Gas           Gov. Aggregation
COH             165966540012                Gas           Gov. Aggregation   COH             194034300021                Gas           Gov. Aggregation
COH             166461870012                Gas           Gov. Aggregation   COH             194320110015                Gas           Gov. Aggregation
COH             168410090048                Gas           Gov. Aggregation   COH             190664500019                Gas           Gov. Aggregation
COH             168629570035                Gas           Gov. Aggregation   COH             165514750024                Gas           Gov. Aggregation
COH             169115330024                Gas           Gov. Aggregation   COH             194911200013                Gas           Gov. Aggregation
COH             169122540034                Gas           Gov. Aggregation   COH             177821310012                Gas           Gov. Aggregation
COH             170093950029                Gas           Gov. Aggregation   COH             127600260057                Gas           Gov. Aggregation
COH             170108050016                Gas           Gov. Aggregation   COH             176260700011                Gas           Gov. Aggregation
COH             172114700032                Gas           Gov. Aggregation   COH             176681820014                Gas           Gov. Aggregation
COH             173652010036                Gas           Gov. Aggregation   COH             135827530041                Gas           Gov. Aggregation
COH             176346000052                Gas           Gov. Aggregation   COH             188383360019                Gas           Gov. Aggregation
COH             176475490039                Gas           Gov. Aggregation   COH             164605740015                Gas           Gov. Aggregation
COH             186699000044                Gas           Gov. Aggregation   COH             172302780019                Gas           Gov. Aggregation
COH             187423900010                Gas           Gov. Aggregation   COH             115784670039                Gas           Gov. Aggregation
COH             187641970023                Gas           Gov. Aggregation   COH             115784300018                Gas           Gov. Aggregation
COH             188019360109                Gas           Gov. Aggregation   COH             139676550017                Gas           Gov. Aggregation
COH             188019360118                Gas           Gov. Aggregation   COH             157809190027                Gas           Gov. Aggregation
COH             188285310026                Gas           Gov. Aggregation   COH             197805980012                Gas           Gov. Aggregation
COH             189459930026                Gas           Gov. Aggregation   COH             141904860059                Gas           Gov. Aggregation
COH             192131291261                Gas           Gov. Aggregation   COH             115802790016                Gas           Gov. Aggregation
COH             192131291690                Gas           Gov. Aggregation   COH             197761750014                Gas           Gov. Aggregation
COH             192131291789                Gas           Gov. Aggregation   COH             139320620033                Gas           Gov. Aggregation
COH             192617950021                Gas           Gov. Aggregation   COH             196483530011                Gas           Gov. Aggregation
COH             194114440022                Gas           Gov. Aggregation   COH             173053160026                Gas           Gov. Aggregation
COH             194741810016                Gas           Gov. Aggregation   COH             175752830012                Gas           Gov. Aggregation
COH             195085460020                Gas           Gov. Aggregation   COH             189353600010                Gas           Gov. Aggregation
COH             195339390017                Gas           Gov. Aggregation   COH             196846610014                Gas           Gov. Aggregation
COH             195797400014                Gas           Gov. Aggregation   COH             146415850133                Gas           Gov. Aggregation
COH             195821310010                Gas           Gov. Aggregation   COH             195486940010                Gas           Gov. Aggregation
COH             195839260014                Gas           Gov. Aggregation   COH             161663090013                Gas           Gov. Aggregation
COH             195876290010                Gas           Gov. Aggregation   COH             115773510017                Gas           Gov. Aggregation
COH             195893260010                Gas           Gov. Aggregation   COH             176622830034                Gas           Gov. Aggregation
COH             195901110012                Gas           Gov. Aggregation   COH             127359360059                Gas           Gov. Aggregation
COH             195913360015                Gas           Gov. Aggregation   COH             192746610010                Gas           Gov. Aggregation
COH             195918990013                Gas           Gov. Aggregation   COH             155135170031                Gas           Gov. Aggregation
COH             195920470017                Gas           Gov. Aggregation   COH             197644780016                Gas           Gov. Aggregation
COH             195926710014                Gas           Gov. Aggregation   COH             163892540020                Gas           Gov. Aggregation
COH             195948350014                Gas           Gov. Aggregation   COH             143665280128                Gas           Gov. Aggregation
COH             195955020018                Gas           Gov. Aggregation   COH             142585870018                Gas           Gov. Aggregation
COH             195967990010                Gas           Gov. Aggregation   COH             115801020019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             195970640016                Gas           Gov. Aggregation   COH             115801030017                Gas           Gov. Aggregation
COH             195972320019                Gas           Gov. Aggregation   COH             157325130016                Gas           Gov. Aggregation
COH             195973600018                Gas           Gov. Aggregation   COH             164343790048                Gas           Gov. Aggregation
COH             195979200010                Gas           Gov. Aggregation   COH             148149540033                Gas           Gov. Aggregation
COH             195982560018                Gas           Gov. Aggregation   COH             151191820049                Gas           Gov. Aggregation
COH             195983560016                Gas           Gov. Aggregation   COH             115841650059                Gas           Gov. Aggregation
COH             195988100012                Gas           Gov. Aggregation   COH             115833230018                Gas           Gov. Aggregation
COH             195993640018                Gas           Gov. Aggregation   COH             173366490051                Gas           Gov. Aggregation
COH             195994440018                Gas           Gov. Aggregation   COH             115749370027                Gas           Gov. Aggregation
COH             195997280016                Gas           Gov. Aggregation   COH             160648790019                Gas           Gov. Aggregation
COH             195999300017                Gas           Gov. Aggregation   COH             130229120040                Gas           Gov. Aggregation
COH             196005100013                Gas           Gov. Aggregation   COH             142223730013                Gas           Gov. Aggregation
COH             196006860012                Gas           Gov. Aggregation   COH             153846460053                Gas           Gov. Aggregation
COH             196031700012                Gas           Gov. Aggregation   COH             155691280021                Gas           Gov. Aggregation
COH             196032970014                Gas           Gov. Aggregation   COH             142848980026                Gas           Gov. Aggregation
COH             196033000015                Gas           Gov. Aggregation   COH             196242760059                Gas           Gov. Aggregation
COH             196037270011                Gas           Gov. Aggregation   COH             194712290017                Gas           Gov. Aggregation
COH             196055880015                Gas           Gov. Aggregation   COH             150497930030                Gas           Gov. Aggregation
COH             196060350015                Gas           Gov. Aggregation   COH             108736360043                Gas           Gov. Aggregation
COH             196067650027                Gas           Gov. Aggregation   COH             151441660015                Gas           Gov. Aggregation
COH             196080750019                Gas           Gov. Aggregation   COH             108719190018                Gas           Gov. Aggregation
COH             196111150018                Gas           Gov. Aggregation   COH             108718870035                Gas           Gov. Aggregation
COH             196120490018                Gas           Gov. Aggregation   COH             133808480053                Gas           Gov. Aggregation
COH             196139320014                Gas           Gov. Aggregation   COH             194930960014                Gas           Gov. Aggregation
VEDO            4019198042207782            Gas           Gov. Aggregation   COH             109054110022                Gas           Gov. Aggregation
VEDO            4019198382471438            Gas           Gov. Aggregation   COH             195995560011                Gas           Gov. Aggregation
VEDO            4019200372206921            Gas           Gov. Aggregation   COH             108702210018                Gas           Gov. Aggregation
COH             152858650031                Gas           Gov. Aggregation   COH             109840680026                Gas           Gov. Aggregation
DEO             6500063058300               Gas           Gov. Aggregation   COH             161485210168                Gas           Gov. Aggregation
VEDO            4018357772333899            Gas           Gov. Aggregation   COH             187659560022                Gas           Gov. Aggregation
VEDO            4016232272644911            Gas           Gov. Aggregation   COH             131880780014                Gas           Gov. Aggregation
VEDO            4004305082433956            Gas           Gov. Aggregation   COH             133242780041                Gas           Gov. Aggregation
COH             161000920012                Gas           Gov. Aggregation   COH             134502680012                Gas           Gov. Aggregation
COH             115826590036                Gas           Gov. Aggregation   COH             108687780013                Gas           Gov. Aggregation
COH             187479780028                Gas           Gov. Aggregation   COH             108688170073                Gas           Gov. Aggregation
COH             168641490018                Gas           Gov. Aggregation   COH             108694940014                Gas           Gov. Aggregation
COH             170459060011                Gas           Gov. Aggregation   COH             108695560012                Gas           Gov. Aggregation
COH             139418310077                Gas           Gov. Aggregation   COH             108958710021                Gas           Gov. Aggregation
COH             141049650039                Gas           Gov. Aggregation   COH             176741850010                Gas           Gov. Aggregation
COH             195179650012                Gas           Gov. Aggregation   COH             197768860017                Gas           Gov. Aggregation
COH             194887320011                Gas           Gov. Aggregation   COH             197650560019                Gas           Gov. Aggregation
COH             149834500019                Gas           Gov. Aggregation   COH             190735240013                Gas           Gov. Aggregation
COH             145549180016                Gas           Gov. Aggregation   COH             190845960019                Gas           Gov. Aggregation
COH             140143500022                Gas           Gov. Aggregation   COH             170230070022                Gas           Gov. Aggregation
COH             192714150014                Gas           Gov. Aggregation   COH             170877430017                Gas           Gov. Aggregation
COH             190600980013                Gas           Gov. Aggregation   COH             175572900019                Gas           Gov. Aggregation
COH             187117390017                Gas           Gov. Aggregation   COH             161884760041                Gas           Gov. Aggregation
COH             166800630012                Gas           Gov. Aggregation   COH             108722480010                Gas           Gov. Aggregation
COH             139455690052                Gas           Gov. Aggregation   COH             108769420292                Gas           Gov. Aggregation
COH             115786670035                Gas           Gov. Aggregation   COH             108769540019                Gas           Gov. Aggregation
COH             115826520012                Gas           Gov. Aggregation   COH             108770120014                Gas           Gov. Aggregation
COH             186559130016                Gas           Gov. Aggregation   COH             108770870026                Gas           Gov. Aggregation
COH             155825410019                Gas           Gov. Aggregation   COH             108771980012                Gas           Gov. Aggregation
COH             135163090024                Gas           Gov. Aggregation   COH             108772070011                Gas           Gov. Aggregation
COH             137608340016                Gas           Gov. Aggregation   COH             144125040014                Gas           Gov. Aggregation
COH             139961500030                Gas           Gov. Aggregation   COH             153298610018                Gas           Gov. Aggregation
COH             194198350016                Gas           Gov. Aggregation   COH             109098080330                Gas           Gov. Aggregation
COH             193673830018                Gas           Gov. Aggregation   COH             109098080554                Gas           Gov. Aggregation
COH             158977820019                Gas           Gov. Aggregation   COH             109098080625                Gas           Gov. Aggregation
COH             194267030016                Gas           Gov. Aggregation   COH             109098080634                Gas           Gov. Aggregation
COH             194227230018                Gas           Gov. Aggregation   COH             108713500032                Gas           Gov. Aggregation
COH             115829250013                Gas           Gov. Aggregation   COH             165196360013                Gas           Gov. Aggregation
COH             142986130022                Gas           Gov. Aggregation   COH             173848500010                Gas           Gov. Aggregation
COH             155362820015                Gas           Gov. Aggregation   COH             108730800015                Gas           Gov. Aggregation
COH             155884730027                Gas           Gov. Aggregation   COH             108731130014                Gas           Gov. Aggregation
COH             115825980018                Gas           Gov. Aggregation   COH             108732960018                Gas           Gov. Aggregation
COH             115809900027                Gas           Gov. Aggregation   COH             161353910017                Gas           Gov. Aggregation
COH             127475060029                Gas           Gov. Aggregation   COH             108757100025                Gas           Gov. Aggregation
COH             161899290049                Gas           Gov. Aggregation   COH             197331720011                Gas           Gov. Aggregation
COH             164873930018                Gas           Gov. Aggregation   COH             140204130039                Gas           Gov. Aggregation
COH             131122190014                Gas           Gov. Aggregation   COH             132320880018                Gas           Gov. Aggregation
COH             159336690014                Gas           Gov. Aggregation   COH             135103350025                Gas           Gov. Aggregation
COH             115826540018                Gas           Gov. Aggregation   COH             173103750016                Gas           Gov. Aggregation
COH             150771030037                Gas           Gov. Aggregation   COH             191085230013                Gas           Gov. Aggregation
COH             115810190015                Gas           Gov. Aggregation   COH             195933880014                Gas           Gov. Aggregation
COH             115810260029                Gas           Gov. Aggregation   COH             197499960017                Gas           Gov. Aggregation
COH             115586530065                Gas           Gov. Aggregation   COH             197483490019                Gas           Gov. Aggregation
COH             138924870032                Gas           Gov. Aggregation   COH             196951810019                Gas           Gov. Aggregation
COH             139182130058                Gas           Gov. Aggregation   COH             196764200014                Gas           Gov. Aggregation
COH             149603780010                Gas           Gov. Aggregation   COH             108729410010                Gas           Gov. Aggregation
COH             194390470013                Gas           Gov. Aggregation   COH             194994950012                Gas           Gov. Aggregation
COH             191298690016                Gas           Gov. Aggregation   COH             195015840018                Gas           Gov. Aggregation
COH             193781910012                Gas           Gov. Aggregation   COH             194564580011                Gas           Gov. Aggregation
COH             115828230028                Gas           Gov. Aggregation   COH             138290270015                Gas           Gov. Aggregation
COH             192220760013                Gas           Gov. Aggregation   COH             163987530012                Gas           Gov. Aggregation
COH             165497690016                Gas           Gov. Aggregation   COH             157668940038                Gas           Gov. Aggregation
COH             177140000011                Gas           Gov. Aggregation   COH             157184400019                Gas           Gov. Aggregation
COH             152949020012                Gas           Gov. Aggregation   COH             156447270010                Gas           Gov. Aggregation
COH             148576140023                Gas           Gov. Aggregation   COH             167559200014                Gas           Gov. Aggregation
VEDO            4016525672134447            Gas           Gov. Aggregation   COH             167696660027                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4017678382478931            Gas           Gov. Aggregation   COH             189766670020                Gas           Gov. Aggregation
VEDO         4001126692112058            Gas           Gov. Aggregation   COH             108728440016                Gas           Gov. Aggregation
VEDO         4002333142228307            Gas           Gov. Aggregation   COH             108728540015                Gas           Gov. Aggregation
VEDO         4016707462468321            Gas           Gov. Aggregation   COH             194644660023                Gas           Gov. Aggregation
VEDO         4003905952390507            Gas           Gov. Aggregation   COH             193704330016                Gas           Gov. Aggregation
VEDO         4001373382135036            Gas           Gov. Aggregation   COH             146734410013                Gas           Gov. Aggregation
VEDO         4002436412119421            Gas           Gov. Aggregation   COH             108749510026                Gas           Gov. Aggregation
VEDO         4017315702252351            Gas           Gov. Aggregation   COH             108762490032                Gas           Gov. Aggregation
VEDO         4018830892640819            Gas           Gov. Aggregation   COH             108769850032                Gas           Gov. Aggregation
VEDO         4018472822636419            Gas           Gov. Aggregation   COH             139910350084                Gas           Gov. Aggregation
VEDO         4018499472636807            Gas           Gov. Aggregation   COH             117879030049                Gas           Gov. Aggregation
VEDO         4016191242636449            Gas           Gov. Aggregation   COH             165265600015                Gas           Gov. Aggregation
VEDO         4003366182636543            Gas           Gov. Aggregation   COH             170600850014                Gas           Gov. Aggregation
VEDO         4003300942326367            Gas           Gov. Aggregation   COH             193815770037                Gas           Gov. Aggregation
VEDO         4002005052195860            Gas           Gov. Aggregation   COH             194438950010                Gas           Gov. Aggregation
VEDO         4002417402236606            Gas           Gov. Aggregation   COH             108754140023                Gas           Gov. Aggregation
VEDO         4005043182515593            Gas           Gov. Aggregation   COH             170450170016                Gas           Gov. Aggregation
VEDO         4018587842376368            Gas           Gov. Aggregation   COH             168772060011                Gas           Gov. Aggregation
VEDO         4004322092497003            Gas           Gov. Aggregation   COH             174855700021                Gas           Gov. Aggregation
VEDO         4015116322149483            Gas           Gov. Aggregation   COH             162299800033                Gas           Gov. Aggregation
VEDO         4015301902168595            Gas           Gov. Aggregation   COH             196254820015                Gas           Gov. Aggregation
VEDO         4004445102449310            Gas           Gov. Aggregation   COH             197424240015                Gas           Gov. Aggregation
VEDO         4004914672501127            Gas           Gov. Aggregation   COH             187516150011                Gas           Gov. Aggregation
VEDO         4001019712267850            Gas           Gov. Aggregation   COH             130182610010                Gas           Gov. Aggregation
VEDO         4010034782142145            Gas           Gov. Aggregation   COH             192133790012                Gas           Gov. Aggregation
VEDO         4018803642314257            Gas           Gov. Aggregation   COH             194741800018                Gas           Gov. Aggregation
VEDO         4004567972462883            Gas           Gov. Aggregation   COH             191366830011                Gas           Gov. Aggregation
VEDO         4016256312259593            Gas           Gov. Aggregation   COH             134043780015                Gas           Gov. Aggregation
VEDO         4017111232137508            Gas           Gov. Aggregation   COH             108765000029                Gas           Gov. Aggregation
VEDO         4002588722152233            Gas           Gov. Aggregation   COH             143093610023                Gas           Gov. Aggregation
VEDO         4018870822168761            Gas           Gov. Aggregation   COH             151623100016                Gas           Gov. Aggregation
VEDO         4017312442519527            Gas           Gov. Aggregation   COH             134384910033                Gas           Gov. Aggregation
VEDO         4001003702100446            Gas           Gov. Aggregation   COH             136423170042                Gas           Gov. Aggregation
VEDO         4002880902283085            Gas           Gov. Aggregation   COH             171135910017                Gas           Gov. Aggregation
VEDO         4003166502500822            Gas           Gov. Aggregation   COH             164958510016                Gas           Gov. Aggregation
VEDO         4002388142233707            Gas           Gov. Aggregation   COH             188008370011                Gas           Gov. Aggregation
VEDO         4002376042232538            Gas           Gov. Aggregation   COH             108756790014                Gas           Gov. Aggregation
VEDO         4002175092212633            Gas           Gov. Aggregation   COH             108757270011                Gas           Gov. Aggregation
VEDO         4002549422249938            Gas           Gov. Aggregation   COH             108757380018                Gas           Gov. Aggregation
VEDO         4002561302251145            Gas           Gov. Aggregation   COH             108760180013                Gas           Gov. Aggregation
VEDO         4018033312407101            Gas           Gov. Aggregation   COH             135829220015                Gas           Gov. Aggregation
VEDO         4018798122479159            Gas           Gov. Aggregation   COH             136191380032                Gas           Gov. Aggregation
VEDO         4018710542439084            Gas           Gov. Aggregation   COH             171583160025                Gas           Gov. Aggregation
VEDO         4018713032485148            Gas           Gov. Aggregation   COH             193468710018                Gas           Gov. Aggregation
VEDO         4010010742460639            Gas           Gov. Aggregation   COH             108754990016                Gas           Gov. Aggregation
VEDO         4004906452500224            Gas           Gov. Aggregation   COH             108755030015                Gas           Gov. Aggregation
VEDO         4018495932408747            Gas           Gov. Aggregation   COH             108734470026                Gas           Gov. Aggregation
VEDO         4002501882261584            Gas           Gov. Aggregation   COH             108750670020                Gas           Gov. Aggregation
VEDO         4017521542153919            Gas           Gov. Aggregation   COH             108762310011                Gas           Gov. Aggregation
VEDO         4018961032107462            Gas           Gov. Aggregation   COH             108760860010                Gas           Gov. Aggregation
VEDO         4018572962479816            Gas           Gov. Aggregation   COH             108760920017                Gas           Gov. Aggregation
VEDO         4018952622193938            Gas           Gov. Aggregation   COH             108761000027                Gas           Gov. Aggregation
VEDO         4018607942237144            Gas           Gov. Aggregation   COH             108758740029                Gas           Gov. Aggregation
VEDO         4018611082232925            Gas           Gov. Aggregation   COH             108762530015                Gas           Gov. Aggregation
VEDO         4004320792435657            Gas           Gov. Aggregation   COH             148976970021                Gas           Gov. Aggregation
VEDO         4003407422337582            Gas           Gov. Aggregation   COH             148976970030                Gas           Gov. Aggregation
VEDO         4002867722528120            Gas           Gov. Aggregation   COH             151709950016                Gas           Gov. Aggregation
VEDO         4001120462461587            Gas           Gov. Aggregation   COH             108667980022                Gas           Gov. Aggregation
VEDO         4002318042420373            Gas           Gov. Aggregation   COH             108693460053                Gas           Gov. Aggregation
VEDO         4010007092110375            Gas           Gov. Aggregation   COH             185375890018                Gas           Gov. Aggregation
VEDO         4015056742487845            Gas           Gov. Aggregation   COH             156114510014                Gas           Gov. Aggregation
VEDO         4004440562277411            Gas           Gov. Aggregation   COH             195316930011                Gas           Gov. Aggregation
VEDO         4001945762190052            Gas           Gov. Aggregation   COH             195487310010                Gas           Gov. Aggregation
VEDO         4001937622189271            Gas           Gov. Aggregation   COH             196828920017                Gas           Gov. Aggregation
VEDO         4002293982224477            Gas           Gov. Aggregation   COH             158489600047                Gas           Gov. Aggregation
VEDO         4017424332316501            Gas           Gov. Aggregation   COH             194466900011                Gas           Gov. Aggregation
VEDO         4001606832175191            Gas           Gov. Aggregation   COH             145653540028                Gas           Gov. Aggregation
VEDO         4004748342175557            Gas           Gov. Aggregation   COH             155496300011                Gas           Gov. Aggregation
VEDO         4003544312251897            Gas           Gov. Aggregation   COH             151249500016                Gas           Gov. Aggregation
VEDO         4003260062322093            Gas           Gov. Aggregation   COH             173698070010                Gas           Gov. Aggregation
VEDO         4003912082256122            Gas           Gov. Aggregation   COH             169004600040                Gas           Gov. Aggregation
VEDO         4018632672638489            Gas           Gov. Aggregation   COH             191574690010                Gas           Gov. Aggregation
VEDO         4015473452423649            Gas           Gov. Aggregation   COH             190336080013                Gas           Gov. Aggregation
VEDO         4003090822304593            Gas           Gov. Aggregation   COH             140170940032                Gas           Gov. Aggregation
VEDO         4018954032512571            Gas           Gov. Aggregation   COH             126894840019                Gas           Gov. Aggregation
VEDO         4017045692102765            Gas           Gov. Aggregation   COH             134177950016                Gas           Gov. Aggregation
VEDO         4017836862466272            Gas           Gov. Aggregation   COH             108688670041                Gas           Gov. Aggregation
VEDO         4018142442383906            Gas           Gov. Aggregation   COH             108735370016                Gas           Gov. Aggregation
VEDO         4018522912499810            Gas           Gov. Aggregation   COH             108735750016                Gas           Gov. Aggregation
VEDO         4018218912327491            Gas           Gov. Aggregation   COH             108737420011                Gas           Gov. Aggregation
VEDO         4017275092241818            Gas           Gov. Aggregation   COH             108738570018                Gas           Gov. Aggregation
VEDO         4017033832399186            Gas           Gov. Aggregation   COH             108738710018                Gas           Gov. Aggregation
VEDO         4003341102330508            Gas           Gov. Aggregation   COH             165705780032                Gas           Gov. Aggregation
VEDO         4004210552423642            Gas           Gov. Aggregation   COH             143813770022                Gas           Gov. Aggregation
VEDO         4003642292377040            Gas           Gov. Aggregation   COH             143521870100                Gas           Gov. Aggregation
VEDO         4016568412390723            Gas           Gov. Aggregation   COH             173347200015                Gas           Gov. Aggregation
VEDO         4004317492435288            Gas           Gov. Aggregation   COH             189907030024                Gas           Gov. Aggregation
VEDO         4004037542217055            Gas           Gov. Aggregation   COH             189555580026                Gas           Gov. Aggregation
VEDO         4003714062369838            Gas           Gov. Aggregation   COH             196619360018                Gas           Gov. Aggregation
VEDO         4004921112501821            Gas           Gov. Aggregation   COH             191491990013                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4003101172305667            Gas           Gov. Aggregation   COH             197661890017                Gas           Gov. Aggregation
VEDO         4018808302166877            Gas           Gov. Aggregation   COH             167096650030                Gas           Gov. Aggregation
VEDO         4002629822257878            Gas           Gov. Aggregation   COH             167096650049                Gas           Gov. Aggregation
VEDO         4018837532301067            Gas           Gov. Aggregation   COH             163780520012                Gas           Gov. Aggregation
VEDO         4018697342260093            Gas           Gov. Aggregation   COH             160532400015                Gas           Gov. Aggregation
VEDO         4001454302154527            Gas           Gov. Aggregation   COH             197887910014                Gas           Gov. Aggregation
VEDO         4001458792142930            Gas           Gov. Aggregation   COH             194477190018                Gas           Gov. Aggregation
VEDO         4001718292167673            Gas           Gov. Aggregation   COH             139014060012                Gas           Gov. Aggregation
VEDO         4002004202157794            Gas           Gov. Aggregation   COH             137446600015                Gas           Gov. Aggregation
VEDO         4004966512506955            Gas           Gov. Aggregation   COH             135403490020                Gas           Gov. Aggregation
VEDO         4004673052454358            Gas           Gov. Aggregation   COH             139219510013                Gas           Gov. Aggregation
VEDO         4004347732438621            Gas           Gov. Aggregation   COH             142659320016                Gas           Gov. Aggregation
VEDO         4016274552410555            Gas           Gov. Aggregation   COH             132683880109                Gas           Gov. Aggregation
VEDO         4001365512134334            Gas           Gov. Aggregation   COH             196476790012                Gas           Gov. Aggregation
VEDO         4001307152140752            Gas           Gov. Aggregation   COH             196875710012                Gas           Gov. Aggregation
VEDO         4001029832325127            Gas           Gov. Aggregation   COH             156033970010                Gas           Gov. Aggregation
VEDO         4001837962152346            Gas           Gov. Aggregation   COH             153819300017                Gas           Gov. Aggregation
VEDO         4016987342292170            Gas           Gov. Aggregation   COH             154553180034                Gas           Gov. Aggregation
VEDO         4004593582352545            Gas           Gov. Aggregation   COH             123578180048                Gas           Gov. Aggregation
VEDO         4015312252183074            Gas           Gov. Aggregation   COH             150497950018                Gas           Gov. Aggregation
VEDO         4005147842527471            Gas           Gov. Aggregation   COH             149995770031                Gas           Gov. Aggregation
VEDO         4015325082138809            Gas           Gov. Aggregation   COH             144102060018                Gas           Gov. Aggregation
VEDO         4016823622457054            Gas           Gov. Aggregation   COH             130027700046                Gas           Gov. Aggregation
VEDO         4003217432317703            Gas           Gov. Aggregation   COH             131340720047                Gas           Gov. Aggregation
VEDO         4003217432426571            Gas           Gov. Aggregation   COH             134686820014                Gas           Gov. Aggregation
VEDO         4003427082257133            Gas           Gov. Aggregation   COH             142327210049                Gas           Gov. Aggregation
VEDO         4010025952328456            Gas           Gov. Aggregation   COH             122323930040                Gas           Gov. Aggregation
VEDO         4010025952495439            Gas           Gov. Aggregation   COH             150106800043                Gas           Gov. Aggregation
VEDO         4016471532172517            Gas           Gov. Aggregation   COH             150201740053                Gas           Gov. Aggregation
VEDO         4018523582181213            Gas           Gov. Aggregation   COH             149053020043                Gas           Gov. Aggregation
VEDO         4019103762378890            Gas           Gov. Aggregation   COH             150936030046                Gas           Gov. Aggregation
VEDO         4018561422414520            Gas           Gov. Aggregation   COH             108742700011                Gas           Gov. Aggregation
VEDO         4016861282409687            Gas           Gov. Aggregation   COH             108745510015                Gas           Gov. Aggregation
VEDO         4016467062278121            Gas           Gov. Aggregation   COH             108747880014                Gas           Gov. Aggregation
VEDO         4017662942368777            Gas           Gov. Aggregation   COH             108741190011                Gas           Gov. Aggregation
VEDO         4017976292497956            Gas           Gov. Aggregation   COH             186548890029                Gas           Gov. Aggregation
VEDO         4018873672353843            Gas           Gov. Aggregation   COH             108672820015                Gas           Gov. Aggregation
VEDO         4018598772192800            Gas           Gov. Aggregation   COH             158960510019                Gas           Gov. Aggregation
VEDO         4005092342521132            Gas           Gov. Aggregation   COH             171496030036                Gas           Gov. Aggregation
VEDO         4015266172159605            Gas           Gov. Aggregation   COH             140482880043                Gas           Gov. Aggregation
VEDO         4016965052363414            Gas           Gov. Aggregation   COH             192799000017                Gas           Gov. Aggregation
VEDO         4018141932326253            Gas           Gov. Aggregation   COH             134477420048                Gas           Gov. Aggregation
VEDO         4004797382465665            Gas           Gov. Aggregation   COH             137132550011                Gas           Gov. Aggregation
VEDO         4004989642332630            Gas           Gov. Aggregation   COH             135162170010                Gas           Gov. Aggregation
VEDO         4003112032126357            Gas           Gov. Aggregation   COH             185524250015                Gas           Gov. Aggregation
VEDO         4003128522109968            Gas           Gov. Aggregation   COH             176861090061                Gas           Gov. Aggregation
VEDO         4015515662108744            Gas           Gov. Aggregation   COH             176271540012                Gas           Gov. Aggregation
VEDO         4015972762156072            Gas           Gov. Aggregation   COH             187879780011                Gas           Gov. Aggregation
VEDO         4004105002412111            Gas           Gov. Aggregation   COH             188302770022                Gas           Gov. Aggregation
VEDO         4004090402216681            Gas           Gov. Aggregation   COH             187077230016                Gas           Gov. Aggregation
VEDO         4003468212200449            Gas           Gov. Aggregation   COH             108673140016                Gas           Gov. Aggregation
VEDO         4003742572372907            Gas           Gov. Aggregation   COH             108757630015                Gas           Gov. Aggregation
VEDO         4002263332221469            Gas           Gov. Aggregation   COH             141650910600                Gas           Gov. Aggregation
VEDO         4018169082128172            Gas           Gov. Aggregation   COH             167506550263                Gas           Gov. Aggregation
VEDO         4018386572523509            Gas           Gov. Aggregation   COH             108760170015                Gas           Gov. Aggregation
VEDO         4018907202249509            Gas           Gov. Aggregation   COH             154004180028                Gas           Gov. Aggregation
VEDO         4017170132262317            Gas           Gov. Aggregation   COH             108673110012                Gas           Gov. Aggregation
VEDO         4017128132333307            Gas           Gov. Aggregation   COH             149387520265                Gas           Gov. Aggregation
VEDO         4015292612262776            Gas           Gov. Aggregation   COH             174969730015                Gas           Gov. Aggregation
VEDO         4016977132333787            Gas           Gov. Aggregation   VEDO            4018403582635546            Gas           Gov. Aggregation
VEDO         4003034412315905            Gas           Gov. Aggregation   VEDO            4019369732336334            Gas           Gov. Aggregation
VEDO         4016967752383348            Gas           Gov. Aggregation   COH             148310200022                Gas           Gov. Aggregation
VEDO         4016594422238948            Gas           Gov. Aggregation   COH             122382730020                Gas           Gov. Aggregation
VEDO         4016675682485289            Gas           Gov. Aggregation   COH             193101500018                Gas           Gov. Aggregation
VEDO         4004657962472863            Gas           Gov. Aggregation   COH             174709170013                Gas           Gov. Aggregation
VEDO         4015069792255271            Gas           Gov. Aggregation   COH             194012080024                Gas           Gov. Aggregation
VEDO         4004976962508076            Gas           Gov. Aggregation   COH             194166380017                Gas           Gov. Aggregation
VEDO         4003805802379696            Gas           Gov. Aggregation   COH             196421270016                Gas           Gov. Aggregation
VEDO         4015126972362095            Gas           Gov. Aggregation   COH             122488530028                Gas           Gov. Aggregation
VEDO         4005035352514664            Gas           Gov. Aggregation   COH             194548100015                Gas           Gov. Aggregation
VEDO         4016590172356861            Gas           Gov. Aggregation   COH             196175310010                Gas           Gov. Aggregation
VEDO         4016928022169843            Gas           Gov. Aggregation   COH             192727510011                Gas           Gov. Aggregation
VEDO         4016191422409579            Gas           Gov. Aggregation   COH             165248380054                Gas           Gov. Aggregation
VEDO         4004248002427734            Gas           Gov. Aggregation   COH             175411050045                Gas           Gov. Aggregation
VEDO         4017410142432037            Gas           Gov. Aggregation   COH             194150710010                Gas           Gov. Aggregation
VEDO         4017376522216454            Gas           Gov. Aggregation   COH             175698690063                Gas           Gov. Aggregation
VEDO         4015104312228663            Gas           Gov. Aggregation   COH             177429020060                Gas           Gov. Aggregation
VEDO         4002307522225803            Gas           Gov. Aggregation   COH             167254290021                Gas           Gov. Aggregation
VEDO         4003131182308792            Gas           Gov. Aggregation   COH             122398410024                Gas           Gov. Aggregation
VEDO         4018006482104249            Gas           Gov. Aggregation   COH             122415210019                Gas           Gov. Aggregation
VEDO         4018006482187949            Gas           Gov. Aggregation   COH             122487240012                Gas           Gov. Aggregation
VEDO         4018628082183424            Gas           Gov. Aggregation   COH             144305710020                Gas           Gov. Aggregation
VEDO         4018802012636940            Gas           Gov. Aggregation   COH             193852200010                Gas           Gov. Aggregation
VEDO         4018473122636442            Gas           Gov. Aggregation   COH             193680910025                Gas           Gov. Aggregation
VEDO         4018472952636429            Gas           Gov. Aggregation   COH             190970030028                Gas           Gov. Aggregation
VEDO         4018472972636430            Gas           Gov. Aggregation   COH             192738200013                Gas           Gov. Aggregation
VEDO         4018472882636425            Gas           Gov. Aggregation   COH             195221950018                Gas           Gov. Aggregation
VEDO         4018477122636581            Gas           Gov. Aggregation   COH             192005600012                Gas           Gov. Aggregation
VEDO         4018113012641565            Gas           Gov. Aggregation   COH             195949180018                Gas           Gov. Aggregation
VEDO         4015947712636933            Gas           Gov. Aggregation   COH             122372420035                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4016900282636958            Gas           Gov. Aggregation   COH             195698850010                Gas           Gov. Aggregation
VEDO         4003273332636929            Gas           Gov. Aggregation   COH             195801250015                Gas           Gov. Aggregation
VEDO         4002851042280142            Gas           Gov. Aggregation   COH             194376010019                Gas           Gov. Aggregation
VEDO         4001334412211492            Gas           Gov. Aggregation   COH             192897610011                Gas           Gov. Aggregation
VEDO         4001887672184197            Gas           Gov. Aggregation   COH             131974010098                Gas           Gov. Aggregation
VEDO         4001292642127536            Gas           Gov. Aggregation   COH             188689550020                Gas           Gov. Aggregation
VEDO         4004960302506239            Gas           Gov. Aggregation   COH             195545540018                Gas           Gov. Aggregation
VEDO         4015298982290996            Gas           Gov. Aggregation   COH             197815700019                Gas           Gov. Aggregation
VEDO         4004577592399006            Gas           Gov. Aggregation   COH             167599020054                Gas           Gov. Aggregation
VEDO         4004605992467108            Gas           Gov. Aggregation   COH             192812640022                Gas           Gov. Aggregation
VEDO         4004787362487070            Gas           Gov. Aggregation   COH             122354010146                Gas           Gov. Aggregation
VEDO         4016170602587527            Gas           Gov. Aggregation   COH             122352550012                Gas           Gov. Aggregation
VEDO         4017359352184927            Gas           Gov. Aggregation   COH             196200310015                Gas           Gov. Aggregation
VEDO         4017407992627235            Gas           Gov. Aggregation   COH             122343730022                Gas           Gov. Aggregation
VEDO         4017434192168694            Gas           Gov. Aggregation   COH             122390290035                Gas           Gov. Aggregation
VEDO         4015137872134502            Gas           Gov. Aggregation   COH             185268090022                Gas           Gov. Aggregation
VEDO         4015177882636520            Gas           Gov. Aggregation   COH             191877930017                Gas           Gov. Aggregation
VEDO         4016316542403700            Gas           Gov. Aggregation   COH             151917440147                Gas           Gov. Aggregation
VEDO         4003494392346637            Gas           Gov. Aggregation   COH             190224170039                Gas           Gov. Aggregation
VEDO         4003084912120508            Gas           Gov. Aggregation   COH             185328780056                Gas           Gov. Aggregation
VEDO         4002689902263851            Gas           Gov. Aggregation   COH             191347000015                Gas           Gov. Aggregation
VEDO         4018664492636516            Gas           Gov. Aggregation   COH             137854080010                Gas           Gov. Aggregation
VEDO         4018474652636497            Gas           Gov. Aggregation   COH             194816640013                Gas           Gov. Aggregation
VEDO         4018679622638975            Gas           Gov. Aggregation   COH             192414530010                Gas           Gov. Aggregation
VEDO         4018472422636402            Gas           Gov. Aggregation   COH             176638450022                Gas           Gov. Aggregation
VEDO         4018472782636418            Gas           Gov. Aggregation   COH             188225260014                Gas           Gov. Aggregation
VEDO         4018472792636420            Gas           Gov. Aggregation   COH             197395350015                Gas           Gov. Aggregation
VEDO         4018465552636266            Gas           Gov. Aggregation   COH             197813410014                Gas           Gov. Aggregation
VEDO         4018499782636813            Gas           Gov. Aggregation   COH             196857730016                Gas           Gov. Aggregation
VEDO         4018499832636952            Gas           Gov. Aggregation   COH             192608360015                Gas           Gov. Aggregation
VEDO         4018476842636568            Gas           Gov. Aggregation   COH             195399160037                Gas           Gov. Aggregation
VEDO         4018670302638869            Gas           Gov. Aggregation   COH             196857610011                Gas           Gov. Aggregation
VEDO         4018046742409918            Gas           Gov. Aggregation   COH             139218110037                Gas           Gov. Aggregation
VEDO         4017711972204278            Gas           Gov. Aggregation   COH             122420270016                Gas           Gov. Aggregation
VEDO         4002169292212064            Gas           Gov. Aggregation   COH             187124600026                Gas           Gov. Aggregation
VEDO         4004264882305815            Gas           Gov. Aggregation   COH             196462670016                Gas           Gov. Aggregation
VEDO         4017618052236997            Gas           Gov. Aggregation   COH             197940230013                Gas           Gov. Aggregation
VEDO         4017383582291204            Gas           Gov. Aggregation   COH             122344660034                Gas           Gov. Aggregation
VEDO         4016826242327737            Gas           Gov. Aggregation   COH             193385770012                Gas           Gov. Aggregation
VEDO         4001185712117535            Gas           Gov. Aggregation   COH             191647930014                Gas           Gov. Aggregation
VEDO         4001188812117851            Gas           Gov. Aggregation   COH             122497680019                Gas           Gov. Aggregation
VEDO         4001492362146117            Gas           Gov. Aggregation   COH             148353850026                Gas           Gov. Aggregation
VEDO         4001217662120590            Gas           Gov. Aggregation   COH             122494210040                Gas           Gov. Aggregation
VEDO         4001250972123620            Gas           Gov. Aggregation   COH             122373640019                Gas           Gov. Aggregation
VEDO         4002201302215249            Gas           Gov. Aggregation   COH             164991460035                Gas           Gov. Aggregation
VEDO         4004805982489073            Gas           Gov. Aggregation   COH             197102550012                Gas           Gov. Aggregation
VEDO         4003676812365916            Gas           Gov. Aggregation   COH             132694420031                Gas           Gov. Aggregation
VEDO         4004297062433101            Gas           Gov. Aggregation   COH             173033960039                Gas           Gov. Aggregation
VEDO         4003078542303333            Gas           Gov. Aggregation   COH             196697740014                Gas           Gov. Aggregation
VEDO         4002774042272312            Gas           Gov. Aggregation   COH             194952860019                Gas           Gov. Aggregation
VEDO         4001593142155849            Gas           Gov. Aggregation   COH             197344350012                Gas           Gov. Aggregation
VEDO         4001586882155235            Gas           Gov. Aggregation   COH             172584670025                Gas           Gov. Aggregation
VEDO         4001326262130670            Gas           Gov. Aggregation   COH             150518680028                Gas           Gov. Aggregation
VEDO         4004396992444029            Gas           Gov. Aggregation   COH             196657210019                Gas           Gov. Aggregation
VEDO         4001656922161943            Gas           Gov. Aggregation   COH             197142680011                Gas           Gov. Aggregation
VEDO         4001073362107013            Gas           Gov. Aggregation   COH             122376500021                Gas           Gov. Aggregation
VEDO         4002899832441240            Gas           Gov. Aggregation   COH             191755740015                Gas           Gov. Aggregation
VEDO         4002894702284449            Gas           Gov. Aggregation   COH             194563790019                Gas           Gov. Aggregation
VEDO         4018934482460724            Gas           Gov. Aggregation   COH             173016230038                Gas           Gov. Aggregation
VEDO         4017133022107829            Gas           Gov. Aggregation   COH             197200520010                Gas           Gov. Aggregation
VEDO         4018781932228252            Gas           Gov. Aggregation   COH             177388570036                Gas           Gov. Aggregation
VEDO         4018574622277297            Gas           Gov. Aggregation   COH             192978490015                Gas           Gov. Aggregation
VEDO         4018749672441336            Gas           Gov. Aggregation   COH             122388140022                Gas           Gov. Aggregation
VEDO         4003848882384367            Gas           Gov. Aggregation   COH             157677480027                Gas           Gov. Aggregation
VEDO         4003559532353474            Gas           Gov. Aggregation   COH             161053900015                Gas           Gov. Aggregation
VEDO         4002092422204488            Gas           Gov. Aggregation   COH             197588220013                Gas           Gov. Aggregation
VEDO         4001276852126076            Gas           Gov. Aggregation   COH             157910580039                Gas           Gov. Aggregation
VEDO         4002498132244717            Gas           Gov. Aggregation   COH             141679860058                Gas           Gov. Aggregation
VEDO         4003009172296287            Gas           Gov. Aggregation   COH             196052580014                Gas           Gov. Aggregation
VEDO         4002886492236487            Gas           Gov. Aggregation   COH             122475690013                Gas           Gov. Aggregation
VEDO         4003878952387603            Gas           Gov. Aggregation   COH             195299250012                Gas           Gov. Aggregation
VEDO         4003295112325714            Gas           Gov. Aggregation   COH             188725920024                Gas           Gov. Aggregation
VEDO         4004178442420127            Gas           Gov. Aggregation   COH             166191420037                Gas           Gov. Aggregation
VEDO         4003308662327205            Gas           Gov. Aggregation   COH             191791610016                Gas           Gov. Aggregation
VEDO         4015683122147215            Gas           Gov. Aggregation   COH             135412270018                Gas           Gov. Aggregation
VEDO         4004507902456202            Gas           Gov. Aggregation   COH             192663940017                Gas           Gov. Aggregation
VEDO         4018864892405281            Gas           Gov. Aggregation   COH             165276920024                Gas           Gov. Aggregation
VEDO         4018324682313778            Gas           Gov. Aggregation   COH             122478090068                Gas           Gov. Aggregation
VEDO         4017546942233435            Gas           Gov. Aggregation   COH             130285610049                Gas           Gov. Aggregation
VEDO         4018335072201206            Gas           Gov. Aggregation   COH             192807570019                Gas           Gov. Aggregation
VEDO         4018253612263086            Gas           Gov. Aggregation   COH             122374890024                Gas           Gov. Aggregation
VEDO         4018968242526514            Gas           Gov. Aggregation   COH             122358080028                Gas           Gov. Aggregation
VEDO         4018626732158529            Gas           Gov. Aggregation   COH             122370730034                Gas           Gov. Aggregation
VEDO         4018625542519565            Gas           Gov. Aggregation   COH             122375850020                Gas           Gov. Aggregation
VEDO         4004821072490748            Gas           Gov. Aggregation   COH             197371530017                Gas           Gov. Aggregation
VEDO         4019046652302777            Gas           Gov. Aggregation   COH             191828490013                Gas           Gov. Aggregation
VEDO         4015795692358338            Gas           Gov. Aggregation   COH             122495790010                Gas           Gov. Aggregation
VEDO         4016686482211894            Gas           Gov. Aggregation   COH             131846831229                Gas           Gov. Aggregation
VEDO         4015502972119358            Gas           Gov. Aggregation   COH             137793780031                Gas           Gov. Aggregation
VEDO         4016023902275593            Gas           Gov. Aggregation   COH             149397380013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4018935572386352            Gas           Gov. Aggregation   COH             122509200012                Gas           Gov. Aggregation
VEDO            4018458622413423            Gas           Gov. Aggregation   COH             157977420014                Gas           Gov. Aggregation
VEDO            4002829982278005            Gas           Gov. Aggregation   COH             153721250024                Gas           Gov. Aggregation
VEDO            4002660082260887            Gas           Gov. Aggregation   COH             196678400015                Gas           Gov. Aggregation
VEDO            4002111582206340            Gas           Gov. Aggregation   COH             122408070014                Gas           Gov. Aggregation
VEDO            4002896912284682            Gas           Gov. Aggregation   COH             172056810024                Gas           Gov. Aggregation
VEDO            4002235262218641            Gas           Gov. Aggregation   COH             186207950028                Gas           Gov. Aggregation
VEDO            4001762652171975            Gas           Gov. Aggregation   COH             190529690025                Gas           Gov. Aggregation
VEDO            4001029992253263            Gas           Gov. Aggregation   COH             195574020016                Gas           Gov. Aggregation
VEDO            4001818562177477            Gas           Gov. Aggregation   COH             196821500019                Gas           Gov. Aggregation
VEDO            4015974222302998            Gas           Gov. Aggregation   COH             185359650030                Gas           Gov. Aggregation
VEDO            4016397632468849            Gas           Gov. Aggregation   COH             197517380019                Gas           Gov. Aggregation
VEDO            4018548432626882            Gas           Gov. Aggregation   COH             135238010012                Gas           Gov. Aggregation
VEDO            4018825112165968            Gas           Gov. Aggregation   COH             192970480013                Gas           Gov. Aggregation
VEDO            4019206742163273            Gas           Gov. Aggregation   COH             186945250012                Gas           Gov. Aggregation
DEO             2500063433259               Gas           Gov. Aggregation   COH             187766080026                Gas           Gov. Aggregation
DEO             3500063715984               Gas           Gov. Aggregation   COH             194517240011                Gas           Gov. Aggregation
DEO             4500063699634               Gas           Gov. Aggregation   COH             197358450012                Gas           Gov. Aggregation
VEDO            4019200102304461            Gas           Gov. Aggregation   COH             194888990019                Gas           Gov. Aggregation
DEO             5500063373678               Gas           Gov. Aggregation   COH             134496680026                Gas           Gov. Aggregation
DEO             1500049132863               Gas           Gov. Aggregation   COH             194605800016                Gas           Gov. Aggregation
COH             152858650040                Gas           Gov. Aggregation   COH             196504050016                Gas           Gov. Aggregation
COH             140911070024                Gas           Gov. Aggregation   COH             172302970037                Gas           Gov. Aggregation
COH             153661460019                Gas           Gov. Aggregation   COH             189124940023                Gas           Gov. Aggregation
COH             129604800026                Gas           Gov. Aggregation   COH             192221480010                Gas           Gov. Aggregation
COH             158422600010                Gas           Gov. Aggregation   COH             192860170011                Gas           Gov. Aggregation
VEDO            4004484742453644            Gas           Gov. Aggregation   COH             195764700010                Gas           Gov. Aggregation
VEDO            4004753852483364            Gas           Gov. Aggregation   COH             195964090015                Gas           Gov. Aggregation
VEDO            4003500262347241            Gas           Gov. Aggregation   COH             138494490026                Gas           Gov. Aggregation
VEDO            4019210882346911            Gas           Gov. Aggregation   COH             122517020022                Gas           Gov. Aggregation
COH             161635210016                Gas           Gov. Aggregation   COH             175002910014                Gas           Gov. Aggregation
DEO             5500033146793               Gas           Gov. Aggregation   COH             175168060013                Gas           Gov. Aggregation
COH             111179400014                Gas           Gov. Aggregation   COH             122486170019                Gas           Gov. Aggregation
COH             110437100010                Gas           Gov. Aggregation   COH             193942120016                Gas           Gov. Aggregation
COH             155391560037                Gas           Gov. Aggregation   COH             122480210012                Gas           Gov. Aggregation
COH             110489990051                Gas           Gov. Aggregation   COH             192869030012                Gas           Gov. Aggregation
COH             110425670061                Gas           Gov. Aggregation   COH             142133920014                Gas           Gov. Aggregation
COH             195342070017                Gas           Gov. Aggregation   COH             166849430021                Gas           Gov. Aggregation
COH             194064760013                Gas           Gov. Aggregation   COH             197279290014                Gas           Gov. Aggregation
COH             177554510053                Gas           Gov. Aggregation   COH             122459630019                Gas           Gov. Aggregation
COH             195007210017                Gas           Gov. Aggregation   COH             197474400016                Gas           Gov. Aggregation
COH             193347180016                Gas           Gov. Aggregation   COH             170212960041                Gas           Gov. Aggregation
COH             129188090048                Gas           Gov. Aggregation   COH             164417750012                Gas           Gov. Aggregation
COH             110503240010                Gas           Gov. Aggregation   COH             193429010017                Gas           Gov. Aggregation
COH             110503250018                Gas           Gov. Aggregation   COH             197625110016                Gas           Gov. Aggregation
DEO             4500063498353               Gas           Gov. Aggregation   COH             122452180018                Gas           Gov. Aggregation
DEO             2500046303881               Gas           Gov. Aggregation   COH             148275810011                Gas           Gov. Aggregation
DEO             0500020607830               Gas           Gov. Aggregation   COH             197090760015                Gas           Gov. Aggregation
COH             123908610028                Gas           Gov. Aggregation   COH             176361300011                Gas           Gov. Aggregation
DEO             8500051284893               Gas           Gov. Aggregation   COH             194189600012                Gas           Gov. Aggregation
DEO             8500022340192               Gas           Gov. Aggregation   COH             192406210014                Gas           Gov. Aggregation
DEO             2500045446112               Gas           Gov. Aggregation   COH             196967190017                Gas           Gov. Aggregation
DEO             5500029373108               Gas           Gov. Aggregation   COH             122444200047                Gas           Gov. Aggregation
COH             151128000017                Gas           Gov. Aggregation   COH             135929470011                Gas           Gov. Aggregation
VEDO            4019219922467321            Gas           Gov. Aggregation   COH             166901880043                Gas           Gov. Aggregation
COH             168190860017                Gas           Gov. Aggregation   COH             189774120028                Gas           Gov. Aggregation
COH             122423800045                Gas           Gov. Aggregation   COH             194281330013                Gas           Gov. Aggregation
COH             135775830021                Gas           Gov. Aggregation   COH             175356130028                Gas           Gov. Aggregation
COH             191467660013                Gas           Gov. Aggregation   COH             167057450034                Gas           Gov. Aggregation
COH             155767220013                Gas           Gov. Aggregation   COH             186599190029                Gas           Gov. Aggregation
COH             172175510016                Gas           Gov. Aggregation   COH             194248890016                Gas           Gov. Aggregation
COH             196148190013                Gas           Gov. Aggregation   COH             192746960017                Gas           Gov. Aggregation
COH             166099090015                Gas           Gov. Aggregation   COH             195264160014                Gas           Gov. Aggregation
COH             167384370010                Gas           Gov. Aggregation   COH             196006520013                Gas           Gov. Aggregation
COH             134118640024                Gas           Gov. Aggregation   COH             195005180018                Gas           Gov. Aggregation
COH             172622600018                Gas           Gov. Aggregation   COH             160219350029                Gas           Gov. Aggregation
COH             190292910012                Gas           Gov. Aggregation   COH             196741080018                Gas           Gov. Aggregation
COH             196212120010                Gas           Gov. Aggregation   COH             141785120030                Gas           Gov. Aggregation
COH             168955920012                Gas           Gov. Aggregation   COH             195676390013                Gas           Gov. Aggregation
COH             177124080019                Gas           Gov. Aggregation   COH             122478970018                Gas           Gov. Aggregation
COH             167123510012                Gas           Gov. Aggregation   COH             196140560011                Gas           Gov. Aggregation
COH             167326430019                Gas           Gov. Aggregation   COH             197892870012                Gas           Gov. Aggregation
COH             189419630014                Gas           Gov. Aggregation   COH             197944930018                Gas           Gov. Aggregation
COH             145138760015                Gas           Gov. Aggregation   COH             173620100025                Gas           Gov. Aggregation
COH             168900020016                Gas           Gov. Aggregation   COH             122391230026                Gas           Gov. Aggregation
COH             110933930078                Gas           Gov. Aggregation   COH             192536220017                Gas           Gov. Aggregation
COH             110934200015                Gas           Gov. Aggregation   COH             192822780013                Gas           Gov. Aggregation
COH             141412690030                Gas           Gov. Aggregation   COH             187491640058                Gas           Gov. Aggregation
COH             191651820018                Gas           Gov. Aggregation   COH             140955360138                Gas           Gov. Aggregation
COH             110930160012                Gas           Gov. Aggregation   COH             197378410018                Gas           Gov. Aggregation
COH             163675620014                Gas           Gov. Aggregation   COH             185359690023                Gas           Gov. Aggregation
COH             110929110024                Gas           Gov. Aggregation   COH             167349730027                Gas           Gov. Aggregation
COH             176368200018                Gas           Gov. Aggregation   COH             152257770058                Gas           Gov. Aggregation
COH             195233450018                Gas           Gov. Aggregation   COH             122336250028                Gas           Gov. Aggregation
COH             158109110017                Gas           Gov. Aggregation   COH             122474370012                Gas           Gov. Aggregation
COH             189788610017                Gas           Gov. Aggregation   COH             195533630014                Gas           Gov. Aggregation
COH             110928730026                Gas           Gov. Aggregation   COH             171563840015                Gas           Gov. Aggregation
COH             148460480018                Gas           Gov. Aggregation   COH             122395930021                Gas           Gov. Aggregation
COH             158300960013                Gas           Gov. Aggregation   COH             193070290029                Gas           Gov. Aggregation
COH             156324910015                Gas           Gov. Aggregation   COH             191642760029                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             162337190012                Gas           Gov. Aggregation   COH             191812130011                Gas           Gov. Aggregation
COH             110919900010                Gas           Gov. Aggregation   COH             122359270026                Gas           Gov. Aggregation
COH             185535840018                Gas           Gov. Aggregation   COH             145197760020                Gas           Gov. Aggregation
COH             170773370010                Gas           Gov. Aggregation   COH             193854980022                Gas           Gov. Aggregation
COH             194818730010                Gas           Gov. Aggregation   COH             122360100028                Gas           Gov. Aggregation
COH             193844600013                Gas           Gov. Aggregation   COH             190957970047                Gas           Gov. Aggregation
COH             196364830010                Gas           Gov. Aggregation   COH             191576430010                Gas           Gov. Aggregation
COH             133948250028                Gas           Gov. Aggregation   COH             122469920017                Gas           Gov. Aggregation
COH             196177560014                Gas           Gov. Aggregation   COH             155178070023                Gas           Gov. Aggregation
COH             154892640011                Gas           Gov. Aggregation   COH             195420430015                Gas           Gov. Aggregation
COH             166398140010                Gas           Gov. Aggregation   COH             191641680019                Gas           Gov. Aggregation
COH             153247130016                Gas           Gov. Aggregation   COH             191812140019                Gas           Gov. Aggregation
COH             142588680012                Gas           Gov. Aggregation   COH             152361750060                Gas           Gov. Aggregation
COH             141816980015                Gas           Gov. Aggregation   COH             122403000027                Gas           Gov. Aggregation
COH             172137620013                Gas           Gov. Aggregation   COH             189083300043                Gas           Gov. Aggregation
COH             168513310043                Gas           Gov. Aggregation   COH             151915070014                Gas           Gov. Aggregation
COH             167779280012                Gas           Gov. Aggregation   COH             186110030035                Gas           Gov. Aggregation
COH             175273500017                Gas           Gov. Aggregation   COH             194888980011                Gas           Gov. Aggregation
COH             189869330014                Gas           Gov. Aggregation   COH             189377800036                Gas           Gov. Aggregation
COH             110921430014                Gas           Gov. Aggregation   COH             163050350015                Gas           Gov. Aggregation
COH             110928430029                Gas           Gov. Aggregation   COH             196542100015                Gas           Gov. Aggregation
COH             136499010019                Gas           Gov. Aggregation   COH             191155180024                Gas           Gov. Aggregation
COH             136185980011                Gas           Gov. Aggregation   COH             157750330013                Gas           Gov. Aggregation
COH             127228910014                Gas           Gov. Aggregation   COH             192170610020                Gas           Gov. Aggregation
COH             158579060013                Gas           Gov. Aggregation   COH             162398190041                Gas           Gov. Aggregation
COH             160330040019                Gas           Gov. Aggregation   COH             131360460013                Gas           Gov. Aggregation
COH             164383480012                Gas           Gov. Aggregation   COH             196515760014                Gas           Gov. Aggregation
COH             151407150014                Gas           Gov. Aggregation   COH             190488990011                Gas           Gov. Aggregation
COH             194189510011                Gas           Gov. Aggregation   COH             193559630012                Gas           Gov. Aggregation
COH             170126880014                Gas           Gov. Aggregation   COH             154517700058                Gas           Gov. Aggregation
COH             129727220019                Gas           Gov. Aggregation   COH             194835610019                Gas           Gov. Aggregation
COH             186504690014                Gas           Gov. Aggregation   COH             194014980012                Gas           Gov. Aggregation
COH             142771280017                Gas           Gov. Aggregation   COH             194816650011                Gas           Gov. Aggregation
COH             141136740017                Gas           Gov. Aggregation   COH             122464590017                Gas           Gov. Aggregation
COH             141643070013                Gas           Gov. Aggregation   COH             192076550014                Gas           Gov. Aggregation
COH             146509660063                Gas           Gov. Aggregation   COH             196184730013                Gas           Gov. Aggregation
COH             172056750018                Gas           Gov. Aggregation   COH             194579860011                Gas           Gov. Aggregation
COH             110933900029                Gas           Gov. Aggregation   COH             196118610017                Gas           Gov. Aggregation
COH             110934450013                Gas           Gov. Aggregation   COH             138368140017                Gas           Gov. Aggregation
COH             167583730021                Gas           Gov. Aggregation   COH             167275000027                Gas           Gov. Aggregation
COH             110932950012                Gas           Gov. Aggregation   COH             195137960015                Gas           Gov. Aggregation
COH             110929450014                Gas           Gov. Aggregation   COH             122383150011                Gas           Gov. Aggregation
COH             166599940016                Gas           Gov. Aggregation   COH             197408810019                Gas           Gov. Aggregation
COH             196266290012                Gas           Gov. Aggregation   COH             196163010018                Gas           Gov. Aggregation
COH             139405470017                Gas           Gov. Aggregation   COH             161468600019                Gas           Gov. Aggregation
COH             133106660026                Gas           Gov. Aggregation   COH             194442260016                Gas           Gov. Aggregation
COH             176991110016                Gas           Gov. Aggregation   COH             130114750774                Gas           Gov. Aggregation
COH             110929520019                Gas           Gov. Aggregation   COH             130114750854                Gas           Gov. Aggregation
DEO             2500062816090               Gas           Gov. Aggregation   COH             122493380010                Gas           Gov. Aggregation
VEDO            4018057752628748            Gas           Gov. Aggregation   COH             156051360010                Gas           Gov. Aggregation
COH             110927710013                Gas           Gov. Aggregation   COH             132513970010                Gas           Gov. Aggregation
VEDO            4019229202437463            Gas           Gov. Aggregation   COH             194525790028                Gas           Gov. Aggregation
COH             108688440030                Gas           Gov. Aggregation   COH             122470930030                Gas           Gov. Aggregation
COH             110942790015                Gas           Gov. Aggregation   COH             196109160011                Gas           Gov. Aggregation
COH             110994140012                Gas           Gov. Aggregation   COH             167506550307                Gas           Gov. Aggregation
COH             115069780014                Gas           Gov. Aggregation   COH             134544200096                Gas           Gov. Aggregation
COH             131825900032                Gas           Gov. Aggregation   COH             196977280017                Gas           Gov. Aggregation
COH             131835120133                Gas           Gov. Aggregation   COH             118631980025                Gas           Gov. Aggregation
COH             138951920212                Gas           Gov. Aggregation   COH             122349630021                Gas           Gov. Aggregation
COH             139665770023                Gas           Gov. Aggregation   COH             122381470036                Gas           Gov. Aggregation
COH             140971640019                Gas           Gov. Aggregation   COH             122382230061                Gas           Gov. Aggregation
COH             143236290107                Gas           Gov. Aggregation   COH             122383730019                Gas           Gov. Aggregation
COH             145579410014                Gas           Gov. Aggregation   COH             122385590015                Gas           Gov. Aggregation
COH             146596580049                Gas           Gov. Aggregation   COH             122389880016                Gas           Gov. Aggregation
COH             150108540115                Gas           Gov. Aggregation   COH             122391810015                Gas           Gov. Aggregation
COH             153726210040                Gas           Gov. Aggregation   COH             122412970025                Gas           Gov. Aggregation
COH             154380140011                Gas           Gov. Aggregation   COH             122413760036                Gas           Gov. Aggregation
COH             154689160077                Gas           Gov. Aggregation   COH             122423970013                Gas           Gov. Aggregation
COH             156243110104                Gas           Gov. Aggregation   COH             122428330035                Gas           Gov. Aggregation
COH             159802910018                Gas           Gov. Aggregation   COH             122431730016                Gas           Gov. Aggregation
COH             163350190068                Gas           Gov. Aggregation   COH             122439990025                Gas           Gov. Aggregation
COH             163397130026                Gas           Gov. Aggregation   COH             122465210023                Gas           Gov. Aggregation
COH             172226550028                Gas           Gov. Aggregation   COH             122476620042                Gas           Gov. Aggregation
COH             172729390026                Gas           Gov. Aggregation   COH             122477890026                Gas           Gov. Aggregation
COH             174648800038                Gas           Gov. Aggregation   COH             122478230022                Gas           Gov. Aggregation
COH             175002920021                Gas           Gov. Aggregation   COH             122481270018                Gas           Gov. Aggregation
COH             176586530044                Gas           Gov. Aggregation   COH             122488600014                Gas           Gov. Aggregation
COH             177474010067                Gas           Gov. Aggregation   COH             123054660038                Gas           Gov. Aggregation
COH             177732120020                Gas           Gov. Aggregation   COH             130264550019                Gas           Gov. Aggregation
COH             187403360025                Gas           Gov. Aggregation   COH             131033700015                Gas           Gov. Aggregation
COH             188450000057                Gas           Gov. Aggregation   COH             131554530026                Gas           Gov. Aggregation
COH             188655840048                Gas           Gov. Aggregation   COH             134251860017                Gas           Gov. Aggregation
COH             188938030039                Gas           Gov. Aggregation   COH             145067360010                Gas           Gov. Aggregation
COH             190150620031                Gas           Gov. Aggregation   COH             147015280032                Gas           Gov. Aggregation
COH             190607700026                Gas           Gov. Aggregation   COH             147464630019                Gas           Gov. Aggregation
COH             190933980036                Gas           Gov. Aggregation   COH             150136610013                Gas           Gov. Aggregation
COH             191399030029                Gas           Gov. Aggregation   COH             151437440029                Gas           Gov. Aggregation
COH             191948160027                Gas           Gov. Aggregation   COH             152130470013                Gas           Gov. Aggregation
COH             192115130027                Gas           Gov. Aggregation   COH             161921140023                Gas           Gov. Aggregation
COH             193694220012                Gas           Gov. Aggregation   COH             168708110015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             194636690015                Gas           Gov. Aggregation   COH             171241190032                Gas           Gov. Aggregation
COH             195773160042                Gas           Gov. Aggregation   COH             171800160032                Gas           Gov. Aggregation
COH             196134100118                Gas           Gov. Aggregation   COH             198002570019                Gas           Gov. Aggregation
COH             196220650012                Gas           Gov. Aggregation   COH             122409610018                Gas           Gov. Aggregation
COH             196274250013                Gas           Gov. Aggregation   COH             122420680010                Gas           Gov. Aggregation
COH             196283690012                Gas           Gov. Aggregation   COH             122439210019                Gas           Gov. Aggregation
COH             196289270018                Gas           Gov. Aggregation   COH             122464150028                Gas           Gov. Aggregation
COH             196289410018                Gas           Gov. Aggregation   COH             122512750010                Gas           Gov. Aggregation
COH             196357880015                Gas           Gov. Aggregation   COH             126988350013                Gas           Gov. Aggregation
COH             196374160010                Gas           Gov. Aggregation   COH             128754820017                Gas           Gov. Aggregation
COH             196388910013                Gas           Gov. Aggregation   COH             108693580021                Gas           Gov. Aggregation
COH             196396060015                Gas           Gov. Aggregation   COH             122367690021                Gas           Gov. Aggregation
COH             196415920012                Gas           Gov. Aggregation   COH             122371190027                Gas           Gov. Aggregation
COH             196420600018                Gas           Gov. Aggregation   COH             122406000012                Gas           Gov. Aggregation
COH             196421270025                Gas           Gov. Aggregation   COH             122484360022                Gas           Gov. Aggregation
COH             196421950013                Gas           Gov. Aggregation   COH             122486190015                Gas           Gov. Aggregation
COH             196424370019                Gas           Gov. Aggregation   COH             122487620021                Gas           Gov. Aggregation
COH             196427230012                Gas           Gov. Aggregation   COH             122490450011                Gas           Gov. Aggregation
COH             196427430010                Gas           Gov. Aggregation   COH             122511410013                Gas           Gov. Aggregation
COH             196430350010                Gas           Gov. Aggregation   COH             122511790014                Gas           Gov. Aggregation
COH             196434000015                Gas           Gov. Aggregation   COH             135734440029                Gas           Gov. Aggregation
COH             196446800012                Gas           Gov. Aggregation   COH             160441470014                Gas           Gov. Aggregation
COH             196505350011                Gas           Gov. Aggregation   COH             169988660026                Gas           Gov. Aggregation
COH             196513830013                Gas           Gov. Aggregation   COH             190779510014                Gas           Gov. Aggregation
DEO             6500064175167               Gas           Gov. Aggregation   COH             148211200013                Gas           Gov. Aggregation
COH             132042970019                Gas           Gov. Aggregation   VEDO            4002783092273243            Gas           Gov. Aggregation
DEO             1500064030508               Gas           Gov. Aggregation   COH             152312160049                Gas           Gov. Aggregation
DEO             0500064059321               Gas           Gov. Aggregation   COH             155816370053                Gas           Gov. Aggregation
VEDO            4002435572328475            Gas           Gov. Aggregation   COH             153448430035                Gas           Gov. Aggregation
COH             124019060019                Gas           Gov. Aggregation   VEDO            4003469072646612            Gas           Gov. Aggregation
VEDO            4019235492357886            Gas           Gov. Aggregation   COH             135599290029                Gas           Gov. Aggregation
DEO             0500035125418               Gas           Gov. Aggregation   COH             143911320055                Gas           Gov. Aggregation
VEDO            4019226012411341            Gas           Gov. Aggregation   COH             149447970549                Gas           Gov. Aggregation
DEO             6500064229046               Gas           Gov. Aggregation   COH             165471520051                Gas           Gov. Aggregation
VEDO            4018358642383435            Gas           Gov. Aggregation   COH             166789510031                Gas           Gov. Aggregation
VEDO            4003882122387904            Gas           Gov. Aggregation   COH             168447990015                Gas           Gov. Aggregation
DEO             1500063235331               Gas           Gov. Aggregation   COH             172747540017                Gas           Gov. Aggregation
DEO             2500062427849               Gas           Gov. Aggregation   COH             174065740046                Gas           Gov. Aggregation
DEO             2500062506588               Gas           Gov. Aggregation   COH             176261210030                Gas           Gov. Aggregation
DEO             3500055707335               Gas           Gov. Aggregation   COH             176745210052                Gas           Gov. Aggregation
DEO             4440107495083               Gas           Gov. Aggregation   COH             188227770031                Gas           Gov. Aggregation
DEO             4500008262309               Gas           Gov. Aggregation   COH             191187320027                Gas           Gov. Aggregation
DEO             4500061166804               Gas           Gov. Aggregation   COH             193147330036                Gas           Gov. Aggregation
DEO             4500063403877               Gas           Gov. Aggregation   COH             197843830013                Gas           Gov. Aggregation
DEO             5500030666012               Gas           Gov. Aggregation   COH             197891010014                Gas           Gov. Aggregation
DEO             5500042409064               Gas           Gov. Aggregation   COH             197895090010                Gas           Gov. Aggregation
DEO             5500061828614               Gas           Gov. Aggregation   COH             197954340011                Gas           Gov. Aggregation
DEO             6500048458017               Gas           Gov. Aggregation   COH             197954450018                Gas           Gov. Aggregation
DEO             6500055567961               Gas           Gov. Aggregation   COH             197957140017                Gas           Gov. Aggregation
DEO             7500061493521               Gas           Gov. Aggregation   COH             197957230018                Gas           Gov. Aggregation
VEDO            4019251142427862            Gas           Gov. Aggregation   COH             197959200010                Gas           Gov. Aggregation
VEDO            4003435752303206            Gas           Gov. Aggregation   COH             197983370014                Gas           Gov. Aggregation
DEO             0500062665994               Gas           Gov. Aggregation   COH             197996160011                Gas           Gov. Aggregation
VEDO            4018943872423702            Gas           Gov. Aggregation   COH             197996240014                Gas           Gov. Aggregation
COH             163474460229                Gas           Gov. Aggregation   COH             198013690011                Gas           Gov. Aggregation
COH             169190810034                Gas           Gov. Aggregation   COH             198054910018                Gas           Gov. Aggregation
COH             169356190015                Gas           Gov. Aggregation   COH             198117150014                Gas           Gov. Aggregation
COH             166531290015                Gas           Gov. Aggregation   COH             198118140014                Gas           Gov. Aggregation
COH             167713570037                Gas           Gov. Aggregation   COH             198190080015                Gas           Gov. Aggregation
COH             169358300026                Gas           Gov. Aggregation   COH             154323520020                Gas           Gov. Aggregation
COH             170651220019                Gas           Gov. Aggregation   VEDO            4019434792634390            Gas           Gov. Aggregation
COH             171588690042                Gas           Gov. Aggregation   VEDO            4005077962519503            Gas           Gov. Aggregation
COH             176111790045                Gas           Gov. Aggregation   COH             198125210014                Gas           Gov. Aggregation
COH             185467930023                Gas           Gov. Aggregation   DEO             3500066287291               Gas           Gov. Aggregation
COH             186289000025                Gas           Gov. Aggregation   VEDO            4004506442456050            Gas           Gov. Aggregation
COH             186861620012                Gas           Gov. Aggregation   COH             196386850010                Gas           Gov. Aggregation
COH             187707150025                Gas           Gov. Aggregation   COH             190225520088                Gas           Gov. Aggregation
COH             190397870028                Gas           Gov. Aggregation   COH             195642820013                Gas           Gov. Aggregation
COH             191115930011                Gas           Gov. Aggregation   COH             195993140013                Gas           Gov. Aggregation
COH             190468050029                Gas           Gov. Aggregation   COH             194325290018                Gas           Gov. Aggregation
COH             191010690023                Gas           Gov. Aggregation   COH             196739850011                Gas           Gov. Aggregation
COH             191341050017                Gas           Gov. Aggregation   COH             185345800037                Gas           Gov. Aggregation
COH             191023920018                Gas           Gov. Aggregation   COH             194034370027                Gas           Gov. Aggregation
COH             193138210012                Gas           Gov. Aggregation   COH             190890650055                Gas           Gov. Aggregation
COH             195558300011                Gas           Gov. Aggregation   COH             190890650064                Gas           Gov. Aggregation
COH             195752520013                Gas           Gov. Aggregation   VEDO            4015057832140742            Gas           Gov. Aggregation
COH             195894800014                Gas           Gov. Aggregation   COH             174170430039                Gas           Gov. Aggregation
COH             195698930013                Gas           Gov. Aggregation   VEDO            4015281272525302            Gas           Gov. Aggregation
COH             196223420014                Gas           Gov. Aggregation   DEO             0180016822879               Gas           Gov. Aggregation
COH             195546150018                Gas           Gov. Aggregation   VEDO            4002388182453871            Gas           Gov. Aggregation
COH             195741150014                Gas           Gov. Aggregation   COH             202118090018                Gas           Gov. Aggregation
COH             196007890014                Gas           Gov. Aggregation   COH             141444690622                Gas           Gov. Aggregation
COH             196171590010                Gas           Gov. Aggregation   COH             141444690499                Gas           Gov. Aggregation
COH             196043870012                Gas           Gov. Aggregation   COH             125780580016                Gas           Gov. Aggregation
COH             196339300014                Gas           Gov. Aggregation   COH             137792810018                Gas           Gov. Aggregation
COH             196382980011                Gas           Gov. Aggregation   COH             211134540018                Gas           Gov. Aggregation
COH             196494060017                Gas           Gov. Aggregation   COH             210716410012                Gas           Gov. Aggregation
COH             196575270011                Gas           Gov. Aggregation   COH             125586240037                Gas           Gov. Aggregation
COH             196461390017                Gas           Gov. Aggregation   DEO             4180014512425               Gas           Gov. Aggregation
COH             196449520015                Gas           Gov. Aggregation   COH             172004960022                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             171530200018                Gas           Gov. Aggregation   COH             196281530019                Gas           Gov. Aggregation
COH             196647950015                Gas           Gov. Aggregation   COH             206822270013                Gas           Gov. Aggregation
COH             124458910010                Gas           Gov. Aggregation   COH             158296900025                Gas           Gov. Aggregation
COH             196657530012                Gas           Gov. Aggregation   COH             208110150015                Gas           Gov. Aggregation
COH             124309540013                Gas           Gov. Aggregation   COH             207484950017                Gas           Gov. Aggregation
COH             136254570038                Gas           Gov. Aggregation   COH             151559070038                Gas           Gov. Aggregation
COH             148059270013                Gas           Gov. Aggregation   COH             207461150013                Gas           Gov. Aggregation
COH             145538650029                Gas           Gov. Aggregation   COH             206633290010                Gas           Gov. Aggregation
COH             147115240010                Gas           Gov. Aggregation   COH             172350580029                Gas           Gov. Aggregation
COH             151416810052                Gas           Gov. Aggregation   COH             207579360010                Gas           Gov. Aggregation
COH             155080720014                Gas           Gov. Aggregation   COH             207296910014                Gas           Gov. Aggregation
COH             153987910014                Gas           Gov. Aggregation   COH             208048350016                Gas           Gov. Aggregation
COH             160201410023                Gas           Gov. Aggregation   COH             204657840016                Gas           Gov. Aggregation
COH             160823300028                Gas           Gov. Aggregation   COH             208467540018                Gas           Gov. Aggregation
COH             156761860010                Gas           Gov. Aggregation   COH             191258260010                Gas           Gov. Aggregation
COH             160363900037                Gas           Gov. Aggregation   COH             207204490016                Gas           Gov. Aggregation
COH             165895620025                Gas           Gov. Aggregation   COH             206733070014                Gas           Gov. Aggregation
COH             170277120014                Gas           Gov. Aggregation   COH             208259430012                Gas           Gov. Aggregation
COH             170400520017                Gas           Gov. Aggregation   COH             150949700093                Gas           Gov. Aggregation
COH             171200950010                Gas           Gov. Aggregation   COH             208008340012                Gas           Gov. Aggregation
COH             171263640031                Gas           Gov. Aggregation   COH             110381660012                Gas           Gov. Aggregation
COH             171356710020                Gas           Gov. Aggregation   COH             206721110010                Gas           Gov. Aggregation
COH             161343870053                Gas           Gov. Aggregation   COH             110382240018                Gas           Gov. Aggregation
COH             162764260012                Gas           Gov. Aggregation   COH             207407430018                Gas           Gov. Aggregation
COH             165576640027                Gas           Gov. Aggregation   COH             195117490034                Gas           Gov. Aggregation
COH             166860500022                Gas           Gov. Aggregation   COH             149589040026                Gas           Gov. Aggregation
COH             168954950018                Gas           Gov. Aggregation   COH             168804980019                Gas           Gov. Aggregation
COH             169833520022                Gas           Gov. Aggregation   COH             187741450011                Gas           Gov. Aggregation
COH             134833370016                Gas           Gov. Aggregation   COH             187057840029                Gas           Gov. Aggregation
COH             177557790013                Gas           Gov. Aggregation   COH             114939610024                Gas           Gov. Aggregation
COH             174513000013                Gas           Gov. Aggregation   COH             195142290015                Gas           Gov. Aggregation
COH             174626400029                Gas           Gov. Aggregation   COH             199736080016                Gas           Gov. Aggregation
COH             186622430018                Gas           Gov. Aggregation   COH             159965060184                Gas           Gov. Aggregation
COH             174670760012                Gas           Gov. Aggregation   COH             114932640022                Gas           Gov. Aggregation
COH             186256750018                Gas           Gov. Aggregation   COH             170990430071                Gas           Gov. Aggregation
COH             186430560018                Gas           Gov. Aggregation   COH             200598690018                Gas           Gov. Aggregation
COH             174440900019                Gas           Gov. Aggregation   COH             198307210036                Gas           Gov. Aggregation
COH             185650300017                Gas           Gov. Aggregation   COH             195722830020                Gas           Gov. Aggregation
COH             187653410025                Gas           Gov. Aggregation   COH             136905110033                Gas           Gov. Aggregation
COH             191266020013                Gas           Gov. Aggregation   COH             108817780105                Gas           Gov. Aggregation
COH             186778490017                Gas           Gov. Aggregation   COH             195311880012                Gas           Gov. Aggregation
COH             189684830039                Gas           Gov. Aggregation   COH             200223830011                Gas           Gov. Aggregation
COH             191565560016                Gas           Gov. Aggregation   COH             195782080031                Gas           Gov. Aggregation
COH             194444480016                Gas           Gov. Aggregation   COH             114908440025                Gas           Gov. Aggregation
COH             166102700062                Gas           Gov. Aggregation   COH             198530220022                Gas           Gov. Aggregation
COH             194213840019                Gas           Gov. Aggregation   COH             204871680016                Gas           Gov. Aggregation
COH             194360110011                Gas           Gov. Aggregation   COH             151480370041                Gas           Gov. Aggregation
COH             195305780016                Gas           Gov. Aggregation   COH             204068310016                Gas           Gov. Aggregation
COH             195772820018                Gas           Gov. Aggregation   COH             193104400013                Gas           Gov. Aggregation
COH             194788810018                Gas           Gov. Aggregation   COH             161902390030                Gas           Gov. Aggregation
COH             169268120034                Gas           Gov. Aggregation   COH             114927750020                Gas           Gov. Aggregation
COH             171329100061                Gas           Gov. Aggregation   COH             198587270014                Gas           Gov. Aggregation
COH             195275550019                Gas           Gov. Aggregation   COH             155709730036                Gas           Gov. Aggregation
COH             195881330010                Gas           Gov. Aggregation   COH             193266450039                Gas           Gov. Aggregation
COH             195885920018                Gas           Gov. Aggregation   COH             193731420029                Gas           Gov. Aggregation
COH             196075110014                Gas           Gov. Aggregation   COH             159340630099                Gas           Gov. Aggregation
COH             196081900015                Gas           Gov. Aggregation   COH             170231850106                Gas           Gov. Aggregation
COH             196033800017                Gas           Gov. Aggregation   COH             196043730048                Gas           Gov. Aggregation
COH             196352550014                Gas           Gov. Aggregation   COH             169244930089                Gas           Gov. Aggregation
COH             111045520012                Gas           Gov. Aggregation   COH             196673570056                Gas           Gov. Aggregation
COH             195893990017                Gas           Gov. Aggregation   COH             204707690011                Gas           Gov. Aggregation
COH             195925450011                Gas           Gov. Aggregation   COH             203253440017                Gas           Gov. Aggregation
COH             196231960014                Gas           Gov. Aggregation   COH             203434670015                Gas           Gov. Aggregation
COH             196234510021                Gas           Gov. Aggregation   COH             203125560013                Gas           Gov. Aggregation
COH             196429120011                Gas           Gov. Aggregation   COH             202143700016                Gas           Gov. Aggregation
COH             110934770016                Gas           Gov. Aggregation   COH             201894130016                Gas           Gov. Aggregation
COH             175266690022                Gas           Gov. Aggregation   COH             199773730039                Gas           Gov. Aggregation
COH             111081300012                Gas           Gov. Aggregation   COH             195914920024                Gas           Gov. Aggregation
COH             111085690013                Gas           Gov. Aggregation   COH             205140200014                Gas           Gov. Aggregation
COH             111114410018                Gas           Gov. Aggregation   COH             197457360011                Gas           Gov. Aggregation
COH             111119140024                Gas           Gov. Aggregation   COH             197035080014                Gas           Gov. Aggregation
COH             111068920010                Gas           Gov. Aggregation   COH             164912910063                Gas           Gov. Aggregation
COH             177808390041                Gas           Gov. Aggregation   COH             163671940024                Gas           Gov. Aggregation
COH             185558870041                Gas           Gov. Aggregation   COH             152088250047                Gas           Gov. Aggregation
COH             191393020032                Gas           Gov. Aggregation   COH             197020060019                Gas           Gov. Aggregation
COH             111194270029                Gas           Gov. Aggregation   COH             150685850029                Gas           Gov. Aggregation
COH             128860760015                Gas           Gov. Aggregation   COH             115017020049                Gas           Gov. Aggregation
COH             192726290038                Gas           Gov. Aggregation   COH             131070360019                Gas           Gov. Aggregation
COH             131061900023                Gas           Gov. Aggregation   COH             115010370013                Gas           Gov. Aggregation
COH             132787190015                Gas           Gov. Aggregation   COH             187483960012                Gas           Gov. Aggregation
COH             133654680021                Gas           Gov. Aggregation   COH             202895300017                Gas           Gov. Aggregation
COH             134729640029                Gas           Gov. Aggregation   COH             201147050016                Gas           Gov. Aggregation
COH             193495120015                Gas           Gov. Aggregation   COH             127230450061                Gas           Gov. Aggregation
COH             194265340015                Gas           Gov. Aggregation   COH             165554500022                Gas           Gov. Aggregation
COH             195502420013                Gas           Gov. Aggregation   COH             174946380053                Gas           Gov. Aggregation
COH             193272860012                Gas           Gov. Aggregation   COH             186900970033                Gas           Gov. Aggregation
COH             137977390042                Gas           Gov. Aggregation   COH             193655060018                Gas           Gov. Aggregation
COH             144837080026                Gas           Gov. Aggregation   COH             192051190030                Gas           Gov. Aggregation
COH             136450490039                Gas           Gov. Aggregation   COH             195734170033                Gas           Gov. Aggregation
COH             194290120018                Gas           Gov. Aggregation   COH             162472680040                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             196343360013                Gas           Gov. Aggregation   COH             171431520075                Gas           Gov. Aggregation
COH             149150900024                Gas           Gov. Aggregation   COH             193344640033                Gas           Gov. Aggregation
COH             152697800013                Gas           Gov. Aggregation   COH             203970480019                Gas           Gov. Aggregation
COH             158830100083                Gas           Gov. Aggregation   COH             154912610022                Gas           Gov. Aggregation
COH             194377450015                Gas           Gov. Aggregation   COH             115025690042                Gas           Gov. Aggregation
COH             194527320013                Gas           Gov. Aggregation   COH             202310540015                Gas           Gov. Aggregation
COH             195015910013                Gas           Gov. Aggregation   COH             194582630049                Gas           Gov. Aggregation
COH             195639210018                Gas           Gov. Aggregation   COH             199662330010                Gas           Gov. Aggregation
COH             196005210010                Gas           Gov. Aggregation   COH             201178570021                Gas           Gov. Aggregation
COH             139308420022                Gas           Gov. Aggregation   COH             200837980019                Gas           Gov. Aggregation
COH             144228580013                Gas           Gov. Aggregation   COH             199638230012                Gas           Gov. Aggregation
COH             196121450014                Gas           Gov. Aggregation   COH             197285220033                Gas           Gov. Aggregation
COH             196381140019                Gas           Gov. Aggregation   COH             197594730013                Gas           Gov. Aggregation
COH             115019350108                Gas           Gov. Aggregation   COH             196414060024                Gas           Gov. Aggregation
COH             115067150010                Gas           Gov. Aggregation   COH             195555740015                Gas           Gov. Aggregation
COH             161839350033                Gas           Gov. Aggregation   COH             174246310051                Gas           Gov. Aggregation
COH             196236990018                Gas           Gov. Aggregation   COH             153423420057                Gas           Gov. Aggregation
COH             148205240018                Gas           Gov. Aggregation   COH             145391700100                Gas           Gov. Aggregation
COH             158074070057                Gas           Gov. Aggregation   COH             201634460017                Gas           Gov. Aggregation
COH             114977660015                Gas           Gov. Aggregation   COH             199030800010                Gas           Gov. Aggregation
COH             114988470049                Gas           Gov. Aggregation   COH             194842520013                Gas           Gov. Aggregation
COH             114992520012                Gas           Gov. Aggregation   COH             150572560038                Gas           Gov. Aggregation
COH             115004220026                Gas           Gov. Aggregation   COH             133041440057                Gas           Gov. Aggregation
COH             196599560010                Gas           Gov. Aggregation   COH             170919470028                Gas           Gov. Aggregation
COH             114905670069                Gas           Gov. Aggregation   COH             199457080018                Gas           Gov. Aggregation
COH             155289010011                Gas           Gov. Aggregation   COH             201412520014                Gas           Gov. Aggregation
COH             155720470019                Gas           Gov. Aggregation   COH             197888130016                Gas           Gov. Aggregation
COH             152925990019                Gas           Gov. Aggregation   COH             194449320019                Gas           Gov. Aggregation
COH             159887590054                Gas           Gov. Aggregation   COH             201277520012                Gas           Gov. Aggregation
COH             161496210012                Gas           Gov. Aggregation   COH             169913760068                Gas           Gov. Aggregation
COH             169686960014                Gas           Gov. Aggregation   COH             163521280057                Gas           Gov. Aggregation
COH             168952350018                Gas           Gov. Aggregation   COH             198985010014                Gas           Gov. Aggregation
COH             170730270039                Gas           Gov. Aggregation   COH             197180480031                Gas           Gov. Aggregation
COH             169749370014                Gas           Gov. Aggregation   COH             197137670014                Gas           Gov. Aggregation
COH             129152930144                Gas           Gov. Aggregation   COH             175573060023                Gas           Gov. Aggregation
COH             130143960037                Gas           Gov. Aggregation   COH             202307460019                Gas           Gov. Aggregation
COH             133430280038                Gas           Gov. Aggregation   COH             202357690016                Gas           Gov. Aggregation
COH             136444650038                Gas           Gov. Aggregation   COH             199683820031                Gas           Gov. Aggregation
COH             141769340029                Gas           Gov. Aggregation   COH             199113770011                Gas           Gov. Aggregation
COH             185224930018                Gas           Gov. Aggregation   COH             186422360026                Gas           Gov. Aggregation
COH             142200530059                Gas           Gov. Aggregation   COH             164239730023                Gas           Gov. Aggregation
COH             154604270018                Gas           Gov. Aggregation   COH             203517420011                Gas           Gov. Aggregation
COH             188145640014                Gas           Gov. Aggregation   COH             203786390019                Gas           Gov. Aggregation
COH             153760040106                Gas           Gov. Aggregation   COH             193336180019                Gas           Gov. Aggregation
COH             154027060089                Gas           Gov. Aggregation   COH             146851070099                Gas           Gov. Aggregation
COH             189287760018                Gas           Gov. Aggregation   COH             197308410015                Gas           Gov. Aggregation
COH             161762930034                Gas           Gov. Aggregation   COH             195702120012                Gas           Gov. Aggregation
COH             108707850023                Gas           Gov. Aggregation   COH             194502650016                Gas           Gov. Aggregation
COH             108708790015                Gas           Gov. Aggregation   COH             172890560109                Gas           Gov. Aggregation
COH             108719470019                Gas           Gov. Aggregation   COH             205013280017                Gas           Gov. Aggregation
COH             108720520024                Gas           Gov. Aggregation   COH             114935140030                Gas           Gov. Aggregation
COH             108753100014                Gas           Gov. Aggregation   COH             197712020010                Gas           Gov. Aggregation
COH             108754600026                Gas           Gov. Aggregation   COH             196788750028                Gas           Gov. Aggregation
COH             108756630035                Gas           Gov. Aggregation   COH             201634440011                Gas           Gov. Aggregation
COH             154170350021                Gas           Gov. Aggregation   COH             201634450019                Gas           Gov. Aggregation
COH             189278700019                Gas           Gov. Aggregation   COH             199444190012                Gas           Gov. Aggregation
COH             155851510022                Gas           Gov. Aggregation   COH             189782410020                Gas           Gov. Aggregation
COH             108669610016                Gas           Gov. Aggregation   COH             191971390020                Gas           Gov. Aggregation
COH             108678150032                Gas           Gov. Aggregation   COH             114988450025                Gas           Gov. Aggregation
COH             108667290027                Gas           Gov. Aggregation   COH             114956640013                Gas           Gov. Aggregation
COH             108667570019                Gas           Gov. Aggregation   COH             114956780032                Gas           Gov. Aggregation
COH             108717130023                Gas           Gov. Aggregation   COH             115022180027                Gas           Gov. Aggregation
COH             108717760012                Gas           Gov. Aggregation   COH             114952200013                Gas           Gov. Aggregation
COH             108718260015                Gas           Gov. Aggregation   COH             199191490052                Gas           Gov. Aggregation
COH             108718390018                Gas           Gov. Aggregation   COH             202101960010                Gas           Gov. Aggregation
COH             108773300047                Gas           Gov. Aggregation   COH             157254200030                Gas           Gov. Aggregation
COH             161457810063                Gas           Gov. Aggregation   COH             201084240038                Gas           Gov. Aggregation
COH             108713470020                Gas           Gov. Aggregation   COH             200171490014                Gas           Gov. Aggregation
COH             108720480014                Gas           Gov. Aggregation   COH             195002630019                Gas           Gov. Aggregation
COH             108721120017                Gas           Gov. Aggregation   COH             197424480024                Gas           Gov. Aggregation
COH             108727230012                Gas           Gov. Aggregation   COH             197500080017                Gas           Gov. Aggregation
COH             108729810016                Gas           Gov. Aggregation   COH             198584700037                Gas           Gov. Aggregation
COH             108731050011                Gas           Gov. Aggregation   COH             198183260021                Gas           Gov. Aggregation
COH             108763820012                Gas           Gov. Aggregation   COH             204210960017                Gas           Gov. Aggregation
COH             108763880010                Gas           Gov. Aggregation   COH             164310080046                Gas           Gov. Aggregation
COH             191230500026                Gas           Gov. Aggregation   COH             195374140024                Gas           Gov. Aggregation
COH             191650350019                Gas           Gov. Aggregation   COH             196498610013                Gas           Gov. Aggregation
COH             162590460028                Gas           Gov. Aggregation   COH             203247410016                Gas           Gov. Aggregation
COH             163516470012                Gas           Gov. Aggregation   COH             202481920014                Gas           Gov. Aggregation
COH             108770950038                Gas           Gov. Aggregation   COH             203515470015                Gas           Gov. Aggregation
COH             108774200019                Gas           Gov. Aggregation   COH             191511020058                Gas           Gov. Aggregation
COH             192716310025                Gas           Gov. Aggregation   COH             174252800037                Gas           Gov. Aggregation
COH             192722770017                Gas           Gov. Aggregation   COH             167236160142                Gas           Gov. Aggregation
COH             166560940017                Gas           Gov. Aggregation   COH             203030730018                Gas           Gov. Aggregation
COH             165351260158                Gas           Gov. Aggregation   COH             200263990023                Gas           Gov. Aggregation
COH             165018000023                Gas           Gov. Aggregation   COH             200517710031                Gas           Gov. Aggregation
COH             165583630024                Gas           Gov. Aggregation   COH             176057540052                Gas           Gov. Aggregation
COH             166581530019                Gas           Gov. Aggregation   COH             204978890016                Gas           Gov. Aggregation
COH             163987480013                Gas           Gov. Aggregation   COH             196451410059                Gas           Gov. Aggregation
COH             165510530028                Gas           Gov. Aggregation   COH             201100510017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             167492330019                Gas           Gov. Aggregation   COH             199327160016                Gas           Gov. Aggregation
COH             167526910032                Gas           Gov. Aggregation   COH             199702500018                Gas           Gov. Aggregation
COH             168493630013                Gas           Gov. Aggregation   COH             203859330016                Gas           Gov. Aggregation
COH             194779010015                Gas           Gov. Aggregation   COH             169032140048                Gas           Gov. Aggregation
COH             167844390029                Gas           Gov. Aggregation   COH             166834890811                Gas           Gov. Aggregation
COH             195240940010                Gas           Gov. Aggregation   COH             171530030069                Gas           Gov. Aggregation
COH             166361810016                Gas           Gov. Aggregation   COH             202552540013                Gas           Gov. Aggregation
COH             166818690013                Gas           Gov. Aggregation   COH             202465790016                Gas           Gov. Aggregation
COH             194085190019                Gas           Gov. Aggregation   COH             171803450044                Gas           Gov. Aggregation
COH             168762540011                Gas           Gov. Aggregation   COH             175476470041                Gas           Gov. Aggregation
COH             170881280056                Gas           Gov. Aggregation   COH             193534270010                Gas           Gov. Aggregation
COH             171529910012                Gas           Gov. Aggregation   COH             193227730014                Gas           Gov. Aggregation
COH             194857960010                Gas           Gov. Aggregation   COH             190876850053                Gas           Gov. Aggregation
COH             195246900016                Gas           Gov. Aggregation   COH             202727880011                Gas           Gov. Aggregation
COH             195641670017                Gas           Gov. Aggregation   COH             203194340014                Gas           Gov. Aggregation
COH             195769630015                Gas           Gov. Aggregation   COH             201893940018                Gas           Gov. Aggregation
COH             172138990014                Gas           Gov. Aggregation   COH             194365510026                Gas           Gov. Aggregation
COH             172159220048                Gas           Gov. Aggregation   COH             201125370015                Gas           Gov. Aggregation
COH             173026110032                Gas           Gov. Aggregation   COH             160493400019                Gas           Gov. Aggregation
COH             173274410034                Gas           Gov. Aggregation   COH             172755050013                Gas           Gov. Aggregation
COH             170015160010                Gas           Gov. Aggregation   COH             200965510016                Gas           Gov. Aggregation
COH             172244730013                Gas           Gov. Aggregation   COH             139089690031                Gas           Gov. Aggregation
COH             173065530014                Gas           Gov. Aggregation   COH             164812140021                Gas           Gov. Aggregation
COH             170652550027                Gas           Gov. Aggregation   COH             188726990028                Gas           Gov. Aggregation
COH             171101770018                Gas           Gov. Aggregation   COH             144106980017                Gas           Gov. Aggregation
COH             172029530011                Gas           Gov. Aggregation   COH             176715570014                Gas           Gov. Aggregation
COH             196226490014                Gas           Gov. Aggregation   COH             205917870017                Gas           Gov. Aggregation
COH             175358060010                Gas           Gov. Aggregation   COH             206507390016                Gas           Gov. Aggregation
COH             195905460011                Gas           Gov. Aggregation   COH             175617580039                Gas           Gov. Aggregation
COH             195944340014                Gas           Gov. Aggregation   COH             201618330018                Gas           Gov. Aggregation
COH             196085960015                Gas           Gov. Aggregation   COH             198456570027                Gas           Gov. Aggregation
COH             174334770012                Gas           Gov. Aggregation   COH             173328280019                Gas           Gov. Aggregation
COH             196510130016                Gas           Gov. Aggregation   COH             161854860016                Gas           Gov. Aggregation
COH             173897580057                Gas           Gov. Aggregation   COH             195264880040                Gas           Gov. Aggregation
COH             175099660023                Gas           Gov. Aggregation   COH             135505850037                Gas           Gov. Aggregation
COH             175142220013                Gas           Gov. Aggregation   COH             160439900018                Gas           Gov. Aggregation
COH             109940270020                Gas           Gov. Aggregation   COH             191756280010                Gas           Gov. Aggregation
COH             110584630054                Gas           Gov. Aggregation   COH             171642090015                Gas           Gov. Aggregation
COH             110644070018                Gas           Gov. Aggregation   COH             176383030049                Gas           Gov. Aggregation
COH             196051470019                Gas           Gov. Aggregation   COH             124387410025                Gas           Gov. Aggregation
COH             172199400153                Gas           Gov. Aggregation   COH             162608380053                Gas           Gov. Aggregation
COH             173147770029                Gas           Gov. Aggregation   COH             122272080011                Gas           Gov. Aggregation
COH             196323290010                Gas           Gov. Aggregation   COH             122272150025                Gas           Gov. Aggregation
COH             110620010010                Gas           Gov. Aggregation   COH             122272150016                Gas           Gov. Aggregation
COH             110621420012                Gas           Gov. Aggregation   COH             167803700010                Gas           Gov. Aggregation
COH             111220520010                Gas           Gov. Aggregation   COH             201224370015                Gas           Gov. Aggregation
COH             111221440015                Gas           Gov. Aggregation   COH             206397380013                Gas           Gov. Aggregation
COH             111234870018                Gas           Gov. Aggregation   COH             205179800017                Gas           Gov. Aggregation
COH             111236930048                Gas           Gov. Aggregation   COH             155750790028                Gas           Gov. Aggregation
COH             176775000026                Gas           Gov. Aggregation   COH             201801280038                Gas           Gov. Aggregation
COH             177342890044                Gas           Gov. Aggregation   COH             208381340012                Gas           Gov. Aggregation
COH             177356210010                Gas           Gov. Aggregation   COH             201819680028                Gas           Gov. Aggregation
COH             111220750012                Gas           Gov. Aggregation   COH             207971600017                Gas           Gov. Aggregation
COH             176613380010                Gas           Gov. Aggregation   COH             203443280018                Gas           Gov. Aggregation
COH             177333100011                Gas           Gov. Aggregation   COH             208595480010                Gas           Gov. Aggregation
COH             177663340012                Gas           Gov. Aggregation   COH             208010330019                Gas           Gov. Aggregation
COH             177755140019                Gas           Gov. Aggregation   COH             207830730018                Gas           Gov. Aggregation
COH             185481580018                Gas           Gov. Aggregation   COH             207211770012                Gas           Gov. Aggregation
COH             177621450017                Gas           Gov. Aggregation   COH             207125080010                Gas           Gov. Aggregation
COH             177680780023                Gas           Gov. Aggregation   COH             200218810043                Gas           Gov. Aggregation
COH             186426500019                Gas           Gov. Aggregation   COH             208464230019                Gas           Gov. Aggregation
COH             187336880047                Gas           Gov. Aggregation   COH             166198610131                Gas           Gov. Aggregation
COH             187502560032                Gas           Gov. Aggregation   COH             205142780073                Gas           Gov. Aggregation
COH             188499490026                Gas           Gov. Aggregation   COH             208051030016                Gas           Gov. Aggregation
COH             188867190037                Gas           Gov. Aggregation   COH             204882220019                Gas           Gov. Aggregation
COH             187533060023                Gas           Gov. Aggregation   COH             207580470014                Gas           Gov. Aggregation
COH             188691250028                Gas           Gov. Aggregation   COH             207580430012                Gas           Gov. Aggregation
COH             188729930015                Gas           Gov. Aggregation   COH             146768820025                Gas           Gov. Aggregation
COH             188753390027                Gas           Gov. Aggregation   COH             194876930016                Gas           Gov. Aggregation
COH             189066910014                Gas           Gov. Aggregation   COH             205663800010                Gas           Gov. Aggregation
COH             188844450012                Gas           Gov. Aggregation   COH             201088730028                Gas           Gov. Aggregation
COH             189857100017                Gas           Gov. Aggregation   COH             206548520012                Gas           Gov. Aggregation
COH             190015210015                Gas           Gov. Aggregation   COH             206443280015                Gas           Gov. Aggregation
COH             190801470014                Gas           Gov. Aggregation   COH             207592400013                Gas           Gov. Aggregation
COH             191522800015                Gas           Gov. Aggregation   COH             207802130013                Gas           Gov. Aggregation
COH             190506480018                Gas           Gov. Aggregation   COH             200873070032                Gas           Gov. Aggregation
COH             190832600011                Gas           Gov. Aggregation   COH             208431280018                Gas           Gov. Aggregation
COH             191225010011                Gas           Gov. Aggregation   COH             207356920014                Gas           Gov. Aggregation
COH             191345750012                Gas           Gov. Aggregation   COH             208633240018                Gas           Gov. Aggregation
COH             192579690019                Gas           Gov. Aggregation   COH             207376120010                Gas           Gov. Aggregation
COH             192630040015                Gas           Gov. Aggregation   COH             207558570010                Gas           Gov. Aggregation
COH             192269350017                Gas           Gov. Aggregation   COH             207595950012                Gas           Gov. Aggregation
COH             192619180010                Gas           Gov. Aggregation   COH             207752120012                Gas           Gov. Aggregation
COH             191954930013                Gas           Gov. Aggregation   COH             185965560098                Gas           Gov. Aggregation
COH             191970240014                Gas           Gov. Aggregation   COH             205480170011                Gas           Gov. Aggregation
COH             192310820019                Gas           Gov. Aggregation   COH             116249980091                Gas           Gov. Aggregation
COH             193110360028                Gas           Gov. Aggregation   COH             165938540020                Gas           Gov. Aggregation
COH             194039190016                Gas           Gov. Aggregation   COH             165336590133                Gas           Gov. Aggregation
COH             194360920011                Gas           Gov. Aggregation   COH             207436130010                Gas           Gov. Aggregation
COH             193172900015                Gas           Gov. Aggregation   COH             114956710027                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             194224060010                Gas           Gov. Aggregation   COH             129640470155                Gas           Gov. Aggregation
COH             194595230019                Gas           Gov. Aggregation   COH             172345410043                Gas           Gov. Aggregation
COH             141251280083                Gas           Gov. Aggregation   COH             205431750012                Gas           Gov. Aggregation
COH             194064000012                Gas           Gov. Aggregation   COH             206239690012                Gas           Gov. Aggregation
COH             194377310014                Gas           Gov. Aggregation   COH             207500610012                Gas           Gov. Aggregation
COH             194529460010                Gas           Gov. Aggregation   COH             163723460033                Gas           Gov. Aggregation
COH             194845800018                Gas           Gov. Aggregation   COH             207278330014                Gas           Gov. Aggregation
COH             138884900031                Gas           Gov. Aggregation   COH             115004580021                Gas           Gov. Aggregation
COH             141436770015                Gas           Gov. Aggregation   COH             174461210038                Gas           Gov. Aggregation
COH             194888560019                Gas           Gov. Aggregation   COH             208173130017                Gas           Gov. Aggregation
COH             195168420013                Gas           Gov. Aggregation   COH             114899840068                Gas           Gov. Aggregation
COH             138742320015                Gas           Gov. Aggregation   COH             159965060246                Gas           Gov. Aggregation
COH             195102610011                Gas           Gov. Aggregation   COH             201100970039                Gas           Gov. Aggregation
COH             143377780017                Gas           Gov. Aggregation   COH             199163110050                Gas           Gov. Aggregation
COH             146612110050                Gas           Gov. Aggregation   COH             208083370018                Gas           Gov. Aggregation
COH             147083050500                Gas           Gov. Aggregation   COH             208372420014                Gas           Gov. Aggregation
COH             149052760175                Gas           Gov. Aggregation   COH             205081540028                Gas           Gov. Aggregation
COH             195424110014                Gas           Gov. Aggregation   COH             205426860029                Gas           Gov. Aggregation
COH             195983420015                Gas           Gov. Aggregation   COH             205755390012                Gas           Gov. Aggregation
COH             195142060013                Gas           Gov. Aggregation   COH             206627440011                Gas           Gov. Aggregation
COH             195808130016                Gas           Gov. Aggregation   COH             207359650015                Gas           Gov. Aggregation
COH             196315030011                Gas           Gov. Aggregation   COH             197896710026                Gas           Gov. Aggregation
COH             196482330015                Gas           Gov. Aggregation   COH             198851820026                Gas           Gov. Aggregation
COH             196525790017                Gas           Gov. Aggregation   COH             201095440042                Gas           Gov. Aggregation
COH             196503840012                Gas           Gov. Aggregation   COH             205470340016                Gas           Gov. Aggregation
COH             109098080689                Gas           Gov. Aggregation   COH             202269080020                Gas           Gov. Aggregation
COH             153581800062                Gas           Gov. Aggregation   COH             115023290022                Gas           Gov. Aggregation
COH             153959560035                Gas           Gov. Aggregation   COH             185248180034                Gas           Gov. Aggregation
COH             109098080750                Gas           Gov. Aggregation   COH             195195860023                Gas           Gov. Aggregation
COH             157724350050                Gas           Gov. Aggregation   COH             205988640016                Gas           Gov. Aggregation
COH             110191060011                Gas           Gov. Aggregation   COH             208076730017                Gas           Gov. Aggregation
COH             155101820017                Gas           Gov. Aggregation   COH             207700840010                Gas           Gov. Aggregation
COH             155899560013                Gas           Gov. Aggregation   COH             206176970017                Gas           Gov. Aggregation
COH             115318630025                Gas           Gov. Aggregation   COH             205831330012                Gas           Gov. Aggregation
COH             115333250014                Gas           Gov. Aggregation   COH             196898220026                Gas           Gov. Aggregation
COH             123655190015                Gas           Gov. Aggregation   COH             172170900041                Gas           Gov. Aggregation
COH             123662000019                Gas           Gov. Aggregation   COH             197331950031                Gas           Gov. Aggregation
COH             123668950018                Gas           Gov. Aggregation   COH             188244360022                Gas           Gov. Aggregation
COH             123671330011                Gas           Gov. Aggregation   COH             208236930015                Gas           Gov. Aggregation
COH             123671910028                Gas           Gov. Aggregation   COH             191777570024                Gas           Gov. Aggregation
COH             123721230015                Gas           Gov. Aggregation   COH             206150670014                Gas           Gov. Aggregation
COH             123723680035                Gas           Gov. Aggregation   COH             135841940054                Gas           Gov. Aggregation
COH             123727280031                Gas           Gov. Aggregation   COH             199113730028                Gas           Gov. Aggregation
COH             123948870020                Gas           Gov. Aggregation   COH             207098110012                Gas           Gov. Aggregation
COH             123949870028                Gas           Gov. Aggregation   COH             149210010041                Gas           Gov. Aggregation
COH             160043650047                Gas           Gov. Aggregation   COH             206813640014                Gas           Gov. Aggregation
COH             115415200010                Gas           Gov. Aggregation   COH             176093660088                Gas           Gov. Aggregation
COH             117161740023                Gas           Gov. Aggregation   COH             205454400017                Gas           Gov. Aggregation
COH             123624690033                Gas           Gov. Aggregation   COH             141016440032                Gas           Gov. Aggregation
COH             123636340022                Gas           Gov. Aggregation   COH             172152830026                Gas           Gov. Aggregation
COH             123637250010                Gas           Gov. Aggregation   COH             206034910019                Gas           Gov. Aggregation
COH             123638140048                Gas           Gov. Aggregation   COH             205873510301                Gas           Gov. Aggregation
COH             123692540022                Gas           Gov. Aggregation   COH             206273400010                Gas           Gov. Aggregation
COH             123694450027                Gas           Gov. Aggregation   COH             205943710033                Gas           Gov. Aggregation
COH             124024610012                Gas           Gov. Aggregation   COH             173998430036                Gas           Gov. Aggregation
COH             124044910026                Gas           Gov. Aggregation   COH             205656790018                Gas           Gov. Aggregation
COH             124047690018                Gas           Gov. Aggregation   COH             206519450018                Gas           Gov. Aggregation
COH             115336870018                Gas           Gov. Aggregation   COH             185096260030                Gas           Gov. Aggregation
COH             117306160027                Gas           Gov. Aggregation   COH             205817740016                Gas           Gov. Aggregation
COH             123661010019                Gas           Gov. Aggregation   COH             207098090017                Gas           Gov. Aggregation
COH             123662240019                Gas           Gov. Aggregation   COH             177277880081                Gas           Gov. Aggregation
COH             123663590014                Gas           Gov. Aggregation   COH             207712080015                Gas           Gov. Aggregation
COH             123677480027                Gas           Gov. Aggregation   COH             199391020047                Gas           Gov. Aggregation
COH             123727930034                Gas           Gov. Aggregation   COH             134910750094                Gas           Gov. Aggregation
COH             123735410027                Gas           Gov. Aggregation   COH             201846130017                Gas           Gov. Aggregation
COH             123738110015                Gas           Gov. Aggregation   COH             207662070014                Gas           Gov. Aggregation
COH             124127400018                Gas           Gov. Aggregation   COH             208381690019                Gas           Gov. Aggregation
COH             117971330022                Gas           Gov. Aggregation   COH             204246700016                Gas           Gov. Aggregation
COH             123711810014                Gas           Gov. Aggregation   COH             208633590015                Gas           Gov. Aggregation
COH             123715240016                Gas           Gov. Aggregation   COH             207595940014                Gas           Gov. Aggregation
COH             123730590057                Gas           Gov. Aggregation   COH             203061780031                Gas           Gov. Aggregation
COH             124019290039                Gas           Gov. Aggregation   COH             201669740033                Gas           Gov. Aggregation
COH             124020140019                Gas           Gov. Aggregation   COH             201936170027                Gas           Gov. Aggregation
COH             124054290026                Gas           Gov. Aggregation   COH             206097120013                Gas           Gov. Aggregation
COH             124116490022                Gas           Gov. Aggregation   COH             207831350016                Gas           Gov. Aggregation
COH             124124410012                Gas           Gov. Aggregation   COH             207258100014                Gas           Gov. Aggregation
COH             124205740039                Gas           Gov. Aggregation   COH             192062450069                Gas           Gov. Aggregation
COH             124207110028                Gas           Gov. Aggregation   COH             208230020018                Gas           Gov. Aggregation
COH             124121400010                Gas           Gov. Aggregation   COH             193051950020                Gas           Gov. Aggregation
COH             124219880040                Gas           Gov. Aggregation   COH             207736330012                Gas           Gov. Aggregation
COH             124224810025                Gas           Gov. Aggregation   COH             115023790027                Gas           Gov. Aggregation
COH             124125570017                Gas           Gov. Aggregation   COH             114956860017                Gas           Gov. Aggregation
COH             124470970030                Gas           Gov. Aggregation   COH             148356830024                Gas           Gov. Aggregation
COH             130544390028                Gas           Gov. Aggregation   COH             208481270015                Gas           Gov. Aggregation
COH             132460280027                Gas           Gov. Aggregation   COH             205590180025                Gas           Gov. Aggregation
COH             124246550024                Gas           Gov. Aggregation   COH             121811980046                Gas           Gov. Aggregation
COH             127184640024                Gas           Gov. Aggregation   COH             208636070018                Gas           Gov. Aggregation
COH             130475090037                Gas           Gov. Aggregation   COH             114956060015                Gas           Gov. Aggregation
COH             133824710014                Gas           Gov. Aggregation   COH             114936090057                Gas           Gov. Aggregation
COH             129107910018                Gas           Gov. Aggregation   COH             115015630027                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             131725790010                Gas           Gov. Aggregation   COH             206270840014                Gas           Gov. Aggregation
COH             132110020022                Gas           Gov. Aggregation   COH             202561000035                Gas           Gov. Aggregation
COH             134938590036                Gas           Gov. Aggregation   COH             208447480013                Gas           Gov. Aggregation
COH             136798220011                Gas           Gov. Aggregation   COH             194741920013                Gas           Gov. Aggregation
COH             131854750024                Gas           Gov. Aggregation   COH             208094700015                Gas           Gov. Aggregation
COH             133556820029                Gas           Gov. Aggregation   COH             199848810051                Gas           Gov. Aggregation
COH             133729790010                Gas           Gov. Aggregation   COH             201996930021                Gas           Gov. Aggregation
COH             135327790010                Gas           Gov. Aggregation   COH             205398400017                Gas           Gov. Aggregation
COH             136643830056                Gas           Gov. Aggregation   COH             160190130045                Gas           Gov. Aggregation
COH             136409610030                Gas           Gov. Aggregation   COH             207081770019                Gas           Gov. Aggregation
COH             137727030019                Gas           Gov. Aggregation   COH             207691740012                Gas           Gov. Aggregation
COH             137929100025                Gas           Gov. Aggregation   COH             207989640012                Gas           Gov. Aggregation
COH             139593770017                Gas           Gov. Aggregation   COH             115031190026                Gas           Gov. Aggregation
COH             144680740011                Gas           Gov. Aggregation   COH             203571930010                Gas           Gov. Aggregation
COH             134975560016                Gas           Gov. Aggregation   COH             163733180022                Gas           Gov. Aggregation
COH             135621640053                Gas           Gov. Aggregation   COH             167939630081                Gas           Gov. Aggregation
COH             138033660026                Gas           Gov. Aggregation   COH             158891500081                Gas           Gov. Aggregation
COH             138136250015                Gas           Gov. Aggregation   COH             201050450017                Gas           Gov. Aggregation
COH             138300310013                Gas           Gov. Aggregation   COH             206089390023                Gas           Gov. Aggregation
COH             140792120018                Gas           Gov. Aggregation   COH             206466780012                Gas           Gov. Aggregation
COH             141039220058                Gas           Gov. Aggregation   COH             206077250018                Gas           Gov. Aggregation
COH             142698670011                Gas           Gov. Aggregation   COH             202391880041                Gas           Gov. Aggregation
COH             143086960025                Gas           Gov. Aggregation   COH             150618700021                Gas           Gov. Aggregation
COH             137329110025                Gas           Gov. Aggregation   COH             200555010038                Gas           Gov. Aggregation
COH             139620710047                Gas           Gov. Aggregation   COH             140291580032                Gas           Gov. Aggregation
COH             140484460092                Gas           Gov. Aggregation   COH             206256930015                Gas           Gov. Aggregation
COH             141488570018                Gas           Gov. Aggregation   COH             140970350110                Gas           Gov. Aggregation
COH             141960770023                Gas           Gov. Aggregation   COH             205721090016                Gas           Gov. Aggregation
COH             144553380025                Gas           Gov. Aggregation   COH             197712040016                Gas           Gov. Aggregation
COH             147577500035                Gas           Gov. Aggregation   COH             198438050015                Gas           Gov. Aggregation
COH             147782800019                Gas           Gov. Aggregation   COH             207174030017                Gas           Gov. Aggregation
COH             147966390061                Gas           Gov. Aggregation   COH             206115570019                Gas           Gov. Aggregation
COH             151644260028                Gas           Gov. Aggregation   COH             206147460015                Gas           Gov. Aggregation
COH             145508870044                Gas           Gov. Aggregation   COH             163895750075                Gas           Gov. Aggregation
COH             146277130012                Gas           Gov. Aggregation   COH             208660430011                Gas           Gov. Aggregation
COH             148011010017                Gas           Gov. Aggregation   COH             208605410011                Gas           Gov. Aggregation
COH             146652290013                Gas           Gov. Aggregation   COH             207904920011                Gas           Gov. Aggregation
COH             152593300036                Gas           Gov. Aggregation   COH             207817340018                Gas           Gov. Aggregation
COH             152599890077                Gas           Gov. Aggregation   COH             197271760075                Gas           Gov. Aggregation
COH             148048560015                Gas           Gov. Aggregation   COH             164241690036                Gas           Gov. Aggregation
COH             151516090025                Gas           Gov. Aggregation   COH             208005490017                Gas           Gov. Aggregation
COH             151779180011                Gas           Gov. Aggregation   COH             204361380029                Gas           Gov. Aggregation
COH             152130520012                Gas           Gov. Aggregation   COH             173143850020                Gas           Gov. Aggregation
COH             153582580012                Gas           Gov. Aggregation   COH             122068280049                Gas           Gov. Aggregation
COH             155058650016                Gas           Gov. Aggregation   COH             206995930019                Gas           Gov. Aggregation
COH             154575980012                Gas           Gov. Aggregation   COH             188022490052                Gas           Gov. Aggregation
COH             156731210019                Gas           Gov. Aggregation   COH             205293830028                Gas           Gov. Aggregation
COH             157383250028                Gas           Gov. Aggregation   COH             202418820018                Gas           Gov. Aggregation
COH             153429640022                Gas           Gov. Aggregation   COH             208134200014                Gas           Gov. Aggregation
COH             156122290032                Gas           Gov. Aggregation   COH             193190780031                Gas           Gov. Aggregation
COH             157401990014                Gas           Gov. Aggregation   COH             175160040022                Gas           Gov. Aggregation
COH             157420240020                Gas           Gov. Aggregation   COH             201589100028                Gas           Gov. Aggregation
COH             159164960012                Gas           Gov. Aggregation   COH             208455970013                Gas           Gov. Aggregation
COH             154915420035                Gas           Gov. Aggregation   DEO             5180009596300               Gas           Gov. Aggregation
COH             156604380040                Gas           Gov. Aggregation   DEO             4180011917673               Gas           Gov. Aggregation
COH             157749480015                Gas           Gov. Aggregation   DEO             7180012178912               Gas           Gov. Aggregation
COH             159428880028                Gas           Gov. Aggregation   DEO             6180013005818               Gas           Gov. Aggregation
COH             160364730013                Gas           Gov. Aggregation   DEO             4180011818649               Gas           Gov. Aggregation
COH             163731590020                Gas           Gov. Aggregation   DEO             6180013757702               Gas           Gov. Aggregation
COH             159041440011                Gas           Gov. Aggregation   DEO             3180012340736               Gas           Gov. Aggregation
COH             159181360021                Gas           Gov. Aggregation   COH             130673600039                Gas           Gov. Aggregation
COH             160622220012                Gas           Gov. Aggregation   COH             198839540012                Gas           Gov. Aggregation
COH             159353920019                Gas           Gov. Aggregation   COH             164244980011                Gas           Gov. Aggregation
COH             165155190042                Gas           Gov. Aggregation   COH             158328400021                Gas           Gov. Aggregation
COH             165175580011                Gas           Gov. Aggregation   COH             135819550017                Gas           Gov. Aggregation
COH             166145670014                Gas           Gov. Aggregation   COH             194445040034                Gas           Gov. Aggregation
COH             169301400024                Gas           Gov. Aggregation   COH             123742280020                Gas           Gov. Aggregation
COH             172374760021                Gas           Gov. Aggregation   COH             123745610015                Gas           Gov. Aggregation
COH             166684600025                Gas           Gov. Aggregation   COH             123757290018                Gas           Gov. Aggregation
COH             168533080059                Gas           Gov. Aggregation   COH             123764780029                Gas           Gov. Aggregation
COH             171565940010                Gas           Gov. Aggregation   COH             197844310029                Gas           Gov. Aggregation
COH             175735000012                Gas           Gov. Aggregation   COH             198842920015                Gas           Gov. Aggregation
COH             176054770023                Gas           Gov. Aggregation   COH             123854760068                Gas           Gov. Aggregation
COH             187782550014                Gas           Gov. Aggregation   COH             175925140065                Gas           Gov. Aggregation
COH             189300980058                Gas           Gov. Aggregation   COH             176559050051                Gas           Gov. Aggregation
COH             189037000034                Gas           Gov. Aggregation   COH             186734960038                Gas           Gov. Aggregation
COH             185483750027                Gas           Gov. Aggregation   COH             177250490025                Gas           Gov. Aggregation
COH             188266690027                Gas           Gov. Aggregation   COH             170882940037                Gas           Gov. Aggregation
COH             191193400018                Gas           Gov. Aggregation   COH             151105400020                Gas           Gov. Aggregation
COH             191509170025                Gas           Gov. Aggregation   COH             189803170061                Gas           Gov. Aggregation
COH             193569500018                Gas           Gov. Aggregation   COH             175986380030                Gas           Gov. Aggregation
COH             193592480014                Gas           Gov. Aggregation   COH             175335050029                Gas           Gov. Aggregation
COH             192505890021                Gas           Gov. Aggregation   COH             193007470024                Gas           Gov. Aggregation
COH             193382570010                Gas           Gov. Aggregation   DEO             3500006749333               Gas           Gov. Aggregation
COH             193365980010                Gas           Gov. Aggregation   DEO             3500044449845               Gas           Gov. Aggregation
COH             193487190018                Gas           Gov. Aggregation   DEO             4500062708647               Gas           Gov. Aggregation
COH             193539280027                Gas           Gov. Aggregation   DEO             4500065997320               Gas           Gov. Aggregation
COH             196167620012                Gas           Gov. Aggregation   DEO             5180002184399               Gas           Gov. Aggregation
COH             195171760015                Gas           Gov. Aggregation   DEO             5180006326361               Gas           Gov. Aggregation
COH             195344370010                Gas           Gov. Aggregation   DEO             5500037113858               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             195857570011                Gas           Gov. Aggregation   DEO             5500066559768               Gas           Gov. Aggregation
COH             196066070012                Gas           Gov. Aggregation   DEO             6180004701655               Gas           Gov. Aggregation
COH             195138370017                Gas           Gov. Aggregation   COH             196226950017                Gas           Gov. Aggregation
COH             196397770014                Gas           Gov. Aggregation   COH             196231570016                Gas           Gov. Aggregation
COH             196034990016                Gas           Gov. Aggregation   COH             196200750013                Gas           Gov. Aggregation
COH             196438850019                Gas           Gov. Aggregation   COH             196881680016                Gas           Gov. Aggregation
COH             196526830016                Gas           Gov. Aggregation   COH             198182080012                Gas           Gov. Aggregation
COH             122669780022                Gas           Gov. Aggregation   COH             198055100016                Gas           Gov. Aggregation
COH             122922900028                Gas           Gov. Aggregation   COH             198197730032                Gas           Gov. Aggregation
COH             123798210018                Gas           Gov. Aggregation   COH             199060060013                Gas           Gov. Aggregation
COH             196427450016                Gas           Gov. Aggregation   COH             198583940011                Gas           Gov. Aggregation
COH             123117540011                Gas           Gov. Aggregation   COH             201131080013                Gas           Gov. Aggregation
COH             124625750046                Gas           Gov. Aggregation   COH             201326120020                Gas           Gov. Aggregation
COH             123743230028                Gas           Gov. Aggregation   COH             194706940013                Gas           Gov. Aggregation
COH             123750400018                Gas           Gov. Aggregation   COH             195157940035                Gas           Gov. Aggregation
COH             125802460013                Gas           Gov. Aggregation   COH             198580050014                Gas           Gov. Aggregation
COH             125865190018                Gas           Gov. Aggregation   COH             207363940015                Gas           Gov. Aggregation
COH             125873150019                Gas           Gov. Aggregation   COH             110394000022                Gas           Gov. Aggregation
COH             123751830016                Gas           Gov. Aggregation   COH             207879050019                Gas           Gov. Aggregation
COH             123757860045                Gas           Gov. Aggregation   COH             207402980013                Gas           Gov. Aggregation
COH             125116870049                Gas           Gov. Aggregation   COH             110299500029                Gas           Gov. Aggregation
COH             125723930012                Gas           Gov. Aggregation   COH             207915480011                Gas           Gov. Aggregation
COH             125776710035                Gas           Gov. Aggregation   COH             202162160056                Gas           Gov. Aggregation
COH             125777810014                Gas           Gov. Aggregation   COH             174474080011                Gas           Gov. Aggregation
COH             162959590029                Gas           Gov. Aggregation   COH             168752920012                Gas           Gov. Aggregation
COH             163503350023                Gas           Gov. Aggregation   COH             166453780652                Gas           Gov. Aggregation
COH             163590240103                Gas           Gov. Aggregation   COH             194740770017                Gas           Gov. Aggregation
COH             162830330025                Gas           Gov. Aggregation   COH             110973260011                Gas           Gov. Aggregation
COH             164458490048                Gas           Gov. Aggregation   COH             110973400011                Gas           Gov. Aggregation
COH             133745030024                Gas           Gov. Aggregation   COH             137680500056                Gas           Gov. Aggregation
COH             165060600019                Gas           Gov. Aggregation   COH             171582150038                Gas           Gov. Aggregation
COH             165656630029                Gas           Gov. Aggregation   COH             206715950017                Gas           Gov. Aggregation
COH             166396020019                Gas           Gov. Aggregation   COH             207463190011                Gas           Gov. Aggregation
COH             165750670021                Gas           Gov. Aggregation   COH             207022980019                Gas           Gov. Aggregation
COH             166407650021                Gas           Gov. Aggregation   COH             110353210015                Gas           Gov. Aggregation
COH             167276380035                Gas           Gov. Aggregation   COH             208179450018                Gas           Gov. Aggregation
COH             168881940033                Gas           Gov. Aggregation   COH             204741120018                Gas           Gov. Aggregation
COH             142031300047                Gas           Gov. Aggregation   COH             208410520011                Gas           Gov. Aggregation
COH             168232250015                Gas           Gov. Aggregation   COH             199234370019                Gas           Gov. Aggregation
COH             148302430076                Gas           Gov. Aggregation   COH             206931350015                Gas           Gov. Aggregation
COH             170318980034                Gas           Gov. Aggregation   COH             174602760079                Gas           Gov. Aggregation
COH             170772260097                Gas           Gov. Aggregation   COH             207941570017                Gas           Gov. Aggregation
COH             171166820011                Gas           Gov. Aggregation   COH             199356720026                Gas           Gov. Aggregation
COH             170042680023                Gas           Gov. Aggregation   COH             207821980015                Gas           Gov. Aggregation
COH             172504110011                Gas           Gov. Aggregation   COH             207252620017                Gas           Gov. Aggregation
COH             172572420013                Gas           Gov. Aggregation   COH             198273870031                Gas           Gov. Aggregation
COH             157788420015                Gas           Gov. Aggregation   COH             207371130018                Gas           Gov. Aggregation
COH             170785900068                Gas           Gov. Aggregation   COH             206724050017                Gas           Gov. Aggregation
COH             170795260026                Gas           Gov. Aggregation   COH             206812500015                Gas           Gov. Aggregation
COH             172208000012                Gas           Gov. Aggregation   COH             187535100020                Gas           Gov. Aggregation
COH             155584020031                Gas           Gov. Aggregation   COH             206892920019                Gas           Gov. Aggregation
COH             173751790033                Gas           Gov. Aggregation   COH             156929920011                Gas           Gov. Aggregation
COH             162621120013                Gas           Gov. Aggregation   COH             206610260014                Gas           Gov. Aggregation
COH             162845690010                Gas           Gov. Aggregation   COH             204955490036                Gas           Gov. Aggregation
COH             162998630019                Gas           Gov. Aggregation   COH             207507040018                Gas           Gov. Aggregation
COH             163107850019                Gas           Gov. Aggregation   COH             189243520010                Gas           Gov. Aggregation
COH             174501010025                Gas           Gov. Aggregation   COH             199559150053                Gas           Gov. Aggregation
COH             162167440038                Gas           Gov. Aggregation   COH             202394280032                Gas           Gov. Aggregation
COH             162616760029                Gas           Gov. Aggregation   COH             207337640013                Gas           Gov. Aggregation
COH             163186970018                Gas           Gov. Aggregation   COH             207272020011                Gas           Gov. Aggregation
COH             163148610013                Gas           Gov. Aggregation   COH             207806660014                Gas           Gov. Aggregation
COH             163227090015                Gas           Gov. Aggregation   COH             206940990012                Gas           Gov. Aggregation
COH             175350980059                Gas           Gov. Aggregation   COH             152949670034                Gas           Gov. Aggregation
COH             163262060044                Gas           Gov. Aggregation   COH             207461160011                Gas           Gov. Aggregation
COH             163279240283                Gas           Gov. Aggregation   COH             207358770012                Gas           Gov. Aggregation
COH             163281760056                Gas           Gov. Aggregation   COH             206613290012                Gas           Gov. Aggregation
COH             163515130015                Gas           Gov. Aggregation   COH             170379370043                Gas           Gov. Aggregation
COH             163602290035                Gas           Gov. Aggregation   COH             204323060017                Gas           Gov. Aggregation
COH             163778980057                Gas           Gov. Aggregation   COH             201774520027                Gas           Gov. Aggregation
COH             175020450013                Gas           Gov. Aggregation   COH             201774520018                Gas           Gov. Aggregation
COH             176214720014                Gas           Gov. Aggregation   COH             145922940041                Gas           Gov. Aggregation
COH             165011060025                Gas           Gov. Aggregation   COH             206025840013                Gas           Gov. Aggregation
COH             175228170067                Gas           Gov. Aggregation   COH             193972380028                Gas           Gov. Aggregation
COH             164183560055                Gas           Gov. Aggregation   COH             154270160118                Gas           Gov. Aggregation
COH             164565810025                Gas           Gov. Aggregation   COH             154270160136                Gas           Gov. Aggregation
COH             165436980013                Gas           Gov. Aggregation   COH             186848140020                Gas           Gov. Aggregation
COH             165117710015                Gas           Gov. Aggregation   COH             186848140066                Gas           Gov. Aggregation
COH             165157050010                Gas           Gov. Aggregation   COH             192635460017                Gas           Gov. Aggregation
COH             165162070015                Gas           Gov. Aggregation   COH             202810070014                Gas           Gov. Aggregation
COH             165167890013                Gas           Gov. Aggregation   COH             201349480018                Gas           Gov. Aggregation
COH             165561920038                Gas           Gov. Aggregation   COH             122380380028                Gas           Gov. Aggregation
COH             165427290044                Gas           Gov. Aggregation   COH             198400540011                Gas           Gov. Aggregation
COH             166021020012                Gas           Gov. Aggregation   COH             198751160018                Gas           Gov. Aggregation
COH             177736470092                Gas           Gov. Aggregation   COH             198575300012                Gas           Gov. Aggregation
COH             165610890012                Gas           Gov. Aggregation   COH             197568110018                Gas           Gov. Aggregation
COH             165824540012                Gas           Gov. Aggregation   COH             195944350021                Gas           Gov. Aggregation
COH             166818260013                Gas           Gov. Aggregation   COH             198944710013                Gas           Gov. Aggregation
COH             167518930026                Gas           Gov. Aggregation   COH             198714940012                Gas           Gov. Aggregation
COH             166131200011                Gas           Gov. Aggregation   COH             165107240024                Gas           Gov. Aggregation
COH             166609680018                Gas           Gov. Aggregation   COH             125782350038                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             166782790046                Gas           Gov. Aggregation   COH             125864240019                Gas           Gov. Aggregation
COH             185921360038                Gas           Gov. Aggregation   COH             125836960017                Gas           Gov. Aggregation
COH             186248220016                Gas           Gov. Aggregation   COH             162866600014                Gas           Gov. Aggregation
COH             167294420010                Gas           Gov. Aggregation   COH             122655190025                Gas           Gov. Aggregation
COH             167816130031                Gas           Gov. Aggregation   COH             125873500015                Gas           Gov. Aggregation
COH             167888340018                Gas           Gov. Aggregation   COH             125803370010                Gas           Gov. Aggregation
COH             168363120033                Gas           Gov. Aggregation   COH             153387600020                Gas           Gov. Aggregation
COH             186774990029                Gas           Gov. Aggregation   COH             125779680018                Gas           Gov. Aggregation
COH             186849610038                Gas           Gov. Aggregation   COH             125843070019                Gas           Gov. Aggregation
COH             167956960013                Gas           Gov. Aggregation   COH             122896260011                Gas           Gov. Aggregation
COH             187300930023                Gas           Gov. Aggregation   COH             125786650019                Gas           Gov. Aggregation
COH             168783520011                Gas           Gov. Aggregation   COH             197798940017                Gas           Gov. Aggregation
COH             169136860010                Gas           Gov. Aggregation   COH             196299870011                Gas           Gov. Aggregation
COH             169388100025                Gas           Gov. Aggregation   COH             198392600017                Gas           Gov. Aggregation
COH             169598390020                Gas           Gov. Aggregation   COH             168038580018                Gas           Gov. Aggregation
COH             168861070047                Gas           Gov. Aggregation   COH             197994800010                Gas           Gov. Aggregation
COH             169402980029                Gas           Gov. Aggregation   COH             170952740030                Gas           Gov. Aggregation
COH             169210580011                Gas           Gov. Aggregation   COH             196636380018                Gas           Gov. Aggregation
COH             169247010013                Gas           Gov. Aggregation   COH             199455200016                Gas           Gov. Aggregation
COH             187508790069                Gas           Gov. Aggregation   COH             197738840014                Gas           Gov. Aggregation
COH             168963370039                Gas           Gov. Aggregation   COH             187706620028                Gas           Gov. Aggregation
COH             169221010017                Gas           Gov. Aggregation   COH             196545280012                Gas           Gov. Aggregation
COH             169594420058                Gas           Gov. Aggregation   COH             125723520018                Gas           Gov. Aggregation
COH             169689060044                Gas           Gov. Aggregation   COH             198421600014                Gas           Gov. Aggregation
COH             170093670019                Gas           Gov. Aggregation   COH             126674880053                Gas           Gov. Aggregation
COH             170116690024                Gas           Gov. Aggregation   COH             125789110025                Gas           Gov. Aggregation
COH             170142560044                Gas           Gov. Aggregation   COH             199641790018                Gas           Gov. Aggregation
COH             170388350011                Gas           Gov. Aggregation   COH             185023020024                Gas           Gov. Aggregation
COH             170310770016                Gas           Gov. Aggregation   COH             164195020062                Gas           Gov. Aggregation
COH             188440750033                Gas           Gov. Aggregation   COH             125809960014                Gas           Gov. Aggregation
COH             188552710016                Gas           Gov. Aggregation   COH             197087620020                Gas           Gov. Aggregation
COH             169960190041                Gas           Gov. Aggregation   COH             192759960010                Gas           Gov. Aggregation
COH             188393610015                Gas           Gov. Aggregation   COH             125732930031                Gas           Gov. Aggregation
COH             170740100015                Gas           Gov. Aggregation   COH             189469020017                Gas           Gov. Aggregation
COH             187964960012                Gas           Gov. Aggregation   COH             199305910014                Gas           Gov. Aggregation
COH             169876370015                Gas           Gov. Aggregation   COH             126938580074                Gas           Gov. Aggregation
COH             170493090013                Gas           Gov. Aggregation   COH             140451480024                Gas           Gov. Aggregation
COH             171203360027                Gas           Gov. Aggregation   COH             199683040017                Gas           Gov. Aggregation
COH             189443610017                Gas           Gov. Aggregation   COH             174802210016                Gas           Gov. Aggregation
COH             172412830015                Gas           Gov. Aggregation   COH             122683310039                Gas           Gov. Aggregation
COH             189031240018                Gas           Gov. Aggregation   COH             198239390016                Gas           Gov. Aggregation
COH             171709510014                Gas           Gov. Aggregation   COH             161280450055                Gas           Gov. Aggregation
COH             171720750010                Gas           Gov. Aggregation   COH             190938860031                Gas           Gov. Aggregation
COH             171747790016                Gas           Gov. Aggregation   COH             198641400010                Gas           Gov. Aggregation
COH             172822620029                Gas           Gov. Aggregation   COH             125779370022                Gas           Gov. Aggregation
COH             171850000021                Gas           Gov. Aggregation   COH             199386810015                Gas           Gov. Aggregation
COH             171893990024                Gas           Gov. Aggregation   COH             194487820014                Gas           Gov. Aggregation
COH             189310240034                Gas           Gov. Aggregation   COH             195299480014                Gas           Gov. Aggregation
COH             189700470020                Gas           Gov. Aggregation   COH             122359700070                Gas           Gov. Aggregation
COH             190087170077                Gas           Gov. Aggregation   COH             196210390018                Gas           Gov. Aggregation
COH             191066610013                Gas           Gov. Aggregation   COH             133572170022                Gas           Gov. Aggregation
COH             173420660013                Gas           Gov. Aggregation   COH             192069200012                Gas           Gov. Aggregation
COH             191572120013                Gas           Gov. Aggregation   COH             169137330019                Gas           Gov. Aggregation
COH             174974640013                Gas           Gov. Aggregation   COH             193942340010                Gas           Gov. Aggregation
COH             192178730029                Gas           Gov. Aggregation   COH             131303740032                Gas           Gov. Aggregation
COH             175296770022                Gas           Gov. Aggregation   COH             149303540016                Gas           Gov. Aggregation
COH             175234440012                Gas           Gov. Aggregation   COH             195329130012                Gas           Gov. Aggregation
COH             175265910018                Gas           Gov. Aggregation   COH             125772500019                Gas           Gov. Aggregation
COH             175911330019                Gas           Gov. Aggregation   COH             195952980040                Gas           Gov. Aggregation
COH             192448400016                Gas           Gov. Aggregation   COH             185566920025                Gas           Gov. Aggregation
COH             175011850027                Gas           Gov. Aggregation   COH             151208520036                Gas           Gov. Aggregation
COH             175021480015                Gas           Gov. Aggregation   COH             163788690011                Gas           Gov. Aggregation
COH             175265960018                Gas           Gov. Aggregation   COH             196220850010                Gas           Gov. Aggregation
COH             177116180015                Gas           Gov. Aggregation   COH             125825320210                Gas           Gov. Aggregation
COH             176126410016                Gas           Gov. Aggregation   COH             159107980027                Gas           Gov. Aggregation
COH             176154080017                Gas           Gov. Aggregation   COH             194680410029                Gas           Gov. Aggregation
COH             192888990011                Gas           Gov. Aggregation   COH             123900800060                Gas           Gov. Aggregation
COH             177131570011                Gas           Gov. Aggregation   COH             194772390010                Gas           Gov. Aggregation
COH             192256530025                Gas           Gov. Aggregation   COH             193137790022                Gas           Gov. Aggregation
COH             192541950022                Gas           Gov. Aggregation   COH             154069720019                Gas           Gov. Aggregation
COH             192755950010                Gas           Gov. Aggregation   COH             168294080039                Gas           Gov. Aggregation
COH             192785880012                Gas           Gov. Aggregation   COH             199742000019                Gas           Gov. Aggregation
COH             192988290025                Gas           Gov. Aggregation   COH             199146680011                Gas           Gov. Aggregation
COH             193569460017                Gas           Gov. Aggregation   COH             194600210010                Gas           Gov. Aggregation
COH             177786910021                Gas           Gov. Aggregation   COH             192764290010                Gas           Gov. Aggregation
COH             177259120024                Gas           Gov. Aggregation   COH             152158050031                Gas           Gov. Aggregation
COH             177429610011                Gas           Gov. Aggregation   COH             146519630040                Gas           Gov. Aggregation
COH             193059800016                Gas           Gov. Aggregation   COH             193952500015                Gas           Gov. Aggregation
COH             186322790019                Gas           Gov. Aggregation   COH             193334250018                Gas           Gov. Aggregation
COH             194387130011                Gas           Gov. Aggregation   COH             148456390025                Gas           Gov. Aggregation
COH             193806910018                Gas           Gov. Aggregation   COH             192257010013                Gas           Gov. Aggregation
COH             193819950013                Gas           Gov. Aggregation   COH             194918160018                Gas           Gov. Aggregation
COH             194144380022                Gas           Gov. Aggregation   COH             195187890015                Gas           Gov. Aggregation
COH             186730780025                Gas           Gov. Aggregation   COH             193566290019                Gas           Gov. Aggregation
COH             186372130012                Gas           Gov. Aggregation   COH             159764440064                Gas           Gov. Aggregation
COH             186377170023                Gas           Gov. Aggregation   COH             161835310093                Gas           Gov. Aggregation
COH             194234990014                Gas           Gov. Aggregation   COH             163053080034                Gas           Gov. Aggregation
COH             187002460024                Gas           Gov. Aggregation   COH             188378510045                Gas           Gov. Aggregation
COH             187269980012                Gas           Gov. Aggregation   COH             148106700039                Gas           Gov. Aggregation
COH             187349590014                Gas           Gov. Aggregation   COH             146843440052                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             194842500035                Gas           Gov. Aggregation   COH             114694850015                Gas           Gov. Aggregation
COH             186821780022                Gas           Gov. Aggregation   COH             114694950014                Gas           Gov. Aggregation
COH             194815490017                Gas           Gov. Aggregation   COH             136960360017                Gas           Gov. Aggregation
COH             194893460019                Gas           Gov. Aggregation   COH             117491700022                Gas           Gov. Aggregation
COH             187653230014                Gas           Gov. Aggregation   COH             117640440039                Gas           Gov. Aggregation
COH             195264170012                Gas           Gov. Aggregation   COH             199298670012                Gas           Gov. Aggregation
COH             195048710016                Gas           Gov. Aggregation   COH             199253070012                Gas           Gov. Aggregation
COH             194919980014                Gas           Gov. Aggregation   COH             198729250025                Gas           Gov. Aggregation
COH             187488760014                Gas           Gov. Aggregation   COH             198575130018                Gas           Gov. Aggregation
COH             188023640021                Gas           Gov. Aggregation   COH             165182560029                Gas           Gov. Aggregation
COH             187786400017                Gas           Gov. Aggregation   COH             124322340026                Gas           Gov. Aggregation
COH             187787750030                Gas           Gov. Aggregation   COH             195668070017                Gas           Gov. Aggregation
COH             188363120039                Gas           Gov. Aggregation   COH             198813170014                Gas           Gov. Aggregation
COH             188336600026                Gas           Gov. Aggregation   COH             198516260015                Gas           Gov. Aggregation
COH             188354730030                Gas           Gov. Aggregation   COH             196235880013                Gas           Gov. Aggregation
COH             195612200016                Gas           Gov. Aggregation   COH             194730570029                Gas           Gov. Aggregation
COH             195634830027                Gas           Gov. Aggregation   COH             189605590027                Gas           Gov. Aggregation
COH             189451270012                Gas           Gov. Aggregation   COH             185965700034                Gas           Gov. Aggregation
COH             195574740015                Gas           Gov. Aggregation   COH             185734720039                Gas           Gov. Aggregation
COH             189523810015                Gas           Gov. Aggregation   COH             164680600043                Gas           Gov. Aggregation
COH             189688210040                Gas           Gov. Aggregation   COH             170389200029                Gas           Gov. Aggregation
COH             189805260013                Gas           Gov. Aggregation   COH             170730230019                Gas           Gov. Aggregation
COH             189871850010                Gas           Gov. Aggregation   COH             199454480010                Gas           Gov. Aggregation
COH             189890760019                Gas           Gov. Aggregation   COH             197956110015                Gas           Gov. Aggregation
COH             160747540011                Gas           Gov. Aggregation   COH             198796290017                Gas           Gov. Aggregation
COH             160842620012                Gas           Gov. Aggregation   COH             188592550016                Gas           Gov. Aggregation
COH             162240530042                Gas           Gov. Aggregation   COH             156837250026                Gas           Gov. Aggregation
COH             189765070019                Gas           Gov. Aggregation   COH             159097130037                Gas           Gov. Aggregation
COH             195619090016                Gas           Gov. Aggregation   COH             192100560046                Gas           Gov. Aggregation
COH             195622570018                Gas           Gov. Aggregation   COH             198807500017                Gas           Gov. Aggregation
COH             195702100016                Gas           Gov. Aggregation   COH             198281790013                Gas           Gov. Aggregation
COH             195765120010                Gas           Gov. Aggregation   COH             199225270019                Gas           Gov. Aggregation
COH             195788160014                Gas           Gov. Aggregation   COH             196953930029                Gas           Gov. Aggregation
COH             188895460013                Gas           Gov. Aggregation   COH             196504630014                Gas           Gov. Aggregation
COH             189243810019                Gas           Gov. Aggregation   COH             195960940041                Gas           Gov. Aggregation
COH             195913510013                Gas           Gov. Aggregation   COH             195739300017                Gas           Gov. Aggregation
COH             195981920014                Gas           Gov. Aggregation   COH             168883480027                Gas           Gov. Aggregation
COH             189833520019                Gas           Gov. Aggregation   COH             198968760013                Gas           Gov. Aggregation
COH             190315120018                Gas           Gov. Aggregation   COH             125230870029                Gas           Gov. Aggregation
COH             190394650011                Gas           Gov. Aggregation   COH             196985370011                Gas           Gov. Aggregation
COH             196067620014                Gas           Gov. Aggregation   COH             198678910016                Gas           Gov. Aggregation
COH             190714120021                Gas           Gov. Aggregation   COH             186172930045                Gas           Gov. Aggregation
COH             196075410011                Gas           Gov. Aggregation   COH             189930770020                Gas           Gov. Aggregation
COH             196148200010                Gas           Gov. Aggregation   COH             198049840014                Gas           Gov. Aggregation
COH             196216700010                Gas           Gov. Aggregation   COH             196375580010                Gas           Gov. Aggregation
COH             161493030016                Gas           Gov. Aggregation   COH             168503780028                Gas           Gov. Aggregation
COH             189934260010                Gas           Gov. Aggregation   COH             195882390016                Gas           Gov. Aggregation
COH             195912300019                Gas           Gov. Aggregation   COH             197174040018                Gas           Gov. Aggregation
COH             195916840018                Gas           Gov. Aggregation   COH             124860560048                Gas           Gov. Aggregation
COH             190433480013                Gas           Gov. Aggregation   COH             195891150017                Gas           Gov. Aggregation
COH             190917160014                Gas           Gov. Aggregation   COH             190404000023                Gas           Gov. Aggregation
COH             190969460021                Gas           Gov. Aggregation   COH             129706780016                Gas           Gov. Aggregation
COH             190969580017                Gas           Gov. Aggregation   COH             195734860010                Gas           Gov. Aggregation
COH             196286970017                Gas           Gov. Aggregation   COH             175794390017                Gas           Gov. Aggregation
COH             196358210013                Gas           Gov. Aggregation   COH             151602470013                Gas           Gov. Aggregation
COH             191174060010                Gas           Gov. Aggregation   COH             197911870010                Gas           Gov. Aggregation
COH             196382740011                Gas           Gov. Aggregation   COH             199402610011                Gas           Gov. Aggregation
COH             196395570010                Gas           Gov. Aggregation   COH             188932430055                Gas           Gov. Aggregation
COH             191680290019                Gas           Gov. Aggregation   COH             198645050016                Gas           Gov. Aggregation
COH             191784310023                Gas           Gov. Aggregation   COH             196235940010                Gas           Gov. Aggregation
COH             196574200017                Gas           Gov. Aggregation   COH             197912050010                Gas           Gov. Aggregation
COH             196412640017                Gas           Gov. Aggregation   COH             199345560014                Gas           Gov. Aggregation
COH             191844030015                Gas           Gov. Aggregation   COH             165542810013                Gas           Gov. Aggregation
COH             191809050015                Gas           Gov. Aggregation   COH             155890200016                Gas           Gov. Aggregation
COH             191865120012                Gas           Gov. Aggregation   COH             198298350010                Gas           Gov. Aggregation
COH             192131290655                Gas           Gov. Aggregation   COH             199636680012                Gas           Gov. Aggregation
COH             192255120014                Gas           Gov. Aggregation   COH             159238280018                Gas           Gov. Aggregation
COH             192148890029                Gas           Gov. Aggregation   COH             164614620039                Gas           Gov. Aggregation
COH             192298960018                Gas           Gov. Aggregation   COH             155108300030                Gas           Gov. Aggregation
COH             192372260017                Gas           Gov. Aggregation   COH             197624100010                Gas           Gov. Aggregation
COH             192707540035                Gas           Gov. Aggregation   COH             198529630010                Gas           Gov. Aggregation
COH             192619460011                Gas           Gov. Aggregation   COH             132600710037                Gas           Gov. Aggregation
COH             192809730011                Gas           Gov. Aggregation   COH             194274930021                Gas           Gov. Aggregation
COH             192822600010                Gas           Gov. Aggregation   COH             169676390015                Gas           Gov. Aggregation
COH             192888590015                Gas           Gov. Aggregation   COH             198712060011                Gas           Gov. Aggregation
COH             196510420015                Gas           Gov. Aggregation   COH             198712060039                Gas           Gov. Aggregation
COH             192568890010                Gas           Gov. Aggregation   COH             198294640017                Gas           Gov. Aggregation
COH             112217690039                Gas           Gov. Aggregation   COH             197494670018                Gas           Gov. Aggregation
COH             112222320017                Gas           Gov. Aggregation   COH             195716920024                Gas           Gov. Aggregation
COH             193170270012                Gas           Gov. Aggregation   COH             197111650012                Gas           Gov. Aggregation
COH             196561130019                Gas           Gov. Aggregation   COH             165438010049                Gas           Gov. Aggregation
COH             112294650017                Gas           Gov. Aggregation   COH             124390720023                Gas           Gov. Aggregation
COH             193375380024                Gas           Gov. Aggregation   COH             199135630014                Gas           Gov. Aggregation
COH             193702410013                Gas           Gov. Aggregation   COH             198751850013                Gas           Gov. Aggregation
COH             193663180016                Gas           Gov. Aggregation   COH             197230950017                Gas           Gov. Aggregation
COH             194273180012                Gas           Gov. Aggregation   COH             124325880045                Gas           Gov. Aggregation
COH             193495320013                Gas           Gov. Aggregation   COH             122087930024                Gas           Gov. Aggregation
COH             193583640019                Gas           Gov. Aggregation   COH             144430710025                Gas           Gov. Aggregation
COH             193733580013                Gas           Gov. Aggregation   COH             195765770014                Gas           Gov. Aggregation
COH             194427430012                Gas           Gov. Aggregation   COH             195921420015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             194260480016                Gas           Gov. Aggregation   COH             187415240016                Gas           Gov. Aggregation
COH             194053930010                Gas           Gov. Aggregation   COH             168618870035                Gas           Gov. Aggregation
COH             194189400363                Gas           Gov. Aggregation   COH             199299790015                Gas           Gov. Aggregation
COH             194711030013                Gas           Gov. Aggregation   COH             196943950017                Gas           Gov. Aggregation
COH             194780430014                Gas           Gov. Aggregation   COH             196309250018                Gas           Gov. Aggregation
COH             194989790017                Gas           Gov. Aggregation   COH             148983490045                Gas           Gov. Aggregation
COH             195000050015                Gas           Gov. Aggregation   COH             143071050036                Gas           Gov. Aggregation
COH             195025050013                Gas           Gov. Aggregation   COH             197241370016                Gas           Gov. Aggregation
COH             194825540015                Gas           Gov. Aggregation   COH             196967640012                Gas           Gov. Aggregation
COH             194874700018                Gas           Gov. Aggregation   COH             195272240029                Gas           Gov. Aggregation
COH             194919820017                Gas           Gov. Aggregation   COH             196178820017                Gas           Gov. Aggregation
COH             194933540016                Gas           Gov. Aggregation   COH             162682030023                Gas           Gov. Aggregation
COH             195101220015                Gas           Gov. Aggregation   COH             160986180039                Gas           Gov. Aggregation
COH             194792970016                Gas           Gov. Aggregation   COH             196066320019                Gas           Gov. Aggregation
COH             194903060010                Gas           Gov. Aggregation   COH             199373970019                Gas           Gov. Aggregation
COH             194966590017                Gas           Gov. Aggregation   COH             196947900019                Gas           Gov. Aggregation
COH             195108780014                Gas           Gov. Aggregation   COH             195346800024                Gas           Gov. Aggregation
COH             113454580020                Gas           Gov. Aggregation   COH             150009520066                Gas           Gov. Aggregation
COH             195420280017                Gas           Gov. Aggregation   COH             176569690029                Gas           Gov. Aggregation
COH             195440340012                Gas           Gov. Aggregation   COH             196242940015                Gas           Gov. Aggregation
COH             195419980013                Gas           Gov. Aggregation   COH             196220300015                Gas           Gov. Aggregation
COH             195532950019                Gas           Gov. Aggregation   COH             168290590021                Gas           Gov. Aggregation
COH             195488330014                Gas           Gov. Aggregation   COH             196659450015                Gas           Gov. Aggregation
COH             195491370019                Gas           Gov. Aggregation   COH             199852460010                Gas           Gov. Aggregation
COH             195341570014                Gas           Gov. Aggregation   COH             196535680019                Gas           Gov. Aggregation
COH             195716170013                Gas           Gov. Aggregation   COH             197679150015                Gas           Gov. Aggregation
COH             195673400016                Gas           Gov. Aggregation   COH             197380450015                Gas           Gov. Aggregation
COH             195700760012                Gas           Gov. Aggregation   COH             199465410011                Gas           Gov. Aggregation
COH             195851020018                Gas           Gov. Aggregation   COH             198253500012                Gas           Gov. Aggregation
COH             195939660018                Gas           Gov. Aggregation   DEO             0180000136515               Gas           Gov. Aggregation
COH             195979740017                Gas           Gov. Aggregation   DEO             0180000175559               Gas           Gov. Aggregation
COH             196086150013                Gas           Gov. Aggregation   DEO             0180000604514               Gas           Gov. Aggregation
COH             196185350011                Gas           Gov. Aggregation   DEO             0180000658005               Gas           Gov. Aggregation
COH             196420590011                Gas           Gov. Aggregation   COH             124498140018                Gas           Gov. Aggregation
COH             196095660017                Gas           Gov. Aggregation   COH             120459640019                Gas           Gov. Aggregation
COH             196140090010                Gas           Gov. Aggregation   COH             200482230019                Gas           Gov. Aggregation
COH             196234980014                Gas           Gov. Aggregation   COH             197772210014                Gas           Gov. Aggregation
COH             196337670011                Gas           Gov. Aggregation   COH             140638210015                Gas           Gov. Aggregation
COH             196388960013                Gas           Gov. Aggregation   COH             199059880050                Gas           Gov. Aggregation
COH             196397050015                Gas           Gov. Aggregation   COH             127469880486                Gas           Gov. Aggregation
COH             196560650012                Gas           Gov. Aggregation   COH             200704090017                Gas           Gov. Aggregation
COH             196572180016                Gas           Gov. Aggregation   COH             200684600013                Gas           Gov. Aggregation
COH             196172070017                Gas           Gov. Aggregation   COH             199692820014                Gas           Gov. Aggregation
COH             196585570017                Gas           Gov. Aggregation   COH             173954070025                Gas           Gov. Aggregation
COH             196603040018                Gas           Gov. Aggregation   COH             177766700036                Gas           Gov. Aggregation
COH             109780980021                Gas           Gov. Aggregation   COH             198349580013                Gas           Gov. Aggregation
COH             114682220012                Gas           Gov. Aggregation   COH             198350240011                Gas           Gov. Aggregation
COH             115595700033                Gas           Gov. Aggregation   COH             111177760068                Gas           Gov. Aggregation
COH             116871760025                Gas           Gov. Aggregation   COH             195764570018                Gas           Gov. Aggregation
COH             116872920029                Gas           Gov. Aggregation   COH             196813050039                Gas           Gov. Aggregation
COH             114975100034                Gas           Gov. Aggregation   COH             196574020015                Gas           Gov. Aggregation
COH             117193360026                Gas           Gov. Aggregation   COH             192886780046                Gas           Gov. Aggregation
COH             117154450038                Gas           Gov. Aggregation   COH             199111850018                Gas           Gov. Aggregation
COH             117296840018                Gas           Gov. Aggregation   COH             197747350018                Gas           Gov. Aggregation
COH             117309310010                Gas           Gov. Aggregation   COH             198009350011                Gas           Gov. Aggregation
COH             117335380020                Gas           Gov. Aggregation   COH             195967880013                Gas           Gov. Aggregation
COH             116973950029                Gas           Gov. Aggregation   COH             193855070012                Gas           Gov. Aggregation
COH             117090150037                Gas           Gov. Aggregation   COH             198309920015                Gas           Gov. Aggregation
COH             117292950013                Gas           Gov. Aggregation   COH             191042450026                Gas           Gov. Aggregation
COH             117293110017                Gas           Gov. Aggregation   COH             166156300027                Gas           Gov. Aggregation
COH             117304900016                Gas           Gov. Aggregation   COH             174214540032                Gas           Gov. Aggregation
COH             117332680014                Gas           Gov. Aggregation   COH             198602720015                Gas           Gov. Aggregation
COH             117335120015                Gas           Gov. Aggregation   COH             177164240011                Gas           Gov. Aggregation
COH             117342900016                Gas           Gov. Aggregation   COH             158675150118                Gas           Gov. Aggregation
COH             117350230010                Gas           Gov. Aggregation   COH             163279240176                Gas           Gov. Aggregation
COH             117318190017                Gas           Gov. Aggregation   COH             174624330037                Gas           Gov. Aggregation
COH             117323030019                Gas           Gov. Aggregation   COH             189865350018                Gas           Gov. Aggregation
COH             117349800013                Gas           Gov. Aggregation   COH             189911340011                Gas           Gov. Aggregation
COH             117359460014                Gas           Gov. Aggregation   COH             196785300019                Gas           Gov. Aggregation
COH             117369670046                Gas           Gov. Aggregation   COH             197412350017                Gas           Gov. Aggregation
COH             117436130064                Gas           Gov. Aggregation   COH             197642180016                Gas           Gov. Aggregation
COH             117939970035                Gas           Gov. Aggregation   COH             196240380053                Gas           Gov. Aggregation
COH             118097630040                Gas           Gov. Aggregation   COH             176758880055                Gas           Gov. Aggregation
COH             121932070014                Gas           Gov. Aggregation   COH             177279740068                Gas           Gov. Aggregation
COH             118078370027                Gas           Gov. Aggregation   COH             175402070353                Gas           Gov. Aggregation
COH             121945050020                Gas           Gov. Aggregation   COH             189368160030                Gas           Gov. Aggregation
COH             121955320022                Gas           Gov. Aggregation   COH             114902600014                Gas           Gov. Aggregation
COH             117318380017                Gas           Gov. Aggregation   COH             160741460038                Gas           Gov. Aggregation
COH             117318750028                Gas           Gov. Aggregation   COH             154944710024                Gas           Gov. Aggregation
COH             117367130052                Gas           Gov. Aggregation   COH             170651190025                Gas           Gov. Aggregation
COH             117605370029                Gas           Gov. Aggregation   COH             199219620018                Gas           Gov. Aggregation
COH             118236940030                Gas           Gov. Aggregation   COH             188268000036                Gas           Gov. Aggregation
COH             118246720026                Gas           Gov. Aggregation   COH             165643040011                Gas           Gov. Aggregation
COH             118261650029                Gas           Gov. Aggregation   COH             143563630013                Gas           Gov. Aggregation
COH             121908580045                Gas           Gov. Aggregation   COH             193102360025                Gas           Gov. Aggregation
COH             122517250042                Gas           Gov. Aggregation   COH             199138820018                Gas           Gov. Aggregation
COH             117583250022                Gas           Gov. Aggregation   COH             199645860015                Gas           Gov. Aggregation
COH             117790530033                Gas           Gov. Aggregation   COH             188538910023                Gas           Gov. Aggregation
COH             118101910022                Gas           Gov. Aggregation   COH             199163800019                Gas           Gov. Aggregation
COH             121977460027                Gas           Gov. Aggregation   COH             136518490026                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             118267130035                Gas           Gov. Aggregation   COH             195564240039                Gas           Gov. Aggregation
COH             118322840029                Gas           Gov. Aggregation   COH             198171020017                Gas           Gov. Aggregation
COH             118360170048                Gas           Gov. Aggregation   COH             177368200026                Gas           Gov. Aggregation
COH             118366850025                Gas           Gov. Aggregation   COH             197531220012                Gas           Gov. Aggregation
COH             118401290027                Gas           Gov. Aggregation   COH             199524930016                Gas           Gov. Aggregation
COH             118683590037                Gas           Gov. Aggregation   COH             197961910016                Gas           Gov. Aggregation
COH             118888760037                Gas           Gov. Aggregation   COH             199493980013                Gas           Gov. Aggregation
COH             119087620033                Gas           Gov. Aggregation   COH             190646480030                Gas           Gov. Aggregation
COH             119216360042                Gas           Gov. Aggregation   COH             145510430023                Gas           Gov. Aggregation
COH             118761740020                Gas           Gov. Aggregation   COH             196209150011                Gas           Gov. Aggregation
COH             118823960013                Gas           Gov. Aggregation   COH             196209150039                Gas           Gov. Aggregation
COH             123874750059                Gas           Gov. Aggregation   COH             196273380018                Gas           Gov. Aggregation
COH             119277990051                Gas           Gov. Aggregation   COH             148963720075                Gas           Gov. Aggregation
COH             123843470017                Gas           Gov. Aggregation   COH             148963720084                Gas           Gov. Aggregation
COH             119913080016                Gas           Gov. Aggregation   COH             154187610030                Gas           Gov. Aggregation
COH             124132220024                Gas           Gov. Aggregation   COH             199299680018                Gas           Gov. Aggregation
COH             124229660018                Gas           Gov. Aggregation   COH             195714720011                Gas           Gov. Aggregation
COH             124303160015                Gas           Gov. Aggregation   COH             148968150039                Gas           Gov. Aggregation
COH             124157090039                Gas           Gov. Aggregation   COH             195641200088                Gas           Gov. Aggregation
COH             124207390020                Gas           Gov. Aggregation   COH             197959870010                Gas           Gov. Aggregation
COH             124269070018                Gas           Gov. Aggregation   COH             198096530010                Gas           Gov. Aggregation
COH             119580580027                Gas           Gov. Aggregation   COH             189744490015                Gas           Gov. Aggregation
COH             123966410019                Gas           Gov. Aggregation   COH             193661930030                Gas           Gov. Aggregation
COH             124013820011                Gas           Gov. Aggregation   COH             199731370015                Gas           Gov. Aggregation
COH             124593760016                Gas           Gov. Aggregation   COH             197411050012                Gas           Gov. Aggregation
COH             124582650030                Gas           Gov. Aggregation   COH             195985960018                Gas           Gov. Aggregation
COH             124586880034                Gas           Gov. Aggregation   COH             198310350012                Gas           Gov. Aggregation
COH             119946700025                Gas           Gov. Aggregation   COH             197653470012                Gas           Gov. Aggregation
COH             120204460025                Gas           Gov. Aggregation   COH             198454320014                Gas           Gov. Aggregation
COH             120204020018                Gas           Gov. Aggregation   COH             197811650018                Gas           Gov. Aggregation
COH             120293130027                Gas           Gov. Aggregation   COH             198772370010                Gas           Gov. Aggregation
COH             120152450019                Gas           Gov. Aggregation   COH             198823970015                Gas           Gov. Aggregation
COH             120175760025                Gas           Gov. Aggregation   COH             198893420013                Gas           Gov. Aggregation
COH             120457510010                Gas           Gov. Aggregation   COH             129848030059                Gas           Gov. Aggregation
COH             120460290010                Gas           Gov. Aggregation   COH             111150210041                Gas           Gov. Aggregation
COH             120464370024                Gas           Gov. Aggregation   COH             158328210021                Gas           Gov. Aggregation
COH             130715940056                Gas           Gov. Aggregation   COH             196894990014                Gas           Gov. Aggregation
COH             120432990012                Gas           Gov. Aggregation   COH             197329370010                Gas           Gov. Aggregation
COH             120434010022                Gas           Gov. Aggregation   COH             197454410016                Gas           Gov. Aggregation
COH             120456030040                Gas           Gov. Aggregation   COH             197431880016                Gas           Gov. Aggregation
COH             120458950016                Gas           Gov. Aggregation   COH             161395740042                Gas           Gov. Aggregation
COH             120459300010                Gas           Gov. Aggregation   COH             196001720011                Gas           Gov. Aggregation
COH             130270400017                Gas           Gov. Aggregation   COH             194132110023                Gas           Gov. Aggregation
COH             123588340025                Gas           Gov. Aggregation   COH             194273450024                Gas           Gov. Aggregation
COH             129497360055                Gas           Gov. Aggregation   COH             196978170018                Gas           Gov. Aggregation
COH             127159730028                Gas           Gov. Aggregation   COH             140234380070                Gas           Gov. Aggregation
COH             127018410023                Gas           Gov. Aggregation   COH             164118280024                Gas           Gov. Aggregation
COH             129368310049                Gas           Gov. Aggregation   COH             198418860026                Gas           Gov. Aggregation
COH             129733890025                Gas           Gov. Aggregation   COH             193114870014                Gas           Gov. Aggregation
COH             130248460030                Gas           Gov. Aggregation   COH             162431590036                Gas           Gov. Aggregation
COH             130790340045                Gas           Gov. Aggregation   COH             199062850013                Gas           Gov. Aggregation
COH             131051790046                Gas           Gov. Aggregation   COH             197097060018                Gas           Gov. Aggregation
COH             134065340057                Gas           Gov. Aggregation   COH             171316190131                Gas           Gov. Aggregation
COH             131483040048                Gas           Gov. Aggregation   COH             150509730071                Gas           Gov. Aggregation
COH             132471280033                Gas           Gov. Aggregation   COH             175781520016                Gas           Gov. Aggregation
COH             128794030028                Gas           Gov. Aggregation   COH             186935040026                Gas           Gov. Aggregation
COH             131546360029                Gas           Gov. Aggregation   COH             186503140039                Gas           Gov. Aggregation
COH             133156180031                Gas           Gov. Aggregation   COH             169228120047                Gas           Gov. Aggregation
COH             135682390021                Gas           Gov. Aggregation   COH             191654510026                Gas           Gov. Aggregation
COH             133099100011                Gas           Gov. Aggregation   COH             132989580060                Gas           Gov. Aggregation
COH             133153820023                Gas           Gov. Aggregation   COH             152665950055                Gas           Gov. Aggregation
COH             134637470039                Gas           Gov. Aggregation   COH             144556990030                Gas           Gov. Aggregation
COH             134731480046                Gas           Gov. Aggregation   COH             198264160011                Gas           Gov. Aggregation
COH             134167650029                Gas           Gov. Aggregation   COH             199336210016                Gas           Gov. Aggregation
COH             133753310037                Gas           Gov. Aggregation   COH             198263350013                Gas           Gov. Aggregation
COH             134017080026                Gas           Gov. Aggregation   COH             197950130013                Gas           Gov. Aggregation
COH             136680850018                Gas           Gov. Aggregation   COH             199325180016                Gas           Gov. Aggregation
COH             135390750024                Gas           Gov. Aggregation   COH             171113530022                Gas           Gov. Aggregation
COH             135919460014                Gas           Gov. Aggregation   COH             194599240019                Gas           Gov. Aggregation
COH             135981900010                Gas           Gov. Aggregation   COH             125842390014                Gas           Gov. Aggregation
COH             137884840017                Gas           Gov. Aggregation   COH             196585910015                Gas           Gov. Aggregation
COH             138371720027                Gas           Gov. Aggregation   COH             198850120016                Gas           Gov. Aggregation
COH             137848750021                Gas           Gov. Aggregation   COH             116956030028                Gas           Gov. Aggregation
COH             136964690010                Gas           Gov. Aggregation   COH             119912390031                Gas           Gov. Aggregation
COH             138705370040                Gas           Gov. Aggregation   COH             118040020029                Gas           Gov. Aggregation
COH             139268750029                Gas           Gov. Aggregation   COH             135952560022                Gas           Gov. Aggregation
COH             140346830023                Gas           Gov. Aggregation   COH             198745910013                Gas           Gov. Aggregation
COH             137642780030                Gas           Gov. Aggregation   COH             171628980036                Gas           Gov. Aggregation
COH             138168260052                Gas           Gov. Aggregation   COH             186431500027                Gas           Gov. Aggregation
COH             140879970034                Gas           Gov. Aggregation   COH             144214740027                Gas           Gov. Aggregation
COH             140606440041                Gas           Gov. Aggregation   COH             145862160052                Gas           Gov. Aggregation
COH             139747370023                Gas           Gov. Aggregation   COH             163670000023                Gas           Gov. Aggregation
COH             140250580047                Gas           Gov. Aggregation   COH             195681670013                Gas           Gov. Aggregation
COH             141089980018                Gas           Gov. Aggregation   COH             199722280013                Gas           Gov. Aggregation
COH             141512330015                Gas           Gov. Aggregation   COH             197330610016                Gas           Gov. Aggregation
COH             141147300025                Gas           Gov. Aggregation   COH             196949810023                Gas           Gov. Aggregation
COH             141024940021                Gas           Gov. Aggregation   COH             196149480010                Gas           Gov. Aggregation
COH             141460540058                Gas           Gov. Aggregation   COH             198210700010                Gas           Gov. Aggregation
COH             141499890018                Gas           Gov. Aggregation   COH             199344510016                Gas           Gov. Aggregation
COH             142795870013                Gas           Gov. Aggregation   COH             142156040039                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             142825560022                Gas           Gov. Aggregation   COH             188789480041                Gas           Gov. Aggregation
COH             142849750022                Gas           Gov. Aggregation   COH             163131850027                Gas           Gov. Aggregation
COH             141792100020                Gas           Gov. Aggregation   COH             144902140408                Gas           Gov. Aggregation
COH             142362080025                Gas           Gov. Aggregation   COH             156880220030                Gas           Gov. Aggregation
COH             142924060072                Gas           Gov. Aggregation   COH             198869950013                Gas           Gov. Aggregation
COH             143601240040                Gas           Gov. Aggregation   COH             198876010015                Gas           Gov. Aggregation
COH             144101210027                Gas           Gov. Aggregation   COH             187021660031                Gas           Gov. Aggregation
COH             144638610062                Gas           Gov. Aggregation   COH             199499850018                Gas           Gov. Aggregation
COH             142738560036                Gas           Gov. Aggregation   COH             192707910046                Gas           Gov. Aggregation
COH             144659690017                Gas           Gov. Aggregation   COH             144100370044                Gas           Gov. Aggregation
COH             144904530046                Gas           Gov. Aggregation   COH             189879980026                Gas           Gov. Aggregation
COH             145198930013                Gas           Gov. Aggregation   COH             196252720010                Gas           Gov. Aggregation
COH             145308420015                Gas           Gov. Aggregation   COH             197831840016                Gas           Gov. Aggregation
COH             145513030021                Gas           Gov. Aggregation   COH             199496050012                Gas           Gov. Aggregation
COH             144865680021                Gas           Gov. Aggregation   COH             135787860011                Gas           Gov. Aggregation
COH             146521470012                Gas           Gov. Aggregation   COH             199691080012                Gas           Gov. Aggregation
COH             144473580032                Gas           Gov. Aggregation   COH             198695830017                Gas           Gov. Aggregation
COH             145895270014                Gas           Gov. Aggregation   COH             199865640015                Gas           Gov. Aggregation
COH             145851320024                Gas           Gov. Aggregation   COH             195510140024                Gas           Gov. Aggregation
COH             146860230014                Gas           Gov. Aggregation   COH             124396290022                Gas           Gov. Aggregation
COH             144746200014                Gas           Gov. Aggregation   COH             125254650043                Gas           Gov. Aggregation
COH             146891730041                Gas           Gov. Aggregation   COH             125364540043                Gas           Gov. Aggregation
COH             146094370065                Gas           Gov. Aggregation   COH             155763980030                Gas           Gov. Aggregation
COH             146634630037                Gas           Gov. Aggregation   COH             155763980030                Gas           Gov. Aggregation
COH             148096790043                Gas           Gov. Aggregation   COH             166704790022                Gas           Gov. Aggregation
COH             148721830038                Gas           Gov. Aggregation   COH             174341990039                Gas           Gov. Aggregation
COH             149323060033                Gas           Gov. Aggregation   COH             173042390012                Gas           Gov. Aggregation
COH             147539320015                Gas           Gov. Aggregation   COH             175709560029                Gas           Gov. Aggregation
COH             149764020055                Gas           Gov. Aggregation   COH             199203950012                Gas           Gov. Aggregation
COH             146269590031                Gas           Gov. Aggregation   COH             197266620011                Gas           Gov. Aggregation
COH             148022170048                Gas           Gov. Aggregation   COH             199167130012                Gas           Gov. Aggregation
COH             148911770029                Gas           Gov. Aggregation   COH             197560940010                Gas           Gov. Aggregation
COH             148500460052                Gas           Gov. Aggregation   COH             197202900016                Gas           Gov. Aggregation
COH             151349010679                Gas           Gov. Aggregation   COH             130384360051                Gas           Gov. Aggregation
COH             151349012104                Gas           Gov. Aggregation   COH             198422350015                Gas           Gov. Aggregation
COH             151642640031                Gas           Gov. Aggregation   VEDO            4018007492355543            Gas           Gov. Aggregation
COH             151351790037                Gas           Gov. Aggregation   COH             198179810015                Gas           Gov. Aggregation
COH             151479250012                Gas           Gov. Aggregation   COH             197170410018                Gas           Gov. Aggregation
COH             151810560040                Gas           Gov. Aggregation   COH             110421690029                Gas           Gov. Aggregation
COH             150195610019                Gas           Gov. Aggregation   COH             125838660016                Gas           Gov. Aggregation
COH             151087290015                Gas           Gov. Aggregation   COH             122674210011                Gas           Gov. Aggregation
COH             151809570023                Gas           Gov. Aggregation   COH             126925030030                Gas           Gov. Aggregation
COH             150103010018                Gas           Gov. Aggregation   COH             150196940018                Gas           Gov. Aggregation
COH             150527420023                Gas           Gov. Aggregation   COH             194466040012                Gas           Gov. Aggregation
COH             149281240026                Gas           Gov. Aggregation   COH             196338360014                Gas           Gov. Aggregation
COH             149767660028                Gas           Gov. Aggregation   COH             186694490024                Gas           Gov. Aggregation
COH             150915880051                Gas           Gov. Aggregation   COH             196460710011                Gas           Gov. Aggregation
COH             149382011109                Gas           Gov. Aggregation   COH             196817600017                Gas           Gov. Aggregation
COH             151975730064                Gas           Gov. Aggregation   COH             125875270010                Gas           Gov. Aggregation
COH             152275430033                Gas           Gov. Aggregation   COH             197090880010                Gas           Gov. Aggregation
COH             149566850015                Gas           Gov. Aggregation   COH             200299550011                Gas           Gov. Aggregation
COH             150318240060                Gas           Gov. Aggregation   COH             200626780018                Gas           Gov. Aggregation
COH             149631050023                Gas           Gov. Aggregation   COH             200729070019                Gas           Gov. Aggregation
COH             149759020029                Gas           Gov. Aggregation   COH             201097580012                Gas           Gov. Aggregation
COH             149836520039                Gas           Gov. Aggregation   COH             170551780032                Gas           Gov. Aggregation
COH             153662620013                Gas           Gov. Aggregation   COH             200280930010                Gas           Gov. Aggregation
COH             153711610010                Gas           Gov. Aggregation   COH             200979760015                Gas           Gov. Aggregation
COH             152826830030                Gas           Gov. Aggregation   COH             199652500015                Gas           Gov. Aggregation
COH             153865940016                Gas           Gov. Aggregation   COH             200828550018                Gas           Gov. Aggregation
COH             154915960014                Gas           Gov. Aggregation   COH             200299530015                Gas           Gov. Aggregation
COH             152576330027                Gas           Gov. Aggregation   COH             200460210019                Gas           Gov. Aggregation
COH             152877100027                Gas           Gov. Aggregation   COH             200220790016                Gas           Gov. Aggregation
COH             155434840036                Gas           Gov. Aggregation   COH             200193870018                Gas           Gov. Aggregation
COH             152668880036                Gas           Gov. Aggregation   COH             168718940056                Gas           Gov. Aggregation
COH             153253380020                Gas           Gov. Aggregation   COH             199288970010                Gas           Gov. Aggregation
COH             154278810044                Gas           Gov. Aggregation   COH             200282130014                Gas           Gov. Aggregation
COH             154042550011                Gas           Gov. Aggregation   COH             201220100019                Gas           Gov. Aggregation
COH             154511100010                Gas           Gov. Aggregation   COH             199591050010                Gas           Gov. Aggregation
COH             154726740020                Gas           Gov. Aggregation   COH             159796980028                Gas           Gov. Aggregation
COH             155301930038                Gas           Gov. Aggregation   COH             197590090016                Gas           Gov. Aggregation
COH             156561400047                Gas           Gov. Aggregation   COH             199548950012                Gas           Gov. Aggregation
COH             153993030016                Gas           Gov. Aggregation   COH             195717220010                Gas           Gov. Aggregation
COH             154352760010                Gas           Gov. Aggregation   COH             124378080015                Gas           Gov. Aggregation
COH             154363210012                Gas           Gov. Aggregation   COH             197291400014                Gas           Gov. Aggregation
COH             152214550036                Gas           Gov. Aggregation   COH             199415000012                Gas           Gov. Aggregation
COH             154751240022                Gas           Gov. Aggregation   COH             138002320022                Gas           Gov. Aggregation
COH             153180220055                Gas           Gov. Aggregation   COH             173390640058                Gas           Gov. Aggregation
COH             155241410017                Gas           Gov. Aggregation   VEDO            4002977712293029            Gas           Gov. Aggregation
COH             156582640025                Gas           Gov. Aggregation   COH             197844080019                Gas           Gov. Aggregation
COH             157528430013                Gas           Gov. Aggregation   COH             198085430014                Gas           Gov. Aggregation
COH             157972770011                Gas           Gov. Aggregation   COH             142823900015                Gas           Gov. Aggregation
COH             158363810030                Gas           Gov. Aggregation   COH             199211740019                Gas           Gov. Aggregation
COH             158474670017                Gas           Gov. Aggregation   COH             195244580027                Gas           Gov. Aggregation
COH             158792400028                Gas           Gov. Aggregation   COH             172390630051                Gas           Gov. Aggregation
COH             158931310012                Gas           Gov. Aggregation   COH             125875110013                Gas           Gov. Aggregation
COH             155526960036                Gas           Gov. Aggregation   COH             157913540077                Gas           Gov. Aggregation
COH             156244980020                Gas           Gov. Aggregation   COH             131975200014                Gas           Gov. Aggregation
COH             159097990019                Gas           Gov. Aggregation   COH             193297510022                Gas           Gov. Aggregation
COH             157645260011                Gas           Gov. Aggregation   COH             114895420055                Gas           Gov. Aggregation
COH             157761360032                Gas           Gov. Aggregation   COH             157603300010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             160174270040                Gas           Gov. Aggregation   COH             199883790016                Gas           Gov. Aggregation
COH             160390540045                Gas           Gov. Aggregation   COH             129267930043                Gas           Gov. Aggregation
COH             156891110049                Gas           Gov. Aggregation   COH             199363700016                Gas           Gov. Aggregation
COH             158896720030                Gas           Gov. Aggregation   COH             199402650013                Gas           Gov. Aggregation
COH             159195300060                Gas           Gov. Aggregation   COH             167471160037                Gas           Gov. Aggregation
COH             157938200030                Gas           Gov. Aggregation   COH             196933030011                Gas           Gov. Aggregation
COH             159005050019                Gas           Gov. Aggregation   COH             160103790022                Gas           Gov. Aggregation
COH             159324430013                Gas           Gov. Aggregation   COH             161370050012                Gas           Gov. Aggregation
COH             160097700034                Gas           Gov. Aggregation   COH             168361070010                Gas           Gov. Aggregation
COH             157674160011                Gas           Gov. Aggregation   COH             127139990044                Gas           Gov. Aggregation
COH             161440180016                Gas           Gov. Aggregation   COH             137702860044                Gas           Gov. Aggregation
COH             161460190021                Gas           Gov. Aggregation   COH             141746660020                Gas           Gov. Aggregation
COH             159843020046                Gas           Gov. Aggregation   COH             140075700025                Gas           Gov. Aggregation
COH             160059970010                Gas           Gov. Aggregation   COH             163731300066                Gas           Gov. Aggregation
COH             160330010015                Gas           Gov. Aggregation   COH             170849330044                Gas           Gov. Aggregation
COH             157178570035                Gas           Gov. Aggregation   COH             190356700029                Gas           Gov. Aggregation
COH             161964200048                Gas           Gov. Aggregation   COH             202175160013                Gas           Gov. Aggregation
COH             162246300020                Gas           Gov. Aggregation   COH             201449580015                Gas           Gov. Aggregation
COH             158590270042                Gas           Gov. Aggregation   COH             202075670018                Gas           Gov. Aggregation
COH             160252350029                Gas           Gov. Aggregation   COH             199193060021                Gas           Gov. Aggregation
COH             159710890018                Gas           Gov. Aggregation   COH             170797450022                Gas           Gov. Aggregation
COH             161176480014                Gas           Gov. Aggregation   COH             125789680026                Gas           Gov. Aggregation
COH             162063300019                Gas           Gov. Aggregation   COH             200592420016                Gas           Gov. Aggregation
COH             161391420010                Gas           Gov. Aggregation   COH             201553460019                Gas           Gov. Aggregation
COH             162225470047                Gas           Gov. Aggregation   COH             188281690070                Gas           Gov. Aggregation
COH             164564310022                Gas           Gov. Aggregation   COH             197015390020                Gas           Gov. Aggregation
COH             163854010012                Gas           Gov. Aggregation   COH             200065840015                Gas           Gov. Aggregation
COH             162285570013                Gas           Gov. Aggregation   COH             144466290243                Gas           Gov. Aggregation
COH             161666570025                Gas           Gov. Aggregation   COH             200056680018                Gas           Gov. Aggregation
COH             164424420034                Gas           Gov. Aggregation   COH             200259730017                Gas           Gov. Aggregation
COH             162865040032                Gas           Gov. Aggregation   COH             200196490012                Gas           Gov. Aggregation
COH             166553590016                Gas           Gov. Aggregation   COH             149406190049                Gas           Gov. Aggregation
COH             163996870012                Gas           Gov. Aggregation   COH             194132130029                Gas           Gov. Aggregation
COH             164955610011                Gas           Gov. Aggregation   COH             186220890096                Gas           Gov. Aggregation
COH             165456630032                Gas           Gov. Aggregation   COH             123881360083                Gas           Gov. Aggregation
COH             164977630011                Gas           Gov. Aggregation   COH             145329690042                Gas           Gov. Aggregation
COH             166275490044                Gas           Gov. Aggregation   COH             200493320017                Gas           Gov. Aggregation
COH             173321850031                Gas           Gov. Aggregation   COH             200805740016                Gas           Gov. Aggregation
COH             169889160012                Gas           Gov. Aggregation   COH             201417820011                Gas           Gov. Aggregation
COH             169678150011                Gas           Gov. Aggregation   COH             201410940010                Gas           Gov. Aggregation
COH             176134850017                Gas           Gov. Aggregation   COH             201761870012                Gas           Gov. Aggregation
COH             168659800015                Gas           Gov. Aggregation   COH             201661730013                Gas           Gov. Aggregation
COH             171345150012                Gas           Gov. Aggregation   COH             202107040011                Gas           Gov. Aggregation
COH             168026680021                Gas           Gov. Aggregation   COH             176441420043                Gas           Gov. Aggregation
COH             175131300028                Gas           Gov. Aggregation   COH             145294680085                Gas           Gov. Aggregation
COH             185453100017                Gas           Gov. Aggregation   COH             175454820016                Gas           Gov. Aggregation
COH             172071670022                Gas           Gov. Aggregation   COH             156813900136                Gas           Gov. Aggregation
COH             173860590016                Gas           Gov. Aggregation   COH             195403810039                Gas           Gov. Aggregation
COH             172666340039                Gas           Gov. Aggregation   COH             188403410023                Gas           Gov. Aggregation
COH             172079830013                Gas           Gov. Aggregation   COH             200958620018                Gas           Gov. Aggregation
COH             173441630015                Gas           Gov. Aggregation   COH             201547920015                Gas           Gov. Aggregation
COH             186494120016                Gas           Gov. Aggregation   COH             201708520017                Gas           Gov. Aggregation
COH             187935780039                Gas           Gov. Aggregation   COH             200627080013                Gas           Gov. Aggregation
COH             174885140026                Gas           Gov. Aggregation   COH             199880140018                Gas           Gov. Aggregation
COH             175376290014                Gas           Gov. Aggregation   COH             198668030021                Gas           Gov. Aggregation
COH             191008950023                Gas           Gov. Aggregation   COH             200237600029                Gas           Gov. Aggregation
COH             177066300034                Gas           Gov. Aggregation   COH             200032740015                Gas           Gov. Aggregation
COH             177112970026                Gas           Gov. Aggregation   COH             138692230011                Gas           Gov. Aggregation
COH             177305070017                Gas           Gov. Aggregation   COH             198592290019                Gas           Gov. Aggregation
COH             185051010027                Gas           Gov. Aggregation   COH             201580060016                Gas           Gov. Aggregation
COH             177213950017                Gas           Gov. Aggregation   COH             201781450018                Gas           Gov. Aggregation
COH             185061740023                Gas           Gov. Aggregation   COH             200161920014                Gas           Gov. Aggregation
COH             191592130019                Gas           Gov. Aggregation   COH             200254360015                Gas           Gov. Aggregation
COH             191258000014                Gas           Gov. Aggregation   COH             200003090013                Gas           Gov. Aggregation
COH             186877740014                Gas           Gov. Aggregation   COH             200456750015                Gas           Gov. Aggregation
COH             193783610011                Gas           Gov. Aggregation   COH             200727350014                Gas           Gov. Aggregation
COH             185639690010                Gas           Gov. Aggregation   COH             166817670046                Gas           Gov. Aggregation
COH             185594730017                Gas           Gov. Aggregation   COH             150324570086                Gas           Gov. Aggregation
COH             186635630019                Gas           Gov. Aggregation   COH             199077940031                Gas           Gov. Aggregation
COH             187920800053                Gas           Gov. Aggregation   COH             134530300352                Gas           Gov. Aggregation
COH             187459750017                Gas           Gov. Aggregation   COH             141366300021                Gas           Gov. Aggregation
COH             188343060016                Gas           Gov. Aggregation   COH             190570630075                Gas           Gov. Aggregation
COH             193635250010                Gas           Gov. Aggregation   COH             194593070035                Gas           Gov. Aggregation
COH             195211760019                Gas           Gov. Aggregation   COH             201772120016                Gas           Gov. Aggregation
COH             190152720036                Gas           Gov. Aggregation   COH             202119520015                Gas           Gov. Aggregation
COH             196547390015                Gas           Gov. Aggregation   COH             202738440010                Gas           Gov. Aggregation
COH             190096080031                Gas           Gov. Aggregation   COH             111152570113                Gas           Gov. Aggregation
COH             195944310010                Gas           Gov. Aggregation   COH             111141060024                Gas           Gov. Aggregation
COH             188820940019                Gas           Gov. Aggregation   COH             186294330016                Gas           Gov. Aggregation
COH             111326230017                Gas           Gov. Aggregation   COH             188382520017                Gas           Gov. Aggregation
COH             111326430015                Gas           Gov. Aggregation   COH             188819630026                Gas           Gov. Aggregation
COH             196162230014                Gas           Gov. Aggregation   COH             188965500060                Gas           Gov. Aggregation
COH             111328610013                Gas           Gov. Aggregation   COH             177572310020                Gas           Gov. Aggregation
COH             190898040011                Gas           Gov. Aggregation   COH             199955570019                Gas           Gov. Aggregation
COH             111326880011                Gas           Gov. Aggregation   COH             198598150052                Gas           Gov. Aggregation
COH             111330280018                Gas           Gov. Aggregation   COH             201163780019                Gas           Gov. Aggregation
COH             111341260037                Gas           Gov. Aggregation   COH             200915970015                Gas           Gov. Aggregation
COH             111341810013                Gas           Gov. Aggregation   COH             201933860019                Gas           Gov. Aggregation
COH             190605280029                Gas           Gov. Aggregation   COH             201086510019                Gas           Gov. Aggregation
COH             111329290019                Gas           Gov. Aggregation   COH             200965350010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             111329950010                Gas           Gov. Aggregation   COH             201298010015                Gas           Gov. Aggregation
COH             191472290010                Gas           Gov. Aggregation   COH             201656070013                Gas           Gov. Aggregation
COH             192415640140                Gas           Gov. Aggregation   COH             165376830021                Gas           Gov. Aggregation
COH             192700620014                Gas           Gov. Aggregation   COH             187452890049                Gas           Gov. Aggregation
COH             111463600028                Gas           Gov. Aggregation   COH             196879820011                Gas           Gov. Aggregation
COH             194105040016                Gas           Gov. Aggregation   COH             189078210025                Gas           Gov. Aggregation
COH             194525280016                Gas           Gov. Aggregation   COH             149894800056                Gas           Gov. Aggregation
COH             193899320017                Gas           Gov. Aggregation   COH             141798320059                Gas           Gov. Aggregation
COH             195233230014                Gas           Gov. Aggregation   COH             200789140018                Gas           Gov. Aggregation
COH             131563620028                Gas           Gov. Aggregation   COH             200613700011                Gas           Gov. Aggregation
COH             134727380028                Gas           Gov. Aggregation   COH             200276590011                Gas           Gov. Aggregation
COH             142574980018                Gas           Gov. Aggregation   COH             200338790017                Gas           Gov. Aggregation
COH             195643200011                Gas           Gov. Aggregation   COH             200170640014                Gas           Gov. Aggregation
COH             195860400019                Gas           Gov. Aggregation   COH             201331120010                Gas           Gov. Aggregation
COH             195434170011                Gas           Gov. Aggregation   COH             201260060014                Gas           Gov. Aggregation
COH             135299920013                Gas           Gov. Aggregation   COH             200286930018                Gas           Gov. Aggregation
COH             196174880013                Gas           Gov. Aggregation   COH             199915880018                Gas           Gov. Aggregation
COH             196461550013                Gas           Gov. Aggregation   COH             201431890017                Gas           Gov. Aggregation
COH             146255120010                Gas           Gov. Aggregation   COH             160912170054                Gas           Gov. Aggregation
COH             146135890077                Gas           Gov. Aggregation   COH             200849530018                Gas           Gov. Aggregation
COH             146257660013                Gas           Gov. Aggregation   COH             164586920064                Gas           Gov. Aggregation
COH             149553580028                Gas           Gov. Aggregation   COH             141271920013                Gas           Gov. Aggregation
COH             158463600014                Gas           Gov. Aggregation   COH             111077910013                Gas           Gov. Aggregation
COH             196523670016                Gas           Gov. Aggregation   COH             111052150015                Gas           Gov. Aggregation
COH             115753640012                Gas           Gov. Aggregation   COH             111064920018                Gas           Gov. Aggregation
COH             115754810014                Gas           Gov. Aggregation   COH             133858060029                Gas           Gov. Aggregation
COH             115781170021                Gas           Gov. Aggregation   COH             111162030017                Gas           Gov. Aggregation
COH             115829230017                Gas           Gov. Aggregation   COH             111162000013                Gas           Gov. Aggregation
COH             115839800016                Gas           Gov. Aggregation   COH             114489540024                Gas           Gov. Aggregation
COH             115866130010                Gas           Gov. Aggregation   COH             151478250032                Gas           Gov. Aggregation
COH             115584390041                Gas           Gov. Aggregation   COH             148270460024                Gas           Gov. Aggregation
COH             115824130027                Gas           Gov. Aggregation   COH             149496050110                Gas           Gov. Aggregation
COH             115841470011                Gas           Gov. Aggregation   COH             166642700022                Gas           Gov. Aggregation
COH             115859980026                Gas           Gov. Aggregation   COH             167148530016                Gas           Gov. Aggregation
COH             115864670011                Gas           Gov. Aggregation   COH             166341250025                Gas           Gov. Aggregation
COH             115881100014                Gas           Gov. Aggregation   COH             164459010019                Gas           Gov. Aggregation
COH             117327000035                Gas           Gov. Aggregation   COH             164614620011                Gas           Gov. Aggregation
COH             115802330012                Gas           Gov. Aggregation   COH             164650570016                Gas           Gov. Aggregation
COH             115850720019                Gas           Gov. Aggregation   COH             164761810010                Gas           Gov. Aggregation
COH             115850890014                Gas           Gov. Aggregation   COH             199619950011                Gas           Gov. Aggregation
COH             115859370024                Gas           Gov. Aggregation   COH             197846060028                Gas           Gov. Aggregation
COH             115862250013                Gas           Gov. Aggregation   COH             196013810017                Gas           Gov. Aggregation
COH             115867230017                Gas           Gov. Aggregation   COH             128872220022                Gas           Gov. Aggregation
COH             115876910015                Gas           Gov. Aggregation   COH             195697800012                Gas           Gov. Aggregation
COH             118110140034                Gas           Gov. Aggregation   COH             197067260019                Gas           Gov. Aggregation
COH             120216790030                Gas           Gov. Aggregation   COH             191458930024                Gas           Gov. Aggregation
COH             120533260011                Gas           Gov. Aggregation   COH             195681500027                Gas           Gov. Aggregation
COH             120541510011                Gas           Gov. Aggregation   COH             154702290043                Gas           Gov. Aggregation
COH             135323200020                Gas           Gov. Aggregation   COH             165118690018                Gas           Gov. Aggregation
COH             133077120013                Gas           Gov. Aggregation   COH             160606040023                Gas           Gov. Aggregation
COH             133315670067                Gas           Gov. Aggregation   COH             136743890025                Gas           Gov. Aggregation
COH             134445860016                Gas           Gov. Aggregation   COH             142191930010                Gas           Gov. Aggregation
COH             135719890027                Gas           Gov. Aggregation   COH             195570000018                Gas           Gov. Aggregation
COH             134930680033                Gas           Gov. Aggregation   COH             125785240017                Gas           Gov. Aggregation
COH             135690380017                Gas           Gov. Aggregation   COH             198493890013                Gas           Gov. Aggregation
COH             137469270071                Gas           Gov. Aggregation   COH             196137630013                Gas           Gov. Aggregation
COH             137589110016                Gas           Gov. Aggregation   COH             154449500135                Gas           Gov. Aggregation
COH             141647060017                Gas           Gov. Aggregation   COH             196000360019                Gas           Gov. Aggregation
COH             139363420026                Gas           Gov. Aggregation   COH             196110160018                Gas           Gov. Aggregation
COH             140597780014                Gas           Gov. Aggregation   COH             192476010037                Gas           Gov. Aggregation
COH             141773890034                Gas           Gov. Aggregation   COH             166883700031                Gas           Gov. Aggregation
COH             141271150033                Gas           Gov. Aggregation   COH             152696230051                Gas           Gov. Aggregation
COH             145061310012                Gas           Gov. Aggregation   COH             124449810010                Gas           Gov. Aggregation
COH             142183180033                Gas           Gov. Aggregation   COH             199829630013                Gas           Gov. Aggregation
COH             150065730028                Gas           Gov. Aggregation   COH             177254080023                Gas           Gov. Aggregation
COH             150647670072                Gas           Gov. Aggregation   COH             197645920014                Gas           Gov. Aggregation
COH             151104410128                Gas           Gov. Aggregation   COH             148063520011                Gas           Gov. Aggregation
COH             151778940013                Gas           Gov. Aggregation   COH             171212720013                Gas           Gov. Aggregation
COH             151380690019                Gas           Gov. Aggregation   COH             199394150017                Gas           Gov. Aggregation
COH             152259690015                Gas           Gov. Aggregation   COH             155118930037                Gas           Gov. Aggregation
COH             153256820021                Gas           Gov. Aggregation   COH             161205730027                Gas           Gov. Aggregation
COH             153264240017                Gas           Gov. Aggregation   DEO             2421005887174               Gas           Gov. Aggregation
COH             155078640043                Gas           Gov. Aggregation   COH             147892960031                Gas           Gov. Aggregation
COH             156193710025                Gas           Gov. Aggregation   COH             199980440013                Gas           Gov. Aggregation
COH             156953610015                Gas           Gov. Aggregation   COH             200364440015                Gas           Gov. Aggregation
COH             157868690046                Gas           Gov. Aggregation   COH             192790350021                Gas           Gov. Aggregation
COH             157436340053                Gas           Gov. Aggregation   COH             110512320023                Gas           Gov. Aggregation
COH             159772820067                Gas           Gov. Aggregation   COH             110512440019                Gas           Gov. Aggregation
COH             160191450019                Gas           Gov. Aggregation   COH             198241900013                Gas           Gov. Aggregation
COH             160574500016                Gas           Gov. Aggregation   COH             199481180016                Gas           Gov. Aggregation
COH             161831680012                Gas           Gov. Aggregation   COH             197646470026                Gas           Gov. Aggregation
COH             161854200014                Gas           Gov. Aggregation   COH             199415200029                Gas           Gov. Aggregation
COH             160354680024                Gas           Gov. Aggregation   COH             202457370011                Gas           Gov. Aggregation
COH             111098470012                Gas           Gov. Aggregation   COH             200410080012                Gas           Gov. Aggregation
COH             193772600025                Gas           Gov. Aggregation   COH             200779110015                Gas           Gov. Aggregation
COH             120159150018                Gas           Gov. Aggregation   COH             200347650017                Gas           Gov. Aggregation
COH             168801590017                Gas           Gov. Aggregation   COH             200435300013                Gas           Gov. Aggregation
COH             139510670012                Gas           Gov. Aggregation   COH             201086660018                Gas           Gov. Aggregation
COH             111096320017                Gas           Gov. Aggregation   COH             201631080013                Gas           Gov. Aggregation
COH             147020750014                Gas           Gov. Aggregation   COH             191423260028                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             162169340017                Gas           Gov. Aggregation   COH             194238980081                Gas           Gov. Aggregation
COH             160322020038                Gas           Gov. Aggregation   COH             203315980012                Gas           Gov. Aggregation
COH             161395330011                Gas           Gov. Aggregation   COH             203225150017                Gas           Gov. Aggregation
COH             111924750029                Gas           Gov. Aggregation   COH             189403670037                Gas           Gov. Aggregation
COH             130243680016                Gas           Gov. Aggregation   COH             188234650022                Gas           Gov. Aggregation
COH             155366590043                Gas           Gov. Aggregation   COH             146338640015                Gas           Gov. Aggregation
COH             172175550018                Gas           Gov. Aggregation   COH             163471230063                Gas           Gov. Aggregation
COH             168618260015                Gas           Gov. Aggregation   COH             202659700013                Gas           Gov. Aggregation
COH             189206520027                Gas           Gov. Aggregation   COH             142122950020                Gas           Gov. Aggregation
COH             130583480018                Gas           Gov. Aggregation   COH             156207800025                Gas           Gov. Aggregation
COH             124033720029                Gas           Gov. Aggregation   COH             189068930025                Gas           Gov. Aggregation
COH             152112660011                Gas           Gov. Aggregation   COH             186960750024                Gas           Gov. Aggregation
COH             137143220017                Gas           Gov. Aggregation   COH             188372680024                Gas           Gov. Aggregation
COH             190057280013                Gas           Gov. Aggregation   COH             166327790013                Gas           Gov. Aggregation
COH             190966700017                Gas           Gov. Aggregation   COH             165376540013                Gas           Gov. Aggregation
COH             189928940038                Gas           Gov. Aggregation   COH             111088950030                Gas           Gov. Aggregation
COH             192754070017                Gas           Gov. Aggregation   COH             111092620012                Gas           Gov. Aggregation
COH             196128760015                Gas           Gov. Aggregation   COH             111110800023                Gas           Gov. Aggregation
COH             188947540015                Gas           Gov. Aggregation   COH             111109440013                Gas           Gov. Aggregation
COH             196442170013                Gas           Gov. Aggregation   COH             111154020061                Gas           Gov. Aggregation
COH             165324780030                Gas           Gov. Aggregation   COH             111059560024                Gas           Gov. Aggregation
COH             196196550016                Gas           Gov. Aggregation   COH             111062370045                Gas           Gov. Aggregation
COH             174490690019                Gas           Gov. Aggregation   COH             111032660029                Gas           Gov. Aggregation
COH             129914050054                Gas           Gov. Aggregation   COH             188377930030                Gas           Gov. Aggregation
COH             152185180019                Gas           Gov. Aggregation   COH             186070470011                Gas           Gov. Aggregation
COH             156836570012                Gas           Gov. Aggregation   COH             186987320046                Gas           Gov. Aggregation
COH             120306630121                Gas           Gov. Aggregation   COH             187913740024                Gas           Gov. Aggregation
COH             169179430010                Gas           Gov. Aggregation   COH             187206750030                Gas           Gov. Aggregation
COH             176891230040                Gas           Gov. Aggregation   COH             200511850016                Gas           Gov. Aggregation
COH             143993970039                Gas           Gov. Aggregation   COH             200775440014                Gas           Gov. Aggregation
COH             149120420037                Gas           Gov. Aggregation   COH             200931700017                Gas           Gov. Aggregation
COH             174551880019                Gas           Gov. Aggregation   COH             200647420019                Gas           Gov. Aggregation
COH             134328170019                Gas           Gov. Aggregation   COH             197359850025                Gas           Gov. Aggregation
COH             150063610045                Gas           Gov. Aggregation   COH             196652150021                Gas           Gov. Aggregation
COH             117289180021                Gas           Gov. Aggregation   COH             192023060027                Gas           Gov. Aggregation
COH             186506560017                Gas           Gov. Aggregation   COH             198625770026                Gas           Gov. Aggregation
COH             169611210018                Gas           Gov. Aggregation   COH             197975150026                Gas           Gov. Aggregation
COH             144531230031                Gas           Gov. Aggregation   COH             196961590024                Gas           Gov. Aggregation
COH             129173730062                Gas           Gov. Aggregation   COH             200340260022                Gas           Gov. Aggregation
COH             145202180038                Gas           Gov. Aggregation   COH             201452690015                Gas           Gov. Aggregation
COH             188872110014                Gas           Gov. Aggregation   COH             201510760016                Gas           Gov. Aggregation
COH             192336990010                Gas           Gov. Aggregation   COH             201506720013                Gas           Gov. Aggregation
COH             143686040017                Gas           Gov. Aggregation   COH             201312990018                Gas           Gov. Aggregation
COH             194199110014                Gas           Gov. Aggregation   COH             201313000013                Gas           Gov. Aggregation
COH             170184140035                Gas           Gov. Aggregation   COH             201313010011                Gas           Gov. Aggregation
COH             189958550019                Gas           Gov. Aggregation   COH             150636420237                Gas           Gov. Aggregation
COH             140471720058                Gas           Gov. Aggregation   COH             203652760014                Gas           Gov. Aggregation
COH             173983380010                Gas           Gov. Aggregation   COH             170614330078                Gas           Gov. Aggregation
COH             108748410029                Gas           Gov. Aggregation   COH             202834180011                Gas           Gov. Aggregation
COH             163184960014                Gas           Gov. Aggregation   COH             203187130013                Gas           Gov. Aggregation
COH             196190580012                Gas           Gov. Aggregation   COH             203545110017                Gas           Gov. Aggregation
COH             130909420027                Gas           Gov. Aggregation   COH             174400520040                Gas           Gov. Aggregation
COH             165295450014                Gas           Gov. Aggregation   COH             125802750012                Gas           Gov. Aggregation
COH             188390470011                Gas           Gov. Aggregation   COH             203242210018                Gas           Gov. Aggregation
COH             148260470014                Gas           Gov. Aggregation   COH             203924330017                Gas           Gov. Aggregation
COH             195408330012                Gas           Gov. Aggregation   COH             203751670013                Gas           Gov. Aggregation
COH             169784950045                Gas           Gov. Aggregation   COH             202464520014                Gas           Gov. Aggregation
VEDO            4004092652371229            Gas           Gov. Aggregation   COH             203386440016                Gas           Gov. Aggregation
DEO             1500063350670               Gas           Gov. Aggregation   COH             124748980306                Gas           Gov. Aggregation
DEO             2500011900323               Gas           Gov. Aggregation   COH             203696170016                Gas           Gov. Aggregation
DEO             3500032586379               Gas           Gov. Aggregation   COH             203477730012                Gas           Gov. Aggregation
DEO             3500063733284               Gas           Gov. Aggregation   COH             203417760012                Gas           Gov. Aggregation
DEO             3500063842326               Gas           Gov. Aggregation   COH             172665930046                Gas           Gov. Aggregation
DEO             4500052254566               Gas           Gov. Aggregation   COH             202032360013                Gas           Gov. Aggregation
DEO             4500062631476               Gas           Gov. Aggregation   COH             202010640029                Gas           Gov. Aggregation
DEO             6421002552312               Gas           Gov. Aggregation   COH             201904170015                Gas           Gov. Aggregation
DEO             7421004110490               Gas           Gov. Aggregation   COH             201942090012                Gas           Gov. Aggregation
COH             168857620013                Gas           Gov. Aggregation   COH             202210830016                Gas           Gov. Aggregation
DEO             0500055627339               Gas           Gov. Aggregation   COH             200813710015                Gas           Gov. Aggregation
DEO             4500052598103               Gas           Gov. Aggregation   COH             200806740014                Gas           Gov. Aggregation
COH             192562480027                Gas           Gov. Aggregation   COH             200806750012                Gas           Gov. Aggregation
COH             192913490020                Gas           Gov. Aggregation   COH             200860640011                Gas           Gov. Aggregation
COH             195396880014                Gas           Gov. Aggregation   COH             200856950015                Gas           Gov. Aggregation
COH             195788570018                Gas           Gov. Aggregation   COH             200628220011                Gas           Gov. Aggregation
COH             195814290010                Gas           Gov. Aggregation   COH             200561740014                Gas           Gov. Aggregation
COH             195764130010                Gas           Gov. Aggregation   COH             201597130016                Gas           Gov. Aggregation
COH             196299210019                Gas           Gov. Aggregation   COH             200754630018                Gas           Gov. Aggregation
COH             160363000036                Gas           Gov. Aggregation   COH             201273190010                Gas           Gov. Aggregation
COH             152331790083                Gas           Gov. Aggregation   COH             201282950011                Gas           Gov. Aggregation
COH             138369220045                Gas           Gov. Aggregation   COH             171245590067                Gas           Gov. Aggregation
COH             196352340018                Gas           Gov. Aggregation   COH             125754920091                Gas           Gov. Aggregation
COH             152467790371                Gas           Gov. Aggregation   COH             203269250014                Gas           Gov. Aggregation
COH             192131292297                Gas           Gov. Aggregation   COH             190739870031                Gas           Gov. Aggregation
COH             194189400247                Gas           Gov. Aggregation   COH             197481320027                Gas           Gov. Aggregation
COH             196364560017                Gas           Gov. Aggregation   COH             171253160024                Gas           Gov. Aggregation
COH             195180260020                Gas           Gov. Aggregation   COH             125802640024                Gas           Gov. Aggregation
COH             195839060016                Gas           Gov. Aggregation   COH             199670990024                Gas           Gov. Aggregation
COH             186888680032                Gas           Gov. Aggregation   COH             200937890016                Gas           Gov. Aggregation
COH             195634440010                Gas           Gov. Aggregation   COH             203924110013                Gas           Gov. Aggregation
COH             139844060031                Gas           Gov. Aggregation   COH             202774060014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             177807580034                Gas           Gov. Aggregation   COH             202505710016                Gas           Gov. Aggregation
COH             194515470035                Gas           Gov. Aggregation   COH             171675660016                Gas           Gov. Aggregation
COH             196162460016                Gas           Gov. Aggregation   COH             171405030028                Gas           Gov. Aggregation
COH             188418860037                Gas           Gov. Aggregation   COH             204460060017                Gas           Gov. Aggregation
COH             196215960018                Gas           Gov. Aggregation   COH             203589220012                Gas           Gov. Aggregation
COH             195839000018                Gas           Gov. Aggregation   COH             200958510011                Gas           Gov. Aggregation
COH             157497010018                Gas           Gov. Aggregation   COH             199097010016                Gas           Gov. Aggregation
COH             195893720013                Gas           Gov. Aggregation   COH             200498020010                Gas           Gov. Aggregation
COH             196294850015                Gas           Gov. Aggregation   COH             199967900014                Gas           Gov. Aggregation
COH             196364420016                Gas           Gov. Aggregation   COH             201104340015                Gas           Gov. Aggregation
COH             195540270015                Gas           Gov. Aggregation   DEO             2440101957466               Gas           Gov. Aggregation
COH             196196430011                Gas           Gov. Aggregation   COH             145251180053                Gas           Gov. Aggregation
COH             195809520012                Gas           Gov. Aggregation   COH             191115410029                Gas           Gov. Aggregation
COH             144364010032                Gas           Gov. Aggregation   COH             125715860014                Gas           Gov. Aggregation
COH             156493800020                Gas           Gov. Aggregation   COH             129509650084                Gas           Gov. Aggregation
COH             193223750027                Gas           Gov. Aggregation   COH             201516880019                Gas           Gov. Aggregation
COH             162222770013                Gas           Gov. Aggregation   COH             192465200012                Gas           Gov. Aggregation
VEDO            4001015372301675            Gas           Gov. Aggregation   COH             194370450019                Gas           Gov. Aggregation
VEDO            4001487092145595            Gas           Gov. Aggregation   COH             194370450037                Gas           Gov. Aggregation
VEDO            4001528542149630            Gas           Gov. Aggregation   COH             186834920025                Gas           Gov. Aggregation
VEDO            4005102732522325            Gas           Gov. Aggregation   COH             177570240010                Gas           Gov. Aggregation
VEDO            4004570832298856            Gas           Gov. Aggregation   COH             197420900014                Gas           Gov. Aggregation
VEDO            4004621012468793            Gas           Gov. Aggregation   COH             197250110011                Gas           Gov. Aggregation
VEDO            4004981562508589            Gas           Gov. Aggregation   COH             201253600015                Gas           Gov. Aggregation
VEDO            4016718002148609            Gas           Gov. Aggregation   COH             199235730011                Gas           Gov. Aggregation
VEDO            4018838142461275            Gas           Gov. Aggregation   COH             202211880014                Gas           Gov. Aggregation
VEDO            4002957242526453            Gas           Gov. Aggregation   COH             172280920044                Gas           Gov. Aggregation
VEDO            4004268562429933            Gas           Gov. Aggregation   COH             108890280035                Gas           Gov. Aggregation
VEDO            4004376772441797            Gas           Gov. Aggregation   COH             200121220015                Gas           Gov. Aggregation
VEDO            4004705822281879            Gas           Gov. Aggregation   COH             195735050027                Gas           Gov. Aggregation
VEDO            4004929922502818            Gas           Gov. Aggregation   COH             202185840019                Gas           Gov. Aggregation
VEDO            4018258942255259            Gas           Gov. Aggregation   COH             167425690033                Gas           Gov. Aggregation
VEDO            4018608132265512            Gas           Gov. Aggregation   COH             162776810020                Gas           Gov. Aggregation
VEDO            4018723222391551            Gas           Gov. Aggregation   COH             202025920010                Gas           Gov. Aggregation
VEDO            4001048902157720            Gas           Gov. Aggregation   COH             161750920068                Gas           Gov. Aggregation
VEDO            4001691372165064            Gas           Gov. Aggregation   COH             142901530035                Gas           Gov. Aggregation
VEDO            4002366642340235            Gas           Gov. Aggregation   COH             198902350026                Gas           Gov. Aggregation
VEDO            4004437422378369            Gas           Gov. Aggregation   COH             188980950019                Gas           Gov. Aggregation
VEDO            4018297002279919            Gas           Gov. Aggregation   COH             192099850013                Gas           Gov. Aggregation
VEDO            4018900022486949            Gas           Gov. Aggregation   COH             191386210019                Gas           Gov. Aggregation
VEDO            4017905752494217            Gas           Gov. Aggregation   COH             194622930031                Gas           Gov. Aggregation
VEDO            4019232252201389            Gas           Gov. Aggregation   COH             195171470034                Gas           Gov. Aggregation
VEDO            4018375242111880            Gas           Gov. Aggregation   COH             195801060015                Gas           Gov. Aggregation
VEDO            4018733802316619            Gas           Gov. Aggregation   COH             123730560017                Gas           Gov. Aggregation
VEDO            4001622422346657            Gas           Gov. Aggregation   COH             186471360023                Gas           Gov. Aggregation
VEDO            4001794282175176            Gas           Gov. Aggregation   COH             186149040041                Gas           Gov. Aggregation
VEDO            4018965242208878            Gas           Gov. Aggregation   COH             187346280024                Gas           Gov. Aggregation
VEDO            4019227262158640            Gas           Gov. Aggregation   COH             188220590024                Gas           Gov. Aggregation
VEDO            4001155382114623            Gas           Gov. Aggregation   COH             190123450025                Gas           Gov. Aggregation
VEDO            4002317922226802            Gas           Gov. Aggregation   COH             201961800012                Gas           Gov. Aggregation
VEDO            4002330032227992            Gas           Gov. Aggregation   COH             203305270012                Gas           Gov. Aggregation
VEDO            4016178402158328            Gas           Gov. Aggregation   COH             202809170016                Gas           Gov. Aggregation
VEDO            4017069202425424            Gas           Gov. Aggregation   COH             201578640019                Gas           Gov. Aggregation
VEDO            4017381602499709            Gas           Gov. Aggregation   COH             201061220012                Gas           Gov. Aggregation
VEDO            4017628902624142            Gas           Gov. Aggregation   COH             203745240016                Gas           Gov. Aggregation
VEDO            4018430972535263            Gas           Gov. Aggregation   COH             176934620028                Gas           Gov. Aggregation
VEDO            4018777982617637            Gas           Gov. Aggregation   COH             200082200013                Gas           Gov. Aggregation
VEDO            4018842622484656            Gas           Gov. Aggregation   COH             195681530021                Gas           Gov. Aggregation
VEDO            4018874062106818            Gas           Gov. Aggregation   COH             159111780020                Gas           Gov. Aggregation
VEDO            4001977762193149            Gas           Gov. Aggregation   COH             163205120023                Gas           Gov. Aggregation
VEDO            4002693112264199            Gas           Gov. Aggregation   COH             172799150047                Gas           Gov. Aggregation
VEDO            4003637892361823            Gas           Gov. Aggregation   COH             170200110026                Gas           Gov. Aggregation
VEDO            4004063852179618            Gas           Gov. Aggregation   COH             199858660016                Gas           Gov. Aggregation
VEDO            4004939712166263            Gas           Gov. Aggregation   COH             194488680012                Gas           Gov. Aggregation
VEDO            4016894342252300            Gas           Gov. Aggregation   COH             202870440010                Gas           Gov. Aggregation
VEDO            4017193362310584            Gas           Gov. Aggregation   COH             202999220014                Gas           Gov. Aggregation
VEDO            4018595592375006            Gas           Gov. Aggregation   COH             202581440013                Gas           Gov. Aggregation
VEDO            4019223232144638            Gas           Gov. Aggregation   COH             202560010017                Gas           Gov. Aggregation
VEDO            4016218222246529            Gas           Gov. Aggregation   COH             202492370017                Gas           Gov. Aggregation
VEDO            4001599412156453            Gas           Gov. Aggregation   COH             202484090022                Gas           Gov. Aggregation
VEDO            4002005562195896            Gas           Gov. Aggregation   COH             202626580018                Gas           Gov. Aggregation
VEDO            4002599362254913            Gas           Gov. Aggregation   DEO             3180007998163               Gas           Gov. Aggregation
VEDO            4002624972257423            Gas           Gov. Aggregation   COH             191313990019                Gas           Gov. Aggregation
VEDO            4003174682313343            Gas           Gov. Aggregation   COH             194098590018                Gas           Gov. Aggregation
VEDO            4003258962321982            Gas           Gov. Aggregation   COH             193960830153                Gas           Gov. Aggregation
VEDO            4005036682514833            Gas           Gov. Aggregation   COH             157608800015                Gas           Gov. Aggregation
VEDO            4017643112425916            Gas           Gov. Aggregation   COH             152589950011                Gas           Gov. Aggregation
VEDO            4018362212161623            Gas           Gov. Aggregation   COH             154334300014                Gas           Gov. Aggregation
VEDO            4018712752513624            Gas           Gov. Aggregation   COH             154456410022                Gas           Gov. Aggregation
VEDO            4018814292342447            Gas           Gov. Aggregation   COH             163283880011                Gas           Gov. Aggregation
VEDO            4019005462122153            Gas           Gov. Aggregation   COH             170505730011                Gas           Gov. Aggregation
VEDO            4019216282299466            Gas           Gov. Aggregation   COH             170663630018                Gas           Gov. Aggregation
VEDO            4001594492155983            Gas           Gov. Aggregation   COH             171414010014                Gas           Gov. Aggregation
VEDO            4001776782173378            Gas           Gov. Aggregation   COH             168829610014                Gas           Gov. Aggregation
VEDO            4002317122226720            Gas           Gov. Aggregation   COH             133101920030                Gas           Gov. Aggregation
VEDO            4002656132260468            Gas           Gov. Aggregation   COH             131631940026                Gas           Gov. Aggregation
VEDO            4002966902270864            Gas           Gov. Aggregation   COH             129931480021                Gas           Gov. Aggregation
VEDO            4003858612385434            Gas           Gov. Aggregation   COH             111163680019                Gas           Gov. Aggregation
VEDO            4004548732460736            Gas           Gov. Aggregation   COH             111163700014                Gas           Gov. Aggregation
VEDO            4004696452379692            Gas           Gov. Aggregation   COH             111163240011                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4010058142291372            Gas           Gov. Aggregation   COH             111163360034                Gas           Gov. Aggregation
VEDO         4017688992178714            Gas           Gov. Aggregation   COH             203205980015                Gas           Gov. Aggregation
VEDO         4018349162370517            Gas           Gov. Aggregation   COH             203351570012                Gas           Gov. Aggregation
VEDO         4018588072247220            Gas           Gov. Aggregation   COH             203580460010                Gas           Gov. Aggregation
VEDO         4018955502140449            Gas           Gov. Aggregation   COH             202625730018                Gas           Gov. Aggregation
VEDO         4017782842495311            Gas           Gov. Aggregation   COH             199197760035                Gas           Gov. Aggregation
VEDO         4017878792428489            Gas           Gov. Aggregation   COH             203149710011                Gas           Gov. Aggregation
VEDO         4018130392137821            Gas           Gov. Aggregation   COH             145411650018                Gas           Gov. Aggregation
VEDO         4001184942117456            Gas           Gov. Aggregation   COH             120478610024                Gas           Gov. Aggregation
VEDO         4002870662340415            Gas           Gov. Aggregation   COH             203373650019                Gas           Gov. Aggregation
VEDO         4004375182441657            Gas           Gov. Aggregation   COH             200998450010                Gas           Gov. Aggregation
VEDO         4004705652478155            Gas           Gov. Aggregation   COH             202775690010                Gas           Gov. Aggregation
VEDO         4019242252375095            Gas           Gov. Aggregation   COH             204635670018                Gas           Gov. Aggregation
VEDO         4002534122248356            Gas           Gov. Aggregation   COH             163156740046                Gas           Gov. Aggregation
VEDO         4003880402387735            Gas           Gov. Aggregation   COH             199744560018                Gas           Gov. Aggregation
VEDO         4004084022409857            Gas           Gov. Aggregation   COH             201559610015                Gas           Gov. Aggregation
VEDO         4015816082316467            Gas           Gov. Aggregation   COH             204741230015                Gas           Gov. Aggregation
VEDO         4016400252130235            Gas           Gov. Aggregation   COH             204844560018                Gas           Gov. Aggregation
VEDO         4018691172261470            Gas           Gov. Aggregation   COH             204959280014                Gas           Gov. Aggregation
VEDO         4018711052476820            Gas           Gov. Aggregation   COH             204969470013                Gas           Gov. Aggregation
VEDO         4003232442319239            Gas           Gov. Aggregation   COH             204907810011                Gas           Gov. Aggregation
VEDO         4018632702638493            Gas           Gov. Aggregation   COH             145689000053                Gas           Gov. Aggregation
VEDO         4002124032354242            Gas           Gov. Aggregation   COH             130585510231                Gas           Gov. Aggregation
VEDO         4016512522273726            Gas           Gov. Aggregation   COH             114921100037                Gas           Gov. Aggregation
VEDO         4017371662625827            Gas           Gov. Aggregation   COH             196117430044                Gas           Gov. Aggregation
VEDO         4019044472224600            Gas           Gov. Aggregation   COH             136419520038                Gas           Gov. Aggregation
VEDO         4019175852615921            Gas           Gov. Aggregation   COH             148706400021                Gas           Gov. Aggregation
VEDO         4002790332374955            Gas           Gov. Aggregation   COH             149259930037                Gas           Gov. Aggregation
VEDO         4017381142256164            Gas           Gov. Aggregation   COH             204210920015                Gas           Gov. Aggregation
VEDO         4017492612189159            Gas           Gov. Aggregation   COH             149492240056                Gas           Gov. Aggregation
VEDO         4017707692417463            Gas           Gov. Aggregation   COH             154358080119                Gas           Gov. Aggregation
VEDO         4018108802202708            Gas           Gov. Aggregation   COH             151714890054                Gas           Gov. Aggregation
VEDO         4001283602206719            Gas           Gov. Aggregation   COH             201427640018                Gas           Gov. Aggregation
VEDO         4017427682312548            Gas           Gov. Aggregation   COH             202173880016                Gas           Gov. Aggregation
VEDO         4018479632316061            Gas           Gov. Aggregation   COH             202173880025                Gas           Gov. Aggregation
VEDO         4003303682395792            Gas           Gov. Aggregation   COH             202350180017                Gas           Gov. Aggregation
VEDO         4003883962388108            Gas           Gov. Aggregation   COH             202882830059                Gas           Gov. Aggregation
VEDO         4004347282438563            Gas           Gov. Aggregation   COH             199242620028                Gas           Gov. Aggregation
VEDO         4017524922273232            Gas           Gov. Aggregation   COH             199146190032                Gas           Gov. Aggregation
VEDO         4017768252149290            Gas           Gov. Aggregation   COH             200668700034                Gas           Gov. Aggregation
VEDO         4018364562409987            Gas           Gov. Aggregation   COH             202681390012                Gas           Gov. Aggregation
VEDO         4004418952599145            Gas           Gov. Aggregation   COH             203740260012                Gas           Gov. Aggregation
VEDO         4004816142584271            Gas           Gov. Aggregation   COH             203814340018                Gas           Gov. Aggregation
VEDO         4015074612461050            Gas           Gov. Aggregation   COH             203162980026                Gas           Gov. Aggregation
VEDO         4015325512288577            Gas           Gov. Aggregation   COH             205152650015                Gas           Gov. Aggregation
VEDO         4015647732235496            Gas           Gov. Aggregation   COH             205331900012                Gas           Gov. Aggregation
VEDO         4016156912559508            Gas           Gov. Aggregation   COH             173936450050                Gas           Gov. Aggregation
VEDO         4016368922189828            Gas           Gov. Aggregation   COH             169768430128                Gas           Gov. Aggregation
VEDO         4017549132212075            Gas           Gov. Aggregation   COH             170025960057                Gas           Gov. Aggregation
VEDO         4002937982537281            Gas           Gov. Aggregation   COH             168658180054                Gas           Gov. Aggregation
VEDO         4001216802120493            Gas           Gov. Aggregation   COH             203719520012                Gas           Gov. Aggregation
VEDO         4002052662609983            Gas           Gov. Aggregation   COH             203571900016                Gas           Gov. Aggregation
VEDO         4016852782461164            Gas           Gov. Aggregation   COH             196174500076                Gas           Gov. Aggregation
VEDO         4017420302522292            Gas           Gov. Aggregation   COH             201455570014                Gas           Gov. Aggregation
VEDO         4017723492411152            Gas           Gov. Aggregation   COH             198758230037                Gas           Gov. Aggregation
VEDO         4019206582135854            Gas           Gov. Aggregation   COH             198587240029                Gas           Gov. Aggregation
VEDO         4001042282104050            Gas           Gov. Aggregation   COH             203906680012                Gas           Gov. Aggregation
VEDO         4001345332386972            Gas           Gov. Aggregation   COH             204770520013                Gas           Gov. Aggregation
VEDO         4001937952189298            Gas           Gov. Aggregation   COH             115020060026                Gas           Gov. Aggregation
VEDO         4002909322285916            Gas           Gov. Aggregation   COH             204052090016                Gas           Gov. Aggregation
VEDO         4003038372495635            Gas           Gov. Aggregation   COH             204998140011                Gas           Gov. Aggregation
VEDO         4003800982379188            Gas           Gov. Aggregation   COH             204842870017                Gas           Gov. Aggregation
VEDO         4003937312482613            Gas           Gov. Aggregation   COH             201747080036                Gas           Gov. Aggregation
VEDO         4015351002271436            Gas           Gov. Aggregation   COH             202206760010                Gas           Gov. Aggregation
VEDO         4017213452172848            Gas           Gov. Aggregation   COH             199452140015                Gas           Gov. Aggregation
VEDO         4017296692132091            Gas           Gov. Aggregation   COH             161142880011                Gas           Gov. Aggregation
VEDO         4017483862372314            Gas           Gov. Aggregation   COH             188052960210                Gas           Gov. Aggregation
VEDO         4019019602166616            Gas           Gov. Aggregation   COH             187278280109                Gas           Gov. Aggregation
VEDO         4019239082456875            Gas           Gov. Aggregation   COH             201744920017                Gas           Gov. Aggregation
VEDO         4001607062157192            Gas           Gov. Aggregation   COH             149447970594                Gas           Gov. Aggregation
VEDO         4002421052559926            Gas           Gov. Aggregation   COH             204533100013                Gas           Gov. Aggregation
VEDO         4002765282271417            Gas           Gov. Aggregation   COH             114966390015                Gas           Gov. Aggregation
VEDO         4004759552628317            Gas           Gov. Aggregation   COH             114994060033                Gas           Gov. Aggregation
VEDO         4001519752148735            Gas           Gov. Aggregation   COH             114944770020                Gas           Gov. Aggregation
VEDO         4002155172476947            Gas           Gov. Aggregation   COH             133376690010                Gas           Gov. Aggregation
VEDO         4002432932238188            Gas           Gov. Aggregation   COH             135462980176                Gas           Gov. Aggregation
VEDO         4002629952623501            Gas           Gov. Aggregation   COH             135225400044                Gas           Gov. Aggregation
VEDO         4002839512478285            Gas           Gov. Aggregation   COH             204087420013                Gas           Gov. Aggregation
VEDO         4003066732395839            Gas           Gov. Aggregation   COH             154193370083                Gas           Gov. Aggregation
VEDO         4003851632384685            Gas           Gov. Aggregation   COH             154193370092                Gas           Gov. Aggregation
VEDO         4017885482345448            Gas           Gov. Aggregation   COH             188723230041                Gas           Gov. Aggregation
VEDO         4003025002297852            Gas           Gov. Aggregation   COH             189099900026                Gas           Gov. Aggregation
VEDO         4003813942380575            Gas           Gov. Aggregation   COH             165783160065                Gas           Gov. Aggregation
VEDO         4004228292425595            Gas           Gov. Aggregation   COH             168289290063                Gas           Gov. Aggregation
VEDO         4005099462521944            Gas           Gov. Aggregation   COH             174576190085                Gas           Gov. Aggregation
VEDO         4016729792345402            Gas           Gov. Aggregation   COH             201050440019                Gas           Gov. Aggregation
VEDO         4001083882108033            Gas           Gov. Aggregation   COH             204483720010                Gas           Gov. Aggregation
VEDO         4001122632111669            Gas           Gov. Aggregation   COH             115023480022                Gas           Gov. Aggregation
VEDO         4001806782176345            Gas           Gov. Aggregation   COH             149447970576                Gas           Gov. Aggregation
VEDO         4002070912580035            Gas           Gov. Aggregation   COH             192568350013                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4005023042513298            Gas           Gov. Aggregation   COH             198733070015                Gas           Gov. Aggregation
VEDO         4005061912517713            Gas           Gov. Aggregation   COH             198751230013                Gas           Gov. Aggregation
VEDO         4016846102442612            Gas           Gov. Aggregation   COH             135007430022                Gas           Gov. Aggregation
VEDO         4017023232300556            Gas           Gov. Aggregation   COH             122019930018                Gas           Gov. Aggregation
VEDO         4017616722478796            Gas           Gov. Aggregation   COH             175162190018                Gas           Gov. Aggregation
VEDO         4018584552226879            Gas           Gov. Aggregation   COH             121948740029                Gas           Gov. Aggregation
VEDO         4002109452206132            Gas           Gov. Aggregation   COH             154046200025                Gas           Gov. Aggregation
VEDO         4002198702214988            Gas           Gov. Aggregation   COH             116739600091                Gas           Gov. Aggregation
VEDO         4002272492222396            Gas           Gov. Aggregation   COH             124717060055                Gas           Gov. Aggregation
VEDO         4003600272593208            Gas           Gov. Aggregation   COH             124770240028                Gas           Gov. Aggregation
VEDO         4003681482366426            Gas           Gov. Aggregation   COH             125229280026                Gas           Gov. Aggregation
VEDO         4003726352386239            Gas           Gov. Aggregation   COH             124860850029                Gas           Gov. Aggregation
VEDO         4003771252151289            Gas           Gov. Aggregation   COH             124862720022                Gas           Gov. Aggregation
VEDO         4018113742136832            Gas           Gov. Aggregation   COH             127422460053                Gas           Gov. Aggregation
VEDO         4018351912193657            Gas           Gov. Aggregation   COH             186890530038                Gas           Gov. Aggregation
VEDO         4019204422220834            Gas           Gov. Aggregation   COH             175386990043                Gas           Gov. Aggregation
VEDO         4001019712449471            Gas           Gov. Aggregation   COH             124395460037                Gas           Gov. Aggregation
VEDO         4001409612138408            Gas           Gov. Aggregation   COH             205537090017                Gas           Gov. Aggregation
VEDO         4002113312399654            Gas           Gov. Aggregation   COH             205537090035                Gas           Gov. Aggregation
VEDO         4004314152539388            Gas           Gov. Aggregation   COH             205537090053                Gas           Gov. Aggregation
VEDO         4002261402116578            Gas           Gov. Aggregation   COH             205537090071                Gas           Gov. Aggregation
VEDO         4002558692390696            Gas           Gov. Aggregation   COH             202464370016                Gas           Gov. Aggregation
VEDO         4003067352458098            Gas           Gov. Aggregation   COH             203629360017                Gas           Gov. Aggregation
VEDO         4004243512171444            Gas           Gov. Aggregation   COH             202324190010                Gas           Gov. Aggregation
VEDO         4005092182521109            Gas           Gov. Aggregation   COH             200718190017                Gas           Gov. Aggregation
VEDO         4010068162398285            Gas           Gov. Aggregation   COH             204179140017                Gas           Gov. Aggregation
VEDO         4015418552183508            Gas           Gov. Aggregation   COH             204325490013                Gas           Gov. Aggregation
VEDO         4017093162422216            Gas           Gov. Aggregation   COH             203099980012                Gas           Gov. Aggregation
VEDO         4002405652235431            Gas           Gov. Aggregation   COH             203181100011                Gas           Gov. Aggregation
VEDO         4004467312451688            Gas           Gov. Aggregation   COH             188461230047                Gas           Gov. Aggregation
VEDO         4015825742314151            Gas           Gov. Aggregation   COH             133707060037                Gas           Gov. Aggregation
VEDO         4001067572106425            Gas           Gov. Aggregation   COH             202402540029                Gas           Gov. Aggregation
VEDO         4001287682127060            Gas           Gov. Aggregation   COH             202736540013                Gas           Gov. Aggregation
VEDO         4002054372200725            Gas           Gov. Aggregation   COH             200979180017                Gas           Gov. Aggregation
VEDO         4003484292516713            Gas           Gov. Aggregation   COH             201924400014                Gas           Gov. Aggregation
VEDO         4003900212389885            Gas           Gov. Aggregation   COH             201603190037                Gas           Gov. Aggregation
VEDO         4004690182476443            Gas           Gov. Aggregation   COH             194518590025                Gas           Gov. Aggregation
VEDO         4016655732316964            Gas           Gov. Aggregation   COH             196696210044                Gas           Gov. Aggregation
VEDO         4017164662334410            Gas           Gov. Aggregation   COH             196705110026                Gas           Gov. Aggregation
VEDO         4017481412254810            Gas           Gov. Aggregation   COH             197740810042                Gas           Gov. Aggregation
VEDO         4017613502279551            Gas           Gov. Aggregation   COH             198610710029                Gas           Gov. Aggregation
VEDO         4017812782285032            Gas           Gov. Aggregation   COH             201373040028                Gas           Gov. Aggregation
VEDO         4019024052280330            Gas           Gov. Aggregation   COH             204672440018                Gas           Gov. Aggregation
VEDO         4019209642427869            Gas           Gov. Aggregation   COH             198979940030                Gas           Gov. Aggregation
VEDO         4019175192219596            Gas           Gov. Aggregation   COH             137905250033                Gas           Gov. Aggregation
VEDO         4003439272488915            Gas           Gov. Aggregation   COH             137862180030                Gas           Gov. Aggregation
VEDO         4004070092408325            Gas           Gov. Aggregation   COH             122019200020                Gas           Gov. Aggregation
VEDO         4003260642509682            Gas           Gov. Aggregation   COH             135483960023                Gas           Gov. Aggregation
VEDO         4003283772385786            Gas           Gov. Aggregation   COH             154645730015                Gas           Gov. Aggregation
VEDO         4003537942524282            Gas           Gov. Aggregation   COH             121979410050                Gas           Gov. Aggregation
VEDO         4019129812509449            Gas           Gov. Aggregation   COH             122027620016                Gas           Gov. Aggregation
VEDO         4003694562367785            Gas           Gov. Aggregation   COH             173156210027                Gas           Gov. Aggregation
VEDO         4016996622320105            Gas           Gov. Aggregation   COH             122027860025                Gas           Gov. Aggregation
VEDO         4017234212232957            Gas           Gov. Aggregation   COH             166169640029                Gas           Gov. Aggregation
VEDO         4001093102166993            Gas           Gov. Aggregation   COH             189248150018                Gas           Gov. Aggregation
VEDO         4002530482247972            Gas           Gov. Aggregation   COH             198014440020                Gas           Gov. Aggregation
VEDO         4001147392591304            Gas           Gov. Aggregation   COH             124641230014                Gas           Gov. Aggregation
VEDO         4002437582608646            Gas           Gov. Aggregation   COH             124647480010                Gas           Gov. Aggregation
VEDO         4003305662326898            Gas           Gov. Aggregation   COH             124643240027                Gas           Gov. Aggregation
VEDO         4003573462354967            Gas           Gov. Aggregation   COH             124648770017                Gas           Gov. Aggregation
VEDO         4004448372449651            Gas           Gov. Aggregation   COH             165288200011                Gas           Gov. Aggregation
VEDO         4004694112570002            Gas           Gov. Aggregation   COH             135239330022                Gas           Gov. Aggregation
VEDO         4004716622479297            Gas           Gov. Aggregation   COH             202879550028                Gas           Gov. Aggregation
VEDO         4017874252429812            Gas           Gov. Aggregation   COH             195554930035                Gas           Gov. Aggregation
VEDO         4004548502292406            Gas           Gov. Aggregation   COH             198998920025                Gas           Gov. Aggregation
VEDO         4003634802547268            Gas           Gov. Aggregation   COH             161360730038                Gas           Gov. Aggregation
VEDO         4003671852418650            Gas           Gov. Aggregation   COH             205244450012                Gas           Gov. Aggregation
VEDO         4015584322553153            Gas           Gov. Aggregation   COH             124432830020                Gas           Gov. Aggregation
VEDO         4018525902218333            Gas           Gov. Aggregation   COH             197420510034                Gas           Gov. Aggregation
VEDO         4001773802173075            Gas           Gov. Aggregation   COH             204533430014                Gas           Gov. Aggregation
VEDO         4001923712221486            Gas           Gov. Aggregation   COH             165355710020                Gas           Gov. Aggregation
VEDO         4003502452347475            Gas           Gov. Aggregation   COH             204461140018                Gas           Gov. Aggregation
VEDO         4004133202415192            Gas           Gov. Aggregation   COH             204461130010                Gas           Gov. Aggregation
VEDO         4015031262415245            Gas           Gov. Aggregation   COH             204124310016                Gas           Gov. Aggregation
VEDO         4015169802240811            Gas           Gov. Aggregation   COH             196821590039                Gas           Gov. Aggregation
VEDO         4015342192292676            Gas           Gov. Aggregation   COH             202760600037                Gas           Gov. Aggregation
VEDO         4016549792181339            Gas           Gov. Aggregation   COH             169290800034                Gas           Gov. Aggregation
VEDO         4016774182525967            Gas           Gov. Aggregation   COH             196266830027                Gas           Gov. Aggregation
VEDO         4019175492380787            Gas           Gov. Aggregation   COH             204489100018                Gas           Gov. Aggregation
VEDO         4015202592554692            Gas           Gov. Aggregation   COH             175151070025                Gas           Gov. Aggregation
VEDO         4016925992473163            Gas           Gov. Aggregation   COH             176807470029                Gas           Gov. Aggregation
VEDO         4001046912124005            Gas           Gov. Aggregation   COH             125147280039                Gas           Gov. Aggregation
VEDO         4001188492117818            Gas           Gov. Aggregation   COH             133206390030                Gas           Gov. Aggregation
VEDO         4001374402135125            Gas           Gov. Aggregation   COH             201892750038                Gas           Gov. Aggregation
VEDO         4001509112442122            Gas           Gov. Aggregation   COH             205425970019                Gas           Gov. Aggregation
VEDO         4001529782149753            Gas           Gov. Aggregation   COH             206456000016                Gas           Gov. Aggregation
VEDO         4001749372316614            Gas           Gov. Aggregation   COH             193214490021                Gas           Gov. Aggregation
VEDO         4002073862467136            Gas           Gov. Aggregation   COH             205381820014                Gas           Gov. Aggregation
VEDO         4003126942308314            Gas           Gov. Aggregation   COH             205672240019                Gas           Gov. Aggregation
VEDO         4003131502362566            Gas           Gov. Aggregation   COH             205226110011                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4001332042131173            Gas           Gov. Aggregation   COH             205042910013                Gas           Gov. Aggregation
VEDO         4001440572141182            Gas           Gov. Aggregation   COH             193054680021                Gas           Gov. Aggregation
VEDO         4015030772305102            Gas           Gov. Aggregation   COH             160869320028                Gas           Gov. Aggregation
VEDO         4015766912471417            Gas           Gov. Aggregation   COH             206666710012                Gas           Gov. Aggregation
VEDO         4017430682410048            Gas           Gov. Aggregation   COH             124890240024                Gas           Gov. Aggregation
VEDO         4018166532182856            Gas           Gov. Aggregation   COH             157938350039                Gas           Gov. Aggregation
VEDO         4018934832413127            Gas           Gov. Aggregation   COH             204400890019                Gas           Gov. Aggregation
VEDO         4019016882474575            Gas           Gov. Aggregation   COH             205184940017                Gas           Gov. Aggregation
VEDO         4001654062542576            Gas           Gov. Aggregation   COH             167139330026                Gas           Gov. Aggregation
VEDO         4002332132592942            Gas           Gov. Aggregation   COH             204843050017                Gas           Gov. Aggregation
VEDO         4002667892605873            Gas           Gov. Aggregation   COH             205326320015                Gas           Gov. Aggregation
VEDO         4003770352632908            Gas           Gov. Aggregation   COH             197816990035                Gas           Gov. Aggregation
VEDO         4005150602591305            Gas           Gov. Aggregation   COH             125292900022                Gas           Gov. Aggregation
VEDO         4018552912608234            Gas           Gov. Aggregation   COH             204060270011                Gas           Gov. Aggregation
VEDO         4018635062594929            Gas           Gov. Aggregation   COH             205185680010                Gas           Gov. Aggregation
VEDO         4018491212214961            Gas           Gov. Aggregation   COH             191608540036                Gas           Gov. Aggregation
VEDO         4001569972202109            Gas           Gov. Aggregation   COH             205574160014                Gas           Gov. Aggregation
VEDO         4001728682272240            Gas           Gov. Aggregation   COH             206247080013                Gas           Gov. Aggregation
VEDO         4002345572229544            Gas           Gov. Aggregation   COH             205064270012                Gas           Gov. Aggregation
VEDO         4002410972235960            Gas           Gov. Aggregation   COH             205129120015                Gas           Gov. Aggregation
VEDO         4002740742437754            Gas           Gov. Aggregation   COH             204904820015                Gas           Gov. Aggregation
VEDO         4002955232503300            Gas           Gov. Aggregation   COH             205522540013                Gas           Gov. Aggregation
VEDO         4003762002222900            Gas           Gov. Aggregation   COH             205226090016                Gas           Gov. Aggregation
VEDO         4004044812405533            Gas           Gov. Aggregation   COH             205080360019                Gas           Gov. Aggregation
VEDO         4016725222295362            Gas           Gov. Aggregation   COH             173317330020                Gas           Gov. Aggregation
VEDO         4017321922434692            Gas           Gov. Aggregation   COH             204970040010                Gas           Gov. Aggregation
VEDO         4018027552246887            Gas           Gov. Aggregation   COH             205520700013                Gas           Gov. Aggregation
VEDO         4018239092241140            Gas           Gov. Aggregation   COH             205102220010                Gas           Gov. Aggregation
VEDO         4003458002175373            Gas           Gov. Aggregation   COH             206415320015                Gas           Gov. Aggregation
VEDO         4003870102253680            Gas           Gov. Aggregation   COH             173037480069                Gas           Gov. Aggregation
VEDO         4004591512465512            Gas           Gov. Aggregation   COH             204382420017                Gas           Gov. Aggregation
VEDO         4005151602324510            Gas           Gov. Aggregation   COH             191992230083                Gas           Gov. Aggregation
VEDO         4016828922446839            Gas           Gov. Aggregation   COH             191992230092                Gas           Gov. Aggregation
VEDO         4016938512191061            Gas           Gov. Aggregation   COH             200993930019                Gas           Gov. Aggregation
VEDO         4018277872386377            Gas           Gov. Aggregation   COH             200133940019                Gas           Gov. Aggregation
VEDO         4002638982258803            Gas           Gov. Aggregation   COH             198916930016                Gas           Gov. Aggregation
VEDO         4002746872641259            Gas           Gov. Aggregation   COH             203367910017                Gas           Gov. Aggregation
VEDO         4002836162406751            Gas           Gov. Aggregation   COH             152321750019                Gas           Gov. Aggregation
VEDO         4003752022642012            Gas           Gov. Aggregation   COH             203463410018                Gas           Gov. Aggregation
VEDO         4018649732578259            Gas           Gov. Aggregation   COH             201923630018                Gas           Gov. Aggregation
VEDO         4002327952227783            Gas           Gov. Aggregation   COH             124882330031                Gas           Gov. Aggregation
VEDO         4002889792339428            Gas           Gov. Aggregation   COH             185437520040                Gas           Gov. Aggregation
VEDO         4002982982293567            Gas           Gov. Aggregation   COH             195045390038                Gas           Gov. Aggregation
VEDO         4004485332453722            Gas           Gov. Aggregation   COH             200238240014                Gas           Gov. Aggregation
VEDO         4018936512471663            Gas           Gov. Aggregation   COH             148270020035                Gas           Gov. Aggregation
VEDO         4001987162194098            Gas           Gov. Aggregation   COH             158840570057                Gas           Gov. Aggregation
VEDO         4004702672232907            Gas           Gov. Aggregation   COH             203022270012                Gas           Gov. Aggregation
VEDO         4017049292335201            Gas           Gov. Aggregation   COH             202608860017                Gas           Gov. Aggregation
VEDO         4017149212235625            Gas           Gov. Aggregation   COH             201640600014                Gas           Gov. Aggregation
VEDO         4017266842293680            Gas           Gov. Aggregation   COH             158464200043                Gas           Gov. Aggregation
VEDO         4003540002351388            Gas           Gov. Aggregation   COH             200775150015                Gas           Gov. Aggregation
VEDO         4015197662443373            Gas           Gov. Aggregation   COH             202943740012                Gas           Gov. Aggregation
VEDO         4015873612154665            Gas           Gov. Aggregation   COH             192127900020                Gas           Gov. Aggregation
VEDO         4016081882111965            Gas           Gov. Aggregation   COH             188421590028                Gas           Gov. Aggregation
VEDO         4017417322288251            Gas           Gov. Aggregation   COH             201463940019                Gas           Gov. Aggregation
VEDO         4018855492412738            Gas           Gov. Aggregation   COH             203934930010                Gas           Gov. Aggregation
VEDO         4001440032625758            Gas           Gov. Aggregation   COH             203461020014                Gas           Gov. Aggregation
VEDO         4004620502346306            Gas           Gov. Aggregation   COH             203733720010                Gas           Gov. Aggregation
VEDO         4004882462497613            Gas           Gov. Aggregation   COH             196949730057                Gas           Gov. Aggregation
VEDO         4004902872239708            Gas           Gov. Aggregation   COH             196747110028                Gas           Gov. Aggregation
VEDO         4017782612343677            Gas           Gov. Aggregation   COH             177802490024                Gas           Gov. Aggregation
VEDO         4017834862626037            Gas           Gov. Aggregation   COH             166323600458                Gas           Gov. Aggregation
VEDO         4018125872608710            Gas           Gov. Aggregation   COH             205080560017                Gas           Gov. Aggregation
VEDO         4002127682207894            Gas           Gov. Aggregation   COH             204881250015                Gas           Gov. Aggregation
VEDO         4003419432163416            Gas           Gov. Aggregation   COH             169734580020                Gas           Gov. Aggregation
VEDO         4018177942631277            Gas           Gov. Aggregation   COH             206501890013                Gas           Gov. Aggregation
VEDO         4015144362287339            Gas           Gov. Aggregation   COH             205729370011                Gas           Gov. Aggregation
VEDO         4017141532417356            Gas           Gov. Aggregation   COH             204801600019                Gas           Gov. Aggregation
VEDO         4019189282516008            Gas           Gov. Aggregation   COH             204572030016                Gas           Gov. Aggregation
VEDO         4001010722101121            Gas           Gov. Aggregation   COH             186651980021                Gas           Gov. Aggregation
VEDO         4001793572184801            Gas           Gov. Aggregation   COH             205271710010                Gas           Gov. Aggregation
VEDO         4001212212120064            Gas           Gov. Aggregation   COH             206402450015                Gas           Gov. Aggregation
VEDO         4001326662130704            Gas           Gov. Aggregation   COH             204550180011                Gas           Gov. Aggregation
VEDO         4001381992135837            Gas           Gov. Aggregation   COH             201369940028                Gas           Gov. Aggregation
VEDO         4001933432630256            Gas           Gov. Aggregation   COH             205136980010                Gas           Gov. Aggregation
VEDO         4016386622424568            Gas           Gov. Aggregation   COH             205337080013                Gas           Gov. Aggregation
VEDO         4017108152191856            Gas           Gov. Aggregation   COH             206666660013                Gas           Gov. Aggregation
VEDO         4017739762222123            Gas           Gov. Aggregation   COH             172011650022                Gas           Gov. Aggregation
VEDO         4018493592366493            Gas           Gov. Aggregation   COH             195619680021                Gas           Gov. Aggregation
VEDO         4018550682465884            Gas           Gov. Aggregation   COH             206161310016                Gas           Gov. Aggregation
VEDO         4018782602246061            Gas           Gov. Aggregation   COH             176674790034                Gas           Gov. Aggregation
VEDO         4003169362312787            Gas           Gov. Aggregation   COH             204357510011                Gas           Gov. Aggregation
VEDO         4001935912189091            Gas           Gov. Aggregation   COH             200921900025                Gas           Gov. Aggregation
VEDO         4002585192476404            Gas           Gov. Aggregation   COH             176344570020                Gas           Gov. Aggregation
VEDO         4003445082341532            Gas           Gov. Aggregation   COH             157709770045                Gas           Gov. Aggregation
VEDO         4018411902402751            Gas           Gov. Aggregation   COH             172176300036                Gas           Gov. Aggregation
VEDO         4018966912594186            Gas           Gov. Aggregation   COH             204422980014                Gas           Gov. Aggregation
VEDO         4019118862382849            Gas           Gov. Aggregation   COH             206351930013                Gas           Gov. Aggregation
VEDO         4001404012137908            Gas           Gov. Aggregation   COH             205719870017                Gas           Gov. Aggregation
VEDO         4016909512550570            Gas           Gov. Aggregation   COH             205901880018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4018583022507918            Gas           Gov. Aggregation   COH             186966920017                Gas           Gov. Aggregation
VEDO            4004407932445291            Gas           Gov. Aggregation   COH             190993810017                Gas           Gov. Aggregation
VEDO            4015236242446624            Gas           Gov. Aggregation   COH             153337730091                Gas           Gov. Aggregation
VEDO            4017786142193059            Gas           Gov. Aggregation   COH             202764070022                Gas           Gov. Aggregation
VEDO            4018156162519024            Gas           Gov. Aggregation   COH             154639570012                Gas           Gov. Aggregation
VEDO            4018398782157829            Gas           Gov. Aggregation   COH             202197850021                Gas           Gov. Aggregation
VEDO            4018566362220576            Gas           Gov. Aggregation   COH             176852510025                Gas           Gov. Aggregation
VEDO            4019118212349932            Gas           Gov. Aggregation   COH             204707700018                Gas           Gov. Aggregation
VEDO            4019189702220323            Gas           Gov. Aggregation   COH             205013290015                Gas           Gov. Aggregation
VEDO            4003117342307365            Gas           Gov. Aggregation   COH             205022760017                Gas           Gov. Aggregation
VEDO            4004631742256658            Gas           Gov. Aggregation   COH             203244640014                Gas           Gov. Aggregation
VEDO            4016668652462988            Gas           Gov. Aggregation   COH             203125550015                Gas           Gov. Aggregation
VEDO            4017986382436206            Gas           Gov. Aggregation   COH             204718970019                Gas           Gov. Aggregation
VEDO            4018964272480478            Gas           Gov. Aggregation   COH             204746190014                Gas           Gov. Aggregation
VEDO            4001237432122396            Gas           Gov. Aggregation   COH             204815550011                Gas           Gov. Aggregation
VEDO            4001565092340766            Gas           Gov. Aggregation   COH             204682270013                Gas           Gov. Aggregation
VEDO            4003282692110669            Gas           Gov. Aggregation   COH             204697120013                Gas           Gov. Aggregation
VEDO            4003777692497925            Gas           Gov. Aggregation   COH             203968360019                Gas           Gov. Aggregation
VEDO            4004433722448122            Gas           Gov. Aggregation   COH             205668560011                Gas           Gov. Aggregation
VEDO            4004589832465340            Gas           Gov. Aggregation   COH             204801480015                Gas           Gov. Aggregation
VEDO            4004598172466221            Gas           Gov. Aggregation   COH             193703880031                Gas           Gov. Aggregation
VEDO            4010125092148727            Gas           Gov. Aggregation   COH             204540130012                Gas           Gov. Aggregation
VEDO            4016706952355975            Gas           Gov. Aggregation   COH             205165510017                Gas           Gov. Aggregation
VEDO            4017399842465533            Gas           Gov. Aggregation   COH             204327420013                Gas           Gov. Aggregation
VEDO            4017511062129714            Gas           Gov. Aggregation   COH             204500200011                Gas           Gov. Aggregation
VEDO            4002022922197568            Gas           Gov. Aggregation   COH             204630600030                Gas           Gov. Aggregation
VEDO            4002662562402669            Gas           Gov. Aggregation   COH             204851210016                Gas           Gov. Aggregation
VEDO            4002847302279762            Gas           Gov. Aggregation   COH             203671650017                Gas           Gov. Aggregation
VEDO            4004228432412439            Gas           Gov. Aggregation   COH             203301640012                Gas           Gov. Aggregation
VEDO            4004261532429173            Gas           Gov. Aggregation   COH             145084050037                Gas           Gov. Aggregation
VEDO            4004584842163908            Gas           Gov. Aggregation   COH             147861930023                Gas           Gov. Aggregation
VEDO            4015257332478520            Gas           Gov. Aggregation   COH             187685450011                Gas           Gov. Aggregation
VEDO            4015884292228603            Gas           Gov. Aggregation   COH             177021870011                Gas           Gov. Aggregation
VEDO            4016601532158326            Gas           Gov. Aggregation   COH             165248450022                Gas           Gov. Aggregation
VEDO            4016961942187048            Gas           Gov. Aggregation   COH             176658230017                Gas           Gov. Aggregation
VEDO            4018812242162319            Gas           Gov. Aggregation   COH             204129310016                Gas           Gov. Aggregation
VEDO            4019229702272698            Gas           Gov. Aggregation   COH             174102550028                Gas           Gov. Aggregation
VEDO            4002875842282579            Gas           Gov. Aggregation   COH             202414100017                Gas           Gov. Aggregation
VEDO            4001581592154737            Gas           Gov. Aggregation   COH             202506940016                Gas           Gov. Aggregation
VEDO            4016608502335574            Gas           Gov. Aggregation   COH             150707640203                Gas           Gov. Aggregation
VEDO            4017258562612501            Gas           Gov. Aggregation   COH             204770590019                Gas           Gov. Aggregation
VEDO            4018427662510829            Gas           Gov. Aggregation   COH             202812110011                Gas           Gov. Aggregation
VEDO            4018634102327492            Gas           Gov. Aggregation   COH             203456240019                Gas           Gov. Aggregation
VEDO            4001115362110935            Gas           Gov. Aggregation   COH             202322500018                Gas           Gov. Aggregation
VEDO            4003401142336971            Gas           Gov. Aggregation   COH             146820950099                Gas           Gov. Aggregation
VEDO            4004511722393145            Gas           Gov. Aggregation   COH             159492900126                Gas           Gov. Aggregation
VEDO            4001277922126158            Gas           Gov. Aggregation   COH             143592510053                Gas           Gov. Aggregation
VEDO            4001337012234154            Gas           Gov. Aggregation   COH             139509640164                Gas           Gov. Aggregation
VEDO            4002474142242288            Gas           Gov. Aggregation   COH             204118100013                Gas           Gov. Aggregation
VEDO            4003343152361182            Gas           Gov. Aggregation   COH             204436210016                Gas           Gov. Aggregation
VEDO            4019160652475735            Gas           Gov. Aggregation   COH             198184740046                Gas           Gov. Aggregation
VEDO            4016900752413537            Gas           Gov. Aggregation   COH             205374390010                Gas           Gov. Aggregation
VEDO            4016401372392673            Gas           Gov. Aggregation   COH             191063320038                Gas           Gov. Aggregation
VEDO            4018823802281663            Gas           Gov. Aggregation   COH             193313960059                Gas           Gov. Aggregation
VEDO            4002458392240697            Gas           Gov. Aggregation   COH             189490450110                Gas           Gov. Aggregation
VEDO            4002812552276236            Gas           Gov. Aggregation   COH             169139030018                Gas           Gov. Aggregation
VEDO            4002899502284919            Gas           Gov. Aggregation   COH             197149930014                Gas           Gov. Aggregation
VEDO            4003901192389995            Gas           Gov. Aggregation   COH             197060710018                Gas           Gov. Aggregation
VEDO            4004268172429897            Gas           Gov. Aggregation   COH             190714440024                Gas           Gov. Aggregation
VEDO            4004634082428418            Gas           Gov. Aggregation   COH             177381130032                Gas           Gov. Aggregation
VEDO            4018954552311309            Gas           Gov. Aggregation   COH             149378190040                Gas           Gov. Aggregation
VEDO            4016982642111409            Gas           Gov. Aggregation   COH             165221110010                Gas           Gov. Aggregation
VEDO            4018289002491765            Gas           Gov. Aggregation   COH             167798170015                Gas           Gov. Aggregation
VEDO            4001516922434621            Gas           Gov. Aggregation   COH             121953380033                Gas           Gov. Aggregation
VEDO            4001645472520823            Gas           Gov. Aggregation   COH             135399140015                Gas           Gov. Aggregation
VEDO            4002198972215007            Gas           Gov. Aggregation   COH             149718840023                Gas           Gov. Aggregation
VEDO            4002232192298652            Gas           Gov. Aggregation   COH             112230040028                Gas           Gov. Aggregation
VEDO            4003978602470337            Gas           Gov. Aggregation   COH             146984400016                Gas           Gov. Aggregation
VEDO            4016954152525598            Gas           Gov. Aggregation   COH             158808640014                Gas           Gov. Aggregation
DEO             1421701026022               Gas           Gov. Aggregation   COH             207385530033                Gas           Gov. Aggregation
DEO             8421705304060               Gas           Gov. Aggregation   COH             139702930029                Gas           Gov. Aggregation
DEO             5500044417496               Gas           Gov. Aggregation   COH             166370630051                Gas           Gov. Aggregation
DEO             0500061023522               Gas           Gov. Aggregation   COH             122163510039                Gas           Gov. Aggregation
DEO             1500049162040               Gas           Gov. Aggregation   COH             202868560010                Gas           Gov. Aggregation
DEO             1500064295045               Gas           Gov. Aggregation   COH             196602160015                Gas           Gov. Aggregation
DEO             2422003540975               Gas           Gov. Aggregation   COH             170230750065                Gas           Gov. Aggregation
DEO             3500064362194               Gas           Gov. Aggregation   COH             157679110011                Gas           Gov. Aggregation
DEO             4500050757585               Gas           Gov. Aggregation   VEDO            4018659972322250            Gas           Gov. Aggregation
DEO             5500042037336               Gas           Gov. Aggregation   COH             125910080014                Gas           Gov. Aggregation
DEO             6500060579298               Gas           Gov. Aggregation   COH             188668201295                Gas           Gov. Aggregation
DEO             8500045826035               Gas           Gov. Aggregation   COH             188668201348                Gas           Gov. Aggregation
DEO             8500063917739               Gas           Gov. Aggregation   COH             136742630021                Gas           Gov. Aggregation
VEDO            4019262912513101            Gas           Gov. Aggregation   COH             206918560019                Gas           Gov. Aggregation
DEO             0442105673615               Gas           Gov. Aggregation   COH             205079640013                Gas           Gov. Aggregation
DEO             0500064792542               Gas           Gov. Aggregation   COH             207461230016                Gas           Gov. Aggregation
COH             117248470017                Gas           Gov. Aggregation   COH             185856870076                Gas           Gov. Aggregation
DEO             2500061109006               Gas           Gov. Aggregation   COH             197845270026                Gas           Gov. Aggregation
DEO             3500062464323               Gas           Gov. Aggregation   COH             203545080023                Gas           Gov. Aggregation
COH             187995020041                Gas           Gov. Aggregation   COH             191139420036                Gas           Gov. Aggregation
COH             141612750088                Gas           Gov. Aggregation   COH             204900130018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             196669460012                Gas           Gov. Aggregation   COH             196929320028                Gas           Gov. Aggregation
COH             191559750028                Gas           Gov. Aggregation   COH             197898370060                Gas           Gov. Aggregation
COH             189754440014                Gas           Gov. Aggregation   COH             197522650057                Gas           Gov. Aggregation
COH             196695370016                Gas           Gov. Aggregation   COH             204919730013                Gas           Gov. Aggregation
COH             192177570025                Gas           Gov. Aggregation   COH             207436890011                Gas           Gov. Aggregation
COH             177584650015                Gas           Gov. Aggregation   COH             205553770010                Gas           Gov. Aggregation
COH             130363670023                Gas           Gov. Aggregation   COH             207631940016                Gas           Gov. Aggregation
COH             160926760079                Gas           Gov. Aggregation   COH             197341570076                Gas           Gov. Aggregation
COH             151906970032                Gas           Gov. Aggregation   COH             206718350017                Gas           Gov. Aggregation
COH             189364700098                Gas           Gov. Aggregation   COH             206906300018                Gas           Gov. Aggregation
COH             121855930062                Gas           Gov. Aggregation   COH             199038080034                Gas           Gov. Aggregation
COH             171132370035                Gas           Gov. Aggregation   COH             204421350018                Gas           Gov. Aggregation
COH             140436390016                Gas           Gov. Aggregation   COH             203653250028                Gas           Gov. Aggregation
COH             138451170023                Gas           Gov. Aggregation   COH             190300520024                Gas           Gov. Aggregation
COH             109882710012                Gas           Gov. Aggregation   COH             205079660019                Gas           Gov. Aggregation
COH             196670990018                Gas           Gov. Aggregation   COH             207503950015                Gas           Gov. Aggregation
COH             196350010011                Gas           Gov. Aggregation   COH             207352570016                Gas           Gov. Aggregation
COH             196657160010                Gas           Gov. Aggregation   COH             204381840011                Gas           Gov. Aggregation
COH             190494970012                Gas           Gov. Aggregation   COH             194612940049                Gas           Gov. Aggregation
COH             196775760014                Gas           Gov. Aggregation   COH             125792670012                Gas           Gov. Aggregation
COH             123700300041                Gas           Gov. Aggregation   COH             206478290010                Gas           Gov. Aggregation
COH             157809940047                Gas           Gov. Aggregation   COH             207552270015                Gas           Gov. Aggregation
COH             158412752929                Gas           Gov. Aggregation   COH             188945900095                Gas           Gov. Aggregation
COH             154593620046                Gas           Gov. Aggregation   COH             185495520164                Gas           Gov. Aggregation
COH             196778090019                Gas           Gov. Aggregation   COH             170757390056                Gas           Gov. Aggregation
COH             152517300036                Gas           Gov. Aggregation   COH             206062220015                Gas           Gov. Aggregation
COH             139277650085                Gas           Gov. Aggregation   COH             206062220033                Gas           Gov. Aggregation
COH             138693180010                Gas           Gov. Aggregation   COH             206062220051                Gas           Gov. Aggregation
COH             140959920016                Gas           Gov. Aggregation   COH             208030940019                Gas           Gov. Aggregation
COH             196792470019                Gas           Gov. Aggregation   COH             207489200014                Gas           Gov. Aggregation
COH             155068020017                Gas           Gov. Aggregation   COH             204525080033                Gas           Gov. Aggregation
COH             139703970065                Gas           Gov. Aggregation   COH             175957080034                Gas           Gov. Aggregation
COH             174561970019                Gas           Gov. Aggregation   COH             204525080051                Gas           Gov. Aggregation
COH             196813770010                Gas           Gov. Aggregation   COH             204525080079                Gas           Gov. Aggregation
COH             196611840013                Gas           Gov. Aggregation   COH             140318340070                Gas           Gov. Aggregation
COH             196736440013                Gas           Gov. Aggregation   COH             206686060017                Gas           Gov. Aggregation
COH             167135450010                Gas           Gov. Aggregation   COH             185495520182                Gas           Gov. Aggregation
COH             196196950012                Gas           Gov. Aggregation   COH             165429880055                Gas           Gov. Aggregation
COH             173394310022                Gas           Gov. Aggregation   COH             206591060018                Gas           Gov. Aggregation
COH             195384200020                Gas           Gov. Aggregation   COH             174679030053                Gas           Gov. Aggregation
COH             143353420021                Gas           Gov. Aggregation   COH             205115560012                Gas           Gov. Aggregation
COH             193454540022                Gas           Gov. Aggregation   COH             207725290014                Gas           Gov. Aggregation
COH             155096710013                Gas           Gov. Aggregation   COH             206779510015                Gas           Gov. Aggregation
COH             133952020027                Gas           Gov. Aggregation   COH             185781020144                Gas           Gov. Aggregation
COH             175321480037                Gas           Gov. Aggregation   COH             125514900020                Gas           Gov. Aggregation
COH             170627170011                Gas           Gov. Aggregation   COH             186820870034                Gas           Gov. Aggregation
COH             187962290017                Gas           Gov. Aggregation   COH             207883230012                Gas           Gov. Aggregation
COH             193701900012                Gas           Gov. Aggregation   COH             202891620036                Gas           Gov. Aggregation
COH             190046850025                Gas           Gov. Aggregation   COH             206935890014                Gas           Gov. Aggregation
COH             191961860022                Gas           Gov. Aggregation   COH             207554420019                Gas           Gov. Aggregation
COH             169944740012                Gas           Gov. Aggregation   COH             208253730011                Gas           Gov. Aggregation
COH             186148590039                Gas           Gov. Aggregation   COH             187026420040                Gas           Gov. Aggregation
COH             163361760029                Gas           Gov. Aggregation   COH             205857620017                Gas           Gov. Aggregation
COH             196738390010                Gas           Gov. Aggregation   COH             204675450010                Gas           Gov. Aggregation
COH             187148370016                Gas           Gov. Aggregation   COH             204749510010                Gas           Gov. Aggregation
COH             196669430018                Gas           Gov. Aggregation   COH             206117590011                Gas           Gov. Aggregation
COH             169426840073                Gas           Gov. Aggregation   COH             197060820033                Gas           Gov. Aggregation
COH             189251330013                Gas           Gov. Aggregation   COH             171253150035                Gas           Gov. Aggregation
COH             168421080010                Gas           Gov. Aggregation   COH             206545050017                Gas           Gov. Aggregation
COH             196732050013                Gas           Gov. Aggregation   COH             150502950060                Gas           Gov. Aggregation
COH             169068070011                Gas           Gov. Aggregation   COH             205640990019                Gas           Gov. Aggregation
COH             165624280011                Gas           Gov. Aggregation   COH             166278200048                Gas           Gov. Aggregation
COH             124036820013                Gas           Gov. Aggregation   COH             188675560036                Gas           Gov. Aggregation
COH             168932590047                Gas           Gov. Aggregation   COH             190444620038                Gas           Gov. Aggregation
COH             147225610028                Gas           Gov. Aggregation   COH             196509860061                Gas           Gov. Aggregation
COH             124436680015                Gas           Gov. Aggregation   COH             136519290062                Gas           Gov. Aggregation
COH             162076870022                Gas           Gov. Aggregation   COH             208081980014                Gas           Gov. Aggregation
COH             196668380011                Gas           Gov. Aggregation   COH             177826940056                Gas           Gov. Aggregation
COH             168687140015                Gas           Gov. Aggregation   COH             130839000033                Gas           Gov. Aggregation
COH             110599940012                Gas           Gov. Aggregation   COH             204459790017                Gas           Gov. Aggregation
COH             116642900011                Gas           Gov. Aggregation   COH             206770650014                Gas           Gov. Aggregation
COH             136977730078                Gas           Gov. Aggregation   COH             158443990024                Gas           Gov. Aggregation
COH             196625170015                Gas           Gov. Aggregation   COH             204547650019                Gas           Gov. Aggregation
COH             111324300016                Gas           Gov. Aggregation   COH             207624710019                Gas           Gov. Aggregation
COH             172156320034                Gas           Gov. Aggregation   COH             203351160018                Gas           Gov. Aggregation
COH             194880030016                Gas           Gov. Aggregation   COH             206183880011                Gas           Gov. Aggregation
COH             191304470035                Gas           Gov. Aggregation   COH             119917940026                Gas           Gov. Aggregation
COH             175956990026                Gas           Gov. Aggregation   VEDO            4016146622256236            Gas           Gov. Aggregation
COH             139558370024                Gas           Gov. Aggregation   VEDO            4003977552585406            Gas           Gov. Aggregation
COH             129933350079                Gas           Gov. Aggregation   VEDO            4002858942324925            Gas           Gov. Aggregation
COH             196653730018                Gas           Gov. Aggregation   VEDO            4003964412253008            Gas           Gov. Aggregation
COH             171944340012                Gas           Gov. Aggregation   COH             108817780114                Gas           Gov. Aggregation
COH             134979540012                Gas           Gov. Aggregation   COH             200598690036                Gas           Gov. Aggregation
COH             123733480027                Gas           Gov. Aggregation   COH             203566430016                Gas           Gov. Aggregation
COH             196749020014                Gas           Gov. Aggregation   COH             204747740016                Gas           Gov. Aggregation
COH             122468720011                Gas           Gov. Aggregation   COH             202899430012                Gas           Gov. Aggregation
VEDO            4016705142162414            Gas           Gov. Aggregation   COH             202899720011                Gas           Gov. Aggregation
VEDO            4018233492405783            Gas           Gov. Aggregation   COH             203917710012                Gas           Gov. Aggregation
VEDO            4001427682467071            Gas           Gov. Aggregation   COH             205436890013                Gas           Gov. Aggregation
VEDO            4019280892355078            Gas           Gov. Aggregation   COH             170485350042                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4018883802378058            Gas           Gov. Aggregation   COH             204327520012                Gas           Gov. Aggregation
COH             124569910024                Gas           Gov. Aggregation   COH             205109360017                Gas           Gov. Aggregation
COH             124571990023                Gas           Gov. Aggregation   COH             196749770026                Gas           Gov. Aggregation
COH             192103040012                Gas           Gov. Aggregation   COH             153578580057                Gas           Gov. Aggregation
COH             194334530018                Gas           Gov. Aggregation   COH             202504380018                Gas           Gov. Aggregation
COH             131302760030                Gas           Gov. Aggregation   COH             205992830017                Gas           Gov. Aggregation
COH             124582170022                Gas           Gov. Aggregation   COH             206659340015                Gas           Gov. Aggregation
COH             124581640016                Gas           Gov. Aggregation   COH             203794830019                Gas           Gov. Aggregation
COH             124581650023                Gas           Gov. Aggregation   COH             205417420011                Gas           Gov. Aggregation
COH             127648020011                Gas           Gov. Aggregation   COH             204651450010                Gas           Gov. Aggregation
COH             124135280026                Gas           Gov. Aggregation   COH             205553920018                Gas           Gov. Aggregation
COH             166954480028                Gas           Gov. Aggregation   COH             205572020017                Gas           Gov. Aggregation
COH             175190930031                Gas           Gov. Aggregation   COH             205212640019                Gas           Gov. Aggregation
COH             124588210012                Gas           Gov. Aggregation   COH             204016030014                Gas           Gov. Aggregation
COH             124582890012                Gas           Gov. Aggregation   COH             205565000016                Gas           Gov. Aggregation
COH             124586770028                Gas           Gov. Aggregation   COH             206674670014                Gas           Gov. Aggregation
COH             124586990013                Gas           Gov. Aggregation   COH             206198560017                Gas           Gov. Aggregation
COH             126860920022                Gas           Gov. Aggregation   COH             195111400025                Gas           Gov. Aggregation
COH             124593830011                Gas           Gov. Aggregation   COH             157807270051                Gas           Gov. Aggregation
COH             124575800033                Gas           Gov. Aggregation   COH             204461190018                Gas           Gov. Aggregation
COH             143055460025                Gas           Gov. Aggregation   COH             204707080019                Gas           Gov. Aggregation
COH             150645260027                Gas           Gov. Aggregation   COH             204154430018                Gas           Gov. Aggregation
COH             161429590096                Gas           Gov. Aggregation   COH             196612600039                Gas           Gov. Aggregation
COH             164367830030                Gas           Gov. Aggregation   COH             203325880021                Gas           Gov. Aggregation
COH             188344180019                Gas           Gov. Aggregation   COH             125096570028                Gas           Gov. Aggregation
COH             135240170014                Gas           Gov. Aggregation   COH             162875570021                Gas           Gov. Aggregation
COH             135321820015                Gas           Gov. Aggregation   COH             140287900015                Gas           Gov. Aggregation
COH             137147570052                Gas           Gov. Aggregation   COH             145498610041                Gas           Gov. Aggregation
COH             176906050018                Gas           Gov. Aggregation   COH             156622130053                Gas           Gov. Aggregation
COH             161484620011                Gas           Gov. Aggregation   COH             205900120019                Gas           Gov. Aggregation
COH             124586610012                Gas           Gov. Aggregation   COH             176569450010                Gas           Gov. Aggregation
COH             188580530015                Gas           Gov. Aggregation   COH             207814570016                Gas           Gov. Aggregation
COH             196559660013                Gas           Gov. Aggregation   COH             198783170028                Gas           Gov. Aggregation
COH             124609160026                Gas           Gov. Aggregation   COH             145630650032                Gas           Gov. Aggregation
COH             114929290023                Gas           Gov. Aggregation   COH             156716070557                Gas           Gov. Aggregation
COH             162505490012                Gas           Gov. Aggregation   COH             208209990010                Gas           Gov. Aggregation
COH             138555450015                Gas           Gov. Aggregation   COH             202348100027                Gas           Gov. Aggregation
COH             165751170015                Gas           Gov. Aggregation   COH             207697570025                Gas           Gov. Aggregation
COH             162893780010                Gas           Gov. Aggregation   COH             206592930013                Gas           Gov. Aggregation
COH             187939780013                Gas           Gov. Aggregation   COH             206360060017                Gas           Gov. Aggregation
COH             194205500017                Gas           Gov. Aggregation   COH             207224150015                Gas           Gov. Aggregation
COH             124564170011                Gas           Gov. Aggregation   COH             207476820011                Gas           Gov. Aggregation
COH             175943470022                Gas           Gov. Aggregation   COH             207398450015                Gas           Gov. Aggregation
COH             124581150019                Gas           Gov. Aggregation   COH             171303920152                Gas           Gov. Aggregation
COH             124239180045                Gas           Gov. Aggregation   COH             171303920232                Gas           Gov. Aggregation
COH             155627190016                Gas           Gov. Aggregation   COH             208079290014                Gas           Gov. Aggregation
COH             186253190012                Gas           Gov. Aggregation   COH             202751920057                Gas           Gov. Aggregation
COH             168645100020                Gas           Gov. Aggregation   COH             205873510490                Gas           Gov. Aggregation
COH             191361870013                Gas           Gov. Aggregation   COH             205982590019                Gas           Gov. Aggregation
COH             194711340018                Gas           Gov. Aggregation   COH             207363120017                Gas           Gov. Aggregation
COH             194337100012                Gas           Gov. Aggregation   COH             207501480018                Gas           Gov. Aggregation
COH             194860980019                Gas           Gov. Aggregation   COH             207477040013                Gas           Gov. Aggregation
COH             195591990017                Gas           Gov. Aggregation   COH             188949050023                Gas           Gov. Aggregation
COH             157911980042                Gas           Gov. Aggregation   COH             206642160018                Gas           Gov. Aggregation
COH             124616390014                Gas           Gov. Aggregation   COH             207313770016                Gas           Gov. Aggregation
COH             124610610028                Gas           Gov. Aggregation   COH             206545030011                Gas           Gov. Aggregation
COH             111234820018                Gas           Gov. Aggregation   COH             139261920036                Gas           Gov. Aggregation
COH             193873870034                Gas           Gov. Aggregation   COH             149675800023                Gas           Gov. Aggregation
COH             111264800019                Gas           Gov. Aggregation   COH             205155790029                Gas           Gov. Aggregation
COH             162397670015                Gas           Gov. Aggregation   VEDO            4002261562221276            Gas           Gov. Aggregation
COH             192534680015                Gas           Gov. Aggregation   VEDO            4002019172567709            Gas           Gov. Aggregation
COH             195690250012                Gas           Gov. Aggregation   VEDO            4004042792405320            Gas           Gov. Aggregation
COH             195908340010                Gas           Gov. Aggregation   COH             192101720022                Gas           Gov. Aggregation
COH             135502060011                Gas           Gov. Aggregation   COH             207269060010                Gas           Gov. Aggregation
COH             111252900022                Gas           Gov. Aggregation   COH             206846950010                Gas           Gov. Aggregation
COH             111273340017                Gas           Gov. Aggregation   COH             207863670012                Gas           Gov. Aggregation
COH             111275190015                Gas           Gov. Aggregation   COH             207452020019                Gas           Gov. Aggregation
COH             191867820011                Gas           Gov. Aggregation   COH             206367500010                Gas           Gov. Aggregation
COH             192027380013                Gas           Gov. Aggregation   COH             206770840014                Gas           Gov. Aggregation
COH             190797750016                Gas           Gov. Aggregation   COH             207033780018                Gas           Gov. Aggregation
COH             111233520013                Gas           Gov. Aggregation   COH             133732890049                Gas           Gov. Aggregation
COH             159207880026                Gas           Gov. Aggregation   COH             196299630011                Gas           Gov. Aggregation
COH             168239540010                Gas           Gov. Aggregation   COH             111191730028                Gas           Gov. Aggregation
COH             169196690029                Gas           Gov. Aggregation   COH             198585350011                Gas           Gov. Aggregation
COH             172449920019                Gas           Gov. Aggregation   COH             198678190018                Gas           Gov. Aggregation
COH             174121770031                Gas           Gov. Aggregation   COH             195913340019                Gas           Gov. Aggregation
COH             161491180019                Gas           Gov. Aggregation   COH             192959300023                Gas           Gov. Aggregation
COH             149392510033                Gas           Gov. Aggregation   COH             193152030029                Gas           Gov. Aggregation
COH             141769850102                Gas           Gov. Aggregation   COH             198247310015                Gas           Gov. Aggregation
COH             189043050013                Gas           Gov. Aggregation   COH             197176590028                Gas           Gov. Aggregation
COH             190438720030                Gas           Gov. Aggregation   COH             192372590018                Gas           Gov. Aggregation
COH             192762940017                Gas           Gov. Aggregation   COH             174871840028                Gas           Gov. Aggregation
COH             188222320017                Gas           Gov. Aggregation   COH             123756540026                Gas           Gov. Aggregation
COH             174650610024                Gas           Gov. Aggregation   COH             131442210011                Gas           Gov. Aggregation
COH             192753960012                Gas           Gov. Aggregation   COH             125751770017                Gas           Gov. Aggregation
COH             193865180018                Gas           Gov. Aggregation   COH             194010140016                Gas           Gov. Aggregation
COH             174620980020                Gas           Gov. Aggregation   COH             193915430018                Gas           Gov. Aggregation
COH             111216690023                Gas           Gov. Aggregation   COH             189485910016                Gas           Gov. Aggregation
COH             131807000011                Gas           Gov. Aggregation   COH             177364480026                Gas           Gov. Aggregation
COH             146520560024                Gas           Gov. Aggregation   COH             186590520018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             134090590463                Gas           Gov. Aggregation   COH             194816680015                Gas           Gov. Aggregation
COH             195061240017                Gas           Gov. Aggregation   COH             125793250027                Gas           Gov. Aggregation
COH             194975420013                Gas           Gov. Aggregation   COH             169342420033                Gas           Gov. Aggregation
COH             133308390016                Gas           Gov. Aggregation   COH             169054310091                Gas           Gov. Aggregation
COH             148108180017                Gas           Gov. Aggregation   COH             162585530033                Gas           Gov. Aggregation
COH             129579700013                Gas           Gov. Aggregation   COH             133423000022                Gas           Gov. Aggregation
COH             170682630018                Gas           Gov. Aggregation   COH             198716040017                Gas           Gov. Aggregation
COH             127305110063                Gas           Gov. Aggregation   COH             199489900018                Gas           Gov. Aggregation
COH             111274180288                Gas           Gov. Aggregation   COH             163296300015                Gas           Gov. Aggregation
COH             111269160023                Gas           Gov. Aggregation   COH             147081440020                Gas           Gov. Aggregation
COH             110462160024                Gas           Gov. Aggregation   COH             198945910019                Gas           Gov. Aggregation
COH             192330280011                Gas           Gov. Aggregation   COH             194857110027                Gas           Gov. Aggregation
COH             196287830014                Gas           Gov. Aggregation   COH             154691090022                Gas           Gov. Aggregation
COH             188948290016                Gas           Gov. Aggregation   COH             197051300013                Gas           Gov. Aggregation
COH             188414260013                Gas           Gov. Aggregation   COH             175518730037                Gas           Gov. Aggregation
COH             195793550011                Gas           Gov. Aggregation   DEO             4180002974162               Gas           Gov. Aggregation
COH             189850430012                Gas           Gov. Aggregation   COH             201167500037                Gas           Gov. Aggregation
COH             163892860014                Gas           Gov. Aggregation   COH             201836810015                Gas           Gov. Aggregation
COH             151304310125                Gas           Gov. Aggregation   COH             191868210026                Gas           Gov. Aggregation
VEDO            4018922792406617            Gas           Gov. Aggregation   COH             195161030028                Gas           Gov. Aggregation
COH             109883040020                Gas           Gov. Aggregation   COH             199968570012                Gas           Gov. Aggregation
COH             110960230014                Gas           Gov. Aggregation   COH             187600840044                Gas           Gov. Aggregation
COH             111292000018                Gas           Gov. Aggregation   COH             202140710010                Gas           Gov. Aggregation
COH             115335640036                Gas           Gov. Aggregation   COH             141316070061                Gas           Gov. Aggregation
COH             118672520034                Gas           Gov. Aggregation   COH             146064600014                Gas           Gov. Aggregation
COH             120204320024                Gas           Gov. Aggregation   COH             147115400025                Gas           Gov. Aggregation
COH             123863840026                Gas           Gov. Aggregation   COH             143436980019                Gas           Gov. Aggregation
COH             123918280018                Gas           Gov. Aggregation   COH             201449960015                Gas           Gov. Aggregation
COH             135325270022                Gas           Gov. Aggregation   COH             202305140010                Gas           Gov. Aggregation
COH             142661810018                Gas           Gov. Aggregation   COH             202610260018                Gas           Gov. Aggregation
COH             145462700010                Gas           Gov. Aggregation   COH             202576390015                Gas           Gov. Aggregation
COH             148616470019                Gas           Gov. Aggregation   COH             201391140010                Gas           Gov. Aggregation
COH             152864710017                Gas           Gov. Aggregation   COH             202772110017                Gas           Gov. Aggregation
COH             153755450058                Gas           Gov. Aggregation   COH             145110300037                Gas           Gov. Aggregation
COH             154552530014                Gas           Gov. Aggregation   COH             157546680022                Gas           Gov. Aggregation
COH             155779830074                Gas           Gov. Aggregation   COH             163871950028                Gas           Gov. Aggregation
COH             158474480017                Gas           Gov. Aggregation   COH             162608870069                Gas           Gov. Aggregation
COH             159544850126                Gas           Gov. Aggregation   COH             161635120033                Gas           Gov. Aggregation
COH             159787740054                Gas           Gov. Aggregation   COH             161635190020                Gas           Gov. Aggregation
COH             160193590025                Gas           Gov. Aggregation   COH             160518930032                Gas           Gov. Aggregation
COH             161017690016                Gas           Gov. Aggregation   COH             160838480039                Gas           Gov. Aggregation
COH             161675360066                Gas           Gov. Aggregation   COH             198110900010                Gas           Gov. Aggregation
COH             161715470030                Gas           Gov. Aggregation   COH             205269750017                Gas           Gov. Aggregation
COH             166834490039                Gas           Gov. Aggregation   COH             201958610019                Gas           Gov. Aggregation
COH             167429270051                Gas           Gov. Aggregation   COH             205033710014                Gas           Gov. Aggregation
COH             167506550281                Gas           Gov. Aggregation   COH             205115390018                Gas           Gov. Aggregation
COH             168023690043                Gas           Gov. Aggregation   COH             204730460010                Gas           Gov. Aggregation
COH             168292720038                Gas           Gov. Aggregation   COH             204399850012                Gas           Gov. Aggregation
COH             168747720033                Gas           Gov. Aggregation   COH             206231540019                Gas           Gov. Aggregation
COH             176377980034                Gas           Gov. Aggregation   COH             202891870132                Gas           Gov. Aggregation
COH             176384380115                Gas           Gov. Aggregation   COH             205113200011                Gas           Gov. Aggregation
COH             186953070022                Gas           Gov. Aggregation   COH             185327870031                Gas           Gov. Aggregation
COH             187507730036                Gas           Gov. Aggregation   COH             199185570030                Gas           Gov. Aggregation
COH             189593050027                Gas           Gov. Aggregation   COH             205786830014                Gas           Gov. Aggregation
COH             189993020034                Gas           Gov. Aggregation   COH             195346800033                Gas           Gov. Aggregation
COH             190403040018                Gas           Gov. Aggregation   COH             193326600011                Gas           Gov. Aggregation
COH             192161790059                Gas           Gov. Aggregation   COH             198191700012                Gas           Gov. Aggregation
COH             192946090025                Gas           Gov. Aggregation   COH             196882160013                Gas           Gov. Aggregation
COH             193130310017                Gas           Gov. Aggregation   COH             175543390045                Gas           Gov. Aggregation
COH             193948270013                Gas           Gov. Aggregation   COH             199554970015                Gas           Gov. Aggregation
COH             196636180010                Gas           Gov. Aggregation   COH             190850710029                Gas           Gov. Aggregation
COH             196767280012                Gas           Gov. Aggregation   COH             167479730068                Gas           Gov. Aggregation
COH             196772740014                Gas           Gov. Aggregation   COH             198084750019                Gas           Gov. Aggregation
COH             196777990012                Gas           Gov. Aggregation   COH             142050470042                Gas           Gov. Aggregation
COH             196787670018                Gas           Gov. Aggregation   COH             115072540017                Gas           Gov. Aggregation
COH             196804090012                Gas           Gov. Aggregation   COH             115072180013                Gas           Gov. Aggregation
COH             196809100019                Gas           Gov. Aggregation   COH             150040720068                Gas           Gov. Aggregation
COH             196834920014                Gas           Gov. Aggregation   COH             149334780066                Gas           Gov. Aggregation
COH             196838120014                Gas           Gov. Aggregation   COH             152203420027                Gas           Gov. Aggregation
COH             196841950013                Gas           Gov. Aggregation   COH             197318870018                Gas           Gov. Aggregation
COH             196852220013                Gas           Gov. Aggregation   COH             199784660013                Gas           Gov. Aggregation
COH             196871030013                Gas           Gov. Aggregation   COH             127505530025                Gas           Gov. Aggregation
COH             196884440010                Gas           Gov. Aggregation   COH             199967830019                Gas           Gov. Aggregation
COH             196915810015                Gas           Gov. Aggregation   COH             200193280012                Gas           Gov. Aggregation
COH             196930730010                Gas           Gov. Aggregation   COH             200197060010                Gas           Gov. Aggregation
COH             196941630018                Gas           Gov. Aggregation   COH             200258360017                Gas           Gov. Aggregation
COH             196952940010                Gas           Gov. Aggregation   COH             200718220010                Gas           Gov. Aggregation
COH             196960640016                Gas           Gov. Aggregation   COH             117360740021                Gas           Gov. Aggregation
COH             197002110016                Gas           Gov. Aggregation   COH             172312050011                Gas           Gov. Aggregation
VEDO            4003779132470244            Gas           Gov. Aggregation   VEDO            4001103252341298            Gas           Gov. Aggregation
DEO             0500064775470               Gas           Gov. Aggregation   COH             202862990012                Gas           Gov. Aggregation
DEO             8500064643172               Gas           Gov. Aggregation   COH             202397190017                Gas           Gov. Aggregation
COH             197060960016                Gas           Gov. Aggregation   COH             202342760012                Gas           Gov. Aggregation
COH             193627270013                Gas           Gov. Aggregation   COH             172467970011                Gas           Gov. Aggregation
COH             194588010010                Gas           Gov. Aggregation   COH             200714850016                Gas           Gov. Aggregation
COH             169003040022                Gas           Gov. Aggregation   COH             202775360019                Gas           Gov. Aggregation
COH             196512230011                Gas           Gov. Aggregation   COH             203536970016                Gas           Gov. Aggregation
COH             165549310041                Gas           Gov. Aggregation   COH             130930490019                Gas           Gov. Aggregation
COH             196560660010                Gas           Gov. Aggregation   COH             200744010028                Gas           Gov. Aggregation
COH             169361060011                Gas           Gov. Aggregation   COH             115072390028                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             176615330203                Gas           Gov. Aggregation   COH             199264260037                Gas           Gov. Aggregation
COH             172801370026                Gas           Gov. Aggregation   COH             201988500019                Gas           Gov. Aggregation
COH             149330920019                Gas           Gov. Aggregation   COH             205368660016                Gas           Gov. Aggregation
COH             147371720017                Gas           Gov. Aggregation   COH             205128830018                Gas           Gov. Aggregation
COH             185332520015                Gas           Gov. Aggregation   COH             172441740068                Gas           Gov. Aggregation
COH             189562140023                Gas           Gov. Aggregation   COH             188118900025                Gas           Gov. Aggregation
COH             158095330021                Gas           Gov. Aggregation   COH             144970150029                Gas           Gov. Aggregation
COH             192192641410                Gas           Gov. Aggregation   COH             151637220021                Gas           Gov. Aggregation
COH             186028110024                Gas           Gov. Aggregation   COH             114959140030                Gas           Gov. Aggregation
COH             185126270042                Gas           Gov. Aggregation   COH             143554780048                Gas           Gov. Aggregation
COH             174884130039                Gas           Gov. Aggregation   COH             149257100017                Gas           Gov. Aggregation
COH             173763830039                Gas           Gov. Aggregation   COH             121965080013                Gas           Gov. Aggregation
COH             176544690021                Gas           Gov. Aggregation   COH             160992400039                Gas           Gov. Aggregation
COH             177154420032                Gas           Gov. Aggregation   COH             165671040012                Gas           Gov. Aggregation
COH             193467560012                Gas           Gov. Aggregation   COH             111099930013                Gas           Gov. Aggregation
COH             193511880010                Gas           Gov. Aggregation   COH             111052170011                Gas           Gov. Aggregation
COH             193238170019                Gas           Gov. Aggregation   COH             111162360018                Gas           Gov. Aggregation
COH             194341540020                Gas           Gov. Aggregation   COH             111113530024                Gas           Gov. Aggregation
COH             169250040047                Gas           Gov. Aggregation   COH             111112260014                Gas           Gov. Aggregation
COH             170226290025                Gas           Gov. Aggregation   COH             164647890034                Gas           Gov. Aggregation
COH             161962950054                Gas           Gov. Aggregation   COH             111076630023                Gas           Gov. Aggregation
COH             163717780011                Gas           Gov. Aggregation   COH             205361100017                Gas           Gov. Aggregation
COH             139825830020                Gas           Gov. Aggregation   COH             206349580012                Gas           Gov. Aggregation
COH             196910150014                Gas           Gov. Aggregation   COH             172440180040                Gas           Gov. Aggregation
VEDO            4018804542169113            Gas           Gov. Aggregation   COH             174016360021                Gas           Gov. Aggregation
VEDO            4003601552535383            Gas           Gov. Aggregation   COH             203001240021                Gas           Gov. Aggregation
DEO             5500064868412               Gas           Gov. Aggregation   COH             203620630027                Gas           Gov. Aggregation
VEDO            4019064702441611            Gas           Gov. Aggregation   COH             204345030017                Gas           Gov. Aggregation
COH             169490930355                Gas           Gov. Aggregation   COH             203379520023                Gas           Gov. Aggregation
COH             196810560010                Gas           Gov. Aggregation   COH             187837960048                Gas           Gov. Aggregation
COH             148316660024                Gas           Gov. Aggregation   COH             188519460037                Gas           Gov. Aggregation
COH             194657000024                Gas           Gov. Aggregation   COH             188519460046                Gas           Gov. Aggregation
COH             195997440012                Gas           Gov. Aggregation   COH             200638370028                Gas           Gov. Aggregation
COH             108784140039                Gas           Gov. Aggregation   COH             204721860015                Gas           Gov. Aggregation
COH             131819300022                Gas           Gov. Aggregation   COH             204778630014                Gas           Gov. Aggregation
COH             176847300011                Gas           Gov. Aggregation   COH             205096520012                Gas           Gov. Aggregation
COH             108855060026                Gas           Gov. Aggregation   COH             205313020015                Gas           Gov. Aggregation
COH             196937540016                Gas           Gov. Aggregation   COH             122345040023                Gas           Gov. Aggregation
VEDO            4018028182199337            Gas           Gov. Aggregation   COH             158144440041                Gas           Gov. Aggregation
COH             111215520011                Gas           Gov. Aggregation   VEDO            4002757972625509            Gas           Gov. Aggregation
COH             111281650015                Gas           Gov. Aggregation   VEDO            4003658302181922            Gas           Gov. Aggregation
COH             111318040023                Gas           Gov. Aggregation   COH             206984430017                Gas           Gov. Aggregation
COH             120446430010                Gas           Gov. Aggregation   COH             199555750028                Gas           Gov. Aggregation
COH             120532930012                Gas           Gov. Aggregation   COH             176977630035                Gas           Gov. Aggregation
COH             124563960035                Gas           Gov. Aggregation   COH             176998670015                Gas           Gov. Aggregation
COH             130422520019                Gas           Gov. Aggregation   COH             177156870043                Gas           Gov. Aggregation
COH             131239170011                Gas           Gov. Aggregation   COH             196921130015                Gas           Gov. Aggregation
COH             135541980061                Gas           Gov. Aggregation   COH             196917580010                Gas           Gov. Aggregation
COH             139392160100                Gas           Gov. Aggregation   COH             197857820016                Gas           Gov. Aggregation
COH             147083550041                Gas           Gov. Aggregation   COH             189031650012                Gas           Gov. Aggregation
COH             147226110030                Gas           Gov. Aggregation   COH             194894900014                Gas           Gov. Aggregation
COH             151349012024                Gas           Gov. Aggregation   COH             194814860011                Gas           Gov. Aggregation
COH             152238970038                Gas           Gov. Aggregation   COH             132081530019                Gas           Gov. Aggregation
COH             154586350039                Gas           Gov. Aggregation   COH             164956530016                Gas           Gov. Aggregation
COH             155217330024                Gas           Gov. Aggregation   COH             127338290021                Gas           Gov. Aggregation
COH             157528480022                Gas           Gov. Aggregation   COH             124933390021                Gas           Gov. Aggregation
COH             157825430013                Gas           Gov. Aggregation   COH             177326420037                Gas           Gov. Aggregation
COH             159418390013                Gas           Gov. Aggregation   COH             133302210033                Gas           Gov. Aggregation
COH             160674930023                Gas           Gov. Aggregation   COH             122673870051                Gas           Gov. Aggregation
COH             161834240081                Gas           Gov. Aggregation   COH             148908400014                Gas           Gov. Aggregation
COH             162654770027                Gas           Gov. Aggregation   COH             156733250026                Gas           Gov. Aggregation
COH             164054690097                Gas           Gov. Aggregation   COH             194248820029                Gas           Gov. Aggregation
COH             165803800011                Gas           Gov. Aggregation   COH             111035420014                Gas           Gov. Aggregation
COH             166130800026                Gas           Gov. Aggregation   COH             111035430012                Gas           Gov. Aggregation
COH             169472110042                Gas           Gov. Aggregation   COH             168808180019                Gas           Gov. Aggregation
COH             172510690035                Gas           Gov. Aggregation   COH             193836940019                Gas           Gov. Aggregation
COH             172874910010                Gas           Gov. Aggregation   COH             177107310016                Gas           Gov. Aggregation
COH             173112440021                Gas           Gov. Aggregation   COH             156125840012                Gas           Gov. Aggregation
COH             173441620026                Gas           Gov. Aggregation   COH             162018590014                Gas           Gov. Aggregation
COH             174414620031                Gas           Gov. Aggregation   COH             161358410012                Gas           Gov. Aggregation
COH             187973240050                Gas           Gov. Aggregation   COH             161385690026                Gas           Gov. Aggregation
COH             189170930046                Gas           Gov. Aggregation   COH             162112260013                Gas           Gov. Aggregation
COH             191938960011                Gas           Gov. Aggregation   COH             160290140032                Gas           Gov. Aggregation
COH             191971820083                Gas           Gov. Aggregation   DEO             4120000019151               Gas           Gov. Aggregation
COH             192131293563                Gas           Gov. Aggregation   COH             203293050015                Gas           Gov. Aggregation
COH             194320450014                Gas           Gov. Aggregation   COH             142888890021                Gas           Gov. Aggregation
COH             195716190019                Gas           Gov. Aggregation   COH             185417460036                Gas           Gov. Aggregation
COH             196614860013                Gas           Gov. Aggregation   COH             114447660018                Gas           Gov. Aggregation
COH             196883130017                Gas           Gov. Aggregation   COH             166844180033                Gas           Gov. Aggregation
COH             196895880015                Gas           Gov. Aggregation   COH             203446820018                Gas           Gov. Aggregation
COH             196910310010                Gas           Gov. Aggregation   COH             188719230022                Gas           Gov. Aggregation
COH             196922490018                Gas           Gov. Aggregation   COH             193068820031                Gas           Gov. Aggregation
COH             196925330015                Gas           Gov. Aggregation   COH             194218080028                Gas           Gov. Aggregation
COH             196947180011                Gas           Gov. Aggregation   COH             200134110011                Gas           Gov. Aggregation
COH             196950280013                Gas           Gov. Aggregation   COH             200439590015                Gas           Gov. Aggregation
COH             196960950011                Gas           Gov. Aggregation   COH             201466030014                Gas           Gov. Aggregation
COH             196975950010                Gas           Gov. Aggregation   COH             200003920018                Gas           Gov. Aggregation
COH             196978160010                Gas           Gov. Aggregation   COH             202887610019                Gas           Gov. Aggregation
COH             197003520018                Gas           Gov. Aggregation   COH             196293570016                Gas           Gov. Aggregation
COH             197017780015                Gas           Gov. Aggregation   COH             111177950022                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             197027730014                Gas           Gov. Aggregation   DEO             5180004025274               Gas           Gov. Aggregation
COH             197028470017                Gas           Gov. Aggregation   COH             168520960024                Gas           Gov. Aggregation
COH             197034940015                Gas           Gov. Aggregation   COH             203294410017                Gas           Gov. Aggregation
COH             197046980012                Gas           Gov. Aggregation   COH             203792360012                Gas           Gov. Aggregation
COH             197072940015                Gas           Gov. Aggregation   COH             124636980018                Gas           Gov. Aggregation
COH             197074090010                Gas           Gov. Aggregation   COH             176841630023                Gas           Gov. Aggregation
COH             197090770013                Gas           Gov. Aggregation   COH             202464530012                Gas           Gov. Aggregation
COH             197096930017                Gas           Gov. Aggregation   COH             125885770041                Gas           Gov. Aggregation
COH             197122020011                Gas           Gov. Aggregation   COH             203080750019                Gas           Gov. Aggregation
COH             197124520012                Gas           Gov. Aggregation   COH             111046870017                Gas           Gov. Aggregation
COH             197152260018                Gas           Gov. Aggregation   COH             202130860010                Gas           Gov. Aggregation
COH             197165660017                Gas           Gov. Aggregation   COH             203056860017                Gas           Gov. Aggregation
VEDO            4003422252120282            Gas           Gov. Aggregation   COH             116271230117                Gas           Gov. Aggregation
VEDO            4018583022532238            Gas           Gov. Aggregation   COH             117617460123                Gas           Gov. Aggregation
VEDO            4018531712264987            Gas           Gov. Aggregation   COH             121847250124                Gas           Gov. Aggregation
VEDO            4015232562321204            Gas           Gov. Aggregation   COH             123066910067                Gas           Gov. Aggregation
COH             115002980030                Gas           Gov. Aggregation   COH             143718080056                Gas           Gov. Aggregation
VEDO            4004938012513192            Gas           Gov. Aggregation   COH             145744840175                Gas           Gov. Aggregation
VEDO            4001058042105463            Gas           Gov. Aggregation   COH             146129530066                Gas           Gov. Aggregation
VEDO            4016321332610097            Gas           Gov. Aggregation   COH             186548290089                Gas           Gov. Aggregation
VEDO            4004196172422053            Gas           Gov. Aggregation   COH             187255620043                Gas           Gov. Aggregation
VEDO            4015774962150949            Gas           Gov. Aggregation   COH             188019360323                Gas           Gov. Aggregation
VEDO            4016017252382105            Gas           Gov. Aggregation   COH             191624400040                Gas           Gov. Aggregation
VEDO            4016158772217508            Gas           Gov. Aggregation   COH             177508610111                Gas           Gov. Aggregation
COH             176409510015                Gas           Gov. Aggregation   COH             185293060230                Gas           Gov. Aggregation
COH             192868940013                Gas           Gov. Aggregation   COH             199838190017                Gas           Gov. Aggregation
COH             155271160035                Gas           Gov. Aggregation   COH             140773870039                Gas           Gov. Aggregation
VEDO            4002819942276958            Gas           Gov. Aggregation   COH             122019070046                Gas           Gov. Aggregation
VEDO            4002819942212854            Gas           Gov. Aggregation   COH             177405330010                Gas           Gov. Aggregation
VEDO            4003163232312175            Gas           Gov. Aggregation   COH             174795340034                Gas           Gov. Aggregation
DEO             9500065127464               Gas           Gov. Aggregation   COH             198688330026                Gas           Gov. Aggregation
DEO             8500064962395               Gas           Gov. Aggregation   COH             203704110028                Gas           Gov. Aggregation
VEDO            4001399362383284            Gas           Gov. Aggregation   COH             167850060114                Gas           Gov. Aggregation
VEDO            4019319902406667            Gas           Gov. Aggregation   COH             172604770020                Gas           Gov. Aggregation
COH             160394700016                Gas           Gov. Aggregation   COH             175813340033                Gas           Gov. Aggregation
VEDO            4016840892529628            Gas           Gov. Aggregation   COH             204108710016                Gas           Gov. Aggregation
VEDO            4017422512313054            Gas           Gov. Aggregation   COH             204910170019                Gas           Gov. Aggregation
VEDO            4017422512192357            Gas           Gov. Aggregation   COH             206813030012                Gas           Gov. Aggregation
COH             117477720064                Gas           Gov. Aggregation   COH             131658080049                Gas           Gov. Aggregation
COH             118032350045                Gas           Gov. Aggregation   COH             131987100029                Gas           Gov. Aggregation
COH             118667980057                Gas           Gov. Aggregation   COH             206634590015                Gas           Gov. Aggregation
COH             124230510043                Gas           Gov. Aggregation   COH             131200900045                Gas           Gov. Aggregation
COH             125459760046                Gas           Gov. Aggregation   COH             205274300010                Gas           Gov. Aggregation
COH             134579370016                Gas           Gov. Aggregation   VEDO            4002430832237965            Gas           Gov. Aggregation
COH             136383650029                Gas           Gov. Aggregation   VEDO            4004989002509440            Gas           Gov. Aggregation
COH             136384040043                Gas           Gov. Aggregation   COH             193583080035                Gas           Gov. Aggregation
COH             138586450083                Gas           Gov. Aggregation   COH             194172260028                Gas           Gov. Aggregation
COH             139301344136                Gas           Gov. Aggregation   COH             196032730023                Gas           Gov. Aggregation
COH             139301344154                Gas           Gov. Aggregation   DUKE            1260055422                  Gas           Gov. Aggregation
COH             142253540029                Gas           Gov. Aggregation   DUKE            5400364203                  Gas           Gov. Aggregation
COH             147856670083                Gas           Gov. Aggregation   DUKE            5870052120                  Gas           Gov. Aggregation
COH             149207750034                Gas           Gov. Aggregation   DUKE            4870052132                  Gas           Gov. Aggregation
COH             150264750068                Gas           Gov. Aggregation   DUKE            9190202704                  Gas           Gov. Aggregation
COH             152206710020                Gas           Gov. Aggregation   DUKE            9070052150                  Gas           Gov. Aggregation
COH             152273800057                Gas           Gov. Aggregation   DUKE            0290058321                  Gas           Gov. Aggregation
COH             152822540039                Gas           Gov. Aggregation   DUKE            5190058338                  Gas           Gov. Aggregation
COH             154797460020                Gas           Gov. Aggregation   DUKE            8190058330                  Gas           Gov. Aggregation
COH             155223970045                Gas           Gov. Aggregation   DUKE            7500082222                  Gas           Gov. Aggregation
COH             157642530038                Gas           Gov. Aggregation   DUKE            7760052220                  Gas           Gov. Aggregation
COH             158029810092                Gas           Gov. Aggregation   DUKE            2960052224                  Gas           Gov. Aggregation
COH             158522850025                Gas           Gov. Aggregation   DUKE            0760052221                  Gas           Gov. Aggregation
COH             159662950081                Gas           Gov. Aggregation   DUKE            5880069722                  Gas           Gov. Aggregation
COH             160288950046                Gas           Gov. Aggregation   DUKE            2760070822                  Gas           Gov. Aggregation
COH             164276240055                Gas           Gov. Aggregation   DUKE            1980350004                  Gas           Gov. Aggregation
COH             166083330017                Gas           Gov. Aggregation   DUKE            7100052220                  Gas           Gov. Aggregation
COH             169665990049                Gas           Gov. Aggregation   DUKE            7000052234                  Gas           Gov. Aggregation
COH             171708410053                Gas           Gov. Aggregation   DUKE            2100052227                  Gas           Gov. Aggregation
COH             174006680025                Gas           Gov. Aggregation   DUKE            2200052228                  Gas           Gov. Aggregation
COH             174803460030                Gas           Gov. Aggregation   DUKE            0100052224                  Gas           Gov. Aggregation
COH             175003760023                Gas           Gov. Aggregation   DUKE            0500052221                  Gas           Gov. Aggregation
COH             175913600018                Gas           Gov. Aggregation   DUKE            0110052222                  Gas           Gov. Aggregation
COH             188144070043                Gas           Gov. Aggregation   DUKE            2940217502                  Gas           Gov. Aggregation
COH             190971160029                Gas           Gov. Aggregation   DUKE            2410052224                  Gas           Gov. Aggregation
COH             191357890036                Gas           Gov. Aggregation   DUKE            2510052223                  Gas           Gov. Aggregation
COH             191622850031                Gas           Gov. Aggregation   DUKE            2800052224                  Gas           Gov. Aggregation
COH             192186240034                Gas           Gov. Aggregation   DUKE            1510052225                  Gas           Gov. Aggregation
COH             192452410024                Gas           Gov. Aggregation   DUKE            6210052220                  Gas           Gov. Aggregation
COH             193049180018                Gas           Gov. Aggregation   DUKE            3310052231                  Gas           Gov. Aggregation
COH             193264000028                Gas           Gov. Aggregation   DUKE            3210052221                  Gas           Gov. Aggregation
COH             194231050035                Gas           Gov. Aggregation   DUKE            3010052229                  Gas           Gov. Aggregation
COH             194336440013                Gas           Gov. Aggregation   DUKE            1800052230                  Gas           Gov. Aggregation
COH             194865110020                Gas           Gov. Aggregation   DUKE            0800052232                  Gas           Gov. Aggregation
COH             195500000015                Gas           Gov. Aggregation   DUKE            8110055435                  Gas           Gov. Aggregation
COH             197046100016                Gas           Gov. Aggregation   DUKE            5260055424                  Gas           Gov. Aggregation
COH             197048240013                Gas           Gov. Aggregation   DUKE            7610055428                  Gas           Gov. Aggregation
COH             197073170015                Gas           Gov. Aggregation   DUKE            9610055422                  Gas           Gov. Aggregation
COH             197073190011                Gas           Gov. Aggregation   DUKE            0710055420                  Gas           Gov. Aggregation
COH             197081320016                Gas           Gov. Aggregation   DUKE            3850055421                  Gas           Gov. Aggregation
COH             197102590014                Gas           Gov. Aggregation   DUKE            1610383501                  Gas           Gov. Aggregation
COH             197109820011                Gas           Gov. Aggregation   DUKE            6570052123                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             197109930018                Gas           Gov. Aggregation   DUKE            6370052129                  Gas           Gov. Aggregation
COH             197110680018                Gas           Gov. Aggregation   DUKE            6270052124                  Gas           Gov. Aggregation
COH             197121990010                Gas           Gov. Aggregation   DUKE            6440055430                  Gas           Gov. Aggregation
COH             197122270019                Gas           Gov. Aggregation   DUKE            5270052122                  Gas           Gov. Aggregation
COH             197134810010                Gas           Gov. Aggregation   DUKE            5340055423                  Gas           Gov. Aggregation
COH             197140570018                Gas           Gov. Aggregation   DUKE            5370052123                  Gas           Gov. Aggregation
COH             197143250019                Gas           Gov. Aggregation   DUKE            8900083125                  Gas           Gov. Aggregation
COH             197147360018                Gas           Gov. Aggregation   DUKE            8440055434                  Gas           Gov. Aggregation
COH             197154980013                Gas           Gov. Aggregation   DUKE            8340055420                  Gas           Gov. Aggregation
COH             197169470019                Gas           Gov. Aggregation   DUKE            8590080421                  Gas           Gov. Aggregation
COH             197170520015                Gas           Gov. Aggregation   DUKE            7670052121                  Gas           Gov. Aggregation
COH             197181690017                Gas           Gov. Aggregation   DUKE            7270052121                  Gas           Gov. Aggregation
COH             197184990018                Gas           Gov. Aggregation   DUKE            7440055421                  Gas           Gov. Aggregation
COH             197198410010                Gas           Gov. Aggregation   DUKE            2470052127                  Gas           Gov. Aggregation
COH             197200150018                Gas           Gov. Aggregation   DUKE            4350384405                  Gas           Gov. Aggregation
COH             197201440015                Gas           Gov. Aggregation   DUKE            4860356102                  Gas           Gov. Aggregation
COH             197215550013                Gas           Gov. Aggregation   DUKE            5490388002                  Gas           Gov. Aggregation
COH             197225510010                Gas           Gov. Aggregation   DUKE            7100356404                  Gas           Gov. Aggregation
COH             197226950016                Gas           Gov. Aggregation   DUKE            6850392102                  Gas           Gov. Aggregation
COH             197227090015                Gas           Gov. Aggregation   DUKE            7700355803                  Gas           Gov. Aggregation
COH             197232580011                Gas           Gov. Aggregation   DUKE            6830209602                  Gas           Gov. Aggregation
COH             197235830012                Gas           Gov. Aggregation   DUKE            4140365204                  Gas           Gov. Aggregation
COH             197239860018                Gas           Gov. Aggregation   DUKE            3240361402                  Gas           Gov. Aggregation
COH             197239930013                Gas           Gov. Aggregation   DUKE            6520362203                  Gas           Gov. Aggregation
COH             197241760014                Gas           Gov. Aggregation   DUKE            7160361708                  Gas           Gov. Aggregation
COH             197251980017                Gas           Gov. Aggregation   DUKE            3840369603                  Gas           Gov. Aggregation
COH             197262510012                Gas           Gov. Aggregation   DUKE            2320366703                  Gas           Gov. Aggregation
COH             197293200012                Gas           Gov. Aggregation   DUKE            6070052124                  Gas           Gov. Aggregation
VEDO            4017654942238427            Gas           Gov. Aggregation   DUKE            4470052127                  Gas           Gov. Aggregation
VEDO            4004380552387010            Gas           Gov. Aggregation   DUKE            4770052121                  Gas           Gov. Aggregation
VEDO            4017558442364769            Gas           Gov. Aggregation   DUKE            2860204302                  Gas           Gov. Aggregation
VEDO            4004835302492347            Gas           Gov. Aggregation   DUKE            4400052227                  Gas           Gov. Aggregation
VEDO            4019042262191972            Gas           Gov. Aggregation   DUKE            4990052121                  Gas           Gov. Aggregation
DEO             9500065131731               Gas           Gov. Aggregation   DUKE            4970052120                  Gas           Gov. Aggregation
VEDO            4017311082554028            Gas           Gov. Aggregation   DUKE            3990052126                  Gas           Gov. Aggregation
VEDO            4018528062536766            Gas           Gov. Aggregation   DUKE            5770088640                  Gas           Gov. Aggregation
VEDO            4002086382203903            Gas           Gov. Aggregation   DUKE            3010213003                  Gas           Gov. Aggregation
DEO             4500065131264               Gas           Gov. Aggregation   DUKE            6720362606                  Gas           Gov. Aggregation
VEDO            4018220472643437            Gas           Gov. Aggregation   DUKE            6800361103                  Gas           Gov. Aggregation
COH             174101310011                Gas           Gov. Aggregation   DUKE            6530360608                  Gas           Gov. Aggregation
VEDO            4015221972417594            Gas           Gov. Aggregation   DUKE            5210366602                  Gas           Gov. Aggregation
VEDO            4019035392395791            Gas           Gov. Aggregation   DUKE            5500358511                  Gas           Gov. Aggregation
VEDO            4004284232431658            Gas           Gov. Aggregation   DUKE            6210366602                  Gas           Gov. Aggregation
DEO             0500065323241               Gas           Gov. Aggregation   DUKE            0990360103                  Gas           Gov. Aggregation
DEO             5500065201438               Gas           Gov. Aggregation   DUKE            0420036522                  Gas           Gov. Aggregation
COH             111177560024                Gas           Gov. Aggregation   DUKE            4750036422                  Gas           Gov. Aggregation
COH             143749200028                Gas           Gov. Aggregation   DUKE            4950222102                  Gas           Gov. Aggregation
COH             164438110049                Gas           Gov. Aggregation   DUKE            6750036420                  Gas           Gov. Aggregation
COH             193598180024                Gas           Gov. Aggregation   DUKE            8550036423                  Gas           Gov. Aggregation
COH             187983630020                Gas           Gov. Aggregation   DUKE            4890052135                  Gas           Gov. Aggregation
COH             193942650033                Gas           Gov. Aggregation   DUKE            3740079829                  Gas           Gov. Aggregation
DEO             5500065410865               Gas           Gov. Aggregation   DUKE            3890052133                  Gas           Gov. Aggregation
VEDO            4019351912646184            Gas           Gov. Aggregation   DUKE            7870052122                  Gas           Gov. Aggregation
VEDO            4019356562551620            Gas           Gov. Aggregation   DUKE            3870052124                  Gas           Gov. Aggregation
VEDO            4001538602493190            Gas           Gov. Aggregation   DUKE            1870052125                  Gas           Gov. Aggregation
VEDO            4017825102115803            Gas           Gov. Aggregation   DUKE            9870027129                  Gas           Gov. Aggregation
VEDO            4019139442413053            Gas           Gov. Aggregation   DUKE            2350005843                  Gas           Gov. Aggregation
COH             112294370016                Gas           Gov. Aggregation   DUKE            4090075722                  Gas           Gov. Aggregation
DUKE            3280035620                  Gas           Gov. Aggregation   DUKE            9600211606                  Gas           Gov. Aggregation
VEDO            4017570122213748            Gas           Gov. Aggregation   DUKE            1310055434                  Gas           Gov. Aggregation
COH             110305870018                Gas           Gov. Aggregation   DUKE            2430027132                  Gas           Gov. Aggregation
COH             117347110021                Gas           Gov. Aggregation   DUKE            8910078022                  Gas           Gov. Aggregation
COH             117351840010                Gas           Gov. Aggregation   DUKE            3930225401                  Gas           Gov. Aggregation
COH             134413020028                Gas           Gov. Aggregation   DUKE            4110362003                  Gas           Gov. Aggregation
COH             135783300025                Gas           Gov. Aggregation   DUKE            4110364005                  Gas           Gov. Aggregation
COH             136601480030                Gas           Gov. Aggregation   DUKE            4300391502                  Gas           Gov. Aggregation
COH             139941330010                Gas           Gov. Aggregation   DUKE            7580360205                  Gas           Gov. Aggregation
COH             147124860039                Gas           Gov. Aggregation   DUKE            7480384602                  Gas           Gov. Aggregation
COH             148452240113                Gas           Gov. Aggregation   DUKE            7190365402                  Gas           Gov. Aggregation
COH             149925810011                Gas           Gov. Aggregation   DUKE            9400370202                  Gas           Gov. Aggregation
COH             150047500033                Gas           Gov. Aggregation   DUKE            9880379702                  Gas           Gov. Aggregation
COH             160307230027                Gas           Gov. Aggregation   DUKE            7340058321                  Gas           Gov. Aggregation
COH             162398280024                Gas           Gov. Aggregation   DUKE            4240058322                  Gas           Gov. Aggregation
COH             165747620028                Gas           Gov. Aggregation   COH             121989880015                Gas           Gov. Aggregation
COH             165805000051                Gas           Gov. Aggregation   COH             121989890013                Gas           Gov. Aggregation
COH             166427160031                Gas           Gov. Aggregation   COH             121966570054                Gas           Gov. Aggregation
COH             167811990022                Gas           Gov. Aggregation   DUKE            5210052234                  Gas           Gov. Aggregation
COH             168176830031                Gas           Gov. Aggregation   DUKE            5500052242                  Gas           Gov. Aggregation
COH             170557940018                Gas           Gov. Aggregation   DUKE            5600052226                  Gas           Gov. Aggregation
COH             171217080072                Gas           Gov. Aggregation   DUKE            5010052228                  Gas           Gov. Aggregation
COH             172401360026                Gas           Gov. Aggregation   DUKE            3710055422                  Gas           Gov. Aggregation
COH             175264630028                Gas           Gov. Aggregation   DUKE            5110068425                  Gas           Gov. Aggregation
COH             175661650022                Gas           Gov. Aggregation   DUKE            4410055422                  Gas           Gov. Aggregation
COH             175822070031                Gas           Gov. Aggregation   DUKE            7470367209                  Gas           Gov. Aggregation
COH             176204460065                Gas           Gov. Aggregation   DUKE            8490392102                  Gas           Gov. Aggregation
COH             185198480010                Gas           Gov. Aggregation   DUKE            8410363305                  Gas           Gov. Aggregation
COH             185736560020                Gas           Gov. Aggregation   DUKE            7410363304                  Gas           Gov. Aggregation
COH             187636520028                Gas           Gov. Aggregation   DUKE            7380391802                  Gas           Gov. Aggregation
COH             190459510030                Gas           Gov. Aggregation   DUKE            0170391202                  Gas           Gov. Aggregation
COH             190674500027                Gas           Gov. Aggregation   DUKE            7790392202                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             191105030039                Gas           Gov. Aggregation   DUKE            5710367402                  Gas           Gov. Aggregation
COH             191110740039                Gas           Gov. Aggregation   DUKE            6310360202                  Gas           Gov. Aggregation
COH             192131294026                Gas           Gov. Aggregation   DUKE            3830386101                  Gas           Gov. Aggregation
COH             192607700033                Gas           Gov. Aggregation   DUKE            3800375404                  Gas           Gov. Aggregation
COH             193258440047                Gas           Gov. Aggregation   DUKE            5070367904                  Gas           Gov. Aggregation
COH             194189401255                Gas           Gov. Aggregation   DUKE            9480215504                  Gas           Gov. Aggregation
COH             194534490022                Gas           Gov. Aggregation   DUKE            9430217203                  Gas           Gov. Aggregation
COH             194608680016                Gas           Gov. Aggregation   DUKE            6750222303                  Gas           Gov. Aggregation
COH             196265170019                Gas           Gov. Aggregation   DUKE            1790052121                  Gas           Gov. Aggregation
COH             196880830016                Gas           Gov. Aggregation   DUKE            4510052226                  Gas           Gov. Aggregation
COH             197288990018                Gas           Gov. Aggregation   DUKE            9200076620                  Gas           Gov. Aggregation
COH             197290640016                Gas           Gov. Aggregation   DUKE            8410052226                  Gas           Gov. Aggregation
COH             197300550012                Gas           Gov. Aggregation   DUKE            3350055420                  Gas           Gov. Aggregation
COH             197304900010                Gas           Gov. Aggregation   DUKE            7120036520                  Gas           Gov. Aggregation
COH             197307340012                Gas           Gov. Aggregation   DUKE            3120036523                  Gas           Gov. Aggregation
COH             197319390017                Gas           Gov. Aggregation   DUKE            3220036520                  Gas           Gov. Aggregation
COH             197320100014                Gas           Gov. Aggregation   DUKE            4120036521                  Gas           Gov. Aggregation
COH             197328900010                Gas           Gov. Aggregation   DUKE            4320036521                  Gas           Gov. Aggregation
COH             197328940012                Gas           Gov. Aggregation   DUKE            8770052121                  Gas           Gov. Aggregation
COH             197350380013                Gas           Gov. Aggregation   DUKE            7770052123                  Gas           Gov. Aggregation
COH             197354900015                Gas           Gov. Aggregation   DUKE            8070052120                  Gas           Gov. Aggregation
COH             197359860014                Gas           Gov. Aggregation   DUKE            8140363204                  Gas           Gov. Aggregation
COH             197361230011                Gas           Gov. Aggregation   DUKE            8010366502                  Gas           Gov. Aggregation
COH             197361240019                Gas           Gov. Aggregation   DUKE            7720391602                  Gas           Gov. Aggregation
COH             197361260015                Gas           Gov. Aggregation   DUKE            0320386002                  Gas           Gov. Aggregation
COH             197367870015                Gas           Gov. Aggregation   DUKE            0330359803                  Gas           Gov. Aggregation
COH             197371670018                Gas           Gov. Aggregation   DUKE            9820358605                  Gas           Gov. Aggregation
COH             197383110010                Gas           Gov. Aggregation   DUKE            9620387502                  Gas           Gov. Aggregation
COH             197414540013                Gas           Gov. Aggregation   DUKE            9220360606                  Gas           Gov. Aggregation
COH             197421810011                Gas           Gov. Aggregation   DUKE            9380366906                  Gas           Gov. Aggregation
COH             197427150018                Gas           Gov. Aggregation   DUKE            9500366104                  Gas           Gov. Aggregation
COH             197432600012                Gas           Gov. Aggregation   DUKE            1320361403                  Gas           Gov. Aggregation
COH             197461690013                Gas           Gov. Aggregation   DUKE            1260369503                  Gas           Gov. Aggregation
COH             197464690017                Gas           Gov. Aggregation   DUKE            1090362004                  Gas           Gov. Aggregation
COH             197465960018                Gas           Gov. Aggregation   DUKE            5460363102                  Gas           Gov. Aggregation
COH             197475660010                Gas           Gov. Aggregation   DUKE            0910391502                  Gas           Gov. Aggregation
COH             197481040017                Gas           Gov. Aggregation   DUKE            1380356303                  Gas           Gov. Aggregation
COH             197509350012                Gas           Gov. Aggregation   DUKE            7200390302                  Gas           Gov. Aggregation
COH             197517990011                Gas           Gov. Aggregation   DUKE            9040391702                  Gas           Gov. Aggregation
COH             197524650017                Gas           Gov. Aggregation   DUKE            4550387302                  Gas           Gov. Aggregation
COH             197549720010                Gas           Gov. Aggregation   DUKE            7500018421                  Gas           Gov. Aggregation
DEO             9500065412242               Gas           Gov. Aggregation   DUKE            2210018420                  Gas           Gov. Aggregation
VEDO            4019366972309588            Gas           Gov. Aggregation   VEDO            4003741802372833            Gas           Gov. Aggregation
VEDO            4016067672645845            Gas           Gov. Aggregation   VEDO            4015811102318573            Gas           Gov. Aggregation
COH             111461740023                Gas           Gov. Aggregation   DEO             3500066382502               Gas           Gov. Aggregation
COH             111328380030                Gas           Gov. Aggregation   DEO             5500066450988               Gas           Gov. Aggregation
COH             196067190015                Gas           Gov. Aggregation   VEDO            4002867722646245            Gas           Gov. Aggregation
COH             111328200019                Gas           Gov. Aggregation   VEDO            4002031472198418            Gas           Gov. Aggregation
COH             111345830020                Gas           Gov. Aggregation   COH             111162180052                Gas           Gov. Aggregation
COH             177335740013                Gas           Gov. Aggregation   COH             114961200023                Gas           Gov. Aggregation
COH             177037660012                Gas           Gov. Aggregation   COH             142199920025                Gas           Gov. Aggregation
COH             172402720019                Gas           Gov. Aggregation   COH             147934030054                Gas           Gov. Aggregation
COH             167200820013                Gas           Gov. Aggregation   COH             155056080029                Gas           Gov. Aggregation
COH             195986480017                Gas           Gov. Aggregation   COH             156635960025                Gas           Gov. Aggregation
COH             186514440024                Gas           Gov. Aggregation   COH             156680200083                Gas           Gov. Aggregation
COH             187658200010                Gas           Gov. Aggregation   COH             158023420069                Gas           Gov. Aggregation
COH             155500610015                Gas           Gov. Aggregation   COH             160293150043                Gas           Gov. Aggregation
COH             195497810014                Gas           Gov. Aggregation   COH             170989320040                Gas           Gov. Aggregation
COH             111329890013                Gas           Gov. Aggregation   COH             171983300036                Gas           Gov. Aggregation
COH             111331470025                Gas           Gov. Aggregation   COH             177550110028                Gas           Gov. Aggregation
COH             111327440011                Gas           Gov. Aggregation   COH             188223170026                Gas           Gov. Aggregation
COH             175935050018                Gas           Gov. Aggregation   COH             189781580027                Gas           Gov. Aggregation
COH             142472150018                Gas           Gov. Aggregation   COH             190032880028                Gas           Gov. Aggregation
COH             194390510014                Gas           Gov. Aggregation   COH             190932990045                Gas           Gov. Aggregation
COH             185780610026                Gas           Gov. Aggregation   COH             194794350021                Gas           Gov. Aggregation
COH             189754350013                Gas           Gov. Aggregation   COH             198038950014                Gas           Gov. Aggregation
COH             134048870016                Gas           Gov. Aggregation   COH             198039720010                Gas           Gov. Aggregation
COH             190550880011                Gas           Gov. Aggregation   COH             198088690014                Gas           Gov. Aggregation
COH             192555840017                Gas           Gov. Aggregation   COH             198089530015                Gas           Gov. Aggregation
COH             192157520018                Gas           Gov. Aggregation   COH             198093260013                Gas           Gov. Aggregation
COH             195020660015                Gas           Gov. Aggregation   COH             198093830013                Gas           Gov. Aggregation
COH             145565750012                Gas           Gov. Aggregation   COH             198155570016                Gas           Gov. Aggregation
COH             111324120014                Gas           Gov. Aggregation   COH             198198020011                Gas           Gov. Aggregation
COH             174723890012                Gas           Gov. Aggregation   COH             198209560013                Gas           Gov. Aggregation
COH             153104970012                Gas           Gov. Aggregation   COH             198211740010                Gas           Gov. Aggregation
COH             163482090015                Gas           Gov. Aggregation   COH             198211750018                Gas           Gov. Aggregation
COH             193486300016                Gas           Gov. Aggregation   COH             198215690013                Gas           Gov. Aggregation
COH             194304260018                Gas           Gov. Aggregation   COH             198232720010                Gas           Gov. Aggregation
COH             138290180023                Gas           Gov. Aggregation   COH             198233180012                Gas           Gov. Aggregation
COH             138019170010                Gas           Gov. Aggregation   COH             198244920013                Gas           Gov. Aggregation
COH             111455030052                Gas           Gov. Aggregation   COH             198262430018                Gas           Gov. Aggregation
COH             154693790030                Gas           Gov. Aggregation   COH             198294070017                Gas           Gov. Aggregation
COH             196829200016                Gas           Gov. Aggregation   COH             198355360016                Gas           Gov. Aggregation
COH             160877170014                Gas           Gov. Aggregation   COH             198359660015                Gas           Gov. Aggregation
COH             159467480020                Gas           Gov. Aggregation   COH             198359910012                Gas           Gov. Aggregation
COH             153198790013                Gas           Gov. Aggregation   COH             198416050011                Gas           Gov. Aggregation
VEDO            4018583022592409            Gas           Gov. Aggregation   VEDO            4016229192337667            Gas           Gov. Aggregation
COH             196787040010                Gas           Gov. Aggregation   DEO             7420902939331               Gas           Gov. Aggregation
VEDO            4018533862623093            Gas           Gov. Aggregation   VEDO            4018406642474314            Gas           Gov. Aggregation
VEDO            4019370312454551            Gas           Gov. Aggregation   VEDO            4019455992108984            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4019373392643247            Gas           Gov. Aggregation   DEO             6500066816514               Gas           Gov. Aggregation
VEDO            4002994702186288            Gas           Gov. Aggregation   COH             111185820013                Gas           Gov. Aggregation
DEO             2500065599616               Gas           Gov. Aggregation   COH             161797040047                Gas           Gov. Aggregation
VEDO            4003601442357991            Gas           Gov. Aggregation   COH             152792090011                Gas           Gov. Aggregation
VEDO            4004089562271479            Gas           Gov. Aggregation   COH             129047060015                Gas           Gov. Aggregation
VEDO            4004569542463064            Gas           Gov. Aggregation   COH             141846270011                Gas           Gov. Aggregation
VEDO            4004948952504913            Gas           Gov. Aggregation   COH             109579470016                Gas           Gov. Aggregation
VEDO            4002620242256965            Gas           Gov. Aggregation   COH             195656210012                Gas           Gov. Aggregation
VEDO            4002564892128966            Gas           Gov. Aggregation   COH             196255450011                Gas           Gov. Aggregation
COH             196304240010                Gas           Gov. Aggregation   COH             109581110025                Gas           Gov. Aggregation
COH             196643080016                Gas           Gov. Aggregation   VEDO            4015075102140749            Gas           Gov. Aggregation
COH             164982610014                Gas           Gov. Aggregation   VEDO            4015231022139906            Gas           Gov. Aggregation
COH             194424740013                Gas           Gov. Aggregation   DEO             6500066737634               Gas           Gov. Aggregation
COH             195795930017                Gas           Gov. Aggregation   COH             172487040023                Gas           Gov. Aggregation
COH             164349860032                Gas           Gov. Aggregation   VEDO            4004497762285259            Gas           Gov. Aggregation
COH             197328680017                Gas           Gov. Aggregation   COH             159583900016                Gas           Gov. Aggregation
COH             196022410012                Gas           Gov. Aggregation   VEDO            4002338812228875            Gas           Gov. Aggregation
COH             196471330018                Gas           Gov. Aggregation   COH             122502500031                Gas           Gov. Aggregation
COH             170071690057                Gas           Gov. Aggregation   COH             134272990052                Gas           Gov. Aggregation
COH             168031240031                Gas           Gov. Aggregation   COH             138505270018                Gas           Gov. Aggregation
COH             174269390048                Gas           Gov. Aggregation   COH             142455280044                Gas           Gov. Aggregation
COH             196687750013                Gas           Gov. Aggregation   COH             151165250035                Gas           Gov. Aggregation
COH             196964800014                Gas           Gov. Aggregation   COH             152962620045                Gas           Gov. Aggregation
COH             196147410018                Gas           Gov. Aggregation   COH             156632840044                Gas           Gov. Aggregation
VEDO            4001108132110290            Gas           Gov. Aggregation   COH             167186150025                Gas           Gov. Aggregation
VEDO            4001434832140684            Gas           Gov. Aggregation   COH             173176940031                Gas           Gov. Aggregation
VEDO            4017298192113193            Gas           Gov. Aggregation   COH             175438930044                Gas           Gov. Aggregation
COH             153198910017                Gas           Gov. Aggregation   COH             185332150022                Gas           Gov. Aggregation
COH             110457100027                Gas           Gov. Aggregation   COH             185354590051                Gas           Gov. Aggregation
COH             112191010028                Gas           Gov. Aggregation   COH             189181320014                Gas           Gov. Aggregation
COH             123652210043                Gas           Gov. Aggregation   COH             189879720020                Gas           Gov. Aggregation
COH             124784030032                Gas           Gov. Aggregation   COH             191703610011                Gas           Gov. Aggregation
COH             124856690031                Gas           Gov. Aggregation   COH             193915810027                Gas           Gov. Aggregation
COH             127498390013                Gas           Gov. Aggregation   COH             195954030027                Gas           Gov. Aggregation
COH             137465720074                Gas           Gov. Aggregation   COH             196226980020                Gas           Gov. Aggregation
COH             145864260039                Gas           Gov. Aggregation   COH             198094250022                Gas           Gov. Aggregation
COH             149668470091                Gas           Gov. Aggregation   COH             198279280015                Gas           Gov. Aggregation
COH             150227960071                Gas           Gov. Aggregation   COH             198372400011                Gas           Gov. Aggregation
COH             153260360038                Gas           Gov. Aggregation   COH             198374740016                Gas           Gov. Aggregation
COH             162052190034                Gas           Gov. Aggregation   COH             198380230010                Gas           Gov. Aggregation
COH             162975680035                Gas           Gov. Aggregation   COH             198421530019                Gas           Gov. Aggregation
COH             164062220025                Gas           Gov. Aggregation   COH             198438970012                Gas           Gov. Aggregation
COH             164176630028                Gas           Gov. Aggregation   COH             198462450010                Gas           Gov. Aggregation
COH             166775270013                Gas           Gov. Aggregation   COH             198485190017                Gas           Gov. Aggregation
COH             167985910021                Gas           Gov. Aggregation   COH             198569030012                Gas           Gov. Aggregation
COH             168014780025                Gas           Gov. Aggregation   DEO             8500067103991               Gas           Gov. Aggregation
COH             168320600032                Gas           Gov. Aggregation   COH             191605470073                Gas           Gov. Aggregation
COH             174520720053                Gas           Gov. Aggregation   COH             191605470091                Gas           Gov. Aggregation
COH             174714370029                Gas           Gov. Aggregation   COH             191605470153                Gas           Gov. Aggregation
COH             175540770023                Gas           Gov. Aggregation   COH             191605470171                Gas           Gov. Aggregation
COH             175570760022                Gas           Gov. Aggregation   COH             191605470199                Gas           Gov. Aggregation
COH             176251380027                Gas           Gov. Aggregation   COH             191605470251                Gas           Gov. Aggregation
COH             186559630020                Gas           Gov. Aggregation   DEO             1420001054749               Gas           Gov. Aggregation
COH             187182670048                Gas           Gov. Aggregation   DEO             4500067122638               Gas           Gov. Aggregation
COH             187608820033                Gas           Gov. Aggregation   DEO             9500067095195               Gas           Gov. Aggregation
COH             187912160037                Gas           Gov. Aggregation   COH             112113270037                Gas           Gov. Aggregation
COH             188690440020                Gas           Gov. Aggregation   COH             124229830021                Gas           Gov. Aggregation
COH             189033510026                Gas           Gov. Aggregation   COH             148633520058                Gas           Gov. Aggregation
COH             189638600025                Gas           Gov. Aggregation   COH             160249900020                Gas           Gov. Aggregation
COH             189962720041                Gas           Gov. Aggregation   COH             162426350046                Gas           Gov. Aggregation
COH             190346070023                Gas           Gov. Aggregation   COH             175630830047                Gas           Gov. Aggregation
COH             191947450037                Gas           Gov. Aggregation   COH             191639160013                Gas           Gov. Aggregation
COH             192235510032                Gas           Gov. Aggregation   COH             193557270058                Gas           Gov. Aggregation
COH             194425930011                Gas           Gov. Aggregation   COH             197103080028                Gas           Gov. Aggregation
COH             194612190029                Gas           Gov. Aggregation   COH             197523590021                Gas           Gov. Aggregation
COH             195367700012                Gas           Gov. Aggregation   COH             198497150010                Gas           Gov. Aggregation
COH             195450270025                Gas           Gov. Aggregation   COH             198512450013                Gas           Gov. Aggregation
COH             195460880026                Gas           Gov. Aggregation   COH             198520740015                Gas           Gov. Aggregation
COH             197422530018                Gas           Gov. Aggregation   COH             198523440012                Gas           Gov. Aggregation
COH             197438310011                Gas           Gov. Aggregation   COH             198570270019                Gas           Gov. Aggregation
COH             197474960019                Gas           Gov. Aggregation   COH             198582080014                Gas           Gov. Aggregation
COH             197489870017                Gas           Gov. Aggregation   COH             198624450016                Gas           Gov. Aggregation
COH             197491260010                Gas           Gov. Aggregation   COH             198633790016                Gas           Gov. Aggregation
COH             197504210011                Gas           Gov. Aggregation   COH             198639770018                Gas           Gov. Aggregation
COH             197504290015                Gas           Gov. Aggregation   COH             198686740015                Gas           Gov. Aggregation
COH             197507890013                Gas           Gov. Aggregation   COH             198739190018                Gas           Gov. Aggregation
COH             197516560013                Gas           Gov. Aggregation   COH             198739450013                Gas           Gov. Aggregation
COH             197527240017                Gas           Gov. Aggregation   VEDO            4003033502191733            Gas           Gov. Aggregation
COH             197534350019                Gas           Gov. Aggregation   COH             139549540018                Gas           Gov. Aggregation
COH             197537970013                Gas           Gov. Aggregation   DEO             6500008933360               Gas           Gov. Aggregation
COH             197539400018                Gas           Gov. Aggregation   DEO             4500067405548               Gas           Gov. Aggregation
COH             197541340016                Gas           Gov. Aggregation   DEO             9500067268694               Gas           Gov. Aggregation
COH             197547660017                Gas           Gov. Aggregation   COH             134003750051                Gas           Gov. Aggregation
COH             197550960017                Gas           Gov. Aggregation   DEO             1500067414286               Gas           Gov. Aggregation
COH             197558360017                Gas           Gov. Aggregation   COH             155742270060                Gas           Gov. Aggregation
COH             197560120012                Gas           Gov. Aggregation   COH             161910360066                Gas           Gov. Aggregation
COH             197561940018                Gas           Gov. Aggregation   COH             170083370022                Gas           Gov. Aggregation
COH             197563420013                Gas           Gov. Aggregation   COH             173974650030                Gas           Gov. Aggregation
COH             197568290011                Gas           Gov. Aggregation   COH             175728110032                Gas           Gov. Aggregation
COH             197569840013                Gas           Gov. Aggregation   COH             176915690042                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             197573640016                Gas           Gov. Aggregation   COH             175325170070                Gas           Gov. Aggregation
COH             197608420017                Gas           Gov. Aggregation   COH             175438320042                Gas           Gov. Aggregation
COH             197615880016                Gas           Gov. Aggregation   COH             197169130010                Gas           Gov. Aggregation
COH             197648990014                Gas           Gov. Aggregation   COH             197480780014                Gas           Gov. Aggregation
COH             197668390018                Gas           Gov. Aggregation   COH             197311230016                Gas           Gov. Aggregation
COH             197679680014                Gas           Gov. Aggregation   COH             195401750027                Gas           Gov. Aggregation
COH             197739340017                Gas           Gov. Aggregation   COH             198663910017                Gas           Gov. Aggregation
VEDO            4015183172226856            Gas           Gov. Aggregation   COH             198865280012                Gas           Gov. Aggregation
VEDO            4016755392164899            Gas           Gov. Aggregation   COH             197704060019                Gas           Gov. Aggregation
VEDO            4018308052147605            Gas           Gov. Aggregation   COH             197843390016                Gas           Gov. Aggregation
VEDO            4019385772461966            Gas           Gov. Aggregation   COH             198095770012                Gas           Gov. Aggregation
VEDO            4003047172300104            Gas           Gov. Aggregation   COH             198142260018                Gas           Gov. Aggregation
VEDO            4003218272317794            Gas           Gov. Aggregation   COH             117403110021                Gas           Gov. Aggregation
VEDO            4003358382332386            Gas           Gov. Aggregation   COH             132463130031                Gas           Gov. Aggregation
VEDO            4003367112333322            Gas           Gov. Aggregation   COH             194166100024                Gas           Gov. Aggregation
VEDO            4003394682336304            Gas           Gov. Aggregation   COH             129949210039                Gas           Gov. Aggregation
VEDO            4003931782393388            Gas           Gov. Aggregation   COH             176588240069                Gas           Gov. Aggregation
VEDO            4003933762499001            Gas           Gov. Aggregation   COH             194711010026                Gas           Gov. Aggregation
VEDO            4004274422504052            Gas           Gov. Aggregation   COH             197105000011                Gas           Gov. Aggregation
DEO             1500066220440               Gas           Gov. Aggregation   COH             197009160012                Gas           Gov. Aggregation
VEDO            4018872572631639            Gas           Gov. Aggregation   COH             196993940023                Gas           Gov. Aggregation
VEDO            4019389692614514            Gas           Gov. Aggregation   COH             192131294302                Gas           Gov. Aggregation
VEDO            4004528902458552            Gas           Gov. Aggregation   COH             196984000010                Gas           Gov. Aggregation
DEO             5500065671950               Gas           Gov. Aggregation   COH             132238270066                Gas           Gov. Aggregation
VEDO            4017985922110610            Gas           Gov. Aggregation   COH             169549350021                Gas           Gov. Aggregation
VEDO            4019196412624370            Gas           Gov. Aggregation   COH             198506890014                Gas           Gov. Aggregation
VEDO            4019285952107570            Gas           Gov. Aggregation   COH             190673230035                Gas           Gov. Aggregation
VEDO            4019299502138430            Gas           Gov. Aggregation   COH             188781460023                Gas           Gov. Aggregation
VEDO            4016435882447437            Gas           Gov. Aggregation   COH             138956470066                Gas           Gov. Aggregation
VEDO            4016935102490180            Gas           Gov. Aggregation   COH             198223040012                Gas           Gov. Aggregation
VEDO            4018737572161577            Gas           Gov. Aggregation   COH             186695220046                Gas           Gov. Aggregation
VEDO            4001979832266592            Gas           Gov. Aggregation   COH             198104460016                Gas           Gov. Aggregation
VEDO            4017021762346427            Gas           Gov. Aggregation   COH             198074880013                Gas           Gov. Aggregation
VEDO            4019219482292566            Gas           Gov. Aggregation   COH             154084910044                Gas           Gov. Aggregation
VEDO            4002500712357877            Gas           Gov. Aggregation   COH             197453770022                Gas           Gov. Aggregation
VEDO            4019239052200193            Gas           Gov. Aggregation   COH             197224640015                Gas           Gov. Aggregation
VEDO            4018057212376970            Gas           Gov. Aggregation   COH             177297280058                Gas           Gov. Aggregation
VEDO            4019321492226923            Gas           Gov. Aggregation   COH             192131295525                Gas           Gov. Aggregation
VEDO            4019235252222668            Gas           Gov. Aggregation   COH             117070280050                Gas           Gov. Aggregation
VEDO            4004382682442444            Gas           Gov. Aggregation   COH             141825460051                Gas           Gov. Aggregation
VEDO            4001548232549462            Gas           Gov. Aggregation   COH             185074340057                Gas           Gov. Aggregation
VEDO            4003942652449812            Gas           Gov. Aggregation   COH             195823770029                Gas           Gov. Aggregation
VEDO            4002195452249453            Gas           Gov. Aggregation   COH             194189401791                Gas           Gov. Aggregation
VEDO            4019153642642277            Gas           Gov. Aggregation   COH             198262510011                Gas           Gov. Aggregation
VEDO            4019306642212011            Gas           Gov. Aggregation   COH             198329830012                Gas           Gov. Aggregation
VEDO            4019313062241279            Gas           Gov. Aggregation   COH             160329130013                Gas           Gov. Aggregation
VEDO            4016072662130628            Gas           Gov. Aggregation   COH             117037290021                Gas           Gov. Aggregation
VEDO            4017151612264573            Gas           Gov. Aggregation   COH             109490450063                Gas           Gov. Aggregation
VEDO            4001745992107797            Gas           Gov. Aggregation   COH             174523360044                Gas           Gov. Aggregation
VEDO            4004349012385577            Gas           Gov. Aggregation   COH             174881190024                Gas           Gov. Aggregation
VEDO            4017734512525373            Gas           Gov. Aggregation   COH             116899870051                Gas           Gov. Aggregation
VEDO            4019269732399932            Gas           Gov. Aggregation   COH             156475190036                Gas           Gov. Aggregation
VEDO            4004442772179392            Gas           Gov. Aggregation   COH             150379040028                Gas           Gov. Aggregation
VEDO            4003066532314241            Gas           Gov. Aggregation   COH             174245360080                Gas           Gov. Aggregation
VEDO            4018291212478074            Gas           Gov. Aggregation   COH             176007140024                Gas           Gov. Aggregation
VEDO            4019013442247041            Gas           Gov. Aggregation   COH             192131294295                Gas           Gov. Aggregation
VEDO            4004526272458274            Gas           Gov. Aggregation   COH             194189401111                Gas           Gov. Aggregation
VEDO            4018423922483427            Gas           Gov. Aggregation   COH             197289770012                Gas           Gov. Aggregation
VEDO            4002581932245101            Gas           Gov. Aggregation   COH             192131295294                Gas           Gov. Aggregation
VEDO            4001407082138204            Gas           Gov. Aggregation   COH             157662900029                Gas           Gov. Aggregation
VEDO            4017296912100001            Gas           Gov. Aggregation   COH             194166090027                Gas           Gov. Aggregation
VEDO            4015067172174769            Gas           Gov. Aggregation   COH             196846580280                Gas           Gov. Aggregation
VEDO            4004206632238555            Gas           Gov. Aggregation   COH             197814800029                Gas           Gov. Aggregation
VEDO            4019323022382178            Gas           Gov. Aggregation   COH             197981220019                Gas           Gov. Aggregation
VEDO            4016823812426427            Gas           Gov. Aggregation   COH             195739350026                Gas           Gov. Aggregation
VEDO            4019160992644530            Gas           Gov. Aggregation   COH             197337720019                Gas           Gov. Aggregation
VEDO            4010074032435318            Gas           Gov. Aggregation   COH             197446690015                Gas           Gov. Aggregation
VEDO            4019167392279687            Gas           Gov. Aggregation   COH             192131294759                Gas           Gov. Aggregation
VEDO            4019263032525262            Gas           Gov. Aggregation   COH             193003150029                Gas           Gov. Aggregation
VEDO            4015433222512309            Gas           Gov. Aggregation   COH             166562750022                Gas           Gov. Aggregation
VEDO            4017459752374662            Gas           Gov. Aggregation   COH             190925480029                Gas           Gov. Aggregation
VEDO            4019164142388803            Gas           Gov. Aggregation   COH             197344110012                Gas           Gov. Aggregation
VEDO            4019255342583706            Gas           Gov. Aggregation   COH             197081940016                Gas           Gov. Aggregation
VEDO            4017893232277844            Gas           Gov. Aggregation   COH             159213630025                Gas           Gov. Aggregation
VEDO            4019283632616193            Gas           Gov. Aggregation   COH             197902690017                Gas           Gov. Aggregation
VEDO            4019284372608067            Gas           Gov. Aggregation   COH             194338590027                Gas           Gov. Aggregation
VEDO            4019321712630632            Gas           Gov. Aggregation   COH             197198940019                Gas           Gov. Aggregation
VEDO            4019305132296359            Gas           Gov. Aggregation   COH             170101410023                Gas           Gov. Aggregation
VEDO            4019323162392200            Gas           Gov. Aggregation   COH             165411430065                Gas           Gov. Aggregation
VEDO            4019296242623379            Gas           Gov. Aggregation   COH             188116320021                Gas           Gov. Aggregation
VEDO            4019274232623869            Gas           Gov. Aggregation   COH             197687310014                Gas           Gov. Aggregation
VEDO            4019139292584878            Gas           Gov. Aggregation   COH             191653740020                Gas           Gov. Aggregation
VEDO            4004401132481493            Gas           Gov. Aggregation   COH             190031630031                Gas           Gov. Aggregation
VEDO            4001484392558279            Gas           Gov. Aggregation   COH             170217210048                Gas           Gov. Aggregation
VEDO            4019157792309437            Gas           Gov. Aggregation   COH             196947190019                Gas           Gov. Aggregation
VEDO            4019182652497675            Gas           Gov. Aggregation   COH             190721070027                Gas           Gov. Aggregation
VEDO            4018103212268158            Gas           Gov. Aggregation   COH             198844730011                Gas           Gov. Aggregation
VEDO            4019335792215174            Gas           Gov. Aggregation   COH             190412900027                Gas           Gov. Aggregation
VEDO            4019270122113243            Gas           Gov. Aggregation   COH             191691700028                Gas           Gov. Aggregation
VEDO            4019134382130797            Gas           Gov. Aggregation   COH             163305140045                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4015121792175087            Gas           Gov. Aggregation   COH             197149200017                Gas           Gov. Aggregation
VEDO            4019330102197860            Gas           Gov. Aggregation   COH             160516340021                Gas           Gov. Aggregation
VEDO            4019333182418631            Gas           Gov. Aggregation   COH             159213230047                Gas           Gov. Aggregation
VEDO            4019169962141307            Gas           Gov. Aggregation   COH             155936650041                Gas           Gov. Aggregation
VEDO            4019127202103095            Gas           Gov. Aggregation   COH             159028740061                Gas           Gov. Aggregation
VEDO            4017589692469304            Gas           Gov. Aggregation   COH             117131980035                Gas           Gov. Aggregation
VEDO            4017247392175771            Gas           Gov. Aggregation   COH             198136410019                Gas           Gov. Aggregation
VEDO            4001811812176792            Gas           Gov. Aggregation   COH             198632030017                Gas           Gov. Aggregation
VEDO            4019321932342463            Gas           Gov. Aggregation   COH             198724750011                Gas           Gov. Aggregation
VEDO            4002722822129350            Gas           Gov. Aggregation   COH             148858410073                Gas           Gov. Aggregation
VEDO            4004064842220259            Gas           Gov. Aggregation   COH             140042860067                Gas           Gov. Aggregation
VEDO            4019301982320492            Gas           Gov. Aggregation   COH             198816750016                Gas           Gov. Aggregation
VEDO            4019218012234412            Gas           Gov. Aggregation   COH             167514320022                Gas           Gov. Aggregation
VEDO            4019123352428352            Gas           Gov. Aggregation   COH             144444940028                Gas           Gov. Aggregation
VEDO            4019142402386304            Gas           Gov. Aggregation   COH             144327250049                Gas           Gov. Aggregation
VEDO            4017416302327845            Gas           Gov. Aggregation   COH             194113400013                Gas           Gov. Aggregation
VEDO            4019153162319885            Gas           Gov. Aggregation   COH             195478760015                Gas           Gov. Aggregation
VEDO            4019157252525773            Gas           Gov. Aggregation   COH             198119730018                Gas           Gov. Aggregation
VEDO            4019203832303417            Gas           Gov. Aggregation   COH             197249290017                Gas           Gov. Aggregation
VEDO            4018753482640112            Gas           Gov. Aggregation   COH             140156740025                Gas           Gov. Aggregation
VEDO            4019236902645479            Gas           Gov. Aggregation   COH             147566200022                Gas           Gov. Aggregation
VEDO            4019224552419449            Gas           Gov. Aggregation   COH             163731040043                Gas           Gov. Aggregation
VEDO            4019217772257549            Gas           Gov. Aggregation   COH             165096840023                Gas           Gov. Aggregation
VEDO            4019304652347122            Gas           Gov. Aggregation   COH             170043990071                Gas           Gov. Aggregation
VEDO            4019140772122549            Gas           Gov. Aggregation   COH             172248880023                Gas           Gov. Aggregation
VEDO            4019140772243812            Gas           Gov. Aggregation   COH             175362300038                Gas           Gov. Aggregation
VEDO            4004515472457058            Gas           Gov. Aggregation   COH             175836060043                Gas           Gov. Aggregation
VEDO            4016916032384240            Gas           Gov. Aggregation   COH             197090360019                Gas           Gov. Aggregation
COH             111232700017                Gas           Gov. Aggregation   COH             197215400014                Gas           Gov. Aggregation
DEO             0500065726792               Gas           Gov. Aggregation   COH             197271240010                Gas           Gov. Aggregation
DEO             2500065763883               Gas           Gov. Aggregation   COH             197306880011                Gas           Gov. Aggregation
DEO             4500065869116               Gas           Gov. Aggregation   COH             197567660015                Gas           Gov. Aggregation
COH             197002610011                Gas           Gov. Aggregation   COH             197567680011                Gas           Gov. Aggregation
COH             172199050022                Gas           Gov. Aggregation   COH             197746790018                Gas           Gov. Aggregation
COH             112312170027                Gas           Gov. Aggregation   COH             197814690014                Gas           Gov. Aggregation
COH             176525000016                Gas           Gov. Aggregation   COH             197954370015                Gas           Gov. Aggregation
COH             112784370026                Gas           Gov. Aggregation   COH             198403400014                Gas           Gov. Aggregation
COH             141127030033                Gas           Gov. Aggregation   COH             198493430019                Gas           Gov. Aggregation
COH             147103710025                Gas           Gov. Aggregation   COH             198561260010                Gas           Gov. Aggregation
COH             195635210025                Gas           Gov. Aggregation   COH             198701770015                Gas           Gov. Aggregation
COH             112126580053                Gas           Gov. Aggregation   COH             198714250017                Gas           Gov. Aggregation
COH             163800560074                Gas           Gov. Aggregation   COH             198770130014                Gas           Gov. Aggregation
COH             193445110012                Gas           Gov. Aggregation   COH             198793240013                Gas           Gov. Aggregation
COH             112257220015                Gas           Gov. Aggregation   COH             198872930010                Gas           Gov. Aggregation
COH             196447180011                Gas           Gov. Aggregation   DEO             7180000323388               Gas           Gov. Aggregation
COH             171817490038                Gas           Gov. Aggregation   COH             139740570016                Gas           Gov. Aggregation
COH             196216900018                Gas           Gov. Aggregation   VEDO            4003300052326255            Gas           Gov. Aggregation
COH             132236060046                Gas           Gov. Aggregation   COH             186815460031                Gas           Gov. Aggregation
COH             159561050039                Gas           Gov. Aggregation   COH             196633050013                Gas           Gov. Aggregation
COH             195716650012                Gas           Gov. Aggregation   COH             197329390016                Gas           Gov. Aggregation
COH             193445080019                Gas           Gov. Aggregation   COH             190251690024                Gas           Gov. Aggregation
COH             197185340012                Gas           Gov. Aggregation   COH             197240380016                Gas           Gov. Aggregation
COH             167918230025                Gas           Gov. Aggregation   COH             198169980011                Gas           Gov. Aggregation
COH             194689540051                Gas           Gov. Aggregation   COH             198039240011                Gas           Gov. Aggregation
COH             196860580011                Gas           Gov. Aggregation   COH             198065240016                Gas           Gov. Aggregation
COH             196225480018                Gas           Gov. Aggregation   COH             194367660012                Gas           Gov. Aggregation
COH             160982180019                Gas           Gov. Aggregation   COH             143135600016                Gas           Gov. Aggregation
COH             195088020017                Gas           Gov. Aggregation   COH             138742820010                Gas           Gov. Aggregation
COH             150527070054                Gas           Gov. Aggregation   COH             111096780011                Gas           Gov. Aggregation
COH             192849640025                Gas           Gov. Aggregation   COH             111097150011                Gas           Gov. Aggregation
COH             151635050012                Gas           Gov. Aggregation   COH             177846460037                Gas           Gov. Aggregation
COH             196137370018                Gas           Gov. Aggregation   COH             111098490018                Gas           Gov. Aggregation
COH             187271050030                Gas           Gov. Aggregation   COH             111096670014                Gas           Gov. Aggregation
COH             113093830041                Gas           Gov. Aggregation   COH             168274310014                Gas           Gov. Aggregation
COH             169871760022                Gas           Gov. Aggregation   COH             168854560012                Gas           Gov. Aggregation
COH             197030440018                Gas           Gov. Aggregation   COH             166538040077                Gas           Gov. Aggregation
COH             195851480012                Gas           Gov. Aggregation   COH             161592510033                Gas           Gov. Aggregation
COH             195610280014                Gas           Gov. Aggregation   COH             193681140016                Gas           Gov. Aggregation
COH             189110230012                Gas           Gov. Aggregation   COH             195978050023                Gas           Gov. Aggregation
COH             188236970021                Gas           Gov. Aggregation   COH             140166810010                Gas           Gov. Aggregation
COH             141328080019                Gas           Gov. Aggregation   COH             148877300012                Gas           Gov. Aggregation
COH             146133490011                Gas           Gov. Aggregation   COH             111097490010                Gas           Gov. Aggregation
COH             145429110014                Gas           Gov. Aggregation   COH             111097860012                Gas           Gov. Aggregation
COH             144401130073                Gas           Gov. Aggregation   COH             163894060018                Gas           Gov. Aggregation
COH             139441690024                Gas           Gov. Aggregation   COH             159877360017                Gas           Gov. Aggregation
COH             177404920018                Gas           Gov. Aggregation   COH             165497660012                Gas           Gov. Aggregation
COH             185199330019                Gas           Gov. Aggregation   COH             152074980025                Gas           Gov. Aggregation
COH             167008120018                Gas           Gov. Aggregation   COH             115860000019                Gas           Gov. Aggregation
COH             130980910079                Gas           Gov. Aggregation   COH             115543890033                Gas           Gov. Aggregation
COH             195981450013                Gas           Gov. Aggregation   COH             165257680016                Gas           Gov. Aggregation
COH             192131293072                Gas           Gov. Aggregation   COH             165380440015                Gas           Gov. Aggregation
COH             192131294366                Gas           Gov. Aggregation   COH             174603190013                Gas           Gov. Aggregation
COH             151604810044                Gas           Gov. Aggregation   COH             175201340012                Gas           Gov. Aggregation
COH             141748770023                Gas           Gov. Aggregation   COH             186504140019                Gas           Gov. Aggregation
COH             170064210016                Gas           Gov. Aggregation   COH             197039700015                Gas           Gov. Aggregation
COH             117331540033                Gas           Gov. Aggregation   COH             194932870019                Gas           Gov. Aggregation
COH             117328220019                Gas           Gov. Aggregation   COH             190797710014                Gas           Gov. Aggregation
COH             117328290015                Gas           Gov. Aggregation   COH             191165140021                Gas           Gov. Aggregation
COH             117328360010                Gas           Gov. Aggregation   COH             151725540018                Gas           Gov. Aggregation
COH             142452560023                Gas           Gov. Aggregation   COH             154552330034                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             162562020010                Gas           Gov. Aggregation   COH             154074500014                Gas           Gov. Aggregation
COH             159374810036                Gas           Gov. Aggregation   COH             115844990025                Gas           Gov. Aggregation
COH             129063000013                Gas           Gov. Aggregation   COH             146810850019                Gas           Gov. Aggregation
COH             191090910019                Gas           Gov. Aggregation   COH             159802170014                Gas           Gov. Aggregation
COH             195809910010                Gas           Gov. Aggregation   COH             195975790015                Gas           Gov. Aggregation
COH             195746060013                Gas           Gov. Aggregation   COH             115850500015                Gas           Gov. Aggregation
COH             187901810015                Gas           Gov. Aggregation   COH             115850620010                Gas           Gov. Aggregation
COH             197050070014                Gas           Gov. Aggregation   COH             149045590103                Gas           Gov. Aggregation
COH             197250330015                Gas           Gov. Aggregation   COH             115851470010                Gas           Gov. Aggregation
COH             186853260024                Gas           Gov. Aggregation   COH             115887250020                Gas           Gov. Aggregation
COH             165527470017                Gas           Gov. Aggregation   COH             115842320010                Gas           Gov. Aggregation
COH             169098400054                Gas           Gov. Aggregation   COH             115850270014                Gas           Gov. Aggregation
COH             110934550012                Gas           Gov. Aggregation   COH             192846260012                Gas           Gov. Aggregation
COH             110935420017                Gas           Gov. Aggregation   COH             169661500058                Gas           Gov. Aggregation
COH             110935650019                Gas           Gov. Aggregation   COH             170629050012                Gas           Gov. Aggregation
COH             110935710016                Gas           Gov. Aggregation   COH             115842420028                Gas           Gov. Aggregation
COH             110935830011                Gas           Gov. Aggregation   COH             133359700040                Gas           Gov. Aggregation
COH             110943920024                Gas           Gov. Aggregation   COH             115842420019                Gas           Gov. Aggregation
COH             110949610018                Gas           Gov. Aggregation   COH             170993460015                Gas           Gov. Aggregation
COH             110949790011                Gas           Gov. Aggregation   COH             188113370027                Gas           Gov. Aggregation
COH             110950110010                Gas           Gov. Aggregation   COH             115866160023                Gas           Gov. Aggregation
COH             110950170018                Gas           Gov. Aggregation   COH             106929350351                Gas           Gov. Aggregation
COH             138391000017                Gas           Gov. Aggregation   COH             133237640023                Gas           Gov. Aggregation
COH             141649640011                Gas           Gov. Aggregation   COH             137443280028                Gas           Gov. Aggregation
COH             143975170017                Gas           Gov. Aggregation   COH             193579300019                Gas           Gov. Aggregation
COH             145387460020                Gas           Gov. Aggregation   COH             197183740012                Gas           Gov. Aggregation
COH             153180650019                Gas           Gov. Aggregation   COH             197393760013                Gas           Gov. Aggregation
COH             153243190012                Gas           Gov. Aggregation   COH             132666160026                Gas           Gov. Aggregation
COH             153971460012                Gas           Gov. Aggregation   COH             166563930040                Gas           Gov. Aggregation
COH             155684980029                Gas           Gov. Aggregation   COH             115852170020                Gas           Gov. Aggregation
COH             158698760014                Gas           Gov. Aggregation   COH             154817580012                Gas           Gov. Aggregation
COH             158927360011                Gas           Gov. Aggregation   COH             141587070013                Gas           Gov. Aggregation
COH             159872920019                Gas           Gov. Aggregation   COH             115493420029                Gas           Gov. Aggregation
COH             163948730012                Gas           Gov. Aggregation   COH             115845190012                Gas           Gov. Aggregation
COH             164684690010                Gas           Gov. Aggregation   COH             115845280013                Gas           Gov. Aggregation
COH             166477450017                Gas           Gov. Aggregation   COH             198403950019                Gas           Gov. Aggregation
COH             168865800018                Gas           Gov. Aggregation   COH             115837530017                Gas           Gov. Aggregation
COH             169940080019                Gas           Gov. Aggregation   COH             115837530026                Gas           Gov. Aggregation
COH             176097360010                Gas           Gov. Aggregation   COH             116570180016                Gas           Gov. Aggregation
COH             176258910030                Gas           Gov. Aggregation   COH             137804180050                Gas           Gov. Aggregation
COH             177364180010                Gas           Gov. Aggregation   COH             143062370029                Gas           Gov. Aggregation
COH             177415230010                Gas           Gov. Aggregation   COH             141144930010                Gas           Gov. Aggregation
COH             177592610025                Gas           Gov. Aggregation   COH             135202430028                Gas           Gov. Aggregation
COH             185590180011                Gas           Gov. Aggregation   COH             115838930011                Gas           Gov. Aggregation
COH             188603210012                Gas           Gov. Aggregation   COH             115846840022                Gas           Gov. Aggregation
COH             189070050016                Gas           Gov. Aggregation   COH             151380680048                Gas           Gov. Aggregation
COH             189960970016                Gas           Gov. Aggregation   COH             177711780017                Gas           Gov. Aggregation
COH             190767640012                Gas           Gov. Aggregation   COH             151473410074                Gas           Gov. Aggregation
COH             192236080013                Gas           Gov. Aggregation   COH             161773080012                Gas           Gov. Aggregation
COH             192362520013                Gas           Gov. Aggregation   COH             156222880018                Gas           Gov. Aggregation
COH             192594510014                Gas           Gov. Aggregation   COH             156790160016                Gas           Gov. Aggregation
COH             194397970014                Gas           Gov. Aggregation   COH             115847440015                Gas           Gov. Aggregation
COH             194601630010                Gas           Gov. Aggregation   COH             115710560046                Gas           Gov. Aggregation
COH             194906590013                Gas           Gov. Aggregation   COH             115853380033                Gas           Gov. Aggregation
COH             196175270019                Gas           Gov. Aggregation   COH             141654320099                Gas           Gov. Aggregation
COH             196480370011                Gas           Gov. Aggregation   COH             195270380015                Gas           Gov. Aggregation
COH             197239140019                Gas           Gov. Aggregation   COH             198758760018                Gas           Gov. Aggregation
COH             197350790017                Gas           Gov. Aggregation   COH             115865830015                Gas           Gov. Aggregation
COH             197790870018                Gas           Gov. Aggregation   COH             135862180014                Gas           Gov. Aggregation
COH             145466910018                Gas           Gov. Aggregation   COH             148599860024                Gas           Gov. Aggregation
VEDO            4018762132247669            Gas           Gov. Aggregation   COH             154823790015                Gas           Gov. Aggregation
DUKE            5580068928                  Gas           Gov. Aggregation   COH             175866220037                Gas           Gov. Aggregation
DUKE            9530007126                  Gas           Gov. Aggregation   COH             196777730016                Gas           Gov. Aggregation
COH             114895940083                Gas           Gov. Aggregation   COH             194663410016                Gas           Gov. Aggregation
COH             117340460059                Gas           Gov. Aggregation   COH             189431420012                Gas           Gov. Aggregation
COH             123627710014                Gas           Gov. Aggregation   COH             196061040018                Gas           Gov. Aggregation
COH             123916240010                Gas           Gov. Aggregation   COH             115844800015                Gas           Gov. Aggregation
COH             134544200078                Gas           Gov. Aggregation   COH             115844440011                Gas           Gov. Aggregation
COH             135506650028                Gas           Gov. Aggregation   COH             115844050013                Gas           Gov. Aggregation
COH             140946680032                Gas           Gov. Aggregation   COH             115844090015                Gas           Gov. Aggregation
COH             141127310016                Gas           Gov. Aggregation   COH             177809440011                Gas           Gov. Aggregation
COH             142944290063                Gas           Gov. Aggregation   COH             185586650020                Gas           Gov. Aggregation
COH             147081820039                Gas           Gov. Aggregation   COH             174459330010                Gas           Gov. Aggregation
COH             149720930065                Gas           Gov. Aggregation   COH             146179450077                Gas           Gov. Aggregation
COH             154462250032                Gas           Gov. Aggregation   COH             195419700011                Gas           Gov. Aggregation
COH             155289990025                Gas           Gov. Aggregation   COH             194189010016                Gas           Gov. Aggregation
COH             157122000068                Gas           Gov. Aggregation   COH             156187240018                Gas           Gov. Aggregation
COH             161434230036                Gas           Gov. Aggregation   COH             133676560039                Gas           Gov. Aggregation
COH             166982220023                Gas           Gov. Aggregation   COH             136688780044                Gas           Gov. Aggregation
COH             167666570029                Gas           Gov. Aggregation   COH             140979040019                Gas           Gov. Aggregation
COH             174199000066                Gas           Gov. Aggregation   COH             115848900016                Gas           Gov. Aggregation
COH             175299020050                Gas           Gov. Aggregation   COH             115847770016                Gas           Gov. Aggregation
COH             176087440032                Gas           Gov. Aggregation   COH             196448650010                Gas           Gov. Aggregation
COH             177398710017                Gas           Gov. Aggregation   COH             195981200015                Gas           Gov. Aggregation
COH             186630770038                Gas           Gov. Aggregation   COH             197370680018                Gas           Gov. Aggregation
COH             187020140050                Gas           Gov. Aggregation   COH             162680120019                Gas           Gov. Aggregation
COH             187911620032                Gas           Gov. Aggregation   COH             162111490017                Gas           Gov. Aggregation
COH             188713960129                Gas           Gov. Aggregation   COH             175088650019                Gas           Gov. Aggregation
COH             188819890059                Gas           Gov. Aggregation   COH             197370280012                Gas           Gov. Aggregation
COH             189277460058                Gas           Gov. Aggregation   COH             188633770012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             190731960056                Gas           Gov. Aggregation   COH             189850380013                Gas           Gov. Aggregation
COH             191126340021                Gas           Gov. Aggregation   COH             199119700013                Gas           Gov. Aggregation
COH             191347510027                Gas           Gov. Aggregation   COH             197357560011                Gas           Gov. Aggregation
COH             191613280030                Gas           Gov. Aggregation   COH             167612590019                Gas           Gov. Aggregation
COH             192131294544                Gas           Gov. Aggregation   COH             152302490014                Gas           Gov. Aggregation
COH             192922480023                Gas           Gov. Aggregation   COH             147435590019                Gas           Gov. Aggregation
COH             195790820029                Gas           Gov. Aggregation   COH             149424680011                Gas           Gov. Aggregation
COH             196846580379                Gas           Gov. Aggregation   COH             146894060028                Gas           Gov. Aggregation
COH             196921020027                Gas           Gov. Aggregation   COH             115848690011                Gas           Gov. Aggregation
COH             196938760027                Gas           Gov. Aggregation   COH             198631800017                Gas           Gov. Aggregation
COH             197369700034                Gas           Gov. Aggregation   COH             194679180012                Gas           Gov. Aggregation
COH             197586400019                Gas           Gov. Aggregation   COH             194809010010                Gas           Gov. Aggregation
COH             197600990014                Gas           Gov. Aggregation   COH             195614550019                Gas           Gov. Aggregation
COH             197632210010                Gas           Gov. Aggregation   COH             188956500014                Gas           Gov. Aggregation
COH             197632270018                Gas           Gov. Aggregation   COH             189030280049                Gas           Gov. Aggregation
COH             197645300014                Gas           Gov. Aggregation   COH             115856400014                Gas           Gov. Aggregation
COH             197668130012                Gas           Gov. Aggregation   COH             167692810014                Gas           Gov. Aggregation
COH             197681670011                Gas           Gov. Aggregation   COH             165561600017                Gas           Gov. Aggregation
COH             197703630011                Gas           Gov. Aggregation   COH             176446270018                Gas           Gov. Aggregation
COH             197704640017                Gas           Gov. Aggregation   COH             173411290010                Gas           Gov. Aggregation
COH             197715790013                Gas           Gov. Aggregation   COH             171720420019                Gas           Gov. Aggregation
COH             197738500015                Gas           Gov. Aggregation   COH             162234690033                Gas           Gov. Aggregation
COH             197751420014                Gas           Gov. Aggregation   COH             152925330017                Gas           Gov. Aggregation
COH             197760580012                Gas           Gov. Aggregation   COH             140056380041                Gas           Gov. Aggregation
COH             197765180016                Gas           Gov. Aggregation   COH             143871170026                Gas           Gov. Aggregation
COH             197779260010                Gas           Gov. Aggregation   COH             115841300025                Gas           Gov. Aggregation
COH             197790920017                Gas           Gov. Aggregation   COH             162725540033                Gas           Gov. Aggregation
COH             197795810010                Gas           Gov. Aggregation   COH             189819540024                Gas           Gov. Aggregation
COH             197799490010                Gas           Gov. Aggregation   COH             190576390010                Gas           Gov. Aggregation
COH             197806730012                Gas           Gov. Aggregation   COH             186878140018                Gas           Gov. Aggregation
COH             197811350011                Gas           Gov. Aggregation   COH             115640650037                Gas           Gov. Aggregation
COH             197812400018                Gas           Gov. Aggregation   COH             115530000063                Gas           Gov. Aggregation
COH             197814790013                Gas           Gov. Aggregation   COH             115866670017                Gas           Gov. Aggregation
COH             197815730013                Gas           Gov. Aggregation   COH             115867220028                Gas           Gov. Aggregation
COH             197825620015                Gas           Gov. Aggregation   COH             137443200015                Gas           Gov. Aggregation
COH             197833490016                Gas           Gov. Aggregation   COH             127600220028                Gas           Gov. Aggregation
COH             197833720017                Gas           Gov. Aggregation   COH             115867830011                Gas           Gov. Aggregation
COH             197844440013                Gas           Gov. Aggregation   COH             198090700016                Gas           Gov. Aggregation
COH             197845250011                Gas           Gov. Aggregation   COH             198099230017                Gas           Gov. Aggregation
COH             197865880017                Gas           Gov. Aggregation   COH             189962160021                Gas           Gov. Aggregation
COH             197866030013                Gas           Gov. Aggregation   COH             188579870017                Gas           Gov. Aggregation
COH             197868710016                Gas           Gov. Aggregation   COH             144570590016                Gas           Gov. Aggregation
COH             197874130015                Gas           Gov. Aggregation   COH             193782740016                Gas           Gov. Aggregation
COH             197885670019                Gas           Gov. Aggregation   COH             127251010014                Gas           Gov. Aggregation
COH             197885890013                Gas           Gov. Aggregation   COH             121874060010                Gas           Gov. Aggregation
COH             197913030012                Gas           Gov. Aggregation   COH             115809050026                Gas           Gov. Aggregation
COH             197913080012                Gas           Gov. Aggregation   COH             115816010029                Gas           Gov. Aggregation
COH             197932490016                Gas           Gov. Aggregation   COH             115860300016                Gas           Gov. Aggregation
COH             197956130011                Gas           Gov. Aggregation   COH             190446350013                Gas           Gov. Aggregation
COH             197957160013                Gas           Gov. Aggregation   COH             177760910016                Gas           Gov. Aggregation
VEDO            4017919922151857            Gas           Gov. Aggregation   COH             162194160012                Gas           Gov. Aggregation
COH             164420060010                Gas           Gov. Aggregation   COH             165167640033                Gas           Gov. Aggregation
COH             110740890012                Gas           Gov. Aggregation   COH             165497700013                Gas           Gov. Aggregation
COH             143002120018                Gas           Gov. Aggregation   COH             192287950013                Gas           Gov. Aggregation
COH             162042680032                Gas           Gov. Aggregation   COH             191975800016                Gas           Gov. Aggregation
COH             186198100027                Gas           Gov. Aggregation   COH             161331610016                Gas           Gov. Aggregation
COH             148993530027                Gas           Gov. Aggregation   COH             152804370024                Gas           Gov. Aggregation
COH             194503430010                Gas           Gov. Aggregation   COH             115859780028                Gas           Gov. Aggregation
COH             194276550036                Gas           Gov. Aggregation   COH             150356100069                Gas           Gov. Aggregation
COH             194201050010                Gas           Gov. Aggregation   COH             148683880012                Gas           Gov. Aggregation
COH             188102490016                Gas           Gov. Aggregation   COH             115849980018                Gas           Gov. Aggregation
COH             197327280013                Gas           Gov. Aggregation   COH             115850240010                Gas           Gov. Aggregation
COH             110692020017                Gas           Gov. Aggregation   COH             115849630011                Gas           Gov. Aggregation
COH             110692030015                Gas           Gov. Aggregation   COH             133221530074                Gas           Gov. Aggregation
COH             115264930027                Gas           Gov. Aggregation   COH             133375150015                Gas           Gov. Aggregation
COH             110691420015                Gas           Gov. Aggregation   COH             130595450028                Gas           Gov. Aggregation
COH             110691470015                Gas           Gov. Aggregation   COH             115741400026                Gas           Gov. Aggregation
COH             110691670013                Gas           Gov. Aggregation   COH             115862770023                Gas           Gov. Aggregation
COH             110724910011                Gas           Gov. Aggregation   COH             115863210019                Gas           Gov. Aggregation
COH             154852550023                Gas           Gov. Aggregation   COH             115859760022                Gas           Gov. Aggregation
COH             196248990013                Gas           Gov. Aggregation   COH             195194070012                Gas           Gov. Aggregation
COH             169553280018                Gas           Gov. Aggregation   COH             195298670025                Gas           Gov. Aggregation
COH             155447080011                Gas           Gov. Aggregation   COH             198663680016                Gas           Gov. Aggregation
COH             142990840024                Gas           Gov. Aggregation   COH             198496210019                Gas           Gov. Aggregation
COH             185332090016                Gas           Gov. Aggregation   COH             197328600013                Gas           Gov. Aggregation
COH             196307150013                Gas           Gov. Aggregation   COH             198123430012                Gas           Gov. Aggregation
COH             136615410017                Gas           Gov. Aggregation   COH             177745010035                Gas           Gov. Aggregation
COH             162651980010                Gas           Gov. Aggregation   COH             170459010020                Gas           Gov. Aggregation
COH             189196860010                Gas           Gov. Aggregation   COH             160372950010                Gas           Gov. Aggregation
COH             156621800018                Gas           Gov. Aggregation   COH             160699030057                Gas           Gov. Aggregation
COH             191476200010                Gas           Gov. Aggregation   COH             160851580012                Gas           Gov. Aggregation
COH             185728400039                Gas           Gov. Aggregation   COH             160173230013                Gas           Gov. Aggregation
COH             187515130026                Gas           Gov. Aggregation   COH             167954570019                Gas           Gov. Aggregation
COH             189795180013                Gas           Gov. Aggregation   COH             197198330017                Gas           Gov. Aggregation
COH             142185310013                Gas           Gov. Aggregation   COH             192409220016                Gas           Gov. Aggregation
COH             153566420037                Gas           Gov. Aggregation   COH             195478430014                Gas           Gov. Aggregation
COH             170749170022                Gas           Gov. Aggregation   COH             165449820064                Gas           Gov. Aggregation
COH             161434080029                Gas           Gov. Aggregation   COH             115836630018                Gas           Gov. Aggregation
COH             191501310021                Gas           Gov. Aggregation   COH             160009910017                Gas           Gov. Aggregation
COH             197027580016                Gas           Gov. Aggregation   COH             186237430015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             157831890023                Gas           Gov. Aggregation   COH             198196250017                Gas           Gov. Aggregation
COH             192960040016                Gas           Gov. Aggregation   COH             189022260013                Gas           Gov. Aggregation
COH             187647920012                Gas           Gov. Aggregation   COH             194675460011                Gas           Gov. Aggregation
COH             132354130023                Gas           Gov. Aggregation   COH             192618960018                Gas           Gov. Aggregation
COH             154228830045                Gas           Gov. Aggregation   COH             197822540018                Gas           Gov. Aggregation
COH             191496590017                Gas           Gov. Aggregation   COH             197661250011                Gas           Gov. Aggregation
COH             169440470026                Gas           Gov. Aggregation   COH             156244010023                Gas           Gov. Aggregation
COH             190663660054                Gas           Gov. Aggregation   DEO             0180000376309               Gas           Gov. Aggregation
COH             139398420014                Gas           Gov. Aggregation   COH             143361090042                Gas           Gov. Aggregation
COH             187237750026                Gas           Gov. Aggregation   COH             133999590011                Gas           Gov. Aggregation
COH             115781640022                Gas           Gov. Aggregation   COH             140722590026                Gas           Gov. Aggregation
COH             115772550011                Gas           Gov. Aggregation   COH             172211140016                Gas           Gov. Aggregation
COH             188041910026                Gas           Gov. Aggregation   COH             172407480074                Gas           Gov. Aggregation
COH             172687010034                Gas           Gov. Aggregation   COH             176010250033                Gas           Gov. Aggregation
COH             151139770013                Gas           Gov. Aggregation   COH             177328610051                Gas           Gov. Aggregation
COH             194532400015                Gas           Gov. Aggregation   COH             186039760034                Gas           Gov. Aggregation
COH             196022390017                Gas           Gov. Aggregation   COH             193779690023                Gas           Gov. Aggregation
COH             115782920012                Gas           Gov. Aggregation   COH             193975730055                Gas           Gov. Aggregation
COH             115752480018                Gas           Gov. Aggregation   COH             194223940017                Gas           Gov. Aggregation
COH             135071950028                Gas           Gov. Aggregation   COH             194325540015                Gas           Gov. Aggregation
COH             145587150021                Gas           Gov. Aggregation   COH             194741710017                Gas           Gov. Aggregation
COH             167619190019                Gas           Gov. Aggregation   COH             196009200014                Gas           Gov. Aggregation
COH             147982940016                Gas           Gov. Aggregation   COH             196604440012                Gas           Gov. Aggregation
COH             115781700038                Gas           Gov. Aggregation   COH             196624960011                Gas           Gov. Aggregation
COH             115781770016                Gas           Gov. Aggregation   COH             196801810034                Gas           Gov. Aggregation
COH             152890560023                Gas           Gov. Aggregation   COH             197768640013                Gas           Gov. Aggregation
COH             190953200019                Gas           Gov. Aggregation   COH             198671940014                Gas           Gov. Aggregation
COH             115782240015                Gas           Gov. Aggregation   COH             123891110011                Gas           Gov. Aggregation
COH             115782330016                Gas           Gov. Aggregation   COH             122421370022                Gas           Gov. Aggregation
COH             152864230045                Gas           Gov. Aggregation   VEDO            4004164432418590            Gas           Gov. Aggregation
COH             115619740024                Gas           Gov. Aggregation   COH             148462170064                Gas           Gov. Aggregation
COH             174233610028                Gas           Gov. Aggregation   COH             197952310011                Gas           Gov. Aggregation
COH             190342150015                Gas           Gov. Aggregation   COH             198574660019                Gas           Gov. Aggregation
COH             145863710027                Gas           Gov. Aggregation   COH             198334780021                Gas           Gov. Aggregation
COH             127304870020                Gas           Gov. Aggregation   DEO             1180001115855               Gas           Gov. Aggregation
COH             115782740010                Gas           Gov. Aggregation   COH             174415440037                Gas           Gov. Aggregation
COH             115615800056                Gas           Gov. Aggregation   DEO             1422105594708               Gas           Gov. Aggregation
COH             115803720018                Gas           Gov. Aggregation   COH             122339510018                Gas           Gov. Aggregation
COH             193213370019                Gas           Gov. Aggregation   COH             111253720019                Gas           Gov. Aggregation
COH             115782900016                Gas           Gov. Aggregation   COH             199734340015                Gas           Gov. Aggregation
COH             115752500013                Gas           Gov. Aggregation   COH             199372100013                Gas           Gov. Aggregation
COH             137039210029                Gas           Gov. Aggregation   COH             198823430018                Gas           Gov. Aggregation
COH             148438650028                Gas           Gov. Aggregation   COH             125747690013                Gas           Gov. Aggregation
COH             189297350013                Gas           Gov. Aggregation   COH             125776010023                Gas           Gov. Aggregation
COH             172790390018                Gas           Gov. Aggregation   COH             125771730013                Gas           Gov. Aggregation
COH             171600510014                Gas           Gov. Aggregation   COH             125734260010                Gas           Gov. Aggregation
COH             196552930010                Gas           Gov. Aggregation   COH             197291280010                Gas           Gov. Aggregation
COH             186567780031                Gas           Gov. Aggregation   COH             186480210025                Gas           Gov. Aggregation
COH             186401670016                Gas           Gov. Aggregation   COH             195955480012                Gas           Gov. Aggregation
COH             159510720026                Gas           Gov. Aggregation   COH             198783130017                Gas           Gov. Aggregation
COH             115750410016                Gas           Gov. Aggregation   COH             145437200063                Gas           Gov. Aggregation
COH             159556710031                Gas           Gov. Aggregation   COH             159699460014                Gas           Gov. Aggregation
COH             197480510010                Gas           Gov. Aggregation   COH             193403050022                Gas           Gov. Aggregation
COH             195309930016                Gas           Gov. Aggregation   COH             185964250022                Gas           Gov. Aggregation
COH             115785240019                Gas           Gov. Aggregation   COH             198486910013                Gas           Gov. Aggregation
COH             141318680023                Gas           Gov. Aggregation   COH             196106100019                Gas           Gov. Aggregation
COH             187312530022                Gas           Gov. Aggregation   COH             131422680551                Gas           Gov. Aggregation
COH             115750270025                Gas           Gov. Aggregation   COH             168158160021                Gas           Gov. Aggregation
COH             163537100015                Gas           Gov. Aggregation   COH             195680780012                Gas           Gov. Aggregation
COH             195952260014                Gas           Gov. Aggregation   COH             125773530020                Gas           Gov. Aggregation
COH             134131780018                Gas           Gov. Aggregation   COH             185808220046                Gas           Gov. Aggregation
COH             115802890015                Gas           Gov. Aggregation   COH             198243710019                Gas           Gov. Aggregation
COH             115607590021                Gas           Gov. Aggregation   COH             139277050054                Gas           Gov. Aggregation
COH             129103770025                Gas           Gov. Aggregation   COH             197093830014                Gas           Gov. Aggregation
COH             136950440011                Gas           Gov. Aggregation   COH             196546830014                Gas           Gov. Aggregation
COH             143626360025                Gas           Gov. Aggregation   COH             157843750036                Gas           Gov. Aggregation
COH             136088500017                Gas           Gov. Aggregation   COH             154390870035                Gas           Gov. Aggregation
COH             169437120017                Gas           Gov. Aggregation   COH             167686900018                Gas           Gov. Aggregation
COH             192987670027                Gas           Gov. Aggregation   COH             162629950031                Gas           Gov. Aggregation
COH             163788860033                Gas           Gov. Aggregation   COH             197455270014                Gas           Gov. Aggregation
COH             161404180030                Gas           Gov. Aggregation   COH             185087040026                Gas           Gov. Aggregation
COH             129128780049                Gas           Gov. Aggregation   COH             196701130011                Gas           Gov. Aggregation
COH             115733470029                Gas           Gov. Aggregation   COH             125661570029                Gas           Gov. Aggregation
COH             160228300020                Gas           Gov. Aggregation   COH             164832080022                Gas           Gov. Aggregation
COH             194011280015                Gas           Gov. Aggregation   COH             160825870025                Gas           Gov. Aggregation
COH             170571770014                Gas           Gov. Aggregation   COH             199282160012                Gas           Gov. Aggregation
COH             171714420012                Gas           Gov. Aggregation   COH             197290630018                Gas           Gov. Aggregation
COH             191420240019                Gas           Gov. Aggregation   COH             148157780018                Gas           Gov. Aggregation
COH             145661820013                Gas           Gov. Aggregation   COH             199146670013                Gas           Gov. Aggregation
COH             138790120016                Gas           Gov. Aggregation   COH             198745610016                Gas           Gov. Aggregation
COH             161856250010                Gas           Gov. Aggregation   COH             197290600014                Gas           Gov. Aggregation
COH             162726790048                Gas           Gov. Aggregation   COH             162378220037                Gas           Gov. Aggregation
COH             190059610028                Gas           Gov. Aggregation   COH             197062920010                Gas           Gov. Aggregation
COH             115537480023                Gas           Gov. Aggregation   COH             199698970011                Gas           Gov. Aggregation
COH             143214220018                Gas           Gov. Aggregation   COH             125864910018                Gas           Gov. Aggregation
COH             156655090017                Gas           Gov. Aggregation   COH             199499020012                Gas           Gov. Aggregation
COH             156451940010                Gas           Gov. Aggregation   COH             177305730018                Gas           Gov. Aggregation
COH             155788340014                Gas           Gov. Aggregation   COH             196574350016                Gas           Gov. Aggregation
COH             115834140024                Gas           Gov. Aggregation   COH             125747560010                Gas           Gov. Aggregation
COH             119013660110                Gas           Gov. Aggregation   COH             160618730032                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             119013660138                Gas           Gov. Aggregation   COH             199587860019                Gas           Gov. Aggregation
COH             187252450018                Gas           Gov. Aggregation   COH             174497350061                Gas           Gov. Aggregation
COH             177137200016                Gas           Gov. Aggregation   COH             166447290023                Gas           Gov. Aggregation
COH             173998600012                Gas           Gov. Aggregation   COH             175132230021                Gas           Gov. Aggregation
COH             192990220015                Gas           Gov. Aggregation   COH             175645610033                Gas           Gov. Aggregation
COH             108716930027                Gas           Gov. Aggregation   COH             195681710023                Gas           Gov. Aggregation
COH             108727450016                Gas           Gov. Aggregation   COH             167725630048                Gas           Gov. Aggregation
COH             108779220051                Gas           Gov. Aggregation   COH             132644030038                Gas           Gov. Aggregation
COH             109256140019                Gas           Gov. Aggregation   COH             153499640034                Gas           Gov. Aggregation
COH             108755590027                Gas           Gov. Aggregation   COH             154172150056                Gas           Gov. Aggregation
COH             196189040018                Gas           Gov. Aggregation   COH             196154010017                Gas           Gov. Aggregation
COH             195830490014                Gas           Gov. Aggregation   COH             185469530023                Gas           Gov. Aggregation
COH             194883400012                Gas           Gov. Aggregation   COH             198347770017                Gas           Gov. Aggregation
COH             194333180014                Gas           Gov. Aggregation   COH             153823510032                Gas           Gov. Aggregation
COH             141210570015                Gas           Gov. Aggregation   COH             188646330044                Gas           Gov. Aggregation
COH             108734630013                Gas           Gov. Aggregation   COH             188589800038                Gas           Gov. Aggregation
COH             108734800017                Gas           Gov. Aggregation   COH             197940330012                Gas           Gov. Aggregation
COH             108707130015                Gas           Gov. Aggregation   COH             198013340014                Gas           Gov. Aggregation
COH             191374070032                Gas           Gov. Aggregation   COH             195799960013                Gas           Gov. Aggregation
COH             134615880011                Gas           Gov. Aggregation   COH             156953400019                Gas           Gov. Aggregation
COH             151441660033                Gas           Gov. Aggregation   COH             160780260056                Gas           Gov. Aggregation
COH             150593730010                Gas           Gov. Aggregation   COH             163511490036                Gas           Gov. Aggregation
COH             128876110018                Gas           Gov. Aggregation   COH             123766530027                Gas           Gov. Aggregation
COH             135326650020                Gas           Gov. Aggregation   COH             130132910021                Gas           Gov. Aggregation
COH             194738590010                Gas           Gov. Aggregation   COH             194387680016                Gas           Gov. Aggregation
COH             195709400019                Gas           Gov. Aggregation   COH             197801490013                Gas           Gov. Aggregation
COH             108737350016                Gas           Gov. Aggregation   COH             125733370019                Gas           Gov. Aggregation
COH             108711920029                Gas           Gov. Aggregation   COH             199180730018                Gas           Gov. Aggregation
COH             108724350022                Gas           Gov. Aggregation   COH             186172340030                Gas           Gov. Aggregation
COH             176814990034                Gas           Gov. Aggregation   COH             174513140041                Gas           Gov. Aggregation
COH             173551690038                Gas           Gov. Aggregation   COH             191280730023                Gas           Gov. Aggregation
COH             108688780011                Gas           Gov. Aggregation   COH             185763620048                Gas           Gov. Aggregation
COH             108689300028                Gas           Gov. Aggregation   COH             196660950035                Gas           Gov. Aggregation
COH             108684790017                Gas           Gov. Aggregation   COH             190943350028                Gas           Gov. Aggregation
COH             108721530039                Gas           Gov. Aggregation   COH             193503210053                Gas           Gov. Aggregation
COH             136732700018                Gas           Gov. Aggregation   COH             195237410018                Gas           Gov. Aggregation
COH             147161020019                Gas           Gov. Aggregation   COH             163934370035                Gas           Gov. Aggregation
COH             195252120017                Gas           Gov. Aggregation   COH             197306510018                Gas           Gov. Aggregation
COH             195808460035                Gas           Gov. Aggregation   COH             198843230018                Gas           Gov. Aggregation
COH             108684740017                Gas           Gov. Aggregation   COH             174563210041                Gas           Gov. Aggregation
COH             120212120163                Gas           Gov. Aggregation   COH             149870770035                Gas           Gov. Aggregation
COH             191961120018                Gas           Gov. Aggregation   COH             195906610017                Gas           Gov. Aggregation
COH             196037250015                Gas           Gov. Aggregation   COH             197422700012                Gas           Gov. Aggregation
COH             197775070018                Gas           Gov. Aggregation   COH             165571790026                Gas           Gov. Aggregation
COH             197651950015                Gas           Gov. Aggregation   COH             197514650018                Gas           Gov. Aggregation
COH             139593640014                Gas           Gov. Aggregation   COH             196374860013                Gas           Gov. Aggregation
COH             164332690015                Gas           Gov. Aggregation   COH             124636990016                Gas           Gov. Aggregation
COH             156377420017                Gas           Gov. Aggregation   COH             196749160015                Gas           Gov. Aggregation
COH             159843530021                Gas           Gov. Aggregation   COH             196665070012                Gas           Gov. Aggregation
COH             108683580013                Gas           Gov. Aggregation   COH             125866070011                Gas           Gov. Aggregation
COH             108697810024                Gas           Gov. Aggregation   COH             125865550085                Gas           Gov. Aggregation
COH             163505120018                Gas           Gov. Aggregation   COH             122665060067                Gas           Gov. Aggregation
COH             161422050057                Gas           Gov. Aggregation   COH             163381870024                Gas           Gov. Aggregation
COH             173751680018                Gas           Gov. Aggregation   COH             196422140011                Gas           Gov. Aggregation
COH             192517130016                Gas           Gov. Aggregation   COH             195101760012                Gas           Gov. Aggregation
COH             194729020018                Gas           Gov. Aggregation   COH             167814660025                Gas           Gov. Aggregation
COH             196563520013                Gas           Gov. Aggregation   COH             168915810028                Gas           Gov. Aggregation
COH             108712420013                Gas           Gov. Aggregation   COH             199568380010                Gas           Gov. Aggregation
COH             108711920010                Gas           Gov. Aggregation   COH             198191510012                Gas           Gov. Aggregation
COH             108711700016                Gas           Gov. Aggregation   COH             198575770014                Gas           Gov. Aggregation
COH             108747260023                Gas           Gov. Aggregation   COH             195593000010                Gas           Gov. Aggregation
COH             126871220017                Gas           Gov. Aggregation   COH             191070550026                Gas           Gov. Aggregation
COH             152032690015                Gas           Gov. Aggregation   COH             196542370019                Gas           Gov. Aggregation
COH             155668760010                Gas           Gov. Aggregation   COH             197564860019                Gas           Gov. Aggregation
COH             155689140043                Gas           Gov. Aggregation   COH             198310200013                Gas           Gov. Aggregation
COH             154911790045                Gas           Gov. Aggregation   COH             138234200044                Gas           Gov. Aggregation
COH             191601470017                Gas           Gov. Aggregation   COH             193425530016                Gas           Gov. Aggregation
COH             157989670017                Gas           Gov. Aggregation   COH             199282150014                Gas           Gov. Aggregation
COH             157929540029                Gas           Gov. Aggregation   COH             160837540029                Gas           Gov. Aggregation
COH             159005950029                Gas           Gov. Aggregation   COH             191258470016                Gas           Gov. Aggregation
COH             108716580021                Gas           Gov. Aggregation   COH             160462990020                Gas           Gov. Aggregation
COH             108718550014                Gas           Gov. Aggregation   COH             194084140011                Gas           Gov. Aggregation
COH             170569190039                Gas           Gov. Aggregation   COH             192140210018                Gas           Gov. Aggregation
COH             196218350010                Gas           Gov. Aggregation   COH             194757110010                Gas           Gov. Aggregation
COH             177648190034                Gas           Gov. Aggregation   COH             168661220012                Gas           Gov. Aggregation
COH             177648190043                Gas           Gov. Aggregation   COH             194165180011                Gas           Gov. Aggregation
COH             177648190052                Gas           Gov. Aggregation   COH             193427970010                Gas           Gov. Aggregation
COH             176720600034                Gas           Gov. Aggregation   COH             176435820024                Gas           Gov. Aggregation
COH             108772230017                Gas           Gov. Aggregation   COH             193564960012                Gas           Gov. Aggregation
COH             108746390019                Gas           Gov. Aggregation   COH             124654710025                Gas           Gov. Aggregation
COH             153407870011                Gas           Gov. Aggregation   COH             125897680027                Gas           Gov. Aggregation
COH             145087340058                Gas           Gov. Aggregation   COH             145629770021                Gas           Gov. Aggregation
COH             139535230021                Gas           Gov. Aggregation   COH             164555280028                Gas           Gov. Aggregation
COH             141000460059                Gas           Gov. Aggregation   COH             125866040017                Gas           Gov. Aggregation
COH             132915470040                Gas           Gov. Aggregation   COH             122675750025                Gas           Gov. Aggregation
COH             147774630030                Gas           Gov. Aggregation   COH             191888130012                Gas           Gov. Aggregation
COH             145087330069                Gas           Gov. Aggregation   COH             160209660025                Gas           Gov. Aggregation
COH             157610970024                Gas           Gov. Aggregation   COH             177127070024                Gas           Gov. Aggregation
COH             166648670018                Gas           Gov. Aggregation   COH             191631980017                Gas           Gov. Aggregation
COH             108731560014                Gas           Gov. Aggregation   COH             194572440013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             108731600015                Gas           Gov. Aggregation   COH             190531880011                Gas           Gov. Aggregation
COH             108731700014                Gas           Gov. Aggregation   COH             193942850013                Gas           Gov. Aggregation
COH             108734640020                Gas           Gov. Aggregation   COH             193982870015                Gas           Gov. Aggregation
COH             108748680023                Gas           Gov. Aggregation   COH             190411710029                Gas           Gov. Aggregation
COH             193206980016                Gas           Gov. Aggregation   COH             190093610017                Gas           Gov. Aggregation
COH             193558400012                Gas           Gov. Aggregation   VEDO            4018193692114462            Gas           Gov. Aggregation
COH             159059680014                Gas           Gov. Aggregation   VEDO            4001337592131715            Gas           Gov. Aggregation
COH             163921770065                Gas           Gov. Aggregation   COH             134720150011                Gas           Gov. Aggregation
COH             192582040018                Gas           Gov. Aggregation   VEDO            4018613482629491            Gas           Gov. Aggregation
COH             192326220110                Gas           Gov. Aggregation   VEDO            4019432182434043            Gas           Gov. Aggregation
COH             108733720016                Gas           Gov. Aggregation   VEDO            4019739632137698            Gas           Gov. Aggregation
COH             133327800046                Gas           Gov. Aggregation   VEDO            4019772702217488            Gas           Gov. Aggregation
COH             190369470012                Gas           Gov. Aggregation   VEDO            4019451182537360            Gas           Gov. Aggregation
COH             185922150012                Gas           Gov. Aggregation   VEDO            4001654502626253            Gas           Gov. Aggregation
COH             177855560028                Gas           Gov. Aggregation   VEDO            4019404392402872            Gas           Gov. Aggregation
COH             188814600013                Gas           Gov. Aggregation   VEDO            4019514002357266            Gas           Gov. Aggregation
COH             192900430010                Gas           Gov. Aggregation   VEDO            4019514832478920            Gas           Gov. Aggregation
COH             192057530027                Gas           Gov. Aggregation   VEDO            4016636852136921            Gas           Gov. Aggregation
COH             155851050047                Gas           Gov. Aggregation   VEDO            4016548342590143            Gas           Gov. Aggregation
COH             147580110012                Gas           Gov. Aggregation   VEDO            4018387392396007            Gas           Gov. Aggregation
COH             108716690019                Gas           Gov. Aggregation   VEDO            4017299672488129            Gas           Gov. Aggregation
COH             196916210019                Gas           Gov. Aggregation   VEDO            4015874062135371            Gas           Gov. Aggregation
COH             108720650018                Gas           Gov. Aggregation   VEDO            4003698052151464            Gas           Gov. Aggregation
COH             161225530018                Gas           Gov. Aggregation   VEDO            4019521212464245            Gas           Gov. Aggregation
COH             173717500026                Gas           Gov. Aggregation   VEDO            4019389022514637            Gas           Gov. Aggregation
COH             172750200011                Gas           Gov. Aggregation   VEDO            4019346792474457            Gas           Gov. Aggregation
COH             187795490010                Gas           Gov. Aggregation   VEDO            4018520292110576            Gas           Gov. Aggregation
COH             188699820013                Gas           Gov. Aggregation   VEDO            4003887052430606            Gas           Gov. Aggregation
COH             166329630021                Gas           Gov. Aggregation   VEDO            4019217312278875            Gas           Gov. Aggregation
COH             108728660010                Gas           Gov. Aggregation   VEDO            4019160762381530            Gas           Gov. Aggregation
COH             196948320019                Gas           Gov. Aggregation   VEDO            4017983392240219            Gas           Gov. Aggregation
COH             176843860012                Gas           Gov. Aggregation   VEDO            4002227542304962            Gas           Gov. Aggregation
COH             108720420016                Gas           Gov. Aggregation   VEDO            4019520332549464            Gas           Gov. Aggregation
COH             108720450010                Gas           Gov. Aggregation   VEDO            4004337812437509            Gas           Gov. Aggregation
COH             108720490012                Gas           Gov. Aggregation   VEDO            4019740372467914            Gas           Gov. Aggregation
COH             108723190019                Gas           Gov. Aggregation   VEDO            4019524562263908            Gas           Gov. Aggregation
COH             108709090029                Gas           Gov. Aggregation   VEDO            4019069412443297            Gas           Gov. Aggregation
COH             136555620011                Gas           Gov. Aggregation   VEDO            4019799472530689            Gas           Gov. Aggregation
COH             108717890024                Gas           Gov. Aggregation   VEDO            4019243462645542            Gas           Gov. Aggregation
COH             155887720014                Gas           Gov. Aggregation   VEDO            4015987362273290            Gas           Gov. Aggregation
COH             176819510025                Gas           Gov. Aggregation   VEDO            4015997182211447            Gas           Gov. Aggregation
COH             176790550010                Gas           Gov. Aggregation   VEDO            4017311082470306            Gas           Gov. Aggregation
COH             112113170010                Gas           Gov. Aggregation   VEDO            4017311082207464            Gas           Gov. Aggregation
COH             108736120025                Gas           Gov. Aggregation   VEDO            4017311082325435            Gas           Gov. Aggregation
COH             108738390016                Gas           Gov. Aggregation   VEDO            4017855502204366            Gas           Gov. Aggregation
COH             108738460011                Gas           Gov. Aggregation   VEDO            4018737942343416            Gas           Gov. Aggregation
COH             108739420017                Gas           Gov. Aggregation   VEDO            4016827312537447            Gas           Gov. Aggregation
COH             108738130010                Gas           Gov. Aggregation   VEDO            4019130842222795            Gas           Gov. Aggregation
COH             162530040022                Gas           Gov. Aggregation   VEDO            4019415572234601            Gas           Gov. Aggregation
COH             167800740027                Gas           Gov. Aggregation   VEDO            4019437142442807            Gas           Gov. Aggregation
COH             170999800039                Gas           Gov. Aggregation   VEDO            4016012032369552            Gas           Gov. Aggregation
COH             171402610022                Gas           Gov. Aggregation   VEDO            4017647782491800            Gas           Gov. Aggregation
COH             168236180012                Gas           Gov. Aggregation   VEDO            4016548342227377            Gas           Gov. Aggregation
COH             156172140038                Gas           Gov. Aggregation   VEDO            4018439852320286            Gas           Gov. Aggregation
COH             145134640036                Gas           Gov. Aggregation   VEDO            4017440892192376            Gas           Gov. Aggregation
COH             146320730013                Gas           Gov. Aggregation   VEDO            4015717992176233            Gas           Gov. Aggregation
COH             109277290032                Gas           Gov. Aggregation   VEDO            4019430822176115            Gas           Gov. Aggregation
COH             108733220011                Gas           Gov. Aggregation   VEDO            4001148012146719            Gas           Gov. Aggregation
COH             108733620017                Gas           Gov. Aggregation   VEDO            4017910062388471            Gas           Gov. Aggregation
COH             166779770047                Gas           Gov. Aggregation   VEDO            4004750572483005            Gas           Gov. Aggregation
COH             164453470042                Gas           Gov. Aggregation   VEDO            4019731562418968            Gas           Gov. Aggregation
COH             108672230028                Gas           Gov. Aggregation   VEDO            4019510732232324            Gas           Gov. Aggregation
COH             108687330035                Gas           Gov. Aggregation   VEDO            4019798382463621            Gas           Gov. Aggregation
COH             108758780012                Gas           Gov. Aggregation   VEDO            4018878922149508            Gas           Gov. Aggregation
COH             143213720015                Gas           Gov. Aggregation   VEDO            4019535442315819            Gas           Gov. Aggregation
COH             112049390020                Gas           Gov. Aggregation   VEDO            4019741232251270            Gas           Gov. Aggregation
COH             134552680017                Gas           Gov. Aggregation   VEDO            4001087822163613            Gas           Gov. Aggregation
COH             137571960042                Gas           Gov. Aggregation   VEDO            4019734972105169            Gas           Gov. Aggregation
COH             197075330017                Gas           Gov. Aggregation   VEDO            4019734972377069            Gas           Gov. Aggregation
COH             197847730016                Gas           Gov. Aggregation   VEDO            4019734972420020            Gas           Gov. Aggregation
COH             197051750019                Gas           Gov. Aggregation   VEDO            4004410772131045            Gas           Gov. Aggregation
COH             195112600012                Gas           Gov. Aggregation   VEDO            4019401062466273            Gas           Gov. Aggregation
COH             165318930059                Gas           Gov. Aggregation   VEDO            4017525972333392            Gas           Gov. Aggregation
COH             159874370011                Gas           Gov. Aggregation   VEDO            4018009252603705            Gas           Gov. Aggregation
COH             129663730027                Gas           Gov. Aggregation   COH             122513820013                Gas           Gov. Aggregation
COH             152518200026                Gas           Gov. Aggregation   COH             190422320019                Gas           Gov. Aggregation
COH             108717710049                Gas           Gov. Aggregation   COH             154355870020                Gas           Gov. Aggregation
COH             108755110018                Gas           Gov. Aggregation   DEO             2180015133546               Gas           Gov. Aggregation
COH             108753460028                Gas           Gov. Aggregation   COH             121977490021                Gas           Gov. Aggregation
COH             108754900014                Gas           Gov. Aggregation   COH             111255740020                Gas           Gov. Aggregation
COH             108751310032                Gas           Gov. Aggregation   DUKE            1730058320                  Gas           Gov. Aggregation
COH             108748340024                Gas           Gov. Aggregation   DUKE            1520393803                  Gas           Gov. Aggregation
COH             108746370031                Gas           Gov. Aggregation   DUKE            1510392802                  Gas           Gov. Aggregation
COH             108727370022                Gas           Gov. Aggregation   DUKE            9490018332                  Gas           Gov. Aggregation
COH             108687270038                Gas           Gov. Aggregation   DUKE            5360359503                  Gas           Gov. Aggregation
COH             191188400019                Gas           Gov. Aggregation   DUKE            5360055423                  Gas           Gov. Aggregation
COH             176298660011                Gas           Gov. Aggregation   DUKE            4500394705                  Gas           Gov. Aggregation
COH             108669540011                Gas           Gov. Aggregation   DUKE            4510018425                  Gas           Gov. Aggregation
COH             145734390019                Gas           Gov. Aggregation   DUKE            4500058420                  Gas           Gov. Aggregation
COH             108667800010                Gas           Gov. Aggregation   DUKE            4730058320                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             108667200016                Gas           Gov. Aggregation   DUKE         3310055427                  Gas           Gov. Aggregation
COH             170825940019                Gas           Gov. Aggregation   DUKE         1120036525                  Gas           Gov. Aggregation
COH             196466180011                Gas           Gov. Aggregation   DUKE         1250394902                  Gas           Gov. Aggregation
COH             193797810010                Gas           Gov. Aggregation   DUKE         1430350112                  Gas           Gov. Aggregation
COH             194319760012                Gas           Gov. Aggregation   DUKE         1440055429                  Gas           Gov. Aggregation
COH             188619180016                Gas           Gov. Aggregation   DUKE         1220362104                  Gas           Gov. Aggregation
COH             108668570017                Gas           Gov. Aggregation   DUKE         1410052232                  Gas           Gov. Aggregation
COH             147957790039                Gas           Gov. Aggregation   DUKE         9250058321                  Gas           Gov. Aggregation
COH             140443710031                Gas           Gov. Aggregation   DUKE         9120395602                  Gas           Gov. Aggregation
COH             149995700017                Gas           Gov. Aggregation   DUKE         9140058325                  Gas           Gov. Aggregation
COH             148479880015                Gas           Gov. Aggregation   DUKE         9200212105                  Gas           Gov. Aggregation
COH             146148990042                Gas           Gov. Aggregation   DUKE         9070388603                  Gas           Gov. Aggregation
COH             191877740017                Gas           Gov. Aggregation   DUKE         3500055422                  Gas           Gov. Aggregation
COH             186506590011                Gas           Gov. Aggregation   DUKE         3290018323                  Gas           Gov. Aggregation
COH             166147740015                Gas           Gov. Aggregation   DUKE         3150087528                  Gas           Gov. Aggregation
COH             194003230012                Gas           Gov. Aggregation   DUKE         3370052129                  Gas           Gov. Aggregation
COH             167879890021                Gas           Gov. Aggregation   DUKE         3260018326                  Gas           Gov. Aggregation
COH             165988400015                Gas           Gov. Aggregation   DUKE         3380358709                  Gas           Gov. Aggregation
COH             166006070014                Gas           Gov. Aggregation   DUKE         3390395102                  Gas           Gov. Aggregation
COH             176119670017                Gas           Gov. Aggregation   DUKE         3340058325                  Gas           Gov. Aggregation
COH             185088640028                Gas           Gov. Aggregation   DUKE         3350359503                  Gas           Gov. Aggregation
COH             153103180010                Gas           Gov. Aggregation   DUKE         2950393502                  Gas           Gov. Aggregation
COH             152367760011                Gas           Gov. Aggregation   DUKE         2990018322                  Gas           Gov. Aggregation
COH             148864830018                Gas           Gov. Aggregation   DUKE         3000058430                  Gas           Gov. Aggregation
COH             108682120039                Gas           Gov. Aggregation   DUKE         3030018321                  Gas           Gov. Aggregation
COH             108739810015                Gas           Gov. Aggregation   DUKE         2830212304                  Gas           Gov. Aggregation
COH             108737560012                Gas           Gov. Aggregation   DUKE         2830352611                  Gas           Gov. Aggregation
COH             108671010026                Gas           Gov. Aggregation   DUKE         2890052132                  Gas           Gov. Aggregation
COH             108724980066                Gas           Gov. Aggregation   DUKE         2310055421                  Gas           Gov. Aggregation
COH             195200270015                Gas           Gov. Aggregation   DUKE         2290018321                  Gas           Gov. Aggregation
COH             109085060037                Gas           Gov. Aggregation   DUKE         2330389705                  Gas           Gov. Aggregation
COH             108767880012                Gas           Gov. Aggregation   DUKE         8520393802                  Gas           Gov. Aggregation
COH             108748460010                Gas           Gov. Aggregation   DUKE         8450371603                  Gas           Gov. Aggregation
COH             170153860011                Gas           Gov. Aggregation   DUKE         0700058431                  Gas           Gov. Aggregation
COH             170513790012                Gas           Gov. Aggregation   DUKE         0700212205                  Gas           Gov. Aggregation
COH             170666090016                Gas           Gov. Aggregation   DUKE         0750055422                  Gas           Gov. Aggregation
COH             189933780013                Gas           Gov. Aggregation   DUKE         0730215606                  Gas           Gov. Aggregation
COH             140540720042                Gas           Gov. Aggregation   DUKE         8700052224                  Gas           Gov. Aggregation
COH             136358510058                Gas           Gov. Aggregation   DUKE         8720393802                  Gas           Gov. Aggregation
COH             137367830024                Gas           Gov. Aggregation   DUKE         4680395802                  Gas           Gov. Aggregation
COH             187711990039                Gas           Gov. Aggregation   DUKE         4670392602                  Gas           Gov. Aggregation
COH             196814540016                Gas           Gov. Aggregation   DUKE         4480036448                  Gas           Gov. Aggregation
COH             195496710017                Gas           Gov. Aggregation   DUKE         4490058322                  Gas           Gov. Aggregation
COH             195246960014                Gas           Gov. Aggregation   DUKE         4550393102                  Gas           Gov. Aggregation
COH             197078310015                Gas           Gov. Aggregation   DUKE         4560215306                  Gas           Gov. Aggregation
COH             196833210015                Gas           Gov. Aggregation   DUKE         4830395302                  Gas           Gov. Aggregation
COH             160910400013                Gas           Gov. Aggregation   DUKE         5040058323                  Gas           Gov. Aggregation
COH             161503330047                Gas           Gov. Aggregation   DUKE         4900052221                  Gas           Gov. Aggregation
COH             161673960019                Gas           Gov. Aggregation   DUKE         0020213110                  Gas           Gov. Aggregation
COH             173860530027                Gas           Gov. Aggregation   DUKE         0160396502                  Gas           Gov. Aggregation
COH             195539920011                Gas           Gov. Aggregation   DUKE         0050018325                  Gas           Gov. Aggregation
COH             109036440030                Gas           Gov. Aggregation   DUKE         0140389803                  Gas           Gov. Aggregation
COH             108753400093                Gas           Gov. Aggregation   DUKE         0150018322                  Gas           Gov. Aggregation
COH             150222900019                Gas           Gov. Aggregation   DUKE         2620393302                  Gas           Gov. Aggregation
COH             151795980064                Gas           Gov. Aggregation   DUKE         2510392802                  Gas           Gov. Aggregation
COH             152937840015                Gas           Gov. Aggregation   DUKE         2520055422                  Gas           Gov. Aggregation
COH             108755350045                Gas           Gov. Aggregation   DUKE         2520393803                  Gas           Gov. Aggregation
COH             108727220014                Gas           Gov. Aggregation   DUKE         2640084024                  Gas           Gov. Aggregation
COH             108727650014                Gas           Gov. Aggregation   DUKE         2630218804                  Gas           Gov. Aggregation
COH             108721750024                Gas           Gov. Aggregation   DUKE         2650036424                  Gas           Gov. Aggregation
COH             176900460014                Gas           Gov. Aggregation   DUKE         0340087626                  Gas           Gov. Aggregation
COH             197856160017                Gas           Gov. Aggregation   DUKE         0410368806                  Gas           Gov. Aggregation
COH             194477210013                Gas           Gov. Aggregation   DUKE         0400350801                  Gas           Gov. Aggregation
COH             108718880033                Gas           Gov. Aggregation   DUKE         0450036425                  Gas           Gov. Aggregation
COH             108752160014                Gas           Gov. Aggregation   DUKE         0210217105                  Gas           Gov. Aggregation
COH             108751760010                Gas           Gov. Aggregation   DUKE         0260018321                  Gas           Gov. Aggregation
COH             140001700048                Gas           Gov. Aggregation   DUKE         0280018320                  Gas           Gov. Aggregation
COH             137354970031                Gas           Gov. Aggregation   DUKE         0360218322                  Gas           Gov. Aggregation
COH             140971440048                Gas           Gov. Aggregation   DUKE         5750018322                  Gas           Gov. Aggregation
COH             117040310038                Gas           Gov. Aggregation   DUKE         5770052131                  Gas           Gov. Aggregation
COH             153910850036                Gas           Gov. Aggregation   DUKE         6010396202                  Gas           Gov. Aggregation
COH             108751720027                Gas           Gov. Aggregation   DUKE         6050018327                  Gas           Gov. Aggregation
COH             108749990017                Gas           Gov. Aggregation   DUKE         6000362403                  Gas           Gov. Aggregation
COH             176815000682                Gas           Gov. Aggregation   DUKE         2110355703                  Gas           Gov. Aggregation
COH             189299210081                Gas           Gov. Aggregation   DUKE         1910385903                  Gas           Gov. Aggregation
COH             189453150013                Gas           Gov. Aggregation   DUKE         1910374006                  Gas           Gov. Aggregation
COH             190357740010                Gas           Gov. Aggregation   DUKE         6630058320                  Gas           Gov. Aggregation
COH             190929050012                Gas           Gov. Aggregation   DUKE         6510018421                  Gas           Gov. Aggregation
COH             158822430045                Gas           Gov. Aggregation   DUKE         6680205202                  Gas           Gov. Aggregation
COH             160124590011                Gas           Gov. Aggregation   DUKE         6500358510                  Gas           Gov. Aggregation
COH             163062730010                Gas           Gov. Aggregation   DUKE         6680081821                  Gas           Gov. Aggregation
COH             197177740015                Gas           Gov. Aggregation   DUKE         6650055427                  Gas           Gov. Aggregation
COH             197050640014                Gas           Gov. Aggregation   DUKE         6580394702                  Gas           Gov. Aggregation
COH             195555630018                Gas           Gov. Aggregation   DUKE         5250058329                  Gas           Gov. Aggregation
COH             159917350013                Gas           Gov. Aggregation   DUKE         5120395602                  Gas           Gov. Aggregation
COH             192355970014                Gas           Gov. Aggregation   DUKE         5300058424                  Gas           Gov. Aggregation
COH             187216210014                Gas           Gov. Aggregation   DUKE         5260359203                  Gas           Gov. Aggregation
COH             185555790017                Gas           Gov. Aggregation   DUKE         5290370414                  Gas           Gov. Aggregation
COH             176393860017                Gas           Gov. Aggregation   DUKE         6920018324                  Gas           Gov. Aggregation
COH             138599770016                Gas           Gov. Aggregation   DUKE         6870361003                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             152637980012                Gas           Gov. Aggregation   DUKE         6930357807                  Gas           Gov. Aggregation
COH             137544700025                Gas           Gov. Aggregation   DUKE         4310394502                  Gas           Gov. Aggregation
COH             189021550014                Gas           Gov. Aggregation   DUKE         4330077423                  Gas           Gov. Aggregation
COH             191716830018                Gas           Gov. Aggregation   DUKE         7060214501                  Gas           Gov. Aggregation
COH             156118190014                Gas           Gov. Aggregation   DUKE         7230396102                  Gas           Gov. Aggregation
COH             158802570039                Gas           Gov. Aggregation   DUKE         7090393302                  Gas           Gov. Aggregation
COH             160340960015                Gas           Gov. Aggregation   DUKE         7150018320                  Gas           Gov. Aggregation
COH             159527250011                Gas           Gov. Aggregation   DUKE         7140392702                  Gas           Gov. Aggregation
COH             174032810013                Gas           Gov. Aggregation   DUKE         7270364006                  Gas           Gov. Aggregation
COH             175152060016                Gas           Gov. Aggregation   DUKE         7360223110                  Gas           Gov. Aggregation
COH             169186120029                Gas           Gov. Aggregation   DUKE         6150393302                  Gas           Gov. Aggregation
COH             168880230052                Gas           Gov. Aggregation   DUKE         6110052226                  Gas           Gov. Aggregation
COH             195489200019                Gas           Gov. Aggregation   DUKE         6150018330                  Gas           Gov. Aggregation
COH             197188100016                Gas           Gov. Aggregation   DUKE         6250355406                  Gas           Gov. Aggregation
COH             196881820016                Gas           Gov. Aggregation   DUKE         6260018323                  Gas           Gov. Aggregation
COH             195551440016                Gas           Gov. Aggregation   DUKE         6240058322                  Gas           Gov. Aggregation
COH             187306930012                Gas           Gov. Aggregation   DUKE         5420217304                  Gas           Gov. Aggregation
COH             194839450015                Gas           Gov. Aggregation   DUKE         5400364109                  Gas           Gov. Aggregation
COH             192524030012                Gas           Gov. Aggregation   DUKE         5550055432                  Gas           Gov. Aggregation
COH             191358660014                Gas           Gov. Aggregation   DUKE         5550058324                  Gas           Gov. Aggregation
COH             191295310011                Gas           Gov. Aggregation   DUKE         5550036423                  Gas           Gov. Aggregation
COH             175588260011                Gas           Gov. Aggregation   DUKE         5630058327                  Gas           Gov. Aggregation
COH             156208820190                Gas           Gov. Aggregation   DUKE         5580036420                  Gas           Gov. Aggregation
COH             145009980058                Gas           Gov. Aggregation   DUKE         5700055421                  Gas           Gov. Aggregation
COH             109036350011                Gas           Gov. Aggregation   DUKE         7720351104                  Gas           Gov. Aggregation
COH             166085520031                Gas           Gov. Aggregation   DUKE         8310368803                  Gas           Gov. Aggregation
COH             195790730019                Gas           Gov. Aggregation   DUKE         8230361403                  Gas           Gov. Aggregation
COH             133001770052                Gas           Gov. Aggregation   DUKE         8060055423                  Gas           Gov. Aggregation
COH             197152350019                Gas           Gov. Aggregation   DUKE         8170366505                  Gas           Gov. Aggregation
VEDO            4019413552525173            Gas           Gov. Aggregation   DUKE         8170052145                  Gas           Gov. Aggregation
VEDO            4003613342359215            Gas           Gov. Aggregation   DUKE         8390377602                  Gas           Gov. Aggregation
VEDO            4015767222544116            Gas           Gov. Aggregation   DUKE         8390018322                  Gas           Gov. Aggregation
VEDO            4019420162361048            Gas           Gov. Aggregation   DUKE         8490395001                  Gas           Gov. Aggregation
COH             111187510014                Gas           Gov. Aggregation   DUKE         8670018326                  Gas           Gov. Aggregation
VEDO            4019023132292745            Gas           Gov. Aggregation   DUKE         8460392402                  Gas           Gov. Aggregation
VEDO            4016553792589359            Gas           Gov. Aggregation   DUKE         8640224103                  Gas           Gov. Aggregation
VEDO            4016553792589361            Gas           Gov. Aggregation   DUKE         8630058323                  Gas           Gov. Aggregation
DEO             0422000074634               Gas           Gov. Aggregation   DUKE         8900392202                  Gas           Gov. Aggregation
DEO             0422000450324               Gas           Gov. Aggregation   DUKE         9230355403                  Gas           Gov. Aggregation
DEO             0500017097470               Gas           Gov. Aggregation   DUKE         9110394602                  Gas           Gov. Aggregation
DEO             0500022798813               Gas           Gov. Aggregation   DUKE         9180355704                  Gas           Gov. Aggregation
DEO             0500024295264               Gas           Gov. Aggregation   DUKE         9240058324                  Gas           Gov. Aggregation
DEO             0500033084039               Gas           Gov. Aggregation   DUKE         9260216502                  Gas           Gov. Aggregation
DEO             0500033367432               Gas           Gov. Aggregation   DUKE         9170393303                  Gas           Gov. Aggregation
DEO             0500036369631               Gas           Gov. Aggregation   DUKE         9180018321                  Gas           Gov. Aggregation
DEO             0500037687746               Gas           Gov. Aggregation   DUKE         9460394902                  Gas           Gov. Aggregation
DEO             0500047972525               Gas           Gov. Aggregation   DUKE         9470395702                  Gas           Gov. Aggregation
DEO             0500050079155               Gas           Gov. Aggregation   DUKE         9390058328                  Gas           Gov. Aggregation
DEO             0500061391829               Gas           Gov. Aggregation   DUKE         9450395502                  Gas           Gov. Aggregation
DEO             0500065246897               Gas           Gov. Aggregation   DUKE         9450218609                  Gas           Gov. Aggregation
DEO             1500009383095               Gas           Gov. Aggregation   DUKE         9650212402                  Gas           Gov. Aggregation
DEO             1500017494410               Gas           Gov. Aggregation   DUKE         9800396002                  Gas           Gov. Aggregation
DEO             1500020476814               Gas           Gov. Aggregation   DUKE         9810210505                  Gas           Gov. Aggregation
DEO             1500021634774               Gas           Gov. Aggregation   DUKE         9820387502                  Gas           Gov. Aggregation
DEO             1500042232732               Gas           Gov. Aggregation   DUKE         9800018423                  Gas           Gov. Aggregation
DEO             1500045744563               Gas           Gov. Aggregation   DUKE         9960393003                  Gas           Gov. Aggregation
DEO             1500045780787               Gas           Gov. Aggregation   DUKE         9940018323                  Gas           Gov. Aggregation
DEO             1500050346826               Gas           Gov. Aggregation   DUKE         0570015237                  Gas           Gov. Aggregation
DEO             1500053545231               Gas           Gov. Aggregation   DUKE         0380015226                  Gas           Gov. Aggregation
DEO             1500054199439               Gas           Gov. Aggregation   DUKE         7620058323                  Gas           Gov. Aggregation
DEO             1500062271500               Gas           Gov. Aggregation   DUKE         7480015231                  Gas           Gov. Aggregation
DEO             1500064728372               Gas           Gov. Aggregation   DUKE         5380015230                  Gas           Gov. Aggregation
DEO             2422102702135               Gas           Gov. Aggregation   DUKE         5280015222                  Gas           Gov. Aggregation
DEO             2422106059041               Gas           Gov. Aggregation   DUKE         8280015232                  Gas           Gov. Aggregation
DEO             2500004508856               Gas           Gov. Aggregation   DUKE         8520058333                  Gas           Gov. Aggregation
DEO             2500008010130               Gas           Gov. Aggregation   DUKE         9470015226                  Gas           Gov. Aggregation
DEO             2500009717557               Gas           Gov. Aggregation   DUKE         9790058321                  Gas           Gov. Aggregation
DEO             2500038010595               Gas           Gov. Aggregation   DUKE         9790055323                  Gas           Gov. Aggregation
DEO             2500043497319               Gas           Gov. Aggregation   DUKE         9900396601                  Gas           Gov. Aggregation
DEO             2500044537750               Gas           Gov. Aggregation   DUKE         1070393101                  Gas           Gov. Aggregation
DEO             2500054156580               Gas           Gov. Aggregation   DUKE         3680395802                  Gas           Gov. Aggregation
DEO             2500054882447               Gas           Gov. Aggregation   DUKE         3450055421                  Gas           Gov. Aggregation
DEO             2500055499894               Gas           Gov. Aggregation   DUKE         3440058330                  Gas           Gov. Aggregation
DEO             2500055582538               Gas           Gov. Aggregation   DUKE         3450036427                  Gas           Gov. Aggregation
DEO             2500064899281               Gas           Gov. Aggregation   DUKE         3690386003                  Gas           Gov. Aggregation
DEO             2500065103387               Gas           Gov. Aggregation   DUKE         1060365219                  Gas           Gov. Aggregation
DEO             3422003441477               Gas           Gov. Aggregation   DUKE         3930058322                  Gas           Gov. Aggregation
DEO             3422100770865               Gas           Gov. Aggregation   DUKE         3750216005                  Gas           Gov. Aggregation
DEO             3422101354263               Gas           Gov. Aggregation   DUKE         4060396502                  Gas           Gov. Aggregation
DEO             3422103113913               Gas           Gov. Aggregation   DUKE         2780018322                  Gas           Gov. Aggregation
DEO             3422103174167               Gas           Gov. Aggregation   DUKE         3100058423                  Gas           Gov. Aggregation
DEO             3500030183954               Gas           Gov. Aggregation   DUKE         2930058323                  Gas           Gov. Aggregation
DEO             3500040170283               Gas           Gov. Aggregation   DUKE         1460359702                  Gas           Gov. Aggregation
DEO             3500041644378               Gas           Gov. Aggregation   DUKE         1450036432                  Gas           Gov. Aggregation
DEO             3500053917064               Gas           Gov. Aggregation   DUKE         1450394901                  Gas           Gov. Aggregation
DEO             4420103338493               Gas           Gov. Aggregation   DUKE         1580036429                  Gas           Gov. Aggregation
DEO             4422100664994               Gas           Gov. Aggregation   DUKE         1680393103                  Gas           Gov. Aggregation
DEO             4500022357505               Gas           Gov. Aggregation   DUKE         1480395702                  Gas           Gov. Aggregation
DEO             4500027802548               Gas           Gov. Aggregation   DUKE         1700052223                  Gas           Gov. Aggregation
DEO             4500030831736               Gas           Gov. Aggregation   DUKE         6080018329                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             4500037520882               Gas           Gov. Aggregation   DUKE            6100055421                  Gas           Gov. Aggregation
DEO             4500061403374               Gas           Gov. Aggregation   DUKE            6100058423                  Gas           Gov. Aggregation
DEO             4500062581634               Gas           Gov. Aggregation   DUKE            6350058330                  Gas           Gov. Aggregation
DEO             4500065474753               Gas           Gov. Aggregation   DUKE            6350055423                  Gas           Gov. Aggregation
DEO             5120000162150               Gas           Gov. Aggregation   DUKE            5510018333                  Gas           Gov. Aggregation
DEO             5500022756865               Gas           Gov. Aggregation   DUKE            5600055423                  Gas           Gov. Aggregation
DEO             5500023714052               Gas           Gov. Aggregation   DUKE            5590058321                  Gas           Gov. Aggregation
DEO             5500049068733               Gas           Gov. Aggregation   DUKE            5360211901                  Gas           Gov. Aggregation
DEO             5500049669121               Gas           Gov. Aggregation   DUKE            5230360604                  Gas           Gov. Aggregation
DEO             5500050347356               Gas           Gov. Aggregation   DUKE            4400392402                  Gas           Gov. Aggregation
DEO             5500062337748               Gas           Gov. Aggregation   DUKE            4260018325                  Gas           Gov. Aggregation
DEO             6140000038008               Gas           Gov. Aggregation   DUKE            4340356002                  Gas           Gov. Aggregation
DEO             6420104260228               Gas           Gov. Aggregation   DUKE            4340058326                  Gas           Gov. Aggregation
DEO             6422001838485               Gas           Gov. Aggregation   DUKE            3400055421                  Gas           Gov. Aggregation
DEO             6422003673882               Gas           Gov. Aggregation   DUKE            3110396202                  Gas           Gov. Aggregation
DEO             6422101801806               Gas           Gov. Aggregation   DEO             4330000001912               Gas           Gov. Aggregation
DEO             6422102357349               Gas           Gov. Aggregation   DEO             9330000002251               Gas           Gov. Aggregation
DEO             6500042466153               Gas           Gov. Aggregation   VEDO            4002222742217394            Gas           Gov. Aggregation
DEO             6500043366311               Gas           Gov. Aggregation   VEDO            4019434012494978            Gas           Gov. Aggregation
DEO             6500048870171               Gas           Gov. Aggregation   VEDO            4001708972595083            Gas           Gov. Aggregation
DEO             6500060659147               Gas           Gov. Aggregation   VEDO            4019473322557493            Gas           Gov. Aggregation
DEO             6500060997085               Gas           Gov. Aggregation   VEDO            4004615592625351            Gas           Gov. Aggregation
DEO             6500064587899               Gas           Gov. Aggregation   VEDO            4019406152133393            Gas           Gov. Aggregation
DEO             7422105465393               Gas           Gov. Aggregation   VEDO            4019757882121703            Gas           Gov. Aggregation
DEO             7500013133569               Gas           Gov. Aggregation   VEDO            4019093592158512            Gas           Gov. Aggregation
DEO             7500041637693               Gas           Gov. Aggregation   VEDO            4019093592642298            Gas           Gov. Aggregation
DEO             7500048929048               Gas           Gov. Aggregation   VEDO            4019806252603798            Gas           Gov. Aggregation
DEO             7500053251952               Gas           Gov. Aggregation   VEDO            4019798642275890            Gas           Gov. Aggregation
DEO             7500055228701               Gas           Gov. Aggregation   COH             196930870011                Gas           Gov. Aggregation
DEO             7500065809197               Gas           Gov. Aggregation   COH             167366770032                Gas           Gov. Aggregation
DEO             8422005618245               Gas           Gov. Aggregation   COH             195864260011                Gas           Gov. Aggregation
DEO             8422104936044               Gas           Gov. Aggregation   COH             199364830017                Gas           Gov. Aggregation
DEO             8422106079414               Gas           Gov. Aggregation   COH             144586300022                Gas           Gov. Aggregation
DEO             8500002018832               Gas           Gov. Aggregation   COH             199327150018                Gas           Gov. Aggregation
DEO             8500008902492               Gas           Gov. Aggregation   COH             199750870010                Gas           Gov. Aggregation
DEO             8500037335526               Gas           Gov. Aggregation   COH             198312170016                Gas           Gov. Aggregation
DEO             8500046770084               Gas           Gov. Aggregation   COH             198078670019                Gas           Gov. Aggregation
DEO             9422105792742               Gas           Gov. Aggregation   COH             199242660011                Gas           Gov. Aggregation
DEO             9500006227916               Gas           Gov. Aggregation   COH             192726290010                Gas           Gov. Aggregation
DEO             9500006493845               Gas           Gov. Aggregation   COH             192726290056                Gas           Gov. Aggregation
DEO             9500012901209               Gas           Gov. Aggregation   COH             191728410057                Gas           Gov. Aggregation
DEO             9500039019109               Gas           Gov. Aggregation   COH             188019360145                Gas           Gov. Aggregation
DEO             9500044553837               Gas           Gov. Aggregation   COH             194531210017                Gas           Gov. Aggregation
DEO             4500066148889               Gas           Gov. Aggregation   COH             196262080014                Gas           Gov. Aggregation
VEDO            4004497582418762            Gas           Gov. Aggregation   COH             197534320015                Gas           Gov. Aggregation
COH             150762990017                Gas           Gov. Aggregation   COH             196464330022                Gas           Gov. Aggregation
COH             127633330240                Gas           Gov. Aggregation   COH             195957350015                Gas           Gov. Aggregation
COH             158744800294                Gas           Gov. Aggregation   COH             198137030017                Gas           Gov. Aggregation
COH             197777870016                Gas           Gov. Aggregation   COH             193189470048                Gas           Gov. Aggregation
COH             122572300107                Gas           Gov. Aggregation   COH             114908240027                Gas           Gov. Aggregation
COH             190605070032                Gas           Gov. Aggregation   COH             172919810033                Gas           Gov. Aggregation
COH             193844830015                Gas           Gov. Aggregation   COH             187157260056                Gas           Gov. Aggregation
COH             192035300012                Gas           Gov. Aggregation   COH             194335580034                Gas           Gov. Aggregation
COH             133064210039                Gas           Gov. Aggregation   COH             194335580052                Gas           Gov. Aggregation
COH             194504840012                Gas           Gov. Aggregation   COH             199021120012                Gas           Gov. Aggregation
COH             194322310019                Gas           Gov. Aggregation   COH             157033140031                Gas           Gov. Aggregation
COH             122354650017                Gas           Gov. Aggregation   COH             166012800115                Gas           Gov. Aggregation
COH             197538020010                Gas           Gov. Aggregation   COH             176906660010                Gas           Gov. Aggregation
COH             122507690014                Gas           Gov. Aggregation   COH             114916430066                Gas           Gov. Aggregation
COH             194066050018                Gas           Gov. Aggregation   COH             114927350015                Gas           Gov. Aggregation
COH             177678400027                Gas           Gov. Aggregation   COH             145392010050                Gas           Gov. Aggregation
COH             130075470017                Gas           Gov. Aggregation   COH             136179450060                Gas           Gov. Aggregation
COH             138528770015                Gas           Gov. Aggregation   COH             143665880051                Gas           Gov. Aggregation
COH             122428400021                Gas           Gov. Aggregation   COH             146079100027                Gas           Gov. Aggregation
COH             122414540021                Gas           Gov. Aggregation   COH             146681290021                Gas           Gov. Aggregation
COH             193854940011                Gas           Gov. Aggregation   COH             115030490016                Gas           Gov. Aggregation
COH             187053100022                Gas           Gov. Aggregation   COH             115030690069                Gas           Gov. Aggregation
COH             195658970019                Gas           Gov. Aggregation   COH             114926140011                Gas           Gov. Aggregation
COH             197624440019                Gas           Gov. Aggregation   COH             114948780020                Gas           Gov. Aggregation
COH             197069760010                Gas           Gov. Aggregation   COH             192452680028                Gas           Gov. Aggregation
COH             196201840012                Gas           Gov. Aggregation   COH             190341970042                Gas           Gov. Aggregation
COH             186804350028                Gas           Gov. Aggregation   COH             177766850035                Gas           Gov. Aggregation
COH             154463980055                Gas           Gov. Aggregation   COH             198890860017                Gas           Gov. Aggregation
COH             186646530017                Gas           Gov. Aggregation   COH             176024150071                Gas           Gov. Aggregation
COH             191701500018                Gas           Gov. Aggregation   COH             194625380031                Gas           Gov. Aggregation
COH             122461130019                Gas           Gov. Aggregation   COH             190521180028                Gas           Gov. Aggregation
COH             164107910015                Gas           Gov. Aggregation   COH             196844110022                Gas           Gov. Aggregation
COH             122415220017                Gas           Gov. Aggregation   COH             197137640010                Gas           Gov. Aggregation
COH             197861260015                Gas           Gov. Aggregation   COH             195999100019                Gas           Gov. Aggregation
COH             197149990012                Gas           Gov. Aggregation   COH             195911480014                Gas           Gov. Aggregation
COH             170370540027                Gas           Gov. Aggregation   COH             173130040054                Gas           Gov. Aggregation
COH             119023870026                Gas           Gov. Aggregation   COH             199501140010                Gas           Gov. Aggregation
COH             197471890010                Gas           Gov. Aggregation   COH             196531480037                Gas           Gov. Aggregation
COH             122421940031                Gas           Gov. Aggregation   COH             197193590013                Gas           Gov. Aggregation
COH             195237140015                Gas           Gov. Aggregation   COH             197594770015                Gas           Gov. Aggregation
COH             194975980025                Gas           Gov. Aggregation   COH             196846580191                Gas           Gov. Aggregation
COH             174300440012                Gas           Gov. Aggregation   COH             199702480013                Gas           Gov. Aggregation
COH             196145830014                Gas           Gov. Aggregation   COH             199606860017                Gas           Gov. Aggregation
COH             189673880014                Gas           Gov. Aggregation   COH             194527310015                Gas           Gov. Aggregation
COH             122354190014                Gas           Gov. Aggregation   COH             199790460012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             188921400018                Gas           Gov. Aggregation   COH             153354830049                Gas           Gov. Aggregation
COH             154630070051                Gas           Gov. Aggregation   COH             164605620047                Gas           Gov. Aggregation
COH             162246730191                Gas           Gov. Aggregation   COH             192299520027                Gas           Gov. Aggregation
COH             197790910019                Gas           Gov. Aggregation   COH             197004840019                Gas           Gov. Aggregation
COH             172600530037                Gas           Gov. Aggregation   COH             199491280014                Gas           Gov. Aggregation
COH             188048850025                Gas           Gov. Aggregation   COH             199276150017                Gas           Gov. Aggregation
COH             195955440010                Gas           Gov. Aggregation   COH             197457370019                Gas           Gov. Aggregation
COH             197549870019                Gas           Gov. Aggregation   COH             199769280015                Gas           Gov. Aggregation
COH             133014850012                Gas           Gov. Aggregation   COH             186462690023                Gas           Gov. Aggregation
COH             197395280010                Gas           Gov. Aggregation   COH             195578030016                Gas           Gov. Aggregation
COH             191837940019                Gas           Gov. Aggregation   COH             199172760019                Gas           Gov. Aggregation
COH             195362370012                Gas           Gov. Aggregation   COH             199269700016                Gas           Gov. Aggregation
COH             142434780025                Gas           Gov. Aggregation   COH             198760770011                Gas           Gov. Aggregation
COH             177430100024                Gas           Gov. Aggregation   COH             188851270024                Gas           Gov. Aggregation
COH             122412460013                Gas           Gov. Aggregation   COH             192496800039                Gas           Gov. Aggregation
COH             174233970014                Gas           Gov. Aggregation   COH             114900010021                Gas           Gov. Aggregation
COH             185021990052                Gas           Gov. Aggregation   COH             172715770025                Gas           Gov. Aggregation
COH             122385350015                Gas           Gov. Aggregation   COH             175688720067                Gas           Gov. Aggregation
COH             122467740135                Gas           Gov. Aggregation   COH             177222060024                Gas           Gov. Aggregation
COH             195343970016                Gas           Gov. Aggregation   COH             186644100020                Gas           Gov. Aggregation
COH             189602680015                Gas           Gov. Aggregation   COH             187482510045                Gas           Gov. Aggregation
COH             192841950026                Gas           Gov. Aggregation   COH             114948470025                Gas           Gov. Aggregation
COH             196204050012                Gas           Gov. Aggregation   COH             150707640016                Gas           Gov. Aggregation
COH             122379450017                Gas           Gov. Aggregation   COH             175697270018                Gas           Gov. Aggregation
COH             192812600011                Gas           Gov. Aggregation   COH             176925430036                Gas           Gov. Aggregation
COH             167136570031                Gas           Gov. Aggregation   COH             186422390020                Gas           Gov. Aggregation
COH             156710800028                Gas           Gov. Aggregation   COH             165794010054                Gas           Gov. Aggregation
COH             122363130026                Gas           Gov. Aggregation   COH             197792330017                Gas           Gov. Aggregation
COH             122493170014                Gas           Gov. Aggregation   COH             196098050019                Gas           Gov. Aggregation
COH             187439000034                Gas           Gov. Aggregation   COH             196215020015                Gas           Gov. Aggregation
COH             189609150076                Gas           Gov. Aggregation   COH             196577270017                Gas           Gov. Aggregation
COH             151942570021                Gas           Gov. Aggregation   COH             197500070019                Gas           Gov. Aggregation
COH             196328270014                Gas           Gov. Aggregation   COH             197206550012                Gas           Gov. Aggregation
COH             196678350016                Gas           Gov. Aggregation   COH             189877800027                Gas           Gov. Aggregation
COH             122405930019                Gas           Gov. Aggregation   COH             161322320043                Gas           Gov. Aggregation
COH             161460600033                Gas           Gov. Aggregation   COH             160592540118                Gas           Gov. Aggregation
COH             197943330016                Gas           Gov. Aggregation   COH             158675690035                Gas           Gov. Aggregation
COH             190888860029                Gas           Gov. Aggregation   COH             164336000066                Gas           Gov. Aggregation
COH             165214050081                Gas           Gov. Aggregation   COH             187490440034                Gas           Gov. Aggregation
COH             194852570012                Gas           Gov. Aggregation   COH             115003020011                Gas           Gov. Aggregation
COH             194973660017                Gas           Gov. Aggregation   COH             115021090037                Gas           Gov. Aggregation
COH             150173450019                Gas           Gov. Aggregation   COH             190216290059                Gas           Gov. Aggregation
COH             193905230011                Gas           Gov. Aggregation   COH             195578040023                Gas           Gov. Aggregation
COH             159964540023                Gas           Gov. Aggregation   COH             195826180018                Gas           Gov. Aggregation
COH             197874200010                Gas           Gov. Aggregation   COH             114999360021                Gas           Gov. Aggregation
COH             165720040026                Gas           Gov. Aggregation   COH             115005600015                Gas           Gov. Aggregation
COH             193671410010                Gas           Gov. Aggregation   COH             186486370057                Gas           Gov. Aggregation
COH             194721340017                Gas           Gov. Aggregation   COH             173972640054                Gas           Gov. Aggregation
COH             129541840022                Gas           Gov. Aggregation   COH             172961300031                Gas           Gov. Aggregation
COH             192810820019                Gas           Gov. Aggregation   COH             194282540017                Gas           Gov. Aggregation
COH             169818760024                Gas           Gov. Aggregation   COH             194274800019                Gas           Gov. Aggregation
COH             173105400033                Gas           Gov. Aggregation   COH             196315090019                Gas           Gov. Aggregation
COH             122472640028                Gas           Gov. Aggregation   COH             163389710067                Gas           Gov. Aggregation
COH             192517440075                Gas           Gov. Aggregation   COH             198381910015                Gas           Gov. Aggregation
COH             197798840018                Gas           Gov. Aggregation   COH             199686730016                Gas           Gov. Aggregation
COH             197355880018                Gas           Gov. Aggregation   COH             199623260017                Gas           Gov. Aggregation
COH             151898480043                Gas           Gov. Aggregation   COH             199718840014                Gas           Gov. Aggregation
COH             163634020016                Gas           Gov. Aggregation   COH             199761440017                Gas           Gov. Aggregation
COH             197200310014                Gas           Gov. Aggregation   COH             199836420012                Gas           Gov. Aggregation
COH             161773530017                Gas           Gov. Aggregation   VEDO            4019533952647728            Gas           Gov. Aggregation
COH             150570130023                Gas           Gov. Aggregation   VEDO            4001161862623386            Gas           Gov. Aggregation
COH             185877400043                Gas           Gov. Aggregation   VEDO            4003683282623345            Gas           Gov. Aggregation
COH             147320730030                Gas           Gov. Aggregation   VEDO            4017718102308108            Gas           Gov. Aggregation
COH             193808260011                Gas           Gov. Aggregation   VEDO            4019367092157156            Gas           Gov. Aggregation
COH             196163050010                Gas           Gov. Aggregation   VEDO            4019412112572940            Gas           Gov. Aggregation
COH             122337860028                Gas           Gov. Aggregation   VEDO            4019449782647783            Gas           Gov. Aggregation
COH             146640170031                Gas           Gov. Aggregation   VEDO            4016626952117072            Gas           Gov. Aggregation
COH             162764870032                Gas           Gov. Aggregation   VEDO            4003860502360158            Gas           Gov. Aggregation
COH             191851540013                Gas           Gov. Aggregation   VEDO            4015614552502955            Gas           Gov. Aggregation
COH             162246730039                Gas           Gov. Aggregation   VEDO            4015705252323005            Gas           Gov. Aggregation
COH             128836240024                Gas           Gov. Aggregation   VEDO            4018750832279198            Gas           Gov. Aggregation
COH             145255440014                Gas           Gov. Aggregation   VEDO            4018687402433464            Gas           Gov. Aggregation
COH             186171540021                Gas           Gov. Aggregation   VEDO            4019381102100437            Gas           Gov. Aggregation
COH             171208550018                Gas           Gov. Aggregation   VEDO            4019426612454863            Gas           Gov. Aggregation
COH             194854920014                Gas           Gov. Aggregation   VEDO            4019370982117692            Gas           Gov. Aggregation
COH             194317530014                Gas           Gov. Aggregation   VEDO            4019403912224242            Gas           Gov. Aggregation
COH             196281490018                Gas           Gov. Aggregation   VEDO            4019370352198532            Gas           Gov. Aggregation
COH             131846831194                Gas           Gov. Aggregation   VEDO            4019424812517346            Gas           Gov. Aggregation
COH             122356420011                Gas           Gov. Aggregation   VEDO            4019483822246790            Gas           Gov. Aggregation
COH             194583170017                Gas           Gov. Aggregation   VEDO            4019770462507444            Gas           Gov. Aggregation
COH             149192420018                Gas           Gov. Aggregation   VEDO            4019494282216923            Gas           Gov. Aggregation
COH             122356050019                Gas           Gov. Aggregation   VEDO            4001922712388591            Gas           Gov. Aggregation
COH             195573960011                Gas           Gov. Aggregation   VEDO            4017324882323906            Gas           Gov. Aggregation
COH             197489940012                Gas           Gov. Aggregation   VEDO            4019118052379821            Gas           Gov. Aggregation
COH             195190050014                Gas           Gov. Aggregation   VEDO            4019804042278736            Gas           Gov. Aggregation
COH             122373520014                Gas           Gov. Aggregation   VEDO            4019530402334290            Gas           Gov. Aggregation
COH             195643990016                Gas           Gov. Aggregation   VEDO            4019533042258919            Gas           Gov. Aggregation
COH             122357070013                Gas           Gov. Aggregation   VEDO            4019733012181617            Gas           Gov. Aggregation
COH             194150700012                Gas           Gov. Aggregation   VEDO            4003695382568280            Gas           Gov. Aggregation
COH             197006570012                Gas           Gov. Aggregation   VEDO            4019396132254815            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             154385850012                Gas           Gov. Aggregation   VEDO            4018166492469519            Gas           Gov. Aggregation
COH             196676100012                Gas           Gov. Aggregation   VEDO            4019526912225104            Gas           Gov. Aggregation
COH             196872370010                Gas           Gov. Aggregation   VEDO            4017626832153829            Gas           Gov. Aggregation
COH             122375340027                Gas           Gov. Aggregation   VEDO            4019323872176151            Gas           Gov. Aggregation
COH             196972480015                Gas           Gov. Aggregation   VEDO            4019412802288867            Gas           Gov. Aggregation
COH             196636300014                Gas           Gov. Aggregation   VEDO            4019463212152907            Gas           Gov. Aggregation
COH             197442710018                Gas           Gov. Aggregation   VEDO            4019738312313285            Gas           Gov. Aggregation
COH             152700600025                Gas           Gov. Aggregation   VEDO            4019775012365371            Gas           Gov. Aggregation
COH             151299970031                Gas           Gov. Aggregation   VEDO            4019499872640984            Gas           Gov. Aggregation
COH             196857560012                Gas           Gov. Aggregation   VEDO            4019501322642610            Gas           Gov. Aggregation
COH             122474400024                Gas           Gov. Aggregation   VEDO            4019760102644289            Gas           Gov. Aggregation
COH             163787700029                Gas           Gov. Aggregation   VEDO            4019805622551863            Gas           Gov. Aggregation
COH             193683960010                Gas           Gov. Aggregation   VEDO            4019370182646963            Gas           Gov. Aggregation
COH             162685000032                Gas           Gov. Aggregation   VEDO            4003767472160341            Gas           Gov. Aggregation
COH             122487520040                Gas           Gov. Aggregation   VEDO            4019401462469890            Gas           Gov. Aggregation
COH             172141550019                Gas           Gov. Aggregation   VEDO            4004495312348177            Gas           Gov. Aggregation
COH             192448140011                Gas           Gov. Aggregation   VEDO            4019534952376760            Gas           Gov. Aggregation
COH             122512920014                Gas           Gov. Aggregation   VEDO            4016463582333759            Gas           Gov. Aggregation
COH             197922680017                Gas           Gov. Aggregation   VEDO            4019388932494794            Gas           Gov. Aggregation
COH             122397770012                Gas           Gov. Aggregation   VEDO            4001970832210177            Gas           Gov. Aggregation
COH             145083980025                Gas           Gov. Aggregation   VEDO            4019809212648852            Gas           Gov. Aggregation
COH             123085020037                Gas           Gov. Aggregation   VEDO            4016725002239754            Gas           Gov. Aggregation
COH             122383640027                Gas           Gov. Aggregation   VEDO            4019383102434344            Gas           Gov. Aggregation
COH             192746980013                Gas           Gov. Aggregation   VEDO            4017663642260913            Gas           Gov. Aggregation
COH             195871140011                Gas           Gov. Aggregation   VEDO            4017591412206664            Gas           Gov. Aggregation
COH             197343360012                Gas           Gov. Aggregation   VEDO            4019490772121333            Gas           Gov. Aggregation
COH             122519120045                Gas           Gov. Aggregation   VEDO            4019759302240366            Gas           Gov. Aggregation
COH             167267000024                Gas           Gov. Aggregation   VEDO            4003963442402400            Gas           Gov. Aggregation
COH             185100140025                Gas           Gov. Aggregation   VEDO            4003160472311880            Gas           Gov. Aggregation
COH             193282210017                Gas           Gov. Aggregation   VEDO            4002835882386646            Gas           Gov. Aggregation
COH             197668340018                Gas           Gov. Aggregation   COH             111220110016                Gas           Gov. Aggregation
COH             122384580019                Gas           Gov. Aggregation   COH             198279640019                Gas           Gov. Aggregation
COH             149910400063                Gas           Gov. Aggregation   COH             196912680019                Gas           Gov. Aggregation
COH             147688490042                Gas           Gov. Aggregation   COH             197738520011                Gas           Gov. Aggregation
COH             165825080026                Gas           Gov. Aggregation   COH             196542050016                Gas           Gov. Aggregation
COH             147276360024                Gas           Gov. Aggregation   COH             199184170018                Gas           Gov. Aggregation
COH             122512640013                Gas           Gov. Aggregation   COH             186163540037                Gas           Gov. Aggregation
COH             122339390032                Gas           Gov. Aggregation   COH             110986430027                Gas           Gov. Aggregation
COH             189491080036                Gas           Gov. Aggregation   COH             191314090025                Gas           Gov. Aggregation
COH             192448070016                Gas           Gov. Aggregation   COH             199427790012                Gas           Gov. Aggregation
COH             197446990012                Gas           Gov. Aggregation   COH             199649550012                Gas           Gov. Aggregation
COH             187300950029                Gas           Gov. Aggregation   COH             198782910015                Gas           Gov. Aggregation
COH             122489940011                Gas           Gov. Aggregation   COH             197045750012                Gas           Gov. Aggregation
COH             166191030011                Gas           Gov. Aggregation   COH             111013280029                Gas           Gov. Aggregation
COH             197276960019                Gas           Gov. Aggregation   COH             173309020059                Gas           Gov. Aggregation
COH             167093610025                Gas           Gov. Aggregation   COH             195875740017                Gas           Gov. Aggregation
COH             136638570043                Gas           Gov. Aggregation   COH             156598140072                Gas           Gov. Aggregation
COH             192289310022                Gas           Gov. Aggregation   COH             194605750026                Gas           Gov. Aggregation
COH             147011990577                Gas           Gov. Aggregation   COH             195977280018                Gas           Gov. Aggregation
COH             197329510010                Gas           Gov. Aggregation   COH             166769230023                Gas           Gov. Aggregation
COH             157946710018                Gas           Gov. Aggregation   COH             168410110034                Gas           Gov. Aggregation
COH             122415670013                Gas           Gov. Aggregation   COH             199737360015                Gas           Gov. Aggregation
COH             129754100106                Gas           Gov. Aggregation   COH             198009100013                Gas           Gov. Aggregation
COH             156578010035                Gas           Gov. Aggregation   COH             196778490015                Gas           Gov. Aggregation
COH             122487050012                Gas           Gov. Aggregation   COH             197790850012                Gas           Gov. Aggregation
COH             122491830019                Gas           Gov. Aggregation   COH             165224850028                Gas           Gov. Aggregation
COH             122403060016                Gas           Gov. Aggregation   COH             199192960015                Gas           Gov. Aggregation
COH             122514230015                Gas           Gov. Aggregation   COH             173278290014                Gas           Gov. Aggregation
COH             155957460010                Gas           Gov. Aggregation   COH             195155930022                Gas           Gov. Aggregation
COH             191751950019                Gas           Gov. Aggregation   COH             197517360013                Gas           Gov. Aggregation
COH             197588190010                Gas           Gov. Aggregation   COH             110974200020                Gas           Gov. Aggregation
COH             172117190016                Gas           Gov. Aggregation   COH             195987300012                Gas           Gov. Aggregation
COH             129514340015                Gas           Gov. Aggregation   COH             140190400015                Gas           Gov. Aggregation
COH             193837060012                Gas           Gov. Aggregation   COH             175125570025                Gas           Gov. Aggregation
COH             197932510011                Gas           Gov. Aggregation   COH             199680790016                Gas           Gov. Aggregation
COH             157428480042                Gas           Gov. Aggregation   COH             197424500029                Gas           Gov. Aggregation
COH             122436590025                Gas           Gov. Aggregation   COH             199204920016                Gas           Gov. Aggregation
COH             192776280017                Gas           Gov. Aggregation   COH             199463230013                Gas           Gov. Aggregation
COH             197272540015                Gas           Gov. Aggregation   COH             197003650011                Gas           Gov. Aggregation
COH             188881000027                Gas           Gov. Aggregation   COH             199744590012                Gas           Gov. Aggregation
COH             122416030024                Gas           Gov. Aggregation   COH             198726550019                Gas           Gov. Aggregation
COH             174275200053                Gas           Gov. Aggregation   COH             168822080029                Gas           Gov. Aggregation
COH             196998140012                Gas           Gov. Aggregation   COH             169223700027                Gas           Gov. Aggregation
COH             161917120099                Gas           Gov. Aggregation   COH             141302420048                Gas           Gov. Aggregation
COH             122491690028                Gas           Gov. Aggregation   COH             172739820042                Gas           Gov. Aggregation
COH             194481690041                Gas           Gov. Aggregation   COH             191213300015                Gas           Gov. Aggregation
COH             194832680020                Gas           Gov. Aggregation   COH             174545180037                Gas           Gov. Aggregation
COH             194053020011                Gas           Gov. Aggregation   COH             174105060052                Gas           Gov. Aggregation
COH             189147220026                Gas           Gov. Aggregation   COH             172221960031                Gas           Gov. Aggregation
COH             195931080016                Gas           Gov. Aggregation   COH             196014530023                Gas           Gov. Aggregation
COH             196821570015                Gas           Gov. Aggregation   COH             185772400054                Gas           Gov. Aggregation
COH             147467740047                Gas           Gov. Aggregation   COH             115171780044                Gas           Gov. Aggregation
COH             194828680010                Gas           Gov. Aggregation   COH             198284270016                Gas           Gov. Aggregation
COH             122479890013                Gas           Gov. Aggregation   COH             197647010020                Gas           Gov. Aggregation
COH             195904490017                Gas           Gov. Aggregation   COH             197035150019                Gas           Gov. Aggregation
COH             196821400010                Gas           Gov. Aggregation   COH             197055810018                Gas           Gov. Aggregation
COH             188994360014                Gas           Gov. Aggregation   COH             194229430021                Gas           Gov. Aggregation
COH             193504580018                Gas           Gov. Aggregation   COH             174604750022                Gas           Gov. Aggregation
COH             197313640016                Gas           Gov. Aggregation   COH             115155400056                Gas           Gov. Aggregation
COH             196705550015                Gas           Gov. Aggregation   COH             197392670014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             134838460026                Gas           Gov. Aggregation   COH             199531960015                Gas           Gov. Aggregation
COH             190680890014                Gas           Gov. Aggregation   COH             143642280046                Gas           Gov. Aggregation
COH             193639240014                Gas           Gov. Aggregation   COH             115170040041                Gas           Gov. Aggregation
COH             193250260014                Gas           Gov. Aggregation   COH             192315480020                Gas           Gov. Aggregation
COH             122504560026                Gas           Gov. Aggregation   COH             115172330019                Gas           Gov. Aggregation
COH             157509700016                Gas           Gov. Aggregation   COH             146224760011                Gas           Gov. Aggregation
COH             196846970019                Gas           Gov. Aggregation   COH             193620530012                Gas           Gov. Aggregation
COH             190241530019                Gas           Gov. Aggregation   COH             193666740012                Gas           Gov. Aggregation
COH             194747290014                Gas           Gov. Aggregation   COH             177693920035                Gas           Gov. Aggregation
COH             194962630016                Gas           Gov. Aggregation   COH             177693920026                Gas           Gov. Aggregation
COH             194860540039                Gas           Gov. Aggregation   COH             165175590046                Gas           Gov. Aggregation
COH             197445780018                Gas           Gov. Aggregation   COH             155813140020                Gas           Gov. Aggregation
COH             196303980017                Gas           Gov. Aggregation   COH             192511380034                Gas           Gov. Aggregation
COH             134969420081                Gas           Gov. Aggregation   COH             195440800024                Gas           Gov. Aggregation
COH             196418210015                Gas           Gov. Aggregation   COH             129903330049                Gas           Gov. Aggregation
COH             197779470016                Gas           Gov. Aggregation   COH             196235150016                Gas           Gov. Aggregation
COH             196109230025                Gas           Gov. Aggregation   COH             197408590016                Gas           Gov. Aggregation
COH             197668350016                Gas           Gov. Aggregation   COH             199469770018                Gas           Gov. Aggregation
COH             195187820019                Gas           Gov. Aggregation   COH             149769030026                Gas           Gov. Aggregation
COH             193385780010                Gas           Gov. Aggregation   COH             196929400012                Gas           Gov. Aggregation
COH             176632090057                Gas           Gov. Aggregation   COH             196457640013                Gas           Gov. Aggregation
COH             195437500015                Gas           Gov. Aggregation   COH             136244025048                Gas           Gov. Aggregation
COH             190334480031                Gas           Gov. Aggregation   COH             141396890543                Gas           Gov. Aggregation
COH             145146290035                Gas           Gov. Aggregation   COH             134522920484                Gas           Gov. Aggregation
COH             192022360017                Gas           Gov. Aggregation   COH             199548480011                Gas           Gov. Aggregation
COH             177030080036                Gas           Gov. Aggregation   COH             199592500013                Gas           Gov. Aggregation
COH             187653240030                Gas           Gov. Aggregation   COH             123837920015                Gas           Gov. Aggregation
COH             188933070022                Gas           Gov. Aggregation   COH             199120140018                Gas           Gov. Aggregation
COH             196397310010                Gas           Gov. Aggregation   COH             198515780018                Gas           Gov. Aggregation
COH             131140580112                Gas           Gov. Aggregation   COH             177168790027                Gas           Gov. Aggregation
COH             195202010015                Gas           Gov. Aggregation   COH             198209820018                Gas           Gov. Aggregation
COH             197454460016                Gas           Gov. Aggregation   COH             199224790012                Gas           Gov. Aggregation
COH             159544400068                Gas           Gov. Aggregation   COH             199864300018                Gas           Gov. Aggregation
COH             172485500011                Gas           Gov. Aggregation   COH             199660120018                Gas           Gov. Aggregation
COH             155302760050                Gas           Gov. Aggregation   COH             135604040108                Gas           Gov. Aggregation
COH             122487370024                Gas           Gov. Aggregation   COH             123861510029                Gas           Gov. Aggregation
COH             122485840010                Gas           Gov. Aggregation   COH             147321020037                Gas           Gov. Aggregation
COH             191838090016                Gas           Gov. Aggregation   COH             198024160019                Gas           Gov. Aggregation
COH             122485830012                Gas           Gov. Aggregation   COH             196434040017                Gas           Gov. Aggregation
COH             177762050013                Gas           Gov. Aggregation   COH             196944050050                Gas           Gov. Aggregation
COH             144969060049                Gas           Gov. Aggregation   COH             168945580033                Gas           Gov. Aggregation
COH             128840900026                Gas           Gov. Aggregation   COH             138052780049                Gas           Gov. Aggregation
COH             122389160035                Gas           Gov. Aggregation   COH             195824310014                Gas           Gov. Aggregation
COH             197344400011                Gas           Gov. Aggregation   COH             195701010026                Gas           Gov. Aggregation
COH             196857430019                Gas           Gov. Aggregation   COH             189054930033                Gas           Gov. Aggregation
COH             157614110026                Gas           Gov. Aggregation   COH             198554150027                Gas           Gov. Aggregation
COH             167078020030                Gas           Gov. Aggregation   COH             198823040010                Gas           Gov. Aggregation
COH             192575530010                Gas           Gov. Aggregation   COH             168021630021                Gas           Gov. Aggregation
COH             122856380029                Gas           Gov. Aggregation   COH             174645070010                Gas           Gov. Aggregation
COH             122384250018                Gas           Gov. Aggregation   COH             190785770035                Gas           Gov. Aggregation
COH             163378330024                Gas           Gov. Aggregation   COH             186369390079                Gas           Gov. Aggregation
COH             196705570011                Gas           Gov. Aggregation   COH             196941090012                Gas           Gov. Aggregation
COH             188585690030                Gas           Gov. Aggregation   COH             160704150031                Gas           Gov. Aggregation
COH             129012311961                Gas           Gov. Aggregation   COH             123863750043                Gas           Gov. Aggregation
COH             122485640030                Gas           Gov. Aggregation   COH             198943670014                Gas           Gov. Aggregation
COH             147901610015                Gas           Gov. Aggregation   COH             198975340016                Gas           Gov. Aggregation
COH             122401960011                Gas           Gov. Aggregation   COH             198076630011                Gas           Gov. Aggregation
COH             122423160013                Gas           Gov. Aggregation   COH             199864290011                Gas           Gov. Aggregation
COH             172690640017                Gas           Gov. Aggregation   COH             199603920010                Gas           Gov. Aggregation
COH             194267300019                Gas           Gov. Aggregation   COH             199578470010                Gas           Gov. Aggregation
COH             138665130055                Gas           Gov. Aggregation   COH             197449450037                Gas           Gov. Aggregation
COH             175035240025                Gas           Gov. Aggregation   COH             196307650027                Gas           Gov. Aggregation
COH             196814990012                Gas           Gov. Aggregation   COH             188219540036                Gas           Gov. Aggregation
COH             156663020041                Gas           Gov. Aggregation   COH             185216450043                Gas           Gov. Aggregation
COH             192262260010                Gas           Gov. Aggregation   COH             123814250014                Gas           Gov. Aggregation
COH             196334070013                Gas           Gov. Aggregation   COH             123822530036                Gas           Gov. Aggregation
COH             168277800060                Gas           Gov. Aggregation   COH             199348800017                Gas           Gov. Aggregation
COH             189468430059                Gas           Gov. Aggregation   COH             199529570012                Gas           Gov. Aggregation
COH             186124690038                Gas           Gov. Aggregation   COH             199861810017                Gas           Gov. Aggregation
COH             192005650012                Gas           Gov. Aggregation   COH             198762050018                Gas           Gov. Aggregation
COH             162291000028                Gas           Gov. Aggregation   COH             177017780046                Gas           Gov. Aggregation
COH             122491440011                Gas           Gov. Aggregation   COH             175201050031                Gas           Gov. Aggregation
COH             187180490031                Gas           Gov. Aggregation   COH             175982790023                Gas           Gov. Aggregation
COH             165675260027                Gas           Gov. Aggregation   COH             167774260061                Gas           Gov. Aggregation
COH             122467740126                Gas           Gov. Aggregation   COH             170614750105                Gas           Gov. Aggregation
COH             177232630032                Gas           Gov. Aggregation   COH             199386770014                Gas           Gov. Aggregation
COH             158474350318                Gas           Gov. Aggregation   COH             123894320020                Gas           Gov. Aggregation
COH             122459710012                Gas           Gov. Aggregation   COH             197544090013                Gas           Gov. Aggregation
COH             194229480021                Gas           Gov. Aggregation   COH             197571490012                Gas           Gov. Aggregation
COH             194517230013                Gas           Gov. Aggregation   COH             197237520013                Gas           Gov. Aggregation
COH             194106010010                Gas           Gov. Aggregation   COH             195240580025                Gas           Gov. Aggregation
COH             195533580015                Gas           Gov. Aggregation   COH             196008210014                Gas           Gov. Aggregation
COH             195055340019                Gas           Gov. Aggregation   COH             136713950016                Gas           Gov. Aggregation
COH             193639250012                Gas           Gov. Aggregation   COH             189786540025                Gas           Gov. Aggregation
COH             193964890019                Gas           Gov. Aggregation   COH             171193840029                Gas           Gov. Aggregation
COH             145872790068                Gas           Gov. Aggregation   COH             139973410052                Gas           Gov. Aggregation
COH             158988020014                Gas           Gov. Aggregation   COH             156111680042                Gas           Gov. Aggregation
COH             197921540018                Gas           Gov. Aggregation   COH             198455340018                Gas           Gov. Aggregation
COH             195764630015                Gas           Gov. Aggregation   VEDO            4002845042279522            Gas           Gov. Aggregation
COH             122406130015                Gas           Gov. Aggregation   VEDO            4003751132373824            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             176549580060                Gas           Gov. Aggregation   COH             123806630011                Gas           Gov. Aggregation
COH             193811500013                Gas           Gov. Aggregation   COH             173377920011                Gas           Gov. Aggregation
COH             197017790013                Gas           Gov. Aggregation   VEDO            4004192242421644            Gas           Gov. Aggregation
COH             149310750035                Gas           Gov. Aggregation   VEDO            4015593322553850            Gas           Gov. Aggregation
COH             176703410012                Gas           Gov. Aggregation   COH             123768960023                Gas           Gov. Aggregation
COH             193467650013                Gas           Gov. Aggregation   COH             200352280014                Gas           Gov. Aggregation
COH             193962830015                Gas           Gov. Aggregation   COH             130305190026                Gas           Gov. Aggregation
COH             197392860014                Gas           Gov. Aggregation   COH             148921240010                Gas           Gov. Aggregation
COH             129958970022                Gas           Gov. Aggregation   COH             173090260036                Gas           Gov. Aggregation
COH             129893590020                Gas           Gov. Aggregation   COH             173237050010                Gas           Gov. Aggregation
COH             122413290017                Gas           Gov. Aggregation   COH             175097990019                Gas           Gov. Aggregation
COH             195406650019                Gas           Gov. Aggregation   COH             174941790011                Gas           Gov. Aggregation
COH             122347200016                Gas           Gov. Aggregation   COH             174970020011                Gas           Gov. Aggregation
COH             194579910010                Gas           Gov. Aggregation   COH             173942350012                Gas           Gov. Aggregation
COH             194327790037                Gas           Gov. Aggregation   COH             173858590020                Gas           Gov. Aggregation
COH             162195020037                Gas           Gov. Aggregation   COH             173477570013                Gas           Gov. Aggregation
COH             122512210022                Gas           Gov. Aggregation   COH             174172990038                Gas           Gov. Aggregation
COH             196700000038                Gas           Gov. Aggregation   COH             168491230039                Gas           Gov. Aggregation
COH             122388020027                Gas           Gov. Aggregation   COH             171719560013                Gas           Gov. Aggregation
COH             170017450024                Gas           Gov. Aggregation   COH             171709700032                Gas           Gov. Aggregation
COH             195069130014                Gas           Gov. Aggregation   COH             166047300019                Gas           Gov. Aggregation
COH             173002830022                Gas           Gov. Aggregation   COH             165805780049                Gas           Gov. Aggregation
COH             158768130026                Gas           Gov. Aggregation   COH             165556920011                Gas           Gov. Aggregation
COH             165107280026                Gas           Gov. Aggregation   COH             158314050042                Gas           Gov. Aggregation
COH             190408380017                Gas           Gov. Aggregation   COH             158203580019                Gas           Gov. Aggregation
COH             152044270072                Gas           Gov. Aggregation   COH             158756620046                Gas           Gov. Aggregation
COH             194853930014                Gas           Gov. Aggregation   COH             158621960040                Gas           Gov. Aggregation
COH             189139530055                Gas           Gov. Aggregation   COH             157515510013                Gas           Gov. Aggregation
COH             167251680034                Gas           Gov. Aggregation   COH             157668500021                Gas           Gov. Aggregation
COH             193639290014                Gas           Gov. Aggregation   COH             157749760025                Gas           Gov. Aggregation
COH             187234390037                Gas           Gov. Aggregation   COH             157318250052                Gas           Gov. Aggregation
COH             197762460031                Gas           Gov. Aggregation   COH             159947820011                Gas           Gov. Aggregation
COH             133115340024                Gas           Gov. Aggregation   COH             160163320024                Gas           Gov. Aggregation
COH             122478300018                Gas           Gov. Aggregation   COH             160294840028                Gas           Gov. Aggregation
COH             153601030131                Gas           Gov. Aggregation   COH             172942450012                Gas           Gov. Aggregation
COH             194889030018                Gas           Gov. Aggregation   COH             159856140017                Gas           Gov. Aggregation
COH             195864620015                Gas           Gov. Aggregation   COH             159613950011                Gas           Gov. Aggregation
COH             195817150013                Gas           Gov. Aggregation   COH             159401650013                Gas           Gov. Aggregation
COH             122423000016                Gas           Gov. Aggregation   COH             159411900019                Gas           Gov. Aggregation
COH             197492900013                Gas           Gov. Aggregation   COH             161439900017                Gas           Gov. Aggregation
COH             192849200018                Gas           Gov. Aggregation   COH             161395550024                Gas           Gov. Aggregation
COH             122388690018                Gas           Gov. Aggregation   COH             161246250022                Gas           Gov. Aggregation
COH             122382820049                Gas           Gov. Aggregation   COH             162775800015                Gas           Gov. Aggregation
COH             171129440028                Gas           Gov. Aggregation   COH             162898820011                Gas           Gov. Aggregation
COH             197568210017                Gas           Gov. Aggregation   COH             162883620014                Gas           Gov. Aggregation
COH             196895100018                Gas           Gov. Aggregation   COH             162162980017                Gas           Gov. Aggregation
COH             151226020015                Gas           Gov. Aggregation   COH             162233470022                Gas           Gov. Aggregation
COH             197122550010                Gas           Gov. Aggregation   COH             161600370034                Gas           Gov. Aggregation
COH             197319690014                Gas           Gov. Aggregation   COH             161548070011                Gas           Gov. Aggregation
COH             197530610012                Gas           Gov. Aggregation   COH             161529640020                Gas           Gov. Aggregation
COH             195680610017                Gas           Gov. Aggregation   COH             162059450017                Gas           Gov. Aggregation
COH             192295980010                Gas           Gov. Aggregation   COH             164696550023                Gas           Gov. Aggregation
COH             189383430031                Gas           Gov. Aggregation   COH             164660610016                Gas           Gov. Aggregation
COH             197762460013                Gas           Gov. Aggregation   COH             164670850033                Gas           Gov. Aggregation
COH             189787660019                Gas           Gov. Aggregation   COH             165220880039                Gas           Gov. Aggregation
COH             164684790251                Gas           Gov. Aggregation   COH             165304920014                Gas           Gov. Aggregation
COH             171132350020                Gas           Gov. Aggregation   COH             165117120019                Gas           Gov. Aggregation
COH             161031580019                Gas           Gov. Aggregation   COH             163391680112                Gas           Gov. Aggregation
COH             163701280055                Gas           Gov. Aggregation   COH             163437800010                Gas           Gov. Aggregation
COH             192095010026                Gas           Gov. Aggregation   COH             164464290010                Gas           Gov. Aggregation
COH             122431470048                Gas           Gov. Aggregation   COH             164238850011                Gas           Gov. Aggregation
COH             122460920024                Gas           Gov. Aggregation   COH             164262300015                Gas           Gov. Aggregation
COH             173814260021                Gas           Gov. Aggregation   COH             188011010028                Gas           Gov. Aggregation
COH             190954310032                Gas           Gov. Aggregation   COH             188042210012                Gas           Gov. Aggregation
COH             195328930016                Gas           Gov. Aggregation   COH             187557060014                Gas           Gov. Aggregation
COH             193101480013                Gas           Gov. Aggregation   COH             187616570011                Gas           Gov. Aggregation
COH             196380070016                Gas           Gov. Aggregation   COH             186107460041                Gas           Gov. Aggregation
COH             140946730022                Gas           Gov. Aggregation   COH             186148400010                Gas           Gov. Aggregation
COH             196077250011                Gas           Gov. Aggregation   COH             185924600013                Gas           Gov. Aggregation
COH             132578970014                Gas           Gov. Aggregation   COH             186322800016                Gas           Gov. Aggregation
COH             194623020021                Gas           Gov. Aggregation   COH             186541930024                Gas           Gov. Aggregation
COH             196872380018                Gas           Gov. Aggregation   COH             177580750012                Gas           Gov. Aggregation
COH             191516540022                Gas           Gov. Aggregation   COH             177453430018                Gas           Gov. Aggregation
COH             197738650014                Gas           Gov. Aggregation   COH             177105400011                Gas           Gov. Aggregation
COH             194952690015                Gas           Gov. Aggregation   COH             177352320024                Gas           Gov. Aggregation
COH             129071610027                Gas           Gov. Aggregation   COH             185131180031                Gas           Gov. Aggregation
COH             122381260030                Gas           Gov. Aggregation   COH             185678860012                Gas           Gov. Aggregation
COH             195591730011                Gas           Gov. Aggregation   COH             185436650018                Gas           Gov. Aggregation
COH             197686570012                Gas           Gov. Aggregation   COH             175333180026                Gas           Gov. Aggregation
COH             191336320011                Gas           Gov. Aggregation   COH             192427620023                Gas           Gov. Aggregation
COH             196216560010                Gas           Gov. Aggregation   COH             192710360018                Gas           Gov. Aggregation
COH             197344370018                Gas           Gov. Aggregation   COH             192599740016                Gas           Gov. Aggregation
COH             194706170015                Gas           Gov. Aggregation   COH             192970270017                Gas           Gov. Aggregation
COH             166183740224                Gas           Gov. Aggregation   COH             190459940012                Gas           Gov. Aggregation
COH             195993780019                Gas           Gov. Aggregation   COH             189981870013                Gas           Gov. Aggregation
COH             122378910021                Gas           Gov. Aggregation   COH             189970250025                Gas           Gov. Aggregation
COH             152881390037                Gas           Gov. Aggregation   COH             188864870012                Gas           Gov. Aggregation
COH             196593880015                Gas           Gov. Aggregation   COH             189091310017                Gas           Gov. Aggregation
COH             122477110038                Gas           Gov. Aggregation   COH             188812910012                Gas           Gov. Aggregation
COH             197232940015                Gas           Gov. Aggregation   COH             189533480014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             195440730010                Gas           Gov. Aggregation   COH             120275670022                Gas           Gov. Aggregation
COH             122349600018                Gas           Gov. Aggregation   COH             120270220035                Gas           Gov. Aggregation
COH             197861250017                Gas           Gov. Aggregation   COH             126927580040                Gas           Gov. Aggregation
COH             158651170025                Gas           Gov. Aggregation   COH             126876350038                Gas           Gov. Aggregation
COH             189095280025                Gas           Gov. Aggregation   COH             129508360087                Gas           Gov. Aggregation
COH             188937420020                Gas           Gov. Aggregation   COH             129082480031                Gas           Gov. Aggregation
COH             192434200017                Gas           Gov. Aggregation   COH             131164050051                Gas           Gov. Aggregation
COH             158721060056                Gas           Gov. Aggregation   COH             118268950059                Gas           Gov. Aggregation
COH             192726360015                Gas           Gov. Aggregation   COH             118204000025                Gas           Gov. Aggregation
COH             193347880019                Gas           Gov. Aggregation   COH             118218080039                Gas           Gov. Aggregation
COH             162398190050                Gas           Gov. Aggregation   COH             118223520035                Gas           Gov. Aggregation
COH             122339260011                Gas           Gov. Aggregation   COH             118170990058                Gas           Gov. Aggregation
COH             153537190019                Gas           Gov. Aggregation   COH             118703810036                Gas           Gov. Aggregation
COH             192738170010                Gas           Gov. Aggregation   COH             161204910021                Gas           Gov. Aggregation
COH             189833890021                Gas           Gov. Aggregation   COH             160412440039                Gas           Gov. Aggregation
COH             196478310018                Gas           Gov. Aggregation   COH             160528750020                Gas           Gov. Aggregation
COH             174657130021                Gas           Gov. Aggregation   COH             160837130016                Gas           Gov. Aggregation
COH             195089930014                Gas           Gov. Aggregation   COH             160709040025                Gas           Gov. Aggregation
COH             197017840012                Gas           Gov. Aggregation   COH             160718510027                Gas           Gov. Aggregation
COH             191820490028                Gas           Gov. Aggregation   COH             191103190021                Gas           Gov. Aggregation
COH             153216560066                Gas           Gov. Aggregation   COH             191157670018                Gas           Gov. Aggregation
COH             195087840017                Gas           Gov. Aggregation   COH             190871850035                Gas           Gov. Aggregation
COH             189678670027                Gas           Gov. Aggregation   COH             119303400057                Gas           Gov. Aggregation
COH             122472910030                Gas           Gov. Aggregation   COH             119152000025                Gas           Gov. Aggregation
COH             122385600030                Gas           Gov. Aggregation   COH             119218180028                Gas           Gov. Aggregation
COH             192655040013                Gas           Gov. Aggregation   COH             118826920024                Gas           Gov. Aggregation
COH             169124590076                Gas           Gov. Aggregation   COH             118067440034                Gas           Gov. Aggregation
COH             122481130035                Gas           Gov. Aggregation   COH             117939680027                Gas           Gov. Aggregation
COH             194562480016                Gas           Gov. Aggregation   COH             117944820035                Gas           Gov. Aggregation
COH             150154780010                Gas           Gov. Aggregation   COH             116957860040                Gas           Gov. Aggregation
COH             193715210018                Gas           Gov. Aggregation   COH             116974160050                Gas           Gov. Aggregation
COH             122371870015                Gas           Gov. Aggregation   COH             116959720027                Gas           Gov. Aggregation
COH             154247000058                Gas           Gov. Aggregation   COH             169918160028                Gas           Gov. Aggregation
COH             191877930035                Gas           Gov. Aggregation   COH             170159550014                Gas           Gov. Aggregation
COH             122385300033                Gas           Gov. Aggregation   COH             170184900026                Gas           Gov. Aggregation
COH             164007250025                Gas           Gov. Aggregation   COH             170135780016                Gas           Gov. Aggregation
COH             191790470018                Gas           Gov. Aggregation   COH             136516690046                Gas           Gov. Aggregation
COH             129358190028                Gas           Gov. Aggregation   COH             135813220027                Gas           Gov. Aggregation
COH             197160700018                Gas           Gov. Aggregation   COH             135864390061                Gas           Gov. Aggregation
COH             122367900017                Gas           Gov. Aggregation   COH             135401910025                Gas           Gov. Aggregation
COH             196148210018                Gas           Gov. Aggregation   COH             139445320023                Gas           Gov. Aggregation
COH             193017580011                Gas           Gov. Aggregation   COH             139898970028                Gas           Gov. Aggregation
COH             122406910020                Gas           Gov. Aggregation   COH             137981920023                Gas           Gov. Aggregation
COH             191551930017                Gas           Gov. Aggregation   COH             141265730025                Gas           Gov. Aggregation
COH             195591750026                Gas           Gov. Aggregation   COH             141288740025                Gas           Gov. Aggregation
COH             122458950023                Gas           Gov. Aggregation   COH             141236110044                Gas           Gov. Aggregation
COH             122447880021                Gas           Gov. Aggregation   COH             141873100028                Gas           Gov. Aggregation
COH             152248490270                Gas           Gov. Aggregation   COH             141502330043                Gas           Gov. Aggregation
COH             122347890012                Gas           Gov. Aggregation   COH             142834850022                Gas           Gov. Aggregation
COH             171790690196                Gas           Gov. Aggregation   COH             143305920036                Gas           Gov. Aggregation
COH             171790690221                Gas           Gov. Aggregation   COH             143254660021                Gas           Gov. Aggregation
COH             193085970016                Gas           Gov. Aggregation   COH             143093600034                Gas           Gov. Aggregation
COH             146189900026                Gas           Gov. Aggregation   COH             141995860021                Gas           Gov. Aggregation
COH             176977350070                Gas           Gov. Aggregation   COH             147553930026                Gas           Gov. Aggregation
COH             194600140015                Gas           Gov. Aggregation   COH             149807650060                Gas           Gov. Aggregation
COH             122420540028                Gas           Gov. Aggregation   COH             150451320089                Gas           Gov. Aggregation
COH             192865450012                Gas           Gov. Aggregation   COH             150937450037                Gas           Gov. Aggregation
COH             158135340023                Gas           Gov. Aggregation   COH             152233510043                Gas           Gov. Aggregation
COH             185182440011                Gas           Gov. Aggregation   COH             152182920028                Gas           Gov. Aggregation
COH             187974080016                Gas           Gov. Aggregation   COH             154176240022                Gas           Gov. Aggregation
COH             195755430016                Gas           Gov. Aggregation   COH             153773000036                Gas           Gov. Aggregation
COH             197903070015                Gas           Gov. Aggregation   COH             153143060039                Gas           Gov. Aggregation
COH             193444700029                Gas           Gov. Aggregation   COH             156063290047                Gas           Gov. Aggregation
COH             192846190017                Gas           Gov. Aggregation   COH             156791590023                Gas           Gov. Aggregation
COH             153601260035                Gas           Gov. Aggregation   COH             157252610038                Gas           Gov. Aggregation
COH             144750780023                Gas           Gov. Aggregation   COH             157065790038                Gas           Gov. Aggregation
COH             192162670016                Gas           Gov. Aggregation   COH             199651760013                Gas           Gov. Aggregation
COH             122351110016                Gas           Gov. Aggregation   COH             199652380011                Gas           Gov. Aggregation
COH             195310490016                Gas           Gov. Aggregation   COH             199831690016                Gas           Gov. Aggregation
COH             134407970148                Gas           Gov. Aggregation   COH             199863840017                Gas           Gov. Aggregation
COH             170505820021                Gas           Gov. Aggregation   COH             199851200016                Gas           Gov. Aggregation
COH             192201590019                Gas           Gov. Aggregation   COH             195064630028                Gas           Gov. Aggregation
COH             122355540027                Gas           Gov. Aggregation   COH             194375850015                Gas           Gov. Aggregation
COH             122356670019                Gas           Gov. Aggregation   COH             194498240013                Gas           Gov. Aggregation
COH             122403480045                Gas           Gov. Aggregation   COH             193224100012                Gas           Gov. Aggregation
COH             122404780013                Gas           Gov. Aggregation   COH             193347700016                Gas           Gov. Aggregation
COH             122405760024                Gas           Gov. Aggregation   COH             195981860017                Gas           Gov. Aggregation
COH             122407480010                Gas           Gov. Aggregation   COH             195972230027                Gas           Gov. Aggregation
COH             122442690012                Gas           Gov. Aggregation   COH             195944870013                Gas           Gov. Aggregation
COH             122456730032                Gas           Gov. Aggregation   COH             196077050013                Gas           Gov. Aggregation
COH             122457840019                Gas           Gov. Aggregation   COH             196033590012                Gas           Gov. Aggregation
COH             122457860015                Gas           Gov. Aggregation   COH             195591240014                Gas           Gov. Aggregation
COH             122460910026                Gas           Gov. Aggregation   COH             195904360014                Gas           Gov. Aggregation
COH             122462760024                Gas           Gov. Aggregation   COH             197815410010                Gas           Gov. Aggregation
COH             122496550027                Gas           Gov. Aggregation   COH             197779150013                Gas           Gov. Aggregation
COH             122512040019                Gas           Gov. Aggregation   COH             197627710016                Gas           Gov. Aggregation
COH             122512270039                Gas           Gov. Aggregation   COH             197160590012                Gas           Gov. Aggregation
COH             122512630024                Gas           Gov. Aggregation   COH             197184600019                Gas           Gov. Aggregation
COH             136145420012                Gas           Gov. Aggregation   COH             197184630013                Gas           Gov. Aggregation
COH             139947560029                Gas           Gov. Aggregation   COH             197474200027                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             139957330017                Gas           Gov. Aggregation   COH             197517310013                Gas           Gov. Aggregation
COH             140867240023                Gas           Gov. Aggregation   COH             197421620011                Gas           Gov. Aggregation
COH             141265550041                Gas           Gov. Aggregation   COH             197439680012                Gas           Gov. Aggregation
COH             142346080038                Gas           Gov. Aggregation   COH             197222330014                Gas           Gov. Aggregation
COH             142481160035                Gas           Gov. Aggregation   COH             198714780016                Gas           Gov. Aggregation
COH             155687890022                Gas           Gov. Aggregation   COH             198759070011                Gas           Gov. Aggregation
COH             160137350014                Gas           Gov. Aggregation   COH             198782820014                Gas           Gov. Aggregation
COH             160299150032                Gas           Gov. Aggregation   COH             198330070019                Gas           Gov. Aggregation
COH             175010410012                Gas           Gov. Aggregation   COH             198408450014                Gas           Gov. Aggregation
COH             185793140019                Gas           Gov. Aggregation   COH             117946720032                Gas           Gov. Aggregation
COH             186889810014                Gas           Gov. Aggregation   COH             117945290026                Gas           Gov. Aggregation
COH             110309030025                Gas           Gov. Aggregation   COH             142219390032                Gas           Gov. Aggregation
COH             122354450019                Gas           Gov. Aggregation   COH             142228770042                Gas           Gov. Aggregation
COH             130935280031                Gas           Gov. Aggregation   COH             142238830075                Gas           Gov. Aggregation
COH             133887330012                Gas           Gov. Aggregation   COH             142242930066                Gas           Gov. Aggregation
COH             134127890032                Gas           Gov. Aggregation   COH             142403490021                Gas           Gov. Aggregation
COH             139892820012                Gas           Gov. Aggregation   COH             149240210028                Gas           Gov. Aggregation
COH             147359560026                Gas           Gov. Aggregation   COH             149476190024                Gas           Gov. Aggregation
COH             122425050012                Gas           Gov. Aggregation   COH             148207150031                Gas           Gov. Aggregation
COH             122436150036                Gas           Gov. Aggregation   COH             148766780026                Gas           Gov. Aggregation
COH             122459190012                Gas           Gov. Aggregation   COH             147166010020                Gas           Gov. Aggregation
COH             122480530015                Gas           Gov. Aggregation   COH             199239000016                Gas           Gov. Aggregation
COH             142492620026                Gas           Gov. Aggregation   COH             199187400013                Gas           Gov. Aggregation
COH             143077510037                Gas           Gov. Aggregation   COH             118057250035                Gas           Gov. Aggregation
COH             146832420013                Gas           Gov. Aggregation   COH             157740960030                Gas           Gov. Aggregation
COH             150919530010                Gas           Gov. Aggregation   COH             158416150018                Gas           Gov. Aggregation
COH             155120100027                Gas           Gov. Aggregation   COH             160528710028                Gas           Gov. Aggregation
COH             112322840025                Gas           Gov. Aggregation   COH             165814320037                Gas           Gov. Aggregation
COH             122413880022                Gas           Gov. Aggregation   COH             176334150010                Gas           Gov. Aggregation
COH             122431150027                Gas           Gov. Aggregation   COH             133276370037                Gas           Gov. Aggregation
COH             136538500021                Gas           Gov. Aggregation   COH             176605300022                Gas           Gov. Aggregation
COH             140374860019                Gas           Gov. Aggregation   COH             193814440010                Gas           Gov. Aggregation
VEDO            4004301972170495            Gas           Gov. Aggregation   COH             155080070020                Gas           Gov. Aggregation
VEDO            4019429692143602            Gas           Gov. Aggregation   COH             199529310016                Gas           Gov. Aggregation
COH             115754490012                Gas           Gov. Aggregation   COH             118941700026                Gas           Gov. Aggregation
COH             122361520180                Gas           Gov. Aggregation   COH             119137530026                Gas           Gov. Aggregation
COH             123671930060                Gas           Gov. Aggregation   COH             139738590026                Gas           Gov. Aggregation
COH             129726110023                Gas           Gov. Aggregation   COH             144566830032                Gas           Gov. Aggregation
COH             131316680047                Gas           Gov. Aggregation   COH             187490910017                Gas           Gov. Aggregation
COH             135072930084                Gas           Gov. Aggregation   COH             160220090012                Gas           Gov. Aggregation
COH             135268870037                Gas           Gov. Aggregation   COH             196033530014                Gas           Gov. Aggregation
COH             141674370042                Gas           Gov. Aggregation   COH             194612570010                Gas           Gov. Aggregation
COH             141705120029                Gas           Gov. Aggregation   COH             194663810012                Gas           Gov. Aggregation
COH             145043640011                Gas           Gov. Aggregation   COH             195406280017                Gas           Gov. Aggregation
COH             145837180113                Gas           Gov. Aggregation   COH             196327960011                Gas           Gov. Aggregation
COH             147642880028                Gas           Gov. Aggregation   COH             198375060017                Gas           Gov. Aggregation
COH             149289370023                Gas           Gov. Aggregation   COH             199083590014                Gas           Gov. Aggregation
COH             150801530028                Gas           Gov. Aggregation   COH             117103820028                Gas           Gov. Aggregation
COH             153394790071                Gas           Gov. Aggregation   COH             116960950035                Gas           Gov. Aggregation
COH             155435940060                Gas           Gov. Aggregation   COH             190721320015                Gas           Gov. Aggregation
COH             157991020107                Gas           Gov. Aggregation   COH             186863010016                Gas           Gov. Aggregation
COH             159667370038                Gas           Gov. Aggregation   COH             192848880018                Gas           Gov. Aggregation
COH             161670420036                Gas           Gov. Aggregation   COH             175611060021                Gas           Gov. Aggregation
COH             165206530087                Gas           Gov. Aggregation   COH             135440730049                Gas           Gov. Aggregation
COH             168700280034                Gas           Gov. Aggregation   COH             162224810029                Gas           Gov. Aggregation
COH             169081350112                Gas           Gov. Aggregation   COH             160412590010                Gas           Gov. Aggregation
COH             172392750025                Gas           Gov. Aggregation   COH             158922940037                Gas           Gov. Aggregation
COH             174626350020                Gas           Gov. Aggregation   COH             188635490017                Gas           Gov. Aggregation
COH             175626550027                Gas           Gov. Aggregation   COH             185939560011                Gas           Gov. Aggregation
COH             177444570036                Gas           Gov. Aggregation   COH             192944600012                Gas           Gov. Aggregation
COH             185284730023                Gas           Gov. Aggregation   COH             137908920018                Gas           Gov. Aggregation
COH             185672450029                Gas           Gov. Aggregation   COH             199158210014                Gas           Gov. Aggregation
COH             190542310044                Gas           Gov. Aggregation   COH             162085960015                Gas           Gov. Aggregation
COH             192727460021                Gas           Gov. Aggregation   COH             169042440017                Gas           Gov. Aggregation
COH             193489310027                Gas           Gov. Aggregation   COH             199616560019                Gas           Gov. Aggregation
COH             193724440057                Gas           Gov. Aggregation   COH             154136400022                Gas           Gov. Aggregation
COH             194049770031                Gas           Gov. Aggregation   COH             199529280013                Gas           Gov. Aggregation
COH             194158600026                Gas           Gov. Aggregation   COH             166551490039                Gas           Gov. Aggregation
COH             194234970018                Gas           Gov. Aggregation   COH             144998710023                Gas           Gov. Aggregation
COH             194556570010                Gas           Gov. Aggregation   COH             188725410012                Gas           Gov. Aggregation
COH             194765210021                Gas           Gov. Aggregation   COH             118970390067                Gas           Gov. Aggregation
COH             196298290015                Gas           Gov. Aggregation   COH             152915290035                Gas           Gov. Aggregation
COH             197645100016                Gas           Gov. Aggregation   COH             116808650021                Gas           Gov. Aggregation
COH             197816610016                Gas           Gov. Aggregation   COH             194622710028                Gas           Gov. Aggregation
COH             197899630018                Gas           Gov. Aggregation   COH             154436930025                Gas           Gov. Aggregation
COH             197903860019                Gas           Gov. Aggregation   COH             118201980026                Gas           Gov. Aggregation
COH             197939340013                Gas           Gov. Aggregation   COH             192929970017                Gas           Gov. Aggregation
COH             197964670011                Gas           Gov. Aggregation   COH             117155630029                Gas           Gov. Aggregation
COH             197968820011                Gas           Gov. Aggregation   COH             198508460029                Gas           Gov. Aggregation
COH             197976120011                Gas           Gov. Aggregation   COH             195035420032                Gas           Gov. Aggregation
COH             197979870018                Gas           Gov. Aggregation   COH             189655520017                Gas           Gov. Aggregation
COH             197989110016                Gas           Gov. Aggregation   COH             194189400032                Gas           Gov. Aggregation
COH             197997080016                Gas           Gov. Aggregation   COH             119765730023                Gas           Gov. Aggregation
COH             198018450011                Gas           Gov. Aggregation   COH             173422180056                Gas           Gov. Aggregation
COH             198019990016                Gas           Gov. Aggregation   COH             189363450039                Gas           Gov. Aggregation
COH             198027250014                Gas           Gov. Aggregation   COH             192197350010                Gas           Gov. Aggregation
COH             198036810017                Gas           Gov. Aggregation   COH             188136470019                Gas           Gov. Aggregation
COH             198038200011                Gas           Gov. Aggregation   COH             159333870012                Gas           Gov. Aggregation
COH             198049290010                Gas           Gov. Aggregation   COH             168176650011                Gas           Gov. Aggregation
COH             198061030018                Gas           Gov. Aggregation   COH             159665960047                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             198086180015                Gas           Gov. Aggregation   COH             157110100035                Gas           Gov. Aggregation
COH             198087990013                Gas           Gov. Aggregation   COH             147138660069                Gas           Gov. Aggregation
COH             198107040018                Gas           Gov. Aggregation   COH             176515720025                Gas           Gov. Aggregation
COH             198107150015                Gas           Gov. Aggregation   COH             165263450011                Gas           Gov. Aggregation
COH             198111560010                Gas           Gov. Aggregation   COH             159872100039                Gas           Gov. Aggregation
COH             198117310010                Gas           Gov. Aggregation   COH             161839250016                Gas           Gov. Aggregation
COH             198125130011                Gas           Gov. Aggregation   COH             135639090025                Gas           Gov. Aggregation
COH             198138910010                Gas           Gov. Aggregation   COH             135198900084                Gas           Gov. Aggregation
COH             198154040019                Gas           Gov. Aggregation   COH             187754160024                Gas           Gov. Aggregation
VEDO            4003376782166622            Gas           Gov. Aggregation   COH             192299490015                Gas           Gov. Aggregation
VEDO            4017311082189985            Gas           Gov. Aggregation   COH             119905560067                Gas           Gov. Aggregation
VEDO            4019434792639984            Gas           Gov. Aggregation   COH             119940180054                Gas           Gov. Aggregation
VEDO            4002625992257510            Gas           Gov. Aggregation   COH             171491060030                Gas           Gov. Aggregation
VEDO            4002013062276895            Gas           Gov. Aggregation   COH             170994050028                Gas           Gov. Aggregation
VEDO            4019422242437443            Gas           Gov. Aggregation   COH             148299750023                Gas           Gov. Aggregation
COH             122389690025                Gas           Gov. Aggregation   COH             192221250018                Gas           Gov. Aggregation
VEDO            4002777942372673            Gas           Gov. Aggregation   COH             142274760047                Gas           Gov. Aggregation
VEDO            4019437552357039            Gas           Gov. Aggregation   COH             141048230020                Gas           Gov. Aggregation
VEDO            4001856152535246            Gas           Gov. Aggregation   COH             134627000029                Gas           Gov. Aggregation
COH             122346390019                Gas           Gov. Aggregation   COH             171314860018                Gas           Gov. Aggregation
COH             195843620019                Gas           Gov. Aggregation   COH             153769410020                Gas           Gov. Aggregation
COH             196374050013                Gas           Gov. Aggregation   COH             118378850020                Gas           Gov. Aggregation
COH             196976780014                Gas           Gov. Aggregation   COH             187495220012                Gas           Gov. Aggregation
COH             196956450015                Gas           Gov. Aggregation   COH             165970700055                Gas           Gov. Aggregation
COH             186831780030                Gas           Gov. Aggregation   COH             148687480027                Gas           Gov. Aggregation
VEDO            4018920692447740            Gas           Gov. Aggregation   COH             173765290020                Gas           Gov. Aggregation
DEO             5120000111155               Gas           Gov. Aggregation   COH             148081180024                Gas           Gov. Aggregation
VEDO            4002825922277569            Gas           Gov. Aggregation   COH             140735160056                Gas           Gov. Aggregation
VEDO            4001570552153708            Gas           Gov. Aggregation   COH             142941540075                Gas           Gov. Aggregation
VEDO            4002881712261994            Gas           Gov. Aggregation   COH             188678740014                Gas           Gov. Aggregation
VEDO            4019443302612502            Gas           Gov. Aggregation   COH             199670740017                Gas           Gov. Aggregation
COH             146958760016                Gas           Gov. Aggregation   COH             195294280016                Gas           Gov. Aggregation
COH             122448300066                Gas           Gov. Aggregation   COH             197329190018                Gas           Gov. Aggregation
COH             142394220019                Gas           Gov. Aggregation   COH             198199940016                Gas           Gov. Aggregation
COH             143752300020                Gas           Gov. Aggregation   COH             198027140017                Gas           Gov. Aggregation
VEDO            4018966582642217            Gas           Gov. Aggregation   COH             170580540013                Gas           Gov. Aggregation
VEDO            4017827662159394            Gas           Gov. Aggregation   COH             169565540027                Gas           Gov. Aggregation
COH             192112270024                Gas           Gov. Aggregation   COH             117557710020                Gas           Gov. Aggregation
VEDO            4003911452391125            Gas           Gov. Aggregation   COH             161917800023                Gas           Gov. Aggregation
DEO             9500066295490               Gas           Gov. Aggregation   COH             187041100036                Gas           Gov. Aggregation
VEDO            4019258062383965            Gas           Gov. Aggregation   COH             174846030030                Gas           Gov. Aggregation
COH             132230070037                Gas           Gov. Aggregation   COH             161823670011                Gas           Gov. Aggregation
COH             141515610065                Gas           Gov. Aggregation   COH             162628260029                Gas           Gov. Aggregation
VEDO            4019446672203415            Gas           Gov. Aggregation   COH             172450480037                Gas           Gov. Aggregation
COH             131523230015                Gas           Gov. Aggregation   COH             118822710071                Gas           Gov. Aggregation
VEDO            4004543262444254            Gas           Gov. Aggregation   COH             199024010019                Gas           Gov. Aggregation
COH             145869370018                Gas           Gov. Aggregation   COH             197558760013                Gas           Gov. Aggregation
COH             111013810018                Gas           Gov. Aggregation   COH             129665720043                Gas           Gov. Aggregation
COH             115415420032                Gas           Gov. Aggregation   COH             165838300013                Gas           Gov. Aggregation
COH             121938250014                Gas           Gov. Aggregation   COH             165735260010                Gas           Gov. Aggregation
COH             121991810023                Gas           Gov. Aggregation   COH             197136190017                Gas           Gov. Aggregation
COH             122665060058                Gas           Gov. Aggregation   COH             198617190016                Gas           Gov. Aggregation
COH             127308980056                Gas           Gov. Aggregation   COH             118654690028                Gas           Gov. Aggregation
COH             131147260017                Gas           Gov. Aggregation   COH             154663510022                Gas           Gov. Aggregation
COH             137912700015                Gas           Gov. Aggregation   COH             169695800018                Gas           Gov. Aggregation
COH             155826840026                Gas           Gov. Aggregation   COH             117242440024                Gas           Gov. Aggregation
COH             156512670035                Gas           Gov. Aggregation   COH             197176260018                Gas           Gov. Aggregation
COH             158640170037                Gas           Gov. Aggregation   COH             119385740027                Gas           Gov. Aggregation
COH             160552900054                Gas           Gov. Aggregation   COH             148745580022                Gas           Gov. Aggregation
COH             162983990024                Gas           Gov. Aggregation   COH             148796670017                Gas           Gov. Aggregation
COH             167840800020                Gas           Gov. Aggregation   COH             171252810029                Gas           Gov. Aggregation
COH             168768830018                Gas           Gov. Aggregation   COH             161897470018                Gas           Gov. Aggregation
COH             171196670083                Gas           Gov. Aggregation   COH             158479690022                Gas           Gov. Aggregation
COH             172317200037                Gas           Gov. Aggregation   COH             165498080012                Gas           Gov. Aggregation
COH             172954250037                Gas           Gov. Aggregation   COH             149475100042                Gas           Gov. Aggregation
COH             175726820019                Gas           Gov. Aggregation   COH             185582130018                Gas           Gov. Aggregation
COH             177314950031                Gas           Gov. Aggregation   COH             170901740019                Gas           Gov. Aggregation
COH             177496640050                Gas           Gov. Aggregation   COH             135869930058                Gas           Gov. Aggregation
COH             186502330022                Gas           Gov. Aggregation   COH             133195520037                Gas           Gov. Aggregation
COH             190898390027                Gas           Gov. Aggregation   COH             148143340082                Gas           Gov. Aggregation
COH             191017070029                Gas           Gov. Aggregation   COH             196136900018                Gas           Gov. Aggregation
COH             191350220012                Gas           Gov. Aggregation   COH             197259620016                Gas           Gov. Aggregation
COH             191707010037                Gas           Gov. Aggregation   COH             143290120028                Gas           Gov. Aggregation
COH             191801710049                Gas           Gov. Aggregation   COH             132210940054                Gas           Gov. Aggregation
COH             193610500028                Gas           Gov. Aggregation   COH             121902850077                Gas           Gov. Aggregation
COH             196278790058                Gas           Gov. Aggregation   COH             188895680026                Gas           Gov. Aggregation
COH             196985310022                Gas           Gov. Aggregation   COH             117584160038                Gas           Gov. Aggregation
COH             197773590031                Gas           Gov. Aggregation   COH             150486310015                Gas           Gov. Aggregation
COH             197980220011                Gas           Gov. Aggregation   COH             146775700016                Gas           Gov. Aggregation
COH             198073620019                Gas           Gov. Aggregation   COH             118051870019                Gas           Gov. Aggregation
COH             198079170012                Gas           Gov. Aggregation   COH             118051200019                Gas           Gov. Aggregation
COH             198083920015                Gas           Gov. Aggregation   COH             117555830029                Gas           Gov. Aggregation
COH             198098720016                Gas           Gov. Aggregation   COH             131127000040                Gas           Gov. Aggregation
COH             198104630010                Gas           Gov. Aggregation   COH             133707010046                Gas           Gov. Aggregation
COH             198123260018                Gas           Gov. Aggregation   COH             118824740017                Gas           Gov. Aggregation
COH             198132600017                Gas           Gov. Aggregation   COH             191739140015                Gas           Gov. Aggregation
COH             198154640013                Gas           Gov. Aggregation   COH             199378070018                Gas           Gov. Aggregation
COH             198160220018                Gas           Gov. Aggregation   COH             192562550013                Gas           Gov. Aggregation
COH             198170090015                Gas           Gov. Aggregation   COH             196358150016                Gas           Gov. Aggregation
COH             198179820013                Gas           Gov. Aggregation   COH             196327980017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             198180250010                Gas           Gov. Aggregation   COH             196573600015                Gas           Gov. Aggregation
COH             198195470013                Gas           Gov. Aggregation   COH             195764380018                Gas           Gov. Aggregation
COH             198208860012                Gas           Gov. Aggregation   COH             195800870017                Gas           Gov. Aggregation
COH             198215460011                Gas           Gov. Aggregation   COH             195518650012                Gas           Gov. Aggregation
COH             198223720019                Gas           Gov. Aggregation   COH             141410780017                Gas           Gov. Aggregation
COH             198224690014                Gas           Gov. Aggregation   COH             141798520020                Gas           Gov. Aggregation
COH             198225520017                Gas           Gov. Aggregation   COH             151290260047                Gas           Gov. Aggregation
COH             198225680014                Gas           Gov. Aggregation   COH             150832690039                Gas           Gov. Aggregation
COH             198230520016                Gas           Gov. Aggregation   COH             166226270016                Gas           Gov. Aggregation
COH             198232400017                Gas           Gov. Aggregation   COH             157267670035                Gas           Gov. Aggregation
COH             198233750012                Gas           Gov. Aggregation   COH             142744610032                Gas           Gov. Aggregation
COH             198234760018                Gas           Gov. Aggregation   COH             142964730031                Gas           Gov. Aggregation
COH             198243570019                Gas           Gov. Aggregation   COH             154736840028                Gas           Gov. Aggregation
COH             198244690012                Gas           Gov. Aggregation   COH             149340640026                Gas           Gov. Aggregation
COH             198249640012                Gas           Gov. Aggregation   COH             155513750019                Gas           Gov. Aggregation
COH             198252980014                Gas           Gov. Aggregation   COH             188610280013                Gas           Gov. Aggregation
COH             198254020011                Gas           Gov. Aggregation   COH             162498350045                Gas           Gov. Aggregation
COH             198270930016                Gas           Gov. Aggregation   COH             192701020018                Gas           Gov. Aggregation
COH             198279830019                Gas           Gov. Aggregation   COH             159785330018                Gas           Gov. Aggregation
COH             198281780015                Gas           Gov. Aggregation   COH             160502810012                Gas           Gov. Aggregation
COH             198309630016                Gas           Gov. Aggregation   COH             156244520062                Gas           Gov. Aggregation
COH             198309810018                Gas           Gov. Aggregation   COH             150644870021                Gas           Gov. Aggregation
COH             198310860015                Gas           Gov. Aggregation   COH             150587060032                Gas           Gov. Aggregation
COH             198310950016                Gas           Gov. Aggregation   COH             160952420011                Gas           Gov. Aggregation
COH             198312140012                Gas           Gov. Aggregation   COH             159823840028                Gas           Gov. Aggregation
COH             198318480019                Gas           Gov. Aggregation   COH             160092760014                Gas           Gov. Aggregation
COH             198319720016                Gas           Gov. Aggregation   COH             162468720068                Gas           Gov. Aggregation
COH             198325000023                Gas           Gov. Aggregation   COH             161939960042                Gas           Gov. Aggregation
COH             198329880012                Gas           Gov. Aggregation   COH             161680950025                Gas           Gov. Aggregation
COH             198356420011                Gas           Gov. Aggregation   COH             187758360015                Gas           Gov. Aggregation
COH             198372960014                Gas           Gov. Aggregation   COH             186125940024                Gas           Gov. Aggregation
COH             111176040025                Gas           Gov. Aggregation   COH             186078640028                Gas           Gov. Aggregation
COH             193467660020                Gas           Gov. Aggregation   COH             172069410049                Gas           Gov. Aggregation
DEO             4500066641771               Gas           Gov. Aggregation   COH             174881470016                Gas           Gov. Aggregation
VEDO            4019453632452018            Gas           Gov. Aggregation   COH             163001360025                Gas           Gov. Aggregation
VEDO            4015767422107324            Gas           Gov. Aggregation   COH             163011180013                Gas           Gov. Aggregation
VEDO            4018589112521575            Gas           Gov. Aggregation   COH             163316850025                Gas           Gov. Aggregation
COH             122432960016                Gas           Gov. Aggregation   COH             163881370127                Gas           Gov. Aggregation
COH             197293140024                Gas           Gov. Aggregation   COH             165667600022                Gas           Gov. Aggregation
VEDO            4018493942494384            Gas           Gov. Aggregation   COH             166248260012                Gas           Gov. Aggregation
COH             191359200027                Gas           Gov. Aggregation   COH             166609700022                Gas           Gov. Aggregation
COH             109581290019                Gas           Gov. Aggregation   COH             195055190011                Gas           Gov. Aggregation
COH             109604800011                Gas           Gov. Aggregation   COH             195055200018                Gas           Gov. Aggregation
COH             109604820017                Gas           Gov. Aggregation   COH             154257560014                Gas           Gov. Aggregation
COH             150384970068                Gas           Gov. Aggregation   COH             155639250018                Gas           Gov. Aggregation
COH             109603030042                Gas           Gov. Aggregation   COH             151102130023                Gas           Gov. Aggregation
COH             109579520024                Gas           Gov. Aggregation   COH             150077730023                Gas           Gov. Aggregation
COH             170210470011                Gas           Gov. Aggregation   COH             161063490039                Gas           Gov. Aggregation
COH             191327560010                Gas           Gov. Aggregation   COH             173354930026                Gas           Gov. Aggregation
COH             109580750014                Gas           Gov. Aggregation   COH             173123710021                Gas           Gov. Aggregation
COH             159886400037                Gas           Gov. Aggregation   COH             190687090018                Gas           Gov. Aggregation
COH             174499870077                Gas           Gov. Aggregation   COH             193051900011                Gas           Gov. Aggregation
COH             190721790026                Gas           Gov. Aggregation   COH             177220900021                Gas           Gov. Aggregation
DEO             9500028138903               Gas           Gov. Aggregation   COH             185672410018                Gas           Gov. Aggregation
DEO             6500054485212               Gas           Gov. Aggregation   COH             176613200026                Gas           Gov. Aggregation
DEO             7500066688110               Gas           Gov. Aggregation   COH             167803850019                Gas           Gov. Aggregation
DEO             3500066863503               Gas           Gov. Aggregation   COH             170212500010                Gas           Gov. Aggregation
DEO             3500066672832               Gas           Gov. Aggregation   COH             119766470026                Gas           Gov. Aggregation
COH             122357910016                Gas           Gov. Aggregation   COH             155253520019                Gas           Gov. Aggregation
COH             122505290021                Gas           Gov. Aggregation   COH             157164700036                Gas           Gov. Aggregation
VEDO            4003901962390073            Gas           Gov. Aggregation   COH             148583930022                Gas           Gov. Aggregation
VEDO            4004704732237080            Gas           Gov. Aggregation   COH             199711580013                Gas           Gov. Aggregation
COH             118348610032                Gas           Gov. Aggregation   COH             195893870012                Gas           Gov. Aggregation
COH             121953290014                Gas           Gov. Aggregation   COH             195573620012                Gas           Gov. Aggregation
COH             122733710029                Gas           Gov. Aggregation   COH             185022700023                Gas           Gov. Aggregation
COH             123625580034                Gas           Gov. Aggregation   COH             175885230035                Gas           Gov. Aggregation
COH             123738830014                Gas           Gov. Aggregation   COH             172223890014                Gas           Gov. Aggregation
COH             129849110069                Gas           Gov. Aggregation   COH             119384760016                Gas           Gov. Aggregation
COH             138353700047                Gas           Gov. Aggregation   COH             144829460014                Gas           Gov. Aggregation
COH             140257010033                Gas           Gov. Aggregation   COH             199010730017                Gas           Gov. Aggregation
COH             141523240075                Gas           Gov. Aggregation   COH             117089390030                Gas           Gov. Aggregation
COH             142224070047                Gas           Gov. Aggregation   COH             169194350015                Gas           Gov. Aggregation
COH             144048620025                Gas           Gov. Aggregation   COH             159532900013                Gas           Gov. Aggregation
COH             146627000025                Gas           Gov. Aggregation   COH             163425640019                Gas           Gov. Aggregation
COH             149133260034                Gas           Gov. Aggregation   COH             162409640014                Gas           Gov. Aggregation
COH             150827790048                Gas           Gov. Aggregation   COH             199192880012                Gas           Gov. Aggregation
COH             152724650098                Gas           Gov. Aggregation   COH             199274820010                Gas           Gov. Aggregation
COH             153130640025                Gas           Gov. Aggregation   COH             195401630013                Gas           Gov. Aggregation
COH             153990700548                Gas           Gov. Aggregation   COH             195187560014                Gas           Gov. Aggregation
COH             157063910063                Gas           Gov. Aggregation   COH             199656690018                Gas           Gov. Aggregation
COH             157983030013                Gas           Gov. Aggregation   COH             150942630029                Gas           Gov. Aggregation
COH             158412753188                Gas           Gov. Aggregation   COH             132511000035                Gas           Gov. Aggregation
COH             158988990075                Gas           Gov. Aggregation   COH             118426010032                Gas           Gov. Aggregation
COH             163018810070                Gas           Gov. Aggregation   COH             171855880027                Gas           Gov. Aggregation
COH             164993670108                Gas           Gov. Aggregation   COH             194083780019                Gas           Gov. Aggregation
COH             165846140065                Gas           Gov. Aggregation   COH             196849960015                Gas           Gov. Aggregation
COH             168674190030                Gas           Gov. Aggregation   COH             199777630014                Gas           Gov. Aggregation
COH             171631710026                Gas           Gov. Aggregation   COH             199670730019                Gas           Gov. Aggregation
COH             172351410040                Gas           Gov. Aggregation   COH             159118450016                Gas           Gov. Aggregation
COH             172966840010                Gas           Gov. Aggregation   COH             160805420012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             173669710025                Gas           Gov. Aggregation   COH             162810080011                Gas           Gov. Aggregation
COH             176481180022                Gas           Gov. Aggregation   COH             173193320017                Gas           Gov. Aggregation
COH             177217450032                Gas           Gov. Aggregation   COH             172216890019                Gas           Gov. Aggregation
COH             185478390015                Gas           Gov. Aggregation   COH             175121350047                Gas           Gov. Aggregation
COH             185510980039                Gas           Gov. Aggregation   COH             131856650058                Gas           Gov. Aggregation
COH             186323060029                Gas           Gov. Aggregation   COH             147861160025                Gas           Gov. Aggregation
COH             187823440037                Gas           Gov. Aggregation   COH             144661800027                Gas           Gov. Aggregation
COH             187854070021                Gas           Gov. Aggregation   COH             193691360019                Gas           Gov. Aggregation
COH             190925540035                Gas           Gov. Aggregation   COH             197279070010                Gas           Gov. Aggregation
COH             192812750029                Gas           Gov. Aggregation   COH             195137540013                Gas           Gov. Aggregation
COH             193504960027                Gas           Gov. Aggregation   COH             195171270018                Gas           Gov. Aggregation
COH             194882680034                Gas           Gov. Aggregation   COH             196147970011                Gas           Gov. Aggregation
COH             195772350035                Gas           Gov. Aggregation   COH             194706060018                Gas           Gov. Aggregation
COH             196278690022                Gas           Gov. Aggregation   COH             161256080018                Gas           Gov. Aggregation
COH             197480910025                Gas           Gov. Aggregation   COH             159915450016                Gas           Gov. Aggregation
COH             197814900028                Gas           Gov. Aggregation   COH             164221600027                Gas           Gov. Aggregation
COH             198178540934                Gas           Gov. Aggregation   COH             163656260010                Gas           Gov. Aggregation
COH             198178541157                Gas           Gov. Aggregation   COH             175140250039                Gas           Gov. Aggregation
COH             198178541219                Gas           Gov. Aggregation   COH             177822270028                Gas           Gov. Aggregation
COH             198197230019                Gas           Gov. Aggregation   COH             190721400018                Gas           Gov. Aggregation
COH             198250160010                Gas           Gov. Aggregation   COH             188605310017                Gas           Gov. Aggregation
COH             198312700014                Gas           Gov. Aggregation   COH             192677340023                Gas           Gov. Aggregation
COH             198330000013                Gas           Gov. Aggregation   COH             146008840021                Gas           Gov. Aggregation
COH             198342730015                Gas           Gov. Aggregation   COH             137667300038                Gas           Gov. Aggregation
COH             198377370018                Gas           Gov. Aggregation   COH             117784870026                Gas           Gov. Aggregation
COH             198381880012                Gas           Gov. Aggregation   COH             132000600023                Gas           Gov. Aggregation
COH             198404920013                Gas           Gov. Aggregation   COH             136075730034                Gas           Gov. Aggregation
COH             198408500013                Gas           Gov. Aggregation   COH             159792910011                Gas           Gov. Aggregation
COH             198426790015                Gas           Gov. Aggregation   COH             199659770015                Gas           Gov. Aggregation
COH             198454990014                Gas           Gov. Aggregation   COH             195775930019                Gas           Gov. Aggregation
COH             198458740018                Gas           Gov. Aggregation   COH             195180360010                Gas           Gov. Aggregation
COH             198496770012                Gas           Gov. Aggregation   COH             198944470014                Gas           Gov. Aggregation
COH             198496920010                Gas           Gov. Aggregation   COH             142893560038                Gas           Gov. Aggregation
COH             198497440019                Gas           Gov. Aggregation   COH             140689820047                Gas           Gov. Aggregation
COH             198507400014                Gas           Gov. Aggregation   COH             151102190049                Gas           Gov. Aggregation
COH             198507600012                Gas           Gov. Aggregation   COH             198739370010                Gas           Gov. Aggregation
COH             198512510010                Gas           Gov. Aggregation   COH             198142610014                Gas           Gov. Aggregation
COH             198529190013                Gas           Gov. Aggregation   COH             196127430016                Gas           Gov. Aggregation
COH             198572280013                Gas           Gov. Aggregation   COH             175116390031                Gas           Gov. Aggregation
COH             198610610011                Gas           Gov. Aggregation   COH             174322760037                Gas           Gov. Aggregation
VEDO            4018583022535446            Gas           Gov. Aggregation   COH             154557860033                Gas           Gov. Aggregation
COH             188600180024                Gas           Gov. Aggregation   COH             153834480027                Gas           Gov. Aggregation
VEDO            4003480682345251            Gas           Gov. Aggregation   COH             153191890016                Gas           Gov. Aggregation
DEO             2500066983909               Gas           Gov. Aggregation   COH             196162160019                Gas           Gov. Aggregation
COH             191085250028                Gas           Gov. Aggregation   COH             196598100027                Gas           Gov. Aggregation
COH             197352140019                Gas           Gov. Aggregation   COH             193333570013                Gas           Gov. Aggregation
COH             109466640019                Gas           Gov. Aggregation   COH             195028240017                Gas           Gov. Aggregation
COH             109466660015                Gas           Gov. Aggregation   COH             176795100023                Gas           Gov. Aggregation
COH             198384340019                Gas           Gov. Aggregation   COH             175606110012                Gas           Gov. Aggregation
COH             146962910346                Gas           Gov. Aggregation   COH             175866470017                Gas           Gov. Aggregation
COH             198171970018                Gas           Gov. Aggregation   COH             186870230015                Gas           Gov. Aggregation
COH             191605470055                Gas           Gov. Aggregation   COH             172966580015                Gas           Gov. Aggregation
VEDO            4016757932303530            Gas           Gov. Aggregation   COH             119146000037                Gas           Gov. Aggregation
DEO             6500067178989               Gas           Gov. Aggregation   COH             118823150013                Gas           Gov. Aggregation
DEO             0500066951685               Gas           Gov. Aggregation   COH             118823260010                Gas           Gov. Aggregation
DEO             5421702742705               Gas           Gov. Aggregation   COH             118823340022                Gas           Gov. Aggregation
VEDO            4003294102586605            Gas           Gov. Aggregation   COH             132542120017                Gas           Gov. Aggregation
COH             134921940019                Gas           Gov. Aggregation   COH             135555800041                Gas           Gov. Aggregation
VEDO            4019481782116513            Gas           Gov. Aggregation   COH             118080790024                Gas           Gov. Aggregation
VEDO            4018894002601908            Gas           Gov. Aggregation   COH             118823900015                Gas           Gov. Aggregation
DEO             9500039179275               Gas           Gov. Aggregation   COH             118823910013                Gas           Gov. Aggregation
COH             115802880017                Gas           Gov. Aggregation   COH             188335110021                Gas           Gov. Aggregation
DEO             0422105227099               Gas           Gov. Aggregation   COH             194035030026                Gas           Gov. Aggregation
DEO             6500067249643               Gas           Gov. Aggregation   COH             131510440018                Gas           Gov. Aggregation
VEDO            4019483662386358            Gas           Gov. Aggregation   COH             170249160024                Gas           Gov. Aggregation
COH             111369220028                Gas           Gov. Aggregation   COH             152511510034                Gas           Gov. Aggregation
COH             111438600076                Gas           Gov. Aggregation   COH             152151360012                Gas           Gov. Aggregation
COH             118077630024                Gas           Gov. Aggregation   COH             152467030030                Gas           Gov. Aggregation
COH             123819670641                Gas           Gov. Aggregation   COH             119770810025                Gas           Gov. Aggregation
COH             124731060055                Gas           Gov. Aggregation   COH             160010210011                Gas           Gov. Aggregation
COH             136241820032                Gas           Gov. Aggregation   COH             144763480029                Gas           Gov. Aggregation
COH             137273770080                Gas           Gov. Aggregation   COH             136166820023                Gas           Gov. Aggregation
COH             139987270044                Gas           Gov. Aggregation   COH             152182460016                Gas           Gov. Aggregation
COH             155541720043                Gas           Gov. Aggregation   COH             120413600031                Gas           Gov. Aggregation
COH             158854470040                Gas           Gov. Aggregation   COH             199875260014                Gas           Gov. Aggregation
COH             160084740024                Gas           Gov. Aggregation   COH             197240150014                Gas           Gov. Aggregation
COH             161673140039                Gas           Gov. Aggregation   COH             197160460019                Gas           Gov. Aggregation
COH             163662630055                Gas           Gov. Aggregation   COH             176263530048                Gas           Gov. Aggregation
COH             163760900087                Gas           Gov. Aggregation   COH             177436490012                Gas           Gov. Aggregation
COH             166468120042                Gas           Gov. Aggregation   COH             118102660032                Gas           Gov. Aggregation
COH             170580440023                Gas           Gov. Aggregation   COH             118934920025                Gas           Gov. Aggregation
COH             174553670046                Gas           Gov. Aggregation   COH             118918950023                Gas           Gov. Aggregation
COH             176320240038                Gas           Gov. Aggregation   COH             119018130022                Gas           Gov. Aggregation
COH             177753750024                Gas           Gov. Aggregation   COH             146898080017                Gas           Gov. Aggregation
COH             185713120011                Gas           Gov. Aggregation   COH             146817300010                Gas           Gov. Aggregation
COH             187118080010                Gas           Gov. Aggregation   COH             151569690019                Gas           Gov. Aggregation
COH             187890410050                Gas           Gov. Aggregation   COH             150254130014                Gas           Gov. Aggregation
COH             189493470058                Gas           Gov. Aggregation   COH             155296330019                Gas           Gov. Aggregation
COH             190457020046                Gas           Gov. Aggregation   COH             175740530029                Gas           Gov. Aggregation
COH             191283200046                Gas           Gov. Aggregation   COH             175605670017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             191776170020                Gas           Gov. Aggregation   COH             192481940013                Gas           Gov. Aggregation
COH             191784510021                Gas           Gov. Aggregation   COH             194459860024                Gas           Gov. Aggregation
COH             192524620063                Gas           Gov. Aggregation   COH             195591100013                Gas           Gov. Aggregation
COH             193333720020                Gas           Gov. Aggregation   COH             197874000012                Gas           Gov. Aggregation
COH             194095230019                Gas           Gov. Aggregation   COH             118651740041                Gas           Gov. Aggregation
COH             194635310025                Gas           Gov. Aggregation   COH             117596070023                Gas           Gov. Aggregation
COH             195051930040                Gas           Gov. Aggregation   COH             199901120016                Gas           Gov. Aggregation
COH             196209150020                Gas           Gov. Aggregation   COH             186979160010                Gas           Gov. Aggregation
COH             196405490023                Gas           Gov. Aggregation   COH             195076470018                Gas           Gov. Aggregation
COH             196754650011                Gas           Gov. Aggregation   COH             195979300019                Gas           Gov. Aggregation
COH             197359870021                Gas           Gov. Aggregation   COH             177070470012                Gas           Gov. Aggregation
COH             197912060036                Gas           Gov. Aggregation   COH             199281320010                Gas           Gov. Aggregation
COH             198099450039                Gas           Gov. Aggregation   COH             156471050042                Gas           Gov. Aggregation
COH             198242570011                Gas           Gov. Aggregation   COH             173101270039                Gas           Gov. Aggregation
COH             198466250014                Gas           Gov. Aggregation   COH             126939350025                Gas           Gov. Aggregation
COH             198485070012                Gas           Gov. Aggregation   COH             192468210014                Gas           Gov. Aggregation
COH             198496370016                Gas           Gov. Aggregation   COH             191632610012                Gas           Gov. Aggregation
COH             198496500018                Gas           Gov. Aggregation   COH             192859860019                Gas           Gov. Aggregation
COH             198496590010                Gas           Gov. Aggregation   COH             163426860057                Gas           Gov. Aggregation
COH             198500720011                Gas           Gov. Aggregation   COH             163851920017                Gas           Gov. Aggregation
COH             198515510014                Gas           Gov. Aggregation   COH             160390660068                Gas           Gov. Aggregation
COH             198519490011                Gas           Gov. Aggregation   COH             160653180016                Gas           Gov. Aggregation
COH             198535900010                Gas           Gov. Aggregation   COH             160307950035                Gas           Gov. Aggregation
COH             198539500016                Gas           Gov. Aggregation   COH             160074410033                Gas           Gov. Aggregation
COH             198552240013                Gas           Gov. Aggregation   COH             160972220011                Gas           Gov. Aggregation
COH             198579430017                Gas           Gov. Aggregation   COH             174562450016                Gas           Gov. Aggregation
COH             198584130019                Gas           Gov. Aggregation   COH             167658810016                Gas           Gov. Aggregation
COH             198585380015                Gas           Gov. Aggregation   COH             157488450015                Gas           Gov. Aggregation
COH             198585450010                Gas           Gov. Aggregation   COH             157794620065                Gas           Gov. Aggregation
COH             198586290012                Gas           Gov. Aggregation   COH             197480960016                Gas           Gov. Aggregation
COH             198586320015                Gas           Gov. Aggregation   COH             118233190025                Gas           Gov. Aggregation
COH             198589390015                Gas           Gov. Aggregation   COH             131793560024                Gas           Gov. Aggregation
COH             198599360010                Gas           Gov. Aggregation   COH             152347400018                Gas           Gov. Aggregation
COH             198615690015                Gas           Gov. Aggregation   COH             151041700014                Gas           Gov. Aggregation
COH             198616980012                Gas           Gov. Aggregation   COH             156150000033                Gas           Gov. Aggregation
COH             198617540012                Gas           Gov. Aggregation   COH             153168400017                Gas           Gov. Aggregation
COH             198643710011                Gas           Gov. Aggregation   COH             153988190014                Gas           Gov. Aggregation
COH             198656920010                Gas           Gov. Aggregation   COH             155086400037                Gas           Gov. Aggregation
COH             198658480019                Gas           Gov. Aggregation   COH             197765360018                Gas           Gov. Aggregation
COH             198716150014                Gas           Gov. Aggregation   COH             169696810041                Gas           Gov. Aggregation
COH             198719780016                Gas           Gov. Aggregation   COH             116671510030                Gas           Gov. Aggregation
COH             198746200010                Gas           Gov. Aggregation   COH             146748190020                Gas           Gov. Aggregation
VEDO            4002833582630341            Gas           Gov. Aggregation   COH             117999040034                Gas           Gov. Aggregation
COH             197814950019                Gas           Gov. Aggregation   COH             190849980017                Gas           Gov. Aggregation
VEDO            4018025692483598            Gas           Gov. Aggregation   COH             131485440031                Gas           Gov. Aggregation
VEDO            4019493812406256            Gas           Gov. Aggregation   COH             187130850021                Gas           Gov. Aggregation
VEDO            4004457822357987            Gas           Gov. Aggregation   COH             135330070050                Gas           Gov. Aggregation
COH             108731080015                Gas           Gov. Aggregation   COH             166940650012                Gas           Gov. Aggregation
VEDO            4002138242648045            Gas           Gov. Aggregation   COH             165326830017                Gas           Gov. Aggregation
COH             189453140015                Gas           Gov. Aggregation   COH             166190670028                Gas           Gov. Aggregation
COH             108789710011                Gas           Gov. Aggregation   COH             172902160017                Gas           Gov. Aggregation
COH             124587080012                Gas           Gov. Aggregation   COH             172583850010                Gas           Gov. Aggregation
VEDO            4001642262160545            Gas           Gov. Aggregation   COH             172468630029                Gas           Gov. Aggregation
COH             148774290013                Gas           Gov. Aggregation   COH             162194770014                Gas           Gov. Aggregation
COH             153020420097                Gas           Gov. Aggregation   COH             177746160023                Gas           Gov. Aggregation
COH             156698330089                Gas           Gov. Aggregation   COH             187106550025                Gas           Gov. Aggregation
COH             187590290034                Gas           Gov. Aggregation   COH             118330020042                Gas           Gov. Aggregation
COH             187340840037                Gas           Gov. Aggregation   COH             135210740026                Gas           Gov. Aggregation
COH             196669020014                Gas           Gov. Aggregation   COH             199698380015                Gas           Gov. Aggregation
COH             194882100017                Gas           Gov. Aggregation   COH             199794590017                Gas           Gov. Aggregation
COH             194189401540                Gas           Gov. Aggregation   COH             199786410011                Gas           Gov. Aggregation
COH             197932200016                Gas           Gov. Aggregation   COH             199802690017                Gas           Gov. Aggregation
COH             198068250027                Gas           Gov. Aggregation   COH             196448890010                Gas           Gov. Aggregation
COH             197899950011                Gas           Gov. Aggregation   COH             149139950019                Gas           Gov. Aggregation
COH             197667530010                Gas           Gov. Aggregation   COH             143208790021                Gas           Gov. Aggregation
COH             198522460010                Gas           Gov. Aggregation   COH             139530720028                Gas           Gov. Aggregation
COH             152911750045                Gas           Gov. Aggregation   COH             146822770011                Gas           Gov. Aggregation
COH             160589370120                Gas           Gov. Aggregation   COH             154313450017                Gas           Gov. Aggregation
COH             162417830026                Gas           Gov. Aggregation   COH             156125480027                Gas           Gov. Aggregation
COH             197060440024                Gas           Gov. Aggregation   COH             197996890018                Gas           Gov. Aggregation
COH             197028340014                Gas           Gov. Aggregation   COH             194720940013                Gas           Gov. Aggregation
COH             116961590039                Gas           Gov. Aggregation   COH             145085980030                Gas           Gov. Aggregation
COH             142849610101                Gas           Gov. Aggregation   COH             142496400024                Gas           Gov. Aggregation
COH             187119150022                Gas           Gov. Aggregation   COH             160732200013                Gas           Gov. Aggregation
COH             197755670014                Gas           Gov. Aggregation   COH             159199780017                Gas           Gov. Aggregation
COH             198865260016                Gas           Gov. Aggregation   COH             158882020018                Gas           Gov. Aggregation
COH             197843420019                Gas           Gov. Aggregation   COH             158397160036                Gas           Gov. Aggregation
COH             189715120022                Gas           Gov. Aggregation   COH             158449900011                Gas           Gov. Aggregation
COH             165410660041                Gas           Gov. Aggregation   COH             158635670042                Gas           Gov. Aggregation
COH             197045360014                Gas           Gov. Aggregation   COH             177380960021                Gas           Gov. Aggregation
COH             195086990045                Gas           Gov. Aggregation   COH             195024200013                Gas           Gov. Aggregation
COH             169809150030                Gas           Gov. Aggregation   COH             195869060013                Gas           Gov. Aggregation
COH             198642340011                Gas           Gov. Aggregation   COH             118329540037                Gas           Gov. Aggregation
COH             198671030015                Gas           Gov. Aggregation   COH             146535320014                Gas           Gov. Aggregation
COH             198889240010                Gas           Gov. Aggregation   COH             186739900021                Gas           Gov. Aggregation
COH             198369900013                Gas           Gov. Aggregation   COH             165567920018                Gas           Gov. Aggregation
COH             197023430015                Gas           Gov. Aggregation   COH             155175980028                Gas           Gov. Aggregation
COH             189049160027                Gas           Gov. Aggregation   COH             118825540017                Gas           Gov. Aggregation
COH             190993190036                Gas           Gov. Aggregation   COH             118825550015                Gas           Gov. Aggregation
COH             193777530020                Gas           Gov. Aggregation   COH             118825830016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             197508060015                Gas           Gov. Aggregation   COH             118002430032                Gas           Gov. Aggregation
COH             151438070034                Gas           Gov. Aggregation   COH             159557020016                Gas           Gov. Aggregation
COH             197517110015                Gas           Gov. Aggregation   COH             118264620038                Gas           Gov. Aggregation
COH             197702110012                Gas           Gov. Aggregation   COH             126851190025                Gas           Gov. Aggregation
COH             197667550016                Gas           Gov. Aggregation   COH             127006700036                Gas           Gov. Aggregation
COH             186437990014                Gas           Gov. Aggregation   COH             199741580010                Gas           Gov. Aggregation
COH             166265800012                Gas           Gov. Aggregation   COH             147588550023                Gas           Gov. Aggregation
COH             118131450026                Gas           Gov. Aggregation   COH             190688270027                Gas           Gov. Aggregation
COH             117299750039                Gas           Gov. Aggregation   COH             175692180035                Gas           Gov. Aggregation
COH             197667570012                Gas           Gov. Aggregation   COH             165304910016                Gas           Gov. Aggregation
COH             164931530036                Gas           Gov. Aggregation   COH             163108400011                Gas           Gov. Aggregation
COH             192131294035                Gas           Gov. Aggregation   COH             160209290014                Gas           Gov. Aggregation
COH             150637040039                Gas           Gov. Aggregation   COH             197587560014                Gas           Gov. Aggregation
COH             194189401193                Gas           Gov. Aggregation   COH             198399930014                Gas           Gov. Aggregation
COH             191591850038                Gas           Gov. Aggregation   COH             190434950030                Gas           Gov. Aggregation
COH             152850690057                Gas           Gov. Aggregation   COH             177450990017                Gas           Gov. Aggregation
COH             192941870012                Gas           Gov. Aggregation   COH             177396510031                Gas           Gov. Aggregation
COH             151917770013                Gas           Gov. Aggregation   COH             192671230028                Gas           Gov. Aggregation
COH             198643150019                Gas           Gov. Aggregation   COH             193078780011                Gas           Gov. Aggregation
COH             168449650030                Gas           Gov. Aggregation   COH             192131291127                Gas           Gov. Aggregation
COH             197608270019                Gas           Gov. Aggregation   COH             192131290422                Gas           Gov. Aggregation
COH             117183320043                Gas           Gov. Aggregation   COH             192131293116                Gas           Gov. Aggregation
COH             197981220037                Gas           Gov. Aggregation   COH             169946360018                Gas           Gov. Aggregation
COH             197897730011                Gas           Gov. Aggregation   COH             109748500038                Gas           Gov. Aggregation
COH             195993220025                Gas           Gov. Aggregation   COH             136238090051                Gas           Gov. Aggregation
COH             191285020022                Gas           Gov. Aggregation   COH             139145520027                Gas           Gov. Aggregation
COH             187021640026                Gas           Gov. Aggregation   COH             194199010015                Gas           Gov. Aggregation
COH             198337800011                Gas           Gov. Aggregation   COH             195614920020                Gas           Gov. Aggregation
COH             176985320024                Gas           Gov. Aggregation   COH             171010970019                Gas           Gov. Aggregation
COH             168530910050                Gas           Gov. Aggregation   COH             154868260012                Gas           Gov. Aggregation
COH             196379420042                Gas           Gov. Aggregation   COH             154188510020                Gas           Gov. Aggregation
COH             196820410010                Gas           Gov. Aggregation   COH             119963570036                Gas           Gov. Aggregation
COH             198608170019                Gas           Gov. Aggregation   COH             118071500041                Gas           Gov. Aggregation
COH             170895680026                Gas           Gov. Aggregation   COH             150016950034                Gas           Gov. Aggregation
COH             197381850019                Gas           Gov. Aggregation   COH             150571680026                Gas           Gov. Aggregation
COH             190520520028                Gas           Gov. Aggregation   COH             199427460011                Gas           Gov. Aggregation
COH             198617110012                Gas           Gov. Aggregation   COH             199219070014                Gas           Gov. Aggregation
COH             197496360019                Gas           Gov. Aggregation   COH             199650900015                Gas           Gov. Aggregation
COH             125747040037                Gas           Gov. Aggregation   COH             124394870024                Gas           Gov. Aggregation
COH             196928930013                Gas           Gov. Aggregation   COH             118232500021                Gas           Gov. Aggregation
COH             194302940037                Gas           Gov. Aggregation   COH             118224400029                Gas           Gov. Aggregation
COH             197843220011                Gas           Gov. Aggregation   COH             116798880035                Gas           Gov. Aggregation
COH             132395790065                Gas           Gov. Aggregation   COH             176930450031                Gas           Gov. Aggregation
COH             159524000073                Gas           Gov. Aggregation   COH             152540840034                Gas           Gov. Aggregation
COH             198506150037                Gas           Gov. Aggregation   COH             189533520015                Gas           Gov. Aggregation
COH             194270080037                Gas           Gov. Aggregation   COH             165011620081                Gas           Gov. Aggregation
COH             137356190013                Gas           Gov. Aggregation   COH             163021970025                Gas           Gov. Aggregation
COH             192131294919                Gas           Gov. Aggregation   COH             193665570010                Gas           Gov. Aggregation
COH             192131294339                Gas           Gov. Aggregation   COH             172696660011                Gas           Gov. Aggregation
COH             190793640035                Gas           Gov. Aggregation   COH             199579660018                Gas           Gov. Aggregation
COH             197814910017                Gas           Gov. Aggregation   COH             199568800011                Gas           Gov. Aggregation
COH             197414870014                Gas           Gov. Aggregation   COH             198796460011                Gas           Gov. Aggregation
VEDO            4001249292123448            Gas           Gov. Aggregation   COH             198591570030                Gas           Gov. Aggregation
VEDO            4019508212488668            Gas           Gov. Aggregation   COH             198593790012                Gas           Gov. Aggregation
VEDO            4003485442345704            Gas           Gov. Aggregation   COH             196398070019                Gas           Gov. Aggregation
VEDO            4019224582537307            Gas           Gov. Aggregation   COH             196175780012                Gas           Gov. Aggregation
VEDO            4003760792264304            Gas           Gov. Aggregation   COH             197423040028                Gas           Gov. Aggregation
COH             198328610010                Gas           Gov. Aggregation   COH             197397310019                Gas           Gov. Aggregation
COH             197986850017                Gas           Gov. Aggregation   COH             197143270015                Gas           Gov. Aggregation
COH             197152320015                Gas           Gov. Aggregation   COH             196804540017                Gas           Gov. Aggregation
COH             111228290013                Gas           Gov. Aggregation   COH             196842960019                Gas           Gov. Aggregation
COH             111233130024                Gas           Gov. Aggregation   COH             194954500029                Gas           Gov. Aggregation
COH             111272890014                Gas           Gov. Aggregation   COH             194613780023                Gas           Gov. Aggregation
COH             162337170052                Gas           Gov. Aggregation   COH             162876440053                Gas           Gov. Aggregation
COH             177686300030                Gas           Gov. Aggregation   COH             163990360020                Gas           Gov. Aggregation
COH             186017910029                Gas           Gov. Aggregation   COH             169031550026                Gas           Gov. Aggregation
COH             186504950037                Gas           Gov. Aggregation   COH             199843630013                Gas           Gov. Aggregation
COH             187934340024                Gas           Gov. Aggregation   COH             187229240020                Gas           Gov. Aggregation
COH             187934340033                Gas           Gov. Aggregation   COH             160442060054                Gas           Gov. Aggregation
COH             188263780051                Gas           Gov. Aggregation   COH             199661140012                Gas           Gov. Aggregation
COH             190344990042                Gas           Gov. Aggregation   COH             125089240022                Gas           Gov. Aggregation
COH             190822520028                Gas           Gov. Aggregation   COH             196362380019                Gas           Gov. Aggregation
COH             191807000028                Gas           Gov. Aggregation   COH             199066110010                Gas           Gov. Aggregation
COH             192632000028                Gas           Gov. Aggregation   COH             199522780012                Gas           Gov. Aggregation
COH             196626040038                Gas           Gov. Aggregation   COH             189714410050                Gas           Gov. Aggregation
COH             196894050011                Gas           Gov. Aggregation   COH             164895740021                Gas           Gov. Aggregation
COH             196966980013                Gas           Gov. Aggregation   COH             194968760026                Gas           Gov. Aggregation
COH             197306890019                Gas           Gov. Aggregation   COH             196110250019                Gas           Gov. Aggregation
COH             197313420012                Gas           Gov. Aggregation   COH             195729220015                Gas           Gov. Aggregation
COH             197328660011                Gas           Gov. Aggregation   COH             198520290010                Gas           Gov. Aggregation
COH             197435770011                Gas           Gov. Aggregation   COH             199461730012                Gas           Gov. Aggregation
COH             197939170019                Gas           Gov. Aggregation   COH             199240830019                Gas           Gov. Aggregation
COH             198359200011                Gas           Gov. Aggregation   COH             199204060017                Gas           Gov. Aggregation
COH             198724600012                Gas           Gov. Aggregation   COH             170340880029                Gas           Gov. Aggregation
COH             198758800019                Gas           Gov. Aggregation   COH             167919040023                Gas           Gov. Aggregation
COH             198904920013                Gas           Gov. Aggregation   COH             191802630035                Gas           Gov. Aggregation
VEDO            4019289362646125            Gas           Gov. Aggregation   COH             189563850022                Gas           Gov. Aggregation
COH             197420950014                Gas           Gov. Aggregation   COH             175485800015                Gas           Gov. Aggregation
COH             111234070105                Gas           Gov. Aggregation   COH             199030080012                Gas           Gov. Aggregation
COH             197176410016                Gas           Gov. Aggregation   COH             147629890024                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             197338450014                Gas           Gov. Aggregation   COH             198702400010                Gas           Gov. Aggregation
COH             199006280011                Gas           Gov. Aggregation   COH             199461590012                Gas           Gov. Aggregation
COH             199033110019                Gas           Gov. Aggregation   COH             197655410010                Gas           Gov. Aggregation
DUKE            2380009140                  Gas           Gov. Aggregation   COH             160094720018                Gas           Gov. Aggregation
COH             196109140015                Gas           Gov. Aggregation   COH             145047980030                Gas           Gov. Aggregation
COH             134062770017                Gas           Gov. Aggregation   COH             193052650021                Gas           Gov. Aggregation
COH             173581990023                Gas           Gov. Aggregation   COH             124405950013                Gas           Gov. Aggregation
COH             111177390011                Gas           Gov. Aggregation   COH             146301250014                Gas           Gov. Aggregation
COH             199013140015                Gas           Gov. Aggregation   COH             197707430015                Gas           Gov. Aggregation
COH             198330220017                Gas           Gov. Aggregation   COH             197611830014                Gas           Gov. Aggregation
COH             197587990014                Gas           Gov. Aggregation   COH             141749490011                Gas           Gov. Aggregation
COH             197290340019                Gas           Gov. Aggregation   COH             133875910033                Gas           Gov. Aggregation
COH             111185780012                Gas           Gov. Aggregation   COH             198470370029                Gas           Gov. Aggregation
COH             155038550019                Gas           Gov. Aggregation   COH             199457910013                Gas           Gov. Aggregation
COH             111143590010                Gas           Gov. Aggregation   COH             124508580031                Gas           Gov. Aggregation
COH             197395150017                Gas           Gov. Aggregation   COH             159331090029                Gas           Gov. Aggregation
COH             197722960012                Gas           Gov. Aggregation   COH             154931720029                Gas           Gov. Aggregation
COH             198169990019                Gas           Gov. Aggregation   COH             196884450018                Gas           Gov. Aggregation
COH             198496780010                Gas           Gov. Aggregation   COH             196896480017                Gas           Gov. Aggregation
COH             198678200015                Gas           Gov. Aggregation   COH             196853550012                Gas           Gov. Aggregation
COH             198765640018                Gas           Gov. Aggregation   COH             198395040019                Gas           Gov. Aggregation
COH             197461360012                Gas           Gov. Aggregation   COH             199402660011                Gas           Gov. Aggregation
COH             194123540022                Gas           Gov. Aggregation   COH             199088250015                Gas           Gov. Aggregation
COH             197184840019                Gas           Gov. Aggregation   COH             196535710012                Gas           Gov. Aggregation
COH             198598150034                Gas           Gov. Aggregation   COH             196535720010                Gas           Gov. Aggregation
COH             195801130010                Gas           Gov. Aggregation   COH             174786150015                Gas           Gov. Aggregation
COH             197446920016                Gas           Gov. Aggregation   COH             190361780022                Gas           Gov. Aggregation
COH             199054300015                Gas           Gov. Aggregation   COH             197799470014                Gas           Gov. Aggregation
COH             197747070017                Gas           Gov. Aggregation   COH             199196100017                Gas           Gov. Aggregation
COH             197815630014                Gas           Gov. Aggregation   COH             159740420013                Gas           Gov. Aggregation
COH             197439130017                Gas           Gov. Aggregation   COH             173498110015                Gas           Gov. Aggregation
COH             197844100014                Gas           Gov. Aggregation   COH             155080320027                Gas           Gov. Aggregation
COH             174986590019                Gas           Gov. Aggregation   COH             197474970017                Gas           Gov. Aggregation
COH             196314020015                Gas           Gov. Aggregation   COH             131497720028                Gas           Gov. Aggregation
COH             196561020012                Gas           Gov. Aggregation   COH             199390910015                Gas           Gov. Aggregation
COH             197147560016                Gas           Gov. Aggregation   COH             199499840010                Gas           Gov. Aggregation
COH             197704840015                Gas           Gov. Aggregation   COH             198992780018                Gas           Gov. Aggregation
COH             197722940016                Gas           Gov. Aggregation   COH             159537070027                Gas           Gov. Aggregation
COH             197421780018                Gas           Gov. Aggregation   COH             196683680016                Gas           Gov. Aggregation
COH             172999120021                Gas           Gov. Aggregation   COH             197854950015                Gas           Gov. Aggregation
COH             197139560013                Gas           Gov. Aggregation   COH             199415190013                Gas           Gov. Aggregation
COH             196794000013                Gas           Gov. Aggregation   COH             160895000020                Gas           Gov. Aggregation
COH             197002350016                Gas           Gov. Aggregation   COH             133693620012                Gas           Gov. Aggregation
COH             198599430015                Gas           Gov. Aggregation   COH             124507930011                Gas           Gov. Aggregation
COH             117101560027                Gas           Gov. Aggregation   COH             135231210032                Gas           Gov. Aggregation
COH             124587820016                Gas           Gov. Aggregation   COH             173665860031                Gas           Gov. Aggregation
COH             114976560018                Gas           Gov. Aggregation   COH             157477920037                Gas           Gov. Aggregation
COH             138909410012                Gas           Gov. Aggregation   COH             199181310014                Gas           Gov. Aggregation
COH             141487960018                Gas           Gov. Aggregation   COH             157367250013                Gas           Gov. Aggregation
COH             198780700013                Gas           Gov. Aggregation   COH             195959540011                Gas           Gov. Aggregation
COH             152227210021                Gas           Gov. Aggregation   COH             124334160029                Gas           Gov. Aggregation
COH             111096720013                Gas           Gov. Aggregation   COH             197344820013                Gas           Gov. Aggregation
COH             175533870054                Gas           Gov. Aggregation   COH             144889050014                Gas           Gov. Aggregation
COH             189944880019                Gas           Gov. Aggregation   COH             125431620025                Gas           Gov. Aggregation
COH             194828560015                Gas           Gov. Aggregation   COH             198397850015                Gas           Gov. Aggregation
COH             191077440016                Gas           Gov. Aggregation   COH             195462950018                Gas           Gov. Aggregation
COH             191271000016                Gas           Gov. Aggregation   COH             152617560030                Gas           Gov. Aggregation
COH             185501440022                Gas           Gov. Aggregation   COH             134471760012                Gas           Gov. Aggregation
COH             190317280020                Gas           Gov. Aggregation   COH             124521020012                Gas           Gov. Aggregation
COH             196573910010                Gas           Gov. Aggregation   COH             129225450113                Gas           Gov. Aggregation
COH             154701220012                Gas           Gov. Aggregation   COH             198992740016                Gas           Gov. Aggregation
COH             188956500032                Gas           Gov. Aggregation   COH             196422830025                Gas           Gov. Aggregation
COH             132990980018                Gas           Gov. Aggregation   COH             170029720031                Gas           Gov. Aggregation
COH             191412760017                Gas           Gov. Aggregation   COH             198182590015                Gas           Gov. Aggregation
COH             157855420012                Gas           Gov. Aggregation   COH             170762720028                Gas           Gov. Aggregation
COH             152518020015                Gas           Gov. Aggregation   COH             193561760038                Gas           Gov. Aggregation
COH             155335760033                Gas           Gov. Aggregation   COH             197263150016                Gas           Gov. Aggregation
COH             198453870011                Gas           Gov. Aggregation   COH             195575440025                Gas           Gov. Aggregation
COH             198629540017                Gas           Gov. Aggregation   COH             198010070017                Gas           Gov. Aggregation
COH             115840940014                Gas           Gov. Aggregation   COH             198497570012                Gas           Gov. Aggregation
COH             115858980028                Gas           Gov. Aggregation   COH             198406300019                Gas           Gov. Aggregation
COH             187764540014                Gas           Gov. Aggregation   COH             176703680034                Gas           Gov. Aggregation
COH             115849280015                Gas           Gov. Aggregation   COH             167107680039                Gas           Gov. Aggregation
COH             132743760026                Gas           Gov. Aggregation   COH             198426670010                Gas           Gov. Aggregation
COH             139603010022                Gas           Gov. Aggregation   COH             131051010030                Gas           Gov. Aggregation
COH             146577900050                Gas           Gov. Aggregation   COH             195943330018                Gas           Gov. Aggregation
COH             194400750011                Gas           Gov. Aggregation   COH             169828100030                Gas           Gov. Aggregation
COH             168176200015                Gas           Gov. Aggregation   COH             199430170015                Gas           Gov. Aggregation
COH             115850430010                Gas           Gov. Aggregation   COH             143546270015                Gas           Gov. Aggregation
COH             115850450016                Gas           Gov. Aggregation   COH             199299870018                Gas           Gov. Aggregation
COH             136388890029                Gas           Gov. Aggregation   COH             198017290017                Gas           Gov. Aggregation
COH             196861510013                Gas           Gov. Aggregation   COH             124730320025                Gas           Gov. Aggregation
COH             198844640010                Gas           Gov. Aggregation   COH             124687320028                Gas           Gov. Aggregation
COH             148196600013                Gas           Gov. Aggregation   COH             199630590013                Gas           Gov. Aggregation
COH             160173260017                Gas           Gov. Aggregation   COH             196346780019                Gas           Gov. Aggregation
COH             115859470023                Gas           Gov. Aggregation   COH             176619230028                Gas           Gov. Aggregation
COH             194316540014                Gas           Gov. Aggregation   COH             173826600088                Gas           Gov. Aggregation
COH             192348450018                Gas           Gov. Aggregation   COH             199268670015                Gas           Gov. Aggregation
COH             197453530013                Gas           Gov. Aggregation   COH             197422910027                Gas           Gov. Aggregation
COH             177070990013                Gas           Gov. Aggregation   COH             171361200017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             169183950012                Gas           Gov. Aggregation   COH             196818210017                Gas           Gov. Aggregation
COH             169260390016                Gas           Gov. Aggregation   COH             174422260021                Gas           Gov. Aggregation
COH             190732770018                Gas           Gov. Aggregation   COH             175842230017                Gas           Gov. Aggregation
COH             194663400018                Gas           Gov. Aggregation   COH             197151090016                Gas           Gov. Aggregation
COH             198553520012                Gas           Gov. Aggregation   COH             196824400014                Gas           Gov. Aggregation
COH             138675090017                Gas           Gov. Aggregation   COH             124440060061                Gas           Gov. Aggregation
COH             140552360016                Gas           Gov. Aggregation   COH             197018610018                Gas           Gov. Aggregation
COH             143162420099                Gas           Gov. Aggregation   COH             196990320010                Gas           Gov. Aggregation
COH             143190670025                Gas           Gov. Aggregation   COH             198073520010                Gas           Gov. Aggregation
COH             141095380011                Gas           Gov. Aggregation   COH             199645840019                Gas           Gov. Aggregation
COH             115845360016                Gas           Gov. Aggregation   COH             170989620010                Gas           Gov. Aggregation
COH             149972620012                Gas           Gov. Aggregation   COH             167033070025                Gas           Gov. Aggregation
COH             174330430039                Gas           Gov. Aggregation   COH             186382130020                Gas           Gov. Aggregation
COH             196226430016                Gas           Gov. Aggregation   COH             171420690037                Gas           Gov. Aggregation
COH             190251180012                Gas           Gov. Aggregation   COH             163175480023                Gas           Gov. Aggregation
COH             185408540010                Gas           Gov. Aggregation   COH             157885830040                Gas           Gov. Aggregation
COH             146979300018                Gas           Gov. Aggregation   COH             196252590018                Gas           Gov. Aggregation
COH             144906710035                Gas           Gov. Aggregation   COH             124395240024                Gas           Gov. Aggregation
COH             162784720031                Gas           Gov. Aggregation   COH             199351490016                Gas           Gov. Aggregation
COH             156337900056                Gas           Gov. Aggregation   COH             199240900014                Gas           Gov. Aggregation
COH             115685290020                Gas           Gov. Aggregation   COH             196204850014                Gas           Gov. Aggregation
COH             149331500015                Gas           Gov. Aggregation   COH             197032060014                Gas           Gov. Aggregation
COH             188064910019                Gas           Gov. Aggregation   COH             199852680014                Gas           Gov. Aggregation
COH             115839560026                Gas           Gov. Aggregation   COH             176344620010                Gas           Gov. Aggregation
COH             115839680012                Gas           Gov. Aggregation   COH             191986070026                Gas           Gov. Aggregation
COH             139609000013                Gas           Gov. Aggregation   COH             168552210060                Gas           Gov. Aggregation
COH             115838760026                Gas           Gov. Aggregation   COH             199605230011                Gas           Gov. Aggregation
COH             173206970021                Gas           Gov. Aggregation   COH             190465360020                Gas           Gov. Aggregation
COH             144038990065                Gas           Gov. Aggregation   COH             196300590015                Gas           Gov. Aggregation
COH             185084470059                Gas           Gov. Aggregation   COH             196274710016                Gas           Gov. Aggregation
COH             115847080011                Gas           Gov. Aggregation   COH             173018610034                Gas           Gov. Aggregation
COH             157827140010                Gas           Gov. Aggregation   COH             199568840013                Gas           Gov. Aggregation
COH             196841140022                Gas           Gov. Aggregation   COH             196252700014                Gas           Gov. Aggregation
COH             197446460013                Gas           Gov. Aggregation   COH             195886690033                Gas           Gov. Aggregation
COH             188928920015                Gas           Gov. Aggregation   COH             124490730038                Gas           Gov. Aggregation
COH             171672460032                Gas           Gov. Aggregation   COH             195871690016                Gas           Gov. Aggregation
COH             171892640038                Gas           Gov. Aggregation   COH             197314180011                Gas           Gov. Aggregation
COH             172037320018                Gas           Gov. Aggregation   COH             150757380034                Gas           Gov. Aggregation
COH             167436380017                Gas           Gov. Aggregation   COH             197136920013                Gas           Gov. Aggregation
COH             197389200019                Gas           Gov. Aggregation   COH             197720100016                Gas           Gov. Aggregation
COH             198955150018                Gas           Gov. Aggregation   COH             196042120011                Gas           Gov. Aggregation
COH             152169200018                Gas           Gov. Aggregation   COH             199522760016                Gas           Gov. Aggregation
COH             153074340028                Gas           Gov. Aggregation   COH             197612000016                Gas           Gov. Aggregation
COH             115842280019                Gas           Gov. Aggregation   COH             198962020010                Gas           Gov. Aggregation
COH             158966630012                Gas           Gov. Aggregation   COH             199573110015                Gas           Gov. Aggregation
COH             150025020012                Gas           Gov. Aggregation   COH             197680630011                Gas           Gov. Aggregation
COH             131710490023                Gas           Gov. Aggregation   COH             198393010019                Gas           Gov. Aggregation
COH             128863190028                Gas           Gov. Aggregation   COH             173538570031                Gas           Gov. Aggregation
COH             115849240013                Gas           Gov. Aggregation   COH             193171330026                Gas           Gov. Aggregation
COH             131729110014                Gas           Gov. Aggregation   COH             197111900019                Gas           Gov. Aggregation
COH             115841250017                Gas           Gov. Aggregation   COH             124386400029                Gas           Gov. Aggregation
COH             135975670021                Gas           Gov. Aggregation   COH             169125380023                Gas           Gov. Aggregation
COH             132729570035                Gas           Gov. Aggregation   COH             195949170010                Gas           Gov. Aggregation
COH             115847900018                Gas           Gov. Aggregation   COH             196300600012                Gas           Gov. Aggregation
COH             115863060020                Gas           Gov. Aggregation   COH             124452350038                Gas           Gov. Aggregation
COH             143671470018                Gas           Gov. Aggregation   COH             161983210028                Gas           Gov. Aggregation
COH             145258470012                Gas           Gov. Aggregation   COH             161072080036                Gas           Gov. Aggregation
COH             196560090010                Gas           Gov. Aggregation   COH             155751020027                Gas           Gov. Aggregation
COH             133753470016                Gas           Gov. Aggregation   COH             163535350026                Gas           Gov. Aggregation
COH             150052400033                Gas           Gov. Aggregation   COH             177284660028                Gas           Gov. Aggregation
COH             170196680037                Gas           Gov. Aggregation   COH             177542850039                Gas           Gov. Aggregation
COH             160674500014                Gas           Gov. Aggregation   COH             174406210016                Gas           Gov. Aggregation
COH             137409770027                Gas           Gov. Aggregation   COH             186408410034                Gas           Gov. Aggregation
COH             115857060014                Gas           Gov. Aggregation   COH             186826780022                Gas           Gov. Aggregation
COH             115860900038                Gas           Gov. Aggregation   COH             199806360018                Gas           Gov. Aggregation
COH             115684190041                Gas           Gov. Aggregation   COH             199876300013                Gas           Gov. Aggregation
COH             139086760014                Gas           Gov. Aggregation   COH             195264860026                Gas           Gov. Aggregation
COH             134454510038                Gas           Gov. Aggregation   COH             191103010028                Gas           Gov. Aggregation
COH             173345460015                Gas           Gov. Aggregation   COH             198281960017                Gas           Gov. Aggregation
COH             176327730059                Gas           Gov. Aggregation   COH             198294710012                Gas           Gov. Aggregation
COH             173250210027                Gas           Gov. Aggregation   COH             199713450016                Gas           Gov. Aggregation
COH             163910180035                Gas           Gov. Aggregation   COH             163524170027                Gas           Gov. Aggregation
COH             167676450032                Gas           Gov. Aggregation   COH             144886640070                Gas           Gov. Aggregation
COH             175885060013                Gas           Gov. Aggregation   COH             130679040026                Gas           Gov. Aggregation
COH             177247270019                Gas           Gov. Aggregation   COH             148459000039                Gas           Gov. Aggregation
COH             115857700019                Gas           Gov. Aggregation   COH             197518060014                Gas           Gov. Aggregation
COH             139702670024                Gas           Gov. Aggregation   COH             194305390028                Gas           Gov. Aggregation
COH             193136200018                Gas           Gov. Aggregation   COH             199336750013                Gas           Gov. Aggregation
COH             193009560012                Gas           Gov. Aggregation   COH             176460830029                Gas           Gov. Aggregation
COH             155684460037                Gas           Gov. Aggregation   COH             160594980023                Gas           Gov. Aggregation
COH             162183240018                Gas           Gov. Aggregation   COH             197780930016                Gas           Gov. Aggregation
COH             115631010021                Gas           Gov. Aggregation   COH             198409470018                Gas           Gov. Aggregation
COH             172583310022                Gas           Gov. Aggregation   COH             195729230013                Gas           Gov. Aggregation
COH             172024660014                Gas           Gov. Aggregation   COH             186790210037                Gas           Gov. Aggregation
COH             136777810039                Gas           Gov. Aggregation   COH             174855470039                Gas           Gov. Aggregation
COH             197790410014                Gas           Gov. Aggregation   COH             198992790016                Gas           Gov. Aggregation
COH             115864600015                Gas           Gov. Aggregation   COH             199402600013                Gas           Gov. Aggregation
COH             197298800016                Gas           Gov. Aggregation   COH             130011360032                Gas           Gov. Aggregation
COH             156848240249                Gas           Gov. Aggregation   COH             198858230017                Gas           Gov. Aggregation
COH             137958010032                Gas           Gov. Aggregation   COH             199415420014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             199025710010                Gas           Gov. Aggregation   COH             199098910015                Gas           Gov. Aggregation
COH             115847380027                Gas           Gov. Aggregation   COH             190729220038                Gas           Gov. Aggregation
COH             192176650011                Gas           Gov. Aggregation   COH             166769920028                Gas           Gov. Aggregation
COH             147721010031                Gas           Gov. Aggregation   COH             191060400028                Gas           Gov. Aggregation
COH             197667120016                Gas           Gov. Aggregation   COH             197291710019                Gas           Gov. Aggregation
COH             140178980010                Gas           Gov. Aggregation   COH             198562170017                Gas           Gov. Aggregation
COH             115862230017                Gas           Gov. Aggregation   COH             136090960016                Gas           Gov. Aggregation
COH             155578850030                Gas           Gov. Aggregation   COH             190577570029                Gas           Gov. Aggregation
COH             196320890010                Gas           Gov. Aggregation   COH             190100570028                Gas           Gov. Aggregation
COH             191404690019                Gas           Gov. Aggregation   COH             197649780016                Gas           Gov. Aggregation
COH             198553510014                Gas           Gov. Aggregation   COH             199743140018                Gas           Gov. Aggregation
COH             198642800014                Gas           Gov. Aggregation   COH             195644480011                Gas           Gov. Aggregation
COH             172690270015                Gas           Gov. Aggregation   COH             125392760048                Gas           Gov. Aggregation
COH             177094590026                Gas           Gov. Aggregation   COH             196896440015                Gas           Gov. Aggregation
COH             193986200017                Gas           Gov. Aggregation   COH             198388270016                Gas           Gov. Aggregation
COH             198104220016                Gas           Gov. Aggregation   COH             190833890028                Gas           Gov. Aggregation
COH             175116150013                Gas           Gov. Aggregation   COH             160255730014                Gas           Gov. Aggregation
COH             158555580014                Gas           Gov. Aggregation   COH             191211190022                Gas           Gov. Aggregation
COH             141118490027                Gas           Gov. Aggregation   COH             196264420018                Gas           Gov. Aggregation
COH             139882340014                Gas           Gov. Aggregation   COH             195546120014                Gas           Gov. Aggregation
COH             138687920017                Gas           Gov. Aggregation   COH             145240170012                Gas           Gov. Aggregation
COH             135529210031                Gas           Gov. Aggregation   COH             199078870016                Gas           Gov. Aggregation
COH             143559170028                Gas           Gov. Aggregation   COH             198182610010                Gas           Gov. Aggregation
COH             139609050013                Gas           Gov. Aggregation   COH             199363620013                Gas           Gov. Aggregation
COH             115854360017                Gas           Gov. Aggregation   COH             198716120010                Gas           Gov. Aggregation
COH             188388960068                Gas           Gov. Aggregation   COH             163023380025                Gas           Gov. Aggregation
COH             190020100017                Gas           Gov. Aggregation   COH             161443500030                Gas           Gov. Aggregation
COH             196691630019                Gas           Gov. Aggregation   COH             195882360012                Gas           Gov. Aggregation
COH             171612080029                Gas           Gov. Aggregation   COH             195575740013                Gas           Gov. Aggregation
COH             169884110012                Gas           Gov. Aggregation   COH             198310270019                Gas           Gov. Aggregation
COH             168769240029                Gas           Gov. Aggregation   COH             197498000010                Gas           Gov. Aggregation
COH             171049340056                Gas           Gov. Aggregation   COH             198189280016                Gas           Gov. Aggregation
COH             170492510016                Gas           Gov. Aggregation   COH             199884670019                Gas           Gov. Aggregation
COH             167438990015                Gas           Gov. Aggregation   COH             197967460019                Gas           Gov. Aggregation
COH             146705120015                Gas           Gov. Aggregation   COH             197718860012                Gas           Gov. Aggregation
COH             198765460016                Gas           Gov. Aggregation   COH             127339420012                Gas           Gov. Aggregation
COH             198910360018                Gas           Gov. Aggregation   COH             162289450056                Gas           Gov. Aggregation
COH             199023470015                Gas           Gov. Aggregation   COH             124373520030                Gas           Gov. Aggregation
COH             190764700015                Gas           Gov. Aggregation   COH             164947240034                Gas           Gov. Aggregation
COH             185327730030                Gas           Gov. Aggregation   COH             198841250018                Gas           Gov. Aggregation
COH             141373740015                Gas           Gov. Aggregation   COH             155912280030                Gas           Gov. Aggregation
COH             175809430015                Gas           Gov. Aggregation   COH             197911940015                Gas           Gov. Aggregation
COH             195603940010                Gas           Gov. Aggregation   COH             199568760010                Gas           Gov. Aggregation
COH             193009580018                Gas           Gov. Aggregation   COH             198851490017                Gas           Gov. Aggregation
COH             193305070017                Gas           Gov. Aggregation   COH             197688210013                Gas           Gov. Aggregation
COH             196327500017                Gas           Gov. Aggregation   COH             196389620012                Gas           Gov. Aggregation
COH             196861520011                Gas           Gov. Aggregation   COH             197103020011                Gas           Gov. Aggregation
COH             171638400018                Gas           Gov. Aggregation   COH             196358580016                Gas           Gov. Aggregation
COH             185699370039                Gas           Gov. Aggregation   COH             174268540020                Gas           Gov. Aggregation
COH             185282890024                Gas           Gov. Aggregation   COH             199487580010                Gas           Gov. Aggregation
COH             150117290048                Gas           Gov. Aggregation   COH             196698140018                Gas           Gov. Aggregation
DEO             4180000339968               Gas           Gov. Aggregation   COH             192976910029                Gas           Gov. Aggregation
VEDO            4001817812177394            Gas           Gov. Aggregation   COH             193237430025                Gas           Gov. Aggregation
COH             199158130011                Gas           Gov. Aggregation   COH             174715030028                Gas           Gov. Aggregation
COH             109858280041                Gas           Gov. Aggregation   COH             124491990023                Gas           Gov. Aggregation
COH             109858480012                Gas           Gov. Aggregation   COH             192845970033                Gas           Gov. Aggregation
COH             109858720128                Gas           Gov. Aggregation   COH             192542510022                Gas           Gov. Aggregation
COH             109882170016                Gas           Gov. Aggregation   COH             195803120027                Gas           Gov. Aggregation
COH             148650990018                Gas           Gov. Aggregation   COH             196054200019                Gas           Gov. Aggregation
COH             151248670086                Gas           Gov. Aggregation   COH             199731280014                Gas           Gov. Aggregation
COH             164225370055                Gas           Gov. Aggregation   COH             197756960011                Gas           Gov. Aggregation
COH             187143350038                Gas           Gov. Aggregation   COH             167779980015                Gas           Gov. Aggregation
COH             194842200010                Gas           Gov. Aggregation   COH             196553710014                Gas           Gov. Aggregation
COH             194883220010                Gas           Gov. Aggregation   COH             172673530034                Gas           Gov. Aggregation
COH             195584580063                Gas           Gov. Aggregation   COH             195252360026                Gas           Gov. Aggregation
COH             197951080012                Gas           Gov. Aggregation   COH             140791000033                Gas           Gov. Aggregation
COH             198083410012                Gas           Gov. Aggregation   COH             190166580028                Gas           Gov. Aggregation
COH             198298470015                Gas           Gov. Aggregation   COH             167652360022                Gas           Gov. Aggregation
COH             198779930018                Gas           Gov. Aggregation   COH             199013780011                Gas           Gov. Aggregation
COH             198917250017                Gas           Gov. Aggregation   COH             199122850015                Gas           Gov. Aggregation
COH             199055170011                Gas           Gov. Aggregation   COH             199138780017                Gas           Gov. Aggregation
COH             199201340014                Gas           Gov. Aggregation   COH             199219610010                Gas           Gov. Aggregation
COH             188265720031                Gas           Gov. Aggregation   COH             199443450019                Gas           Gov. Aggregation
DEO             2180000652673               Gas           Gov. Aggregation   COH             199636670014                Gas           Gov. Aggregation
DEO             9180000483272               Gas           Gov. Aggregation   COH             197983180014                Gas           Gov. Aggregation
DEO             2180000581510               Gas           Gov. Aggregation   COH             197875310015                Gas           Gov. Aggregation
DEO             9180000671885               Gas           Gov. Aggregation   COH             175108690062                Gas           Gov. Aggregation
DEO             8180000837268               Gas           Gov. Aggregation   COH             198041070012                Gas           Gov. Aggregation
DEO             6180000857590               Gas           Gov. Aggregation   COH             198010170025                Gas           Gov. Aggregation
DEO             9180000835141               Gas           Gov. Aggregation   COH             124375610028                Gas           Gov. Aggregation
VEDO            4001091302108690            Gas           Gov. Aggregation   COH             198292380016                Gas           Gov. Aggregation
DEO             9180000799426               Gas           Gov. Aggregation   COH             197411100011                Gas           Gov. Aggregation
DEO             3180000801962               Gas           Gov. Aggregation   COH             197219000010                Gas           Gov. Aggregation
DEO             5180000861439               Gas           Gov. Aggregation   COH             162041650012                Gas           Gov. Aggregation
DEO             9180001036383               Gas           Gov. Aggregation   COH             199024300018                Gas           Gov. Aggregation
COH             194150170023                Gas           Gov. Aggregation   COH             189337960028                Gas           Gov. Aggregation
COH             194496540023                Gas           Gov. Aggregation   COH             149834490012                Gas           Gov. Aggregation
COH             191530530024                Gas           Gov. Aggregation   COH             190365320011                Gas           Gov. Aggregation
COH             122477250011                Gas           Gov. Aggregation   COH             175108870064                Gas           Gov. Aggregation
DEO             0180000962682               Gas           Gov. Aggregation   COH             196118450011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4001229812121668            Gas           Gov. Aggregation   COH             153567320036                Gas           Gov. Aggregation
COH             137352010018                Gas           Gov. Aggregation   COH             193912410018                Gas           Gov. Aggregation
COH             199697020012                Gas           Gov. Aggregation   COH             199728510012                Gas           Gov. Aggregation
COH             192256150025                Gas           Gov. Aggregation   COH             197655430016                Gas           Gov. Aggregation
COH             158784240047                Gas           Gov. Aggregation   COH             197875180013                Gas           Gov. Aggregation
COH             199495260010                Gas           Gov. Aggregation   COH             197531160015                Gas           Gov. Aggregation
COH             199585790018                Gas           Gov. Aggregation   COH             198573490017                Gas           Gov. Aggregation
COH             199321650015                Gas           Gov. Aggregation   COH             188970210033                Gas           Gov. Aggregation
COH             198190820019                Gas           Gov. Aggregation   COH             188970210042                Gas           Gov. Aggregation
COH             193531280014                Gas           Gov. Aggregation   COH             188970210051                Gas           Gov. Aggregation
COH             198560960015                Gas           Gov. Aggregation   COH             189087640035                Gas           Gov. Aggregation
COH             198732730018                Gas           Gov. Aggregation   COH             195641200122                Gas           Gov. Aggregation
COH             130574980012                Gas           Gov. Aggregation   COH             124688660043                Gas           Gov. Aggregation
COH             136509320011                Gas           Gov. Aggregation   COH             138615560023                Gas           Gov. Aggregation
COH             125872830018                Gas           Gov. Aggregation   COH             144219290059                Gas           Gov. Aggregation
COH             125746690015                Gas           Gov. Aggregation   DEO             0500062474749               Gas           Gov. Aggregation
COH             125787740027                Gas           Gov. Aggregation   DEO             0500062478312               Gas           Gov. Aggregation
COH             134184090012                Gas           Gov. Aggregation   DEO             0500062842497               Gas           Gov. Aggregation
COH             137752560024                Gas           Gov. Aggregation   DEO             0500063865392               Gas           Gov. Aggregation
COH             125864960018                Gas           Gov. Aggregation   DEO             0500064095723               Gas           Gov. Aggregation
COH             148442890010                Gas           Gov. Aggregation   DEO             3500064167190               Gas           Gov. Aggregation
COH             125784730016                Gas           Gov. Aggregation   DEO             3500064623930               Gas           Gov. Aggregation
COH             173982220015                Gas           Gov. Aggregation   DEO             3500066314027               Gas           Gov. Aggregation
COH             125876560017                Gas           Gov. Aggregation   DEO             3500066460080               Gas           Gov. Aggregation
COH             126949060016                Gas           Gov. Aggregation   DEO             4500064581127               Gas           Gov. Aggregation
COH             122896080019                Gas           Gov. Aggregation   DEO             4500066897901               Gas           Gov. Aggregation
COH             125747100016                Gas           Gov. Aggregation   DEO             5500063503335               Gas           Gov. Aggregation
COH             125842400011                Gas           Gov. Aggregation   DEO             5500063636607               Gas           Gov. Aggregation
COH             125788250019                Gas           Gov. Aggregation   DEO             5500063792400               Gas           Gov. Aggregation
COH             125778060010                Gas           Gov. Aggregation   DEO             5500065267252               Gas           Gov. Aggregation
COH             125872050012                Gas           Gov. Aggregation   DEO             5500065379983               Gas           Gov. Aggregation
COH             161204270017                Gas           Gov. Aggregation   DEO             5500066057554               Gas           Gov. Aggregation
COH             156855920018                Gas           Gov. Aggregation   DEO             6500064460743               Gas           Gov. Aggregation
COH             125780520090                Gas           Gov. Aggregation   DEO             6500065673552               Gas           Gov. Aggregation
COH             163515490010                Gas           Gov. Aggregation   DEO             6500066162029               Gas           Gov. Aggregation
COH             194073760032                Gas           Gov. Aggregation   DEO             7500065269794               Gas           Gov. Aggregation
COH             198077140012                Gas           Gov. Aggregation   DEO             7500065402528               Gas           Gov. Aggregation
COH             199064750010                Gas           Gov. Aggregation   DEO             7500065940744               Gas           Gov. Aggregation
COH             196715640015                Gas           Gov. Aggregation   DEO             8500055163333               Gas           Gov. Aggregation
COH             194437670011                Gas           Gov. Aggregation   DEO             9500061780840               Gas           Gov. Aggregation
COH             187088660031                Gas           Gov. Aggregation   DEO             9500062474054               Gas           Gov. Aggregation
COH             192562710028                Gas           Gov. Aggregation   DEO             9500063713625               Gas           Gov. Aggregation
COH             194459280017                Gas           Gov. Aggregation   DEO             9500063961117               Gas           Gov. Aggregation
COH             125736450016                Gas           Gov. Aggregation   DEO             1180000326448               Gas           Gov. Aggregation
COH             125726970027                Gas           Gov. Aggregation   DEO             1180000503881               Gas           Gov. Aggregation
COH             199203400017                Gas           Gov. Aggregation   DEO             1500050080871               Gas           Gov. Aggregation
COH             198944930017                Gas           Gov. Aggregation   DEO             1500052280248               Gas           Gov. Aggregation
COH             197200790014                Gas           Gov. Aggregation   DEO             1500062514624               Gas           Gov. Aggregation
COH             172724660056                Gas           Gov. Aggregation   DEO             1500062565314               Gas           Gov. Aggregation
COH             125747620017                Gas           Gov. Aggregation   DEO             1500065847904               Gas           Gov. Aggregation
COH             150148820014                Gas           Gov. Aggregation   DEO             1500066897492               Gas           Gov. Aggregation
COH             197815850018                Gas           Gov. Aggregation   DEO             2180000254162               Gas           Gov. Aggregation
COH             155283490040                Gas           Gov. Aggregation   DEO             2180000278335               Gas           Gov. Aggregation
COH             191576530019                Gas           Gov. Aggregation   DEO             2180000308938               Gas           Gov. Aggregation
COH             196561290016                Gas           Gov. Aggregation   DEO             2500062393495               Gas           Gov. Aggregation
COH             199525460013                Gas           Gov. Aggregation   DEO             2500062762948               Gas           Gov. Aggregation
COH             167151750031                Gas           Gov. Aggregation   DEO             2500062837566               Gas           Gov. Aggregation
COH             198091420013                Gas           Gov. Aggregation   DEO             2500063231577               Gas           Gov. Aggregation
COH             195680770014                Gas           Gov. Aggregation   DEO             2500065327895               Gas           Gov. Aggregation
COH             199313330019                Gas           Gov. Aggregation   DEO             2500065329088               Gas           Gov. Aggregation
COH             185363530054                Gas           Gov. Aggregation   DEO             2500066711939               Gas           Gov. Aggregation
COH             199106160014                Gas           Gov. Aggregation   DEO             2500067037767               Gas           Gov. Aggregation
COH             125711820010                Gas           Gov. Aggregation   DEO             3180001246396               Gas           Gov. Aggregation
COH             199180690017                Gas           Gov. Aggregation   DEO             3500062693641               Gas           Gov. Aggregation
COH             193453440016                Gas           Gov. Aggregation   DEO             3500062925537               Gas           Gov. Aggregation
COH             129855100166                Gas           Gov. Aggregation   DEO             3500063068514               Gas           Gov. Aggregation
COH             154893490128                Gas           Gov. Aggregation   DEO             3500063513517               Gas           Gov. Aggregation
COH             175091670036                Gas           Gov. Aggregation   DEO             3500064599192               Gas           Gov. Aggregation
COH             198421970017                Gas           Gov. Aggregation   DEO             3500064613832               Gas           Gov. Aggregation
COH             193406230037                Gas           Gov. Aggregation   DEO             3500064678442               Gas           Gov. Aggregation
COH             144466290207                Gas           Gov. Aggregation   DEO             3500064758874               Gas           Gov. Aggregation
COH             144466290234                Gas           Gov. Aggregation   DEO             3500065349227               Gas           Gov. Aggregation
COH             144466290225                Gas           Gov. Aggregation   DEO             3500065383751               Gas           Gov. Aggregation
COH             144466290216                Gas           Gov. Aggregation   DEO             3500065451009               Gas           Gov. Aggregation
COH             197997930017                Gas           Gov. Aggregation   DEO             3500065949815               Gas           Gov. Aggregation
COH             194376050011                Gas           Gov. Aggregation   DEO             3500066205317               Gas           Gov. Aggregation
COH             195747500018                Gas           Gov. Aggregation   DEO             4180001373377               Gas           Gov. Aggregation
COH             158038070017                Gas           Gov. Aggregation   DEO             4180001411186               Gas           Gov. Aggregation
COH             195993850014                Gas           Gov. Aggregation   DEO             4180001485332               Gas           Gov. Aggregation
COH             133029970025                Gas           Gov. Aggregation   DEO             4421000802615               Gas           Gov. Aggregation
COH             196822260018                Gas           Gov. Aggregation   DEO             4500065414259               Gas           Gov. Aggregation
COH             125805620013                Gas           Gov. Aggregation   DEO             4500065549722               Gas           Gov. Aggregation
COH             195795700015                Gas           Gov. Aggregation   DEO             4500065759156               Gas           Gov. Aggregation
COH             147276520075                Gas           Gov. Aggregation   DEO             4500066331545               Gas           Gov. Aggregation
COH             152024820069                Gas           Gov. Aggregation   DEO             4500066430527               Gas           Gov. Aggregation
COH             196813870019                Gas           Gov. Aggregation   DEO             4500066636801               Gas           Gov. Aggregation
COH             194563920039                Gas           Gov. Aggregation   DEO             5180000678059               Gas           Gov. Aggregation
COH             125836860027                Gas           Gov. Aggregation   DEO             5180000777632               Gas           Gov. Aggregation
COH             199535310013                Gas           Gov. Aggregation   DEO             5180000785275               Gas           Gov. Aggregation
COH             156652330969                Gas           Gov. Aggregation   DEO             5180001265618               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             135719490012                Gas           Gov. Aggregation   DEO             5500005353529               Gas           Gov. Aggregation
COH             173238230029                Gas           Gov. Aggregation   DEO             5500033568167               Gas           Gov. Aggregation
COH             125784590025                Gas           Gov. Aggregation   DEO             5500036132373               Gas           Gov. Aggregation
COH             191851710017                Gas           Gov. Aggregation   DEO             5500039947498               Gas           Gov. Aggregation
COH             197588550014                Gas           Gov. Aggregation   DEO             5500062286406               Gas           Gov. Aggregation
COH             198318060017                Gas           Gov. Aggregation   DEO             5500062481861               Gas           Gov. Aggregation
COH             198783570015                Gas           Gov. Aggregation   DEO             5500062676054               Gas           Gov. Aggregation
COH             192989620023                Gas           Gov. Aggregation   DEO             5500063222824               Gas           Gov. Aggregation
COH             158573660055                Gas           Gov. Aggregation   DEO             5500064331109               Gas           Gov. Aggregation
COH             198315940018                Gas           Gov. Aggregation   DEO             5500064357117               Gas           Gov. Aggregation
COH             162329500013                Gas           Gov. Aggregation   DEO             5500064423545               Gas           Gov. Aggregation
COH             124726500044                Gas           Gov. Aggregation   DEO             5500065915137               Gas           Gov. Aggregation
COH             171262470100                Gas           Gov. Aggregation   DEO             5500066106040               Gas           Gov. Aggregation
COH             199670960011                Gas           Gov. Aggregation   DEO             5500066158437               Gas           Gov. Aggregation
COH             198496940016                Gas           Gov. Aggregation   DEO             6180000008869               Gas           Gov. Aggregation
COH             199618880018                Gas           Gov. Aggregation   DEO             6180000082132               Gas           Gov. Aggregation
COH             173017700046                Gas           Gov. Aggregation   DEO             6180000214397               Gas           Gov. Aggregation
COH             198985730013                Gas           Gov. Aggregation   DEO             6180000270618               Gas           Gov. Aggregation
COH             196510480013                Gas           Gov. Aggregation   DEO             6180000359353               Gas           Gov. Aggregation
COH             199476490012                Gas           Gov. Aggregation   DEO             6500065145185               Gas           Gov. Aggregation
COH             199573520019                Gas           Gov. Aggregation   DEO             6500065181996               Gas           Gov. Aggregation
COH             172127410027                Gas           Gov. Aggregation   DEO             6500065217809               Gas           Gov. Aggregation
COH             194670640013                Gas           Gov. Aggregation   DEO             6500066157065               Gas           Gov. Aggregation
COH             136066980040                Gas           Gov. Aggregation   DEO             7180000043902               Gas           Gov. Aggregation
COH             191222310023                Gas           Gov. Aggregation   DEO             7180000117795               Gas           Gov. Aggregation
COH             175386950050                Gas           Gov. Aggregation   DEO             7180001265695               Gas           Gov. Aggregation
COH             197481310010                Gas           Gov. Aggregation   DEO             7180001302055               Gas           Gov. Aggregation
COH             169653040061                Gas           Gov. Aggregation   DEO             7421004584828               Gas           Gov. Aggregation
COH             199413960015                Gas           Gov. Aggregation   DEO             8180000175995               Gas           Gov. Aggregation
COH             168265460030                Gas           Gov. Aggregation   DEO             8180000356750               Gas           Gov. Aggregation
COH             199489020013                Gas           Gov. Aggregation   DEO             8180001390282               Gas           Gov. Aggregation
COH             160154750121                Gas           Gov. Aggregation   DEO             8500005417898               Gas           Gov. Aggregation
COH             175175960028                Gas           Gov. Aggregation   DEO             8500060980492               Gas           Gov. Aggregation
COH             198853710016                Gas           Gov. Aggregation   DEO             8500063071069               Gas           Gov. Aggregation
COH             162045080032                Gas           Gov. Aggregation   DEO             8500063279807               Gas           Gov. Aggregation
COH             162069630018                Gas           Gov. Aggregation   DEO             8500064229121               Gas           Gov. Aggregation
COH             194189790022                Gas           Gov. Aggregation   DEO             8500064478255               Gas           Gov. Aggregation
COH             173228120032                Gas           Gov. Aggregation   DEO             9180000057950               Gas           Gov. Aggregation
COH             165269220035                Gas           Gov. Aggregation   DEO             9180000067692               Gas           Gov. Aggregation
COH             198879170016                Gas           Gov. Aggregation   DEO             9421001472852               Gas           Gov. Aggregation
COH             157879680072                Gas           Gov. Aggregation   DEO             9500034371974               Gas           Gov. Aggregation
COH             190994450048                Gas           Gov. Aggregation   DEO             9500041233205               Gas           Gov. Aggregation
COH             198713150010                Gas           Gov. Aggregation   DEO             9500048478483               Gas           Gov. Aggregation
COH             138038150014                Gas           Gov. Aggregation   DEO             0120000129157               Gas           Gov. Aggregation
COH             168846640012                Gas           Gov. Aggregation   DEO             0180000405050               Gas           Gov. Aggregation
COH             122734740012                Gas           Gov. Aggregation   DEO             0180000502905               Gas           Gov. Aggregation
COH             146253320012                Gas           Gov. Aggregation   DEO             0180000559835               Gas           Gov. Aggregation
COH             131828760045                Gas           Gov. Aggregation   DEO             0500028141893               Gas           Gov. Aggregation
COH             125593310037                Gas           Gov. Aggregation   DEO             0500032955272               Gas           Gov. Aggregation
COH             197588560012                Gas           Gov. Aggregation   DEO             0500042005832               Gas           Gov. Aggregation
COH             198154730014                Gas           Gov. Aggregation   DEO             0500064462656               Gas           Gov. Aggregation
COH             198009390013                Gas           Gov. Aggregation   DEO             0500065583033               Gas           Gov. Aggregation
COH             197150180019                Gas           Gov. Aggregation   DEO             1421001820216               Gas           Gov. Aggregation
COH             124335220033                Gas           Gov. Aggregation   DEO             1421001856106               Gas           Gov. Aggregation
COH             192913990016                Gas           Gov. Aggregation   DEO             1421001926891               Gas           Gov. Aggregation
COH             193214380015                Gas           Gov. Aggregation   DEO             1421002905573               Gas           Gov. Aggregation
COH             121993380020                Gas           Gov. Aggregation   DEO             1421003186701               Gas           Gov. Aggregation
COH             193756240043                Gas           Gov. Aggregation   DEO             3421003869476               Gas           Gov. Aggregation
COH             147964970027                Gas           Gov. Aggregation   DEO             4120000085379               Gas           Gov. Aggregation
COH             145470570048                Gas           Gov. Aggregation   DEO             4500031602641               Gas           Gov. Aggregation
COH             199254010012                Gas           Gov. Aggregation   DEO             5500030328080               Gas           Gov. Aggregation
COH             170976940038                Gas           Gov. Aggregation   DEO             5500032903690               Gas           Gov. Aggregation
COH             171010270034                Gas           Gov. Aggregation   DEO             5500065045410               Gas           Gov. Aggregation
COH             164071530058                Gas           Gov. Aggregation   DEO             6120000054266               Gas           Gov. Aggregation
COH             199087410013                Gas           Gov. Aggregation   DEO             6500015632751               Gas           Gov. Aggregation
COH             199460720016                Gas           Gov. Aggregation   DEO             6500032318451               Gas           Gov. Aggregation
COH             190346050018                Gas           Gov. Aggregation   DEO             6500045459079               Gas           Gov. Aggregation
COH             175295920040                Gas           Gov. Aggregation   DEO             7500065526323               Gas           Gov. Aggregation
COH             186852990032                Gas           Gov. Aggregation   DEO             7500066653880               Gas           Gov. Aggregation
COH             168992840048                Gas           Gov. Aggregation   DEO             8420902383624               Gas           Gov. Aggregation
COH             165393000029                Gas           Gov. Aggregation   DEO             2500030868577               Gas           Gov. Aggregation
COH             160682080016                Gas           Gov. Aggregation   DEO             8500008071786               Gas           Gov. Aggregation
COH             199389760010                Gas           Gov. Aggregation   DEO             2500053801573               Gas           Gov. Aggregation
COH             160231460048                Gas           Gov. Aggregation   DEO             3140000013254               Gas           Gov. Aggregation
COH             160231460039                Gas           Gov. Aggregation   DEO             8500043764260               Gas           Gov. Aggregation
COH             188977110030                Gas           Gov. Aggregation   DEO             4421006328354               Gas           Gov. Aggregation
COH             115705050035                Gas           Gov. Aggregation   DEO             0500054778809               Gas           Gov. Aggregation
COH             196485780015                Gas           Gov. Aggregation   DEO             7500053850912               Gas           Gov. Aggregation
COH             197765940016                Gas           Gov. Aggregation   DEO             8500024828585               Gas           Gov. Aggregation
COH             152751360074                Gas           Gov. Aggregation   DEO             5500002123517               Gas           Gov. Aggregation
COH             195574280012                Gas           Gov. Aggregation   DEO             3500042927084               Gas           Gov. Aggregation
COH             125804620015                Gas           Gov. Aggregation   DEO             6500048700969               Gas           Gov. Aggregation
COH             199255070018                Gas           Gov. Aggregation   DEO             3500054206102               Gas           Gov. Aggregation
COH             122700480027                Gas           Gov. Aggregation   DEO             1500010778822               Gas           Gov. Aggregation
COH             187288790021                Gas           Gov. Aggregation   DEO             4500054768793               Gas           Gov. Aggregation
COH             198200140019                Gas           Gov. Aggregation   DEO             9500051534233               Gas           Gov. Aggregation
COH             162653010046                Gas           Gov. Aggregation   DEO             1421006420089               Gas           Gov. Aggregation
COH             199699000012                Gas           Gov. Aggregation   DEO             5500052767181               Gas           Gov. Aggregation
COH             142737800019                Gas           Gov. Aggregation   DEO             1500030474332               Gas           Gov. Aggregation
COH             139938880067                Gas           Gov. Aggregation   DEO             2500023455971               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             125792920019                Gas           Gov. Aggregation   DEO             0500050966332               Gas           Gov. Aggregation
COH             155386290026                Gas           Gov. Aggregation   DEO             6421001473853               Gas           Gov. Aggregation
COH             195061630015                Gas           Gov. Aggregation   DEO             5421005185246               Gas           Gov. Aggregation
COH             199617670014                Gas           Gov. Aggregation   DEO             2420904641840               Gas           Gov. Aggregation
COH             125788190049                Gas           Gov. Aggregation   DEO             8500043222734               Gas           Gov. Aggregation
COH             170024920020                Gas           Gov. Aggregation   DEO             8500023562246               Gas           Gov. Aggregation
COH             124651200019                Gas           Gov. Aggregation   DEO             4421005096855               Gas           Gov. Aggregation
COH             199513580013                Gas           Gov. Aggregation   DEO             6421003471267               Gas           Gov. Aggregation
COH             191299040029                Gas           Gov. Aggregation   DEO             9500012353282               Gas           Gov. Aggregation
COH             199679700017                Gas           Gov. Aggregation   DEO             6500055248790               Gas           Gov. Aggregation
COH             125864560012                Gas           Gov. Aggregation   DEO             2500029938140               Gas           Gov. Aggregation
COH             196358260013                Gas           Gov. Aggregation   DEO             8421005661566               Gas           Gov. Aggregation
COH             197636750019                Gas           Gov. Aggregation   DEO             6421004960359               Gas           Gov. Aggregation
COH             196216710018                Gas           Gov. Aggregation   DEO             2500047531678               Gas           Gov. Aggregation
COH             160618740012                Gas           Gov. Aggregation   DEO             2500051578204               Gas           Gov. Aggregation
COH             198368740019                Gas           Gov. Aggregation   DEO             7500046960368               Gas           Gov. Aggregation
COH             199053700013                Gas           Gov. Aggregation   DEO             3421003860811               Gas           Gov. Aggregation
COH             197160900016                Gas           Gov. Aggregation   DEO             7500044074328               Gas           Gov. Aggregation
COH             192448370022                Gas           Gov. Aggregation   DEO             1500051954937               Gas           Gov. Aggregation
COH             195904600013                Gas           Gov. Aggregation   DEO             7500029817218               Gas           Gov. Aggregation
COH             198352670017                Gas           Gov. Aggregation   DEO             0500048635180               Gas           Gov. Aggregation
COH             199507060015                Gas           Gov. Aggregation   DEO             5500054633883               Gas           Gov. Aggregation
COH             167017190015                Gas           Gov. Aggregation   DEO             3500037524420               Gas           Gov. Aggregation
COH             198644180011                Gas           Gov. Aggregation   DEO             5421002149537               Gas           Gov. Aggregation
COH             199235290014                Gas           Gov. Aggregation   DEO             0421002146880               Gas           Gov. Aggregation
COH             125546240068                Gas           Gov. Aggregation   DEO             6421005470983               Gas           Gov. Aggregation
COH             199636220018                Gas           Gov. Aggregation   DEO             6500010601644               Gas           Gov. Aggregation
COH             196895930014                Gas           Gov. Aggregation   DEO             0500055227316               Gas           Gov. Aggregation
COH             188266630038                Gas           Gov. Aggregation   DEO             7500022896497               Gas           Gov. Aggregation
COH             166180690034                Gas           Gov. Aggregation   DEO             3500049723205               Gas           Gov. Aggregation
COH             197654410012                Gas           Gov. Aggregation   DEO             8500043966967               Gas           Gov. Aggregation
COH             163073720028                Gas           Gov. Aggregation   DEO             7500054021086               Gas           Gov. Aggregation
COH             194978820022                Gas           Gov. Aggregation   DEO             3500015871963               Gas           Gov. Aggregation
COH             185182510052                Gas           Gov. Aggregation   DEO             9421002319636               Gas           Gov. Aggregation
COH             155025560023                Gas           Gov. Aggregation   DEO             0500055042851               Gas           Gov. Aggregation
COH             195110240012                Gas           Gov. Aggregation   DEO             5421002670357               Gas           Gov. Aggregation
COH             199070360019                Gas           Gov. Aggregation   DEO             4421004815551               Gas           Gov. Aggregation
COH             199254070010                Gas           Gov. Aggregation   DEO             8500002721389               Gas           Gov. Aggregation
COH             174427650010                Gas           Gov. Aggregation   DEO             7500052142649               Gas           Gov. Aggregation
COH             124230400028                Gas           Gov. Aggregation   DEO             3500011634543               Gas           Gov. Aggregation
COH             192566120051                Gas           Gov. Aggregation   DEO             2500009635877               Gas           Gov. Aggregation
COH             199230490012                Gas           Gov. Aggregation   DEO             1500007689677               Gas           Gov. Aggregation
COH             199493870016                Gas           Gov. Aggregation   DEO             1421003051280               Gas           Gov. Aggregation
COH             143742090017                Gas           Gov. Aggregation   DEO             4421005766010               Gas           Gov. Aggregation
COH             196558950014                Gas           Gov. Aggregation   DEO             7500033992048               Gas           Gov. Aggregation
COH             174000520039                Gas           Gov. Aggregation   DEO             5421006149289               Gas           Gov. Aggregation
COH             170389050030                Gas           Gov. Aggregation   DEO             9500047506581               Gas           Gov. Aggregation
COH             199044600013                Gas           Gov. Aggregation   DEO             9500007850742               Gas           Gov. Aggregation
COH             144121660049                Gas           Gov. Aggregation   DEO             8421002503685               Gas           Gov. Aggregation
COH             162554180069                Gas           Gov. Aggregation   DEO             1421001319944               Gas           Gov. Aggregation
COH             133679610014                Gas           Gov. Aggregation   DEO             8500037397247               Gas           Gov. Aggregation
COH             199044580018                Gas           Gov. Aggregation   DEO             4420906281080               Gas           Gov. Aggregation
COH             190870690031                Gas           Gov. Aggregation   DEO             9500028884991               Gas           Gov. Aggregation
COH             191456390031                Gas           Gov. Aggregation   DEO             1500046024933               Gas           Gov. Aggregation
COH             199566440011                Gas           Gov. Aggregation   DEO             3500045047548               Gas           Gov. Aggregation
COH             188813460033                Gas           Gov. Aggregation   DEO             4421003234639               Gas           Gov. Aggregation
COH             193544890019                Gas           Gov. Aggregation   DEO             1421003031703               Gas           Gov. Aggregation
COH             199001690015                Gas           Gov. Aggregation   DEO             9500023700970               Gas           Gov. Aggregation
COH             198105130013                Gas           Gov. Aggregation   DEO             5500046942132               Gas           Gov. Aggregation
COH             198765750015                Gas           Gov. Aggregation   DEO             3420905324108               Gas           Gov. Aggregation
COH             125884510029                Gas           Gov. Aggregation   DEO             1500040788958               Gas           Gov. Aggregation
COH             198930380012                Gas           Gov. Aggregation   DEO             6500024091011               Gas           Gov. Aggregation
COH             199229950018                Gas           Gov. Aggregation   DEO             7500043886801               Gas           Gov. Aggregation
COH             125787910012                Gas           Gov. Aggregation   DEO             8500035476366               Gas           Gov. Aggregation
COH             186950190069                Gas           Gov. Aggregation   DEO             5420900926850               Gas           Gov. Aggregation
COH             125832280027                Gas           Gov. Aggregation   DEO             6140000083084               Gas           Gov. Aggregation
COH             185939010016                Gas           Gov. Aggregation   DEO             7500015012165               Gas           Gov. Aggregation
COH             191947450028                Gas           Gov. Aggregation   DEO             9500041739546               Gas           Gov. Aggregation
COH             173003590012                Gas           Gov. Aggregation   DEO             3500043655008               Gas           Gov. Aggregation
COH             197067130016                Gas           Gov. Aggregation   DEO             5140000102618               Gas           Gov. Aggregation
COH             133062460022                Gas           Gov. Aggregation   DEO             4500031763729               Gas           Gov. Aggregation
COH             122637370034                Gas           Gov. Aggregation   DEO             6421006408148               Gas           Gov. Aggregation
COH             129717430034                Gas           Gov. Aggregation   DEO             5500006180061               Gas           Gov. Aggregation
COH             165435770028                Gas           Gov. Aggregation   DEO             3500042973916               Gas           Gov. Aggregation
COH             166271340043                Gas           Gov. Aggregation   DEO             2140000099293               Gas           Gov. Aggregation
COH             174344730064                Gas           Gov. Aggregation   DEO             3500000147473               Gas           Gov. Aggregation
COH             189562610024                Gas           Gov. Aggregation   DEO             1500021228117               Gas           Gov. Aggregation
COH             133049260031                Gas           Gov. Aggregation   DEO             1500027264800               Gas           Gov. Aggregation
COH             125749650017                Gas           Gov. Aggregation   DEO             7500013834373               Gas           Gov. Aggregation
COH             125721250028                Gas           Gov. Aggregation   DEO             7500013834392               Gas           Gov. Aggregation
COH             165735620069                Gas           Gov. Aggregation   DEO             9500015729937               Gas           Gov. Aggregation
COH             160711850020                Gas           Gov. Aggregation   DEO             0500050446918               Gas           Gov. Aggregation
COH             195055430010                Gas           Gov. Aggregation   DEO             2500024403675               Gas           Gov. Aggregation
COH             191436820014                Gas           Gov. Aggregation   DEO             0421001951253               Gas           Gov. Aggregation
COH             167779480010                Gas           Gov. Aggregation   DEO             4421006725769               Gas           Gov. Aggregation
COH             130947700073                Gas           Gov. Aggregation   DEO             5421005413236               Gas           Gov. Aggregation
COH             147359740055                Gas           Gov. Aggregation   DEO             7421002391556               Gas           Gov. Aggregation
COH             193224490011                Gas           Gov. Aggregation   DEO             4500041607006               Gas           Gov. Aggregation
COH             152056730025                Gas           Gov. Aggregation   DEO             6500051169337               Gas           Gov. Aggregation
COH             125789070033                Gas           Gov. Aggregation   DEO             0500050404559               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             190070740018                Gas           Gov. Aggregation   DEO             3421002004936               Gas           Gov. Aggregation
COH             123121150023                Gas           Gov. Aggregation   DEO             3420903041068               Gas           Gov. Aggregation
COH             174213340027                Gas           Gov. Aggregation   DEO             6500053748877               Gas           Gov. Aggregation
COH             148783760024                Gas           Gov. Aggregation   DEO             1500033789394               Gas           Gov. Aggregation
COH             185787960029                Gas           Gov. Aggregation   DEO             4500054285848               Gas           Gov. Aggregation
COH             194937800013                Gas           Gov. Aggregation   DEO             6500004820576               Gas           Gov. Aggregation
COH             145922970027                Gas           Gov. Aggregation   DEO             1500048364866               Gas           Gov. Aggregation
COH             194199470019                Gas           Gov. Aggregation   DEO             2500050037331               Gas           Gov. Aggregation
COH             195271760013                Gas           Gov. Aggregation   DEO             0500028340948               Gas           Gov. Aggregation
COH             189761240039                Gas           Gov. Aggregation   DEO             7140000110106               Gas           Gov. Aggregation
COH             186119740038                Gas           Gov. Aggregation   DEO             7500036039059               Gas           Gov. Aggregation
COH             192697340012                Gas           Gov. Aggregation   DEO             5500040385221               Gas           Gov. Aggregation
COH             171196680036                Gas           Gov. Aggregation   DEO             1421005329211               Gas           Gov. Aggregation
COH             160854020022                Gas           Gov. Aggregation   DEO             2500038132432               Gas           Gov. Aggregation
COH             146663090012                Gas           Gov. Aggregation   DEO             4500040839794               Gas           Gov. Aggregation
COH             191369200017                Gas           Gov. Aggregation   DEO             4420902925496               Gas           Gov. Aggregation
COH             169995530037                Gas           Gov. Aggregation   DEO             9421002552690               Gas           Gov. Aggregation
COH             190958060028                Gas           Gov. Aggregation   DEO             9500020505062               Gas           Gov. Aggregation
COH             193766080019                Gas           Gov. Aggregation   DEO             6500031080708               Gas           Gov. Aggregation
COH             141436430025                Gas           Gov. Aggregation   DEO             6500040278517               Gas           Gov. Aggregation
COH             189089520018                Gas           Gov. Aggregation   DEO             3420904102941               Gas           Gov. Aggregation
COH             195235190019                Gas           Gov. Aggregation   DEO             5500023790733               Gas           Gov. Aggregation
COH             193745440017                Gas           Gov. Aggregation   DEO             7500026888534               Gas           Gov. Aggregation
COH             162793090026                Gas           Gov. Aggregation   DEO             1500047263017               Gas           Gov. Aggregation
COH             122674760034                Gas           Gov. Aggregation   DEO             8421001716978               Gas           Gov. Aggregation
COH             190286500020                Gas           Gov. Aggregation   DEO             8500046686408               Gas           Gov. Aggregation
COH             166731740034                Gas           Gov. Aggregation   DEO             0500046622018               Gas           Gov. Aggregation
COH             190231160036                Gas           Gov. Aggregation   DEO             1500051212324               Gas           Gov. Aggregation
COH             139331300082                Gas           Gov. Aggregation   DEO             3421101460465               Gas           Gov. Aggregation
COH             122733720018                Gas           Gov. Aggregation   DEO             7500010104753               Gas           Gov. Aggregation
COH             169909360034                Gas           Gov. Aggregation   DEO             1500052934663               Gas           Gov. Aggregation
COH             168802030021                Gas           Gov. Aggregation   DEO             7421004904422               Gas           Gov. Aggregation
COH             193744700014                Gas           Gov. Aggregation   DEO             2500026975744               Gas           Gov. Aggregation
COH             175235290012                Gas           Gov. Aggregation   DEO             7421004217256               Gas           Gov. Aggregation
COH             122674670079                Gas           Gov. Aggregation   DEO             9421003051462               Gas           Gov. Aggregation
COH             195091740019                Gas           Gov. Aggregation   DEO             5421006290530               Gas           Gov. Aggregation
COH             125715400038                Gas           Gov. Aggregation   DEO             1421103153635               Gas           Gov. Aggregation
COH             123786090028                Gas           Gov. Aggregation   DEO             6500028143834               Gas           Gov. Aggregation
COH             171911770011                Gas           Gov. Aggregation   DEO             3500051796741               Gas           Gov. Aggregation
COH             122733880015                Gas           Gov. Aggregation   DEO             8500035759510               Gas           Gov. Aggregation
COH             154881790095                Gas           Gov. Aggregation   DEO             3500041775486               Gas           Gov. Aggregation
COH             189398970019                Gas           Gov. Aggregation   DEO             0120000038668               Gas           Gov. Aggregation
COH             192209980011                Gas           Gov. Aggregation   DEO             5500047893653               Gas           Gov. Aggregation
COH             137627890020                Gas           Gov. Aggregation   DEO             8500006350845               Gas           Gov. Aggregation
COH             141849560032                Gas           Gov. Aggregation   DEO             4140000068495               Gas           Gov. Aggregation
COH             124633000019                Gas           Gov. Aggregation   DEO             4500048169051               Gas           Gov. Aggregation
COH             168293130021                Gas           Gov. Aggregation   DEO             2500019773678               Gas           Gov. Aggregation
COH             186185040027                Gas           Gov. Aggregation   DEO             1421005969825               Gas           Gov. Aggregation
COH             194563840018                Gas           Gov. Aggregation   DEO             9500009812021               Gas           Gov. Aggregation
COH             194089210016                Gas           Gov. Aggregation   DEO             2500048789754               Gas           Gov. Aggregation
COH             125839880036                Gas           Gov. Aggregation   DEO             9421003469579               Gas           Gov. Aggregation
COH             188261500017                Gas           Gov. Aggregation   DEO             4500019451937               Gas           Gov. Aggregation
COH             192805170017                Gas           Gov. Aggregation   DEO             6500024568295               Gas           Gov. Aggregation
COH             167092260030                Gas           Gov. Aggregation   DEO             1500008433337               Gas           Gov. Aggregation
COH             193557270012                Gas           Gov. Aggregation   DEO             8500013845347               Gas           Gov. Aggregation
COH             193997390015                Gas           Gov. Aggregation   DEO             5421003175689               Gas           Gov. Aggregation
VEDO            4002224062411408            Gas           Gov. Aggregation   DEO             0500001968051               Gas           Gov. Aggregation
VEDO            4016958482462153            Gas           Gov. Aggregation   DEO             9421003186212               Gas           Gov. Aggregation
COH             164095400028                Gas           Gov. Aggregation   DEO             2421002994228               Gas           Gov. Aggregation
COH             125787770012                Gas           Gov. Aggregation   DEO             9500052162442               Gas           Gov. Aggregation
DEO             7180001291839               Gas           Gov. Aggregation   DEO             7421102357839               Gas           Gov. Aggregation
COH             159356260030                Gas           Gov. Aggregation   DEO             9500002067847               Gas           Gov. Aggregation
VEDO            4016303652610123            Gas           Gov. Aggregation   DEO             3421002995062               Gas           Gov. Aggregation
COH             144054130016                Gas           Gov. Aggregation   DEO             0120000094519               Gas           Gov. Aggregation
DEO             5180001412194               Gas           Gov. Aggregation   DEO             0500042134997               Gas           Gov. Aggregation
COH             129002280013                Gas           Gov. Aggregation   DEO             4140000059558               Gas           Gov. Aggregation
VEDO            4019398272563234            Gas           Gov. Aggregation   DEO             9500060175666               Gas           Gov. Aggregation
VEDO            4019216222600562            Gas           Gov. Aggregation   DEO             7500008864786               Gas           Gov. Aggregation
VEDO            4004908292536790            Gas           Gov. Aggregation   DEO             2500060299031               Gas           Gov. Aggregation
VEDO            4016771052531883            Gas           Gov. Aggregation   DEO             0421005734555               Gas           Gov. Aggregation
VEDO            4016332372557291            Gas           Gov. Aggregation   DEO             0420905724862               Gas           Gov. Aggregation
VEDO            4017063742153201            Gas           Gov. Aggregation   DEO             6500061388440               Gas           Gov. Aggregation
VEDO            4016851552464407            Gas           Gov. Aggregation   DEO             3420902419385               Gas           Gov. Aggregation
VEDO            4019340282239406            Gas           Gov. Aggregation   DEO             6500043896187               Gas           Gov. Aggregation
VEDO            4019343112209037            Gas           Gov. Aggregation   DEO             5500017835060               Gas           Gov. Aggregation
VEDO            4001622722158662            Gas           Gov. Aggregation   DEO             5420501931467               Gas           Gov. Aggregation
VEDO            4019808392233460            Gas           Gov. Aggregation   DEO             2120000071265               Gas           Gov. Aggregation
VEDO            4019801802127571            Gas           Gov. Aggregation   DEO             2500055534901               Gas           Gov. Aggregation
VEDO            4019788642192036            Gas           Gov. Aggregation   DEO             2500044425687               Gas           Gov. Aggregation
VEDO            4015629082182528            Gas           Gov. Aggregation   DEO             3420000840309               Gas           Gov. Aggregation
VEDO            4017651762258444            Gas           Gov. Aggregation   DEO             4120000061971               Gas           Gov. Aggregation
VEDO            4019458262434394            Gas           Gov. Aggregation   DEO             9421004236888               Gas           Gov. Aggregation
VEDO            4019460302103729            Gas           Gov. Aggregation   DEO             6500054996108               Gas           Gov. Aggregation
VEDO            4016657982331289            Gas           Gov. Aggregation   DEO             2421005169091               Gas           Gov. Aggregation
VEDO            4016657982179485            Gas           Gov. Aggregation   DEO             4500049727085               Gas           Gov. Aggregation
VEDO            4005159392128062            Gas           Gov. Aggregation   DEO             9421001894992               Gas           Gov. Aggregation
VEDO            4019772852442799            Gas           Gov. Aggregation   DEO             2500020917254               Gas           Gov. Aggregation
VEDO            4018533062504125            Gas           Gov. Aggregation   DEO             6500051745240               Gas           Gov. Aggregation
VEDO            4019530382410100            Gas           Gov. Aggregation   DEO             6421005410013               Gas           Gov. Aggregation
VEDO            4017311082139301            Gas           Gov. Aggregation   DEO             2500060934567               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4003418752349367            Gas           Gov. Aggregation   DEO             9500061840530               Gas           Gov. Aggregation
VEDO            4019195502193932            Gas           Gov. Aggregation   DEO             7120000107640               Gas           Gov. Aggregation
VEDO            4015229342108548            Gas           Gov. Aggregation   DEO             9500001960407               Gas           Gov. Aggregation
VEDO            4001749072351465            Gas           Gov. Aggregation   DEO             2500051633175               Gas           Gov. Aggregation
VEDO            4018194442377408            Gas           Gov. Aggregation   DEO             0500062155052               Gas           Gov. Aggregation
VEDO            4019478622265227            Gas           Gov. Aggregation   DEO             0421005790674               Gas           Gov. Aggregation
VEDO            4019478622400485            Gas           Gov. Aggregation   DEO             8421005803082               Gas           Gov. Aggregation
VEDO            4019427662488997            Gas           Gov. Aggregation   DEO             0421004097745               Gas           Gov. Aggregation
VEDO            4016674942455454            Gas           Gov. Aggregation   DEO             7500006765634               Gas           Gov. Aggregation
VEDO            4019357772480104            Gas           Gov. Aggregation   DEO             0421002042271               Gas           Gov. Aggregation
VEDO            4019757692415036            Gas           Gov. Aggregation   DEO             0500060705638               Gas           Gov. Aggregation
VEDO            4018113382455071            Gas           Gov. Aggregation   DEO             8421005790289               Gas           Gov. Aggregation
VEDO            4018061212444014            Gas           Gov. Aggregation   DEO             2421003330650               Gas           Gov. Aggregation
VEDO            4019436042307795            Gas           Gov. Aggregation   DEO             9421006518452               Gas           Gov. Aggregation
VEDO            4019447222491341            Gas           Gov. Aggregation   DEO             0421005621600               Gas           Gov. Aggregation
VEDO            4019477302183019            Gas           Gov. Aggregation   DEO             9500012974405               Gas           Gov. Aggregation
VEDO            4019477302384596            Gas           Gov. Aggregation   DEO             0421006179908               Gas           Gov. Aggregation
VEDO            4019381882410369            Gas           Gov. Aggregation   DEO             4500055585659               Gas           Gov. Aggregation
VEDO            4019487892629524            Gas           Gov. Aggregation   DEO             4120000140048               Gas           Gov. Aggregation
VEDO            4019492722312867            Gas           Gov. Aggregation   DEO             4500031766093               Gas           Gov. Aggregation
VEDO            4019377442523423            Gas           Gov. Aggregation   DEO             6500060219919               Gas           Gov. Aggregation
VEDO            4002847582303716            Gas           Gov. Aggregation   DEO             0500008615466               Gas           Gov. Aggregation
VEDO            4002403832155080            Gas           Gov. Aggregation   DEO             4500029357522               Gas           Gov. Aggregation
VEDO            4019746992125792            Gas           Gov. Aggregation   DEO             2500010642484               Gas           Gov. Aggregation
VEDO            4019527672276239            Gas           Gov. Aggregation   DEO             7120000054430               Gas           Gov. Aggregation
VEDO            4018991612502560            Gas           Gov. Aggregation   DEO             9500053318321               Gas           Gov. Aggregation
VEDO            4002005912508345            Gas           Gov. Aggregation   DEO             6500039825468               Gas           Gov. Aggregation
VEDO            4001008702505260            Gas           Gov. Aggregation   DEO             1500060309920               Gas           Gov. Aggregation
VEDO            4016032152271771            Gas           Gov. Aggregation   DEO             0500061924704               Gas           Gov. Aggregation
VEDO            4015757162498657            Gas           Gov. Aggregation   DEO             5500031643464               Gas           Gov. Aggregation
VEDO            4017436682225224            Gas           Gov. Aggregation   DEO             6421004237860               Gas           Gov. Aggregation
VEDO            4018373082315036            Gas           Gov. Aggregation   DEO             9500034674883               Gas           Gov. Aggregation
VEDO            4019800232370807            Gas           Gov. Aggregation   DEO             9421000494553               Gas           Gov. Aggregation
VEDO            4017768982297749            Gas           Gov. Aggregation   DEO             6500036514585               Gas           Gov. Aggregation
VEDO            4018445342405520            Gas           Gov. Aggregation   DEO             7500060331289               Gas           Gov. Aggregation
VEDO            4019391062130738            Gas           Gov. Aggregation   DEO             7500061744574               Gas           Gov. Aggregation
VEDO            4019392512345243            Gas           Gov. Aggregation   DEO             4120000043004               Gas           Gov. Aggregation
VEDO            4019374142491316            Gas           Gov. Aggregation   DEO             9140000006870               Gas           Gov. Aggregation
VEDO            4003453002237201            Gas           Gov. Aggregation   DEO             4421001713293               Gas           Gov. Aggregation
VEDO            4019466952281903            Gas           Gov. Aggregation   DEO             0500027937668               Gas           Gov. Aggregation
VEDO            4016197442406710            Gas           Gov. Aggregation   DEO             6500054628116               Gas           Gov. Aggregation
VEDO            4019383732254047            Gas           Gov. Aggregation   DEO             2420903183237               Gas           Gov. Aggregation
VEDO            4019495712277691            Gas           Gov. Aggregation   DEO             5421004216801               Gas           Gov. Aggregation
VEDO            4019369392190497            Gas           Gov. Aggregation   DEO             8500018060052               Gas           Gov. Aggregation
VEDO            4019734972519773            Gas           Gov. Aggregation   DEO             0500040286481               Gas           Gov. Aggregation
VEDO            4019255392374205            Gas           Gov. Aggregation   DEO             4500016648485               Gas           Gov. Aggregation
VEDO            4019777802412440            Gas           Gov. Aggregation   DEO             5500045714204               Gas           Gov. Aggregation
VEDO            4019306642449272            Gas           Gov. Aggregation   DEO             8500037621983               Gas           Gov. Aggregation
VEDO            4019416902118481            Gas           Gov. Aggregation   DEO             6500051901292               Gas           Gov. Aggregation
VEDO            4018870802615384            Gas           Gov. Aggregation   DEO             6500060539515               Gas           Gov. Aggregation
VEDO            4016021592595352            Gas           Gov. Aggregation   DEO             6421006075931               Gas           Gov. Aggregation
VEDO            4018352792605796            Gas           Gov. Aggregation   DEO             2500002165523               Gas           Gov. Aggregation
VEDO            4019767642527457            Gas           Gov. Aggregation   DEO             7421005659504               Gas           Gov. Aggregation
VEDO            4001887272377421            Gas           Gov. Aggregation   DEO             5500054535180               Gas           Gov. Aggregation
VEDO            4018679202381905            Gas           Gov. Aggregation   DEO             8500061854873               Gas           Gov. Aggregation
COH             151111230023                Gas           Gov. Aggregation   DEO             8500007510688               Gas           Gov. Aggregation
COH             196321930019                Gas           Gov. Aggregation   DEO             0500036097062               Gas           Gov. Aggregation
COH             194399600026                Gas           Gov. Aggregation   DEO             0500050995259               Gas           Gov. Aggregation
COH             199417620018                Gas           Gov. Aggregation   DEO             8421004967198               Gas           Gov. Aggregation
COH             195150720017                Gas           Gov. Aggregation   DEO             4120000110594               Gas           Gov. Aggregation
COH             197548570014                Gas           Gov. Aggregation   DEO             3420504231577               Gas           Gov. Aggregation
COH             198436290019                Gas           Gov. Aggregation   DEO             8140000046224               Gas           Gov. Aggregation
COH             195273060016                Gas           Gov. Aggregation   DEO             4500054931427               Gas           Gov. Aggregation
COH             199725830011                Gas           Gov. Aggregation   DEO             2421003263150               Gas           Gov. Aggregation
COH             199623350018                Gas           Gov. Aggregation   COH             122344050014                Gas           Gov. Aggregation
COH             194268120015                Gas           Gov. Aggregation   COH             165559050054                Gas           Gov. Aggregation
COH             199209750012                Gas           Gov. Aggregation   COH             162526370031                Gas           Gov. Aggregation
COH             198107190017                Gas           Gov. Aggregation   COH             173500330049                Gas           Gov. Aggregation
COH             197777090010                Gas           Gov. Aggregation   COH             138721040063                Gas           Gov. Aggregation
COH             198433490013                Gas           Gov. Aggregation   COH             147747330030                Gas           Gov. Aggregation
COH             197352210014                Gas           Gov. Aggregation   COH             188679980021                Gas           Gov. Aggregation
COH             161647020048                Gas           Gov. Aggregation   COH             188843920024                Gas           Gov. Aggregation
COH             153990700557                Gas           Gov. Aggregation   COH             122354690162                Gas           Gov. Aggregation
COH             161674100053                Gas           Gov. Aggregation   COH             196374740027                Gas           Gov. Aggregation
COH             198386250014                Gas           Gov. Aggregation   COH             196857560030                Gas           Gov. Aggregation
COH             196267630018                Gas           Gov. Aggregation   COH             193542290019                Gas           Gov. Aggregation
COH             136350130045                Gas           Gov. Aggregation   COH             197225970014                Gas           Gov. Aggregation
COH             133218300060                Gas           Gov. Aggregation   COH             197668500014                Gas           Gov. Aggregation
COH             166637420166                Gas           Gov. Aggregation   COH             198496840026                Gas           Gov. Aggregation
COH             154250460091                Gas           Gov. Aggregation   COH             199080520014                Gas           Gov. Aggregation
COH             173092190046                Gas           Gov. Aggregation   COH             199087280011                Gas           Gov. Aggregation
COH             199398010018                Gas           Gov. Aggregation   COH             199111720015                Gas           Gov. Aggregation
COH             188019360136                Gas           Gov. Aggregation   COH             199197700019                Gas           Gov. Aggregation
COH             176607580066                Gas           Gov. Aggregation   COH             199578430018                Gas           Gov. Aggregation
COH             186612930014                Gas           Gov. Aggregation   COH             199554700011                Gas           Gov. Aggregation
COH             198231090015                Gas           Gov. Aggregation   COH             199539670010                Gas           Gov. Aggregation
COH             198284190013                Gas           Gov. Aggregation   COH             199721720012                Gas           Gov. Aggregation
COH             195614180017                Gas           Gov. Aggregation   COH             122496370034                Gas           Gov. Aggregation
COH             192660280012                Gas           Gov. Aggregation   COH             157592990020                Gas           Gov. Aggregation
COH             199673380017                Gas           Gov. Aggregation   COH             197987420015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             194671600019                Gas           Gov. Aggregation   COH             199560590012                Gas           Gov. Aggregation
COH             196085720015                Gas           Gov. Aggregation   COH             149478860047                Gas           Gov. Aggregation
COH             197197820016                Gas           Gov. Aggregation   COH             177607390074                Gas           Gov. Aggregation
COH             197055790013                Gas           Gov. Aggregation   COH             192197500027                Gas           Gov. Aggregation
COH             177249820046                Gas           Gov. Aggregation   COH             192600010023                Gas           Gov. Aggregation
COH             172180090069                Gas           Gov. Aggregation   COH             189702630022                Gas           Gov. Aggregation
COH             115028810095                Gas           Gov. Aggregation   COH             199120130010                Gas           Gov. Aggregation
COH             114931050028                Gas           Gov. Aggregation   COH             154937350105                Gas           Gov. Aggregation
COH             149642800040                Gas           Gov. Aggregation   COH             199539620010                Gas           Gov. Aggregation
COH             152882790040                Gas           Gov. Aggregation   COH             199554680016                Gas           Gov. Aggregation
COH             171213330059                Gas           Gov. Aggregation   COH             156591280022                Gas           Gov. Aggregation
COH             170309430145                Gas           Gov. Aggregation   COH             199617400010                Gas           Gov. Aggregation
COH             196073190030                Gas           Gov. Aggregation   COH             142634900043                Gas           Gov. Aggregation
COH             192152820024                Gas           Gov. Aggregation   COH             198982010010                Gas           Gov. Aggregation
COH             191932220054                Gas           Gov. Aggregation   COH             138841910020                Gas           Gov. Aggregation
COH             190131940052                Gas           Gov. Aggregation   COH             199529500016                Gas           Gov. Aggregation
COH             197754420018                Gas           Gov. Aggregation   COH             199097100017                Gas           Gov. Aggregation
COH             195826170010                Gas           Gov. Aggregation   COH             199049320012                Gas           Gov. Aggregation
COH             196630880015                Gas           Gov. Aggregation   COH             174021140035                Gas           Gov. Aggregation
COH             114957790029                Gas           Gov. Aggregation   COH             187664250026                Gas           Gov. Aggregation
COH             114963730019                Gas           Gov. Aggregation   COH             198170040015                Gas           Gov. Aggregation
COH             114963390048                Gas           Gov. Aggregation   COH             198161550017                Gas           Gov. Aggregation
COH             115051090123                Gas           Gov. Aggregation   COH             196984550024                Gas           Gov. Aggregation
COH             185979580031                Gas           Gov. Aggregation   COH             190633920025                Gas           Gov. Aggregation
COH             185645610059                Gas           Gov. Aggregation   COH             187296560068                Gas           Gov. Aggregation
COH             164074180010                Gas           Gov. Aggregation   COH             194144430021                Gas           Gov. Aggregation
COH             196916250011                Gas           Gov. Aggregation   COH             198098530016                Gas           Gov. Aggregation
COH             194819630019                Gas           Gov. Aggregation   COH             194308180026                Gas           Gov. Aggregation
COH             198990110012                Gas           Gov. Aggregation   COH             200165930014                Gas           Gov. Aggregation
COH             192190280037                Gas           Gov. Aggregation   COH             177626550025                Gas           Gov. Aggregation
COH             195621130021                Gas           Gov. Aggregation   COH             199428010013                Gas           Gov. Aggregation
COH             195444070039                Gas           Gov. Aggregation   COH             190680780026                Gas           Gov. Aggregation
COH             190778830037                Gas           Gov. Aggregation   COH             200116100011                Gas           Gov. Aggregation
COH             142954120049                Gas           Gov. Aggregation   COH             191838020029                Gas           Gov. Aggregation
COH             147484140056                Gas           Gov. Aggregation   COH             198529180015                Gas           Gov. Aggregation
COH             132661160035                Gas           Gov. Aggregation   COH             164863650107                Gas           Gov. Aggregation
COH             130382370035                Gas           Gov. Aggregation   COH             161416860041                Gas           Gov. Aggregation
COH             173264880215                Gas           Gov. Aggregation   COH             122361180039                Gas           Gov. Aggregation
COH             175887390047                Gas           Gov. Aggregation   COH             168186070101                Gas           Gov. Aggregation
COH             174721970037                Gas           Gov. Aggregation   COH             161016180033                Gas           Gov. Aggregation
COH             196424250014                Gas           Gov. Aggregation   COH             192517440093                Gas           Gov. Aggregation
COH             196424260012                Gas           Gov. Aggregation   COH             200051410014                Gas           Gov. Aggregation
COH             196424270010                Gas           Gov. Aggregation   COH             140715490059                Gas           Gov. Aggregation
COH             196424280018                Gas           Gov. Aggregation   COH             122477530030                Gas           Gov. Aggregation
COH             197525500016                Gas           Gov. Aggregation   COH             169233500064                Gas           Gov. Aggregation
COH             199291440014                Gas           Gov. Aggregation   COH             152588720039                Gas           Gov. Aggregation
COH             199452130017                Gas           Gov. Aggregation   COH             195986360021                Gas           Gov. Aggregation
COH             199124980014                Gas           Gov. Aggregation   COH             200151510011                Gas           Gov. Aggregation
COH             147271410121                Gas           Gov. Aggregation   COH             200197030016                Gas           Gov. Aggregation
COH             146751020055                Gas           Gov. Aggregation   COH             199977120017                Gas           Gov. Aggregation
COH             153110590019                Gas           Gov. Aggregation   COH             194944540013                Gas           Gov. Aggregation
COH             174042810067                Gas           Gov. Aggregation   COH             164965110097                Gas           Gov. Aggregation
COH             163279240274                Gas           Gov. Aggregation   COH             122520270069                Gas           Gov. Aggregation
COH             176113390063                Gas           Gov. Aggregation   COH             198781800010                Gas           Gov. Aggregation
COH             186736480026                Gas           Gov. Aggregation   COH             198617370018                Gas           Gov. Aggregation
COH             177496840021                Gas           Gov. Aggregation   COH             199146560016                Gas           Gov. Aggregation
COH             193140220015                Gas           Gov. Aggregation   COH             199712130015                Gas           Gov. Aggregation
COH             132653020095                Gas           Gov. Aggregation   COH             200102650015                Gas           Gov. Aggregation
COH             136646590042                Gas           Gov. Aggregation   COH             186085800029                Gas           Gov. Aggregation
COH             198749820014                Gas           Gov. Aggregation   COH             155675940053                Gas           Gov. Aggregation
COH             198472010011                Gas           Gov. Aggregation   COH             130114750890                Gas           Gov. Aggregation
COH             115081410015                Gas           Gov. Aggregation   COH             122419100069                Gas           Gov. Aggregation
COH             190391590038                Gas           Gov. Aggregation   COH             123392680047                Gas           Gov. Aggregation
COH             191158430025                Gas           Gov. Aggregation   COH             161449850035                Gas           Gov. Aggregation
COH             191162760036                Gas           Gov. Aggregation   COH             152899930045                Gas           Gov. Aggregation
COH             191561930034                Gas           Gov. Aggregation   COH             199362680013                Gas           Gov. Aggregation
COH             197642810013                Gas           Gov. Aggregation   COH             199879530019                Gas           Gov. Aggregation
COH             198734060015                Gas           Gov. Aggregation   COH             199427920014                Gas           Gov. Aggregation
COH             197379220025                Gas           Gov. Aggregation   COH             122397970047                Gas           Gov. Aggregation
COH             163610370068                Gas           Gov. Aggregation   COH             122459370050                Gas           Gov. Aggregation
COH             162618140052                Gas           Gov. Aggregation   COH             130114750881                Gas           Gov. Aggregation
COH             115061380078                Gas           Gov. Aggregation   COH             175269340056                Gas           Gov. Aggregation
COH             189907230040                Gas           Gov. Aggregation   COH             152735370076                Gas           Gov. Aggregation
COH             195656690012                Gas           Gov. Aggregation   COH             198708230014                Gas           Gov. Aggregation
COH             170687910064                Gas           Gov. Aggregation   COH             198079870015                Gas           Gov. Aggregation
COH             197990360011                Gas           Gov. Aggregation   COH             195775430023                Gas           Gov. Aggregation
COH             194308450010                Gas           Gov. Aggregation   COH             199560580014                Gas           Gov. Aggregation
COH             193629070011                Gas           Gov. Aggregation   COH             171790690294                Gas           Gov. Aggregation
COH             187569260035                Gas           Gov. Aggregation   COH             199318430018                Gas           Gov. Aggregation
COH             198093950018                Gas           Gov. Aggregation   COH             198359030017                Gas           Gov. Aggregation
COH             198910310018                Gas           Gov. Aggregation   COH             190603710031                Gas           Gov. Aggregation
COH             114924530899                Gas           Gov. Aggregation   COH             198884110017                Gas           Gov. Aggregation
COH             114924530942                Gas           Gov. Aggregation   COH             198104940015                Gas           Gov. Aggregation
COH             176933850013                Gas           Gov. Aggregation   COH             137608410075                Gas           Gov. Aggregation
COH             176714820031                Gas           Gov. Aggregation   COH             113642670040                Gas           Gov. Aggregation
COH             171255140033                Gas           Gov. Aggregation   COH             194975910029                Gas           Gov. Aggregation
COH             129365930027                Gas           Gov. Aggregation   COH             197979250018                Gas           Gov. Aggregation
COH             167743370072                Gas           Gov. Aggregation   COH             199679600018                Gas           Gov. Aggregation
COH             199014400018                Gas           Gov. Aggregation   COH             198929640010                Gas           Gov. Aggregation
COH             199186490017                Gas           Gov. Aggregation   COH             190897590045                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             195352070016                Gas           Gov. Aggregation   COH             127330960357                Gas           Gov. Aggregation
COH             195430610016                Gas           Gov. Aggregation   COH             132482530082                Gas           Gov. Aggregation
COH             194795100012                Gas           Gov. Aggregation   COH             176672290024                Gas           Gov. Aggregation
COH             194592450037                Gas           Gov. Aggregation   COH             166282740055                Gas           Gov. Aggregation
COH             128846410027                Gas           Gov. Aggregation   COH             200184390018                Gas           Gov. Aggregation
COH             191921930030                Gas           Gov. Aggregation   COH             198039290011                Gas           Gov. Aggregation
COH             173874320317                Gas           Gov. Aggregation   COH             195552320028                Gas           Gov. Aggregation
COH             186191910076                Gas           Gov. Aggregation   COH             194200300037                Gas           Gov. Aggregation
COH             193944420019                Gas           Gov. Aggregation   COH             191222110025                Gas           Gov. Aggregation
COH             195616210016                Gas           Gov. Aggregation   COH             199401230013                Gas           Gov. Aggregation
COH             114954270033                Gas           Gov. Aggregation   COH             199529450017                Gas           Gov. Aggregation
COH             190735370043                Gas           Gov. Aggregation   COH             199762370010                Gas           Gov. Aggregation
COH             176338230024                Gas           Gov. Aggregation   COH             199776340017                Gas           Gov. Aggregation
COH             151228270037                Gas           Gov. Aggregation   COH             194685690030                Gas           Gov. Aggregation
COH             115053840041                Gas           Gov. Aggregation   COH             195184140027                Gas           Gov. Aggregation
COH             195254040038                Gas           Gov. Aggregation   COH             188501350028                Gas           Gov. Aggregation
COH             193230810010                Gas           Gov. Aggregation   COH             122500260018                Gas           Gov. Aggregation
COH             115611670070                Gas           Gov. Aggregation   COH             175033430387                Gas           Gov. Aggregation
COH             151567720132                Gas           Gov. Aggregation   COH             159832190017                Gas           Gov. Aggregation
COH             165036060032                Gas           Gov. Aggregation   COH             153463770041                Gas           Gov. Aggregation
COH             164441720053                Gas           Gov. Aggregation   COH             169512800023                Gas           Gov. Aggregation
COH             194243200029                Gas           Gov. Aggregation   COH             139376510039                Gas           Gov. Aggregation
COH             132379450024                Gas           Gov. Aggregation   COH             127636670010                Gas           Gov. Aggregation
COH             194115560016                Gas           Gov. Aggregation   COH             122407100064                Gas           Gov. Aggregation
COH             187205840042                Gas           Gov. Aggregation   COH             135462150027                Gas           Gov. Aggregation
COH             192198760021                Gas           Gov. Aggregation   COH             172439230051                Gas           Gov. Aggregation
COH             198204920017                Gas           Gov. Aggregation   COH             200133090018                Gas           Gov. Aggregation
COH             197744490015                Gas           Gov. Aggregation   COH             200165920016                Gas           Gov. Aggregation
COH             197833750011                Gas           Gov. Aggregation   COH             171613470025                Gas           Gov. Aggregation
COH             198509220018                Gas           Gov. Aggregation   COH             192120770022                Gas           Gov. Aggregation
COH             150403740046                Gas           Gov. Aggregation   COH             191680720027                Gas           Gov. Aggregation
COH             114949440010                Gas           Gov. Aggregation   COH             197982680011                Gas           Gov. Aggregation
COH             197430570013                Gas           Gov. Aggregation   COH             188961590024                Gas           Gov. Aggregation
COH             175788940078                Gas           Gov. Aggregation   COH             186446540037                Gas           Gov. Aggregation
COH             115077600023                Gas           Gov. Aggregation   COH             199265040013                Gas           Gov. Aggregation
COH             116855490035                Gas           Gov. Aggregation   COH             199064570018                Gas           Gov. Aggregation
COH             192980220016                Gas           Gov. Aggregation   COH             199457690010                Gas           Gov. Aggregation
COH             114964360060                Gas           Gov. Aggregation   COH             198375300016                Gas           Gov. Aggregation
COH             194006100031                Gas           Gov. Aggregation   COH             164827950020                Gas           Gov. Aggregation
COH             194006100059                Gas           Gov. Aggregation   COH             200133100015                Gas           Gov. Aggregation
COH             198498470020                Gas           Gov. Aggregation   COH             200124270019                Gas           Gov. Aggregation
COH             199364800013                Gas           Gov. Aggregation   COH             200032600014                Gas           Gov. Aggregation
COH             199523450019                Gas           Gov. Aggregation   COH             165241950021                Gas           Gov. Aggregation
COH             199570220018                Gas           Gov. Aggregation   COH             176926400030                Gas           Gov. Aggregation
COH             136147320046                Gas           Gov. Aggregation   COH             185137430027                Gas           Gov. Aggregation
COH             199673390015                Gas           Gov. Aggregation   COH             159091670018                Gas           Gov. Aggregation
COH             168329890043                Gas           Gov. Aggregation   COH             195680620015                Gas           Gov. Aggregation
COH             157810010067                Gas           Gov. Aggregation   COH             199219150017                Gas           Gov. Aggregation
COH             133712660021                Gas           Gov. Aggregation   COH             199064510010                Gas           Gov. Aggregation
COH             196522570019                Gas           Gov. Aggregation   COH             199064520018                Gas           Gov. Aggregation
COH             197594690012                Gas           Gov. Aggregation   COH             200109280019                Gas           Gov. Aggregation
COH             198991100012                Gas           Gov. Aggregation   COH             200184400015                Gas           Gov. Aggregation
COH             198925260018                Gas           Gov. Aggregation   COH             199610560011                Gas           Gov. Aggregation
COH             196788750019                Gas           Gov. Aggregation   COH             199560540012                Gas           Gov. Aggregation
COH             196810710018                Gas           Gov. Aggregation   COH             191823420026                Gas           Gov. Aggregation
COH             188133490020                Gas           Gov. Aggregation   COH             171690130097                Gas           Gov. Aggregation
COH             188841480030                Gas           Gov. Aggregation   COH             171776470030                Gas           Gov. Aggregation
COH             192399880039                Gas           Gov. Aggregation   COH             197395250025                Gas           Gov. Aggregation
COH             192337630031                Gas           Gov. Aggregation   COH             193833600025                Gas           Gov. Aggregation
COH             193026220053                Gas           Gov. Aggregation   COH             192397040075                Gas           Gov. Aggregation
COH             169691020010                Gas           Gov. Aggregation   COH             191155200038                Gas           Gov. Aggregation
COH             160442870027                Gas           Gov. Aggregation   COH             187175290034                Gas           Gov. Aggregation
COH             114928500039                Gas           Gov. Aggregation   COH             186018850020                Gas           Gov. Aggregation
COH             191779680018                Gas           Gov. Aggregation   COH             133084670040                Gas           Gov. Aggregation
COH             192971860011                Gas           Gov. Aggregation   COH             130721700571                Gas           Gov. Aggregation
COH             198690000011                Gas           Gov. Aggregation   COH             199733220012                Gas           Gov. Aggregation
COH             199623250019                Gas           Gov. Aggregation   COH             198330330014                Gas           Gov. Aggregation
COH             198029390011                Gas           Gov. Aggregation   COH             198298970010                Gas           Gov. Aggregation
COH             198498460013                Gas           Gov. Aggregation   COH             147711590111                Gas           Gov. Aggregation
COH             199075370017                Gas           Gov. Aggregation   COH             176438940032                Gas           Gov. Aggregation
COH             115030690078                Gas           Gov. Aggregation   COH             200579340011                Gas           Gov. Aggregation
COH             114919420026                Gas           Gov. Aggregation   COH             122500770011                Gas           Gov. Aggregation
COH             114885110033                Gas           Gov. Aggregation   COH             196797430026                Gas           Gov. Aggregation
COH             190864250081                Gas           Gov. Aggregation   COH             194349320011                Gas           Gov. Aggregation
COH             196161700017                Gas           Gov. Aggregation   COH             132122530011                Gas           Gov. Aggregation
COH             197769080019                Gas           Gov. Aggregation   COH             194150140010                Gas           Gov. Aggregation
COH             199649900018                Gas           Gov. Aggregation   COH             198697320010                Gas           Gov. Aggregation
COH             198356470011                Gas           Gov. Aggregation   COH             145642560018                Gas           Gov. Aggregation
COH             197907690017                Gas           Gov. Aggregation   COH             135926210011                Gas           Gov. Aggregation
COH             197859110011                Gas           Gov. Aggregation   COH             111331270018                Gas           Gov. Aggregation
COH             199242650013                Gas           Gov. Aggregation   COH             197420850015                Gas           Gov. Aggregation
COH             198756970018                Gas           Gov. Aggregation   COH             164385870043                Gas           Gov. Aggregation
COH             196979080015                Gas           Gov. Aggregation   COH             185984840017                Gas           Gov. Aggregation
COH             195352090012                Gas           Gov. Aggregation   COH             186207580026                Gas           Gov. Aggregation
COH             188975640033                Gas           Gov. Aggregation   COH             199913000016                Gas           Gov. Aggregation
COH             192394340032                Gas           Gov. Aggregation   COH             176483060032                Gas           Gov. Aggregation
COH             153266460026                Gas           Gov. Aggregation   COH             130699210206                Gas           Gov. Aggregation
COH             185707140038                Gas           Gov. Aggregation   COH             196420830029                Gas           Gov. Aggregation
COH             140503520024                Gas           Gov. Aggregation   COH             173520970025                Gas           Gov. Aggregation
COH             114960880023                Gas           Gov. Aggregation   COH             187180610017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             167214160031                Gas           Gov. Aggregation   COH             120244130020                Gas           Gov. Aggregation
COH             195399200010                Gas           Gov. Aggregation   COH             199900910012                Gas           Gov. Aggregation
VEDO            4019525832623370            Gas           Gov. Aggregation   COH             193266240024                Gas           Gov. Aggregation
VEDO            4019779472623339            Gas           Gov. Aggregation   COH             150912090026                Gas           Gov. Aggregation
VEDO            4019782152623368            Gas           Gov. Aggregation   COH             151526230042                Gas           Gov. Aggregation
VEDO            4015290362538209            Gas           Gov. Aggregation   COH             185896630018                Gas           Gov. Aggregation
VEDO            4002446152178003            Gas           Gov. Aggregation   COH             177045170018                Gas           Gov. Aggregation
VEDO            4018393372568009            Gas           Gov. Aggregation   COH             200102140012                Gas           Gov. Aggregation
VEDO            4016858852369770            Gas           Gov. Aggregation   COH             198987100020                Gas           Gov. Aggregation
VEDO            4019467832427583            Gas           Gov. Aggregation   COH             197480750010                Gas           Gov. Aggregation
VEDO            4019432132489464            Gas           Gov. Aggregation   COH             120218820039                Gas           Gov. Aggregation
VEDO            4019793792123676            Gas           Gov. Aggregation   COH             164514810031                Gas           Gov. Aggregation
VEDO            4019786122319276            Gas           Gov. Aggregation   COH             145266130016                Gas           Gov. Aggregation
VEDO            4016463532260646            Gas           Gov. Aggregation   COH             142066490027                Gas           Gov. Aggregation
VEDO            4019176972439498            Gas           Gov. Aggregation   COH             120170080037                Gas           Gov. Aggregation
VEDO            4017738042128817            Gas           Gov. Aggregation   COH             198115870017                Gas           Gov. Aggregation
VEDO            4018046192410636            Gas           Gov. Aggregation   COH             151910750066                Gas           Gov. Aggregation
VEDO            4018134052496335            Gas           Gov. Aggregation   COH             176508620030                Gas           Gov. Aggregation
VEDO            4019785362253707            Gas           Gov. Aggregation   COH             187460610013                Gas           Gov. Aggregation
VEDO            4019501762119429            Gas           Gov. Aggregation   COH             191138510020                Gas           Gov. Aggregation
VEDO            4019730152250001            Gas           Gov. Aggregation   COH             195875020018                Gas           Gov. Aggregation
VEDO            4019770862108337            Gas           Gov. Aggregation   COH             195475100037                Gas           Gov. Aggregation
VEDO            4019452612275723            Gas           Gov. Aggregation   COH             200132400014                Gas           Gov. Aggregation
VEDO            4019444212318640            Gas           Gov. Aggregation   COH             134667670070                Gas           Gov. Aggregation
VEDO            4016627372110448            Gas           Gov. Aggregation   COH             144161590022                Gas           Gov. Aggregation
VEDO            4016400202235293            Gas           Gov. Aggregation   COH             120169310013                Gas           Gov. Aggregation
VEDO            4019439882219506            Gas           Gov. Aggregation   COH             120169370011                Gas           Gov. Aggregation
VEDO            4019395762453654            Gas           Gov. Aggregation   COH             120171190014                Gas           Gov. Aggregation
VEDO            4019508922412431            Gas           Gov. Aggregation   COH             164651690251                Gas           Gov. Aggregation
VEDO            4003521562444480            Gas           Gov. Aggregation   COH             141604260051                Gas           Gov. Aggregation
VEDO            4018944242518350            Gas           Gov. Aggregation   COH             175927290051                Gas           Gov. Aggregation
VEDO            4010006832487638            Gas           Gov. Aggregation   COH             177588360045                Gas           Gov. Aggregation
VEDO            4019419982520305            Gas           Gov. Aggregation   COH             191094980026                Gas           Gov. Aggregation
VEDO            4016894462169427            Gas           Gov. Aggregation   COH             153705000011                Gas           Gov. Aggregation
VEDO            4019022162463024            Gas           Gov. Aggregation   COH             120158770010                Gas           Gov. Aggregation
VEDO            4019747272245067            Gas           Gov. Aggregation   COH             120159100045                Gas           Gov. Aggregation
VEDO            4019757452401604            Gas           Gov. Aggregation   COH             153483850015                Gas           Gov. Aggregation
VEDO            4019769982283334            Gas           Gov. Aggregation   COH             173668340025                Gas           Gov. Aggregation
VEDO            4001561842513455            Gas           Gov. Aggregation   COH             120423690023                Gas           Gov. Aggregation
VEDO            4001830802178665            Gas           Gov. Aggregation   COH             168264600014                Gas           Gov. Aggregation
VEDO            4019380532192511            Gas           Gov. Aggregation   COH             134828180017                Gas           Gov. Aggregation
VEDO            4019427652331101            Gas           Gov. Aggregation   COH             192347100013                Gas           Gov. Aggregation
VEDO            4016254162635830            Gas           Gov. Aggregation   COH             191046660033                Gas           Gov. Aggregation
VEDO            4002920872646725            Gas           Gov. Aggregation   COH             156693210011                Gas           Gov. Aggregation
VEDO            4017625662197239            Gas           Gov. Aggregation   COH             158637050100                Gas           Gov. Aggregation
VEDO            4017079982231529            Gas           Gov. Aggregation   COH             116990790027                Gas           Gov. Aggregation
VEDO            4001596282439373            Gas           Gov. Aggregation   COH             153859200023                Gas           Gov. Aggregation
VEDO            4001652882441277            Gas           Gov. Aggregation   COH             158217050048                Gas           Gov. Aggregation
VEDO            4018049832212494            Gas           Gov. Aggregation   COH             117376930706                Gas           Gov. Aggregation
VEDO            4018485172158363            Gas           Gov. Aggregation   COH             198317540018                Gas           Gov. Aggregation
VEDO            4019418552289393            Gas           Gov. Aggregation   COH             141053270012                Gas           Gov. Aggregation
VEDO            4002001142539360            Gas           Gov. Aggregation   COH             163353880012                Gas           Gov. Aggregation
VEDO            4004792002239783            Gas           Gov. Aggregation   COH             166095780018                Gas           Gov. Aggregation
VEDO            4003900282439811            Gas           Gov. Aggregation   COH             119679140020                Gas           Gov. Aggregation
VEDO            4002725802363264            Gas           Gov. Aggregation   COH             120449040016                Gas           Gov. Aggregation
VEDO            4017935092487774            Gas           Gov. Aggregation   COH             120447740013                Gas           Gov. Aggregation
VEDO            4016799752325650            Gas           Gov. Aggregation   COH             173249860015                Gas           Gov. Aggregation
VEDO            4003682452366534            Gas           Gov. Aggregation   COH             162256890017                Gas           Gov. Aggregation
VEDO            4019781252164280            Gas           Gov. Aggregation   COH             164666820010                Gas           Gov. Aggregation
VEDO            4019384952201980            Gas           Gov. Aggregation   COH             162592950012                Gas           Gov. Aggregation
VEDO            4018402332246839            Gas           Gov. Aggregation   COH             141624280019                Gas           Gov. Aggregation
VEDO            4019739972406462            Gas           Gov. Aggregation   COH             120448340015                Gas           Gov. Aggregation
VEDO            4002501432295421            Gas           Gov. Aggregation   COH             120456970016                Gas           Gov. Aggregation
VEDO            4001493032410977            Gas           Gov. Aggregation   COH             120457870015                Gas           Gov. Aggregation
VEDO            4001644852382616            Gas           Gov. Aggregation   COH             195109330025                Gas           Gov. Aggregation
VEDO            4017133142340409            Gas           Gov. Aggregation   COH             195053170019                Gas           Gov. Aggregation
COH             153485630017                Gas           Gov. Aggregation   COH             196215500014                Gas           Gov. Aggregation
COH             196338190010                Gas           Gov. Aggregation   COH             196029530031                Gas           Gov. Aggregation
COH             110987650010                Gas           Gov. Aggregation   COH             197289640028                Gas           Gov. Aggregation
COH             196246840018                Gas           Gov. Aggregation   COH             143501610017                Gas           Gov. Aggregation
COH             199087200017                Gas           Gov. Aggregation   COH             195907160010                Gas           Gov. Aggregation
COH             196740190017                Gas           Gov. Aggregation   COH             173460380018                Gas           Gov. Aggregation
COH             198258320010                Gas           Gov. Aggregation   COH             174006000027                Gas           Gov. Aggregation
COH             199239170011                Gas           Gov. Aggregation   COH             173997350017                Gas           Gov. Aggregation
COH             199163220011                Gas           Gov. Aggregation   COH             120458700018                Gas           Gov. Aggregation
COH             197329340016                Gas           Gov. Aggregation   COH             120458150014                Gas           Gov. Aggregation
COH             198075960014                Gas           Gov. Aggregation   COH             130401840034                Gas           Gov. Aggregation
COH             198664090018                Gas           Gov. Aggregation   COH             138641340024                Gas           Gov. Aggregation
COH             194808770031                Gas           Gov. Aggregation   COH             198339830011                Gas           Gov. Aggregation
COH             166559750038                Gas           Gov. Aggregation   COH             197228230031                Gas           Gov. Aggregation
COH             199305750018                Gas           Gov. Aggregation   COH             118136640035                Gas           Gov. Aggregation
COH             197130630016                Gas           Gov. Aggregation   COH             120458010013                Gas           Gov. Aggregation
COH             196872330018                Gas           Gov. Aggregation   COH             120449280025                Gas           Gov. Aggregation
COH             187040190030                Gas           Gov. Aggregation   COH             120459320016                Gas           Gov. Aggregation
COH             111029790047                Gas           Gov. Aggregation   COH             191837200014                Gas           Gov. Aggregation
COH             198085330015                Gas           Gov. Aggregation   COH             192005350015                Gas           Gov. Aggregation
COH             197576300011                Gas           Gov. Aggregation   COH             120446880016                Gas           Gov. Aggregation
COH             198698400011                Gas           Gov. Aggregation   COH             120447140019                Gas           Gov. Aggregation
COH             197026320012                Gas           Gov. Aggregation   COH             120459980018                Gas           Gov. Aggregation
COH             110958310021                Gas           Gov. Aggregation   COH             120447860018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             152316200033                Gas           Gov. Aggregation   COH             120446330011                Gas           Gov. Aggregation
DEO             4180001461559               Gas           Gov. Aggregation   COH             140368830018                Gas           Gov. Aggregation
COH             195675250014                Gas           Gov. Aggregation   COH             130397910012                Gas           Gov. Aggregation
COH             197281950010                Gas           Gov. Aggregation   COH             167311670010                Gas           Gov. Aggregation
COH             194652040044                Gas           Gov. Aggregation   COH             158518680066                Gas           Gov. Aggregation
COH             195323250019                Gas           Gov. Aggregation   COH             158539030077                Gas           Gov. Aggregation
COH             199673450012                Gas           Gov. Aggregation   COH             156485810043                Gas           Gov. Aggregation
COH             197224760010                Gas           Gov. Aggregation   COH             156928590059                Gas           Gov. Aggregation
COH             197796610010                Gas           Gov. Aggregation   COH             120445820010                Gas           Gov. Aggregation
COH             196414090019                Gas           Gov. Aggregation   COH             176340730104                Gas           Gov. Aggregation
COH             158498280037                Gas           Gov. Aggregation   COH             176340730113                Gas           Gov. Aggregation
COH             159851540013                Gas           Gov. Aggregation   COH             174676240028                Gas           Gov. Aggregation
COH             177108900029                Gas           Gov. Aggregation   COH             171877890029                Gas           Gov. Aggregation
COH             166733110050                Gas           Gov. Aggregation   COH             171827210017                Gas           Gov. Aggregation
COH             171617380017                Gas           Gov. Aggregation   COH             173969170103                Gas           Gov. Aggregation
COH             141867250020                Gas           Gov. Aggregation   COH             185827980010                Gas           Gov. Aggregation
COH             194477540014                Gas           Gov. Aggregation   COH             193183360025                Gas           Gov. Aggregation
COH             195002660013                Gas           Gov. Aggregation   COH             193357440010                Gas           Gov. Aggregation
COH             145314240029                Gas           Gov. Aggregation   COH             193638740039                Gas           Gov. Aggregation
COH             115156670012                Gas           Gov. Aggregation   COH             198720960015                Gas           Gov. Aggregation
COH             191392090012                Gas           Gov. Aggregation   COH             120153320014                Gas           Gov. Aggregation
COH             195396310013                Gas           Gov. Aggregation   COH             120153350018                Gas           Gov. Aggregation
COH             176382040067                Gas           Gov. Aggregation   COH             187352990086                Gas           Gov. Aggregation
COH             195602550014                Gas           Gov. Aggregation   COH             148813350034                Gas           Gov. Aggregation
COH             115177250052                Gas           Gov. Aggregation   COH             153028840011                Gas           Gov. Aggregation
COH             193666750010                Gas           Gov. Aggregation   COH             149184340012                Gas           Gov. Aggregation
COH             196299790018                Gas           Gov. Aggregation   COH             120174930021                Gas           Gov. Aggregation
COH             141522000068                Gas           Gov. Aggregation   COH             199997280012                Gas           Gov. Aggregation
COH             198375360014                Gas           Gov. Aggregation   COH             151748820057                Gas           Gov. Aggregation
COH             142059540021                Gas           Gov. Aggregation   COH             190825640027                Gas           Gov. Aggregation
COH             172401070027                Gas           Gov. Aggregation   COH             193401750010                Gas           Gov. Aggregation
COH             196239510012                Gas           Gov. Aggregation   COH             198034250019                Gas           Gov. Aggregation
COH             190175070026                Gas           Gov. Aggregation   COH             133011200014                Gas           Gov. Aggregation
COH             188720810036                Gas           Gov. Aggregation   COH             190078210031                Gas           Gov. Aggregation
COH             134391270051                Gas           Gov. Aggregation   COH             193793230029                Gas           Gov. Aggregation
COH             146070380027                Gas           Gov. Aggregation   COH             160698040039                Gas           Gov. Aggregation
COH             171833260041                Gas           Gov. Aggregation   COH             199526740012                Gas           Gov. Aggregation
COH             199024060019                Gas           Gov. Aggregation   COH             171112700019                Gas           Gov. Aggregation
COH             196826760015                Gas           Gov. Aggregation   COH             161314270041                Gas           Gov. Aggregation
COH             195487240024                Gas           Gov. Aggregation   COH             196288710017                Gas           Gov. Aggregation
COH             199362770014                Gas           Gov. Aggregation   COH             194602290010                Gas           Gov. Aggregation
COH             198294090013                Gas           Gov. Aggregation   COH             175876210010                Gas           Gov. Aggregation
COH             169402760052                Gas           Gov. Aggregation   COH             134594740034                Gas           Gov. Aggregation
COH             169108180058                Gas           Gov. Aggregation   COH             189140580016                Gas           Gov. Aggregation
COH             195865190014                Gas           Gov. Aggregation   COH             146755890037                Gas           Gov. Aggregation
COH             199393580019                Gas           Gov. Aggregation   VEDO            4005115042523668            Gas           Gov. Aggregation
COH             173956900017                Gas           Gov. Aggregation   COH             122477410017                Gas           Gov. Aggregation
COH             176234420024                Gas           Gov. Aggregation   COH             171113310019                Gas           Gov. Aggregation
COH             195972700019                Gas           Gov. Aggregation   VEDO            4015970082247736            Gas           Gov. Aggregation
COH             187414400023                Gas           Gov. Aggregation   DEO             3180002135346               Gas           Gov. Aggregation
COH             198088270012                Gas           Gov. Aggregation   COH             124202380059                Gas           Gov. Aggregation
COH             174375340025                Gas           Gov. Aggregation   COH             167149950043                Gas           Gov. Aggregation
COH             158920940013                Gas           Gov. Aggregation   COH             187689000035                Gas           Gov. Aggregation
COH             164772940047                Gas           Gov. Aggregation   COH             124156070017                Gas           Gov. Aggregation
COH             168177190043                Gas           Gov. Aggregation   COH             124133820026                Gas           Gov. Aggregation
COH             145356040023                Gas           Gov. Aggregation   COH             159874440016                Gas           Gov. Aggregation
COH             171563140067                Gas           Gov. Aggregation   COH             196282540015                Gas           Gov. Aggregation
COH             174581570048                Gas           Gov. Aggregation   COH             199285050019                Gas           Gov. Aggregation
COH             196045890014                Gas           Gov. Aggregation   COH             124038400026                Gas           Gov. Aggregation
COH             196305740013                Gas           Gov. Aggregation   COH             153712440023                Gas           Gov. Aggregation
COH             144460680029                Gas           Gov. Aggregation   COH             174561500017                Gas           Gov. Aggregation
COH             151570940022                Gas           Gov. Aggregation   COH             158871620015                Gas           Gov. Aggregation
COH             173930080023                Gas           Gov. Aggregation   COH             193592190015                Gas           Gov. Aggregation
COH             199660170018                Gas           Gov. Aggregation   COH             123909110012                Gas           Gov. Aggregation
COH             131527860024                Gas           Gov. Aggregation   COH             193821410011                Gas           Gov. Aggregation
COH             200014470010                Gas           Gov. Aggregation   COH             199830450018                Gas           Gov. Aggregation
COH             148880030058                Gas           Gov. Aggregation   COH             199773720013                Gas           Gov. Aggregation
COH             152636920016                Gas           Gov. Aggregation   COH             193350510019                Gas           Gov. Aggregation
COH             139770780064                Gas           Gov. Aggregation   COH             158640390022                Gas           Gov. Aggregation
COH             197716680032                Gas           Gov. Aggregation   COH             163791730015                Gas           Gov. Aggregation
COH             197549980016                Gas           Gov. Aggregation   COH             163397820012                Gas           Gov. Aggregation
COH             197588390018                Gas           Gov. Aggregation   COH             198132900014                Gas           Gov. Aggregation
COH             169427440011                Gas           Gov. Aggregation   COH             198043030016                Gas           Gov. Aggregation
COH             187788140027                Gas           Gov. Aggregation   COH             194650450015                Gas           Gov. Aggregation
COH             189192290054                Gas           Gov. Aggregation   COH             186479300010                Gas           Gov. Aggregation
COH             196018620017                Gas           Gov. Aggregation   COH             186479300029                Gas           Gov. Aggregation
COH             123819760053                Gas           Gov. Aggregation   COH             177855690030                Gas           Gov. Aggregation
COH             123818840012                Gas           Gov. Aggregation   COH             185478740084                Gas           Gov. Aggregation
COH             171983570049                Gas           Gov. Aggregation   COH             185808530069                Gas           Gov. Aggregation
COH             123802610040                Gas           Gov. Aggregation   COH             171912530046                Gas           Gov. Aggregation
COH             198237680019                Gas           Gov. Aggregation   COH             196742510033                Gas           Gov. Aggregation
COH             199401310016                Gas           Gov. Aggregation   COH             197188220011                Gas           Gov. Aggregation
COH             196451300016                Gas           Gov. Aggregation   COH             149304780032                Gas           Gov. Aggregation
COH             139672130040                Gas           Gov. Aggregation   COH             129016630029                Gas           Gov. Aggregation
COH             123868220017                Gas           Gov. Aggregation   COH             130474900029                Gas           Gov. Aggregation
COH             123867530023                Gas           Gov. Aggregation   COH             130555590014                Gas           Gov. Aggregation
COH             199309860017                Gas           Gov. Aggregation   COH             200163670013                Gas           Gov. Aggregation
COH             199341730016                Gas           Gov. Aggregation   COH             196794820011                Gas           Gov. Aggregation
COH             123830050049                Gas           Gov. Aggregation   COH             198298170018                Gas           Gov. Aggregation
COH             123818350015                Gas           Gov. Aggregation   COH             135154950022                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             130277400193                Gas           Gov. Aggregation   COH             135442080042                Gas           Gov. Aggregation
COH             196148450027                Gas           Gov. Aggregation   COH             145820590041                Gas           Gov. Aggregation
COH             195699080010                Gas           Gov. Aggregation   COH             155614350019                Gas           Gov. Aggregation
COH             191360380036                Gas           Gov. Aggregation   COH             154968530022                Gas           Gov. Aggregation
COH             191896010029                Gas           Gov. Aggregation   COH             165235490012                Gas           Gov. Aggregation
COH             126444160104                Gas           Gov. Aggregation   COH             167188900014                Gas           Gov. Aggregation
COH             156667770073                Gas           Gov. Aggregation   COH             189594610027                Gas           Gov. Aggregation
COH             166323000525                Gas           Gov. Aggregation   COH             192163950015                Gas           Gov. Aggregation
COH             166996680055                Gas           Gov. Aggregation   COH             191415920044                Gas           Gov. Aggregation
COH             160759980050                Gas           Gov. Aggregation   COH             191766830013                Gas           Gov. Aggregation
COH             197927220013                Gas           Gov. Aggregation   COH             191095260016                Gas           Gov. Aggregation
COH             195420730030                Gas           Gov. Aggregation   COH             123964480046                Gas           Gov. Aggregation
COH             194767280032                Gas           Gov. Aggregation   COH             191385630013                Gas           Gov. Aggregation
COH             197687650013                Gas           Gov. Aggregation   COH             188517390027                Gas           Gov. Aggregation
COH             135367470068                Gas           Gov. Aggregation   COH             149832200016                Gas           Gov. Aggregation
COH             198854590010                Gas           Gov. Aggregation   COH             185106780010                Gas           Gov. Aggregation
COH             198006070016                Gas           Gov. Aggregation   COH             176136210017                Gas           Gov. Aggregation
COH             199456560019                Gas           Gov. Aggregation   COH             199165880019                Gas           Gov. Aggregation
COH             123762950081                Gas           Gov. Aggregation   COH             199877510017                Gas           Gov. Aggregation
COH             195479820010                Gas           Gov. Aggregation   COH             198702880010                Gas           Gov. Aggregation
COH             123808390018                Gas           Gov. Aggregation   COH             198988100019                Gas           Gov. Aggregation
COH             187392820032                Gas           Gov. Aggregation   COH             195536660012                Gas           Gov. Aggregation
COH             196958660017                Gas           Gov. Aggregation   COH             196236940027                Gas           Gov. Aggregation
COH             160220470076                Gas           Gov. Aggregation   COH             175462950058                Gas           Gov. Aggregation
COH             195705830017                Gas           Gov. Aggregation   COH             170550120014                Gas           Gov. Aggregation
COH             195898910013                Gas           Gov. Aggregation   COH             171273120011                Gas           Gov. Aggregation
COH             185504750012                Gas           Gov. Aggregation   COH             143510250041                Gas           Gov. Aggregation
COH             185881650024                Gas           Gov. Aggregation   COH             153697240038                Gas           Gov. Aggregation
COH             138311710301                Gas           Gov. Aggregation   COH             154434640020                Gas           Gov. Aggregation
COH             199727980016                Gas           Gov. Aggregation   COH             154489510086                Gas           Gov. Aggregation
COH             123822620046                Gas           Gov. Aggregation   COH             157393840032                Gas           Gov. Aggregation
COH             141661020024                Gas           Gov. Aggregation   COH             124014140021                Gas           Gov. Aggregation
COH             123904320018                Gas           Gov. Aggregation   COH             136555290075                Gas           Gov. Aggregation
COH             192560750033                Gas           Gov. Aggregation   COH             147276690025                Gas           Gov. Aggregation
COH             196926760013                Gas           Gov. Aggregation   COH             124261650021                Gas           Gov. Aggregation
DEO             3422100899963               Gas           Gov. Aggregation   COH             141588610026                Gas           Gov. Aggregation
COH             164949770360                Gas           Gov. Aggregation   COH             124132470013                Gas           Gov. Aggregation
COH             164949770379                Gas           Gov. Aggregation   COH             124132490019                Gas           Gov. Aggregation
COH             196457500012                Gas           Gov. Aggregation   COH             143906150016                Gas           Gov. Aggregation
COH             122676080024                Gas           Gov. Aggregation   COH             149913390015                Gas           Gov. Aggregation
COH             122350260026                Gas           Gov. Aggregation   COH             154730650011                Gas           Gov. Aggregation
COH             171911550017                Gas           Gov. Aggregation   COH             161075780024                Gas           Gov. Aggregation
COH             172628990024                Gas           Gov. Aggregation   COH             197711940019                Gas           Gov. Aggregation
COH             174562590017                Gas           Gov. Aggregation   COH             198021500031                Gas           Gov. Aggregation
COH             175183520014                Gas           Gov. Aggregation   COH             197048260019                Gas           Gov. Aggregation
COH             175089050013                Gas           Gov. Aggregation   COH             197392550019                Gas           Gov. Aggregation
COH             174127790017                Gas           Gov. Aggregation   COH             194031910038                Gas           Gov. Aggregation
COH             167633820016                Gas           Gov. Aggregation   COH             189952980057                Gas           Gov. Aggregation
COH             167694660012                Gas           Gov. Aggregation   COH             191914590037                Gas           Gov. Aggregation
COH             168351130018                Gas           Gov. Aggregation   COH             191188490020                Gas           Gov. Aggregation
COH             168038310023                Gas           Gov. Aggregation   COH             158543210025                Gas           Gov. Aggregation
COH             166655300010                Gas           Gov. Aggregation   COH             160141340053                Gas           Gov. Aggregation
COH             166760990013                Gas           Gov. Aggregation   COH             168706220016                Gas           Gov. Aggregation
COH             166748910033                Gas           Gov. Aggregation   COH             124037810013                Gas           Gov. Aggregation
COH             166817470011                Gas           Gov. Aggregation   COH             124157970016                Gas           Gov. Aggregation
COH             167198150039                Gas           Gov. Aggregation   COH             124156560014                Gas           Gov. Aggregation
COH             158534890040                Gas           Gov. Aggregation   COH             124137210035                Gas           Gov. Aggregation
COH             159357280016                Gas           Gov. Aggregation   COH             124015270022                Gas           Gov. Aggregation
COH             158923430014                Gas           Gov. Aggregation   COH             176929360060                Gas           Gov. Aggregation
COH             158875020068                Gas           Gov. Aggregation   COH             197925110010                Gas           Gov. Aggregation
COH             158025160079                Gas           Gov. Aggregation   COH             197182570010                Gas           Gov. Aggregation
COH             158048010036                Gas           Gov. Aggregation   COH             200258640018                Gas           Gov. Aggregation
COH             172976430015                Gas           Gov. Aggregation   COH             198655240015                Gas           Gov. Aggregation
COH             172966610018                Gas           Gov. Aggregation   COH             198941830014                Gas           Gov. Aggregation
COH             172717920029                Gas           Gov. Aggregation   COH             124263620023                Gas           Gov. Aggregation
COH             172749430016                Gas           Gov. Aggregation   COH             167166200026                Gas           Gov. Aggregation
COH             165402040020                Gas           Gov. Aggregation   COH             166071810039                Gas           Gov. Aggregation
COH             160260820023                Gas           Gov. Aggregation   COH             124156990014                Gas           Gov. Aggregation
COH             159872870029                Gas           Gov. Aggregation   COH             124157640015                Gas           Gov. Aggregation
COH             163185310027                Gas           Gov. Aggregation   COH             124217250037                Gas           Gov. Aggregation
COH             162566220010                Gas           Gov. Aggregation   COH             124133220013                Gas           Gov. Aggregation
COH             162667940015                Gas           Gov. Aggregation   COH             124133330010                Gas           Gov. Aggregation
COH             162698160023                Gas           Gov. Aggregation   COH             124133810019                Gas           Gov. Aggregation
COH             162727630012                Gas           Gov. Aggregation   COH             129209550054                Gas           Gov. Aggregation
COH             164817050057                Gas           Gov. Aggregation   COH             124262770015                Gas           Gov. Aggregation
COH             164882340013                Gas           Gov. Aggregation   COH             124262890010                Gas           Gov. Aggregation
COH             164588410030                Gas           Gov. Aggregation   COH             124267490014                Gas           Gov. Aggregation
COH             164611270011                Gas           Gov. Aggregation   COH             124272350049                Gas           Gov. Aggregation
COH             164697580016                Gas           Gov. Aggregation   COH             146309530019                Gas           Gov. Aggregation
COH             163845350010                Gas           Gov. Aggregation   COH             145859920086                Gas           Gov. Aggregation
COH             163633840016                Gas           Gov. Aggregation   COH             148544320077                Gas           Gov. Aggregation
COH             163973420014                Gas           Gov. Aggregation   COH             167276430016                Gas           Gov. Aggregation
COH             164059030013                Gas           Gov. Aggregation   COH             166935990030                Gas           Gov. Aggregation
COH             164126850018                Gas           Gov. Aggregation   COH             164925890016                Gas           Gov. Aggregation
COH             188402710022                Gas           Gov. Aggregation   COH             141488620017                Gas           Gov. Aggregation
COH             188448290025                Gas           Gov. Aggregation   COH             173856090065                Gas           Gov. Aggregation
COH             188563910011                Gas           Gov. Aggregation   COH             192925380037                Gas           Gov. Aggregation
COH             188550400015                Gas           Gov. Aggregation   COH             190816090022                Gas           Gov. Aggregation
COH             186675560029                Gas           Gov. Aggregation   COH             186776740018                Gas           Gov. Aggregation
COH             186884310019                Gas           Gov. Aggregation   COH             135222760018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             186906870032                Gas           Gov. Aggregation   COH             141032070036                Gas           Gov. Aggregation
COH             177720380012                Gas           Gov. Aggregation   COH             141032070054                Gas           Gov. Aggregation
COH             177503870019                Gas           Gov. Aggregation   COH             129571060014                Gas           Gov. Aggregation
COH             175498600010                Gas           Gov. Aggregation   COH             199662220013                Gas           Gov. Aggregation
COH             176039890011                Gas           Gov. Aggregation   COH             195240420019                Gas           Gov. Aggregation
COH             176211150010                Gas           Gov. Aggregation   COH             193556320022                Gas           Gov. Aggregation
COH             176211190012                Gas           Gov. Aggregation   COH             162831270017                Gas           Gov. Aggregation
COH             176546360017                Gas           Gov. Aggregation   COH             124186320048                Gas           Gov. Aggregation
COH             176322250023                Gas           Gov. Aggregation   COH             162632570034                Gas           Gov. Aggregation
COH             176978910016                Gas           Gov. Aggregation   COH             152629950015                Gas           Gov. Aggregation
COH             190634930021                Gas           Gov. Aggregation   COH             141634560019                Gas           Gov. Aggregation
COH             190769860021                Gas           Gov. Aggregation   COH             165110450014                Gas           Gov. Aggregation
COH             190428630012                Gas           Gov. Aggregation   COH             124268780011                Gas           Gov. Aggregation
COH             119768710030                Gas           Gov. Aggregation   COH             124133310041                Gas           Gov. Aggregation
COH             119909360043                Gas           Gov. Aggregation   COH             123942070020                Gas           Gov. Aggregation
COH             119912210029                Gas           Gov. Aggregation   COH             146049070027                Gas           Gov. Aggregation
COH             119387240037                Gas           Gov. Aggregation   COH             146666890027                Gas           Gov. Aggregation
COH             119387390045                Gas           Gov. Aggregation   COH             151842970065                Gas           Gov. Aggregation
COH             120275040033                Gas           Gov. Aggregation   COH             156512570018                Gas           Gov. Aggregation
COH             118303200032                Gas           Gov. Aggregation   COH             163675390013                Gas           Gov. Aggregation
COH             118261150033                Gas           Gov. Aggregation   COH             169730480083                Gas           Gov. Aggregation
COH             118255500032                Gas           Gov. Aggregation   COH             199014350019                Gas           Gov. Aggregation
COH             118327450021                Gas           Gov. Aggregation   COH             198579850019                Gas           Gov. Aggregation
COH             118089990060                Gas           Gov. Aggregation   COH             200064290013                Gas           Gov. Aggregation
COH             118202220023                Gas           Gov. Aggregation   COH             175120120056                Gas           Gov. Aggregation
COH             160633240015                Gas           Gov. Aggregation   COH             176139290015                Gas           Gov. Aggregation
COH             192047980015                Gas           Gov. Aggregation   COH             190187030038                Gas           Gov. Aggregation
COH             192188930017                Gas           Gov. Aggregation   COH             188480250016                Gas           Gov. Aggregation
COH             117555370062                Gas           Gov. Aggregation   COH             193249520030                Gas           Gov. Aggregation
COH             117555490021                Gas           Gov. Aggregation   COH             193187070019                Gas           Gov. Aggregation
COH             117270490034                Gas           Gov. Aggregation   COH             152715740016                Gas           Gov. Aggregation
COH             117348640028                Gas           Gov. Aggregation   COH             168747780013                Gas           Gov. Aggregation
COH             117475600027                Gas           Gov. Aggregation   COH             123909900016                Gas           Gov. Aggregation
COH             111379190033                Gas           Gov. Aggregation   COH             124131840339                Gas           Gov. Aggregation
COH             116876820059                Gas           Gov. Aggregation   COH             186753550016                Gas           Gov. Aggregation
COH             169211470021                Gas           Gov. Aggregation   COH             186037050028                Gas           Gov. Aggregation
COH             169239280023                Gas           Gov. Aggregation   COH             197729710010                Gas           Gov. Aggregation
COH             169504810028                Gas           Gov. Aggregation   COH             197807950014                Gas           Gov. Aggregation
COH             169509050046                Gas           Gov. Aggregation   COH             197314710019                Gas           Gov. Aggregation
COH             135149200020                Gas           Gov. Aggregation   COH             195311850018                Gas           Gov. Aggregation
COH             134804640038                Gas           Gov. Aggregation   COH             176942370042                Gas           Gov. Aggregation
COH             134339240020                Gas           Gov. Aggregation   COH             131122570014                Gas           Gov. Aggregation
COH             134448740051                Gas           Gov. Aggregation   COH             123966310029                Gas           Gov. Aggregation
COH             132942880029                Gas           Gov. Aggregation   COH             123917030012                Gas           Gov. Aggregation
COH             132758490022                Gas           Gov. Aggregation   COH             123910030016                Gas           Gov. Aggregation
COH             140179680020                Gas           Gov. Aggregation   COH             123909780012                Gas           Gov. Aggregation
COH             140263840027                Gas           Gov. Aggregation   COH             198587190011                Gas           Gov. Aggregation
COH             140081590026                Gas           Gov. Aggregation   COH             199134060016                Gas           Gov. Aggregation
COH             140003050032                Gas           Gov. Aggregation   COH             137775620014                Gas           Gov. Aggregation
COH             140591520047                Gas           Gov. Aggregation   COH             138585770015                Gas           Gov. Aggregation
COH             142876240040                Gas           Gov. Aggregation   COH             135896280012                Gas           Gov. Aggregation
COH             142893140027                Gas           Gov. Aggregation   COH             138662170017                Gas           Gov. Aggregation
COH             142933570021                Gas           Gov. Aggregation   COH             138795360016                Gas           Gov. Aggregation
COH             142704350031                Gas           Gov. Aggregation   COH             140371700018                Gas           Gov. Aggregation
COH             151189130021                Gas           Gov. Aggregation   COH             177389490013                Gas           Gov. Aggregation
COH             151708880031                Gas           Gov. Aggregation   COH             152593400017                Gas           Gov. Aggregation
COH             151716880025                Gas           Gov. Aggregation   COH             163097080078                Gas           Gov. Aggregation
COH             151648020020                Gas           Gov. Aggregation   COH             163349450075                Gas           Gov. Aggregation
COH             151628330063                Gas           Gov. Aggregation   COH             154819180012                Gas           Gov. Aggregation
COH             153108490024                Gas           Gov. Aggregation   COH             123941850019                Gas           Gov. Aggregation
COH             152850220055                Gas           Gov. Aggregation   COH             164663890049                Gas           Gov. Aggregation
COH             152802540040                Gas           Gov. Aggregation   COH             166344080016                Gas           Gov. Aggregation
COH             152656240026                Gas           Gov. Aggregation   COH             166875340016                Gas           Gov. Aggregation
COH             155464080033                Gas           Gov. Aggregation   COH             168503210027                Gas           Gov. Aggregation
COH             155473060038                Gas           Gov. Aggregation   COH             167702870019                Gas           Gov. Aggregation
COH             199777770015                Gas           Gov. Aggregation   COH             123943490011                Gas           Gov. Aggregation
COH             199721540010                Gas           Gov. Aggregation   COH             123943500018                Gas           Gov. Aggregation
COH             200002670013                Gas           Gov. Aggregation   COH             123943610015                Gas           Gov. Aggregation
COH             199967670013                Gas           Gov. Aggregation   COH             130461280018                Gas           Gov. Aggregation
COH             199983610011                Gas           Gov. Aggregation   COH             132820070036                Gas           Gov. Aggregation
COH             199786490015                Gas           Gov. Aggregation   COH             124170260026                Gas           Gov. Aggregation
COH             199802860011                Gas           Gov. Aggregation   COH             124078960025                Gas           Gov. Aggregation
COH             194633230017                Gas           Gov. Aggregation   COH             197010600016                Gas           Gov. Aggregation
COH             194706120015                Gas           Gov. Aggregation   COH             141361500109                Gas           Gov. Aggregation
COH             193899470016                Gas           Gov. Aggregation   COH             163948290015                Gas           Gov. Aggregation
COH             193748700025                Gas           Gov. Aggregation   COH             161008380010                Gas           Gov. Aggregation
COH             194189401951                Gas           Gov. Aggregation   COH             159847320036                Gas           Gov. Aggregation
COH             194341070029                Gas           Gov. Aggregation   COH             158951700018                Gas           Gov. Aggregation
COH             196807000014                Gas           Gov. Aggregation   COH             132658380018                Gas           Gov. Aggregation
COH             196718540010                Gas           Gov. Aggregation   COH             134601120046                Gas           Gov. Aggregation
COH             196644690016                Gas           Gov. Aggregation   COH             139088330065                Gas           Gov. Aggregation
COH             196412410015                Gas           Gov. Aggregation   COH             137161880075                Gas           Gov. Aggregation
COH             195286560023                Gas           Gov. Aggregation   COH             137412600025                Gas           Gov. Aggregation
COH             195307790029                Gas           Gov. Aggregation   COH             124301860012                Gas           Gov. Aggregation
COH             195137620016                Gas           Gov. Aggregation   COH             124302130013                Gas           Gov. Aggregation
COH             195233780019                Gas           Gov. Aggregation   COH             199729210013                Gas           Gov. Aggregation
COH             195237040016                Gas           Gov. Aggregation   COH             200094240010                Gas           Gov. Aggregation
COH             195180440013                Gas           Gov. Aggregation   COH             196556540014                Gas           Gov. Aggregation
COH             197902940014                Gas           Gov. Aggregation   COH             196449960013                Gas           Gov. Aggregation
COH             197667920018                Gas           Gov. Aggregation   COH             189789220017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             197653930015                Gas           Gov. Aggregation   COH             189694750026                Gas           Gov. Aggregation
COH             197587780018                Gas           Gov. Aggregation   COH             189589690013                Gas           Gov. Aggregation
COH             196915280017                Gas           Gov. Aggregation   COH             189544550025                Gas           Gov. Aggregation
COH             197149750012                Gas           Gov. Aggregation   COH             187390420030                Gas           Gov. Aggregation
COH             197371310013                Gas           Gov. Aggregation   COH             188165280018                Gas           Gov. Aggregation
COH             197338370011                Gas           Gov. Aggregation   COH             188939770023                Gas           Gov. Aggregation
COH             197313580019                Gas           Gov. Aggregation   COH             190047390020                Gas           Gov. Aggregation
COH             198916420013                Gas           Gov. Aggregation   COH             171895360022                Gas           Gov. Aggregation
COH             199513220018                Gas           Gov. Aggregation   COH             196563750015                Gas           Gov. Aggregation
COH             199459940013                Gas           Gov. Aggregation   COH             114813750021                Gas           Gov. Aggregation
COH             199421940012                Gas           Gov. Aggregation   DEO             0500036457119               Gas           Gov. Aggregation
COH             199313060016                Gas           Gov. Aggregation   COH             200144990016                Gas           Gov. Aggregation
COH             118023650032                Gas           Gov. Aggregation   VEDO            4001391992157011            Gas           Gov. Aggregation
COH             144880280032                Gas           Gov. Aggregation   VEDO            4001391992453460            Gas           Gov. Aggregation
COH             144860190024                Gas           Gov. Aggregation   VEDO            4001391992343912            Gas           Gov. Aggregation
COH             144593440055                Gas           Gov. Aggregation   VEDO            4001391992369539            Gas           Gov. Aggregation
COH             143739530039                Gas           Gov. Aggregation   VEDO            4002978502365998            Gas           Gov. Aggregation
COH             143552960035                Gas           Gov. Aggregation   VEDO            4002978502279710            Gas           Gov. Aggregation
COH             145284550047                Gas           Gov. Aggregation   VEDO            4001391992136762            Gas           Gov. Aggregation
COH             145731170039                Gas           Gov. Aggregation   DEO             9120000180212               Gas           Gov. Aggregation
COH             199013080018                Gas           Gov. Aggregation   VEDO            4001443962306513            Gas           Gov. Aggregation
COH             118872840033                Gas           Gov. Aggregation   VEDO            4001841142505568            Gas           Gov. Aggregation
COH             118848610023                Gas           Gov. Aggregation   VEDO            4003826232297811            Gas           Gov. Aggregation
COH             199427510010                Gas           Gov. Aggregation   VEDO            4015938422228945            Gas           Gov. Aggregation
COH             192475560025                Gas           Gov. Aggregation   VEDO            4019284502477374            Gas           Gov. Aggregation
COH             196060220012                Gas           Gov. Aggregation   VEDO            4019428142172826            Gas           Gov. Aggregation
COH             142576790023                Gas           Gov. Aggregation   VEDO            4019744992234165            Gas           Gov. Aggregation
COH             199802780018                Gas           Gov. Aggregation   VEDO            4019494172396102            Gas           Gov. Aggregation
COH             176867300019                Gas           Gov. Aggregation   VEDO            4019512002630496            Gas           Gov. Aggregation
COH             126968570028                Gas           Gov. Aggregation   VEDO            4017478152276761            Gas           Gov. Aggregation
COH             140384070023                Gas           Gov. Aggregation   VEDO            4019504102132248            Gas           Gov. Aggregation
COH             185170710082                Gas           Gov. Aggregation   VEDO            4002391932205655            Gas           Gov. Aggregation
COH             186651080011                Gas           Gov. Aggregation   VEDO            4019456922370477            Gas           Gov. Aggregation
COH             199356590015                Gas           Gov. Aggregation   VEDO            4019868372481700            Gas           Gov. Aggregation
COH             137978990026                Gas           Gov. Aggregation   VEDO            4019738622212330            Gas           Gov. Aggregation
COH             136809460034                Gas           Gov. Aggregation   VEDO            4019236952210759            Gas           Gov. Aggregation
COH             150163050023                Gas           Gov. Aggregation   VEDO            4016026592142818            Gas           Gov. Aggregation
COH             148156710014                Gas           Gov. Aggregation   VEDO            4015891382420881            Gas           Gov. Aggregation
COH             121379500035                Gas           Gov. Aggregation   VEDO            4017726592342051            Gas           Gov. Aggregation
COH             173629970016                Gas           Gov. Aggregation   VEDO            4005095052100478            Gas           Gov. Aggregation
COH             149853500019                Gas           Gov. Aggregation   VEDO            4019269082254725            Gas           Gov. Aggregation
COH             118330570029                Gas           Gov. Aggregation   VEDO            4018255112175386            Gas           Gov. Aggregation
COH             142684630018                Gas           Gov. Aggregation   VEDO            4003849022384380            Gas           Gov. Aggregation
COH             194375760014                Gas           Gov. Aggregation   VEDO            4001789212509758            Gas           Gov. Aggregation
COH             199967530012                Gas           Gov. Aggregation   VEDO            4019833372378747            Gas           Gov. Aggregation
COH             149661930016                Gas           Gov. Aggregation   VEDO            4019515202340002            Gas           Gov. Aggregation
COH             157640420026                Gas           Gov. Aggregation   VEDO            4019754992448498            Gas           Gov. Aggregation
COH             151114720060                Gas           Gov. Aggregation   VEDO            4019402562496389            Gas           Gov. Aggregation
COH             147416400018                Gas           Gov. Aggregation   VEDO            4019735822294710            Gas           Gov. Aggregation
COH             153212040027                Gas           Gov. Aggregation   VEDO            4019527042220777            Gas           Gov. Aggregation
COH             198678050017                Gas           Gov. Aggregation   VEDO            4019428002445368            Gas           Gov. Aggregation
COH             197722710014                Gas           Gov. Aggregation   VEDO            4019417892160182            Gas           Gov. Aggregation
COH             173120980021                Gas           Gov. Aggregation   VEDO            4016592822387970            Gas           Gov. Aggregation
COH             157225890028                Gas           Gov. Aggregation   VEDO            4017114292394138            Gas           Gov. Aggregation
COH             119313120028                Gas           Gov. Aggregation   VEDO            4015033302260385            Gas           Gov. Aggregation
COH             132285830023                Gas           Gov. Aggregation   VEDO            4002482252243119            Gas           Gov. Aggregation
COH             117273580039                Gas           Gov. Aggregation   VEDO            4018445472172949            Gas           Gov. Aggregation
COH             134912500047                Gas           Gov. Aggregation   VEDO            4017439912186956            Gas           Gov. Aggregation
COH             171004360029                Gas           Gov. Aggregation   VEDO            4019246462195770            Gas           Gov. Aggregation
COH             118201420023                Gas           Gov. Aggregation   VEDO            4019218272213162            Gas           Gov. Aggregation
COH             196462420018                Gas           Gov. Aggregation   VEDO            4016782862342886            Gas           Gov. Aggregation
COH             142819690019                Gas           Gov. Aggregation   VEDO            4015962312231117            Gas           Gov. Aggregation
COH             192047120015                Gas           Gov. Aggregation   VEDO            4015731172403005            Gas           Gov. Aggregation
COH             193431220018                Gas           Gov. Aggregation   VEDO            4015670892498133            Gas           Gov. Aggregation
COH             195713150013                Gas           Gov. Aggregation   VEDO            4016701662477579            Gas           Gov. Aggregation
COH             194901360011                Gas           Gov. Aggregation   VEDO            4001097842109295            Gas           Gov. Aggregation
COH             163210440052                Gas           Gov. Aggregation   VEDO            4001262332514891            Gas           Gov. Aggregation
COH             138246790046                Gas           Gov. Aggregation   VEDO            4003062722277464            Gas           Gov. Aggregation
COH             135022680028                Gas           Gov. Aggregation   VEDO            4018242772429204            Gas           Gov. Aggregation
COH             199645110012                Gas           Gov. Aggregation   VEDO            4003289672483820            Gas           Gov. Aggregation
COH             197932380019                Gas           Gov. Aggregation   VEDO            4004057352406857            Gas           Gov. Aggregation
COH             142484710033                Gas           Gov. Aggregation   VEDO            4004357982231835            Gas           Gov. Aggregation
COH             167102600035                Gas           Gov. Aggregation   VEDO            4002901232151960            Gas           Gov. Aggregation
COH             163742250019                Gas           Gov. Aggregation   VEDO            4019287612404375            Gas           Gov. Aggregation
COH             170529870021                Gas           Gov. Aggregation   VEDO            4019738612198454            Gas           Gov. Aggregation
COH             140388140039                Gas           Gov. Aggregation   VEDO            4019482142443540            Gas           Gov. Aggregation
COH             144566970033                Gas           Gov. Aggregation   VEDO            4019367242249951            Gas           Gov. Aggregation
COH             199883940014                Gas           Gov. Aggregation   VEDO            4001855072498213            Gas           Gov. Aggregation
COH             126866250067                Gas           Gov. Aggregation   VEDO            4001442432141374            Gas           Gov. Aggregation
COH             167541030026                Gas           Gov. Aggregation   VEDO            4015815852365177            Gas           Gov. Aggregation
COH             172391870013                Gas           Gov. Aggregation   VEDO            4016710502478191            Gas           Gov. Aggregation
COH             163574250016                Gas           Gov. Aggregation   VEDO            4016746502242268            Gas           Gov. Aggregation
COH             177237640012                Gas           Gov. Aggregation   VEDO            4016768432328372            Gas           Gov. Aggregation
COH             185511190024                Gas           Gov. Aggregation   VEDO            4017345922373059            Gas           Gov. Aggregation
COH             118280210021                Gas           Gov. Aggregation   VEDO            4018102882292179            Gas           Gov. Aggregation
COH             194000980020                Gas           Gov. Aggregation   VEDO            4010076482104559            Gas           Gov. Aggregation
COH             199909460019                Gas           Gov. Aggregation   VEDO            4001559032132367            Gas           Gov. Aggregation
COH             186936240022                Gas           Gov. Aggregation   VEDO            4019804772148359            Gas           Gov. Aggregation
COH             130855740034                Gas           Gov. Aggregation   VEDO            4019865322130166            Gas           Gov. Aggregation
COH             199513060012                Gas           Gov. Aggregation   VEDO            4019754252497821            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             197382310010                Gas           Gov. Aggregation   VEDO            4019417072368577            Gas           Gov. Aggregation
COH             197989240019                Gas           Gov. Aggregation   VEDO            4019818372188597            Gas           Gov. Aggregation
COH             187583550016                Gas           Gov. Aggregation   VEDO            4019821432257306            Gas           Gov. Aggregation
COH             173269830019                Gas           Gov. Aggregation   VEDO            4018916002176947            Gas           Gov. Aggregation
COH             148475340025                Gas           Gov. Aggregation   VEDO            4004456732155571            Gas           Gov. Aggregation
COH             153255960033                Gas           Gov. Aggregation   VEDO            4003618652181576            Gas           Gov. Aggregation
COH             153363990029                Gas           Gov. Aggregation   VEDO            4003421352502083            Gas           Gov. Aggregation
COH             156124210016                Gas           Gov. Aggregation   VEDO            4019465302356174            Gas           Gov. Aggregation
COH             155176820010                Gas           Gov. Aggregation   VEDO            4018268222256981            Gas           Gov. Aggregation
COH             155334360011                Gas           Gov. Aggregation   VEDO            4018268302370023            Gas           Gov. Aggregation
COH             149994260030                Gas           Gov. Aggregation   VEDO            4018214342166828            Gas           Gov. Aggregation
COH             165455860018                Gas           Gov. Aggregation   VEDO            4018478272145751            Gas           Gov. Aggregation
COH             158095390010                Gas           Gov. Aggregation   VEDO            4019090472519544            Gas           Gov. Aggregation
COH             157842060024                Gas           Gov. Aggregation   VEDO            4019254732645706            Gas           Gov. Aggregation
COH             172452450020                Gas           Gov. Aggregation   VEDO            4019463422643619            Gas           Gov. Aggregation
COH             172702850016                Gas           Gov. Aggregation   VEDO            4019855812473009            Gas           Gov. Aggregation
COH             194779300023                Gas           Gov. Aggregation   VEDO            4018496062636785            Gas           Gov. Aggregation
COH             145051570028                Gas           Gov. Aggregation   VEDO            4015620562260272            Gas           Gov. Aggregation
COH             164746310017                Gas           Gov. Aggregation   VEDO            4016778982422713            Gas           Gov. Aggregation
COH             147936170024                Gas           Gov. Aggregation   VEDO            4015775032253405            Gas           Gov. Aggregation
COH             177756830012                Gas           Gov. Aggregation   VEDO            4019833442641373            Gas           Gov. Aggregation
COH             192833730010                Gas           Gov. Aggregation   VEDO            4019500242639155            Gas           Gov. Aggregation
COH             193151230029                Gas           Gov. Aggregation   VEDO            4019310232214569            Gas           Gov. Aggregation
COH             156571370025                Gas           Gov. Aggregation   VEDO            4001972742192681            Gas           Gov. Aggregation
COH             176263390039                Gas           Gov. Aggregation   VEDO            4001273552125762            Gas           Gov. Aggregation
COH             176097540030                Gas           Gov. Aggregation   VEDO            4015361772643802            Gas           Gov. Aggregation
COH             187465290039                Gas           Gov. Aggregation   VEDO            4019393622647147            Gas           Gov. Aggregation
COH             119912870049                Gas           Gov. Aggregation   VEDO            4019526252641564            Gas           Gov. Aggregation
COH             191421280019                Gas           Gov. Aggregation   VEDO            4018052432165779            Gas           Gov. Aggregation
COH             199054160015                Gas           Gov. Aggregation   VEDO            4015587562143488            Gas           Gov. Aggregation
COH             174840820027                Gas           Gov. Aggregation   VEDO            4019256532200029            Gas           Gov. Aggregation
COH             145607440017                Gas           Gov. Aggregation   VEDO            4019440762407405            Gas           Gov. Aggregation
COH             196861860010                Gas           Gov. Aggregation   VEDO            4019442402318354            Gas           Gov. Aggregation
COH             118085730035                Gas           Gov. Aggregation   VEDO            4019436732106625            Gas           Gov. Aggregation
COH             118500560039                Gas           Gov. Aggregation   VEDO            4019385622440663            Gas           Gov. Aggregation
COH             117603350036                Gas           Gov. Aggregation   VEDO            4001878562183241            Gas           Gov. Aggregation
COH             118253620022                Gas           Gov. Aggregation   VEDO            4001071532421051            Gas           Gov. Aggregation
COH             132594080035                Gas           Gov. Aggregation   VEDO            4001816822177277            Gas           Gov. Aggregation
COH             191125210011                Gas           Gov. Aggregation   VEDO            4001513192148069            Gas           Gov. Aggregation
COH             186289360011                Gas           Gov. Aggregation   VEDO            4001221422485153            Gas           Gov. Aggregation
COH             197587630019                Gas           Gov. Aggregation   VEDO            4017281092179046            Gas           Gov. Aggregation
COH             157194500017                Gas           Gov. Aggregation   VEDO            4005028322513888            Gas           Gov. Aggregation
COH             151544310010                Gas           Gov. Aggregation   VEDO            4004859082179993            Gas           Gov. Aggregation
COH             199901300018                Gas           Gov. Aggregation   VEDO            4017015112232827            Gas           Gov. Aggregation
COH             172978970027                Gas           Gov. Aggregation   VEDO            4019770002246375            Gas           Gov. Aggregation
COH             159186610019                Gas           Gov. Aggregation   VEDO            4019251802238472            Gas           Gov. Aggregation
COH             169611420023                Gas           Gov. Aggregation   VEDO            4018553962425090            Gas           Gov. Aggregation
COH             118050810013                Gas           Gov. Aggregation   VEDO            4019868332222716            Gas           Gov. Aggregation
COH             133837240025                Gas           Gov. Aggregation   VEDO            4019518562648757            Gas           Gov. Aggregation
COH             153038500020                Gas           Gov. Aggregation   VEDO            4015889392410825            Gas           Gov. Aggregation
COH             141467450142                Gas           Gov. Aggregation   VEDO            4017353892364702            Gas           Gov. Aggregation
COH             117556360026                Gas           Gov. Aggregation   VEDO            4015653232340696            Gas           Gov. Aggregation
COH             118102860021                Gas           Gov. Aggregation   VEDO            4019748212316800            Gas           Gov. Aggregation
COH             161179890012                Gas           Gov. Aggregation   VEDO            4019750662133816            Gas           Gov. Aggregation
COH             168309770013                Gas           Gov. Aggregation   VEDO            4019396562318663            Gas           Gov. Aggregation
COH             199026050017                Gas           Gov. Aggregation   VEDO            4019429582252328            Gas           Gov. Aggregation
COH             198987270016                Gas           Gov. Aggregation   VEDO            4017793742519074            Gas           Gov. Aggregation
COH             199892210018                Gas           Gov. Aggregation   VEDO            4019221872502913            Gas           Gov. Aggregation
COH             163297640012                Gas           Gov. Aggregation   VEDO            4018184562153076            Gas           Gov. Aggregation
COH             166483970015                Gas           Gov. Aggregation   VEDO            4002111332181492            Gas           Gov. Aggregation
COH             174506890021                Gas           Gov. Aggregation   VEDO            4015139002488205            Gas           Gov. Aggregation
COH             186110130025                Gas           Gov. Aggregation   COH             200207040011                Gas           Gov. Aggregation
COH             192431170010                Gas           Gov. Aggregation   COH             200603940012                Gas           Gov. Aggregation
COH             195881200026                Gas           Gov. Aggregation   COH             149391340013                Gas           Gov. Aggregation
COH             199310360019                Gas           Gov. Aggregation   COH             199421690015                Gas           Gov. Aggregation
COH             133605490033                Gas           Gov. Aggregation   COH             200082150014                Gas           Gov. Aggregation
COH             175150250029                Gas           Gov. Aggregation   COH             196817090015                Gas           Gov. Aggregation
COH             118026760033                Gas           Gov. Aggregation   COH             198552950014                Gas           Gov. Aggregation
COH             194113670026                Gas           Gov. Aggregation   COH             115569660028                Gas           Gov. Aggregation
COH             199324730012                Gas           Gov. Aggregation   COH             198143030014                Gas           Gov. Aggregation
COH             197815310011                Gas           Gov. Aggregation   COH             137343820026                Gas           Gov. Aggregation
COH             147742430020                Gas           Gov. Aggregation   COH             199863100012                Gas           Gov. Aggregation
COH             148644740040                Gas           Gov. Aggregation   COH             200437070018                Gas           Gov. Aggregation
COH             136162850025                Gas           Gov. Aggregation   COH             166026400012                Gas           Gov. Aggregation
COH             139454590019                Gas           Gov. Aggregation   COH             200492510019                Gas           Gov. Aggregation
COH             144296680019                Gas           Gov. Aggregation   COH             199691300015                Gas           Gov. Aggregation
COH             143550370033                Gas           Gov. Aggregation   COH             188006990079                Gas           Gov. Aggregation
COH             152320360031                Gas           Gov. Aggregation   COH             197869060011                Gas           Gov. Aggregation
COH             151352090023                Gas           Gov. Aggregation   COH             115825900014                Gas           Gov. Aggregation
COH             155281170014                Gas           Gov. Aggregation   COH             196313600015                Gas           Gov. Aggregation
COH             190378150010                Gas           Gov. Aggregation   COH             197703580012                Gas           Gov. Aggregation
COH             154016930025                Gas           Gov. Aggregation   COH             198864970019                Gas           Gov. Aggregation
COH             153226850037                Gas           Gov. Aggregation   COH             199392930017                Gas           Gov. Aggregation
COH             116802300035                Gas           Gov. Aggregation   COH             199469170014                Gas           Gov. Aggregation
COH             170702030010                Gas           Gov. Aggregation   COH             115809230028                Gas           Gov. Aggregation
COH             185686970012                Gas           Gov. Aggregation   COH             176800210018                Gas           Gov. Aggregation
COH             192683230014                Gas           Gov. Aggregation   COH             199095700015                Gas           Gov. Aggregation
COH             191421260022                Gas           Gov. Aggregation   COH             199834120019                Gas           Gov. Aggregation
COH             190617850015                Gas           Gov. Aggregation   COH             200031720011                Gas           Gov. Aggregation
COH             172426880016                Gas           Gov. Aggregation   COH             137132520017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             166850650022                Gas           Gov. Aggregation   COH             176537830026                Gas           Gov. Aggregation
COH             166883110026                Gas           Gov. Aggregation   COH             192979520025                Gas           Gov. Aggregation
COH             166921680016                Gas           Gov. Aggregation   COH             196726990019                Gas           Gov. Aggregation
COH             165415750015                Gas           Gov. Aggregation   COH             198834010013                Gas           Gov. Aggregation
COH             168264840014                Gas           Gov. Aggregation   COH             140294890013                Gas           Gov. Aggregation
COH             157648350098                Gas           Gov. Aggregation   COH             185503660013                Gas           Gov. Aggregation
COH             129505220019                Gas           Gov. Aggregation   COH             119030770040                Gas           Gov. Aggregation
COH             194663820010                Gas           Gov. Aggregation   COH             161298920022                Gas           Gov. Aggregation
COH             198585210010                Gas           Gov. Aggregation   COH             142148850054                Gas           Gov. Aggregation
COH             198624870018                Gas           Gov. Aggregation   COH             136595950018                Gas           Gov. Aggregation
COH             197109850015                Gas           Gov. Aggregation   COH             194664840014                Gas           Gov. Aggregation
COH             169566730025                Gas           Gov. Aggregation   COH             155218430012                Gas           Gov. Aggregation
COH             157165010011                Gas           Gov. Aggregation   COH             171816570079                Gas           Gov. Aggregation
COH             156553970027                Gas           Gov. Aggregation   COH             173170970019                Gas           Gov. Aggregation
COH             156110730043                Gas           Gov. Aggregation   COH             200364940010                Gas           Gov. Aggregation
COH             117090040021                Gas           Gov. Aggregation   COH             138189000025                Gas           Gov. Aggregation
COH             199053240010                Gas           Gov. Aggregation   COH             188200740015                Gas           Gov. Aggregation
COH             199344910012                Gas           Gov. Aggregation   COH             195372860018                Gas           Gov. Aggregation
COH             196404840012                Gas           Gov. Aggregation   COH             192527160037                Gas           Gov. Aggregation
COH             131140850017                Gas           Gov. Aggregation   COH             136334910054                Gas           Gov. Aggregation
COH             196611730016                Gas           Gov. Aggregation   COH             186775430015                Gas           Gov. Aggregation
COH             134302390017                Gas           Gov. Aggregation   COH             197832230012                Gas           Gov. Aggregation
COH             137197440018                Gas           Gov. Aggregation   COH             117610360048                Gas           Gov. Aggregation
COH             151352100039                Gas           Gov. Aggregation   COH             173552550017                Gas           Gov. Aggregation
COH             142874910025                Gas           Gov. Aggregation   COH             199344300010                Gas           Gov. Aggregation
COH             155946990012                Gas           Gov. Aggregation   COH             172565380017                Gas           Gov. Aggregation
COH             164965990020                Gas           Gov. Aggregation   DEO             8500004387630               Gas           Gov. Aggregation
COH             199937850018                Gas           Gov. Aggregation   DEO             9180002553563               Gas           Gov. Aggregation
COH             197636470018                Gas           Gov. Aggregation   COH             198136360010                Gas           Gov. Aggregation
COH             193733500019                Gas           Gov. Aggregation   COH             152449580015                Gas           Gov. Aggregation
COH             142915650059                Gas           Gov. Aggregation   COH             139469080024                Gas           Gov. Aggregation
COH             158791870031                Gas           Gov. Aggregation   COH             148535330029                Gas           Gov. Aggregation
COH             168399690020                Gas           Gov. Aggregation   COH             172082460014                Gas           Gov. Aggregation
COH             177220870019                Gas           Gov. Aggregation   COH             200550980017                Gas           Gov. Aggregation
COH             173070640038                Gas           Gov. Aggregation   COH             170388160011                Gas           Gov. Aggregation
COH             191953680018                Gas           Gov. Aggregation   COH             149906980016                Gas           Gov. Aggregation
COH             118825360015                Gas           Gov. Aggregation   COH             198190940014                Gas           Gov. Aggregation
COH             118740630027                Gas           Gov. Aggregation   COH             199861930012                Gas           Gov. Aggregation
COH             150902890029                Gas           Gov. Aggregation   COH             200175220012                Gas           Gov. Aggregation
COH             151463970014                Gas           Gov. Aggregation   COH             199569960016                Gas           Gov. Aggregation
COH             153171660034                Gas           Gov. Aggregation   COH             199037470016                Gas           Gov. Aggregation
COH             153883940018                Gas           Gov. Aggregation   COH             165906410015                Gas           Gov. Aggregation
COH             167568220011                Gas           Gov. Aggregation   COH             166675590018                Gas           Gov. Aggregation
COH             175030920022                Gas           Gov. Aggregation   COH             189112250023                Gas           Gov. Aggregation
COH             173437120039                Gas           Gov. Aggregation   COH             199613260018                Gas           Gov. Aggregation
COH             188783150042                Gas           Gov. Aggregation   COH             200307550012                Gas           Gov. Aggregation
COH             191599140013                Gas           Gov. Aggregation   COH             117926130038                Gas           Gov. Aggregation
COH             175050520024                Gas           Gov. Aggregation   COH             118147990020                Gas           Gov. Aggregation
COH             173324510054                Gas           Gov. Aggregation   COH             152488170019                Gas           Gov. Aggregation
COH             167074960031                Gas           Gov. Aggregation   COH             131123270015                Gas           Gov. Aggregation
COH             166512520034                Gas           Gov. Aggregation   COH             170348390017                Gas           Gov. Aggregation
COH             166579940036                Gas           Gov. Aggregation   COH             197549230013                Gas           Gov. Aggregation
COH             166748790039                Gas           Gov. Aggregation   COH             198857130010                Gas           Gov. Aggregation
COH             167797970019                Gas           Gov. Aggregation   COH             166129060016                Gas           Gov. Aggregation
COH             139880340036                Gas           Gov. Aggregation   COH             195587280015                Gas           Gov. Aggregation
COH             135812930020                Gas           Gov. Aggregation   COH             148230670024                Gas           Gov. Aggregation
COH             140053290046                Gas           Gov. Aggregation   COH             186470090013                Gas           Gov. Aggregation
COH             141182170010                Gas           Gov. Aggregation   COH             192085040012                Gas           Gov. Aggregation
COH             144505770051                Gas           Gov. Aggregation   COH             199275970017                Gas           Gov. Aggregation
COH             200023110016                Gas           Gov. Aggregation   COH             153696880027                Gas           Gov. Aggregation
COH             142437410044                Gas           Gov. Aggregation   COH             199204770018                Gas           Gov. Aggregation
COH             194332040015                Gas           Gov. Aggregation   COH             188667290030                Gas           Gov. Aggregation
COH             186543180046                Gas           Gov. Aggregation   COH             191717550060                Gas           Gov. Aggregation
COH             120204610032                Gas           Gov. Aggregation   COH             200539460010                Gas           Gov. Aggregation
COH             162844490014                Gas           Gov. Aggregation   COH             174018780047                Gas           Gov. Aggregation
COH             164910600017                Gas           Gov. Aggregation   COH             193081680015                Gas           Gov. Aggregation
COH             166159090017                Gas           Gov. Aggregation   COH             152645470030                Gas           Gov. Aggregation
COH             190419080026                Gas           Gov. Aggregation   COH             198496420015                Gas           Gov. Aggregation
COH             197704550016                Gas           Gov. Aggregation   COH             173384690015                Gas           Gov. Aggregation
COH             198086750015                Gas           Gov. Aggregation   COH             143243310036                Gas           Gov. Aggregation
COH             174562470012                Gas           Gov. Aggregation   COH             187996800018                Gas           Gov. Aggregation
COH             167694610021                Gas           Gov. Aggregation   COH             186686360028                Gas           Gov. Aggregation
COH             171790150028                Gas           Gov. Aggregation   COH             138981920022                Gas           Gov. Aggregation
COH             162593100027                Gas           Gov. Aggregation   COH             154532630051                Gas           Gov. Aggregation
COH             157491190031                Gas           Gov. Aggregation   COH             188722400010                Gas           Gov. Aggregation
COH             117850640023                Gas           Gov. Aggregation   COH             159213560011                Gas           Gov. Aggregation
COH             171747710049                Gas           Gov. Aggregation   COH             197096690018                Gas           Gov. Aggregation
COH             168068160013                Gas           Gov. Aggregation   COH             200577830012                Gas           Gov. Aggregation
COH             188471300069                Gas           Gov. Aggregation   COH             200319990015                Gas           Gov. Aggregation
COH             192812160014                Gas           Gov. Aggregation   COH             198539620011                Gas           Gov. Aggregation
COH             197627590012                Gas           Gov. Aggregation   COH             145129940016                Gas           Gov. Aggregation
COH             164633780018                Gas           Gov. Aggregation   COH             141697700017                Gas           Gov. Aggregation
COH             172216880011                Gas           Gov. Aggregation   COH             141307060017                Gas           Gov. Aggregation
COH             162009820014                Gas           Gov. Aggregation   COH             193196130026                Gas           Gov. Aggregation
COH             165690970017                Gas           Gov. Aggregation   COH             191413830038                Gas           Gov. Aggregation
COH             187112920015                Gas           Gov. Aggregation   COH             176924050010                Gas           Gov. Aggregation
COH             117997220049                Gas           Gov. Aggregation   COH             165630530015                Gas           Gov. Aggregation
COH             198873090015                Gas           Gov. Aggregation   COH             165240860013                Gas           Gov. Aggregation
COH             162373490013                Gas           Gov. Aggregation   COH             156520800021                Gas           Gov. Aggregation
COH             162011450017                Gas           Gov. Aggregation   COH             138945020018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             161830490014                Gas           Gov. Aggregation   COH             117357290023                Gas           Gov. Aggregation
COH             163227030017                Gas           Gov. Aggregation   COH             197853740011                Gas           Gov. Aggregation
COH             166731600015                Gas           Gov. Aggregation   COH             153829860037                Gas           Gov. Aggregation
COH             171809450015                Gas           Gov. Aggregation   COH             156042220045                Gas           Gov. Aggregation
COH             168292810011                Gas           Gov. Aggregation   COH             118098530021                Gas           Gov. Aggregation
COH             173846340027                Gas           Gov. Aggregation   COH             130285240029                Gas           Gov. Aggregation
COH             132935910045                Gas           Gov. Aggregation   COH             142948730026                Gas           Gov. Aggregation
COH             157026890020                Gas           Gov. Aggregation   COH             197549250019                Gas           Gov. Aggregation
COH             156422110015                Gas           Gov. Aggregation   COH             198925110019                Gas           Gov. Aggregation
COH             152301540033                Gas           Gov. Aggregation   COH             140837880013                Gas           Gov. Aggregation
COH             148626640021                Gas           Gov. Aggregation   COH             167012330015                Gas           Gov. Aggregation
COH             169884940027                Gas           Gov. Aggregation   COH             165144640013                Gas           Gov. Aggregation
COH             118086230029                Gas           Gov. Aggregation   COH             142919950021                Gas           Gov. Aggregation
COH             118868380020                Gas           Gov. Aggregation   COH             193647010024                Gas           Gov. Aggregation
COH             158521380035                Gas           Gov. Aggregation   COH             193733270018                Gas           Gov. Aggregation
COH             161570740031                Gas           Gov. Aggregation   COH             192131292975                Gas           Gov. Aggregation
COH             167768870011                Gas           Gov. Aggregation   COH             115283450037                Gas           Gov. Aggregation
COH             187694420018                Gas           Gov. Aggregation   COH             117419060047                Gas           Gov. Aggregation
COH             187874370035                Gas           Gov. Aggregation   COH             200084230013                Gas           Gov. Aggregation
COH             138413480028                Gas           Gov. Aggregation   COH             169719330015                Gas           Gov. Aggregation
COH             138335350021                Gas           Gov. Aggregation   COH             146050100018                Gas           Gov. Aggregation
COH             163940860020                Gas           Gov. Aggregation   COH             198574850019                Gas           Gov. Aggregation
COH             192149310019                Gas           Gov. Aggregation   COH             163299450036                Gas           Gov. Aggregation
COH             193015340015                Gas           Gov. Aggregation   COH             177639300011                Gas           Gov. Aggregation
COH             194747130017                Gas           Gov. Aggregation   COH             190333970012                Gas           Gov. Aggregation
COH             174832420046                Gas           Gov. Aggregation   COH             133889710018                Gas           Gov. Aggregation
COH             199863720012                Gas           Gov. Aggregation   COH             140944310015                Gas           Gov. Aggregation
COH             199926810019                Gas           Gov. Aggregation   COH             119902040044                Gas           Gov. Aggregation
COH             173462510034                Gas           Gov. Aggregation   COH             130222060038                Gas           Gov. Aggregation
COH             156799400017                Gas           Gov. Aggregation   COH             135048820015                Gas           Gov. Aggregation
COH             139075100033                Gas           Gov. Aggregation   COH             164096810048                Gas           Gov. Aggregation
COH             130989520046                Gas           Gov. Aggregation   COH             200657810016                Gas           Gov. Aggregation
COH             118826890012                Gas           Gov. Aggregation   COH             157982050057                Gas           Gov. Aggregation
COH             119385190023                Gas           Gov. Aggregation   COH             158360100017                Gas           Gov. Aggregation
COH             132911550050                Gas           Gov. Aggregation   COH             197246980018                Gas           Gov. Aggregation
COH             118823770013                Gas           Gov. Aggregation   COH             117478180048                Gas           Gov. Aggregation
COH             118823480014                Gas           Gov. Aggregation   COH             117945650020                Gas           Gov. Aggregation
COH             118278430048                Gas           Gov. Aggregation   COH             117589350038                Gas           Gov. Aggregation
COH             176787510015                Gas           Gov. Aggregation   COH             185884200013                Gas           Gov. Aggregation
COH             168422530013                Gas           Gov. Aggregation   COH             169744250028                Gas           Gov. Aggregation
COH             191138850010                Gas           Gov. Aggregation   COH             176664390020                Gas           Gov. Aggregation
COH             198916340010                Gas           Gov. Aggregation   COH             143704570025                Gas           Gov. Aggregation
COH             162602280010                Gas           Gov. Aggregation   COH             147148940014                Gas           Gov. Aggregation
COH             162480660029                Gas           Gov. Aggregation   COH             115336710011                Gas           Gov. Aggregation
COH             164798240022                Gas           Gov. Aggregation   COH             115336920017                Gas           Gov. Aggregation
COH             158825790017                Gas           Gov. Aggregation   COH             197627410019                Gas           Gov. Aggregation
COH             199230840018                Gas           Gov. Aggregation   COH             177068630059                Gas           Gov. Aggregation
COH             195045810011                Gas           Gov. Aggregation   COH             116839360036                Gas           Gov. Aggregation
COH             190466970011                Gas           Gov. Aggregation   COH             188242440010                Gas           Gov. Aggregation
COH             177227660019                Gas           Gov. Aggregation   COH             119902930056                Gas           Gov. Aggregation
COH             193719830010                Gas           Gov. Aggregation   COH             142752370018                Gas           Gov. Aggregation
COH             193151220012                Gas           Gov. Aggregation   COH             139648270079                Gas           Gov. Aggregation
COH             198116210013                Gas           Gov. Aggregation   COH             139699440030                Gas           Gov. Aggregation
COH             162696540018                Gas           Gov. Aggregation   COH             134654570014                Gas           Gov. Aggregation
COH             113029830055                Gas           Gov. Aggregation   COH             195718070010                Gas           Gov. Aggregation
COH             132481780046                Gas           Gov. Aggregation   COH             149387520283                Gas           Gov. Aggregation
COH             119298430027                Gas           Gov. Aggregation   COH             192834220033                Gas           Gov. Aggregation
COH             118228220029                Gas           Gov. Aggregation   COH             195215000047                Gas           Gov. Aggregation
COH             118220400027                Gas           Gov. Aggregation   COH             191662820024                Gas           Gov. Aggregation
COH             139279790028                Gas           Gov. Aggregation   COH             197711790011                Gas           Gov. Aggregation
COH             138097210071                Gas           Gov. Aggregation   COH             167216090032                Gas           Gov. Aggregation
COH             147002930023                Gas           Gov. Aggregation   COH             198232900021                Gas           Gov. Aggregation
COH             150720090014                Gas           Gov. Aggregation   COH             200498180017                Gas           Gov. Aggregation
COH             165235020038                Gas           Gov. Aggregation   COH             200341180018                Gas           Gov. Aggregation
COH             186268900011                Gas           Gov. Aggregation   COH             199491140013                Gas           Gov. Aggregation
COH             196369630012                Gas           Gov. Aggregation   COH             199551050014                Gas           Gov. Aggregation
COH             114694130016                Gas           Gov. Aggregation   COH             200140430011                Gas           Gov. Aggregation
COH             170197390018                Gas           Gov. Aggregation   COH             195215000029                Gas           Gov. Aggregation
COH             118791660033                Gas           Gov. Aggregation   COH             108790140027                Gas           Gov. Aggregation
COH             118232340052                Gas           Gov. Aggregation   COH             164726310064                Gas           Gov. Aggregation
COH             199064330018                Gas           Gov. Aggregation   COH             163748080022                Gas           Gov. Aggregation
COH             170269980011                Gas           Gov. Aggregation   COH             197219770028                Gas           Gov. Aggregation
COH             118116340030                Gas           Gov. Aggregation   COH             197963200011                Gas           Gov. Aggregation
COH             186763920017                Gas           Gov. Aggregation   COH             163238120033                Gas           Gov. Aggregation
COH             188785040014                Gas           Gov. Aggregation   COH             157845100029                Gas           Gov. Aggregation
COH             172821660023                Gas           Gov. Aggregation   COH             175901940021                Gas           Gov. Aggregation
COH             198998050019                Gas           Gov. Aggregation   COH             198250930054                Gas           Gov. Aggregation
COH             157440740050                Gas           Gov. Aggregation   COH             197366790014                Gas           Gov. Aggregation
COH             159854350017                Gas           Gov. Aggregation   COH             177336580033                Gas           Gov. Aggregation
COH             157360740023                Gas           Gov. Aggregation   COH             197206280028                Gas           Gov. Aggregation
COH             174837600020                Gas           Gov. Aggregation   COH             196120510022                Gas           Gov. Aggregation
COH             165599200030                Gas           Gov. Aggregation   COH             197578520011                Gas           Gov. Aggregation
COH             159385330034                Gas           Gov. Aggregation   COH             200895370015                Gas           Gov. Aggregation
COH             143178920019                Gas           Gov. Aggregation   DEO             9180002726494               Gas           Gov. Aggregation
COH             144732260048                Gas           Gov. Aggregation   DEO             5180002242967               Gas           Gov. Aggregation
COH             169281070019                Gas           Gov. Aggregation   DEO             2180002745586               Gas           Gov. Aggregation
COH             117947320025                Gas           Gov. Aggregation   COH             150451390012                Gas           Gov. Aggregation
COH             118499870020                Gas           Gov. Aggregation   COH             127369030039                Gas           Gov. Aggregation
COH             197371280010                Gas           Gov. Aggregation   DEO             5421002258335               Gas           Gov. Aggregation
COH             154956020033                Gas           Gov. Aggregation   COH             137186410053                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             155545250017                Gas           Gov. Aggregation   DEO             6180002946408               Gas           Gov. Aggregation
COH             196203850016                Gas           Gov. Aggregation   COH             140753230017                Gas           Gov. Aggregation
COH             162064140039                Gas           Gov. Aggregation   COH             164183630032                Gas           Gov. Aggregation
COH             164357280019                Gas           Gov. Aggregation   COH             159708430028                Gas           Gov. Aggregation
COH             170400250014                Gas           Gov. Aggregation   COH             161272530037                Gas           Gov. Aggregation
COH             154558440020                Gas           Gov. Aggregation   COH             156714790023                Gas           Gov. Aggregation
COH             199087050019                Gas           Gov. Aggregation   COH             159385110030                Gas           Gov. Aggregation
COH             199111490014                Gas           Gov. Aggregation   COH             171600590027                Gas           Gov. Aggregation
COH             148745700026                Gas           Gov. Aggregation   COH             171099790020                Gas           Gov. Aggregation
COH             142028770037                Gas           Gov. Aggregation   COH             173429730038                Gas           Gov. Aggregation
COH             140416440026                Gas           Gov. Aggregation   COH             172753940038                Gas           Gov. Aggregation
COH             133542600033                Gas           Gov. Aggregation   COH             172975790021                Gas           Gov. Aggregation
COH             132187000034                Gas           Gov. Aggregation   COH             172250210028                Gas           Gov. Aggregation
COH             121824480035                Gas           Gov. Aggregation   COH             166083050034                Gas           Gov. Aggregation
COH             118824460016                Gas           Gov. Aggregation   COH             197453760024                Gas           Gov. Aggregation
COH             118824580011                Gas           Gov. Aggregation   COH             197564900029                Gas           Gov. Aggregation
COH             117946320027                Gas           Gov. Aggregation   COH             197160210020                Gas           Gov. Aggregation
COH             118136490037                Gas           Gov. Aggregation   COH             197184240015                Gas           Gov. Aggregation
COH             152200510015                Gas           Gov. Aggregation   COH             197421050020                Gas           Gov. Aggregation
COH             152147250069                Gas           Gov. Aggregation   COH             199002410011                Gas           Gov. Aggregation
COH             155446790032                Gas           Gov. Aggregation   COH             198981780011                Gas           Gov. Aggregation
COH             153705670011                Gas           Gov. Aggregation   COH             199110710019                Gas           Gov. Aggregation
COH             194038900036                Gas           Gov. Aggregation   COH             192944020023                Gas           Gov. Aggregation
COH             194989830018                Gas           Gov. Aggregation   COH             192237460020                Gas           Gov. Aggregation
COH             187810290036                Gas           Gov. Aggregation   COH             200610030018                Gas           Gov. Aggregation
COH             117988490033                Gas           Gov. Aggregation   COH             200613570019                Gas           Gov. Aggregation
COH             117947040024                Gas           Gov. Aggregation   COH             200359430018                Gas           Gov. Aggregation
COH             164528840027                Gas           Gov. Aggregation   COH             200235900011                Gas           Gov. Aggregation
COH             168911540014                Gas           Gov. Aggregation   COH             200162660017                Gas           Gov. Aggregation
COH             144242310055                Gas           Gov. Aggregation   COH             200123970014                Gas           Gov. Aggregation
COH             194944600010                Gas           Gov. Aggregation   COH             200450300011                Gas           Gov. Aggregation
COH             198593190018                Gas           Gov. Aggregation   COH             199777550011                Gas           Gov. Aggregation
COH             198849240014                Gas           Gov. Aggregation   COH             199786110014                Gas           Gov. Aggregation
COH             197857460012                Gas           Gov. Aggregation   COH             200111040014                Gas           Gov. Aggregation
COH             199449860011                Gas           Gov. Aggregation   COH             200102170016                Gas           Gov. Aggregation
COH             165683610026                Gas           Gov. Aggregation   COH             200066760010                Gas           Gov. Aggregation
COH             163320440059                Gas           Gov. Aggregation   COH             199488330010                Gas           Gov. Aggregation
COH             186393800017                Gas           Gov. Aggregation   COH             199488360014                Gas           Gov. Aggregation
COH             191140580030                Gas           Gov. Aggregation   COH             199539010018                Gas           Gov. Aggregation
COH             191054570026                Gas           Gov. Aggregation   COH             199548220015                Gas           Gov. Aggregation
COH             194611230013                Gas           Gov. Aggregation   COH             199594990017                Gas           Gov. Aggregation
COH             194827250012                Gas           Gov. Aggregation   COH             199372420016                Gas           Gov. Aggregation
COH             171322880017                Gas           Gov. Aggregation   COH             117217880034                Gas           Gov. Aggregation
COH             170754820015                Gas           Gov. Aggregation   COH             118769130031                Gas           Gov. Aggregation
COH             145549740018                Gas           Gov. Aggregation   COH             127102810048                Gas           Gov. Aggregation
COH             118334330021                Gas           Gov. Aggregation   COH             134322520071                Gas           Gov. Aggregation
COH             118113530027                Gas           Gov. Aggregation   COH             168608170051                Gas           Gov. Aggregation
COH             163320670015                Gas           Gov. Aggregation   COH             200728770014                Gas           Gov. Aggregation
COH             172992310034                Gas           Gov. Aggregation   COH             133224890199                Gas           Gov. Aggregation
COH             172765680010                Gas           Gov. Aggregation   COH             199356500013                Gas           Gov. Aggregation
COH             174212150029                Gas           Gov. Aggregation   COH             189819710028                Gas           Gov. Aggregation
COH             166449320013                Gas           Gov. Aggregation   COH             198967590011                Gas           Gov. Aggregation
COH             118126280032                Gas           Gov. Aggregation   COH             195109460028                Gas           Gov. Aggregation
COH             127117760039                Gas           Gov. Aggregation   COH             195773160060                Gas           Gov. Aggregation
COH             134111960049                Gas           Gov. Aggregation   COH             197176150039                Gas           Gov. Aggregation
COH             133752260030                Gas           Gov. Aggregation   COH             200805060019                Gas           Gov. Aggregation
COH             154211740058                Gas           Gov. Aggregation   COH             200774140019                Gas           Gov. Aggregation
COH             154879940016                Gas           Gov. Aggregation   COH             200657870014                Gas           Gov. Aggregation
COH             154392720041                Gas           Gov. Aggregation   COH             199892150011                Gas           Gov. Aggregation
COH             170370350018                Gas           Gov. Aggregation   COH             192782030034                Gas           Gov. Aggregation
COH             150831470028                Gas           Gov. Aggregation   COH             176820370040                Gas           Gov. Aggregation
COH             147642170018                Gas           Gov. Aggregation   COH             199741290011                Gas           Gov. Aggregation
COH             147401550054                Gas           Gov. Aggregation   COH             191335720037                Gas           Gov. Aggregation
COH             149485380016                Gas           Gov. Aggregation   COH             194189402549                Gas           Gov. Aggregation
COH             149691380028                Gas           Gov. Aggregation   COH             200337180017                Gas           Gov. Aggregation
COH             149016230038                Gas           Gov. Aggregation   COH             200151210014                Gas           Gov. Aggregation
COH             158220910031                Gas           Gov. Aggregation   COH             191864640711                Gas           Gov. Aggregation
COH             161114320017                Gas           Gov. Aggregation   COH             192131296373                Gas           Gov. Aggregation
COH             162542530060                Gas           Gov. Aggregation   COH             199825120018                Gas           Gov. Aggregation
COH             175982630026                Gas           Gov. Aggregation   COH             153066580043                Gas           Gov. Aggregation
COH             197830070010                Gas           Gov. Aggregation   COH             156972110047                Gas           Gov. Aggregation
COH             198421260016                Gas           Gov. Aggregation   COH             169900250044                Gas           Gov. Aggregation
COH             198507130011                Gas           Gov. Aggregation   COH             190813180038                Gas           Gov. Aggregation
COH             172386220010                Gas           Gov. Aggregation   COH             189795360033                Gas           Gov. Aggregation
COH             175028310016                Gas           Gov. Aggregation   COH             198951870015                Gas           Gov. Aggregation
COH             170844680014                Gas           Gov. Aggregation   COH             199449630019                Gas           Gov. Aggregation
COH             170128260038                Gas           Gov. Aggregation   COH             167311700031                Gas           Gov. Aggregation
COH             116799320021                Gas           Gov. Aggregation   COH             176301250027                Gas           Gov. Aggregation
COH             118576480046                Gas           Gov. Aggregation   COH             186138010013                Gas           Gov. Aggregation
COH             198604470014                Gas           Gov. Aggregation   COH             190293580010                Gas           Gov. Aggregation
VEDO            4001653012161548            Gas           Gov. Aggregation   COH             173062980025                Gas           Gov. Aggregation
VEDO            4001653012356858            Gas           Gov. Aggregation   COH             155217520097                Gas           Gov. Aggregation
VEDO            4018182872633700            Gas           Gov. Aggregation   COH             200361070019                Gas           Gov. Aggregation
COH             145830770015                Gas           Gov. Aggregation   COH             200947710012                Gas           Gov. Aggregation
DEO             4180001708687               Gas           Gov. Aggregation   COH             199603150012                Gas           Gov. Aggregation
DEO             1180001650173               Gas           Gov. Aggregation   COH             200382590016                Gas           Gov. Aggregation
DEO             2180001663086               Gas           Gov. Aggregation   COH             199037550019                Gas           Gov. Aggregation
VEDO            4019792462671513            Gas           Gov. Aggregation   COH             185442080033                Gas           Gov. Aggregation
VEDO            4019507522648647            Gas           Gov. Aggregation   COH             197090260029                Gas           Gov. Aggregation
COH             199038800014                Gas           Gov. Aggregation   COH             176678400037                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             199081010019                Gas           Gov. Aggregation   COH             158732050055                Gas           Gov. Aggregation
COH             198155500029                Gas           Gov. Aggregation   COH             154150260102                Gas           Gov. Aggregation
COH             198895580016                Gas           Gov. Aggregation   COH             200338000012                Gas           Gov. Aggregation
COH             196439440013                Gas           Gov. Aggregation   COH             199179990017                Gas           Gov. Aggregation
COH             196592200019                Gas           Gov. Aggregation   COH             176414460024                Gas           Gov. Aggregation
COH             196535730018                Gas           Gov. Aggregation   COH             156596900030                Gas           Gov. Aggregation
COH             196389790017                Gas           Gov. Aggregation   COH             200915810018                Gas           Gov. Aggregation
COH             125228250042                Gas           Gov. Aggregation   COH             176040180080                Gas           Gov. Aggregation
COH             124400580020                Gas           Gov. Aggregation   COH             199879800012                Gas           Gov. Aggregation
COH             167024290028                Gas           Gov. Aggregation   COH             194189402316                Gas           Gov. Aggregation
COH             165327550023                Gas           Gov. Aggregation   COH             199169620015                Gas           Gov. Aggregation
COH             138532750029                Gas           Gov. Aggregation   COH             190782780020                Gas           Gov. Aggregation
COH             173025990030                Gas           Gov. Aggregation   COH             117248100023                Gas           Gov. Aggregation
COH             197940810020                Gas           Gov. Aggregation   COH             199937750019                Gas           Gov. Aggregation
COH             199688500010                Gas           Gov. Aggregation   COH             199615910017                Gas           Gov. Aggregation
COH             158272360038                Gas           Gov. Aggregation   COH             192584170044                Gas           Gov. Aggregation
COH             186020230043                Gas           Gov. Aggregation   COH             188529270036                Gas           Gov. Aggregation
COH             176322530024                Gas           Gov. Aggregation   COH             197607950027                Gas           Gov. Aggregation
COH             199163790012                Gas           Gov. Aggregation   COH             147148290075                Gas           Gov. Aggregation
COH             198077730018                Gas           Gov. Aggregation   COH             200031930017                Gas           Gov. Aggregation
COH             197498300017                Gas           Gov. Aggregation   COH             187627970023                Gas           Gov. Aggregation
COH             196743610012                Gas           Gov. Aggregation   COH             200938930015                Gas           Gov. Aggregation
COH             155080660035                Gas           Gov. Aggregation   COH             200901300014                Gas           Gov. Aggregation
COH             141910940022                Gas           Gov. Aggregation   COH             193366790027                Gas           Gov. Aggregation
COH             197314210014                Gas           Gov. Aggregation   COH             194189402521                Gas           Gov. Aggregation
COH             199318910017                Gas           Gov. Aggregation   COH             195573320024                Gas           Gov. Aggregation
COH             199415480012                Gas           Gov. Aggregation   COH             198923190017                Gas           Gov. Aggregation
COH             165671810010                Gas           Gov. Aggregation   COH             199028370016                Gas           Gov. Aggregation
COH             172643560022                Gas           Gov. Aggregation   COH             109911080021                Gas           Gov. Aggregation
COH             199545320010                Gas           Gov. Aggregation   COH             199498270012                Gas           Gov. Aggregation
COH             188291650022                Gas           Gov. Aggregation   COH             200795720013                Gas           Gov. Aggregation
COH             164944910039                Gas           Gov. Aggregation   COH             200745640015                Gas           Gov. Aggregation
COH             164565030047                Gas           Gov. Aggregation   COH             191376760024                Gas           Gov. Aggregation
COH             164915910067                Gas           Gov. Aggregation   COH             195111630036                Gas           Gov. Aggregation
COH             145649060028                Gas           Gov. Aggregation   COH             166882980035                Gas           Gov. Aggregation
COH             188600030016                Gas           Gov. Aggregation   COH             167213510075                Gas           Gov. Aggregation
COH             199461720014                Gas           Gov. Aggregation   COH             200851400010                Gas           Gov. Aggregation
COH             199092650012                Gas           Gov. Aggregation   COH             148449740080                Gas           Gov. Aggregation
COH             198992800013                Gas           Gov. Aggregation   COH             195644840024                Gas           Gov. Aggregation
COH             196252710012                Gas           Gov. Aggregation   COH             190307980024                Gas           Gov. Aggregation
COH             199094950015                Gas           Gov. Aggregation   COH             199252380019                Gas           Gov. Aggregation
COH             198898770010                Gas           Gov. Aggregation   COH             150486410050                Gas           Gov. Aggregation
COH             195840460019                Gas           Gov. Aggregation   COH             199028840017                Gas           Gov. Aggregation
COH             196230650011                Gas           Gov. Aggregation   COH             199119870018                Gas           Gov. Aggregation
COH             197392970011                Gas           Gov. Aggregation   COH             199983640015                Gas           Gov. Aggregation
COH             196670160012                Gas           Gov. Aggregation   COH             199769930018                Gas           Gov. Aggregation
COH             196663210016                Gas           Gov. Aggregation   COH             199913590013                Gas           Gov. Aggregation
COH             189329770034                Gas           Gov. Aggregation   COH             194249880025                Gas           Gov. Aggregation
COH             177205250066                Gas           Gov. Aggregation   COH             199506710010                Gas           Gov. Aggregation
COH             176292830026                Gas           Gov. Aggregation   COH             199459530019                Gas           Gov. Aggregation
COH             199256110017                Gas           Gov. Aggregation   COH             199875110015                Gas           Gov. Aggregation
COH             190657310032                Gas           Gov. Aggregation   COH             199616000016                Gas           Gov. Aggregation
COH             199514440010                Gas           Gov. Aggregation   COH             199577780017                Gas           Gov. Aggregation
COH             197186350018                Gas           Gov. Aggregation   COH             199412690014                Gas           Gov. Aggregation
COH             195789870013                Gas           Gov. Aggregation   COH             171676750042                Gas           Gov. Aggregation
COH             124783850023                Gas           Gov. Aggregation   COH             199288470015                Gas           Gov. Aggregation
COH             153255890065                Gas           Gov. Aggregation   COH             198997740016                Gas           Gov. Aggregation
COH             175308550058                Gas           Gov. Aggregation   COH             199047870011                Gas           Gov. Aggregation
COH             198041140017                Gas           Gov. Aggregation   COH             186318600026                Gas           Gov. Aggregation
COH             199865540016                Gas           Gov. Aggregation   COH             155508830013                Gas           Gov. Aggregation
COH             124436400022                Gas           Gov. Aggregation   COH             199985970012                Gas           Gov. Aggregation
COH             125246580063                Gas           Gov. Aggregation   COH             199372320017                Gas           Gov. Aggregation
COH             197135650012                Gas           Gov. Aggregation   COH             199393100019                Gas           Gov. Aggregation
COH             196967580015                Gas           Gov. Aggregation   COH             199238540015                Gas           Gov. Aggregation
COH             168101570024                Gas           Gov. Aggregation   COH             186441310044                Gas           Gov. Aggregation
COH             124381160020                Gas           Gov. Aggregation   COH             192654510034                Gas           Gov. Aggregation
COH             158744560035                Gas           Gov. Aggregation   COH             199216360046                Gas           Gov. Aggregation
COH             155054420021                Gas           Gov. Aggregation   COH             198944120017                Gas           Gov. Aggregation
COH             145324600031                Gas           Gov. Aggregation   COH             199412640014                Gas           Gov. Aggregation
COH             196430980018                Gas           Gov. Aggregation   COH             199615880014                Gas           Gov. Aggregation
COH             192021310037                Gas           Gov. Aggregation   COH             199766460013                Gas           Gov. Aggregation
COH             145140090039                Gas           Gov. Aggregation   COH             200307520027                Gas           Gov. Aggregation
COH             190244680021                Gas           Gov. Aggregation   COH             200235650014                Gas           Gov. Aggregation
COH             135740260079                Gas           Gov. Aggregation   COH             199005880017                Gas           Gov. Aggregation
COH             125287660042                Gas           Gov. Aggregation   COH             196205800021                Gas           Gov. Aggregation
COH             198069540015                Gas           Gov. Aggregation   COH             198724410012                Gas           Gov. Aggregation
COH             198010160018                Gas           Gov. Aggregation   COH             200133040018                Gas           Gov. Aggregation
COH             198751920018                Gas           Gov. Aggregation   COH             198992280013                Gas           Gov. Aggregation
COH             199013770013                Gas           Gov. Aggregation   COH             200658380015                Gas           Gov. Aggregation
COH             197875420012                Gas           Gov. Aggregation   COH             194894100030                Gas           Gov. Aggregation
COH             196832690017                Gas           Gov. Aggregation   COH             193562460020                Gas           Gov. Aggregation
COH             194276830037                Gas           Gov. Aggregation   COH             200158570015                Gas           Gov. Aggregation
COH             190100550022                Gas           Gov. Aggregation   COH             166403980020                Gas           Gov. Aggregation
COH             131610120013                Gas           Gov. Aggregation   COH             200860050015                Gas           Gov. Aggregation
COH             195040110027                Gas           Gov. Aggregation   COH             200289090019                Gas           Gov. Aggregation
COH             124375350023                Gas           Gov. Aggregation   COH             198214730016                Gas           Gov. Aggregation
COH             199124060017                Gas           Gov. Aggregation   COH             198465940011                Gas           Gov. Aggregation
COH             199394020014                Gas           Gov. Aggregation   COH             198918730014                Gas           Gov. Aggregation
COH             196035210026                Gas           Gov. Aggregation   COH             198688280018                Gas           Gov. Aggregation
COH             196896490024                Gas           Gov. Aggregation   COH             199721670013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             198845220016                Gas           Gov. Aggregation   COH             153247100021                Gas           Gov. Aggregation
COH             173385460011                Gas           Gov. Aggregation   COH             195233450027                Gas           Gov. Aggregation
COH             199112470016                Gas           Gov. Aggregation   COH             195233450036                Gas           Gov. Aggregation
COH             157174210029                Gas           Gov. Aggregation   COH             199197660018                Gas           Gov. Aggregation
COH             198914560018                Gas           Gov. Aggregation   COH             198655980010                Gas           Gov. Aggregation
COH             187515800025                Gas           Gov. Aggregation   COH             200092360019                Gas           Gov. Aggregation
COH             124362460027                Gas           Gov. Aggregation   COH             200541110018                Gas           Gov. Aggregation
COH             176088520024                Gas           Gov. Aggregation   COH             198305870023                Gas           Gov. Aggregation
COH             173372550028                Gas           Gov. Aggregation   COH             199560510018                Gas           Gov. Aggregation
COH             196217430015                Gas           Gov. Aggregation   COH             199786690013                Gas           Gov. Aggregation
COH             196615770010                Gas           Gov. Aggregation   COH             199603710014                Gas           Gov. Aggregation
COH             191515880112                Gas           Gov. Aggregation   COH             200202070015                Gas           Gov. Aggregation
COH             125467350027                Gas           Gov. Aggregation   COH             197508400013                Gas           Gov. Aggregation
COH             198609710013                Gas           Gov. Aggregation   COH             189976630023                Gas           Gov. Aggregation
COH             172959050020                Gas           Gov. Aggregation   COH             195475890032                Gas           Gov. Aggregation
COH             191215670041                Gas           Gov. Aggregation   COH             191495110028                Gas           Gov. Aggregation
COH             158884840030                Gas           Gov. Aggregation   COH             197250910022                Gas           Gov. Aggregation
COH             197280520012                Gas           Gov. Aggregation   COH             197465970016                Gas           Gov. Aggregation
COH             197854950033                Gas           Gov. Aggregation   COH             156912100027                Gas           Gov. Aggregation
COH             198715970014                Gas           Gov. Aggregation   COH             110932810020                Gas           Gov. Aggregation
COH             197550780015                Gas           Gov. Aggregation   COH             110932930016                Gas           Gov. Aggregation
COH             197014890018                Gas           Gov. Aggregation   COH             198681800012                Gas           Gov. Aggregation
COH             196553610015                Gas           Gov. Aggregation   COH             197269380016                Gas           Gov. Aggregation
COH             196553720012                Gas           Gov. Aggregation   COH             199239160013                Gas           Gov. Aggregation
COH             144878980030                Gas           Gov. Aggregation   COH             110932900012                Gas           Gov. Aggregation
COH             136542070023                Gas           Gov. Aggregation   COH             200236500013                Gas           Gov. Aggregation
COH             197747780018                Gas           Gov. Aggregation   COH             199548400017                Gas           Gov. Aggregation
COH             195942490017                Gas           Gov. Aggregation   COH             200102590018                Gas           Gov. Aggregation
COH             194817140025                Gas           Gov. Aggregation   COH             200014330019                Gas           Gov. Aggregation
COH             188013320010                Gas           Gov. Aggregation   COH             194075460022                Gas           Gov. Aggregation
COH             197288180018                Gas           Gov. Aggregation   COH             200468330018                Gas           Gov. Aggregation
COH             198186210016                Gas           Gov. Aggregation   COH             155872550066                Gas           Gov. Aggregation
COH             198318850011                Gas           Gov. Aggregation   COH             200080100018                Gas           Gov. Aggregation
COH             199286980012                Gas           Gov. Aggregation   COH             200118590015                Gas           Gov. Aggregation
COH             199653110015                Gas           Gov. Aggregation   COH             200360780012                Gas           Gov. Aggregation
COH             155724240028                Gas           Gov. Aggregation   COH             194535230033                Gas           Gov. Aggregation
COH             124509310017                Gas           Gov. Aggregation   COH             195949800017                Gas           Gov. Aggregation
COH             125445360058                Gas           Gov. Aggregation   COH             200064770012                Gas           Gov. Aggregation
COH             198235430015                Gas           Gov. Aggregation   COH             200064770030                Gas           Gov. Aggregation
COH             198318800011                Gas           Gov. Aggregation   COH             200188220015                Gas           Gov. Aggregation
COH             176963930022                Gas           Gov. Aggregation   COH             199912150017                Gas           Gov. Aggregation
COH             148467640010                Gas           Gov. Aggregation   COH             197547510018                Gas           Gov. Aggregation
COH             199019490010                Gas           Gov. Aggregation   COH             174831350061                Gas           Gov. Aggregation
COH             199240500018                Gas           Gov. Aggregation   COH             200291090014                Gas           Gov. Aggregation
COH             199713260016                Gas           Gov. Aggregation   COH             194157260048                Gas           Gov. Aggregation
COH             198488610012                Gas           Gov. Aggregation   COH             192269810065                Gas           Gov. Aggregation
COH             197931810010                Gas           Gov. Aggregation   COH             191211110028                Gas           Gov. Aggregation
COH             199391580013                Gas           Gov. Aggregation   COH             189671500035                Gas           Gov. Aggregation
COH             198624060018                Gas           Gov. Aggregation   COH             150707640105                Gas           Gov. Aggregation
COH             148458900167                Gas           Gov. Aggregation   COH             150707640114                Gas           Gov. Aggregation
COH             199559010016                Gas           Gov. Aggregation   COH             148910850033                Gas           Gov. Aggregation
COH             196809830016                Gas           Gov. Aggregation   COH             156054230057                Gas           Gov. Aggregation
COH             196086720013                Gas           Gov. Aggregation   COH             155712570042                Gas           Gov. Aggregation
COH             166698770030                Gas           Gov. Aggregation   COH             115040560083                Gas           Gov. Aggregation
COH             134211050011                Gas           Gov. Aggregation   COH             200552980013                Gas           Gov. Aggregation
COH             143921800026                Gas           Gov. Aggregation   COH             129854070129                Gas           Gov. Aggregation
COH             197143200019                Gas           Gov. Aggregation   COH             151728930029                Gas           Gov. Aggregation
COH             198096500016                Gas           Gov. Aggregation   COH             193909270051                Gas           Gov. Aggregation
COH             124810860031                Gas           Gov. Aggregation   COH             200843660013                Gas           Gov. Aggregation
COH             199893190011                Gas           Gov. Aggregation   COH             200726610011                Gas           Gov. Aggregation
COH             197061170010                Gas           Gov. Aggregation   COH             196050740014                Gas           Gov. Aggregation
COH             124309780022                Gas           Gov. Aggregation   COH             200330840012                Gas           Gov. Aggregation
COH             196463450010                Gas           Gov. Aggregation   COH             200346610017                Gas           Gov. Aggregation
COH             198940190011                Gas           Gov. Aggregation   COH             196026530028                Gas           Gov. Aggregation
COH             198866370011                Gas           Gov. Aggregation   COH             176825230021                Gas           Gov. Aggregation
COH             162149450043                Gas           Gov. Aggregation   COH             115028270044                Gas           Gov. Aggregation
COH             194360500028                Gas           Gov. Aggregation   COH             200521340012                Gas           Gov. Aggregation
COH             185371350028                Gas           Gov. Aggregation   COH             198066570042                Gas           Gov. Aggregation
COH             177480310043                Gas           Gov. Aggregation   COH             188320200041                Gas           Gov. Aggregation
COH             156203010029                Gas           Gov. Aggregation   COH             189622080028                Gas           Gov. Aggregation
COH             177581900027                Gas           Gov. Aggregation   DEO             4421004770040               Gas           Gov. Aggregation
COH             172015930025                Gas           Gov. Aggregation   DEO             2500066446987               Gas           Gov. Aggregation
COH             172719480028                Gas           Gov. Aggregation   COH             201060270014                Gas           Gov. Aggregation
COH             168178490039                Gas           Gov. Aggregation   COH             199397260018                Gas           Gov. Aggregation
COH             186842090023                Gas           Gov. Aggregation   COH             199481980018                Gas           Gov. Aggregation
COH             199074900017                Gas           Gov. Aggregation   COH             199317600014                Gas           Gov. Aggregation
COH             190790540023                Gas           Gov. Aggregation   COH             199317600032                Gas           Gov. Aggregation
COH             167533760011                Gas           Gov. Aggregation   COH             199734370019                Gas           Gov. Aggregation
COH             199325980018                Gas           Gov. Aggregation   COH             201072180018                Gas           Gov. Aggregation
COH             161089000046                Gas           Gov. Aggregation   COH             200862360016                Gas           Gov. Aggregation
COH             198604720011                Gas           Gov. Aggregation   COH             200944410011                Gas           Gov. Aggregation
COH             175740270015                Gas           Gov. Aggregation   COH             200819590019                Gas           Gov. Aggregation
COH             198005050012                Gas           Gov. Aggregation   COH             200437190013                Gas           Gov. Aggregation
COH             198599910014                Gas           Gov. Aggregation   COH             147597790015                Gas           Gov. Aggregation
COH             196556360012                Gas           Gov. Aggregation   COH             110536660022                Gas           Gov. Aggregation
COH             165643030031                Gas           Gov. Aggregation   COH             199615460012                Gas           Gov. Aggregation
COH             197378020010                Gas           Gov. Aggregation   COH             199498200016                Gas           Gov. Aggregation
COH             198645320019                Gas           Gov. Aggregation   COH             200031810012                Gas           Gov. Aggregation
COH             199735210010                Gas           Gov. Aggregation   COH             200042220013                Gas           Gov. Aggregation
COH             199024430011                Gas           Gov. Aggregation   COH             155316220045                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             160633970021                Gas           Gov. Aggregation   COH             160490890040                Gas           Gov. Aggregation
COH             198264710015                Gas           Gov. Aggregation   COH             187829900029                Gas           Gov. Aggregation
COH             174868900022                Gas           Gov. Aggregation   COH             185946770307                Gas           Gov. Aggregation
COH             199147380012                Gas           Gov. Aggregation   COH             162337170061                Gas           Gov. Aggregation
COH             124395260020                Gas           Gov. Aggregation   COH             194542280029                Gas           Gov. Aggregation
COH             125066650051                Gas           Gov. Aggregation   COH             186075900038                Gas           Gov. Aggregation
COH             198593780014                Gas           Gov. Aggregation   COH             167748310065                Gas           Gov. Aggregation
COH             198134720018                Gas           Gov. Aggregation   COH             191679940024                Gas           Gov. Aggregation
COH             197432580017                Gas           Gov. Aggregation   COH             198967460018                Gas           Gov. Aggregation
COH             172357760036                Gas           Gov. Aggregation   COH             200646090011                Gas           Gov. Aggregation
COH             199655600018                Gas           Gov. Aggregation   COH             200998770013                Gas           Gov. Aggregation
COH             146286540026                Gas           Gov. Aggregation   COH             198550830040                Gas           Gov. Aggregation
COH             199540840011                Gas           Gov. Aggregation   COH             198764170019                Gas           Gov. Aggregation
COH             124735960021                Gas           Gov. Aggregation   COH             199362000015                Gas           Gov. Aggregation
COH             137142580023                Gas           Gov. Aggregation   COH             169576150035                Gas           Gov. Aggregation
COH             197151100013                Gas           Gov. Aggregation   COH             158300380024                Gas           Gov. Aggregation
COH             197807120018                Gas           Gov. Aggregation   COH             199652070016                Gas           Gov. Aggregation
COH             158663240150                Gas           Gov. Aggregation   COH             199824950016                Gas           Gov. Aggregation
COH             199579610018                Gas           Gov. Aggregation   COH             200041910010                Gas           Gov. Aggregation
COH             198716140016                Gas           Gov. Aggregation   COH             200369780032                Gas           Gov. Aggregation
COH             199066010011                Gas           Gov. Aggregation   COH             170297220039                Gas           Gov. Aggregation
COH             148860130040                Gas           Gov. Aggregation   DEO             5421002725793               Gas           Gov. Aggregation
COH             134527630029                Gas           Gov. Aggregation   COH             110438190010                Gas           Gov. Aggregation
COH             187806160032                Gas           Gov. Aggregation   COH             110448640014                Gas           Gov. Aggregation
COH             196842980015                Gas           Gov. Aggregation   COH             170359880020                Gas           Gov. Aggregation
COH             190685280021                Gas           Gov. Aggregation   COH             200569960012                Gas           Gov. Aggregation
COH             197875390019                Gas           Gov. Aggregation   COH             200505730014                Gas           Gov. Aggregation
COH             195510120019                Gas           Gov. Aggregation   COH             200528590016                Gas           Gov. Aggregation
COH             195346300029                Gas           Gov. Aggregation   COH             196817100012                Gas           Gov. Aggregation
COH             170347210034                Gas           Gov. Aggregation   COH             196549920019                Gas           Gov. Aggregation
COH             176025650029                Gas           Gov. Aggregation   COH             196477480015                Gas           Gov. Aggregation
COH             198117120010                Gas           Gov. Aggregation   COH             198148780017                Gas           Gov. Aggregation
COH             197747960010                Gas           Gov. Aggregation   COH             200862870019                Gas           Gov. Aggregation
COH             154501440038                Gas           Gov. Aggregation   COH             201008940013                Gas           Gov. Aggregation
COH             193932600034                Gas           Gov. Aggregation   COH             201008950011                Gas           Gov. Aggregation
COH             187932430029                Gas           Gov. Aggregation   COH             175847050024                Gas           Gov. Aggregation
COH             199282620015                Gas           Gov. Aggregation   COH             148774310036                Gas           Gov. Aggregation
COH             197177150019                Gas           Gov. Aggregation   COH             164452080019                Gas           Gov. Aggregation
COH             188689630023                Gas           Gov. Aggregation   COH             196042820032                Gas           Gov. Aggregation
COH             192339560023                Gas           Gov. Aggregation   COH             196051450013                Gas           Gov. Aggregation
COH             197097470012                Gas           Gov. Aggregation   COH             193192370015                Gas           Gov. Aggregation
COH             197383970010                Gas           Gov. Aggregation   COH             185299400058                Gas           Gov. Aggregation
COH             198048140013                Gas           Gov. Aggregation   COH             196489030014                Gas           Gov. Aggregation
COH             196731500010                Gas           Gov. Aggregation   COH             199937550011                Gas           Gov. Aggregation
COH             196967610018                Gas           Gov. Aggregation   COH             195627490033                Gas           Gov. Aggregation
COH             199852690012                Gas           Gov. Aggregation   COH             138778640022                Gas           Gov. Aggregation
COH             199359480012                Gas           Gov. Aggregation   COH             149425000039                Gas           Gov. Aggregation
COH             199290050018                Gas           Gov. Aggregation   COH             174881540020                Gas           Gov. Aggregation
COH             195815240018                Gas           Gov. Aggregation   COH             198169500020                Gas           Gov. Aggregation
COH             146677280022                Gas           Gov. Aggregation   COH             203966150017                Gas           Gov. Aggregation
COH             162915410019                Gas           Gov. Aggregation   COH             204527630015                Gas           Gov. Aggregation
COH             165335470032                Gas           Gov. Aggregation   COH             196871990021                Gas           Gov. Aggregation
COH             165562830026                Gas           Gov. Aggregation   COH             145135420021                Gas           Gov. Aggregation
COH             197131390024                Gas           Gov. Aggregation   COH             202973220018                Gas           Gov. Aggregation
COH             197707400011                Gas           Gov. Aggregation   COH             194604110022                Gas           Gov. Aggregation
COH             197817030016                Gas           Gov. Aggregation   COH             148868350039                Gas           Gov. Aggregation
COH             197807130016                Gas           Gov. Aggregation   COH             192452150047                Gas           Gov. Aggregation
COH             196294870011                Gas           Gov. Aggregation   COH             115415840016                Gas           Gov. Aggregation
COH             197241340012                Gas           Gov. Aggregation   COH             157714140019                Gas           Gov. Aggregation
COH             197018860016                Gas           Gov. Aggregation   COH             210212140017                Gas           Gov. Aggregation
COH             149349810031                Gas           Gov. Aggregation   COH             210245310012                Gas           Gov. Aggregation
COH             190783510024                Gas           Gov. Aggregation   VEDO            4004991652509720            Gas           Gov. Aggregation
COH             191386620022                Gas           Gov. Aggregation   COH             140915170025                Gas           Gov. Aggregation
COH             192576320021                Gas           Gov. Aggregation   COH             205815710016                Gas           Gov. Aggregation
COH             197831830018                Gas           Gov. Aggregation   COH             198420390011                Gas           Gov. Aggregation
COH             163757150108                Gas           Gov. Aggregation   COH             145260710016                Gas           Gov. Aggregation
COH             187380980025                Gas           Gov. Aggregation   COH             193376830018                Gas           Gov. Aggregation
COH             175278750033                Gas           Gov. Aggregation   COH             192963160015                Gas           Gov. Aggregation
COH             198807600016                Gas           Gov. Aggregation   COH             195983480013                Gas           Gov. Aggregation
COH             198076080017                Gas           Gov. Aggregation   COH             198798150012                Gas           Gov. Aggregation
COH             191458030023                Gas           Gov. Aggregation   COH             200868230011                Gas           Gov. Aggregation
COH             197440390010                Gas           Gov. Aggregation   COH             119985220042                Gas           Gov. Aggregation
COH             197202960014                Gas           Gov. Aggregation   COH             138910420160                Gas           Gov. Aggregation
COH             196743600014                Gas           Gov. Aggregation   COH             152966130059                Gas           Gov. Aggregation
COH             166953300045                Gas           Gov. Aggregation   COH             169358870018                Gas           Gov. Aggregation
COH             156699160029                Gas           Gov. Aggregation   COH             156517550049                Gas           Gov. Aggregation
COH             199499800018                Gas           Gov. Aggregation   COH             160856570023                Gas           Gov. Aggregation
COH             197136890010                Gas           Gov. Aggregation   COH             164192980021                Gas           Gov. Aggregation
COH             199585900014                Gas           Gov. Aggregation   COH             156454560023                Gas           Gov. Aggregation
COH             199136140015                Gas           Gov. Aggregation   COH             192131295150                Gas           Gov. Aggregation
COH             199136140033                Gas           Gov. Aggregation   COH             192464070021                Gas           Gov. Aggregation
COH             197436770019                Gas           Gov. Aggregation   COH             186335640013                Gas           Gov. Aggregation
COH             198041160013                Gas           Gov. Aggregation   COH             193489170027                Gas           Gov. Aggregation
COH             199402520010                Gas           Gov. Aggregation   COH             194883380026                Gas           Gov. Aggregation
COH             166351330027                Gas           Gov. Aggregation   COH             192620950015                Gas           Gov. Aggregation
COH             168527830027                Gas           Gov. Aggregation   COH             193061870017                Gas           Gov. Aggregation
COH             195668030015                Gas           Gov. Aggregation   COH             197615710011                Gas           Gov. Aggregation
COH             196848480018                Gas           Gov. Aggregation   COH             199549670019                Gas           Gov. Aggregation
COH             167948320032                Gas           Gov. Aggregation   COH             153378210021                Gas           Gov. Aggregation
COH             124433890017                Gas           Gov. Aggregation   COH             161871530019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             199087940012                Gas           Gov. Aggregation   COH             170796440035                Gas           Gov. Aggregation
COH             193106730029                Gas           Gov. Aggregation   COH             169150110017                Gas           Gov. Aggregation
COH             199713350017                Gas           Gov. Aggregation   COH             169417540020                Gas           Gov. Aggregation
COH             199676790015                Gas           Gov. Aggregation   COH             169821740021                Gas           Gov. Aggregation
COH             174971060011                Gas           Gov. Aggregation   COH             134500500031                Gas           Gov. Aggregation
COH             147424090017                Gas           Gov. Aggregation   COH             165583550021                Gas           Gov. Aggregation
COH             197202770014                Gas           Gov. Aggregation   COH             167103850022                Gas           Gov. Aggregation
COH             199619840014                Gas           Gov. Aggregation   COH             162830910032                Gas           Gov. Aggregation
COH             191692440021                Gas           Gov. Aggregation   COH             198988060018                Gas           Gov. Aggregation
COH             196227530013                Gas           Gov. Aggregation   COH             199662120014                Gas           Gov. Aggregation
COH             187168380021                Gas           Gov. Aggregation   COH             159812080012                Gas           Gov. Aggregation
COH             174648210041                Gas           Gov. Aggregation   COH             163229850020                Gas           Gov. Aggregation
COH             167558610010                Gas           Gov. Aggregation   COH             156924090016                Gas           Gov. Aggregation
COH             172670930018                Gas           Gov. Aggregation   COH             198947360011                Gas           Gov. Aggregation
COH             188187780044                Gas           Gov. Aggregation   COH             120537610028                Gas           Gov. Aggregation
COH             197260270017                Gas           Gov. Aggregation   COH             201116920018                Gas           Gov. Aggregation
COH             198134620019                Gas           Gov. Aggregation   COH             195923860019                Gas           Gov. Aggregation
COH             196194360010                Gas           Gov. Aggregation   COH             196254890011                Gas           Gov. Aggregation
COH             125106330034                Gas           Gov. Aggregation   COH             185463380027                Gas           Gov. Aggregation
COH             124456590030                Gas           Gov. Aggregation   COH             149832120013                Gas           Gov. Aggregation
COH             186310990021                Gas           Gov. Aggregation   COH             191445010033                Gas           Gov. Aggregation
COH             199415330013                Gas           Gov. Aggregation   COH             201086910015                Gas           Gov. Aggregation
COH             195803050013                Gas           Gov. Aggregation   COH             201050230013                Gas           Gov. Aggregation
COH             143315550015                Gas           Gov. Aggregation   COH             200987870015                Gas           Gov. Aggregation
COH             133982870026                Gas           Gov. Aggregation   COH             200934330019                Gas           Gov. Aggregation
COH             197757020016                Gas           Gov. Aggregation   COH             199432760017                Gas           Gov. Aggregation
COH             198998880015                Gas           Gov. Aggregation   COH             195773160408                Gas           Gov. Aggregation
COH             199112650018                Gas           Gov. Aggregation   COH             151316680025                Gas           Gov. Aggregation
COH             199231510015                Gas           Gov. Aggregation   COH             150831430099                Gas           Gov. Aggregation
COH             195520370016                Gas           Gov. Aggregation   COH             150245630027                Gas           Gov. Aggregation
COH             198668740013                Gas           Gov. Aggregation   COH             150558740021                Gas           Gov. Aggregation
COH             154481370028                Gas           Gov. Aggregation   COH             148453990016                Gas           Gov. Aggregation
COH             196553600017                Gas           Gov. Aggregation   COH             148741750015                Gas           Gov. Aggregation
COH             196743550015                Gas           Gov. Aggregation   COH             148522150015                Gas           Gov. Aggregation
COH             196120070016                Gas           Gov. Aggregation   COH             136760950026                Gas           Gov. Aggregation
COH             196082770039                Gas           Gov. Aggregation   COH             138276050048                Gas           Gov. Aggregation
COH             198968670012                Gas           Gov. Aggregation   COH             120543530013                Gas           Gov. Aggregation
COH             199884700012                Gas           Gov. Aggregation   COH             120537020031                Gas           Gov. Aggregation
COH             124468780017                Gas           Gov. Aggregation   COH             120542530042                Gas           Gov. Aggregation
COH             199689500018                Gas           Gov. Aggregation   COH             118785750046                Gas           Gov. Aggregation
COH             190313330018                Gas           Gov. Aggregation   COH             119674070034                Gas           Gov. Aggregation
COH             124833030028                Gas           Gov. Aggregation   COH             162587660069                Gas           Gov. Aggregation
COH             197825850017                Gas           Gov. Aggregation   COH             165890170084                Gas           Gov. Aggregation
COH             198432870015                Gas           Gov. Aggregation   COH             199332900019                Gas           Gov. Aggregation
COH             197645930012                Gas           Gov. Aggregation   COH             187435930037                Gas           Gov. Aggregation
COH             198200590015                Gas           Gov. Aggregation   COH             120540460014                Gas           Gov. Aggregation
COH             195552710017                Gas           Gov. Aggregation   COH             120540500015                Gas           Gov. Aggregation
COH             124456440013                Gas           Gov. Aggregation   COH             120539760014                Gas           Gov. Aggregation
COH             199290030012                Gas           Gov. Aggregation   COH             120539920010                Gas           Gov. Aggregation
COH             197875200027                Gas           Gov. Aggregation   COH             109032030025                Gas           Gov. Aggregation
COH             198743020014                Gas           Gov. Aggregation   COH             120533270028                Gas           Gov. Aggregation
COH             199540740012                Gas           Gov. Aggregation   COH             177488570043                Gas           Gov. Aggregation
COH             198576000013                Gas           Gov. Aggregation   COH             158591240046                Gas           Gov. Aggregation
COH             197831670012                Gas           Gov. Aggregation   COH             199988680017                Gas           Gov. Aggregation
COH             186447490018                Gas           Gov. Aggregation   COH             199341680017                Gas           Gov. Aggregation
COH             196197190010                Gas           Gov. Aggregation   COH             186587690074                Gas           Gov. Aggregation
COH             199390940019                Gas           Gov. Aggregation   COH             186920980020                Gas           Gov. Aggregation
COH             198218480011                Gas           Gov. Aggregation   COH             199364680019                Gas           Gov. Aggregation
COH             124405200038                Gas           Gov. Aggregation   COH             199242300016                Gas           Gov. Aggregation
COH             150536150030                Gas           Gov. Aggregation   COH             199242340018                Gas           Gov. Aggregation
COH             173237150037                Gas           Gov. Aggregation   COH             176095610057                Gas           Gov. Aggregation
COH             199007020013                Gas           Gov. Aggregation   COH             173150150077                Gas           Gov. Aggregation
COH             199746730018                Gas           Gov. Aggregation   COH             185653740019                Gas           Gov. Aggregation
COH             198189620014                Gas           Gov. Aggregation   COH             200843230013                Gas           Gov. Aggregation
COH             199830690018                Gas           Gov. Aggregation   COH             154704730019                Gas           Gov. Aggregation
COH             123963480020                Gas           Gov. Aggregation   COH             153407380078                Gas           Gov. Aggregation
COH             198010000011                Gas           Gov. Aggregation   COH             156052390012                Gas           Gov. Aggregation
COH             185186950034                Gas           Gov. Aggregation   COH             147232220025                Gas           Gov. Aggregation
COH             174406140020                Gas           Gov. Aggregation   COH             147875850012                Gas           Gov. Aggregation
COH             196677060019                Gas           Gov. Aggregation   COH             131390040018                Gas           Gov. Aggregation
COH             189180370025                Gas           Gov. Aggregation   COH             132026410038                Gas           Gov. Aggregation
COH             199563880015                Gas           Gov. Aggregation   COH             133833140113                Gas           Gov. Aggregation
COH             199545190018                Gas           Gov. Aggregation   COH             126841180028                Gas           Gov. Aggregation
COH             199884640015                Gas           Gov. Aggregation   COH             120541030012                Gas           Gov. Aggregation
COH             173791170020                Gas           Gov. Aggregation   COH             120541270030                Gas           Gov. Aggregation
COH             197696230012                Gas           Gov. Aggregation   COH             120540100019                Gas           Gov. Aggregation
COH             199074800018                Gas           Gov. Aggregation   COH             120531410022                Gas           Gov. Aggregation
COH             198716010013                Gas           Gov. Aggregation   COH             117230610023                Gas           Gov. Aggregation
COH             195319550024                Gas           Gov. Aggregation   COH             120539450019                Gas           Gov. Aggregation
COH             190958830035                Gas           Gov. Aggregation   COH             120534020019                Gas           Gov. Aggregation
COH             197359600027                Gas           Gov. Aggregation   COH             192809870012                Gas           Gov. Aggregation
COH             155253030174                Gas           Gov. Aggregation   COH             192745340019                Gas           Gov. Aggregation
COH             153232120019                Gas           Gov. Aggregation   COH             197774050014                Gas           Gov. Aggregation
COH             194711780061                Gas           Gov. Aggregation   COH             187448210031                Gas           Gov. Aggregation
COH             186129880029                Gas           Gov. Aggregation   COH             199971440012                Gas           Gov. Aggregation
COH             185899780011                Gas           Gov. Aggregation   COH             199606670017                Gas           Gov. Aggregation
COH             197301420017                Gas           Gov. Aggregation   COH             199622800015                Gas           Gov. Aggregation
COH             197330580013                Gas           Gov. Aggregation   COH             199812520011                Gas           Gov. Aggregation
COH             198224660010                Gas           Gov. Aggregation   COH             199314090018                Gas           Gov. Aggregation
COH             199735180017                Gas           Gov. Aggregation   COH             158151650015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             197351460014                Gas           Gov. Aggregation   COH             159998850107                Gas           Gov. Aggregation
COH             197031850010                Gas           Gov. Aggregation   COH             158718420011                Gas           Gov. Aggregation
COH             198202810014                Gas           Gov. Aggregation   COH             155248790014                Gas           Gov. Aggregation
COH             198809290018                Gas           Gov. Aggregation   COH             173413550011                Gas           Gov. Aggregation
COH             198628700015                Gas           Gov. Aggregation   COH             173924730038                Gas           Gov. Aggregation
COH             137450260045                Gas           Gov. Aggregation   COH             174194440037                Gas           Gov. Aggregation
COH             197739370011                Gas           Gov. Aggregation   COH             174664240014                Gas           Gov. Aggregation
COH             195708950016                Gas           Gov. Aggregation   COH             152902500046                Gas           Gov. Aggregation
COH             194722410029                Gas           Gov. Aggregation   COH             133156070016                Gas           Gov. Aggregation
COH             193720780027                Gas           Gov. Aggregation   COH             138011740061                Gas           Gov. Aggregation
COH             197940840015                Gas           Gov. Aggregation   COH             137464600026                Gas           Gov. Aggregation
COH             197590530013                Gas           Gov. Aggregation   COH             120540640016                Gas           Gov. Aggregation
COH             174462790026                Gas           Gov. Aggregation   COH             120540670010                Gas           Gov. Aggregation
COH             199530510011                Gas           Gov. Aggregation   COH             120545060018                Gas           Gov. Aggregation
COH             197359510026                Gas           Gov. Aggregation   COH             120532450013                Gas           Gov. Aggregation
COH             151652750037                Gas           Gov. Aggregation   COH             120531590034                Gas           Gov. Aggregation
COH             124437760025                Gas           Gov. Aggregation   COH             199812510013                Gas           Gov. Aggregation
COH             175077710028                Gas           Gov. Aggregation   COH             192865070049                Gas           Gov. Aggregation
COH             197828850011                Gas           Gov. Aggregation   COH             192884820014                Gas           Gov. Aggregation
COH             172991200039                Gas           Gov. Aggregation   COH             192781190024                Gas           Gov. Aggregation
COH             197923770016                Gas           Gov. Aggregation   COH             194581080010                Gas           Gov. Aggregation
COH             171916300037                Gas           Gov. Aggregation   COH             196340250012                Gas           Gov. Aggregation
COH             124458100010                Gas           Gov. Aggregation   COH             197361120014                Gas           Gov. Aggregation
COH             196242840016                Gas           Gov. Aggregation   COH             198429740019                Gas           Gov. Aggregation
COH             195708980029                Gas           Gov. Aggregation   COH             200828560016                Gas           Gov. Aggregation
COH             199307750014                Gas           Gov. Aggregation   COH             200682730010                Gas           Gov. Aggregation
COH             199255850014                Gas           Gov. Aggregation   COH             199587700012                Gas           Gov. Aggregation
COH             172108960022                Gas           Gov. Aggregation   COH             195028060024                Gas           Gov. Aggregation
COH             151831450030                Gas           Gov. Aggregation   COH             198607610018                Gas           Gov. Aggregation
COH             194190360029                Gas           Gov. Aggregation   COH             197480850019                Gas           Gov. Aggregation
COH             194755340025                Gas           Gov. Aggregation   COH             144776180070                Gas           Gov. Aggregation
COH             196054280022                Gas           Gov. Aggregation   COH             169544910078                Gas           Gov. Aggregation
COH             196284970011                Gas           Gov. Aggregation   COH             200150200018                Gas           Gov. Aggregation
COH             192151370021                Gas           Gov. Aggregation   COH             200184010017                Gas           Gov. Aggregation
COH             188553660024                Gas           Gov. Aggregation   COH             200282450017                Gas           Gov. Aggregation
COH             188679690022                Gas           Gov. Aggregation   COH             173858440021                Gas           Gov. Aggregation
COH             199065930010                Gas           Gov. Aggregation   COH             188278960025                Gas           Gov. Aggregation
COH             199547680011                Gas           Gov. Aggregation   COH             174342280054                Gas           Gov. Aggregation
COH             195509930012                Gas           Gov. Aggregation   COH             128755120021                Gas           Gov. Aggregation
COH             199805860015                Gas           Gov. Aggregation   COH             199236930035                Gas           Gov. Aggregation
COH             197601610011                Gas           Gov. Aggregation   COH             115455750137                Gas           Gov. Aggregation
COH             124429000049                Gas           Gov. Aggregation   COH             200395160019                Gas           Gov. Aggregation
COH             125679710059                Gas           Gov. Aggregation   COH             160809520068                Gas           Gov. Aggregation
COH             199605270013                Gas           Gov. Aggregation   COH             146031040020                Gas           Gov. Aggregation
COH             199579680014                Gas           Gov. Aggregation   COH             199519970019                Gas           Gov. Aggregation
COH             198480910015                Gas           Gov. Aggregation   COH             199413050016                Gas           Gov. Aggregation
COH             195746220019                Gas           Gov. Aggregation   COH             159385400057                Gas           Gov. Aggregation
COH             199536470018                Gas           Gov. Aggregation   COH             196657140023                Gas           Gov. Aggregation
COH             188076050024                Gas           Gov. Aggregation   COH             198154160014                Gas           Gov. Aggregation
COH             199266570010                Gas           Gov. Aggregation   COH             198038640019                Gas           Gov. Aggregation
COH             125684820019                Gas           Gov. Aggregation   COH             198468750015                Gas           Gov. Aggregation
COH             125685370021                Gas           Gov. Aggregation   COH             197685450019                Gas           Gov. Aggregation
COH             198197330018                Gas           Gov. Aggregation   COH             198531940010                Gas           Gov. Aggregation
COH             199106830013                Gas           Gov. Aggregation   COH             177520170038                Gas           Gov. Aggregation
COH             199240860013                Gas           Gov. Aggregation   COH             200511160011                Gas           Gov. Aggregation
COH             198249380017                Gas           Gov. Aggregation   COH             170417220024                Gas           Gov. Aggregation
COH             198946010016                Gas           Gov. Aggregation   COH             194103420029                Gas           Gov. Aggregation
COH             196818240020                Gas           Gov. Aggregation   COH             199323610019                Gas           Gov. Aggregation
COH             193079820010                Gas           Gov. Aggregation   COH             185417290032                Gas           Gov. Aggregation
COH             169925290026                Gas           Gov. Aggregation   COH             186226160024                Gas           Gov. Aggregation
COH             198056110012                Gas           Gov. Aggregation   COH             186006800034                Gas           Gov. Aggregation
COH             125121120027                Gas           Gov. Aggregation   COH             186064990024                Gas           Gov. Aggregation
COH             124411880033                Gas           Gov. Aggregation   COH             186092070028                Gas           Gov. Aggregation
COH             193980510014                Gas           Gov. Aggregation   COH             186608490025                Gas           Gov. Aggregation
COH             197280460015                Gas           Gov. Aggregation   COH             168639370027                Gas           Gov. Aggregation
COH             174345950020                Gas           Gov. Aggregation   COH             169655980024                Gas           Gov. Aggregation
COH             199728570010                Gas           Gov. Aggregation   COH             170148820092                Gas           Gov. Aggregation
COH             199884790014                Gas           Gov. Aggregation   COH             170225060025                Gas           Gov. Aggregation
COH             125307730025                Gas           Gov. Aggregation   COH             173434610041                Gas           Gov. Aggregation
COH             172230000024                Gas           Gov. Aggregation   COH             156698380070                Gas           Gov. Aggregation
COH             195116440027                Gas           Gov. Aggregation   COH             158832540041                Gas           Gov. Aggregation
COH             152809500035                Gas           Gov. Aggregation   COH             154283660036                Gas           Gov. Aggregation
COH             198302640018                Gas           Gov. Aggregation   COH             197533460018                Gas           Gov. Aggregation
COH             199743010015                Gas           Gov. Aggregation   COH             197537870014                Gas           Gov. Aggregation
COH             147013400021                Gas           Gov. Aggregation   COH             197560290017                Gas           Gov. Aggregation
COH             177200680020                Gas           Gov. Aggregation   COH             197609290013                Gas           Gov. Aggregation
COH             166499080019                Gas           Gov. Aggregation   COH             194189401513                Gas           Gov. Aggregation
COH             194548730022                Gas           Gov. Aggregation   COH             198279420024                Gas           Gov. Aggregation
COH             194548730022                Gas           Gov. Aggregation   COH             198217170018                Gas           Gov. Aggregation
COH             199219650012                Gas           Gov. Aggregation   COH             198399960018                Gas           Gov. Aggregation
COH             199358690010                Gas           Gov. Aggregation   COH             198125840012                Gas           Gov. Aggregation
COH             199394090010                Gas           Gov. Aggregation   COH             198134070015                Gas           Gov. Aggregation
COH             197236140015                Gas           Gov. Aggregation   COH             198154380018                Gas           Gov. Aggregation
COH             168513570058                Gas           Gov. Aggregation   COH             199557330013                Gas           Gov. Aggregation
COH             187164640042                Gas           Gov. Aggregation   COH             199565580014                Gas           Gov. Aggregation
COH             187692310060                Gas           Gov. Aggregation   COH             199603600017                Gas           Gov. Aggregation
COH             197444960012                Gas           Gov. Aggregation   COH             199629730016                Gas           Gov. Aggregation
COH             196777310014                Gas           Gov. Aggregation   COH             200102450017                Gas           Gov. Aggregation
COH             187215390028                Gas           Gov. Aggregation   COH             200220650015                Gas           Gov. Aggregation
COH             199884570010                Gas           Gov. Aggregation   COH             200289030011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             196093470011                Gas           Gov. Aggregation   COH             200301760010                Gas           Gov. Aggregation
COH             124465090036                Gas           Gov. Aggregation   COH             200307660019                Gas           Gov. Aggregation
COH             148218140030                Gas           Gov. Aggregation   COH             200970050012                Gas           Gov. Aggregation
COH             189079080021                Gas           Gov. Aggregation   DEO             9420903620892               Gas           Gov. Aggregation
COH             129109350049                Gas           Gov. Aggregation   COH             200039380017                Gas           Gov. Aggregation
COH             167795860025                Gas           Gov. Aggregation   COH             198488280012                Gas           Gov. Aggregation
COH             192035620033                Gas           Gov. Aggregation   COH             198391730012                Gas           Gov. Aggregation
COH             197786310014                Gas           Gov. Aggregation   COH             198984090010                Gas           Gov. Aggregation
COH             199303580018                Gas           Gov. Aggregation   COH             196147110011                Gas           Gov. Aggregation
COH             199735150013                Gas           Gov. Aggregation   COH             170816700018                Gas           Gov. Aggregation
COH             196947890012                Gas           Gov. Aggregation   COH             200840890011                Gas           Gov. Aggregation
DEO             0180001004939               Gas           Gov. Aggregation   COH             200674500015                Gas           Gov. Aggregation
DEO             0180001219985               Gas           Gov. Aggregation   COH             144676710187                Gas           Gov. Aggregation
DEO             0421700853234               Gas           Gov. Aggregation   COH             196114370034                Gas           Gov. Aggregation
DEO             0500060763274               Gas           Gov. Aggregation   COH             191820610040                Gas           Gov. Aggregation
DEO             0500061752993               Gas           Gov. Aggregation   COH             124588660018                Gas           Gov. Aggregation
DEO             0500065164141               Gas           Gov. Aggregation   COH             197993300017                Gas           Gov. Aggregation
DEO             0500065227389               Gas           Gov. Aggregation   COH             172998650031                Gas           Gov. Aggregation
DEO             0500066035312               Gas           Gov. Aggregation   COH             188051000017                Gas           Gov. Aggregation
DEO             1500046625941               Gas           Gov. Aggregation   COH             197631310011                Gas           Gov. Aggregation
DEO             1500065190450               Gas           Gov. Aggregation   COH             197911020018                Gas           Gov. Aggregation
DEO             1500066331628               Gas           Gov. Aggregation   COH             197524120018                Gas           Gov. Aggregation
DEO             1500067181772               Gas           Gov. Aggregation   COH             200788940012                Gas           Gov. Aggregation
DEO             1500067448429               Gas           Gov. Aggregation   COH             200787020017                Gas           Gov. Aggregation
DEO             1500067460062               Gas           Gov. Aggregation   COH             190209820025                Gas           Gov. Aggregation
DEO             2180001167411               Gas           Gov. Aggregation   COH             187039740028                Gas           Gov. Aggregation
DEO             2500002097974               Gas           Gov. Aggregation   COH             200657520017                Gas           Gov. Aggregation
DEO             2500053156112               Gas           Gov. Aggregation   COH             156665400047                Gas           Gov. Aggregation
DEO             2500061050214               Gas           Gov. Aggregation   VEDO            4017189922233356            Gas           Gov. Aggregation
DEO             2500062255413               Gas           Gov. Aggregation   VEDO            4001324652107078            Gas           Gov. Aggregation
DEO             2500063549820               Gas           Gov. Aggregation   VEDO            4018291642458802            Gas           Gov. Aggregation
DEO             2500064162478               Gas           Gov. Aggregation   VEDO            4015728812390955            Gas           Gov. Aggregation
DEO             2500064531354               Gas           Gov. Aggregation   VEDO            4019263212644654            Gas           Gov. Aggregation
DEO             2500064867226               Gas           Gov. Aggregation   VEDO            4004622642191607            Gas           Gov. Aggregation
DEO             2500065673230               Gas           Gov. Aggregation   VEDO            4019778992272803            Gas           Gov. Aggregation
DEO             2500066118334               Gas           Gov. Aggregation   VEDO            4019847692366894            Gas           Gov. Aggregation
DEO             2500066904412               Gas           Gov. Aggregation   VEDO            4017044882426974            Gas           Gov. Aggregation
DEO             2500067037378               Gas           Gov. Aggregation   VEDO            4019874552151303            Gas           Gov. Aggregation
DEO             2500067396870               Gas           Gov. Aggregation   VEDO            4017994682424143            Gas           Gov. Aggregation
DEO             3180000810428               Gas           Gov. Aggregation   VEDO            4019160542107279            Gas           Gov. Aggregation
DEO             3180000940548               Gas           Gov. Aggregation   VEDO            4016725552412175            Gas           Gov. Aggregation
DEO             3180001067865               Gas           Gov. Aggregation   VEDO            4019520272636965            Gas           Gov. Aggregation
DEO             3421701050374               Gas           Gov. Aggregation   VEDO            4019391312636968            Gas           Gov. Aggregation
DEO             3500061430492               Gas           Gov. Aggregation   VEDO            4019156022397775            Gas           Gov. Aggregation
DEO             3500062011137               Gas           Gov. Aggregation   VEDO            4002612282452697            Gas           Gov. Aggregation
DEO             4180000218381               Gas           Gov. Aggregation   VEDO            4003205492303397            Gas           Gov. Aggregation
DEO             4421804659525               Gas           Gov. Aggregation   VEDO            4001830042648452            Gas           Gov. Aggregation
DEO             4500015473580               Gas           Gov. Aggregation   VEDO            4001923282187792            Gas           Gov. Aggregation
DEO             4500062473486               Gas           Gov. Aggregation   VEDO            4002619412315224            Gas           Gov. Aggregation
DEO             4500062474210               Gas           Gov. Aggregation   VEDO            4003649342363041            Gas           Gov. Aggregation
DEO             4500063048924               Gas           Gov. Aggregation   VEDO            4018749562511554            Gas           Gov. Aggregation
DEO             4500063953881               Gas           Gov. Aggregation   VEDO            4015828812175036            Gas           Gov. Aggregation
DEO             4500064568849               Gas           Gov. Aggregation   VEDO            4004216972153905            Gas           Gov. Aggregation
DEO             5180001055640               Gas           Gov. Aggregation   VEDO            4019787162181029            Gas           Gov. Aggregation
DEO             5500062754405               Gas           Gov. Aggregation   VEDO            4019789442153046            Gas           Gov. Aggregation
DEO             5500062865871               Gas           Gov. Aggregation   VEDO            4016839152434249            Gas           Gov. Aggregation
DEO             5500066511690               Gas           Gov. Aggregation   VEDO            4019921432100979            Gas           Gov. Aggregation
DEO             5500067220228               Gas           Gov. Aggregation   VEDO            4016588262279081            Gas           Gov. Aggregation
DEO             5500067613845               Gas           Gov. Aggregation   VEDO            4018831852321077            Gas           Gov. Aggregation
DEO             6421701952724               Gas           Gov. Aggregation   VEDO            4015807092489863            Gas           Gov. Aggregation
DEO             6500050220338               Gas           Gov. Aggregation   VEDO            4001097842109295            Gas           Gov. Aggregation
DEO             6500062483918               Gas           Gov. Aggregation   VEDO            4019906622493856            Gas           Gov. Aggregation
DEO             6500062988514               Gas           Gov. Aggregation   VEDO            4018455302460149            Gas           Gov. Aggregation
DEO             6500066190417               Gas           Gov. Aggregation   VEDO            4018912742157015            Gas           Gov. Aggregation
DEO             6500066877073               Gas           Gov. Aggregation   VEDO            4018638242440784            Gas           Gov. Aggregation
DEO             6500067185883               Gas           Gov. Aggregation   VEDO            4005039262515112            Gas           Gov. Aggregation
DEO             7180000329716               Gas           Gov. Aggregation   VEDO            4004234432337812            Gas           Gov. Aggregation
DEO             7180000632080               Gas           Gov. Aggregation   VEDO            4004487202518466            Gas           Gov. Aggregation
DEO             7180000920221               Gas           Gov. Aggregation   VEDO            4019075062643609            Gas           Gov. Aggregation
DEO             7500008157836               Gas           Gov. Aggregation   VEDO            4019857132672032            Gas           Gov. Aggregation
DEO             7500062061855               Gas           Gov. Aggregation   VEDO            4019963602639153            Gas           Gov. Aggregation
DEO             7500066133155               Gas           Gov. Aggregation   VEDO            4019892362638914            Gas           Gov. Aggregation
DEO             7500066905013               Gas           Gov. Aggregation   VEDO            4017192812641567            Gas           Gov. Aggregation
DEO             7500067463039               Gas           Gov. Aggregation   VEDO            4015454672636263            Gas           Gov. Aggregation
DEO             8500064836100               Gas           Gov. Aggregation   VEDO            4001567612636255            Gas           Gov. Aggregation
DEO             8500065762953               Gas           Gov. Aggregation   VEDO            4019457892142168            Gas           Gov. Aggregation
DEO             8500065981130               Gas           Gov. Aggregation   VEDO            4016379952471536            Gas           Gov. Aggregation
DEO             9421701248844               Gas           Gov. Aggregation   VEDO            4002691742418649            Gas           Gov. Aggregation
DEO             9421706200759               Gas           Gov. Aggregation   VEDO            4001828022209503            Gas           Gov. Aggregation
DEO             9421804111221               Gas           Gov. Aggregation   VEDO            4019337712482753            Gas           Gov. Aggregation
DEO             9442105197039               Gas           Gov. Aggregation   VEDO            4003715262369965            Gas           Gov. Aggregation
DEO             9500039710440               Gas           Gov. Aggregation   COH             199234920013                Gas           Gov. Aggregation
DEO             9500067518795               Gas           Gov. Aggregation   COH             200516060012                Gas           Gov. Aggregation
DEO             1180000089620               Gas           Gov. Aggregation   COH             153538100024                Gas           Gov. Aggregation
DEO             1180000143828               Gas           Gov. Aggregation   COH             149637630029                Gas           Gov. Aggregation
DEO             1180000274598               Gas           Gov. Aggregation   COH             199721250011                Gas           Gov. Aggregation
DEO             1180000591406               Gas           Gov. Aggregation   COH             201337640019                Gas           Gov. Aggregation
DEO             1180000654822               Gas           Gov. Aggregation   COH             197960540016                Gas           Gov. Aggregation
DEO             1180000729788               Gas           Gov. Aggregation   COH             198374480011                Gas           Gov. Aggregation
DEO             1180000787973               Gas           Gov. Aggregation   COH             195532750020                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             1180001102144               Gas           Gov. Aggregation   COH             198345640018                Gas           Gov. Aggregation
DEO             1180001107748               Gas           Gov. Aggregation   COH             201060240010                Gas           Gov. Aggregation
DEO             1180001146688               Gas           Gov. Aggregation   COH             200545440011                Gas           Gov. Aggregation
DEO             1180001156818               Gas           Gov. Aggregation   COH             201181370017                Gas           Gov. Aggregation
DEO             1180001218471               Gas           Gov. Aggregation   COH             111329100018                Gas           Gov. Aggregation
DEO             1180001286848               Gas           Gov. Aggregation   COH             199118560015                Gas           Gov. Aggregation
DEO             1421006166377               Gas           Gov. Aggregation   COH             199697790011                Gas           Gov. Aggregation
DEO             1500016065380               Gas           Gov. Aggregation   COH             200492570017                Gas           Gov. Aggregation
DEO             1500046001655               Gas           Gov. Aggregation   COH             200267630011                Gas           Gov. Aggregation
DEO             1500062954983               Gas           Gov. Aggregation   COH             200983590012                Gas           Gov. Aggregation
DEO             1500063311251               Gas           Gov. Aggregation   COH             201097400019                Gas           Gov. Aggregation
DEO             1500063973963               Gas           Gov. Aggregation   COH             111326650019                Gas           Gov. Aggregation
DEO             1500066193572               Gas           Gov. Aggregation   COH             165047660015                Gas           Gov. Aggregation
DEO             1500066216154               Gas           Gov. Aggregation   COH             188106450052                Gas           Gov. Aggregation
DEO             1500067478029               Gas           Gov. Aggregation   COH             161677200074                Gas           Gov. Aggregation
DEO             2180000005714               Gas           Gov. Aggregation   COH             200575760011                Gas           Gov. Aggregation
DEO             2180000439500               Gas           Gov. Aggregation   COH             199669990018                Gas           Gov. Aggregation
DEO             2180000465503               Gas           Gov. Aggregation   COH             199850560013                Gas           Gov. Aggregation
DEO             2180000501937               Gas           Gov. Aggregation   COH             199211200012                Gas           Gov. Aggregation
DEO             2180000530234               Gas           Gov. Aggregation   COH             201069220016                Gas           Gov. Aggregation
DEO             2180001307017               Gas           Gov. Aggregation   COH             191030480016                Gas           Gov. Aggregation
DEO             2180001524020               Gas           Gov. Aggregation   COH             199587450015                Gas           Gov. Aggregation
DEO             2421005336491               Gas           Gov. Aggregation   COH             200657590013                Gas           Gov. Aggregation
DEO             2500004006657               Gas           Gov. Aggregation   COH             111303950023                Gas           Gov. Aggregation
DEO             2500063834946               Gas           Gov. Aggregation   COH             200359390017                Gas           Gov. Aggregation
DEO             2500063869317               Gas           Gov. Aggregation   COH             197470350015                Gas           Gov. Aggregation
DEO             2500063988411               Gas           Gov. Aggregation   COH             117293080023                Gas           Gov. Aggregation
DEO             2500064487396               Gas           Gov. Aggregation   COH             198532800017                Gas           Gov. Aggregation
DEO             2500064657277               Gas           Gov. Aggregation   COH             165867480042                Gas           Gov. Aggregation
DEO             2500064852163               Gas           Gov. Aggregation   COH             155957950017                Gas           Gov. Aggregation
DEO             2500064856675               Gas           Gov. Aggregation   COH             196147490012                Gas           Gov. Aggregation
DEO             2500064865146               Gas           Gov. Aggregation   COH             159012430014                Gas           Gov. Aggregation
DEO             2500064913870               Gas           Gov. Aggregation   COH             117361590012                Gas           Gov. Aggregation
DEO             2500065521140               Gas           Gov. Aggregation   COH             171903370012                Gas           Gov. Aggregation
DEO             2500065957960               Gas           Gov. Aggregation   COH             186421830047                Gas           Gov. Aggregation
DEO             2500067254751               Gas           Gov. Aggregation   COH             200635110019                Gas           Gov. Aggregation
DEO             2500067357663               Gas           Gov. Aggregation   COH             155423560010                Gas           Gov. Aggregation
DEO             3180000236830               Gas           Gov. Aggregation   COH             134059620015                Gas           Gov. Aggregation
DEO             3180000424006               Gas           Gov. Aggregation   COH             190251340018                Gas           Gov. Aggregation
DEO             3180000984072               Gas           Gov. Aggregation   COH             196412060019                Gas           Gov. Aggregation
DEO             3180001389982               Gas           Gov. Aggregation   COH             186675220011                Gas           Gov. Aggregation
DEO             3421002100376               Gas           Gov. Aggregation   COH             135047230039                Gas           Gov. Aggregation
DEO             3500009653036               Gas           Gov. Aggregation   COH             196332130014                Gas           Gov. Aggregation
DEO             3500048299170               Gas           Gov. Aggregation   COH             137403680019                Gas           Gov. Aggregation
DEO             3500050172631               Gas           Gov. Aggregation   COH             189285790025                Gas           Gov. Aggregation
DEO             3500062210499               Gas           Gov. Aggregation   COH             197045270013                Gas           Gov. Aggregation
DEO             3500063886643               Gas           Gov. Aggregation   COH             188214720038                Gas           Gov. Aggregation
DEO             3500063909807               Gas           Gov. Aggregation   COH             176905880034                Gas           Gov. Aggregation
DEO             3500064540943               Gas           Gov. Aggregation   COH             153032730024                Gas           Gov. Aggregation
DEO             3500064931997               Gas           Gov. Aggregation   COH             146891250024                Gas           Gov. Aggregation
DEO             3500065037054               Gas           Gov. Aggregation   COH             141004690026                Gas           Gov. Aggregation
DEO             3500065627755               Gas           Gov. Aggregation   COH             144712180038                Gas           Gov. Aggregation
DEO             3500065926429               Gas           Gov. Aggregation   COH             174011160023                Gas           Gov. Aggregation
DEO             3500066796623               Gas           Gov. Aggregation   COH             117341110023                Gas           Gov. Aggregation
DEO             3500067235140               Gas           Gov. Aggregation   COH             196337640017                Gas           Gov. Aggregation
DEO             3500067556279               Gas           Gov. Aggregation   COH             157203130014                Gas           Gov. Aggregation
DEO             4120000009739               Gas           Gov. Aggregation   COH             190415160063                Gas           Gov. Aggregation
DEO             4180000159143               Gas           Gov. Aggregation   COH             117363460015                Gas           Gov. Aggregation
DEO             4180000665568               Gas           Gov. Aggregation   COH             191456060049                Gas           Gov. Aggregation
DEO             4180000685445               Gas           Gov. Aggregation   COH             135675370128                Gas           Gov. Aggregation
DEO             4180000735131               Gas           Gov. Aggregation   COH             133022720021                Gas           Gov. Aggregation
DEO             4180000791195               Gas           Gov. Aggregation   COH             187926140014                Gas           Gov. Aggregation
DEO             4180000994983               Gas           Gov. Aggregation   COH             119784870024                Gas           Gov. Aggregation
DEO             4180001099897               Gas           Gov. Aggregation   COH             190260330039                Gas           Gov. Aggregation
DEO             4421002390867               Gas           Gov. Aggregation   COH             200617970017                Gas           Gov. Aggregation
DEO             4500003423843               Gas           Gov. Aggregation   COH             176076900056                Gas           Gov. Aggregation
DEO             4500017587667               Gas           Gov. Aggregation   COH             165220580041                Gas           Gov. Aggregation
DEO             4500022954547               Gas           Gov. Aggregation   COH             199288320016                Gas           Gov. Aggregation
DEO             4500062926629               Gas           Gov. Aggregation   COH             185531110019                Gas           Gov. Aggregation
DEO             4500063723876               Gas           Gov. Aggregation   COH             191103000011                Gas           Gov. Aggregation
DEO             4500063815279               Gas           Gov. Aggregation   COH             155465460013                Gas           Gov. Aggregation
DEO             4500064107371               Gas           Gov. Aggregation   COH             188797830031                Gas           Gov. Aggregation
DEO             4500064207891               Gas           Gov. Aggregation   COH             193656780033                Gas           Gov. Aggregation
DEO             4500064499678               Gas           Gov. Aggregation   COH             199096010018                Gas           Gov. Aggregation
DEO             4500064987272               Gas           Gov. Aggregation   COH             148632070153                Gas           Gov. Aggregation
DEO             4500065131283               Gas           Gov. Aggregation   COH             158994660026                Gas           Gov. Aggregation
DEO             4500065147615               Gas           Gov. Aggregation   COH             144482700046                Gas           Gov. Aggregation
DEO             4500065337500               Gas           Gov. Aggregation   COH             117334140013                Gas           Gov. Aggregation
DEO             4500065873562               Gas           Gov. Aggregation   COH             195532930022                Gas           Gov. Aggregation
DEO             4500067176611               Gas           Gov. Aggregation   COH             117498880049                Gas           Gov. Aggregation
DEO             5180000267185               Gas           Gov. Aggregation   COH             117349490019                Gas           Gov. Aggregation
DEO             5180000486210               Gas           Gov. Aggregation   COH             186504300015                Gas           Gov. Aggregation
DEO             5180000986912               Gas           Gov. Aggregation   COH             149630340042                Gas           Gov. Aggregation
DEO             5180000995614               Gas           Gov. Aggregation   COH             194680010014                Gas           Gov. Aggregation
DEO             5180001052869               Gas           Gov. Aggregation   COH             198262450023                Gas           Gov. Aggregation
DEO             5180001141301               Gas           Gov. Aggregation   COH             139777990039                Gas           Gov. Aggregation
DEO             5180001541958               Gas           Gov. Aggregation   COH             195020800024                Gas           Gov. Aggregation
DEO             5420502444375               Gas           Gov. Aggregation   COH             117333290014                Gas           Gov. Aggregation
DEO             5500051382599               Gas           Gov. Aggregation   COH             193733260029                Gas           Gov. Aggregation
DEO             5500063367814               Gas           Gov. Aggregation   COH             132688490067                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             5500064079497               Gas           Gov. Aggregation   COH             190087740013                Gas           Gov. Aggregation
DEO             5500064257931               Gas           Gov. Aggregation   COH             117334340011                Gas           Gov. Aggregation
DEO             5500064594045               Gas           Gov. Aggregation   COH             131403500012                Gas           Gov. Aggregation
DEO             5500065033548               Gas           Gov. Aggregation   COH             199659380017                Gas           Gov. Aggregation
DEO             5500065037317               Gas           Gov. Aggregation   COH             117340880015                Gas           Gov. Aggregation
DEO             5500065363097               Gas           Gov. Aggregation   COH             160835230055                Gas           Gov. Aggregation
DEO             5500065369162               Gas           Gov. Aggregation   COH             201226240018                Gas           Gov. Aggregation
DEO             5500065420516               Gas           Gov. Aggregation   COH             175086590043                Gas           Gov. Aggregation
DEO             5500065430633               Gas           Gov. Aggregation   COH             117531820030                Gas           Gov. Aggregation
DEO             5500065528825               Gas           Gov. Aggregation   COH             194989440010                Gas           Gov. Aggregation
DEO             5500065699822               Gas           Gov. Aggregation   COH             154786720055                Gas           Gov. Aggregation
DEO             5500065740484               Gas           Gov. Aggregation   COH             193038640023                Gas           Gov. Aggregation
DEO             5500066577870               Gas           Gov. Aggregation   COH             191157520019                Gas           Gov. Aggregation
DEO             5500066594674               Gas           Gov. Aggregation   COH             201027890023                Gas           Gov. Aggregation
DEO             5500067041608               Gas           Gov. Aggregation   COH             145164390018                Gas           Gov. Aggregation
DEO             5500067191923               Gas           Gov. Aggregation   COH             160439210013                Gas           Gov. Aggregation
DEO             5500067243900               Gas           Gov. Aggregation   COH             161017210034                Gas           Gov. Aggregation
DEO             5500067292009               Gas           Gov. Aggregation   COH             151533450050                Gas           Gov. Aggregation
DEO             5500067515438               Gas           Gov. Aggregation   COH             159751070069                Gas           Gov. Aggregation
DEO             6120000183237               Gas           Gov. Aggregation   COH             163401810059                Gas           Gov. Aggregation
DEO             6421000890786               Gas           Gov. Aggregation   COH             194934000062                Gas           Gov. Aggregation
DEO             6421001814759               Gas           Gov. Aggregation   COH             192249420014                Gas           Gov. Aggregation
DEO             6500048380783               Gas           Gov. Aggregation   COH             191271640049                Gas           Gov. Aggregation
DEO             6500062521816               Gas           Gov. Aggregation   COH             199169500010                Gas           Gov. Aggregation
DEO             6500062646169               Gas           Gov. Aggregation   COH             137228630048                Gas           Gov. Aggregation
DEO             6500064502110               Gas           Gov. Aggregation   COH             199318130011                Gas           Gov. Aggregation
DEO             6500064502162               Gas           Gov. Aggregation   COH             153432090012                Gas           Gov. Aggregation
DEO             6500064617374               Gas           Gov. Aggregation   COH             117355690014                Gas           Gov. Aggregation
DEO             6500065422738               Gas           Gov. Aggregation   COH             194810570010                Gas           Gov. Aggregation
DEO             6500065461663               Gas           Gov. Aggregation   COH             189439640029                Gas           Gov. Aggregation
DEO             6500065590014               Gas           Gov. Aggregation   COH             145826910023                Gas           Gov. Aggregation
DEO             6500066243256               Gas           Gov. Aggregation   COH             153301590032                Gas           Gov. Aggregation
DEO             6500066366326               Gas           Gov. Aggregation   COH             117355710019                Gas           Gov. Aggregation
DEO             6500066390490               Gas           Gov. Aggregation   COH             158743620105                Gas           Gov. Aggregation
DEO             6500066439432               Gas           Gov. Aggregation   COH             142744110162                Gas           Gov. Aggregation
DEO             6500066915341               Gas           Gov. Aggregation   COH             157479450014                Gas           Gov. Aggregation
DEO             6500067088093               Gas           Gov. Aggregation   COH             118681280036                Gas           Gov. Aggregation
DEO             6500067286709               Gas           Gov. Aggregation   COH             117446940027                Gas           Gov. Aggregation
DEO             7180000230132               Gas           Gov. Aggregation   COH             189225870015                Gas           Gov. Aggregation
DEO             7180000261020               Gas           Gov. Aggregation   COH             185939480036                Gas           Gov. Aggregation
DEO             7180001088657               Gas           Gov. Aggregation   COH             155916240012                Gas           Gov. Aggregation
DEO             7180001403506               Gas           Gov. Aggregation   COH             160039320045                Gas           Gov. Aggregation
DEO             7180001521378               Gas           Gov. Aggregation   COH             190833200022                Gas           Gov. Aggregation
DEO             7500062379826               Gas           Gov. Aggregation   COH             197855460016                Gas           Gov. Aggregation
DEO             7500062465967               Gas           Gov. Aggregation   COH             198015880017                Gas           Gov. Aggregation
DEO             7500062492381               Gas           Gov. Aggregation   COH             200972940011                Gas           Gov. Aggregation
DEO             7500062882624               Gas           Gov. Aggregation   COH             116841790031                Gas           Gov. Aggregation
DEO             7500062916594               Gas           Gov. Aggregation   COH             198480200014                Gas           Gov. Aggregation
DEO             7500064507165               Gas           Gov. Aggregation   COH             147231090034                Gas           Gov. Aggregation
DEO             7500064638292               Gas           Gov. Aggregation   COH             201268780017                Gas           Gov. Aggregation
DEO             7500065346414               Gas           Gov. Aggregation   COH             155862970032                Gas           Gov. Aggregation
DEO             7500065353712               Gas           Gov. Aggregation   COH             201024290016                Gas           Gov. Aggregation
DEO             7500065408734               Gas           Gov. Aggregation   COH             194635490028                Gas           Gov. Aggregation
DEO             7500065583515               Gas           Gov. Aggregation   COH             117314090016                Gas           Gov. Aggregation
DEO             7500065877901               Gas           Gov. Aggregation   COH             201259300016                Gas           Gov. Aggregation
DEO             7500066390804               Gas           Gov. Aggregation   COH             144546270130                Gas           Gov. Aggregation
DEO             7500066585640               Gas           Gov. Aggregation   COH             158629660010                Gas           Gov. Aggregation
DEO             7500067012242               Gas           Gov. Aggregation   COH             117496670029                Gas           Gov. Aggregation
DEO             7500067518418               Gas           Gov. Aggregation   COH             153767890015                Gas           Gov. Aggregation
DEO             7500067649009               Gas           Gov. Aggregation   COH             115369020044                Gas           Gov. Aggregation
DEO             8180000672656               Gas           Gov. Aggregation   COH             168019370021                Gas           Gov. Aggregation
DEO             8180000818793               Gas           Gov. Aggregation   COH             195755090018                Gas           Gov. Aggregation
DEO             8180001263545               Gas           Gov. Aggregation   COH             151997120057                Gas           Gov. Aggregation
DEO             8180001278063               Gas           Gov. Aggregation   COH             197453680012                Gas           Gov. Aggregation
DEO             8500024286590               Gas           Gov. Aggregation   COH             197687270022                Gas           Gov. Aggregation
DEO             8500024566234               Gas           Gov. Aggregation   COH             117320650015                Gas           Gov. Aggregation
DEO             8500024834006               Gas           Gov. Aggregation   COH             117322400013                Gas           Gov. Aggregation
DEO             8500043753934               Gas           Gov. Aggregation   COH             168107580011                Gas           Gov. Aggregation
DEO             8500063842244               Gas           Gov. Aggregation   COH             199111180019                Gas           Gov. Aggregation
DEO             8500063956237               Gas           Gov. Aggregation   COH             157107970012                Gas           Gov. Aggregation
DEO             8500064854669               Gas           Gov. Aggregation   COH             117065480102                Gas           Gov. Aggregation
DEO             8500064874048               Gas           Gov. Aggregation   COH             201206790015                Gas           Gov. Aggregation
DEO             8500065045957               Gas           Gov. Aggregation   COH             117331860018                Gas           Gov. Aggregation
DEO             8500065168619               Gas           Gov. Aggregation   COH             156553840024                Gas           Gov. Aggregation
DEO             8500065352279               Gas           Gov. Aggregation   COH             200423470013                Gas           Gov. Aggregation
DEO             8500065476356               Gas           Gov. Aggregation   COH             191653750028                Gas           Gov. Aggregation
DEO             8500065517158               Gas           Gov. Aggregation   COH             117317870016                Gas           Gov. Aggregation
DEO             8500066077696               Gas           Gov. Aggregation   COH             197142300010                Gas           Gov. Aggregation
DEO             8500066096034               Gas           Gov. Aggregation   COH             117328170029                Gas           Gov. Aggregation
DEO             8500067161104               Gas           Gov. Aggregation   COH             157122680011                Gas           Gov. Aggregation
DEO             8500067214071               Gas           Gov. Aggregation   COH             174954440035                Gas           Gov. Aggregation
DEO             8500067336946               Gas           Gov. Aggregation   COH             117312220021                Gas           Gov. Aggregation
DEO             9180000406606               Gas           Gov. Aggregation   COH             157330210027                Gas           Gov. Aggregation
DEO             9180000759659               Gas           Gov. Aggregation   COH             169503080079                Gas           Gov. Aggregation
DEO             9180000821837               Gas           Gov. Aggregation   COH             133900880035                Gas           Gov. Aggregation
DEO             9180000853220               Gas           Gov. Aggregation   COH             199086670011                Gas           Gov. Aggregation
DEO             9180001004328               Gas           Gov. Aggregation   COH             194967550013                Gas           Gov. Aggregation
DEO             9180001026637               Gas           Gov. Aggregation   COH             194267130015                Gas           Gov. Aggregation
DEO             9180001042054               Gas           Gov. Aggregation   COH             169422380041                Gas           Gov. Aggregation
DEO             9421001207998               Gas           Gov. Aggregation   COH             145911070010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             9421001421984               Gas           Gov. Aggregation   COH             187909000046                Gas           Gov. Aggregation
DEO             9500061775374               Gas           Gov. Aggregation   COH             117308070013                Gas           Gov. Aggregation
DEO             9500062375635               Gas           Gov. Aggregation   COH             117318010014                Gas           Gov. Aggregation
DEO             9500064657196               Gas           Gov. Aggregation   COH             198853810015                Gas           Gov. Aggregation
DEO             9500065200598               Gas           Gov. Aggregation   COH             119260510038                Gas           Gov. Aggregation
DEO             9500065208584               Gas           Gov. Aggregation   COH             158185070016                Gas           Gov. Aggregation
DEO             9500065787621               Gas           Gov. Aggregation   COH             190916910027                Gas           Gov. Aggregation
DEO             9500066073447               Gas           Gov. Aggregation   COH             117329330014                Gas           Gov. Aggregation
DEO             9500066271819               Gas           Gov. Aggregation   COH             197764840019                Gas           Gov. Aggregation
DEO             9500066329596               Gas           Gov. Aggregation   COH             193384650019                Gas           Gov. Aggregation
DEO             9500066424789               Gas           Gov. Aggregation   COH             117251350024                Gas           Gov. Aggregation
DEO             9500066613690               Gas           Gov. Aggregation   COH             168629280018                Gas           Gov. Aggregation
DEO             9500066999692               Gas           Gov. Aggregation   COH             166397890015                Gas           Gov. Aggregation
DEO             9500067145656               Gas           Gov. Aggregation   COH             130738510021                Gas           Gov. Aggregation
DEO             9500067487486               Gas           Gov. Aggregation   COH             147694300011                Gas           Gov. Aggregation
DEO             9500067628760               Gas           Gov. Aggregation   COH             148658390143                Gas           Gov. Aggregation
DEO             0180000312513               Gas           Gov. Aggregation   COH             164332580027                Gas           Gov. Aggregation
DEO             0180000337553               Gas           Gov. Aggregation   COH             198293130034                Gas           Gov. Aggregation
DEO             0180000799263               Gas           Gov. Aggregation   COH             165062380067                Gas           Gov. Aggregation
DEO             0180000837387               Gas           Gov. Aggregation   COH             174274840097                Gas           Gov. Aggregation
DEO             0180000924016               Gas           Gov. Aggregation   COH             117598550028                Gas           Gov. Aggregation
DEO             0180001116115               Gas           Gov. Aggregation   COH             192677180018                Gas           Gov. Aggregation
DEO             0500004001245               Gas           Gov. Aggregation   COH             185434960017                Gas           Gov. Aggregation
DEO             0500004976907               Gas           Gov. Aggregation   COH             195618750019                Gas           Gov. Aggregation
DEO             0500013402983               Gas           Gov. Aggregation   COH             109810060494                Gas           Gov. Aggregation
DEO             0500014201577               Gas           Gov. Aggregation   COH             187864450011                Gas           Gov. Aggregation
DEO             0500042110190               Gas           Gov. Aggregation   COH             117335310024                Gas           Gov. Aggregation
DEO             0500062536350               Gas           Gov. Aggregation   COH             117509550025                Gas           Gov. Aggregation
DEO             0500063562356               Gas           Gov. Aggregation   COH             197453650027                Gas           Gov. Aggregation
DEO             0500063575128               Gas           Gov. Aggregation   COH             140721200074                Gas           Gov. Aggregation
DEO             0500063671878               Gas           Gov. Aggregation   COH             157076480030                Gas           Gov. Aggregation
DEO             0500065276891               Gas           Gov. Aggregation   COH             117295300022                Gas           Gov. Aggregation
DEO             0500065298679               Gas           Gov. Aggregation   COH             148064670054                Gas           Gov. Aggregation
DEO             0500065625054               Gas           Gov. Aggregation   COH             171701850019                Gas           Gov. Aggregation
DEO             0500065838940               Gas           Gov. Aggregation   COH             177759870018                Gas           Gov. Aggregation
DEO             0500065868587               Gas           Gov. Aggregation   COH             117311260025                Gas           Gov. Aggregation
DEO             0500066191084               Gas           Gov. Aggregation   COH             197328810019                Gas           Gov. Aggregation
DEO             0500066227521               Gas           Gov. Aggregation   COH             186799580050                Gas           Gov. Aggregation
DEO             0500066478345               Gas           Gov. Aggregation   COH             177336180037                Gas           Gov. Aggregation
DEO             0500066492902               Gas           Gov. Aggregation   COH             116928470061                Gas           Gov. Aggregation
DEO             0500066912797               Gas           Gov. Aggregation   COH             185984650044                Gas           Gov. Aggregation
DEO             0500066915194               Gas           Gov. Aggregation   COH             117348010020                Gas           Gov. Aggregation
DEO             0500067045662               Gas           Gov. Aggregation   COH             117160820028                Gas           Gov. Aggregation
DEO             0500067250126               Gas           Gov. Aggregation   COH             169355110031                Gas           Gov. Aggregation
DEO             0500067458194               Gas           Gov. Aggregation   COH             200926470017                Gas           Gov. Aggregation
DEO             0500067661249               Gas           Gov. Aggregation   COH             177037460014                Gas           Gov. Aggregation
DEO             1120000058775               Gas           Gov. Aggregation   COH             162183530017                Gas           Gov. Aggregation
DEO             1500025120645               Gas           Gov. Aggregation   COH             116915660068                Gas           Gov. Aggregation
DEO             1500032445730               Gas           Gov. Aggregation   COH             194113440015                Gas           Gov. Aggregation
DEO             2421001931344               Gas           Gov. Aggregation   COH             170083710048                Gas           Gov. Aggregation
DEO             3120000082417               Gas           Gov. Aggregation   COH             199466470017                Gas           Gov. Aggregation
DEO             3140000069478               Gas           Gov. Aggregation   COH             167703850020                Gas           Gov. Aggregation
DEO             3420902027061               Gas           Gov. Aggregation   COH             144889840018                Gas           Gov. Aggregation
DEO             4180001237501               Gas           Gov. Aggregation   COH             199577830016                Gas           Gov. Aggregation
DEO             4421404757826               Gas           Gov. Aggregation   COH             175542840051                Gas           Gov. Aggregation
DEO             4500007894344               Gas           Gov. Aggregation   COH             185086530052                Gas           Gov. Aggregation
DEO             4500053760382               Gas           Gov. Aggregation   COH             154189320055                Gas           Gov. Aggregation
DEO             5421006681138               Gas           Gov. Aggregation   COH             164635140036                Gas           Gov. Aggregation
DEO             6420903476002               Gas           Gov. Aggregation   COH             186006500019                Gas           Gov. Aggregation
DEO             6421001210509               Gas           Gov. Aggregation   COH             194406750028                Gas           Gov. Aggregation
DEO             6421004106804               Gas           Gov. Aggregation   COH             131534270032                Gas           Gov. Aggregation
DEO             6421006188693               Gas           Gov. Aggregation   COH             151884220055                Gas           Gov. Aggregation
DEO             7421002872295               Gas           Gov. Aggregation   COH             197974570011                Gas           Gov. Aggregation
DEO             7421004642571               Gas           Gov. Aggregation   COH             137155290107                Gas           Gov. Aggregation
DEO             7500012522900               Gas           Gov. Aggregation   COH             196299200011                Gas           Gov. Aggregation
DEO             8500003293037               Gas           Gov. Aggregation   COH             189613570015                Gas           Gov. Aggregation
DEO             9421001157151               Gas           Gov. Aggregation   COH             188520580039                Gas           Gov. Aggregation
DEO             9421003031815               Gas           Gov. Aggregation   COH             186160750011                Gas           Gov. Aggregation
DEO             9500005412135               Gas           Gov. Aggregation   COH             199669060013                Gas           Gov. Aggregation
DEO             9500047028432               Gas           Gov. Aggregation   COH             200183380012                Gas           Gov. Aggregation
DEO             9500065928746               Gas           Gov. Aggregation   COH             162024660025                Gas           Gov. Aggregation
DEO             9500063185298               Gas           Gov. Aggregation   COH             188832610013                Gas           Gov. Aggregation
DEO             5420904520495               Gas           Gov. Aggregation   COH             187777760020                Gas           Gov. Aggregation
DEO             3500054978826               Gas           Gov. Aggregation   COH             197370860010                Gas           Gov. Aggregation
DEO             2500052697315               Gas           Gov. Aggregation   COH             168769410014                Gas           Gov. Aggregation
DEO             5421000864302               Gas           Gov. Aggregation   COH             185683340047                Gas           Gov. Aggregation
DEO             6421001291723               Gas           Gov. Aggregation   COH             193673970019                Gas           Gov. Aggregation
DEO             9500051547305               Gas           Gov. Aggregation   COH             189062430013                Gas           Gov. Aggregation
DEO             2500055103367               Gas           Gov. Aggregation   COH             186372140010                Gas           Gov. Aggregation
DEO             0500053934261               Gas           Gov. Aggregation   COH             198865190011                Gas           Gov. Aggregation
DEO             5500044117674               Gas           Gov. Aggregation   COH             191616510017                Gas           Gov. Aggregation
DEO             9500030848834               Gas           Gov. Aggregation   COH             153647510018                Gas           Gov. Aggregation
DEO             4500043068954               Gas           Gov. Aggregation   COH             117488330027                Gas           Gov. Aggregation
DEO             6500029684868               Gas           Gov. Aggregation   COH             193223050015                Gas           Gov. Aggregation
DEO             0421006349579               Gas           Gov. Aggregation   COH             140038680028                Gas           Gov. Aggregation
DEO             1420906352714               Gas           Gov. Aggregation   COH             198114320014                Gas           Gov. Aggregation
DEO             0500054131639               Gas           Gov. Aggregation   COH             129612350060                Gas           Gov. Aggregation
DEO             6421006518696               Gas           Gov. Aggregation   COH             187052340024                Gas           Gov. Aggregation
DEO             4500027527427               Gas           Gov. Aggregation   COH             117297070036                Gas           Gov. Aggregation
DEO             2500019929714               Gas           Gov. Aggregation   COH             199002700010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             1500018576342               Gas           Gov. Aggregation   COH             116942290185                Gas           Gov. Aggregation
DEO             8500051045035               Gas           Gov. Aggregation   COH             196717880020                Gas           Gov. Aggregation
DEO             1500051602004               Gas           Gov. Aggregation   COH             169196460027                Gas           Gov. Aggregation
DEO             3120000094385               Gas           Gov. Aggregation   COH             193333420014                Gas           Gov. Aggregation
DEO             4421005397970               Gas           Gov. Aggregation   COH             147954870056                Gas           Gov. Aggregation
DEO             5500035185859               Gas           Gov. Aggregation   COH             195187450017                Gas           Gov. Aggregation
DEO             0500055106260               Gas           Gov. Aggregation   COH             198720750019                Gas           Gov. Aggregation
DEO             5500055002790               Gas           Gov. Aggregation   COH             170469620030                Gas           Gov. Aggregation
DEO             9500054729433               Gas           Gov. Aggregation   COH             195708120029                Gas           Gov. Aggregation
DEO             6500027827606               Gas           Gov. Aggregation   COH             197072430012                Gas           Gov. Aggregation
DEO             7500044152149               Gas           Gov. Aggregation   COH             167507490013                Gas           Gov. Aggregation
DEO             5500052366132               Gas           Gov. Aggregation   COH             171556440014                Gas           Gov. Aggregation
DEO             7500038287363               Gas           Gov. Aggregation   COH             150294610028                Gas           Gov. Aggregation
DEO             2500047051908               Gas           Gov. Aggregation   COH             147963100085                Gas           Gov. Aggregation
DEO             1500042208203               Gas           Gov. Aggregation   COH             197158290010                Gas           Gov. Aggregation
DEO             5500022224361               Gas           Gov. Aggregation   COH             170496220037                Gas           Gov. Aggregation
DEO             3421002098176               Gas           Gov. Aggregation   COH             170855690019                Gas           Gov. Aggregation
DEO             5500041627429               Gas           Gov. Aggregation   COH             192821000018                Gas           Gov. Aggregation
DEO             6500044743880               Gas           Gov. Aggregation   COH             170844490014                Gas           Gov. Aggregation
DEO             8500012627771               Gas           Gov. Aggregation   COH             186650940030                Gas           Gov. Aggregation
DEO             8500010991007               Gas           Gov. Aggregation   COH             200267720012                Gas           Gov. Aggregation
DEO             5500044668465               Gas           Gov. Aggregation   COH             120463770059                Gas           Gov. Aggregation
DEO             5500023412535               Gas           Gov. Aggregation   COH             189129470022                Gas           Gov. Aggregation
DEO             8500053585872               Gas           Gov. Aggregation   COH             117303350210                Gas           Gov. Aggregation
DEO             1120000120009               Gas           Gov. Aggregation   COH             195020200039                Gas           Gov. Aggregation
DEO             0500034043295               Gas           Gov. Aggregation   COH             115336470021                Gas           Gov. Aggregation
DEO             0500002380737               Gas           Gov. Aggregation   COH             197183990010                Gas           Gov. Aggregation
DEO             3421006279073               Gas           Gov. Aggregation   COH             200613020014                Gas           Gov. Aggregation
DEO             3421001951860               Gas           Gov. Aggregation   COH             132510960036                Gas           Gov. Aggregation
DEO             2500051479749               Gas           Gov. Aggregation   COH             117367730010                Gas           Gov. Aggregation
DEO             3500041921142               Gas           Gov. Aggregation   COH             158583780022                Gas           Gov. Aggregation
DEO             9500024707824               Gas           Gov. Aggregation   COH             117005440035                Gas           Gov. Aggregation
DEO             6500046883919               Gas           Gov. Aggregation   COH             177677960013                Gas           Gov. Aggregation
DEO             8500037152681               Gas           Gov. Aggregation   COH             117374590033                Gas           Gov. Aggregation
DEO             4500052500033               Gas           Gov. Aggregation   COH             200897410030                Gas           Gov. Aggregation
DEO             0420905583108               Gas           Gov. Aggregation   COH             162342200018                Gas           Gov. Aggregation
DEO             3500008810599               Gas           Gov. Aggregation   COH             117368600015                Gas           Gov. Aggregation
DEO             8500023243785               Gas           Gov. Aggregation   COH             156508550084                Gas           Gov. Aggregation
DEO             0500054760556               Gas           Gov. Aggregation   COH             135393920022                Gas           Gov. Aggregation
DEO             0500054339392               Gas           Gov. Aggregation   COH             163668240019                Gas           Gov. Aggregation
DEO             9421001874104               Gas           Gov. Aggregation   COH             200992190017                Gas           Gov. Aggregation
DEO             9500054774344               Gas           Gov. Aggregation   COH             194382400032                Gas           Gov. Aggregation
DEO             2500014165178               Gas           Gov. Aggregation   COH             173583640031                Gas           Gov. Aggregation
DEO             2500054491745               Gas           Gov. Aggregation   COH             194048500011                Gas           Gov. Aggregation
DEO             1500052028263               Gas           Gov. Aggregation   COH             149354790035                Gas           Gov. Aggregation
DEO             7500003199930               Gas           Gov. Aggregation   COH             176954560010                Gas           Gov. Aggregation
DEO             0500033728938               Gas           Gov. Aggregation   COH             198816280015                Gas           Gov. Aggregation
DEO             3500044496305               Gas           Gov. Aggregation   COH             117365500012                Gas           Gov. Aggregation
DEO             2500045646301               Gas           Gov. Aggregation   COH             136047660038                Gas           Gov. Aggregation
DEO             0120000137157               Gas           Gov. Aggregation   COH             135600140132                Gas           Gov. Aggregation
DEO             0500016444190               Gas           Gov. Aggregation   COH             200774080012                Gas           Gov. Aggregation
DEO             0500043391888               Gas           Gov. Aggregation   COH             195754080030                Gas           Gov. Aggregation
DEO             4500048690576               Gas           Gov. Aggregation   COH             196394050011                Gas           Gov. Aggregation
DEO             6500029829170               Gas           Gov. Aggregation   COH             117368560014                Gas           Gov. Aggregation
DEO             4500034437047               Gas           Gov. Aggregation   COH             175075500026                Gas           Gov. Aggregation
DEO             4500050569568               Gas           Gov. Aggregation   COH             195400760036                Gas           Gov. Aggregation
DEO             2500021330596               Gas           Gov. Aggregation   COH             199708080015                Gas           Gov. Aggregation
DEO             2500024799883               Gas           Gov. Aggregation   COH             197908940012                Gas           Gov. Aggregation
DEO             6500052872754               Gas           Gov. Aggregation   COH             198190950012                Gas           Gov. Aggregation
DEO             1500053264787               Gas           Gov. Aggregation   COH             195557650047                Gas           Gov. Aggregation
DEO             8500051760707               Gas           Gov. Aggregation   COH             198153910018                Gas           Gov. Aggregation
DEO             3500015058010               Gas           Gov. Aggregation   COH             133981830044                Gas           Gov. Aggregation
DEO             0500047642997               Gas           Gov. Aggregation   COH             185822770023                Gas           Gov. Aggregation
DEO             0500006960265               Gas           Gov. Aggregation   COH             166934470022                Gas           Gov. Aggregation
DEO             9500031276834               Gas           Gov. Aggregation   COH             197017150017                Gas           Gov. Aggregation
DEO             1421006028390               Gas           Gov. Aggregation   COH             153246700054                Gas           Gov. Aggregation
DEO             3500046696768               Gas           Gov. Aggregation   COH             170139430011                Gas           Gov. Aggregation
DEO             3500014749113               Gas           Gov. Aggregation   COH             118075130032                Gas           Gov. Aggregation
DEO             9140000063705               Gas           Gov. Aggregation   COH             200233710015                Gas           Gov. Aggregation
DEO             8500041510603               Gas           Gov. Aggregation   COH             195207210068                Gas           Gov. Aggregation
DEO             4500042377879               Gas           Gov. Aggregation   COH             195207210031                Gas           Gov. Aggregation
DEO             1421105311559               Gas           Gov. Aggregation   COH             198793500018                Gas           Gov. Aggregation
DEO             2500043279233               Gas           Gov. Aggregation   COH             200752450010                Gas           Gov. Aggregation
DEO             5120000054227               Gas           Gov. Aggregation   COH             199603070019                Gas           Gov. Aggregation
DEO             4421004508126               Gas           Gov. Aggregation   COH             171345310027                Gas           Gov. Aggregation
DEO             4421002793215               Gas           Gov. Aggregation   COH             194166040018                Gas           Gov. Aggregation
DEO             9500052655301               Gas           Gov. Aggregation   COH             200528730016                Gas           Gov. Aggregation
DEO             7500015832246               Gas           Gov. Aggregation   COH             136624850034                Gas           Gov. Aggregation
DEO             7500048756210               Gas           Gov. Aggregation   COH             199719200016                Gas           Gov. Aggregation
DEO             4421101812513               Gas           Gov. Aggregation   COH             161589720063                Gas           Gov. Aggregation
DEO             6421005054303               Gas           Gov. Aggregation   COH             199734470018                Gas           Gov. Aggregation
DEO             2420103374575               Gas           Gov. Aggregation   COH             152830390089                Gas           Gov. Aggregation
DEO             4421104777184               Gas           Gov. Aggregation   COH             176076820035                Gas           Gov. Aggregation
DEO             3500045016280               Gas           Gov. Aggregation   COH             186484540019                Gas           Gov. Aggregation
DEO             0500042696606               Gas           Gov. Aggregation   COH             150090770054                Gas           Gov. Aggregation
DEO             8500050887884               Gas           Gov. Aggregation   COH             200255290018                Gas           Gov. Aggregation
DEO             1500034638679               Gas           Gov. Aggregation   COH             201046260016                Gas           Gov. Aggregation
DEO             1500034638716               Gas           Gov. Aggregation   COH             160852770038                Gas           Gov. Aggregation
DEO             8500026995516               Gas           Gov. Aggregation   COH             185876870010                Gas           Gov. Aggregation
DEO             1500028565149               Gas           Gov. Aggregation   COH             170042170011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             2500022286042               Gas           Gov. Aggregation   COH             166247050036                Gas           Gov. Aggregation
DEO             3500052566212               Gas           Gov. Aggregation   COH             121005900078                Gas           Gov. Aggregation
DEO             8421004949762               Gas           Gov. Aggregation   COH             148565200023                Gas           Gov. Aggregation
DEO             7500024090131               Gas           Gov. Aggregation   COH             185975890043                Gas           Gov. Aggregation
DEO             2421003510517               Gas           Gov. Aggregation   COH             198153890022                Gas           Gov. Aggregation
DEO             9140000057748               Gas           Gov. Aggregation   COH             170547370064                Gas           Gov. Aggregation
DEO             9421003330320               Gas           Gov. Aggregation   COH             149208670048                Gas           Gov. Aggregation
DEO             4500054889868               Gas           Gov. Aggregation   COH             198534220015                Gas           Gov. Aggregation
DEO             7421006299360               Gas           Gov. Aggregation   COH             156452110049                Gas           Gov. Aggregation
DEO             6421002518713               Gas           Gov. Aggregation   COH             198093030011                Gas           Gov. Aggregation
DEO             9421000897199               Gas           Gov. Aggregation   COH             200839690016                Gas           Gov. Aggregation
DEO             6421001882667               Gas           Gov. Aggregation   COH             153688270022                Gas           Gov. Aggregation
DEO             5500043733986               Gas           Gov. Aggregation   COH             117423980107                Gas           Gov. Aggregation
DEO             5421002609005               Gas           Gov. Aggregation   COH             159204780096                Gas           Gov. Aggregation
DEO             2421001224450               Gas           Gov. Aggregation   COH             174405530039                Gas           Gov. Aggregation
DEO             5500040038564               Gas           Gov. Aggregation   COH             176097580032                Gas           Gov. Aggregation
DEO             3500041678812               Gas           Gov. Aggregation   COH             201169040012                Gas           Gov. Aggregation
DEO             6500051231234               Gas           Gov. Aggregation   COH             155492490029                Gas           Gov. Aggregation
DEO             7500051359908               Gas           Gov. Aggregation   COH             193943440026                Gas           Gov. Aggregation
DEO             0500013228660               Gas           Gov. Aggregation   COH             194304130051                Gas           Gov. Aggregation
DEO             2500029953748               Gas           Gov. Aggregation   COH             200517100011                Gas           Gov. Aggregation
DEO             8500052241176               Gas           Gov. Aggregation   COH             172860720028                Gas           Gov. Aggregation
DEO             7120000180456               Gas           Gov. Aggregation   COH             158935710010                Gas           Gov. Aggregation
DEO             8500041435687               Gas           Gov. Aggregation   COH             167383830015                Gas           Gov. Aggregation
DEO             7500030048765               Gas           Gov. Aggregation   COH             154115690035                Gas           Gov. Aggregation
DEO             7500030048798               Gas           Gov. Aggregation   COH             143400870053                Gas           Gov. Aggregation
DEO             9500001576121               Gas           Gov. Aggregation   COH             117347160012                Gas           Gov. Aggregation
DEO             2421004105993               Gas           Gov. Aggregation   COH             174984200014                Gas           Gov. Aggregation
DEO             7500003773778               Gas           Gov. Aggregation   COH             188301500011                Gas           Gov. Aggregation
DEO             2500018619454               Gas           Gov. Aggregation   COH             172564580017                Gas           Gov. Aggregation
DEO             4421003523276               Gas           Gov. Aggregation   COH             156707850034                Gas           Gov. Aggregation
DEO             6500052295055               Gas           Gov. Aggregation   COH             193028120023                Gas           Gov. Aggregation
DEO             7500029253412               Gas           Gov. Aggregation   COH             198978600015                Gas           Gov. Aggregation
DEO             4420000183189               Gas           Gov. Aggregation   COH             192148880021                Gas           Gov. Aggregation
DEO             9420000183196               Gas           Gov. Aggregation   COH             130848810025                Gas           Gov. Aggregation
DEO             1500047558321               Gas           Gov. Aggregation   COH             171550160015                Gas           Gov. Aggregation
DEO             4422104108101               Gas           Gov. Aggregation   COH             152756700018                Gas           Gov. Aggregation
DEO             1500032143307               Gas           Gov. Aggregation   COH             197586480022                Gas           Gov. Aggregation
DEO             6500041039396               Gas           Gov. Aggregation   COH             148086920019                Gas           Gov. Aggregation
DEO             9500038543826               Gas           Gov. Aggregation   COH             195121340018                Gas           Gov. Aggregation
DEO             6500015516955               Gas           Gov. Aggregation   COH             117297580011                Gas           Gov. Aggregation
DEO             1500052514590               Gas           Gov. Aggregation   COH             117351140017                Gas           Gov. Aggregation
DEO             5500061091179               Gas           Gov. Aggregation   COH             199209010017                Gas           Gov. Aggregation
DEO             9500033039122               Gas           Gov. Aggregation   COH             197996260029                Gas           Gov. Aggregation
DEO             2500043779123               Gas           Gov. Aggregation   COH             171088650013                Gas           Gov. Aggregation
DEO             4500014361599               Gas           Gov. Aggregation   COH             189325240024                Gas           Gov. Aggregation
DEO             3421001119455               Gas           Gov. Aggregation   COH             185609260031                Gas           Gov. Aggregation
DEO             5500051701059               Gas           Gov. Aggregation   COH             193234820010                Gas           Gov. Aggregation
DEO             6500055042981               Gas           Gov. Aggregation   COH             117374460021                Gas           Gov. Aggregation
DEO             6421002136910               Gas           Gov. Aggregation   COH             130160130035                Gas           Gov. Aggregation
DEO             1500040759060               Gas           Gov. Aggregation   COH             199955130011                Gas           Gov. Aggregation
DEO             1421004519230               Gas           Gov. Aggregation   COH             147846080042                Gas           Gov. Aggregation
DEO             1500015227185               Gas           Gov. Aggregation   COH             198095690019                Gas           Gov. Aggregation
DEO             7500040940044               Gas           Gov. Aggregation   COH             198143190011                Gas           Gov. Aggregation
DEO             0500052171280               Gas           Gov. Aggregation   COH             140264570031                Gas           Gov. Aggregation
DEO             6421001369000               Gas           Gov. Aggregation   COH             195955080016                Gas           Gov. Aggregation
DEO             4421004122107               Gas           Gov. Aggregation   COH             159519900011                Gas           Gov. Aggregation
DEO             8500051117134               Gas           Gov. Aggregation   COH             198857120012                Gas           Gov. Aggregation
DEO             8500015099243               Gas           Gov. Aggregation   COH             177380590038                Gas           Gov. Aggregation
DEO             4421003815099               Gas           Gov. Aggregation   COH             117349900012                Gas           Gov. Aggregation
DEO             0500032814367               Gas           Gov. Aggregation   COH             194038890020                Gas           Gov. Aggregation
DEO             5500050729623               Gas           Gov. Aggregation   COH             161038330017                Gas           Gov. Aggregation
DEO             1500055166483               Gas           Gov. Aggregation   COH             161585430017                Gas           Gov. Aggregation
DEO             9420903620820               Gas           Gov. Aggregation   COH             170720050072                Gas           Gov. Aggregation
DEO             7500034072388               Gas           Gov. Aggregation   COH             133351700019                Gas           Gov. Aggregation
DEO             1500037394936               Gas           Gov. Aggregation   COH             166397940014                Gas           Gov. Aggregation
DEO             7500009317772               Gas           Gov. Aggregation   COH             194359900018                Gas           Gov. Aggregation
DEO             6500014730329               Gas           Gov. Aggregation   COH             154728840016                Gas           Gov. Aggregation
DEO             9500017960206               Gas           Gov. Aggregation   COH             146268170013                Gas           Gov. Aggregation
DEO             6500039670175               Gas           Gov. Aggregation   COH             188427120024                Gas           Gov. Aggregation
DEO             0500054906443               Gas           Gov. Aggregation   COH             193045720012                Gas           Gov. Aggregation
DEO             4500041965629               Gas           Gov. Aggregation   COH             175139660018                Gas           Gov. Aggregation
DEO             3421002782561               Gas           Gov. Aggregation   COH             198750750016                Gas           Gov. Aggregation
DEO             4500048051015               Gas           Gov. Aggregation   COH             200918410016                Gas           Gov. Aggregation
DEO             1500043670573               Gas           Gov. Aggregation   COH             168783230021                Gas           Gov. Aggregation
DEO             3500042481956               Gas           Gov. Aggregation   COH             185683260044                Gas           Gov. Aggregation
DEO             8500044120348               Gas           Gov. Aggregation   COH             196317740018                Gas           Gov. Aggregation
DEO             2421002916532               Gas           Gov. Aggregation   COH             117308460011                Gas           Gov. Aggregation
DEO             3500031695300               Gas           Gov. Aggregation   COH             164982690018                Gas           Gov. Aggregation
DEO             1140000079414               Gas           Gov. Aggregation   COH             117292250038                Gas           Gov. Aggregation
DEO             2500009891002               Gas           Gov. Aggregation   COH             192094790016                Gas           Gov. Aggregation
DEO             4421001383919               Gas           Gov. Aggregation   COH             173441720025                Gas           Gov. Aggregation
DEO             8500054533810               Gas           Gov. Aggregation   COH             187207670035                Gas           Gov. Aggregation
DEO             0421000771942               Gas           Gov. Aggregation   COH             155073620029                Gas           Gov. Aggregation
DEO             7421006069177               Gas           Gov. Aggregation   COH             190441370019                Gas           Gov. Aggregation
DEO             8500007413057               Gas           Gov. Aggregation   COH             195654720037                Gas           Gov. Aggregation
DEO             1421006635824               Gas           Gov. Aggregation   COH             198334800017                Gas           Gov. Aggregation
DEO             5421001819662               Gas           Gov. Aggregation   COH             200944380018                Gas           Gov. Aggregation
DEO             8500036572790               Gas           Gov. Aggregation   COH             200088720012                Gas           Gov. Aggregation
DEO             2500053996921               Gas           Gov. Aggregation   COH             174661920017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             4500017410172               Gas           Gov. Aggregation   COH             147259820023                Gas           Gov. Aggregation
DEO             6421006304130               Gas           Gov. Aggregation   COH             190251350025                Gas           Gov. Aggregation
DEO             3420901016930               Gas           Gov. Aggregation   COH             141924390029                Gas           Gov. Aggregation
DEO             7500054310798               Gas           Gov. Aggregation   COH             196983890025                Gas           Gov. Aggregation
DEO             3500054071207               Gas           Gov. Aggregation   COH             150222520019                Gas           Gov. Aggregation
DEO             7500048717215               Gas           Gov. Aggregation   COH             197667360016                Gas           Gov. Aggregation
DEO             7500051478491               Gas           Gov. Aggregation   COH             200450110011                Gas           Gov. Aggregation
DEO             6421005046548               Gas           Gov. Aggregation   COH             191963440026                Gas           Gov. Aggregation
DEO             5500019764907               Gas           Gov. Aggregation   COH             192658720014                Gas           Gov. Aggregation
DEO             6420900234108               Gas           Gov. Aggregation   COH             201167500019                Gas           Gov. Aggregation
DEO             3500036285924               Gas           Gov. Aggregation   COH             197586590010                Gas           Gov. Aggregation
DEO             6500048171395               Gas           Gov. Aggregation   COH             117336600021                Gas           Gov. Aggregation
DEO             3500015393585               Gas           Gov. Aggregation   COH             138992660015                Gas           Gov. Aggregation
DEO             0500054987827               Gas           Gov. Aggregation   COH             200700750016                Gas           Gov. Aggregation
DEO             7500052884792               Gas           Gov. Aggregation   COH             199187280019                Gas           Gov. Aggregation
DEO             6421001938024               Gas           Gov. Aggregation   COH             117552000065                Gas           Gov. Aggregation
DEO             8500054404214               Gas           Gov. Aggregation   COH             194632450013                Gas           Gov. Aggregation
DEO             0500048059760               Gas           Gov. Aggregation   COH             195109300012                Gas           Gov. Aggregation
DEO             1500048504528               Gas           Gov. Aggregation   COH             147031820025                Gas           Gov. Aggregation
DEO             9500006088798               Gas           Gov. Aggregation   COH             117318170011                Gas           Gov. Aggregation
DEO             7500036571800               Gas           Gov. Aggregation   COH             135300460024                Gas           Gov. Aggregation
DEO             4500040381996               Gas           Gov. Aggregation   COH             186520750062                Gas           Gov. Aggregation
DEO             9500036399254               Gas           Gov. Aggregation   COH             136765810025                Gas           Gov. Aggregation
DEO             9421002148644               Gas           Gov. Aggregation   COH             190147580028                Gas           Gov. Aggregation
DEO             0421006185941               Gas           Gov. Aggregation   COH             197138740017                Gas           Gov. Aggregation
DEO             7500037722270               Gas           Gov. Aggregation   COH             194510610017                Gas           Gov. Aggregation
DEO             7500039757233               Gas           Gov. Aggregation   COH             186060690043                Gas           Gov. Aggregation
DEO             0500014892139               Gas           Gov. Aggregation   COH             197477180017                Gas           Gov. Aggregation
DEO             3500053581968               Gas           Gov. Aggregation   COH             144573310045                Gas           Gov. Aggregation
DEO             5500044329135               Gas           Gov. Aggregation   COH             117320320014                Gas           Gov. Aggregation
DEO             1500037350919               Gas           Gov. Aggregation   COH             120368640021                Gas           Gov. Aggregation
DEO             3500038981604               Gas           Gov. Aggregation   COH             199135070012                Gas           Gov. Aggregation
DEO             2500052262353               Gas           Gov. Aggregation   COH             152090690102                Gas           Gov. Aggregation
DEO             4500011799688               Gas           Gov. Aggregation   COH             156906250074                Gas           Gov. Aggregation
DEO             2500045494049               Gas           Gov. Aggregation   COH             162655460011                Gas           Gov. Aggregation
DEO             9500035983131               Gas           Gov. Aggregation   COH             145923570010                Gas           Gov. Aggregation
DEO             3421002800314               Gas           Gov. Aggregation   COH             152873020013                Gas           Gov. Aggregation
DEO             6500042535906               Gas           Gov. Aggregation   COH             177490620127                Gas           Gov. Aggregation
DEO             1500013631501               Gas           Gov. Aggregation   COH             187736800027                Gas           Gov. Aggregation
DEO             2500060307409               Gas           Gov. Aggregation   COH             117319020010                Gas           Gov. Aggregation
DEO             0500050641561               Gas           Gov. Aggregation   COH             159352720148                Gas           Gov. Aggregation
DEO             3500036625443               Gas           Gov. Aggregation   COH             172988270032                Gas           Gov. Aggregation
DEO             3500023158081               Gas           Gov. Aggregation   COH             194020610025                Gas           Gov. Aggregation
DEO             3500018797093               Gas           Gov. Aggregation   COH             167714660054                Gas           Gov. Aggregation
DEO             4500052042925               Gas           Gov. Aggregation   COH             198663840012                Gas           Gov. Aggregation
DEO             1500027572730               Gas           Gov. Aggregation   COH             122742640025                Gas           Gov. Aggregation
DEO             3500048950991               Gas           Gov. Aggregation   COH             194746700019                Gas           Gov. Aggregation
DEO             6500020569283               Gas           Gov. Aggregation   COH             194453210013                Gas           Gov. Aggregation
DEO             4500028493499               Gas           Gov. Aggregation   COH             200925980012                Gas           Gov. Aggregation
DEO             2500027607721               Gas           Gov. Aggregation   COH             117374830023                Gas           Gov. Aggregation
DEO             5500030914480               Gas           Gov. Aggregation   COH             168422300020                Gas           Gov. Aggregation
DEO             3500025769971               Gas           Gov. Aggregation   COH             152759880122                Gas           Gov. Aggregation
DEO             1500026581636               Gas           Gov. Aggregation   COH             188316610035                Gas           Gov. Aggregation
DEO             0500049790813               Gas           Gov. Aggregation   COH             163604920010                Gas           Gov. Aggregation
DEO             3421001950500               Gas           Gov. Aggregation   COH             199408440015                Gas           Gov. Aggregation
DEO             0500025261972               Gas           Gov. Aggregation   COH             200384140016                Gas           Gov. Aggregation
DEO             6500047133277               Gas           Gov. Aggregation   COH             172278380016                Gas           Gov. Aggregation
DEO             5500030269298               Gas           Gov. Aggregation   COH             171510190031                Gas           Gov. Aggregation
DEO             2500029314915               Gas           Gov. Aggregation   COH             200511070010                Gas           Gov. Aggregation
DEO             5500042475953               Gas           Gov. Aggregation   COH             196299090015                Gas           Gov. Aggregation
DEO             5500007534844               Gas           Gov. Aggregation   COH             200519900019                Gas           Gov. Aggregation
DEO             5420902939190               Gas           Gov. Aggregation   COH             195877150035                Gas           Gov. Aggregation
DEO             4500004168226               Gas           Gov. Aggregation   COH             190868710059                Gas           Gov. Aggregation
DEO             7500035159260               Gas           Gov. Aggregation   COH             162628270027                Gas           Gov. Aggregation
DEO             7421006431868               Gas           Gov. Aggregation   COH             137421480013                Gas           Gov. Aggregation
DEO             4500031681979               Gas           Gov. Aggregation   COH             191984650055                Gas           Gov. Aggregation
DEO             0500051062230               Gas           Gov. Aggregation   COH             185873240018                Gas           Gov. Aggregation
DEO             2500013789419               Gas           Gov. Aggregation   COH             196276550016                Gas           Gov. Aggregation
DEO             1500005023487               Gas           Gov. Aggregation   COH             166653880040                Gas           Gov. Aggregation
DEO             4500001776303               Gas           Gov. Aggregation   COH             117361010013                Gas           Gov. Aggregation
DEO             7421004111013               Gas           Gov. Aggregation   COH             161757940015                Gas           Gov. Aggregation
DEO             9500027805656               Gas           Gov. Aggregation   COH             167128140127                Gas           Gov. Aggregation
DEO             3500040632554               Gas           Gov. Aggregation   COH             165985960014                Gas           Gov. Aggregation
DEO             9500055124057               Gas           Gov. Aggregation   COH             197149070024                Gas           Gov. Aggregation
DEO             4500054865770               Gas           Gov. Aggregation   COH             185794390015                Gas           Gov. Aggregation
DEO             7500006625313               Gas           Gov. Aggregation   COH             186226040010                Gas           Gov. Aggregation
DEO             1500043592573               Gas           Gov. Aggregation   COH             193656760019                Gas           Gov. Aggregation
DEO             1500051927109               Gas           Gov. Aggregation   COH             169841390032                Gas           Gov. Aggregation
DEO             3500039039092               Gas           Gov. Aggregation   COH             199900710014                Gas           Gov. Aggregation
DEO             6500048682192               Gas           Gov. Aggregation   COH             197370900020                Gas           Gov. Aggregation
DEO             7500026112890               Gas           Gov. Aggregation   COH             200623380018                Gas           Gov. Aggregation
DEO             7500040173225               Gas           Gov. Aggregation   COH             158587970079                Gas           Gov. Aggregation
DEO             8500036935806               Gas           Gov. Aggregation   COH             197857220012                Gas           Gov. Aggregation
DEO             0500040313190               Gas           Gov. Aggregation   COH             156430670011                Gas           Gov. Aggregation
DEO             8500050561289               Gas           Gov. Aggregation   COH             196841330013                Gas           Gov. Aggregation
DEO             4421002262512               Gas           Gov. Aggregation   COH             192371830028                Gas           Gov. Aggregation
DEO             6500043751816               Gas           Gov. Aggregation   COH             153158330022                Gas           Gov. Aggregation
DEO             1421002261148               Gas           Gov. Aggregation   COH             153152480023                Gas           Gov. Aggregation
DEO             3500048150635               Gas           Gov. Aggregation   COH             175515180039                Gas           Gov. Aggregation
DEO             0421004774207               Gas           Gov. Aggregation   COH             199215690021                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             7500023558833               Gas           Gov. Aggregation   COH             191538300017                Gas           Gov. Aggregation
DEO             0500051544411               Gas           Gov. Aggregation   COH             117898800056                Gas           Gov. Aggregation
DEO             6500041451281               Gas           Gov. Aggregation   COH             186674490017                Gas           Gov. Aggregation
DEO             5500016326180               Gas           Gov. Aggregation   COH             117343780010                Gas           Gov. Aggregation
DEO             1500020935474               Gas           Gov. Aggregation   COH             185171730031                Gas           Gov. Aggregation
DEO             8500047523845               Gas           Gov. Aggregation   COH             117303250024                Gas           Gov. Aggregation
DEO             2500033815202               Gas           Gov. Aggregation   COH             172800960015                Gas           Gov. Aggregation
DEO             1500048092761               Gas           Gov. Aggregation   COH             193765750010                Gas           Gov. Aggregation
DEO             4500046651359               Gas           Gov. Aggregation   COH             156440030014                Gas           Gov. Aggregation
DEO             0500053938810               Gas           Gov. Aggregation   COH             131412170013                Gas           Gov. Aggregation
DEO             9500019528017               Gas           Gov. Aggregation   COH             201268690016                Gas           Gov. Aggregation
DEO             8420901762540               Gas           Gov. Aggregation   COH             171921470095                Gas           Gov. Aggregation
DEO             7500047705828               Gas           Gov. Aggregation   COH             201235110016                Gas           Gov. Aggregation
DEO             0500027916032               Gas           Gov. Aggregation   COH             117335980060                Gas           Gov. Aggregation
DEO             4500040886963               Gas           Gov. Aggregation   COH             175456400065                Gas           Gov. Aggregation
DEO             2500051233364               Gas           Gov. Aggregation   COH             194619050015                Gas           Gov. Aggregation
DEO             5421005609318               Gas           Gov. Aggregation   COH             176230490082                Gas           Gov. Aggregation
DEO             8500027502095               Gas           Gov. Aggregation   COH             198701850018                Gas           Gov. Aggregation
DEO             2500029672974               Gas           Gov. Aggregation   COH             193670340017                Gas           Gov. Aggregation
DEO             2421003704134               Gas           Gov. Aggregation   COH             118068850045                Gas           Gov. Aggregation
DEO             3500049750713               Gas           Gov. Aggregation   COH             117359540017                Gas           Gov. Aggregation
DEO             5500051044192               Gas           Gov. Aggregation   COH             167003380023                Gas           Gov. Aggregation
DEO             6500052280128               Gas           Gov. Aggregation   COH             117125290033                Gas           Gov. Aggregation
DEO             3500026726894               Gas           Gov. Aggregation   COH             173727980025                Gas           Gov. Aggregation
DEO             4500038464790               Gas           Gov. Aggregation   COH             162823680045                Gas           Gov. Aggregation
DEO             4500042989988               Gas           Gov. Aggregation   COH             177678040014                Gas           Gov. Aggregation
DEO             5421005712450               Gas           Gov. Aggregation   COH             191934590017                Gas           Gov. Aggregation
DEO             0500047347030               Gas           Gov. Aggregation   COH             166456620024                Gas           Gov. Aggregation
DEO             8421002712966               Gas           Gov. Aggregation   COH             194700020036                Gas           Gov. Aggregation
DEO             9421004557561               Gas           Gov. Aggregation   COH             147987300029                Gas           Gov. Aggregation
DEO             2500014332155               Gas           Gov. Aggregation   COH             199711250012                Gas           Gov. Aggregation
DEO             9500050050514               Gas           Gov. Aggregation   COH             189373840045                Gas           Gov. Aggregation
DEO             1500009918133               Gas           Gov. Aggregation   COH             188432290019                Gas           Gov. Aggregation
DEO             1500034965426               Gas           Gov. Aggregation   COH             196547460029                Gas           Gov. Aggregation
DEO             9421003318477               Gas           Gov. Aggregation   COH             200288700012                Gas           Gov. Aggregation
DEO             4120000053882               Gas           Gov. Aggregation   COH             117322870015                Gas           Gov. Aggregation
DEO             9500021723722               Gas           Gov. Aggregation   COH             156338320010                Gas           Gov. Aggregation
DEO             4500042584605               Gas           Gov. Aggregation   COH             117358670030                Gas           Gov. Aggregation
DEO             0500017582663               Gas           Gov. Aggregation   COH             192139650019                Gas           Gov. Aggregation
DEO             9500041886879               Gas           Gov. Aggregation   COH             117295530042                Gas           Gov. Aggregation
DEO             2500019994254               Gas           Gov. Aggregation   COH             117365300023                Gas           Gov. Aggregation
DEO             7500050414007               Gas           Gov. Aggregation   COH             111520890035                Gas           Gov. Aggregation
DEO             2500019726828               Gas           Gov. Aggregation   COH             153073070036                Gas           Gov. Aggregation
DEO             9500011457048               Gas           Gov. Aggregation   COH             173876600047                Gas           Gov. Aggregation
DEO             2420901529042               Gas           Gov. Aggregation   COH             198038260019                Gas           Gov. Aggregation
DEO             0420902727026               Gas           Gov. Aggregation   COH             150802250025                Gas           Gov. Aggregation
DEO             3500049680662               Gas           Gov. Aggregation   COH             197973470014                Gas           Gov. Aggregation
DEO             2421001481757               Gas           Gov. Aggregation   COH             162426800014                Gas           Gov. Aggregation
DEO             1500019677871               Gas           Gov. Aggregation   COH             156985780095                Gas           Gov. Aggregation
DEO             4120000180632               Gas           Gov. Aggregation   COH             200347800015                Gas           Gov. Aggregation
DEO             2500041035849               Gas           Gov. Aggregation   COH             162887450030                Gas           Gov. Aggregation
DEO             8421003588648               Gas           Gov. Aggregation   COH             117277060021                Gas           Gov. Aggregation
DEO             4421003223651               Gas           Gov. Aggregation   COH             135765820015                Gas           Gov. Aggregation
DEO             4500028883765               Gas           Gov. Aggregation   COH             190258920049                Gas           Gov. Aggregation
DEO             7421004325245               Gas           Gov. Aggregation   COH             142888860045                Gas           Gov. Aggregation
DEO             6500022327907               Gas           Gov. Aggregation   COH             117345540025                Gas           Gov. Aggregation
DEO             2500041298821               Gas           Gov. Aggregation   COH             169538480036                Gas           Gov. Aggregation
DEO             1421004658859               Gas           Gov. Aggregation   COH             200395040014                Gas           Gov. Aggregation
DEO             4500051042730               Gas           Gov. Aggregation   COH             149577930015                Gas           Gov. Aggregation
DEO             2500024950310               Gas           Gov. Aggregation   COH             198997650015                Gas           Gov. Aggregation
DEO             1500015518821               Gas           Gov. Aggregation   COH             192777650026                Gas           Gov. Aggregation
DEO             7500015174507               Gas           Gov. Aggregation   COH             117258590048                Gas           Gov. Aggregation
DEO             1500028422193               Gas           Gov. Aggregation   COH             167521810015                Gas           Gov. Aggregation
DEO             4500000223041               Gas           Gov. Aggregation   COH             199307020017                Gas           Gov. Aggregation
DEO             6421000608262               Gas           Gov. Aggregation   COH             196745810016                Gas           Gov. Aggregation
DEO             2500052081314               Gas           Gov. Aggregation   COH             200682260019                Gas           Gov. Aggregation
DEO             5500044654329               Gas           Gov. Aggregation   COH             176373310014                Gas           Gov. Aggregation
DEO             4500035279665               Gas           Gov. Aggregation   COH             198823570019                Gas           Gov. Aggregation
DEO             3500035269815               Gas           Gov. Aggregation   COH             191211690018                Gas           Gov. Aggregation
DEO             9500036609292               Gas           Gov. Aggregation   COH             186633220028                Gas           Gov. Aggregation
DEO             2140000025465               Gas           Gov. Aggregation   COH             188455830017                Gas           Gov. Aggregation
DEO             9500047833324               Gas           Gov. Aggregation   COH             149040350130                Gas           Gov. Aggregation
DEO             5500048080641               Gas           Gov. Aggregation   COH             163011080032                Gas           Gov. Aggregation
DEO             1500013961365               Gas           Gov. Aggregation   COH             116861750028                Gas           Gov. Aggregation
DEO             1500061518585               Gas           Gov. Aggregation   COH             154916120018                Gas           Gov. Aggregation
DEO             1500061518674               Gas           Gov. Aggregation   COH             134555650017                Gas           Gov. Aggregation
DEO             6500048925972               Gas           Gov. Aggregation   COH             117269830017                Gas           Gov. Aggregation
DEO             3500003721726               Gas           Gov. Aggregation   COH             159100360030                Gas           Gov. Aggregation
DEO             2500046390315               Gas           Gov. Aggregation   COH             188100450036                Gas           Gov. Aggregation
DEO             8500021448085               Gas           Gov. Aggregation   COH             196952630015                Gas           Gov. Aggregation
DEO             4500050999227               Gas           Gov. Aggregation   COH             192481670010                Gas           Gov. Aggregation
DEO             7500002783713               Gas           Gov. Aggregation   COH             196471430017                Gas           Gov. Aggregation
DEO             3421003494825               Gas           Gov. Aggregation   COH             199334530013                Gas           Gov. Aggregation
DEO             7421006245687               Gas           Gov. Aggregation   COH             200706980016                Gas           Gov. Aggregation
DEO             2500040773135               Gas           Gov. Aggregation   COH             165295070032                Gas           Gov. Aggregation
DEO             7421001939219               Gas           Gov. Aggregation   COH             200437000012                Gas           Gov. Aggregation
DEO             6500025159939               Gas           Gov. Aggregation   COH             186126140039                Gas           Gov. Aggregation
DEO             3500036139914               Gas           Gov. Aggregation   COH             132065400038                Gas           Gov. Aggregation
DEO             9500051252237               Gas           Gov. Aggregation   COH             109376540039                Gas           Gov. Aggregation
DEO             1500055200610               Gas           Gov. Aggregation   COH             197272310013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             4500010719233               Gas           Gov. Aggregation   COH             117273690027                Gas           Gov. Aggregation
DEO             7500052930914               Gas           Gov. Aggregation   COH             155451210069                Gas           Gov. Aggregation
DEO             5500007857748               Gas           Gov. Aggregation   COH             190878060019                Gas           Gov. Aggregation
DEO             4500039091545               Gas           Gov. Aggregation   COH             129055990013                Gas           Gov. Aggregation
DEO             7420906066406               Gas           Gov. Aggregation   COH             187437800030                Gas           Gov. Aggregation
DEO             3500026861413               Gas           Gov. Aggregation   COH             174489490032                Gas           Gov. Aggregation
DEO             3500032852708               Gas           Gov. Aggregation   COH             165641270017                Gas           Gov. Aggregation
DEO             4421003199620               Gas           Gov. Aggregation   COH             195137030029                Gas           Gov. Aggregation
DEO             8500025695813               Gas           Gov. Aggregation   COH             140428510026                Gas           Gov. Aggregation
DEO             4500051670744               Gas           Gov. Aggregation   COH             196503800010                Gas           Gov. Aggregation
DEO             2500043707126               Gas           Gov. Aggregation   COH             174681920015                Gas           Gov. Aggregation
DEO             3421003841410               Gas           Gov. Aggregation   COH             187070580017                Gas           Gov. Aggregation
DEO             4120000130818               Gas           Gov. Aggregation   COH             117193960020                Gas           Gov. Aggregation
DEO             8421002377322               Gas           Gov. Aggregation   COH             127663460044                Gas           Gov. Aggregation
DEO             4500006909370               Gas           Gov. Aggregation   COH             143154140022                Gas           Gov. Aggregation
DEO             2500014342342               Gas           Gov. Aggregation   COH             135381740043                Gas           Gov. Aggregation
DEO             9500018615782               Gas           Gov. Aggregation   COH             195532940011                Gas           Gov. Aggregation
DEO             1500049447397               Gas           Gov. Aggregation   COH             161982490022                Gas           Gov. Aggregation
DEO             7421000439327               Gas           Gov. Aggregation   COH             160209120046                Gas           Gov. Aggregation
DEO             6500051141713               Gas           Gov. Aggregation   COH             164874250019                Gas           Gov. Aggregation
DEO             5421004937615               Gas           Gov. Aggregation   COH             167169180025                Gas           Gov. Aggregation
DEO             8500051640353               Gas           Gov. Aggregation   COH             199341870017                Gas           Gov. Aggregation
DEO             4500054443434               Gas           Gov. Aggregation   COH             186336500010                Gas           Gov. Aggregation
DEO             5421000460435               Gas           Gov. Aggregation   COH             139253300015                Gas           Gov. Aggregation
DEO             9421000460442               Gas           Gov. Aggregation   COH             117273470014                Gas           Gov. Aggregation
DEO             8500049602039               Gas           Gov. Aggregation   COH             117303940029                Gas           Gov. Aggregation
DEO             9420901750109               Gas           Gov. Aggregation   COH             133661200044                Gas           Gov. Aggregation
DEO             6500042028719               Gas           Gov. Aggregation   COH             117546220026                Gas           Gov. Aggregation
DEO             0500015149875               Gas           Gov. Aggregation   COH             198154010015                Gas           Gov. Aggregation
DEO             1500038147941               Gas           Gov. Aggregation   COH             197796060016                Gas           Gov. Aggregation
DEO             0421004097266               Gas           Gov. Aggregation   COH             190993090019                Gas           Gov. Aggregation
DEO             6421003751343               Gas           Gov. Aggregation   COH             200519910017                Gas           Gov. Aggregation
DEO             8500019657876               Gas           Gov. Aggregation   COH             155026390027                Gas           Gov. Aggregation
DEO             7180000871913               Gas           Gov. Aggregation   COH             145474540019                Gas           Gov. Aggregation
DEO             5421004216995               Gas           Gov. Aggregation   COH             192836130029                Gas           Gov. Aggregation
DEO             5500065288150               Gas           Gov. Aggregation   COH             152235660100                Gas           Gov. Aggregation
DEO             2120000032823               Gas           Gov. Aggregation   COH             189913840012                Gas           Gov. Aggregation
DEO             1421005364959               Gas           Gov. Aggregation   COH             174249170028                Gas           Gov. Aggregation
DEO             4500060694437               Gas           Gov. Aggregation   COH             194663630010                Gas           Gov. Aggregation
DEO             6500055353777               Gas           Gov. Aggregation   COH             187381990049                Gas           Gov. Aggregation
DEO             4500055387661               Gas           Gov. Aggregation   COH             189781070015                Gas           Gov. Aggregation
DEO             1500061160831               Gas           Gov. Aggregation   COH             136169380057                Gas           Gov. Aggregation
DEO             8421000757872               Gas           Gov. Aggregation   COH             196841500017                Gas           Gov. Aggregation
DEO             3500051907281               Gas           Gov. Aggregation   COH             168252770032                Gas           Gov. Aggregation
DEO             4421004373664               Gas           Gov. Aggregation   COH             132371020048                Gas           Gov. Aggregation
DEO             8500060696383               Gas           Gov. Aggregation   COH             165714090038                Gas           Gov. Aggregation
DEO             5500062177383               Gas           Gov. Aggregation   COH             166282550064                Gas           Gov. Aggregation
DEO             7421003443165               Gas           Gov. Aggregation   COH             140956240042                Gas           Gov. Aggregation
DEO             5500055416727               Gas           Gov. Aggregation   COH             165415500017                Gas           Gov. Aggregation
DEO             2500031649519               Gas           Gov. Aggregation   COH             157689170045                Gas           Gov. Aggregation
DEO             5500034421259               Gas           Gov. Aggregation   COH             200771690010                Gas           Gov. Aggregation
DEO             0120000062169               Gas           Gov. Aggregation   COH             149383080024                Gas           Gov. Aggregation
DEO             9421004201262               Gas           Gov. Aggregation   COH             201124620014                Gas           Gov. Aggregation
DEO             4500050690121               Gas           Gov. Aggregation   COH             199163150016                Gas           Gov. Aggregation
DEO             3421005159824               Gas           Gov. Aggregation   COH             152972450059                Gas           Gov. Aggregation
DEO             2500033775066               Gas           Gov. Aggregation   COH             188710940049                Gas           Gov. Aggregation
DEO             9230000000038               Gas           Gov. Aggregation   COH             169569800051                Gas           Gov. Aggregation
DEO             8500002202262               Gas           Gov. Aggregation   COH             199426920016                Gas           Gov. Aggregation
DEO             5500052404289               Gas           Gov. Aggregation   COH             190006260014                Gas           Gov. Aggregation
DEO             2421003588683               Gas           Gov. Aggregation   COH             152458770016                Gas           Gov. Aggregation
DEO             9500013285664               Gas           Gov. Aggregation   COH             200859820016                Gas           Gov. Aggregation
DEO             2500041293903               Gas           Gov. Aggregation   COH             116895160030                Gas           Gov. Aggregation
DEO             1500055420438               Gas           Gov. Aggregation   COH             150244890025                Gas           Gov. Aggregation
DEO             0500061360715               Gas           Gov. Aggregation   COH             168325610012                Gas           Gov. Aggregation
DEO             4500051978689               Gas           Gov. Aggregation   COH             193308410037                Gas           Gov. Aggregation
DEO             9422105779351               Gas           Gov. Aggregation   COH             172818050046                Gas           Gov. Aggregation
DEO             1120000070506               Gas           Gov. Aggregation   COH             196920620014                Gas           Gov. Aggregation
DEO             1500055663126               Gas           Gov. Aggregation   COH             117372140031                Gas           Gov. Aggregation
DEO             7500054052818               Gas           Gov. Aggregation   COH             144320010043                Gas           Gov. Aggregation
DEO             5500003484613               Gas           Gov. Aggregation   COH             169680550067                Gas           Gov. Aggregation
DEO             2500062057017               Gas           Gov. Aggregation   COH             197932050018                Gas           Gov. Aggregation
DEO             0500046062480               Gas           Gov. Aggregation   COH             193375260029                Gas           Gov. Aggregation
DEO             3500052734775               Gas           Gov. Aggregation   COH             188265580013                Gas           Gov. Aggregation
DEO             2500050386735               Gas           Gov. Aggregation   COH             163668340018                Gas           Gov. Aggregation
DEO             6500055674642               Gas           Gov. Aggregation   COH             195944440013                Gas           Gov. Aggregation
DEO             4500062102711               Gas           Gov. Aggregation   COH             155136710035                Gas           Gov. Aggregation
DEO             1500061453750               Gas           Gov. Aggregation   COH             116854810020                Gas           Gov. Aggregation
DEO             1500054828017               Gas           Gov. Aggregation   COH             200304520014                Gas           Gov. Aggregation
DEO             8421104222287               Gas           Gov. Aggregation   COH             168469280054                Gas           Gov. Aggregation
DEO             5500045943907               Gas           Gov. Aggregation   COH             173544180049                Gas           Gov. Aggregation
DEO             1500060712316               Gas           Gov. Aggregation   COH             197063470013                Gas           Gov. Aggregation
DEO             7500043059189               Gas           Gov. Aggregation   COH             164424480014                Gas           Gov. Aggregation
DEO             7500054207478               Gas           Gov. Aggregation   COH             156890410020                Gas           Gov. Aggregation
DEO             5500046169554               Gas           Gov. Aggregation   COH             198432170012                Gas           Gov. Aggregation
DEO             6421005172456               Gas           Gov. Aggregation   COH             176663780011                Gas           Gov. Aggregation
DEO             9140000098946               Gas           Gov. Aggregation   COH             169335550059                Gas           Gov. Aggregation
DEO             5500055235515               Gas           Gov. Aggregation   COH             155844420044                Gas           Gov. Aggregation
DEO             2500060581197               Gas           Gov. Aggregation   COH             155261200037                Gas           Gov. Aggregation
DEO             4421002262231               Gas           Gov. Aggregation   COH             174724300013                Gas           Gov. Aggregation
DEO             2500060059074               Gas           Gov. Aggregation   COH             149289980025                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             5500055222870               Gas           Gov. Aggregation   COH             194599970016                Gas           Gov. Aggregation
DEO             8500060094866               Gas           Gov. Aggregation   COH             170505270027                Gas           Gov. Aggregation
DEO             9500035306362               Gas           Gov. Aggregation   COH             142108150037                Gas           Gov. Aggregation
DEO             7500060843304               Gas           Gov. Aggregation   COH             171369520112                Gas           Gov. Aggregation
DEO             2421003263076               Gas           Gov. Aggregation   COH             142478210013                Gas           Gov. Aggregation
DEO             4421004882875               Gas           Gov. Aggregation   COH             117328920012                Gas           Gov. Aggregation
DEO             1421000529854               Gas           Gov. Aggregation   COH             118024880032                Gas           Gov. Aggregation
DEO             1420901939763               Gas           Gov. Aggregation   COH             199652200018                Gas           Gov. Aggregation
DEO             1420905935571               Gas           Gov. Aggregation   COH             140187240052                Gas           Gov. Aggregation
DEO             0500027856361               Gas           Gov. Aggregation   COH             117155890025                Gas           Gov. Aggregation
DEO             6420904776611               Gas           Gov. Aggregation   COH             200970470014                Gas           Gov. Aggregation
DEO             9500004504615               Gas           Gov. Aggregation   COH             117333110011                Gas           Gov. Aggregation
DEO             0500060190461               Gas           Gov. Aggregation   COH             195942540016                Gas           Gov. Aggregation
DEO             7500005209125               Gas           Gov. Aggregation   COH             143638660054                Gas           Gov. Aggregation
DEO             3500060671459               Gas           Gov. Aggregation   COH             127263810020                Gas           Gov. Aggregation
DEO             3500009391451               Gas           Gov. Aggregation   COH             165517000025                Gas           Gov. Aggregation
DEO             8421001034112               Gas           Gov. Aggregation   COH             163720930012                Gas           Gov. Aggregation
DEO             1140000053496               Gas           Gov. Aggregation   COH             163193910015                Gas           Gov. Aggregation
DEO             8500020510453               Gas           Gov. Aggregation   COH             153806520036                Gas           Gov. Aggregation
DEO             2421101298000               Gas           Gov. Aggregation   COH             160717340070                Gas           Gov. Aggregation
DEO             5420905988249               Gas           Gov. Aggregation   COH             193531950022                Gas           Gov. Aggregation
DEO             1421004452542               Gas           Gov. Aggregation   COH             152312950043                Gas           Gov. Aggregation
DEO             4500060823036               Gas           Gov. Aggregation   COH             151269410022                Gas           Gov. Aggregation
DEO             0421005157194               Gas           Gov. Aggregation   COH             141277590020                Gas           Gov. Aggregation
DEO             2500009285626               Gas           Gov. Aggregation   COH             197814810018                Gas           Gov. Aggregation
DEO             8420904901282               Gas           Gov. Aggregation   COH             194350250013                Gas           Gov. Aggregation
DEO             9500060026517               Gas           Gov. Aggregation   COH             166950640040                Gas           Gov. Aggregation
DEO             3500013921180               Gas           Gov. Aggregation   COH             198750890017                Gas           Gov. Aggregation
DEO             8421005570987               Gas           Gov. Aggregation   COH             163404920014                Gas           Gov. Aggregation
DEO             5500063023464               Gas           Gov. Aggregation   COH             117369540061                Gas           Gov. Aggregation
DEO             0120000015431               Gas           Gov. Aggregation   COH             116897470086                Gas           Gov. Aggregation
DEO             8500062104441               Gas           Gov. Aggregation   COH             200397990011                Gas           Gov. Aggregation
DEO             6120000060575               Gas           Gov. Aggregation   COH             200199470010                Gas           Gov. Aggregation
DEO             7500011143751               Gas           Gov. Aggregation   COH             160491120012                Gas           Gov. Aggregation
DEO             2420904045003               Gas           Gov. Aggregation   COH             198865220014                Gas           Gov. Aggregation
DEO             8420905736584               Gas           Gov. Aggregation   COH             176822330035                Gas           Gov. Aggregation
DEO             1170000003665               Gas           Gov. Aggregation   COH             188181950031                Gas           Gov. Aggregation
DEO             1420905500302               Gas           Gov. Aggregation   COH             155627520105                Gas           Gov. Aggregation
DEO             7500019966258               Gas           Gov. Aggregation   COH             151884730030                Gas           Gov. Aggregation
DEO             3500051191077               Gas           Gov. Aggregation   COH             192549790011                Gas           Gov. Aggregation
DEO             9420903381618               Gas           Gov. Aggregation   COH             197806060013                Gas           Gov. Aggregation
DEO             6500054654528               Gas           Gov. Aggregation   COH             201145990013                Gas           Gov. Aggregation
DEO             4421004212548               Gas           Gov. Aggregation   COH             194085130048                Gas           Gov. Aggregation
DEO             4500016136243               Gas           Gov. Aggregation   COH             198749380017                Gas           Gov. Aggregation
DEO             3500008247119               Gas           Gov. Aggregation   COH             163320530014                Gas           Gov. Aggregation
DEO             2421001585357               Gas           Gov. Aggregation   COH             117337350022                Gas           Gov. Aggregation
DEO             3421004130938               Gas           Gov. Aggregation   COH             152031220042                Gas           Gov. Aggregation
DEO             6500060186376               Gas           Gov. Aggregation   COH             139732370024                Gas           Gov. Aggregation
DEO             0421003842022               Gas           Gov. Aggregation   COH             129573170017                Gas           Gov. Aggregation
DEO             5421005184314               Gas           Gov. Aggregation   COH             186908460034                Gas           Gov. Aggregation
DEO             0500060924908               Gas           Gov. Aggregation   COH             139407800013                Gas           Gov. Aggregation
DEO             8421004064396               Gas           Gov. Aggregation   COH             197943500010                Gas           Gov. Aggregation
DEO             1120000121158               Gas           Gov. Aggregation   COH             193078080036                Gas           Gov. Aggregation
DEO             7500031039765               Gas           Gov. Aggregation   COH             117328660026                Gas           Gov. Aggregation
DEO             0421004097759               Gas           Gov. Aggregation   COH             120434940027                Gas           Gov. Aggregation
DEO             1420906151409               Gas           Gov. Aggregation   COH             194473770014                Gas           Gov. Aggregation
DEO             6500061862706               Gas           Gov. Aggregation   COH             139262530018                Gas           Gov. Aggregation
DEO             5500064643132               Gas           Gov. Aggregation   COH             191318050025                Gas           Gov. Aggregation
DEO             5500038364871               Gas           Gov. Aggregation   COH             197344100014                Gas           Gov. Aggregation
DEO             0500061464550               Gas           Gov. Aggregation   COH             193620250020                Gas           Gov. Aggregation
DEO             0421003800827               Gas           Gov. Aggregation   COH             117344480020                Gas           Gov. Aggregation
DEO             1420502873560               Gas           Gov. Aggregation   COH             166872400091                Gas           Gov. Aggregation
DEO             1500051319185               Gas           Gov. Aggregation   COH             199528960012                Gas           Gov. Aggregation
DEO             5500048182279               Gas           Gov. Aggregation   COH             200992070012                Gas           Gov. Aggregation
DEO             0120000165244               Gas           Gov. Aggregation   COH             200597200012                Gas           Gov. Aggregation
DEO             9420906443461               Gas           Gov. Aggregation   COH             199669680013                Gas           Gov. Aggregation
DEO             1500061823107               Gas           Gov. Aggregation   COH             197537390015                Gas           Gov. Aggregation
DEO             0500026235099               Gas           Gov. Aggregation   COH             186466210043                Gas           Gov. Aggregation
DEO             8500052828053               Gas           Gov. Aggregation   COH             142636860075                Gas           Gov. Aggregation
DEO             8500009836180               Gas           Gov. Aggregation   COH             149027140061                Gas           Gov. Aggregation
DEO             5420904754373               Gas           Gov. Aggregation   COH             174826320022                Gas           Gov. Aggregation
DEO             7500060631701               Gas           Gov. Aggregation   COH             199691390017                Gas           Gov. Aggregation
DEO             9500061721949               Gas           Gov. Aggregation   COH             152123330071                Gas           Gov. Aggregation
DEO             4500012091953               Gas           Gov. Aggregation   COH             192471380012                Gas           Gov. Aggregation
DEO             2500010263710               Gas           Gov. Aggregation   COH             199037490012                Gas           Gov. Aggregation
DEO             8420905185437               Gas           Gov. Aggregation   COH             157826910029                Gas           Gov. Aggregation
DEO             3500062284397               Gas           Gov. Aggregation   COH             163115300017                Gas           Gov. Aggregation
DEO             8500040695105               Gas           Gov. Aggregation   COH             160852950012                Gas           Gov. Aggregation
DEO             8421004506847               Gas           Gov. Aggregation   COH             197156200012                Gas           Gov. Aggregation
DEO             3420903839287               Gas           Gov. Aggregation   COH             198293650017                Gas           Gov. Aggregation
DEO             2500061281310               Gas           Gov. Aggregation   COH             198957810015                Gas           Gov. Aggregation
DEO             1500055456437               Gas           Gov. Aggregation   COH             117272000023                Gas           Gov. Aggregation
DEO             0500060690670               Gas           Gov. Aggregation   COH             167865610046                Gas           Gov. Aggregation
DEO             0500060107721               Gas           Gov. Aggregation   COH             199577810010                Gas           Gov. Aggregation
DEO             1500061663874               Gas           Gov. Aggregation   COH             157749360029                Gas           Gov. Aggregation
DEO             2500048259114               Gas           Gov. Aggregation   COH             165594610016                Gas           Gov. Aggregation
DEO             6140000065708               Gas           Gov. Aggregation   COH             197966170012                Gas           Gov. Aggregation
DEO             9120000148834               Gas           Gov. Aggregation   COH             192683220016                Gas           Gov. Aggregation
DEO             7140000036197               Gas           Gov. Aggregation   COH             132059850037                Gas           Gov. Aggregation
DEO             9500029948857               Gas           Gov. Aggregation   COH             167829950032                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             0500052661865               Gas           Gov. Aggregation   COH             138200230021                Gas           Gov. Aggregation
DEO             3500055484826               Gas           Gov. Aggregation   COH             194248570022                Gas           Gov. Aggregation
DEO             8120000154448               Gas           Gov. Aggregation   COH             146612830013                Gas           Gov. Aggregation
DEO             3420905572071               Gas           Gov. Aggregation   COH             196741920011                Gas           Gov. Aggregation
DEO             2500014093806               Gas           Gov. Aggregation   COH             201048710017                Gas           Gov. Aggregation
DEO             8120000134454               Gas           Gov. Aggregation   COH             196133600017                Gas           Gov. Aggregation
DEO             8120000022747               Gas           Gov. Aggregation   COH             156553870028                Gas           Gov. Aggregation
DEO             3421002440394               Gas           Gov. Aggregation   COH             198655790010                Gas           Gov. Aggregation
DEO             8120000093544               Gas           Gov. Aggregation   COH             148898500016                Gas           Gov. Aggregation
DEO             8500061750672               Gas           Gov. Aggregation   COH             145188990049                Gas           Gov. Aggregation
DEO             6500054835509               Gas           Gov. Aggregation   COH             198487950013                Gas           Gov. Aggregation
DEO             6500039872069               Gas           Gov. Aggregation   COH             150493410037                Gas           Gov. Aggregation
DEO             0500060956841               Gas           Gov. Aggregation   COH             133144480042                Gas           Gov. Aggregation
DEO             1421004787178               Gas           Gov. Aggregation   COH             174562580037                Gas           Gov. Aggregation
DEO             5500045333601               Gas           Gov. Aggregation   COH             198515640026                Gas           Gov. Aggregation
DEO             2500008369510               Gas           Gov. Aggregation   COH             148736610131                Gas           Gov. Aggregation
DEO             3500008923876               Gas           Gov. Aggregation   COH             148112970012                Gas           Gov. Aggregation
DEO             5500062336980               Gas           Gov. Aggregation   COH             165011100017                Gas           Gov. Aggregation
DEO             1500020984121               Gas           Gov. Aggregation   COH             198054420011                Gas           Gov. Aggregation
DEO             5500010623511               Gas           Gov. Aggregation   COH             147259680032                Gas           Gov. Aggregation
DEO             7421004802921               Gas           Gov. Aggregation   COH             199143590016                Gas           Gov. Aggregation
DEO             2500009209476               Gas           Gov. Aggregation   COH             158132980034                Gas           Gov. Aggregation
DEO             6500012014369               Gas           Gov. Aggregation   COH             166108930017                Gas           Gov. Aggregation
DEO             2421002788231               Gas           Gov. Aggregation   COH             198701860016                Gas           Gov. Aggregation
DEO             9500049321285               Gas           Gov. Aggregation   COH             167219100033                Gas           Gov. Aggregation
DEO             3500061709557               Gas           Gov. Aggregation   COH             199310780011                Gas           Gov. Aggregation
DEO             0500049295804               Gas           Gov. Aggregation   COH             158988990066                Gas           Gov. Aggregation
DEO             8500060675058               Gas           Gov. Aggregation   COH             197465620019                Gas           Gov. Aggregation
DEO             2500062251732               Gas           Gov. Aggregation   COH             160747680067                Gas           Gov. Aggregation
DEO             4500040758975               Gas           Gov. Aggregation   COH             195109690020                Gas           Gov. Aggregation
DEO             5500051956578               Gas           Gov. Aggregation   COH             141437250021                Gas           Gov. Aggregation
DEO             8140000079629               Gas           Gov. Aggregation   COH             199442210011                Gas           Gov. Aggregation
DEO             4500053519136               Gas           Gov. Aggregation   COH             195459540011                Gas           Gov. Aggregation
DEO             1500051261108               Gas           Gov. Aggregation   COH             190674320025                Gas           Gov. Aggregation
DEO             5500001882001               Gas           Gov. Aggregation   COH             166622020036                Gas           Gov. Aggregation
DEO             2500024271571               Gas           Gov. Aggregation   COH             165198190015                Gas           Gov. Aggregation
DEO             3500000140870               Gas           Gov. Aggregation   COH             129354220029                Gas           Gov. Aggregation
DEO             0500061382620               Gas           Gov. Aggregation   COH             191093090016                Gas           Gov. Aggregation
DEO             4330000011476               Gas           Gov. Aggregation   COH             155844390014                Gas           Gov. Aggregation
DEO             2140000105525               Gas           Gov. Aggregation   COH             190888200018                Gas           Gov. Aggregation
DEO             2500061715458               Gas           Gov. Aggregation   COH             187963240042                Gas           Gov. Aggregation
DEO             5421001209578               Gas           Gov. Aggregation   COH             121219220032                Gas           Gov. Aggregation
DEO             1420905324840               Gas           Gov. Aggregation   COH             197289760014                Gas           Gov. Aggregation
DEO             4421001819061               Gas           Gov. Aggregation   COH             171177000010                Gas           Gov. Aggregation
DEO             3421004684214               Gas           Gov. Aggregation   COH             160980830034                Gas           Gov. Aggregation
DEO             7500003294490               Gas           Gov. Aggregation   COH             118380150068                Gas           Gov. Aggregation
DEO             3500061368149               Gas           Gov. Aggregation   COH             168039820024                Gas           Gov. Aggregation
DEO             5500061072613               Gas           Gov. Aggregation   COH             116709700137                Gas           Gov. Aggregation
DEO             8500021467822               Gas           Gov. Aggregation   COH             197608350012                Gas           Gov. Aggregation
DEO             6421006711094               Gas           Gov. Aggregation   COH             191684260017                Gas           Gov. Aggregation
DEO             3500064767720               Gas           Gov. Aggregation   COH             198828610010                Gas           Gov. Aggregation
DEO             6500061254388               Gas           Gov. Aggregation   COH             150024870034                Gas           Gov. Aggregation
DEO             6500018683044               Gas           Gov. Aggregation   COH             199298360017                Gas           Gov. Aggregation
DEO             0421002258347               Gas           Gov. Aggregation   COH             157531480025                Gas           Gov. Aggregation
DEO             3500017814029               Gas           Gov. Aggregation   COH             176659130052                Gas           Gov. Aggregation
DEO             0170000004633               Gas           Gov. Aggregation   COH             145251750062                Gas           Gov. Aggregation
DEO             5500055635186               Gas           Gov. Aggregation   COH             163859230034                Gas           Gov. Aggregation
DEO             4500055732252               Gas           Gov. Aggregation   COH             152869330017                Gas           Gov. Aggregation
DEO             7500021063570               Gas           Gov. Aggregation   COH             137364910041                Gas           Gov. Aggregation
DEO             5420900304963               Gas           Gov. Aggregation   COH             150147500031                Gas           Gov. Aggregation
DEO             9500052354149               Gas           Gov. Aggregation   COH             164735500074                Gas           Gov. Aggregation
DEO             0500039173631               Gas           Gov. Aggregation   COH             134149390022                Gas           Gov. Aggregation
DEO             1170000005124               Gas           Gov. Aggregation   COH             199929420015                Gas           Gov. Aggregation
DEO             3421002539343               Gas           Gov. Aggregation   COH             190888170024                Gas           Gov. Aggregation
DEO             4140000018402               Gas           Gov. Aggregation   COH             139646460037                Gas           Gov. Aggregation
DEO             0140000045655               Gas           Gov. Aggregation   COH             117378100028                Gas           Gov. Aggregation
DEO             8421100630487               Gas           Gov. Aggregation   COH             190394670044                Gas           Gov. Aggregation
DEO             0500052089510               Gas           Gov. Aggregation   COH             157108290031                Gas           Gov. Aggregation
DEO             5500061991875               Gas           Gov. Aggregation   COH             151602580074                Gas           Gov. Aggregation
DEO             7421005733715               Gas           Gov. Aggregation   COH             158924430012                Gas           Gov. Aggregation
DEO             6500033778510               Gas           Gov. Aggregation   COH             152328220016                Gas           Gov. Aggregation
DEO             0420901610297               Gas           Gov. Aggregation   COH             155801590012                Gas           Gov. Aggregation
DEO             3120000060310               Gas           Gov. Aggregation   COH             119920510047                Gas           Gov. Aggregation
DEO             8500055616566               Gas           Gov. Aggregation   COH             117031970039                Gas           Gov. Aggregation
DEO             9500043719129               Gas           Gov. Aggregation   COH             161673880043                Gas           Gov. Aggregation
DEO             5500023850335               Gas           Gov. Aggregation   COH             161039410027                Gas           Gov. Aggregation
DEO             0500025505233               Gas           Gov. Aggregation   COH             116873000039                Gas           Gov. Aggregation
DEO             6500023476302               Gas           Gov. Aggregation   COH             166138120032                Gas           Gov. Aggregation
DEO             8421102017653               Gas           Gov. Aggregation   COH             152850240024                Gas           Gov. Aggregation
DEO             1500010339945               Gas           Gov. Aggregation   COH             155748010026                Gas           Gov. Aggregation
DEO             7500062004151               Gas           Gov. Aggregation   COH             200871500017                Gas           Gov. Aggregation
DEO             0500033436509               Gas           Gov. Aggregation   COH             192628180020                Gas           Gov. Aggregation
DEO             3500007010246               Gas           Gov. Aggregation   COH             174772530032                Gas           Gov. Aggregation
DEO             6120000120317               Gas           Gov. Aggregation   COH             199028880019                Gas           Gov. Aggregation
DEO             7140000104685               Gas           Gov. Aggregation   COH             165866280082                Gas           Gov. Aggregation
DEO             4421004323568               Gas           Gov. Aggregation   COH             150656920016                Gas           Gov. Aggregation
DEO             2500027484347               Gas           Gov. Aggregation   COH             160200540037                Gas           Gov. Aggregation
DEO             0420906428475               Gas           Gov. Aggregation   COH             169687170036                Gas           Gov. Aggregation
DEO             3120000173250               Gas           Gov. Aggregation   COH             196817140014                Gas           Gov. Aggregation
DEO             8420903050837               Gas           Gov. Aggregation   COH             123583230019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             0420901719945               Gas           Gov. Aggregation   COH             177225930016                Gas           Gov. Aggregation
DEO             0500062141217               Gas           Gov. Aggregation   COH             151349010795                Gas           Gov. Aggregation
DEO             0120000144562               Gas           Gov. Aggregation   COH             151349011598                Gas           Gov. Aggregation
DEO             6500061639333               Gas           Gov. Aggregation   COH             151349011605                Gas           Gov. Aggregation
DEO             9421001960691               Gas           Gov. Aggregation   COH             151349011678                Gas           Gov. Aggregation
DEO             4500060415507               Gas           Gov. Aggregation   COH             151349011730                Gas           Gov. Aggregation
DEO             3500041355303               Gas           Gov. Aggregation   COH             151349011758                Gas           Gov. Aggregation
DEO             0421002716501               Gas           Gov. Aggregation   COH             151349011838                Gas           Gov. Aggregation
DEO             1500061518636               Gas           Gov. Aggregation   COH             151349011874                Gas           Gov. Aggregation
DEO             1120000182602               Gas           Gov. Aggregation   COH             151349011909                Gas           Gov. Aggregation
DEO             6500061592339               Gas           Gov. Aggregation   COH             191864640604                Gas           Gov. Aggregation
DEO             4500037978292               Gas           Gov. Aggregation   COH             191864640622                Gas           Gov. Aggregation
DEO             4421001279846               Gas           Gov. Aggregation   COH             192131290600                Gas           Gov. Aggregation
DEO             1500041974987               Gas           Gov. Aggregation   COH             192131293394                Gas           Gov. Aggregation
DEO             7500061036673               Gas           Gov. Aggregation   COH             192131293652                Gas           Gov. Aggregation
DEO             8421005904074               Gas           Gov. Aggregation   COH             192131293983                Gas           Gov. Aggregation
DEO             4500044176767               Gas           Gov. Aggregation   COH             192131294599                Gas           Gov. Aggregation
DEO             1500061965015               Gas           Gov. Aggregation   COH             192131294624                Gas           Gov. Aggregation
DEO             6500017346356               Gas           Gov. Aggregation   COH             192131295007                Gas           Gov. Aggregation
DEO             2500036126109               Gas           Gov. Aggregation   COH             192131295052                Gas           Gov. Aggregation
DEO             5500025524021               Gas           Gov. Aggregation   COH             192131295374                Gas           Gov. Aggregation
DEO             8421004773002               Gas           Gov. Aggregation   COH             192131295570                Gas           Gov. Aggregation
DEO             7500002363462               Gas           Gov. Aggregation   COH             192131296462                Gas           Gov. Aggregation
DEO             1421003455232               Gas           Gov. Aggregation   COH             192131296524                Gas           Gov. Aggregation
DEO             1421001881624               Gas           Gov. Aggregation   COH             192131296613                Gas           Gov. Aggregation
DEO             9500054668684               Gas           Gov. Aggregation   COH             192131296711                Gas           Gov. Aggregation
DEO             9500060945961               Gas           Gov. Aggregation   COH             192131296720                Gas           Gov. Aggregation
DEO             6500002786758               Gas           Gov. Aggregation   COH             192131296748                Gas           Gov. Aggregation
DEO             0500011909005               Gas           Gov. Aggregation   COH             192131296775                Gas           Gov. Aggregation
DEO             5500035793761               Gas           Gov. Aggregation   COH             192131296819                Gas           Gov. Aggregation
DEO             9500039697154               Gas           Gov. Aggregation   COH             192192641349                Gas           Gov. Aggregation
DEO             7420505736285               Gas           Gov. Aggregation   COH             192192641401                Gas           Gov. Aggregation
DEO             5140000088386               Gas           Gov. Aggregation   COH             194189401120                Gas           Gov. Aggregation
DEO             2420906190162               Gas           Gov. Aggregation   COH             194189401157                Gas           Gov. Aggregation
DEO             8500026383323               Gas           Gov. Aggregation   COH             194189401353                Gas           Gov. Aggregation
DEO             9500060551680               Gas           Gov. Aggregation   COH             194189401602                Gas           Gov. Aggregation
DEO             4421004371195               Gas           Gov. Aggregation   COH             194189401933                Gas           Gov. Aggregation
DEO             9500040063196               Gas           Gov. Aggregation   COH             194189402003                Gas           Gov. Aggregation
DEO             2140000059327               Gas           Gov. Aggregation   COH             194189402307                Gas           Gov. Aggregation
DEO             9421000937299               Gas           Gov. Aggregation   COH             194189402567                Gas           Gov. Aggregation
DEO             0500061964327               Gas           Gov. Aggregation   COH             195294280114                Gas           Gov. Aggregation
DEO             0500049255882               Gas           Gov. Aggregation   COH             186611760012                Gas           Gov. Aggregation
DEO             9421001959295               Gas           Gov. Aggregation   COH             175033430396                Gas           Gov. Aggregation
DEO             8500011907888               Gas           Gov. Aggregation   COH             196272830015                Gas           Gov. Aggregation
DEO             4500046305356               Gas           Gov. Aggregation   COH             134162420027                Gas           Gov. Aggregation
DEO             9421002993849               Gas           Gov. Aggregation   COH             122482190013                Gas           Gov. Aggregation
DEO             9140000034422               Gas           Gov. Aggregation   DEO             3421002368366               Gas           Gov. Aggregation
DEO             0500011932960               Gas           Gov. Aggregation   DEO             8180003982644               Gas           Gov. Aggregation
DEO             1421002643819               Gas           Gov. Aggregation   DEO             0420901251082               Gas           Gov. Aggregation
DEO             9180001597380               Gas           Gov. Aggregation   COH             122478100010                Gas           Gov. Aggregation
COH             198301130035                Gas           Gov. Aggregation   COH             124229390024                Gas           Gov. Aggregation
DEO             5180001598131               Gas           Gov. Aggregation   COH             152599830015                Gas           Gov. Aggregation
COH             200356360019                Gas           Gov. Aggregation   COH             139590560026                Gas           Gov. Aggregation
COH             108739040026                Gas           Gov. Aggregation   COH             138213770030                Gas           Gov. Aggregation
DEO             2180001673502               Gas           Gov. Aggregation   COH             160005440023                Gas           Gov. Aggregation
VEDO            4002938142328610            Gas           Gov. Aggregation   COH             172398990032                Gas           Gov. Aggregation
VEDO            4017461092472600            Gas           Gov. Aggregation   COH             173193800034                Gas           Gov. Aggregation
VEDO            4004953162273156            Gas           Gov. Aggregation   COH             172977080080                Gas           Gov. Aggregation
COH             122358200013                Gas           Gov. Aggregation   COH             170493810020                Gas           Gov. Aggregation
COH             115143000028                Gas           Gov. Aggregation   COH             170768490070                Gas           Gov. Aggregation
COH             165145160012                Gas           Gov. Aggregation   COH             171769550029                Gas           Gov. Aggregation
COH             165596210025                Gas           Gov. Aggregation   COH             174689340020                Gas           Gov. Aggregation
COH             192461590073                Gas           Gov. Aggregation   COH             197891120011                Gas           Gov. Aggregation
COH             190499500010                Gas           Gov. Aggregation   COH             197891120039                Gas           Gov. Aggregation
COH             195069170016                Gas           Gov. Aggregation   COH             197577200029                Gas           Gov. Aggregation
COH             186918600033                Gas           Gov. Aggregation   COH             197632260010                Gas           Gov. Aggregation
COH             186789510019                Gas           Gov. Aggregation   COH             197654940011                Gas           Gov. Aggregation
COH             186580850029                Gas           Gov. Aggregation   COH             197978100011                Gas           Gov. Aggregation
COH             198263230018                Gas           Gov. Aggregation   COH             199325490011                Gas           Gov. Aggregation
COH             198280170015                Gas           Gov. Aggregation   COH             199380940010                Gas           Gov. Aggregation
COH             198585440012                Gas           Gov. Aggregation   COH             199461070011                Gas           Gov. Aggregation
COH             198765670021                Gas           Gov. Aggregation   COH             199864900012                Gas           Gov. Aggregation
COH             198794670011                Gas           Gov. Aggregation   COH             195492150031                Gas           Gov. Aggregation
COH             198832940012                Gas           Gov. Aggregation   COH             187358370039                Gas           Gov. Aggregation
COH             199706650019                Gas           Gov. Aggregation   COH             192083850043                Gas           Gov. Aggregation
COH             199386750018                Gas           Gov. Aggregation   COH             201465760013                Gas           Gov. Aggregation
COH             122497440028                Gas           Gov. Aggregation   COH             200592670014                Gas           Gov. Aggregation
COH             189215350051                Gas           Gov. Aggregation   COH             200008120016                Gas           Gov. Aggregation
COH             199324970012                Gas           Gov. Aggregation   COH             200124650019                Gas           Gov. Aggregation
COH             193938180031                Gas           Gov. Aggregation   COH             200339670010                Gas           Gov. Aggregation
COH             198559410013                Gas           Gov. Aggregation   COH             201871880017                Gas           Gov. Aggregation
COH             200002930018                Gas           Gov. Aggregation   COH             201848260016                Gas           Gov. Aggregation
COH             199884100018                Gas           Gov. Aggregation   COH             201978500010                Gas           Gov. Aggregation
COH             173992380039                Gas           Gov. Aggregation   COH             113473590037                Gas           Gov. Aggregation
COH             163928040064                Gas           Gov. Aggregation   COH             112322660023                Gas           Gov. Aggregation
COH             198413580016                Gas           Gov. Aggregation   COH             134923220034                Gas           Gov. Aggregation
COH             198692300014                Gas           Gov. Aggregation   COH             112782330064                Gas           Gov. Aggregation
COH             154873760016                Gas           Gov. Aggregation   COH             112304740024                Gas           Gov. Aggregation
COH             195137950026                Gas           Gov. Aggregation   COH             197497570013                Gas           Gov. Aggregation
COH             200074610014                Gas           Gov. Aggregation   COH             192074870020                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             122506221095                Gas           Gov. Aggregation   COH             195574930024                Gas           Gov. Aggregation
COH             122467740117                Gas           Gov. Aggregation   COH             200003480011                Gas           Gov. Aggregation
COH             199124250017                Gas           Gov. Aggregation   COH             201805870018                Gas           Gov. Aggregation
COH             192369600030                Gas           Gov. Aggregation   COH             161123010022                Gas           Gov. Aggregation
COH             186451070035                Gas           Gov. Aggregation   COH             193837660025                Gas           Gov. Aggregation
COH             199239360011                Gas           Gov. Aggregation   COH             194157340023                Gas           Gov. Aggregation
COH             198629320013                Gas           Gov. Aggregation   COH             191765550023                Gas           Gov. Aggregation
COH             200032480010                Gas           Gov. Aggregation   COH             199699280014                Gas           Gov. Aggregation
COH             199321590018                Gas           Gov. Aggregation   COH             185087190025                Gas           Gov. Aggregation
COH             190729640012                Gas           Gov. Aggregation   COH             177707070051                Gas           Gov. Aggregation
COH             137307810024                Gas           Gov. Aggregation   COH             167128640024                Gas           Gov. Aggregation
COH             193913000012                Gas           Gov. Aggregation   COH             200561480019                Gas           Gov. Aggregation
COH             193694950019                Gas           Gov. Aggregation   COH             200718440014                Gas           Gov. Aggregation
COH             195155780015                Gas           Gov. Aggregation   COH             201023810018                Gas           Gov. Aggregation
COH             137652930135                Gas           Gov. Aggregation   COH             140903810061                Gas           Gov. Aggregation
COH             198304530017                Gas           Gov. Aggregation   COH             199804700010                Gas           Gov. Aggregation
COH             198749660018                Gas           Gov. Aggregation   COH             199787350012                Gas           Gov. Aggregation
COH             197975140019                Gas           Gov. Aggregation   COH             199522390014                Gas           Gov. Aggregation
COH             198955450015                Gas           Gov. Aggregation   COH             198469340028                Gas           Gov. Aggregation
COH             198039330012                Gas           Gov. Aggregation   COH             135167680086                Gas           Gov. Aggregation
COH             199413670016                Gas           Gov. Aggregation   COH             153107480046                Gas           Gov. Aggregation
COH             163789700016                Gas           Gov. Aggregation   COH             189509020020                Gas           Gov. Aggregation
COH             200169660013                Gas           Gov. Aggregation   COH             195407290013                Gas           Gov. Aggregation
COH             122481450010                Gas           Gov. Aggregation   COH             201485660012                Gas           Gov. Aggregation
COH             198575360010                Gas           Gov. Aggregation   COH             112264450021                Gas           Gov. Aggregation
COH             192727420010                Gas           Gov. Aggregation   COH             152133180036                Gas           Gov. Aggregation
COH             195913290029                Gas           Gov. Aggregation   COH             155757250036                Gas           Gov. Aggregation
COH             186769360031                Gas           Gov. Aggregation   COH             167365940029                Gas           Gov. Aggregation
COH             200151530017                Gas           Gov. Aggregation   COH             173132600034                Gas           Gov. Aggregation
COH             195207930012                Gas           Gov. Aggregation   COH             169656380028                Gas           Gov. Aggregation
COH             198794550016                Gas           Gov. Aggregation   COH             200834790015                Gas           Gov. Aggregation
COH             198656020019                Gas           Gov. Aggregation   COH             200451520013                Gas           Gov. Aggregation
COH             198072740016                Gas           Gov. Aggregation   COH             201919360014                Gas           Gov. Aggregation
COH             199180540018                Gas           Gov. Aggregation   COH             201878030011                Gas           Gov. Aggregation
COH             133745610059                Gas           Gov. Aggregation   COH             198456240017                Gas           Gov. Aggregation
COH             144129040025                Gas           Gov. Aggregation   COH             195255350022                Gas           Gov. Aggregation
COH             199203220015                Gas           Gov. Aggregation   COH             195861100029                Gas           Gov. Aggregation
COH             199670890016                Gas           Gov. Aggregation   COH             138528150024                Gas           Gov. Aggregation
COH             171787110041                Gas           Gov. Aggregation   COH             158859190049                Gas           Gov. Aggregation
COH             173808960045                Gas           Gov. Aggregation   COH             177484290102                Gas           Gov. Aggregation
COH             197793970020                Gas           Gov. Aggregation   COH             198431760010                Gas           Gov. Aggregation
COH             200179230012                Gas           Gov. Aggregation   COH             173629430046                Gas           Gov. Aggregation
COH             200032500015                Gas           Gov. Aggregation   COH             155810770015                Gas           Gov. Aggregation
COH             192115540049                Gas           Gov. Aggregation   COH             131970210021                Gas           Gov. Aggregation
COH             192274260033                Gas           Gov. Aggregation   COH             113773120048                Gas           Gov. Aggregation
COH             190863630038                Gas           Gov. Aggregation   COH             199548660013                Gas           Gov. Aggregation
COH             174273900041                Gas           Gov. Aggregation   COH             189549080024                Gas           Gov. Aggregation
COH             175000530027                Gas           Gov. Aggregation   COH             201741120011                Gas           Gov. Aggregation
COH             175294990057                Gas           Gov. Aggregation   COH             201436820011                Gas           Gov. Aggregation
COH             198990950016                Gas           Gov. Aggregation   COH             197550250016                Gas           Gov. Aggregation
COH             129012312040                Gas           Gov. Aggregation   COH             112295040013                Gas           Gov. Aggregation
COH             129012312059                Gas           Gov. Aggregation   COH             136462770017                Gas           Gov. Aggregation
COH             129012312068                Gas           Gov. Aggregation   COH             167859850058                Gas           Gov. Aggregation
COH             129012312086                Gas           Gov. Aggregation   COH             174674120018                Gas           Gov. Aggregation
COH             129012311998                Gas           Gov. Aggregation   COH             177796640045                Gas           Gov. Aggregation
COH             195831670014                Gas           Gov. Aggregation   COH             195574680018                Gas           Gov. Aggregation
COH             192517440100                Gas           Gov. Aggregation   COH             201766930019                Gas           Gov. Aggregation
COH             199006320012                Gas           Gov. Aggregation   COH             200092700017                Gas           Gov. Aggregation
COH             135933120024                Gas           Gov. Aggregation   COH             198497100010                Gas           Gov. Aggregation
COH             138308940042                Gas           Gov. Aggregation   COH             197886330027                Gas           Gov. Aggregation
COH             149418690049                Gas           Gov. Aggregation   COH             195741940027                Gas           Gov. Aggregation
COH             198177590016                Gas           Gov. Aggregation   COH             112381050027                Gas           Gov. Aggregation
COH             189557710024                Gas           Gov. Aggregation   COH             131179630021                Gas           Gov. Aggregation
COH             154277330029                Gas           Gov. Aggregation   COH             201903190013                Gas           Gov. Aggregation
COH             157034030032                Gas           Gov. Aggregation   COH             195857810010                Gas           Gov. Aggregation
COH             199298940015                Gas           Gov. Aggregation   COH             197342120032                Gas           Gov. Aggregation
COH             199071790017                Gas           Gov. Aggregation   COH             201655960018                Gas           Gov. Aggregation
COH             171307240031                Gas           Gov. Aggregation   COH             197245880011                Gas           Gov. Aggregation
COH             194001410027                Gas           Gov. Aggregation   COH             143256880101                Gas           Gov. Aggregation
COH             176921930039                Gas           Gov. Aggregation   COH             198688540013                Gas           Gov. Aggregation
COH             122385790013                Gas           Gov. Aggregation   COH             161285720058                Gas           Gov. Aggregation
COH             199968080015                Gas           Gov. Aggregation   COH             195899280032                Gas           Gov. Aggregation
COH             199998350015                Gas           Gov. Aggregation   COH             200532330011                Gas           Gov. Aggregation
COH             200024030011                Gas           Gov. Aggregation   COH             201992580014                Gas           Gov. Aggregation
COH             189091850032                Gas           Gov. Aggregation   COH             142291280220                Gas           Gov. Aggregation
COH             198855290011                Gas           Gov. Aggregation   COH             153439040027                Gas           Gov. Aggregation
COH             198305760017                Gas           Gov. Aggregation   COH             192355470028                Gas           Gov. Aggregation
COH             198385060016                Gas           Gov. Aggregation   COH             192382330039                Gas           Gov. Aggregation
COH             171295280067                Gas           Gov. Aggregation   COH             193915380028                Gas           Gov. Aggregation
COH             198973550016                Gas           Gov. Aggregation   COH             197290900011                Gas           Gov. Aggregation
COH             198469320013                Gas           Gov. Aggregation   COH             194554010048                Gas           Gov. Aggregation
COH             198200080012                Gas           Gov. Aggregation   COH             194256630031                Gas           Gov. Aggregation
COH             122511870026                Gas           Gov. Aggregation   COH             192093160029                Gas           Gov. Aggregation
COH             135505130038                Gas           Gov. Aggregation   COH             201335010015                Gas           Gov. Aggregation
COH             145691980044                Gas           Gov. Aggregation   COH             198027730013                Gas           Gov. Aggregation
COH             194677820020                Gas           Gov. Aggregation   COH             171720970032                Gas           Gov. Aggregation
COH             198170030017                Gas           Gov. Aggregation   COH             174375510047                Gas           Gov. Aggregation
COH             153725880060                Gas           Gov. Aggregation   COH             198751560014                Gas           Gov. Aggregation
COH             199393510013                Gas           Gov. Aggregation   COH             152674940049                Gas           Gov. Aggregation
COH             199097130011                Gas           Gov. Aggregation   COH             201668020018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             198910570023                Gas           Gov. Aggregation   COH             162461020041                Gas           Gov. Aggregation
COH             199985140016                Gas           Gov. Aggregation   COH             200654270016                Gas           Gov. Aggregation
COH             191851520017                Gas           Gov. Aggregation   COH             200946050013                Gas           Gov. Aggregation
COH             194365220027                Gas           Gov. Aggregation   COH             201822940017                Gas           Gov. Aggregation
COH             198882460018                Gas           Gov. Aggregation   COH             198989910017                Gas           Gov. Aggregation
COH             156233230048                Gas           Gov. Aggregation   COH             199177740013                Gas           Gov. Aggregation
COH             160899380023                Gas           Gov. Aggregation   COH             198945260016                Gas           Gov. Aggregation
COH             199603820011                Gas           Gov. Aggregation   COH             197947110014                Gas           Gov. Aggregation
COH             198593310012                Gas           Gov. Aggregation   COH             197940400017                Gas           Gov. Aggregation
COH             198154550012                Gas           Gov. Aggregation   COH             197724410013                Gas           Gov. Aggregation
COH             198039310016                Gas           Gov. Aggregation   COH             197279830010                Gas           Gov. Aggregation
COH             191155720039                Gas           Gov. Aggregation   COH             196984820027                Gas           Gov. Aggregation
COH             159725030071                Gas           Gov. Aggregation   COH             193580350025                Gas           Gov. Aggregation
COH             166248620052                Gas           Gov. Aggregation   COH             194778820026                Gas           Gov. Aggregation
COH             167302180058                Gas           Gov. Aggregation   COH             195083480011                Gas           Gov. Aggregation
COH             162342490063                Gas           Gov. Aggregation   COH             201451340010                Gas           Gov. Aggregation
COH             186006920020                Gas           Gov. Aggregation   COH             163687430037                Gas           Gov. Aggregation
COH             192720600016                Gas           Gov. Aggregation   COH             166437500074                Gas           Gov. Aggregation
COH             199460320010                Gas           Gov. Aggregation   COH             157926950145                Gas           Gov. Aggregation
COH             199539610012                Gas           Gov. Aggregation   COH             186351670022                Gas           Gov. Aggregation
COH             141812820098                Gas           Gov. Aggregation   COH             199728250017                Gas           Gov. Aggregation
COH             152103620036                Gas           Gov. Aggregation   COH             167439940040                Gas           Gov. Aggregation
COH             159774060054                Gas           Gov. Aggregation   COH             201707400014                Gas           Gov. Aggregation
COH             196072010039                Gas           Gov. Aggregation   COH             199239980011                Gas           Gov. Aggregation
COH             199874760011                Gas           Gov. Aggregation   COH             201285470016                Gas           Gov. Aggregation
COH             199847140018                Gas           Gov. Aggregation   COH             200438650014                Gas           Gov. Aggregation
COH             199460460011                Gas           Gov. Aggregation   COH             198923950017                Gas           Gov. Aggregation
COH             193137020032                Gas           Gov. Aggregation   COH             201451230013                Gas           Gov. Aggregation
COH             200067380018                Gas           Gov. Aggregation   COH             196787510020                Gas           Gov. Aggregation
COH             198529150011                Gas           Gov. Aggregation   COH             199804850019                Gas           Gov. Aggregation
COH             199178030010                Gas           Gov. Aggregation   COH             198568190011                Gas           Gov. Aggregation
COH             199385480017                Gas           Gov. Aggregation   COH             189970600021                Gas           Gov. Aggregation
COH             199373040014                Gas           Gov. Aggregation   COH             113102720034                Gas           Gov. Aggregation
COH             192289260023                Gas           Gov. Aggregation   COH             113249570027                Gas           Gov. Aggregation
COH             158522050069                Gas           Gov. Aggregation   COH             201903160019                Gas           Gov. Aggregation
COH             172903540033                Gas           Gov. Aggregation   COH             197895610010                Gas           Gov. Aggregation
COH             127250050018                Gas           Gov. Aggregation   COH             198432660019                Gas           Gov. Aggregation
COH             166934750023                Gas           Gov. Aggregation   COH             199080750016                Gas           Gov. Aggregation
COH             198664170011                Gas           Gov. Aggregation   COH             199892730019                Gas           Gov. Aggregation
COH             199870400014                Gas           Gov. Aggregation   COH             112311240024                Gas           Gov. Aggregation
COH             190330330021                Gas           Gov. Aggregation   COH             112275510034                Gas           Gov. Aggregation
COH             194953020013                Gas           Gov. Aggregation   COH             113658170024                Gas           Gov. Aggregation
COH             197609660024                Gas           Gov. Aggregation   COH             122402800049                Gas           Gov. Aggregation
COH             199979970015                Gas           Gov. Aggregation   COH             159382780018                Gas           Gov. Aggregation
COH             198955460013                Gas           Gov. Aggregation   DEO             4180004544244               Gas           Gov. Aggregation
COH             199332340017                Gas           Gov. Aggregation   VEDO            4004798962488305            Gas           Gov. Aggregation
COH             199210960015                Gas           Gov. Aggregation   COH             187537840021                Gas           Gov. Aggregation
COH             193823720058                Gas           Gov. Aggregation   DEO             2180004398938               Gas           Gov. Aggregation
COH             200032460014                Gas           Gov. Aggregation   COH             189697980022                Gas           Gov. Aggregation
COH             157427050026                Gas           Gov. Aggregation   DEO             0180004586033               Gas           Gov. Aggregation
COH             171541300032                Gas           Gov. Aggregation   COH             201745130011                Gas           Gov. Aggregation
COH             192830630026                Gas           Gov. Aggregation   COH             200144930018                Gas           Gov. Aggregation
COH             197903040020                Gas           Gov. Aggregation   COH             199421430019                Gas           Gov. Aggregation
COH             198671240011                Gas           Gov. Aggregation   COH             200494910011                Gas           Gov. Aggregation
COH             198100610012                Gas           Gov. Aggregation   COH             188927740033                Gas           Gov. Aggregation
COH             144547750057                Gas           Gov. Aggregation   COH             198111250024                Gas           Gov. Aggregation
COH             122389150028                Gas           Gov. Aggregation   COH             110883760026                Gas           Gov. Aggregation
COH             122501840041                Gas           Gov. Aggregation   COH             194895860011                Gas           Gov. Aggregation
COH             199253610018                Gas           Gov. Aggregation   COH             166794900029                Gas           Gov. Aggregation
COH             199372990017                Gas           Gov. Aggregation   VEDO            4001019592160835            Gas           Gov. Aggregation
COH             199120110014                Gas           Gov. Aggregation   VEDO            4002364052536984            Gas           Gov. Aggregation
COH             199741860011                Gas           Gov. Aggregation   VEDO            4002824442190147            Gas           Gov. Aggregation
COH             188896270039                Gas           Gov. Aggregation   VEDO            4003689872367288            Gas           Gov. Aggregation
COH             190634030020                Gas           Gov. Aggregation   VEDO            4003720542370530            Gas           Gov. Aggregation
COH             122364780064                Gas           Gov. Aggregation   VEDO            4003795692584995            Gas           Gov. Aggregation
COH             137078720011                Gas           Gov. Aggregation   VEDO            4003802512344627            Gas           Gov. Aggregation
COH             172250260046                Gas           Gov. Aggregation   VEDO            4004091982222892            Gas           Gov. Aggregation
COH             169833560051                Gas           Gov. Aggregation   VEDO            4004095362328207            Gas           Gov. Aggregation
COH             198751210017                Gas           Gov. Aggregation   VEDO            4004661652145141            Gas           Gov. Aggregation
COH             199896330015                Gas           Gov. Aggregation   VEDO            4004855882494653            Gas           Gov. Aggregation
COH             199851430018                Gas           Gov. Aggregation   VEDO            4004875782314271            Gas           Gov. Aggregation
COH             199635580015                Gas           Gov. Aggregation   VEDO            4004945932536024            Gas           Gov. Aggregation
COH             199880230019                Gas           Gov. Aggregation   VEDO            4015179672536915            Gas           Gov. Aggregation
COH             199797810014                Gas           Gov. Aggregation   VEDO            4015307482293689            Gas           Gov. Aggregation
COH             126921030092                Gas           Gov. Aggregation   VEDO            4015348762496145            Gas           Gov. Aggregation
COH             122417420020                Gas           Gov. Aggregation   VEDO            4015370872623723            Gas           Gov. Aggregation
COH             140142510059                Gas           Gov. Aggregation   VEDO            4015547662183522            Gas           Gov. Aggregation
COH             196107990039                Gas           Gov. Aggregation   VEDO            4016853342149299            Gas           Gov. Aggregation
COH             189628870020                Gas           Gov. Aggregation   VEDO            4017341402524676            Gas           Gov. Aggregation
COH             198362490014                Gas           Gov. Aggregation   VEDO            4017364942505837            Gas           Gov. Aggregation
COH             198572460015                Gas           Gov. Aggregation   VEDO            4017456132276195            Gas           Gov. Aggregation
COH             198561660016                Gas           Gov. Aggregation   VEDO            4017497932163782            Gas           Gov. Aggregation
COH             122363550046                Gas           Gov. Aggregation   VEDO            4017731462267789            Gas           Gov. Aggregation
COH             122437480026                Gas           Gov. Aggregation   VEDO            4017821492642970            Gas           Gov. Aggregation
COH             133832300442                Gas           Gov. Aggregation   VEDO            4017910062324824            Gas           Gov. Aggregation
COH             193017650025                Gas           Gov. Aggregation   VEDO            4018248502427961            Gas           Gov. Aggregation
COH             122386900080                Gas           Gov. Aggregation   VEDO            4018357142423824            Gas           Gov. Aggregation
COH             188266330022                Gas           Gov. Aggregation   VEDO            4018443282488943            Gas           Gov. Aggregation
COH             198404700019                Gas           Gov. Aggregation   VEDO            4018480852116214            Gas           Gov. Aggregation
COH             158717500061                Gas           Gov. Aggregation   VEDO            4018500732603137            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             199892480012                Gas           Gov. Aggregation   VEDO            4018595512111107            Gas           Gov. Aggregation
COH             199929720012                Gas           Gov. Aggregation   VEDO            4018595512276302            Gas           Gov. Aggregation
COH             198992310016                Gas           Gov. Aggregation   VEDO            4018822962595093            Gas           Gov. Aggregation
COH             198009230016                Gas           Gov. Aggregation   VEDO            4018836202386491            Gas           Gov. Aggregation
COH             129277210061                Gas           Gov. Aggregation   VEDO            4018875342116672            Gas           Gov. Aggregation
COH             122381670016                Gas           Gov. Aggregation   VEDO            4019093592642299            Gas           Gov. Aggregation
COH             122382510017                Gas           Gov. Aggregation   VEDO            4019162452203041            Gas           Gov. Aggregation
COH             131228460013                Gas           Gov. Aggregation   VEDO            4019238372318839            Gas           Gov. Aggregation
COH             199710810016                Gas           Gov. Aggregation   VEDO            4019528982102520            Gas           Gov. Aggregation
COH             199583770016                Gas           Gov. Aggregation   VEDO            4019531772178061            Gas           Gov. Aggregation
COH             190146610050                Gas           Gov. Aggregation   VEDO            4019732532298552            Gas           Gov. Aggregation
DEO             8180001691725               Gas           Gov. Aggregation   VEDO            4019789962381490            Gas           Gov. Aggregation
COH             121921970018                Gas           Gov. Aggregation   VEDO            4019796822409649            Gas           Gov. Aggregation
COH             145200940014                Gas           Gov. Aggregation   VEDO            4019807372498965            Gas           Gov. Aggregation
COH             144691810013                Gas           Gov. Aggregation   VEDO            4019809322648462            Gas           Gov. Aggregation
DEO             4180001729317               Gas           Gov. Aggregation   VEDO            4019812882489862            Gas           Gov. Aggregation
COH             197198360011                Gas           Gov. Aggregation   VEDO            4019829522242622            Gas           Gov. Aggregation
COH             176023520011                Gas           Gov. Aggregation   VEDO            4019830862160474            Gas           Gov. Aggregation
COH             111304980025                Gas           Gov. Aggregation   VEDO            4019833242533495            Gas           Gov. Aggregation
COH             153133070010                Gas           Gov. Aggregation   VEDO            4019856862538602            Gas           Gov. Aggregation
COH             192969970148                Gas           Gov. Aggregation   VEDO            4019871052311489            Gas           Gov. Aggregation
COH             195342040013                Gas           Gov. Aggregation   VEDO            4019883292396698            Gas           Gov. Aggregation
COH             195298530015                Gas           Gov. Aggregation   VEDO            4019889892458084            Gas           Gov. Aggregation
COH             198677010017                Gas           Gov. Aggregation   VEDO            4019889902475347            Gas           Gov. Aggregation
COH             196677780018                Gas           Gov. Aggregation   VEDO            4019897892605514            Gas           Gov. Aggregation
COH             197057140015                Gas           Gov. Aggregation   VEDO            4019908812615382            Gas           Gov. Aggregation
COH             197024800015                Gas           Gov. Aggregation   VEDO            4019921072188150            Gas           Gov. Aggregation
COH             111331280016                Gas           Gov. Aggregation   VEDO            4019922402225674            Gas           Gov. Aggregation
COH             111331020010                Gas           Gov. Aggregation   VEDO            4019925212293399            Gas           Gov. Aggregation
COH             190550890019                Gas           Gov. Aggregation   VEDO            4019926262416314            Gas           Gov. Aggregation
COH             185935950053                Gas           Gov. Aggregation   VEDO            4019935902341691            Gas           Gov. Aggregation
COH             176826040065                Gas           Gov. Aggregation   VEDO            4019936882577640            Gas           Gov. Aggregation
COH             148656070037                Gas           Gov. Aggregation   VEDO            4019949882345670            Gas           Gov. Aggregation
COH             193531820010                Gas           Gov. Aggregation   VEDO            4019950062353370            Gas           Gov. Aggregation
COH             120447390017                Gas           Gov. Aggregation   VEDO            4019951342151318            Gas           Gov. Aggregation
COH             154157440039                Gas           Gov. Aggregation   VEDO            4019964132253491            Gas           Gov. Aggregation
COH             155505870020                Gas           Gov. Aggregation   VEDO            4019964542625195            Gas           Gov. Aggregation
COH             150126570022                Gas           Gov. Aggregation   VEDO            4019964752322425            Gas           Gov. Aggregation
COH             198713300018                Gas           Gov. Aggregation   VEDO            4019964752583544            Gas           Gov. Aggregation
COH             198063180013                Gas           Gov. Aggregation   VEDO            4019966182241790            Gas           Gov. Aggregation
COH             195509170012                Gas           Gov. Aggregation   VEDO            4019975972486236            Gas           Gov. Aggregation
COH             196215580018                Gas           Gov. Aggregation   VEDO            4019976632462317            Gas           Gov. Aggregation
COH             129366670057                Gas           Gov. Aggregation   VEDO            4019976892288904            Gas           Gov. Aggregation
COH             196808520013                Gas           Gov. Aggregation   VEDO            4019992282324422            Gas           Gov. Aggregation
COH             164579690022                Gas           Gov. Aggregation   VEDO            4020014582122445            Gas           Gov. Aggregation
COH             165343950016                Gas           Gov. Aggregation   VEDO            4020015852373255            Gas           Gov. Aggregation
COH             197607980012                Gas           Gov. Aggregation   VEDO            4020022482275894            Gas           Gov. Aggregation
COH             140670930025                Gas           Gov. Aggregation   VEDO            4020030122470501            Gas           Gov. Aggregation
COH             167748350067                Gas           Gov. Aggregation   VEDO            4020030622647778            Gas           Gov. Aggregation
COH             193733380024                Gas           Gov. Aggregation   VEDO            4020032882120209            Gas           Gov. Aggregation
COH             117095890023                Gas           Gov. Aggregation   VEDO            4020037352557494            Gas           Gov. Aggregation
COH             120188330028                Gas           Gov. Aggregation   VEDO            4020038152419011            Gas           Gov. Aggregation
COH             130872960023                Gas           Gov. Aggregation   VEDO            4020046172104330            Gas           Gov. Aggregation
COH             196249460012                Gas           Gov. Aggregation   VEDO            4020046412672234            Gas           Gov. Aggregation
COH             120152990016                Gas           Gov. Aggregation   COH             200043130010                Gas           Gov. Aggregation
COH             120152330014                Gas           Gov. Aggregation   COH             197307180016                Gas           Gov. Aggregation
COH             186170740021                Gas           Gov. Aggregation   COH             196374530012                Gas           Gov. Aggregation
COH             155496260065                Gas           Gov. Aggregation   COH             194273240019                Gas           Gov. Aggregation
COH             170064150019                Gas           Gov. Aggregation   COH             171113060012                Gas           Gov. Aggregation
COH             197937420010                Gas           Gov. Aggregation   COH             172467630012                Gas           Gov. Aggregation
COH             198468530011                Gas           Gov. Aggregation   COH             200244890015                Gas           Gov. Aggregation
COH             134680960044                Gas           Gov. Aggregation   COH             200236370020                Gas           Gov. Aggregation
COH             170886330055                Gas           Gov. Aggregation   COH             200220680019                Gas           Gov. Aggregation
COH             166078900018                Gas           Gov. Aggregation   COH             200067140018                Gas           Gov. Aggregation
COH             165859140013                Gas           Gov. Aggregation   COH             200032350017                Gas           Gov. Aggregation
COH             166884990048                Gas           Gov. Aggregation   COH             200356600018                Gas           Gov. Aggregation
COH             199131530013                Gas           Gov. Aggregation   COH             200372690016                Gas           Gov. Aggregation
COH             199824990018                Gas           Gov. Aggregation   COH             200437840016                Gas           Gov. Aggregation
COH             163641660026                Gas           Gov. Aggregation   COH             174056010039                Gas           Gov. Aggregation
COH             187717840010                Gas           Gov. Aggregation   COH             173053730026                Gas           Gov. Aggregation
COH             175838090025                Gas           Gov. Aggregation   COH             173156010029                Gas           Gov. Aggregation
COH             174512780012                Gas           Gov. Aggregation   COH             171869100049                Gas           Gov. Aggregation
COH             120049540037                Gas           Gov. Aggregation   COH             172026060034                Gas           Gov. Aggregation
COH             198008630014                Gas           Gov. Aggregation   COH             172004280025                Gas           Gov. Aggregation
COH             133858500017                Gas           Gov. Aggregation   COH             170428840021                Gas           Gov. Aggregation
COH             120160350013                Gas           Gov. Aggregation   COH             170775390030                Gas           Gov. Aggregation
COH             197349620015                Gas           Gov. Aggregation   COH             169055560015                Gas           Gov. Aggregation
COH             152398920012                Gas           Gov. Aggregation   COH             191395210029                Gas           Gov. Aggregation
COH             163270510024                Gas           Gov. Aggregation   COH             188764380035                Gas           Gov. Aggregation
COH             165043020017                Gas           Gov. Aggregation   COH             188800680034                Gas           Gov. Aggregation
COH             194131850011                Gas           Gov. Aggregation   COH             188800980022                Gas           Gov. Aggregation
COH             192642260014                Gas           Gov. Aggregation   COH             188728890052                Gas           Gov. Aggregation
COH             129669770018                Gas           Gov. Aggregation   COH             189253260032                Gas           Gov. Aggregation
COH             197453700017                Gas           Gov. Aggregation   COH             197815280027                Gas           Gov. Aggregation
COH             165866350014                Gas           Gov. Aggregation   COH             199498740022                Gas           Gov. Aggregation
COH             120235860026                Gas           Gov. Aggregation   COH             192875080028                Gas           Gov. Aggregation
COH             120457760072                Gas           Gov. Aggregation   COH             201926100013                Gas           Gov. Aggregation
COH             151254600078                Gas           Gov. Aggregation   COH             201933210015                Gas           Gov. Aggregation
COH             167177020049                Gas           Gov. Aggregation   COH             201933270013                Gas           Gov. Aggregation
COH             188028070049                Gas           Gov. Aggregation   COH             201912100012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             186725420058                Gas           Gov. Aggregation   COH             201964370017                Gas           Gov. Aggregation
COH             199979610010                Gas           Gov. Aggregation   COH             202093070016                Gas           Gov. Aggregation
COH             172922840012                Gas           Gov. Aggregation   COH             202209230015                Gas           Gov. Aggregation
COH             176709950026                Gas           Gov. Aggregation   COH             201644680010                Gas           Gov. Aggregation
COH             121823860019                Gas           Gov. Aggregation   COH             201628870014                Gas           Gov. Aggregation
COH             120405370037                Gas           Gov. Aggregation   COH             201568750017                Gas           Gov. Aggregation
COH             120185340031                Gas           Gov. Aggregation   COH             201576230019                Gas           Gov. Aggregation
COH             146164340026                Gas           Gov. Aggregation   COH             201340820014                Gas           Gov. Aggregation
COH             199586950012                Gas           Gov. Aggregation   COH             201375870011                Gas           Gov. Aggregation
COH             192979930029                Gas           Gov. Aggregation   COH             201371860011                Gas           Gov. Aggregation
COH             186530380014                Gas           Gov. Aggregation   COH             201410660019                Gas           Gov. Aggregation
COH             159209420037                Gas           Gov. Aggregation   COH             201408270016                Gas           Gov. Aggregation
COH             159444820044                Gas           Gov. Aggregation   COH             200793550013                Gas           Gov. Aggregation
COH             120458330016                Gas           Gov. Aggregation   COH             118127420049                Gas           Gov. Aggregation
COH             120458650019                Gas           Gov. Aggregation   COH             119768220024                Gas           Gov. Aggregation
COH             142603610058                Gas           Gov. Aggregation   COH             162251400028                Gas           Gov. Aggregation
COH             198038180016                Gas           Gov. Aggregation   COH             162004790011                Gas           Gov. Aggregation
COH             134416410093                Gas           Gov. Aggregation   COH             168466430030                Gas           Gov. Aggregation
COH             120458000015                Gas           Gov. Aggregation   COH             154881420065                Gas           Gov. Aggregation
COH             120428080021                Gas           Gov. Aggregation   COH             154884000049                Gas           Gov. Aggregation
COH             196822280014                Gas           Gov. Aggregation   COH             155061940027                Gas           Gov. Aggregation
COH             198396320018                Gas           Gov. Aggregation   COH             153140550032                Gas           Gov. Aggregation
COH             167806070044                Gas           Gov. Aggregation   COH             155697920033                Gas           Gov. Aggregation
COH             120447160015                Gas           Gov. Aggregation   COH             156242710048                Gas           Gov. Aggregation
COH             120447170013                Gas           Gov. Aggregation   COH             156105190020                Gas           Gov. Aggregation
COH             120442710082                Gas           Gov. Aggregation   COH             156747550024                Gas           Gov. Aggregation
COH             120457170012                Gas           Gov. Aggregation   COH             156575110021                Gas           Gov. Aggregation
COH             120459970010                Gas           Gov. Aggregation   COH             143479270027                Gas           Gov. Aggregation
COH             154838970043                Gas           Gov. Aggregation   COH             119911150024                Gas           Gov. Aggregation
COH             158584510133                Gas           Gov. Aggregation   COH             130011250035                Gas           Gov. Aggregation
COH             120446020016                Gas           Gov. Aggregation   COH             127115310091                Gas           Gov. Aggregation
COH             185392050018                Gas           Gov. Aggregation   COH             126773350036                Gas           Gov. Aggregation
COH             190199500016                Gas           Gov. Aggregation   COH             123587600022                Gas           Gov. Aggregation
COH             120151580014                Gas           Gov. Aggregation   COH             134261150024                Gas           Gov. Aggregation
COH             197814710019                Gas           Gov. Aggregation   COH             131398290056                Gas           Gov. Aggregation
COH             197794680010                Gas           Gov. Aggregation   COH             132987170042                Gas           Gov. Aggregation
COH             198278730012                Gas           Gov. Aggregation   COH             159504610022                Gas           Gov. Aggregation
COH             133360130010                Gas           Gov. Aggregation   COH             160431570078                Gas           Gov. Aggregation
COH             146918580036                Gas           Gov. Aggregation   COH             192313830011                Gas           Gov. Aggregation
COH             137297490025                Gas           Gov. Aggregation   COH             118050960012                Gas           Gov. Aggregation
COH             196894310016                Gas           Gov. Aggregation   COH             197781270031                Gas           Gov. Aggregation
COH             119981300089                Gas           Gov. Aggregation   COH             201449590013                Gas           Gov. Aggregation
COH             197932150017                Gas           Gov. Aggregation   COH             174879360014                Gas           Gov. Aggregation
COH             118596440033                Gas           Gov. Aggregation   COH             115015730035                Gas           Gov. Aggregation
COH             136859430035                Gas           Gov. Aggregation   COH             139247460033                Gas           Gov. Aggregation
COH             140041530031                Gas           Gov. Aggregation   COH             118341880030                Gas           Gov. Aggregation
COH             199400580012                Gas           Gov. Aggregation   COH             201110100012                Gas           Gov. Aggregation
COH             164056860024                Gas           Gov. Aggregation   COH             150496520029                Gas           Gov. Aggregation
COH             156223290056                Gas           Gov. Aggregation   COH             200184170014                Gas           Gov. Aggregation
COH             187080930021                Gas           Gov. Aggregation   COH             201628790011                Gas           Gov. Aggregation
COH             172523640010                Gas           Gov. Aggregation   COH             201655110016                Gas           Gov. Aggregation
COH             125838600018                Gas           Gov. Aggregation   COH             198984670027                Gas           Gov. Aggregation
COH             149995120046                Gas           Gov. Aggregation   COH             132527840027                Gas           Gov. Aggregation
COH             125771350022                Gas           Gov. Aggregation   COH             167570440047                Gas           Gov. Aggregation
DEO             5500066619674               Gas           Gov. Aggregation   COH             167026910032                Gas           Gov. Aggregation
DEO             8180001933264               Gas           Gov. Aggregation   COH             200056250018                Gas           Gov. Aggregation
COH             124132270033                Gas           Gov. Aggregation   COH             176474450057                Gas           Gov. Aggregation
COH             123943760014                Gas           Gov. Aggregation   COH             190244960022                Gas           Gov. Aggregation
COH             123963290020                Gas           Gov. Aggregation   COH             189461110014                Gas           Gov. Aggregation
COH             155869850024                Gas           Gov. Aggregation   COH             118823200012                Gas           Gov. Aggregation
COH             145123670024                Gas           Gov. Aggregation   COH             147512260032                Gas           Gov. Aggregation
COH             197424370018                Gas           Gov. Aggregation   COH             201547620018                Gas           Gov. Aggregation
COH             194888120039                Gas           Gov. Aggregation   COH             142184770028                Gas           Gov. Aggregation
COH             173554980031                Gas           Gov. Aggregation   COH             133862310027                Gas           Gov. Aggregation
COH             200047180012                Gas           Gov. Aggregation   COH             201788090010                Gas           Gov. Aggregation
COH             195790860012                Gas           Gov. Aggregation   COH             201991570018                Gas           Gov. Aggregation
COH             193743010011                Gas           Gov. Aggregation   COH             163908140056                Gas           Gov. Aggregation
COH             166071800022                Gas           Gov. Aggregation   COH             200423870019                Gas           Gov. Aggregation
COH             152835190036                Gas           Gov. Aggregation   COH             175426540041                Gas           Gov. Aggregation
COH             188581850025                Gas           Gov. Aggregation   COH             201532490017                Gas           Gov. Aggregation
COH             194003320022                Gas           Gov. Aggregation   COH             118301510022                Gas           Gov. Aggregation
COH             168644240041                Gas           Gov. Aggregation   COH             197549460024                Gas           Gov. Aggregation
COH             162367480018                Gas           Gov. Aggregation   COH             201991590014                Gas           Gov. Aggregation
COH             172358800026                Gas           Gov. Aggregation   COH             201908550017                Gas           Gov. Aggregation
COH             170570830077                Gas           Gov. Aggregation   COH             201410640013                Gas           Gov. Aggregation
COH             185048360030                Gas           Gov. Aggregation   COH             196344220029                Gas           Gov. Aggregation
COH             189950930033                Gas           Gov. Aggregation   COH             201427690018                Gas           Gov. Aggregation
COH             190656080042                Gas           Gov. Aggregation   COH             200461450017                Gas           Gov. Aggregation
COH             200363440017                Gas           Gov. Aggregation   COH             118051620011                Gas           Gov. Aggregation
COH             198982790017                Gas           Gov. Aggregation   COH             193175450023                Gas           Gov. Aggregation
COH             187996410083                Gas           Gov. Aggregation   COH             200465060011                Gas           Gov. Aggregation
COH             186077860024                Gas           Gov. Aggregation   COH             200709010013                Gas           Gov. Aggregation
COH             169752310028                Gas           Gov. Aggregation   COH             201617090011                Gas           Gov. Aggregation
COH             194703900017                Gas           Gov. Aggregation   COH             169133040036                Gas           Gov. Aggregation
COH             197602120012                Gas           Gov. Aggregation   COH             200724840017                Gas           Gov. Aggregation
COH             197034950013                Gas           Gov. Aggregation   COH             146202900053                Gas           Gov. Aggregation
COH             153799010030                Gas           Gov. Aggregation   COH             129455030025                Gas           Gov. Aggregation
COH             150715900023                Gas           Gov. Aggregation   COH             190375890020                Gas           Gov. Aggregation
COH             152310460068                Gas           Gov. Aggregation   COH             201722650010                Gas           Gov. Aggregation
COH             123918050025                Gas           Gov. Aggregation   COH             201781070018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             198530200017                Gas           Gov. Aggregation   COH             201991460011                Gas           Gov. Aggregation
COH             198879770010                Gas           Gov. Aggregation   COH             201072440013                Gas           Gov. Aggregation
COH             199606750010                Gas           Gov. Aggregation   COH             201471980014                Gas           Gov. Aggregation
COH             195571390015                Gas           Gov. Aggregation   COH             162644920026                Gas           Gov. Aggregation
COH             195767000011                Gas           Gov. Aggregation   COH             202055590017                Gas           Gov. Aggregation
COH             136320140019                Gas           Gov. Aggregation   COH             150137580063                Gas           Gov. Aggregation
COH             138010720049                Gas           Gov. Aggregation   COH             195917350019                Gas           Gov. Aggregation
COH             170082150084                Gas           Gov. Aggregation   COH             201671600019                Gas           Gov. Aggregation
COH             169429020097                Gas           Gov. Aggregation   COH             201493490011                Gas           Gov. Aggregation
COH             168720690018                Gas           Gov. Aggregation   COH             200165770018                Gas           Gov. Aggregation
COH             169398250069                Gas           Gov. Aggregation   COH             200218590013                Gas           Gov. Aggregation
COH             140170800013                Gas           Gov. Aggregation   COH             201259710010                Gas           Gov. Aggregation
COH             127295320062                Gas           Gov. Aggregation   COH             200876040014                Gas           Gov. Aggregation
COH             173158700020                Gas           Gov. Aggregation   COH             201991550012                Gas           Gov. Aggregation
COH             171286360014                Gas           Gov. Aggregation   COH             201795650017                Gas           Gov. Aggregation
COH             197443780012                Gas           Gov. Aggregation   COH             166590480020                Gas           Gov. Aggregation
COH             198057050013                Gas           Gov. Aggregation   COH             169223070057                Gas           Gov. Aggregation
COH             200308770014                Gas           Gov. Aggregation   COH             200267900014                Gas           Gov. Aggregation
COH             197913040010                Gas           Gov. Aggregation   COH             148660610016                Gas           Gov. Aggregation
COH             197884300018                Gas           Gov. Aggregation   COH             193059500028                Gas           Gov. Aggregation
COH             196898060011                Gas           Gov. Aggregation   COH             192131297158                Gas           Gov. Aggregation
COH             194606660014                Gas           Gov. Aggregation   COH             201310840013                Gas           Gov. Aggregation
COH             187322560043                Gas           Gov. Aggregation   COH             200372620010                Gas           Gov. Aggregation
COH             190159850017                Gas           Gov. Aggregation   COH             201547630016                Gas           Gov. Aggregation
COH             124131890017                Gas           Gov. Aggregation   COH             195583870019                Gas           Gov. Aggregation
COH             124036590012                Gas           Gov. Aggregation   COH             132872130043                Gas           Gov. Aggregation
COH             133923010011                Gas           Gov. Aggregation   COH             139962230035                Gas           Gov. Aggregation
COH             124014180014                Gas           Gov. Aggregation   COH             171961380027                Gas           Gov. Aggregation
COH             124036860015                Gas           Gov. Aggregation   COH             144598830062                Gas           Gov. Aggregation
COH             165053490018                Gas           Gov. Aggregation   COH             201435930010                Gas           Gov. Aggregation
COH             165265720010                Gas           Gov. Aggregation   COH             201929520019                Gas           Gov. Aggregation
COH             124035890119                Gas           Gov. Aggregation   COH             162899340010                Gas           Gov. Aggregation
COH             124035890146                Gas           Gov. Aggregation   COH             141746640024                Gas           Gov. Aggregation
COH             195636850010                Gas           Gov. Aggregation   COH             118268210027                Gas           Gov. Aggregation
COH             124261860018                Gas           Gov. Aggregation   COH             118299200088                Gas           Gov. Aggregation
COH             156792310010                Gas           Gov. Aggregation   COH             200043010015                Gas           Gov. Aggregation
COH             124229820014                Gas           Gov. Aggregation   COH             201002590019                Gas           Gov. Aggregation
COH             193072700019                Gas           Gov. Aggregation   COH             188433240026                Gas           Gov. Aggregation
COH             187804100010                Gas           Gov. Aggregation   COH             159402470046                Gas           Gov. Aggregation
COH             185532190011                Gas           Gov. Aggregation   COH             121862530203                Gas           Gov. Aggregation
COH             199897560015                Gas           Gov. Aggregation   COH             163468760023                Gas           Gov. Aggregation
COH             195002560014                Gas           Gov. Aggregation   COH             199275660021                Gas           Gov. Aggregation
COH             174161510031                Gas           Gov. Aggregation   COH             148160250012                Gas           Gov. Aggregation
COH             170764190017                Gas           Gov. Aggregation   COH             202209190014                Gas           Gov. Aggregation
COH             124302750086                Gas           Gov. Aggregation   COH             168054620033                Gas           Gov. Aggregation
COH             129383350030                Gas           Gov. Aggregation   COH             144704970066                Gas           Gov. Aggregation
COH             124231580038                Gas           Gov. Aggregation   COH             172064880032                Gas           Gov. Aggregation
COH             171375440045                Gas           Gov. Aggregation   COH             197587440028                Gas           Gov. Aggregation
COH             171286370012                Gas           Gov. Aggregation   COH             192299500021                Gas           Gov. Aggregation
COH             171149020051                Gas           Gov. Aggregation   COH             186375340049                Gas           Gov. Aggregation
COH             172979220013                Gas           Gov. Aggregation   COH             189531520028                Gas           Gov. Aggregation
COH             172979230011                Gas           Gov. Aggregation   COH             187641930021                Gas           Gov. Aggregation
COH             192572310012                Gas           Gov. Aggregation   COH             138119830117                Gas           Gov. Aggregation
COH             192094650015                Gas           Gov. Aggregation   COH             146797620044                Gas           Gov. Aggregation
COH             195442560012                Gas           Gov. Aggregation   COH             160345330044                Gas           Gov. Aggregation
COH             194180260012                Gas           Gov. Aggregation   COH             159215180044                Gas           Gov. Aggregation
COH             194510440031                Gas           Gov. Aggregation   COH             163436740079                Gas           Gov. Aggregation
COH             198365340019                Gas           Gov. Aggregation   COH             168472790032                Gas           Gov. Aggregation
COH             198084490014                Gas           Gov. Aggregation   COH             201297120014                Gas           Gov. Aggregation
COH             198862640012                Gas           Gov. Aggregation   COH             201891120014                Gas           Gov. Aggregation
COH             152772440037                Gas           Gov. Aggregation   VEDO            4003231692319158            Gas           Gov. Aggregation
COH             123909820022                Gas           Gov. Aggregation   DEO             2180003893983               Gas           Gov. Aggregation
COH             123916410032                Gas           Gov. Aggregation   COH             176380830038                Gas           Gov. Aggregation
COH             123934980053                Gas           Gov. Aggregation   COH             164685760040                Gas           Gov. Aggregation
COH             124045660081                Gas           Gov. Aggregation   COH             195467120021                Gas           Gov. Aggregation
COH             124036640066                Gas           Gov. Aggregation   COH             185510850054                Gas           Gov. Aggregation
COH             124137330021                Gas           Gov. Aggregation   DEO             4180004737652               Gas           Gov. Aggregation
COH             135997040027                Gas           Gov. Aggregation   COH             200205210028                Gas           Gov. Aggregation
COH             124232170023                Gas           Gov. Aggregation   VEDO            4019790922671506            Gas           Gov. Aggregation
COH             155263630024                Gas           Gov. Aggregation   DEO             5500004407833               Gas           Gov. Aggregation
COH             155308760021                Gas           Gov. Aggregation   COH             154481630023                Gas           Gov. Aggregation
COH             155342330010                Gas           Gov. Aggregation   COH             172765270025                Gas           Gov. Aggregation
COH             168137720018                Gas           Gov. Aggregation   COH             169150080032                Gas           Gov. Aggregation
COH             168179840024                Gas           Gov. Aggregation   COH             195754550013                Gas           Gov. Aggregation
COH             169983860033                Gas           Gov. Aggregation   COH             196320900017                Gas           Gov. Aggregation
COH             124268050014                Gas           Gov. Aggregation   COH             198923020012                Gas           Gov. Aggregation
COH             192363600032                Gas           Gov. Aggregation   COH             196312690037                Gas           Gov. Aggregation
COH             188204330031                Gas           Gov. Aggregation   COH             200734360017                Gas           Gov. Aggregation
COH             198784810012                Gas           Gov. Aggregation   COH             177290500144                Gas           Gov. Aggregation
COH             198523590011                Gas           Gov. Aggregation   COH             198382890018                Gas           Gov. Aggregation
COH             138539250020                Gas           Gov. Aggregation   COH             194998470033                Gas           Gov. Aggregation
COH             127201830017                Gas           Gov. Aggregation   COH             199017280018                Gas           Gov. Aggregation
COH             175169390030                Gas           Gov. Aggregation   COH             201186020010                Gas           Gov. Aggregation
COH             174338790047                Gas           Gov. Aggregation   COH             198407210016                Gas           Gov. Aggregation
COH             192407340024                Gas           Gov. Aggregation   COH             166544500040                Gas           Gov. Aggregation
COH             195261970010                Gas           Gov. Aggregation   COH             197465390018                Gas           Gov. Aggregation
COH             186550210035                Gas           Gov. Aggregation   COH             199426300025                Gas           Gov. Aggregation
COH             195446980016                Gas           Gov. Aggregation   COH             174442980028                Gas           Gov. Aggregation
COH             190208560040                Gas           Gov. Aggregation   COH             186990830033                Gas           Gov. Aggregation
COH             195874390031                Gas           Gov. Aggregation   COH             188495310030                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             189899850012                Gas           Gov. Aggregation   COH             174127510024                Gas           Gov. Aggregation
COH             192767770022                Gas           Gov. Aggregation   COH             200782580010                Gas           Gov. Aggregation
COH             186140370013                Gas           Gov. Aggregation   COH             194142860025                Gas           Gov. Aggregation
COH             171463330014                Gas           Gov. Aggregation   COH             187258040352                Gas           Gov. Aggregation
COH             176083680049                Gas           Gov. Aggregation   COH             187052130046                Gas           Gov. Aggregation
COH             175601500010                Gas           Gov. Aggregation   COH             196294350010                Gas           Gov. Aggregation
COH             123994120011                Gas           Gov. Aggregation   COH             199469210015                Gas           Gov. Aggregation
COH             123995140024                Gas           Gov. Aggregation   COH             199137440010                Gas           Gov. Aggregation
COH             123964100063                Gas           Gov. Aggregation   COH             198169370019                Gas           Gov. Aggregation
COH             199570180017                Gas           Gov. Aggregation   COH             194822270018                Gas           Gov. Aggregation
COH             198989350033                Gas           Gov. Aggregation   COH             170926410025                Gas           Gov. Aggregation
COH             199030750011                Gas           Gov. Aggregation   COH             198037930010                Gas           Gov. Aggregation
COH             200286210019                Gas           Gov. Aggregation   COH             199481940016                Gas           Gov. Aggregation
COH             123964530018                Gas           Gov. Aggregation   COH             201671320018                Gas           Gov. Aggregation
COH             123964450015                Gas           Gov. Aggregation   COH             200338380013                Gas           Gov. Aggregation
COH             123965730014                Gas           Gov. Aggregation   COH             201124460018                Gas           Gov. Aggregation
COH             134433060028                Gas           Gov. Aggregation   COH             133661980023                Gas           Gov. Aggregation
COH             132092970014                Gas           Gov. Aggregation   COH             194567270010                Gas           Gov. Aggregation
COH             198969480010                Gas           Gov. Aggregation   COH             194567280018                Gas           Gov. Aggregation
COH             197964100010                Gas           Gov. Aggregation   COH             198545150017                Gas           Gov. Aggregation
COH             198082560013                Gas           Gov. Aggregation   COH             196798720014                Gas           Gov. Aggregation
COH             169697210321                Gas           Gov. Aggregation   COH             199669540012                Gas           Gov. Aggregation
COH             165368300010                Gas           Gov. Aggregation   COH             200517380013                Gas           Gov. Aggregation
COH             164721550028                Gas           Gov. Aggregation   COH             200509930014                Gas           Gov. Aggregation
COH             167599940033                Gas           Gov. Aggregation   COH             202179950019                Gas           Gov. Aggregation
COH             165108710032                Gas           Gov. Aggregation   COH             197649120014                Gas           Gov. Aggregation
COH             138590680059                Gas           Gov. Aggregation   COH             197743950010                Gas           Gov. Aggregation
COH             197293340013                Gas           Gov. Aggregation   COH             195873440069                Gas           Gov. Aggregation
COH             193830320011                Gas           Gov. Aggregation   COH             201925680014                Gas           Gov. Aggregation
COH             165156280032                Gas           Gov. Aggregation   COH             201627650012                Gas           Gov. Aggregation
COH             123908110014                Gas           Gov. Aggregation   COH             200316260014                Gas           Gov. Aggregation
COH             123963460024                Gas           Gov. Aggregation   COH             200533410012                Gas           Gov. Aggregation
COH             195622040019                Gas           Gov. Aggregation   COH             201448400014                Gas           Gov. Aggregation
COH             171693820023                Gas           Gov. Aggregation   COH             201606130015                Gas           Gov. Aggregation
COH             171459060065                Gas           Gov. Aggregation   COH             201731820015                Gas           Gov. Aggregation
COH             171359040016                Gas           Gov. Aggregation   COH             200479980019                Gas           Gov. Aggregation
COH             175120120047                Gas           Gov. Aggregation   COH             199211160011                Gas           Gov. Aggregation
COH             196577230015                Gas           Gov. Aggregation   COH             191627110054                Gas           Gov. Aggregation
COH             200152530015                Gas           Gov. Aggregation   COH             201627670018                Gas           Gov. Aggregation
COH             149750750015                Gas           Gov. Aggregation   COH             191063870033                Gas           Gov. Aggregation
COH             148194080026                Gas           Gov. Aggregation   COH             200101710014                Gas           Gov. Aggregation
COH             198967090016                Gas           Gov. Aggregation   COH             200518800012                Gas           Gov. Aggregation
COH             194003350017                Gas           Gov. Aggregation   COH             202030670012                Gas           Gov. Aggregation
COH             189229070024                Gas           Gov. Aggregation   COH             200705280015                Gas           Gov. Aggregation
COH             146273760018                Gas           Gov. Aggregation   COH             134965910022                Gas           Gov. Aggregation
COH             145555960037                Gas           Gov. Aggregation   COH             200408490011                Gas           Gov. Aggregation
COH             200130160019                Gas           Gov. Aggregation   COH             199874970017                Gas           Gov. Aggregation
COH             200252040016                Gas           Gov. Aggregation   COH             190333750018                Gas           Gov. Aggregation
COH             166387830027                Gas           Gov. Aggregation   COH             201817420017                Gas           Gov. Aggregation
COH             167507170010                Gas           Gov. Aggregation   COH             200667360010                Gas           Gov. Aggregation
COH             156009490030                Gas           Gov. Aggregation   COH             162856540036                Gas           Gov. Aggregation
COH             155641750027                Gas           Gov. Aggregation   COH             188128070065                Gas           Gov. Aggregation
COH             153922830017                Gas           Gov. Aggregation   COH             115678360020                Gas           Gov. Aggregation
COH             148237680019                Gas           Gov. Aggregation   COH             143297310051                Gas           Gov. Aggregation
COH             173530840012                Gas           Gov. Aggregation   COH             151271000247                Gas           Gov. Aggregation
COH             171880600013                Gas           Gov. Aggregation   COH             200937170017                Gas           Gov. Aggregation
COH             194903730019                Gas           Gov. Aggregation   COH             201984230014                Gas           Gov. Aggregation
COH             142121510024                Gas           Gov. Aggregation   COH             200247640011                Gas           Gov. Aggregation
COH             141400350036                Gas           Gov. Aggregation   COH             201327260010                Gas           Gov. Aggregation
COH             169392110042                Gas           Gov. Aggregation   COH             201990510012                Gas           Gov. Aggregation
COH             123942340023                Gas           Gov. Aggregation   COH             201990560012                Gas           Gov. Aggregation
COH             123964100018                Gas           Gov. Aggregation   COH             199849220017                Gas           Gov. Aggregation
COH             196516480011                Gas           Gov. Aggregation   COH             201145840014                Gas           Gov. Aggregation
COH             196670860015                Gas           Gov. Aggregation   COH             169539680032                Gas           Gov. Aggregation
COH             195872390017                Gas           Gov. Aggregation   COH             174217650024                Gas           Gov. Aggregation
COH             149664750036                Gas           Gov. Aggregation   COH             200420880013                Gas           Gov. Aggregation
COH             157346630026                Gas           Gov. Aggregation   COH             200753500017                Gas           Gov. Aggregation
COH             167527840044                Gas           Gov. Aggregation   COH             200700680011                Gas           Gov. Aggregation
COH             123917760019                Gas           Gov. Aggregation   COH             197195900013                Gas           Gov. Aggregation
COH             124594080044                Gas           Gov. Aggregation   COH             172286210050                Gas           Gov. Aggregation
COH             198911230013                Gas           Gov. Aggregation   COH             199554240018                Gas           Gov. Aggregation
COH             198537520016                Gas           Gov. Aggregation   COH             193630770020                Gas           Gov. Aggregation
COH             198423490014                Gas           Gov. Aggregation   COH             192426720033                Gas           Gov. Aggregation
COH             198814290017                Gas           Gov. Aggregation   COH             201925690012                Gas           Gov. Aggregation
COH             198750010011                Gas           Gov. Aggregation   COH             200590560011                Gas           Gov. Aggregation
COH             198201110013                Gas           Gov. Aggregation   COH             201627620018                Gas           Gov. Aggregation
COH             197860730018                Gas           Gov. Aggregation   COH             198049990031                Gas           Gov. Aggregation
COH             177605640011                Gas           Gov. Aggregation   COH             199361920014                Gas           Gov. Aggregation
COH             186797920025                Gas           Gov. Aggregation   COH             192777020019                Gas           Gov. Aggregation
COH             186653120018                Gas           Gov. Aggregation   COH             200551180013                Gas           Gov. Aggregation
COH             191199640016                Gas           Gov. Aggregation   COH             139607600066                Gas           Gov. Aggregation
COH             189412220023                Gas           Gov. Aggregation   COH             115559180093                Gas           Gov. Aggregation
COH             189822220015                Gas           Gov. Aggregation   COH             201883340015                Gas           Gov. Aggregation
DEO             9420906185712               Gas           Gov. Aggregation   COH             201740310013                Gas           Gov. Aggregation
COH             199709480019                Gas           Gov. Aggregation   COH             202025360018                Gas           Gov. Aggregation
COH             200046850013                Gas           Gov. Aggregation   COH             201803760015                Gas           Gov. Aggregation
COH             200147330018                Gas           Gov. Aggregation   COH             201553020011                Gas           Gov. Aggregation
VEDO            4002743642269227            Gas           Gov. Aggregation   COH             200980290011                Gas           Gov. Aggregation
COH             138590570043                Gas           Gov. Aggregation   COH             199192640012                Gas           Gov. Aggregation
VEDO            4002978502494580            Gas           Gov. Aggregation   COH             199153130011                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4001048412280708            Gas           Gov. Aggregation   COH             115842590014                Gas           Gov. Aggregation
VEDO         4001048412281611            Gas           Gov. Aggregation   COH             115843670015                Gas           Gov. Aggregation
VEDO         4001048412104600            Gas           Gov. Aggregation   COH             115831460023                Gas           Gov. Aggregation
VEDO         4001048412518175            Gas           Gov. Aggregation   COH             144187130024                Gas           Gov. Aggregation
VEDO         4001048412336608            Gas           Gov. Aggregation   COH             195985890013                Gas           Gov. Aggregation
VEDO         4001048412282782            Gas           Gov. Aggregation   COH             187729640035                Gas           Gov. Aggregation
VEDO         4001048412470770            Gas           Gov. Aggregation   COH             197168860019                Gas           Gov. Aggregation
VEDO         4001048412250377            Gas           Gov. Aggregation   COH             139344960032                Gas           Gov. Aggregation
VEDO         4019064792164578            Gas           Gov. Aggregation   COH             201296170016                Gas           Gov. Aggregation
VEDO         4015277112406497            Gas           Gov. Aggregation   COH             201925720015                Gas           Gov. Aggregation
VEDO         4019262142467140            Gas           Gov. Aggregation   COH             153687680028                Gas           Gov. Aggregation
VEDO         4019281332371788            Gas           Gov. Aggregation   COH             144999830035                Gas           Gov. Aggregation
VEDO         4019273752322881            Gas           Gov. Aggregation   COH             199506540016                Gas           Gov. Aggregation
VEDO         4019275142288665            Gas           Gov. Aggregation   COH             189367480035                Gas           Gov. Aggregation
VEDO         4019809182214196            Gas           Gov. Aggregation   COH             202004340016                Gas           Gov. Aggregation
VEDO         4019758962527637            Gas           Gov. Aggregation   COH             200901130010                Gas           Gov. Aggregation
VEDO         4001493422392632            Gas           Gov. Aggregation   COH             200626120016                Gas           Gov. Aggregation
VEDO         4002658222260692            Gas           Gov. Aggregation   COH             199528680011                Gas           Gov. Aggregation
VEDO         4019801002408683            Gas           Gov. Aggregation   COH             200172980019                Gas           Gov. Aggregation
VEDO         4019812862257839            Gas           Gov. Aggregation   COH             200101780010                Gas           Gov. Aggregation
VEDO         4019342042363734            Gas           Gov. Aggregation   COH             200142390016                Gas           Gov. Aggregation
VEDO         4005118162524044            Gas           Gov. Aggregation   COH             111338530019                Gas           Gov. Aggregation
VEDO         4015264782278361            Gas           Gov. Aggregation   COH             111339000036                Gas           Gov. Aggregation
VEDO         4019847442485313            Gas           Gov. Aggregation   COH             156571310018                Gas           Gov. Aggregation
VEDO         4001812992237923            Gas           Gov. Aggregation   COH             165713010027                Gas           Gov. Aggregation
VEDO         4017432932591171            Gas           Gov. Aggregation   COH             176244740026                Gas           Gov. Aggregation
VEDO         4019507842349442            Gas           Gov. Aggregation   COH             199740990016                Gas           Gov. Aggregation
VEDO         4001031832420537            Gas           Gov. Aggregation   COH             147553960011                Gas           Gov. Aggregation
VEDO         4004070332260920            Gas           Gov. Aggregation   COH             193401450013                Gas           Gov. Aggregation
VEDO         4019160582644522            Gas           Gov. Aggregation   COH             199063440017                Gas           Gov. Aggregation
VEDO         4017207252647200            Gas           Gov. Aggregation   COH             111338830025                Gas           Gov. Aggregation
VEDO         4015177022143287            Gas           Gov. Aggregation   COH             196388750017                Gas           Gov. Aggregation
VEDO         4019448002647378            Gas           Gov. Aggregation   COH             200469340014                Gas           Gov. Aggregation
VEDO         4019840892140122            Gas           Gov. Aggregation   COH             199399930013                Gas           Gov. Aggregation
VEDO         4019843872171177            Gas           Gov. Aggregation   COH             200061640015                Gas           Gov. Aggregation
VEDO         4019265552303987            Gas           Gov. Aggregation   VEDO            4015641842365614            Gas           Gov. Aggregation
VEDO         4018820492312128            Gas           Gov. Aggregation   VEDO            4020025522385117            Gas           Gov. Aggregation
VEDO         4018820732445043            Gas           Gov. Aggregation   VEDO            4001615122577300            Gas           Gov. Aggregation
VEDO         4017438182161278            Gas           Gov. Aggregation   VEDO            4015349752538871            Gas           Gov. Aggregation
VEDO         4004576752158879            Gas           Gov. Aggregation   VEDO            4020054942367925            Gas           Gov. Aggregation
VEDO         4015092832321136            Gas           Gov. Aggregation   VEDO            4020035932130008            Gas           Gov. Aggregation
VEDO         4002035162198785            Gas           Gov. Aggregation   VEDO            4001815172466727            Gas           Gov. Aggregation
VEDO         4001257062333140            Gas           Gov. Aggregation   VEDO            4018618062203941            Gas           Gov. Aggregation
VEDO         4001820982389648            Gas           Gov. Aggregation   VEDO            4018424522495436            Gas           Gov. Aggregation
VEDO         4001291282149769            Gas           Gov. Aggregation   VEDO            4017118172213531            Gas           Gov. Aggregation
VEDO         4001090282297672            Gas           Gov. Aggregation   VEDO            4003919652646173            Gas           Gov. Aggregation
VEDO         4019175812463947            Gas           Gov. Aggregation   VEDO            4001008422429989            Gas           Gov. Aggregation
VEDO         4019282192363269            Gas           Gov. Aggregation   VEDO            4003250612376861            Gas           Gov. Aggregation
VEDO         4005098352436163            Gas           Gov. Aggregation   VEDO            4020042432564433            Gas           Gov. Aggregation
VEDO         4015260922383490            Gas           Gov. Aggregation   VEDO            4015847902208385            Gas           Gov. Aggregation
VEDO         4004572532145537            Gas           Gov. Aggregation   VEDO            4018836912316552            Gas           Gov. Aggregation
VEDO         4005112282161872            Gas           Gov. Aggregation   VEDO            4019776602230472            Gas           Gov. Aggregation
VEDO         4002547102382823            Gas           Gov. Aggregation   VEDO            4017808682397412            Gas           Gov. Aggregation
VEDO         4019339912261532            Gas           Gov. Aggregation   VEDO            4019967292475473            Gas           Gov. Aggregation
VEDO         4015995742453138            Gas           Gov. Aggregation   VEDO            4019974142507911            Gas           Gov. Aggregation
VEDO         4016092442203466            Gas           Gov. Aggregation   VEDO            4019959702366328            Gas           Gov. Aggregation
VEDO         4005072162518877            Gas           Gov. Aggregation   VEDO            4019498952196725            Gas           Gov. Aggregation
VEDO         4016692532181677            Gas           Gov. Aggregation   VEDO            4018781362168679            Gas           Gov. Aggregation
VEDO         4016641302204968            Gas           Gov. Aggregation   VEDO            4004661872479427            Gas           Gov. Aggregation
VEDO         4016442722457649            Gas           Gov. Aggregation   VEDO            4020025882673680            Gas           Gov. Aggregation
VEDO         4003753502374073            Gas           Gov. Aggregation   VEDO            4019316782458153            Gas           Gov. Aggregation
VEDO         4019505402524294            Gas           Gov. Aggregation   VEDO            4018775942442809            Gas           Gov. Aggregation
VEDO         4018162372136283            Gas           Gov. Aggregation   VEDO            4017338202241048            Gas           Gov. Aggregation
VEDO         4002896542433889            Gas           Gov. Aggregation   VEDO            4016595922456518            Gas           Gov. Aggregation
VEDO         4010132622641882            Gas           Gov. Aggregation   VEDO            4015615052463001            Gas           Gov. Aggregation
VEDO         4017203072636271            Gas           Gov. Aggregation   VEDO            4004721652268670            Gas           Gov. Aggregation
VEDO         4019299722631291            Gas           Gov. Aggregation   VEDO            4018570942348893            Gas           Gov. Aggregation
VEDO         4019797532671549            Gas           Gov. Aggregation   VEDO            4019140142245537            Gas           Gov. Aggregation
VEDO         4018945192213330            Gas           Gov. Aggregation   VEDO            4003565082181332            Gas           Gov. Aggregation
VEDO         4019197822284960            Gas           Gov. Aggregation   VEDO            4020050932528595            Gas           Gov. Aggregation
VEDO         4018129202523571            Gas           Gov. Aggregation   VEDO            4020053812174696            Gas           Gov. Aggregation
VEDO         4018678762638935            Gas           Gov. Aggregation   VEDO            4020053812215160            Gas           Gov. Aggregation
VEDO         4019043832641359            Gas           Gov. Aggregation   VEDO            4020053812458752            Gas           Gov. Aggregation
VEDO         4018653982638686            Gas           Gov. Aggregation   VEDO            4019962942260937            Gas           Gov. Aggregation
VEDO         4016836842218533            Gas           Gov. Aggregation   VEDO            4019894142431885            Gas           Gov. Aggregation
VEDO         4002096642204893            Gas           Gov. Aggregation   VEDO            4019307592351214            Gas           Gov. Aggregation
VEDO         4017944342643949            Gas           Gov. Aggregation   VEDO            4019976562211391            Gas           Gov. Aggregation
VEDO         4019314602646390            Gas           Gov. Aggregation   VEDO            4003322342298773            Gas           Gov. Aggregation
VEDO         4005119242375461            Gas           Gov. Aggregation   VEDO            4003292702402726            Gas           Gov. Aggregation
VEDO         4017817682433225            Gas           Gov. Aggregation   VEDO            4001236142408447            Gas           Gov. Aggregation
VEDO         4019869902455582            Gas           Gov. Aggregation   VEDO            4002956262370659            Gas           Gov. Aggregation
VEDO         4015086202636818            Gas           Gov. Aggregation   VEDO            4016630912629937            Gas           Gov. Aggregation
VEDO         4003608742636939            Gas           Gov. Aggregation   VEDO            4004529002388186            Gas           Gov. Aggregation
VEDO         4015024292641081            Gas           Gov. Aggregation   VEDO            4001341682411254            Gas           Gov. Aggregation
VEDO         4003260942636935            Gas           Gov. Aggregation   VEDO            4001025992527202            Gas           Gov. Aggregation
VEDO         4001134272641466            Gas           Gov. Aggregation   VEDO            4017921222230983            Gas           Gov. Aggregation
VEDO         4001499222636500            Gas           Gov. Aggregation   VEDO            4018520812637171            Gas           Gov. Aggregation
VEDO         4003213542317312            Gas           Gov. Aggregation   VEDO            4019282322637134            Gas           Gov. Aggregation
VEDO         4004451942450019            Gas           Gov. Aggregation   VEDO            4004440992448870            Gas           Gov. Aggregation
VEDO         4019471602149444            Gas           Gov. Aggregation   VEDO            4002671622262035            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4019507262398346            Gas           Gov. Aggregation   VEDO            4018349442355421            Gas           Gov. Aggregation
VEDO            4018756082105758            Gas           Gov. Aggregation   VEDO            4019854782227137            Gas           Gov. Aggregation
VEDO            4019463642174677            Gas           Gov. Aggregation   VEDO            4019435432343353            Gas           Gov. Aggregation
VEDO            4015961862347611            Gas           Gov. Aggregation   VEDO            4020050372415697            Gas           Gov. Aggregation
VEDO            4017076382438824            Gas           Gov. Aggregation   VEDO            4020041322400803            Gas           Gov. Aggregation
VEDO            4018935622641871            Gas           Gov. Aggregation   VEDO            4004764402484567            Gas           Gov. Aggregation
VEDO            4019824052170915            Gas           Gov. Aggregation   VEDO            4016875542372775            Gas           Gov. Aggregation
VEDO            4003569172508139            Gas           Gov. Aggregation   VEDO            4019998772343267            Gas           Gov. Aggregation
VEDO            4003634572171730            Gas           Gov. Aggregation   VEDO            4019932742495363            Gas           Gov. Aggregation
VEDO            4019757162246011            Gas           Gov. Aggregation   VEDO            4010100442116653            Gas           Gov. Aggregation
VEDO            4019380762375757            Gas           Gov. Aggregation   VEDO            4019923872161750            Gas           Gov. Aggregation
VEDO            4019390072158228            Gas           Gov. Aggregation   VEDO            4004480582453166            Gas           Gov. Aggregation
VEDO            4019382732510665            Gas           Gov. Aggregation   VEDO            4004514232456912            Gas           Gov. Aggregation
VEDO            4019834092417002            Gas           Gov. Aggregation   VEDO            4019069442230958            Gas           Gov. Aggregation
VEDO            4001820982126874            Gas           Gov. Aggregation   VEDO            4004905642218937            Gas           Gov. Aggregation
VEDO            4002683392263225            Gas           Gov. Aggregation   VEDO            4015643032231303            Gas           Gov. Aggregation
VEDO            4002737642346589            Gas           Gov. Aggregation   VEDO            4015156882302848            Gas           Gov. Aggregation
VEDO            4002778262396588            Gas           Gov. Aggregation   VEDO            4020061122321158            Gas           Gov. Aggregation
VEDO            4018209062334408            Gas           Gov. Aggregation   VEDO            4016776962455045            Gas           Gov. Aggregation
VEDO            4017533122175109            Gas           Gov. Aggregation   VEDO            4019416962235767            Gas           Gov. Aggregation
VEDO            4018147992225978            Gas           Gov. Aggregation   VEDO            4004236092426464            Gas           Gov. Aggregation
VEDO            4019004632428687            Gas           Gov. Aggregation   VEDO            4003340062330395            Gas           Gov. Aggregation
VEDO            4019395192208633            Gas           Gov. Aggregation   VEDO            4003473312276991            Gas           Gov. Aggregation
VEDO            4019401312166051            Gas           Gov. Aggregation   VEDO            4003473312474401            Gas           Gov. Aggregation
VEDO            4019813662365196            Gas           Gov. Aggregation   VEDO            4019508242309038            Gas           Gov. Aggregation
VEDO            4019442952426567            Gas           Gov. Aggregation   VEDO            4019468592256429            Gas           Gov. Aggregation
VEDO            4019026602146579            Gas           Gov. Aggregation   VEDO            4019382542455770            Gas           Gov. Aggregation
VEDO            4018228352240125            Gas           Gov. Aggregation   VEDO            4018862042419265            Gas           Gov. Aggregation
VEDO            4018233092144835            Gas           Gov. Aggregation   VEDO            4002718042266681            Gas           Gov. Aggregation
VEDO            4004127862434915            Gas           Gov. Aggregation   VEDO            4019776482518421            Gas           Gov. Aggregation
VEDO            4003781342192129            Gas           Gov. Aggregation   VEDO            4018842402261588            Gas           Gov. Aggregation
VEDO            4004363082440348            Gas           Gov. Aggregation   VEDO            4015509522226616            Gas           Gov. Aggregation
VEDO            4002471202241996            Gas           Gov. Aggregation   VEDO            4001736062169402            Gas           Gov. Aggregation
VEDO            4002457172240579            Gas           Gov. Aggregation   VEDO            4004190172421410            Gas           Gov. Aggregation
VEDO            4001094372437253            Gas           Gov. Aggregation   VEDO            4016593022218568            Gas           Gov. Aggregation
VEDO            4019141642394155            Gas           Gov. Aggregation   VEDO            4016467332391192            Gas           Gov. Aggregation
VEDO            4019312502207044            Gas           Gov. Aggregation   VEDO            4017850552454666            Gas           Gov. Aggregation
COH             197148930016                Gas           Gov. Aggregation   VEDO            4001742152170005            Gas           Gov. Aggregation
COH             197676180015                Gas           Gov. Aggregation   VEDO            4002513202241339            Gas           Gov. Aggregation
COH             174454360023                Gas           Gov. Aggregation   VEDO            4003958292201354            Gas           Gov. Aggregation
COH             115801800024                Gas           Gov. Aggregation   VEDO            4001916562187110            Gas           Gov. Aggregation
COH             168163560044                Gas           Gov. Aggregation   VEDO            4020053432328444            Gas           Gov. Aggregation
COH             199538670012                Gas           Gov. Aggregation   VEDO            4020018612147796            Gas           Gov. Aggregation
COH             197721860015                Gas           Gov. Aggregation   VEDO            4019956912361211            Gas           Gov. Aggregation
COH             196136590014                Gas           Gov. Aggregation   VEDO            4017756072337421            Gas           Gov. Aggregation
COH             127065630055                Gas           Gov. Aggregation   VEDO            4003379512334628            Gas           Gov. Aggregation
COH             152757130089                Gas           Gov. Aggregation   COH             108721300019                Gas           Gov. Aggregation
COH             151700290013                Gas           Gov. Aggregation   COH             108736210035                Gas           Gov. Aggregation
COH             200235460014                Gas           Gov. Aggregation   COH             140917850073                Gas           Gov. Aggregation
COH             197931940013                Gas           Gov. Aggregation   COH             166341680016                Gas           Gov. Aggregation
COH             196076700018                Gas           Gov. Aggregation   COH             195785630039                Gas           Gov. Aggregation
COH             197195850014                Gas           Gov. Aggregation   COH             108741320433                Gas           Gov. Aggregation
COH             115825760023                Gas           Gov. Aggregation   COH             108741320460                Gas           Gov. Aggregation
COH             185709440013                Gas           Gov. Aggregation   COH             193968950036                Gas           Gov. Aggregation
COH             198315630013                Gas           Gov. Aggregation   COH             108774640197                Gas           Gov. Aggregation
COH             198694850015                Gas           Gov. Aggregation   COH             195971270030                Gas           Gov. Aggregation
COH             197161780010                Gas           Gov. Aggregation   COH             201962530017                Gas           Gov. Aggregation
COH             167892840023                Gas           Gov. Aggregation   COH             201846050014                Gas           Gov. Aggregation
COH             199330980017                Gas           Gov. Aggregation   COH             200495020016                Gas           Gov. Aggregation
COH             197398190013                Gas           Gov. Aggregation   COH             194808860014                Gas           Gov. Aggregation
COH             199743590014                Gas           Gov. Aggregation   COH             189794140059                Gas           Gov. Aggregation
COH             161558390013                Gas           Gov. Aggregation   COH             191402130065                Gas           Gov. Aggregation
COH             146857170023                Gas           Gov. Aggregation   COH             186671020146                Gas           Gov. Aggregation
COH             151603530018                Gas           Gov. Aggregation   COH             157897930071                Gas           Gov. Aggregation
COH             136446330013                Gas           Gov. Aggregation   COH             201647000016                Gas           Gov. Aggregation
COH             156523860176                Gas           Gov. Aggregation   COH             199030670018                Gas           Gov. Aggregation
COH             162389500026                Gas           Gov. Aggregation   COH             200346450011                Gas           Gov. Aggregation
COH             143052260041                Gas           Gov. Aggregation   COH             199542100021                Gas           Gov. Aggregation
COH             189281760010                Gas           Gov. Aggregation   COH             201748950013                Gas           Gov. Aggregation
COH             145313300028                Gas           Gov. Aggregation   COH             201972000017                Gas           Gov. Aggregation
COH             157101190027                Gas           Gov. Aggregation   COH             202096770013                Gas           Gov. Aggregation
COH             197490700019                Gas           Gov. Aggregation   COH             202059480012                Gas           Gov. Aggregation
COH             197204150010                Gas           Gov. Aggregation   COH             186760260021                Gas           Gov. Aggregation
COH             197360480011                Gas           Gov. Aggregation   COH             190610140027                Gas           Gov. Aggregation
COH             142808620016                Gas           Gov. Aggregation   COH             197206220020                Gas           Gov. Aggregation
COH             140874810019                Gas           Gov. Aggregation   COH             167066860020                Gas           Gov. Aggregation
COH             190926390017                Gas           Gov. Aggregation   COH             151516100031                Gas           Gov. Aggregation
COH             175277550019                Gas           Gov. Aggregation   COH             197924980010                Gas           Gov. Aggregation
COH             186408710031                Gas           Gov. Aggregation   COH             198135180010                Gas           Gov. Aggregation
COH             163126090028                Gas           Gov. Aggregation   COH             196875670020                Gas           Gov. Aggregation
COH             155043470024                Gas           Gov. Aggregation   COH             198509080027                Gas           Gov. Aggregation
COH             194304630038                Gas           Gov. Aggregation   COH             198580740019                Gas           Gov. Aggregation
COH             163537260012                Gas           Gov. Aggregation   COH             137705130050                Gas           Gov. Aggregation
COH             186459590012                Gas           Gov. Aggregation   COH             199771750011                Gas           Gov. Aggregation
COH             198363100013                Gas           Gov. Aggregation   COH             199081400017                Gas           Gov. Aggregation
COH             134570280022                Gas           Gov. Aggregation   COH             200552870016                Gas           Gov. Aggregation
COH             134586480036                Gas           Gov. Aggregation   COH             200830490016                Gas           Gov. Aggregation
COH             185369710027                Gas           Gov. Aggregation   COH             199089110012                Gas           Gov. Aggregation
COH             194622430018                Gas           Gov. Aggregation   COH             199242310014                Gas           Gov. Aggregation
COH             173088980012                Gas           Gov. Aggregation   COH             201211650013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             196560460012                Gas           Gov. Aggregation   COH             190950770025                Gas           Gov. Aggregation
COH             197885170014                Gas           Gov. Aggregation   COH             189447080084                Gas           Gov. Aggregation
COH             172682400014                Gas           Gov. Aggregation   COH             200861030017                Gas           Gov. Aggregation
COH             186450890017                Gas           Gov. Aggregation   COH             200672210010                Gas           Gov. Aggregation
COH             198448110011                Gas           Gov. Aggregation   COH             200549760016                Gas           Gov. Aggregation
COH             188390590016                Gas           Gov. Aggregation   COH             200571210014                Gas           Gov. Aggregation
COH             147487330023                Gas           Gov. Aggregation   COH             201119170038                Gas           Gov. Aggregation
COH             191488630015                Gas           Gov. Aggregation   COH             199454950011                Gas           Gov. Aggregation
COH             193009770018                Gas           Gov. Aggregation   COH             157708500070                Gas           Gov. Aggregation
COH             162539040015                Gas           Gov. Aggregation   COH             161295520059                Gas           Gov. Aggregation
COH             192066280012                Gas           Gov. Aggregation   COH             142649300066                Gas           Gov. Aggregation
COH             169609510029                Gas           Gov. Aggregation   COH             198283920011                Gas           Gov. Aggregation
COH             195342720010                Gas           Gov. Aggregation   COH             189939560026                Gas           Gov. Aggregation
COH             171490540022                Gas           Gov. Aggregation   COH             198127020010                Gas           Gov. Aggregation
COH             198872980010                Gas           Gov. Aggregation   COH             198197960016                Gas           Gov. Aggregation
COH             137512840096                Gas           Gov. Aggregation   COH             200830510011                Gas           Gov. Aggregation
COH             135886830017                Gas           Gov. Aggregation   COH             200408620013                Gas           Gov. Aggregation
COH             117811490027                Gas           Gov. Aggregation   COH             200463930012                Gas           Gov. Aggregation
COH             154568140031                Gas           Gov. Aggregation   COH             108734420017                Gas           Gov. Aggregation
COH             158280660010                Gas           Gov. Aggregation   COH             155426130130                Gas           Gov. Aggregation
COH             171675500037                Gas           Gov. Aggregation   COH             192774390018                Gas           Gov. Aggregation
COH             139318480010                Gas           Gov. Aggregation   COH             192566880043                Gas           Gov. Aggregation
COH             117105870033                Gas           Gov. Aggregation   COH             198325320017                Gas           Gov. Aggregation
COH             131032580013                Gas           Gov. Aggregation   COH             198153000019                Gas           Gov. Aggregation
COH             131983890013                Gas           Gov. Aggregation   COH             198073400015                Gas           Gov. Aggregation
COH             175355730015                Gas           Gov. Aggregation   COH             197909100016                Gas           Gov. Aggregation
COH             172547660025                Gas           Gov. Aggregation   COH             189971390024                Gas           Gov. Aggregation
COH             169104200015                Gas           Gov. Aggregation   COH             167506550343                Gas           Gov. Aggregation
COH             165988560067                Gas           Gov. Aggregation   COH             145999400123                Gas           Gov. Aggregation
COH             198524410016                Gas           Gov. Aggregation   COH             167793640043                Gas           Gov. Aggregation
COH             120102140037                Gas           Gov. Aggregation   COH             167793640061                Gas           Gov. Aggregation
COH             189844200022                Gas           Gov. Aggregation   COH             167793640070                Gas           Gov. Aggregation
COH             194894520014                Gas           Gov. Aggregation   COH             108692580096                Gas           Gov. Aggregation
COH             139905640011                Gas           Gov. Aggregation   COH             108694190012                Gas           Gov. Aggregation
COH             140776750010                Gas           Gov. Aggregation   COH             187242020046                Gas           Gov. Aggregation
COH             144894270017                Gas           Gov. Aggregation   COH             189275070018                Gas           Gov. Aggregation
COH             172942190035                Gas           Gov. Aggregation   COH             189925910012                Gas           Gov. Aggregation
COH             191314590011                Gas           Gov. Aggregation   COH             196218350029                Gas           Gov. Aggregation
COH             187310770026                Gas           Gov. Aggregation   COH             177000590023                Gas           Gov. Aggregation
COH             146217010013                Gas           Gov. Aggregation   COH             108693900014                Gas           Gov. Aggregation
COH             135236020050                Gas           Gov. Aggregation   COH             108686020194                Gas           Gov. Aggregation
COH             170906330079                Gas           Gov. Aggregation   COH             147410600036                Gas           Gov. Aggregation
COH             170286410032                Gas           Gov. Aggregation   COH             157635520017                Gas           Gov. Aggregation
COH             199202830019                Gas           Gov. Aggregation   COH             160300200072                Gas           Gov. Aggregation
COH             200646220013                Gas           Gov. Aggregation   COH             134746470010                Gas           Gov. Aggregation
COH             171864070037                Gas           Gov. Aggregation   COH             133435470010                Gas           Gov. Aggregation
COH             193875350020                Gas           Gov. Aggregation   COH             177215160028                Gas           Gov. Aggregation
COH             165493140028                Gas           Gov. Aggregation   COH             174640210038                Gas           Gov. Aggregation
COH             146169090029                Gas           Gov. Aggregation   COH             194162250012                Gas           Gov. Aggregation
COH             195917000012                Gas           Gov. Aggregation   COH             109707410033                Gas           Gov. Aggregation
COH             175028230013                Gas           Gov. Aggregation   COH             151988380016                Gas           Gov. Aggregation
COH             200013790015                Gas           Gov. Aggregation   COH             108700120011                Gas           Gov. Aggregation
COH             117169660033                Gas           Gov. Aggregation   COH             194737380016                Gas           Gov. Aggregation
COH             198109060010                Gas           Gov. Aggregation   COH             195106960010                Gas           Gov. Aggregation
COH             197549240011                Gas           Gov. Aggregation   COH             188156450011                Gas           Gov. Aggregation
COH             197575860016                Gas           Gov. Aggregation   COH             198689830038                Gas           Gov. Aggregation
COH             188284490021                Gas           Gov. Aggregation   COH             200725190012                Gas           Gov. Aggregation
COH             188672290011                Gas           Gov. Aggregation   COH             200509220013                Gas           Gov. Aggregation
COH             159128490026                Gas           Gov. Aggregation   COH             198326990015                Gas           Gov. Aggregation
COH             200042580018                Gas           Gov. Aggregation   COH             198310850017                Gas           Gov. Aggregation
COH             161988930018                Gas           Gov. Aggregation   COH             198310870013                Gas           Gov. Aggregation
COH             117477330020                Gas           Gov. Aggregation   COH             198458400019                Gas           Gov. Aggregation
COH             134512800015                Gas           Gov. Aggregation   COH             200449610019                Gas           Gov. Aggregation
COH             131549190010                Gas           Gov. Aggregation   COH             199220070020                Gas           Gov. Aggregation
COH             193805390010                Gas           Gov. Aggregation   COH             199113550017                Gas           Gov. Aggregation
COH             192742570017                Gas           Gov. Aggregation   COH             199247630035                Gas           Gov. Aggregation
COH             168006230018                Gas           Gov. Aggregation   COH             197128290031                Gas           Gov. Aggregation
COH             169600400011                Gas           Gov. Aggregation   COH             198646540020                Gas           Gov. Aggregation
COH             186332230042                Gas           Gov. Aggregation   COH             198547160011                Gas           Gov. Aggregation
COH             168399500083                Gas           Gov. Aggregation   COH             108699070035                Gas           Gov. Aggregation
COH             166141110028                Gas           Gov. Aggregation   COH             108699070053                Gas           Gov. Aggregation
COH             198015030015                Gas           Gov. Aggregation   COH             108716830055                Gas           Gov. Aggregation
COH             192446610016                Gas           Gov. Aggregation   COH             108715090017                Gas           Gov. Aggregation
COH             193984180016                Gas           Gov. Aggregation   COH             200660960018                Gas           Gov. Aggregation
COH             200730630018                Gas           Gov. Aggregation   COH             108768620041                Gas           Gov. Aggregation
COH             198109370015                Gas           Gov. Aggregation   COH             108767890010                Gas           Gov. Aggregation
COH             196205730017                Gas           Gov. Aggregation   COH             154727910059                Gas           Gov. Aggregation
COH             118036280024                Gas           Gov. Aggregation   COH             165504370025                Gas           Gov. Aggregation
COH             147832280030                Gas           Gov. Aggregation   COH             198092970016                Gas           Gov. Aggregation
COH             150370430015                Gas           Gov. Aggregation   COH             198127040016                Gas           Gov. Aggregation
COH             159788660031                Gas           Gov. Aggregation   COH             198374260035                Gas           Gov. Aggregation
DEO             1180002196964               Gas           Gov. Aggregation   COH             193712630043                Gas           Gov. Aggregation
DEO             0180001738073               Gas           Gov. Aggregation   COH             190859640017                Gas           Gov. Aggregation
COH             130671950030                Gas           Gov. Aggregation   COH             191636510042                Gas           Gov. Aggregation
DEO             5180002423117               Gas           Gov. Aggregation   COH             189106780025                Gas           Gov. Aggregation
COH             198590140032                Gas           Gov. Aggregation   COH             166739890019                Gas           Gov. Aggregation
COH             199920700014                Gas           Gov. Aggregation   COH             201789620016                Gas           Gov. Aggregation
COH             198034060019                Gas           Gov. Aggregation   COH             200485330012                Gas           Gov. Aggregation
COH             195483420033                Gas           Gov. Aggregation   COH             199774640018                Gas           Gov. Aggregation
COH             199508110012                Gas           Gov. Aggregation   COH             200074230032                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             200121550016                Gas           Gov. Aggregation   COH             200074230050                Gas           Gov. Aggregation
COH             198441700011                Gas           Gov. Aggregation   COH             201121120015                Gas           Gov. Aggregation
COH             194265810025                Gas           Gov. Aggregation   COH             200548900018                Gas           Gov. Aggregation
COH             148601430045                Gas           Gov. Aggregation   COH             201748970019                Gas           Gov. Aggregation
COH             131733970042                Gas           Gov. Aggregation   COH             201777760012                Gas           Gov. Aggregation
COH             174269690036                Gas           Gov. Aggregation   COH             201418610013                Gas           Gov. Aggregation
COH             174287990017                Gas           Gov. Aggregation   COH             129847360187                Gas           Gov. Aggregation
COH             196679890011                Gas           Gov. Aggregation   COH             167096650058                Gas           Gov. Aggregation
COH             195133670014                Gas           Gov. Aggregation   COH             176240040030                Gas           Gov. Aggregation
COH             199265620011                Gas           Gov. Aggregation   COH             176490280040                Gas           Gov. Aggregation
COH             199265620039                Gas           Gov. Aggregation   COH             188079730025                Gas           Gov. Aggregation
COH             199662140010                Gas           Gov. Aggregation   COH             192140990033                Gas           Gov. Aggregation
COH             195215000038                Gas           Gov. Aggregation   COH             201147000016                Gas           Gov. Aggregation
COH             196031100027                Gas           Gov. Aggregation   COH             202199850018                Gas           Gov. Aggregation
COH             196804850012                Gas           Gov. Aggregation   COH             108751810019                Gas           Gov. Aggregation
COH             199867920012                Gas           Gov. Aggregation   COH             198070500010                Gas           Gov. Aggregation
COH             198913960016                Gas           Gov. Aggregation   COH             198813550023                Gas           Gov. Aggregation
COH             199933710015                Gas           Gov. Aggregation   COH             198423320019                Gas           Gov. Aggregation
COH             132874280039                Gas           Gov. Aggregation   COH             194962660010                Gas           Gov. Aggregation
COH             198246300019                Gas           Gov. Aggregation   COH             195916750026                Gas           Gov. Aggregation
COH             196818890015                Gas           Gov. Aggregation   COH             176447840016                Gas           Gov. Aggregation
COH             155952570071                Gas           Gov. Aggregation   COH             200830500013                Gas           Gov. Aggregation
COH             174608330013                Gas           Gov. Aggregation   COH             200660950010                Gas           Gov. Aggregation
COH             173799500033                Gas           Gov. Aggregation   COH             201237270019                Gas           Gov. Aggregation
COH             198250930036                Gas           Gov. Aggregation   COH             199258700019                Gas           Gov. Aggregation
COH             192204720015                Gas           Gov. Aggregation   COH             120312650026                Gas           Gov. Aggregation
COH             199982900012                Gas           Gov. Aggregation   COH             194075341428                Gas           Gov. Aggregation
COH             108802400016                Gas           Gov. Aggregation   COH             194842280041                Gas           Gov. Aggregation
COH             108787000032                Gas           Gov. Aggregation   COH             195157870021                Gas           Gov. Aggregation
COH             200356040016                Gas           Gov. Aggregation   COH             198072960010                Gas           Gov. Aggregation
COH             200388670017                Gas           Gov. Aggregation   COH             159929840033                Gas           Gov. Aggregation
COH             198726430014                Gas           Gov. Aggregation   COH             168701130060                Gas           Gov. Aggregation
COH             194602450034                Gas           Gov. Aggregation   COH             177362270015                Gas           Gov. Aggregation
COH             196780230014                Gas           Gov. Aggregation   COH             175696060032                Gas           Gov. Aggregation
COH             156932890011                Gas           Gov. Aggregation   COH             176117940014                Gas           Gov. Aggregation
COH             117560280024                Gas           Gov. Aggregation   COH             200693810010                Gas           Gov. Aggregation
COH             151079820083                Gas           Gov. Aggregation   COH             200010190017                Gas           Gov. Aggregation
COH             165649730014                Gas           Gov. Aggregation   COH             199425840015                Gas           Gov. Aggregation
DEO             5500002158705               Gas           Gov. Aggregation   COH             198410390012                Gas           Gov. Aggregation
COH             122407210016                Gas           Gov. Aggregation   COH             202154390019                Gas           Gov. Aggregation
COH             124374400024                Gas           Gov. Aggregation   COH             200948430019                Gas           Gov. Aggregation
VEDO            4015169622620138            Gas           Gov. Aggregation   COH             199673230018                Gas           Gov. Aggregation
VEDO            4002779032272805            Gas           Gov. Aggregation   COH             108737400024                Gas           Gov. Aggregation
COH             111177120017                Gas           Gov. Aggregation   COH             186280300020                Gas           Gov. Aggregation
COH             114682040010                Gas           Gov. Aggregation   COH             190999320027                Gas           Gov. Aggregation
COH             154248620010                Gas           Gov. Aggregation   COH             198049440018                Gas           Gov. Aggregation
COH             165150850016                Gas           Gov. Aggregation   COH             193999640036                Gas           Gov. Aggregation
DEO             5180002775454               Gas           Gov. Aggregation   COH             108733440015                Gas           Gov. Aggregation
COH             124133190010                Gas           Gov. Aggregation   COH             200791820010                Gas           Gov. Aggregation
COH             191093340013                Gas           Gov. Aggregation   COH             199375130011                Gas           Gov. Aggregation
COH             145936620012                Gas           Gov. Aggregation   COH             199007860017                Gas           Gov. Aggregation
DEO             2180002783856               Gas           Gov. Aggregation   COH             199326990014                Gas           Gov. Aggregation
COH             170405640012                Gas           Gov. Aggregation   COH             200004920016                Gas           Gov. Aggregation
COH             122794980034                Gas           Gov. Aggregation   COH             199580990016                Gas           Gov. Aggregation
COH             118826030012                Gas           Gov. Aggregation   COH             200188310016                Gas           Gov. Aggregation
DEO             1180003134523               Gas           Gov. Aggregation   COH             200482070013                Gas           Gov. Aggregation
DEO             3500011459706               Gas           Gov. Aggregation   COH             202111200018                Gas           Gov. Aggregation
DEO             2180002905989               Gas           Gov. Aggregation   COH             202111210016                Gas           Gov. Aggregation
COH             111188660020                Gas           Gov. Aggregation   COH             108760140020                Gas           Gov. Aggregation
VEDO            4002362182231187            Gas           Gov. Aggregation   COH             108755750014                Gas           Gov. Aggregation
COH             148962450118                Gas           Gov. Aggregation   COH             198646530013                Gas           Gov. Aggregation
COH             152955180034                Gas           Gov. Aggregation   COH             198760630010                Gas           Gov. Aggregation
COH             152375550036                Gas           Gov. Aggregation   COH             198127050014                Gas           Gov. Aggregation
COH             169817990046                Gas           Gov. Aggregation   COH             198365210025                Gas           Gov. Aggregation
COH             167904460035                Gas           Gov. Aggregation   COH             200642700010                Gas           Gov. Aggregation
COH             185545110029                Gas           Gov. Aggregation   COH             200862320014                Gas           Gov. Aggregation
COH             191764760021                Gas           Gov. Aggregation   COH             199327000019                Gas           Gov. Aggregation
COH             195643670022                Gas           Gov. Aggregation   COH             201672960012                Gas           Gov. Aggregation
COH             194710680037                Gas           Gov. Aggregation   COH             201687510015                Gas           Gov. Aggregation
COH             200670440016                Gas           Gov. Aggregation   COH             201757220017                Gas           Gov. Aggregation
COH             200670470010                Gas           Gov. Aggregation   COH             201779850019                Gas           Gov. Aggregation
COH             200430950017                Gas           Gov. Aggregation   COH             187152460018                Gas           Gov. Aggregation
COH             200437460016                Gas           Gov. Aggregation   COH             190093970021                Gas           Gov. Aggregation
COH             200573900015                Gas           Gov. Aggregation   COH             194998890017                Gas           Gov. Aggregation
COH             200573900024                Gas           Gov. Aggregation   COH             192565960048                Gas           Gov. Aggregation
COH             200488010013                Gas           Gov. Aggregation   COH             108692780049                Gas           Gov. Aggregation
COH             199802000011                Gas           Gov. Aggregation   COH             108753020011                Gas           Gov. Aggregation
COH             199955220012                Gas           Gov. Aggregation   COH             152848640052                Gas           Gov. Aggregation
COH             199892160019                Gas           Gov. Aggregation   COH             160403280050                Gas           Gov. Aggregation
COH             199512900017                Gas           Gov. Aggregation   COH             134560500071                Gas           Gov. Aggregation
COH             199449600015                Gas           Gov. Aggregation   COH             133310960011                Gas           Gov. Aggregation
COH             117415970035                Gas           Gov. Aggregation   COH             108763670014                Gas           Gov. Aggregation
COH             191718430027                Gas           Gov. Aggregation   COH             109098081633                Gas           Gov. Aggregation
COH             199180110018                Gas           Gov. Aggregation   COH             192708100035                Gas           Gov. Aggregation
COH             198008700019                Gas           Gov. Aggregation   COH             186067440014                Gas           Gov. Aggregation
COH             195773160104                Gas           Gov. Aggregation   COH             198402190011                Gas           Gov. Aggregation
COH             199644980012                Gas           Gov. Aggregation   COH             200599040012                Gas           Gov. Aggregation
COH             199677820016                Gas           Gov. Aggregation   COH             198696240019                Gas           Gov. Aggregation
COH             199802110018                Gas           Gov. Aggregation   COH             201551690015                Gas           Gov. Aggregation
COH             200450290014                Gas           Gov. Aggregation   COH             202062610017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             199967250011                Gas           Gov. Aggregation   COH             188118690020                Gas           Gov. Aggregation
COH             196147680021                Gas           Gov. Aggregation   COH             154812440020                Gas           Gov. Aggregation
COH             197381980021                Gas           Gov. Aggregation   COH             201609210012                Gas           Gov. Aggregation
COH             147126560127                Gas           Gov. Aggregation   COH             201587990017                Gas           Gov. Aggregation
COH             199796300013                Gas           Gov. Aggregation   COH             199570050014                Gas           Gov. Aggregation
COH             176814590038                Gas           Gov. Aggregation   COH             199763740010                Gas           Gov. Aggregation
COH             193206070026                Gas           Gov. Aggregation   COH             199549660011                Gas           Gov. Aggregation
COH             136642590013                Gas           Gov. Aggregation   COH             201716340018                Gas           Gov. Aggregation
COH             200420240017                Gas           Gov. Aggregation   COH             194640180031                Gas           Gov. Aggregation
COH             199211270018                Gas           Gov. Aggregation   COH             167785460039                Gas           Gov. Aggregation
COH             115336990022                Gas           Gov. Aggregation   COH             108689960011                Gas           Gov. Aggregation
COH             127606050040                Gas           Gov. Aggregation   COH             109699730053                Gas           Gov. Aggregation
COH             200450320017                Gas           Gov. Aggregation   COH             146115460097                Gas           Gov. Aggregation
COH             159762220028                Gas           Gov. Aggregation   COH             196908270014                Gas           Gov. Aggregation
COH             129627290062                Gas           Gov. Aggregation   COH             165074050034                Gas           Gov. Aggregation
COH             198920850014                Gas           Gov. Aggregation   COH             200223580014                Gas           Gov. Aggregation
COH             199312390019                Gas           Gov. Aggregation   COH             201314620011                Gas           Gov. Aggregation
COH             188147080116                Gas           Gov. Aggregation   COH             108753700027                Gas           Gov. Aggregation
COH             199659490014                Gas           Gov. Aggregation   COH             130960980022                Gas           Gov. Aggregation
COH             199304460011                Gas           Gov. Aggregation   COH             190374800039                Gas           Gov. Aggregation
COH             199080310018                Gas           Gov. Aggregation   COH             190202230023                Gas           Gov. Aggregation
COH             199169640011                Gas           Gov. Aggregation   COH             157408710036                Gas           Gov. Aggregation
COH             197551220029                Gas           Gov. Aggregation   COH             168889680014                Gas           Gov. Aggregation
COH             195773160202                Gas           Gov. Aggregation   COH             198111880013                Gas           Gov. Aggregation
COH             190251440026                Gas           Gov. Aggregation   COH             110781710031                Gas           Gov. Aggregation
COH             186981520037                Gas           Gov. Aggregation   COH             186101630010                Gas           Gov. Aggregation
COH             174312570038                Gas           Gov. Aggregation   COH             171060760027                Gas           Gov. Aggregation
COH             172097840068                Gas           Gov. Aggregation   COH             197947400013                Gas           Gov. Aggregation
COH             199786070013                Gas           Gov. Aggregation   COH             199224410011                Gas           Gov. Aggregation
COH             198921550015                Gas           Gov. Aggregation   COH             201365480014                Gas           Gov. Aggregation
COH             195405970023                Gas           Gov. Aggregation   COH             201671330016                Gas           Gov. Aggregation
COH             194828230023                Gas           Gov. Aggregation   COH             195448630015                Gas           Gov. Aggregation
COH             192131296195                Gas           Gov. Aggregation   COH             110782510013                Gas           Gov. Aggregation
COH             157009810031                Gas           Gov. Aggregation   COH             133385580087                Gas           Gov. Aggregation
COH             165895260021                Gas           Gov. Aggregation   VEDO            4002069212446683            Gas           Gov. Aggregation
COH             199659480016                Gas           Gov. Aggregation   VEDO            4001923862187854            Gas           Gov. Aggregation
COH             135316730024                Gas           Gov. Aggregation   VEDO            4018874402348531            Gas           Gov. Aggregation
COH             199594980019                Gas           Gov. Aggregation   VEDO            4019155652632662            Gas           Gov. Aggregation
COH             200111030016                Gas           Gov. Aggregation   VEDO            4017857032640457            Gas           Gov. Aggregation
COH             200372460014                Gas           Gov. Aggregation   VEDO            4018783992311101            Gas           Gov. Aggregation
COH             199054050018                Gas           Gov. Aggregation   VEDO            4002384472646919            Gas           Gov. Aggregation
COH             192131296033                Gas           Gov. Aggregation   VEDO            4017096512625269            Gas           Gov. Aggregation
COH             147997360035                Gas           Gov. Aggregation   VEDO            4017105462602157            Gas           Gov. Aggregation
COH             163969160107                Gas           Gov. Aggregation   VEDO            4004786462590858            Gas           Gov. Aggregation
COH             190564170020                Gas           Gov. Aggregation   VEDO            4017413142571916            Gas           Gov. Aggregation
COH             194189402290                Gas           Gov. Aggregation   VEDO            4017554272550571            Gas           Gov. Aggregation
COH             199096350017                Gas           Gov. Aggregation   VEDO            4019253262217168            Gas           Gov. Aggregation
COH             188813760030                Gas           Gov. Aggregation   VEDO            4004693082125710            Gas           Gov. Aggregation
COH             193938320031                Gas           Gov. Aggregation   VEDO            4004554602461369            Gas           Gov. Aggregation
COH             192633341480                Gas           Gov. Aggregation   VEDO            4004642662530792            Gas           Gov. Aggregation
COH             196388950024                Gas           Gov. Aggregation   VEDO            4019366942634020            Gas           Gov. Aggregation
COH             139750610061                Gas           Gov. Aggregation   VEDO            4019417592646683            Gas           Gov. Aggregation
COH             196883560026                Gas           Gov. Aggregation   VEDO            4018583022597651            Gas           Gov. Aggregation
COH             200395060010                Gas           Gov. Aggregation   VEDO            4016181072582293            Gas           Gov. Aggregation
COH             155751090014                Gas           Gov. Aggregation   VEDO            4003612062645844            Gas           Gov. Aggregation
COH             199506730016                Gas           Gov. Aggregation   VEDO            4019507382647123            Gas           Gov. Aggregation
COH             199324370027                Gas           Gov. Aggregation   VEDO            4019511142565820            Gas           Gov. Aggregation
COH             200330850010                Gas           Gov. Aggregation   VEDO            4019822572379319            Gas           Gov. Aggregation
COH             154738120034                Gas           Gov. Aggregation   VEDO            4019752162564464            Gas           Gov. Aggregation
COH             200193620010                Gas           Gov. Aggregation   VEDO            4019755272228179            Gas           Gov. Aggregation
COH             199380560010                Gas           Gov. Aggregation   VEDO            4019928092671664            Gas           Gov. Aggregation
COH             195904150027                Gas           Gov. Aggregation   VEDO            4018130972436329            Gas           Gov. Aggregation
COH             154269190044                Gas           Gov. Aggregation   VEDO            4019785132459364            Gas           Gov. Aggregation
COH             153273830041                Gas           Gov. Aggregation   VEDO            4017981422223190            Gas           Gov. Aggregation
COH             199679300011                Gas           Gov. Aggregation   VEDO            4003066612302133            Gas           Gov. Aggregation
COH             198897280015                Gas           Gov. Aggregation   VEDO            4016423182408177            Gas           Gov. Aggregation
COH             149841550103                Gas           Gov. Aggregation   VEDO            4004660042473082            Gas           Gov. Aggregation
COH             169732300077                Gas           Gov. Aggregation   VEDO            4001623112600238            Gas           Gov. Aggregation
COH             169184200044                Gas           Gov. Aggregation   VEDO            4017342632544713            Gas           Gov. Aggregation
COH             194483060049                Gas           Gov. Aggregation   VEDO            4018873162611346            Gas           Gov. Aggregation
COH             192170360032                Gas           Gov. Aggregation   VEDO            4018001052648773            Gas           Gov. Aggregation
COH             192131296104                Gas           Gov. Aggregation   VEDO            4018925012313941            Gas           Gov. Aggregation
COH             192131296579                Gas           Gov. Aggregation   VEDO            4019970672390596            Gas           Gov. Aggregation
COH             200540710014                Gas           Gov. Aggregation   VEDO            4020047462387632            Gas           Gov. Aggregation
COH             199372230016                Gas           Gov. Aggregation   VEDO            4003401172336974            Gas           Gov. Aggregation
COH             147762910054                Gas           Gov. Aggregation   VEDO            4003608982479426            Gas           Gov. Aggregation
COH             199711310019                Gas           Gov. Aggregation   VEDO            4003823652381623            Gas           Gov. Aggregation
COH             149760820037                Gas           Gov. Aggregation   COH             199211590011                Gas           Gov. Aggregation
COH             199049130012                Gas           Gov. Aggregation   COH             197444570023                Gas           Gov. Aggregation
COH             192766110040                Gas           Gov. Aggregation   COH             185169630019                Gas           Gov. Aggregation
COH             195170910024                Gas           Gov. Aggregation   COH             197006880035                Gas           Gov. Aggregation
COH             199222540018                Gas           Gov. Aggregation   COH             162562500037                Gas           Gov. Aggregation
COH             199643830015                Gas           Gov. Aggregation   COH             195291950039                Gas           Gov. Aggregation
COH             192803190026                Gas           Gov. Aggregation   COH             199482310016                Gas           Gov. Aggregation
COH             171885800128                Gas           Gov. Aggregation   COH             200541040013                Gas           Gov. Aggregation
COH             172876090037                Gas           Gov. Aggregation   COH             145496910024                Gas           Gov. Aggregation
COH             186121670029                Gas           Gov. Aggregation   COH             198421440018                Gas           Gov. Aggregation
COH             163710250052                Gas           Gov. Aggregation   COH             166340680027                Gas           Gov. Aggregation
COH             200123890011                Gas           Gov. Aggregation   COH             201617270013                Gas           Gov. Aggregation
COH             163562110029                Gas           Gov. Aggregation   COH             201692890015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             118353480048                Gas           Gov. Aggregation   COH             200898200014                Gas           Gov. Aggregation
COH             146955390047                Gas           Gov. Aggregation   COH             199413510019                Gas           Gov. Aggregation
COH             177248070037                Gas           Gov. Aggregation   COH             198408470010                Gas           Gov. Aggregation
COH             129553100077                Gas           Gov. Aggregation   COH             142193500034                Gas           Gov. Aggregation
COH             164709430145                Gas           Gov. Aggregation   COH             196270040015                Gas           Gov. Aggregation
COH             188755490022                Gas           Gov. Aggregation   COH             201226670018                Gas           Gov. Aggregation
COH             174161000038                Gas           Gov. Aggregation   COH             200565330012                Gas           Gov. Aggregation
COH             200613530017                Gas           Gov. Aggregation   COH             201024400012                Gas           Gov. Aggregation
COH             200108530018                Gas           Gov. Aggregation   COH             200154280032                Gas           Gov. Aggregation
COH             200065980016                Gas           Gov. Aggregation   COH             200173470014                Gas           Gov. Aggregation
COH             170415420035                Gas           Gov. Aggregation   COH             168449910017                Gas           Gov. Aggregation
COH             169660750067                Gas           Gov. Aggregation   COH             201985110017                Gas           Gov. Aggregation
COH             169742170047                Gas           Gov. Aggregation   COH             201968620016                Gas           Gov. Aggregation
COH             198897740018                Gas           Gov. Aggregation   COH             198671200019                Gas           Gov. Aggregation
COH             199054000018                Gas           Gov. Aggregation   COH             199786630015                Gas           Gov. Aggregation
COH             198616800037                Gas           Gov. Aggregation   COH             202093120015                Gas           Gov. Aggregation
COH             192733380034                Gas           Gov. Aggregation   COH             202119540011                Gas           Gov. Aggregation
COH             193285430042                Gas           Gov. Aggregation   COH             165940130058                Gas           Gov. Aggregation
COH             195447540052                Gas           Gov. Aggregation   COH             200804770012                Gas           Gov. Aggregation
COH             199741220015                Gas           Gov. Aggregation   COH             200611070018                Gas           Gov. Aggregation
COH             185531910084                Gas           Gov. Aggregation   COH             201216290019                Gas           Gov. Aggregation
COH             186004000054                Gas           Gov. Aggregation   COH             144529280036                Gas           Gov. Aggregation
COH             189604750025                Gas           Gov. Aggregation   COH             200254930015                Gas           Gov. Aggregation
COH             199538910011                Gas           Gov. Aggregation   COH             194751450039                Gas           Gov. Aggregation
COH             153154570011                Gas           Gov. Aggregation   COH             115782150014                Gas           Gov. Aggregation
COH             199253380017                Gas           Gov. Aggregation   COH             190992650022                Gas           Gov. Aggregation
COH             126909530057                Gas           Gov. Aggregation   COH             189870380011                Gas           Gov. Aggregation
COH             110927890034                Gas           Gov. Aggregation   COH             199475560019                Gas           Gov. Aggregation
COH             172320550019                Gas           Gov. Aggregation   COH             199179790019                Gas           Gov. Aggregation
COH             185182410026                Gas           Gov. Aggregation   COH             201017230013                Gas           Gov. Aggregation
COH             200276760015                Gas           Gov. Aggregation   COH             198209000010                Gas           Gov. Aggregation
COH             160859740012                Gas           Gov. Aggregation   COH             197865490019                Gas           Gov. Aggregation
COH             200682750016                Gas           Gov. Aggregation   COH             200761910014                Gas           Gov. Aggregation
COH             199617000014                Gas           Gov. Aggregation   COH             199721200011                Gas           Gov. Aggregation
COH             198047010012                Gas           Gov. Aggregation   COH             115904910032                Gas           Gov. Aggregation
COH             198102320019                Gas           Gov. Aggregation   COH             154792190027                Gas           Gov. Aggregation
COH             151695810034                Gas           Gov. Aggregation   COH             151692070018                Gas           Gov. Aggregation
COH             199616920013                Gas           Gov. Aggregation   COH             161204520023                Gas           Gov. Aggregation
COH             110933090011                Gas           Gov. Aggregation   COH             199372040016                Gas           Gov. Aggregation
COH             200529060015                Gas           Gov. Aggregation   COH             188667130033                Gas           Gov. Aggregation
COH             147934550091                Gas           Gov. Aggregation   COH             170458990018                Gas           Gov. Aggregation
COH             198312830017                Gas           Gov. Aggregation   COH             168227200043                Gas           Gov. Aggregation
COH             198567920019                Gas           Gov. Aggregation   COH             153664690015                Gas           Gov. Aggregation
COH             199097000018                Gas           Gov. Aggregation   COH             187313490038                Gas           Gov. Aggregation
COH             194576760027                Gas           Gov. Aggregation   COH             151167120083                Gas           Gov. Aggregation
COH             198714970016                Gas           Gov. Aggregation   COH             186392660082                Gas           Gov. Aggregation
COH             200511280016                Gas           Gov. Aggregation   COH             199587410013                Gas           Gov. Aggregation
COH             200579400018                Gas           Gov. Aggregation   COH             196908370059                Gas           Gov. Aggregation
COH             199064470019                Gas           Gov. Aggregation   COH             115789230022                Gas           Gov. Aggregation
COH             168959320029                Gas           Gov. Aggregation   COH             201079610013                Gas           Gov. Aggregation
COH             199967780010                Gas           Gov. Aggregation   COH             199169180018                Gas           Gov. Aggregation
COH             176068170020                Gas           Gov. Aggregation   COH             189260980036                Gas           Gov. Aggregation
COH             197160650019                Gas           Gov. Aggregation   COH             200921240015                Gas           Gov. Aggregation
COH             200002840017                Gas           Gov. Aggregation   COH             200782550016                Gas           Gov. Aggregation
COH             196904410012                Gas           Gov. Aggregation   COH             191565110029                Gas           Gov. Aggregation
COH             200220750014                Gas           Gov. Aggregation   COH             185969656102                Gas           Gov. Aggregation
COH             198733030013                Gas           Gov. Aggregation   COH             202008260015                Gas           Gov. Aggregation
COH             197953880010                Gas           Gov. Aggregation   COH             152060130013                Gas           Gov. Aggregation
COH             188352440026                Gas           Gov. Aggregation   COH             110971320021                Gas           Gov. Aggregation
COH             198643740015                Gas           Gov. Aggregation   COH             199145700018                Gas           Gov. Aggregation
COH             196272930014                Gas           Gov. Aggregation   COH             110972190018                Gas           Gov. Aggregation
COH             187705570058                Gas           Gov. Aggregation   COH             188471960016                Gas           Gov. Aggregation
COH             162055810046                Gas           Gov. Aggregation   COH             188958770014                Gas           Gov. Aggregation
COH             194583080034                Gas           Gov. Aggregation   COH             200909100010                Gas           Gov. Aggregation
COH             196772390018                Gas           Gov. Aggregation   COH             200946950014                Gas           Gov. Aggregation
COH             194219020019                Gas           Gov. Aggregation   COH             199496560015                Gas           Gov. Aggregation
COH             115009780074                Gas           Gov. Aggregation   COH             198514930018                Gas           Gov. Aggregation
COH             200040640019                Gas           Gov. Aggregation   COH             147213340020                Gas           Gov. Aggregation
COH             132673070066                Gas           Gov. Aggregation   COH             187637740039                Gas           Gov. Aggregation
COH             195767100010                Gas           Gov. Aggregation   COH             201595690013                Gas           Gov. Aggregation
COH             148471340041                Gas           Gov. Aggregation   COH             200527910010                Gas           Gov. Aggregation
COH             161344810026                Gas           Gov. Aggregation   COH             200682680011                Gas           Gov. Aggregation
COH             114954220015                Gas           Gov. Aggregation   COH             200682740018                Gas           Gov. Aggregation
COH             199673370019                Gas           Gov. Aggregation   COH             200283660011                Gas           Gov. Aggregation
COH             198874060019                Gas           Gov. Aggregation   COH             199116890010                Gas           Gov. Aggregation
COH             200521350010                Gas           Gov. Aggregation   COH             192904670030                Gas           Gov. Aggregation
COH             200397330019                Gas           Gov. Aggregation   COH             195661820013                Gas           Gov. Aggregation
COH             176758910021                Gas           Gov. Aggregation   COH             196067560017                Gas           Gov. Aggregation
COH             200686810015                Gas           Gov. Aggregation   COH             197450430010                Gas           Gov. Aggregation
COH             198717310027                Gas           Gov. Aggregation   COH             167204260013                Gas           Gov. Aggregation
COH             156057680039                Gas           Gov. Aggregation   COH             186200100039                Gas           Gov. Aggregation
COH             148503550075                Gas           Gov. Aggregation   VEDO            4018224432609745            Gas           Gov. Aggregation
COH             143079210189                Gas           Gov. Aggregation   VEDO            4001580302603226            Gas           Gov. Aggregation
COH             190487910055                Gas           Gov. Aggregation   VEDO            4004346842632336            Gas           Gov. Aggregation
COH             198773520016                Gas           Gov. Aggregation   VEDO            4016953842612379            Gas           Gov. Aggregation
COH             200650890014                Gas           Gov. Aggregation   VEDO            4019296472548712            Gas           Gov. Aggregation
COH             200843700014                Gas           Gov. Aggregation   VEDO            4002653762644977            Gas           Gov. Aggregation
COH             145624850195                Gas           Gov. Aggregation   VEDO            4018950892600956            Gas           Gov. Aggregation
COH             130797920030                Gas           Gov. Aggregation   VEDO            4017398812627192            Gas           Gov. Aggregation
COH             114896020011                Gas           Gov. Aggregation   VEDO            4019122922600953            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             114897260019                Gas           Gov. Aggregation   VEDO            4002362632606950            Gas           Gov. Aggregation
COH             167011840074                Gas           Gov. Aggregation   VEDO            4017177932611117            Gas           Gov. Aggregation
COH             191862300038                Gas           Gov. Aggregation   VEDO            4018744532637365            Gas           Gov. Aggregation
COH             190328020049                Gas           Gov. Aggregation   VEDO            4018802002597759            Gas           Gov. Aggregation
COH             191625290042                Gas           Gov. Aggregation   VEDO            4015240812611266            Gas           Gov. Aggregation
COH             196419710018                Gas           Gov. Aggregation   VEDO            4017696552626605            Gas           Gov. Aggregation
COH             196056260022                Gas           Gov. Aggregation   VEDO            4015238472633973            Gas           Gov. Aggregation
COH             160524590013                Gas           Gov. Aggregation   VEDO            4015280702628908            Gas           Gov. Aggregation
COH             191066220079                Gas           Gov. Aggregation   VEDO            4019949402672875            Gas           Gov. Aggregation
COH             198109790035                Gas           Gov. Aggregation   VEDO            4019820682671334            Gas           Gov. Aggregation
COH             198684000014                Gas           Gov. Aggregation   VEDO            4019745532593211            Gas           Gov. Aggregation
COH             160040790151                Gas           Gov. Aggregation   VEDO            4002009912600966            Gas           Gov. Aggregation
COH             200629180018                Gas           Gov. Aggregation   VEDO            4016550742632141            Gas           Gov. Aggregation
COH             187786440046                Gas           Gov. Aggregation   VEDO            4003629892594023            Gas           Gov. Aggregation
COH             143375600090                Gas           Gov. Aggregation   VEDO            4003823662594785            Gas           Gov. Aggregation
COH             115043170025                Gas           Gov. Aggregation   VEDO            4018110002635082            Gas           Gov. Aggregation
COH             197698780013                Gas           Gov. Aggregation   VEDO            4017681942587573            Gas           Gov. Aggregation
COH             188295690071                Gas           Gov. Aggregation   VEDO            4017704202640023            Gas           Gov. Aggregation
COH             200966670011                Gas           Gov. Aggregation   VEDO            4018862132585095            Gas           Gov. Aggregation
COH             194484390039                Gas           Gov. Aggregation   VEDO            4019750112585664            Gas           Gov. Aggregation
COH             193412440067                Gas           Gov. Aggregation   VEDO            4019140022589490            Gas           Gov. Aggregation
COH             114906600016                Gas           Gov. Aggregation   VEDO            4019879062672239            Gas           Gov. Aggregation
COH             196619500027                Gas           Gov. Aggregation   VEDO            4002568132251811            Gas           Gov. Aggregation
COH             185156660029                Gas           Gov. Aggregation   VEDO            4017077082496180            Gas           Gov. Aggregation
COH             195292320039                Gas           Gov. Aggregation   VEDO            4017550802421973            Gas           Gov. Aggregation
COH             196209130015                Gas           Gov. Aggregation   VEDO            4001525772149367            Gas           Gov. Aggregation
COH             188847570020                Gas           Gov. Aggregation   VEDO            4003846152384074            Gas           Gov. Aggregation
COH             193774200034                Gas           Gov. Aggregation   VEDO            4001082182510434            Gas           Gov. Aggregation
COH             200693910019                Gas           Gov. Aggregation   VEDO            4015016342529836            Gas           Gov. Aggregation
COH             157810020038                Gas           Gov. Aggregation   COH             198901980017                Gas           Gov. Aggregation
COH             200549160012                Gas           Gov. Aggregation   COH             198025150019                Gas           Gov. Aggregation
COH             200479780011                Gas           Gov. Aggregation   COH             199482040013                Gas           Gov. Aggregation
COH             200880880019                Gas           Gov. Aggregation   COH             201360460018                Gas           Gov. Aggregation
COH             200640720010                Gas           Gov. Aggregation   COH             190869360033                Gas           Gov. Aggregation
COH             200291120017                Gas           Gov. Aggregation   COH             201850430015                Gas           Gov. Aggregation
COH             200514690014                Gas           Gov. Aggregation   COH             200338570013                Gas           Gov. Aggregation
COH             199920830017                Gas           Gov. Aggregation   COH             199202790018                Gas           Gov. Aggregation
COH             196120600014                Gas           Gov. Aggregation   COH             117328340014                Gas           Gov. Aggregation
COH             200504190010                Gas           Gov. Aggregation   COH             198335560016                Gas           Gov. Aggregation
COH             200562340016                Gas           Gov. Aggregation   COH             199741170016                Gas           Gov. Aggregation
COH             200871370015                Gas           Gov. Aggregation   COH             200414060018                Gas           Gov. Aggregation
COH             199928450011                Gas           Gov. Aggregation   COH             191020290044                Gas           Gov. Aggregation
COH             200155030014                Gas           Gov. Aggregation   COH             201918220015                Gas           Gov. Aggregation
COH             200936420016                Gas           Gov. Aggregation   COH             134372090095                Gas           Gov. Aggregation
COH             158198150067                Gas           Gov. Aggregation   COH             198008640012                Gas           Gov. Aggregation
COH             162583480047                Gas           Gov. Aggregation   COH             200066700012                Gas           Gov. Aggregation
COH             131370070087                Gas           Gov. Aggregation   COH             200834000010                Gas           Gov. Aggregation
COH             200343320014                Gas           Gov. Aggregation   COH             193135360035                Gas           Gov. Aggregation
COH             199964900010                Gas           Gov. Aggregation   COH             193135360044                Gas           Gov. Aggregation
COH             200571280010                Gas           Gov. Aggregation   COH             196344670034                Gas           Gov. Aggregation
COH             191556990033                Gas           Gov. Aggregation   COH             200218080010                Gas           Gov. Aggregation
COH             191327550049                Gas           Gov. Aggregation   COH             200600450011                Gas           Gov. Aggregation
COH             114901400027                Gas           Gov. Aggregation   COH             198220270010                Gas           Gov. Aggregation
COH             114963370015                Gas           Gov. Aggregation   COH             143099500024                Gas           Gov. Aggregation
COH             200374370019                Gas           Gov. Aggregation   COH             119886370041                Gas           Gov. Aggregation
COH             200378760019                Gas           Gov. Aggregation   COH             117347970021                Gas           Gov. Aggregation
COH             200308790010                Gas           Gov. Aggregation   COH             134649300011                Gas           Gov. Aggregation
COH             200343120016                Gas           Gov. Aggregation   COH             115372300011                Gas           Gov. Aggregation
COH             200790150013                Gas           Gov. Aggregation   COH             162011410024                Gas           Gov. Aggregation
COH             197347460013                Gas           Gov. Aggregation   COH             189302400028                Gas           Gov. Aggregation
COH             157594840081                Gas           Gov. Aggregation   COH             194713730012                Gas           Gov. Aggregation
COH             200562370010                Gas           Gov. Aggregation   COH             199950960017                Gas           Gov. Aggregation
COH             197441150018                Gas           Gov. Aggregation   COH             200267770012                Gas           Gov. Aggregation
COH             141447240068                Gas           Gov. Aggregation   COH             201163440010                Gas           Gov. Aggregation
COH             170478840044                Gas           Gov. Aggregation   COH             163823240028                Gas           Gov. Aggregation
COH             198220890010                Gas           Gov. Aggregation   COH             173719280029                Gas           Gov. Aggregation
COH             198292750036                Gas           Gov. Aggregation   COH             173237900020                Gas           Gov. Aggregation
COH             200099520011                Gas           Gov. Aggregation   COH             195931510024                Gas           Gov. Aggregation
COH             193133650038                Gas           Gov. Aggregation   COH             195573190013                Gas           Gov. Aggregation
COH             114988600014                Gas           Gov. Aggregation   COH             192131292671                Gas           Gov. Aggregation
COH             139241400153                Gas           Gov. Aggregation   COH             192131291403                Gas           Gov. Aggregation
COH             140188530077                Gas           Gov. Aggregation   COH             192131294562                Gas           Gov. Aggregation
COH             171411750051                Gas           Gov. Aggregation   COH             192131296480                Gas           Gov. Aggregation
COH             165242310041                Gas           Gov. Aggregation   COH             192131296506                Gas           Gov. Aggregation
COH             187539510035                Gas           Gov. Aggregation   COH             192131296542                Gas           Gov. Aggregation
COH             193414570020                Gas           Gov. Aggregation   COH             190749900784                Gas           Gov. Aggregation
COH             192799120049                Gas           Gov. Aggregation   COH             189915000023                Gas           Gov. Aggregation
VEDO            4019948202145603            Gas           Gov. Aggregation   COH             145095780059                Gas           Gov. Aggregation
COH             187690860023                Gas           Gov. Aggregation   COH             151662960023                Gas           Gov. Aggregation
COH             187306680033                Gas           Gov. Aggregation   COH             152335270066                Gas           Gov. Aggregation
COH             111234850012                Gas           Gov. Aggregation   DEO             6120000113709               Gas           Gov. Aggregation
COH             185056770046                Gas           Gov. Aggregation   COH             200201330012                Gas           Gov. Aggregation
COH             197172120015                Gas           Gov. Aggregation   COH             198522900017                Gas           Gov. Aggregation
COH             200219940017                Gas           Gov. Aggregation   COH             202277420012                Gas           Gov. Aggregation
COH             200117210016                Gas           Gov. Aggregation   COH             162640910035                Gas           Gov. Aggregation
COH             199751750013                Gas           Gov. Aggregation   COH             201472150016                Gas           Gov. Aggregation
COH             199085170018                Gas           Gov. Aggregation   COH             200658780020                Gas           Gov. Aggregation
COH             199192680014                Gas           Gov. Aggregation   COH             201398450011                Gas           Gov. Aggregation
COH             127128580025                Gas           Gov. Aggregation   COH             201097710014                Gas           Gov. Aggregation
COH             167532000030                Gas           Gov. Aggregation   COH             202277210016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             200779340017                Gas           Gov. Aggregation   COH             175164190014                Gas           Gov. Aggregation
COH             200657080010                Gas           Gov. Aggregation   COH             202039400010                Gas           Gov. Aggregation
COH             199566810013                Gas           Gov. Aggregation   COH             200221190010                Gas           Gov. Aggregation
COH             199984050017                Gas           Gov. Aggregation   COH             202328270015                Gas           Gov. Aggregation
COH             200602270015                Gas           Gov. Aggregation   COH             150025880076                Gas           Gov. Aggregation
COH             200525350012                Gas           Gov. Aggregation   COH             199852290016                Gas           Gov. Aggregation
COH             199528720012                Gas           Gov. Aggregation   COH             162538270028                Gas           Gov. Aggregation
COH             199083250015                Gas           Gov. Aggregation   COH             189247300036                Gas           Gov. Aggregation
COH             199063120014                Gas           Gov. Aggregation   COH             199847380018                Gas           Gov. Aggregation
COH             199238260014                Gas           Gov. Aggregation   COH             147319870016                Gas           Gov. Aggregation
COH             199251890014                Gas           Gov. Aggregation   COH             189826860013                Gas           Gov. Aggregation
COH             189261040022                Gas           Gov. Aggregation   COH             145818300037                Gas           Gov. Aggregation
COH             157358280025                Gas           Gov. Aggregation   COH             185912100022                Gas           Gov. Aggregation
COH             200142470019                Gas           Gov. Aggregation   COH             159959170040                Gas           Gov. Aggregation
COH             199734360011                Gas           Gov. Aggregation   COH             202219440010                Gas           Gov. Aggregation
COH             199769820011                Gas           Gov. Aggregation   COH             200438360015                Gas           Gov. Aggregation
COH             200011490012                Gas           Gov. Aggregation   COH             201141920015                Gas           Gov. Aggregation
COH             198658520010                Gas           Gov. Aggregation   COH             201992080019                Gas           Gov. Aggregation
COH             111273000018                Gas           Gov. Aggregation   COH             158423370062                Gas           Gov. Aggregation
COH             199125580016                Gas           Gov. Aggregation   COH             186441880045                Gas           Gov. Aggregation
COH             198992060019                Gas           Gov. Aggregation   COH             200592450010                Gas           Gov. Aggregation
COH             197465400024                Gas           Gov. Aggregation   COH             200419120015                Gas           Gov. Aggregation
COH             187403130023                Gas           Gov. Aggregation   COH             125801960038                Gas           Gov. Aggregation
COH             200223550010                Gas           Gov. Aggregation   COH             177046170025                Gas           Gov. Aggregation
COH             139394420049                Gas           Gov. Aggregation   COH             145629740027                Gas           Gov. Aggregation
COH             108841340035                Gas           Gov. Aggregation   COH             162830830057                Gas           Gov. Aggregation
COH             200256710017                Gas           Gov. Aggregation   COH             163033790028                Gas           Gov. Aggregation
COH             200368900010                Gas           Gov. Aggregation   COH             164626290070                Gas           Gov. Aggregation
VEDO            4016651832293166            Gas           Gov. Aggregation   COH             165729560038                Gas           Gov. Aggregation
COH             150680360013                Gas           Gov. Aggregation   COH             177364860026                Gas           Gov. Aggregation
COH             141667810035                Gas           Gov. Aggregation   COH             135749660068                Gas           Gov. Aggregation
COH             196834710018                Gas           Gov. Aggregation   COH             200658760015                Gas           Gov. Aggregation
COH             156590720076                Gas           Gov. Aggregation   COH             194386990013                Gas           Gov. Aggregation
COH             195759100035                Gas           Gov. Aggregation   COH             195549910012                Gas           Gov. Aggregation
COH             200651610010                Gas           Gov. Aggregation   COH             200124450011                Gas           Gov. Aggregation
COH             200745610011                Gas           Gov. Aggregation   COH             200973950017                Gas           Gov. Aggregation
COH             134726990031                Gas           Gov. Aggregation   COH             193613420029                Gas           Gov. Aggregation
COH             134310210035                Gas           Gov. Aggregation   COH             201903460016                Gas           Gov. Aggregation
COH             149738540033                Gas           Gov. Aggregation   COH             201069500017                Gas           Gov. Aggregation
COH             200377600032                Gas           Gov. Aggregation   COH             201377030013                Gas           Gov. Aggregation
COH             200644240022                Gas           Gov. Aggregation   COH             188773220039                Gas           Gov. Aggregation
COH             196622870014                Gas           Gov. Aggregation   COH             191411420029                Gas           Gov. Aggregation
COH             192047640025                Gas           Gov. Aggregation   COH             202305880015                Gas           Gov. Aggregation
COH             191801320023                Gas           Gov. Aggregation   COH             200289610019                Gas           Gov. Aggregation
COH             194096420062                Gas           Gov. Aggregation   COH             122856310023                Gas           Gov. Aggregation
COH             116571260106                Gas           Gov. Aggregation   COH             173722300090                Gas           Gov. Aggregation
COH             110448010052                Gas           Gov. Aggregation   COH             197895660010                Gas           Gov. Aggregation
COH             110426080045                Gas           Gov. Aggregation   COH             195950250038                Gas           Gov. Aggregation
COH             110426230016                Gas           Gov. Aggregation   COH             167121450028                Gas           Gov. Aggregation
COH             201040400018                Gas           Gov. Aggregation   COH             199448070019                Gas           Gov. Aggregation
COH             201015140016                Gas           Gov. Aggregation   COH             201630720010                Gas           Gov. Aggregation
COH             192266240034                Gas           Gov. Aggregation   COH             200588040015                Gas           Gov. Aggregation
COH             199349410017                Gas           Gov. Aggregation   COH             201773030013                Gas           Gov. Aggregation
COH             160701350017                Gas           Gov. Aggregation   COH             201892320010                Gas           Gov. Aggregation
DEO             7120000129057               Gas           Gov. Aggregation   COH             200746240017                Gas           Gov. Aggregation
COH             201395840015                Gas           Gov. Aggregation   COH             202198460012                Gas           Gov. Aggregation
COH             153394090041                Gas           Gov. Aggregation   COH             192907280036                Gas           Gov. Aggregation
COH             191987000019                Gas           Gov. Aggregation   COH             201903270016                Gas           Gov. Aggregation
COH             194407950042                Gas           Gov. Aggregation   COH             201853420011                Gas           Gov. Aggregation
COH             201018930014                Gas           Gov. Aggregation   COH             201429580017                Gas           Gov. Aggregation
COH             200608020015                Gas           Gov. Aggregation   COH             201125000012                Gas           Gov. Aggregation
COH             200239810012                Gas           Gov. Aggregation   COH             201360810014                Gas           Gov. Aggregation
COH             200129690011                Gas           Gov. Aggregation   COH             124642750022                Gas           Gov. Aggregation
COH             119072610045                Gas           Gov. Aggregation   COH             170713410017                Gas           Gov. Aggregation
COH             173418890010                Gas           Gov. Aggregation   DEO             6442007462559               Gas           Gov. Aggregation
COH             175915500015                Gas           Gov. Aggregation   DEO             7180008144167               Gas           Gov. Aggregation
COH             175919210045                Gas           Gov. Aggregation   VEDO            4017431062298628            Gas           Gov. Aggregation
COH             176966870038                Gas           Gov. Aggregation   VEDO            4001745992330944            Gas           Gov. Aggregation
COH             157530990039                Gas           Gov. Aggregation   DEO             3442008470423               Gas           Gov. Aggregation
COH             156358580023                Gas           Gov. Aggregation   COH             111155310022                Gas           Gov. Aggregation
COH             186025090061                Gas           Gov. Aggregation   COH             148479530063                Gas           Gov. Aggregation
COH             185641490017                Gas           Gov. Aggregation   DEO             9421006191387               Gas           Gov. Aggregation
COH             196336610051                Gas           Gov. Aggregation   COH             111044830028                Gas           Gov. Aggregation
COH             196254890093                Gas           Gov. Aggregation   COH             110351940016                Gas           Gov. Aggregation
COH             196254890128                Gas           Gov. Aggregation   COH             145766860077                Gas           Gov. Aggregation
COH             199263580014                Gas           Gov. Aggregation   COH             207731660031                Gas           Gov. Aggregation
COH             197152400018                Gas           Gov. Aggregation   COH             161809270051                Gas           Gov. Aggregation
COH             155263570036                Gas           Gov. Aggregation   COH             185939860027                Gas           Gov. Aggregation
COH             175919210036                Gas           Gov. Aggregation   COH             200014490025                Gas           Gov. Aggregation
COH             174721170035                Gas           Gov. Aggregation   COH             200384770014                Gas           Gov. Aggregation
COH             177665580018                Gas           Gov. Aggregation   COH             201669620010                Gas           Gov. Aggregation
COH             138055360023                Gas           Gov. Aggregation   COH             201125010010                Gas           Gov. Aggregation
COH             143902980010                Gas           Gov. Aggregation   COH             171356920026                Gas           Gov. Aggregation
COH             145567750036                Gas           Gov. Aggregation   COH             196953250022                Gas           Gov. Aggregation
COH             132693810059                Gas           Gov. Aggregation   COH             191524870053                Gas           Gov. Aggregation
COH             117154320026                Gas           Gov. Aggregation   COH             193515670025                Gas           Gov. Aggregation
COH             200444330018                Gas           Gov. Aggregation   COH             201732740010                Gas           Gov. Aggregation
COH             200677280016                Gas           Gov. Aggregation   COH             168479270046                Gas           Gov. Aggregation
COH             199067380012                Gas           Gov. Aggregation   COH             201685350013                Gas           Gov. Aggregation
COH             192131291734                Gas           Gov. Aggregation   COH             167813750055                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             192131291243                Gas           Gov. Aggregation   COH             153861030024                Gas           Gov. Aggregation
COH             194396740014                Gas           Gov. Aggregation   COH             125872400152                Gas           Gov. Aggregation
COH             186520130017                Gas           Gov. Aggregation   COH             199964280011                Gas           Gov. Aggregation
COH             186677350010                Gas           Gov. Aggregation   COH             170311140043                Gas           Gov. Aggregation
COH             168366680049                Gas           Gov. Aggregation   COH             186408150048                Gas           Gov. Aggregation
COH             146196200019                Gas           Gov. Aggregation   COH             173509980027                Gas           Gov. Aggregation
COH             176271550029                Gas           Gov. Aggregation   COH             125798770037                Gas           Gov. Aggregation
COH             154041420038                Gas           Gov. Aggregation   COH             202075920015                Gas           Gov. Aggregation
COH             191963480028                Gas           Gov. Aggregation   COH             201665200016                Gas           Gov. Aggregation
COH             166635510018                Gas           Gov. Aggregation   COH             199814420027                Gas           Gov. Aggregation
COH             194856090024                Gas           Gov. Aggregation   COH             189356660030                Gas           Gov. Aggregation
COH             146699370018                Gas           Gov. Aggregation   COH             198455620028                Gas           Gov. Aggregation
COH             145586740010                Gas           Gov. Aggregation   COH             200133160022                Gas           Gov. Aggregation
COH             145897460010                Gas           Gov. Aggregation   COH             201523420010                Gas           Gov. Aggregation
COH             143803350012                Gas           Gov. Aggregation   COH             202034200021                Gas           Gov. Aggregation
COH             144582150022                Gas           Gov. Aggregation   COH             168389750037                Gas           Gov. Aggregation
COH             139535920017                Gas           Gov. Aggregation   COH             186331670051                Gas           Gov. Aggregation
COH             141074640010                Gas           Gov. Aggregation   COH             174277990054                Gas           Gov. Aggregation
COH             134929930033                Gas           Gov. Aggregation   COH             147935660041                Gas           Gov. Aggregation
COH             130034720010                Gas           Gov. Aggregation   COH             199682800019                Gas           Gov. Aggregation
COH             170191600051                Gas           Gov. Aggregation   COH             201985930015                Gas           Gov. Aggregation
COH             176491050082                Gas           Gov. Aggregation   COH             202343330010                Gas           Gov. Aggregation
COH             186725120051                Gas           Gov. Aggregation   COH             199023350010                Gas           Gov. Aggregation
COH             120532580016                Gas           Gov. Aggregation   COH             175786050042                Gas           Gov. Aggregation
COH             128868400014                Gas           Gov. Aggregation   COH             185821120094                Gas           Gov. Aggregation
COH             139988300018                Gas           Gov. Aggregation   COH             196201660010                Gas           Gov. Aggregation
COH             151283340027                Gas           Gov. Aggregation   COH             201171360010                Gas           Gov. Aggregation
COH             194595240017                Gas           Gov. Aggregation   COH             199398910019                Gas           Gov. Aggregation
COH             195156050016                Gas           Gov. Aggregation   COH             152714620013                Gas           Gov. Aggregation
COH             197475560011                Gas           Gov. Aggregation   COH             198920770011                Gas           Gov. Aggregation
COH             191900600033                Gas           Gov. Aggregation   COH             150894860033                Gas           Gov. Aggregation
COH             158921740013                Gas           Gov. Aggregation   COH             151574450018                Gas           Gov. Aggregation
COH             198433320018                Gas           Gov. Aggregation   COH             143152520017                Gas           Gov. Aggregation
COH             163268070013                Gas           Gov. Aggregation   COH             139196810010                Gas           Gov. Aggregation
COH             166519600177                Gas           Gov. Aggregation   COH             175367890017                Gas           Gov. Aggregation
COH             166519600186                Gas           Gov. Aggregation   COH             197521320012                Gas           Gov. Aggregation
COH             201014620017                Gas           Gov. Aggregation   COH             196754930012                Gas           Gov. Aggregation
COH             150229440049                Gas           Gov. Aggregation   COH             188020280014                Gas           Gov. Aggregation
COH             170890080013                Gas           Gov. Aggregation   COH             200197730019                Gas           Gov. Aggregation
COH             120540200018                Gas           Gov. Aggregation   COH             198261460014                Gas           Gov. Aggregation
COH             120541650021                Gas           Gov. Aggregation   COH             201603460012                Gas           Gov. Aggregation
COH             120533490059                Gas           Gov. Aggregation   COH             194567040036                Gas           Gov. Aggregation
COH             120533670015                Gas           Gov. Aggregation   COH             111435260010                Gas           Gov. Aggregation
COH             120533820013                Gas           Gov. Aggregation   COH             194675470019                Gas           Gov. Aggregation
COH             120532560029                Gas           Gov. Aggregation   COH             111387790012                Gas           Gov. Aggregation
COH             195105020019                Gas           Gov. Aggregation   COH             111442550014                Gas           Gov. Aggregation
COH             194665300015                Gas           Gov. Aggregation   COH             111442360014                Gas           Gov. Aggregation
COH             195759700011                Gas           Gov. Aggregation   COH             111443250015                Gas           Gov. Aggregation
COH             196154080031                Gas           Gov. Aggregation   COH             111423190118                Gas           Gov. Aggregation
COH             191562960036                Gas           Gov. Aggregation   COH             139265690055                Gas           Gov. Aggregation
COH             191459980013                Gas           Gov. Aggregation   COH             197027810017                Gas           Gov. Aggregation
COH             200482060015                Gas           Gov. Aggregation   COH             194400770026                Gas           Gov. Aggregation
COH             199100650013                Gas           Gov. Aggregation   COH             191632340019                Gas           Gov. Aggregation
COH             198849710015                Gas           Gov. Aggregation   DEO             3500066552914               Gas           Gov. Aggregation
COH             200125910012                Gas           Gov. Aggregation   COH             198807040014                Gas           Gov. Aggregation
COH             163253100017                Gas           Gov. Aggregation   COH             110993130016                Gas           Gov. Aggregation
COH             161146240017                Gas           Gov. Aggregation   COH             137366090013                Gas           Gov. Aggregation
COH             153881750049                Gas           Gov. Aggregation   COH             188329040029                Gas           Gov. Aggregation
COH             154426630029                Gas           Gov. Aggregation   COH             202175240016                Gas           Gov. Aggregation
COH             154451210015                Gas           Gov. Aggregation   COH             199051490012                Gas           Gov. Aggregation
COH             175298860010                Gas           Gov. Aggregation   COH             199332330019                Gas           Gov. Aggregation
COH             175677480016                Gas           Gov. Aggregation   COH             196597590018                Gas           Gov. Aggregation
COH             171402590036                Gas           Gov. Aggregation   COH             156460940011                Gas           Gov. Aggregation
COH             171415140015                Gas           Gov. Aggregation   COH             110993750025                Gas           Gov. Aggregation
COH             172935790016                Gas           Gov. Aggregation   COH             133416250016                Gas           Gov. Aggregation
COH             167726430011                Gas           Gov. Aggregation   COH             132999790010                Gas           Gov. Aggregation
COH             168921990019                Gas           Gov. Aggregation   COH             157741180023                Gas           Gov. Aggregation
COH             169125930018                Gas           Gov. Aggregation   COH             186408010010                Gas           Gov. Aggregation
COH             142017510089                Gas           Gov. Aggregation   COH             110983480014                Gas           Gov. Aggregation
COH             143594070043                Gas           Gov. Aggregation   COH             198944670012                Gas           Gov. Aggregation
COH             131331580028                Gas           Gov. Aggregation   COH             195692050010                Gas           Gov. Aggregation
COH             129299170046                Gas           Gov. Aggregation   COH             194556610011                Gas           Gov. Aggregation
COH             120140060025                Gas           Gov. Aggregation   COH             170220620018                Gas           Gov. Aggregation
COH             116925050029                Gas           Gov. Aggregation   COH             171790450016                Gas           Gov. Aggregation
COH             118850990038                Gas           Gov. Aggregation   COH             187515380024                Gas           Gov. Aggregation
COH             199229140018                Gas           Gov. Aggregation   COH             185069990043                Gas           Gov. Aggregation
COH             159143600048                Gas           Gov. Aggregation   COH             200231450014                Gas           Gov. Aggregation
COH             160438220040                Gas           Gov. Aggregation   COH             200092310019                Gas           Gov. Aggregation
COH             161949200031                Gas           Gov. Aggregation   COH             201887120013                Gas           Gov. Aggregation
COH             169721790078                Gas           Gov. Aggregation   COH             201705930017                Gas           Gov. Aggregation
COH             200170160015                Gas           Gov. Aggregation   COH             201617290019                Gas           Gov. Aggregation
COH             201189950019                Gas           Gov. Aggregation   COH             128937900049                Gas           Gov. Aggregation
COH             200184330010                Gas           Gov. Aggregation   VEDO            4018674622231715            Gas           Gov. Aggregation
COH             111143060020                Gas           Gov. Aggregation   VEDO            4003058122449749            Gas           Gov. Aggregation
COH             141068270280                Gas           Gov. Aggregation   VEDO            4019516602402720            Gas           Gov. Aggregation
COH             177757850025                Gas           Gov. Aggregation   VEDO            4002028092362346            Gas           Gov. Aggregation
COH             200658330015                Gas           Gov. Aggregation   VEDO            4001063372521911            Gas           Gov. Aggregation
COH             200151480018                Gas           Gov. Aggregation   VEDO            4001731182168904            Gas           Gov. Aggregation
COH             201163770011                Gas           Gov. Aggregation   VEDO            4003741682393037            Gas           Gov. Aggregation
COH             200805530010                Gas           Gov. Aggregation   VEDO            4004026492422465            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             200754020016                Gas           Gov. Aggregation   VEDO            4018678122386156            Gas           Gov. Aggregation
COH             168538980032                Gas           Gov. Aggregation   VEDO            4001686112164583            Gas           Gov. Aggregation
COH             147716040036                Gas           Gov. Aggregation   VEDO            4001623602158737            Gas           Gov. Aggregation
COH             157525110034                Gas           Gov. Aggregation   VEDO            4002370322231991            Gas           Gov. Aggregation
COH             200561210015                Gas           Gov. Aggregation   VEDO            4001165182346323            Gas           Gov. Aggregation
COH             200165870017                Gas           Gov. Aggregation   VEDO            4004980882508517            Gas           Gov. Aggregation
COH             201119570016                Gas           Gov. Aggregation   VEDO            4018418062398727            Gas           Gov. Aggregation
COH             200749350018                Gas           Gov. Aggregation   VEDO            4018428102204891            Gas           Gov. Aggregation
COH             200866850015                Gas           Gov. Aggregation   VEDO            4017977912127164            Gas           Gov. Aggregation
COH             198279840026                Gas           Gov. Aggregation   VEDO            4015378332275118            Gas           Gov. Aggregation
COH             190087850029                Gas           Gov. Aggregation   VEDO            4016022852526366            Gas           Gov. Aggregation
COH             177045590029                Gas           Gov. Aggregation   VEDO            4017039632129755            Gas           Gov. Aggregation
COH             200289060015                Gas           Gov. Aggregation   VEDO            4001046912634552            Gas           Gov. Aggregation
COH             200220800013                Gas           Gov. Aggregation   VEDO            4001354452433031            Gas           Gov. Aggregation
COH             200234750015                Gas           Gov. Aggregation   VEDO            4015675272215051            Gas           Gov. Aggregation
COH             200169880017                Gas           Gov. Aggregation   VEDO            4016570772593629            Gas           Gov. Aggregation
COH             199211620014                Gas           Gov. Aggregation   VEDO            4016041662213470            Gas           Gov. Aggregation
COH             163442530025                Gas           Gov. Aggregation   VEDO            4018408272593619            Gas           Gov. Aggregation
COH             200268010019                Gas           Gov. Aggregation   VEDO            4016655802267673            Gas           Gov. Aggregation
COH             201212820015                Gas           Gov. Aggregation   VEDO            4019407272367309            Gas           Gov. Aggregation
COH             200828570014                Gas           Gov. Aggregation   VEDO            4003836232382988            Gas           Gov. Aggregation
COH             199794970017                Gas           Gov. Aggregation   VEDO            4004153112537303            Gas           Gov. Aggregation
COH             200173490010                Gas           Gov. Aggregation   VEDO            4001988922363413            Gas           Gov. Aggregation
COH             200637870016                Gas           Gov. Aggregation   VEDO            4005045092471599            Gas           Gov. Aggregation
COH             201055320014                Gas           Gov. Aggregation   VEDO            4018557132210882            Gas           Gov. Aggregation
COH             201242710015                Gas           Gov. Aggregation   VEDO            4018153312309350            Gas           Gov. Aggregation
COH             201206950011                Gas           Gov. Aggregation   VEDO            4018351172239780            Gas           Gov. Aggregation
COH             161760520025                Gas           Gov. Aggregation   VEDO            4015289072541807            Gas           Gov. Aggregation
COH             168327710035                Gas           Gov. Aggregation   VEDO            4019949552192017            Gas           Gov. Aggregation
COH             199955450014                Gas           Gov. Aggregation   VEDO            4019393102220832            Gas           Gov. Aggregation
COH             199657690016                Gas           Gov. Aggregation   VEDO            4002080752203378            Gas           Gov. Aggregation
COH             166954210024                Gas           Gov. Aggregation   VEDO            4018156962248852            Gas           Gov. Aggregation
COH             194503860010                Gas           Gov. Aggregation   VEDO            4016489892537277            Gas           Gov. Aggregation
COH             162890760083                Gas           Gov. Aggregation   VEDO            4017518142537311            Gas           Gov. Aggregation
COH             199667100018                Gas           Gov. Aggregation   VEDO            4002458802240758            Gas           Gov. Aggregation
COH             201121820018                Gas           Gov. Aggregation   VEDO            4002247532219860            Gas           Gov. Aggregation
COH             200723900016                Gas           Gov. Aggregation   VEDO            4003416982151202            Gas           Gov. Aggregation
COH             200840240017                Gas           Gov. Aggregation   VEDO            4018836372249999            Gas           Gov. Aggregation
COH             200102330012                Gas           Gov. Aggregation   VEDO            4019447302593630            Gas           Gov. Aggregation
COH             198018750018                Gas           Gov. Aggregation   VEDO            4019524882110621            Gas           Gov. Aggregation
COH             117470280025                Gas           Gov. Aggregation   VEDO            4015378422381793            Gas           Gov. Aggregation
COH             118395390030                Gas           Gov. Aggregation   VEDO            4002667242261585            Gas           Gov. Aggregation
COH             170400090045                Gas           Gov. Aggregation   VEDO            4002378792232797            Gas           Gov. Aggregation
COH             171558610041                Gas           Gov. Aggregation   VEDO            4001647332161037            Gas           Gov. Aggregation
COH             118771330070                Gas           Gov. Aggregation   VEDO            4002023002401024            Gas           Gov. Aggregation
COH             175452060038                Gas           Gov. Aggregation   VEDO            4015595122644637            Gas           Gov. Aggregation
COH             161553030027                Gas           Gov. Aggregation   VEDO            4003147452209053            Gas           Gov. Aggregation
COH             200813940017                Gas           Gov. Aggregation   VEDO            4017911282385600            Gas           Gov. Aggregation
COH             194698620055                Gas           Gov. Aggregation   VEDO            4002861102281150            Gas           Gov. Aggregation
COH             198038630011                Gas           Gov. Aggregation   VEDO            4003782112365028            Gas           Gov. Aggregation
COH             192724750035                Gas           Gov. Aggregation   VEDO            4018414832504920            Gas           Gov. Aggregation
COH             156377270064                Gas           Gov. Aggregation   VEDO            4001392342136803            Gas           Gov. Aggregation
COH             141930580080                Gas           Gov. Aggregation   VEDO            4004206532423188            Gas           Gov. Aggregation
COH             199230750017                Gas           Gov. Aggregation   VEDO            4010089602148629            Gas           Gov. Aggregation
COH             197320970021                Gas           Gov. Aggregation   VEDO            4015512252310285            Gas           Gov. Aggregation
COH             191365240035                Gas           Gov. Aggregation   COH             110503310024                Gas           Gov. Aggregation
COH             150702960055                Gas           Gov. Aggregation   COH             195747060020                Gas           Gov. Aggregation
COH             197922340018                Gas           Gov. Aggregation   COH             173336600014                Gas           Gov. Aggregation
COH             197885280011                Gas           Gov. Aggregation   COH             110469730011                Gas           Gov. Aggregation
COH             200233810014                Gas           Gov. Aggregation   COH             110520300066                Gas           Gov. Aggregation
COH             200250750011                Gas           Gov. Aggregation   COH             185429330010                Gas           Gov. Aggregation
COH             159762440059                Gas           Gov. Aggregation   COH             175214610054                Gas           Gov. Aggregation
COH             188487220045                Gas           Gov. Aggregation   COH             200983600028                Gas           Gov. Aggregation
COH             192207120033                Gas           Gov. Aggregation   COH             110475510014                Gas           Gov. Aggregation
COH             141571200036                Gas           Gov. Aggregation   COH             110475530010                Gas           Gov. Aggregation
COH             174871860024                Gas           Gov. Aggregation   COH             194753800013                Gas           Gov. Aggregation
COH             175260780043                Gas           Gov. Aggregation   COH             197278470018                Gas           Gov. Aggregation
COH             174070210028                Gas           Gov. Aggregation   COH             156164910015                Gas           Gov. Aggregation
COH             176663900024                Gas           Gov. Aggregation   COH             188546820034                Gas           Gov. Aggregation
COH             185362320023                Gas           Gov. Aggregation   COH             200991940011                Gas           Gov. Aggregation
COH             188587280023                Gas           Gov. Aggregation   COH             153363970041                Gas           Gov. Aggregation
COH             188836760023                Gas           Gov. Aggregation   COH             110460450027                Gas           Gov. Aggregation
COH             162765850025                Gas           Gov. Aggregation   COH             159997970033                Gas           Gov. Aggregation
COH             163317760040                Gas           Gov. Aggregation   COH             166367550037                Gas           Gov. Aggregation
COH             153223650133                Gas           Gov. Aggregation   COH             198687740013                Gas           Gov. Aggregation
COH             196462330026                Gas           Gov. Aggregation   COH             198363000014                Gas           Gov. Aggregation
COH             195651370028                Gas           Gov. Aggregation   COH             110475370014                Gas           Gov. Aggregation
COH             194817280026                Gas           Gov. Aggregation   COH             196189790011                Gas           Gov. Aggregation
COH             195101210026                Gas           Gov. Aggregation   COH             196313680028                Gas           Gov. Aggregation
COH             193126540027                Gas           Gov. Aggregation   COH             196432920016                Gas           Gov. Aggregation
COH             193175560039                Gas           Gov. Aggregation   COH             174263590039                Gas           Gov. Aggregation
COH             189915710024                Gas           Gov. Aggregation   COH             200013640016                Gas           Gov. Aggregation
COH             198169890010                Gas           Gov. Aggregation   COH             190041120046                Gas           Gov. Aggregation
COH             197636490014                Gas           Gov. Aggregation   DEO             6421006000036               Gas           Gov. Aggregation
COH             197683240017                Gas           Gov. Aggregation   DEO             8420900244969               Gas           Gov. Aggregation
COH             197815490014                Gas           Gov. Aggregation   DEO             7500030899434               Gas           Gov. Aggregation
COH             198832800011                Gas           Gov. Aggregation   DEO             5421001222476               Gas           Gov. Aggregation
COH             199987440019                Gas           Gov. Aggregation   DEO             9500005127977               Gas           Gov. Aggregation
COH             200423900012                Gas           Gov. Aggregation   DEO             4120000155115               Gas           Gov. Aggregation
COH             200528960018                Gas           Gov. Aggregation   DEO             5500003953239               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             201066110015                Gas           Gov. Aggregation   DEO             3180000890777               Gas           Gov. Aggregation
COH             201079960010                Gas           Gov. Aggregation   DEO             4170000003990               Gas           Gov. Aggregation
COH             134944050036                Gas           Gov. Aggregation   DEO             3500066135637               Gas           Gov. Aggregation
COH             199733330019                Gas           Gov. Aggregation   DEO             3180004546501               Gas           Gov. Aggregation
COH             124588380017                Gas           Gov. Aggregation   DEO             8180004515879               Gas           Gov. Aggregation
COH             124577250035                Gas           Gov. Aggregation   DEO             7180002012826               Gas           Gov. Aggregation
COH             175293090129                Gas           Gov. Aggregation   DEO             8180003767848               Gas           Gov. Aggregation
COH             189848170030                Gas           Gov. Aggregation   DEO             1180001322099               Gas           Gov. Aggregation
COH             185790310055                Gas           Gov. Aggregation   DEO             2180002277835               Gas           Gov. Aggregation
COH             194495880024                Gas           Gov. Aggregation   DEO             3500049465527               Gas           Gov. Aggregation
COH             194556840022                Gas           Gov. Aggregation   DEO             2180003714206               Gas           Gov. Aggregation
COH             138555500014                Gas           Gov. Aggregation   DEO             7180002476457               Gas           Gov. Aggregation
COH             145747150334                Gas           Gov. Aggregation   DEO             8180003246887               Gas           Gov. Aggregation
COH             156627540057                Gas           Gov. Aggregation   DEO             2180003685418               Gas           Gov. Aggregation
COH             155479850263                Gas           Gov. Aggregation   DEO             6180001562772               Gas           Gov. Aggregation
COH             198869960011                Gas           Gov. Aggregation   DEO             6180003487314               Gas           Gov. Aggregation
COH             198818030013                Gas           Gov. Aggregation   DEO             7180003259249               Gas           Gov. Aggregation
COH             197576500019                Gas           Gov. Aggregation   DEO             1180002204802               Gas           Gov. Aggregation
COH             188721620043                Gas           Gov. Aggregation   DEO             8180004676318               Gas           Gov. Aggregation
COH             124616480015                Gas           Gov. Aggregation   DEO             0180004034432               Gas           Gov. Aggregation
COH             192146840023                Gas           Gov. Aggregation   DEO             4180003737383               Gas           Gov. Aggregation
COH             194699970032                Gas           Gov. Aggregation   DEO             0180004687683               Gas           Gov. Aggregation
COH             134422420061                Gas           Gov. Aggregation   DEO             0180004261262               Gas           Gov. Aggregation
COH             167795780068                Gas           Gov. Aggregation   DEO             5180003996370               Gas           Gov. Aggregation
COH             162541330019                Gas           Gov. Aggregation   DEO             7180003623160               Gas           Gov. Aggregation
COH             160583730126                Gas           Gov. Aggregation   DEO             7140000027725               Gas           Gov. Aggregation
COH             191915920044                Gas           Gov. Aggregation   DEO             2180004691453               Gas           Gov. Aggregation
COH             174499160067                Gas           Gov. Aggregation   DEO             4180004579997               Gas           Gov. Aggregation
COH             175825270051                Gas           Gov. Aggregation   DEO             7180003531611               Gas           Gov. Aggregation
COH             186118920014                Gas           Gov. Aggregation   DEO             2180002659022               Gas           Gov. Aggregation
COH             186527920053                Gas           Gov. Aggregation   DEO             0180002637685               Gas           Gov. Aggregation
COH             185358090067                Gas           Gov. Aggregation   DEO             1180003869768               Gas           Gov. Aggregation
COH             200901750010                Gas           Gov. Aggregation   DEO             9180001650496               Gas           Gov. Aggregation
COH             200860180018                Gas           Gov. Aggregation   DEO             3180003526759               Gas           Gov. Aggregation
COH             190834530030                Gas           Gov. Aggregation   DEO             3180004512423               Gas           Gov. Aggregation
COH             196125940031                Gas           Gov. Aggregation   DEO             6180003140642               Gas           Gov. Aggregation
COH             196125940040                Gas           Gov. Aggregation   DEO             2500036389237               Gas           Gov. Aggregation
COH             185814920037                Gas           Gov. Aggregation   DEO             8180004658648               Gas           Gov. Aggregation
COH             160636830033                Gas           Gov. Aggregation   DEO             4180004707062               Gas           Gov. Aggregation
COH             124564890038                Gas           Gov. Aggregation   DEO             1180002003963               Gas           Gov. Aggregation
COH             169015910097                Gas           Gov. Aggregation   DEO             9180002247676               Gas           Gov. Aggregation
COH             198318080031                Gas           Gov. Aggregation   DEO             6180000121850               Gas           Gov. Aggregation
COH             200658730011                Gas           Gov. Aggregation   DEO             1500065474273               Gas           Gov. Aggregation
COH             200579590019                Gas           Gov. Aggregation   DEO             9180003695308               Gas           Gov. Aggregation
COH             200729310018                Gas           Gov. Aggregation   DEO             9180004196165               Gas           Gov. Aggregation
COH             200703670017                Gas           Gov. Aggregation   DEO             5180002753731               Gas           Gov. Aggregation
COH             201253900012                Gas           Gov. Aggregation   DEO             7180003950345               Gas           Gov. Aggregation
COH             165374740131                Gas           Gov. Aggregation   DEO             7180004743677               Gas           Gov. Aggregation
COH             126570740061                Gas           Gov. Aggregation   DEO             6180003844492               Gas           Gov. Aggregation
COH             168905970017                Gas           Gov. Aggregation   DEO             8500062967833               Gas           Gov. Aggregation
COH             158891420015                Gas           Gov. Aggregation   DEO             8500065161541               Gas           Gov. Aggregation
COH             158442930037                Gas           Gov. Aggregation   DEO             8500064611717               Gas           Gov. Aggregation
COH             156061830010                Gas           Gov. Aggregation   DEO             0180003029212               Gas           Gov. Aggregation
COH             115809220039                Gas           Gov. Aggregation   DEO             7180000793735               Gas           Gov. Aggregation
COH             165206950016                Gas           Gov. Aggregation   DEO             7180004319478               Gas           Gov. Aggregation
COH             196352210015                Gas           Gov. Aggregation   DEO             7180004429916               Gas           Gov. Aggregation
COH             197305260013                Gas           Gov. Aggregation   DEO             8180002926983               Gas           Gov. Aggregation
COH             193618830032                Gas           Gov. Aggregation   DEO             4180002774540               Gas           Gov. Aggregation
COH             200358880016                Gas           Gov. Aggregation   DEO             7180002520044               Gas           Gov. Aggregation
COH             201182120017                Gas           Gov. Aggregation   COH             199317850012                Gas           Gov. Aggregation
COH             201179940012                Gas           Gov. Aggregation   COH             199771840012                Gas           Gov. Aggregation
COH             115810070010                Gas           Gov. Aggregation   COH             198339640011                Gas           Gov. Aggregation
VEDO            4002235982300357            Gas           Gov. Aggregation   COH             167164130061                Gas           Gov. Aggregation
VEDO            4002903462285319            Gas           Gov. Aggregation   COH             191327560029                Gas           Gov. Aggregation
VEDO            4019751392500727            Gas           Gov. Aggregation   COH             199002260013                Gas           Gov. Aggregation
VEDO            4019512412520572            Gas           Gov. Aggregation   DEO             8500064273256               Gas           Gov. Aggregation
VEDO            4004389562522141            Gas           Gov. Aggregation   COH             193068740010                Gas           Gov. Aggregation
VEDO            4003102282643287            Gas           Gov. Aggregation   COH             171044690017                Gas           Gov. Aggregation
VEDO            4016867672331798            Gas           Gov. Aggregation   COH             147288750018                Gas           Gov. Aggregation
VEDO            4018696682639206            Gas           Gov. Aggregation   COH             132565890036                Gas           Gov. Aggregation
VEDO            4019247052636545            Gas           Gov. Aggregation   COH             131516660056                Gas           Gov. Aggregation
VEDO            4019136782149009            Gas           Gov. Aggregation   COH             202173190011                Gas           Gov. Aggregation
VEDO            4019885972104139            Gas           Gov. Aggregation   COH             200446330014                Gas           Gov. Aggregation
VEDO            4019795892194451            Gas           Gov. Aggregation   COH             143298040010                Gas           Gov. Aggregation
VEDO            4019799072306421            Gas           Gov. Aggregation   COH             191818060014                Gas           Gov. Aggregation
VEDO            4002941522182899            Gas           Gov. Aggregation   COH             188488860012                Gas           Gov. Aggregation
VEDO            4017965192289351            Gas           Gov. Aggregation   COH             169592650018                Gas           Gov. Aggregation
VEDO            4017978022173449            Gas           Gov. Aggregation   COH             202199720015                Gas           Gov. Aggregation
VEDO            4019910262371311            Gas           Gov. Aggregation   COH             200159530011                Gas           Gov. Aggregation
VEDO            4003229382318897            Gas           Gov. Aggregation   COH             173323240017                Gas           Gov. Aggregation
VEDO            4002803392361335            Gas           Gov. Aggregation   COH             172351380010                Gas           Gov. Aggregation
VEDO            4018357682323188            Gas           Gov. Aggregation   COH             133148430026                Gas           Gov. Aggregation
VEDO            4019942232178416            Gas           Gov. Aggregation   COH             129347650015                Gas           Gov. Aggregation
VEDO            4019902112267807            Gas           Gov. Aggregation   DEO             5421005904621               Gas           Gov. Aggregation
VEDO            4019879762428407            Gas           Gov. Aggregation   DEO             6421004647145               Gas           Gov. Aggregation
VEDO            4017910892268915            Gas           Gov. Aggregation   DEO             8120000171308               Gas           Gov. Aggregation
VEDO            4016148362423779            Gas           Gov. Aggregation   COH             161270030018                Gas           Gov. Aggregation
VEDO            4017338172161395            Gas           Gov. Aggregation   DEO             1421002261429               Gas           Gov. Aggregation
VEDO            4019229332208306            Gas           Gov. Aggregation   DEO             5180005411862               Gas           Gov. Aggregation
VEDO            4019943472357595            Gas           Gov. Aggregation   COH             202676050014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4003551332352602            Gas           Gov. Aggregation   DEO             8180005203497               Gas           Gov. Aggregation
VEDO            4019939072458298            Gas           Gov. Aggregation   DEO             3180004995204               Gas           Gov. Aggregation
VEDO            4019911402142286            Gas           Gov. Aggregation   COH             189299200038                Gas           Gov. Aggregation
VEDO            4017345992274226            Gas           Gov. Aggregation   COH             153157000023                Gas           Gov. Aggregation
VEDO            4019943712234008            Gas           Gov. Aggregation   COH             193137070014                Gas           Gov. Aggregation
VEDO            4019956032383297            Gas           Gov. Aggregation   COH             122494650011                Gas           Gov. Aggregation
VEDO            4019957842421465            Gas           Gov. Aggregation   COH             145083920018                Gas           Gov. Aggregation
VEDO            4019850812671976            Gas           Gov. Aggregation   COH             122357780014                Gas           Gov. Aggregation
VEDO            4019906662377838            Gas           Gov. Aggregation   COH             200418300019                Gas           Gov. Aggregation
VEDO            4015180342672316            Gas           Gov. Aggregation   COH             144099900029                Gas           Gov. Aggregation
VEDO            4016726742330004            Gas           Gov. Aggregation   COH             132826040058                Gas           Gov. Aggregation
VEDO            4002152562410399            Gas           Gov. Aggregation   COH             122422120022                Gas           Gov. Aggregation
VEDO            4002531962635497            Gas           Gov. Aggregation   COH             122479050019                Gas           Gov. Aggregation
VEDO            4018662252298938            Gas           Gov. Aggregation   COH             122502420029                Gas           Gov. Aggregation
VEDO            4019888322323582            Gas           Gov. Aggregation   COH             122499930012                Gas           Gov. Aggregation
VEDO            4019950932462903            Gas           Gov. Aggregation   COH             122499920014                Gas           Gov. Aggregation
DEO             8421005589698               Gas           Gov. Aggregation   COH             144791700023                Gas           Gov. Aggregation
COH             111329210015                Gas           Gov. Aggregation   COH             122495320018                Gas           Gov. Aggregation
COH             199426220013                Gas           Gov. Aggregation   COH             122495340014                Gas           Gov. Aggregation
COH             111327640037                Gas           Gov. Aggregation   COH             122495670024                Gas           Gov. Aggregation
COH             111328970018                Gas           Gov. Aggregation   COH             139855440065                Gas           Gov. Aggregation
COH             200055820010                Gas           Gov. Aggregation   COH             122464560013                Gas           Gov. Aggregation
COH             156273380016                Gas           Gov. Aggregation   COH             122487760059                Gas           Gov. Aggregation
COH             201231280019                Gas           Gov. Aggregation   COH             142681810025                Gas           Gov. Aggregation
COH             189675480014                Gas           Gov. Aggregation   COH             122355140012                Gas           Gov. Aggregation
COH             199727520012                Gas           Gov. Aggregation   COH             122341930024                Gas           Gov. Aggregation
COH             199218170015                Gas           Gov. Aggregation   COH             122343720024                Gas           Gov. Aggregation
COH             198025280012                Gas           Gov. Aggregation   COH             122344680049                Gas           Gov. Aggregation
COH             195690950015                Gas           Gov. Aggregation   COH             122354690206                Gas           Gov. Aggregation
COH             140944110062                Gas           Gov. Aggregation   COH             122380300033                Gas           Gov. Aggregation
COH             197607840011                Gas           Gov. Aggregation   COH             122382710033                Gas           Gov. Aggregation
COH             197008100025                Gas           Gov. Aggregation   COH             122383510015                Gas           Gov. Aggregation
COH             198092950038                Gas           Gov. Aggregation   COH             122390450022                Gas           Gov. Aggregation
COH             199412300015                Gas           Gov. Aggregation   COH             122391040062                Gas           Gov. Aggregation
COH             199498180011                Gas           Gov. Aggregation   COH             122399070024                Gas           Gov. Aggregation
COH             199284590018                Gas           Gov. Aggregation   COH             122404790020                Gas           Gov. Aggregation
COH             192969960015                Gas           Gov. Aggregation   COH             122452620024                Gas           Gov. Aggregation
COH             194054910021                Gas           Gov. Aggregation   COH             122455690088                Gas           Gov. Aggregation
COH             133336360013                Gas           Gov. Aggregation   COH             122460640032                Gas           Gov. Aggregation
COH             198346730017                Gas           Gov. Aggregation   COH             122467570024                Gas           Gov. Aggregation
COH             197513460010                Gas           Gov. Aggregation   COH             122469730026                Gas           Gov. Aggregation
COH             198660280016                Gas           Gov. Aggregation   COH             122469910046                Gas           Gov. Aggregation
COH             199446800019                Gas           Gov. Aggregation   COH             122477620022                Gas           Gov. Aggregation
COH             200650640016                Gas           Gov. Aggregation   COH             122485730013                Gas           Gov. Aggregation
COH             132869950020                Gas           Gov. Aggregation   COH             122490720023                Gas           Gov. Aggregation
COH             201034550010                Gas           Gov. Aggregation   COH             122497940023                Gas           Gov. Aggregation
COH             121881090028                Gas           Gov. Aggregation   COH             129012310640                Gas           Gov. Aggregation
COH             186278220013                Gas           Gov. Aggregation   COH             129012312111                Gas           Gov. Aggregation
COH             198138420013                Gas           Gov. Aggregation   COH             129137290034                Gas           Gov. Aggregation
COH             200712350015                Gas           Gov. Aggregation   COH             130114750916                Gas           Gov. Aggregation
COH             172090540010                Gas           Gov. Aggregation   COH             137245780023                Gas           Gov. Aggregation
COH             149230340013                Gas           Gov. Aggregation   COH             137286140101                Gas           Gov. Aggregation
COH             176956040024                Gas           Gov. Aggregation   COH             137286140110                Gas           Gov. Aggregation
COH             200753690018                Gas           Gov. Aggregation   COH             138910420204                Gas           Gov. Aggregation
COH             198643260016                Gas           Gov. Aggregation   COH             138933510038                Gas           Gov. Aggregation
COH             133619430045                Gas           Gov. Aggregation   COH             142391620155                Gas           Gov. Aggregation
COH             116954480064                Gas           Gov. Aggregation   COH             142620160084                Gas           Gov. Aggregation
COH             200158360019                Gas           Gov. Aggregation   COH             142737480044                Gas           Gov. Aggregation
COH             200999170017                Gas           Gov. Aggregation   COH             142737490097                Gas           Gov. Aggregation
COH             196451170014                Gas           Gov. Aggregation   COH             150216030033                Gas           Gov. Aggregation
COH             196685860014                Gas           Gov. Aggregation   COH             151553000070                Gas           Gov. Aggregation
COH             189750360037                Gas           Gov. Aggregation   COH             151817160111                Gas           Gov. Aggregation
COH             172879860011                Gas           Gov. Aggregation   COH             151825880051                Gas           Gov. Aggregation
COH             168456730010                Gas           Gov. Aggregation   COH             153514250041                Gas           Gov. Aggregation
COH             187305960063                Gas           Gov. Aggregation   COH             153700240084                Gas           Gov. Aggregation
COH             197250310019                Gas           Gov. Aggregation   COH             153862830033                Gas           Gov. Aggregation
COH             177154090032                Gas           Gov. Aggregation   COH             154002310088                Gas           Gov. Aggregation
COH             144108450078                Gas           Gov. Aggregation   COH             156421130120                Gas           Gov. Aggregation
COH             117363270015                Gas           Gov. Aggregation   COH             158379210033                Gas           Gov. Aggregation
COH             131676690016                Gas           Gov. Aggregation   COH             158539480064                Gas           Gov. Aggregation
COH             199238390017                Gas           Gov. Aggregation   COH             158618930052                Gas           Gov. Aggregation
COH             169980350027                Gas           Gov. Aggregation   COH             158830190021                Gas           Gov. Aggregation
COH             177389370045                Gas           Gov. Aggregation   COH             161833320086                Gas           Gov. Aggregation
COH             188221040018                Gas           Gov. Aggregation   COH             161954750035                Gas           Gov. Aggregation
COH             167712020052                Gas           Gov. Aggregation   COH             162100340039                Gas           Gov. Aggregation
COH             199615980013                Gas           Gov. Aggregation   COH             167622640044                Gas           Gov. Aggregation
COH             151490530082                Gas           Gov. Aggregation   COH             167685270022                Gas           Gov. Aggregation
COH             136956630046                Gas           Gov. Aggregation   COH             167852760033                Gas           Gov. Aggregation
COH             188142360028                Gas           Gov. Aggregation   COH             169581380027                Gas           Gov. Aggregation
COH             190255720047                Gas           Gov. Aggregation   COH             170597320247                Gas           Gov. Aggregation
COH             157535930013                Gas           Gov. Aggregation   COH             170734460059                Gas           Gov. Aggregation
COH             196992780010                Gas           Gov. Aggregation   COH             170761190031                Gas           Gov. Aggregation
COH             189043110038                Gas           Gov. Aggregation   COH             171047350110                Gas           Gov. Aggregation
COH             146905280107                Gas           Gov. Aggregation   COH             171088910027                Gas           Gov. Aggregation
COH             131786050035                Gas           Gov. Aggregation   COH             171378430023                Gas           Gov. Aggregation
COH             136570950083                Gas           Gov. Aggregation   COH             173071440074                Gas           Gov. Aggregation
COH             159693270016                Gas           Gov. Aggregation   COH             173411930015                Gas           Gov. Aggregation
COH             192179280013                Gas           Gov. Aggregation   COH             173495670041                Gas           Gov. Aggregation
COH             167212500033                Gas           Gov. Aggregation   COH             173546050051                Gas           Gov. Aggregation
COH             193851960022                Gas           Gov. Aggregation   COH             174232020033                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             199587610011                Gas           Gov. Aggregation   COH             174267180028                Gas           Gov. Aggregation
COH             152675980021                Gas           Gov. Aggregation   COH             174708470101                Gas           Gov. Aggregation
COH             176150940032                Gas           Gov. Aggregation   COH             174809630032                Gas           Gov. Aggregation
COH             177498180035                Gas           Gov. Aggregation   COH             175076510022                Gas           Gov. Aggregation
COH             193028110025                Gas           Gov. Aggregation   COH             176408380088                Gas           Gov. Aggregation
COH             166145050023                Gas           Gov. Aggregation   COH             176604130039                Gas           Gov. Aggregation
COH             158032370089                Gas           Gov. Aggregation   COH             185408940025                Gas           Gov. Aggregation
COH             193964650019                Gas           Gov. Aggregation   COH             185522790043                Gas           Gov. Aggregation
COH             117356800018                Gas           Gov. Aggregation   COH             185699540033                Gas           Gov. Aggregation
COH             195455490038                Gas           Gov. Aggregation   COH             186171440040                Gas           Gov. Aggregation
COH             147888770021                Gas           Gov. Aggregation   COH             186171440068                Gas           Gov. Aggregation
COH             117906090039                Gas           Gov. Aggregation   COH             186323210027                Gas           Gov. Aggregation
COH             199644860017                Gas           Gov. Aggregation   COH             186840600029                Gas           Gov. Aggregation
COH             117334960011                Gas           Gov. Aggregation   COH             187664290037                Gas           Gov. Aggregation
COH             197222220035                Gas           Gov. Aggregation   COH             187685470026                Gas           Gov. Aggregation
COH             134093730010                Gas           Gov. Aggregation   COH             187797300140                Gas           Gov. Aggregation
COH             196022460021                Gas           Gov. Aggregation   COH             187816770097                Gas           Gov. Aggregation
COH             165686070079                Gas           Gov. Aggregation   COH             187866420031                Gas           Gov. Aggregation
COH             118310450053                Gas           Gov. Aggregation   COH             188178050055                Gas           Gov. Aggregation
COH             187305960018                Gas           Gov. Aggregation   COH             188184720024                Gas           Gov. Aggregation
COH             194855940027                Gas           Gov. Aggregation   COH             188792640013                Gas           Gov. Aggregation
COH             192726850012                Gas           Gov. Aggregation   COH             188948810034                Gas           Gov. Aggregation
COH             187664030031                Gas           Gov. Aggregation   COH             189137780020                Gas           Gov. Aggregation
COH             167137450025                Gas           Gov. Aggregation   COH             189511650014                Gas           Gov. Aggregation
COH             167507430024                Gas           Gov. Aggregation   COH             189695580039                Gas           Gov. Aggregation
COH             165354510015                Gas           Gov. Aggregation   COH             189715300024                Gas           Gov. Aggregation
COH             167065210019                Gas           Gov. Aggregation   COH             190121210029                Gas           Gov. Aggregation
COH             193433310024                Gas           Gov. Aggregation   COH             190901410041                Gas           Gov. Aggregation
COH             143471500033                Gas           Gov. Aggregation   COH             190914970038                Gas           Gov. Aggregation
COH             186066440016                Gas           Gov. Aggregation   COH             190964810036                Gas           Gov. Aggregation
COH             174562190011                Gas           Gov. Aggregation   COH             191349540027                Gas           Gov. Aggregation
COH             117333970011                Gas           Gov. Aggregation   COH             191511600029                Gas           Gov. Aggregation
COH             176336330018                Gas           Gov. Aggregation   COH             191698250038                Gas           Gov. Aggregation
COH             133725360027                Gas           Gov. Aggregation   COH             191761560038                Gas           Gov. Aggregation
COH             196313780018                Gas           Gov. Aggregation   COH             191781340023                Gas           Gov. Aggregation
COH             197338200016                Gas           Gov. Aggregation   COH             191812200025                Gas           Gov. Aggregation
COH             164169230018                Gas           Gov. Aggregation   COH             191833070029                Gas           Gov. Aggregation
COH             171037580024                Gas           Gov. Aggregation   COH             192097340041                Gas           Gov. Aggregation
COH             167570580020                Gas           Gov. Aggregation   COH             192139980038                Gas           Gov. Aggregation
COH             199858460018                Gas           Gov. Aggregation   COH             192214910023                Gas           Gov. Aggregation
COH             188257970027                Gas           Gov. Aggregation   COH             192369510048                Gas           Gov. Aggregation
COH             186473690039                Gas           Gov. Aggregation   COH             192397040100                Gas           Gov. Aggregation
COH             138322870056                Gas           Gov. Aggregation   COH             192409480085                Gas           Gov. Aggregation
COH             198396800017                Gas           Gov. Aggregation   COH             192742600056                Gas           Gov. Aggregation
COH             156720340015                Gas           Gov. Aggregation   COH             192860090027                Gas           Gov. Aggregation
COH             197094930011                Gas           Gov. Aggregation   COH             193347890026                Gas           Gov. Aggregation
COH             171508830013                Gas           Gov. Aggregation   COH             193423160054                Gas           Gov. Aggregation
COH             158313250051                Gas           Gov. Aggregation   COH             193596630023                Gas           Gov. Aggregation
COH             185474510071                Gas           Gov. Aggregation   COH             194035630039                Gas           Gov. Aggregation
COH             192898320029                Gas           Gov. Aggregation   COH             194517220015                Gas           Gov. Aggregation
COH             198419910014                Gas           Gov. Aggregation   COH             194597900032                Gas           Gov. Aggregation
COH             173332850010                Gas           Gov. Aggregation   COH             195152300039                Gas           Gov. Aggregation
COH             165740130025                Gas           Gov. Aggregation   COH             195160850019                Gas           Gov. Aggregation
COH             191895340013                Gas           Gov. Aggregation   COH             195554210027                Gas           Gov. Aggregation
COH             192718880013                Gas           Gov. Aggregation   COH             195658930026                Gas           Gov. Aggregation
COH             117292220016                Gas           Gov. Aggregation   COH             195680630022                Gas           Gov. Aggregation
COH             188685530059                Gas           Gov. Aggregation   COH             195724890024                Gas           Gov. Aggregation
COH             191718550022                Gas           Gov. Aggregation   COH             196148230023                Gas           Gov. Aggregation
COH             160062100033                Gas           Gov. Aggregation   COH             196184750028                Gas           Gov. Aggregation
COH             117331430018                Gas           Gov. Aggregation   COH             196274160021                Gas           Gov. Aggregation
COH             197507950010                Gas           Gov. Aggregation   COH             196611930023                Gas           Gov. Aggregation
COH             195342360016                Gas           Gov. Aggregation   COH             196718760023                Gas           Gov. Aggregation
COH             117308300014                Gas           Gov. Aggregation   COH             196960970026                Gas           Gov. Aggregation
COH             200963590014                Gas           Gov. Aggregation   COH             196974990032                Gas           Gov. Aggregation
COH             175419650025                Gas           Gov. Aggregation   COH             197088920034                Gas           Gov. Aggregation
COH             192943790015                Gas           Gov. Aggregation   COH             197090770022                Gas           Gov. Aggregation
COH             196332350018                Gas           Gov. Aggregation   COH             197304180021                Gas           Gov. Aggregation
COH             199252500013                Gas           Gov. Aggregation   COH             197305130038                Gas           Gov. Aggregation
COH             146483010010                Gas           Gov. Aggregation   COH             197350880036                Gas           Gov. Aggregation
COH             117331760019                Gas           Gov. Aggregation   COH             198385030021                Gas           Gov. Aggregation
COH             132058340054                Gas           Gov. Aggregation   COH             198625000027                Gas           Gov. Aggregation
COH             117309730012                Gas           Gov. Aggregation   COH             198632440020                Gas           Gov. Aggregation
COH             198068260016                Gas           Gov. Aggregation   COH             198685080016                Gas           Gov. Aggregation
COH             126947460016                Gas           Gov. Aggregation   COH             198685940033                Gas           Gov. Aggregation
COH             154130080059                Gas           Gov. Aggregation   COH             198715090028                Gas           Gov. Aggregation
COH             162227570033                Gas           Gov. Aggregation   COH             198872240033                Gas           Gov. Aggregation
COH             117422180027                Gas           Gov. Aggregation   COH             198885700011                Gas           Gov. Aggregation
COH             174086800021                Gas           Gov. Aggregation   COH             198895890020                Gas           Gov. Aggregation
COH             166300390031                Gas           Gov. Aggregation   COH             199006330010                Gas           Gov. Aggregation
COH             150901710019                Gas           Gov. Aggregation   COH             199203230022                Gas           Gov. Aggregation
COH             196841310017                Gas           Gov. Aggregation   COH             199253540022                Gas           Gov. Aggregation
COH             200431490012                Gas           Gov. Aggregation   COH             199378530039                Gas           Gov. Aggregation
COH             148216110030                Gas           Gov. Aggregation   COH             199617130026                Gas           Gov. Aggregation
COH             162498110018                Gas           Gov. Aggregation   COH             199652520020                Gas           Gov. Aggregation
COH             117239640029                Gas           Gov. Aggregation   COH             199670880036                Gas           Gov. Aggregation
COH             117293680018                Gas           Gov. Aggregation   COH             199813010025                Gas           Gov. Aggregation
COH             174979800019                Gas           Gov. Aggregation   COH             200028750030                Gas           Gov. Aggregation
COH             200527260017                Gas           Gov. Aggregation   COH             200084580010                Gas           Gov. Aggregation
COH             128757430086                Gas           Gov. Aggregation   COH             200088600017                Gas           Gov. Aggregation
COH             164191660011                Gas           Gov. Aggregation   COH             200230870018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             159028990023                Gas           Gov. Aggregation   COH             200236660010                Gas           Gov. Aggregation
COH             200591630014                Gas           Gov. Aggregation   COH             200253320015                Gas           Gov. Aggregation
COH             135551430029                Gas           Gov. Aggregation   COH             200351430014                Gas           Gov. Aggregation
COH             199751800012                Gas           Gov. Aggregation   COH             200394010012                Gas           Gov. Aggregation
COH             154122660036                Gas           Gov. Aggregation   COH             200395290012                Gas           Gov. Aggregation
COH             117364830033                Gas           Gov. Aggregation   COH             200399450010                Gas           Gov. Aggregation
COH             189483060046                Gas           Gov. Aggregation   COH             200417000014                Gas           Gov. Aggregation
COH             126709290025                Gas           Gov. Aggregation   COH             200450990017                Gas           Gov. Aggregation
COH             195326700018                Gas           Gov. Aggregation   COH             200511340013                Gas           Gov. Aggregation
COH             200153740019                Gas           Gov. Aggregation   COH             200515670025                Gas           Gov. Aggregation
COH             156190230013                Gas           Gov. Aggregation   COH             200516090016                Gas           Gov. Aggregation
COH             171073720082                Gas           Gov. Aggregation   COH             200520200013                Gas           Gov. Aggregation
COH             174956800035                Gas           Gov. Aggregation   COH             200554540011                Gas           Gov. Aggregation
COH             117450230027                Gas           Gov. Aggregation   COH             200604300014                Gas           Gov. Aggregation
COH             117373490027                Gas           Gov. Aggregation   COH             200613870016                Gas           Gov. Aggregation
COH             117427850026                Gas           Gov. Aggregation   COH             200613880014                Gas           Gov. Aggregation
COH             158165680154                Gas           Gov. Aggregation   COH             200644450019                Gas           Gov. Aggregation
COH             158165680172                Gas           Gov. Aggregation   COH             200645880017                Gas           Gov. Aggregation
COH             198512860017                Gas           Gov. Aggregation   COH             200658490012                Gas           Gov. Aggregation
COH             197109350029                Gas           Gov. Aggregation   COH             200658500019                Gas           Gov. Aggregation
COH             177526760023                Gas           Gov. Aggregation   COH             200692930017                Gas           Gov. Aggregation
COH             117275520046                Gas           Gov. Aggregation   COH             200698500015                Gas           Gov. Aggregation
COH             201219920010                Gas           Gov. Aggregation   COH             200704200013                Gas           Gov. Aggregation
COH             175941630013                Gas           Gov. Aggregation   COH             200740470011                Gas           Gov. Aggregation
COH             196364430014                Gas           Gov. Aggregation   COH             200745940012                Gas           Gov. Aggregation
COH             172229450032                Gas           Gov. Aggregation   COH             200796060010                Gas           Gov. Aggregation
COH             173244150023                Gas           Gov. Aggregation   COH             200828640019                Gas           Gov. Aggregation
COH             117304320018                Gas           Gov. Aggregation   COH             200828660015                Gas           Gov. Aggregation
COH             189236470043                Gas           Gov. Aggregation   COH             200828670013                Gas           Gov. Aggregation
COH             177154560024                Gas           Gov. Aggregation   COH             200833040014                Gas           Gov. Aggregation
COH             171217080054                Gas           Gov. Aggregation   COH             200833860012                Gas           Gov. Aggregation
COH             117273380013                Gas           Gov. Aggregation   COH             200840650011                Gas           Gov. Aggregation
COH             155135700057                Gas           Gov. Aggregation   COH             200860130018                Gas           Gov. Aggregation
COH             117273420014                Gas           Gov. Aggregation   COH             200901670017                Gas           Gov. Aggregation
COH             132403910051                Gas           Gov. Aggregation   COH             200909180014                Gas           Gov. Aggregation
COH             117273240012                Gas           Gov. Aggregation   COH             200921550010                Gas           Gov. Aggregation
COH             145600130105                Gas           Gov. Aggregation   COH             200921570016                Gas           Gov. Aggregation
COH             142118310032                Gas           Gov. Aggregation   COH             200962430019                Gas           Gov. Aggregation
COH             133235030025                Gas           Gov. Aggregation   COH             200962430037                Gas           Gov. Aggregation
COH             118299160149                Gas           Gov. Aggregation   COH             200962430055                Gas           Gov. Aggregation
COH             197304390054                Gas           Gov. Aggregation   COH             200962430073                Gas           Gov. Aggregation
COH             163341800040                Gas           Gov. Aggregation   COH             201017700014                Gas           Gov. Aggregation
COH             144985830025                Gas           Gov. Aggregation   COH             201023970015                Gas           Gov. Aggregation
COH             137778620018                Gas           Gov. Aggregation   COH             201024470018                Gas           Gov. Aggregation
COH             155301410064                Gas           Gov. Aggregation   COH             201038130010                Gas           Gov. Aggregation
COH             187028700010                Gas           Gov. Aggregation   COH             201040780019                Gas           Gov. Aggregation
COH             173423470017                Gas           Gov. Aggregation   COH             201115390012                Gas           Gov. Aggregation
COH             197853250014                Gas           Gov. Aggregation   COH             201115410017                Gas           Gov. Aggregation
COH             198278750018                Gas           Gov. Aggregation   COH             201144300019                Gas           Gov. Aggregation
COH             200348620011                Gas           Gov. Aggregation   COH             201145620010                Gas           Gov. Aggregation
COH             175941600028                Gas           Gov. Aggregation   COH             201153540010                Gas           Gov. Aggregation
COH             199028950014                Gas           Gov. Aggregation   COH             201153550018                Gas           Gov. Aggregation
COH             169055010038                Gas           Gov. Aggregation   COH             201153580012                Gas           Gov. Aggregation
COH             174881170019                Gas           Gov. Aggregation   COH             201163830018                Gas           Gov. Aggregation
COH             174304500048                Gas           Gov. Aggregation   COH             201206980015                Gas           Gov. Aggregation
COH             191208630017                Gas           Gov. Aggregation   COH             201206990013                Gas           Gov. Aggregation
COH             164848780013                Gas           Gov. Aggregation   COH             201207010016                Gas           Gov. Aggregation
COH             175335380039                Gas           Gov. Aggregation   COH             201220160017                Gas           Gov. Aggregation
COH             151080820026                Gas           Gov. Aggregation   COH             201268330011                Gas           Gov. Aggregation
COH             117287040024                Gas           Gov. Aggregation   COH             201269070014                Gas           Gov. Aggregation
COH             200947660013                Gas           Gov. Aggregation   COH             201273460013                Gas           Gov. Aggregation
COH             188321030036                Gas           Gov. Aggregation   COH             201275190016                Gas           Gov. Aggregation
COH             196027030012                Gas           Gov. Aggregation   COH             201276420015                Gas           Gov. Aggregation
COH             199004170018                Gas           Gov. Aggregation   COH             201311190018                Gas           Gov. Aggregation
COH             116899540023                Gas           Gov. Aggregation   COH             201311200024                Gas           Gov. Aggregation
COH             199785940012                Gas           Gov. Aggregation   COH             201311210013                Gas           Gov. Aggregation
COH             196894230022                Gas           Gov. Aggregation   COH             201311220011                Gas           Gov. Aggregation
COH             170091960076                Gas           Gov. Aggregation   COH             201347010010                Gas           Gov. Aggregation
COH             194780440021                Gas           Gov. Aggregation   COH             201353020015                Gas           Gov. Aggregation
COH             196346090023                Gas           Gov. Aggregation   COH             201402020010                Gas           Gov. Aggregation
COH             151054930019                Gas           Gov. Aggregation   COH             201402030018                Gas           Gov. Aggregation
COH             171518440023                Gas           Gov. Aggregation   COH             201402050014                Gas           Gov. Aggregation
COH             167439070025                Gas           Gov. Aggregation   COH             201410890011                Gas           Gov. Aggregation
COH             117319920020                Gas           Gov. Aggregation   COH             201417060011                Gas           Gov. Aggregation
COH             201009080012                Gas           Gov. Aggregation   COH             201423130013                Gas           Gov. Aggregation
COH             163537280027                Gas           Gov. Aggregation   COH             201450150012                Gas           Gov. Aggregation
COH             160021850050                Gas           Gov. Aggregation   COH             201450190014                Gas           Gov. Aggregation
COH             186513190010                Gas           Gov. Aggregation   COH             201450210019                Gas           Gov. Aggregation
COH             192708220030                Gas           Gov. Aggregation   COH             201450230015                Gas           Gov. Aggregation
COH             170951570029                Gas           Gov. Aggregation   COH             201450260019                Gas           Gov. Aggregation
COH             194771490011                Gas           Gov. Aggregation   COH             201484010010                Gas           Gov. Aggregation
COH             155816090105                Gas           Gov. Aggregation   COH             201485280012                Gas           Gov. Aggregation
COH             168857230024                Gas           Gov. Aggregation   COH             201495320012                Gas           Gov. Aggregation
COH             193332320035                Gas           Gov. Aggregation   COH             201510210011                Gas           Gov. Aggregation
COH             191255750013                Gas           Gov. Aggregation   COH             201533110014                Gas           Gov. Aggregation
COH             201115100012                Gas           Gov. Aggregation   COH             201588610014                Gas           Gov. Aggregation
COH             200324790016                Gas           Gov. Aggregation   COH             201595860017                Gas           Gov. Aggregation
COH             172743780060                Gas           Gov. Aggregation   COH             201617410013                Gas           Gov. Aggregation
COH             192827270038                Gas           Gov. Aggregation   COH             201617520010                Gas           Gov. Aggregation
COH             117333900024                Gas           Gov. Aggregation   COH             201655450015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             155624970072                Gas           Gov. Aggregation   COH             201655630017                Gas           Gov. Aggregation
COH             157470370037                Gas           Gov. Aggregation   COH             201655650013                Gas           Gov. Aggregation
COH             196122610018                Gas           Gov. Aggregation   COH             201664730017                Gas           Gov. Aggregation
COH             137041880060                Gas           Gov. Aggregation   COH             201678030015                Gas           Gov. Aggregation
COH             195241580014                Gas           Gov. Aggregation   COH             201678040013                Gas           Gov. Aggregation
COH             170017360023                Gas           Gov. Aggregation   COH             201694890011                Gas           Gov. Aggregation
COH             186895540036                Gas           Gov. Aggregation   COH             201714430013                Gas           Gov. Aggregation
COH             191050890018                Gas           Gov. Aggregation   COH             201714440011                Gas           Gov. Aggregation
COH             156525150046                Gas           Gov. Aggregation   COH             201714450019                Gas           Gov. Aggregation
COH             131519310106                Gas           Gov. Aggregation   COH             201720680018                Gas           Gov. Aggregation
COH             159751190037                Gas           Gov. Aggregation   COH             201723020010                Gas           Gov. Aggregation
COH             174568630025                Gas           Gov. Aggregation   COH             201723030018                Gas           Gov. Aggregation
COH             132229250032                Gas           Gov. Aggregation   COH             201723100013                Gas           Gov. Aggregation
COH             172818040048                Gas           Gov. Aggregation   COH             201740890012                Gas           Gov. Aggregation
COH             198570690011                Gas           Gov. Aggregation   COH             201744740015                Gas           Gov. Aggregation
COH             193384670015                Gas           Gov. Aggregation   COH             201754190010                Gas           Gov. Aggregation
COH             144823920019                Gas           Gov. Aggregation   COH             201772310016                Gas           Gov. Aggregation
COH             188116220022                Gas           Gov. Aggregation   COH             201777210017                Gas           Gov. Aggregation
COH             165764320089                Gas           Gov. Aggregation   COH             201778330010                Gas           Gov. Aggregation
COH             194911330025                Gas           Gov. Aggregation   COH             201780210010                Gas           Gov. Aggregation
COH             135049960032                Gas           Gov. Aggregation   COH             201781290012                Gas           Gov. Aggregation
COH             175345700021                Gas           Gov. Aggregation   COH             201805130013                Gas           Gov. Aggregation
COH             117097570099                Gas           Gov. Aggregation   COH             201822290014                Gas           Gov. Aggregation
COH             117360270011                Gas           Gov. Aggregation   COH             201822400010                Gas           Gov. Aggregation
COH             175581030031                Gas           Gov. Aggregation   COH             201857640017                Gas           Gov. Aggregation
COH             185892620027                Gas           Gov. Aggregation   COH             201857990014                Gas           Gov. Aggregation
COH             160635400017                Gas           Gov. Aggregation   COH             201862950011                Gas           Gov. Aggregation
COH             191923020019                Gas           Gov. Aggregation   COH             201863010016                Gas           Gov. Aggregation
COH             197857520028                Gas           Gov. Aggregation   COH             201863030012                Gas           Gov. Aggregation
COH             198773330016                Gas           Gov. Aggregation   COH             201880300019                Gas           Gov. Aggregation
COH             188978870020                Gas           Gov. Aggregation   COH             201883910015                Gas           Gov. Aggregation
COH             186982580024                Gas           Gov. Aggregation   COH             201891520010                Gas           Gov. Aggregation
COH             187181340049                Gas           Gov. Aggregation   COH             201902430014                Gas           Gov. Aggregation
COH             195558810032                Gas           Gov. Aggregation   COH             201908740017                Gas           Gov. Aggregation
COH             197530310015                Gas           Gov. Aggregation   COH             201912230015                Gas           Gov. Aggregation
COH             172869200010                Gas           Gov. Aggregation   COH             201953670017                Gas           Gov. Aggregation
COH             156854830019                Gas           Gov. Aggregation   COH             201953680015                Gas           Gov. Aggregation
COH             160291410051                Gas           Gov. Aggregation   COH             201953690013                Gas           Gov. Aggregation
COH             172690080088                Gas           Gov. Aggregation   COH             201977680015                Gas           Gov. Aggregation
COH             197072410016                Gas           Gov. Aggregation   COH             201977700010                Gas           Gov. Aggregation
COH             169175100026                Gas           Gov. Aggregation   COH             202008510012                Gas           Gov. Aggregation
COH             197414530042                Gas           Gov. Aggregation   COH             202038060014                Gas           Gov. Aggregation
COH             188993090022                Gas           Gov. Aggregation   COH             202055950011                Gas           Gov. Aggregation
COH             170474320014                Gas           Gov. Aggregation   COH             202055960019                Gas           Gov. Aggregation
COH             200991690014                Gas           Gov. Aggregation   COH             202056180011                Gas           Gov. Aggregation
COH             192002660196                Gas           Gov. Aggregation   COH             202063400019                Gas           Gov. Aggregation
COH             152629000014                Gas           Gov. Aggregation   COH             202067390014                Gas           Gov. Aggregation
COH             117294690014                Gas           Gov. Aggregation   COH             202116140011                Gas           Gov. Aggregation
COH             198844440012                Gas           Gov. Aggregation   COH             202119680012                Gas           Gov. Aggregation
COH             177609510038                Gas           Gov. Aggregation   COH             202119710015                Gas           Gov. Aggregation
COH             117290660018                Gas           Gov. Aggregation   COH             202140230011                Gas           Gov. Aggregation
COH             117294230010                Gas           Gov. Aggregation   COH             202150690014                Gas           Gov. Aggregation
COH             162480110015                Gas           Gov. Aggregation   COH             202157660016                Gas           Gov. Aggregation
COH             160985090030                Gas           Gov. Aggregation   COH             202180100014                Gas           Gov. Aggregation
COH             169340640031                Gas           Gov. Aggregation   COH             202181780010                Gas           Gov. Aggregation
COH             150637980087                Gas           Gov. Aggregation   COH             202182770010                Gas           Gov. Aggregation
COH             165620670026                Gas           Gov. Aggregation   COH             202186940016                Gas           Gov. Aggregation
COH             196374150012                Gas           Gov. Aggregation   COH             202232280016                Gas           Gov. Aggregation
COH             138665710017                Gas           Gov. Aggregation   COH             202236550011                Gas           Gov. Aggregation
COH             117346990010                Gas           Gov. Aggregation   COH             202249350016                Gas           Gov. Aggregation
COH             170937420011                Gas           Gov. Aggregation   COH             202314350017                Gas           Gov. Aggregation
COH             196981230018                Gas           Gov. Aggregation   COH             202328130014                Gas           Gov. Aggregation
COH             137048590030                Gas           Gov. Aggregation   COH             202348180012                Gas           Gov. Aggregation
COH             117347010013                Gas           Gov. Aggregation   COH             202348190010                Gas           Gov. Aggregation
COH             117293470012                Gas           Gov. Aggregation   COH             200285770032                Gas           Gov. Aggregation
COH             165963060046                Gas           Gov. Aggregation   COH             122449510015                Gas           Gov. Aggregation
COH             188879770085                Gas           Gov. Aggregation   COH             157497780017                Gas           Gov. Aggregation
COH             171902560069                Gas           Gov. Aggregation   COH             134310480011                Gas           Gov. Aggregation
COH             197431570011                Gas           Gov. Aggregation   DEO             0120000059566               Gas           Gov. Aggregation
COH             165466560018                Gas           Gov. Aggregation   DEO             9120000102314               Gas           Gov. Aggregation
COH             117346650011                Gas           Gov. Aggregation   DEO             2500003733621               Gas           Gov. Aggregation
COH             152047360013                Gas           Gov. Aggregation   DEO             8180005132987               Gas           Gov. Aggregation
COH             171236100013                Gas           Gov. Aggregation   COH             114933570034                Gas           Gov. Aggregation
COH             188264720024                Gas           Gov. Aggregation   COH             195805040066                Gas           Gov. Aggregation
COH             148710390016                Gas           Gov. Aggregation   COH             124263320017                Gas           Gov. Aggregation
COH             198955240019                Gas           Gov. Aggregation   COH             202731940019                Gas           Gov. Aggregation
COH             117351480016                Gas           Gov. Aggregation   DEO             5500002238414               Gas           Gov. Aggregation
COH             175159260010                Gas           Gov. Aggregation   COH             169994090032                Gas           Gov. Aggregation
COH             170612920014                Gas           Gov. Aggregation   COH             199038000110                Gas           Gov. Aggregation
COH             134466710013                Gas           Gov. Aggregation   COH             199038000129                Gas           Gov. Aggregation
COH             169788220059                Gas           Gov. Aggregation   DEO             5180005563313               Gas           Gov. Aggregation
COH             193764620028                Gas           Gov. Aggregation   COH             157988350016                Gas           Gov. Aggregation
COH             117295550020                Gas           Gov. Aggregation   COH             146540510013                Gas           Gov. Aggregation
COH             171995560055                Gas           Gov. Aggregation   DEO             7500054181442               Gas           Gov. Aggregation
COH             160617510012                Gas           Gov. Aggregation   COH             111036710011                Gas           Gov. Aggregation
COH             117306540018                Gas           Gov. Aggregation   COH             111081160012                Gas           Gov. Aggregation
COH             157972750015                Gas           Gov. Aggregation   COH             137060370021                Gas           Gov. Aggregation
COH             186868570037                Gas           Gov. Aggregation   COH             169003150010                Gas           Gov. Aggregation
COH             161269560038                Gas           Gov. Aggregation   COH             111058160011                Gas           Gov. Aggregation
COH             159017920011                Gas           Gov. Aggregation   COH             111066690013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             177852460016                Gas           Gov. Aggregation   COH             111066690022                Gas           Gov. Aggregation
COH             147903190010                Gas           Gov. Aggregation   COH             186131760010                Gas           Gov. Aggregation
COH             197843340025                Gas           Gov. Aggregation   COH             111032860027                Gas           Gov. Aggregation
COH             193333550026                Gas           Gov. Aggregation   COH             146552090044                Gas           Gov. Aggregation
COH             199528880019                Gas           Gov. Aggregation   COH             152016820020                Gas           Gov. Aggregation
COH             196047120039                Gas           Gov. Aggregation   COH             152542400032                Gas           Gov. Aggregation
COH             149847050044                Gas           Gov. Aggregation   COH             159531400029                Gas           Gov. Aggregation
COH             161982130018                Gas           Gov. Aggregation   COH             163040740023                Gas           Gov. Aggregation
COH             194822390013                Gas           Gov. Aggregation   COH             175739380024                Gas           Gov. Aggregation
COH             185244550025                Gas           Gov. Aggregation   COH             175653720033                Gas           Gov. Aggregation
COH             198065910015                Gas           Gov. Aggregation   COH             170952050017                Gas           Gov. Aggregation
COH             186366640072                Gas           Gov. Aggregation   COH             111063470024                Gas           Gov. Aggregation
COH             194489940024                Gas           Gov. Aggregation   COH             137654020025                Gas           Gov. Aggregation
COH             166285230010                Gas           Gov. Aggregation   COH             200688680019                Gas           Gov. Aggregation
COH             164325170064                Gas           Gov. Aggregation   COH             202513450014                Gas           Gov. Aggregation
COH             140252370029                Gas           Gov. Aggregation   COH             202625520012                Gas           Gov. Aggregation
COH             192848570013                Gas           Gov. Aggregation   COH             201516300010                Gas           Gov. Aggregation
COH             194094820035                Gas           Gov. Aggregation   COH             197609500018                Gas           Gov. Aggregation
COH             175383910063                Gas           Gov. Aggregation   COH             202074220014                Gas           Gov. Aggregation
COH             175448380049                Gas           Gov. Aggregation   COH             202651620016                Gas           Gov. Aggregation
COH             199424840017                Gas           Gov. Aggregation   COH             201595790012                Gas           Gov. Aggregation
COH             192983980020                Gas           Gov. Aggregation   COH             200424020015                Gas           Gov. Aggregation
COH             193681070039                Gas           Gov. Aggregation   COH             169544760025                Gas           Gov. Aggregation
COH             200076570019                Gas           Gov. Aggregation   COH             148197210022                Gas           Gov. Aggregation
COH             117300220017                Gas           Gov. Aggregation   COH             141664460017                Gas           Gov. Aggregation
COH             117350640023                Gas           Gov. Aggregation   COH             134390960012                Gas           Gov. Aggregation
COH             164469000010                Gas           Gov. Aggregation   COH             111132560028                Gas           Gov. Aggregation
COH             198329270010                Gas           Gov. Aggregation   COH             156855610013                Gas           Gov. Aggregation
COH             200559740019                Gas           Gov. Aggregation   COH             171864140014                Gas           Gov. Aggregation
COH             189485460039                Gas           Gov. Aggregation   COH             186789400012                Gas           Gov. Aggregation
COH             192203950028                Gas           Gov. Aggregation   COH             190411460013                Gas           Gov. Aggregation
COH             174537730010                Gas           Gov. Aggregation   COH             199603750025                Gas           Gov. Aggregation
COH             134521070047                Gas           Gov. Aggregation   COH             155321630011                Gas           Gov. Aggregation
COH             192320530019                Gas           Gov. Aggregation   COH             136400530017                Gas           Gov. Aggregation
COH             197537350013                Gas           Gov. Aggregation   COH             111155180011                Gas           Gov. Aggregation
COH             200042560012                Gas           Gov. Aggregation   COH             111155280029                Gas           Gov. Aggregation
COH             196883470016                Gas           Gov. Aggregation   COH             143667600028                Gas           Gov. Aggregation
COH             188065120013                Gas           Gov. Aggregation   COH             111036440018                Gas           Gov. Aggregation
COH             197045300016                Gas           Gov. Aggregation   COH             192479410019                Gas           Gov. Aggregation
COH             199929380014                Gas           Gov. Aggregation   COH             163620750012                Gas           Gov. Aggregation
COH             155169890011                Gas           Gov. Aggregation   COH             200165900010                Gas           Gov. Aggregation
COH             117311070016                Gas           Gov. Aggregation   COH             158615560047                Gas           Gov. Aggregation
COH             118473350023                Gas           Gov. Aggregation   COH             158615560056                Gas           Gov. Aggregation
COH             197149090011                Gas           Gov. Aggregation   COH             158615560065                Gas           Gov. Aggregation
COH             117309190016                Gas           Gov. Aggregation   COH             158615560074                Gas           Gov. Aggregation
COH             172162520011                Gas           Gov. Aggregation   COH             158615560083                Gas           Gov. Aggregation
COH             188139230031                Gas           Gov. Aggregation   COH             154839670026                Gas           Gov. Aggregation
COH             199238380019                Gas           Gov. Aggregation   COH             144228580022                Gas           Gov. Aggregation
COH             198687860018                Gas           Gov. Aggregation   COH             162271210017                Gas           Gov. Aggregation
COH             188322710022                Gas           Gov. Aggregation   COH             174923450092                Gas           Gov. Aggregation
COH             117884160023                Gas           Gov. Aggregation   COH             195158230023                Gas           Gov. Aggregation
COH             200042410013                Gas           Gov. Aggregation   COH             111129170018                Gas           Gov. Aggregation
COH             117066740025                Gas           Gov. Aggregation   COH             176456610015                Gas           Gov. Aggregation
COH             133161470011                Gas           Gov. Aggregation   COH             176524520037                Gas           Gov. Aggregation
COH             198923120011                Gas           Gov. Aggregation   COH             159811150019                Gas           Gov. Aggregation
COH             167562350034                Gas           Gov. Aggregation   COH             169994840123                Gas           Gov. Aggregation
COH             196766430012                Gas           Gov. Aggregation   COH             170702240025                Gas           Gov. Aggregation
COH             200325480019                Gas           Gov. Aggregation   COH             169504520010                Gas           Gov. Aggregation
COH             185460870039                Gas           Gov. Aggregation   COH             168105430034                Gas           Gov. Aggregation
COH             187982540012                Gas           Gov. Aggregation   COH             172400470016                Gas           Gov. Aggregation
COH             196810120021                Gas           Gov. Aggregation   COH             171795490027                Gas           Gov. Aggregation
COH             195958290016                Gas           Gov. Aggregation   COH             187694540013                Gas           Gov. Aggregation
COH             132114410111                Gas           Gov. Aggregation   COH             111067380016                Gas           Gov. Aggregation
COH             199163090019                Gas           Gov. Aggregation   COH             111067400011                Gas           Gov. Aggregation
COH             188077140032                Gas           Gov. Aggregation   COH             111066500030                Gas           Gov. Aggregation
COH             148501240047                Gas           Gov. Aggregation   COH             111066630015                Gas           Gov. Aggregation
COH             199721310018                Gas           Gov. Aggregation   COH             111121610020                Gas           Gov. Aggregation
COH             199900720012                Gas           Gov. Aggregation   COH             111088270015                Gas           Gov. Aggregation
COH             156511810082                Gas           Gov. Aggregation   COH             139385870017                Gas           Gov. Aggregation
COH             165892000067                Gas           Gov. Aggregation   COH             130831620011                Gas           Gov. Aggregation
COH             117349550025                Gas           Gov. Aggregation   COH             132587800172                Gas           Gov. Aggregation
COH             169228520105                Gas           Gov. Aggregation   COH             198375230011                Gas           Gov. Aggregation
COH             158677190018                Gas           Gov. Aggregation   COH             199203150010                Gas           Gov. Aggregation
COH             155176040041                Gas           Gov. Aggregation   COH             199096940013                Gas           Gov. Aggregation
COH             185987320074                Gas           Gov. Aggregation   COH             199230970011                Gas           Gov. Aggregation
COH             191156400016                Gas           Gov. Aggregation   COH             200805510014                Gas           Gov. Aggregation
COH             185734840043                Gas           Gov. Aggregation   COH             200789250015                Gas           Gov. Aggregation
COH             195759520028                Gas           Gov. Aggregation   COH             202386060017                Gas           Gov. Aggregation
COH             185252850016                Gas           Gov. Aggregation   COH             195367080031                Gas           Gov. Aggregation
COH             118053880040                Gas           Gov. Aggregation   COH             195962790012                Gas           Gov. Aggregation
COH             154489600069                Gas           Gov. Aggregation   COH             196155930012                Gas           Gov. Aggregation
COH             154130370101                Gas           Gov. Aggregation   COH             197196950039                Gas           Gov. Aggregation
COH             117320140012                Gas           Gov. Aggregation   COH             202707880013                Gas           Gov. Aggregation
COH             200091910015                Gas           Gov. Aggregation   COH             202699220010                Gas           Gov. Aggregation
COH             157623520085                Gas           Gov. Aggregation   COH             191436470018                Gas           Gov. Aggregation
COH             199592650012                Gas           Gov. Aggregation   COH             192646290038                Gas           Gov. Aggregation
COH             199252270012                Gas           Gov. Aggregation   COH             192048050027                Gas           Gov. Aggregation
COH             199108410035                Gas           Gov. Aggregation   COH             192149590011                Gas           Gov. Aggregation
COH             192929470012                Gas           Gov. Aggregation   COH             197602100034                Gas           Gov. Aggregation
COH             187294550037                Gas           Gov. Aggregation   COH             195801150025                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             197703980018                Gas           Gov. Aggregation   COH             193038860018                Gas           Gov. Aggregation
COH             198353420017                Gas           Gov. Aggregation   COH             193685110014                Gas           Gov. Aggregation
COH             194720400016                Gas           Gov. Aggregation   COH             201395940014                Gas           Gov. Aggregation
COH             117355820016                Gas           Gov. Aggregation   COH             201364810016                Gas           Gov. Aggregation
COH             186368470065                Gas           Gov. Aggregation   COH             200117500015                Gas           Gov. Aggregation
COH             195972290016                Gas           Gov. Aggregation   COH             199937920013                Gas           Gov. Aggregation
COH             197975700020                Gas           Gov. Aggregation   COH             199962140014                Gas           Gov. Aggregation
COH             132946450058                Gas           Gov. Aggregation   COH             170447820016                Gas           Gov. Aggregation
COH             133540640048                Gas           Gov. Aggregation   COH             164344830010                Gas           Gov. Aggregation
COH             149567940041                Gas           Gov. Aggregation   COH             201629090016                Gas           Gov. Aggregation
COH             165483810046                Gas           Gov. Aggregation   COH             111070170022                Gas           Gov. Aggregation
COH             198910420015                Gas           Gov. Aggregation   COH             142149360028                Gas           Gov. Aggregation
COH             193524040019                Gas           Gov. Aggregation   COH             136405750039                Gas           Gov. Aggregation
COH             160864970013                Gas           Gov. Aggregation   COH             177316640014                Gas           Gov. Aggregation
COH             170515960021                Gas           Gov. Aggregation   COH             175234650018                Gas           Gov. Aggregation
COH             200682280015                Gas           Gov. Aggregation   COH             172503970013                Gas           Gov. Aggregation
COH             139631310020                Gas           Gov. Aggregation   COH             172584080010                Gas           Gov. Aggregation
COH             117366000015                Gas           Gov. Aggregation   COH             174830160018                Gas           Gov. Aggregation
COH             200123850019                Gas           Gov. Aggregation   COH             111032080021                Gas           Gov. Aggregation
COH             200566210015                Gas           Gov. Aggregation   COH             111064330021                Gas           Gov. Aggregation
COH             161110940033                Gas           Gov. Aggregation   COH             111064760021                Gas           Gov. Aggregation
COH             192698930034                Gas           Gov. Aggregation   COH             111064770010                Gas           Gov. Aggregation
COH             194534290015                Gas           Gov. Aggregation   COH             111064940023                Gas           Gov. Aggregation
COH             199583990010                Gas           Gov. Aggregation   COH             111102080013                Gas           Gov. Aggregation
COH             168682440058                Gas           Gov. Aggregation   COH             111101590018                Gas           Gov. Aggregation
COH             196576210020                Gas           Gov. Aggregation   COH             111101640017                Gas           Gov. Aggregation
COH             186642760035                Gas           Gov. Aggregation   COH             111079010027                Gas           Gov. Aggregation
COH             117596630061                Gas           Gov. Aggregation   COH             116608170044                Gas           Gov. Aggregation
COH             117357610016                Gas           Gov. Aggregation   COH             199449190012                Gas           Gov. Aggregation
COH             158363650016                Gas           Gov. Aggregation   COH             200478590013                Gas           Gov. Aggregation
COH             172003850107                Gas           Gov. Aggregation   COH             201644710013                Gas           Gov. Aggregation
COH             143404540018                Gas           Gov. Aggregation   COH             202163800013                Gas           Gov. Aggregation
COH             161227570016                Gas           Gov. Aggregation   COH             202235040010                Gas           Gov. Aggregation
COH             146017260033                Gas           Gov. Aggregation   COH             202321360010                Gas           Gov. Aggregation
COH             197894870018                Gas           Gov. Aggregation   COH             198182010016                Gas           Gov. Aggregation
COH             117357550019                Gas           Gov. Aggregation   COH             194420650010                Gas           Gov. Aggregation
COH             169415840012                Gas           Gov. Aggregation   COH             191207270015                Gas           Gov. Aggregation
COH             144982260030                Gas           Gov. Aggregation   COH             202716150017                Gas           Gov. Aggregation
COH             117340450015                Gas           Gov. Aggregation   COH             159682120010                Gas           Gov. Aggregation
COH             131714060016                Gas           Gov. Aggregation   COH             162869300039                Gas           Gov. Aggregation
COH             117358860012                Gas           Gov. Aggregation   COH             160957850020                Gas           Gov. Aggregation
COH             167999870058                Gas           Gov. Aggregation   COH             171398120017                Gas           Gov. Aggregation
COH             117924690044                Gas           Gov. Aggregation   COH             167698990015                Gas           Gov. Aggregation
COH             195087610024                Gas           Gov. Aggregation   COH             168546580011                Gas           Gov. Aggregation
COH             198819890011                Gas           Gov. Aggregation   COH             168966090041                Gas           Gov. Aggregation
COH             117340720018                Gas           Gov. Aggregation   COH             169341910014                Gas           Gov. Aggregation
COH             175847610017                Gas           Gov. Aggregation   COH             165947980010                Gas           Gov. Aggregation
COH             190558770027                Gas           Gov. Aggregation   COH             166248500039                Gas           Gov. Aggregation
COH             139882050015                Gas           Gov. Aggregation   COH             167038560086                Gas           Gov. Aggregation
COH             135926220019                Gas           Gov. Aggregation   COH             167912450030                Gas           Gov. Aggregation
COH             173658660010                Gas           Gov. Aggregation   COH             171354780011                Gas           Gov. Aggregation
COH             199468410015                Gas           Gov. Aggregation   COH             170721550057                Gas           Gov. Aggregation
COH             200800920018                Gas           Gov. Aggregation   COH             171132020010                Gas           Gov. Aggregation
COH             199899770017                Gas           Gov. Aggregation   COH             171022990010                Gas           Gov. Aggregation
COH             198666580011                Gas           Gov. Aggregation   COH             189705070015                Gas           Gov. Aggregation
COH             153570690014                Gas           Gov. Aggregation   COH             190878390029                Gas           Gov. Aggregation
COH             150598790027                Gas           Gov. Aggregation   COH             174177640022                Gas           Gov. Aggregation
COH             165497840014                Gas           Gov. Aggregation   COH             111095010014                Gas           Gov. Aggregation
COH             163393860058                Gas           Gov. Aggregation   COH             111095030010                Gas           Gov. Aggregation
COH             194764720017                Gas           Gov. Aggregation   COH             111095180019                Gas           Gov. Aggregation
COH             157694600025                Gas           Gov. Aggregation   COH             111095220010                Gas           Gov. Aggregation
COH             174764200010                Gas           Gov. Aggregation   COH             111095370019                Gas           Gov. Aggregation
COH             200081080011                Gas           Gov. Aggregation   COH             111088680019                Gas           Gov. Aggregation
COH             200081080039                Gas           Gov. Aggregation   COH             111152570097                Gas           Gov. Aggregation
COH             117331440016                Gas           Gov. Aggregation   COH             111063020019                Gas           Gov. Aggregation
COH             117372360035                Gas           Gov. Aggregation   COH             111063170018                Gas           Gov. Aggregation
COH             117372360044                Gas           Gov. Aggregation   COH             111069020017                Gas           Gov. Aggregation
COH             141612110028                Gas           Gov. Aggregation   COH             111069050011                Gas           Gov. Aggregation
COH             159281750063                Gas           Gov. Aggregation   COH             111069070017                Gas           Gov. Aggregation
COH             117330370013                Gas           Gov. Aggregation   COH             111069130014                Gas           Gov. Aggregation
COH             187186100021                Gas           Gov. Aggregation   COH             185881400017                Gas           Gov. Aggregation
COH             142118220031                Gas           Gov. Aggregation   COH             186797180012                Gas           Gov. Aggregation
COH             172189890027                Gas           Gov. Aggregation   COH             186612700030                Gas           Gov. Aggregation
COH             142570890042                Gas           Gov. Aggregation   COH             148449500017                Gas           Gov. Aggregation
COH             175334250029                Gas           Gov. Aggregation   COH             152718110085                Gas           Gov. Aggregation
COH             198086740035                Gas           Gov. Aggregation   COH             152196260046                Gas           Gov. Aggregation
COH             199881040017                Gas           Gov. Aggregation   COH             151760290026                Gas           Gov. Aggregation
COH             117330830016                Gas           Gov. Aggregation   COH             149812110017                Gas           Gov. Aggregation
COH             144291100010                Gas           Gov. Aggregation   COH             150803200014                Gas           Gov. Aggregation
COH             196611640015                Gas           Gov. Aggregation   COH             199513290014                Gas           Gov. Aggregation
COH             194437320023                Gas           Gov. Aggregation   COH             198794410015                Gas           Gov. Aggregation
COH             192381730019                Gas           Gov. Aggregation   COH             198876080011                Gas           Gov. Aggregation
COH             117373410023                Gas           Gov. Aggregation   COH             141587370029                Gas           Gov. Aggregation
COH             117379820025                Gas           Gov. Aggregation   COH             142524680034                Gas           Gov. Aggregation
COH             186661660054                Gas           Gov. Aggregation   COH             197565830059                Gas           Gov. Aggregation
COH             158677300050                Gas           Gov. Aggregation   COH             200493030018                Gas           Gov. Aggregation
COH             164067070045                Gas           Gov. Aggregation   COH             199251010018                Gas           Gov. Aggregation
COH             192023390028                Gas           Gov. Aggregation   COH             198496760014                Gas           Gov. Aggregation
COH             154356390029                Gas           Gov. Aggregation   COH             196835010013                Gas           Gov. Aggregation
COH             199238530017                Gas           Gov. Aggregation   COH             197045740050                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             201015450011                Gas           Gov. Aggregation   COH             159824930036                Gas           Gov. Aggregation
COH             174603310017                Gas           Gov. Aggregation   COH             155283570016                Gas           Gov. Aggregation
COH             175400890024                Gas           Gov. Aggregation   COH             172763930039                Gas           Gov. Aggregation
COH             201259310014                Gas           Gov. Aggregation   COH             173676340019                Gas           Gov. Aggregation
COH             144490790014                Gas           Gov. Aggregation   COH             190165880018                Gas           Gov. Aggregation
COH             155867360012                Gas           Gov. Aggregation   COH             190695860019                Gas           Gov. Aggregation
COH             162644730035                Gas           Gov. Aggregation   COH             201891360014                Gas           Gov. Aggregation
COH             140387460016                Gas           Gov. Aggregation   COH             177746270011                Gas           Gov. Aggregation
COH             118399990045                Gas           Gov. Aggregation   COH             111112790022                Gas           Gov. Aggregation
COH             117581000028                Gas           Gov. Aggregation   COH             111083190021                Gas           Gov. Aggregation
COH             185639990026                Gas           Gov. Aggregation   COH             111035250010                Gas           Gov. Aggregation
COH             197028420017                Gas           Gov. Aggregation   COH             111035990015                Gas           Gov. Aggregation
COH             140963700031                Gas           Gov. Aggregation   COH             111036210016                Gas           Gov. Aggregation
COH             117137440054                Gas           Gov. Aggregation   COH             111036290010                Gas           Gov. Aggregation
COH             185244030051                Gas           Gov. Aggregation   COH             195728210019                Gas           Gov. Aggregation
COH             200270300013                Gas           Gov. Aggregation   COH             202651550011                Gas           Gov. Aggregation
COH             200839760011                Gas           Gov. Aggregation   COH             201376140012                Gas           Gov. Aggregation
COH             201124580013                Gas           Gov. Aggregation   COH             194661490050                Gas           Gov. Aggregation
COH             117355740022                Gas           Gov. Aggregation   COH             192432590010                Gas           Gov. Aggregation
COH             190864570020                Gas           Gov. Aggregation   COH             187800470020                Gas           Gov. Aggregation
COH             117001100025                Gas           Gov. Aggregation   COH             190806280014                Gas           Gov. Aggregation
COH             150110460019                Gas           Gov. Aggregation   COH             190238940010                Gas           Gov. Aggregation
COH             146652020019                Gas           Gov. Aggregation   COH             167905130014                Gas           Gov. Aggregation
COH             194198610011                Gas           Gov. Aggregation   COH             167583760016                Gas           Gov. Aggregation
COH             132453670039                Gas           Gov. Aggregation   COH             144483500037                Gas           Gov. Aggregation
COH             122317640035                Gas           Gov. Aggregation   COH             154701620018                Gas           Gov. Aggregation
COH             131698940026                Gas           Gov. Aggregation   COH             190200440014                Gas           Gov. Aggregation
COH             162786200045                Gas           Gov. Aggregation   COH             157707860013                Gas           Gov. Aggregation
COH             196993930016                Gas           Gov. Aggregation   COH             157741960047                Gas           Gov. Aggregation
COH             140782160039                Gas           Gov. Aggregation   COH             188811710016                Gas           Gov. Aggregation
COH             146325190026                Gas           Gov. Aggregation   COH             189765250011                Gas           Gov. Aggregation
COH             196433780023                Gas           Gov. Aggregation   COH             160402700026                Gas           Gov. Aggregation
COH             140367970039                Gas           Gov. Aggregation   COH             173972100011                Gas           Gov. Aggregation
COH             154054320014                Gas           Gov. Aggregation   COH             185541330021                Gas           Gov. Aggregation
COH             158222750022                Gas           Gov. Aggregation   COH             120542000025                Gas           Gov. Aggregation
COH             145374490012                Gas           Gov. Aggregation   COH             146721170039                Gas           Gov. Aggregation
COH             196778050017                Gas           Gov. Aggregation   COH             141560550027                Gas           Gov. Aggregation
COH             152620450054                Gas           Gov. Aggregation   COH             174825010038                Gas           Gov. Aggregation
COH             196602960017                Gas           Gov. Aggregation   COH             174928700017                Gas           Gov. Aggregation
COH             134726940031                Gas           Gov. Aggregation   COH             175192910013                Gas           Gov. Aggregation
COH             191729320018                Gas           Gov. Aggregation   COH             169363290019                Gas           Gov. Aggregation
COH             200591750019                Gas           Gov. Aggregation   COH             169367700041                Gas           Gov. Aggregation
COH             190904430014                Gas           Gov. Aggregation   COH             169499610014                Gas           Gov. Aggregation
COH             190121070029                Gas           Gov. Aggregation   COH             169581100025                Gas           Gov. Aggregation
COH             117961080044                Gas           Gov. Aggregation   COH             169893860025                Gas           Gov. Aggregation
COH             186278450024                Gas           Gov. Aggregation   COH             175418730011                Gas           Gov. Aggregation
COH             139906920047                Gas           Gov. Aggregation   COH             137582060020                Gas           Gov. Aggregation
COH             186205750051                Gas           Gov. Aggregation   COH             157755630010                Gas           Gov. Aggregation
COH             163226860015                Gas           Gov. Aggregation   COH             166548930033                Gas           Gov. Aggregation
COH             155756870029                Gas           Gov. Aggregation   COH             114405370026                Gas           Gov. Aggregation
COH             173895200014                Gas           Gov. Aggregation   COH             155363660017                Gas           Gov. Aggregation
COH             159411500013                Gas           Gov. Aggregation   COH             152737150014                Gas           Gov. Aggregation
COH             200737920013                Gas           Gov. Aggregation   COH             115856670018                Gas           Gov. Aggregation
COH             190450790012                Gas           Gov. Aggregation   COH             185085020015                Gas           Gov. Aggregation
COH             194569050021                Gas           Gov. Aggregation   COH             198952270037                Gas           Gov. Aggregation
COH             139932560011                Gas           Gov. Aggregation   COH             175002810015                Gas           Gov. Aggregation
COH             199449460015                Gas           Gov. Aggregation   COH             200785250013                Gas           Gov. Aggregation
COH             176800660014                Gas           Gov. Aggregation   COH             200975490010                Gas           Gov. Aggregation
COH             200620800015                Gas           Gov. Aggregation   COH             200814080016                Gas           Gov. Aggregation
COH             117335240010                Gas           Gov. Aggregation   COH             194047370020                Gas           Gov. Aggregation
COH             120366980024                Gas           Gov. Aggregation   COH             194083970019                Gas           Gov. Aggregation
COH             200101960012                Gas           Gov. Aggregation   COH             198022620016                Gas           Gov. Aggregation
COH             163668210033                Gas           Gov. Aggregation   COH             197786700030                Gas           Gov. Aggregation
COH             171112530033                Gas           Gov. Aggregation   COH             197844060013                Gas           Gov. Aggregation
COH             197910360019                Gas           Gov. Aggregation   COH             196741450038                Gas           Gov. Aggregation
COH             162451420011                Gas           Gov. Aggregation   COH             197194910013                Gas           Gov. Aggregation
COH             163841820019                Gas           Gov. Aggregation   COH             202403830017                Gas           Gov. Aggregation
COH             194780400029                Gas           Gov. Aggregation   COH             202244530018                Gas           Gov. Aggregation
COH             164094620015                Gas           Gov. Aggregation   COH             202075380019                Gas           Gov. Aggregation
COH             139075350013                Gas           Gov. Aggregation   COH             199741700014                Gas           Gov. Aggregation
COH             140692800035                Gas           Gov. Aggregation   COH             199734650010                Gas           Gov. Aggregation
COH             140831290091                Gas           Gov. Aggregation   COH             198575290015                Gas           Gov. Aggregation
COH             168056420031                Gas           Gov. Aggregation   COH             198790630017                Gas           Gov. Aggregation
COH             170901630012                Gas           Gov. Aggregation   COH             198955420011                Gas           Gov. Aggregation
COH             167598090016                Gas           Gov. Aggregation   COH             142404670076                Gas           Gov. Aggregation
COH             194465040014                Gas           Gov. Aggregation   COH             139495140026                Gas           Gov. Aggregation
COH             117076560040                Gas           Gov. Aggregation   COH             126728950026                Gas           Gov. Aggregation
COH             201037310014                Gas           Gov. Aggregation   COH             134404450036                Gas           Gov. Aggregation
COH             199111310011                Gas           Gov. Aggregation   COH             134404450045                Gas           Gov. Aggregation
COH             198574950018                Gas           Gov. Aggregation   COH             111078790017                Gas           Gov. Aggregation
COH             169017160019                Gas           Gov. Aggregation   COH             111078900013                Gas           Gov. Aggregation
COH             138449100013                Gas           Gov. Aggregation   COH             111078020027                Gas           Gov. Aggregation
COH             172624790024                Gas           Gov. Aggregation   COH             111094040010                Gas           Gov. Aggregation
COH             174233670017                Gas           Gov. Aggregation   COH             111102330056                Gas           Gov. Aggregation
COH             196993840024                Gas           Gov. Aggregation   COH             111102330065                Gas           Gov. Aggregation
COH             160401290016                Gas           Gov. Aggregation   COH             111102330074                Gas           Gov. Aggregation
COH             200320710010                Gas           Gov. Aggregation   COH             111095530015                Gas           Gov. Aggregation
COH             185244560014                Gas           Gov. Aggregation   COH             111096150013                Gas           Gov. Aggregation
COH             161600220017                Gas           Gov. Aggregation   COH             111069320023                Gas           Gov. Aggregation
COH             189939050041                Gas           Gov. Aggregation   COH             189705080013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             196184570026                Gas           Gov. Aggregation   COH             190733240017                Gas           Gov. Aggregation
COH             117554090036                Gas           Gov. Aggregation   COH             190478070015                Gas           Gov. Aggregation
COH             185860590012                Gas           Gov. Aggregation   COH             190392090013                Gas           Gov. Aggregation
COH             199698000014                Gas           Gov. Aggregation   COH             174626140033                Gas           Gov. Aggregation
COH             161773260014                Gas           Gov. Aggregation   COH             175429920027                Gas           Gov. Aggregation
COH             200384180018                Gas           Gov. Aggregation   COH             175753830010                Gas           Gov. Aggregation
COH             137318990015                Gas           Gov. Aggregation   COH             140545900026                Gas           Gov. Aggregation
COH             199005890015                Gas           Gov. Aggregation   COH             137629310018                Gas           Gov. Aggregation
COH             167225220044                Gas           Gov. Aggregation   COH             110405380028                Gas           Gov. Aggregation
COH             193824320050                Gas           Gov. Aggregation   COH             111100620013                Gas           Gov. Aggregation
COH             165895270010                Gas           Gov. Aggregation   COH             111100570014                Gas           Gov. Aggregation
COH             163652440074                Gas           Gov. Aggregation   COH             111093320013                Gas           Gov. Aggregation
COH             148449810021                Gas           Gov. Aggregation   COH             111093590044                Gas           Gov. Aggregation
COH             146104110039                Gas           Gov. Aggregation   COH             111078560033                Gas           Gov. Aggregation
COH             117376480023                Gas           Gov. Aggregation   COH             199929610015                Gas           Gov. Aggregation
COH             127328960058                Gas           Gov. Aggregation   COH             196250340014                Gas           Gov. Aggregation
COH             200939580017                Gas           Gov. Aggregation   COH             195187660013                Gas           Gov. Aggregation
COH             157869180023                Gas           Gov. Aggregation   COH             194752260037                Gas           Gov. Aggregation
COH             173749970021                Gas           Gov. Aggregation   COH             164295650013                Gas           Gov. Aggregation
COH             130871720034                Gas           Gov. Aggregation   COH             165769270026                Gas           Gov. Aggregation
COH             187380260017                Gas           Gov. Aggregation   COH             167377040041                Gas           Gov. Aggregation
COH             197225710027                Gas           Gov. Aggregation   COH             170111710010                Gas           Gov. Aggregation
COH             195708170029                Gas           Gov. Aggregation   COH             170377240035                Gas           Gov. Aggregation
COH             198355120016                Gas           Gov. Aggregation   COH             169917250012                Gas           Gov. Aggregation
COH             161511050012                Gas           Gov. Aggregation   COH             189502240019                Gas           Gov. Aggregation
COH             163011100019                Gas           Gov. Aggregation   COH             189944890026                Gas           Gov. Aggregation
COH             164475120058                Gas           Gov. Aggregation   COH             174027000096                Gas           Gov. Aggregation
COH             131853410045                Gas           Gov. Aggregation   COH             143410080067                Gas           Gov. Aggregation
COH             157061920038                Gas           Gov. Aggregation   COH             144902560035                Gas           Gov. Aggregation
COH             188858090019                Gas           Gov. Aggregation   COH             140650710023                Gas           Gov. Aggregation
COH             199691380019                Gas           Gov. Aggregation   COH             111188720036                Gas           Gov. Aggregation
COH             155094210012                Gas           Gov. Aggregation   COH             111173520020                Gas           Gov. Aggregation
COH             197735270010                Gas           Gov. Aggregation   COH             111113250014                Gas           Gov. Aggregation
COH             198422560020                Gas           Gov. Aggregation   COH             111113290016                Gas           Gov. Aggregation
COH             130723930024                Gas           Gov. Aggregation   COH             111113580088                Gas           Gov. Aggregation
COH             197421160018                Gas           Gov. Aggregation   COH             111154270014                Gas           Gov. Aggregation
COH             157779710013                Gas           Gov. Aggregation   COH             111087560025                Gas           Gov. Aggregation
COH             161657970039                Gas           Gov. Aggregation   COH             111092160028                Gas           Gov. Aggregation
COH             192281690010                Gas           Gov. Aggregation   COH             198507280010                Gas           Gov. Aggregation
COH             197703980027                Gas           Gov. Aggregation   COH             198643790015                Gas           Gov. Aggregation
COH             164246330031                Gas           Gov. Aggregation   COH             198654160014                Gas           Gov. Aggregation
COH             194713530014                Gas           Gov. Aggregation   COH             198944700015                Gas           Gov. Aggregation
COH             117212770055                Gas           Gov. Aggregation   COH             199454830016                Gas           Gov. Aggregation
COH             201171540012                Gas           Gov. Aggregation   COH             200947860011                Gas           Gov. Aggregation
COH             200983770014                Gas           Gov. Aggregation   COH             200462770018                Gas           Gov. Aggregation
COH             144486180011                Gas           Gov. Aggregation   COH             200102540018                Gas           Gov. Aggregation
COH             195943980012                Gas           Gov. Aggregation   COH             191907500012                Gas           Gov. Aggregation
COH             185993740019                Gas           Gov. Aggregation   COH             192812490015                Gas           Gov. Aggregation
COH             193684880015                Gas           Gov. Aggregation   COH             197810050016                Gas           Gov. Aggregation
COH             117999420025                Gas           Gov. Aggregation   COH             199460250015                Gas           Gov. Aggregation
COH             190755470022                Gas           Gov. Aggregation   COH             152701190011                Gas           Gov. Aggregation
COH             172890520018                Gas           Gov. Aggregation   COH             141263560016                Gas           Gov. Aggregation
COH             188219610013                Gas           Gov. Aggregation   COH             164361330019                Gas           Gov. Aggregation
COH             200958050018                Gas           Gov. Aggregation   COH             170868150015                Gas           Gov. Aggregation
COH             194587820012                Gas           Gov. Aggregation   COH             170370440019                Gas           Gov. Aggregation
COH             164380100026                Gas           Gov. Aggregation   COH             111154660012                Gas           Gov. Aggregation
COH             159004900021                Gas           Gov. Aggregation   COH             137732700035                Gas           Gov. Aggregation
COH             163297500011                Gas           Gov. Aggregation   COH             136401380044                Gas           Gov. Aggregation
COH             198243350015                Gas           Gov. Aggregation   COH             135648040017                Gas           Gov. Aggregation
COH             145169350025                Gas           Gov. Aggregation   COH             111058100022                Gas           Gov. Aggregation
COH             176724400010                Gas           Gov. Aggregation   COH             111047350023                Gas           Gov. Aggregation
COH             155434940071                Gas           Gov. Aggregation   COH             111103280019                Gas           Gov. Aggregation
COH             150174200019                Gas           Gov. Aggregation   COH             111103370010                Gas           Gov. Aggregation
COH             145816780022                Gas           Gov. Aggregation   COH             111103480017                Gas           Gov. Aggregation
COH             194866020027                Gas           Gov. Aggregation   COH             196607460012                Gas           Gov. Aggregation
COH             192275210022                Gas           Gov. Aggregation   COH             194123500011                Gas           Gov. Aggregation
COH             139077890025                Gas           Gov. Aggregation   COH             194332130025                Gas           Gov. Aggregation
COH             147656040016                Gas           Gov. Aggregation   COH             194633430015                Gas           Gov. Aggregation
COH             193577160013                Gas           Gov. Aggregation   COH             174626410018                Gas           Gov. Aggregation
COH             200550820010                Gas           Gov. Aggregation   COH             164696010017                Gas           Gov. Aggregation
COH             193334680027                Gas           Gov. Aggregation   COH             176176520018                Gas           Gov. Aggregation
COH             199356260014                Gas           Gov. Aggregation   COH             172739930021                Gas           Gov. Aggregation
COH             158650390012                Gas           Gov. Aggregation   COH             174267120011                Gas           Gov. Aggregation
COH             147252080014                Gas           Gov. Aggregation   COH             111055280049                Gas           Gov. Aggregation
COH             123527730058                Gas           Gov. Aggregation   COH             111069870028                Gas           Gov. Aggregation
COH             145030620021                Gas           Gov. Aggregation   COH             131851770017                Gas           Gov. Aggregation
COH             193665380010                Gas           Gov. Aggregation   COH             131851770026                Gas           Gov. Aggregation
COH             173412990075                Gas           Gov. Aggregation   COH             132587800190                Gas           Gov. Aggregation
COH             143874970040                Gas           Gov. Aggregation   COH             111179850047                Gas           Gov. Aggregation
COH             197989200017                Gas           Gov. Aggregation   COH             141355550040                Gas           Gov. Aggregation
COH             146814530018                Gas           Gov. Aggregation   COH             198836410024                Gas           Gov. Aggregation
COH             186065900039                Gas           Gov. Aggregation   COH             199199350019                Gas           Gov. Aggregation
COH             162129800050                Gas           Gov. Aggregation   COH             201029040018                Gas           Gov. Aggregation
COH             191811930024                Gas           Gov. Aggregation   COH             200218210012                Gas           Gov. Aggregation
COH             185964050042                Gas           Gov. Aggregation   COH             202363000017                Gas           Gov. Aggregation
COH             144444990037                Gas           Gov. Aggregation   COH             202311370019                Gas           Gov. Aggregation
COH             188550330047                Gas           Gov. Aggregation   COH             111080460020                Gas           Gov. Aggregation
COH             158762790039                Gas           Gov. Aggregation   COH             111094840030                Gas           Gov. Aggregation
COH             177508430048                Gas           Gov. Aggregation   COH             186384320017                Gas           Gov. Aggregation
COH             199587570010                Gas           Gov. Aggregation   COH             186716530018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             151809310036                Gas           Gov. Aggregation   COH             163128980018                Gas           Gov. Aggregation
COH             120012650022                Gas           Gov. Aggregation   COH             170212800017                Gas           Gov. Aggregation
COH             170445560097                Gas           Gov. Aggregation   COH             162225290036                Gas           Gov. Aggregation
COH             157358510115                Gas           Gov. Aggregation   COH             177659210018                Gas           Gov. Aggregation
COH             167225430013                Gas           Gov. Aggregation   COH             149800610017                Gas           Gov. Aggregation
COH             152226950055                Gas           Gov. Aggregation   COH             135231430018                Gas           Gov. Aggregation
COH             152230430037                Gas           Gov. Aggregation   COH             136874680022                Gas           Gov. Aggregation
COH             197996620014                Gas           Gov. Aggregation   COH             111136550040                Gas           Gov. Aggregation
COH             169466450026                Gas           Gov. Aggregation   COH             111036740015                Gas           Gov. Aggregation
COH             127585270013                Gas           Gov. Aggregation   COH             111040170025                Gas           Gov. Aggregation
COH             143034780013                Gas           Gov. Aggregation   COH             111046050019                Gas           Gov. Aggregation
COH             145206640015                Gas           Gov. Aggregation   COH             111053330015                Gas           Gov. Aggregation
COH             146465570011                Gas           Gov. Aggregation   COH             111053470016                Gas           Gov. Aggregation
COH             150746150062                Gas           Gov. Aggregation   COH             111051790022                Gas           Gov. Aggregation
COH             131967720030                Gas           Gov. Aggregation   COH             200398780013                Gas           Gov. Aggregation
COH             197319210023                Gas           Gov. Aggregation   COH             202570910017                Gas           Gov. Aggregation
COH             199615790022                Gas           Gov. Aggregation   COH             197651700017                Gas           Gov. Aggregation
COH             150051420022                Gas           Gov. Aggregation   COH             201626760011                Gas           Gov. Aggregation
COH             173371020012                Gas           Gov. Aggregation   COH             141827150025                Gas           Gov. Aggregation
COH             186207700011                Gas           Gov. Aggregation   COH             145543930038                Gas           Gov. Aggregation
COH             150876530021                Gas           Gov. Aggregation   COH             144149540019                Gas           Gov. Aggregation
COH             164257240117                Gas           Gov. Aggregation   COH             111070690023                Gas           Gov. Aggregation
COH             147130040029                Gas           Gov. Aggregation   COH             111070750011                Gas           Gov. Aggregation
COH             177530460045                Gas           Gov. Aggregation   COH             111071390015                Gas           Gov. Aggregation
COH             196917230013                Gas           Gov. Aggregation   COH             111071420018                Gas           Gov. Aggregation
COH             192446760024                Gas           Gov. Aggregation   COH             111061160023                Gas           Gov. Aggregation
COH             162602180020                Gas           Gov. Aggregation   COH             188283140017                Gas           Gov. Aggregation
COH             197081960012                Gas           Gov. Aggregation   COH             188296270031                Gas           Gov. Aggregation
COH             193384830020                Gas           Gov. Aggregation   COH             160546690034                Gas           Gov. Aggregation
COH             150266240025                Gas           Gov. Aggregation   COH             160091600037                Gas           Gov. Aggregation
COH             134258480077                Gas           Gov. Aggregation   COH             155118050050                Gas           Gov. Aggregation
COH             157364520094                Gas           Gov. Aggregation   COH             155567730010                Gas           Gov. Aggregation
COH             169867080042                Gas           Gov. Aggregation   COH             171371840012                Gas           Gov. Aggregation
COH             199635110013                Gas           Gov. Aggregation   COH             171290680018                Gas           Gov. Aggregation
COH             194864010014                Gas           Gov. Aggregation   COH             170639910010                Gas           Gov. Aggregation
COH             164547520015                Gas           Gov. Aggregation   COH             198714910018                Gas           Gov. Aggregation
COH             117343430013                Gas           Gov. Aggregation   COH             198339990018                Gas           Gov. Aggregation
COH             174063170013                Gas           Gov. Aggregation   COH             133885790038                Gas           Gov. Aggregation
COH             198997770010                Gas           Gov. Aggregation   COH             135233490012                Gas           Gov. Aggregation
COH             150545930019                Gas           Gov. Aggregation   COH             136343010018                Gas           Gov. Aggregation
COH             157959760039                Gas           Gov. Aggregation   COH             111062150014                Gas           Gov. Aggregation
COH             118424090049                Gas           Gov. Aggregation   COH             111060700012                Gas           Gov. Aggregation
COH             131189870020                Gas           Gov. Aggregation   COH             111060740014                Gas           Gov. Aggregation
COH             194338630019                Gas           Gov. Aggregation   COH             111060760010                Gas           Gov. Aggregation
COH             157796010023                Gas           Gov. Aggregation   COH             111060450015                Gas           Gov. Aggregation
COH             194049920011                Gas           Gov. Aggregation   COH             111048810015                Gas           Gov. Aggregation
COH             164550480017                Gas           Gov. Aggregation   COH             148852100016                Gas           Gov. Aggregation
COH             156122240050                Gas           Gov. Aggregation   COH             149555010078                Gas           Gov. Aggregation
COH             191221310016                Gas           Gov. Aggregation   COH             152530740072                Gas           Gov. Aggregation
COH             186145730017                Gas           Gov. Aggregation   COH             152205570013                Gas           Gov. Aggregation
COH             143087400020                Gas           Gov. Aggregation   COH             145220090057                Gas           Gov. Aggregation
COH             154838300016                Gas           Gov. Aggregation   COH             144060330011                Gas           Gov. Aggregation
COH             177445820031                Gas           Gov. Aggregation   COH             111051880014                Gas           Gov. Aggregation
COH             186894550018                Gas           Gov. Aggregation   COH             111050410014                Gas           Gov. Aggregation
COH             191023940014                Gas           Gov. Aggregation   COH             111050520011                Gas           Gov. Aggregation
COH             143334130031                Gas           Gov. Aggregation   COH             111095890056                Gas           Gov. Aggregation
COH             198379610013                Gas           Gov. Aggregation   COH             111077380024                Gas           Gov. Aggregation
COH             117373820027                Gas           Gov. Aggregation   COH             138476380027                Gas           Gov. Aggregation
COH             192700810014                Gas           Gov. Aggregation   COH             114430120070                Gas           Gov. Aggregation
COH             151349010786                Gas           Gov. Aggregation   COH             121894400016                Gas           Gov. Aggregation
COH             151349011936                Gas           Gov. Aggregation   COH             148876390016                Gas           Gov. Aggregation
COH             151349012015                Gas           Gov. Aggregation   COH             148937320010                Gas           Gov. Aggregation
COH             151349012060                Gas           Gov. Aggregation   COH             153960680019                Gas           Gov. Aggregation
COH             151349012177                Gas           Gov. Aggregation   COH             141806830017                Gas           Gov. Aggregation
COH             151349012300                Gas           Gov. Aggregation   COH             142268060010                Gas           Gov. Aggregation
COH             151349012426                Gas           Gov. Aggregation   COH             127386710058                Gas           Gov. Aggregation
COH             151349013596                Gas           Gov. Aggregation   COH             165412560057                Gas           Gov. Aggregation
COH             196827830018                Gas           Gov. Aggregation   COH             198641550019                Gas           Gov. Aggregation
COH             192131290940                Gas           Gov. Aggregation   COH             201694760018                Gas           Gov. Aggregation
COH             192131291001                Gas           Gov. Aggregation   COH             202534620014                Gas           Gov. Aggregation
COH             192131291609                Gas           Gov. Aggregation   COH             193870020010                Gas           Gov. Aggregation
COH             192131292000                Gas           Gov. Aggregation   COH             172082990013                Gas           Gov. Aggregation
COH             192131292028                Gas           Gov. Aggregation   COH             185440870031                Gas           Gov. Aggregation
COH             192131292144                Gas           Gov. Aggregation   COH             185296730019                Gas           Gov. Aggregation
COH             192131292224                Gas           Gov. Aggregation   COH             177729640037                Gas           Gov. Aggregation
COH             192131292804                Gas           Gov. Aggregation   COH             177454590022                Gas           Gov. Aggregation
COH             192131295758                Gas           Gov. Aggregation   COH             175002800017                Gas           Gov. Aggregation
COH             192131295856                Gas           Gov. Aggregation   COH             175181140018                Gas           Gov. Aggregation
COH             192131295865                Gas           Gov. Aggregation   COH             175181140036                Gas           Gov. Aggregation
COH             192131295936                Gas           Gov. Aggregation   COH             175181140045                Gas           Gov. Aggregation
COH             192131295954                Gas           Gov. Aggregation   COH             201780570015                Gas           Gov. Aggregation
COH             192131296284                Gas           Gov. Aggregation   COH             197997070018                Gas           Gov. Aggregation
COH             192131296391                Gas           Gov. Aggregation   COH             198004960013                Gas           Gov. Aggregation
COH             192131296426                Gas           Gov. Aggregation   COH             194762290012                Gas           Gov. Aggregation
COH             192131296435                Gas           Gov. Aggregation   COH             195913210025                Gas           Gov. Aggregation
COH             192415640220                Gas           Gov. Aggregation   COH             191344780018                Gas           Gov. Aggregation
COH             193688311382                Gas           Gov. Aggregation   COH             193900470020                Gas           Gov. Aggregation
COH             193688311515                Gas           Gov. Aggregation   COH             193915330019                Gas           Gov. Aggregation
COH             194189400345                Gas           Gov. Aggregation   COH             201568830010                Gas           Gov. Aggregation
COH             194189400381                Gas           Gov. Aggregation   COH             200897620018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             194189400710                Gas           Gov. Aggregation   COH             202417650016                Gas           Gov. Aggregation
COH             194189400881                Gas           Gov. Aggregation   COH             151526140050                Gas           Gov. Aggregation
COH             194189401031                Gas           Gov. Aggregation   COH             111036940013                Gas           Gov. Aggregation
COH             194189401059                Gas           Gov. Aggregation   COH             131946120030                Gas           Gov. Aggregation
COH             195340850053                Gas           Gov. Aggregation   COH             131946120049                Gas           Gov. Aggregation
COH             195341410035                Gas           Gov. Aggregation   COH             202695670014                Gas           Gov. Aggregation
COH             195341570050                Gas           Gov. Aggregation   COH             202532070014                Gas           Gov. Aggregation
COH             195655000036                Gas           Gov. Aggregation   COH             202393450010                Gas           Gov. Aggregation
COH             195773160248                Gas           Gov. Aggregation   COH             141316070034                Gas           Gov. Aggregation
COH             195773160604                Gas           Gov. Aggregation   COH             164547630012                Gas           Gov. Aggregation
COH             195773160622                Gas           Gov. Aggregation   COH             167439390019                Gas           Gov. Aggregation
COH             196189370055                Gas           Gov. Aggregation   COH             165982580047                Gas           Gov. Aggregation
COH             197275350019                Gas           Gov. Aggregation   COH             167731640025                Gas           Gov. Aggregation
COH             193769690033                Gas           Gov. Aggregation   COH             167622570012                Gas           Gov. Aggregation
COH             196401180017                Gas           Gov. Aggregation   COH             167522230015                Gas           Gov. Aggregation
COH             173087230057                Gas           Gov. Aggregation   COH             169147230019                Gas           Gov. Aggregation
COH             173087230066                Gas           Gov. Aggregation   COH             169357790035                Gas           Gov. Aggregation
COH             158073400013                Gas           Gov. Aggregation   COH             157359210018                Gas           Gov. Aggregation
VEDO            4002270242240486            Gas           Gov. Aggregation   COH             157804010015                Gas           Gov. Aggregation
DEO             1180003649570               Gas           Gov. Aggregation   COH             155429630013                Gas           Gov. Aggregation
COH             158920290029                Gas           Gov. Aggregation   COH             186384340022                Gas           Gov. Aggregation
DEO             2500019732517               Gas           Gov. Aggregation   COH             186552290017                Gas           Gov. Aggregation
DEO             8180003645470               Gas           Gov. Aggregation   COH             187817230016                Gas           Gov. Aggregation
DEO             6180003746071               Gas           Gov. Aggregation   COH             189476910015                Gas           Gov. Aggregation
DEO             3180003932264               Gas           Gov. Aggregation   COH             189204020035                Gas           Gov. Aggregation
DEO             5180003955308               Gas           Gov. Aggregation   COH             188451480019                Gas           Gov. Aggregation
COH             115030880014                Gas           Gov. Aggregation   COH             188749310013                Gas           Gov. Aggregation
DEO             6500049923379               Gas           Gov. Aggregation   COH             111067970012                Gas           Gov. Aggregation
DEO             9180004230203               Gas           Gov. Aggregation   COH             111068300038                Gas           Gov. Aggregation
COH             130886900035                Gas           Gov. Aggregation   COH             111068340012                Gas           Gov. Aggregation
COH             117321900010                Gas           Gov. Aggregation   COH             111064370014                Gas           Gov. Aggregation
COH             190527170019                Gas           Gov. Aggregation   COH             111064380012                Gas           Gov. Aggregation
COH             201254680017                Gas           Gov. Aggregation   COH             111064390010                Gas           Gov. Aggregation
COH             201258330012                Gas           Gov. Aggregation   COH             111064450017                Gas           Gov. Aggregation
COH             111188130012                Gas           Gov. Aggregation   COH             111064510014                Gas           Gov. Aggregation
COH             115828450013                Gas           Gov. Aggregation   COH             111080850019                Gas           Gov. Aggregation
DEO             5180004208119               Gas           Gov. Aggregation   COH             111081050015                Gas           Gov. Aggregation
VEDO            4015329952538321            Gas           Gov. Aggregation   COH             111081600019                Gas           Gov. Aggregation
DEO             5442000053822               Gas           Gov. Aggregation   COH             111091860041                Gas           Gov. Aggregation
DEO             7420905557978               Gas           Gov. Aggregation   COH             191765170014                Gas           Gov. Aggregation
DEO             6180004218397               Gas           Gov. Aggregation   COH             193639200012                Gas           Gov. Aggregation
COH             112544800032                Gas           Gov. Aggregation   COH             139647340021                Gas           Gov. Aggregation
COH             112544990024                Gas           Gov. Aggregation   COH             140320960011                Gas           Gov. Aggregation
COH             112695800024                Gas           Gov. Aggregation   COH             149917120022                Gas           Gov. Aggregation
COH             112703760060                Gas           Gov. Aggregation   COH             135027720047                Gas           Gov. Aggregation
COH             116653160032                Gas           Gov. Aggregation   COH             111058680012                Gas           Gov. Aggregation
COH             161730610029                Gas           Gov. Aggregation   COH             111058940017                Gas           Gov. Aggregation
COH             161501850195                Gas           Gov. Aggregation   COH             164578150018                Gas           Gov. Aggregation
COH             157158790077                Gas           Gov. Aggregation   COH             111100420024                Gas           Gov. Aggregation
COH             185141790032                Gas           Gov. Aggregation   COH             129813850078                Gas           Gov. Aggregation
COH             197218400027                Gas           Gov. Aggregation   COH             114443090061                Gas           Gov. Aggregation
COH             197550440016                Gas           Gov. Aggregation   COH             136507830018                Gas           Gov. Aggregation
COH             198392710014                Gas           Gov. Aggregation   COH             135295650018                Gas           Gov. Aggregation
COH             199211960022                Gas           Gov. Aggregation   COH             132899950027                Gas           Gov. Aggregation
COH             198824390015                Gas           Gov. Aggregation   COH             134212480028                Gas           Gov. Aggregation
COH             199734950026                Gas           Gov. Aggregation   COH             200268000011                Gas           Gov. Aggregation
COH             196462990028                Gas           Gov. Aggregation   COH             199476040016                Gas           Gov. Aggregation
COH             188897640020                Gas           Gov. Aggregation   COH             201444610018                Gas           Gov. Aggregation
COH             191168650028                Gas           Gov. Aggregation   COH             171265730010                Gas           Gov. Aggregation
COH             191643140036                Gas           Gov. Aggregation   COH             171540360014                Gas           Gov. Aggregation
COH             201436930018                Gas           Gov. Aggregation   COH             185188750032                Gas           Gov. Aggregation
COH             201369260012                Gas           Gov. Aggregation   COH             158735560016                Gas           Gov. Aggregation
COH             201665120013                Gas           Gov. Aggregation   COH             161436780091                Gas           Gov. Aggregation
COH             200511590011                Gas           Gov. Aggregation   COH             149407970043                Gas           Gov. Aggregation
COH             200647060015                Gas           Gov. Aggregation   COH             111059830018                Gas           Gov. Aggregation
COH             200488850017                Gas           Gov. Aggregation   COH             111059850023                Gas           Gov. Aggregation
COH             200277150011                Gas           Gov. Aggregation   COH             111086940018                Gas           Gov. Aggregation
COH             200229480013                Gas           Gov. Aggregation   COH             201732470017                Gas           Gov. Aggregation
COH             200810850012                Gas           Gov. Aggregation   COH             198421380011                Gas           Gov. Aggregation
COH             201876410015                Gas           Gov. Aggregation   COH             132239950043                Gas           Gov. Aggregation
COH             188821430023                Gas           Gov. Aggregation   COH             111163430020                Gas           Gov. Aggregation
COH             150226670038                Gas           Gov. Aggregation   COH             148831160027                Gas           Gov. Aggregation
COH             113214330020                Gas           Gov. Aggregation   COH             111080630015                Gas           Gov. Aggregation
COH             145023180029                Gas           Gov. Aggregation   COH             111080690013                Gas           Gov. Aggregation
COH             172683200032                Gas           Gov. Aggregation   COH             190714350014                Gas           Gov. Aggregation
COH             190448630029                Gas           Gov. Aggregation   COH             187653380013                Gas           Gov. Aggregation
COH             194073970038                Gas           Gov. Aggregation   COH             186889100013                Gas           Gov. Aggregation
COH             201227250014                Gas           Gov. Aggregation   COH             172876620017                Gas           Gov. Aggregation
COH             153314010045                Gas           Gov. Aggregation   COH             142178950014                Gas           Gov. Aggregation
COH             112274110049                Gas           Gov. Aggregation   COH             153819440018                Gas           Gov. Aggregation
COH             200271080018                Gas           Gov. Aggregation   COH             169818630012                Gas           Gov. Aggregation
COH             197443730012                Gas           Gov. Aggregation   COH             163931650014                Gas           Gov. Aggregation
COH             198375790014                Gas           Gov. Aggregation   COH             195554080016                Gas           Gov. Aggregation
COH             198526020023                Gas           Gov. Aggregation   COH             196894970018                Gas           Gov. Aggregation
COH             199697550011                Gas           Gov. Aggregation   COH             192157670017                Gas           Gov. Aggregation
COH             199185850013                Gas           Gov. Aggregation   COH             191915190011                Gas           Gov. Aggregation
COH             153423070079                Gas           Gov. Aggregation   COH             193542220013                Gas           Gov. Aggregation
COH             144940230025                Gas           Gov. Aggregation   COH             137874790019                Gas           Gov. Aggregation
COH             143556360024                Gas           Gov. Aggregation   COH             119576150026                Gas           Gov. Aggregation
COH             112294810013                Gas           Gov. Aggregation   COH             195292500031                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             201523680016                Gas           Gov. Aggregation   DEO             0180005441863               Gas           Gov. Aggregation
COH             191049160032                Gas           Gov. Aggregation   COH             114924740019                Gas           Gov. Aggregation
COH             199254530013                Gas           Gov. Aggregation   COH             202385630019                Gas           Gov. Aggregation
COH             172642480030                Gas           Gov. Aggregation   DEO             0180005725780               Gas           Gov. Aggregation
COH             200424450015                Gas           Gov. Aggregation   COH             150145580039                Gas           Gov. Aggregation
COH             201930420017                Gas           Gov. Aggregation   COH             152040020018                Gas           Gov. Aggregation
COH             201705110019                Gas           Gov. Aggregation   COH             130649480054                Gas           Gov. Aggregation
COH             200268350036                Gas           Gov. Aggregation   VEDO            4015872962397418            Gas           Gov. Aggregation
COH             162122560037                Gas           Gov. Aggregation   VEDO            4005159172528755            Gas           Gov. Aggregation
COH             112222330015                Gas           Gov. Aggregation   DEO             2500002635476               Gas           Gov. Aggregation
COH             188383810032                Gas           Gov. Aggregation   COH             203163480010                Gas           Gov. Aggregation
COH             189125880033                Gas           Gov. Aggregation   DEO             4500036705861               Gas           Gov. Aggregation
COH             199969110016                Gas           Gov. Aggregation   DEO             4500065168195               Gas           Gov. Aggregation
COH             195534020029                Gas           Gov. Aggregation   COH             111283170067                Gas           Gov. Aggregation
COH             188666640010                Gas           Gov. Aggregation   DEO             4180002060428               Gas           Gov. Aggregation
COH             191211070045                Gas           Gov. Aggregation   COH             152735370049                Gas           Gov. Aggregation
COH             199721920010                Gas           Gov. Aggregation   DEO             8180006207499               Gas           Gov. Aggregation
COH             198745670014                Gas           Gov. Aggregation   COH             203337140012                Gas           Gov. Aggregation
COH             201355820013                Gas           Gov. Aggregation   DEO             2180004790398               Gas           Gov. Aggregation
COH             200339360015                Gas           Gov. Aggregation   COH             148867200014                Gas           Gov. Aggregation
COH             200705330014                Gas           Gov. Aggregation   COH             191405350027                Gas           Gov. Aggregation
COH             171881250015                Gas           Gov. Aggregation   DEO             1180006236355               Gas           Gov. Aggregation
COH             165416630027                Gas           Gov. Aggregation   DEO             4500038163890               Gas           Gov. Aggregation
COH             177340190072                Gas           Gov. Aggregation   COH             203377720016                Gas           Gov. Aggregation
COH             112254230028                Gas           Gov. Aggregation   COH             111230080012                Gas           Gov. Aggregation
COH             195801630024                Gas           Gov. Aggregation   COH             111230660038                Gas           Gov. Aggregation
COH             191800290040                Gas           Gov. Aggregation   COH             111266170036                Gas           Gov. Aggregation
COH             197251300019                Gas           Gov. Aggregation   COH             111267310025                Gas           Gov. Aggregation
COH             134796630011                Gas           Gov. Aggregation   COH             111275680030                Gas           Gov. Aggregation
COH             112293590012                Gas           Gov. Aggregation   COH             111277190020                Gas           Gov. Aggregation
COH             112293810015                Gas           Gov. Aggregation   COH             111941150029                Gas           Gov. Aggregation
COH             112294090015                Gas           Gov. Aggregation   COH             112046090038                Gas           Gov. Aggregation
COH             113200960045                Gas           Gov. Aggregation   COH             130948390031                Gas           Gov. Aggregation
COH             197645520018                Gas           Gov. Aggregation   COH             145553110057                Gas           Gov. Aggregation
COH             112705710066                Gas           Gov. Aggregation   COH             146560690023                Gas           Gov. Aggregation
COH             122484360031                Gas           Gov. Aggregation   COH             148314080084                Gas           Gov. Aggregation
COH             200503290011                Gas           Gov. Aggregation   COH             149352900017                Gas           Gov. Aggregation
COH             199064920014                Gas           Gov. Aggregation   COH             149849560034                Gas           Gov. Aggregation
COH             144756780021                Gas           Gov. Aggregation   COH             151745480037                Gas           Gov. Aggregation
COH             112269020049                Gas           Gov. Aggregation   COH             161101150109                Gas           Gov. Aggregation
COH             170220300015                Gas           Gov. Aggregation   COH             163443760043                Gas           Gov. Aggregation
COH             199414520024                Gas           Gov. Aggregation   COH             164142190013                Gas           Gov. Aggregation
COH             201171940018                Gas           Gov. Aggregation   COH             165183550029                Gas           Gov. Aggregation
COH             200555640018                Gas           Gov. Aggregation   COH             166289690098                Gas           Gov. Aggregation
COH             192823150022                Gas           Gov. Aggregation   COH             173248620026                Gas           Gov. Aggregation
COH             175871350039                Gas           Gov. Aggregation   COH             173808500023                Gas           Gov. Aggregation
COH             112192710029                Gas           Gov. Aggregation   COH             176022350019                Gas           Gov. Aggregation
COH             157627680226                Gas           Gov. Aggregation   COH             187409260024                Gas           Gov. Aggregation
COH             172399200026                Gas           Gov. Aggregation   COH             190292560043                Gas           Gov. Aggregation
COH             199192470018                Gas           Gov. Aggregation   COH             190617480022                Gas           Gov. Aggregation
COH             197201280019                Gas           Gov. Aggregation   COH             191352490030                Gas           Gov. Aggregation
COH             200103090011                Gas           Gov. Aggregation   COH             191632360033                Gas           Gov. Aggregation
COH             200143460019                Gas           Gov. Aggregation   COH             197406110038                Gas           Gov. Aggregation
COH             200471450016                Gas           Gov. Aggregation   COH             197480590023                Gas           Gov. Aggregation
COH             200683160018                Gas           Gov. Aggregation   COH             197549050011                Gas           Gov. Aggregation
COH             173026670062                Gas           Gov. Aggregation   COH             197575770015                Gas           Gov. Aggregation
COH             191729730021                Gas           Gov. Aggregation   COH             197582180014                Gas           Gov. Aggregation
COH             198884270014                Gas           Gov. Aggregation   COH             198195850013                Gas           Gov. Aggregation
COH             194181710024                Gas           Gov. Aggregation   COH             198355050011                Gas           Gov. Aggregation
COH             192542200027                Gas           Gov. Aggregation   COH             198430620011                Gas           Gov. Aggregation
COH             199679840018                Gas           Gov. Aggregation   COH             198453940016                Gas           Gov. Aggregation
COH             199489380018                Gas           Gov. Aggregation   COH             198453940025                Gas           Gov. Aggregation
COH             199587990012                Gas           Gov. Aggregation   COH             199218290010                Gas           Gov. Aggregation
COH             199203550016                Gas           Gov. Aggregation   COH             199267790012                Gas           Gov. Aggregation
COH             196338660011                Gas           Gov. Aggregation   COH             199614390019                Gas           Gov. Aggregation
COH             151507820011                Gas           Gov. Aggregation   COH             200131840014                Gas           Gov. Aggregation
COH             192475690037                Gas           Gov. Aggregation   COH             200682130016                Gas           Gov. Aggregation
COH             199699360017                Gas           Gov. Aggregation   COH             200691840018                Gas           Gov. Aggregation
COH             199635970013                Gas           Gov. Aggregation   COH             200708840011                Gas           Gov. Aggregation
COH             201618000017                Gas           Gov. Aggregation   COH             200801170014                Gas           Gov. Aggregation
COH             200718460010                Gas           Gov. Aggregation   COH             200857690018                Gas           Gov. Aggregation
COH             200806030013                Gas           Gov. Aggregation   COH             200964610017                Gas           Gov. Aggregation
COH             200806130012                Gas           Gov. Aggregation   COH             201375010011                Gas           Gov. Aggregation
COH             196266670021                Gas           Gov. Aggregation   COH             201432800013                Gas           Gov. Aggregation
COH             189154370020                Gas           Gov. Aggregation   COH             201433690015                Gas           Gov. Aggregation
COH             172049600069                Gas           Gov. Aggregation   COH             201435360010                Gas           Gov. Aggregation
COH             176475320025                Gas           Gov. Aggregation   COH             201435370018                Gas           Gov. Aggregation
COH             201411060013                Gas           Gov. Aggregation   COH             201462170013                Gas           Gov. Aggregation
COH             150592960014                Gas           Gov. Aggregation   COH             201484530011                Gas           Gov. Aggregation
COH             157887640082                Gas           Gov. Aggregation   COH             201492980010                Gas           Gov. Aggregation
COH             174991410060                Gas           Gov. Aggregation   COH             201958110014                Gas           Gov. Aggregation
COH             176841670052                Gas           Gov. Aggregation   COH             202105410017                Gas           Gov. Aggregation
COH             199618070018                Gas           Gov. Aggregation   COH             202208780012                Gas           Gov. Aggregation
COH             191395520024                Gas           Gov. Aggregation   COH             202416650018                Gas           Gov. Aggregation
COH             191187040026                Gas           Gov. Aggregation   COH             202462840011                Gas           Gov. Aggregation
COH             142434520029                Gas           Gov. Aggregation   COH             202522890013                Gas           Gov. Aggregation
COH             200683210017                Gas           Gov. Aggregation   COH             202868950018                Gas           Gov. Aggregation
COH             201738100012                Gas           Gov. Aggregation   COH             202950610014                Gas           Gov. Aggregation
COH             190881030036                Gas           Gov. Aggregation   COH             201803070010                Gas           Gov. Aggregation
COH             190145270036                Gas           Gov. Aggregation   COH             201472930012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             198452660035                Gas           Gov. Aggregation   COH             175027560025                Gas           Gov. Aggregation
COH             198224160015                Gas           Gov. Aggregation   COH             157719640023                Gas           Gov. Aggregation
COH             186010170038                Gas           Gov. Aggregation   COH             203316770014                Gas           Gov. Aggregation
COH             201863460012                Gas           Gov. Aggregation   COH             202818520013                Gas           Gov. Aggregation
COH             131703540054                Gas           Gov. Aggregation   COH             193805350027                Gas           Gov. Aggregation
COH             198027750019                Gas           Gov. Aggregation   COH             185700310027                Gas           Gov. Aggregation
COH             112692480073                Gas           Gov. Aggregation   COH             198823070014                Gas           Gov. Aggregation
VEDO            4017952032643070            Gas           Gov. Aggregation   COH             196632620015                Gas           Gov. Aggregation
COH             187232130035                Gas           Gov. Aggregation   COH             110596390023                Gas           Gov. Aggregation
COH             167687790047                Gas           Gov. Aggregation   COH             194125210027                Gas           Gov. Aggregation
DEO             4180004466718               Gas           Gov. Aggregation   COH             202370340011                Gas           Gov. Aggregation
DEO             4180004342538               Gas           Gov. Aggregation   COH             186983310019                Gas           Gov. Aggregation
DEO             9180004307183               Gas           Gov. Aggregation   COH             201003430010                Gas           Gov. Aggregation
COH             176479560036                Gas           Gov. Aggregation   COH             202199700019                Gas           Gov. Aggregation
DEO             5180004437506               Gas           Gov. Aggregation   COH             190754140032                Gas           Gov. Aggregation
COH             192655050020                Gas           Gov. Aggregation   COH             110621360015                Gas           Gov. Aggregation
COH             194977160023                Gas           Gov. Aggregation   COH             110638540021                Gas           Gov. Aggregation
COH             188856830053                Gas           Gov. Aggregation   COH             203239980014                Gas           Gov. Aggregation
COH             202417700015                Gas           Gov. Aggregation   COH             200922180016                Gas           Gov. Aggregation
COH             122353850026                Gas           Gov. Aggregation   COH             192665210016                Gas           Gov. Aggregation
DEO             5180004507493               Gas           Gov. Aggregation   COH             188701960035                Gas           Gov. Aggregation
COH             202438420010                Gas           Gov. Aggregation   COH             202231710017                Gas           Gov. Aggregation
COH             118678060039                Gas           Gov. Aggregation   COH             194051140010                Gas           Gov. Aggregation
COH             120160410029                Gas           Gov. Aggregation   COH             191605870015                Gas           Gov. Aggregation
DEO             1180004659327               Gas           Gov. Aggregation   COH             177013660012                Gas           Gov. Aggregation
DEO             5180004434758               Gas           Gov. Aggregation   COH             175401830015                Gas           Gov. Aggregation
DEO             7180004691807               Gas           Gov. Aggregation   COH             194600770013                Gas           Gov. Aggregation
COH             200282790016                Gas           Gov. Aggregation   COH             176136090013                Gas           Gov. Aggregation
COH             110726580044                Gas           Gov. Aggregation   COH             200030860014                Gas           Gov. Aggregation
COH             136825650030                Gas           Gov. Aggregation   COH             110572270019                Gas           Gov. Aggregation
COH             200347400019                Gas           Gov. Aggregation   COH             110565910037                Gas           Gov. Aggregation
COH             192466420023                Gas           Gov. Aggregation   COH             172251440019                Gas           Gov. Aggregation
COH             110684740022                Gas           Gov. Aggregation   COH             167420530045                Gas           Gov. Aggregation
COH             197833400014                Gas           Gov. Aggregation   COH             160376040059                Gas           Gov. Aggregation
COH             192641070043                Gas           Gov. Aggregation   COH             162959460017                Gas           Gov. Aggregation
COH             169627630053                Gas           Gov. Aggregation   COH             154194030019                Gas           Gov. Aggregation
VEDO            4001196422447095            Gas           Gov. Aggregation   COH             133897670029                Gas           Gov. Aggregation
VEDO            4001437212244531            Gas           Gov. Aggregation   COH             200545330014                Gas           Gov. Aggregation
VEDO            4001501702108371            Gas           Gov. Aggregation   COH             202466880015                Gas           Gov. Aggregation
VEDO            4002274152297831            Gas           Gov. Aggregation   COH             172521280038                Gas           Gov. Aggregation
VEDO            4002992102333972            Gas           Gov. Aggregation   COH             199139790013                Gas           Gov. Aggregation
VEDO            4003352392102143            Gas           Gov. Aggregation   COH             199258910024                Gas           Gov. Aggregation
VEDO            4003462882176853            Gas           Gov. Aggregation   COH             199844700016                Gas           Gov. Aggregation
VEDO            4003486632673647            Gas           Gov. Aggregation   COH             199812930015                Gas           Gov. Aggregation
VEDO            4004095362403974            Gas           Gov. Aggregation   COH             196708480014                Gas           Gov. Aggregation
VEDO            4004171882419422            Gas           Gov. Aggregation   COH             196236960014                Gas           Gov. Aggregation
VEDO            4004386802206654            Gas           Gov. Aggregation   COH             195998490010                Gas           Gov. Aggregation
VEDO            4004419962136836            Gas           Gov. Aggregation   COH             192679090013                Gas           Gov. Aggregation
VEDO            4004511062124497            Gas           Gov. Aggregation   COH             189924520016                Gas           Gov. Aggregation
VEDO            4010037152341185            Gas           Gov. Aggregation   COH             189945670011                Gas           Gov. Aggregation
VEDO            4015040722367175            Gas           Gov. Aggregation   COH             189326570023                Gas           Gov. Aggregation
VEDO            4015160612167980            Gas           Gov. Aggregation   COH             188565160015                Gas           Gov. Aggregation
VEDO            4015946682184879            Gas           Gov. Aggregation   COH             173174130035                Gas           Gov. Aggregation
VEDO            4015978452160518            Gas           Gov. Aggregation   COH             164109580020                Gas           Gov. Aggregation
VEDO            4015996122232168            Gas           Gov. Aggregation   COH             163868760016                Gas           Gov. Aggregation
VEDO            4016019812216547            Gas           Gov. Aggregation   COH             162316310010                Gas           Gov. Aggregation
VEDO            4016638062371161            Gas           Gov. Aggregation   COH             161033320028                Gas           Gov. Aggregation
VEDO            4017210592263505            Gas           Gov. Aggregation   COH             161064750032                Gas           Gov. Aggregation
VEDO            4017318522228766            Gas           Gov. Aggregation   COH             162050520010                Gas           Gov. Aggregation
VEDO            4017318782330790            Gas           Gov. Aggregation   COH             160574550025                Gas           Gov. Aggregation
VEDO            4017517392298518            Gas           Gov. Aggregation   COH             201909250018                Gas           Gov. Aggregation
VEDO            4017544572322779            Gas           Gov. Aggregation   COH             202366890015                Gas           Gov. Aggregation
VEDO            4017573122164223            Gas           Gov. Aggregation   COH             123627900023                Gas           Gov. Aggregation
VEDO            4017723002427482            Gas           Gov. Aggregation   COH             168716030051                Gas           Gov. Aggregation
VEDO            4017723842167378            Gas           Gov. Aggregation   COH             171116580017                Gas           Gov. Aggregation
VEDO            4017967772217854            Gas           Gov. Aggregation   COH             196750480024                Gas           Gov. Aggregation
VEDO            4018000622643031            Gas           Gov. Aggregation   COH             172644490016                Gas           Gov. Aggregation
VEDO            4018101872334084            Gas           Gov. Aggregation   COH             162936230022                Gas           Gov. Aggregation
VEDO            4018362192412306            Gas           Gov. Aggregation   COH             142410790041                Gas           Gov. Aggregation
VEDO            4018383992465725            Gas           Gov. Aggregation   COH             134054080019                Gas           Gov. Aggregation
VEDO            4018391922452436            Gas           Gov. Aggregation   COH             123738430018                Gas           Gov. Aggregation
VEDO            4018625532620134            Gas           Gov. Aggregation   COH             123738470010                Gas           Gov. Aggregation
VEDO            4018680962187283            Gas           Gov. Aggregation   COH             186191710032                Gas           Gov. Aggregation
VEDO            4018694752431907            Gas           Gov. Aggregation   COH             194549990017                Gas           Gov. Aggregation
VEDO            4018732722232609            Gas           Gov. Aggregation   COH             168433250019                Gas           Gov. Aggregation
VEDO            4018886882112963            Gas           Gov. Aggregation   COH             200005000017                Gas           Gov. Aggregation
VEDO            4018893172360755            Gas           Gov. Aggregation   COH             198403250016                Gas           Gov. Aggregation
VEDO            4018924112205542            Gas           Gov. Aggregation   COH             202627570018                Gas           Gov. Aggregation
VEDO            4018960822182047            Gas           Gov. Aggregation   COH             191269750023                Gas           Gov. Aggregation
VEDO            4018978352409709            Gas           Gov. Aggregation   COH             194515910050                Gas           Gov. Aggregation
VEDO            4018981332278928            Gas           Gov. Aggregation   COH             123653760028                Gas           Gov. Aggregation
VEDO            4019191942438772            Gas           Gov. Aggregation   COH             152185100042                Gas           Gov. Aggregation
VEDO            4019202162305371            Gas           Gov. Aggregation   COH             154240620061                Gas           Gov. Aggregation
VEDO            4019399872304749            Gas           Gov. Aggregation   COH             161403170034                Gas           Gov. Aggregation
VEDO            4019744222124853            Gas           Gov. Aggregation   COH             195451170024                Gas           Gov. Aggregation
VEDO            4019744222384149            Gas           Gov. Aggregation   COH             194229390020                Gas           Gov. Aggregation
VEDO            4019750092414154            Gas           Gov. Aggregation   COH             193368530027                Gas           Gov. Aggregation
VEDO            4019758842500941            Gas           Gov. Aggregation   COH             193140110018                Gas           Gov. Aggregation
VEDO            4019764952188789            Gas           Gov. Aggregation   COH             190593720014                Gas           Gov. Aggregation
VEDO            4019780732238315            Gas           Gov. Aggregation   COH             170819580018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4019839482313446            Gas           Gov. Aggregation   COH             171954420014                Gas           Gov. Aggregation
VEDO            4019848262236480            Gas           Gov. Aggregation   COH             175060660024                Gas           Gov. Aggregation
VEDO            4019857662432957            Gas           Gov. Aggregation   COH             175431600010                Gas           Gov. Aggregation
VEDO            4019859862213658            Gas           Gov. Aggregation   COH             185184710029                Gas           Gov. Aggregation
VEDO            4019862682517087            Gas           Gov. Aggregation   COH             191783280013                Gas           Gov. Aggregation
VEDO            4019863502204789            Gas           Gov. Aggregation   COH             193677570024                Gas           Gov. Aggregation
VEDO            4019889132338089            Gas           Gov. Aggregation   COH             162909750039                Gas           Gov. Aggregation
VEDO            4019898552140697            Gas           Gov. Aggregation   COH             170394180069                Gas           Gov. Aggregation
VEDO            4019900102122599            Gas           Gov. Aggregation   COH             144867270041                Gas           Gov. Aggregation
VEDO            4019904492343685            Gas           Gov. Aggregation   COH             154079500069                Gas           Gov. Aggregation
VEDO            4019913142278949            Gas           Gov. Aggregation   COH             128872650022                Gas           Gov. Aggregation
VEDO            4019933572268190            Gas           Gov. Aggregation   COH             201774710018                Gas           Gov. Aggregation
VEDO            4019942522453887            Gas           Gov. Aggregation   COH             202530850014                Gas           Gov. Aggregation
VEDO            4019943272537448            Gas           Gov. Aggregation   COH             123682920023                Gas           Gov. Aggregation
VEDO            4019945802345244            Gas           Gov. Aggregation   COH             131864490046                Gas           Gov. Aggregation
VEDO            4019948522143984            Gas           Gov. Aggregation   COH             140625540022                Gas           Gov. Aggregation
VEDO            4019949192263403            Gas           Gov. Aggregation   COH             199971600018                Gas           Gov. Aggregation
VEDO            4019963512108507            Gas           Gov. Aggregation   COH             197219840014                Gas           Gov. Aggregation
VEDO            4019987652672864            Gas           Gov. Aggregation   COH             197925120018                Gas           Gov. Aggregation
VEDO            4019988562289335            Gas           Gov. Aggregation   COH             195142080037                Gas           Gov. Aggregation
VEDO            4019990612469565            Gas           Gov. Aggregation   COH             202096820012                Gas           Gov. Aggregation
VEDO            4020008992537956            Gas           Gov. Aggregation   COH             123629400060                Gas           Gov. Aggregation
VEDO            4020009642441076            Gas           Gov. Aggregation   COH             123641360027                Gas           Gov. Aggregation
VEDO            4020024122502644            Gas           Gov. Aggregation   COH             123665630011                Gas           Gov. Aggregation
VEDO            4020024552298862            Gas           Gov. Aggregation   COH             123651160019                Gas           Gov. Aggregation
VEDO            4020025052325170            Gas           Gov. Aggregation   COH             123650200012                Gas           Gov. Aggregation
VEDO            4020028272436654            Gas           Gov. Aggregation   COH             164792770041                Gas           Gov. Aggregation
VEDO            4020043262473065            Gas           Gov. Aggregation   COH             169524120049                Gas           Gov. Aggregation
VEDO            4020056912537851            Gas           Gov. Aggregation   COH             197385390018                Gas           Gov. Aggregation
VEDO            4020058722361084            Gas           Gov. Aggregation   COH             200410820016                Gas           Gov. Aggregation
VEDO            4020060232130880            Gas           Gov. Aggregation   COH             149425210035                Gas           Gov. Aggregation
COH             177145630028                Gas           Gov. Aggregation   COH             201936070019                Gas           Gov. Aggregation
COH             174645530013                Gas           Gov. Aggregation   COH             200937700015                Gas           Gov. Aggregation
COH             173979040010                Gas           Gov. Aggregation   COH             202350060012                Gas           Gov. Aggregation
COH             173581830017                Gas           Gov. Aggregation   COH             152703000034                Gas           Gov. Aggregation
COH             148501190100                Gas           Gov. Aggregation   COH             153608960025                Gas           Gov. Aggregation
COH             152747350020                Gas           Gov. Aggregation   COH             158236910056                Gas           Gov. Aggregation
COH             152790920636                Gas           Gov. Aggregation   COH             156442760026                Gas           Gov. Aggregation
COH             142188650025                Gas           Gov. Aggregation   COH             148864930044                Gas           Gov. Aggregation
COH             118260950028                Gas           Gov. Aggregation   COH             149863480013                Gas           Gov. Aggregation
COH             200983980010                Gas           Gov. Aggregation   COH             150194220031                Gas           Gov. Aggregation
COH             200925390016                Gas           Gov. Aggregation   COH             151510420027                Gas           Gov. Aggregation
COH             201259750012                Gas           Gov. Aggregation   COH             152432260026                Gas           Gov. Aggregation
COH             201161420018                Gas           Gov. Aggregation   COH             154012380047                Gas           Gov. Aggregation
COH             201163640018                Gas           Gov. Aggregation   COH             154181870047                Gas           Gov. Aggregation
COH             201212760018                Gas           Gov. Aggregation   COH             153859580042                Gas           Gov. Aggregation
COH             200492930011                Gas           Gov. Aggregation   COH             155088770107                Gas           Gov. Aggregation
COH             200503080015                Gas           Gov. Aggregation   COH             155788260057                Gas           Gov. Aggregation
COH             200592050014                Gas           Gov. Aggregation   COH             155712400010                Gas           Gov. Aggregation
COH             200604240017                Gas           Gov. Aggregation   COH             161841670013                Gas           Gov. Aggregation
COH             200604210013                Gas           Gov. Aggregation   COH             167747990029                Gas           Gov. Aggregation
COH             177582030046                Gas           Gov. Aggregation   COH             171827330030                Gas           Gov. Aggregation
COH             187841270026                Gas           Gov. Aggregation   COH             171167980016                Gas           Gov. Aggregation
COH             187016510024                Gas           Gov. Aggregation   COH             190953870028                Gas           Gov. Aggregation
COH             190283680029                Gas           Gov. Aggregation   COH             189753980031                Gas           Gov. Aggregation
COH             190574090035                Gas           Gov. Aggregation   COH             189457580033                Gas           Gov. Aggregation
COH             190993610028                Gas           Gov. Aggregation   COH             200348350036                Gas           Gov. Aggregation
COH             199307210017                Gas           Gov. Aggregation   COH             199433090025                Gas           Gov. Aggregation
COH             199335010029                Gas           Gov. Aggregation   COH             201894010011                Gas           Gov. Aggregation
COH             193766570025                Gas           Gov. Aggregation   COH             202485020015                Gas           Gov. Aggregation
COH             193114520017                Gas           Gov. Aggregation   COH             202329180012                Gas           Gov. Aggregation
COH             193250060034                Gas           Gov. Aggregation   COH             202315590015                Gas           Gov. Aggregation
COH             192447530020                Gas           Gov. Aggregation   COH             202133640010                Gas           Gov. Aggregation
COH             202181900014                Gas           Gov. Aggregation   COH             188294750070                Gas           Gov. Aggregation
COH             202119400010                Gas           Gov. Aggregation   COH             190306240012                Gas           Gov. Aggregation
COH             202163680019                Gas           Gov. Aggregation   COH             188962930011                Gas           Gov. Aggregation
COH             202163730018                Gas           Gov. Aggregation   COH             196922520020                Gas           Gov. Aggregation
COH             202093010018                Gas           Gov. Aggregation   COH             175794190055                Gas           Gov. Aggregation
COH             201722900017                Gas           Gov. Aggregation   COH             174055410064                Gas           Gov. Aggregation
COH             201722830012                Gas           Gov. Aggregation   COH             185532140011                Gas           Gov. Aggregation
COH             201714240013                Gas           Gov. Aggregation   COH             199043680019                Gas           Gov. Aggregation
COH             201485050010                Gas           Gov. Aggregation   COH             198875830033                Gas           Gov. Aggregation
COH             192130970029                Gas           Gov. Aggregation   COH             198848140017                Gas           Gov. Aggregation
COH             194635120025                Gas           Gov. Aggregation   COH             198834460019                Gas           Gov. Aggregation
COH             196253540025                Gas           Gov. Aggregation   COH             198888290012                Gas           Gov. Aggregation
COH             117556260027                Gas           Gov. Aggregation   COH             143694970015                Gas           Gov. Aggregation
COH             117242760036                Gas           Gov. Aggregation   COH             123699150020                Gas           Gov. Aggregation
COH             167950300040                Gas           Gov. Aggregation   COH             185386740034                Gas           Gov. Aggregation
COH             164974270013                Gas           Gov. Aggregation   COH             186193020033                Gas           Gov. Aggregation
COH             164637920010                Gas           Gov. Aggregation   COH             174199030024                Gas           Gov. Aggregation
COH             148922000027                Gas           Gov. Aggregation   COH             143636430010                Gas           Gov. Aggregation
COH             149900370025                Gas           Gov. Aggregation   COH             202907900014                Gas           Gov. Aggregation
COH             150026660052                Gas           Gov. Aggregation   COH             159744230079                Gas           Gov. Aggregation
COH             142819430031                Gas           Gov. Aggregation   COH             193318820021                Gas           Gov. Aggregation
COH             132738610028                Gas           Gov. Aggregation   COH             192017990016                Gas           Gov. Aggregation
COH             163243020024                Gas           Gov. Aggregation   COH             194636380010                Gas           Gov. Aggregation
COH             163270760031                Gas           Gov. Aggregation   COH             195188960018                Gas           Gov. Aggregation
COH             163108370081                Gas           Gov. Aggregation   COH             199327120023                Gas           Gov. Aggregation
COH             159171900037                Gas           Gov. Aggregation   COH             199188540030                Gas           Gov. Aggregation
COH             158897550025                Gas           Gov. Aggregation   COH             199242560021                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             201843410014                Gas           Gov. Aggregation   COH             199463040013                Gas           Gov. Aggregation
COH             201522770019                Gas           Gov. Aggregation   COH             199375170013                Gas           Gov. Aggregation
COH             201268930015                Gas           Gov. Aggregation   COH             199885880013                Gas           Gov. Aggregation
COH             201918990014                Gas           Gov. Aggregation   COH             200785510018                Gas           Gov. Aggregation
COH             201754050019                Gas           Gov. Aggregation   COH             200239890016                Gas           Gov. Aggregation
COH             120202030047                Gas           Gov. Aggregation   COH             200426180018                Gas           Gov. Aggregation
COH             134575920036                Gas           Gov. Aggregation   COH             197019950015                Gas           Gov. Aggregation
COH             137711340017                Gas           Gov. Aggregation   COH             196464270025                Gas           Gov. Aggregation
COH             169543810026                Gas           Gov. Aggregation   COH             194891220013                Gas           Gov. Aggregation
COH             201977410011                Gas           Gov. Aggregation   COH             194977180029                Gas           Gov. Aggregation
COH             192079320025                Gas           Gov. Aggregation   COH             194003310024                Gas           Gov. Aggregation
COH             149109090013                Gas           Gov. Aggregation   COH             123663770025                Gas           Gov. Aggregation
COH             172935770038                Gas           Gov. Aggregation   COH             123636120019                Gas           Gov. Aggregation
COH             202105990016                Gas           Gov. Aggregation   COH             123639140082                Gas           Gov. Aggregation
COH             200367510014                Gas           Gov. Aggregation   COH             123639140037                Gas           Gov. Aggregation
COH             195343420020                Gas           Gov. Aggregation   COH             123639140055                Gas           Gov. Aggregation
COH             191944320030                Gas           Gov. Aggregation   COH             195693510011                Gas           Gov. Aggregation
COH             201153400019                Gas           Gov. Aggregation   COH             195804980016                Gas           Gov. Aggregation
COH             201199750010                Gas           Gov. Aggregation   COH             164153500014                Gas           Gov. Aggregation
COH             200384340014                Gas           Gov. Aggregation   COH             164700280074                Gas           Gov. Aggregation
COH             200276640010                Gas           Gov. Aggregation   COH             163636230027                Gas           Gov. Aggregation
COH             163620530027                Gas           Gov. Aggregation   COH             200047080013                Gas           Gov. Aggregation
COH             201902000014                Gas           Gov. Aggregation   COH             200871770011                Gas           Gov. Aggregation
COH             160321300095                Gas           Gov. Aggregation   COH             197137600018                Gas           Gov. Aggregation
COH             159187840028                Gas           Gov. Aggregation   COH             189366720018                Gas           Gov. Aggregation
COH             201901970013                Gas           Gov. Aggregation   COH             201073960012                Gas           Gov. Aggregation
COH             197161950023                Gas           Gov. Aggregation   COH             175357430014                Gas           Gov. Aggregation
COH             200980310016                Gas           Gov. Aggregation   COH             123636790019                Gas           Gov. Aggregation
COH             200364240017                Gas           Gov. Aggregation   COH             123636330015                Gas           Gov. Aggregation
COH             118095930032                Gas           Gov. Aggregation   COH             123728320021                Gas           Gov. Aggregation
COH             144606190022                Gas           Gov. Aggregation   COH             129859060881                Gas           Gov. Aggregation
COH             129995230029                Gas           Gov. Aggregation   COH             129719590046                Gas           Gov. Aggregation
COH             174773880028                Gas           Gov. Aggregation   COH             158524500015                Gas           Gov. Aggregation
COH             200805300018                Gas           Gov. Aggregation   COH             144416450020                Gas           Gov. Aggregation
COH             169031720020                Gas           Gov. Aggregation   COH             147485140018                Gas           Gov. Aggregation
COH             171120130049                Gas           Gov. Aggregation   COH             149652080023                Gas           Gov. Aggregation
COH             190435070024                Gas           Gov. Aggregation   COH             149664590012                Gas           Gov. Aggregation
COH             176441340031                Gas           Gov. Aggregation   COH             169556870018                Gas           Gov. Aggregation
COH             187548110030                Gas           Gov. Aggregation   COH             200710260018                Gas           Gov. Aggregation
COH             144951390038                Gas           Gov. Aggregation   COH             200890230014                Gas           Gov. Aggregation
COH             173227260026                Gas           Gov. Aggregation   COH             199821280013                Gas           Gov. Aggregation
COH             176262420052                Gas           Gov. Aggregation   COH             198423430016                Gas           Gov. Aggregation
COH             165095640018                Gas           Gov. Aggregation   COH             198227770011                Gas           Gov. Aggregation
COH             200184220013                Gas           Gov. Aggregation   COH             199368190014                Gas           Gov. Aggregation
COH             201681870012                Gas           Gov. Aggregation   COH             165828220011                Gas           Gov. Aggregation
COH             200983890019                Gas           Gov. Aggregation   COH             202903870019                Gas           Gov. Aggregation
COH             200348770010                Gas           Gov. Aggregation   COH             160869020021                Gas           Gov. Aggregation
COH             173786630079                Gas           Gov. Aggregation   COH             149750710040                Gas           Gov. Aggregation
COH             160386640052                Gas           Gov. Aggregation   COH             141473470038                Gas           Gov. Aggregation
COH             201595460011                Gas           Gov. Aggregation   COH             130329750019                Gas           Gov. Aggregation
COH             202139990015                Gas           Gov. Aggregation   COH             171410150424                Gas           Gov. Aggregation
COH             201348950011                Gas           Gov. Aggregation   COH             197711850018                Gas           Gov. Aggregation
COH             188696280068                Gas           Gov. Aggregation   COH             197084860017                Gas           Gov. Aggregation
COH             173237870045                Gas           Gov. Aggregation   COH             190279300018                Gas           Gov. Aggregation
COH             200973870014                Gas           Gov. Aggregation   COH             186653070019                Gas           Gov. Aggregation
COH             201852290011                Gas           Gov. Aggregation   COH             201201380011                Gas           Gov. Aggregation
COH             201492520034                Gas           Gov. Aggregation   COH             164652000011                Gas           Gov. Aggregation
COH             148812970027                Gas           Gov. Aggregation   COH             164527520035                Gas           Gov. Aggregation
COH             173271690041                Gas           Gov. Aggregation   COH             168022470041                Gas           Gov. Aggregation
COH             171669470037                Gas           Gov. Aggregation   COH             168606430023                Gas           Gov. Aggregation
COH             187499320022                Gas           Gov. Aggregation   COH             144639370016                Gas           Gov. Aggregation
COH             199087710029                Gas           Gov. Aggregation   COH             154039130034                Gas           Gov. Aggregation
COH             157360570047                Gas           Gov. Aggregation   COH             198587140011                Gas           Gov. Aggregation
COH             201617110016                Gas           Gov. Aggregation   COH             196115030015                Gas           Gov. Aggregation
COH             140467700033                Gas           Gov. Aggregation   COH             197345650026                Gas           Gov. Aggregation
COH             118127440027                Gas           Gov. Aggregation   COH             197925050013                Gas           Gov. Aggregation
COH             147343130083                Gas           Gov. Aggregation   COH             193965980027                Gas           Gov. Aggregation
COH             201401780013                Gas           Gov. Aggregation   COH             176900530019                Gas           Gov. Aggregation
COH             201968520017                Gas           Gov. Aggregation   COH             185427610015                Gas           Gov. Aggregation
COH             139832370022                Gas           Gov. Aggregation   COH             123737510013                Gas           Gov. Aggregation
COH             163043130016                Gas           Gov. Aggregation   COH             200565650015                Gas           Gov. Aggregation
COH             168137140038                Gas           Gov. Aggregation   COH             200104810017                Gas           Gov. Aggregation
COH             195343100036                Gas           Gov. Aggregation   COH             198386170011                Gas           Gov. Aggregation
COH             197948460028                Gas           Gov. Aggregation   COH             201391870017                Gas           Gov. Aggregation
COH             187706360078                Gas           Gov. Aggregation   COH             168151620046                Gas           Gov. Aggregation
COH             165446930021                Gas           Gov. Aggregation   COH             166167660010                Gas           Gov. Aggregation
COH             201891050019                Gas           Gov. Aggregation   COH             123714870025                Gas           Gov. Aggregation
COH             200081880013                Gas           Gov. Aggregation   COH             138700840014                Gas           Gov. Aggregation
COH             200404350018                Gas           Gov. Aggregation   COH             140705730013                Gas           Gov. Aggregation
COH             190590890024                Gas           Gov. Aggregation   COH             160251310065                Gas           Gov. Aggregation
COH             160892700029                Gas           Gov. Aggregation   COH             159262040026                Gas           Gov. Aggregation
COH             201115260019                Gas           Gov. Aggregation   COH             158273460026                Gas           Gov. Aggregation
COH             118823820012                Gas           Gov. Aggregation   COH             157961020119                Gas           Gov. Aggregation
COH             144697190049                Gas           Gov. Aggregation   COH             123669150014                Gas           Gov. Aggregation
COH             200180860017                Gas           Gov. Aggregation   COH             123669100014                Gas           Gov. Aggregation
COH             142836940056                Gas           Gov. Aggregation   COH             109401370076                Gas           Gov. Aggregation
COH             201581700019                Gas           Gov. Aggregation   COH             118934880024                Gas           Gov. Aggregation
COH             201677890017                Gas           Gov. Aggregation   COH             123627280024                Gas           Gov. Aggregation
COH             118079090024                Gas           Gov. Aggregation   COH             123662750012                Gas           Gov. Aggregation
COH             149303000046                Gas           Gov. Aggregation   COH             123663100016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             140513170045                Gas           Gov. Aggregation   COH             123664010022                Gas           Gov. Aggregation
COH             201953480017                Gas           Gov. Aggregation   COH             123655270027                Gas           Gov. Aggregation
COH             201231710018                Gas           Gov. Aggregation   COH             195496030010                Gas           Gov. Aggregation
COH             200352590019                Gas           Gov. Aggregation   COH             197321900023                Gas           Gov. Aggregation
COH             200372580019                Gas           Gov. Aggregation   COH             197518860016                Gas           Gov. Aggregation
COH             142499010020                Gas           Gov. Aggregation   COH             197010650016                Gas           Gov. Aggregation
COH             201944080010                Gas           Gov. Aggregation   COH             199555760017                Gas           Gov. Aggregation
COH             201991530016                Gas           Gov. Aggregation   COH             201199120012                Gas           Gov. Aggregation
COH             174405520031                Gas           Gov. Aggregation   COH             201092620013                Gas           Gov. Aggregation
COH             173776640023                Gas           Gov. Aggregation   COH             161842590081                Gas           Gov. Aggregation
COH             164042350093                Gas           Gov. Aggregation   COH             161406400011                Gas           Gov. Aggregation
COH             200184160016                Gas           Gov. Aggregation   COH             132322240054                Gas           Gov. Aggregation
COH             200540930018                Gas           Gov. Aggregation   COH             133550970093                Gas           Gov. Aggregation
COH             202163650015                Gas           Gov. Aggregation   COH             189156310037                Gas           Gov. Aggregation
COH             177652070030                Gas           Gov. Aggregation   COH             188611990049                Gas           Gov. Aggregation
COH             200637750011                Gas           Gov. Aggregation   COH             188105670049                Gas           Gov. Aggregation
COH             201799840019                Gas           Gov. Aggregation   COH             187946720029                Gas           Gov. Aggregation
COH             159503450019                Gas           Gov. Aggregation   COH             187238940033                Gas           Gov. Aggregation
COH             122387270018                Gas           Gov. Aggregation   COH             187560320049                Gas           Gov. Aggregation
COH             125754990024                Gas           Gov. Aggregation   COH             185583550018                Gas           Gov. Aggregation
DEO             7120000159262               Gas           Gov. Aggregation   COH             188280330013                Gas           Gov. Aggregation
COH             187596090025                Gas           Gov. Aggregation   COH             192791380023                Gas           Gov. Aggregation
DEO             8421002502856               Gas           Gov. Aggregation   COH             195127170012                Gas           Gov. Aggregation
COH             140809540013                Gas           Gov. Aggregation   COH             173281570054                Gas           Gov. Aggregation
COH             202515540011                Gas           Gov. Aggregation   COH             186799050024                Gas           Gov. Aggregation
DEO             8180004689663               Gas           Gov. Aggregation   COH             197629850013                Gas           Gov. Aggregation
COH             137426150012                Gas           Gov. Aggregation   COH             198097060017                Gas           Gov. Aggregation
VEDO            4002022312197520            Gas           Gov. Aggregation   COH             198726500019                Gas           Gov. Aggregation
COH             164904220029                Gas           Gov. Aggregation   COH             198702890018                Gas           Gov. Aggregation
DEO             7500023094533               Gas           Gov. Aggregation   COH             143142270048                Gas           Gov. Aggregation
DEO             7180002464621               Gas           Gov. Aggregation   COH             156078770018                Gas           Gov. Aggregation
DEO             2140000104378               Gas           Gov. Aggregation   COH             131336670056                Gas           Gov. Aggregation
COH             122475090019                Gas           Gov. Aggregation   COH             141385440031                Gas           Gov. Aggregation
VEDO            4001802192175935            Gas           Gov. Aggregation   COH             137632750028                Gas           Gov. Aggregation
DEO             8180004934194               Gas           Gov. Aggregation   COH             201687580011                Gas           Gov. Aggregation
COH             195928660011                Gas           Gov. Aggregation   COH             202143660015                Gas           Gov. Aggregation
COH             196940580011                Gas           Gov. Aggregation   COH             202968950016                Gas           Gov. Aggregation
COH             199012710017                Gas           Gov. Aggregation   COH             202212010014                Gas           Gov. Aggregation
COH             171735950017                Gas           Gov. Aggregation   COH             201412500018                Gas           Gov. Aggregation
COH             187811820032                Gas           Gov. Aggregation   COH             201505610018                Gas           Gov. Aggregation
COH             168908790028                Gas           Gov. Aggregation   COH             201237400011                Gas           Gov. Aggregation
COH             200527320014                Gas           Gov. Aggregation   COH             199662250017                Gas           Gov. Aggregation
COH             190628930024                Gas           Gov. Aggregation   COH             199714950019                Gas           Gov. Aggregation
COH             197755580022                Gas           Gov. Aggregation   COH             200629130018                Gas           Gov. Aggregation
COH             164238680035                Gas           Gov. Aggregation   COH             197531970015                Gas           Gov. Aggregation
COH             169158410027                Gas           Gov. Aggregation   COH             196484780017                Gas           Gov. Aggregation
COH             201541770019                Gas           Gov. Aggregation   COH             190944040012                Gas           Gov. Aggregation
COH             111257110019                Gas           Gov. Aggregation   COH             191847850026                Gas           Gov. Aggregation
COH             148438570052                Gas           Gov. Aggregation   COH             195331950015                Gas           Gov. Aggregation
COH             145666360010                Gas           Gov. Aggregation   COH             201029230018                Gas           Gov. Aggregation
COH             141557270014                Gas           Gov. Aggregation   COH             201034270019                Gas           Gov. Aggregation
COH             139443520016                Gas           Gov. Aggregation   COH             200942710012                Gas           Gov. Aggregation
COH             130195870046                Gas           Gov. Aggregation   COH             163292990037                Gas           Gov. Aggregation
COH             148624150037                Gas           Gov. Aggregation   COH             164325980019                Gas           Gov. Aggregation
COH             169150080050                Gas           Gov. Aggregation   COH             151117830016                Gas           Gov. Aggregation
COH             135013480056                Gas           Gov. Aggregation   COH             169358910019                Gas           Gov. Aggregation
COH             197734540015                Gas           Gov. Aggregation   COH             157717490029                Gas           Gov. Aggregation
COH             194935390014                Gas           Gov. Aggregation   COH             156035870035                Gas           Gov. Aggregation
COH             177085620055                Gas           Gov. Aggregation   COH             156035870044                Gas           Gov. Aggregation
COH             200265810044                Gas           Gov. Aggregation   COH             123725960041                Gas           Gov. Aggregation
COH             197627320018                Gas           Gov. Aggregation   COH             123695020052                Gas           Gov. Aggregation
COH             199023780010                Gas           Gov. Aggregation   COH             123640520034                Gas           Gov. Aggregation
COH             198392340012                Gas           Gov. Aggregation   COH             123635340033                Gas           Gov. Aggregation
COH             196309420012                Gas           Gov. Aggregation   COH             123656080016                Gas           Gov. Aggregation
COH             196008610010                Gas           Gov. Aggregation   COH             123708640026                Gas           Gov. Aggregation
COH             200492590013                Gas           Gov. Aggregation   COH             123652010027                Gas           Gov. Aggregation
COH             159053540015                Gas           Gov. Aggregation   COH             123651050012                Gas           Gov. Aggregation
COH             161830170011                Gas           Gov. Aggregation   COH             189443610044                Gas           Gov. Aggregation
COH             155206630015                Gas           Gov. Aggregation   COH             189790210025                Gas           Gov. Aggregation
COH             192975870011                Gas           Gov. Aggregation   COH             192831430017                Gas           Gov. Aggregation
COH             198407910019                Gas           Gov. Aggregation   COH             185795600018                Gas           Gov. Aggregation
COH             144157480024                Gas           Gov. Aggregation   COH             123671180013                Gas           Gov. Aggregation
COH             198724610010                Gas           Gov. Aggregation   COH             177339240145                Gas           Gov. Aggregation
COH             197954360017                Gas           Gov. Aggregation   COH             185076910017                Gas           Gov. Aggregation
COH             136309190013                Gas           Gov. Aggregation   COH             175948050039                Gas           Gov. Aggregation
COH             201976820017                Gas           Gov. Aggregation   COH             191159160011                Gas           Gov. Aggregation
COH             186617840013                Gas           Gov. Aggregation   COH             194233090015                Gas           Gov. Aggregation
COH             167203840031                Gas           Gov. Aggregation   COH             194385020018                Gas           Gov. Aggregation
COH             197778520017                Gas           Gov. Aggregation   COH             197615850012                Gas           Gov. Aggregation
COH             199768290015                Gas           Gov. Aggregation   COH             197818650023                Gas           Gov. Aggregation
COH             200116620012                Gas           Gov. Aggregation   COH             197234230010                Gas           Gov. Aggregation
COH             196370980016                Gas           Gov. Aggregation   COH             200562280019                Gas           Gov. Aggregation
COH             193787700014                Gas           Gov. Aggregation   COH             200733820012                Gas           Gov. Aggregation
COH             150666140037                Gas           Gov. Aggregation   COH             195783960016                Gas           Gov. Aggregation
COH             140502130028                Gas           Gov. Aggregation   COH             123681830015                Gas           Gov. Aggregation
COH             197873530013                Gas           Gov. Aggregation   COH             123683590021                Gas           Gov. Aggregation
COH             198384690016                Gas           Gov. Aggregation   COH             201752850015                Gas           Gov. Aggregation
COH             193110600018                Gas           Gov. Aggregation   COH             193852260036                Gas           Gov. Aggregation
COH             191992100035                Gas           Gov. Aggregation   COH             197234250025                Gas           Gov. Aggregation
COH             200132340017                Gas           Gov. Aggregation   COH             196642320017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             199224350014                Gas           Gov. Aggregation   COH             203194480015                Gas           Gov. Aggregation
COH             185130120035                Gas           Gov. Aggregation   COH             123677090010                Gas           Gov. Aggregation
COH             149856000018                Gas           Gov. Aggregation   COH             123659000025                Gas           Gov. Aggregation
COH             199317960019                Gas           Gov. Aggregation   COH             146463700240                Gas           Gov. Aggregation
COH             201186250012                Gas           Gov. Aggregation   COH             192994750043                Gas           Gov. Aggregation
COH             115847160014                Gas           Gov. Aggregation   COH             188494580045                Gas           Gov. Aggregation
COH             143253000067                Gas           Gov. Aggregation   COH             177145760012                Gas           Gov. Aggregation
COH             202042550012                Gas           Gov. Aggregation   COH             123661290039                Gas           Gov. Aggregation
COH             140124010034                Gas           Gov. Aggregation   COH             123662060035                Gas           Gov. Aggregation
COH             201176330016                Gas           Gov. Aggregation   COH             175849660013                Gas           Gov. Aggregation
COH             163892700017                Gas           Gov. Aggregation   COH             197999480018                Gas           Gov. Aggregation
COH             199361000017                Gas           Gov. Aggregation   COH             123683790010                Gas           Gov. Aggregation
COH             201671240015                Gas           Gov. Aggregation   COH             123683810015                Gas           Gov. Aggregation
COH             115867940018                Gas           Gov. Aggregation   COH             171214030050                Gas           Gov. Aggregation
COH             152018640024                Gas           Gov. Aggregation   COH             193267550036                Gas           Gov. Aggregation
COH             200383870015                Gas           Gov. Aggregation   COH             203130670019                Gas           Gov. Aggregation
COH             200470940015                Gas           Gov. Aggregation   COH             138534910021                Gas           Gov. Aggregation
COH             170815610037                Gas           Gov. Aggregation   COH             139364430031                Gas           Gov. Aggregation
COH             160281270052                Gas           Gov. Aggregation   COH             123682500012                Gas           Gov. Aggregation
COH             200287930016                Gas           Gov. Aggregation   COH             144357510041                Gas           Gov. Aggregation
COH             202033520017                Gas           Gov. Aggregation   COH             147604510061                Gas           Gov. Aggregation
COH             155778720060                Gas           Gov. Aggregation   COH             157937670016                Gas           Gov. Aggregation
COH             131288900023                Gas           Gov. Aggregation   COH             154427350026                Gas           Gov. Aggregation
COH             199151900013                Gas           Gov. Aggregation   COH             170405570026                Gas           Gov. Aggregation
COH             200492550011                Gas           Gov. Aggregation   COH             191563670035                Gas           Gov. Aggregation
COH             201435200013                Gas           Gov. Aggregation   COH             187304300018                Gas           Gov. Aggregation
COH             193950750035                Gas           Gov. Aggregation   COH             187747850024                Gas           Gov. Aggregation
COH             201219830019                Gas           Gov. Aggregation   COH             190155480031                Gas           Gov. Aggregation
COH             115508760052                Gas           Gov. Aggregation   COH             185096460010                Gas           Gov. Aggregation
COH             201654470013                Gas           Gov. Aggregation   COH             177000710045                Gas           Gov. Aggregation
COH             201803710015                Gas           Gov. Aggregation   COH             176793740041                Gas           Gov. Aggregation
COH             199297960013                Gas           Gov. Aggregation   COH             200030920057                Gas           Gov. Aggregation
COH             201787830016                Gas           Gov. Aggregation   COH             199410890034                Gas           Gov. Aggregation
COH             199528620013                Gas           Gov. Aggregation   COH             198892930018                Gas           Gov. Aggregation
COH             195325820024                Gas           Gov. Aggregation   COH             198892930036                Gas           Gov. Aggregation
COH             200732960015                Gas           Gov. Aggregation   COH             200440770014                Gas           Gov. Aggregation
COH             199334070010                Gas           Gov. Aggregation   COH             196995810026                Gas           Gov. Aggregation
COH             199202660015                Gas           Gov. Aggregation   COH             197179630014                Gas           Gov. Aggregation
COH             145721780014                Gas           Gov. Aggregation   COH             189266590027                Gas           Gov. Aggregation
COH             141399250023                Gas           Gov. Aggregation   COH             123639230029                Gas           Gov. Aggregation
COH             188536070033                Gas           Gov. Aggregation   COH             123726120018                Gas           Gov. Aggregation
COH             201152880011                Gas           Gov. Aggregation   COH             123726300010                Gas           Gov. Aggregation
COH             191453680027                Gas           Gov. Aggregation   COH             123723760029                Gas           Gov. Aggregation
COH             201322740019                Gas           Gov. Aggregation   COH             126768810012                Gas           Gov. Aggregation
COH             192214480033                Gas           Gov. Aggregation   COH             141740890024                Gas           Gov. Aggregation
COH             200371700015                Gas           Gov. Aggregation   COH             139695140022                Gas           Gov. Aggregation
COH             200022980016                Gas           Gov. Aggregation   COH             153786440046                Gas           Gov. Aggregation
COH             202081760016                Gas           Gov. Aggregation   COH             154486600056                Gas           Gov. Aggregation
COH             201777540018                Gas           Gov. Aggregation   COH             202740350014                Gas           Gov. Aggregation
COH             201795330014                Gas           Gov. Aggregation   COH             202474760013                Gas           Gov. Aggregation
COH             200214220018                Gas           Gov. Aggregation   COH             201067600010                Gas           Gov. Aggregation
COH             170505010021                Gas           Gov. Aggregation   COH             194518080022                Gas           Gov. Aggregation
COH             165449820082                Gas           Gov. Aggregation   COH             199404090017                Gas           Gov. Aggregation
COH             186709140097                Gas           Gov. Aggregation   COH             199515500015                Gas           Gov. Aggregation
COH             186784400067                Gas           Gov. Aggregation   COH             199258830012                Gas           Gov. Aggregation
COH             200519780015                Gas           Gov. Aggregation   COH             199084190052                Gas           Gov. Aggregation
COH             200626170016                Gas           Gov. Aggregation   COH             199108580012                Gas           Gov. Aggregation
COH             187619010030                Gas           Gov. Aggregation   COH             199885890011                Gas           Gov. Aggregation
COH             199498170013                Gas           Gov. Aggregation   COH             175272310055                Gas           Gov. Aggregation
COH             171372170048                Gas           Gov. Aggregation   COH             162126560011                Gas           Gov. Aggregation
COH             135595200016                Gas           Gov. Aggregation   COH             157705110014                Gas           Gov. Aggregation
COH             152322430032                Gas           Gov. Aggregation   COH             156916590036                Gas           Gov. Aggregation
COH             201410150016                Gas           Gov. Aggregation   COH             154859580023                Gas           Gov. Aggregation
COH             201120730019                Gas           Gov. Aggregation   COH             131212300019                Gas           Gov. Aggregation
COH             174124300088                Gas           Gov. Aggregation   COH             123719850010                Gas           Gov. Aggregation
COH             188227630058                Gas           Gov. Aggregation   COH             168626540055                Gas           Gov. Aggregation
COH             186459390032                Gas           Gov. Aggregation   COH             170153250037                Gas           Gov. Aggregation
COH             200001980010                Gas           Gov. Aggregation   COH             169596130055                Gas           Gov. Aggregation
COH             115848500029                Gas           Gov. Aggregation   COH             147869380041                Gas           Gov. Aggregation
COH             147216220029                Gas           Gov. Aggregation   COH             201905890012                Gas           Gov. Aggregation
COH             196273730014                Gas           Gov. Aggregation   COH             196037480026                Gas           Gov. Aggregation
COH             193262900014                Gas           Gov. Aggregation   COH             199563220013                Gas           Gov. Aggregation
COH             197096590019                Gas           Gov. Aggregation   COH             200294670016                Gas           Gov. Aggregation
COH             139776170015                Gas           Gov. Aggregation   COH             199330390011                Gas           Gov. Aggregation
COH             165326530010                Gas           Gov. Aggregation   COH             188134960038                Gas           Gov. Aggregation
COH             193949530016                Gas           Gov. Aggregation   COH             190075820020                Gas           Gov. Aggregation
COH             195339300015                Gas           Gov. Aggregation   COH             192796390058                Gas           Gov. Aggregation
COH             187945830037                Gas           Gov. Aggregation   COH             196116740014                Gas           Gov. Aggregation
COH             133568740021                Gas           Gov. Aggregation   COH             196125630027                Gas           Gov. Aggregation
COH             192698890015                Gas           Gov. Aggregation   COH             196722400029                Gas           Gov. Aggregation
COH             186530200057                Gas           Gov. Aggregation   COH             196722400047                Gas           Gov. Aggregation
COH             185008710049                Gas           Gov. Aggregation   COH             172877530014                Gas           Gov. Aggregation
COH             133109110034                Gas           Gov. Aggregation   COH             189960700012                Gas           Gov. Aggregation
COH             110918340038                Gas           Gov. Aggregation   COH             173609220051                Gas           Gov. Aggregation
VEDO            4018349442641826            Gas           Gov. Aggregation   COH             185474130017                Gas           Gov. Aggregation
VEDO            4019885592635946            Gas           Gov. Aggregation   COH             199458310017                Gas           Gov. Aggregation
VEDO            4002885742431750            Gas           Gov. Aggregation   COH             189257090012                Gas           Gov. Aggregation
VEDO            4002438422238733            Gas           Gov. Aggregation   COH             167027880037                Gas           Gov. Aggregation
VEDO            4017177752372213            Gas           Gov. Aggregation   COH             144373500021                Gas           Gov. Aggregation
VEDO            4017628062350931            Gas           Gov. Aggregation   COH             155613920020                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4019945072323742            Gas           Gov. Aggregation   COH             151997860392                Gas           Gov. Aggregation
VEDO            4017787822281266            Gas           Gov. Aggregation   COH             123724800019                Gas           Gov. Aggregation
VEDO            4018471842311249            Gas           Gov. Aggregation   COH             123723500014                Gas           Gov. Aggregation
VEDO            4017897562233158            Gas           Gov. Aggregation   COH             123720690011                Gas           Gov. Aggregation
VEDO            4018187722396927            Gas           Gov. Aggregation   COH             123694260027                Gas           Gov. Aggregation
VEDO            4019978122523747            Gas           Gov. Aggregation   COH             123707730010                Gas           Gov. Aggregation
VEDO            4018157802172552            Gas           Gov. Aggregation   COH             157891280025                Gas           Gov. Aggregation
VEDO            4018010862481535            Gas           Gov. Aggregation   COH             157717700079                Gas           Gov. Aggregation
VEDO            4019191082346636            Gas           Gov. Aggregation   COH             153896360022                Gas           Gov. Aggregation
VEDO            4018457092453415            Gas           Gov. Aggregation   COH             165952000023                Gas           Gov. Aggregation
VEDO            4004340332491662            Gas           Gov. Aggregation   COH             168922610016                Gas           Gov. Aggregation
VEDO            4017240052389407            Gas           Gov. Aggregation   COH             162637260020                Gas           Gov. Aggregation
VEDO            4018898502132643            Gas           Gov. Aggregation   COH             164654520018                Gas           Gov. Aggregation
VEDO            4019317972527524            Gas           Gov. Aggregation   COH             164656540029                Gas           Gov. Aggregation
VEDO            4019998252137827            Gas           Gov. Aggregation   COH             196957380027                Gas           Gov. Aggregation
VEDO            4004394782267345            Gas           Gov. Aggregation   COH             196875850022                Gas           Gov. Aggregation
VEDO            4019758042172271            Gas           Gov. Aggregation   COH             196716800019                Gas           Gov. Aggregation
VEDO            4002292802131825            Gas           Gov. Aggregation   COH             196698600011                Gas           Gov. Aggregation
VEDO            4017401702377665            Gas           Gov. Aggregation   COH             196791640015                Gas           Gov. Aggregation
VEDO            4018136222305582            Gas           Gov. Aggregation   COH             194913630028                Gas           Gov. Aggregation
VEDO            4005145292163030            Gas           Gov. Aggregation   COH             194691100012                Gas           Gov. Aggregation
VEDO            4002012642196589            Gas           Gov. Aggregation   COH             195041690015                Gas           Gov. Aggregation
VEDO            4003088162136051            Gas           Gov. Aggregation   COH             195247010011                Gas           Gov. Aggregation
VEDO            4020038902505116            Gas           Gov. Aggregation   COH             199812690016                Gas           Gov. Aggregation
VEDO            4019947212242401            Gas           Gov. Aggregation   COH             200688060046                Gas           Gov. Aggregation
VEDO            4020001852177521            Gas           Gov. Aggregation   COH             198962480014                Gas           Gov. Aggregation
VEDO            4019987052607590            Gas           Gov. Aggregation   COH             199129650013                Gas           Gov. Aggregation
VEDO            4020027882154487            Gas           Gov. Aggregation   COH             199394560011                Gas           Gov. Aggregation
VEDO            4019817202466476            Gas           Gov. Aggregation   COH             198377450011                Gas           Gov. Aggregation
VEDO            4019012182218134            Gas           Gov. Aggregation   COH             186957210079                Gas           Gov. Aggregation
VEDO            4002882742474257            Gas           Gov. Aggregation   COH             173095150011                Gas           Gov. Aggregation
VEDO            4020048182102613            Gas           Gov. Aggregation   COH             170825130064                Gas           Gov. Aggregation
VEDO            4004916242501311            Gas           Gov. Aggregation   COH             174084190024                Gas           Gov. Aggregation
VEDO            4001033322402867            Gas           Gov. Aggregation   COH             189273270038                Gas           Gov. Aggregation
VEDO            4016882812457931            Gas           Gov. Aggregation   COH             189364090024                Gas           Gov. Aggregation
VEDO            4015302592637450            Gas           Gov. Aggregation   COH             190754330014                Gas           Gov. Aggregation
VEDO            4019435432370667            Gas           Gov. Aggregation   COH             190911600022                Gas           Gov. Aggregation
VEDO            4019316112374536            Gas           Gov. Aggregation   COH             191611600054                Gas           Gov. Aggregation
VEDO            4018052672183468            Gas           Gov. Aggregation   COH             201155300016                Gas           Gov. Aggregation
VEDO            4019983702454573            Gas           Gov. Aggregation   COH             201054660015                Gas           Gov. Aggregation
VEDO            4004769892485122            Gas           Gov. Aggregation   COH             202897370019                Gas           Gov. Aggregation
VEDO            4020016732469859            Gas           Gov. Aggregation   COH             202899870010                Gas           Gov. Aggregation
VEDO            4003769662536196            Gas           Gov. Aggregation   COH             149247320021                Gas           Gov. Aggregation
VEDO            4019191862160256            Gas           Gov. Aggregation   COH             137034400029                Gas           Gov. Aggregation
VEDO            4020001962199522            Gas           Gov. Aggregation   COH             137322320016                Gas           Gov. Aggregation
VEDO            4019972022335477            Gas           Gov. Aggregation   COH             140273610015                Gas           Gov. Aggregation
VEDO            4020034722327191            Gas           Gov. Aggregation   COH             130531040037                Gas           Gov. Aggregation
VEDO            4019941852155433            Gas           Gov. Aggregation   COH             186418450053                Gas           Gov. Aggregation
VEDO            4017425842392378            Gas           Gov. Aggregation   COH             185918490047                Gas           Gov. Aggregation
VEDO            4015995562226464            Gas           Gov. Aggregation   COH             185539000114                Gas           Gov. Aggregation
VEDO            4019965892279046            Gas           Gov. Aggregation   COH             176381230032                Gas           Gov. Aggregation
VEDO            4019144642195622            Gas           Gov. Aggregation   COH             177084270024                Gas           Gov. Aggregation
VEDO            4018718302172080            Gas           Gov. Aggregation   COH             177328860059                Gas           Gov. Aggregation
VEDO            4001788532174581            Gas           Gov. Aggregation   COH             198828160015                Gas           Gov. Aggregation
VEDO            4002897292182050            Gas           Gov. Aggregation   COH             200927760023                Gas           Gov. Aggregation
VEDO            4003473312524591            Gas           Gov. Aggregation   COH             196265170037                Gas           Gov. Aggregation
VEDO            4015262292213111            Gas           Gov. Aggregation   COH             196513450031                Gas           Gov. Aggregation
VEDO            4001495512389473            Gas           Gov. Aggregation   COH             196954930027                Gas           Gov. Aggregation
VEDO            4019441262320302            Gas           Gov. Aggregation   COH             168532810093                Gas           Gov. Aggregation
VEDO            4002993352294611            Gas           Gov. Aggregation   COH             168809110011                Gas           Gov. Aggregation
VEDO            4020033972531473            Gas           Gov. Aggregation   COH             169813660016                Gas           Gov. Aggregation
VEDO            4004854572257411            Gas           Gov. Aggregation   COH             166271230019                Gas           Gov. Aggregation
VEDO            4017963042178650            Gas           Gov. Aggregation   COH             142139730021                Gas           Gov. Aggregation
VEDO            4019864302475985            Gas           Gov. Aggregation   COH             163300820042                Gas           Gov. Aggregation
VEDO            4003111002306690            Gas           Gov. Aggregation   COH             159173610016                Gas           Gov. Aggregation
VEDO            4001205782503768            Gas           Gov. Aggregation   COH             186891440017                Gas           Gov. Aggregation
VEDO            4002564922422904            Gas           Gov. Aggregation   COH             197472240014                Gas           Gov. Aggregation
VEDO            4002874522229576            Gas           Gov. Aggregation   COH             197088120014                Gas           Gov. Aggregation
VEDO            4019984292308775            Gas           Gov. Aggregation   COH             197547180045                Gas           Gov. Aggregation
VEDO            4020021632495699            Gas           Gov. Aggregation   COH             197594490014                Gas           Gov. Aggregation
VEDO            4020040542515224            Gas           Gov. Aggregation   COH             123715260012                Gas           Gov. Aggregation
VEDO            4002840332224784            Gas           Gov. Aggregation   COH             123714600012                Gas           Gov. Aggregation
VEDO            4001742152512638            Gas           Gov. Aggregation   COH             123714680016                Gas           Gov. Aggregation
VEDO            4002978822388595            Gas           Gov. Aggregation   COH             123709200017                Gas           Gov. Aggregation
VEDO            4004831872346346            Gas           Gov. Aggregation   COH             151394710015                Gas           Gov. Aggregation
VEDO            4010077862236605            Gas           Gov. Aggregation   COH             144518520010                Gas           Gov. Aggregation
VEDO            4018016072216182            Gas           Gov. Aggregation   COH             145421650026                Gas           Gov. Aggregation
VEDO            4017961602110860            Gas           Gov. Aggregation   COH             192163930019                Gas           Gov. Aggregation
VEDO            4018778922152679            Gas           Gov. Aggregation   COH             134129140017                Gas           Gov. Aggregation
VEDO            4001605362157024            Gas           Gov. Aggregation   COH             133114400023                Gas           Gov. Aggregation
VEDO            4016727252448274            Gas           Gov. Aggregation   COH             131373180015                Gas           Gov. Aggregation
VEDO            4002928732287922            Gas           Gov. Aggregation   COH             123721590010                Gas           Gov. Aggregation
VEDO            4002704262265324            Gas           Gov. Aggregation   COH             123722000011                Gas           Gov. Aggregation
VEDO            4018733242278268            Gas           Gov. Aggregation   COH             192270660019                Gas           Gov. Aggregation
VEDO            4015926382499014            Gas           Gov. Aggregation   COH             195007300018                Gas           Gov. Aggregation
COH             198489090010                Gas           Gov. Aggregation   COH             195953190017                Gas           Gov. Aggregation
COH             198774400019                Gas           Gov. Aggregation   COH             199193900015                Gas           Gov. Aggregation
COH             200994970019                Gas           Gov. Aggregation   COH             173386780012                Gas           Gov. Aggregation
COH             201267100011                Gas           Gov. Aggregation   COH             175388540016                Gas           Gov. Aggregation
COH             200440700018                Gas           Gov. Aggregation   COH             175161040011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             200739050012                Gas           Gov. Aggregation   COH             174767700028                Gas           Gov. Aggregation
COH             199045200015                Gas           Gov. Aggregation   COH             201927560015                Gas           Gov. Aggregation
COH             198249850018                Gas           Gov. Aggregation   COH             202041770018                Gas           Gov. Aggregation
COH             201861410016                Gas           Gov. Aggregation   COH             202254450014                Gas           Gov. Aggregation
COH             200211940022                Gas           Gov. Aggregation   COH             203225530017                Gas           Gov. Aggregation
COH             174949060027                Gas           Gov. Aggregation   COH             196854640011                Gas           Gov. Aggregation
COH             138734300025                Gas           Gov. Aggregation   COH             191309350058                Gas           Gov. Aggregation
COH             170086740082                Gas           Gov. Aggregation   COH             173386750018                Gas           Gov. Aggregation
COH             201996640013                Gas           Gov. Aggregation   COH             203193760018                Gas           Gov. Aggregation
COH             202077490012                Gas           Gov. Aggregation   COH             165322170014                Gas           Gov. Aggregation
COH             142732470028                Gas           Gov. Aggregation   COH             143950400010                Gas           Gov. Aggregation
COH             186774070031                Gas           Gov. Aggregation   COH             200216790015                Gas           Gov. Aggregation
COH             155356440045                Gas           Gov. Aggregation   COH             202315640014                Gas           Gov. Aggregation
COH             199067090022                Gas           Gov. Aggregation   COH             194305950011                Gas           Gov. Aggregation
COH             108761250025                Gas           Gov. Aggregation   COH             123701380347                Gas           Gov. Aggregation
COH             139144400015                Gas           Gov. Aggregation   COH             146429030029                Gas           Gov. Aggregation
COH             200830530017                Gas           Gov. Aggregation   COH             145414710019                Gas           Gov. Aggregation
COH             201105750017                Gas           Gov. Aggregation   COH             157429130025                Gas           Gov. Aggregation
COH             202205060019                Gas           Gov. Aggregation   COH             186692500025                Gas           Gov. Aggregation
COH             202238610014                Gas           Gov. Aggregation   COH             199232240010                Gas           Gov. Aggregation
COH             202014830012                Gas           Gov. Aggregation   COH             189797110022                Gas           Gov. Aggregation
COH             175919380059                Gas           Gov. Aggregation   COH             201905910017                Gas           Gov. Aggregation
COH             175005250026                Gas           Gov. Aggregation   COH             153362290028                Gas           Gov. Aggregation
COH             186057200024                Gas           Gov. Aggregation   COH             123630150024                Gas           Gov. Aggregation
COH             198413320010                Gas           Gov. Aggregation   COH             150358250028                Gas           Gov. Aggregation
COH             189332610067                Gas           Gov. Aggregation   VEDO            4003746172373296            Gas           Gov. Aggregation
COH             172251510023                Gas           Gov. Aggregation   COH             192616090024                Gas           Gov. Aggregation
COH             193208510038                Gas           Gov. Aggregation   COH             115019630029                Gas           Gov. Aggregation
COH             171565660055                Gas           Gov. Aggregation   COH             202039140015                Gas           Gov. Aggregation
COH             166107700044                Gas           Gov. Aggregation   COH             202314290010                Gas           Gov. Aggregation
COH             188629300028                Gas           Gov. Aggregation   COH             201968650010                Gas           Gov. Aggregation
COH             198580360019                Gas           Gov. Aggregation   COH             201376150010                Gas           Gov. Aggregation
COH             197457110013                Gas           Gov. Aggregation   COH             202150590015                Gas           Gov. Aggregation
COH             196885150028                Gas           Gov. Aggregation   COH             201852490019                Gas           Gov. Aggregation
COH             201170980012                Gas           Gov. Aggregation   COH             202483120018                Gas           Gov. Aggregation
COH             201570760010                Gas           Gov. Aggregation   COH             202386080013                Gas           Gov. Aggregation
COH             200283710010                Gas           Gov. Aggregation   COH             203205890014                Gas           Gov. Aggregation
COH             201980890014                Gas           Gov. Aggregation   COH             190807430038                Gas           Gov. Aggregation
COH             201920720015                Gas           Gov. Aggregation   COH             202472850018                Gas           Gov. Aggregation
COH             201826620016                Gas           Gov. Aggregation   COH             202321370018                Gas           Gov. Aggregation
COH             186352940023                Gas           Gov. Aggregation   COH             193414480038                Gas           Gov. Aggregation
COH             172776280020                Gas           Gov. Aggregation   COH             199559740013                Gas           Gov. Aggregation
COH             173815840018                Gas           Gov. Aggregation   COH             134983950017                Gas           Gov. Aggregation
COH             166541820049                Gas           Gov. Aggregation   COH             197442520018                Gas           Gov. Aggregation
COH             108743410010                Gas           Gov. Aggregation   COH             202390390019                Gas           Gov. Aggregation
COH             201525320017                Gas           Gov. Aggregation   COH             203497260019                Gas           Gov. Aggregation
COH             201191590010                Gas           Gov. Aggregation   COH             111097670012                Gas           Gov. Aggregation
COH             201191600017                Gas           Gov. Aggregation   COH             199738610010                Gas           Gov. Aggregation
COH             199093150015                Gas           Gov. Aggregation   COH             187281010037                Gas           Gov. Aggregation
COH             200046960010                Gas           Gov. Aggregation   COH             200886790016                Gas           Gov. Aggregation
COH             108743920013                Gas           Gov. Aggregation   COH             202948750010                Gas           Gov. Aggregation
COH             198746140031                Gas           Gov. Aggregation   COH             203337540018                Gas           Gov. Aggregation
COH             138916870011                Gas           Gov. Aggregation   COH             202327770012                Gas           Gov. Aggregation
COH             134992870042                Gas           Gov. Aggregation   COH             135004340045                Gas           Gov. Aggregation
COH             136398410037                Gas           Gov. Aggregation   COH             167927050015                Gas           Gov. Aggregation
COH             108709970015                Gas           Gov. Aggregation   COH             172249970095                Gas           Gov. Aggregation
COH             201752760014                Gas           Gov. Aggregation   COH             189208690064                Gas           Gov. Aggregation
COH             201098470013                Gas           Gov. Aggregation   COH             200364050017                Gas           Gov. Aggregation
COH             200910400014                Gas           Gov. Aggregation   COH             201707800010                Gas           Gov. Aggregation
COH             200175260014                Gas           Gov. Aggregation   COH             201242500019                Gas           Gov. Aggregation
COH             198988050010                Gas           Gov. Aggregation   COH             202432370013                Gas           Gov. Aggregation
COH             199148310014                Gas           Gov. Aggregation   COH             200250500013                Gas           Gov. Aggregation
COH             175353960057                Gas           Gov. Aggregation   COH             201195260011                Gas           Gov. Aggregation
COH             156048310080                Gas           Gov. Aggregation   COH             201114870013                Gas           Gov. Aggregation
COH             166779750032                Gas           Gov. Aggregation   COH             201034570016                Gas           Gov. Aggregation
COH             156565700046                Gas           Gov. Aggregation   COH             203020320015                Gas           Gov. Aggregation
COH             153698610010                Gas           Gov. Aggregation   COH             202498490010                Gas           Gov. Aggregation
COH             171304260060                Gas           Gov. Aggregation   COH             201322140015                Gas           Gov. Aggregation
COH             201803240014                Gas           Gov. Aggregation   COH             201322140033                Gas           Gov. Aggregation
COH             201160910017                Gas           Gov. Aggregation   COH             201886560013                Gas           Gov. Aggregation
COH             199954350017                Gas           Gov. Aggregation   COH             198453910012                Gas           Gov. Aggregation
COH             170138210037                Gas           Gov. Aggregation   COH             203217090017                Gas           Gov. Aggregation
COH             170955630064                Gas           Gov. Aggregation   COH             203124630010                Gas           Gov. Aggregation
COH             188291040048                Gas           Gov. Aggregation   COH             202100130016                Gas           Gov. Aggregation
COH             138687360015                Gas           Gov. Aggregation   COH             200345440015                Gas           Gov. Aggregation
COH             158837120067                Gas           Gov. Aggregation   COH             199913270010                Gas           Gov. Aggregation
COH             152344210014                Gas           Gov. Aggregation   COH             203554840015                Gas           Gov. Aggregation
COH             108682030010                Gas           Gov. Aggregation   COH             164229260149                Gas           Gov. Aggregation
COH             108682640012                Gas           Gov. Aggregation   COH             196273720025                Gas           Gov. Aggregation
COH             108683120019                Gas           Gov. Aggregation   COH             200276180017                Gas           Gov. Aggregation
COH             108681020014                Gas           Gov. Aggregation   COH             201389260010                Gas           Gov. Aggregation
COH             190936980012                Gas           Gov. Aggregation   COH             202825420019                Gas           Gov. Aggregation
COH             197854510035                Gas           Gov. Aggregation   COH             202214740017                Gas           Gov. Aggregation
COH             197148640017                Gas           Gov. Aggregation   COH             200586700010                Gas           Gov. Aggregation
COH             199132850014                Gas           Gov. Aggregation   COH             199987200019                Gas           Gov. Aggregation
COH             201186180017                Gas           Gov. Aggregation   COH             202318030016                Gas           Gov. Aggregation
COH             199466050033                Gas           Gov. Aggregation   COH             124628210025                Gas           Gov. Aggregation
COH             169250890021                Gas           Gov. Aggregation   COH             202266870011                Gas           Gov. Aggregation
COH             161627870480                Gas           Gov. Aggregation   COH             202120500016                Gas           Gov. Aggregation
COH             161627870417                Gas           Gov. Aggregation   COH             203503390017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             108761040047                Gas           Gov. Aggregation   COH             199362870031                Gas           Gov. Aggregation
COH             197005910012                Gas           Gov. Aggregation   COH             198200150026                Gas           Gov. Aggregation
COH             201045600016                Gas           Gov. Aggregation   COH             202401430015                Gas           Gov. Aggregation
COH             131146020028                Gas           Gov. Aggregation   COH             124581330020                Gas           Gov. Aggregation
COH             194921120028                Gas           Gov. Aggregation   COH             201761910013                Gas           Gov. Aggregation
COH             142500640014                Gas           Gov. Aggregation   COH             202065850011                Gas           Gov. Aggregation
COH             199375120013                Gas           Gov. Aggregation   COH             201877920016                Gas           Gov. Aggregation
COH             201865320017                Gas           Gov. Aggregation   COH             203503390035                Gas           Gov. Aggregation
COH             201430320018                Gas           Gov. Aggregation   COH             203521970017                Gas           Gov. Aggregation
COH             201838180014                Gas           Gov. Aggregation   COH             203170760016                Gas           Gov. Aggregation
COH             200807730014                Gas           Gov. Aggregation   COH             203189110013                Gas           Gov. Aggregation
COH             201191570014                Gas           Gov. Aggregation   COH             195938470038                Gas           Gov. Aggregation
COH             196236860015                Gas           Gov. Aggregation   COH             200009030059                Gas           Gov. Aggregation
COH             194447520011                Gas           Gov. Aggregation   COH             196832550016                Gas           Gov. Aggregation
COH             189173040056                Gas           Gov. Aggregation   COH             194510440077                Gas           Gov. Aggregation
COH             121889250046                Gas           Gov. Aggregation   COH             193308690020                Gas           Gov. Aggregation
COH             114410590029                Gas           Gov. Aggregation   COH             193421640039                Gas           Gov. Aggregation
COH             148184510017                Gas           Gov. Aggregation   COH             203153430011                Gas           Gov. Aggregation
COH             150791630011                Gas           Gov. Aggregation   COH             186713050024                Gas           Gov. Aggregation
COH             139241680011                Gas           Gov. Aggregation   COH             187064990014                Gas           Gov. Aggregation
COH             144401260012                Gas           Gov. Aggregation   COH             193939690032                Gas           Gov. Aggregation
COH             158511580043                Gas           Gov. Aggregation   COH             191063050035                Gas           Gov. Aggregation
COH             185054940035                Gas           Gov. Aggregation   COH             202920940018                Gas           Gov. Aggregation
COH             200303800017                Gas           Gov. Aggregation   COH             199600590034                Gas           Gov. Aggregation
COH             191461150076                Gas           Gov. Aggregation   COH             177432160046                Gas           Gov. Aggregation
COH             194287550033                Gas           Gov. Aggregation   COH             185429240046                Gas           Gov. Aggregation
COH             164917020024                Gas           Gov. Aggregation   COH             174003420043                Gas           Gov. Aggregation
COH             108672710134                Gas           Gov. Aggregation   COH             203424680014                Gas           Gov. Aggregation
COH             200677070010                Gas           Gov. Aggregation   COH             154355370034                Gas           Gov. Aggregation
COH             200440640011                Gas           Gov. Aggregation   COH             203021470012                Gas           Gov. Aggregation
COH             199448690019                Gas           Gov. Aggregation   COH             135245900029                Gas           Gov. Aggregation
COH             202234410023                Gas           Gov. Aggregation   COH             166843210047                Gas           Gov. Aggregation
COH             108722360060                Gas           Gov. Aggregation   COH             203269270010                Gas           Gov. Aggregation
COH             140613200091                Gas           Gov. Aggregation   COH             168881420014                Gas           Gov. Aggregation
COH             191757130028                Gas           Gov. Aggregation   COH             203245370019                Gas           Gov. Aggregation
COH             192233660035                Gas           Gov. Aggregation   COH             157648850057                Gas           Gov. Aggregation
COH             192326220183                Gas           Gov. Aggregation   COH             201852740016                Gas           Gov. Aggregation
COH             192326220192                Gas           Gov. Aggregation   COH             203276330012                Gas           Gov. Aggregation
COH             108753390014                Gas           Gov. Aggregation   COH             209096940010                Gas           Gov. Aggregation
COH             174589960022                Gas           Gov. Aggregation   COH             206110090010                Gas           Gov. Aggregation
COH             172012050026                Gas           Gov. Aggregation   COH             208846790012                Gas           Gov. Aggregation
COH             187921720021                Gas           Gov. Aggregation   COH             208983820015                Gas           Gov. Aggregation
COH             191443290020                Gas           Gov. Aggregation   COH             209054610017                Gas           Gov. Aggregation
COH             198478500016                Gas           Gov. Aggregation   COH             186042170022                Gas           Gov. Aggregation
COH             187795500035                Gas           Gov. Aggregation   COH             203170630031                Gas           Gov. Aggregation
COH             169729480086                Gas           Gov. Aggregation   COH             141167870088                Gas           Gov. Aggregation
COH             173627600071                Gas           Gov. Aggregation   COH             208875370019                Gas           Gov. Aggregation
COH             145553400010                Gas           Gov. Aggregation   COH             199587820017                Gas           Gov. Aggregation
COH             149696360022                Gas           Gov. Aggregation   COH             209135290013                Gas           Gov. Aggregation
COH             201955140014                Gas           Gov. Aggregation   COH             204651340040                Gas           Gov. Aggregation
COH             201748960011                Gas           Gov. Aggregation   COH             172439320070                Gas           Gov. Aggregation
COH             200906550021                Gas           Gov. Aggregation   COH             170384620076                Gas           Gov. Aggregation
COH             201201320013                Gas           Gov. Aggregation   COH             209066630018                Gas           Gov. Aggregation
COH             198962450010                Gas           Gov. Aggregation   COH             175088170029                Gas           Gov. Aggregation
COH             199487150010                Gas           Gov. Aggregation   COH             197892020038                Gas           Gov. Aggregation
COH             199487150038                Gas           Gov. Aggregation   COH             207078080011                Gas           Gov. Aggregation
COH             199487150056                Gas           Gov. Aggregation   COH             209109170013                Gas           Gov. Aggregation
COH             200400300016                Gas           Gov. Aggregation   COH             130203460016                Gas           Gov. Aggregation
COH             189156940017                Gas           Gov. Aggregation   COH             209033520010                Gas           Gov. Aggregation
COH             197972810014                Gas           Gov. Aggregation   COH             167622780027                Gas           Gov. Aggregation
COH             198772390016                Gas           Gov. Aggregation   COH             206985890019                Gas           Gov. Aggregation
COH             174745580066                Gas           Gov. Aggregation   COH             208909220017                Gas           Gov. Aggregation
COH             198410370016                Gas           Gov. Aggregation   COH             209071550014                Gas           Gov. Aggregation
COH             198265960011                Gas           Gov. Aggregation   COH             204030370013                Gas           Gov. Aggregation
COH             171105130032                Gas           Gov. Aggregation   COH             141357320026                Gas           Gov. Aggregation
COH             200945140016                Gas           Gov. Aggregation   COH             110942520011                Gas           Gov. Aggregation
COH             200900590016                Gas           Gov. Aggregation   COH             170280800023                Gas           Gov. Aggregation
COH             200755200016                Gas           Gov. Aggregation   COH             177248500045                Gas           Gov. Aggregation
COH             200765560010                Gas           Gov. Aggregation   COH             203406770013                Gas           Gov. Aggregation
COH             200334500015                Gas           Gov. Aggregation   COH             172407480109                Gas           Gov. Aggregation
COH             199075240014                Gas           Gov. Aggregation   COH             201126210016                Gas           Gov. Aggregation
COH             199491120017                Gas           Gov. Aggregation   COH             201737260011                Gas           Gov. Aggregation
COH             199570110011                Gas           Gov. Aggregation   COH             144813570023                Gas           Gov. Aggregation
COH             200546910010                Gas           Gov. Aggregation   COH             203081490012                Gas           Gov. Aggregation
COH             169983740038                Gas           Gov. Aggregation   COH             202875410016                Gas           Gov. Aggregation
COH             189585130027                Gas           Gov. Aggregation   COH             189893080034                Gas           Gov. Aggregation
COH             168841900062                Gas           Gov. Aggregation   COH             198204480038                Gas           Gov. Aggregation
COH             108739970030                Gas           Gov. Aggregation   COH             199432300013                Gas           Gov. Aggregation
COH             198475560056                Gas           Gov. Aggregation   COH             135538140064                Gas           Gov. Aggregation
COH             200154810012                Gas           Gov. Aggregation   COH             195907910012                Gas           Gov. Aggregation
COH             189409600048                Gas           Gov. Aggregation   COH             109882570030                Gas           Gov. Aggregation
COH             200422270017                Gas           Gov. Aggregation   COH             161145880042                Gas           Gov. Aggregation
COH             201691600017                Gas           Gov. Aggregation   COH             162716850055                Gas           Gov. Aggregation
COH             176914740016                Gas           Gov. Aggregation   COH             200701820028                Gas           Gov. Aggregation
COH             172919030037                Gas           Gov. Aggregation   COH             199755150011                Gas           Gov. Aggregation
COH             198410360018                Gas           Gov. Aggregation   COH             203835250013                Gas           Gov. Aggregation
COH             194682320024                Gas           Gov. Aggregation   COH             201308030018                Gas           Gov. Aggregation
COH             194438930023                Gas           Gov. Aggregation   COH             201762980017                Gas           Gov. Aggregation
COH             168006340024                Gas           Gov. Aggregation   COH             203498210017                Gas           Gov. Aggregation
COH             148391290024                Gas           Gov. Aggregation   COH             200948250017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             139427500041                Gas           Gov. Aggregation   COH             200541980016                Gas           Gov. Aggregation
COH             201817330016                Gas           Gov. Aggregation   COH             199686210024                Gas           Gov. Aggregation
COH             198620390017                Gas           Gov. Aggregation   COH             148999880013                Gas           Gov. Aggregation
COH             193921520034                Gas           Gov. Aggregation   COH             200385560016                Gas           Gov. Aggregation
COH             185375890036                Gas           Gov. Aggregation   COH             194564110028                Gas           Gov. Aggregation
COH             188269450021                Gas           Gov. Aggregation   COH             165209590025                Gas           Gov. Aggregation
COH             200343980016                Gas           Gov. Aggregation   COH             172614670039                Gas           Gov. Aggregation
COH             108765380039                Gas           Gov. Aggregation   COH             196985470029                Gas           Gov. Aggregation
COH             153910850134                Gas           Gov. Aggregation   COH             158464470038                Gas           Gov. Aggregation
COH             199982670011                Gas           Gov. Aggregation   COH             163896820023                Gas           Gov. Aggregation
COH             199204810019                Gas           Gov. Aggregation   COH             201993710014                Gas           Gov. Aggregation
COH             201203740011                Gas           Gov. Aggregation   COH             163331210036                Gas           Gov. Aggregation
COH             201564740017                Gas           Gov. Aggregation   COH             203752850013                Gas           Gov. Aggregation
COH             199515460014                Gas           Gov. Aggregation   COH             169925390025                Gas           Gov. Aggregation
COH             200351280016                Gas           Gov. Aggregation   COH             137914410021                Gas           Gov. Aggregation
COH             200730690016                Gas           Gov. Aggregation   COH             202419120013                Gas           Gov. Aggregation
COH             108751110034                Gas           Gov. Aggregation   COH             202387070013                Gas           Gov. Aggregation
COH             167229750018                Gas           Gov. Aggregation   COH             203463820012                Gas           Gov. Aggregation
COH             159428590065                Gas           Gov. Aggregation   COH             143537880043                Gas           Gov. Aggregation
COH             157874560022                Gas           Gov. Aggregation   COH             202716750011                Gas           Gov. Aggregation
COH             172375420011                Gas           Gov. Aggregation   COH             202363530016                Gas           Gov. Aggregation
COH             199928720014                Gas           Gov. Aggregation   COH             202067970012                Gas           Gov. Aggregation
COH             200218280018                Gas           Gov. Aggregation   COH             201904190011                Gas           Gov. Aggregation
COH             199123510032                Gas           Gov. Aggregation   COH             201699730014                Gas           Gov. Aggregation
COH             148493880024                Gas           Gov. Aggregation   COH             200705080017                Gas           Gov. Aggregation
COH             108762250032                Gas           Gov. Aggregation   COH             198658940012                Gas           Gov. Aggregation
COH             108762250041                Gas           Gov. Aggregation   COH             198813050019                Gas           Gov. Aggregation
COH             108762250050                Gas           Gov. Aggregation   COH             203095020011                Gas           Gov. Aggregation
COH             108762250069                Gas           Gov. Aggregation   COH             201548340015                Gas           Gov. Aggregation
COH             108762250078                Gas           Gov. Aggregation   COH             146042780068                Gas           Gov. Aggregation
COH             198380820016                Gas           Gov. Aggregation   COH             187234150037                Gas           Gov. Aggregation
COH             174040040027                Gas           Gov. Aggregation   COH             202151830012                Gas           Gov. Aggregation
COH             200581290017                Gas           Gov. Aggregation   COH             203146800018                Gas           Gov. Aggregation
COH             108737600040                Gas           Gov. Aggregation   COH             202979320015                Gas           Gov. Aggregation
COH             199478990013                Gas           Gov. Aggregation   COH             188437480028                Gas           Gov. Aggregation
COH             141554000016                Gas           Gov. Aggregation   COH             195683360032                Gas           Gov. Aggregation
COH             191349970018                Gas           Gov. Aggregation   COH             201979200011                Gas           Gov. Aggregation
COH             195976210014                Gas           Gov. Aggregation   COH             201331810015                Gas           Gov. Aggregation
VEDO            4019297502640447            Gas           Gov. Aggregation   COH             200561710010                Gas           Gov. Aggregation
VEDO            4004502412509467            Gas           Gov. Aggregation   COH             201762870010                Gas           Gov. Aggregation
VEDO            4019499782648774            Gas           Gov. Aggregation   COH             202571780013                Gas           Gov. Aggregation
VEDO            4019758832275841            Gas           Gov. Aggregation   COH             200467660011                Gas           Gov. Aggregation
VEDO            4002496652244570            Gas           Gov. Aggregation   COH             202600690019                Gas           Gov. Aggregation
VEDO            4017011422182627            Gas           Gov. Aggregation   COH             201945400010                Gas           Gov. Aggregation
VEDO            4019237542321475            Gas           Gov. Aggregation   COH             175159510026                Gas           Gov. Aggregation
VEDO            4002966802291913            Gas           Gov. Aggregation   COH             193778910028                Gas           Gov. Aggregation
VEDO            4017722592600356            Gas           Gov. Aggregation   COH             201437700014                Gas           Gov. Aggregation
VEDO            4016426632647872            Gas           Gov. Aggregation   COH             200746430017                Gas           Gov. Aggregation
VEDO            4016438192435613            Gas           Gov. Aggregation   COH             191831720035                Gas           Gov. Aggregation
VEDO            4016455082137471            Gas           Gov. Aggregation   COH             124770340045                Gas           Gov. Aggregation
VEDO            4020025452671746            Gas           Gov. Aggregation   COH             126895200020                Gas           Gov. Aggregation
VEDO            4003444832590087            Gas           Gov. Aggregation   COH             162785810012                Gas           Gov. Aggregation
VEDO            4015990692563896            Gas           Gov. Aggregation   COH             136810920061                Gas           Gov. Aggregation
VEDO            4015979072562451            Gas           Gov. Aggregation   COH             151895310026                Gas           Gov. Aggregation
VEDO            4003208202583910            Gas           Gov. Aggregation   COH             152113510047                Gas           Gov. Aggregation
VEDO            4003736592372307            Gas           Gov. Aggregation   COH             200976110017                Gas           Gov. Aggregation
VEDO            4016237882584500            Gas           Gov. Aggregation   COH             201524420018                Gas           Gov. Aggregation
VEDO            4019783362531113            Gas           Gov. Aggregation   COH             200603690015                Gas           Gov. Aggregation
VEDO            4016559412191048            Gas           Gov. Aggregation   COH             176632440044                Gas           Gov. Aggregation
VEDO            4019459772603020            Gas           Gov. Aggregation   COH             162013620026                Gas           Gov. Aggregation
VEDO            4019743852170598            Gas           Gov. Aggregation   COH             167542650079                Gas           Gov. Aggregation
VEDO            4019505782648365            Gas           Gov. Aggregation   COH             124427590013                Gas           Gov. Aggregation
VEDO            4017583962378925            Gas           Gov. Aggregation   COH             124911890022                Gas           Gov. Aggregation
VEDO            4004888732498259            Gas           Gov. Aggregation   COH             124911890031                Gas           Gov. Aggregation
VEDO            4015301062430052            Gas           Gov. Aggregation   COH             144100370053                Gas           Gov. Aggregation
VEDO            4002904412101671            Gas           Gov. Aggregation   COH             200128510010                Gas           Gov. Aggregation
VEDO            4002904412285411            Gas           Gov. Aggregation   COH             201116210017                Gas           Gov. Aggregation
VEDO            4004692842443778            Gas           Gov. Aggregation   COH             201080590015                Gas           Gov. Aggregation
VEDO            4016578852306627            Gas           Gov. Aggregation   COH             202796600014                Gas           Gov. Aggregation
VEDO            4019982932265090            Gas           Gov. Aggregation   COH             200163450019                Gas           Gov. Aggregation
VEDO            4015829702353180            Gas           Gov. Aggregation   COH             202975100019                Gas           Gov. Aggregation
VEDO            4001336692131626            Gas           Gov. Aggregation   COH             203214640017                Gas           Gov. Aggregation
VEDO            4001879052183294            Gas           Gov. Aggregation   COH             200388510010                Gas           Gov. Aggregation
VEDO            4015140812306203            Gas           Gov. Aggregation   COH             203263040010                Gas           Gov. Aggregation
VEDO            4019373202470972            Gas           Gov. Aggregation   COH             202843540016                Gas           Gov. Aggregation
VEDO            4019410112672337            Gas           Gov. Aggregation   COH             202600700016                Gas           Gov. Aggregation
VEDO            4019450812647800            Gas           Gov. Aggregation   COH             202107960018                Gas           Gov. Aggregation
VEDO            4019820452526392            Gas           Gov. Aggregation   COH             157208870055                Gas           Gov. Aggregation
VEDO            4019876672517661            Gas           Gov. Aggregation   COH             131127880242                Gas           Gov. Aggregation
VEDO            4019949462672118            Gas           Gov. Aggregation   COH             201724310017                Gas           Gov. Aggregation
VEDO            4019956532647445            Gas           Gov. Aggregation   COH             201524220010                Gas           Gov. Aggregation
VEDO            4004094842411012            Gas           Gov. Aggregation   COH             201686440012                Gas           Gov. Aggregation
VEDO            4015365192181575            Gas           Gov. Aggregation   COH             201884490012                Gas           Gov. Aggregation
VEDO            4016809742366429            Gas           Gov. Aggregation   COH             202559800023                Gas           Gov. Aggregation
VEDO            4017590482421354            Gas           Gov. Aggregation   COH             145346040024                Gas           Gov. Aggregation
COH             199253450021                Gas           Gov. Aggregation   COH             167926940056                Gas           Gov. Aggregation
COH             201732510018                Gas           Gov. Aggregation   COH             162028470027                Gas           Gov. Aggregation
COH             198402510013                Gas           Gov. Aggregation   COH             130909030074                Gas           Gov. Aggregation
COH             197514100022                Gas           Gov. Aggregation   COH             164288220045                Gas           Gov. Aggregation
COH             198702020010                Gas           Gov. Aggregation   COH             171426270033                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             199476060012                Gas           Gov. Aggregation   COH             125467480048                Gas           Gov. Aggregation
COH             110949610027                Gas           Gov. Aggregation   COH             201824140011                Gas           Gov. Aggregation
COH             198027230018                Gas           Gov. Aggregation   COH             202121200017                Gas           Gov. Aggregation
COH             189124860020                Gas           Gov. Aggregation   COH             202409500014                Gas           Gov. Aggregation
COH             199006220013                Gas           Gov. Aggregation   COH             202600640019                Gas           Gov. Aggregation
COH             110949480025                Gas           Gov. Aggregation   COH             195040320023                Gas           Gov. Aggregation
COH             199288940016                Gas           Gov. Aggregation   COH             200075850012                Gas           Gov. Aggregation
COH             200805470013                Gas           Gov. Aggregation   COH             168067510057                Gas           Gov. Aggregation
COH             200372750013                Gas           Gov. Aggregation   COH             202838300017                Gas           Gov. Aggregation
COH             201860600018                Gas           Gov. Aggregation   COH             187118790020                Gas           Gov. Aggregation
COH             200852590019                Gas           Gov. Aggregation   COH             203313600015                Gas           Gov. Aggregation
COH             198933750018                Gas           Gov. Aggregation   COH             203653380012                Gas           Gov. Aggregation
COH             200468160014                Gas           Gov. Aggregation   COH             124658780023                Gas           Gov. Aggregation
COH             200307390016                Gas           Gov. Aggregation   COH             189265220035                Gas           Gov. Aggregation
COH             199145810015                Gas           Gov. Aggregation   COH             200410230010                Gas           Gov. Aggregation
COH             194525300011                Gas           Gov. Aggregation   COH             202870410016                Gas           Gov. Aggregation
COH             193711280021                Gas           Gov. Aggregation   COH             200979430014                Gas           Gov. Aggregation
COH             177685090073                Gas           Gov. Aggregation   COH             202646600011                Gas           Gov. Aggregation
COH             165315660025                Gas           Gov. Aggregation   COH             202076070012                Gas           Gov. Aggregation
COH             200281700016                Gas           Gov. Aggregation   COH             202303680011                Gas           Gov. Aggregation
COH             199659150015                Gas           Gov. Aggregation   COH             200806620019                Gas           Gov. Aggregation
COH             159725340067                Gas           Gov. Aggregation   COH             201695910014                Gas           Gov. Aggregation
COH             165870290027                Gas           Gov. Aggregation   COH             200659790017                Gas           Gov. Aggregation
COH             115720010022                Gas           Gov. Aggregation   COH             154261740026                Gas           Gov. Aggregation
COH             192762860023                Gas           Gov. Aggregation   COH             185538650021                Gas           Gov. Aggregation
COH             115531140035                Gas           Gov. Aggregation   COH             199942650019                Gas           Gov. Aggregation
COH             161209370034                Gas           Gov. Aggregation   COH             201686280016                Gas           Gov. Aggregation
COH             199344520014                Gas           Gov. Aggregation   COH             201665280010                Gas           Gov. Aggregation
COH             201515890019                Gas           Gov. Aggregation   COH             189092140020                Gas           Gov. Aggregation
COH             153669730098                Gas           Gov. Aggregation   COH             124501650021                Gas           Gov. Aggregation
COH             196063820010                Gas           Gov. Aggregation   COH             171130620018                Gas           Gov. Aggregation
COH             197392150013                Gas           Gov. Aggregation   COH             200541790016                Gas           Gov. Aggregation
COH             171321060066                Gas           Gov. Aggregation   COH             201289310011                Gas           Gov. Aggregation
COH             173303450015                Gas           Gov. Aggregation   COH             124479350041                Gas           Gov. Aggregation
COH             142270300023                Gas           Gov. Aggregation   COH             190166350026                Gas           Gov. Aggregation
COH             192243820012                Gas           Gov. Aggregation   COH             201824230012                Gas           Gov. Aggregation
COH             110965200029                Gas           Gov. Aggregation   COH             188302580031                Gas           Gov. Aggregation
COH             110972090019                Gas           Gov. Aggregation   COH             203616850011                Gas           Gov. Aggregation
COH             201804990015                Gas           Gov. Aggregation   COH             200683590018                Gas           Gov. Aggregation
COH             200056350017                Gas           Gov. Aggregation   COH             200194270012                Gas           Gov. Aggregation
COH             175728370029                Gas           Gov. Aggregation   COH             200125160010                Gas           Gov. Aggregation
COH             174355450033                Gas           Gov. Aggregation   COH             200045100012                Gas           Gov. Aggregation
COH             159897430010                Gas           Gov. Aggregation   COH             202985250017                Gas           Gov. Aggregation
COH             197225860017                Gas           Gov. Aggregation   COH             192742410038                Gas           Gov. Aggregation
COH             201151080011                Gas           Gov. Aggregation   COH             192625450047                Gas           Gov. Aggregation
COH             195237100013                Gas           Gov. Aggregation   COH             202419060016                Gas           Gov. Aggregation
COH             200687720012                Gas           Gov. Aggregation   COH             194895320032                Gas           Gov. Aggregation
COH             110977910034                Gas           Gov. Aggregation   COH             202286210017                Gas           Gov. Aggregation
COH             198893560014                Gas           Gov. Aggregation   COH             202264120012                Gas           Gov. Aggregation
COH             200462750012                Gas           Gov. Aggregation   COH             203718160010                Gas           Gov. Aggregation
COH             199359120017                Gas           Gov. Aggregation   COH             171953960013                Gas           Gov. Aggregation
COH             201269040010                Gas           Gov. Aggregation   COH             174455210022                Gas           Gov. Aggregation
COH             190876670015                Gas           Gov. Aggregation   COH             201656590014                Gas           Gov. Aggregation
COH             194474450019                Gas           Gov. Aggregation   COH             199451080029                Gas           Gov. Aggregation
COH             200604280019                Gas           Gov. Aggregation   COH             200953250016                Gas           Gov. Aggregation
VEDO            4019002082577638            Gas           Gov. Aggregation   COH             201437650015                Gas           Gov. Aggregation
VEDO            4017135322612382            Gas           Gov. Aggregation   COH             200222370010                Gas           Gov. Aggregation
VEDO            4018841322588735            Gas           Gov. Aggregation   COH             200015260012                Gas           Gov. Aggregation
VEDO            4018978892612528            Gas           Gov. Aggregation   COH             203446950011                Gas           Gov. Aggregation
VEDO            4010035082626257            Gas           Gov. Aggregation   COH             203189780013                Gas           Gov. Aggregation
VEDO            4017416102581986            Gas           Gov. Aggregation   COH             200077540013                Gas           Gov. Aggregation
VEDO            4019969612671288            Gas           Gov. Aggregation   COH             157902200017                Gas           Gov. Aggregation
VEDO            4019860922586595            Gas           Gov. Aggregation   COH             198683760035                Gas           Gov. Aggregation
VEDO            4018086492610638            Gas           Gov. Aggregation   COH             201510550010                Gas           Gov. Aggregation
VEDO            4001548742591658            Gas           Gov. Aggregation   COH             124376960103                Gas           Gov. Aggregation
VEDO            4018297572602267            Gas           Gov. Aggregation   COH             200860490013                Gas           Gov. Aggregation
VEDO            4018337032632531            Gas           Gov. Aggregation   COH             202228340012                Gas           Gov. Aggregation
VEDO            4019815052626599            Gas           Gov. Aggregation   COH             202910580015                Gas           Gov. Aggregation
VEDO            4019830882646751            Gas           Gov. Aggregation   COH             201220640016                Gas           Gov. Aggregation
VEDO            4019856002570262            Gas           Gov. Aggregation   COH             198094840028                Gas           Gov. Aggregation
VEDO            4017649212590826            Gas           Gov. Aggregation   COH             202026590018                Gas           Gov. Aggregation
VEDO            4017714792617847            Gas           Gov. Aggregation   COH             150953050037                Gas           Gov. Aggregation
VEDO            4019089612591311            Gas           Gov. Aggregation   COH             201239370014                Gas           Gov. Aggregation
VEDO            4017501962594784            Gas           Gov. Aggregation   COH             148014260055                Gas           Gov. Aggregation
VEDO            4018796582600964            Gas           Gov. Aggregation   COH             203689320019                Gas           Gov. Aggregation
VEDO            4017229232610636            Gas           Gov. Aggregation   COH             203752860011                Gas           Gov. Aggregation
VEDO            4002281862626606            Gas           Gov. Aggregation   COH             200194360013                Gas           Gov. Aggregation
VEDO            4016835372606335            Gas           Gov. Aggregation   COH             202817740019                Gas           Gov. Aggregation
VEDO            4016839222594780            Gas           Gov. Aggregation   COH             203149410014                Gas           Gov. Aggregation
VEDO            4019306832591307            Gas           Gov. Aggregation   COH             124332490024                Gas           Gov. Aggregation
VEDO            4016955712618542            Gas           Gov. Aggregation   COH             192520410038                Gas           Gov. Aggregation
VEDO            4016691132594783            Gas           Gov. Aggregation   COH             160109550039                Gas           Gov. Aggregation
VEDO            4016699572629480            Gas           Gov. Aggregation   COH             167851140026                Gas           Gov. Aggregation
VEDO            4016023292591310            Gas           Gov. Aggregation   COH             188166340031                Gas           Gov. Aggregation
VEDO            4015637412542736            Gas           Gov. Aggregation   COH             174715130054                Gas           Gov. Aggregation
VEDO            4017129942624848            Gas           Gov. Aggregation   COH             197831630029                Gas           Gov. Aggregation
VEDO            4015560782551561            Gas           Gov. Aggregation   COH             202685450011                Gas           Gov. Aggregation
VEDO            4019995772644040            Gas           Gov. Aggregation   COH             202337320015                Gas           Gov. Aggregation
VEDO            4019968232588165            Gas           Gov. Aggregation   COH             202377210014                Gas           Gov. Aggregation
VEDO            4002244912219585            Gas           Gov. Aggregation   COH             177228430042                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4004160902418211            Gas           Gov. Aggregation   COH             188982230025                Gas           Gov. Aggregation
VEDO            4016886282619656            Gas           Gov. Aggregation   COH             203227120019                Gas           Gov. Aggregation
VEDO            4018687722303631            Gas           Gov. Aggregation   COH             190409030027                Gas           Gov. Aggregation
VEDO            4004260072429023            Gas           Gov. Aggregation   COH             203711430017                Gas           Gov. Aggregation
VEDO            4016645962445476            Gas           Gov. Aggregation   COH             200222430017                Gas           Gov. Aggregation
VEDO            4002981912293459            Gas           Gov. Aggregation   COH             191812660029                Gas           Gov. Aggregation
COH             148745010012                Gas           Gov. Aggregation   COH             172766740024                Gas           Gov. Aggregation
COH             200691250012                Gas           Gov. Aggregation   COH             124310810022                Gas           Gov. Aggregation
COH             202174900019                Gas           Gov. Aggregation   COH             151881960092                Gas           Gov. Aggregation
COH             195931270025                Gas           Gov. Aggregation   COH             199619250018                Gas           Gov. Aggregation
COH             118428890034                Gas           Gov. Aggregation   COH             202377030012                Gas           Gov. Aggregation
COH             198136760016                Gas           Gov. Aggregation   COH             202508390018                Gas           Gov. Aggregation
COH             199670270016                Gas           Gov. Aggregation   COH             124736670020                Gas           Gov. Aggregation
COH             150842220018                Gas           Gov. Aggregation   COH             195803220017                Gas           Gov. Aggregation
COH             188044860012                Gas           Gov. Aggregation   COH             201979160010                Gas           Gov. Aggregation
COH             188037780041                Gas           Gov. Aggregation   COH             202805940012                Gas           Gov. Aggregation
COH             199049080022                Gas           Gov. Aggregation   COH             167003830037                Gas           Gov. Aggregation
COH             157479540104                Gas           Gov. Aggregation   COH             201478680013                Gas           Gov. Aggregation
COH             197959740017                Gas           Gov. Aggregation   COH             198968750024                Gas           Gov. Aggregation
COH             133928450019                Gas           Gov. Aggregation   COH             203032310012                Gas           Gov. Aggregation
COH             130699290022                Gas           Gov. Aggregation   COH             200749310016                Gas           Gov. Aggregation
COH             190632430020                Gas           Gov. Aggregation   COH             185519680025                Gas           Gov. Aggregation
COH             170505260038                Gas           Gov. Aggregation   COH             159928780029                Gas           Gov. Aggregation
COH             197508100016                Gas           Gov. Aggregation   COH             157347720052                Gas           Gov. Aggregation
COH             194189402067                Gas           Gov. Aggregation   COH             149056850025                Gas           Gov. Aggregation
COH             195027770027                Gas           Gov. Aggregation   COH             203316060013                Gas           Gov. Aggregation
COH             195119950015                Gas           Gov. Aggregation   COH             201452610011                Gas           Gov. Aggregation
COH             195151910015                Gas           Gov. Aggregation   COH             191710360028                Gas           Gov. Aggregation
COH             201890640017                Gas           Gov. Aggregation   COH             166994790038                Gas           Gov. Aggregation
COH             201757470015                Gas           Gov. Aggregation   COH             137710110071                Gas           Gov. Aggregation
COH             159977820036                Gas           Gov. Aggregation   COH             201437630019                Gas           Gov. Aggregation
COH             161519380017                Gas           Gov. Aggregation   COH             159254330022                Gas           Gov. Aggregation
COH             196382190017                Gas           Gov. Aggregation   COH             202666980010                Gas           Gov. Aggregation
COH             196704930026                Gas           Gov. Aggregation   COH             201929450014                Gas           Gov. Aggregation
COH             192357050013                Gas           Gov. Aggregation   COH             189734360022                Gas           Gov. Aggregation
COH             192131298228                Gas           Gov. Aggregation   COH             202306400013                Gas           Gov. Aggregation
COH             192131296042                Gas           Gov. Aggregation   COH             201289350013                Gas           Gov. Aggregation
COH             176708950037                Gas           Gov. Aggregation   COH             202727070011                Gas           Gov. Aggregation
COH             112074170185                Gas           Gov. Aggregation   COH             203373560018                Gas           Gov. Aggregation
COH             117053470038                Gas           Gov. Aggregation   COH             170538400020                Gas           Gov. Aggregation
COH             125768730047                Gas           Gov. Aggregation   COH             175184500025                Gas           Gov. Aggregation
COH             199778040016                Gas           Gov. Aggregation   COH             131908250042                Gas           Gov. Aggregation
COH             201500090018                Gas           Gov. Aggregation   COH             202084520010                Gas           Gov. Aggregation
COH             193762670022                Gas           Gov. Aggregation   COH             185142360021                Gas           Gov. Aggregation
COH             201542210014                Gas           Gov. Aggregation   COH             171615180013                Gas           Gov. Aggregation
COH             174124540042                Gas           Gov. Aggregation   COH             156102470027                Gas           Gov. Aggregation
COH             131127880180                Gas           Gov. Aggregation   COH             200927390012                Gas           Gov. Aggregation
COH             145311630050                Gas           Gov. Aggregation   COH             202975140011                Gas           Gov. Aggregation
COH             122673850028                Gas           Gov. Aggregation   COH             201733550018                Gas           Gov. Aggregation
COH             125321650059                Gas           Gov. Aggregation   COH             148276490062                Gas           Gov. Aggregation
COH             166792560114                Gas           Gov. Aggregation   COH             168081590024                Gas           Gov. Aggregation
COH             165902080095                Gas           Gov. Aggregation   COH             174821000038                Gas           Gov. Aggregation
COH             155505160029                Gas           Gov. Aggregation   COH             124405670021                Gas           Gov. Aggregation
COH             200592430014                Gas           Gov. Aggregation   COH             153708640075                Gas           Gov. Aggregation
COH             200718690021                Gas           Gov. Aggregation   COH             202559960011                Gas           Gov. Aggregation
COH             166755290066                Gas           Gov. Aggregation   COH             202866680019                Gas           Gov. Aggregation
COH             163746710041                Gas           Gov. Aggregation   COH             202506340012                Gas           Gov. Aggregation
COH             201196280015                Gas           Gov. Aggregation   COH             150009520075                Gas           Gov. Aggregation
COH             200682950014                Gas           Gov. Aggregation   COH             125189660040                Gas           Gov. Aggregation
COH             168719120029                Gas           Gov. Aggregation   COH             199540500021                Gas           Gov. Aggregation
COH             200604380018                Gas           Gov. Aggregation   COH             202834700011                Gas           Gov. Aggregation
COH             196327130033                Gas           Gov. Aggregation   COH             163911510051                Gas           Gov. Aggregation
COH             170302250021                Gas           Gov. Aggregation   COH             194074030024                Gas           Gov. Aggregation
COH             161270580068                Gas           Gov. Aggregation   COH             200345560029                Gas           Gov. Aggregation
COH             200424220013                Gas           Gov. Aggregation   COH             191299270021                Gas           Gov. Aggregation
COH             201953740012                Gas           Gov. Aggregation   COH             192813310029                Gas           Gov. Aggregation
COH             140637300054                Gas           Gov. Aggregation   COH             195462890020                Gas           Gov. Aggregation
COH             124648350024                Gas           Gov. Aggregation   COH             201517060019                Gas           Gov. Aggregation
COH             200062760018                Gas           Gov. Aggregation   COH             200355200014                Gas           Gov. Aggregation
COH             200173680010                Gas           Gov. Aggregation   COH             200578760015                Gas           Gov. Aggregation
COH             201376410015                Gas           Gov. Aggregation   COH             203689570017                Gas           Gov. Aggregation
COH             201134790027                Gas           Gov. Aggregation   COH             186764500040                Gas           Gov. Aggregation
COH             194605870021                Gas           Gov. Aggregation   COH             163291070087                Gas           Gov. Aggregation
COH             192047170033                Gas           Gov. Aggregation   COH             170714680028                Gas           Gov. Aggregation
COH             152800410032                Gas           Gov. Aggregation   COH             170529720022                Gas           Gov. Aggregation
COH             143995050047                Gas           Gov. Aggregation   COH             167585500025                Gas           Gov. Aggregation
COH             201915400013                Gas           Gov. Aggregation   COH             201696060011                Gas           Gov. Aggregation
COH             201331200013                Gas           Gov. Aggregation   COH             202775410018                Gas           Gov. Aggregation
COH             201740950019                Gas           Gov. Aggregation   COH             200554490012                Gas           Gov. Aggregation
COH             201576430017                Gas           Gov. Aggregation   COH             200481400015                Gas           Gov. Aggregation
COH             201564680010                Gas           Gov. Aggregation   COH             200456700015                Gas           Gov. Aggregation
COH             160899990025                Gas           Gov. Aggregation   COH             200251490014                Gas           Gov. Aggregation
COH             144844300024                Gas           Gov. Aggregation   COH             200922010011                Gas           Gov. Aggregation
COH             200570380011                Gas           Gov. Aggregation   COH             200647430017                Gas           Gov. Aggregation
COH             200533370011                Gas           Gov. Aggregation   COH             191038460032                Gas           Gov. Aggregation
COH             200336760017                Gas           Gov. Aggregation   COH             192882160026                Gas           Gov. Aggregation
COH             200462890013                Gas           Gov. Aggregation   COH             193152850036                Gas           Gov. Aggregation
COH             201917730010                Gas           Gov. Aggregation   COH             200933780017                Gas           Gov. Aggregation
COH             132217880026                Gas           Gov. Aggregation   COH             202387190018                Gas           Gov. Aggregation
COH             177420410020                Gas           Gov. Aggregation   COH             203234450015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             159170770019                Gas           Gov. Aggregation   COH             203316110012                Gas           Gov. Aggregation
COH             192685050027                Gas           Gov. Aggregation   COH             167722510058                Gas           Gov. Aggregation
COH             201398560018                Gas           Gov. Aggregation   COH             201569840016                Gas           Gov. Aggregation
COH             200520330016                Gas           Gov. Aggregation   COH             192975760014                Gas           Gov. Aggregation
COH             157990770031                Gas           Gov. Aggregation   COH             196398000022                Gas           Gov. Aggregation
COH             136031190012                Gas           Gov. Aggregation   COH             194895230022                Gas           Gov. Aggregation
COH             202293860016                Gas           Gov. Aggregation   COH             202739490018                Gas           Gov. Aggregation
COH             201663340011                Gas           Gov. Aggregation   COH             201733580012                Gas           Gov. Aggregation
COH             201781460016                Gas           Gov. Aggregation   COH             201713340014                Gas           Gov. Aggregation
COH             200102820019                Gas           Gov. Aggregation   COH             202805960018                Gas           Gov. Aggregation
COH             193703730032                Gas           Gov. Aggregation   COH             203440120017                Gas           Gov. Aggregation
COH             192283970044                Gas           Gov. Aggregation   COH             203379420015                Gas           Gov. Aggregation
COH             201833170016                Gas           Gov. Aggregation   COH             187964250039                Gas           Gov. Aggregation
COH             200395590019                Gas           Gov. Aggregation   COH             188107750020                Gas           Gov. Aggregation
COH             200357090014                Gas           Gov. Aggregation   COH             201323650016                Gas           Gov. Aggregation
COH             153418260025                Gas           Gov. Aggregation   COH             201589260016                Gas           Gov. Aggregation
COH             147150230018                Gas           Gov. Aggregation   COH             202436200010                Gas           Gov. Aggregation
COH             139469430048                Gas           Gov. Aggregation   COH             201312950016                Gas           Gov. Aggregation
COH             131367730012                Gas           Gov. Aggregation   COH             201276990016                Gas           Gov. Aggregation
COH             161405600057                Gas           Gov. Aggregation   COH             201063080018                Gas           Gov. Aggregation
COH             201912560016                Gas           Gov. Aggregation   COH             200211440018                Gas           Gov. Aggregation
COH             197611120013                Gas           Gov. Aggregation   COH             188669430045                Gas           Gov. Aggregation
COH             201579070017                Gas           Gov. Aggregation   COH             177436100031                Gas           Gov. Aggregation
COH             200975900013                Gas           Gov. Aggregation   COH             199054770026                Gas           Gov. Aggregation
COH             200221880015                Gas           Gov. Aggregation   COH             200024530016                Gas           Gov. Aggregation
COH             146422540026                Gas           Gov. Aggregation   COH             197359420016                Gas           Gov. Aggregation
COH             198795740023                Gas           Gov. Aggregation   COH             196096970010                Gas           Gov. Aggregation
COH             200299810016                Gas           Gov. Aggregation   COH             195742490011                Gas           Gov. Aggregation
COH             202250970013                Gas           Gov. Aggregation   COH             203286200018                Gas           Gov. Aggregation
COH             122727430058                Gas           Gov. Aggregation   COH             201645770019                Gas           Gov. Aggregation
COH             165366650048                Gas           Gov. Aggregation   COH             202151940019                Gas           Gov. Aggregation
COH             165345120043                Gas           Gov. Aggregation   COH             200853500015                Gas           Gov. Aggregation
COH             133512970084                Gas           Gov. Aggregation   COH             200103750012                Gas           Gov. Aggregation
COH             201968820014                Gas           Gov. Aggregation   COH             202639880018                Gas           Gov. Aggregation
COH             200825040011                Gas           Gov. Aggregation   COH             201597080017                Gas           Gov. Aggregation
COH             199838100015                Gas           Gov. Aggregation   COH             201227770015                Gas           Gov. Aggregation
COH             194828770020                Gas           Gov. Aggregation   COH             200103690015                Gas           Gov. Aggregation
COH             167870800027                Gas           Gov. Aggregation   COH             199980560018                Gas           Gov. Aggregation
COH             193725810020                Gas           Gov. Aggregation   COH             202639700024                Gas           Gov. Aggregation
COH             200764130012                Gas           Gov. Aggregation   COH             176674480048                Gas           Gov. Aggregation
COH             137902070055                Gas           Gov. Aggregation   COH             195338310024                Gas           Gov. Aggregation
COH             200858670010                Gas           Gov. Aggregation   COH             203661450010                Gas           Gov. Aggregation
COH             200801640015                Gas           Gov. Aggregation   COH             148191230039                Gas           Gov. Aggregation
COH             202083850013                Gas           Gov. Aggregation   COH             144895220042                Gas           Gov. Aggregation
COH             201822540011                Gas           Gov. Aggregation   COH             134318300030                Gas           Gov. Aggregation
COH             202151090018                Gas           Gov. Aggregation   COH             163766720029                Gas           Gov. Aggregation
COH             170757390047                Gas           Gov. Aggregation   COH             201656630015                Gas           Gov. Aggregation
COH             125826930425                Gas           Gov. Aggregation   COH             188898640028                Gas           Gov. Aggregation
COH             201235770018                Gas           Gov. Aggregation   COH             203181950013                Gas           Gov. Aggregation
COH             200184510012                Gas           Gov. Aggregation   COH             200654250010                Gas           Gov. Aggregation
COH             200520320018                Gas           Gov. Aggregation   COH             202251870012                Gas           Gov. Aggregation
COH             200181680013                Gas           Gov. Aggregation   COH             191032180042                Gas           Gov. Aggregation
COH             200351630012                Gas           Gov. Aggregation   COH             177514160033                Gas           Gov. Aggregation
COH             200109220011                Gas           Gov. Aggregation   COH             170280100020                Gas           Gov. Aggregation
COH             200117600014                Gas           Gov. Aggregation   COH             159272040043                Gas           Gov. Aggregation
COH             200024110014                Gas           Gov. Aggregation   COH             136148360046                Gas           Gov. Aggregation
COH             195519750037                Gas           Gov. Aggregation   COH             203667260018                Gas           Gov. Aggregation
COH             193196480032                Gas           Gov. Aggregation   COH             111047450022                Gas           Gov. Aggregation
COH             190850290028                Gas           Gov. Aggregation   COH             202251970011                Gas           Gov. Aggregation
COH             202321510018                Gas           Gov. Aggregation   COH             202473850016                Gas           Gov. Aggregation
COH             195310560020                Gas           Gov. Aggregation   COH             202445830019                Gas           Gov. Aggregation
COH             201402130017                Gas           Gov. Aggregation   COH             202935260010                Gas           Gov. Aggregation
COH             199843190016                Gas           Gov. Aggregation   COH             202913270014                Gas           Gov. Aggregation
COH             191884820033                Gas           Gov. Aggregation   COH             200551050010                Gas           Gov. Aggregation
COH             193303820022                Gas           Gov. Aggregation   COH             203643670012                Gas           Gov. Aggregation
COH             125209320029                Gas           Gov. Aggregation   COH             187732540020                Gas           Gov. Aggregation
COH             149899450041                Gas           Gov. Aggregation   COH             189862640022                Gas           Gov. Aggregation
COH             143291230032                Gas           Gov. Aggregation   COH             188315000035                Gas           Gov. Aggregation
COH             157226970038                Gas           Gov. Aggregation   COH             201371560014                Gas           Gov. Aggregation
COH             200805730018                Gas           Gov. Aggregation   COH             201260830021                Gas           Gov. Aggregation
COH             201389740019                Gas           Gov. Aggregation   COH             174000690034                Gas           Gov. Aggregation
COH             122486600198                Gas           Gov. Aggregation   COH             202484120016                Gas           Gov. Aggregation
COH             124578530052                Gas           Gov. Aggregation   COH             201293100016                Gas           Gov. Aggregation
COH             202293840010                Gas           Gov. Aggregation   COH             146950300036                Gas           Gov. Aggregation
COH             200339270014                Gas           Gov. Aggregation   COH             192907630023                Gas           Gov. Aggregation
COH             201844760019                Gas           Gov. Aggregation   COH             192690480035                Gas           Gov. Aggregation
COH             201655810019                Gas           Gov. Aggregation   COH             195778560020                Gas           Gov. Aggregation
COH             125808790012                Gas           Gov. Aggregation   COH             201236480026                Gas           Gov. Aggregation
COH             125807550032                Gas           Gov. Aggregation   COH             201275890019                Gas           Gov. Aggregation
COH             125836730015                Gas           Gov. Aggregation   COH             194811270048                Gas           Gov. Aggregation
COH             125919470023                Gas           Gov. Aggregation   COH             195111320022                Gas           Gov. Aggregation
COH             144211530027                Gas           Gov. Aggregation   COH             194058980029                Gas           Gov. Aggregation
COH             158020790022                Gas           Gov. Aggregation   COH             200853490018                Gas           Gov. Aggregation
COH             151882500041                Gas           Gov. Aggregation   COH             201213590012                Gas           Gov. Aggregation
COH             202266880019                Gas           Gov. Aggregation   COH             202220020015                Gas           Gov. Aggregation
COH             202215900011                Gas           Gov. Aggregation   COH             201884500019                Gas           Gov. Aggregation
COH             201899670013                Gas           Gov. Aggregation   COH             200652380017                Gas           Gov. Aggregation
COH             201899700016                Gas           Gov. Aggregation   COH             202277750013                Gas           Gov. Aggregation
COH             201933600013                Gas           Gov. Aggregation   COH             201049670014                Gas           Gov. Aggregation
COH             195615050012                Gas           Gov. Aggregation   COH             201299140016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             197096530020                Gas           Gov. Aggregation   COH             200783210015                Gas           Gov. Aggregation
COH             146387940055                Gas           Gov. Aggregation   COH             155250700071                Gas           Gov. Aggregation
COH             165674280025                Gas           Gov. Aggregation   COH             167545840037                Gas           Gov. Aggregation
COH             197118150013                Gas           Gov. Aggregation   COH             188384000030                Gas           Gov. Aggregation
COH             201539390023                Gas           Gov. Aggregation   COH             193838670021                Gas           Gov. Aggregation
COH             188174190036                Gas           Gov. Aggregation   COH             199995000023                Gas           Gov. Aggregation
COH             161393200030                Gas           Gov. Aggregation   COH             200245350016                Gas           Gov. Aggregation
COH             201060760011                Gas           Gov. Aggregation   COH             200738640010                Gas           Gov. Aggregation
COH             186651440033                Gas           Gov. Aggregation   COH             200821300023                Gas           Gov. Aggregation
COH             199762480017                Gas           Gov. Aggregation   COH             185426590049                Gas           Gov. Aggregation
COH             200339300017                Gas           Gov. Aggregation   COH             202985100018                Gas           Gov. Aggregation
COH             197803390038                Gas           Gov. Aggregation   COH             147689930029                Gas           Gov. Aggregation
COH             195085600039                Gas           Gov. Aggregation   COH             185693130031                Gas           Gov. Aggregation
COH             201311460011                Gas           Gov. Aggregation   COH             175745220051                Gas           Gov. Aggregation
COH             185822930029                Gas           Gov. Aggregation   COH             124311360025                Gas           Gov. Aggregation
COH             200372990013                Gas           Gov. Aggregation   COH             200516400010                Gas           Gov. Aggregation
COH             197995360164                Gas           Gov. Aggregation   COH             203162890016                Gas           Gov. Aggregation
COH             202293870014                Gas           Gov. Aggregation   COH             203513100016                Gas           Gov. Aggregation
COH             154410740047                Gas           Gov. Aggregation   COH             203463790019                Gas           Gov. Aggregation
COH             151156160042                Gas           Gov. Aggregation   COH             203545430010                Gas           Gov. Aggregation
COH             193444840020                Gas           Gov. Aggregation   COH             203553600017                Gas           Gov. Aggregation
COH             185469960032                Gas           Gov. Aggregation   COH             203589760019                Gas           Gov. Aggregation
COH             134082420036                Gas           Gov. Aggregation   COH             201709050014                Gas           Gov. Aggregation
COH             201651750010                Gas           Gov. Aggregation   COH             201724380013                Gas           Gov. Aggregation
COH             200909270015                Gas           Gov. Aggregation   COH             201741470018                Gas           Gov. Aggregation
COH             202056280010                Gas           Gov. Aggregation   COH             201755010015                Gas           Gov. Aggregation
COH             201593180014                Gas           Gov. Aggregation   COH             201618750010                Gas           Gov. Aggregation
COH             201409790015                Gas           Gov. Aggregation   COH             201618770016                Gas           Gov. Aggregation
COH             201349290018                Gas           Gov. Aggregation   COH             198457120010                Gas           Gov. Aggregation
COH             201323180015                Gas           Gov. Aggregation   COH             198224700011                Gas           Gov. Aggregation
COH             201772410015                Gas           Gov. Aggregation   COH             198191550023                Gas           Gov. Aggregation
COH             200133180019                Gas           Gov. Aggregation   COH             198193860015                Gas           Gov. Aggregation
COH             200124440013                Gas           Gov. Aggregation   COH             198200630016                Gas           Gov. Aggregation
COH             196824130048                Gas           Gov. Aggregation   COH             198240410018                Gas           Gov. Aggregation
COH             165881350021                Gas           Gov. Aggregation   COH             198441150017                Gas           Gov. Aggregation
COH             167053470190                Gas           Gov. Aggregation   COH             194021970028                Gas           Gov. Aggregation
COH             125873130013                Gas           Gov. Aggregation   COH             194656310021                Gas           Gov. Aggregation
COH             168245430038                Gas           Gov. Aggregation   COH             194526340020                Gas           Gov. Aggregation
COH             201002990015                Gas           Gov. Aggregation   COH             194459700027                Gas           Gov. Aggregation
COH             200604660019                Gas           Gov. Aggregation   COH             193018460032                Gas           Gov. Aggregation
COH             200245700012                Gas           Gov. Aggregation   COH             192931500029                Gas           Gov. Aggregation
COH             185834160044                Gas           Gov. Aggregation   COH             124409390022                Gas           Gov. Aggregation
COH             194995570038                Gas           Gov. Aggregation   COH             124404680030                Gas           Gov. Aggregation
COH             200659480021                Gas           Gov. Aggregation   COH             124777670033                Gas           Gov. Aggregation
COH             159826740069                Gas           Gov. Aggregation   COH             124779080024                Gas           Gov. Aggregation
COH             159811260025                Gas           Gov. Aggregation   COH             124793910029                Gas           Gov. Aggregation
COH             194199440024                Gas           Gov. Aggregation   COH             124509820047                Gas           Gov. Aggregation
COH             201714560016                Gas           Gov. Aggregation   COH             133143670026                Gas           Gov. Aggregation
COH             201280510017                Gas           Gov. Aggregation   COH             130832000046                Gas           Gov. Aggregation
COH             200457530019                Gas           Gov. Aggregation   COH             130846530046                Gas           Gov. Aggregation
COH             195982060022                Gas           Gov. Aggregation   COH             129069750032                Gas           Gov. Aggregation
COH             198377510027                Gas           Gov. Aggregation   COH             148628870038                Gas           Gov. Aggregation
COH             202310890012                Gas           Gov. Aggregation   COH             144572940063                Gas           Gov. Aggregation
COH             202175510019                Gas           Gov. Aggregation   COH             146239070024                Gas           Gov. Aggregation
COH             198981680012                Gas           Gov. Aggregation   COH             135334850030                Gas           Gov. Aggregation
COH             199659210012                Gas           Gov. Aggregation   COH             137630130022                Gas           Gov. Aggregation
COH             201737060013                Gas           Gov. Aggregation   COH             141934200027                Gas           Gov. Aggregation
COH             200723400011                Gas           Gov. Aggregation   COH             142065540064                Gas           Gov. Aggregation
COH             201306610010                Gas           Gov. Aggregation   COH             164889000038                Gas           Gov. Aggregation
COH             200370010012                Gas           Gov. Aggregation   COH             164555400040                Gas           Gov. Aggregation
COH             200054960013                Gas           Gov. Aggregation   COH             167565020037                Gas           Gov. Aggregation
COH             194170440033                Gas           Gov. Aggregation   COH             167500420048                Gas           Gov. Aggregation
COH             196416450037                Gas           Gov. Aggregation   COH             170572810022                Gas           Gov. Aggregation
COH             150484870058                Gas           Gov. Aggregation   COH             170762650023                Gas           Gov. Aggregation
COH             115879150788                Gas           Gov. Aggregation   COH             170032590032                Gas           Gov. Aggregation
COH             168209920040                Gas           Gov. Aggregation   COH             167860590023                Gas           Gov. Aggregation
COH             198791820015                Gas           Gov. Aggregation   COH             190571850022                Gas           Gov. Aggregation
COH             201055120016                Gas           Gov. Aggregation   COH             190027880029                Gas           Gov. Aggregation
COH             156241680029                Gas           Gov. Aggregation   COH             188296440035                Gas           Gov. Aggregation
COH             194808760015                Gas           Gov. Aggregation   COH             188333310023                Gas           Gov. Aggregation
COH             110906000016                Gas           Gov. Aggregation   COH             188338400024                Gas           Gov. Aggregation
COH             110900280010                Gas           Gov. Aggregation   COH             188569110044                Gas           Gov. Aggregation
COH             160278200035                Gas           Gov. Aggregation   COH             189238190011                Gas           Gov. Aggregation
COH             200819980017                Gas           Gov. Aggregation   COH             186677170045                Gas           Gov. Aggregation
COH             197557800016                Gas           Gov. Aggregation   COH             188190770021                Gas           Gov. Aggregation
COH             196267430010                Gas           Gov. Aggregation   COH             188185200030                Gas           Gov. Aggregation
COH             198415960012                Gas           Gov. Aggregation   COH             172375100027                Gas           Gov. Aggregation
COH             192391050011                Gas           Gov. Aggregation   COH             173630840038                Gas           Gov. Aggregation
COH             138332300018                Gas           Gov. Aggregation   COH             173828460020                Gas           Gov. Aggregation
COH             111387780014                Gas           Gov. Aggregation   COH             203103990019                Gas           Gov. Aggregation
COH             157285440044                Gas           Gov. Aggregation   COH             203033840019                Gas           Gov. Aggregation
COH             127449380054                Gas           Gov. Aggregation   COH             203739730016                Gas           Gov. Aggregation
COH             177303600019                Gas           Gov. Aggregation   COH             174675860057                Gas           Gov. Aggregation
COH             186269010016                Gas           Gov. Aggregation   COH             187160240026                Gas           Gov. Aggregation
COH             166956590012                Gas           Gov. Aggregation   COH             175077960044                Gas           Gov. Aggregation
COH             196052380016                Gas           Gov. Aggregation   COH             137854630069                Gas           Gov. Aggregation
COH             191603410033                Gas           Gov. Aggregation   COH             191250720028                Gas           Gov. Aggregation
COH             189148770038                Gas           Gov. Aggregation   COH             193779030030                Gas           Gov. Aggregation
COH             146341730019                Gas           Gov. Aggregation   COH             195652040016                Gas           Gov. Aggregation
COH             110978130027                Gas           Gov. Aggregation   COH             197669590014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             166860510011                Gas           Gov. Aggregation   COH             201160900019                Gas           Gov. Aggregation
COH             197732740017                Gas           Gov. Aggregation   COH             201452680017                Gas           Gov. Aggregation
COH             197966580016                Gas           Gov. Aggregation   COH             200481430019                Gas           Gov. Aggregation
COH             142114020031                Gas           Gov. Aggregation   COH             200367140021                Gas           Gov. Aggregation
COH             148724790013                Gas           Gov. Aggregation   COH             200385550027                Gas           Gov. Aggregation
COH             110992520016                Gas           Gov. Aggregation   COH             202689550012                Gas           Gov. Aggregation
COH             187925980047                Gas           Gov. Aggregation   COH             202716800010                Gas           Gov. Aggregation
COH             136724750015                Gas           Gov. Aggregation   COH             202581450011                Gas           Gov. Aggregation
COH             197765480013                Gas           Gov. Aggregation   COH             201672350029                Gas           Gov. Aggregation
COH             198567890016                Gas           Gov. Aggregation   COH             201864070012                Gas           Gov. Aggregation
COH             160261240014                Gas           Gov. Aggregation   COH             201954260011                Gas           Gov. Aggregation
COH             163894140011                Gas           Gov. Aggregation   COH             193069580067                Gas           Gov. Aggregation
COH             148140090018                Gas           Gov. Aggregation   DEO             3500054808268               Gas           Gov. Aggregation
COH             200541100010                Gas           Gov. Aggregation   DEO             6180007169822               Gas           Gov. Aggregation
COH             199994420018                Gas           Gov. Aggregation   DEO             7180000536513               Gas           Gov. Aggregation
COH             202003780016                Gas           Gov. Aggregation   DEO             4180002746767               Gas           Gov. Aggregation
COH             167214040018                Gas           Gov. Aggregation   DEO             4180003559784               Gas           Gov. Aggregation
VEDO            4019895332124419            Gas           Gov. Aggregation   DEO             4180005972939               Gas           Gov. Aggregation
VEDO            4003455242342602            Gas           Gov. Aggregation   DEO             0180003537026               Gas           Gov. Aggregation
VEDO            4002258982401687            Gas           Gov. Aggregation   DEO             2180007055540               Gas           Gov. Aggregation
VEDO            4002099002474178            Gas           Gov. Aggregation   DEO             8442006676915               Gas           Gov. Aggregation
VEDO            4019981192332332            Gas           Gov. Aggregation   DEO             6180000219313               Gas           Gov. Aggregation
VEDO            4019730862220685            Gas           Gov. Aggregation   DEO             0180005144625               Gas           Gov. Aggregation
VEDO            4018117422468367            Gas           Gov. Aggregation   DEO             0180005051013               Gas           Gov. Aggregation
VEDO            4018678122418815            Gas           Gov. Aggregation   DEO             4500063739114               Gas           Gov. Aggregation
VEDO            4020073622368199            Gas           Gov. Aggregation   DEO             7180002493994               Gas           Gov. Aggregation
VEDO            4018813392203748            Gas           Gov. Aggregation   DEO             7180002436689               Gas           Gov. Aggregation
VEDO            4019913432404472            Gas           Gov. Aggregation   DEO             7180003833941               Gas           Gov. Aggregation
VEDO            4003258012593643            Gas           Gov. Aggregation   DEO             6180004829501               Gas           Gov. Aggregation
VEDO            4003594002357148            Gas           Gov. Aggregation   DEO             0180001626206               Gas           Gov. Aggregation
VEDO            4018567752191211            Gas           Gov. Aggregation   DEO             6180002924723               Gas           Gov. Aggregation
VEDO            4017637282526553            Gas           Gov. Aggregation   DEO             8180002811522               Gas           Gov. Aggregation
VEDO            4017768502593646            Gas           Gov. Aggregation   DEO             0180001480727               Gas           Gov. Aggregation
VEDO            4002806532182140            Gas           Gov. Aggregation   DEO             7180003373196               Gas           Gov. Aggregation
VEDO            4002806532275633            Gas           Gov. Aggregation   DEO             1180005362608               Gas           Gov. Aggregation
VEDO            4004839342492782            Gas           Gov. Aggregation   DEO             1180001189965               Gas           Gov. Aggregation
VEDO            4019875222427277            Gas           Gov. Aggregation   DEO             0500055100584               Gas           Gov. Aggregation
VEDO            4002421882457099            Gas           Gov. Aggregation   DEO             2180002954833               Gas           Gov. Aggregation
VEDO            4001666562362662            Gas           Gov. Aggregation   DEO             0180006921583               Gas           Gov. Aggregation
VEDO            4001805142420079            Gas           Gov. Aggregation   DEO             0180003808970               Gas           Gov. Aggregation
VEDO            4002734422268321            Gas           Gov. Aggregation   DEO             1180006179910               Gas           Gov. Aggregation
VEDO            4003454742342534            Gas           Gov. Aggregation   DEO             2180004661389               Gas           Gov. Aggregation
VEDO            4003091632407485            Gas           Gov. Aggregation   DEO             5180004061746               Gas           Gov. Aggregation
VEDO            4019933212331219            Gas           Gov. Aggregation   DEO             4180005752473               Gas           Gov. Aggregation
VEDO            4019862792437896            Gas           Gov. Aggregation   DEO             8180005642514               Gas           Gov. Aggregation
VEDO            4001592482155791            Gas           Gov. Aggregation   DEO             5180004485218               Gas           Gov. Aggregation
VEDO            4002623282593609            Gas           Gov. Aggregation   DEO             3180006545880               Gas           Gov. Aggregation
VEDO            4016384622358864            Gas           Gov. Aggregation   DEO             6180006716568               Gas           Gov. Aggregation
VEDO            4016824652347954            Gas           Gov. Aggregation   COH             190871690039                Gas           Gov. Aggregation
VEDO            4016884152537302            Gas           Gov. Aggregation   COH             155809500103                Gas           Gov. Aggregation
VEDO            4004754892483474            Gas           Gov. Aggregation   COH             200121370032                Gas           Gov. Aggregation
VEDO            4016102242414765            Gas           Gov. Aggregation   COH             159239130035                Gas           Gov. Aggregation
VEDO            4001669212250073            Gas           Gov. Aggregation   COH             120456950010                Gas           Gov. Aggregation
VEDO            4001764132172113            Gas           Gov. Aggregation   COH             203182500033                Gas           Gov. Aggregation
VEDO            4001197502118705            Gas           Gov. Aggregation   COH             110975670020                Gas           Gov. Aggregation
VEDO            4003899492389806            Gas           Gov. Aggregation   DEO             8180007129313               Gas           Gov. Aggregation
VEDO            4019294262537305            Gas           Gov. Aggregation   VEDO            4002527232247632            Gas           Gov. Aggregation
VEDO            4019292202175978            Gas           Gov. Aggregation   COH             158176860028                Gas           Gov. Aggregation
VEDO            4019862392404501            Gas           Gov. Aggregation   COH             170250720014                Gas           Gov. Aggregation
VEDO            4016027872537192            Gas           Gov. Aggregation   COH             131943000031                Gas           Gov. Aggregation
VEDO            4004817232537202            Gas           Gov. Aggregation   COH             164327980024                Gas           Gov. Aggregation
VEDO            4016648402537200            Gas           Gov. Aggregation   COH             108747360022                Gas           Gov. Aggregation
VEDO            4018849202465629            Gas           Gov. Aggregation   COH             156408190019                Gas           Gov. Aggregation
VEDO            4019483642220993            Gas           Gov. Aggregation   COH             111434490014                Gas           Gov. Aggregation
VEDO            4016936272270807            Gas           Gov. Aggregation   COH             200078320026                Gas           Gov. Aggregation
VEDO            4019900372223109            Gas           Gov. Aggregation   COH             155228380012                Gas           Gov. Aggregation
VEDO            4019159722391383            Gas           Gov. Aggregation   DEO             6180007522253               Gas           Gov. Aggregation
VEDO            4018292952634584            Gas           Gov. Aggregation   COH             151856030018                Gas           Gov. Aggregation
VEDO            4018327422130273            Gas           Gov. Aggregation   COH             148472750025                Gas           Gov. Aggregation
VEDO            4002899192198700            Gas           Gov. Aggregation   COH             129116570039                Gas           Gov. Aggregation
VEDO            4003024952297847            Gas           Gov. Aggregation   COH             140807480029                Gas           Gov. Aggregation
VEDO            4003934402393668            Gas           Gov. Aggregation   COH             204260560016                Gas           Gov. Aggregation
VEDO            4004661672257562            Gas           Gov. Aggregation   DEO             2180007383183               Gas           Gov. Aggregation
VEDO            4003278102323932            Gas           Gov. Aggregation   COH             123716030018                Gas           Gov. Aggregation
VEDO            4003998272400475            Gas           Gov. Aggregation   COH             186983360046                Gas           Gov. Aggregation
VEDO            4002374022232327            Gas           Gov. Aggregation   VEDO            4020187382592238            Gas           Gov. Aggregation
VEDO            4019528002647561            Gas           Gov. Aggregation   COH             164281460058                Gas           Gov. Aggregation
VEDO            4019156072440866            Gas           Gov. Aggregation   COH             119318440021                Gas           Gov. Aggregation
VEDO            4015226292528017            Gas           Gov. Aggregation   COH             175198210036                Gas           Gov. Aggregation
VEDO            4018452222370151            Gas           Gov. Aggregation   COH             108750350018                Gas           Gov. Aggregation
VEDO            4017010162368976            Gas           Gov. Aggregation   VEDO            4019813492623335            Gas           Gov. Aggregation
VEDO            4020007342591383            Gas           Gov. Aggregation   VEDO            4001781122623369            Gas           Gov. Aggregation
VEDO            4002990482556512            Gas           Gov. Aggregation   VEDO            4001034712643284            Gas           Gov. Aggregation
VEDO            4003636452539004            Gas           Gov. Aggregation   VEDO            4019900452623367            Gas           Gov. Aggregation
COH             170937210015                Gas           Gov. Aggregation   VEDO            4019900552643285            Gas           Gov. Aggregation
COH             187476200016                Gas           Gov. Aggregation   VEDO            4002744602672753            Gas           Gov. Aggregation
COH             197894770019                Gas           Gov. Aggregation   VEDO            4003434522672818            Gas           Gov. Aggregation
COH             202375550017                Gas           Gov. Aggregation   VEDO            4019843312587524            Gas           Gov. Aggregation
COH             193483160012                Gas           Gov. Aggregation   VEDO            4019851612596916            Gas           Gov. Aggregation
COH             150072380018                Gas           Gov. Aggregation   VEDO            4019879612605709            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             199994120011                Gas           Gov. Aggregation   VEDO            4017833442619242            Gas           Gov. Aggregation
COH             190132740016                Gas           Gov. Aggregation   VEDO            4001120812601713            Gas           Gov. Aggregation
COH             198615380010                Gas           Gov. Aggregation   VEDO            4017516742554060            Gas           Gov. Aggregation
COH             198844660016                Gas           Gov. Aggregation   VEDO            4019048852173888            Gas           Gov. Aggregation
COH             188432990012                Gas           Gov. Aggregation   VEDO            4001121682562902            Gas           Gov. Aggregation
COH             195165460020                Gas           Gov. Aggregation   VEDO            4003549022534000            Gas           Gov. Aggregation
COH             201522270014                Gas           Gov. Aggregation   VEDO            4018819022569843            Gas           Gov. Aggregation
COH             193954670016                Gas           Gov. Aggregation   VEDO            4018929052538415            Gas           Gov. Aggregation
COH             164514680011                Gas           Gov. Aggregation   VEDO            4020042292492735            Gas           Gov. Aggregation
COH             191380050015                Gas           Gov. Aggregation   VEDO            4020038772349215            Gas           Gov. Aggregation
COH             173805010013                Gas           Gov. Aggregation   VEDO            4020052522182269            Gas           Gov. Aggregation
COH             166519380012                Gas           Gov. Aggregation   VEDO            4019383692180043            Gas           Gov. Aggregation
COH             110454210020                Gas           Gov. Aggregation   VEDO            4019385412170305            Gas           Gov. Aggregation
COH             150497690013                Gas           Gov. Aggregation   VEDO            4018778622280431            Gas           Gov. Aggregation
COH             201401430016                Gas           Gov. Aggregation   VEDO            4019867882385639            Gas           Gov. Aggregation
COH             116538320014                Gas           Gov. Aggregation   VEDO            4019376652415425            Gas           Gov. Aggregation
COH             196822520013                Gas           Gov. Aggregation   VEDO            4020087552408529            Gas           Gov. Aggregation
COH             201899070019                Gas           Gov. Aggregation   VEDO            4020077472373884            Gas           Gov. Aggregation
COH             199824930010                Gas           Gov. Aggregation   VEDO            4019939932308147            Gas           Gov. Aggregation
COH             193036960039                Gas           Gov. Aggregation   VEDO            4019993762196841            Gas           Gov. Aggregation
COH             193249940014                Gas           Gov. Aggregation   VEDO            4003343002483581            Gas           Gov. Aggregation
COH             195975660012                Gas           Gov. Aggregation   VEDO            4018240572436074            Gas           Gov. Aggregation
COH             198079490015                Gas           Gov. Aggregation   VEDO            4020272762237400            Gas           Gov. Aggregation
COH             138098170023                Gas           Gov. Aggregation   VEDO            4002869652129340            Gas           Gov. Aggregation
DEO             2180005357293               Gas           Gov. Aggregation   VEDO            4002860672263011            Gas           Gov. Aggregation
DEO             6420506000049               Gas           Gov. Aggregation   VEDO            4015811892516831            Gas           Gov. Aggregation
DEO             7500019089638               Gas           Gov. Aggregation   VEDO            4017224922324558            Gas           Gov. Aggregation
DEO             5500010688440               Gas           Gov. Aggregation   VEDO            4001109712514900            Gas           Gov. Aggregation
DEO             4120000179842               Gas           Gov. Aggregation   VEDO            4001717362299977            Gas           Gov. Aggregation
DEO             9500040295928               Gas           Gov. Aggregation   VEDO            4018140162392145            Gas           Gov. Aggregation
DEO             1420901424877               Gas           Gov. Aggregation   VEDO            4020121152539578            Gas           Gov. Aggregation
DEO             9421000935289               Gas           Gov. Aggregation   VEDO            4020279212558579            Gas           Gov. Aggregation
DEO             6140000038990               Gas           Gov. Aggregation   VEDO            4017496342638661            Gas           Gov. Aggregation
DEO             8500053737956               Gas           Gov. Aggregation   VEDO            4018995022643813            Gas           Gov. Aggregation
DEO             8421006076334               Gas           Gov. Aggregation   VEDO            4001167012513866            Gas           Gov. Aggregation
DEO             0421005445477               Gas           Gov. Aggregation   VEDO            4001687602175086            Gas           Gov. Aggregation
DEO             0120000193628               Gas           Gov. Aggregation   VEDO            4019476872227831            Gas           Gov. Aggregation
DEO             6420904211614               Gas           Gov. Aggregation   VEDO            4020035132353436            Gas           Gov. Aggregation
DEO             4180001500126               Gas           Gov. Aggregation   VEDO            4020089352457677            Gas           Gov. Aggregation
DEO             7180002202903               Gas           Gov. Aggregation   VEDO            4002874502436842            Gas           Gov. Aggregation
DEO             3180003994567               Gas           Gov. Aggregation   VEDO            4002701142340041            Gas           Gov. Aggregation
DEO             5180004586406               Gas           Gov. Aggregation   VEDO            4019190482436541            Gas           Gov. Aggregation
DEO             2500065708766               Gas           Gov. Aggregation   VEDO            4019180172353197            Gas           Gov. Aggregation
DEO             1180002383902               Gas           Gov. Aggregation   VEDO            4017129252347481            Gas           Gov. Aggregation
DEO             4180003333271               Gas           Gov. Aggregation   VEDO            4017186032517728            Gas           Gov. Aggregation
DEO             6180002516429               Gas           Gov. Aggregation   VEDO            4016249452193916            Gas           Gov. Aggregation
DEO             8180000368478               Gas           Gov. Aggregation   VEDO            4003425512150430            Gas           Gov. Aggregation
DEO             4180003549686               Gas           Gov. Aggregation   VEDO            4017379202464220            Gas           Gov. Aggregation
DEO             6500062463731               Gas           Gov. Aggregation   VEDO            4018946862521767            Gas           Gov. Aggregation
DEO             5500067551859               Gas           Gov. Aggregation   VEDO            4019836712357493            Gas           Gov. Aggregation
DEO             5500051687958               Gas           Gov. Aggregation   VEDO            4019878702602897            Gas           Gov. Aggregation
DEO             4180001719646               Gas           Gov. Aggregation   VEDO            4017265942121248            Gas           Gov. Aggregation
DEO             4180003692505               Gas           Gov. Aggregation   VEDO            4016149552424480            Gas           Gov. Aggregation
DEO             0180001711452               Gas           Gov. Aggregation   VEDO            4015231942125800            Gas           Gov. Aggregation
DEO             6180002471999               Gas           Gov. Aggregation   VEDO            4004040732482785            Gas           Gov. Aggregation
DEO             8180003381388               Gas           Gov. Aggregation   VEDO            4015762482407823            Gas           Gov. Aggregation
DEO             7180003367792               Gas           Gov. Aggregation   VEDO            4001911772214962            Gas           Gov. Aggregation
DEO             0180003126237               Gas           Gov. Aggregation   VEDO            4020013122390181            Gas           Gov. Aggregation
DEO             2180003286947               Gas           Gov. Aggregation   VEDO            4019110042487199            Gas           Gov. Aggregation
DEO             5180004233228               Gas           Gov. Aggregation   VEDO            4019813282206268            Gas           Gov. Aggregation
DEO             5500067468970               Gas           Gov. Aggregation   VEDO            4020264972500500            Gas           Gov. Aggregation
DEO             8180002719867               Gas           Gov. Aggregation   VEDO            4020265222383821            Gas           Gov. Aggregation
DEO             6180004190084               Gas           Gov. Aggregation   VEDO            4020278732114317            Gas           Gov. Aggregation
DEO             6421104760291               Gas           Gov. Aggregation   VEDO            4020269662460840            Gas           Gov. Aggregation
DEO             7500064250526               Gas           Gov. Aggregation   VEDO            4020139452104679            Gas           Gov. Aggregation
DEO             1180002133316               Gas           Gov. Aggregation   VEDO            4020198412503086            Gas           Gov. Aggregation
DEO             7180003168798               Gas           Gov. Aggregation   VEDO            4019958692491118            Gas           Gov. Aggregation
DEO             4180001681310               Gas           Gov. Aggregation   VEDO            4020088902315320            Gas           Gov. Aggregation
DEO             7180004649580               Gas           Gov. Aggregation   VEDO            4018677492335972            Gas           Gov. Aggregation
DEO             2500063746336               Gas           Gov. Aggregation   VEDO            4020065582306001            Gas           Gov. Aggregation
DEO             6500035947944               Gas           Gov. Aggregation   VEDO            4019912672100998            Gas           Gov. Aggregation
DEO             3180004695453               Gas           Gov. Aggregation   VEDO            4019195832140244            Gas           Gov. Aggregation
DEO             6180000535173               Gas           Gov. Aggregation   VEDO            4018498252338260            Gas           Gov. Aggregation
DEO             3180002726171               Gas           Gov. Aggregation   VEDO            4018163812296485            Gas           Gov. Aggregation
DEO             2180002557165               Gas           Gov. Aggregation   VEDO            4018163812306241            Gas           Gov. Aggregation
DEO             6180004355531               Gas           Gov. Aggregation   COH             200043300014                Gas           Gov. Aggregation
DEO             9180004301948               Gas           Gov. Aggregation   COH             175498670025                Gas           Gov. Aggregation
DEO             1180004767621               Gas           Gov. Aggregation   COH             186784290034                Gas           Gov. Aggregation
DEO             3180003127476               Gas           Gov. Aggregation   COH             203930190014                Gas           Gov. Aggregation
DEO             0180003100956               Gas           Gov. Aggregation   COH             201217380018                Gas           Gov. Aggregation
DEO             2180003804971               Gas           Gov. Aggregation   COH             204173930013                Gas           Gov. Aggregation
DEO             2180004013540               Gas           Gov. Aggregation   COH             196374630020                Gas           Gov. Aggregation
DEO             0180004301713               Gas           Gov. Aggregation   COH             204136390015                Gas           Gov. Aggregation
DEO             2180004706730               Gas           Gov. Aggregation   COH             202993710013                Gas           Gov. Aggregation
DEO             9180003350946               Gas           Gov. Aggregation   COH             203211320010                Gas           Gov. Aggregation
DEO             6180002162644               Gas           Gov. Aggregation   COH             203460420012                Gas           Gov. Aggregation
DEO             4180001946884               Gas           Gov. Aggregation   COH             203099420019                Gas           Gov. Aggregation
DEO             4180004307890               Gas           Gov. Aggregation   COH             202276970019                Gas           Gov. Aggregation
DEO             9180003433205               Gas           Gov. Aggregation   COH             202876220014                Gas           Gov. Aggregation
DEO             9180004383052               Gas           Gov. Aggregation   COH             202604920012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             2180004714299               Gas           Gov. Aggregation   COH             201423090012                Gas           Gov. Aggregation
DEO             2180004428822               Gas           Gov. Aggregation   COH             194150590016                Gas           Gov. Aggregation
DEO             7180002448528               Gas           Gov. Aggregation   COH             200138460010                Gas           Gov. Aggregation
DEO             6180000954102               Gas           Gov. Aggregation   COH             200210780019                Gas           Gov. Aggregation
DEO             8180001784577               Gas           Gov. Aggregation   COH             201034840019                Gas           Gov. Aggregation
DEO             7180004295127               Gas           Gov. Aggregation   COH             200758500017                Gas           Gov. Aggregation
DEO             9180004571045               Gas           Gov. Aggregation   COH             187139860021                Gas           Gov. Aggregation
DEO             8180001614426               Gas           Gov. Aggregation   COH             203982150013                Gas           Gov. Aggregation
DEO             8500033928943               Gas           Gov. Aggregation   COH             203882550011                Gas           Gov. Aggregation
DEO             3180001265989               Gas           Gov. Aggregation   COH             203779030019                Gas           Gov. Aggregation
DEO             8180002931736               Gas           Gov. Aggregation   COH             203842100019                Gas           Gov. Aggregation
DEO             9180002517508               Gas           Gov. Aggregation   COH             204107330018                Gas           Gov. Aggregation
DEO             4180001726268               Gas           Gov. Aggregation   COH             204112900017                Gas           Gov. Aggregation
DEO             5180003699221               Gas           Gov. Aggregation   COH             197874080025                Gas           Gov. Aggregation
DEO             1180001832335               Gas           Gov. Aggregation   COH             197815420027                Gas           Gov. Aggregation
DEO             3180001612044               Gas           Gov. Aggregation   COH             202869450011                Gas           Gov. Aggregation
DEO             0180001474600               Gas           Gov. Aggregation   COH             202638630012                Gas           Gov. Aggregation
DEO             4180004548422               Gas           Gov. Aggregation   COH             202638100013                Gas           Gov. Aggregation
DEO             5180001642250               Gas           Gov. Aggregation   COH             202788160014                Gas           Gov. Aggregation
DEO             9180003958007               Gas           Gov. Aggregation   COH             202816430016                Gas           Gov. Aggregation
DEO             4180001889891               Gas           Gov. Aggregation   COH             147056440041                Gas           Gov. Aggregation
DEO             3180002557325               Gas           Gov. Aggregation   COH             204052550019                Gas           Gov. Aggregation
DEO             8180004395830               Gas           Gov. Aggregation   COH             189609020028                Gas           Gov. Aggregation
DEO             4180002799344               Gas           Gov. Aggregation   COH             196455640026                Gas           Gov. Aggregation
DEO             6500025854378               Gas           Gov. Aggregation   COH             171112990019                Gas           Gov. Aggregation
DEO             8180004346633               Gas           Gov. Aggregation   COH             139312040023                Gas           Gov. Aggregation
DEO             5180004408370               Gas           Gov. Aggregation   COH             118133160023                Gas           Gov. Aggregation
DEO             3180002814123               Gas           Gov. Aggregation   COH             202401180018                Gas           Gov. Aggregation
DEO             3180004128221               Gas           Gov. Aggregation   COH             193339900020                Gas           Gov. Aggregation
DEO             0180004703342               Gas           Gov. Aggregation   COH             174837080020                Gas           Gov. Aggregation
DEO             5180004553195               Gas           Gov. Aggregation   COH             185385660033                Gas           Gov. Aggregation
DEO             5421004883102               Gas           Gov. Aggregation   COH             204107320010                Gas           Gov. Aggregation
DEO             3180003034657               Gas           Gov. Aggregation   COH             201644630010                Gas           Gov. Aggregation
DEO             0180003504504               Gas           Gov. Aggregation   COH             155538170037                Gas           Gov. Aggregation
DEO             5180001479958               Gas           Gov. Aggregation   COH             203882530015                Gas           Gov. Aggregation
DEO             6180003563183               Gas           Gov. Aggregation   COH             174980140024                Gas           Gov. Aggregation
DEO             8180002410897               Gas           Gov. Aggregation   COH             195839050027                Gas           Gov. Aggregation
DEO             5180004323654               Gas           Gov. Aggregation   COH             114953210037                Gas           Gov. Aggregation
DEO             9180003081388               Gas           Gov. Aggregation   COH             173914140015                Gas           Gov. Aggregation
DEO             0180001648337               Gas           Gov. Aggregation   COH             202321270019                Gas           Gov. Aggregation
DEO             7180002597382               Gas           Gov. Aggregation   COH             190648080021                Gas           Gov. Aggregation
DEO             9180004500479               Gas           Gov. Aggregation   COH             203097260017                Gas           Gov. Aggregation
DEO             7180004230409               Gas           Gov. Aggregation   COH             174188930046                Gas           Gov. Aggregation
DEO             9180002732924               Gas           Gov. Aggregation   COH             193027490028                Gas           Gov. Aggregation
DEO             5180004627993               Gas           Gov. Aggregation   COH             153619210038                Gas           Gov. Aggregation
DEO             5180002908495               Gas           Gov. Aggregation   COH             187871690034                Gas           Gov. Aggregation
DEO             0180001860455               Gas           Gov. Aggregation   COH             202902050013                Gas           Gov. Aggregation
DEO             3180003577280               Gas           Gov. Aggregation   COH             198223230021                Gas           Gov. Aggregation
DEO             7180000100474               Gas           Gov. Aggregation   COH             203678540016                Gas           Gov. Aggregation
DEO             3180002461602               Gas           Gov. Aggregation   COH             203505430014                Gas           Gov. Aggregation
DEO             4180004257419               Gas           Gov. Aggregation   COH             203079870268                Gas           Gov. Aggregation
DEO             8180004768280               Gas           Gov. Aggregation   COH             203087460016                Gas           Gov. Aggregation
DEO             2500064934829               Gas           Gov. Aggregation   COH             203687960019                Gas           Gov. Aggregation
DEO             7180002011078               Gas           Gov. Aggregation   COH             172450170023                Gas           Gov. Aggregation
DEO             2500066393265               Gas           Gov. Aggregation   COH             152017490028                Gas           Gov. Aggregation
DEO             0180004381349               Gas           Gov. Aggregation   COH             191201730038                Gas           Gov. Aggregation
DEO             1180002959253               Gas           Gov. Aggregation   COH             203737710014                Gas           Gov. Aggregation
DEO             8180003125736               Gas           Gov. Aggregation   COH             192131298979                Gas           Gov. Aggregation
DEO             1180003771858               Gas           Gov. Aggregation   COH             202832830018                Gas           Gov. Aggregation
DEO             1180002413003               Gas           Gov. Aggregation   COH             202376010018                Gas           Gov. Aggregation
DEO             1500063945044               Gas           Gov. Aggregation   COH             188291270031                Gas           Gov. Aggregation
DEO             6180004560525               Gas           Gov. Aggregation   COH             145462870024                Gas           Gov. Aggregation
DEO             8180004523648               Gas           Gov. Aggregation   COH             155876200052                Gas           Gov. Aggregation
DEO             4180002391744               Gas           Gov. Aggregation   COH             174205330026                Gas           Gov. Aggregation
DEO             2180003935401               Gas           Gov. Aggregation   COH             119286030026                Gas           Gov. Aggregation
DEO             6180001618815               Gas           Gov. Aggregation   COH             203878210011                Gas           Gov. Aggregation
DEO             1500051113483               Gas           Gov. Aggregation   COH             202899490010                Gas           Gov. Aggregation
DEO             6180003885313               Gas           Gov. Aggregation   COH             202879330015                Gas           Gov. Aggregation
DEO             8180003668936               Gas           Gov. Aggregation   COH             147469400044                Gas           Gov. Aggregation
DEO             0180002966297               Gas           Gov. Aggregation   COH             143056290029                Gas           Gov. Aggregation
DEO             8180003685726               Gas           Gov. Aggregation   COH             202372980013                Gas           Gov. Aggregation
DEO             0180003083942               Gas           Gov. Aggregation   COH             202638600018                Gas           Gov. Aggregation
DEO             1180003729860               Gas           Gov. Aggregation   COH             202703950016                Gas           Gov. Aggregation
DEO             6500025556227               Gas           Gov. Aggregation   COH             203882450012                Gas           Gov. Aggregation
DEO             3180002673098               Gas           Gov. Aggregation   COH             118058250024                Gas           Gov. Aggregation
DEO             3180004216972               Gas           Gov. Aggregation   COH             185506960014                Gas           Gov. Aggregation
DEO             4180002351939               Gas           Gov. Aggregation   COH             164441820034                Gas           Gov. Aggregation
DEO             1180003099110               Gas           Gov. Aggregation   COH             161803010039                Gas           Gov. Aggregation
DEO             3180003067447               Gas           Gov. Aggregation   COH             163083860037                Gas           Gov. Aggregation
DEO             9180003661888               Gas           Gov. Aggregation   COH             202535810012                Gas           Gov. Aggregation
DEO             9500051905594               Gas           Gov. Aggregation   COH             198739350023                Gas           Gov. Aggregation
DEO             6500047581480               Gas           Gov. Aggregation   COH             203943670016                Gas           Gov. Aggregation
DEO             6180002247069               Gas           Gov. Aggregation   COH             197517220021                Gas           Gov. Aggregation
DEO             5180003702724               Gas           Gov. Aggregation   COH             203367380019                Gas           Gov. Aggregation
DEO             8500025226154               Gas           Gov. Aggregation   COH             204165630013                Gas           Gov. Aggregation
DEO             1180002330902               Gas           Gov. Aggregation   COH             118228100033                Gas           Gov. Aggregation
DEO             2180003227731               Gas           Gov. Aggregation   COH             193019020023                Gas           Gov. Aggregation
DEO             1180003243922               Gas           Gov. Aggregation   COH             186751810033                Gas           Gov. Aggregation
DEO             3180003414948               Gas           Gov. Aggregation   COH             202610060010                Gas           Gov. Aggregation
DEO             0180004624763               Gas           Gov. Aggregation   COH             203008610010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             9180002431870               Gas           Gov. Aggregation   COH             201386440018                Gas           Gov. Aggregation
DEO             3180002447492               Gas           Gov. Aggregation   COH             150369810027                Gas           Gov. Aggregation
DEO             4180002339696               Gas           Gov. Aggregation   COH             154142810050                Gas           Gov. Aggregation
DEO             3180004061961               Gas           Gov. Aggregation   COH             202680810015                Gas           Gov. Aggregation
DEO             6180001823917               Gas           Gov. Aggregation   COH             155006410051                Gas           Gov. Aggregation
DEO             7180002083731               Gas           Gov. Aggregation   COH             151757340031                Gas           Gov. Aggregation
DEO             2180002420705               Gas           Gov. Aggregation   COH             185413880027                Gas           Gov. Aggregation
DEO             9180004396585               Gas           Gov. Aggregation   COH             187490910035                Gas           Gov. Aggregation
DEO             1180004027262               Gas           Gov. Aggregation   COH             203252360016                Gas           Gov. Aggregation
DEO             0500062370873               Gas           Gov. Aggregation   COH             155520210062                Gas           Gov. Aggregation
COH             169979190015                Gas           Gov. Aggregation   COH             152167800034                Gas           Gov. Aggregation
COH             200794330017                Gas           Gov. Aggregation   COH             200043040028                Gas           Gov. Aggregation
COH             199831350017                Gas           Gov. Aggregation   COH             203000470016                Gas           Gov. Aggregation
COH             201827090016                Gas           Gov. Aggregation   COH             118910290028                Gas           Gov. Aggregation
COH             198025950011                Gas           Gov. Aggregation   COH             203751100012                Gas           Gov. Aggregation
DEO             6180004268370               Gas           Gov. Aggregation   COH             203739050019                Gas           Gov. Aggregation
DEO             4180003929943               Gas           Gov. Aggregation   COH             204096150011                Gas           Gov. Aggregation
DEO             6421000153508               Gas           Gov. Aggregation   COH             204152700015                Gas           Gov. Aggregation
DEO             8500064602542               Gas           Gov. Aggregation   COH             202638570015                Gas           Gov. Aggregation
DEO             8500064602561               Gas           Gov. Aggregation   COH             189596020036                Gas           Gov. Aggregation
DEO             8500064602434               Gas           Gov. Aggregation   COH             203560820016                Gas           Gov. Aggregation
DEO             8180004214913               Gas           Gov. Aggregation   COH             202863140018                Gas           Gov. Aggregation
DEO             6180004297333               Gas           Gov. Aggregation   COH             202876990013                Gas           Gov. Aggregation
DEO             1180002724442               Gas           Gov. Aggregation   COH             202675950017                Gas           Gov. Aggregation
DEO             1500063123906               Gas           Gov. Aggregation   COH             199488680026                Gas           Gov. Aggregation
DEO             1500064573568               Gas           Gov. Aggregation   COH             203489030014                Gas           Gov. Aggregation
DEO             1180001684960               Gas           Gov. Aggregation   COH             202854060014                Gas           Gov. Aggregation
DEO             5500064595456               Gas           Gov. Aggregation   COH             202854070012                Gas           Gov. Aggregation
DEO             5500064595578               Gas           Gov. Aggregation   COH             201883980011                Gas           Gov. Aggregation
DEO             5500064595826               Gas           Gov. Aggregation   COH             203934940018                Gas           Gov. Aggregation
COH             196905510064                Gas           Gov. Aggregation   COH             203883050014                Gas           Gov. Aggregation
COH             136844010025                Gas           Gov. Aggregation   COH             168152950045                Gas           Gov. Aggregation
COH             110880360026                Gas           Gov. Aggregation   COH             202525930018                Gas           Gov. Aggregation
COH             110880710013                Gas           Gov. Aggregation   COH             203107490016                Gas           Gov. Aggregation
COH             199490970011                Gas           Gov. Aggregation   COH             204025220015                Gas           Gov. Aggregation
COH             195436280023                Gas           Gov. Aggregation   COH             203811960014                Gas           Gov. Aggregation
COH             110881120024                Gas           Gov. Aggregation   COH             122969470049                Gas           Gov. Aggregation
COH             197235290016                Gas           Gov. Aggregation   COH             203283080010                Gas           Gov. Aggregation
COH             200152430016                Gas           Gov. Aggregation   COH             122901740035                Gas           Gov. Aggregation
COH             199379890014                Gas           Gov. Aggregation   COH             202951560013                Gas           Gov. Aggregation
COH             190071070017                Gas           Gov. Aggregation   COH             203504280018                Gas           Gov. Aggregation
COH             186880600025                Gas           Gov. Aggregation   COH             202984900012                Gas           Gov. Aggregation
COH             133148430035                Gas           Gov. Aggregation   COH             202672590019                Gas           Gov. Aggregation
COH             193940120010                Gas           Gov. Aggregation   COH             203521990013                Gas           Gov. Aggregation
COH             196110980016                Gas           Gov. Aggregation   COH             159389730041                Gas           Gov. Aggregation
COH             110882260014                Gas           Gov. Aggregation   COH             202376340028                Gas           Gov. Aggregation
DEO             5421006729173               Gas           Gov. Aggregation   COH             154460460078                Gas           Gov. Aggregation
DEO             1500021424100               Gas           Gov. Aggregation   COH             146884610032                Gas           Gov. Aggregation
DEO             7421005406014               Gas           Gov. Aggregation   COH             202733540019                Gas           Gov. Aggregation
COH             167327160032                Gas           Gov. Aggregation   COH             202452820016                Gas           Gov. Aggregation
COH             123588030011                Gas           Gov. Aggregation   COH             137027040075                Gas           Gov. Aggregation
COH             145096670014                Gas           Gov. Aggregation   COH             176822800054                Gas           Gov. Aggregation
COH             196872400022                Gas           Gov. Aggregation   COH             165112120037                Gas           Gov. Aggregation
DEO             8180005093433               Gas           Gov. Aggregation   COH             202961450015                Gas           Gov. Aggregation
COH             196175090026                Gas           Gov. Aggregation   COH             125715010030                Gas           Gov. Aggregation
COH             165937190026                Gas           Gov. Aggregation   COH             201884250021                Gas           Gov. Aggregation
COH             124230090024                Gas           Gov. Aggregation   COH             144860030036                Gas           Gov. Aggregation
COH             141108720010                Gas           Gov. Aggregation   COH             196009140035                Gas           Gov. Aggregation
COH             136429720017                Gas           Gov. Aggregation   COH             198749850036                Gas           Gov. Aggregation
COH             122416860011                Gas           Gov. Aggregation   COH             202924150016                Gas           Gov. Aggregation
COH             122379910010                Gas           Gov. Aggregation   COH             203906610016                Gas           Gov. Aggregation
COH             160636490017                Gas           Gov. Aggregation   COH             139730390024                Gas           Gov. Aggregation
COH             146256510016                Gas           Gov. Aggregation   COH             203941730017                Gas           Gov. Aggregation
COH             122343450012                Gas           Gov. Aggregation   COH             185489240031                Gas           Gov. Aggregation
COH             152244800030                Gas           Gov. Aggregation   COH             203426130015                Gas           Gov. Aggregation
COH             122338970023                Gas           Gov. Aggregation   COH             138127050025                Gas           Gov. Aggregation
COH             122481050032                Gas           Gov. Aggregation   COH             202514270010                Gas           Gov. Aggregation
COH             122506430065                Gas           Gov. Aggregation   COH             203726920013                Gas           Gov. Aggregation
COH             145352990031                Gas           Gov. Aggregation   COH             122674750018                Gas           Gov. Aggregation
COH             140071470013                Gas           Gov. Aggregation   COH             196730290035                Gas           Gov. Aggregation
COH             162470780016                Gas           Gov. Aggregation   COH             201323450018                Gas           Gov. Aggregation
COH             122409320019                Gas           Gov. Aggregation   COH             188688680034                Gas           Gov. Aggregation
COH             122480960033                Gas           Gov. Aggregation   COH             202801030011                Gas           Gov. Aggregation
COH             106376910025                Gas           Gov. Aggregation   COH             202676910013                Gas           Gov. Aggregation
COH             113811510026                Gas           Gov. Aggregation   COH             203009430016                Gas           Gov. Aggregation
COH             122374210062                Gas           Gov. Aggregation   COH             191747610028                Gas           Gov. Aggregation
COH             122407140020                Gas           Gov. Aggregation   COH             177071850029                Gas           Gov. Aggregation
COH             122414270037                Gas           Gov. Aggregation   COH             203071430015                Gas           Gov. Aggregation
COH             122415480040                Gas           Gov. Aggregation   COH             202513710019                Gas           Gov. Aggregation
COH             122437720043                Gas           Gov. Aggregation   COH             203669830014                Gas           Gov. Aggregation
COH             122470520036                Gas           Gov. Aggregation   COH             203744830014                Gas           Gov. Aggregation
COH             122476090080                Gas           Gov. Aggregation   COH             203722160011                Gas           Gov. Aggregation
COH             122476260066                Gas           Gov. Aggregation   COH             202751920011                Gas           Gov. Aggregation
COH             122476910014                Gas           Gov. Aggregation   COH             124748980324                Gas           Gov. Aggregation
COH             127298092321                Gas           Gov. Aggregation   COH             204115500015                Gas           Gov. Aggregation
COH             135004580054                Gas           Gov. Aggregation   COH             194593070044                Gas           Gov. Aggregation
COH             135061060080                Gas           Gov. Aggregation   COH             203094660019                Gas           Gov. Aggregation
COH             135350710026                Gas           Gov. Aggregation   COH             188344160022                Gas           Gov. Aggregation
COH             135913490038                Gas           Gov. Aggregation   COH             193205460026                Gas           Gov. Aggregation
COH             140349400018                Gas           Gov. Aggregation   COH             202879530013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             140634600039                Gas           Gov. Aggregation   COH             203229380011                Gas           Gov. Aggregation
COH             140644010023                Gas           Gov. Aggregation   COH             203033360010                Gas           Gov. Aggregation
COH             141379550013                Gas           Gov. Aggregation   COH             203759200015                Gas           Gov. Aggregation
COH             144256200031                Gas           Gov. Aggregation   COH             203838300016                Gas           Gov. Aggregation
COH             144732430097                Gas           Gov. Aggregation   COH             203697480019                Gas           Gov. Aggregation
COH             149357000016                Gas           Gov. Aggregation   COH             202912590019                Gas           Gov. Aggregation
COH             149409180054                Gas           Gov. Aggregation   COH             202624220017                Gas           Gov. Aggregation
COH             149820360045                Gas           Gov. Aggregation   COH             203895280011                Gas           Gov. Aggregation
COH             150090040039                Gas           Gov. Aggregation   COH             161519780022                Gas           Gov. Aggregation
COH             152036530038                Gas           Gov. Aggregation   COH             189593430045                Gas           Gov. Aggregation
COH             152109840047                Gas           Gov. Aggregation   COH             163490550039                Gas           Gov. Aggregation
COH             153285110127                Gas           Gov. Aggregation   COH             202299970011                Gas           Gov. Aggregation
COH             154547480061                Gas           Gov. Aggregation   COH             154932780016                Gas           Gov. Aggregation
COH             154937350132                Gas           Gov. Aggregation   COH             198040530026                Gas           Gov. Aggregation
COH             157213440027                Gas           Gov. Aggregation   COH             166021990037                Gas           Gov. Aggregation
COH             158250960038                Gas           Gov. Aggregation   COH             186269450023                Gas           Gov. Aggregation
COH             160618430035                Gas           Gov. Aggregation   COH             191882360025                Gas           Gov. Aggregation
COH             161211070069                Gas           Gov. Aggregation   COH             150026100040                Gas           Gov. Aggregation
COH             161542970032                Gas           Gov. Aggregation   COH             143893960033                Gas           Gov. Aggregation
COH             163018810089                Gas           Gov. Aggregation   COH             146377040037                Gas           Gov. Aggregation
COH             164006050065                Gas           Gov. Aggregation   COH             145244560021                Gas           Gov. Aggregation
COH             164871750065                Gas           Gov. Aggregation   COH             125844430020                Gas           Gov. Aggregation
COH             164924150031                Gas           Gov. Aggregation   COH             125830830025                Gas           Gov. Aggregation
COH             166021240061                Gas           Gov. Aggregation   COH             125865370029                Gas           Gov. Aggregation
COH             168697140023                Gas           Gov. Aggregation   COH             125873700031                Gas           Gov. Aggregation
COH             169840390034                Gas           Gov. Aggregation   COH             124645740037                Gas           Gov. Aggregation
COH             169867460024                Gas           Gov. Aggregation   COH             124645740046                Gas           Gov. Aggregation
COH             169924510085                Gas           Gov. Aggregation   COH             125728820024                Gas           Gov. Aggregation
COH             172510790034                Gas           Gov. Aggregation   COH             124589510026                Gas           Gov. Aggregation
COH             172618930027                Gas           Gov. Aggregation   COH             171426580029                Gas           Gov. Aggregation
COH             173650250021                Gas           Gov. Aggregation   COH             163033230016                Gas           Gov. Aggregation
COH             173714680025                Gas           Gov. Aggregation   COH             137697050029                Gas           Gov. Aggregation
COH             173871930057                Gas           Gov. Aggregation   COH             123778850025                Gas           Gov. Aggregation
COH             175278970037                Gas           Gov. Aggregation   COH             160824470021                Gas           Gov. Aggregation
COH             175836690023                Gas           Gov. Aggregation   COH             186759960027                Gas           Gov. Aggregation
COH             176088190033                Gas           Gov. Aggregation   COH             175305290022                Gas           Gov. Aggregation
COH             177190020021                Gas           Gov. Aggregation   COH             192881610023                Gas           Gov. Aggregation
COH             177473070021                Gas           Gov. Aggregation   COH             201965670012                Gas           Gov. Aggregation
COH             177560590027                Gas           Gov. Aggregation   COH             203417780018                Gas           Gov. Aggregation
COH             185141240046                Gas           Gov. Aggregation   COH             203583620010                Gas           Gov. Aggregation
COH             186142830012                Gas           Gov. Aggregation   COH             203545120015                Gas           Gov. Aggregation
COH             187270850034                Gas           Gov. Aggregation   COH             203209080016                Gas           Gov. Aggregation
COH             187359250032                Gas           Gov. Aggregation   COH             196953260011                Gas           Gov. Aggregation
COH             187414980013                Gas           Gov. Aggregation   COH             198018980010                Gas           Gov. Aggregation
COH             188472070057                Gas           Gov. Aggregation   COH             200546450017                Gas           Gov. Aggregation
COH             188564140048                Gas           Gov. Aggregation   COH             200794680014                Gas           Gov. Aggregation
COH             188621520037                Gas           Gov. Aggregation   COH             201226930013                Gas           Gov. Aggregation
COH             189367940038                Gas           Gov. Aggregation   COH             199282170010                Gas           Gov. Aggregation
COH             189396390042                Gas           Gov. Aggregation   COH             199074390015                Gas           Gov. Aggregation
COH             189431620038                Gas           Gov. Aggregation   COH             202651630014                Gas           Gov. Aggregation
COH             190257000035                Gas           Gov. Aggregation   COH             203325110013                Gas           Gov. Aggregation
COH             190428150031                Gas           Gov. Aggregation   COH             203982530013                Gas           Gov. Aggregation
COH             190683190024                Gas           Gov. Aggregation   COH             111176360028                Gas           Gov. Aggregation
COH             190691350032                Gas           Gov. Aggregation   COH             174264080025                Gas           Gov. Aggregation
COH             191369690024                Gas           Gov. Aggregation   COH             202997650018                Gas           Gov. Aggregation
COH             191458950020                Gas           Gov. Aggregation   COH             203775550018                Gas           Gov. Aggregation
COH             191459030049                Gas           Gov. Aggregation   COH             190589730011                Gas           Gov. Aggregation
COH             191851510073                Gas           Gov. Aggregation   COH             140708150019                Gas           Gov. Aggregation
COH             191882000011                Gas           Gov. Aggregation   COH             203574360014                Gas           Gov. Aggregation
COH             192095000028                Gas           Gov. Aggregation   COH             168076810055                Gas           Gov. Aggregation
COH             192706690036                Gas           Gov. Aggregation   COH             204179150015                Gas           Gov. Aggregation
COH             193719940035                Gas           Gov. Aggregation   COH             202853650012                Gas           Gov. Aggregation
COH             193720090031                Gas           Gov. Aggregation   COH             202853690014                Gas           Gov. Aggregation
COH             193757230098                Gas           Gov. Aggregation   COH             190115180029                Gas           Gov. Aggregation
COH             193804460026                Gas           Gov. Aggregation   COH             203982460018                Gas           Gov. Aggregation
COH             193901400031                Gas           Gov. Aggregation   COH             111190340013                Gas           Gov. Aggregation
COH             194208460038                Gas           Gov. Aggregation   COH             161251540011                Gas           Gov. Aggregation
COH             195021110027                Gas           Gov. Aggregation   COH             154574410040                Gas           Gov. Aggregation
COH             195340050033                Gas           Gov. Aggregation   COH             199842950018                Gas           Gov. Aggregation
COH             195367160025                Gas           Gov. Aggregation   COH             167622580010                Gas           Gov. Aggregation
COH             195994880025                Gas           Gov. Aggregation   COH             198599410028                Gas           Gov. Aggregation
COH             196003670045                Gas           Gov. Aggregation   COH             163781080013                Gas           Gov. Aggregation
COH             196421350028                Gas           Gov. Aggregation   COH             159828350030                Gas           Gov. Aggregation
COH             196489410032                Gas           Gov. Aggregation   COH             143205480013                Gas           Gov. Aggregation
COH             196857560058                Gas           Gov. Aggregation   COH             151667400011                Gas           Gov. Aggregation
COH             196872420037                Gas           Gov. Aggregation   COH             169141820017                Gas           Gov. Aggregation
COH             196895050019                Gas           Gov. Aggregation   COH             111189990074                Gas           Gov. Aggregation
COH             196920960022                Gas           Gov. Aggregation   COH             111190590011                Gas           Gov. Aggregation
COH             196945600034                Gas           Gov. Aggregation   COH             199203190012                Gas           Gov. Aggregation
COH             197265970029                Gas           Gov. Aggregation   COH             134289480027                Gas           Gov. Aggregation
COH             197499490025                Gas           Gov. Aggregation   COH             170738870019                Gas           Gov. Aggregation
COH             197527090037                Gas           Gov. Aggregation   COH             139518450012                Gas           Gov. Aggregation
COH             198039300027                Gas           Gov. Aggregation   COH             195814540017                Gas           Gov. Aggregation
COH             198398980034                Gas           Gov. Aggregation   COH             143361050031                Gas           Gov. Aggregation
COH             198475630033                Gas           Gov. Aggregation   COH             169783530018                Gas           Gov. Aggregation
COH             198620960035                Gas           Gov. Aggregation   COH             193676430025                Gas           Gov. Aggregation
COH             198824080010                Gas           Gov. Aggregation   COH             189503100016                Gas           Gov. Aggregation
COH             198842410030                Gas           Gov. Aggregation   COH             153544960012                Gas           Gov. Aggregation
COH             199054380028                Gas           Gov. Aggregation   COH             166580030016                Gas           Gov. Aggregation
COH             199153410012                Gas           Gov. Aggregation   COH             154376350016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             200220870019                Gas           Gov. Aggregation   COH             199967920010                Gas           Gov. Aggregation
COH             200332910013                Gas           Gov. Aggregation   COH             196179720016                Gas           Gov. Aggregation
COH             200372830016                Gas           Gov. Aggregation   COH             111143680020                Gas           Gov. Aggregation
COH             200438100019                Gas           Gov. Aggregation   COH             198575330016                Gas           Gov. Aggregation
COH             200480610013                Gas           Gov. Aggregation   COH             111191440010                Gas           Gov. Aggregation
COH             200493170019                Gas           Gov. Aggregation   COH             162738830026                Gas           Gov. Aggregation
COH             200506080019                Gas           Gov. Aggregation   COH             111190930019                Gas           Gov. Aggregation
COH             200529150016                Gas           Gov. Aggregation   COH             111170200069                Gas           Gov. Aggregation
COH             200541170016                Gas           Gov. Aggregation   COH             111191280014                Gas           Gov. Aggregation
COH             200541250019                Gas           Gov. Aggregation   COH             199786660019                Gas           Gov. Aggregation
COH             200579460016                Gas           Gov. Aggregation   COH             133428840017                Gas           Gov. Aggregation
COH             200590470010                Gas           Gov. Aggregation   COH             199529410015                Gas           Gov. Aggregation
COH             200592240014                Gas           Gov. Aggregation   COH             111147720014                Gas           Gov. Aggregation
COH             200624080019                Gas           Gov. Aggregation   COH             190644410010                Gas           Gov. Aggregation
COH             200641020015                Gas           Gov. Aggregation   COH             199875400014                Gas           Gov. Aggregation
COH             200641020024                Gas           Gov. Aggregation   COH             199685580010                Gas           Gov. Aggregation
COH             200658590011                Gas           Gov. Aggregation   COH             199786680015                Gas           Gov. Aggregation
COH             200658600018                Gas           Gov. Aggregation   COH             199711990017                Gas           Gov. Aggregation
COH             200658610025                Gas           Gov. Aggregation   COH             190273860013                Gas           Gov. Aggregation
COH             200665830015                Gas           Gov. Aggregation   COH             198116320010                Gas           Gov. Aggregation
COH             200708160014                Gas           Gov. Aggregation   COH             199560500010                Gas           Gov. Aggregation
COH             200723430015                Gas           Gov. Aggregation   COH             155460720018                Gas           Gov. Aggregation
COH             200727850019                Gas           Gov. Aggregation   COH             171955310015                Gas           Gov. Aggregation
COH             200751270029                Gas           Gov. Aggregation   COH             160851660015                Gas           Gov. Aggregation
COH             200764030013                Gas           Gov. Aggregation   COH             185533900019                Gas           Gov. Aggregation
COH             200771620014                Gas           Gov. Aggregation   COH             199825360018                Gas           Gov. Aggregation
COH             200805590018                Gas           Gov. Aggregation   COH             199875410012                Gas           Gov. Aggregation
COH             200814100011                Gas           Gov. Aggregation   COH             144854130010                Gas           Gov. Aggregation
COH             200828620013                Gas           Gov. Aggregation   COH             166464310013                Gas           Gov. Aggregation
COH             200855250014                Gas           Gov. Aggregation   COH             199946350014                Gas           Gov. Aggregation
COH             200873560011                Gas           Gov. Aggregation   COH             153415550011                Gas           Gov. Aggregation
COH             200881470013                Gas           Gov. Aggregation   COH             141176880014                Gas           Gov. Aggregation
COH             200881490019                Gas           Gov. Aggregation   COH             151543700010                Gas           Gov. Aggregation
COH             200883710018                Gas           Gov. Aggregation   COH             134522510015                Gas           Gov. Aggregation
COH             200944940038                Gas           Gov. Aggregation   COH             146921340020                Gas           Gov. Aggregation
COH             200946990016                Gas           Gov. Aggregation   COH             140712880017                Gas           Gov. Aggregation
COH             200958540015                Gas           Gov. Aggregation   COH             164864510015                Gas           Gov. Aggregation
COH             200984080017                Gas           Gov. Aggregation   COH             144300190011                Gas           Gov. Aggregation
COH             200984110010                Gas           Gov. Aggregation   COH             199110980013                Gas           Gov. Aggregation
COH             200988980010                Gas           Gov. Aggregation   COH             175563730014                Gas           Gov. Aggregation
COH             201104380017                Gas           Gov. Aggregation   COH             187088040013                Gas           Gov. Aggregation
COH             201108680025                Gas           Gov. Aggregation   COH             176867380013                Gas           Gov. Aggregation
COH             201134680011                Gas           Gov. Aggregation   COH             200102570012                Gas           Gov. Aggregation
COH             201141530017                Gas           Gov. Aggregation   COH             193569360018                Gas           Gov. Aggregation
COH             201144100011                Gas           Gov. Aggregation   COH             193238250012                Gas           Gov. Aggregation
COH             201224660014                Gas           Gov. Aggregation   COH             145346180016                Gas           Gov. Aggregation
COH             201235660011                Gas           Gov. Aggregation   COH             161449740010                Gas           Gov. Aggregation
COH             201276430013                Gas           Gov. Aggregation   COH             159751570019                Gas           Gov. Aggregation
COH             201297510012                Gas           Gov. Aggregation   COH             111179040029                Gas           Gov. Aggregation
COH             201321800018                Gas           Gov. Aggregation   COH             155951210014                Gas           Gov. Aggregation
COH             201337910012                Gas           Gov. Aggregation   COH             187219830018                Gas           Gov. Aggregation
COH             201366000012                Gas           Gov. Aggregation   COH             197891790011                Gas           Gov. Aggregation
COH             201366020018                Gas           Gov. Aggregation   COH             168410120014                Gas           Gov. Aggregation
COH             201371390010                Gas           Gov. Aggregation   COH             159910190039                Gas           Gov. Aggregation
COH             201376220015                Gas           Gov. Aggregation   COH             199163240017                Gas           Gov. Aggregation
COH             201406400012                Gas           Gov. Aggregation   COH             187525390012                Gas           Gov. Aggregation
COH             201407850016                Gas           Gov. Aggregation   COH             188001550017                Gas           Gov. Aggregation
COH             201410880013                Gas           Gov. Aggregation   COH             199211640010                Gas           Gov. Aggregation
COH             201465340011                Gas           Gov. Aggregation   COH             192385300039                Gas           Gov. Aggregation
COH             201472100016                Gas           Gov. Aggregation   COH             149080210019                Gas           Gov. Aggregation
COH             201523120013                Gas           Gov. Aggregation   COH             165335270016                Gas           Gov. Aggregation
COH             201523260014                Gas           Gov. Aggregation   COH             170964310017                Gas           Gov. Aggregation
COH             201529520017                Gas           Gov. Aggregation   COH             161557220010                Gas           Gov. Aggregation
COH             201532830015                Gas           Gov. Aggregation   COH             140026370028                Gas           Gov. Aggregation
COH             201568900015                Gas           Gov. Aggregation   COH             186334710010                Gas           Gov. Aggregation
COH             201607120015                Gas           Gov. Aggregation   COH             135916730013                Gas           Gov. Aggregation
COH             201617550014                Gas           Gov. Aggregation   COH             111148030017                Gas           Gov. Aggregation
COH             201644820010                Gas           Gov. Aggregation   COH             152554930018                Gas           Gov. Aggregation
COH             201644890016                Gas           Gov. Aggregation   COH             189562490020                Gas           Gov. Aggregation
COH             201664770019                Gas           Gov. Aggregation   COH             167598830010                Gas           Gov. Aggregation
COH             201669720019                Gas           Gov. Aggregation   COH             145487910032                Gas           Gov. Aggregation
COH             201702840012                Gas           Gov. Aggregation   COH             136254830015                Gas           Gov. Aggregation
COH             201702850010                Gas           Gov. Aggregation   COH             161441860011                Gas           Gov. Aggregation
COH             201702890012                Gas           Gov. Aggregation   COH             148660430014                Gas           Gov. Aggregation
COH             201706440018                Gas           Gov. Aggregation   COH             111190520015                Gas           Gov. Aggregation
COH             201754250026                Gas           Gov. Aggregation   COH             189226130018                Gas           Gov. Aggregation
COH             201761750017                Gas           Gov. Aggregation   COH             193233640010                Gas           Gov. Aggregation
COH             201793680015                Gas           Gov. Aggregation   COH             111191460016                Gas           Gov. Aggregation
COH             201805200018                Gas           Gov. Aggregation   COH             190219650011                Gas           Gov. Aggregation
COH             201822220018                Gas           Gov. Aggregation   COH             111190170019                Gas           Gov. Aggregation
COH             201822240014                Gas           Gov. Aggregation   COH             169036010010                Gas           Gov. Aggregation
COH             201836690011                Gas           Gov. Aggregation   COH             185288860019                Gas           Gov. Aggregation
COH             201852610013                Gas           Gov. Aggregation   COH             147813020016                Gas           Gov. Aggregation
COH             201870180016                Gas           Gov. Aggregation   COH             186739940014                Gas           Gov. Aggregation
COH             201877810019                Gas           Gov. Aggregation   COH             187661680013                Gas           Gov. Aggregation
COH             201877820017                Gas           Gov. Aggregation   COH             187463220019                Gas           Gov. Aggregation
COH             201902280016                Gas           Gov. Aggregation   COH             131107960014                Gas           Gov. Aggregation
COH             201902290014                Gas           Gov. Aggregation   COH             154295130014                Gas           Gov. Aggregation
COH             201902310019                Gas           Gov. Aggregation   COH             166719950018                Gas           Gov. Aggregation
COH             201902380015                Gas           Gov. Aggregation   COH             130934610015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             201933480019                Gas           Gov. Aggregation   COH             139646740010                Gas           Gov. Aggregation
COH             201933500014                Gas           Gov. Aggregation   COH             111146260022                Gas           Gov. Aggregation
COH             201933530018                Gas           Gov. Aggregation   COH             141977360015                Gas           Gov. Aggregation
COH             201961040012                Gas           Gov. Aggregation   COH             140010830015                Gas           Gov. Aggregation
COH             201961060018                Gas           Gov. Aggregation   COH             173251400016                Gas           Gov. Aggregation
COH             201961110017                Gas           Gov. Aggregation   COH             143076680052                Gas           Gov. Aggregation
COH             201989890016                Gas           Gov. Aggregation   COH             200032400016                Gas           Gov. Aggregation
COH             201991870015                Gas           Gov. Aggregation   COH             172849810014                Gas           Gov. Aggregation
COH             202001860013                Gas           Gov. Aggregation   COH             163525870028                Gas           Gov. Aggregation
COH             202008690015                Gas           Gov. Aggregation   COH             135129500010                Gas           Gov. Aggregation
COH             202008740014                Gas           Gov. Aggregation   COH             161582020019                Gas           Gov. Aggregation
COH             202008810019                Gas           Gov. Aggregation   COH             155949390012                Gas           Gov. Aggregation
COH             202043470017                Gas           Gov. Aggregation   COH             153753050010                Gas           Gov. Aggregation
COH             202043490013                Gas           Gov. Aggregation   COH             111190270018                Gas           Gov. Aggregation
COH             202051270012                Gas           Gov. Aggregation   COH             199967860013                Gas           Gov. Aggregation
COH             202079560013                Gas           Gov. Aggregation   COH             127262030017                Gas           Gov. Aggregation
COH             202131120013                Gas           Gov. Aggregation   COH             198739440015                Gas           Gov. Aggregation
COH             202137750019                Gas           Gov. Aggregation   COH             199498820016                Gas           Gov. Aggregation
COH             202140220013                Gas           Gov. Aggregation   COH             140900940015                Gas           Gov. Aggregation
COH             202175340015                Gas           Gov. Aggregation   COH             143076680043                Gas           Gov. Aggregation
COH             202197910019                Gas           Gov. Aggregation   COH             159112110019                Gas           Gov. Aggregation
COH             202208210011                Gas           Gov. Aggregation   COH             150128850038                Gas           Gov. Aggregation
COH             202209510016                Gas           Gov. Aggregation   COH             187226670017                Gas           Gov. Aggregation
COH             202219380013                Gas           Gov. Aggregation   COH             141161540016                Gas           Gov. Aggregation
COH             202249250017                Gas           Gov. Aggregation   COH             188577790018                Gas           Gov. Aggregation
COH             202249270013                Gas           Gov. Aggregation   COH             140902610010                Gas           Gov. Aggregation
COH             202249280011                Gas           Gov. Aggregation   COH             111189940010                Gas           Gov. Aggregation
COH             202249300016                Gas           Gov. Aggregation   COH             150634820013                Gas           Gov. Aggregation
COH             202277040012                Gas           Gov. Aggregation   COH             200114950017                Gas           Gov. Aggregation
COH             202288150016                Gas           Gov. Aggregation   COH             155031310013                Gas           Gov. Aggregation
COH             202290230014                Gas           Gov. Aggregation   COH             165568860019                Gas           Gov. Aggregation
COH             202336150013                Gas           Gov. Aggregation   COH             189817850014                Gas           Gov. Aggregation
COH             122379330021                Gas           Gov. Aggregation   COH             157646650017                Gas           Gov. Aggregation
VEDO            4001347092132528            Gas           Gov. Aggregation   COH             138524110011                Gas           Gov. Aggregation
COH             122352470037                Gas           Gov. Aggregation   COH             193469930029                Gas           Gov. Aggregation
DEO             8180002152744               Gas           Gov. Aggregation   COH             149914710015                Gas           Gov. Aggregation
COH             193604580016                Gas           Gov. Aggregation   COH             139428860026                Gas           Gov. Aggregation
DEO             4500028761114               Gas           Gov. Aggregation   COH             158566830018                Gas           Gov. Aggregation
COH             123993800010                Gas           Gov. Aggregation   COH             163638020018                Gas           Gov. Aggregation
DEO             3180004985125               Gas           Gov. Aggregation   COH             187211900019                Gas           Gov. Aggregation
COH             168618100036                Gas           Gov. Aggregation   COH             136804630029                Gas           Gov. Aggregation
COH             198235020020                Gas           Gov. Aggregation   COH             153119270018                Gas           Gov. Aggregation
DEO             4180005226773               Gas           Gov. Aggregation   COH             161931600034                Gas           Gov. Aggregation
VEDO            4004485682453752            Gas           Gov. Aggregation   COH             198009120028                Gas           Gov. Aggregation
COH             203070190018                Gas           Gov. Aggregation   COH             199752460012                Gas           Gov. Aggregation
COH             202912090014                Gas           Gov. Aggregation   COH             148660430023                Gas           Gov. Aggregation
COH             177533610029                Gas           Gov. Aggregation   COH             199901450017                Gas           Gov. Aggregation
DEO             6180005355040               Gas           Gov. Aggregation   COH             186561320039                Gas           Gov. Aggregation
DEO             7180005195681               Gas           Gov. Aggregation   COH             150788970017                Gas           Gov. Aggregation
COH             123917320011                Gas           Gov. Aggregation   COH             155184240015                Gas           Gov. Aggregation
COH             158015610011                Gas           Gov. Aggregation   COH             161989190012                Gas           Gov. Aggregation
COH             202972290016                Gas           Gov. Aggregation   COH             171752830016                Gas           Gov. Aggregation
COH             156725020012                Gas           Gov. Aggregation   COH             111190050014                Gas           Gov. Aggregation
VEDO            4016564342175861            Gas           Gov. Aggregation   COH             194525710015                Gas           Gov. Aggregation
COH             140317400024                Gas           Gov. Aggregation   COH             147716040018                Gas           Gov. Aggregation
COH             168491260015                Gas           Gov. Aggregation   COH             199386670015                Gas           Gov. Aggregation
DEO             2180005511850               Gas           Gov. Aggregation   COH             158372000013                Gas           Gov. Aggregation
COH             111101270015                Gas           Gov. Aggregation   COH             134778030015                Gas           Gov. Aggregation
COH             111101280013                Gas           Gov. Aggregation   COH             111190650018                Gas           Gov. Aggregation
COH             111093610012                Gas           Gov. Aggregation   COH             132321590017                Gas           Gov. Aggregation
COH             137848780052                Gas           Gov. Aggregation   COH             194405160015                Gas           Gov. Aggregation
COH             111034940017                Gas           Gov. Aggregation   COH             201732530014                Gas           Gov. Aggregation
COH             111154390019                Gas           Gov. Aggregation   COH             200268040013                Gas           Gov. Aggregation
COH             111033270029                Gas           Gov. Aggregation   COH             200626790016                Gas           Gov. Aggregation
COH             131330210018                Gas           Gov. Aggregation   COH             200592170019                Gas           Gov. Aggregation
COH             111068040015                Gas           Gov. Aggregation   COH             201240610010                Gas           Gov. Aggregation
COH             111100540010                Gas           Gov. Aggregation   COH             200692870010                Gas           Gov. Aggregation
COH             111092680010                Gas           Gov. Aggregation   COH             200905860019                Gas           Gov. Aggregation
COH             111068550018                Gas           Gov. Aggregation   COH             199498870016                Gas           Gov. Aggregation
COH             111046710010                Gas           Gov. Aggregation   COH             199427810017                Gas           Gov. Aggregation
COH             111079890023                Gas           Gov. Aggregation   COH             111190960013                Gas           Gov. Aggregation
COH             191554870014                Gas           Gov. Aggregation   COH             192589260018                Gas           Gov. Aggregation
COH             111057920022                Gas           Gov. Aggregation   COH             111148080017                Gas           Gov. Aggregation
COH             111059880036                Gas           Gov. Aggregation   COH             111143630020                Gas           Gov. Aggregation
COH             111059870038                Gas           Gov. Aggregation   COH             156102140017                Gas           Gov. Aggregation
COH             111059860012                Gas           Gov. Aggregation   COH             176772470015                Gas           Gov. Aggregation
COH             111059840025                Gas           Gov. Aggregation   COH             148197130010                Gas           Gov. Aggregation
COH             156406600025                Gas           Gov. Aggregation   COH             133105440015                Gas           Gov. Aggregation
COH             171147540038                Gas           Gov. Aggregation   COH             111190120019                Gas           Gov. Aggregation
COH             169276290014                Gas           Gov. Aggregation   COH             145988760014                Gas           Gov. Aggregation
COH             167294490016                Gas           Gov. Aggregation   COH             149212670012                Gas           Gov. Aggregation
COH             196711680042                Gas           Gov. Aggregation   COH             111145070015                Gas           Gov. Aggregation
COH             191240590036                Gas           Gov. Aggregation   COH             140938630011                Gas           Gov. Aggregation
COH             192860000025                Gas           Gov. Aggregation   COH             177266490013                Gas           Gov. Aggregation
COH             198263060014                Gas           Gov. Aggregation   COH             135140180014                Gas           Gov. Aggregation
COH             192080490027                Gas           Gov. Aggregation   COH             128819610022                Gas           Gov. Aggregation
COH             202730780015                Gas           Gov. Aggregation   COH             187583690017                Gas           Gov. Aggregation
COH             202180560018                Gas           Gov. Aggregation   COH             135261250013                Gas           Gov. Aggregation
COH             202336120019                Gas           Gov. Aggregation   COH             139697620018                Gas           Gov. Aggregation
COH             199274900013                Gas           Gov. Aggregation   COH             150399440013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             111087700016                Gas           Gov. Aggregation   COH             127631470012                Gas           Gov. Aggregation
COH             149702620031                Gas           Gov. Aggregation   COH             133751560011                Gas           Gov. Aggregation
COH             111087770012                Gas           Gov. Aggregation   COH             174355440017                Gas           Gov. Aggregation
COH             186992170010                Gas           Gov. Aggregation   COH             201613030011                Gas           Gov. Aggregation
COH             202580800019                Gas           Gov. Aggregation   COH             193565270033                Gas           Gov. Aggregation
COH             198068660012                Gas           Gov. Aggregation   COH             148655840019                Gas           Gov. Aggregation
COH             111101550025                Gas           Gov. Aggregation   COH             194514330036                Gas           Gov. Aggregation
COH             192744810012                Gas           Gov. Aggregation   COH             198932860035                Gas           Gov. Aggregation
COH             171582210017                Gas           Gov. Aggregation   COH             194066000027                Gas           Gov. Aggregation
COH             176612480011                Gas           Gov. Aggregation   COH             201355750018                Gas           Gov. Aggregation
COH             187349050035                Gas           Gov. Aggregation   COH             202551340017                Gas           Gov. Aggregation
COH             175738130019                Gas           Gov. Aggregation   COH             203607260014                Gas           Gov. Aggregation
COH             129848020079                Gas           Gov. Aggregation   COH             203251720012                Gas           Gov. Aggregation
COH             201012450017                Gas           Gov. Aggregation   COH             171133180024                Gas           Gov. Aggregation
COH             140485410036                Gas           Gov. Aggregation   COH             191718820052                Gas           Gov. Aggregation
COH             149496050049                Gas           Gov. Aggregation   COH             204520970018                Gas           Gov. Aggregation
COH             194186690010                Gas           Gov. Aggregation   COH             203907390011                Gas           Gov. Aggregation
COH             190427450012                Gas           Gov. Aggregation   COH             195760040017                Gas           Gov. Aggregation
COH             190832720034                Gas           Gov. Aggregation   COH             115228890040                Gas           Gov. Aggregation
COH             172986800016                Gas           Gov. Aggregation   COH             200400440035                Gas           Gov. Aggregation
COH             172841440018                Gas           Gov. Aggregation   COH             203764440014                Gas           Gov. Aggregation
COH             155337910019                Gas           Gov. Aggregation   COH             203696540018                Gas           Gov. Aggregation
COH             158688590020                Gas           Gov. Aggregation   COH             197712090016                Gas           Gov. Aggregation
COH             158398290064                Gas           Gov. Aggregation   COH             192876190041                Gas           Gov. Aggregation
COH             158398290082                Gas           Gov. Aggregation   COH             200047270013                Gas           Gov. Aggregation
COH             158185570011                Gas           Gov. Aggregation   COH             186975390038                Gas           Gov. Aggregation
COH             166129600012                Gas           Gov. Aggregation   COH             162014560125                Gas           Gov. Aggregation
COH             167424560014                Gas           Gov. Aggregation   COH             175657030021                Gas           Gov. Aggregation
COH             160290140023                Gas           Gov. Aggregation   COH             193019950028                Gas           Gov. Aggregation
COH             159068270020                Gas           Gov. Aggregation   COH             195549730010                Gas           Gov. Aggregation
COH             188206630034                Gas           Gov. Aggregation   COH             194215260035                Gas           Gov. Aggregation
COH             111060980032                Gas           Gov. Aggregation   COH             202420630013                Gas           Gov. Aggregation
COH             111057580015                Gas           Gov. Aggregation   COH             201834690015                Gas           Gov. Aggregation
COH             111057580024                Gas           Gov. Aggregation   COH             202601290011                Gas           Gov. Aggregation
COH             111057660036                Gas           Gov. Aggregation   COH             202781220015                Gas           Gov. Aggregation
COH             111057900017                Gas           Gov. Aggregation   COH             200386450026                Gas           Gov. Aggregation
COH             111067320018                Gas           Gov. Aggregation   COH             203288100015                Gas           Gov. Aggregation
COH             111171190060                Gas           Gov. Aggregation   COH             203331740018                Gas           Gov. Aggregation
COH             152020740019                Gas           Gov. Aggregation   COH             203988780019                Gas           Gov. Aggregation
COH             147916080016                Gas           Gov. Aggregation   COH             200794500011                Gas           Gov. Aggregation
COH             201286850014                Gas           Gov. Aggregation   COH             149784340047                Gas           Gov. Aggregation
COH             197537900017                Gas           Gov. Aggregation   COH             200590230029                Gas           Gov. Aggregation
COH             197357130011                Gas           Gov. Aggregation   COH             200615130017                Gas           Gov. Aggregation
COH             197078990059                Gas           Gov. Aggregation   COH             201513430019                Gas           Gov. Aggregation
COH             192691900016                Gas           Gov. Aggregation   COH             200998460018                Gas           Gov. Aggregation
COH             193724930027                Gas           Gov. Aggregation   COH             201063550019                Gas           Gov. Aggregation
COH             198137590010                Gas           Gov. Aggregation   COH             147584610019                Gas           Gov. Aggregation
COH             191895950015                Gas           Gov. Aggregation   VEDO            4004109072469248            Gas           Gov. Aggregation
COH             192541920019                Gas           Gov. Aggregation   DEO             3180004789152               Gas           Gov. Aggregation
COH             194909380011                Gas           Gov. Aggregation   DEO             2180007213206               Gas           Gov. Aggregation
COH             196235080011                Gas           Gov. Aggregation   DEO             6180004078786               Gas           Gov. Aggregation
COH             196433870024                Gas           Gov. Aggregation   DEO             6180001890678               Gas           Gov. Aggregation
COH             201991800019                Gas           Gov. Aggregation   DEO             8180007328158               Gas           Gov. Aggregation
COH             202106090013                Gas           Gov. Aggregation   DEO             2180005237125               Gas           Gov. Aggregation
COH             200250030012                Gas           Gov. Aggregation   DEO             8180006217526               Gas           Gov. Aggregation
COH             200893330017                Gas           Gov. Aggregation   DEO             7180006620348               Gas           Gov. Aggregation
COH             200795990017                Gas           Gov. Aggregation   DEO             6180006303699               Gas           Gov. Aggregation
COH             200952790015                Gas           Gov. Aggregation   DEO             6180006531661               Gas           Gov. Aggregation
COH             185461050011                Gas           Gov. Aggregation   DEO             6180006585860               Gas           Gov. Aggregation
COH             153991140035                Gas           Gov. Aggregation   DEO             5180007596305               Gas           Gov. Aggregation
COH             153296380137                Gas           Gov. Aggregation   DEO             3180005812764               Gas           Gov. Aggregation
COH             175139490050                Gas           Gov. Aggregation   DEO             9180007870553               Gas           Gov. Aggregation
COH             173960870051                Gas           Gov. Aggregation   DEO             1180006555263               Gas           Gov. Aggregation
COH             190904620014                Gas           Gov. Aggregation   DEO             0180007190459               Gas           Gov. Aggregation
COH             190739720014                Gas           Gov. Aggregation   DEO             6180007538995               Gas           Gov. Aggregation
COH             189646610017                Gas           Gov. Aggregation   DEO             6180006785271               Gas           Gov. Aggregation
COH             187063300010                Gas           Gov. Aggregation   DEO             2180004968373               Gas           Gov. Aggregation
COH             186918190030                Gas           Gov. Aggregation   DEO             1180006927893               Gas           Gov. Aggregation
COH             186249020016                Gas           Gov. Aggregation   DEO             4180006545491               Gas           Gov. Aggregation
COH             186556170014                Gas           Gov. Aggregation   DEO             4180005883913               Gas           Gov. Aggregation
COH             111102330083                Gas           Gov. Aggregation   DEO             1180007740922               Gas           Gov. Aggregation
COH             111103060015                Gas           Gov. Aggregation   DEO             7180007403835               Gas           Gov. Aggregation
COH             111102220013                Gas           Gov. Aggregation   DEO             9180006134168               Gas           Gov. Aggregation
COH             111102330029                Gas           Gov. Aggregation   DEO             2180007241257               Gas           Gov. Aggregation
COH             111102330038                Gas           Gov. Aggregation   DEO             2180007555923               Gas           Gov. Aggregation
COH             111102330047                Gas           Gov. Aggregation   DEO             2180006509223               Gas           Gov. Aggregation
COH             111101500016                Gas           Gov. Aggregation   DEO             2180006122997               Gas           Gov. Aggregation
COH             111101540018                Gas           Gov. Aggregation   DEO             0180006215584               Gas           Gov. Aggregation
COH             151863110016                Gas           Gov. Aggregation   DEO             8180006504351               Gas           Gov. Aggregation
COH             146945170026                Gas           Gov. Aggregation   DEO             3180007417645               Gas           Gov. Aggregation
COH             143601930198                Gas           Gov. Aggregation   DEO             8180005386826               Gas           Gov. Aggregation
COH             140678850017                Gas           Gov. Aggregation   DEO             9180006911686               Gas           Gov. Aggregation
COH             140429190022                Gas           Gov. Aggregation   DEO             7500067043849               Gas           Gov. Aggregation
COH             140429190031                Gas           Gov. Aggregation   DEO             8421005322911               Gas           Gov. Aggregation
COH             140429190059                Gas           Gov. Aggregation   DEO             9500033642402               Gas           Gov. Aggregation
COH             140429190068                Gas           Gov. Aggregation   DEO             8180004425212               Gas           Gov. Aggregation
COH             140429190077                Gas           Gov. Aggregation   DEO             2180006414306               Gas           Gov. Aggregation
COH             200236550013                Gas           Gov. Aggregation   DEO             1180006719169               Gas           Gov. Aggregation
COH             197350800014                Gas           Gov. Aggregation   DEO             9180006660578               Gas           Gov. Aggregation
COH             197439720013                Gas           Gov. Aggregation   DEO             8180005717362               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             198024200010                Gas           Gov. Aggregation   DEO             9421004783631               Gas           Gov. Aggregation
COH             191968930238                Gas           Gov. Aggregation   DEO             4180005783840               Gas           Gov. Aggregation
COH             156771520010                Gas           Gov. Aggregation   DEO             4180007780777               Gas           Gov. Aggregation
COH             156056460055                Gas           Gov. Aggregation   DEO             2180006478731               Gas           Gov. Aggregation
COH             155414410029                Gas           Gov. Aggregation   DEO             8180006257613               Gas           Gov. Aggregation
COH             158167340017                Gas           Gov. Aggregation   DEO             0180007947767               Gas           Gov. Aggregation
COH             159882750014                Gas           Gov. Aggregation   DEO             5180006641349               Gas           Gov. Aggregation
COH             164619910010                Gas           Gov. Aggregation   DEO             9180006215057               Gas           Gov. Aggregation
COH             164564820016                Gas           Gov. Aggregation   DEO             1180006466529               Gas           Gov. Aggregation
COH             166609760011                Gas           Gov. Aggregation   DEO             4180007142608               Gas           Gov. Aggregation
COH             165440360014                Gas           Gov. Aggregation   DEO             3180005274272               Gas           Gov. Aggregation
COH             161189860017                Gas           Gov. Aggregation   DEO             3180006515694               Gas           Gov. Aggregation
COH             162548380079                Gas           Gov. Aggregation   DEO             6180006265522               Gas           Gov. Aggregation
COH             160271650017                Gas           Gov. Aggregation   DEO             9180005999961               Gas           Gov. Aggregation
COH             158477380021                Gas           Gov. Aggregation   DEO             8180007166510               Gas           Gov. Aggregation
COH             158615560029                Gas           Gov. Aggregation   DEO             4180007472513               Gas           Gov. Aggregation
COH             189795750013                Gas           Gov. Aggregation   DEO             8180004238255               Gas           Gov. Aggregation
COH             174801920019                Gas           Gov. Aggregation   DEO             5180006169285               Gas           Gov. Aggregation
COH             174652200017                Gas           Gov. Aggregation   DEO             4180007726564               Gas           Gov. Aggregation
COH             172911740016                Gas           Gov. Aggregation   DEO             5180007326842               Gas           Gov. Aggregation
COH             176571980032                Gas           Gov. Aggregation   DEO             7180007092839               Gas           Gov. Aggregation
COH             177364230019                Gas           Gov. Aggregation   DEO             1180007501968               Gas           Gov. Aggregation
COH             177259840014                Gas           Gov. Aggregation   DEO             5180004971314               Gas           Gov. Aggregation
COH             177275650010                Gas           Gov. Aggregation   DEO             3180006444672               Gas           Gov. Aggregation
COH             111087510016                Gas           Gov. Aggregation   DEO             3180007842302               Gas           Gov. Aggregation
COH             111087940016                Gas           Gov. Aggregation   DEO             5180007324546               Gas           Gov. Aggregation
COH             111087950014                Gas           Gov. Aggregation   DEO             7180006623970               Gas           Gov. Aggregation
COH             111087980018                Gas           Gov. Aggregation   DEO             3180007774063               Gas           Gov. Aggregation
COH             111110800050                Gas           Gov. Aggregation   DEO             1180005895606               Gas           Gov. Aggregation
COH             111094670018                Gas           Gov. Aggregation   DEO             4180007564409               Gas           Gov. Aggregation
COH             111094680016                Gas           Gov. Aggregation   DEO             3180007340047               Gas           Gov. Aggregation
COH             111100710023                Gas           Gov. Aggregation   DEO             3180007734351               Gas           Gov. Aggregation
COH             111058740019                Gas           Gov. Aggregation   DEO             0180005621326               Gas           Gov. Aggregation
COH             111043770023                Gas           Gov. Aggregation   DEO             0180006393184               Gas           Gov. Aggregation
COH             188377910016                Gas           Gov. Aggregation   DEO             7180005056696               Gas           Gov. Aggregation
COH             188343030058                Gas           Gov. Aggregation   DEO             7500004043998               Gas           Gov. Aggregation
COH             187258430010                Gas           Gov. Aggregation   DEO             2180004980437               Gas           Gov. Aggregation
COH             185831490041                Gas           Gov. Aggregation   DEO             2180006417407               Gas           Gov. Aggregation
COH             130495740056                Gas           Gov. Aggregation   DEO             2180007366425               Gas           Gov. Aggregation
COH             131225850053                Gas           Gov. Aggregation   DEO             0180006885322               Gas           Gov. Aggregation
COH             132038070017                Gas           Gov. Aggregation   DEO             0180005827169               Gas           Gov. Aggregation
COH             131026360012                Gas           Gov. Aggregation   DEO             0180005155290               Gas           Gov. Aggregation
COH             128994730045                Gas           Gov. Aggregation   DEO             0180007671220               Gas           Gov. Aggregation
COH             139394620029                Gas           Gov. Aggregation   DEO             9180006519170               Gas           Gov. Aggregation
COH             140338430015                Gas           Gov. Aggregation   DEO             7180007235447               Gas           Gov. Aggregation
COH             145078370015                Gas           Gov. Aggregation   DEO             6180007422776               Gas           Gov. Aggregation
COH             190981450018                Gas           Gov. Aggregation   DEO             8180005335874               Gas           Gov. Aggregation
COH             185649320016                Gas           Gov. Aggregation   DEO             1180007923350               Gas           Gov. Aggregation
COH             198009110011                Gas           Gov. Aggregation   DEO             6180005690525               Gas           Gov. Aggregation
COH             195545460015                Gas           Gov. Aggregation   DEO             6180005107187               Gas           Gov. Aggregation
COH             195777540017                Gas           Gov. Aggregation   DEO             6180007348320               Gas           Gov. Aggregation
COH             191264700014                Gas           Gov. Aggregation   DEO             6500032640967               Gas           Gov. Aggregation
COH             111036570011                Gas           Gov. Aggregation   COH             109137100055                Gas           Gov. Aggregation
COH             111036810010                Gas           Gov. Aggregation   VEDO            4003018812297217            Gas           Gov. Aggregation
COH             111036910019                Gas           Gov. Aggregation   COH             175807050028                Gas           Gov. Aggregation
COH             164413450040                Gas           Gov. Aggregation   COH             201664410014                Gas           Gov. Aggregation
COH             158146850023                Gas           Gov. Aggregation   COH             149380930067                Gas           Gov. Aggregation
COH             169704880011                Gas           Gov. Aggregation   COH             120169150017                Gas           Gov. Aggregation
COH             137401570025                Gas           Gov. Aggregation   COH             120175850053                Gas           Gov. Aggregation
COH             143114910024                Gas           Gov. Aggregation   COH             202725510012                Gas           Gov. Aggregation
COH             143480370032                Gas           Gov. Aggregation   COH             203047220010                Gas           Gov. Aggregation
COH             144360740019                Gas           Gov. Aggregation   COH             120152310018                Gas           Gov. Aggregation
COH             140148770026                Gas           Gov. Aggregation   COH             166659510036                Gas           Gov. Aggregation
COH             150378700030                Gas           Gov. Aggregation   COH             154689140044                Gas           Gov. Aggregation
COH             196442390017                Gas           Gov. Aggregation   COH             166834890839                Gas           Gov. Aggregation
COH             191397660012                Gas           Gov. Aggregation   COH             172543410034                Gas           Gov. Aggregation
COH             196901440012                Gas           Gov. Aggregation   COH             175532310044                Gas           Gov. Aggregation
COH             195500270019                Gas           Gov. Aggregation   COH             129795410132                Gas           Gov. Aggregation
COH             169946460026                Gas           Gov. Aggregation   COH             202920630013                Gas           Gov. Aggregation
COH             168932880019                Gas           Gov. Aggregation   COH             199548070026                Gas           Gov. Aggregation
COH             175848020019                Gas           Gov. Aggregation   COH             194481330055                Gas           Gov. Aggregation
COH             200298050018                Gas           Gov. Aggregation   COH             191497440043                Gas           Gov. Aggregation
COH             195490390044                Gas           Gov. Aggregation   COH             200737830012                Gas           Gov. Aggregation
COH             197622050033                Gas           Gov. Aggregation   COH             199347930012                Gas           Gov. Aggregation
COH             202706900010                Gas           Gov. Aggregation   COH             200677030018                Gas           Gov. Aggregation
COH             191285170012                Gas           Gov. Aggregation   COH             201296880017                Gas           Gov. Aggregation
COH             194228590020                Gas           Gov. Aggregation   COH             188104220054                Gas           Gov. Aggregation
COH             194685560019                Gas           Gov. Aggregation   COH             195823810039                Gas           Gov. Aggregation
COH             194781120026                Gas           Gov. Aggregation   COH             196136710018                Gas           Gov. Aggregation
COH             193594950020                Gas           Gov. Aggregation   COH             194814790052                Gas           Gov. Aggregation
COH             193442740016                Gas           Gov. Aggregation   COH             201287110017                Gas           Gov. Aggregation
COH             195367000019                Gas           Gov. Aggregation   COH             201871250019                Gas           Gov. Aggregation
COH             194826020012                Gas           Gov. Aggregation   COH             190540260058                Gas           Gov. Aggregation
COH             194919930014                Gas           Gov. Aggregation   COH             195854640021                Gas           Gov. Aggregation
COH             194936460017                Gas           Gov. Aggregation   COH             168597770032                Gas           Gov. Aggregation
COH             202433530017                Gas           Gov. Aggregation   COH             199238490025                Gas           Gov. Aggregation
COH             201146130011                Gas           Gov. Aggregation   COH             200437340011                Gas           Gov. Aggregation
COH             201029000016                Gas           Gov. Aggregation   COH             201448760019                Gas           Gov. Aggregation
COH             142864520019                Gas           Gov. Aggregation   COH             149384150072                Gas           Gov. Aggregation
COH             152158260019                Gas           Gov. Aggregation   COH             158242510075                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             111924140036                Gas           Gov. Aggregation   COH             151817170075                Gas           Gov. Aggregation
COH             111078460016                Gas           Gov. Aggregation   COH             120175640039                Gas           Gov. Aggregation
COH             111084720018                Gas           Gov. Aggregation   COH             204498190011                Gas           Gov. Aggregation
COH             111086250022                Gas           Gov. Aggregation   COH             200492650010                Gas           Gov. Aggregation
COH             111085770016                Gas           Gov. Aggregation   COH             186786200029                Gas           Gov. Aggregation
COH             111093860010                Gas           Gov. Aggregation   COH             185358980088                Gas           Gov. Aggregation
COH             111094020014                Gas           Gov. Aggregation   COH             174899010033                Gas           Gov. Aggregation
COH             111046140029                Gas           Gov. Aggregation   COH             168087680014                Gas           Gov. Aggregation
COH             187616650014                Gas           Gov. Aggregation   COH             202033680014                Gas           Gov. Aggregation
COH             186691180016                Gas           Gov. Aggregation   COH             120230240035                Gas           Gov. Aggregation
COH             189137270036                Gas           Gov. Aggregation   COH             120053790036                Gas           Gov. Aggregation
COH             197700900010                Gas           Gov. Aggregation   COH             118256890057                Gas           Gov. Aggregation
COH             198200030012                Gas           Gov. Aggregation   COH             157583650039                Gas           Gov. Aggregation
COH             200092320017                Gas           Gov. Aggregation   COH             151462940049                Gas           Gov. Aggregation
COH             200172680012                Gas           Gov. Aggregation   COH             170063850078                Gas           Gov. Aggregation
COH             111100580012                Gas           Gov. Aggregation   COH             201288330019                Gas           Gov. Aggregation
COH             111100750016                Gas           Gov. Aggregation   COH             201008190039                Gas           Gov. Aggregation
COH             111034790019                Gas           Gov. Aggregation   COH             200743980018                Gas           Gov. Aggregation
COH             111034970011                Gas           Gov. Aggregation   COH             200898780013                Gas           Gov. Aggregation
COH             111053740028                Gas           Gov. Aggregation   COH             202482740010                Gas           Gov. Aggregation
COH             111046830015                Gas           Gov. Aggregation   COH             175378780044                Gas           Gov. Aggregation
COH             141633920024                Gas           Gov. Aggregation   COH             197066340014                Gas           Gov. Aggregation
COH             142666540015                Gas           Gov. Aggregation   COH             187144140058                Gas           Gov. Aggregation
COH             176692650017                Gas           Gov. Aggregation   COH             185505210013                Gas           Gov. Aggregation
COH             177639670014                Gas           Gov. Aggregation   COH             189244030057                Gas           Gov. Aggregation
COH             185483710016                Gas           Gov. Aggregation   COH             202674760019                Gas           Gov. Aggregation
COH             172317190049                Gas           Gov. Aggregation   COH             203588180013                Gas           Gov. Aggregation
COH             190163540013                Gas           Gov. Aggregation   COH             172035230039                Gas           Gov. Aggregation
COH             158037320016                Gas           Gov. Aggregation   COH             190796790029                Gas           Gov. Aggregation
COH             162958070011                Gas           Gov. Aggregation   COH             203930800015                Gas           Gov. Aggregation
COH             160058790010                Gas           Gov. Aggregation   COH             195678750059                Gas           Gov. Aggregation
COH             158398250035                Gas           Gov. Aggregation   COH             134121980071                Gas           Gov. Aggregation
COH             160146180020                Gas           Gov. Aggregation   COH             140528200056                Gas           Gov. Aggregation
COH             155330140042                Gas           Gov. Aggregation   COH             204454720011                Gas           Gov. Aggregation
COH             155455110017                Gas           Gov. Aggregation   COH             202632380017                Gas           Gov. Aggregation
COH             169184550014                Gas           Gov. Aggregation   COH             201751100014                Gas           Gov. Aggregation
COH             187385660013                Gas           Gov. Aggregation   COH             202892110013                Gas           Gov. Aggregation
COH             185906020013                Gas           Gov. Aggregation   COH             136110740170                Gas           Gov. Aggregation
COH             186419910018                Gas           Gov. Aggregation   COH             168000350015                Gas           Gov. Aggregation
COH             189078190011                Gas           Gov. Aggregation   COH             196885220023                Gas           Gov. Aggregation
COH             189022490024                Gas           Gov. Aggregation   COH             187095160059                Gas           Gov. Aggregation
COH             188937610011                Gas           Gov. Aggregation   COH             202608580016                Gas           Gov. Aggregation
COH             150582470018                Gas           Gov. Aggregation   COH             202465700014                Gas           Gov. Aggregation
COH             152569060010                Gas           Gov. Aggregation   COH             202986490015                Gas           Gov. Aggregation
COH             151665220013                Gas           Gov. Aggregation   COH             202861960010                Gas           Gov. Aggregation
COH             111160360030                Gas           Gov. Aggregation   COH             204467500010                Gas           Gov. Aggregation
COH             111154400016                Gas           Gov. Aggregation   COH             204468370016                Gas           Gov. Aggregation
COH             133971180015                Gas           Gov. Aggregation   COH             191984640057                Gas           Gov. Aggregation
COH             202599980013                Gas           Gov. Aggregation   COH             185845530052                Gas           Gov. Aggregation
COH             201189920015                Gas           Gov. Aggregation   COH             187102180049                Gas           Gov. Aggregation
COH             201256450011                Gas           Gov. Aggregation   COH             186825640041                Gas           Gov. Aggregation
COH             201586040018                Gas           Gov. Aggregation   COH             177138840056                Gas           Gov. Aggregation
COH             198379880017                Gas           Gov. Aggregation   COH             176503320060                Gas           Gov. Aggregation
COH             198765610014                Gas           Gov. Aggregation   COH             173610230010                Gas           Gov. Aggregation
COH             198205080012                Gas           Gov. Aggregation   COH             173532640074                Gas           Gov. Aggregation
COH             198073470011                Gas           Gov. Aggregation   COH             198895720052                Gas           Gov. Aggregation
COH             197812150011                Gas           Gov. Aggregation   COH             201137190027                Gas           Gov. Aggregation
COH             200753990015                Gas           Gov. Aggregation   COH             200793600012                Gas           Gov. Aggregation
COH             200764020015                Gas           Gov. Aggregation   COH             200629120010                Gas           Gov. Aggregation
COH             199482290011                Gas           Gov. Aggregation   COH             203741670014                Gas           Gov. Aggregation
COH             198958050013                Gas           Gov. Aggregation   COH             197165420035                Gas           Gov. Aggregation
COH             201401940019                Gas           Gov. Aggregation   COH             198642110037                Gas           Gov. Aggregation
COH             201079990014                Gas           Gov. Aggregation   COH             203673740014                Gas           Gov. Aggregation
COH             202244620019                Gas           Gov. Aggregation   COH             166172080039                Gas           Gov. Aggregation
COH             111093690025                Gas           Gov. Aggregation   COH             150439440026                Gas           Gov. Aggregation
COH             111091550019                Gas           Gov. Aggregation   COH             149111570044                Gas           Gov. Aggregation
COH             111053800016                Gas           Gov. Aggregation   COH             124036350012                Gas           Gov. Aggregation
COH             111054740017                Gas           Gov. Aggregation   COH             203663450016                Gas           Gov. Aggregation
COH             135606070019                Gas           Gov. Aggregation   COH             204128310018                Gas           Gov. Aggregation
COH             121825880039                Gas           Gov. Aggregation   COH             124036360038                Gas           Gov. Aggregation
COH             111918230049                Gas           Gov. Aggregation   COH             123933540020                Gas           Gov. Aggregation
COH             152022780035                Gas           Gov. Aggregation   COH             141581250106                Gas           Gov. Aggregation
COH             151461470095                Gas           Gov. Aggregation   COH             201682650016                Gas           Gov. Aggregation
COH             151461470102                Gas           Gov. Aggregation   COH             202958770015                Gas           Gov. Aggregation
COH             139778410118                Gas           Gov. Aggregation   COH             203499090011                Gas           Gov. Aggregation
COH             177761950016                Gas           Gov. Aggregation   COH             201996840011                Gas           Gov. Aggregation
COH             190217210053                Gas           Gov. Aggregation   COH             201403690018                Gas           Gov. Aggregation
COH             189285270042                Gas           Gov. Aggregation   COH             201207840012                Gas           Gov. Aggregation
COH             167733660018                Gas           Gov. Aggregation   COH             201232370018                Gas           Gov. Aggregation
COH             168216510050                Gas           Gov. Aggregation   COH             196321860023                Gas           Gov. Aggregation
COH             171269370072                Gas           Gov. Aggregation   COH             185461930025                Gas           Gov. Aggregation
COH             169840640031                Gas           Gov. Aggregation   COH             185475720066                Gas           Gov. Aggregation
COH             155217280016                Gas           Gov. Aggregation   COH             171303850040                Gas           Gov. Aggregation
COH             153671680012                Gas           Gov. Aggregation   COH             170535930061                Gas           Gov. Aggregation
COH             156486370017                Gas           Gov. Aggregation   COH             154342050047                Gas           Gov. Aggregation
COH             156369950013                Gas           Gov. Aggregation   COH             156986950042                Gas           Gov. Aggregation
COH             156979870053                Gas           Gov. Aggregation   COH             126856450271                Gas           Gov. Aggregation
COH             153406430024                Gas           Gov. Aggregation   COH             204535980015                Gas           Gov. Aggregation
COH             155261880035                Gas           Gov. Aggregation   COH             149615450087                Gas           Gov. Aggregation
COH             154382800072                Gas           Gov. Aggregation   COH             192460120046                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             168066970017                Gas           Gov. Aggregation   COH             193823830046                Gas           Gov. Aggregation
COH             187674650021                Gas           Gov. Aggregation   COH             194346930037                Gas           Gov. Aggregation
COH             187247580012                Gas           Gov. Aggregation   COH             191580030033                Gas           Gov. Aggregation
COH             186411060013                Gas           Gov. Aggregation   COH             191366880020                Gas           Gov. Aggregation
COH             172388910039                Gas           Gov. Aggregation   COH             201924550013                Gas           Gov. Aggregation
COH             173052060029                Gas           Gov. Aggregation   COH             202235190019                Gas           Gov. Aggregation
COH             176924200018                Gas           Gov. Aggregation   COH             201228610016                Gas           Gov. Aggregation
COH             176924210016                Gas           Gov. Aggregation   COH             203897680013                Gas           Gov. Aggregation
COH             176794610028                Gas           Gov. Aggregation   COH             202955130015                Gas           Gov. Aggregation
COH             176487350015                Gas           Gov. Aggregation   COH             203212910014                Gas           Gov. Aggregation
COH             137176540011                Gas           Gov. Aggregation   COH             200525630013                Gas           Gov. Aggregation
COH             137827640028                Gas           Gov. Aggregation   COH             200488890019                Gas           Gov. Aggregation
COH             111051710037                Gas           Gov. Aggregation   COH             203306720015                Gas           Gov. Aggregation
COH             111044880028                Gas           Gov. Aggregation   COH             203324020014                Gas           Gov. Aggregation
COH             202249070015                Gas           Gov. Aggregation   COH             203339900018                Gas           Gov. Aggregation
COH             201664670010                Gas           Gov. Aggregation   COH             203493170016                Gas           Gov. Aggregation
COH             201655310014                Gas           Gov. Aggregation   COH             200664450017                Gas           Gov. Aggregation
COH             201662620014                Gas           Gov. Aggregation   COH             200843510014                Gas           Gov. Aggregation
COH             198490850017                Gas           Gov. Aggregation   COH             200873400014                Gas           Gov. Aggregation
COH             197240350012                Gas           Gov. Aggregation   COH             202810320011                Gas           Gov. Aggregation
COH             197149860019                Gas           Gov. Aggregation   COH             129771340066                Gas           Gov. Aggregation
COH             195643920010                Gas           Gov. Aggregation   COH             129949790065                Gas           Gov. Aggregation
COH             195171450010                Gas           Gov. Aggregation   COH             124035310021                Gas           Gov. Aggregation
COH             194901570017                Gas           Gov. Aggregation   COH             123964100081                Gas           Gov. Aggregation
COH             194147320046                Gas           Gov. Aggregation   COH             123964100107                Gas           Gov. Aggregation
COH             193960830199                Gas           Gov. Aggregation   COH             133214900026                Gas           Gov. Aggregation
COH             167841120049                Gas           Gov. Aggregation   COH             126718820051                Gas           Gov. Aggregation
COH             154831850015                Gas           Gov. Aggregation   COH             204296890012                Gas           Gov. Aggregation
COH             162377910016                Gas           Gov. Aggregation   COH             152689810036                Gas           Gov. Aggregation
COH             173996120044                Gas           Gov. Aggregation   COH             200995070025                Gas           Gov. Aggregation
COH             188741200021                Gas           Gov. Aggregation   COH             200542770036                Gas           Gov. Aggregation
COH             111112720017                Gas           Gov. Aggregation   COH             202320980012                Gas           Gov. Aggregation
COH             111112070023                Gas           Gov. Aggregation   COH             196875960029                Gas           Gov. Aggregation
COH             200217220012                Gas           Gov. Aggregation   COH             124015720036                Gas           Gov. Aggregation
COH             198765620012                Gas           Gov. Aggregation   COH             123963790025                Gas           Gov. Aggregation
COH             111034960040                Gas           Gov. Aggregation   COH             138495640059                Gas           Gov. Aggregation
COH             185860690413                Gas           Gov. Aggregation   COH             170136780023                Gas           Gov. Aggregation
COH             170382000016                Gas           Gov. Aggregation   COH             124268110020                Gas           Gov. Aggregation
COH             185294940019                Gas           Gov. Aggregation   COH             123943240022                Gas           Gov. Aggregation
COH             185266940036                Gas           Gov. Aggregation   COH             201074020017                Gas           Gov. Aggregation
COH             185266940045                Gas           Gov. Aggregation   COH             201855240015                Gas           Gov. Aggregation
COH             188475190029                Gas           Gov. Aggregation   COH             202370500017                Gas           Gov. Aggregation
COH             188976750010                Gas           Gov. Aggregation   COH             203904990011                Gas           Gov. Aggregation
COH             186413810011                Gas           Gov. Aggregation   COH             203406930019                Gas           Gov. Aggregation
COH             111065200017                Gas           Gov. Aggregation   COH             202617670018                Gas           Gov. Aggregation
COH             111109550029                Gas           Gov. Aggregation   COH             201743680029                Gas           Gov. Aggregation
COH             111088360016                Gas           Gov. Aggregation   COH             203694440013                Gas           Gov. Aggregation
COH             111076340015                Gas           Gov. Aggregation   COH             203514440013                Gas           Gov. Aggregation
COH             111076450021                Gas           Gov. Aggregation   COH             202295930017                Gas           Gov. Aggregation
COH             152403330013                Gas           Gov. Aggregation   COH             201647130019                Gas           Gov. Aggregation
COH             147822070017                Gas           Gov. Aggregation   COH             203734720018                Gas           Gov. Aggregation
COH             148987370015                Gas           Gov. Aggregation   COH             168918310027                Gas           Gov. Aggregation
COH             144360740037                Gas           Gov. Aggregation   COH             174532690037                Gas           Gov. Aggregation
COH             141355550031                Gas           Gov. Aggregation   COH             138360250029                Gas           Gov. Aggregation
COH             200236540015                Gas           Gov. Aggregation   COH             114782910033                Gas           Gov. Aggregation
COH             201212780023                Gas           Gov. Aggregation   COH             190728380046                Gas           Gov. Aggregation
COH             201966590017                Gas           Gov. Aggregation   COH             163344520034                Gas           Gov. Aggregation
COH             176685810018                Gas           Gov. Aggregation   COH             151475650052                Gas           Gov. Aggregation
COH             172561660043                Gas           Gov. Aggregation   COH             202968920012                Gas           Gov. Aggregation
COH             162933620017                Gas           Gov. Aggregation   COH             201650260015                Gas           Gov. Aggregation
COH             158868290012                Gas           Gov. Aggregation   COH             202457940011                Gas           Gov. Aggregation
COH             168212580018                Gas           Gov. Aggregation   COH             202478190015                Gas           Gov. Aggregation
COH             199648280011                Gas           Gov. Aggregation   COH             202633650018                Gas           Gov. Aggregation
COH             172363970011                Gas           Gov. Aggregation   COH             203869650018                Gas           Gov. Aggregation
COH             175167950018                Gas           Gov. Aggregation   COH             200512290012                Gas           Gov. Aggregation
COH             188471970023                Gas           Gov. Aggregation   COH             195011030052                Gas           Gov. Aggregation
COH             190143090010                Gas           Gov. Aggregation   COH             192665650014                Gas           Gov. Aggregation
COH             187788040019                Gas           Gov. Aggregation   COH             204441370012                Gas           Gov. Aggregation
COH             143505770025                Gas           Gov. Aggregation   COH             204415930019                Gas           Gov. Aggregation
COH             148302650016                Gas           Gov. Aggregation   COH             203945110019                Gas           Gov. Aggregation
COH             149692800036                Gas           Gov. Aggregation   COH             192702880025                Gas           Gov. Aggregation
COH             111046060017                Gas           Gov. Aggregation   COH             162936250028                Gas           Gov. Aggregation
COH             111046090011                Gas           Gov. Aggregation   COH             163913290027                Gas           Gov. Aggregation
COH             111046100018                Gas           Gov. Aggregation   COH             198175310027                Gas           Gov. Aggregation
COH             111046210015                Gas           Gov. Aggregation   COH             199463140012                Gas           Gov. Aggregation
COH             111046960018                Gas           Gov. Aggregation   COH             203397990018                Gas           Gov. Aggregation
COH             111044970010                Gas           Gov. Aggregation   COH             203705870018                Gas           Gov. Aggregation
COH             111045190012                Gas           Gov. Aggregation   COH             193470600052                Gas           Gov. Aggregation
COH             202688650013                Gas           Gov. Aggregation   COH             159272980162                Gas           Gov. Aggregation
COH             191599020036                Gas           Gov. Aggregation   COH             162831270035                Gas           Gov. Aggregation
COH             194828570013                Gas           Gov. Aggregation   COH             174578250042                Gas           Gov. Aggregation
COH             194678120016                Gas           Gov. Aggregation   COH             187802020039                Gas           Gov. Aggregation
COH             194134530012                Gas           Gov. Aggregation   COH             176848550062                Gas           Gov. Aggregation
COH             195969350029                Gas           Gov. Aggregation   COH             204027420019                Gas           Gov. Aggregation
COH             111162020046                Gas           Gov. Aggregation   COH             204589330018                Gas           Gov. Aggregation
COH             137686980018                Gas           Gov. Aggregation   COH             204559110017                Gas           Gov. Aggregation
COH             134298240028                Gas           Gov. Aggregation   COH             203705860010                Gas           Gov. Aggregation
COH             111071120011                Gas           Gov. Aggregation   COH             203745790011                Gas           Gov. Aggregation
COH             111108610046                Gas           Gov. Aggregation   COH             203754070013                Gas           Gov. Aggregation
COH             111053580022                Gas           Gov. Aggregation   COH             201673030015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             111070330019                Gas           Gov. Aggregation   COH             201541300017                Gas           Gov. Aggregation
COH             175044740012                Gas           Gov. Aggregation   COH             201573560016                Gas           Gov. Aggregation
COH             173368370016                Gas           Gov. Aggregation   COH             199919260029                Gas           Gov. Aggregation
COH             177720480011                Gas           Gov. Aggregation   COH             196371250035                Gas           Gov. Aggregation
COH             185214000014                Gas           Gov. Aggregation   COH             195596000023                Gas           Gov. Aggregation
COH             176586690023                Gas           Gov. Aggregation   COH             197182240037                Gas           Gov. Aggregation
COH             176197040015                Gas           Gov. Aggregation   COH             123964650111                Gas           Gov. Aggregation
COH             176197040024                Gas           Gov. Aggregation   COH             124302280236                Gas           Gov. Aggregation
COH             162645310031                Gas           Gov. Aggregation   COH             175666050037                Gas           Gov. Aggregation
COH             164391130036                Gas           Gov. Aggregation   COH             187211070050                Gas           Gov. Aggregation
COH             166846190019                Gas           Gov. Aggregation   COH             171891540086                Gas           Gov. Aggregation
COH             200570260016                Gas           Gov. Aggregation   COH             198187160042                Gas           Gov. Aggregation
COH             200520180018                Gas           Gov. Aggregation   COH             204356490018                Gas           Gov. Aggregation
COH             200184320012                Gas           Gov. Aggregation   DEO             7420901863052               Gas           Gov. Aggregation
COH             191395320017                Gas           Gov. Aggregation   COH             161513840012                Gas           Gov. Aggregation
COH             111071810016                Gas           Gov. Aggregation   COH             160768920026                Gas           Gov. Aggregation
COH             134303370028                Gas           Gov. Aggregation   COH             167759040023                Gas           Gov. Aggregation
COH             130451350014                Gas           Gov. Aggregation   COH             193688560023                Gas           Gov. Aggregation
COH             111050590017                Gas           Gov. Aggregation   COH             200934410012                Gas           Gov. Aggregation
COH             111050790024                Gas           Gov. Aggregation   COH             115156430021                Gas           Gov. Aggregation
COH             111052940019                Gas           Gov. Aggregation   COH             115228790023                Gas           Gov. Aggregation
COH             111061250015                Gas           Gov. Aggregation   COH             123688390032                Gas           Gov. Aggregation
COH             111061650011                Gas           Gov. Aggregation   COH             203192530018                Gas           Gov. Aggregation
COH             151542560021                Gas           Gov. Aggregation   COH             203295850013                Gas           Gov. Aggregation
COH             149707090051                Gas           Gov. Aggregation   COH             177358840023                Gas           Gov. Aggregation
COH             149182230055                Gas           Gov. Aggregation   COH             165608570014                Gas           Gov. Aggregation
COH             147947920023                Gas           Gov. Aggregation   COH             169177300011                Gas           Gov. Aggregation
COH             139021470020                Gas           Gov. Aggregation   COH             167110010014                Gas           Gov. Aggregation
COH             134653510045                Gas           Gov. Aggregation   COH             204509550010                Gas           Gov. Aggregation
COH             156884000038                Gas           Gov. Aggregation   COH             124005790015                Gas           Gov. Aggregation
COH             152830820079                Gas           Gov. Aggregation   COH             124006440025                Gas           Gov. Aggregation
COH             196640970015                Gas           Gov. Aggregation   COH             124007440041                Gas           Gov. Aggregation
COH             202353910017                Gas           Gov. Aggregation   COH             124046940017                Gas           Gov. Aggregation
COH             202464350010                Gas           Gov. Aggregation   COH             124047360017                Gas           Gov. Aggregation
COH             193504540016                Gas           Gov. Aggregation   COH             124047730019                Gas           Gov. Aggregation
COH             193504540025                Gas           Gov. Aggregation   COH             115178460029                Gas           Gov. Aggregation
COH             201607040012                Gas           Gov. Aggregation   COH             171266790016                Gas           Gov. Aggregation
COH             163664690059                Gas           Gov. Aggregation   COH             171402840015                Gas           Gov. Aggregation
COH             163866500014                Gas           Gov. Aggregation   COH             174887740017                Gas           Gov. Aggregation
COH             188234170032                Gas           Gov. Aggregation   COH             172577620011                Gas           Gov. Aggregation
COH             161994190066                Gas           Gov. Aggregation   COH             201936100012                Gas           Gov. Aggregation
COH             156766870063                Gas           Gov. Aggregation   COH             203225550013                Gas           Gov. Aggregation
COH             154509900133                Gas           Gov. Aggregation   COH             203571740010                Gas           Gov. Aggregation
COH             200655260016                Gas           Gov. Aggregation   COH             203970350016                Gas           Gov. Aggregation
COH             129448870024                Gas           Gov. Aggregation   COH             196247980017                Gas           Gov. Aggregation
COH             132526740011                Gas           Gov. Aggregation   COH             195951630018                Gas           Gov. Aggregation
COH             133870890038                Gas           Gov. Aggregation   COH             192525330026                Gas           Gov. Aggregation
COH             162263520019                Gas           Gov. Aggregation   COH             202238750015                Gas           Gov. Aggregation
COH             160956070044                Gas           Gov. Aggregation   COH             201789730013                Gas           Gov. Aggregation
COH             169825070015                Gas           Gov. Aggregation   DEO             4120000160140               Gas           Gov. Aggregation
COH             163171320015                Gas           Gov. Aggregation   DEO             8500061911405               Gas           Gov. Aggregation
COH             161427850013                Gas           Gov. Aggregation   DEO             5500055293959               Gas           Gov. Aggregation
COH             161256250012                Gas           Gov. Aggregation   DEO             9140000052304               Gas           Gov. Aggregation
COH             161581130036                Gas           Gov. Aggregation   DEO             1421006109010               Gas           Gov. Aggregation
COH             161582940034                Gas           Gov. Aggregation   COH             161449270028                Gas           Gov. Aggregation
COH             162746730020                Gas           Gov. Aggregation   COH             162768500022                Gas           Gov. Aggregation
COH             159040000015                Gas           Gov. Aggregation   COH             121957230027                Gas           Gov. Aggregation
COH             160890040013                Gas           Gov. Aggregation   COH             122353860024                Gas           Gov. Aggregation
COH             159802830015                Gas           Gov. Aggregation   COH             195244980023                Gas           Gov. Aggregation
COH             190687320019                Gas           Gov. Aggregation   COH             203553000013                Gas           Gov. Aggregation
COH             175825400026                Gas           Gov. Aggregation   COH             202984340010                Gas           Gov. Aggregation
COH             176951300010                Gas           Gov. Aggregation   COH             202894290012                Gas           Gov. Aggregation
COH             185053200032                Gas           Gov. Aggregation   COH             200933220023                Gas           Gov. Aggregation
COH             111067700018                Gas           Gov. Aggregation   COH             200814120026                Gas           Gov. Aggregation
COH             111063970010                Gas           Gov. Aggregation   COH             202513610010                Gas           Gov. Aggregation
COH             111064090013                Gas           Gov. Aggregation   COH             202494870018                Gas           Gov. Aggregation
COH             111064170025                Gas           Gov. Aggregation   COH             204137240014                Gas           Gov. Aggregation
COH             111064200019                Gas           Gov. Aggregation   COH             204180290013                Gas           Gov. Aggregation
COH             111064230013                Gas           Gov. Aggregation   COH             203323190011                Gas           Gov. Aggregation
COH             111062160030                Gas           Gov. Aggregation   COH             204622110012                Gas           Gov. Aggregation
COH             111058650027                Gas           Gov. Aggregation   COH             122476580050                Gas           Gov. Aggregation
COH             111058660043                Gas           Gov. Aggregation   COH             204460170014                Gas           Gov. Aggregation
COH             194062590013                Gas           Gov. Aggregation   COH             172625890012                Gas           Gov. Aggregation
COH             195366990014                Gas           Gov. Aggregation   COH             189621530025                Gas           Gov. Aggregation
COH             202417680010                Gas           Gov. Aggregation   COH             204528100014                Gas           Gov. Aggregation
COH             111046670037                Gas           Gov. Aggregation   COH             131839090034                Gas           Gov. Aggregation
COH             111032940084                Gas           Gov. Aggregation   COH             193027650033                Gas           Gov. Aggregation
COH             177275660018                Gas           Gov. Aggregation   COH             203074600013                Gas           Gov. Aggregation
COH             153759560011                Gas           Gov. Aggregation   COH             135238010030                Gas           Gov. Aggregation
COH             165759830074                Gas           Gov. Aggregation   COH             204248470011                Gas           Gov. Aggregation
COH             164669570017                Gas           Gov. Aggregation   COH             204325720014                Gas           Gov. Aggregation
COH             134287120017                Gas           Gov. Aggregation   COH             122470640022                Gas           Gov. Aggregation
COH             149625780050                Gas           Gov. Aggregation   COH             199986900023                Gas           Gov. Aggregation
COH             147316800034                Gas           Gov. Aggregation   COH             203140080012                Gas           Gov. Aggregation
COH             143099700040                Gas           Gov. Aggregation   COH             203134460015                Gas           Gov. Aggregation
COH             200129760016                Gas           Gov. Aggregation   COH             199617470025                Gas           Gov. Aggregation
COH             195101310016                Gas           Gov. Aggregation   COH             198375310023                Gas           Gov. Aggregation
COH             198182000018                Gas           Gov. Aggregation   COH             122467740171                Gas           Gov. Aggregation
COH             192204160022                Gas           Gov. Aggregation   COH             122383510104                Gas           Gov. Aggregation
COH             192398470019                Gas           Gov. Aggregation   COH             189444660051                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             192854750021                Gas           Gov. Aggregation   COH             203779320018                Gas           Gov. Aggregation
COH             189137270054                Gas           Gov. Aggregation   COH             204278090018                Gas           Gov. Aggregation
COH             190267620016                Gas           Gov. Aggregation   COH             204165970012                Gas           Gov. Aggregation
COH             200852900013                Gas           Gov. Aggregation   COH             204342090011                Gas           Gov. Aggregation
COH             111079440018                Gas           Gov. Aggregation   COH             204421110018                Gas           Gov. Aggregation
COH             135083930036                Gas           Gov. Aggregation   COH             139790260052                Gas           Gov. Aggregation
COH             197537910015                Gas           Gov. Aggregation   COH             204626740012                Gas           Gov. Aggregation
COH             197508370010                Gas           Gov. Aggregation   COH             163831630029                Gas           Gov. Aggregation
COH             197313610012                Gas           Gov. Aggregation   COH             145963660017                Gas           Gov. Aggregation
COH             111079610012                Gas           Gov. Aggregation   COH             190397530010                Gas           Gov. Aggregation
COH             111079730017                Gas           Gov. Aggregation   COH             163011240010                Gas           Gov. Aggregation
COH             111079820018                Gas           Gov. Aggregation   COH             202417750015                Gas           Gov. Aggregation
COH             111080090019                Gas           Gov. Aggregation   COH             203238630019                Gas           Gov. Aggregation
COH             162762670038                Gas           Gov. Aggregation   COH             203577930018                Gas           Gov. Aggregation
COH             162113800017                Gas           Gov. Aggregation   COH             203561010014                Gas           Gov. Aggregation
COH             170325610018                Gas           Gov. Aggregation   COH             189729170023                Gas           Gov. Aggregation
COH             133885790029                Gas           Gov. Aggregation   COH             204165980010                Gas           Gov. Aggregation
COH             137248480039                Gas           Gov. Aggregation   COH             203717210011                Gas           Gov. Aggregation
COH             152045360062                Gas           Gov. Aggregation   COH             204096390011                Gas           Gov. Aggregation
COH             111101770010                Gas           Gov. Aggregation   COH             200637880014                Gas           Gov. Aggregation
COH             111080180010                Gas           Gov. Aggregation   COH             204512500013                Gas           Gov. Aggregation
COH             133307990012                Gas           Gov. Aggregation   COH             192289300033                Gas           Gov. Aggregation
COH             135801630026                Gas           Gov. Aggregation   COH             204440410015                Gas           Gov. Aggregation
COH             156339150014                Gas           Gov. Aggregation   COH             204123690019                Gas           Gov. Aggregation
COH             111087620013                Gas           Gov. Aggregation   COH             204131470018                Gas           Gov. Aggregation
DEO             0500067623509               Gas           Gov. Aggregation   COH             204257290010                Gas           Gov. Aggregation
COH             114441430054                Gas           Gov. Aggregation   COH             203056960016                Gas           Gov. Aggregation
COH             111045650015                Gas           Gov. Aggregation   COH             202549630011                Gas           Gov. Aggregation
DEO             2180005229126               Gas           Gov. Aggregation   COH             122498510030                Gas           Gov. Aggregation
DEO             6180005414382               Gas           Gov. Aggregation   COH             203238660013                Gas           Gov. Aggregation
DEO             8180005609373               Gas           Gov. Aggregation   COH             122405990035                Gas           Gov. Aggregation
COH             203087650016                Gas           Gov. Aggregation   COH             203577940016                Gas           Gov. Aggregation
COH             128774530016                Gas           Gov. Aggregation   COH             202971500013                Gas           Gov. Aggregation
COH             168558020013                Gas           Gov. Aggregation   COH             203100010010                Gas           Gov. Aggregation
COH             148331590045                Gas           Gov. Aggregation   COH             202580890011                Gas           Gov. Aggregation
COH             176609870025                Gas           Gov. Aggregation   COH             202774140017                Gas           Gov. Aggregation
COH             135018900039                Gas           Gov. Aggregation   COH             204257280012                Gas           Gov. Aggregation
COH             166426240018                Gas           Gov. Aggregation   COH             204351850012                Gas           Gov. Aggregation
COH             111283170076                Gas           Gov. Aggregation   COH             144138430088                Gas           Gov. Aggregation
DEO             0421001261337               Gas           Gov. Aggregation   COH             142394210020                Gas           Gov. Aggregation
DEO             2120000133509               Gas           Gov. Aggregation   COH             204257400016                Gas           Gov. Aggregation
COH             108832640040                Gas           Gov. Aggregation   COH             203999300016                Gas           Gov. Aggregation
DEO             2422100234145               Gas           Gov. Aggregation   COH             203732330014                Gas           Gov. Aggregation
DEO             2500052299443               Gas           Gov. Aggregation   COH             203997900014                Gas           Gov. Aggregation
DEO             7120000076203               Gas           Gov. Aggregation   COH             201541140039                Gas           Gov. Aggregation
COH             169598480012                Gas           Gov. Aggregation   COH             141312250043                Gas           Gov. Aggregation
DEO             8180005935414               Gas           Gov. Aggregation   COH             203642620014                Gas           Gov. Aggregation
COH             158497450033                Gas           Gov. Aggregation   COH             202959560017                Gas           Gov. Aggregation
COH             203239270013                Gas           Gov. Aggregation   COH             203068700104                Gas           Gov. Aggregation
VEDO            4020124102273705            Gas           Gov. Aggregation   COH             190954310050                Gas           Gov. Aggregation
COH             149088750010                Gas           Gov. Aggregation   COH             162551390132                Gas           Gov. Aggregation
COH             159311250036                Gas           Gov. Aggregation   COH             195966230039                Gas           Gov. Aggregation
DEO             2180003979593               Gas           Gov. Aggregation   COH             195969440048                Gas           Gov. Aggregation
DEO             7180004695474               Gas           Gov. Aggregation   COH             176757450039                Gas           Gov. Aggregation
COH             147120220013                Gas           Gov. Aggregation   COH             202788370010                Gas           Gov. Aggregation
COH             203426090014                Gas           Gov. Aggregation   COH             192481010036                Gas           Gov. Aggregation
COH             108681960017                Gas           Gov. Aggregation   COH             203162080016                Gas           Gov. Aggregation
DEO             8421002321733               Gas           Gov. Aggregation   COH             202587250011                Gas           Gov. Aggregation
COH             203378830011                Gas           Gov. Aggregation   COH             202666380016                Gas           Gov. Aggregation
COH             148715640022                Gas           Gov. Aggregation   COH             203541710019                Gas           Gov. Aggregation
COH             114713510078                Gas           Gov. Aggregation   COH             193385700025                Gas           Gov. Aggregation
COH             123847340016                Gas           Gov. Aggregation   COH             202472900017                Gas           Gov. Aggregation
COH             111167630020                Gas           Gov. Aggregation   COH             202305200026                Gas           Gov. Aggregation
COH             189427190029                Gas           Gov. Aggregation   COH             202939630014                Gas           Gov. Aggregation
COH             111221980030                Gas           Gov. Aggregation   COH             202939630032                Gas           Gov. Aggregation
COH             137478300020                Gas           Gov. Aggregation   COH             186171480024                Gas           Gov. Aggregation
COH             139310350022                Gas           Gov. Aggregation   COH             150278710030                Gas           Gov. Aggregation
COH             141914740044                Gas           Gov. Aggregation   COH             122467140015                Gas           Gov. Aggregation
COH             143361300010                Gas           Gov. Aggregation   COH             204089480017                Gas           Gov. Aggregation
COH             143809660042                Gas           Gov. Aggregation   COH             204207630013                Gas           Gov. Aggregation
COH             153619670032                Gas           Gov. Aggregation   COH             204537610018                Gas           Gov. Aggregation
COH             156603690074                Gas           Gov. Aggregation   COH             189715300033                Gas           Gov. Aggregation
COH             167234700044                Gas           Gov. Aggregation   COH             198946870025                Gas           Gov. Aggregation
COH             168052500014                Gas           Gov. Aggregation   COH             195039200021                Gas           Gov. Aggregation
COH             169223260039                Gas           Gov. Aggregation   COH             194199320029                Gas           Gov. Aggregation
COH             169946000022                Gas           Gov. Aggregation   COH             122470050035                Gas           Gov. Aggregation
COH             171861140038                Gas           Gov. Aggregation   COH             167522410017                Gas           Gov. Aggregation
COH             185026610051                Gas           Gov. Aggregation   COH             203770610015                Gas           Gov. Aggregation
COH             187231120020                Gas           Gov. Aggregation   COH             204281340018                Gas           Gov. Aggregation
COH             192298700030                Gas           Gov. Aggregation   COH             195604430033                Gas           Gov. Aggregation
COH             192313600028                Gas           Gov. Aggregation   COH             176465110020                Gas           Gov. Aggregation
COH             192976820046                Gas           Gov. Aggregation   COH             122438750054                Gas           Gov. Aggregation
COH             193268690026                Gas           Gov. Aggregation   COH             159785530034                Gas           Gov. Aggregation
COH             196048470016                Gas           Gov. Aggregation   COH             122511800020                Gas           Gov. Aggregation
COH             196662490029                Gas           Gov. Aggregation   COH             203739200017                Gas           Gov. Aggregation
COH             196716770034                Gas           Gov. Aggregation   COH             196312220053                Gas           Gov. Aggregation
COH             197873520015                Gas           Gov. Aggregation   COH             185545620040                Gas           Gov. Aggregation
COH             197975570019                Gas           Gov. Aggregation   COH             203616400015                Gas           Gov. Aggregation
COH             197975570028                Gas           Gov. Aggregation   COH             144228560026                Gas           Gov. Aggregation
COH             198022780040                Gas           Gov. Aggregation   COH             203051420019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             198026680025                Gas           Gov. Aggregation   COH             138225250034                Gas           Gov. Aggregation
COH             198130500030                Gas           Gov. Aggregation   COH             137460000020                Gas           Gov. Aggregation
COH             198700160015                Gas           Gov. Aggregation   COH             204290400016                Gas           Gov. Aggregation
COH             198722840016                Gas           Gov. Aggregation   COH             203704730028                Gas           Gov. Aggregation
COH             198823450014                Gas           Gov. Aggregation   COH             189124950021                Gas           Gov. Aggregation
COH             198842340017                Gas           Gov. Aggregation   COH             122423840029                Gas           Gov. Aggregation
COH             198933830011                Gas           Gov. Aggregation   COH             204179390015                Gas           Gov. Aggregation
COH             199731980035                Gas           Gov. Aggregation   COH             203966840012                Gas           Gov. Aggregation
COH             199731980044                Gas           Gov. Aggregation   COH             203762110017                Gas           Gov. Aggregation
COH             199929280024                Gas           Gov. Aggregation   COH             193882080059                Gas           Gov. Aggregation
COH             200030840018                Gas           Gov. Aggregation   COH             196148310026                Gas           Gov. Aggregation
COH             200041420013                Gas           Gov. Aggregation   COH             192589330022                Gas           Gov. Aggregation
COH             200066190010                Gas           Gov. Aggregation   COH             191054720033                Gas           Gov. Aggregation
COH             200076470029                Gas           Gov. Aggregation   COH             185277130033                Gas           Gov. Aggregation
COH             200316330019                Gas           Gov. Aggregation   COH             198455240028                Gas           Gov. Aggregation
COH             200509740014                Gas           Gov. Aggregation   COH             203762100019                Gas           Gov. Aggregation
COH             200577570017                Gas           Gov. Aggregation   COH             202638920011                Gas           Gov. Aggregation
COH             201017310016                Gas           Gov. Aggregation   COH             203325120011                Gas           Gov. Aggregation
COH             201048630014                Gas           Gov. Aggregation   COH             203666770013                Gas           Gov. Aggregation
COH             201268600014                Gas           Gov. Aggregation   COH             202964280015                Gas           Gov. Aggregation
COH             201340320028                Gas           Gov. Aggregation   COH             188587420032                Gas           Gov. Aggregation
COH             201365450010                Gas           Gov. Aggregation   COH             188772760038                Gas           Gov. Aggregation
COH             201365460018                Gas           Gov. Aggregation   COH             168191510054                Gas           Gov. Aggregation
COH             201616610013                Gas           Gov. Aggregation   COH             172482040087                Gas           Gov. Aggregation
COH             201740360013                Gas           Gov. Aggregation   COH             196109170019                Gas           Gov. Aggregation
COH             201760970013                Gas           Gov. Aggregation   COH             195819710039                Gas           Gov. Aggregation
COH             201925790011                Gas           Gov. Aggregation   COH             138819930050                Gas           Gov. Aggregation
COH             202264790012                Gas           Gov. Aggregation   COH             202732340013                Gas           Gov. Aggregation
COH             202274140017                Gas           Gov. Aggregation   COH             202699290016                Gas           Gov. Aggregation
COH             202301540014                Gas           Gov. Aggregation   COH             154278430053                Gas           Gov. Aggregation
COH             202356460016                Gas           Gov. Aggregation   COH             153076070076                Gas           Gov. Aggregation
COH             202365750016                Gas           Gov. Aggregation   COH             149745640046                Gas           Gov. Aggregation
COH             202624650017                Gas           Gov. Aggregation   COH             165557160064                Gas           Gov. Aggregation
COH             202650600012                Gas           Gov. Aggregation   COH             170639990041                Gas           Gov. Aggregation
COH             202734060018                Gas           Gov. Aggregation   COH             169802750056                Gas           Gov. Aggregation
COH             202764150016                Gas           Gov. Aggregation   COH             204179350013                Gas           Gov. Aggregation
COH             202787570010                Gas           Gov. Aggregation   COH             203949640010                Gas           Gov. Aggregation
COH             203063730019                Gas           Gov. Aggregation   COH             201396620028                Gas           Gov. Aggregation
COH             203158890015                Gas           Gov. Aggregation   COH             152093300125                Gas           Gov. Aggregation
COH             203268620018                Gas           Gov. Aggregation   COH             203446100019                Gas           Gov. Aggregation
COH             199462810013                Gas           Gov. Aggregation   COH             202699280018                Gas           Gov. Aggregation
COH             200034460010                Gas           Gov. Aggregation   COH             203093710010                Gas           Gov. Aggregation
COH             202560740014                Gas           Gov. Aggregation   COH             202757020018                Gas           Gov. Aggregation
COH             196681990015                Gas           Gov. Aggregation   COH             202748580010                Gas           Gov. Aggregation
COH             197269970012                Gas           Gov. Aggregation   COH             203229290010                Gas           Gov. Aggregation
COH             199150750017                Gas           Gov. Aggregation   COH             203004850018                Gas           Gov. Aggregation
COH             199283120018                Gas           Gov. Aggregation   COH             203064100019                Gas           Gov. Aggregation
COH             173481250011                Gas           Gov. Aggregation   COH             201836700018                Gas           Gov. Aggregation
COH             123740260037                Gas           Gov. Aggregation   COH             195116910046                Gas           Gov. Aggregation
COH             174699610013                Gas           Gov. Aggregation   COH             186197510023                Gas           Gov. Aggregation
COH             175442880019                Gas           Gov. Aggregation   COH             176247870032                Gas           Gov. Aggregation
COH             202986190018                Gas           Gov. Aggregation   COH             186891020024                Gas           Gov. Aggregation
COH             192383320039                Gas           Gov. Aggregation   COH             195406820022                Gas           Gov. Aggregation
COH             110645030014                Gas           Gov. Aggregation   COH             203197790014                Gas           Gov. Aggregation
COH             149588980012                Gas           Gov. Aggregation   COH             202594280010                Gas           Gov. Aggregation
COH             150106840081                Gas           Gov. Aggregation   COH             202938300015                Gas           Gov. Aggregation
COH             150106840090                Gas           Gov. Aggregation   COH             203415250013                Gas           Gov. Aggregation
COH             110653940016                Gas           Gov. Aggregation   COH             144660300015                Gas           Gov. Aggregation
COH             110654040013                Gas           Gov. Aggregation   COH             202638870021                Gas           Gov. Aggregation
COH             110654090013                Gas           Gov. Aggregation   COH             202334720035                Gas           Gov. Aggregation
COH             195964950014                Gas           Gov. Aggregation   COH             187419340035                Gas           Gov. Aggregation
COH             110575780016                Gas           Gov. Aggregation   COH             193757230123                Gas           Gov. Aggregation
COH             160467180084                Gas           Gov. Aggregation   COH             191139110022                Gas           Gov. Aggregation
COH             167405560023                Gas           Gov. Aggregation   COH             188464140059                Gas           Gov. Aggregation
COH             147782530025                Gas           Gov. Aggregation   COH             204153010018                Gas           Gov. Aggregation
COH             110621230012                Gas           Gov. Aggregation   COH             122500360026                Gas           Gov. Aggregation
COH             133975890027                Gas           Gov. Aggregation   COH             202547480017                Gas           Gov. Aggregation
COH             148912110016                Gas           Gov. Aggregation   COH             199595250029                Gas           Gov. Aggregation
COH             200636470012                Gas           Gov. Aggregation   COH             203497330014                Gas           Gov. Aggregation
COH             196185570015                Gas           Gov. Aggregation   COH             203619030017                Gas           Gov. Aggregation
COH             110289470054                Gas           Gov. Aggregation   COH             202873730013                Gas           Gov. Aggregation
COH             129849110087                Gas           Gov. Aggregation   COH             202707930012                Gas           Gov. Aggregation
COH             129080670026                Gas           Gov. Aggregation   COH             202738540019                Gas           Gov. Aggregation
COH             169384260039                Gas           Gov. Aggregation   COH             203229280012                Gas           Gov. Aggregation
COH             166480120019                Gas           Gov. Aggregation   COH             203278950018                Gas           Gov. Aggregation
COH             141381120018                Gas           Gov. Aggregation   COH             172850380049                Gas           Gov. Aggregation
COH             140360210041                Gas           Gov. Aggregation   COH             185311850038                Gas           Gov. Aggregation
COH             110645610012                Gas           Gov. Aggregation   COH             142690700029                Gas           Gov. Aggregation
COH             110645610021                Gas           Gov. Aggregation   COH             197054480298                Gas           Gov. Aggregation
COH             149504940016                Gas           Gov. Aggregation   COH             204600050011                Gas           Gov. Aggregation
COH             200063710025                Gas           Gov. Aggregation   COH             204534690018                Gas           Gov. Aggregation
COH             110644980017                Gas           Gov. Aggregation   COH             204631930011                Gas           Gov. Aggregation
COH             110621540017                Gas           Gov. Aggregation   COH             204285540018                Gas           Gov. Aggregation
COH             174441450076                Gas           Gov. Aggregation   COH             202622740012                Gas           Gov. Aggregation
COH             176228170039                Gas           Gov. Aggregation   COH             203688370011                Gas           Gov. Aggregation
COH             193446610015                Gas           Gov. Aggregation   COH             203592650015                Gas           Gov. Aggregation
COH             130538080062                Gas           Gov. Aggregation   COH             169078030018                Gas           Gov. Aggregation
COH             138593490026                Gas           Gov. Aggregation   COH             191480220044                Gas           Gov. Aggregation
COH             158671090119                Gas           Gov. Aggregation   COH             193757230105                Gas           Gov. Aggregation
COH             110552450013                Gas           Gov. Aggregation   COH             196064260025                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             201900930013                Gas           Gov. Aggregation   COH             197779440021                Gas           Gov. Aggregation
COH             191532630010                Gas           Gov. Aggregation   COH             141573240141                Gas           Gov. Aggregation
COH             160882260167                Gas           Gov. Aggregation   COH             194350840064                Gas           Gov. Aggregation
COH             160482630023                Gas           Gov. Aggregation   COH             198986070038                Gas           Gov. Aggregation
COH             110602670029                Gas           Gov. Aggregation   COH             154807490021                Gas           Gov. Aggregation
COH             145809330030                Gas           Gov. Aggregation   COH             203256360018                Gas           Gov. Aggregation
COH             110559480013                Gas           Gov. Aggregation   COH             202816640012                Gas           Gov. Aggregation
COH             201582930019                Gas           Gov. Aggregation   COH             202942880015                Gas           Gov. Aggregation
COH             199258220010                Gas           Gov. Aggregation   COH             202878100024                Gas           Gov. Aggregation
COH             200628930021                Gas           Gov. Aggregation   COH             204281330010                Gas           Gov. Aggregation
COH             152988190015                Gas           Gov. Aggregation   COH             204311540011                Gas           Gov. Aggregation
COH             157543320096                Gas           Gov. Aggregation   COH             131321640035                Gas           Gov. Aggregation
COH             110596370036                Gas           Gov. Aggregation   COH             189929680059                Gas           Gov. Aggregation
COH             191259270025                Gas           Gov. Aggregation   COH             186739990050                Gas           Gov. Aggregation
COH             144723820021                Gas           Gov. Aggregation   COH             122421770019                Gas           Gov. Aggregation
COH             203345700017                Gas           Gov. Aggregation   COH             186131820035                Gas           Gov. Aggregation
COH             194671430015                Gas           Gov. Aggregation   COH             192132770045                Gas           Gov. Aggregation
COH             194229290012                Gas           Gov. Aggregation   COH             204372020012                Gas           Gov. Aggregation
COH             110600120064                Gas           Gov. Aggregation   COH             203660820014                Gas           Gov. Aggregation
COH             110572130018                Gas           Gov. Aggregation   COH             204400640011                Gas           Gov. Aggregation
COH             110572210011                Gas           Gov. Aggregation   COH             197097960028                Gas           Gov. Aggregation
COH             158935450015                Gas           Gov. Aggregation   COH             195801170030                Gas           Gov. Aggregation
COH             148701250014                Gas           Gov. Aggregation   COH             202513520019                Gas           Gov. Aggregation
COH             186366340011                Gas           Gov. Aggregation   COH             200992840010                Gas           Gov. Aggregation
COH             202268640015                Gas           Gov. Aggregation   COH             203294320016                Gas           Gov. Aggregation
COH             202857070016                Gas           Gov. Aggregation   COH             135686230053                Gas           Gov. Aggregation
COH             157825270017                Gas           Gov. Aggregation   COH             204622100014                Gas           Gov. Aggregation
COH             171091650016                Gas           Gov. Aggregation   COH             203726540013                Gas           Gov. Aggregation
COH             110561790013                Gas           Gov. Aggregation   COH             204054440018                Gas           Gov. Aggregation
COH             110554320016                Gas           Gov. Aggregation   COH             186421000023                Gas           Gov. Aggregation
COH             186946460016                Gas           Gov. Aggregation   COH             204795320013                Gas           Gov. Aggregation
COH             198365380011                Gas           Gov. Aggregation   DEO             2500063562198               Gas           Gov. Aggregation
COH             198482640018                Gas           Gov. Aggregation   DEO             4500036930592               Gas           Gov. Aggregation
COH             199491060038                Gas           Gov. Aggregation   DEO             1140000067537               Gas           Gov. Aggregation
COH             200126030015                Gas           Gov. Aggregation   COH             202572780011                Gas           Gov. Aggregation
COH             199744520016                Gas           Gov. Aggregation   COH             201073920010                Gas           Gov. Aggregation
COH             200653460018                Gas           Gov. Aggregation   COH             201254760029                Gas           Gov. Aggregation
COH             195739900011                Gas           Gov. Aggregation   COH             201176030073                Gas           Gov. Aggregation
COH             195041740014                Gas           Gov. Aggregation   COH             201619880011                Gas           Gov. Aggregation
COH             195099840021                Gas           Gov. Aggregation   COH             200422870057                Gas           Gov. Aggregation
COH             194549980028                Gas           Gov. Aggregation   COH             200843260017                Gas           Gov. Aggregation
COH             191818910015                Gas           Gov. Aggregation   COH             198841500033                Gas           Gov. Aggregation
COH             191072620018                Gas           Gov. Aggregation   COH             203988360017                Gas           Gov. Aggregation
COH             193241980012                Gas           Gov. Aggregation   COH             204482050013                Gas           Gov. Aggregation
COH             192702900011                Gas           Gov. Aggregation   COH             202176920011                Gas           Gov. Aggregation
COH             190640750017                Gas           Gov. Aggregation   COH             185845990083                Gas           Gov. Aggregation
COH             192565370015                Gas           Gov. Aggregation   COH             156227930026                Gas           Gov. Aggregation
COH             171510540046                Gas           Gov. Aggregation   COH             170348950028                Gas           Gov. Aggregation
COH             175348070028                Gas           Gov. Aggregation   COH             172050320207                Gas           Gov. Aggregation
COH             175225700016                Gas           Gov. Aggregation   COH             200888260013                Gas           Gov. Aggregation
COH             123726410026                Gas           Gov. Aggregation   COH             197930050012                Gas           Gov. Aggregation
COH             123727780027                Gas           Gov. Aggregation   DEO             5500008341527               Gas           Gov. Aggregation
COH             123737820036                Gas           Gov. Aggregation   DEO             3500048473581               Gas           Gov. Aggregation
COH             124056400028                Gas           Gov. Aggregation   DEO             5140000084334               Gas           Gov. Aggregation
COH             135595410021                Gas           Gov. Aggregation   DEO             7421003588013               Gas           Gov. Aggregation
COH             138042400021                Gas           Gov. Aggregation   COH             185022080051                Gas           Gov. Aggregation
COH             154236730094                Gas           Gov. Aggregation   COH             190290710018                Gas           Gov. Aggregation
COH             166610840011                Gas           Gov. Aggregation   COH             164966950017                Gas           Gov. Aggregation
COH             165705890039                Gas           Gov. Aggregation   COH             120448300013                Gas           Gov. Aggregation
COH             165122790018                Gas           Gov. Aggregation   COH             135439870025                Gas           Gov. Aggregation
COH             151796140031                Gas           Gov. Aggregation   COH             202623680013                Gas           Gov. Aggregation
COH             165555580015                Gas           Gov. Aggregation   COH             134840970015                Gas           Gov. Aggregation
COH             165660820020                Gas           Gov. Aggregation   COH             122384900039                Gas           Gov. Aggregation
COH             164940910028                Gas           Gov. Aggregation   COH             125731150019                Gas           Gov. Aggregation
COH             160181520015                Gas           Gov. Aggregation   COH             125731150037                Gas           Gov. Aggregation
COH             201855250013                Gas           Gov. Aggregation   COH             151455740028                Gas           Gov. Aggregation
COH             201074040013                Gas           Gov. Aggregation   COH             187555970026                Gas           Gov. Aggregation
COH             202268970016                Gas           Gov. Aggregation   COH             145299300066                Gas           Gov. Aggregation
COH             193676030010                Gas           Gov. Aggregation   COH             124391920010                Gas           Gov. Aggregation
COH             123717530011                Gas           Gov. Aggregation   COH             190559200015                Gas           Gov. Aggregation
COH             133258440012                Gas           Gov. Aggregation   DEO             2120000183427               Gas           Gov. Aggregation
COH             147677310033                Gas           Gov. Aggregation   DEO             0500007698100               Gas           Gov. Aggregation
COH             166994210066                Gas           Gov. Aggregation   DEO             4120000055854               Gas           Gov. Aggregation
COH             162717240024                Gas           Gov. Aggregation   DEO             4500061115509               Gas           Gov. Aggregation
COH             193336160022                Gas           Gov. Aggregation   DEO             0500030423707               Gas           Gov. Aggregation
COH             202690530013                Gas           Gov. Aggregation   DEO             7421005061850               Gas           Gov. Aggregation
COH             202880460015                Gas           Gov. Aggregation   DEO             5500037014044               Gas           Gov. Aggregation
COH             158151770047                Gas           Gov. Aggregation   DEO             0500028607671               Gas           Gov. Aggregation
COH             147196270023                Gas           Gov. Aggregation   DEO             1500018916921               Gas           Gov. Aggregation
COH             158858640064                Gas           Gov. Aggregation   DEO             1120000057927               Gas           Gov. Aggregation
COH             201955260019                Gas           Gov. Aggregation   DEO             4120000189743               Gas           Gov. Aggregation
COH             193711030032                Gas           Gov. Aggregation   DEO             7421003443288               Gas           Gov. Aggregation
COH             123737890014                Gas           Gov. Aggregation   DEO             1421001858440               Gas           Gov. Aggregation
COH             146527840021                Gas           Gov. Aggregation   DEO             4421001950891               Gas           Gov. Aggregation
COH             123730370062                Gas           Gov. Aggregation   DEO             5421002630791               Gas           Gov. Aggregation
COH             188269560037                Gas           Gov. Aggregation   DEO             4500004997648               Gas           Gov. Aggregation
COH             192466160055                Gas           Gov. Aggregation   DEO             2500020660812               Gas           Gov. Aggregation
COH             123683730012                Gas           Gov. Aggregation   DEO             3421106297808               Gas           Gov. Aggregation
COH             197782850019                Gas           Gov. Aggregation   COH             158586270032                Gas           Gov. Aggregation
COH             162165060023                Gas           Gov. Aggregation   DEO             5420901103026               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             123635660045                Gas           Gov. Aggregation   DEO             5421001959359               Gas           Gov. Aggregation
COH             196150730014                Gas           Gov. Aggregation   DEO             3500065794306               Gas           Gov. Aggregation
COH             197906500018                Gas           Gov. Aggregation   COH             120446690034                Gas           Gov. Aggregation
COH             196424220029                Gas           Gov. Aggregation   DEO             1500046683604               Gas           Gov. Aggregation
COH             190891410017                Gas           Gov. Aggregation   COH             204323760010                Gas           Gov. Aggregation
COH             165938410027                Gas           Gov. Aggregation   COH             203791710010                Gas           Gov. Aggregation
COH             199470910015                Gas           Gov. Aggregation   COH             190931600011                Gas           Gov. Aggregation
COH             201683150019                Gas           Gov. Aggregation   COH             111154850021                Gas           Gov. Aggregation
COH             200349960018                Gas           Gov. Aggregation   COH             203188980013                Gas           Gov. Aggregation
COH             200239920019                Gas           Gov. Aggregation   COH             203549510015                Gas           Gov. Aggregation
COH             196556170012                Gas           Gov. Aggregation   COH             196050480037                Gas           Gov. Aggregation
COH             197711840010                Gas           Gov. Aggregation   COH             204388490011                Gas           Gov. Aggregation
COH             173927530016                Gas           Gov. Aggregation   COH             189161820075                Gas           Gov. Aggregation
COH             174635260020                Gas           Gov. Aggregation   COH             189574720053                Gas           Gov. Aggregation
COH             197424300012                Gas           Gov. Aggregation   COH             198915010039                Gas           Gov. Aggregation
COH             198042950015                Gas           Gov. Aggregation   COH             200794720015                Gas           Gov. Aggregation
COH             198586270034                Gas           Gov. Aggregation   COH             193960830279                Gas           Gov. Aggregation
COH             160260880021                Gas           Gov. Aggregation   COH             204621950018                Gas           Gov. Aggregation
COH             159929900012                Gas           Gov. Aggregation   COH             204297180019                Gas           Gov. Aggregation
COH             123647840015                Gas           Gov. Aggregation   COH             189161820066                Gas           Gov. Aggregation
COH             123635560028                Gas           Gov. Aggregation   COH             194303600036                Gas           Gov. Aggregation
COH             123656400027                Gas           Gov. Aggregation   COH             193960830135                Gas           Gov. Aggregation
COH             123684630020                Gas           Gov. Aggregation   COH             166652510085                Gas           Gov. Aggregation
COH             191873910019                Gas           Gov. Aggregation   COH             157690520011                Gas           Gov. Aggregation
COH             192900480010                Gas           Gov. Aggregation   COH             111065730016                Gas           Gov. Aggregation
COH             200167100014                Gas           Gov. Aggregation   COH             203930090015                Gas           Gov. Aggregation
COH             202811640012                Gas           Gov. Aggregation   COH             204073600014                Gas           Gov. Aggregation
COH             202438230010                Gas           Gov. Aggregation   COH             202853610010                Gas           Gov. Aggregation
COH             201283410012                Gas           Gov. Aggregation   COH             202839530017                Gas           Gov. Aggregation
COH             201050320014                Gas           Gov. Aggregation   COH             173694780037                Gas           Gov. Aggregation
COH             201183400016                Gas           Gov. Aggregation   COH             204506900012                Gas           Gov. Aggregation
COH             160649400018                Gas           Gov. Aggregation   COH             197609400037                Gas           Gov. Aggregation
COH             188220530044                Gas           Gov. Aggregation   COH             173895070049                Gas           Gov. Aggregation
COH             195002580010                Gas           Gov. Aggregation   COH             203021150019                Gas           Gov. Aggregation
COH             199982480011                Gas           Gov. Aggregation   COH             203446040012                Gas           Gov. Aggregation
COH             168777150012                Gas           Gov. Aggregation   COH             150236940076                Gas           Gov. Aggregation
COH             201277430039                Gas           Gov. Aggregation   COH             196894960029                Gas           Gov. Aggregation
COH             201105840018                Gas           Gov. Aggregation   COH             196822230014                Gas           Gov. Aggregation
COH             201084200018                Gas           Gov. Aggregation   COH             193674340028                Gas           Gov. Aggregation
COH             123637260018                Gas           Gov. Aggregation   COH             151998200012                Gas           Gov. Aggregation
COH             123733420010                Gas           Gov. Aggregation   COH             200250910026                Gas           Gov. Aggregation
COH             154526500079                Gas           Gov. Aggregation   COH             190332370047                Gas           Gov. Aggregation
COH             154771140094                Gas           Gov. Aggregation   COH             204344340014                Gas           Gov. Aggregation
COH             143275310011                Gas           Gov. Aggregation   COH             171720910016                Gas           Gov. Aggregation
COH             169019770017                Gas           Gov. Aggregation   COH             203568040014                Gas           Gov. Aggregation
COH             199100770018                Gas           Gov. Aggregation   COH             111035260018                Gas           Gov. Aggregation
COH             130511540025                Gas           Gov. Aggregation   COH             111036770019                Gas           Gov. Aggregation
COH             133053480081                Gas           Gov. Aggregation   COH             204584900018                Gas           Gov. Aggregation
COH             157494890010                Gas           Gov. Aggregation   COH             202826400011                Gas           Gov. Aggregation
COH             201018980014                Gas           Gov. Aggregation   COH             202826400020                Gas           Gov. Aggregation
COH             201096080019                Gas           Gov. Aggregation   COH             203099940010                Gas           Gov. Aggregation
COH             203144690016                Gas           Gov. Aggregation   COH             166906970017                Gas           Gov. Aggregation
COH             168687700017                Gas           Gov. Aggregation   COH             161963070011                Gas           Gov. Aggregation
COH             160745090047                Gas           Gov. Aggregation   COH             136004980040                Gas           Gov. Aggregation
COH             123673940019                Gas           Gov. Aggregation   COH             189124790016                Gas           Gov. Aggregation
COH             123677510020                Gas           Gov. Aggregation   COH             193081430026                Gas           Gov. Aggregation
COH             192303030010                Gas           Gov. Aggregation   COH             204518870014                Gas           Gov. Aggregation
COH             188987250049                Gas           Gov. Aggregation   COH             203084150017                Gas           Gov. Aggregation
COH             190297770030                Gas           Gov. Aggregation   COH             204179130019                Gas           Gov. Aggregation
COH             194503450016                Gas           Gov. Aggregation   COH             121955590017                Gas           Gov. Aggregation
COH             200485920018                Gas           Gov. Aggregation   COH             137887840011                Gas           Gov. Aggregation
COH             200684450015                Gas           Gov. Aggregation   COH             111289460019                Gas           Gov. Aggregation
COH             203078100010                Gas           Gov. Aggregation   COH             163644750021                Gas           Gov. Aggregation
COH             203010960012                Gas           Gov. Aggregation   COH             190153400013                Gas           Gov. Aggregation
COH             202994850012                Gas           Gov. Aggregation   COH             187962970014                Gas           Gov. Aggregation
COH             202857340019                Gas           Gov. Aggregation   COH             187634580011                Gas           Gov. Aggregation
COH             189775080025                Gas           Gov. Aggregation   COH             187896290018                Gas           Gov. Aggregation
COH             191085280022                Gas           Gov. Aggregation   COH             111290890016                Gas           Gov. Aggregation
COH             193749900012                Gas           Gov. Aggregation   COH             174091210015                Gas           Gov. Aggregation
COH             172401840034                Gas           Gov. Aggregation   COH             111270830010                Gas           Gov. Aggregation
COH             170834950018                Gas           Gov. Aggregation   COH             141103130023                Gas           Gov. Aggregation
COH             200693850012                Gas           Gov. Aggregation   COH             170454430013                Gas           Gov. Aggregation
COH             164715580123                Gas           Gov. Aggregation   COH             111251060012                Gas           Gov. Aggregation
COH             161883570052                Gas           Gov. Aggregation   COH             175398520046                Gas           Gov. Aggregation
COH             148723460023                Gas           Gov. Aggregation   COH             157589560018                Gas           Gov. Aggregation
COH             155838200052                Gas           Gov. Aggregation   COH             133668110030                Gas           Gov. Aggregation
COH             134171680051                Gas           Gov. Aggregation   COH             142071460022                Gas           Gov. Aggregation
COH             162622330080                Gas           Gov. Aggregation   COH             142861410018                Gas           Gov. Aggregation
COH             163714380020                Gas           Gov. Aggregation   COH             155388280015                Gas           Gov. Aggregation
COH             203034400019                Gas           Gov. Aggregation   COH             189339070012                Gas           Gov. Aggregation
COH             203045920017                Gas           Gov. Aggregation   COH             173103720012                Gas           Gov. Aggregation
COH             202066000035                Gas           Gov. Aggregation   COH             189706040019                Gas           Gov. Aggregation
COH             202319740015                Gas           Gov. Aggregation   DEO             3421703341753               Gas           Gov. Aggregation
COH             123655350020                Gas           Gov. Aggregation   COH             166058570010                Gas           Gov. Aggregation
COH             154960790033                Gas           Gov. Aggregation   COH             110023400078                Gas           Gov. Aggregation
COH             135140260044                Gas           Gov. Aggregation   COH             190066040014                Gas           Gov. Aggregation
COH             129859060925                Gas           Gov. Aggregation   COH             204089420019                Gas           Gov. Aggregation
COH             202469950014                Gas           Gov. Aggregation   COH             204248340018                Gas           Gov. Aggregation
COH             201219180016                Gas           Gov. Aggregation   COH             203064040012                Gas           Gov. Aggregation
COH             201207790013                Gas           Gov. Aggregation   COH             203460250018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             201589970017                Gas           Gov. Aggregation   COH             203238570012                Gas           Gov. Aggregation
COH             201609290016                Gas           Gov. Aggregation   COH             202816560019                Gas           Gov. Aggregation
COH             202161730012                Gas           Gov. Aggregation   COH             202417660014                Gas           Gov. Aggregation
COH             202560850011                Gas           Gov. Aggregation   COH             136621360060                Gas           Gov. Aggregation
COH             201388730013                Gas           Gov. Aggregation   COH             143862620011                Gas           Gov. Aggregation
COH             192483630014                Gas           Gov. Aggregation   COH             121788300012                Gas           Gov. Aggregation
COH             195208970030                Gas           Gov. Aggregation   COH             201189910026                Gas           Gov. Aggregation
COH             197999430018                Gas           Gov. Aggregation   COH             190467100020                Gas           Gov. Aggregation
COH             196304950011                Gas           Gov. Aggregation   COH             203527770017                Gas           Gov. Aggregation
COH             198498360014                Gas           Gov. Aggregation   COH             204351760011                Gas           Gov. Aggregation
COH             198512020013                Gas           Gov. Aggregation   COH             149376790039                Gas           Gov. Aggregation
COH             199755360017                Gas           Gov. Aggregation   COH             198293980036                Gas           Gov. Aggregation
COH             199561710023                Gas           Gov. Aggregation   COH             196189500048                Gas           Gov. Aggregation
COH             199634780015                Gas           Gov. Aggregation   COH             200244760030                Gas           Gov. Aggregation
COH             199622990016                Gas           Gov. Aggregation   COH             144847970046                Gas           Gov. Aggregation
COH             197305520018                Gas           Gov. Aggregation   COH             111055020025                Gas           Gov. Aggregation
COH             197957210021                Gas           Gov. Aggregation   COH             202214600034                Gas           Gov. Aggregation
COH             197810910015                Gas           Gov. Aggregation   COH             202309920036                Gas           Gov. Aggregation
COH             197631720024                Gas           Gov. Aggregation   COH             204024990016                Gas           Gov. Aggregation
COH             192814580021                Gas           Gov. Aggregation   COH             188633760050                Gas           Gov. Aggregation
COH             189680040015                Gas           Gov. Aggregation   COH             177639650018                Gas           Gov. Aggregation
COH             190159810024                Gas           Gov. Aggregation   COH             198067660023                Gas           Gov. Aggregation
COH             190211710032                Gas           Gov. Aggregation   COH             111067940018                Gas           Gov. Aggregation
COH             177209840082                Gas           Gov. Aggregation   COH             202984210017                Gas           Gov. Aggregation
COH             176119420055                Gas           Gov. Aggregation   COH             203162060010                Gas           Gov. Aggregation
COH             176854930014                Gas           Gov. Aggregation   COH             203286970017                Gas           Gov. Aggregation
COH             123691320020                Gas           Gov. Aggregation   COH             202974560015                Gas           Gov. Aggregation
COH             123655050023                Gas           Gov. Aggregation   COH             203497230015                Gas           Gov. Aggregation
COH             123655150013                Gas           Gov. Aggregation   COH             203536690015                Gas           Gov. Aggregation
COH             192922450010                Gas           Gov. Aggregation   COH             202984200019                Gas           Gov. Aggregation
COH             190566840016                Gas           Gov. Aggregation   DEO             7120000124942               Gas           Gov. Aggregation
COH             123683330025                Gas           Gov. Aggregation   DEO             9421005780302               Gas           Gov. Aggregation
COH             123727090013                Gas           Gov. Aggregation   DEO             5140000099059               Gas           Gov. Aggregation
COH             123727770010                Gas           Gov. Aggregation   COH             204743960018                Gas           Gov. Aggregation
COH             123733550022                Gas           Gov. Aggregation   DEO             8120000149268               Gas           Gov. Aggregation
COH             152461190011                Gas           Gov. Aggregation   DEO             2421005323199               Gas           Gov. Aggregation
COH             156763570017                Gas           Gov. Aggregation   COH             122384050010                Gas           Gov. Aggregation
COH             158946900133                Gas           Gov. Aggregation   DEO             4180008454776               Gas           Gov. Aggregation
COH             143858490027                Gas           Gov. Aggregation   DEO             2140000044353               Gas           Gov. Aggregation
COH             142711220015                Gas           Gov. Aggregation   COH             172700300042                Gas           Gov. Aggregation
COH             170478800015                Gas           Gov. Aggregation   COH             202456450016                Gas           Gov. Aggregation
COH             196851390010                Gas           Gov. Aggregation   COH             204738880016                Gas           Gov. Aggregation
COH             196445900013                Gas           Gov. Aggregation   COH             202453020012                Gas           Gov. Aggregation
COH             159474710026                Gas           Gov. Aggregation   COH             201372520010                Gas           Gov. Aggregation
COH             159884920014                Gas           Gov. Aggregation   COH             156905390068                Gas           Gov. Aggregation
COH             203173090011                Gas           Gov. Aggregation   COH             201433940012                Gas           Gov. Aggregation
COH             201277440019                Gas           Gov. Aggregation   COH             202208800017                Gas           Gov. Aggregation
COH             202544660015                Gas           Gov. Aggregation   COH             202893950015                Gas           Gov. Aggregation
COH             171014780011                Gas           Gov. Aggregation   COH             144934680033                Gas           Gov. Aggregation
COH             132201170055                Gas           Gov. Aggregation   COH             111287730016                Gas           Gov. Aggregation
COH             137304040031                Gas           Gov. Aggregation   COH             200498040016                Gas           Gov. Aggregation
COH             155429830057                Gas           Gov. Aggregation   COH             199386310029                Gas           Gov. Aggregation
COH             152631100027                Gas           Gov. Aggregation   COH             199679180017                Gas           Gov. Aggregation
COH             157649780014                Gas           Gov. Aggregation   COH             203725880014                Gas           Gov. Aggregation
COH             170288080029                Gas           Gov. Aggregation   COH             172441380082                Gas           Gov. Aggregation
COH             170405530079                Gas           Gov. Aggregation   COH             204336720011                Gas           Gov. Aggregation
COH             170405530088                Gas           Gov. Aggregation   COH             199666710012                Gas           Gov. Aggregation
COH             168786330015                Gas           Gov. Aggregation   COH             203696840015                Gas           Gov. Aggregation
COH             169165830033                Gas           Gov. Aggregation   COH             155022560038                Gas           Gov. Aggregation
COH             164265780019                Gas           Gov. Aggregation   COH             192670950029                Gas           Gov. Aggregation
COH             162367420029                Gas           Gov. Aggregation   COH             195250740020                Gas           Gov. Aggregation
COH             201817820013                Gas           Gov. Aggregation   COH             144373950018                Gas           Gov. Aggregation
COH             201178530010                Gas           Gov. Aggregation   COH             152015860015                Gas           Gov. Aggregation
COH             202717360011                Gas           Gov. Aggregation   COH             111094930013                Gas           Gov. Aggregation
COH             202928690015                Gas           Gov. Aggregation   COH             111067860015                Gas           Gov. Aggregation
COH             202711400014                Gas           Gov. Aggregation   COH             176488710035                Gas           Gov. Aggregation
COH             201742160011                Gas           Gov. Aggregation   COH             161831740037                Gas           Gov. Aggregation
COH             201768440018                Gas           Gov. Aggregation   COH             189806600028                Gas           Gov. Aggregation
COH             156690050020                Gas           Gov. Aggregation   COH             124442640029                Gas           Gov. Aggregation
COH             153424000053                Gas           Gov. Aggregation   DEO             4330000012431               Gas           Gov. Aggregation
COH             154799480040                Gas           Gov. Aggregation   COH             201602460014                Gas           Gov. Aggregation
COH             139675020047                Gas           Gov. Aggregation   COH             201836300012                Gas           Gov. Aggregation
COH             123728160016                Gas           Gov. Aggregation   COH             204381440015                Gas           Gov. Aggregation
COH             190547540028                Gas           Gov. Aggregation   COH             201722480016                Gas           Gov. Aggregation
COH             192739790018                Gas           Gov. Aggregation   COH             200855680014                Gas           Gov. Aggregation
COH             192536960012                Gas           Gov. Aggregation   COH             202591280016                Gas           Gov. Aggregation
COH             193755790022                Gas           Gov. Aggregation   COH             200709080028                Gas           Gov. Aggregation
COH             196097980016                Gas           Gov. Aggregation   COH             203981470018                Gas           Gov. Aggregation
COH             197468200011                Gas           Gov. Aggregation   COH             201163370015                Gas           Gov. Aggregation
COH             197418000018                Gas           Gov. Aggregation   COH             200933070025                Gas           Gov. Aggregation
COH             196068860012                Gas           Gov. Aggregation   COH             204324990010                Gas           Gov. Aggregation
COH             168957140049                Gas           Gov. Aggregation   COH             203298760016                Gas           Gov. Aggregation
COH             123734740020                Gas           Gov. Aggregation   COH             203569800012                Gas           Gov. Aggregation
COH             190388240010                Gas           Gov. Aggregation   COH             201470930016                Gas           Gov. Aggregation
COH             173530910035                Gas           Gov. Aggregation   COH             201328780019                Gas           Gov. Aggregation
COH             174766790013                Gas           Gov. Aggregation   COH             142080780035                Gas           Gov. Aggregation
COH             198319690013                Gas           Gov. Aggregation   COH             199137880027                Gas           Gov. Aggregation
COH             126936710043                Gas           Gov. Aggregation   COH             198925040023                Gas           Gov. Aggregation
COH             139266880017                Gas           Gov. Aggregation   COH             174758000051                Gas           Gov. Aggregation
COH             139389660013                Gas           Gov. Aggregation   COH             200763620011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             139531220021                Gas           Gov. Aggregation   COH             162148460025                Gas           Gov. Aggregation
COH             152677400019                Gas           Gov. Aggregation   COH             200907200013                Gas           Gov. Aggregation
COH             149082580018                Gas           Gov. Aggregation   COH             204603590012                Gas           Gov. Aggregation
COH             146139920018                Gas           Gov. Aggregation   COH             204056960015                Gas           Gov. Aggregation
COH             173947020020                Gas           Gov. Aggregation   COH             201852080015                Gas           Gov. Aggregation
COH             173670490010                Gas           Gov. Aggregation   COH             199900970010                Gas           Gov. Aggregation
COH             163664160032                Gas           Gov. Aggregation   COH             196841610014                Gas           Gov. Aggregation
COH             177000790021                Gas           Gov. Aggregation   COH             196266130015                Gas           Gov. Aggregation
COH             202690520015                Gas           Gov. Aggregation   COH             194375620013                Gas           Gov. Aggregation
COH             201612370012                Gas           Gov. Aggregation   COH             166403380017                Gas           Gov. Aggregation
COH             201777840015                Gas           Gov. Aggregation   COH             166403720015                Gas           Gov. Aggregation
COH             201561670018                Gas           Gov. Aggregation   COH             204608400011                Gas           Gov. Aggregation
COH             157318890030                Gas           Gov. Aggregation   COH             200068430024                Gas           Gov. Aggregation
COH             123668480017                Gas           Gov. Aggregation   COH             198232710030                Gas           Gov. Aggregation
COH             199812660012                Gas           Gov. Aggregation   COH             198106560020                Gas           Gov. Aggregation
COH             198433400011                Gas           Gov. Aggregation   COH             186720310024                Gas           Gov. Aggregation
COH             187655240018                Gas           Gov. Aggregation   COH             159687880011                Gas           Gov. Aggregation
COH             188901270027                Gas           Gov. Aggregation   DEO             3180008208827               Gas           Gov. Aggregation
COH             123733330028                Gas           Gov. Aggregation   COH             200839000038                Gas           Gov. Aggregation
COH             123626310029                Gas           Gov. Aggregation   COH             134969170020                Gas           Gov. Aggregation
COH             123707690028                Gas           Gov. Aggregation   VEDO            4002628742390496            Gas           Gov. Aggregation
COH             123677590024                Gas           Gov. Aggregation   COH             117784260033                Gas           Gov. Aggregation
COH             128858160016                Gas           Gov. Aggregation   COH             190741610012                Gas           Gov. Aggregation
COH             127543690040                Gas           Gov. Aggregation   COH             190929040014                Gas           Gov. Aggregation
COH             165730870012                Gas           Gov. Aggregation   DEO             9180008963406               Gas           Gov. Aggregation
COH             154845490049                Gas           Gov. Aggregation   COH             200423970018                Gas           Gov. Aggregation
COH             142060350019                Gas           Gov. Aggregation   COH             173965930021                Gas           Gov. Aggregation
COH             145205450017                Gas           Gov. Aggregation   COH             205361080012                Gas           Gov. Aggregation
COH             146201320057                Gas           Gov. Aggregation   COH             176609870016                Gas           Gov. Aggregation
COH             155933300013                Gas           Gov. Aggregation   COH             111067820013                Gas           Gov. Aggregation
COH             202029770014                Gas           Gov. Aggregation   COH             156340220016                Gas           Gov. Aggregation
COH             201609310011                Gas           Gov. Aggregation   COH             186680680041                Gas           Gov. Aggregation
COH             159215340031                Gas           Gov. Aggregation   COH             201655540025                Gas           Gov. Aggregation
COH             159244360045                Gas           Gov. Aggregation   COH             196266420014                Gas           Gov. Aggregation
COH             123730850016                Gas           Gov. Aggregation   COH             203484410014                Gas           Gov. Aggregation
COH             123721970029                Gas           Gov. Aggregation   COH             205165150013                Gas           Gov. Aggregation
COH             123738370011                Gas           Gov. Aggregation   COH             204311770013                Gas           Gov. Aggregation
COH             155246980027                Gas           Gov. Aggregation   COH             195564340038                Gas           Gov. Aggregation
COH             123737410023                Gas           Gov. Aggregation   COH             197274950051                Gas           Gov. Aggregation
COH             137396970122                Gas           Gov. Aggregation   COH             145091330015                Gas           Gov. Aggregation
COH             137688840022                Gas           Gov. Aggregation   COH             121976400030                Gas           Gov. Aggregation
COH             139015040023                Gas           Gov. Aggregation   COH             130293200191                Gas           Gov. Aggregation
COH             123664580014                Gas           Gov. Aggregation   COH             203527880014                Gas           Gov. Aggregation
COH             123662450015                Gas           Gov. Aggregation   COH             122015380058                Gas           Gov. Aggregation
COH             123656590019                Gas           Gov. Aggregation   COH             205198200013                Gas           Gov. Aggregation
COH             192196570034                Gas           Gov. Aggregation   COH             125621820039                Gas           Gov. Aggregation
COH             192806270014                Gas           Gov. Aggregation   COH             125711870010                Gas           Gov. Aggregation
COH             193389250022                Gas           Gov. Aggregation   COH             125711910011                Gas           Gov. Aggregation
COH             200747000024                Gas           Gov. Aggregation   COH             125712000010                Gas           Gov. Aggregation
COH             200710190013                Gas           Gov. Aggregation   COH             125712060018                Gas           Gov. Aggregation
COH             200835320093                Gas           Gov. Aggregation   COH             125712100019                Gas           Gov. Aggregation
COH             199188530014                Gas           Gov. Aggregation   COH             133206740018                Gas           Gov. Aggregation
COH             199491160019                Gas           Gov. Aggregation   COH             133288600033                Gas           Gov. Aggregation
COH             165660610033                Gas           Gov. Aggregation   COH             133302010017                Gas           Gov. Aggregation
COH             152048360020                Gas           Gov. Aggregation   COH             133409080017                Gas           Gov. Aggregation
COH             201314750014                Gas           Gov. Aggregation   COH             133448940014                Gas           Gov. Aggregation
COH             143099970053                Gas           Gov. Aggregation   COH             146134690026                Gas           Gov. Aggregation
COH             145986480026                Gas           Gov. Aggregation   COH             146239280020                Gas           Gov. Aggregation
COH             189181250037                Gas           Gov. Aggregation   COH             146270760041                Gas           Gov. Aggregation
COH             194518510021                Gas           Gov. Aggregation   COH             174921830014                Gas           Gov. Aggregation
COH             164868140015                Gas           Gov. Aggregation   COH             174932270019                Gas           Gov. Aggregation
COH             162636950027                Gas           Gov. Aggregation   COH             175020560010                Gas           Gov. Aggregation
COH             175311100055                Gas           Gov. Aggregation   COH             175486820019                Gas           Gov. Aggregation
COH             175313770042                Gas           Gov. Aggregation   COH             175491240010                Gas           Gov. Aggregation
COH             177766750027                Gas           Gov. Aggregation   COH             175517810014                Gas           Gov. Aggregation
COH             176526370026                Gas           Gov. Aggregation   COH             175557400016                Gas           Gov. Aggregation
COH             198993200017                Gas           Gov. Aggregation   COH             176197190014                Gas           Gov. Aggregation
COH             166801670021                Gas           Gov. Aggregation   COH             176239690019                Gas           Gov. Aggregation
COH             167441150014                Gas           Gov. Aggregation   COH             177316820016                Gas           Gov. Aggregation
COH             129221970050                Gas           Gov. Aggregation   COH             177322560018                Gas           Gov. Aggregation
COH             123720400020                Gas           Gov. Aggregation   COH             177339790015                Gas           Gov. Aggregation
COH             123716300020                Gas           Gov. Aggregation   COH             177395770011                Gas           Gov. Aggregation
COH             123669480015                Gas           Gov. Aggregation   COH             177430990028                Gas           Gov. Aggregation
COH             123629400079                Gas           Gov. Aggregation   COH             177436720013                Gas           Gov. Aggregation
COH             197262360014                Gas           Gov. Aggregation   COH             177462060017                Gas           Gov. Aggregation
COH             190301630010                Gas           Gov. Aggregation   COH             186001840018                Gas           Gov. Aggregation
COH             190757750010                Gas           Gov. Aggregation   COH             186030280015                Gas           Gov. Aggregation
COH             198003670016                Gas           Gov. Aggregation   COH             123635810016                Gas           Gov. Aggregation
COH             195636860018                Gas           Gov. Aggregation   COH             123676440072                Gas           Gov. Aggregation
COH             188979490019                Gas           Gov. Aggregation   COH             186282890032                Gas           Gov. Aggregation
COH             188208130026                Gas           Gov. Aggregation   COH             190863360017                Gas           Gov. Aggregation
COH             192081630025                Gas           Gov. Aggregation   COH             190934760012                Gas           Gov. Aggregation
COH             173510830016                Gas           Gov. Aggregation   COH             191009920018                Gas           Gov. Aggregation
COH             173708200028                Gas           Gov. Aggregation   COH             190953220015                Gas           Gov. Aggregation
COH             134127230030                Gas           Gov. Aggregation   COH             189063750014                Gas           Gov. Aggregation
COH             136193880024                Gas           Gov. Aggregation   COH             115155640010                Gas           Gov. Aggregation
COH             123737810038                Gas           Gov. Aggregation   COH             176057910036                Gas           Gov. Aggregation
COH             144508060036                Gas           Gov. Aggregation   COH             188714470013                Gas           Gov. Aggregation
COH             165418920013                Gas           Gov. Aggregation   COH             136410210031                Gas           Gov. Aggregation
COH             203288000016                Gas           Gov. Aggregation   COH             177458340017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             161842590036                Gas           Gov. Aggregation   COH             148456980021                Gas           Gov. Aggregation
COH             161842590072                Gas           Gov. Aggregation   COH             110988800016                Gas           Gov. Aggregation
COH             148929380033                Gas           Gov. Aggregation   COH             190286230018                Gas           Gov. Aggregation
COH             148440570011                Gas           Gov. Aggregation   COH             190082570019                Gas           Gov. Aggregation
COH             146793410028                Gas           Gov. Aggregation   COH             190993550012                Gas           Gov. Aggregation
COH             147548780083                Gas           Gov. Aggregation   COH             191279780017                Gas           Gov. Aggregation
COH             155328870115                Gas           Gov. Aggregation   COH             191157510011                Gas           Gov. Aggregation
COH             153309780045                Gas           Gov. Aggregation   COH             191292470014                Gas           Gov. Aggregation
COH             141761810017                Gas           Gov. Aggregation   COH             124501940020                Gas           Gov. Aggregation
COH             135341370045                Gas           Gov. Aggregation   COH             159512590039                Gas           Gov. Aggregation
COH             123647420013                Gas           Gov. Aggregation   COH             123675800014                Gas           Gov. Aggregation
COH             123625580025                Gas           Gov. Aggregation   COH             191104790014                Gas           Gov. Aggregation
COH             123625580043                Gas           Gov. Aggregation   COH             138751320061                Gas           Gov. Aggregation
COH             123625340016                Gas           Gov. Aggregation   COH             164973790098                Gas           Gov. Aggregation
COH             173185320014                Gas           Gov. Aggregation   COH             158851070013                Gas           Gov. Aggregation
COH             173150590048                Gas           Gov. Aggregation   COH             130077310016                Gas           Gov. Aggregation
COH             171510540028                Gas           Gov. Aggregation   COH             148844270018                Gas           Gov. Aggregation
COH             188442540015                Gas           Gov. Aggregation   COH             204257490018                Gas           Gov. Aggregation
COH             123669100023                Gas           Gov. Aggregation   COH             121958020029                Gas           Gov. Aggregation
COH             123670660014                Gas           Gov. Aggregation   COH             177552700039                Gas           Gov. Aggregation
COH             190275240019                Gas           Gov. Aggregation   COH             190403490032                Gas           Gov. Aggregation
COH             191249730038                Gas           Gov. Aggregation   COH             153180210057                Gas           Gov. Aggregation
COH             197558720011                Gas           Gov. Aggregation   COH             204240460019                Gas           Gov. Aggregation
COH             195655960035                Gas           Gov. Aggregation   COH             196162990015                Gas           Gov. Aggregation
COH             195920320027                Gas           Gov. Aggregation   COH             204687310014                Gas           Gov. Aggregation
COH             196722320026                Gas           Gov. Aggregation   COH             204335650018                Gas           Gov. Aggregation
COH             200495070016                Gas           Gov. Aggregation   COH             205230360010                Gas           Gov. Aggregation
COH             199581050011                Gas           Gov. Aggregation   COH             205179850017                Gas           Gov. Aggregation
COH             199643500014                Gas           Gov. Aggregation   COH             204857440016                Gas           Gov. Aggregation
COH             199634170013                Gas           Gov. Aggregation   COH             204381780014                Gas           Gov. Aggregation
COH             199981180016                Gas           Gov. Aggregation   COH             197874480021                Gas           Gov. Aggregation
COH             199940050019                Gas           Gov. Aggregation   COH             202310980013                Gas           Gov. Aggregation
COH             198086570013                Gas           Gov. Aggregation   COH             203949830038                Gas           Gov. Aggregation
COH             136280780100                Gas           Gov. Aggregation   COH             203665070012                Gas           Gov. Aggregation
COH             195098760057                Gas           Gov. Aggregation   COH             203893750034                Gas           Gov. Aggregation
COH             195522400015                Gas           Gov. Aggregation   COH             203140100017                Gas           Gov. Aggregation
COH             194061920015                Gas           Gov. Aggregation   COH             202008720072                Gas           Gov. Aggregation
COH             202762140012                Gas           Gov. Aggregation   COH             204337290010                Gas           Gov. Aggregation
COH             202863130010                Gas           Gov. Aggregation   COH             204714690016                Gas           Gov. Aggregation
COH             202703800017                Gas           Gov. Aggregation   COH             204715610010                Gas           Gov. Aggregation
COH             202982840019                Gas           Gov. Aggregation   COH             204657900013                Gas           Gov. Aggregation
COH             202412940131                Gas           Gov. Aggregation   COH             204598390017                Gas           Gov. Aggregation
COH             202515550019                Gas           Gov. Aggregation   COH             131697520017                Gas           Gov. Aggregation
COH             201838240011                Gas           Gov. Aggregation   COH             117125080046                Gas           Gov. Aggregation
COH             200950190015                Gas           Gov. Aggregation   COH             122368110011                Gas           Gov. Aggregation
COH             196347240010                Gas           Gov. Aggregation   COH             142949380028                Gas           Gov. Aggregation
COH             197293220018                Gas           Gov. Aggregation   COH             189704350018                Gas           Gov. Aggregation
COH             195998570013                Gas           Gov. Aggregation   COH             189704300018                Gas           Gov. Aggregation
COH             195895520020                Gas           Gov. Aggregation   COH             122401830036                Gas           Gov. Aggregation
COH             154947330028                Gas           Gov. Aggregation   COH             130004450029                Gas           Gov. Aggregation
COH             155950740042                Gas           Gov. Aggregation   COH             141704890084                Gas           Gov. Aggregation
COH             155883690126                Gas           Gov. Aggregation   COH             173066510016                Gas           Gov. Aggregation
COH             168620760033                Gas           Gov. Aggregation   COH             176703680025                Gas           Gov. Aggregation
COH             167338390022                Gas           Gov. Aggregation   COH             205052060011                Gas           Gov. Aggregation
COH             159731550024                Gas           Gov. Aggregation   COH             205265400018                Gas           Gov. Aggregation
COH             123682250015                Gas           Gov. Aggregation   COH             193416070021                Gas           Gov. Aggregation
COH             197162540027                Gas           Gov. Aggregation   COH             186496860035                Gas           Gov. Aggregation
COH             195282070033                Gas           Gov. Aggregation   COH             177769750030                Gas           Gov. Aggregation
COH             177125920010                Gas           Gov. Aggregation   COH             188501560033                Gas           Gov. Aggregation
COH             124127420023                Gas           Gov. Aggregation   COH             195306090046                Gas           Gov. Aggregation
COH             129311900026                Gas           Gov. Aggregation   COH             149910360106                Gas           Gov. Aggregation
COH             129104880093                Gas           Gov. Aggregation   COH             149050900017                Gas           Gov. Aggregation
COH             137557980100                Gas           Gov. Aggregation   COH             174001870114                Gas           Gov. Aggregation
COH             137802370036                Gas           Gov. Aggregation   COH             186826240034                Gas           Gov. Aggregation
COH             123682680015                Gas           Gov. Aggregation   COH             160491719760                Gas           Gov. Aggregation
COH             123683340014                Gas           Gov. Aggregation   COH             173085620040                Gas           Gov. Aggregation
COH             123692810025                Gas           Gov. Aggregation   COH             204709500016                Gas           Gov. Aggregation
COH             123710600029                Gas           Gov. Aggregation   COH             204301500010                Gas           Gov. Aggregation
COH             154260430014                Gas           Gov. Aggregation   COH             204404810017                Gas           Gov. Aggregation
COH             154690760096                Gas           Gov. Aggregation   COH             204795960019                Gas           Gov. Aggregation
COH             164248860036                Gas           Gov. Aggregation   COH             204797780013                Gas           Gov. Aggregation
COH             174244290014                Gas           Gov. Aggregation   COH             205247790015                Gas           Gov. Aggregation
COH             175468400015                Gas           Gov. Aggregation   COH             204179240016                Gas           Gov. Aggregation
COH             186991500049                Gas           Gov. Aggregation   COH             204140100016                Gas           Gov. Aggregation
COH             186067460010                Gas           Gov. Aggregation   COH             204152950013                Gas           Gov. Aggregation
COH             199589090017                Gas           Gov. Aggregation   COH             200236610225                Gas           Gov. Aggregation
COH             199759360019                Gas           Gov. Aggregation   COH             202008720054                Gas           Gov. Aggregation
COH             200868270013                Gas           Gov. Aggregation   COH             203882750019                Gas           Gov. Aggregation
COH             198803380011                Gas           Gov. Aggregation   COH             202249200026                Gas           Gov. Aggregation
COH             138374600026                Gas           Gov. Aggregation   COH             202487260048                Gas           Gov. Aggregation
COH             130037600037                Gas           Gov. Aggregation   COH             202217930011                Gas           Gov. Aggregation
COH             201782630018                Gas           Gov. Aggregation   COH             158412750789                Gas           Gov. Aggregation
COH             168401410012                Gas           Gov. Aggregation   COH             158412754249                Gas           Gov. Aggregation
COH             169397200061                Gas           Gov. Aggregation   COH             170459830019                Gas           Gov. Aggregation
COH             171335500019                Gas           Gov. Aggregation   COH             173041360038                Gas           Gov. Aggregation
COH             186693710047                Gas           Gov. Aggregation   COH             191969690040                Gas           Gov. Aggregation
COH             123669970021                Gas           Gov. Aggregation   COH             195138100022                Gas           Gov. Aggregation
COH             123716180026                Gas           Gov. Aggregation   COH             121942110014                Gas           Gov. Aggregation
COH             123663720025                Gas           Gov. Aggregation   COH             200268070026                Gas           Gov. Aggregation
COH             123659170020                Gas           Gov. Aggregation   COH             204948980010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             123637070027                Gas           Gov. Aggregation   COH             205089040018                Gas           Gov. Aggregation
COH             146358490024                Gas           Gov. Aggregation   COH             205108860014                Gas           Gov. Aggregation
COH             148504730011                Gas           Gov. Aggregation   COH             205264330015                Gas           Gov. Aggregation
COH             168780810034                Gas           Gov. Aggregation   COH             204279230016                Gas           Gov. Aggregation
COH             163174070021                Gas           Gov. Aggregation   COH             204179230018                Gas           Gov. Aggregation
COH             160252290022                Gas           Gov. Aggregation   COH             204165880011                Gas           Gov. Aggregation
COH             201424280010                Gas           Gov. Aggregation   COH             204547730012                Gas           Gov. Aggregation
COH             201613270011                Gas           Gov. Aggregation   COH             195420490040                Gas           Gov. Aggregation
COH             201974000013                Gas           Gov. Aggregation   COH             194061010052                Gas           Gov. Aggregation
COH             198365360015                Gas           Gov. Aggregation   COH             188868250014                Gas           Gov. Aggregation
COH             198035660011                Gas           Gov. Aggregation   COH             174296220037                Gas           Gov. Aggregation
COH             199463060019                Gas           Gov. Aggregation   COH             186264650021                Gas           Gov. Aggregation
COH             187649240011                Gas           Gov. Aggregation   COH             191505240019                Gas           Gov. Aggregation
COH             188803670021                Gas           Gov. Aggregation   COH             191545830011                Gas           Gov. Aggregation
COH             190429440010                Gas           Gov. Aggregation   COH             125787160029                Gas           Gov. Aggregation
COH             164501610101                Gas           Gov. Aggregation   COH             121932380028                Gas           Gov. Aggregation
COH             170240760017                Gas           Gov. Aggregation   COH             202106340029                Gas           Gov. Aggregation
COH             167027880028                Gas           Gov. Aggregation   COH             201959780030                Gas           Gov. Aggregation
COH             167800800015                Gas           Gov. Aggregation   COH             201967540015                Gas           Gov. Aggregation
COH             142518100010                Gas           Gov. Aggregation   COH             200858860056                Gas           Gov. Aggregation
COH             158467080034                Gas           Gov. Aggregation   COH             123709090011                Gas           Gov. Aggregation
COH             197891220010                Gas           Gov. Aggregation   COH             155938310057                Gas           Gov. Aggregation
COH             202191320015                Gas           Gov. Aggregation   COH             175941900025                Gas           Gov. Aggregation
COH             201025030018                Gas           Gov. Aggregation   COH             185063570034                Gas           Gov. Aggregation
COH             200983020039                Gas           Gov. Aggregation   COH             191467200019                Gas           Gov. Aggregation
COH             199417550013                Gas           Gov. Aggregation   COH             191542260017                Gas           Gov. Aggregation
COH             190724490023                Gas           Gov. Aggregation   COH             200424030013                Gas           Gov. Aggregation
COH             190298720038                Gas           Gov. Aggregation   COH             201944320028                Gas           Gov. Aggregation
COH             123651460025                Gas           Gov. Aggregation   COH             185511360019                Gas           Gov. Aggregation
COH             150533520010                Gas           Gov. Aggregation   COH             185479860023                Gas           Gov. Aggregation
COH             201110590010                Gas           Gov. Aggregation   COH             192961520040                Gas           Gov. Aggregation
COH             196756330023                Gas           Gov. Aggregation   COH             192572730041                Gas           Gov. Aggregation
COH             194022940013                Gas           Gov. Aggregation   COH             203842250018                Gas           Gov. Aggregation
COH             199295050018                Gas           Gov. Aggregation   COH             202430230016                Gas           Gov. Aggregation
COH             198610680017                Gas           Gov. Aggregation   COH             200596640012                Gas           Gov. Aggregation
COH             177322430015                Gas           Gov. Aggregation   COH             197756110037                Gas           Gov. Aggregation
COH             202230910017                Gas           Gov. Aggregation   COH             204257090012                Gas           Gov. Aggregation
COH             201787560013                Gas           Gov. Aggregation   COH             204165890019                Gas           Gov. Aggregation
COH             171070010050                Gas           Gov. Aggregation   COH             204130490016                Gas           Gov. Aggregation
COH             185845660037                Gas           Gov. Aggregation   COH             152666250050                Gas           Gov. Aggregation
COH             185845660046                Gas           Gov. Aggregation   COH             171901680100                Gas           Gov. Aggregation
COH             195569930043                Gas           Gov. Aggregation   COH             157192650083                Gas           Gov. Aggregation
COH             134325700031                Gas           Gov. Aggregation   COH             154650260022                Gas           Gov. Aggregation
COH             192450050024                Gas           Gov. Aggregation   COH             171901680066                Gas           Gov. Aggregation
COH             190016760036                Gas           Gov. Aggregation   COH             171901680075                Gas           Gov. Aggregation
COH             192244510024                Gas           Gov. Aggregation   COH             166084010021                Gas           Gov. Aggregation
COH             123735390380                Gas           Gov. Aggregation   COH             194952980014                Gas           Gov. Aggregation
COH             161226730014                Gas           Gov. Aggregation   COH             195013240036                Gas           Gov. Aggregation
COH             162051680079                Gas           Gov. Aggregation   COH             121953480023                Gas           Gov. Aggregation
COH             202254310013                Gas           Gov. Aggregation   COH             109457090327                Gas           Gov. Aggregation
COH             123716970011                Gas           Gov. Aggregation   COH             146026180040                Gas           Gov. Aggregation
COH             123725460028                Gas           Gov. Aggregation   COH             202008720045                Gas           Gov. Aggregation
COH             136512570012                Gas           Gov. Aggregation   COH             199969150036                Gas           Gov. Aggregation
COH             134325700022                Gas           Gov. Aggregation   COH             197122420026                Gas           Gov. Aggregation
COH             141496460014                Gas           Gov. Aggregation   COH             197508430017                Gas           Gov. Aggregation
COH             137560020015                Gas           Gov. Aggregation   COH             197640840039                Gas           Gov. Aggregation
COH             155226540058                Gas           Gov. Aggregation   COH             199752610038                Gas           Gov. Aggregation
COH             155162790016                Gas           Gov. Aggregation   COH             205212130016                Gas           Gov. Aggregation
COH             149455570019                Gas           Gov. Aggregation   COH             204478540019                Gas           Gov. Aggregation
COH             143638170020                Gas           Gov. Aggregation   COH             204539120017                Gas           Gov. Aggregation
COH             143259361185                Gas           Gov. Aggregation   COH             204570600010                Gas           Gov. Aggregation
COH             164279820020                Gas           Gov. Aggregation   COH             204179270010                Gas           Gov. Aggregation
COH             163860280013                Gas           Gov. Aggregation   COH             201066740022                Gas           Gov. Aggregation
COH             202781470013                Gas           Gov. Aggregation   COH             204402770010                Gas           Gov. Aggregation
COH             196550380029                Gas           Gov. Aggregation   COH             204594720015                Gas           Gov. Aggregation
COH             196238600042                Gas           Gov. Aggregation   COH             204153120015                Gas           Gov. Aggregation
COH             197569850011                Gas           Gov. Aggregation   COH             204207740010                Gas           Gov. Aggregation
COH             197137590011                Gas           Gov. Aggregation   COH             192189080023                Gas           Gov. Aggregation
COH             197365370023                Gas           Gov. Aggregation   COH             204464640017                Gas           Gov. Aggregation
COH             197234260014                Gas           Gov. Aggregation   COH             121944010020                Gas           Gov. Aggregation
COH             195351790017                Gas           Gov. Aggregation   COH             164500710013                Gas           Gov. Aggregation
COH             199702350010                Gas           Gov. Aggregation   COH             164568230030                Gas           Gov. Aggregation
COH             199642130032                Gas           Gov. Aggregation   COH             198233760010                Gas           Gov. Aggregation
COH             199646470015                Gas           Gov. Aggregation   COH             204631950017                Gas           Gov. Aggregation
COH             200348260017                Gas           Gov. Aggregation   COH             204730520017                Gas           Gov. Aggregation
COH             186800660012                Gas           Gov. Aggregation   COH             160633550010                Gas           Gov. Aggregation
COH             186861970037                Gas           Gov. Aggregation   COH             167226390065                Gas           Gov. Aggregation
COH             188113460019                Gas           Gov. Aggregation   COH             121956580017                Gas           Gov. Aggregation
COH             187344040019                Gas           Gov. Aggregation   COH             121966570063                Gas           Gov. Aggregation
COH             202549730010                Gas           Gov. Aggregation   COH             151400920025                Gas           Gov. Aggregation
COH             123709940012                Gas           Gov. Aggregation   COH             204337180022                Gas           Gov. Aggregation
COH             123692880021                Gas           Gov. Aggregation   COH             204836230014                Gas           Gov. Aggregation
COH             187989830062                Gas           Gov. Aggregation   COH             204639750013                Gas           Gov. Aggregation
COH             174111770014                Gas           Gov. Aggregation   COH             199237690016                Gas           Gov. Aggregation
COH             173638810056                Gas           Gov. Aggregation   COH             163501490028                Gas           Gov. Aggregation
COH             174460760026                Gas           Gov. Aggregation   COH             202519030010                Gas           Gov. Aggregation
COH             173413580042                Gas           Gov. Aggregation   COH             194502830036                Gas           Gov. Aggregation
COH             199479020014                Gas           Gov. Aggregation   COH             195366120052                Gas           Gov. Aggregation
COH             199432900017                Gas           Gov. Aggregation   COH             204584970014                Gas           Gov. Aggregation
COH             200094220014                Gas           Gov. Aggregation   COH             204404940010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             200163260019                Gas           Gov. Aggregation   COH             204518650010                Gas           Gov. Aggregation
COH             133307330065                Gas           Gov. Aggregation   COH             205192880013                Gas           Gov. Aggregation
COH             124001920024                Gas           Gov. Aggregation   COH             202646880013                Gas           Gov. Aggregation
COH             129104880137                Gas           Gov. Aggregation   COH             161249590132                Gas           Gov. Aggregation
COH             129104880066                Gas           Gov. Aggregation   COH             175885680086                Gas           Gov. Aggregation
COH             126957380012                Gas           Gov. Aggregation   COH             175000600013                Gas           Gov. Aggregation
COH             195142230017                Gas           Gov. Aggregation   COH             155086590145                Gas           Gov. Aggregation
COH             197088460013                Gas           Gov. Aggregation   COH             188723690054                Gas           Gov. Aggregation
COH             203173070015                Gas           Gov. Aggregation   COH             158412754507                Gas           Gov. Aggregation
COH             142479380829                Gas           Gov. Aggregation   COH             165850020043                Gas           Gov. Aggregation
COH             194477360012                Gas           Gov. Aggregation   COH             175711790035                Gas           Gov. Aggregation
COH             196898110029                Gas           Gov. Aggregation   COH             143578610034                Gas           Gov. Aggregation
COH             202708770014                Gas           Gov. Aggregation   COH             191612600016                Gas           Gov. Aggregation
COH             170508100026                Gas           Gov. Aggregation   COH             191684460015                Gas           Gov. Aggregation
COH             169809210019                Gas           Gov. Aggregation   COH             191688630011                Gas           Gov. Aggregation
COH             169765720034                Gas           Gov. Aggregation   COH             136884600027                Gas           Gov. Aggregation
COH             200927780010                Gas           Gov. Aggregation   COH             198848790011                Gas           Gov. Aggregation
COH             200581390025                Gas           Gov. Aggregation   COH             200383420019                Gas           Gov. Aggregation
COH             200605390014                Gas           Gov. Aggregation   COH             201090430017                Gas           Gov. Aggregation
COH             200016570015                Gas           Gov. Aggregation   COH             204675360019                Gas           Gov. Aggregation
COH             123712280014                Gas           Gov. Aggregation   COH             204730580015                Gas           Gov. Aggregation
COH             123713350017                Gas           Gov. Aggregation   COH             143533200016                Gas           Gov. Aggregation
COH             123635470036                Gas           Gov. Aggregation   COH             144121460023                Gas           Gov. Aggregation
COH             155219210025                Gas           Gov. Aggregation   COH             163721130027                Gas           Gov. Aggregation
COH             166938360036                Gas           Gov. Aggregation   COH             121987970010                Gas           Gov. Aggregation
COH             165433290014                Gas           Gov. Aggregation   COH             197270120035                Gas           Gov. Aggregation
COH             136824830034                Gas           Gov. Aggregation   COH             147912870054                Gas           Gov. Aggregation
COH             143416510019                Gas           Gov. Aggregation   COH             203105210018                Gas           Gov. Aggregation
COH             127308020011                Gas           Gov. Aggregation   COH             204931940013                Gas           Gov. Aggregation
COH             166866370037                Gas           Gov. Aggregation   COH             192400330020                Gas           Gov. Aggregation
COH             150769510022                Gas           Gov. Aggregation   COH             133399660045                Gas           Gov. Aggregation
COH             150791800015                Gas           Gov. Aggregation   COH             160237010120                Gas           Gov. Aggregation
COH             192084480012                Gas           Gov. Aggregation   COH             164828130011                Gas           Gov. Aggregation
COH             123720460019                Gas           Gov. Aggregation   COH             202666440013                Gas           Gov. Aggregation
COH             123721150030                Gas           Gov. Aggregation   COH             134654360036                Gas           Gov. Aggregation
COH             123721490011                Gas           Gov. Aggregation   COH             137138650027                Gas           Gov. Aggregation
COH             199702360027                Gas           Gov. Aggregation   COH             145269760054                Gas           Gov. Aggregation
COH             198547290014                Gas           Gov. Aggregation   COH             123898320022                Gas           Gov. Aggregation
COH             186144970064                Gas           Gov. Aggregation   COH             123741980016                Gas           Gov. Aggregation
COH             201657950016                Gas           Gov. Aggregation   COH             202056210014                Gas           Gov. Aggregation
COH             201237330016                Gas           Gov. Aggregation   COH             202671170037                Gas           Gov. Aggregation
COH             201541540017                Gas           Gov. Aggregation   COH             202984350018                Gas           Gov. Aggregation
COH             202468000015                Gas           Gov. Aggregation   COH             204281460013                Gas           Gov. Aggregation
COH             203010980018                Gas           Gov. Aggregation   COH             204347360014                Gas           Gov. Aggregation
COH             197578560031                Gas           Gov. Aggregation   COH             204166100012                Gas           Gov. Aggregation
COH             197867280019                Gas           Gov. Aggregation   COH             204460230011                Gas           Gov. Aggregation
COH             197906090024                Gas           Gov. Aggregation   COH             204895230010                Gas           Gov. Aggregation
COH             197061800017                Gas           Gov. Aggregation   COH             204915480014                Gas           Gov. Aggregation
COH             159877110037                Gas           Gov. Aggregation   COH             149699210063                Gas           Gov. Aggregation
COH             177478070012                Gas           Gov. Aggregation   COH             132217030024                Gas           Gov. Aggregation
COH             174187510019                Gas           Gov. Aggregation   COH             131361420037                Gas           Gov. Aggregation
COH             141496450025                Gas           Gov. Aggregation   COH             129753640025                Gas           Gov. Aggregation
COH             123715690012                Gas           Gov. Aggregation   COH             123797960013                Gas           Gov. Aggregation
COH             200877780017                Gas           Gov. Aggregation   COH             123763070048                Gas           Gov. Aggregation
COH             200651200016                Gas           Gov. Aggregation   COH             199027920012                Gas           Gov. Aggregation
COH             198654980012                Gas           Gov. Aggregation   COH             202712670016                Gas           Gov. Aggregation
COH             198369830018                Gas           Gov. Aggregation   COH             133720350010                Gas           Gov. Aggregation
COH             138154060099                Gas           Gov. Aggregation   COH             133707060082                Gas           Gov. Aggregation
COH             131694930222                Gas           Gov. Aggregation   COH             155069170023                Gas           Gov. Aggregation
COH             123664950034                Gas           Gov. Aggregation   COH             158946900151                Gas           Gov. Aggregation
COH             123656190059                Gas           Gov. Aggregation   COH             199253880021                Gas           Gov. Aggregation
COH             123694840016                Gas           Gov. Aggregation   COH             175447040024                Gas           Gov. Aggregation
COH             123694880027                Gas           Gov. Aggregation   COH             191516240034                Gas           Gov. Aggregation
COH             123694500017                Gas           Gov. Aggregation   COH             192913680020                Gas           Gov. Aggregation
COH             123677800029                Gas           Gov. Aggregation   COH             192202110053                Gas           Gov. Aggregation
COH             195024130018                Gas           Gov. Aggregation   COH             204667200019                Gas           Gov. Aggregation
VEDO            4001957672191221            Gas           Gov. Aggregation   COH             204544070017                Gas           Gov. Aggregation
COH             111096980019                Gas           Gov. Aggregation   COH             204381810017                Gas           Gov. Aggregation
COH             111097000012                Gas           Gov. Aggregation   COH             188769220010                Gas           Gov. Aggregation
COH             201629150013                Gas           Gov. Aggregation   COH             200041090031                Gas           Gov. Aggregation
COH             201926160011                Gas           Gov. Aggregation   COH             204153150019                Gas           Gov. Aggregation
COH             142220290012                Gas           Gov. Aggregation   COH             205010050011                Gas           Gov. Aggregation
COH             202826410019                Gas           Gov. Aggregation   COH             202328180014                Gas           Gov. Aggregation
COH             203252460015                Gas           Gov. Aggregation   COH             167613180040                Gas           Gov. Aggregation
COH             201450020019                Gas           Gov. Aggregation   COH             177264290028                Gas           Gov. Aggregation
COH             201516280015                Gas           Gov. Aggregation   COH             196148350091                Gas           Gov. Aggregation
COH             171599600029                Gas           Gov. Aggregation   COH             199341420011                Gas           Gov. Aggregation
COH             202599960017                Gas           Gov. Aggregation   COH             201655690015                Gas           Gov. Aggregation
COH             111144980025                Gas           Gov. Aggregation   COH             198725110013                Gas           Gov. Aggregation
COH             143028890013                Gas           Gov. Aggregation   COH             198967970011                Gas           Gov. Aggregation
COH             201482490014                Gas           Gov. Aggregation   COH             123830420032                Gas           Gov. Aggregation
COH             155271810029                Gas           Gov. Aggregation   COH             117782720094                Gas           Gov. Aggregation
COH             162562520024                Gas           Gov. Aggregation   COH             141319680012                Gas           Gov. Aggregation
COH             203181110019                Gas           Gov. Aggregation   COH             152474710032                Gas           Gov. Aggregation
COH             203246230016                Gas           Gov. Aggregation   COH             152476800039                Gas           Gov. Aggregation
COH             152673690017                Gas           Gov. Aggregation   COH             191680160016                Gas           Gov. Aggregation
COH             129299080072                Gas           Gov. Aggregation   COH             191815970019                Gas           Gov. Aggregation
COH             198279860022                Gas           Gov. Aggregation   COH             191896830018                Gas           Gov. Aggregation
COH             201939450013                Gas           Gov. Aggregation   COH             191927030019                Gas           Gov. Aggregation
COH             132394410020                Gas           Gov. Aggregation   COH             162825860025                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             202707890011                Gas           Gov. Aggregation   COH             187393620023                Gas           Gov. Aggregation
COH             202625470013                Gas           Gov. Aggregation   COH             114983020016                Gas           Gov. Aggregation
COH             202067200013                Gas           Gov. Aggregation   COH             108787370017                Gas           Gov. Aggregation
COH             201788220012                Gas           Gov. Aggregation   COH             149966300021                Gas           Gov. Aggregation
COH             170702290034                Gas           Gov. Aggregation   COH             187615120017                Gas           Gov. Aggregation
COH             203000610016                Gas           Gov. Aggregation   COH             175950710035                Gas           Gov. Aggregation
COH             203238600015                Gas           Gov. Aggregation   COH             176150440019                Gas           Gov. Aggregation
COH             201510100014                Gas           Gov. Aggregation   COH             187956760011                Gas           Gov. Aggregation
COH             201671690011                Gas           Gov. Aggregation   COH             177467590016                Gas           Gov. Aggregation
COH             186583100020                Gas           Gov. Aggregation   COH             177540450019                Gas           Gov. Aggregation
COH             161970450034                Gas           Gov. Aggregation   COH             177811150017                Gas           Gov. Aggregation
COH             202869560018                Gas           Gov. Aggregation   COH             204326400019                Gas           Gov. Aggregation
COH             202829240019                Gas           Gov. Aggregation   COH             204866110016                Gas           Gov. Aggregation
COH             202951370013                Gas           Gov. Aggregation   COH             123751430029                Gas           Gov. Aggregation
COH             160024770033                Gas           Gov. Aggregation   COH             190869090012                Gas           Gov. Aggregation
COH             191131530039                Gas           Gov. Aggregation   COH             185489200011                Gas           Gov. Aggregation
COH             201495270013                Gas           Gov. Aggregation   COH             195241870013                Gas           Gov. Aggregation
COH             201977620017                Gas           Gov. Aggregation   COH             156922860027                Gas           Gov. Aggregation
COH             202197730017                Gas           Gov. Aggregation   COH             155846520067                Gas           Gov. Aggregation
COH             202407840017                Gas           Gov. Aggregation   COH             162225630025                Gas           Gov. Aggregation
COH             201989030016                Gas           Gov. Aggregation   COH             163255670014                Gas           Gov. Aggregation
COH             201617360014                Gas           Gov. Aggregation   COH             123750790035                Gas           Gov. Aggregation
COH             201519850019                Gas           Gov. Aggregation   COH             200675400014                Gas           Gov. Aggregation
COH             201685200014                Gas           Gov. Aggregation   COH             200293380028                Gas           Gov. Aggregation
COH             202008380010                Gas           Gov. Aggregation   COH             200108710010                Gas           Gov. Aggregation
COH             202321380016                Gas           Gov. Aggregation   COH             201544360037                Gas           Gov. Aggregation
COH             202570930013                Gas           Gov. Aggregation   COH             202209610015                Gas           Gov. Aggregation
COH             201912220017                Gas           Gov. Aggregation   COH             172229640032                Gas           Gov. Aggregation
COH             201436280015                Gas           Gov. Aggregation   COH             173808990021                Gas           Gov. Aggregation
COH             194010980029                Gas           Gov. Aggregation   COH             204959310017                Gas           Gov. Aggregation
COH             195563360027                Gas           Gov. Aggregation   COH             204749430017                Gas           Gov. Aggregation
COH             202525070019                Gas           Gov. Aggregation   COH             203957700010                Gas           Gov. Aggregation
COH             196841980026                Gas           Gov. Aggregation   COH             190526530024                Gas           Gov. Aggregation
COH             111098570011                Gas           Gov. Aggregation   COH             191157830014                Gas           Gov. Aggregation
COH             111117550022                Gas           Gov. Aggregation   COH             204919620016                Gas           Gov. Aggregation
COH             200377050010                Gas           Gov. Aggregation   COH             204919630014                Gas           Gov. Aggregation
COH             199987490019                Gas           Gov. Aggregation   COH             204532930011                Gas           Gov. Aggregation
COH             198003340015                Gas           Gov. Aggregation   COH             123880230028                Gas           Gov. Aggregation
COH             202405520018                Gas           Gov. Aggregation   COH             204340440011                Gas           Gov. Aggregation
COH             202505690011                Gas           Gov. Aggregation   COH             204896960015                Gas           Gov. Aggregation
COH             201189990011                Gas           Gov. Aggregation   COH             202433860027                Gas           Gov. Aggregation
COH             200383600039                Gas           Gov. Aggregation   COH             177046020026                Gas           Gov. Aggregation
COH             198879150038                Gas           Gov. Aggregation   COH             169427350010                Gas           Gov. Aggregation
DEO             1500065939011               Gas           Gov. Aggregation   COH             170816830039                Gas           Gov. Aggregation
DEO             1120000081306               Gas           Gov. Aggregation   COH             144317040080                Gas           Gov. Aggregation
COH             114591410051                Gas           Gov. Aggregation   COH             121945730018                Gas           Gov. Aggregation
COH             202990680016                Gas           Gov. Aggregation   COH             202055880016                Gas           Gov. Aggregation
COH             146692730034                Gas           Gov. Aggregation   COH             165029390010                Gas           Gov. Aggregation
COH             191795770079                Gas           Gov. Aggregation   COH             188249660010                Gas           Gov. Aggregation
COH             148774290040                Gas           Gov. Aggregation   COH             204460100018                Gas           Gov. Aggregation
COH             111250910015                Gas           Gov. Aggregation   COH             204359960013                Gas           Gov. Aggregation
COH             143353500015                Gas           Gov. Aggregation   COH             159377990033                Gas           Gov. Aggregation
COH             141138650067                Gas           Gov. Aggregation   COH             199180510023                Gas           Gov. Aggregation
COH             170208370124                Gas           Gov. Aggregation   COH             196908070034                Gas           Gov. Aggregation
COH             111251440030                Gas           Gov. Aggregation   COH             202867480019                Gas           Gov. Aggregation
COH             111271940015                Gas           Gov. Aggregation   COH             200751870014                Gas           Gov. Aggregation
COH             191826390036                Gas           Gov. Aggregation   COH             204622040017                Gas           Gov. Aggregation
COH             170051040082                Gas           Gov. Aggregation   COH             121945300045                Gas           Gov. Aggregation
COH             190890650073                Gas           Gov. Aggregation   COH             156917510012                Gas           Gov. Aggregation
COH             202920550010                Gas           Gov. Aggregation   COH             187265180036                Gas           Gov. Aggregation
COH             203503790013                Gas           Gov. Aggregation   COH             192137360041                Gas           Gov. Aggregation
COH             202273430018                Gas           Gov. Aggregation   COH             111108080020                Gas           Gov. Aggregation
COH             202204780010                Gas           Gov. Aggregation   COH             111121590034                Gas           Gov. Aggregation
COH             186836510054                Gas           Gov. Aggregation   COH             111123610026                Gas           Gov. Aggregation
COH             189668750085                Gas           Gov. Aggregation   COH             169379200023                Gas           Gov. Aggregation
COH             202990540015                Gas           Gov. Aggregation   COH             175857900024                Gas           Gov. Aggregation
COH             163426060046                Gas           Gov. Aggregation   COH             175264510014                Gas           Gov. Aggregation
COH             202008980014                Gas           Gov. Aggregation   COH             185210560015                Gas           Gov. Aggregation
COH             202525310018                Gas           Gov. Aggregation   COH             111131450050                Gas           Gov. Aggregation
COH             202716280010                Gas           Gov. Aggregation   COH             200646110034                Gas           Gov. Aggregation
COH             131570710060                Gas           Gov. Aggregation   COH             205042150013                Gas           Gov. Aggregation
COH             171310760026                Gas           Gov. Aggregation   COH             205009790019                Gas           Gov. Aggregation
COH             174809840047                Gas           Gov. Aggregation   COH             204449440011                Gas           Gov. Aggregation
COH             152945440021                Gas           Gov. Aggregation   COH             185156220021                Gas           Gov. Aggregation
COH             200334710011                Gas           Gov. Aggregation   COH             205063800012                Gas           Gov. Aggregation
COH             202459160011                Gas           Gov. Aggregation   COH             204488210017                Gas           Gov. Aggregation
COH             199211750017                Gas           Gov. Aggregation   COH             196574000028                Gas           Gov. Aggregation
COH             197898770011                Gas           Gov. Aggregation   COH             201891310014                Gas           Gov. Aggregation
COH             187621980041                Gas           Gov. Aggregation   COH             204919540013                Gas           Gov. Aggregation
COH             196289250030                Gas           Gov. Aggregation   COH             204584950018                Gas           Gov. Aggregation
COH             195867740032                Gas           Gov. Aggregation   COH             204931750013                Gas           Gov. Aggregation
COH             198960190019                Gas           Gov. Aggregation   COH             203894180014                Gas           Gov. Aggregation
COH             202140690015                Gas           Gov. Aggregation   COH             202008210015                Gas           Gov. Aggregation
COH             201795910012                Gas           Gov. Aggregation   COH             201594650031                Gas           Gov. Aggregation
COH             201559780010                Gas           Gov. Aggregation   COH             201115370016                Gas           Gov. Aggregation
COH             201663800032                Gas           Gov. Aggregation   COH             167917910015                Gas           Gov. Aggregation
COH             150216390690                Gas           Gov. Aggregation   COH             111131180128                Gas           Gov. Aggregation
COH             135944890119                Gas           Gov. Aggregation   COH             137063450019                Gas           Gov. Aggregation
COH             203339050017                Gas           Gov. Aggregation   COH             205301730011                Gas           Gov. Aggregation
COH             198271380029                Gas           Gov. Aggregation   COH             195274940019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             188090490031                Gas           Gov. Aggregation   COH             200456640018                Gas           Gov. Aggregation
COH             135855380099                Gas           Gov. Aggregation   COH             204610850012                Gas           Gov. Aggregation
COH             203294390012                Gas           Gov. Aggregation   COH             163970100035                Gas           Gov. Aggregation
COH             201072760025                Gas           Gov. Aggregation   COH             124615450013                Gas           Gov. Aggregation
COH             201744950011                Gas           Gov. Aggregation   COH             189460910018                Gas           Gov. Aggregation
COH             202774330017                Gas           Gov. Aggregation   COH             185322030019                Gas           Gov. Aggregation
COH             137286140129                Gas           Gov. Aggregation   COH             185566350016                Gas           Gov. Aggregation
COH             177290480032                Gas           Gov. Aggregation   COH             145581190016                Gas           Gov. Aggregation
COH             203460240010                Gas           Gov. Aggregation   COH             177702370012                Gas           Gov. Aggregation
VEDO            4002512662246193            Gas           Gov. Aggregation   COH             189408240019                Gas           Gov. Aggregation
COH             123716610016                Gas           Gov. Aggregation   COH             185024290026                Gas           Gov. Aggregation
DEO             6500065958611               Gas           Gov. Aggregation   COH             185797960019                Gas           Gov. Aggregation
COH             197488530056                Gas           Gov. Aggregation   COH             166490620013                Gas           Gov. Aggregation
COH             139462220019                Gas           Gov. Aggregation   COH             148346580028                Gas           Gov. Aggregation
COH             203744700011                Gas           Gov. Aggregation   COH             190797660015                Gas           Gov. Aggregation
COH             157309090037                Gas           Gov. Aggregation   COH             204675430014                Gas           Gov. Aggregation
COH             166828320144                Gas           Gov. Aggregation   COH             196281590017                Gas           Gov. Aggregation
COH             176846230036                Gas           Gov. Aggregation   COH             185553670061                Gas           Gov. Aggregation
VEDO            4019499912630906            Gas           Gov. Aggregation   COH             124646160019                Gas           Gov. Aggregation
VEDO            4016659892160254            Gas           Gov. Aggregation   COH             161343140029                Gas           Gov. Aggregation
VEDO            4001065872105403            Gas           Gov. Aggregation   COH             204092010018                Gas           Gov. Aggregation
VEDO            4019960502508090            Gas           Gov. Aggregation   COH             204893660014                Gas           Gov. Aggregation
DEO             1180006735627               Gas           Gov. Aggregation   COH             205066220018                Gas           Gov. Aggregation
COH             199963660013                Gas           Gov. Aggregation   COH             204180460017                Gas           Gov. Aggregation
COH             203010700016                Gas           Gov. Aggregation   COH             154697460040                Gas           Gov. Aggregation
COH             199827090020                Gas           Gov. Aggregation   COH             200137720035                Gas           Gov. Aggregation
COH             189547860033                Gas           Gov. Aggregation   VEDO            4001521072495145            Gas           Gov. Aggregation
COH             161484180023                Gas           Gov. Aggregation   COH             140563000018                Gas           Gov. Aggregation
COH             194838910029                Gas           Gov. Aggregation   COH             203497270017                Gas           Gov. Aggregation
COH             194271450028                Gas           Gov. Aggregation   COH             202266660015                Gas           Gov. Aggregation
COH             153187530047                Gas           Gov. Aggregation   COH             201800120015                Gas           Gov. Aggregation
COH             200447000011                Gas           Gov. Aggregation   COH             204371950019                Gas           Gov. Aggregation
COH             200524030011                Gas           Gov. Aggregation   COH             202967780014                Gas           Gov. Aggregation
COH             136460630056                Gas           Gov. Aggregation   COH             203000600018                Gas           Gov. Aggregation
COH             141359490018                Gas           Gov. Aggregation   COH             202130880016                Gas           Gov. Aggregation
COH             203609910013                Gas           Gov. Aggregation   COH             203813130032                Gas           Gov. Aggregation
COH             170972260057                Gas           Gov. Aggregation   COH             205051960014                Gas           Gov. Aggregation
COH             190568900037                Gas           Gov. Aggregation   COH             205103320017                Gas           Gov. Aggregation
COH             202835050016                Gas           Gov. Aggregation   COH             134368890014                Gas           Gov. Aggregation
COH             190089560017                Gas           Gov. Aggregation   COH             110929330019                Gas           Gov. Aggregation
COH             199585840017                Gas           Gov. Aggregation   COH             202625440019                Gas           Gov. Aggregation
VEDO            4002302282225306            Gas           Gov. Aggregation   COH             202748550016                Gas           Gov. Aggregation
COH             199507630024                Gas           Gov. Aggregation   COH             202684870015                Gas           Gov. Aggregation
COH             199938750017                Gas           Gov. Aggregation   COH             201141190019                Gas           Gov. Aggregation
COH             156768980039                Gas           Gov. Aggregation   COH             201559490011                Gas           Gov. Aggregation
COH             163871250025                Gas           Gov. Aggregation   COH             161191010010                Gas           Gov. Aggregation
COH             169094090030                Gas           Gov. Aggregation   COH             205151450019                Gas           Gov. Aggregation
COH             166326810047                Gas           Gov. Aggregation   COH             202865790018                Gas           Gov. Aggregation
COH             167165790025                Gas           Gov. Aggregation   COH             176649350020                Gas           Gov. Aggregation
COH             165149340034                Gas           Gov. Aggregation   COH             204808010019                Gas           Gov. Aggregation
COH             185827610026                Gas           Gov. Aggregation   COH             204538990017                Gas           Gov. Aggregation
COH             185343090022                Gas           Gov. Aggregation   COH             174640740064                Gas           Gov. Aggregation
COH             177394530022                Gas           Gov. Aggregation   COH             204721740010                Gas           Gov. Aggregation
COH             155371320039                Gas           Gov. Aggregation   COH             204570560019                Gas           Gov. Aggregation
COH             155707970058                Gas           Gov. Aggregation   COH             201761730011                Gas           Gov. Aggregation
COH             138302750026                Gas           Gov. Aggregation   COH             188116710029                Gas           Gov. Aggregation
COH             137873280036                Gas           Gov. Aggregation   COH             201655350016                Gas           Gov. Aggregation
COH             167548570029                Gas           Gov. Aggregation   COH             202590280018                Gas           Gov. Aggregation
COH             161390020089                Gas           Gov. Aggregation   COH             201288670018                Gas           Gov. Aggregation
COH             163188160041                Gas           Gov. Aggregation   COH             202249010017                Gas           Gov. Aggregation
COH             150378360087                Gas           Gov. Aggregation   COH             196798940027                Gas           Gov. Aggregation
COH             136848570020                Gas           Gov. Aggregation   COH             205009780011                Gas           Gov. Aggregation
COH             203066800027                Gas           Gov. Aggregation   COH             204281290019                Gas           Gov. Aggregation
COH             203752870019                Gas           Gov. Aggregation   COH             201805040012                Gas           Gov. Aggregation
COH             192836780023                Gas           Gov. Aggregation   COH             203704680010                Gas           Gov. Aggregation
COH             196252740025                Gas           Gov. Aggregation   COH             111026540036                Gas           Gov. Aggregation
COH             200024630015                Gas           Gov. Aggregation   COH             160092870039                Gas           Gov. Aggregation
COH             154164120031                Gas           Gov. Aggregation   COH             204992320015                Gas           Gov. Aggregation
COH             203316010013                Gas           Gov. Aggregation   COH             202774090018                Gas           Gov. Aggregation
COH             201178170016                Gas           Gov. Aggregation   COH             202033970013                Gas           Gov. Aggregation
COH             200711710011                Gas           Gov. Aggregation   COH             203704690018                Gas           Gov. Aggregation
COH             200289920014                Gas           Gov. Aggregation   COH             201529900017                Gas           Gov. Aggregation
COH             136896840077                Gas           Gov. Aggregation   COH             201685190017                Gas           Gov. Aggregation
COH             124450030020                Gas           Gov. Aggregation   COH             205198120010                Gas           Gov. Aggregation
COH             199938730011                Gas           Gov. Aggregation   COH             202834120013                Gas           Gov. Aggregation
COH             201364240016                Gas           Gov. Aggregation   COH             203094510010                Gas           Gov. Aggregation
COH             201361280014                Gas           Gov. Aggregation   COH             204820040017                Gas           Gov. Aggregation
COH             169164730027                Gas           Gov. Aggregation   COH             204404700010                Gas           Gov. Aggregation
COH             191553120022                Gas           Gov. Aggregation   COH             159448370050                Gas           Gov. Aggregation
COH             201631580018                Gas           Gov. Aggregation   COH             203554870019                Gas           Gov. Aggregation
COH             165137030025                Gas           Gov. Aggregation   COH             173832770071                Gas           Gov. Aggregation
COH             201645940013                Gas           Gov. Aggregation   COH             203820940019                Gas           Gov. Aggregation
COH             202328770010                Gas           Gov. Aggregation   COH             205059730016                Gas           Gov. Aggregation
COH             203752790016                Gas           Gov. Aggregation   COH             201594910018                Gas           Gov. Aggregation
COH             197314030021                Gas           Gov. Aggregation   COH             111263380029                Gas           Gov. Aggregation
COH             201135990014                Gas           Gov. Aggregation   COH             162018430035                Gas           Gov. Aggregation
COH             192459840048                Gas           Gov. Aggregation   COH             160490890031                Gas           Gov. Aggregation
COH             195624020037                Gas           Gov. Aggregation   COH             201890290011                Gas           Gov. Aggregation
COH             187788790021                Gas           Gov. Aggregation   COH             112084710046                Gas           Gov. Aggregation
COH             202526310016                Gas           Gov. Aggregation   COH             204580550038                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             202165540014                Gas           Gov. Aggregation   COH             201103870025                Gas           Gov. Aggregation
COH             160094720045                Gas           Gov. Aggregation   COH             204391470018                Gas           Gov. Aggregation
COH             202312790019                Gas           Gov. Aggregation   COH             204800020013                Gas           Gov. Aggregation
COH             203422660012                Gas           Gov. Aggregation   COH             203634160018                Gas           Gov. Aggregation
COH             202484020017                Gas           Gov. Aggregation   COH             203169570019                Gas           Gov. Aggregation
COH             188614760023                Gas           Gov. Aggregation   COH             201288280010                Gas           Gov. Aggregation
COH             201733490011                Gas           Gov. Aggregation   COH             201091620015                Gas           Gov. Aggregation
COH             163098570242                Gas           Gov. Aggregation   COH             204583850011                Gas           Gov. Aggregation
COH             203597320014                Gas           Gov. Aggregation   COH             203840200012                Gas           Gov. Aggregation
COH             193943130021                Gas           Gov. Aggregation   COH             203425440012                Gas           Gov. Aggregation
COH             202081400011                Gas           Gov. Aggregation   COH             166120480025                Gas           Gov. Aggregation
COH             197378020038                Gas           Gov. Aggregation   COH             204064350016                Gas           Gov. Aggregation
COH             151669880035                Gas           Gov. Aggregation   COH             203490170012                Gas           Gov. Aggregation
COH             188107730024                Gas           Gov. Aggregation   COH             205008830012                Gas           Gov. Aggregation
COH             167770270049                Gas           Gov. Aggregation   COH             204969220015                Gas           Gov. Aggregation
COH             151991600138                Gas           Gov. Aggregation   COH             171372310020                Gas           Gov. Aggregation
COH             201641150017                Gas           Gov. Aggregation   COH             186344400041                Gas           Gov. Aggregation
COH             203352130012                Gas           Gov. Aggregation   COH             185847850024                Gas           Gov. Aggregation
COH             193334860065                Gas           Gov. Aggregation   COH             186170560010                Gas           Gov. Aggregation
COH             197420210028                Gas           Gov. Aggregation   COH             203460370022                Gas           Gov. Aggregation
COH             202315030012                Gas           Gov. Aggregation   COH             203385670010                Gas           Gov. Aggregation
COH             151365780012                Gas           Gov. Aggregation   COH             203921760013                Gas           Gov. Aggregation
COH             193483630031                Gas           Gov. Aggregation   COH             186324710020                Gas           Gov. Aggregation
COH             202843530018                Gas           Gov. Aggregation   COH             162782130011                Gas           Gov. Aggregation
COH             202557170011                Gas           Gov. Aggregation   COH             110218100078                Gas           Gov. Aggregation
COH             153217020012                Gas           Gov. Aggregation   COH             165528510016                Gas           Gov. Aggregation
COH             171348460011                Gas           Gov. Aggregation   COH             187016250010                Gas           Gov. Aggregation
COH             202935180017                Gas           Gov. Aggregation   COH             171508380018                Gas           Gov. Aggregation
COH             203212020011                Gas           Gov. Aggregation   COH             170596380014                Gas           Gov. Aggregation
COH             201398490013                Gas           Gov. Aggregation   COH             199355180022                Gas           Gov. Aggregation
COH             194748120026                Gas           Gov. Aggregation   COH             199545810053                Gas           Gov. Aggregation
COH             202834670018                Gas           Gov. Aggregation   COH             186202400032                Gas           Gov. Aggregation
COH             202337690018                Gas           Gov. Aggregation   COH             189216820069                Gas           Gov. Aggregation
COH             149922140018                Gas           Gov. Aggregation   COH             188672200028                Gas           Gov. Aggregation
COH             202210500015                Gas           Gov. Aggregation   COH             197344030037                Gas           Gov. Aggregation
COH             164278260020                Gas           Gov. Aggregation   COH             196894040022                Gas           Gov. Aggregation
COH             145499160017                Gas           Gov. Aggregation   COH             196894040040                Gas           Gov. Aggregation
COH             186056760029                Gas           Gov. Aggregation   COH             198758790021                Gas           Gov. Aggregation
COH             202590770015                Gas           Gov. Aggregation   COH             203686360017                Gas           Gov. Aggregation
COH             124447660016                Gas           Gov. Aggregation   COH             203703080018                Gas           Gov. Aggregation
COH             156367500039                Gas           Gov. Aggregation   COH             204139200018                Gas           Gov. Aggregation
COH             200425040019                Gas           Gov. Aggregation   COH             202737950015                Gas           Gov. Aggregation
COH             200111660014                Gas           Gov. Aggregation   COH             204749040019                Gas           Gov. Aggregation
COH             201092220017                Gas           Gov. Aggregation   COH             200892060034                Gas           Gov. Aggregation
COH             202826910014                Gas           Gov. Aggregation   COH             186335350050                Gas           Gov. Aggregation
COH             203522450014                Gas           Gov. Aggregation   COH             195045690035                Gas           Gov. Aggregation
COH             188277510030                Gas           Gov. Aggregation   COH             111264790021                Gas           Gov. Aggregation
COH             200916480016                Gas           Gov. Aggregation   COH             201515930010                Gas           Gov. Aggregation
COH             202237430014                Gas           Gov. Aggregation   COH             201713820013                Gas           Gov. Aggregation
COH             202107990012                Gas           Gov. Aggregation   COH             201375020019                Gas           Gov. Aggregation
COH             201645900011                Gas           Gov. Aggregation   COH             200306640024                Gas           Gov. Aggregation
COH             201184250016                Gas           Gov. Aggregation   COH             204269220019                Gas           Gov. Aggregation
COH             189870220087                Gas           Gov. Aggregation   COH             204206940010                Gas           Gov. Aggregation
COH             201518760010                Gas           Gov. Aggregation   COH             202385510014                Gas           Gov. Aggregation
COH             201037780016                Gas           Gov. Aggregation   COH             202158250010                Gas           Gov. Aggregation
COH             202409430019                Gas           Gov. Aggregation   COH             202186180016                Gas           Gov. Aggregation
COH             195893480023                Gas           Gov. Aggregation   COH             204958580013                Gas           Gov. Aggregation
COH             162075350023                Gas           Gov. Aggregation   COH             193941250020                Gas           Gov. Aggregation
COH             202210800012                Gas           Gov. Aggregation   COH             166862470043                Gas           Gov. Aggregation
COH             191174940015                Gas           Gov. Aggregation   COH             161954280052                Gas           Gov. Aggregation
COH             203597090013                Gas           Gov. Aggregation   COH             201877460013                Gas           Gov. Aggregation
COH             200327080019                Gas           Gov. Aggregation   COH             202920120010                Gas           Gov. Aggregation
COH             201243180015                Gas           Gov. Aggregation   COH             203188510011                Gas           Gov. Aggregation
COH             201298820015                Gas           Gov. Aggregation   COH             203124320042                Gas           Gov. Aggregation
COH             203325930011                Gas           Gov. Aggregation   COH             204075320019                Gas           Gov. Aggregation
COH             188966650021                Gas           Gov. Aggregation   COH             203943440014                Gas           Gov. Aggregation
COH             185051730053                Gas           Gov. Aggregation   COH             203965460014                Gas           Gov. Aggregation
COH             202981680015                Gas           Gov. Aggregation   COH             203687100019                Gas           Gov. Aggregation
COH             201018280011                Gas           Gov. Aggregation   COH             201740370011                Gas           Gov. Aggregation
COH             174147870027                Gas           Gov. Aggregation   COH             201740380019                Gas           Gov. Aggregation
COH             154150130038                Gas           Gov. Aggregation   COH             201960640018                Gas           Gov. Aggregation
COH             202775390013                Gas           Gov. Aggregation   COH             201664280012                Gas           Gov. Aggregation
COH             200963610019                Gas           Gov. Aggregation   COH             149627270213                Gas           Gov. Aggregation
COH             203088200018                Gas           Gov. Aggregation   COH             150453920070                Gas           Gov. Aggregation
COH             132168830021                Gas           Gov. Aggregation   COH             150093100021                Gas           Gov. Aggregation
COH             200410640014                Gas           Gov. Aggregation   DEO             7180004133263               Gas           Gov. Aggregation
COH             202775300011                Gas           Gov. Aggregation   DEO             9180003879630               Gas           Gov. Aggregation
COH             203406470016                Gas           Gov. Aggregation   DEO             8180008939178               Gas           Gov. Aggregation
COH             199806020028                Gas           Gov. Aggregation   DEO             2180007916087               Gas           Gov. Aggregation
COH             203641370019                Gas           Gov. Aggregation   DEO             2180009039250               Gas           Gov. Aggregation
COH             201534360010                Gas           Gov. Aggregation   DEO             3180007274210               Gas           Gov. Aggregation
COH             196842790024                Gas           Gov. Aggregation   DEO             4500066103821               Gas           Gov. Aggregation
COH             168847160039                Gas           Gov. Aggregation   DEO             2180000572114               Gas           Gov. Aggregation
COH             200737290016                Gas           Gov. Aggregation   DEO             3180001969326               Gas           Gov. Aggregation
COH             202381250017                Gas           Gov. Aggregation   DEO             8500052860948               Gas           Gov. Aggregation
COH             160159170105                Gas           Gov. Aggregation   DEO             5180003925305               Gas           Gov. Aggregation
COH             203225140019                Gas           Gov. Aggregation   DEO             7442100117701               Gas           Gov. Aggregation
COH             153934410065                Gas           Gov. Aggregation   DEO             4500022728387               Gas           Gov. Aggregation
COH             203752710012                Gas           Gov. Aggregation   DEO             6500065408274               Gas           Gov. Aggregation
COH             162151630031                Gas           Gov. Aggregation   DEO             0180004730441               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             130575580014                Gas           Gov. Aggregation   DEO             8180008263580               Gas           Gov. Aggregation
COH             201560530019                Gas           Gov. Aggregation   DEO             1180002482002               Gas           Gov. Aggregation
COH             137949370054                Gas           Gov. Aggregation   DEO             9180005456879               Gas           Gov. Aggregation
COH             138910420197                Gas           Gov. Aggregation   DEO             9500050993174               Gas           Gov. Aggregation
COH             202913220014                Gas           Gov. Aggregation   DEO             9500061283319               Gas           Gov. Aggregation
COH             124484150024                Gas           Gov. Aggregation   DEO             8500066490601               Gas           Gov. Aggregation
COH             164698610026                Gas           Gov. Aggregation   DEO             1440106896600               Gas           Gov. Aggregation
COH             200604830013                Gas           Gov. Aggregation   DEO             7180006483858               Gas           Gov. Aggregation
COH             157367140043                Gas           Gov. Aggregation   DEO             3180009114483               Gas           Gov. Aggregation
COH             137111380039                Gas           Gov. Aggregation   DEO             4180002523918               Gas           Gov. Aggregation
COH             203022280010                Gas           Gov. Aggregation   DEO             1180001684903               Gas           Gov. Aggregation
COH             200853410014                Gas           Gov. Aggregation   DEO             1180005302550               Gas           Gov. Aggregation
COH             198546380026                Gas           Gov. Aggregation   DEO             1180007411180               Gas           Gov. Aggregation
COH             124448550142                Gas           Gov. Aggregation   DEO             6500064150288               Gas           Gov. Aggregation
COH             203738540018                Gas           Gov. Aggregation   DEO             0500054186329               Gas           Gov. Aggregation
COH             157641150021                Gas           Gov. Aggregation   DEO             3180002018797               Gas           Gov. Aggregation
COH             202935210010                Gas           Gov. Aggregation   DEO             7500060193138               Gas           Gov. Aggregation
COH             166974000026                Gas           Gov. Aggregation   DEO             9180004219423               Gas           Gov. Aggregation
COH             124456270019                Gas           Gov. Aggregation   DEO             9500065458564               Gas           Gov. Aggregation
COH             202699810016                Gas           Gov. Aggregation   DEO             1180007270966               Gas           Gov. Aggregation
COH             164775070044                Gas           Gov. Aggregation   DEO             3180008079468               Gas           Gov. Aggregation
COH             199902940012                Gas           Gov. Aggregation   DEO             4180006132034               Gas           Gov. Aggregation
COH             185511970039                Gas           Gov. Aggregation   DEO             0180001403752               Gas           Gov. Aggregation
COH             202798680014                Gas           Gov. Aggregation   DEO             0180009035507               Gas           Gov. Aggregation
COH             191223270020                Gas           Gov. Aggregation   DEO             8500035811868               Gas           Gov. Aggregation
COH             200520870013                Gas           Gov. Aggregation   DEO             9180006902012               Gas           Gov. Aggregation
COH             201349740013                Gas           Gov. Aggregation   DEO             5180007413115               Gas           Gov. Aggregation
COH             168854610048                Gas           Gov. Aggregation   DEO             6180002668665               Gas           Gov. Aggregation
COH             197029230024                Gas           Gov. Aggregation   DEO             6180006645974               Gas           Gov. Aggregation
COH             202021410015                Gas           Gov. Aggregation   DEO             6180001719811               Gas           Gov. Aggregation
COH             202732040016                Gas           Gov. Aggregation   COH             171346480011                Gas           Gov. Aggregation
COH             203509610018                Gas           Gov. Aggregation   COH             187635010018                Gas           Gov. Aggregation
COH             200091560019                Gas           Gov. Aggregation   COH             188354790010                Gas           Gov. Aggregation
COH             202369950016                Gas           Gov. Aggregation   COH             188360620012                Gas           Gov. Aggregation
COH             202107940012                Gas           Gov. Aggregation   COH             189140460011                Gas           Gov. Aggregation
COH             203736340014                Gas           Gov. Aggregation   DEO             9180007721103               Gas           Gov. Aggregation
COH             201269880014                Gas           Gov. Aggregation   DEO             9180005233383               Gas           Gov. Aggregation
COH             200764740014                Gas           Gov. Aggregation   DEO             9180005069825               Gas           Gov. Aggregation
COH             200576610038                Gas           Gov. Aggregation   DEO             8500063745750               Gas           Gov. Aggregation
COH             195009250024                Gas           Gov. Aggregation   DEO             8500060543572               Gas           Gov. Aggregation
COH             195667920029                Gas           Gov. Aggregation   DEO             7180006786147               Gas           Gov. Aggregation
COH             199917010025                Gas           Gov. Aggregation   DEO             7180006249670               Gas           Gov. Aggregation
COH             203206260014                Gas           Gov. Aggregation   DEO             7180006321177               Gas           Gov. Aggregation
COH             203370230013                Gas           Gov. Aggregation   DEO             8180007562533               Gas           Gov. Aggregation
COH             161386170023                Gas           Gov. Aggregation   DEO             8180005313992               Gas           Gov. Aggregation
COH             124434040022                Gas           Gov. Aggregation   DEO             0180006695757               Gas           Gov. Aggregation
COH             138002860092                Gas           Gov. Aggregation   DEO             2500062555610               Gas           Gov. Aggregation
COH             201105050014                Gas           Gov. Aggregation   DEO             8500065975402               Gas           Gov. Aggregation
COH             200758910020                Gas           Gov. Aggregation   DEO             9180008439607               Gas           Gov. Aggregation
COH             201248430012                Gas           Gov. Aggregation   DEO             9500046771852               Gas           Gov. Aggregation
COH             176842590020                Gas           Gov. Aggregation   DEO             1180008084098               Gas           Gov. Aggregation
COH             202210710011                Gas           Gov. Aggregation   DEO             1180005297737               Gas           Gov. Aggregation
COH             124408190026                Gas           Gov. Aggregation   DEO             4180008781378               Gas           Gov. Aggregation
COH             141494080036                Gas           Gov. Aggregation   DEO             5180007714161               Gas           Gov. Aggregation
COH             154641700028                Gas           Gov. Aggregation   DEO             3180007435916               Gas           Gov. Aggregation
COH             201210980034                Gas           Gov. Aggregation   DEO             4180005637505               Gas           Gov. Aggregation
COH             201653420033                Gas           Gov. Aggregation   DEO             4180003767423               Gas           Gov. Aggregation
COH             202921270017                Gas           Gov. Aggregation   DEO             8180005834991               Gas           Gov. Aggregation
COH             187909730034                Gas           Gov. Aggregation   DEO             8180004699460               Gas           Gov. Aggregation
COH             153512010018                Gas           Gov. Aggregation   DEO             8180008015040               Gas           Gov. Aggregation
COH             200424930014                Gas           Gov. Aggregation   DEO             6500060321073               Gas           Gov. Aggregation
COH             196217270028                Gas           Gov. Aggregation   DEO             8500034688764               Gas           Gov. Aggregation
COH             202841280015                Gas           Gov. Aggregation   DEO             8500063770380               Gas           Gov. Aggregation
COH             133581860126                Gas           Gov. Aggregation   DEO             8500062079117               Gas           Gov. Aggregation
COH             124345710039                Gas           Gov. Aggregation   DEO             8500053881252               Gas           Gov. Aggregation
COH             123107960032                Gas           Gov. Aggregation   DEO             9180006124041               Gas           Gov. Aggregation
COH             200814520022                Gas           Gov. Aggregation   DEO             8500066898892               Gas           Gov. Aggregation
COH             202306330018                Gas           Gov. Aggregation   DEO             9180001229838               Gas           Gov. Aggregation
COH             201656610019                Gas           Gov. Aggregation   DEO             9180002278211               Gas           Gov. Aggregation
COH             202121320012                Gas           Gov. Aggregation   DEO             9180002972102               Gas           Gov. Aggregation
COH             202057220010                Gas           Gov. Aggregation   DEO             1500063135042               Gas           Gov. Aggregation
COH             147741570023                Gas           Gov. Aggregation   DEO             1180008073885               Gas           Gov. Aggregation
COH             124528460025                Gas           Gov. Aggregation   DEO             6442104600828               Gas           Gov. Aggregation
COH             125803580034                Gas           Gov. Aggregation   DEO             8180007889193               Gas           Gov. Aggregation
COH             130344900033                Gas           Gov. Aggregation   DEO             4180005718714               Gas           Gov. Aggregation
COH             158959760047                Gas           Gov. Aggregation   DEO             3180007668281               Gas           Gov. Aggregation
COH             201024760017                Gas           Gov. Aggregation   DEO             3180007362591               Gas           Gov. Aggregation
COH             201589190011                Gas           Gov. Aggregation   DEO             3180008824456               Gas           Gov. Aggregation
COH             203478270017                Gas           Gov. Aggregation   DEO             0180003727103               Gas           Gov. Aggregation
COH             203406440012                Gas           Gov. Aggregation   DEO             0180000040920               Gas           Gov. Aggregation
COH             203315970014                Gas           Gov. Aggregation   DEO             1500064800235               Gas           Gov. Aggregation
COH             155184070011                Gas           Gov. Aggregation   DEO             1500060650438               Gas           Gov. Aggregation
COH             139639010134                Gas           Gov. Aggregation   DEO             1500054108652               Gas           Gov. Aggregation
COH             202387020013                Gas           Gov. Aggregation   DEO             9500062025050               Gas           Gov. Aggregation
COH             200228330016                Gas           Gov. Aggregation   DEO             4180003746525               Gas           Gov. Aggregation
COH             202457360013                Gas           Gov. Aggregation   DEO             4180001426323               Gas           Gov. Aggregation
COH             201246760026                Gas           Gov. Aggregation   COH             191059760017                Gas           Gov. Aggregation
COH             202462600011                Gas           Gov. Aggregation   COH             190910630019                Gas           Gov. Aggregation
COH             203549030016                Gas           Gov. Aggregation   COH             191114910017                Gas           Gov. Aggregation
COH             144997710025                Gas           Gov. Aggregation   DEO             7500066105870               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             147449940294                Gas           Gov. Aggregation   DEO             6500066313487               Gas           Gov. Aggregation
COH             200860500010                Gas           Gov. Aggregation   DEO             7180001358161               Gas           Gov. Aggregation
COH             202770950015                Gas           Gov. Aggregation   DEO             5180005840853               Gas           Gov. Aggregation
COH             202834660010                Gas           Gov. Aggregation   DEO             4500067137212               Gas           Gov. Aggregation
COH             141027760014                Gas           Gov. Aggregation   DEO             5180007133856               Gas           Gov. Aggregation
COH             166507120137                Gas           Gov. Aggregation   DEO             5442106987103               Gas           Gov. Aggregation
COH             192046730019                Gas           Gov. Aggregation   DEO             5500055118721               Gas           Gov. Aggregation
COH             170817610024                Gas           Gov. Aggregation   DEO             5180007094552               Gas           Gov. Aggregation
COH             142819520023                Gas           Gov. Aggregation   DEO             5500064755830               Gas           Gov. Aggregation
COH             143995450025                Gas           Gov. Aggregation   DEO             5500066608978               Gas           Gov. Aggregation
COH             186048820041                Gas           Gov. Aggregation   DEO             5500067660592               Gas           Gov. Aggregation
COH             171926860048                Gas           Gov. Aggregation   DEO             6180001588781               Gas           Gov. Aggregation
COH             124436720043                Gas           Gov. Aggregation   DEO             6180002349368               Gas           Gov. Aggregation
COH             202559830018                Gas           Gov. Aggregation   DEO             7180008968919               Gas           Gov. Aggregation
COH             203593960018                Gas           Gov. Aggregation   DEO             5500007735027               Gas           Gov. Aggregation
COH             203518440015                Gas           Gov. Aggregation   DEO             5500047229496               Gas           Gov. Aggregation
COH             202805890013                Gas           Gov. Aggregation   DEO             5180007525601               Gas           Gov. Aggregation
COH             202798670016                Gas           Gov. Aggregation   DEO             4440108397138               Gas           Gov. Aggregation
COH             201323570013                Gas           Gov. Aggregation   DEO             9500048797601               Gas           Gov. Aggregation
COH             201366600016                Gas           Gov. Aggregation   DEO             9500067004830               Gas           Gov. Aggregation
COH             200999020018                Gas           Gov. Aggregation   DEO             9180000497877               Gas           Gov. Aggregation
COH             199737850021                Gas           Gov. Aggregation   DEO             9180007504034               Gas           Gov. Aggregation
COH             203295020017                Gas           Gov. Aggregation   DEO             2180008051881               Gas           Gov. Aggregation
COH             203048630012                Gas           Gov. Aggregation   DEO             3180002962138               Gas           Gov. Aggregation
COH             201527720019                Gas           Gov. Aggregation   DEO             5180005501448               Gas           Gov. Aggregation
COH             127106340209                Gas           Gov. Aggregation   DEO             5180003533780               Gas           Gov. Aggregation
COH             146848310031                Gas           Gov. Aggregation   DEO             4500024770277               Gas           Gov. Aggregation
COH             190497620037                Gas           Gov. Aggregation   DEO             6500060502209               Gas           Gov. Aggregation
COH             175132760048                Gas           Gov. Aggregation   DEO             6500054545659               Gas           Gov. Aggregation
COH             202418870018                Gas           Gov. Aggregation   DEO             6500055079605               Gas           Gov. Aggregation
COH             200282170016                Gas           Gov. Aggregation   DEO             6180008764378               Gas           Gov. Aggregation
COH             191140050022                Gas           Gov. Aggregation   DEO             9500064103444               Gas           Gov. Aggregation
COH             201421210010                Gas           Gov. Aggregation   DEO             5180008778935               Gas           Gov. Aggregation
COH             148167430010                Gas           Gov. Aggregation   DEO             5440101000875               Gas           Gov. Aggregation
COH             134731600013                Gas           Gov. Aggregation   DEO             9500067492027               Gas           Gov. Aggregation
COH             195851870038                Gas           Gov. Aggregation   DEO             8440102512715               Gas           Gov. Aggregation
COH             200357130015                Gas           Gov. Aggregation   DEO             6500066827511               Gas           Gov. Aggregation
COH             202237260010                Gas           Gov. Aggregation   DEO             6500066855792               Gas           Gov. Aggregation
COH             159085890088                Gas           Gov. Aggregation   DEO             3180003516308               Gas           Gov. Aggregation
COH             137111380048                Gas           Gov. Aggregation   DEO             3180007088148               Gas           Gov. Aggregation
COH             200945840019                Gas           Gov. Aggregation   DEO             3180007205086               Gas           Gov. Aggregation
COH             200359350015                Gas           Gov. Aggregation   DEO             2180008358875               Gas           Gov. Aggregation
COH             202672300019                Gas           Gov. Aggregation   DEO             2180008881633               Gas           Gov. Aggregation
COH             203576730012                Gas           Gov. Aggregation   DEO             7180008175021               Gas           Gov. Aggregation
COH             195080060024                Gas           Gov. Aggregation   DEO             7180005299454               Gas           Gov. Aggregation
COH             186734410042                Gas           Gov. Aggregation   DEO             6180008804252               Gas           Gov. Aggregation
COH             166398670046                Gas           Gov. Aggregation   DEO             5180009028151               Gas           Gov. Aggregation
COH             155823710029                Gas           Gov. Aggregation   DEO             5500055192422               Gas           Gov. Aggregation
COH             157108510052                Gas           Gov. Aggregation   DEO             5500027632418               Gas           Gov. Aggregation
COH             174883440036                Gas           Gov. Aggregation   DEO             5500063652428               Gas           Gov. Aggregation
COH             198590580067                Gas           Gov. Aggregation   DEO             5500064325212               Gas           Gov. Aggregation
COH             201119180018                Gas           Gov. Aggregation   DEO             5180005266894               Gas           Gov. Aggregation
COH             200344250017                Gas           Gov. Aggregation   DEO             5180004659175               Gas           Gov. Aggregation
COH             203749990011                Gas           Gov. Aggregation   DEO             5180006789162               Gas           Gov. Aggregation
COH             174850460022                Gas           Gov. Aggregation   DEO             5180003061001               Gas           Gov. Aggregation
COH             144901980039                Gas           Gov. Aggregation   DEO             5180003928890               Gas           Gov. Aggregation
COH             203717970012                Gas           Gov. Aggregation   DEO             4180008842728               Gas           Gov. Aggregation
COH             200704140016                Gas           Gov. Aggregation   DEO             5180008519897               Gas           Gov. Aggregation
COH             201748270016                Gas           Gov. Aggregation   DEO             5180008768625               Gas           Gov. Aggregation
COH             202467490015                Gas           Gov. Aggregation   DEO             5180008469966               Gas           Gov. Aggregation
COH             201387140019                Gas           Gov. Aggregation   DEO             6500065472829               Gas           Gov. Aggregation
COH             202273130011                Gas           Gov. Aggregation   DEO             7180000650224               Gas           Gov. Aggregation
COH             202277780017                Gas           Gov. Aggregation   DEO             4500055311735               Gas           Gov. Aggregation
COH             172924980028                Gas           Gov. Aggregation   DEO             4180008405512               Gas           Gov. Aggregation
COH             202680530014                Gas           Gov. Aggregation   DEO             8180006812384               Gas           Gov. Aggregation
COH             200289880013                Gas           Gov. Aggregation   DEO             6500047464536               Gas           Gov. Aggregation
COH             169400070015                Gas           Gov. Aggregation   DEO             3180005288385               Gas           Gov. Aggregation
COH             188484720037                Gas           Gov. Aggregation   DEO             3180002581713               Gas           Gov. Aggregation
COH             203304900011                Gas           Gov. Aggregation   DEO             3180002037051               Gas           Gov. Aggregation
COH             203252960010                Gas           Gov. Aggregation   DEO             3180004778282               Gas           Gov. Aggregation
COH             153927180023                Gas           Gov. Aggregation   DEO             3180003676313               Gas           Gov. Aggregation
COH             139558530100                Gas           Gov. Aggregation   DEO             3180000883235               Gas           Gov. Aggregation
COH             162551570090                Gas           Gov. Aggregation   DEO             0180007161617               Gas           Gov. Aggregation
COH             188216690040                Gas           Gov. Aggregation   DEO             1180007726740               Gas           Gov. Aggregation
COH             169498160119                Gas           Gov. Aggregation   DEO             1500064787127               Gas           Gov. Aggregation
COH             201853490017                Gas           Gov. Aggregation   DEO             7500063471358               Gas           Gov. Aggregation
COH             201423680018                Gas           Gov. Aggregation   DEO             6500065698229               Gas           Gov. Aggregation
COH             201067180019                Gas           Gov. Aggregation   DEO             6500066056158               Gas           Gov. Aggregation
COH             200971620010                Gas           Gov. Aggregation   DEO             7180000499035               Gas           Gov. Aggregation
COH             201207370011                Gas           Gov. Aggregation   DEO             4500054127326               Gas           Gov. Aggregation
COH             200775330017                Gas           Gov. Aggregation   DEO             4500055033034               Gas           Gov. Aggregation
COH             191899400030                Gas           Gov. Aggregation   DEO             6500053429654               Gas           Gov. Aggregation
COH             195315070041                Gas           Gov. Aggregation   DEO             6500060517794               Gas           Gov. Aggregation
COH             203269930011                Gas           Gov. Aggregation   DEO             6500063543620               Gas           Gov. Aggregation
COH             201724290012                Gas           Gov. Aggregation   DEO             7180004648291               Gas           Gov. Aggregation
COH             202031380011                Gas           Gov. Aggregation   DEO             0180007210565               Gas           Gov. Aggregation
COH             202571590013                Gas           Gov. Aggregation   DEO             2180007111705               Gas           Gov. Aggregation
COH             144947160026                Gas           Gov. Aggregation   DEO             3500066671135               Gas           Gov. Aggregation
COH             129458700064                Gas           Gov. Aggregation   DEO             3500066436790               Gas           Gov. Aggregation
COH             142016170038                Gas           Gov. Aggregation   DEO             7500055573219               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             201580140019                Gas           Gov. Aggregation   DEO             3180008003315               Gas           Gov. Aggregation
COH             185699960026                Gas           Gov. Aggregation   DEO             3500055018549               Gas           Gov. Aggregation
COH             202034920011                Gas           Gov. Aggregation   DEO             3440106619588               Gas           Gov. Aggregation
COH             202026730018                Gas           Gov. Aggregation   DEO             3180008182416               Gas           Gov. Aggregation
COH             148581950120                Gas           Gov. Aggregation   DEO             0442102571888               Gas           Gov. Aggregation
COH             200326970014                Gas           Gov. Aggregation   DEO             0500018659288               Gas           Gov. Aggregation
COH             200373600012                Gas           Gov. Aggregation   DEO             0500043614133               Gas           Gov. Aggregation
COH             200754420012                Gas           Gov. Aggregation   DEO             0500053543659               Gas           Gov. Aggregation
COH             175858340048                Gas           Gov. Aggregation   DEO             0500063366838               Gas           Gov. Aggregation
COH             187766550027                Gas           Gov. Aggregation   DEO             1180001987225               Gas           Gov. Aggregation
COH             202367700012                Gas           Gov. Aggregation   DEO             5180006819412               Gas           Gov. Aggregation
COH             155468060020                Gas           Gov. Aggregation   DEO             5180007491440               Gas           Gov. Aggregation
COH             203088090012                Gas           Gov. Aggregation   DEO             5180007863094               Gas           Gov. Aggregation
COH             201589110017                Gas           Gov. Aggregation   DEO             5180009054296               Gas           Gov. Aggregation
COH             193316960026                Gas           Gov. Aggregation   DEO             6180007380013               Gas           Gov. Aggregation
COH             202245180010                Gas           Gov. Aggregation   DEO             7180003764323               Gas           Gov. Aggregation
COH             165118650276                Gas           Gov. Aggregation   DEO             6500064321809               Gas           Gov. Aggregation
COH             135750260014                Gas           Gov. Aggregation   DEO             6500065435641               Gas           Gov. Aggregation
COH             124531980010                Gas           Gov. Aggregation   COH             192080320013                Gas           Gov. Aggregation
COH             202526120016                Gas           Gov. Aggregation   COH             150009810010                Gas           Gov. Aggregation
COH             125257590040                Gas           Gov. Aggregation   COH             190294100018                Gas           Gov. Aggregation
COH             166019330021                Gas           Gov. Aggregation   COH             190909470016                Gas           Gov. Aggregation
COH             203118970012                Gas           Gov. Aggregation   COH             190925550015                Gas           Gov. Aggregation
COH             202732680012                Gas           Gov. Aggregation   COH             110453970014                Gas           Gov. Aggregation
COH             201260860016                Gas           Gov. Aggregation   COH             164307560015                Gas           Gov. Aggregation
COH             202585100016                Gas           Gov. Aggregation   COH             110475160018                Gas           Gov. Aggregation
COH             202502860011                Gas           Gov. Aggregation   COH             110519330027                Gas           Gov. Aggregation
COH             159860350032                Gas           Gov. Aggregation   COH             111339260014                Gas           Gov. Aggregation
COH             142236450042                Gas           Gov. Aggregation   COH             111325790012                Gas           Gov. Aggregation
COH             201414460013                Gas           Gov. Aggregation   COH             111326350012                Gas           Gov. Aggregation
COH             185321660028                Gas           Gov. Aggregation   COH             111329290028                Gas           Gov. Aggregation
COH             169003930025                Gas           Gov. Aggregation   COH             111330780013                Gas           Gov. Aggregation
COH             202506250011                Gas           Gov. Aggregation   COH             111331010012                Gas           Gov. Aggregation
COH             203080910015                Gas           Gov. Aggregation   COH             111331430014                Gas           Gov. Aggregation
COH             203162810012                Gas           Gov. Aggregation   COH             111341870011                Gas           Gov. Aggregation
COH             200357260018                Gas           Gov. Aggregation   COH             191892740015                Gas           Gov. Aggregation
COH             201950450019                Gas           Gov. Aggregation   COH             191953430010                Gas           Gov. Aggregation
COH             200697480012                Gas           Gov. Aggregation   COH             131553520011                Gas           Gov. Aggregation
COH             200668910012                Gas           Gov. Aggregation   COH             128877550014                Gas           Gov. Aggregation
COH             139038330033                Gas           Gov. Aggregation   COH             111458100033                Gas           Gov. Aggregation
COH             124465700019                Gas           Gov. Aggregation   COH             166825270016                Gas           Gov. Aggregation
COH             203444650018                Gas           Gov. Aggregation   COH             171060760018                Gas           Gov. Aggregation
COH             202094740013                Gas           Gov. Aggregation   COH             156796100016                Gas           Gov. Aggregation
COH             203484890014                Gas           Gov. Aggregation   COH             172920610014                Gas           Gov. Aggregation
COH             203447020014                Gas           Gov. Aggregation   COH             158634470019                Gas           Gov. Aggregation
COH             200077560019                Gas           Gov. Aggregation   COH             175355620018                Gas           Gov. Aggregation
COH             201631410013                Gas           Gov. Aggregation   COH             175525600011                Gas           Gov. Aggregation
COH             124683540039                Gas           Gov. Aggregation   COH             139074970015                Gas           Gov. Aggregation
COH             188330120056                Gas           Gov. Aggregation   COH             186242360028                Gas           Gov. Aggregation
COH             201517090013                Gas           Gov. Aggregation   COH             192078790010                Gas           Gov. Aggregation
COH             195789880039                Gas           Gov. Aggregation   COH             191780950018                Gas           Gov. Aggregation
COH             201500780013                Gas           Gov. Aggregation   COH             154719020017                Gas           Gov. Aggregation
COH             200345530016                Gas           Gov. Aggregation   COH             155365890015                Gas           Gov. Aggregation
COH             200916500011                Gas           Gov. Aggregation   COH             156223610012                Gas           Gov. Aggregation
COH             203561880012                Gas           Gov. Aggregation   COH             156309610029                Gas           Gov. Aggregation
COH             175176430027                Gas           Gov. Aggregation   COH             156392810031                Gas           Gov. Aggregation
COH             201504650012                Gas           Gov. Aggregation   COH             156837400033                Gas           Gov. Aggregation
COH             201486170013                Gas           Gov. Aggregation   COH             156840850014                Gas           Gov. Aggregation
COH             169989850051                Gas           Gov. Aggregation   COH             155260700016                Gas           Gov. Aggregation
COH             173722620020                Gas           Gov. Aggregation   COH             155936920035                Gas           Gov. Aggregation
COH             200147530016                Gas           Gov. Aggregation   COH             156233310032                Gas           Gov. Aggregation
COH             201597110010                Gas           Gov. Aggregation   COH             158675090013                Gas           Gov. Aggregation
COH             203431250019                Gas           Gov. Aggregation   COH             158713100018                Gas           Gov. Aggregation
COH             200628010015                Gas           Gov. Aggregation   COH             157697230018                Gas           Gov. Aggregation
COH             192629040027                Gas           Gov. Aggregation   DEO             5500064407231               Gas           Gov. Aggregation
COH             170186300028                Gas           Gov. Aggregation   DEO             5500039292718               Gas           Gov. Aggregation
COH             165403140036                Gas           Gov. Aggregation   DEO             3180001702409               Gas           Gov. Aggregation
COH             202409540016                Gas           Gov. Aggregation   DEO             3180008023278               Gas           Gov. Aggregation
COH             132118150038                Gas           Gov. Aggregation   DEO             3500019964001               Gas           Gov. Aggregation
COH             135634960068                Gas           Gov. Aggregation   DEO             3500054154247               Gas           Gov. Aggregation
COH             170287090047                Gas           Gov. Aggregation   DEO             3180006993346               Gas           Gov. Aggregation
COH             159866360029                Gas           Gov. Aggregation   DEO             9500063801972               Gas           Gov. Aggregation
COH             201806840021                Gas           Gov. Aggregation   DEO             9180008690909               Gas           Gov. Aggregation
COH             177763400035                Gas           Gov. Aggregation   DEO             4500062524418               Gas           Gov. Aggregation
COH             138539450019                Gas           Gov. Aggregation   DEO             4180007482448               Gas           Gov. Aggregation
COH             201323640027                Gas           Gov. Aggregation   DEO             5500012027074               Gas           Gov. Aggregation
COH             124309800027                Gas           Gov. Aggregation   DEO             7500054003147               Gas           Gov. Aggregation
COH             201486060016                Gas           Gov. Aggregation   DEO             7500066209713               Gas           Gov. Aggregation
COH             199873160019                Gas           Gov. Aggregation   DEO             8180001828216               Gas           Gov. Aggregation
COH             202928200017                Gas           Gov. Aggregation   DEO             9180007882110               Gas           Gov. Aggregation
COH             202571910015                Gas           Gov. Aggregation   DEO             9180007975417               Gas           Gov. Aggregation
COH             200638340015                Gas           Gov. Aggregation   DEO             6180005187319               Gas           Gov. Aggregation
COH             200520800017                Gas           Gov. Aggregation   COH             121952850018                Gas           Gov. Aggregation
COH             125304850035                Gas           Gov. Aggregation   COH             121966570027                Gas           Gov. Aggregation
COH             125116320026                Gas           Gov. Aggregation   COH             121983740025                Gas           Gov. Aggregation
COH             173902690024                Gas           Gov. Aggregation   COH             199338510028                Gas           Gov. Aggregation
COH             200363020015                Gas           Gov. Aggregation   COH             200899160039                Gas           Gov. Aggregation
COH             201260910015                Gas           Gov. Aggregation   COH             201816420019                Gas           Gov. Aggregation
COH             161813440038                Gas           Gov. Aggregation   COH             201505620016                Gas           Gov. Aggregation
COH             202894730019                Gas           Gov. Aggregation   COH             159570240030                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             200093270016                Gas           Gov. Aggregation   COH             150849050109                Gas           Gov. Aggregation
COH             201510790010                Gas           Gov. Aggregation   COH             186049550073                Gas           Gov. Aggregation
COH             194240720044                Gas           Gov. Aggregation   COH             165654960042                Gas           Gov. Aggregation
COH             166242630034                Gas           Gov. Aggregation   COH             193549010031                Gas           Gov. Aggregation
COH             201076380018                Gas           Gov. Aggregation   COH             192632940049                Gas           Gov. Aggregation
COH             195256120028                Gas           Gov. Aggregation   COH             192646830089                Gas           Gov. Aggregation
COH             201452490017                Gas           Gov. Aggregation   COH             191548510058                Gas           Gov. Aggregation
COH             196338920025                Gas           Gov. Aggregation   COH             203072760014                Gas           Gov. Aggregation
COH             200959060014                Gas           Gov. Aggregation   COH             203450330012                Gas           Gov. Aggregation
COH             142402800054                Gas           Gov. Aggregation   COH             202278410012                Gas           Gov. Aggregation
COH             202337840016                Gas           Gov. Aggregation   COH             202288890011                Gas           Gov. Aggregation
COH             203503160015                Gas           Gov. Aggregation   COH             196104510035                Gas           Gov. Aggregation
COH             166698700061                Gas           Gov. Aggregation   COH             201384720031                Gas           Gov. Aggregation
COH             203643690018                Gas           Gov. Aggregation   COH             201861230014                Gas           Gov. Aggregation
COH             202067990018                Gas           Gov. Aggregation   COH             202062500038                Gas           Gov. Aggregation
COH             202387140018                Gas           Gov. Aggregation   COH             168590060062                Gas           Gov. Aggregation
COH             200614420018                Gas           Gov. Aggregation   COH             161199860043                Gas           Gov. Aggregation
COH             167548510049                Gas           Gov. Aggregation   COH             202180220037                Gas           Gov. Aggregation
COH             203482850016                Gas           Gov. Aggregation   COH             202396830014                Gas           Gov. Aggregation
COH             186935950034                Gas           Gov. Aggregation   COH             202504070013                Gas           Gov. Aggregation
COH             202370000012                Gas           Gov. Aggregation   COH             201096780012                Gas           Gov. Aggregation
COH             167449780034                Gas           Gov. Aggregation   COH             200191360037                Gas           Gov. Aggregation
COH             160733180025                Gas           Gov. Aggregation   COH             158146200010                Gas           Gov. Aggregation
COH             193386970027                Gas           Gov. Aggregation   COH             158225920020                Gas           Gov. Aggregation
COH             201737530014                Gas           Gov. Aggregation   COH             158572270013                Gas           Gov. Aggregation
COH             200068380016                Gas           Gov. Aggregation   COH             159550200012                Gas           Gov. Aggregation
COH             198117130027                Gas           Gov. Aggregation   COH             161135100028                Gas           Gov. Aggregation
COH             200647400013                Gas           Gov. Aggregation   COH             160864560019                Gas           Gov. Aggregation
COH             124348540020                Gas           Gov. Aggregation   COH             160986160024                Gas           Gov. Aggregation
COH             148259560027                Gas           Gov. Aggregation   COH             161018450014                Gas           Gov. Aggregation
COH             198890260022                Gas           Gov. Aggregation   COH             161044210037                Gas           Gov. Aggregation
COH             163846240020                Gas           Gov. Aggregation   COH             144917940025                Gas           Gov. Aggregation
COH             201472570018                Gas           Gov. Aggregation   COH             139989440115                Gas           Gov. Aggregation
COH             200669870019                Gas           Gov. Aggregation   COH             133425020033                Gas           Gov. Aggregation
COH             202921280015                Gas           Gov. Aggregation   COH             189130290036                Gas           Gov. Aggregation
COH             161271450036                Gas           Gov. Aggregation   COH             204978870010                Gas           Gov. Aggregation
COH             200738630012                Gas           Gov. Aggregation   COH             204794830027                Gas           Gov. Aggregation
COH             200237980011                Gas           Gov. Aggregation   COH             172255370061                Gas           Gov. Aggregation
COH             125679740017                Gas           Gov. Aggregation   COH             205305060014                Gas           Gov. Aggregation
COH             160322940026                Gas           Gov. Aggregation   COH             205270210017                Gas           Gov. Aggregation
COH             173956290016                Gas           Gov. Aggregation   COH             166826180059                Gas           Gov. Aggregation
COH             202727060013                Gas           Gov. Aggregation   COH             187210790051                Gas           Gov. Aggregation
COH             200327240015                Gas           Gov. Aggregation   COH             187473720068                Gas           Gov. Aggregation
COH             124386850034                Gas           Gov. Aggregation   COH             193704470026                Gas           Gov. Aggregation
COH             168294850037                Gas           Gov. Aggregation   COH             190148380082                Gas           Gov. Aggregation
COH             168470090033                Gas           Gov. Aggregation   COH             114929600027                Gas           Gov. Aggregation
COH             200580480019                Gas           Gov. Aggregation   COH             204397100013                Gas           Gov. Aggregation
COH             133691510046                Gas           Gov. Aggregation   COH             204580320018                Gas           Gov. Aggregation
COH             200331560019                Gas           Gov. Aggregation   COH             204838340017                Gas           Gov. Aggregation
COH             201437770010                Gas           Gov. Aggregation   COH             153859210021                Gas           Gov. Aggregation
COH             201703380017                Gas           Gov. Aggregation   COH             115021300041                Gas           Gov. Aggregation
COH             200529690013                Gas           Gov. Aggregation   COH             202932770037                Gas           Gov. Aggregation
COH             200471730017                Gas           Gov. Aggregation   COH             203669980022                Gas           Gov. Aggregation
COH             200754590017                Gas           Gov. Aggregation   COH             203705930015                Gas           Gov. Aggregation
COH             122270130050                Gas           Gov. Aggregation   COH             203676910012                Gas           Gov. Aggregation
COH             124403410029                Gas           Gov. Aggregation   COH             204982570014                Gas           Gov. Aggregation
COH             190096930023                Gas           Gov. Aggregation   COH             201148870012                Gas           Gov. Aggregation
COH             172101540033                Gas           Gov. Aggregation   COH             198365400025                Gas           Gov. Aggregation
COH             175942790027                Gas           Gov. Aggregation   COH             198620140019                Gas           Gov. Aggregation
COH             165128540027                Gas           Gov. Aggregation   COH             197896700028                Gas           Gov. Aggregation
COH             203326040016                Gas           Gov. Aggregation   COH             201719800131                Gas           Gov. Aggregation
COH             200970290012                Gas           Gov. Aggregation   COH             202059630029                Gas           Gov. Aggregation
COH             201618690013                Gas           Gov. Aggregation   COH             202046620019                Gas           Gov. Aggregation
COH             200134050014                Gas           Gov. Aggregation   COH             204324070013                Gas           Gov. Aggregation
COH             189820240024                Gas           Gov. Aggregation   COH             204451410012                Gas           Gov. Aggregation
COH             200373530017                Gas           Gov. Aggregation   COH             204891690021                Gas           Gov. Aggregation
COH             159495930026                Gas           Gov. Aggregation   COH             200725490037                Gas           Gov. Aggregation
COH             200709660017                Gas           Gov. Aggregation   DEO             9180013580952               Gas           Gov. Aggregation
COH             124449900048                Gas           Gov. Aggregation   DEO             0500046319926               Gas           Gov. Aggregation
COH             200481390018                Gas           Gov. Aggregation   COH             164662920017                Gas           Gov. Aggregation
COH             124517060086                Gas           Gov. Aggregation   COH             164517500012                Gas           Gov. Aggregation
COH             185772740026                Gas           Gov. Aggregation   COH             163812320015                Gas           Gov. Aggregation
COH             173394260023                Gas           Gov. Aggregation   COH             163853160013                Gas           Gov. Aggregation
COH             200593210018                Gas           Gov. Aggregation   COH             165345140012                Gas           Gov. Aggregation
COH             200340210013                Gas           Gov. Aggregation   COH             164758410020                Gas           Gov. Aggregation
COH             193387360032                Gas           Gov. Aggregation   COH             164800570017                Gas           Gov. Aggregation
COH             200125190014                Gas           Gov. Aggregation   COH             165499270038                Gas           Gov. Aggregation
COH             169324430020                Gas           Gov. Aggregation   COH             117223970078                Gas           Gov. Aggregation
COH             131564720043                Gas           Gov. Aggregation   COH             117783970027                Gas           Gov. Aggregation
COH             125371240023                Gas           Gov. Aggregation   COH             124341850029                Gas           Gov. Aggregation
COH             197997230023                Gas           Gov. Aggregation   COH             124343350020                Gas           Gov. Aggregation
COH             162319250017                Gas           Gov. Aggregation   COH             124344810030                Gas           Gov. Aggregation
COH             155234060025                Gas           Gov. Aggregation   COH             124310740036                Gas           Gov. Aggregation
COH             201146660010                Gas           Gov. Aggregation   COH             124311740016                Gas           Gov. Aggregation
COH             200125150012                Gas           Gov. Aggregation   COH             124309290016                Gas           Gov. Aggregation
COH             124398960054                Gas           Gov. Aggregation   COH             124309410010                Gas           Gov. Aggregation
COH             174802620047                Gas           Gov. Aggregation   COH             124310230015                Gas           Gov. Aggregation
COH             168897220031                Gas           Gov. Aggregation   COH             124395010031                Gas           Gov. Aggregation
COH             168526060021                Gas           Gov. Aggregation   COH             124405260018                Gas           Gov. Aggregation
COH             170651270028                Gas           Gov. Aggregation   COH             124408870023                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             200561720018                Gas           Gov. Aggregation   COH             124419870020                Gas           Gov. Aggregation
COH             201049680012                Gas           Gov. Aggregation   COH             124420080014                Gas           Gov. Aggregation
COH             198317260026                Gas           Gov. Aggregation   COH             124420930104                Gas           Gov. Aggregation
COH             195722120038                Gas           Gov. Aggregation   COH             124431140027                Gas           Gov. Aggregation
COH             202157870012                Gas           Gov. Aggregation   COH             124431170021                Gas           Gov. Aggregation
COH             201961810010                Gas           Gov. Aggregation   COH             124431570027                Gas           Gov. Aggregation
COH             202879950015                Gas           Gov. Aggregation   COH             124432210020                Gas           Gov. Aggregation
COH             150259210044                Gas           Gov. Aggregation   COH             124432790010                Gas           Gov. Aggregation
COH             144581860043                Gas           Gov. Aggregation   COH             124509080016                Gas           Gov. Aggregation
COH             139744930085                Gas           Gov. Aggregation   COH             124730800033                Gas           Gov. Aggregation
COH             144689340080                Gas           Gov. Aggregation   COH             124673020039                Gas           Gov. Aggregation
COH             170028750019                Gas           Gov. Aggregation   COH             125331820025                Gas           Gov. Aggregation
COH             125307960036                Gas           Gov. Aggregation   COH             125331050027                Gas           Gov. Aggregation
COH             171995650047                Gas           Gov. Aggregation   COH             125386540038                Gas           Gov. Aggregation
COH             200678960011                Gas           Gov. Aggregation   COH             125679770011                Gas           Gov. Aggregation
COH             200277690018                Gas           Gov. Aggregation   COH             126844080032                Gas           Gov. Aggregation
COH             200373580017                Gas           Gov. Aggregation   COH             125679760013                Gas           Gov. Aggregation
COH             177313530031                Gas           Gov. Aggregation   COH             129369160067                Gas           Gov. Aggregation
COH             148598670026                Gas           Gov. Aggregation   COH             131192440023                Gas           Gov. Aggregation
COH             154586810078                Gas           Gov. Aggregation   COH             134185500013                Gas           Gov. Aggregation
COH             146663350035                Gas           Gov. Aggregation   COH             137791310015                Gas           Gov. Aggregation
COH             189705510021                Gas           Gov. Aggregation   COH             138122220010                Gas           Gov. Aggregation
COH             201703370019                Gas           Gov. Aggregation   COH             137449660026                Gas           Gov. Aggregation
COH             201418220015                Gas           Gov. Aggregation   COH             138321970011                Gas           Gov. Aggregation
COH             203263060016                Gas           Gov. Aggregation   COH             140346350033                Gas           Gov. Aggregation
COH             201437690017                Gas           Gov. Aggregation   COH             140314090026                Gas           Gov. Aggregation
COH             146130950056                Gas           Gov. Aggregation   COH             142291160029                Gas           Gov. Aggregation
COH             203373520016                Gas           Gov. Aggregation   COH             142436510036                Gas           Gov. Aggregation
COH             203339420019                Gas           Gov. Aggregation   COH             142090600022                Gas           Gov. Aggregation
COH             201853620028                Gas           Gov. Aggregation   COH             142134250013                Gas           Gov. Aggregation
COH             201510750018                Gas           Gov. Aggregation   COH             142346610027                Gas           Gov. Aggregation
COH             200867590018                Gas           Gov. Aggregation   COH             142584640116                Gas           Gov. Aggregation
COH             192275130029                Gas           Gov. Aggregation   COH             141253800025                Gas           Gov. Aggregation
COH             192532130023                Gas           Gov. Aggregation   COH             144804430012                Gas           Gov. Aggregation
COH             141186030048                Gas           Gov. Aggregation   COH             145350770022                Gas           Gov. Aggregation
COH             200494130015                Gas           Gov. Aggregation   COH             143112320031                Gas           Gov. Aggregation
COH             200976140020                Gas           Gov. Aggregation   COH             148388790026                Gas           Gov. Aggregation
COH             203111460013                Gas           Gov. Aggregation   COH             148232730027                Gas           Gov. Aggregation
COH             201845360011                Gas           Gov. Aggregation   COH             148963720039                Gas           Gov. Aggregation
COH             202337830018                Gas           Gov. Aggregation   COH             148161220025                Gas           Gov. Aggregation
COH             187017360033                Gas           Gov. Aggregation   COH             148963720057                Gas           Gov. Aggregation
COH             162716270048                Gas           Gov. Aggregation   COH             149002820015                Gas           Gov. Aggregation
COH             202141430017                Gas           Gov. Aggregation   COH             166223580017                Gas           Gov. Aggregation
COH             160451730027                Gas           Gov. Aggregation   COH             165974920015                Gas           Gov. Aggregation
COH             201965120017                Gas           Gov. Aggregation   COH             166170320014                Gas           Gov. Aggregation
COH             201956870019                Gas           Gov. Aggregation   COH             166204250016                Gas           Gov. Aggregation
COH             202843590016                Gas           Gov. Aggregation   COH             168350770016                Gas           Gov. Aggregation
COH             168741960035                Gas           Gov. Aggregation   COH             168364400023                Gas           Gov. Aggregation
COH             188953880048                Gas           Gov. Aggregation   COH             167741520029                Gas           Gov. Aggregation
COH             202559890016                Gas           Gov. Aggregation   COH             168883450014                Gas           Gov. Aggregation
COH             201755020013                Gas           Gov. Aggregation   COH             168924870018                Gas           Gov. Aggregation
COH             196321850025                Gas           Gov. Aggregation   COH             169132130020                Gas           Gov. Aggregation
COH             172091920018                Gas           Gov. Aggregation   COH             169438250018                Gas           Gov. Aggregation
COH             190191680024                Gas           Gov. Aggregation   COH             169712880023                Gas           Gov. Aggregation
COH             185716680027                Gas           Gov. Aggregation   COH             169720270015                Gas           Gov. Aggregation
COH             137924630033                Gas           Gov. Aggregation   COH             169758540019                Gas           Gov. Aggregation
COH             202021940014                Gas           Gov. Aggregation   COH             168535440013                Gas           Gov. Aggregation
COH             200327230017                Gas           Gov. Aggregation   COH             169938220023                Gas           Gov. Aggregation
COH             196035640026                Gas           Gov. Aggregation   COH             176633320010                Gas           Gov. Aggregation
COH             200693360015                Gas           Gov. Aggregation   COH             149675060010                Gas           Gov. Aggregation
COH             203653610013                Gas           Gov. Aggregation   COH             151702570056                Gas           Gov. Aggregation
COH             202743340010                Gas           Gov. Aggregation   COH             171962280017                Gas           Gov. Aggregation
COH             202022800011                Gas           Gov. Aggregation   COH             151368490053                Gas           Gov. Aggregation
COH             172163140037                Gas           Gov. Aggregation   COH             152878550012                Gas           Gov. Aggregation
COH             150644250058                Gas           Gov. Aggregation   COH             172271990012                Gas           Gov. Aggregation
COH             200614410010                Gas           Gov. Aggregation   COH             172319920014                Gas           Gov. Aggregation
COH             203484860010                Gas           Gov. Aggregation   COH             172375080013                Gas           Gov. Aggregation
COH             176096780121                Gas           Gov. Aggregation   COH             172656290022                Gas           Gov. Aggregation
COH             201517070017                Gas           Gov. Aggregation   COH             152748710031                Gas           Gov. Aggregation
COH             125001310076                Gas           Gov. Aggregation   COH             124293720065                Gas           Gov. Aggregation
COH             124738810026                Gas           Gov. Aggregation   COH             208619820016                Gas           Gov. Aggregation
COH             195060180021                Gas           Gov. Aggregation   COH             156656290031                Gas           Gov. Aggregation
COH             201466050010                Gas           Gov. Aggregation   COH             191186520027                Gas           Gov. Aggregation
COH             154859430024                Gas           Gov. Aggregation   COH             134560070036                Gas           Gov. Aggregation
COH             124845150037                Gas           Gov. Aggregation   COH             171526600077                Gas           Gov. Aggregation
COH             201472610019                Gas           Gov. Aggregation   COH             155690140059                Gas           Gov. Aggregation
COH             201312930010                Gas           Gov. Aggregation   COH             188208110039                Gas           Gov. Aggregation
COH             199692180028                Gas           Gov. Aggregation   COH             209652010015                Gas           Gov. Aggregation
COH             200174350017                Gas           Gov. Aggregation   COH             185044180027                Gas           Gov. Aggregation
COH             202084540016                Gas           Gov. Aggregation   COH             209868790015                Gas           Gov. Aggregation
COH             201926780011                Gas           Gov. Aggregation   COH             207865890021                Gas           Gov. Aggregation
COH             202224560014                Gas           Gov. Aggregation   COH             137938820034                Gas           Gov. Aggregation
COH             201249820018                Gas           Gov. Aggregation   COH             155669000026                Gas           Gov. Aggregation
COH             200164760012                Gas           Gov. Aggregation   COH             198837330010                Gas           Gov. Aggregation
COH             200088760014                Gas           Gov. Aggregation   COH             206606620026                Gas           Gov. Aggregation
COH             197397200021                Gas           Gov. Aggregation   COH             176628590042                Gas           Gov. Aggregation
COH             192992370038                Gas           Gov. Aggregation   COH             193362410015                Gas           Gov. Aggregation
COH             198497640026                Gas           Gov. Aggregation   COH             188488190013                Gas           Gov. Aggregation
COH             201018370012                Gas           Gov. Aggregation   COH             199812790024                Gas           Gov. Aggregation
COH             201377570010                Gas           Gov. Aggregation   COH             146696050020                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             201437780018                Gas           Gov. Aggregation   COH             176303300013                Gas           Gov. Aggregation
COH             201542700011                Gas           Gov. Aggregation   COH             203429800036                Gas           Gov. Aggregation
COH             200300040013                Gas           Gov. Aggregation   COH             191691100024                Gas           Gov. Aggregation
COH             200754640016                Gas           Gov. Aggregation   COH             201497150023                Gas           Gov. Aggregation
COH             202337810012                Gas           Gov. Aggregation   COH             160392090037                Gas           Gov. Aggregation
COH             201696070019                Gas           Gov. Aggregation   COH             171058990060                Gas           Gov. Aggregation
COH             124310450028                Gas           Gov. Aggregation   COH             177618550022                Gas           Gov. Aggregation
COH             187842720038                Gas           Gov. Aggregation   COH             189484160025                Gas           Gov. Aggregation
COH             137483300065                Gas           Gov. Aggregation   COH             143125530049                Gas           Gov. Aggregation
COH             200134070010                Gas           Gov. Aggregation   COH             205692920023                Gas           Gov. Aggregation
COH             200515550011                Gas           Gov. Aggregation   COH             168711200037                Gas           Gov. Aggregation
COH             201954230017                Gas           Gov. Aggregation   COH             205771970016                Gas           Gov. Aggregation
COH             202198880014                Gas           Gov. Aggregation   COH             194586780031                Gas           Gov. Aggregation
COH             170616860028                Gas           Gov. Aggregation   COH             124123310033                Gas           Gov. Aggregation
COH             201312940018                Gas           Gov. Aggregation   COH             192383480018                Gas           Gov. Aggregation
COH             164192699701                Gas           Gov. Aggregation   COH             163843750029                Gas           Gov. Aggregation
COH             202985380010                Gas           Gov. Aggregation   COH             207442810014                Gas           Gov. Aggregation
COH             203295060019                Gas           Gov. Aggregation   COH             176336000053                Gas           Gov. Aggregation
COH             203426990015                Gas           Gov. Aggregation   COH             176336000099                Gas           Gov. Aggregation
COH             202935220018                Gas           Gov. Aggregation   COH             142425480027                Gas           Gov. Aggregation
COH             201631610011                Gas           Gov. Aggregation   COH             210196490010                Gas           Gov. Aggregation
COH             200998150022                Gas           Gov. Aggregation   COH             194299630022                Gas           Gov. Aggregation
COH             195520330023                Gas           Gov. Aggregation   COH             124017360038                Gas           Gov. Aggregation
COH             201715360016                Gas           Gov. Aggregation   COH             156133980016                Gas           Gov. Aggregation
COH             202237470016                Gas           Gov. Aggregation   COH             203425960022                Gas           Gov. Aggregation
COH             188496030028                Gas           Gov. Aggregation   COH             197162630019                Gas           Gov. Aggregation
COH             198741940033                Gas           Gov. Aggregation   COH             186129150013                Gas           Gov. Aggregation
COH             176829430030                Gas           Gov. Aggregation   COH             133807410022                Gas           Gov. Aggregation
COH             187617330028                Gas           Gov. Aggregation   COH             124119540016                Gas           Gov. Aggregation
COH             142212220040                Gas           Gov. Aggregation   COH             203493590018                Gas           Gov. Aggregation
COH             200304140014                Gas           Gov. Aggregation   COH             202492860014                Gas           Gov. Aggregation
COH             189425220026                Gas           Gov. Aggregation   COH             208551530011                Gas           Gov. Aggregation
COH             166408270038                Gas           Gov. Aggregation   COH             207742820016                Gas           Gov. Aggregation
COH             167533770046                Gas           Gov. Aggregation   COH             198015010019                Gas           Gov. Aggregation
COH             157165530021                Gas           Gov. Aggregation   COH             148995990054                Gas           Gov. Aggregation
COH             202545910010                Gas           Gov. Aggregation   COH             167075650089                Gas           Gov. Aggregation
COH             202667060011                Gas           Gov. Aggregation   COH             124290670053                Gas           Gov. Aggregation
COH             201618580025                Gas           Gov. Aggregation   COH             168515360012                Gas           Gov. Aggregation
COH             194828610041                Gas           Gov. Aggregation   COH             153381940012                Gas           Gov. Aggregation
COH             202349230019                Gas           Gov. Aggregation   COH             132485490058                Gas           Gov. Aggregation
COH             160188120042                Gas           Gov. Aggregation   COH             207081670010                Gas           Gov. Aggregation
COH             200033540015                Gas           Gov. Aggregation   COH             188280360099                Gas           Gov. Aggregation
COH             202707020013                Gas           Gov. Aggregation   COH             162594940118                Gas           Gov. Aggregation
COH             174917700010                Gas           Gov. Aggregation   COH             206803860019                Gas           Gov. Aggregation
COH             166304070021                Gas           Gov. Aggregation   COH             136937250037                Gas           Gov. Aggregation
COH             162054020044                Gas           Gov. Aggregation   COH             165324480015                Gas           Gov. Aggregation
COH             168311000028                Gas           Gov. Aggregation   COH             186635720010                Gas           Gov. Aggregation
COH             202775420016                Gas           Gov. Aggregation   COH             197818710011                Gas           Gov. Aggregation
COH             202817870012                Gas           Gov. Aggregation   COH             190544600021                Gas           Gov. Aggregation
COH             202806000017                Gas           Gov. Aggregation   COH             124024030014                Gas           Gov. Aggregation
COH             202921290013                Gas           Gov. Aggregation   COH             124023780019                Gas           Gov. Aggregation
COH             202919870016                Gas           Gov. Aggregation   COH             198070580014                Gas           Gov. Aggregation
COH             202994340019                Gas           Gov. Aggregation   COH             206554670018                Gas           Gov. Aggregation
COH             202994350017                Gas           Gov. Aggregation   COH             204553630010                Gas           Gov. Aggregation
COH             203169040010                Gas           Gov. Aggregation   COH             151422440020                Gas           Gov. Aggregation
COH             203589780015                Gas           Gov. Aggregation   COH             192603560031                Gas           Gov. Aggregation
COH             203584050018                Gas           Gov. Aggregation   COH             142673330078                Gas           Gov. Aggregation
COH             203383190015                Gas           Gov. Aggregation   COH             173078470083                Gas           Gov. Aggregation
COH             203305210014                Gas           Gov. Aggregation   COH             154799430111                Gas           Gov. Aggregation
COH             203266630010                Gas           Gov. Aggregation   COH             162081280025                Gas           Gov. Aggregation
COH             201782010018                Gas           Gov. Aggregation   COH             163671740026                Gas           Gov. Aggregation
COH             201796560014                Gas           Gov. Aggregation   COH             200031210018                Gas           Gov. Aggregation
COH             201884540011                Gas           Gov. Aggregation   COH             165137770066                Gas           Gov. Aggregation
COH             201892730014                Gas           Gov. Aggregation   COH             124023490010                Gas           Gov. Aggregation
COH             201824380020                Gas           Gov. Aggregation   COH             154190960807                Gas           Gov. Aggregation
COH             201824440018                Gas           Gov. Aggregation   COH             197735580113                Gas           Gov. Aggregation
COH             201715400017                Gas           Gov. Aggregation   COH             203276030015                Gas           Gov. Aggregation
COH             202363560010                Gas           Gov. Aggregation   COH             203863020012                Gas           Gov. Aggregation
COH             202337820010                Gas           Gov. Aggregation   COH             204187220013                Gas           Gov. Aggregation
COH             202377240018                Gas           Gov. Aggregation   COH             124126120028                Gas           Gov. Aggregation
COH             202306410011                Gas           Gov. Aggregation   COH             208199450016                Gas           Gov. Aggregation
COH             202299530013                Gas           Gov. Aggregation   COH             198365270023                Gas           Gov. Aggregation
COH             202251910013                Gas           Gov. Aggregation   COH             140694080042                Gas           Gov. Aggregation
COH             202671080018                Gas           Gov. Aggregation   COH             208932490012                Gas           Gov. Aggregation
COH             202689590014                Gas           Gov. Aggregation   COH             143774980013                Gas           Gov. Aggregation
COH             199240890026                Gas           Gov. Aggregation   COH             124021440014                Gas           Gov. Aggregation
COH             199499860016                Gas           Gov. Aggregation   COH             140390150103                Gas           Gov. Aggregation
COH             199514490010                Gas           Gov. Aggregation   COH             201535730010                Gas           Gov. Aggregation
COH             199549080013                Gas           Gov. Aggregation   COH             197314700039                Gas           Gov. Aggregation
COH             199526310021                Gas           Gov. Aggregation   COH             207136460017                Gas           Gov. Aggregation
COH             199563180012                Gas           Gov. Aggregation   COH             208303930012                Gas           Gov. Aggregation
COH             200015460010                Gas           Gov. Aggregation   COH             205090930027                Gas           Gov. Aggregation
COH             198586300019                Gas           Gov. Aggregation   COH             197516050083                Gas           Gov. Aggregation
COH             198586330013                Gas           Gov. Aggregation   COH             197516050136                Gas           Gov. Aggregation
COH             200152090018                Gas           Gov. Aggregation   COH             200154120017                Gas           Gov. Aggregation
COH             200172280016                Gas           Gov. Aggregation   COH             197516050145                Gas           Gov. Aggregation
COH             198824740011                Gas           Gov. Aggregation   COH             197516050154                Gas           Gov. Aggregation
COH             198910880019                Gas           Gov. Aggregation   COH             201084240056                Gas           Gov. Aggregation
COH             198811970010                Gas           Gov. Aggregation   COH             137513120095                Gas           Gov. Aggregation
COH             198281950019                Gas           Gov. Aggregation   COH             191254590135                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             198514780010                Gas           Gov. Aggregation   COH             201245370011                Gas           Gov. Aggregation
COH             198562180015                Gas           Gov. Aggregation   COH             170462280018                Gas           Gov. Aggregation
COH             198117140025                Gas           Gov. Aggregation   COH             203380260016                Gas           Gov. Aggregation
COH             200796640018                Gas           Gov. Aggregation   COH             205904090018                Gas           Gov. Aggregation
COH             200785520016                Gas           Gov. Aggregation   COH             205406850014                Gas           Gov. Aggregation
COH             200821370010                Gas           Gov. Aggregation   COH             204838320011                Gas           Gov. Aggregation
COH             200659940015                Gas           Gov. Aggregation   COH             157993430018                Gas           Gov. Aggregation
COH             200308230026                Gas           Gov. Aggregation   COH             202560910018                Gas           Gov. Aggregation
COH             201371980016                Gas           Gov. Aggregation   COH             203419410011                Gas           Gov. Aggregation
COH             200445740010                Gas           Gov. Aggregation   COH             201122020032                Gas           Gov. Aggregation
COH             201220620010                Gas           Gov. Aggregation   COH             198845670021                Gas           Gov. Aggregation
COH             201061270012                Gas           Gov. Aggregation   COH             190967970019                Gas           Gov. Aggregation
COH             197734180011                Gas           Gov. Aggregation   COH             149181760065                Gas           Gov. Aggregation
COH             197700460013                Gas           Gov. Aggregation   COH             203605350037                Gas           Gov. Aggregation
COH             197933080029                Gas           Gov. Aggregation   COH             209019050019                Gas           Gov. Aggregation
COH             197903120032                Gas           Gov. Aggregation   COH             206169220019                Gas           Gov. Aggregation
COH             197846100029                Gas           Gov. Aggregation   COH             205510180014                Gas           Gov. Aggregation
COH             197823840013                Gas           Gov. Aggregation   COH             159188040079                Gas           Gov. Aggregation
COH             195692850021                Gas           Gov. Aggregation   COH             207994930010                Gas           Gov. Aggregation
COH             196110240011                Gas           Gov. Aggregation   COH             148899550087                Gas           Gov. Aggregation
COH             196097110018                Gas           Gov. Aggregation   COH             195221050017                Gas           Gov. Aggregation
COH             196164000018                Gas           Gov. Aggregation   COH             167986490082                Gas           Gov. Aggregation
COH             196378780012                Gas           Gov. Aggregation   COH             207831240019                Gas           Gov. Aggregation
COH             196017440017                Gas           Gov. Aggregation   COH             207280300015                Gas           Gov. Aggregation
COH             192275050026                Gas           Gov. Aggregation   COH             203556120012                Gas           Gov. Aggregation
COH             191158260030                Gas           Gov. Aggregation   COH             196093900029                Gas           Gov. Aggregation
COH             191126520023                Gas           Gov. Aggregation   COH             139148160018                Gas           Gov. Aggregation
COH             194110380023                Gas           Gov. Aggregation   COH             202955160019                Gas           Gov. Aggregation
COH             124360850047                Gas           Gov. Aggregation   COH             206645730012                Gas           Gov. Aggregation
COH             124369820036                Gas           Gov. Aggregation   COH             158766970033                Gas           Gov. Aggregation
COH             124449960028                Gas           Gov. Aggregation   COH             160310650013                Gas           Gov. Aggregation
COH             124320770039                Gas           Gov. Aggregation   COH             154665110077                Gas           Gov. Aggregation
COH             124349270043                Gas           Gov. Aggregation   COH             208651100019                Gas           Gov. Aggregation
COH             125559840038                Gas           Gov. Aggregation   COH             201878950027                Gas           Gov. Aggregation
COH             125592130037                Gas           Gov. Aggregation   COH             201742140015                Gas           Gov. Aggregation
COH             124964890058                Gas           Gov. Aggregation   COH             206034890014                Gas           Gov. Aggregation
COH             124938470024                Gas           Gov. Aggregation   COH             188330930056                Gas           Gov. Aggregation
COH             125156360033                Gas           Gov. Aggregation   COH             170190220106                Gas           Gov. Aggregation
COH             125168160021                Gas           Gov. Aggregation   COH             186666780022                Gas           Gov. Aggregation
COH             125186670053                Gas           Gov. Aggregation   COH             199874080014                Gas           Gov. Aggregation
COH             125212180022                Gas           Gov. Aggregation   COH             186404950048                Gas           Gov. Aggregation
COH             154834450022                Gas           Gov. Aggregation   COH             203661990035                Gas           Gov. Aggregation
COH             147278020058                Gas           Gov. Aggregation   COH             203661990026                Gas           Gov. Aggregation
COH             148765620021                Gas           Gov. Aggregation   COH             209257080019                Gas           Gov. Aggregation
COH             148685240021                Gas           Gov. Aggregation   COH             201361710022                Gas           Gov. Aggregation
COH             148592840022                Gas           Gov. Aggregation   COH             129461690266                Gas           Gov. Aggregation
COH             142564190033                Gas           Gov. Aggregation   COH             210051640014                Gas           Gov. Aggregation
COH             139632470025                Gas           Gov. Aggregation   COH             210290460016                Gas           Gov. Aggregation
COH             159348010039                Gas           Gov. Aggregation   COH             154773540103                Gas           Gov. Aggregation
COH             160294350030                Gas           Gov. Aggregation   COH             209863080014                Gas           Gov. Aggregation
COH             160107460023                Gas           Gov. Aggregation   COH             166263020047                Gas           Gov. Aggregation
COH             161450520031                Gas           Gov. Aggregation   COH             208881840017                Gas           Gov. Aggregation
COH             165367210039                Gas           Gov. Aggregation   COH             200426270019                Gas           Gov. Aggregation
COH             165200220039                Gas           Gov. Aggregation   COH             209679520012                Gas           Gov. Aggregation
COH             165250520086                Gas           Gov. Aggregation   COH             124121480014                Gas           Gov. Aggregation
COH             170409980022                Gas           Gov. Aggregation   COH             194758680028                Gas           Gov. Aggregation
COH             170485500031                Gas           Gov. Aggregation   COH             187550930015                Gas           Gov. Aggregation
COH             168222880023                Gas           Gov. Aggregation   COH             188323290047                Gas           Gov. Aggregation
COH             168013340029                Gas           Gov. Aggregation   COH             206832720035                Gas           Gov. Aggregation
COH             168183740035                Gas           Gov. Aggregation   COH             206652870018                Gas           Gov. Aggregation
COH             185304250020                Gas           Gov. Aggregation   COH             124079220028                Gas           Gov. Aggregation
COH             185370700035                Gas           Gov. Aggregation   COH             195841270026                Gas           Gov. Aggregation
COH             185403890017                Gas           Gov. Aggregation   COH             200703820015                Gas           Gov. Aggregation
COH             187054720039                Gas           Gov. Aggregation   COH             124267500039                Gas           Gov. Aggregation
COH             187011350037                Gas           Gov. Aggregation   COH             210106760012                Gas           Gov. Aggregation
COH             186842070027                Gas           Gov. Aggregation   COH             143492100024                Gas           Gov. Aggregation
COH             173144260022                Gas           Gov. Aggregation   COH             196138190032                Gas           Gov. Aggregation
COH             173130630023                Gas           Gov. Aggregation   COH             199014320033                Gas           Gov. Aggregation
COH             173081120034                Gas           Gov. Aggregation   COH             202254360013                Gas           Gov. Aggregation
COH             187971920024                Gas           Gov. Aggregation   COH             141799910026                Gas           Gov. Aggregation
COH             187627470028                Gas           Gov. Aggregation   COH             128963820014                Gas           Gov. Aggregation
COH             171490490023                Gas           Gov. Aggregation   COH             209117830017                Gas           Gov. Aggregation
COH             171615220023                Gas           Gov. Aggregation   COH             153975240010                Gas           Gov. Aggregation
COH             176924770028                Gas           Gov. Aggregation   COH             193856740037                Gas           Gov. Aggregation
COH             185469980029                Gas           Gov. Aggregation   COH             205213610013                Gas           Gov. Aggregation
COH             175983330045                Gas           Gov. Aggregation   COH             174934100010                Gas           Gov. Aggregation
COH             190898830033                Gas           Gov. Aggregation   COH             158621040089                Gas           Gov. Aggregation
COH             192248260047                Gas           Gov. Aggregation   COH             144329370040                Gas           Gov. Aggregation
COH             191786470044                Gas           Gov. Aggregation   COH             206363620013                Gas           Gov. Aggregation
COH             191986290020                Gas           Gov. Aggregation   COH             176062330019                Gas           Gov. Aggregation
COH             202026720029                Gas           Gov. Aggregation   COH             159189470086                Gas           Gov. Aggregation
COH             202121380010                Gas           Gov. Aggregation   COH             209966850014                Gas           Gov. Aggregation
COH             202107920025                Gas           Gov. Aggregation   COH             146233330012                Gas           Gov. Aggregation
COH             202419130011                Gas           Gov. Aggregation   COH             176214770014                Gas           Gov. Aggregation
COH             161360650035                Gas           Gov. Aggregation   COH             201609370019                Gas           Gov. Aggregation
COH             168559620024                Gas           Gov. Aggregation   COH             203263510011                Gas           Gov. Aggregation
COH             156751810048                Gas           Gov. Aggregation   COH             162927800012                Gas           Gov. Aggregation
COH             166122710068                Gas           Gov. Aggregation   COH             208033130013                Gas           Gov. Aggregation
COH             170200010072                Gas           Gov. Aggregation   COH             164577880071                Gas           Gov. Aggregation
COH             189656290032                Gas           Gov. Aggregation   COH             202420510018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             186121060036                Gas           Gov. Aggregation   COH             206722570012                Gas           Gov. Aggregation
COH             188606220023                Gas           Gov. Aggregation   COH             124079520016                Gas           Gov. Aggregation
COH             196007210016                Gas           Gov. Aggregation   COH             200575680018                Gas           Gov. Aggregation
COH             197261910010                Gas           Gov. Aggregation   COH             185706030122                Gas           Gov. Aggregation
COH             201819320014                Gas           Gov. Aggregation   COH             129532380028                Gas           Gov. Aggregation
COH             198318920016                Gas           Gov. Aggregation   COH             187539450010                Gas           Gov. Aggregation
COH             172820310037                Gas           Gov. Aggregation   COH             195056650012                Gas           Gov. Aggregation
COH             144598520030                Gas           Gov. Aggregation   COH             152368090029                Gas           Gov. Aggregation
COH             137611380020                Gas           Gov. Aggregation   COH             207921370011                Gas           Gov. Aggregation
COH             125442180025                Gas           Gov. Aggregation   COH             201479450019                Gas           Gov. Aggregation
COH             125442810031                Gas           Gov. Aggregation   COH             136409510013                Gas           Gov. Aggregation
COH             125190460021                Gas           Gov. Aggregation   COH             205955520010                Gas           Gov. Aggregation
COH             131730090034                Gas           Gov. Aggregation   COH             205759210020                Gas           Gov. Aggregation
COH             200439580017                Gas           Gov. Aggregation   COH             124022930028                Gas           Gov. Aggregation
COH             162437120023                Gas           Gov. Aggregation   COH             168159370025                Gas           Gov. Aggregation
COH             198609790026                Gas           Gov. Aggregation   COH             200466530010                Gas           Gov. Aggregation
COH             199908160014                Gas           Gov. Aggregation   COH             205238580018                Gas           Gov. Aggregation
COH             196870100029                Gas           Gov. Aggregation   COH             197711900035                Gas           Gov. Aggregation
COH             202903030015                Gas           Gov. Aggregation   COH             202076520026                Gas           Gov. Aggregation
COH             202954010021                Gas           Gov. Aggregation   COH             209443278490                Gas           Gov. Aggregation
DEO             1500067234588               Gas           Gov. Aggregation   COH             209117840015                Gas           Gov. Aggregation
DEO             0180004430193               Gas           Gov. Aggregation   COH             210086690011                Gas           Gov. Aggregation
DEO             6180003396192               Gas           Gov. Aggregation   COH             208576540017                Gas           Gov. Aggregation
DEO             6180005971867               Gas           Gov. Aggregation   COH             207734150014                Gas           Gov. Aggregation
DEO             7180003142883               Gas           Gov. Aggregation   COH             200672310046                Gas           Gov. Aggregation
DEO             8180004358774               Gas           Gov. Aggregation   COH             204864460017                Gas           Gov. Aggregation
DEO             9180006974977               Gas           Gov. Aggregation   COH             175552290065                Gas           Gov. Aggregation
DEO             0180003918714               Gas           Gov. Aggregation   COH             201716410013                Gas           Gov. Aggregation
DEO             1180003964928               Gas           Gov. Aggregation   COH             204671390039                Gas           Gov. Aggregation
DEO             2180001630189               Gas           Gov. Aggregation   COH             124080560015                Gas           Gov. Aggregation
DEO             1180002825561               Gas           Gov. Aggregation   COH             173541420053                Gas           Gov. Aggregation
DEO             6180005938439               Gas           Gov. Aggregation   COH             204075070012                Gas           Gov. Aggregation
DEO             8180002533775               Gas           Gov. Aggregation   COH             201817260011                Gas           Gov. Aggregation
DEO             6500016549151               Gas           Gov. Aggregation   COH             207050440013                Gas           Gov. Aggregation
DEO             6180005531781               Gas           Gov. Aggregation   COH             206678810034                Gas           Gov. Aggregation
DEO             1180004767616               Gas           Gov. Aggregation   COH             203260090052                Gas           Gov. Aggregation
DEO             3500061394105               Gas           Gov. Aggregation   COH             124078380018                Gas           Gov. Aggregation
DEO             6180003467438               Gas           Gov. Aggregation   COH             191472240038                Gas           Gov. Aggregation
DEO             6180006023359               Gas           Gov. Aggregation   COH             194697870180                Gas           Gov. Aggregation
DEO             8180001650270               Gas           Gov. Aggregation   COH             194697870251                Gas           Gov. Aggregation
DEO             0180005780201               Gas           Gov. Aggregation   COH             194697870439                Gas           Gov. Aggregation
DEO             8180006916049               Gas           Gov. Aggregation   COH             209751960016                Gas           Gov. Aggregation
DEO             1180004226553               Gas           Gov. Aggregation   COH             204162110018                Gas           Gov. Aggregation
DEO             4180002248464               Gas           Gov. Aggregation   COH             194697870395                Gas           Gov. Aggregation
DEO             0180003576389               Gas           Gov. Aggregation   COH             203970410022                Gas           Gov. Aggregation
DEO             2442106166563               Gas           Gov. Aggregation   COH             203466720017                Gas           Gov. Aggregation
DEO             2180003466382               Gas           Gov. Aggregation   COH             205787560019                Gas           Gov. Aggregation
DEO             4442107174585               Gas           Gov. Aggregation   COH             172066140015                Gas           Gov. Aggregation
DEO             5180001759217               Gas           Gov. Aggregation   COH             207149080010                Gas           Gov. Aggregation
DEO             5180006274153               Gas           Gov. Aggregation   COH             174487740015                Gas           Gov. Aggregation
DEO             7180004302053               Gas           Gov. Aggregation   COH             208568560010                Gas           Gov. Aggregation
DEO             1180003703157               Gas           Gov. Aggregation   COH             143937000021                Gas           Gov. Aggregation
DEO             2180004095199               Gas           Gov. Aggregation   COH             205036340016                Gas           Gov. Aggregation
DEO             5180004983934               Gas           Gov. Aggregation   COH             207612090015                Gas           Gov. Aggregation
DEO             9180004689043               Gas           Gov. Aggregation   COH             114765400036                Gas           Gov. Aggregation
DEO             9180004928383               Gas           Gov. Aggregation   COH             131699440029                Gas           Gov. Aggregation
DEO             9180003417333               Gas           Gov. Aggregation   COH             209589970019                Gas           Gov. Aggregation
DEO             5180004807634               Gas           Gov. Aggregation   COH             136445100031                Gas           Gov. Aggregation
DEO             5180004607622               Gas           Gov. Aggregation   COH             204414020030                Gas           Gov. Aggregation
DEO             4180003999786               Gas           Gov. Aggregation   COH             206560800017                Gas           Gov. Aggregation
DEO             0180005847308               Gas           Gov. Aggregation   COH             209273540018                Gas           Gov. Aggregation
DEO             5180006292157               Gas           Gov. Aggregation   COH             208285660019                Gas           Gov. Aggregation
DEO             8180002508084               Gas           Gov. Aggregation   COH             208285660037                Gas           Gov. Aggregation
DEO             3180002352190               Gas           Gov. Aggregation   COH             185288060035                Gas           Gov. Aggregation
DEO             5180007107182               Gas           Gov. Aggregation   COH             192794580016                Gas           Gov. Aggregation
DEO             3180003401754               Gas           Gov. Aggregation   COH             201570880015                Gas           Gov. Aggregation
DEO             6180006499664               Gas           Gov. Aggregation   COH             207472250028                Gas           Gov. Aggregation
DEO             1421700820479               Gas           Gov. Aggregation   COH             124085190022                Gas           Gov. Aggregation
DEO             4180001233892               Gas           Gov. Aggregation   COH             199755520013                Gas           Gov. Aggregation
DEO             6180002255020               Gas           Gov. Aggregation   COH             200684560012                Gas           Gov. Aggregation
DEO             9180006686553               Gas           Gov. Aggregation   COH             207430360014                Gas           Gov. Aggregation
DEO             8180003626079               Gas           Gov. Aggregation   COH             202627560010                Gas           Gov. Aggregation
DEO             9180004201589               Gas           Gov. Aggregation   COH             196692720018                Gas           Gov. Aggregation
DEO             3500065462486               Gas           Gov. Aggregation   COH             172806060030                Gas           Gov. Aggregation
DEO             4500041166183               Gas           Gov. Aggregation   COH             201657990018                Gas           Gov. Aggregation
DEO             7180003075537               Gas           Gov. Aggregation   COH             158568500013                Gas           Gov. Aggregation
DEO             5180004626436               Gas           Gov. Aggregation   COH             144076630024                Gas           Gov. Aggregation
DEO             0180005530747               Gas           Gov. Aggregation   COH             188240010041                Gas           Gov. Aggregation
DEO             2180005679211               Gas           Gov. Aggregation   COH             148974610100                Gas           Gov. Aggregation
DEO             6180006760387               Gas           Gov. Aggregation   COH             136496630033                Gas           Gov. Aggregation
DEO             2180006314745               Gas           Gov. Aggregation   COH             198577140012                Gas           Gov. Aggregation
DEO             0180001689695               Gas           Gov. Aggregation   COH             208229980010                Gas           Gov. Aggregation
DEO             3180007136656               Gas           Gov. Aggregation   COH             190568820034                Gas           Gov. Aggregation
DEO             1180001487139               Gas           Gov. Aggregation   COH             138997670059                Gas           Gov. Aggregation
DEO             7180003453097               Gas           Gov. Aggregation   COH             194505760026                Gas           Gov. Aggregation
DEO             4180001600749               Gas           Gov. Aggregation   COH             201826980011                Gas           Gov. Aggregation
DEO             2180006185047               Gas           Gov. Aggregation   COH             209658330016                Gas           Gov. Aggregation
DEO             1180003369615               Gas           Gov. Aggregation   COH             203230000017                Gas           Gov. Aggregation
DEO             7180004533450               Gas           Gov. Aggregation   COH             168876970010                Gas           Gov. Aggregation
DEO             8180007017273               Gas           Gov. Aggregation   COH             172959690017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             3180005257529               Gas           Gov. Aggregation   COH             208579680012                Gas           Gov. Aggregation
DEO             6180006623204               Gas           Gov. Aggregation   COH             208289660011                Gas           Gov. Aggregation
DEO             0180006620556               Gas           Gov. Aggregation   COH             208813680014                Gas           Gov. Aggregation
DEO             6180001666831               Gas           Gov. Aggregation   COH             124123860029                Gas           Gov. Aggregation
DEO             8180005232820               Gas           Gov. Aggregation   COH             197650480052                Gas           Gov. Aggregation
DEO             9180001533749               Gas           Gov. Aggregation   COH             196827340011                Gas           Gov. Aggregation
DEO             9180005620032               Gas           Gov. Aggregation   COH             124107960022                Gas           Gov. Aggregation
DEO             8180004906585               Gas           Gov. Aggregation   COH             124259260028                Gas           Gov. Aggregation
DEO             4500064418684               Gas           Gov. Aggregation   COH             206712290021                Gas           Gov. Aggregation
DEO             2180005673696               Gas           Gov. Aggregation   COH             124018220035                Gas           Gov. Aggregation
DEO             4180002159608               Gas           Gov. Aggregation   COH             124024550051                Gas           Gov. Aggregation
DEO             8180001921902               Gas           Gov. Aggregation   COH             190869880016                Gas           Gov. Aggregation
DEO             3180005832797               Gas           Gov. Aggregation   COH             204414020389                Gas           Gov. Aggregation
DEO             0180001850573               Gas           Gov. Aggregation   COH             204414020325                Gas           Gov. Aggregation
DEO             5180002818758               Gas           Gov. Aggregation   COH             146455810039                Gas           Gov. Aggregation
DEO             5180002818706               Gas           Gov. Aggregation   COH             203422490018                Gas           Gov. Aggregation
DEO             5180006224747               Gas           Gov. Aggregation   COH             206657570011                Gas           Gov. Aggregation
DEO             4180006902822               Gas           Gov. Aggregation   COH             141709500058                Gas           Gov. Aggregation
DEO             5180002433784               Gas           Gov. Aggregation   COH             210152090016                Gas           Gov. Aggregation
COH             185678970028                Gas           Gov. Aggregation   COH             206051120340                Gas           Gov. Aggregation
DEO             0500042040895               Gas           Gov. Aggregation   COH             203712170010                Gas           Gov. Aggregation
COH             120533970012                Gas           Gov. Aggregation   COH             156974540025                Gas           Gov. Aggregation
COH             187765190070                Gas           Gov. Aggregation   COH             200542730016                Gas           Gov. Aggregation
COH             123730570015                Gas           Gov. Aggregation   COH             124122600016                Gas           Gov. Aggregation
COH             111150950028                Gas           Gov. Aggregation   COH             190232740096                Gas           Gov. Aggregation
DEO             7180007388047               Gas           Gov. Aggregation   COH             189344970012                Gas           Gov. Aggregation
VEDO            4003736732372323            Gas           Gov. Aggregation   COH             176578580050                Gas           Gov. Aggregation
COH             134898000017                Gas           Gov. Aggregation   COH             166990290040                Gas           Gov. Aggregation
DEO             0420901649274               Gas           Gov. Aggregation   COH             175660750050                Gas           Gov. Aggregation
COH             166125250032                Gas           Gov. Aggregation   COH             204458380015                Gas           Gov. Aggregation
DEO             8180006970731               Gas           Gov. Aggregation   COH             123932830021                Gas           Gov. Aggregation
COH             162740060032                Gas           Gov. Aggregation   COH             146127830101                Gas           Gov. Aggregation
COH             204024050013                Gas           Gov. Aggregation   COH             146835970012                Gas           Gov. Aggregation
COH             158783960011                Gas           Gov. Aggregation   COH             210055970017                Gas           Gov. Aggregation
COH             112304690025                Gas           Gov. Aggregation   COH             124045860034                Gas           Gov. Aggregation
COH             134818710025                Gas           Gov. Aggregation   COH             204418260014                Gas           Gov. Aggregation
DEO             2180007249101               Gas           Gov. Aggregation   COH             207398870017                Gas           Gov. Aggregation
DEO             4180007112018               Gas           Gov. Aggregation   COH             205025920106                Gas           Gov. Aggregation
DEO             8180007158417               Gas           Gov. Aggregation   COH             166587420056                Gas           Gov. Aggregation
DEO             9180007204724               Gas           Gov. Aggregation   COH             186618890048                Gas           Gov. Aggregation
COH             204165370018                Gas           Gov. Aggregation   COH             209330960018                Gas           Gov. Aggregation
DEO             7180007348208               Gas           Gov. Aggregation   COH             176249740071                Gas           Gov. Aggregation
COH             166581610021                Gas           Gov. Aggregation   COH             205575560018                Gas           Gov. Aggregation
DEO             8180007349446               Gas           Gov. Aggregation   COH             188629630010                Gas           Gov. Aggregation
COH             199523350029                Gas           Gov. Aggregation   COH             203201480018                Gas           Gov. Aggregation
COH             195815790031                Gas           Gov. Aggregation   COH             168901530133                Gas           Gov. Aggregation
DEO             1180007421860               Gas           Gov. Aggregation   COH             198107130028                Gas           Gov. Aggregation
DEO             6180007367631               Gas           Gov. Aggregation   COH             144583860021                Gas           Gov. Aggregation
DEO             8180007578922               Gas           Gov. Aggregation   COH             123933160075                Gas           Gov. Aggregation
COH             123749940036                Gas           Gov. Aggregation   COH             154667140022                Gas           Gov. Aggregation
DEO             5500006838753               Gas           Gov. Aggregation   COH             162924130073                Gas           Gov. Aggregation
COH             111279910284                Gas           Gov. Aggregation   COH             190702480030                Gas           Gov. Aggregation
COH             204281060017                Gas           Gov. Aggregation   COH             203874110010                Gas           Gov. Aggregation
COH             111220320021                Gas           Gov. Aggregation   COH             202058670023                Gas           Gov. Aggregation
DEO             2500040992001               Gas           Gov. Aggregation   COH             206526530016                Gas           Gov. Aggregation
DEO             8180007571592               Gas           Gov. Aggregation   COH             206526520018                Gas           Gov. Aggregation
VEDO            4019105142643919            Gas           Gov. Aggregation   COH             202167610024                Gas           Gov. Aggregation
VEDO            4020122272674504            Gas           Gov. Aggregation   COH             185934590024                Gas           Gov. Aggregation
VEDO            4020269872674095            Gas           Gov. Aggregation   COH             206478180013                Gas           Gov. Aggregation
VEDO            4019958702592820            Gas           Gov. Aggregation   COH             204077160019                Gas           Gov. Aggregation
VEDO            4020163432623355            Gas           Gov. Aggregation   COH             198225640012                Gas           Gov. Aggregation
VEDO            4020025892623337            Gas           Gov. Aggregation   COH             201455460017                Gas           Gov. Aggregation
VEDO            4019155552443909            Gas           Gov. Aggregation   COH             152084070016                Gas           Gov. Aggregation
VEDO            4019884742671481            Gas           Gov. Aggregation   COH             169446470051                Gas           Gov. Aggregation
VEDO            4002831982319496            Gas           Gov. Aggregation   COH             187298020058                Gas           Gov. Aggregation
VEDO            4020041932538026            Gas           Gov. Aggregation   COH             197647000013                Gas           Gov. Aggregation
VEDO            4019865602611388            Gas           Gov. Aggregation   COH             203111410022                Gas           Gov. Aggregation
VEDO            4001136742671977            Gas           Gov. Aggregation   COH             208722080022                Gas           Gov. Aggregation
VEDO            4016486362590581            Gas           Gov. Aggregation   COH             207180490018                Gas           Gov. Aggregation
VEDO            4020253712542647            Gas           Gov. Aggregation   COH             209122190011                Gas           Gov. Aggregation
VEDO            4015387132261245            Gas           Gov. Aggregation   COH             203680910013                Gas           Gov. Aggregation
VEDO            4019831322627701            Gas           Gov. Aggregation   COH             132488950028                Gas           Gov. Aggregation
VEDO            4018159952254408            Gas           Gov. Aggregation   COH             159472980257                Gas           Gov. Aggregation
VEDO            4001987702553580            Gas           Gov. Aggregation   COH             160701360060                Gas           Gov. Aggregation
VEDO            4018566912303724            Gas           Gov. Aggregation   COH             193704460073                Gas           Gov. Aggregation
VEDO            4019907282218234            Gas           Gov. Aggregation   COH             203867160015                Gas           Gov. Aggregation
VEDO            4020201032452020            Gas           Gov. Aggregation   COH             202036340019                Gas           Gov. Aggregation
VEDO            4020158142138095            Gas           Gov. Aggregation   COH             202438330019                Gas           Gov. Aggregation
VEDO            4020227072448086            Gas           Gov. Aggregation   COH             206719560011                Gas           Gov. Aggregation
VEDO            4020217092174567            Gas           Gov. Aggregation   COH             175360350032                Gas           Gov. Aggregation
VEDO            4018377042450774            Gas           Gov. Aggregation   COH             210245660019                Gas           Gov. Aggregation
VEDO            4017893372194727            Gas           Gov. Aggregation   COH             204408820026                Gas           Gov. Aggregation
VEDO            4015017902300745            Gas           Gov. Aggregation   COH             201899470015                Gas           Gov. Aggregation
VEDO            4019837702245036            Gas           Gov. Aggregation   COH             204509580014                Gas           Gov. Aggregation
VEDO            4019207252382010            Gas           Gov. Aggregation   COH             204797580015                Gas           Gov. Aggregation
VEDO            4004062542476723            Gas           Gov. Aggregation   COH             208374390017                Gas           Gov. Aggregation
VEDO            4017100702524997            Gas           Gov. Aggregation   COH             185641540034                Gas           Gov. Aggregation
VEDO            4019900152114210            Gas           Gov. Aggregation   COH             137291650149                Gas           Gov. Aggregation
VEDO            4019860842368919            Gas           Gov. Aggregation   COH             207843350011                Gas           Gov. Aggregation
VEDO            4019851092429713            Gas           Gov. Aggregation   COH             188814760010                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4015132422672812            Gas           Gov. Aggregation   COH             207543890014                Gas           Gov. Aggregation
VEDO         4003695382516907            Gas           Gov. Aggregation   COH             161299210047                Gas           Gov. Aggregation
VEDO         4001127362236962            Gas           Gov. Aggregation   COH             198081210027                Gas           Gov. Aggregation
VEDO         4004579622352362            Gas           Gov. Aggregation   COH             204563150010                Gas           Gov. Aggregation
VEDO         4015243962234239            Gas           Gov. Aggregation   COH             202492830038                Gas           Gov. Aggregation
VEDO         4016043092314804            Gas           Gov. Aggregation   COH             201431970038                Gas           Gov. Aggregation
VEDO         4005109192396237            Gas           Gov. Aggregation   COH             204750550028                Gas           Gov. Aggregation
VEDO         4020022992355333            Gas           Gov. Aggregation   COH             199755420023                Gas           Gov. Aggregation
VEDO         4018072942110717            Gas           Gov. Aggregation   COH             146322920019                Gas           Gov. Aggregation
VEDO         4019262262645801            Gas           Gov. Aggregation   COH             209182150013                Gas           Gov. Aggregation
VEDO         4019995832527717            Gas           Gov. Aggregation   COH             205710850019                Gas           Gov. Aggregation
VEDO         4018448912330815            Gas           Gov. Aggregation   COH             132565090356                Gas           Gov. Aggregation
VEDO         4020122122501933            Gas           Gov. Aggregation   COH             209847510017                Gas           Gov. Aggregation
VEDO         4019067072290097            Gas           Gov. Aggregation   COH             205011600022                Gas           Gov. Aggregation
VEDO         4020095482375460            Gas           Gov. Aggregation   COH             209318040017                Gas           Gov. Aggregation
VEDO         4002731532268037            Gas           Gov. Aggregation   COH             199920790025                Gas           Gov. Aggregation
VEDO         4015122952641662            Gas           Gov. Aggregation   COH             197888030017                Gas           Gov. Aggregation
VEDO         4003964912195518            Gas           Gov. Aggregation   COH             124013190032                Gas           Gov. Aggregation
VEDO         4004518992240221            Gas           Gov. Aggregation   COH             209277320016                Gas           Gov. Aggregation
VEDO         4016405882334986            Gas           Gov. Aggregation   COH             173175010029                Gas           Gov. Aggregation
VEDO         4019480932170662            Gas           Gov. Aggregation   COH             124125740020                Gas           Gov. Aggregation
VEDO         4019967342175796            Gas           Gov. Aggregation   COH             123995400092                Gas           Gov. Aggregation
VEDO         4018967412492475            Gas           Gov. Aggregation   COH             210183300016                Gas           Gov. Aggregation
VEDO         4019501762369394            Gas           Gov. Aggregation   COH             207522530013                Gas           Gov. Aggregation
VEDO         4015737942392523            Gas           Gov. Aggregation   COH             206377250012                Gas           Gov. Aggregation
VEDO         4003517992207982            Gas           Gov. Aggregation   COH             207708910019                Gas           Gov. Aggregation
VEDO         4019992002204706            Gas           Gov. Aggregation   COH             194066750057                Gas           Gov. Aggregation
VEDO         4017854562213134            Gas           Gov. Aggregation   COH             196850540038                Gas           Gov. Aggregation
VEDO         4019962832143839            Gas           Gov. Aggregation   COH             124043980015                Gas           Gov. Aggregation
VEDO         4017555732456358            Gas           Gov. Aggregation   COH             207732640015                Gas           Gov. Aggregation
VEDO         4015486722127893            Gas           Gov. Aggregation   COH             190746220032                Gas           Gov. Aggregation
VEDO         4020253802268285            Gas           Gov. Aggregation   COH             191997620018                Gas           Gov. Aggregation
VEDO         4020232352675015            Gas           Gov. Aggregation   COH             149160620059                Gas           Gov. Aggregation
VEDO         4020248162156356            Gas           Gov. Aggregation   COH             194981000027                Gas           Gov. Aggregation
VEDO         4019431282332808            Gas           Gov. Aggregation   COH             196392070011                Gas           Gov. Aggregation
VEDO         4019903402520314            Gas           Gov. Aggregation   COH             166655940070                Gas           Gov. Aggregation
VEDO         4019962892257745            Gas           Gov. Aggregation   COH             209395170018                Gas           Gov. Aggregation
VEDO         4018354662635053            Gas           Gov. Aggregation   COH             210152210010                Gas           Gov. Aggregation
VEDO         4003345642641416            Gas           Gov. Aggregation   COH             203754120012                Gas           Gov. Aggregation
VEDO         4001002032294828            Gas           Gov. Aggregation   COH             209320480010                Gas           Gov. Aggregation
VEDO         4001002032351746            Gas           Gov. Aggregation   COH             124086470049                Gas           Gov. Aggregation
VEDO         4001002032482694            Gas           Gov. Aggregation   COH             205697810026                Gas           Gov. Aggregation
VEDO         4016146012673530            Gas           Gov. Aggregation   COH             162218630020                Gas           Gov. Aggregation
VEDO         4020262772404458            Gas           Gov. Aggregation   COH             205409290016                Gas           Gov. Aggregation
VEDO         4019991392513123            Gas           Gov. Aggregation   COH             175032900031                Gas           Gov. Aggregation
VEDO         4020077012428406            Gas           Gov. Aggregation   COH             189756210018                Gas           Gov. Aggregation
VEDO         4018125732236444            Gas           Gov. Aggregation   COH             163794490038                Gas           Gov. Aggregation
VEDO         4019988472313746            Gas           Gov. Aggregation   COH             206573570019                Gas           Gov. Aggregation
VEDO         4015913732387379            Gas           Gov. Aggregation   COH             204732460016                Gas           Gov. Aggregation
VEDO         4019864472213505            Gas           Gov. Aggregation   COH             145166540012                Gas           Gov. Aggregation
VEDO         4015770912306890            Gas           Gov. Aggregation   COH             123546150050                Gas           Gov. Aggregation
VEDO         4004948682219576            Gas           Gov. Aggregation   COH             188366450025                Gas           Gov. Aggregation
VEDO         4001584722116029            Gas           Gov. Aggregation   COH             209548040010                Gas           Gov. Aggregation
VEDO         4017839002673438            Gas           Gov. Aggregation   COH             199057760013                Gas           Gov. Aggregation
VEDO         4020203402671515            Gas           Gov. Aggregation   COH             205685410016                Gas           Gov. Aggregation
VEDO         4020131642226157            Gas           Gov. Aggregation   COH             197308380021                Gas           Gov. Aggregation
VEDO         4020265612353129            Gas           Gov. Aggregation   COH             209530750018                Gas           Gov. Aggregation
VEDO         4019831722139544            Gas           Gov. Aggregation   COH             205325360019                Gas           Gov. Aggregation
VEDO         4019008912673657            Gas           Gov. Aggregation   COH             174774610022                Gas           Gov. Aggregation
VEDO         4004587242242632            Gas           Gov. Aggregation   COH             152420590013                Gas           Gov. Aggregation
VEDO         4016009072497340            Gas           Gov. Aggregation   COH             163671760022                Gas           Gov. Aggregation
VEDO         4016590582441376            Gas           Gov. Aggregation   COH             194013280011                Gas           Gov. Aggregation
VEDO         4018644932505790            Gas           Gov. Aggregation   COH             206676030014                Gas           Gov. Aggregation
VEDO         4019997642396678            Gas           Gov. Aggregation   COH             195790870010                Gas           Gov. Aggregation
VEDO         4020057052267324            Gas           Gov. Aggregation   COH             196780300019                Gas           Gov. Aggregation
VEDO         4020061022229649            Gas           Gov. Aggregation   COH             197331910011                Gas           Gov. Aggregation
VEDO         4015627272512060            Gas           Gov. Aggregation   COH             197829010015                Gas           Gov. Aggregation
VEDO         4004538082487325            Gas           Gov. Aggregation   COH             198493420020                Gas           Gov. Aggregation
VEDO         4015662962244273            Gas           Gov. Aggregation   COH             199375230010                Gas           Gov. Aggregation
VEDO         4004135462379902            Gas           Gov. Aggregation   COH             124080410016                Gas           Gov. Aggregation
VEDO         4003059012271724            Gas           Gov. Aggregation   COH             124080420023                Gas           Gov. Aggregation
VEDO         4002785902500810            Gas           Gov. Aggregation   DEO             7500066103433               Gas           Gov. Aggregation
VEDO         4001899192530302            Gas           Gov. Aggregation   DEO             4500024202799               Gas           Gov. Aggregation
VEDO         4016595502421854            Gas           Gov. Aggregation   DEO             4500044521004               Gas           Gov. Aggregation
VEDO         4018499612154973            Gas           Gov. Aggregation   DEO             2500044565369               Gas           Gov. Aggregation
VEDO         4015352212103815            Gas           Gov. Aggregation   DEO             7180007978714               Gas           Gov. Aggregation
VEDO         4019151212415159            Gas           Gov. Aggregation   DEO             3420303427676               Gas           Gov. Aggregation
VEDO         4018513002377070            Gas           Gov. Aggregation   DEO             2500017373627               Gas           Gov. Aggregation
VEDO         4019849952302360            Gas           Gov. Aggregation   DEO             2180003547426               Gas           Gov. Aggregation
VEDO         4003862152171664            Gas           Gov. Aggregation   DEO             3500052330274               Gas           Gov. Aggregation
VEDO         4019985012288818            Gas           Gov. Aggregation   DEO             8422105572675               Gas           Gov. Aggregation
VEDO         4017329822447209            Gas           Gov. Aggregation   DEO             6500004376401               Gas           Gov. Aggregation
VEDO         4020052802104256            Gas           Gov. Aggregation   DEO             9500038672376               Gas           Gov. Aggregation
VEDO         4020017172153649            Gas           Gov. Aggregation   DEO             1500064567830               Gas           Gov. Aggregation
VEDO         4020094372153575            Gas           Gov. Aggregation   DEO             2500060509276               Gas           Gov. Aggregation
VEDO         4020145552100680            Gas           Gov. Aggregation   DEO             4180007908163               Gas           Gov. Aggregation
VEDO         4020209452279827            Gas           Gov. Aggregation   DEO             8180006155756               Gas           Gov. Aggregation
VEDO         4020204472439958            Gas           Gov. Aggregation   DEO             0500061829140               Gas           Gov. Aggregation
VEDO         4019044342110414            Gas           Gov. Aggregation   DEO             3180005122041               Gas           Gov. Aggregation
VEDO         4020274242239760            Gas           Gov. Aggregation   DEO             1180007068842               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4017464142428084            Gas           Gov. Aggregation   DEO             5180008562820               Gas           Gov. Aggregation
VEDO            4019817692459710            Gas           Gov. Aggregation   DEO             9500040733380               Gas           Gov. Aggregation
VEDO            4019802752150259            Gas           Gov. Aggregation   DEO             2180000210357               Gas           Gov. Aggregation
VEDO            4002827432386499            Gas           Gov. Aggregation   DEO             2180000210431               Gas           Gov. Aggregation
VEDO            4020020002441152            Gas           Gov. Aggregation   DEO             7420100608103               Gas           Gov. Aggregation
VEDO            4019467702512865            Gas           Gov. Aggregation   DEO             7500049193476               Gas           Gov. Aggregation
VEDO            4020077322416570            Gas           Gov. Aggregation   DEO             7500051601521               Gas           Gov. Aggregation
VEDO            4019139302355658            Gas           Gov. Aggregation   DEO             2500065158983               Gas           Gov. Aggregation
VEDO            4019921362391601            Gas           Gov. Aggregation   DEO             2500065991906               Gas           Gov. Aggregation
VEDO            4020188042183388            Gas           Gov. Aggregation   DEO             3420103760203               Gas           Gov. Aggregation
VEDO            4020251172387092            Gas           Gov. Aggregation   DEO             7180004957880               Gas           Gov. Aggregation
VEDO            4001146962113881            Gas           Gov. Aggregation   COH             209712960018                Gas           Gov. Aggregation
VEDO            4001397472201297            Gas           Gov. Aggregation   COH             208664870011                Gas           Gov. Aggregation
VEDO            4017676882358869            Gas           Gov. Aggregation   COH             209713930012                Gas           Gov. Aggregation
COH             142948330011                Gas           Gov. Aggregation   COH             210051100017                Gas           Gov. Aggregation
COH             201500430016                Gas           Gov. Aggregation   COH             205211140016                Gas           Gov. Aggregation
COH             201478130018                Gas           Gov. Aggregation   COH             150901560048                Gas           Gov. Aggregation
COH             202417630010                Gas           Gov. Aggregation   COH             209952820019                Gas           Gov. Aggregation
COH             161320110032                Gas           Gov. Aggregation   COH             209827830012                Gas           Gov. Aggregation
COH             190598640020                Gas           Gov. Aggregation   COH             204227500036                Gas           Gov. Aggregation
COH             200963160014                Gas           Gov. Aggregation   COH             209477180012                Gas           Gov. Aggregation
COH             204204560014                Gas           Gov. Aggregation   COH             209303810016                Gas           Gov. Aggregation
COH             201112580018                Gas           Gov. Aggregation   COH             210155520019                Gas           Gov. Aggregation
COH             203481710017                Gas           Gov. Aggregation   COH             186295530058                Gas           Gov. Aggregation
COH             202401280017                Gas           Gov. Aggregation   COH             210318360017                Gas           Gov. Aggregation
COH             201844600012                Gas           Gov. Aggregation   COH             210010150013                Gas           Gov. Aggregation
COH             202050960019                Gas           Gov. Aggregation   COH             209452880017                Gas           Gov. Aggregation
COH             202182730018                Gas           Gov. Aggregation   COH             210301370010                Gas           Gov. Aggregation
COH             201269020014                Gas           Gov. Aggregation   COH             208600800019                Gas           Gov. Aggregation
COH             204131420018                Gas           Gov. Aggregation   COH             209499310018                Gas           Gov. Aggregation
COH             173477500026                Gas           Gov. Aggregation   COH             164938850035                Gas           Gov. Aggregation
COH             159901080022                Gas           Gov. Aggregation   COH             208600790012                Gas           Gov. Aggregation
COH             202610130015                Gas           Gov. Aggregation   COH             209201160019                Gas           Gov. Aggregation
COH             186444130028                Gas           Gov. Aggregation   COH             209557460013                Gas           Gov. Aggregation
COH             196013000035                Gas           Gov. Aggregation   COH             208385990036                Gas           Gov. Aggregation
COH             196014470026                Gas           Gov. Aggregation   COH             186390330058                Gas           Gov. Aggregation
COH             192589130024                Gas           Gov. Aggregation   COH             201652350030                Gas           Gov. Aggregation
COH             192767490030                Gas           Gov. Aggregation   COH             209404010010                Gas           Gov. Aggregation
COH             193019100026                Gas           Gov. Aggregation   COH             210294930019                Gas           Gov. Aggregation
COH             203394430011                Gas           Gov. Aggregation   COH             209718820015                Gas           Gov. Aggregation
COH             203351170016                Gas           Gov. Aggregation   COH             206722970036                Gas           Gov. Aggregation
COH             203596040015                Gas           Gov. Aggregation   COH             209945390015                Gas           Gov. Aggregation
COH             203555110016                Gas           Gov. Aggregation   COH             196515720021                Gas           Gov. Aggregation
COH             204054210016                Gas           Gov. Aggregation   COH             209620040016                Gas           Gov. Aggregation
COH             197358250014                Gas           Gov. Aggregation   COH             209994750016                Gas           Gov. Aggregation
COH             197130570037                Gas           Gov. Aggregation   COH             209827710017                Gas           Gov. Aggregation
COH             198496530021                Gas           Gov. Aggregation   COH             208533560013                Gas           Gov. Aggregation
COH             200092250012                Gas           Gov. Aggregation   COH             188116630124                Gas           Gov. Aggregation
COH             202429530025                Gas           Gov. Aggregation   COH             210279240016                Gas           Gov. Aggregation
COH             203000530013                Gas           Gov. Aggregation   COH             208617350019                Gas           Gov. Aggregation
COH             202974430012                Gas           Gov. Aggregation   COH             110273780016                Gas           Gov. Aggregation
COH             202887040019                Gas           Gov. Aggregation   COH             206894970015                Gas           Gov. Aggregation
COH             202834040010                Gas           Gov. Aggregation   COH             208690010016                Gas           Gov. Aggregation
COH             162553930027                Gas           Gov. Aggregation   COH             197160620024                Gas           Gov. Aggregation
COH             160001660025                Gas           Gov. Aggregation   COH             163274770031                Gas           Gov. Aggregation
COH             165525620046                Gas           Gov. Aggregation   COH             208828310010                Gas           Gov. Aggregation
COH             174968340028                Gas           Gov. Aggregation   COH             209047830016                Gas           Gov. Aggregation
COH             174844340020                Gas           Gov. Aggregation   COH             210098220014                Gas           Gov. Aggregation
COH             203269040018                Gas           Gov. Aggregation   COH             210139030016                Gas           Gov. Aggregation
COH             202773900019                Gas           Gov. Aggregation   COH             193703260040                Gas           Gov. Aggregation
COH             203063970019                Gas           Gov. Aggregation   COH             209218620017                Gas           Gov. Aggregation
COH             202522580018                Gas           Gov. Aggregation   COH             210305350016                Gas           Gov. Aggregation
COH             167281400020                Gas           Gov. Aggregation   COH             177771020092                Gas           Gov. Aggregation
COH             129291540035                Gas           Gov. Aggregation   COH             209180480018                Gas           Gov. Aggregation
COH             194532530090                Gas           Gov. Aggregation   COH             210120020017                Gas           Gov. Aggregation
COH             174863710022                Gas           Gov. Aggregation   COH             210203960014                Gas           Gov. Aggregation
COH             203118090017                Gas           Gov. Aggregation   COH             210038430016                Gas           Gov. Aggregation
COH             203490440015                Gas           Gov. Aggregation   COH             204675260010                Gas           Gov. Aggregation
COH             203527720017                Gas           Gov. Aggregation   COH             208623510012                Gas           Gov. Aggregation
COH             119162150023                Gas           Gov. Aggregation   COH             208775350015                Gas           Gov. Aggregation
COH             155423950027                Gas           Gov. Aggregation   COH             209140530011                Gas           Gov. Aggregation
COH             202984070017                Gas           Gov. Aggregation   COH             209687240014                Gas           Gov. Aggregation
COH             203966620018                Gas           Gov. Aggregation   COH             209509040012                Gas           Gov. Aggregation
COH             202551250016                Gas           Gov. Aggregation   COH             145534310019                Gas           Gov. Aggregation
COH             201522690025                Gas           Gov. Aggregation   COH             206425620011                Gas           Gov. Aggregation
COH             203744630016                Gas           Gov. Aggregation   COH             202130230049                Gas           Gov. Aggregation
COH             204116700011                Gas           Gov. Aggregation   COH             188203050050                Gas           Gov. Aggregation
COH             202417480012                Gas           Gov. Aggregation   COH             200473820041                Gas           Gov. Aggregation
COH             126841730086                Gas           Gov. Aggregation   COH             209082720015                Gas           Gov. Aggregation
COH             189765150012                Gas           Gov. Aggregation   COH             152176350058                Gas           Gov. Aggregation
COH             202874970011                Gas           Gov. Aggregation   COH             206182430035                Gas           Gov. Aggregation
COH             202369270019                Gas           Gov. Aggregation   COH             210220500014                Gas           Gov. Aggregation
COH             161801690013                Gas           Gov. Aggregation   COH             201602780053                Gas           Gov. Aggregation
COH             192645570031                Gas           Gov. Aggregation   COH             110379080055                Gas           Gov. Aggregation
COH             202853200016                Gas           Gov. Aggregation   COH             171536950046                Gas           Gov. Aggregation
COH             203040470012                Gas           Gov. Aggregation   COH             203521000038                Gas           Gov. Aggregation
COH             204165520016                Gas           Gov. Aggregation   COH             203147190015                Gas           Gov. Aggregation
COH             187915460038                Gas           Gov. Aggregation   DEO             3180016567373               Gas           Gov. Aggregation
COH             202610090014                Gas           Gov. Aggregation   COH             111189470028                Gas           Gov. Aggregation
COH             168911530016                Gas           Gov. Aggregation   VEDO            4004164082418550            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             158870130029                Gas           Gov. Aggregation   DEO             3180015764027               Gas           Gov. Aggregation
COH             202466870017                Gas           Gov. Aggregation   DEO             2180012859388               Gas           Gov. Aggregation
COH             202356680010                Gas           Gov. Aggregation   DEO             5180011290752               Gas           Gov. Aggregation
COH             185828460062                Gas           Gov. Aggregation   DEO             5180012970361               Gas           Gov. Aggregation
COH             191934630027                Gas           Gov. Aggregation   DEO             2180011752952               Gas           Gov. Aggregation
COH             119386280068                Gas           Gov. Aggregation   DEO             5180014761583               Gas           Gov. Aggregation
COH             132925280021                Gas           Gov. Aggregation   DEO             6180013732984               Gas           Gov. Aggregation
COH             118132300089                Gas           Gov. Aggregation   DEO             2180013079293               Gas           Gov. Aggregation
COH             192131298755                Gas           Gov. Aggregation   DEO             0500016937594               Gas           Gov. Aggregation
COH             175016850054                Gas           Gov. Aggregation   DEO             5420102608643               Gas           Gov. Aggregation
COH             173850440054                Gas           Gov. Aggregation   DEO             8180010404832               Gas           Gov. Aggregation
COH             199616720024                Gas           Gov. Aggregation   DEO             1500038511097               Gas           Gov. Aggregation
COH             202248680019                Gas           Gov. Aggregation   DEO             6500034599166               Gas           Gov. Aggregation
COH             203492920010                Gas           Gov. Aggregation   DEO             5180006207962               Gas           Gov. Aggregation
COH             201378730041                Gas           Gov. Aggregation   DEO             1180010305504               Gas           Gov. Aggregation
COH             203079870544                Gas           Gov. Aggregation   DEO             2500066514874               Gas           Gov. Aggregation
COH             204161210019                Gas           Gov. Aggregation   DEO             4420106409972               Gas           Gov. Aggregation
COH             153524140043                Gas           Gov. Aggregation   DEO             4180010713866               Gas           Gov. Aggregation
COH             204096130015                Gas           Gov. Aggregation   DEO             2180010711128               Gas           Gov. Aggregation
COH             202513200016                Gas           Gov. Aggregation   COH             124125170020                Gas           Gov. Aggregation
COH             203672200019                Gas           Gov. Aggregation   COH             161372440034                Gas           Gov. Aggregation
COH             191522150021                Gas           Gov. Aggregation   COH             157577730026                Gas           Gov. Aggregation
COH             202902070019                Gas           Gov. Aggregation   COH             157934270034                Gas           Gov. Aggregation
COH             202625240011                Gas           Gov. Aggregation   COH             158140710033                Gas           Gov. Aggregation
COH             162042420036                Gas           Gov. Aggregation   COH             159502920012                Gas           Gov. Aggregation
COH             195062470035                Gas           Gov. Aggregation   COH             124019450017                Gas           Gov. Aggregation
COH             167339520031                Gas           Gov. Aggregation   COH             130945920017                Gas           Gov. Aggregation
COH             171591020018                Gas           Gov. Aggregation   COH             138218120027                Gas           Gov. Aggregation
COH             118091380027                Gas           Gov. Aggregation   COH             138365140013                Gas           Gov. Aggregation
COH             117622510041                Gas           Gov. Aggregation   COH             146138780010                Gas           Gov. Aggregation
COH             193839230030                Gas           Gov. Aggregation   COH             146327650034                Gas           Gov. Aggregation
COH             193416820050                Gas           Gov. Aggregation   COH             186122460012                Gas           Gov. Aggregation
COH             202130820027                Gas           Gov. Aggregation   COH             191072550013                Gas           Gov. Aggregation
COH             160074370041                Gas           Gov. Aggregation   COH             193005710018                Gas           Gov. Aggregation
COH             175611070047                Gas           Gov. Aggregation   COH             191997600021                Gas           Gov. Aggregation
COH             175609360041                Gas           Gov. Aggregation   COH             124007340015                Gas           Gov. Aggregation
COH             202163720029                Gas           Gov. Aggregation   COH             124020030012                Gas           Gov. Aggregation
COH             202362930014                Gas           Gov. Aggregation   COH             124020350024                Gas           Gov. Aggregation
COH             202625260017                Gas           Gov. Aggregation   COH             173633190020                Gas           Gov. Aggregation
COH             203314940012                Gas           Gov. Aggregation   COH             173663650020                Gas           Gov. Aggregation
COH             169896840041                Gas           Gov. Aggregation   COH             191151490018                Gas           Gov. Aggregation
COH             173872970039                Gas           Gov. Aggregation   COH             168913130025                Gas           Gov. Aggregation
COH             203744160015                Gas           Gov. Aggregation   COH             124020490016                Gas           Gov. Aggregation
COH             158825840025                Gas           Gov. Aggregation   COH             124021450012                Gas           Gov. Aggregation
COH             188380490036                Gas           Gov. Aggregation   COH             124023520013                Gas           Gov. Aggregation
COH             187635020016                Gas           Gov. Aggregation   COH             124048260016                Gas           Gov. Aggregation
COH             202558560017                Gas           Gov. Aggregation   COH             124089000023                Gas           Gov. Aggregation
COH             199300030028                Gas           Gov. Aggregation   COH             124125900017                Gas           Gov. Aggregation
COH             203118100014                Gas           Gov. Aggregation   COH             159372840025                Gas           Gov. Aggregation
COH             203139850013                Gas           Gov. Aggregation   COH             159675620010                Gas           Gov. Aggregation
COH             202853340017                Gas           Gov. Aggregation   COH             159764290048                Gas           Gov. Aggregation
COH             203110550016                Gas           Gov. Aggregation   COH             195938570037                Gas           Gov. Aggregation
COH             150971110027                Gas           Gov. Aggregation   COH             190197740056                Gas           Gov. Aggregation
COH             204152780019                Gas           Gov. Aggregation   COH             190200950026                Gas           Gov. Aggregation
COH             202648350010                Gas           Gov. Aggregation   COH             192824620012                Gas           Gov. Aggregation
DEO             2180007516627               Gas           Gov. Aggregation   COH             124259250020                Gas           Gov. Aggregation
COH             190000350044                Gas           Gov. Aggregation   COH             194039750018                Gas           Gov. Aggregation
COH             108720560017                Gas           Gov. Aggregation   COH             187371760011                Gas           Gov. Aggregation
COH             199645240024                Gas           Gov. Aggregation   COH             170999930023                Gas           Gov. Aggregation
COH             157064150043                Gas           Gov. Aggregation   COH             191478330037                Gas           Gov. Aggregation
COH             164737470013                Gas           Gov. Aggregation   COH             197374000012                Gas           Gov. Aggregation
COH             163456350024                Gas           Gov. Aggregation   COH             170641440023                Gas           Gov. Aggregation
COH             187664380038                Gas           Gov. Aggregation   COH             192089300028                Gas           Gov. Aggregation
COH             199685680028                Gas           Gov. Aggregation   COH             203897280026                Gas           Gov. Aggregation
COH             201714590010                Gas           Gov. Aggregation   COH             124295280037                Gas           Gov. Aggregation
COH             203496200013                Gas           Gov. Aggregation   COH             124260610030                Gas           Gov. Aggregation
COH             148839960069                Gas           Gov. Aggregation   COH             168366760042                Gas           Gov. Aggregation
COH             201190630022                Gas           Gov. Aggregation   DEO             0180009539149               Gas           Gov. Aggregation
COH             202834360013                Gas           Gov. Aggregation   DEO             1180004060441               Gas           Gov. Aggregation
COH             125762710043                Gas           Gov. Aggregation   DEO             2180000527626               Gas           Gov. Aggregation
COH             194828700033                Gas           Gov. Aggregation   DEO             4180003916139               Gas           Gov. Aggregation
COH             202639100011                Gas           Gov. Aggregation   DEO             0180005359352               Gas           Gov. Aggregation
COH             185804550036                Gas           Gov. Aggregation   DEO             0180008577079               Gas           Gov. Aggregation
COH             202483250011                Gas           Gov. Aggregation   DEO             4180005177859               Gas           Gov. Aggregation
COH             203228550017                Gas           Gov. Aggregation   DEO             5180008563729               Gas           Gov. Aggregation
COH             203660990019                Gas           Gov. Aggregation   DEO             4180003214252               Gas           Gov. Aggregation
COH             203460970017                Gas           Gov. Aggregation   DEO             4180010398114               Gas           Gov. Aggregation
COH             202953220010                Gas           Gov. Aggregation   DEO             2180002005086               Gas           Gov. Aggregation
COH             133080900094                Gas           Gov. Aggregation   DEO             9180004076975               Gas           Gov. Aggregation
COH             185730420049                Gas           Gov. Aggregation   DEO             1180004868398               Gas           Gov. Aggregation
COH             157856880032                Gas           Gov. Aggregation   DEO             1180003421785               Gas           Gov. Aggregation
COH             203332990014                Gas           Gov. Aggregation   DEO             7422005489203               Gas           Gov. Aggregation
COH             171099450021                Gas           Gov. Aggregation   DEO             8180009086309               Gas           Gov. Aggregation
COH             203231750018                Gas           Gov. Aggregation   DEO             5180002882882               Gas           Gov. Aggregation
COH             203497450019                Gas           Gov. Aggregation   DEO             5180002882863               Gas           Gov. Aggregation
COH             202505850017                Gas           Gov. Aggregation   DEO             2180006129886               Gas           Gov. Aggregation
COH             122688720024                Gas           Gov. Aggregation   DEO             5180002480296               Gas           Gov. Aggregation
COH             163526130012                Gas           Gov. Aggregation   DEO             5180003542002               Gas           Gov. Aggregation
COH             203543800016                Gas           Gov. Aggregation   DEO             9180000244087               Gas           Gov. Aggregation
COH             193787130069                Gas           Gov. Aggregation   DEO             1180006801487               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             135804710023                Gas           Gov. Aggregation   DEO             9180000466800               Gas           Gov. Aggregation
COH             171334530024                Gas           Gov. Aggregation   DEO             6180010314034               Gas           Gov. Aggregation
COH             140121000087                Gas           Gov. Aggregation   DEO             7500067039361               Gas           Gov. Aggregation
COH             202408920018                Gas           Gov. Aggregation   DEO             1180001937218               Gas           Gov. Aggregation
COH             204089580016                Gas           Gov. Aggregation   DEO             4180008155374               Gas           Gov. Aggregation
COH             203279020011                Gas           Gov. Aggregation   DEO             8180005874050               Gas           Gov. Aggregation
COH             203242230014                Gas           Gov. Aggregation   DEO             4180007780890               Gas           Gov. Aggregation
COH             202363130010                Gas           Gov. Aggregation   DEO             2500067056290               Gas           Gov. Aggregation
COH             125803020022                Gas           Gov. Aggregation   DEO             3180002430517               Gas           Gov. Aggregation
COH             176175540025                Gas           Gov. Aggregation   DEO             2180000441453               Gas           Gov. Aggregation
COH             202805420011                Gas           Gov. Aggregation   DEO             9180002039857               Gas           Gov. Aggregation
COH             202683750012                Gas           Gov. Aggregation   DEO             1180007538762               Gas           Gov. Aggregation
COH             203934920012                Gas           Gov. Aggregation   DEO             8180008602744               Gas           Gov. Aggregation
COH             204140390016                Gas           Gov. Aggregation   DEO             8180000548899               Gas           Gov. Aggregation
COH             173367080046                Gas           Gov. Aggregation   DEO             9180008592559               Gas           Gov. Aggregation
COH             203110840015                Gas           Gov. Aggregation   DEO             3500052279290               Gas           Gov. Aggregation
COH             202927080015                Gas           Gov. Aggregation   DEO             0180004540415               Gas           Gov. Aggregation
COH             203933740012                Gas           Gov. Aggregation   DEO             0180007178380               Gas           Gov. Aggregation
COH             203868560019                Gas           Gov. Aggregation   DEO             2180006527410               Gas           Gov. Aggregation
COH             203536910018                Gas           Gov. Aggregation   DEO             3180013124004               Gas           Gov. Aggregation
COH             187378000025                Gas           Gov. Aggregation   DEO             3180001376867               Gas           Gov. Aggregation
COH             202464500045                Gas           Gov. Aggregation   DEO             2180009811437               Gas           Gov. Aggregation
COH             203040680018                Gas           Gov. Aggregation   DEO             6500067354334               Gas           Gov. Aggregation
COH             201510260020                Gas           Gov. Aggregation   DEO             9180000228209               Gas           Gov. Aggregation
COH             203679020013                Gas           Gov. Aggregation   DEO             0500066121607               Gas           Gov. Aggregation
COH             162836090024                Gas           Gov. Aggregation   DEO             6180010736756               Gas           Gov. Aggregation
COH             202473100013                Gas           Gov. Aggregation   DEO             9180001831074               Gas           Gov. Aggregation
COH             196216690022                Gas           Gov. Aggregation   DEO             5180000158668               Gas           Gov. Aggregation
COH             203367600012                Gas           Gov. Aggregation   DEO             5500052557987               Gas           Gov. Aggregation
COH             200516670023                Gas           Gov. Aggregation   DEO             5500067328255               Gas           Gov. Aggregation
COH             202909700012                Gas           Gov. Aggregation   DEO             0180001861688               Gas           Gov. Aggregation
COH             202892250014                Gas           Gov. Aggregation   DEO             9180007698540               Gas           Gov. Aggregation
COH             198978650033                Gas           Gov. Aggregation   DEO             6180010166299               Gas           Gov. Aggregation
COH             202386270013                Gas           Gov. Aggregation   DEO             8180007293558               Gas           Gov. Aggregation
COH             202984500016                Gas           Gov. Aggregation   DEO             5180007512277               Gas           Gov. Aggregation
COH             176604280047                Gas           Gov. Aggregation   DEO             0180009053869               Gas           Gov. Aggregation
COH             203957790012                Gas           Gov. Aggregation   DEO             7180009504095               Gas           Gov. Aggregation
COH             203009110013                Gas           Gov. Aggregation   DEO             3180004302347               Gas           Gov. Aggregation
COH             186664460087                Gas           Gov. Aggregation   DEO             5180005375870               Gas           Gov. Aggregation
COH             196637010022                Gas           Gov. Aggregation   DEO             7180010383899               Gas           Gov. Aggregation
COH             151250450014                Gas           Gov. Aggregation   DEO             1180010588453               Gas           Gov. Aggregation
COH             154893490137                Gas           Gov. Aggregation   DEO             1180007161886               Gas           Gov. Aggregation
COH             198950900038                Gas           Gov. Aggregation   DEO             4180010877321               Gas           Gov. Aggregation
COH             161572800025                Gas           Gov. Aggregation   DEO             3180005753245               Gas           Gov. Aggregation
COH             175346680015                Gas           Gov. Aggregation   DEO             8180002371310               Gas           Gov. Aggregation
COH             204181570012                Gas           Gov. Aggregation   DEO             7180006545224               Gas           Gov. Aggregation
COH             196840600063                Gas           Gov. Aggregation   DEO             5180001289482               Gas           Gov. Aggregation
COH             203331030017                Gas           Gov. Aggregation   DEO             2180001995367               Gas           Gov. Aggregation
COH             203446280012                Gas           Gov. Aggregation   DEO             8180004344198               Gas           Gov. Aggregation
COH             203652770012                Gas           Gov. Aggregation   DEO             3180010029378               Gas           Gov. Aggregation
COH             203335170010                Gas           Gov. Aggregation   DEO             7180003201317               Gas           Gov. Aggregation
COH             202540810011                Gas           Gov. Aggregation   DEO             7180000519530               Gas           Gov. Aggregation
COH             202751920039                Gas           Gov. Aggregation   DEO             2180008881140               Gas           Gov. Aggregation
COH             117958400025                Gas           Gov. Aggregation   DEO             9180006916693               Gas           Gov. Aggregation
COH             203642790019                Gas           Gov. Aggregation   DEO             8180009018163               Gas           Gov. Aggregation
COH             203828450016                Gas           Gov. Aggregation   DEO             1180009593795               Gas           Gov. Aggregation
COH             141903980029                Gas           Gov. Aggregation   DEO             8180010424090               Gas           Gov. Aggregation
COH             125781870022                Gas           Gov. Aggregation   DEO             7180004756345               Gas           Gov. Aggregation
COH             200503250019                Gas           Gov. Aggregation   DEO             4180003353585               Gas           Gov. Aggregation
COH             162176030017                Gas           Gov. Aggregation   DEO             6180006603966               Gas           Gov. Aggregation
COH             186671940036                Gas           Gov. Aggregation   DEO             0180006969115               Gas           Gov. Aggregation
COH             189725430026                Gas           Gov. Aggregation   DEO             2180010243025               Gas           Gov. Aggregation
COH             125807600086                Gas           Gov. Aggregation   DEO             0500005621036               Gas           Gov. Aggregation
COH             196405590022                Gas           Gov. Aggregation   DEO             7180005795273               Gas           Gov. Aggregation
COH             202742690019                Gas           Gov. Aggregation   DEO             2180009943759               Gas           Gov. Aggregation
COH             156070460028                Gas           Gov. Aggregation   DEO             0422105978008               Gas           Gov. Aggregation
COH             171349860195                Gas           Gov. Aggregation   DEO             0180008481291               Gas           Gov. Aggregation
COH             203717320018                Gas           Gov. Aggregation   DEO             0180010678767               Gas           Gov. Aggregation
COH             186511130034                Gas           Gov. Aggregation   DEO             5180010614457               Gas           Gov. Aggregation
COH             125865380018                Gas           Gov. Aggregation   DEO             1180014439750               Gas           Gov. Aggregation
COH             125865460020                Gas           Gov. Aggregation   DEO             3180009620452               Gas           Gov. Aggregation
COH             202953210012                Gas           Gov. Aggregation   DEO             4180009151588               Gas           Gov. Aggregation
COH             202646910016                Gas           Gov. Aggregation   DEO             5180016317764               Gas           Gov. Aggregation
COH             203868570017                Gas           Gov. Aggregation   DEO             1180013418390               Gas           Gov. Aggregation
COH             202386240019                Gas           Gov. Aggregation   DEO             9180015778964               Gas           Gov. Aggregation
COH             189255620023                Gas           Gov. Aggregation   DEO             6180015087124               Gas           Gov. Aggregation
COH             125872100011                Gas           Gov. Aggregation   DEO             9180011258901               Gas           Gov. Aggregation
COH             203536940012                Gas           Gov. Aggregation   DEO             2180001882516               Gas           Gov. Aggregation
COH             204166220017                Gas           Gov. Aggregation   DEO             4180016412060               Gas           Gov. Aggregation
COH             146503760028                Gas           Gov. Aggregation   DEO             7180016375659               Gas           Gov. Aggregation
COH             202774260012                Gas           Gov. Aggregation   DEO             8180014926745               Gas           Gov. Aggregation
COH             202902350010                Gas           Gov. Aggregation   DEO             2180015196428               Gas           Gov. Aggregation
COH             202686820011                Gas           Gov. Aggregation   DEO             8180014537822               Gas           Gov. Aggregation
COH             122700010052                Gas           Gov. Aggregation   DEO             2180014641663               Gas           Gov. Aggregation
COH             202553810032                Gas           Gov. Aggregation   DEO             7180016114742               Gas           Gov. Aggregation
COH             192628370146                Gas           Gov. Aggregation   DEO             4180006509032               Gas           Gov. Aggregation
COH             203545300017                Gas           Gov. Aggregation   DEO             5180014298961               Gas           Gov. Aggregation
COH             202817370017                Gas           Gov. Aggregation   DEO             8180012535625               Gas           Gov. Aggregation
COH             202968030019                Gas           Gov. Aggregation   DEO             4180015698347               Gas           Gov. Aggregation
COH             142402350040                Gas           Gov. Aggregation   DEO             0180015961448               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             147249750029                Gas           Gov. Aggregation   DEO             7500007813652               Gas           Gov. Aggregation
COH             203132250013                Gas           Gov. Aggregation   DEO             3180012795453               Gas           Gov. Aggregation
COH             199805370027                Gas           Gov. Aggregation   DEO             0180011463164               Gas           Gov. Aggregation
COH             125797340048                Gas           Gov. Aggregation   DEO             7180014338391               Gas           Gov. Aggregation
COH             125800170045                Gas           Gov. Aggregation   DEO             1500036741069               Gas           Gov. Aggregation
COH             125800600026                Gas           Gov. Aggregation   DEO             4500066530004               Gas           Gov. Aggregation
COH             125807900029                Gas           Gov. Aggregation   DEO             0180015452773               Gas           Gov. Aggregation
COH             125804450048                Gas           Gov. Aggregation   DEO             4180015133994               Gas           Gov. Aggregation
COH             154535290306                Gas           Gov. Aggregation   DEO             2180015139330               Gas           Gov. Aggregation
COH             153365900023                Gas           Gov. Aggregation   DEO             7180015369845               Gas           Gov. Aggregation
COH             131725820059                Gas           Gov. Aggregation   DEO             7180010969350               Gas           Gov. Aggregation
COH             130484910035                Gas           Gov. Aggregation   DEO             6180012294717               Gas           Gov. Aggregation
COH             169955230025                Gas           Gov. Aggregation   DEO             3180012538104               Gas           Gov. Aggregation
COH             192150010019                Gas           Gov. Aggregation   DEO             5180012487205               Gas           Gov. Aggregation
COH             192394780021                Gas           Gov. Aggregation   DEO             8180015504523               Gas           Gov. Aggregation
COH             194383980011                Gas           Gov. Aggregation   DEO             1180013775780               Gas           Gov. Aggregation
COH             202943060015                Gas           Gov. Aggregation   DEO             6180016049796               Gas           Gov. Aggregation
COH             202604510018                Gas           Gov. Aggregation   DEO             4180015827759               Gas           Gov. Aggregation
COH             204134480010                Gas           Gov. Aggregation   DEO             1180014139750               Gas           Gov. Aggregation
COH             188652030026                Gas           Gov. Aggregation   DEO             8180015593747               Gas           Gov. Aggregation
COH             195738820010                Gas           Gov. Aggregation   DEO             4180008478703               Gas           Gov. Aggregation
COH             194747390013                Gas           Gov. Aggregation   DEO             5180015331198               Gas           Gov. Aggregation
COH             197533860014                Gas           Gov. Aggregation   DEO             6180013083538               Gas           Gov. Aggregation
COH             201703000016                Gas           Gov. Aggregation   DEO             0180015071807               Gas           Gov. Aggregation
COH             200010500011                Gas           Gov. Aggregation   DEO             3180014391990               Gas           Gov. Aggregation
COH             199671010018                Gas           Gov. Aggregation   DEO             4180007775968               Gas           Gov. Aggregation
COH             199456440014                Gas           Gov. Aggregation   DEO             0180012893018               Gas           Gov. Aggregation
COH             199428430015                Gas           Gov. Aggregation   DEO             4180015300933               Gas           Gov. Aggregation
COH             200102610013                Gas           Gov. Aggregation   DEO             0180016091015               Gas           Gov. Aggregation
COH             203097210017                Gas           Gov. Aggregation   DEO             3180012810124               Gas           Gov. Aggregation
COH             130473430020                Gas           Gov. Aggregation   DEO             8180010959304               Gas           Gov. Aggregation
COH             203542010014                Gas           Gov. Aggregation   DEO             2180011035482               Gas           Gov. Aggregation
COH             166577670028                Gas           Gov. Aggregation   DEO             5180009599679               Gas           Gov. Aggregation
COH             153905000017                Gas           Gov. Aggregation   DEO             6180011329391               Gas           Gov. Aggregation
COH             197852820016                Gas           Gov. Aggregation   DEO             8180006452711               Gas           Gov. Aggregation
COH             204207550010                Gas           Gov. Aggregation   DEO             4180015008932               Gas           Gov. Aggregation
COH             203233840015                Gas           Gov. Aggregation   DEO             0180015281866               Gas           Gov. Aggregation
COH             202599970015                Gas           Gov. Aggregation   DEO             6180015577606               Gas           Gov. Aggregation
COH             204096330013                Gas           Gov. Aggregation   DEO             8180015231867               Gas           Gov. Aggregation
COH             185452590026                Gas           Gov. Aggregation   DEO             1180012082174               Gas           Gov. Aggregation
COH             203357040011                Gas           Gov. Aggregation   DEO             7500042298545               Gas           Gov. Aggregation
COH             202766620013                Gas           Gov. Aggregation   DEO             6180013561649               Gas           Gov. Aggregation
COH             185484050013                Gas           Gov. Aggregation   DEO             9180009304188               Gas           Gov. Aggregation
COH             202635410014                Gas           Gov. Aggregation   DEO             4500051278281               Gas           Gov. Aggregation
COH             202635410032                Gas           Gov. Aggregation   DEO             4180013541212               Gas           Gov. Aggregation
COH             203243400016                Gas           Gov. Aggregation   DEO             3180011599149               Gas           Gov. Aggregation
COH             203401630012                Gas           Gov. Aggregation   DEO             4180014709162               Gas           Gov. Aggregation
COH             202676200012                Gas           Gov. Aggregation   DEO             7180015433164               Gas           Gov. Aggregation
COH             111143330041                Gas           Gov. Aggregation   DEO             3180014951546               Gas           Gov. Aggregation
COH             175966640019                Gas           Gov. Aggregation   DEO             0180014598123               Gas           Gov. Aggregation
COH             171100080015                Gas           Gov. Aggregation   DEO             6180012158824               Gas           Gov. Aggregation
COH             175207810011                Gas           Gov. Aggregation   DEO             1180013998290               Gas           Gov. Aggregation
COH             132144680014                Gas           Gov. Aggregation   DEO             0180011846486               Gas           Gov. Aggregation
COH             186338650015                Gas           Gov. Aggregation   DEO             3180013615865               Gas           Gov. Aggregation
COH             187270580013                Gas           Gov. Aggregation   DEO             7180015642604               Gas           Gov. Aggregation
COH             199842450013                Gas           Gov. Aggregation   DEO             4180013654856               Gas           Gov. Aggregation
COH             167633920015                Gas           Gov. Aggregation   DEO             2180011516604               Gas           Gov. Aggregation
COH             187570590015                Gas           Gov. Aggregation   DEO             5180012025514               Gas           Gov. Aggregation
COH             199460280019                Gas           Gov. Aggregation   DEO             9180010401319               Gas           Gov. Aggregation
COH             171682550023                Gas           Gov. Aggregation   DEO             4180015105037               Gas           Gov. Aggregation
COH             164198990018                Gas           Gov. Aggregation   DEO             1180015863844               Gas           Gov. Aggregation
COH             174928020010                Gas           Gov. Aggregation   DEO             2180014077497               Gas           Gov. Aggregation
COH             130010980016                Gas           Gov. Aggregation   DEO             2180011229113               Gas           Gov. Aggregation
COH             111190840018                Gas           Gov. Aggregation   DEO             7180014322284               Gas           Gov. Aggregation
COH             187525410017                Gas           Gov. Aggregation   DEO             4180012047837               Gas           Gov. Aggregation
COH             161307550010                Gas           Gov. Aggregation   DEO             3180015431204               Gas           Gov. Aggregation
COH             138883370026                Gas           Gov. Aggregation   DEO             4180015765674               Gas           Gov. Aggregation
COH             173339910013                Gas           Gov. Aggregation   DEO             9500047335002               Gas           Gov. Aggregation
COH             199449990014                Gas           Gov. Aggregation   DEO             3180011100512               Gas           Gov. Aggregation
COH             141405070026                Gas           Gov. Aggregation   DEO             6180015334285               Gas           Gov. Aggregation
COH             129106550016                Gas           Gov. Aggregation   DEO             6180015273821               Gas           Gov. Aggregation
COH             166560130017                Gas           Gov. Aggregation   DEO             6180014231633               Gas           Gov. Aggregation
COH             149132790026                Gas           Gov. Aggregation   DEO             5180011432315               Gas           Gov. Aggregation
COH             199554610010                Gas           Gov. Aggregation   DEO             8180015676064               Gas           Gov. Aggregation
COH             193437730019                Gas           Gov. Aggregation   DEO             8180014975271               Gas           Gov. Aggregation
COH             185162590021                Gas           Gov. Aggregation   DEO             4180012466589               Gas           Gov. Aggregation
COH             191416710019                Gas           Gov. Aggregation   DEO             9500040126113               Gas           Gov. Aggregation
COH             199679530013                Gas           Gov. Aggregation   DEO             9180013811000               Gas           Gov. Aggregation
COH             151338130015                Gas           Gov. Aggregation   DEO             0180002004787               Gas           Gov. Aggregation
COH             200056430010                Gas           Gov. Aggregation   DEO             9180014922159               Gas           Gov. Aggregation
COH             159910190011                Gas           Gov. Aggregation   DEO             3180015763382               Gas           Gov. Aggregation
COH             111147800017                Gas           Gov. Aggregation   DEO             7180012177484               Gas           Gov. Aggregation
COH             198363480014                Gas           Gov. Aggregation   DEO             6180015863710               Gas           Gov. Aggregation
COH             199875420010                Gas           Gov. Aggregation   DEO             4180013705949               Gas           Gov. Aggregation
COH             143076680061                Gas           Gov. Aggregation   DEO             0180013943632               Gas           Gov. Aggregation
COH             199979900019                Gas           Gov. Aggregation   DEO             8180016348635               Gas           Gov. Aggregation
COH             192599890015                Gas           Gov. Aggregation   DEO             6180011429910               Gas           Gov. Aggregation
COH             134593090024                Gas           Gov. Aggregation   DEO             8180012961591               Gas           Gov. Aggregation
COH             187909330010                Gas           Gov. Aggregation   DEO             9180012108907               Gas           Gov. Aggregation
COH             136731550012                Gas           Gov. Aggregation   DEO             8500013034446               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             187199770015                Gas           Gov. Aggregation   DEO             8422005111288               Gas           Gov. Aggregation
COH             186686700017                Gas           Gov. Aggregation   DEO             2180013593932               Gas           Gov. Aggregation
COH             131199260018                Gas           Gov. Aggregation   DEO             7180011037014               Gas           Gov. Aggregation
COH             157074190017                Gas           Gov. Aggregation   DEO             2180011551309               Gas           Gov. Aggregation
COH             156659480017                Gas           Gov. Aggregation   DEO             9180013181434               Gas           Gov. Aggregation
COH             142830800011                Gas           Gov. Aggregation   DEO             5180013564843               Gas           Gov. Aggregation
COH             198529120017                Gas           Gov. Aggregation   DEO             4180016470170               Gas           Gov. Aggregation
COH             176344150019                Gas           Gov. Aggregation   DEO             0180015374276               Gas           Gov. Aggregation
COH             127520800017                Gas           Gov. Aggregation   DEO             6180015988044               Gas           Gov. Aggregation
COH             200043410011                Gas           Gov. Aggregation   DEO             1180013162753               Gas           Gov. Aggregation
COH             163050080012                Gas           Gov. Aggregation   DEO             2180013629287               Gas           Gov. Aggregation
COH             185464640011                Gas           Gov. Aggregation   DEO             2180014780799               Gas           Gov. Aggregation
COH             152972220048                Gas           Gov. Aggregation   DEO             2180013643755               Gas           Gov. Aggregation
COH             142347810023                Gas           Gov. Aggregation   DEO             6180016127068               Gas           Gov. Aggregation
COH             151615270018                Gas           Gov. Aggregation   DEO             7500044303536               Gas           Gov. Aggregation
COH             111147090017                Gas           Gov. Aggregation   DEO             0180012396338               Gas           Gov. Aggregation
COH             111191270016                Gas           Gov. Aggregation   DEO             3180013745275               Gas           Gov. Aggregation
COH             175076390019                Gas           Gov. Aggregation   DEO             7180014960855               Gas           Gov. Aggregation
COH             199679550019                Gas           Gov. Aggregation   DEO             5180012560269               Gas           Gov. Aggregation
COH             141455920022                Gas           Gov. Aggregation   DEO             8180013885320               Gas           Gov. Aggregation
COH             148885810027                Gas           Gov. Aggregation   DEO             1180014906067               Gas           Gov. Aggregation
COH             156310180018                Gas           Gov. Aggregation   DEO             9180014473531               Gas           Gov. Aggregation
COH             176218580016                Gas           Gov. Aggregation   DEO             0180013341621               Gas           Gov. Aggregation
COH             162357330010                Gas           Gov. Aggregation   DEO             9180014455912               Gas           Gov. Aggregation
COH             149099640010                Gas           Gov. Aggregation   DEO             4180013142403               Gas           Gov. Aggregation
COH             144234250019                Gas           Gov. Aggregation   DEO             9180011677583               Gas           Gov. Aggregation
COH             199482300018                Gas           Gov. Aggregation   DEO             0180014775208               Gas           Gov. Aggregation
COH             174667360013                Gas           Gov. Aggregation   DEO             6180009715878               Gas           Gov. Aggregation
COH             137084290037                Gas           Gov. Aggregation   DEO             4180014629595               Gas           Gov. Aggregation
COH             111191420014                Gas           Gov. Aggregation   DEO             3180009779910               Gas           Gov. Aggregation
COH             126717650013                Gas           Gov. Aggregation   DEO             8180013108609               Gas           Gov. Aggregation
COH             151511940017                Gas           Gov. Aggregation   DEO             3180011047040               Gas           Gov. Aggregation
COH             111187820019                Gas           Gov. Aggregation   DEO             3180015428583               Gas           Gov. Aggregation
COH             111190030018                Gas           Gov. Aggregation   DEO             4180014059634               Gas           Gov. Aggregation
COH             166577670019                Gas           Gov. Aggregation   DEO             5180012820401               Gas           Gov. Aggregation
COH             159655350019                Gas           Gov. Aggregation   DEO             7180015279526               Gas           Gov. Aggregation
COH             161689260013                Gas           Gov. Aggregation   DEO             7180016289792               Gas           Gov. Aggregation
COH             157509610015                Gas           Gov. Aggregation   DEO             8180015073844               Gas           Gov. Aggregation
COH             196216500012                Gas           Gov. Aggregation   DEO             5500048981700               Gas           Gov. Aggregation
COH             126806040012                Gas           Gov. Aggregation   DEO             2500048295869               Gas           Gov. Aggregation
COH             172724500013                Gas           Gov. Aggregation   DEO             4500030051667               Gas           Gov. Aggregation
COH             138431040013                Gas           Gov. Aggregation   DEO             5500037942876               Gas           Gov. Aggregation
COH             137334720017                Gas           Gov. Aggregation   DEO             1500061363319               Gas           Gov. Aggregation
COH             199575720013                Gas           Gov. Aggregation   DEO             8500032592234               Gas           Gov. Aggregation
COH             199219140019                Gas           Gov. Aggregation   DEO             9422003237281               Gas           Gov. Aggregation
COH             199342700010                Gas           Gov. Aggregation   DEO             9500013634128               Gas           Gov. Aggregation
COH             153029180018                Gas           Gov. Aggregation   DEO             6500065651877               Gas           Gov. Aggregation
COH             146330250013                Gas           Gov. Aggregation   DEO             0140000070872               Gas           Gov. Aggregation
COH             166204140028                Gas           Gov. Aggregation   DEO             0420104506079               Gas           Gov. Aggregation
COH             152614810015                Gas           Gov. Aggregation   DEO             0500009050389               Gas           Gov. Aggregation
COH             147315420018                Gas           Gov. Aggregation   DEO             0500062951154               Gas           Gov. Aggregation
COH             129786330021                Gas           Gov. Aggregation   DEO             1500050388340               Gas           Gov. Aggregation
COH             196433880013                Gas           Gov. Aggregation   DEO             1500052473253               Gas           Gov. Aggregation
COH             198270850013                Gas           Gov. Aggregation   DEO             2500045285106               Gas           Gov. Aggregation
COH             136959840028                Gas           Gov. Aggregation   DEO             2500047154882               Gas           Gov. Aggregation
COH             146305320011                Gas           Gov. Aggregation   DEO             2500047154971               Gas           Gov. Aggregation
COH             187300870017                Gas           Gov. Aggregation   DEO             2500053049145               Gas           Gov. Aggregation
COH             155321680011                Gas           Gov. Aggregation   DEO             2500053795705               Gas           Gov. Aggregation
COH             153512470012                Gas           Gov. Aggregation   DEO             2500053807314               Gas           Gov. Aggregation
COH             191628280011                Gas           Gov. Aggregation   DEO             3422104045165               Gas           Gov. Aggregation
COH             163821760014                Gas           Gov. Aggregation   DEO             3500007261904               Gas           Gov. Aggregation
COH             195931780019                Gas           Gov. Aggregation   DEO             3500010517992               Gas           Gov. Aggregation
COH             172166130015                Gas           Gov. Aggregation   DEO             3500015432714               Gas           Gov. Aggregation
COH             199314930011                Gas           Gov. Aggregation   DEO             3500045627170               Gas           Gov. Aggregation
COH             164353510018                Gas           Gov. Aggregation   DEO             3500047335309               Gas           Gov. Aggregation
COH             158757030011                Gas           Gov. Aggregation   DEO             3500048984478               Gas           Gov. Aggregation
COH             169980890015                Gas           Gov. Aggregation   DEO             3500062131707               Gas           Gov. Aggregation
COH             165034050010                Gas           Gov. Aggregation   DEO             4500042115602               Gas           Gov. Aggregation
COH             149974530026                Gas           Gov. Aggregation   DEO             4500042168616               Gas           Gov. Aggregation
COH             199554630016                Gas           Gov. Aggregation   DEO             4500042938043               Gas           Gov. Aggregation
COH             165702850015                Gas           Gov. Aggregation   DEO             4500043711944               Gas           Gov. Aggregation
COH             199752490016                Gas           Gov. Aggregation   DEO             4500045611382               Gas           Gov. Aggregation
COH             194285310046                Gas           Gov. Aggregation   DEO             4500052673552               Gas           Gov. Aggregation
COH             191181400013                Gas           Gov. Aggregation   DEO             4500054671425               Gas           Gov. Aggregation
COH             111147730021                Gas           Gov. Aggregation   DEO             4500061150148               Gas           Gov. Aggregation
COH             199711970011                Gas           Gov. Aggregation   DEO             5420100225359               Gas           Gov. Aggregation
COH             141077470010                Gas           Gov. Aggregation   DEO             5420103704259               Gas           Gov. Aggregation
COH             131800720014                Gas           Gov. Aggregation   DEO             5422106267302               Gas           Gov. Aggregation
COH             200087250013                Gas           Gov. Aggregation   DEO             5422106368026               Gas           Gov. Aggregation
COH             111189890011                Gas           Gov. Aggregation   DEO             5500008886117               Gas           Gov. Aggregation
COH             145954560017                Gas           Gov. Aggregation   DEO             5500064356331               Gas           Gov. Aggregation
COH             144614710016                Gas           Gov. Aggregation   DEO             6500049453337               Gas           Gov. Aggregation
COH             158487600014                Gas           Gov. Aggregation   DEO             6500050483790               Gas           Gov. Aggregation
COH             199393420012                Gas           Gov. Aggregation   DEO             6500052885545               Gas           Gov. Aggregation
COH             169407480015                Gas           Gov. Aggregation   DEO             6500053952569               Gas           Gov. Aggregation
COH             111193200016                Gas           Gov. Aggregation   DEO             6500065990376               Gas           Gov. Aggregation
COH             174371400011                Gas           Gov. Aggregation   DEO             7420105210074               Gas           Gov. Aggregation
COH             175334710013                Gas           Gov. Aggregation   DEO             7422100770871               Gas           Gov. Aggregation
COH             192790740010                Gas           Gov. Aggregation   DEO             7422104789883               Gas           Gov. Aggregation
COH             175989980010                Gas           Gov. Aggregation   DEO             7500024783617               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             111143150021                Gas           Gov. Aggregation   DEO             7500029923535               Gas           Gov. Aggregation
COH             111190630012                Gas           Gov. Aggregation   DEO             7500036382213               Gas           Gov. Aggregation
COH             199578320011                Gas           Gov. Aggregation   DEO             7500061234642               Gas           Gov. Aggregation
COH             194901590022                Gas           Gov. Aggregation   DEO             8120000080186               Gas           Gov. Aggregation
COH             199955590015                Gas           Gov. Aggregation   DEO             8420100900462               Gas           Gov. Aggregation
COH             146247940015                Gas           Gov. Aggregation   DEO             8500021255756               Gas           Gov. Aggregation
COH             176234590038                Gas           Gov. Aggregation   DEO             8500023734512               Gas           Gov. Aggregation
COH             200102580010                Gas           Gov. Aggregation   DEO             8500029973699               Gas           Gov. Aggregation
COH             199087210015                Gas           Gov. Aggregation   DEO             8500030708353               Gas           Gov. Aggregation
COH             200002820011                Gas           Gov. Aggregation   DEO             8500053423768               Gas           Gov. Aggregation
COH             197840280015                Gas           Gov. Aggregation   DEO             8500062742106               Gas           Gov. Aggregation
COH             192691940018                Gas           Gov. Aggregation   DEO             8500063431844               Gas           Gov. Aggregation
COH             199064460011                Gas           Gov. Aggregation   DEO             8500064565862               Gas           Gov. Aggregation
COH             145622510010                Gas           Gov. Aggregation   DEO             8500065868651               Gas           Gov. Aggregation
COH             111189450022                Gas           Gov. Aggregation   DEO             9422006370052               Gas           Gov. Aggregation
COH             140927050016                Gas           Gov. Aggregation   DEO             9422100693791               Gas           Gov. Aggregation
COH             156262960017                Gas           Gov. Aggregation   DEO             9422102098994               Gas           Gov. Aggregation
COH             193518770028                Gas           Gov. Aggregation   DEO             9500064283369               Gas           Gov. Aggregation
COH             199679510017                Gas           Gov. Aggregation   DEO             4500032410839               Gas           Gov. Aggregation
COH             194769070014                Gas           Gov. Aggregation   DEO             2180001397178               Gas           Gov. Aggregation
COH             146898690019                Gas           Gov. Aggregation   DEO             6180005976221               Gas           Gov. Aggregation
COH             170571290015                Gas           Gov. Aggregation   COH             108668030010                Gas           Gov. Aggregation
COH             190273830019                Gas           Gov. Aggregation   COH             108679460017                Gas           Gov. Aggregation
COH             156181350053                Gas           Gov. Aggregation   COH             108680270023                Gas           Gov. Aggregation
COH             171601030013                Gas           Gov. Aggregation   COH             108681820016                Gas           Gov. Aggregation
COH             111148530030                Gas           Gov. Aggregation   COH             108682280036                Gas           Gov. Aggregation
COH             199498840012                Gas           Gov. Aggregation   COH             108688440021                Gas           Gov. Aggregation
COH             140938540010                Gas           Gov. Aggregation   COH             108689800014                Gas           Gov. Aggregation
COH             163859730011                Gas           Gov. Aggregation   COH             207476060011                Gas           Gov. Aggregation
COH             194365200012                Gas           Gov. Aggregation   COH             207824610016                Gas           Gov. Aggregation
COH             198330260019                Gas           Gov. Aggregation   COH             207773470015                Gas           Gov. Aggregation
COH             198564410012                Gas           Gov. Aggregation   COH             206888620011                Gas           Gov. Aggregation
COH             132853580021                Gas           Gov. Aggregation   COH             208943030015                Gas           Gov. Aggregation
COH             149484680015                Gas           Gov. Aggregation   COH             208655230014                Gas           Gov. Aggregation
COH             174715160021                Gas           Gov. Aggregation   COH             198125480027                Gas           Gov. Aggregation
COH             199635540013                Gas           Gov. Aggregation   COH             202991460038                Gas           Gov. Aggregation
COH             191234000014                Gas           Gov. Aggregation   COH             198440130022                Gas           Gov. Aggregation
COH             144941700015                Gas           Gov. Aggregation   COH             208655230032                Gas           Gov. Aggregation
COH             188421480012                Gas           Gov. Aggregation   COH             205088420010                Gas           Gov. Aggregation
COH             195244420011                Gas           Gov. Aggregation   VEDO            4003080492303535            Gas           Gov. Aggregation
COH             187772900020                Gas           Gov. Aggregation   COH             123733270012                Gas           Gov. Aggregation
COH             167204280019                Gas           Gov. Aggregation   VEDO            4019791622424396            Gas           Gov. Aggregation
COH             153469620013                Gas           Gov. Aggregation   VEDO            4021462692269305            Gas           Gov. Aggregation
COH             156721070010                Gas           Gov. Aggregation   VEDO            4021540682391843            Gas           Gov. Aggregation
COH             201772200019                Gas           Gov. Aggregation   VEDO            4018918292299473            Gas           Gov. Aggregation
COH             200729100012                Gas           Gov. Aggregation   VEDO            4021486132390255            Gas           Gov. Aggregation
COH             202259560011                Gas           Gov. Aggregation   VEDO            4021480862673557            Gas           Gov. Aggregation
COH             202293660018                Gas           Gov. Aggregation   VEDO            4021442412241524            Gas           Gov. Aggregation
COH             188784310028                Gas           Gov. Aggregation   VEDO            4003150552404044            Gas           Gov. Aggregation
COH             201240610074                Gas           Gov. Aggregation   VEDO            4017591932410330            Gas           Gov. Aggregation
COH             201781200010                Gas           Gov. Aggregation   VEDO            4020875452341241            Gas           Gov. Aggregation
COH             201803600018                Gas           Gov. Aggregation   VEDO            4004417512416454            Gas           Gov. Aggregation
COH             201744730017                Gas           Gov. Aggregation   VEDO            4001423892592140            Gas           Gov. Aggregation
COH             200705560016                Gas           Gov. Aggregation   VEDO            4021524842592145            Gas           Gov. Aggregation
COH             201240610038                Gas           Gov. Aggregation   VEDO            4021548972592147            Gas           Gov. Aggregation
COH             131646120027                Gas           Gov. Aggregation   VEDO            4021542702592135            Gas           Gov. Aggregation
COH             201097280015                Gas           Gov. Aggregation   VEDO            4021486142592130            Gas           Gov. Aggregation
COH             200259530019                Gas           Gov. Aggregation   VEDO            4021492442592134            Gas           Gov. Aggregation
COH             199074260012                Gas           Gov. Aggregation   VEDO            4004707982432213            Gas           Gov. Aggregation
COH             168478990010                Gas           Gov. Aggregation   VEDO            4016982062445859            Gas           Gov. Aggregation
COH             142025000016                Gas           Gov. Aggregation   VEDO            4017917362320824            Gas           Gov. Aggregation
COH             148686650023                Gas           Gov. Aggregation   VEDO            4021492912364529            Gas           Gov. Aggregation
COH             143702920016                Gas           Gov. Aggregation   VEDO            4002914872598463            Gas           Gov. Aggregation
COH             160557470019                Gas           Gov. Aggregation   VEDO            4021536162584172            Gas           Gov. Aggregation
COH             111146970014                Gas           Gov. Aggregation   VEDO            4021568742598465            Gas           Gov. Aggregation
COH             111189920014                Gas           Gov. Aggregation   VEDO            4016652962598515            Gas           Gov. Aggregation
COH             147959380013                Gas           Gov. Aggregation   VEDO            4021440042598512            Gas           Gov. Aggregation
COH             169104450013                Gas           Gov. Aggregation   VEDO            4021544602598516            Gas           Gov. Aggregation
COH             150528630018                Gas           Gov. Aggregation   VEDO            4020291912587288            Gas           Gov. Aggregation
COH             166796910014                Gas           Gov. Aggregation   VEDO            4021493792156960            Gas           Gov. Aggregation
COH             131188820013                Gas           Gov. Aggregation   VEDO            4004693652487512            Gas           Gov. Aggregation
COH             189601280011                Gas           Gov. Aggregation   VEDO            4003224232342921            Gas           Gov. Aggregation
COH             145765690011                Gas           Gov. Aggregation   VEDO            4021492832135075            Gas           Gov. Aggregation
COH             139741410017                Gas           Gov. Aggregation   VEDO            4021616312156361            Gas           Gov. Aggregation
COH             111191000012                Gas           Gov. Aggregation   VEDO            4021431442343212            Gas           Gov. Aggregation
COH             134313560027                Gas           Gov. Aggregation   VEDO            4021519152182709            Gas           Gov. Aggregation
COH             161405030011                Gas           Gov. Aggregation   VEDO            4021463692274874            Gas           Gov. Aggregation
COH             134373810019                Gas           Gov. Aggregation   VEDO            4021554012201496            Gas           Gov. Aggregation
COH             143829980016                Gas           Gov. Aggregation   VEDO            4020290852361376            Gas           Gov. Aggregation
COH             144889500019                Gas           Gov. Aggregation   VEDO            4021562202617646            Gas           Gov. Aggregation
COH             133324840017                Gas           Gov. Aggregation   VEDO            4021476982617655            Gas           Gov. Aggregation
COH             155896710017                Gas           Gov. Aggregation   VEDO            4021507882617649            Gas           Gov. Aggregation
COH             111191760013                Gas           Gov. Aggregation   VEDO            4021432112625631            Gas           Gov. Aggregation
COH             141346330018                Gas           Gov. Aggregation   VEDO            4021551222625627            Gas           Gov. Aggregation
COH             111190800016                Gas           Gov. Aggregation   VEDO            4021555842584166            Gas           Gov. Aggregation
COH             169281170027                Gas           Gov. Aggregation   VEDO            4021510672625625            Gas           Gov. Aggregation
COH             200011190015                Gas           Gov. Aggregation   VEDO            4021530392624123            Gas           Gov. Aggregation
COH             177027940078                Gas           Gov. Aggregation   VEDO            4021541152624122            Gas           Gov. Aggregation
COH             201503590017                Gas           Gov. Aggregation   VEDO            4021527582626441            Gas           Gov. Aggregation
COH             202336060012                Gas           Gov. Aggregation   VEDO            4021565662626446            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             203791700012                Gas           Gov. Aggregation   VEDO         4002936742587270            Gas           Gov. Aggregation
COH             153250990028                Gas           Gov. Aggregation   VEDO         4018866122587277            Gas           Gov. Aggregation
COH             166575760032                Gas           Gov. Aggregation   VEDO         4021466852587271            Gas           Gov. Aggregation
COH             200718200014                Gas           Gov. Aggregation   VEDO         4021241562584171            Gas           Gov. Aggregation
COH             201750410011                Gas           Gov. Aggregation   VEDO         4020853362587253            Gas           Gov. Aggregation
COH             202999160017                Gas           Gov. Aggregation   VEDO         4021535122587260            Gas           Gov. Aggregation
COH             174648230038                Gas           Gov. Aggregation   VEDO         4003815662611344            Gas           Gov. Aggregation
COH             200111170017                Gas           Gov. Aggregation   VEDO         4002883442611350            Gas           Gov. Aggregation
COH             187944080037                Gas           Gov. Aggregation   VEDO         4021458612611349            Gas           Gov. Aggregation
COH             185985060028                Gas           Gov. Aggregation   VEDO         4021204592584153            Gas           Gov. Aggregation
COH             204089430017                Gas           Gov. Aggregation   VEDO         4018507692611360            Gas           Gov. Aggregation
COH             203072780010                Gas           Gov. Aggregation   VEDO         4021281372611367            Gas           Gov. Aggregation
COH             200573570033                Gas           Gov. Aggregation   VEDO         4021515492611361            Gas           Gov. Aggregation
COH             199096910028                Gas           Gov. Aggregation   VEDO         4017786982355195            Gas           Gov. Aggregation
COH             200382150018                Gas           Gov. Aggregation   VEDO         4004251812343695            Gas           Gov. Aggregation
COH             201958470019                Gas           Gov. Aggregation   VEDO         4020238542410933            Gas           Gov. Aggregation
COH             140323970013                Gas           Gov. Aggregation   VEDO         4021610182494063            Gas           Gov. Aggregation
COH             188651490022                Gas           Gov. Aggregation   VEDO         4021596092423833            Gas           Gov. Aggregation
COH             152466740042                Gas           Gov. Aggregation   VEDO         4017984812503696            Gas           Gov. Aggregation
COH             117556630029                Gas           Gov. Aggregation   VEDO         4019247082134771            Gas           Gov. Aggregation
COH             139051590013                Gas           Gov. Aggregation   VEDO         4021549472266128            Gas           Gov. Aggregation
COH             196281420012                Gas           Gov. Aggregation   VEDO         4021552402330155            Gas           Gov. Aggregation
COH             111162900023                Gas           Gov. Aggregation   VEDO         4021453982629594            Gas           Gov. Aggregation
COH             111162900014                Gas           Gov. Aggregation   VEDO         4015983362300783            Gas           Gov. Aggregation
DEO             1180007485590               Gas           Gov. Aggregation   VEDO         4020874672199966            Gas           Gov. Aggregation
DEO             6180007546252               Gas           Gov. Aggregation   VEDO         4021428942313291            Gas           Gov. Aggregation
COH             140552880017                Gas           Gov. Aggregation   VEDO         4021560212301414            Gas           Gov. Aggregation
COH             204451310013                Gas           Gov. Aggregation   VEDO         4021616092345284            Gas           Gov. Aggregation
COH             197939440030                Gas           Gov. Aggregation   VEDO         4017682182178986            Gas           Gov. Aggregation
DEO             4180007673527               Gas           Gov. Aggregation   VEDO         4021585352101958            Gas           Gov. Aggregation
DEO             7180007553620               Gas           Gov. Aggregation   VEDO         4021017002169926            Gas           Gov. Aggregation
DEO             3180001210307               Gas           Gov. Aggregation   VEDO         4005037382144271            Gas           Gov. Aggregation
COH             111050210016                Gas           Gov. Aggregation   VEDO         4018782492359803            Gas           Gov. Aggregation
COH             111051310031                Gas           Gov. Aggregation   VEDO         4021484522397092            Gas           Gov. Aggregation
COH             204521120014                Gas           Gov. Aggregation   VEDO         4021595292176292            Gas           Gov. Aggregation
COH             111193430027                Gas           Gov. Aggregation   VEDO         4021588162276653            Gas           Gov. Aggregation
COH             204570570017                Gas           Gov. Aggregation   VEDO         4021552342213619            Gas           Gov. Aggregation
COH             115790510066                Gas           Gov. Aggregation   VEDO         4004805342350945            Gas           Gov. Aggregation
COH             192490760021                Gas           Gov. Aggregation   VEDO         4017092842509384            Gas           Gov. Aggregation
COH             130764210029                Gas           Gov. Aggregation   VEDO         4021433552676560            Gas           Gov. Aggregation
COH             149475890047                Gas           Gov. Aggregation   VEDO         4021597752677435            Gas           Gov. Aggregation
COH             161666620168                Gas           Gov. Aggregation   VEDO         4021470922676364            Gas           Gov. Aggregation
COH             191046840026                Gas           Gov. Aggregation   VEDO         4021065722675820            Gas           Gov. Aggregation
COH             201557800019                Gas           Gov. Aggregation   VEDO         4021482902380289            Gas           Gov. Aggregation
COH             203734780016                Gas           Gov. Aggregation   VEDO         4021619622537794            Gas           Gov. Aggregation
COH             204187490017                Gas           Gov. Aggregation   VEDO         4018974812529623            Gas           Gov. Aggregation
COH             201314980016                Gas           Gov. Aggregation   VEDO         4021521902537814            Gas           Gov. Aggregation
COH             201117060017                Gas           Gov. Aggregation   VEDO         4021524032425789            Gas           Gov. Aggregation
COH             201865600018                Gas           Gov. Aggregation   VEDO         4021572232314391            Gas           Gov. Aggregation
COH             202690720013                Gas           Gov. Aggregation   VEDO         4020004022310185            Gas           Gov. Aggregation
COH             201277540018                Gas           Gov. Aggregation   VEDO         4018455622231619            Gas           Gov. Aggregation
COH             201350600019                Gas           Gov. Aggregation   VEDO         4021548782417847            Gas           Gov. Aggregation
COH             115144520027                Gas           Gov. Aggregation   VEDO         4021546782359903            Gas           Gov. Aggregation
COH             189317930071                Gas           Gov. Aggregation   VEDO         4019099862583700            Gas           Gov. Aggregation
COH             190527280025                Gas           Gov. Aggregation   VEDO         4019825752305266            Gas           Gov. Aggregation
COH             190701960031                Gas           Gov. Aggregation   VEDO         4019487012246507            Gas           Gov. Aggregation
COH             171452410029                Gas           Gov. Aggregation   VEDO         4021619112671499            Gas           Gov. Aggregation
COH             200194910017                Gas           Gov. Aggregation   VEDO         4021603582617974            Gas           Gov. Aggregation
COH             198303350026                Gas           Gov. Aggregation   VEDO         4021558912492241            Gas           Gov. Aggregation
COH             202205320014                Gas           Gov. Aggregation   VEDO         4020128222444125            Gas           Gov. Aggregation
COH             201658030017                Gas           Gov. Aggregation   VEDO         4020223622397363            Gas           Gov. Aggregation
COH             201658040024                Gas           Gov. Aggregation   VEDO         4021520902482642            Gas           Gov. Aggregation
COH             201797420011                Gas           Gov. Aggregation   VEDO         4018606952249782            Gas           Gov. Aggregation
COH             201397220011                Gas           Gov. Aggregation   VEDO         4020260922648657            Gas           Gov. Aggregation
COH             201487680014                Gas           Gov. Aggregation   VEDO         4019280322251682            Gas           Gov. Aggregation
COH             203242610014                Gas           Gov. Aggregation   VEDO         4002072492350596            Gas           Gov. Aggregation
COH             204037470018                Gas           Gov. Aggregation   VEDO         4019747192549550            Gas           Gov. Aggregation
COH             204090840018                Gas           Gov. Aggregation   VEDO         4021566802480122            Gas           Gov. Aggregation
COH             172832310050                Gas           Gov. Aggregation   VEDO         4018843582474354            Gas           Gov. Aggregation
COH             186680160068                Gas           Gov. Aggregation   VEDO         4021035162106339            Gas           Gov. Aggregation
COH             132504440029                Gas           Gov. Aggregation   VEDO         4002469272407486            Gas           Gov. Aggregation
COH             118738660035                Gas           Gov. Aggregation   VEDO         4021491832203374            Gas           Gov. Aggregation
COH             160832110029                Gas           Gov. Aggregation   VEDO         4019914452492265            Gas           Gov. Aggregation
COH             142944100026                Gas           Gov. Aggregation   VEDO         4015615062428047            Gas           Gov. Aggregation
COH             194724180015                Gas           Gov. Aggregation   VEDO         4019522172186357            Gas           Gov. Aggregation
COH             111088530047                Gas           Gov. Aggregation   VEDO         4021464792513798            Gas           Gov. Aggregation
DEO             1180007788865               Gas           Gov. Aggregation   VEDO         4017009032529020            Gas           Gov. Aggregation
DEO             7180007821514               Gas           Gov. Aggregation   VEDO         4018415592284368            Gas           Gov. Aggregation
COH             117215410054                Gas           Gov. Aggregation   VEDO         4021447252529023            Gas           Gov. Aggregation
DEO             6180007423904               Gas           Gov. Aggregation   VEDO         4020839572561760            Gas           Gov. Aggregation
DEO             4180007144406               Gas           Gov. Aggregation   VEDO         4021047762549552            Gas           Gov. Aggregation
DEO             0180007590819               Gas           Gov. Aggregation   VEDO         4020313982365290            Gas           Gov. Aggregation
DEO             6180004885635               Gas           Gov. Aggregation   VEDO         4019304582506102            Gas           Gov. Aggregation
DEO             2180004947367               Gas           Gov. Aggregation   VEDO         4020017002243281            Gas           Gov. Aggregation
DEO             3180005661378               Gas           Gov. Aggregation   VEDO         4019132882235956            Gas           Gov. Aggregation
DEO             8500049172987               Gas           Gov. Aggregation   VEDO         4015813582182378            Gas           Gov. Aggregation
DEO             2180007229652               Gas           Gov. Aggregation   VEDO         4021491322321109            Gas           Gov. Aggregation
DEO             1180006521823               Gas           Gov. Aggregation   VEDO         4015790682262473            Gas           Gov. Aggregation
DEO             6180004916522               Gas           Gov. Aggregation   VEDO         4018515932450561            Gas           Gov. Aggregation
DEO             5180006725663               Gas           Gov. Aggregation   VEDO         4019112852627302            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
DEO             4180005588686               Gas           Gov. Aggregation   VEDO         4017090012358967            Gas           Gov. Aggregation
DEO             6180005467447               Gas           Gov. Aggregation   VEDO         4021441532582902            Gas           Gov. Aggregation
DEO             6180006068186               Gas           Gov. Aggregation   VEDO         4021590442582906            Gas           Gov. Aggregation
DEO             3180005134872               Gas           Gov. Aggregation   VEDO         4019278862158500            Gas           Gov. Aggregation
DEO             1180007697116               Gas           Gov. Aggregation   VEDO         4021504962507998            Gas           Gov. Aggregation
DEO             2180006991073               Gas           Gov. Aggregation   VEDO         4021596922590274            Gas           Gov. Aggregation
DEO             0180005675277               Gas           Gov. Aggregation   VEDO         4016464742555692            Gas           Gov. Aggregation
DEO             3180005294515               Gas           Gov. Aggregation   VEDO         4021416092216035            Gas           Gov. Aggregation
DEO             8180005620632               Gas           Gov. Aggregation   VEDO         4019324112397465            Gas           Gov. Aggregation
DEO             9180006730775               Gas           Gov. Aggregation   VEDO         4021590642471781            Gas           Gov. Aggregation
DEO             7180000832570               Gas           Gov. Aggregation   VEDO         4001653932478107            Gas           Gov. Aggregation
DEO             7180007814569               Gas           Gov. Aggregation   VEDO         4021566232205615            Gas           Gov. Aggregation
DEO             7180006344402               Gas           Gov. Aggregation   VEDO         4004848422482878            Gas           Gov. Aggregation
DEO             5180005356696               Gas           Gov. Aggregation   VEDO         4021462872517831            Gas           Gov. Aggregation
DEO             0180004942260               Gas           Gov. Aggregation   VEDO         4021502562282755            Gas           Gov. Aggregation
DEO             0180007695407               Gas           Gov. Aggregation   VEDO         4019822002131155            Gas           Gov. Aggregation
DEO             1180007677756               Gas           Gov. Aggregation   VEDO         4021594172424554            Gas           Gov. Aggregation
DEO             8180006631487               Gas           Gov. Aggregation   VEDO         4019956202193582            Gas           Gov. Aggregation
DEO             6180007220421               Gas           Gov. Aggregation   VEDO         4021519392182598            Gas           Gov. Aggregation
DEO             6180005557869               Gas           Gov. Aggregation   VEDO         4021216832134209            Gas           Gov. Aggregation
DEO             8120000166096               Gas           Gov. Aggregation   VEDO         4021477542475390            Gas           Gov. Aggregation
DEO             7180006226832               Gas           Gov. Aggregation   VEDO         4001378702233964            Gas           Gov. Aggregation
DEO             3500046357813               Gas           Gov. Aggregation   VEDO         4021433492393772            Gas           Gov. Aggregation
DEO             4180007097600               Gas           Gov. Aggregation   VEDO         4021571102399548            Gas           Gov. Aggregation
DEO             4180006032083               Gas           Gov. Aggregation   VEDO         4021571822444534            Gas           Gov. Aggregation
DEO             5180005275543               Gas           Gov. Aggregation   VEDO         4021549882526149            Gas           Gov. Aggregation
DEO             8180006541277               Gas           Gov. Aggregation   VEDO         4004038822203989            Gas           Gov. Aggregation
DEO             9180007325959               Gas           Gov. Aggregation   VEDO         4018321882348452            Gas           Gov. Aggregation
DEO             0180007013955               Gas           Gov. Aggregation   VEDO         4021488472497231            Gas           Gov. Aggregation
DEO             0180007659113               Gas           Gov. Aggregation   VEDO         4021547322426966            Gas           Gov. Aggregation
DEO             5180005114799               Gas           Gov. Aggregation   VEDO         4018342432114635            Gas           Gov. Aggregation
DEO             5180005139359               Gas           Gov. Aggregation   VEDO         4021523302316726            Gas           Gov. Aggregation
DEO             4180004928131               Gas           Gov. Aggregation   VEDO         4004557832461742            Gas           Gov. Aggregation
DEO             9180007758654               Gas           Gov. Aggregation   VEDO         4021443072475217            Gas           Gov. Aggregation
DEO             6180006932189               Gas           Gov. Aggregation   VEDO         4018219592366860            Gas           Gov. Aggregation
DEO             9180007674397               Gas           Gov. Aggregation   VEDO         4017594172199314            Gas           Gov. Aggregation
DEO             8500064427974               Gas           Gov. Aggregation   VEDO         4021237102313449            Gas           Gov. Aggregation
DEO             8180006910645               Gas           Gov. Aggregation   VEDO         4021075522380988            Gas           Gov. Aggregation
DEO             4180005052253               Gas           Gov. Aggregation   VEDO         4017099762427184            Gas           Gov. Aggregation
DEO             3180007420197               Gas           Gov. Aggregation   VEDO         4018987762346035            Gas           Gov. Aggregation
DEO             4120000077101               Gas           Gov. Aggregation   VEDO         4021430872465848            Gas           Gov. Aggregation
DEO             7180006895176               Gas           Gov. Aggregation   VEDO         4018451712231648            Gas           Gov. Aggregation
DEO             4180006999356               Gas           Gov. Aggregation   VEDO         4021531632376315            Gas           Gov. Aggregation
DEO             5180006112021               Gas           Gov. Aggregation   VEDO         4018897552453519            Gas           Gov. Aggregation
DEO             7500067043976               Gas           Gov. Aggregation   VEDO         4021594982365778            Gas           Gov. Aggregation
DEO             4500060469941               Gas           Gov. Aggregation   VEDO         4003547692134207            Gas           Gov. Aggregation
DEO             4180007740784               Gas           Gov. Aggregation   VEDO         4018125482104878            Gas           Gov. Aggregation
DEO             0180007330712               Gas           Gov. Aggregation   VEDO         4016020792517785            Gas           Gov. Aggregation
DEO             2180006765496               Gas           Gov. Aggregation   VEDO         4021619232179025            Gas           Gov. Aggregation
DEO             8180006374603               Gas           Gov. Aggregation   VEDO         4019015222352202            Gas           Gov. Aggregation
DEO             6180003826816               Gas           Gov. Aggregation   VEDO         4021606712589306            Gas           Gov. Aggregation
DEO             5180006464090               Gas           Gov. Aggregation   VEDO         4018217502290763            Gas           Gov. Aggregation
DEO             3180006673243               Gas           Gov. Aggregation   VEDO         4021594912384821            Gas           Gov. Aggregation
DEO             3500067103768               Gas           Gov. Aggregation   VEDO         4018279612142766            Gas           Gov. Aggregation
DEO             3500067103594               Gas           Gov. Aggregation   VEDO         4021466962411427            Gas           Gov. Aggregation
DEO             3180007659260               Gas           Gov. Aggregation   VEDO         4003786882294603            Gas           Gov. Aggregation
DEO             3180006999290               Gas           Gov. Aggregation   VEDO         4003991822313043            Gas           Gov. Aggregation
DEO             1180007720872               Gas           Gov. Aggregation   VEDO         4021442332359509            Gas           Gov. Aggregation
DEO             1180006010866               Gas           Gov. Aggregation   VEDO         4016152952374470            Gas           Gov. Aggregation
DEO             4180006789157               Gas           Gov. Aggregation   VEDO         4004411732644910            Gas           Gov. Aggregation
DEO             5180007865845               Gas           Gov. Aggregation   VEDO         4021501202488906            Gas           Gov. Aggregation
DEO             9180005380451               Gas           Gov. Aggregation   VEDO         4021491802436291            Gas           Gov. Aggregation
DEO             2180005792409               Gas           Gov. Aggregation   VEDO         4018037922252346            Gas           Gov. Aggregation
DEO             2180007234368               Gas           Gov. Aggregation   VEDO         4019171302243891            Gas           Gov. Aggregation
DEO             9180004829062               Gas           Gov. Aggregation   VEDO         4021602722197690            Gas           Gov. Aggregation
DEO             0180006997222               Gas           Gov. Aggregation   VEDO         4021535432211307            Gas           Gov. Aggregation
DEO             0180007241171               Gas           Gov. Aggregation   VEDO         4001828692363764            Gas           Gov. Aggregation
DEO             5180007334522               Gas           Gov. Aggregation   VEDO         4001133992102381            Gas           Gov. Aggregation
DEO             4180005020822               Gas           Gov. Aggregation   VEDO         4019865812428121            Gas           Gov. Aggregation
DEO             1180006561873               Gas           Gov. Aggregation   VEDO         4021462122498582            Gas           Gov. Aggregation
DEO             1180007322784               Gas           Gov. Aggregation   VEDO         4021428042505361            Gas           Gov. Aggregation
DEO             0180007510387               Gas           Gov. Aggregation   VEDO         4016283552429362            Gas           Gov. Aggregation
DEO             1180006098242               Gas           Gov. Aggregation   VEDO         4021449202110357            Gas           Gov. Aggregation
DEO             1180005231810               Gas           Gov. Aggregation   VEDO         4019899602349242            Gas           Gov. Aggregation
DEO             3180006690103               Gas           Gov. Aggregation   VEDO         4002736892105525            Gas           Gov. Aggregation
DEO             6180005469123               Gas           Gov. Aggregation   VEDO         4018902502455257            Gas           Gov. Aggregation
DEO             6180006364275               Gas           Gov. Aggregation   VEDO         4018745922309133            Gas           Gov. Aggregation
DEO             6180007469856               Gas           Gov. Aggregation   VEDO         4021541812200289            Gas           Gov. Aggregation
DEO             5180007857206               Gas           Gov. Aggregation   VEDO         4021574242261433            Gas           Gov. Aggregation
DEO             5421004516220               Gas           Gov. Aggregation   VEDO         4020940162289990            Gas           Gov. Aggregation
DEO             0180007525238               Gas           Gov. Aggregation   VEDO         4019370842332117            Gas           Gov. Aggregation
DEO             0180005289526               Gas           Gov. Aggregation   VEDO         4018920762294800            Gas           Gov. Aggregation
DEO             4180007059964               Gas           Gov. Aggregation   VEDO         4021167232125162            Gas           Gov. Aggregation
DEO             1180006813557               Gas           Gov. Aggregation   VEDO         4019461592479814            Gas           Gov. Aggregation
DEO             1180006503444               Gas           Gov. Aggregation   VEDO         4003224582117259            Gas           Gov. Aggregation
DEO             4180007730671               Gas           Gov. Aggregation   VEDO         4021587172199639            Gas           Gov. Aggregation
DEO             9180006350253               Gas           Gov. Aggregation   VEDO         4002408522287518            Gas           Gov. Aggregation
DEO             7180007075861               Gas           Gov. Aggregation   VEDO         4021580392280985            Gas           Gov. Aggregation
DEO             6421004167997               Gas           Gov. Aggregation   VEDO         4017137482413979            Gas           Gov. Aggregation
DEO             7180006650037               Gas           Gov. Aggregation   VEDO         4018483082209115            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
DEO             5180007944673               Gas           Gov. Aggregation   VEDO         4021454782396992            Gas           Gov. Aggregation
DEO             6180007568218               Gas           Gov. Aggregation   VEDO         4016924902250069            Gas           Gov. Aggregation
DEO             6180007208830               Gas           Gov. Aggregation   VEDO         4021565292211207            Gas           Gov. Aggregation
DEO             9180007627969               Gas           Gov. Aggregation   VEDO         4015716652527214            Gas           Gov. Aggregation
DEO             6180006586769               Gas           Gov. Aggregation   VEDO         4020054612369442            Gas           Gov. Aggregation
DEO             1180005028587               Gas           Gov. Aggregation   VEDO         4015550112129292            Gas           Gov. Aggregation
DEO             0180006799272               Gas           Gov. Aggregation   VEDO         4004519852118039            Gas           Gov. Aggregation
DEO             4180005700353               Gas           Gov. Aggregation   VEDO         4021485852451681            Gas           Gov. Aggregation
DEO             4180006664256               Gas           Gov. Aggregation   VEDO         4015458802401991            Gas           Gov. Aggregation
DEO             3180006684095               Gas           Gov. Aggregation   VEDO         4021601502262907            Gas           Gov. Aggregation
DEO             9180007733441               Gas           Gov. Aggregation   VEDO         4021468582283695            Gas           Gov. Aggregation
DEO             9180007082432               Gas           Gov. Aggregation   VEDO         4021606332280996            Gas           Gov. Aggregation
DEO             9180007321166               Gas           Gov. Aggregation   VEDO         4021561752354073            Gas           Gov. Aggregation
DEO             7180006376773               Gas           Gov. Aggregation   VEDO         4021502902302880            Gas           Gov. Aggregation
DEO             6180007313535               Gas           Gov. Aggregation   VEDO         4021585242411007            Gas           Gov. Aggregation
DEO             5180005017774               Gas           Gov. Aggregation   VEDO         4021584062218695            Gas           Gov. Aggregation
DEO             3500065016391               Gas           Gov. Aggregation   VEDO         4001349502270073            Gas           Gov. Aggregation
DEO             7180005271793               Gas           Gov. Aggregation   VEDO         4003050232211593            Gas           Gov. Aggregation
DEO             5180007715337               Gas           Gov. Aggregation   VEDO         4021514552508518            Gas           Gov. Aggregation
DEO             5180006592689               Gas           Gov. Aggregation   VEDO         4021569932460998            Gas           Gov. Aggregation
DEO             9180007704896               Gas           Gov. Aggregation   VEDO         4019782282156859            Gas           Gov. Aggregation
DEO             8180007153256               Gas           Gov. Aggregation   VEDO         4021465232498956            Gas           Gov. Aggregation
DEO             8180005616210               Gas           Gov. Aggregation   VEDO         4021219332272076            Gas           Gov. Aggregation
DEO             2180006636350               Gas           Gov. Aggregation   VEDO         4001786512226912            Gas           Gov. Aggregation
DEO             2180007168743               Gas           Gov. Aggregation   VEDO         4021543982143799            Gas           Gov. Aggregation
DEO             1180005268205               Gas           Gov. Aggregation   VEDO         4001923712400195            Gas           Gov. Aggregation
DEO             8180007346359               Gas           Gov. Aggregation   VEDO         4020911682470017            Gas           Gov. Aggregation
DEO             0180007887391               Gas           Gov. Aggregation   VEDO         4021537542229047            Gas           Gov. Aggregation
DEO             4180007541366               Gas           Gov. Aggregation   VEDO         4019502752426651            Gas           Gov. Aggregation
DEO             4180006729874               Gas           Gov. Aggregation   VEDO         4021447952199530            Gas           Gov. Aggregation
DEO             4180007047415               Gas           Gov. Aggregation   VEDO         4004401442466363            Gas           Gov. Aggregation
COH             117064260039                Gas           Gov. Aggregation   VEDO         4017602442139936            Gas           Gov. Aggregation
COH             159297090014                Gas           Gov. Aggregation   VEDO         4002503302106338            Gas           Gov. Aggregation
VEDO            4003005402295857            Gas           Gov. Aggregation   VEDO         4021590582425249            Gas           Gov. Aggregation
DEO             5180007869648               Gas           Gov. Aggregation   VEDO         4019283392183025            Gas           Gov. Aggregation
DEO             3180007966056               Gas           Gov. Aggregation   VEDO         4020235582245644            Gas           Gov. Aggregation
DEO             9180007740344               Gas           Gov. Aggregation   VEDO         4001062942308241            Gas           Gov. Aggregation
COH             176605360048                Gas           Gov. Aggregation   VEDO         4020943262121510            Gas           Gov. Aggregation
COH             189292510019                Gas           Gov. Aggregation   VEDO         4015884352116022            Gas           Gov. Aggregation
COH             204584280019                Gas           Gov. Aggregation   VEDO         4021608012346392            Gas           Gov. Aggregation
COH             203385980015                Gas           Gov. Aggregation   VEDO         4021456922359465            Gas           Gov. Aggregation
COH             203020620012                Gas           Gov. Aggregation   VEDO         4019742202311325            Gas           Gov. Aggregation
COH             201952670019                Gas           Gov. Aggregation   VEDO         4018563902381410            Gas           Gov. Aggregation
COH             195973400047                Gas           Gov. Aggregation   VEDO         4003687952300583            Gas           Gov. Aggregation
COH             203997290013                Gas           Gov. Aggregation   VEDO         4017612632198656            Gas           Gov. Aggregation
COH             203841540019                Gas           Gov. Aggregation   VEDO         4020943082222124            Gas           Gov. Aggregation
COH             204351430010                Gas           Gov. Aggregation   VEDO         4021616612500963            Gas           Gov. Aggregation
COH             201532140010                Gas           Gov. Aggregation   VEDO         4019763102672626            Gas           Gov. Aggregation
COH             144140350017                Gas           Gov. Aggregation   VEDO         4021593372636030            Gas           Gov. Aggregation
COH             174825730055                Gas           Gov. Aggregation   VEDO         4019834372400097            Gas           Gov. Aggregation
COH             176168390022                Gas           Gov. Aggregation   VEDO         4003394832506496            Gas           Gov. Aggregation
COH             177585730061                Gas           Gov. Aggregation   VEDO         4019097982445219            Gas           Gov. Aggregation
COH             201275940018                Gas           Gov. Aggregation   VEDO         4021484492428725            Gas           Gov. Aggregation
COH             195405800019                Gas           Gov. Aggregation   VEDO         4001409702208930            Gas           Gov. Aggregation
COH             176464600074                Gas           Gov. Aggregation   VEDO         4019772012455637            Gas           Gov. Aggregation
COH             175877980053                Gas           Gov. Aggregation   VEDO         4021026852154116            Gas           Gov. Aggregation
COH             194547610029                Gas           Gov. Aggregation   VEDO         4019736852310801            Gas           Gov. Aggregation
COH             202333340019                Gas           Gov. Aggregation   VEDO         4016612892294765            Gas           Gov. Aggregation
COH             198933870031                Gas           Gov. Aggregation   VEDO         4017681362471239            Gas           Gov. Aggregation
COH             194287520039                Gas           Gov. Aggregation   VEDO         4018812482266718            Gas           Gov. Aggregation
COH             196875760021                Gas           Gov. Aggregation   VEDO         4021430542395800            Gas           Gov. Aggregation
COH             194577510027                Gas           Gov. Aggregation   VEDO         4021559932348736            Gas           Gov. Aggregation
COH             201121670010                Gas           Gov. Aggregation   VEDO         4015196922220809            Gas           Gov. Aggregation
COH             166020650021                Gas           Gov. Aggregation   VEDO         4002918742442835            Gas           Gov. Aggregation
COH             145481760116                Gas           Gov. Aggregation   VEDO         4016969692482525            Gas           Gov. Aggregation
COH             154636890020                Gas           Gov. Aggregation   VEDO         4021549272528231            Gas           Gov. Aggregation
COH             177012270034                Gas           Gov. Aggregation   VEDO         4019945952225167            Gas           Gov. Aggregation
COH             155175420025                Gas           Gov. Aggregation   VEDO         4019463022116992            Gas           Gov. Aggregation
COH             155675630012                Gas           Gov. Aggregation   VEDO         4021431752113267            Gas           Gov. Aggregation
COH             152136330083                Gas           Gov. Aggregation   VEDO         4016216032283309            Gas           Gov. Aggregation
COH             204517100017                Gas           Gov. Aggregation   VEDO         4021233632248892            Gas           Gov. Aggregation
COH             200745710010                Gas           Gov. Aggregation   VEDO         4021606492370716            Gas           Gov. Aggregation
COH             192912110012                Gas           Gov. Aggregation   VEDO         4021610722120340            Gas           Gov. Aggregation
COH             204007100018                Gas           Gov. Aggregation   VEDO         4021585842260566            Gas           Gov. Aggregation
COH             117120950025                Gas           Gov. Aggregation   VEDO         4004800042159780            Gas           Gov. Aggregation
COH             185803380043                Gas           Gov. Aggregation   VEDO         4017706032413955            Gas           Gov. Aggregation
COH             148813350098                Gas           Gov. Aggregation   VEDO         4019799392130836            Gas           Gov. Aggregation
COH             134528100064                Gas           Gov. Aggregation   VEDO         4015095612269872            Gas           Gov. Aggregation
COH             131240340030                Gas           Gov. Aggregation   VEDO         4017863972458357            Gas           Gov. Aggregation
COH             193698060054                Gas           Gov. Aggregation   VEDO         4017597062375596            Gas           Gov. Aggregation
COH             117376930948                Gas           Gov. Aggregation   VEDO         4018866142472319            Gas           Gov. Aggregation
COH             176340730122                Gas           Gov. Aggregation   VEDO         4021202012317921            Gas           Gov. Aggregation
COH             194985620038                Gas           Gov. Aggregation   VEDO         4016466092186889            Gas           Gov. Aggregation
COH             202150080012                Gas           Gov. Aggregation   VEDO         4021493452631777            Gas           Gov. Aggregation
COH             120449150013                Gas           Gov. Aggregation   VEDO         4019162592114090            Gas           Gov. Aggregation
COH             120335530158                Gas           Gov. Aggregation   VEDO         4021521182405636            Gas           Gov. Aggregation
COH             120448710017                Gas           Gov. Aggregation   VEDO         4021570512310683            Gas           Gov. Aggregation
COH             159485370098                Gas           Gov. Aggregation   VEDO         4021574902433155            Gas           Gov. Aggregation
COH             188880220041                Gas           Gov. Aggregation   VEDO         4021580372498628            Gas           Gov. Aggregation
COH             202293090018                Gas           Gov. Aggregation   VEDO         4016049852317067            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             202766330014                Gas           Gov. Aggregation   VEDO            4021607002441123            Gas           Gov. Aggregation
COH             202580510029                Gas           Gov. Aggregation   VEDO            4001610722686625            Gas           Gov. Aggregation
COH             202926750016                Gas           Gov. Aggregation   VEDO            4021616582373465            Gas           Gov. Aggregation
COH             203903340019                Gas           Gov. Aggregation   VEDO            4016242092235433            Gas           Gov. Aggregation
COH             173436040056                Gas           Gov. Aggregation   VEDO            4021578702431494            Gas           Gov. Aggregation
COH             172381390060                Gas           Gov. Aggregation   VEDO            4017036392485084            Gas           Gov. Aggregation
COH             149858600090                Gas           Gov. Aggregation   VEDO            4016208322425611            Gas           Gov. Aggregation
COH             186443800065                Gas           Gov. Aggregation   VEDO            4021014242276062            Gas           Gov. Aggregation
COH             198583350033                Gas           Gov. Aggregation   VEDO            4021520672379285            Gas           Gov. Aggregation
COH             204095640010                Gas           Gov. Aggregation   VEDO            4016270742432337            Gas           Gov. Aggregation
COH             204582490019                Gas           Gov. Aggregation   VEDO            4019767912353544            Gas           Gov. Aggregation
COH             201761260010                Gas           Gov. Aggregation   VEDO            4021451832314781            Gas           Gov. Aggregation
COH             132797201270                Gas           Gov. Aggregation   VEDO            4020200382490095            Gas           Gov. Aggregation
COH             201328820010                Gas           Gov. Aggregation   VEDO            4021120572132990            Gas           Gov. Aggregation
COH             140793710058                Gas           Gov. Aggregation   VEDO            4021589682307020            Gas           Gov. Aggregation
COH             142603160035                Gas           Gov. Aggregation   VEDO            4004139602209444            Gas           Gov. Aggregation
COH             204139420012                Gas           Gov. Aggregation   VEDO            4001140052436511            Gas           Gov. Aggregation
COH             203527390017                Gas           Gov. Aggregation   VEDO            4001279732179677            Gas           Gov. Aggregation
COH             202602750012                Gas           Gov. Aggregation   VEDO            4021575982489971            Gas           Gov. Aggregation
COH             144001930019                Gas           Gov. Aggregation   VEDO            4021448652683022            Gas           Gov. Aggregation
COH             120431410015                Gas           Gov. Aggregation   VEDO            4001326502603677            Gas           Gov. Aggregation
COH             120431420068                Gas           Gov. Aggregation   VEDO            4001462582626221            Gas           Gov. Aggregation
COH             201085840012                Gas           Gov. Aggregation   VEDO            4015898332680641            Gas           Gov. Aggregation
COH             204503760027                Gas           Gov. Aggregation   VEDO            4021579692564288            Gas           Gov. Aggregation
COH             185405390054                Gas           Gov. Aggregation   VEDO            4019858462614286            Gas           Gov. Aggregation
COH             167274630036                Gas           Gov. Aggregation   VEDO            4019066832674013            Gas           Gov. Aggregation
COH             164955860028                Gas           Gov. Aggregation   VEDO            4018613662176537            Gas           Gov. Aggregation
COH             200657910015                Gas           Gov. Aggregation   VEDO            4018926152195741            Gas           Gov. Aggregation
COH             201365640010                Gas           Gov. Aggregation   VEDO            4004919522476242            Gas           Gov. Aggregation
COH             201747370017                Gas           Gov. Aggregation   VEDO            4021571472346121            Gas           Gov. Aggregation
COH             204256490010                Gas           Gov. Aggregation   VEDO            4018662462437968            Gas           Gov. Aggregation
COH             190352140025                Gas           Gov. Aggregation   VEDO            4021464422117725            Gas           Gov. Aggregation
COH             176644920020                Gas           Gov. Aggregation   VEDO            4002045942261518            Gas           Gov. Aggregation
COH             198763520017                Gas           Gov. Aggregation   VEDO            4016259652409991            Gas           Gov. Aggregation
COH             204514450010                Gas           Gov. Aggregation   VEDO            4021554882504170            Gas           Gov. Aggregation
COH             203439060013                Gas           Gov. Aggregation   VEDO            4019841082438911            Gas           Gov. Aggregation
COH             176962650014                Gas           Gov. Aggregation   VEDO            4019255182435557            Gas           Gov. Aggregation
COH             111308430022                Gas           Gov. Aggregation   VEDO            4021567962476384            Gas           Gov. Aggregation
DEO             7180007972315               Gas           Gov. Aggregation   VEDO            4021440392479805            Gas           Gov. Aggregation
DEO             8180008428609               Gas           Gov. Aggregation   VEDO            4021443892686070            Gas           Gov. Aggregation
COH             163259160013                Gas           Gov. Aggregation   VEDO            4017772012467459            Gas           Gov. Aggregation
COH             164765570022                Gas           Gov. Aggregation   VEDO            4017988902523937            Gas           Gov. Aggregation
COH             159709730032                Gas           Gov. Aggregation   VEDO            4004297202359750            Gas           Gov. Aggregation
COH             189894770028                Gas           Gov. Aggregation   VEDO            4021594632392698            Gas           Gov. Aggregation
COH             193241890020                Gas           Gov. Aggregation   VEDO            4021610252110711            Gas           Gov. Aggregation
COH             201397200015                Gas           Gov. Aggregation   VEDO            4021092662680708            Gas           Gov. Aggregation
COH             201345930011                Gas           Gov. Aggregation   VEDO            4021104122680862            Gas           Gov. Aggregation
COH             194372160034                Gas           Gov. Aggregation   VEDO            4021307912214772            Gas           Gov. Aggregation
COH             202893340013                Gas           Gov. Aggregation   VEDO            4021204022683511            Gas           Gov. Aggregation
COH             203150310012                Gas           Gov. Aggregation   VEDO            4021040012680190            Gas           Gov. Aggregation
COH             201403710013                Gas           Gov. Aggregation   VEDO            4021042082680041            Gas           Gov. Aggregation
COH             202722250013                Gas           Gov. Aggregation   VEDO            4021404802234245            Gas           Gov. Aggregation
COH             193762500063                Gas           Gov. Aggregation   VEDO            4018190952411356            Gas           Gov. Aggregation
COH             200903060011                Gas           Gov. Aggregation   VEDO            4017429452370487            Gas           Gov. Aggregation
COH             203952230019                Gas           Gov. Aggregation   VEDO            4018315952537787            Gas           Gov. Aggregation
COH             203988590019                Gas           Gov. Aggregation   VEDO            4021420452629526            Gas           Gov. Aggregation
COH             199433010030                Gas           Gov. Aggregation   VEDO            4002667962199364            Gas           Gov. Aggregation
COH             168172710052                Gas           Gov. Aggregation   VEDO            4001072952106980            Gas           Gov. Aggregation
COH             165571600025                Gas           Gov. Aggregation   VEDO            4010061062139584            Gas           Gov. Aggregation
COH             130268150033                Gas           Gov. Aggregation   VEDO            4016805012496282            Gas           Gov. Aggregation
COH             151346830048                Gas           Gov. Aggregation   VEDO            4004873822496618            Gas           Gov. Aggregation
COH             198029360026                Gas           Gov. Aggregation   VEDO            4017874952416208            Gas           Gov. Aggregation
COH             195616140020                Gas           Gov. Aggregation   VEDO            4003452882342358            Gas           Gov. Aggregation
COH             200512300019                Gas           Gov. Aggregation   VEDO            4017714632181779            Gas           Gov. Aggregation
COH             192152720025                Gas           Gov. Aggregation   VEDO            4004314732434986            Gas           Gov. Aggregation
COH             201424260014                Gas           Gov. Aggregation   VEDO            4003966452397041            Gas           Gov. Aggregation
COH             203655040028                Gas           Gov. Aggregation   VEDO            4015400332535384            Gas           Gov. Aggregation
COH             200581460011                Gas           Gov. Aggregation   VEDO            4018210872150019            Gas           Gov. Aggregation
COH             200797070016                Gas           Gov. Aggregation   VEDO            4003573742354999            Gas           Gov. Aggregation
COH             201379440022                Gas           Gov. Aggregation   VEDO            4016061802516545            Gas           Gov. Aggregation
COH             201554390012                Gas           Gov. Aggregation   VEDO            4018583022562994            Gas           Gov. Aggregation
COH             201662330015                Gas           Gov. Aggregation   VEDO            4017439992171084            Gas           Gov. Aggregation
COH             203263520019                Gas           Gov. Aggregation   VEDO            4002554192292280            Gas           Gov. Aggregation
COH             202888050015                Gas           Gov. Aggregation   VEDO            4015030602112790            Gas           Gov. Aggregation
COH             124036820022                Gas           Gov. Aggregation   COH             155496540048                Gas           Gov. Aggregation
COH             123981580030                Gas           Gov. Aggregation   COH             122374860048                Gas           Gov. Aggregation
COH             204110340019                Gas           Gov. Aggregation   COH             117294100017                Gas           Gov. Aggregation
COH             204254210012                Gas           Gov. Aggregation   COH             117295980039                Gas           Gov. Aggregation
COH             204462280017                Gas           Gov. Aggregation   COH             175175820018                Gas           Gov. Aggregation
COH             203306630014                Gas           Gov. Aggregation   COH             175244390012                Gas           Gov. Aggregation
COH             200877820018                Gas           Gov. Aggregation   COH             175477240010                Gas           Gov. Aggregation
COH             193952500079                Gas           Gov. Aggregation   COH             175503440011                Gas           Gov. Aggregation
COH             124285240063                Gas           Gov. Aggregation   COH             196271070035                Gas           Gov. Aggregation
COH             148566580013                Gas           Gov. Aggregation   COH             204308140012                Gas           Gov. Aggregation
COH             124131630011                Gas           Gov. Aggregation   COH             204120620019                Gas           Gov. Aggregation
COH             124229710017                Gas           Gov. Aggregation   COH             205376710018                Gas           Gov. Aggregation
COH             160648100095                Gas           Gov. Aggregation   COH             204468860013                Gas           Gov. Aggregation
COH             157469080077                Gas           Gov. Aggregation   COH             204537030010                Gas           Gov. Aggregation
COH             160874550163                Gas           Gov. Aggregation   COH             203220100017                Gas           Gov. Aggregation
COH             130480890038                Gas           Gov. Aggregation   COH             203719540018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             197424380025                Gas           Gov. Aggregation   COH             203699560027                Gas           Gov. Aggregation
COH             198872280017                Gas           Gov. Aggregation   COH             202717440014                Gas           Gov. Aggregation
COH             199242540034                Gas           Gov. Aggregation   COH             204827530010                Gas           Gov. Aggregation
COH             199623030024                Gas           Gov. Aggregation   COH             204443220019                Gas           Gov. Aggregation
COH             200730840014                Gas           Gov. Aggregation   COH             193168650053                Gas           Gov. Aggregation
COH             200611390011                Gas           Gov. Aggregation   COH             204899210016                Gas           Gov. Aggregation
COH             198798330014                Gas           Gov. Aggregation   COH             203869710015                Gas           Gov. Aggregation
COH             192698340029                Gas           Gov. Aggregation   COH             135571040038                Gas           Gov. Aggregation
COH             124231480011                Gas           Gov. Aggregation   COH             134032620039                Gas           Gov. Aggregation
COH             202284360038                Gas           Gov. Aggregation   COH             169007380032                Gas           Gov. Aggregation
COH             202373620016                Gas           Gov. Aggregation   COH             193132090038                Gas           Gov. Aggregation
COH             202096890018                Gas           Gov. Aggregation   COH             193880460035                Gas           Gov. Aggregation
COH             124133700012                Gas           Gov. Aggregation   COH             173505690115                Gas           Gov. Aggregation
COH             123966340023                Gas           Gov. Aggregation   COH             135575330057                Gas           Gov. Aggregation
COH             124232460013                Gas           Gov. Aggregation   COH             204753000018                Gas           Gov. Aggregation
COH             124230120018                Gas           Gov. Aggregation   COH             159422790083                Gas           Gov. Aggregation
COH             171136150033                Gas           Gov. Aggregation   COH             205132900014                Gas           Gov. Aggregation
COH             176546000030                Gas           Gov. Aggregation   COH             175088200068                Gas           Gov. Aggregation
COH             156476620266                Gas           Gov. Aggregation   COH             115039080069                Gas           Gov. Aggregation
COH             154834630015                Gas           Gov. Aggregation   COH             200396200027                Gas           Gov. Aggregation
COH             131448400037                Gas           Gov. Aggregation   COH             145440420104                Gas           Gov. Aggregation
COH             147313060090                Gas           Gov. Aggregation   COH             138292770034                Gas           Gov. Aggregation
COH             124597680024                Gas           Gov. Aggregation   COH             137582240059                Gas           Gov. Aggregation
COH             186602750031                Gas           Gov. Aggregation   COH             192759440019                Gas           Gov. Aggregation
COH             189229080040                Gas           Gov. Aggregation   COH             176528800012                Gas           Gov. Aggregation
COH             188607110015                Gas           Gov. Aggregation   COH             174497160070                Gas           Gov. Aggregation
COH             188970160070                Gas           Gov. Aggregation   COH             148047910086                Gas           Gov. Aggregation
COH             203066860016                Gas           Gov. Aggregation   COH             202655140019                Gas           Gov. Aggregation
COH             202776780028                Gas           Gov. Aggregation   COH             204757430010                Gas           Gov. Aggregation
COH             175225660042                Gas           Gov. Aggregation   COH             204698870014                Gas           Gov. Aggregation
COH             193381160045                Gas           Gov. Aggregation   COH             205132910012                Gas           Gov. Aggregation
COH             202959080018                Gas           Gov. Aggregation   COH             149301450037                Gas           Gov. Aggregation
COH             203680940017                Gas           Gov. Aggregation   COH             115041850026                Gas           Gov. Aggregation
COH             200917050014                Gas           Gov. Aggregation   COH             169216950039                Gas           Gov. Aggregation
COH             162156480024                Gas           Gov. Aggregation   COH             174632640035                Gas           Gov. Aggregation
COH             127447920027                Gas           Gov. Aggregation   COH             203273920014                Gas           Gov. Aggregation
COH             203125530019                Gas           Gov. Aggregation   COH             202273920015                Gas           Gov. Aggregation
COH             204009210011                Gas           Gov. Aggregation   COH             204456590015                Gas           Gov. Aggregation
COH             204601380010                Gas           Gov. Aggregation   COH             202062110012                Gas           Gov. Aggregation
COH             203015510016                Gas           Gov. Aggregation   COH             202129680011                Gas           Gov. Aggregation
COH             191546280033                Gas           Gov. Aggregation   COH             140551140014                Gas           Gov. Aggregation
COH             202684650011                Gas           Gov. Aggregation   COH             161054860021                Gas           Gov. Aggregation
COH             201050390010                Gas           Gov. Aggregation   COH             167450730022                Gas           Gov. Aggregation
COH             200615040016                Gas           Gov. Aggregation   COH             201962660010                Gas           Gov. Aggregation
COH             200411710017                Gas           Gov. Aggregation   COH             205359800015                Gas           Gov. Aggregation
COH             203904920015                Gas           Gov. Aggregation   COH             174699820046                Gas           Gov. Aggregation
COH             203610300018                Gas           Gov. Aggregation   COH             140282490101                Gas           Gov. Aggregation
COH             176269170079                Gas           Gov. Aggregation   COH             202234030014                Gas           Gov. Aggregation
COH             124267000025                Gas           Gov. Aggregation   COH             204537830012                Gas           Gov. Aggregation
COH             143270540031                Gas           Gov. Aggregation   COH             194819630037                Gas           Gov. Aggregation
COH             201514160023                Gas           Gov. Aggregation   COH             204998130013                Gas           Gov. Aggregation
COH             204559640016                Gas           Gov. Aggregation   COH             203373970012                Gas           Gov. Aggregation
COH             204138770011                Gas           Gov. Aggregation   COH             202350200012                Gas           Gov. Aggregation
COH             202964990016                Gas           Gov. Aggregation   COH             202593040012                Gas           Gov. Aggregation
COH             201287260016                Gas           Gov. Aggregation   COH             202844580016                Gas           Gov. Aggregation
COH             201764110015                Gas           Gov. Aggregation   COH             204805820015                Gas           Gov. Aggregation
COH             203150260013                Gas           Gov. Aggregation   COH             204770570013                Gas           Gov. Aggregation
COH             202921610015                Gas           Gov. Aggregation   COH             196010950041                Gas           Gov. Aggregation
COH             204573400016                Gas           Gov. Aggregation   COH             166048850030                Gas           Gov. Aggregation
COH             201905860027                Gas           Gov. Aggregation   COH             191253290041                Gas           Gov. Aggregation
COH             202282610011                Gas           Gov. Aggregation   COH             139661500054                Gas           Gov. Aggregation
COH             200963310012                Gas           Gov. Aggregation   COH             203876410013                Gas           Gov. Aggregation
COH             201391850020                Gas           Gov. Aggregation   COH             202572970011                Gas           Gov. Aggregation
COH             154493120043                Gas           Gov. Aggregation   COH             202307510018                Gas           Gov. Aggregation
COH             173820080026                Gas           Gov. Aggregation   COH             203637500010                Gas           Gov. Aggregation
COH             200510780059                Gas           Gov. Aggregation   COH             202212050016                Gas           Gov. Aggregation
COH             200453680016                Gas           Gov. Aggregation   COH             195569060028                Gas           Gov. Aggregation
COH             196912330030                Gas           Gov. Aggregation   COH             176870810024                Gas           Gov. Aggregation
COH             197172050010                Gas           Gov. Aggregation   COH             144727160031                Gas           Gov. Aggregation
COH             195625630028                Gas           Gov. Aggregation   COH             143039060121                Gas           Gov. Aggregation
COH             195795660023                Gas           Gov. Aggregation   COH             202420560018                Gas           Gov. Aggregation
COH             196301420036                Gas           Gov. Aggregation   COH             203517410013                Gas           Gov. Aggregation
COH             196205890032                Gas           Gov. Aggregation   COH             159741260051                Gas           Gov. Aggregation
COH             196618100032                Gas           Gov. Aggregation   COH             171648150047                Gas           Gov. Aggregation
COH             165972060065                Gas           Gov. Aggregation   COH             145412360099                Gas           Gov. Aggregation
COH             188371340036                Gas           Gov. Aggregation   COH             157882040024                Gas           Gov. Aggregation
COH             202871360015                Gas           Gov. Aggregation   COH             145379520042                Gas           Gov. Aggregation
COH             203258330010                Gas           Gov. Aggregation   COH             175432590020                Gas           Gov. Aggregation
COH             203491590012                Gas           Gov. Aggregation   COH             205053670011                Gas           Gov. Aggregation
COH             203517390018                Gas           Gov. Aggregation   COH             202318510015                Gas           Gov. Aggregation
COH             202580170012                Gas           Gov. Aggregation   COH             203024170019                Gas           Gov. Aggregation
COH             200988930010                Gas           Gov. Aggregation   COH             114969630027                Gas           Gov. Aggregation
COH             190955670071                Gas           Gov. Aggregation   COH             204187390018                Gas           Gov. Aggregation
COH             190635570025                Gas           Gov. Aggregation   DEO             0180002037079               Gas           Gov. Aggregation
COH             190536200102                Gas           Gov. Aggregation   DEO             6420106251536               Gas           Gov. Aggregation
COH             193275680032                Gas           Gov. Aggregation   DEO             7180010315112               Gas           Gov. Aggregation
COH             194395480039                Gas           Gov. Aggregation   DEO             4500048982717               Gas           Gov. Aggregation
COH             194511790027                Gas           Gov. Aggregation   DEO             0180003299009               Gas           Gov. Aggregation
COH             170096550036                Gas           Gov. Aggregation   DEO             0180007679727               Gas           Gov. Aggregation
COH             170652670013                Gas           Gov. Aggregation   DEO             3500053968411               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             155698290025                Gas           Gov. Aggregation   DEO             7500051493853               Gas           Gov. Aggregation
COH             157995270063                Gas           Gov. Aggregation   DEO             7180006165125               Gas           Gov. Aggregation
DEO             9421004905089               Gas           Gov. Aggregation   DEO             7500067052413               Gas           Gov. Aggregation
COH             199417540015                Gas           Gov. Aggregation   DEO             3500066288645               Gas           Gov. Aggregation
COH             202806790012                Gas           Gov. Aggregation   DEO             3420103706061               Gas           Gov. Aggregation
COH             166251030022                Gas           Gov. Aggregation   DEO             6420103959341               Gas           Gov. Aggregation
COH             163112860016                Gas           Gov. Aggregation   DEO             6420103959355               Gas           Gov. Aggregation
COH             132292800024                Gas           Gov. Aggregation   DEO             9420303970968               Gas           Gov. Aggregation
COH             124182080029                Gas           Gov. Aggregation   DEO             2420303970979               Gas           Gov. Aggregation
COH             204541120012                Gas           Gov. Aggregation   DEO             8180009305208               Gas           Gov. Aggregation
COH             204490480016                Gas           Gov. Aggregation   COH             209713920014                Gas           Gov. Aggregation
COH             199409370018                Gas           Gov. Aggregation   COH             193683180050                Gas           Gov. Aggregation
COH             203670480015                Gas           Gov. Aggregation   COH             191123280057                Gas           Gov. Aggregation
COH             176901360031                Gas           Gov. Aggregation   COH             209361040016                Gas           Gov. Aggregation
COH             203311480015                Gas           Gov. Aggregation   COH             208573990019                Gas           Gov. Aggregation
COH             186043410029                Gas           Gov. Aggregation   COH             208995370015                Gas           Gov. Aggregation
COH             188901210010                Gas           Gov. Aggregation   COH             209083150013                Gas           Gov. Aggregation
COH             191334740017                Gas           Gov. Aggregation   COH             209123960017                Gas           Gov. Aggregation
COH             198211660026                Gas           Gov. Aggregation   COH             209533040011                Gas           Gov. Aggregation
COH             126709090027                Gas           Gov. Aggregation   COH             209156290019                Gas           Gov. Aggregation
COH             197206420019                Gas           Gov. Aggregation   COH             208976660014                Gas           Gov. Aggregation
COH             197343600039                Gas           Gov. Aggregation   COH             209194500014                Gas           Gov. Aggregation
COH             197908560012                Gas           Gov. Aggregation   COH             164263760035                Gas           Gov. Aggregation
COH             189169580025                Gas           Gov. Aggregation   COH             209856220019                Gas           Gov. Aggregation
COH             185825330092                Gas           Gov. Aggregation   COH             209812280019                Gas           Gov. Aggregation
COH             204274010012                Gas           Gov. Aggregation   COH             193224150021                Gas           Gov. Aggregation
COH             161218680012                Gas           Gov. Aggregation   COH             111045660031                Gas           Gov. Aggregation
COH             136868290054                Gas           Gov. Aggregation   COH             209187820012                Gas           Gov. Aggregation
COH             124046380015                Gas           Gov. Aggregation   COH             110976100027                Gas           Gov. Aggregation
COH             154031780025                Gas           Gov. Aggregation   COH             209026620014                Gas           Gov. Aggregation
COH             153205290011                Gas           Gov. Aggregation   COH             208579900015                Gas           Gov. Aggregation
COH             152593350018                Gas           Gov. Aggregation   COH             208879400014                Gas           Gov. Aggregation
COH             155491650036                Gas           Gov. Aggregation   COH             209747790011                Gas           Gov. Aggregation
COH             155515190013                Gas           Gov. Aggregation   COH             210104170010                Gas           Gov. Aggregation
COH             172748130011                Gas           Gov. Aggregation   COH             210021390010                Gas           Gov. Aggregation
COH             172767930013                Gas           Gov. Aggregation   COH             210165520018                Gas           Gov. Aggregation
COH             173160900050                Gas           Gov. Aggregation   COH             138602210023                Gas           Gov. Aggregation
COH             200542720018                Gas           Gov. Aggregation   COH             207584270018                Gas           Gov. Aggregation
COH             203023970013                Gas           Gov. Aggregation   COH             209790920012                Gas           Gov. Aggregation
COH             200672330024                Gas           Gov. Aggregation   COH             173111750019                Gas           Gov. Aggregation
COH             201927570013                Gas           Gov. Aggregation   COH             209664830018                Gas           Gov. Aggregation
COH             190307650032                Gas           Gov. Aggregation   COH             209160970017                Gas           Gov. Aggregation
COH             190387420014                Gas           Gov. Aggregation   COH             209927380015                Gas           Gov. Aggregation
COH             190619750021                Gas           Gov. Aggregation   COH             193022110036                Gas           Gov. Aggregation
COH             187207820024                Gas           Gov. Aggregation   COH             207792390012                Gas           Gov. Aggregation
COH             204451340017                Gas           Gov. Aggregation   COH             210226840011                Gas           Gov. Aggregation
COH             203406920011                Gas           Gov. Aggregation   COH             208600780014                Gas           Gov. Aggregation
COH             147823300025                Gas           Gov. Aggregation   COH             209282720011                Gas           Gov. Aggregation
COH             130466910168                Gas           Gov. Aggregation   COH             110352040013                Gas           Gov. Aggregation
COH             170999980014                Gas           Gov. Aggregation   COH             209308730013                Gas           Gov. Aggregation
COH             151058450021                Gas           Gov. Aggregation   COH             201495200017                Gas           Gov. Aggregation
COH             144054040042                Gas           Gov. Aggregation   COH             174928640074                Gas           Gov. Aggregation
COH             123932030047                Gas           Gov. Aggregation   COH             174261080049                Gas           Gov. Aggregation
COH             124047030016                Gas           Gov. Aggregation   COH             209198560014                Gas           Gov. Aggregation
COH             124047110019                Gas           Gov. Aggregation   COH             208895990017                Gas           Gov. Aggregation
COH             201900420010                Gas           Gov. Aggregation   COH             133498850036                Gas           Gov. Aggregation
COH             140863600025                Gas           Gov. Aggregation   COH             209016360010                Gas           Gov. Aggregation
COH             124006980031                Gas           Gov. Aggregation   COH             209360940019                Gas           Gov. Aggregation
COH             171736830047                Gas           Gov. Aggregation   COH             209522640018                Gas           Gov. Aggregation
COH             172666430012                Gas           Gov. Aggregation   COH             201006850034                Gas           Gov. Aggregation
COH             203434610017                Gas           Gov. Aggregation   COH             203622810025                Gas           Gov. Aggregation
COH             204624120016                Gas           Gov. Aggregation   COH             203489170015                Gas           Gov. Aggregation
COH             196876070024                Gas           Gov. Aggregation   COH             203781600014                Gas           Gov. Aggregation
COH             197552700017                Gas           Gov. Aggregation   COH             202254570019                Gas           Gov. Aggregation
COH             200410420010                Gas           Gov. Aggregation   COH             202266220026                Gas           Gov. Aggregation
COH             187018750011                Gas           Gov. Aggregation   COH             202818870029                Gas           Gov. Aggregation
COH             162198120012                Gas           Gov. Aggregation   COH             171577490092                Gas           Gov. Aggregation
COH             110554780010                Gas           Gov. Aggregation   COH             188883390059                Gas           Gov. Aggregation
COH             175399260021                Gas           Gov. Aggregation   COH             202492870012                Gas           Gov. Aggregation
DEO             4421003473256               Gas           Gov. Aggregation   COH             114947970040                Gas           Gov. Aggregation
COH             163898710022                Gas           Gov. Aggregation   COH             115007080137                Gas           Gov. Aggregation
COH             172849880038                Gas           Gov. Aggregation   COH             150707640276                Gas           Gov. Aggregation
COH             195223590029                Gas           Gov. Aggregation   COH             150707640285                Gas           Gov. Aggregation
COH             195554200010                Gas           Gov. Aggregation   COH             156086270043                Gas           Gov. Aggregation
COH             193942190021                Gas           Gov. Aggregation   COH             167055450065                Gas           Gov. Aggregation
COH             194281310026                Gas           Gov. Aggregation   COH             188194550038                Gas           Gov. Aggregation
COH             191433640045                Gas           Gov. Aggregation   COH             188019360350                Gas           Gov. Aggregation
COH             193745380038                Gas           Gov. Aggregation   COH             188019360369                Gas           Gov. Aggregation
COH             192149770040                Gas           Gov. Aggregation   COH             188019360378                Gas           Gov. Aggregation
COH             203583550015                Gas           Gov. Aggregation   COH             187893370062                Gas           Gov. Aggregation
COH             203325200014                Gas           Gov. Aggregation   COH             187449950123                Gas           Gov. Aggregation
COH             202637610018                Gas           Gov. Aggregation   COH             192023810029                Gas           Gov. Aggregation
COH             202823430039                Gas           Gov. Aggregation   COH             199258990037                Gas           Gov. Aggregation
COH             201629240023                Gas           Gov. Aggregation   COH             129452090029                Gas           Gov. Aggregation
COH             201877800020                Gas           Gov. Aggregation   COH             200078380033                Gas           Gov. Aggregation
COH             200271140024                Gas           Gov. Aggregation   COH             201403750015                Gas           Gov. Aggregation
COH             204449540010                Gas           Gov. Aggregation   COH             202136060016                Gas           Gov. Aggregation
COH             204476310011                Gas           Gov. Aggregation   COH             195946670020                Gas           Gov. Aggregation
COH             204337240010                Gas           Gov. Aggregation   COH             196428080021                Gas           Gov. Aggregation
COH             204434830010                Gas           Gov. Aggregation   COH             185509800057                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             204434850016                Gas           Gov. Aggregation   COH             173092180020                Gas           Gov. Aggregation
COH             203762200018                Gas           Gov. Aggregation   COH             186866820047                Gas           Gov. Aggregation
COH             203917050011                Gas           Gov. Aggregation   COH             189420430022                Gas           Gov. Aggregation
COH             203956150018                Gas           Gov. Aggregation   COH             191199750022                Gas           Gov. Aggregation
COH             128701040156                Gas           Gov. Aggregation   COH             193959460038                Gas           Gov. Aggregation
COH             122536740058                Gas           Gov. Aggregation   COH             202428640015                Gas           Gov. Aggregation
COH             204622150014                Gas           Gov. Aggregation   COH             185696870076                Gas           Gov. Aggregation
COH             204301640011                Gas           Gov. Aggregation   COH             202496630014                Gas           Gov. Aggregation
COH             153736030010                Gas           Gov. Aggregation   COH             205143170015                Gas           Gov. Aggregation
COH             203238710012                Gas           Gov. Aggregation   COH             189320900052                Gas           Gov. Aggregation
COH             204232150011                Gas           Gov. Aggregation   COH             189596600089                Gas           Gov. Aggregation
COH             202525200011                Gas           Gov. Aggregation   COH             115004900014                Gas           Gov. Aggregation
COH             203982700017                Gas           Gov. Aggregation   COH             202802980083                Gas           Gov. Aggregation
COH             202774190017                Gas           Gov. Aggregation   COH             202802980092                Gas           Gov. Aggregation
COH             195604940036                Gas           Gov. Aggregation   COH             203754200015                Gas           Gov. Aggregation
COH             193531210045                Gas           Gov. Aggregation   COH             203702290016                Gas           Gov. Aggregation
COH             194555830035                Gas           Gov. Aggregation   COH             203058440011                Gas           Gov. Aggregation
COH             203853000017                Gas           Gov. Aggregation   COH             204242540018                Gas           Gov. Aggregation
COH             199888030024                Gas           Gov. Aggregation   COH             203937390018                Gas           Gov. Aggregation
COH             203009010014                Gas           Gov. Aggregation   COH             203876440017                Gas           Gov. Aggregation
COH             131226280042                Gas           Gov. Aggregation   COH             199512240052                Gas           Gov. Aggregation
COH             203577950014                Gas           Gov. Aggregation   COH             201778490017                Gas           Gov. Aggregation
COH             198035450015                Gas           Gov. Aggregation   COH             194286950077                Gas           Gov. Aggregation
COH             199721730029                Gas           Gov. Aggregation   COH             204017300015                Gas           Gov. Aggregation
COH             165986520023                Gas           Gov. Aggregation   COH             204353410010                Gas           Gov. Aggregation
COH             138888110039                Gas           Gov. Aggregation   COH             203072300010                Gas           Gov. Aggregation
COH             203950960010                Gas           Gov. Aggregation   COH             203277920016                Gas           Gov. Aggregation
COH             204421190012                Gas           Gov. Aggregation   COH             203412530010                Gas           Gov. Aggregation
COH             204065210013                Gas           Gov. Aggregation   COH             203781610012                Gas           Gov. Aggregation
COH             204270100011                Gas           Gov. Aggregation   COH             203501010038                Gas           Gov. Aggregation
COH             203642720013                Gas           Gov. Aggregation   COH             203523020012                Gas           Gov. Aggregation
COH             202902290013                Gas           Gov. Aggregation   COH             136237070066                Gas           Gov. Aggregation
COH             193282580038                Gas           Gov. Aggregation   COH             176369500120                Gas           Gov. Aggregation
COH             197895240027                Gas           Gov. Aggregation   COH             173874320415                Gas           Gov. Aggregation
COH             201128990019                Gas           Gov. Aggregation   COH             171451710046                Gas           Gov. Aggregation
COH             188068110019                Gas           Gov. Aggregation   COH             188218470042                Gas           Gov. Aggregation
COH             203360270016                Gas           Gov. Aggregation   COH             173281410048                Gas           Gov. Aggregation
COH             204416830018                Gas           Gov. Aggregation   COH             173513420034                Gas           Gov. Aggregation
COH             203751520014                Gas           Gov. Aggregation   COH             176059240033                Gas           Gov. Aggregation
COH             203866000010                Gas           Gov. Aggregation   COH             175663240051                Gas           Gov. Aggregation
COH             203916980018                Gas           Gov. Aggregation   COH             143722000026                Gas           Gov. Aggregation
COH             204103810015                Gas           Gov. Aggregation   COH             157025160061                Gas           Gov. Aggregation
COH             203868500011                Gas           Gov. Aggregation   COH             153016820083                Gas           Gov. Aggregation
COH             203942050018                Gas           Gov. Aggregation   COH             202420580014                Gas           Gov. Aggregation
COH             192348840034                Gas           Gov. Aggregation   COH             203754190018                Gas           Gov. Aggregation
COH             203178280011                Gas           Gov. Aggregation   COH             203637460019                Gas           Gov. Aggregation
COH             202774160013                Gas           Gov. Aggregation   COH             203333920016                Gas           Gov. Aggregation
COH             203344890010                Gas           Gov. Aggregation   COH             200196430023                Gas           Gov. Aggregation
COH             153730730104                Gas           Gov. Aggregation   COH             200245920034                Gas           Gov. Aggregation
COH             153270430050                Gas           Gov. Aggregation   COH             200882310050                Gas           Gov. Aggregation
COH             145995170166                Gas           Gov. Aggregation   COH             201734770010                Gas           Gov. Aggregation
COH             204557830010                Gas           Gov. Aggregation   COH             197290110035                Gas           Gov. Aggregation
COH             204115020016                Gas           Gov. Aggregation   COH             198728060027                Gas           Gov. Aggregation
COH             203791880015                Gas           Gov. Aggregation   COH             196376590025                Gas           Gov. Aggregation
COH             174467900077                Gas           Gov. Aggregation   COH             201314920018                Gas           Gov. Aggregation
COH             203739240019                Gas           Gov. Aggregation   COH             201105970011                Gas           Gov. Aggregation
COH             196888120037                Gas           Gov. Aggregation   COH             202993480012                Gas           Gov. Aggregation
COH             155493480047                Gas           Gov. Aggregation   COH             202993500017                Gas           Gov. Aggregation
COH             204047360010                Gas           Gov. Aggregation   COH             202983780010                Gas           Gov. Aggregation
COH             122424550028                Gas           Gov. Aggregation   COH             203490310012                Gas           Gov. Aggregation
COH             203995820015                Gas           Gov. Aggregation   COH             203548240014                Gas           Gov. Aggregation
COH             204528070011                Gas           Gov. Aggregation   COH             203560680016                Gas           Gov. Aggregation
COH             204585010013                Gas           Gov. Aggregation   COH             203527440016                Gas           Gov. Aggregation
COH             199161780018                Gas           Gov. Aggregation   COH             203293840019                Gas           Gov. Aggregation
COH             200666710036                Gas           Gov. Aggregation   COH             203268850010                Gas           Gov. Aggregation
COH             201836730021                Gas           Gov. Aggregation   COH             203246040016                Gas           Gov. Aggregation
COH             202853770017                Gas           Gov. Aggregation   COH             203425630012                Gas           Gov. Aggregation
COH             202912440010                Gas           Gov. Aggregation   COH             203425660016                Gas           Gov. Aggregation
COH             193761400075                Gas           Gov. Aggregation   COH             203464560024                Gas           Gov. Aggregation
COH             188513720052                Gas           Gov. Aggregation   COH             203378370018                Gas           Gov. Aggregation
COH             203118290015                Gas           Gov. Aggregation   COH             204178570019                Gas           Gov. Aggregation
COH             203477600019                Gas           Gov. Aggregation   COH             204178580017                Gas           Gov. Aggregation
COH             203386360013                Gas           Gov. Aggregation   COH             204198540022                Gas           Gov. Aggregation
COH             197762460059                Gas           Gov. Aggregation   COH             204351540017                Gas           Gov. Aggregation
COH             197762460068                Gas           Gov. Aggregation   COH             204325090017                Gas           Gov. Aggregation
COH             197762460077                Gas           Gov. Aggregation   COH             204440100010                Gas           Gov. Aggregation
COH             197762460086                Gas           Gov. Aggregation   COH             204481370018                Gas           Gov. Aggregation
COH             119643240042                Gas           Gov. Aggregation   COH             204053790017                Gas           Gov. Aggregation
COH             122350340029                Gas           Gov. Aggregation   COH             204053850014                Gas           Gov. Aggregation
COH             189503810044                Gas           Gov. Aggregation   COH             204033820012                Gas           Gov. Aggregation
COH             202984300018                Gas           Gov. Aggregation   COH             204088940012                Gas           Gov. Aggregation
COH             122500940015                Gas           Gov. Aggregation   COH             204064620019                Gas           Gov. Aggregation
COH             202093260025                Gas           Gov. Aggregation   COH             204076660025                Gas           Gov. Aggregation
COH             202417760013                Gas           Gov. Aggregation   COH             203923700020                Gas           Gov. Aggregation
COH             203570220011                Gas           Gov. Aggregation   COH             203874410017                Gas           Gov. Aggregation
COH             169743280015                Gas           Gov. Aggregation   COH             201714040015                Gas           Gov. Aggregation
COH             174970160012                Gas           Gov. Aggregation   COH             201628330017                Gas           Gov. Aggregation
COH             203367450014                Gas           Gov. Aggregation   COH             201836320018                Gas           Gov. Aggregation
COH             172976570034                Gas           Gov. Aggregation   COH             202197250018                Gas           Gov. Aggregation
COH             141660810020                Gas           Gov. Aggregation   COH             202197260016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             149944440037                Gas           Gov. Aggregation   COH             202150180011                Gas           Gov. Aggregation
COH             145146282544                Gas           Gov. Aggregation   COH             202248250019                Gas           Gov. Aggregation
COH             202518350015                Gas           Gov. Aggregation   COH             202549680011                Gas           Gov. Aggregation
COH             202513490016                Gas           Gov. Aggregation   COH             202624980027                Gas           Gov. Aggregation
COH             201183850021                Gas           Gov. Aggregation   COH             204994690014                Gas           Gov. Aggregation
COH             196637920021                Gas           Gov. Aggregation   COH             205211820013                Gas           Gov. Aggregation
COH             202784870013                Gas           Gov. Aggregation   COH             205243450014                Gas           Gov. Aggregation
COH             203325170011                Gas           Gov. Aggregation   COH             205313900010                Gas           Gov. Aggregation
COH             203238670011                Gas           Gov. Aggregation   COH             204598960017                Gas           Gov. Aggregation
COH             202408760012                Gas           Gov. Aggregation   COH             204498320013                Gas           Gov. Aggregation
COH             204047370018                Gas           Gov. Aggregation   COH             204570010014                Gas           Gov. Aggregation
COH             143199290081                Gas           Gov. Aggregation   COH             204570040018                Gas           Gov. Aggregation
COH             204570630014                Gas           Gov. Aggregation   COH             204958790019                Gas           Gov. Aggregation
COH             192448010116                Gas           Gov. Aggregation   COH             204969360016                Gas           Gov. Aggregation
COH             203084400014                Gas           Gov. Aggregation   COH             196611590025                Gas           Gov. Aggregation
COH             203047760017                Gas           Gov. Aggregation   COH             196834950027                Gas           Gov. Aggregation
COH             202399410016                Gas           Gov. Aggregation   COH             196575080039                Gas           Gov. Aggregation
COH             204046720016                Gas           Gov. Aggregation   COH             195979110064                Gas           Gov. Aggregation
COH             204290390019                Gas           Gov. Aggregation   COH             195923430037                Gas           Gov. Aggregation
COH             204434800016                Gas           Gov. Aggregation   COH             199794660085                Gas           Gov. Aggregation
COH             204128650017                Gas           Gov. Aggregation   COH             193871110037                Gas           Gov. Aggregation
COH             203806980011                Gas           Gov. Aggregation   COH             194217080020                Gas           Gov. Aggregation
COH             202394340011                Gas           Gov. Aggregation   COH             194217140036                Gas           Gov. Aggregation
COH             202382520018                Gas           Gov. Aggregation   COH             195518410021                Gas           Gov. Aggregation
COH             203544980017                Gas           Gov. Aggregation   COH             169227940038                Gas           Gov. Aggregation
COH             202579990013                Gas           Gov. Aggregation   COH             167172650010                Gas           Gov. Aggregation
COH             161785460044                Gas           Gov. Aggregation   COH             166661220041                Gas           Gov. Aggregation
COH             168947360026                Gas           Gov. Aggregation   COH             165849660042                Gas           Gov. Aggregation
COH             170954340085                Gas           Gov. Aggregation   COH             165427260022                Gas           Gov. Aggregation
COH             168157270057                Gas           Gov. Aggregation   COH             172624990040                Gas           Gov. Aggregation
COH             122465260023                Gas           Gov. Aggregation   COH             172749480061                Gas           Gov. Aggregation
COH             194605770013                Gas           Gov. Aggregation   COH             172869150020                Gas           Gov. Aggregation
COH             195337100039                Gas           Gov. Aggregation   COH             174378243303                Gas           Gov. Aggregation
COH             160029270029                Gas           Gov. Aggregation   COH             175728310030                Gas           Gov. Aggregation
COH             176519720054                Gas           Gov. Aggregation   COH             175941660017                Gas           Gov. Aggregation
COH             192642520028                Gas           Gov. Aggregation   COH             175623430037                Gas           Gov. Aggregation
COH             197102571615                Gas           Gov. Aggregation   COH             186048040027                Gas           Gov. Aggregation
COH             202249340027                Gas           Gov. Aggregation   COH             186215740034                Gas           Gov. Aggregation
COH             203257550016                Gas           Gov. Aggregation   COH             186307210030                Gas           Gov. Aggregation
COH             204198860016                Gas           Gov. Aggregation   COH             185360210020                Gas           Gov. Aggregation
COH             165046310109                Gas           Gov. Aggregation   COH             188740570044                Gas           Gov. Aggregation
COH             162873590021                Gas           Gov. Aggregation   COH             189091020027                Gas           Gov. Aggregation
COH             202518160015                Gas           Gov. Aggregation   COH             186504380028                Gas           Gov. Aggregation
COH             170100780046                Gas           Gov. Aggregation   COH             135363840022                Gas           Gov. Aggregation
COH             177659370051                Gas           Gov. Aggregation   COH             128797340036                Gas           Gov. Aggregation
COH             203446110017                Gas           Gov. Aggregation   COH             116895390032                Gas           Gov. Aggregation
COH             196363680032                Gas           Gov. Aggregation   COH             113021420020                Gas           Gov. Aggregation
COH             138586620014                Gas           Gov. Aggregation   COH             109810060609                Gas           Gov. Aggregation
COH             204581030017                Gas           Gov. Aggregation   COH             149677170022                Gas           Gov. Aggregation
COH             203451240019                Gas           Gov. Aggregation   COH             149447820111                Gas           Gov. Aggregation
COH             203403780035                Gas           Gov. Aggregation   COH             152828450036                Gas           Gov. Aggregation
COH             204007560012                Gas           Gov. Aggregation   COH             163681010046                Gas           Gov. Aggregation
COH             203821330015                Gas           Gov. Aggregation   COH             162593050037                Gas           Gov. Aggregation
COH             138416480040                Gas           Gov. Aggregation   COH             162680770040                Gas           Gov. Aggregation
COH             200813250030                Gas           Gov. Aggregation   COH             164484980086                Gas           Gov. Aggregation
COH             199761470093                Gas           Gov. Aggregation   COH             164358970030                Gas           Gov. Aggregation
COH             197763120030                Gas           Gov. Aggregation   COH             164632480139                Gas           Gov. Aggregation
COH             187869080126                Gas           Gov. Aggregation   COH             154920320053                Gas           Gov. Aggregation
COH             204115560013                Gas           Gov. Aggregation   COH             154751210037                Gas           Gov. Aggregation
COH             204504540012                Gas           Gov. Aggregation   COH             156522350022                Gas           Gov. Aggregation
COH             167991620065                Gas           Gov. Aggregation   COH             156736990034                Gas           Gov. Aggregation
COH             203675980010                Gas           Gov. Aggregation   COH             157269610033                Gas           Gov. Aggregation
COH             196305100035                Gas           Gov. Aggregation   COH             159210850061                Gas           Gov. Aggregation
COH             202538350013                Gas           Gov. Aggregation   COH             159393710144                Gas           Gov. Aggregation
COH             199783730038                Gas           Gov. Aggregation   COH             159028660031                Gas           Gov. Aggregation
COH             202669060017                Gas           Gov. Aggregation   COH             198391304769                Gas           Gov. Aggregation
COH             203047810016                Gas           Gov. Aggregation   COH             198293740027                Gas           Gov. Aggregation
COH             203505760015                Gas           Gov. Aggregation   COH             190632990050                Gas           Gov. Aggregation
COH             192448760039                Gas           Gov. Aggregation   COH             192131292662                Gas           Gov. Aggregation
COH             204270010010                Gas           Gov. Aggregation   COH             200042670019                Gas           Gov. Aggregation
COH             202688740014                Gas           Gov. Aggregation   COH             192131299576                Gas           Gov. Aggregation
COH             204116830014                Gas           Gov. Aggregation   COH             203882050016                Gas           Gov. Aggregation
COH             204054490018                Gas           Gov. Aggregation   COH             203007630018                Gas           Gov. Aggregation
COH             203460530019                Gas           Gov. Aggregation   COH             140225120046                Gas           Gov. Aggregation
COH             158637980025                Gas           Gov. Aggregation   COH             198421020025                Gas           Gov. Aggregation
COH             203693840011                Gas           Gov. Aggregation   COH             202355820012                Gas           Gov. Aggregation
COH             204351830016                Gas           Gov. Aggregation   COH             200411450021                Gas           Gov. Aggregation
COH             202140480028                Gas           Gov. Aggregation   COH             203923680016                Gas           Gov. Aggregation
COH             202376190011                Gas           Gov. Aggregation   COH             204673430018                Gas           Gov. Aggregation
COH             203881040010                Gas           Gov. Aggregation   COH             201183630018                Gas           Gov. Aggregation
COH             204179460010                Gas           Gov. Aggregation   COH             201559160010                Gas           Gov. Aggregation
COH             204508240017                Gas           Gov. Aggregation   COH             202021650015                Gas           Gov. Aggregation
COH             122373850015                Gas           Gov. Aggregation   COH             192131296739                Gas           Gov. Aggregation
COH             118254510041                Gas           Gov. Aggregation   COH             201977070013                Gas           Gov. Aggregation
COH             204311550019                Gas           Gov. Aggregation   COH             117248080037                Gas           Gov. Aggregation
COH             203417580010                Gas           Gov. Aggregation   COH             164993350016                Gas           Gov. Aggregation
COH             203008990011                Gas           Gov. Aggregation   COH             148797440059                Gas           Gov. Aggregation
COH             203056940010                Gas           Gov. Aggregation   COH             203618150014                Gas           Gov. Aggregation
COH             197537990028                Gas           Gov. Aggregation   COH             186455410035                Gas           Gov. Aggregation
COH             204082970018                Gas           Gov. Aggregation   COH             195230040047                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             203837660013                Gas           Gov. Aggregation   COH             205041740011                Gas           Gov. Aggregation
COH             152093630019                Gas           Gov. Aggregation   COH             203421530011                Gas           Gov. Aggregation
COH             153607480037                Gas           Gov. Aggregation   COH             204301150014                Gas           Gov. Aggregation
COH             154054980016                Gas           Gov. Aggregation   COH             201206800012                Gas           Gov. Aggregation
COH             194273380029                Gas           Gov. Aggregation   COH             201354800019                Gas           Gov. Aggregation
COH             202376180013                Gas           Gov. Aggregation   COH             204584150016                Gas           Gov. Aggregation
COH             190708980033                Gas           Gov. Aggregation   COH             202513000027                Gas           Gov. Aggregation
COH             122371430026                Gas           Gov. Aggregation   COH             204931350017                Gas           Gov. Aggregation
COH             200864710036                Gas           Gov. Aggregation   COH             203790670011                Gas           Gov. Aggregation
COH             204269940018                Gas           Gov. Aggregation   COH             203934260011                Gas           Gov. Aggregation
COH             204442010015                Gas           Gov. Aggregation   COH             204948710016                Gas           Gov. Aggregation
COH             169182910076                Gas           Gov. Aggregation   COH             201532220013                Gas           Gov. Aggregation
COH             204570640012                Gas           Gov. Aggregation   COH             204873930019                Gas           Gov. Aggregation
COH             204525610013                Gas           Gov. Aggregation   COH             204256390011                Gas           Gov. Aggregation
COH             204518730013                Gas           Gov. Aggregation   COH             194131830024                Gas           Gov. Aggregation
COH             204065120012                Gas           Gov. Aggregation   COH             200385660024                Gas           Gov. Aggregation
COH             203170490022                Gas           Gov. Aggregation   COH             204106940012                Gas           Gov. Aggregation
COH             203162100011                Gas           Gov. Aggregation   COH             201134000013                Gas           Gov. Aggregation
COH             203087630010                Gas           Gov. Aggregation   COH             177028170023                Gas           Gov. Aggregation
COH             203596210019                Gas           Gov. Aggregation   COH             194189402754                Gas           Gov. Aggregation
COH             203527850010                Gas           Gov. Aggregation   COH             201788010016                Gas           Gov. Aggregation
COH             190789890023                Gas           Gov. Aggregation   COH             204256470014                Gas           Gov. Aggregation
COH             189531590033                Gas           Gov. Aggregation   COH             202432830016                Gas           Gov. Aggregation
COH             194669510022                Gas           Gov. Aggregation   COH             192131297783                Gas           Gov. Aggregation
COH             194745410030                Gas           Gov. Aggregation   COH             192131297229                Gas           Gov. Aggregation
COH             203482830010                Gas           Gov. Aggregation   COH             166530750092                Gas           Gov. Aggregation
COH             199980010022                Gas           Gov. Aggregation   COH             167165290057                Gas           Gov. Aggregation
COH             203376380010                Gas           Gov. Aggregation   COH             167574160066                Gas           Gov. Aggregation
COH             203294310018                Gas           Gov. Aggregation   COH             188979000048                Gas           Gov. Aggregation
COH             203842290010                Gas           Gov. Aggregation   COH             204106970016                Gas           Gov. Aggregation
COH             204054450016                Gas           Gov. Aggregation   COH             204263390016                Gas           Gov. Aggregation
COH             204539010010                Gas           Gov. Aggregation   COH             204865370014                Gas           Gov. Aggregation
COH             204631920013                Gas           Gov. Aggregation   COH             204918940011                Gas           Gov. Aggregation
COH             133843450108                Gas           Gov. Aggregation   COH             204004710016                Gas           Gov. Aggregation
COH             172040010052                Gas           Gov. Aggregation   COH             174714040037                Gas           Gov. Aggregation
COH             176438940041                Gas           Gov. Aggregation   COH             203490270011                Gas           Gov. Aggregation
COH             131497490027                Gas           Gov. Aggregation   COH             203040380011                Gas           Gov. Aggregation
COH             204617970013                Gas           Gov. Aggregation   COH             203105060029                Gas           Gov. Aggregation
COH             204622080019                Gas           Gov. Aggregation   COH             202801790012                Gas           Gov. Aggregation
COH             204442000017                Gas           Gov. Aggregation   COH             191720240031                Gas           Gov. Aggregation
COH             204179370019                Gas           Gov. Aggregation   COH             190451070057                Gas           Gov. Aggregation
COH             200422050013                Gas           Gov. Aggregation   COH             193019560020                Gas           Gov. Aggregation
COH             201682510015                Gas           Gov. Aggregation   COH             193023290037                Gas           Gov. Aggregation
COH             202513500013                Gas           Gov. Aggregation   COH             204666990016                Gas           Gov. Aggregation
COH             203604820012                Gas           Gov. Aggregation   COH             193183540027                Gas           Gov. Aggregation
COH             203977710016                Gas           Gov. Aggregation   COH             194113600039                Gas           Gov. Aggregation
COH             204140160014                Gas           Gov. Aggregation   COH             190847530042                Gas           Gov. Aggregation
COH             204166040015                Gas           Gov. Aggregation   COH             158864570057                Gas           Gov. Aggregation
COH             204449480013                Gas           Gov. Aggregation   COH             142333110038                Gas           Gov. Aggregation
COH             198022510037                Gas           Gov. Aggregation   COH             153570770044                Gas           Gov. Aggregation
COH             203942040010                Gas           Gov. Aggregation   COH             162052350021                Gas           Gov. Aggregation
COH             122190250037                Gas           Gov. Aggregation   COH             188452800037                Gas           Gov. Aggregation
COH             168163040052                Gas           Gov. Aggregation   COH             192131298031                Gas           Gov. Aggregation
COH             172900330042                Gas           Gov. Aggregation   COH             203350930018                Gas           Gov. Aggregation
COH             177212140055                Gas           Gov. Aggregation   COH             203421950013                Gas           Gov. Aggregation
COH             177212140064                Gas           Gov. Aggregation   COH             203324720017                Gas           Gov. Aggregation
COH             193114790020                Gas           Gov. Aggregation   COH             203079870884                Gas           Gov. Aggregation
COH             185417380033                Gas           Gov. Aggregation   COH             203505350011                Gas           Gov. Aggregation
COH             188464070036                Gas           Gov. Aggregation   COH             194469600036                Gas           Gov. Aggregation
COH             196872410093                Gas           Gov. Aggregation   COH             132678220046                Gas           Gov. Aggregation
COH             195061020031                Gas           Gov. Aggregation   COH             201435760025                Gas           Gov. Aggregation
COH             176163420089                Gas           Gov. Aggregation   COH             204152350019                Gas           Gov. Aggregation
COH             168392120032                Gas           Gov. Aggregation   COH             203894700014                Gas           Gov. Aggregation
COH             122355370014                Gas           Gov. Aggregation   COH             203770260019                Gas           Gov. Aggregation
COH             200578640029                Gas           Gov. Aggregation   COH             205259880011                Gas           Gov. Aggregation
COH             203351410015                Gas           Gov. Aggregation   COH             204726830011                Gas           Gov. Aggregation
COH             203868520017                Gas           Gov. Aggregation   COH             189687290055                Gas           Gov. Aggregation
COH             204381730014                Gas           Gov. Aggregation   COH             174757840048                Gas           Gov. Aggregation
COH             204439360019                Gas           Gov. Aggregation   COH             174144740066                Gas           Gov. Aggregation
COH             202920850017                Gas           Gov. Aggregation   COH             195727770050                Gas           Gov. Aggregation
COH             203652560016                Gas           Gov. Aggregation   COH             195773160677                Gas           Gov. Aggregation
COH             200372810029                Gas           Gov. Aggregation   COH             159994910059                Gas           Gov. Aggregation
COH             122368130035                Gas           Gov. Aggregation   COH             156071460062                Gas           Gov. Aggregation
COH             145200000020                Gas           Gov. Aggregation   COH             198832610020                Gas           Gov. Aggregation
COH             122364020312                Gas           Gov. Aggregation   COH             202397280018                Gas           Gov. Aggregation
COH             204498870018                Gas           Gov. Aggregation   COH             201943870016                Gas           Gov. Aggregation
COH             204207680013                Gas           Gov. Aggregation   COH             202362780016                Gas           Gov. Aggregation
COH             202787060017                Gas           Gov. Aggregation   COH             200423540027                Gas           Gov. Aggregation
COH             202594570019                Gas           Gov. Aggregation   COH             192131298942                Gas           Gov. Aggregation
COH             202687250019                Gas           Gov. Aggregation   COH             190528870010                Gas           Gov. Aggregation
COH             203882870014                Gas           Gov. Aggregation   COH             197279190024                Gas           Gov. Aggregation
COH             204107510010                Gas           Gov. Aggregation   COH             199465800037                Gas           Gov. Aggregation
COH             204115650014                Gas           Gov. Aggregation   COH             195850970020                Gas           Gov. Aggregation
COH             204290410014                Gas           Gov. Aggregation   COH             204161160010                Gas           Gov. Aggregation
COH             139073660067                Gas           Gov. Aggregation   COH             118477560067                Gas           Gov. Aggregation
COH             122360790168                Gas           Gov. Aggregation   COH             204474620010                Gas           Gov. Aggregation
COH             160219350065                Gas           Gov. Aggregation   COH             192131297452                Gas           Gov. Aggregation
COH             187454330051                Gas           Gov. Aggregation   COH             191444790023                Gas           Gov. Aggregation
COH             204088750012                Gas           Gov. Aggregation   COH             194129910068                Gas           Gov. Aggregation
COH             203292910016                Gas           Gov. Aggregation   COH             192131296757                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             199548450026                Gas           Gov. Aggregation   COH             202983630011                Gas           Gov. Aggregation
COH             203791810019                Gas           Gov. Aggregation   COH             201753570012                Gas           Gov. Aggregation
COH             165078810045                Gas           Gov. Aggregation   COH             203966090010                Gas           Gov. Aggregation
COH             167950680023                Gas           Gov. Aggregation   COH             198976510027                Gas           Gov. Aggregation
COH             174380100051                Gas           Gov. Aggregation   COH             201740550013                Gas           Gov. Aggregation
COH             131457270036                Gas           Gov. Aggregation   COH             202886830015                Gas           Gov. Aggregation
COH             137616680027                Gas           Gov. Aggregation   COH             203195810013                Gas           Gov. Aggregation
COH             204135470010                Gas           Gov. Aggregation   COH             202551000018                Gas           Gov. Aggregation
COH             204207620015                Gas           Gov. Aggregation   COH             200745770027                Gas           Gov. Aggregation
COH             204442020013                Gas           Gov. Aggregation   COH             194873780032                Gas           Gov. Aggregation
COH             199786770025                Gas           Gov. Aggregation   COH             168756950027                Gas           Gov. Aggregation
COH             203265240014                Gas           Gov. Aggregation   COH             157508670051                Gas           Gov. Aggregation
COH             203315060015                Gas           Gov. Aggregation   COH             132849800050                Gas           Gov. Aggregation
COH             203477590012                Gas           Gov. Aggregation   COH             191153510028                Gas           Gov. Aggregation
COH             198832930023                Gas           Gov. Aggregation   COH             190910500025                Gas           Gov. Aggregation
COH             203433620017                Gas           Gov. Aggregation   COH             190695490026                Gas           Gov. Aggregation
COH             196994320021                Gas           Gov. Aggregation   COH             192131297327                Gas           Gov. Aggregation
COH             200236760028                Gas           Gov. Aggregation   COH             198490370036                Gas           Gov. Aggregation
COH             203299720012                Gas           Gov. Aggregation   COH             201722500011                Gas           Gov. Aggregation
COH             203417610013                Gas           Gov. Aggregation   COH             202432780017                Gas           Gov. Aggregation
COH             202580900018                Gas           Gov. Aggregation   COH             204527600011                Gas           Gov. Aggregation
COH             203834740012                Gas           Gov. Aggregation   COH             204741020019                Gas           Gov. Aggregation
COH             202967830013                Gas           Gov. Aggregation   COH             205179510018                Gas           Gov. Aggregation
COH             202525210019                Gas           Gov. Aggregation   COH             199005800013                Gas           Gov. Aggregation
COH             203726590013                Gas           Gov. Aggregation   COH             194113390025                Gas           Gov. Aggregation
COH             203811840019                Gas           Gov. Aggregation   COH             149931970140                Gas           Gov. Aggregation
COH             132103420014                Gas           Gov. Aggregation   COH             150932980143                Gas           Gov. Aggregation
COH             202408740016                Gas           Gov. Aggregation   COH             137582530049                Gas           Gov. Aggregation
COH             191473170022                Gas           Gov. Aggregation   COH             202088140012                Gas           Gov. Aggregation
COH             122418630140                Gas           Gov. Aggregation   COH             201628050016                Gas           Gov. Aggregation
DEO             8421003842186               Gas           Gov. Aggregation   COH             203733280013                Gas           Gov. Aggregation
DEO             7421001026982               Gas           Gov. Aggregation   COH             177845080093                Gas           Gov. Aggregation
DEO             9500021189422               Gas           Gov. Aggregation   COH             177388040064                Gas           Gov. Aggregation
DEO             5500021968802               Gas           Gov. Aggregation   COH             201407330015                Gas           Gov. Aggregation
DEO             0500037459510               Gas           Gov. Aggregation   COH             201428920017                Gas           Gov. Aggregation
DEO             4500014673195               Gas           Gov. Aggregation   COH             205258200015                Gas           Gov. Aggregation
DEO             1500036209824               Gas           Gov. Aggregation   COH             205076670013                Gas           Gov. Aggregation
VEDO            4002276332222753            Gas           Gov. Aggregation   COH             204538380015                Gas           Gov. Aggregation
DEO             9180006059945               Gas           Gov. Aggregation   COH             117106420017                Gas           Gov. Aggregation
DEO             0500063003124               Gas           Gov. Aggregation   COH             202312840018                Gas           Gov. Aggregation
COH             176688450063                Gas           Gov. Aggregation   COH             203414690013                Gas           Gov. Aggregation
COH             166486190031                Gas           Gov. Aggregation   COH             205171300018                Gas           Gov. Aggregation
COH             147749730014                Gas           Gov. Aggregation   COH             204885700012                Gas           Gov. Aggregation
COH             203836100012                Gas           Gov. Aggregation   COH             196463040025                Gas           Gov. Aggregation
COH             193140050020                Gas           Gov. Aggregation   COH             205265090014                Gas           Gov. Aggregation
COH             157001820026                Gas           Gov. Aggregation   COH             196147480023                Gas           Gov. Aggregation
COH             202690450010                Gas           Gov. Aggregation   COH             201587890018                Gas           Gov. Aggregation
COH             202780880019                Gas           Gov. Aggregation   COH             202482250013                Gas           Gov. Aggregation
COH             145831100095                Gas           Gov. Aggregation   COH             199047790036                Gas           Gov. Aggregation
COH             197578490045                Gas           Gov. Aggregation   COH             202804950012                Gas           Gov. Aggregation
COH             195628340032                Gas           Gov. Aggregation   COH             204336830018                Gas           Gov. Aggregation
COH             202363970014                Gas           Gov. Aggregation   COH             201097490011                Gas           Gov. Aggregation
COH             203095490013                Gas           Gov. Aggregation   COH             186322200110                Gas           Gov. Aggregation
COH             201273090011                Gas           Gov. Aggregation   COH             204024440011                Gas           Gov. Aggregation
COH             201283390017                Gas           Gov. Aggregation   COH             203747330013                Gas           Gov. Aggregation
COH             201996700010                Gas           Gov. Aggregation   COH             200540660033                Gas           Gov. Aggregation
COH             204626440015                Gas           Gov. Aggregation   COH             137755850081                Gas           Gov. Aggregation
COH             204630850010                Gas           Gov. Aggregation   COH             202609740010                Gas           Gov. Aggregation
COH             202827430013                Gas           Gov. Aggregation   COH             202638400010                Gas           Gov. Aggregation
COH             198359560034                Gas           Gov. Aggregation   COH             202816040018                Gas           Gov. Aggregation
COH             202307310010                Gas           Gov. Aggregation   COH             194020550028                Gas           Gov. Aggregation
COH             176289060052                Gas           Gov. Aggregation   COH             188980580026                Gas           Gov. Aggregation
COH             168804840027                Gas           Gov. Aggregation   COH             203841690018                Gas           Gov. Aggregation
COH             156421420085                Gas           Gov. Aggregation   COH             192131299110                Gas           Gov. Aggregation
COH             108791180036                Gas           Gov. Aggregation   COH             199850840023                Gas           Gov. Aggregation
COH             108789330020                Gas           Gov. Aggregation   COH             160677060066                Gas           Gov. Aggregation
COH             108837080637                Gas           Gov. Aggregation   COH             162039300430                Gas           Gov. Aggregation
COH             202005380016                Gas           Gov. Aggregation   COH             162039300449                Gas           Gov. Aggregation
COH             204664360012                Gas           Gov. Aggregation   COH             158758340041                Gas           Gov. Aggregation
COH             204444900014                Gas           Gov. Aggregation   COH             170815890039                Gas           Gov. Aggregation
COH             203556050017                Gas           Gov. Aggregation   COH             204178440016                Gas           Gov. Aggregation
COH             203502230012                Gas           Gov. Aggregation   COH             202371730017                Gas           Gov. Aggregation
COH             203326660016                Gas           Gov. Aggregation   COH             202347620011                Gas           Gov. Aggregation
COH             203336800015                Gas           Gov. Aggregation   COH             202248020017                Gas           Gov. Aggregation
COH             203399500016                Gas           Gov. Aggregation   COH             202462850019                Gas           Gov. Aggregation
COH             201314640017                Gas           Gov. Aggregation   COH             201649860012                Gas           Gov. Aggregation
COH             108837080664                Gas           Gov. Aggregation   COH             162175760089                Gas           Gov. Aggregation
COH             191325620039                Gas           Gov. Aggregation   COH             164109160037                Gas           Gov. Aggregation
COH             203427780017                Gas           Gov. Aggregation   COH             154175580023                Gas           Gov. Aggregation
COH             203522950019                Gas           Gov. Aggregation   COH             129331740135                Gas           Gov. Aggregation
COH             204498860010                Gas           Gov. Aggregation   COH             191837390024                Gas           Gov. Aggregation
DEO             3180002358866               Gas           Gov. Aggregation   COH             196691760021                Gas           Gov. Aggregation
COH             122500840025                Gas           Gov. Aggregation   COH             197906080035                Gas           Gov. Aggregation
COH             166323600449                Gas           Gov. Aggregation   COH             199074060032                Gas           Gov. Aggregation
DEO             6180008048233               Gas           Gov. Aggregation   COH             195755160022                Gas           Gov. Aggregation
COH             118226070025                Gas           Gov. Aggregation   COH             167959940020                Gas           Gov. Aggregation
DEO             0500039688570               Gas           Gov. Aggregation   COH             202304760012                Gas           Gov. Aggregation
DEO             5420905293599               Gas           Gov. Aggregation   COH             172966530024                Gas           Gov. Aggregation
DEO             7500024164925               Gas           Gov. Aggregation   COH             174995500027                Gas           Gov. Aggregation
DEO             1421004923500               Gas           Gov. Aggregation   COH             199131570024                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             2500053898622               Gas           Gov. Aggregation   COH             195342600033                Gas           Gov. Aggregation
DEO             7421001465234               Gas           Gov. Aggregation   COH             194655270022                Gas           Gov. Aggregation
DEO             6500007674442               Gas           Gov. Aggregation   COH             193524200051                Gas           Gov. Aggregation
DEO             5421102502417               Gas           Gov. Aggregation   COH             176579010066                Gas           Gov. Aggregation
DEO             4120000188702               Gas           Gov. Aggregation   COH             174675660031                Gas           Gov. Aggregation
DEO             7500022264919               Gas           Gov. Aggregation   COH             162872110078                Gas           Gov. Aggregation
DEO             0500024292375               Gas           Gov. Aggregation   COH             163049370096                Gas           Gov. Aggregation
DEO             9180004257887               Gas           Gov. Aggregation   COH             204686940014                Gas           Gov. Aggregation
DEO             2500065059038               Gas           Gov. Aggregation   COH             201484750015                Gas           Gov. Aggregation
DEO             2500054578447               Gas           Gov. Aggregation   COH             201422910011                Gas           Gov. Aggregation
DEO             0500065574755               Gas           Gov. Aggregation   COH             158269710059                Gas           Gov. Aggregation
DEO             7500053689907               Gas           Gov. Aggregation   COH             192588970020                Gas           Gov. Aggregation
DEO             3500021404205               Gas           Gov. Aggregation   COH             117214670025                Gas           Gov. Aggregation
DEO             8120000153075               Gas           Gov. Aggregation   COH             203110410015                Gas           Gov. Aggregation
DEO             6180005342320               Gas           Gov. Aggregation   COH             204207070011                Gas           Gov. Aggregation
DEO             4500022758747               Gas           Gov. Aggregation   COH             201852000011                Gas           Gov. Aggregation
DEO             6500051274929               Gas           Gov. Aggregation   COH             205211780012                Gas           Gov. Aggregation
DEO             1500025586162               Gas           Gov. Aggregation   COH             151810730053                Gas           Gov. Aggregation
DEO             7140000062504               Gas           Gov. Aggregation   COH             203210940012                Gas           Gov. Aggregation
DEO             4421004883192               Gas           Gov. Aggregation   COH             200235170015                Gas           Gov. Aggregation
DEO             4500047175301               Gas           Gov. Aggregation   COH             200502970038                Gas           Gov. Aggregation
DEO             8500008438347               Gas           Gov. Aggregation   COH             201478010022                Gas           Gov. Aggregation
DEO             6421001870812               Gas           Gov. Aggregation   COH             201401520017                Gas           Gov. Aggregation
DEO             9421005172758               Gas           Gov. Aggregation   COH             201153100012                Gas           Gov. Aggregation
DEO             1421003033957               Gas           Gov. Aggregation   COH             201623480025                Gas           Gov. Aggregation
DEO             9140000087597               Gas           Gov. Aggregation   COH             199454460023                Gas           Gov. Aggregation
DEO             2180003520819               Gas           Gov. Aggregation   COH             194389780039                Gas           Gov. Aggregation
DEO             5500030698683               Gas           Gov. Aggregation   COH             194108870034                Gas           Gov. Aggregation
DEO             6421001416798               Gas           Gov. Aggregation   COH             193771450038                Gas           Gov. Aggregation
DEO             4500006535670               Gas           Gov. Aggregation   COH             192691480024                Gas           Gov. Aggregation
DEO             0180003633020               Gas           Gov. Aggregation   COH             197902740025                Gas           Gov. Aggregation
DEO             4421006634058               Gas           Gov. Aggregation   COH             203909720017                Gas           Gov. Aggregation
DEO             8500054895156               Gas           Gov. Aggregation   COH             197329080020                Gas           Gov. Aggregation
DEO             0500066030324               Gas           Gov. Aggregation   COH             145114400056                Gas           Gov. Aggregation
DEO             7180007968616               Gas           Gov. Aggregation   COH             204356190011                Gas           Gov. Aggregation
COH             111098960028                Gas           Gov. Aggregation   COH             203790590018                Gas           Gov. Aggregation
DEO             5500066243129               Gas           Gov. Aggregation   COH             205328800038                Gas           Gov. Aggregation
DEO             1500042485955               Gas           Gov. Aggregation   COH             205136370018                Gas           Gov. Aggregation
DEO             9421003746869               Gas           Gov. Aggregation   COH             204594840010                Gas           Gov. Aggregation
DEO             7180008527066               Gas           Gov. Aggregation   COH             204594840038                Gas           Gov. Aggregation
DEO             1500020881538               Gas           Gov. Aggregation   COH             204240060013                Gas           Gov. Aggregation
COH             156352670017                Gas           Gov. Aggregation   COH             201628200014                Gas           Gov. Aggregation
DEO             3140000042293               Gas           Gov. Aggregation   COH             204661510016                Gas           Gov. Aggregation
DEO             3500065349068               Gas           Gov. Aggregation   COH             188605010038                Gas           Gov. Aggregation
COH             199203830035                Gas           Gov. Aggregation   COH             164707010030                Gas           Gov. Aggregation
COH             198950050028                Gas           Gov. Aggregation   COH             186849650030                Gas           Gov. Aggregation
COH             203460400016                Gas           Gov. Aggregation   COH             176071640033                Gas           Gov. Aggregation
COH             203791760010                Gas           Gov. Aggregation   COH             174707420032                Gas           Gov. Aggregation
COH             203791770018                Gas           Gov. Aggregation   COH             189052000041                Gas           Gov. Aggregation
COH             203678790014                Gas           Gov. Aggregation   COH             167128290055                Gas           Gov. Aggregation
COH             154053810086                Gas           Gov. Aggregation   COH             174154250022                Gas           Gov. Aggregation
COH             202853640014                Gas           Gov. Aggregation   COH             203521680018                Gas           Gov. Aggregation
COH             204107420019                Gas           Gov. Aggregation   COH             203678400015                Gas           Gov. Aggregation
COH             148122090025                Gas           Gov. Aggregation   COH             203439180018                Gas           Gov. Aggregation
COH             135280540030                Gas           Gov. Aggregation   COH             205355560014                Gas           Gov. Aggregation
COH             135415880023                Gas           Gov. Aggregation   COH             204401550018                Gas           Gov. Aggregation
COH             192289190028                Gas           Gov. Aggregation   COH             139295470085                Gas           Gov. Aggregation
COH             195190940053                Gas           Gov. Aggregation   COH             197456740031                Gas           Gov. Aggregation
COH             176535650019                Gas           Gov. Aggregation   DUKE            4780214205                  Gas           Gov. Aggregation
COH             167478300042                Gas           Gov. Aggregation   DUKE            9350213002                  Gas           Gov. Aggregation
COH             168790630059                Gas           Gov. Aggregation   DUKE            6500384702                  Gas           Gov. Aggregation
COH             147433810016                Gas           Gov. Aggregation   DUKE            3040363103                  Gas           Gov. Aggregation
COH             111163380012                Gas           Gov. Aggregation   DUKE            7320355102                  Gas           Gov. Aggregation
COH             111092980017                Gas           Gov. Aggregation   DUKE            7560357003                  Gas           Gov. Aggregation
COH             204546830013                Gas           Gov. Aggregation   DUKE            6250355902                  Gas           Gov. Aggregation
COH             200969820013                Gas           Gov. Aggregation   DUKE            3800360002                  Gas           Gov. Aggregation
COH             139551180028                Gas           Gov. Aggregation   DUKE            4380386204                  Gas           Gov. Aggregation
COH             204065040019                Gas           Gov. Aggregation   DUKE            9280018322                  Gas           Gov. Aggregation
COH             203497240013                Gas           Gov. Aggregation   DUKE            6390018327                  Gas           Gov. Aggregation
COH             204420930018                Gas           Gov. Aggregation   DUKE            3770018320                  Gas           Gov. Aggregation
COH             191475760060                Gas           Gov. Aggregation   DUKE            9250018320                  Gas           Gov. Aggregation
COH             170212810024                Gas           Gov. Aggregation   DUKE            8250018324                  Gas           Gov. Aggregation
COH             111068770021                Gas           Gov. Aggregation   DUKE            8150018325                  Gas           Gov. Aggregation
COH             203265010012                Gas           Gov. Aggregation   DUKE            0580018322                  Gas           Gov. Aggregation
COH             203337970018                Gas           Gov. Aggregation   DUKE            3290018321                  Gas           Gov. Aggregation
COH             204015070018                Gas           Gov. Aggregation   DUKE            0380018330                  Gas           Gov. Aggregation
COH             111112980022                Gas           Gov. Aggregation   DUKE            8280018326                  Gas           Gov. Aggregation
COH             158918110030                Gas           Gov. Aggregation   DUKE            0580360202                  Gas           Gov. Aggregation
COH             193960830297                Gas           Gov. Aggregation   DUKE            6050350304                  Gas           Gov. Aggregation
COH             158688590048                Gas           Gov. Aggregation   DUKE            6790224702                  Gas           Gov. Aggregation
COH             185860690397                Gas           Gov. Aggregation   DUKE            6430221203                  Gas           Gov. Aggregation
COH             196033740029                Gas           Gov. Aggregation   DUKE            3210224002                  Gas           Gov. Aggregation
COH             198469160044                Gas           Gov. Aggregation   DUKE            2590224306                  Gas           Gov. Aggregation
COH             204605850031                Gas           Gov. Aggregation   DUKE            8430350207                  Gas           Gov. Aggregation
COH             204552360037                Gas           Gov. Aggregation   DUKE            8760352507                  Gas           Gov. Aggregation
COH             202973690038                Gas           Gov. Aggregation   DUKE            8760357205                  Gas           Gov. Aggregation
COH             203426000012                Gas           Gov. Aggregation   DUKE            7950351903                  Gas           Gov. Aggregation
COH             203278880013                Gas           Gov. Aggregation   DUKE            7910352007                  Gas           Gov. Aggregation
COH             203146330053                Gas           Gov. Aggregation   DUKE            9030222702                  Gas           Gov. Aggregation
COH             203532630015                Gas           Gov. Aggregation   DUKE            9010355305                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             203710730025                Gas           Gov. Aggregation   DUKE            7480220212                  Gas           Gov. Aggregation
COH             203647240014                Gas           Gov. Aggregation   DUKE            8490356302                  Gas           Gov. Aggregation
COH             204123100012                Gas           Gov. Aggregation   DUKE            8480220203                  Gas           Gov. Aggregation
COH             203008880014                Gas           Gov. Aggregation   DUKE            4160220603                  Gas           Gov. Aggregation
COH             204065010015                Gas           Gov. Aggregation   DUKE            4100353203                  Gas           Gov. Aggregation
COH             202984240011                Gas           Gov. Aggregation   DUKE            4290360604                  Gas           Gov. Aggregation
COH             204025000011                Gas           Gov. Aggregation   DUKE            4120353604                  Gas           Gov. Aggregation
COH             167151600112                Gas           Gov. Aggregation   DUKE            4360224808                  Gas           Gov. Aggregation
COH             203394540018                Gas           Gov. Aggregation   DUKE            4890356403                  Gas           Gov. Aggregation
COH             168012630039                Gas           Gov. Aggregation   DUKE            3330350607                  Gas           Gov. Aggregation
COH             188293280062                Gas           Gov. Aggregation   DUKE            3620224003                  Gas           Gov. Aggregation
COH             111071040018                Gas           Gov. Aggregation   DUKE            2060219605                  Gas           Gov. Aggregation
COH             203521850012                Gas           Gov. Aggregation   DUKE            1870221303                  Gas           Gov. Aggregation
COH             202902180016                Gas           Gov. Aggregation   DUKE            6850351902                  Gas           Gov. Aggregation
COH             203303600016                Gas           Gov. Aggregation   DUKE            6030357703                  Gas           Gov. Aggregation
COH             149917290027                Gas           Gov. Aggregation   DUKE            2590351204                  Gas           Gov. Aggregation
COH             185800390010                Gas           Gov. Aggregation   DUKE            0330355411                  Gas           Gov. Aggregation
COH             111061450013                Gas           Gov. Aggregation   DUKE            8650378303                  Gas           Gov. Aggregation
COH             111061530016                Gas           Gov. Aggregation   DUKE            7920385502                  Gas           Gov. Aggregation
COH             135685680097                Gas           Gov. Aggregation   DUKE            7920391902                  Gas           Gov. Aggregation
COH             198125860027                Gas           Gov. Aggregation   DUKE            2780360605                  Gas           Gov. Aggregation
COH             111099650012                Gas           Gov. Aggregation   DUKE            2520382702                  Gas           Gov. Aggregation
COH             111077320017                Gas           Gov. Aggregation   DUKE            1150372904                  Gas           Gov. Aggregation
COH             111089100027                Gas           Gov. Aggregation   DUKE            8000366202                  Gas           Gov. Aggregation
COH             112063680010                Gas           Gov. Aggregation   DUKE            8390385403                  Gas           Gov. Aggregation
COH             198608780020                Gas           Gov. Aggregation   DUKE            8190359704                  Gas           Gov. Aggregation
COH             201089410032                Gas           Gov. Aggregation   DUKE            7600380202                  Gas           Gov. Aggregation
COH             199795650012                Gas           Gov. Aggregation   DUKE            1790374903                  Gas           Gov. Aggregation
COH             196730430035                Gas           Gov. Aggregation   DUKE            1780368103                  Gas           Gov. Aggregation
COH             185996250043                Gas           Gov. Aggregation   DUKE            2250383202                  Gas           Gov. Aggregation
COH             172584070012                Gas           Gov. Aggregation   DUKE            1190223602                  Gas           Gov. Aggregation
COH             141792480012                Gas           Gov. Aggregation   DUKE            1010383202                  Gas           Gov. Aggregation
COH             166275720090                Gas           Gov. Aggregation   DUKE            1060384102                  Gas           Gov. Aggregation
COH             111065290082                Gas           Gov. Aggregation   DUKE            6840379802                  Gas           Gov. Aggregation
COH             203791610011                Gas           Gov. Aggregation   DUKE            3390377603                  Gas           Gov. Aggregation
COH             203762000010                Gas           Gov. Aggregation   DUKE            7900387402                  Gas           Gov. Aggregation
COH             204498770019                Gas           Gov. Aggregation   DUKE            3540378304                  Gas           Gov. Aggregation
COH             204511930015                Gas           Gov. Aggregation   DUKE            3070380702                  Gas           Gov. Aggregation
COH             128792340027                Gas           Gov. Aggregation   DUKE            0450223603                  Gas           Gov. Aggregation
COH             111080100016                Gas           Gov. Aggregation   DUKE            5700383702                  Gas           Gov. Aggregation
COH             137503870035                Gas           Gov. Aggregation   DUKE            5640389702                  Gas           Gov. Aggregation
COH             200403390012                Gas           Gov. Aggregation   DUKE            4760378202                  Gas           Gov. Aggregation
COH             190644250023                Gas           Gov. Aggregation   DUKE            3410361503                  Gas           Gov. Aggregation
COH             201319660013                Gas           Gov. Aggregation   DUKE            3410379304                  Gas           Gov. Aggregation
COH             201629180026                Gas           Gov. Aggregation   DUKE            3400366902                  Gas           Gov. Aggregation
COH             189918520037                Gas           Gov. Aggregation   DUKE            3120353204                  Gas           Gov. Aggregation
COH             159454900064                Gas           Gov. Aggregation   DUKE            0230352103                  Gas           Gov. Aggregation
COH             111084550014                Gas           Gov. Aggregation   DUKE            9030354502                  Gas           Gov. Aggregation
COH             111102140010                Gas           Gov. Aggregation   DUKE            7630351505                  Gas           Gov. Aggregation
COH             111102330092                Gas           Gov. Aggregation   DUKE            7620355008                  Gas           Gov. Aggregation
COH             111102330109                Gas           Gov. Aggregation   DUKE            6060353006                  Gas           Gov. Aggregation
COH             204051340015                Gas           Gov. Aggregation   DUKE            5530352510                  Gas           Gov. Aggregation
COH             157897650052                Gas           Gov. Aggregation   DUKE            5120353204                  Gas           Gov. Aggregation
COH             166346360059                Gas           Gov. Aggregation   DUKE            4690351803                  Gas           Gov. Aggregation
COH             144662790037                Gas           Gov. Aggregation   DUKE            4270354502                  Gas           Gov. Aggregation
COH             203892770014                Gas           Gov. Aggregation   DUKE            6850352902                  Gas           Gov. Aggregation
COH             204301460019                Gas           Gov. Aggregation   DUKE            8360221201                  Gas           Gov. Aggregation
COH             203278890011                Gas           Gov. Aggregation   DUKE            1580219002                  Gas           Gov. Aggregation
COH             199850750022                Gas           Gov. Aggregation   DUKE            4330366903                  Gas           Gov. Aggregation
COH             175607190032                Gas           Gov. Aggregation   DUKE            3440217905                  Gas           Gov. Aggregation
DEO             7500025221644               Gas           Gov. Aggregation   DUKE            4040389802                  Gas           Gov. Aggregation
COH             196424300022                Gas           Gov. Aggregation   COH             202570990020                Gas           Gov. Aggregation
COH             142396640044                Gas           Gov. Aggregation   COH             208500210015                Gas           Gov. Aggregation
COH             131658550031                Gas           Gov. Aggregation   COH             110319340029                Gas           Gov. Aggregation
DEO             1500023637776               Gas           Gov. Aggregation   COH             201447970035                Gas           Gov. Aggregation
COH             126794660046                Gas           Gov. Aggregation   COH             168618030264                Gas           Gov. Aggregation
COH             204918780015                Gas           Gov. Aggregation   COH             209974500010                Gas           Gov. Aggregation
COH             111188180012                Gas           Gov. Aggregation   COH             200199560020                Gas           Gov. Aggregation
COH             202042620017                Gas           Gov. Aggregation   COH             110364620016                Gas           Gov. Aggregation
COH             204513810016                Gas           Gov. Aggregation   COH             208819620014                Gas           Gov. Aggregation
COH             203519480015                Gas           Gov. Aggregation   COH             208731710011                Gas           Gov. Aggregation
COH             196263540024                Gas           Gov. Aggregation   COH             209616550018                Gas           Gov. Aggregation
COH             203553710096                Gas           Gov. Aggregation   COH             210148970010                Gas           Gov. Aggregation
COH             203238110018                Gas           Gov. Aggregation   COH             185192060038                Gas           Gov. Aggregation
COH             195385440037                Gas           Gov. Aggregation   COH             207005320022                Gas           Gov. Aggregation
COH             195385440046                Gas           Gov. Aggregation   COH             199413600029                Gas           Gov. Aggregation
COH             199594320017                Gas           Gov. Aggregation   COH             171132100040                Gas           Gov. Aggregation
COH             187739700022                Gas           Gov. Aggregation   COH             208498130019                Gas           Gov. Aggregation
COH             202208790010                Gas           Gov. Aggregation   COH             208674860012                Gas           Gov. Aggregation
COH             202272780017                Gas           Gov. Aggregation   COH             209322160013                Gas           Gov. Aggregation
COH             200769080013                Gas           Gov. Aggregation   COH             206401140012                Gas           Gov. Aggregation
COH             195296750031                Gas           Gov. Aggregation   COH             205827580019                Gas           Gov. Aggregation
COH             203687560013                Gas           Gov. Aggregation   COH             209571450015                Gas           Gov. Aggregation
DEO             1180008261046               Gas           Gov. Aggregation   COH             209276080019                Gas           Gov. Aggregation
DEO             5180008321983               Gas           Gov. Aggregation   COH             209509040030                Gas           Gov. Aggregation
DEO             0180008515594               Gas           Gov. Aggregation   COH             149095630074                Gas           Gov. Aggregation
DEO             0180008953318               Gas           Gov. Aggregation   COH             210200390010                Gas           Gov. Aggregation
DEO             0180008953394               Gas           Gov. Aggregation   COH             204198780013                Gas           Gov. Aggregation
COH             204825520016                Gas           Gov. Aggregation   COH             191592270074                Gas           Gov. Aggregation
DEO             8180008242466               Gas           Gov. Aggregation   COH             208812090010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             193460710023                Gas           Gov. Aggregation   COH             189062540038                Gas           Gov. Aggregation
COH             189513680032                Gas           Gov. Aggregation   COH             209486070016                Gas           Gov. Aggregation
COH             195440500027                Gas           Gov. Aggregation   COH             210177200010                Gas           Gov. Aggregation
COH             201428930015                Gas           Gov. Aggregation   COH             198387990071                Gas           Gov. Aggregation
COH             202482760016                Gas           Gov. Aggregation   COH             110381300026                Gas           Gov. Aggregation
COH             203881920015                Gas           Gov. Aggregation   COH             208839520013                Gas           Gov. Aggregation
COH             203547310011                Gas           Gov. Aggregation   COH             145119310091                Gas           Gov. Aggregation
COH             201761250012                Gas           Gov. Aggregation   COH             110381950011                Gas           Gov. Aggregation
COH             204020430011                Gas           Gov. Aggregation   COH             209664820010                Gas           Gov. Aggregation
COH             192692960049                Gas           Gov. Aggregation   COH             209308390015                Gas           Gov. Aggregation
COH             156511660048                Gas           Gov. Aggregation   COH             187541750021                Gas           Gov. Aggregation
COH             198116290026                Gas           Gov. Aggregation   COH             206946360012                Gas           Gov. Aggregation
COH             144226930022                Gas           Gov. Aggregation   COH             110388140017                Gas           Gov. Aggregation
COH             200924330010                Gas           Gov. Aggregation   COH             209758230015                Gas           Gov. Aggregation
COH             204780830017                Gas           Gov. Aggregation   COH             209740630018                Gas           Gov. Aggregation
COH             202101520012                Gas           Gov. Aggregation   COH             209994820011                Gas           Gov. Aggregation
COH             152481790022                Gas           Gov. Aggregation   COH             210102150018                Gas           Gov. Aggregation
COH             201628260012                Gas           Gov. Aggregation   COH             202568000013                Gas           Gov. Aggregation
COH             200793290018                Gas           Gov. Aggregation   DEO             8180013762508               Gas           Gov. Aggregation
COH             197385120023                Gas           Gov. Aggregation   DEO             0180010233438               Gas           Gov. Aggregation
COH             201568410018                Gas           Gov. Aggregation   DEO             6180009553146               Gas           Gov. Aggregation
COH             201516050013                Gas           Gov. Aggregation   DEO             1500062016105               Gas           Gov. Aggregation
COH             201858400015                Gas           Gov. Aggregation   DEO             4180006437765               Gas           Gov. Aggregation
COH             173053480083                Gas           Gov. Aggregation   DEO             9180003913487               Gas           Gov. Aggregation
COH             202271790017                Gas           Gov. Aggregation   DEO             9180003780676               Gas           Gov. Aggregation
COH             193798770062                Gas           Gov. Aggregation   DEO             5500060716500               Gas           Gov. Aggregation
COH             115415270016                Gas           Gov. Aggregation   DUKE            3900355502                  Gas           Gov. Aggregation
COH             115336720019                Gas           Gov. Aggregation   DUKE            3640360401                  Gas           Gov. Aggregation
COH             199897570040                Gas           Gov. Aggregation   DUKE            4950224204                  Gas           Gov. Aggregation
COH             139749930030                Gas           Gov. Aggregation   DUKE            4150361405                  Gas           Gov. Aggregation
COH             204608710016                Gas           Gov. Aggregation   DUKE            4320376801                  Gas           Gov. Aggregation
COH             202833700013                Gas           Gov. Aggregation   DUKE            6870357402                  Gas           Gov. Aggregation
COH             201905670018                Gas           Gov. Aggregation   DUKE            7020359904                  Gas           Gov. Aggregation
COH             139348870024                Gas           Gov. Aggregation   DUKE            6220355103                  Gas           Gov. Aggregation
COH             202552340015                Gas           Gov. Aggregation   DUKE            3330359805                  Gas           Gov. Aggregation
COH             202771950013                Gas           Gov. Aggregation   DUKE            3150364903                  Gas           Gov. Aggregation
COH             204142980018                Gas           Gov. Aggregation   DUKE            2850366604                  Gas           Gov. Aggregation
COH             204402590018                Gas           Gov. Aggregation   DUKE            4410359802                  Gas           Gov. Aggregation
COH             197250430014                Gas           Gov. Aggregation   DUKE            4490368302                  Gas           Gov. Aggregation
COH             185067280019                Gas           Gov. Aggregation   DUKE            4720388902                  Gas           Gov. Aggregation
COH             191057380011                Gas           Gov. Aggregation   DUKE            4810384601                  Gas           Gov. Aggregation
COH             185836500048                Gas           Gov. Aggregation   DUKE            4920366104                  Gas           Gov. Aggregation
COH             162694190016                Gas           Gov. Aggregation   DUKE            4910386902                  Gas           Gov. Aggregation
COH             199350710011                Gas           Gov. Aggregation   DUKE            0590385502                  Gas           Gov. Aggregation
COH             198421030014                Gas           Gov. Aggregation   DUKE            0650389702                  Gas           Gov. Aggregation
COH             201547510011                Gas           Gov. Aggregation   DUKE            5100387202                  Gas           Gov. Aggregation
COH             197755710015                Gas           Gov. Aggregation   DUKE            0140364302                  Gas           Gov. Aggregation
COH             139991950024                Gas           Gov. Aggregation   DUKE            0140389802                  Gas           Gov. Aggregation
COH             159785150034                Gas           Gov. Aggregation   DUKE            2970389202                  Gas           Gov. Aggregation
COH             164380150017                Gas           Gov. Aggregation   DUKE            6860357003                  Gas           Gov. Aggregation
COH             134530060022                Gas           Gov. Aggregation   DUKE            5230360603                  Gas           Gov. Aggregation
COH             174727010018                Gas           Gov. Aggregation   DUKE            5360359502                  Gas           Gov. Aggregation
COH             200681800017                Gas           Gov. Aggregation   DUKE            2350391602                  Gas           Gov. Aggregation
COH             193115970020                Gas           Gov. Aggregation   DUKE            1940389502                  Gas           Gov. Aggregation
COH             200353680036                Gas           Gov. Aggregation   DUKE            2330359803                  Gas           Gov. Aggregation
COH             191766320029                Gas           Gov. Aggregation   DUKE            1810363004                  Gas           Gov. Aggregation
COH             204808190012                Gas           Gov. Aggregation   DUKE            6340357607                  Gas           Gov. Aggregation
COH             171792320037                Gas           Gov. Aggregation   DUKE            7920366402                  Gas           Gov. Aggregation
COH             201904530019                Gas           Gov. Aggregation   DUKE            2550372603                  Gas           Gov. Aggregation
COH             200628520027                Gas           Gov. Aggregation   DUKE            8210392202                  Gas           Gov. Aggregation
COH             164842510057                Gas           Gov. Aggregation   DUKE            7440392202                  Gas           Gov. Aggregation
COH             151022880035                Gas           Gov. Aggregation   DUKE            1600391602                  Gas           Gov. Aggregation
COH             197757300026                Gas           Gov. Aggregation   DUKE            5430367405                  Gas           Gov. Aggregation
COH             198739900027                Gas           Gov. Aggregation   DUKE            6130392402                  Gas           Gov. Aggregation
COH             196343770035                Gas           Gov. Aggregation   DUKE            9420223405                  Gas           Gov. Aggregation
COH             193253010047                Gas           Gov. Aggregation   DUKE            4950367002                  Gas           Gov. Aggregation
COH             187676030027                Gas           Gov. Aggregation   DUKE            8220355702                  Gas           Gov. Aggregation
COH             168058050062                Gas           Gov. Aggregation   DUKE            9180366102                  Gas           Gov. Aggregation
VEDO            4001014302139685            Gas           Gov. Aggregation   DUKE            9180222803                  Gas           Gov. Aggregation
COH             200901210022                Gas           Gov. Aggregation   DUKE            9130223802                  Gas           Gov. Aggregation
COH             205116390016                Gas           Gov. Aggregation   DUKE            9350352603                  Gas           Gov. Aggregation
DEO             0421005336786               Gas           Gov. Aggregation   DUKE            9220359201                  Gas           Gov. Aggregation
COH             165656970019                Gas           Gov. Aggregation   DUKE            1460359701                  Gas           Gov. Aggregation
VEDO            4019823242628000            Gas           Gov. Aggregation   DUKE            5540353102                  Gas           Gov. Aggregation
COH             190472360016                Gas           Gov. Aggregation   DUKE            6220036522                  Gas           Gov. Aggregation
COH             123712090014                Gas           Gov. Aggregation   DUKE            2160220409                  Gas           Gov. Aggregation
DEO             2500051327409               Gas           Gov. Aggregation   DUKE            2750218905                  Gas           Gov. Aggregation
COH             118057520029                Gas           Gov. Aggregation   DUKE            3300218007                  Gas           Gov. Aggregation
COH             170937210024                Gas           Gov. Aggregation   DUKE            8700220511                  Gas           Gov. Aggregation
DEO             4180008387519               Gas           Gov. Aggregation   DUKE            9850218803                  Gas           Gov. Aggregation
DEO             2500065957443               Gas           Gov. Aggregation   DUKE            7640219702                  Gas           Gov. Aggregation
COH             111063880019                Gas           Gov. Aggregation   DUKE            0290018329                  Gas           Gov. Aggregation
DEO             2500027636474               Gas           Gov. Aggregation   DUKE            3190018320                  Gas           Gov. Aggregation
DEO             1180005526541               Gas           Gov. Aggregation   DUKE            8220036521                  Gas           Gov. Aggregation
COH             130308550033                Gas           Gov. Aggregation   DUKE            7220036520                  Gas           Gov. Aggregation
COH             130308550024                Gas           Gov. Aggregation   DUKE            3320036523                  Gas           Gov. Aggregation
DEO             5180008634609               Gas           Gov. Aggregation   DUKE            1320036523                  Gas           Gov. Aggregation
COH             111099900019                Gas           Gov. Aggregation   DUKE            4650036421                  Gas           Gov. Aggregation
DEO             2180008795884               Gas           Gov. Aggregation   DUKE            1130018322                  Gas           Gov. Aggregation
COH             205009880010                Gas           Gov. Aggregation   DUKE            0130018321                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
VEDO            4002386102673237            Gas           Gov. Aggregation   DUKE         0030018322                  Gas           Gov. Aggregation
COH             148202400029                Gas           Gov. Aggregation   DUKE         1680018330                  Gas           Gov. Aggregation
COH             118824060010                Gas           Gov. Aggregation   DUKE         1480018326                  Gas           Gov. Aggregation
VEDO            4001259742280990            Gas           Gov. Aggregation   DUKE         2480018323                  Gas           Gov. Aggregation
VEDO            4016934362621879            Gas           Gov. Aggregation   DUKE         3160018321                  Gas           Gov. Aggregation
COH             148958120018                Gas           Gov. Aggregation   DUKE         5550018325                  Gas           Gov. Aggregation
COH             197065990074                Gas           Gov. Aggregation   DUKE         8480018336                  Gas           Gov. Aggregation
DEO             0180008928285               Gas           Gov. Aggregation   DUKE         4870378504                  Gas           Gov. Aggregation
DEO             3180008853599               Gas           Gov. Aggregation   DUKE         3680018328                  Gas           Gov. Aggregation
DEO             3180008739445               Gas           Gov. Aggregation   DUKE         3380018329                  Gas           Gov. Aggregation
DEO             4180008663563               Gas           Gov. Aggregation   DUKE         7320036520                  Gas           Gov. Aggregation
DEO             5330000014883               Gas           Gov. Aggregation   DUKE         8120036521                  Gas           Gov. Aggregation
COH             111169060026                Gas           Gov. Aggregation   DUKE         5850036420                  Gas           Gov. Aggregation
COH             153475520020                Gas           Gov. Aggregation   DUKE         2650077832                  Gas           Gov. Aggregation
COH             114974400024                Gas           Gov. Aggregation   DUKE         5710374104                  Gas           Gov. Aggregation
COH             114999560029                Gas           Gov. Aggregation   DUKE         2250067603                  Gas           Gov. Aggregation
COH             114985980039                Gas           Gov. Aggregation   DUKE         7690381803                  Gas           Gov. Aggregation
COH             204522470019                Gas           Gov. Aggregation   DUKE         8420217302                  Gas           Gov. Aggregation
COH             202758740015                Gas           Gov. Aggregation   DUKE         5220216004                  Gas           Gov. Aggregation
COH             196308470014                Gas           Gov. Aggregation   DUKE         8510217104                  Gas           Gov. Aggregation
COH             200680920014                Gas           Gov. Aggregation   DUKE         4200214302                  Gas           Gov. Aggregation
COH             168771020020                Gas           Gov. Aggregation   DUKE         1890219402                  Gas           Gov. Aggregation
COH             114606980022                Gas           Gov. Aggregation   DUKE         7550219904                  Gas           Gov. Aggregation
COH             192743530031                Gas           Gov. Aggregation   DUKE         0610224104                  Gas           Gov. Aggregation
COH             131752400032                Gas           Gov. Aggregation   DUKE         2140216304                  Gas           Gov. Aggregation
COH             203173210015                Gas           Gov. Aggregation   DUKE         7490350002                  Gas           Gov. Aggregation
COH             201290050022                Gas           Gov. Aggregation   DUKE         8100009122                  Gas           Gov. Aggregation
COH             195081030019                Gas           Gov. Aggregation   DUKE         2180200103                  Gas           Gov. Aggregation
COH             204398730019                Gas           Gov. Aggregation   DUKE         5010058423                  Gas           Gov. Aggregation
COH             201424320011                Gas           Gov. Aggregation   DUKE         3680211109                  Gas           Gov. Aggregation
COH             201746060014                Gas           Gov. Aggregation   DUKE         1630205402                  Gas           Gov. Aggregation
COH             200219100013                Gas           Gov. Aggregation   DUKE         0600073120                  Gas           Gov. Aggregation
COH             202973020010                Gas           Gov. Aggregation   DUKE         0370071224                  Gas           Gov. Aggregation
COH             114946640032                Gas           Gov. Aggregation   DUKE         0110058421                  Gas           Gov. Aggregation
COH             202167620013                Gas           Gov. Aggregation   DUKE         9010058420                  Gas           Gov. Aggregation
COH             186736400031                Gas           Gov. Aggregation   DUKE         7840389402                  Gas           Gov. Aggregation
COH             196205960019                Gas           Gov. Aggregation   DUKE         8010058420                  Gas           Gov. Aggregation
COH             205027670016                Gas           Gov. Aggregation   DUKE         4120077333                  Gas           Gov. Aggregation
COH             138060760555                Gas           Gov. Aggregation   DUKE         4790355102                  Gas           Gov. Aggregation
COH             156645830030                Gas           Gov. Aggregation   DUKE         4790058322                  Gas           Gov. Aggregation
COH             121857080049                Gas           Gov. Aggregation   DUKE         1590058322                  Gas           Gov. Aggregation
COH             195257410025                Gas           Gov. Aggregation   DUKE         1390058320                  Gas           Gov. Aggregation
COH             114975810035                Gas           Gov. Aggregation   DUKE         9700058426                  Gas           Gov. Aggregation
COH             157565820031                Gas           Gov. Aggregation   DUKE         8880058327                  Gas           Gov. Aggregation
COH             190232310032                Gas           Gov. Aggregation   DUKE         7880058323                  Gas           Gov. Aggregation
COH             189057670041                Gas           Gov. Aggregation   DUKE         8980058325                  Gas           Gov. Aggregation
COH             191180030022                Gas           Gov. Aggregation   DUKE         7400058420                  Gas           Gov. Aggregation
COH             201774750010                Gas           Gov. Aggregation   DUKE         7760391801                  Gas           Gov. Aggregation
COH             201634420015                Gas           Gov. Aggregation   DUKE         5880058330                  Gas           Gov. Aggregation
COH             201687670012                Gas           Gov. Aggregation   DUKE         1860220202                  Gas           Gov. Aggregation
COH             192269810074                Gas           Gov. Aggregation   DUKE         8210058425                  Gas           Gov. Aggregation
COH             203041640014                Gas           Gov. Aggregation   DUKE         9300058423                  Gas           Gov. Aggregation
COH             195436940024                Gas           Gov. Aggregation   DUKE         7130374701                  Gas           Gov. Aggregation
COH             200758810012                Gas           Gov. Aggregation   DUKE         0310058425                  Gas           Gov. Aggregation
COH             115025320021                Gas           Gov. Aggregation   DUKE         2800058424                  Gas           Gov. Aggregation
COH             198426470012                Gas           Gov. Aggregation   DUKE         2210058431                  Gas           Gov. Aggregation
COH             168788690034                Gas           Gov. Aggregation   DUKE         2110058428                  Gas           Gov. Aggregation
COH             115017640012                Gas           Gov. Aggregation   DUKE         2010058423                  Gas           Gov. Aggregation
COH             204444660015                Gas           Gov. Aggregation   DUKE         8600058421                  Gas           Gov. Aggregation
COH             200590040010                Gas           Gov. Aggregation   DUKE         2500058420                  Gas           Gov. Aggregation
COH             144759720143                Gas           Gov. Aggregation   DUKE         0370084625                  Gas           Gov. Aggregation
COH             114918070013                Gas           Gov. Aggregation   DUKE         0500058422                  Gas           Gov. Aggregation
COH             199338500011                Gas           Gov. Aggregation   DUKE         0720072720                  Gas           Gov. Aggregation
COH             187155000036                Gas           Gov. Aggregation   DUKE         2120055421                  Gas           Gov. Aggregation
COH             175858980044                Gas           Gov. Aggregation   DUKE         7020055421                  Gas           Gov. Aggregation
COH             160784270029                Gas           Gov. Aggregation   DUKE         6120055420                  Gas           Gov. Aggregation
COH             153916860014                Gas           Gov. Aggregation   DUKE         4120055422                  Gas           Gov. Aggregation
COH             204563160018                Gas           Gov. Aggregation   DUKE         5120055422                  Gas           Gov. Aggregation
COH             197782970014                Gas           Gov. Aggregation   DUKE         3120055427                  Gas           Gov. Aggregation
COH             200078370017                Gas           Gov. Aggregation   DUKE         3160055422                  Gas           Gov. Aggregation
COH             114889890014                Gas           Gov. Aggregation   DUKE         3810055424                  Gas           Gov. Aggregation
COH             204787890011                Gas           Gov. Aggregation   DUKE         2450055422                  Gas           Gov. Aggregation
COH             169982920023                Gas           Gov. Aggregation   DUKE         2190203404                  Gas           Gov. Aggregation
COH             196177870028                Gas           Gov. Aggregation   DUKE         7750055437                  Gas           Gov. Aggregation
COH             203844870014                Gas           Gov. Aggregation   DUKE         8370055420                  Gas           Gov. Aggregation
COH             163604260037                Gas           Gov. Aggregation   DUKE         8550055424                  Gas           Gov. Aggregation
COH             149817010063                Gas           Gov. Aggregation   DUKE         8650055422                  Gas           Gov. Aggregation
COH             203509810016                Gas           Gov. Aggregation   DUKE         8470055421                  Gas           Gov. Aggregation
COH             204210970015                Gas           Gov. Aggregation   DUKE         8750055424                  Gas           Gov. Aggregation
COH             193840980012                Gas           Gov. Aggregation   DUKE         9470055420                  Gas           Gov. Aggregation
COH             166830790061                Gas           Gov. Aggregation   DUKE         4550055420                  Gas           Gov. Aggregation
COH             170832280059                Gas           Gov. Aggregation   DUKE         4570055422                  Gas           Gov. Aggregation
COH             177394170037                Gas           Gov. Aggregation   DUKE         3570055420                  Gas           Gov. Aggregation
COH             173070790037                Gas           Gov. Aggregation   DUKE         8060055422                  Gas           Gov. Aggregation
COH             195381520029                Gas           Gov. Aggregation   DUKE         7260055426                  Gas           Gov. Aggregation
COH             202552510019                Gas           Gov. Aggregation   DUKE         2810055421                  Gas           Gov. Aggregation
COH             170292830022                Gas           Gov. Aggregation   DUKE         0160055427                  Gas           Gov. Aggregation
COH             194760720042                Gas           Gov. Aggregation   DUKE         4610055420                  Gas           Gov. Aggregation
COH             202133710015                Gas           Gov. Aggregation   DUKE         0570055421                  Gas           Gov. Aggregation
COH             200684610011                Gas           Gov. Aggregation   DUKE         5570055421                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             200154480012                Gas           Gov. Aggregation   DUKE            2750055429                  Gas           Gov. Aggregation
COH             185603040048                Gas           Gov. Aggregation   DUKE            5470055421                  Gas           Gov. Aggregation
COH             173878260027                Gas           Gov. Aggregation   DUKE            5650055424                  Gas           Gov. Aggregation
COH             172326700015                Gas           Gov. Aggregation   DUKE            2160055427                  Gas           Gov. Aggregation
COH             204589510010                Gas           Gov. Aggregation   DUKE            1220055422                  Gas           Gov. Aggregation
COH             201466790015                Gas           Gov. Aggregation   DUKE            1160055422                  Gas           Gov. Aggregation
COH             203942860018                Gas           Gov. Aggregation   DUKE            0900373501                  Gas           Gov. Aggregation
COH             204329570018                Gas           Gov. Aggregation   DUKE            0810055422                  Gas           Gov. Aggregation
COH             153636620072                Gas           Gov. Aggregation   DUKE            0500055424                  Gas           Gov. Aggregation
COH             147258450014                Gas           Gov. Aggregation   DUKE            0700055422                  Gas           Gov. Aggregation
COH             131714890030                Gas           Gov. Aggregation   DUKE            0210224602                  Gas           Gov. Aggregation
COH             194614740010                Gas           Gov. Aggregation   DUKE            0110055422                  Gas           Gov. Aggregation
COH             201191770012                Gas           Gov. Aggregation   DUKE            7920214402                  Gas           Gov. Aggregation
COH             201634470024                Gas           Gov. Aggregation   DUKE            8700055421                  Gas           Gov. Aggregation
COH             172179190043                Gas           Gov. Aggregation   DUKE            4030214402                  Gas           Gov. Aggregation
COH             114945010054                Gas           Gov. Aggregation   DUKE            1500055423                  Gas           Gov. Aggregation
COH             145301000035                Gas           Gov. Aggregation   DUKE            1700055422                  Gas           Gov. Aggregation
COH             141574790028                Gas           Gov. Aggregation   DUKE            3110055422                  Gas           Gov. Aggregation
COH             114954780018                Gas           Gov. Aggregation   DUKE            3600055421                  Gas           Gov. Aggregation
COH             114987230023                Gas           Gov. Aggregation   DUKE            3810387501                  Gas           Gov. Aggregation
COH             202790380013                Gas           Gov. Aggregation   DUKE            3800055422                  Gas           Gov. Aggregation
COH             201005460029                Gas           Gov. Aggregation   DUKE            5010055425                  Gas           Gov. Aggregation
COH             201207870016                Gas           Gov. Aggregation   DUKE            5400055420                  Gas           Gov. Aggregation
COH             202184230019                Gas           Gov. Aggregation   DUKE            5500055423                  Gas           Gov. Aggregation
COH             194427170035                Gas           Gov. Aggregation   DUKE            9700055422                  Gas           Gov. Aggregation
COH             194839580018                Gas           Gov. Aggregation   DUKE            8400055421                  Gas           Gov. Aggregation
COH             196150750029                Gas           Gov. Aggregation   DUKE            7700055422                  Gas           Gov. Aggregation
COH             173434660023                Gas           Gov. Aggregation   DUKE            9010055425                  Gas           Gov. Aggregation
COH             203745830012                Gas           Gov. Aggregation   DUKE            8940361201                  Gas           Gov. Aggregation
COH             204362570018                Gas           Gov. Aggregation   DUKE            8600055425                  Gas           Gov. Aggregation
COH             203963900015                Gas           Gov. Aggregation   DUKE            2700055423                  Gas           Gov. Aggregation
COH             202955210036                Gas           Gov. Aggregation   DUKE            1420036522                  Gas           Gov. Aggregation
COH             198690980034                Gas           Gov. Aggregation   DUKE            5850018321                  Gas           Gov. Aggregation
COH             194306050018                Gas           Gov. Aggregation   DUKE            5750018321                  Gas           Gov. Aggregation
COH             171070140026                Gas           Gov. Aggregation   DUKE            6280018322                  Gas           Gov. Aggregation
COH             204933680014                Gas           Gov. Aggregation   DUKE            6970018322                  Gas           Gov. Aggregation
COH             203450140012                Gas           Gov. Aggregation   DUKE            3350018321                  Gas           Gov. Aggregation
COH             205104320015                Gas           Gov. Aggregation   DUKE            9950018325                  Gas           Gov. Aggregation
COH             197424480015                Gas           Gov. Aggregation   DUKE            4750018322                  Gas           Gov. Aggregation
COH             204362600011                Gas           Gov. Aggregation   DUKE            4970018324                  Gas           Gov. Aggregation
COH             204283690011                Gas           Gov. Aggregation   DUKE            4350018320                  Gas           Gov. Aggregation
COH             159081880024                Gas           Gov. Aggregation   DUKE            3970018322                  Gas           Gov. Aggregation
COH             158224140062                Gas           Gov. Aggregation   DUKE            3060018320                  Gas           Gov. Aggregation
COH             155142650071                Gas           Gov. Aggregation   DUKE            9570018321                  Gas           Gov. Aggregation
COH             142179240048                Gas           Gov. Aggregation   DUKE            4570018321                  Gas           Gov. Aggregation
COH             203598510012                Gas           Gov. Aggregation   DUKE            7750018320                  Gas           Gov. Aggregation
COH             188806560046                Gas           Gov. Aggregation   DUKE            8080018328                  Gas           Gov. Aggregation
COH             187805350052                Gas           Gov. Aggregation   DUKE            6350018320                  Gas           Gov. Aggregation
COH             195458810025                Gas           Gov. Aggregation   DUKE            1080018327                  Gas           Gov. Aggregation
COH             197143870028                Gas           Gov. Aggregation   DUKE            0350018321                  Gas           Gov. Aggregation
COH             169151970033                Gas           Gov. Aggregation   DUKE            3080018324                  Gas           Gov. Aggregation
COH             114971660106                Gas           Gov. Aggregation   DUKE            0160018322                  Gas           Gov. Aggregation
COH             204589500012                Gas           Gov. Aggregation   DUKE            2970018325                  Gas           Gov. Aggregation
COH             152933540025                Gas           Gov. Aggregation   DUKE            0950018322                  Gas           Gov. Aggregation
COH             114902840032                Gas           Gov. Aggregation   DUKE            0850018322                  Gas           Gov. Aggregation
COH             162757030060                Gas           Gov. Aggregation   DUKE            7550036422                  Gas           Gov. Aggregation
COH             174532740027                Gas           Gov. Aggregation   DUKE            7890220601                  Gas           Gov. Aggregation
COH             192152830040                Gas           Gov. Aggregation   DUKE            8650036433                  Gas           Gov. Aggregation
COH             192226810038                Gas           Gov. Aggregation   DUKE            8450036428                  Gas           Gov. Aggregation
COH             188241290050                Gas           Gov. Aggregation   DUKE            1750036427                  Gas           Gov. Aggregation
COH             188901380024                Gas           Gov. Aggregation   DUKE            9450036430                  Gas           Gov. Aggregation
COH             202500740010                Gas           Gov. Aggregation   DUKE            6420036523                  Gas           Gov. Aggregation
COH             199008020011                Gas           Gov. Aggregation   DUKE            7420036523                  Gas           Gov. Aggregation
COH             196885320013                Gas           Gov. Aggregation   DUKE            3980018325                  Gas           Gov. Aggregation
COH             197729730025                Gas           Gov. Aggregation   DUKE            5300018422                  Gas           Gov. Aggregation
COH             195901790038                Gas           Gov. Aggregation   DUKE            9000018432                  Gas           Gov. Aggregation
COH             201877280011                Gas           Gov. Aggregation   DUKE            8900018421                  Gas           Gov. Aggregation
COH             201936200011                Gas           Gov. Aggregation   DUKE            8510018323                  Gas           Gov. Aggregation
COH             203798690011                Gas           Gov. Aggregation   DUKE            8300018426                  Gas           Gov. Aggregation
COH             203781650014                Gas           Gov. Aggregation   DUKE            8890018326                  Gas           Gov. Aggregation
COH             202994970026                Gas           Gov. Aggregation   DUKE            8790018325                  Gas           Gov. Aggregation
COH             203270910012                Gas           Gov. Aggregation   DUKE            7400018423                  Gas           Gov. Aggregation
COH             169727320029                Gas           Gov. Aggregation   DUKE            9400018426                  Gas           Gov. Aggregation
COH             186037090020                Gas           Gov. Aggregation   DUKE            6610018328                  Gas           Gov. Aggregation
COH             185760890039                Gas           Gov. Aggregation   DUKE            6000018423                  Gas           Gov. Aggregation
COH             152117520047                Gas           Gov. Aggregation   DUKE            0090018323                  Gas           Gov. Aggregation
COH             114895370065                Gas           Gov. Aggregation   DUKE            0100018420                  Gas           Gov. Aggregation
COH             114968260054                Gas           Gov. Aggregation   DUKE            0000018421                  Gas           Gov. Aggregation
COH             129740580105                Gas           Gov. Aggregation   DUKE            5610018330                  Gas           Gov. Aggregation
DEO             3500004487434               Gas           Gov. Aggregation   DUKE            4880018333                  Gas           Gov. Aggregation
DEO             9500031001693               Gas           Gov. Aggregation   DUKE            3300018423                  Gas           Gov. Aggregation
DEO             8180008895294               Gas           Gov. Aggregation   DUKE            1890018321                  Gas           Gov. Aggregation
DEO             2500064012580               Gas           Gov. Aggregation   DUKE            1090018320                  Gas           Gov. Aggregation
DEO             6180008996509               Gas           Gov. Aggregation   DUKE            8520217202                  Gas           Gov. Aggregation
COH             135941290031                Gas           Gov. Aggregation   DUKE            8980018320                  Gas           Gov. Aggregation
COH             121976250023                Gas           Gov. Aggregation   DUKE            7890018325                  Gas           Gov. Aggregation
COH             201450080026                Gas           Gov. Aggregation   DUKE            7980018320                  Gas           Gov. Aggregation
COH             205187440016                Gas           Gov. Aggregation   DUKE            8200204903                  Gas           Gov. Aggregation
COH             204207810015                Gas           Gov. Aggregation   DUKE            2050079321                  Gas           Gov. Aggregation
COH             201072640011                Gas           Gov. Aggregation   COH             174972220015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             204326180016                Gas           Gov. Aggregation   COH             198989510075                Gas           Gov. Aggregation
COH             201772280022                Gas           Gov. Aggregation   COH             200194850010                Gas           Gov. Aggregation
COH             204344390014                Gas           Gov. Aggregation   COH             206922030011                Gas           Gov. Aggregation
COH             205204290010                Gas           Gov. Aggregation   COH             198665180026                Gas           Gov. Aggregation
COH             112221610125                Gas           Gov. Aggregation   COH             206728100018                Gas           Gov. Aggregation
COH             137602160034                Gas           Gov. Aggregation   COH             206976460018                Gas           Gov. Aggregation
COH             204909410011                Gas           Gov. Aggregation   COH             162896160032                Gas           Gov. Aggregation
COH             202876980015                Gas           Gov. Aggregation   COH             166271340034                Gas           Gov. Aggregation
COH             205153350016                Gas           Gov. Aggregation   COH             114803500024                Gas           Gov. Aggregation
COH             121956780033                Gas           Gov. Aggregation   COH             200060380030                Gas           Gov. Aggregation
COH             204386080011                Gas           Gov. Aggregation   COH             187308650017                Gas           Gov. Aggregation
COH             204270020018                Gas           Gov. Aggregation   COH             123968220024                Gas           Gov. Aggregation
COH             204270040014                Gas           Gov. Aggregation   COH             208122960010                Gas           Gov. Aggregation
COH             204269990018                Gas           Gov. Aggregation   COH             199673340015                Gas           Gov. Aggregation
COH             204152970019                Gas           Gov. Aggregation   COH             209847590011                Gas           Gov. Aggregation
COH             204163560012                Gas           Gov. Aggregation   COH             209268170017                Gas           Gov. Aggregation
COH             204404900018                Gas           Gov. Aggregation   COH             166071840015                Gas           Gov. Aggregation
COH             202569600015                Gas           Gov. Aggregation   COH             170472850188                Gas           Gov. Aggregation
COH             193264180021                Gas           Gov. Aggregation   COH             197241680020                Gas           Gov. Aggregation
COH             175364470039                Gas           Gov. Aggregation   COH             204858900017                Gas           Gov. Aggregation
COH             204179520017                Gas           Gov. Aggregation   COH             197615860010                Gas           Gov. Aggregation
COH             159882910038                Gas           Gov. Aggregation   COH             203571850017                Gas           Gov. Aggregation
COH             136423550060                Gas           Gov. Aggregation   COH             170757320023                Gas           Gov. Aggregation
COH             136423550079                Gas           Gov. Aggregation   COH             148633490037                Gas           Gov. Aggregation
COH             203159480037                Gas           Gov. Aggregation   COH             208662450013                Gas           Gov. Aggregation
COH             197738950020                Gas           Gov. Aggregation   COH             158112110010                Gas           Gov. Aggregation
COH             200899990035                Gas           Gov. Aggregation   COH             197999370020                Gas           Gov. Aggregation
COH             204129430011                Gas           Gov. Aggregation   COH             202188370012                Gas           Gov. Aggregation
COH             204153100019                Gas           Gov. Aggregation   COH             167320830017                Gas           Gov. Aggregation
COH             204153110017                Gas           Gov. Aggregation   COH             208597790011                Gas           Gov. Aggregation
COH             204739630016                Gas           Gov. Aggregation   COH             198988110017                Gas           Gov. Aggregation
COH             205079550012                Gas           Gov. Aggregation   COH             161085350069                Gas           Gov. Aggregation
COH             205047490012                Gas           Gov. Aggregation   COH             203440590019                Gas           Gov. Aggregation
COH             204762560012                Gas           Gov. Aggregation   COH             123919030063                Gas           Gov. Aggregation
COH             202853810018                Gas           Gov. Aggregation   COH             124121670014                Gas           Gov. Aggregation
COH             203124890025                Gas           Gov. Aggregation   COH             124121910013                Gas           Gov. Aggregation
COH             177647450022                Gas           Gov. Aggregation   COH             145995030030                Gas           Gov. Aggregation
COH             172374750014                Gas           Gov. Aggregation   COH             203900380071                Gas           Gov. Aggregation
COH             121991580022                Gas           Gov. Aggregation   COH             136401410010                Gas           Gov. Aggregation
COH             121991580031                Gas           Gov. Aggregation   COH             193764200017                Gas           Gov. Aggregation
COH             121991620274                Gas           Gov. Aggregation   COH             192202170015                Gas           Gov. Aggregation
COH             198039260026                Gas           Gov. Aggregation   COH             197768950018                Gas           Gov. Aggregation
COH             201495290028                Gas           Gov. Aggregation   COH             205721020010                Gas           Gov. Aggregation
COH             204690730019                Gas           Gov. Aggregation   COH             200372170015                Gas           Gov. Aggregation
COH             204578780017                Gas           Gov. Aggregation   COH             202414080012                Gas           Gov. Aggregation
COH             204414770015                Gas           Gov. Aggregation   COH             147645260059                Gas           Gov. Aggregation
COH             204985960016                Gas           Gov. Aggregation   COH             193735400016                Gas           Gov. Aggregation
COH             204307850015                Gas           Gov. Aggregation   COH             203173180021                Gas           Gov. Aggregation
COH             121992240012                Gas           Gov. Aggregation   COH             135051890041                Gas           Gov. Aggregation
COH             112804320040                Gas           Gov. Aggregation   COH             163137010021                Gas           Gov. Aggregation
COH             169897430072                Gas           Gov. Aggregation   COH             143782090031                Gas           Gov. Aggregation
COH             168377870037                Gas           Gov. Aggregation   COH             173493160033                Gas           Gov. Aggregation
COH             151340910016                Gas           Gov. Aggregation   COH             200744930016                Gas           Gov. Aggregation
COH             204220930012                Gas           Gov. Aggregation   COH             174389640032                Gas           Gov. Aggregation
COH             201605220018                Gas           Gov. Aggregation   COH             162465870027                Gas           Gov. Aggregation
COH             192525130064                Gas           Gov. Aggregation   COH             164958690019                Gas           Gov. Aggregation
COH             191138110024                Gas           Gov. Aggregation   COH             147050030021                Gas           Gov. Aggregation
COH             204659780015                Gas           Gov. Aggregation   COH             205034290011                Gas           Gov. Aggregation
COH             134633900090                Gas           Gov. Aggregation   COH             196922570011                Gas           Gov. Aggregation
COH             134633900107                Gas           Gov. Aggregation   COH             124024240065                Gas           Gov. Aggregation
COH             202093210016                Gas           Gov. Aggregation   COH             200162010031                Gas           Gov. Aggregation
COH             204349520016                Gas           Gov. Aggregation   COH             188309680027                Gas           Gov. Aggregation
COH             204341140012                Gas           Gov. Aggregation   COH             127572970013                Gas           Gov. Aggregation
COH             205059950010                Gas           Gov. Aggregation   COH             193944320047                Gas           Gov. Aggregation
COH             205072650015                Gas           Gov. Aggregation   COH             205821380013                Gas           Gov. Aggregation
COH             204768550012                Gas           Gov. Aggregation   COH             209144560017                Gas           Gov. Aggregation
COH             205079490015                Gas           Gov. Aggregation   COH             203106030023                Gas           Gov. Aggregation
COH             204248400015                Gas           Gov. Aggregation   COH             124024390019                Gas           Gov. Aggregation
COH             204336160019                Gas           Gov. Aggregation   COH             204555920015                Gas           Gov. Aggregation
COH             204341600015                Gas           Gov. Aggregation   COH             133640650026                Gas           Gov. Aggregation
COH             197737110046                Gas           Gov. Aggregation   COH             192290830011                Gas           Gov. Aggregation
COH             203087590019                Gas           Gov. Aggregation   DUKE            6890058333                  Gas           Gov. Aggregation
COH             191364750012                Gas           Gov. Aggregation   DUKE            7870357702                  Gas           Gov. Aggregation
COH             176581010034                Gas           Gov. Aggregation   DUKE            8490058320                  Gas           Gov. Aggregation
COH             204857410012                Gas           Gov. Aggregation   DUKE            8020082321                  Gas           Gov. Aggregation
COH             204724870017                Gas           Gov. Aggregation   DUKE            7800058426                  Gas           Gov. Aggregation
COH             204495260012                Gas           Gov. Aggregation   DUKE            7390058323                  Gas           Gov. Aggregation
COH             204447900018                Gas           Gov. Aggregation   DUKE            7790216002                  Gas           Gov. Aggregation
COH             201852560014                Gas           Gov. Aggregation   DUKE            8510216906                  Gas           Gov. Aggregation
COH             199118300037                Gas           Gov. Aggregation   DUKE            7520216606                  Gas           Gov. Aggregation
COH             195716260023                Gas           Gov. Aggregation   DUKE            9210214309                  Gas           Gov. Aggregation
COH             204015110019                Gas           Gov. Aggregation   DUKE            0440218005                  Gas           Gov. Aggregation
COH             204040860019                Gas           Gov. Aggregation   DUKE            8640212805                  Gas           Gov. Aggregation
COH             204096360017                Gas           Gov. Aggregation   DUKE            7870220102                  Gas           Gov. Aggregation
COH             195936540037                Gas           Gov. Aggregation   DUKE            5450212306                  Gas           Gov. Aggregation
COH             196276980025                Gas           Gov. Aggregation   DUKE            2580224803                  Gas           Gov. Aggregation
COH             170950580065                Gas           Gov. Aggregation   DUKE            7070223202                  Gas           Gov. Aggregation
COH             189031580035                Gas           Gov. Aggregation   DUKE            3110018430                  Gas           Gov. Aggregation
COH             203996240015                Gas           Gov. Aggregation   DUKE            5330362602                  Gas           Gov. Aggregation
COH             121932210014                Gas           Gov. Aggregation   DUKE            8080220505                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             121932380019                Gas           Gov. Aggregation   DUKE         6290215904                  Gas           Gov. Aggregation
COH             202897350022                Gas           Gov. Aggregation   DUKE         6300218007                  Gas           Gov. Aggregation
COH             203008970015                Gas           Gov. Aggregation   DUKE         6500219402                  Gas           Gov. Aggregation
COH             198790770063                Gas           Gov. Aggregation   DUKE         6530215604                  Gas           Gov. Aggregation
COH             205243690014                Gas           Gov. Aggregation   DUKE         3010018421                  Gas           Gov. Aggregation
COH             205204230012                Gas           Gov. Aggregation   DUKE         2900018427                  Gas           Gov. Aggregation
COH             204311480014                Gas           Gov. Aggregation   DUKE         4700018429                  Gas           Gov. Aggregation
COH             204290460014                Gas           Gov. Aggregation   DUKE         4990018326                  Gas           Gov. Aggregation
COH             204311640010                Gas           Gov. Aggregation   DUKE         4900018421                  Gas           Gov. Aggregation
COH             204232050012                Gas           Gov. Aggregation   DUKE         4010018420                  Gas           Gov. Aggregation
COH             204800580016                Gas           Gov. Aggregation   DUKE         8700018443                  Gas           Gov. Aggregation
COH             204909380018                Gas           Gov. Aggregation   DUKE         4500018422                  Gas           Gov. Aggregation
COH             200289140018                Gas           Gov. Aggregation   DUKE         3400018423                  Gas           Gov. Aggregation
COH             121973080016                Gas           Gov. Aggregation   DUKE         5800018427                  Gas           Gov. Aggregation
COH             121990570026                Gas           Gov. Aggregation   DUKE         5400018426                  Gas           Gov. Aggregation
COH             203497290013                Gas           Gov. Aggregation   DUKE         5110018421                  Gas           Gov. Aggregation
COH             204687300016                Gas           Gov. Aggregation   DUKE         0500018421                  Gas           Gov. Aggregation
COH             204496880010                Gas           Gov. Aggregation   DUKE         0400018423                  Gas           Gov. Aggregation
COH             204430670012                Gas           Gov. Aggregation   DUKE         5090220005                  Gas           Gov. Aggregation
COH             204136490014                Gas           Gov. Aggregation   DUKE         2560215302                  Gas           Gov. Aggregation
COH             204278620016                Gas           Gov. Aggregation   DUKE         2730215602                  Gas           Gov. Aggregation
COH             204301470017                Gas           Gov. Aggregation   DUKE         2380221305                  Gas           Gov. Aggregation
COH             204453920011                Gas           Gov. Aggregation   DUKE         1420216604                  Gas           Gov. Aggregation
COH             204488320014                Gas           Gov. Aggregation   DUKE         1360215303                  Gas           Gov. Aggregation
COH             203364680012                Gas           Gov. Aggregation   DUKE         0890216004                  Gas           Gov. Aggregation
COH             197738670038                Gas           Gov. Aggregation   DUKE         0970219404                  Gas           Gov. Aggregation
COH             135674180022                Gas           Gov. Aggregation   DUKE         2540219806                  Gas           Gov. Aggregation
COH             129180760043                Gas           Gov. Aggregation   DUKE         0300218006                  Gas           Gov. Aggregation
COH             121948070011                Gas           Gov. Aggregation   DUKE         4340386804                  Gas           Gov. Aggregation
COH             204248510012                Gas           Gov. Aggregation   DUKE         2460364104                  Gas           Gov. Aggregation
COH             195212860025                Gas           Gov. Aggregation   DUKE         1560389802                  Gas           Gov. Aggregation
COH             193509040039                Gas           Gov. Aggregation   DUKE         2910210514                  Gas           Gov. Aggregation
COH             193003450026                Gas           Gov. Aggregation   DUKE         0470355012                  Gas           Gov. Aggregation
COH             190529250036                Gas           Gov. Aggregation   DUKE         3260363814                  Gas           Gov. Aggregation
COH             169228060031                Gas           Gov. Aggregation   DUKE         6350353112                  Gas           Gov. Aggregation
COH             121966570072                Gas           Gov. Aggregation   DUKE         0290363403                  Gas           Gov. Aggregation
COH             121975152293                Gas           Gov. Aggregation   DUKE         0290385701                  Gas           Gov. Aggregation
COH             121975152300                Gas           Gov. Aggregation   DUKE         5720362607                  Gas           Gov. Aggregation
COH             121975152319                Gas           Gov. Aggregation   DUKE         0730365803                  Gas           Gov. Aggregation
COH             149549660646                Gas           Gov. Aggregation   DUKE         0780367601                  Gas           Gov. Aggregation
COH             200372110017                Gas           Gov. Aggregation   DUKE         0780385402                  Gas           Gov. Aggregation
COH             200236610154                Gas           Gov. Aggregation   DUKE         2700376503                  Gas           Gov. Aggregation
COH             201048910024                Gas           Gov. Aggregation   DUKE         2700380804                  Gas           Gov. Aggregation
COH             201048910033                Gas           Gov. Aggregation   DUKE         1910374005                  Gas           Gov. Aggregation
COH             203779360029                Gas           Gov. Aggregation   DUKE         1910210509                  Gas           Gov. Aggregation
COH             204012880014                Gas           Gov. Aggregation   DUKE         1880367502                  Gas           Gov. Aggregation
COH             205174950016                Gas           Gov. Aggregation   DUKE         1100388602                  Gas           Gov. Aggregation
COH             204289030017                Gas           Gov. Aggregation   DUKE         1310365908                  Gas           Gov. Aggregation
COH             204248430019                Gas           Gov. Aggregation   DUKE         1290363402                  Gas           Gov. Aggregation
COH             191718810027                Gas           Gov. Aggregation   DUKE         1500360202                  Gas           Gov. Aggregation
COH             204585070011                Gas           Gov. Aggregation   DUKE         1540356806                  Gas           Gov. Aggregation
COH             161149230022                Gas           Gov. Aggregation   DUKE         1520377502                  Gas           Gov. Aggregation
COH             204857480018                Gas           Gov. Aggregation   DUKE         5000391503                  Gas           Gov. Aggregation
COH             172181700040                Gas           Gov. Aggregation   DUKE         5080359002                  Gas           Gov. Aggregation
COH             159887400053                Gas           Gov. Aggregation   DUKE         5830377602                  Gas           Gov. Aggregation
COH             195220310050                Gas           Gov. Aggregation   DUKE         5930357803                  Gas           Gov. Aggregation
COH             151419410032                Gas           Gov. Aggregation   DUKE         5940359003                  Gas           Gov. Aggregation
COH             138208110011                Gas           Gov. Aggregation   DUKE         6020354402                  Gas           Gov. Aggregation
COH             194756990027                Gas           Gov. Aggregation   DUKE         6810363002                  Gas           Gov. Aggregation
COH             204498930015                Gas           Gov. Aggregation   DUKE         7060361102                  Gas           Gov. Aggregation
COH             205124870018                Gas           Gov. Aggregation   DUKE         7060369603                  Gas           Gov. Aggregation
COH             204836360017                Gas           Gov. Aggregation   DUKE         7050364908                  Gas           Gov. Aggregation
COH             205035200017                Gas           Gov. Aggregation   DUKE         7050368502                  Gas           Gov. Aggregation
COH             202131050027                Gas           Gov. Aggregation   DUKE         6950370603                  Gas           Gov. Aggregation
COH             201795810013                Gas           Gov. Aggregation   DUKE         3030360608                  Gas           Gov. Aggregation
COH             197082400017                Gas           Gov. Aggregation   DUKE         3870362403                  Gas           Gov. Aggregation
COH             204255440012                Gas           Gov. Aggregation   DUKE         3690386002                  Gas           Gov. Aggregation
COH             204404920014                Gas           Gov. Aggregation   DUKE         3350361404                  Gas           Gov. Aggregation
COH             204844540012                Gas           Gov. Aggregation   DUKE         3510354804                  Gas           Gov. Aggregation
COH             204857470010                Gas           Gov. Aggregation   DUKE         3660385103                  Gas           Gov. Aggregation
COH             205066170019                Gas           Gov. Aggregation   DUKE         4950386102                  Gas           Gov. Aggregation
COH             177213120084                Gas           Gov. Aggregation   DUKE         8270358105                  Gas           Gov. Aggregation
COH             176542170079                Gas           Gov. Aggregation   DUKE         8510361703                  Gas           Gov. Aggregation
COH             132704350015                Gas           Gov. Aggregation   DUKE         8530378603                  Gas           Gov. Aggregation
COH             203811820022                Gas           Gov. Aggregation   DUKE         8310368802                  Gas           Gov. Aggregation
COH             190057430048                Gas           Gov. Aggregation   DUKE         8880358602                  Gas           Gov. Aggregation
COH             175734600036                Gas           Gov. Aggregation   DUKE         8850367703                  Gas           Gov. Aggregation
COH             204164570018                Gas           Gov. Aggregation   DUKE         8650365303                  Gas           Gov. Aggregation
COH             204880220013                Gas           Gov. Aggregation   DUKE         3140058324                  Gas           Gov. Aggregation
COH             205265390011                Gas           Gov. Aggregation   DUKE         9280015228                  Gas           Gov. Aggregation
COH             204254150015                Gas           Gov. Aggregation   DUKE         6480015225                  Gas           Gov. Aggregation
COH             199834650018                Gas           Gov. Aggregation   DUKE         1580015221                  Gas           Gov. Aggregation
COH             156150670079                Gas           Gov. Aggregation   DUKE         0380015225                  Gas           Gov. Aggregation
COH             122010000020                Gas           Gov. Aggregation   DUKE         2380015227                  Gas           Gov. Aggregation
COH             158959670091                Gas           Gov. Aggregation   DUKE         2100080420                  Gas           Gov. Aggregation
COH             193015230018                Gas           Gov. Aggregation   DUKE         1380015225                  Gas           Gov. Aggregation
COH             188870060064                Gas           Gov. Aggregation   VEDO         4020879682625229            Gas           Gov. Aggregation
COH             187841600017                Gas           Gov. Aggregation   VEDO         4020846932641961            Gas           Gov. Aggregation
COH             186376780036                Gas           Gov. Aggregation   VEDO         4020841062674054            Gas           Gov. Aggregation
COH             185213920068                Gas           Gov. Aggregation   VEDO         4020026472675919            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             191062560049                Gas           Gov. Aggregation   VEDO            4003694822674196            Gas           Gov. Aggregation
COH             121979680018                Gas           Gov. Aggregation   VEDO            4016661222291208            Gas           Gov. Aggregation
COH             121980020013                Gas           Gov. Aggregation   VEDO            4018582602676032            Gas           Gov. Aggregation
COH             129097290058                Gas           Gov. Aggregation   VEDO            4016233332248773            Gas           Gov. Aggregation
COH             204194490012                Gas           Gov. Aggregation   VEDO            4020853382250097            Gas           Gov. Aggregation
COH             204337120015                Gas           Gov. Aggregation   VEDO            4015704412422013            Gas           Gov. Aggregation
COH             204449510016                Gas           Gov. Aggregation   VEDO            4017898222161493            Gas           Gov. Aggregation
COH             204706500012                Gas           Gov. Aggregation   VEDO            4002363132102331            Gas           Gov. Aggregation
COH             201144900031                Gas           Gov. Aggregation   VEDO            4016356922248531            Gas           Gov. Aggregation
COH             203303690018                Gas           Gov. Aggregation   VEDO            4004303382433779            Gas           Gov. Aggregation
COH             204929870013                Gas           Gov. Aggregation   VEDO            4016087602266353            Gas           Gov. Aggregation
COH             205153530018                Gas           Gov. Aggregation   VEDO            4016317572268985            Gas           Gov. Aggregation
COH             189705360032                Gas           Gov. Aggregation   VEDO            4001981542227211            Gas           Gov. Aggregation
COH             205064910017                Gas           Gov. Aggregation   VEDO            4018904992267070            Gas           Gov. Aggregation
COH             205075110012                Gas           Gov. Aggregation   VEDO            4020864762102295            Gas           Gov. Aggregation
COH             191004250037                Gas           Gov. Aggregation   VEDO            4020853472138510            Gas           Gov. Aggregation
COH             171650720015                Gas           Gov. Aggregation   VEDO            4020784332371596            Gas           Gov. Aggregation
COH             167876670014                Gas           Gov. Aggregation   VEDO            4020883342266737            Gas           Gov. Aggregation
COH             196382540013                Gas           Gov. Aggregation   VEDO            4020130482339185            Gas           Gov. Aggregation
COH             123797630012                Gas           Gov. Aggregation   VEDO            4020851732115496            Gas           Gov. Aggregation
COH             132557450035                Gas           Gov. Aggregation   VEDO            4003573302337811            Gas           Gov. Aggregation
COH             123747560012                Gas           Gov. Aggregation   VEDO            4015678332313995            Gas           Gov. Aggregation
COH             123747830024                Gas           Gov. Aggregation   VEDO            4020287682676382            Gas           Gov. Aggregation
COH             123741550016                Gas           Gov. Aggregation   VEDO            4019416652466617            Gas           Gov. Aggregation
COH             123741560014                Gas           Gov. Aggregation   VEDO            4018614422440475            Gas           Gov. Aggregation
COH             185881640026                Gas           Gov. Aggregation   VEDO            4020334072637289            Gas           Gov. Aggregation
COH             190876240042                Gas           Gov. Aggregation   VEDO            4019173122472311            Gas           Gov. Aggregation
COH             190230480040                Gas           Gov. Aggregation   VEDO            4020311892111280            Gas           Gov. Aggregation
COH             190108660050                Gas           Gov. Aggregation   VEDO            4020319842111638            Gas           Gov. Aggregation
COH             205171720010                Gas           Gov. Aggregation   COH             193682300010                Gas           Gov. Aggregation
COH             197773800036                Gas           Gov. Aggregation   COH             205433680013                Gas           Gov. Aggregation
COH             167091990057                Gas           Gov. Aggregation   COH             149563600013                Gas           Gov. Aggregation
COH             171156190051                Gas           Gov. Aggregation   COH             151987280019                Gas           Gov. Aggregation
COH             173427820015                Gas           Gov. Aggregation   COH             173500100010                Gas           Gov. Aggregation
COH             204311940017                Gas           Gov. Aggregation   COH             124642640016                Gas           Gov. Aggregation
COH             204675370017                Gas           Gov. Aggregation   COH             121975940011                Gas           Gov. Aggregation
COH             123751370013                Gas           Gov. Aggregation   COH             121963860013                Gas           Gov. Aggregation
COH             126874910025                Gas           Gov. Aggregation   COH             123763410019                Gas           Gov. Aggregation
COH             133128710109                Gas           Gov. Aggregation   COH             121964860011                Gas           Gov. Aggregation
COH             195676480023                Gas           Gov. Aggregation   COH             123798920028                Gas           Gov. Aggregation
COH             193787710058                Gas           Gov. Aggregation   COH             164632280015                Gas           Gov. Aggregation
COH             193497130019                Gas           Gov. Aggregation   COH             175499160011                Gas           Gov. Aggregation
COH             204495910015                Gas           Gov. Aggregation   COH             124641200010                Gas           Gov. Aggregation
COH             204655910015                Gas           Gov. Aggregation   COH             147715980022                Gas           Gov. Aggregation
COH             204675390013                Gas           Gov. Aggregation   COH             124641180024                Gas           Gov. Aggregation
COH             204986000015                Gas           Gov. Aggregation   COH             124641180051                Gas           Gov. Aggregation
COH             204811810014                Gas           Gov. Aggregation   COH             132526330026                Gas           Gov. Aggregation
COH             198261090021                Gas           Gov. Aggregation   COH             122015750014                Gas           Gov. Aggregation
COH             203170550010                Gas           Gov. Aggregation   COH             159332180028                Gas           Gov. Aggregation
COH             123764000013                Gas           Gov. Aggregation   COH             121975950019                Gas           Gov. Aggregation
COH             123764540029                Gas           Gov. Aggregation   COH             142476340010                Gas           Gov. Aggregation
COH             131361560029                Gas           Gov. Aggregation   COH             121983460024                Gas           Gov. Aggregation
COH             172828930031                Gas           Gov. Aggregation   COH             159914100011                Gas           Gov. Aggregation
COH             186894380050                Gas           Gov. Aggregation   COH             167927450011                Gas           Gov. Aggregation
COH             177524560029                Gas           Gov. Aggregation   COH             121979080023                Gas           Gov. Aggregation
COH             132585520040                Gas           Gov. Aggregation   COH             121956060016                Gas           Gov. Aggregation
COH             143585850011                Gas           Gov. Aggregation   COH             134442880018                Gas           Gov. Aggregation
COH             123751330011                Gas           Gov. Aggregation   COH             134442880027                Gas           Gov. Aggregation
COH             200792840014                Gas           Gov. Aggregation   COH             124645840018                Gas           Gov. Aggregation
COH             172614360034                Gas           Gov. Aggregation   COH             143769190029                Gas           Gov. Aggregation
COH             191995530020                Gas           Gov. Aggregation   COH             124646620012                Gas           Gov. Aggregation
COH             188222610025                Gas           Gov. Aggregation   COH             153694540031                Gas           Gov. Aggregation
COH             190577070033                Gas           Gov. Aggregation   COH             122027760026                Gas           Gov. Aggregation
COH             186945470034                Gas           Gov. Aggregation   COH             171629940014                Gas           Gov. Aggregation
COH             123796940028                Gas           Gov. Aggregation   COH             156524820029                Gas           Gov. Aggregation
COH             123755720011                Gas           Gov. Aggregation   COH             133535840029                Gas           Gov. Aggregation
COH             123754320017                Gas           Gov. Aggregation   DEO             6500044575098               Gas           Gov. Aggregation
COH             142716890024                Gas           Gov. Aggregation   DEO             1440108498606               Gas           Gov. Aggregation
COH             123755290012                Gas           Gov. Aggregation   DEO             1440107952346               Gas           Gov. Aggregation
COH             204326390012                Gas           Gov. Aggregation   DEO             1442103803373               Gas           Gov. Aggregation
COH             203910060013                Gas           Gov. Aggregation   DEO             7442106283861               Gas           Gov. Aggregation
COH             201038640031                Gas           Gov. Aggregation   DEO             8500065200300               Gas           Gov. Aggregation
COH             194894830046                Gas           Gov. Aggregation   DEO             1500041273389               Gas           Gov. Aggregation
COH             151620060020                Gas           Gov. Aggregation   DEO             3440105222841               Gas           Gov. Aggregation
COH             167401290028                Gas           Gov. Aggregation   DEO             7500052005767               Gas           Gov. Aggregation
COH             125763870039                Gas           Gov. Aggregation   DEO             4500051512260               Gas           Gov. Aggregation
COH             123740150012                Gas           Gov. Aggregation   DEO             9442100933198               Gas           Gov. Aggregation
COH             123749360010                Gas           Gov. Aggregation   DEO             8180000226823               Gas           Gov. Aggregation
COH             123749430015                Gas           Gov. Aggregation   DEO             9500033739254               Gas           Gov. Aggregation
COH             169808080073                Gas           Gov. Aggregation   DEO             2500020198039               Gas           Gov. Aggregation
COH             203751580012                Gas           Gov. Aggregation   DEO             7442105732504               Gas           Gov. Aggregation
COH             204135190019                Gas           Gov. Aggregation   DEO             4500052124821               Gas           Gov. Aggregation
COH             204653810010                Gas           Gov. Aggregation   DEO             9500050431230               Gas           Gov. Aggregation
COH             196216660046                Gas           Gov. Aggregation   DEO             4500011469679               Gas           Gov. Aggregation
COH             204730630014                Gas           Gov. Aggregation   DEO             8500006006960               Gas           Gov. Aggregation
COH             160104510019                Gas           Gov. Aggregation   DEO             1500014877594               Gas           Gov. Aggregation
COH             202417810012                Gas           Gov. Aggregation   DEO             0440106510204               Gas           Gov. Aggregation
COH             199513350020                Gas           Gov. Aggregation   DEO             8500044626478               Gas           Gov. Aggregation
COH             203233900012                Gas           Gov. Aggregation   DEO             0500026828017               Gas           Gov. Aggregation
COH             155120020015                Gas           Gov. Aggregation   DEO             2442106473378               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             121941460013                Gas           Gov. Aggregation   DEO             5500043491899               Gas           Gov. Aggregation
COH             185105640020                Gas           Gov. Aggregation   DEO             6500017584938               Gas           Gov. Aggregation
COH             186131810019                Gas           Gov. Aggregation   DEO             2500006512902               Gas           Gov. Aggregation
COH             194332210019                Gas           Gov. Aggregation   DEO             1440103726097               Gas           Gov. Aggregation
COH             190039590043                Gas           Gov. Aggregation   DEO             6442107581018               Gas           Gov. Aggregation
COH             185253550062                Gas           Gov. Aggregation   DEO             8442106169033               Gas           Gov. Aggregation
COH             204662020017                Gas           Gov. Aggregation   DEO             7500041044576               Gas           Gov. Aggregation
COH             196908070043                Gas           Gov. Aggregation   DEO             0440105057111               Gas           Gov. Aggregation
COH             204959190013                Gas           Gov. Aggregation   DEO             7500029106521               Gas           Gov. Aggregation
COH             203589250016                Gas           Gov. Aggregation   DEO             2442107955745               Gas           Gov. Aggregation
COH             204359970011                Gas           Gov. Aggregation   DEO             5500032962515               Gas           Gov. Aggregation
COH             199689410017                Gas           Gov. Aggregation   DEO             8500013023557               Gas           Gov. Aggregation
COH             194781150011                Gas           Gov. Aggregation   DEO             7442106473047               Gas           Gov. Aggregation
COH             196411770138                Gas           Gov. Aggregation   DEO             2442102513125               Gas           Gov. Aggregation
COH             197200180012                Gas           Gov. Aggregation   DEO             0442106805036               Gas           Gov. Aggregation
COH             193563720032                Gas           Gov. Aggregation   DEO             9442102528464               Gas           Gov. Aggregation
COH             202477430016                Gas           Gov. Aggregation   DEO             2500011042221               Gas           Gov. Aggregation
COH             205178120012                Gas           Gov. Aggregation   DEO             0500047496813               Gas           Gov. Aggregation
COH             196086220027                Gas           Gov. Aggregation   DEO             1500007447766               Gas           Gov. Aggregation
COH             199097040029                Gas           Gov. Aggregation   DEO             7500032610998               Gas           Gov. Aggregation
COH             143370841697                Gas           Gov. Aggregation   DEO             8500035323288               Gas           Gov. Aggregation
COH             204927870017                Gas           Gov. Aggregation   DEO             9440101456967               Gas           Gov. Aggregation
COH             160698130021                Gas           Gov. Aggregation   DEO             5440104959949               Gas           Gov. Aggregation
COH             204610740015                Gas           Gov. Aggregation   DEO             7442101515399               Gas           Gov. Aggregation
COH             205115400015                Gas           Gov. Aggregation   DEO             2442102546799               Gas           Gov. Aggregation
COH             142427470187                Gas           Gov. Aggregation   DEO             1440103023606               Gas           Gov. Aggregation
COH             136209750053                Gas           Gov. Aggregation   DEO             1500041486054               Gas           Gov. Aggregation
COH             194680310011                Gas           Gov. Aggregation   DEO             5442105065622               Gas           Gov. Aggregation
COH             204675200012                Gas           Gov. Aggregation   DEO             1500028766505               Gas           Gov. Aggregation
COH             111105480022                Gas           Gov. Aggregation   DEO             6440104468785               Gas           Gov. Aggregation
COH             187123460019                Gas           Gov. Aggregation   DEO             1500026015745               Gas           Gov. Aggregation
COH             202312820012                Gas           Gov. Aggregation   DEO             2500044958986               Gas           Gov. Aggregation
COH             194995700012                Gas           Gov. Aggregation   DEO             5442109036020               Gas           Gov. Aggregation
COH             196494350016                Gas           Gov. Aggregation   DEO             9442106989237               Gas           Gov. Aggregation
COH             111141480035                Gas           Gov. Aggregation   DEO             8442100186344               Gas           Gov. Aggregation
COH             144189930040                Gas           Gov. Aggregation   DEO             2442100420936               Gas           Gov. Aggregation
COH             163371310031                Gas           Gov. Aggregation   DEO             6440100103643               Gas           Gov. Aggregation
COH             204768480017                Gas           Gov. Aggregation   DEO             4442106605952               Gas           Gov. Aggregation
COH             204729290019                Gas           Gov. Aggregation   DEO             8440001396262               Gas           Gov. Aggregation
COH             160547310031                Gas           Gov. Aggregation   DEO             0442101518706               Gas           Gov. Aggregation
COH             202533260021                Gas           Gov. Aggregation   DEO             3440108477038               Gas           Gov. Aggregation
COH             204675190015                Gas           Gov. Aggregation   DEO             0500042464333               Gas           Gov. Aggregation
COH             169365630013                Gas           Gov. Aggregation   DEO             5500049530968               Gas           Gov. Aggregation
COH             190812560021                Gas           Gov. Aggregation   DEO             1500053699115               Gas           Gov. Aggregation
COH             205042130017                Gas           Gov. Aggregation   DEO             8500053815917               Gas           Gov. Aggregation
COH             147647070028                Gas           Gov. Aggregation   DEO             2442101155456               Gas           Gov. Aggregation
COH             195823700023                Gas           Gov. Aggregation   DEO             0440104186005               Gas           Gov. Aggregation
COH             194406000025                Gas           Gov. Aggregation   DEO             7500064782574               Gas           Gov. Aggregation
COH             200468100016                Gas           Gov. Aggregation   DEO             7442105680442               Gas           Gov. Aggregation
COH             198571260019                Gas           Gov. Aggregation   DEO             0442102547678               Gas           Gov. Aggregation
COH             204214810010                Gas           Gov. Aggregation   DEO             5440001029411               Gas           Gov. Aggregation
COH             158973760047                Gas           Gov. Aggregation   DEO             6440102551443               Gas           Gov. Aggregation
COH             163664570027                Gas           Gov. Aggregation   DEO             0442107987898               Gas           Gov. Aggregation
COH             191458760057                Gas           Gov. Aggregation   DEO             9442106472454               Gas           Gov. Aggregation
COH             111196080043                Gas           Gov. Aggregation   DEO             6500011476517               Gas           Gov. Aggregation
COH             121851380011                Gas           Gov. Aggregation   DEO             9500013448060               Gas           Gov. Aggregation
COH             141550740402                Gas           Gov. Aggregation   DEO             9442107377897               Gas           Gov. Aggregation
COH             109457090336                Gas           Gov. Aggregation   DEO             5500049018430               Gas           Gov. Aggregation
COH             111121190047                Gas           Gov. Aggregation   DEO             5500050230628               Gas           Gov. Aggregation
COH             111115560015                Gas           Gov. Aggregation   DEO             5442104138261               Gas           Gov. Aggregation
COH             191024050046                Gas           Gov. Aggregation   DEO             2440103130400               Gas           Gov. Aggregation
COH             202896830014                Gas           Gov. Aggregation   DEO             0500019515452               Gas           Gov. Aggregation
COH             204301430024                Gas           Gov. Aggregation   DEO             2500044307815               Gas           Gov. Aggregation
COH             199914360028                Gas           Gov. Aggregation   DEO             7500041692678               Gas           Gov. Aggregation
COH             204691370013                Gas           Gov. Aggregation   DEO             3500036523088               Gas           Gov. Aggregation
COH             111107150018                Gas           Gov. Aggregation   DEO             1442107976130               Gas           Gov. Aggregation
COH             111107280011                Gas           Gov. Aggregation   DEO             8500008531184               Gas           Gov. Aggregation
COH             202917540019                Gas           Gov. Aggregation   DEO             9442106475625               Gas           Gov. Aggregation
COH             147171890043                Gas           Gov. Aggregation   DEO             0500036513749               Gas           Gov. Aggregation
COH             204639730017                Gas           Gov. Aggregation   DEO             8500040784421               Gas           Gov. Aggregation
COH             204238520011                Gas           Gov. Aggregation   DEO             5442106802628               Gas           Gov. Aggregation
COH             204446710010                Gas           Gov. Aggregation   DEO             7440100498563               Gas           Gov. Aggregation
COH             196339520036                Gas           Gov. Aggregation   DEO             1440104175897               Gas           Gov. Aggregation
COH             161444540012                Gas           Gov. Aggregation   DEO             4440108106673               Gas           Gov. Aggregation
COH             131993580026                Gas           Gov. Aggregation   DEO             5500024604004               Gas           Gov. Aggregation
COH             200345300014                Gas           Gov. Aggregation   DEO             7440107957407               Gas           Gov. Aggregation
COH             196804030014                Gas           Gov. Aggregation   DEO             7442104633411               Gas           Gov. Aggregation
COH             129480110016                Gas           Gov. Aggregation   DEO             0442108152633               Gas           Gov. Aggregation
COH             201205100075                Gas           Gov. Aggregation   DEO             0500002937269               Gas           Gov. Aggregation
COH             204768740012                Gas           Gov. Aggregation   DEO             5500025923337               Gas           Gov. Aggregation
COH             204025160018                Gas           Gov. Aggregation   DEO             2442102336374               Gas           Gov. Aggregation
COH             204585380016                Gas           Gov. Aggregation   DEO             4440103142679               Gas           Gov. Aggregation
COH             204844610017                Gas           Gov. Aggregation   DEO             8500029253770               Gas           Gov. Aggregation
COH             192314640037                Gas           Gov. Aggregation   DEO             7500036838110               Gas           Gov. Aggregation
COH             125910230021                Gas           Gov. Aggregation   DEO             0440102575754               Gas           Gov. Aggregation
COH             203497400019                Gas           Gov. Aggregation   DEO             5440102855123               Gas           Gov. Aggregation
COH             204221160012                Gas           Gov. Aggregation   DEO             6180002078053               Gas           Gov. Aggregation
COH             185881780072                Gas           Gov. Aggregation   DEO             6500066861458               Gas           Gov. Aggregation
COH             202610430012                Gas           Gov. Aggregation   DEO             9180000234575               Gas           Gov. Aggregation
COH             202136930013                Gas           Gov. Aggregation   DEO             8500067357736               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             5180008347423               Gas           Gov. Aggregation   DEO             9500021409662               Gas           Gov. Aggregation
COH             205330950014                Gas           Gov. Aggregation   DEO             6440108493255               Gas           Gov. Aggregation
COH             189379040041                Gas           Gov. Aggregation   DEO             0500039989540               Gas           Gov. Aggregation
COH             195071010023                Gas           Gov. Aggregation   DEO             0500042625902               Gas           Gov. Aggregation
DEO             2180009050966               Gas           Gov. Aggregation   DEO             6500040782355               Gas           Gov. Aggregation
DEO             3180009255257               Gas           Gov. Aggregation   DEO             6500036283851               Gas           Gov. Aggregation
DEO             4180009117847               Gas           Gov. Aggregation   DEO             0500038075729               Gas           Gov. Aggregation
DEO             4180009249591               Gas           Gov. Aggregation   DEO             4500011920869               Gas           Gov. Aggregation
DEO             9180009147219               Gas           Gov. Aggregation   DEO             2442102552544               Gas           Gov. Aggregation
DEO             4180009206670               Gas           Gov. Aggregation   DEO             8500007802829               Gas           Gov. Aggregation
COH             193964850026                Gas           Gov. Aggregation   DEO             5440106591309               Gas           Gov. Aggregation
COH             205108800016                Gas           Gov. Aggregation   DEO             7500049396471               Gas           Gov. Aggregation
COH             204850570013                Gas           Gov. Aggregation   DEO             1500045445828               Gas           Gov. Aggregation
COH             202716140019                Gas           Gov. Aggregation   DEO             6500048967660               Gas           Gov. Aggregation
COH             201472050017                Gas           Gov. Aggregation   DEO             4500048485699               Gas           Gov. Aggregation
COH             204045060017                Gas           Gov. Aggregation   DEO             2500044859204               Gas           Gov. Aggregation
COH             203484290010                Gas           Gov. Aggregation   DEO             6500050121891               Gas           Gov. Aggregation
COH             201297420011                Gas           Gov. Aggregation   DEO             6500050189137               Gas           Gov. Aggregation
COH             168940570035                Gas           Gov. Aggregation   DEO             2500028796143               Gas           Gov. Aggregation
COH             205192820015                Gas           Gov. Aggregation   DEO             4500028654082               Gas           Gov. Aggregation
COH             201259840013                Gas           Gov. Aggregation   DEO             3440104631883               Gas           Gov. Aggregation
COH             205293180016                Gas           Gov. Aggregation   DEO             4440108105210               Gas           Gov. Aggregation
COH             203582210018                Gas           Gov. Aggregation   DEO             1500011338522               Gas           Gov. Aggregation
COH             202965180014                Gas           Gov. Aggregation   DEO             9440103262693               Gas           Gov. Aggregation
COH             158684540073                Gas           Gov. Aggregation   DEO             9500040683228               Gas           Gov. Aggregation
COH             203811660017                Gas           Gov. Aggregation   DEO             3440100279853               Gas           Gov. Aggregation
COH             198662540017                Gas           Gov. Aggregation   DEO             7500024845163               Gas           Gov. Aggregation
COH             197765510025                Gas           Gov. Aggregation   DEO             7440100117718               Gas           Gov. Aggregation
COH             191965230026                Gas           Gov. Aggregation   DEO             9500033534644               Gas           Gov. Aggregation
COH             204301450011                Gas           Gov. Aggregation   DEO             7500025931657               Gas           Gov. Aggregation
COH             200384520025                Gas           Gov. Aggregation   DEO             4500008872465               Gas           Gov. Aggregation
COH             202692380011                Gas           Gov. Aggregation   DEO             6442102512891               Gas           Gov. Aggregation
COH             185100050024                Gas           Gov. Aggregation   DEO             2442100086949               Gas           Gov. Aggregation
COH             203361200027                Gas           Gov. Aggregation   DEO             0442100424584               Gas           Gov. Aggregation
COH             204865940014                Gas           Gov. Aggregation   DEO             6500052121670               Gas           Gov. Aggregation
COH             204909310012                Gas           Gov. Aggregation   DEO             4500047671806               Gas           Gov. Aggregation
COH             201410770016                Gas           Gov. Aggregation   DEO             3440105873744               Gas           Gov. Aggregation
COH             198807080025                Gas           Gov. Aggregation   DEO             5500032559355               Gas           Gov. Aggregation
COH             205042140015                Gas           Gov. Aggregation   DEO             4442104187397               Gas           Gov. Aggregation
COH             201874310010                Gas           Gov. Aggregation   DEO             3442104185705               Gas           Gov. Aggregation
COH             203811630013                Gas           Gov. Aggregation   DEO             2500014970779               Gas           Gov. Aggregation
COH             203649140011                Gas           Gov. Aggregation   DEO             3500043904516               Gas           Gov. Aggregation
COH             204973970019                Gas           Gov. Aggregation   DEO             7500033830324               Gas           Gov. Aggregation
COH             205242370013                Gas           Gov. Aggregation   DEO             0500046349883               Gas           Gov. Aggregation
COH             204047280017                Gas           Gov. Aggregation   DEO             0500064659144               Gas           Gov. Aggregation
COH             203224750013                Gas           Gov. Aggregation   DEO             9180000538819               Gas           Gov. Aggregation
COH             203484320013                Gas           Gov. Aggregation   DEO             1180000367927               Gas           Gov. Aggregation
COH             203229240010                Gas           Gov. Aggregation   DEO             5440105328288               Gas           Gov. Aggregation
COH             204600030015                Gas           Gov. Aggregation   DEO             3180000473998               Gas           Gov. Aggregation
COH             203811650019                Gas           Gov. Aggregation   DEO             6180003842125               Gas           Gov. Aggregation
COH             201844610010                Gas           Gov. Aggregation   DEO             9500036420038               Gas           Gov. Aggregation
COH             204248330010                Gas           Gov. Aggregation   DEO             8440207680801               Gas           Gov. Aggregation
COH             194490130021                Gas           Gov. Aggregation   DEO             9500040219425               Gas           Gov. Aggregation
COH             204404720016                Gas           Gov. Aggregation   DEO             8500032608797               Gas           Gov. Aggregation
COH             202865680011                Gas           Gov. Aggregation   DEO             9500054071835               Gas           Gov. Aggregation
COH             201522980015                Gas           Gov. Aggregation   DEO             5500055150856               Gas           Gov. Aggregation
COH             201770780012                Gas           Gov. Aggregation   DEO             4500051677390               Gas           Gov. Aggregation
COH             202635700013                Gas           Gov. Aggregation   DEO             4500063725622               Gas           Gov. Aggregation
COH             203187450016                Gas           Gov. Aggregation   DEO             0500054755624               Gas           Gov. Aggregation
COH             203560960017                Gas           Gov. Aggregation   DEO             1500062319723               Gas           Gov. Aggregation
COH             203215650013                Gas           Gov. Aggregation   DEO             0440207365745               Gas           Gov. Aggregation
COH             203350720012                Gas           Gov. Aggregation   DEO             6500054828108               Gas           Gov. Aggregation
COH             201932710012                Gas           Gov. Aggregation   DEO             3180004878444               Gas           Gov. Aggregation
COH             190894410057                Gas           Gov. Aggregation   DEO             5180005803247               Gas           Gov. Aggregation
COH             200795660025                Gas           Gov. Aggregation   DEO             0442104958087               Gas           Gov. Aggregation
COH             204661340012                Gas           Gov. Aggregation   COH             165553190011                Gas           Gov. Aggregation
COH             205155400011                Gas           Gov. Aggregation   COH             193170670018                Gas           Gov. Aggregation
COH             197761210026                Gas           Gov. Aggregation   COH             172386410010                Gas           Gov. Aggregation
COH             111226470055                Gas           Gov. Aggregation   COH             168139760034                Gas           Gov. Aggregation
COH             164484910017                Gas           Gov. Aggregation   COH             125733280054                Gas           Gov. Aggregation
COH             194883910024                Gas           Gov. Aggregation   COH             161014560019                Gas           Gov. Aggregation
COH             161954280061                Gas           Gov. Aggregation   COH             163441310014                Gas           Gov. Aggregation
COH             158396240031                Gas           Gov. Aggregation   COH             164495640048                Gas           Gov. Aggregation
COH             195257230032                Gas           Gov. Aggregation   COH             173858980019                Gas           Gov. Aggregation
COH             202356470014                Gas           Gov. Aggregation   COH             124642420012                Gas           Gov. Aggregation
COH             201932700014                Gas           Gov. Aggregation   COH             193814720011                Gas           Gov. Aggregation
COH             112067520015                Gas           Gov. Aggregation   COH             172121880049                Gas           Gov. Aggregation
COH             203651710025                Gas           Gov. Aggregation   COH             196929480016                Gas           Gov. Aggregation
COH             203696830017                Gas           Gov. Aggregation   COH             124642470012                Gas           Gov. Aggregation
COH             204403740014                Gas           Gov. Aggregation   COH             124647390028                Gas           Gov. Aggregation
COH             145603340016                Gas           Gov. Aggregation   COH             166371730021                Gas           Gov. Aggregation
COH             111237280169                Gas           Gov. Aggregation   COH             129698480018                Gas           Gov. Aggregation
COH             110423860047                Gas           Gov. Aggregation   COH             196137160012                Gas           Gov. Aggregation
COH             198974720027                Gas           Gov. Aggregation   COH             163594810016                Gas           Gov. Aggregation
COH             197653110026                Gas           Gov. Aggregation   COH             124647280012                Gas           Gov. Aggregation
COH             193249960029                Gas           Gov. Aggregation   COH             192406260014                Gas           Gov. Aggregation
COH             204580550010                Gas           Gov. Aggregation   COH             191347350012                Gas           Gov. Aggregation
COH             205008850018                Gas           Gov. Aggregation   COH             193886010028                Gas           Gov. Aggregation
COH             204075330017                Gas           Gov. Aggregation   COH             146827560015                Gas           Gov. Aggregation
COH             204024330014                Gas           Gov. Aggregation   COH             126451080044                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             202621110016                Gas           Gov. Aggregation   COH             124641820010                Gas           Gov. Aggregation
COH             202952430018                Gas           Gov. Aggregation   COH             148529950031                Gas           Gov. Aggregation
COH             203670100014                Gas           Gov. Aggregation   COH             144660610029                Gas           Gov. Aggregation
COH             203677000011                Gas           Gov. Aggregation   COH             163781220013                Gas           Gov. Aggregation
COH             201883430016                Gas           Gov. Aggregation   COH             193282270015                Gas           Gov. Aggregation
COH             192733230044                Gas           Gov. Aggregation   COH             198375480019                Gas           Gov. Aggregation
COH             111264930012                Gas           Gov. Aggregation   COH             176509500033                Gas           Gov. Aggregation
COH             146040700068                Gas           Gov. Aggregation   COH             149918400049                Gas           Gov. Aggregation
COH             147083050591                Gas           Gov. Aggregation   COH             159841990029                Gas           Gov. Aggregation
COH             161009841449                Gas           Gov. Aggregation   COH             196216670017                Gas           Gov. Aggregation
COH             190519490055                Gas           Gov. Aggregation   COH             187357180013                Gas           Gov. Aggregation
COH             197135210032                Gas           Gov. Aggregation   COH             174626560035                Gas           Gov. Aggregation
COH             194102070034                Gas           Gov. Aggregation   COH             197627980010                Gas           Gov. Aggregation
COH             194102070043                Gas           Gov. Aggregation   COH             155229160016                Gas           Gov. Aggregation
COH             131919530022                Gas           Gov. Aggregation   COH             122787880021                Gas           Gov. Aggregation
COH             204320390014                Gas           Gov. Aggregation   COH             186336810015                Gas           Gov. Aggregation
COH             203544700015                Gas           Gov. Aggregation   COH             124643230010                Gas           Gov. Aggregation
COH             204336730019                Gas           Gov. Aggregation   COH             124641350019                Gas           Gov. Aggregation
COH             202737940017                Gas           Gov. Aggregation   COH             124647970017                Gas           Gov. Aggregation
COH             204198420018                Gas           Gov. Aggregation   COH             162947240018                Gas           Gov. Aggregation
COH             201850040017                Gas           Gov. Aggregation   COH             168293270040                Gas           Gov. Aggregation
COH             202428710010                Gas           Gov. Aggregation   COH             112293700045                Gas           Gov. Aggregation
COH             133308640013                Gas           Gov. Aggregation   COH             191347350030                Gas           Gov. Aggregation
COH             111283390025                Gas           Gov. Aggregation   COH             161114570015                Gas           Gov. Aggregation
COH             201817460019                Gas           Gov. Aggregation   COH             124643390017                Gas           Gov. Aggregation
COH             201322780011                Gas           Gov. Aggregation   COH             193703420028                Gas           Gov. Aggregation
COH             204745430015                Gas           Gov. Aggregation   COH             200354180011                Gas           Gov. Aggregation
COH             198540090010                Gas           Gov. Aggregation   COH             200397560011                Gas           Gov. Aggregation
COH             200951610014                Gas           Gov. Aggregation   COH             200014530017                Gas           Gov. Aggregation
COH             194320190037                Gas           Gov. Aggregation   COH             193169730054                Gas           Gov. Aggregation
COH             110462410021                Gas           Gov. Aggregation   COH             165107470017                Gas           Gov. Aggregation
COH             198037920030                Gas           Gov. Aggregation   COH             137039630021                Gas           Gov. Aggregation
COH             204583840013                Gas           Gov. Aggregation   COH             138796010035                Gas           Gov. Aggregation
COH             154510600026                Gas           Gov. Aggregation   COH             133923620013                Gas           Gov. Aggregation
DEO             9500003698781               Gas           Gov. Aggregation   COH             198677260015                Gas           Gov. Aggregation
DEO             2500053696634               Gas           Gov. Aggregation   COH             190537060011                Gas           Gov. Aggregation
DEO             8500062519564               Gas           Gov. Aggregation   COH             159961870020                Gas           Gov. Aggregation
DEO             1180007421714               Gas           Gov. Aggregation   COH             198770430011                Gas           Gov. Aggregation
DEO             0180005256402               Gas           Gov. Aggregation   COH             153517310024                Gas           Gov. Aggregation
DEO             5180000554023               Gas           Gov. Aggregation   COH             124646790017                Gas           Gov. Aggregation
DEO             1500060388798               Gas           Gov. Aggregation   COH             195079390028                Gas           Gov. Aggregation
DEO             1180006370206               Gas           Gov. Aggregation   COH             189774230016                Gas           Gov. Aggregation
DEO             1180000647399               Gas           Gov. Aggregation   COH             164783490012                Gas           Gov. Aggregation
DEO             7500063345205               Gas           Gov. Aggregation   COH             196052710016                Gas           Gov. Aggregation
DEO             7500025057698               Gas           Gov. Aggregation   COH             177455340013                Gas           Gov. Aggregation
DEO             8180002806337               Gas           Gov. Aggregation   COH             124641730019                Gas           Gov. Aggregation
DEO             1500066074479               Gas           Gov. Aggregation   COH             124646690018                Gas           Gov. Aggregation
DEO             3180000453115               Gas           Gov. Aggregation   COH             198018950016                Gas           Gov. Aggregation
DEO             0180008286972               Gas           Gov. Aggregation   COH             138266180015                Gas           Gov. Aggregation
DEO             0180005041958               Gas           Gov. Aggregation   COH             190166080023                Gas           Gov. Aggregation
DEO             2500063065076               Gas           Gov. Aggregation   COH             149790610010                Gas           Gov. Aggregation
DEO             0180008796710               Gas           Gov. Aggregation   COH             144632400013                Gas           Gov. Aggregation
DEO             7180004454054               Gas           Gov. Aggregation   COH             124617540029                Gas           Gov. Aggregation
DEO             2180008762934               Gas           Gov. Aggregation   COH             145793520026                Gas           Gov. Aggregation
DEO             0500053847715               Gas           Gov. Aggregation   COH             201450540010                Gas           Gov. Aggregation
DEO             6180002799965               Gas           Gov. Aggregation   COH             124563430027                Gas           Gov. Aggregation
DEO             9180002240664               Gas           Gov. Aggregation   COH             201049010012                Gas           Gov. Aggregation
DEO             9180002307600               Gas           Gov. Aggregation   COH             201391200017                Gas           Gov. Aggregation
DEO             9180009045441               Gas           Gov. Aggregation   COH             143717080030                Gas           Gov. Aggregation
DEO             7180008009064               Gas           Gov. Aggregation   COH             200941520014                Gas           Gov. Aggregation
DEO             6180006868408               Gas           Gov. Aggregation   COH             196972470017                Gas           Gov. Aggregation
DEO             3500064341102               Gas           Gov. Aggregation   COH             140442130026                Gas           Gov. Aggregation
DEO             6180008554681               Gas           Gov. Aggregation   COH             121941310014                Gas           Gov. Aggregation
DEO             7500064516819               Gas           Gov. Aggregation   COH             196266340011                Gas           Gov. Aggregation
DEO             4180007220538               Gas           Gov. Aggregation   COH             121951170013                Gas           Gov. Aggregation
DEO             5500062486352               Gas           Gov. Aggregation   COH             160893720014                Gas           Gov. Aggregation
DEO             8180007332590               Gas           Gov. Aggregation   COH             198632390012                Gas           Gov. Aggregation
DEO             7500063854510               Gas           Gov. Aggregation   COH             121941700012                Gas           Gov. Aggregation
DEO             3180006914408               Gas           Gov. Aggregation   COH             144085800010                Gas           Gov. Aggregation
DEO             2500064892974               Gas           Gov. Aggregation   COH             167633930031                Gas           Gov. Aggregation
DEO             2180005944042               Gas           Gov. Aggregation   COH             121947280019                Gas           Gov. Aggregation
DEO             3500061761554               Gas           Gov. Aggregation   COH             121940470031                Gas           Gov. Aggregation
DEO             2500060606375               Gas           Gov. Aggregation   COH             143122990012                Gas           Gov. Aggregation
DEO             6180001307644               Gas           Gov. Aggregation   COH             198009190015                Gas           Gov. Aggregation
DEO             9500064462698               Gas           Gov. Aggregation   COH             163148990023                Gas           Gov. Aggregation
DEO             0500067024389               Gas           Gov. Aggregation   COH             121950330011                Gas           Gov. Aggregation
DEO             0500067055830               Gas           Gov. Aggregation   COH             172579310021                Gas           Gov. Aggregation
DEO             1180008536539               Gas           Gov. Aggregation   COH             141167500030                Gas           Gov. Aggregation
DEO             3500066286532               Gas           Gov. Aggregation   COH             121941580018                Gas           Gov. Aggregation
DEO             7500066970101               Gas           Gov. Aggregation   COH             136389550019                Gas           Gov. Aggregation
DEO             6180006991708               Gas           Gov. Aggregation   COH             147699800034                Gas           Gov. Aggregation
DEO             5500062801165               Gas           Gov. Aggregation   COH             156125880023                Gas           Gov. Aggregation
DEO             5500065927090               Gas           Gov. Aggregation   COH             121940770029                Gas           Gov. Aggregation
DEO             5500067082805               Gas           Gov. Aggregation   COH             177726700021                Gas           Gov. Aggregation
DEO             4500062281722               Gas           Gov. Aggregation   COH             147674260012                Gas           Gov. Aggregation
DEO             5180005235259               Gas           Gov. Aggregation   COH             121947020040                Gas           Gov. Aggregation
DEO             8180003396703               Gas           Gov. Aggregation   COH             121945910010                Gas           Gov. Aggregation
DEO             5180000242357               Gas           Gov. Aggregation   COH             129333320022                Gas           Gov. Aggregation
DEO             3500054428901               Gas           Gov. Aggregation   COH             171761480039                Gas           Gov. Aggregation
DEO             0180008669744               Gas           Gov. Aggregation   COH             168119210013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             0180001181467               Gas           Gov. Aggregation   COH             121941310023                Gas           Gov. Aggregation
DEO             3180004508067               Gas           Gov. Aggregation   COH             134830380038                Gas           Gov. Aggregation
DEO             8180003702853               Gas           Gov. Aggregation   COH             145132670016                Gas           Gov. Aggregation
DEO             5180006495861               Gas           Gov. Aggregation   COH             154668720019                Gas           Gov. Aggregation
DEO             8500025622706               Gas           Gov. Aggregation   COH             167401080013                Gas           Gov. Aggregation
DEO             8180001720655               Gas           Gov. Aggregation   COH             170728240030                Gas           Gov. Aggregation
DEO             6180007749345               Gas           Gov. Aggregation   COH             172915920029                Gas           Gov. Aggregation
DEO             6500051779371               Gas           Gov. Aggregation   COH             191283600015                Gas           Gov. Aggregation
DEO             8180008619765               Gas           Gov. Aggregation   COH             191527710032                Gas           Gov. Aggregation
DEO             5180007479422               Gas           Gov. Aggregation   COH             165540360049                Gas           Gov. Aggregation
DEO             9500064035913               Gas           Gov. Aggregation   COH             193559860023                Gas           Gov. Aggregation
DEO             8500060967222               Gas           Gov. Aggregation   COH             161722230017                Gas           Gov. Aggregation
DEO             7180007763640               Gas           Gov. Aggregation   COH             170106320013                Gas           Gov. Aggregation
DEO             7500065027807               Gas           Gov. Aggregation   COH             186206260016                Gas           Gov. Aggregation
DEO             7500066111644               Gas           Gov. Aggregation   COH             154195100030                Gas           Gov. Aggregation
DEO             7180008213695               Gas           Gov. Aggregation   COH             150332970067                Gas           Gov. Aggregation
DEO             7500054803910               Gas           Gov. Aggregation   COH             156279660015                Gas           Gov. Aggregation
DEO             3180004725864               Gas           Gov. Aggregation   COH             159503250011                Gas           Gov. Aggregation
DEO             2500062101789               Gas           Gov. Aggregation   COH             195394310017                Gas           Gov. Aggregation
DEO             4180003563618               Gas           Gov. Aggregation   COH             146917780027                Gas           Gov. Aggregation
DEO             0180000491084               Gas           Gov. Aggregation   COH             192098770012                Gas           Gov. Aggregation
DEO             0180001345362               Gas           Gov. Aggregation   COH             152458080039                Gas           Gov. Aggregation
DEO             0180008654588               Gas           Gov. Aggregation   COH             121947370010                Gas           Gov. Aggregation
DEO             9500067021175               Gas           Gov. Aggregation   COH             190680760011                Gas           Gov. Aggregation
DEO             9180006010790               Gas           Gov. Aggregation   COH             153618700019                Gas           Gov. Aggregation
DEO             9180008360342               Gas           Gov. Aggregation   COH             159795930048                Gas           Gov. Aggregation
DEO             1180005186686               Gas           Gov. Aggregation   COH             121947510029                Gas           Gov. Aggregation
DEO             5180002622131               Gas           Gov. Aggregation   COH             141394080029                Gas           Gov. Aggregation
DEO             5500026249841               Gas           Gov. Aggregation   COH             192714480015                Gas           Gov. Aggregation
DEO             5500067150182               Gas           Gov. Aggregation   COH             174082780015                Gas           Gov. Aggregation
DEO             6180005298127               Gas           Gov. Aggregation   COH             121950380011                Gas           Gov. Aggregation
DEO             6180004898675               Gas           Gov. Aggregation   COH             138584350015                Gas           Gov. Aggregation
DEO             2180005249886               Gas           Gov. Aggregation   COH             159537720020                Gas           Gov. Aggregation
DEO             2180000624641               Gas           Gov. Aggregation   COH             171202690020                Gas           Gov. Aggregation
DEO             1500066149448               Gas           Gov. Aggregation   COH             154076380016                Gas           Gov. Aggregation
DEO             0180007264887               Gas           Gov. Aggregation   COH             155397390013                Gas           Gov. Aggregation
DEO             0180001395735               Gas           Gov. Aggregation   COH             143018970017                Gas           Gov. Aggregation
DEO             0180001026384               Gas           Gov. Aggregation   COH             172819500021                Gas           Gov. Aggregation
DEO             1180000872683               Gas           Gov. Aggregation   COH             121940250019                Gas           Gov. Aggregation
DEO             1180001512955               Gas           Gov. Aggregation   COH             174663850018                Gas           Gov. Aggregation
DEO             3180008690061               Gas           Gov. Aggregation   COH             196421230014                Gas           Gov. Aggregation
DEO             3180001095878               Gas           Gov. Aggregation   COH             193619210012                Gas           Gov. Aggregation
DEO             3180003605126               Gas           Gov. Aggregation   COH             149982380030                Gas           Gov. Aggregation
DEO             2180006281464               Gas           Gov. Aggregation   COH             190613140012                Gas           Gov. Aggregation
DEO             7500055323736               Gas           Gov. Aggregation   COH             141144560018                Gas           Gov. Aggregation
DEO             7180007434442               Gas           Gov. Aggregation   COH             198934670013                Gas           Gov. Aggregation
DEO             7180002758237               Gas           Gov. Aggregation   COH             198944740017                Gas           Gov. Aggregation
DEO             6500066239168               Gas           Gov. Aggregation   COH             200658420025                Gas           Gov. Aggregation
DEO             6500066958417               Gas           Gov. Aggregation   COH             200883690013                Gas           Gov. Aggregation
DEO             9500065866229               Gas           Gov. Aggregation   COH             201319350018                Gas           Gov. Aggregation
DEO             9180008453987               Gas           Gov. Aggregation   COH             201652420017                Gas           Gov. Aggregation
DEO             9500066795380               Gas           Gov. Aggregation   COH             201694810017                Gas           Gov. Aggregation
DEO             9180000303802               Gas           Gov. Aggregation   COH             201902180017                Gas           Gov. Aggregation
DEO             9500040163241               Gas           Gov. Aggregation   COH             201933470011                Gas           Gov. Aggregation
DEO             9500055448427               Gas           Gov. Aggregation   COH             166028880125                Gas           Gov. Aggregation
DEO             9500054090404               Gas           Gov. Aggregation   COH             167275110024                Gas           Gov. Aggregation
DEO             1180006674826               Gas           Gov. Aggregation   COH             174072530027                Gas           Gov. Aggregation
DEO             1180003907008               Gas           Gov. Aggregation   COH             185988070084                Gas           Gov. Aggregation
DEO             1180004225776               Gas           Gov. Aggregation   COH             186981920042                Gas           Gov. Aggregation
DEO             0500064827739               Gas           Gov. Aggregation   COH             191421840039                Gas           Gov. Aggregation
DEO             0500054827189               Gas           Gov. Aggregation   COH             199298870010                Gas           Gov. Aggregation
DEO             0500055552158               Gas           Gov. Aggregation   COH             199727910010                Gas           Gov. Aggregation
DEO             0500062259501               Gas           Gov. Aggregation   COH             169880050022                Gas           Gov. Aggregation
DEO             0500053040808               Gas           Gov. Aggregation   COH             170557970030                Gas           Gov. Aggregation
DEO             0180004073476               Gas           Gov. Aggregation   COH             121945770029                Gas           Gov. Aggregation
DEO             2500066313362               Gas           Gov. Aggregation   COH             195839560011                Gas           Gov. Aggregation
DEO             2500062155001               Gas           Gov. Aggregation   COH             123764530021                Gas           Gov. Aggregation
DEO             3180006686884               Gas           Gov. Aggregation   COH             159823330052                Gas           Gov. Aggregation
DEO             2180006382794               Gas           Gov. Aggregation   COH             164309040010                Gas           Gov. Aggregation
DEO             2180004449420               Gas           Gov. Aggregation   COH             195955450018                Gas           Gov. Aggregation
DEO             2180001171411               Gas           Gov. Aggregation   COH             123761230020                Gas           Gov. Aggregation
DEO             7500060919614               Gas           Gov. Aggregation   COH             123748930012                Gas           Gov. Aggregation
DEO             7500051772975               Gas           Gov. Aggregation   COH             195403930016                Gas           Gov. Aggregation
DEO             7500053780683               Gas           Gov. Aggregation   COH             133892800012                Gas           Gov. Aggregation
DEO             3500061863515               Gas           Gov. Aggregation   COH             198599500010                Gas           Gov. Aggregation
DEO             4180003656475               Gas           Gov. Aggregation   COH             193837090016                Gas           Gov. Aggregation
DEO             2500054059917               Gas           Gov. Aggregation   COH             165296380017                Gas           Gov. Aggregation
DEO             2180008873756               Gas           Gov. Aggregation   COH             187335410010                Gas           Gov. Aggregation
DEO             2180008743252               Gas           Gov. Aggregation   COH             123744310010                Gas           Gov. Aggregation
DEO             8180004416099               Gas           Gov. Aggregation   COH             156468050049                Gas           Gov. Aggregation
DEO             8180004543666               Gas           Gov. Aggregation   COH             171100210026                Gas           Gov. Aggregation
DEO             8180004575280               Gas           Gov. Aggregation   COH             150044050025                Gas           Gov. Aggregation
DEO             8180006448675               Gas           Gov. Aggregation   COH             152832000022                Gas           Gov. Aggregation
DEO             7500065056230               Gas           Gov. Aggregation   COH             123800080019                Gas           Gov. Aggregation
DEO             4180000799180               Gas           Gov. Aggregation   COH             189485880013                Gas           Gov. Aggregation
DEO             4180004198187               Gas           Gov. Aggregation   COH             123739720015                Gas           Gov. Aggregation
DEO             4180006957668               Gas           Gov. Aggregation   COH             195230400014                Gas           Gov. Aggregation
DEO             3442104189020               Gas           Gov. Aggregation   COH             169922000022                Gas           Gov. Aggregation
DEO             3500053216865               Gas           Gov. Aggregation   COH             191330670010                Gas           Gov. Aggregation
DEO             3500053618653               Gas           Gov. Aggregation   COH             123749460019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             2180006967323               Gas           Gov. Aggregation   COH             167813220056                Gas           Gov. Aggregation
DEO             2180007052219               Gas           Gov. Aggregation   COH             166965920013                Gas           Gov. Aggregation
DEO             2180007578559               Gas           Gov. Aggregation   COH             126798450024                Gas           Gov. Aggregation
DEO             3180005368407               Gas           Gov. Aggregation   COH             155002060017                Gas           Gov. Aggregation
DEO             3180003692472               Gas           Gov. Aggregation   COH             162696760012                Gas           Gov. Aggregation
DEO             3180003376327               Gas           Gov. Aggregation   COH             123746060019                Gas           Gov. Aggregation
DEO             2500063784560               Gas           Gov. Aggregation   COH             194690520016                Gas           Gov. Aggregation
DEO             2500066851151               Gas           Gov. Aggregation   COH             123763010022                Gas           Gov. Aggregation
DEO             0180003789994               Gas           Gov. Aggregation   COH             174490810013                Gas           Gov. Aggregation
DEO             0180001956623               Gas           Gov. Aggregation   COH             123799030014                Gas           Gov. Aggregation
DEO             0180006685039               Gas           Gov. Aggregation   COH             198575450011                Gas           Gov. Aggregation
DEO             0500061341264               Gas           Gov. Aggregation   COH             198330380023                Gas           Gov. Aggregation
DEO             0500064705431               Gas           Gov. Aggregation   COH             129991460010                Gas           Gov. Aggregation
DEO             1180000064455               Gas           Gov. Aggregation   COH             138676650017                Gas           Gov. Aggregation
DEO             1180000414550               Gas           Gov. Aggregation   COH             123764740018                Gas           Gov. Aggregation
DEO             1180002118273               Gas           Gov. Aggregation   COH             196412660013                Gas           Gov. Aggregation
DEO             1180001512439               Gas           Gov. Aggregation   COH             164638410015                Gas           Gov. Aggregation
DEO             9500063094385               Gas           Gov. Aggregation   COH             123741870028                Gas           Gov. Aggregation
DEO             9500064120798               Gas           Gov. Aggregation   COH             196386230029                Gas           Gov. Aggregation
DEO             8500045349809               Gas           Gov. Aggregation   COH             146749790013                Gas           Gov. Aggregation
DEO             8500042542801               Gas           Gov. Aggregation   COH             158556230033                Gas           Gov. Aggregation
DEO             9180002229136               Gas           Gov. Aggregation   COH             161306080011                Gas           Gov. Aggregation
DEO             9180000100441               Gas           Gov. Aggregation   COH             174759070028                Gas           Gov. Aggregation
DEO             8500067129271               Gas           Gov. Aggregation   COH             195615020018                Gas           Gov. Aggregation
DEO             9180007765721               Gas           Gov. Aggregation   COH             147857100017                Gas           Gov. Aggregation
DEO             9180006475066               Gas           Gov. Aggregation   COH             130873370016                Gas           Gov. Aggregation
DEO             9180005769182               Gas           Gov. Aggregation   COH             187830590031                Gas           Gov. Aggregation
DEO             9180003039014               Gas           Gov. Aggregation   COH             127319860021                Gas           Gov. Aggregation
DEO             9500024248808               Gas           Gov. Aggregation   COH             133876520060                Gas           Gov. Aggregation
DEO             9500054552038               Gas           Gov. Aggregation   COH             147830890063                Gas           Gov. Aggregation
DEO             2180004580861               Gas           Gov. Aggregation   COH             143345890011                Gas           Gov. Aggregation
DEO             1500053894777               Gas           Gov. Aggregation   COH             166580120017                Gas           Gov. Aggregation
DEO             1500063876578               Gas           Gov. Aggregation   COH             143220570012                Gas           Gov. Aggregation
DEO             1500065430965               Gas           Gov. Aggregation   COH             171017150017                Gas           Gov. Aggregation
DEO             1180006497648               Gas           Gov. Aggregation   COH             192448220023                Gas           Gov. Aggregation
DEO             1180008927122               Gas           Gov. Aggregation   COH             123748740012                Gas           Gov. Aggregation
DEO             1180008519383               Gas           Gov. Aggregation   COH             123773210029                Gas           Gov. Aggregation
DEO             1180001381056               Gas           Gov. Aggregation   COH             123765520012                Gas           Gov. Aggregation
DEO             1180000999734               Gas           Gov. Aggregation   COH             130885590015                Gas           Gov. Aggregation
DEO             0500054179139               Gas           Gov. Aggregation   COH             170797280055                Gas           Gov. Aggregation
DEO             0180005169294               Gas           Gov. Aggregation   COH             189705190010                Gas           Gov. Aggregation
DEO             4180005753015               Gas           Gov. Aggregation   COH             123764270026                Gas           Gov. Aggregation
DEO             3500061933017               Gas           Gov. Aggregation   COH             170042840010                Gas           Gov. Aggregation
DEO             7500041972473               Gas           Gov. Aggregation   COH             175982760010                Gas           Gov. Aggregation
DEO             7500064145535               Gas           Gov. Aggregation   COH             163008250060                Gas           Gov. Aggregation
DEO             8180001663515               Gas           Gov. Aggregation   COH             123740310027                Gas           Gov. Aggregation
DEO             4500064537627               Gas           Gov. Aggregation   COH             177566610011                Gas           Gov. Aggregation
DEO             6180003475583               Gas           Gov. Aggregation   COH             154790480011                Gas           Gov. Aggregation
DEO             6180002807485               Gas           Gov. Aggregation   COH             123740920010                Gas           Gov. Aggregation
DEO             6180004377784               Gas           Gov. Aggregation   COH             165825180016                Gas           Gov. Aggregation
DEO             6180000514861               Gas           Gov. Aggregation   COH             123750600025                Gas           Gov. Aggregation
DEO             5500066263306               Gas           Gov. Aggregation   COH             130089810016                Gas           Gov. Aggregation
DEO             5180008654187               Gas           Gov. Aggregation   COH             169955170019                Gas           Gov. Aggregation
DEO             5180009014320               Gas           Gov. Aggregation   COH             173416560013                Gas           Gov. Aggregation
DEO             5500065451512               Gas           Gov. Aggregation   COH             123749790029                Gas           Gov. Aggregation
DEO             5500065261399               Gas           Gov. Aggregation   COH             138203890036                Gas           Gov. Aggregation
DEO             5180007598371               Gas           Gov. Aggregation   COH             164095350010                Gas           Gov. Aggregation
DEO             5180008681089               Gas           Gov. Aggregation   COH             123744990018                Gas           Gov. Aggregation
DEO             6180003021520               Gas           Gov. Aggregation   COH             156799760030                Gas           Gov. Aggregation
DEO             5180000011743               Gas           Gov. Aggregation   COH             173825060039                Gas           Gov. Aggregation
DEO             4500053891589               Gas           Gov. Aggregation   COH             152362770019                Gas           Gov. Aggregation
DEO             2500053763017               Gas           Gov. Aggregation   COH             193440710016                Gas           Gov. Aggregation
DEO             0180000867799               Gas           Gov. Aggregation   COH             123749910023                Gas           Gov. Aggregation
DEO             8180008863909               Gas           Gov. Aggregation   COH             123738810018                Gas           Gov. Aggregation
DEO             8500044755557               Gas           Gov. Aggregation   COH             190096840013                Gas           Gov. Aggregation
DEO             8500064412408               Gas           Gov. Aggregation   COH             196643880018                Gas           Gov. Aggregation
DEO             8500064496283               Gas           Gov. Aggregation   COH             130756440019                Gas           Gov. Aggregation
DEO             8500054332863               Gas           Gov. Aggregation   COH             198250570014                Gas           Gov. Aggregation
DEO             2500063862396               Gas           Gov. Aggregation   COH             153381360014                Gas           Gov. Aggregation
DEO             3180007251055               Gas           Gov. Aggregation   COH             174719610019                Gas           Gov. Aggregation
DEO             3500053449736               Gas           Gov. Aggregation   COH             185632290018                Gas           Gov. Aggregation
DEO             3500048461811               Gas           Gov. Aggregation   COH             162893630048                Gas           Gov. Aggregation
DEO             4180002468348               Gas           Gov. Aggregation   COH             165221120018                Gas           Gov. Aggregation
DEO             4180004971506               Gas           Gov. Aggregation   COH             123843250022                Gas           Gov. Aggregation
DEO             4180004869743               Gas           Gov. Aggregation   COH             152329460014                Gas           Gov. Aggregation
DEO             4180004941077               Gas           Gov. Aggregation   COH             131891610025                Gas           Gov. Aggregation
DEO             4180000932037               Gas           Gov. Aggregation   COH             123797640010                Gas           Gov. Aggregation
DEO             3500063590801               Gas           Gov. Aggregation   COH             140180210016                Gas           Gov. Aggregation
DEO             7500053182104               Gas           Gov. Aggregation   COH             125648790665                Gas           Gov. Aggregation
DEO             8180006145292               Gas           Gov. Aggregation   COH             142466460016                Gas           Gov. Aggregation
DEO             7500066349556               Gas           Gov. Aggregation   COH             131662890095                Gas           Gov. Aggregation
DEO             1180002852853               Gas           Gov. Aggregation   COH             195021120016                Gas           Gov. Aggregation
DEO             2500006961381               Gas           Gov. Aggregation   COH             153381360023                Gas           Gov. Aggregation
DEO             4180008362274               Gas           Gov. Aggregation   COH             123751420021                Gas           Gov. Aggregation
DEO             9180005314183               Gas           Gov. Aggregation   COH             187536420012                Gas           Gov. Aggregation
DEO             9180005355939               Gas           Gov. Aggregation   COH             161137210012                Gas           Gov. Aggregation
DEO             9180005229716               Gas           Gov. Aggregation   COH             163452000016                Gas           Gov. Aggregation
DEO             9180006117383               Gas           Gov. Aggregation   COH             190878600015                Gas           Gov. Aggregation
DEO             9180004854453               Gas           Gov. Aggregation   COH             157988530054                Gas           Gov. Aggregation
DEO             4180008137012               Gas           Gov. Aggregation   COH             123862990027                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             5180003031026               Gas           Gov. Aggregation   COH             133217140011                Gas           Gov. Aggregation
DEO             6180005816057               Gas           Gov. Aggregation   COH             198575410019                Gas           Gov. Aggregation
DEO             7180006017196               Gas           Gov. Aggregation   COH             149666720056                Gas           Gov. Aggregation
DEO             7180001799005               Gas           Gov. Aggregation   COH             186608620018                Gas           Gov. Aggregation
DEO             7180003542887               Gas           Gov. Aggregation   COH             132460460038                Gas           Gov. Aggregation
DEO             2180001281916               Gas           Gov. Aggregation   COH             186552380018                Gas           Gov. Aggregation
DEO             1500063123292               Gas           Gov. Aggregation   COH             152056680080                Gas           Gov. Aggregation
DEO             1180008577825               Gas           Gov. Aggregation   COH             173126240015                Gas           Gov. Aggregation
DEO             9500053462478               Gas           Gov. Aggregation   COH             186073300010                Gas           Gov. Aggregation
DEO             9500054383731               Gas           Gov. Aggregation   COH             198116420019                Gas           Gov. Aggregation
DEO             9180001805614               Gas           Gov. Aggregation   COH             187858450014                Gas           Gov. Aggregation
DEO             9500049054286               Gas           Gov. Aggregation   COH             134256040019                Gas           Gov. Aggregation
DEO             2180000375191               Gas           Gov. Aggregation   COH             112335100032                Gas           Gov. Aggregation
DEO             1180007083500               Gas           Gov. Aggregation   COH             134594560238                Gas           Gov. Aggregation
DEO             1180006745989               Gas           Gov. Aggregation   COH             187817310019                Gas           Gov. Aggregation
DEO             0180009143567               Gas           Gov. Aggregation   COH             175826920016                Gas           Gov. Aggregation
DEO             0180004691466               Gas           Gov. Aggregation   COH             149922990029                Gas           Gov. Aggregation
DEO             5180005777475               Gas           Gov. Aggregation   COH             165541760016                Gas           Gov. Aggregation
DEO             4500062912362               Gas           Gov. Aggregation   COH             188170630031                Gas           Gov. Aggregation
DEO             7180004662440               Gas           Gov. Aggregation   COH             147527420028                Gas           Gov. Aggregation
DEO             8180001276885               Gas           Gov. Aggregation   COH             123761740014                Gas           Gov. Aggregation
DEO             7500053015337               Gas           Gov. Aggregation   COH             136491020022                Gas           Gov. Aggregation
DEO             4180004763233               Gas           Gov. Aggregation   COH             123760200055                Gas           Gov. Aggregation
DEO             5500040620998               Gas           Gov. Aggregation   COH             156926620010                Gas           Gov. Aggregation
DEO             6180004470827               Gas           Gov. Aggregation   COH             172958640019                Gas           Gov. Aggregation
DEO             6180005572157               Gas           Gov. Aggregation   COH             159820720010                Gas           Gov. Aggregation
DEO             6180006287067               Gas           Gov. Aggregation   COH             167466170018                Gas           Gov. Aggregation
DEO             5500062440594               Gas           Gov. Aggregation   COH             152746520035                Gas           Gov. Aggregation
DEO             6180003612829               Gas           Gov. Aggregation   COH             197185040015                Gas           Gov. Aggregation
DEO             4500064876022               Gas           Gov. Aggregation   COH             176997240017                Gas           Gov. Aggregation
DEO             9180008897406               Gas           Gov. Aggregation   COH             123764040015                Gas           Gov. Aggregation
DEO             1180005497326               Gas           Gov. Aggregation   COH             146379000031                Gas           Gov. Aggregation
DEO             9500061142615               Gas           Gov. Aggregation   COH             142497780023                Gas           Gov. Aggregation
DEO             1500064669261               Gas           Gov. Aggregation   COH             165657200027                Gas           Gov. Aggregation
DEO             1500054573941               Gas           Gov. Aggregation   COH             194988520033                Gas           Gov. Aggregation
DEO             1500055229100               Gas           Gov. Aggregation   COH             123747910027                Gas           Gov. Aggregation
DEO             0180007461853               Gas           Gov. Aggregation   COH             135607800022                Gas           Gov. Aggregation
DEO             6500066093233               Gas           Gov. Aggregation   COH             190557140012                Gas           Gov. Aggregation
DEO             6180008879448               Gas           Gov. Aggregation   COH             160218130036                Gas           Gov. Aggregation
DEO             3500054846896               Gas           Gov. Aggregation   COH             173138700013                Gas           Gov. Aggregation
DEO             4500064811356               Gas           Gov. Aggregation   COH             197602630015                Gas           Gov. Aggregation
DEO             5180000366078               Gas           Gov. Aggregation   COH             174805120037                Gas           Gov. Aggregation
DEO             4180002672964               Gas           Gov. Aggregation   COH             154818090013                Gas           Gov. Aggregation
DEO             3500065904833               Gas           Gov. Aggregation   COH             198177870017                Gas           Gov. Aggregation
DEO             2500064028580               Gas           Gov. Aggregation   COH             171132500019                Gas           Gov. Aggregation
DEO             7500046979557               Gas           Gov. Aggregation   COH             170952160014                Gas           Gov. Aggregation
DEO             7500064267852               Gas           Gov. Aggregation   COH             197892020010                Gas           Gov. Aggregation
DEO             4180008350791               Gas           Gov. Aggregation   COH             164066530022                Gas           Gov. Aggregation
DEO             5180006854564               Gas           Gov. Aggregation   COH             172132260037                Gas           Gov. Aggregation
DEO             4500067525038               Gas           Gov. Aggregation   COH             193834030014                Gas           Gov. Aggregation
DEO             4500061327947               Gas           Gov. Aggregation   COH             139963730083                Gas           Gov. Aggregation
DEO             4500061467920               Gas           Gov. Aggregation   COH             177063000015                Gas           Gov. Aggregation
DEO             4500051436425               Gas           Gov. Aggregation   COH             167038690016                Gas           Gov. Aggregation
DEO             7180005668217               Gas           Gov. Aggregation   COH             156799750014                Gas           Gov. Aggregation
DEO             5180008258568               Gas           Gov. Aggregation   COH             197882520016                Gas           Gov. Aggregation
DEO             4440107494658               Gas           Gov. Aggregation   COH             165962380032                Gas           Gov. Aggregation
DEO             5180006342552               Gas           Gov. Aggregation   COH             137706590034                Gas           Gov. Aggregation
DEO             7500066792817               Gas           Gov. Aggregation   COH             123753520017                Gas           Gov. Aggregation
DEO             3180003647401               Gas           Gov. Aggregation   COH             198688400012                Gas           Gov. Aggregation
DEO             2500066465823               Gas           Gov. Aggregation   COH             149423140016                Gas           Gov. Aggregation
DEO             2500066571873               Gas           Gov. Aggregation   COH             149659940019                Gas           Gov. Aggregation
DEO             2500067467018               Gas           Gov. Aggregation   COH             196895210015                Gas           Gov. Aggregation
DEO             0500067241054               Gas           Gov. Aggregation   COH             129079480038                Gas           Gov. Aggregation
DEO             0500062759231               Gas           Gov. Aggregation   COH             189485900018                Gas           Gov. Aggregation
DEO             0500064104456               Gas           Gov. Aggregation   COH             123738980013                Gas           Gov. Aggregation
DEO             1180003934061               Gas           Gov. Aggregation   COH             166312100036                Gas           Gov. Aggregation
DEO             7500064820312               Gas           Gov. Aggregation   COH             196651770014                Gas           Gov. Aggregation
DEO             7500014249649               Gas           Gov. Aggregation   COH             123798100011                Gas           Gov. Aggregation
DEO             7180005062489               Gas           Gov. Aggregation   COH             149719350015                Gas           Gov. Aggregation
DEO             7180004400282               Gas           Gov. Aggregation   COH             173611210012                Gas           Gov. Aggregation
DEO             5500062188130               Gas           Gov. Aggregation   COH             136365040025                Gas           Gov. Aggregation
DEO             5500063581360               Gas           Gov. Aggregation   COH             152836830020                Gas           Gov. Aggregation
DEO             4500067385906               Gas           Gov. Aggregation   COH             155179070067                Gas           Gov. Aggregation
DEO             5180001047797               Gas           Gov. Aggregation   COH             165069480017                Gas           Gov. Aggregation
DEO             6180001455044               Gas           Gov. Aggregation   COH             123740720012                Gas           Gov. Aggregation
DEO             6180003014523               Gas           Gov. Aggregation   COH             166950980012                Gas           Gov. Aggregation
DEO             6180005953084               Gas           Gov. Aggregation   COH             123742820017                Gas           Gov. Aggregation
DEO             4500066516851               Gas           Gov. Aggregation   COH             132698080044                Gas           Gov. Aggregation
DEO             4500064849030               Gas           Gov. Aggregation   COH             185847460017                Gas           Gov. Aggregation
DEO             5180002821774               Gas           Gov. Aggregation   COH             137307120029                Gas           Gov. Aggregation
DEO             7180000376374               Gas           Gov. Aggregation   COH             133608100010                Gas           Gov. Aggregation
DEO             6500040386098               Gas           Gov. Aggregation   COH             174791260011                Gas           Gov. Aggregation
DEO             2180006448367               Gas           Gov. Aggregation   COH             194228640010                Gas           Gov. Aggregation
DEO             3440105095947               Gas           Gov. Aggregation   COH             154373060031                Gas           Gov. Aggregation
DEO             0180000056915               Gas           Gov. Aggregation   COH             153417620076                Gas           Gov. Aggregation
DEO             8500066908011               Gas           Gov. Aggregation   COH             140277590067                Gas           Gov. Aggregation
DEO             8180000023528               Gas           Gov. Aggregation   COH             144186480096                Gas           Gov. Aggregation
DEO             7500067197633               Gas           Gov. Aggregation   COH             155322070026                Gas           Gov. Aggregation
DEO             7500067253080               Gas           Gov. Aggregation   COH             137719060038                Gas           Gov. Aggregation
DEO             8180000817697               Gas           Gov. Aggregation   COH             155523570034                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             7440105095691               Gas           Gov. Aggregation   COH             155998670047                Gas           Gov. Aggregation
DEO             7500062352036               Gas           Gov. Aggregation   COH             123738790022                Gas           Gov. Aggregation
DEO             4180000579132               Gas           Gov. Aggregation   COH             199617510017                Gas           Gov. Aggregation
DEO             3180003649482               Gas           Gov. Aggregation   COH             167763080035                Gas           Gov. Aggregation
DEO             4180005886785               Gas           Gov. Aggregation   COH             169248940034                Gas           Gov. Aggregation
DEO             4180000852296               Gas           Gov. Aggregation   COH             173524080088                Gas           Gov. Aggregation
DEO             3500066890340               Gas           Gov. Aggregation   COH             174539840086                Gas           Gov. Aggregation
DEO             1180007871138               Gas           Gov. Aggregation   COH             151702570145                Gas           Gov. Aggregation
DEO             0500062493041               Gas           Gov. Aggregation   COH             190519890042                Gas           Gov. Aggregation
DEO             1500064438038               Gas           Gov. Aggregation   COH             186650360041                Gas           Gov. Aggregation
DEO             0180001355879               Gas           Gov. Aggregation   COH             177068660053                Gas           Gov. Aggregation
DEO             0500054183299               Gas           Gov. Aggregation   COH             190543350026                Gas           Gov. Aggregation
DEO             0500061472047               Gas           Gov. Aggregation   COH             193395550035                Gas           Gov. Aggregation
DEO             2180001738178               Gas           Gov. Aggregation   COH             194510970030                Gas           Gov. Aggregation
DEO             2180001283659               Gas           Gov. Aggregation   COH             193463240035                Gas           Gov. Aggregation
DEO             2180003260498               Gas           Gov. Aggregation   COH             189091620021                Gas           Gov. Aggregation
DEO             2180003287279               Gas           Gov. Aggregation   COH             195039320026                Gas           Gov. Aggregation
DEO             2180004234942               Gas           Gov. Aggregation   COH             196342850021                Gas           Gov. Aggregation
DEO             0180000302331               Gas           Gov. Aggregation   COH             198448660034                Gas           Gov. Aggregation
DEO             3442103720954               Gas           Gov. Aggregation   COH             194717420037                Gas           Gov. Aggregation
DEO             3500053185293               Gas           Gov. Aggregation   COH             194699260068                Gas           Gov. Aggregation
DEO             2180005679795               Gas           Gov. Aggregation   COH             197370220032                Gas           Gov. Aggregation
DEO             6180006830988               Gas           Gov. Aggregation   COH             199396740019                Gas           Gov. Aggregation
DEO             6180005041581               Gas           Gov. Aggregation   COH             199303590016                Gas           Gov. Aggregation
DEO             4180007834514               Gas           Gov. Aggregation   COH             199698910013                Gas           Gov. Aggregation
DEO             4180007344456               Gas           Gov. Aggregation   COH             199153450014                Gas           Gov. Aggregation
DEO             5180002895391               Gas           Gov. Aggregation   COH             199176420012                Gas           Gov. Aggregation
DEO             5180004055845               Gas           Gov. Aggregation   COH             199180650015                Gas           Gov. Aggregation
DEO             5180001685260               Gas           Gov. Aggregation   COH             199111730013                Gas           Gov. Aggregation
DEO             4500067014279               Gas           Gov. Aggregation   COH             199120180010                Gas           Gov. Aggregation
DEO             7180003190998               Gas           Gov. Aggregation   COH             199667490017                Gas           Gov. Aggregation
DEO             3500063295771               Gas           Gov. Aggregation   COH             199767560029                Gas           Gov. Aggregation
DEO             2500053979991               Gas           Gov. Aggregation   COH             200210920019                Gas           Gov. Aggregation
DEO             3180002172877               Gas           Gov. Aggregation   COH             200154490010                Gas           Gov. Aggregation
DEO             1180008780069               Gas           Gov. Aggregation   COH             200151590015                Gas           Gov. Aggregation
DEO             0500065064274               Gas           Gov. Aggregation   COH             198934850015                Gas           Gov. Aggregation
DEO             5500063769231               Gas           Gov. Aggregation   COH             200862880017                Gas           Gov. Aggregation
DEO             4500054423702               Gas           Gov. Aggregation   COH             200927090015                Gas           Gov. Aggregation
DEO             4180007449306               Gas           Gov. Aggregation   COH             200208970014                Gas           Gov. Aggregation
DEO             7180008231098               Gas           Gov. Aggregation   COH             200268090013                Gas           Gov. Aggregation
DEO             9180007582782               Gas           Gov. Aggregation   COH             200255570019                Gas           Gov. Aggregation
DEO             8180008371808               Gas           Gov. Aggregation   COH             200789350014                Gas           Gov. Aggregation
DEO             9500064212031               Gas           Gov. Aggregation   COH             200764080013                Gas           Gov. Aggregation
DEO             9180002634255               Gas           Gov. Aggregation   COH             201617600013                Gas           Gov. Aggregation
DEO             7180003044391               Gas           Gov. Aggregation   COH             201344990011                Gas           Gov. Aggregation
DEO             7180008405265               Gas           Gov. Aggregation   COH             201340980011                Gas           Gov. Aggregation
DEO             7500048771790               Gas           Gov. Aggregation   COH             201450320016                Gas           Gov. Aggregation
DEO             4500065316527               Gas           Gov. Aggregation   COH             201183890014                Gas           Gov. Aggregation
DEO             5180000242126               Gas           Gov. Aggregation   COH             201199980012                Gas           Gov. Aggregation
DEO             1180007164865               Gas           Gov. Aggregation   COH             201423250018                Gas           Gov. Aggregation
DEO             1500066639441               Gas           Gov. Aggregation   COH             201685300013                Gas           Gov. Aggregation
DEO             3180003792668               Gas           Gov. Aggregation   COH             201944470018                Gas           Gov. Aggregation
DEO             2500061163187               Gas           Gov. Aggregation   COH             201529960015                Gas           Gov. Aggregation
DEO             3500061161075               Gas           Gov. Aggregation   COH             201664830016                Gas           Gov. Aggregation
DEO             3500064326942               Gas           Gov. Aggregation   COH             201372550014                Gas           Gov. Aggregation
DEO             2180003204420               Gas           Gov. Aggregation   COH             123797780011                Gas           Gov. Aggregation
DEO             1500048566183               Gas           Gov. Aggregation   COH             193086000017                Gas           Gov. Aggregation
DEO             6180000698786               Gas           Gov. Aggregation   COH             175001810017                Gas           Gov. Aggregation
DEO             5180006748496               Gas           Gov. Aggregation   COH             123750650016                Gas           Gov. Aggregation
DEO             6180009141072               Gas           Gov. Aggregation   COH             147760130052                Gas           Gov. Aggregation
DEO             7180005103806               Gas           Gov. Aggregation   COH             123826320078                Gas           Gov. Aggregation
DEO             9180000431589               Gas           Gov. Aggregation   COH             197997240012                Gas           Gov. Aggregation
DEO             9180003337005               Gas           Gov. Aggregation   COH             195975200018                Gas           Gov. Aggregation
DEO             4180007153958               Gas           Gov. Aggregation   COH             130454440046                Gas           Gov. Aggregation
DEO             6180003577897               Gas           Gov. Aggregation   COH             172347120031                Gas           Gov. Aggregation
DEO             1500051950509               Gas           Gov. Aggregation   COH             175590100019                Gas           Gov. Aggregation
DEO             1500062674268               Gas           Gov. Aggregation   COH             144828450018                Gas           Gov. Aggregation
DEO             2180003193208               Gas           Gov. Aggregation   COH             192172800017                Gas           Gov. Aggregation
DEO             0442104959376               Gas           Gov. Aggregation   COH             193475320015                Gas           Gov. Aggregation
DEO             3500066331352               Gas           Gov. Aggregation   COH             169034580079                Gas           Gov. Aggregation
DEO             3180003901465               Gas           Gov. Aggregation   COH             161109450011                Gas           Gov. Aggregation
DEO             2500066154347               Gas           Gov. Aggregation   COH             123742240019                Gas           Gov. Aggregation
DEO             2500054185135               Gas           Gov. Aggregation   COH             191923110010                Gas           Gov. Aggregation
DEO             2500055523571               Gas           Gov. Aggregation   COH             188559500016                Gas           Gov. Aggregation
DEO             2180007081277               Gas           Gov. Aggregation   COH             171177550024                Gas           Gov. Aggregation
DEO             2180008536558               Gas           Gov. Aggregation   COH             195680700027                Gas           Gov. Aggregation
DEO             2500065672519               Gas           Gov. Aggregation   COH             190219590023                Gas           Gov. Aggregation
DEO             3180001863909               Gas           Gov. Aggregation   COH             139823871276                Gas           Gov. Aggregation
DEO             0180004524740               Gas           Gov. Aggregation   COH             152312840019                Gas           Gov. Aggregation
DEO             0180001286514               Gas           Gov. Aggregation   COH             195087770021                Gas           Gov. Aggregation
DEO             0180002429693               Gas           Gov. Aggregation   COH             111133540011                Gas           Gov. Aggregation
DEO             0500030772712               Gas           Gov. Aggregation   COH             165021630186                Gas           Gov. Aggregation
DEO             0500005570652               Gas           Gov. Aggregation   COH             194706150019                Gas           Gov. Aggregation
DEO             0500066935794               Gas           Gov. Aggregation   COH             163009400011                Gas           Gov. Aggregation
DEO             1180000686179               Gas           Gov. Aggregation   COH             176143800018                Gas           Gov. Aggregation
DEO             0500064530538               Gas           Gov. Aggregation   COH             194482490014                Gas           Gov. Aggregation
DEO             1180002583168               Gas           Gov. Aggregation   COH             176591030020                Gas           Gov. Aggregation
DEO             1180001959001               Gas           Gov. Aggregation   COH             111136930013                Gas           Gov. Aggregation
DEO             1180005917116               Gas           Gov. Aggregation   COH             136725660012                Gas           Gov. Aggregation
DEO             1180007459116               Gas           Gov. Aggregation   COH             111132720015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             1500031078241               Gas           Gov. Aggregation   COH             186420870014                Gas           Gov. Aggregation
DEO             1180009207826               Gas           Gov. Aggregation   COH             143109210013                Gas           Gov. Aggregation
DEO             1500047947971               Gas           Gov. Aggregation   COH             158464570037                Gas           Gov. Aggregation
DEO             2180005169149               Gas           Gov. Aggregation   COH             166309930011                Gas           Gov. Aggregation
DEO             2180003552409               Gas           Gov. Aggregation   COH             191170080014                Gas           Gov. Aggregation
DEO             2180001983141               Gas           Gov. Aggregation   COH             138421080016                Gas           Gov. Aggregation
DEO             1500066844079               Gas           Gov. Aggregation   COH             171710000018                Gas           Gov. Aggregation
DEO             8440102549665               Gas           Gov. Aggregation   COH             199413570017                Gas           Gov. Aggregation
DEO             8442105435037               Gas           Gov. Aggregation   COH             189771330011                Gas           Gov. Aggregation
DEO             8500055194447               Gas           Gov. Aggregation   COH             111123970012                Gas           Gov. Aggregation
DEO             9180005531425               Gas           Gov. Aggregation   COH             162290960010                Gas           Gov. Aggregation
DEO             9180008231807               Gas           Gov. Aggregation   COH             157622820048                Gas           Gov. Aggregation
DEO             9180007317448               Gas           Gov. Aggregation   COH             168744970019                Gas           Gov. Aggregation
DEO             9180007689675               Gas           Gov. Aggregation   COH             173280470011                Gas           Gov. Aggregation
DEO             5500054289356               Gas           Gov. Aggregation   COH             151083730047                Gas           Gov. Aggregation
DEO             1440102556015               Gas           Gov. Aggregation   COH             198660940017                Gas           Gov. Aggregation
DEO             9500066154196               Gas           Gov. Aggregation   COH             176632060026                Gas           Gov. Aggregation
DEO             6180008468522               Gas           Gov. Aggregation   COH             111123330025                Gas           Gov. Aggregation
DEO             7500062270765               Gas           Gov. Aggregation   COH             170994390018                Gas           Gov. Aggregation
DEO             8180005979361               Gas           Gov. Aggregation   COH             174980320017                Gas           Gov. Aggregation
DEO             8500064601662               Gas           Gov. Aggregation   COH             199587780016                Gas           Gov. Aggregation
DEO             8500049375874               Gas           Gov. Aggregation   COH             169901270011                Gas           Gov. Aggregation
DEO             4180004749469               Gas           Gov. Aggregation   COH             185053210012                Gas           Gov. Aggregation
DEO             3180006240961               Gas           Gov. Aggregation   COH             192822700019                Gas           Gov. Aggregation
DEO             7180006056098               Gas           Gov. Aggregation   COH             197370130031                Gas           Gov. Aggregation
DEO             6180008161665               Gas           Gov. Aggregation   COH             169391440018                Gas           Gov. Aggregation
COH             193423160116                Gas           Gov. Aggregation   COH             192214180018                Gas           Gov. Aggregation
COH             158967150011                Gas           Gov. Aggregation   COH             142151520038                Gas           Gov. Aggregation
COH             166371590012                Gas           Gov. Aggregation   COH             193346460019                Gas           Gov. Aggregation
COH             169833520013                Gas           Gov. Aggregation   COH             191395360019                Gas           Gov. Aggregation
COH             121922180012                Gas           Gov. Aggregation   COH             138478300010                Gas           Gov. Aggregation
COH             121931330011                Gas           Gov. Aggregation   COH             185571250034                Gas           Gov. Aggregation
COH             121966570018                Gas           Gov. Aggregation   COH             158235210028                Gas           Gov. Aggregation
COH             121977930019                Gas           Gov. Aggregation   COH             148855250019                Gas           Gov. Aggregation
COH             121977940017                Gas           Gov. Aggregation   COH             137419260014                Gas           Gov. Aggregation
COH             121983740016                Gas           Gov. Aggregation   COH             185113450014                Gas           Gov. Aggregation
COH             121966570045                Gas           Gov. Aggregation   COH             155171890016                Gas           Gov. Aggregation
COH             153453230018                Gas           Gov. Aggregation   COH             157632650016                Gas           Gov. Aggregation
COH             173147580029                Gas           Gov. Aggregation   COH             186981730024                Gas           Gov. Aggregation
COH             154552090035                Gas           Gov. Aggregation   COH             151702670019                Gas           Gov. Aggregation
COH             204935980017                Gas           Gov. Aggregation   COH             195777510022                Gas           Gov. Aggregation
COH             148207370071                Gas           Gov. Aggregation   COH             139148770038                Gas           Gov. Aggregation
COH             189583760056                Gas           Gov. Aggregation   COH             138446030014                Gas           Gov. Aggregation
COH             190891530067                Gas           Gov. Aggregation   COH             188605450018                Gas           Gov. Aggregation
COH             191028480039                Gas           Gov. Aggregation   COH             165986440020                Gas           Gov. Aggregation
COH             136557340016                Gas           Gov. Aggregation   COH             192793760029                Gas           Gov. Aggregation
COH             175859010027                Gas           Gov. Aggregation   COH             142312820015                Gas           Gov. Aggregation
COH             166311590036                Gas           Gov. Aggregation   COH             137108490015                Gas           Gov. Aggregation
COH             202006510025                Gas           Gov. Aggregation   COH             189562480013                Gas           Gov. Aggregation
COH             196992790027                Gas           Gov. Aggregation   COH             169765010015                Gas           Gov. Aggregation
COH             132100860036                Gas           Gov. Aggregation   COH             167384350032                Gas           Gov. Aggregation
COH             196150740021                Gas           Gov. Aggregation   COH             199752480018                Gas           Gov. Aggregation
COH             202975850012                Gas           Gov. Aggregation   COH             166266690014                Gas           Gov. Aggregation
COH             204274190015                Gas           Gov. Aggregation   COH             164593850028                Gas           Gov. Aggregation
COH             203719550016                Gas           Gov. Aggregation   COH             142427470141                Gas           Gov. Aggregation
COH             188924080029                Gas           Gov. Aggregation   COH             141316070043                Gas           Gov. Aggregation
COH             203535050039                Gas           Gov. Aggregation   COH             195388570016                Gas           Gov. Aggregation
COH             203368420027                Gas           Gov. Aggregation   COH             135129260011                Gas           Gov. Aggregation
COH             202410230018                Gas           Gov. Aggregation   COH             111104260020                Gas           Gov. Aggregation
COH             115046080037                Gas           Gov. Aggregation   COH             197329330018                Gas           Gov. Aggregation
COH             202231680014                Gas           Gov. Aggregation   COH             110803020029                Gas           Gov. Aggregation
COH             136337590029                Gas           Gov. Aggregation   COH             146801970022                Gas           Gov. Aggregation
COH             127621800102                Gas           Gov. Aggregation   COH             168197330023                Gas           Gov. Aggregation
COH             114998950029                Gas           Gov. Aggregation   COH             111130460014                Gas           Gov. Aggregation
COH             185306240055                Gas           Gov. Aggregation   COH             159235320033                Gas           Gov. Aggregation
COH             177813100022                Gas           Gov. Aggregation   COH             174341200016                Gas           Gov. Aggregation
COH             115008760025                Gas           Gov. Aggregation   COH             110951130032                Gas           Gov. Aggregation
COH             153990700584                Gas           Gov. Aggregation   COH             111122320029                Gas           Gov. Aggregation
COH             203838130012                Gas           Gov. Aggregation   COH             156972580012                Gas           Gov. Aggregation
COH             204494920015                Gas           Gov. Aggregation   COH             177405200017                Gas           Gov. Aggregation
COH             177354190064                Gas           Gov. Aggregation   COH             139023500010                Gas           Gov. Aggregation
COH             189432550031                Gas           Gov. Aggregation   COH             132583530033                Gas           Gov. Aggregation
COH             191827100034                Gas           Gov. Aggregation   COH             145563870011                Gas           Gov. Aggregation
COH             191993210165                Gas           Gov. Aggregation   COH             166589850016                Gas           Gov. Aggregation
COH             148663110024                Gas           Gov. Aggregation   COH             173247950010                Gas           Gov. Aggregation
COH             114979780472                Gas           Gov. Aggregation   COH             199224750010                Gas           Gov. Aggregation
COH             190466920020                Gas           Gov. Aggregation   COH             187247600017                Gas           Gov. Aggregation
COH             193266450066                Gas           Gov. Aggregation   COH             111172380013                Gas           Gov. Aggregation
COH             188019360430                Gas           Gov. Aggregation   COH             199393430010                Gas           Gov. Aggregation
COH             198477290013                Gas           Gov. Aggregation   COH             142520020021                Gas           Gov. Aggregation
COH             198849540048                Gas           Gov. Aggregation   COH             135596750019                Gas           Gov. Aggregation
COH             204948340014                Gas           Gov. Aggregation   COH             167934950020                Gas           Gov. Aggregation
COH             195352120042                Gas           Gov. Aggregation   COH             167779290010                Gas           Gov. Aggregation
COH             198188890010                Gas           Gov. Aggregation   COH             142558490015                Gas           Gov. Aggregation
COH             200803950025                Gas           Gov. Aggregation   COH             135129070039                Gas           Gov. Aggregation
COH             195377260041                Gas           Gov. Aggregation   COH             195860880019                Gas           Gov. Aggregation
COH             194600030027                Gas           Gov. Aggregation   COH             129882890011                Gas           Gov. Aggregation
COH             115081100010                Gas           Gov. Aggregation   COH             187344250015                Gas           Gov. Aggregation
COH             115082520010                Gas           Gov. Aggregation   COH             111118040018                Gas           Gov. Aggregation
COH             203018260013                Gas           Gov. Aggregation   COH             156180700015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             203563110019                Gas           Gov. Aggregation   COH             161685240033                Gas           Gov. Aggregation
COH             203681050012                Gas           Gov. Aggregation   COH             137847390010                Gas           Gov. Aggregation
COH             201061800029                Gas           Gov. Aggregation   COH             132058780016                Gas           Gov. Aggregation
COH             201535840017                Gas           Gov. Aggregation   COH             193467620019                Gas           Gov. Aggregation
COH             204094280018                Gas           Gov. Aggregation   COH             111125170025                Gas           Gov. Aggregation
COH             203044750015                Gas           Gov. Aggregation   COH             173839640029                Gas           Gov. Aggregation
COH             196444400056                Gas           Gov. Aggregation   COH             135195840029                Gas           Gov. Aggregation
COH             143042470020                Gas           Gov. Aggregation   COH             187935190015                Gas           Gov. Aggregation
COH             202978030036                Gas           Gov. Aggregation   COH             176841270010                Gas           Gov. Aggregation
COH             203321320017                Gas           Gov. Aggregation   COH             151116210018                Gas           Gov. Aggregation
COH             115074190044                Gas           Gov. Aggregation   COH             111037180039                Gas           Gov. Aggregation
COH             168513300036                Gas           Gov. Aggregation   COH             111139330013                Gas           Gov. Aggregation
COH             189973460052                Gas           Gov. Aggregation   COH             174828870023                Gas           Gov. Aggregation
COH             204763230019                Gas           Gov. Aggregation   COH             195244390018                Gas           Gov. Aggregation
COH             204858930011                Gas           Gov. Aggregation   COH             176327990019                Gas           Gov. Aggregation
COH             198297800035                Gas           Gov. Aggregation   COH             199239240016                Gas           Gov. Aggregation
COH             201158480031                Gas           Gov. Aggregation   COH             174223140037                Gas           Gov. Aggregation
COH             201738600017                Gas           Gov. Aggregation   COH             146582270025                Gas           Gov. Aggregation
COH             199440520047                Gas           Gov. Aggregation   COH             139108190025                Gas           Gov. Aggregation
COH             198960340035                Gas           Gov. Aggregation   COH             155695280023                Gas           Gov. Aggregation
COH             200301480037                Gas           Gov. Aggregation   COH             159091530035                Gas           Gov. Aggregation
COH             203230030011                Gas           Gov. Aggregation   COH             161625870019                Gas           Gov. Aggregation
COH             205019550018                Gas           Gov. Aggregation   COH             111131860018                Gas           Gov. Aggregation
COH             204250260010                Gas           Gov. Aggregation   COH             111122840020                Gas           Gov. Aggregation
COH             204118110011                Gas           Gov. Aggregation   COH             111120830035                Gas           Gov. Aggregation
COH             204119540019                Gas           Gov. Aggregation   COH             193009990012                Gas           Gov. Aggregation
COH             204009250013                Gas           Gov. Aggregation   COH             159887590018                Gas           Gov. Aggregation
COH             155856610058                Gas           Gov. Aggregation   COH             196081260010                Gas           Gov. Aggregation
COH             205173200015                Gas           Gov. Aggregation   COH             163633880045                Gas           Gov. Aggregation
COH             168497480035                Gas           Gov. Aggregation   COH             111130020016                Gas           Gov. Aggregation
COH             192789240045                Gas           Gov. Aggregation   COH             143430210012                Gas           Gov. Aggregation
COH             193079090023                Gas           Gov. Aggregation   COH             146013650020                Gas           Gov. Aggregation
COH             158377220188                Gas           Gov. Aggregation   COH             174523750015                Gas           Gov. Aggregation
COH             153077010067                Gas           Gov. Aggregation   COH             111047280028                Gas           Gov. Aggregation
COH             202269000017                Gas           Gov. Aggregation   COH             195305780052                Gas           Gov. Aggregation
COH             202229140021                Gas           Gov. Aggregation   COH             111316240052                Gas           Gov. Aggregation
COH             202274100015                Gas           Gov. Aggregation   COH             199335060010                Gas           Gov. Aggregation
COH             202388040017                Gas           Gov. Aggregation   COH             188062920011                Gas           Gov. Aggregation
COH             202410210012                Gas           Gov. Aggregation   COH             167470570015                Gas           Gov. Aggregation
COH             201300700013                Gas           Gov. Aggregation   COH             139462110012                Gas           Gov. Aggregation
COH             201242130017                Gas           Gov. Aggregation   COH             199448160010                Gas           Gov. Aggregation
COH             201261670014                Gas           Gov. Aggregation   COH             154992960012                Gas           Gov. Aggregation
COH             201254810019                Gas           Gov. Aggregation   COH             165012300013                Gas           Gov. Aggregation
COH             201716450015                Gas           Gov. Aggregation   COH             188795880017                Gas           Gov. Aggregation
COH             201970220015                Gas           Gov. Aggregation   COH             185078240014                Gas           Gov. Aggregation
COH             201936190014                Gas           Gov. Aggregation   COH             186269370011                Gas           Gov. Aggregation
COH             203130730016                Gas           Gov. Aggregation   COH             154240610036                Gas           Gov. Aggregation
COH             203353210013                Gas           Gov. Aggregation   COH             169332900015                Gas           Gov. Aggregation
COH             204391420018                Gas           Gov. Aggregation   COH             160481310013                Gas           Gov. Aggregation
COH             204493500015                Gas           Gov. Aggregation   COH             111133840018                Gas           Gov. Aggregation
COH             203850530012                Gas           Gov. Aggregation   COH             111120940014                Gas           Gov. Aggregation
COH             141328000024                Gas           Gov. Aggregation   COH             177672910022                Gas           Gov. Aggregation
COH             136352840051                Gas           Gov. Aggregation   COH             176727200016                Gas           Gov. Aggregation
COH             193443860064                Gas           Gov. Aggregation   COH             160157700018                Gas           Gov. Aggregation
COH             193589810020                Gas           Gov. Aggregation   COH             173992290010                Gas           Gov. Aggregation
COH             193757260056                Gas           Gov. Aggregation   COH             138119660033                Gas           Gov. Aggregation
COH             169009560129                Gas           Gov. Aggregation   COH             176926380017                Gas           Gov. Aggregation
COH             205073650013                Gas           Gov. Aggregation   COH             150932720030                Gas           Gov. Aggregation
COH             164163660047                Gas           Gov. Aggregation   COH             111133660016                Gas           Gov. Aggregation
COH             188354310056                Gas           Gov. Aggregation   COH             175565750016                Gas           Gov. Aggregation
COH             149931970168                Gas           Gov. Aggregation   COH             134901730024                Gas           Gov. Aggregation
COH             149931970177                Gas           Gov. Aggregation   COH             170392170010                Gas           Gov. Aggregation
COH             204113200012                Gas           Gov. Aggregation   COH             198585300011                Gas           Gov. Aggregation
COH             203235040019                Gas           Gov. Aggregation   COH             157824300012                Gas           Gov. Aggregation
COH             203231260011                Gas           Gov. Aggregation   COH             193320450015                Gas           Gov. Aggregation
COH             203215030013                Gas           Gov. Aggregation   COH             139624590027                Gas           Gov. Aggregation
COH             201114010013                Gas           Gov. Aggregation   COH             193296580011                Gas           Gov. Aggregation
COH             200638950026                Gas           Gov. Aggregation   COH             195387090028                Gas           Gov. Aggregation
COH             199529150029                Gas           Gov. Aggregation   COH             197856530019                Gas           Gov. Aggregation
COH             200094290029                Gas           Gov. Aggregation   COH             175796030018                Gas           Gov. Aggregation
COH             202015190015                Gas           Gov. Aggregation   COH             157333950017                Gas           Gov. Aggregation
COH             202063540010                Gas           Gov. Aggregation   COH             139210140028                Gas           Gov. Aggregation
COH             201865530013                Gas           Gov. Aggregation   COH             169017540028                Gas           Gov. Aggregation
COH             202343490017                Gas           Gov. Aggregation   COH             196148130015                Gas           Gov. Aggregation
COH             202541310014                Gas           Gov. Aggregation   COH             164483230012                Gas           Gov. Aggregation
COH             202380490019                Gas           Gov. Aggregation   COH             162129940042                Gas           Gov. Aggregation
COH             202734390037                Gas           Gov. Aggregation   COH             111122810017                Gas           Gov. Aggregation
COH             202744320012                Gas           Gov. Aggregation   COH             156659160032                Gas           Gov. Aggregation
COH             203699570016                Gas           Gov. Aggregation   COH             198096030015                Gas           Gov. Aggregation
COH             203865920019                Gas           Gov. Aggregation   COH             163639450016                Gas           Gov. Aggregation
COH             150004060027                Gas           Gov. Aggregation   COH             185528300034                Gas           Gov. Aggregation
COH             205250650017                Gas           Gov. Aggregation   COH             128876380012                Gas           Gov. Aggregation
COH             192545990026                Gas           Gov. Aggregation   COH             111114020010                Gas           Gov. Aggregation
COH             185873760073                Gas           Gov. Aggregation   COH             172613480013                Gas           Gov. Aggregation
COH             202835160013                Gas           Gov. Aggregation   COH             112071980029                Gas           Gov. Aggregation
COH             139332430047                Gas           Gov. Aggregation   COH             174021010023                Gas           Gov. Aggregation
COH             140501460067                Gas           Gov. Aggregation   COH             145681540047                Gas           Gov. Aggregation
COH             137916280034                Gas           Gov. Aggregation   COH             197903000019                Gas           Gov. Aggregation
COH             114988430029                Gas           Gov. Aggregation   COH             167712500015                Gas           Gov. Aggregation
COH             190886650054                Gas           Gov. Aggregation   COH             162846410025                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             192317140027                Gas           Gov. Aggregation   COH             188479280022                Gas           Gov. Aggregation
COH             186977420046                Gas           Gov. Aggregation   COH             147934030036                Gas           Gov. Aggregation
COH             146820920068                Gas           Gov. Aggregation   COH             188921320015                Gas           Gov. Aggregation
COH             147225840020                Gas           Gov. Aggregation   COH             176601530013                Gas           Gov. Aggregation
COH             156528210145                Gas           Gov. Aggregation   COH             148459020026                Gas           Gov. Aggregation
COH             202603950018                Gas           Gov. Aggregation   COH             167266940010                Gas           Gov. Aggregation
COH             202425290015                Gas           Gov. Aggregation   COH             167273240030                Gas           Gov. Aggregation
COH             202315670018                Gas           Gov. Aggregation   COH             163094930011                Gas           Gov. Aggregation
COH             202243250019                Gas           Gov. Aggregation   COH             191019140011                Gas           Gov. Aggregation
COH             202815530026                Gas           Gov. Aggregation   COH             151313170019                Gas           Gov. Aggregation
COH             203419490015                Gas           Gov. Aggregation   COH             159375000016                Gas           Gov. Aggregation
COH             203220080012                Gas           Gov. Aggregation   COH             195234730017                Gas           Gov. Aggregation
COH             204168930014                Gas           Gov. Aggregation   COH             172709180013                Gas           Gov. Aggregation
COH             202189090019                Gas           Gov. Aggregation   COH             167401020024                Gas           Gov. Aggregation
COH             196159390036                Gas           Gov. Aggregation   COH             170797020013                Gas           Gov. Aggregation
COH             196131140027                Gas           Gov. Aggregation   COH             158224210049                Gas           Gov. Aggregation
COH             203829590015                Gas           Gov. Aggregation   COH             136331990018                Gas           Gov. Aggregation
COH             204046480035                Gas           Gov. Aggregation   COH             146056020013                Gas           Gov. Aggregation
COH             202609300021                Gas           Gov. Aggregation   COH             111116010018                Gas           Gov. Aggregation
COH             115008270046                Gas           Gov. Aggregation   COH             172056780012                Gas           Gov. Aggregation
COH             114885640014                Gas           Gov. Aggregation   COH             194021050012                Gas           Gov. Aggregation
COH             143581370092                Gas           Gov. Aggregation   COH             148555860026                Gas           Gov. Aggregation
COH             148495910050                Gas           Gov. Aggregation   COH             164021800010                Gas           Gov. Aggregation
COH             147484140092                Gas           Gov. Aggregation   COH             170590480015                Gas           Gov. Aggregation
COH             151368770054                Gas           Gov. Aggregation   COH             193504520010                Gas           Gov. Aggregation
COH             173221930063                Gas           Gov. Aggregation   COH             176963160015                Gas           Gov. Aggregation
COH             171828860064                Gas           Gov. Aggregation   COH             198685310017                Gas           Gov. Aggregation
COH             173409310038                Gas           Gov. Aggregation   COH             170969330022                Gas           Gov. Aggregation
COH             175887390065                Gas           Gov. Aggregation   COH             154719170025                Gas           Gov. Aggregation
COH             203413650013                Gas           Gov. Aggregation   COH             143797030023                Gas           Gov. Aggregation
COH             203224230012                Gas           Gov. Aggregation   COH             190720210010                Gas           Gov. Aggregation
COH             204902720010                Gas           Gov. Aggregation   COH             111108960025                Gas           Gov. Aggregation
COH             195289360029                Gas           Gov. Aggregation   COH             111162350029                Gas           Gov. Aggregation
COH             194535590047                Gas           Gov. Aggregation   COH             111114160020                Gas           Gov. Aggregation
COH             205126420018                Gas           Gov. Aggregation   COH             170532530016                Gas           Gov. Aggregation
COH             205299880017                Gas           Gov. Aggregation   COH             173132210018                Gas           Gov. Aggregation
COH             177701030104                Gas           Gov. Aggregation   COH             145487880011                Gas           Gov. Aggregation
COH             201424300024                Gas           Gov. Aggregation   COH             136209750044                Gas           Gov. Aggregation
COH             201290030017                Gas           Gov. Aggregation   COH             143896260052                Gas           Gov. Aggregation
COH             201809920019                Gas           Gov. Aggregation   COH             196405500011                Gas           Gov. Aggregation
COH             201746360011                Gas           Gov. Aggregation   COH             195299100013                Gas           Gov. Aggregation
COH             202921660024                Gas           Gov. Aggregation   COH             165208040013                Gas           Gov. Aggregation
COH             202923360032                Gas           Gov. Aggregation   COH             189678590015                Gas           Gov. Aggregation
COH             205013310010                Gas           Gov. Aggregation   COH             173280470155                Gas           Gov. Aggregation
COH             204802710014                Gas           Gov. Aggregation   COH             198432340016                Gas           Gov. Aggregation
COH             202986620017                Gas           Gov. Aggregation   COH             188725830014                Gas           Gov. Aggregation
COH             142992000099                Gas           Gov. Aggregation   COH             111131450041                Gas           Gov. Aggregation
COH             203024190015                Gas           Gov. Aggregation   COH             174488630025                Gas           Gov. Aggregation
COH             199198470025                Gas           Gov. Aggregation   COH             190616340050                Gas           Gov. Aggregation
COH             201687680010                Gas           Gov. Aggregation   COH             190812610020                Gas           Gov. Aggregation
COH             201701190011                Gas           Gov. Aggregation   COH             194383810025                Gas           Gov. Aggregation
COH             201913690017                Gas           Gov. Aggregation   COH             200108440017                Gas           Gov. Aggregation
COH             198798450028                Gas           Gov. Aggregation   COH             200165820017                Gas           Gov. Aggregation
COH             194371250028                Gas           Gov. Aggregation   COH             200332290014                Gas           Gov. Aggregation
COH             165346020024                Gas           Gov. Aggregation   COH             200394520015                Gas           Gov. Aggregation
COH             204200780016                Gas           Gov. Aggregation   COH             200411960015                Gas           Gov. Aggregation
COH             203427870018                Gas           Gov. Aggregation   COH             200460600017                Gas           Gov. Aggregation
COH             199755580020                Gas           Gov. Aggregation   COH             199967770012                Gas           Gov. Aggregation
COH             185144040024                Gas           Gov. Aggregation   COH             200781690019                Gas           Gov. Aggregation
COH             115012570026                Gas           Gov. Aggregation   COH             200876090014                Gas           Gov. Aggregation
COH             198300670034                Gas           Gov. Aggregation   COH             200840500012                Gas           Gov. Aggregation
COH             129766410151                Gas           Gov. Aggregation   COH             200905950010                Gas           Gov. Aggregation
COH             131196270021                Gas           Gov. Aggregation   COH             201021030016                Gas           Gov. Aggregation
COH             156712460099                Gas           Gov. Aggregation   COH             161794160011                Gas           Gov. Aggregation
COH             202184260013                Gas           Gov. Aggregation   COH             175334730019                Gas           Gov. Aggregation
COH             201835520018                Gas           Gov. Aggregation   COH             148563760020                Gas           Gov. Aggregation
COH             193608130049                Gas           Gov. Aggregation   COH             158413170010                Gas           Gov. Aggregation
COH             187449840117                Gas           Gov. Aggregation   COH             187766090015                Gas           Gov. Aggregation
COH             116288940060                Gas           Gov. Aggregation   COH             188564160026                Gas           Gov. Aggregation
COH             131247960090                Gas           Gov. Aggregation   COH             121922340027                Gas           Gov. Aggregation
COH             205005860012                Gas           Gov. Aggregation   COH             147726060068                Gas           Gov. Aggregation
COH             153523490042                Gas           Gov. Aggregation   COH             153216610010                Gas           Gov. Aggregation
COH             154373030091                Gas           Gov. Aggregation   COH             121923280966                Gas           Gov. Aggregation
COH             158653880031                Gas           Gov. Aggregation   COH             198889510013                Gas           Gov. Aggregation
COH             156488560022                Gas           Gov. Aggregation   COH             129350660025                Gas           Gov. Aggregation
COH             189404670080                Gas           Gov. Aggregation   COH             195023520027                Gas           Gov. Aggregation
COH             189434180035                Gas           Gov. Aggregation   COH             121937220012                Gas           Gov. Aggregation
COH             189991520051                Gas           Gov. Aggregation   COH             163094980020                Gas           Gov. Aggregation
COH             185515440050                Gas           Gov. Aggregation   COH             143086230019                Gas           Gov. Aggregation
COH             185989220035                Gas           Gov. Aggregation   COH             122019440575                Gas           Gov. Aggregation
COH             170454340085                Gas           Gov. Aggregation   COH             121942730032                Gas           Gov. Aggregation
COH             160524830076                Gas           Gov. Aggregation   COH             146503480027                Gas           Gov. Aggregation
COH             205272040019                Gas           Gov. Aggregation   COH             121937470010                Gas           Gov. Aggregation
COH             159344390136                Gas           Gov. Aggregation   COH             151171820032                Gas           Gov. Aggregation
COH             195384660060                Gas           Gov. Aggregation   COH             199843110012                Gas           Gov. Aggregation
COH             204815560019                Gas           Gov. Aggregation   COH             143515890038                Gas           Gov. Aggregation
COH             204210910017                Gas           Gov. Aggregation   COH             167439500033                Gas           Gov. Aggregation
COH             141846350158                Gas           Gov. Aggregation   COH             159927950052                Gas           Gov. Aggregation
COH             189071290050                Gas           Gov. Aggregation   COH             177250090083                Gas           Gov. Aggregation
COH             193672950042                Gas           Gov. Aggregation   COH             187572700017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             193723380052                Gas           Gov. Aggregation   COH             150495190021                Gas           Gov. Aggregation
COH             204991580013                Gas           Gov. Aggregation   COH             166943980017                Gas           Gov. Aggregation
COH             197552760024                Gas           Gov. Aggregation   COH             112306150033                Gas           Gov. Aggregation
COH             193789020059                Gas           Gov. Aggregation   COH             121992110028                Gas           Gov. Aggregation
COH             192786140042                Gas           Gov. Aggregation   COH             195187700014                Gas           Gov. Aggregation
COH             204815640012                Gas           Gov. Aggregation   COH             144655990021                Gas           Gov. Aggregation
COH             203594320010                Gas           Gov. Aggregation   COH             121949570014                Gas           Gov. Aggregation
COH             194543230036                Gas           Gov. Aggregation   COH             156755720012                Gas           Gov. Aggregation
COH             142131700103                Gas           Gov. Aggregation   COH             121983700158                Gas           Gov. Aggregation
COH             202781250019                Gas           Gov. Aggregation   COH             148718860048                Gas           Gov. Aggregation
COH             202553980019                Gas           Gov. Aggregation   COH             121990810025                Gas           Gov. Aggregation
COH             204040080013                Gas           Gov. Aggregation   COH             187983100021                Gas           Gov. Aggregation
COH             204160060013                Gas           Gov. Aggregation   COH             159101650019                Gas           Gov. Aggregation
COH             204125330010                Gas           Gov. Aggregation   COH             121977480023                Gas           Gov. Aggregation
COH             201479460017                Gas           Gov. Aggregation   COH             168981700022                Gas           Gov. Aggregation
COH             201361730019                Gas           Gov. Aggregation   COH             121925900014                Gas           Gov. Aggregation
COH             203681040014                Gas           Gov. Aggregation   COH             170100170062                Gas           Gov. Aggregation
COH             203240140017                Gas           Gov. Aggregation   COH             121931910037                Gas           Gov. Aggregation
COH             201268100019                Gas           Gov. Aggregation   COH             167038630018                Gas           Gov. Aggregation
COH             128946410114                Gas           Gov. Aggregation   COH             197947760018                Gas           Gov. Aggregation
COH             126837800044                Gas           Gov. Aggregation   COH             149719112077                Gas           Gov. Aggregation
COH             114904180019                Gas           Gov. Aggregation   COH             199786730014                Gas           Gov. Aggregation
COH             151129600046                Gas           Gov. Aggregation   COH             121959800032                Gas           Gov. Aggregation
COH             198929960031                Gas           Gov. Aggregation   COH             152710210026                Gas           Gov. Aggregation
COH             201905930013                Gas           Gov. Aggregation   COH             121953280016                Gas           Gov. Aggregation
COH             194447660021                Gas           Gov. Aggregation   COH             121927110025                Gas           Gov. Aggregation
COH             205334740010                Gas           Gov. Aggregation   COH             187429630015                Gas           Gov. Aggregation
COH             174254040060                Gas           Gov. Aggregation   COH             122021220012                Gas           Gov. Aggregation
COH             171427300025                Gas           Gov. Aggregation   COH             121989900038                Gas           Gov. Aggregation
COH             204113020010                Gas           Gov. Aggregation   COH             193070270014                Gas           Gov. Aggregation
COH             204362610019                Gas           Gov. Aggregation   COH             142171710036                Gas           Gov. Aggregation
COH             204490550011                Gas           Gov. Aggregation   COH             121954950013                Gas           Gov. Aggregation
COH             202161820013                Gas           Gov. Aggregation   COH             162225380019                Gas           Gov. Aggregation
COH             202143710014                Gas           Gov. Aggregation   COH             121959410016                Gas           Gov. Aggregation
COH             201330130010                Gas           Gov. Aggregation   COH             151351300011                Gas           Gov. Aggregation
COH             205275110018                Gas           Gov. Aggregation   COH             150183040023                Gas           Gov. Aggregation
COH             177399120064                Gas           Gov. Aggregation   COH             167647600013                Gas           Gov. Aggregation
COH             192358760030                Gas           Gov. Aggregation   COH             121957080010                Gas           Gov. Aggregation
COH             190387450036                Gas           Gov. Aggregation   COH             177659220016                Gas           Gov. Aggregation
COH             140888420012                Gas           Gov. Aggregation   COH             164342840030                Gas           Gov. Aggregation
COH             114951810026                Gas           Gov. Aggregation   DEO             1180016222460               Gas           Gov. Aggregation
COH             114910170027                Gas           Gov. Aggregation   COH             120448440014                Gas           Gov. Aggregation
COH             203151920012                Gas           Gov. Aggregation   COH             185334030032                Gas           Gov. Aggregation
COH             202322470015                Gas           Gov. Aggregation   COH             166006530053                Gas           Gov. Aggregation
COH             202758730017                Gas           Gov. Aggregation   COH             151422290022                Gas           Gov. Aggregation
COH             202392060014                Gas           Gov. Aggregation   COH             144620240030                Gas           Gov. Aggregation
COH             115075000023                Gas           Gov. Aggregation   COH             159143100070                Gas           Gov. Aggregation
COH             137743780027                Gas           Gov. Aggregation   COH             124254840035                Gas           Gov. Aggregation
COH             201981100017                Gas           Gov. Aggregation   COH             172823470010                Gas           Gov. Aggregation
COH             200816470010                Gas           Gov. Aggregation   COH             161512790042                Gas           Gov. Aggregation
COH             201774770016                Gas           Gov. Aggregation   COH             194851170036                Gas           Gov. Aggregation
COH             201590000017                Gas           Gov. Aggregation   COH             173264190014                Gas           Gov. Aggregation
COH             202296000010                Gas           Gov. Aggregation   COH             133140600026                Gas           Gov. Aggregation
COH             191553900064                Gas           Gov. Aggregation   COH             147407480011                Gas           Gov. Aggregation
COH             201036590018                Gas           Gov. Aggregation   COH             188054180014                Gas           Gov. Aggregation
COH             201755740012                Gas           Gov. Aggregation   COH             128774090019                Gas           Gov. Aggregation
COH             204524620013                Gas           Gov. Aggregation   COH             139068450017                Gas           Gov. Aggregation
COH             142879970041                Gas           Gov. Aggregation   COH             167214130019                Gas           Gov. Aggregation
COH             204878800016                Gas           Gov. Aggregation   COH             135412490049                Gas           Gov. Aggregation
COH             204451460012                Gas           Gov. Aggregation   COH             122019070019                Gas           Gov. Aggregation
COH             201074060019                Gas           Gov. Aggregation   COH             196883790019                Gas           Gov. Aggregation
COH             114891430051                Gas           Gov. Aggregation   COH             121937990011                Gas           Gov. Aggregation
COH             204970760019                Gas           Gov. Aggregation   COH             152900080021                Gas           Gov. Aggregation
COH             204705260015                Gas           Gov. Aggregation   COH             186941210018                Gas           Gov. Aggregation
COH             203276660013                Gas           Gov. Aggregation   COH             175193490010                Gas           Gov. Aggregation
COH             203737090097                Gas           Gov. Aggregation   COH             121948920021                Gas           Gov. Aggregation
COH             202877230010                Gas           Gov. Aggregation   COH             157938420025                Gas           Gov. Aggregation
COH             202737450010                Gas           Gov. Aggregation   COH             198585400010                Gas           Gov. Aggregation
COH             202269020013                Gas           Gov. Aggregation   COH             121943170010                Gas           Gov. Aggregation
COH             143073910013                Gas           Gov. Aggregation   COH             145736160013                Gas           Gov. Aggregation
COH             205337970016                Gas           Gov. Aggregation   COH             122002540122                Gas           Gov. Aggregation
COH             192563360020                Gas           Gov. Aggregation   COH             186157400020                Gas           Gov. Aggregation
COH             188140870025                Gas           Gov. Aggregation   COH             176419350018                Gas           Gov. Aggregation
COH             175741410022                Gas           Gov. Aggregation   COH             121960830024                Gas           Gov. Aggregation
COH             169788580090                Gas           Gov. Aggregation   COH             129581380016                Gas           Gov. Aggregation
COH             152747950079                Gas           Gov. Aggregation   COH             198178540158                Gas           Gov. Aggregation
COH             202627580016                Gas           Gov. Aggregation   COH             175385280035                Gas           Gov. Aggregation
COH             114988310015                Gas           Gov. Aggregation   COH             163923630042                Gas           Gov. Aggregation
COH             114999380036                Gas           Gov. Aggregation   COH             175440180029                Gas           Gov. Aggregation
COH             115004070126                Gas           Gov. Aggregation   COH             149829380043                Gas           Gov. Aggregation
COH             159363060055                Gas           Gov. Aggregation   COH             138663230012                Gas           Gov. Aggregation
COH             141016310048                Gas           Gov. Aggregation   COH             193807910034                Gas           Gov. Aggregation
COH             142516050051                Gas           Gov. Aggregation   COH             135121520021                Gas           Gov. Aggregation
COH             164097570190                Gas           Gov. Aggregation   COH             121993430010                Gas           Gov. Aggregation
COH             164097570207                Gas           Gov. Aggregation   COH             137008330074                Gas           Gov. Aggregation
COH             176442910011                Gas           Gov. Aggregation   COH             193475150011                Gas           Gov. Aggregation
COH             189920110038                Gas           Gov. Aggregation   COH             195964100012                Gas           Gov. Aggregation
COH             192789440070                Gas           Gov. Aggregation   COH             145172760040                Gas           Gov. Aggregation
COH             115003970021                Gas           Gov. Aggregation   COH             157906550098                Gas           Gov. Aggregation
COH             204589480017                Gas           Gov. Aggregation   COH             121990830021                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             204688530016                Gas           Gov. Aggregation   COH             150696260048                Gas           Gov. Aggregation
COH             204457510019                Gas           Gov. Aggregation   COH             186583120017                Gas           Gov. Aggregation
COH             204555930013                Gas           Gov. Aggregation   COH             186797190010                Gas           Gov. Aggregation
COH             205382270018                Gas           Gov. Aggregation   COH             199786840011                Gas           Gov. Aggregation
COH             191678430069                Gas           Gov. Aggregation   COH             176243140015                Gas           Gov. Aggregation
COH             205058480011                Gas           Gov. Aggregation   COH             122019440566                Gas           Gov. Aggregation
COH             201248880018                Gas           Gov. Aggregation   COH             121985350032                Gas           Gov. Aggregation
COH             200300470013                Gas           Gov. Aggregation   COH             191030960024                Gas           Gov. Aggregation
COH             205361550013                Gas           Gov. Aggregation   COH             121922780025                Gas           Gov. Aggregation
COH             205361560011                Gas           Gov. Aggregation   COH             190626360019                Gas           Gov. Aggregation
COH             190173450039                Gas           Gov. Aggregation   COH             121996430032                Gas           Gov. Aggregation
COH             170890640042                Gas           Gov. Aggregation   COH             150263530020                Gas           Gov. Aggregation
COH             162865750060                Gas           Gov. Aggregation   COH             177845510010                Gas           Gov. Aggregation
COH             144586300031                Gas           Gov. Aggregation   COH             141240550016                Gas           Gov. Aggregation
COH             129722430060                Gas           Gov. Aggregation   COH             121925550045                Gas           Gov. Aggregation
COH             202802980029                Gas           Gov. Aggregation   COH             160492290015                Gas           Gov. Aggregation
COH             202802980047                Gas           Gov. Aggregation   COH             169169290011                Gas           Gov. Aggregation
COH             202802980234                Gas           Gov. Aggregation   COH             155314510039                Gas           Gov. Aggregation
COH             202802980252                Gas           Gov. Aggregation   COH             154505280034                Gas           Gov. Aggregation
COH             202802980270                Gas           Gov. Aggregation   COH             140825770011                Gas           Gov. Aggregation
COH             202802980289                Gas           Gov. Aggregation   COH             142298310014                Gas           Gov. Aggregation
COH             204750630012                Gas           Gov. Aggregation   COH             121962660017                Gas           Gov. Aggregation
COH             204765990016                Gas           Gov. Aggregation   COH             165726840017                Gas           Gov. Aggregation
COH             204983300018                Gas           Gov. Aggregation   COH             121962910014                Gas           Gov. Aggregation
COH             204933640012                Gas           Gov. Aggregation   COH             121988200019                Gas           Gov. Aggregation
COH             200681340023                Gas           Gov. Aggregation   COH             121962040026                Gas           Gov. Aggregation
COH             201609460010                Gas           Gov. Aggregation   COH             121963320025                Gas           Gov. Aggregation
COH             201147060023                Gas           Gov. Aggregation   COH             121964480011                Gas           Gov. Aggregation
COH             201310760029                Gas           Gov. Aggregation   COH             138346250010                Gas           Gov. Aggregation
COH             201324220014                Gas           Gov. Aggregation   COH             146739340063                Gas           Gov. Aggregation
COH             201257340012                Gas           Gov. Aggregation   COH             121988130014                Gas           Gov. Aggregation
COH             197137690029                Gas           Gov. Aggregation   COH             152716700021                Gas           Gov. Aggregation
COH             202069270015                Gas           Gov. Aggregation   COH             171435690027                Gas           Gov. Aggregation
COH             201454120065                Gas           Gov. Aggregation   COH             121937430018                Gas           Gov. Aggregation
COH             204477470016                Gas           Gov. Aggregation   COH             121953640010                Gas           Gov. Aggregation
COH             204970770017                Gas           Gov. Aggregation   COH             155878900015                Gas           Gov. Aggregation
COH             204750620014                Gas           Gov. Aggregation   COH             121939100013                Gas           Gov. Aggregation
COH             204722730010                Gas           Gov. Aggregation   COH             121955710011                Gas           Gov. Aggregation
COH             202771980017                Gas           Gov. Aggregation   COH             143935840029                Gas           Gov. Aggregation
COH             154552080055                Gas           Gov. Aggregation   COH             122029800014                Gas           Gov. Aggregation
COH             193253980017                Gas           Gov. Aggregation   COH             121932930013                Gas           Gov. Aggregation
COH             205207660016                Gas           Gov. Aggregation   COH             121952980011                Gas           Gov. Aggregation
COH             202790390011                Gas           Gov. Aggregation   COH             135786140014                Gas           Gov. Aggregation
COH             202708850017                Gas           Gov. Aggregation   COH             121999350015                Gas           Gov. Aggregation
COH             202977430016                Gas           Gov. Aggregation   COH             149759630521                Gas           Gov. Aggregation
COH             202960340010                Gas           Gov. Aggregation   COH             158412752885                Gas           Gov. Aggregation
COH             204783430015                Gas           Gov. Aggregation   COH             147251320015                Gas           Gov. Aggregation
COH             204961410011                Gas           Gov. Aggregation   COH             194837610015                Gas           Gov. Aggregation
COH             204200810019                Gas           Gov. Aggregation   COH             156616492139                Gas           Gov. Aggregation
COH             204110380011                Gas           Gov. Aggregation   COH             121942080011                Gas           Gov. Aggregation
COH             199324530023                Gas           Gov. Aggregation   COH             121960790050                Gas           Gov. Aggregation
COH             199947920049                Gas           Gov. Aggregation   COH             193196270018                Gas           Gov. Aggregation
COH             194413940050                Gas           Gov. Aggregation   COH             164744670052                Gas           Gov. Aggregation
COH             195153810021                Gas           Gov. Aggregation   COH             196827800014                Gas           Gov. Aggregation
COH             197818750022                Gas           Gov. Aggregation   COH             190356760036                Gas           Gov. Aggregation
COH             197468310027                Gas           Gov. Aggregation   COH             112115820055                Gas           Gov. Aggregation
COH             197113650027                Gas           Gov. Aggregation   COH             121932250043                Gas           Gov. Aggregation
COH             200816460021                Gas           Gov. Aggregation   COH             170325620016                Gas           Gov. Aggregation
COH             202974250010                Gas           Gov. Aggregation   COH             172108610025                Gas           Gov. Aggregation
COH             202842270015                Gas           Gov. Aggregation   COH             171500320016                Gas           Gov. Aggregation
COH             203032340016                Gas           Gov. Aggregation   COH             140212170025                Gas           Gov. Aggregation
COH             203056530016                Gas           Gov. Aggregation   COH             193344980014                Gas           Gov. Aggregation
COH             203687780017                Gas           Gov. Aggregation   COH             188091650026                Gas           Gov. Aggregation
COH             203714030015                Gas           Gov. Aggregation   COH             146989170015                Gas           Gov. Aggregation
COH             203338720018                Gas           Gov. Aggregation   COH             185600350012                Gas           Gov. Aggregation
COH             203405920013                Gas           Gov. Aggregation   COH             160002520022                Gas           Gov. Aggregation
COH             203411100021                Gas           Gov. Aggregation   COH             157762460020                Gas           Gov. Aggregation
COH             204139640016                Gas           Gov. Aggregation   COH             199721680011                Gas           Gov. Aggregation
COH             204244830013                Gas           Gov. Aggregation   COH             171245220037                Gas           Gov. Aggregation
COH             204131200014                Gas           Gov. Aggregation   COH             173970020012                Gas           Gov. Aggregation
COH             203726160013                Gas           Gov. Aggregation   COH             198178541111                Gas           Gov. Aggregation
COH             201009140019                Gas           Gov. Aggregation   COH             197966660019                Gas           Gov. Aggregation
COH             201163420014                Gas           Gov. Aggregation   COH             134377130032                Gas           Gov. Aggregation
COH             201104060014                Gas           Gov. Aggregation   COH             173219560039                Gas           Gov. Aggregation
COH             201328810012                Gas           Gov. Aggregation   COH             155807520023                Gas           Gov. Aggregation
COH             201360490012                Gas           Gov. Aggregation   COH             191027000031                Gas           Gov. Aggregation
COH             201435750027                Gas           Gov. Aggregation   COH             199439460016                Gas           Gov. Aggregation
COH             200866580021                Gas           Gov. Aggregation   COH             144138360047                Gas           Gov. Aggregation
COH             200013880025                Gas           Gov. Aggregation   COH             121981020020                Gas           Gov. Aggregation
COH             201740580017                Gas           Gov. Aggregation   COH             135708280028                Gas           Gov. Aggregation
COH             201747300020                Gas           Gov. Aggregation   COH             186825560011                Gas           Gov. Aggregation
COH             201871300018                Gas           Gov. Aggregation   COH             194600120019                Gas           Gov. Aggregation
COH             202394070018                Gas           Gov. Aggregation   COH             158413620784                Gas           Gov. Aggregation
COH             202314110017                Gas           Gov. Aggregation   COH             193504560012                Gas           Gov. Aggregation
COH             202513030012                Gas           Gov. Aggregation   COH             166606040036                Gas           Gov. Aggregation
COH             202432820036                Gas           Gov. Aggregation   COH             193007570014                Gas           Gov. Aggregation
COH             205137980018                Gas           Gov. Aggregation   COH             148431700021                Gas           Gov. Aggregation
COH             205138020017                Gas           Gov. Aggregation   COH             163252510102                Gas           Gov. Aggregation
COH             205146440012                Gas           Gov. Aggregation   COH             121926890015                Gas           Gov. Aggregation
COH             205146480014                Gas           Gov. Aggregation   COH             155414510046                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             204994680016                Gas           Gov. Aggregation   COH             144742320026                Gas           Gov. Aggregation
COH             205360310015                Gas           Gov. Aggregation   COH             190571370014                Gas           Gov. Aggregation
COH             205396490013                Gas           Gov. Aggregation   COH             172801900015                Gas           Gov. Aggregation
COH             204607500012                Gas           Gov. Aggregation   COH             121942360012                Gas           Gov. Aggregation
COH             204607220011                Gas           Gov. Aggregation   COH             165314920022                Gas           Gov. Aggregation
COH             197996410027                Gas           Gov. Aggregation   COH             157988430117                Gas           Gov. Aggregation
COH             199521880022                Gas           Gov. Aggregation   COH             137862470039                Gas           Gov. Aggregation
COH             199307090022                Gas           Gov. Aggregation   COH             174046100040                Gas           Gov. Aggregation
COH             199615860027                Gas           Gov. Aggregation   COH             194933440017                Gas           Gov. Aggregation
COH             199913680014                Gas           Gov. Aggregation   COH             190531580158                Gas           Gov. Aggregation
COH             194166120039                Gas           Gov. Aggregation   COH             150173340012                Gas           Gov. Aggregation
COH             193239780028                Gas           Gov. Aggregation   COH             135121520012                Gas           Gov. Aggregation
COH             193165830024                Gas           Gov. Aggregation   COH             166646630010                Gas           Gov. Aggregation
COH             193730920044                Gas           Gov. Aggregation   COH             195344180010                Gas           Gov. Aggregation
COH             195109380034                Gas           Gov. Aggregation   COH             134388880023                Gas           Gov. Aggregation
COH             194951720038                Gas           Gov. Aggregation   COH             165873770020                Gas           Gov. Aggregation
COH             169813850098                Gas           Gov. Aggregation   COH             161976630034                Gas           Gov. Aggregation
COH             165520830024                Gas           Gov. Aggregation   COH             157886660026                Gas           Gov. Aggregation
COH             172600770037                Gas           Gov. Aggregation   COH             172534850013                Gas           Gov. Aggregation
COH             172412750021                Gas           Gov. Aggregation   COH             173016300015                Gas           Gov. Aggregation
COH             171474490027                Gas           Gov. Aggregation   COH             198595620013                Gas           Gov. Aggregation
COH             174491780045                Gas           Gov. Aggregation   COH             197534900013                Gas           Gov. Aggregation
COH             174410690106                Gas           Gov. Aggregation   COH             186107580028                Gas           Gov. Aggregation
COH             174085370051                Gas           Gov. Aggregation   COH             197319740013                Gas           Gov. Aggregation
COH             173963210026                Gas           Gov. Aggregation   COH             193793640014                Gas           Gov. Aggregation
COH             173875170022                Gas           Gov. Aggregation   COH             167798120033                Gas           Gov. Aggregation
COH             176242940028                Gas           Gov. Aggregation   COH             195255250014                Gas           Gov. Aggregation
COH             185880900041                Gas           Gov. Aggregation   COH             194889050014                Gas           Gov. Aggregation
COH             185508550034                Gas           Gov. Aggregation   COH             195316260012                Gas           Gov. Aggregation
COH             177453420038                Gas           Gov. Aggregation   COH             196977460019                Gas           Gov. Aggregation
COH             177262940025                Gas           Gov. Aggregation   COH             198178541013                Gas           Gov. Aggregation
COH             177777400027                Gas           Gov. Aggregation   COH             156616496877                Gas           Gov. Aggregation
COH             186633300012                Gas           Gov. Aggregation   COH             174729870041                Gas           Gov. Aggregation
COH             186451980025                Gas           Gov. Aggregation   COH             121948510027                Gas           Gov. Aggregation
COH             187132630041                Gas           Gov. Aggregation   COH             121956950019                Gas           Gov. Aggregation
COH             187411320035                Gas           Gov. Aggregation   COH             121958150031                Gas           Gov. Aggregation
COH             186890870046                Gas           Gov. Aggregation   COH             122031080084                Gas           Gov. Aggregation
COH             134398210040                Gas           Gov. Aggregation   COH             136275060022                Gas           Gov. Aggregation
COH             118148450049                Gas           Gov. Aggregation   COH             167284470020                Gas           Gov. Aggregation
COH             118256180029                Gas           Gov. Aggregation   COH             191266080011                Gas           Gov. Aggregation
COH             117345490044                Gas           Gov. Aggregation   COH             196401370017                Gas           Gov. Aggregation
COH             117329290022                Gas           Gov. Aggregation   COH             137991950017                Gas           Gov. Aggregation
COH             117379350042                Gas           Gov. Aggregation   COH             121927510030                Gas           Gov. Aggregation
COH             144149390039                Gas           Gov. Aggregation   COH             161568360018                Gas           Gov. Aggregation
COH             141702340065                Gas           Gov. Aggregation   COH             188164670018                Gas           Gov. Aggregation
COH             162003050045                Gas           Gov. Aggregation   COH             170130280020                Gas           Gov. Aggregation
COH             161441720038                Gas           Gov. Aggregation   COH             195839450014                Gas           Gov. Aggregation
COH             161505680022                Gas           Gov. Aggregation   COH             155649150107                Gas           Gov. Aggregation
COH             158071480057                Gas           Gov. Aggregation   COH             157847230322                Gas           Gov. Aggregation
COH             157558710057                Gas           Gov. Aggregation   COH             158412753811                Gas           Gov. Aggregation
COH             157379260025                Gas           Gov. Aggregation   COH             160412900443                Gas           Gov. Aggregation
COH             198599170010                Gas           Gov. Aggregation   COH             161513850029                Gas           Gov. Aggregation
COH             191620830039                Gas           Gov. Aggregation   COH             198544390037                Gas           Gov. Aggregation
COH             191808030039                Gas           Gov. Aggregation   COH             177521830037                Gas           Gov. Aggregation
COH             191909280024                Gas           Gov. Aggregation   COH             185126490028                Gas           Gov. Aggregation
COH             190425170033                Gas           Gov. Aggregation   COH             188787030021                Gas           Gov. Aggregation
COH             201527620010                Gas           Gov. Aggregation   COH             200002850015                Gas           Gov. Aggregation
COH             201852070017                Gas           Gov. Aggregation   COH             200002890017                Gas           Gov. Aggregation
COH             131329570043                Gas           Gov. Aggregation   COH             200043470019                Gas           Gov. Aggregation
COH             195769320038                Gas           Gov. Aggregation   COH             162874580021                Gas           Gov. Aggregation
COH             194189403146                Gas           Gov. Aggregation   COH             170250850017                Gas           Gov. Aggregation
COH             203726150015                Gas           Gov. Aggregation   COH             166001860027                Gas           Gov. Aggregation
COH             197764910032                Gas           Gov. Aggregation   COH             127127800020                Gas           Gov. Aggregation
COH             186052330027                Gas           Gov. Aggregation   COH             168250060026                Gas           Gov. Aggregation
COH             188529170046                Gas           Gov. Aggregation   COH             163471230036                Gas           Gov. Aggregation
COH             165823740049                Gas           Gov. Aggregation   COH             151774470010                Gas           Gov. Aggregation
COH             167005400051                Gas           Gov. Aggregation   COH             121977820021                Gas           Gov. Aggregation
COH             185268290048                Gas           Gov. Aggregation   COH             140136970038                Gas           Gov. Aggregation
COH             203117910016                Gas           Gov. Aggregation   COH             170172810011                Gas           Gov. Aggregation
COH             205079000017                Gas           Gov. Aggregation   COH             170640050018                Gas           Gov. Aggregation
COH             201449040018                Gas           Gov. Aggregation   COH             154829790022                Gas           Gov. Aggregation
COH             140206820021                Gas           Gov. Aggregation   COH             170663700013                Gas           Gov. Aggregation
COH             129912600025                Gas           Gov. Aggregation   COH             170640140019                Gas           Gov. Aggregation
COH             176924910028                Gas           Gov. Aggregation   COH             170459950014                Gas           Gov. Aggregation
COH             189261940041                Gas           Gov. Aggregation   COH             170926890016                Gas           Gov. Aggregation
COH             173418760026                Gas           Gov. Aggregation   COH             144419890022                Gas           Gov. Aggregation
COH             203421550017                Gas           Gov. Aggregation   COH             170142970011                Gas           Gov. Aggregation
COH             176737060051                Gas           Gov. Aggregation   COH             168857680011                Gas           Gov. Aggregation
COH             204341870019                Gas           Gov. Aggregation   COH             170868320019                Gas           Gov. Aggregation
COH             154253510067                Gas           Gov. Aggregation   COH             161973300011                Gas           Gov. Aggregation
COH             116998710045                Gas           Gov. Aggregation   COH             164977260019                Gas           Gov. Aggregation
COH             147387070039                Gas           Gov. Aggregation   COH             121931320013                Gas           Gov. Aggregation
COH             202208970012                Gas           Gov. Aggregation   COH             169555360017                Gas           Gov. Aggregation
COH             202524670015                Gas           Gov. Aggregation   COH             170198020013                Gas           Gov. Aggregation
COH             204325060013                Gas           Gov. Aggregation   COH             162659710010                Gas           Gov. Aggregation
COH             202942310014                Gas           Gov. Aggregation   COH             121933000025                Gas           Gov. Aggregation
COH             205317550016                Gas           Gov. Aggregation   COH             157471440012                Gas           Gov. Aggregation
COH             196695210037                Gas           Gov. Aggregation   COH             170548200012                Gas           Gov. Aggregation
COH             201514560010                Gas           Gov. Aggregation   COH             159572960044                Gas           Gov. Aggregation
COH             204628890017                Gas           Gov. Aggregation   COH             113289290022                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             203716720016                Gas           Gov. Aggregation   COH             168479100014                Gas           Gov. Aggregation
COH             203504700019                Gas           Gov. Aggregation   COH             122014520014                Gas           Gov. Aggregation
COH             203079870848                Gas           Gov. Aggregation   COH             155207060031                Gas           Gov. Aggregation
COH             158756400033                Gas           Gov. Aggregation   COH             169743340012                Gas           Gov. Aggregation
COH             133683030035                Gas           Gov. Aggregation   COH             168727190019                Gas           Gov. Aggregation
COH             155723770029                Gas           Gov. Aggregation   COH             128717230019                Gas           Gov. Aggregation
COH             157835370042                Gas           Gov. Aggregation   COH             157278190024                Gas           Gov. Aggregation
COH             162227670032                Gas           Gov. Aggregation   COH             159916100035                Gas           Gov. Aggregation
COH             198515610022                Gas           Gov. Aggregation   COH             122010090013                Gas           Gov. Aggregation
COH             197370980024                Gas           Gov. Aggregation   COH             152912010020                Gas           Gov. Aggregation
COH             192131299094                Gas           Gov. Aggregation   COH             172576760014                Gas           Gov. Aggregation
COH             203672080015                Gas           Gov. Aggregation   COH             173227990014                Gas           Gov. Aggregation
COH             153137210030                Gas           Gov. Aggregation   COH             172419480015                Gas           Gov. Aggregation
COH             205124480010                Gas           Gov. Aggregation   COH             164317930034                Gas           Gov. Aggregation
COH             202983720012                Gas           Gov. Aggregation   COH             172798280015                Gas           Gov. Aggregation
COH             169907220091                Gas           Gov. Aggregation   COH             172534780018                Gas           Gov. Aggregation
COH             193778500024                Gas           Gov. Aggregation   COH             152957030031                Gas           Gov. Aggregation
COH             192131297514                Gas           Gov. Aggregation   COH             146902930053                Gas           Gov. Aggregation
COH             173015750031                Gas           Gov. Aggregation   COH             166129690023                Gas           Gov. Aggregation
COH             191462280031                Gas           Gov. Aggregation   COH             172878470015                Gas           Gov. Aggregation
COH             203841700015                Gas           Gov. Aggregation   COH             171455890014                Gas           Gov. Aggregation
COH             192131298497                Gas           Gov. Aggregation   COH             112354140098                Gas           Gov. Aggregation
COH             202362770018                Gas           Gov. Aggregation   COH             135085320067                Gas           Gov. Aggregation
COH             202335570017                Gas           Gov. Aggregation   COH             172137660015                Gas           Gov. Aggregation
COH             201580530017                Gas           Gov. Aggregation   COH             162466170031                Gas           Gov. Aggregation
COH             201821420027                Gas           Gov. Aggregation   COH             162824480027                Gas           Gov. Aggregation
COH             202688360014                Gas           Gov. Aggregation   COH             149463890024                Gas           Gov. Aggregation
COH             202055340019                Gas           Gov. Aggregation   COH             172772720016                Gas           Gov. Aggregation
COH             201115000022                Gas           Gov. Aggregation   COH             145486910043                Gas           Gov. Aggregation
COH             192131297032                Gas           Gov. Aggregation   COH             171761270015                Gas           Gov. Aggregation
COH             192131297701                Gas           Gov. Aggregation   COH             173193500019                Gas           Gov. Aggregation
COH             192131299101                Gas           Gov. Aggregation   COH             112124650025                Gas           Gov. Aggregation
COH             192131299209                Gas           Gov. Aggregation   COH             170638110038                Gas           Gov. Aggregation
COH             192131299389                Gas           Gov. Aggregation   COH             173982160018                Gas           Gov. Aggregation
COH             196392840046                Gas           Gov. Aggregation   COH             175075100011                Gas           Gov. Aggregation
COH             186789280054                Gas           Gov. Aggregation   COH             157300310029                Gas           Gov. Aggregation
COH             205130790012                Gas           Gov. Aggregation   COH             142483000034                Gas           Gov. Aggregation
COH             205155230017                Gas           Gov. Aggregation   COH             174021040018                Gas           Gov. Aggregation
COH             202472490014                Gas           Gov. Aggregation   COH             174881910013                Gas           Gov. Aggregation
COH             202699010014                Gas           Gov. Aggregation   COH             170348990011                Gas           Gov. Aggregation
COH             204072610014                Gas           Gov. Aggregation   COH             174440100017                Gas           Gov. Aggregation
COH             204165310010                Gas           Gov. Aggregation   COH             121923460011                Gas           Gov. Aggregation
COH             201410420019                Gas           Gov. Aggregation   COH             163298090034                Gas           Gov. Aggregation
COH             203459210019                Gas           Gov. Aggregation   COH             173175720011                Gas           Gov. Aggregation
COH             198468870029                Gas           Gov. Aggregation   COH             141643130010                Gas           Gov. Aggregation
COH             202314120015                Gas           Gov. Aggregation   COH             136895280228                Gas           Gov. Aggregation
COH             201871280013                Gas           Gov. Aggregation   COH             130737860057                Gas           Gov. Aggregation
COH             201113650011                Gas           Gov. Aggregation   COH             173708090013                Gas           Gov. Aggregation
COH             195534740028                Gas           Gov. Aggregation   COH             175130050014                Gas           Gov. Aggregation
COH             200678750033                Gas           Gov. Aggregation   COH             158413621541                Gas           Gov. Aggregation
COH             202942290019                Gas           Gov. Aggregation   COH             186066850010                Gas           Gov. Aggregation
COH             205249410010                Gas           Gov. Aggregation   COH             169995190020                Gas           Gov. Aggregation
COH             197827080051                Gas           Gov. Aggregation   COH             140211750052                Gas           Gov. Aggregation
COH             192131299138                Gas           Gov. Aggregation   COH             158515590043                Gas           Gov. Aggregation
COH             202638420016                Gas           Gov. Aggregation   COH             166469220030                Gas           Gov. Aggregation
COH             153650960035                Gas           Gov. Aggregation   COH             187337530011                Gas           Gov. Aggregation
COH             154448230063                Gas           Gov. Aggregation   COH             200664840015                Gas           Gov. Aggregation
COH             156999980058                Gas           Gov. Aggregation   COH             200682770012                Gas           Gov. Aggregation
COH             164775600033                Gas           Gov. Aggregation   COH             169897130020                Gas           Gov. Aggregation
COH             175768610060                Gas           Gov. Aggregation   COH             158185710039                Gas           Gov. Aggregation
COH             199475910033                Gas           Gov. Aggregation   COH             174664770031                Gas           Gov. Aggregation
COH             171246250020                Gas           Gov. Aggregation   COH             121958690010                Gas           Gov. Aggregation
COH             201296800013                Gas           Gov. Aggregation   COH             147381610037                Gas           Gov. Aggregation
COH             175747750047                Gas           Gov. Aggregation   COH             170680790073                Gas           Gov. Aggregation
COH             170962710053                Gas           Gov. Aggregation   COH             187385740016                Gas           Gov. Aggregation
COH             196967820023                Gas           Gov. Aggregation   COH             158413622764                Gas           Gov. Aggregation
COH             203678390018                Gas           Gov. Aggregation   COH             176673720021                Gas           Gov. Aggregation
COH             203218520014                Gas           Gov. Aggregation   COH             122002500022                Gas           Gov. Aggregation
COH             192131299825                Gas           Gov. Aggregation   COH             135139650027                Gas           Gov. Aggregation
COH             111249680026                Gas           Gov. Aggregation   COH             175872820010                Gas           Gov. Aggregation
COH             146062820021                Gas           Gov. Aggregation   COH             167997100044                Gas           Gov. Aggregation
COH             192242570026                Gas           Gov. Aggregation   COH             137045690017                Gas           Gov. Aggregation
COH             205051630013                Gas           Gov. Aggregation   COH             121948260057                Gas           Gov. Aggregation
COH             204269340014                Gas           Gov. Aggregation   COH             185848000011                Gas           Gov. Aggregation
COH             192131299129                Gas           Gov. Aggregation   COH             187258580019                Gas           Gov. Aggregation
COH             197421260026                Gas           Gov. Aggregation   COH             150104370048                Gas           Gov. Aggregation
COH             197149350025                Gas           Gov. Aggregation   COH             138210170023                Gas           Gov. Aggregation
COH             195857400043                Gas           Gov. Aggregation   COH             160340610036                Gas           Gov. Aggregation
COH             203868200014                Gas           Gov. Aggregation   COH             175260570010                Gas           Gov. Aggregation
COH             201591860015                Gas           Gov. Aggregation   COH             140284320022                Gas           Gov. Aggregation
COH             161732870030                Gas           Gov. Aggregation   COH             187931980017                Gas           Gov. Aggregation
COH             202042860026                Gas           Gov. Aggregation   COH             121992600025                Gas           Gov. Aggregation
COH             176780480025                Gas           Gov. Aggregation   COH             185672490012                Gas           Gov. Aggregation
COH             168698180041                Gas           Gov. Aggregation   COH             122015230013                Gas           Gov. Aggregation
COH             201522460014                Gas           Gov. Aggregation   COH             185022930016                Gas           Gov. Aggregation
COH             204178510011                Gas           Gov. Aggregation   COH             187038160013                Gas           Gov. Aggregation
COH             203116820017                Gas           Gov. Aggregation   COH             187038160031                Gas           Gov. Aggregation
COH             203117810026                Gas           Gov. Aggregation   COH             121966970032                Gas           Gov. Aggregation
COH             199560310029                Gas           Gov. Aggregation   COH             175346190027                Gas           Gov. Aggregation
COH             171645860044                Gas           Gov. Aggregation   COH             174562750013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             160462230038                Gas           Gov. Aggregation   COH             159834860012                Gas           Gov. Aggregation
COH             160462230047                Gas           Gov. Aggregation   COH             199055340015                Gas           Gov. Aggregation
COH             161954430023                Gas           Gov. Aggregation   COH             165706010022                Gas           Gov. Aggregation
COH             201310240019                Gas           Gov. Aggregation   COH             164730540012                Gas           Gov. Aggregation
COH             204938100015                Gas           Gov. Aggregation   COH             144243520022                Gas           Gov. Aggregation
COH             204472500019                Gas           Gov. Aggregation   COH             186574920063                Gas           Gov. Aggregation
COH             201417510016                Gas           Gov. Aggregation   COH             198999730014                Gas           Gov. Aggregation
COH             201334520010                Gas           Gov. Aggregation   COH             210116540017                Gas           Gov. Aggregation
COH             204254130019                Gas           Gov. Aggregation   COH             192039540032                Gas           Gov. Aggregation
COH             204131060014                Gas           Gov. Aggregation   COH             169690350031                Gas           Gov. Aggregation
COH             203827980017                Gas           Gov. Aggregation   COH             188565150026                Gas           Gov. Aggregation
COH             203310430017                Gas           Gov. Aggregation   COH             199501020033                Gas           Gov. Aggregation
COH             203606340019                Gas           Gov. Aggregation   COH             206418040018                Gas           Gov. Aggregation
COH             118536630020                Gas           Gov. Aggregation   COH             172969650014                Gas           Gov. Aggregation
COH             146043760060                Gas           Gov. Aggregation   COH             202254390026                Gas           Gov. Aggregation
COH             197622130027                Gas           Gov. Aggregation   COH             173239760035                Gas           Gov. Aggregation
COH             198283790055                Gas           Gov. Aggregation   COH             174865100044                Gas           Gov. Aggregation
COH             187936410052                Gas           Gov. Aggregation   COH             175396070036                Gas           Gov. Aggregation
COH             201559030017                Gas           Gov. Aggregation   COH             195536620074                Gas           Gov. Aggregation
COH             203169830014                Gas           Gov. Aggregation   COH             210321470017                Gas           Gov. Aggregation
COH             203020560015                Gas           Gov. Aggregation   COH             205287830012                Gas           Gov. Aggregation
COH             205059780016                Gas           Gov. Aggregation   COH             124023570013                Gas           Gov. Aggregation
COH             199825060020                Gas           Gov. Aggregation   COH             159574490030                Gas           Gov. Aggregation
COH             203946930015                Gas           Gov. Aggregation   COH             194753460051                Gas           Gov. Aggregation
COH             204106870017                Gas           Gov. Aggregation   COH             158099460017                Gas           Gov. Aggregation
COH             203416970010                Gas           Gov. Aggregation   COH             185055080025                Gas           Gov. Aggregation
COH             205311830019                Gas           Gov. Aggregation   COH             124023930017                Gas           Gov. Aggregation
COH             202782740014                Gas           Gov. Aggregation   COH             210116470012                Gas           Gov. Aggregation
COH             202930720013                Gas           Gov. Aggregation   COH             203434650028                Gas           Gov. Aggregation
COH             149725050033                Gas           Gov. Aggregation   COH             205626360011                Gas           Gov. Aggregation
COH             203515460017                Gas           Gov. Aggregation   COH             207794350016                Gas           Gov. Aggregation
COH             204256380013                Gas           Gov. Aggregation   COH             190929090023                Gas           Gov. Aggregation
COH             203527300015                Gas           Gov. Aggregation   COH             176775030011                Gas           Gov. Aggregation
COH             203505270018                Gas           Gov. Aggregation   COH             200661040028                Gas           Gov. Aggregation
COH             205051600019                Gas           Gov. Aggregation   COH             195782240037                Gas           Gov. Aggregation
COH             204878490012                Gas           Gov. Aggregation   COH             172777960016                Gas           Gov. Aggregation
COH             175949230057                Gas           Gov. Aggregation   COH             141428350029                Gas           Gov. Aggregation
COH             175949230066                Gas           Gov. Aggregation   COH             156690120034                Gas           Gov. Aggregation
COH             171777340026                Gas           Gov. Aggregation   COH             164776030040                Gas           Gov. Aggregation
COH             199146090024                Gas           Gov. Aggregation   COH             124021370019                Gas           Gov. Aggregation
COH             160702220094                Gas           Gov. Aggregation   COH             202307390014                Gas           Gov. Aggregation
COH             136214350029                Gas           Gov. Aggregation   COH             207326190011                Gas           Gov. Aggregation
COH             203047350013                Gas           Gov. Aggregation   COH             197516050127                Gas           Gov. Aggregation
COH             203000320017                Gas           Gov. Aggregation   COH             197516050038                Gas           Gov. Aggregation
COH             203881700011                Gas           Gov. Aggregation   COH             197516050172                Gas           Gov. Aggregation
COH             203750750018                Gas           Gov. Aggregation   COH             186738360072                Gas           Gov. Aggregation
COH             201183590017                Gas           Gov. Aggregation   COH             210064570012                Gas           Gov. Aggregation
COH             201401480016                Gas           Gov. Aggregation   COH             204644550078                Gas           Gov. Aggregation
COH             201490040011                Gas           Gov. Aggregation   COH             204644550050                Gas           Gov. Aggregation
COH             204607450013                Gas           Gov. Aggregation   COH             115130560037                Gas           Gov. Aggregation
COH             205225560019                Gas           Gov. Aggregation   COH             201794440013                Gas           Gov. Aggregation
COH             189375390082                Gas           Gov. Aggregation   COH             130710350041                Gas           Gov. Aggregation
COH             186351710032                Gas           Gov. Aggregation   COH             205769250012                Gas           Gov. Aggregation
COH             176809850034                Gas           Gov. Aggregation   COH             164990900089                Gas           Gov. Aggregation
COH             192820290038                Gas           Gov. Aggregation   COH             208776750019                Gas           Gov. Aggregation
COH             197394710020                Gas           Gov. Aggregation   COH             188359590058                Gas           Gov. Aggregation
COH             200132520028                Gas           Gov. Aggregation   COH             199067520012                Gas           Gov. Aggregation
COH             201940610016                Gas           Gov. Aggregation   COH             199714930013                Gas           Gov. Aggregation
COH             201626420012                Gas           Gov. Aggregation   COH             205510190012                Gas           Gov. Aggregation
COH             202687810011                Gas           Gov. Aggregation   COH             206207190014                Gas           Gov. Aggregation
COH             202385740016                Gas           Gov. Aggregation   COH             202601230013                Gas           Gov. Aggregation
COH             202266330023                Gas           Gov. Aggregation   COH             193019870034                Gas           Gov. Aggregation
COH             175050210038                Gas           Gov. Aggregation   COH             196505270018                Gas           Gov. Aggregation
COH             185006750036                Gas           Gov. Aggregation   COH             176350780014                Gas           Gov. Aggregation
COH             187269700038                Gas           Gov. Aggregation   COH             174723460021                Gas           Gov. Aggregation
COH             187664110043                Gas           Gov. Aggregation   COH             186534650019                Gas           Gov. Aggregation
COH             187556940020                Gas           Gov. Aggregation   COH             188030650015                Gas           Gov. Aggregation
COH             164512090108                Gas           Gov. Aggregation   COH             186953100016                Gas           Gov. Aggregation
COH             192136890051                Gas           Gov. Aggregation   COH             186528250016                Gas           Gov. Aggregation
COH             132738710045                Gas           Gov. Aggregation   COH             191069240015                Gas           Gov. Aggregation
COH             195109820022                Gas           Gov. Aggregation   COH             190290870015                Gas           Gov. Aggregation
COH             195553660025                Gas           Gov. Aggregation   COH             187270850025                Gas           Gov. Aggregation
COH             204266710012                Gas           Gov. Aggregation   COH             188973250011                Gas           Gov. Aggregation
COH             201522480010                Gas           Gov. Aggregation   COH             190644570017                Gas           Gov. Aggregation
COH             202139780019                Gas           Gov. Aggregation   COH             138720620018                Gas           Gov. Aggregation
COH             203595630013                Gas           Gov. Aggregation   COH             189826790018                Gas           Gov. Aggregation
COH             203459020019                Gas           Gov. Aggregation   COH             186608570037                Gas           Gov. Aggregation
COH             203716660019                Gas           Gov. Aggregation   COH             190656340010                Gas           Gov. Aggregation
COH             203687690016                Gas           Gov. Aggregation   COH             191186750010                Gas           Gov. Aggregation
COH             203451270013                Gas           Gov. Aggregation   COH             188958780012                Gas           Gov. Aggregation
COH             203197960018                Gas           Gov. Aggregation   COH             188948840010                Gas           Gov. Aggregation
COH             202543330016                Gas           Gov. Aggregation   COH             190551450019                Gas           Gov. Aggregation
COH             170869650027                Gas           Gov. Aggregation   COH             153229460033                Gas           Gov. Aggregation
COH             155204440117                Gas           Gov. Aggregation   COH             160994670128                Gas           Gov. Aggregation
COH             197922250026                Gas           Gov. Aggregation   COH             188826860014                Gas           Gov. Aggregation
COH             203148290012                Gas           Gov. Aggregation   COH             190243860016                Gas           Gov. Aggregation
COH             203828070016                Gas           Gov. Aggregation   COH             188741270018                Gas           Gov. Aggregation
COH             175079390031                Gas           Gov. Aggregation   COH             188993860011                Gas           Gov. Aggregation
COH             185958780024                Gas           Gov. Aggregation   COH             190747500013                Gas           Gov. Aggregation
COH             204680830019                Gas           Gov. Aggregation   COH             163383560043                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             203527370011                Gas           Gov. Aggregation   COH             189533630012                Gas           Gov. Aggregation
COH             155642940034                Gas           Gov. Aggregation   COH             123323760036                Gas           Gov. Aggregation
COH             204469100010                Gas           Gov. Aggregation   COH             186769400014                Gas           Gov. Aggregation
COH             204658070016                Gas           Gov. Aggregation   COH             176822630014                Gas           Gov. Aggregation
COH             202319340019                Gas           Gov. Aggregation   COH             177306160025                Gas           Gov. Aggregation
COH             202197210016                Gas           Gov. Aggregation   COH             172005940024                Gas           Gov. Aggregation
COH             201740490016                Gas           Gov. Aggregation   COH             121953710024                Gas           Gov. Aggregation
COH             194680050025                Gas           Gov. Aggregation   COH             191421580016                Gas           Gov. Aggregation
COH             194557770034                Gas           Gov. Aggregation   COH             190262520017                Gas           Gov. Aggregation
COH             193610480023                Gas           Gov. Aggregation   COH             190608150011                Gas           Gov. Aggregation
COH             203923650012                Gas           Gov. Aggregation   COH             167343790063                Gas           Gov. Aggregation
COH             204661570014                Gas           Gov. Aggregation   COH             129515880056                Gas           Gov. Aggregation
COH             204948620015                Gas           Gov. Aggregation   COH             190626290014                Gas           Gov. Aggregation
COH             205028090016                Gas           Gov. Aggregation   COH             188300410012                Gas           Gov. Aggregation
COH             203909690014                Gas           Gov. Aggregation   COH             190386810014                Gas           Gov. Aggregation
COH             197526880024                Gas           Gov. Aggregation   COH             189165880182                Gas           Gov. Aggregation
COH             189944710023                Gas           Gov. Aggregation   COH             190676570010                Gas           Gov. Aggregation
DEO             7140000026760               Gas           Gov. Aggregation   COH             191276050016                Gas           Gov. Aggregation
COH             205419120010                Gas           Gov. Aggregation   COH             113136830058                Gas           Gov. Aggregation
DEO             5180009297270               Gas           Gov. Aggregation   COH             144853200026                Gas           Gov. Aggregation
COH             141013220025                Gas           Gov. Aggregation   COH             188155670035                Gas           Gov. Aggregation
DUKE            7700217602                  Gas           Gov. Aggregation   COH             174468380011                Gas           Gov. Aggregation
DUKE            9390362004                  Gas           Gov. Aggregation   COH             138691650462                Gas           Gov. Aggregation
DUKE            8630364201                  Gas           Gov. Aggregation   COH             193170610010                Gas           Gov. Aggregation
DUKE            7230374902                  Gas           Gov. Aggregation   COH             186633770023                Gas           Gov. Aggregation
DUKE            7750364302                  Gas           Gov. Aggregation   COH             187040220024                Gas           Gov. Aggregation
DUKE            0700381202                  Gas           Gov. Aggregation   COH             193059720013                Gas           Gov. Aggregation
DUKE            3250385102                  Gas           Gov. Aggregation   COH             190644460029                Gas           Gov. Aggregation
DUKE            0920360302                  Gas           Gov. Aggregation   COH             192249620012                Gas           Gov. Aggregation
DUKE            2130381601                  Gas           Gov. Aggregation   COH             176453340027                Gas           Gov. Aggregation
DUKE            0490381302                  Gas           Gov. Aggregation   COH             193460780010                Gas           Gov. Aggregation
DUKE            8940052332                  Gas           Gov. Aggregation   COH             193358580019                Gas           Gov. Aggregation
DUKE            5220036520                  Gas           Gov. Aggregation   COH             193170580017                Gas           Gov. Aggregation
DUKE            8470385202                  Gas           Gov. Aggregation   COH             192612580010                Gas           Gov. Aggregation
DUKE            9100052224                  Gas           Gov. Aggregation   COH             193101430013                Gas           Gov. Aggregation
DUKE            6300052220                  Gas           Gov. Aggregation   COH             192266690012                Gas           Gov. Aggregation
DUKE            8200052224                  Gas           Gov. Aggregation   COH             142681710044                Gas           Gov. Aggregation
DUKE            8300052221                  Gas           Gov. Aggregation   COH             121955940022                Gas           Gov. Aggregation
DUKE            9200052236                  Gas           Gov. Aggregation   COH             192266650010                Gas           Gov. Aggregation
DUKE            7600214501                  Gas           Gov. Aggregation   COH             121938850036                Gas           Gov. Aggregation
DUKE            5250362003                  Gas           Gov. Aggregation   COH             193189860019                Gas           Gov. Aggregation
DUKE            5640369102                  Gas           Gov. Aggregation   COH             163011350053                Gas           Gov. Aggregation
DUKE            6870361002                  Gas           Gov. Aggregation   COH             193045130016                Gas           Gov. Aggregation
DUKE            7190367605                  Gas           Gov. Aggregation   COH             177592710177                Gas           Gov. Aggregation
DUKE            8440370203                  Gas           Gov. Aggregation   COH             151219960022                Gas           Gov. Aggregation
DUKE            9220358804                  Gas           Gov. Aggregation   COH             192056270015                Gas           Gov. Aggregation
DUKE            4050360206                  Gas           Gov. Aggregation   COH             122023430041                Gas           Gov. Aggregation
DUKE            3210366702                  Gas           Gov. Aggregation   COH             164380510020                Gas           Gov. Aggregation
DUKE            4460363103                  Gas           Gov. Aggregation   COH             151437420041                Gas           Gov. Aggregation
DUKE            6450360302                  Gas           Gov. Aggregation   COH             142303610090                Gas           Gov. Aggregation
DUKE            2090361807                  Gas           Gov. Aggregation   COH             140301370042                Gas           Gov. Aggregation
DUKE            2310363302                  Gas           Gov. Aggregation   COH             167254320033                Gas           Gov. Aggregation
DUKE            2200363105                  Gas           Gov. Aggregation   COH             193213970013                Gas           Gov. Aggregation
DUKE            2690370902                  Gas           Gov. Aggregation   COH             170115630028                Gas           Gov. Aggregation
DUKE            2400362102                  Gas           Gov. Aggregation   COH             121957820014                Gas           Gov. Aggregation
DUKE            7800383702                  Gas           Gov. Aggregation   COH             121966550012                Gas           Gov. Aggregation
DUKE            6340355404                  Gas           Gov. Aggregation   COH             191934840014                Gas           Gov. Aggregation
DUKE            9780352803                  Gas           Gov. Aggregation   COH             190753200022                Gas           Gov. Aggregation
DUKE            0440391702                  Gas           Gov. Aggregation   COH             151441020028                Gas           Gov. Aggregation
DUKE            0760355102                  Gas           Gov. Aggregation   COH             151455700044                Gas           Gov. Aggregation
DUKE            1180391502                  Gas           Gov. Aggregation   COH             193719950015                Gas           Gov. Aggregation
DUKE            1420387802                  Gas           Gov. Aggregation   COH             193865640011                Gas           Gov. Aggregation
DUKE            2600018422                  Gas           Gov. Aggregation   COH             193893290016                Gas           Gov. Aggregation
DUKE            0390018326                  Gas           Gov. Aggregation   COH             195479650016                Gas           Gov. Aggregation
DUKE            1770018322                  Gas           Gov. Aggregation   COH             196757190012                Gas           Gov. Aggregation
DUKE            8050018321                  Gas           Gov. Aggregation   COH             198385080012                Gas           Gov. Aggregation
DUKE            0150018321                  Gas           Gov. Aggregation   COH             119321140054                Gas           Gov. Aggregation
DUKE            6050018326                  Gas           Gov. Aggregation   COH             189548650017                Gas           Gov. Aggregation
DUKE            7050018320                  Gas           Gov. Aggregation   COH             186076110032                Gas           Gov. Aggregation
DUKE            6150018328                  Gas           Gov. Aggregation   COH             189877780013                Gas           Gov. Aggregation
DUKE            9480018321                  Gas           Gov. Aggregation   COH             121952610036                Gas           Gov. Aggregation
DUKE            6210018422                  Gas           Gov. Aggregation   COH             165252410058                Gas           Gov. Aggregation
DUKE            4210018432                  Gas           Gov. Aggregation   COH             170629730028                Gas           Gov. Aggregation
DUKE            5600018423                  Gas           Gov. Aggregation   COH             174068130020                Gas           Gov. Aggregation
DUKE            3210018429                  Gas           Gov. Aggregation   COH             174516820051                Gas           Gov. Aggregation
DUKE            8550350102                  Gas           Gov. Aggregation   COH             174795340052                Gas           Gov. Aggregation
DUKE            4010352302                  Gas           Gov. Aggregation   COH             195764680015                Gas           Gov. Aggregation
DUKE            8970224802                  Gas           Gov. Aggregation   COH             196204060010                Gas           Gov. Aggregation
DUKE            9250355204                  Gas           Gov. Aggregation   COH             196910270019                Gas           Gov. Aggregation
DUKE            7980221702                  Gas           Gov. Aggregation   COH             187258470030                Gas           Gov. Aggregation
DUKE            9240360702                  Gas           Gov. Aggregation   COH             196609780011                Gas           Gov. Aggregation
DUKE            7530353607                  Gas           Gov. Aggregation   COH             133025350032                Gas           Gov. Aggregation
DUKE            8680224807                  Gas           Gov. Aggregation   COH             197110270014                Gas           Gov. Aggregation
DUKE            8520350802                  Gas           Gov. Aggregation   COH             121931760011                Gas           Gov. Aggregation
DUKE            7850351902                  Gas           Gov. Aggregation   COH             121931770019                Gas           Gov. Aggregation
DUKE            6930352703                  Gas           Gov. Aggregation   COH             197549830017                Gas           Gov. Aggregation
DUKE            6640364502                  Gas           Gov. Aggregation   COH             121939490030                Gas           Gov. Aggregation
DUKE            6220354704                  Gas           Gov. Aggregation   COH             173659090045                Gas           Gov. Aggregation
DUKE            6570221804                  Gas           Gov. Aggregation   COH             197903030013                Gas           Gov. Aggregation
DUKE            5330354905                  Gas           Gov. Aggregation   COH             191352870021                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DUKE         5220221208                  Gas           Gov. Aggregation   COH             196920990017                Gas           Gov. Aggregation
DUKE         5600353608                  Gas           Gov. Aggregation   COH             135094660058                Gas           Gov. Aggregation
DUKE         1260356705                  Gas           Gov. Aggregation   COH             197609790018                Gas           Gov. Aggregation
DUKE         1010224903                  Gas           Gov. Aggregation   COH             198764620014                Gas           Gov. Aggregation
DUKE         0820351103                  Gas           Gov. Aggregation   COH             197029750016                Gas           Gov. Aggregation
DUKE         0920355002                  Gas           Gov. Aggregation   COH             196941050010                Gas           Gov. Aggregation
DUKE         0940221805                  Gas           Gov. Aggregation   COH             196052490022                Gas           Gov. Aggregation
DUKE         0200351105                  Gas           Gov. Aggregation   COH             191621220026                Gas           Gov. Aggregation
DUKE         0600351205                  Gas           Gov. Aggregation   COH             112305970079                Gas           Gov. Aggregation
DUKE         2960225302                  Gas           Gov. Aggregation   COH             158412752992                Gas           Gov. Aggregation
DUKE         2230352610                  Gas           Gov. Aggregation   COH             175317110300                Gas           Gov. Aggregation
DUKE         9600224803                  Gas           Gov. Aggregation   COH             121922580036                Gas           Gov. Aggregation
DUKE         9080221802                  Gas           Gov. Aggregation   COH             134251750065                Gas           Gov. Aggregation
DUKE         8950220604                  Gas           Gov. Aggregation   COH             139068450026                Gas           Gov. Aggregation
DUKE         1950036420                  Gas           Gov. Aggregation   COH             112423450050                Gas           Gov. Aggregation
DUKE         8300385602                  Gas           Gov. Aggregation   COH             197668380010                Gas           Gov. Aggregation
DUKE         9370383502                  Gas           Gov. Aggregation   COH             142394280044                Gas           Gov. Aggregation
DUKE         9420379202                  Gas           Gov. Aggregation   COH             196558540029                Gas           Gov. Aggregation
DUKE         2160357403                  Gas           Gov. Aggregation   COH             139107460155                Gas           Gov. Aggregation
DUKE         1980391502                  Gas           Gov. Aggregation   COH             161301910061                Gas           Gov. Aggregation
DUKE         1060378403                  Gas           Gov. Aggregation   COH             193512000021                Gas           Gov. Aggregation
DUKE         0980391502                  Gas           Gov. Aggregation   COH             193334090021                Gas           Gov. Aggregation
DUKE         0300364202                  Gas           Gov. Aggregation   COH             172619050057                Gas           Gov. Aggregation
DUKE         2610360803                  Gas           Gov. Aggregation   COH             196678390018                Gas           Gov. Aggregation
DUKE         9970389402                  Gas           Gov. Aggregation   COH             140924960020                Gas           Gov. Aggregation
DUKE         0540382705                  Gas           Gov. Aggregation   COH             198583130011                Gas           Gov. Aggregation
DUKE         0350354704                  Gas           Gov. Aggregation   COH             190467150020                Gas           Gov. Aggregation
DUKE         6410361504                  Gas           Gov. Aggregation   COH             197779480014                Gas           Gov. Aggregation
DUKE         6730220708                  Gas           Gov. Aggregation   COH             193282030033                Gas           Gov. Aggregation
DUKE         5320371102                  Gas           Gov. Aggregation   COH             197654090010                Gas           Gov. Aggregation
DUKE         5450379303                  Gas           Gov. Aggregation   COH             197704890015                Gas           Gov. Aggregation
DUKE         5860224605                  Gas           Gov. Aggregation   COH             169977310077                Gas           Gov. Aggregation
DUKE         5520364304                  Gas           Gov. Aggregation   COH             195634800014                Gas           Gov. Aggregation
DUKE         5140378602                  Gas           Gov. Aggregation   COH             189962830020                Gas           Gov. Aggregation
DUKE         4080356607                  Gas           Gov. Aggregation   COH             198733080013                Gas           Gov. Aggregation
DUKE         4230224703                  Gas           Gov. Aggregation   COH             185426180036                Gas           Gov. Aggregation
DUKE         4860379702                  Gas           Gov. Aggregation   COH             198246630010                Gas           Gov. Aggregation
DUKE         6550353102                  Gas           Gov. Aggregation   COH             197588120014                Gas           Gov. Aggregation
DUKE         6140356302                  Gas           Gov. Aggregation   COH             188726040027                Gas           Gov. Aggregation
DUKE         4500353404                  Gas           Gov. Aggregation   COH             195993980026                Gas           Gov. Aggregation
DUKE         1150356309                  Gas           Gov. Aggregation   COH             169203410039                Gas           Gov. Aggregation
DUKE         1680352002                  Gas           Gov. Aggregation   COH             151259940040                Gas           Gov. Aggregation
DUKE         6860356605                  Gas           Gov. Aggregation   COH             198725080010                Gas           Gov. Aggregation
DUKE         9310356202                  Gas           Gov. Aggregation   COH             197200480019                Gas           Gov. Aggregation
DUKE         0700353705                  Gas           Gov. Aggregation   COH             152123620034                Gas           Gov. Aggregation
DUKE         8500353402                  Gas           Gov. Aggregation   COH             192600120020                Gas           Gov. Aggregation
DUKE         8550357607                  Gas           Gov. Aggregation   COH             192778500025                Gas           Gov. Aggregation
DUKE         3450369102                  Gas           Gov. Aggregation   COH             198178541255                Gas           Gov. Aggregation
DUKE         8370362602                  Gas           Gov. Aggregation   COH             198178541317                Gas           Gov. Aggregation
DUKE         8620390702                  Gas           Gov. Aggregation   COH             121933010121                Gas           Gov. Aggregation
DUKE         8230361402                  Gas           Gov. Aggregation   COH             121937890012                Gas           Gov. Aggregation
DUKE         8120367403                  Gas           Gov. Aggregation   COH             121939050014                Gas           Gov. Aggregation
DUKE         8190367602                  Gas           Gov. Aggregation   COH             153029100069                Gas           Gov. Aggregation
DUKE         9340387903                  Gas           Gov. Aggregation   COH             156616496868                Gas           Gov. Aggregation
DUKE         9130355909                  Gas           Gov. Aggregation   COH             158412753428                Gas           Gov. Aggregation
DUKE         8980366602                  Gas           Gov. Aggregation   COH             187819610049                Gas           Gov. Aggregation
DUKE         8820358605                  Gas           Gov. Aggregation   COH             188301950035                Gas           Gov. Aggregation
DUKE         8750357909                  Gas           Gov. Aggregation   COH             188464060038                Gas           Gov. Aggregation
DUKE         6420223406                  Gas           Gov. Aggregation   COH             188821220027                Gas           Gov. Aggregation
DUKE         3740224402                  Gas           Gov. Aggregation   COH             188994040020                Gas           Gov. Aggregation
DUKE         6460388602                  Gas           Gov. Aggregation   COH             198967940017                Gas           Gov. Aggregation
DUKE         5530391902                  Gas           Gov. Aggregation   COH             199003340014                Gas           Gov. Aggregation
DUKE         6000362402                  Gas           Gov. Aggregation   COH             199335380013                Gas           Gov. Aggregation
DUKE         1220354607                  Gas           Gov. Aggregation   COH             199342930012                Gas           Gov. Aggregation
DUKE         3800358204                  Gas           Gov. Aggregation   COH             199734690012                Gas           Gov. Aggregation
DUKE         7150355903                  Gas           Gov. Aggregation   COH             199752510011                Gas           Gov. Aggregation
DUKE         6800358204                  Gas           Gov. Aggregation   COH             192822770024                Gas           Gov. Aggregation
DUKE         4870357409                  Gas           Gov. Aggregation   COH             192898800028                Gas           Gov. Aggregation
DUKE         3230364606                  Gas           Gov. Aggregation   COH             193070280021                Gas           Gov. Aggregation
DUKE         5870357402                  Gas           Gov. Aggregation   COH             194532690024                Gas           Gov. Aggregation
DUKE         6040389802                  Gas           Gov. Aggregation   COH             121938340015                Gas           Gov. Aggregation
DUKE         4030391802                  Gas           Gov. Aggregation   COH             121959630010                Gas           Gov. Aggregation
DUKE         9150355904                  Gas           Gov. Aggregation   COH             139958440030                Gas           Gov. Aggregation
DUKE         9780359303                  Gas           Gov. Aggregation   COH             157977320015                Gas           Gov. Aggregation
DUKE         4940389502                  Gas           Gov. Aggregation   COH             121926930025                Gas           Gov. Aggregation
DUKE         1220362906                  Gas           Gov. Aggregation   COH             148404110013                Gas           Gov. Aggregation
DUKE         1130385902                  Gas           Gov. Aggregation   COH             133240470013                Gas           Gov. Aggregation
DUKE         1230389902                  Gas           Gov. Aggregation   COH             156436410013                Gas           Gov. Aggregation
DUKE         0790365502                  Gas           Gov. Aggregation   COH             157592950019                Gas           Gov. Aggregation
DUKE         1030391802                  Gas           Gov. Aggregation   COH             154186790017                Gas           Gov. Aggregation
DUKE         1680389302                  Gas           Gov. Aggregation   COH             130297770023                Gas           Gov. Aggregation
DUKE         1610366002                  Gas           Gov. Aggregation   COH             154259440015                Gas           Gov. Aggregation
DUKE         5330355604                  Gas           Gov. Aggregation   COH             157341180021                Gas           Gov. Aggregation
DUKE         9580385902                  Gas           Gov. Aggregation   COH             121976800018                Gas           Gov. Aggregation
DUKE         6600391602                  Gas           Gov. Aggregation   COH             121942240017                Gas           Gov. Aggregation
DUKE         6860391202                  Gas           Gov. Aggregation   COH             159506840011                Gas           Gov. Aggregation
DUKE         5290370412                  Gas           Gov. Aggregation   COH             162359650019                Gas           Gov. Aggregation
DUKE         4450384102                  Gas           Gov. Aggregation   COH             165012820014                Gas           Gov. Aggregation
DUKE         3870391902                  Gas           Gov. Aggregation   COH             153335720033                Gas           Gov. Aggregation
DUKE         4290392102                  Gas           Gov. Aggregation   COH             134153410019                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DUKE         3970391902                  Gas           Gov. Aggregation   COH             141690030021                Gas           Gov. Aggregation
DUKE         5410363308                  Gas           Gov. Aggregation   COH             162645570019                Gas           Gov. Aggregation
DUKE         1910365502                  Gas           Gov. Aggregation   COH             164774390012                Gas           Gov. Aggregation
DUKE         9500391602                  Gas           Gov. Aggregation   COH             167733790011                Gas           Gov. Aggregation
DUKE         9390372003                  Gas           Gov. Aggregation   COH             161460710012                Gas           Gov. Aggregation
DUKE         9490391502                  Gas           Gov. Aggregation   COH             121984590016                Gas           Gov. Aggregation
DUKE         8640224102                  Gas           Gov. Aggregation   COH             122019410017                Gas           Gov. Aggregation
DUKE         7300362502                  Gas           Gov. Aggregation   COH             141650910548                Gas           Gov. Aggregation
DUKE         7490358702                  Gas           Gov. Aggregation   COH             140613570012                Gas           Gov. Aggregation
DUKE         7580351004                  Gas           Gov. Aggregation   COH             146935610024                Gas           Gov. Aggregation
DUKE         7700350903                  Gas           Gov. Aggregation   COH             148898020017                Gas           Gov. Aggregation
DUKE         7720351102                  Gas           Gov. Aggregation   COH             138002470021                Gas           Gov. Aggregation
DUKE         0530361503                  Gas           Gov. Aggregation   COH             121954450027                Gas           Gov. Aggregation
DUKE         0480360802                  Gas           Gov. Aggregation   COH             161694560019                Gas           Gov. Aggregation
DUKE         8610220011                  Gas           Gov. Aggregation   COH             142727270012                Gas           Gov. Aggregation
DUKE         7780018327                  Gas           Gov. Aggregation   COH             151646970016                Gas           Gov. Aggregation
DUKE         1190018324                  Gas           Gov. Aggregation   COH             143971200027                Gas           Gov. Aggregation
DUKE         2190018320                  Gas           Gov. Aggregation   COH             150729030018                Gas           Gov. Aggregation
DUKE         6090018329                  Gas           Gov. Aggregation   COH             145498290021                Gas           Gov. Aggregation
DUKE         5090018320                  Gas           Gov. Aggregation   COH             165127870011                Gas           Gov. Aggregation
DUKE         8250036422                  Gas           Gov. Aggregation   COH             121975080021                Gas           Gov. Aggregation
DUKE         7350036420                  Gas           Gov. Aggregation   COH             147106750021                Gas           Gov. Aggregation
DUKE         7250036422                  Gas           Gov. Aggregation   COH             138790240020                Gas           Gov. Aggregation
DUKE         8850036421                  Gas           Gov. Aggregation   COH             150464030029                Gas           Gov. Aggregation
DUKE         7550018320                  Gas           Gov. Aggregation   COH             121955160017                Gas           Gov. Aggregation
DUKE         9030018322                  Gas           Gov. Aggregation   COH             123592950019                Gas           Gov. Aggregation
DUKE         1380018326                  Gas           Gov. Aggregation   COH             121955740024                Gas           Gov. Aggregation
DUKE         7480018335                  Gas           Gov. Aggregation   COH             153216600012                Gas           Gov. Aggregation
DUKE         6580018321                  Gas           Gov. Aggregation   COH             142458530036                Gas           Gov. Aggregation
DUKE         8130204202                  Gas           Gov. Aggregation   COH             156461000016                Gas           Gov. Aggregation
DUKE         8680018320                  Gas           Gov. Aggregation   COH             160664200027                Gas           Gov. Aggregation
DUKE         4350036422                  Gas           Gov. Aggregation   COH             121942760018                Gas           Gov. Aggregation
DUKE         1220036521                  Gas           Gov. Aggregation   COH             122027880012                Gas           Gov. Aggregation
DUKE         0170052149                  Gas           Gov. Aggregation   COH             156841500015                Gas           Gov. Aggregation
DUKE         5770052130                  Gas           Gov. Aggregation   COH             164920080016                Gas           Gov. Aggregation
DUKE         2690079524                  Gas           Gov. Aggregation   COH             130891050015                Gas           Gov. Aggregation
DUKE         6770052124                  Gas           Gov. Aggregation   COH             122019390012                Gas           Gov. Aggregation
DUKE         1180052121                  Gas           Gov. Aggregation   COH             130696970025                Gas           Gov. Aggregation
DUKE         0990052121                  Gas           Gov. Aggregation   COH             130473510023                Gas           Gov. Aggregation
DUKE         1990052124                  Gas           Gov. Aggregation   COH             137992190024                Gas           Gov. Aggregation
DUKE         5420209201                  Gas           Gov. Aggregation   COH             121966120021                Gas           Gov. Aggregation
DUKE         9980205601                  Gas           Gov. Aggregation   COH             164593590014                Gas           Gov. Aggregation
DUKE         4110055425                  Gas           Gov. Aggregation   COH             162291090011                Gas           Gov. Aggregation
DUKE         3060055424                  Gas           Gov. Aggregation   COH             163788510018                Gas           Gov. Aggregation
DUKE         7950055424                  Gas           Gov. Aggregation   COH             165012890010                Gas           Gov. Aggregation
DUKE         8850055421                  Gas           Gov. Aggregation   COH             139499770017                Gas           Gov. Aggregation
DUKE         7850055422                  Gas           Gov. Aggregation   COH             160220380011                Gas           Gov. Aggregation
DUKE         7810055422                  Gas           Gov. Aggregation   COH             121956810018                Gas           Gov. Aggregation
DUKE         6850055420                  Gas           Gov. Aggregation   COH             114464110044                Gas           Gov. Aggregation
DUKE         0950055422                  Gas           Gov. Aggregation   COH             144804110028                Gas           Gov. Aggregation
DUKE         9850055420                  Gas           Gov. Aggregation   COH             121976810043                Gas           Gov. Aggregation
DUKE         3610055420                  Gas           Gov. Aggregation   COH             142071640033                Gas           Gov. Aggregation
DUKE         1890052130                  Gas           Gov. Aggregation   COH             152746260012                Gas           Gov. Aggregation
DUKE         9790052139                  Gas           Gov. Aggregation   COH             121994950046                Gas           Gov. Aggregation
DUKE         0400052226                  Gas           Gov. Aggregation   COH             121952830021                Gas           Gov. Aggregation
DUKE         0080052124                  Gas           Gov. Aggregation   COH             150387050010                Gas           Gov. Aggregation
DUKE         0910055421                  Gas           Gov. Aggregation   COH             152824310024                Gas           Gov. Aggregation
DUKE         0870052123                  Gas           Gov. Aggregation   COH             133857920011                Gas           Gov. Aggregation
DUKE         2400052220                  Gas           Gov. Aggregation   COH             142466260018                Gas           Gov. Aggregation
DUKE         2260055422                  Gas           Gov. Aggregation   COH             161358490016                Gas           Gov. Aggregation
DUKE         6810055422                  Gas           Gov. Aggregation   COH             123639220049                Gas           Gov. Aggregation
DUKE         9740369702                  Gas           Gov. Aggregation   COH             162663920017                Gas           Gov. Aggregation
DUKE         5110055434                  Gas           Gov. Aggregation   COH             152495550014                Gas           Gov. Aggregation
DUKE         1210055429                  Gas           Gov. Aggregation   COH             121960690015                Gas           Gov. Aggregation
DUKE         2210055433                  Gas           Gov. Aggregation   COH             121973420014                Gas           Gov. Aggregation
DUKE         0890379802                  Gas           Gov. Aggregation   COH             157589230017                Gas           Gov. Aggregation
DUKE         0870027122                  Gas           Gov. Aggregation   COH             152770580014                Gas           Gov. Aggregation
DUKE         1000223404                  Gas           Gov. Aggregation   COH             121933620016                Gas           Gov. Aggregation
DUKE         1800217408                  Gas           Gov. Aggregation   COH             152913010028                Gas           Gov. Aggregation
DUKE         4440213604                  Gas           Gov. Aggregation   COH             155403320012                Gas           Gov. Aggregation
DUKE         7560387301                  Gas           Gov. Aggregation   COH             156399660011                Gas           Gov. Aggregation
DUKE         1330385602                  Gas           Gov. Aggregation   COH             121923320029                Gas           Gov. Aggregation
DUKE         9330085624                  Gas           Gov. Aggregation   COH             121987200020                Gas           Gov. Aggregation
DUKE         9160085423                  Gas           Gov. Aggregation   COH             133223710027                Gas           Gov. Aggregation
DUKE         7160085422                  Gas           Gov. Aggregation   COH             131778470025                Gas           Gov. Aggregation
DUKE         6380077632                  Gas           Gov. Aggregation   COH             147829970023                Gas           Gov. Aggregation
DUKE         2040208502                  Gas           Gov. Aggregation   COH             157965400022                Gas           Gov. Aggregation
DUKE         6820351402                  Gas           Gov. Aggregation   COH             122000170017                Gas           Gov. Aggregation
DUKE         9470073222                  Gas           Gov. Aggregation   COH             167025470019                Gas           Gov. Aggregation
DUKE         9560052221                  Gas           Gov. Aggregation   COH             156475730014                Gas           Gov. Aggregation
DUKE         9760052222                  Gas           Gov. Aggregation   COH             127184750012                Gas           Gov. Aggregation
DUKE         8760052225                  Gas           Gov. Aggregation   COH             121956450014                Gas           Gov. Aggregation
DUKE         8660073521                  Gas           Gov. Aggregation   COH             121931910028                Gas           Gov. Aggregation
DUKE         8660052227                  Gas           Gov. Aggregation   COH             121953680021                Gas           Gov. Aggregation
DUKE         4980070723                  Gas           Gov. Aggregation   COH             160085420010                Gas           Gov. Aggregation
DUKE         4760052220                  Gas           Gov. Aggregation   COH             130211450011                Gas           Gov. Aggregation
DUKE         4790080022                  Gas           Gov. Aggregation   COH             122015130014                Gas           Gov. Aggregation
DUKE         5190209705                  Gas           Gov. Aggregation   COH             121954380013                Gas           Gov. Aggregation
DUKE         6990071723                  Gas           Gov. Aggregation   COH             143854430018                Gas           Gov. Aggregation
DUKE         6590369501                  Gas           Gov. Aggregation   COH             156688880021                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DUKE         3760052224                  Gas           Gov. Aggregation   COH             150510530016                Gas           Gov. Aggregation
DUKE         3200009122                  Gas           Gov. Aggregation   COH             149483620019                Gas           Gov. Aggregation
DUKE         5880219301                  Gas           Gov. Aggregation   COH             149719110766                Gas           Gov. Aggregation
DUKE         8840219502                  Gas           Gov. Aggregation   COH             122014240013                Gas           Gov. Aggregation
DUKE         6190359802                  Gas           Gov. Aggregation   COH             158776520018                Gas           Gov. Aggregation
DUKE         7000217808                  Gas           Gov. Aggregation   COH             162106780017                Gas           Gov. Aggregation
DUKE         4260218902                  Gas           Gov. Aggregation   COH             121922350016                Gas           Gov. Aggregation
DUKE         0500009134                  Gas           Gov. Aggregation   COH             163784590010                Gas           Gov. Aggregation
DUKE         1300009128                  Gas           Gov. Aggregation   COH             154830530050                Gas           Gov. Aggregation
DUKE         1400009121                  Gas           Gov. Aggregation   COH             162444180017                Gas           Gov. Aggregation
DUKE         5180214402                  Gas           Gov. Aggregation   COH             121926360016                Gas           Gov. Aggregation
DUKE         6100009129                  Gas           Gov. Aggregation   COH             150545370026                Gas           Gov. Aggregation
DUKE         9100009123                  Gas           Gov. Aggregation   COH             152265800027                Gas           Gov. Aggregation
DUKE         9090058324                  Gas           Gov. Aggregation   COH             165859630010                Gas           Gov. Aggregation
DUKE         9290058320                  Gas           Gov. Aggregation   COH             156340170035                Gas           Gov. Aggregation
DUKE         2290058323                  Gas           Gov. Aggregation   COH             132587510011                Gas           Gov. Aggregation
DUKE         4330077422                  Gas           Gov. Aggregation   COH             121974540026                Gas           Gov. Aggregation
DUKE         6290058328                  Gas           Gov. Aggregation   COH             121967190016                Gas           Gov. Aggregation
DUKE         6730080521                  Gas           Gov. Aggregation   COH             113319830023                Gas           Gov. Aggregation
DUKE         5200058424                  Gas           Gov. Aggregation   COH             122021150026                Gas           Gov. Aggregation
DUKE         1550058333                  Gas           Gov. Aggregation   COH             144556860037                Gas           Gov. Aggregation
DUKE         3550058350                  Gas           Gov. Aggregation   COH             122013360010                Gas           Gov. Aggregation
DUKE         7790058320                  Gas           Gov. Aggregation   COH             135028500032                Gas           Gov. Aggregation
DUKE         8800058422                  Gas           Gov. Aggregation   COH             152772930016                Gas           Gov. Aggregation
DUKE         8790058322                  Gas           Gov. Aggregation   COH             162727740019                Gas           Gov. Aggregation
DUKE         5790058324                  Gas           Gov. Aggregation   COH             121926260017                Gas           Gov. Aggregation
DUKE         9760085522                  Gas           Gov. Aggregation   COH             121974210016                Gas           Gov. Aggregation
DUKE         9900058420                  Gas           Gov. Aggregation   COH             122019444026                Gas           Gov. Aggregation
DUKE         9280076821                  Gas           Gov. Aggregation   COH             159417570017                Gas           Gov. Aggregation
DUKE         9100058421                  Gas           Gov. Aggregation   COH             150304770031                Gas           Gov. Aggregation
DUKE         9110058427                  Gas           Gov. Aggregation   COH             112206470029                Gas           Gov. Aggregation
DUKE         8440374401                  Gas           Gov. Aggregation   COH             142184040012                Gas           Gov. Aggregation
DUKE         3590073137                  Gas           Gov. Aggregation   COH             121976930011                Gas           Gov. Aggregation
DUKE         3700211002                  Gas           Gov. Aggregation   COH             166241360015                Gas           Gov. Aggregation
DUKE         3400058429                  Gas           Gov. Aggregation   COH             164811190014                Gas           Gov. Aggregation
DUKE         2890058327                  Gas           Gov. Aggregation   COH             121976970013                Gas           Gov. Aggregation
DUKE         3100058422                  Gas           Gov. Aggregation   COH             137980420039                Gas           Gov. Aggregation
DUKE         2990058327                  Gas           Gov. Aggregation   COH             121954800023                Gas           Gov. Aggregation
DUKE         4460082720                  Gas           Gov. Aggregation   COH             121932760028                Gas           Gov. Aggregation
DUKE         6000058421                  Gas           Gov. Aggregation   COH             121977660016                Gas           Gov. Aggregation
DUKE         5210058425                  Gas           Gov. Aggregation   COH             121989800011                Gas           Gov. Aggregation
DUKE         6300058433                  Gas           Gov. Aggregation   COH             121976220029                Gas           Gov. Aggregation
DUKE         6260371202                  Gas           Gov. Aggregation   COH             120450460051                Gas           Gov. Aggregation
DUKE         7110058426                  Gas           Gov. Aggregation   COH             156895340016                Gas           Gov. Aggregation
DUKE         6210058428                  Gas           Gov. Aggregation   COH             122002390302                Gas           Gov. Aggregation
DUKE         1400058422                  Gas           Gov. Aggregation   COH             121957410010                Gas           Gov. Aggregation
DUKE         1300058421                  Gas           Gov. Aggregation   COH             168156040011                Gas           Gov. Aggregation
DUKE         1500058423                  Gas           Gov. Aggregation   COH             136009290027                Gas           Gov. Aggregation
DUKE         1700058420                  Gas           Gov. Aggregation   COH             144277600015                Gas           Gov. Aggregation
DUKE         0990058322                  Gas           Gov. Aggregation   COH             166009550017                Gas           Gov. Aggregation
DUKE         1210058426                  Gas           Gov. Aggregation   COH             122002380019                Gas           Gov. Aggregation
DUKE         3500058420                  Gas           Gov. Aggregation   COH             131323610028                Gas           Gov. Aggregation
DUKE         3950055422                  Gas           Gov. Aggregation   COH             121984610020                Gas           Gov. Aggregation
DUKE         6950055421                  Gas           Gov. Aggregation   COH             157559840012                Gas           Gov. Aggregation
DUKE         1060055423                  Gas           Gov. Aggregation   COH             121970100026                Gas           Gov. Aggregation
DUKE         2060055423                  Gas           Gov. Aggregation   COH             139817110019                Gas           Gov. Aggregation
DUKE         4950055422                  Gas           Gov. Aggregation   COH             166973240019                Gas           Gov. Aggregation
DUKE         9160055426                  Gas           Gov. Aggregation   COH             161658990015                Gas           Gov. Aggregation
DUKE         8210052220                  Gas           Gov. Aggregation   COH             121956940011                Gas           Gov. Aggregation
DUKE         7310052228                  Gas           Gov. Aggregation   COH             148094430024                Gas           Gov. Aggregation
DUKE         8110052223                  Gas           Gov. Aggregation   COH             158221890025                Gas           Gov. Aggregation
DUKE         4450055420                  Gas           Gov. Aggregation   COH             121959610023                Gas           Gov. Aggregation
DUKE         4750217404                  Gas           Gov. Aggregation   COH             121922740014                Gas           Gov. Aggregation
DUKE         4350055424                  Gas           Gov. Aggregation   COH             122030530018                Gas           Gov. Aggregation
DUKE         6450055422                  Gas           Gov. Aggregation   COH             121926850022                Gas           Gov. Aggregation
DUKE         4800052234                  Gas           Gov. Aggregation   COH             167226300018                Gas           Gov. Aggregation
DUKE         3410052236                  Gas           Gov. Aggregation   COH             136559280015                Gas           Gov. Aggregation
DUKE         1310052222                  Gas           Gov. Aggregation   COH             134967800012                Gas           Gov. Aggregation
DUKE         6800052220                  Gas           Gov. Aggregation   COH             121923180038                Gas           Gov. Aggregation
DUKE         6700052223                  Gas           Gov. Aggregation   COH             121933380017                Gas           Gov. Aggregation
DUKE         6990205105                  Gas           Gov. Aggregation   COH             121976620016                Gas           Gov. Aggregation
DUKE         6310052227                  Gas           Gov. Aggregation   COH             159591220012                Gas           Gov. Aggregation
DUKE         6010052225                  Gas           Gov. Aggregation   COH             137794430014                Gas           Gov. Aggregation
DUKE         4710055421                  Gas           Gov. Aggregation   COH             145604260011                Gas           Gov. Aggregation
DUKE         4120204102                  Gas           Gov. Aggregation   COH             121943860015                Gas           Gov. Aggregation
DUKE         6160055422                  Gas           Gov. Aggregation   COH             121992960020                Gas           Gov. Aggregation
DUKE         6710055421                  Gas           Gov. Aggregation   COH             141483370010                Gas           Gov. Aggregation
DUKE         7160055434                  Gas           Gov. Aggregation   COH             164931750012                Gas           Gov. Aggregation
DUKE         2180204902                  Gas           Gov. Aggregation   COH             122030810028                Gas           Gov. Aggregation
DUKE         7120055424                  Gas           Gov. Aggregation   COH             138875980016                Gas           Gov. Aggregation
DUKE         0450055423                  Gas           Gov. Aggregation   COH             136480080023                Gas           Gov. Aggregation
DUKE         6350055422                  Gas           Gov. Aggregation   COH             167349680019                Gas           Gov. Aggregation
DUKE         6250055421                  Gas           Gov. Aggregation   COH             122009820021                Gas           Gov. Aggregation
DUKE         6900206608                  Gas           Gov. Aggregation   COH             121938850018                Gas           Gov. Aggregation
DUKE         7350055420                  Gas           Gov. Aggregation   COH             144969740019                Gas           Gov. Aggregation
DUKE         1450055423                  Gas           Gov. Aggregation   COH             167012800016                Gas           Gov. Aggregation
DUKE         7650055421                  Gas           Gov. Aggregation   COH             142275180010                Gas           Gov. Aggregation
DUKE         9650055423                  Gas           Gov. Aggregation   COH             121938560019                Gas           Gov. Aggregation
DUKE         9370055431                  Gas           Gov. Aggregation   COH             121960610011                Gas           Gov. Aggregation
DUKE         9750055421                  Gas           Gov. Aggregation   COH             121938710017                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DUKE         6690085421                  Gas           Gov. Aggregation   COH             126750310032                Gas           Gov. Aggregation
DUKE         6550055425                  Gas           Gov. Aggregation   COH             165750810012                Gas           Gov. Aggregation
DUKE         4690200102                  Gas           Gov. Aggregation   COH             121967560018                Gas           Gov. Aggregation
DUKE         4750055420                  Gas           Gov. Aggregation   COH             128984920037                Gas           Gov. Aggregation
DUKE         0750055421                  Gas           Gov. Aggregation   COH             121958280016                Gas           Gov. Aggregation
DUKE         1650055422                  Gas           Gov. Aggregation   COH             121958280025                Gas           Gov. Aggregation
DUKE         1750055424                  Gas           Gov. Aggregation   COH             121958310019                Gas           Gov. Aggregation
DUKE         1570055426                  Gas           Gov. Aggregation   COH             168080610012                Gas           Gov. Aggregation
DUKE         1470055432                  Gas           Gov. Aggregation   COH             147901170018                Gas           Gov. Aggregation
DUKE         1300078721                  Gas           Gov. Aggregation   COH             121933010023                Gas           Gov. Aggregation
DUKE         2470055424                  Gas           Gov. Aggregation   COH             139217440021                Gas           Gov. Aggregation
DUKE         1440217601                  Gas           Gov. Aggregation   COH             164847980022                Gas           Gov. Aggregation
DUKE         1640071522                  Gas           Gov. Aggregation   COH             121953710015                Gas           Gov. Aggregation
DUKE         5810055426                  Gas           Gov. Aggregation   COH             172812360016                Gas           Gov. Aggregation
DUKE         9450055420                  Gas           Gov. Aggregation   COH             199170130015                Gas           Gov. Aggregation
DUKE         0600055420                  Gas           Gov. Aggregation   COH             171086830055                Gas           Gov. Aggregation
DUKE         1110055421                  Gas           Gov. Aggregation   COH             133363680028                Gas           Gov. Aggregation
DUKE         2540213504                  Gas           Gov. Aggregation   COH             121944150012                Gas           Gov. Aggregation
DUKE         2550208902                  Gas           Gov. Aggregation   COH             121925960021                Gas           Gov. Aggregation
DUKE         2500055424                  Gas           Gov. Aggregation   COH             154892670015                Gas           Gov. Aggregation
DUKE         1900055421                  Gas           Gov. Aggregation   COH             152235690051                Gas           Gov. Aggregation
DUKE         4500055423                  Gas           Gov. Aggregation   COH             149585890017                Gas           Gov. Aggregation
DUKE         5600055421                  Gas           Gov. Aggregation   COH             166677800019                Gas           Gov. Aggregation
DUKE         6010055421                  Gas           Gov. Aggregation   COH             121923340025                Gas           Gov. Aggregation
DUKE         6400055423                  Gas           Gov. Aggregation   COH             121965970025                Gas           Gov. Aggregation
DUKE         6600055421                  Gas           Gov. Aggregation   COH             166717320014                Gas           Gov. Aggregation
DUKE         6700055425                  Gas           Gov. Aggregation   COH             121965830015                Gas           Gov. Aggregation
DUKE         4600055421                  Gas           Gov. Aggregation   COH             155708240022                Gas           Gov. Aggregation
DUKE         2050388501                  Gas           Gov. Aggregation   COH             121937700011                Gas           Gov. Aggregation
DUKE         3700055423                  Gas           Gov. Aggregation   COH             162612380018                Gas           Gov. Aggregation
DUKE         9500055423                  Gas           Gov. Aggregation   COH             164213470059                Gas           Gov. Aggregation
DUKE         8500055421                  Gas           Gov. Aggregation   COH             154688480018                Gas           Gov. Aggregation
DUKE         7500055423                  Gas           Gov. Aggregation   COH             121937570019                Gas           Gov. Aggregation
DUKE         1830372303                  Gas           Gov. Aggregation   COH             122019444286                Gas           Gov. Aggregation
DUKE         2240055428                  Gas           Gov. Aggregation   COH             154354790010                Gas           Gov. Aggregation
DUKE         2370052124                  Gas           Gov. Aggregation   COH             129974720011                Gas           Gov. Aggregation
DUKE         2440055435                  Gas           Gov. Aggregation   COH             135070500015                Gas           Gov. Aggregation
DUKE         2170355309                  Gas           Gov. Aggregation   COH             138298140016                Gas           Gov. Aggregation
DUKE         1370052122                  Gas           Gov. Aggregation   COH             121993390028                Gas           Gov. Aggregation
DUKE         4440055422                  Gas           Gov. Aggregation   COH             166810710023                Gas           Gov. Aggregation
DUKE         3670052135                  Gas           Gov. Aggregation   COH             121971920013                Gas           Gov. Aggregation
DUKE         3470052128                  Gas           Gov. Aggregation   COH             166352950016                Gas           Gov. Aggregation
DUKE         3440055427                  Gas           Gov. Aggregation   COH             133372580048                Gas           Gov. Aggregation
DUKE         3420036526                  Gas           Gov. Aggregation   COH             122029720011                Gas           Gov. Aggregation
DUKE         1850036422                  Gas           Gov. Aggregation   COH             140441590022                Gas           Gov. Aggregation
DUKE         3550036424                  Gas           Gov. Aggregation   COH             175234720022                Gas           Gov. Aggregation
DUKE         1570036436                  Gas           Gov. Aggregation   COH             139832830043                Gas           Gov. Aggregation
DUKE         3450036426                  Gas           Gov. Aggregation   COH             190305720022                Gas           Gov. Aggregation
DUKE         0450036424                  Gas           Gov. Aggregation   COH             165776760028                Gas           Gov. Aggregation
DUKE         3650036422                  Gas           Gov. Aggregation   COH             176740690016                Gas           Gov. Aggregation
DUKE         3850036426                  Gas           Gov. Aggregation   COH             192029870016                Gas           Gov. Aggregation
DUKE         0650036421                  Gas           Gov. Aggregation   COH             171710100035                Gas           Gov. Aggregation
DUKE         6260018322                  Gas           Gov. Aggregation   COH             142249330013                Gas           Gov. Aggregation
DUKE         5350018331                  Gas           Gov. Aggregation   COH             188726020012                Gas           Gov. Aggregation
DUKE         7080018322                  Gas           Gov. Aggregation   COH             121938930020                Gas           Gov. Aggregation
DUKE         6850018325                  Gas           Gov. Aggregation   COH             158348110011                Gas           Gov. Aggregation
DUKE         4060018322                  Gas           Gov. Aggregation   COH             133073880030                Gas           Gov. Aggregation
DUKE         3650018320                  Gas           Gov. Aggregation   COH             199125870015                Gas           Gov. Aggregation
DUKE         3450018324                  Gas           Gov. Aggregation   COH             157788330023                Gas           Gov. Aggregation
DUKE         8570018320                  Gas           Gov. Aggregation   COH             192849270014                Gas           Gov. Aggregation
DUKE         7570018322                  Gas           Gov. Aggregation   COH             177668130016                Gas           Gov. Aggregation
DUKE         2280018323                  Gas           Gov. Aggregation   COH             121999350042                Gas           Gov. Aggregation
DUKE         2180018321                  Gas           Gov. Aggregation   COH             121955330020                Gas           Gov. Aggregation
DUKE         2570018327                  Gas           Gov. Aggregation   COH             170400810016                Gas           Gov. Aggregation
DUKE         3570018328                  Gas           Gov. Aggregation   COH             196667720011                Gas           Gov. Aggregation
DUKE         7350018326                  Gas           Gov. Aggregation   COH             197494580035                Gas           Gov. Aggregation
DUKE         2670018320                  Gas           Gov. Aggregation   COH             121965090011                Gas           Gov. Aggregation
DUKE         2360018332                  Gas           Gov. Aggregation   COH             160373880086                Gas           Gov. Aggregation
DUKE         2450018325                  Gas           Gov. Aggregation   COH             168801690016                Gas           Gov. Aggregation
DUKE         1970018323                  Gas           Gov. Aggregation   COH             161989260026                Gas           Gov. Aggregation
DUKE         7970018325                  Gas           Gov. Aggregation   COH             164317610031                Gas           Gov. Aggregation
DUKE         0550018320                  Gas           Gov. Aggregation   COH             164762190046                Gas           Gov. Aggregation
DUKE         1650018320                  Gas           Gov. Aggregation   COH             162604520042                Gas           Gov. Aggregation
DUKE         1550036421                  Gas           Gov. Aggregation   COH             166670040013                Gas           Gov. Aggregation
DUKE         2550036436                  Gas           Gov. Aggregation   COH             142117350027                Gas           Gov. Aggregation
DUKE         2750036421                  Gas           Gov. Aggregation   COH             186934130010                Gas           Gov. Aggregation
DUKE         0850036422                  Gas           Gov. Aggregation   COH             121943020011                Gas           Gov. Aggregation
DUKE         5800058421                  Gas           Gov. Aggregation   COH             187403380021                Gas           Gov. Aggregation
DUKE         5690058326                  Gas           Gov. Aggregation   COH             170048340013                Gas           Gov. Aggregation
DUKE         5490058328                  Gas           Gov. Aggregation   COH             160176050033                Gas           Gov. Aggregation
DUKE         9900018421                  Gas           Gov. Aggregation   COH             190994110012                Gas           Gov. Aggregation
DUKE         2610018321                  Gas           Gov. Aggregation   COH             146131860017                Gas           Gov. Aggregation
DUKE         7900018430                  Gas           Gov. Aggregation   COH             156213890015                Gas           Gov. Aggregation
DUKE         2400018421                  Gas           Gov. Aggregation   COH             171509120010                Gas           Gov. Aggregation
DUKE         2700018421                  Gas           Gov. Aggregation   COH             122007870043                Gas           Gov. Aggregation
DUKE         2890018322                  Gas           Gov. Aggregation   COH             177746360012                Gas           Gov. Aggregation
DUKE         3000018421                  Gas           Gov. Aggregation   COH             199617060012                Gas           Gov. Aggregation
DUKE         3880018349                  Gas           Gov. Aggregation   COH             121959680010                Gas           Gov. Aggregation
DUKE         3890018342                  Gas           Gov. Aggregation   COH             185723830011                Gas           Gov. Aggregation
DUKE         0710018329                  Gas           Gov. Aggregation   COH             174337070022                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DUKE         5890018321                  Gas           Gov. Aggregation   COH             173003080037                Gas           Gov. Aggregation
DUKE         1880018323                  Gas           Gov. Aggregation   COH             168776210020                Gas           Gov. Aggregation
DUKE         9980018323                  Gas           Gov. Aggregation   COH             142434850020                Gas           Gov. Aggregation
DUKE         1000018431                  Gas           Gov. Aggregation   COH             130072210026                Gas           Gov. Aggregation
DUKE         6980018320                  Gas           Gov. Aggregation   COH             157277990019                Gas           Gov. Aggregation
DUKE         9610018320                  Gas           Gov. Aggregation   COH             175356160013                Gas           Gov. Aggregation
DUKE         3210203801                  Gas           Gov. Aggregation   COH             122029670030                Gas           Gov. Aggregation
DUKE         9990058348                  Gas           Gov. Aggregation   COH             177486950038                Gas           Gov. Aggregation
DUKE         7490058327                  Gas           Gov. Aggregation   COH             149405100021                Gas           Gov. Aggregation
DUKE         8230074025                  Gas           Gov. Aggregation   COH             151294720024                Gas           Gov. Aggregation
DUKE         4490058320                  Gas           Gov. Aggregation   COH             173184100012                Gas           Gov. Aggregation
DUKE         4310058423                  Gas           Gov. Aggregation   COH             191421590014                Gas           Gov. Aggregation
DUKE         6490058320                  Gas           Gov. Aggregation   COH             145637820023                Gas           Gov. Aggregation
DUKE         6800058421                  Gas           Gov. Aggregation   COH             157625770016                Gas           Gov. Aggregation
DUKE         4210058420                  Gas           Gov. Aggregation   COH             168002840018                Gas           Gov. Aggregation
DUKE         6390058323                  Gas           Gov. Aggregation   COH             198929660016                Gas           Gov. Aggregation
DUKE         0980058359                  Gas           Gov. Aggregation   COH             195554350028                Gas           Gov. Aggregation
DUKE         2000058423                  Gas           Gov. Aggregation   COH             122009710015                Gas           Gov. Aggregation
DUKE         2490058349                  Gas           Gov. Aggregation   COH             188698670017                Gas           Gov. Aggregation
DUKE         0890058320                  Gas           Gov. Aggregation   COH             122000890016                Gas           Gov. Aggregation
DUKE         0790361306                  Gas           Gov. Aggregation   COH             196756260019                Gas           Gov. Aggregation
DUKE         9840216403                  Gas           Gov. Aggregation   COH             186351460017                Gas           Gov. Aggregation
DUKE         9200212104                  Gas           Gov. Aggregation   COH             197960230011                Gas           Gov. Aggregation
DUKE         1290212704                  Gas           Gov. Aggregation   COH             121955880025                Gas           Gov. Aggregation
DUKE         5100223508                  Gas           Gov. Aggregation   COH             199513470016                Gas           Gov. Aggregation
DUKE         0020213108                  Gas           Gov. Aggregation   COH             191191210012                Gas           Gov. Aggregation
DUKE         9400212004                  Gas           Gov. Aggregation   COH             121956190019                Gas           Gov. Aggregation
DUKE         2410213309                  Gas           Gov. Aggregation   COH             196129730019                Gas           Gov. Aggregation
DUKE         5130212405                  Gas           Gov. Aggregation   COH             199070760015                Gas           Gov. Aggregation
DUKE         6610214505                  Gas           Gov. Aggregation   COH             200626940014                Gas           Gov. Aggregation
DUKE         4200215304                  Gas           Gov. Aggregation   COH             200477360013                Gas           Gov. Aggregation
DUKE         4290215202                  Gas           Gov. Aggregation   COH             200946010011                Gas           Gov. Aggregation
DUKE         4170212608                  Gas           Gov. Aggregation   COH             173016430018                Gas           Gov. Aggregation
DUKE         5630212507                  Gas           Gov. Aggregation   COH             200616880018                Gas           Gov. Aggregation
DUKE         5700018422                  Gas           Gov. Aggregation   COH             138629250029                Gas           Gov. Aggregation
DUKE         7110018421                  Gas           Gov. Aggregation   COH             140247430045                Gas           Gov. Aggregation
DUKE         9800018422                  Gas           Gov. Aggregation   COH             142626170062                Gas           Gov. Aggregation
DUKE         7990018323                  Gas           Gov. Aggregation   COH             143055140031                Gas           Gov. Aggregation
DUKE         8110018422                  Gas           Gov. Aggregation   COH             143814400036                Gas           Gov. Aggregation
DUKE         7700018422                  Gas           Gov. Aggregation   COH             121966970023                Gas           Gov. Aggregation
DUKE         0990018323                  Gas           Gov. Aggregation   COH             155271860029                Gas           Gov. Aggregation
DUKE         0890018320                  Gas           Gov. Aggregation   COH             156486490030                Gas           Gov. Aggregation
DUKE         4800018424                  Gas           Gov. Aggregation   COH             160492230053                Gas           Gov. Aggregation
DUKE         9300018423                  Gas           Gov. Aggregation   COH             165252410067                Gas           Gov. Aggregation
DUKE         3780212706                  Gas           Gov. Aggregation   COH             193126730027                Gas           Gov. Aggregation
DUKE         3750216004                  Gas           Gov. Aggregation   COH             193402740038                Gas           Gov. Aggregation
DUKE         0070212605                  Gas           Gov. Aggregation   COH             193836970031                Gas           Gov. Aggregation
DUKE         2030217504                  Gas           Gov. Aggregation   COH             194199590032                Gas           Gov. Aggregation
DUKE         4020218107                  Gas           Gov. Aggregation   COH             193731990048                Gas           Gov. Aggregation
DUKE         0360218320                  Gas           Gov. Aggregation   COH             198178541353                Gas           Gov. Aggregation
DUKE         4560215305                  Gas           Gov. Aggregation   COH             198178541335                Gas           Gov. Aggregation
DUKE         8960218103                  Gas           Gov. Aggregation   COH             199442560027                Gas           Gov. Aggregation
DUKE         9640212904                  Gas           Gov. Aggregation   COH             199955620027                Gas           Gov. Aggregation
DUKE         7450212305                  Gas           Gov. Aggregation   COH             201235610011                Gas           Gov. Aggregation
DUKE         3860379002                  Gas           Gov. Aggregation   COH             201235620019                Gas           Gov. Aggregation
DUKE         2190368006                  Gas           Gov. Aggregation   COH             201242740028                Gas           Gov. Aggregation
DUKE         2300359005                  Gas           Gov. Aggregation   COH             201376310016                Gas           Gov. Aggregation
DUKE         2150377002                  Gas           Gov. Aggregation   COH             201401980011                Gas           Gov. Aggregation
DUKE         7960379802                  Gas           Gov. Aggregation   COH             201732540012                Gas           Gov. Aggregation
DUKE         8840364707                  Gas           Gov. Aggregation   COH             122013260057                Gas           Gov. Aggregation
DUKE         8840363203                  Gas           Gov. Aggregation   COH             121991830010                Gas           Gov. Aggregation
DUKE         0690366203                  Gas           Gov. Aggregation   COH             148395670017                Gas           Gov. Aggregation
DUKE         0480371502                  Gas           Gov. Aggregation   COH             199505110018                Gas           Gov. Aggregation
DUKE         0600369204                  Gas           Gov. Aggregation   COH             144001760033                Gas           Gov. Aggregation
DUKE         0760391701                  Gas           Gov. Aggregation   COH             193395160019                Gas           Gov. Aggregation
DUKE         2600359704                  Gas           Gov. Aggregation   COH             176737180010                Gas           Gov. Aggregation
DUKE         2240376402                  Gas           Gov. Aggregation   COH             130392970010                Gas           Gov. Aggregation
DUKE         2270361402                  Gas           Gov. Aggregation   COH             198699370016                Gas           Gov. Aggregation
DUKE         2270378802                  Gas           Gov. Aggregation   COH             137563190023                Gas           Gov. Aggregation
DUKE         2790354306                  Gas           Gov. Aggregation   COH             154433510074                Gas           Gov. Aggregation
DUKE         2760374902                  Gas           Gov. Aggregation   COH             193517930044                Gas           Gov. Aggregation
DUKE         2070387702                  Gas           Gov. Aggregation   COH             199378670012                Gas           Gov. Aggregation
DUKE         2330371802                  Gas           Gov. Aggregation   COH             194204540011                Gas           Gov. Aggregation
DUKE         2220362902                  Gas           Gov. Aggregation   COH             195605130016                Gas           Gov. Aggregation
DUKE         1060362805                  Gas           Gov. Aggregation   COH             175168020011                Gas           Gov. Aggregation
DUKE         0850353006                  Gas           Gov. Aggregation   COH             192043600021                Gas           Gov. Aggregation
DUKE         0900375802                  Gas           Gov. Aggregation   COH             156647960066                Gas           Gov. Aggregation
DUKE         0790359904                  Gas           Gov. Aggregation   COH             199560570016                Gas           Gov. Aggregation
DUKE         0930357803                  Gas           Gov. Aggregation   COH             150495210026                Gas           Gov. Aggregation
DUKE         1690372003                  Gas           Gov. Aggregation   COH             199666780018                Gas           Gov. Aggregation
DUKE         1700362202                  Gas           Gov. Aggregation   COH             174818850019                Gas           Gov. Aggregation
DUKE         5340357605                  Gas           Gov. Aggregation   COH             162681310026                Gas           Gov. Aggregation
DUKE         5310369302                  Gas           Gov. Aggregation   COH             149633870018                Gas           Gov. Aggregation
DUKE         5370368702                  Gas           Gov. Aggregation   COH             198505050012                Gas           Gov. Aggregation
DUKE         5060362804                  Gas           Gov. Aggregation   COH             196260890045                Gas           Gov. Aggregation
DUKE         5240363007                  Gas           Gov. Aggregation   COH             200133140026                Gas           Gov. Aggregation
DUKE         6230366502                  Gas           Gov. Aggregation   COH             202008540016                Gas           Gov. Aggregation
DUKE         5900369303                  Gas           Gov. Aggregation   COH             174844810012                Gas           Gov. Aggregation
DUKE         6330359405                  Gas           Gov. Aggregation   COH             144561100017                Gas           Gov. Aggregation
DUKE         6480362602                  Gas           Gov. Aggregation   COH             124647850012                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DUKE         6600377002                  Gas           Gov. Aggregation   COH             205507950019                Gas           Gov. Aggregation
DUKE         3380357703                  Gas           Gov. Aggregation   COH             204600720010                Gas           Gov. Aggregation
DUKE         3370362102                  Gas           Gov. Aggregation   COH             190211620013                Gas           Gov. Aggregation
DUKE         3370378502                  Gas           Gov. Aggregation   COH             189004600037                Gas           Gov. Aggregation
DUKE         3440357406                  Gas           Gov. Aggregation   COH             189200620028                Gas           Gov. Aggregation
DUKE         2830358103                  Gas           Gov. Aggregation   COH             195859980020                Gas           Gov. Aggregation
DUKE         2840359605                  Gas           Gov. Aggregation   COH             201412380023                Gas           Gov. Aggregation
DUKE         5030386202                  Gas           Gov. Aggregation   COH             116855020033                Gas           Gov. Aggregation
DUKE         4700355205                  Gas           Gov. Aggregation   COH             119964350030                Gas           Gov. Aggregation
DUKE         4720362602                  Gas           Gov. Aggregation   COH             119964350049                Gas           Gov. Aggregation
DUKE         4770391402                  Gas           Gov. Aggregation   COH             161065470075                Gas           Gov. Aggregation
DUKE         4830356302                  Gas           Gov. Aggregation   COH             161688600031                Gas           Gov. Aggregation
DUKE         4400355405                  Gas           Gov. Aggregation   COH             157012230161                Gas           Gov. Aggregation
DUKE         7190359203                  Gas           Gov. Aggregation   COH             169203030039                Gas           Gov. Aggregation
DUKE         7230364602                  Gas           Gov. Aggregation   COH             155455870081                Gas           Gov. Aggregation
DUKE         7270364004                  Gas           Gov. Aggregation   COH             154290530056                Gas           Gov. Aggregation
DUKE         7700364604                  Gas           Gov. Aggregation   COH             166248370028                Gas           Gov. Aggregation
DUKE         7700355210                  Gas           Gov. Aggregation   COH             202998000012                Gas           Gov. Aggregation
DUKE         7730380403                  Gas           Gov. Aggregation   COH             203353100016                Gas           Gov. Aggregation
DUKE         7990367805                  Gas           Gov. Aggregation   COH             201789660018                Gas           Gov. Aggregation
DUKE         7820354112                  Gas           Gov. Aggregation   COH             202069160018                Gas           Gov. Aggregation
DUKE         8910365702                  Gas           Gov. Aggregation   COH             202373040018                Gas           Gov. Aggregation
DUKE         8980368304                  Gas           Gov. Aggregation   COH             204451260014                Gas           Gov. Aggregation
DUKE         9210363502                  Gas           Gov. Aggregation   COH             202762320023                Gas           Gov. Aggregation
DUKE         9250365902                  Gas           Gov. Aggregation   COH             204068180014                Gas           Gov. Aggregation
DUKE         4660391902                  Gas           Gov. Aggregation   COH             204009130018                Gas           Gov. Aggregation
DUKE         3440058328                  Gas           Gov. Aggregation   COH             204027380018                Gas           Gov. Aggregation
DUKE         0440058322                  Gas           Gov. Aggregation   COH             198899240028                Gas           Gov. Aggregation
DUKE         9340058324                  Gas           Gov. Aggregation   COH             198537220037                Gas           Gov. Aggregation
DUKE         8140058321                  Gas           Gov. Aggregation   COH             203691080015                Gas           Gov. Aggregation
DUKE         5140058321                  Gas           Gov. Aggregation   COH             202350020010                Gas           Gov. Aggregation
DUKE         9040058320                  Gas           Gov. Aggregation   COH             203010900014                Gas           Gov. Aggregation
DUKE         5280015220                  Gas           Gov. Aggregation   COH             192209630023                Gas           Gov. Aggregation
DUKE         3580015229                  Gas           Gov. Aggregation   COH             192131298193                Gas           Gov. Aggregation
DUKE         7280015224                  Gas           Gov. Aggregation   COH             176342720077                Gas           Gov. Aggregation
VEDO         4020308312552793            Gas           Gov. Aggregation   COH             199075260010                Gas           Gov. Aggregation
VEDO         4020868422538298            Gas           Gov. Aggregation   COH             201268410023                Gas           Gov. Aggregation
VEDO         4017596172616283            Gas           Gov. Aggregation   COH             201749000010                Gas           Gov. Aggregation
VEDO         4019513562215299            Gas           Gov. Aggregation   COH             153777080078                Gas           Gov. Aggregation
VEDO         4019867722515136            Gas           Gov. Aggregation   COH             164585990106                Gas           Gov. Aggregation
VEDO         4019923102363409            Gas           Gov. Aggregation   COH             201466660021                Gas           Gov. Aggregation
VEDO         4019925492315383            Gas           Gov. Aggregation   COH             198011100027                Gas           Gov. Aggregation
VEDO         4020851532453373            Gas           Gov. Aggregation   COH             196468570042                Gas           Gov. Aggregation
VEDO         4020890112395309            Gas           Gov. Aggregation   COH             164641130053                Gas           Gov. Aggregation
VEDO         4020804702411783            Gas           Gov. Aggregation   COH             203693910016                Gas           Gov. Aggregation
VEDO         4020879502248832            Gas           Gov. Aggregation   COH             202197220023                Gas           Gov. Aggregation
VEDO         4003426672312766            Gas           Gov. Aggregation   COH             205104210018                Gas           Gov. Aggregation
VEDO         4003411232226410            Gas           Gov. Aggregation   COH             203661960013                Gas           Gov. Aggregation
VEDO         4020896772477938            Gas           Gov. Aggregation   COH             203003600012                Gas           Gov. Aggregation
VEDO         4020330052160417            Gas           Gov. Aggregation   COH             202325990010                Gas           Gov. Aggregation
VEDO         4020838242429253            Gas           Gov. Aggregation   COH             202278240018                Gas           Gov. Aggregation
VEDO         4020560342134124            Gas           Gov. Aggregation   COH             204501420013                Gas           Gov. Aggregation
VEDO         4020328872289575            Gas           Gov. Aggregation   COH             205238410013                Gas           Gov. Aggregation
VEDO         4002966992247548            Gas           Gov. Aggregation   COH             205450690015                Gas           Gov. Aggregation
VEDO         4020803232439145            Gas           Gov. Aggregation   COH             135366450064                Gas           Gov. Aggregation
VEDO         4001484412384166            Gas           Gov. Aggregation   COH             203063220016                Gas           Gov. Aggregation
VEDO         4019422852328712            Gas           Gov. Aggregation   COH             203173010017                Gas           Gov. Aggregation
VEDO         4018793242236027            Gas           Gov. Aggregation   COH             203184580015                Gas           Gov. Aggregation
VEDO         4018700112303839            Gas           Gov. Aggregation   COH             199310110039                Gas           Gov. Aggregation
VEDO         4017104122325350            Gas           Gov. Aggregation   COH             200872010018                Gas           Gov. Aggregation
VEDO         4015023072453239            Gas           Gov. Aggregation   COH             150141020025                Gas           Gov. Aggregation
VEDO         4015391892117180            Gas           Gov. Aggregation   COH             164067730028                Gas           Gov. Aggregation
VEDO         4016098212487366            Gas           Gov. Aggregation   COH             191364480046                Gas           Gov. Aggregation
VEDO         4016098212498347            Gas           Gov. Aggregation   COH             176931110049                Gas           Gov. Aggregation
VEDO         4020215972295316            Gas           Gov. Aggregation   COH             188185510035                Gas           Gov. Aggregation
VEDO         4020245512488673            Gas           Gov. Aggregation   COH             192225540046                Gas           Gov. Aggregation
VEDO         4020297692442065            Gas           Gov. Aggregation   COH             174200990019                Gas           Gov. Aggregation
VEDO         4020881272514678            Gas           Gov. Aggregation   COH             173413550020                Gas           Gov. Aggregation
VEDO         4020882142675764            Gas           Gov. Aggregation   COH             201487430016                Gas           Gov. Aggregation
VEDO         4015544352441388            Gas           Gov. Aggregation   COH             201498150012                Gas           Gov. Aggregation
VEDO         4019833112374096            Gas           Gov. Aggregation   COH             201505510019                Gas           Gov. Aggregation
VEDO         4016360912485258            Gas           Gov. Aggregation   COH             201455210019                Gas           Gov. Aggregation
VEDO         4019063712677502            Gas           Gov. Aggregation   COH             197206260022                Gas           Gov. Aggregation
VEDO         4018555912637497            Gas           Gov. Aggregation   COH             197948760025                Gas           Gov. Aggregation
VEDO         4017851602676748            Gas           Gov. Aggregation   COH             193811670090                Gas           Gov. Aggregation
VEDO         4020325642272293            Gas           Gov. Aggregation   COH             194420580033                Gas           Gov. Aggregation
VEDO         4020320652246415            Gas           Gov. Aggregation   COH             194456940050                Gas           Gov. Aggregation
VEDO         4020793812384840            Gas           Gov. Aggregation   COH             152729300037                Gas           Gov. Aggregation
VEDO         4020857862395483            Gas           Gov. Aggregation   COH             154182890041                Gas           Gov. Aggregation
VEDO         4018561742281927            Gas           Gov. Aggregation   COH             162331930090                Gas           Gov. Aggregation
VEDO         4020847452234821            Gas           Gov. Aggregation   COH             160856540047                Gas           Gov. Aggregation
VEDO         4020876802336282            Gas           Gov. Aggregation   COH             156028280034                Gas           Gov. Aggregation
VEDO         4020799222677127            Gas           Gov. Aggregation   COH             204523820013                Gas           Gov. Aggregation
VEDO         4020784942676886            Gas           Gov. Aggregation   COH             204595270018                Gas           Gov. Aggregation
VEDO         4004066102382878            Gas           Gov. Aggregation   COH             204588900010                Gas           Gov. Aggregation
VEDO         4002440952361145            Gas           Gov. Aggregation   COH             204110240010                Gas           Gov. Aggregation
VEDO         4003426652223605            Gas           Gov. Aggregation   COH             204110250018                Gas           Gov. Aggregation
VEDO         4018523922281715            Gas           Gov. Aggregation   COH             204125260015                Gas           Gov. Aggregation
VEDO         4019980152147580            Gas           Gov. Aggregation   COH             204224290019                Gas           Gov. Aggregation
VEDO         4020056512399808            Gas           Gov. Aggregation   COH             202776660023                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4001086232194678            Gas           Gov. Aggregation   COH             202909910018                Gas           Gov. Aggregation
VEDO            4020801932301813            Gas           Gov. Aggregation   COH             205321590019                Gas           Gov. Aggregation
VEDO            4020888082143271            Gas           Gov. Aggregation   COH             205232020017                Gas           Gov. Aggregation
VEDO            4020877252376543            Gas           Gov. Aggregation   COH             205266770019                Gas           Gov. Aggregation
VEDO            4020865292480973            Gas           Gov. Aggregation   COH             205238460013                Gas           Gov. Aggregation
VEDO            4020870052494269            Gas           Gov. Aggregation   COH             202238590019                Gas           Gov. Aggregation
VEDO            4001128202232238            Gas           Gov. Aggregation   COH             203081620014                Gas           Gov. Aggregation
VEDO            4001112672451856            Gas           Gov. Aggregation   COH             203093160016                Gas           Gov. Aggregation
VEDO            4003617032359608            Gas           Gov. Aggregation   COH             177066020060                Gas           Gov. Aggregation
VEDO            4017354892244782            Gas           Gov. Aggregation   COH             177300680055                Gas           Gov. Aggregation
VEDO            4018295002677029            Gas           Gov. Aggregation   COH             117218170040                Gas           Gov. Aggregation
VEDO            4017898222253729            Gas           Gov. Aggregation   COH             148714190065                Gas           Gov. Aggregation
VEDO            4020321002499004            Gas           Gov. Aggregation   COH             148788270054                Gas           Gov. Aggregation
VEDO            4019875112364620            Gas           Gov. Aggregation   COH             198259260039                Gas           Gov. Aggregation
VEDO            4001995532301327            Gas           Gov. Aggregation   COH             190504210027                Gas           Gov. Aggregation
VEDO            4003555872353068            Gas           Gov. Aggregation   COH             204089440015                Gas           Gov. Aggregation
VEDO            4015383782168476            Gas           Gov. Aggregation   COH             204821820011                Gas           Gov. Aggregation
VEDO            4017082042505207            Gas           Gov. Aggregation   COH             204488230013                Gas           Gov. Aggregation
VEDO            4005125912405233            Gas           Gov. Aggregation   COH             205103350011                Gas           Gov. Aggregation
VEDO            4020273102676226            Gas           Gov. Aggregation   COH             204716770015                Gas           Gov. Aggregation
DEO             3180009260761               Gas           Gov. Aggregation   COH             204675220018                Gas           Gov. Aggregation
COH             200646610011                Gas           Gov. Aggregation   COH             204165830011                Gas           Gov. Aggregation
COH             121969820028                Gas           Gov. Aggregation   COH             204140070013                Gas           Gov. Aggregation
COH             161266150067                Gas           Gov. Aggregation   COH             203874850015                Gas           Gov. Aggregation
COH             198090610015                Gas           Gov. Aggregation   COH             203852890013                Gas           Gov. Aggregation
COH             121942600039                Gas           Gov. Aggregation   COH             203704670012                Gas           Gov. Aggregation
COH             121947740012                Gas           Gov. Aggregation   COH             203704700015                Gas           Gov. Aggregation
COH             133073940019                Gas           Gov. Aggregation   COH             204606080013                Gas           Gov. Aggregation
DEO             2180009353306               Gas           Gov. Aggregation   COH             204607680015                Gas           Gov. Aggregation
DEO             8180009334139               Gas           Gov. Aggregation   COH             204230620016                Gas           Gov. Aggregation
DEO             2500029684349               Gas           Gov. Aggregation   COH             165012310020                Gas           Gov. Aggregation
COH             124647880016                Gas           Gov. Aggregation   COH             191131530057                Gas           Gov. Aggregation
COH             121963670013                Gas           Gov. Aggregation   COH             138633410026                Gas           Gov. Aggregation
COH             159199170015                Gas           Gov. Aggregation   COH             204653740015                Gas           Gov. Aggregation
COH             121923620026                Gas           Gov. Aggregation   COH             204096310017                Gas           Gov. Aggregation
COH             174689010010                Gas           Gov. Aggregation   COH             203553710032                Gas           Gov. Aggregation
COH             152836820013                Gas           Gov. Aggregation   COH             201644720020                Gas           Gov. Aggregation
COH             121953540020                Gas           Gov. Aggregation   COH             203852910018                Gas           Gov. Aggregation
COH             121977400010                Gas           Gov. Aggregation   COH             203838940012                Gas           Gov. Aggregation
COH             157855090030                Gas           Gov. Aggregation   COH             204054370013                Gas           Gov. Aggregation
COH             111130120015                Gas           Gov. Aggregation   COH             204120950010                Gas           Gov. Aggregation
COH             168825930015                Gas           Gov. Aggregation   COH             204131440014                Gas           Gov. Aggregation
COH             200889530014                Gas           Gov. Aggregation   COH             204865900012                Gas           Gov. Aggregation
COH             177155070016                Gas           Gov. Aggregation   COH             203678760010                Gas           Gov. Aggregation
COH             170286670010                Gas           Gov. Aggregation   COH             203791640015                Gas           Gov. Aggregation
COH             124646290012                Gas           Gov. Aggregation   COH             203811610017                Gas           Gov. Aggregation
COH             137545370023                Gas           Gov. Aggregation   COH             205106350015                Gas           Gov. Aggregation
DEO             4180002952524               Gas           Gov. Aggregation   COH             205106350033                Gas           Gov. Aggregation
DEO             7180003072972               Gas           Gov. Aggregation   COH             203733590018                Gas           Gov. Aggregation
DEO             8180002458115               Gas           Gov. Aggregation   COH             203982510017                Gas           Gov. Aggregation
DEO             1180005018686               Gas           Gov. Aggregation   VEDO            4001129532112314            Gas           Gov. Aggregation
DEO             0180001828138               Gas           Gov. Aggregation   VEDO            4001136202184414            Gas           Gov. Aggregation
DEO             6500041379075               Gas           Gov. Aggregation   VEDO            4001136202330150            Gas           Gov. Aggregation
DEO             9500022652633               Gas           Gov. Aggregation   VEDO            4001165382115601            Gas           Gov. Aggregation
DEO             6500049058302               Gas           Gov. Aggregation   VEDO            4001165462115611            Gas           Gov. Aggregation
DEO             7442106188221               Gas           Gov. Aggregation   VEDO            4001177352116722            Gas           Gov. Aggregation
DEO             1500010648558               Gas           Gov. Aggregation   VEDO            4001192642118254            Gas           Gov. Aggregation
DEO             4500033899411               Gas           Gov. Aggregation   VEDO            4001197062308974            Gas           Gov. Aggregation
DEO             9440107703150               Gas           Gov. Aggregation   VEDO            4001307712128936            Gas           Gov. Aggregation
DEO             0442104939752               Gas           Gov. Aggregation   VEDO            4001356812436147            Gas           Gov. Aggregation
DEO             9500014269259               Gas           Gov. Aggregation   VEDO            4001408932138355            Gas           Gov. Aggregation
DEO             8500044364466               Gas           Gov. Aggregation   VEDO            4001472032144204            Gas           Gov. Aggregation
DEO             5442102868795               Gas           Gov. Aggregation   VEDO            4001473532352424            Gas           Gov. Aggregation
DEO             6500021030634               Gas           Gov. Aggregation   VEDO            4001479482144915            Gas           Gov. Aggregation
DEO             8440107071236               Gas           Gov. Aggregation   VEDO            4001517942533282            Gas           Gov. Aggregation
DEO             8442105593864               Gas           Gov. Aggregation   VEDO            4001715972167456            Gas           Gov. Aggregation
DEO             2442104516005               Gas           Gov. Aggregation   VEDO            4001758692233427            Gas           Gov. Aggregation
DEO             3440100711361               Gas           Gov. Aggregation   VEDO            4001806582342250            Gas           Gov. Aggregation
DEO             4500051355610               Gas           Gov. Aggregation   VEDO            4001830702178653            Gas           Gov. Aggregation
DEO             6500065174256               Gas           Gov. Aggregation   VEDO            4001854862413435            Gas           Gov. Aggregation
DEO             9500035967428               Gas           Gov. Aggregation   VEDO            4001855292628925            Gas           Gov. Aggregation
DEO             2500050932289               Gas           Gov. Aggregation   VEDO            4001920162248532            Gas           Gov. Aggregation
DEO             4500047058945               Gas           Gov. Aggregation   VEDO            4002262602221394            Gas           Gov. Aggregation
DEO             0500014642426               Gas           Gov. Aggregation   VEDO            4002388182233711            Gas           Gov. Aggregation
DEO             2500048758763               Gas           Gov. Aggregation   VEDO            4002393802437829            Gas           Gov. Aggregation
DEO             5442104184901               Gas           Gov. Aggregation   VEDO            4002415542236436            Gas           Gov. Aggregation
DEO             3500050814422               Gas           Gov. Aggregation   VEDO            4002449892401840            Gas           Gov. Aggregation
DEO             8500044583347               Gas           Gov. Aggregation   VEDO            4002462382241101            Gas           Gov. Aggregation
DEO             3500049608539               Gas           Gov. Aggregation   VEDO            4002486682132314            Gas           Gov. Aggregation
DEO             1440104468069               Gas           Gov. Aggregation   VEDO            4002506802397754            Gas           Gov. Aggregation
DEO             2440106188289               Gas           Gov. Aggregation   VEDO            4002839422489288            Gas           Gov. Aggregation
DEO             0500012916339               Gas           Gov. Aggregation   VEDO            4002867722141426            Gas           Gov. Aggregation
DEO             2500045635799               Gas           Gov. Aggregation   VEDO            4002957242290914            Gas           Gov. Aggregation
DEO             2440107388959               Gas           Gov. Aggregation   VEDO            4002957242420827            Gas           Gov. Aggregation
DEO             5500036603685               Gas           Gov. Aggregation   VEDO            4002969702292183            Gas           Gov. Aggregation
DEO             9500025347111               Gas           Gov. Aggregation   VEDO            4002984022293666            Gas           Gov. Aggregation
DEO             7440102779646               Gas           Gov. Aggregation   VEDO            4003030342298432            Gas           Gov. Aggregation
DEO             8500007230052               Gas           Gov. Aggregation   VEDO            4003227832318768            Gas           Gov. Aggregation
DEO             1440107084201               Gas           Gov. Aggregation   VEDO            4003285362276069            Gas           Gov. Aggregation
DEO             4442105095043               Gas           Gov. Aggregation   VEDO            4003380832334791            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             2500049167930               Gas           Gov. Aggregation   VEDO            4003380832636098            Gas           Gov. Aggregation
DEO             1442105148585               Gas           Gov. Aggregation   VEDO            4003382882335012            Gas           Gov. Aggregation
DEO             3500042664173               Gas           Gov. Aggregation   VEDO            4003407402619718            Gas           Gov. Aggregation
DEO             3440000184331               Gas           Gov. Aggregation   VEDO            4003427812232308            Gas           Gov. Aggregation
DEO             9442102528553               Gas           Gov. Aggregation   VEDO            4003451522342217            Gas           Gov. Aggregation
DEO             2500046095209               Gas           Gov. Aggregation   VEDO            4003637272361759            Gas           Gov. Aggregation
DEO             3442104603670               Gas           Gov. Aggregation   VEDO            4003642912362358            Gas           Gov. Aggregation
DEO             1440106894357               Gas           Gov. Aggregation   VEDO            4003695482367883            Gas           Gov. Aggregation
DEO             3440107454471               Gas           Gov. Aggregation   VEDO            4003700882156205            Gas           Gov. Aggregation
DEO             0500046269959               Gas           Gov. Aggregation   VEDO            4003751462515509            Gas           Gov. Aggregation
DEO             3500014589241               Gas           Gov. Aggregation   VEDO            4003773872376213            Gas           Gov. Aggregation
DEO             4442107975233               Gas           Gov. Aggregation   VEDO            4003829772382259            Gas           Gov. Aggregation
DEO             1442105602218               Gas           Gov. Aggregation   VEDO            4004055302406638            Gas           Gov. Aggregation
DEO             0442108173141               Gas           Gov. Aggregation   VEDO            4004076182408955            Gas           Gov. Aggregation
DEO             8500021637578               Gas           Gov. Aggregation   VEDO            4004078282393503            Gas           Gov. Aggregation
DEO             1500005190944               Gas           Gov. Aggregation   VEDO            4004173952419663            Gas           Gov. Aggregation
DEO             5442106172043               Gas           Gov. Aggregation   VEDO            4004255942428568            Gas           Gov. Aggregation
DEO             6440107817481               Gas           Gov. Aggregation   VEDO            4004266582429730            Gas           Gov. Aggregation
DEO             1442100772140               Gas           Gov. Aggregation   VEDO            4004551592122028            Gas           Gov. Aggregation
DEO             3500002700135               Gas           Gov. Aggregation   VEDO            4004558032461763            Gas           Gov. Aggregation
DEO             3442105268959               Gas           Gov. Aggregation   VEDO            4004569902463105            Gas           Gov. Aggregation
DEO             6500031729164               Gas           Gov. Aggregation   VEDO            4004573682463525            Gas           Gov. Aggregation
DEO             7442103937673               Gas           Gov. Aggregation   VEDO            4004602342485889            Gas           Gov. Aggregation
DEO             8500022174042               Gas           Gov. Aggregation   VEDO            4004649352471936            Gas           Gov. Aggregation
DEO             0500025100819               Gas           Gov. Aggregation   VEDO            4004662582375188            Gas           Gov. Aggregation
DEO             6440107702508               Gas           Gov. Aggregation   VEDO            4004662582528495            Gas           Gov. Aggregation
DEO             2442107702767               Gas           Gov. Aggregation   VEDO            4004824582165870            Gas           Gov. Aggregation
DEO             4500035871070               Gas           Gov. Aggregation   VEDO            4004853552275418            Gas           Gov. Aggregation
DEO             1440104597965               Gas           Gov. Aggregation   VEDO            4004929202300487            Gas           Gov. Aggregation
DEO             6500039298396               Gas           Gov. Aggregation   VEDO            4004934352503297            Gas           Gov. Aggregation
DEO             7500014499314               Gas           Gov. Aggregation   VEDO            4004964542102598            Gas           Gov. Aggregation
DEO             6500046937450               Gas           Gov. Aggregation   VEDO            4004973372507693            Gas           Gov. Aggregation
DEO             4442104601356               Gas           Gov. Aggregation   VEDO            4005013272343243            Gas           Gov. Aggregation
DEO             5500015640178               Gas           Gov. Aggregation   VEDO            4015102792292534            Gas           Gov. Aggregation
DEO             3500003663509               Gas           Gov. Aggregation   VEDO            4015148412535613            Gas           Gov. Aggregation
DEO             6442102791111               Gas           Gov. Aggregation   VEDO            4015169562128462            Gas           Gov. Aggregation
DEO             0500029503539               Gas           Gov. Aggregation   VEDO            4015178102413503            Gas           Gov. Aggregation
DEO             2440108508493               Gas           Gov. Aggregation   VEDO            4015213832332156            Gas           Gov. Aggregation
DEO             4500019387398               Gas           Gov. Aggregation   VEDO            4015263182448205            Gas           Gov. Aggregation
DEO             8500013678891               Gas           Gov. Aggregation   VEDO            4015266252569278            Gas           Gov. Aggregation
DEO             5500023068449               Gas           Gov. Aggregation   VEDO            4015272242536792            Gas           Gov. Aggregation
DEO             3500049131011               Gas           Gov. Aggregation   VEDO            4015298652334629            Gas           Gov. Aggregation
DEO             9500013612227               Gas           Gov. Aggregation   VEDO            4015738462443095            Gas           Gov. Aggregation
DEO             2500037012879               Gas           Gov. Aggregation   VEDO            4015748612180984            Gas           Gov. Aggregation
DEO             4442103835142               Gas           Gov. Aggregation   VEDO            4015849922261791            Gas           Gov. Aggregation
DEO             0440105661553               Gas           Gov. Aggregation   VEDO            4015978472213088            Gas           Gov. Aggregation
DEO             5440104605701               Gas           Gov. Aggregation   VEDO            4016184282280397            Gas           Gov. Aggregation
DEO             0500009447742               Gas           Gov. Aggregation   VEDO            4016264482404611            Gas           Gov. Aggregation
DEO             2500048706056               Gas           Gov. Aggregation   VEDO            4016666882431802            Gas           Gov. Aggregation
DEO             8442104965214               Gas           Gov. Aggregation   VEDO            4016770282611326            Gas           Gov. Aggregation
DEO             7500040482393               Gas           Gov. Aggregation   VEDO            4016793672156701            Gas           Gov. Aggregation
DEO             7500034761648               Gas           Gov. Aggregation   VEDO            4016824032300842            Gas           Gov. Aggregation
DEO             9500025766061               Gas           Gov. Aggregation   VEDO            4016955592226487            Gas           Gov. Aggregation
DEO             5442108169182               Gas           Gov. Aggregation   VEDO            4016958332487167            Gas           Gov. Aggregation
DEO             7442104184705               Gas           Gov. Aggregation   VEDO            4017302322588568            Gas           Gov. Aggregation
DEO             7440102528293               Gas           Gov. Aggregation   VEDO            4017478152240004            Gas           Gov. Aggregation
DEO             5440104987262               Gas           Gov. Aggregation   VEDO            4017500662157303            Gas           Gov. Aggregation
DEO             7500018569756               Gas           Gov. Aggregation   VEDO            4017543132322533            Gas           Gov. Aggregation
DEO             5442101672649               Gas           Gov. Aggregation   VEDO            4017711932337023            Gas           Gov. Aggregation
DEO             4442103823424               Gas           Gov. Aggregation   VEDO            4017777692507890            Gas           Gov. Aggregation
DEO             6500025278910               Gas           Gov. Aggregation   VEDO            4017853712382738            Gas           Gov. Aggregation
DEO             3442100449750               Gas           Gov. Aggregation   VEDO            4017867962283133            Gas           Gov. Aggregation
DEO             6500043118636               Gas           Gov. Aggregation   VEDO            4018139022643408            Gas           Gov. Aggregation
DEO             9442100444905               Gas           Gov. Aggregation   VEDO            4018235242148537            Gas           Gov. Aggregation
DEO             4500041279667               Gas           Gov. Aggregation   VEDO            4018258942247339            Gas           Gov. Aggregation
DEO             9500035948399               Gas           Gov. Aggregation   VEDO            4018289722254690            Gas           Gov. Aggregation
DEO             0500045059476               Gas           Gov. Aggregation   VEDO            4018521172214776            Gas           Gov. Aggregation
DEO             7500044328857               Gas           Gov. Aggregation   VEDO            4018528372447384            Gas           Gov. Aggregation
DEO             8500040106006               Gas           Gov. Aggregation   VEDO            4018565792445152            Gas           Gov. Aggregation
DEO             7442107952242               Gas           Gov. Aggregation   VEDO            4018571622437630            Gas           Gov. Aggregation
DEO             8500044560797               Gas           Gov. Aggregation   VEDO            4018590872410199            Gas           Gov. Aggregation
DEO             9500048332768               Gas           Gov. Aggregation   VEDO            4018735132247554            Gas           Gov. Aggregation
DEO             6500027467244               Gas           Gov. Aggregation   VEDO            4018741692462002            Gas           Gov. Aggregation
DEO             3500024525053               Gas           Gov. Aggregation   VEDO            4018781682143341            Gas           Gov. Aggregation
DEO             8500018002027               Gas           Gov. Aggregation   VEDO            4018788682283413            Gas           Gov. Aggregation
DEO             9500014331531               Gas           Gov. Aggregation   VEDO            4018793512236225            Gas           Gov. Aggregation
DEO             5440100376014               Gas           Gov. Aggregation   VEDO            4018807312145181            Gas           Gov. Aggregation
DEO             7500030237361               Gas           Gov. Aggregation   VEDO            4018816492239898            Gas           Gov. Aggregation
DEO             8500022926536               Gas           Gov. Aggregation   VEDO            4018818692406547            Gas           Gov. Aggregation
DEO             4500048683175               Gas           Gov. Aggregation   VEDO            4018829242293752            Gas           Gov. Aggregation
DEO             0500048674630               Gas           Gov. Aggregation   VEDO            4018959222121247            Gas           Gov. Aggregation
DEO             0500035843510               Gas           Gov. Aggregation   VEDO            4019101862381972            Gas           Gov. Aggregation
DEO             1500052642004               Gas           Gov. Aggregation   VEDO            4019122422196019            Gas           Gov. Aggregation
DEO             1500049364981               Gas           Gov. Aggregation   VEDO            4019128992644135            Gas           Gov. Aggregation
DEO             8500026713255               Gas           Gov. Aggregation   COH             190527230034                Gas           Gov. Aggregation
DEO             9500052167783               Gas           Gov. Aggregation   COH             207580410016                Gas           Gov. Aggregation
DEO             4500051883387               Gas           Gov. Aggregation   COH             123998310022                Gas           Gov. Aggregation
DEO             9500051683861               Gas           Gov. Aggregation   COH             210310900019                Gas           Gov. Aggregation
DEO             3500052041693               Gas           Gov. Aggregation   COH             207129830014                Gas           Gov. Aggregation
DEO             6500051092203               Gas           Gov. Aggregation   COH             203823110026                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             3500028536596               Gas           Gov. Aggregation   COH             199755480012                Gas           Gov. Aggregation
DEO             3500052284470               Gas           Gov. Aggregation   COH             207467290012                Gas           Gov. Aggregation
DEO             0500065185349               Gas           Gov. Aggregation   COH             199680730027                Gas           Gov. Aggregation
DEO             7180001094050               Gas           Gov. Aggregation   COH             174615000053                Gas           Gov. Aggregation
DEO             4442106187176               Gas           Gov. Aggregation   COH             209927430014                Gas           Gov. Aggregation
DEO             7500025560405               Gas           Gov. Aggregation   COH             197989010053                Gas           Gov. Aggregation
DEO             8500046853034               Gas           Gov. Aggregation   COH             114794340056                Gas           Gov. Aggregation
DEO             3440106145495               Gas           Gov. Aggregation   COH             190597970032                Gas           Gov. Aggregation
DEO             8442104598475               Gas           Gov. Aggregation   COH             204901180016                Gas           Gov. Aggregation
DEO             2500014604796               Gas           Gov. Aggregation   COH             174476070064                Gas           Gov. Aggregation
DEO             5500042534177               Gas           Gov. Aggregation   COH             201018990012                Gas           Gov. Aggregation
DEO             4440103834782               Gas           Gov. Aggregation   COH             124020510011                Gas           Gov. Aggregation
DEO             8500034190207               Gas           Gov. Aggregation   COH             137673860029                Gas           Gov. Aggregation
DEO             8500020967048               Gas           Gov. Aggregation   COH             205730300012                Gas           Gov. Aggregation
DEO             3500048779708               Gas           Gov. Aggregation   COH             197298400010                Gas           Gov. Aggregation
DEO             3500039366793               Gas           Gov. Aggregation   COH             207315230015                Gas           Gov. Aggregation
DEO             4500023774945               Gas           Gov. Aggregation   COH             175284110016                Gas           Gov. Aggregation
DEO             0500043928917               Gas           Gov. Aggregation   COH             189931520048                Gas           Gov. Aggregation
DEO             0440105664532               Gas           Gov. Aggregation   COH             171192690023                Gas           Gov. Aggregation
DEO             9500020054928               Gas           Gov. Aggregation   COH             168110910014                Gas           Gov. Aggregation
DEO             1440106476275               Gas           Gov. Aggregation   COH             201314820019                Gas           Gov. Aggregation
DEO             0442106678752               Gas           Gov. Aggregation   COH             193310130031                Gas           Gov. Aggregation
DEO             9500010973484               Gas           Gov. Aggregation   COH             204767310014                Gas           Gov. Aggregation
DEO             0500017075495               Gas           Gov. Aggregation   COH             207671240019                Gas           Gov. Aggregation
DEO             4442104964384               Gas           Gov. Aggregation   COH             150221680063                Gas           Gov. Aggregation
DEO             1442103267824               Gas           Gov. Aggregation   COH             176506160068                Gas           Gov. Aggregation
DEO             0500004111027               Gas           Gov. Aggregation   COH             209227850010                Gas           Gov. Aggregation
DEO             1500042544023               Gas           Gov. Aggregation   COH             207516470028                Gas           Gov. Aggregation
DEO             4500046163774               Gas           Gov. Aggregation   COH             131412620018                Gas           Gov. Aggregation
DEO             4500014799421               Gas           Gov. Aggregation   COH             210215350017                Gas           Gov. Aggregation
DEO             9440104470118               Gas           Gov. Aggregation   COH             145235320191                Gas           Gov. Aggregation
DEO             5500012767752               Gas           Gov. Aggregation   COH             195785000022                Gas           Gov. Aggregation
DEO             4500039412949               Gas           Gov. Aggregation   COH             196844020021                Gas           Gov. Aggregation
DEO             6500046911987               Gas           Gov. Aggregation   COH             200212030012                Gas           Gov. Aggregation
DEO             7440108465670               Gas           Gov. Aggregation   COH             209947680010                Gas           Gov. Aggregation
DEO             8440109068676               Gas           Gov. Aggregation   COH             191151490027                Gas           Gov. Aggregation
DEO             0442107817428               Gas           Gov. Aggregation   COH             145393740037                Gas           Gov. Aggregation
DEO             3500031107862               Gas           Gov. Aggregation   COH             198489150044                Gas           Gov. Aggregation
DEO             5500016298319               Gas           Gov. Aggregation   COH             204987120018                Gas           Gov. Aggregation
DEO             1500020199098               Gas           Gov. Aggregation   COH             206159360011                Gas           Gov. Aggregation
DEO             8442107973850               Gas           Gov. Aggregation   COH             200693350026                Gas           Gov. Aggregation
DEO             6500041310061               Gas           Gov. Aggregation   COH             161766940016                Gas           Gov. Aggregation
DEO             5500011933006               Gas           Gov. Aggregation   COH             204978840025                Gas           Gov. Aggregation
DEO             5500038169468               Gas           Gov. Aggregation   COH             124185830025                Gas           Gov. Aggregation
DEO             5500037806860               Gas           Gov. Aggregation   COH             203754140018                Gas           Gov. Aggregation
DEO             6440106353929               Gas           Gov. Aggregation   COH             202438310013                Gas           Gov. Aggregation
DEO             4500021357306               Gas           Gov. Aggregation   COH             193718480016                Gas           Gov. Aggregation
DEO             1442106145379               Gas           Gov. Aggregation   COH             138579410031                Gas           Gov. Aggregation
DEO             5440103880888               Gas           Gov. Aggregation   COH             204187240019                Gas           Gov. Aggregation
DEO             0500016711678               Gas           Gov. Aggregation   COH             207323040018                Gas           Gov. Aggregation
DEO             3500007592136               Gas           Gov. Aggregation   COH             151398440032                Gas           Gov. Aggregation
DEO             4442100635683               Gas           Gov. Aggregation   COH             204854540011                Gas           Gov. Aggregation
DEO             8442107987112               Gas           Gov. Aggregation   COH             199997140011                Gas           Gov. Aggregation
DEO             1500013655200               Gas           Gov. Aggregation   COH             166827500040                Gas           Gov. Aggregation
DEO             8500015894004               Gas           Gov. Aggregation   COH             208274110017                Gas           Gov. Aggregation
DEO             7500007657403               Gas           Gov. Aggregation   COH             190806400036                Gas           Gov. Aggregation
DEO             4442108407640               Gas           Gov. Aggregation   COH             173145570025                Gas           Gov. Aggregation
DEO             7442106474246               Gas           Gov. Aggregation   VEDO            4019249142262343            Gas           Gov. Aggregation
DEO             3440104499953               Gas           Gov. Aggregation   VEDO            4019269182346840            Gas           Gov. Aggregation
DEO             5442107053401               Gas           Gov. Aggregation   VEDO            4019316082478715            Gas           Gov. Aggregation
DEO             1440103649090               Gas           Gov. Aggregation   VEDO            4019352712184170            Gas           Gov. Aggregation
DEO             1500007580789               Gas           Gov. Aggregation   VEDO            4019352932144813            Gas           Gov. Aggregation
DEO             2442108123863               Gas           Gov. Aggregation   VEDO            4019451572321308            Gas           Gov. Aggregation
DEO             3442103649810               Gas           Gov. Aggregation   VEDO            4019456312276426            Gas           Gov. Aggregation
DEO             9500045108501               Gas           Gov. Aggregation   VEDO            4019457032647347            Gas           Gov. Aggregation
DEO             4442106717565               Gas           Gov. Aggregation   VEDO            4019471202150170            Gas           Gov. Aggregation
DEO             6440102574327               Gas           Gov. Aggregation   VEDO            4019475232240331            Gas           Gov. Aggregation
DEO             9500041640794               Gas           Gov. Aggregation   VEDO            4019492832296789            Gas           Gov. Aggregation
DEO             2500032707526               Gas           Gov. Aggregation   VEDO            4019504002174906            Gas           Gov. Aggregation
DEO             5442102549567               Gas           Gov. Aggregation   VEDO            4019517682259515            Gas           Gov. Aggregation
DEO             5442107988127               Gas           Gov. Aggregation   VEDO            4019797182189918            Gas           Gov. Aggregation
DEO             2440103431690               Gas           Gov. Aggregation   VEDO            4019800412487603            Gas           Gov. Aggregation
DEO             8440105665223               Gas           Gov. Aggregation   VEDO            4019800662143579            Gas           Gov. Aggregation
DEO             9442108483864               Gas           Gov. Aggregation   VEDO            4019827562126623            Gas           Gov. Aggregation
DEO             9442104364489               Gas           Gov. Aggregation   VEDO            4019838402371072            Gas           Gov. Aggregation
DEO             3500020842995               Gas           Gov. Aggregation   VEDO            4019843032227678            Gas           Gov. Aggregation
DEO             5440100881300               Gas           Gov. Aggregation   VEDO            4019957282131616            Gas           Gov. Aggregation
DEO             9500008663754               Gas           Gov. Aggregation   VEDO            4019961142175251            Gas           Gov. Aggregation
DEO             5500036407710               Gas           Gov. Aggregation   VEDO            4019990062193805            Gas           Gov. Aggregation
DEO             2500009712663               Gas           Gov. Aggregation   VEDO            4020087212168769            Gas           Gov. Aggregation
DEO             2500043125326               Gas           Gov. Aggregation   VEDO            4020098492349694            Gas           Gov. Aggregation
DEO             3440103202073               Gas           Gov. Aggregation   VEDO            4020107552164639            Gas           Gov. Aggregation
DEO             5440106364132               Gas           Gov. Aggregation   VEDO            4020130202276228            Gas           Gov. Aggregation
DEO             5500046751231               Gas           Gov. Aggregation   VEDO            4020133062280252            Gas           Gov. Aggregation
DEO             9440106252499               Gas           Gov. Aggregation   VEDO            4020144262438094            Gas           Gov. Aggregation
DEO             5500004249665               Gas           Gov. Aggregation   VEDO            4020151842487863            Gas           Gov. Aggregation
DEO             2442108123703               Gas           Gov. Aggregation   VEDO            4020167362365211            Gas           Gov. Aggregation
DEO             1500050129954               Gas           Gov. Aggregation   VEDO            4020219372201076            Gas           Gov. Aggregation
DEO             6442106274338               Gas           Gov. Aggregation   VEDO            4020243822474168            Gas           Gov. Aggregation
DEO             1500049687565               Gas           Gov. Aggregation   VEDO            4020269372366354            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
DEO             1500016374167               Gas           Gov. Aggregation   VEDO         4020270892497968            Gas           Gov. Aggregation
DEO             9442107341283               Gas           Gov. Aggregation   VEDO         4020839532199274            Gas           Gov. Aggregation
DEO             3440105662308               Gas           Gov. Aggregation   VEDO         4020804392419135            Gas           Gov. Aggregation
DEO             6442106151220               Gas           Gov. Aggregation   VEDO         4020866442497998            Gas           Gov. Aggregation
DEO             7500043543172               Gas           Gov. Aggregation   VEDO         4019266912133774            Gas           Gov. Aggregation
DEO             6500016185811               Gas           Gov. Aggregation   VEDO         4019327542132692            Gas           Gov. Aggregation
DEO             6500049799683               Gas           Gov. Aggregation   VEDO         4018277612397786            Gas           Gov. Aggregation
DEO             0440106901761               Gas           Gov. Aggregation   VEDO         4019306952262383            Gas           Gov. Aggregation
DEO             3440102556410               Gas           Gov. Aggregation   VEDO         4018558692362266            Gas           Gov. Aggregation
DEO             0500024781919               Gas           Gov. Aggregation   VEDO         4002385432233429            Gas           Gov. Aggregation
DEO             1442100421676               Gas           Gov. Aggregation   VEDO         4003616872359581            Gas           Gov. Aggregation
DEO             3442100449765               Gas           Gov. Aggregation   VEDO         4017262432322036            Gas           Gov. Aggregation
DEO             9500033621979               Gas           Gov. Aggregation   VEDO         4016171692123941            Gas           Gov. Aggregation
DEO             9500043833216               Gas           Gov. Aggregation   VEDO         4020904962172332            Gas           Gov. Aggregation
DEO             0500047839305               Gas           Gov. Aggregation   VEDO         4001019712281041            Gas           Gov. Aggregation
DEO             6500048723862               Gas           Gov. Aggregation   VEDO         4001030672102954            Gas           Gov. Aggregation
DEO             8500048943465               Gas           Gov. Aggregation   VEDO         4001030772267220            Gas           Gov. Aggregation
DEO             2500050766069               Gas           Gov. Aggregation   VEDO         4001033322519333            Gas           Gov. Aggregation
DEO             6500025517344               Gas           Gov. Aggregation   VEDO         4001036482103493            Gas           Gov. Aggregation
DEO             4500052929019               Gas           Gov. Aggregation   VEDO         4001072102116043            Gas           Gov. Aggregation
DEO             9500024144167               Gas           Gov. Aggregation   VEDO         4001096612153680            Gas           Gov. Aggregation
DEO             1500028726949               Gas           Gov. Aggregation   VEDO         4001096612223836            Gas           Gov. Aggregation
DEO             1442106884838               Gas           Gov. Aggregation   VEDO         4001096612252786            Gas           Gov. Aggregation
DEO             8500011394453               Gas           Gov. Aggregation   VEDO         4001096612278271            Gas           Gov. Aggregation
DEO             3500021214837               Gas           Gov. Aggregation   VEDO         4001096612295736            Gas           Gov. Aggregation
DEO             0500042059164               Gas           Gov. Aggregation   VEDO         4001096612376598            Gas           Gov. Aggregation
DEO             8500037516207               Gas           Gov. Aggregation   VEDO         4001187442117721            Gas           Gov. Aggregation
DEO             5500047711499               Gas           Gov. Aggregation   VEDO         4001195912118542            Gas           Gov. Aggregation
DEO             9440103318101               Gas           Gov. Aggregation   VEDO         4001221002120882            Gas           Gov. Aggregation
DEO             2500028979364               Gas           Gov. Aggregation   VEDO         4001232822247523            Gas           Gov. Aggregation
DEO             1440102554753               Gas           Gov. Aggregation   VEDO         4001247362349872            Gas           Gov. Aggregation
DEO             5500041966975               Gas           Gov. Aggregation   VEDO         4001254512481918            Gas           Gov. Aggregation
DEO             8500045409345               Gas           Gov. Aggregation   VEDO         4001267112125155            Gas           Gov. Aggregation
DEO             5440108473823               Gas           Gov. Aggregation   VEDO         4001271822125606            Gas           Gov. Aggregation
DEO             6500026148090               Gas           Gov. Aggregation   VEDO         4001273352423493            Gas           Gov. Aggregation
DEO             2500052878527               Gas           Gov. Aggregation   VEDO         4001307952128959            Gas           Gov. Aggregation
DEO             0500051844445               Gas           Gov. Aggregation   VEDO         4001314542191193            Gas           Gov. Aggregation
DEO             6500052696807               Gas           Gov. Aggregation   VEDO         4001314542495784            Gas           Gov. Aggregation
DEO             1442104980293               Gas           Gov. Aggregation   VEDO         4001340012131952            Gas           Gov. Aggregation
DEO             2500050421068               Gas           Gov. Aggregation   VEDO         4001359192133695            Gas           Gov. Aggregation
DEO             6500052094056               Gas           Gov. Aggregation   VEDO         4001360092133778            Gas           Gov. Aggregation
DEO             3500052575942               Gas           Gov. Aggregation   VEDO         4001368682134600            Gas           Gov. Aggregation
DEO             2500051925866               Gas           Gov. Aggregation   VEDO         4001371692279689            Gas           Gov. Aggregation
DEO             6500051479281               Gas           Gov. Aggregation   VEDO         4001374442177045            Gas           Gov. Aggregation
DEO             2500049719736               Gas           Gov. Aggregation   VEDO         4001465412138269            Gas           Gov. Aggregation
DEO             5500050807923               Gas           Gov. Aggregation   VEDO         4001468062143828            Gas           Gov. Aggregation
DEO             7500048279135               Gas           Gov. Aggregation   VEDO         4001469142240693            Gas           Gov. Aggregation
DEO             1500049563717               Gas           Gov. Aggregation   VEDO         4001471452431625            Gas           Gov. Aggregation
DEO             7500049817634               Gas           Gov. Aggregation   VEDO         4001491492146043            Gas           Gov. Aggregation
DEO             0500047743373               Gas           Gov. Aggregation   VEDO         4001493382350013            Gas           Gov. Aggregation
DEO             2500047837301               Gas           Gov. Aggregation   VEDO         4001509552147700            Gas           Gov. Aggregation
DEO             8500052865758               Gas           Gov. Aggregation   VEDO         4001565092554091            Gas           Gov. Aggregation
DEO             6500050984005               Gas           Gov. Aggregation   VEDO         4001572112153861            Gas           Gov. Aggregation
DEO             4500014249192               Gas           Gov. Aggregation   VEDO         4001594952518354            Gas           Gov. Aggregation
DEO             9500053861080               Gas           Gov. Aggregation   VEDO         4001599312156449            Gas           Gov. Aggregation
DEO             2500051360306               Gas           Gov. Aggregation   VEDO         4001600122522631            Gas           Gov. Aggregation
DEO             8500064540804               Gas           Gov. Aggregation   VEDO         4001603452588789            Gas           Gov. Aggregation
DEO             8442107341987               Gas           Gov. Aggregation   VEDO         4001604962373587            Gas           Gov. Aggregation
DEO             1500012355189               Gas           Gov. Aggregation   VEDO         4001608372157324            Gas           Gov. Aggregation
DEO             5500016987960               Gas           Gov. Aggregation   VEDO         4001616702156460            Gas           Gov. Aggregation
DEO             8500036642536               Gas           Gov. Aggregation   VEDO         4001667872258930            Gas           Gov. Aggregation
DEO             2180001262605               Gas           Gov. Aggregation   VEDO         4001693132165239            Gas           Gov. Aggregation
DEO             5500062932821               Gas           Gov. Aggregation   VEDO         4001702142494963            Gas           Gov. Aggregation
DEO             2440201160140               Gas           Gov. Aggregation   VEDO         4001704662598991            Gas           Gov. Aggregation
DEO             9500061912451               Gas           Gov. Aggregation   VEDO         4001714082488403            Gas           Gov. Aggregation
DEO             7440201671006               Gas           Gov. Aggregation   VEDO         4001767512332933            Gas           Gov. Aggregation
DEO             0500011623489               Gas           Gov. Aggregation   VEDO         4001786082395277            Gas           Gov. Aggregation
DEO             0500015988722               Gas           Gov. Aggregation   VEDO         4001815612177155            Gas           Gov. Aggregation
DEO             9500029195568               Gas           Gov. Aggregation   VEDO         4001817422177344            Gas           Gov. Aggregation
DEO             5500067181102               Gas           Gov. Aggregation   VEDO         4001817422243777            Gas           Gov. Aggregation
DEO             9500064964559               Gas           Gov. Aggregation   VEDO         4001822022177804            Gas           Gov. Aggregation
DEO             8442100304463               Gas           Gov. Aggregation   VEDO         4001831292178721            Gas           Gov. Aggregation
DEO             0500041947591               Gas           Gov. Aggregation   VEDO         4001836422391795            Gas           Gov. Aggregation
DEO             4180000878820               Gas           Gov. Aggregation   VEDO         4001882052183628            Gas           Gov. Aggregation
DEO             2500066213852               Gas           Gov. Aggregation   VEDO         4001886252188547            Gas           Gov. Aggregation
DEO             2500037105222               Gas           Gov. Aggregation   VEDO         4001894522184870            Gas           Gov. Aggregation
DEO             3500043932088               Gas           Gov. Aggregation   VEDO         4001897812354996            Gas           Gov. Aggregation
DEO             7500063672451               Gas           Gov. Aggregation   VEDO         4001901352186234            Gas           Gov. Aggregation
DEO             4500062880951               Gas           Gov. Aggregation   VEDO         4001938322189339            Gas           Gov. Aggregation
DEO             6180000110675               Gas           Gov. Aggregation   VEDO         4002002382106756            Gas           Gov. Aggregation
DEO             8500062308039               Gas           Gov. Aggregation   VEDO         4002015582528233            Gas           Gov. Aggregation
DEO             5500021636644               Gas           Gov. Aggregation   VEDO         4002018222197122            Gas           Gov. Aggregation
DEO             0440207292432               Gas           Gov. Aggregation   VEDO         4002025492197827            Gas           Gov. Aggregation
DEO             6500052241320               Gas           Gov. Aggregation   VEDO         4002025682197844            Gas           Gov. Aggregation
DEO             7500007960819               Gas           Gov. Aggregation   VEDO         4002029722350958            Gas           Gov. Aggregation
DEO             4180000257620               Gas           Gov. Aggregation   VEDO         4002034762310891            Gas           Gov. Aggregation
DEO             3180000797199               Gas           Gov. Aggregation   VEDO         4002034762476760            Gas           Gov. Aggregation
COH             140879040020                Gas           Gov. Aggregation   VEDO         4002064892241167            Gas           Gov. Aggregation
COH             141573430025                Gas           Gov. Aggregation   VEDO         4002081572203437            Gas           Gov. Aggregation
COH             124647730026                Gas           Gov. Aggregation   VEDO         4002082042601506            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             133588120010                Gas           Gov. Aggregation   VEDO         4002086882203954            Gas           Gov. Aggregation
COH             195737660016                Gas           Gov. Aggregation   VEDO         4002088392204082            Gas           Gov. Aggregation
COH             172990510018                Gas           Gov. Aggregation   VEDO         4002089762273933            Gas           Gov. Aggregation
COH             194901730013                Gas           Gov. Aggregation   VEDO         4002091352340020            Gas           Gov. Aggregation
COH             157382390012                Gas           Gov. Aggregation   VEDO         4002097012204922            Gas           Gov. Aggregation
COH             124642490018                Gas           Gov. Aggregation   VEDO         4002114722206628            Gas           Gov. Aggregation
COH             124639780023                Gas           Gov. Aggregation   VEDO         4002142212209366            Gas           Gov. Aggregation
COH             192536260019                Gas           Gov. Aggregation   VEDO         4002193602214521            Gas           Gov. Aggregation
COH             196824120013                Gas           Gov. Aggregation   VEDO         4002199662364209            Gas           Gov. Aggregation
COH             186002220025                Gas           Gov. Aggregation   VEDO         4002211042216210            Gas           Gov. Aggregation
COH             198375580018                Gas           Gov. Aggregation   VEDO         4002220192217148            Gas           Gov. Aggregation
COH             124641300019                Gas           Gov. Aggregation   VEDO         4002222422515188            Gas           Gov. Aggregation
COH             124645870012                Gas           Gov. Aggregation   VEDO         4002236412218772            Gas           Gov. Aggregation
COH             193582390041                Gas           Gov. Aggregation   VEDO         4002249452324741            Gas           Gov. Aggregation
COH             154634990014                Gas           Gov. Aggregation   VEDO         4002319692226991            Gas           Gov. Aggregation
COH             124643130011                Gas           Gov. Aggregation   VEDO         4002338942176622            Gas           Gov. Aggregation
COH             167896100011                Gas           Gov. Aggregation   VEDO         4002348852229876            Gas           Gov. Aggregation
COH             195563560016                Gas           Gov. Aggregation   VEDO         4002353962639655            Gas           Gov. Aggregation
COH             124641780019                Gas           Gov. Aggregation   VEDO         4002359502174801            Gas           Gov. Aggregation
COH             186247090025                Gas           Gov. Aggregation   VEDO         4002364562357424            Gas           Gov. Aggregation
COH             160053720023                Gas           Gov. Aggregation   VEDO         4002372122232148            Gas           Gov. Aggregation
COH             124646890016                Gas           Gov. Aggregation   VEDO         4002433042238196            Gas           Gov. Aggregation
COH             190608230014                Gas           Gov. Aggregation   VEDO         4002441142239002            Gas           Gov. Aggregation
COH             168333500018                Gas           Gov. Aggregation   VEDO         4002449742239857            Gas           Gov. Aggregation
COH             124640930019                Gas           Gov. Aggregation   VEDO         4002450802239963            Gas           Gov. Aggregation
COH             124647800012                Gas           Gov. Aggregation   VEDO         4002455792240456            Gas           Gov. Aggregation
COH             154112680266                Gas           Gov. Aggregation   VEDO         4002469292424346            Gas           Gov. Aggregation
COH             177155330075                Gas           Gov. Aggregation   VEDO         4002479062142969            Gas           Gov. Aggregation
COH             124640920011                Gas           Gov. Aggregation   VEDO         4002494872225434            Gas           Gov. Aggregation
COH             169003640044                Gas           Gov. Aggregation   VEDO         4002577812252787            Gas           Gov. Aggregation
COH             125808570107                Gas           Gov. Aggregation   VEDO         4002580022252988            Gas           Gov. Aggregation
COH             137224340038                Gas           Gov. Aggregation   VEDO         4002591192371960            Gas           Gov. Aggregation
COH             124641320015                Gas           Gov. Aggregation   VEDO         4002594792254443            Gas           Gov. Aggregation
COH             177395690018                Gas           Gov. Aggregation   VEDO         4002599462106249            Gas           Gov. Aggregation
COH             185852500026                Gas           Gov. Aggregation   VEDO         4002602672255245            Gas           Gov. Aggregation
COH             164774480022                Gas           Gov. Aggregation   VEDO         4002608022255718            Gas           Gov. Aggregation
COH             124647170015                Gas           Gov. Aggregation   VEDO         4002614462256369            Gas           Gov. Aggregation
COH             135140430048                Gas           Gov. Aggregation   VEDO         4002621112257051            Gas           Gov. Aggregation
COH             124648590024                Gas           Gov. Aggregation   VEDO         4002745572269444            Gas           Gov. Aggregation
COH             172584340024                Gas           Gov. Aggregation   VEDO         4002748542103953            Gas           Gov. Aggregation
COH             174415760030                Gas           Gov. Aggregation   VEDO         4002748932269777            Gas           Gov. Aggregation
COH             168844920053                Gas           Gov. Aggregation   VEDO         4002772262276698            Gas           Gov. Aggregation
COH             200503240011                Gas           Gov. Aggregation   VEDO         4002779932272906            Gas           Gov. Aggregation
COH             200424190010                Gas           Gov. Aggregation   VEDO         4002863722281404            Gas           Gov. Aggregation
COH             194844820025                Gas           Gov. Aggregation   VEDO         4002867422313076            Gas           Gov. Aggregation
COH             132800670023                Gas           Gov. Aggregation   VEDO         4002867722117175            Gas           Gov. Aggregation
COH             192172610017                Gas           Gov. Aggregation   VEDO         4002867722289607            Gas           Gov. Aggregation
COH             190996020026                Gas           Gov. Aggregation   VEDO         4002872492389778            Gas           Gov. Aggregation
COH             193715820010                Gas           Gov. Aggregation   VEDO         4002877062314310            Gas           Gov. Aggregation
COH             134947280032                Gas           Gov. Aggregation   VEDO         4002881052250989            Gas           Gov. Aggregation
COH             124647610058                Gas           Gov. Aggregation   VEDO         4002881712174724            Gas           Gov. Aggregation
COH             157359650016                Gas           Gov. Aggregation   VEDO         4002913732286354            Gas           Gov. Aggregation
COH             124647340019                Gas           Gov. Aggregation   VEDO         4002942502289382            Gas           Gov. Aggregation
COH             124643260014                Gas           Gov. Aggregation   VEDO         4002943592289480            Gas           Gov. Aggregation
COH             200974370017                Gas           Gov. Aggregation   VEDO         4002949072290057            Gas           Gov. Aggregation
COH             131920850022                Gas           Gov. Aggregation   VEDO         4002952392189297            Gas           Gov. Aggregation
COH             189564770036                Gas           Gov. Aggregation   VEDO         4002953582290544            Gas           Gov. Aggregation
COH             124552840024                Gas           Gov. Aggregation   VEDO         4003036002479578            Gas           Gov. Aggregation
COH             124641980017                Gas           Gov. Aggregation   VEDO         4003058392250094            Gas           Gov. Aggregation
COH             190121240014                Gas           Gov. Aggregation   VEDO         4003060562301486            Gas           Gov. Aggregation
COH             172791140018                Gas           Gov. Aggregation   VEDO         4003062032180537            Gas           Gov. Aggregation
COH             125742610037                Gas           Gov. Aggregation   VEDO         4003064352304271            Gas           Gov. Aggregation
COH             124640580013                Gas           Gov. Aggregation   VEDO         4003080692189455            Gas           Gov. Aggregation
COH             198440630018                Gas           Gov. Aggregation   VEDO         4003113042306928            Gas           Gov. Aggregation
COH             133947660015                Gas           Gov. Aggregation   VEDO         4003154172311219            Gas           Gov. Aggregation
COH             124631720012                Gas           Gov. Aggregation   VEDO         4003158392152517            Gas           Gov. Aggregation
COH             151652720015                Gas           Gov. Aggregation   VEDO         4003164692312332            Gas           Gov. Aggregation
COH             137639170035                Gas           Gov. Aggregation   VEDO         4003168162312674            Gas           Gov. Aggregation
COH             201553430015                Gas           Gov. Aggregation   VEDO         4003173472313206            Gas           Gov. Aggregation
COH             124640810069                Gas           Gov. Aggregation   VEDO         4003173472410155            Gas           Gov. Aggregation
COH             197560490015                Gas           Gov. Aggregation   VEDO         4003174042389020            Gas           Gov. Aggregation
COH             169167360056                Gas           Gov. Aggregation   VEDO         4003184452239517            Gas           Gov. Aggregation
COH             190798160027                Gas           Gov. Aggregation   VEDO         4003217812126994            Gas           Gov. Aggregation
COH             121946260015                Gas           Gov. Aggregation   VEDO         4003229652135128            Gas           Gov. Aggregation
COH             121946370021                Gas           Gov. Aggregation   VEDO         4003237822319803            Gas           Gov. Aggregation
COH             137011190022                Gas           Gov. Aggregation   VEDO         4003250182462777            Gas           Gov. Aggregation
COH             157242070024                Gas           Gov. Aggregation   VEDO         4003255762321656            Gas           Gov. Aggregation
COH             138584560011                Gas           Gov. Aggregation   VEDO         4003264542322575            Gas           Gov. Aggregation
COH             160260020012                Gas           Gov. Aggregation   VEDO         4003265712367186            Gas           Gov. Aggregation
COH             135331360020                Gas           Gov. Aggregation   VEDO         4003266572322786            Gas           Gov. Aggregation
COH             165835820010                Gas           Gov. Aggregation   VEDO         4003353542134025            Gas           Gov. Aggregation
COH             158678590012                Gas           Gov. Aggregation   VEDO         4003373492333992            Gas           Gov. Aggregation
COH             141247650020                Gas           Gov. Aggregation   VEDO         4003382602334983            Gas           Gov. Aggregation
COH             190608140013                Gas           Gov. Aggregation   VEDO         4003395272415693            Gas           Gov. Aggregation
COH             195615010010                Gas           Gov. Aggregation   VEDO         4003416172642562            Gas           Gov. Aggregation
COH             147278870014                Gas           Gov. Aggregation   VEDO         4003424772579972            Gas           Gov. Aggregation
COH             198115070015                Gas           Gov. Aggregation   VEDO         4003427902414789            Gas           Gov. Aggregation
COH             122033520032                Gas           Gov. Aggregation   VEDO         4003536602351010            Gas           Gov. Aggregation
COH             121946960018                Gas           Gov. Aggregation   VEDO         4003540822277826            Gas           Gov. Aggregation
COH             121946020015                Gas           Gov. Aggregation   VEDO         4003544012351835            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             195764600011                Gas           Gov. Aggregation   VEDO            4003549882589131            Gas           Gov. Aggregation
COH             170185300039                Gas           Gov. Aggregation   VEDO            4003551932330455            Gas           Gov. Aggregation
COH             112152070046                Gas           Gov. Aggregation   VEDO            4003572912354917            Gas           Gov. Aggregation
COH             139816800034                Gas           Gov. Aggregation   VEDO            4003573712492229            Gas           Gov. Aggregation
COH             197176440010                Gas           Gov. Aggregation   VEDO            4003574892320613            Gas           Gov. Aggregation
COH             144556850020                Gas           Gov. Aggregation   VEDO            4003634802519465            Gas           Gov. Aggregation
COH             146666280025                Gas           Gov. Aggregation   VEDO            4003636122361625            Gas           Gov. Aggregation
COH             186148480014                Gas           Gov. Aggregation   VEDO            4003639892519537            Gas           Gov. Aggregation
COH             192599940014                Gas           Gov. Aggregation   VEDO            4003673632365569            Gas           Gov. Aggregation
COH             121939960022                Gas           Gov. Aggregation   VEDO            4003675352415995            Gas           Gov. Aggregation
COH             121950880016                Gas           Gov. Aggregation   VEDO            4003694692367799            Gas           Gov. Aggregation
COH             186148480023                Gas           Gov. Aggregation   VEDO            4003712302565994            Gas           Gov. Aggregation
COH             121941540016                Gas           Gov. Aggregation   VEDO            4003819142413717            Gas           Gov. Aggregation
COH             121946010017                Gas           Gov. Aggregation   VEDO            4003835522382908            Gas           Gov. Aggregation
COH             134607250029                Gas           Gov. Aggregation   VEDO            4003838392383229            Gas           Gov. Aggregation
COH             163803850013                Gas           Gov. Aggregation   VEDO            4003864382453592            Gas           Gov. Aggregation
COH             135388180029                Gas           Gov. Aggregation   VEDO            4003864532434990            Gas           Gov. Aggregation
COH             121939590011                Gas           Gov. Aggregation   VEDO            4003877292622951            Gas           Gov. Aggregation
COH             165075120019                Gas           Gov. Aggregation   VEDO            4003884232194644            Gas           Gov. Aggregation
COH             121950710020                Gas           Gov. Aggregation   VEDO            4003884232388132            Gas           Gov. Aggregation
COH             194735860019                Gas           Gov. Aggregation   VEDO            4003962952396663            Gas           Gov. Aggregation
COH             137868340043                Gas           Gov. Aggregation   VEDO            4003964462453985            Gas           Gov. Aggregation
COH             196086290014                Gas           Gov. Aggregation   VEDO            4004013752384651            Gas           Gov. Aggregation
COH             133674560015                Gas           Gov. Aggregation   VEDO            4004016992402517            Gas           Gov. Aggregation
COH             141394080038                Gas           Gov. Aggregation   VEDO            4004017392402564            Gas           Gov. Aggregation
COH             121945670011                Gas           Gov. Aggregation   VEDO            4004018542402695            Gas           Gov. Aggregation
COH             121950650014                Gas           Gov. Aggregation   VEDO            4004032712404246            Gas           Gov. Aggregation
COH             192382020025                Gas           Gov. Aggregation   VEDO            4004035122493248            Gas           Gov. Aggregation
COH             121951210014                Gas           Gov. Aggregation   VEDO            4004048812405959            Gas           Gov. Aggregation
COH             168363390019                Gas           Gov. Aggregation   VEDO            4004050362406135            Gas           Gov. Aggregation
COH             167598980199                Gas           Gov. Aggregation   VEDO            4004100142411571            Gas           Gov. Aggregation
COH             186705400018                Gas           Gov. Aggregation   VEDO            4004105442412163            Gas           Gov. Aggregation
COH             148409960015                Gas           Gov. Aggregation   VEDO            4004125672530237            Gas           Gov. Aggregation
COH             169925070022                Gas           Gov. Aggregation   VEDO            4004125672579882            Gas           Gov. Aggregation
COH             169962630035                Gas           Gov. Aggregation   VEDO            4004129442414760            Gas           Gov. Aggregation
COH             157182890011                Gas           Gov. Aggregation   VEDO            4004131712312985            Gas           Gov. Aggregation
COH             193258800014                Gas           Gov. Aggregation   VEDO            4004136582415555            Gas           Gov. Aggregation
COH             121950730017                Gas           Gov. Aggregation   VEDO            4004140822672774            Gas           Gov. Aggregation
COH             199448590010                Gas           Gov. Aggregation   VEDO            4004244132539968            Gas           Gov. Aggregation
COH             200236600012                Gas           Gov. Aggregation   VEDO            4004254982634548            Gas           Gov. Aggregation
COH             199386690011                Gas           Gov. Aggregation   VEDO            4004255112428483            Gas           Gov. Aggregation
COH             136077590030                Gas           Gov. Aggregation   VEDO            4004262322174361            Gas           Gov. Aggregation
COH             200244060019                Gas           Gov. Aggregation   VEDO            4004287292452764            Gas           Gov. Aggregation
COH             200372880016                Gas           Gov. Aggregation   VEDO            4004297292243003            Gas           Gov. Aggregation
COH             121946670019                Gas           Gov. Aggregation   VEDO            4004306942434146            Gas           Gov. Aggregation
COH             121946090011                Gas           Gov. Aggregation   VEDO            4004318292526238            Gas           Gov. Aggregation
COH             199834620014                Gas           Gov. Aggregation   VEDO            4004381552442321            Gas           Gov. Aggregation
COH             134125510026                Gas           Gov. Aggregation   VEDO            4004402152444604            Gas           Gov. Aggregation
COH             143740860082                Gas           Gov. Aggregation   VEDO            4004414402138574            Gas           Gov. Aggregation
COH             156357160069                Gas           Gov. Aggregation   VEDO            4004460342450949            Gas           Gov. Aggregation
COH             192849190020                Gas           Gov. Aggregation   VEDO            4004476192452659            Gas           Gov. Aggregation
COH             198958370016                Gas           Gov. Aggregation   VEDO            4004477242452769            Gas           Gov. Aggregation
COH             199013190015                Gas           Gov. Aggregation   VEDO            4004478182452873            Gas           Gov. Aggregation
COH             199125850019                Gas           Gov. Aggregation   VEDO            4004484592276941            Gas           Gov. Aggregation
COH             199230980019                Gas           Gov. Aggregation   VEDO            4004502872379162            Gas           Gov. Aggregation
COH             198125900019                Gas           Gov. Aggregation   VEDO            4004565832220003            Gas           Gov. Aggregation
COH             176886920019                Gas           Gov. Aggregation   VEDO            4004578702116863            Gas           Gov. Aggregation
COH             143301800011                Gas           Gov. Aggregation   VEDO            4004582402464520            Gas           Gov. Aggregation
COH             186430670015                Gas           Gov. Aggregation   VEDO            4004582922464569            Gas           Gov. Aggregation
COH             135283000019                Gas           Gov. Aggregation   VEDO            4004587452640245            Gas           Gov. Aggregation
COH             169466780018                Gas           Gov. Aggregation   VEDO            4004615352468196            Gas           Gov. Aggregation
COH             167813240025                Gas           Gov. Aggregation   VEDO            4004618162468487            Gas           Gov. Aggregation
COH             198496880019                Gas           Gov. Aggregation   VEDO            4004631712169208            Gas           Gov. Aggregation
COH             196820800018                Gas           Gov. Aggregation   VEDO            4004633572470188            Gas           Gov. Aggregation
COH             123799020016                Gas           Gov. Aggregation   VEDO            4004638562527192            Gas           Gov. Aggregation
COH             123869490046                Gas           Gov. Aggregation   COH             172447960015                Gas           Gov. Aggregation
COH             174882180015                Gas           Gov. Aggregation   COH             172357650020                Gas           Gov. Aggregation
COH             177853070016                Gas           Gov. Aggregation   COH             172462100013                Gas           Gov. Aggregation
COH             191248420017                Gas           Gov. Aggregation   COH             157020010017                Gas           Gov. Aggregation
COH             163991590011                Gas           Gov. Aggregation   COH             173133650014                Gas           Gov. Aggregation
COH             123764150012                Gas           Gov. Aggregation   COH             173323030011                Gas           Gov. Aggregation
COH             196994390018                Gas           Gov. Aggregation   COH             173365140010                Gas           Gov. Aggregation
COH             145247960012                Gas           Gov. Aggregation   COH             174538320023                Gas           Gov. Aggregation
COH             171011240029                Gas           Gov. Aggregation   COH             208870970013                Gas           Gov. Aggregation
COH             123739430016                Gas           Gov. Aggregation   COH             204981240015                Gas           Gov. Aggregation
COH             192162720015                Gas           Gov. Aggregation   COH             161305780025                Gas           Gov. Aggregation
COH             123758540013                Gas           Gov. Aggregation   COH             204138790017                Gas           Gov. Aggregation
COH             135791660014                Gas           Gov. Aggregation   COH             129484300054                Gas           Gov. Aggregation
COH             187429770016                Gas           Gov. Aggregation   COH             196205860010                Gas           Gov. Aggregation
COH             153381360032                Gas           Gov. Aggregation   COH             124079280017                Gas           Gov. Aggregation
COH             193007440011                Gas           Gov. Aggregation   COH             124078820015                Gas           Gov. Aggregation
COH             192849300017                Gas           Gov. Aggregation   COH             204933580015                Gas           Gov. Aggregation
COH             171295380011                Gas           Gov. Aggregation   COH             198740250021                Gas           Gov. Aggregation
COH             170316490022                Gas           Gov. Aggregation   COH             171263960034                Gas           Gov. Aggregation
COH             123757600021                Gas           Gov. Aggregation   COH             206232390019                Gas           Gov. Aggregation
COH             149829740127                Gas           Gov. Aggregation   COH             205955460013                Gas           Gov. Aggregation
COH             123758870032                Gas           Gov. Aggregation   COH             114812270060                Gas           Gov. Aggregation
COH             188190220017                Gas           Gov. Aggregation   COH             148208280014                Gas           Gov. Aggregation
COH             186447000010                Gas           Gov. Aggregation   COH             174418410037                Gas           Gov. Aggregation
COH             195871160017                Gas           Gov. Aggregation   COH             158381770022                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             123763820013                Gas           Gov. Aggregation   COH             206277120020                Gas           Gov. Aggregation
COH             147419020012                Gas           Gov. Aggregation   COH             198577060019                Gas           Gov. Aggregation
COH             140883500015                Gas           Gov. Aggregation   COH             195410110022                Gas           Gov. Aggregation
COH             123750340011                Gas           Gov. Aggregation   COH             197003600011                Gas           Gov. Aggregation
COH             163491460027                Gas           Gov. Aggregation   COH             202904020015                Gas           Gov. Aggregation
COH             123755670012                Gas           Gov. Aggregation   COH             189229090039                Gas           Gov. Aggregation
COH             123740910012                Gas           Gov. Aggregation   COH             200359660010                Gas           Gov. Aggregation
COH             176097760016                Gas           Gov. Aggregation   COH             200004940012                Gas           Gov. Aggregation
COH             146289560026                Gas           Gov. Aggregation   COH             205840500017                Gas           Gov. Aggregation
COH             162357440026                Gas           Gov. Aggregation   COH             198228720019                Gas           Gov. Aggregation
COH             123764490020                Gas           Gov. Aggregation   COH             209794190018                Gas           Gov. Aggregation
COH             123755550017                Gas           Gov. Aggregation   COH             202867710010                Gas           Gov. Aggregation
COH             168003110019                Gas           Gov. Aggregation   COH             210241560018                Gas           Gov. Aggregation
COH             171005060011                Gas           Gov. Aggregation   COH             187479500062                Gas           Gov. Aggregation
COH             149719370020                Gas           Gov. Aggregation   COH             209212740014                Gas           Gov. Aggregation
COH             176024410058                Gas           Gov. Aggregation   COH             175015310013                Gas           Gov. Aggregation
COH             190970100014                Gas           Gov. Aggregation   COH             194173740034                Gas           Gov. Aggregation
COH             126755360069                Gas           Gov. Aggregation   COH             208089020028                Gas           Gov. Aggregation
COH             123763300012                Gas           Gov. Aggregation   COH             124121750017                Gas           Gov. Aggregation
COH             153492690029                Gas           Gov. Aggregation   COH             124121770013                Gas           Gov. Aggregation
COH             176516240015                Gas           Gov. Aggregation   COH             193721780016                Gas           Gov. Aggregation
COH             162014380025                Gas           Gov. Aggregation   COH             207843330015                Gas           Gov. Aggregation
COH             169261640011                Gas           Gov. Aggregation   COH             203333900010                Gas           Gov. Aggregation
COH             134680080030                Gas           Gov. Aggregation   COH             191785580025                Gas           Gov. Aggregation
COH             166695230020                Gas           Gov. Aggregation   COH             142090260042                Gas           Gov. Aggregation
COH             149578800029                Gas           Gov. Aggregation   COH             124230210028                Gas           Gov. Aggregation
COH             173596890014                Gas           Gov. Aggregation   COH             165873670012                Gas           Gov. Aggregation
COH             123757600012                Gas           Gov. Aggregation   COH             191741360014                Gas           Gov. Aggregation
COH             194594540016                Gas           Gov. Aggregation   COH             204864650017                Gas           Gov. Aggregation
COH             198359040015                Gas           Gov. Aggregation   COH             190142040012                Gas           Gov. Aggregation
COH             123742320012                Gas           Gov. Aggregation   COH             202904010017                Gas           Gov. Aggregation
COH             189885830015                Gas           Gov. Aggregation   COH             197373910022                Gas           Gov. Aggregation
COH             197313700013                Gas           Gov. Aggregation   COH             204671390011                Gas           Gov. Aggregation
COH             167568620026                Gas           Gov. Aggregation   COH             210106780018                Gas           Gov. Aggregation
COH             160261480023                Gas           Gov. Aggregation   COH             124079460028                Gas           Gov. Aggregation
COH             158883160026                Gas           Gov. Aggregation   COH             123932610054                Gas           Gov. Aggregation
COH             123800450011                Gas           Gov. Aggregation   COH             208122980016                Gas           Gov. Aggregation
COH             123742460013                Gas           Gov. Aggregation   COH             205561770013                Gas           Gov. Aggregation
COH             153768900038                Gas           Gov. Aggregation   COH             151366990025                Gas           Gov. Aggregation
COH             188065400014                Gas           Gov. Aggregation   COH             193128200097                Gas           Gov. Aggregation
COH             123741090013                Gas           Gov. Aggregation   COH             155496410018                Gas           Gov. Aggregation
COH             194432010019                Gas           Gov. Aggregation   COH             188248480038                Gas           Gov. Aggregation
COH             198363650018                Gas           Gov. Aggregation   COH             202315660010                Gas           Gov. Aggregation
COH             152300980015                Gas           Gov. Aggregation   COH             161531610012                Gas           Gov. Aggregation
COH             148327300062                Gas           Gov. Aggregation   COH             207739530014                Gas           Gov. Aggregation
COH             123744450011                Gas           Gov. Aggregation   COH             210152200012                Gas           Gov. Aggregation
COH             190709020014                Gas           Gov. Aggregation   COH             173541420106                Gas           Gov. Aggregation
COH             145947110016                Gas           Gov. Aggregation   COH             204304950010                Gas           Gov. Aggregation
COH             150405240029                Gas           Gov. Aggregation   COH             173541420071                Gas           Gov. Aggregation
COH             155223170016                Gas           Gov. Aggregation   COH             173541420080                Gas           Gov. Aggregation
COH             156610160025                Gas           Gov. Aggregation   COH             209751530016                Gas           Gov. Aggregation
COH             196682930015                Gas           Gov. Aggregation   COH             123959430029                Gas           Gov. Aggregation
COH             148302430067                Gas           Gov. Aggregation   COH             204414020174                Gas           Gov. Aggregation
COH             123748760018                Gas           Gov. Aggregation   COH             204414020334                Gas           Gov. Aggregation
COH             195871260025                Gas           Gov. Aggregation   COH             204414020361                Gas           Gov. Aggregation
COH             174781910015                Gas           Gov. Aggregation   COH             131686340036                Gas           Gov. Aggregation
COH             148974720027                Gas           Gov. Aggregation   COH             131686340045                Gas           Gov. Aggregation
COH             154607940048                Gas           Gov. Aggregation   COH             204414020316                Gas           Gov. Aggregation
COH             163997770020                Gas           Gov. Aggregation   COH             204414020076                Gas           Gov. Aggregation
COH             123862130027                Gas           Gov. Aggregation   COH             204414020281                Gas           Gov. Aggregation
COH             123052730037                Gas           Gov. Aggregation   COH             208415970017                Gas           Gov. Aggregation
COH             165012910015                Gas           Gov. Aggregation   VEDO            4004705052400377            Gas           Gov. Aggregation
COH             189634480010                Gas           Gov. Aggregation   VEDO            4004705062594270            Gas           Gov. Aggregation
COH             185117350017                Gas           Gov. Aggregation   VEDO            4004709332521661            Gas           Gov. Aggregation
COH             144995300105                Gas           Gov. Aggregation   VEDO            4004723592480053            Gas           Gov. Aggregation
COH             125791570131                Gas           Gov. Aggregation   VEDO            4004724232480131            Gas           Gov. Aggregation
COH             123747580018                Gas           Gov. Aggregation   VEDO            4004726622480382            Gas           Gov. Aggregation
COH             193090450032                Gas           Gov. Aggregation   VEDO            4004728562480588            Gas           Gov. Aggregation
COH             123758640021                Gas           Gov. Aggregation   VEDO            4004730802150371            Gas           Gov. Aggregation
COH             170170420017                Gas           Gov. Aggregation   VEDO            4004731152284486            Gas           Gov. Aggregation
COH             187413160017                Gas           Gov. Aggregation   VEDO            4004823562187181            Gas           Gov. Aggregation
COH             166129740022                Gas           Gov. Aggregation   VEDO            4004832462492023            Gas           Gov. Aggregation
COH             185018580037                Gas           Gov. Aggregation   VEDO            4004853992520118            Gas           Gov. Aggregation
COH             174451490022                Gas           Gov. Aggregation   VEDO            4004858712167982            Gas           Gov. Aggregation
COH             186565590017                Gas           Gov. Aggregation   VEDO            4004877392321233            Gas           Gov. Aggregation
COH             157757610010                Gas           Gov. Aggregation   VEDO            4004877652497062            Gas           Gov. Aggregation
COH             193348230022                Gas           Gov. Aggregation   VEDO            4004882732497636            Gas           Gov. Aggregation
COH             136574560014                Gas           Gov. Aggregation   VEDO            4005012822460128            Gas           Gov. Aggregation
COH             155306460028                Gas           Gov. Aggregation   VEDO            4005019532512878            Gas           Gov. Aggregation
COH             146194770014                Gas           Gov. Aggregation   VEDO            4005030502168901            Gas           Gov. Aggregation
COH             123799980015                Gas           Gov. Aggregation   VEDO            4005066272378591            Gas           Gov. Aggregation
COH             176673790027                Gas           Gov. Aggregation   VEDO            4005105172425293            Gas           Gov. Aggregation
COH             162177680028                Gas           Gov. Aggregation   VEDO            4005115362295295            Gas           Gov. Aggregation
COH             189749890011                Gas           Gov. Aggregation   VEDO            4005122192375561            Gas           Gov. Aggregation
COH             159352090016                Gas           Gov. Aggregation   VEDO            4010034462335130            Gas           Gov. Aggregation
COH             153458990037                Gas           Gov. Aggregation   VEDO            4010049362472605            Gas           Gov. Aggregation
COH             153376280021                Gas           Gov. Aggregation   VEDO            4010104292594187            Gas           Gov. Aggregation
COH             167416100026                Gas           Gov. Aggregation   VEDO            4010114352271282            Gas           Gov. Aggregation
COH             166647620010                Gas           Gov. Aggregation   VEDO            4015007742335172            Gas           Gov. Aggregation
COH             185036000012                Gas           Gov. Aggregation   VEDO            4015008302631706            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             158673190043                Gas           Gov. Aggregation   VEDO         4015016652453420            Gas           Gov. Aggregation
COH             123739530024                Gas           Gov. Aggregation   VEDO         4015117662529726            Gas           Gov. Aggregation
COH             142577320029                Gas           Gov. Aggregation   VEDO         4015132412481829            Gas           Gov. Aggregation
COH             123744920021                Gas           Gov. Aggregation   VEDO         4015135292594228            Gas           Gov. Aggregation
COH             187681700016                Gas           Gov. Aggregation   VEDO         4015137802349881            Gas           Gov. Aggregation
COH             196250690011                Gas           Gov. Aggregation   VEDO         4015151602263410            Gas           Gov. Aggregation
COH             159686350041                Gas           Gov. Aggregation   VEDO         4015152482477348            Gas           Gov. Aggregation
COH             123748700010                Gas           Gov. Aggregation   VEDO         4015173442486906            Gas           Gov. Aggregation
COH             123762980012                Gas           Gov. Aggregation   VEDO         4015279932344777            Gas           Gov. Aggregation
COH             189689100014                Gas           Gov. Aggregation   VEDO         4015281252281049            Gas           Gov. Aggregation
COH             191715440021                Gas           Gov. Aggregation   VEDO         4015289832118361            Gas           Gov. Aggregation
COH             156203160046                Gas           Gov. Aggregation   VEDO         4015294742110125            Gas           Gov. Aggregation
COH             196737470015                Gas           Gov. Aggregation   VEDO         4015405512110987            Gas           Gov. Aggregation
COH             186419580018                Gas           Gov. Aggregation   VEDO         4015407612138012            Gas           Gov. Aggregation
COH             164337960018                Gas           Gov. Aggregation   VEDO         4015410872511533            Gas           Gov. Aggregation
COH             143161400013                Gas           Gov. Aggregation   VEDO         4015419772675255            Gas           Gov. Aggregation
COH             189794710013                Gas           Gov. Aggregation   VEDO         4015422402299779            Gas           Gov. Aggregation
COH             123744940018                Gas           Gov. Aggregation   VEDO         4015444252289279            Gas           Gov. Aggregation
COH             123744120010                Gas           Gov. Aggregation   VEDO         4015444252514738            Gas           Gov. Aggregation
COH             145356090023                Gas           Gov. Aggregation   VEDO         4015450912538528            Gas           Gov. Aggregation
COH             161276140031                Gas           Gov. Aggregation   VEDO         4015450982407533            Gas           Gov. Aggregation
COH             189578330011                Gas           Gov. Aggregation   VEDO         4015563402278684            Gas           Gov. Aggregation
COH             173280510012                Gas           Gov. Aggregation   VEDO         4015567412598755            Gas           Gov. Aggregation
COH             123746890015                Gas           Gov. Aggregation   VEDO         4015571662319228            Gas           Gov. Aggregation
COH             192754400026                Gas           Gov. Aggregation   VEDO         4015574882384564            Gas           Gov. Aggregation
COH             148255140023                Gas           Gov. Aggregation   VEDO         4015596592341367            Gas           Gov. Aggregation
COH             156751940014                Gas           Gov. Aggregation   VEDO         4015608012102472            Gas           Gov. Aggregation
COH             172127330015                Gas           Gov. Aggregation   VEDO         4015609172272007            Gas           Gov. Aggregation
COH             185759150019                Gas           Gov. Aggregation   VEDO         4015716862226543            Gas           Gov. Aggregation
COH             123742750012                Gas           Gov. Aggregation   VEDO         4015721842299625            Gas           Gov. Aggregation
COH             123870840030                Gas           Gov. Aggregation   VEDO         4015743722169557            Gas           Gov. Aggregation
COH             133995820010                Gas           Gov. Aggregation   VEDO         4015746412228521            Gas           Gov. Aggregation
COH             170477620015                Gas           Gov. Aggregation   VEDO         4015749282451735            Gas           Gov. Aggregation
COH             171752940013                Gas           Gov. Aggregation   VEDO         4015776222370341            Gas           Gov. Aggregation
COH             172439360018                Gas           Gov. Aggregation   VEDO         4015804582442277            Gas           Gov. Aggregation
COH             194308320017                Gas           Gov. Aggregation   VEDO         4015836222319917            Gas           Gov. Aggregation
COH             154521460032                Gas           Gov. Aggregation   VEDO         4015913582586516            Gas           Gov. Aggregation
COH             171363410019                Gas           Gov. Aggregation   VEDO         4015914352282414            Gas           Gov. Aggregation
COH             191825380021                Gas           Gov. Aggregation   VEDO         4015917402134433            Gas           Gov. Aggregation
COH             142727570091                Gas           Gov. Aggregation   VEDO         4015923672457969            Gas           Gov. Aggregation
COH             168021600018                Gas           Gov. Aggregation   VEDO         4015937932130812            Gas           Gov. Aggregation
COH             192162800018                Gas           Gov. Aggregation   VEDO         4015947042447299            Gas           Gov. Aggregation
COH             123761620019                Gas           Gov. Aggregation   VEDO         4015950242632065            Gas           Gov. Aggregation
COH             123758870014                Gas           Gov. Aggregation   VEDO         4015968982478525            Gas           Gov. Aggregation
COH             193079280014                Gas           Gov. Aggregation   VEDO         4016061142486414            Gas           Gov. Aggregation
COH             176135320016                Gas           Gov. Aggregation   VEDO         4016070112567843            Gas           Gov. Aggregation
COH             168345730033                Gas           Gov. Aggregation   VEDO         4016077312505924            Gas           Gov. Aggregation
COH             123872340022                Gas           Gov. Aggregation   VEDO         4016083112123962            Gas           Gov. Aggregation
COH             154689070012                Gas           Gov. Aggregation   VEDO         4016096742153152            Gas           Gov. Aggregation
COH             126458040020                Gas           Gov. Aggregation   VEDO         4016096862149996            Gas           Gov. Aggregation
COH             168422900015                Gas           Gov. Aggregation   VEDO         4016108372585707            Gas           Gov. Aggregation
COH             193810740024                Gas           Gov. Aggregation   VEDO         4016172862360627            Gas           Gov. Aggregation
COH             161250760017                Gas           Gov. Aggregation   VEDO         4016186452513966            Gas           Gov. Aggregation
COH             190298120016                Gas           Gov. Aggregation   VEDO         4016191092375952            Gas           Gov. Aggregation
COH             193597670032                Gas           Gov. Aggregation   VEDO         4016194982527574            Gas           Gov. Aggregation
COH             186475040022                Gas           Gov. Aggregation   VEDO         4016199762159671            Gas           Gov. Aggregation
COH             166934800013                Gas           Gov. Aggregation   VEDO         4016201172350119            Gas           Gov. Aggregation
COH             151300380101                Gas           Gov. Aggregation   VEDO         4016235832480843            Gas           Gov. Aggregation
COH             174204730104                Gas           Gov. Aggregation   VEDO         4016238122426886            Gas           Gov. Aggregation
COH             189663210024                Gas           Gov. Aggregation   VEDO         4016244072210424            Gas           Gov. Aggregation
COH             185246610019                Gas           Gov. Aggregation   VEDO         4016246222358293            Gas           Gov. Aggregation
COH             165562140030                Gas           Gov. Aggregation   VEDO         4016254492303662            Gas           Gov. Aggregation
COH             123798120017                Gas           Gov. Aggregation   VEDO         4016254492605727            Gas           Gov. Aggregation
COH             127252320026                Gas           Gov. Aggregation   VEDO         4016273142467088            Gas           Gov. Aggregation
COH             123821470166                Gas           Gov. Aggregation   VEDO         4016278302227414            Gas           Gov. Aggregation
COH             158925850021                Gas           Gov. Aggregation   VEDO         4016280082623393            Gas           Gov. Aggregation
COH             142497810035                Gas           Gov. Aggregation   VEDO         4016283722474865            Gas           Gov. Aggregation
COH             199848840019                Gas           Gov. Aggregation   VEDO         4016397902471345            Gas           Gov. Aggregation
COH             123763850017                Gas           Gov. Aggregation   VEDO         4016407322524263            Gas           Gov. Aggregation
COH             166057830026                Gas           Gov. Aggregation   VEDO         4016408652329648            Gas           Gov. Aggregation
COH             131004480022                Gas           Gov. Aggregation   VEDO         4016408952467808            Gas           Gov. Aggregation
COH             157891870030                Gas           Gov. Aggregation   VEDO         4016430082281146            Gas           Gov. Aggregation
COH             167485010057                Gas           Gov. Aggregation   VEDO         4016449592230499            Gas           Gov. Aggregation
COH             152229370088                Gas           Gov. Aggregation   VEDO         4016460922588097            Gas           Gov. Aggregation
COH             123749280035                Gas           Gov. Aggregation   VEDO         4016553592500445            Gas           Gov. Aggregation
COH             175845080031                Gas           Gov. Aggregation   VEDO         4016558212262925            Gas           Gov. Aggregation
COH             176024450032                Gas           Gov. Aggregation   VEDO         4016561592594313            Gas           Gov. Aggregation
COH             176070070026                Gas           Gov. Aggregation   VEDO         4016572822428953            Gas           Gov. Aggregation
COH             188865050030                Gas           Gov. Aggregation   VEDO         4016582402196368            Gas           Gov. Aggregation
COH             194050250037                Gas           Gov. Aggregation   VEDO         4016712952601505            Gas           Gov. Aggregation
COH             194406640021                Gas           Gov. Aggregation   VEDO         4016734842253630            Gas           Gov. Aggregation
COH             193317680014                Gas           Gov. Aggregation   VEDO         4016749802456237            Gas           Gov. Aggregation
COH             196852610039                Gas           Gov. Aggregation   VEDO         4016768412201523            Gas           Gov. Aggregation
COH             197244650039                Gas           Gov. Aggregation   VEDO         4016788312612559            Gas           Gov. Aggregation
COH             198903290018                Gas           Gov. Aggregation   VEDO         4016853052355968            Gas           Gov. Aggregation
COH             199522150014                Gas           Gov. Aggregation   VEDO         4016858302463223            Gas           Gov. Aggregation
COH             199851660010                Gas           Gov. Aggregation   VEDO         4016859942401549            Gas           Gov. Aggregation
COH             199847040019                Gas           Gov. Aggregation   VEDO         4016861042170102            Gas           Gov. Aggregation
COH             199984860017                Gas           Gov. Aggregation   VEDO         4016862642417892            Gas           Gov. Aggregation
COH             200084590018                Gas           Gov. Aggregation   VEDO         4016896182417544            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             200356760015                Gas           Gov. Aggregation   VEDO         4016910462446511            Gas           Gov. Aggregation
COH             200326130010                Gas           Gov. Aggregation   VEDO         4016915692419527            Gas           Gov. Aggregation
COH             200372890014                Gas           Gov. Aggregation   VEDO         4016916192408047            Gas           Gov. Aggregation
COH             200438250018                Gas           Gov. Aggregation   VEDO         4016977882503085            Gas           Gov. Aggregation
COH             200711680018                Gas           Gov. Aggregation   VEDO         4016993192241425            Gas           Gov. Aggregation
COH             200729290013                Gas           Gov. Aggregation   VEDO         4017005382475651            Gas           Gov. Aggregation
COH             201072650019                Gas           Gov. Aggregation   VEDO         4017011892241811            Gas           Gov. Aggregation
COH             201072730012                Gas           Gov. Aggregation   VEDO         4017113302434164            Gas           Gov. Aggregation
COH             201104470018                Gas           Gov. Aggregation   VEDO         4017131992480808            Gas           Gov. Aggregation
COH             200836930011                Gas           Gov. Aggregation   VEDO         4017138312393454            Gas           Gov. Aggregation
COH             201784520017                Gas           Gov. Aggregation   VEDO         4017159132598994            Gas           Gov. Aggregation
COH             201719920010                Gas           Gov. Aggregation   VEDO         4017159662428708            Gas           Gov. Aggregation
COH             201655680017                Gas           Gov. Aggregation   VEDO         4017217472336228            Gas           Gov. Aggregation
COH             202020760014                Gas           Gov. Aggregation   VEDO         4017233532441037            Gas           Gov. Aggregation
COH             201649890016                Gas           Gov. Aggregation   VEDO         4017239002268847            Gas           Gov. Aggregation
COH             189754920022                Gas           Gov. Aggregation   VEDO         4017266062252996            Gas           Gov. Aggregation
COH             123755740017                Gas           Gov. Aggregation   VEDO         4017268752275776            Gas           Gov. Aggregation
COH             159302190029                Gas           Gov. Aggregation   VEDO         4017327742325786            Gas           Gov. Aggregation
COH             168958850011                Gas           Gov. Aggregation   VEDO         4017336392478856            Gas           Gov. Aggregation
COH             187159850012                Gas           Gov. Aggregation   VEDO         4017364082453197            Gas           Gov. Aggregation
COH             177769360023                Gas           Gov. Aggregation   VEDO         4017379372234508            Gas           Gov. Aggregation
COH             172034350018                Gas           Gov. Aggregation   VEDO         4017383392457489            Gas           Gov. Aggregation
COH             162792700038                Gas           Gov. Aggregation   VEDO         4017400132121236            Gas           Gov. Aggregation
COH             189019850034                Gas           Gov. Aggregation   VEDO         4017491502315131            Gas           Gov. Aggregation
COH             162359600028                Gas           Gov. Aggregation   VEDO         4017514362455874            Gas           Gov. Aggregation
COH             165986650026                Gas           Gov. Aggregation   VEDO         4017517692641824            Gas           Gov. Aggregation
COH             162018630168                Gas           Gov. Aggregation   VEDO         4017536322254106            Gas           Gov. Aggregation
COH             141889710027                Gas           Gov. Aggregation   VEDO         4017548192333441            Gas           Gov. Aggregation
COH             177221000019                Gas           Gov. Aggregation   VEDO         4017553742185360            Gas           Gov. Aggregation
COH             140610200033                Gas           Gov. Aggregation   VEDO         4017560842480845            Gas           Gov. Aggregation
COH             172355800022                Gas           Gov. Aggregation   VEDO         4017594062160394            Gas           Gov. Aggregation
COH             196198380018                Gas           Gov. Aggregation   VEDO         4017595042291468            Gas           Gov. Aggregation
COH             172265260072                Gas           Gov. Aggregation   VEDO         4017614772164030            Gas           Gov. Aggregation
COH             141167870079                Gas           Gov. Aggregation   VEDO         4017622952451603            Gas           Gov. Aggregation
COH             187149750014                Gas           Gov. Aggregation   VEDO         4017624102610606            Gas           Gov. Aggregation
COH             194147780013                Gas           Gov. Aggregation   VEDO         4017635012236622            Gas           Gov. Aggregation
COH             123757730015                Gas           Gov. Aggregation   VEDO         4017679992173084            Gas           Gov. Aggregation
COH             123868600026                Gas           Gov. Aggregation   VEDO         4017679992191006            Gas           Gov. Aggregation
COH             191211910011                Gas           Gov. Aggregation   VEDO         4017691062141158            Gas           Gov. Aggregation
COH             111132860016                Gas           Gov. Aggregation   VEDO         4017691552351566            Gas           Gov. Aggregation
COH             177668110010                Gas           Gov. Aggregation   VEDO         4017702702491162            Gas           Gov. Aggregation
COH             199146500018                Gas           Gov. Aggregation   VEDO         4017703622644995            Gas           Gov. Aggregation
COH             198851140010                Gas           Gov. Aggregation   VEDO         4017703622645693            Gas           Gov. Aggregation
COH             194108420010                Gas           Gov. Aggregation   VEDO         4017705972285857            Gas           Gov. Aggregation
COH             186583110019                Gas           Gov. Aggregation   VEDO         4017831842108162            Gas           Gov. Aggregation
COH             169261360029                Gas           Gov. Aggregation   VEDO         4017838402610212            Gas           Gov. Aggregation
COH             189465770027                Gas           Gov. Aggregation   VEDO         4017860262253212            Gas           Gov. Aggregation
COH             151860390078                Gas           Gov. Aggregation   VEDO         4017862732180222            Gas           Gov. Aggregation
COH             111122410011                Gas           Gov. Aggregation   VEDO         4017916252357851            Gas           Gov. Aggregation
COH             176685850029                Gas           Gov. Aggregation   VEDO         4017940782373510            Gas           Gov. Aggregation
COH             187480790014                Gas           Gov. Aggregation   VEDO         4017975392114782            Gas           Gov. Aggregation
COH             193768520012                Gas           Gov. Aggregation   VEDO         4017997642455160            Gas           Gov. Aggregation
COH             111132130019                Gas           Gov. Aggregation   VEDO         4017999082295950            Gas           Gov. Aggregation
COH             195728230015                Gas           Gov. Aggregation   VEDO         4018004172598781            Gas           Gov. Aggregation
COH             177818050014                Gas           Gov. Aggregation   VEDO         4018004722289089            Gas           Gov. Aggregation
COH             187671560035                Gas           Gov. Aggregation   VEDO         4018015872324265            Gas           Gov. Aggregation
COH             197130610010                Gas           Gov. Aggregation   VEDO         4018021802425187            Gas           Gov. Aggregation
COH             133480770012                Gas           Gov. Aggregation   VEDO         4018026042303114            Gas           Gov. Aggregation
COH             175042410015                Gas           Gov. Aggregation   VEDO         4018068902214473            Gas           Gov. Aggregation
COH             173529100038                Gas           Gov. Aggregation   VEDO         4018085992239767            Gas           Gov. Aggregation
COH             111108100016                Gas           Gov. Aggregation   VEDO         4018095922376736            Gas           Gov. Aggregation
COH             170472780012                Gas           Gov. Aggregation   VEDO         4018109702647018            Gas           Gov. Aggregation
COH             194113860017                Gas           Gov. Aggregation   VEDO         4018113742343911            Gas           Gov. Aggregation
COH             167141480020                Gas           Gov. Aggregation   VEDO         4018120222180169            Gas           Gov. Aggregation
COH             199603730010                Gas           Gov. Aggregation   VEDO         4018157692476965            Gas           Gov. Aggregation
COH             194050150010                Gas           Gov. Aggregation   VEDO         4018167512509260            Gas           Gov. Aggregation
COH             195533360011                Gas           Gov. Aggregation   VEDO         4018170302276970            Gas           Gov. Aggregation
COH             196172420013                Gas           Gov. Aggregation   VEDO         4018171342593220            Gas           Gov. Aggregation
COH             193017550017                Gas           Gov. Aggregation   VEDO         4018182982315790            Gas           Gov. Aggregation
COH             142427470178                Gas           Gov. Aggregation   VEDO         4018214292175496            Gas           Gov. Aggregation
COH             135055130097                Gas           Gov. Aggregation   VEDO         4018218532140779            Gas           Gov. Aggregation
COH             193532330011                Gas           Gov. Aggregation   VEDO         4018222352291710            Gas           Gov. Aggregation
COH             148046740011                Gas           Gov. Aggregation   VEDO         4018222352589825            Gas           Gov. Aggregation
COH             171613390013                Gas           Gov. Aggregation   VEDO         4018232172345770            Gas           Gov. Aggregation
COH             186630360016                Gas           Gov. Aggregation   VEDO         4018276052369611            Gas           Gov. Aggregation
COH             191457000012                Gas           Gov. Aggregation   VEDO         4018281452634296            Gas           Gov. Aggregation
COH             185436700017                Gas           Gov. Aggregation   VEDO         4018293612282421            Gas           Gov. Aggregation
COH             141006370029                Gas           Gov. Aggregation   VEDO         4018295452634604            Gas           Gov. Aggregation
COH             111124170018                Gas           Gov. Aggregation   VEDO         4018308062337184            Gas           Gov. Aggregation
COH             199187470019                Gas           Gov. Aggregation   VEDO         4018323102247357            Gas           Gov. Aggregation
COH             185053210021                Gas           Gov. Aggregation   VEDO         4018346522318928            Gas           Gov. Aggregation
COH             159590950020                Gas           Gov. Aggregation   VEDO         4018396172645804            Gas           Gov. Aggregation
COH             141002080028                Gas           Gov. Aggregation   VEDO         4018406112289340            Gas           Gov. Aggregation
COH             174926920033                Gas           Gov. Aggregation   VEDO         4018407482363325            Gas           Gov. Aggregation
COH             111132890010                Gas           Gov. Aggregation   VEDO         4018419612188315            Gas           Gov. Aggregation
COH             150481020016                Gas           Gov. Aggregation   VEDO         4018421962416839            Gas           Gov. Aggregation
COH             187253220050                Gas           Gov. Aggregation   VEDO         4018473892448015            Gas           Gov. Aggregation
COH             156339990018                Gas           Gov. Aggregation   VEDO         4018482352481545            Gas           Gov. Aggregation
COH             174152720018                Gas           Gov. Aggregation   VEDO         4018485002166431            Gas           Gov. Aggregation
COH             169695940019                Gas           Gov. Aggregation   VEDO         4018488252409737            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             187564550016                Gas           Gov. Aggregation   VEDO         4018491032401181            Gas           Gov. Aggregation
COH             186893500010                Gas           Gov. Aggregation   VEDO         4018494692490646            Gas           Gov. Aggregation
COH             111107860019                Gas           Gov. Aggregation   VEDO         4018506552407693            Gas           Gov. Aggregation
COH             172501280012                Gas           Gov. Aggregation   VEDO         4018596262445698            Gas           Gov. Aggregation
COH             190531020011                Gas           Gov. Aggregation   VEDO         4018596762417028            Gas           Gov. Aggregation
COH             199313160015                Gas           Gov. Aggregation   VEDO         4018604432370830            Gas           Gov. Aggregation
COH             172580800016                Gas           Gov. Aggregation   VEDO         4018604432594249            Gas           Gov. Aggregation
COH             111116270014                Gas           Gov. Aggregation   VEDO         4018604432638098            Gas           Gov. Aggregation
COH             188749290018                Gas           Gov. Aggregation   VEDO         4018623792233833            Gas           Gov. Aggregation
COH             167748640011                Gas           Gov. Aggregation   VEDO         4018623792631735            Gas           Gov. Aggregation
COH             111176330024                Gas           Gov. Aggregation   VEDO         4018662042382571            Gas           Gov. Aggregation
COH             188858240017                Gas           Gov. Aggregation   VEDO         4018667582164228            Gas           Gov. Aggregation
COH             192169050030                Gas           Gov. Aggregation   VEDO         4018674402612564            Gas           Gov. Aggregation
COH             149514950022                Gas           Gov. Aggregation   VEDO         4018675172179998            Gas           Gov. Aggregation
COH             159271290025                Gas           Gov. Aggregation   VEDO         4018676932584289            Gas           Gov. Aggregation
COH             199803130012                Gas           Gov. Aggregation   VEDO         4018679312259639            Gas           Gov. Aggregation
COH             139290810029                Gas           Gov. Aggregation   VEDO         4018720692435614            Gas           Gov. Aggregation
COH             147934030045                Gas           Gov. Aggregation   VEDO         4018721602320914            Gas           Gov. Aggregation
COH             111107840013                Gas           Gov. Aggregation   VEDO         4018721982349479            Gas           Gov. Aggregation
COH             160034270028                Gas           Gov. Aggregation   VEDO         4018727652242446            Gas           Gov. Aggregation
COH             190191090019                Gas           Gov. Aggregation   VEDO         4018730662129744            Gas           Gov. Aggregation
COH             153606620011                Gas           Gov. Aggregation   VEDO         4018734352356215            Gas           Gov. Aggregation
COH             132519770010                Gas           Gov. Aggregation   VEDO         4018758802356277            Gas           Gov. Aggregation
COH             196776610013                Gas           Gov. Aggregation   VEDO         4018768442401286            Gas           Gov. Aggregation
COH             192149520024                Gas           Gov. Aggregation   VEDO         4018778312415700            Gas           Gov. Aggregation
COH             110404520039                Gas           Gov. Aggregation   VEDO         4018787922193744            Gas           Gov. Aggregation
COH             189382540030                Gas           Gov. Aggregation   VEDO         4018841092522859            Gas           Gov. Aggregation
COH             176739220017                Gas           Gov. Aggregation   VEDO         4018850042527663            Gas           Gov. Aggregation
COH             190617970010                Gas           Gov. Aggregation   VEDO         4018850582506928            Gas           Gov. Aggregation
COH             111121390018                Gas           Gov. Aggregation   VEDO         4018853622419917            Gas           Gov. Aggregation
COH             111118150015                Gas           Gov. Aggregation   VEDO         4018856962449387            Gas           Gov. Aggregation
COH             111136820016                Gas           Gov. Aggregation   VEDO         4018858652232794            Gas           Gov. Aggregation
COH             175946810015                Gas           Gov. Aggregation   VEDO         4018864512346036            Gas           Gov. Aggregation
COH             192920920015                Gas           Gov. Aggregation   VEDO         4018910912616915            Gas           Gov. Aggregation
COH             168558040037                Gas           Gov. Aggregation   VEDO         4018918802235524            Gas           Gov. Aggregation
COH             189474800012                Gas           Gov. Aggregation   VEDO         4018923272314148            Gas           Gov. Aggregation
COH             111114600018                Gas           Gov. Aggregation   VEDO         4018925622398215            Gas           Gov. Aggregation
COH             170775700016                Gas           Gov. Aggregation   VEDO         4018969512642252            Gas           Gov. Aggregation
COH             111124480031                Gas           Gov. Aggregation   VEDO         4018976742158611            Gas           Gov. Aggregation
COH             195066370010                Gas           Gov. Aggregation   VEDO         4018981362390262            Gas           Gov. Aggregation
COH             111123340023                Gas           Gov. Aggregation   VEDO         4018984742481955            Gas           Gov. Aggregation
COH             164764120019                Gas           Gov. Aggregation   VEDO         4018986732188088            Gas           Gov. Aggregation
COH             111132260021                Gas           Gov. Aggregation   VEDO         4018986822642483            Gas           Gov. Aggregation
COH             198714960018                Gas           Gov. Aggregation   VEDO         4018992742582142            Gas           Gov. Aggregation
COH             111131780015                Gas           Gov. Aggregation   VEDO         4019036862268363            Gas           Gov. Aggregation
COH             162599620044                Gas           Gov. Aggregation   VEDO         4019040622460136            Gas           Gov. Aggregation
COH             197582060019                Gas           Gov. Aggregation   VEDO         4019048082134988            Gas           Gov. Aggregation
COH             166266690050                Gas           Gov. Aggregation   VEDO         4019054652303111            Gas           Gov. Aggregation
COH             156820000014                Gas           Gov. Aggregation   VEDO         4019076792414816            Gas           Gov. Aggregation
COH             170614060011                Gas           Gov. Aggregation   VEDO         4019080362582198            Gas           Gov. Aggregation
COH             173715050034                Gas           Gov. Aggregation   VEDO         4019085842117813            Gas           Gov. Aggregation
COH             111105800015                Gas           Gov. Aggregation   VEDO         4019101892106956            Gas           Gov. Aggregation
COH             197636570017                Gas           Gov. Aggregation   VEDO         4019152822246671            Gas           Gov. Aggregation
COH             142906420010                Gas           Gov. Aggregation   VEDO         4019155722523290            Gas           Gov. Aggregation
COH             111105150012                Gas           Gov. Aggregation   VEDO         4019162232247362            Gas           Gov. Aggregation
COH             111104510018                Gas           Gov. Aggregation   VEDO         4019167822243500            Gas           Gov. Aggregation
COH             149907860046                Gas           Gov. Aggregation   VEDO         4019171872483605            Gas           Gov. Aggregation
COH             171520590018                Gas           Gov. Aggregation   VEDO         4019172252322313            Gas           Gov. Aggregation
COH             195318690018                Gas           Gov. Aggregation   VEDO         4019172562460456            Gas           Gov. Aggregation
COH             150636830026                Gas           Gov. Aggregation   VEDO         4019193132644986            Gas           Gov. Aggregation
COH             188993810011                Gas           Gov. Aggregation   VEDO         4019194132313827            Gas           Gov. Aggregation
COH             162288420027                Gas           Gov. Aggregation   VEDO         4019197622233982            Gas           Gov. Aggregation
COH             173064130010                Gas           Gov. Aggregation   VEDO         4019221922256486            Gas           Gov. Aggregation
COH             193269210015                Gas           Gov. Aggregation   VEDO         4019242382399617            Gas           Gov. Aggregation
COH             111121290019                Gas           Gov. Aggregation   VEDO         4019248212338499            Gas           Gov. Aggregation
COH             171933380017                Gas           Gov. Aggregation   VEDO         4019248242382909            Gas           Gov. Aggregation
COH             189632640010                Gas           Gov. Aggregation   VEDO         4019250432358264            Gas           Gov. Aggregation
COH             194633370027                Gas           Gov. Aggregation   VEDO         4019250992131711            Gas           Gov. Aggregation
COH             155991500019                Gas           Gov. Aggregation   VEDO         4019251342501665            Gas           Gov. Aggregation
COH             162584950046                Gas           Gov. Aggregation   VEDO         4019259692445399            Gas           Gov. Aggregation
COH             173529170016                Gas           Gov. Aggregation   VEDO         4019261022645781            Gas           Gov. Aggregation
COH             111183690024                Gas           Gov. Aggregation   VEDO         4019262622500745            Gas           Gov. Aggregation
COH             130438830020                Gas           Gov. Aggregation   VEDO         4019286262646669            Gas           Gov. Aggregation
COH             111068350029                Gas           Gov. Aggregation   VEDO         4019286342595980            Gas           Gov. Aggregation
COH             186825960035                Gas           Gov. Aggregation   VEDO         4019287152634677            Gas           Gov. Aggregation
COH             199064390016                Gas           Gov. Aggregation   VEDO         4019288072264814            Gas           Gov. Aggregation
COH             189826710014                Gas           Gov. Aggregation   VEDO         4019288262471600            Gas           Gov. Aggregation
COH             158600430027                Gas           Gov. Aggregation   VEDO         4019288912166367            Gas           Gov. Aggregation
COH             175622890024                Gas           Gov. Aggregation   VEDO         4019292492361194            Gas           Gov. Aggregation
COH             169338210027                Gas           Gov. Aggregation   VEDO         4019297832301279            Gas           Gov. Aggregation
COH             175517180017                Gas           Gov. Aggregation   VEDO         4019298002247536            Gas           Gov. Aggregation
COH             194270900016                Gas           Gov. Aggregation   VEDO         4019319652588582            Gas           Gov. Aggregation
COH             195271610014                Gas           Gov. Aggregation   VEDO         4019325122640241            Gas           Gov. Aggregation
COH             164808520011                Gas           Gov. Aggregation   VEDO         4019327122405554            Gas           Gov. Aggregation
COH             174523670012                Gas           Gov. Aggregation   VEDO         4019327792228240            Gas           Gov. Aggregation
COH             131647520012                Gas           Gov. Aggregation   VEDO         4019329362173976            Gas           Gov. Aggregation
COH             195541510012                Gas           Gov. Aggregation   VEDO         4019342812497900            Gas           Gov. Aggregation
COH             111121540034                Gas           Gov. Aggregation   VEDO         4019357372320912            Gas           Gov. Aggregation
COH             167792310017                Gas           Gov. Aggregation   VEDO         4019364152477536            Gas           Gov. Aggregation
COH             111133910022                Gas           Gov. Aggregation   VEDO         4019394892418822            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             111116240010                Gas           Gov. Aggregation   VEDO         4019405042113376            Gas           Gov. Aggregation
COH             172207790019                Gas           Gov. Aggregation   VEDO         4019407852587766            Gas           Gov. Aggregation
COH             142427470105                Gas           Gov. Aggregation   VEDO         4019408192443208            Gas           Gov. Aggregation
COH             191459220012                Gas           Gov. Aggregation   VEDO         4019408622174955            Gas           Gov. Aggregation
COH             197060620017                Gas           Gov. Aggregation   VEDO         4019408622189464            Gas           Gov. Aggregation
COH             154334320029                Gas           Gov. Aggregation   VEDO         4019438212178784            Gas           Gov. Aggregation
COH             151497980011                Gas           Gov. Aggregation   VEDO         4019439332647664            Gas           Gov. Aggregation
COH             176927560017                Gas           Gov. Aggregation   VEDO         4019449592674113            Gas           Gov. Aggregation
COH             195318760013                Gas           Gov. Aggregation   VEDO         4019452582337950            Gas           Gov. Aggregation
COH             158421880014                Gas           Gov. Aggregation   VEDO         4019453292225610            Gas           Gov. Aggregation
COH             196145270012                Gas           Gov. Aggregation   VEDO         4019482672424837            Gas           Gov. Aggregation
COH             187849870033                Gas           Gov. Aggregation   VEDO         4019488792389919            Gas           Gov. Aggregation
COH             160015690011                Gas           Gov. Aggregation   VEDO         4019489172423629            Gas           Gov. Aggregation
COH             111097340039                Gas           Gov. Aggregation   VEDO         4019534102376502            Gas           Gov. Aggregation
COH             111133470025                Gas           Gov. Aggregation   VEDO         4019729262161701            Gas           Gov. Aggregation
COH             199633160017                Gas           Gov. Aggregation   VEDO         4019732022504686            Gas           Gov. Aggregation
COH             147641860015                Gas           Gov. Aggregation   VEDO         4019733802257520            Gas           Gov. Aggregation
COH             166865640014                Gas           Gov. Aggregation   VEDO         4019738362386621            Gas           Gov. Aggregation
COH             111124900014                Gas           Gov. Aggregation   VEDO         4019740202291457            Gas           Gov. Aggregation
COH             166929920073                Gas           Gov. Aggregation   VEDO         4019763772274724            Gas           Gov. Aggregation
COH             166415940014                Gas           Gov. Aggregation   VEDO         4019767012261434            Gas           Gov. Aggregation
COH             151830920015                Gas           Gov. Aggregation   VEDO         4019768222414301            Gas           Gov. Aggregation
COH             111107950010                Gas           Gov. Aggregation   VEDO         4019768662474719            Gas           Gov. Aggregation
COH             198688230027                Gas           Gov. Aggregation   VEDO         4019771112445978            Gas           Gov. Aggregation
COH             133491190039                Gas           Gov. Aggregation   VEDO         4019773802504618            Gas           Gov. Aggregation
COH             196947420010                Gas           Gov. Aggregation   VEDO         4019778492407195            Gas           Gov. Aggregation
COH             176106410027                Gas           Gov. Aggregation   VEDO         4019778542120249            Gas           Gov. Aggregation
COH             192812500012                Gas           Gov. Aggregation   VEDO         4019803482350603            Gas           Gov. Aggregation
COH             198223470012                Gas           Gov. Aggregation   VEDO         4019804492588788            Gas           Gov. Aggregation
COH             167613000010                Gas           Gov. Aggregation   VEDO         4019808552300180            Gas           Gov. Aggregation
COH             153784080019                Gas           Gov. Aggregation   VEDO         4019808652229948            Gas           Gov. Aggregation
COH             157741230022                Gas           Gov. Aggregation   VEDO         4019814642366878            Gas           Gov. Aggregation
COH             170775710014                Gas           Gov. Aggregation   VEDO         4019817412478793            Gas           Gov. Aggregation
COH             151236370039                Gas           Gov. Aggregation   VEDO         4019819682526953            Gas           Gov. Aggregation
COH             111115820010                Gas           Gov. Aggregation   VEDO         4019832392416010            Gas           Gov. Aggregation
COH             170698330018                Gas           Gov. Aggregation   VEDO         4019840072594224            Gas           Gov. Aggregation
COH             197966540014                Gas           Gov. Aggregation   VEDO         4019844782336192            Gas           Gov. Aggregation
COH             111114290014                Gas           Gov. Aggregation   VEDO         4019847802464034            Gas           Gov. Aggregation
COH             199610680016                Gas           Gov. Aggregation   VEDO         4019848942288491            Gas           Gov. Aggregation
COH             162125650032                Gas           Gov. Aggregation   VEDO         4019871932471448            Gas           Gov. Aggregation
COH             161127590014                Gas           Gov. Aggregation   VEDO         4019872542308205            Gas           Gov. Aggregation
COH             158843910013                Gas           Gov. Aggregation   VEDO         4019872702180771            Gas           Gov. Aggregation
COH             198909620016                Gas           Gov. Aggregation   VEDO         4019875362170873            Gas           Gov. Aggregation
COH             198511930014                Gas           Gov. Aggregation   VEDO         4019877252154289            Gas           Gov. Aggregation
COH             165248020013                Gas           Gov. Aggregation   VEDO         4019877252671819            Gas           Gov. Aggregation
COH             166518090015                Gas           Gov. Aggregation   VEDO         4019900632323101            Gas           Gov. Aggregation
COH             198317870019                Gas           Gov. Aggregation   VEDO         4019900652355209            Gas           Gov. Aggregation
COH             167171260014                Gas           Gov. Aggregation   VEDO         4019907572392603            Gas           Gov. Aggregation
COH             111138240014                Gas           Gov. Aggregation   VEDO         4019914292540659            Gas           Gov. Aggregation
COH             197160670015                Gas           Gov. Aggregation   VEDO         4019927502355950            Gas           Gov. Aggregation
COH             149667510012                Gas           Gov. Aggregation   VEDO         4019927962306159            Gas           Gov. Aggregation
COH             191008790027                Gas           Gov. Aggregation   VEDO         4019932642410779            Gas           Gov. Aggregation
COH             146746690010                Gas           Gov. Aggregation   VEDO         4019937542281544            Gas           Gov. Aggregation
COH             111124860031                Gas           Gov. Aggregation   VEDO         4019938132672783            Gas           Gov. Aggregation
COH             148663620018                Gas           Gov. Aggregation   VEDO         4019948292496133            Gas           Gov. Aggregation
COH             172034310016                Gas           Gov. Aggregation   VEDO         4019963312624701            Gas           Gov. Aggregation
COH             197855240012                Gas           Gov. Aggregation   VEDO         4019963972294780            Gas           Gov. Aggregation
COH             110404520048                Gas           Gov. Aggregation   VEDO         4019964012585951            Gas           Gov. Aggregation
COH             164935840015                Gas           Gov. Aggregation   VEDO         4019971322143692            Gas           Gov. Aggregation
COH             169791810012                Gas           Gov. Aggregation   VEDO         4019976392353166            Gas           Gov. Aggregation
COH             185886740098                Gas           Gov. Aggregation   VEDO         4019993622594203            Gas           Gov. Aggregation
COH             143370840689                Gas           Gov. Aggregation   VEDO         4019996232296337            Gas           Gov. Aggregation
COH             198154420019                Gas           Gov. Aggregation   VEDO         4019996472271535            Gas           Gov. Aggregation
COH             111139040014                Gas           Gov. Aggregation   VEDO         4019998212149319            Gas           Gov. Aggregation
COH             175399040018                Gas           Gov. Aggregation   VEDO         4020001642594296            Gas           Gov. Aggregation
COH             196929290016                Gas           Gov. Aggregation   VEDO         4020007022423191            Gas           Gov. Aggregation
COH             111124960012                Gas           Gov. Aggregation   VEDO         4020016172216533            Gas           Gov. Aggregation
COH             175028410015                Gas           Gov. Aggregation   VEDO         4020017492248563            Gas           Gov. Aggregation
COH             111105880028                Gas           Gov. Aggregation   VEDO         4020020192629240            Gas           Gov. Aggregation
COH             193166120012                Gas           Gov. Aggregation   VEDO         4020036922266587            Gas           Gov. Aggregation
COH             195305780034                Gas           Gov. Aggregation   VEDO         4020037132331505            Gas           Gov. Aggregation
COH             150586030012                Gas           Gov. Aggregation   VEDO         4020040532269057            Gas           Gov. Aggregation
COH             196869280016                Gas           Gov. Aggregation   VEDO         4020041312309931            Gas           Gov. Aggregation
COH             197350780019                Gas           Gov. Aggregation   VEDO         4020046052366289            Gas           Gov. Aggregation
COH             190210310010                Gas           Gov. Aggregation   VEDO         4020062522293509            Gas           Gov. Aggregation
COH             111117660010                Gas           Gov. Aggregation   VEDO         4020063492340270            Gas           Gov. Aggregation
COH             194348910019                Gas           Gov. Aggregation   VEDO         4020067842126143            Gas           Gov. Aggregation
COH             165580990016                Gas           Gov. Aggregation   VEDO         4020067882273941            Gas           Gov. Aggregation
COH             188228330013                Gas           Gov. Aggregation   VEDO         4020068392224576            Gas           Gov. Aggregation
COH             111122890039                Gas           Gov. Aggregation   VEDO         4020068392306024            Gas           Gov. Aggregation
COH             153341980018                Gas           Gov. Aggregation   VEDO         4020068442290936            Gas           Gov. Aggregation
COH             199635490014                Gas           Gov. Aggregation   VEDO         4020068992359010            Gas           Gov. Aggregation
COH             197347660011                Gas           Gov. Aggregation   VEDO         4020095732491572            Gas           Gov. Aggregation
COH             111104470017                Gas           Gov. Aggregation   VEDO         4020098342478088            Gas           Gov. Aggregation
COH             133243250013                Gas           Gov. Aggregation   VEDO         4020099372129566            Gas           Gov. Aggregation
COH             169848310016                Gas           Gov. Aggregation   VEDO         4020100462241878            Gas           Gov. Aggregation
COH             198039140012                Gas           Gov. Aggregation   VEDO         4020123312420543            Gas           Gov. Aggregation
COH             157697650047                Gas           Gov. Aggregation   VEDO         4020134642514433            Gas           Gov. Aggregation
COH             198395930012                Gas           Gov. Aggregation   VEDO         4020136772460186            Gas           Gov. Aggregation
COH             154950980061                Gas           Gov. Aggregation   VEDO         4020138482200069            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             157698170019                Gas           Gov. Aggregation   VEDO         4020139592115048            Gas           Gov. Aggregation
COH             199803120014                Gas           Gov. Aggregation   VEDO         4020139762447607            Gas           Gov. Aggregation
COH             111115090078                Gas           Gov. Aggregation   VEDO         4020162072105851            Gas           Gov. Aggregation
COH             189754800018                Gas           Gov. Aggregation   VEDO         4020162072134898            Gas           Gov. Aggregation
COH             197997100011                Gas           Gov. Aggregation   VEDO         4020162072210535            Gas           Gov. Aggregation
COH             194835160014                Gas           Gov. Aggregation   VEDO         4020162072225002            Gas           Gov. Aggregation
COH             111115990024                Gas           Gov. Aggregation   VEDO         4020162072232024            Gas           Gov. Aggregation
COH             199049270013                Gas           Gov. Aggregation   VEDO         4020162072394599            Gas           Gov. Aggregation
COH             111130000065                Gas           Gov. Aggregation   VEDO         4020162072408817            Gas           Gov. Aggregation
COH             111123820013                Gas           Gov. Aggregation   VEDO         4020162072420784            Gas           Gov. Aggregation
COH             163562370016                Gas           Gov. Aggregation   VEDO         4020162072521590            Gas           Gov. Aggregation
COH             157697650029                Gas           Gov. Aggregation   VEDO         4020162102219946            Gas           Gov. Aggregation
COH             111123910023                Gas           Gov. Aggregation   VEDO         4020162102459869            Gas           Gov. Aggregation
COH             111038910033                Gas           Gov. Aggregation   VEDO         4020165812312896            Gas           Gov. Aggregation
COH             191352820012                Gas           Gov. Aggregation   VEDO         4020180902171378            Gas           Gov. Aggregation
COH             136118860017                Gas           Gov. Aggregation   VEDO         4020182012250258            Gas           Gov. Aggregation
COH             142756290017                Gas           Gov. Aggregation   VEDO         4020183682196622            Gas           Gov. Aggregation
COH             111137400012                Gas           Gov. Aggregation   VEDO         4020190002262209            Gas           Gov. Aggregation
COH             160706050029                Gas           Gov. Aggregation   VEDO         4020190572282327            Gas           Gov. Aggregation
COH             199578280010                Gas           Gov. Aggregation   VEDO         4020202812241998            Gas           Gov. Aggregation
COH             172426970017                Gas           Gov. Aggregation   VEDO         4020204652490524            Gas           Gov. Aggregation
COH             111114930028                Gas           Gov. Aggregation   VEDO         4020207082594181            Gas           Gov. Aggregation
COH             193977070041                Gas           Gov. Aggregation   VEDO         4020208462130197            Gas           Gov. Aggregation
COH             167667040019                Gas           Gov. Aggregation   VEDO         4020218882121945            Gas           Gov. Aggregation
COH             187576250069                Gas           Gov. Aggregation   VEDO         4020220522312503            Gas           Gov. Aggregation
COH             174082770017                Gas           Gov. Aggregation   VEDO         4020220712160393            Gas           Gov. Aggregation
COH             195271630010                Gas           Gov. Aggregation   VEDO         4020234022109322            Gas           Gov. Aggregation
COH             161053860014                Gas           Gov. Aggregation   VEDO         4020241222252875            Gas           Gov. Aggregation
COH             111131860027                Gas           Gov. Aggregation   VEDO         4020242672439769            Gas           Gov. Aggregation
COH             175102220026                Gas           Gov. Aggregation   VEDO         4020243142634850            Gas           Gov. Aggregation
COH             173280470075                Gas           Gov. Aggregation   VEDO         4020254002465383            Gas           Gov. Aggregation
COH             189559020016                Gas           Gov. Aggregation   VEDO         4020257072612568            Gas           Gov. Aggregation
COH             199863970010                Gas           Gov. Aggregation   VEDO         4020262182118123            Gas           Gov. Aggregation
COH             188672410015                Gas           Gov. Aggregation   VEDO         4020262872119407            Gas           Gov. Aggregation
COH             161719580011                Gas           Gov. Aggregation   VEDO         4020264342314672            Gas           Gov. Aggregation
COH             185469330025                Gas           Gov. Aggregation   VEDO         4020279302642734            Gas           Gov. Aggregation
COH             111141550049                Gas           Gov. Aggregation   VEDO         4002106472205853            Gas           Gov. Aggregation
COH             199271140019                Gas           Gov. Aggregation   VEDO         4015914412517117            Gas           Gov. Aggregation
COH             197609480013                Gas           Gov. Aggregation   VEDO         4017536812444973            Gas           Gov. Aggregation
COH             153415540031                Gas           Gov. Aggregation   VEDO         4001495432121565            Gas           Gov. Aggregation
COH             166047410016                Gas           Gov. Aggregation   VEDO         4019335102432634            Gas           Gov. Aggregation
COH             111122890048                Gas           Gov. Aggregation   VEDO         4019142682419569            Gas           Gov. Aggregation
COH             199239140017                Gas           Gov. Aggregation   VEDO         4019142732354636            Gas           Gov. Aggregation
COH             198392540010                Gas           Gov. Aggregation   VEDO         4019145512334083            Gas           Gov. Aggregation
COH             170825120039                Gas           Gov. Aggregation   VEDO         4020301392450401            Gas           Gov. Aggregation
COH             138229340019                Gas           Gov. Aggregation   VEDO         4020310792605128            Gas           Gov. Aggregation
COH             168818350012                Gas           Gov. Aggregation   VEDO         4019188772594244            Gas           Gov. Aggregation
COH             145609040017                Gas           Gov. Aggregation   VEDO         4020334132594197            Gas           Gov. Aggregation
COH             165296800027                Gas           Gov. Aggregation   VEDO         4017611052594251            Gas           Gov. Aggregation
COH             136259680053                Gas           Gov. Aggregation   VEDO         4020325932307669            Gas           Gov. Aggregation
COH             165402290028                Gas           Gov. Aggregation   VEDO         4020792272474581            Gas           Gov. Aggregation
COH             199863980018                Gas           Gov. Aggregation   VEDO         4017554322453059            Gas           Gov. Aggregation
COH             111121500014                Gas           Gov. Aggregation   VEDO         4016784752183897            Gas           Gov. Aggregation
COH             192537850013                Gas           Gov. Aggregation   VEDO         4016254492250174            Gas           Gov. Aggregation
COH             197474340019                Gas           Gov. Aggregation   VEDO         4016309312215860            Gas           Gov. Aggregation
COH             186769330028                Gas           Gov. Aggregation   VEDO         4016630772442763            Gas           Gov. Aggregation
COH             139300910150                Gas           Gov. Aggregation   VEDO         4017672182206533            Gas           Gov. Aggregation
COH             142206150584                Gas           Gov. Aggregation   VEDO         4019160472510114            Gas           Gov. Aggregation
COH             150057660020                Gas           Gov. Aggregation   VEDO         4018700862417030            Gas           Gov. Aggregation
COH             159279430029                Gas           Gov. Aggregation   VEDO         4020862482604585            Gas           Gov. Aggregation
COH             174008010049                Gas           Gov. Aggregation   VEDO         4020863552284114            Gas           Gov. Aggregation
COH             196088990013                Gas           Gov. Aggregation   VEDO         4019519292279438            Gas           Gov. Aggregation
COH             197534120035                Gas           Gov. Aggregation   VEDO         4003398402336683            Gas           Gov. Aggregation
COH             141550740386                Gas           Gov. Aggregation   VEDO         4018262522522410            Gas           Gov. Aggregation
COH             145002230013                Gas           Gov. Aggregation   VEDO         4018019082420162            Gas           Gov. Aggregation
COH             200056330011                Gas           Gov. Aggregation   VEDO         4020309932280483            Gas           Gov. Aggregation
COH             200259540017                Gas           Gov. Aggregation   VEDO         4020137342281853            Gas           Gov. Aggregation
COH             200325970016                Gas           Gov. Aggregation   VEDO         4020324552127174            Gas           Gov. Aggregation
COH             200465710014                Gas           Gov. Aggregation   VEDO         4020303302118247            Gas           Gov. Aggregation
COH             200729090015                Gas           Gov. Aggregation   VEDO         4018675262366974            Gas           Gov. Aggregation
COH             200738080018                Gas           Gov. Aggregation   VEDO         4017263332348244            Gas           Gov. Aggregation
COH             200774430018                Gas           Gov. Aggregation   VEDO         4020162072359426            Gas           Gov. Aggregation
COH             201029740011                Gas           Gov. Aggregation   VEDO         4017497342233728            Gas           Gov. Aggregation
COH             200469570016                Gas           Gov. Aggregation   VEDO         4020313872204199            Gas           Gov. Aggregation
COH             191287890017                Gas           Gov. Aggregation   VEDO         4020859432230276            Gas           Gov. Aggregation
COH             121948510018                Gas           Gov. Aggregation   VEDO         4020857452235404            Gas           Gov. Aggregation
COH             121966030039                Gas           Gov. Aggregation   VEDO         4020097932328392            Gas           Gov. Aggregation
COH             121976080038                Gas           Gov. Aggregation   VEDO         4020786452285521            Gas           Gov. Aggregation
COH             131610960035                Gas           Gov. Aggregation   VEDO         4020907042317590            Gas           Gov. Aggregation
COH             157665170081                Gas           Gov. Aggregation   VEDO         4004095072411034            Gas           Gov. Aggregation
COH             167029890040                Gas           Gov. Aggregation   VEDO         4020866352140563            Gas           Gov. Aggregation
COH             122014300038                Gas           Gov. Aggregation   VEDO         4020834092249606            Gas           Gov. Aggregation
COH             144492470017                Gas           Gov. Aggregation   VEDO         4020834092479593            Gas           Gov. Aggregation
COH             166075270026                Gas           Gov. Aggregation   VEDO         4002029692378953            Gas           Gov. Aggregation
COH             195299260010                Gas           Gov. Aggregation   VEDO         4020122972240872            Gas           Gov. Aggregation
COH             172278920021                Gas           Gov. Aggregation   VEDO         4001365822127028            Gas           Gov. Aggregation
COH             188913130012                Gas           Gov. Aggregation   VEDO         4001447142297440            Gas           Gov. Aggregation
COH             149549660084                Gas           Gov. Aggregation   VEDO         4001324782130547            Gas           Gov. Aggregation
COH             167568450013                Gas           Gov. Aggregation   VEDO         4018831622290511            Gas           Gov. Aggregation
COH             141602720021                Gas           Gov. Aggregation   VEDO         4019353092397732            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             159948740016                Gas           Gov. Aggregation   VEDO            4017978412446245            Gas           Gov. Aggregation
COH             157796830012                Gas           Gov. Aggregation   VEDO            4019023172216241            Gas           Gov. Aggregation
COH             162665490014                Gas           Gov. Aggregation   VEDO            4004245252412036            Gas           Gov. Aggregation
COH             141389020022                Gas           Gov. Aggregation   VEDO            4015718912464672            Gas           Gov. Aggregation
COH             168475420042                Gas           Gov. Aggregation   VEDO            4001831912209016            Gas           Gov. Aggregation
COH             158109220078                Gas           Gov. Aggregation   VEDO            4001395612159253            Gas           Gov. Aggregation
COH             199203260017                Gas           Gov. Aggregation   VEDO            4002815302404350            Gas           Gov. Aggregation
COH             193213880012                Gas           Gov. Aggregation   VEDO            4003478212345001            Gas           Gov. Aggregation
COH             169187820039                Gas           Gov. Aggregation   VEDO            4020879862473614            Gas           Gov. Aggregation
COH             140214710027                Gas           Gov. Aggregation   VEDO            4020321052179945            Gas           Gov. Aggregation
COH             121953560026                Gas           Gov. Aggregation   VEDO            4019858522220826            Gas           Gov. Aggregation
COH             188377950018                Gas           Gov. Aggregation   VEDO            4020333472301429            Gas           Gov. Aggregation
COH             132010750049                Gas           Gov. Aggregation   VEDO            4001878262183225            Gas           Gov. Aggregation
COH             121973200029                Gas           Gov. Aggregation   VEDO            4004686262476023            Gas           Gov. Aggregation
COH             167128480028                Gas           Gov. Aggregation   VEDO            4002513962246327            Gas           Gov. Aggregation
COH             121977140015                Gas           Gov. Aggregation   VEDO            4020311302473653            Gas           Gov. Aggregation
COH             155364120045                Gas           Gov. Aggregation   VEDO            4020290562332758            Gas           Gov. Aggregation
COH             188337800022                Gas           Gov. Aggregation   VEDO            4020291962243137            Gas           Gov. Aggregation
COH             169093490010                Gas           Gov. Aggregation   VEDO            4020868712302374            Gas           Gov. Aggregation
COH             197395220021                Gas           Gov. Aggregation   VEDO            4020302092486676            Gas           Gov. Aggregation
COH             121947930021                Gas           Gov. Aggregation   VEDO            4020324342476310            Gas           Gov. Aggregation
COH             188826880010                Gas           Gov. Aggregation   VEDO            4019318392515047            Gas           Gov. Aggregation
COH             121957990019                Gas           Gov. Aggregation   VEDO            4019373882540657            Gas           Gov. Aggregation
COH             198178540998                Gas           Gov. Aggregation   VEDO            4017879582137589            Gas           Gov. Aggregation
COH             196636220011                Gas           Gov. Aggregation   VEDO            4017935162369625            Gas           Gov. Aggregation
COH             170691800013                Gas           Gov. Aggregation   VEDO            4017689142144550            Gas           Gov. Aggregation
COH             138915700054                Gas           Gov. Aggregation   VEDO            4002736412429148            Gas           Gov. Aggregation
COH             121956320011                Gas           Gov. Aggregation   VEDO            4003169402312794            Gas           Gov. Aggregation
COH             147092750031                Gas           Gov. Aggregation   VEDO            4020300232516123            Gas           Gov. Aggregation
COH             121932180020                Gas           Gov. Aggregation   VEDO            4018670942638878            Gas           Gov. Aggregation
COH             157119190011                Gas           Gov. Aggregation   VEDO            4019206482416548            Gas           Gov. Aggregation
COH             129342260026                Gas           Gov. Aggregation   VEDO            4020852752191480            Gas           Gov. Aggregation
COH             146083090049                Gas           Gov. Aggregation   VEDO            4018272492634398            Gas           Gov. Aggregation
COH             122020380011                Gas           Gov. Aggregation   VEDO            4019016812305668            Gas           Gov. Aggregation
COH             193433660012                Gas           Gov. Aggregation   VEDO            4020883562403128            Gas           Gov. Aggregation
COH             166592690059                Gas           Gov. Aggregation   VEDO            4019298192461491            Gas           Gov. Aggregation
COH             189078350017                Gas           Gov. Aggregation   VEDO            4019453672425276            Gas           Gov. Aggregation
COH             121979570020                Gas           Gov. Aggregation   VEDO            4018915732379924            Gas           Gov. Aggregation
COH             121958920020                Gas           Gov. Aggregation   VEDO            4018935792196936            Gas           Gov. Aggregation
COH             121961180010                Gas           Gov. Aggregation   VEDO            4016647782195493            Gas           Gov. Aggregation
COH             196730960016                Gas           Gov. Aggregation   VEDO            4020898212522458            Gas           Gov. Aggregation
COH             155826970010                Gas           Gov. Aggregation   VEDO            4019917422387320            Gas           Gov. Aggregation
COH             158492370021                Gas           Gov. Aggregation   VEDO            4020402392359295            Gas           Gov. Aggregation
COH             197251070018                Gas           Gov. Aggregation   VEDO            4019896132410642            Gas           Gov. Aggregation
COH             121955380020                Gas           Gov. Aggregation   VEDO            4019903032211744            Gas           Gov. Aggregation
COH             152539910023                Gas           Gov. Aggregation   VEDO            4020045602160699            Gas           Gov. Aggregation
COH             162890790014                Gas           Gov. Aggregation   VEDO            4020123822197767            Gas           Gov. Aggregation
COH             197300960016                Gas           Gov. Aggregation   VEDO            4020311742259831            Gas           Gov. Aggregation
COH             171268540014                Gas           Gov. Aggregation   VEDO            4020309652295798            Gas           Gov. Aggregation
COH             172475790021                Gas           Gov. Aggregation   VEDO            4004903232346521            Gas           Gov. Aggregation
COH             160837200020                Gas           Gov. Aggregation   VEDO            4003530302350381            Gas           Gov. Aggregation
COH             165199470014                Gas           Gov. Aggregation   VEDO            4001712172456660            Gas           Gov. Aggregation
COH             195697270014                Gas           Gov. Aggregation   VEDO            4020866492114910            Gas           Gov. Aggregation
COH             197200200017                Gas           Gov. Aggregation   VEDO            4020316422323754            Gas           Gov. Aggregation
COH             192587470045                Gas           Gov. Aggregation   COH             156604850014                Gas           Gov. Aggregation
COH             121972170019                Gas           Gov. Aggregation   VEDO            4018487092138517            Gas           Gov. Aggregation
COH             152361790179                Gas           Gov. Aggregation   COH             186626010036                Gas           Gov. Aggregation
COH             193170450014                Gas           Gov. Aggregation   COH             210182660013                Gas           Gov. Aggregation
COH             134420260103                Gas           Gov. Aggregation   COH             207061710013                Gas           Gov. Aggregation
COH             136785460027                Gas           Gov. Aggregation   COH             203578640017                Gas           Gov. Aggregation
COH             161839370566                Gas           Gov. Aggregation   COH             205983250036                Gas           Gov. Aggregation
COH             150723590031                Gas           Gov. Aggregation   COH             210196180015                Gas           Gov. Aggregation
COH             139843260031                Gas           Gov. Aggregation   COH             207019900012                Gas           Gov. Aggregation
COH             185155270041                Gas           Gov. Aggregation   COH             203586770031                Gas           Gov. Aggregation
COH             145003090020                Gas           Gov. Aggregation   COH             206663840011                Gas           Gov. Aggregation
COH             121978840043                Gas           Gov. Aggregation   COH             196188450014                Gas           Gov. Aggregation
COH             170841040014                Gas           Gov. Aggregation   COH             203182500024                Gas           Gov. Aggregation
COH             186430600028                Gas           Gov. Aggregation   COH             110628560028                Gas           Gov. Aggregation
COH             140125230027                Gas           Gov. Aggregation   COH             201265880030                Gas           Gov. Aggregation
COH             158412750396                Gas           Gov. Aggregation   COH             156558460015                Gas           Gov. Aggregation
COH             158301870010                Gas           Gov. Aggregation   COH             197424100023                Gas           Gov. Aggregation
COH             135659110028                Gas           Gov. Aggregation   COH             110647490014                Gas           Gov. Aggregation
COH             198794500016                Gas           Gov. Aggregation   COH             199778820012                Gas           Gov. Aggregation
COH             136395060073                Gas           Gov. Aggregation   COH             209007300011                Gas           Gov. Aggregation
COH             186663490010                Gas           Gov. Aggregation   COH             110647510019                Gas           Gov. Aggregation
COH             168879890011                Gas           Gov. Aggregation   COH             194895840015                Gas           Gov. Aggregation
COH             195440700016                Gas           Gov. Aggregation   COH             129848990049                Gas           Gov. Aggregation
COH             122555220039                Gas           Gov. Aggregation   COH             210068740018                Gas           Gov. Aggregation
COH             145562900025                Gas           Gov. Aggregation   COH             208112620012                Gas           Gov. Aggregation
COH             199318370011                Gas           Gov. Aggregation   COH             196285580011                Gas           Gov. Aggregation
COH             137235670045                Gas           Gov. Aggregation   COH             201739440073                Gas           Gov. Aggregation
COH             158413623129                Gas           Gov. Aggregation   COH             110568500019                Gas           Gov. Aggregation
COH             158412750234                Gas           Gov. Aggregation   VEDO            4004306432434108            Gas           Gov. Aggregation
COH             197922740014                Gas           Gov. Aggregation   VEDO            4001140292673590            Gas           Gov. Aggregation
COH             146231770023                Gas           Gov. Aggregation   VEDO            4003419002337303            Gas           Gov. Aggregation
COH             121961040019                Gas           Gov. Aggregation   VEDO            4003820002595979            Gas           Gov. Aggregation
COH             158412753473                Gas           Gov. Aggregation   VEDO            4015446752223202            Gas           Gov. Aggregation
COH             171489560021                Gas           Gov. Aggregation   VEDO            4004793612487716            Gas           Gov. Aggregation
COH             140413550038                Gas           Gov. Aggregation   VEDO            4019875842364127            Gas           Gov. Aggregation
COH             121926130014                Gas           Gov. Aggregation   VEDO            4003326432361583            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             112192520038                Gas           Gov. Aggregation   VEDO         4016706722122593            Gas           Gov. Aggregation
COH             175201650017                Gas           Gov. Aggregation   VEDO         4001038682540344            Gas           Gov. Aggregation
COH             167505730016                Gas           Gov. Aggregation   VEDO         4001046912433352            Gas           Gov. Aggregation
COH             187538210012                Gas           Gov. Aggregation   VEDO         4001064062106117            Gas           Gov. Aggregation
COH             128916620015                Gas           Gov. Aggregation   VEDO         4001074312300673            Gas           Gov. Aggregation
COH             163503350014                Gas           Gov. Aggregation   VEDO         4001081192109302            Gas           Gov. Aggregation
COH             169243860013                Gas           Gov. Aggregation   VEDO         4001104522109914            Gas           Gov. Aggregation
COH             121961600011                Gas           Gov. Aggregation   VEDO         4003618102486871            Gas           Gov. Aggregation
COH             121962880011                Gas           Gov. Aggregation   VEDO         4003618102509997            Gas           Gov. Aggregation
COH             160119270019                Gas           Gov. Aggregation   VEDO         4003625892245955            Gas           Gov. Aggregation
COH             146069950020                Gas           Gov. Aggregation   VEDO         4003649522363058            Gas           Gov. Aggregation
COH             164374940014                Gas           Gov. Aggregation   VEDO         4003681192218068            Gas           Gov. Aggregation
COH             165611070012                Gas           Gov. Aggregation   VEDO         4003699912368334            Gas           Gov. Aggregation
COH             146902940024                Gas           Gov. Aggregation   VEDO         4003705852368953            Gas           Gov. Aggregation
COH             142774190029                Gas           Gov. Aggregation   VEDO         4003757902106664            Gas           Gov. Aggregation
COH             121963770021                Gas           Gov. Aggregation   VEDO         4004630582348307            Gas           Gov. Aggregation
COH             167971800014                Gas           Gov. Aggregation   VEDO         4004676282474915            Gas           Gov. Aggregation
COH             121988500016                Gas           Gov. Aggregation   VEDO         4004698232356427            Gas           Gov. Aggregation
COH             121977740019                Gas           Gov. Aggregation   VEDO         4004716572479293            Gas           Gov. Aggregation
COH             144791710030                Gas           Gov. Aggregation   VEDO         4004719532479628            Gas           Gov. Aggregation
COH             137886320030                Gas           Gov. Aggregation   VEDO         4004885592206553            Gas           Gov. Aggregation
COH             122019870057                Gas           Gov. Aggregation   VEDO         4004896862274556            Gas           Gov. Aggregation
COH             136273890031                Gas           Gov. Aggregation   VEDO         4004974282370052            Gas           Gov. Aggregation
COH             150328320026                Gas           Gov. Aggregation   VEDO         4004979762508396            Gas           Gov. Aggregation
COH             146177460015                Gas           Gov. Aggregation   VEDO         4005000662510757            Gas           Gov. Aggregation
COH             121990570017                Gas           Gov. Aggregation   VEDO         4005006142511357            Gas           Gov. Aggregation
COH             138915700045                Gas           Gov. Aggregation   VEDO         4005021792513141            Gas           Gov. Aggregation
COH             147138740026                Gas           Gov. Aggregation   VEDO         4005054872322330            Gas           Gov. Aggregation
COH             135219710088                Gas           Gov. Aggregation   VEDO         4016095002488926            Gas           Gov. Aggregation
COH             122000140022                Gas           Gov. Aggregation   VEDO         4016129082336547            Gas           Gov. Aggregation
COH             140336070015                Gas           Gov. Aggregation   VEDO         4016232222381333            Gas           Gov. Aggregation
COH             140597200015                Gas           Gov. Aggregation   VEDO         4016267682414292            Gas           Gov. Aggregation
COH             147648860020                Gas           Gov. Aggregation   VEDO         4016272242138009            Gas           Gov. Aggregation
COH             121932150017                Gas           Gov. Aggregation   VEDO         4016299182412672            Gas           Gov. Aggregation
COH             190741500015                Gas           Gov. Aggregation   VEDO         4016322492124559            Gas           Gov. Aggregation
COH             193170470029                Gas           Gov. Aggregation   VEDO         4016332752360108            Gas           Gov. Aggregation
COH             163011420012                Gas           Gov. Aggregation   VEDO         4017998892301860            Gas           Gov. Aggregation
COH             174456730012                Gas           Gov. Aggregation   VEDO         4018027752135932            Gas           Gov. Aggregation
COH             176738460028                Gas           Gov. Aggregation   VEDO         4018113502174325            Gas           Gov. Aggregation
COH             171176740017                Gas           Gov. Aggregation   VEDO         4018138712553814            Gas           Gov. Aggregation
COH             199037990017                Gas           Gov. Aggregation   VEDO         4018699602270556            Gas           Gov. Aggregation
COH             161976210032                Gas           Gov. Aggregation   VEDO         4018712912639698            Gas           Gov. Aggregation
COH             121990680041                Gas           Gov. Aggregation   VEDO         4018734792585331            Gas           Gov. Aggregation
COH             121967420044                Gas           Gov. Aggregation   VEDO         4018810322339509            Gas           Gov. Aggregation
COH             166212440028                Gas           Gov. Aggregation   VEDO         4018953042458179            Gas           Gov. Aggregation
COH             137748110018                Gas           Gov. Aggregation   VEDO         4019014222378684            Gas           Gov. Aggregation
COH             122016220013                Gas           Gov. Aggregation   VEDO         4019015342578957            Gas           Gov. Aggregation
COH             122019440379                Gas           Gov. Aggregation   VEDO         4019031212449776            Gas           Gov. Aggregation
COH             171540400015                Gas           Gov. Aggregation   VEDO         4019044292643186            Gas           Gov. Aggregation
COH             197259760017                Gas           Gov. Aggregation   VEDO         4019052692141142            Gas           Gov. Aggregation
COH             192314100021                Gas           Gov. Aggregation   VEDO         4020149372238118            Gas           Gov. Aggregation
COH             156554380010                Gas           Gov. Aggregation   VEDO         4020152382522056            Gas           Gov. Aggregation
COH             135134650027                Gas           Gov. Aggregation   VEDO         4020160072266284            Gas           Gov. Aggregation
COH             171322310016                Gas           Gov. Aggregation   VEDO         4020169402155944            Gas           Gov. Aggregation
COH             170514940018                Gas           Gov. Aggregation   VEDO         4019531052241375            Gas           Gov. Aggregation
COH             171761200019                Gas           Gov. Aggregation   VEDO         4017456382458040            Gas           Gov. Aggregation
COH             162893570014                Gas           Gov. Aggregation   VEDO         4015176172188605            Gas           Gov. Aggregation
COH             121939420016                Gas           Gov. Aggregation   VEDO         4018442242274410            Gas           Gov. Aggregation
COH             157998820034                Gas           Gov. Aggregation   VEDO         4018814802371885            Gas           Gov. Aggregation
COH             196690710014                Gas           Gov. Aggregation   VEDO         4018961212137240            Gas           Gov. Aggregation
COH             149638280021                Gas           Gov. Aggregation   VEDO         4018689052383200            Gas           Gov. Aggregation
COH             121976740020                Gas           Gov. Aggregation   VEDO         4020843112137947            Gas           Gov. Aggregation
COH             121937230010                Gas           Gov. Aggregation   VEDO         4020105672512401            Gas           Gov. Aggregation
COH             133325800031                Gas           Gov. Aggregation   VEDO         4020843932247427            Gas           Gov. Aggregation
COH             160711500014                Gas           Gov. Aggregation   VEDO         4015867882445025            Gas           Gov. Aggregation
COH             193455750017                Gas           Gov. Aggregation   VEDO         4001259112457035            Gas           Gov. Aggregation
COH             133217340037                Gas           Gov. Aggregation   VEDO         4017443422349655            Gas           Gov. Aggregation
COH             196034050031                Gas           Gov. Aggregation   VEDO         4015708192487611            Gas           Gov. Aggregation
COH             186487270010                Gas           Gov. Aggregation   VEDO         4002990662282240            Gas           Gov. Aggregation
COH             197723760012                Gas           Gov. Aggregation   VEDO         4002244742217069            Gas           Gov. Aggregation
COH             153586400011                Gas           Gov. Aggregation   VEDO         4002728602267720            Gas           Gov. Aggregation
COH             121960650022                Gas           Gov. Aggregation   VEDO         4001527822184623            Gas           Gov. Aggregation
COH             198469250018                Gas           Gov. Aggregation   VEDO         4020028912245011            Gas           Gov. Aggregation
COH             163697090038                Gas           Gov. Aggregation   VEDO         4020296692269689            Gas           Gov. Aggregation
COH             168801680018                Gas           Gov. Aggregation   VEDO         4020888732237680            Gas           Gov. Aggregation
COH             157776980068                Gas           Gov. Aggregation   VEDO         4020889292299339            Gas           Gov. Aggregation
COH             168021000032                Gas           Gov. Aggregation   VEDO         4016296212443801            Gas           Gov. Aggregation
COH             196553190014                Gas           Gov. Aggregation   VEDO         4016213842170679            Gas           Gov. Aggregation
COH             148269630030                Gas           Gov. Aggregation   VEDO         4015573952465122            Gas           Gov. Aggregation
COH             121992610014                Gas           Gov. Aggregation   VEDO         4019207562296974            Gas           Gov. Aggregation
COH             175496560022                Gas           Gov. Aggregation   VEDO         4017506292195941            Gas           Gov. Aggregation
COH             190273930027                Gas           Gov. Aggregation   VEDO         4019160252302452            Gas           Gov. Aggregation
COH             164562430058                Gas           Gov. Aggregation   VEDO         4020844022358474            Gas           Gov. Aggregation
COH             187118050016                Gas           Gov. Aggregation   VEDO         4020296682287446            Gas           Gov. Aggregation
COH             146944410027                Gas           Gov. Aggregation   VEDO         4020327662289796            Gas           Gov. Aggregation
COH             138335950016                Gas           Gov. Aggregation   VEDO         4020321042168548            Gas           Gov. Aggregation
COH             191667590014                Gas           Gov. Aggregation   VEDO         4020245602163936            Gas           Gov. Aggregation
COH             198178540318                Gas           Gov. Aggregation   VEDO         4019089342184867            Gas           Gov. Aggregation
COH             130686930015                Gas           Gov. Aggregation   VEDO         4019342692263948            Gas           Gov. Aggregation
COH             142302920024                Gas           Gov. Aggregation   VEDO         4002568572442272            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             138092410015                Gas           Gov. Aggregation   VEDO         4001815942345689            Gas           Gov. Aggregation
COH             121957360011                Gas           Gov. Aggregation   VEDO         4001152632114379            Gas           Gov. Aggregation
COH             132903670043                Gas           Gov. Aggregation   VEDO         4020204392429295            Gas           Gov. Aggregation
COH             185496040010                Gas           Gov. Aggregation   VEDO         4020289102386313            Gas           Gov. Aggregation
COH             136426270018                Gas           Gov. Aggregation   VEDO         4001571992139737            Gas           Gov. Aggregation
COH             193091490014                Gas           Gov. Aggregation   VEDO         4001658902422590            Gas           Gov. Aggregation
COH             189763660037                Gas           Gov. Aggregation   VEDO         4018063592501217            Gas           Gov. Aggregation
COH             121959710013                Gas           Gov. Aggregation   VEDO         4003207762316740            Gas           Gov. Aggregation
COH             170537460011                Gas           Gov. Aggregation   VEDO         4020336292455244            Gas           Gov. Aggregation
COH             170926810012                Gas           Gov. Aggregation   VEDO         4001019712193608            Gas           Gov. Aggregation
COH             166069860016                Gas           Gov. Aggregation   VEDO         4001034952103357            Gas           Gov. Aggregation
COH             171011200018                Gas           Gov. Aggregation   VEDO         4001036032252922            Gas           Gov. Aggregation
COH             174917270011                Gas           Gov. Aggregation   VEDO         4001697002165627            Gas           Gov. Aggregation
COH             174001870016                Gas           Gov. Aggregation   VEDO         4001731972623532            Gas           Gov. Aggregation
COH             170305370011                Gas           Gov. Aggregation   VEDO         4001738612169645            Gas           Gov. Aggregation
COH             177524360012                Gas           Gov. Aggregation   VEDO         4001765542188282            Gas           Gov. Aggregation
COH             175278860012                Gas           Gov. Aggregation   VEDO         4001795312175277            Gas           Gov. Aggregation
COH             154148050058                Gas           Gov. Aggregation   VEDO         4001796812175410            Gas           Gov. Aggregation
COH             187125270015                Gas           Gov. Aggregation   VEDO         4001828192227105            Gas           Gov. Aggregation
COH             189715280010                Gas           Gov. Aggregation   VEDO         4002867722233130            Gas           Gov. Aggregation
COH             172902750040                Gas           Gov. Aggregation   VEDO         4002899472623267            Gas           Gov. Aggregation
COH             156008500039                Gas           Gov. Aggregation   VEDO         4002899492467674            Gas           Gov. Aggregation
COH             192348820010                Gas           Gov. Aggregation   VEDO         4002988752294152            Gas           Gov. Aggregation
COH             171113660034                Gas           Gov. Aggregation   VEDO         4003037412299149            Gas           Gov. Aggregation
COH             195533460010                Gas           Gov. Aggregation   VEDO         4003080882303571            Gas           Gov. Aggregation
COH             198561690010                Gas           Gov. Aggregation   VEDO         4003162912320390            Gas           Gov. Aggregation
COH             197790970017                Gas           Gov. Aggregation   VEDO         4003890522388860            Gas           Gov. Aggregation
COH             188176130043                Gas           Gov. Aggregation   VEDO         4004070652408392            Gas           Gov. Aggregation
COH             194740030012                Gas           Gov. Aggregation   VEDO         4004107812647450            Gas           Gov. Aggregation
COH             198967890018                Gas           Gov. Aggregation   VEDO         4004202012305966            Gas           Gov. Aggregation
COH             198998240019                Gas           Gov. Aggregation   VEDO         4004202012451332            Gas           Gov. Aggregation
COH             199513320017                Gas           Gov. Aggregation   VEDO         4004202012638126            Gas           Gov. Aggregation
COH             199698640010                Gas           Gov. Aggregation   VEDO         4004241332427005            Gas           Gov. Aggregation
COH             136086320037                Gas           Gov. Aggregation   VEDO         4004837782492593            Gas           Gov. Aggregation
COH             141329750123                Gas           Gov. Aggregation   VEDO         4004844172493331            Gas           Gov. Aggregation
COH             147602460039                Gas           Gov. Aggregation   VEDO         4004890682673922            Gas           Gov. Aggregation
COH             197000800015                Gas           Gov. Aggregation   VEDO         4004918992501590            Gas           Gov. Aggregation
COH             158412750609                Gas           Gov. Aggregation   VEDO         4004960872153186            Gas           Gov. Aggregation
COH             148522400049                Gas           Gov. Aggregation   VEDO         4005006922261629            Gas           Gov. Aggregation
COH             149061210046                Gas           Gov. Aggregation   VEDO         4005011502511954            Gas           Gov. Aggregation
COH             149549660584                Gas           Gov. Aggregation   VEDO         4015375232579678            Gas           Gov. Aggregation
COH             149700100034                Gas           Gov. Aggregation   VEDO         4015446232675031            Gas           Gov. Aggregation
COH             149719070612                Gas           Gov. Aggregation   VEDO         4015520612447126            Gas           Gov. Aggregation
COH             166445550200                Gas           Gov. Aggregation   VEDO         4015581962129637            Gas           Gov. Aggregation
COH             171582160036                Gas           Gov. Aggregation   VEDO         4015628502156971            Gas           Gov. Aggregation
COH             173708050039                Gas           Gov. Aggregation   VEDO         4015698572443407            Gas           Gov. Aggregation
COH             191505040057                Gas           Gov. Aggregation   VEDO         4015797342227558            Gas           Gov. Aggregation
COH             191667720025                Gas           Gov. Aggregation   VEDO         4016473732121040            Gas           Gov. Aggregation
COH             193453250025                Gas           Gov. Aggregation   VEDO         4016593122599143            Gas           Gov. Aggregation
COH             194600280034                Gas           Gov. Aggregation   VEDO         4016671632274770            Gas           Gov. Aggregation
COH             194842500017                Gas           Gov. Aggregation   VEDO         4016720352508527            Gas           Gov. Aggregation
COH             194842500053                Gas           Gov. Aggregation   VEDO         4016762822599337            Gas           Gov. Aggregation
COH             195202000035                Gas           Gov. Aggregation   VEDO         4016780982230448            Gas           Gov. Aggregation
COH             197305310030                Gas           Gov. Aggregation   VEDO         4016918882513060            Gas           Gov. Aggregation
COH             197395220049                Gas           Gov. Aggregation   VEDO         4017575342450243            Gas           Gov. Aggregation
COH             175179460052                Gas           Gov. Aggregation   VEDO         4017580522133657            Gas           Gov. Aggregation
COH             176957590036                Gas           Gov. Aggregation   VEDO         4017597762473961            Gas           Gov. Aggregation
COH             199912900019                Gas           Gov. Aggregation   VEDO         4017640792270137            Gas           Gov. Aggregation
COH             200949330018                Gas           Gov. Aggregation   VEDO         4017784462150490            Gas           Gov. Aggregation
COH             200965190014                Gas           Gov. Aggregation   VEDO         4017784842411730            Gas           Gov. Aggregation
COH             200992860016                Gas           Gov. Aggregation   VEDO         4018007422631285            Gas           Gov. Aggregation
COH             201024490014                Gas           Gov. Aggregation   VEDO         4018060822481054            Gas           Gov. Aggregation
COH             200090640014                Gas           Gov. Aggregation   VEDO         4018083992498472            Gas           Gov. Aggregation
COH             200102620020                Gas           Gov. Aggregation   VEDO         4018086892404784            Gas           Gov. Aggregation
COH             200154570013                Gas           Gov. Aggregation   VEDO         4018094112250454            Gas           Gov. Aggregation
COH             200164460015                Gas           Gov. Aggregation   VEDO         4018260672149913            Gas           Gov. Aggregation
COH             200251010014                Gas           Gov. Aggregation   VEDO         4018282662314189            Gas           Gov. Aggregation
COH             200257300011                Gas           Gov. Aggregation   VEDO         4018735152639955            Gas           Gov. Aggregation
COH             200372790015                Gas           Gov. Aggregation   VEDO         4018759252408500            Gas           Gov. Aggregation
COH             200384550010                Gas           Gov. Aggregation   VEDO         4018763992639792            Gas           Gov. Aggregation
COH             200404470013                Gas           Gov. Aggregation   VEDO         4018803252479023            Gas           Gov. Aggregation
COH             200056460014                Gas           Gov. Aggregation   VEDO         4018841702458717            Gas           Gov. Aggregation
COH             200056450016                Gas           Gov. Aggregation   VEDO         4018939522538996            Gas           Gov. Aggregation
COH             121966870015                Gas           Gov. Aggregation   VEDO         4019034262484399            Gas           Gov. Aggregation
COH             195612200052                Gas           Gov. Aggregation   VEDO         4019307102254885            Gas           Gov. Aggregation
COH             125612190022                Gas           Gov. Aggregation   VEDO         4019381762517248            Gas           Gov. Aggregation
COH             200493130017                Gas           Gov. Aggregation   VEDO         4019406972377365            Gas           Gov. Aggregation
COH             200497270010                Gas           Gov. Aggregation   VEDO         4019407952207897            Gas           Gov. Aggregation
COH             200608090011                Gas           Gov. Aggregation   VEDO         4019430282501196            Gas           Gov. Aggregation
COH             134393750056                Gas           Gov. Aggregation   VEDO         4019436202438207            Gas           Gov. Aggregation
COH             169101540010                Gas           Gov. Aggregation   VEDO         4019516382121523            Gas           Gov. Aggregation
COH             158959670046                Gas           Gov. Aggregation   VEDO         4019861012534889            Gas           Gov. Aggregation
COH             162857450015                Gas           Gov. Aggregation   VEDO         4019886462224790            Gas           Gov. Aggregation
COH             121921780027                Gas           Gov. Aggregation   VEDO         4019904572518925            Gas           Gov. Aggregation
COH             121954490029                Gas           Gov. Aggregation   VEDO         4019907392456013            Gas           Gov. Aggregation
COH             169042760010                Gas           Gov. Aggregation   VEDO         4019932232304355            Gas           Gov. Aggregation
COH             169042610011                Gas           Gov. Aggregation   VEDO         4019960822307356            Gas           Gov. Aggregation
COH             168250100018                Gas           Gov. Aggregation   VEDO         4020167772251675            Gas           Gov. Aggregation
COH             168818490013                Gas           Gov. Aggregation   VEDO         4020194362166878            Gas           Gov. Aggregation
COH             135968220048                Gas           Gov. Aggregation   VEDO         4020208592163045            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             157316920028                Gas           Gov. Aggregation   VEDO         4020243512163179            Gas           Gov. Aggregation
COH             169695990019                Gas           Gov. Aggregation   VEDO         4020272432341814            Gas           Gov. Aggregation
COH             156482360035                Gas           Gov. Aggregation   VEDO         4020273992274031            Gas           Gov. Aggregation
COH             170243280012                Gas           Gov. Aggregation   VEDO         4001019712133538            Gas           Gov. Aggregation
COH             121949640037                Gas           Gov. Aggregation   VEDO         4001046912631860            Gas           Gov. Aggregation
COH             168539440015                Gas           Gov. Aggregation   VEDO         4001404312137932            Gas           Gov. Aggregation
COH             150402160013                Gas           Gov. Aggregation   VEDO         4001417772139156            Gas           Gov. Aggregation
COH             121993280012                Gas           Gov. Aggregation   VEDO         4001422042139547            Gas           Gov. Aggregation
COH             168733430015                Gas           Gov. Aggregation   VEDO         4001629102159274            Gas           Gov. Aggregation
COH             169042750012                Gas           Gov. Aggregation   VEDO         4002983352429755            Gas           Gov. Aggregation
COH             145117450023                Gas           Gov. Aggregation   VEDO         4003128362461519            Gas           Gov. Aggregation
COH             168639530014                Gas           Gov. Aggregation   VEDO         4003128362485343            Gas           Gov. Aggregation
COH             121958290014                Gas           Gov. Aggregation   VEDO         4003159952311821            Gas           Gov. Aggregation
COH             172739990010                Gas           Gov. Aggregation   VEDO         4003166352312489            Gas           Gov. Aggregation
COH             165777190026                Gas           Gov. Aggregation   VEDO         4003187332314656            Gas           Gov. Aggregation
COH             159151280021                Gas           Gov. Aggregation   VEDO         4003647522640489            Gas           Gov. Aggregation
COH             171729700012                Gas           Gov. Aggregation   VEDO         4003658352646165            Gas           Gov. Aggregation
COH             173327960018                Gas           Gov. Aggregation   VEDO         4004898162499295            Gas           Gov. Aggregation
COH             135228320036                Gas           Gov. Aggregation   VEDO         4004916762501358            Gas           Gov. Aggregation
COH             155321800042                Gas           Gov. Aggregation   VEDO         4015164142454518            Gas           Gov. Aggregation
COH             127473870023                Gas           Gov. Aggregation   VEDO         4015869202485377            Gas           Gov. Aggregation
COH             164944700033                Gas           Gov. Aggregation   VEDO         4015879512320184            Gas           Gov. Aggregation
COH             173538160019                Gas           Gov. Aggregation   VEDO         4015921432161659            Gas           Gov. Aggregation
COH             171613510017                Gas           Gov. Aggregation   VEDO         4015925452107946            Gas           Gov. Aggregation
COH             169909100029                Gas           Gov. Aggregation   VEDO         4015951912240694            Gas           Gov. Aggregation
COH             172802020018                Gas           Gov. Aggregation   VEDO         4015957602179967            Gas           Gov. Aggregation
COH             157364060046                Gas           Gov. Aggregation   VEDO         4017850732630826            Gas           Gov. Aggregation
COH             173567000011                Gas           Gov. Aggregation   VEDO         4017879992107476            Gas           Gov. Aggregation
COH             172758010015                Gas           Gov. Aggregation   VEDO         4017883892379985            Gas           Gov. Aggregation
COH             173355050010                Gas           Gov. Aggregation   VEDO         4017897892350372            Gas           Gov. Aggregation
COH             171831650016                Gas           Gov. Aggregation   VEDO         4018635012636862            Gas           Gov. Aggregation
COH             121930760022                Gas           Gov. Aggregation   VEDO         4019185062606454            Gas           Gov. Aggregation
COH             121953240023                Gas           Gov. Aggregation   VEDO         4019185202438113            Gas           Gov. Aggregation
COH             173620060015                Gas           Gov. Aggregation   VEDO         4019238872409565            Gas           Gov. Aggregation
COH             121975150053                Gas           Gov. Aggregation   VEDO         4019376082633038            Gas           Gov. Aggregation
COH             121931550015                Gas           Gov. Aggregation   VEDO         4019384362184221            Gas           Gov. Aggregation
COH             121931730017                Gas           Gov. Aggregation   VEDO         4004800832318322            Gas           Gov. Aggregation
COH             152403380031                Gas           Gov. Aggregation   VEDO         4002548402189040            Gas           Gov. Aggregation
COH             174804550011                Gas           Gov. Aggregation   VEDO         4003549222352378            Gas           Gov. Aggregation
COH             121943490013                Gas           Gov. Aggregation   VEDO         4003062252399480            Gas           Gov. Aggregation
COH             112736840028                Gas           Gov. Aggregation   VEDO         4019912092228735            Gas           Gov. Aggregation
COH             175334780019                Gas           Gov. Aggregation   VEDO         4001268662125313            Gas           Gov. Aggregation
COH             175384160014                Gas           Gov. Aggregation   VEDO         4001365892134377            Gas           Gov. Aggregation
COH             174657100018                Gas           Gov. Aggregation   VEDO         4001652812529468            Gas           Gov. Aggregation
COH             174759030017                Gas           Gov. Aggregation   VEDO         4001737482169540            Gas           Gov. Aggregation
COH             154517690015                Gas           Gov. Aggregation   VEDO         4001991662194528            Gas           Gov. Aggregation
COH             171334340015                Gas           Gov. Aggregation   VEDO         4002072162202516            Gas           Gov. Aggregation
COH             158412750261                Gas           Gov. Aggregation   VEDO         4002121542207270            Gas           Gov. Aggregation
COH             158413621532                Gas           Gov. Aggregation   VEDO         4002140192492767            Gas           Gov. Aggregation
COH             173968630019                Gas           Gov. Aggregation   VEDO         4002983252585236            Gas           Gov. Aggregation
COH             175098130017                Gas           Gov. Aggregation   VEDO         4003005122295833            Gas           Gov. Aggregation
COH             137980510021                Gas           Gov. Aggregation   VEDO         4003132622308948            Gas           Gov. Aggregation
COH             171526840013                Gas           Gov. Aggregation   VEDO         4003176152461525            Gas           Gov. Aggregation
COH             140024690061                Gas           Gov. Aggregation   VEDO         4003295092325708            Gas           Gov. Aggregation
COH             121933080029                Gas           Gov. Aggregation   VEDO         4003322742396924            Gas           Gov. Aggregation
COH             185386280013                Gas           Gov. Aggregation   VEDO         4003560852674793            Gas           Gov. Aggregation
COH             161511770020                Gas           Gov. Aggregation   VEDO         4003580312355672            Gas           Gov. Aggregation
COH             175607330014                Gas           Gov. Aggregation   VEDO         4004109802412659            Gas           Gov. Aggregation
COH             187206810019                Gas           Gov. Aggregation   VEDO         4004225952106079            Gas           Gov. Aggregation
COH             177405340018                Gas           Gov. Aggregation   VEDO         4004242232427084            Gas           Gov. Aggregation
COH             187419350015                Gas           Gov. Aggregation   VEDO         4004317542435298            Gas           Gov. Aggregation
COH             175593330015                Gas           Gov. Aggregation   VEDO         4004382882442465            Gas           Gov. Aggregation
COH             176813710016                Gas           Gov. Aggregation   VEDO         4004815352490112            Gas           Gov. Aggregation
COH             174664800016                Gas           Gov. Aggregation   VEDO         4004908332500412            Gas           Gov. Aggregation
COH             186633740010                Gas           Gov. Aggregation   VEDO         4004953432561670            Gas           Gov. Aggregation
COH             187700990014                Gas           Gov. Aggregation   VEDO         4005082062519956            Gas           Gov. Aggregation
COH             185730890014                Gas           Gov. Aggregation   VEDO         4005093642629318            Gas           Gov. Aggregation
COH             187572760015                Gas           Gov. Aggregation   VEDO         4015552392331221            Gas           Gov. Aggregation
COH             200727630015                Gas           Gov. Aggregation   VEDO         4015675762558365            Gas           Gov. Aggregation
COH             200748090015                Gas           Gov. Aggregation   VEDO         4015711422388554            Gas           Gov. Aggregation
COH             200745950010                Gas           Gov. Aggregation   VEDO         4015861542203788            Gas           Gov. Aggregation
COH             200820830015                Gas           Gov. Aggregation   VEDO         4015973462412426            Gas           Gov. Aggregation
COH             200835360013                Gas           Gov. Aggregation   VEDO         4016085122112788            Gas           Gov. Aggregation
COH             170761300028                Gas           Gov. Aggregation   VEDO         4016119502203907            Gas           Gov. Aggregation
COH             185256390015                Gas           Gov. Aggregation   VEDO         4016182262629422            Gas           Gov. Aggregation
COH             185332730011                Gas           Gov. Aggregation   VEDO         4016436132410089            Gas           Gov. Aggregation
COH             186000240016                Gas           Gov. Aggregation   VEDO         4016777822141070            Gas           Gov. Aggregation
COH             121925410026                Gas           Gov. Aggregation   VEDO         4017686242354661            Gas           Gov. Aggregation
COH             140159490077                Gas           Gov. Aggregation   VEDO         4017764882218827            Gas           Gov. Aggregation
COH             185716320013                Gas           Gov. Aggregation   VEDO         4017770642250133            Gas           Gov. Aggregation
COH             151113720044                Gas           Gov. Aggregation   VEDO         4017771922101676            Gas           Gov. Aggregation
COH             186780350011                Gas           Gov. Aggregation   VEDO         4017825622484926            Gas           Gov. Aggregation
COH             185727710018                Gas           Gov. Aggregation   VEDO         4017838072629673            Gas           Gov. Aggregation
COH             149150443215                Gas           Gov. Aggregation   VEDO         4017865142347993            Gas           Gov. Aggregation
COH             187270780011                Gas           Gov. Aggregation   VEDO         4018102492485675            Gas           Gov. Aggregation
COH             122000900013                Gas           Gov. Aggregation   VEDO         4018284812634509            Gas           Gov. Aggregation
COH             164559430046                Gas           Gov. Aggregation   VEDO         4018668792605803            Gas           Gov. Aggregation
COH             146263790031                Gas           Gov. Aggregation   VEDO         4018763892181897            Gas           Gov. Aggregation
COH             175132130022                Gas           Gov. Aggregation   VEDO         4018821162640725            Gas           Gov. Aggregation
COH             153271360017                Gas           Gov. Aggregation   VEDO         4018934652532823            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             153005070020                Gas           Gov. Aggregation   VEDO         4019093512358201            Gas           Gov. Aggregation
COH             186504730015                Gas           Gov. Aggregation   VEDO         4019154342673400            Gas           Gov. Aggregation
COH             187118020012                Gas           Gov. Aggregation   VEDO         4019426782333587            Gas           Gov. Aggregation
COH             187170230018                Gas           Gov. Aggregation   VEDO         4019427932394425            Gas           Gov. Aggregation
COH             157420680046                Gas           Gov. Aggregation   VEDO         4019463472409923            Gas           Gov. Aggregation
COH             176324740017                Gas           Gov. Aggregation   VEDO         4019759652224923            Gas           Gov. Aggregation
COH             121975880014                Gas           Gov. Aggregation   VEDO         4019846452499993            Gas           Gov. Aggregation
COH             121994540042                Gas           Gov. Aggregation   VEDO         4019865442451677            Gas           Gov. Aggregation
COH             174462340020                Gas           Gov. Aggregation   VEDO         4019883072672712            Gas           Gov. Aggregation
COH             148642520031                Gas           Gov. Aggregation   VEDO         4019900912601660            Gas           Gov. Aggregation
COH             188116810019                Gas           Gov. Aggregation   VEDO         4020136642516832            Gas           Gov. Aggregation
COH             200462820017                Gas           Gov. Aggregation   VEDO         4020156142386229            Gas           Gov. Aggregation
COH             148549050038                Gas           Gov. Aggregation   VEDO         4020164742674977            Gas           Gov. Aggregation
COH             187557180019                Gas           Gov. Aggregation   VEDO         4020178492305791            Gas           Gov. Aggregation
COH             176322280018                Gas           Gov. Aggregation   VEDO         4020251102498829            Gas           Gov. Aggregation
COH             156489820052                Gas           Gov. Aggregation   VEDO         4020270192375287            Gas           Gov. Aggregation
COH             176886960011                Gas           Gov. Aggregation   VEDO         4018968432642240            Gas           Gov. Aggregation
COH             185499680010                Gas           Gov. Aggregation   VEDO         4020848782417279            Gas           Gov. Aggregation
COH             121955730017                Gas           Gov. Aggregation   VEDO         4001478502516172            Gas           Gov. Aggregation
COH             121938280018                Gas           Gov. Aggregation   VEDO         4020332832485950            Gas           Gov. Aggregation
COH             175753970011                Gas           Gov. Aggregation   VEDO         4020784382343421            Gas           Gov. Aggregation
COH             185678960011                Gas           Gov. Aggregation   VEDO         4003525402349862            Gas           Gov. Aggregation
COH             189533650018                Gas           Gov. Aggregation   VEDO         4004084482409910            Gas           Gov. Aggregation
COH             156504890036                Gas           Gov. Aggregation   VEDO         4015085842100512            Gas           Gov. Aggregation
COH             177476260025                Gas           Gov. Aggregation   VEDO         4015419282184246            Gas           Gov. Aggregation
COH             135121410051                Gas           Gov. Aggregation   VEDO         4015979712136736            Gas           Gov. Aggregation
COH             159900490082                Gas           Gov. Aggregation   VEDO         4015990022114327            Gas           Gov. Aggregation
COH             188981030010                Gas           Gov. Aggregation   VEDO         4016168872415521            Gas           Gov. Aggregation
COH             160339070033                Gas           Gov. Aggregation   VEDO         4018077022144456            Gas           Gov. Aggregation
COH             162352200044                Gas           Gov. Aggregation   VEDO         4018430172277154            Gas           Gov. Aggregation
COH             165402340027                Gas           Gov. Aggregation   VEDO         4018883762298718            Gas           Gov. Aggregation
COH             186504720035                Gas           Gov. Aggregation   VEDO         4019903772206248            Gas           Gov. Aggregation
COH             167973240036                Gas           Gov. Aggregation   VEDO         4019903772207724            Gas           Gov. Aggregation
COH             155529850042                Gas           Gov. Aggregation   VEDO         4019903772275840            Gas           Gov. Aggregation
COH             188935420015                Gas           Gov. Aggregation   VEDO         4019903772302437            Gas           Gov. Aggregation
COH             189198210012                Gas           Gov. Aggregation   VEDO         4019903772519071            Gas           Gov. Aggregation
COH             151762250048                Gas           Gov. Aggregation   VEDO         4020795392387633            Gas           Gov. Aggregation
COH             157166760058                Gas           Gov. Aggregation   VEDO         4020188932426588            Gas           Gov. Aggregation
COH             157997500051                Gas           Gov. Aggregation   VEDO         4017236322402051            Gas           Gov. Aggregation
COH             167583820022                Gas           Gov. Aggregation   VEDO         4020313832474284            Gas           Gov. Aggregation
COH             173784260017                Gas           Gov. Aggregation   VEDO         4015890442288925            Gas           Gov. Aggregation
COH             188190170018                Gas           Gov. Aggregation   VEDO         4016924552217685            Gas           Gov. Aggregation
COH             187626780025                Gas           Gov. Aggregation   VEDO         4018630682400209            Gas           Gov. Aggregation
COH             189602410011                Gas           Gov. Aggregation   VEDO         4019903772389661            Gas           Gov. Aggregation
COH             121985830040                Gas           Gov. Aggregation   VEDO         4019897102123507            Gas           Gov. Aggregation
COH             188756300010                Gas           Gov. Aggregation   VEDO         4019903772223770            Gas           Gov. Aggregation
COH             135125010011                Gas           Gov. Aggregation   VEDO         4019903772236150            Gas           Gov. Aggregation
COH             190617990016                Gas           Gov. Aggregation   VEDO         4019903772242710            Gas           Gov. Aggregation
COH             164562430334                Gas           Gov. Aggregation   VEDO         4019903772255379            Gas           Gov. Aggregation
COH             188725870016                Gas           Gov. Aggregation   VEDO         4001232172524716            Gas           Gov. Aggregation
COH             189962810015                Gas           Gov. Aggregation   VEDO         4001234532122118            Gas           Gov. Aggregation
COH             177326030048                Gas           Gov. Aggregation   VEDO         4001289942161728            Gas           Gov. Aggregation
COH             122030220031                Gas           Gov. Aggregation   VEDO         4001386102136221            Gas           Gov. Aggregation
COH             188839610019                Gas           Gov. Aggregation   VEDO         4001400562137581            Gas           Gov. Aggregation
COH             193296850014                Gas           Gov. Aggregation   VEDO         4001483252145272            Gas           Gov. Aggregation
COH             192654140032                Gas           Gov. Aggregation   VEDO         4001716082596078            Gas           Gov. Aggregation
COH             167634050025                Gas           Gov. Aggregation   VEDO         4001732892579012            Gas           Gov. Aggregation
COH             191737750011                Gas           Gov. Aggregation   VEDO         4001751062334475            Gas           Gov. Aggregation
COH             135257610025                Gas           Gov. Aggregation   VEDO         4001764932172201            Gas           Gov. Aggregation
COH             193070260016                Gas           Gov. Aggregation   VEDO         4001782222173930            Gas           Gov. Aggregation
COH             192069100013                Gas           Gov. Aggregation   VEDO         4001811592457970            Gas           Gov. Aggregation
COH             121974120079                Gas           Gov. Aggregation   VEDO         4001824082178007            Gas           Gov. Aggregation
COH             158412752394                Gas           Gov. Aggregation   VEDO         4001834912179061            Gas           Gov. Aggregation
COH             158412752401                Gas           Gov. Aggregation   VEDO         4001882402157556            Gas           Gov. Aggregation
COH             191125340023                Gas           Gov. Aggregation   VEDO         4002244032224613            Gas           Gov. Aggregation
COH             172012720034                Gas           Gov. Aggregation   VEDO         4002249142364313            Gas           Gov. Aggregation
COH             191776120011                Gas           Gov. Aggregation   VEDO         4002252032220307            Gas           Gov. Aggregation
COH             174294160016                Gas           Gov. Aggregation   VEDO         4002258462220935            Gas           Gov. Aggregation
COH             192920930013                Gas           Gov. Aggregation   VEDO         4002258962220991            Gas           Gov. Aggregation
COH             193347920010                Gas           Gov. Aggregation   VEDO         4002270752222247            Gas           Gov. Aggregation
COH             188880800021                Gas           Gov. Aggregation   VEDO         4002273052222456            Gas           Gov. Aggregation
COH             192445440014                Gas           Gov. Aggregation   VEDO         4002283002223392            Gas           Gov. Aggregation
COH             192683810030                Gas           Gov. Aggregation   VEDO         4002299672225029            Gas           Gov. Aggregation
COH             188484480029                Gas           Gov. Aggregation   VEDO         4002304592630301            Gas           Gov. Aggregation
COH             191445120012                Gas           Gov. Aggregation   VEDO         4002761662584014            Gas           Gov. Aggregation
COH             193046060019                Gas           Gov. Aggregation   VEDO         4002793052134137            Gas           Gov. Aggregation
COH             167583830020                Gas           Gov. Aggregation   VEDO         4002858842412530            Gas           Gov. Aggregation
COH             192181240025                Gas           Gov. Aggregation   VEDO         4002871682282185            Gas           Gov. Aggregation
COH             121932910026                Gas           Gov. Aggregation   VEDO         4002966222435463            Gas           Gov. Aggregation
COH             166035500021                Gas           Gov. Aggregation   VEDO         4002998032295107            Gas           Gov. Aggregation
COH             195212940019                Gas           Gov. Aggregation   VEDO         4003082372634554            Gas           Gov. Aggregation
COH             121939060021                Gas           Gov. Aggregation   VEDO         4003114072307026            Gas           Gov. Aggregation
COH             122545540097                Gas           Gov. Aggregation   VEDO         4003116292307265            Gas           Gov. Aggregation
COH             142389200069                Gas           Gov. Aggregation   VEDO         4003377322334388            Gas           Gov. Aggregation
COH             195212830012                Gas           Gov. Aggregation   VEDO         4003529862103552            Gas           Gov. Aggregation
COH             195299180017                Gas           Gov. Aggregation   VEDO         4003575892355216            Gas           Gov. Aggregation
COH             194259860037                Gas           Gov. Aggregation   VEDO         4003601382357989            Gas           Gov. Aggregation
COH             195755350013                Gas           Gov. Aggregation   VEDO         4003644002362480            Gas           Gov. Aggregation
COH             198391580014                Gas           Gov. Aggregation   VEDO         4003658852364001            Gas           Gov. Aggregation
COH             189154220012                Gas           Gov. Aggregation   VEDO         4003661192364246            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             171761480048                Gas           Gov. Aggregation   VEDO         4003685932366889            Gas           Gov. Aggregation
COH             135171270010                Gas           Gov. Aggregation   VEDO         4003959532396303            Gas           Gov. Aggregation
COH             192764070016                Gas           Gov. Aggregation   VEDO         4003973542489067            Gas           Gov. Aggregation
COH             153234450034                Gas           Gov. Aggregation   VEDO         4003977922398276            Gas           Gov. Aggregation
COH             186430610026                Gas           Gov. Aggregation   VEDO         4004086532410137            Gas           Gov. Aggregation
COH             172302190022                Gas           Gov. Aggregation   VEDO         4004107902412454            Gas           Gov. Aggregation
COH             186133290024                Gas           Gov. Aggregation   VEDO         4004232972426094            Gas           Gov. Aggregation
COH             196835050015                Gas           Gov. Aggregation   VEDO         4004325572436190            Gas           Gov. Aggregation
COH             112312690028                Gas           Gov. Aggregation   VEDO         4004608832467431            Gas           Gov. Aggregation
COH             163298080045                Gas           Gov. Aggregation   VEDO         4004618032468473            Gas           Gov. Aggregation
COH             196686020018                Gas           Gov. Aggregation   VEDO         4004653512472356            Gas           Gov. Aggregation
COH             196842020016                Gas           Gov. Aggregation   VEDO         4004711962478816            Gas           Gov. Aggregation
COH             172402710048                Gas           Gov. Aggregation   VEDO         4004721672479854            Gas           Gov. Aggregation
COH             195881350034                Gas           Gov. Aggregation   VEDO         4004740752481911            Gas           Gov. Aggregation
COH             187914500031                Gas           Gov. Aggregation   VEDO         4004776352186650            Gas           Gov. Aggregation
COH             196686090014                Gas           Gov. Aggregation   VEDO         4004776352485863            Gas           Gov. Aggregation
COH             195438430018                Gas           Gov. Aggregation   VEDO         4004823702491028            Gas           Gov. Aggregation
COH             197798870012                Gas           Gov. Aggregation   VEDO         4004824922491154            Gas           Gov. Aggregation
COH             197504150014                Gas           Gov. Aggregation   VEDO         4015152232670995            Gas           Gov. Aggregation
COH             186951690035                Gas           Gov. Aggregation   VEDO         4015232182535777            Gas           Gov. Aggregation
COH             121975151374                Gas           Gov. Aggregation   VEDO         4015258492163190            Gas           Gov. Aggregation
COH             121991740019                Gas           Gov. Aggregation   VEDO         4015272632592114            Gas           Gov. Aggregation
COH             139301344145                Gas           Gov. Aggregation   VEDO         4015293612470096            Gas           Gov. Aggregation
COH             156616496135                Gas           Gov. Aggregation   VEDO         4015421492290482            Gas           Gov. Aggregation
COH             158412752849                Gas           Gov. Aggregation   VEDO         4016083042579255            Gas           Gov. Aggregation
COH             158412752876                Gas           Gov. Aggregation   VEDO         4016106332298977            Gas           Gov. Aggregation
COH             158412752894                Gas           Gov. Aggregation   VEDO         4016164542597006            Gas           Gov. Aggregation
COH             158412752901                Gas           Gov. Aggregation   VEDO         4016206512588481            Gas           Gov. Aggregation
COH             198200060016                Gas           Gov. Aggregation   VEDO         4016215782480788            Gas           Gov. Aggregation
COH             146157010039                Gas           Gov. Aggregation   VEDO         4016246762627104            Gas           Gov. Aggregation
COH             121966140027                Gas           Gov. Aggregation   VEDO         4016269992454432            Gas           Gov. Aggregation
COH             198347650012                Gas           Gov. Aggregation   VEDO         4016689382595104            Gas           Gov. Aggregation
COH             197604300010                Gas           Gov. Aggregation   VEDO         4016881012377370            Gas           Gov. Aggregation
COH             197815680014                Gas           Gov. Aggregation   VEDO         4016924132621426            Gas           Gov. Aggregation
COH             197336390011                Gas           Gov. Aggregation   VEDO         4016982272238647            Gas           Gov. Aggregation
COH             192690050035                Gas           Gov. Aggregation   VEDO         4017123212224108            Gas           Gov. Aggregation
COH             197410210010                Gas           Gov. Aggregation   VEDO         4017174172625220            Gas           Gov. Aggregation
COH             192230570030                Gas           Gov. Aggregation   VEDO         4017206952643005            Gas           Gov. Aggregation
COH             196216540014                Gas           Gov. Aggregation   VEDO         4017259102170843            Gas           Gov. Aggregation
COH             188880990022                Gas           Gov. Aggregation   VEDO         4017310952141778            Gas           Gov. Aggregation
COH             197466010015                Gas           Gov. Aggregation   VEDO         4017338322605613            Gas           Gov. Aggregation
COH             192961580020                Gas           Gov. Aggregation   VEDO         4017871512543804            Gas           Gov. Aggregation
COH             195703410028                Gas           Gov. Aggregation   VEDO         4017891402441385            Gas           Gov. Aggregation
COH             150607930026                Gas           Gov. Aggregation   VEDO         4017891402486838            Gas           Gov. Aggregation
COH             122010100029                Gas           Gov. Aggregation   VEDO         4017919372303728            Gas           Gov. Aggregation
COH             161837980053                Gas           Gov. Aggregation   VEDO         4018028872172185            Gas           Gov. Aggregation
COH             167186010024                Gas           Gov. Aggregation   VEDO         4018030192369810            Gas           Gov. Aggregation
COH             197029530012                Gas           Gov. Aggregation   VEDO         4018045692331190            Gas           Gov. Aggregation
COH             185155200027                Gas           Gov. Aggregation   VEDO         4018068742215134            Gas           Gov. Aggregation
COH             161557730031                Gas           Gov. Aggregation   VEDO         4018201172248346            Gas           Gov. Aggregation
COH             195764670017                Gas           Gov. Aggregation   VEDO         4018216872151132            Gas           Gov. Aggregation
COH             195789000015                Gas           Gov. Aggregation   VEDO         4018477632388374            Gas           Gov. Aggregation
COH             197885640015                Gas           Gov. Aggregation   VEDO         4018637612590489            Gas           Gov. Aggregation
COH             197466120012                Gas           Gov. Aggregation   VEDO         4018648842323507            Gas           Gov. Aggregation
COH             187648480031                Gas           Gov. Aggregation   VEDO         4018663352648817            Gas           Gov. Aggregation
COH             193279470038                Gas           Gov. Aggregation   VEDO         4018750112126564            Gas           Gov. Aggregation
COH             188793250022                Gas           Gov. Aggregation   VEDO         4018790352543800            Gas           Gov. Aggregation
COH             187357140020                Gas           Gov. Aggregation   VEDO         4018795562640474            Gas           Gov. Aggregation
COH             197259750019                Gas           Gov. Aggregation   VEDO         4018953922614274            Gas           Gov. Aggregation
COH             193022590045                Gas           Gov. Aggregation   VEDO         4019021452231257            Gas           Gov. Aggregation
COH             193022590054                Gas           Gov. Aggregation   VEDO         4019032502261798            Gas           Gov. Aggregation
COH             197568200019                Gas           Gov. Aggregation   VEDO         4019034482297470            Gas           Gov. Aggregation
COH             191531480023                Gas           Gov. Aggregation   VEDO         4019034502643101            Gas           Gov. Aggregation
COH             191403530032                Gas           Gov. Aggregation   VEDO         4019097642485254            Gas           Gov. Aggregation
COH             187040210026                Gas           Gov. Aggregation   VEDO         4019142132188041            Gas           Gov. Aggregation
COH             122016680035                Gas           Gov. Aggregation   VEDO         4019183532152439            Gas           Gov. Aggregation
COH             193224190023                Gas           Gov. Aggregation   VEDO         4019349452177798            Gas           Gov. Aggregation
COH             194747310019                Gas           Gov. Aggregation   VEDO         4019372062144264            Gas           Gov. Aggregation
COH             189773530033                Gas           Gov. Aggregation   VEDO         4019389322397610            Gas           Gov. Aggregation
COH             144701660030                Gas           Gov. Aggregation   VEDO         4019413642219512            Gas           Gov. Aggregation
COH             197358470018                Gas           Gov. Aggregation   VEDO         4019416592543806            Gas           Gov. Aggregation
COH             176977330029                Gas           Gov. Aggregation   VEDO         4019454002625880            Gas           Gov. Aggregation
COH             195588960038                Gas           Gov. Aggregation   VEDO         4019463142277938            Gas           Gov. Aggregation
COH             195612200034                Gas           Gov. Aggregation   VEDO         4019807072671632            Gas           Gov. Aggregation
COH             195736330035                Gas           Gov. Aggregation   VEDO         4019819692346941            Gas           Gov. Aggregation
COH             196092410015                Gas           Gov. Aggregation   VEDO         4019838802115709            Gas           Gov. Aggregation
COH             196486240016                Gas           Gov. Aggregation   VEDO         4019840282128499            Gas           Gov. Aggregation
COH             196616980032                Gas           Gov. Aggregation   VEDO         4019906452501732            Gas           Gov. Aggregation
COH             198178540952                Gas           Gov. Aggregation   VEDO         4019909342255653            Gas           Gov. Aggregation
COH             198178540970                Gas           Gov. Aggregation   VEDO         4019927682221411            Gas           Gov. Aggregation
COH             198178541031                Gas           Gov. Aggregation   VEDO         4019951912371388            Gas           Gov. Aggregation
COH             198178541059                Gas           Gov. Aggregation   VEDO         4020029222519311            Gas           Gov. Aggregation
COH             135667150032                Gas           Gov. Aggregation   VEDO         4020110492431184            Gas           Gov. Aggregation
COH             122445990022                Gas           Gov. Aggregation   VEDO         4020139562475099            Gas           Gov. Aggregation
COH             142782450054                Gas           Gov. Aggregation   VEDO         4020140142280931            Gas           Gov. Aggregation
COH             146098340045                Gas           Gov. Aggregation   VEDO         4020152152517764            Gas           Gov. Aggregation
COH             149143070051                Gas           Gov. Aggregation   VEDO         4020152792379840            Gas           Gov. Aggregation
COH             197066680013                Gas           Gov. Aggregation   VEDO         4020181922312399            Gas           Gov. Aggregation
COH             198209740015                Gas           Gov. Aggregation   VEDO         4020198542194988            Gas           Gov. Aggregation
COH             173894300060                Gas           Gov. Aggregation   VEDO         4015362732499823            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             175679400063                Gas           Gov. Aggregation   VEDO            4019390822550180            Gas           Gov. Aggregation
COH             176152180038                Gas           Gov. Aggregation   VEDO            4020283902293104            Gas           Gov. Aggregation
COH             176262550028                Gas           Gov. Aggregation   VEDO            4019165192142355            Gas           Gov. Aggregation
COH             177276000023                Gas           Gov. Aggregation   VEDO            4001620272158466            Gas           Gov. Aggregation
COH             186309560033                Gas           Gov. Aggregation   VEDO            4016439322411766            Gas           Gov. Aggregation
COH             189226160030                Gas           Gov. Aggregation   VEDO            4003463642343506            Gas           Gov. Aggregation
COH             190488940039                Gas           Gov. Aggregation   VEDO            4004011342676987            Gas           Gov. Aggregation
COH             199054360013                Gas           Gov. Aggregation   VEDO            4002800782462921            Gas           Gov. Aggregation
COH             199087270013                Gas           Gov. Aggregation   COH             124647950011                Gas           Gov. Aggregation
COH             199120120012                Gas           Gov. Aggregation   COH             151461560032                Gas           Gov. Aggregation
COH             199401240011                Gas           Gov. Aggregation   COH             111107930014                Gas           Gov. Aggregation
COH             199513430014                Gas           Gov. Aggregation   COH             111118030010                Gas           Gov. Aggregation
COH             199554670018                Gas           Gov. Aggregation   COH             111118010014                Gas           Gov. Aggregation
COH             199567590018                Gas           Gov. Aggregation   COH             121992530020                Gas           Gov. Aggregation
COH             199660060011                Gas           Gov. Aggregation   COH             123798590019                Gas           Gov. Aggregation
COH             199698650018                Gas           Gov. Aggregation   COH             168021640010                Gas           Gov. Aggregation
COH             199698770013                Gas           Gov. Aggregation   VEDO            4001080852535630            Gas           Gov. Aggregation
COH             199712050012                Gas           Gov. Aggregation   VEDO            4001095182109044            Gas           Gov. Aggregation
COH             199770330011                Gas           Gov. Aggregation   VEDO            4001099792109454            Gas           Gov. Aggregation
COH             199829600019                Gas           Gov. Aggregation   VEDO            4001117922351441            Gas           Gov. Aggregation
COH             199892490010                Gas           Gov. Aggregation   VEDO            4001119272380283            Gas           Gov. Aggregation
COH             195628350030                Gas           Gov. Aggregation   VEDO            4001146722113856            Gas           Gov. Aggregation
COH             133250170015                Gas           Gov. Aggregation   VEDO            4001164312382339            Gas           Gov. Aggregation
COH             121959020018                Gas           Gov. Aggregation   VEDO            4001164522671602            Gas           Gov. Aggregation
COH             121971180019                Gas           Gov. Aggregation   COH             194697870448                Gas           Gov. Aggregation
COH             138691650051                Gas           Gov. Aggregation   COH             209530490013                Gas           Gov. Aggregation
COH             150178950023                Gas           Gov. Aggregation   COH             210018590015                Gas           Gov. Aggregation
COH             121939070010                Gas           Gov. Aggregation   COH             124080800014                Gas           Gov. Aggregation
COH             134489010012                Gas           Gov. Aggregation   COH             169141750021                Gas           Gov. Aggregation
COH             141022800024                Gas           Gov. Aggregation   COH             194697870297                Gas           Gov. Aggregation
COH             121948080019                Gas           Gov. Aggregation   COH             194697870457                Gas           Gov. Aggregation
COH             155998920026                Gas           Gov. Aggregation   COH             161372440061                Gas           Gov. Aggregation
COH             155896740011                Gas           Gov. Aggregation   COH             194697870386                Gas           Gov. Aggregation
COH             166216240013                Gas           Gov. Aggregation   COH             202357650014                Gas           Gov. Aggregation
COH             142005220021                Gas           Gov. Aggregation   COH             141129650039                Gas           Gov. Aggregation
COH             150328180026                Gas           Gov. Aggregation   COH             124079640039                Gas           Gov. Aggregation
COH             122014420024                Gas           Gov. Aggregation   COH             154015160029                Gas           Gov. Aggregation
COH             155154650021                Gas           Gov. Aggregation   COH             208551540019                Gas           Gov. Aggregation
COH             164827980015                Gas           Gov. Aggregation   COH             167571170015                Gas           Gov. Aggregation
COH             130749740020                Gas           Gov. Aggregation   COH             204414020236                Gas           Gov. Aggregation
COH             152000790020                Gas           Gov. Aggregation   COH             200689950010                Gas           Gov. Aggregation
COH             160229550017                Gas           Gov. Aggregation   COH             204764870013                Gas           Gov. Aggregation
COH             122027890010                Gas           Gov. Aggregation   COH             198602920031                Gas           Gov. Aggregation
COH             140351970023                Gas           Gov. Aggregation   COH             185884530023                Gas           Gov. Aggregation
COH             140351970014                Gas           Gov. Aggregation   COH             205538820011                Gas           Gov. Aggregation
COH             122020650014                Gas           Gov. Aggregation   COH             200107460015                Gas           Gov. Aggregation
COH             121982720021                Gas           Gov. Aggregation   COH             169724090079                Gas           Gov. Aggregation
COH             136452630026                Gas           Gov. Aggregation   COH             204414020343                Gas           Gov. Aggregation
COH             156711300021                Gas           Gov. Aggregation   COH             204414020370                Gas           Gov. Aggregation
COH             121994280038                Gas           Gov. Aggregation   COH             155614020036                Gas           Gov. Aggregation
COH             123750550026                Gas           Gov. Aggregation   COH             114759770023                Gas           Gov. Aggregation
COH             113151320026                Gas           Gov. Aggregation   COH             204378980019                Gas           Gov. Aggregation
COH             165781540014                Gas           Gov. Aggregation   COH             199508150014                Gas           Gov. Aggregation
COH             121955250018                Gas           Gov. Aggregation   COH             192557820044                Gas           Gov. Aggregation
COH             121955440018                Gas           Gov. Aggregation   COH             175791310028                Gas           Gov. Aggregation
COH             160322400010                Gas           Gov. Aggregation   COH             208122970018                Gas           Gov. Aggregation
COH             121939350011                Gas           Gov. Aggregation   COH             124167250025                Gas           Gov. Aggregation
COH             160475100010                Gas           Gov. Aggregation   COH             189898690063                Gas           Gov. Aggregation
COH             150621810012                Gas           Gov. Aggregation   COH             202827540010                Gas           Gov. Aggregation
COH             163807310018                Gas           Gov. Aggregation   COH             188543520033                Gas           Gov. Aggregation
COH             121947960016                Gas           Gov. Aggregation   COH             114746930026                Gas           Gov. Aggregation
COH             121955150073                Gas           Gov. Aggregation   COH             154359300021                Gas           Gov. Aggregation
COH             121978380022                Gas           Gov. Aggregation   COH             162380110044                Gas           Gov. Aggregation
COH             152298710018                Gas           Gov. Aggregation   COH             124020360031                Gas           Gov. Aggregation
COH             166673990018                Gas           Gov. Aggregation   COH             113877960024                Gas           Gov. Aggregation
COH             121961100016                Gas           Gov. Aggregation   COH             201165440025                Gas           Gov. Aggregation
COH             168058350014                Gas           Gov. Aggregation   COH             124272630040                Gas           Gov. Aggregation
COH             134633710018                Gas           Gov. Aggregation   COH             158665310026                Gas           Gov. Aggregation
COH             161982350012                Gas           Gov. Aggregation   COH             124102600027                Gas           Gov. Aggregation
COH             129100900023                Gas           Gov. Aggregation   COH             208342490013                Gas           Gov. Aggregation
COH             127467490026                Gas           Gov. Aggregation   COH             204858890010                Gas           Gov. Aggregation
COH             157954880034                Gas           Gov. Aggregation   COH             210134390011                Gas           Gov. Aggregation
COH             128813340012                Gas           Gov. Aggregation   COH             177794730022                Gas           Gov. Aggregation
COH             155306280017                Gas           Gov. Aggregation   COH             205631980010                Gas           Gov. Aggregation
COH             158147170015                Gas           Gov. Aggregation   COH             141063780023                Gas           Gov. Aggregation
COH             139684580014                Gas           Gov. Aggregation   COH             202231020012                Gas           Gov. Aggregation
COH             121947910016                Gas           Gov. Aggregation   COH             200499400018                Gas           Gov. Aggregation
COH             143478140071                Gas           Gov. Aggregation   COH             208662440015                Gas           Gov. Aggregation
COH             121926650015                Gas           Gov. Aggregation   COH             194218970012                Gas           Gov. Aggregation
COH             121927130012                Gas           Gov. Aggregation   COH             209658340014                Gas           Gov. Aggregation
COH             167812950019                Gas           Gov. Aggregation   COH             198808130013                Gas           Gov. Aggregation
COH             121955400034                Gas           Gov. Aggregation   COH             208907690013                Gas           Gov. Aggregation
COH             121958470034                Gas           Gov. Aggregation   COH             197078780062                Gas           Gov. Aggregation
COH             121959340020                Gas           Gov. Aggregation   COH             198250930018                Gas           Gov. Aggregation
COH             138156850053                Gas           Gov. Aggregation   COH             193321770016                Gas           Gov. Aggregation
COH             133475850034                Gas           Gov. Aggregation   COH             124256940030                Gas           Gov. Aggregation
COH             157977640018                Gas           Gov. Aggregation   COH             202065580018                Gas           Gov. Aggregation
COH             121956550013                Gas           Gov. Aggregation   COH             209936040017                Gas           Gov. Aggregation
COH             121960940012                Gas           Gov. Aggregation   COH             133115420054                Gas           Gov. Aggregation
COH             144096440022                Gas           Gov. Aggregation   COH             208033120015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             131610960044                Gas           Gov. Aggregation   COH             204260530012                Gas           Gov. Aggregation
COH             121944920010                Gas           Gov. Aggregation   COH             171060270011                Gas           Gov. Aggregation
COH             134315850022                Gas           Gov. Aggregation   VEDO            4001229022121586            Gas           Gov. Aggregation
COH             163082930034                Gas           Gov. Aggregation   VEDO            4001229892260983            Gas           Gov. Aggregation
COH             121985170012                Gas           Gov. Aggregation   VEDO            4001240092122622            Gas           Gov. Aggregation
COH             134572480035                Gas           Gov. Aggregation   VEDO            4001249552123475            Gas           Gov. Aggregation
COH             121965370049                Gas           Gov. Aggregation   VEDO            4001253342306904            Gas           Gov. Aggregation
COH             147202760025                Gas           Gov. Aggregation   VEDO            4001259482374063            Gas           Gov. Aggregation
COH             139640090019                Gas           Gov. Aggregation   VEDO            4001264092178010            Gas           Gov. Aggregation
COH             158508580022                Gas           Gov. Aggregation   VEDO            4001284252126704            Gas           Gov. Aggregation
COH             157592860027                Gas           Gov. Aggregation   VEDO            4001366422134418            Gas           Gov. Aggregation
COH             121992620012                Gas           Gov. Aggregation   VEDO            4001383722269892            Gas           Gov. Aggregation
COH             121943180018                Gas           Gov. Aggregation   VEDO            4001386682136275            Gas           Gov. Aggregation
COH             147551620016                Gas           Gov. Aggregation   VEDO            4001389932136586            Gas           Gov. Aggregation
COH             163022070013                Gas           Gov. Aggregation   VEDO            4001389932452999            Gas           Gov. Aggregation
COH             159212860010                Gas           Gov. Aggregation   VEDO            4001399872137518            Gas           Gov. Aggregation
COH             121984580036                Gas           Gov. Aggregation   VEDO            4001400982137624            Gas           Gov. Aggregation
COH             158328360011                Gas           Gov. Aggregation   VEDO            4001451842360520            Gas           Gov. Aggregation
COH             121937140019                Gas           Gov. Aggregation   VEDO            4001458112249482            Gas           Gov. Aggregation
COH             122014890026                Gas           Gov. Aggregation   VEDO            4001464512143484            Gas           Gov. Aggregation
COH             139738100037                Gas           Gov. Aggregation   VEDO            4001476352400077            Gas           Gov. Aggregation
COH             121986720014                Gas           Gov. Aggregation   VEDO            4001486542145549            Gas           Gov. Aggregation
COH             157750230014                Gas           Gov. Aggregation   VEDO            4001493382131852            Gas           Gov. Aggregation
COH             138815150034                Gas           Gov. Aggregation   VEDO            4001548592268942            Gas           Gov. Aggregation
COH             157241330012                Gas           Gov. Aggregation   VEDO            4001555152152209            Gas           Gov. Aggregation
COH             163910690010                Gas           Gov. Aggregation   VEDO            4001566242335596            Gas           Gov. Aggregation
COH             159026250013                Gas           Gov. Aggregation   VEDO            4001577062566898            Gas           Gov. Aggregation
COH             121933370019                Gas           Gov. Aggregation   VEDO            4001585672155130            Gas           Gov. Aggregation
COH             121922380010                Gas           Gov. Aggregation   VEDO            4001588202397175            Gas           Gov. Aggregation
COH             136981760028                Gas           Gov. Aggregation   VEDO            4001597612126313            Gas           Gov. Aggregation
COH             121942960016                Gas           Gov. Aggregation   VEDO            4001605752157065            Gas           Gov. Aggregation
COH             121957350013                Gas           Gov. Aggregation   VEDO            4001663362645716            Gas           Gov. Aggregation
COH             121983550025                Gas           Gov. Aggregation   VEDO            4001669052163028            Gas           Gov. Aggregation
COH             134386240030                Gas           Gov. Aggregation   VEDO            4001671982163285            Gas           Gov. Aggregation
COH             121943070011                Gas           Gov. Aggregation   VEDO            4001671982175958            Gas           Gov. Aggregation
COH             152532720018                Gas           Gov. Aggregation   VEDO            4001675692163626            Gas           Gov. Aggregation
COH             152345760017                Gas           Gov. Aggregation   VEDO            4001677792163808            Gas           Gov. Aggregation
COH             152263910046                Gas           Gov. Aggregation   VEDO            4001711512365097            Gas           Gov. Aggregation
COH             122021120022                Gas           Gov. Aggregation   VEDO            4001720462587913            Gas           Gov. Aggregation
COH             121937880014                Gas           Gov. Aggregation   VEDO            4001845862118942            Gas           Gov. Aggregation
COH             168119110014                Gas           Gov. Aggregation   VEDO            4001845862180129            Gas           Gov. Aggregation
COH             137183870026                Gas           Gov. Aggregation   VEDO            4001850862129413            Gas           Gov. Aggregation
COH             122019444035                Gas           Gov. Aggregation   VEDO            4001852642487071            Gas           Gov. Aggregation
COH             121984920016                Gas           Gov. Aggregation   VEDO            4001863142304453            Gas           Gov. Aggregation
COH             121983990014                Gas           Gov. Aggregation   VEDO            4001868062117538            Gas           Gov. Aggregation
COH             121985830022                Gas           Gov. Aggregation   VEDO            4001868062624317            Gas           Gov. Aggregation
COH             122019442322                Gas           Gov. Aggregation   VEDO            4001894442184859            Gas           Gov. Aggregation
COH             155321960030                Gas           Gov. Aggregation   VEDO            4001972862192694            Gas           Gov. Aggregation
COH             122014210037                Gas           Gov. Aggregation   VEDO            4002001852195571            Gas           Gov. Aggregation
COH             152952050028                Gas           Gov. Aggregation   VEDO            4002007462361302            Gas           Gov. Aggregation
COH             160261290014                Gas           Gov. Aggregation   VEDO            4002022332490228            Gas           Gov. Aggregation
COH             163997670012                Gas           Gov. Aggregation   VEDO            4002025442197823            Gas           Gov. Aggregation
COH             159565740018                Gas           Gov. Aggregation   VEDO            4002027922198093            Gas           Gov. Aggregation
COH             167049810017                Gas           Gov. Aggregation   VEDO            4002118372206990            Gas           Gov. Aggregation
COH             121955280030                Gas           Gov. Aggregation   VEDO            4002161222211263            Gas           Gov. Aggregation
COH             121977560017                Gas           Gov. Aggregation   VEDO            4002164882249931            Gas           Gov. Aggregation
COH             121933150015                Gas           Gov. Aggregation   VEDO            4002181542213276            Gas           Gov. Aggregation
COH             121977500019                Gas           Gov. Aggregation   VEDO            4002248112429207            Gas           Gov. Aggregation
COH             163789770021                Gas           Gov. Aggregation   VEDO            4002264092221534            Gas           Gov. Aggregation
COH             121967290015                Gas           Gov. Aggregation   VEDO            4002274372222571            Gas           Gov. Aggregation
COH             157857130019                Gas           Gov. Aggregation   VEDO            4002296492224716            Gas           Gov. Aggregation
COH             121990160022                Gas           Gov. Aggregation   VEDO            4002313262671978            Gas           Gov. Aggregation
COH             121932400014                Gas           Gov. Aggregation   VEDO            4002315722226595            Gas           Gov. Aggregation
COH             152332530030                Gas           Gov. Aggregation   VEDO            4002325542429299            Gas           Gov. Aggregation
COH             122008520026                Gas           Gov. Aggregation   VEDO            4002328532301157            Gas           Gov. Aggregation
COH             147326770030                Gas           Gov. Aggregation   VEDO            4002330342228019            Gas           Gov. Aggregation
COH             121994420047                Gas           Gov. Aggregation   VEDO            4002449312306567            Gas           Gov. Aggregation
COH             121953120028                Gas           Gov. Aggregation   VEDO            4002452722240146            Gas           Gov. Aggregation
COH             121955210016                Gas           Gov. Aggregation   VEDO            4002476702425527            Gas           Gov. Aggregation
COH             165232880016                Gas           Gov. Aggregation   VEDO            4002480052602289            Gas           Gov. Aggregation
COH             152852860011                Gas           Gov. Aggregation   VEDO            4002480052602290            Gas           Gov. Aggregation
COH             152655470020                Gas           Gov. Aggregation   VEDO            4002481282199818            Gas           Gov. Aggregation
COH             168002890018                Gas           Gov. Aggregation   VEDO            4002551712188403            Gas           Gov. Aggregation
COH             136902180026                Gas           Gov. Aggregation   VEDO            4002553592250362            Gas           Gov. Aggregation
COH             140178790010                Gas           Gov. Aggregation   VEDO            4002615002139839            Gas           Gov. Aggregation
COH             121932220012                Gas           Gov. Aggregation   VEDO            4002648342355970            Gas           Gov. Aggregation
COH             121976020012                Gas           Gov. Aggregation   VEDO            4002649452259837            Gas           Gov. Aggregation
COH             121960020051                Gas           Gov. Aggregation   VEDO            4002653012337746            Gas           Gov. Aggregation
COH             121976100015                Gas           Gov. Aggregation   VEDO            4002660592386155            Gas           Gov. Aggregation
COH             150932130025                Gas           Gov. Aggregation   VEDO            4002670142264070            Gas           Gov. Aggregation
COH             165750840016                Gas           Gov. Aggregation   VEDO            4002750022301424            Gas           Gov. Aggregation
COH             121931210016                Gas           Gov. Aggregation   VEDO            4002789382517565            Gas           Gov. Aggregation
COH             161745210013                Gas           Gov. Aggregation   VEDO            4002800482276821            Gas           Gov. Aggregation
COH             143019360013                Gas           Gov. Aggregation   VEDO            4002810272276021            Gas           Gov. Aggregation
COH             153333130013                Gas           Gov. Aggregation   VEDO            4002810482366558            Gas           Gov. Aggregation
COH             166202710013                Gas           Gov. Aggregation   VEDO            4002816792276635            Gas           Gov. Aggregation
COH             165641810013                Gas           Gov. Aggregation   VEDO            4002851992674989            Gas           Gov. Aggregation
COH             121999520028                Gas           Gov. Aggregation   VEDO            4002899412284911            Gas           Gov. Aggregation
COH             162357350016                Gas           Gov. Aggregation   VEDO            4002904142285388            Gas           Gov. Aggregation
COH             121927040020                Gas           Gov. Aggregation   VEDO            4002932722288357            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             167667150016                Gas           Gov. Aggregation   VEDO         4002933422288415            Gas           Gov. Aggregation
COH             160462720017                Gas           Gov. Aggregation   VEDO         4003033492465890            Gas           Gov. Aggregation
COH             163939890018                Gas           Gov. Aggregation   VEDO         4003044412357762            Gas           Gov. Aggregation
COH             121939240023                Gas           Gov. Aggregation   VEDO         4003056382215108            Gas           Gov. Aggregation
COH             164946280010                Gas           Gov. Aggregation   VEDO         4003102902305844            Gas           Gov. Aggregation
COH             146934600028                Gas           Gov. Aggregation   VEDO         4003106712245358            Gas           Gov. Aggregation
COH             167025460011                Gas           Gov. Aggregation   VEDO         4003126142163098            Gas           Gov. Aggregation
COH             121938990019                Gas           Gov. Aggregation   VEDO         4003133692309051            Gas           Gov. Aggregation
COH             121928000017                Gas           Gov. Aggregation   VEDO         4003144712310230            Gas           Gov. Aggregation
COH             158293400017                Gas           Gov. Aggregation   VEDO         4003148102433140            Gas           Gov. Aggregation
COH             163586030017                Gas           Gov. Aggregation   VEDO         4003191232315046            Gas           Gov. Aggregation
COH             166248610018                Gas           Gov. Aggregation   VEDO         4003193202425774            Gas           Gov. Aggregation
COH             166171880015                Gas           Gov. Aggregation   VEDO         4003201712316103            Gas           Gov. Aggregation
COH             166580100011                Gas           Gov. Aggregation   VEDO         4003225932617922            Gas           Gov. Aggregation
COH             157857090027                Gas           Gov. Aggregation   VEDO         4003245802307767            Gas           Gov. Aggregation
COH             161211770017                Gas           Gov. Aggregation   VEDO         4003270272323139            Gas           Gov. Aggregation
COH             163686760012                Gas           Gov. Aggregation   VEDO         4003270732512763            Gas           Gov. Aggregation
COH             157886350012                Gas           Gov. Aggregation   VEDO         4003279022630395            Gas           Gov. Aggregation
COH             162982520015                Gas           Gov. Aggregation   VEDO         4003375572334222            Gas           Gov. Aggregation
COH             157455520019                Gas           Gov. Aggregation   VEDO         4003379702300669            Gas           Gov. Aggregation
COH             121926490037                Gas           Gov. Aggregation   VEDO         4003393082672748            Gas           Gov. Aggregation
COH             121942830013                Gas           Gov. Aggregation   VEDO         4003399682336588            Gas           Gov. Aggregation
COH             133347240186                Gas           Gov. Aggregation   VEDO         4003411732338035            Gas           Gov. Aggregation
COH             121966260013                Gas           Gov. Aggregation   VEDO         4003412972220950            Gas           Gov. Aggregation
COH             123587330038                Gas           Gov. Aggregation   VEDO         4003418712443777            Gas           Gov. Aggregation
COH             129155710019                Gas           Gov. Aggregation   VEDO         4003438292340813            Gas           Gov. Aggregation
COH             121994160015                Gas           Gov. Aggregation   VEDO         4003459422434377            Gas           Gov. Aggregation
COH             121994170013                Gas           Gov. Aggregation   VEDO         4003555632353044            Gas           Gov. Aggregation
COH             150673690019                Gas           Gov. Aggregation   VEDO         4003568912502157            Gas           Gov. Aggregation
COH             144588260045                Gas           Gov. Aggregation   VEDO         4003577372644322            Gas           Gov. Aggregation
COH             129300880015                Gas           Gov. Aggregation   VEDO         4003581322186377            Gas           Gov. Aggregation
COH             156394980014                Gas           Gov. Aggregation   VEDO         4003589422356653            Gas           Gov. Aggregation
COH             121972790028                Gas           Gov. Aggregation   VEDO         4003594552410926            Gas           Gov. Aggregation
COH             161568390012                Gas           Gov. Aggregation   VEDO         4003601792358022            Gas           Gov. Aggregation
COH             136692790016                Gas           Gov. Aggregation   VEDO         4003608772358720            Gas           Gov. Aggregation
COH             121955870027                Gas           Gov. Aggregation   VEDO         4003612322359108            Gas           Gov. Aggregation
COH             121944230024                Gas           Gov. Aggregation   VEDO         4003700462368387            Gas           Gov. Aggregation
COH             144269920015                Gas           Gov. Aggregation   VEDO         4003703702475453            Gas           Gov. Aggregation
COH             149700100025                Gas           Gov. Aggregation   VEDO         4003709252407898            Gas           Gov. Aggregation
COH             121980890020                Gas           Gov. Aggregation   VEDO         4003717682370220            Gas           Gov. Aggregation
COH             121982100021                Gas           Gov. Aggregation   VEDO         4003717682623903            Gas           Gov. Aggregation
COH             140345900011                Gas           Gov. Aggregation   VEDO         4003723962495827            Gas           Gov. Aggregation
COH             121926920027                Gas           Gov. Aggregation   VEDO         4003724052370907            Gas           Gov. Aggregation
COH             121952900026                Gas           Gov. Aggregation   VEDO         4003725862371106            Gas           Gov. Aggregation
COH             158752450013                Gas           Gov. Aggregation   VEDO         4003812662380443            Gas           Gov. Aggregation
COH             158207850096                Gas           Gov. Aggregation   VEDO         4003823342219970            Gas           Gov. Aggregation
COH             186622610038                Gas           Gov. Aggregation   VEDO         4003825362206583            Gas           Gov. Aggregation
COH             197110560013                Gas           Gov. Aggregation   VEDO         4003827452382020            Gas           Gov. Aggregation
COH             147925670031                Gas           Gov. Aggregation   VEDO         4003832842382610            Gas           Gov. Aggregation
COH             121985260022                Gas           Gov. Aggregation   VEDO         4003832902470745            Gas           Gov. Aggregation
COH             197497100011                Gas           Gov. Aggregation   VEDO         4003836992383067            Gas           Gov. Aggregation
COH             177252190042                Gas           Gov. Aggregation   VEDO         4003853242355370            Gas           Gov. Aggregation
COH             197779600018                Gas           Gov. Aggregation   VEDO         4003863392385957            Gas           Gov. Aggregation
COH             121987130016                Gas           Gov. Aggregation   VEDO         4003885802388339            Gas           Gov. Aggregation
COH             185041910010                Gas           Gov. Aggregation   VEDO         4004001262157500            Gas           Gov. Aggregation
COH             145307400020                Gas           Gov. Aggregation   VEDO         4004006472401324            Gas           Gov. Aggregation
COH             165595260063                Gas           Gov. Aggregation   VEDO         4004013862402165            Gas           Gov. Aggregation
COH             148351790050                Gas           Gov. Aggregation   VEDO         4004014992243094            Gas           Gov. Aggregation
COH             177327220019                Gas           Gov. Aggregation   VEDO         4004019902402856            Gas           Gov. Aggregation
COH             163273450012                Gas           Gov. Aggregation   VEDO         4004026122403552            Gas           Gov. Aggregation
COH             165316350028                Gas           Gov. Aggregation   VEDO         4004036052404599            Gas           Gov. Aggregation
COH             167204630060                Gas           Gov. Aggregation   VEDO         4004042442405286            Gas           Gov. Aggregation
COH             168801810038                Gas           Gov. Aggregation   VEDO         4004161662418293            Gas           Gov. Aggregation
COH             192262180035                Gas           Gov. Aggregation   VEDO         4004169532103284            Gas           Gov. Aggregation
COH             121954960011                Gas           Gov. Aggregation   VEDO         4004208442423392            Gas           Gov. Aggregation
COH             197160740010                Gas           Gov. Aggregation   VEDO         4004240622426928            Gas           Gov. Aggregation
COH             197110280012                Gas           Gov. Aggregation   VEDO         4004316422435156            Gas           Gov. Aggregation
COH             196364860014                Gas           Gov. Aggregation   VEDO         4004320122264618            Gas           Gov. Aggregation
COH             148888630038                Gas           Gov. Aggregation   VEDO         4004339062437657            Gas           Gov. Aggregation
COH             199236920019                Gas           Gov. Aggregation   VEDO         4004343372464271            Gas           Gov. Aggregation
COH             121939440012                Gas           Gov. Aggregation   VEDO         4004351622439070            Gas           Gov. Aggregation
COH             196657190014                Gas           Gov. Aggregation   VEDO         4004365242440588            Gas           Gov. Aggregation
COH             196561140017                Gas           Gov. Aggregation   VEDO         4004368212440941            Gas           Gov. Aggregation
COH             127509230048                Gas           Gov. Aggregation   VEDO         4004453542450205            Gas           Gov. Aggregation
COH             193048460011                Gas           Gov. Aggregation   VEDO         4004461862451125            Gas           Gov. Aggregation
COH             192002940026                Gas           Gov. Aggregation   VEDO         4004471232302785            Gas           Gov. Aggregation
COH             122015390010                Gas           Gov. Aggregation   VEDO         4004472632479546            Gas           Gov. Aggregation
COH             170597280246                Gas           Gov. Aggregation   VEDO         4004480232453117            Gas           Gov. Aggregation
COH             173421240019                Gas           Gov. Aggregation   VEDO         4004488362454016            Gas           Gov. Aggregation
COH             127519850010                Gas           Gov. Aggregation   VEDO         4004554742461391            Gas           Gov. Aggregation
COH             140967030016                Gas           Gov. Aggregation   VEDO         4004602452172376            Gas           Gov. Aggregation
COH             156866100017                Gas           Gov. Aggregation   VEDO         4004609162467469            Gas           Gov. Aggregation
COH             170270260019                Gas           Gov. Aggregation   VEDO         4004624122469150            Gas           Gov. Aggregation
COH             157965360012                Gas           Gov. Aggregation   VEDO         4004625742469341            Gas           Gov. Aggregation
COH             156616490873                Gas           Gov. Aggregation   VEDO         4004631262262982            Gas           Gov. Aggregation
COH             122020970017                Gas           Gov. Aggregation   VEDO         4004635592470415            Gas           Gov. Aggregation
COH             162776070017                Gas           Gov. Aggregation   VEDO         4004650562591095            Gas           Gov. Aggregation
COH             132311130041                Gas           Gov. Aggregation   VEDO         4004658042300353            Gas           Gov. Aggregation
COH             122014890044                Gas           Gov. Aggregation   VEDO         4004727062480447            Gas           Gov. Aggregation
COH             191386220026                Gas           Gov. Aggregation   VEDO         4004789552521881            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             177541450026                Gas           Gov. Aggregation   VEDO         4004818052490418            Gas           Gov. Aggregation
COH             188170530014                Gas           Gov. Aggregation   VEDO         4004824562491109            Gas           Gov. Aggregation
COH             117503510034                Gas           Gov. Aggregation   VEDO         4004828742176148            Gas           Gov. Aggregation
COH             197568140012                Gas           Gov. Aggregation   VEDO         4004830042491748            Gas           Gov. Aggregation
COH             198178541291                Gas           Gov. Aggregation   VEDO         4004905642500115            Gas           Gov. Aggregation
COH             189563090031                Gas           Gov. Aggregation   VEDO         4004914922228460            Gas           Gov. Aggregation
COH             170649920026                Gas           Gov. Aggregation   VEDO         4004915152501171            Gas           Gov. Aggregation
COH             197200500014                Gas           Gov. Aggregation   VEDO         4004939312503849            Gas           Gov. Aggregation
COH             133383450015                Gas           Gov. Aggregation   VEDO         4004951142509610            Gas           Gov. Aggregation
COH             121975151196                Gas           Gov. Aggregation   VEDO         4004960092183757            Gas           Gov. Aggregation
COH             121937370011                Gas           Gov. Aggregation   VEDO         4004961802506422            Gas           Gov. Aggregation
COH             197922690015                Gas           Gov. Aggregation   VEDO         4004966542506959            Gas           Gov. Aggregation
COH             121948320018                Gas           Gov. Aggregation   VEDO         4005076032519289            Gas           Gov. Aggregation
COH             122014140023                Gas           Gov. Aggregation   VEDO         4005088802431304            Gas           Gov. Aggregation
COH             127609580034                Gas           Gov. Aggregation   VEDO         4005107432522838            Gas           Gov. Aggregation
COH             168336330018                Gas           Gov. Aggregation   VEDO         4005112712523404            Gas           Gov. Aggregation
COH             160275370054                Gas           Gov. Aggregation   VEDO         4005114862523647            Gas           Gov. Aggregation
COH             150999120036                Gas           Gov. Aggregation   VEDO         4005115662323291            Gas           Gov. Aggregation
COH             121993880034                Gas           Gov. Aggregation   VEDO         4010059452187134            Gas           Gov. Aggregation
COH             121991810014                Gas           Gov. Aggregation   VEDO         4010059452430803            Gas           Gov. Aggregation
COH             165459520020                Gas           Gov. Aggregation   VEDO         4010074252472906            Gas           Gov. Aggregation
COH             136081210094                Gas           Gov. Aggregation   VEDO         4010083592455529            Gas           Gov. Aggregation
COH             137011740026                Gas           Gov. Aggregation   VEDO         4010085182391811            Gas           Gov. Aggregation
COH             138120540080                Gas           Gov. Aggregation   VEDO         4010092122339097            Gas           Gov. Aggregation
COH             121989910018                Gas           Gov. Aggregation   VEDO         4010100442518091            Gas           Gov. Aggregation
COH             153745720025                Gas           Gov. Aggregation   VEDO         4015041372114725            Gas           Gov. Aggregation
COH             158412753642                Gas           Gov. Aggregation   VEDO         4015042852365372            Gas           Gov. Aggregation
COH             158412753937                Gas           Gov. Aggregation   VEDO         4015044982132908            Gas           Gov. Aggregation
COH             167790890038                Gas           Gov. Aggregation   VEDO         4015050252250336            Gas           Gov. Aggregation
COH             169239590028                Gas           Gov. Aggregation   VEDO         4015053262139511            Gas           Gov. Aggregation
COH             170522010034                Gas           Gov. Aggregation   VEDO         4015064042310664            Gas           Gov. Aggregation
COH             174962570031                Gas           Gov. Aggregation   VEDO         4015064532143546            Gas           Gov. Aggregation
COH             177550690063                Gas           Gov. Aggregation   VEDO         4015080462529456            Gas           Gov. Aggregation
COH             190127470078                Gas           Gov. Aggregation   VEDO         4015107862199019            Gas           Gov. Aggregation
COH             190993930030                Gas           Gov. Aggregation   VEDO         4015117682129455            Gas           Gov. Aggregation
COH             191498200023                Gas           Gov. Aggregation   VEDO         4015123442336691            Gas           Gov. Aggregation
COH             193731990057                Gas           Gov. Aggregation   VEDO         4015131412134567            Gas           Gov. Aggregation
COH             194781190013                Gas           Gov. Aggregation   VEDO         4015131412356233            Gas           Gov. Aggregation
COH             197251210027                Gas           Gov. Aggregation   VEDO         4015138232297017            Gas           Gov. Aggregation
COH             198652190021                Gas           Gov. Aggregation   VEDO         4015138872587012            Gas           Gov. Aggregation
COH             198701060050                Gas           Gov. Aggregation   VEDO         4015173162377805            Gas           Gov. Aggregation
COH             200014410021                Gas           Gov. Aggregation   VEDO         4015177502123642            Gas           Gov. Aggregation
COH             201072580014                Gas           Gov. Aggregation   VEDO         4015255662495055            Gas           Gov. Aggregation
COH             201207000018                Gas           Gov. Aggregation   VEDO         4015257762283252            Gas           Gov. Aggregation
COH             201146220021                Gas           Gov. Aggregation   VEDO         4015267722260822            Gas           Gov. Aggregation
COH             201224120017                Gas           Gov. Aggregation   VEDO         4015271892181764            Gas           Gov. Aggregation
COH             201226760019                Gas           Gov. Aggregation   VEDO         4015280172532928            Gas           Gov. Aggregation
COH             201360670014                Gas           Gov. Aggregation   VEDO         4015286552276036            Gas           Gov. Aggregation
COH             201376190012                Gas           Gov. Aggregation   VEDO         4015291652461375            Gas           Gov. Aggregation
COH             201416990018                Gas           Gov. Aggregation   VEDO         4015316682537977            Gas           Gov. Aggregation
COH             201465310017                Gas           Gov. Aggregation   VEDO         4015334382239544            Gas           Gov. Aggregation
COH             201477370010                Gas           Gov. Aggregation   VEDO         4015341642241701            Gas           Gov. Aggregation
COH             201509590015                Gas           Gov. Aggregation   VEDO         4015420602204421            Gas           Gov. Aggregation
COH             201415010015                Gas           Gov. Aggregation   VEDO         4015426262610099            Gas           Gov. Aggregation
COH             201530100012                Gas           Gov. Aggregation   VEDO         4015439332109272            Gas           Gov. Aggregation
COH             201595810017                Gas           Gov. Aggregation   VEDO         4015477052148293            Gas           Gov. Aggregation
COH             201607100019                Gas           Gov. Aggregation   VEDO         4015487372600543            Gas           Gov. Aggregation
COH             201649850014                Gas           Gov. Aggregation   VEDO         4015539142266501            Gas           Gov. Aggregation
COH             201781240012                Gas           Gov. Aggregation   VEDO         4015549162509305            Gas           Gov. Aggregation
COH             201820320011                Gas           Gov. Aggregation   VEDO         4015636092506818            Gas           Gov. Aggregation
COH             201870010011                Gas           Gov. Aggregation   VEDO         4015640392556623            Gas           Gov. Aggregation
COH             201912300010                Gas           Gov. Aggregation   VEDO         4015645642104790            Gas           Gov. Aggregation
COH             201919130012                Gas           Gov. Aggregation   VEDO         4015672382167492            Gas           Gov. Aggregation
COH             201971820017                Gas           Gov. Aggregation   VEDO         4015672432638677            Gas           Gov. Aggregation
COH             201974730010                Gas           Gov. Aggregation   VEDO         4015674702404093            Gas           Gov. Aggregation
COH             201977750010                Gas           Gov. Aggregation   VEDO         4015720212171706            Gas           Gov. Aggregation
COH             202008440017                Gas           Gov. Aggregation   VEDO         4015744342197418            Gas           Gov. Aggregation
COH             202024260011                Gas           Gov. Aggregation   VEDO         4015744342204063            Gas           Gov. Aggregation
COH             198536050017                Gas           Gov. Aggregation   VEDO         4015744342454874            Gas           Gov. Aggregation
COH             133422100050                Gas           Gov. Aggregation   VEDO         4015750822610109            Gas           Gov. Aggregation
COH             121959220025                Gas           Gov. Aggregation   VEDO         4015811282113582            Gas           Gov. Aggregation
COH             198923640012                Gas           Gov. Aggregation   VEDO         4015811742144609            Gas           Gov. Aggregation
COH             198851170014                Gas           Gov. Aggregation   VEDO         4015825182144306            Gas           Gov. Aggregation
COH             160890100047                Gas           Gov. Aggregation   VEDO         4015827242451934            Gas           Gov. Aggregation
COH             198773420017                Gas           Gov. Aggregation   VEDO         4015841082435723            Gas           Gov. Aggregation
COH             121949600017                Gas           Gov. Aggregation   VEDO         4015879722623602            Gas           Gov. Aggregation
COH             174498500067                Gas           Gov. Aggregation   VEDO         4015958452401776            Gas           Gov. Aggregation
COH             158307310060                Gas           Gov. Aggregation   VEDO         4015979402250561            Gas           Gov. Aggregation
COH             198642630010                Gas           Gov. Aggregation   VEDO         4015989002144912            Gas           Gov. Aggregation
COH             121962740010                Gas           Gov. Aggregation   VEDO         4015990642220297            Gas           Gov. Aggregation
COH             195542880022                Gas           Gov. Aggregation   VEDO         4015998872283540            Gas           Gov. Aggregation
COH             187644420022                Gas           Gov. Aggregation   VEDO         4016021532247713            Gas           Gov. Aggregation
COH             161260380016                Gas           Gov. Aggregation   VEDO         4016035222298236            Gas           Gov. Aggregation
COH             186896010035                Gas           Gov. Aggregation   VEDO         4016129452487111            Gas           Gov. Aggregation
COH             121961610019                Gas           Gov. Aggregation   VEDO         4016133052166097            Gas           Gov. Aggregation
COH             152979390058                Gas           Gov. Aggregation   VEDO         4016133582193829            Gas           Gov. Aggregation
COH             133932790037                Gas           Gov. Aggregation   VEDO         4016139812586555            Gas           Gov. Aggregation
COH             173837330019                Gas           Gov. Aggregation   VEDO         4016185282478867            Gas           Gov. Aggregation
COH             121964440046                Gas           Gov. Aggregation   VEDO         4016194342335809            Gas           Gov. Aggregation
COH             165581240048                Gas           Gov. Aggregation   VEDO         4016206212588014            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             195634850014                Gas           Gov. Aggregation   VEDO            4016229812221483            Gas           Gov. Aggregation
COH             133334850014                Gas           Gov. Aggregation   VEDO            4016326092388848            Gas           Gov. Aggregation
COH             121961570018                Gas           Gov. Aggregation   VEDO            4016327602199989            Gas           Gov. Aggregation
COH             121962650019                Gas           Gov. Aggregation   VEDO            4016361962334631            Gas           Gov. Aggregation
COH             142857980027                Gas           Gov. Aggregation   VEDO            4016401482350244            Gas           Gov. Aggregation
COH             199197680014                Gas           Gov. Aggregation   VEDO            4016412622533372            Gas           Gov. Aggregation
COH             200955120019                Gas           Gov. Aggregation   VEDO            4016420582255761            Gas           Gov. Aggregation
COH             200532300017                Gas           Gov. Aggregation   VEDO            4016544982104755            Gas           Gov. Aggregation
COH             200992820014                Gas           Gov. Aggregation   VEDO            4016544982454984            Gas           Gov. Aggregation
COH             200873970015                Gas           Gov. Aggregation   VEDO            4016551032290837            Gas           Gov. Aggregation
COH             196574110025                Gas           Gov. Aggregation   VEDO            4016571072205000            Gas           Gov. Aggregation
COH             158678640039                Gas           Gov. Aggregation   VEDO            4016583772372526            Gas           Gov. Aggregation
COH             201275340014                Gas           Gov. Aggregation   VEDO            4016596742306064            Gas           Gov. Aggregation
COH             201617440017                Gas           Gov. Aggregation   VEDO            4016687662110478            Gas           Gov. Aggregation
COH             188009240034                Gas           Gov. Aggregation   VEDO            4016695032488756            Gas           Gov. Aggregation
COH             111122930012                Gas           Gov. Aggregation   VEDO            4016743992125531            Gas           Gov. Aggregation
COH             158566850014                Gas           Gov. Aggregation   VEDO            4016749042382077            Gas           Gov. Aggregation
DEO             3180008785166               Gas           Gov. Aggregation   VEDO            4016777332177410            Gas           Gov. Aggregation
DEO             5180009504220               Gas           Gov. Aggregation   VEDO            4016797082610142            Gas           Gov. Aggregation
COH             111122170012                Gas           Gov. Aggregation   VEDO            4016797412210954            Gas           Gov. Aggregation
COH             111116220014                Gas           Gov. Aggregation   VEDO            4016822192302484            Gas           Gov. Aggregation
COH             121976850018                Gas           Gov. Aggregation   VEDO            4016830672135785            Gas           Gov. Aggregation
COH             163922010017                Gas           Gov. Aggregation   VEDO            4016830672176986            Gas           Gov. Aggregation
COH             201714380014                Gas           Gov. Aggregation   VEDO            4016830672535144            Gas           Gov. Aggregation
COH             111122040019                Gas           Gov. Aggregation   VEDO            4016830732357201            Gas           Gov. Aggregation
COH             121939500019                Gas           Gov. Aggregation   VEDO            4016839402609461            Gas           Gov. Aggregation
COH             111139200010                Gas           Gov. Aggregation   VEDO            4016845982167008            Gas           Gov. Aggregation
COH             111202350023                Gas           Gov. Aggregation   VEDO            4016849942163787            Gas           Gov. Aggregation
COH             123798000012                Gas           Gov. Aggregation   VEDO            4016852672430880            Gas           Gov. Aggregation
COH             185495850058                Gas           Gov. Aggregation   VEDO            4016854352208439            Gas           Gov. Aggregation
COH             192334950021                Gas           Gov. Aggregation   VEDO            4016918452438127            Gas           Gov. Aggregation
COH             193026580030                Gas           Gov. Aggregation   VEDO            4016927452345795            Gas           Gov. Aggregation
COH             191703925066                Gas           Gov. Aggregation   VEDO            4016961942336569            Gas           Gov. Aggregation
COH             191298740024                Gas           Gov. Aggregation   VEDO            4016994602385831            Gas           Gov. Aggregation
COH             190904770022                Gas           Gov. Aggregation   VEDO            4017003222397583            Gas           Gov. Aggregation
COH             194132950036                Gas           Gov. Aggregation   VEDO            4017006482339955            Gas           Gov. Aggregation
COH             200144190023                Gas           Gov. Aggregation   VEDO            4017080782198485            Gas           Gov. Aggregation
COH             119964350058                Gas           Gov. Aggregation   VEDO            4017094432558822            Gas           Gov. Aggregation
COH             119964350067                Gas           Gov. Aggregation   VEDO            4017104862646530            Gas           Gov. Aggregation
COH             144986890021                Gas           Gov. Aggregation   VEDO            4017121782623875            Gas           Gov. Aggregation
COH             161298220038                Gas           Gov. Aggregation   VEDO            4017127272453382            Gas           Gov. Aggregation
COH             205158120014                Gas           Gov. Aggregation   VEDO            4017194012383209            Gas           Gov. Aggregation
COH             205438610017                Gas           Gov. Aggregation   VEDO            4017200202255767            Gas           Gov. Aggregation
COH             205376500012                Gas           Gov. Aggregation   VEDO            4017236592250450            Gas           Gov. Aggregation
COH             202717350013                Gas           Gov. Aggregation   VEDO            4017244792246338            Gas           Gov. Aggregation
COH             204233940013                Gas           Gov. Aggregation   VEDO            4017248532400899            Gas           Gov. Aggregation
COH             204588990012                Gas           Gov. Aggregation   VEDO            4017254582362945            Gas           Gov. Aggregation
COH             204204940014                Gas           Gov. Aggregation   VEDO            4017255422304295            Gas           Gov. Aggregation
COH             188504710017                Gas           Gov. Aggregation   VEDO            4017269612558876            Gas           Gov. Aggregation
COH             205287810016                Gas           Gov. Aggregation   VEDO            4017270502213150            Gas           Gov. Aggregation
COH             204213560015                Gas           Gov. Aggregation   VEDO            4017326082312749            Gas           Gov. Aggregation
COH             203571710016                Gas           Gov. Aggregation   VEDO            4017328862171782            Gas           Gov. Aggregation
COH             195409790023                Gas           Gov. Aggregation   VEDO            4017336982511569            Gas           Gov. Aggregation
COH             196722210029                Gas           Gov. Aggregation   VEDO            4017350072438045            Gas           Gov. Aggregation
COH             191407920023                Gas           Gov. Aggregation   VEDO            4017356172329722            Gas           Gov. Aggregation
COH             199675790035                Gas           Gov. Aggregation   VEDO            4017359532478266            Gas           Gov. Aggregation
COH             198468470023                Gas           Gov. Aggregation   VEDO            4017361862550754            Gas           Gov. Aggregation
COH             205026050018                Gas           Gov. Aggregation   VEDO            4017369562438793            Gas           Gov. Aggregation
COH             202806720016                Gas           Gov. Aggregation   VEDO            4017425052213226            Gas           Gov. Aggregation
COH             202102410013                Gas           Gov. Aggregation   VEDO            4017425662408924            Gas           Gov. Aggregation
COH             203326640010                Gas           Gov. Aggregation   VEDO            4017430062203436            Gas           Gov. Aggregation
COH             203850230015                Gas           Gov. Aggregation   VEDO            4017430062434245            Gas           Gov. Aggregation
COH             150724150086                Gas           Gov. Aggregation   VEDO            4017442542104237            Gas           Gov. Aggregation
COH             174853540074                Gas           Gov. Aggregation   VEDO            4017475722402362            Gas           Gov. Aggregation
COH             175240430011                Gas           Gov. Aggregation   COH             209875280017                Gas           Gov. Aggregation
COH             131127880251                Gas           Gov. Aggregation   COH             210215140011                Gas           Gov. Aggregation
COH             120543610016                Gas           Gov. Aggregation   COH             146132610026                Gas           Gov. Aggregation
COH             120872720061                Gas           Gov. Aggregation   COH             187656770060                Gas           Gov. Aggregation
COH             201949890010                Gas           Gov. Aggregation   COH             110592080035                Gas           Gov. Aggregation
COH             201936020019                Gas           Gov. Aggregation   COH             207463410014                Gas           Gov. Aggregation
COH             165493030049                Gas           Gov. Aggregation   COH             208821490017                Gas           Gov. Aggregation
COH             170662590073                Gas           Gov. Aggregation   COH             197871740040                Gas           Gov. Aggregation
COH             202844430017                Gas           Gov. Aggregation   COH             210015980019                Gas           Gov. Aggregation
COH             202264490015                Gas           Gov. Aggregation   COH             206648100018                Gas           Gov. Aggregation
COH             204210760019                Gas           Gov. Aggregation   COH             206751030014                Gas           Gov. Aggregation
COH             203760890018                Gas           Gov. Aggregation   COH             206280500014                Gas           Gov. Aggregation
COH             203631450013                Gas           Gov. Aggregation   COH             206659740011                Gas           Gov. Aggregation
COH             204783190016                Gas           Gov. Aggregation   VEDO            4017555012443857            Gas           Gov. Aggregation
COH             204210770017                Gas           Gov. Aggregation   VEDO            4017557782378077            Gas           Gov. Aggregation
COH             189608480042                Gas           Gov. Aggregation   VEDO            4017572282344300            Gas           Gov. Aggregation
COH             120539310018                Gas           Gov. Aggregation   VEDO            4017573692342030            Gas           Gov. Aggregation
COH             189178490043                Gas           Gov. Aggregation   VEDO            4017575002318451            Gas           Gov. Aggregation
COH             173913120066                Gas           Gov. Aggregation   VEDO            4017579082358380            Gas           Gov. Aggregation
COH             201430330016                Gas           Gov. Aggregation   VEDO            4017584312317707            Gas           Gov. Aggregation
COH             162050560030                Gas           Gov. Aggregation   VEDO            4017624492630435            Gas           Gov. Aggregation
COH             196722200012                Gas           Gov. Aggregation   VEDO            4017640322132488            Gas           Gov. Aggregation
COH             187450360035                Gas           Gov. Aggregation   VEDO            4017658652147057            Gas           Gov. Aggregation
COH             185518440054                Gas           Gov. Aggregation   VEDO            4017709372520835            Gas           Gov. Aggregation
COH             189749990010                Gas           Gov. Aggregation   VEDO            4017714272249967            Gas           Gov. Aggregation
COH             190516310021                Gas           Gov. Aggregation   VEDO            4017722862338484            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             189538090034                Gas           Gov. Aggregation   VEDO         4017725532230519            Gas           Gov. Aggregation
COH             175253580022                Gas           Gov. Aggregation   VEDO         4017737992520370            Gas           Gov. Aggregation
COH             174467670058                Gas           Gov. Aggregation   VEDO         4017835222593655            Gas           Gov. Aggregation
COH             198758310030                Gas           Gov. Aggregation   VEDO         4017856362493853            Gas           Gov. Aggregation
COH             200063430015                Gas           Gov. Aggregation   VEDO         4017984272359221            Gas           Gov. Aggregation
COH             200746920014                Gas           Gov. Aggregation   VEDO         4017999622536254            Gas           Gov. Aggregation
COH             197408700021                Gas           Gov. Aggregation   VEDO         4018082522158399            Gas           Gov. Aggregation
COH             197242260035                Gas           Gov. Aggregation   VEDO         4018095212299820            Gas           Gov. Aggregation
COH             195062810015                Gas           Gov. Aggregation   VEDO         4018121042610114            Gas           Gov. Aggregation
COH             195126890022                Gas           Gov. Aggregation   VEDO         4018133472120596            Gas           Gov. Aggregation
COH             164381600083                Gas           Gov. Aggregation   VEDO         4018137442238864            Gas           Gov. Aggregation
COH             163856490045                Gas           Gov. Aggregation   VEDO         4018188492468636            Gas           Gov. Aggregation
COH             169421350012                Gas           Gov. Aggregation   VEDO         4018188922254208            Gas           Gov. Aggregation
COH             141769020017                Gas           Gov. Aggregation   VEDO         4018196682291260            Gas           Gov. Aggregation
COH             110448800047                Gas           Gov. Aggregation   VEDO         4018202472268713            Gas           Gov. Aggregation
COH             120531350016                Gas           Gov. Aggregation   VEDO         4018203812292876            Gas           Gov. Aggregation
COH             204566210011                Gas           Gov. Aggregation   VEDO         4018207272123440            Gas           Gov. Aggregation
COH             204568260017                Gas           Gov. Aggregation   VEDO         4018210492228576            Gas           Gov. Aggregation
COH             203838710010                Gas           Gov. Aggregation   VEDO         4018250932363215            Gas           Gov. Aggregation
COH             203858210013                Gas           Gov. Aggregation   VEDO         4018258862197909            Gas           Gov. Aggregation
COH             202215420012                Gas           Gov. Aggregation   VEDO         4018267122190715            Gas           Gov. Aggregation
COH             202484970018                Gas           Gov. Aggregation   VEDO         4018282042186585            Gas           Gov. Aggregation
COH             201947010018                Gas           Gov. Aggregation   VEDO         4018282042206913            Gas           Gov. Aggregation
COH             202690410018                Gas           Gov. Aggregation   VEDO         4018285762469932            Gas           Gov. Aggregation
COH             202695630012                Gas           Gov. Aggregation   VEDO         4018292672259095            Gas           Gov. Aggregation
COH             202644950030                Gas           Gov. Aggregation   VEDO         4018365322170086            Gas           Gov. Aggregation
COH             167936270038                Gas           Gov. Aggregation   VEDO         4018372852317585            Gas           Gov. Aggregation
COH             199812450025                Gas           Gov. Aggregation   VEDO         4018374882111855            Gas           Gov. Aggregation
COH             203814160016                Gas           Gov. Aggregation   VEDO         4018375162236860            Gas           Gov. Aggregation
COH             205252500014                Gas           Gov. Aggregation   VEDO         4018423122389718            Gas           Gov. Aggregation
COH             204838100017                Gas           Gov. Aggregation   VEDO         4018425772309960            Gas           Gov. Aggregation
COH             202502500034                Gas           Gov. Aggregation   VEDO         4018426002288761            Gas           Gov. Aggregation
COH             151978410038                Gas           Gov. Aggregation   VEDO         4018436812145044            Gas           Gov. Aggregation
COH             117198020036                Gas           Gov. Aggregation   VEDO         4018446612328429            Gas           Gov. Aggregation
COH             204089450013                Gas           Gov. Aggregation   VEDO         4018493042261876            Gas           Gov. Aggregation
COH             203642590011                Gas           Gov. Aggregation   VEDO         4018502202194484            Gas           Gov. Aggregation
COH             203291880015                Gas           Gov. Aggregation   VEDO         4018504232257845            Gas           Gov. Aggregation
COH             205079470019                Gas           Gov. Aggregation   VEDO         4018509732374426            Gas           Gov. Aggregation
COH             203570170012                Gas           Gov. Aggregation   VEDO         4018572682386259            Gas           Gov. Aggregation
COH             185113430027                Gas           Gov. Aggregation   VEDO         4018582042112978            Gas           Gov. Aggregation
COH             203982470016                Gas           Gov. Aggregation   VEDO         4018588992152308            Gas           Gov. Aggregation
COH             203744710028                Gas           Gov. Aggregation   VEDO         4018589422223371            Gas           Gov. Aggregation
COH             196918550023                Gas           Gov. Aggregation   VEDO         4018594542334193            Gas           Gov. Aggregation
COH             204321320016                Gas           Gov. Aggregation   VEDO         4018595132242819            Gas           Gov. Aggregation
COH             173182400031                Gas           Gov. Aggregation   VEDO         4018595212268995            Gas           Gov. Aggregation
COH             171489520010                Gas           Gov. Aggregation   VEDO         4018607892262857            Gas           Gov. Aggregation
COH             201377840022                Gas           Gov. Aggregation   VEDO         4018635572481449            Gas           Gov. Aggregation
COH             203480510011                Gas           Gov. Aggregation   VEDO         4018635672188577            Gas           Gov. Aggregation
COH             203341320015                Gas           Gov. Aggregation   VEDO         4018639602198997            Gas           Gov. Aggregation
COH             203924090018                Gas           Gov. Aggregation   VEDO         4018639802275986            Gas           Gov. Aggregation
COH             202635410050                Gas           Gov. Aggregation   VEDO         4018642442610111            Gas           Gov. Aggregation
COH             195591460027                Gas           Gov. Aggregation   VEDO         4018645102505070            Gas           Gov. Aggregation
COH             172576690019                Gas           Gov. Aggregation   VEDO         4018647352284718            Gas           Gov. Aggregation
COH             202794370026                Gas           Gov. Aggregation   VEDO         4018658132352609            Gas           Gov. Aggregation
COH             203868460010                Gas           Gov. Aggregation   VEDO         4018664112171315            Gas           Gov. Aggregation
COH             203811600028                Gas           Gov. Aggregation   VEDO         4018678082457923            Gas           Gov. Aggregation
COH             204341420013                Gas           Gov. Aggregation   VEDO         4018699612366875            Gas           Gov. Aggregation
COH             203924120011                Gas           Gov. Aggregation   VEDO         4018701362436942            Gas           Gov. Aggregation
COH             187246050033                Gas           Gov. Aggregation   VEDO         4018714632497634            Gas           Gov. Aggregation
COH             204890550013                Gas           Gov. Aggregation   VEDO         4018737552424512            Gas           Gov. Aggregation
COH             204498780017                Gas           Gov. Aggregation   VEDO         4018751682445389            Gas           Gov. Aggregation
COH             203791740023                Gas           Gov. Aggregation   VEDO         4018756622418923            Gas           Gov. Aggregation
COH             111189510010                Gas           Gov. Aggregation   VEDO         4018763842640195            Gas           Gov. Aggregation
COH             197537920031                Gas           Gov. Aggregation   VEDO         4018766812523678            Gas           Gov. Aggregation
COH             205130920014                Gas           Gov. Aggregation   VEDO         4018800912345394            Gas           Gov. Aggregation
COH             203211330027                Gas           Gov. Aggregation   VEDO         4018801272638749            Gas           Gov. Aggregation
COH             203398110010                Gas           Gov. Aggregation   VEDO         4018805832133612            Gas           Gov. Aggregation
COH             205320830010                Gas           Gov. Aggregation   VEDO         4018809342398114            Gas           Gov. Aggregation
COH             205225740011                Gas           Gov. Aggregation   VEDO         4018812812522942            Gas           Gov. Aggregation
COH             205097480019                Gas           Gov. Aggregation   VEDO         4018827112455373            Gas           Gov. Aggregation
COH             205131810015                Gas           Gov. Aggregation   VEDO         4018829442111365            Gas           Gov. Aggregation
COH             205381490014                Gas           Gov. Aggregation   VEDO         4018837112460352            Gas           Gov. Aggregation
COH             205418370010                Gas           Gov. Aggregation   VEDO         4018891982411944            Gas           Gov. Aggregation
COH             203533270019                Gas           Gov. Aggregation   VEDO         4018892342591357            Gas           Gov. Aggregation
COH             203553710014                Gas           Gov. Aggregation   VEDO         4018901622377971            Gas           Gov. Aggregation
COH             204519990017                Gas           Gov. Aggregation   VEDO         4018904592525054            Gas           Gov. Aggregation
COH             204865930016                Gas           Gov. Aggregation   VEDO         4018909262387284            Gas           Gov. Aggregation
COH             204082900012                Gas           Gov. Aggregation   VEDO         4018918532319467            Gas           Gov. Aggregation
COH             203688220021                Gas           Gov. Aggregation   VEDO         4018982002432620            Gas           Gov. Aggregation
COH             205395310012                Gas           Gov. Aggregation   VEDO         4018989192353463            Gas           Gov. Aggregation
COH             205301670014                Gas           Gov. Aggregation   VEDO         4018989802242980            Gas           Gov. Aggregation
COH             202488190023                Gas           Gov. Aggregation   VEDO         4018991602501787            Gas           Gov. Aggregation
COH             201206970026                Gas           Gov. Aggregation   VEDO         4019002852509964            Gas           Gov. Aggregation
COH             192061120024                Gas           Gov. Aggregation   VEDO         4019005692120804            Gas           Gov. Aggregation
COH             186882720044                Gas           Gov. Aggregation   VEDO         4019035502184650            Gas           Gov. Aggregation
COH             199281650020                Gas           Gov. Aggregation   VEDO         4019036732640160            Gas           Gov. Aggregation
COH             190334410026                Gas           Gov. Aggregation   VEDO         4019048132399585            Gas           Gov. Aggregation
COH             204730420018                Gas           Gov. Aggregation   VEDO         4019048772290053            Gas           Gov. Aggregation
COH             205273600019                Gas           Gov. Aggregation   VEDO         4019051172609987            Gas           Gov. Aggregation
COH             205285670010                Gas           Gov. Aggregation   VEDO         4019055522197475            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             203360190013                Gas           Gov. Aggregation   VEDO            4019057062280377            Gas           Gov. Aggregation
COH             203762030014                Gas           Gov. Aggregation   VEDO            4019097552647011            Gas           Gov. Aggregation
COH             205225750019                Gas           Gov. Aggregation   VEDO            4019097552647013            Gas           Gov. Aggregation
COH             205204190011                Gas           Gov. Aggregation   VEDO            4019100822410242            Gas           Gov. Aggregation
COH             204309970016                Gas           Gov. Aggregation   VEDO            4019102052643886            Gas           Gov. Aggregation
COH             204371930013                Gas           Gov. Aggregation   VEDO            4019106362298299            Gas           Gov. Aggregation
COH             204036990011                Gas           Gov. Aggregation   VEDO            4019124382141837            Gas           Gov. Aggregation
COH             156391180027                Gas           Gov. Aggregation   VEDO            4019161012429507            Gas           Gov. Aggregation
COH             153880690026                Gas           Gov. Aggregation   VEDO            4019165482447442            Gas           Gov. Aggregation
COH             164179350012                Gas           Gov. Aggregation   VEDO            4019172192388776            Gas           Gov. Aggregation
COH             205434600017                Gas           Gov. Aggregation   VEDO            4019184172610141            Gas           Gov. Aggregation
COH             204931730017                Gas           Gov. Aggregation   VEDO            4019191112391978            Gas           Gov. Aggregation
VEDO            4001024402395065            Gas           Gov. Aggregation   VEDO            4019204392334331            Gas           Gov. Aggregation
VEDO            4001046912595540            Gas           Gov. Aggregation   VEDO            4019219962188617            Gas           Gov. Aggregation
VEDO            4001099752253413            Gas           Gov. Aggregation   VEDO            4019225762204300            Gas           Gov. Aggregation
VEDO            4001110802629484            Gas           Gov. Aggregation   VEDO            4019226022301410            Gas           Gov. Aggregation
VEDO            4001122232111626            Gas           Gov. Aggregation   VEDO            4019260862275822            Gas           Gov. Aggregation
VEDO            4001208912119727            Gas           Gov. Aggregation   VEDO            4019269912184670            Gas           Gov. Aggregation
VEDO            4001240072216160            Gas           Gov. Aggregation   VEDO            4019289202328591            Gas           Gov. Aggregation
VEDO            4001261502178624            Gas           Gov. Aggregation   VEDO            4019291122506655            Gas           Gov. Aggregation
VEDO            4001284432139179            Gas           Gov. Aggregation   VEDO            4019315152266143            Gas           Gov. Aggregation
VEDO            4001289292127218            Gas           Gov. Aggregation   VEDO            4019318172535291            Gas           Gov. Aggregation
VEDO            4001536112150402            Gas           Gov. Aggregation   VEDO            4019331622215870            Gas           Gov. Aggregation
VEDO            4001547312151460            Gas           Gov. Aggregation   VEDO            4019333082163244            Gas           Gov. Aggregation
VEDO            4001551642194182            Gas           Gov. Aggregation   VEDO            4019335602517254            Gas           Gov. Aggregation
VEDO            4001551662151887            Gas           Gov. Aggregation   VEDO            4019377812487166            Gas           Gov. Aggregation
VEDO            4001635152159890            Gas           Gov. Aggregation   VEDO            4019377812512774            Gas           Gov. Aggregation
VEDO            4001650972403930            Gas           Gov. Aggregation   VEDO            4019391492230069            Gas           Gov. Aggregation
VEDO            4001675742163629            Gas           Gov. Aggregation   VEDO            4019402532507703            Gas           Gov. Aggregation
VEDO            4001701322166050            Gas           Gov. Aggregation   VEDO            4019432032332786            Gas           Gov. Aggregation
VEDO            4001959942100518            Gas           Gov. Aggregation   VEDO            4019439902647669            Gas           Gov. Aggregation
VEDO            4002014082196743            Gas           Gov. Aggregation   VEDO            4019441262352028            Gas           Gov. Aggregation
VEDO            4002043482199625            Gas           Gov. Aggregation   VEDO            4019442702602288            Gas           Gov. Aggregation
VEDO            4002189702189245            Gas           Gov. Aggregation   VEDO            4019451622154631            Gas           Gov. Aggregation
VEDO            4002191742214336            Gas           Gov. Aggregation   VEDO            4019452852103974            Gas           Gov. Aggregation
VEDO            4002227532217853            Gas           Gov. Aggregation   VEDO            4019464052257587            Gas           Gov. Aggregation
VEDO            4002540322248992            Gas           Gov. Aggregation   VEDO            4019476682470374            Gas           Gov. Aggregation
VEDO            4002661312261000            Gas           Gov. Aggregation   VEDO            4019480672236283            Gas           Gov. Aggregation
VEDO            4002661312293038            Gas           Gov. Aggregation   VEDO            4019481182136779            Gas           Gov. Aggregation
VEDO            4002705932265501            Gas           Gov. Aggregation   VEDO            4019502842191780            Gas           Gov. Aggregation
VEDO            4002705932304989            Gas           Gov. Aggregation   VEDO            4019502842277741            Gas           Gov. Aggregation
VEDO            4002706032482754            Gas           Gov. Aggregation   VEDO            4019516202265905            Gas           Gov. Aggregation
VEDO            4002839422278957            Gas           Gov. Aggregation   VEDO            4019535142114493            Gas           Gov. Aggregation
VEDO            4003039922191873            Gas           Gov. Aggregation   VEDO            4019536552276405            Gas           Gov. Aggregation
VEDO            4003054602485759            Gas           Gov. Aggregation   VEDO            4019730592203504            Gas           Gov. Aggregation
VEDO            4003071222309244            Gas           Gov. Aggregation   VEDO            4019734842158804            Gas           Gov. Aggregation
VEDO            4003076212643335            Gas           Gov. Aggregation   VEDO            4019734872395282            Gas           Gov. Aggregation
VEDO            4003135432309243            Gas           Gov. Aggregation   VEDO            4019750812101456            Gas           Gov. Aggregation
VEDO            4003136882309411            Gas           Gov. Aggregation   VEDO            4019753712589423            Gas           Gov. Aggregation
VEDO            4003148042520187            Gas           Gov. Aggregation   VEDO            4019755402202817            Gas           Gov. Aggregation
VEDO            4003183052105801            Gas           Gov. Aggregation   VEDO            4019757502504179            Gas           Gov. Aggregation
VEDO            4003211492317113            Gas           Gov. Aggregation   VEDO            4019757512143188            Gas           Gov. Aggregation
VEDO            4003527012174355            Gas           Gov. Aggregation   VEDO            4019757512444783            Gas           Gov. Aggregation
VEDO            4003536142470422            Gas           Gov. Aggregation   VEDO            4019764662462031            Gas           Gov. Aggregation
VEDO            4003536722648907            Gas           Gov. Aggregation   VEDO            4019787382459295            Gas           Gov. Aggregation
VEDO            4003550462159576            Gas           Gov. Aggregation   VEDO            4019793512624035            Gas           Gov. Aggregation
VEDO            4003568032354374            Gas           Gov. Aggregation   VEDO            4019794922227046            Gas           Gov. Aggregation
VEDO            4003600552289073            Gas           Gov. Aggregation   VEDO            4019794972338022            Gas           Gov. Aggregation
VEDO            4003635842361594            Gas           Gov. Aggregation   VEDO            4019798552445778            Gas           Gov. Aggregation
VEDO            4003975242397973            Gas           Gov. Aggregation   VEDO            4019802732435907            Gas           Gov. Aggregation
VEDO            4003982882398817            Gas           Gov. Aggregation   VEDO            4019802942309786            Gas           Gov. Aggregation
VEDO            4003992682399877            Gas           Gov. Aggregation   VEDO            4019834452476171            Gas           Gov. Aggregation
VEDO            4004011982401946            Gas           Gov. Aggregation   VEDO            4019837052216752            Gas           Gov. Aggregation
VEDO            4004016142402430            Gas           Gov. Aggregation   VEDO            4019842622283807            Gas           Gov. Aggregation
VEDO            4004289812432316            Gas           Gov. Aggregation   VEDO            4019843442200050            Gas           Gov. Aggregation
VEDO            4004311852434672            Gas           Gov. Aggregation   VEDO            4019844842353561            Gas           Gov. Aggregation
VEDO            4004332092126362            Gas           Gov. Aggregation   COH             158364460032                Gas           Gov. Aggregation
VEDO            4004332732437002            Gas           Gov. Aggregation   COH             174256870017                Gas           Gov. Aggregation
VEDO            4004336672437394            Gas           Gov. Aggregation   COH             158735680011                Gas           Gov. Aggregation
VEDO            4004354842269463            Gas           Gov. Aggregation   COH             160192440019                Gas           Gov. Aggregation
VEDO            4004360162423572            Gas           Gov. Aggregation   COH             160816800019                Gas           Gov. Aggregation
VEDO            4004377532632618            Gas           Gov. Aggregation   COH             150906790013                Gas           Gov. Aggregation
VEDO            4004669502500907            Gas           Gov. Aggregation   VEDO            4019861702482364            Gas           Gov. Aggregation
VEDO            4004744282239473            Gas           Gov. Aggregation   VEDO            4019863202185235            Gas           Gov. Aggregation
VEDO            4004770402637983            Gas           Gov. Aggregation   VEDO            4019865282480082            Gas           Gov. Aggregation
VEDO            4004779072486183            Gas           Gov. Aggregation   VEDO            4019866312516117            Gas           Gov. Aggregation
VEDO            4004779642102571            Gas           Gov. Aggregation   VEDO            4019867852438612            Gas           Gov. Aggregation
VEDO            4004780412401791            Gas           Gov. Aggregation   VEDO            4019872252437456            Gas           Gov. Aggregation
VEDO            4005136722363831            Gas           Gov. Aggregation   VEDO            4019899142369903            Gas           Gov. Aggregation
VEDO            4010017062395705            Gas           Gov. Aggregation   VEDO            4019902812344001            Gas           Gov. Aggregation
VEDO            4010048532305646            Gas           Gov. Aggregation   VEDO            4019903272442725            Gas           Gov. Aggregation
VEDO            4015029252357175            Gas           Gov. Aggregation   VEDO            4019903702432165            Gas           Gov. Aggregation
VEDO            4015064252648906            Gas           Gov. Aggregation   VEDO            4020015242444975            Gas           Gov. Aggregation
VEDO            4015322162322239            Gas           Gov. Aggregation   VEDO            4020065712481613            Gas           Gov. Aggregation
VEDO            4015400582120669            Gas           Gov. Aggregation   VEDO            4020068622174863            Gas           Gov. Aggregation
VEDO            4015593172388815            Gas           Gov. Aggregation   VEDO            4020072242315427            Gas           Gov. Aggregation
VEDO            4015593172450604            Gas           Gov. Aggregation   VEDO            4020092302370883            Gas           Gov. Aggregation
VEDO            4015597702355554            Gas           Gov. Aggregation   VEDO            4020092892143798            Gas           Gov. Aggregation
VEDO            4015637622275381            Gas           Gov. Aggregation   VEDO            4020098562165172            Gas           Gov. Aggregation
VEDO            4016350312518615            Gas           Gov. Aggregation   VEDO            4020117642402302            Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
VEDO         4016408672168940            Gas           Gov. Aggregation   VEDO         4020124252343525            Gas           Gov. Aggregation
VEDO         4016434072254835            Gas           Gov. Aggregation   VEDO         4020124982426194            Gas           Gov. Aggregation
VEDO         4016449152491121            Gas           Gov. Aggregation   VEDO         4020127682377518            Gas           Gov. Aggregation
VEDO         4016514602218312            Gas           Gov. Aggregation   VEDO         4020129292258722            Gas           Gov. Aggregation
VEDO         4016545192477644            Gas           Gov. Aggregation   VEDO         4020131882306231            Gas           Gov. Aggregation
VEDO         4016587692208802            Gas           Gov. Aggregation   VEDO         4020155572208227            Gas           Gov. Aggregation
VEDO         4016972362119948            Gas           Gov. Aggregation   VEDO         4020157942337159            Gas           Gov. Aggregation
VEDO         4017014932438475            Gas           Gov. Aggregation   VEDO         4020161592369292            Gas           Gov. Aggregation
VEDO         4017015372108991            Gas           Gov. Aggregation   VEDO         4020169482489923            Gas           Gov. Aggregation
VEDO         4017029612521310            Gas           Gov. Aggregation   VEDO         4020172312256493            Gas           Gov. Aggregation
VEDO         4017238422373955            Gas           Gov. Aggregation   VEDO         4020189042195193            Gas           Gov. Aggregation
VEDO         4017552672346276            Gas           Gov. Aggregation   VEDO         4020189502509805            Gas           Gov. Aggregation
VEDO         4017567822527780            Gas           Gov. Aggregation   VEDO         4020190372504518            Gas           Gov. Aggregation
VEDO         4017598622458445            Gas           Gov. Aggregation   VEDO         4020193302370329            Gas           Gov. Aggregation
VEDO         4017608742364746            Gas           Gov. Aggregation   VEDO         4020194742428760            Gas           Gov. Aggregation
VEDO         4017640782244752            Gas           Gov. Aggregation   VEDO         4020194972350090            Gas           Gov. Aggregation
VEDO         4017657202294635            Gas           Gov. Aggregation   VEDO         4020209482266858            Gas           Gov. Aggregation
VEDO         4017668332160469            Gas           Gov. Aggregation   VEDO         4020211322345220            Gas           Gov. Aggregation
VEDO         4017685232258352            Gas           Gov. Aggregation   VEDO         4020217142475088            Gas           Gov. Aggregation
VEDO         4017909772166282            Gas           Gov. Aggregation   VEDO         4020247902407046            Gas           Gov. Aggregation
VEDO         4017921282483831            Gas           Gov. Aggregation   VEDO         4020249232530557            Gas           Gov. Aggregation
VEDO         4017942712356946            Gas           Gov. Aggregation   VEDO         4020250072302415            Gas           Gov. Aggregation
VEDO         4017975842249521            Gas           Gov. Aggregation   VEDO         4020252092201127            Gas           Gov. Aggregation
VEDO         4017985822377829            Gas           Gov. Aggregation   VEDO         4020264612498928            Gas           Gov. Aggregation
VEDO         4018057772214960            Gas           Gov. Aggregation   VEDO         4020268792299564            Gas           Gov. Aggregation
VEDO         4018356772378773            Gas           Gov. Aggregation   VEDO         4020281872235147            Gas           Gov. Aggregation
VEDO         4018388992270847            Gas           Gov. Aggregation   VEDO         4020284602230849            Gas           Gov. Aggregation
VEDO         4018409982274923            Gas           Gov. Aggregation   VEDO         4020847652425372            Gas           Gov. Aggregation
VEDO         4018412752242669            Gas           Gov. Aggregation   VEDO         4015904052457976            Gas           Gov. Aggregation
VEDO         4018415272240624            Gas           Gov. Aggregation   VEDO         4016258102623052            Gas           Gov. Aggregation
VEDO         4018618502516816            Gas           Gov. Aggregation   VEDO         4017364312640162            Gas           Gov. Aggregation
VEDO         4018628362208661            Gas           Gov. Aggregation   VEDO         4020843602572124            Gas           Gov. Aggregation
VEDO         4018630392672398            Gas           Gov. Aggregation   VEDO         4002002622205455            Gas           Gov. Aggregation
VEDO         4018631372200932            Gas           Gov. Aggregation   VEDO         4001736072673730            Gas           Gov. Aggregation
VEDO         4018650002373865            Gas           Gov. Aggregation   VEDO         4017682002117582            Gas           Gov. Aggregation
VEDO         4018692442506717            Gas           Gov. Aggregation   VEDO         4020271512676871            Gas           Gov. Aggregation
VEDO         4018832972536312            Gas           Gov. Aggregation   VEDO         4016308772675944            Gas           Gov. Aggregation
VEDO         4018861552478827            Gas           Gov. Aggregation   VEDO         4020145792472342            Gas           Gov. Aggregation
VEDO         4018923242641521            Gas           Gov. Aggregation   VEDO         4001967842290659            Gas           Gov. Aggregation
VEDO         4018936892247855            Gas           Gov. Aggregation   VEDO         4004620062412264            Gas           Gov. Aggregation
VEDO         4019181432171882            Gas           Gov. Aggregation   VEDO         4004620062468687            Gas           Gov. Aggregation
VEDO         4019196092418964            Gas           Gov. Aggregation   VEDO         4020234692675826            Gas           Gov. Aggregation
VEDO         4019201362361532            Gas           Gov. Aggregation   VEDO         4020878802266307            Gas           Gov. Aggregation
VEDO         4019202702412812            Gas           Gov. Aggregation   VEDO         4020156092136119            Gas           Gov. Aggregation
VEDO         4019204632484416            Gas           Gov. Aggregation   VEDO         4020794492519055            Gas           Gov. Aggregation
VEDO         4019217202154063            Gas           Gov. Aggregation   VEDO         4020076452163369            Gas           Gov. Aggregation
VEDO         4019244432230743            Gas           Gov. Aggregation   VEDO         4020789092352778            Gas           Gov. Aggregation
VEDO         4019248182148157            Gas           Gov. Aggregation   VEDO         4020899942145324            Gas           Gov. Aggregation
VEDO         4019355202184528            Gas           Gov. Aggregation   VEDO         4001183582502158            Gas           Gov. Aggregation
VEDO         4019383602391242            Gas           Gov. Aggregation   VEDO         4001788682475549            Gas           Gov. Aggregation
VEDO         4019730022305658            Gas           Gov. Aggregation   VEDO         4016979252366300            Gas           Gov. Aggregation
VEDO         4019743762599416            Gas           Gov. Aggregation   VEDO         4019276172232563            Gas           Gov. Aggregation
VEDO         4019755182136454            Gas           Gov. Aggregation   VEDO         4020838612186815            Gas           Gov. Aggregation
VEDO         4019756792448662            Gas           Gov. Aggregation   VEDO         4017460692495848            Gas           Gov. Aggregation
VEDO         4019796172182116            Gas           Gov. Aggregation   VEDO         4020875232470810            Gas           Gov. Aggregation
VEDO         4019850112164931            Gas           Gov. Aggregation   VEDO         4019223232195730            Gas           Gov. Aggregation
VEDO         4019851472210011            Gas           Gov. Aggregation   VEDO         4004567192258336            Gas           Gov. Aggregation
VEDO         4019892542424047            Gas           Gov. Aggregation   VEDO         4020303282492035            Gas           Gov. Aggregation
VEDO         4019898382385900            Gas           Gov. Aggregation   VEDO         4020317932445800            Gas           Gov. Aggregation
VEDO         4019904052111516            Gas           Gov. Aggregation   VEDO         4020836212377491            Gas           Gov. Aggregation
VEDO         4019905682517922            Gas           Gov. Aggregation   VEDO         4001417542214634            Gas           Gov. Aggregation
VEDO         4019991902401635            Gas           Gov. Aggregation   VEDO         4020139422433285            Gas           Gov. Aggregation
VEDO         4020009942588555            Gas           Gov. Aggregation   VEDO         4020322532676686            Gas           Gov. Aggregation
VEDO         4020044112311716            Gas           Gov. Aggregation   VEDO         4020804752453629            Gas           Gov. Aggregation
VEDO         4020179512502340            Gas           Gov. Aggregation   VEDO         4017913742419687            Gas           Gov. Aggregation
VEDO         4020188762299807            Gas           Gov. Aggregation   VEDO         4016336142386123            Gas           Gov. Aggregation
VEDO         4020189722215025            Gas           Gov. Aggregation   VEDO         4004281982431436            Gas           Gov. Aggregation
VEDO         4020196452481051            Gas           Gov. Aggregation   VEDO         4010027422164328            Gas           Gov. Aggregation
VEDO         4020210332203353            Gas           Gov. Aggregation   VEDO         4015100152298835            Gas           Gov. Aggregation
VEDO         4020211092457663            Gas           Gov. Aggregation   VEDO         4019782212101788            Gas           Gov. Aggregation
VEDO         4020212582234179            Gas           Gov. Aggregation   VEDO         4020871152158283            Gas           Gov. Aggregation
VEDO         4020215682357780            Gas           Gov. Aggregation   VEDO         4020873632189172            Gas           Gov. Aggregation
VEDO         4018231762645484            Gas           Gov. Aggregation   VEDO         4020875722226915            Gas           Gov. Aggregation
VEDO         4018133232420813            Gas           Gov. Aggregation   VEDO         4020838522349524            Gas           Gov. Aggregation
VEDO         4020877452205041            Gas           Gov. Aggregation   VEDO         4018708322129954            Gas           Gov. Aggregation
VEDO         4020285932171778            Gas           Gov. Aggregation   VEDO         4019772492431707            Gas           Gov. Aggregation
VEDO         4018362422300096            Gas           Gov. Aggregation   VEDO         4002303792494552            Gas           Gov. Aggregation
VEDO         4017671652382207            Gas           Gov. Aggregation   VEDO         4020302922434806            Gas           Gov. Aggregation
VEDO         4015491112278993            Gas           Gov. Aggregation   VEDO         4020799202436593            Gas           Gov. Aggregation
VEDO         4018910532320721            Gas           Gov. Aggregation   VEDO         4003704082368754            Gas           Gov. Aggregation
VEDO         4020834742169035            Gas           Gov. Aggregation   VEDO         4019986192355316            Gas           Gov. Aggregation
VEDO         4020325012186649            Gas           Gov. Aggregation   VEDO         4004265772160950            Gas           Gov. Aggregation
VEDO         4017002092114991            Gas           Gov. Aggregation   VEDO         4020786812496251            Gas           Gov. Aggregation
VEDO         4016803412222551            Gas           Gov. Aggregation   VEDO         4004756312677090            Gas           Gov. Aggregation
VEDO         4016803412376158            Gas           Gov. Aggregation   VEDO         4019810952148390            Gas           Gov. Aggregation
VEDO         4001887232126721            Gas           Gov. Aggregation   VEDO         4020335932676857            Gas           Gov. Aggregation
VEDO         4004183692592633            Gas           Gov. Aggregation   VEDO         4003495292401098            Gas           Gov. Aggregation
VEDO         4004665532459718            Gas           Gov. Aggregation   VEDO         4015283952258309            Gas           Gov. Aggregation
VEDO         4003398132343837            Gas           Gov. Aggregation   VEDO         4020889042127946            Gas           Gov. Aggregation
VEDO         4004068862498348            Gas           Gov. Aggregation   VEDO         4020799912136297            Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4003571652448998            Gas           Gov. Aggregation   VEDO            4020798262254851            Gas           Gov. Aggregation
VEDO         4020863532628612            Gas           Gov. Aggregation   VEDO            4020328742295884            Gas           Gov. Aggregation
VEDO         4020899202578470            Gas           Gov. Aggregation   VEDO            4020849462346475            Gas           Gov. Aggregation
VEDO         4001046912141852            Gas           Gov. Aggregation   VEDO            4020849462426116            Gas           Gov. Aggregation
VEDO         4001046912601504            Gas           Gov. Aggregation   VEDO            4020854622523184            Gas           Gov. Aggregation
VEDO         4001049552104711            Gas           Gov. Aggregation   VEDO            4020895402358633            Gas           Gov. Aggregation
VEDO         4001060092105673            Gas           Gov. Aggregation   VEDO            4019837092309000            Gas           Gov. Aggregation
VEDO         4001063262107527            Gas           Gov. Aggregation   VEDO            4017161652224076            Gas           Gov. Aggregation
VEDO         4001096612542617            Gas           Gov. Aggregation   VEDO            4018494472429147            Gas           Gov. Aggregation
VEDO         4001123782111782            Gas           Gov. Aggregation   VEDO            4018612332230908            Gas           Gov. Aggregation
VEDO         4001130802179615            Gas           Gov. Aggregation   VEDO            4003500382168720            Gas           Gov. Aggregation
VEDO         4001134042138309            Gas           Gov. Aggregation   VEDO            4004477872526047            Gas           Gov. Aggregation
VEDO         4001151042294712            Gas           Gov. Aggregation   VEDO            4004384432231104            Gas           Gov. Aggregation
VEDO         4001162622115341            Gas           Gov. Aggregation   VEDO            4004870532496246            Gas           Gov. Aggregation
VEDO         4001277972319846            Gas           Gov. Aggregation   VEDO            4004573972232640            Gas           Gov. Aggregation
VEDO         4001287242374161            Gas           Gov. Aggregation   VEDO            4002760462524311            Gas           Gov. Aggregation
VEDO         4001288492127140            Gas           Gov. Aggregation   VEDO            4002202932215406            Gas           Gov. Aggregation
VEDO         4001288812158799            Gas           Gov. Aggregation   VEDO            4019998182252125            Gas           Gov. Aggregation
VEDO         4001300562128285            Gas           Gov. Aggregation   VEDO            4018710962184989            Gas           Gov. Aggregation
VEDO         4001301842121373            Gas           Gov. Aggregation   VEDO            4019943242124858            Gas           Gov. Aggregation
VEDO         4001394332364776            Gas           Gov. Aggregation   VEDO            4019056582307878            Gas           Gov. Aggregation
VEDO         4001435422300806            Gas           Gov. Aggregation   VEDO            4018701022417124            Gas           Gov. Aggregation
VEDO         4001435432140745            Gas           Gov. Aggregation   VEDO            4019410252404351            Gas           Gov. Aggregation
VEDO         4001435532140759            Gas           Gov. Aggregation   VEDO            4019740162432879            Gas           Gov. Aggregation
VEDO         4001450112142109            Gas           Gov. Aggregation   VEDO            4015701372339627            Gas           Gov. Aggregation
VEDO         4001460162143054            Gas           Gov. Aggregation   VEDO            4018011572380715            Gas           Gov. Aggregation
VEDO         4001546052498645            Gas           Gov. Aggregation   VEDO            4017384042407094            Gas           Gov. Aggregation
VEDO         4001552582505575            Gas           Gov. Aggregation   VEDO            4017269242436450            Gas           Gov. Aggregation
VEDO         4001561642152833            Gas           Gov. Aggregation   VEDO            4018839672242568            Gas           Gov. Aggregation
VEDO         4001561962152863            Gas           Gov. Aggregation   VEDO            4020794892360298            Gas           Gov. Aggregation
VEDO         4001563912153037            Gas           Gov. Aggregation   VEDO            4004203012287115            Gas           Gov. Aggregation
VEDO         4001563912270374            Gas           Gov. Aggregation   VEDO            4004556772311803            Gas           Gov. Aggregation
VEDO         4001565092531528            Gas           Gov. Aggregation   VEDO            4019812582374700            Gas           Gov. Aggregation
VEDO         4001565092552852            Gas           Gov. Aggregation   VEDO            4017332832232329            Gas           Gov. Aggregation
VEDO         4001623852158761            Gas           Gov. Aggregation   VEDO            4016806862193045            Gas           Gov. Aggregation
VEDO         4001633242159717            Gas           Gov. Aggregation   VEDO            4010105092290639            Gas           Gov. Aggregation
VEDO         4001645212160829            Gas           Gov. Aggregation   VEDO            4001448122610096            Gas           Gov. Aggregation
VEDO         4001659862161231            Gas           Gov. Aggregation   DEO             5180004613913               Gas           Gov. Aggregation
VEDO         4001660532120627            Gas           Gov. Aggregation   DEO             3180007421950               Gas           Gov. Aggregation
VEDO         4001664702162632            Gas           Gov. Aggregation   DEO             9500051163920               Gas           Gov. Aggregation
VEDO         4001721162458951            Gas           Gov. Aggregation   DEO             3180005968446               Gas           Gov. Aggregation
VEDO         4001733672169167            Gas           Gov. Aggregation   DEO             1500053117173               Gas           Gov. Aggregation
VEDO         4001741872130676            Gas           Gov. Aggregation   DEO             8180005765552               Gas           Gov. Aggregation
VEDO         4001746482491304            Gas           Gov. Aggregation   DEO             6180005724457               Gas           Gov. Aggregation
VEDO         4001757482114421            Gas           Gov. Aggregation   DEO             9442002558904               Gas           Gov. Aggregation
VEDO         4001844642466345            Gas           Gov. Aggregation   DEO             5180000028375               Gas           Gov. Aggregation
VEDO         4001850972112430            Gas           Gov. Aggregation   DEO             2500019578138               Gas           Gov. Aggregation
VEDO         4001854732338256            Gas           Gov. Aggregation   DEO             3500002225074               Gas           Gov. Aggregation
VEDO         4001867132182135            Gas           Gov. Aggregation   DEO             1500023824907               Gas           Gov. Aggregation
VEDO         4001873792182801            Gas           Gov. Aggregation   DEO             0500002329677               Gas           Gov. Aggregation
VEDO         4001880912183502            Gas           Gov. Aggregation   DEO             3180007729734               Gas           Gov. Aggregation
VEDO         4001953322190796            Gas           Gov. Aggregation   DEO             3500060440211               Gas           Gov. Aggregation
VEDO         4001972442194834            Gas           Gov. Aggregation   DEO             7500013285856               Gas           Gov. Aggregation
VEDO         4001972992192705            Gas           Gov. Aggregation   DEO             7180005838493               Gas           Gov. Aggregation
VEDO         4001989442194316            Gas           Gov. Aggregation   DEO             9500035931063               Gas           Gov. Aggregation
VEDO         4001991512194516            Gas           Gov. Aggregation   DEO             4500048445812               Gas           Gov. Aggregation
VEDO         4002041792199461            Gas           Gov. Aggregation   DEO             1500054961100               Gas           Gov. Aggregation
VEDO         4002042282199502            Gas           Gov. Aggregation   DEO             4500066444358               Gas           Gov. Aggregation
VEDO         4002049162105389            Gas           Gov. Aggregation   DEO             0180004867164               Gas           Gov. Aggregation
VEDO         4002056502200944            Gas           Gov. Aggregation   DEO             8500063405432               Gas           Gov. Aggregation
VEDO         4002064882201788            Gas           Gov. Aggregation   DEO             9180000477948               Gas           Gov. Aggregation
VEDO         4002064882399294            Gas           Gov. Aggregation   DEO             9180004499003               Gas           Gov. Aggregation
VEDO         4002064882403653            Gas           Gov. Aggregation   DEO             8500007192717               Gas           Gov. Aggregation
VEDO         4002144112209554            Gas           Gov. Aggregation   DEO             8500040882100               Gas           Gov. Aggregation
VEDO         4002144652615532            Gas           Gov. Aggregation   DEO             9442004468084               Gas           Gov. Aggregation
VEDO         4002154942210625            Gas           Gov. Aggregation   DEO             9180007323724               Gas           Gov. Aggregation
VEDO         4002161092415308            Gas           Gov. Aggregation   DEO             9500049310930               Gas           Gov. Aggregation
VEDO         4002161652211306            Gas           Gov. Aggregation   DEO             9500033821111               Gas           Gov. Aggregation
VEDO         4002182972127518            Gas           Gov. Aggregation   DEO             9500022691727               Gas           Gov. Aggregation
VEDO         4002182972471636            Gas           Gov. Aggregation   DEO             9500023175404               Gas           Gov. Aggregation
VEDO         4002254992220585            Gas           Gov. Aggregation   DEO             5500016210788               Gas           Gov. Aggregation
VEDO         4002262952221425            Gas           Gov. Aggregation   DEO             9180004486777               Gas           Gov. Aggregation
VEDO         4002267322221839            Gas           Gov. Aggregation   DEO             9180000576461               Gas           Gov. Aggregation
VEDO         4002273492444667            Gas           Gov. Aggregation   DEO             8500047419325               Gas           Gov. Aggregation
VEDO         4002295472352433            Gas           Gov. Aggregation   DEO             7442100122243               Gas           Gov. Aggregation
VEDO         4002299182104425            Gas           Gov. Aggregation   DEO             3180007266845               Gas           Gov. Aggregation
VEDO         4002385382500378            Gas           Gov. Aggregation   DEO             4442001661740               Gas           Gov. Aggregation
VEDO         4002387462298368            Gas           Gov. Aggregation   DEO             4500047029910               Gas           Gov. Aggregation
VEDO         4002407882235673            Gas           Gov. Aggregation   DEO             3500064221950               Gas           Gov. Aggregation
VEDO         4002415892236477            Gas           Gov. Aggregation   DEO             3500052797501               Gas           Gov. Aggregation
VEDO         4002428422629845            Gas           Gov. Aggregation   DEO             1500015794913               Gas           Gov. Aggregation
VEDO         4002496612244566            Gas           Gov. Aggregation   DEO             2180005213799               Gas           Gov. Aggregation
VEDO         4002503472245258            Gas           Gov. Aggregation   DEO             2180009366665               Gas           Gov. Aggregation
VEDO         4002531762248111            Gas           Gov. Aggregation   DEO             2500040145116               Gas           Gov. Aggregation
VEDO         4002556492250655            Gas           Gov. Aggregation   DEO             0442000293435               Gas           Gov. Aggregation
VEDO         4002559612588074            Gas           Gov. Aggregation   DEO             0500063597850               Gas           Gov. Aggregation
VEDO         4002576972128414            Gas           Gov. Aggregation   DEO             0442004665479               Gas           Gov. Aggregation
VEDO         4002622802512935            Gas           Gov. Aggregation   DEO             0180007936085               Gas           Gov. Aggregation
VEDO         4002661672432980            Gas           Gov. Aggregation   DEO             8180000979813               Gas           Gov. Aggregation
VEDO         4002663152261169            Gas           Gov. Aggregation   DEO             8180003337184               Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4002675992282458            Gas           Gov. Aggregation   DEO             8180005050404               Gas           Gov. Aggregation
VEDO         4002693592264240            Gas           Gov. Aggregation   DEO             7500036997315               Gas           Gov. Aggregation
VEDO         4002702302339544            Gas           Gov. Aggregation   DEO             7442104444904               Gas           Gov. Aggregation
VEDO         4002702332265117            Gas           Gov. Aggregation   DEO             7500015714131               Gas           Gov. Aggregation
VEDO         4002733042268172            Gas           Gov. Aggregation   DEO             7180004079703               Gas           Gov. Aggregation
VEDO         4002786432273595            Gas           Gov. Aggregation   DEO             7180007236914               Gas           Gov. Aggregation
VEDO         4002794752274459            Gas           Gov. Aggregation   DEO             3500035632752               Gas           Gov. Aggregation
VEDO         4002801532275127            Gas           Gov. Aggregation   DEO             3500052033500               Gas           Gov. Aggregation
VEDO         4002833972278390            Gas           Gov. Aggregation   DEO             3500014977368               Gas           Gov. Aggregation
VEDO         4002851662489694            Gas           Gov. Aggregation   DEO             3442105302453               Gas           Gov. Aggregation
VEDO         4002881712252878            Gas           Gov. Aggregation   DEO             3180007181444               Gas           Gov. Aggregation
VEDO         4002881712283158            Gas           Gov. Aggregation   DEO             3180008715906               Gas           Gov. Aggregation
VEDO         4002881712423764            Gas           Gov. Aggregation   DEO             0500065305797               Gas           Gov. Aggregation
VEDO         4002888022283767            Gas           Gov. Aggregation   DEO             3180001013365               Gas           Gov. Aggregation
VEDO         4002894642284436            Gas           Gov. Aggregation   DEO             3500064527266               Gas           Gov. Aggregation
VEDO         4002896282284620            Gas           Gov. Aggregation   DEO             0500023747243               Gas           Gov. Aggregation
VEDO         4002911832286176            Gas           Gov. Aggregation   DEO             0180003510917               Gas           Gov. Aggregation
VEDO         4002967462411637            Gas           Gov. Aggregation   DEO             0180001970078               Gas           Gov. Aggregation
VEDO         4002967492291974            Gas           Gov. Aggregation   DEO             6500042585519               Gas           Gov. Aggregation
VEDO         4002971732248008            Gas           Gov. Aggregation   DEO             6500061690887               Gas           Gov. Aggregation
VEDO         4002997002294996            Gas           Gov. Aggregation   DEO             6500046838764               Gas           Gov. Aggregation
VEDO         4003128202308460            Gas           Gov. Aggregation   DEO             6180008237872               Gas           Gov. Aggregation
VEDO         4003128442308489            Gas           Gov. Aggregation   DEO             6180008632619               Gas           Gov. Aggregation
VEDO         4003130892487432            Gas           Gov. Aggregation   DEO             8180003630505               Gas           Gov. Aggregation
VEDO         4003130922517836            Gas           Gov. Aggregation   DEO             5180004269015               Gas           Gov. Aggregation
VEDO         4003134212118928            Gas           Gov. Aggregation   DEO             8180002469624               Gas           Gov. Aggregation
VEDO         4003135452153679            Gas           Gov. Aggregation   DEO             8180002158791               Gas           Gov. Aggregation
VEDO         4003145212110105            Gas           Gov. Aggregation   DEO             6180008324201               Gas           Gov. Aggregation
VEDO         4003147352485933            Gas           Gov. Aggregation   DEO             8500044027657               Gas           Gov. Aggregation
VEDO         4003205152528571            Gas           Gov. Aggregation   DEO             8500046514484               Gas           Gov. Aggregation
VEDO         4003206112316584            Gas           Gov. Aggregation   DEO             8442108725120               Gas           Gov. Aggregation
VEDO         4003206462316621            Gas           Gov. Aggregation   DEO             8500010776319               Gas           Gov. Aggregation
VEDO         4003211322317093            Gas           Gov. Aggregation   DEO             8442000285163               Gas           Gov. Aggregation
VEDO         4003212852150590            Gas           Gov. Aggregation   DEO             8500052820940               Gas           Gov. Aggregation
VEDO         4003217592317710            Gas           Gov. Aggregation   DEO             8500054551443               Gas           Gov. Aggregation
VEDO         4003291122325289            Gas           Gov. Aggregation   DEO             8500047151375               Gas           Gov. Aggregation
VEDO         4003293492325558            Gas           Gov. Aggregation   DEO             8500049095360               Gas           Gov. Aggregation
VEDO         4003340312330424            Gas           Gov. Aggregation   DEO             0500052175805               Gas           Gov. Aggregation
VEDO         4003342412330663            Gas           Gov. Aggregation   DEO             0442004373425               Gas           Gov. Aggregation
VEDO         4003343152244077            Gas           Gov. Aggregation   DEO             0180003542193               Gas           Gov. Aggregation
VEDO         4003344622633904            Gas           Gov. Aggregation   DEO             0180000362220               Gas           Gov. Aggregation
VEDO         4003446262594219            Gas           Gov. Aggregation   DEO             7180006044416               Gas           Gov. Aggregation
VEDO         4003457072365700            Gas           Gov. Aggregation   DEO             1500055185831               Gas           Gov. Aggregation
VEDO         4003469072344089            Gas           Gov. Aggregation   DEO             1500054826543               Gas           Gov. Aggregation
VEDO         4003483512345515            Gas           Gov. Aggregation   DEO             2180002295896               Gas           Gov. Aggregation
VEDO         4003485982118234            Gas           Gov. Aggregation   DEO             2180002606075               Gas           Gov. Aggregation
VEDO         4003509802106517            Gas           Gov. Aggregation   DEO             2180003695201               Gas           Gov. Aggregation
VEDO         4003597912357599            Gas           Gov. Aggregation   DEO             4180004477415               Gas           Gov. Aggregation
VEDO         4003598302357635            Gas           Gov. Aggregation   DEO             4180003100502               Gas           Gov. Aggregation
VEDO         4003612872336441            Gas           Gov. Aggregation   DEO             3500064924789               Gas           Gov. Aggregation
VEDO         4003616422359536            Gas           Gov. Aggregation   DEO             3500062192209               Gas           Gov. Aggregation
VEDO         4003619142359800            Gas           Gov. Aggregation   DEO             3500062039390               Gas           Gov. Aggregation
VEDO         4003622912260577            Gas           Gov. Aggregation   DEO             3500055538761               Gas           Gov. Aggregation
VEDO         4003634802307245            Gas           Gov. Aggregation   DEO             8500067073242               Gas           Gov. Aggregation
VEDO         4003721642370642            Gas           Gov. Aggregation   DEO             8500065575855               Gas           Gov. Aggregation
VEDO         4003723232477426            Gas           Gov. Aggregation   DEO             5180008719663               Gas           Gov. Aggregation
VEDO         4003726362217359            Gas           Gov. Aggregation   DEO             6500052674574               Gas           Gov. Aggregation
VEDO         4003742812372929            Gas           Gov. Aggregation   DEO             6442103576989               Gas           Gov. Aggregation
VEDO         4003776632598999            Gas           Gov. Aggregation   DEO             9442005903582               Gas           Gov. Aggregation
VEDO         4003819142240444            Gas           Gov. Aggregation   DEO             9500037309153               Gas           Gov. Aggregation
VEDO         4003884402216281            Gas           Gov. Aggregation   DEO             2442000122270               Gas           Gov. Aggregation
VEDO         4003894822389278            Gas           Gov. Aggregation   DEO             8180003887554               Gas           Gov. Aggregation
VEDO         4003911622391141            Gas           Gov. Aggregation   DEO             7442005903858               Gas           Gov. Aggregation
VEDO         4003919652392011            Gas           Gov. Aggregation   DEO             1442006147079               Gas           Gov. Aggregation
VEDO         4003934892188841            Gas           Gov. Aggregation   DEO             9500053850454               Gas           Gov. Aggregation
VEDO         4003939602394212            Gas           Gov. Aggregation   DEO             8442006812691               Gas           Gov. Aggregation
VEDO         4003947382395027            Gas           Gov. Aggregation   DEO             8442002375307               Gas           Gov. Aggregation
VEDO         4003952902162166            Gas           Gov. Aggregation   DEO             8500049444317               Gas           Gov. Aggregation
VEDO         4004058232406962            Gas           Gov. Aggregation   DEO             8500060000762               Gas           Gov. Aggregation
VEDO         4004067822408064            Gas           Gov. Aggregation   DEO             6180003475579               Gas           Gov. Aggregation
VEDO         4004067872408070            Gas           Gov. Aggregation   DEO             6180002201897               Gas           Gov. Aggregation
VEDO         4004075192408872            Gas           Gov. Aggregation   DEO             5500067472350               Gas           Gov. Aggregation
VEDO         4004085572410038            Gas           Gov. Aggregation   DEO             5500051001069               Gas           Gov. Aggregation
VEDO         4004086802427388            Gas           Gov. Aggregation   DEO             6180009352906               Gas           Gov. Aggregation
VEDO         4004144342416402            Gas           Gov. Aggregation   DEO             6180008154419               Gas           Gov. Aggregation
VEDO         4004166792418858            Gas           Gov. Aggregation   DEO             6180006190253               Gas           Gov. Aggregation
VEDO         4004174722153387            Gas           Gov. Aggregation   DEO             6180006046656               Gas           Gov. Aggregation
VEDO         4004178262420109            Gas           Gov. Aggregation   DEO             2500064942069               Gas           Gov. Aggregation
VEDO         4004212852405466            Gas           Gov. Aggregation   DEO             1500064601673               Gas           Gov. Aggregation
VEDO         4004223822425096            Gas           Gov. Aggregation   DEO             1500066497395               Gas           Gov. Aggregation
VEDO         4004238212509331            Gas           Gov. Aggregation   DEO             2180000011441               Gas           Gov. Aggregation
VEDO         4004327772387112            Gas           Gov. Aggregation   DEO             1442007405613               Gas           Gov. Aggregation
VEDO         4004327772629307            Gas           Gov. Aggregation   DEO             1442007980493               Gas           Gov. Aggregation
VEDO         4004327772634392            Gas           Gov. Aggregation   DEO             1442008153275               Gas           Gov. Aggregation
VEDO         4004350742438972            Gas           Gov. Aggregation   DEO             2500052384416               Gas           Gov. Aggregation
VEDO         4004356992439677            Gas           Gov. Aggregation   DEO             2500044077501               Gas           Gov. Aggregation
VEDO         4004380872442258            Gas           Gov. Aggregation   DEO             2442004597475               Gas           Gov. Aggregation
VEDO         4004503652107924            Gas           Gov. Aggregation   DEO             2442005434554               Gas           Gov. Aggregation
VEDO         4004517082209573            Gas           Gov. Aggregation   DEO             2442008470211               Gas           Gov. Aggregation
VEDO         4004517972486343            Gas           Gov. Aggregation   DEO             0180006363852               Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4004530462429694            Gas           Gov. Aggregation   DEO             0180005274163               Gas           Gov. Aggregation
VEDO         4004537292459503            Gas           Gov. Aggregation   DEO             0180004990145               Gas           Gov. Aggregation
VEDO         4004557592461711            Gas           Gov. Aggregation   DEO             0500050912678               Gas           Gov. Aggregation
VEDO         4004644572499687            Gas           Gov. Aggregation   DEO             0500044726054               Gas           Gov. Aggregation
VEDO         4004645332471497            Gas           Gov. Aggregation   DEO             0500046079233               Gas           Gov. Aggregation
VEDO         4004649682471964            Gas           Gov. Aggregation   DEO             0500033721185               Gas           Gov. Aggregation
VEDO         4004679792475282            Gas           Gov. Aggregation   DEO             7180009211208               Gas           Gov. Aggregation
VEDO         4004683752475730            Gas           Gov. Aggregation   DEO             7180002490095               Gas           Gov. Aggregation
VEDO         4004702592246650            Gas           Gov. Aggregation   DEO             6500066676496               Gas           Gov. Aggregation
VEDO         4004731682531914            Gas           Gov. Aggregation   DEO             8180006373634               Gas           Gov. Aggregation
VEDO         4004746852482580            Gas           Gov. Aggregation   DEO             8180006457432               Gas           Gov. Aggregation
VEDO         4004762292435422            Gas           Gov. Aggregation   DEO             4442000517499               Gas           Gov. Aggregation
VEDO         4004762942484413            Gas           Gov. Aggregation   DEO             8500060855075               Gas           Gov. Aggregation
VEDO         4004772992485468            Gas           Gov. Aggregation   DEO             6500024460681               Gas           Gov. Aggregation
VEDO         4004795042487873            Gas           Gov. Aggregation   DEO             6500052666772               Gas           Gov. Aggregation
VEDO         4004796442157672            Gas           Gov. Aggregation   DEO             5442005096060               Gas           Gov. Aggregation
VEDO         4004802862488729            Gas           Gov. Aggregation   DEO             4500034234381               Gas           Gov. Aggregation
VEDO         4004940772232217            Gas           Gov. Aggregation   DEO             4442005433994               Gas           Gov. Aggregation
VEDO         4004940772420488            Gas           Gov. Aggregation   DEO             8500026091069               Gas           Gov. Aggregation
VEDO         4004964222506670            Gas           Gov. Aggregation   DEO             8500031480027               Gas           Gov. Aggregation
VEDO         4004969892507296            Gas           Gov. Aggregation   DEO             0500060408832               Gas           Gov. Aggregation
VEDO         4004970642507381            Gas           Gov. Aggregation   DEO             0500061319698               Gas           Gov. Aggregation
VEDO         4004988312509364            Gas           Gov. Aggregation   DEO             0500061778288               Gas           Gov. Aggregation
VEDO         4005150522527746            Gas           Gov. Aggregation   DEO             0180006841343               Gas           Gov. Aggregation
VEDO         4005154312528184            Gas           Gov. Aggregation   DEO             2500013925579               Gas           Gov. Aggregation
VEDO         4010027582326237            Gas           Gov. Aggregation   DEO             2442008480554               Gas           Gov. Aggregation
VEDO         4010027582431060            Gas           Gov. Aggregation   DEO             2180008574796               Gas           Gov. Aggregation
VEDO         4010030842445818            Gas           Gov. Aggregation   DEO             9500065347475               Gas           Gov. Aggregation
VEDO         4015029762125012            Gas           Gov. Aggregation   DEO             9500065445101               Gas           Gov. Aggregation
VEDO         4015047562282063            Gas           Gov. Aggregation   DEO             8180003055666               Gas           Gov. Aggregation
VEDO         4015051622519326            Gas           Gov. Aggregation   DEO             5180002744176               Gas           Gov. Aggregation
VEDO         4015078082529283            Gas           Gov. Aggregation   DEO             7442005096766               Gas           Gov. Aggregation
VEDO         4015089442468574            Gas           Gov. Aggregation   DEO             7442005878736               Gas           Gov. Aggregation
VEDO         4015090002469576            Gas           Gov. Aggregation   DEO             8500055665829               Gas           Gov. Aggregation
VEDO         4015091522174314            Gas           Gov. Aggregation   DEO             8500050541608               Gas           Gov. Aggregation
VEDO         4015215162181740            Gas           Gov. Aggregation   DEO             8500042815665               Gas           Gov. Aggregation
VEDO         4015219742158857            Gas           Gov. Aggregation   DEO             8500044267032               Gas           Gov. Aggregation
VEDO         4015226322526133            Gas           Gov. Aggregation   DEO             8500044290709               Gas           Gov. Aggregation
VEDO         4015229112448678            Gas           Gov. Aggregation   DEO             8180008943956               Gas           Gov. Aggregation
VEDO         4015248132397020            Gas           Gov. Aggregation   DEO             9180008406235               Gas           Gov. Aggregation
VEDO         4015334052341282            Gas           Gov. Aggregation   DEO             9500007430487               Gas           Gov. Aggregation
VEDO         4015341072586482            Gas           Gov. Aggregation   DEO             9500053726344               Gas           Gov. Aggregation
VEDO         4015350732320701            Gas           Gov. Aggregation   DEO             9500050993629               Gas           Gov. Aggregation
VEDO         4015355042304049            Gas           Gov. Aggregation   DEO             5500065337764               Gas           Gov. Aggregation
VEDO         4015381062467740            Gas           Gov. Aggregation   DEO             6180003016866               Gas           Gov. Aggregation
VEDO         4015402542282247            Gas           Gov. Aggregation   DEO             5500029073662               Gas           Gov. Aggregation
VEDO         4015457152111417            Gas           Gov. Aggregation   DEO             5500013188844               Gas           Gov. Aggregation
VEDO         4015461122431081            Gas           Gov. Aggregation   DEO             8180007582602               Gas           Gov. Aggregation
VEDO         4015491262463923            Gas           Gov. Aggregation   DEO             8180007739591               Gas           Gov. Aggregation
VEDO         4015493742591046            Gas           Gov. Aggregation   DEO             7442003109494               Gas           Gov. Aggregation
VEDO         4015497692317839            Gas           Gov. Aggregation   DEO             7442003262089               Gas           Gov. Aggregation
VEDO         4015515912404500            Gas           Gov. Aggregation   DEO             5180002798150               Gas           Gov. Aggregation
VEDO         4015524262276639            Gas           Gov. Aggregation   DEO             5180005867929               Gas           Gov. Aggregation
VEDO         4015615912314959            Gas           Gov. Aggregation   DEO             5180006975855               Gas           Gov. Aggregation
VEDO         4015619392210979            Gas           Gov. Aggregation   DEO             4500054095226               Gas           Gov. Aggregation
VEDO         4015668842116337            Gas           Gov. Aggregation   DEO             0442004168342               Gas           Gov. Aggregation
VEDO         4015689042558936            Gas           Gov. Aggregation   DEO             0442009147662               Gas           Gov. Aggregation
VEDO         4015710302122439            Gas           Gov. Aggregation   DEO             0500032517857               Gas           Gov. Aggregation
VEDO         4015857752551290            Gas           Gov. Aggregation   DEO             0500038119393               Gas           Gov. Aggregation
VEDO         4015875802488327            Gas           Gov. Aggregation   DEO             0180006099160               Gas           Gov. Aggregation
VEDO         4015875802521984            Gas           Gov. Aggregation   DEO             1180004898616               Gas           Gov. Aggregation
VEDO         4015875802537174            Gas           Gov. Aggregation   DEO             1180003372100               Gas           Gov. Aggregation
VEDO         4015977002284251            Gas           Gov. Aggregation   DEO             1442004467903               Gas           Gov. Aggregation
VEDO         4015991092389116            Gas           Gov. Aggregation   DEO             7500046683260               Gas           Gov. Aggregation
VEDO         4015996752612561            Gas           Gov. Aggregation   DEO             5500054727577               Gas           Gov. Aggregation
VEDO         4016010552117881            Gas           Gov. Aggregation   DEO             0442005307919               Gas           Gov. Aggregation
VEDO         4016012432396425            Gas           Gov. Aggregation   DEO             2442003477451               Gas           Gov. Aggregation
VEDO         4016043742381776            Gas           Gov. Aggregation   DEO             5180003424996               Gas           Gov. Aggregation
VEDO         4016108492226050            Gas           Gov. Aggregation   DEO             5180000416187               Gas           Gov. Aggregation
VEDO         4016115992110212            Gas           Gov. Aggregation   DEO             7500065569742               Gas           Gov. Aggregation
VEDO         4016124702135418            Gas           Gov. Aggregation   DEO             7500038222772               Gas           Gov. Aggregation
VEDO         4016138422647083            Gas           Gov. Aggregation   DEO             0180002736600               Gas           Gov. Aggregation
VEDO         4016159182347920            Gas           Gov. Aggregation   DEO             6500065413721               Gas           Gov. Aggregation
VEDO         4016201392588374            Gas           Gov. Aggregation   DEO             8500031824199               Gas           Gov. Aggregation
VEDO         4016202602336618            Gas           Gov. Aggregation   DEO             9180003656302               Gas           Gov. Aggregation
VEDO         4016211132612572            Gas           Gov. Aggregation   DEO             8500003777726               Gas           Gov. Aggregation
VEDO         4016212532423246            Gas           Gov. Aggregation   DEO             8500065153359               Gas           Gov. Aggregation
VEDO         4016217442273577            Gas           Gov. Aggregation   DEO             6500040332485               Gas           Gov. Aggregation
VEDO         4016235832319386            Gas           Gov. Aggregation   DEO             5442008144307               Gas           Gov. Aggregation
VEDO         4016235832472225            Gas           Gov. Aggregation   DEO             4442008988196               Gas           Gov. Aggregation
VEDO         4016289732309121            Gas           Gov. Aggregation   DEO             4500008982763               Gas           Gov. Aggregation
VEDO         4016318412473363            Gas           Gov. Aggregation   DEO             4500051591780               Gas           Gov. Aggregation
VEDO         4016327792202879            Gas           Gov. Aggregation   DEO             4500051885433               Gas           Gov. Aggregation
VEDO         4016343532373384            Gas           Gov. Aggregation   DEO             4500052610985               Gas           Gov. Aggregation
VEDO         4016379102625479            Gas           Gov. Aggregation   DEO             4180009343105               Gas           Gov. Aggregation
VEDO         4016489032471461            Gas           Gov. Aggregation   DEO             4180007412112               Gas           Gov. Aggregation
VEDO         4016491992376629            Gas           Gov. Aggregation   DEO             0180006375091               Gas           Gov. Aggregation
VEDO         4016496892322988            Gas           Gov. Aggregation   DEO             3180007023129               Gas           Gov. Aggregation
VEDO         4016506732225945            Gas           Gov. Aggregation   DEO             1500040483016               Gas           Gov. Aggregation
VEDO         4016512412203068            Gas           Gov. Aggregation   DEO             1500017704068               Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4016516572239210            Gas           Gov. Aggregation   DEO             4442001535123               Gas           Gov. Aggregation
VEDO         4016651502598997            Gas           Gov. Aggregation   DEO             4500054375725               Gas           Gov. Aggregation
VEDO         4016676152423843            Gas           Gov. Aggregation   DEO             5180007173713               Gas           Gov. Aggregation
VEDO         4016696812420308            Gas           Gov. Aggregation   DEO             2500066352245               Gas           Gov. Aggregation
VEDO         4016829262108754            Gas           Gov. Aggregation   DEO             8500025474317               Gas           Gov. Aggregation
VEDO         4016830922216647            Gas           Gov. Aggregation   DEO             5500051888304               Gas           Gov. Aggregation
VEDO         4016847532494268            Gas           Gov. Aggregation   DEO             0500048721329               Gas           Gov. Aggregation
VEDO         4016847972237135            Gas           Gov. Aggregation   DEO             6500066107113               Gas           Gov. Aggregation
VEDO         4016850672108663            Gas           Gov. Aggregation   DEO             6500066847505               Gas           Gov. Aggregation
VEDO         4016936392268506            Gas           Gov. Aggregation   DEO             6500046026911               Gas           Gov. Aggregation
VEDO         4016939462472747            Gas           Gov. Aggregation   DEO             6180006159882               Gas           Gov. Aggregation
VEDO         4016951502226338            Gas           Gov. Aggregation   DEO             6180006898238               Gas           Gov. Aggregation
VEDO         4016961942165219            Gas           Gov. Aggregation   DEO             5500050125529               Gas           Gov. Aggregation
VEDO         4016961942332480            Gas           Gov. Aggregation   COH             159733200014                Gas           Gov. Aggregation
VEDO         4016965492101916            Gas           Gov. Aggregation   VEDO            4001000812267338            Gas           Gov. Aggregation
VEDO         4017012212484018            Gas           Gov. Aggregation   VEDO            4001000812343165            Gas           Gov. Aggregation
VEDO         4017028332500077            Gas           Gov. Aggregation   VEDO            4001000812350299            Gas           Gov. Aggregation
VEDO         4017033592195306            Gas           Gov. Aggregation   VEDO            4001000812381039            Gas           Gov. Aggregation
VEDO         4017046442172498            Gas           Gov. Aggregation   VEDO            4001001992635010            Gas           Gov. Aggregation
VEDO         4017047662369466            Gas           Gov. Aggregation   VEDO            4001002362404554            Gas           Gov. Aggregation
VEDO         4017056652235058            Gas           Gov. Aggregation   VEDO            4001048462104607            Gas           Gov. Aggregation
VEDO         4017069862262507            Gas           Gov. Aggregation   VEDO            4001048902145026            Gas           Gov. Aggregation
VEDO         4017079782487511            Gas           Gov. Aggregation   VEDO            4001049262104687            Gas           Gov. Aggregation
VEDO         4017176762132504            Gas           Gov. Aggregation   VEDO            4001050912104832            Gas           Gov. Aggregation
VEDO         4017178432353351            Gas           Gov. Aggregation   VEDO            4001052762529777            Gas           Gov. Aggregation
VEDO         4017188292424328            Gas           Gov. Aggregation   VEDO            4001054182125467            Gas           Gov. Aggregation
VEDO         4017198922180628            Gas           Gov. Aggregation   VEDO            4001054182474077            Gas           Gov. Aggregation
VEDO         4017213852494966            Gas           Gov. Aggregation   VEDO            4001060242338937            Gas           Gov. Aggregation
VEDO         4017271552610118            Gas           Gov. Aggregation   VEDO            4001092542112479            Gas           Gov. Aggregation
VEDO         4017291852132901            Gas           Gov. Aggregation   VEDO            4001094582174532            Gas           Gov. Aggregation
VEDO         4017300352348260            Gas           Gov. Aggregation   VEDO            4001097912109300            Gas           Gov. Aggregation
VEDO         4017309742313013            Gas           Gov. Aggregation   VEDO            4001103842172969            Gas           Gov. Aggregation
VEDO         4017310502179944            Gas           Gov. Aggregation   VEDO            4001108372110313            Gas           Gov. Aggregation
VEDO         4017316212322387            Gas           Gov. Aggregation   VEDO            4001132902112623            Gas           Gov. Aggregation
VEDO         4017435202213041            Gas           Gov. Aggregation   VEDO            4001146052113797            Gas           Gov. Aggregation
VEDO         4017469622633915            Gas           Gov. Aggregation   VEDO            4001213032640410            Gas           Gov. Aggregation
VEDO         4017475612293845            Gas           Gov. Aggregation   VEDO            4001224762249094            Gas           Gov. Aggregation
VEDO         4017564372205923            Gas           Gov. Aggregation   VEDO            4001233262121984            Gas           Gov. Aggregation
VEDO         4017570562248914            Gas           Gov. Aggregation   VEDO            4001243822122964            Gas           Gov. Aggregation
VEDO         4017575862231801            Gas           Gov. Aggregation   VEDO            4001258402418237            Gas           Gov. Aggregation
VEDO         4017580692187352            Gas           Gov. Aggregation   VEDO            4001258652463800            Gas           Gov. Aggregation
VEDO         4017580722233500            Gas           Gov. Aggregation   VEDO            4001269762440880            Gas           Gov. Aggregation
VEDO         4017589992624195            Gas           Gov. Aggregation   VEDO            4001331492201926            Gas           Gov. Aggregation
VEDO         4017643732509485            Gas           Gov. Aggregation   VEDO            4001333612629903            Gas           Gov. Aggregation
VEDO         4017644592218329            Gas           Gov. Aggregation   VEDO            4001340572518971            Gas           Gov. Aggregation
VEDO         4017652242343913            Gas           Gov. Aggregation   VEDO            4001387612203702            Gas           Gov. Aggregation
VEDO         4017657172637935            Gas           Gov. Aggregation   VEDO            4001387612230414            Gas           Gov. Aggregation
VEDO         4017666352334836            Gas           Gov. Aggregation   VEDO            4001391472348471            Gas           Gov. Aggregation
VEDO         4017736752293128            Gas           Gov. Aggregation   VEDO            4001391822195155            Gas           Gov. Aggregation
VEDO         4017755172449196            Gas           Gov. Aggregation   VEDO            4001395652137116            Gas           Gov. Aggregation
VEDO         4017780992601355            Gas           Gov. Aggregation   VEDO            4001399452198920            Gas           Gov. Aggregation
VEDO         4017804362179291            Gas           Gov. Aggregation   VEDO            4001452572142353            Gas           Gov. Aggregation
VEDO         4017880432631027            Gas           Gov. Aggregation   VEDO            4001452572376467            Gas           Gov. Aggregation
VEDO         4017899292345637            Gas           Gov. Aggregation   VEDO            4001452572483475            Gas           Gov. Aggregation
VEDO         4017903112589773            Gas           Gov. Aggregation   VEDO            4001458812142933            Gas           Gov. Aggregation
VEDO         4017903862167629            Gas           Gov. Aggregation   VEDO            4001458812506341            Gas           Gov. Aggregation
VEDO         4017904272339071            Gas           Gov. Aggregation   VEDO            4001464662225922            Gas           Gov. Aggregation
VEDO         4017905202455771            Gas           Gov. Aggregation   VEDO            4001475322144496            Gas           Gov. Aggregation
VEDO         4017953652221243            Gas           Gov. Aggregation   VEDO            4001508812147615            Gas           Gov. Aggregation
VEDO         4017960202138923            Gas           Gov. Aggregation   VEDO            4001518952276303            Gas           Gov. Aggregation
VEDO         4017964012347857            Gas           Gov. Aggregation   VEDO            4001524862256410            Gas           Gov. Aggregation
VEDO         4017969372612570            Gas           Gov. Aggregation   VEDO            4001530302460055            Gas           Gov. Aggregation
VEDO         4017969462594268            Gas           Gov. Aggregation   VEDO            4001547272363234            Gas           Gov. Aggregation
VEDO         4017971362239693            Gas           Gov. Aggregation   VEDO            4001579042154478            Gas           Gov. Aggregation
VEDO         4017971372107205            Gas           Gov. Aggregation   VEDO            4001581172222921            Gas           Gov. Aggregation
VEDO         4018032722297731            Gas           Gov. Aggregation   VEDO            4001583162154882            Gas           Gov. Aggregation
VEDO         4018036362152709            Gas           Gov. Aggregation   VEDO            4001596512156165            Gas           Gov. Aggregation
VEDO         4018039632521763            Gas           Gov. Aggregation   VEDO            4001607162157203            Gas           Gov. Aggregation
VEDO         4018039862503273            Gas           Gov. Aggregation   VEDO            4001709192134197            Gas           Gov. Aggregation
VEDO         4018047932539704            Gas           Gov. Aggregation   VEDO            4001713222143677            Gas           Gov. Aggregation
VEDO         4018051662525219            Gas           Gov. Aggregation   VEDO            4001714632605359            Gas           Gov. Aggregation
VEDO         4018062812191869            Gas           Gov. Aggregation   VEDO            4001714702167333            Gas           Gov. Aggregation
VEDO         4018122842264401            Gas           Gov. Aggregation   VEDO            4001714702236267            Gas           Gov. Aggregation
VEDO         4018131872555206            Gas           Gov. Aggregation   VEDO            4001715662249640            Gas           Gov. Aggregation
VEDO         4018136342391254            Gas           Gov. Aggregation   VEDO            4001718352625755            Gas           Gov. Aggregation
VEDO         4018140242359356            Gas           Gov. Aggregation   VEDO            4001733182454361            Gas           Gov. Aggregation
VEDO         4018142902165699            Gas           Gov. Aggregation   VEDO            4001734222169223            Gas           Gov. Aggregation
VEDO         4018148572414676            Gas           Gov. Aggregation   VEDO            4001735452637375            Gas           Gov. Aggregation
VEDO         4018157692127334            Gas           Gov. Aggregation   VEDO            4001764802172186            Gas           Gov. Aggregation
VEDO         4018157692447231            Gas           Gov. Aggregation   VEDO            4001768742128345            Gas           Gov. Aggregation
VEDO         4018186882226644            Gas           Gov. Aggregation   VEDO            4001773982173094            Gas           Gov. Aggregation
VEDO         4018196772359659            Gas           Gov. Aggregation   VEDO            4001777392173451            Gas           Gov. Aggregation
VEDO         4018197552531971            Gas           Gov. Aggregation   VEDO            4001777702173479            Gas           Gov. Aggregation
VEDO         4018199612452598            Gas           Gov. Aggregation   VEDO            4001780802526709            Gas           Gov. Aggregation
VEDO         4018200022424000            Gas           Gov. Aggregation   VEDO            4001783922472853            Gas           Gov. Aggregation
VEDO         4018204202355106            Gas           Gov. Aggregation   VEDO            4001827202485635            Gas           Gov. Aggregation
VEDO         4018247642170555            Gas           Gov. Aggregation   VEDO            4001834252178999            Gas           Gov. Aggregation
VEDO         4018257012439690            Gas           Gov. Aggregation   VEDO            4001834902167326            Gas           Gov. Aggregation
VEDO         4018267192396268            Gas           Gov. Aggregation   VEDO            4001840232179576            Gas           Gov. Aggregation
VEDO         4018270122163211            Gas           Gov. Aggregation   VEDO            4001846132180160            Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
VEDO         4018272272641778            Gas           Gov. Aggregation   VEDO         4001855282181038            Gas           Gov. Aggregation
VEDO         4018362462599173            Gas           Gov. Aggregation   VEDO         4001860232125105            Gas           Gov. Aggregation
VEDO         4018372772497886            Gas           Gov. Aggregation   VEDO         4001883402183762            Gas           Gov. Aggregation
VEDO         4018374412254477            Gas           Gov. Aggregation   VEDO         4001895672185006            Gas           Gov. Aggregation
VEDO         4018375712292561            Gas           Gov. Aggregation   VEDO         4001895942185031            Gas           Gov. Aggregation
VEDO         4018382362635322            Gas           Gov. Aggregation   VEDO         4001910282186447            Gas           Gov. Aggregation
VEDO         4018388812110980            Gas           Gov. Aggregation   VEDO         4001922842553517            Gas           Gov. Aggregation
VEDO         4018426792292148            Gas           Gov. Aggregation   VEDO         4001926022129661            Gas           Gov. Aggregation
VEDO         4018430642586514            Gas           Gov. Aggregation   VEDO         4001961482191596            Gas           Gov. Aggregation
VEDO         4018454182181855            Gas           Gov. Aggregation   VEDO         4001961852628053            Gas           Gov. Aggregation
VEDO         4018458892294829            Gas           Gov. Aggregation   VEDO         4001973702192773            Gas           Gov. Aggregation
VEDO         4018461512403235            Gas           Gov. Aggregation   VEDO         4001979502193299            Gas           Gov. Aggregation
VEDO         4018466312620619            Gas           Gov. Aggregation   VEDO         4001982332193580            Gas           Gov. Aggregation
VEDO         4018557222393082            Gas           Gov. Aggregation   VEDO         4001987342424073            Gas           Gov. Aggregation
VEDO         4018565412503281            Gas           Gov. Aggregation   VEDO         4001991612194524            Gas           Gov. Aggregation
VEDO         4018568212327567            Gas           Gov. Aggregation   VEDO         4001993022194650            Gas           Gov. Aggregation
VEDO         4018573502243832            Gas           Gov. Aggregation   VEDO         4002036202230959            Gas           Gov. Aggregation
VEDO         4018581682108776            Gas           Gov. Aggregation   VEDO         4002039702130766            Gas           Gov. Aggregation
VEDO         4018586242386937            Gas           Gov. Aggregation   VEDO         4002043212132775            Gas           Gov. Aggregation
VEDO         4018588532420200            Gas           Gov. Aggregation   VEDO         4002054752672424            Gas           Gov. Aggregation
VEDO         4018631572531666            Gas           Gov. Aggregation   VEDO         4002057032200991            Gas           Gov. Aggregation
VEDO         4018632482369258            Gas           Gov. Aggregation   VEDO         4002103122334838            Gas           Gov. Aggregation
VEDO         4018651112382209            Gas           Gov. Aggregation   VEDO         4002103922205573            Gas           Gov. Aggregation
VEDO         4018653102501322            Gas           Gov. Aggregation   VEDO         4002114322349617            Gas           Gov. Aggregation
VEDO         4018684952444018            Gas           Gov. Aggregation   VEDO         4002121012207232            Gas           Gov. Aggregation
VEDO         4018688842211603            Gas           Gov. Aggregation   VEDO         4002123222446963            Gas           Gov. Aggregation
VEDO         4018692762303372            Gas           Gov. Aggregation   VEDO         4002126322207764            Gas           Gov. Aggregation
VEDO         4018700862314794            Gas           Gov. Aggregation   VEDO         4002126772433725            Gas           Gov. Aggregation
VEDO         4018703472115210            Gas           Gov. Aggregation   VEDO         4002151442210287            Gas           Gov. Aggregation
VEDO         4018705762605612            Gas           Gov. Aggregation   VEDO         4002153092322964            Gas           Gov. Aggregation
VEDO         4018709112397305            Gas           Gov. Aggregation   VEDO         4002155822256201            Gas           Gov. Aggregation
VEDO         4018713002319522            Gas           Gov. Aggregation   VEDO         4002175062212631            Gas           Gov. Aggregation
VEDO         4018743842231371            Gas           Gov. Aggregation   VEDO         4002184032247255            Gas           Gov. Aggregation
VEDO         4018749292191423            Gas           Gov. Aggregation   VEDO         4002190492214214            Gas           Gov. Aggregation
VEDO         4018750362640074            Gas           Gov. Aggregation   VEDO         4002217902216916            Gas           Gov. Aggregation
VEDO         4018755662429251            Gas           Gov. Aggregation   VEDO         4002222002178181            Gas           Gov. Aggregation
VEDO         4018794582640464            Gas           Gov. Aggregation   VEDO         4002243142219442            Gas           Gov. Aggregation
VEDO         4018796902365053            Gas           Gov. Aggregation   VEDO         4002243472540326            Gas           Gov. Aggregation
VEDO         4018799232641630            Gas           Gov. Aggregation   VEDO         4002248772385424            Gas           Gov. Aggregation
VEDO         4018803862281242            Gas           Gov. Aggregation   VEDO         4002251612220266            Gas           Gov. Aggregation
VEDO         4018806102638088            Gas           Gov. Aggregation   VEDO         4002252212632410            Gas           Gov. Aggregation
VEDO         4018820292640589            Gas           Gov. Aggregation   VEDO         4002253242214898            Gas           Gov. Aggregation
VEDO         4018823072306568            Gas           Gov. Aggregation   VEDO         4002257042340069            Gas           Gov. Aggregation
VEDO         4018872842150532            Gas           Gov. Aggregation   VEDO         4002257042461650            Gas           Gov. Aggregation
VEDO         4018879632231391            Gas           Gov. Aggregation   VEDO         4002299792225037            Gas           Gov. Aggregation
VEDO         4018881932101318            Gas           Gov. Aggregation   VEDO         4002300302225095            Gas           Gov. Aggregation
VEDO         4018894592465234            Gas           Gov. Aggregation   VEDO         4002305322367949            Gas           Gov. Aggregation
VEDO         4018904392161737            Gas           Gov. Aggregation   VEDO         4002308052413471            Gas           Gov. Aggregation
VEDO         4018909662336727            Gas           Gov. Aggregation   VEDO         4002308682225903            Gas           Gov. Aggregation
VEDO         4018938172351425            Gas           Gov. Aggregation   VEDO         4002310562473688            Gas           Gov. Aggregation
VEDO         4018962432454247            Gas           Gov. Aggregation   VEDO         4002314092469383            Gas           Gov. Aggregation
VEDO         4018963602189681            Gas           Gov. Aggregation   VEDO         4002314102226434            Gas           Gov. Aggregation
VEDO         4018965222385652            Gas           Gov. Aggregation   VEDO         4002316392457744            Gas           Gov. Aggregation
VEDO         4018969002305031            Gas           Gov. Aggregation   VEDO         4002380302149571            Gas           Gov. Aggregation
VEDO         4018994402500206            Gas           Gov. Aggregation   VEDO         4002387722233662            Gas           Gov. Aggregation
VEDO         4018998422105942            Gas           Gov. Aggregation   VEDO         4002389252233807            Gas           Gov. Aggregation
VEDO         4018998572395570            Gas           Gov. Aggregation   VEDO         4002396712135915            Gas           Gov. Aggregation
VEDO         4019003142539880            Gas           Gov. Aggregation   VEDO         4002401842235052            Gas           Gov. Aggregation
VEDO         4019003142549040            Gas           Gov. Aggregation   VEDO         4002402322235104            Gas           Gov. Aggregation
VEDO         4019005482642742            Gas           Gov. Aggregation   VEDO         4002414212182223            Gas           Gov. Aggregation
VEDO         4019014462359095            Gas           Gov. Aggregation   VEDO         4002419102674005            Gas           Gov. Aggregation
VEDO         4019016682481704            Gas           Gov. Aggregation   VEDO         4002450402631325            Gas           Gov. Aggregation
VEDO         4019056262156790            Gas           Gov. Aggregation   VEDO         4002452102528938            Gas           Gov. Aggregation
VEDO         4019061472427127            Gas           Gov. Aggregation   VEDO         4002454412101777            Gas           Gov. Aggregation
VEDO         4019062412281770            Gas           Gov. Aggregation   VEDO         4002475702242452            Gas           Gov. Aggregation
VEDO         4019067212251453            Gas           Gov. Aggregation   VEDO         4002476062293367            Gas           Gov. Aggregation
VEDO         4019069622346551            Gas           Gov. Aggregation   VEDO         4002486672243587            Gas           Gov. Aggregation
VEDO         4019070192428932            Gas           Gov. Aggregation   VEDO         4002492762323486            Gas           Gov. Aggregation
VEDO         4019124332127252            Gas           Gov. Aggregation   VEDO         4002493982244304            Gas           Gov. Aggregation
VEDO         4019129562439479            Gas           Gov. Aggregation   VEDO         4002542632563475            Gas           Gov. Aggregation
VEDO         4019140342171951            Gas           Gov. Aggregation   VEDO         4002549922190464            Gas           Gov. Aggregation
VEDO         4019143312109192            Gas           Gov. Aggregation   VEDO         4002551712132470            Gas           Gov. Aggregation
VEDO         4019149952339996            Gas           Gov. Aggregation   VEDO         4002553532335956            Gas           Gov. Aggregation
VEDO         4019152682136006            Gas           Gov. Aggregation   VEDO         4002553692250372            Gas           Gov. Aggregation
VEDO         4019173262390166            Gas           Gov. Aggregation   VEDO         4002558812250897            Gas           Gov. Aggregation
VEDO         4019176822388485            Gas           Gov. Aggregation   VEDO         4002610672255965            Gas           Gov. Aggregation
VEDO         4019180992168590            Gas           Gov. Aggregation   VEDO         4002617242256668            Gas           Gov. Aggregation
VEDO         4019186712642027            Gas           Gov. Aggregation   VEDO         4002623892625739            Gas           Gov. Aggregation
VEDO         4019186902122332            Gas           Gov. Aggregation   VEDO         4002635142539390            Gas           Gov. Aggregation
VEDO         4019191632289550            Gas           Gov. Aggregation   VEDO         4002641972532650            Gas           Gov. Aggregation
VEDO         4019191982187478            Gas           Gov. Aggregation   VEDO         4002650062131483            Gas           Gov. Aggregation
VEDO         4019224722645341            Gas           Gov. Aggregation   VEDO         4002652362260130            Gas           Gov. Aggregation
VEDO         4019229542244164            Gas           Gov. Aggregation   VEDO         4002657442260597            Gas           Gov. Aggregation
VEDO         4019240242485009            Gas           Gov. Aggregation   VEDO         4002658762263645            Gas           Gov. Aggregation
VEDO         4019284072261149            Gas           Gov. Aggregation   VEDO         4002697842264650            Gas           Gov. Aggregation
VEDO         4019284732238098            Gas           Gov. Aggregation   VEDO         4002711812625704            Gas           Gov. Aggregation
VEDO         4019302462494242            Gas           Gov. Aggregation   VEDO         4002713152266225            Gas           Gov. Aggregation
VEDO         4019308402249483            Gas           Gov. Aggregation   VEDO         4002714112418888            Gas           Gov. Aggregation
VEDO         4019310532515658            Gas           Gov. Aggregation   VEDO         4002718582266733            Gas           Gov. Aggregation
VEDO         4019310852426617            Gas           Gov. Aggregation   VEDO         4002745062222944            Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
VEDO         4019364572119989            Gas           Gov. Aggregation   VEDO         4002748892242173            Gas           Gov. Aggregation
VEDO         4019378552183647            Gas           Gov. Aggregation   VEDO         4002751922270077            Gas           Gov. Aggregation
VEDO         4019382362358095            Gas           Gov. Aggregation   VEDO         4002787112273659            Gas           Gov. Aggregation
VEDO         4019384502414260            Gas           Gov. Aggregation   VEDO         4002796462505515            Gas           Gov. Aggregation
VEDO         4019389922299007            Gas           Gov. Aggregation   VEDO         4002807612275751            Gas           Gov. Aggregation
VEDO         4019390162633149            Gas           Gov. Aggregation   VEDO         4002808922275887            Gas           Gov. Aggregation
VEDO         4019393752297112            Gas           Gov. Aggregation   VEDO         4002825722277552            Gas           Gov. Aggregation
VEDO         4019410292190152            Gas           Gov. Aggregation   VEDO         4002827652277745            Gas           Gov. Aggregation
VEDO         4019417832268215            Gas           Gov. Aggregation   VEDO         4002829622540787            Gas           Gov. Aggregation
VEDO         4019418022430864            Gas           Gov. Aggregation   VEDO         4002829752277976            Gas           Gov. Aggregation
VEDO         4019423472427419            Gas           Gov. Aggregation   VEDO         4002864112455156            Gas           Gov. Aggregation
VEDO         4019428182522025            Gas           Gov. Aggregation   VEDO         4002865942312282            Gas           Gov. Aggregation
VEDO         4019453672213775            Gas           Gov. Aggregation   VEDO         4002867722126641            Gas           Gov. Aggregation
VEDO         4019456632473782            Gas           Gov. Aggregation   VEDO         4002867722327592            Gas           Gov. Aggregation
VEDO         4019457772342194            Gas           Gov. Aggregation   VEDO         4002869202281933            Gas           Gov. Aggregation
VEDO         4019460452483329            Gas           Gov. Aggregation   VEDO         4002870982450744            Gas           Gov. Aggregation
VEDO         4019495642195489            Gas           Gov. Aggregation   VEDO         4002872702431500            Gas           Gov. Aggregation
VEDO         4019496652520911            Gas           Gov. Aggregation   VEDO         4002877452282750            Gas           Gov. Aggregation
VEDO         4019501252222118            Gas           Gov. Aggregation   VEDO         4002877732282776            Gas           Gov. Aggregation
VEDO         4019513092400784            Gas           Gov. Aggregation   VEDO         4002883642452948            Gas           Gov. Aggregation
VEDO         4019513722466353            Gas           Gov. Aggregation   VEDO         4003011312296494            Gas           Gov. Aggregation
VEDO         4019514862671983            Gas           Gov. Aggregation   VEDO         4003016632630361            Gas           Gov. Aggregation
VEDO         4019521192387218            Gas           Gov. Aggregation   VEDO         4003016832332720            Gas           Gov. Aggregation
VEDO         4019523812390483            Gas           Gov. Aggregation   VEDO         4003032082298619            Gas           Gov. Aggregation
VEDO         4019745112415398            Gas           Gov. Aggregation   VEDO         4003041762299581            Gas           Gov. Aggregation
VEDO         4019753072316603            Gas           Gov. Aggregation   VEDO         4003055602278833            Gas           Gov. Aggregation
VEDO         4019759512638331            Gas           Gov. Aggregation   VEDO         4003100122625735            Gas           Gov. Aggregation
VEDO         4019762112190571            Gas           Gov. Aggregation   VEDO         4003103112376840            Gas           Gov. Aggregation
VEDO         4019786212292638            Gas           Gov. Aggregation   VEDO         4003109992385764            Gas           Gov. Aggregation
VEDO         4019794542163712            Gas           Gov. Aggregation   VEDO         4003114162307035            Gas           Gov. Aggregation
VEDO         4019822252356316            Gas           Gov. Aggregation   VEDO         4003116042307236            Gas           Gov. Aggregation
VEDO         4019826612426659            Gas           Gov. Aggregation   VEDO         4003123072224223            Gas           Gov. Aggregation
VEDO         4019828842497538            Gas           Gov. Aggregation   VEDO         4003126412308268            Gas           Gov. Aggregation
VEDO         4019830232365870            Gas           Gov. Aggregation   VEDO         4003130172171747            Gas           Gov. Aggregation
VEDO         4019830782182318            Gas           Gov. Aggregation   VEDO         4003134492309136            Gas           Gov. Aggregation
VEDO         4019830782425592            Gas           Gov. Aggregation   VEDO         4003182222275351            Gas           Gov. Aggregation
VEDO         4019849582489882            Gas           Gov. Aggregation   VEDO         4003183732314308            Gas           Gov. Aggregation
VEDO         4019852452342467            Gas           Gov. Aggregation   VEDO         4003189862230787            Gas           Gov. Aggregation
VEDO         4019853652453628            Gas           Gov. Aggregation   VEDO         4003190072314940            Gas           Gov. Aggregation
VEDO         4019853732238766            Gas           Gov. Aggregation   VEDO         4003193862315313            Gas           Gov. Aggregation
VEDO         4019866742133672            Gas           Gov. Aggregation   VEDO         4003197642315679            Gas           Gov. Aggregation
VEDO         4019868792216880            Gas           Gov. Aggregation   VEDO         4003199862267346            Gas           Gov. Aggregation
VEDO         4019877252673155            Gas           Gov. Aggregation   VEDO         4003204642316435            Gas           Gov. Aggregation
VEDO         4019882172672256            Gas           Gov. Aggregation   VEDO         4003237162585269            Gas           Gov. Aggregation
VEDO         4019886672260466            Gas           Gov. Aggregation   VEDO         4003243552629894            Gas           Gov. Aggregation
VEDO         4019888652295671            Gas           Gov. Aggregation   VEDO         4003249172320997            Gas           Gov. Aggregation
VEDO         4019888952466323            Gas           Gov. Aggregation   VEDO         4003262462322344            Gas           Gov. Aggregation
VEDO         4019890072348462            Gas           Gov. Aggregation   VEDO         4003272232181899            Gas           Gov. Aggregation
VEDO         4019896852321793            Gas           Gov. Aggregation   VEDO         4003278342297081            Gas           Gov. Aggregation
VEDO         4019914962426415            Gas           Gov. Aggregation   VEDO         4003278952109981            Gas           Gov. Aggregation
VEDO         4019920462157834            Gas           Gov. Aggregation   VEDO         4003279432324065            Gas           Gov. Aggregation
VEDO         4019920462259918            Gas           Gov. Aggregation   VEDO         4003360992332656            Gas           Gov. Aggregation
VEDO         4019951832114479            Gas           Gov. Aggregation   VEDO         4003361562332734            Gas           Gov. Aggregation
VEDO         4019952132133344            Gas           Gov. Aggregation   VEDO         4003363982332983            Gas           Gov. Aggregation
VEDO         4019953042323356            Gas           Gov. Aggregation   VEDO         4003367572467256            Gas           Gov. Aggregation
VEDO         4019954652584282            Gas           Gov. Aggregation   VEDO         4003370872330023            Gas           Gov. Aggregation
VEDO         4019957512171503            Gas           Gov. Aggregation   VEDO         4003416002123396            Gas           Gov. Aggregation
VEDO         4019977782594226            Gas           Gov. Aggregation   VEDO         4003419712204732            Gas           Gov. Aggregation
VEDO         4019978182371366            Gas           Gov. Aggregation   VEDO         4003419712347247            Gas           Gov. Aggregation
VEDO         4019978332135683            Gas           Gov. Aggregation   VEDO         4003437492345500            Gas           Gov. Aggregation
VEDO         4019980542622868            Gas           Gov. Aggregation   VEDO         4003444712366933            Gas           Gov. Aggregation
VEDO         4019982132327989            Gas           Gov. Aggregation   VEDO         4003446582341685            Gas           Gov. Aggregation
VEDO         4019983802485252            Gas           Gov. Aggregation   VEDO         4003447012341735            Gas           Gov. Aggregation
VEDO         4020007092404836            Gas           Gov. Aggregation   VEDO         4003451572634053            Gas           Gov. Aggregation
VEDO         4020008792297892            Gas           Gov. Aggregation   VEDO         4003482742610423            Gas           Gov. Aggregation
VEDO         4020009142518701            Gas           Gov. Aggregation   VEDO         4003489882346184            Gas           Gov. Aggregation
VEDO         4020022262422771            Gas           Gov. Aggregation   VEDO         4003491112299812            Gas           Gov. Aggregation
VEDO         4020023592423141            Gas           Gov. Aggregation   VEDO         4003507432347962            Gas           Gov. Aggregation
VEDO         4020032712380331            Gas           Gov. Aggregation   VEDO         4003507432384009            Gas           Gov. Aggregation
VEDO         4020047522629630            Gas           Gov. Aggregation   VEDO         4003513602339174            Gas           Gov. Aggregation
VEDO         4020047752673832            Gas           Gov. Aggregation   VEDO         4003518592307673            Gas           Gov. Aggregation
VEDO         4020047922354451            Gas           Gov. Aggregation   VEDO         4003562992525684            Gas           Gov. Aggregation
VEDO         4020056202484246            Gas           Gov. Aggregation   VEDO         4003573892285845            Gas           Gov. Aggregation
VEDO         4020071692392564            Gas           Gov. Aggregation   VEDO         4003574102355032            Gas           Gov. Aggregation
VEDO         4020076732257419            Gas           Gov. Aggregation   VEDO         4003585992356271            Gas           Gov. Aggregation
VEDO         4020086292395203            Gas           Gov. Aggregation   VEDO         4003588532246695            Gas           Gov. Aggregation
VEDO         4020086732161473            Gas           Gov. Aggregation   VEDO         4003591642114754            Gas           Gov. Aggregation
VEDO         4020087832598513            Gas           Gov. Aggregation   VEDO         4003598652406172            Gas           Gov. Aggregation
VEDO         4020106492150346            Gas           Gov. Aggregation   VEDO         4003599652357783            Gas           Gov. Aggregation
VEDO         4020106922524731            Gas           Gov. Aggregation   VEDO         4003639972362034            Gas           Gov. Aggregation
VEDO         4020114712156845            Gas           Gov. Aggregation   VEDO         4003644952504465            Gas           Gov. Aggregation
VEDO         4020117862386683            Gas           Gov. Aggregation   VEDO         4003645302362604            Gas           Gov. Aggregation
VEDO         4020128072299268            Gas           Gov. Aggregation   VEDO         4003647812639269            Gas           Gov. Aggregation
VEDO         4020128532214900            Gas           Gov. Aggregation   VEDO         4003651022363227            Gas           Gov. Aggregation
VEDO         4020128712334141            Gas           Gov. Aggregation   VEDO         4003660362364149            Gas           Gov. Aggregation
VEDO         4020133172598665            Gas           Gov. Aggregation   VEDO         4003707412369136            Gas           Gov. Aggregation
VEDO         4020140092298565            Gas           Gov. Aggregation   VEDO         4003724082370911            Gas           Gov. Aggregation
VEDO         4020142102229672            Gas           Gov. Aggregation   VEDO         4003735022480461            Gas           Gov. Aggregation
VEDO         4020142992203300            Gas           Gov. Aggregation   VEDO         4003736422574621            Gas           Gov. Aggregation
VEDO         4020162072253911            Gas           Gov. Aggregation   VEDO         4003736462372294            Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
VEDO         4020162072256954            Gas           Gov. Aggregation   VEDO         4003737812405052            Gas           Gov. Aggregation
VEDO         4020162072261999            Gas           Gov. Aggregation   VEDO         4003744882373152            Gas           Gov. Aggregation
VEDO         4020162072305976            Gas           Gov. Aggregation   VEDO         4003748422268558            Gas           Gov. Aggregation
VEDO         4020162072314377            Gas           Gov. Aggregation   VEDO         4003753402374062            Gas           Gov. Aggregation
VEDO         4020162072335305            Gas           Gov. Aggregation   VEDO         4003761722374967            Gas           Gov. Aggregation
VEDO         4020162072341265            Gas           Gov. Aggregation   VEDO         4003866402517774            Gas           Gov. Aggregation
VEDO         4020162072356450            Gas           Gov. Aggregation   VEDO         4003868682386523            Gas           Gov. Aggregation
VEDO         4020162072386266            Gas           Gov. Aggregation   VEDO         4003869852500053            Gas           Gov. Aggregation
VEDO         4020168782497931            Gas           Gov. Aggregation   VEDO         4003870582386735            Gas           Gov. Aggregation
VEDO         4020170232409716            Gas           Gov. Aggregation   VEDO         4003875142347992            Gas           Gov. Aggregation
VEDO         4020172352594190            Gas           Gov. Aggregation   VEDO         4003879732336487            Gas           Gov. Aggregation
VEDO         4020178632201490            Gas           Gov. Aggregation   VEDO         4003883252413764            Gas           Gov. Aggregation
VEDO         4020198172673591            Gas           Gov. Aggregation   VEDO         4003923262293031            Gas           Gov. Aggregation
VEDO         4020201172381384            Gas           Gov. Aggregation   VEDO         4003925852580483            Gas           Gov. Aggregation
VEDO         4020212002675532            Gas           Gov. Aggregation   VEDO         4003927522185501            Gas           Gov. Aggregation
VEDO         4020212962166910            Gas           Gov. Aggregation   VEDO         4003934252434219            Gas           Gov. Aggregation
VEDO         4020215842368891            Gas           Gov. Aggregation   VEDO         4003953342395660            Gas           Gov. Aggregation
VEDO         4020216402469647            Gas           Gov. Aggregation   VEDO         4003962932240622            Gas           Gov. Aggregation
VEDO         4020216572394739            Gas           Gov. Aggregation   VEDO         4003989902399221            Gas           Gov. Aggregation
VEDO         4020223012353278            Gas           Gov. Aggregation   VEDO         4003994752105722            Gas           Gov. Aggregation
VEDO         4020227992119796            Gas           Gov. Aggregation   VEDO         4004013132481055            Gas           Gov. Aggregation
VEDO         4020232372336472            Gas           Gov. Aggregation   VEDO         4004015892625698            Gas           Gov. Aggregation
VEDO         4020246842383551            Gas           Gov. Aggregation   VEDO         4004016362508747            Gas           Gov. Aggregation
VEDO         4020247832202933            Gas           Gov. Aggregation   VEDO         4004033652646225            Gas           Gov. Aggregation
VEDO         4020248512648424            Gas           Gov. Aggregation   VEDO         4004035392436265            Gas           Gov. Aggregation
VEDO         4020249242552732            Gas           Gov. Aggregation   VEDO         4004068042459776            Gas           Gov. Aggregation
VEDO         4020250042363159            Gas           Gov. Aggregation   VEDO         4004073702408706            Gas           Gov. Aggregation
VEDO         4020250712290421            Gas           Gov. Aggregation   VEDO         4004092932265472            Gas           Gov. Aggregation
VEDO         4020271752326440            Gas           Gov. Aggregation   VEDO         4004094972411024            Gas           Gov. Aggregation
VEDO         4020272452426656            Gas           Gov. Aggregation   VEDO         4004105362412158            Gas           Gov. Aggregation
VEDO         4020272672139986            Gas           Gov. Aggregation   VEDO         4004107762640427            Gas           Gov. Aggregation
VEDO         4020276352496414            Gas           Gov. Aggregation   VEDO         4004120912413801            Gas           Gov. Aggregation
VEDO         4020898542677053            Gas           Gov. Aggregation   VEDO         4004157702124540            Gas           Gov. Aggregation
VEDO         4020876372603348            Gas           Gov. Aggregation   VEDO         4004169002419116            Gas           Gov. Aggregation
VEDO         4001393832518941            Gas           Gov. Aggregation   VEDO         4004170892315550            Gas           Gov. Aggregation
VEDO         4017937732300616            Gas           Gov. Aggregation   VEDO         4004179942172555            Gas           Gov. Aggregation
VEDO         4020863742612562            Gas           Gov. Aggregation   VEDO         4004183532420680            Gas           Gov. Aggregation
VEDO         4019487482105681            Gas           Gov. Aggregation   VEDO         4004188512614065            Gas           Gov. Aggregation
VEDO         4001265682478089            Gas           Gov. Aggregation   VEDO         4004200362422500            Gas           Gov. Aggregation
VEDO         4018113742675155            Gas           Gov. Aggregation   VEDO         4004290692238052            Gas           Gov. Aggregation
VEDO         4020268802676185            Gas           Gov. Aggregation   VEDO         4004301242433535            Gas           Gov. Aggregation
VEDO         4018606552638125            Gas           Gov. Aggregation   VEDO         4004307302434184            Gas           Gov. Aggregation
VEDO         4002742902594302            Gas           Gov. Aggregation   VEDO         4004307582479276            Gas           Gov. Aggregation
VEDO         4020295992594177            Gas           Gov. Aggregation   VEDO         4004351242250999            Gas           Gov. Aggregation
VEDO         4018908962594319            Gas           Gov. Aggregation   VEDO         4004358032672553            Gas           Gov. Aggregation
VEDO         4020899742310244            Gas           Gov. Aggregation   VEDO         4004364282241315            Gas           Gov. Aggregation
VEDO         4020331412508853            Gas           Gov. Aggregation   VEDO         4004365112440577            Gas           Gov. Aggregation
VEDO         4019083952307807            Gas           Gov. Aggregation   VEDO         4004378322441976            Gas           Gov. Aggregation
VEDO         4020326022278048            Gas           Gov. Aggregation   VEDO         4004380482169516            Gas           Gov. Aggregation
VEDO         4020877822384626            Gas           Gov. Aggregation   VEDO         4004388572443079            Gas           Gov. Aggregation
VEDO         4003165822411806            Gas           Gov. Aggregation   VEDO         4004388792501175            Gas           Gov. Aggregation
VEDO         4015100362275061            Gas           Gov. Aggregation   VEDO         4004412072445719            Gas           Gov. Aggregation
VEDO         4018996402432270            Gas           Gov. Aggregation   VEDO         4004414942283650            Gas           Gov. Aggregation
VEDO         4020844422321138            Gas           Gov. Aggregation   VEDO         4004416002139374            Gas           Gov. Aggregation
VEDO         4020853282279864            Gas           Gov. Aggregation   VEDO         4004417342446285            Gas           Gov. Aggregation
VEDO         4020853712163964            Gas           Gov. Aggregation   VEDO         4004423822446979            Gas           Gov. Aggregation
VEDO         4017714622231933            Gas           Gov. Aggregation   VEDO         4004425782447184            Gas           Gov. Aggregation
VEDO         4018645372374256            Gas           Gov. Aggregation   VEDO         4004431822257134            Gas           Gov. Aggregation
VEDO         4017444532172623            Gas           Gov. Aggregation   VEDO         4004433602448114            Gas           Gov. Aggregation
VEDO         4004737652481592            Gas           Gov. Aggregation   VEDO         4004435012448255            Gas           Gov. Aggregation
VEDO         4020872242297034            Gas           Gov. Aggregation   VEDO         4004477252673949            Gas           Gov. Aggregation
VEDO         4020801532501186            Gas           Gov. Aggregation   VEDO         4004483652453515            Gas           Gov. Aggregation
VEDO         4003419002338805            Gas           Gov. Aggregation   VEDO         4004493472454591            Gas           Gov. Aggregation
VEDO         4002369262503059            Gas           Gov. Aggregation   VEDO         4004497722289466            Gas           Gov. Aggregation
VEDO         4003113522113544            Gas           Gov. Aggregation   VEDO         4004511012456568            Gas           Gov. Aggregation
VEDO         4015608102331982            Gas           Gov. Aggregation   VEDO         4004512082456684            Gas           Gov. Aggregation
VEDO         4017027082488695            Gas           Gov. Aggregation   VEDO         4004578112464031            Gas           Gov. Aggregation
VEDO         4019318392141364            Gas           Gov. Aggregation   VEDO         4004586732448931            Gas           Gov. Aggregation
VEDO         4019257072214286            Gas           Gov. Aggregation   VEDO         4004587872465134            Gas           Gov. Aggregation
VEDO         4020870062283808            Gas           Gov. Aggregation   VEDO         4004591512103854            Gas           Gov. Aggregation
VEDO         4016858192279348            Gas           Gov. Aggregation   VEDO         4004597832466183            Gas           Gov. Aggregation
VEDO         4020865252372300            Gas           Gov. Aggregation   VEDO         4004698542477344            Gas           Gov. Aggregation
VEDO         4020867362248990            Gas           Gov. Aggregation   VEDO         4004701352674934            Gas           Gov. Aggregation
VEDO         4004813682489936            Gas           Gov. Aggregation   VEDO         4004701822625728            Gas           Gov. Aggregation
VEDO         4020335882201561            Gas           Gov. Aggregation   VEDO         4004707892527743            Gas           Gov. Aggregation
VEDO         4020858532483316            Gas           Gov. Aggregation   VEDO         4004711062490083            Gas           Gov. Aggregation
VEDO         4019176872318973            Gas           Gov. Aggregation   VEDO         4004722322413505            Gas           Gov. Aggregation
VEDO         4020872282172454            Gas           Gov. Aggregation   VEDO         4004787452487079            Gas           Gov. Aggregation
VEDO         4015012002336929            Gas           Gov. Aggregation   VEDO         4004788022487146            Gas           Gov. Aggregation
VEDO         4018451052429922            Gas           Gov. Aggregation   VEDO         4004796052151658            Gas           Gov. Aggregation
VEDO         4004124932504717            Gas           Gov. Aggregation   VEDO         4004824082491062            Gas           Gov. Aggregation
VEDO         4018237062464696            Gas           Gov. Aggregation   VEDO         4004825012159285            Gas           Gov. Aggregation
VEDO         4016847532406111            Gas           Gov. Aggregation   VEDO         4004825902449312            Gas           Gov. Aggregation
VEDO         4019732912254594            Gas           Gov. Aggregation   VEDO         4004830502491813            Gas           Gov. Aggregation
VEDO         4020202942516725            Gas           Gov. Aggregation   VEDO         4004832762517054            Gas           Gov. Aggregation
VEDO         4020908742157361            Gas           Gov. Aggregation   VEDO         4004905092500051            Gas           Gov. Aggregation
VEDO         4017724242399689            Gas           Gov. Aggregation   VEDO         4004905112588352            Gas           Gov. Aggregation
VEDO         4015656972218520            Gas           Gov. Aggregation   VEDO         4004906222500187            Gas           Gov. Aggregation
VEDO         4016115692425858            Gas           Gov. Aggregation   VEDO         4004913862384992            Gas           Gov. Aggregation
VEDO         4004169502419173            Gas           Gov. Aggregation   VEDO         4004915702521867            Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
VEDO         4018101372201358            Gas           Gov. Aggregation   VEDO         4004936052165577            Gas           Gov. Aggregation
VEDO         4020106492305907            Gas           Gov. Aggregation   VEDO         4004938272503737            Gas           Gov. Aggregation
VEDO         4020799102244490            Gas           Gov. Aggregation   VEDO         4004939702503896            Gas           Gov. Aggregation
VEDO         4020295902202272            Gas           Gov. Aggregation   VEDO         4004943932504352            Gas           Gov. Aggregation
VEDO         4020134292626999            Gas           Gov. Aggregation   VEDO         4005094492220035            Gas           Gov. Aggregation
VEDO         4020147602502149            Gas           Gov. Aggregation   VEDO         4005095362521488            Gas           Gov. Aggregation
VEDO         4017842082215709            Gas           Gov. Aggregation   VEDO         4005113392451435            Gas           Gov. Aggregation
VEDO         4019831382255876            Gas           Gov. Aggregation   VEDO         4005118192428975            Gas           Gov. Aggregation
VEDO         4020890202281465            Gas           Gov. Aggregation   VEDO         4005119362634337            Gas           Gov. Aggregation
VEDO         4020861432180989            Gas           Gov. Aggregation   VEDO         4005122262524519            Gas           Gov. Aggregation
VEDO         4015577802194720            Gas           Gov. Aggregation   VEDO         4005129842525420            Gas           Gov. Aggregation
VEDO         4001950612190552            Gas           Gov. Aggregation   VEDO         4005141522526735            Gas           Gov. Aggregation
VEDO         4018375322208959            Gas           Gov. Aggregation   VEDO         4005148392120351            Gas           Gov. Aggregation
VEDO         4019980812384147            Gas           Gov. Aggregation   VEDO         4015165292222732            Gas           Gov. Aggregation
VEDO         4020838832165050            Gas           Gov. Aggregation   VEDO         4015167992150976            Gas           Gov. Aggregation
VEDO         4015151242162024            Gas           Gov. Aggregation   VEDO         4015170862376020            Gas           Gov. Aggregation
VEDO         4017990212275701            Gas           Gov. Aggregation   VEDO         4015175612168348            Gas           Gov. Aggregation
VEDO         4017344022471658            Gas           Gov. Aggregation   VEDO         4015176752292298            Gas           Gov. Aggregation
VEDO         4019174732489272            Gas           Gov. Aggregation   VEDO         4015180662229770            Gas           Gov. Aggregation
VEDO         4020835692415815            Gas           Gov. Aggregation   VEDO         4015196332614818            Gas           Gov. Aggregation
VEDO         4020835942513928            Gas           Gov. Aggregation   VEDO         4015277922182186            Gas           Gov. Aggregation
VEDO         4020855292331026            Gas           Gov. Aggregation   VEDO         4015303852127879            Gas           Gov. Aggregation
VEDO         4018297152246589            Gas           Gov. Aggregation   VEDO         4015313122646950            Gas           Gov. Aggregation
VEDO         4019197482142119            Gas           Gov. Aggregation   VEDO         4015315242465570            Gas           Gov. Aggregation
VEDO         4017929552251949            Gas           Gov. Aggregation   VEDO         4015318292145374            Gas           Gov. Aggregation
VEDO         4017968172367488            Gas           Gov. Aggregation   VEDO         4015322782427145            Gas           Gov. Aggregation
VEDO         4018460692356308            Gas           Gov. Aggregation   VEDO         4015342062509677            Gas           Gov. Aggregation
VEDO         4015759742276758            Gas           Gov. Aggregation   VEDO         4015343852227021            Gas           Gov. Aggregation
VEDO         4015410542189257            Gas           Gov. Aggregation   VEDO         4015374372248840            Gas           Gov. Aggregation
VEDO         4017090822306243            Gas           Gov. Aggregation   VEDO         4015385572332025            Gas           Gov. Aggregation
VEDO         4015625272280526            Gas           Gov. Aggregation   VEDO         4015408562638196            Gas           Gov. Aggregation
VEDO         4020794812409594            Gas           Gov. Aggregation   VEDO         4015411202529302            Gas           Gov. Aggregation
VEDO         4020317452175142            Gas           Gov. Aggregation   VEDO         4015415322481948            Gas           Gov. Aggregation
VEDO         4020326922391280            Gas           Gov. Aggregation   VEDO         4015423742261543            Gas           Gov. Aggregation
VEDO         4020322482150290            Gas           Gov. Aggregation   VEDO         4015434482322823            Gas           Gov. Aggregation
VEDO         4020319502146400            Gas           Gov. Aggregation   VEDO         4015446762150123            Gas           Gov. Aggregation
VEDO         4017150732195609            Gas           Gov. Aggregation   VEDO         4015632862268086            Gas           Gov. Aggregation
VEDO         4020716732521119            Gas           Gov. Aggregation   VEDO         4015633162374629            Gas           Gov. Aggregation
VEDO         4003194352427433            Gas           Gov. Aggregation   VEDO         4015641702136747            Gas           Gov. Aggregation
VEDO         4004082362409683            Gas           Gov. Aggregation   VEDO         4015651722453306            Gas           Gov. Aggregation
VEDO         4020290652168776            Gas           Gov. Aggregation   VEDO         4015659072425141            Gas           Gov. Aggregation
VEDO         4018033012415747            Gas           Gov. Aggregation   VEDO         4015661902226313            Gas           Gov. Aggregation
VEDO         4020064312518434            Gas           Gov. Aggregation   VEDO         4015698152191852            Gas           Gov. Aggregation
VEDO         4020797182459015            Gas           Gov. Aggregation   VEDO         4015707512671464            Gas           Gov. Aggregation
VEDO         4019130832232542            Gas           Gov. Aggregation   VEDO         4015715582305335            Gas           Gov. Aggregation
VEDO         4005150862588767            Gas           Gov. Aggregation   VEDO         4015716452625563            Gas           Gov. Aggregation
VEDO         4002557382128327            Gas           Gov. Aggregation   VEDO         4015716722134166            Gas           Gov. Aggregation
VEDO         4020316532452315            Gas           Gov. Aggregation   VEDO         4015717472560648            Gas           Gov. Aggregation
VEDO         4020316552507548            Gas           Gov. Aggregation   VEDO         4015739132355136            Gas           Gov. Aggregation
VEDO         4020291732184205            Gas           Gov. Aggregation   VEDO         4015746032552432            Gas           Gov. Aggregation
VEDO         4020141002185596            Gas           Gov. Aggregation   VEDO         4015784762500239            Gas           Gov. Aggregation
VEDO         4020787592227606            Gas           Gov. Aggregation   VEDO         4015787852565092            Gas           Gov. Aggregation
VEDO         4005079522176658            Gas           Gov. Aggregation   VEDO         4015789432386643            Gas           Gov. Aggregation
VEDO         4018133622245448            Gas           Gov. Aggregation   VEDO         4015792122368591            Gas           Gov. Aggregation
VEDO         4020847402483344            Gas           Gov. Aggregation   VEDO         4015809212148809            Gas           Gov. Aggregation
VEDO         4020906622192953            Gas           Gov. Aggregation   VEDO         4015894582395721            Gas           Gov. Aggregation
VEDO         4015457152320669            Gas           Gov. Aggregation   VEDO         4015907322564203            Gas           Gov. Aggregation
VEDO         4016423202166327            Gas           Gov. Aggregation   VEDO         4015911162331521            Gas           Gov. Aggregation
VEDO         4001019712359302            Gas           Gov. Aggregation   VEDO         4015912812586479            Gas           Gov. Aggregation
VEDO         4001020402146244            Gas           Gov. Aggregation   VEDO         4015924572371226            Gas           Gov. Aggregation
VEDO         4001125462111950            Gas           Gov. Aggregation   VEDO         4015929092616372            Gas           Gov. Aggregation
VEDO         4001171222116154            Gas           Gov. Aggregation   VEDO         4016021692393385            Gas           Gov. Aggregation
VEDO         4001179332583369            Gas           Gov. Aggregation   VEDO         4016039562423657            Gas           Gov. Aggregation
VEDO         4001184782117439            Gas           Gov. Aggregation   VEDO         4016039692468818            Gas           Gov. Aggregation
VEDO         4001237142122369            Gas           Gov. Aggregation   VEDO         4016040662613485            Gas           Gov. Aggregation
VEDO         4001273392125749            Gas           Gov. Aggregation   VEDO         4016041762230401            Gas           Gov. Aggregation
VEDO         4001287732127066            Gas           Gov. Aggregation   VEDO         4016042592217811            Gas           Gov. Aggregation
VEDO         4001313022129435            Gas           Gov. Aggregation   VEDO         4016061622240310            Gas           Gov. Aggregation
VEDO         4001313022293277            Gas           Gov. Aggregation   VEDO         4016132262228270            Gas           Gov. Aggregation
VEDO         4001498452146643            Gas           Gov. Aggregation   VEDO         4016149892166561            Gas           Gov. Aggregation
VEDO         4001615882225756            Gas           Gov. Aggregation   VEDO         4016152412103051            Gas           Gov. Aggregation
VEDO         4001629142492263            Gas           Gov. Aggregation   VEDO         4016153422458910            Gas           Gov. Aggregation
VEDO         4001909232186349            Gas           Gov. Aggregation   VEDO         4016156602533911            Gas           Gov. Aggregation
VEDO         4001911262245790            Gas           Gov. Aggregation   VEDO         4016227352519307            Gas           Gov. Aggregation
VEDO         4001922262675086            Gas           Gov. Aggregation   VEDO         4016233792362882            Gas           Gov. Aggregation
VEDO         4001973152426443            Gas           Gov. Aggregation   VEDO         4016235212356540            Gas           Gov. Aggregation
VEDO         4001980482193392            Gas           Gov. Aggregation   VEDO         4016254522261969            Gas           Gov. Aggregation
VEDO         4001993742236889            Gas           Gov. Aggregation   VEDO         4016256512210195            Gas           Gov. Aggregation
VEDO         4002041342199412            Gas           Gov. Aggregation   VEDO         4016267362619601            Gas           Gov. Aggregation
VEDO         4002278832251001            Gas           Gov. Aggregation   VEDO         4016284622328929            Gas           Gov. Aggregation
VEDO         4002316552226673            Gas           Gov. Aggregation   VEDO         4016319922402118            Gas           Gov. Aggregation
VEDO         4002319862505643            Gas           Gov. Aggregation   VEDO         4016324312411940            Gas           Gov. Aggregation
VEDO         4002392262234106            Gas           Gov. Aggregation   VEDO         4016333262361538            Gas           Gov. Aggregation
VEDO         4002396492400625            Gas           Gov. Aggregation   VEDO         4016335512143499            Gas           Gov. Aggregation
VEDO         4002500992114877            Gas           Gov. Aggregation   VEDO         4016336022484009            Gas           Gov. Aggregation
VEDO         4002521032515840            Gas           Gov. Aggregation   VEDO         4016339452522154            Gas           Gov. Aggregation
VEDO         4002664852436406            Gas           Gov. Aggregation   VEDO         4016406662470669            Gas           Gov. Aggregation
VEDO         4002665692404276            Gas           Gov. Aggregation   VEDO         4016413442276328            Gas           Gov. Aggregation
VEDO         4002669232494651            Gas           Gov. Aggregation   VEDO         4016418322526162            Gas           Gov. Aggregation
VEDO         4002716252266523            Gas           Gov. Aggregation   VEDO         4016420282168828            Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4002726772267536            Gas           Gov. Aggregation   VEDO            4016423882588313            Gas           Gov. Aggregation
VEDO         4002833112270798            Gas           Gov. Aggregation   VEDO            4016428902114408            Gas           Gov. Aggregation
VEDO         4002882572494545            Gas           Gov. Aggregation   VEDO            4016486722147992            Gas           Gov. Aggregation
VEDO         4002884482336042            Gas           Gov. Aggregation   VEDO            4016489292192631            Gas           Gov. Aggregation
VEDO         4003088332304323            Gas           Gov. Aggregation   VEDO            4016534222398991            Gas           Gov. Aggregation
VEDO         4003142152309972            Gas           Gov. Aggregation   VEDO            4016544462359186            Gas           Gov. Aggregation
VEDO         4003143702505268            Gas           Gov. Aggregation   VEDO            4016553282346082            Gas           Gov. Aggregation
VEDO         4003243162371521            Gas           Gov. Aggregation   VEDO            4016555982286376            Gas           Gov. Aggregation
VEDO         4003254992294102            Gas           Gov. Aggregation   VEDO            4016556572212184            Gas           Gov. Aggregation
VEDO         4003434702340439            Gas           Gov. Aggregation   VEDO            4016558722437447            Gas           Gov. Aggregation
VEDO         4003495712346766            Gas           Gov. Aggregation   VEDO            4016560192361717            Gas           Gov. Aggregation
VEDO         4003507452365983            Gas           Gov. Aggregation   VEDO            4016561082229904            Gas           Gov. Aggregation
VEDO         4003613832359260            Gas           Gov. Aggregation   VEDO            4016563552171905            Gas           Gov. Aggregation
VEDO         4003869042484292            Gas           Gov. Aggregation   VEDO            4016569842629498            Gas           Gov. Aggregation
VEDO         4003878142387520            Gas           Gov. Aggregation   VEDO            4016621312625756            Gas           Gov. Aggregation
VEDO         4003880572387763            Gas           Gov. Aggregation   VEDO            4016622172293270            Gas           Gov. Aggregation
VEDO         4004034292465560            Gas           Gov. Aggregation   VEDO            4016624782498795            Gas           Gov. Aggregation
VEDO         4004049492406037            Gas           Gov. Aggregation   VEDO            4016630292289199            Gas           Gov. Aggregation
VEDO         4004142342417893            Gas           Gov. Aggregation   VEDO            4016646102598333            Gas           Gov. Aggregation
VEDO         4004185172420851            Gas           Gov. Aggregation   VEDO            4016651912204948            Gas           Gov. Aggregation
VEDO         4004192772421722            Gas           Gov. Aggregation   VEDO            4016654692544331            Gas           Gov. Aggregation
VEDO         4004520432457640            Gas           Gov. Aggregation   VEDO            4016654692544333            Gas           Gov. Aggregation
VEDO         4004530402458708            Gas           Gov. Aggregation   VEDO            4016798322609649            Gas           Gov. Aggregation
VEDO         4004532482509907            Gas           Gov. Aggregation   VEDO            4016804602392180            Gas           Gov. Aggregation
VEDO         4004540852456609            Gas           Gov. Aggregation   VEDO            4016820502129186            Gas           Gov. Aggregation
VEDO         4004558372461794            Gas           Gov. Aggregation   VEDO            4016828952146063            Gas           Gov. Aggregation
VEDO         4004625762469344            Gas           Gov. Aggregation   VEDO            4016895762116698            Gas           Gov. Aggregation
VEDO         4004720572234413            Gas           Gov. Aggregation   VEDO            4016907192453483            Gas           Gov. Aggregation
VEDO         4004756622483673            Gas           Gov. Aggregation   VEDO            4016922012350336            Gas           Gov. Aggregation
VEDO         4004780472133679            Gas           Gov. Aggregation   VEDO            4016935302124216            Gas           Gov. Aggregation
VEDO         4004792142124912            Gas           Gov. Aggregation   VEDO            4016954002617801            Gas           Gov. Aggregation
VEDO         4004876472496924            Gas           Gov. Aggregation   VEDO            4016961942292746            Gas           Gov. Aggregation
VEDO         4004877602178760            Gas           Gov. Aggregation   VEDO            4016999272228002            Gas           Gov. Aggregation
VEDO         4004877602507066            Gas           Gov. Aggregation   VEDO            4016999272360521            Gas           Gov. Aggregation
VEDO         4005071322518772            Gas           Gov. Aggregation   VEDO            4017003352242694            Gas           Gov. Aggregation
VEDO         4005077212519418            Gas           Gov. Aggregation   VEDO            4017017952599422            Gas           Gov. Aggregation
VEDO         4005083612520131            Gas           Gov. Aggregation   VEDO            4017030852333369            Gas           Gov. Aggregation
VEDO         4005095082521441            Gas           Gov. Aggregation   VEDO            4017041292396551            Gas           Gov. Aggregation
VEDO         4005118222337542            Gas           Gov. Aggregation   VEDO            4017041772341014            Gas           Gov. Aggregation
VEDO         4005118232309830            Gas           Gov. Aggregation   VEDO            4017159012441744            Gas           Gov. Aggregation
VEDO         4010009582208241            Gas           Gov. Aggregation   VEDO            4017159222154846            Gas           Gov. Aggregation
VEDO         4015007312465108            Gas           Gov. Aggregation   VEDO            4017162762332103            Gas           Gov. Aggregation
VEDO         4015063512563745            Gas           Gov. Aggregation   VEDO            4017166062308289            Gas           Gov. Aggregation
VEDO         4015119622200123            Gas           Gov. Aggregation   VEDO            4017170942191902            Gas           Gov. Aggregation
VEDO         4015135052144111            Gas           Gov. Aggregation   VEDO            4017170942323672            Gas           Gov. Aggregation
VEDO         4015145412519294            Gas           Gov. Aggregation   VEDO            4017171242136933            Gas           Gov. Aggregation
VEDO         4015163392302709            Gas           Gov. Aggregation   VEDO            4017308042365110            Gas           Gov. Aggregation
VEDO         4015500292308783            Gas           Gov. Aggregation   VEDO            4017323692229169            Gas           Gov. Aggregation
VEDO         4015537162298327            Gas           Gov. Aggregation   VEDO            4017323692359609            Gas           Gov. Aggregation
VEDO         4015542432348559            Gas           Gov. Aggregation   VEDO            4017331472480111            Gas           Gov. Aggregation
VEDO         4015752842585330            Gas           Gov. Aggregation   VEDO            4017349452480132            Gas           Gov. Aggregation
VEDO         4015837872398595            Gas           Gov. Aggregation   VEDO            4017350082237216            Gas           Gov. Aggregation
VEDO         4015867222370575            Gas           Gov. Aggregation   VEDO            4017353672529949            Gas           Gov. Aggregation
VEDO         4015905942478930            Gas           Gov. Aggregation   VEDO            4017371182357677            Gas           Gov. Aggregation
VEDO         4016339542300649            Gas           Gov. Aggregation   VEDO            4017371202176003            Gas           Gov. Aggregation
VEDO         4016440982589186            Gas           Gov. Aggregation   VEDO            4017385562371243            Gas           Gov. Aggregation
VEDO         4016464692432937            Gas           Gov. Aggregation   VEDO            4017390632425202            Gas           Gov. Aggregation
VEDO         4016484022428274            Gas           Gov. Aggregation   VEDO            4017391352405254            Gas           Gov. Aggregation
VEDO         4016493782241785            Gas           Gov. Aggregation   VEDO            4017427562510079            Gas           Gov. Aggregation
VEDO         4016539742214590            Gas           Gov. Aggregation   VEDO            4017428762104652            Gas           Gov. Aggregation
VEDO         4016539742508890            Gas           Gov. Aggregation   VEDO            4017444912297903            Gas           Gov. Aggregation
VEDO         4016649572179174            Gas           Gov. Aggregation   VEDO            4017450902516453            Gas           Gov. Aggregation
VEDO         4016672202185743            Gas           Gov. Aggregation   VEDO            4017454872215459            Gas           Gov. Aggregation
VEDO         4016675792334272            Gas           Gov. Aggregation   VEDO            4017457922425867            Gas           Gov. Aggregation
VEDO         4016724502202738            Gas           Gov. Aggregation   VEDO            4017460352288881            Gas           Gov. Aggregation
VEDO         4016961802616795            Gas           Gov. Aggregation   VEDO            4017489452356624            Gas           Gov. Aggregation
VEDO         4016984722327281            Gas           Gov. Aggregation   VEDO            4017516642455646            Gas           Gov. Aggregation
VEDO         4016993952227227            Gas           Gov. Aggregation   VEDO            4017516752192995            Gas           Gov. Aggregation
VEDO         4017041172171334            Gas           Gov. Aggregation   VEDO            4017517212262864            Gas           Gov. Aggregation
VEDO         4017050082430862            Gas           Gov. Aggregation   VEDO            4017543742490868            Gas           Gov. Aggregation
VEDO         4017058802464140            Gas           Gov. Aggregation   VEDO            4017664942292781            Gas           Gov. Aggregation
VEDO         4017278212312271            Gas           Gov. Aggregation   VEDO            4017670352462736            Gas           Gov. Aggregation
VEDO         4017284102189563            Gas           Gov. Aggregation   VEDO            4017693312358825            Gas           Gov. Aggregation
VEDO         4017371822469529            Gas           Gov. Aggregation   VEDO            4017694792525838            Gas           Gov. Aggregation
VEDO         4017390462310592            Gas           Gov. Aggregation   VEDO            4017716562173963            Gas           Gov. Aggregation
VEDO         4017400782123494            Gas           Gov. Aggregation   VEDO            4017764172211993            Gas           Gov. Aggregation
VEDO         4017453332243999            Gas           Gov. Aggregation   VEDO            4017771152342853            Gas           Gov. Aggregation
VEDO         4017462292453756            Gas           Gov. Aggregation   VEDO            4017777602334811            Gas           Gov. Aggregation
VEDO         4017617492320861            Gas           Gov. Aggregation   VEDO            4017785042323350            Gas           Gov. Aggregation
VEDO         4017623642431657            Gas           Gov. Aggregation   VEDO            4017790052517912            Gas           Gov. Aggregation
VEDO         4017625202315057            Gas           Gov. Aggregation   VEDO            4017870382105102            Gas           Gov. Aggregation
VEDO         4017648622154375            Gas           Gov. Aggregation   VEDO            4017882122475355            Gas           Gov. Aggregation
VEDO         4017665792407791            Gas           Gov. Aggregation   VEDO            4017891202410549            Gas           Gov. Aggregation
VEDO         4017724692591278            Gas           Gov. Aggregation   COH             108718910027                Gas           Gov. Aggregation
VEDO         4017728662216678            Gas           Gov. Aggregation   COH             108719070013                Gas           Gov. Aggregation
VEDO         4017799782635414            Gas           Gov. Aggregation   COH             108719920014                Gas           Gov. Aggregation
VEDO         4017847782480838            Gas           Gov. Aggregation   COH             108721220025                Gas           Gov. Aggregation
VEDO         4017868062386581            Gas           Gov. Aggregation   COH             108757730014                Gas           Gov. Aggregation
VEDO         4017923512433397            Gas           Gov. Aggregation   COH             108761740013                Gas           Gov. Aggregation
VEDO         4018144502195959            Gas           Gov. Aggregation   COH             108762100024                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4018146512462069            Gas           Gov. Aggregation   COH             108762400021                Gas           Gov. Aggregation
VEDO         4018159672506822            Gas           Gov. Aggregation   COH             108762620016                Gas           Gov. Aggregation
VEDO         4018169732443443            Gas           Gov. Aggregation   COH             108774140012                Gas           Gov. Aggregation
VEDO         4018204452338873            Gas           Gov. Aggregation   COH             108775670019                Gas           Gov. Aggregation
VEDO         4018205822430675            Gas           Gov. Aggregation   COH             108785240018                Gas           Gov. Aggregation
VEDO         4018382622441351            Gas           Gov. Aggregation   COH             108832160014                Gas           Gov. Aggregation
VEDO         4018389432198355            Gas           Gov. Aggregation   COH             109579790028                Gas           Gov. Aggregation
VEDO         4018428882346533            Gas           Gov. Aggregation   COH             109790090081                Gas           Gov. Aggregation
VEDO         4018446442165977            Gas           Gov. Aggregation   COH             109940080011                Gas           Gov. Aggregation
VEDO         4018610412314034            Gas           Gov. Aggregation   COH             109941780030                Gas           Gov. Aggregation
VEDO         4018668052221222            Gas           Gov. Aggregation   COH             110521150020                Gas           Gov. Aggregation
VEDO         4018679982443438            Gas           Gov. Aggregation   COH             110920280018                Gas           Gov. Aggregation
VEDO         4018847552263757            Gas           Gov. Aggregation   COH             110921150013                Gas           Gov. Aggregation
VEDO         4018850332211034            Gas           Gov. Aggregation   COH             110921380015                Gas           Gov. Aggregation
VEDO         4018864182360536            Gas           Gov. Aggregation   COH             110932700032                Gas           Gov. Aggregation
VEDO         4018884742639675            Gas           Gov. Aggregation   COH             111163250019                Gas           Gov. Aggregation
VEDO         4018912362134290            Gas           Gov. Aggregation   COH             111177010010                Gas           Gov. Aggregation
VEDO         4019083662477077            Gas           Gov. Aggregation   COH             111221260022                Gas           Gov. Aggregation
VEDO         4019149712307375            Gas           Gov. Aggregation   COH             111222770023                Gas           Gov. Aggregation
VEDO         4019176642200317            Gas           Gov. Aggregation   COH             111223490011                Gas           Gov. Aggregation
VEDO         4019255682176102            Gas           Gov. Aggregation   COH             111250060023                Gas           Gov. Aggregation
VEDO         4019273782171766            Gas           Gov. Aggregation   COH             111250330026                Gas           Gov. Aggregation
VEDO         4019274342476101            Gas           Gov. Aggregation   COH             111250390024                Gas           Gov. Aggregation
VEDO         4019280202269095            Gas           Gov. Aggregation   COH             111324280011                Gas           Gov. Aggregation
VEDO         4019282852360686            Gas           Gov. Aggregation   COH             111324380010                Gas           Gov. Aggregation
VEDO         4019304172104633            Gas           Gov. Aggregation   COH             111325110023                Gas           Gov. Aggregation
VEDO         4019401652489931            Gas           Gov. Aggregation   COH             112118560027                Gas           Gov. Aggregation
VEDO         4019406692486041            Gas           Gov. Aggregation   COH             112258980023                Gas           Gov. Aggregation
VEDO         4019434752205295            Gas           Gov. Aggregation   COH             112258990012                Gas           Gov. Aggregation
VEDO         4019738632137250            Gas           Gov. Aggregation   COH             114646960040                Gas           Gov. Aggregation
VEDO         4019748762497404            Gas           Gov. Aggregation   COH             114702750017                Gas           Gov. Aggregation
VEDO         4019755222487693            Gas           Gov. Aggregation   COH             114705500022                Gas           Gov. Aggregation
VEDO         4019834132531906            Gas           Gov. Aggregation   COH             114712140014                Gas           Gov. Aggregation
VEDO         4019863562499604            Gas           Gov. Aggregation   COH             115332310013                Gas           Gov. Aggregation
VEDO         4019885752671535            Gas           Gov. Aggregation   COH             115516360013                Gas           Gov. Aggregation
VEDO         4019983062237641            Gas           Gov. Aggregation   COH             115779810012                Gas           Gov. Aggregation
VEDO         4019997372500341            Gas           Gov. Aggregation   COH             115781890011                Gas           Gov. Aggregation
VEDO         4020003762615232            Gas           Gov. Aggregation   COH             115804310021                Gas           Gov. Aggregation
VEDO         4020008982279694            Gas           Gov. Aggregation   COH             115825940016                Gas           Gov. Aggregation
VEDO         4020099612502810            Gas           Gov. Aggregation   COH             115827110034                Gas           Gov. Aggregation
VEDO         4020123642337929            Gas           Gov. Aggregation   COH             115847630015                Gas           Gov. Aggregation
VEDO         4020130782437898            Gas           Gov. Aggregation   COH             115848790056                Gas           Gov. Aggregation
VEDO         4020135682272078            Gas           Gov. Aggregation   COH             115848980010                Gas           Gov. Aggregation
VEDO         4020142882205171            Gas           Gov. Aggregation   COH             115849060011                Gas           Gov. Aggregation
VEDO         4020144922218357            Gas           Gov. Aggregation   COH             115849410026                Gas           Gov. Aggregation
VEDO         4020194012498211            Gas           Gov. Aggregation   COH             117245440028                Gas           Gov. Aggregation
VEDO         4020196192438999            Gas           Gov. Aggregation   COH             117275750020                Gas           Gov. Aggregation
VEDO         4020198362245553            Gas           Gov. Aggregation   COH             117320820019                Gas           Gov. Aggregation
VEDO         4020256612274924            Gas           Gov. Aggregation   COH             117322160014                Gas           Gov. Aggregation
VEDO         4020283812290846            Gas           Gov. Aggregation   COH             117346400013                Gas           Gov. Aggregation
VEDO         4020860712641021            Gas           Gov. Aggregation   COH             117347100014                Gas           Gov. Aggregation
VEDO         4017737092675501            Gas           Gov. Aggregation   COH             117513810012                Gas           Gov. Aggregation
VEDO         4017194172676805            Gas           Gov. Aggregation   COH             117513840016                Gas           Gov. Aggregation
VEDO         4017058802675653            Gas           Gov. Aggregation   COH             117513980017                Gas           Gov. Aggregation
VEDO         4020852462304496            Gas           Gov. Aggregation   COH             118025770024                Gas           Gov. Aggregation
VEDO         4003838152434921            Gas           Gov. Aggregation   COH             118162800027                Gas           Gov. Aggregation
VEDO         4005017952429461            Gas           Gov. Aggregation   COH             118223670025                Gas           Gov. Aggregation
VEDO         4020861252108117            Gas           Gov. Aggregation   COH             118228720033                Gas           Gov. Aggregation
VEDO         4003997152400345            Gas           Gov. Aggregation   COH             118328710024                Gas           Gov. Aggregation
VEDO         4019347642150429            Gas           Gov. Aggregation   COH             118387240109                Gas           Gov. Aggregation
VEDO         4020301262299422            Gas           Gov. Aggregation   COH             118420260023                Gas           Gov. Aggregation
VEDO         4020319802384774            Gas           Gov. Aggregation   COH             118455910023                Gas           Gov. Aggregation
VEDO         4020029252276682            Gas           Gov. Aggregation   COH             118629080092                Gas           Gov. Aggregation
VEDO         4019743152123921            Gas           Gov. Aggregation   COH             118825620010                Gas           Gov. Aggregation
VEDO         4015950812439651            Gas           Gov. Aggregation   COH             118826440016                Gas           Gov. Aggregation
VEDO         4017062422152217            Gas           Gov. Aggregation   COH             118847600027                Gas           Gov. Aggregation
VEDO         4001944492202098            Gas           Gov. Aggregation   COH             119384980010                Gas           Gov. Aggregation
VEDO         4020328032163812            Gas           Gov. Aggregation   COH             119858860029                Gas           Gov. Aggregation
VEDO         4002000502466954            Gas           Gov. Aggregation   COH             120148960084                Gas           Gov. Aggregation
VEDO         4001097642299355            Gas           Gov. Aggregation   COH             120154210015                Gas           Gov. Aggregation
VEDO         4017078362346514            Gas           Gov. Aggregation   COH             120160300013                Gas           Gov. Aggregation
VEDO         4020198972238156            Gas           Gov. Aggregation   COH             120160550020                Gas           Gov. Aggregation
VEDO         4020858702114147            Gas           Gov. Aggregation   COH             120201920015                Gas           Gov. Aggregation
VEDO         4020892232247376            Gas           Gov. Aggregation   COH             120452570036                Gas           Gov. Aggregation
VEDO         4020294042431454            Gas           Gov. Aggregation   COH             120457160014                Gas           Gov. Aggregation
VEDO         4019244882201332            Gas           Gov. Aggregation   COH             120458190016                Gas           Gov. Aggregation
VEDO         4020331672321418            Gas           Gov. Aggregation   COH             121164910061                Gas           Gov. Aggregation
VEDO         4020298142131985            Gas           Gov. Aggregation   COH             121850840025                Gas           Gov. Aggregation
VEDO         4003477742344945            Gas           Gov. Aggregation   COH             121988210017                Gas           Gov. Aggregation
VEDO         4020881182291922            Gas           Gov. Aggregation   COH             121988810011                Gas           Gov. Aggregation
VEDO         4018192432471057            Gas           Gov. Aggregation   COH             122343370028                Gas           Gov. Aggregation
VEDO         4017992272223910            Gas           Gov. Aggregation   COH             122348170011                Gas           Gov. Aggregation
VEDO         4020293422293685            Gas           Gov. Aggregation   COH             122351310014                Gas           Gov. Aggregation
VEDO         4020301322191695            Gas           Gov. Aggregation   COH             122486770013                Gas           Gov. Aggregation
VEDO         4020872792502659            Gas           Gov. Aggregation   COH             122488660021                Gas           Gov. Aggregation
VEDO         4002977192355367            Gas           Gov. Aggregation   COH             123714430018                Gas           Gov. Aggregation
VEDO         4020796912192795            Gas           Gov. Aggregation   COH             123715940019                Gas           Gov. Aggregation
VEDO         4001041012257257            Gas           Gov. Aggregation   COH             123719500022                Gas           Gov. Aggregation
VEDO         4001243962122981            Gas           Gov. Aggregation   COH             123729350014                Gas           Gov. Aggregation
VEDO         4001357982133581            Gas           Gov. Aggregation   COH             123736650025                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4001492992146176            Gas           Gov. Aggregation   COH             123736670021                Gas           Gov. Aggregation
VEDO         4001492992310973            Gas           Gov. Aggregation   COH             123737930033                Gas           Gov. Aggregation
VEDO         4001854092491280            Gas           Gov. Aggregation   COH             123738040038                Gas           Gov. Aggregation
VEDO         4001977532222063            Gas           Gov. Aggregation   COH             123738380019                Gas           Gov. Aggregation
VEDO         4001980382639882            Gas           Gov. Aggregation   COH             123742250017                Gas           Gov. Aggregation
VEDO         4002013062196633            Gas           Gov. Aggregation   COH             123763400011                Gas           Gov. Aggregation
VEDO         4002380562232981            Gas           Gov. Aggregation   COH             123799100019                Gas           Gov. Aggregation
VEDO         4002386072233480            Gas           Gov. Aggregation   COH             123917780015                Gas           Gov. Aggregation
VEDO         4002465792241433            Gas           Gov. Aggregation   COH             123930200027                Gas           Gov. Aggregation
VEDO         4002642292598421            Gas           Gov. Aggregation   COH             123964770027                Gas           Gov. Aggregation
VEDO         4002661312529068            Gas           Gov. Aggregation   COH             123965540014                Gas           Gov. Aggregation
VEDO         4002662562282818            Gas           Gov. Aggregation   COH             124390280017                Gas           Gov. Aggregation
VEDO         4003247772320852            Gas           Gov. Aggregation   COH             124392090013                Gas           Gov. Aggregation
VEDO         4003492572346466            Gas           Gov. Aggregation   COH             124431440015                Gas           Gov. Aggregation
VEDO         4003586332356319            Gas           Gov. Aggregation   COH             124431690022                Gas           Gov. Aggregation
VEDO         4003596582190243            Gas           Gov. Aggregation   COH             124431970023                Gas           Gov. Aggregation
VEDO         4003704962368850            Gas           Gov. Aggregation   COH             124432220019                Gas           Gov. Aggregation
VEDO         4004434282448180            Gas           Gov. Aggregation   COH             124432830011                Gas           Gov. Aggregation
VEDO         4004447642349279            Gas           Gov. Aggregation   COH             124501620018                Gas           Gov. Aggregation
VEDO         4004581712464448            Gas           Gov. Aggregation   COH             124501730015                Gas           Gov. Aggregation
VEDO         4004621242468823            Gas           Gov. Aggregation   COH             124501940011                Gas           Gov. Aggregation
VEDO         4004679212436489            Gas           Gov. Aggregation   COH             124518730029                Gas           Gov. Aggregation
VEDO         4004808792175392            Gas           Gov. Aggregation   COH             124521070012                Gas           Gov. Aggregation
VEDO         4015025282332296            Gas           Gov. Aggregation   COH             124521180019                Gas           Gov. Aggregation
VEDO         4015077692149972            Gas           Gov. Aggregation   COH             124642270014                Gas           Gov. Aggregation
VEDO         4015125592303074            Gas           Gov. Aggregation   COH             124667530035                Gas           Gov. Aggregation
VEDO         4015302862265511            Gas           Gov. Aggregation   COH             125334490029                Gas           Gov. Aggregation
VEDO         4015350292505451            Gas           Gov. Aggregation   COH             125413560026                Gas           Gov. Aggregation
VEDO         4015889832300050            Gas           Gov. Aggregation   COH             125423410026                Gas           Gov. Aggregation
VEDO         4015987902496769            Gas           Gov. Aggregation   COH             125736550015                Gas           Gov. Aggregation
VEDO         4016109882512491            Gas           Gov. Aggregation   COH             125746470011                Gas           Gov. Aggregation
VEDO         4016349632225178            Gas           Gov. Aggregation   COH             125746730016                Gas           Gov. Aggregation
VEDO         4016412602521061            Gas           Gov. Aggregation   COH             125747850037                Gas           Gov. Aggregation
VEDO         4016424472541658            Gas           Gov. Aggregation   COH             125758150022                Gas           Gov. Aggregation
VEDO         4017236742252836            Gas           Gov. Aggregation   COH             128699420028                Gas           Gov. Aggregation
VEDO         4017257852281119            Gas           Gov. Aggregation   COH             128804980017                Gas           Gov. Aggregation
VEDO         4017309562425608            Gas           Gov. Aggregation   COH             129360140014                Gas           Gov. Aggregation
VEDO         4017326372243159            Gas           Gov. Aggregation   COH             129469800015                Gas           Gov. Aggregation
VEDO         4017355972493103            Gas           Gov. Aggregation   COH             130333400031                Gas           Gov. Aggregation
VEDO         4017468532503489            Gas           Gov. Aggregation   COH             130549550033                Gas           Gov. Aggregation
VEDO         4017796482339540            Gas           Gov. Aggregation   COH             130831060028                Gas           Gov. Aggregation
VEDO         4017888632428540            Gas           Gov. Aggregation   COH             130837350043                Gas           Gov. Aggregation
VEDO         4017898652206107            Gas           Gov. Aggregation   COH             130861370020                Gas           Gov. Aggregation
VEDO         4017929892487874            Gas           Gov. Aggregation   COH             130862200050                Gas           Gov. Aggregation
VEDO         4017995702327143            Gas           Gov. Aggregation   COH             131404700018                Gas           Gov. Aggregation
VEDO         4018311282488940            Gas           Gov. Aggregation   COH             159195300042                Gas           Gov. Aggregation
VEDO         4018372212348266            Gas           Gov. Aggregation   COH             141793180040                Gas           Gov. Aggregation
VEDO         4018429182392431            Gas           Gov. Aggregation   COH             122386490041                Gas           Gov. Aggregation
VEDO         4018450952474842            Gas           Gov. Aggregation   COH             122386490078                Gas           Gov. Aggregation
VEDO         4018559842335752            Gas           Gov. Aggregation   COH             175033430403                Gas           Gov. Aggregation
VEDO         4018599672297579            Gas           Gov. Aggregation   COH             101628660206                Gas           Gov. Aggregation
VEDO         4019109752180927            Gas           Gov. Aggregation   COH             101628660215                Gas           Gov. Aggregation
VEDO         4019223492477224            Gas           Gov. Aggregation   COH             199371210012                Gas           Gov. Aggregation
VEDO         4019276492264098            Gas           Gov. Aggregation   COH             200517710013                Gas           Gov. Aggregation
VEDO         4019301772507195            Gas           Gov. Aggregation   COH             207570860013                Gas           Gov. Aggregation
VEDO         4019516462136067            Gas           Gov. Aggregation   COH             209890660015                Gas           Gov. Aggregation
VEDO         4019522922647722            Gas           Gov. Aggregation   COH             205889420058                Gas           Gov. Aggregation
VEDO         4019528432138833            Gas           Gov. Aggregation   COH             196074900038                Gas           Gov. Aggregation
VEDO         4019535992291811            Gas           Gov. Aggregation   COH             136895280111                Gas           Gov. Aggregation
VEDO         4019745642325188            Gas           Gov. Aggregation   COH             198452530014                Gas           Gov. Aggregation
VEDO         4019837802393591            Gas           Gov. Aggregation   COH             202731820014                Gas           Gov. Aggregation
VEDO         4019850722379067            Gas           Gov. Aggregation   COH             187298020067                Gas           Gov. Aggregation
VEDO         4019996992223042            Gas           Gov. Aggregation   COH             136142180091                Gas           Gov. Aggregation
VEDO         4020032862405409            Gas           Gov. Aggregation   COH             209548020014                Gas           Gov. Aggregation
VEDO         4020064392157154            Gas           Gov. Aggregation   COH             202278360013                Gas           Gov. Aggregation
VEDO         4020107182436188            Gas           Gov. Aggregation   COH             124123030014                Gas           Gov. Aggregation
VEDO         4020112072267510            Gas           Gov. Aggregation   COH             124123040012                Gas           Gov. Aggregation
VEDO         4020153072509373            Gas           Gov. Aggregation   COH             166006400032                Gas           Gov. Aggregation
VEDO         4015517252427707            Gas           Gov. Aggregation   COH             194697870288                Gas           Gov. Aggregation
VEDO         4003239442155021            Gas           Gov. Aggregation   COH             164163200052                Gas           Gov. Aggregation
VEDO         4020044202132392            Gas           Gov. Aggregation   COH             205117250013                Gas           Gov. Aggregation
VEDO         4017856792369954            Gas           Gov. Aggregation   COH             195983530021                Gas           Gov. Aggregation
VEDO         4003996852291148            Gas           Gov. Aggregation   COH             193900740032                Gas           Gov. Aggregation
VEDO         4004308812434333            Gas           Gov. Aggregation   COH             198699350010                Gas           Gov. Aggregation
VEDO         4020891052503869            Gas           Gov. Aggregation   COH             194697870279                Gas           Gov. Aggregation
VEDO         4005012252397881            Gas           Gov. Aggregation   COH             206418000016                Gas           Gov. Aggregation
VEDO         4005021562513110            Gas           Gov. Aggregation   COH             208630950015                Gas           Gov. Aggregation
VEDO         4016200432527658            Gas           Gov. Aggregation   COH             205519100012                Gas           Gov. Aggregation
VEDO         4019303462208885            Gas           Gov. Aggregation   COH             204187250017                Gas           Gov. Aggregation
VEDO         4002056332467343            Gas           Gov. Aggregation   COH             205525110017                Gas           Gov. Aggregation
VEDO         4015281762477014            Gas           Gov. Aggregation   COH             173463560023                Gas           Gov. Aggregation
VEDO         4017641202590353            Gas           Gov. Aggregation   COH             153582580030                Gas           Gov. Aggregation
VEDO         4017644942442373            Gas           Gov. Aggregation   COH             124124240018                Gas           Gov. Aggregation
VEDO         4001676212163669            Gas           Gov. Aggregation   COH             124124530017                Gas           Gov. Aggregation
VEDO         4001741502169949            Gas           Gov. Aggregation   COH             176994910030                Gas           Gov. Aggregation
VEDO         4001973892192791            Gas           Gov. Aggregation   COH             201738900014                Gas           Gov. Aggregation
VEDO         4002296992224766            Gas           Gov. Aggregation   COH             124119590025                Gas           Gov. Aggregation
VEDO         4002303782150575            Gas           Gov. Aggregation   COH             152606880063                Gas           Gov. Aggregation
VEDO         4002330332228018            Gas           Gov. Aggregation   COH             206339750017                Gas           Gov. Aggregation
VEDO         4002567702251759            Gas           Gov. Aggregation   COH             199958580020                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4002567702299927            Gas           Gov. Aggregation   COH             208287550018                Gas           Gov. Aggregation
VEDO         4002651612260045            Gas           Gov. Aggregation   COH             205266860010                Gas           Gov. Aggregation
VEDO         4003846242521699            Gas           Gov. Aggregation   COH             172407600069                Gas           Gov. Aggregation
VEDO         4004151482417133            Gas           Gov. Aggregation   COH             208317810018                Gas           Gov. Aggregation
VEDO         4004199942422439            Gas           Gov. Aggregation   COH             188704090023                Gas           Gov. Aggregation
VEDO         4004370202441130            Gas           Gov. Aggregation   COH             173005010019                Gas           Gov. Aggregation
VEDO         4004762882484398            Gas           Gov. Aggregation   COH             194644700042                Gas           Gov. Aggregation
VEDO         4015985862639654            Gas           Gov. Aggregation   COH             197749550030                Gas           Gov. Aggregation
VEDO         4016081612490069            Gas           Gov. Aggregation   COH             206526510029                Gas           Gov. Aggregation
VEDO         4016961942523397            Gas           Gov. Aggregation   COH             172026350015                Gas           Gov. Aggregation
VEDO         4017013662350592            Gas           Gov. Aggregation   COH             190423400038                Gas           Gov. Aggregation
VEDO         4017170542527141            Gas           Gov. Aggregation   COH             202958170011                Gas           Gov. Aggregation
VEDO         4017270622671351            Gas           Gov. Aggregation   COH             208195260014                Gas           Gov. Aggregation
VEDO         4017426122237069            Gas           Gov. Aggregation   COH             203848950019                Gas           Gov. Aggregation
VEDO         4018881032641334            Gas           Gov. Aggregation   COH             200807820015                Gas           Gov. Aggregation
VEDO         4018903092372511            Gas           Gov. Aggregation   COH             131122180034                Gas           Gov. Aggregation
VEDO         4018918412641726            Gas           Gov. Aggregation   COH             203447650012                Gas           Gov. Aggregation
VEDO         4018977562347056            Gas           Gov. Aggregation   COH             201379400011                Gas           Gov. Aggregation
VEDO         4019038082145306            Gas           Gov. Aggregation   COH             204244000017                Gas           Gov. Aggregation
VEDO         4019130102494581            Gas           Gov. Aggregation   COH             191567180049                Gas           Gov. Aggregation
VEDO         4019400272144892            Gas           Gov. Aggregation   COH             124123720019                Gas           Gov. Aggregation
VEDO         4019435272178911            Gas           Gov. Aggregation   COH             154234700049                Gas           Gov. Aggregation
VEDO         4019875092369176            Gas           Gov. Aggregation   COH             171642820048                Gas           Gov. Aggregation
VEDO         4020083422260279            Gas           Gov. Aggregation   COH             205365030032                Gas           Gov. Aggregation
VEDO         4020122602165617            Gas           Gov. Aggregation   COH             114563530037                Gas           Gov. Aggregation
VEDO         4020155112245030            Gas           Gov. Aggregation   COH             160403360017                Gas           Gov. Aggregation
VEDO         4016664672324401            Gas           Gov. Aggregation   COH             206645720014                Gas           Gov. Aggregation
VEDO         4001632542328415            Gas           Gov. Aggregation   COH             131855450016                Gas           Gov. Aggregation
VEDO         4020897482109658            Gas           Gov. Aggregation   COH             131934370015                Gas           Gov. Aggregation
VEDO         4017395762304115            Gas           Gov. Aggregation   COH             132738450022                Gas           Gov. Aggregation
VEDO         4017380072495988            Gas           Gov. Aggregation   COH             133538350035                Gas           Gov. Aggregation
VEDO         4019458522452176            Gas           Gov. Aggregation   COH             133756570019                Gas           Gov. Aggregation
VEDO         4020844722398871            Gas           Gov. Aggregation   COH             133943230013                Gas           Gov. Aggregation
VEDO         4020322052481313            Gas           Gov. Aggregation   COH             133943960010                Gas           Gov. Aggregation
VEDO         4019396822301418            Gas           Gov. Aggregation   COH             134594730036                Gas           Gov. Aggregation
VEDO         4002316022226625            Gas           Gov. Aggregation   COH             134750640024                Gas           Gov. Aggregation
VEDO         4002453612240226            Gas           Gov. Aggregation   COH             135097100086                Gas           Gov. Aggregation
VEDO         4002465622241415            Gas           Gov. Aggregation   COH             205157060019                Gas           Gov. Aggregation
VEDO         4002602402255215            Gas           Gov. Aggregation   COH             205021460012                Gas           Gov. Aggregation
VEDO         4002619832434920            Gas           Gov. Aggregation   COH             209076690015                Gas           Gov. Aggregation
VEDO         4002709502265850            Gas           Gov. Aggregation   COH             123984903579                Gas           Gov. Aggregation
VEDO         4002775552272476            Gas           Gov. Aggregation   COH             202678120015                Gas           Gov. Aggregation
VEDO         4002889552283923            Gas           Gov. Aggregation   COH             194333230013                Gas           Gov. Aggregation
VEDO         4002944842289608            Gas           Gov. Aggregation   COH             189659860018                Gas           Gov. Aggregation
VEDO         4003645272128346            Gas           Gov. Aggregation   COH             207700820014                Gas           Gov. Aggregation
VEDO         4003645272362602            Gas           Gov. Aggregation   COH             200608100018                Gas           Gov. Aggregation
VEDO         4003682642366553            Gas           Gov. Aggregation   COH             209465520015                Gas           Gov. Aggregation
VEDO         4003702252368573            Gas           Gov. Aggregation   COH             199618210027                Gas           Gov. Aggregation
VEDO         4003772892376120            Gas           Gov. Aggregation   COH             209475200011                Gas           Gov. Aggregation
VEDO         4004041572602507            Gas           Gov. Aggregation   COH             195730370020                Gas           Gov. Aggregation
VEDO         4005147552527438            Gas           Gov. Aggregation   COH             206803850011                Gas           Gov. Aggregation
VEDO         4015020322530094            Gas           Gov. Aggregation   COH             202046570010                Gas           Gov. Aggregation
VEDO         4015143352639234            Gas           Gov. Aggregation   COH             203163520011                Gas           Gov. Aggregation
VEDO         4015237732536994            Gas           Gov. Aggregation   COH             123971910077                Gas           Gov. Aggregation
VEDO         4015259432645296            Gas           Gov. Aggregation   COH             205069830014                Gas           Gov. Aggregation
VEDO         4015351192535954            Gas           Gov. Aggregation   COH             187446110036                Gas           Gov. Aggregation
VEDO         4015415232631462            Gas           Gov. Aggregation   COH             124122770057                Gas           Gov. Aggregation
VEDO         4015478452320175            Gas           Gov. Aggregation   COH             205216890019                Gas           Gov. Aggregation
VEDO         4016862562569605            Gas           Gov. Aggregation   COH             167497280010                Gas           Gov. Aggregation
VEDO         4016993982527796            Gas           Gov. Aggregation   COH             210011770011                Gas           Gov. Aggregation
VEDO         4017001532184706            Gas           Gov. Aggregation   COH             124125520017                Gas           Gov. Aggregation
VEDO         4017091732356029            Gas           Gov. Aggregation   COH             194477500049                Gas           Gov. Aggregation
VEDO         4017295702214116            Gas           Gov. Aggregation   COH             168640750024                Gas           Gov. Aggregation
VEDO         4017529892331587            Gas           Gov. Aggregation   COH             124125500011                Gas           Gov. Aggregation
VEDO         4018307142250005            Gas           Gov. Aggregation   COH             187957570028                Gas           Gov. Aggregation
VEDO         4018491162647465            Gas           Gov. Aggregation   COH             201679310014                Gas           Gov. Aggregation
VEDO         4019232532176420            Gas           Gov. Aggregation   COH             199014380013                Gas           Gov. Aggregation
VEDO         4019243032247621            Gas           Gov. Aggregation   COH             206824230017                Gas           Gov. Aggregation
VEDO         4019328722406871            Gas           Gov. Aggregation   COH             202176980019                Gas           Gov. Aggregation
VEDO         4019368802646948            Gas           Gov. Aggregation   COH             124025280038                Gas           Gov. Aggregation
VEDO         4019372392306811            Gas           Gov. Aggregation   COH             142099320087                Gas           Gov. Aggregation
VEDO         4019387122489768            Gas           Gov. Aggregation   COH             200069680011                Gas           Gov. Aggregation
VEDO         4019949542501271            Gas           Gov. Aggregation   COH             192800640027                Gas           Gov. Aggregation
VEDO         4019974062673243            Gas           Gov. Aggregation   COH             162389860012                Gas           Gov. Aggregation
VEDO         4019983662597039            Gas           Gov. Aggregation   COH             192215590010                Gas           Gov. Aggregation
VEDO         4020014352328209            Gas           Gov. Aggregation   COH             203353150016                Gas           Gov. Aggregation
VEDO         4020077302421743            Gas           Gov. Aggregation   COH             207516300014                Gas           Gov. Aggregation
VEDO         4020112492454104            Gas           Gov. Aggregation   COH             194977170021                Gas           Gov. Aggregation
VEDO         4016050522263647            Gas           Gov. Aggregation   COH             204950380039                Gas           Gov. Aggregation
VEDO         4020289432456470            Gas           Gov. Aggregation   COH             152322660025                Gas           Gov. Aggregation
VEDO         4004188582319670            Gas           Gov. Aggregation   COH             205921730017                Gas           Gov. Aggregation
VEDO         4017464082167987            Gas           Gov. Aggregation   COH             203886110015                Gas           Gov. Aggregation
VEDO         4017722232285224            Gas           Gov. Aggregation   COH             196563700015                Gas           Gov. Aggregation
VEDO         4019945642262598            Gas           Gov. Aggregation   COH             151120160010                Gas           Gov. Aggregation
VEDO         4002291552482791            Gas           Gov. Aggregation   COH             175088440068                Gas           Gov. Aggregation
VEDO         4002737052268564            Gas           Gov. Aggregation   COH             201855190016                Gas           Gov. Aggregation
VEDO         4016936212333942            Gas           Gov. Aggregation   COH             191918490012                Gas           Gov. Aggregation
VEDO         4017137502419036            Gas           Gov. Aggregation   COH             186045340093                Gas           Gov. Aggregation
VEDO         4017731312629187            Gas           Gov. Aggregation   COH             124024530019                Gas           Gov. Aggregation
VEDO         4017769752362960            Gas           Gov. Aggregation   COH             168982560039                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4018038752388390            Gas           Gov. Aggregation   COH             195153780019                Gas           Gov. Aggregation
VEDO         4019240102520943            Gas           Gov. Aggregation   COH             192362210027                Gas           Gov. Aggregation
VEDO         4019381122388665            Gas           Gov. Aggregation   COH             171673760019                Gas           Gov. Aggregation
VEDO         4019509182478288            Gas           Gov. Aggregation   COH             204901170018                Gas           Gov. Aggregation
VEDO         4019524582103054            Gas           Gov. Aggregation   COH             124148700048                Gas           Gov. Aggregation
VEDO         4019732862225582            Gas           Gov. Aggregation   COH             205867150015                Gas           Gov. Aggregation
VEDO         4020013732266895            Gas           Gov. Aggregation   COH             200443630026                Gas           Gov. Aggregation
VEDO         4020127032321375            Gas           Gov. Aggregation   COH             168159390021                Gas           Gov. Aggregation
VEDO         4020137262262608            Gas           Gov. Aggregation   COH             153393460081                Gas           Gov. Aggregation
VEDO         4020139252203034            Gas           Gov. Aggregation   COH             197931790033                Gas           Gov. Aggregation
VEDO         4020161752447480            Gas           Gov. Aggregation   COH             208619770017                Gas           Gov. Aggregation
VEDO         4020263062211102            Gas           Gov. Aggregation   COH             173063850020                Gas           Gov. Aggregation
VEDO         4020897352516409            Gas           Gov. Aggregation   COH             168401380019                Gas           Gov. Aggregation
VEDO         4001405372458514            Gas           Gov. Aggregation   COH             201947170015                Gas           Gov. Aggregation
VEDO         4020243622303717            Gas           Gov. Aggregation   COH             172151530067                Gas           Gov. Aggregation
VEDO         4004169812419210            Gas           Gov. Aggregation   COH             172151530049                Gas           Gov. Aggregation
VEDO         4020867492234874            Gas           Gov. Aggregation   COH             146699950043                Gas           Gov. Aggregation
VEDO         4020853342366831            Gas           Gov. Aggregation   COH             191361540030                Gas           Gov. Aggregation
VEDO         4001726192168454            Gas           Gov. Aggregation   COH             199273560017                Gas           Gov. Aggregation
VEDO         4001046912595208            Gas           Gov. Aggregation   COH             203869660016                Gas           Gov. Aggregation
VEDO         4001062462105939            Gas           Gov. Aggregation   COH             194408000012                Gas           Gov. Aggregation
VEDO         4001186862117665            Gas           Gov. Aggregation   COH             171337840032                Gas           Gov. Aggregation
VEDO         4001503182147083            Gas           Gov. Aggregation   COH             189334190080                Gas           Gov. Aggregation
VEDO         4001519182148660            Gas           Gov. Aggregation   COH             124125870014                Gas           Gov. Aggregation
VEDO         4001537942644234            Gas           Gov. Aggregation   COH             186378740021                Gas           Gov. Aggregation
VEDO         4001646852160989            Gas           Gov. Aggregation   COH             194577090053                Gas           Gov. Aggregation
VEDO         4001666372162787            Gas           Gov. Aggregation   COH             206096980015                Gas           Gov. Aggregation
VEDO         4001682332164226            Gas           Gov. Aggregation   COH             172483310113                Gas           Gov. Aggregation
VEDO         4001710372166905            Gas           Gov. Aggregation   COH             198798380014                Gas           Gov. Aggregation
VEDO         4001895692426138            Gas           Gov. Aggregation   COH             168201670110                Gas           Gov. Aggregation
VEDO         4001937972189300            Gas           Gov. Aggregation   COH             176154650044                Gas           Gov. Aggregation
VEDO         4001966412306031            Gas           Gov. Aggregation   COH             170045750040                Gas           Gov. Aggregation
VEDO         4002006352195970            Gas           Gov. Aggregation   COH             201259060035                Gas           Gov. Aggregation
VEDO         4002020622197352            Gas           Gov. Aggregation   COH             203185980037                Gas           Gov. Aggregation
VEDO         4002079242203241            Gas           Gov. Aggregation   COH             171861820026                Gas           Gov. Aggregation
VEDO         4002080652203366            Gas           Gov. Aggregation   COH             208493480016                Gas           Gov. Aggregation
VEDO         4002139982209131            Gas           Gov. Aggregation   COH             206405600017                Gas           Gov. Aggregation
VEDO         4002407052235584            Gas           Gov. Aggregation   COH             165463230022                Gas           Gov. Aggregation
VEDO         4002438602238750            Gas           Gov. Aggregation   COH             152666960015                Gas           Gov. Aggregation
VEDO         4002540022403402            Gas           Gov. Aggregation   COH             191787240013                Gas           Gov. Aggregation
VEDO         4002651572394805            Gas           Gov. Aggregation   COH             167113990031                Gas           Gov. Aggregation
VEDO         4002665302261386            Gas           Gov. Aggregation   COH             209530530023                Gas           Gov. Aggregation
VEDO         4002687532263618            Gas           Gov. Aggregation   COH             167079850114                Gas           Gov. Aggregation
VEDO         4002695522264436            Gas           Gov. Aggregation   COH             202331750017                Gas           Gov. Aggregation
VEDO         4002712342266139            Gas           Gov. Aggregation   COH             204573490018                Gas           Gov. Aggregation
VEDO         4002737432268602            Gas           Gov. Aggregation   COH             124130320036                Gas           Gov. Aggregation
VEDO         4003136982309420            Gas           Gov. Aggregation   COH             124188540039                Gas           Gov. Aggregation
VEDO         4003170852312946            Gas           Gov. Aggregation   COH             137893240023                Gas           Gov. Aggregation
VEDO         4003231392471225            Gas           Gov. Aggregation   COH             154254520018                Gas           Gov. Aggregation
VEDO         4003237452319769            Gas           Gov. Aggregation   COH             162275120143                Gas           Gov. Aggregation
VEDO         4003241522320198            Gas           Gov. Aggregation   COH             163331950022                Gas           Gov. Aggregation
VEDO         4003283672324531            Gas           Gov. Aggregation   COH             171312380022                Gas           Gov. Aggregation
VEDO         4003713872160754            Gas           Gov. Aggregation   COH             172529060010                Gas           Gov. Aggregation
VEDO         4003740902372729            Gas           Gov. Aggregation   COH             175209050026                Gas           Gov. Aggregation
VEDO         4003788312377790            Gas           Gov. Aggregation   COH             177260850019                Gas           Gov. Aggregation
VEDO         4003804092379518            Gas           Gov. Aggregation   COH             201191740018                Gas           Gov. Aggregation
VEDO         4003850582384546            Gas           Gov. Aggregation   COH             202268960018                Gas           Gov. Aggregation
VEDO         4003865282386168            Gas           Gov. Aggregation   COH             205305020012                Gas           Gov. Aggregation
VEDO         4003885602388307            Gas           Gov. Aggregation   COH             208406970016                Gas           Gov. Aggregation
VEDO         4003940132394263            Gas           Gov. Aggregation   COH             209956610015                Gas           Gov. Aggregation
VEDO         4004406312445098            Gas           Gov. Aggregation   VEDO            4021576312194164            Gas           Gov. Aggregation
VEDO         4004419522446521            Gas           Gov. Aggregation   VEDO            4001202572582417            Gas           Gov. Aggregation
VEDO         4004524462564350            Gas           Gov. Aggregation   VEDO            4020280022286857            Gas           Gov. Aggregation
VEDO         4004549002460769            Gas           Gov. Aggregation   VEDO            4020280022180701            Gas           Gov. Aggregation
VEDO         4004562482462247            Gas           Gov. Aggregation   VEDO            4003393962336227            Gas           Gov. Aggregation
VEDO         4004588202441624            Gas           Gov. Aggregation   VEDO            4019491002353646            Gas           Gov. Aggregation
VEDO         4004588212465166            Gas           Gov. Aggregation   VEDO            4021532612363019            Gas           Gov. Aggregation
VEDO         4004851342494172            Gas           Gov. Aggregation   VEDO            4018286662397130            Gas           Gov. Aggregation
VEDO         4004931282502963            Gas           Gov. Aggregation   VEDO            4019248132529136            Gas           Gov. Aggregation
VEDO         4004998782510512            Gas           Gov. Aggregation   VEDO            4021456732685567            Gas           Gov. Aggregation
VEDO         4005006442511394            Gas           Gov. Aggregation   VEDO            4021456732685568            Gas           Gov. Aggregation
VEDO         4005101502522175            Gas           Gov. Aggregation   VEDO            4021451792500470            Gas           Gov. Aggregation
VEDO         4015006632449141            Gas           Gov. Aggregation   VEDO            4021468012371289            Gas           Gov. Aggregation
VEDO         4015105372375683            Gas           Gov. Aggregation   VEDO            4021604682412760            Gas           Gov. Aggregation
VEDO         4015109902632224            Gas           Gov. Aggregation   VEDO            4001654492213339            Gas           Gov. Aggregation
VEDO         4015726172325556            Gas           Gov. Aggregation   VEDO            4021526662305902            Gas           Gov. Aggregation
VEDO         4015731702561339            Gas           Gov. Aggregation   VEDO            4016130322425097            Gas           Gov. Aggregation
VEDO         4015739172344324            Gas           Gov. Aggregation   VEDO            4019849042504631            Gas           Gov. Aggregation
VEDO         4015773762393345            Gas           Gov. Aggregation   VEDO            4021031922486405            Gas           Gov. Aggregation
VEDO         4015773762408281            Gas           Gov. Aggregation   VEDO            4021566032503887            Gas           Gov. Aggregation
VEDO         4015999862343297            Gas           Gov. Aggregation   VEDO            4019965242528410            Gas           Gov. Aggregation
VEDO         4016062192573478            Gas           Gov. Aggregation   VEDO            4004334942215029            Gas           Gov. Aggregation
VEDO         4016466932250100            Gas           Gov. Aggregation   VEDO            4021555032354391            Gas           Gov. Aggregation
VEDO         4016487132582363            Gas           Gov. Aggregation   VEDO            4021615822105157            Gas           Gov. Aggregation
VEDO         4016506112589512            Gas           Gov. Aggregation   VEDO            4021538572303415            Gas           Gov. Aggregation
VEDO         4016548662492809            Gas           Gov. Aggregation   VEDO            4019482172298232            Gas           Gov. Aggregation
VEDO         4016563072468193            Gas           Gov. Aggregation   COH             136614030028                Gas           Gov. Aggregation
VEDO         4016671162647770            Gas           Gov. Aggregation   COH             136622010034                Gas           Gov. Aggregation
VEDO         4017364452439710            Gas           Gov. Aggregation   COH             137162510016                Gas           Gov. Aggregation
VEDO         4017407622458089            Gas           Gov. Aggregation   COH             137350110048                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4017423552604593            Gas           Gov. Aggregation   COH             137627170030                Gas           Gov. Aggregation
VEDO            4017525662516956            Gas           Gov. Aggregation   COH             137701200017                Gas           Gov. Aggregation
VEDO            4017570982628212            Gas           Gov. Aggregation   COH             138134890042                Gas           Gov. Aggregation
VEDO            4017592622447605            Gas           Gov. Aggregation   COH             138161150013                Gas           Gov. Aggregation
VEDO            4018275582176515            Gas           Gov. Aggregation   COH             138285240021                Gas           Gov. Aggregation
VEDO            4018311152591499            Gas           Gov. Aggregation   COH             138290510014                Gas           Gov. Aggregation
VEDO            4018313172177384            Gas           Gov. Aggregation   COH             138657930018                Gas           Gov. Aggregation
VEDO            4018317072248807            Gas           Gov. Aggregation   COH             138974280031                Gas           Gov. Aggregation
VEDO            4018382322453828            Gas           Gov. Aggregation   COH             138976750010                Gas           Gov. Aggregation
VEDO            4018413712195497            Gas           Gov. Aggregation   COH             139241210019                Gas           Gov. Aggregation
VEDO            4018452702433631            Gas           Gov. Aggregation   COH             139416550017                Gas           Gov. Aggregation
VEDO            4018852532113926            Gas           Gov. Aggregation   COH             140567850192                Gas           Gov. Aggregation
VEDO            4018868232313173            Gas           Gov. Aggregation   COH             140748100015                Gas           Gov. Aggregation
VEDO            4018905052494459            Gas           Gov. Aggregation   COH             140755240020                Gas           Gov. Aggregation
VEDO            4018928662311007            Gas           Gov. Aggregation   COH             141040030019                Gas           Gov. Aggregation
VEDO            4018936492589237            Gas           Gov. Aggregation   COH             141052730017                Gas           Gov. Aggregation
VEDO            4019198612225241            Gas           Gov. Aggregation   COH             141737280010                Gas           Gov. Aggregation
VEDO            4019207122499040            Gas           Gov. Aggregation   COH             142107370015                Gas           Gov. Aggregation
VEDO            4019221262297800            Gas           Gov. Aggregation   COH             142347070029                Gas           Gov. Aggregation
VEDO            4019273582550122            Gas           Gov. Aggregation   COH             142366770022                Gas           Gov. Aggregation
VEDO            4019505642312035            Gas           Gov. Aggregation   COH             142424350026                Gas           Gov. Aggregation
VEDO            4019516832267816            Gas           Gov. Aggregation   COH             142563790039                Gas           Gov. Aggregation
VEDO            4019522982187810            Gas           Gov. Aggregation   COH             142715430022                Gas           Gov. Aggregation
VEDO            4019530692457745            Gas           Gov. Aggregation   COH             142720950013                Gas           Gov. Aggregation
VEDO            4019759582373920            Gas           Gov. Aggregation   COH             142722860018                Gas           Gov. Aggregation
VEDO            4019775132468840            Gas           Gov. Aggregation   COH             142943980015                Gas           Gov. Aggregation
VEDO            4019783182397444            Gas           Gov. Aggregation   COH             143055330013                Gas           Gov. Aggregation
VEDO            4019803912339421            Gas           Gov. Aggregation   COH             143095500040                Gas           Gov. Aggregation
VEDO            4019961102387094            Gas           Gov. Aggregation   COH             143166930021                Gas           Gov. Aggregation
VEDO            4019973182484996            Gas           Gov. Aggregation   COH             145007770047                Gas           Gov. Aggregation
VEDO            4020001512428000            Gas           Gov. Aggregation   COH             145064690017                Gas           Gov. Aggregation
VEDO            4020003812261957            Gas           Gov. Aggregation   COH             145381310023                Gas           Gov. Aggregation
VEDO            4020011372101231            Gas           Gov. Aggregation   COH             145555170015                Gas           Gov. Aggregation
VEDO            4020018022642593            Gas           Gov. Aggregation   COH             145654250018                Gas           Gov. Aggregation
VEDO            4020212612350343            Gas           Gov. Aggregation   COH             145654350044                Gas           Gov. Aggregation
VEDO            4020235822327869            Gas           Gov. Aggregation   COH             146495090019                Gas           Gov. Aggregation
VEDO            4020250472519387            Gas           Gov. Aggregation   COH             147165250040                Gas           Gov. Aggregation
VEDO            4004612432467836            Gas           Gov. Aggregation   COH             147260380014                Gas           Gov. Aggregation
VEDO            4017624472543799            Gas           Gov. Aggregation   COH             147260600026                Gas           Gov. Aggregation
VEDO            4020835222183556            Gas           Gov. Aggregation   COH             147401530012                Gas           Gov. Aggregation
VEDO            4020895302216139            Gas           Gov. Aggregation   COH             148077610013                Gas           Gov. Aggregation
VEDO            4020899592260589            Gas           Gov. Aggregation   COH             148085410018                Gas           Gov. Aggregation
VEDO            4020317312212818            Gas           Gov. Aggregation   COH             148687570055                Gas           Gov. Aggregation
VEDO            4020848492629547            Gas           Gov. Aggregation   COH             149041880020                Gas           Gov. Aggregation
VEDO            4003058552677207            Gas           Gov. Aggregation   COH             149353330042                Gas           Gov. Aggregation
VEDO            4020312822676622            Gas           Gov. Aggregation   COH             149502490033                Gas           Gov. Aggregation
VEDO            4017728782675993            Gas           Gov. Aggregation   COH             150273140012                Gas           Gov. Aggregation
VEDO            4003266852676621            Gas           Gov. Aggregation   COH             150379070102                Gas           Gov. Aggregation
VEDO            4016201152588346            Gas           Gov. Aggregation   COH             150380940026                Gas           Gov. Aggregation
COH             125062700030                Gas           Gov. Aggregation   COH             150768570013                Gas           Gov. Aggregation
COH             167905090013                Gas           Gov. Aggregation   COH             150919750014                Gas           Gov. Aggregation
COH             145722270037                Gas           Gov. Aggregation   COH             152734130014                Gas           Gov. Aggregation
DEO             5500063243811               Gas           Gov. Aggregation   COH             153922590018                Gas           Gov. Aggregation
COH             171233910028                Gas           Gov. Aggregation   COH             154742220016                Gas           Gov. Aggregation
VEDO            4001048902401598            Gas           Gov. Aggregation   COH             154742640027                Gas           Gov. Aggregation
VEDO            4001048902460820            Gas           Gov. Aggregation   COH             154863510037                Gas           Gov. Aggregation
VEDO            4001054182506557            Gas           Gov. Aggregation   COH             154864630012                Gas           Gov. Aggregation
VEDO            4001069232106607            Gas           Gov. Aggregation   COH             154934250013                Gas           Gov. Aggregation
VEDO            4001183582117324            Gas           Gov. Aggregation   COH             155242280013                Gas           Gov. Aggregation
VEDO            4001189272672119            Gas           Gov. Aggregation   COH             155812820010                Gas           Gov. Aggregation
VEDO            4001215652565580            Gas           Gov. Aggregation   COH             155813380020                Gas           Gov. Aggregation
VEDO            4001222422121023            Gas           Gov. Aggregation   COH             156338510029                Gas           Gov. Aggregation
VEDO            4001227182104029            Gas           Gov. Aggregation   COH             156516520010                Gas           Gov. Aggregation
VEDO            4001316212129734            Gas           Gov. Aggregation   COH             156610380010                Gas           Gov. Aggregation
VEDO            4001337012630277            Gas           Gov. Aggregation   COH             156702390022                Gas           Gov. Aggregation
VEDO            4001409662303572            Gas           Gov. Aggregation   COH             156710140027                Gas           Gov. Aggregation
VEDO            4001409942104780            Gas           Gov. Aggregation   COH             156710950027                Gas           Gov. Aggregation
VEDO            4001410112225368            Gas           Gov. Aggregation   COH             156849320017                Gas           Gov. Aggregation
VEDO            4001425122139825            Gas           Gov. Aggregation   COH             156942960024                Gas           Gov. Aggregation
VEDO            4001437982174446            Gas           Gov. Aggregation   COH             157000090013                Gas           Gov. Aggregation
VEDO            4001438352362139            Gas           Gov. Aggregation   COH             157150150013                Gas           Gov. Aggregation
VEDO            4001493702154140            Gas           Gov. Aggregation   COH             157570180044                Gas           Gov. Aggregation
VEDO            4001496942179189            Gas           Gov. Aggregation   COH             157820020019                Gas           Gov. Aggregation
VEDO            4001506532147392            Gas           Gov. Aggregation   COH             157925440028                Gas           Gov. Aggregation
VEDO            4001509002147636            Gas           Gov. Aggregation   COH             157971760060                Gas           Gov. Aggregation
VEDO            4001520732235269            Gas           Gov. Aggregation   COH             158157470020                Gas           Gov. Aggregation
VEDO            4001527042513607            Gas           Gov. Aggregation   COH             158162400014                Gas           Gov. Aggregation
VEDO            4001536682502637            Gas           Gov. Aggregation   COH             158217940014                Gas           Gov. Aggregation
VEDO            4001545252151273            Gas           Gov. Aggregation   COH             159149580014                Gas           Gov. Aggregation
VEDO            4001626492425364            Gas           Gov. Aggregation   COH             159803630015                Gas           Gov. Aggregation
VEDO            4001626492504469            Gas           Gov. Aggregation   COH             161059950013                Gas           Gov. Aggregation
VEDO            4001635432159912            Gas           Gov. Aggregation   COH             161128460215                Gas           Gov. Aggregation
VEDO            4001639602160296            Gas           Gov. Aggregation   COH             161128590012                Gas           Gov. Aggregation
VEDO            4001640862160424            Gas           Gov. Aggregation   COH             161271410016                Gas           Gov. Aggregation
VEDO            4001755582171322            Gas           Gov. Aggregation   COH             161525150012                Gas           Gov. Aggregation
VEDO            4001772552172954            Gas           Gov. Aggregation   COH             161546910018                Gas           Gov. Aggregation
VEDO            4001795842175325            Gas           Gov. Aggregation   COH             161584260015                Gas           Gov. Aggregation
VEDO            4001803922131065            Gas           Gov. Aggregation   COH             161611590026                Gas           Gov. Aggregation
VEDO            4001805752248179            Gas           Gov. Aggregation   COH             161650620018                Gas           Gov. Aggregation
VEDO            4001817972604729            Gas           Gov. Aggregation   COH             161666480015                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4001925072389028            Gas           Gov. Aggregation   COH             161823730018                Gas           Gov. Aggregation
VEDO         4001929032188355            Gas           Gov. Aggregation   COH             161861630019                Gas           Gov. Aggregation
VEDO         4001931592154692            Gas           Gov. Aggregation   COH             162179590014                Gas           Gov. Aggregation
VEDO         4001947432190219            Gas           Gov. Aggregation   COH             162537430017                Gas           Gov. Aggregation
VEDO         4001950722190562            Gas           Gov. Aggregation   COH             162538870022                Gas           Gov. Aggregation
VEDO         4001954412190912            Gas           Gov. Aggregation   COH             163533070010                Gas           Gov. Aggregation
VEDO         4001965402191969            Gas           Gov. Aggregation   COH             163608880011                Gas           Gov. Aggregation
VEDO         4002061712334521            Gas           Gov. Aggregation   COH             163609460017                Gas           Gov. Aggregation
VEDO         4002106742205880            Gas           Gov. Aggregation   COH             164040770017                Gas           Gov. Aggregation
VEDO         4002112482399354            Gas           Gov. Aggregation   COH             164111870015                Gas           Gov. Aggregation
VEDO         4002115062278132            Gas           Gov. Aggregation   COH             164525780035                Gas           Gov. Aggregation
VEDO         4002183942213533            Gas           Gov. Aggregation   COH             164700110015                Gas           Gov. Aggregation
VEDO         4002194832135551            Gas           Gov. Aggregation   COH             164931480019                Gas           Gov. Aggregation
VEDO         4002211242216234            Gas           Gov. Aggregation   COH             164973490019                Gas           Gov. Aggregation
VEDO         4002220772217202            Gas           Gov. Aggregation   COH             165002420028                Gas           Gov. Aggregation
VEDO         4002223412217454            Gas           Gov. Aggregation   COH             165117300011                Gas           Gov. Aggregation
VEDO         4002233952218491            Gas           Gov. Aggregation   COH             165305890019                Gas           Gov. Aggregation
VEDO         4002236182127288            Gas           Gov. Aggregation   COH             165472990024                Gas           Gov. Aggregation
VEDO         4002331832228184            Gas           Gov. Aggregation   COH             165713050038                Gas           Gov. Aggregation
VEDO         4002334692167978            Gas           Gov. Aggregation   COH             165834540048                Gas           Gov. Aggregation
VEDO         4002366642504567            Gas           Gov. Aggregation   COH             165938430014                Gas           Gov. Aggregation
VEDO         4002412762236154            Gas           Gov. Aggregation   COH             166001570019                Gas           Gov. Aggregation
VEDO         4002425992237489            Gas           Gov. Aggregation   COH             166169500019                Gas           Gov. Aggregation
VEDO         4002431662238051            Gas           Gov. Aggregation   COH             166202980017                Gas           Gov. Aggregation
VEDO         4002503222236030            Gas           Gov. Aggregation   COH             166237660011                Gas           Gov. Aggregation
VEDO         4002505062262008            Gas           Gov. Aggregation   COH             167251970015                Gas           Gov. Aggregation
VEDO         4002505072278402            Gas           Gov. Aggregation   COH             167260390018                Gas           Gov. Aggregation
VEDO         4002514922246433            Gas           Gov. Aggregation   COH             167703410013                Gas           Gov. Aggregation
VEDO         4002515952246531            Gas           Gov. Aggregation   COH             167766660019                Gas           Gov. Aggregation
VEDO         4002517042246634            Gas           Gov. Aggregation   COH             167927290015                Gas           Gov. Aggregation
VEDO         4002536302464729            Gas           Gov. Aggregation   COH             167928080017                Gas           Gov. Aggregation
VEDO         4002547162249730            Gas           Gov. Aggregation   COH             167954590015                Gas           Gov. Aggregation
VEDO         4002676842466253            Gas           Gov. Aggregation   COH             168135460017                Gas           Gov. Aggregation
VEDO         4002684862263373            Gas           Gov. Aggregation   COH             168190680015                Gas           Gov. Aggregation
VEDO         4002689152263770            Gas           Gov. Aggregation   COH             169282420013                Gas           Gov. Aggregation
VEDO         4002689152671822            Gas           Gov. Aggregation   COH             169667270019                Gas           Gov. Aggregation
VEDO         4002691382129245            Gas           Gov. Aggregation   COH             170287160015                Gas           Gov. Aggregation
VEDO         4002702822265173            Gas           Gov. Aggregation   COH             170310000017                Gas           Gov. Aggregation
VEDO         4002724352267316            Gas           Gov. Aggregation   COH             170580490014                Gas           Gov. Aggregation
VEDO         4002729072326740            Gas           Gov. Aggregation   COH             170589000018                Gas           Gov. Aggregation
VEDO         4002865092281545            Gas           Gov. Aggregation   COH             170675050015                Gas           Gov. Aggregation
VEDO         4002870372282036            Gas           Gov. Aggregation   COH             170882290016                Gas           Gov. Aggregation
VEDO         4002870662600221            Gas           Gov. Aggregation   COH             170882540013                Gas           Gov. Aggregation
VEDO         4002870662627003            Gas           Gov. Aggregation   COH             171450470012                Gas           Gov. Aggregation
VEDO         4002888502283809            Gas           Gov. Aggregation   COH             171485070013                Gas           Gov. Aggregation
VEDO         4002949672354304            Gas           Gov. Aggregation   COH             171563510014                Gas           Gov. Aggregation
VEDO         4002952142646926            Gas           Gov. Aggregation   COH             171633840016                Gas           Gov. Aggregation
VEDO         4002967142516113            Gas           Gov. Aggregation   COH             171857540024                Gas           Gov. Aggregation
VEDO         4002968342480858            Gas           Gov. Aggregation   COH             171857710028                Gas           Gov. Aggregation
VEDO         4002980382293307            Gas           Gov. Aggregation   COH             171879850023                Gas           Gov. Aggregation
VEDO         4002980382506242            Gas           Gov. Aggregation   COH             172116740012                Gas           Gov. Aggregation
VEDO         4003066102354470            Gas           Gov. Aggregation   COH             172559130012                Gas           Gov. Aggregation
VEDO         4003067142501060            Gas           Gov. Aggregation   COH             172596250019                Gas           Gov. Aggregation
VEDO         4003068362302339            Gas           Gov. Aggregation   COH             172812690035                Gas           Gov. Aggregation
VEDO         4003076072303105            Gas           Gov. Aggregation   COH             172861780015                Gas           Gov. Aggregation
VEDO         4003081342450225            Gas           Gov. Aggregation   COH             173786400013                Gas           Gov. Aggregation
VEDO         4003082582303743            Gas           Gov. Aggregation   COH             174190110016                Gas           Gov. Aggregation
VEDO         4003084472303923            Gas           Gov. Aggregation   COH             174256220013                Gas           Gov. Aggregation
VEDO         4003091982304710            Gas           Gov. Aggregation   COH             174336090011                Gas           Gov. Aggregation
VEDO         4003158352311654            Gas           Gov. Aggregation   COH             174517810015                Gas           Gov. Aggregation
VEDO         4003162992312145            Gas           Gov. Aggregation   COH             174563450014                Gas           Gov. Aggregation
VEDO         4003173982313267            Gas           Gov. Aggregation   COH             174872520014                Gas           Gov. Aggregation
VEDO         4003175652313453            Gas           Gov. Aggregation   COH             175579440012                Gas           Gov. Aggregation
VEDO         4003183532314291            Gas           Gov. Aggregation   COH             175592970013                Gas           Gov. Aggregation
VEDO         4003187172586742            Gas           Gov. Aggregation   COH             175623730016                Gas           Gov. Aggregation
VEDO         4003187992322048            Gas           Gov. Aggregation   COH             176010640013                Gas           Gov. Aggregation
VEDO         4003289442325108            Gas           Gov. Aggregation   COH             176024400014                Gas           Gov. Aggregation
VEDO         4003292572389945            Gas           Gov. Aggregation   COH             176390640019                Gas           Gov. Aggregation
VEDO         4003305882107676            Gas           Gov. Aggregation   COH             176673800015                Gas           Gov. Aggregation
VEDO         4003308712327210            Gas           Gov. Aggregation   COH             177406420019                Gas           Gov. Aggregation
VEDO         4003314962327853            Gas           Gov. Aggregation   COH             177728780012                Gas           Gov. Aggregation
VEDO         4003315562327914            Gas           Gov. Aggregation   COH             185268220015                Gas           Gov. Aggregation
VEDO         4003367342333344            Gas           Gov. Aggregation   COH             185288150018                Gas           Gov. Aggregation
VEDO         4003464162343564            Gas           Gov. Aggregation   COH             185333360017                Gas           Gov. Aggregation
VEDO         4003465102326957            Gas           Gov. Aggregation   COH             185389520016                Gas           Gov. Aggregation
VEDO         4003526912350033            Gas           Gov. Aggregation   COH             185446240013                Gas           Gov. Aggregation
VEDO         4003527002350043            Gas           Gov. Aggregation   COH             185501290015                Gas           Gov. Aggregation
VEDO         4003533482350690            Gas           Gov. Aggregation   COH             185624320018                Gas           Gov. Aggregation
VEDO         4003542452351681            Gas           Gov. Aggregation   COH             185698670010                Gas           Gov. Aggregation
VEDO         4003547192352134            Gas           Gov. Aggregation   COH             185861400028                Gas           Gov. Aggregation
VEDO         4003613712359246            Gas           Gov. Aggregation   COH             185896830016                Gas           Gov. Aggregation
VEDO         4003630642361044            Gas           Gov. Aggregation   COH             185998660025                Gas           Gov. Aggregation
VEDO         4003672182144766            Gas           Gov. Aggregation   COH             186138440013                Gas           Gov. Aggregation
VEDO         4003672182394276            Gas           Gov. Aggregation   COH             186600910013                Gas           Gov. Aggregation
VEDO         4003681142366395            Gas           Gov. Aggregation   COH             186635810011                Gas           Gov. Aggregation
VEDO         4003693202367652            Gas           Gov. Aggregation   COH             186720780026                Gas           Gov. Aggregation
VEDO         4003735132260396            Gas           Gov. Aggregation   COH             187093820018                Gas           Gov. Aggregation
VEDO         4003735982419294            Gas           Gov. Aggregation   COH             187403850013                Gas           Gov. Aggregation
VEDO         4003739552163948            Gas           Gov. Aggregation   COH             187721280019                Gas           Gov. Aggregation
VEDO         4003749542373646            Gas           Gov. Aggregation   COH             187741390014                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4003760302491935            Gas           Gov. Aggregation   COH             187766580012                Gas           Gov. Aggregation
VEDO         4003762422257811            Gas           Gov. Aggregation   COH             188045120015                Gas           Gov. Aggregation
VEDO         4003779272376806            Gas           Gov. Aggregation   COH             188054150010                Gas           Gov. Aggregation
VEDO         4003781512377059            Gas           Gov. Aggregation   COH             188133090015                Gas           Gov. Aggregation
VEDO         4003894902144330            Gas           Gov. Aggregation   COH             188648690018                Gas           Gov. Aggregation
VEDO         4003945552394834            Gas           Gov. Aggregation   COH             188698490015                Gas           Gov. Aggregation
VEDO         4003952782395600            Gas           Gov. Aggregation   COH             188857980014                Gas           Gov. Aggregation
VEDO         4003977092418496            Gas           Gov. Aggregation   COH             188877660019                Gas           Gov. Aggregation
VEDO         4003980802398586            Gas           Gov. Aggregation   COH             188896400022                Gas           Gov. Aggregation
VEDO         4003980802436048            Gas           Gov. Aggregation   COH             189030680018                Gas           Gov. Aggregation
VEDO         4004043072405346            Gas           Gov. Aggregation   COH             189031050018                Gas           Gov. Aggregation
VEDO         4004048642541925            Gas           Gov. Aggregation   COH             189184120010                Gas           Gov. Aggregation
VEDO         4004056042160825            Gas           Gov. Aggregation   COH             189208760014                Gas           Gov. Aggregation
VEDO         4004063622407604            Gas           Gov. Aggregation   COH             189208780010                Gas           Gov. Aggregation
VEDO         4004096782411202            Gas           Gov. Aggregation   COH             189405870013                Gas           Gov. Aggregation
VEDO         4004113672282719            Gas           Gov. Aggregation   COH             189463370016                Gas           Gov. Aggregation
VEDO         4004260722111605            Gas           Gov. Aggregation   COH             189527780014                Gas           Gov. Aggregation
VEDO         4004261802424893            Gas           Gov. Aggregation   COH             189621510010                Gas           Gov. Aggregation
VEDO         4004264402429492            Gas           Gov. Aggregation   COH             189805810017                Gas           Gov. Aggregation
VEDO         4004280852371670            Gas           Gov. Aggregation   COH             189878620014                Gas           Gov. Aggregation
VEDO         4004285612431808            Gas           Gov. Aggregation   COH             189982090015                Gas           Gov. Aggregation
VEDO         4004292862432673            Gas           Gov. Aggregation   COH             190210350012                Gas           Gov. Aggregation
VEDO         4004385662254550            Gas           Gov. Aggregation   COH             190243890010                Gas           Gov. Aggregation
VEDO         4004391082443362            Gas           Gov. Aggregation   COH             110273600013                Gas           Gov. Aggregation
VEDO         4004395422121429            Gas           Gov. Aggregation   COH             110273670019                Gas           Gov. Aggregation
VEDO         4004404432444853            Gas           Gov. Aggregation   COH             110290970010                Gas           Gov. Aggregation
VEDO         4004412352445746            Gas           Gov. Aggregation   COH             116593390014                Gas           Gov. Aggregation
VEDO         4004447732449583            Gas           Gov. Aggregation   COH             110402880029                Gas           Gov. Aggregation
VEDO         4004562232462212            Gas           Gov. Aggregation   COH             136209750017                Gas           Gov. Aggregation
VEDO         4004562582462260            Gas           Gov. Aggregation   COH             199785750021                Gas           Gov. Aggregation
VEDO         4004563442528463            Gas           Gov. Aggregation   VEDO            4004707792478351            Gas           Gov. Aggregation
VEDO         4004588102465158            Gas           Gov. Aggregation   COH             202007386276                Gas           Gov. Aggregation
VEDO         4004595132200557            Gas           Gov. Aggregation   VEDO            4021230082349034            Gas           Gov. Aggregation
VEDO         4004597722466176            Gas           Gov. Aggregation   VEDO            4017975392283126            Gas           Gov. Aggregation
VEDO         4004658692341221            Gas           Gov. Aggregation   VEDO            4021513312495143            Gas           Gov. Aggregation
VEDO         4004681502475466            Gas           Gov. Aggregation   VEDO            4019942292623258            Gas           Gov. Aggregation
VEDO         4004696362647012            Gas           Gov. Aggregation   VEDO            4019942292633726            Gas           Gov. Aggregation
VEDO         4004713812478991            Gas           Gov. Aggregation   VEDO            4018176412292659            Gas           Gov. Aggregation
VEDO         4004716152406535            Gas           Gov. Aggregation   VEDO            4015605732322530            Gas           Gov. Aggregation
VEDO         4004835942492408            Gas           Gov. Aggregation   VEDO            4001461312338605            Gas           Gov. Aggregation
VEDO         4004839052492747            Gas           Gov. Aggregation   VEDO            4021586442248719            Gas           Gov. Aggregation
VEDO         4004884882181974            Gas           Gov. Aggregation   VEDO            4021587382296126            Gas           Gov. Aggregation
VEDO         4004905642117631            Gas           Gov. Aggregation   VEDO            4017747362321811            Gas           Gov. Aggregation
VEDO         4004967852507090            Gas           Gov. Aggregation   VEDO            4021511922626469            Gas           Gov. Aggregation
VEDO         4005004602511184            Gas           Gov. Aggregation   VEDO            4016601422392279            Gas           Gov. Aggregation
VEDO         4005011352374785            Gas           Gov. Aggregation   COH             150716940032                Gas           Gov. Aggregation
VEDO         4005022582513244            Gas           Gov. Aggregation   COH             144776460160                Gas           Gov. Aggregation
VEDO         4005028502113710            Gas           Gov. Aggregation   COH             198125480063                Gas           Gov. Aggregation
VEDO         4005145532519903            Gas           Gov. Aggregation   COH             205084520017                Gas           Gov. Aggregation
VEDO         4005155482643281            Gas           Gov. Aggregation   COH             164137300010                Gas           Gov. Aggregation
VEDO         4010005692320946            Gas           Gov. Aggregation   COH             164140610027                Gas           Gov. Aggregation
VEDO         4010049072241475            Gas           Gov. Aggregation   COH             164153010026                Gas           Gov. Aggregation
VEDO         4010056182543737            Gas           Gov. Aggregation   VEDO            4004602202466698            Gas           Gov. Aggregation
VEDO         4010106532672469            Gas           Gov. Aggregation   DEO             0442101291259               Gas           Gov. Aggregation
VEDO         4010113602487833            Gas           Gov. Aggregation   VEDO            4017925742134373            Gas           Gov. Aggregation
VEDO         4010121272515044            Gas           Gov. Aggregation   VEDO            4017931772165702            Gas           Gov. Aggregation
VEDO         4015004602288933            Gas           Gov. Aggregation   VEDO            4017935472340923            Gas           Gov. Aggregation
VEDO         4015013092337953            Gas           Gov. Aggregation   VEDO            4017944532274616            Gas           Gov. Aggregation
VEDO         4015084922219979            Gas           Gov. Aggregation   VEDO            4018037152222824            Gas           Gov. Aggregation
VEDO         4015085802204778            Gas           Gov. Aggregation   VEDO            4018042152632625            Gas           Gov. Aggregation
VEDO         4015087722249152            Gas           Gov. Aggregation   VEDO            4018049312442711            Gas           Gov. Aggregation
VEDO         4015096642176250            Gas           Gov. Aggregation   VEDO            4018056562632712            Gas           Gov. Aggregation
VEDO         4015100192114925            Gas           Gov. Aggregation   VEDO            4018063202532379            Gas           Gov. Aggregation
VEDO         4015102942188722            Gas           Gov. Aggregation   VEDO            4018064952254445            Gas           Gov. Aggregation
VEDO         4015107362323228            Gas           Gov. Aggregation   VEDO            4018069652538531            Gas           Gov. Aggregation
VEDO         4015180962264924            Gas           Gov. Aggregation   VEDO            4018076242169119            Gas           Gov. Aggregation
VEDO         4015184522107735            Gas           Gov. Aggregation   VEDO            4018110132370974            Gas           Gov. Aggregation
VEDO         4015199422384227            Gas           Gov. Aggregation   VEDO            4018114562447486            Gas           Gov. Aggregation
VEDO         4015211302106561            Gas           Gov. Aggregation   VEDO            4018122102635063            Gas           Gov. Aggregation
VEDO         4015214152317552            Gas           Gov. Aggregation   VEDO            4018125462205319            Gas           Gov. Aggregation
VEDO         4015233932148839            Gas           Gov. Aggregation   VEDO            4018143212512551            Gas           Gov. Aggregation
VEDO         4015252762305152            Gas           Gov. Aggregation   VEDO            4018207162292029            Gas           Gov. Aggregation
VEDO         4015342292227335            Gas           Gov. Aggregation   VEDO            4018219252351639            Gas           Gov. Aggregation
VEDO         4015343332440688            Gas           Gov. Aggregation   VEDO            4018219252407799            Gas           Gov. Aggregation
VEDO         4015378712234884            Gas           Gov. Aggregation   VEDO            4018224782378551            Gas           Gov. Aggregation
VEDO         4015388762115006            Gas           Gov. Aggregation   VEDO            4018226812215308            Gas           Gov. Aggregation
VEDO         4015391832432355            Gas           Gov. Aggregation   VEDO            4018263272341372            Gas           Gov. Aggregation
VEDO         4015418702371694            Gas           Gov. Aggregation   VEDO            4018270872157287            Gas           Gov. Aggregation
VEDO         4015553322130991            Gas           Gov. Aggregation   VEDO            4018288082632409            Gas           Gov. Aggregation
VEDO         4015566622292234            Gas           Gov. Aggregation   VEDO            4018294852343441            Gas           Gov. Aggregation
VEDO         4015567782538151            Gas           Gov. Aggregation   VEDO            4018321472403502            Gas           Gov. Aggregation
VEDO         4015595162383623            Gas           Gov. Aggregation   VEDO            4018336052239374            Gas           Gov. Aggregation
VEDO         4015599612384508            Gas           Gov. Aggregation   VEDO            4018348102635006            Gas           Gov. Aggregation
VEDO         4015621112643779            Gas           Gov. Aggregation   VEDO            4018383672449045            Gas           Gov. Aggregation
VEDO         4015682522441514            Gas           Gov. Aggregation   VEDO            4018384602455634            Gas           Gov. Aggregation
VEDO         4015685412456636            Gas           Gov. Aggregation   VEDO            4018386992635361            Gas           Gov. Aggregation
VEDO         4015693172550872            Gas           Gov. Aggregation   VEDO            4018392902213459            Gas           Gov. Aggregation
VEDO         4015714262224712            Gas           Gov. Aggregation   VEDO            4018395662432249            Gas           Gov. Aggregation
VEDO         4015758982269299            Gas           Gov. Aggregation   VEDO            4018400492421488            Gas           Gov. Aggregation
VEDO         4015759492160261            Gas           Gov. Aggregation   VEDO            4018440302399382            Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
VEDO         4015760502180448            Gas           Gov. Aggregation   VEDO         4018440502508465            Gas           Gov. Aggregation
VEDO         4015763962460775            Gas           Gov. Aggregation   VEDO         4018445382148807            Gas           Gov. Aggregation
VEDO         4015765752283042            Gas           Gov. Aggregation   VEDO         4018447072378313            Gas           Gov. Aggregation
VEDO         4015802362293798            Gas           Gov. Aggregation   VEDO         4018448292612408            Gas           Gov. Aggregation
VEDO         4015809832281393            Gas           Gov. Aggregation   VEDO         4018449082444759            Gas           Gov. Aggregation
VEDO         4015893302296728            Gas           Gov. Aggregation   VEDO         4018449362110692            Gas           Gov. Aggregation
VEDO         4015896182305411            Gas           Gov. Aggregation   VEDO         4018449792355133            Gas           Gov. Aggregation
VEDO         4015913582605610            Gas           Gov. Aggregation   VEDO         4018450682620139            Gas           Gov. Aggregation
VEDO         4015914522464002            Gas           Gov. Aggregation   VEDO         4018487042214480            Gas           Gov. Aggregation
VEDO         4015935652348009            Gas           Gov. Aggregation   VEDO         4018487242313098            Gas           Gov. Aggregation
VEDO         4016041362455073            Gas           Gov. Aggregation   VEDO         4018487632136891            Gas           Gov. Aggregation
VEDO         4016050202284920            Gas           Gov. Aggregation   VEDO         4018491132524570            Gas           Gov. Aggregation
VEDO         4016076612203014            Gas           Gov. Aggregation   VEDO         4018492962210745            Gas           Gov. Aggregation
VEDO         4016080502610122            Gas           Gov. Aggregation   VEDO         4018493062291961            Gas           Gov. Aggregation
VEDO         4016088722528998            Gas           Gov. Aggregation   VEDO         4018497172186641            Gas           Gov. Aggregation
VEDO         4016099162146464            Gas           Gov. Aggregation   VEDO         4018526182527842            Gas           Gov. Aggregation
VEDO         4016112692585822            Gas           Gov. Aggregation   VEDO         4018533712129486            Gas           Gov. Aggregation
VEDO         4016113132411422            Gas           Gov. Aggregation   VEDO         4018545732510657            Gas           Gov. Aggregation
VEDO         4016244252508906            Gas           Gov. Aggregation   VEDO         4018553182309105            Gas           Gov. Aggregation
VEDO         4016267082258508            Gas           Gov. Aggregation   VEDO         4018555112535531            Gas           Gov. Aggregation
VEDO         4016270242483611            Gas           Gov. Aggregation   VEDO         4018555432500099            Gas           Gov. Aggregation
VEDO         4016270422331010            Gas           Gov. Aggregation   VEDO         4018560932170406            Gas           Gov. Aggregation
VEDO         4016295072176275            Gas           Gov. Aggregation   VEDO         4018599422450866            Gas           Gov. Aggregation
VEDO         4016450722519366            Gas           Gov. Aggregation   VEDO         4018600042223206            Gas           Gov. Aggregation
VEDO         4016454442419250            Gas           Gov. Aggregation   VEDO         4018602822260736            Gas           Gov. Aggregation
VEDO         4016486722635552            Gas           Gov. Aggregation   VEDO         4018604352481292            Gas           Gov. Aggregation
VEDO         4016514832163341            Gas           Gov. Aggregation   VEDO         4018606962496079            Gas           Gov. Aggregation
VEDO         4016520592309552            Gas           Gov. Aggregation   VEDO         4018614492140364            Gas           Gov. Aggregation
VEDO         4016531892375115            Gas           Gov. Aggregation   VEDO         4018624762334815            Gas           Gov. Aggregation
VEDO         4016598152360070            Gas           Gov. Aggregation   VEDO         4018646972336434            Gas           Gov. Aggregation
VEDO         4016599232455113            Gas           Gov. Aggregation   VEDO         4018661142364965            Gas           Gov. Aggregation
VEDO         4016602762327524            Gas           Gov. Aggregation   VEDO         4018661882174826            Gas           Gov. Aggregation
VEDO         4016611952373556            Gas           Gov. Aggregation   VEDO         4018664772443128            Gas           Gov. Aggregation
VEDO         4016612172248046            Gas           Gov. Aggregation   VEDO         4018670572174886            Gas           Gov. Aggregation
VEDO         4016621552531420            Gas           Gov. Aggregation   VEDO         4018745512379880            Gas           Gov. Aggregation
VEDO         4016624312376410            Gas           Gov. Aggregation   VEDO         4018752982343772            Gas           Gov. Aggregation
VEDO         4016699322262017            Gas           Gov. Aggregation   VEDO         4018754232164999            Gas           Gov. Aggregation
VEDO         4016721042610216            Gas           Gov. Aggregation   VEDO         4018758442292905            Gas           Gov. Aggregation
VEDO         4016726052108905            Gas           Gov. Aggregation   VEDO         4018759362398838            Gas           Gov. Aggregation
VEDO         4016729762230128            Gas           Gov. Aggregation   VEDO         4018760322286644            Gas           Gov. Aggregation
VEDO         4016735962434328            Gas           Gov. Aggregation   VEDO         4018790452235320            Gas           Gov. Aggregation
VEDO         4016737592215955            Gas           Gov. Aggregation   VEDO         4018794102412433            Gas           Gov. Aggregation
VEDO         4016738552104544            Gas           Gov. Aggregation   VEDO         4018799362332014            Gas           Gov. Aggregation
VEDO         4016743382360635            Gas           Gov. Aggregation   VEDO         4018806012370554            Gas           Gov. Aggregation
VEDO         4016830672258732            Gas           Gov. Aggregation   VEDO         4018806532187752            Gas           Gov. Aggregation
VEDO         4016830672270730            Gas           Gov. Aggregation   VEDO         4018851052463146            Gas           Gov. Aggregation
VEDO         4016830672531423            Gas           Gov. Aggregation   VEDO         4018861982201200            Gas           Gov. Aggregation
VEDO         4016830672534421            Gas           Gov. Aggregation   VEDO         4018966002312371            Gas           Gov. Aggregation
VEDO         4016830672534422            Gas           Gov. Aggregation   VEDO         4018968252514733            Gas           Gov. Aggregation
VEDO         4016854702602291            Gas           Gov. Aggregation   VEDO         4018968752171083            Gas           Gov. Aggregation
VEDO         4016854702602292            Gas           Gov. Aggregation   VEDO         4018969352107306            Gas           Gov. Aggregation
VEDO         4016867322558815            Gas           Gov. Aggregation   VEDO         4018969382451476            Gas           Gov. Aggregation
VEDO         4016893892498603            Gas           Gov. Aggregation   VEDO         4019026972348853            Gas           Gov. Aggregation
VEDO         4016909702492506            Gas           Gov. Aggregation   VEDO         4019027102313583            Gas           Gov. Aggregation
VEDO         4017021852533373            Gas           Gov. Aggregation   VEDO         4019034512342488            Gas           Gov. Aggregation
VEDO         4017024262367484            Gas           Gov. Aggregation   VEDO         4019035302498396            Gas           Gov. Aggregation
VEDO         4017054612264823            Gas           Gov. Aggregation   VEDO         4019037992384449            Gas           Gov. Aggregation
VEDO         4017073532545457            Gas           Gov. Aggregation   VEDO         4019067802320918            Gas           Gov. Aggregation
VEDO         4017140242278888            Gas           Gov. Aggregation   VEDO         4019070312643547            Gas           Gov. Aggregation
VEDO         4017142652427611            Gas           Gov. Aggregation   VEDO         4019070552173539            Gas           Gov. Aggregation
VEDO         4017159442519235            Gas           Gov. Aggregation   VEDO         4019074102125913            Gas           Gov. Aggregation
VEDO         4017189212672120            Gas           Gov. Aggregation   VEDO         4019075052513535            Gas           Gov. Aggregation
VEDO         4017280172477339            Gas           Gov. Aggregation   VEDO         4019086252106690            Gas           Gov. Aggregation
VEDO         4017288962346823            Gas           Gov. Aggregation   VEDO         4019117892641637            Gas           Gov. Aggregation
VEDO         4017300772308424            Gas           Gov. Aggregation   VEDO         4019119382210408            Gas           Gov. Aggregation
VEDO         4017301342305290            Gas           Gov. Aggregation   VEDO         4019120042643246            Gas           Gov. Aggregation
VEDO         4017301632532535            Gas           Gov. Aggregation   VEDO         4019124272434366            Gas           Gov. Aggregation
VEDO         4017306962349570            Gas           Gov. Aggregation   VEDO         4019126052350582            Gas           Gov. Aggregation
VEDO         4017375062643827            Gas           Gov. Aggregation   VEDO         4019126332629839            Gas           Gov. Aggregation
VEDO         4017408752406719            Gas           Gov. Aggregation   VEDO         4019189812483551            Gas           Gov. Aggregation
VEDO         4017422422467135            Gas           Gov. Aggregation   VEDO         4019195872265595            Gas           Gov. Aggregation
VEDO         4017424412333938            Gas           Gov. Aggregation   VEDO         4019198672478697            Gas           Gov. Aggregation
VEDO         4017478032507062            Gas           Gov. Aggregation   VEDO         4019263492185075            Gas           Gov. Aggregation
VEDO         4017488062441798            Gas           Gov. Aggregation   VEDO         4019263492226855            Gas           Gov. Aggregation
VEDO         4017498002399519            Gas           Gov. Aggregation   VEDO         4019264212153372            Gas           Gov. Aggregation
VEDO         4017504992455422            Gas           Gov. Aggregation   VEDO         4019267462608978            Gas           Gov. Aggregation
VEDO         4017587572462911            Gas           Gov. Aggregation   VEDO         4019269362642644            Gas           Gov. Aggregation
VEDO         4017595492145941            Gas           Gov. Aggregation   VEDO         4019271792455661            Gas           Gov. Aggregation
VEDO         4017598242514484            Gas           Gov. Aggregation   VEDO         4019272552254645            Gas           Gov. Aggregation
VEDO         4017600002164388            Gas           Gov. Aggregation   VEDO         4019272672396203            Gas           Gov. Aggregation
VEDO         4017605642134826            Gas           Gov. Aggregation   VEDO         4019290692193011            Gas           Gov. Aggregation
VEDO         4017608192179669            Gas           Gov. Aggregation   VEDO         4019296232225273            Gas           Gov. Aggregation
VEDO         4017669402229502            Gas           Gov. Aggregation   VEDO         4019298652426885            Gas           Gov. Aggregation
VEDO         4017669952422201            Gas           Gov. Aggregation   VEDO         4019300012297642            Gas           Gov. Aggregation
VEDO         4017683932609986            Gas           Gov. Aggregation   VEDO         4019300902393306            Gas           Gov. Aggregation
VEDO         4017693692274462            Gas           Gov. Aggregation   VEDO         4019306052458656            Gas           Gov. Aggregation
VEDO         4017698712510786            Gas           Gov. Aggregation   VEDO         4019310322641478            Gas           Gov. Aggregation
VEDO         4017702312295869            Gas           Gov. Aggregation   VEDO         4019343842483031            Gas           Gov. Aggregation
VEDO         4017755692502342            Gas           Gov. Aggregation   VEDO         4019346062206066            Gas           Gov. Aggregation
VEDO         4017756632351303            Gas           Gov. Aggregation   VEDO         4019349532445177            Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
VEDO         4017779012165850            Gas           Gov. Aggregation   VEDO         4019354342201787            Gas           Gov. Aggregation
VEDO         4017810892610140            Gas           Gov. Aggregation   VEDO         4019356912222464            Gas           Gov. Aggregation
VEDO         4017822902305531            Gas           Gov. Aggregation   VEDO         4019367642522202            Gas           Gov. Aggregation
VEDO         4017876842302449            Gas           Gov. Aggregation   VEDO         4019367772213502            Gas           Gov. Aggregation
VEDO         4017891772527191            Gas           Gov. Aggregation   VEDO         4019373262503021            Gas           Gov. Aggregation
VEDO         4017899792381043            Gas           Gov. Aggregation   VEDO         4019373592174371            Gas           Gov. Aggregation
VEDO         4017936582245151            Gas           Gov. Aggregation   VEDO         4019375732108077            Gas           Gov. Aggregation
VEDO         4017945742147655            Gas           Gov. Aggregation   VEDO         4019380002600812            Gas           Gov. Aggregation
VEDO         4018025842464617            Gas           Gov. Aggregation   VEDO         4019517752432415            Gas           Gov. Aggregation
VEDO         4018027142442026            Gas           Gov. Aggregation   VEDO         4019518232412975            Gas           Gov. Aggregation
VEDO         4018028672432333            Gas           Gov. Aggregation   VEDO         4019523542377678            Gas           Gov. Aggregation
VEDO         4018058302489033            Gas           Gov. Aggregation   VEDO         4019526112381893            Gas           Gov. Aggregation
VEDO         4018061552405944            Gas           Gov. Aggregation   VEDO         4019742822305334            Gas           Gov. Aggregation
VEDO         4018139492262573            Gas           Gov. Aggregation   VEDO         4019745932261545            Gas           Gov. Aggregation
VEDO         4018153342419914            Gas           Gov. Aggregation   VEDO         4019749142105560            Gas           Gov. Aggregation
VEDO         4018161572353202            Gas           Gov. Aggregation   VEDO         4019749802190213            Gas           Gov. Aggregation
VEDO         4018167562324068            Gas           Gov. Aggregation   VEDO         4019752562140997            Gas           Gov. Aggregation
VEDO         4018167932266309            Gas           Gov. Aggregation   VEDO         4019754502152920            Gas           Gov. Aggregation
VEDO         4018216982435831            Gas           Gov. Aggregation   VEDO         4019770012414357            Gas           Gov. Aggregation
VEDO         4018222012447883            Gas           Gov. Aggregation   VEDO         4019772402424557            Gas           Gov. Aggregation
VEDO         4018229782310985            Gas           Gov. Aggregation   VEDO         4019773452322147            Gas           Gov. Aggregation
VEDO         4018300902111450            Gas           Gov. Aggregation   VEDO         4019773662513548            Gas           Gov. Aggregation
VEDO         4018307202210440            Gas           Gov. Aggregation   VEDO         4019776462671001            Gas           Gov. Aggregation
VEDO         4018311052229377            Gas           Gov. Aggregation   VEDO         4019777972644280            Gas           Gov. Aggregation
VEDO         4018316512486228            Gas           Gov. Aggregation   VEDO         4019778302481997            Gas           Gov. Aggregation
VEDO         4018335192138599            Gas           Gov. Aggregation   VEDO         4019890572257354            Gas           Gov. Aggregation
VEDO         4018338642397349            Gas           Gov. Aggregation   VEDO         4019897072390623            Gas           Gov. Aggregation
VEDO         4018339002506734            Gas           Gov. Aggregation   VEDO         4019900932295492            Gas           Gov. Aggregation
VEDO         4018342552104406            Gas           Gov. Aggregation   VEDO         4019921182197513            Gas           Gov. Aggregation
VEDO         4018390702386670            Gas           Gov. Aggregation   VEDO         4019921862127871            Gas           Gov. Aggregation
VEDO         4018392232403441            Gas           Gov. Aggregation   VEDO         4019922832142299            Gas           Gov. Aggregation
VEDO         4018393562429077            Gas           Gov. Aggregation   VEDO         4019929012178328            Gas           Gov. Aggregation
VEDO         4018411942181264            Gas           Gov. Aggregation   VEDO         4019931472106970            Gas           Gov. Aggregation
VEDO         4018452042440018            Gas           Gov. Aggregation   VEDO         4019953542647731            Gas           Gov. Aggregation
VEDO         4018452382450546            Gas           Gov. Aggregation   VEDO         4019955412352825            Gas           Gov. Aggregation
VEDO         4018453372209407            Gas           Gov. Aggregation   VEDO         4019961202286250            Gas           Gov. Aggregation
VEDO         4018454212192700            Gas           Gov. Aggregation   VEDO         4019964962153300            Gas           Gov. Aggregation
VEDO         4018467642138453            Gas           Gov. Aggregation   VEDO         4019967402586438            Gas           Gov. Aggregation
VEDO         4018471762286231            Gas           Gov. Aggregation   VEDO         4019980902419906            Gas           Gov. Aggregation
VEDO         4018524952180238            Gas           Gov. Aggregation   VEDO         4019981292447893            Gas           Gov. Aggregation
VEDO         4018533282227743            Gas           Gov. Aggregation   VEDO         4019981442349307            Gas           Gov. Aggregation
VEDO         4018543322448798            Gas           Gov. Aggregation   VEDO         4019983292191949            Gas           Gov. Aggregation
VEDO         4018545052195752            Gas           Gov. Aggregation   VEDO         4019985462200537            Gas           Gov. Aggregation
VEDO         4018546192246342            Gas           Gov. Aggregation   VEDO         4019985962253709            Gas           Gov. Aggregation
VEDO         4018555282124215            Gas           Gov. Aggregation   VEDO         4020003182134333            Gas           Gov. Aggregation
VEDO         4018562622499964            Gas           Gov. Aggregation   VEDO         4020005312174046            Gas           Gov. Aggregation
VEDO         4018609412482844            Gas           Gov. Aggregation   VEDO         4020005672175654            Gas           Gov. Aggregation
VEDO         4018618782431514            Gas           Gov. Aggregation   VEDO         4020006462375385            Gas           Gov. Aggregation
VEDO         4018622652393030            Gas           Gov. Aggregation   VEDO         4020020132283346            Gas           Gov. Aggregation
VEDO         4018625602492653            Gas           Gov. Aggregation   VEDO         4020026662639295            Gas           Gov. Aggregation
VEDO         4018630062294153            Gas           Gov. Aggregation   VEDO         4020027162189266            Gas           Gov. Aggregation
VEDO         4018664402108513            Gas           Gov. Aggregation   VEDO         4020030742625750            Gas           Gov. Aggregation
VEDO         4018668672505927            Gas           Gov. Aggregation   VEDO         4020039462336571            Gas           Gov. Aggregation
VEDO         4018668782302004            Gas           Gov. Aggregation   VEDO         4020049002185959            Gas           Gov. Aggregation
VEDO         4018673682513605            Gas           Gov. Aggregation   VEDO         4020049942535046            Gas           Gov. Aggregation
VEDO         4018673822271763            Gas           Gov. Aggregation   VEDO         4020140172351405            Gas           Gov. Aggregation
VEDO         4018717372515779            Gas           Gov. Aggregation   VEDO         4020141062444848            Gas           Gov. Aggregation
VEDO         4018733082422099            Gas           Gov. Aggregation   VEDO         4020143832529402            Gas           Gov. Aggregation
VEDO         4018736922206665            Gas           Gov. Aggregation   VEDO         4020154102503405            Gas           Gov. Aggregation
VEDO         4018772852277610            Gas           Gov. Aggregation   VEDO         4020154552332625            Gas           Gov. Aggregation
VEDO         4018774902459565            Gas           Gov. Aggregation   VEDO         4020157062227101            Gas           Gov. Aggregation
VEDO         4018778412513063            Gas           Gov. Aggregation   VEDO         4020238372280743            Gas           Gov. Aggregation
VEDO         4018800312116939            Gas           Gov. Aggregation   VEDO         4020238912178244            Gas           Gov. Aggregation
VEDO         4018855772330939            Gas           Gov. Aggregation   VEDO         4020246642592064            Gas           Gov. Aggregation
VEDO         4018856172198813            Gas           Gov. Aggregation   VEDO         4020250182290467            Gas           Gov. Aggregation
VEDO         4018878612496185            Gas           Gov. Aggregation   VEDO         4020284262155046            Gas           Gov. Aggregation
VEDO         4018962442258127            Gas           Gov. Aggregation   VEDO         4001002362265570            Gas           Gov. Aggregation
VEDO         4018968502172803            Gas           Gov. Aggregation   VEDO         4001002362648920            Gas           Gov. Aggregation
VEDO         4018970022642261            Gas           Gov. Aggregation   VEDO         4001029352102830            Gas           Gov. Aggregation
VEDO         4018970732391212            Gas           Gov. Aggregation   VEDO         4001029352222356            Gas           Gov. Aggregation
VEDO         4019013812315785            Gas           Gov. Aggregation   VEDO         4001051532104880            Gas           Gov. Aggregation
VEDO         4019018322467573            Gas           Gov. Aggregation   VEDO         4001140292498208            Gas           Gov. Aggregation
VEDO         4019019042629536            Gas           Gov. Aggregation   VEDO         4001164522443193            Gas           Gov. Aggregation
VEDO         4019020262126624            Gas           Gov. Aggregation   VEDO         4001202732473980            Gas           Gov. Aggregation
VEDO         4019024852473141            Gas           Gov. Aggregation   VEDO         4002168752641559            Gas           Gov. Aggregation
VEDO         4019030282643030            Gas           Gov. Aggregation   VEDO         4003001892193167            Gas           Gov. Aggregation
VEDO         4019030612312014            Gas           Gov. Aggregation   VEDO         4003041372476395            Gas           Gov. Aggregation
VEDO         4019033032519500            Gas           Gov. Aggregation   VEDO         4003242532320312            Gas           Gov. Aggregation
VEDO         4019074742109653            Gas           Gov. Aggregation   VEDO         4003243552516291            Gas           Gov. Aggregation
VEDO         4019094452447014            Gas           Gov. Aggregation   VEDO         4003349092519589            Gas           Gov. Aggregation
VEDO         4019095172267115            Gas           Gov. Aggregation   VEDO         4003625932360540            Gas           Gov. Aggregation
VEDO         4019132752645767            Gas           Gov. Aggregation   VEDO         4003745562190675            Gas           Gov. Aggregation
VEDO         4019136612447090            Gas           Gov. Aggregation   VEDO         4003879702387675            Gas           Gov. Aggregation
VEDO         4019142692644292            Gas           Gov. Aggregation   VEDO         4003881562387850            Gas           Gov. Aggregation
VEDO         4019147742423012            Gas           Gov. Aggregation   VEDO         4003993192123574            Gas           Gov. Aggregation
VEDO         4019150482121088            Gas           Gov. Aggregation   VEDO         4004056122644418            Gas           Gov. Aggregation
VEDO         4019159012640766            Gas           Gov. Aggregation   VEDO         4004397162234455            Gas           Gov. Aggregation
VEDO         4019191382441086            Gas           Gov. Aggregation   VEDO         4004518682179028            Gas           Gov. Aggregation
VEDO         4019195212408800            Gas           Gov. Aggregation   VEDO         4004541162583196            Gas           Gov. Aggregation
VEDO         4019200572257220            Gas           Gov. Aggregation   VEDO         4015467182374611            Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4019244392368711            Gas           Gov. Aggregation   VEDO            4015745602361617            Gas           Gov. Aggregation
VEDO         4019244552289107            Gas           Gov. Aggregation   VEDO            4015757082445407            Gas           Gov. Aggregation
VEDO         4019255932531421            Gas           Gov. Aggregation   VEDO            4015800422335006            Gas           Gov. Aggregation
VEDO         4019296212142978            Gas           Gov. Aggregation   VEDO            4015921262475547            Gas           Gov. Aggregation
VEDO         4019296212237027            Gas           Gov. Aggregation   VEDO            4015925852347562            Gas           Gov. Aggregation
VEDO         4019298572306372            Gas           Gov. Aggregation   VEDO            4016045562523923            Gas           Gov. Aggregation
VEDO         4019304402319226            Gas           Gov. Aggregation   VEDO            4016217652140099            Gas           Gov. Aggregation
VEDO         4019308052428762            Gas           Gov. Aggregation   VEDO            4016223992202413            Gas           Gov. Aggregation
VEDO         4019314672456823            Gas           Gov. Aggregation   VEDO            4017323692239958            Gas           Gov. Aggregation
VEDO         4019335682479804            Gas           Gov. Aggregation   VEDO            4017323692315205            Gas           Gov. Aggregation
VEDO         4019344782194049            Gas           Gov. Aggregation   VEDO            4017323692447288            Gas           Gov. Aggregation
VEDO         4019358482369822            Gas           Gov. Aggregation   VEDO            4017330462624879            Gas           Gov. Aggregation
VEDO         4019359812172310            Gas           Gov. Aggregation   VEDO            4017356142388491            Gas           Gov. Aggregation
VEDO         4019360642184582            Gas           Gov. Aggregation   VEDO            4017483772208205            Gas           Gov. Aggregation
VEDO         4019363982405178            Gas           Gov. Aggregation   VEDO            4017932842521098            Gas           Gov. Aggregation
VEDO         4019366822224478            Gas           Gov. Aggregation   VEDO            4017944542630691            Gas           Gov. Aggregation
VEDO         4019373842436946            Gas           Gov. Aggregation   VEDO            4018050072479619            Gas           Gov. Aggregation
VEDO         4019402632515271            Gas           Gov. Aggregation   VEDO            4018075612430755            Gas           Gov. Aggregation
VEDO         4019406762212931            Gas           Gov. Aggregation   VEDO            4018092762550842            Gas           Gov. Aggregation
VEDO         4019410282581970            Gas           Gov. Aggregation   VEDO            4018103232410114            Gas           Gov. Aggregation
VEDO         4019456562205612            Gas           Gov. Aggregation   VEDO            4018442302273304            Gas           Gov. Aggregation
VEDO         4019456592299433            Gas           Gov. Aggregation   VEDO            4018530912120938            Gas           Gov. Aggregation
VEDO         4019457452604162            Gas           Gov. Aggregation   VEDO            4018560422417849            Gas           Gov. Aggregation
VEDO         4019460032647911            Gas           Gov. Aggregation   VEDO            4018568232224157            Gas           Gov. Aggregation
VEDO         4019460092225189            Gas           Gov. Aggregation   VEDO            4018574112606757            Gas           Gov. Aggregation
VEDO         4019482342108567            Gas           Gov. Aggregation   VEDO            4018626252218166            Gas           Gov. Aggregation
VEDO         4019482932334126            Gas           Gov. Aggregation   VEDO            4018672942313825            Gas           Gov. Aggregation
VEDO         4019491382169681            Gas           Gov. Aggregation   VEDO            4019146332340004            Gas           Gov. Aggregation
VEDO         4019516782267325            Gas           Gov. Aggregation   VEDO            4019158352596706            Gas           Gov. Aggregation
VEDO         4019517732491645            Gas           Gov. Aggregation   VEDO            4019197342219598            Gas           Gov. Aggregation
VEDO         4019519752295894            Gas           Gov. Aggregation   VEDO            4019202422629266            Gas           Gov. Aggregation
VEDO         4019524062648836            Gas           Gov. Aggregation   VEDO            4019308132376058            Gas           Gov. Aggregation
VEDO         4019526422411892            Gas           Gov. Aggregation   VEDO            4019514202519040            Gas           Gov. Aggregation
VEDO         4019526482254686            Gas           Gov. Aggregation   VEDO            4019514872513943            Gas           Gov. Aggregation
VEDO         4019738712364736            Gas           Gov. Aggregation   VEDO            4019760812494340            Gas           Gov. Aggregation
VEDO         4019742722512203            Gas           Gov. Aggregation   VEDO            4019812052482148            Gas           Gov. Aggregation
VEDO         4019747132247382            Gas           Gov. Aggregation   VEDO            4019943342244589            Gas           Gov. Aggregation
VEDO         4019748562425751            Gas           Gov. Aggregation   VEDO            4019978032194400            Gas           Gov. Aggregation
VEDO         4019748712139638            Gas           Gov. Aggregation   VEDO            4020058162379217            Gas           Gov. Aggregation
VEDO         4019774292479870            Gas           Gov. Aggregation   VEDO            4020058322629902            Gas           Gov. Aggregation
VEDO         4019779302501097            Gas           Gov. Aggregation   VEDO            4020058782361237            Gas           Gov. Aggregation
VEDO         4019780152514148            Gas           Gov. Aggregation   VEDO            4020064042146101            Gas           Gov. Aggregation
VEDO         4019806232364021            Gas           Gov. Aggregation   VEDO            4020066002460241            Gas           Gov. Aggregation
VEDO         4019809592194418            Gas           Gov. Aggregation   VEDO            4020858592676483            Gas           Gov. Aggregation
VEDO         4019810142509934            Gas           Gov. Aggregation   VEDO            4003819652610482            Gas           Gov. Aggregation
VEDO         4019813882160770            Gas           Gov. Aggregation   VEDO            4001697782629497            Gas           Gov. Aggregation
VEDO         4019819362480967            Gas           Gov. Aggregation   VEDO            4004756002674402            Gas           Gov. Aggregation
VEDO         4019824752398707            Gas           Gov. Aggregation   VEDO            4016400412241553            Gas           Gov. Aggregation
VEDO         4019826982108953            Gas           Gov. Aggregation   VEDO            4016443232647389            Gas           Gov. Aggregation
VEDO         4019848042498013            Gas           Gov. Aggregation   VEDO            4010057732591345            Gas           Gov. Aggregation
VEDO         4019853362593474            Gas           Gov. Aggregation   VEDO            4020309812606115            Gas           Gov. Aggregation
VEDO         4019853362603345            Gas           Gov. Aggregation   VEDO            4015913582676374            Gas           Gov. Aggregation
VEDO         4019854692457882            Gas           Gov. Aggregation   VEDO            4020321072675799            Gas           Gov. Aggregation
VEDO         4019855242243093            Gas           Gov. Aggregation   COH             131242780016                Gas           Gov. Aggregation
VEDO         4019860752675245            Gas           Gov. Aggregation   COH             131402110016                Gas           Gov. Aggregation
VEDO         4019872942121170            Gas           Gov. Aggregation   COH             133712730026                Gas           Gov. Aggregation
VEDO         4019874832395400            Gas           Gov. Aggregation   COH             133792830018                Gas           Gov. Aggregation
VEDO         4019882462442774            Gas           Gov. Aggregation   COH             133965210020                Gas           Gov. Aggregation
VEDO         4019885192671601            Gas           Gov. Aggregation   COH             135305580010                Gas           Gov. Aggregation
VEDO         4019886342194542            Gas           Gov. Aggregation   VEDO            4018071842563474            Gas           Gov. Aggregation
VEDO         4019895232126257            Gas           Gov. Aggregation   VEDO            4020089112553520            Gas           Gov. Aggregation
VEDO         4019895702473528            Gas           Gov. Aggregation   VEDO            4017905062673651            Gas           Gov. Aggregation
VEDO         4019911972240171            Gas           Gov. Aggregation   VEDO            4019536062231520            Gas           Gov. Aggregation
VEDO         4019963432401629            Gas           Gov. Aggregation   VEDO            4020786402527540            Gas           Gov. Aggregation
VEDO         4019971602397953            Gas           Gov. Aggregation   VEDO            4018337322171967            Gas           Gov. Aggregation
VEDO         4020015202274974            Gas           Gov. Aggregation   VEDO            4020863262481551            Gas           Gov. Aggregation
VEDO         4020077122605994            Gas           Gov. Aggregation   VEDO            4019241092453845            Gas           Gov. Aggregation
VEDO         4020077742577298            Gas           Gov. Aggregation   VEDO            4019324602612259            Gas           Gov. Aggregation
VEDO         4020083352205234            Gas           Gov. Aggregation   VEDO            4020866662519225            Gas           Gov. Aggregation
VEDO         4020084602431276            Gas           Gov. Aggregation   VEDO            4020900692367950            Gas           Gov. Aggregation
VEDO         4020103942458461            Gas           Gov. Aggregation   VEDO            4020855472625701            Gas           Gov. Aggregation
VEDO         4020106272514256            Gas           Gov. Aggregation   VEDO            4003129742326657            Gas           Gov. Aggregation
VEDO         4020106762315292            Gas           Gov. Aggregation   VEDO            4016061332177818            Gas           Gov. Aggregation
VEDO         4020107192674389            Gas           Gov. Aggregation   VEDO            4018439752645483            Gas           Gov. Aggregation
VEDO         4020107322533371            Gas           Gov. Aggregation   VEDO            4017859462237106            Gas           Gov. Aggregation
VEDO         4020112952195231            Gas           Gov. Aggregation   VEDO            4017029432105038            Gas           Gov. Aggregation
VEDO         4020153272381790            Gas           Gov. Aggregation   VEDO            4020101762141664            Gas           Gov. Aggregation
VEDO         4020154662387022            Gas           Gov. Aggregation   VEDO            4015336532392726            Gas           Gov. Aggregation
VEDO         4020174512311319            Gas           Gov. Aggregation   VEDO            4001061652193661            Gas           Gov. Aggregation
VEDO         4020176742240527            Gas           Gov. Aggregation   VEDO            4016217732305414            Gas           Gov. Aggregation
VEDO         4020178372389669            Gas           Gov. Aggregation   VEDO            4016716262481128            Gas           Gov. Aggregation
VEDO         4020199372176550            Gas           Gov. Aggregation   VEDO            4019921852176998            Gas           Gov. Aggregation
VEDO         4020199682675394            Gas           Gov. Aggregation   VEDO            4019324072185313            Gas           Gov. Aggregation
VEDO         4020201692373988            Gas           Gov. Aggregation   VEDO            4018994022459173            Gas           Gov. Aggregation
VEDO         4020202912495099            Gas           Gov. Aggregation   VEDO            4020321772245848            Gas           Gov. Aggregation
VEDO         4020225172314351            Gas           Gov. Aggregation   VEDO            4020787232336005            Gas           Gov. Aggregation
VEDO         4020225252261716            Gas           Gov. Aggregation   VEDO            4001758532171586            Gas           Gov. Aggregation
VEDO         4020226542473604            Gas           Gov. Aggregation   VEDO            4002491712294809            Gas           Gov. Aggregation
VEDO         4020241032407759            Gas           Gov. Aggregation   VEDO            4015560072188427            Gas           Gov. Aggregation
VEDO         4020244582268070            Gas           Gov. Aggregation   VEDO            4004433632302478            Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
VEDO         4020245102143686            Gas           Gov. Aggregation   VEDO         4003890952388907            Gas           Gov. Aggregation
VEDO         4020260302379961            Gas           Gov. Aggregation   VEDO         4016553782306429            Gas           Gov. Aggregation
VEDO         4020262912285217            Gas           Gov. Aggregation   VEDO         4019825502438069            Gas           Gov. Aggregation
VEDO         4020273722355464            Gas           Gov. Aggregation   VEDO         4019801432168036            Gas           Gov. Aggregation
VEDO         4020274192496873            Gas           Gov. Aggregation   VEDO         4018027922142918            Gas           Gov. Aggregation
VEDO         4020274952467230            Gas           Gov. Aggregation   VEDO         4017420342154208            Gas           Gov. Aggregation
VEDO         4020275142419195            Gas           Gov. Aggregation   VEDO         4017582892379497            Gas           Gov. Aggregation
VEDO         4020280032210672            Gas           Gov. Aggregation   VEDO         4020041642361849            Gas           Gov. Aggregation
VEDO         4018511082140519            Gas           Gov. Aggregation   VEDO         4019161482344319            Gas           Gov. Aggregation
VEDO         4020852062466797            Gas           Gov. Aggregation   VEDO         4019994172458622            Gas           Gov. Aggregation
VEDO         4003599322357743            Gas           Gov. Aggregation   VEDO         4004749292482848            Gas           Gov. Aggregation
VEDO         4019169242526393            Gas           Gov. Aggregation   VEDO         4003701942368546            Gas           Gov. Aggregation
VEDO         4002007812609462            Gas           Gov. Aggregation   VEDO         4002939102582987            Gas           Gov. Aggregation
VEDO         4020841082169359            Gas           Gov. Aggregation   VEDO         4003347222331201            Gas           Gov. Aggregation
VEDO         4019887172285455            Gas           Gov. Aggregation   VEDO         4020795332460922            Gas           Gov. Aggregation
VEDO         4003656332363738            Gas           Gov. Aggregation   VEDO         4020322902398006            Gas           Gov. Aggregation
VEDO         4001348472132660            Gas           Gov. Aggregation   VEDO         4020892972502116            Gas           Gov. Aggregation
VEDO         4020295212153278            Gas           Gov. Aggregation   VEDO         4018049192371830            Gas           Gov. Aggregation
VEDO         4020841242242887            Gas           Gov. Aggregation   VEDO         4019400512441579            Gas           Gov. Aggregation
VEDO         4020841242400048            Gas           Gov. Aggregation   VEDO         4017663192314177            Gas           Gov. Aggregation
VEDO         4017172272252036            Gas           Gov. Aggregation   VEDO         4018200302388976            Gas           Gov. Aggregation
VEDO         4020881632123254            Gas           Gov. Aggregation   VEDO         4019367302347839            Gas           Gov. Aggregation
VEDO         4020800762390174            Gas           Gov. Aggregation   VEDO         4020908002202784            Gas           Gov. Aggregation
VEDO         4019146202311061            Gas           Gov. Aggregation   VEDO         4018568342498209            Gas           Gov. Aggregation
VEDO         4001544012328124            Gas           Gov. Aggregation   VEDO         4017927202166037            Gas           Gov. Aggregation
VEDO         4004938112419243            Gas           Gov. Aggregation   VEDO         4019952702302654            Gas           Gov. Aggregation
VEDO         4002328202100755            Gas           Gov. Aggregation   VEDO         4016608902139024            Gas           Gov. Aggregation
VEDO         4001842072327394            Gas           Gov. Aggregation   VEDO         4004592932431825            Gas           Gov. Aggregation
VEDO         4003289562325115            Gas           Gov. Aggregation   VEDO         4019281922184260            Gas           Gov. Aggregation
VEDO         4020788282676956            Gas           Gov. Aggregation   VEDO         4020321212676679            Gas           Gov. Aggregation
VEDO         4018489462484718            Gas           Gov. Aggregation   VEDO         4017727172551972            Gas           Gov. Aggregation
VEDO         4020841952236138            Gas           Gov. Aggregation   VEDO         4018819492356076            Gas           Gov. Aggregation
VEDO         4020894402635066            Gas           Gov. Aggregation   VEDO         4002829472277948            Gas           Gov. Aggregation
VEDO         4017917322209669            Gas           Gov. Aggregation   VEDO         4004179072420188            Gas           Gov. Aggregation
VEDO         4002325092379784            Gas           Gov. Aggregation   VEDO         4020892042134947            Gas           Gov. Aggregation
VEDO         4015255602375000            Gas           Gov. Aggregation   VEDO         4020878082167181            Gas           Gov. Aggregation
VEDO         4019105582409100            Gas           Gov. Aggregation   VEDO         4020897762296442            Gas           Gov. Aggregation
VEDO         4018149962402900            Gas           Gov. Aggregation   VEDO         4019743432224069            Gas           Gov. Aggregation
VEDO         4001833952189359            Gas           Gov. Aggregation   VEDO         4020335192423221            Gas           Gov. Aggregation
VEDO         4004973442245043            Gas           Gov. Aggregation   VEDO         4018969122182385            Gas           Gov. Aggregation
VEDO         4015579562476007            Gas           Gov. Aggregation   VEDO         4003810782144818            Gas           Gov. Aggregation
VEDO         4020324452676718            Gas           Gov. Aggregation   VEDO         4003021562505098            Gas           Gov. Aggregation
VEDO         4020334942197146            Gas           Gov. Aggregation   VEDO         4019870252292570            Gas           Gov. Aggregation
VEDO         4020166612365444            Gas           Gov. Aggregation   VEDO         4020174342167386            Gas           Gov. Aggregation
VEDO         4019951722500382            Gas           Gov. Aggregation   VEDO         4020331842265410            Gas           Gov. Aggregation
VEDO         4016967642385166            Gas           Gov. Aggregation   VEDO         4020302402448386            Gas           Gov. Aggregation
VEDO         4003932082393418            Gas           Gov. Aggregation   VEDO         4019378662676337            Gas           Gov. Aggregation
VEDO         4016641622396372            Gas           Gov. Aggregation   VEDO         4020793982505211            Gas           Gov. Aggregation
VEDO         4018829882197522            Gas           Gov. Aggregation   VEDO         4017381082423998            Gas           Gov. Aggregation
VEDO         4002810482228133            Gas           Gov. Aggregation   VEDO         4017990762210752            Gas           Gov. Aggregation
VEDO         4020850152276418            Gas           Gov. Aggregation   VEDO         4019494542279509            Gas           Gov. Aggregation
VEDO         4019495472330267            Gas           Gov. Aggregation   VEDO         4018874382140796            Gas           Gov. Aggregation
VEDO         4017445242401932            Gas           Gov. Aggregation   VEDO         4015601872278814            Gas           Gov. Aggregation
VEDO         4020882652270733            Gas           Gov. Aggregation   VEDO         4018717922428432            Gas           Gov. Aggregation
VEDO         4019525042394287            Gas           Gov. Aggregation   VEDO         4015058182276119            Gas           Gov. Aggregation
VEDO         4020785132322171            Gas           Gov. Aggregation   VEDO         4015083372475823            Gas           Gov. Aggregation
VEDO         4019904892347683            Gas           Gov. Aggregation   VEDO         4004355282439473            Gas           Gov. Aggregation
VEDO         4015021192118785            Gas           Gov. Aggregation   VEDO         4019186652291486            Gas           Gov. Aggregation
VEDO         4020869532677089            Gas           Gov. Aggregation   VEDO         4018181462241672            Gas           Gov. Aggregation
VEDO         4020322822419820            Gas           Gov. Aggregation   VEDO         4020012692486817            Gas           Gov. Aggregation
VEDO         4002438802324093            Gas           Gov. Aggregation   VEDO         4016744822191522            Gas           Gov. Aggregation
VEDO         4019479332361908            Gas           Gov. Aggregation   VEDO         4017748632210780            Gas           Gov. Aggregation
VEDO         4020844202414418            Gas           Gov. Aggregation   VEDO         4003010812285790            Gas           Gov. Aggregation
VEDO         4020323012202856            Gas           Gov. Aggregation   VEDO         4001514482131994            Gas           Gov. Aggregation
VEDO         4016318042163173            Gas           Gov. Aggregation   VEDO         4019482252193476            Gas           Gov. Aggregation
VEDO         4019117572296702            Gas           Gov. Aggregation   VEDO         4020251252637453            Gas           Gov. Aggregation
VEDO         4020786342378254            Gas           Gov. Aggregation   VEDO         4018131282289309            Gas           Gov. Aggregation
VEDO         4020803142328569            Gas           Gov. Aggregation   VEDO         4019762202284154            Gas           Gov. Aggregation
VEDO         4020899642282410            Gas           Gov. Aggregation   VEDO         4019183542220474            Gas           Gov. Aggregation
VEDO         4019502842386325            Gas           Gov. Aggregation   VEDO         4019918032265786            Gas           Gov. Aggregation
VEDO         4020891162460761            Gas           Gov. Aggregation   VEDO         4020832082320309            Gas           Gov. Aggregation
VEDO         4020895112380446            Gas           Gov. Aggregation   VEDO         4020843142228894            Gas           Gov. Aggregation
VEDO         4018634202354748            Gas           Gov. Aggregation   VEDO         4020799982212450            Gas           Gov. Aggregation
VEDO         4017922192396066            Gas           Gov. Aggregation   VEDO         4020336132237882            Gas           Gov. Aggregation
VEDO         4017219712148840            Gas           Gov. Aggregation   VEDO         4020288272189369            Gas           Gov. Aggregation
VEDO         4003230192318998            Gas           Gov. Aggregation   VEDO         4020298542210955            Gas           Gov. Aggregation
VEDO         4002731852199892            Gas           Gov. Aggregation   VEDO         4016158202277595            Gas           Gov. Aggregation
VEDO         4016334932479609            Gas           Gov. Aggregation   VEDO         4004810602489584            Gas           Gov. Aggregation
VEDO         4016393352144819            Gas           Gov. Aggregation   VEDO         4018443592101828            Gas           Gov. Aggregation
VEDO         4015351472303323            Gas           Gov. Aggregation   VEDO         4016655102340499            Gas           Gov. Aggregation
VEDO         4018041822524292            Gas           Gov. Aggregation   VEDO         4017709742205431            Gas           Gov. Aggregation
VEDO         4019385282187207            Gas           Gov. Aggregation   VEDO         4001937952246822            Gas           Gov. Aggregation
VEDO         4020883362513678            Gas           Gov. Aggregation   VEDO         4015934182494084            Gas           Gov. Aggregation
VEDO         4019900742465635            Gas           Gov. Aggregation   VEDO         4020088032286685            Gas           Gov. Aggregation
VEDO         4020789102448941            Gas           Gov. Aggregation   VEDO         4020319032111648            Gas           Gov. Aggregation
VEDO         4020137862240453            Gas           Gov. Aggregation   VEDO         4001118472111246            Gas           Gov. Aggregation
VEDO         4018975052326907            Gas           Gov. Aggregation   VEDO         4019243882150029            Gas           Gov. Aggregation
VEDO         4020871452489648            Gas           Gov. Aggregation   VEDO         4003266022489624            Gas           Gov. Aggregation
VEDO         4004574882463673            Gas           Gov. Aggregation   VEDO         4018759192351786            Gas           Gov. Aggregation
VEDO         4003696402226361            Gas           Gov. Aggregation   VEDO         4020295862113591            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4002956432478564            Gas           Gov. Aggregation   VEDO            4003027042109463            Gas           Gov. Aggregation
VEDO            4020908932193312            Gas           Gov. Aggregation   VEDO            4015758362241343            Gas           Gov. Aggregation
VEDO            4020070512276102            Gas           Gov. Aggregation   VEDO            4020302412480977            Gas           Gov. Aggregation
VEDO            4020321532610100            Gas           Gov. Aggregation   VEDO            4019044122256832            Gas           Gov. Aggregation
VEDO            4020293572610120            Gas           Gov. Aggregation   VEDO            4017947082351905            Gas           Gov. Aggregation
VEDO            4019196672610105            Gas           Gov. Aggregation   VEDO            4019188602427039            Gas           Gov. Aggregation
VEDO            4017679632677542            Gas           Gov. Aggregation   VEDO            4020882162204258            Gas           Gov. Aggregation
DEO             8180002469657               Gas           Gov. Aggregation   COH             177124990018                Gas           Gov. Aggregation
DEO             5180004269029               Gas           Gov. Aggregation   COH             174296440031                Gas           Gov. Aggregation
DEO             0180007094704               Gas           Gov. Aggregation   COH             209868550015                Gas           Gov. Aggregation
DEO             5180004268990               Gas           Gov. Aggregation   COH             175381970038                Gas           Gov. Aggregation
DEO             0180006397428               Gas           Gov. Aggregation   COH             175381970047                Gas           Gov. Aggregation
DEO             2500043377989               Gas           Gov. Aggregation   COH             145440950014                Gas           Gov. Aggregation
DEO             5180008879594               Gas           Gov. Aggregation   COH             206443950014                Gas           Gov. Aggregation
DEO             8442000552105               Gas           Gov. Aggregation   COH             206443950032                Gas           Gov. Aggregation
DEO             2180008582298               Gas           Gov. Aggregation   COH             196882210076                Gas           Gov. Aggregation
DEO             6500062616606               Gas           Gov. Aggregation   COH             196735590014                Gas           Gov. Aggregation
DEO             9500052126016               Gas           Gov. Aggregation   COH             206793450027                Gas           Gov. Aggregation
DEO             5180002869537               Gas           Gov. Aggregation   VEDO            4021455602592157            Gas           Gov. Aggregation
DEO             3500066252646               Gas           Gov. Aggregation   VEDO            4021554892592153            Gas           Gov. Aggregation
DEO             3500067157460               Gas           Gov. Aggregation   VEDO            4021581602592158            Gas           Gov. Aggregation
DEO             3500051626587               Gas           Gov. Aggregation   VEDO            4021589702592215            Gas           Gov. Aggregation
DEO             8180008996360               Gas           Gov. Aggregation   VEDO            4021489472592214            Gas           Gov. Aggregation
DEO             2500014589560               Gas           Gov. Aggregation   VEDO            4021523762484999            Gas           Gov. Aggregation
DEO             3180004270105               Gas           Gov. Aggregation   VEDO            4020058242157904            Gas           Gov. Aggregation
DEO             5500044752985               Gas           Gov. Aggregation   VEDO            4021436002295350            Gas           Gov. Aggregation
DEO             6500038121014               Gas           Gov. Aggregation   VEDO            4021529072488778            Gas           Gov. Aggregation
DEO             6500063003958               Gas           Gov. Aggregation   VEDO            4018062042512985            Gas           Gov. Aggregation
DEO             8500053625390               Gas           Gov. Aggregation   VEDO            4018121912524324            Gas           Gov. Aggregation
DEO             7180008382330               Gas           Gov. Aggregation   VEDO            4021471132294425            Gas           Gov. Aggregation
DEO             0500050000428               Gas           Gov. Aggregation   VEDO            4021503772304799            Gas           Gov. Aggregation
DEO             1500061651382               Gas           Gov. Aggregation   VEDO            4003666412598455            Gas           Gov. Aggregation
DEO             8180008598619               Gas           Gov. Aggregation   VEDO            4021548142587291            Gas           Gov. Aggregation
DEO             4500045614779               Gas           Gov. Aggregation   VEDO            4021581232587289            Gas           Gov. Aggregation
DEO             9180008689409               Gas           Gov. Aggregation   VEDO            4021609202587284            Gas           Gov. Aggregation
DEO             4442004984886               Gas           Gov. Aggregation   VEDO            4018588102598517            Gas           Gov. Aggregation
DEO             7500052724242               Gas           Gov. Aggregation   VEDO            4021524672598524            Gas           Gov. Aggregation
DEO             2500021856780               Gas           Gov. Aggregation   VEDO            4021599482231076            Gas           Gov. Aggregation
DEO             8442100517265               Gas           Gov. Aggregation   VEDO            4021505522196871            Gas           Gov. Aggregation
DEO             8442106168242               Gas           Gov. Aggregation   VEDO            4020092022168689            Gas           Gov. Aggregation
DEO             8500064027698               Gas           Gov. Aggregation   VEDO            4021594022243830            Gas           Gov. Aggregation
DEO             9180003878497               Gas           Gov. Aggregation   VEDO            4021605442513901            Gas           Gov. Aggregation
DEO             6180001267281               Gas           Gov. Aggregation   VEDO            4004226672194077            Gas           Gov. Aggregation
DEO             5500040931779               Gas           Gov. Aggregation   VEDO            4021109962587243            Gas           Gov. Aggregation
DEO             6180008600574               Gas           Gov. Aggregation   VEDO            4021515722587239            Gas           Gov. Aggregation
DEO             8180009200997               Gas           Gov. Aggregation   VEDO            4021534542587240            Gas           Gov. Aggregation
DEO             9500049007168               Gas           Gov. Aggregation   VEDO            4021546732587241            Gas           Gov. Aggregation
DEO             9180005276092               Gas           Gov. Aggregation   VEDO            4018387882617644            Gas           Gov. Aggregation
DEO             5500035753265               Gas           Gov. Aggregation   VEDO            4019507182617642            Gas           Gov. Aggregation
DEO             5442107857926               Gas           Gov. Aggregation   VEDO            4021427322617639            Gas           Gov. Aggregation
DEO             5442100549421               Gas           Gov. Aggregation   VEDO            4021536082624143            Gas           Gov. Aggregation
DEO             5442105388544               Gas           Gov. Aggregation   VEDO            4021580262624127            Gas           Gov. Aggregation
DEO             6180005404796               Gas           Gov. Aggregation   VEDO            4001613322626462            Gas           Gov. Aggregation
DEO             5500064122575               Gas           Gov. Aggregation   VEDO            4021606142626432            Gas           Gov. Aggregation
DEO             6500021079564               Gas           Gov. Aggregation   VEDO            4021441052626435            Gas           Gov. Aggregation
DEO             6500044427631               Gas           Gov. Aggregation   VEDO            4021268962626436            Gas           Gov. Aggregation
DEO             6442105055308               Gas           Gov. Aggregation   VEDO            4021564442587274            Gas           Gov. Aggregation
DEO             6500047010647               Gas           Gov. Aggregation   VEDO            4021564892587278            Gas           Gov. Aggregation
DEO             6180006111776               Gas           Gov. Aggregation   VEDO            4021587262587263            Gas           Gov. Aggregation
DEO             6180006670797               Gas           Gov. Aggregation   VEDO            4021491182587273            Gas           Gov. Aggregation
DEO             1500035609027               Gas           Gov. Aggregation   VEDO            4020068492584173            Gas           Gov. Aggregation
DEO             2500065655109               Gas           Gov. Aggregation   VEDO            4021597602598537            Gas           Gov. Aggregation
DEO             3180006949992               Gas           Gov. Aggregation   VEDO            4021458472587255            Gas           Gov. Aggregation
DEO             4180009011815               Gas           Gov. Aggregation   VEDO            4004185212625609            Gas           Gov. Aggregation
DEO             7180008431696               Gas           Gov. Aggregation   VEDO            4021590512625615            Gas           Gov. Aggregation
DEO             8180004492771               Gas           Gov. Aggregation   VEDO            4021507032418047            Gas           Gov. Aggregation
DEO             6500023747969               Gas           Gov. Aggregation   VEDO            4018120672431214            Gas           Gov. Aggregation
DEO             9500043668995               Gas           Gov. Aggregation   VEDO            4021011352321360            Gas           Gov. Aggregation
DEO             1500044050679               Gas           Gov. Aggregation   VEDO            4017838932396508            Gas           Gov. Aggregation
DEO             7180005775058               Gas           Gov. Aggregation   VEDO            4021452552154187            Gas           Gov. Aggregation
DEO             7180001152135               Gas           Gov. Aggregation   VEDO            4016597102241184            Gas           Gov. Aggregation
DEO             5180005640109               Gas           Gov. Aggregation   VEDO            4016177412356177            Gas           Gov. Aggregation
DEO             2500064847246               Gas           Gov. Aggregation   VEDO            4021444262475342            Gas           Gov. Aggregation
DEO             2180001465525               Gas           Gov. Aggregation   VEDO            4020134202493619            Gas           Gov. Aggregation
DEO             0500041522312               Gas           Gov. Aggregation   VEDO            4021527092413092            Gas           Gov. Aggregation
DEO             1180002104546               Gas           Gov. Aggregation   VEDO            4021532912383316            Gas           Gov. Aggregation
DEO             1180002834281               Gas           Gov. Aggregation   VEDO            4020140212448703            Gas           Gov. Aggregation
DEO             0500065325621               Gas           Gov. Aggregation   VEDO            4019395272286487            Gas           Gov. Aggregation
DEO             1180005553848               Gas           Gov. Aggregation   VEDO            4019188992307842            Gas           Gov. Aggregation
DEO             1180004839589               Gas           Gov. Aggregation   VEDO            4004327192336043            Gas           Gov. Aggregation
DEO             2180006939151               Gas           Gov. Aggregation   VEDO            4018836892491700            Gas           Gov. Aggregation
DEO             8180004655669               Gas           Gov. Aggregation   VEDO            4021557082265870            Gas           Gov. Aggregation
DEO             8180003772869               Gas           Gov. Aggregation   VEDO            4015087862161705            Gas           Gov. Aggregation
DEO             7500033964092               Gas           Gov. Aggregation   VEDO            4016990802270459            Gas           Gov. Aggregation
DEO             7500048188523               Gas           Gov. Aggregation   VEDO            4017312532275760            Gas           Gov. Aggregation
DEO             7500062137850               Gas           Gov. Aggregation   VEDO            4016781012369186            Gas           Gov. Aggregation
DEO             4500064290503               Gas           Gov. Aggregation   VEDO            4004571792406675            Gas           Gov. Aggregation
DEO             5180003179811               Gas           Gov. Aggregation   VEDO            4018911152306803            Gas           Gov. Aggregation
DEO             4180006506481               Gas           Gov. Aggregation   VEDO            4021555992529113            Gas           Gov. Aggregation
DEO             4180008405583               Gas           Gov. Aggregation   VEDO            4021482532680279            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
DEO             4500048068196               Gas           Gov. Aggregation   VEDO         4021549852529605            Gas           Gov. Aggregation
DEO             3442106689816               Gas           Gov. Aggregation   VEDO         4015839972261866            Gas           Gov. Aggregation
DEO             3442101269810               Gas           Gov. Aggregation   VEDO         4021425102676012            Gas           Gov. Aggregation
DEO             4180004523398               Gas           Gov. Aggregation   VEDO         4021461702677289            Gas           Gov. Aggregation
DEO             4180004013959               Gas           Gov. Aggregation   VEDO         4019124462685410            Gas           Gov. Aggregation
DEO             3500065325886               Gas           Gov. Aggregation   VEDO         4021456222685692            Gas           Gov. Aggregation
DEO             2500066002280               Gas           Gov. Aggregation   VEDO         4021554842685730            Gas           Gov. Aggregation
DEO             3180003612602               Gas           Gov. Aggregation   VEDO         4015687522537786            Gas           Gov. Aggregation
DEO             3180003639083               Gas           Gov. Aggregation   VEDO         4018969152590595            Gas           Gov. Aggregation
DEO             1500040969978               Gas           Gov. Aggregation   VEDO         4019457182598784            Gas           Gov. Aggregation
DEO             1500055430471               Gas           Gov. Aggregation   VEDO         4021434092648586            Gas           Gov. Aggregation
DEO             1500055545306               Gas           Gov. Aggregation   VEDO         4021440632625293            Gas           Gov. Aggregation
DEO             2180000237000               Gas           Gov. Aggregation   VEDO         4021443252617975            Gas           Gov. Aggregation
DEO             1500067666858               Gas           Gov. Aggregation   VEDO         4021589752263858            Gas           Gov. Aggregation
DEO             1500066481840               Gas           Gov. Aggregation   VEDO         4015026882506117            Gas           Gov. Aggregation
DEO             1500065149464               Gas           Gov. Aggregation   VEDO         4021544282526868            Gas           Gov. Aggregation
DEO             2180005003497               Gas           Gov. Aggregation   VEDO         4019957912156932            Gas           Gov. Aggregation
DEO             2180009405410               Gas           Gov. Aggregation   VEDO         4016138832320697            Gas           Gov. Aggregation
DEO             2500012571842               Gas           Gov. Aggregation   VEDO         4020909962295181            Gas           Gov. Aggregation
DEO             2500050736455               Gas           Gov. Aggregation   VEDO         4020321442496727            Gas           Gov. Aggregation
DEO             0180002503509               Gas           Gov. Aggregation   VEDO         4017934992630144            Gas           Gov. Aggregation
DEO             0180005357540               Gas           Gov. Aggregation   VEDO         4018179112627698            Gas           Gov. Aggregation
DEO             0180005489734               Gas           Gov. Aggregation   VEDO         4020178532628460            Gas           Gov. Aggregation
DEO             0500052123300               Gas           Gov. Aggregation   VEDO         4021493562629817            Gas           Gov. Aggregation
DEO             0500041371813               Gas           Gov. Aggregation   VEDO         4021485722591429            Gas           Gov. Aggregation
DEO             0500030687504               Gas           Gov. Aggregation   VEDO         4003271172599836            Gas           Gov. Aggregation
DEO             0500011777409               Gas           Gov. Aggregation   VEDO         4001781392586494            Gas           Gov. Aggregation
DEO             5180007273079               Gas           Gov. Aggregation   VEDO         4004944412619392            Gas           Gov. Aggregation
DEO             7180004120308               Gas           Gov. Aggregation   VEDO         4021489052539670            Gas           Gov. Aggregation
DEO             7500041787966               Gas           Gov. Aggregation   VEDO         4021555112597312            Gas           Gov. Aggregation
DEO             0180007632596               Gas           Gov. Aggregation   VEDO         4021475372532877            Gas           Gov. Aggregation
DEO             2500015963789               Gas           Gov. Aggregation   VEDO         4015259022550548            Gas           Gov. Aggregation
DEO             2442103914369               Gas           Gov. Aggregation   VEDO         4004497572550547            Gas           Gov. Aggregation
DEO             2500011997105               Gas           Gov. Aggregation   VEDO         4019431312535561            Gas           Gov. Aggregation
DEO             2442004506222               Gas           Gov. Aggregation   VEDO         4001680352112711            Gas           Gov. Aggregation
DEO             2442003477709               Gas           Gov. Aggregation   VEDO         4021572352342164            Gas           Gov. Aggregation
DEO             5180001286249               Gas           Gov. Aggregation   VEDO         4001152802529092            Gas           Gov. Aggregation
DEO             4500064100482               Gas           Gov. Aggregation   VEDO         4021513132532501            Gas           Gov. Aggregation
DEO             4500065181591               Gas           Gov. Aggregation   VEDO         4002195172562851            Gas           Gov. Aggregation
DEO             4500066183161               Gas           Gov. Aggregation   VEDO         4021466362464054            Gas           Gov. Aggregation
DEO             4500066308624               Gas           Gov. Aggregation   VEDO         4004598492382815            Gas           Gov. Aggregation
DEO             4500066504195               Gas           Gov. Aggregation   VEDO         4017303052497484            Gas           Gov. Aggregation
DEO             7500029075546               Gas           Gov. Aggregation   VEDO         4021572642149685            Gas           Gov. Aggregation
DEO             4180007955740               Gas           Gov. Aggregation   VEDO         4021464332444297            Gas           Gov. Aggregation
DEO             5180006830757               Gas           Gov. Aggregation   VEDO         4019020662157734            Gas           Gov. Aggregation
DEO             5180008194238               Gas           Gov. Aggregation   VEDO         4020892472228639            Gas           Gov. Aggregation
DEO             5180003008073               Gas           Gov. Aggregation   VEDO         4003034172124551            Gas           Gov. Aggregation
DEO             7500053952095               Gas           Gov. Aggregation   VEDO         4019527612293834            Gas           Gov. Aggregation
DEO             7500052458827               Gas           Gov. Aggregation   VEDO         4021618952331307            Gas           Gov. Aggregation
DEO             7500036004668               Gas           Gov. Aggregation   VEDO         4015851702402042            Gas           Gov. Aggregation
DEO             7500065426072               Gas           Gov. Aggregation   VEDO         4018897712684941            Gas           Gov. Aggregation
DEO             7500065743886               Gas           Gov. Aggregation   VEDO         4001615052685675            Gas           Gov. Aggregation
DEO             7500066154392               Gas           Gov. Aggregation   VEDO         4021467282685615            Gas           Gov. Aggregation
DEO             8180000126500               Gas           Gov. Aggregation   VEDO         4021431182285025            Gas           Gov. Aggregation
DEO             6442104391056               Gas           Gov. Aggregation   VEDO         4021471772563921            Gas           Gov. Aggregation
DEO             6500006516937               Gas           Gov. Aggregation   VEDO         4019066182541921            Gas           Gov. Aggregation
DEO             6442003748025               Gas           Gov. Aggregation   VEDO         4016540132276158            Gas           Gov. Aggregation
DEO             6442005589799               Gas           Gov. Aggregation   VEDO         4020279082477602            Gas           Gov. Aggregation
DEO             7442006496917               Gas           Gov. Aggregation   VEDO         4017277662127901            Gas           Gov. Aggregation
DEO             7180003284428               Gas           Gov. Aggregation   VEDO         4020308632138593            Gas           Gov. Aggregation
DEO             7180000742918               Gas           Gov. Aggregation   VEDO         4015920352334138            Gas           Gov. Aggregation
DEO             7180005275488               Gas           Gov. Aggregation   VEDO         4021585582245234            Gas           Gov. Aggregation
DEO             7180005336434               Gas           Gov. Aggregation   VEDO         4003413352338201            Gas           Gov. Aggregation
DEO             7180003951102               Gas           Gov. Aggregation   VEDO         4021463632337289            Gas           Gov. Aggregation
DEO             7180006098298               Gas           Gov. Aggregation   VEDO         4019972572402527            Gas           Gov. Aggregation
DEO             7180005916366               Gas           Gov. Aggregation   VEDO         4021445562481403            Gas           Gov. Aggregation
DEO             8180003580650               Gas           Gov. Aggregation   VEDO         4004535412409767            Gas           Gov. Aggregation
DEO             6180008522448               Gas           Gov. Aggregation   VEDO         4018933122385478            Gas           Gov. Aggregation
DEO             5180009013032               Gas           Gov. Aggregation   VEDO         4021494532480153            Gas           Gov. Aggregation
DEO             5180009059001               Gas           Gov. Aggregation   VEDO         4015162692261476            Gas           Gov. Aggregation
DEO             5180008781951               Gas           Gov. Aggregation   VEDO         4021062772254175            Gas           Gov. Aggregation
DEO             5500063052268               Gas           Gov. Aggregation   VEDO         4017303422208362            Gas           Gov. Aggregation
DEO             9500055602736               Gas           Gov. Aggregation   VEDO         4021448112236591            Gas           Gov. Aggregation
DEO             9442007599860               Gas           Gov. Aggregation   VEDO         4004318052291698            Gas           Gov. Aggregation
DEO             9500045473695               Gas           Gov. Aggregation   VEDO         4017447892186032            Gas           Gov. Aggregation
DEO             8442005730985               Gas           Gov. Aggregation   VEDO         4021485842167531            Gas           Gov. Aggregation
DEO             8500066830908               Gas           Gov. Aggregation   VEDO         4016817372274760            Gas           Gov. Aggregation
DEO             8500053817237               Gas           Gov. Aggregation   VEDO         4019503952312037            Gas           Gov. Aggregation
DEO             2442000122265               Gas           Gov. Aggregation   VEDO         4021532022512151            Gas           Gov. Aggregation
DEO             1442000122316               Gas           Gov. Aggregation   VEDO         4021482682197359            Gas           Gov. Aggregation
DEO             9500064260235               Gas           Gov. Aggregation   VEDO         4021504522347497            Gas           Gov. Aggregation
DEO             9500065610789               Gas           Gov. Aggregation   VEDO         4017515772388243            Gas           Gov. Aggregation
DEO             9500066235277               Gas           Gov. Aggregation   VEDO         4019798582193243            Gas           Gov. Aggregation
DEO             9500064168922               Gas           Gov. Aggregation   VEDO         4018789622517169            Gas           Gov. Aggregation
DEO             4500044179356               Gas           Gov. Aggregation   VEDO         4021599632129036            Gas           Gov. Aggregation
DEO             4500052687467               Gas           Gov. Aggregation   VEDO         4021556542210736            Gas           Gov. Aggregation
DEO             4500049955216               Gas           Gov. Aggregation   VEDO         4021307082322400            Gas           Gov. Aggregation
DEO             4180001755630               Gas           Gov. Aggregation   VEDO         4021595582188114            Gas           Gov. Aggregation
DEO             4180002282927               Gas           Gov. Aggregation   VEDO         4021601482336756            Gas           Gov. Aggregation
DEO             4180002520978               Gas           Gov. Aggregation   VEDO         4004804492476173            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
DEO             4180003055414               Gas           Gov. Aggregation   VEDO         4021498202442281            Gas           Gov. Aggregation
DEO             4180002739225               Gas           Gov. Aggregation   VEDO         4021279462267547            Gas           Gov. Aggregation
DEO             3500009822731               Gas           Gov. Aggregation   VEDO         4021563012348815            Gas           Gov. Aggregation
DEO             3500036271794               Gas           Gov. Aggregation   VEDO         4019869992307608            Gas           Gov. Aggregation
DEO             3180008745947               Gas           Gov. Aggregation   VEDO         4021552772139865            Gas           Gov. Aggregation
DEO             1442004053820               Gas           Gov. Aggregation   VEDO         4001715402167402            Gas           Gov. Aggregation
DEO             0500066195488               Gas           Gov. Aggregation   VEDO         4021533952177882            Gas           Gov. Aggregation
DEO             0500062331524               Gas           Gov. Aggregation   VEDO         4018479732208016            Gas           Gov. Aggregation
DEO             0500060097906               Gas           Gov. Aggregation   VEDO         4003939442249028            Gas           Gov. Aggregation
DEO             7180006421790               Gas           Gov. Aggregation   VEDO         4021525892205779            Gas           Gov. Aggregation
DEO             6500067616101               Gas           Gov. Aggregation   VEDO         4004584992130189            Gas           Gov. Aggregation
DEO             7180001381100               Gas           Gov. Aggregation   VEDO         4001848152343929            Gas           Gov. Aggregation
DEO             7500030067507               Gas           Gov. Aggregation   VEDO         4020291182233493            Gas           Gov. Aggregation
DEO             4500065793183               Gas           Gov. Aggregation   VEDO         4021561492468670            Gas           Gov. Aggregation
DEO             4500062094376               Gas           Gov. Aggregation   VEDO         4020100762437409            Gas           Gov. Aggregation
DEO             4500064876995               Gas           Gov. Aggregation   VEDO         4021607352457546            Gas           Gov. Aggregation
DEO             4500061803114               Gas           Gov. Aggregation   VEDO         4021609802304786            Gas           Gov. Aggregation
DEO             4500049584585               Gas           Gov. Aggregation   VEDO         4021490162177934            Gas           Gov. Aggregation
DEO             5180000654581               Gas           Gov. Aggregation   VEDO         4020303832196257            Gas           Gov. Aggregation
DEO             5180007386604               Gas           Gov. Aggregation   VEDO         4021493642360832            Gas           Gov. Aggregation
DEO             5180007225211               Gas           Gov. Aggregation   VEDO         4021573012468035            Gas           Gov. Aggregation
DEO             5180006249378               Gas           Gov. Aggregation   VEDO         4021431112429297            Gas           Gov. Aggregation
DEO             5180006260853               Gas           Gov. Aggregation   VEDO         4020332472427615            Gas           Gov. Aggregation
DEO             4180007999733               Gas           Gov. Aggregation   VEDO         4021054452394941            Gas           Gov. Aggregation
DEO             2500054713322               Gas           Gov. Aggregation   VEDO         4021592172410544            Gas           Gov. Aggregation
DEO             2180006961102               Gas           Gov. Aggregation   VEDO         4017312372333125            Gas           Gov. Aggregation
DEO             2180008064648               Gas           Gov. Aggregation   VEDO         4003822002121253            Gas           Gov. Aggregation
DEO             2180006604399               Gas           Gov. Aggregation   VEDO         4020134522457990            Gas           Gov. Aggregation
DEO             2180006589676               Gas           Gov. Aggregation   VEDO         4016142332393831            Gas           Gov. Aggregation
DEO             2180006438588               Gas           Gov. Aggregation   VEDO         4001711782438662            Gas           Gov. Aggregation
DEO             1442007975222               Gas           Gov. Aggregation   VEDO         4021575132258459            Gas           Gov. Aggregation
DEO             1442006476578               Gas           Gov. Aggregation   VEDO         4021109912241740            Gas           Gov. Aggregation
DEO             1442104445567               Gas           Gov. Aggregation   VEDO         4019949482396866            Gas           Gov. Aggregation
DEO             1442107977678               Gas           Gov. Aggregation   VEDO         4017025952330159            Gas           Gov. Aggregation
DEO             1500043277684               Gas           Gov. Aggregation   VEDO         4020085512135215            Gas           Gov. Aggregation
DEO             1500032106907               Gas           Gov. Aggregation   VEDO         4021596772672149            Gas           Gov. Aggregation
DEO             1500020758806               Gas           Gov. Aggregation   VEDO         4021574152391335            Gas           Gov. Aggregation
DEO             1500049098773               Gas           Gov. Aggregation   VEDO         4020149052446047            Gas           Gov. Aggregation
DEO             1500062661322               Gas           Gov. Aggregation   VEDO         4020203222289384            Gas           Gov. Aggregation
DEO             1500063472817               Gas           Gov. Aggregation   VEDO         4021609382484203            Gas           Gov. Aggregation
DEO             2500061943345               Gas           Gov. Aggregation   VEDO         4015117712186052            Gas           Gov. Aggregation
DEO             3180001918020               Gas           Gov. Aggregation   VEDO         4020077132219436            Gas           Gov. Aggregation
DEO             3500048349044               Gas           Gov. Aggregation   VEDO         4021537742428050            Gas           Gov. Aggregation
DEO             3500041898575               Gas           Gov. Aggregation   VEDO         4020907382375919            Gas           Gov. Aggregation
DEO             3500052860768               Gas           Gov. Aggregation   VEDO         4019415902212892            Gas           Gov. Aggregation
DEO             3442001494693               Gas           Gov. Aggregation   VEDO         4021534752277241            Gas           Gov. Aggregation
DEO             3442003453522               Gas           Gov. Aggregation   VEDO         4017745582404655            Gas           Gov. Aggregation
DEO             4500051012686               Gas           Gov. Aggregation   VEDO         4021612772500368            Gas           Gov. Aggregation
DEO             4500033953430               Gas           Gov. Aggregation   VEDO         4021452902429338            Gas           Gov. Aggregation
DEO             4442103260902               Gas           Gov. Aggregation   VEDO         4018179712188302            Gas           Gov. Aggregation
DEO             3442102367371               Gas           Gov. Aggregation   VEDO         4003952412144924            Gas           Gov. Aggregation
DEO             3442105146224               Gas           Gov. Aggregation   VEDO         4018250682507783            Gas           Gov. Aggregation
DEO             3442107097658               Gas           Gov. Aggregation   VEDO         4020133802192128            Gas           Gov. Aggregation
DEO             4442103261089               Gas           Gov. Aggregation   VEDO         4021588952419616            Gas           Gov. Aggregation
DEO             5180008476681               Gas           Gov. Aggregation   VEDO         4018745042463450            Gas           Gov. Aggregation
DEO             7180004737137               Gas           Gov. Aggregation   VEDO         4021531472119512            Gas           Gov. Aggregation
DEO             9442107571419               Gas           Gov. Aggregation   VEDO         4020081882484135            Gas           Gov. Aggregation
DEO             7500034644427               Gas           Gov. Aggregation   VEDO         4019008182394357            Gas           Gov. Aggregation
DEO             7500050528151               Gas           Gov. Aggregation   VEDO         4021080882261750            Gas           Gov. Aggregation
DEO             5442104273044               Gas           Gov. Aggregation   VEDO         4001393292241197            Gas           Gov. Aggregation
DEO             5180008742955               Gas           Gov. Aggregation   VEDO         4017782472445213            Gas           Gov. Aggregation
DEO             5442105983204               Gas           Gov. Aggregation   VEDO         4018395062472349            Gas           Gov. Aggregation
DEO             5442106764791               Gas           Gov. Aggregation   VEDO         4021612692184689            Gas           Gov. Aggregation
DEO             5500033166242               Gas           Gov. Aggregation   VEDO         4021506422110273            Gas           Gov. Aggregation
DEO             5500020199259               Gas           Gov. Aggregation   VEDO         4021435452268718            Gas           Gov. Aggregation
DEO             1500047996539               Gas           Gov. Aggregation   VEDO         4020867242272816            Gas           Gov. Aggregation
DEO             1180004721896               Gas           Gov. Aggregation   VEDO         4021451422233944            Gas           Gov. Aggregation
DEO             1180004769222               Gas           Gov. Aggregation   VEDO         4018146472495658            Gas           Gov. Aggregation
DEO             3180006964594               Gas           Gov. Aggregation   VEDO         4021600012255601            Gas           Gov. Aggregation
DEO             0500041977895               Gas           Gov. Aggregation   VEDO         4021037982399334            Gas           Gov. Aggregation
DEO             0442004137858               Gas           Gov. Aggregation   VEDO         4015903152422358            Gas           Gov. Aggregation
DEO             1442001452435               Gas           Gov. Aggregation   VEDO         4021473672261252            Gas           Gov. Aggregation
DEO             1180006460928               Gas           Gov. Aggregation   VEDO         4021485072442490            Gas           Gov. Aggregation
DEO             5442000552091               Gas           Gov. Aggregation   VEDO         4021524992203215            Gas           Gov. Aggregation
DEO             6180000956361               Gas           Gov. Aggregation   VEDO         4021484752115396            Gas           Gov. Aggregation
DEO             4180005243633               Gas           Gov. Aggregation   VEDO         4021553182269339            Gas           Gov. Aggregation
DEO             4500066574829               Gas           Gov. Aggregation   VEDO         4021536832371227            Gas           Gov. Aggregation
DEO             8442000226577               Gas           Gov. Aggregation   VEDO         4021596142442796            Gas           Gov. Aggregation
DEO             2180007830974               Gas           Gov. Aggregation   VEDO         4002914042451743            Gas           Gov. Aggregation
DEO             2442007987129               Gas           Gov. Aggregation   VEDO         4004544942185160            Gas           Gov. Aggregation
DEO             4500045102171               Gas           Gov. Aggregation   VEDO         4021539222408927            Gas           Gov. Aggregation
DEO             2500063915248               Gas           Gov. Aggregation   VEDO         4017007422294687            Gas           Gov. Aggregation
DEO             1500067658416               Gas           Gov. Aggregation   VEDO         4019832502358894            Gas           Gov. Aggregation
DEO             2180001266888               Gas           Gov. Aggregation   VEDO         4002078422220508            Gas           Gov. Aggregation
DEO             9180004864246               Gas           Gov. Aggregation   VEDO         4021406002685608            Gas           Gov. Aggregation
DEO             8500063167414               Gas           Gov. Aggregation   VEDO         4021477722686405            Gas           Gov. Aggregation
DEO             9500060855342               Gas           Gov. Aggregation   VEDO         4019809492372862            Gas           Gov. Aggregation
DEO             6180003458154               Gas           Gov. Aggregation   VEDO         4021465012318830            Gas           Gov. Aggregation
DEO             5180008915533               Gas           Gov. Aggregation   VEDO         4021534122106918            Gas           Gov. Aggregation
DEO             5180009122840               Gas           Gov. Aggregation   VEDO         4020260092198225            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
DEO             6180009277200               Gas           Gov. Aggregation   VEDO         4017801342487919            Gas           Gov. Aggregation
DEO             6180005432511               Gas           Gov. Aggregation   VEDO         4015194562409062            Gas           Gov. Aggregation
DEO             6180005447895               Gas           Gov. Aggregation   VEDO         4004828202449166            Gas           Gov. Aggregation
DEO             6500053033190               Gas           Gov. Aggregation   VEDO         4021580962321716            Gas           Gov. Aggregation
DEO             6500039914905               Gas           Gov. Aggregation   VEDO         4021121192408723            Gas           Gov. Aggregation
DEO             6500054018444               Gas           Gov. Aggregation   VEDO         4021487552363002            Gas           Gov. Aggregation
DEO             6500063035356               Gas           Gov. Aggregation   VEDO         4019950982511027            Gas           Gov. Aggregation
DEO             6500026972453               Gas           Gov. Aggregation   VEDO         4019104702298478            Gas           Gov. Aggregation
DEO             7500064996218               Gas           Gov. Aggregation   VEDO         4004425712214759            Gas           Gov. Aggregation
DEO             7500048601461               Gas           Gov. Aggregation   VEDO         4021595632409816            Gas           Gov. Aggregation
DEO             3180004355488               Gas           Gov. Aggregation   VEDO         4003963142360657            Gas           Gov. Aggregation
DEO             3180005314705               Gas           Gov. Aggregation   VEDO         4021202012348391            Gas           Gov. Aggregation
DEO             3180004252487               Gas           Gov. Aggregation   VEDO         4021484492508818            Gas           Gov. Aggregation
DEO             3180002969047               Gas           Gov. Aggregation   VEDO         4017450812483841            Gas           Gov. Aggregation
DEO             3180001964484               Gas           Gov. Aggregation   VEDO         4019534812486444            Gas           Gov. Aggregation
DEO             2180003727813               Gas           Gov. Aggregation   VEDO         4021511002574110            Gas           Gov. Aggregation
DEO             2180002445302               Gas           Gov. Aggregation   VEDO         4021537322630529            Gas           Gov. Aggregation
DEO             2180001604522               Gas           Gov. Aggregation   VEDO         4016554302202512            Gas           Gov. Aggregation
DEO             2180002758958               Gas           Gov. Aggregation   VEDO         4021285432282082            Gas           Gov. Aggregation
DEO             2180002832145               Gas           Gov. Aggregation   VEDO         4021513252371166            Gas           Gov. Aggregation
DEO             2180008068756               Gas           Gov. Aggregation   VEDO         4020251312315474            Gas           Gov. Aggregation
DEO             2180008259977               Gas           Gov. Aggregation   VEDO         4002625992404493            Gas           Gov. Aggregation
DEO             0500038707592               Gas           Gov. Aggregation   VEDO         4002625992504187            Gas           Gov. Aggregation
DEO             1180001882291               Gas           Gov. Aggregation   VEDO         4021516582503617            Gas           Gov. Aggregation
DEO             1180002066671               Gas           Gov. Aggregation   VEDO         4021569622269984            Gas           Gov. Aggregation
DEO             0500061898134               Gas           Gov. Aggregation   VEDO         4021017972448610            Gas           Gov. Aggregation
DEO             0500063095453               Gas           Gov. Aggregation   VEDO         4019389522187280            Gas           Gov. Aggregation
DEO             0500066832863               Gas           Gov. Aggregation   VEDO         4021429852367710            Gas           Gov. Aggregation
DEO             0500053031563               Gas           Gov. Aggregation   VEDO         4019771222199638            Gas           Gov. Aggregation
DEO             1442005315159               Gas           Gov. Aggregation   VEDO         4021601552125932            Gas           Gov. Aggregation
DEO             1180008270531               Gas           Gov. Aggregation   VEDO         4021307422263103            Gas           Gov. Aggregation
DEO             1180008473273               Gas           Gov. Aggregation   VEDO         4002844072263160            Gas           Gov. Aggregation
DEO             4442002252610               Gas           Gov. Aggregation   VEDO         4015856332184943            Gas           Gov. Aggregation
DEO             4442005663618               Gas           Gov. Aggregation   VEDO         4003834722322794            Gas           Gov. Aggregation
DEO             4442006801283               Gas           Gov. Aggregation   VEDO         4021490132201069            Gas           Gov. Aggregation
DEO             4500019641485               Gas           Gov. Aggregation   VEDO         4019757482237160            Gas           Gov. Aggregation
DEO             4500017141139               Gas           Gov. Aggregation   VEDO         4019999552525165            Gas           Gov. Aggregation
DEO             4500053015890               Gas           Gov. Aggregation   VEDO         4021522692442790            Gas           Gov. Aggregation
DEO             9180006711918               Gas           Gov. Aggregation   VEDO         4021197192349408            Gas           Gov. Aggregation
DEO             9500063834264               Gas           Gov. Aggregation   VEDO         4016020792443317            Gas           Gov. Aggregation
DEO             6180004832053               Gas           Gov. Aggregation   VEDO         4004330732301507            Gas           Gov. Aggregation
DEO             5500067450942               Gas           Gov. Aggregation   VEDO         4019964892213671            Gas           Gov. Aggregation
DEO             3500028694712               Gas           Gov. Aggregation   VEDO         4020933392125406            Gas           Gov. Aggregation
DEO             3180008798050               Gas           Gov. Aggregation   VEDO         4001123302459183            Gas           Gov. Aggregation
DEO             3180006201595               Gas           Gov. Aggregation   VEDO         4021202012230664            Gas           Gov. Aggregation
DEO             3180006891140               Gas           Gov. Aggregation   VEDO         4017934082440794            Gas           Gov. Aggregation
DEO             3180006914554               Gas           Gov. Aggregation   VEDO         4015626882421794            Gas           Gov. Aggregation
DEO             4500046177089               Gas           Gov. Aggregation   VEDO         4021548622192781            Gas           Gov. Aggregation
DEO             4180004586975               Gas           Gov. Aggregation   VEDO         4021429292680203            Gas           Gov. Aggregation
DEO             3442005700917               Gas           Gov. Aggregation   VEDO         4021455432437761            Gas           Gov. Aggregation
DEO             3180009062985               Gas           Gov. Aggregation   VEDO         4021479872118086            Gas           Gov. Aggregation
DEO             5180005007605               Gas           Gov. Aggregation   VEDO         4021283562112473            Gas           Gov. Aggregation
DEO             5180005347800               Gas           Gov. Aggregation   VEDO         4021542892121720            Gas           Gov. Aggregation
DEO             5180006600029               Gas           Gov. Aggregation   VEDO         4021580742261147            Gas           Gov. Aggregation
DEO             5180000264370               Gas           Gov. Aggregation   VEDO         4021527532304257            Gas           Gov. Aggregation
DEO             4500054974156               Gas           Gov. Aggregation   VEDO         4021488312445958            Gas           Gov. Aggregation
DEO             4500063294197               Gas           Gov. Aggregation   VEDO         4019529332261572            Gas           Gov. Aggregation
DEO             7180000152006               Gas           Gov. Aggregation   VEDO         4021053122374924            Gas           Gov. Aggregation
DEO             8180002202514               Gas           Gov. Aggregation   VEDO         4002564472251443            Gas           Gov. Aggregation
DEO             8180002422399               Gas           Gov. Aggregation   VEDO         4018854192506079            Gas           Gov. Aggregation
DEO             8180003472107               Gas           Gov. Aggregation   VEDO         4021467342268115            Gas           Gov. Aggregation
DEO             8500052963404               Gas           Gov. Aggregation   VEDO         4019363872363599            Gas           Gov. Aggregation
DEO             8500065716595               Gas           Gov. Aggregation   VEDO         4021467232393061            Gas           Gov. Aggregation
DEO             8442004272846               Gas           Gov. Aggregation   VEDO         4021486612449713            Gas           Gov. Aggregation
DEO             8180009181226               Gas           Gov. Aggregation   VEDO         4020007152192119            Gas           Gov. Aggregation
DEO             8180009352556               Gas           Gov. Aggregation   VEDO         4018983012360643            Gas           Gov. Aggregation
DEO             9442004046813               Gas           Gov. Aggregation   VEDO         4004773182368021            Gas           Gov. Aggregation
DEO             9442003263148               Gas           Gov. Aggregation   VEDO         4015454312226060            Gas           Gov. Aggregation
DEO             9180006323046               Gas           Gov. Aggregation   VEDO         4021602252390631            Gas           Gov. Aggregation
DEO             7500052288537               Gas           Gov. Aggregation   VEDO         4001833202238457            Gas           Gov. Aggregation
DEO             7500040685984               Gas           Gov. Aggregation   VEDO         4017982202528249            Gas           Gov. Aggregation
DEO             7500041513441               Gas           Gov. Aggregation   VEDO         4017401022288970            Gas           Gov. Aggregation
DEO             7500064736060               Gas           Gov. Aggregation   VEDO         4019311552398783            Gas           Gov. Aggregation
DEO             7500066755874               Gas           Gov. Aggregation   VEDO         4021475312257365            Gas           Gov. Aggregation
DEO             5442005154380               Gas           Gov. Aggregation   VEDO         4021608392215112            Gas           Gov. Aggregation
DEO             5500007543598               Gas           Gov. Aggregation   VEDO         4021446282455921            Gas           Gov. Aggregation
DEO             5500042854936               Gas           Gov. Aggregation   VEDO         4021619312173748            Gas           Gov. Aggregation
DEO             5500053986788               Gas           Gov. Aggregation   VEDO         4020200382468254            Gas           Gov. Aggregation
DEO             6180000788517               Gas           Gov. Aggregation   VEDO         4021523102251784            Gas           Gov. Aggregation
DEO             6180004732805               Gas           Gov. Aggregation   VEDO         4016748992249895            Gas           Gov. Aggregation
DEO             6180004238644               Gas           Gov. Aggregation   VEDO         4004431132190026            Gas           Gov. Aggregation
DEO             9500061376899               Gas           Gov. Aggregation   VEDO         4020068262505554            Gas           Gov. Aggregation
DEO             9500020448542               Gas           Gov. Aggregation   VEDO         4015185062294093            Gas           Gov. Aggregation
DEO             9500026733452               Gas           Gov. Aggregation   VEDO         4019966932166479            Gas           Gov. Aggregation
DEO             9500040282697               Gas           Gov. Aggregation   VEDO         4004445962682956            Gas           Gov. Aggregation
DEO             9500043831615               Gas           Gov. Aggregation   VEDO         4021499272205746            Gas           Gov. Aggregation
DEO             0442003189975               Gas           Gov. Aggregation   VEDO         4021522222111159            Gas           Gov. Aggregation
DEO             1180008002129               Gas           Gov. Aggregation   VEDO         4003511342686525            Gas           Gov. Aggregation
DEO             1180006430939               Gas           Gov. Aggregation   VEDO         4021614102125143            Gas           Gov. Aggregation
DEO             0180006886714               Gas           Gov. Aggregation   VEDO         4021543372406333            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             0180005286689               Gas           Gov. Aggregation   VEDO            4021478742533612            Gas           Gov. Aggregation
DEO             2500046741766               Gas           Gov. Aggregation   VEDO            4021602422240584            Gas           Gov. Aggregation
DEO             2180005559454               Gas           Gov. Aggregation   VEDO            4021570532168039            Gas           Gov. Aggregation
DEO             1500042475881               Gas           Gov. Aggregation   VEDO            4019076182387757            Gas           Gov. Aggregation
DEO             1500011047365               Gas           Gov. Aggregation   VEDO            4020291832113816            Gas           Gov. Aggregation
DEO             2180003347683               Gas           Gov. Aggregation   VEDO            4021556262359264            Gas           Gov. Aggregation
DEO             1500063900260               Gas           Gov. Aggregation   VEDO            4018404642406601            Gas           Gov. Aggregation
DEO             3180003523061               Gas           Gov. Aggregation   VEDO            4018391872427423            Gas           Gov. Aggregation
DEO             3180003859746               Gas           Gov. Aggregation   VEDO            4019871702289844            Gas           Gov. Aggregation
DEO             3500035503161               Gas           Gov. Aggregation   VEDO            4020082352469927            Gas           Gov. Aggregation
DEO             3500041229645               Gas           Gov. Aggregation   VEDO            4019225842440163            Gas           Gov. Aggregation
DEO             3500053090658               Gas           Gov. Aggregation   VEDO            4015050312270729            Gas           Gov. Aggregation
DEO             3442005326960               Gas           Gov. Aggregation   VEDO            4004869972325912            Gas           Gov. Aggregation
DEO             4180004197043               Gas           Gov. Aggregation   VEDO            4019245522263750            Gas           Gov. Aggregation
DEO             4180001935394               Gas           Gov. Aggregation   VEDO            4021289112151801            Gas           Gov. Aggregation
DEO             3500066006399               Gas           Gov. Aggregation   VEDO            4016515932386726            Gas           Gov. Aggregation
DEO             9180003029019               Gas           Gov. Aggregation   VEDO            4018718042182569            Gas           Gov. Aggregation
DEO             7442004967918               Gas           Gov. Aggregation   VEDO            4003237552485031            Gas           Gov. Aggregation
DEO             0442007942310               Gas           Gov. Aggregation   VEDO            4021589022409774            Gas           Gov. Aggregation
DEO             6500006031763               Gas           Gov. Aggregation   VEDO            4021504302494891            Gas           Gov. Aggregation
DEO             7500067213448               Gas           Gov. Aggregation   VEDO            4015619262531534            Gas           Gov. Aggregation
DEO             7500062328357               Gas           Gov. Aggregation   VEDO            4016581892685973            Gas           Gov. Aggregation
DEO             8180008107912               Gas           Gov. Aggregation   VEDO            4004955422680281            Gas           Gov. Aggregation
DEO             8180002736820               Gas           Gov. Aggregation   VEDO            4015342082421114            Gas           Gov. Aggregation
DEO             7180005049308               Gas           Gov. Aggregation   VEDO            4016932902682790            Gas           Gov. Aggregation
DEO             6500066334332               Gas           Gov. Aggregation   VEDO            4017698662679872            Gas           Gov. Aggregation
DEO             7180002512242               Gas           Gov. Aggregation   VEDO            4019811792271878            Gas           Gov. Aggregation
DEO             7180007980987               Gas           Gov. Aggregation   VEDO            4019372692680042            Gas           Gov. Aggregation
DEO             7442003650098               Gas           Gov. Aggregation   VEDO            4018850072680308            Gas           Gov. Aggregation
DEO             7500016059196               Gas           Gov. Aggregation   VEDO            4021605252121585            Gas           Gov. Aggregation
DEO             4500066238018               Gas           Gov. Aggregation   VEDO            4021113252334481            Gas           Gov. Aggregation
DEO             4500054777104               Gas           Gov. Aggregation   VEDO            4017680662335070            Gas           Gov. Aggregation
DEO             5180001775502               Gas           Gov. Aggregation   VEDO            4010041932133663            Gas           Gov. Aggregation
DEO             5180003487756               Gas           Gov. Aggregation   VEDO            4021462242447127            Gas           Gov. Aggregation
DEO             8500035423864               Gas           Gov. Aggregation   VEDO            4021601402191829            Gas           Gov. Aggregation
DEO             8500024562004               Gas           Gov. Aggregation   VEDO            4021601402422857            Gas           Gov. Aggregation
DEO             9500061500635               Gas           Gov. Aggregation   VEDO            4021601402360847            Gas           Gov. Aggregation
DEO             6180002145267               Gas           Gov. Aggregation   VEDO            4005073922125299            Gas           Gov. Aggregation
DEO             5180009214421               Gas           Gov. Aggregation   VEDO            4017935122522192            Gas           Gov. Aggregation
DEO             5500037858800               Gas           Gov. Aggregation   VEDO            4003757782374549            Gas           Gov. Aggregation
DEO             7500049051451               Gas           Gov. Aggregation   VEDO            4016805482439239            Gas           Gov. Aggregation
DEO             7180000951528               Gas           Gov. Aggregation   VEDO            4004562012462181            Gas           Gov. Aggregation
DEO             7442003318140               Gas           Gov. Aggregation   VEDO            4002964752438891            Gas           Gov. Aggregation
DEO             5180007140407               Gas           Gov. Aggregation   VEDO            4002822932283220            Gas           Gov. Aggregation
DEO             4500014034521               Gas           Gov. Aggregation   VEDO            4017196522459254            Gas           Gov. Aggregation
DEO             4180007840608               Gas           Gov. Aggregation   VEDO            4018533682236953            Gas           Gov. Aggregation
DEO             3500054205114               Gas           Gov. Aggregation   VEDO            4004127032414502            Gas           Gov. Aggregation
DEO             1442008842516               Gas           Gov. Aggregation   VEDO            4001917872540546            Gas           Gov. Aggregation
DEO             2180003470560               Gas           Gov. Aggregation   VEDO            4001414502184792            Gas           Gov. Aggregation
DEO             1500062985251               Gas           Gov. Aggregation   VEDO            4001414502384747            Gas           Gov. Aggregation
DEO             1500064081678               Gas           Gov. Aggregation   VEDO            4010073962421211            Gas           Gov. Aggregation
DEO             3180008149984               Gas           Gov. Aggregation   VEDO            4004068772508754            Gas           Gov. Aggregation
DEO             2500067106708               Gas           Gov. Aggregation   VEDO            4003707282383761            Gas           Gov. Aggregation
DEO             3180001817555               Gas           Gov. Aggregation   COH             138977410019                Gas           Gov. Aggregation
DEO             3442007859766               Gas           Gov. Aggregation   COH             153545810011                Gas           Gov. Aggregation
DEO             3442006475449               Gas           Gov. Aggregation   COH             155258920015                Gas           Gov. Aggregation
DEO             3500025150673               Gas           Gov. Aggregation   COH             155281410013                Gas           Gov. Aggregation
DEO             4180000598443               Gas           Gov. Aggregation   COH             161444450011                Gas           Gov. Aggregation
DEO             3500061903742               Gas           Gov. Aggregation   COH             161538170011                Gas           Gov. Aggregation
DEO             4442004605262               Gas           Gov. Aggregation   COH             164963250038                Gas           Gov. Aggregation
DEO             4180006936859               Gas           Gov. Aggregation   COH             149952710015                Gas           Gov. Aggregation
DEO             4442007955099               Gas           Gov. Aggregation   COH             147337860038                Gas           Gov. Aggregation
DEO             4500019647141               Gas           Gov. Aggregation   COH             123746480011                Gas           Gov. Aggregation
DEO             4500040590892               Gas           Gov. Aggregation   COH             169504870017                Gas           Gov. Aggregation
DEO             2180007704432               Gas           Gov. Aggregation   COH             167549530016                Gas           Gov. Aggregation
DEO             2500052126417               Gas           Gov. Aggregation   COH             168957150010                Gas           Gov. Aggregation
DEO             0180002032377               Gas           Gov. Aggregation   COH             169004900010                Gas           Gov. Aggregation
DEO             1180006763630               Gas           Gov. Aggregation   COH             169044420017                Gas           Gov. Aggregation
DEO             1442002511712               Gas           Gov. Aggregation   COH             169089050011                Gas           Gov. Aggregation
DEO             0180009011195               Gas           Gov. Aggregation   COH             108828150015                Gas           Gov. Aggregation
DEO             0180009056181               Gas           Gov. Aggregation   COH             142278190021                Gas           Gov. Aggregation
DEO             2500048362970               Gas           Gov. Aggregation   COH             142331430017                Gas           Gov. Aggregation
DEO             2500051276730               Gas           Gov. Aggregation   COH             142440560019                Gas           Gov. Aggregation
DEO             9500010764432               Gas           Gov. Aggregation   COH             114921180013                Gas           Gov. Aggregation
DEO             9180009143877               Gas           Gov. Aggregation   COH             114982600016                Gas           Gov. Aggregation
DEO             9180006631402               Gas           Gov. Aggregation   COH             129949210020                Gas           Gov. Aggregation
DEO             8500062053541               Gas           Gov. Aggregation   COH             135785430051                Gas           Gov. Aggregation
DEO             9500064787366               Gas           Gov. Aggregation   COH             117256220012                Gas           Gov. Aggregation
DEO             8180004499017               Gas           Gov. Aggregation   COH             117113270014                Gas           Gov. Aggregation
DEO             7500052054856               Gas           Gov. Aggregation   COH             117113700013                Gas           Gov. Aggregation
DEO             7500065211256               Gas           Gov. Aggregation   COH             114987710013                Gas           Gov. Aggregation
DEO             6500008199420               Gas           Gov. Aggregation   COH             165974210014                Gas           Gov. Aggregation
DEO             6500053288192               Gas           Gov. Aggregation   COH             172132820011                Gas           Gov. Aggregation
DEO             5500048872654               Gas           Gov. Aggregation   COH             165416000010                Gas           Gov. Aggregation
DEO             5500050602962               Gas           Gov. Aggregation   COH             110312350012                Gas           Gov. Aggregation
DEO             5500013955306               Gas           Gov. Aggregation   COH             129527540034                Gas           Gov. Aggregation
DEO             5500022638689               Gas           Gov. Aggregation   COH             153017030023                Gas           Gov. Aggregation
DEO             5500061864063               Gas           Gov. Aggregation   COH             158406350026                Gas           Gov. Aggregation
DEO             5500064998072               Gas           Gov. Aggregation   COH             161794110011                Gas           Gov. Aggregation
DEO             9500060085898               Gas           Gov. Aggregation   COH             162602380019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             9500043029965               Gas           Gov. Aggregation   COH             110963330017                Gas           Gov. Aggregation
DEO             9500038590146               Gas           Gov. Aggregation   COH             174724830012                Gas           Gov. Aggregation
DEO             7180009075340               Gas           Gov. Aggregation   COH             175440120012                Gas           Gov. Aggregation
DEO             7180007244261               Gas           Gov. Aggregation   COH             174832660019                Gas           Gov. Aggregation
DEO             6500062311302               Gas           Gov. Aggregation   COH             174877790018                Gas           Gov. Aggregation
DEO             6500067113641               Gas           Gov. Aggregation   COH             129566680024                Gas           Gov. Aggregation
DEO             5180005427204               Gas           Gov. Aggregation   COH             130286790013                Gas           Gov. Aggregation
DEO             8500025735740               Gas           Gov. Aggregation   COH             131140540012                Gas           Gov. Aggregation
DEO             8500023436131               Gas           Gov. Aggregation   COH             131240010020                Gas           Gov. Aggregation
DEO             8500042026664               Gas           Gov. Aggregation   COH             131979550022                Gas           Gov. Aggregation
DEO             9180006950269               Gas           Gov. Aggregation   COH             124509220025                Gas           Gov. Aggregation
DEO             9442004394825               Gas           Gov. Aggregation   COH             108801890025                Gas           Gov. Aggregation
DEO             5500063118592               Gas           Gov. Aggregation   COH             173964980014                Gas           Gov. Aggregation
DEO             5500061616937               Gas           Gov. Aggregation   COH             161852320013                Gas           Gov. Aggregation
DEO             6180000925168               Gas           Gov. Aggregation   COH             129850450029                Gas           Gov. Aggregation
DEO             6180004080231               Gas           Gov. Aggregation   COH             130683620025                Gas           Gov. Aggregation
DEO             6180007271675               Gas           Gov. Aggregation   COH             131317650023                Gas           Gov. Aggregation
DEO             6442000709478               Gas           Gov. Aggregation   COH             131346960045                Gas           Gov. Aggregation
DEO             6180008699370               Gas           Gov. Aggregation   COH             146322730019                Gas           Gov. Aggregation
DEO             6500046264217               Gas           Gov. Aggregation   COH             147566430024                Gas           Gov. Aggregation
DEO             6500050798618               Gas           Gov. Aggregation   COH             148254720023                Gas           Gov. Aggregation
DEO             6442008502933               Gas           Gov. Aggregation   COH             148663190019                Gas           Gov. Aggregation
DEO             6500032890032               Gas           Gov. Aggregation   COH             172625750011                Gas           Gov. Aggregation
DEO             7500065785682               Gas           Gov. Aggregation   COH             175722380010                Gas           Gov. Aggregation
DEO             7500063289060               Gas           Gov. Aggregation   COH             144951760012                Gas           Gov. Aggregation
DEO             7500024782953               Gas           Gov. Aggregation   COH             158761530035                Gas           Gov. Aggregation
DEO             7500013748106               Gas           Gov. Aggregation   COH             196829550031                Gas           Gov. Aggregation
DEO             7500006487111               Gas           Gov. Aggregation   COH             168351200013                Gas           Gov. Aggregation
DEO             7442007987629               Gas           Gov. Aggregation   COH             121946250035                Gas           Gov. Aggregation
DEO             7442000512604               Gas           Gov. Aggregation   COH             121946250017                Gas           Gov. Aggregation
DEO             7442004530576               Gas           Gov. Aggregation   COH             121946250044                Gas           Gov. Aggregation
DEO             5180005923821               Gas           Gov. Aggregation   VEDO            4020922302677054            Gas           Gov. Aggregation
DEO             5180008230569               Gas           Gov. Aggregation   COH             121939640010                Gas           Gov. Aggregation
DEO             4180005469761               Gas           Gov. Aggregation   COH             121939640029                Gas           Gov. Aggregation
DEO             4442000892065               Gas           Gov. Aggregation   COH             138655470019                Gas           Gov. Aggregation
DEO             4180013720397               Gas           Gov. Aggregation   COH             121945550016                Gas           Gov. Aggregation
DEO             3500065714507               Gas           Gov. Aggregation   COH             111046690015                Gas           Gov. Aggregation
DEO             3500066503192               Gas           Gov. Aggregation   COH             121945810011                Gas           Gov. Aggregation
DEO             4180002078564               Gas           Gov. Aggregation   COH             149273510026                Gas           Gov. Aggregation
DEO             4180005143593               Gas           Gov. Aggregation   COH             121977070010                Gas           Gov. Aggregation
DEO             3500047085866               Gas           Gov. Aggregation   COH             158146970028                Gas           Gov. Aggregation
DEO             3500051192839               Gas           Gov. Aggregation   COH             163108760016                Gas           Gov. Aggregation
DEO             3442006469745               Gas           Gov. Aggregation   COH             113007520029                Gas           Gov. Aggregation
DEO             3442006468673               Gas           Gov. Aggregation   COH             121967030028                Gas           Gov. Aggregation
DEO             2500064776789               Gas           Gov. Aggregation   COH             121985150025                Gas           Gov. Aggregation
DEO             3180002688836               Gas           Gov. Aggregation   COH             122001160044                Gas           Gov. Aggregation
DEO             3180008740959               Gas           Gov. Aggregation   COH             130852700029                Gas           Gov. Aggregation
DEO             3180008316394               Gas           Gov. Aggregation   COH             121976590013                Gas           Gov. Aggregation
DEO             3180007292356               Gas           Gov. Aggregation   COH             121977020010                Gas           Gov. Aggregation
DEO             3180005112192               Gas           Gov. Aggregation   COH             121948350021                Gas           Gov. Aggregation
DEO             1500064655591               Gas           Gov. Aggregation   COH             121956540015                Gas           Gov. Aggregation
DEO             2180001010263               Gas           Gov. Aggregation   COH             121965600013                Gas           Gov. Aggregation
DEO             1500007150640               Gas           Gov. Aggregation   COH             121967300012                Gas           Gov. Aggregation
DEO             1500048167124               Gas           Gov. Aggregation   COH             160157830011                Gas           Gov. Aggregation
DEO             2180007379732               Gas           Gov. Aggregation   COH             168674240011                Gas           Gov. Aggregation
DEO             2180007738670               Gas           Gov. Aggregation   COH             138758290019                Gas           Gov. Aggregation
DEO             2180007527450               Gas           Gov. Aggregation   COH             145060390018                Gas           Gov. Aggregation
DEO             2180006844661               Gas           Gov. Aggregation   COH             121965420011                Gas           Gov. Aggregation
DEO             2500030925804               Gas           Gov. Aggregation   COH             121975830023                Gas           Gov. Aggregation
DEO             2442006982655               Gas           Gov. Aggregation   COH             121948360010                Gas           Gov. Aggregation
DEO             2500048879059               Gas           Gov. Aggregation   COH             121949930027                Gas           Gov. Aggregation
DEO             2500046267279               Gas           Gov. Aggregation   COH             121958850016                Gas           Gov. Aggregation
DEO             2500041723027               Gas           Gov. Aggregation   COH             157322950029                Gas           Gov. Aggregation
DEO             2500042552662               Gas           Gov. Aggregation   COH             121956570019                Gas           Gov. Aggregation
DEO             2500043362977               Gas           Gov. Aggregation   COH             121958230016                Gas           Gov. Aggregation
DEO             0180009156502               Gas           Gov. Aggregation   COH             148204350035                Gas           Gov. Aggregation
DEO             0180002606886               Gas           Gov. Aggregation   COH             149829170029                Gas           Gov. Aggregation
DEO             0500055158200               Gas           Gov. Aggregation   COH             152911300012                Gas           Gov. Aggregation
DEO             0500065448673               Gas           Gov. Aggregation   COH             154240350022                Gas           Gov. Aggregation
DEO             1180000109543               Gas           Gov. Aggregation   COH             155579910017                Gas           Gov. Aggregation
DEO             1180000293350               Gas           Gov. Aggregation   COH             121944550018                Gas           Gov. Aggregation
DEO             2180004071345               Gas           Gov. Aggregation   COH             121944580012                Gas           Gov. Aggregation
DEO             1500063849980               Gas           Gov. Aggregation   COH             121947710018                Gas           Gov. Aggregation
DEO             5180006362744               Gas           Gov. Aggregation   COH             121955830016                Gas           Gov. Aggregation
DEO             6180002066636               Gas           Gov. Aggregation   COH             121956000018                Gas           Gov. Aggregation
DEO             9500061052781               Gas           Gov. Aggregation   COH             130235820013                Gas           Gov. Aggregation
DEO             9180005960701               Gas           Gov. Aggregation   COH             156799730018                Gas           Gov. Aggregation
DEO             8180009344190               Gas           Gov. Aggregation   COH             158328320028                Gas           Gov. Aggregation
DEO             2180007413950               Gas           Gov. Aggregation   COH             121923240026                Gas           Gov. Aggregation
DEO             2180006120259               Gas           Gov. Aggregation   COH             121923610019                Gas           Gov. Aggregation
DEO             1500031156330               Gas           Gov. Aggregation   COH             121925350010                Gas           Gov. Aggregation
DEO             3180007186997               Gas           Gov. Aggregation   COH             121937020014                Gas           Gov. Aggregation
DEO             2500066501745               Gas           Gov. Aggregation   COH             121924060013                Gas           Gov. Aggregation
DEO             2500066119144               Gas           Gov. Aggregation   COH             121925510016                Gas           Gov. Aggregation
DEO             2500061972844               Gas           Gov. Aggregation   COH             121949610024                Gas           Gov. Aggregation
DEO             0180008840350               Gas           Gov. Aggregation   COH             121956840021                Gas           Gov. Aggregation
DEO             0500038958748               Gas           Gov. Aggregation   COH             121976630023                Gas           Gov. Aggregation
DEO             0500052003576               Gas           Gov. Aggregation   COH             121990730022                Gas           Gov. Aggregation
DEO             1180009367756               Gas           Gov. Aggregation   COH             121953240014                Gas           Gov. Aggregation
DEO             1442003263500               Gas           Gov. Aggregation   COH             160158360027                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             1500007183177               Gas           Gov. Aggregation   COH             163179480025                Gas           Gov. Aggregation
DEO             3500019459989               Gas           Gov. Aggregation   COH             166959330029                Gas           Gov. Aggregation
DEO             2500061687643               Gas           Gov. Aggregation   COH             167733690012                Gas           Gov. Aggregation
DEO             2500062879821               Gas           Gov. Aggregation   COH             139466410011                Gas           Gov. Aggregation
DEO             4500030617312               Gas           Gov. Aggregation   COH             121933180019                Gas           Gov. Aggregation
DEO             4500019755003               Gas           Gov. Aggregation   COH             121937010016                Gas           Gov. Aggregation
DEO             4500011178948               Gas           Gov. Aggregation   COH             121972550028                Gas           Gov. Aggregation
DEO             4442007340265               Gas           Gov. Aggregation   COH             122399600022                Gas           Gov. Aggregation
DEO             9180004890343               Gas           Gov. Aggregation   COH             121991560017                Gas           Gov. Aggregation
DEO             9500040806265               Gas           Gov. Aggregation   COH             121992940015                Gas           Gov. Aggregation
DEO             9500066301953               Gas           Gov. Aggregation   COH             122016230011                Gas           Gov. Aggregation
DEO             3442007957394               Gas           Gov. Aggregation   COH             122027810025                Gas           Gov. Aggregation
DEO             3442006477182               Gas           Gov. Aggregation   COH             126839220015                Gas           Gov. Aggregation
DEO             3500036730946               Gas           Gov. Aggregation   COH             137517160026                Gas           Gov. Aggregation
DEO             5180008082485               Gas           Gov. Aggregation   COH             145084010035                Gas           Gov. Aggregation
DEO             5180008333306               Gas           Gov. Aggregation   COH             142539070013                Gas           Gov. Aggregation
DEO             8180000417936               Gas           Gov. Aggregation   COH             121987510034                Gas           Gov. Aggregation
DEO             6500030903319               Gas           Gov. Aggregation   COH             122002890012                Gas           Gov. Aggregation
DEO             6500040482532               Gas           Gov. Aggregation   COH             152317640011                Gas           Gov. Aggregation
DEO             6442003667948               Gas           Gov. Aggregation   COH             154408220014                Gas           Gov. Aggregation
DEO             5500051757751               Gas           Gov. Aggregation   COH             160462540024                Gas           Gov. Aggregation
DEO             6180008000499               Gas           Gov. Aggregation   COH             121932770017                Gas           Gov. Aggregation
DEO             8180000378951               Gas           Gov. Aggregation   COH             121923430017                Gas           Gov. Aggregation
DEO             6442008154369               Gas           Gov. Aggregation   COH             121931170015                Gas           Gov. Aggregation
DEO             6500005791781               Gas           Gov. Aggregation   COH             121931380011                Gas           Gov. Aggregation
DEO             4500065312921               Gas           Gov. Aggregation   COH             112356920036                Gas           Gov. Aggregation
DEO             4500064283390               Gas           Gov. Aggregation   COH             139817210018                Gas           Gov. Aggregation
DEO             5180001571435               Gas           Gov. Aggregation   COH             156032260011                Gas           Gov. Aggregation
DEO             9500055156820               Gas           Gov. Aggregation   COH             165326900012                Gas           Gov. Aggregation
DEO             9500053824131               Gas           Gov. Aggregation   COH             136928910019                Gas           Gov. Aggregation
DEO             9442005097046               Gas           Gov. Aggregation   COH             138180170019                Gas           Gov. Aggregation
DEO             0500041167943               Gas           Gov. Aggregation   COH             121922810019                Gas           Gov. Aggregation
DEO             3180000549885               Gas           Gov. Aggregation   COH             121925840017                Gas           Gov. Aggregation
DEO             2500054766975               Gas           Gov. Aggregation   COH             189398490010                Gas           Gov. Aggregation
DEO             3500066833547               Gas           Gov. Aggregation   COH             121944800015                Gas           Gov. Aggregation
DEO             2500027477890               Gas           Gov. Aggregation   COH             159186940010                Gas           Gov. Aggregation
DEO             2500044326169               Gas           Gov. Aggregation   COH             122014050022                Gas           Gov. Aggregation
DEO             1180002019107               Gas           Gov. Aggregation   COH             122003420018                Gas           Gov. Aggregation
DEO             1180003074301               Gas           Gov. Aggregation   COH             156070210011                Gas           Gov. Aggregation
DEO             1180004670521               Gas           Gov. Aggregation   COH             121964060028                Gas           Gov. Aggregation
DEO             0500063700755               Gas           Gov. Aggregation   COH             123744260011                Gas           Gov. Aggregation
DEO             2180006050372               Gas           Gov. Aggregation   COH             123746370023                Gas           Gov. Aggregation
DEO             2180007394847               Gas           Gov. Aggregation   COH             123750920019                Gas           Gov. Aggregation
DEO             2180008041322               Gas           Gov. Aggregation   COH             123755520013                Gas           Gov. Aggregation
DEO             2180009032445               Gas           Gov. Aggregation   COH             123798980017                Gas           Gov. Aggregation
DEO             1500062930561               Gas           Gov. Aggregation   COH             123741740016                Gas           Gov. Aggregation
DEO             1500052895105               Gas           Gov. Aggregation   COH             123763330016                Gas           Gov. Aggregation
DEO             2500011466116               Gas           Gov. Aggregation   COH             123743550012                Gas           Gov. Aggregation
DEO             2500015034359               Gas           Gov. Aggregation   COH             123745790027                Gas           Gov. Aggregation
DEO             0500065093576               Gas           Gov. Aggregation   COH             135081350023                Gas           Gov. Aggregation
DEO             0180001778071               Gas           Gov. Aggregation   COH             140895220019                Gas           Gov. Aggregation
DEO             4500022783310               Gas           Gov. Aggregation   COH             123741720010                Gas           Gov. Aggregation
DEO             4500025181754               Gas           Gov. Aggregation   COH             123742300016                Gas           Gov. Aggregation
DEO             4500025433526               Gas           Gov. Aggregation   COH             123747050019                Gas           Gov. Aggregation
DEO             3180004122438               Gas           Gov. Aggregation   COH             123747710010                Gas           Gov. Aggregation
DEO             3500026104315               Gas           Gov. Aggregation   COH             123798760013                Gas           Gov. Aggregation
DEO             3500023327260               Gas           Gov. Aggregation   COH             123799850012                Gas           Gov. Aggregation
DEO             3500054834435               Gas           Gov. Aggregation   COH             139843760027                Gas           Gov. Aggregation
DEO             8180006676702               Gas           Gov. Aggregation   COH             151494630010                Gas           Gov. Aggregation
DEO             7500053152383               Gas           Gov. Aggregation   COH             123741730018                Gas           Gov. Aggregation
DEO             7500065734301               Gas           Gov. Aggregation   COH             161830700019                Gas           Gov. Aggregation
DEO             2500052517137               Gas           Gov. Aggregation   COH             123751660012                Gas           Gov. Aggregation
DEO             2500054654033               Gas           Gov. Aggregation   COH             123757610010                Gas           Gov. Aggregation
DEO             2500055602516               Gas           Gov. Aggregation   COH             123759040016                Gas           Gov. Aggregation
COH             111107810019                Gas           Gov. Aggregation   COH             123764930018                Gas           Gov. Aggregation
COH             133847150014                Gas           Gov. Aggregation   COH             123758070012                Gas           Gov. Aggregation
VEDO            4001003202100378            Gas           Gov. Aggregation   COH             123758200014                Gas           Gov. Aggregation
VEDO            4001008612487727            Gas           Gov. Aggregation   COH             123748790012                Gas           Gov. Aggregation
VEDO            4001033322476360            Gas           Gov. Aggregation   COH             123748800019                Gas           Gov. Aggregation
VEDO            4001039182275929            Gas           Gov. Aggregation   COH             123800010022                Gas           Gov. Aggregation
VEDO            4001042282223228            Gas           Gov. Aggregation   COH             123800250013                Gas           Gov. Aggregation
VEDO            4001044482562871            Gas           Gov. Aggregation   COH             123800230026                Gas           Gov. Aggregation
VEDO            4001044492355130            Gas           Gov. Aggregation   COH             123890770051                Gas           Gov. Aggregation
VEDO            4001046912418347            Gas           Gov. Aggregation   COH             143454730013                Gas           Gov. Aggregation
VEDO            4001067812106451            Gas           Gov. Aggregation   COH             168629610018                Gas           Gov. Aggregation
VEDO            4001072652526809            Gas           Gov. Aggregation   COH             111105050013                Gas           Gov. Aggregation
VEDO            4001084092113830            Gas           Gov. Aggregation   COH             111117700020                Gas           Gov. Aggregation
VEDO            4001084392647730            Gas           Gov. Aggregation   COH             111121550014                Gas           Gov. Aggregation
VEDO            4001086942108290            Gas           Gov. Aggregation   COH             111133360019                Gas           Gov. Aggregation
VEDO            4001089542267690            Gas           Gov. Aggregation   COH             111115520031                Gas           Gov. Aggregation
VEDO            4001146402137826            Gas           Gov. Aggregation   COH             112110880026                Gas           Gov. Aggregation
VEDO            4001150832114239            Gas           Gov. Aggregation   COH             111105580021                Gas           Gov. Aggregation
VEDO            4001152902614817            Gas           Gov. Aggregation   COH             111129690019                Gas           Gov. Aggregation
VEDO            4001152912114409            Gas           Gov. Aggregation   COH             111132380026                Gas           Gov. Aggregation
VEDO            4001163252623720            Gas           Gov. Aggregation   COH             111133720013                Gas           Gov. Aggregation
VEDO            4001163662626401            Gas           Gov. Aggregation   COH             111139030034                Gas           Gov. Aggregation
VEDO            4001167632361100            Gas           Gov. Aggregation   COH             111172100048                Gas           Gov. Aggregation
VEDO            4001179802116963            Gas           Gov. Aggregation   COH             111203940036                Gas           Gov. Aggregation
VEDO            4001183712117337            Gas           Gov. Aggregation   COH             111122290017                Gas           Gov. Aggregation
VEDO            4001191532400087            Gas           Gov. Aggregation   COH             111130690016                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4001193432118331            Gas           Gov. Aggregation   COH             111131060016                Gas           Gov. Aggregation
VEDO         4001193822118360            Gas           Gov. Aggregation   COH             111131450032                Gas           Gov. Aggregation
VEDO         4001204842119369            Gas           Gov. Aggregation   COH             111131450014                Gas           Gov. Aggregation
VEDO         4001205002388634            Gas           Gov. Aggregation   COH             165335280014                Gas           Gov. Aggregation
VEDO         4001206822177548            Gas           Gov. Aggregation   COH             189467020011                Gas           Gov. Aggregation
VEDO         4001275462247716            Gas           Gov. Aggregation   COH             169510070012                Gas           Gov. Aggregation
VEDO         4001276022126002            Gas           Gov. Aggregation   COH             111130370013                Gas           Gov. Aggregation
VEDO         4001276652178092            Gas           Gov. Aggregation   COH             161801840011                Gas           Gov. Aggregation
VEDO         4001286832106914            Gas           Gov. Aggregation   COH             111114920011                Gas           Gov. Aggregation
VEDO         4001294882127740            Gas           Gov. Aggregation   COH             111116570020                Gas           Gov. Aggregation
VEDO         4001345752198596            Gas           Gov. Aggregation   COH             111117070014                Gas           Gov. Aggregation
VEDO         4001347562614816            Gas           Gov. Aggregation   COH             111122360021                Gas           Gov. Aggregation
VEDO         4001348322132642            Gas           Gov. Aggregation   COH             111123240015                Gas           Gov. Aggregation
VEDO         4001352912133077            Gas           Gov. Aggregation   COH             111124320016                Gas           Gov. Aggregation
VEDO         4001354342450143            Gas           Gov. Aggregation   COH             111139310017                Gas           Gov. Aggregation
VEDO         4001360602489547            Gas           Gov. Aggregation   COH             111115630029                Gas           Gov. Aggregation
VEDO         4001402022137715            Gas           Gov. Aggregation   COH             111116350017                Gas           Gov. Aggregation
VEDO         4001407442138233            Gas           Gov. Aggregation   COH             111114480032                Gas           Gov. Aggregation
VEDO         4001413392409662            Gas           Gov. Aggregation   COH             111105470033                Gas           Gov. Aggregation
VEDO         4001415282138926            Gas           Gov. Aggregation   COH             111114480023                Gas           Gov. Aggregation
VEDO         4001437512140923            Gas           Gov. Aggregation   COH             111115090023                Gas           Gov. Aggregation
VEDO         4001478292144793            Gas           Gov. Aggregation   COH             138586780011                Gas           Gov. Aggregation
VEDO         4001478732144836            Gas           Gov. Aggregation   COH             144662780048                Gas           Gov. Aggregation
VEDO         4001489362145830            Gas           Gov. Aggregation   COH             131077950011                Gas           Gov. Aggregation
VEDO         4001498102146607            Gas           Gov. Aggregation   COH             139398900013                Gas           Gov. Aggregation
VEDO         4001502522138612            Gas           Gov. Aggregation   COH             165878390020                Gas           Gov. Aggregation
VEDO         4001507732193383            Gas           Gov. Aggregation   COH             141550740108                Gas           Gov. Aggregation
VEDO         4001547272466973            Gas           Gov. Aggregation   COH             147878890018                Gas           Gov. Aggregation
VEDO         4001549292147019            Gas           Gov. Aggregation   COH             148340830018                Gas           Gov. Aggregation
VEDO         4001551912132170            Gas           Gov. Aggregation   COH             188895960018                Gas           Gov. Aggregation
VEDO         4001558742152530            Gas           Gov. Aggregation   COH             111107690015                Gas           Gov. Aggregation
VEDO         4001560002583729            Gas           Gov. Aggregation   COH             111116040012                Gas           Gov. Aggregation
VEDO         4001567952153432            Gas           Gov. Aggregation   COH             111136880014                Gas           Gov. Aggregation
VEDO         4001568492153495            Gas           Gov. Aggregation   COH             144662780011                Gas           Gov. Aggregation
VEDO         4001576862220688            Gas           Gov. Aggregation   COH             134845890012                Gas           Gov. Aggregation
VEDO         4001607982537012            Gas           Gov. Aggregation   COH             162122270029                Gas           Gov. Aggregation
VEDO         4001613642148647            Gas           Gov. Aggregation   COH             155435800014                Gas           Gov. Aggregation
VEDO         4001613822105984            Gas           Gov. Aggregation   COH             160718580023                Gas           Gov. Aggregation
VEDO         4001615032117489            Gas           Gov. Aggregation   COH             121941400015                Gas           Gov. Aggregation
VEDO         4001619502158387            Gas           Gov. Aggregation   COH             121946850011                Gas           Gov. Aggregation
VEDO         4001631632183487            Gas           Gov. Aggregation   COH             129703760016                Gas           Gov. Aggregation
VEDO         4001656692161927            Gas           Gov. Aggregation   COH             127629410028                Gas           Gov. Aggregation
VEDO         4001661122162292            Gas           Gov. Aggregation   COH             142584400018                Gas           Gov. Aggregation
VEDO         4001665542494197            Gas           Gov. Aggregation   COH             148795210024                Gas           Gov. Aggregation
VEDO         4001667792289936            Gas           Gov. Aggregation   COH             147257830016                Gas           Gov. Aggregation
VEDO         4001695082512714            Gas           Gov. Aggregation   COH             193674510013                Gas           Gov. Aggregation
VEDO         4001741642171472            Gas           Gov. Aggregation   COH             173582230011                Gas           Gov. Aggregation
VEDO         4001753262312335            Gas           Gov. Aggregation   COH             124632990014                Gas           Gov. Aggregation
VEDO         4001754412272593            Gas           Gov. Aggregation   COH             124640850016                Gas           Gov. Aggregation
VEDO         4001756542171401            Gas           Gov. Aggregation   COH             124645910013                Gas           Gov. Aggregation
VEDO         4001761362510773            Gas           Gov. Aggregation   COH             124646680010                Gas           Gov. Aggregation
VEDO         4001797282175452            Gas           Gov. Aggregation   COH             124647470012                Gas           Gov. Aggregation
VEDO         4001800752175807            Gas           Gov. Aggregation   COH             124643510011                Gas           Gov. Aggregation
VEDO         4001808922176516            Gas           Gov. Aggregation   COH             124646710013                Gas           Gov. Aggregation
VEDO         4001810462176666            Gas           Gov. Aggregation   COH             124544200025                Gas           Gov. Aggregation
VEDO         4001818972251087            Gas           Gov. Aggregation   COH             136394560016                Gas           Gov. Aggregation
VEDO         4001818992591214            Gas           Gov. Aggregation   COH             140796060013                Gas           Gov. Aggregation
VEDO         4001822002337517            Gas           Gov. Aggregation   COH             111088900012                Gas           Gov. Aggregation
VEDO         4001861932224353            Gas           Gov. Aggregation   COH             111077330015                Gas           Gov. Aggregation
VEDO         4001868752182292            Gas           Gov. Aggregation   COH             111093390028                Gas           Gov. Aggregation
VEDO         4001876912348394            Gas           Gov. Aggregation   COH             157037260010                Gas           Gov. Aggregation
VEDO         4001879482530369            Gas           Gov. Aggregation   COH             111064160018                Gas           Gov. Aggregation
VEDO         4001879962315650            Gas           Gov. Aggregation   COH             146640870016                Gas           Gov. Aggregation
VEDO         4001879972223939            Gas           Gov. Aggregation   COH             111084780016                Gas           Gov. Aggregation
VEDO         4001926022148514            Gas           Gov. Aggregation   COH             166484200014                Gas           Gov. Aggregation
VEDO         4001930442188516            Gas           Gov. Aggregation   COH             111076450012                Gas           Gov. Aggregation
VEDO         4001931672185260            Gas           Gov. Aggregation   COH             111077150013                Gas           Gov. Aggregation
VEDO         4001931792188637            Gas           Gov. Aggregation   COH             111111540017                Gas           Gov. Aggregation
VEDO         4001941222189627            Gas           Gov. Aggregation   COH             140698870011                Gas           Gov. Aggregation
VEDO         4001944682189967            Gas           Gov. Aggregation   COH             111080620017                Gas           Gov. Aggregation
VEDO         4001952762190739            Gas           Gov. Aggregation   COH             133505840022                Gas           Gov. Aggregation
VEDO         4001953312174823            Gas           Gov. Aggregation   COH             115240490020                Gas           Gov. Aggregation
VEDO         4002001372505318            Gas           Gov. Aggregation   COH             170652840017                Gas           Gov. Aggregation
VEDO         4002001942152057            Gas           Gov. Aggregation   COH             170718550018                Gas           Gov. Aggregation
VEDO         4002009422196270            Gas           Gov. Aggregation   COH             172429400029                Gas           Gov. Aggregation
VEDO         4002014682368688            Gas           Gov. Aggregation   COH             173544620019                Gas           Gov. Aggregation
VEDO         4002014802315137            Gas           Gov. Aggregation   COH             173578160015                Gas           Gov. Aggregation
VEDO         4002015962196910            Gas           Gov. Aggregation   COH             173884960018                Gas           Gov. Aggregation
VEDO         4002022282200255            Gas           Gov. Aggregation   COH             173925110018                Gas           Gov. Aggregation
VEDO         4002057052200993            Gas           Gov. Aggregation   COH             174105230010                Gas           Gov. Aggregation
VEDO         4002060632201355            Gas           Gov. Aggregation   COH             147753040029                Gas           Gov. Aggregation
VEDO         4002062922526591            Gas           Gov. Aggregation   COH             110398900016                Gas           Gov. Aggregation
VEDO         4002086422580725            Gas           Gov. Aggregation   COH             148501660030                Gas           Gov. Aggregation
VEDO         4002097232674944            Gas           Gov. Aggregation   COH             153203540021                Gas           Gov. Aggregation
VEDO         4002128622207996            Gas           Gov. Aggregation   COH             110962920015                Gas           Gov. Aggregation
VEDO         4002129122208042            Gas           Gov. Aggregation   COH             115228980014                Gas           Gov. Aggregation
VEDO         4002136272208784            Gas           Gov. Aggregation   COH             115170040014                Gas           Gov. Aggregation
VEDO         4002137322208868            Gas           Gov. Aggregation   COH             148070080019                Gas           Gov. Aggregation
VEDO         4002140292209165            Gas           Gov. Aggregation   COH             157491280014                Gas           Gov. Aggregation
VEDO         4002140742209221            Gas           Gov. Aggregation   COH             158709480036                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4002192172214373            Gas           Gov. Aggregation   COH             177401350014                Gas           Gov. Aggregation
VEDO         4002197052335057            Gas           Gov. Aggregation   COH             114981670014                Gas           Gov. Aggregation
VEDO         4002198512214971            Gas           Gov. Aggregation   COH             115015870018                Gas           Gov. Aggregation
VEDO         4002198972302516            Gas           Gov. Aggregation   COH             157841850011                Gas           Gov. Aggregation
VEDO         4002201342429069            Gas           Gov. Aggregation   COH             161839380019                Gas           Gov. Aggregation
VEDO         4002203742215488            Gas           Gov. Aggregation   COH             145401890019                Gas           Gov. Aggregation
VEDO         4002217902157771            Gas           Gov. Aggregation   COH             151353050010                Gas           Gov. Aggregation
VEDO         4002257042467642            Gas           Gov. Aggregation   COH             151474770040                Gas           Gov. Aggregation
VEDO         4002260132252949            Gas           Gov. Aggregation   COH             153514030038                Gas           Gov. Aggregation
VEDO         4002267042410919            Gas           Gov. Aggregation   COH             117248110012                Gas           Gov. Aggregation
VEDO         4002274922182491            Gas           Gov. Aggregation   COH             133722710038                Gas           Gov. Aggregation
VEDO         4002278612222976            Gas           Gov. Aggregation   COH             166705430043                Gas           Gov. Aggregation
VEDO         4002288372327866            Gas           Gov. Aggregation   COH             149435480056                Gas           Gov. Aggregation
VEDO         4002295302587919            Gas           Gov. Aggregation   COH             166106080029                Gas           Gov. Aggregation
VEDO         4002320662536769            Gas           Gov. Aggregation   COH             144762990097                Gas           Gov. Aggregation
VEDO         4002358112445369            Gas           Gov. Aggregation   COH             137936930044                Gas           Gov. Aggregation
VEDO         4002358802230840            Gas           Gov. Aggregation   COH             202073790017                Gas           Gov. Aggregation
VEDO         4002361222231073            Gas           Gov. Aggregation   COH             202715870018                Gas           Gov. Aggregation
VEDO         4002361382231086            Gas           Gov. Aggregation   COH             202734780017                Gas           Gov. Aggregation
VEDO         4002429502237850            Gas           Gov. Aggregation   COH             202383840028                Gas           Gov. Aggregation
VEDO         4002435582238458            Gas           Gov. Aggregation   COH             198724590033                Gas           Gov. Aggregation
VEDO         4002437432238633            Gas           Gov. Aggregation   COH             199095790026                Gas           Gov. Aggregation
VEDO         4002438722341970            Gas           Gov. Aggregation   COH             197304750012                Gas           Gov. Aggregation
VEDO         4002443552187881            Gas           Gov. Aggregation   COH             137343040020                Gas           Gov. Aggregation
VEDO         4002445142388526            Gas           Gov. Aggregation   VEDO            4015779442543808            Gas           Gov. Aggregation
VEDO         4002445172221713            Gas           Gov. Aggregation   VEDO            4005087422520524            Gas           Gov. Aggregation
VEDO         4002500952245007            Gas           Gov. Aggregation   VEDO            4004901382499653            Gas           Gov. Aggregation
VEDO         4002504732245399            Gas           Gov. Aggregation   COH             111107260024                Gas           Gov. Aggregation
VEDO         4002517682442592            Gas           Gov. Aggregation   VEDO            4015868202175798            Gas           Gov. Aggregation
VEDO         4002518742246798            Gas           Gov. Aggregation   COH             111249810019                Gas           Gov. Aggregation
VEDO         4002524472247350            Gas           Gov. Aggregation   COH             111250110013                Gas           Gov. Aggregation
VEDO         4002525462247469            Gas           Gov. Aggregation   COH             111250510028                Gas           Gov. Aggregation
VEDO         4002563492251343            Gas           Gov. Aggregation   COH             129816220074                Gas           Gov. Aggregation
VEDO         4002569572217452            Gas           Gov. Aggregation   COH             158841940011                Gas           Gov. Aggregation
VEDO         4002586112253585            Gas           Gov. Aggregation   COH             108787400029                Gas           Gov. Aggregation
VEDO         4002594122254371            Gas           Gov. Aggregation   COH             108802750013                Gas           Gov. Aggregation
VEDO         4002596892254672            Gas           Gov. Aggregation   COH             108803380019                Gas           Gov. Aggregation
VEDO         4002606242255555            Gas           Gov. Aggregation   COH             108803910017                Gas           Gov. Aggregation
VEDO         4002660122303910            Gas           Gov. Aggregation   COH             144981750011                Gas           Gov. Aggregation
VEDO         4002662662228573            Gas           Gov. Aggregation   COH             111233570013                Gas           Gov. Aggregation
VEDO         4002667602261617            Gas           Gov. Aggregation   COH             111233730019                Gas           Gov. Aggregation
VEDO         4002672722224424            Gas           Gov. Aggregation   COH             111234020016                Gas           Gov. Aggregation
VEDO         4002690672263931            Gas           Gov. Aggregation   COH             111234020025                Gas           Gov. Aggregation
VEDO         4002695252265144            Gas           Gov. Aggregation   COH             111234030014                Gas           Gov. Aggregation
VEDO         4002758262270700            Gas           Gov. Aggregation   COH             110434910025                Gas           Gov. Aggregation
VEDO         4002767782271653            Gas           Gov. Aggregation   COH             110437080015                Gas           Gov. Aggregation
VEDO         4002777452101225            Gas           Gov. Aggregation   COH             110437870019                Gas           Gov. Aggregation
VEDO         4002778162519685            Gas           Gov. Aggregation   COH             108805280016                Gas           Gov. Aggregation
VEDO         4002833582411214            Gas           Gov. Aggregation   COH             108819220028                Gas           Gov. Aggregation
VEDO         4002835192492188            Gas           Gov. Aggregation   COH             197582910010                Gas           Gov. Aggregation
VEDO         4002838342278852            Gas           Gov. Aggregation   COH             188200060018                Gas           Gov. Aggregation
VEDO         4002845602461643            Gas           Gov. Aggregation   COH             195600540029                Gas           Gov. Aggregation
VEDO         4002853462468555            Gas           Gov. Aggregation   COH             122570870068                Gas           Gov. Aggregation
VEDO         4002856772591297            Gas           Gov. Aggregation   COH             160718630013                Gas           Gov. Aggregation
VEDO         4002884612154854            Gas           Gov. Aggregation   COH             155753510020                Gas           Gov. Aggregation
VEDO         4002891702197797            Gas           Gov. Aggregation   COH             186048330017                Gas           Gov. Aggregation
VEDO         4002891702384562            Gas           Gov. Aggregation   COH             189670750017                Gas           Gov. Aggregation
VEDO         4002891712263746            Gas           Gov. Aggregation   COH             170736370036                Gas           Gov. Aggregation
VEDO         4002905332285501            Gas           Gov. Aggregation   COH             162537950063                Gas           Gov. Aggregation
VEDO         4002917882397271            Gas           Gov. Aggregation   COH             140415440019                Gas           Gov. Aggregation
VEDO         4002968172450426            Gas           Gov. Aggregation   COH             203516410015                Gas           Gov. Aggregation
VEDO         4002977012292974            Gas           Gov. Aggregation   COH             121947630024                Gas           Gov. Aggregation
VEDO         4002978002671745            Gas           Gov. Aggregation   COH             177831000034                Gas           Gov. Aggregation
VEDO         4002985442293818            Gas           Gov. Aggregation   COH             177155120033                Gas           Gov. Aggregation
VEDO         4002989062294190            Gas           Gov. Aggregation   COH             200984070037                Gas           Gov. Aggregation
VEDO         4002993182477845            Gas           Gov. Aggregation   COH             190334120036                Gas           Gov. Aggregation
VEDO         4003055602325263            Gas           Gov. Aggregation   COH             191794870025                Gas           Gov. Aggregation
VEDO         4003079472303438            Gas           Gov. Aggregation   COH             187016680010                Gas           Gov. Aggregation
VEDO         4003085262304016            Gas           Gov. Aggregation   COH             177238030027                Gas           Gov. Aggregation
VEDO         4003093612304860            Gas           Gov. Aggregation   COH             165193870012                Gas           Gov. Aggregation
VEDO         4003150452162766            Gas           Gov. Aggregation   COH             190857160021                Gas           Gov. Aggregation
VEDO         4003156732311491            Gas           Gov. Aggregation   COH             191691990019                Gas           Gov. Aggregation
VEDO         4003167732312636            Gas           Gov. Aggregation   COH             171448600028                Gas           Gov. Aggregation
VEDO         4003170052312871            Gas           Gov. Aggregation   COH             170737750089                Gas           Gov. Aggregation
VEDO         4003174282443516            Gas           Gov. Aggregation   COH             169695970022                Gas           Gov. Aggregation
VEDO         4003174832313355            Gas           Gov. Aggregation   COH             170279550029                Gas           Gov. Aggregation
VEDO         4003209832316956            Gas           Gov. Aggregation   COH             168174520076                Gas           Gov. Aggregation
VEDO         4003209832420726            Gas           Gov. Aggregation   COH             188068240012                Gas           Gov. Aggregation
VEDO         4003211942440376            Gas           Gov. Aggregation   COH             185076600067                Gas           Gov. Aggregation
VEDO         4003212852317240            Gas           Gov. Aggregation   COH             177790460018                Gas           Gov. Aggregation
VEDO         4003230442513594            Gas           Gov. Aggregation   COH             177193800058                Gas           Gov. Aggregation
VEDO         4003280542477447            Gas           Gov. Aggregation   COH             191826260015                Gas           Gov. Aggregation
VEDO         4003288062623415            Gas           Gov. Aggregation   COH             151597920048                Gas           Gov. Aggregation
VEDO         4003288942325064            Gas           Gov. Aggregation   COH             154534670022                Gas           Gov. Aggregation
VEDO         4003293902325606            Gas           Gov. Aggregation   COH             134357630100                Gas           Gov. Aggregation
VEDO         4003311122327456            Gas           Gov. Aggregation   COH             132417890020                Gas           Gov. Aggregation
VEDO         4003311372327482            Gas           Gov. Aggregation   COH             132701790135                Gas           Gov. Aggregation
VEDO         4003333832329752            Gas           Gov. Aggregation   COH             172040040029                Gas           Gov. Aggregation
VEDO         4003394272336261            Gas           Gov. Aggregation   COH             162278750010                Gas           Gov. Aggregation
VEDO         4003396562277803            Gas           Gov. Aggregation   COH             163043700025                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4003403452337209            Gas           Gov. Aggregation   COH             129703590049                Gas           Gov. Aggregation
VEDO         4003404992337357            Gas           Gov. Aggregation   COH             122482270016                Gas           Gov. Aggregation
VEDO         4003407682523240            Gas           Gov. Aggregation   COH             186144450036                Gas           Gov. Aggregation
VEDO         4003466942512612            Gas           Gov. Aggregation   COH             188839550012                Gas           Gov. Aggregation
VEDO         4003467502343940            Gas           Gov. Aggregation   COH             164439310018                Gas           Gov. Aggregation
VEDO         4003472952379832            Gas           Gov. Aggregation   COH             195079220041                Gas           Gov. Aggregation
VEDO         4003475692282120            Gas           Gov. Aggregation   COH             196817550018                Gas           Gov. Aggregation
VEDO         4003479132266719            Gas           Gov. Aggregation   COH             197517370020                Gas           Gov. Aggregation
VEDO         4003479132345082            Gas           Gov. Aggregation   COH             201293420019                Gas           Gov. Aggregation
VEDO         4003479372393475            Gas           Gov. Aggregation   COH             173167340054                Gas           Gov. Aggregation
VEDO         4003549622352404            Gas           Gov. Aggregation   COH             163574310013                Gas           Gov. Aggregation
VEDO         4003551542352616            Gas           Gov. Aggregation   COH             199253600029                Gas           Gov. Aggregation
VEDO         4003561722353690            Gas           Gov. Aggregation   COH             199072790015                Gas           Gov. Aggregation
VEDO         4003602742479915            Gas           Gov. Aggregation   COH             199080500018                Gas           Gov. Aggregation
VEDO         4003604912358361            Gas           Gov. Aggregation   COH             169980980016                Gas           Gov. Aggregation
VEDO         4003622612198024            Gas           Gov. Aggregation   COH             170295180041                Gas           Gov. Aggregation
VEDO         4003625142360459            Gas           Gov. Aggregation   COH             148388130024                Gas           Gov. Aggregation
VEDO         4003627372360698            Gas           Gov. Aggregation   COH             157646840035                Gas           Gov. Aggregation
VEDO         4003627882360750            Gas           Gov. Aggregation   COH             156431040048                Gas           Gov. Aggregation
VEDO         4003637082361726            Gas           Gov. Aggregation   COH             159377700042                Gas           Gov. Aggregation
VEDO         4003668032364995            Gas           Gov. Aggregation   COH             122432060015                Gas           Gov. Aggregation
VEDO         4003674232333300            Gas           Gov. Aggregation   COH             130201220029                Gas           Gov. Aggregation
VEDO         4003694922349168            Gas           Gov. Aggregation   COH             173809030020                Gas           Gov. Aggregation
VEDO         4003695272367857            Gas           Gov. Aggregation   COH             137764150016                Gas           Gov. Aggregation
VEDO         4003700112368357            Gas           Gov. Aggregation   COH             153176540011                Gas           Gov. Aggregation
VEDO         4003701692368514            Gas           Gov. Aggregation   COH             122512200024                Gas           Gov. Aggregation
VEDO         4003763142640428            Gas           Gov. Aggregation   COH             122513140025                Gas           Gov. Aggregation
VEDO         4003776042183935            Gas           Gov. Aggregation   COH             194685650010                Gas           Gov. Aggregation
VEDO         4003781842377092            Gas           Gov. Aggregation   COH             195008850020                Gas           Gov. Aggregation
VEDO         4003785042377428            Gas           Gov. Aggregation   COH             204488300018                Gas           Gov. Aggregation
VEDO         4003787252568308            Gas           Gov. Aggregation   COH             199460440015                Gas           Gov. Aggregation
VEDO         4003787682377721            Gas           Gov. Aggregation   COH             200133080010                Gas           Gov. Aggregation
VEDO         4003845552301110            Gas           Gov. Aggregation   COH             200263640017                Gas           Gov. Aggregation
VEDO         4003855232385097            Gas           Gov. Aggregation   COH             199752660029                Gas           Gov. Aggregation
VEDO         4003856332385205            Gas           Gov. Aggregation   COH             157085140014                Gas           Gov. Aggregation
VEDO         4003856832523657            Gas           Gov. Aggregation   COH             142147500013                Gas           Gov. Aggregation
VEDO         4003857202385288            Gas           Gov. Aggregation   COH             192289280010                Gas           Gov. Aggregation
VEDO         4003866292347588            Gas           Gov. Aggregation   COH             201977770016                Gas           Gov. Aggregation
VEDO         4003898362672004            Gas           Gov. Aggregation   COH             201840160013                Gas           Gov. Aggregation
VEDO         4003906262390542            Gas           Gov. Aggregation   COH             201268490018                Gas           Gov. Aggregation
VEDO         4003907692452493            Gas           Gov. Aggregation   COH             202575620018                Gas           Gov. Aggregation
VEDO         4003911962391172            Gas           Gov. Aggregation   COH             202942920016                Gas           Gov. Aggregation
VEDO         4003914502184379            Gas           Gov. Aggregation   COH             203097850013                Gas           Gov. Aggregation
VEDO         4003918972672913            Gas           Gov. Aggregation   COH             157035510039                Gas           Gov. Aggregation
VEDO         4003968232397239            Gas           Gov. Aggregation   COH             186549510017                Gas           Gov. Aggregation
VEDO         4003975602395438            Gas           Gov. Aggregation   COH             197286100036                Gas           Gov. Aggregation
VEDO         4003977882398273            Gas           Gov. Aggregation   COH             194663950013                Gas           Gov. Aggregation
VEDO         4003979452398440            Gas           Gov. Aggregation   COH             194523190055                Gas           Gov. Aggregation
VEDO         4003986862630571            Gas           Gov. Aggregation   COH             149719190037                Gas           Gov. Aggregation
VEDO         4004039102404920            Gas           Gov. Aggregation   COH             189765270017                Gas           Gov. Aggregation
VEDO         4004042402647788            Gas           Gov. Aggregation   COH             197538030018                Gas           Gov. Aggregation
VEDO         4004045052405560            Gas           Gov. Aggregation   COH             196091960030                Gas           Gov. Aggregation
VEDO         4004053412406442            Gas           Gov. Aggregation   COH             199289070017                Gas           Gov. Aggregation
VEDO         4004060522233987            Gas           Gov. Aggregation   COH             197698800027                Gas           Gov. Aggregation
VEDO         4004122352413958            Gas           Gov. Aggregation   COH             122494760027                Gas           Gov. Aggregation
VEDO         4004132892431661            Gas           Gov. Aggregation   COH             122380530035                Gas           Gov. Aggregation
VEDO         4004138882415810            Gas           Gov. Aggregation   COH             122338340025                Gas           Gov. Aggregation
VEDO         4004140522415541            Gas           Gov. Aggregation   COH             122474920025                Gas           Gov. Aggregation
VEDO         4004142632306069            Gas           Gov. Aggregation   COH             122466030047                Gas           Gov. Aggregation
VEDO         4004148082416780            Gas           Gov. Aggregation   COH             156515440037                Gas           Gov. Aggregation
VEDO         4004156602327728            Gas           Gov. Aggregation   COH             204954440010                Gas           Gov. Aggregation
VEDO         4004208812633368            Gas           Gov. Aggregation   COH             115516460012                Gas           Gov. Aggregation
VEDO         4004210672320699            Gas           Gov. Aggregation   COH             195814080014                Gas           Gov. Aggregation
VEDO         4004224672121014            Gas           Gov. Aggregation   COH             193471010018                Gas           Gov. Aggregation
VEDO         4004224672386759            Gas           Gov. Aggregation   COH             192618940030                Gas           Gov. Aggregation
VEDO         4004262952401222            Gas           Gov. Aggregation   COH             188958460019                Gas           Gov. Aggregation
VEDO         4004264282429480            Gas           Gov. Aggregation   VEDO            4015656602418914            Gas           Gov. Aggregation
VEDO         4004275212430670            Gas           Gov. Aggregation   VEDO            4020233102500783            Gas           Gov. Aggregation
VEDO         4004281322672572            Gas           Gov. Aggregation   VEDO            4020070722444150            Gas           Gov. Aggregation
VEDO         4004289082241971            Gas           Gov. Aggregation   VEDO            4017341862141009            Gas           Gov. Aggregation
VEDO         4004289862432319            Gas           Gov. Aggregation   VEDO            4020164062178097            Gas           Gov. Aggregation
VEDO         4004315412435042            Gas           Gov. Aggregation   VEDO            4019209632506141            Gas           Gov. Aggregation
VEDO         4004319202435478            Gas           Gov. Aggregation   VEDO            4017443482641490            Gas           Gov. Aggregation
VEDO         4004319712415746            Gas           Gov. Aggregation   VEDO            4020683612329239            Gas           Gov. Aggregation
VEDO         4004327172436366            Gas           Gov. Aggregation   VEDO            4020794542636547            Gas           Gov. Aggregation
VEDO         4004330842436793            Gas           Gov. Aggregation   VEDO            4020876222641477            Gas           Gov. Aggregation
VEDO         4004346592438488            Gas           Gov. Aggregation   VEDO            4015549892270715            Gas           Gov. Aggregation
VEDO         4004349382438813            Gas           Gov. Aggregation   VEDO            4004792812336183            Gas           Gov. Aggregation
VEDO         4004389972623803            Gas           Gov. Aggregation   VEDO            4001606832146787            Gas           Gov. Aggregation
VEDO         4004391172531029            Gas           Gov. Aggregation   VEDO            4020318352367426            Gas           Gov. Aggregation
VEDO         4004392582386132            Gas           Gov. Aggregation   VEDO            4018792802394911            Gas           Gov. Aggregation
VEDO         4004392582443532            Gas           Gov. Aggregation   VEDO            4001792892285707            Gas           Gov. Aggregation
VEDO         4004392582500408            Gas           Gov. Aggregation   VEDO            4004302012470086            Gas           Gov. Aggregation
VEDO         4004397382444084            Gas           Gov. Aggregation   VEDO            4016876042424713            Gas           Gov. Aggregation
VEDO         4004409832509674            Gas           Gov. Aggregation   VEDO            4018264122671884            Gas           Gov. Aggregation
VEDO         4004410292522704            Gas           Gov. Aggregation   VEDO            4018987832511816            Gas           Gov. Aggregation
VEDO         4004435652313317            Gas           Gov. Aggregation   VEDO            4018563202165162            Gas           Gov. Aggregation
VEDO         4004442382119460            Gas           Gov. Aggregation   VEDO            4020057862636443            Gas           Gov. Aggregation
VEDO         4004442392174580            Gas           Gov. Aggregation   VEDO            4020927342128653            Gas           Gov. Aggregation
VEDO         4004451722449994            Gas           Gov. Aggregation   VEDO            4020024792161404            Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4004455572121968            Gas           Gov. Aggregation   VEDO            4003471792672639            Gas           Gov. Aggregation
VEDO         4004468932451867            Gas           Gov. Aggregation   VEDO            4001840312673119            Gas           Gov. Aggregation
VEDO         4004528112458469            Gas           Gov. Aggregation   VEDO            4003300072246297            Gas           Gov. Aggregation
VEDO         4004536552412846            Gas           Gov. Aggregation   VEDO            4019981962444412            Gas           Gov. Aggregation
VEDO         4004550472435991            Gas           Gov. Aggregation   VEDO            4015129842331497            Gas           Gov. Aggregation
VEDO         4004562042462187            Gas           Gov. Aggregation   VEDO            4017126522248610            Gas           Gov. Aggregation
VEDO         4004564802462505            Gas           Gov. Aggregation   VEDO            4016615842264037            Gas           Gov. Aggregation
VEDO         4004567882462876            Gas           Gov. Aggregation   VEDO            4018671632119176            Gas           Gov. Aggregation
VEDO         4004635742200300            Gas           Gov. Aggregation   VEDO            4018684162199920            Gas           Gov. Aggregation
VEDO         4004649992356403            Gas           Gov. Aggregation   VEDO            4018737842105638            Gas           Gov. Aggregation
VEDO         4004650702472066            Gas           Gov. Aggregation   VEDO            4020911142466168            Gas           Gov. Aggregation
VEDO         4004684542475825            Gas           Gov. Aggregation   VEDO            4002183632406354            Gas           Gov. Aggregation
VEDO         4004741772482013            Gas           Gov. Aggregation   VEDO            4003886022432395            Gas           Gov. Aggregation
VEDO         4004749932482919            Gas           Gov. Aggregation   VEDO            4015189572352406            Gas           Gov. Aggregation
VEDO         4004750472482988            Gas           Gov. Aggregation   VEDO            4016581652243052            Gas           Gov. Aggregation
VEDO         4004770572358197            Gas           Gov. Aggregation   VEDO            4015391892381365            Gas           Gov. Aggregation
VEDO         4004772142485364            Gas           Gov. Aggregation   VEDO            4016181632101277            Gas           Gov. Aggregation
VEDO         4004772862485452            Gas           Gov. Aggregation   VEDO            4016447742129782            Gas           Gov. Aggregation
VEDO         4004774102485594            Gas           Gov. Aggregation   VEDO            4020192712231387            Gas           Gov. Aggregation
VEDO         4004783072486602            Gas           Gov. Aggregation   VEDO            4020192712265855            Gas           Gov. Aggregation
VEDO         4004834802405712            Gas           Gov. Aggregation   VEDO            4020151552367413            Gas           Gov. Aggregation
VEDO         4004835572237889            Gas           Gov. Aggregation   VEDO            4020119112252122            Gas           Gov. Aggregation
VEDO         4004874092401575            Gas           Gov. Aggregation   VEDO            4020087722320407            Gas           Gov. Aggregation
VEDO         4004899282141956            Gas           Gov. Aggregation   VEDO            4020066132240359            Gas           Gov. Aggregation
VEDO         4004901252138934            Gas           Gov. Aggregation   VEDO            4016438292183695            Gas           Gov. Aggregation
VEDO         4004904802500017            Gas           Gov. Aggregation   VEDO            4004509292456352            Gas           Gov. Aggregation
VEDO         4004944732458594            Gas           Gov. Aggregation   VEDO            4017076812340497            Gas           Gov. Aggregation
VEDO         4004946912504684            Gas           Gov. Aggregation   VEDO            4020802602272819            Gas           Gov. Aggregation
VEDO         4004957242505886            Gas           Gov. Aggregation   VEDO            4019207012264082            Gas           Gov. Aggregation
VEDO         4004961522362633            Gas           Gov. Aggregation   VEDO            4019945772144629            Gas           Gov. Aggregation
VEDO         4004984032508894            Gas           Gov. Aggregation   VEDO            4020142642369460            Gas           Gov. Aggregation
VEDO         4005055772516969            Gas           Gov. Aggregation   VEDO            4018989102427030            Gas           Gov. Aggregation
VEDO         4005066802518268            Gas           Gov. Aggregation   VEDO            4020875742317143            Gas           Gov. Aggregation
VEDO         4005078832632653            Gas           Gov. Aggregation   VEDO            4016227302357111            Gas           Gov. Aggregation
VEDO         4005090392334627            Gas           Gov. Aggregation   VEDO            4019498642289285            Gas           Gov. Aggregation
VEDO         4005092142415741            Gas           Gov. Aggregation   VEDO            4020220392140276            Gas           Gov. Aggregation
VEDO         4005157352528534            Gas           Gov. Aggregation   VEDO            4020272632214568            Gas           Gov. Aggregation
VEDO         4010018212343378            Gas           Gov. Aggregation   VEDO            4001763392356566            Gas           Gov. Aggregation
VEDO         4010025222155363            Gas           Gov. Aggregation   VEDO            4018548032344361            Gas           Gov. Aggregation
VEDO         4010025222369139            Gas           Gov. Aggregation   VEDO            4020800342204681            Gas           Gov. Aggregation
VEDO         4010025222403803            Gas           Gov. Aggregation   VEDO            4020248752276947            Gas           Gov. Aggregation
VEDO         4010032832328040            Gas           Gov. Aggregation   COH             144089870018                Gas           Gov. Aggregation
VEDO         4010032842112850            Gas           Gov. Aggregation   COH             122377890019                Gas           Gov. Aggregation
VEDO         4010103292392435            Gas           Gov. Aggregation   COH             122501380020                Gas           Gov. Aggregation
VEDO         4015005992535087            Gas           Gov. Aggregation   COH             142434810019                Gas           Gov. Aggregation
VEDO         4015100792333445            Gas           Gov. Aggregation   COH             122352200015                Gas           Gov. Aggregation
VEDO         4015113622532411            Gas           Gov. Aggregation   COH             122441920015                Gas           Gov. Aggregation
VEDO         4015114182266347            Gas           Gov. Aggregation   COH             122388750015                Gas           Gov. Aggregation
VEDO         4015117182258570            Gas           Gov. Aggregation   COH             167799010034                Gas           Gov. Aggregation
VEDO         4015120742395173            Gas           Gov. Aggregation   COH             168402910015                Gas           Gov. Aggregation
VEDO         4015131102174751            Gas           Gov. Aggregation   COH             122407840014                Gas           Gov. Aggregation
VEDO         4015142462461308            Gas           Gov. Aggregation   COH             122487700015                Gas           Gov. Aggregation
VEDO         4015145162303493            Gas           Gov. Aggregation   COH             165947120010                Gas           Gov. Aggregation
VEDO         4015198782242129            Gas           Gov. Aggregation   COH             150090030022                Gas           Gov. Aggregation
VEDO         4015227702197403            Gas           Gov. Aggregation   COH             150111400019                Gas           Gov. Aggregation
VEDO         4015231312275800            Gas           Gov. Aggregation   COH             150125190015                Gas           Gov. Aggregation
VEDO         4015246152152211            Gas           Gov. Aggregation   COH             150128150035                Gas           Gov. Aggregation
VEDO         4015254632643939            Gas           Gov. Aggregation   VEDO            4016276412317623            Gas           Gov. Aggregation
VEDO         4015258912533669            Gas           Gov. Aggregation   VEDO            4016777742340360            Gas           Gov. Aggregation
VEDO         4015349182482158            Gas           Gov. Aggregation   VEDO            4017263792172814            Gas           Gov. Aggregation
VEDO         4015351682538173            Gas           Gov. Aggregation   VEDO            4003856942121208            Gas           Gov. Aggregation
VEDO         4015357812124451            Gas           Gov. Aggregation   VEDO            4001192442167537            Gas           Gov. Aggregation
VEDO         4015358872448935            Gas           Gov. Aggregation   VEDO            4001606832247787            Gas           Gov. Aggregation
VEDO         4015360652549940            Gas           Gov. Aggregation   VEDO            4020110222281942            Gas           Gov. Aggregation
VEDO         4015455832321900            Gas           Gov. Aggregation   VEDO            4018208602231286            Gas           Gov. Aggregation
VEDO         4015460102194002            Gas           Gov. Aggregation   VEDO            4020318532429675            Gas           Gov. Aggregation
VEDO         4015464562279590            Gas           Gov. Aggregation   VEDO            4020015682304101            Gas           Gov. Aggregation
VEDO         4015464682457209            Gas           Gov. Aggregation   VEDO            4019283722263132            Gas           Gov. Aggregation
VEDO         4015469522176754            Gas           Gov. Aggregation   VEDO            4020914552190288            Gas           Gov. Aggregation
VEDO         4015470372384952            Gas           Gov. Aggregation   VEDO            4019967972347314            Gas           Gov. Aggregation
VEDO         4015507122316197            Gas           Gov. Aggregation   VEDO            4019866192456379            Gas           Gov. Aggregation
VEDO         4015515712192064            Gas           Gov. Aggregation   VEDO            4019524852399933            Gas           Gov. Aggregation
VEDO         4015544612161826            Gas           Gov. Aggregation   VEDO            4020123302505145            Gas           Gov. Aggregation
VEDO         4015562502490079            Gas           Gov. Aggregation   VEDO            4018198982363048            Gas           Gov. Aggregation
VEDO         4015571502445794            Gas           Gov. Aggregation   VEDO            4020318322363502            Gas           Gov. Aggregation
VEDO         4015609102486370            Gas           Gov. Aggregation   VEDO            4019959962428172            Gas           Gov. Aggregation
VEDO         4015612132345009            Gas           Gov. Aggregation   VEDO            4019530652485640            Gas           Gov. Aggregation
VEDO         4015615292101875            Gas           Gov. Aggregation   VEDO            4020237992478032            Gas           Gov. Aggregation
VEDO         4015618292287561            Gas           Gov. Aggregation   VEDO            4018392482281729            Gas           Gov. Aggregation
VEDO         4015624282343209            Gas           Gov. Aggregation   VEDO            4019759812215309            Gas           Gov. Aggregation
VEDO         4015631422276518            Gas           Gov. Aggregation   VEDO            4003356122403295            Gas           Gov. Aggregation
VEDO         4015632762302677            Gas           Gov. Aggregation   VEDO            4017324232209425            Gas           Gov. Aggregation
VEDO         4015670192139895            Gas           Gov. Aggregation   VEDO            4003332582329630            Gas           Gov. Aggregation
VEDO         4015675222540391            Gas           Gov. Aggregation   VEDO            4003060502301482            Gas           Gov. Aggregation
VEDO         4015676922541439            Gas           Gov. Aggregation   VEDO            4001598792156377            Gas           Gov. Aggregation
VEDO         4015695762276454            Gas           Gov. Aggregation   VEDO            4003510772348331            Gas           Gov. Aggregation
VEDO         4015748822590208            Gas           Gov. Aggregation   VEDO            4016148362484370            Gas           Gov. Aggregation
VEDO         4015754552624727            Gas           Gov. Aggregation   VEDO            4019972722107709            Gas           Gov. Aggregation
VEDO         4015765782173826            Gas           Gov. Aggregation   VEDO            4019229092264356            Gas           Gov. Aggregation
VEDO         4015784002671591            Gas           Gov. Aggregation   VEDO            4020318542455499            Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4015809412566657            Gas           Gov. Aggregation   VEDO            4020318392516665            Gas           Gov. Aggregation
VEDO         4015841362642197            Gas           Gov. Aggregation   VEDO            4020144182307049            Gas           Gov. Aggregation
VEDO         4015857552439917            Gas           Gov. Aggregation   VEDO            4020851862119097            Gas           Gov. Aggregation
VEDO         4015862302159173            Gas           Gov. Aggregation   VEDO            4020886332126504            Gas           Gov. Aggregation
VEDO         4015871822527297            Gas           Gov. Aggregation   VEDO            4020886352102957            Gas           Gov. Aggregation
VEDO         4015889062498972            Gas           Gov. Aggregation   VEDO            4020882742186587            Gas           Gov. Aggregation
VEDO         4015974412522964            Gas           Gov. Aggregation   VEDO            4016307742280344            Gas           Gov. Aggregation
VEDO         4015999112582266            Gas           Gov. Aggregation   VEDO            4020203132258971            Gas           Gov. Aggregation
VEDO         4016002932544133            Gas           Gov. Aggregation   VEDO            4018914622174719            Gas           Gov. Aggregation
VEDO         4016079662507852            Gas           Gov. Aggregation   VEDO            4018323562472656            Gas           Gov. Aggregation
VEDO         4016102412321944            Gas           Gov. Aggregation   VEDO            4020227832384059            Gas           Gov. Aggregation
VEDO         4016106172602046            Gas           Gov. Aggregation   VEDO            4020283572473343            Gas           Gov. Aggregation
VEDO         4016108732401106            Gas           Gov. Aggregation   VEDO            4020283982192689            Gas           Gov. Aggregation
VEDO         4016118882329362            Gas           Gov. Aggregation   VEDO            4020274472526926            Gas           Gov. Aggregation
VEDO         4016122632100649            Gas           Gov. Aggregation   VEDO            4019835792521976            Gas           Gov. Aggregation
VEDO         4016165402348671            Gas           Gov. Aggregation   VEDO            4018817032187324            Gas           Gov. Aggregation
VEDO         4016168432509183            Gas           Gov. Aggregation   VEDO            4020127702520968            Gas           Gov. Aggregation
VEDO         4016186742317449            Gas           Gov. Aggregation   VEDO            4020073272102636            Gas           Gov. Aggregation
VEDO         4016192212261126            Gas           Gov. Aggregation   VEDO            4020869552266320            Gas           Gov. Aggregation
VEDO         4016200862509866            Gas           Gov. Aggregation   VEDO            4020837162465668            Gas           Gov. Aggregation
VEDO         4016202192169577            Gas           Gov. Aggregation   VEDO            4020847782108937            Gas           Gov. Aggregation
VEDO         4016286122351926            Gas           Gov. Aggregation   VEDO            4019989702523074            Gas           Gov. Aggregation
VEDO         4016288352188583            Gas           Gov. Aggregation   VEDO            4019968702273808            Gas           Gov. Aggregation
VEDO         4016292212505436            Gas           Gov. Aggregation   VEDO            4019974102145803            Gas           Gov. Aggregation
VEDO         4016301212261852            Gas           Gov. Aggregation   VEDO            4018577392458435            Gas           Gov. Aggregation
VEDO         4016303222625677            Gas           Gov. Aggregation   VEDO            4020324922240708            Gas           Gov. Aggregation
VEDO         4016309702238889            Gas           Gov. Aggregation   VEDO            4020265482226170            Gas           Gov. Aggregation
VEDO         4016312592367230            Gas           Gov. Aggregation   VEDO            4018443372219809            Gas           Gov. Aggregation
VEDO         4016365242510843            Gas           Gov. Aggregation   VEDO            4020274982150211            Gas           Gov. Aggregation
VEDO         4016372532525034            Gas           Gov. Aggregation   VEDO            4020253012164446            Gas           Gov. Aggregation
VEDO         4016377462502542            Gas           Gov. Aggregation   VEDO            4018949242328418            Gas           Gov. Aggregation
VEDO         4016382452276840            Gas           Gov. Aggregation   VEDO            4017177462333533            Gas           Gov. Aggregation
VEDO         4016388182107295            Gas           Gov. Aggregation   VEDO            4015961362514187            Gas           Gov. Aggregation
VEDO         4016405072338943            Gas           Gov. Aggregation   VEDO            4005014192512278            Gas           Gov. Aggregation
VEDO         4016496302100892            Gas           Gov. Aggregation   VEDO            4003275372323665            Gas           Gov. Aggregation
VEDO         4016501102319258            Gas           Gov. Aggregation   VEDO            4017041192133270            Gas           Gov. Aggregation
VEDO         4016514702582377            Gas           Gov. Aggregation   VEDO            4020253452135140            Gas           Gov. Aggregation
VEDO         4016529942596461            Gas           Gov. Aggregation   VEDO            4016244012273912            Gas           Gov. Aggregation
VEDO         4016531732209167            Gas           Gov. Aggregation   VEDO            4019443042145920            Gas           Gov. Aggregation
VEDO         4016533392315899            Gas           Gov. Aggregation   VEDO            4020061432195034            Gas           Gov. Aggregation
VEDO         4016571562449557            Gas           Gov. Aggregation   VEDO            4019389632195347            Gas           Gov. Aggregation
VEDO         4016572592624372            Gas           Gov. Aggregation   VEDO            4018682432110567            Gas           Gov. Aggregation
VEDO         4016577242550511            Gas           Gov. Aggregation   VEDO            4019039452248129            Gas           Gov. Aggregation
VEDO         4016586642255056            Gas           Gov. Aggregation   VEDO            4020292552400383            Gas           Gov. Aggregation
VEDO         4016590032449026            Gas           Gov. Aggregation   VEDO            4020187512372296            Gas           Gov. Aggregation
VEDO         4016610202119028            Gas           Gov. Aggregation   VEDO            4003528802348976            Gas           Gov. Aggregation
VEDO         4016656452218559            Gas           Gov. Aggregation   VEDO            4016584462397603            Gas           Gov. Aggregation
VEDO         4016657302606239            Gas           Gov. Aggregation   VEDO            4018207102317564            Gas           Gov. Aggregation
VEDO         4016657352194323            Gas           Gov. Aggregation   VEDO            4020316052195363            Gas           Gov. Aggregation
VEDO         4016670352163606            Gas           Gov. Aggregation   VEDO            4020309462196425            Gas           Gov. Aggregation
VEDO         4016687192177884            Gas           Gov. Aggregation   VEDO            4020909882391307            Gas           Gov. Aggregation
VEDO         4016691122160379            Gas           Gov. Aggregation   VEDO            4020111772436822            Gas           Gov. Aggregation
VEDO         4016697762155313            Gas           Gov. Aggregation   VEDO            4020931722330654            Gas           Gov. Aggregation
VEDO         4016774522313879            Gas           Gov. Aggregation   VEDO            4015597222636536            Gas           Gov. Aggregation
VEDO         4016774522340701            Gas           Gov. Aggregation   VEDO            4004229342636912            Gas           Gov. Aggregation
VEDO         4016775082137494            Gas           Gov. Aggregation   VEDO            4020134482636261            Gas           Gov. Aggregation
VEDO         4016777362122228            Gas           Gov. Aggregation   VEDO            4020312092636535            Gas           Gov. Aggregation
VEDO         4016781562118106            Gas           Gov. Aggregation   VEDO            4001622952636572            Gas           Gov. Aggregation
VEDO         4016786192322293            Gas           Gov. Aggregation   VEDO            4002027742641372            Gas           Gov. Aggregation
VEDO         4016786202387100            Gas           Gov. Aggregation   VEDO            4003844652636518            Gas           Gov. Aggregation
VEDO         4016790582638129            Gas           Gov. Aggregation   VEDO            4001337202639154            Gas           Gov. Aggregation
VEDO         4016844032423248            Gas           Gov. Aggregation   VEDO            4002691582643982            Gas           Gov. Aggregation
VEDO         4016847562512001            Gas           Gov. Aggregation   VEDO            4017035932676606            Gas           Gov. Aggregation
VEDO         4016847652605817            Gas           Gov. Aggregation   VEDO            4020317082676650            Gas           Gov. Aggregation
VEDO         4016882362517517            Gas           Gov. Aggregation   VEDO            4020315072676641            Gas           Gov. Aggregation
VEDO         4016893472222727            Gas           Gov. Aggregation   VEDO            4019938312641361            Gas           Gov. Aggregation
VEDO         4016961942354268            Gas           Gov. Aggregation   VEDO            4001774862173185            Gas           Gov. Aggregation
VEDO         4016962032398487            Gas           Gov. Aggregation   VEDO            4015759832525243            Gas           Gov. Aggregation
VEDO         4016970482605539            Gas           Gov. Aggregation   VEDO            4016765412301427            Gas           Gov. Aggregation
VEDO         4016978252251683            Gas           Gov. Aggregation   VEDO            4019318382368905            Gas           Gov. Aggregation
VEDO         4016987562361128            Gas           Gov. Aggregation   VEDO            4018685542247764            Gas           Gov. Aggregation
VEDO         4016991722108809            Gas           Gov. Aggregation   VEDO            4020877382512392            Gas           Gov. Aggregation
VEDO         4016992432605816            Gas           Gov. Aggregation   VEDO            4020907722409703            Gas           Gov. Aggregation
VEDO         4017052402639294            Gas           Gov. Aggregation   VEDO            4020271272270197            Gas           Gov. Aggregation
VEDO         4017069932384506            Gas           Gov. Aggregation   VEDO            4020256462210919            Gas           Gov. Aggregation
VEDO         4017069992423127            Gas           Gov. Aggregation   VEDO            4018305002222932            Gas           Gov. Aggregation
VEDO         4017072112605819            Gas           Gov. Aggregation   VEDO            4019467162246724            Gas           Gov. Aggregation
VEDO         4017092372311934            Gas           Gov. Aggregation   VEDO            4020181632214384            Gas           Gov. Aggregation
VEDO         4017095882271633            Gas           Gov. Aggregation   VEDO            4018996412244778            Gas           Gov. Aggregation
VEDO         4017139422439022            Gas           Gov. Aggregation   VEDO            4020793322258582            Gas           Gov. Aggregation
VEDO         4017144062336012            Gas           Gov. Aggregation   VEDO            4018087112449768            Gas           Gov. Aggregation
VEDO         4017144462122539            Gas           Gov. Aggregation   COH             186983580022                Gas           Gov. Aggregation
VEDO         4017145532167307            Gas           Gov. Aggregation   COH             124375310030                Gas           Gov. Aggregation
VEDO         4017152452305329            Gas           Gov. Aggregation   COH             124516830022                Gas           Gov. Aggregation
VEDO         4017153162263289            Gas           Gov. Aggregation   COH             124532210019                Gas           Gov. Aggregation
VEDO         4017179052416802            Gas           Gov. Aggregation   COH             133228670026                Gas           Gov. Aggregation
VEDO         4017179352291875            Gas           Gov. Aggregation   COH             138705450016                Gas           Gov. Aggregation
VEDO         4017179652625709            Gas           Gov. Aggregation   COH             112238700023                Gas           Gov. Aggregation
VEDO         4017181802462715            Gas           Gov. Aggregation   COH             112378280026                Gas           Gov. Aggregation
VEDO         4017188302203013            Gas           Gov. Aggregation   VEDO            4016211172215972            Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4017226722285249            Gas           Gov. Aggregation   VEDO            4015797692227703            Gas           Gov. Aggregation
VEDO         4017229042625618            Gas           Gov. Aggregation   VEDO            4019233272444886            Gas           Gov. Aggregation
VEDO         4017231282275741            Gas           Gov. Aggregation   VEDO            4019831262104627            Gas           Gov. Aggregation
VEDO         4017283812448230            Gas           Gov. Aggregation   VEDO            4017997432512912            Gas           Gov. Aggregation
VEDO         4017286232626269            Gas           Gov. Aggregation   VEDO            4016609582493720            Gas           Gov. Aggregation
VEDO         4017290232384026            Gas           Gov. Aggregation   VEDO            4017365832307709            Gas           Gov. Aggregation
VEDO         4017293572304862            Gas           Gov. Aggregation   VEDO            4020196592367358            Gas           Gov. Aggregation
VEDO         4017300362162940            Gas           Gov. Aggregation   VEDO            4019462722326779            Gas           Gov. Aggregation
VEDO         4017300522486083            Gas           Gov. Aggregation   VEDO            4018846592513316            Gas           Gov. Aggregation
VEDO         4017332792529011            Gas           Gov. Aggregation   VEDO            4020910522498236            Gas           Gov. Aggregation
VEDO         4017333682117078            Gas           Gov. Aggregation   VEDO            4003848012279446            Gas           Gov. Aggregation
VEDO         4017337802599088            Gas           Gov. Aggregation   VEDO            4003879752360147            Gas           Gov. Aggregation
VEDO         4017343272453155            Gas           Gov. Aggregation   VEDO            4018527622360410            Gas           Gov. Aggregation
VEDO         4017344142252925            Gas           Gov. Aggregation   VEDO            4019235942291639            Gas           Gov. Aggregation
VEDO         4017345002249276            Gas           Gov. Aggregation   COH             204810480016                Gas           Gov. Aggregation
VEDO         4017397732315742            Gas           Gov. Aggregation   COH             189285570021                Gas           Gov. Aggregation
VEDO         4017400272157295            Gas           Gov. Aggregation   COH             203604730011                Gas           Gov. Aggregation
VEDO         4017401912444669            Gas           Gov. Aggregation   COH             204310630014                Gas           Gov. Aggregation
VEDO         4017410132367115            Gas           Gov. Aggregation   COH             205027960015                Gas           Gov. Aggregation
VEDO         4017411882213237            Gas           Gov. Aggregation   COH             201573690019                Gas           Gov. Aggregation
VEDO         4017416142505531            Gas           Gov. Aggregation   COH             202901630013                Gas           Gov. Aggregation
VEDO         4017426452377595            Gas           Gov. Aggregation   COH             204824860017                Gas           Gov. Aggregation
VEDO         4017462742376768            Gas           Gov. Aggregation   COH             203084280010                Gas           Gov. Aggregation
VEDO         4017480342421683            Gas           Gov. Aggregation   COH             205566170019                Gas           Gov. Aggregation
VEDO         4017484492183135            Gas           Gov. Aggregation   COH             203442900019                Gas           Gov. Aggregation
VEDO         4017484762223290            Gas           Gov. Aggregation   COH             204299430012                Gas           Gov. Aggregation
VEDO         4017489402277068            Gas           Gov. Aggregation   COH             201802930011                Gas           Gov. Aggregation
VEDO         4017554012276548            Gas           Gov. Aggregation   COH             165219360068                Gas           Gov. Aggregation
VEDO         4017554012441493            Gas           Gov. Aggregation   COH             115765420031                Gas           Gov. Aggregation
VEDO         4017561362590100            Gas           Gov. Aggregation   COH             168513290066                Gas           Gov. Aggregation
VEDO         4017570332259122            Gas           Gov. Aggregation   COH             177426770078                Gas           Gov. Aggregation
VEDO         4017576452602097            Gas           Gov. Aggregation   COH             199187190027                Gas           Gov. Aggregation
VEDO         4017584002172608            Gas           Gov. Aggregation   COH             204908800011                Gas           Gov. Aggregation
VEDO         4017619682298117            Gas           Gov. Aggregation   COH             143665230048                Gas           Gov. Aggregation
VEDO         4017635962130898            Gas           Gov. Aggregation   COH             111342160018                Gas           Gov. Aggregation
VEDO         4017637132271833            Gas           Gov. Aggregation   COH             151083510034                Gas           Gov. Aggregation
VEDO         4017638582211213            Gas           Gov. Aggregation   COH             176399920030                Gas           Gov. Aggregation
VEDO         4017641132624353            Gas           Gov. Aggregation   COH             188227930037                Gas           Gov. Aggregation
VEDO         4017661942375436            Gas           Gov. Aggregation   COH             203008140019                Gas           Gov. Aggregation
VEDO         4017722372152449            Gas           Gov. Aggregation   COH             203714190012                Gas           Gov. Aggregation
VEDO         4017726542203431            Gas           Gov. Aggregation   COH             202432360024                Gas           Gov. Aggregation
VEDO         4017728522142453            Gas           Gov. Aggregation   COH             169042110070                Gas           Gov. Aggregation
VEDO         4017739852514535            Gas           Gov. Aggregation   COH             196871130021                Gas           Gov. Aggregation
VEDO         4017739922497058            Gas           Gov. Aggregation   COH             204864970010                Gas           Gov. Aggregation
VEDO         4017747132259434            Gas           Gov. Aggregation   COH             201017270015                Gas           Gov. Aggregation
VEDO         4017821782149698            Gas           Gov. Aggregation   COH             201677630020                Gas           Gov. Aggregation
VEDO         4017822912358876            Gas           Gov. Aggregation   COH             203502940013                Gas           Gov. Aggregation
VEDO         4017823352382528            Gas           Gov. Aggregation   COH             203723100011                Gas           Gov. Aggregation
VEDO         4017832382628052            Gas           Gov. Aggregation   COH             204621320010                Gas           Gov. Aggregation
VEDO         4017844752522402            Gas           Gov. Aggregation   COH             204621340016                Gas           Gov. Aggregation
VEDO         4017915062443783            Gas           Gov. Aggregation   COH             204621350014                Gas           Gov. Aggregation
VEDO         4017915742125419            Gas           Gov. Aggregation   COH             204810580015                Gas           Gov. Aggregation
VEDO         4017916432295265            Gas           Gov. Aggregation   COH             205467230016                Gas           Gov. Aggregation
VEDO         4017958472313737            Gas           Gov. Aggregation   COH             205527090018                Gas           Gov. Aggregation
VEDO         4017962192608712            Gas           Gov. Aggregation   COH             205584120011                Gas           Gov. Aggregation
VEDO         4017964502553516            Gas           Gov. Aggregation   COH             205629110017                Gas           Gov. Aggregation
VEDO         4018014222284806            Gas           Gov. Aggregation   COH             205672150018                Gas           Gov. Aggregation
VEDO         4018020132431391            Gas           Gov. Aggregation   COH             204740300012                Gas           Gov. Aggregation
VEDO         4018026462128501            Gas           Gov. Aggregation   COH             197185090024                Gas           Gov. Aggregation
VEDO         4018036792481366            Gas           Gov. Aggregation   COH             185501110058                Gas           Gov. Aggregation
VEDO         4018079782151909            Gas           Gov. Aggregation   COH             204311980019                Gas           Gov. Aggregation
VEDO         4018081362671577            Gas           Gov. Aggregation   COH             175621090051                Gas           Gov. Aggregation
VEDO         4018082242673948            Gas           Gov. Aggregation   COH             190679470024                Gas           Gov. Aggregation
VEDO         4018086382525319            Gas           Gov. Aggregation   COH             194498420024                Gas           Gov. Aggregation
VEDO         4018088862266573            Gas           Gov. Aggregation   COH             205132050013                Gas           Gov. Aggregation
VEDO         4018090172359276            Gas           Gov. Aggregation   COH             205066240014                Gas           Gov. Aggregation
VEDO         4018168512444001            Gas           Gov. Aggregation   COH             199080610033                Gas           Gov. Aggregation
VEDO         4018169282462915            Gas           Gov. Aggregation   COH             198391730030                Gas           Gov. Aggregation
VEDO         4018169362244210            Gas           Gov. Aggregation   COH             204792020012                Gas           Gov. Aggregation
VEDO         4018176642496948            Gas           Gov. Aggregation   COH             200009030077                Gas           Gov. Aggregation
VEDO         4018184752256555            Gas           Gov. Aggregation   COH             186019070022                Gas           Gov. Aggregation
VEDO         4018198452164430            Gas           Gov. Aggregation   COH             204475570037                Gas           Gov. Aggregation
VEDO         4018202102251950            Gas           Gov. Aggregation   COH             202589840031                Gas           Gov. Aggregation
VEDO         4018235532163887            Gas           Gov. Aggregation   COH             196934140016                Gas           Gov. Aggregation
VEDO         4018240922451630            Gas           Gov. Aggregation   COH             205605590017                Gas           Gov. Aggregation
VEDO         4018242032376710            Gas           Gov. Aggregation   COH             166260590035                Gas           Gov. Aggregation
VEDO         4018256832345198            Gas           Gov. Aggregation   COH             174897390038                Gas           Gov. Aggregation
VEDO         4018260192531440            Gas           Gov. Aggregation   COH             205055450013                Gas           Gov. Aggregation
VEDO         4018364482207174            Gas           Gov. Aggregation   COH             203864940017                Gas           Gov. Aggregation
VEDO         4018365042640296            Gas           Gov. Aggregation   COH             204140360012                Gas           Gov. Aggregation
VEDO         4018374312360948            Gas           Gov. Aggregation   COH             205314320010                Gas           Gov. Aggregation
VEDO         4018374332330691            Gas           Gov. Aggregation   COH             194189770017                Gas           Gov. Aggregation
VEDO         4018378722388629            Gas           Gov. Aggregation   COH             203868580015                Gas           Gov. Aggregation
VEDO         4018403502203737            Gas           Gov. Aggregation   COH             204140370010                Gas           Gov. Aggregation
VEDO         4018415232199645            Gas           Gov. Aggregation   COH             203710970016                Gas           Gov. Aggregation
VEDO         4018426252314311            Gas           Gov. Aggregation   COH             160005050614                Gas           Gov. Aggregation
VEDO         4018436592247623            Gas           Gov. Aggregation   COH             187397330071                Gas           Gov. Aggregation
VEDO         4018460042182828            Gas           Gov. Aggregation   COH             205034030015                Gas           Gov. Aggregation
VEDO         4018462082382975            Gas           Gov. Aggregation   COH             205330710014                Gas           Gov. Aggregation
VEDO         4018465762458659            Gas           Gov. Aggregation   COH             202712160013                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4018466812499430            Gas           Gov. Aggregation   COH             188507940022                Gas           Gov. Aggregation
VEDO         4018471772114665            Gas           Gov. Aggregation   COH             191080800040                Gas           Gov. Aggregation
VEDO         4018473962103522            Gas           Gov. Aggregation   COH             111498150048                Gas           Gov. Aggregation
VEDO         4018482522462811            Gas           Gov. Aggregation   COH             118249190111                Gas           Gov. Aggregation
VEDO         4018498942320806            Gas           Gov. Aggregation   COH             118249190148                Gas           Gov. Aggregation
VEDO         4018505742247840            Gas           Gov. Aggregation   COH             201740660010                Gas           Gov. Aggregation
VEDO         4018509472449076            Gas           Gov. Aggregation   COH             201740690014                Gas           Gov. Aggregation
VEDO         4018511332637278            Gas           Gov. Aggregation   COH             199052570013                Gas           Gov. Aggregation
VEDO         4018520962334483            Gas           Gov. Aggregation   COH             203921740017                Gas           Gov. Aggregation
VEDO         4018521572130113            Gas           Gov. Aggregation   COH             202394150011                Gas           Gov. Aggregation
VEDO         4018521642464398            Gas           Gov. Aggregation   COH             203949860014                Gas           Gov. Aggregation
VEDO         4018566512282106            Gas           Gov. Aggregation   COH             204359660016                Gas           Gov. Aggregation
VEDO         4018573552225589            Gas           Gov. Aggregation   COH             205088840012                Gas           Gov. Aggregation
VEDO         4018578742178460            Gas           Gov. Aggregation   COH             202675920013                Gas           Gov. Aggregation
VEDO         4018586342407250            Gas           Gov. Aggregation   COH             201752620013                Gas           Gov. Aggregation
VEDO         4018589612131877            Gas           Gov. Aggregation   COH             192481920026                Gas           Gov. Aggregation
VEDO         4018593612641407            Gas           Gov. Aggregation   COH             192087950035                Gas           Gov. Aggregation
VEDO         4018595022334832            Gas           Gov. Aggregation   COH             195102340045                Gas           Gov. Aggregation
VEDO         4018630892439584            Gas           Gov. Aggregation   COH             204488040013                Gas           Gov. Aggregation
VEDO         4018631862516503            Gas           Gov. Aggregation   COH             204775000012                Gas           Gov. Aggregation
VEDO         4018632502248762            Gas           Gov. Aggregation   COH             202952770017                Gas           Gov. Aggregation
VEDO         4018642972189982            Gas           Gov. Aggregation   COH             196374370025                Gas           Gov. Aggregation
VEDO         4018692382162734            Gas           Gov. Aggregation   COH             199616370019                Gas           Gov. Aggregation
VEDO         4018697412573965            Gas           Gov. Aggregation   COH             193488290033                Gas           Gov. Aggregation
VEDO         4018701412150894            Gas           Gov. Aggregation   COH             187183970025                Gas           Gov. Aggregation
VEDO         4018703802477549            Gas           Gov. Aggregation   COH             189164510074                Gas           Gov. Aggregation
VEDO         4018730862382819            Gas           Gov. Aggregation   COH             189277800010                Gas           Gov. Aggregation
VEDO         4018738312371676            Gas           Gov. Aggregation   COH             172142850023                Gas           Gov. Aggregation
VEDO         4018741422577635            Gas           Gov. Aggregation   COH             174297240077                Gas           Gov. Aggregation
VEDO         4018742392386801            Gas           Gov. Aggregation   COH             204865560014                Gas           Gov. Aggregation
VEDO         4018765932121486            Gas           Gov. Aggregation   COH             204692890012                Gas           Gov. Aggregation
VEDO         4018787002127423            Gas           Gov. Aggregation   COH             204538630012                Gas           Gov. Aggregation
VEDO         4018789242262725            Gas           Gov. Aggregation   COH             195125900030                Gas           Gov. Aggregation
VEDO         4018816102376210            Gas           Gov. Aggregation   COH             201333790034                Gas           Gov. Aggregation
VEDO         4018821422599420            Gas           Gov. Aggregation   COH             204561580014                Gas           Gov. Aggregation
VEDO         4018832802452871            Gas           Gov. Aggregation   COH             204796960017                Gas           Gov. Aggregation
VEDO         4018845362484014            Gas           Gov. Aggregation   COH             153797890030                Gas           Gov. Aggregation
VEDO         4018846842136066            Gas           Gov. Aggregation   COH             201968420018                Gas           Gov. Aggregation
VEDO         4018847202415428            Gas           Gov. Aggregation   COH             169206850095                Gas           Gov. Aggregation
VEDO         4018847662503839            Gas           Gov. Aggregation   COH             170360190102                Gas           Gov. Aggregation
VEDO         4018868482588353            Gas           Gov. Aggregation   COH             168601730066                Gas           Gov. Aggregation
VEDO         4018868912294566            Gas           Gov. Aggregation   COH             159238880058                Gas           Gov. Aggregation
VEDO         4018869822328963            Gas           Gov. Aggregation   COH             203124750015                Gas           Gov. Aggregation
VEDO         4018872012544335            Gas           Gov. Aggregation   COH             199645140025                Gas           Gov. Aggregation
VEDO         4018877372309779            Gas           Gov. Aggregation   COH             173964940076                Gas           Gov. Aggregation
VEDO         4018891052337088            Gas           Gov. Aggregation   COH             174022260029                Gas           Gov. Aggregation
VEDO         4018943442163329            Gas           Gov. Aggregation   COH             174111450020                Gas           Gov. Aggregation
VEDO         4018954242111446            Gas           Gov. Aggregation   COH             174210170056                Gas           Gov. Aggregation
VEDO         4018959292508019            Gas           Gov. Aggregation   COH             163668750030                Gas           Gov. Aggregation
VEDO         4018961342615861            Gas           Gov. Aggregation   COH             166808610038                Gas           Gov. Aggregation
VEDO         4018964022107126            Gas           Gov. Aggregation   COH             167583610026                Gas           Gov. Aggregation
VEDO         4018974692187508            Gas           Gov. Aggregation   COH             190495990025                Gas           Gov. Aggregation
VEDO         4018979472478698            Gas           Gov. Aggregation   COH             190643560020                Gas           Gov. Aggregation
VEDO         4018986002367597            Gas           Gov. Aggregation   COH             190697260039                Gas           Gov. Aggregation
VEDO         4018989592318376            Gas           Gov. Aggregation   COH             187771080025                Gas           Gov. Aggregation
VEDO         4018993372624778            Gas           Gov. Aggregation   COH             187782870026                Gas           Gov. Aggregation
VEDO         4018994512211171            Gas           Gov. Aggregation   COH             188396810026                Gas           Gov. Aggregation
VEDO         4019016252226760            Gas           Gov. Aggregation   COH             151172390031                Gas           Gov. Aggregation
VEDO         4019016542590024            Gas           Gov. Aggregation   COH             146920730057                Gas           Gov. Aggregation
VEDO         4019016872518478            Gas           Gov. Aggregation   COH             120022270030                Gas           Gov. Aggregation
VEDO         4019019622422724            Gas           Gov. Aggregation   COH             118267080036                Gas           Gov. Aggregation
VEDO         4019021722234228            Gas           Gov. Aggregation   COH             114694090024                Gas           Gov. Aggregation
VEDO         4019042452283282            Gas           Gov. Aggregation   COH             201105250021                Gas           Gov. Aggregation
VEDO         4019050892407638            Gas           Gov. Aggregation   COH             201235540016                Gas           Gov. Aggregation
VEDO         4019055702646228            Gas           Gov. Aggregation   COH             201288620018                Gas           Gov. Aggregation
VEDO         4019059732290961            Gas           Gov. Aggregation   COH             200728990027                Gas           Gov. Aggregation
VEDO         4019063852312484            Gas           Gov. Aggregation   COH             200775580024                Gas           Gov. Aggregation
VEDO         4019104612327707            Gas           Gov. Aggregation   COH             201417000013                Gas           Gov. Aggregation
VEDO         4019105902641639            Gas           Gov. Aggregation   COH             201708390015                Gas           Gov. Aggregation
VEDO         4019106242567658            Gas           Gov. Aggregation   COH             201722840029                Gas           Gov. Aggregation
VEDO         4019116362104766            Gas           Gov. Aggregation   COH             201722920013                Gas           Gov. Aggregation
VEDO         4019132862415402            Gas           Gov. Aggregation   COH             201588440010                Gas           Gov. Aggregation
VEDO         4019138702193270            Gas           Gov. Aggregation   COH             201740760019                Gas           Gov. Aggregation
VEDO         4019141462245779            Gas           Gov. Aggregation   COH             201804880018                Gas           Gov. Aggregation
VEDO         4019164482210686            Gas           Gov. Aggregation   COH             201845580024                Gas           Gov. Aggregation
VEDO         4019169902338603            Gas           Gov. Aggregation   COH             201862810010                Gas           Gov. Aggregation
VEDO         4019173552328516            Gas           Gov. Aggregation   COH             201891290019                Gas           Gov. Aggregation
VEDO         4019177402408692            Gas           Gov. Aggregation   COH             196193580025                Gas           Gov. Aggregation
VEDO         4019179842449964            Gas           Gov. Aggregation   COH             195764440033                Gas           Gov. Aggregation
VEDO         4019180352114689            Gas           Gov. Aggregation   COH             193733460036                Gas           Gov. Aggregation
VEDO         4019201762510142            Gas           Gov. Aggregation   COH             193989630020                Gas           Gov. Aggregation
VEDO         4019207622476887            Gas           Gov. Aggregation   COH             194518620028                Gas           Gov. Aggregation
VEDO         4019207632214808            Gas           Gov. Aggregation   COH             194719340021                Gas           Gov. Aggregation
VEDO         4019247822291819            Gas           Gov. Aggregation   COH             191421340025                Gas           Gov. Aggregation
VEDO         4019257862335894            Gas           Gov. Aggregation   COH             191639900071                Gas           Gov. Aggregation
VEDO         4019261862645797            Gas           Gov. Aggregation   COH             191656010036                Gas           Gov. Aggregation
VEDO         4019277882644037            Gas           Gov. Aggregation   COH             198143400025                Gas           Gov. Aggregation
VEDO         4019278092635285            Gas           Gov. Aggregation   COH             198586560024                Gas           Gov. Aggregation
VEDO         4019279442476822            Gas           Gov. Aggregation   COH             198599290024                Gas           Gov. Aggregation
VEDO         4019279792266688            Gas           Gov. Aggregation   COH             198617280017                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4019280402537626            Gas           Gov. Aggregation   COH             197240070020                Gas           Gov. Aggregation
VEDO         4019286792386738            Gas           Gov. Aggregation   COH             197539670021                Gas           Gov. Aggregation
VEDO         4019316152414733            Gas           Gov. Aggregation   COH             197807290022                Gas           Gov. Aggregation
VEDO         4019317152293149            Gas           Gov. Aggregation   COH             197853167383                Gas           Gov. Aggregation
VEDO         4019317312344771            Gas           Gov. Aggregation   COH             197853167392                Gas           Gov. Aggregation
VEDO         4019322432495671            Gas           Gov. Aggregation   COH             197853167409                Gas           Gov. Aggregation
VEDO         4019330902625727            Gas           Gov. Aggregation   COH             205540140019                Gas           Gov. Aggregation
VEDO         4019333772164080            Gas           Gov. Aggregation   COH             205560290016                Gas           Gov. Aggregation
VEDO         4019360312386998            Gas           Gov. Aggregation   COH             205366490016                Gas           Gov. Aggregation
VEDO         4019362092350304            Gas           Gov. Aggregation   COH             205507890012                Gas           Gov. Aggregation
VEDO         4019363732289615            Gas           Gov. Aggregation   COH             205079380018                Gas           Gov. Aggregation
VEDO         4019365122623416            Gas           Gov. Aggregation   COH             205085300011                Gas           Gov. Aggregation
VEDO         4019383782324981            Gas           Gov. Aggregation   COH             205103250012                Gas           Gov. Aggregation
VEDO         4019384782323960            Gas           Gov. Aggregation   COH             204844420017                Gas           Gov. Aggregation
VEDO         4019388452457723            Gas           Gov. Aggregation   COH             204836080016                Gas           Gov. Aggregation
VEDO         4019391252206578            Gas           Gov. Aggregation   COH             204706440015                Gas           Gov. Aggregation
VEDO         4019391562519157            Gas           Gov. Aggregation   COH             204716680014                Gas           Gov. Aggregation
VEDO         4019394712383279            Gas           Gov. Aggregation   COH             204716690012                Gas           Gov. Aggregation
VEDO         4019398692178885            Gas           Gov. Aggregation   COH             204716700019                Gas           Gov. Aggregation
VEDO         4019399382499960            Gas           Gov. Aggregation   COH             204758700011                Gas           Gov. Aggregation
VEDO         4019408272646227            Gas           Gov. Aggregation   COH             204047250013                Gas           Gov. Aggregation
VEDO         4019410772312816            Gas           Gov. Aggregation   COH             204075640012                Gas           Gov. Aggregation
VEDO         4019414442186800            Gas           Gov. Aggregation   COH             204089380018                Gas           Gov. Aggregation
VEDO         4019417752236872            Gas           Gov. Aggregation   COH             204096170017                Gas           Gov. Aggregation
VEDO         4019446402116079            Gas           Gov. Aggregation   COH             204140000017                Gas           Gov. Aggregation
VEDO         4019447682179991            Gas           Gov. Aggregation   COH             204140010015                Gas           Gov. Aggregation
VEDO         4019448962343136            Gas           Gov. Aggregation   COH             204165790010                Gas           Gov. Aggregation
VEDO         4019480142487286            Gas           Gov. Aggregation   COH             203246130026                Gas           Gov. Aggregation
VEDO         4019480822251210            Gas           Gov. Aggregation   COH             203252420013                Gas           Gov. Aggregation
VEDO         4019483772631143            Gas           Gov. Aggregation   COH             203286940013                Gas           Gov. Aggregation
VEDO         4019487882433292            Gas           Gov. Aggregation   COH             203372920014                Gas           Gov. Aggregation
VEDO         4019495952297139            Gas           Gov. Aggregation   COH             203378610017                Gas           Gov. Aggregation
VEDO         4019511922475680            Gas           Gov. Aggregation   COH             203521820018                Gas           Gov. Aggregation
VEDO         4019513462635284            Gas           Gov. Aggregation   COH             203294220017                Gas           Gov. Aggregation
VEDO         4019514222416999            Gas           Gov. Aggregation   COH             203303520013                Gas           Gov. Aggregation
VEDO         4019514522130949            Gas           Gov. Aggregation   COH             203460140011                Gas           Gov. Aggregation
VEDO         4019533272276765            Gas           Gov. Aggregation   COH             203544970019                Gas           Gov. Aggregation
VEDO         4019733272392309            Gas           Gov. Aggregation   COH             203607140019                Gas           Gov. Aggregation
VEDO         4019734482143963            Gas           Gov. Aggregation   COH             203642520015                Gas           Gov. Aggregation
VEDO         4019735332340024            Gas           Gov. Aggregation   COH             205736920010                Gas           Gov. Aggregation
VEDO         4019757762149643            Gas           Gov. Aggregation   COH             122353820031                Gas           Gov. Aggregation
VEDO         4019758232264699            Gas           Gov. Aggregation   COH             137376870018                Gas           Gov. Aggregation
VEDO         4019763812353061            Gas           Gov. Aggregation   COH             133459150044                Gas           Gov. Aggregation
VEDO         4019779592197580            Gas           Gov. Aggregation   COH             138361220023                Gas           Gov. Aggregation
VEDO         4019781542391794            Gas           Gov. Aggregation   COH             138368880021                Gas           Gov. Aggregation
VEDO         4019782132455830            Gas           Gov. Aggregation   VEDO            4001507452147476            Gas           Gov. Aggregation
VEDO         4019782312522731            Gas           Gov. Aggregation   VEDO            4004136222415507            Gas           Gov. Aggregation
VEDO         4019786622505187            Gas           Gov. Aggregation   VEDO            4003209172409330            Gas           Gov. Aggregation
VEDO         4019786742534996            Gas           Gov. Aggregation   VEDO            4004435622289478            Gas           Gov. Aggregation
VEDO         4019816462218987            Gas           Gov. Aggregation   DEO             5421705907141               Gas           Gov. Aggregation
VEDO         4019818812274231            Gas           Gov. Aggregation   COH             140660210036                Gas           Gov. Aggregation
VEDO         4019820802612261            Gas           Gov. Aggregation   VEDO            4001555032152196            Gas           Gov. Aggregation
VEDO         4019838972672005            Gas           Gov. Aggregation   VEDO            4001365232608738            Gas           Gov. Aggregation
VEDO         4019839362181828            Gas           Gov. Aggregation   VEDO            4020202682517043            Gas           Gov. Aggregation
VEDO         4019849622199265            Gas           Gov. Aggregation   VEDO            4019859322608742            Gas           Gov. Aggregation
VEDO         4019850972514817            Gas           Gov. Aggregation   VEDO            4017850872673196            Gas           Gov. Aggregation
VEDO         4019869552243669            Gas           Gov. Aggregation   VEDO            4004936372503516            Gas           Gov. Aggregation
VEDO         4019871202573963            Gas           Gov. Aggregation   VEDO            4002405592406194            Gas           Gov. Aggregation
VEDO         4019874912423428            Gas           Gov. Aggregation   VEDO            4002702462265129            Gas           Gov. Aggregation
VEDO         4019874942484427            Gas           Gov. Aggregation   VEDO            4015941712356917            Gas           Gov. Aggregation
VEDO         4019880012265496            Gas           Gov. Aggregation   VEDO            4001818422177464            Gas           Gov. Aggregation
VEDO         4019884862122669            Gas           Gov. Aggregation   VEDO            4003556442353145            Gas           Gov. Aggregation
VEDO         4019886472303765            Gas           Gov. Aggregation   VEDO            4004354452439383            Gas           Gov. Aggregation
VEDO         4019907462140163            Gas           Gov. Aggregation   VEDO            4017356052307852            Gas           Gov. Aggregation
VEDO         4019911762333060            Gas           Gov. Aggregation   VEDO            4020200012395745            Gas           Gov. Aggregation
VEDO         4019913922253364            Gas           Gov. Aggregation   VEDO            4002390632555113            Gas           Gov. Aggregation
VEDO         4019917452152835            Gas           Gov. Aggregation   VEDO            4018622362637333            Gas           Gov. Aggregation
VEDO         4019917612490185            Gas           Gov. Aggregation   VEDO            4018824122640760            Gas           Gov. Aggregation
VEDO         4019918412224240            Gas           Gov. Aggregation   VEDO            4017212832514463            Gas           Gov. Aggregation
VEDO         4019939802378169            Gas           Gov. Aggregation   VEDO            4017559352557450            Gas           Gov. Aggregation
VEDO         4019946042196564            Gas           Gov. Aggregation   VEDO            4001665472373543            Gas           Gov. Aggregation
VEDO         4019948622360296            Gas           Gov. Aggregation   VEDO            4002303492225436            Gas           Gov. Aggregation
VEDO         4019973482149788            Gas           Gov. Aggregation   VEDO            4004213522423943            Gas           Gov. Aggregation
VEDO         4019975152133137            Gas           Gov. Aggregation   VEDO            4004794852487852            Gas           Gov. Aggregation
VEDO         4019975542626045            Gas           Gov. Aggregation   VEDO            4004807992489291            Gas           Gov. Aggregation
VEDO         4019986512282395            Gas           Gov. Aggregation   VEDO            4002014412190239            Gas           Gov. Aggregation
VEDO         4019986842474368            Gas           Gov. Aggregation   COH             127636920160                Gas           Gov. Aggregation
VEDO         4019992762544334            Gas           Gov. Aggregation   COH             205682220012                Gas           Gov. Aggregation
VEDO         4019999402613484            Gas           Gov. Aggregation   VEDO            4003300552326319            Gas           Gov. Aggregation
VEDO         4020007832302407            Gas           Gov. Aggregation   DEO             7442004755575               Gas           Gov. Aggregation
VEDO         4020007912414906            Gas           Gov. Aggregation   VEDO            4001830542178638            Gas           Gov. Aggregation
VEDO         4020008952152620            Gas           Gov. Aggregation   COH             123603090015                Gas           Gov. Aggregation
VEDO         4020011712105049            Gas           Gov. Aggregation   COH             192358030097                Gas           Gov. Aggregation
VEDO         4020015442580726            Gas           Gov. Aggregation   VEDO            4003385992517129            Gas           Gov. Aggregation
VEDO         4020018982165209            Gas           Gov. Aggregation   VEDO            4003385992673194            Gas           Gov. Aggregation
VEDO         4020031862457118            Gas           Gov. Aggregation   VEDO            4004402412444634            Gas           Gov. Aggregation
VEDO         4020034802626940            Gas           Gov. Aggregation   COH             205598100016                Gas           Gov. Aggregation
VEDO         4020035462529400            Gas           Gov. Aggregation   COH             117458590053                Gas           Gov. Aggregation
VEDO         4020036522214628            Gas           Gov. Aggregation   COH             170424960088                Gas           Gov. Aggregation
VEDO         4020036662154694            Gas           Gov. Aggregation   COH             202189550012                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4020037112101357            Gas           Gov. Aggregation   COH             173262790101                Gas           Gov. Aggregation
VEDO         4020039442484848            Gas           Gov. Aggregation   COH             170125540115                Gas           Gov. Aggregation
VEDO         4020055782267200            Gas           Gov. Aggregation   COH             203358210013                Gas           Gov. Aggregation
VEDO         4020057252532231            Gas           Gov. Aggregation   COH             199385830013                Gas           Gov. Aggregation
VEDO         4020057672169956            Gas           Gov. Aggregation   COH             203589010016                Gas           Gov. Aggregation
VEDO         4020058912479026            Gas           Gov. Aggregation   COH             202081790010                Gas           Gov. Aggregation
VEDO         4020066602229433            Gas           Gov. Aggregation   COH             177316190028                Gas           Gov. Aggregation
VEDO         4020068082145203            Gas           Gov. Aggregation   COH             204780750014                Gas           Gov. Aggregation
VEDO         4020085252672670            Gas           Gov. Aggregation   COH             195285670031                Gas           Gov. Aggregation
VEDO         4020087122148756            Gas           Gov. Aggregation   COH             172877100032                Gas           Gov. Aggregation
VEDO         4020089672325077            Gas           Gov. Aggregation   COH             164880300033                Gas           Gov. Aggregation
VEDO         4020090732608679            Gas           Gov. Aggregation   COH             185430230036                Gas           Gov. Aggregation
VEDO         4020102612415985            Gas           Gov. Aggregation   COH             205433990018                Gas           Gov. Aggregation
VEDO         4020103822160942            Gas           Gov. Aggregation   COH             150801990059                Gas           Gov. Aggregation
VEDO         4020115142406395            Gas           Gov. Aggregation   COH             171831040103                Gas           Gov. Aggregation
VEDO         4020117152378149            Gas           Gov. Aggregation   COH             198496140032                Gas           Gov. Aggregation
VEDO         4020135122287701            Gas           Gov. Aggregation   COH             175964340061                Gas           Gov. Aggregation
VEDO         4020136132269596            Gas           Gov. Aggregation   COH             203922180013                Gas           Gov. Aggregation
VEDO         4020137102549946            Gas           Gov. Aggregation   COH             200716570048                Gas           Gov. Aggregation
VEDO         4020139472100931            Gas           Gov. Aggregation   COH             203169710019                Gas           Gov. Aggregation
VEDO         4020160022533913            Gas           Gov. Aggregation   COH             204969260017                Gas           Gov. Aggregation
VEDO         4020169812210364            Gas           Gov. Aggregation   COH             187882780041                Gas           Gov. Aggregation
VEDO         4020170942469855            Gas           Gov. Aggregation   COH             168523040101                Gas           Gov. Aggregation
VEDO         4020174592372091            Gas           Gov. Aggregation   COH             205737170016                Gas           Gov. Aggregation
VEDO         4020184012336177            Gas           Gov. Aggregation   COH             205135730014                Gas           Gov. Aggregation
VEDO         4020186142356367            Gas           Gov. Aggregation   COH             205004780011                Gas           Gov. Aggregation
VEDO         4020187132404386            Gas           Gov. Aggregation   COH             204569890013                Gas           Gov. Aggregation
VEDO         4020188642484576            Gas           Gov. Aggregation   COH             197044240039                Gas           Gov. Aggregation
VEDO         4020189522396360            Gas           Gov. Aggregation   COH             205155520016                Gas           Gov. Aggregation
VEDO         4020208662172840            Gas           Gov. Aggregation   COH             205447020012                Gas           Gov. Aggregation
VEDO         4020209262212839            Gas           Gov. Aggregation   COH             199773400038                Gas           Gov. Aggregation
VEDO         4020209922343112            Gas           Gov. Aggregation   COH             165068000055                Gas           Gov. Aggregation
VEDO         4020209992675503            Gas           Gov. Aggregation   COH             199825030035                Gas           Gov. Aggregation
VEDO         4020211622674809            Gas           Gov. Aggregation   COH             202869100014                Gas           Gov. Aggregation
VEDO         4020221392144823            Gas           Gov. Aggregation   COH             195310100044                Gas           Gov. Aggregation
VEDO         4020221862512163            Gas           Gov. Aggregation   COH             205041640012                Gas           Gov. Aggregation
VEDO         4020222972547691            Gas           Gov. Aggregation   COH             196983900013                Gas           Gov. Aggregation
VEDO         4020233822329344            Gas           Gov. Aggregation   COH             201628080010                Gas           Gov. Aggregation
VEDO         4020233992284317            Gas           Gov. Aggregation   COH             192229700035                Gas           Gov. Aggregation
VEDO         4020236322287413            Gas           Gov. Aggregation   COH             196123190033                Gas           Gov. Aggregation
VEDO         4020236612110719            Gas           Gov. Aggregation   COH             201652780058                Gas           Gov. Aggregation
VEDO         4020236742625708            Gas           Gov. Aggregation   COH             203576210011                Gas           Gov. Aggregation
VEDO         4020251692182525            Gas           Gov. Aggregation   COH             202477750019                Gas           Gov. Aggregation
VEDO         4020255942351990            Gas           Gov. Aggregation   COH             201743960011                Gas           Gov. Aggregation
VEDO         4020260222625738            Gas           Gov. Aggregation   COH             205203300019                Gas           Gov. Aggregation
VEDO         4020274992674004            Gas           Gov. Aggregation   COH             194771120036                Gas           Gov. Aggregation
VEDO         4020275812585885            Gas           Gov. Aggregation   COH             185973370037                Gas           Gov. Aggregation
VEDO         4020280502362501            Gas           Gov. Aggregation   COH             162023490023                Gas           Gov. Aggregation
VEDO         4020282762143526            Gas           Gov. Aggregation   COH             136116860011                Gas           Gov. Aggregation
VEDO         4001356012133383            Gas           Gov. Aggregation   COH             202766360018                Gas           Gov. Aggregation
VEDO         4001382802135924            Gas           Gov. Aggregation   COH             203020590019                Gas           Gov. Aggregation
VEDO         4001403762543660            Gas           Gov. Aggregation   COH             203861240010                Gas           Gov. Aggregation
VEDO         4001464902635597            Gas           Gov. Aggregation   COH             201606270016                Gas           Gov. Aggregation
VEDO         4001579312644506            Gas           Gov. Aggregation   COH             190462210054                Gas           Gov. Aggregation
VEDO         4001874852182898            Gas           Gov. Aggregation   COH             202833650014                Gas           Gov. Aggregation
VEDO         4002239782647480            Gas           Gov. Aggregation   COH             203242770011                Gas           Gov. Aggregation
VEDO         4002491712401016            Gas           Gov. Aggregation   COH             203981170011                Gas           Gov. Aggregation
VEDO         4002606932225040            Gas           Gov. Aggregation   COH             176700880010                Gas           Gov. Aggregation
VEDO         4002666692261537            Gas           Gov. Aggregation   COH             204480420019                Gas           Gov. Aggregation
VEDO         4002783072647299            Gas           Gov. Aggregation   COH             203510770012                Gas           Gov. Aggregation
VEDO         4002815112276473            Gas           Gov. Aggregation   COH             191459560084                Gas           Gov. Aggregation
VEDO         4002988002630941            Gas           Gov. Aggregation   COH             205529060010                Gas           Gov. Aggregation
VEDO         4003669892365192            Gas           Gov. Aggregation   COH             204240010013                Gas           Gov. Aggregation
VEDO         4004654772472489            Gas           Gov. Aggregation   COH             204289770012                Gas           Gov. Aggregation
VEDO         4004839312356217            Gas           Gov. Aggregation   COH             193178990015                Gas           Gov. Aggregation
VEDO         4005068242518419            Gas           Gov. Aggregation   COH             201226510020                Gas           Gov. Aggregation
VEDO         4005142612393276            Gas           Gov. Aggregation   COH             201862400016                Gas           Gov. Aggregation
VEDO         4010082142328093            Gas           Gov. Aggregation   COH             203868160013                Gas           Gov. Aggregation
VEDO         4015087942188627            Gas           Gov. Aggregation   COH             196241440021                Gas           Gov. Aggregation
VEDO         4015116482499431            Gas           Gov. Aggregation   COH             204394960019                Gas           Gov. Aggregation
VEDO         4016277502465832            Gas           Gov. Aggregation   COH             196036750049                Gas           Gov. Aggregation
VEDO         4016536942599181            Gas           Gov. Aggregation   COH             204706290017                Gas           Gov. Aggregation
VEDO         4016845372316850            Gas           Gov. Aggregation   COH             203458990018                Gas           Gov. Aggregation
VEDO         4016873452619272            Gas           Gov. Aggregation   COH             203909680016                Gas           Gov. Aggregation
VEDO         4016910312127697            Gas           Gov. Aggregation   COH             205693820013                Gas           Gov. Aggregation
VEDO         4017060412172318            Gas           Gov. Aggregation   COH             205417480019                Gas           Gov. Aggregation
VEDO         4017553742314969            Gas           Gov. Aggregation   COH             204519400010                Gas           Gov. Aggregation
VEDO         4017617492254826            Gas           Gov. Aggregation   COH             191497960026                Gas           Gov. Aggregation
VEDO         4017617492441176            Gas           Gov. Aggregation   COH             201576080011                Gas           Gov. Aggregation
VEDO         4017620262140242            Gas           Gov. Aggregation   COH             173100440044                Gas           Gov. Aggregation
VEDO         4017620262361189            Gas           Gov. Aggregation   COH             205475430017                Gas           Gov. Aggregation
VEDO         4017766802103744            Gas           Gov. Aggregation   COH             204584060015                Gas           Gov. Aggregation
VEDO         4017841112605784            Gas           Gov. Aggregation   COH             205614710012                Gas           Gov. Aggregation
VEDO         4017905892605785            Gas           Gov. Aggregation   COH             193924380038                Gas           Gov. Aggregation
VEDO         4018131612605782            Gas           Gov. Aggregation   COH             203957320010                Gas           Gov. Aggregation
VEDO         4018159952640115            Gas           Gov. Aggregation   COH             204547480015                Gas           Gov. Aggregation
VEDO         4018203692169800            Gas           Gov. Aggregation   COH             203790480011                Gas           Gov. Aggregation
VEDO         4018239832624840            Gas           Gov. Aggregation   COH             204766880017                Gas           Gov. Aggregation
VEDO         4018242052282136            Gas           Gov. Aggregation   COH             194547240045                Gas           Gov. Aggregation
VEDO         4018288632120539            Gas           Gov. Aggregation   COH             205404790011                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4018365042635150            Gas           Gov. Aggregation   COH             173407010062                Gas           Gov. Aggregation
VEDO         4018710972238929            Gas           Gov. Aggregation   COH             198981840036                Gas           Gov. Aggregation
VEDO         4018771942205172            Gas           Gov. Aggregation   COH             202326140016                Gas           Gov. Aggregation
VEDO         4018775532644580            Gas           Gov. Aggregation   COH             146714250028                Gas           Gov. Aggregation
VEDO         4018864612302157            Gas           Gov. Aggregation   COH             199095320033                Gas           Gov. Aggregation
VEDO         4018899322281969            Gas           Gov. Aggregation   COH             175062870017                Gas           Gov. Aggregation
VEDO         4018902912408456            Gas           Gov. Aggregation   COH             204931200018                Gas           Gov. Aggregation
VEDO         4018969202673493            Gas           Gov. Aggregation   COH             126848640107                Gas           Gov. Aggregation
VEDO         4019070462484182            Gas           Gov. Aggregation   COH             203252200019                Gas           Gov. Aggregation
VEDO         4019328232397310            Gas           Gov. Aggregation   COH             165594650036                Gas           Gov. Aggregation
VEDO         4019375812251477            Gas           Gov. Aggregation   COH             202833660012                Gas           Gov. Aggregation
VEDO         4019412622312690            Gas           Gov. Aggregation   COH             170968190097                Gas           Gov. Aggregation
VEDO         4019477662221690            Gas           Gov. Aggregation   COH             205748940011                Gas           Gov. Aggregation
VEDO         4019477662235098            Gas           Gov. Aggregation   COH             191800960012                Gas           Gov. Aggregation
VEDO         4019849782100671            Gas           Gov. Aggregation   COH             202471720017                Gas           Gov. Aggregation
VEDO         4019900162570383            Gas           Gov. Aggregation   COH             205584510019                Gas           Gov. Aggregation
VEDO         4019914672509583            Gas           Gov. Aggregation   COH             202041960018                Gas           Gov. Aggregation
VEDO         4019916492549189            Gas           Gov. Aggregation   COH             202103880013                Gas           Gov. Aggregation
VEDO         4020095392644532            Gas           Gov. Aggregation   COH             202432600014                Gas           Gov. Aggregation
VEDO         4020171542102438            Gas           Gov. Aggregation   COH             203436560014                Gas           Gov. Aggregation
VEDO         4020193462181525            Gas           Gov. Aggregation   COH             203618050015                Gas           Gov. Aggregation
VEDO         4020244322243410            Gas           Gov. Aggregation   COH             117311290010                Gas           Gov. Aggregation
VEDO         4017692302342773            Gas           Gov. Aggregation   COH             204246980018                Gas           Gov. Aggregation
VEDO         4001058842340747            Gas           Gov. Aggregation   COH             194926940017                Gas           Gov. Aggregation
VEDO         4003133152646389            Gas           Gov. Aggregation   COH             125771000016                Gas           Gov. Aggregation
VEDO         4002026862675560            Gas           Gov. Aggregation   COH             137154600023                Gas           Gov. Aggregation
VEDO         4018441142599419            Gas           Gov. Aggregation   COH             151845420028                Gas           Gov. Aggregation
VEDO         4016722842634338            Gas           Gov. Aggregation   COH             203200460014                Gas           Gov. Aggregation
VEDO         4020125422676048            Gas           Gov. Aggregation   COH             204419940019                Gas           Gov. Aggregation
VEDO         4020909642644281            Gas           Gov. Aggregation   COH             154938510109                Gas           Gov. Aggregation
VEDO         4020281302623701            Gas           Gov. Aggregation   COH             202472420018                Gas           Gov. Aggregation
VEDO         4020267032618152            Gas           Gov. Aggregation   COH             192361250067                Gas           Gov. Aggregation
VEDO         4019796622613882            Gas           Gov. Aggregation   COH             195711170022                Gas           Gov. Aggregation
VEDO         4019878292433619            Gas           Gov. Aggregation   COH             204918150017                Gas           Gov. Aggregation
VEDO         4019531362625749            Gas           Gov. Aggregation   COH             177435620132                Gas           Gov. Aggregation
VEDO         4018300642567651            Gas           Gov. Aggregation   COH             199086710021                Gas           Gov. Aggregation
VEDO         4020273332625746            Gas           Gov. Aggregation   COH             201033600039                Gas           Gov. Aggregation
VEDO         4020879872216425            Gas           Gov. Aggregation   COH             117201650062                Gas           Gov. Aggregation
VEDO         4017466612675416            Gas           Gov. Aggregation   COH             192848000030                Gas           Gov. Aggregation
VEDO         4020850872414625            Gas           Gov. Aggregation   COH             166296380114                Gas           Gov. Aggregation
VEDO         4020315352381176            Gas           Gov. Aggregation   COH             136836940303                Gas           Gov. Aggregation
VEDO         4017079102506683            Gas           Gov. Aggregation   COH             138975320021                Gas           Gov. Aggregation
VEDO         4020299492190270            Gas           Gov. Aggregation   COH             199426580027                Gas           Gov. Aggregation
VEDO         4019891452404651            Gas           Gov. Aggregation   COH             204513990019                Gas           Gov. Aggregation
VEDO         4020909572355168            Gas           Gov. Aggregation   COH             204513990037                Gas           Gov. Aggregation
VEDO         4003534202599424            Gas           Gov. Aggregation   COH             203934180018                Gas           Gov. Aggregation
VEDO         4015447972623804            Gas           Gov. Aggregation   COH             190045630023                Gas           Gov. Aggregation
VEDO         4015623272368528            Gas           Gov. Aggregation   COH             190997790032                Gas           Gov. Aggregation
VEDO         4017750302356110            Gas           Gov. Aggregation   COH             199386400011                Gas           Gov. Aggregation
VEDO         4018746172675096            Gas           Gov. Aggregation   COH             201595110014                Gas           Gov. Aggregation
VEDO         4004311452287496            Gas           Gov. Aggregation   COH             176468920033                Gas           Gov. Aggregation
VEDO         4020802692433519            Gas           Gov. Aggregation   COH             205723650014                Gas           Gov. Aggregation
VEDO         4020889432173156            Gas           Gov. Aggregation   COH             190902920042                Gas           Gov. Aggregation
VEDO         4016312442671427            Gas           Gov. Aggregation   COH             201713880011                Gas           Gov. Aggregation
VEDO         4003383332360727            Gas           Gov. Aggregation   COH             205651800015                Gas           Gov. Aggregation
VEDO         4020911212257246            Gas           Gov. Aggregation   COH             194321130028                Gas           Gov. Aggregation
VEDO         4001864452435313            Gas           Gov. Aggregation   COH             190706820030                Gas           Gov. Aggregation
VEDO         4002770872490673            Gas           Gov. Aggregation   COH             205815160012                Gas           Gov. Aggregation
VEDO         4019463672676489            Gas           Gov. Aggregation   COH             192690930030                Gas           Gov. Aggregation
VEDO         4002867722289086            Gas           Gov. Aggregation   COH             164398850022                Gas           Gov. Aggregation
VEDO         4016627192361171            Gas           Gov. Aggregation   COH             156922330037                Gas           Gov. Aggregation
VEDO         4017786832112693            Gas           Gov. Aggregation   COH             196263680034                Gas           Gov. Aggregation
VEDO         4016131022236597            Gas           Gov. Aggregation   COH             204948660017                Gas           Gov. Aggregation
VEDO         4018342512190673            Gas           Gov. Aggregation   COH             186649280041                Gas           Gov. Aggregation
VEDO         4019993972269559            Gas           Gov. Aggregation   COH             204740620015                Gas           Gov. Aggregation
VEDO         4017512932275982            Gas           Gov. Aggregation   COH             150505920097                Gas           Gov. Aggregation
VEDO         4020328082328074            Gas           Gov. Aggregation   COH             202911460018                Gas           Gov. Aggregation
VEDO         4020191082365924            Gas           Gov. Aggregation   COH             163307180016                Gas           Gov. Aggregation
VEDO         4020120072128146            Gas           Gov. Aggregation   COH             200431940017                Gas           Gov. Aggregation
VEDO         4016253752289728            Gas           Gov. Aggregation   COH             190103470041                Gas           Gov. Aggregation
VEDO         4020836912122855            Gas           Gov. Aggregation   COH             190379770054                Gas           Gov. Aggregation
VEDO         4004137022415603            Gas           Gov. Aggregation   COH             193114271528                Gas           Gov. Aggregation
VEDO         4003645662343813            Gas           Gov. Aggregation   COH             202603280019                Gas           Gov. Aggregation
VEDO         4003156732515238            Gas           Gov. Aggregation   COH             202345580014                Gas           Gov. Aggregation
VEDO         4003950232395321            Gas           Gov. Aggregation   COH             202219120017                Gas           Gov. Aggregation
VEDO         4020879332506327            Gas           Gov. Aggregation   COH             204466280019                Gas           Gov. Aggregation
VEDO         4020875862420029            Gas           Gov. Aggregation   COH             200519220058                Gas           Gov. Aggregation
VEDO         4020862552189055            Gas           Gov. Aggregation   COH             204639490018                Gas           Gov. Aggregation
VEDO         4020899822389038            Gas           Gov. Aggregation   COH             197149180012                Gas           Gov. Aggregation
VEDO         4015655372351350            Gas           Gov. Aggregation   COH             205009030018                Gas           Gov. Aggregation
VEDO         4020908682206676            Gas           Gov. Aggregation   COH             205552330014                Gas           Gov. Aggregation
VEDO         4001453492394489            Gas           Gov. Aggregation   COH             203458820013                Gas           Gov. Aggregation
VEDO         4020892072232049            Gas           Gov. Aggregation   COH             199863440020                Gas           Gov. Aggregation
VEDO         4020856862557768            Gas           Gov. Aggregation   COH             161245650128                Gas           Gov. Aggregation
VEDO         4019770452388713            Gas           Gov. Aggregation   COH             154379480157                Gas           Gov. Aggregation
VEDO         4020227602161365            Gas           Gov. Aggregation   COH             117361790047                Gas           Gov. Aggregation
VEDO         4015844092434561            Gas           Gov. Aggregation   COH             205780560013                Gas           Gov. Aggregation
VEDO         4004138882178306            Gas           Gov. Aggregation   COH             204289810013                Gas           Gov. Aggregation
VEDO         4019161592644581            Gas           Gov. Aggregation   COH             150526120073                Gas           Gov. Aggregation
VEDO         4019828612278162            Gas           Gov. Aggregation   COH             205822540017                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4020319912583269            Gas           Gov. Aggregation   COH             205276900010                Gas           Gov. Aggregation
VEDO         4004301072148935            Gas           Gov. Aggregation   COH             202586070011                Gas           Gov. Aggregation
VEDO         4017204862508994            Gas           Gov. Aggregation   COH             170399730027                Gas           Gov. Aggregation
VEDO         4017573092433009            Gas           Gov. Aggregation   COH             201435580014                Gas           Gov. Aggregation
VEDO         4017754982165703            Gas           Gov. Aggregation   COH             202468690011                Gas           Gov. Aggregation
VEDO         4015739982491919            Gas           Gov. Aggregation   COH             203790540018                Gas           Gov. Aggregation
VEDO         4015729612195443            Gas           Gov. Aggregation   COH             201844340017                Gas           Gov. Aggregation
VEDO         4015232392436468            Gas           Gov. Aggregation   COH             120813720056                Gas           Gov. Aggregation
VEDO         4015443562365284            Gas           Gov. Aggregation   COH             161496520053                Gas           Gov. Aggregation
VEDO         4001456352251983            Gas           Gov. Aggregation   COH             203527340017                Gas           Gov. Aggregation
VEDO         4002255882488475            Gas           Gov. Aggregation   COH             204160010013                Gas           Gov. Aggregation
VEDO         4020866682500704            Gas           Gov. Aggregation   COH             205764200012                Gas           Gov. Aggregation
VEDO         4020185332476574            Gas           Gov. Aggregation   COH             205799590018                Gas           Gov. Aggregation
VEDO         4020850502226156            Gas           Gov. Aggregation   COH             204487800015                Gas           Gov. Aggregation
VEDO         4017204972264484            Gas           Gov. Aggregation   COH             203489490018                Gas           Gov. Aggregation
VEDO         4004553572461267            Gas           Gov. Aggregation   COH             190774210035                Gas           Gov. Aggregation
VEDO         4003944952290014            Gas           Gov. Aggregation   COH             202595570017                Gas           Gov. Aggregation
VEDO         4001888222676811            Gas           Gov. Aggregation   COH             202974160019                Gas           Gov. Aggregation
VEDO         4018400422363753            Gas           Gov. Aggregation   COH             202666000015                Gas           Gov. Aggregation
VEDO         4002171322350503            Gas           Gov. Aggregation   COH             143611350144                Gas           Gov. Aggregation
VEDO         4020804322328430            Gas           Gov. Aggregation   COH             204580820013                Gas           Gov. Aggregation
VEDO         4020883422278795            Gas           Gov. Aggregation   COH             173837070023                Gas           Gov. Aggregation
VEDO         4001017412101701            Gas           Gov. Aggregation   COH             119408220035                Gas           Gov. Aggregation
VEDO         4002170762212207            Gas           Gov. Aggregation   COH             203079710010                Gas           Gov. Aggregation
VEDO         4002729622324144            Gas           Gov. Aggregation   COH             205828080012                Gas           Gov. Aggregation
VEDO         4020785962172245            Gas           Gov. Aggregation   COH             194978790065                Gas           Gov. Aggregation
VEDO         4017246502176263            Gas           Gov. Aggregation   COH             203200480010                Gas           Gov. Aggregation
VEDO         4019479682133072            Gas           Gov. Aggregation   COH             150743970048                Gas           Gov. Aggregation
VEDO         4003058492301261            Gas           Gov. Aggregation   COH             202535650016                Gas           Gov. Aggregation
VEDO         4002301242408829            Gas           Gov. Aggregation   COH             205681370013                Gas           Gov. Aggregation
VEDO         4002670822261943            Gas           Gov. Aggregation   COH             204394910019                Gas           Gov. Aggregation
VEDO         4020893372258236            Gas           Gov. Aggregation   COH             177189690051                Gas           Gov. Aggregation
VEDO         4020322602465448            Gas           Gov. Aggregation   COH             171870030087                Gas           Gov. Aggregation
VEDO         4003605332183444            Gas           Gov. Aggregation   COH             201434900018                Gas           Gov. Aggregation
VEDO         4015378432184821            Gas           Gov. Aggregation   COH             192472520038                Gas           Gov. Aggregation
VEDO         4004859572495043            Gas           Gov. Aggregation   COH             201732080028                Gas           Gov. Aggregation
VEDO         4020325962244041            Gas           Gov. Aggregation   COH             171407340065                Gas           Gov. Aggregation
VEDO         4020300812238488            Gas           Gov. Aggregation   COH             190687000052                Gas           Gov. Aggregation
VEDO         4020307362418817            Gas           Gov. Aggregation   COH             202163260017                Gas           Gov. Aggregation
VEDO         4020244772240081            Gas           Gov. Aggregation   COH             205681380011                Gas           Gov. Aggregation
VEDO         4004706662314805            Gas           Gov. Aggregation   COH             177126290039                Gas           Gov. Aggregation
VEDO         4020173842183400            Gas           Gov. Aggregation   COH             202247930018                Gas           Gov. Aggregation
VEDO         4020789062144380            Gas           Gov. Aggregation   COH             202563640037                Gas           Gov. Aggregation
VEDO         4020787402196410            Gas           Gov. Aggregation   COH             153857360015                Gas           Gov. Aggregation
VEDO         4020835132448170            Gas           Gov. Aggregation   COH             190140720013                Gas           Gov. Aggregation
VEDO         4020319682112234            Gas           Gov. Aggregation   COH             157153410147                Gas           Gov. Aggregation
VEDO         4019416552402407            Gas           Gov. Aggregation   COH             205412520010                Gas           Gov. Aggregation
VEDO         4019007242220062            Gas           Gov. Aggregation   COH             188491450039                Gas           Gov. Aggregation
VEDO         4020845192401166            Gas           Gov. Aggregation   COH             192324700088                Gas           Gov. Aggregation
VEDO         4001714082145754            Gas           Gov. Aggregation   COH             175183190014                Gas           Gov. Aggregation
VEDO         4002847862279821            Gas           Gov. Aggregation   COH             203868190017                Gas           Gov. Aggregation
VEDO         4003610892364217            Gas           Gov. Aggregation   COH             196950790070                Gas           Gov. Aggregation
VEDO         4018948292250768            Gas           Gov. Aggregation   COH             205750190014                Gas           Gov. Aggregation
VEDO         4016489662209633            Gas           Gov. Aggregation   COH             199186880060                Gas           Gov. Aggregation
VEDO         4020299482448073            Gas           Gov. Aggregation   COH             119112460032                Gas           Gov. Aggregation
VEDO         4020298992498531            Gas           Gov. Aggregation   COH             203790530010                Gas           Gov. Aggregation
VEDO         4020323212394778            Gas           Gov. Aggregation   COH             202558460027                Gas           Gov. Aggregation
VEDO         4019993542412545            Gas           Gov. Aggregation   COH             203790520012                Gas           Gov. Aggregation
VEDO         4018900222478012            Gas           Gov. Aggregation   COH             151089340056                Gas           Gov. Aggregation
VEDO         4019286812351652            Gas           Gov. Aggregation   COH             202735110051                Gas           Gov. Aggregation
VEDO         4018527882484813            Gas           Gov. Aggregation   COH             164450380010                Gas           Gov. Aggregation
VEDO         4020124412133445            Gas           Gov. Aggregation   COH             167092040081                Gas           Gov. Aggregation
VEDO         4018972282352712            Gas           Gov. Aggregation   COH             204215440016                Gas           Gov. Aggregation
VEDO         4019301742115785            Gas           Gov. Aggregation   COH             204033770013                Gas           Gov. Aggregation
VEDO         4020146392523911            Gas           Gov. Aggregation   COH             204381410011                Gas           Gov. Aggregation
VEDO         4020303842428605            Gas           Gov. Aggregation   COH             156990810088                Gas           Gov. Aggregation
VEDO         4020307942499692            Gas           Gov. Aggregation   COH             202482750018                Gas           Gov. Aggregation
VEDO         4017837292192605            Gas           Gov. Aggregation   COH             205491150012                Gas           Gov. Aggregation
VEDO         4017878602135326            Gas           Gov. Aggregation   COH             199946140027                Gas           Gov. Aggregation
VEDO         4017207042198802            Gas           Gov. Aggregation   COH             117513770020                Gas           Gov. Aggregation
VEDO         4017804042288064            Gas           Gov. Aggregation   COH             204064640015                Gas           Gov. Aggregation
VEDO         4015194732125665            Gas           Gov. Aggregation   COH             204584290017                Gas           Gov. Aggregation
VEDO         4003166292278774            Gas           Gov. Aggregation   COH             205366150017                Gas           Gov. Aggregation
VEDO         4001530912209243            Gas           Gov. Aggregation   COH             164374170034                Gas           Gov. Aggregation
VEDO         4001191472196400            Gas           Gov. Aggregation   COH             202417000012                Gas           Gov. Aggregation
VEDO         4019242542225697            Gas           Gov. Aggregation   COH             202416990017                Gas           Gov. Aggregation
VEDO         4020048362101309            Gas           Gov. Aggregation   COH             150721260025                Gas           Gov. Aggregation
VEDO         4018460432341942            Gas           Gov. Aggregation   COH             204862830013                Gas           Gov. Aggregation
VEDO         4018460432384568            Gas           Gov. Aggregation   COH             204256480012                Gas           Gov. Aggregation
VEDO         4016915212379175            Gas           Gov. Aggregation   COH             199018760015                Gas           Gov. Aggregation
VEDO         4017968052258393            Gas           Gov. Aggregation   COH             195081230044                Gas           Gov. Aggregation
VEDO         4020308712439861            Gas           Gov. Aggregation   COH             156523660061                Gas           Gov. Aggregation
VEDO         4005158492326443            Gas           Gov. Aggregation   COH             205448120019                Gas           Gov. Aggregation
VEDO         4002837752244595            Gas           Gov. Aggregation   COH             193823420015                Gas           Gov. Aggregation
VEDO         4020876932334747            Gas           Gov. Aggregation   COH             192131299263                Gas           Gov. Aggregation
VEDO         4020289972422559            Gas           Gov. Aggregation   COH             201553210011                Gas           Gov. Aggregation
VEDO         4020303432172673            Gas           Gov. Aggregation   COH             194365050041                Gas           Gov. Aggregation
VEDO         4019773642192611            Gas           Gov. Aggregation   COH             168422220036                Gas           Gov. Aggregation
VEDO         4019774792169444            Gas           Gov. Aggregation   COH             204215570019                Gas           Gov. Aggregation
VEDO         4018047672301693            Gas           Gov. Aggregation   COH             205404910015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4004624582238563            Gas           Gov. Aggregation   COH             143345800055                Gas           Gov. Aggregation
VEDO            4003603602372062            Gas           Gov. Aggregation   COH             204395020014                Gas           Gov. Aggregation
VEDO            4019403582506361            Gas           Gov. Aggregation   COH             146136180109                Gas           Gov. Aggregation
VEDO            4020301342275742            Gas           Gov. Aggregation   COH             149503940081                Gas           Gov. Aggregation
VEDO            4020334162341751            Gas           Gov. Aggregation   COH             200343500034                Gas           Gov. Aggregation
VEDO            4019014902325983            Gas           Gov. Aggregation   COH             199454500033                Gas           Gov. Aggregation
VEDO            4001770052521818            Gas           Gov. Aggregation   COH             191354310024                Gas           Gov. Aggregation
VEDO            4018931222106843            Gas           Gov. Aggregation   COH             164084110148                Gas           Gov. Aggregation
VEDO            4015582162372826            Gas           Gov. Aggregation   COH             157028140032                Gas           Gov. Aggregation
VEDO            4015501702385076            Gas           Gov. Aggregation   COH             205171360016                Gas           Gov. Aggregation
VEDO            4018325212241960            Gas           Gov. Aggregation   COH             200183890024                Gas           Gov. Aggregation
VEDO            4002317832259621            Gas           Gov. Aggregation   COH             204554550015                Gas           Gov. Aggregation
VEDO            4018731642259498            Gas           Gov. Aggregation   COH             201722550011                Gas           Gov. Aggregation
VEDO            4020292532230317            Gas           Gov. Aggregation   COH             195014350031                Gas           Gov. Aggregation
VEDO            4004684522444866            Gas           Gov. Aggregation   COH             143557910026                Gas           Gov. Aggregation
VEDO            4015367822156880            Gas           Gov. Aggregation   COH             201977080011                Gas           Gov. Aggregation
VEDO            4015950962141568            Gas           Gov. Aggregation   COH             192131297167                Gas           Gov. Aggregation
VEDO            4017806342223193            Gas           Gov. Aggregation   COH             201852050011                Gas           Gov. Aggregation
VEDO            4016535092449993            Gas           Gov. Aggregation   COH             162551520063                Gas           Gov. Aggregation
VEDO            4001601472156647            Gas           Gov. Aggregation   COH             188206810018                Gas           Gov. Aggregation
VEDO            4019974172517339            Gas           Gov. Aggregation   COH             202650810018                Gas           Gov. Aggregation
VEDO            4016970972358389            Gas           Gov. Aggregation   COH             203909620018                Gas           Gov. Aggregation
VEDO            4020849882327692            Gas           Gov. Aggregation   COH             195293380053                Gas           Gov. Aggregation
VEDO            4001000812194618            Gas           Gov. Aggregation   COH             205547980019                Gas           Gov. Aggregation
VEDO            4001000812577898            Gas           Gov. Aggregation   COH             151290880038                Gas           Gov. Aggregation
COH             155925800024                Gas           Gov. Aggregation   COH             194849910026                Gas           Gov. Aggregation
VEDO            4001546822151412            Gas           Gov. Aggregation   COH             204359370017                Gas           Gov. Aggregation
COH             121931520020                Gas           Gov. Aggregation   COH             192758460044                Gas           Gov. Aggregation
COH             111105340012                Gas           Gov. Aggregation   COH             205791980012                Gas           Gov. Aggregation
COH             134300310017                Gas           Gov. Aggregation   COH             195065980032                Gas           Gov. Aggregation
COH             203832730036                Gas           Gov. Aggregation   COH             199459580028                Gas           Gov. Aggregation
COH             197253370020                Gas           Gov. Aggregation   COH             204861120032                Gas           Gov. Aggregation
COH             135981580027                Gas           Gov. Aggregation   COH             134526110039                Gas           Gov. Aggregation
VEDO            4004993222509870            Gas           Gov. Aggregation   COH             205418180010                Gas           Gov. Aggregation
COH             123845760030                Gas           Gov. Aggregation   COH             161039410054                Gas           Gov. Aggregation
COH             167023560014                Gas           Gov. Aggregation   COH             204849300012                Gas           Gov. Aggregation
VEDO            4002036562198898            Gas           Gov. Aggregation   COH             194311760036                Gas           Gov. Aggregation
COH             205647260018                Gas           Gov. Aggregation   COH             201740590015                Gas           Gov. Aggregation
COH             121945310016                Gas           Gov. Aggregation   COH             203188700011                Gas           Gov. Aggregation
COH             121951840012                Gas           Gov. Aggregation   COH             204139620010                Gas           Gov. Aggregation
COH             163148820019                Gas           Gov. Aggregation   COH             116861330035                Gas           Gov. Aggregation
COH             124631280024                Gas           Gov. Aggregation   COH             204448140016                Gas           Gov. Aggregation
COH             121946940012                Gas           Gov. Aggregation   COH             205279630011                Gas           Gov. Aggregation
COH             133003600044                Gas           Gov. Aggregation   COH             199237370013                Gas           Gov. Aggregation
COH             139984610011                Gas           Gov. Aggregation   COH             190087780088                Gas           Gov. Aggregation
COH             142064270018                Gas           Gov. Aggregation   COH             205192670017                Gas           Gov. Aggregation
COH             203678850011                Gas           Gov. Aggregation   COH             199538860021                Gas           Gov. Aggregation
COH             121931360015                Gas           Gov. Aggregation   COH             143248990098                Gas           Gov. Aggregation
COH             121938490023                Gas           Gov. Aggregation   COH             205863830010                Gas           Gov. Aggregation
COH             121956170013                Gas           Gov. Aggregation   COH             205138000011                Gas           Gov. Aggregation
COH             121957140017                Gas           Gov. Aggregation   COH             169281060048                Gas           Gov. Aggregation
COH             121975900028                Gas           Gov. Aggregation   COH             150237010033                Gas           Gov. Aggregation
COH             121986460037                Gas           Gov. Aggregation   COH             202310470010                Gas           Gov. Aggregation
COH             133545590021                Gas           Gov. Aggregation   COH             201911930010                Gas           Gov. Aggregation
COH             133422100041                Gas           Gov. Aggregation   COH             154104200094                Gas           Gov. Aggregation
COH             147494610010                Gas           Gov. Aggregation   COH             196849800036                Gas           Gov. Aggregation
COH             147731630012                Gas           Gov. Aggregation   COH             199288430022                Gas           Gov. Aggregation
COH             149033070027                Gas           Gov. Aggregation   COH             205879610013                Gas           Gov. Aggregation
COH             148916290011                Gas           Gov. Aggregation   COH             203292960016                Gas           Gov. Aggregation
COH             121972110011                Gas           Gov. Aggregation   COH             191621100030                Gas           Gov. Aggregation
COH             131244670024                Gas           Gov. Aggregation   COH             205791970014                Gas           Gov. Aggregation
COH             138180480014                Gas           Gov. Aggregation   COH             117331610029                Gas           Gov. Aggregation
COH             121960540025                Gas           Gov. Aggregation   COH             186747550055                Gas           Gov. Aggregation
COH             121954060010                Gas           Gov. Aggregation   COH             199298570022                Gas           Gov. Aggregation
COH             121954700015                Gas           Gov. Aggregation   COH             201060360024                Gas           Gov. Aggregation
COH             121955800021                Gas           Gov. Aggregation   COH             204255730011                Gas           Gov. Aggregation
COH             121958660016                Gas           Gov. Aggregation   COH             189632350011                Gas           Gov. Aggregation
COH             121949800015                Gas           Gov. Aggregation   COH             201384600018                Gas           Gov. Aggregation
COH             121957490014                Gas           Gov. Aggregation   COH             202649970018                Gas           Gov. Aggregation
COH             137053860014                Gas           Gov. Aggregation   COH             200299350022                Gas           Gov. Aggregation
COH             139817990015                Gas           Gov. Aggregation   COH             158948890025                Gas           Gov. Aggregation
COH             138851880026                Gas           Gov. Aggregation   COH             204036880014                Gas           Gov. Aggregation
COH             142023160017                Gas           Gov. Aggregation   COH             173353660089                Gas           Gov. Aggregation
COH             112924130028                Gas           Gov. Aggregation   COH             169220900021                Gas           Gov. Aggregation
COH             121956130011                Gas           Gov. Aggregation   COH             204527540014                Gas           Gov. Aggregation
COH             121965420020                Gas           Gov. Aggregation   COH             199374140020                Gas           Gov. Aggregation
COH             159490180015                Gas           Gov. Aggregation   COH             157682960025                Gas           Gov. Aggregation
COH             177746380018                Gas           Gov. Aggregation   COH             202149970018                Gas           Gov. Aggregation
COH             122019110010                Gas           Gov. Aggregation   COH             202707600011                Gas           Gov. Aggregation
COH             122029280014                Gas           Gov. Aggregation   COH             185417270054                Gas           Gov. Aggregation
COH             121922850011                Gas           Gov. Aggregation   COH             202189170012                Gas           Gov. Aggregation
COH             121937640023                Gas           Gov. Aggregation   COH             190877940025                Gas           Gov. Aggregation
COH             121957680023                Gas           Gov. Aggregation   COH             200210430021                Gas           Gov. Aggregation
COH             122029110019                Gas           Gov. Aggregation   COH             191011330035                Gas           Gov. Aggregation
COH             121978980026                Gas           Gov. Aggregation   COH             196657060020                Gas           Gov. Aggregation
COH             122020420012                Gas           Gov. Aggregation   COH             198857140036                Gas           Gov. Aggregation
COH             121939080018                Gas           Gov. Aggregation   COH             194241410029                Gas           Gov. Aggregation
COH             121992660014                Gas           Gov. Aggregation   COH             204014540011                Gas           Gov. Aggregation
COH             122002390017                Gas           Gov. Aggregation   COH             202401010013                Gas           Gov. Aggregation
COH             122002880014                Gas           Gov. Aggregation   COH             202188330010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             122028780020                Gas           Gov. Aggregation   COH             199615820034                Gas           Gov. Aggregation
COH             151360820013                Gas           Gov. Aggregation   COH             204977040016                Gas           Gov. Aggregation
COH             155974610012                Gas           Gov. Aggregation   COH             197465510012                Gas           Gov. Aggregation
COH             168363590026                Gas           Gov. Aggregation   COH             193904770029                Gas           Gov. Aggregation
COH             162609420016                Gas           Gov. Aggregation   COH             163239550059                Gas           Gov. Aggregation
COH             147844340014                Gas           Gov. Aggregation   COH             205517110014                Gas           Gov. Aggregation
COH             121939160011                Gas           Gov. Aggregation   COH             205009010012                Gas           Gov. Aggregation
COH             121948410028                Gas           Gov. Aggregation   COH             204547490013                Gas           Gov. Aggregation
COH             121956700066                Gas           Gov. Aggregation   COH             203422680036                Gas           Gov. Aggregation
COH             121933460010                Gas           Gov. Aggregation   COH             153132080092                Gas           Gov. Aggregation
COH             121943830011                Gas           Gov. Aggregation   COH             205677780016                Gas           Gov. Aggregation
COH             121931460014                Gas           Gov. Aggregation   COH             204696290010                Gas           Gov. Aggregation
COH             121943460019                Gas           Gov. Aggregation   COH             117125120029                Gas           Gov. Aggregation
COH             134920700011                Gas           Gov. Aggregation   COH             199808310032                Gas           Gov. Aggregation
COH             121936890014                Gas           Gov. Aggregation   COH             205273410019                Gas           Gov. Aggregation
COH             134546130015                Gas           Gov. Aggregation   COH             204289850015                Gas           Gov. Aggregation
COH             122010300018                Gas           Gov. Aggregation   COH             117199450025                Gas           Gov. Aggregation
COH             157510220041                Gas           Gov. Aggregation   COH             117359590017                Gas           Gov. Aggregation
COH             121927560012                Gas           Gov. Aggregation   COH             151537600023                Gas           Gov. Aggregation
COH             121955320013                Gas           Gov. Aggregation   COH             196396010015                Gas           Gov. Aggregation
COH             157796900017                Gas           Gov. Aggregation   COH             202233250010                Gas           Gov. Aggregation
COH             121964580010                Gas           Gov. Aggregation   COH             117338920011                Gas           Gov. Aggregation
COH             165819900017                Gas           Gov. Aggregation   COH             204844120010                Gas           Gov. Aggregation
COH             127296820010                Gas           Gov. Aggregation   COH             197381920023                Gas           Gov. Aggregation
COH             123743530016                Gas           Gov. Aggregation   COH             205280210016                Gas           Gov. Aggregation
COH             123738690014                Gas           Gov. Aggregation   COH             192131296882                Gas           Gov. Aggregation
COH             123740730010                Gas           Gov. Aggregation   COH             203527410012                Gas           Gov. Aggregation
COH             123754640010                Gas           Gov. Aggregation   COH             204062580012                Gas           Gov. Aggregation
COH             123763200013                Gas           Gov. Aggregation   COH             172650130045                Gas           Gov. Aggregation
COH             123907210024                Gas           Gov. Aggregation   COH             163985460093                Gas           Gov. Aggregation
COH             123745420015                Gas           Gov. Aggregation   COH             168917400075                Gas           Gov. Aggregation
COH             123772930057                Gas           Gov. Aggregation   COH             203459010011                Gas           Gov. Aggregation
COH             123800380016                Gas           Gov. Aggregation   COH             154549430021                Gas           Gov. Aggregation
COH             123987520021                Gas           Gov. Aggregation   COH             201469720013                Gas           Gov. Aggregation
COH             144087960013                Gas           Gov. Aggregation   COH             165515830052                Gas           Gov. Aggregation
COH             133917180037                Gas           Gov. Aggregation   COH             192131298095                Gas           Gov. Aggregation
COH             154740310039                Gas           Gov. Aggregation   COH             198067970037                Gas           Gov. Aggregation
COH             153614160011                Gas           Gov. Aggregation   COH             152492520061                Gas           Gov. Aggregation
COH             175826930014                Gas           Gov. Aggregation   COH             203569780017                Gas           Gov. Aggregation
COH             172595570014                Gas           Gov. Aggregation   COH             164564410021                Gas           Gov. Aggregation
COH             160529060014                Gas           Gov. Aggregation   COH             202335500011                Gas           Gov. Aggregation
COH             164924730011                Gas           Gov. Aggregation   COH             167260170023                Gas           Gov. Aggregation
COH             123739600010                Gas           Gov. Aggregation   COH             201103910026                Gas           Gov. Aggregation
COH             123739770015                Gas           Gov. Aggregation   COH             203894670011                Gas           Gov. Aggregation
COH             123743410011                Gas           Gov. Aggregation   COH             203477320018                Gas           Gov. Aggregation
COH             123797900015                Gas           Gov. Aggregation   COH             198670950032                Gas           Gov. Aggregation
COH             148409710035                Gas           Gov. Aggregation   COH             202665980012                Gas           Gov. Aggregation
COH             162113860015                Gas           Gov. Aggregation   COH             117324220035                Gas           Gov. Aggregation
COH             143549150014                Gas           Gov. Aggregation   COH             156053760049                Gas           Gov. Aggregation
COH             135472980022                Gas           Gov. Aggregation   COH             192131298773                Gas           Gov. Aggregation
COH             190467210036                Gas           Gov. Aggregation   COH             202173790015                Gas           Gov. Aggregation
COH             187183130012                Gas           Gov. Aggregation   COH             202202650011                Gas           Gov. Aggregation
COH             111122100016                Gas           Gov. Aggregation   COH             201322570015                Gas           Gov. Aggregation
COH             111122330018                Gas           Gov. Aggregation   COH             203450570030                Gas           Gov. Aggregation
COH             111129700016                Gas           Gov. Aggregation   COH             204281050019                Gas           Gov. Aggregation
COH             111133360028                Gas           Gov. Aggregation   COH             204569920016                Gas           Gov. Aggregation
COH             111122430017                Gas           Gov. Aggregation   COH             150365240114                Gas           Gov. Aggregation
COH             111132680014                Gas           Gov. Aggregation   COH             203790620020                Gas           Gov. Aggregation
COH             111132060014                Gas           Gov. Aggregation   COH             191162570054                Gas           Gov. Aggregation
COH             143317520026                Gas           Gov. Aggregation   COH             191320410042                Gas           Gov. Aggregation
COH             145851870010                Gas           Gov. Aggregation   COH             194549560026                Gas           Gov. Aggregation
COH             142489230016                Gas           Gov. Aggregation   COH             150392340063                Gas           Gov. Aggregation
COH             139984800039                Gas           Gov. Aggregation   COH             164463630207                Gas           Gov. Aggregation
COH             164928050016                Gas           Gov. Aggregation   COH             204810870014                Gas           Gov. Aggregation
COH             166083920013                Gas           Gov. Aggregation   COH             204674580015                Gas           Gov. Aggregation
COH             128772080015                Gas           Gov. Aggregation   COH             139952640012                Gas           Gov. Aggregation
COH             142471830026                Gas           Gov. Aggregation   COH             200120250011                Gas           Gov. Aggregation
COH             176125480023                Gas           Gov. Aggregation   COH             117005310041                Gas           Gov. Aggregation
COH             172213190012                Gas           Gov. Aggregation   COH             156970110023                Gas           Gov. Aggregation
COH             175609790014                Gas           Gov. Aggregation   COH             205851090011                Gas           Gov. Aggregation
COH             188084670018                Gas           Gov. Aggregation   COH             204195590019                Gas           Gov. Aggregation
COH             175644740010                Gas           Gov. Aggregation   COH             201836280017                Gas           Gov. Aggregation
COH             147328430028                Gas           Gov. Aggregation   COH             191701970029                Gas           Gov. Aggregation
COH             175479710017                Gas           Gov. Aggregation   COH             167105020031                Gas           Gov. Aggregation
COH             193278640016                Gas           Gov. Aggregation   COH             177363930050                Gas           Gov. Aggregation
COH             166199750014                Gas           Gov. Aggregation   COH             170017160061                Gas           Gov. Aggregation
COH             111104920012                Gas           Gov. Aggregation   COH             205894800011                Gas           Gov. Aggregation
COH             111114980019                Gas           Gov. Aggregation   COH             204395010016                Gas           Gov. Aggregation
COH             111105420015                Gas           Gov. Aggregation   COH             188859230035                Gas           Gov. Aggregation
COH             111107210015                Gas           Gov. Aggregation   COH             158675280013                Gas           Gov. Aggregation
COH             111107490017                Gas           Gov. Aggregation   COH             197830030027                Gas           Gov. Aggregation
COH             111137900035                Gas           Gov. Aggregation   COH             174254000077                Gas           Gov. Aggregation
COH             111109110012                Gas           Gov. Aggregation   COH             201225370031                Gas           Gov. Aggregation
COH             111114610025                Gas           Gov. Aggregation   COH             201449120011                Gas           Gov. Aggregation
COH             111115090069                Gas           Gov. Aggregation   COH             177288610093                Gas           Gov. Aggregation
COH             111116550015                Gas           Gov. Aggregation   COH             193101230024                Gas           Gov. Aggregation
COH             111123990018                Gas           Gov. Aggregation   COH             205330620013                Gas           Gov. Aggregation
COH             111137300013                Gas           Gov. Aggregation   COH             195194270029                Gas           Gov. Aggregation
COH             111115600016                Gas           Gov. Aggregation   COH             160715910065                Gas           Gov. Aggregation
COH             111115950013                Gas           Gov. Aggregation   COH             203015580012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             111115960020                Gas           Gov. Aggregation   COH             202886790014                Gas           Gov. Aggregation
COH             111116020016                Gas           Gov. Aggregation   COH             204518930011                Gas           Gov. Aggregation
COH             111116380011                Gas           Gov. Aggregation   COH             185723550029                Gas           Gov. Aggregation
COH             111116560013                Gas           Gov. Aggregation   COH             204569960018                Gas           Gov. Aggregation
COH             111104820013                Gas           Gov. Aggregation   COH             189705950038                Gas           Gov. Aggregation
COH             111123370027                Gas           Gov. Aggregation   COH             204611750039                Gas           Gov. Aggregation
COH             150426370019                Gas           Gov. Aggregation   COH             203811110012                Gas           Gov. Aggregation
COH             167141480011                Gas           Gov. Aggregation   COH             192475450028                Gas           Gov. Aggregation
COH             187750070012                Gas           Gov. Aggregation   COH             202163340029                Gas           Gov. Aggregation
COH             162973900023                Gas           Gov. Aggregation   COH             202983650017                Gas           Gov. Aggregation
COH             188222560017                Gas           Gov. Aggregation   COH             201787980015                Gas           Gov. Aggregation
COH             111115090041                Gas           Gov. Aggregation   COH             142184710039                Gas           Gov. Aggregation
COH             111138500028                Gas           Gov. Aggregation   COH             177153990026                Gas           Gov. Aggregation
COH             131441860026                Gas           Gov. Aggregation   COH             201494950012                Gas           Gov. Aggregation
COH             140162710046                Gas           Gov. Aggregation   COH             138159490035                Gas           Gov. Aggregation
COH             140251450015                Gas           Gov. Aggregation   COH             117364500023                Gas           Gov. Aggregation
COH             111123910014                Gas           Gov. Aggregation   COH             201448800029                Gas           Gov. Aggregation
COH             111104890028                Gas           Gov. Aggregation   COH             153693720062                Gas           Gov. Aggregation
COH             121945750014                Gas           Gov. Aggregation   COH             204779380015                Gas           Gov. Aggregation
COH             121945690017                Gas           Gov. Aggregation   COH             147935950013                Gas           Gov. Aggregation
COH             121947580016                Gas           Gov. Aggregation   COH             204989730016                Gas           Gov. Aggregation
COH             121945760012                Gas           Gov. Aggregation   COH             203133760014                Gas           Gov. Aggregation
COH             137391420010                Gas           Gov. Aggregation   COH             196941780026                Gas           Gov. Aggregation
COH             140442130017                Gas           Gov. Aggregation   COH             197902760021                Gas           Gov. Aggregation
COH             121945750023                Gas           Gov. Aggregation   COH             203124700015                Gas           Gov. Aggregation
COH             158256130012                Gas           Gov. Aggregation   COH             192131299763                Gas           Gov. Aggregation
COH             163885070015                Gas           Gov. Aggregation   COH             202524620015                Gas           Gov. Aggregation
COH             146902910020                Gas           Gov. Aggregation   COH             168648900062                Gas           Gov. Aggregation
COH             127629410019                Gas           Gov. Aggregation   COH             201702580017                Gas           Gov. Aggregation
COH             124591590025                Gas           Gov. Aggregation   COH             202346410017                Gas           Gov. Aggregation
COH             173697040018                Gas           Gov. Aggregation   COH             190894750047                Gas           Gov. Aggregation
COH             177520630013                Gas           Gov. Aggregation   COH             158185040021                Gas           Gov. Aggregation
COH             124643140019                Gas           Gov. Aggregation   COH             204440290011                Gas           Gov. Aggregation
COH             124647040049                Gas           Gov. Aggregation   COH             177787790061                Gas           Gov. Aggregation
COH             143157310011                Gas           Gov. Aggregation   COH             201595180010                Gas           Gov. Aggregation
COH             148191000019                Gas           Gov. Aggregation   COH             192131297489                Gas           Gov. Aggregation
COH             148405610016                Gas           Gov. Aggregation   COH             203055720018                Gas           Gov. Aggregation
COH             159652290018                Gas           Gov. Aggregation   COH             192731840022                Gas           Gov. Aggregation
COH             143157310020                Gas           Gov. Aggregation   COH             194073080035                Gas           Gov. Aggregation
COH             139402400017                Gas           Gov. Aggregation   COH             165337880023                Gas           Gov. Aggregation
COH             130742010018                Gas           Gov. Aggregation   COH             146552400020                Gas           Gov. Aggregation
COH             124640390013                Gas           Gov. Aggregation   COH             197722560034                Gas           Gov. Aggregation
COH             124646940015                Gas           Gov. Aggregation   COH             204447390016                Gas           Gov. Aggregation
COH             111070380028                Gas           Gov. Aggregation   COH             192131297461                Gas           Gov. Aggregation
COH             111109790010                Gas           Gov. Aggregation   COH             197679880021                Gas           Gov. Aggregation
COH             111036420012                Gas           Gov. Aggregation   COH             192131297587                Gas           Gov. Aggregation
COH             111110780019                Gas           Gov. Aggregation   COH             197742650024                Gas           Gov. Aggregation
COH             111112340017                Gas           Gov. Aggregation   COH             192131297014                Gas           Gov. Aggregation
COH             111045380012                Gas           Gov. Aggregation   COH             201740530017                Gas           Gov. Aggregation
COH             171058910011                Gas           Gov. Aggregation   COH             203559860011                Gas           Gov. Aggregation
COH             127261570025                Gas           Gov. Aggregation   COH             205088540015                Gas           Gov. Aggregation
COH             111064250019                Gas           Gov. Aggregation   COH             198008580024                Gas           Gov. Aggregation
COH             111059400018                Gas           Gov. Aggregation   COH             200173110028                Gas           Gov. Aggregation
COH             111154130013                Gas           Gov. Aggregation   COH             135392260032                Gas           Gov. Aggregation
COH             111046200017                Gas           Gov. Aggregation   COH             205786200016                Gas           Gov. Aggregation
COH             133505840013                Gas           Gov. Aggregation   COH             200727310030                Gas           Gov. Aggregation
COH             111095410010                Gas           Gov. Aggregation   COH             202392970013                Gas           Gov. Aggregation
COH             111095400012                Gas           Gov. Aggregation   COH             203439230017                Gas           Gov. Aggregation
COH             111095420018                Gas           Gov. Aggregation   COH             189296460030                Gas           Gov. Aggregation
VEDO            4018619442252261            Gas           Gov. Aggregation   COH             132714530025                Gas           Gov. Aggregation
COH             203710290019                Gas           Gov. Aggregation   COH             191532060038                Gas           Gov. Aggregation
COH             142694020015                Gas           Gov. Aggregation   COH             195497490030                Gas           Gov. Aggregation
COH             201915630015                Gas           Gov. Aggregation   COH             204333730015                Gas           Gov. Aggregation
COH             201968230018                Gas           Gov. Aggregation   COH             204937280010                Gas           Gov. Aggregation
COH             202033610018                Gas           Gov. Aggregation   COH             191864640793                Gas           Gov. Aggregation
COH             201333890015                Gas           Gov. Aggregation   COH             201371360016                Gas           Gov. Aggregation
COH             201029530024                Gas           Gov. Aggregation   COH             205313840013                Gas           Gov. Aggregation
COH             200788970025                Gas           Gov. Aggregation   COH             187319990013                Gas           Gov. Aggregation
COH             192130920118                Gas           Gov. Aggregation   COH             204007260015                Gas           Gov. Aggregation
COH             198698420044                Gas           Gov. Aggregation   COH             201348760011                Gas           Gov. Aggregation
COH             110447140011                Gas           Gov. Aggregation   COH             190395750027                Gas           Gov. Aggregation
COH             136534350085                Gas           Gov. Aggregation   COH             205779400019                Gas           Gov. Aggregation
COH             202864260011                Gas           Gov. Aggregation   COH             202478970011                Gas           Gov. Aggregation
COH             203953670015                Gas           Gov. Aggregation   COH             189077820038                Gas           Gov. Aggregation
COH             158751210015                Gas           Gov. Aggregation   COH             203302930019                Gas           Gov. Aggregation
COH             166406020016                Gas           Gov. Aggregation   COH             201340500048                Gas           Gov. Aggregation
COH             157587230057                Gas           Gov. Aggregation   COH             196313830035                Gas           Gov. Aggregation
COH             205087840014                Gas           Gov. Aggregation   COH             203811070011                Gas           Gov. Aggregation
COH             203432870035                Gas           Gov. Aggregation   COH             201134020028                Gas           Gov. Aggregation
COH             203790180014                Gas           Gov. Aggregation   COH             205912050019                Gas           Gov. Aggregation
COH             203716440015                Gas           Gov. Aggregation   COH             205155540021                Gas           Gov. Aggregation
COH             200469360029                Gas           Gov. Aggregation   COH             203205740015                Gas           Gov. Aggregation
COH             201654540018                Gas           Gov. Aggregation   COH             203881940011                Gas           Gov. Aggregation
COH             201008970026                Gas           Gov. Aggregation   COH             174488800074                Gas           Gov. Aggregation
COH             201008970035                Gas           Gov. Aggregation   COH             198314860017                Gas           Gov. Aggregation
COH             110448010098                Gas           Gov. Aggregation   COH             200507790018                Gas           Gov. Aggregation
COH             139532230045                Gas           Gov. Aggregation   COH             117357670023                Gas           Gov. Aggregation
COH             110502390011                Gas           Gov. Aggregation   COH             196374210028                Gas           Gov. Aggregation
COH             110483830047                Gas           Gov. Aggregation   COH             117311940022                Gas           Gov. Aggregation
COH             185470730028                Gas           Gov. Aggregation   COH             203079870633                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             164125900117                Gas           Gov. Aggregation   COH             201880210018                Gas           Gov. Aggregation
COH             192697320034                Gas           Gov. Aggregation   COH             197887400020                Gas           Gov. Aggregation
COH             202535560015                Gas           Gov. Aggregation   COH             176625550073                Gas           Gov. Aggregation
DEO             6180010126479               Gas           Gov. Aggregation   COH             202416920011                Gas           Gov. Aggregation
COH             205708690018                Gas           Gov. Aggregation   COH             203716680015                Gas           Gov. Aggregation
VEDO            4003531862350534            Gas           Gov. Aggregation   COH             204220000017                Gas           Gov. Aggregation
COH             139046660019                Gas           Gov. Aggregation   COH             203916650017                Gas           Gov. Aggregation
VEDO            4002001722195558            Gas           Gov. Aggregation   COH             165092410094                Gas           Gov. Aggregation
COH             153098340019                Gas           Gov. Aggregation   COH             139823880033                Gas           Gov. Aggregation
COH             124478060026                Gas           Gov. Aggregation   COH             195870950022                Gas           Gov. Aggregation
COH             147485150196                Gas           Gov. Aggregation   COH             205815330016                Gas           Gov. Aggregation
COH             126817810062                Gas           Gov. Aggregation   COH             187951420021                Gas           Gov. Aggregation
COH             205714300016                Gas           Gov. Aggregation   COH             205624190011                Gas           Gov. Aggregation
VEDO            4016827912543807            Gas           Gov. Aggregation   COH             204178500013                Gas           Gov. Aggregation
COH             192314110029                Gas           Gov. Aggregation   COH             205360290010                Gas           Gov. Aggregation
COH             142064240032                Gas           Gov. Aggregation   COH             170110400035                Gas           Gov. Aggregation
COH             195658960011                Gas           Gov. Aggregation   COH             203079870491                Gas           Gov. Aggregation
COH             196085280018                Gas           Gov. Aggregation   COH             205846130013                Gas           Gov. Aggregation
COH             137159540035                Gas           Gov. Aggregation   COH             193872630027                Gas           Gov. Aggregation
COH             163894350026                Gas           Gov. Aggregation   COH             201465030016                Gas           Gov. Aggregation
COH             162404730051                Gas           Gov. Aggregation   COH             201558950025                Gas           Gov. Aggregation
COH             194901680014                Gas           Gov. Aggregation   COH             118043310022                Gas           Gov. Aggregation
COH             174985930028                Gas           Gov. Aggregation   COH             204879780019                Gas           Gov. Aggregation
COH             191969430035                Gas           Gov. Aggregation   COH             205457170010                Gas           Gov. Aggregation
COH             168966950022                Gas           Gov. Aggregation   COH             204767990012                Gas           Gov. Aggregation
COH             171856110017                Gas           Gov. Aggregation   COH             203079870768                Gas           Gov. Aggregation
COH             203751570014                Gas           Gov. Aggregation   COH             197608330025                Gas           Gov. Aggregation
COH             192529980022                Gas           Gov. Aggregation   COH             192131299325                Gas           Gov. Aggregation
COH             198916550016                Gas           Gov. Aggregation   COH             197974820045                Gas           Gov. Aggregation
COH             196644870027                Gas           Gov. Aggregation   COH             195318450036                Gas           Gov. Aggregation
COH             166129720017                Gas           Gov. Aggregation   COH             205727690018                Gas           Gov. Aggregation
COH             203739220013                Gas           Gov. Aggregation   COH             203981450012                Gas           Gov. Aggregation
COH             202513590015                Gas           Gov. Aggregation   COH             204520990014                Gas           Gov. Aggregation
COH             201852630019                Gas           Gov. Aggregation   COH             203079870893                Gas           Gov. Aggregation
COH             203966920015                Gas           Gov. Aggregation   COH             192565470032                Gas           Gov. Aggregation
COH             155931810038                Gas           Gov. Aggregation   COH             205644130011                Gas           Gov. Aggregation
COH             168080640016                Gas           Gov. Aggregation   COH             201862460014                Gas           Gov. Aggregation
COH             168612140076                Gas           Gov. Aggregation   COH             202385670011                Gas           Gov. Aggregation
COH             175989970021                Gas           Gov. Aggregation   COH             175747330027                Gas           Gov. Aggregation
COH             174608760040                Gas           Gov. Aggregation   COH             166736970063                Gas           Gov. Aggregation
COH             174344490010                Gas           Gov. Aggregation   COH             192131298595                Gas           Gov. Aggregation
COH             175392130040                Gas           Gov. Aggregation   COH             202405340016                Gas           Gov. Aggregation
COH             175532540019                Gas           Gov. Aggregation   COH             202233700015                Gas           Gov. Aggregation
COH             176737210031                Gas           Gov. Aggregation   COH             185522300045                Gas           Gov. Aggregation
COH             191132900048                Gas           Gov. Aggregation   COH             201606430012                Gas           Gov. Aggregation
COH             193711760011                Gas           Gov. Aggregation   COH             196920460027                Gas           Gov. Aggregation
COH             122447810025                Gas           Gov. Aggregation   COH             203415380016                Gas           Gov. Aggregation
COH             198309860018                Gas           Gov. Aggregation   COH             199288380023                Gas           Gov. Aggregation
COH             198330360018                Gas           Gov. Aggregation   COH             201422900013                Gas           Gov. Aggregation
COH             200814130015                Gas           Gov. Aggregation   COH             204958730011                Gas           Gov. Aggregation
COH             143138360011                Gas           Gov. Aggregation   COH             203569820018                Gas           Gov. Aggregation
COH             137281000020                Gas           Gov. Aggregation   COH             202731470018                Gas           Gov. Aggregation
COH             145873670016                Gas           Gov. Aggregation   COH             194189403342                Gas           Gov. Aggregation
COH             144749250054                Gas           Gov. Aggregation   COH             196560710028                Gas           Gov. Aggregation
COH             133166330029                Gas           Gov. Aggregation   COH             145640580063                Gas           Gov. Aggregation
COH             195187810020                Gas           Gov. Aggregation   COH             202302520034                Gas           Gov. Aggregation
COH             194801410012                Gas           Gov. Aggregation   COH             202197240010                Gas           Gov. Aggregation
COH             196730980012                Gas           Gov. Aggregation   COH             201843510013                Gas           Gov. Aggregation
COH             198755080017                Gas           Gov. Aggregation   COH             205424480014                Gas           Gov. Aggregation
COH             199006340018                Gas           Gov. Aggregation   COH             149247960063                Gas           Gov. Aggregation
COH             199253650010                Gas           Gov. Aggregation   COH             205372410019                Gas           Gov. Aggregation
COH             198139100018                Gas           Gov. Aggregation   COH             192131297096                Gas           Gov. Aggregation
COH             202648320016                Gas           Gov. Aggregation   COH             204207150014                Gas           Gov. Aggregation
COH             202746260011                Gas           Gov. Aggregation   COH             188841150039                Gas           Gov. Aggregation
COH             195344320038                Gas           Gov. Aggregation   COH             200774020014                Gas           Gov. Aggregation
COH             196169860018                Gas           Gov. Aggregation   COH             193045390030                Gas           Gov. Aggregation
COH             205336380012                Gas           Gov. Aggregation   COH             186138000079                Gas           Gov. Aggregation
COH             143367560023                Gas           Gov. Aggregation   COH             195481130038                Gas           Gov. Aggregation
COH             190239010022                Gas           Gov. Aggregation   COH             202049210019                Gas           Gov. Aggregation
COH             202816660018                Gas           Gov. Aggregation   COH             205756960010                Gas           Gov. Aggregation
COH             122406420032                Gas           Gov. Aggregation   COH             194365140051                Gas           Gov. Aggregation
COH             122485370028                Gas           Gov. Aggregation   COH             203758490017                Gas           Gov. Aggregation
COH             188843610010                Gas           Gov. Aggregation   COH             204040560012                Gas           Gov. Aggregation
COH             191962340029                Gas           Gov. Aggregation   COH             161346230033                Gas           Gov. Aggregation
COH             201787480010                Gas           Gov. Aggregation   COH             192131299450                Gas           Gov. Aggregation
COH             192314180016                Gas           Gov. Aggregation   COH             196162590028                Gas           Gov. Aggregation
COH             187748030024                Gas           Gov. Aggregation   COH             201348520011                Gas           Gov. Aggregation
COH             203394600015                Gas           Gov. Aggregation   COH             201334580018                Gas           Gov. Aggregation
COH             204898000012                Gas           Gov. Aggregation   COH             186101660014                Gas           Gov. Aggregation
COH             205103390013                Gas           Gov. Aggregation   COH             201888360039                Gas           Gov. Aggregation
COH             205184930019                Gas           Gov. Aggregation   COH             202755470018                Gas           Gov. Aggregation
COH             200774570028                Gas           Gov. Aggregation   COH             192131298513                Gas           Gov. Aggregation
COH             200002870020                Gas           Gov. Aggregation   COH             204890360013                Gas           Gov. Aggregation
COH             163726910014                Gas           Gov. Aggregation   COH             198095900023                Gas           Gov. Aggregation
COH             160387330019                Gas           Gov. Aggregation   COH             204299300019                Gas           Gov. Aggregation
COH             157287800044                Gas           Gov. Aggregation   COH             198374770010                Gas           Gov. Aggregation
COH             122480330035                Gas           Gov. Aggregation   COH             192131299816                Gas           Gov. Aggregation
COH             137554570059                Gas           Gov. Aggregation   COH             185647390089                Gas           Gov. Aggregation
COH             174626470025                Gas           Gov. Aggregation   COH             204336840016                Gas           Gov. Aggregation
COH             197723130014                Gas           Gov. Aggregation   COH             203314660020                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             200520250013                Gas           Gov. Aggregation   COH             203079870142                Gas           Gov. Aggregation
COH             200175240027                Gas           Gov. Aggregation   COH             205931920016                Gas           Gov. Aggregation
COH             196705680027                Gas           Gov. Aggregation   COH             111963840037                Gas           Gov. Aggregation
COH             203398560016                Gas           Gov. Aggregation   COH             140405630047                Gas           Gov. Aggregation
COH             204730570017                Gas           Gov. Aggregation   COH             150212230048                Gas           Gov. Aggregation
COH             187525520014                Gas           Gov. Aggregation   COH             151036100020                Gas           Gov. Aggregation
COH             192913670031                Gas           Gov. Aggregation   COH             161547750029                Gas           Gov. Aggregation
COH             168442100011                Gas           Gov. Aggregation   COH             164027530051                Gas           Gov. Aggregation
COH             122487870029                Gas           Gov. Aggregation   COH             194034630022                Gas           Gov. Aggregation
COH             158328330026                Gas           Gov. Aggregation   COH             202841060011                Gas           Gov. Aggregation
COH             151793270012                Gas           Gov. Aggregation   COH             203477130027                Gas           Gov. Aggregation
COH             186438290028                Gas           Gov. Aggregation   COH             205301090016                Gas           Gov. Aggregation
COH             160825750039                Gas           Gov. Aggregation   COH             192032290084                Gas           Gov. Aggregation
COH             167964730041                Gas           Gov. Aggregation   COH             205458380014                Gas           Gov. Aggregation
COH             170580890010                Gas           Gov. Aggregation   COH             205519150012                Gas           Gov. Aggregation
COH             135752750044                Gas           Gov. Aggregation   COH             124047680029                Gas           Gov. Aggregation
COH             122432180010                Gas           Gov. Aggregation   COH             205641700017                Gas           Gov. Aggregation
COH             195981960025                Gas           Gov. Aggregation   COH             204280510014                Gas           Gov. Aggregation
COH             196705580028                Gas           Gov. Aggregation   COH             204933430016                Gas           Gov. Aggregation
COH             200754080014                Gas           Gov. Aggregation   COH             194889840027                Gas           Gov. Aggregation
COH             199529460024                Gas           Gov. Aggregation   COH             194085310031                Gas           Gov. Aggregation
COH             122338060024                Gas           Gov. Aggregation   COH             202014770015                Gas           Gov. Aggregation
COH             119310470058                Gas           Gov. Aggregation   VEDO            4002314252226450            Gas           Gov. Aggregation
COH             203849110013                Gas           Gov. Aggregation   VEDO            4017016252623644            Gas           Gov. Aggregation
COH             197184940027                Gas           Gov. Aggregation   COH             205939110010                Gas           Gov. Aggregation
COH             202425890019                Gas           Gov. Aggregation   COH             202805530018                Gas           Gov. Aggregation
COH             190798530029                Gas           Gov. Aggregation   COH             202610490010                Gas           Gov. Aggregation
COH             167558140028                Gas           Gov. Aggregation   COH             204687480019                Gas           Gov. Aggregation
COH             173473950011                Gas           Gov. Aggregation   COH             169946910030                Gas           Gov. Aggregation
COH             199428050015                Gas           Gov. Aggregation   COH             188301920022                Gas           Gov. Aggregation
COH             198455290019                Gas           Gov. Aggregation   COH             199564940038                Gas           Gov. Aggregation
COH             196033900025                Gas           Gov. Aggregation   COH             200729590029                Gas           Gov. Aggregation
COH             197329520027                Gas           Gov. Aggregation   COH             202151540013                Gas           Gov. Aggregation
COH             122482250029                Gas           Gov. Aggregation   COH             202984750014                Gas           Gov. Aggregation
COH             122482500017                Gas           Gov. Aggregation   COH             205156540010                Gas           Gov. Aggregation
COH             142184000010                Gas           Gov. Aggregation   COH             159258700160                Gas           Gov. Aggregation
COH             177154850023                Gas           Gov. Aggregation   COH             205566840018                Gas           Gov. Aggregation
COH             172175620013                Gas           Gov. Aggregation   COH             200860360029                Gas           Gov. Aggregation
COH             192348840025                Gas           Gov. Aggregation   COH             205343970013                Gas           Gov. Aggregation
COH             191098020056                Gas           Gov. Aggregation   COH             202925970012                Gas           Gov. Aggregation
COH             122405810014                Gas           Gov. Aggregation   COH             112118200022                Gas           Gov. Aggregation
COH             160694200051                Gas           Gov. Aggregation   COH             195202520027                Gas           Gov. Aggregation
COH             154917530056                Gas           Gov. Aggregation   COH             204276820036                Gas           Gov. Aggregation
COH             185576050027                Gas           Gov. Aggregation   COH             112220660029                Gas           Gov. Aggregation
COH             201275220019                Gas           Gov. Aggregation   COH             204352290018                Gas           Gov. Aggregation
COH             173602800035                Gas           Gov. Aggregation   COH             112253090020                Gas           Gov. Aggregation
COH             192905760020                Gas           Gov. Aggregation   COH             203069620010                Gas           Gov. Aggregation
COH             192505120031                Gas           Gov. Aggregation   COH             206091640016                Gas           Gov. Aggregation
COH             198526760019                Gas           Gov. Aggregation   COH             202525630011                Gas           Gov. Aggregation
COH             159707970027                Gas           Gov. Aggregation   COH             197201120021                Gas           Gov. Aggregation
COH             153334200034                Gas           Gov. Aggregation   COH             113882630022                Gas           Gov. Aggregation
COH             154363400094                Gas           Gov. Aggregation   COH             202164860019                Gas           Gov. Aggregation
COH             146538980029                Gas           Gov. Aggregation   COH             202559390011                Gas           Gov. Aggregation
COH             196624450018                Gas           Gov. Aggregation   COH             204372810016                Gas           Gov. Aggregation
COH             203411450019                Gas           Gov. Aggregation   COH             203373230017                Gas           Gov. Aggregation
COH             192328500028                Gas           Gov. Aggregation   COH             205767110015                Gas           Gov. Aggregation
COH             196691820046                Gas           Gov. Aggregation   COH             199871710035                Gas           Gov. Aggregation
COH             191393200034                Gas           Gov. Aggregation   COH             203683980013                Gas           Gov. Aggregation
COH             133980080017                Gas           Gov. Aggregation   COH             168360900035                Gas           Gov. Aggregation
COH             176955680059                Gas           Gov. Aggregation   COH             199489100025                Gas           Gov. Aggregation
VEDO            4003736512500367            Gas           Gov. Aggregation   COH             203696300018                Gas           Gov. Aggregation
VEDO            4020146662590031            Gas           Gov. Aggregation   COH             203807560017                Gas           Gov. Aggregation
VEDO            4020850532247981            Gas           Gov. Aggregation   COH             206091580019                Gas           Gov. Aggregation
VEDO            4002069772347628            Gas           Gov. Aggregation   COH             141087160032                Gas           Gov. Aggregation
VEDO            4017448392224403            Gas           Gov. Aggregation   COH             195437160035                Gas           Gov. Aggregation
VEDO            4003584062356056            Gas           Gov. Aggregation   COH             186515220028                Gas           Gov. Aggregation
VEDO            4019493372465431            Gas           Gov. Aggregation   COH             204539520013                Gas           Gov. Aggregation
VEDO            4020077372636923            Gas           Gov. Aggregation   COH             186903890070                Gas           Gov. Aggregation
VEDO            4015211532261767            Gas           Gov. Aggregation   COH             195287260024                Gas           Gov. Aggregation
VEDO            4020868402361176            Gas           Gov. Aggregation   COH             201991950027                Gas           Gov. Aggregation
VEDO            4016338862508393            Gas           Gov. Aggregation   COH             203401940017                Gas           Gov. Aggregation
VEDO            4020221492161682            Gas           Gov. Aggregation   COH             204696790015                Gas           Gov. Aggregation
VEDO            4019915602388329            Gas           Gov. Aggregation   COH             135221810064                Gas           Gov. Aggregation
VEDO            4017167582256950            Gas           Gov. Aggregation   COH             171906020064                Gas           Gov. Aggregation
VEDO            4002789362362196            Gas           Gov. Aggregation   COH             202300900010                Gas           Gov. Aggregation
VEDO            4020111902487307            Gas           Gov. Aggregation   COH             162078540027                Gas           Gov. Aggregation
VEDO            4019985992202414            Gas           Gov. Aggregation   COH             145310370066                Gas           Gov. Aggregation
VEDO            4019344482640348            Gas           Gov. Aggregation   COH             156983610067                Gas           Gov. Aggregation
VEDO            4016956962106254            Gas           Gov. Aggregation   COH             173609060046                Gas           Gov. Aggregation
VEDO            4020922022308046            Gas           Gov. Aggregation   COH             194781580066                Gas           Gov. Aggregation
VEDO            4020923232322155            Gas           Gov. Aggregation   COH             199138290029                Gas           Gov. Aggregation
VEDO            4020882212270304            Gas           Gov. Aggregation   COH             202305580018                Gas           Gov. Aggregation
VEDO            4020877642136592            Gas           Gov. Aggregation   COH             202198110015                Gas           Gov. Aggregation
VEDO            4020837172366642            Gas           Gov. Aggregation   COH             176144540020                Gas           Gov. Aggregation
VEDO            4020891032231706            Gas           Gov. Aggregation   COH             135282680028                Gas           Gov. Aggregation
VEDO            4020919622322531            Gas           Gov. Aggregation   COH             202757210018                Gas           Gov. Aggregation
VEDO            4020092242266467            Gas           Gov. Aggregation   COH             202140250026                Gas           Gov. Aggregation
VEDO            4020050032464534            Gas           Gov. Aggregation   COH             205646820012                Gas           Gov. Aggregation
VEDO            4020228262195046            Gas           Gov. Aggregation   COH             185968720052                Gas           Gov. Aggregation
VEDO            4018340292503592            Gas           Gov. Aggregation   COH             112255110030                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4003773712376199            Gas           Gov. Aggregation   COH             203537380018                Gas           Gov. Aggregation
VEDO         4020273022480286            Gas           Gov. Aggregation   COH             205991990016                Gas           Gov. Aggregation
VEDO         4020270302399039            Gas           Gov. Aggregation   COH             200077200069                Gas           Gov. Aggregation
VEDO         4020264902454767            Gas           Gov. Aggregation   COH             130595596318                Gas           Gov. Aggregation
VEDO         4018898982431216            Gas           Gov. Aggregation   COH             205775330012                Gas           Gov. Aggregation
VEDO         4020046282290795            Gas           Gov. Aggregation   COH             205010640017                Gas           Gov. Aggregation
VEDO         4004108882591170            Gas           Gov. Aggregation   COH             204153720019                Gas           Gov. Aggregation
VEDO         4019433622464491            Gas           Gov. Aggregation   COH             161018030021                Gas           Gov. Aggregation
VEDO         4018133122123663            Gas           Gov. Aggregation   COH             112151860033                Gas           Gov. Aggregation
VEDO         4001138102242061            Gas           Gov. Aggregation   COH             203481140017                Gas           Gov. Aggregation
VEDO         4020918932101128            Gas           Gov. Aggregation   COH             112216840011                Gas           Gov. Aggregation
VEDO         4019771362161449            Gas           Gov. Aggregation   COH             205884050010                Gas           Gov. Aggregation
VEDO         4019513982301473            Gas           Gov. Aggregation   COH             204585820013                Gas           Gov. Aggregation
VEDO         4020305042399046            Gas           Gov. Aggregation   COH             202246850017                Gas           Gov. Aggregation
VEDO         4017966962315019            Gas           Gov. Aggregation   COH             200503440037                Gas           Gov. Aggregation
VEDO         4015972352450038            Gas           Gov. Aggregation   COH             187207070022                Gas           Gov. Aggregation
VEDO         4020890152263109            Gas           Gov. Aggregation   COH             193303990027                Gas           Gov. Aggregation
VEDO         4019516762127552            Gas           Gov. Aggregation   COH             203145530017                Gas           Gov. Aggregation
VEDO         4018227712422586            Gas           Gov. Aggregation   COH             203333090011                Gas           Gov. Aggregation
VEDO         4018548062261861            Gas           Gov. Aggregation   COH             203792920014                Gas           Gov. Aggregation
VEDO         4017681612298269            Gas           Gov. Aggregation   COH             204270490010                Gas           Gov. Aggregation
VEDO         4019450072160327            Gas           Gov. Aggregation   COH             140342180073                Gas           Gov. Aggregation
VEDO         4019341842312239            Gas           Gov. Aggregation   COH             149453170035                Gas           Gov. Aggregation
VEDO         4020099262106698            Gas           Gov. Aggregation   COH             155197360120                Gas           Gov. Aggregation
VEDO         4020804622306661            Gas           Gov. Aggregation   COH             161765200068                Gas           Gov. Aggregation
VEDO         4002204712438604            Gas           Gov. Aggregation   COH             169516820058                Gas           Gov. Aggregation
VEDO         4020303772183901            Gas           Gov. Aggregation   COH             203325500011                Gas           Gov. Aggregation
VEDO         4019271252292352            Gas           Gov. Aggregation   COH             203461940011                Gas           Gov. Aggregation
VEDO         4019996512397817            Gas           Gov. Aggregation   COH             204123970010                Gas           Gov. Aggregation
VEDO         4017430322368798            Gas           Gov. Aggregation   COH             204270600016                Gas           Gov. Aggregation
VEDO         4015240982311290            Gas           Gov. Aggregation   COH             204653980015                Gas           Gov. Aggregation
VEDO         4017346592523212            Gas           Gov. Aggregation   COH             202639130015                Gas           Gov. Aggregation
VEDO         4020922762517418            Gas           Gov. Aggregation   COH             202227820013                Gas           Gov. Aggregation
VEDO         4020314852427189            Gas           Gov. Aggregation   COH             155708660051                Gas           Gov. Aggregation
VEDO         4020336352453455            Gas           Gov. Aggregation   COH             197301220028                Gas           Gov. Aggregation
VEDO         4020864172329632            Gas           Gov. Aggregation   COH             206011630016                Gas           Gov. Aggregation
VEDO         4020867512395875            Gas           Gov. Aggregation   COH             201739890024                Gas           Gov. Aggregation
VEDO         4020922382314248            Gas           Gov. Aggregation   COH             205953570014                Gas           Gov. Aggregation
VEDO         4018225072243291            Gas           Gov. Aggregation   COH             200713200023                Gas           Gov. Aggregation
VEDO         4019978132266485            Gas           Gov. Aggregation   COH             200916010023                Gas           Gov. Aggregation
VEDO         4020030572285961            Gas           Gov. Aggregation   COH             204730710017                Gas           Gov. Aggregation
VEDO         4020882042283418            Gas           Gov. Aggregation   COH             168389850036                Gas           Gov. Aggregation
VEDO         4002677442479285            Gas           Gov. Aggregation   COH             200870630021                Gas           Gov. Aggregation
VEDO         4002336682278422            Gas           Gov. Aggregation   COH             203883410027                Gas           Gov. Aggregation
VEDO         4020932522452561            Gas           Gov. Aggregation   COH             204089820015                Gas           Gov. Aggregation
VEDO         4020049622319817            Gas           Gov. Aggregation   COH             203252660013                Gas           Gov. Aggregation
VEDO         4020042452190747            Gas           Gov. Aggregation   COH             167084560043                Gas           Gov. Aggregation
VEDO         4018706172272447            Gas           Gov. Aggregation   COH             203394990014                Gas           Gov. Aggregation
VEDO         4018784132273601            Gas           Gov. Aggregation   COH             195554480030                Gas           Gov. Aggregation
VEDO         4020105882143993            Gas           Gov. Aggregation   COH             188026350026                Gas           Gov. Aggregation
VEDO         4020109332387566            Gas           Gov. Aggregation   COH             205775250019                Gas           Gov. Aggregation
VEDO         4020076572421300            Gas           Gov. Aggregation   COH             202210010018                Gas           Gov. Aggregation
VEDO         4020090322376689            Gas           Gov. Aggregation   COH             203461750011                Gas           Gov. Aggregation
VEDO         4020118742332232            Gas           Gov. Aggregation   COH             112297780032                Gas           Gov. Aggregation
VEDO         4017822972376852            Gas           Gov. Aggregation   COH             187261940025                Gas           Gov. Aggregation
VEDO         4001717792322718            Gas           Gov. Aggregation   COH             130490300030                Gas           Gov. Aggregation
VEDO         4001114232367085            Gas           Gov. Aggregation   COH             205463820010                Gas           Gov. Aggregation
VEDO         4018643852204065            Gas           Gov. Aggregation   COH             203401900015                Gas           Gov. Aggregation
VEDO         4020006102205885            Gas           Gov. Aggregation   COH             164734140027                Gas           Gov. Aggregation
VEDO         4018515232239182            Gas           Gov. Aggregation   COH             151742650091                Gas           Gov. Aggregation
VEDO         4017773112219785            Gas           Gov. Aggregation   COH             202126880015                Gas           Gov. Aggregation
VEDO         4019092872240858            Gas           Gov. Aggregation   COH             189549130023                Gas           Gov. Aggregation
VEDO         4019093712209785            Gas           Gov. Aggregation   COH             202418260016                Gas           Gov. Aggregation
VEDO         4020273912494489            Gas           Gov. Aggregation   COH             204850890016                Gas           Gov. Aggregation
VEDO         4020212062400715            Gas           Gov. Aggregation   COH             205202610016                Gas           Gov. Aggregation
VEDO         4020232332167788            Gas           Gov. Aggregation   COH             202506010011                Gas           Gov. Aggregation
VEDO         4020170102101099            Gas           Gov. Aggregation   COH             205939390012                Gas           Gov. Aggregation
VEDO         4018443302474556            Gas           Gov. Aggregation   COH             201349410021                Gas           Gov. Aggregation
VEDO         4019437132433143            Gas           Gov. Aggregation   COH             193001360038                Gas           Gov. Aggregation
VEDO         4020868322398357            Gas           Gov. Aggregation   COH             205219800011                Gas           Gov. Aggregation
VEDO         4020850312240879            Gas           Gov. Aggregation   COH             137857340028                Gas           Gov. Aggregation
VEDO         4020833482465747            Gas           Gov. Aggregation   COH             205775240011                Gas           Gov. Aggregation
VEDO         4020835852476098            Gas           Gov. Aggregation   COH             203924580015                Gas           Gov. Aggregation
VEDO         4001073782208650            Gas           Gov. Aggregation   COH             202418420012                Gas           Gov. Aggregation
VEDO         4001043182160245            Gas           Gov. Aggregation   COH             133830130031                Gas           Gov. Aggregation
VEDO         4001752652326378            Gas           Gov. Aggregation   COH             137639170044                Gas           Gov. Aggregation
VEDO         4016377292319115            Gas           Gov. Aggregation   COH             112274930047                Gas           Gov. Aggregation
VEDO         4017280872401486            Gas           Gov. Aggregation   COH             165187030039                Gas           Gov. Aggregation
VEDO         4020164302422570            Gas           Gov. Aggregation   COH             195789400020                Gas           Gov. Aggregation
VEDO         4018436742298774            Gas           Gov. Aggregation   COH             189054050083                Gas           Gov. Aggregation
VEDO         4019147822162179            Gas           Gov. Aggregation   COH             205183870014                Gas           Gov. Aggregation
VEDO         4019978832429952            Gas           Gov. Aggregation   COH             202250310011                Gas           Gov. Aggregation
VEDO         4018523232299638            Gas           Gov. Aggregation   COH             205659890011                Gas           Gov. Aggregation
VEDO         4020097682236633            Gas           Gov. Aggregation   COH             187029260048                Gas           Gov. Aggregation
VEDO         4020100382475561            Gas           Gov. Aggregation   COH             136078950050                Gas           Gov. Aggregation
VEDO         4018765032200237            Gas           Gov. Aggregation   COH             204312390011                Gas           Gov. Aggregation
VEDO         4020916662366225            Gas           Gov. Aggregation   COH             196319520010                Gas           Gov. Aggregation
VEDO         4020918812457114            Gas           Gov. Aggregation   COH             206001620019                Gas           Gov. Aggregation
VEDO         4019183392171256            Gas           Gov. Aggregation   COH             198966610036                Gas           Gov. Aggregation
VEDO         4017681192292549            Gas           Gov. Aggregation   COH             200395490010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4020017272476491            Gas           Gov. Aggregation   COH             113419170039                Gas           Gov. Aggregation
VEDO            4018188292425409            Gas           Gov. Aggregation   COH             117492950064                Gas           Gov. Aggregation
VEDO            4017200622162598            Gas           Gov. Aggregation   COH             164713780036                Gas           Gov. Aggregation
VEDO            4019069952460256            Gas           Gov. Aggregation   COH             202449030019                Gas           Gov. Aggregation
VEDO            4019847702221645            Gas           Gov. Aggregation   COH             203958080019                Gas           Gov. Aggregation
VEDO            4016170892381891            Gas           Gov. Aggregation   COH             205397330014                Gas           Gov. Aggregation
VEDO            4002589302253908            Gas           Gov. Aggregation   COH             203494500014                Gas           Gov. Aggregation
VEDO            4001939892456814            Gas           Gov. Aggregation   COH             204889410015                Gas           Gov. Aggregation
VEDO            4015794452102880            Gas           Gov. Aggregation   COH             203733870019                Gas           Gov. Aggregation
VEDO            4003526522524168            Gas           Gov. Aggregation   COH             156395270039                Gas           Gov. Aggregation
VEDO            4002263002166082            Gas           Gov. Aggregation   COH             202639310017                Gas           Gov. Aggregation
VEDO            4003017692413794            Gas           Gov. Aggregation   COH             171386190045                Gas           Gov. Aggregation
VEDO            4002950212528266            Gas           Gov. Aggregation   COH             173270750068                Gas           Gov. Aggregation
VEDO            4019121432351831            Gas           Gov. Aggregation   COH             175570840025                Gas           Gov. Aggregation
VEDO            4020796802184003            Gas           Gov. Aggregation   COH             203488060010                Gas           Gov. Aggregation
VEDO            4015354692562002            Gas           Gov. Aggregation   COH             193686160021                Gas           Gov. Aggregation
VEDO            4017509852522030            Gas           Gov. Aggregation   COH             195574580028                Gas           Gov. Aggregation
VEDO            4004655812472616            Gas           Gov. Aggregation   COH             202314680018                Gas           Gov. Aggregation
VEDO            4020886652679443            Gas           Gov. Aggregation   COH             203423090010                Gas           Gov. Aggregation
VEDO            4020910982313732            Gas           Gov. Aggregation   COH             203424790011                Gas           Gov. Aggregation
VEDO            4017490632636454            Gas           Gov. Aggregation   COH             200173970019                Gas           Gov. Aggregation
VEDO            4016505362640867            Gas           Gov. Aggregation   COH             202943280028                Gas           Gov. Aggregation
VEDO            4020061202636805            Gas           Gov. Aggregation   COH             204916350019                Gas           Gov. Aggregation
VEDO            4018477112640711            Gas           Gov. Aggregation   COH             154914530043                Gas           Gov. Aggregation
VEDO            4018473092636439            Gas           Gov. Aggregation   COH             167320030024                Gas           Gov. Aggregation
VEDO            4005120862641453            Gas           Gov. Aggregation   COH             205900800016                Gas           Gov. Aggregation
VEDO            4016128602636435            Gas           Gov. Aggregation   COH             203883320017                Gas           Gov. Aggregation
VEDO            4020798112636957            Gas           Gov. Aggregation   COH             204639990013                Gas           Gov. Aggregation
VEDO            4020804502636264            Gas           Gov. Aggregation   COH             204402880017                Gas           Gov. Aggregation
VEDO            4020838132636462            Gas           Gov. Aggregation   COH             205644140019                Gas           Gov. Aggregation
VEDO            4020119822673938            Gas           Gov. Aggregation   COH             203134640017                Gas           Gov. Aggregation
VEDO            4020908022675666            Gas           Gov. Aggregation   COH             112268410012                Gas           Gov. Aggregation
VEDO            4001673062675665            Gas           Gov. Aggregation   COH             205705270012                Gas           Gov. Aggregation
VEDO            4018748792417143            Gas           Gov. Aggregation   COH             205302510015                Gas           Gov. Aggregation
VEDO            4020105132497750            Gas           Gov. Aggregation   COH             202386600013                Gas           Gov. Aggregation
VEDO            4020796842305577            Gas           Gov. Aggregation   COH             188715380029                Gas           Gov. Aggregation
VEDO            4020891222313430            Gas           Gov. Aggregation   COH             134184340037                Gas           Gov. Aggregation
VEDO            4015196682310113            Gas           Gov. Aggregation   COH             169955880010                Gas           Gov. Aggregation
VEDO            4015098512208658            Gas           Gov. Aggregation   COH             174265900011                Gas           Gov. Aggregation
VEDO            4020870902133105            Gas           Gov. Aggregation   COH             174362220018                Gas           Gov. Aggregation
VEDO            4020895792160668            Gas           Gov. Aggregation   COH             174362220027                Gas           Gov. Aggregation
VEDO            4002911462146393            Gas           Gov. Aggregation   COH             185848510014                Gas           Gov. Aggregation
VEDO            4004117092151611            Gas           Gov. Aggregation   COH             195872190019                Gas           Gov. Aggregation
VEDO            4016912932185080            Gas           Gov. Aggregation   COH             195908670011                Gas           Gov. Aggregation
VEDO            4016435832377706            Gas           Gov. Aggregation   COH             196472780030                Gas           Gov. Aggregation
VEDO            4016364322135567            Gas           Gov. Aggregation   COH             198423200014                Gas           Gov. Aggregation
VEDO            4019137112330464            Gas           Gov. Aggregation   COH             198789170017                Gas           Gov. Aggregation
VEDO            4020159472157906            Gas           Gov. Aggregation   COH             198838590014                Gas           Gov. Aggregation
VEDO            4020048862176078            Gas           Gov. Aggregation   COH             200778820018                Gas           Gov. Aggregation
VEDO            4017685682528370            Gas           Gov. Aggregation   COH             201070750012                Gas           Gov. Aggregation
VEDO            4019968592268162            Gas           Gov. Aggregation   COH             201119160012                Gas           Gov. Aggregation
VEDO            4019956842275648            Gas           Gov. Aggregation   COH             201333100010                Gas           Gov. Aggregation
VEDO            4019479202130285            Gas           Gov. Aggregation   COH             202162180016                Gas           Gov. Aggregation
VEDO            4016243202265716            Gas           Gov. Aggregation   VEDO            4001157012114788            Gas           Gov. Aggregation
VEDO            4016773552143253            Gas           Gov. Aggregation   VEDO            4001504112318637            Gas           Gov. Aggregation
VEDO            4020020432395083            Gas           Gov. Aggregation   VEDO            4020326722347370            Gas           Gov. Aggregation
VEDO            4019975382468955            Gas           Gov. Aggregation   VEDO            4002209052453992            Gas           Gov. Aggregation
VEDO            4019067402484818            Gas           Gov. Aggregation   VEDO            4019917792488509            Gas           Gov. Aggregation
VEDO            4018458632343278            Gas           Gov. Aggregation   VEDO            4020842762211977            Gas           Gov. Aggregation
VEDO            4015436902200056            Gas           Gov. Aggregation   VEDO            4003366582365914            Gas           Gov. Aggregation
VEDO            4015510592217460            Gas           Gov. Aggregation   VEDO            4001617232158184            Gas           Gov. Aggregation
COH             201760890010                Gas           Gov. Aggregation   VEDO            4001617232277570            Gas           Gov. Aggregation
COH             204381240017                Gas           Gov. Aggregation   VEDO            4015883152164480            Gas           Gov. Aggregation
COH             152220320040                Gas           Gov. Aggregation   VEDO            4018204882546577            Gas           Gov. Aggregation
COH             196126560039                Gas           Gov. Aggregation   VEDO            4002076362202946            Gas           Gov. Aggregation
COH             205523900015                Gas           Gov. Aggregation   VEDO            4019865162299335            Gas           Gov. Aggregation
COH             191349590045                Gas           Gov. Aggregation   VEDO            4017537882634529            Gas           Gov. Aggregation
COH             157591720019                Gas           Gov. Aggregation   VEDO            4019394002372622            Gas           Gov. Aggregation
COH             165909340023                Gas           Gov. Aggregation   VEDO            4015092472244952            Gas           Gov. Aggregation
COH             202227270019                Gas           Gov. Aggregation   VEDO            4016204792588434            Gas           Gov. Aggregation
COH             204024270017                Gas           Gov. Aggregation   VEDO            4016795912115602            Gas           Gov. Aggregation
COH             165894940020                Gas           Gov. Aggregation   VEDO            4018479492165178            Gas           Gov. Aggregation
COH             140604670118                Gas           Gov. Aggregation   VEDO            4018608622522519            Gas           Gov. Aggregation
COH             188551260013                Gas           Gov. Aggregation   VEDO            4003597942357601            Gas           Gov. Aggregation
COH             191626530012                Gas           Gov. Aggregation   VEDO            4003393392336152            Gas           Gov. Aggregation
COH             194247320017                Gas           Gov. Aggregation   VEDO            4003598142430111            Gas           Gov. Aggregation
COH             199929220017                Gas           Gov. Aggregation   VEDO            4020143442519184            Gas           Gov. Aggregation
COH             201334460013                Gas           Gov. Aggregation   VEDO            4003810412415585            Gas           Gov. Aggregation
COH             203477270019                Gas           Gov. Aggregation   VEDO            4003810412380198            Gas           Gov. Aggregation
COH             203595320018                Gas           Gov. Aggregation   VEDO            4017342472277309            Gas           Gov. Aggregation
COH             203630030013                Gas           Gov. Aggregation   VEDO            4003194422520963            Gas           Gov. Aggregation
COH             204441250017                Gas           Gov. Aggregation   VEDO            4003771392375951            Gas           Gov. Aggregation
COH             204453930019                Gas           Gov. Aggregation   VEDO            4016067762115105            Gas           Gov. Aggregation
COH             205078700012                Gas           Gov. Aggregation   VEDO            4020840032210069            Gas           Gov. Aggregation
COH             202524370018                Gas           Gov. Aggregation   VEDO            4003944922394776            Gas           Gov. Aggregation
COH             200914740015                Gas           Gov. Aggregation   VEDO            4016545842216548            Gas           Gov. Aggregation
COH             201976780016                Gas           Gov. Aggregation   VEDO            4001248192180631            Gas           Gov. Aggregation
COH             205070240015                Gas           Gov. Aggregation   VEDO            4020122062171471            Gas           Gov. Aggregation
COH             156470170049                Gas           Gov. Aggregation   VEDO            4002087962204052            Gas           Gov. Aggregation
COH             202285050013                Gas           Gov. Aggregation   VEDO            4018469222302241            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             205432490015                Gas           Gov. Aggregation   VEDO         4018014072549130            Gas           Gov. Aggregation
COH             111377320057                Gas           Gov. Aggregation   VEDO         4003282172676558            Gas           Gov. Aggregation
COH             132103970055                Gas           Gov. Aggregation   VEDO         4016544092473643            Gas           Gov. Aggregation
COH             149897620012                Gas           Gov. Aggregation   VEDO         4017770292391178            Gas           Gov. Aggregation
COH             176373160025                Gas           Gov. Aggregation   VEDO         4017432462472638            Gas           Gov. Aggregation
COH             189804121111                Gas           Gov. Aggregation   VEDO         4002756832270553            Gas           Gov. Aggregation
COH             198361790031                Gas           Gov. Aggregation   VEDO         4015582442266102            Gas           Gov. Aggregation
COH             198943890018                Gas           Gov. Aggregation   VEDO         4003871932386882            Gas           Gov. Aggregation
COH             202316990019                Gas           Gov. Aggregation   VEDO         4015746142562331            Gas           Gov. Aggregation
COH             202327780010                Gas           Gov. Aggregation   VEDO         4015037442242843            Gas           Gov. Aggregation
COH             202335260012                Gas           Gov. Aggregation   VEDO         4017015232530676            Gas           Gov. Aggregation
COH             202359960015                Gas           Gov. Aggregation   VEDO         4016612882290628            Gas           Gov. Aggregation
COH             202375540019                Gas           Gov. Aggregation   VEDO         4001246652633996            Gas           Gov. Aggregation
COH             202464060011                Gas           Gov. Aggregation   VEDO         4016834412625260            Gas           Gov. Aggregation
COH             203338590016                Gas           Gov. Aggregation   VEDO         4018813502211484            Gas           Gov. Aggregation
COH             203527200016                Gas           Gov. Aggregation   VEDO         4018747322254852            Gas           Gov. Aggregation
COH             204229450015                Gas           Gov. Aggregation   VEDO         4002627862634807            Gas           Gov. Aggregation
COH             204247210017                Gas           Gov. Aggregation   VEDO         4018615922674200            Gas           Gov. Aggregation
COH             204306330016                Gas           Gov. Aggregation   VEDO         4002482992674947            Gas           Gov. Aggregation
COH             204403660011                Gas           Gov. Aggregation   VEDO         4001982372135393            Gas           Gov. Aggregation
COH             205003620016                Gas           Gov. Aggregation   VEDO         4001767742532240            Gas           Gov. Aggregation
COH             205155340014                Gas           Gov. Aggregation   VEDO         4001856912604910            Gas           Gov. Aggregation
COH             205330490011                Gas           Gov. Aggregation   VEDO         4001259822108217            Gas           Gov. Aggregation
COH             205365970017                Gas           Gov. Aggregation   VEDO         4001261482124619            Gas           Gov. Aggregation
COH             204835200012                Gas           Gov. Aggregation   VEDO         4001025782102503            Gas           Gov. Aggregation
COH             204866170014                Gas           Gov. Aggregation   VEDO         4003346292217504            Gas           Gov. Aggregation
COH             204140380018                Gas           Gov. Aggregation   VEDO         4001879512191648            Gas           Gov. Aggregation
COH             204570900017                Gas           Gov. Aggregation   VEDO         4018542842236523            Gas           Gov. Aggregation
COH             201146290027                Gas           Gov. Aggregation   VEDO         4020260212284730            Gas           Gov. Aggregation
COH             124593270028                Gas           Gov. Aggregation   VEDO         4018547682230063            Gas           Gov. Aggregation
COH             146147790028                Gas           Gov. Aggregation   VEDO         4016034942521286            Gas           Gov. Aggregation
COH             175010560066                Gas           Gov. Aggregation   VEDO         4015862142417420            Gas           Gov. Aggregation
COH             168298840040                Gas           Gov. Aggregation   VEDO         4004386902442906            Gas           Gov. Aggregation
COH             131177380037                Gas           Gov. Aggregation   VEDO         4020923702286441            Gas           Gov. Aggregation
COH             173207800015                Gas           Gov. Aggregation   VEDO         4001786512174374            Gas           Gov. Aggregation
COH             137317420025                Gas           Gov. Aggregation   VEDO         4017998692100444            Gas           Gov. Aggregation
COH             126766840010                Gas           Gov. Aggregation   VEDO         4020230032486587            Gas           Gov. Aggregation
COH             204909540014                Gas           Gov. Aggregation   VEDO         4020228402126467            Gas           Gov. Aggregation
COH             203716060015                Gas           Gov. Aggregation   VEDO         4020106772197477            Gas           Gov. Aggregation
COH             197415620032                Gas           Gov. Aggregation   VEDO         4020789212230830            Gas           Gov. Aggregation
COH             199080590010                Gas           Gov. Aggregation   VEDO         4015623782439847            Gas           Gov. Aggregation
COH             196209800032                Gas           Gov. Aggregation   VEDO         4020279402471646            Gas           Gov. Aggregation
COH             200009030086                Gas           Gov. Aggregation   VEDO         4019749692143710            Gas           Gov. Aggregation
COH             200009030095                Gas           Gov. Aggregation   VEDO         4020858152433566            Gas           Gov. Aggregation
COH             202067490022                Gas           Gov. Aggregation   VEDO         4018590932246595            Gas           Gov. Aggregation
COH             203839110014                Gas           Gov. Aggregation   VEDO         4002062352354408            Gas           Gov. Aggregation
COH             196608440032                Gas           Gov. Aggregation   VEDO         4019433432603923            Gas           Gov. Aggregation
COH             203738580010                Gas           Gov. Aggregation   VEDO         4018455032102922            Gas           Gov. Aggregation
COH             200221170023                Gas           Gov. Aggregation   VEDO         4016963432401655            Gas           Gov. Aggregation
COH             203672490019                Gas           Gov. Aggregation   VEDO         4017067592291737            Gas           Gov. Aggregation
COH             157515190093                Gas           Gov. Aggregation   VEDO         4002417852244126            Gas           Gov. Aggregation
COH             167380510063                Gas           Gov. Aggregation   VEDO         4002417852349171            Gas           Gov. Aggregation
COH             135265060024                Gas           Gov. Aggregation   VEDO         4001262602295204            Gas           Gov. Aggregation
COH             185553720159                Gas           Gov. Aggregation   VEDO         4017410862504810            Gas           Gov. Aggregation
COH             205021380019                Gas           Gov. Aggregation   VEDO         4020273972238972            Gas           Gov. Aggregation
COH             173158140037                Gas           Gov. Aggregation   VEDO         4019050682344929            Gas           Gov. Aggregation
COH             157483980023                Gas           Gov. Aggregation   VEDO         4016784442446534            Gas           Gov. Aggregation
COH             185912620032                Gas           Gov. Aggregation   VEDO         4016288182507058            Gas           Gov. Aggregation
COH             156640380044                Gas           Gov. Aggregation   VEDO         4017891542243182            Gas           Gov. Aggregation
COH             203404620018                Gas           Gov. Aggregation   VEDO         4017301112118317            Gas           Gov. Aggregation
COH             202754110015                Gas           Gov. Aggregation   VEDO         4001281722508365            Gas           Gov. Aggregation
COH             202482800017                Gas           Gov. Aggregation   VEDO         4002101732229034            Gas           Gov. Aggregation
COH             203269020012                Gas           Gov. Aggregation   VEDO         4018583022549465            Gas           Gov. Aggregation
COH             201714130016                Gas           Gov. Aggregation   VEDO         4001790142257667            Gas           Gov. Aggregation
COH             205585110011                Gas           Gov. Aggregation   VEDO         4017227332537440            Gas           Gov. Aggregation
COH             137493640045                Gas           Gov. Aggregation   VEDO         4018334662201748            Gas           Gov. Aggregation
COH             118628320039                Gas           Gov. Aggregation   VEDO         4017134942351212            Gas           Gov. Aggregation
COH             202788070013                Gas           Gov. Aggregation   VEDO         4003181852400292            Gas           Gov. Aggregation
COH             204195810012                Gas           Gov. Aggregation   VEDO         4019732612137631            Gas           Gov. Aggregation
COH             203916780010                Gas           Gov. Aggregation   VEDO         4004994182135979            Gas           Gov. Aggregation
COH             177039980011                Gas           Gov. Aggregation   VEDO         4003194732126003            Gas           Gov. Aggregation
COH             143124830020                Gas           Gov. Aggregation   VEDO         4020916182501389            Gas           Gov. Aggregation
COH             162470250062                Gas           Gov. Aggregation   VEDO         4019886412153332            Gas           Gov. Aggregation
COH             157693380015                Gas           Gov. Aggregation   VEDO         4019913632197266            Gas           Gov. Aggregation
COH             203791160016                Gas           Gov. Aggregation   VEDO         4002143272108878            Gas           Gov. Aggregation
COH             204139850012                Gas           Gov. Aggregation   VEDO         4020943962190540            Gas           Gov. Aggregation
COH             201568600018                Gas           Gov. Aggregation   VEDO         4016662192453661            Gas           Gov. Aggregation
COH             201850460019                Gas           Gov. Aggregation   VEDO         4001490152318196            Gas           Gov. Aggregation
COH             201844420010                Gas           Gov. Aggregation   VEDO         4016511142489428            Gas           Gov. Aggregation
COH             201515560018                Gas           Gov. Aggregation   VEDO         4002791842274153            Gas           Gov. Aggregation
COH             203211130010                Gas           Gov. Aggregation   VEDO         4020787532192031            Gas           Gov. Aggregation
COH             204269490013                Gas           Gov. Aggregation   VEDO         4019752532396819            Gas           Gov. Aggregation
COH             199690530028                Gas           Gov. Aggregation   VEDO         4002184982209585            Gas           Gov. Aggregation
COH             205350260017                Gas           Gov. Aggregation   VEDO         4003259972211487            Gas           Gov. Aggregation
COH             205359040015                Gas           Gov. Aggregation   VEDO         4019104132501595            Gas           Gov. Aggregation
COH             205630970014                Gas           Gov. Aggregation   VEDO         4016237362268545            Gas           Gov. Aggregation
COH             197685450037                Gas           Gov. Aggregation   VEDO         4002769152271798            Gas           Gov. Aggregation
COH             205251980016                Gas           Gov. Aggregation   VEDO         4020926152510792            Gas           Gov. Aggregation
COH             118249190120                Gas           Gov. Aggregation   VEDO         4019916672290923            Gas           Gov. Aggregation
COH             118592220037                Gas           Gov. Aggregation   VEDO         4017460542488950            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             149137080025                Gas           Gov. Aggregation   VEDO         4018028022524780            Gas           Gov. Aggregation
COH             175456840045                Gas           Gov. Aggregation   VEDO         4017665562120342            Gas           Gov. Aggregation
COH             176424970160                Gas           Gov. Aggregation   VEDO         4018087932118387            Gas           Gov. Aggregation
COH             176831260022                Gas           Gov. Aggregation   VEDO         4016703382329954            Gas           Gov. Aggregation
COH             171994920024                Gas           Gov. Aggregation   VEDO         4017060262509241            Gas           Gov. Aggregation
COH             173041030028                Gas           Gov. Aggregation   VEDO         4016164802277020            Gas           Gov. Aggregation
COH             173709020024                Gas           Gov. Aggregation   VEDO         4001545772151320            Gas           Gov. Aggregation
COH             173925920018                Gas           Gov. Aggregation   VEDO         4019453342179251            Gas           Gov. Aggregation
COH             167598610052                Gas           Gov. Aggregation   VEDO         4002070282202327            Gas           Gov. Aggregation
COH             167619000054                Gas           Gov. Aggregation   VEDO         4019217922521122            Gas           Gov. Aggregation
COH             167917780022                Gas           Gov. Aggregation   VEDO         4001829802476555            Gas           Gov. Aggregation
COH             169428390065                Gas           Gov. Aggregation   VEDO         4015651262412918            Gas           Gov. Aggregation
COH             190812330038                Gas           Gov. Aggregation   VEDO         4003852932419402            Gas           Gov. Aggregation
COH             190194710058                Gas           Gov. Aggregation   VEDO         4001786512330468            Gas           Gov. Aggregation
COH             185863200053                Gas           Gov. Aggregation   VEDO         4003418662338769            Gas           Gov. Aggregation
COH             177642070022                Gas           Gov. Aggregation   VEDO         4004057672132867            Gas           Gov. Aggregation
COH             177821610028                Gas           Gov. Aggregation   VEDO         4015569642483749            Gas           Gov. Aggregation
COH             185033040038                Gas           Gov. Aggregation   VEDO         4004144402416406            Gas           Gov. Aggregation
COH             186351190078                Gas           Gov. Aggregation   VEDO         4019214482190498            Gas           Gov. Aggregation
COH             186482640058                Gas           Gov. Aggregation   VEDO         4019304722251873            Gas           Gov. Aggregation
COH             186506150031                Gas           Gov. Aggregation   VEDO         4002636612258559            Gas           Gov. Aggregation
COH             158669410045                Gas           Gov. Aggregation   VEDO         4020096302101911            Gas           Gov. Aggregation
COH             159000310023                Gas           Gov. Aggregation   VEDO         4019846172114752            Gas           Gov. Aggregation
COH             155999050054                Gas           Gov. Aggregation   VEDO         4019400692359937            Gas           Gov. Aggregation
COH             150405820045                Gas           Gov. Aggregation   VEDO         4001420252139377            Gas           Gov. Aggregation
COH             199732950039                Gas           Gov. Aggregation   VEDO         4019793902301122            Gas           Gov. Aggregation
COH             200857720020                Gas           Gov. Aggregation   VEDO         4002512772246209            Gas           Gov. Aggregation
COH             200944520018                Gas           Gov. Aggregation   VEDO         4001919832187445            Gas           Gov. Aggregation
COH             200944520027                Gas           Gov. Aggregation   VEDO         4017008882398153            Gas           Gov. Aggregation
COH             200954650010                Gas           Gov. Aggregation   VEDO         4019787992481705            Gas           Gov. Aggregation
COH             200969940018                Gas           Gov. Aggregation   VEDO         4003645012362572            Gas           Gov. Aggregation
COH             201001280025                Gas           Gov. Aggregation   VEDO         4004073852408719            Gas           Gov. Aggregation
COH             201449710017                Gas           Gov. Aggregation   VEDO         4020185712517745            Gas           Gov. Aggregation
COH             201449800018                Gas           Gov. Aggregation   VEDO         4017967602203035            Gas           Gov. Aggregation
COH             201483260010                Gas           Gov. Aggregation   VEDO         4021035642466756            Gas           Gov. Aggregation
COH             201547680016                Gas           Gov. Aggregation   VEDO         4016616402514111            Gas           Gov. Aggregation
COH             201616990023                Gas           Gov. Aggregation   VEDO         4004684732475850            Gas           Gov. Aggregation
COH             201708350013                Gas           Gov. Aggregation   VEDO         4016472602156728            Gas           Gov. Aggregation
COH             201944170011                Gas           Gov. Aggregation   VEDO         4001281722492253            Gas           Gov. Aggregation
COH             201944230018                Gas           Gov. Aggregation   VEDO         4018508182488423            Gas           Gov. Aggregation
COH             202043260011                Gas           Gov. Aggregation   VEDO         4018189562250544            Gas           Gov. Aggregation
COH             202071000016                Gas           Gov. Aggregation   VEDO         4016238262134427            Gas           Gov. Aggregation
COH             202227610017                Gas           Gov. Aggregation   VEDO         4015194532523114            Gas           Gov. Aggregation
COH             202482930010                Gas           Gov. Aggregation   VEDO         4021030662320603            Gas           Gov. Aggregation
COH             202543530014                Gas           Gov. Aggregation   VEDO         4019232842368256            Gas           Gov. Aggregation
COH             202625300018                Gas           Gov. Aggregation   VEDO         4001321272406120            Gas           Gov. Aggregation
COH             202570820016                Gas           Gov. Aggregation   VEDO         4018227102519012            Gas           Gov. Aggregation
COH             202934460010                Gas           Gov. Aggregation   VEDO         4003706712369057            Gas           Gov. Aggregation
COH             202967770016                Gas           Gov. Aggregation   VEDO         4020156572368845            Gas           Gov. Aggregation
COH             203008860018                Gas           Gov. Aggregation   VEDO         4001248952260574            Gas           Gov. Aggregation
COH             203110630028                Gas           Gov. Aggregation   VEDO         4004137992415715            Gas           Gov. Aggregation
COH             194989810030                Gas           Gov. Aggregation   VEDO         4019742922363719            Gas           Gov. Aggregation
COH             193059460027                Gas           Gov. Aggregation   VEDO         4020136932337839            Gas           Gov. Aggregation
COH             191103270024                Gas           Gov. Aggregation   VEDO         4004196922422116            Gas           Gov. Aggregation
COH             192131298139                Gas           Gov. Aggregation   VEDO         4018019042392019            Gas           Gov. Aggregation
COH             192303340024                Gas           Gov. Aggregation   VEDO         4018961282387065            Gas           Gov. Aggregation
COH             192536160029                Gas           Gov. Aggregation   VEDO         4001540692150833            Gas           Gov. Aggregation
COH             192665120024                Gas           Gov. Aggregation   VEDO         4016856062197257            Gas           Gov. Aggregation
COH             198687930022                Gas           Gov. Aggregation   VEDO         4001896372384272            Gas           Gov. Aggregation
COH             199587690024                Gas           Gov. Aggregation   VEDO         4018227102525614            Gas           Gov. Aggregation
COH             198832790023                Gas           Gov. Aggregation   VEDO         4020285142532789            Gas           Gov. Aggregation
COH             196715320030                Gas           Gov. Aggregation   VEDO         4018760422532790            Gas           Gov. Aggregation
COH             197143470022                Gas           Gov. Aggregation   VEDO         4017058952366877            Gas           Gov. Aggregation
COH             205585350011                Gas           Gov. Aggregation   VEDO         4001526702422686            Gas           Gov. Aggregation
COH             205672950010                Gas           Gov. Aggregation   VEDO         4001526702139915            Gas           Gov. Aggregation
COH             205682010016                Gas           Gov. Aggregation   VEDO         4019772072157040            Gas           Gov. Aggregation
COH             205692020013                Gas           Gov. Aggregation   VEDO         4003018542520725            Gas           Gov. Aggregation
COH             205281040010                Gas           Gov. Aggregation   VEDO         4019003862287626            Gas           Gov. Aggregation
COH             205281080012                Gas           Gov. Aggregation   VEDO         4019084882210271            Gas           Gov. Aggregation
COH             205108780011                Gas           Gov. Aggregation   VEDO         4017233182493140            Gas           Gov. Aggregation
COH             205198100014                Gas           Gov. Aggregation   VEDO         4004592742465634            Gas           Gov. Aggregation
COH             205212000013                Gas           Gov. Aggregation   VEDO         4018354232284429            Gas           Gov. Aggregation
COH             205219400015                Gas           Gov. Aggregation   VEDO         4017079112223102            Gas           Gov. Aggregation
COH             205115330010                Gas           Gov. Aggregation   VEDO         4002788652331799            Gas           Gov. Aggregation
COH             205131780012                Gas           Gov. Aggregation   VEDO         4002984652293736            Gas           Gov. Aggregation
COH             204307410017                Gas           Gov. Aggregation   VEDO         4019137682110976            Gas           Gov. Aggregation
COH             204404610019                Gas           Gov. Aggregation   VEDO         4004131772415051            Gas           Gov. Aggregation
COH             204521210015                Gas           Gov. Aggregation   VEDO         4002267332221841            Gas           Gov. Aggregation
COH             204527970014                Gas           Gov. Aggregation   VEDO         4018102082183783            Gas           Gov. Aggregation
COH             204460000019                Gas           Gov. Aggregation   VEDO         4019326602138395            Gas           Gov. Aggregation
COH             204561710016                Gas           Gov. Aggregation   VEDO         4001502212146994            Gas           Gov. Aggregation
COH             204336960011                Gas           Gov. Aggregation   VEDO         4019162182525225            Gas           Gov. Aggregation
COH             203170210011                Gas           Gov. Aggregation   VEDO         4019752682351586            Gas           Gov. Aggregation
COH             203433550012                Gas           Gov. Aggregation   VEDO         4016305132190537            Gas           Gov. Aggregation
COH             203710670019                Gas           Gov. Aggregation   VEDO         4020905442122337            Gas           Gov. Aggregation
COH             203821270018                Gas           Gov. Aggregation   VEDO         4003724942444522            Gas           Gov. Aggregation
COH             203861450025                Gas           Gov. Aggregation   VEDO         4020213012390337            Gas           Gov. Aggregation
COH             203583470012                Gas           Gov. Aggregation   VEDO         4002283742223477            Gas           Gov. Aggregation
COH             203761910011                Gas           Gov. Aggregation   VEDO         4003964402249084            Gas           Gov. Aggregation
VEDO            4017583392494817            Gas           Gov. Aggregation   VEDO         4003290432325212            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             124645810014                Gas           Gov. Aggregation   VEDO         4020295932188316            Gas           Gov. Aggregation
VEDO            4001958742191343            Gas           Gov. Aggregation   VEDO         4018995302403885            Gas           Gov. Aggregation
VEDO            4002936862288792            Gas           Gov. Aggregation   VEDO         4015084782209036            Gas           Gov. Aggregation
VEDO            4002141832209334            Gas           Gov. Aggregation   VEDO         4019025962479115            Gas           Gov. Aggregation
VEDO            4001837682179339            Gas           Gov. Aggregation   VEDO         4017242792453375            Gas           Gov. Aggregation
DEO             1180008238618               Gas           Gov. Aggregation   VEDO         4020140032477033            Gas           Gov. Aggregation
COH             173112440030                Gas           Gov. Aggregation   VEDO         4016316422344091            Gas           Gov. Aggregation
VEDO            4004376682181376            Gas           Gov. Aggregation   VEDO         4002500422244948            Gas           Gov. Aggregation
VEDO            4020113452358735            Gas           Gov. Aggregation   VEDO         4019397082309161            Gas           Gov. Aggregation
VEDO            4017646682295235            Gas           Gov. Aggregation   VEDO         4020000402439306            Gas           Gov. Aggregation
VEDO            4019786832454508            Gas           Gov. Aggregation   VEDO         4001967042500635            Gas           Gov. Aggregation
VEDO            4004730332371678            Gas           Gov. Aggregation   VEDO         4003258922511769            Gas           Gov. Aggregation
VEDO            4019736662608739            Gas           Gov. Aggregation   VEDO         4019338632521996            Gas           Gov. Aggregation
VEDO            4019972102154862            Gas           Gov. Aggregation   VEDO         4021007372357478            Gas           Gov. Aggregation
VEDO            4016298672103018            Gas           Gov. Aggregation   VEDO         4003394712336305            Gas           Gov. Aggregation
VEDO            4015883802116792            Gas           Gov. Aggregation   VEDO         4019195822139548            Gas           Gov. Aggregation
VEDO            4004344292118678            Gas           Gov. Aggregation   VEDO         4001373272268472            Gas           Gov. Aggregation
VEDO            4010119812637597            Gas           Gov. Aggregation   VEDO         4017002382476053            Gas           Gov. Aggregation
VEDO            4018840422307567            Gas           Gov. Aggregation   VEDO         4002306572355965            Gas           Gov. Aggregation
VEDO            4020038372673777            Gas           Gov. Aggregation   VEDO         4002579322484329            Gas           Gov. Aggregation
VEDO            4001818602248102            Gas           Gov. Aggregation   VEDO         4016806542287219            Gas           Gov. Aggregation
VEDO            4004155422417584            Gas           Gov. Aggregation   VEDO         4018042482455221            Gas           Gov. Aggregation
VEDO            4004611632467735            Gas           Gov. Aggregation   VEDO         4018018862137799            Gas           Gov. Aggregation
VEDO            4004834452492254            Gas           Gov. Aggregation   VEDO         4004796282148352            Gas           Gov. Aggregation
VEDO            4018065382319131            Gas           Gov. Aggregation   VEDO         4016487232212154            Gas           Gov. Aggregation
VEDO            4019324932494087            Gas           Gov. Aggregation   VEDO         4002374322291843            Gas           Gov. Aggregation
VEDO            4019938042141044            Gas           Gov. Aggregation   VEDO         4017346712265071            Gas           Gov. Aggregation
VEDO            4020009952515704            Gas           Gov. Aggregation   VEDO         4001418462311276            Gas           Gov. Aggregation
VEDO            4019085982106382            Gas           Gov. Aggregation   VEDO         4018266642433642            Gas           Gov. Aggregation
VEDO            4003897442389578            Gas           Gov. Aggregation   VEDO         4004589812243932            Gas           Gov. Aggregation
VEDO            4004478102452864            Gas           Gov. Aggregation   VEDO         4020917042210779            Gas           Gov. Aggregation
VEDO            4020860212105437            Gas           Gov. Aggregation   VEDO         4017594512404764            Gas           Gov. Aggregation
VEDO            4020083492532269            Gas           Gov. Aggregation   VEDO         4003455722279352            Gas           Gov. Aggregation
VEDO            4001712692633431            Gas           Gov. Aggregation   VEDO         4020068302277843            Gas           Gov. Aggregation
VEDO            4019510182180056            Gas           Gov. Aggregation   VEDO         4020317572323861            Gas           Gov. Aggregation
VEDO            4004150922417088            Gas           Gov. Aggregation   VEDO         4018505802507762            Gas           Gov. Aggregation
VEDO            4017584522296862            Gas           Gov. Aggregation   VEDO         4018249342360621            Gas           Gov. Aggregation
VEDO            4016187782252809            Gas           Gov. Aggregation   VEDO         4020095082229923            Gas           Gov. Aggregation
VEDO            4002023922197665            Gas           Gov. Aggregation   VEDO         4015732282421904            Gas           Gov. Aggregation
VEDO            4017530682401091            Gas           Gov. Aggregation   VEDO         4019200762520592            Gas           Gov. Aggregation
VEDO            4018489752325121            Gas           Gov. Aggregation   VEDO         4019139482139013            Gas           Gov. Aggregation
VEDO            4015514012150276            Gas           Gov. Aggregation   VEDO         4001093082396132            Gas           Gov. Aggregation
VEDO            4020081532375846            Gas           Gov. Aggregation   VEDO         4020900452390912            Gas           Gov. Aggregation
VEDO            4020272342339252            Gas           Gov. Aggregation   VEDO         4019755772525463            Gas           Gov. Aggregation
VEDO            4002706072330916            Gas           Gov. Aggregation   VEDO         4018103092359373            Gas           Gov. Aggregation
VEDO            4002706072343991            Gas           Gov. Aggregation   VEDO         4002511242499866            Gas           Gov. Aggregation
VEDO            4003383332617305            Gas           Gov. Aggregation   VEDO         4004895672499017            Gas           Gov. Aggregation
COH             123763520016                Gas           Gov. Aggregation   VEDO         4019074882338267            Gas           Gov. Aggregation
COH             123724340025                Gas           Gov. Aggregation   VEDO         4019795632436976            Gas           Gov. Aggregation
COH             203606950020                Gas           Gov. Aggregation   VEDO         4020290142204087            Gas           Gov. Aggregation
DEO             9180013948179               Gas           Gov. Aggregation   VEDO         4001875542182968            Gas           Gov. Aggregation
DEO             5180010461244               Gas           Gov. Aggregation   VEDO         4002384012233291            Gas           Gov. Aggregation
VEDO            4004189762460543            Gas           Gov. Aggregation   VEDO         4018178462284088            Gas           Gov. Aggregation
DEO             7500032457662               Gas           Gov. Aggregation   VEDO         4019168792264143            Gas           Gov. Aggregation
COH             111288330045                Gas           Gov. Aggregation   VEDO         4019514842194360            Gas           Gov. Aggregation
COH             140164870012                Gas           Gov. Aggregation   VEDO         4019453022524239            Gas           Gov. Aggregation
VEDO            4003029992298402            Gas           Gov. Aggregation   VEDO         4017702932334630            Gas           Gov. Aggregation
COH             147583040011                Gas           Gov. Aggregation   VEDO         4002082042336036            Gas           Gov. Aggregation
DEO             2442005096848               Gas           Gov. Aggregation   VEDO         4019005312327509            Gas           Gov. Aggregation
COH             193943670037                Gas           Gov. Aggregation   VEDO         4020221022138364            Gas           Gov. Aggregation
COH             141772220125                Gas           Gov. Aggregation   VEDO         4003275102202923            Gas           Gov. Aggregation
COH             202802340014                Gas           Gov. Aggregation   VEDO         4017327282442886            Gas           Gov. Aggregation
COH             194324200036                Gas           Gov. Aggregation   VEDO         4019939512502137            Gas           Gov. Aggregation
COH             204700290019                Gas           Gov. Aggregation   VEDO         4020069012130494            Gas           Gov. Aggregation
COH             205452920012                Gas           Gov. Aggregation   VEDO         4002113942206566            Gas           Gov. Aggregation
COH             204278640012                Gas           Gov. Aggregation   VEDO         4019857342124597            Gas           Gov. Aggregation
COH             175104000055                Gas           Gov. Aggregation   VEDO         4018308862481001            Gas           Gov. Aggregation
COH             197393950031                Gas           Gov. Aggregation   VEDO         4001763712253658            Gas           Gov. Aggregation
COH             149266730132                Gas           Gov. Aggregation   VEDO         4004014272340671            Gas           Gov. Aggregation
COH             153931550124                Gas           Gov. Aggregation   VEDO         4017060022439748            Gas           Gov. Aggregation
COH             203577590010                Gas           Gov. Aggregation   VEDO         4019429812480519            Gas           Gov. Aggregation
COH             203484070016                Gas           Gov. Aggregation   VEDO         4018836432215265            Gas           Gov. Aggregation
COH             141772220036                Gas           Gov. Aggregation   VEDO         4021005822150759            Gas           Gov. Aggregation
COH             191874650030                Gas           Gov. Aggregation   VEDO         4015239482263168            Gas           Gov. Aggregation
COH             189450030041                Gas           Gov. Aggregation   VEDO         4005159242528765            Gas           Gov. Aggregation
COH             195135500042                Gas           Gov. Aggregation   VEDO         4018211052173452            Gas           Gov. Aggregation
COH             186639190041                Gas           Gov. Aggregation   VEDO         4018865152222818            Gas           Gov. Aggregation
COH             188551520045                Gas           Gov. Aggregation   VEDO         4016565202203602            Gas           Gov. Aggregation
COH             204420130016                Gas           Gov. Aggregation   VEDO         4003803382379452            Gas           Gov. Aggregation
COH             160663980017                Gas           Gov. Aggregation   VEDO         4003158232311640            Gas           Gov. Aggregation
COH             198257880015                Gas           Gov. Aggregation   VEDO         4019504012511098            Gas           Gov. Aggregation
COH             196477180054                Gas           Gov. Aggregation   VEDO         4003513892348658            Gas           Gov. Aggregation
COH             197838320039                Gas           Gov. Aggregation   VEDO         4020201682257896            Gas           Gov. Aggregation
COH             151418810021                Gas           Gov. Aggregation   VEDO         4017929332244626            Gas           Gov. Aggregation
COH             204024800024                Gas           Gov. Aggregation   VEDO         4017083162413932            Gas           Gov. Aggregation
COH             205820890018                Gas           Gov. Aggregation   VEDO         4016147742214168            Gas           Gov. Aggregation
COH             192549760080                Gas           Gov. Aggregation   VEDO         4002485032486060            Gas           Gov. Aggregation
COH             189988650079                Gas           Gov. Aggregation   VEDO         4015570992186505            Gas           Gov. Aggregation
COH             152872960072                Gas           Gov. Aggregation   VEDO         4019273812423981            Gas           Gov. Aggregation
COH             175585300107                Gas           Gov. Aggregation   VEDO         4002711962462133            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             205860730017                Gas           Gov. Aggregation   VEDO         4020938042317869            Gas           Gov. Aggregation
COH             205348870014                Gas           Gov. Aggregation   VEDO         4015026812471837            Gas           Gov. Aggregation
COH             147242650015                Gas           Gov. Aggregation   VEDO         4001047382135249            Gas           Gov. Aggregation
COH             172920170106                Gas           Gov. Aggregation   VEDO         4018308572249700            Gas           Gov. Aggregation
COH             117164020037                Gas           Gov. Aggregation   VEDO         4019460932458863            Gas           Gov. Aggregation
COH             172292130045                Gas           Gov. Aggregation   VEDO         4019952272353608            Gas           Gov. Aggregation
COH             205788860014                Gas           Gov. Aggregation   VEDO         4004264272220525            Gas           Gov. Aggregation
COH             157340380021                Gas           Gov. Aggregation   VEDO         4016399412141117            Gas           Gov. Aggregation
COH             176551840659                Gas           Gov. Aggregation   VEDO         4020923852414180            Gas           Gov. Aggregation
COH             117290430016                Gas           Gov. Aggregation   VEDO         4016786692309371            Gas           Gov. Aggregation
COH             201274700010                Gas           Gov. Aggregation   VEDO         4017056362487623            Gas           Gov. Aggregation
COH             202993380022                Gas           Gov. Aggregation   VEDO         4019472352210336            Gas           Gov. Aggregation
COH             196829260023                Gas           Gov. Aggregation   VEDO         4016729252438540            Gas           Gov. Aggregation
COH             205856510012                Gas           Gov. Aggregation   VEDO         4003822282381463            Gas           Gov. Aggregation
COH             202961030013                Gas           Gov. Aggregation   VEDO         4005127972525194            Gas           Gov. Aggregation
COH             192172710043                Gas           Gov. Aggregation   VEDO         4005031262514200            Gas           Gov. Aggregation
COH             155176910020                Gas           Gov. Aggregation   VEDO         4018493302229282            Gas           Gov. Aggregation
COH             201406900017                Gas           Gov. Aggregation   VEDO         4018456922431201            Gas           Gov. Aggregation
COH             196928890021                Gas           Gov. Aggregation   VEDO         4015973042414243            Gas           Gov. Aggregation
COH             200795740019                Gas           Gov. Aggregation   VEDO         4020319482675741            Gas           Gov. Aggregation
COH             203278570018                Gas           Gov. Aggregation   VEDO         4015391892258148            Gas           Gov. Aggregation
COH             202453990019                Gas           Gov. Aggregation   VEDO         4015391892362300            Gas           Gov. Aggregation
COH             203934170010                Gas           Gov. Aggregation   VEDO         4001061092105783            Gas           Gov. Aggregation
COH             160617820035                Gas           Gov. Aggregation   VEDO         4001061092260768            Gas           Gov. Aggregation
COH             201654680019                Gas           Gov. Aggregation   VEDO         4015687032410239            Gas           Gov. Aggregation
COH             203154010017                Gas           Gov. Aggregation   VEDO         4003582642134798            Gas           Gov. Aggregation
COH             137856440038                Gas           Gov. Aggregation   VEDO         4020127412366144            Gas           Gov. Aggregation
COH             168696820022                Gas           Gov. Aggregation   VEDO         4002949422290091            Gas           Gov. Aggregation
COH             142218960061                Gas           Gov. Aggregation   VEDO         4017183592468830            Gas           Gov. Aggregation
COH             205915270017                Gas           Gov. Aggregation   VEDO         4017371872629735            Gas           Gov. Aggregation
COH             201803570015                Gas           Gov. Aggregation   VEDO         4019453092320919            Gas           Gov. Aggregation
COH             204095620014                Gas           Gov. Aggregation   VEDO         4004152732269323            Gas           Gov. Aggregation
COH             201587870012                Gas           Gov. Aggregation   VEDO         4001281722628796            Gas           Gov. Aggregation
COH             205825080018                Gas           Gov. Aggregation   VEDO         4001281722514261            Gas           Gov. Aggregation
COH             202570500013                Gas           Gov. Aggregation   VEDO         4001289122445585            Gas           Gov. Aggregation
COH             188402340020                Gas           Gov. Aggregation   VEDO         4018842932112778            Gas           Gov. Aggregation
COH             203550010017                Gas           Gov. Aggregation   VEDO         4003971752397585            Gas           Gov. Aggregation
COH             198849330042                Gas           Gov. Aggregation   VEDO         4019743102370880            Gas           Gov. Aggregation
COH             205211730012                Gas           Gov. Aggregation   VEDO         4003253822321473            Gas           Gov. Aggregation
COH             152419580081                Gas           Gov. Aggregation   VEDO         4001517852148522            Gas           Gov. Aggregation
COH             174908390079                Gas           Gov. Aggregation   VEDO         4020002382171174            Gas           Gov. Aggregation
COH             201615570032                Gas           Gov. Aggregation   VEDO         4018408492189247            Gas           Gov. Aggregation
COH             203916550018                Gas           Gov. Aggregation   VEDO         4018755842467142            Gas           Gov. Aggregation
COH             155647980072                Gas           Gov. Aggregation   VEDO         4021032722111957            Gas           Gov. Aggregation
COH             170057160030                Gas           Gov. Aggregation   VEDO         4001097992274484            Gas           Gov. Aggregation
COH             117349970018                Gas           Gov. Aggregation   VEDO         4020336412676863            Gas           Gov. Aggregation
COH             198646040043                Gas           Gov. Aggregation   VEDO         4001657212596042            Gas           Gov. Aggregation
COH             203357500014                Gas           Gov. Aggregation   VEDO         4019758552672510            Gas           Gov. Aggregation
COH             198924910022                Gas           Gov. Aggregation   VEDO         4020107942590288            Gas           Gov. Aggregation
COH             152448780033                Gas           Gov. Aggregation   VEDO         4004694912476963            Gas           Gov. Aggregation
COH             203595440013                Gas           Gov. Aggregation   VEDO         4018583022299823            Gas           Gov. Aggregation
COH             190066080034                Gas           Gov. Aggregation   VEDO         4017215002165132            Gas           Gov. Aggregation
COH             202247730010                Gas           Gov. Aggregation   VEDO         4017489462231327            Gas           Gov. Aggregation
COH             168306600032                Gas           Gov. Aggregation   VEDO         4003686382366937            Gas           Gov. Aggregation
COH             205243380019                Gas           Gov. Aggregation   VEDO         4002494792244385            Gas           Gov. Aggregation
COH             201558940018                Gas           Gov. Aggregation   VEDO         4003823312381574            Gas           Gov. Aggregation
COH             197199090034                Gas           Gov. Aggregation   VEDO         4019905872162493            Gas           Gov. Aggregation
COH             205718230013                Gas           Gov. Aggregation   VEDO         4003412052391355            Gas           Gov. Aggregation
COH             203841600016                Gas           Gov. Aggregation   VEDO         4003435872360387            Gas           Gov. Aggregation
COH             201484610014                Gas           Gov. Aggregation   VEDO         4017060622300068            Gas           Gov. Aggregation
COH             176603715749                Gas           Gov. Aggregation   VEDO         4003931442393342            Gas           Gov. Aggregation
COH             197453710024                Gas           Gov. Aggregation   VEDO         4003088902397309            Gas           Gov. Aggregation
COH             202787690015                Gas           Gov. Aggregation   VEDO         4002119542399245            Gas           Gov. Aggregation
COH             118812610046                Gas           Gov. Aggregation   VEDO         4017601872416615            Gas           Gov. Aggregation
COH             152374020100                Gas           Gov. Aggregation   VEDO         4017260592108653            Gas           Gov. Aggregation
COH             162153450062                Gas           Gov. Aggregation   VEDO         4016882192246248            Gas           Gov. Aggregation
COH             202901760016                Gas           Gov. Aggregation   VEDO         4002698212264691            Gas           Gov. Aggregation
COH             198961510037                Gas           Gov. Aggregation   VEDO         4002035372499686            Gas           Gov. Aggregation
COH             117303470028                Gas           Gov. Aggregation   VEDO         4002293812224464            Gas           Gov. Aggregation
COH             202658590019                Gas           Gov. Aggregation   VEDO         4016384672373762            Gas           Gov. Aggregation
COH             203433340016                Gas           Gov. Aggregation   VEDO         4005113822523525            Gas           Gov. Aggregation
COH             200235580028                Gas           Gov. Aggregation   VEDO         4004203042600906            Gas           Gov. Aggregation
COH             200394380024                Gas           Gov. Aggregation   VEDO         4001704432643975            Gas           Gov. Aggregation
COH             190516390034                Gas           Gov. Aggregation   VEDO         4001963552638563            Gas           Gov. Aggregation
COH             193100880011                Gas           Gov. Aggregation   VEDO         4003196102602284            Gas           Gov. Aggregation
COH             201576100016                Gas           Gov. Aggregation   VEDO         4001196012498153            Gas           Gov. Aggregation
COH             187112250052                Gas           Gov. Aggregation   VEDO         4020112682536488            Gas           Gov. Aggregation
COH             204419950017                Gas           Gov. Aggregation   VEDO         4018676282377786            Gas           Gov. Aggregation
COH             127522490091                Gas           Gov. Aggregation   VEDO         4003436072340596            Gas           Gov. Aggregation
COH             195160380036                Gas           Gov. Aggregation   VEDO         4005016292100989            Gas           Gov. Aggregation
COH             205771830015                Gas           Gov. Aggregation   VEDO         4002399982168263            Gas           Gov. Aggregation
COH             189742600033                Gas           Gov. Aggregation   VEDO         4016488392364093            Gas           Gov. Aggregation
COH             188450410033                Gas           Gov. Aggregation   VEDO         4019311282428208            Gas           Gov. Aggregation
COH             175158840047                Gas           Gov. Aggregation   VEDO         4019851622401069            Gas           Gov. Aggregation
COH             201960660014                Gas           Gov. Aggregation   VEDO         4019332172135794            Gas           Gov. Aggregation
COH             172842400023                Gas           Gov. Aggregation   VEDO         4003202652316212            Gas           Gov. Aggregation
COH             117054130046                Gas           Gov. Aggregation   VEDO         4019285682393409            Gas           Gov. Aggregation
COH             203554960010                Gas           Gov. Aggregation   VEDO         4016567282104474            Gas           Gov. Aggregation
COH             197242010028                Gas           Gov. Aggregation   VEDO         4016419582496192            Gas           Gov. Aggregation
COH             166897860057                Gas           Gov. Aggregation   VEDO         4002013022196627            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             204948640020                Gas           Gov. Aggregation   VEDO         4021022852191795            Gas           Gov. Aggregation
COH             204871690014                Gas           Gov. Aggregation   VEDO         4002002842195639            Gas           Gov. Aggregation
COH             204780760012                Gas           Gov. Aggregation   VEDO         4016418512385669            Gas           Gov. Aggregation
COH             199538330013                Gas           Gov. Aggregation   VEDO         4003017092297055            Gas           Gov. Aggregation
COH             201851970029                Gas           Gov. Aggregation   VEDO         4004355312187239            Gas           Gov. Aggregation
COH             195943540032                Gas           Gov. Aggregation   VEDO         4017390812107294            Gas           Gov. Aggregation
COH             114707650045                Gas           Gov. Aggregation   VEDO         4004906112379102            Gas           Gov. Aggregation
COH             197653290029                Gas           Gov. Aggregation   VEDO         4003033112298729            Gas           Gov. Aggregation
COH             201603810018                Gas           Gov. Aggregation   VEDO         4019737892237091            Gas           Gov. Aggregation
COH             159518790106                Gas           Gov. Aggregation   VEDO         4002175552212680            Gas           Gov. Aggregation
COH             159751190162                Gas           Gov. Aggregation   VEDO         4001046682407306            Gas           Gov. Aggregation
COH             188174080039                Gas           Gov. Aggregation   VEDO         4018992352461599            Gas           Gov. Aggregation
COH             202335370019                Gas           Gov. Aggregation   VEDO         4015604612208992            Gas           Gov. Aggregation
COH             203964700015                Gas           Gov. Aggregation   VEDO         4018912032472851            Gas           Gov. Aggregation
COH             201442820018                Gas           Gov. Aggregation   VEDO         4015265832255538            Gas           Gov. Aggregation
COH             204146720014                Gas           Gov. Aggregation   VEDO         4015779622516086            Gas           Gov. Aggregation
COH             198655390032                Gas           Gov. Aggregation   VEDO         4017105812385376            Gas           Gov. Aggregation
COH             167004140049                Gas           Gov. Aggregation   VEDO         4019037262112580            Gas           Gov. Aggregation
COH             205521450014                Gas           Gov. Aggregation   VEDO         4019839172413841            Gas           Gov. Aggregation
COH             195274340051                Gas           Gov. Aggregation   VEDO         4002974242475999            Gas           Gov. Aggregation
COH             159377920162                Gas           Gov. Aggregation   VEDO         4001235482122208            Gas           Gov. Aggregation
COH             192432200057                Gas           Gov. Aggregation   VEDO         4001046912648550            Gas           Gov. Aggregation
COH             203433350014                Gas           Gov. Aggregation   VEDO         4018222922376246            Gas           Gov. Aggregation
COH             168232960025                Gas           Gov. Aggregation   VEDO         4002357852191220            Gas           Gov. Aggregation
COH             155673740040                Gas           Gov. Aggregation   VEDO         4015031262292417            Gas           Gov. Aggregation
COH             147665820102                Gas           Gov. Aggregation   VEDO         4002078662203185            Gas           Gov. Aggregation
COH             205507390017                Gas           Gov. Aggregation   VEDO         4019056592240626            Gas           Gov. Aggregation
COH             142142840058                Gas           Gov. Aggregation   VEDO         4018926922163013            Gas           Gov. Aggregation
COH             187580250033                Gas           Gov. Aggregation   VEDO         4004422772418836            Gas           Gov. Aggregation
COH             203874170018                Gas           Gov. Aggregation   VEDO         4018577502166756            Gas           Gov. Aggregation
COH             205124130013                Gas           Gov. Aggregation   VEDO         4018567962526274            Gas           Gov. Aggregation
COH             204621140018                Gas           Gov. Aggregation   VEDO         4002677402327939            Gas           Gov. Aggregation
COH             205484060016                Gas           Gov. Aggregation   VEDO         4002054982200791            Gas           Gov. Aggregation
COH             205822280012                Gas           Gov. Aggregation   VEDO         4004647272469012            Gas           Gov. Aggregation
COH             202990140019                Gas           Gov. Aggregation   VEDO         4019865082505437            Gas           Gov. Aggregation
COH             194370280024                Gas           Gov. Aggregation   VEDO         4019793882331548            Gas           Gov. Aggregation
COH             204419930011                Gas           Gov. Aggregation   VEDO         4004815612490146            Gas           Gov. Aggregation
COH             205187200016                Gas           Gov. Aggregation   VEDO         4002575762252591            Gas           Gov. Aggregation
COH             198758970023                Gas           Gov. Aggregation   VEDO         4001178282116808            Gas           Gov. Aggregation
COH             203439130018                Gas           Gov. Aggregation   VEDO         4003703042368655            Gas           Gov. Aggregation
COH             205475420019                Gas           Gov. Aggregation   VEDO         4002718152312474            Gas           Gov. Aggregation
COH             192068880012                Gas           Gov. Aggregation   VEDO         4018975542447102            Gas           Gov. Aggregation
COH             203047330026                Gas           Gov. Aggregation   VEDO         4018174742232350            Gas           Gov. Aggregation
COH             201568350020                Gas           Gov. Aggregation   VEDO         4015194412391852            Gas           Gov. Aggregation
COH             205499580016                Gas           Gov. Aggregation   VEDO         4019107142367076            Gas           Gov. Aggregation
COH             192460680058                Gas           Gov. Aggregation   VEDO         4001607172204973            Gas           Gov. Aggregation
COH             201484620012                Gas           Gov. Aggregation   VEDO         4015774722244619            Gas           Gov. Aggregation
COH             201522370013                Gas           Gov. Aggregation   VEDO         4002606792400018            Gas           Gov. Aggregation
COH             116891660024                Gas           Gov. Aggregation   VEDO         4002033522198617            Gas           Gov. Aggregation
COH             117351030029                Gas           Gov. Aggregation   VEDO         4001414502138848            Gas           Gov. Aggregation
COH             204344130018                Gas           Gov. Aggregation   VEDO         4001140292623257            Gas           Gov. Aggregation
COH             205035010017                Gas           Gov. Aggregation   VEDO         4019942292623259            Gas           Gov. Aggregation
COH             205475500012                Gas           Gov. Aggregation   VEDO         4019942292623260            Gas           Gov. Aggregation
COH             205886730013                Gas           Gov. Aggregation   VEDO         4019942292623261            Gas           Gov. Aggregation
COH             190055930047                Gas           Gov. Aggregation   VEDO         4010039102263444            Gas           Gov. Aggregation
COH             204712210038                Gas           Gov. Aggregation   VEDO         4018946502516571            Gas           Gov. Aggregation
COH             187360650035                Gas           Gov. Aggregation   VEDO         4010033782508599            Gas           Gov. Aggregation
COH             141254010047                Gas           Gov. Aggregation   VEDO         4017346062176220            Gas           Gov. Aggregation
COH             147604860059                Gas           Gov. Aggregation   VEDO         4017363262438859            Gas           Gov. Aggregation
COH             189030640025                Gas           Gov. Aggregation   VEDO         4018004672397904            Gas           Gov. Aggregation
COH             117515960026                Gas           Gov. Aggregation   VEDO         4020866602138466            Gas           Gov. Aggregation
COH             196106350026                Gas           Gov. Aggregation   VEDO         4017995922284881            Gas           Gov. Aggregation
COH             198453290031                Gas           Gov. Aggregation   VEDO         4001533252309843            Gas           Gov. Aggregation
COH             205348880012                Gas           Gov. Aggregation   VEDO         4016264962338758            Gas           Gov. Aggregation
COH             205681340019                Gas           Gov. Aggregation   VEDO         4018349342315504            Gas           Gov. Aggregation
COH             155747950058                Gas           Gov. Aggregation   VEDO         4018879102104493            Gas           Gov. Aggregation
COH             117072820070                Gas           Gov. Aggregation   VEDO         4003711322369549            Gas           Gov. Aggregation
COH             205378810013                Gas           Gov. Aggregation   VEDO         4020902782428717            Gas           Gov. Aggregation
COH             202755550011                Gas           Gov. Aggregation   VEDO         4016257692475428            Gas           Gov. Aggregation
COH             201448930013                Gas           Gov. Aggregation   VEDO         4019287742491554            Gas           Gov. Aggregation
COH             151931370071                Gas           Gov. Aggregation   VEDO         4019218202263365            Gas           Gov. Aggregation
COH             201918860011                Gas           Gov. Aggregation   VEDO         4021025122331341            Gas           Gov. Aggregation
COH             198961400021                Gas           Gov. Aggregation   VEDO         4017584872280335            Gas           Gov. Aggregation
COH             201821220010                Gas           Gov. Aggregation   VEDO         4019089392423634            Gas           Gov. Aggregation
COH             202165750029                Gas           Gov. Aggregation   VEDO         4003656702363783            Gas           Gov. Aggregation
COH             188554870073                Gas           Gov. Aggregation   VEDO         4004484902303215            Gas           Gov. Aggregation
COH             187347360034                Gas           Gov. Aggregation   VEDO         4005113692523512            Gas           Gov. Aggregation
COH             201141500022                Gas           Gov. Aggregation   VEDO         4019834972355838            Gas           Gov. Aggregation
COH             204219940013                Gas           Gov. Aggregation   VEDO         4003909522150311            Gas           Gov. Aggregation
COH             203453270019                Gas           Gov. Aggregation   VEDO         4018066132476749            Gas           Gov. Aggregation
COH             203554940014                Gas           Gov. Aggregation   VEDO         4004899342290939            Gas           Gov. Aggregation
COH             155426330021                Gas           Gov. Aggregation   VEDO         4019342192413478            Gas           Gov. Aggregation
COH             199661970027                Gas           Gov. Aggregation   VEDO         4017638882395034            Gas           Gov. Aggregation
COH             158497170023                Gas           Gov. Aggregation   VEDO         4015633812521025            Gas           Gov. Aggregation
COH             188402360026                Gas           Gov. Aggregation   VEDO         4003362272420814            Gas           Gov. Aggregation
COH             146565120148                Gas           Gov. Aggregation   VEDO         4004632462331161            Gas           Gov. Aggregation
COH             204749120012                Gas           Gov. Aggregation   VEDO         4001417722465473            Gas           Gov. Aggregation
COH             202624740018                Gas           Gov. Aggregation   VEDO         4001033662103239            Gas           Gov. Aggregation
COH             160501410036                Gas           Gov. Aggregation   VEDO         4020046032234878            Gas           Gov. Aggregation
COH             203852390027                Gas           Gov. Aggregation   VEDO         4017047032268159            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             201149590037                Gas           Gov. Aggregation   VEDO         4001316312129742            Gas           Gov. Aggregation
COH             205137870011                Gas           Gov. Aggregation   VEDO         4015276232190209            Gas           Gov. Aggregation
COH             173207180025                Gas           Gov. Aggregation   VEDO         4020107932279126            Gas           Gov. Aggregation
COH             202471220012                Gas           Gov. Aggregation   VEDO         4001028542257118            Gas           Gov. Aggregation
COH             202901830011                Gas           Gov. Aggregation   VEDO         4020799092277427            Gas           Gov. Aggregation
COH             205812690017                Gas           Gov. Aggregation   VEDO         4018622712190173            Gas           Gov. Aggregation
COH             202852800012                Gas           Gov. Aggregation   VEDO         4018575082151072            Gas           Gov. Aggregation
COH             162313070062                Gas           Gov. Aggregation   VEDO         4019185352281918            Gas           Gov. Aggregation
COH             203873400011                Gas           Gov. Aggregation   VEDO         4017342922208887            Gas           Gov. Aggregation
COH             172256800031                Gas           Gov. Aggregation   VEDO         4003844352383874            Gas           Gov. Aggregation
COH             186229210045                Gas           Gov. Aggregation   VEDO         4019197052238053            Gas           Gov. Aggregation
COH             204748380010                Gas           Gov. Aggregation   VEDO         4017059602125471            Gas           Gov. Aggregation
COH             149404580103                Gas           Gov. Aggregation   VEDO         4017624542152846            Gas           Gov. Aggregation
COH             185383930067                Gas           Gov. Aggregation   VEDO         4002812622561404            Gas           Gov. Aggregation
COH             166164750044                Gas           Gov. Aggregation   VEDO         4001685582476894            Gas           Gov. Aggregation
COH             205276840013                Gas           Gov. Aggregation   VEDO         4002867722408777            Gas           Gov. Aggregation
COH             176016780067                Gas           Gov. Aggregation   VEDO         4002537592420532            Gas           Gov. Aggregation
COH             171510190040                Gas           Gov. Aggregation   VEDO         4018172872148957            Gas           Gov. Aggregation
COH             203104320035                Gas           Gov. Aggregation   VEDO         4001281722314463            Gas           Gov. Aggregation
COH             201848400016                Gas           Gov. Aggregation   VEDO         4019910702232942            Gas           Gov. Aggregation
COH             172391630022                Gas           Gov. Aggregation   VEDO         4002993252270846            Gas           Gov. Aggregation
COH             204945200019                Gas           Gov. Aggregation   VEDO         4017564702141404            Gas           Gov. Aggregation
COH             201960790017                Gas           Gov. Aggregation   VEDO         4019914072475524            Gas           Gov. Aggregation
COH             205747110017                Gas           Gov. Aggregation   VEDO         4020228702479765            Gas           Gov. Aggregation
COH             202432610012                Gas           Gov. Aggregation   VEDO         4004694222341575            Gas           Gov. Aggregation
COH             199908990029                Gas           Gov. Aggregation   VEDO         4002586722253636            Gas           Gov. Aggregation
COH             203286740015                Gas           Gov. Aggregation   VEDO         4002818132244991            Gas           Gov. Aggregation
COH             196983980017                Gas           Gov. Aggregation   VEDO         4004065292478888            Gas           Gov. Aggregation
COH             189325080028                Gas           Gov. Aggregation   VEDO         4001939832189488            Gas           Gov. Aggregation
COH             195038500020                Gas           Gov. Aggregation   VEDO         4018087502236857            Gas           Gov. Aggregation
COH             204931250018                Gas           Gov. Aggregation   VEDO         4017152312370815            Gas           Gov. Aggregation
COH             203554950012                Gas           Gov. Aggregation   VEDO         4019133262402989            Gas           Gov. Aggregation
COH             201189520019                Gas           Gov. Aggregation   VEDO         4019259742446289            Gas           Gov. Aggregation
COH             170276200037                Gas           Gov. Aggregation   VEDO         4001869262526146            Gas           Gov. Aggregation
COH             199137540028                Gas           Gov. Aggregation   VEDO         4002238592253484            Gas           Gov. Aggregation
COH             201932830017                Gas           Gov. Aggregation   VEDO         4020114182513740            Gas           Gov. Aggregation
COH             187531060090                Gas           Gov. Aggregation   VEDO         4018890362454731            Gas           Gov. Aggregation
COH             203716600011                Gas           Gov. Aggregation   VEDO         4015009292208597            Gas           Gov. Aggregation
COH             189506950030                Gas           Gov. Aggregation   VEDO         4018812542407709            Gas           Gov. Aggregation
COH             205396410019                Gas           Gov. Aggregation   VEDO         4021013702302433            Gas           Gov. Aggregation
COH             168035750107                Gas           Gov. Aggregation   VEDO         4019845002441350            Gas           Gov. Aggregation
COH             204404060015                Gas           Gov. Aggregation   VEDO         4017379282459297            Gas           Gov. Aggregation
COH             205396400011                Gas           Gov. Aggregation   VEDO         4017835722314342            Gas           Gov. Aggregation
COH             153196140068                Gas           Gov. Aggregation   VEDO         4017389332250072            Gas           Gov. Aggregation
COH             139122690039                Gas           Gov. Aggregation   VEDO         4019831892521342            Gas           Gov. Aggregation
COH             205874070017                Gas           Gov. Aggregation   VEDO         4017745862107486            Gas           Gov. Aggregation
COH             117517420098                Gas           Gov. Aggregation   VEDO         4019454072257570            Gas           Gov. Aggregation
COH             202417020018                Gas           Gov. Aggregation   VEDO         4021004162245130            Gas           Gov. Aggregation
COH             168468440089                Gas           Gov. Aggregation   VEDO         4004702462477780            Gas           Gov. Aggregation
COH             188927080032                Gas           Gov. Aggregation   VEDO         4020201742527681            Gas           Gov. Aggregation
COH             202162640019                Gas           Gov. Aggregation   VEDO         4016893882319009            Gas           Gov. Aggregation
COH             190751580036                Gas           Gov. Aggregation   VEDO         4018819142129205            Gas           Gov. Aggregation
COH             202743930016                Gas           Gov. Aggregation   VEDO         4019463172475849            Gas           Gov. Aggregation
COH             176469800036                Gas           Gov. Aggregation   VEDO         4018885542515798            Gas           Gov. Aggregation
COH             196374180016                Gas           Gov. Aggregation   VEDO         4004178502420135            Gas           Gov. Aggregation
COH             198732870028                Gas           Gov. Aggregation   VEDO         4017825082402396            Gas           Gov. Aggregation
COH             197321140023                Gas           Gov. Aggregation   VEDO         4019418572236651            Gas           Gov. Aggregation
COH             198374680028                Gas           Gov. Aggregation   VEDO         4019899392429356            Gas           Gov. Aggregation
COH             190969520019                Gas           Gov. Aggregation   VEDO         4004007392134552            Gas           Gov. Aggregation
COH             204906010011                Gas           Gov. Aggregation   VEDO         4015921062259814            Gas           Gov. Aggregation
COH             174016700038                Gas           Gov. Aggregation   VEDO         4003572682354891            Gas           Gov. Aggregation
COH             204646230026                Gas           Gov. Aggregation   VEDO         4018477272368481            Gas           Gov. Aggregation
COH             117049140027                Gas           Gov. Aggregation   VEDO         4002339982229004            Gas           Gov. Aggregation
COH             201918880017                Gas           Gov. Aggregation   VEDO         4002984132354629            Gas           Gov. Aggregation
COH             196320960024                Gas           Gov. Aggregation   VEDO         4018014442223357            Gas           Gov. Aggregation
COH             117567180049                Gas           Gov. Aggregation   VEDO         4019262752321378            Gas           Gov. Aggregation
COH             198515580029                Gas           Gov. Aggregation   VEDO         4017881172156150            Gas           Gov. Aggregation
COH             199545990029                Gas           Gov. Aggregation   VEDO         4019051612209717            Gas           Gov. Aggregation
COH             205078980014                Gas           Gov. Aggregation   VEDO         4020187142484005            Gas           Gov. Aggregation
COH             120270710032                Gas           Gov. Aggregation   VEDO         4002438702252756            Gas           Gov. Aggregation
COH             197421070017                Gas           Gov. Aggregation   VEDO         4002484012243313            Gas           Gov. Aggregation
COH             127568840073                Gas           Gov. Aggregation   VEDO         4002932602288336            Gas           Gov. Aggregation
COH             118317300023                Gas           Gov. Aggregation   VEDO         4003320912328451            Gas           Gov. Aggregation
COH             186431600035                Gas           Gov. Aggregation   VEDO         4015406082103288            Gas           Gov. Aggregation
COH             194058100023                Gas           Gov. Aggregation   VEDO         4002909412135808            Gas           Gov. Aggregation
COH             202494590017                Gas           Gov. Aggregation   VEDO         4019928402415086            Gas           Gov. Aggregation
COH             202543380016                Gas           Gov. Aggregation   VEDO         4019223442538631            Gas           Gov. Aggregation
COH             194685150033                Gas           Gov. Aggregation   VEDO         4019522872221742            Gas           Gov. Aggregation
COH             203286790015                Gas           Gov. Aggregation   VEDO         4018974122364864            Gas           Gov. Aggregation
COH             152120750024                Gas           Gov. Aggregation   VEDO         4020912452627708            Gas           Gov. Aggregation
COH             201991120012                Gas           Gov. Aggregation   VEDO         4017597932353082            Gas           Gov. Aggregation
COH             204810960015                Gas           Gov. Aggregation   VEDO         4004431202447819            Gas           Gov. Aggregation
COH             201989860012                Gas           Gov. Aggregation   VEDO         4001722462152605            Gas           Gov. Aggregation
COH             205863970011                Gas           Gov. Aggregation   VEDO         4001500272146796            Gas           Gov. Aggregation
COH             196249670027                Gas           Gov. Aggregation   VEDO         4020135312518082            Gas           Gov. Aggregation
COH             168394040053                Gas           Gov. Aggregation   VEDO         4018681812111944            Gas           Gov. Aggregation
COH             202624910012                Gas           Gov. Aggregation   VEDO         4017014982323546            Gas           Gov. Aggregation
COH             202942280011                Gas           Gov. Aggregation   VEDO         4016966982210668            Gas           Gov. Aggregation
COH             201370490011                Gas           Gov. Aggregation   VEDO         4001068842282334            Gas           Gov. Aggregation
COH             194764730024                Gas           Gov. Aggregation   VEDO         4016775842501577            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             202232460054                Gas           Gov. Aggregation   VEDO         4003535112350842            Gas           Gov. Aggregation
COH             195795600061                Gas           Gov. Aggregation   VEDO         4001078152445682            Gas           Gov. Aggregation
COH             162224440090                Gas           Gov. Aggregation   VEDO         4019780872526264            Gas           Gov. Aggregation
COH             202052670016                Gas           Gov. Aggregation   VEDO         4016623242343949            Gas           Gov. Aggregation
COH             203032890011                Gas           Gov. Aggregation   VEDO         4015904082453531            Gas           Gov. Aggregation
COH             202332840016                Gas           Gov. Aggregation   VEDO         4002309922257697            Gas           Gov. Aggregation
COH             199506310050                Gas           Gov. Aggregation   VEDO         4001643562160683            Gas           Gov. Aggregation
COH             204661590010                Gas           Gov. Aggregation   VEDO         4019495112521558            Gas           Gov. Aggregation
COH             194189403208                Gas           Gov. Aggregation   VEDO         4019308212166345            Gas           Gov. Aggregation
COH             170644830025                Gas           Gov. Aggregation   VEDO         4019387982360286            Gas           Gov. Aggregation
COH             144473350110                Gas           Gov. Aggregation   VEDO         4002548572521708            Gas           Gov. Aggregation
COH             202558390013                Gas           Gov. Aggregation   VEDO         4018959002125876            Gas           Gov. Aggregation
COH             192131298844                Gas           Gov. Aggregation   VEDO         4020845822168862            Gas           Gov. Aggregation
COH             191221410024                Gas           Gov. Aggregation   VEDO         4018702642282997            Gas           Gov. Aggregation
COH             158983440025                Gas           Gov. Aggregation   VEDO         4003207932474431            Gas           Gov. Aggregation
COH             202615580011                Gas           Gov. Aggregation   VEDO         4020946992107489            Gas           Gov. Aggregation
COH             155375490036                Gas           Gov. Aggregation   VEDO         4004035852404577            Gas           Gov. Aggregation
COH             201122550059                Gas           Gov. Aggregation   VEDO         4015148392588998            Gas           Gov. Aggregation
COH             141579460018                Gas           Gov. Aggregation   VEDO         4017685652338664            Gas           Gov. Aggregation
COH             187682210035                Gas           Gov. Aggregation   VEDO         4020788182498044            Gas           Gov. Aggregation
COH             203069190011                Gas           Gov. Aggregation   VEDO         4020088092426537            Gas           Gov. Aggregation
COH             203268690014                Gas           Gov. Aggregation   VEDO         4017127412103869            Gas           Gov. Aggregation
COH             202570370011                Gas           Gov. Aggregation   VEDO         4004223832225792            Gas           Gov. Aggregation
COH             204198450012                Gas           Gov. Aggregation   VEDO         4004759332483979            Gas           Gov. Aggregation
COH             203913550014                Gas           Gov. Aggregation   VEDO         4001247192198730            Gas           Gov. Aggregation
COH             198701550039                Gas           Gov. Aggregation   VEDO         4017647962289363            Gas           Gov. Aggregation
COH             196813870046                Gas           Gov. Aggregation   VEDO         4020034922469161            Gas           Gov. Aggregation
COH             201670530016                Gas           Gov. Aggregation   VEDO         4020084142493073            Gas           Gov. Aggregation
COH             195295250038                Gas           Gov. Aggregation   VEDO         4020076772303681            Gas           Gov. Aggregation
COH             205191150018                Gas           Gov. Aggregation   VEDO         4020199762452911            Gas           Gov. Aggregation
COH             117274210025                Gas           Gov. Aggregation   VEDO         4020270142416975            Gas           Gov. Aggregation
COH             134625230089                Gas           Gov. Aggregation   VEDO         4019226102447355            Gas           Gov. Aggregation
COH             197183980012                Gas           Gov. Aggregation   VEDO         4017232592442831            Gas           Gov. Aggregation
COH             185465520050                Gas           Gov. Aggregation   VEDO         4015901912311106            Gas           Gov. Aggregation
COH             117415050029                Gas           Gov. Aggregation   VEDO         4015717952284959            Gas           Gov. Aggregation
COH             158986720020                Gas           Gov. Aggregation   VEDO         4016389982210004            Gas           Gov. Aggregation
COH             176524400032                Gas           Gov. Aggregation   VEDO         4016264932510768            Gas           Gov. Aggregation
COH             205243410012                Gas           Gov. Aggregation   VEDO         4017965782238000            Gas           Gov. Aggregation
COH             161571980020                Gas           Gov. Aggregation   VEDO         4019293832463217            Gas           Gov. Aggregation
COH             148595150030                Gas           Gov. Aggregation   VEDO         4016770892151309            Gas           Gov. Aggregation
COH             117330170015                Gas           Gov. Aggregation   VEDO         4005066202518198            Gas           Gov. Aggregation
COH             158036210011                Gas           Gov. Aggregation   VEDO         4020839832102724            Gas           Gov. Aggregation
COH             204277240018                Gas           Gov. Aggregation   VEDO         4020066212142259            Gas           Gov. Aggregation
COH             202566310049                Gas           Gov. Aggregation   VEDO         4003943452394604            Gas           Gov. Aggregation
COH             117342490040                Gas           Gov. Aggregation   VEDO         4020145782454281            Gas           Gov. Aggregation
COH             146326460027                Gas           Gov. Aggregation   VEDO         4020174632675089            Gas           Gov. Aggregation
COH             188811430033                Gas           Gov. Aggregation   VEDO         4001501782307065            Gas           Gov. Aggregation
COH             202558310019                Gas           Gov. Aggregation   VEDO         4019209992216780            Gas           Gov. Aggregation
COH             117179670030                Gas           Gov. Aggregation   VEDO         4003338392478896            Gas           Gov. Aggregation
COH             201320320039                Gas           Gov. Aggregation   VEDO         4018259532113715            Gas           Gov. Aggregation
COH             149955430063                Gas           Gov. Aggregation   VEDO         4019860992256064            Gas           Gov. Aggregation
COH             202355160011                Gas           Gov. Aggregation   VEDO         4016165292218073            Gas           Gov. Aggregation
COH             202829210015                Gas           Gov. Aggregation   VEDO         4001662602356082            Gas           Gov. Aggregation
COH             205286680016                Gas           Gov. Aggregation   VEDO         4019432062303023            Gas           Gov. Aggregation
COH             203204580011                Gas           Gov. Aggregation   VEDO         4019889912276381            Gas           Gov. Aggregation
COH             202650700020                Gas           Gov. Aggregation   VEDO         4020146362104897            Gas           Gov. Aggregation
COH             173817100073                Gas           Gov. Aggregation   VEDO         4017871782524517            Gas           Gov. Aggregation
COH             201428740015                Gas           Gov. Aggregation   VEDO         4002281602223247            Gas           Gov. Aggregation
COH             201452980023                Gas           Gov. Aggregation   VEDO         4016824062465642            Gas           Gov. Aggregation
COH             163088900065                Gas           Gov. Aggregation   VEDO         4002467052144563            Gas           Gov. Aggregation
COH             197922110016                Gas           Gov. Aggregation   VEDO         4017111532115569            Gas           Gov. Aggregation
COH             201410280019                Gas           Gov. Aggregation   VEDO         4017118442175924            Gas           Gov. Aggregation
COH             192560600043                Gas           Gov. Aggregation   VEDO         4019461132461645            Gas           Gov. Aggregation
COH             205584420018                Gas           Gov. Aggregation   VEDO         4015917842438416            Gas           Gov. Aggregation
COH             197250670023                Gas           Gov. Aggregation   VEDO         4001810642647308            Gas           Gov. Aggregation
COH             205931820017                Gas           Gov. Aggregation   VEDO         4017318452306598            Gas           Gov. Aggregation
COH             150935550067                Gas           Gov. Aggregation   VEDO         4018607172675817            Gas           Gov. Aggregation
COH             204152200010                Gas           Gov. Aggregation   VEDO         4020010992477568            Gas           Gov. Aggregation
COH             205355550016                Gas           Gov. Aggregation   VEDO         4002074142408763            Gas           Gov. Aggregation
COH             203704420014                Gas           Gov. Aggregation   VEDO         4004438602216600            Gas           Gov. Aggregation
COH             205845650016                Gas           Gov. Aggregation   VEDO         4018597022238103            Gas           Gov. Aggregation
COH             205062790017                Gas           Gov. Aggregation   VEDO         4019762742365506            Gas           Gov. Aggregation
COH             204419920013                Gas           Gov. Aggregation   VEDO         4017171842259075            Gas           Gov. Aggregation
COH             198565020049                Gas           Gov. Aggregation   VEDO         4020207742125999            Gas           Gov. Aggregation
COH             202675540013                Gas           Gov. Aggregation   VEDO         4020937882478936            Gas           Gov. Aggregation
COH             147198110040                Gas           Gov. Aggregation   VEDO         4001528272101537            Gas           Gov. Aggregation
COH             203079820017                Gas           Gov. Aggregation   VEDO         4003671702210383            Gas           Gov. Aggregation
COH             195964000022                Gas           Gov. Aggregation   VEDO         4019508472339231            Gas           Gov. Aggregation
COH             199037520024                Gas           Gov. Aggregation   VEDO         4004254992428470            Gas           Gov. Aggregation
COH             164727480021                Gas           Gov. Aggregation   VEDO         4001715402251409            Gas           Gov. Aggregation
COH             203894640017                Gas           Gov. Aggregation   VEDO         4002322312227263            Gas           Gov. Aggregation
COH             191377590037                Gas           Gov. Aggregation   VEDO         4001755212171289            Gas           Gov. Aggregation
COH             202487190016                Gas           Gov. Aggregation   VEDO         4005078062507095            Gas           Gov. Aggregation
COH             202804920027                Gas           Gov. Aggregation   VEDO         4004069402461783            Gas           Gov. Aggregation
COH             203510800015                Gas           Gov. Aggregation   VEDO         4017898902502490            Gas           Gov. Aggregation
COH             195073480021                Gas           Gov. Aggregation   VEDO         4003194422315374            Gas           Gov. Aggregation
COH             205560740011                Gas           Gov. Aggregation   VEDO         4019761892371873            Gas           Gov. Aggregation
COH             201968360011                Gas           Gov. Aggregation   VEDO         4003457892478015            Gas           Gov. Aggregation
COH             187117490034                Gas           Gov. Aggregation   VEDO         4010094882344177            Gas           Gov. Aggregation
COH             168992360021                Gas           Gov. Aggregation   VEDO         4017379442502097            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             203687770028                Gas           Gov. Aggregation   VEDO         4002684762108846            Gas           Gov. Aggregation
COH             122909050025                Gas           Gov. Aggregation   VEDO         4003075652303066            Gas           Gov. Aggregation
COH             202408320014                Gas           Gov. Aggregation   VEDO         4017595432334282            Gas           Gov. Aggregation
COH             201953290017                Gas           Gov. Aggregation   VEDO         4003727712594993            Gas           Gov. Aggregation
COH             153203650037                Gas           Gov. Aggregation   VEDO         4015319592640964            Gas           Gov. Aggregation
COH             204334230018                Gas           Gov. Aggregation   VEDO         4004995922613550            Gas           Gov. Aggregation
COH             188308650034                Gas           Gov. Aggregation   VEDO         4001050122203843            Gas           Gov. Aggregation
COH             133321330038                Gas           Gov. Aggregation   VEDO         4005141772526773            Gas           Gov. Aggregation
COH             198610090020                Gas           Gov. Aggregation   VEDO         4018160972223192            Gas           Gov. Aggregation
COH             173614100037                Gas           Gov. Aggregation   VEDO         4018647052280127            Gas           Gov. Aggregation
COH             201576120012                Gas           Gov. Aggregation   VEDO         4020840132412135            Gas           Gov. Aggregation
COH             203861300017                Gas           Gov. Aggregation   VEDO         4002512382325617            Gas           Gov. Aggregation
COH             135558930020                Gas           Gov. Aggregation   VEDO         4015405212132975            Gas           Gov. Aggregation
COH             201550820019                Gas           Gov. Aggregation   VEDO         4003366792333291            Gas           Gov. Aggregation
COH             193751100097                Gas           Gov. Aggregation   VEDO         4003366792502324            Gas           Gov. Aggregation
COH             202684610019                Gas           Gov. Aggregation   VEDO         4003366792574593            Gas           Gov. Aggregation
COH             188689140026                Gas           Gov. Aggregation   VEDO         4017087412123400            Gas           Gov. Aggregation
COH             202566490015                Gas           Gov. Aggregation   VEDO         4001414502142416            Gas           Gov. Aggregation
COH             201901560019                Gas           Gov. Aggregation   VEDO         4019895982479772            Gas           Gov. Aggregation
COH             201918670011                Gas           Gov. Aggregation   VEDO         4004941462504076            Gas           Gov. Aggregation
COH             203738660013                Gas           Gov. Aggregation   VEDO         4001658972239211            Gas           Gov. Aggregation
COH             204480430017                Gas           Gov. Aggregation   VEDO         4018825532314523            Gas           Gov. Aggregation
COH             205507460012                Gas           Gov. Aggregation   VEDO         4005030882364662            Gas           Gov. Aggregation
COH             202590070012                Gas           Gov. Aggregation   VEDO         4017399362405788            Gas           Gov. Aggregation
COH             192131298111                Gas           Gov. Aggregation   VEDO         4018583022529603            Gas           Gov. Aggregation
COH             202738120017                Gas           Gov. Aggregation   VEDO         4018504822529627            Gas           Gov. Aggregation
COH             199806400028                Gas           Gov. Aggregation   VEDO         4017895322675544            Gas           Gov. Aggregation
COH             190558060044                Gas           Gov. Aggregation   VEDO         4018583022529625            Gas           Gov. Aggregation
COH             201740420029                Gas           Gov. Aggregation   VEDO         4015042442674076            Gas           Gov. Aggregation
COH             163657640027                Gas           Gov. Aggregation   VEDO         4017497442674307            Gas           Gov. Aggregation
COH             202917000012                Gas           Gov. Aggregation   VEDO         4017295602674425            Gas           Gov. Aggregation
COH             204795850012                Gas           Gov. Aggregation   VEDO         4017742592674565            Gas           Gov. Aggregation
COH             203054890015                Gas           Gov. Aggregation   VEDO         4021023042679929            Gas           Gov. Aggregation
COH             187601260017                Gas           Gov. Aggregation   VEDO         4004218362675494            Gas           Gov. Aggregation
COH             203302980019                Gas           Gov. Aggregation   VEDO         4015770592673397            Gas           Gov. Aggregation
COH             205672700012                Gas           Gov. Aggregation   VEDO         4015777102674084            Gas           Gov. Aggregation
COH             203248980015                Gas           Gov. Aggregation   VEDO         4016606702531475            Gas           Gov. Aggregation
COH             156279090024                Gas           Gov. Aggregation   VEDO         4017652892674838            Gas           Gov. Aggregation
COH             201383780022                Gas           Gov. Aggregation   VEDO         4018053132674163            Gas           Gov. Aggregation
COH             203606520011                Gas           Gov. Aggregation   VEDO         4017324102674060            Gas           Gov. Aggregation
COH             190695480019                Gas           Gov. Aggregation   VEDO         4018011902529624            Gas           Gov. Aggregation
COH             166696620026                Gas           Gov. Aggregation   VEDO         4018583022529606            Gas           Gov. Aggregation
COH             200579110019                Gas           Gov. Aggregation   VEDO         4018182972164556            Gas           Gov. Aggregation
COH             201991090019                Gas           Gov. Aggregation   VEDO         4017450672529617            Gas           Gov. Aggregation
COH             116932910023                Gas           Gov. Aggregation   VEDO         4017084032529619            Gas           Gov. Aggregation
COH             117832020058                Gas           Gov. Aggregation   VEDO         4015086982530812            Gas           Gov. Aggregation
COH             195167980036                Gas           Gov. Aggregation   VEDO         4018583022529631            Gas           Gov. Aggregation
COH             200503020026                Gas           Gov. Aggregation   VEDO         4002990142529599            Gas           Gov. Aggregation
COH             194780590039                Gas           Gov. Aggregation   VEDO         4001806402539053            Gas           Gov. Aggregation
COH             195893670023                Gas           Gov. Aggregation   VEDO         4019743292536257            Gas           Gov. Aggregation
COH             117319810256                Gas           Gov. Aggregation   VEDO         4004050482676733            Gas           Gov. Aggregation
COH             202394010010                Gas           Gov. Aggregation   VEDO         4015506622677534            Gas           Gov. Aggregation
COH             196354670033                Gas           Gov. Aggregation   VEDO         4016809042677436            Gas           Gov. Aggregation
COH             133945610037                Gas           Gov. Aggregation   VEDO         4018372372677433            Gas           Gov. Aggregation
COH             151240500041                Gas           Gov. Aggregation   VEDO         4018796922676776            Gas           Gov. Aggregation
COH             196272830033                Gas           Gov. Aggregation   VEDO         4018534252677322            Gas           Gov. Aggregation
COH             197328330056                Gas           Gov. Aggregation   VEDO         4018813202168540            Gas           Gov. Aggregation
COH             205269890018                Gas           Gov. Aggregation   VEDO         4020291122676145            Gas           Gov. Aggregation
COH             205654240017                Gas           Gov. Aggregation   VEDO         4020847752676829            Gas           Gov. Aggregation
COH             204024550018                Gas           Gov. Aggregation   VEDO         4020860372677438            Gas           Gov. Aggregation
COH             202130700013                Gas           Gov. Aggregation   VEDO         4020872072677390            Gas           Gov. Aggregation
COH             202369110021                Gas           Gov. Aggregation   VEDO         4019270522427994            Gas           Gov. Aggregation
COH             195309780027                Gas           Gov. Aggregation   VEDO         4018583022350296            Gas           Gov. Aggregation
COH             204554520011                Gas           Gov. Aggregation   VEDO         4019151882199107            Gas           Gov. Aggregation
COH             196108620016                Gas           Gov. Aggregation   VEDO         4017621552175949            Gas           Gov. Aggregation
COH             204404100016                Gas           Gov. Aggregation   VEDO         4018838122486801            Gas           Gov. Aggregation
COH             205412460013                Gas           Gov. Aggregation   VEDO         4015992082537793            Gas           Gov. Aggregation
COH             197853350031                Gas           Gov. Aggregation   VEDO         4001231442537802            Gas           Gov. Aggregation
COH             202512880025                Gas           Gov. Aggregation   VEDO         4016156462529612            Gas           Gov. Aggregation
COH             202579620010                Gas           Gov. Aggregation   VEDO         4017824082534720            Gas           Gov. Aggregation
COH             168197110056                Gas           Gov. Aggregation   VEDO         4018932032537816            Gas           Gov. Aggregation
COH             141147440017                Gas           Gov. Aggregation   VEDO         4005036632537389            Gas           Gov. Aggregation
COH             198861290018                Gas           Gov. Aggregation   VEDO         4004443932537809            Gas           Gov. Aggregation
COH             155545240037                Gas           Gov. Aggregation   VEDO         4004903602499877            Gas           Gov. Aggregation
COH             194189402763                Gas           Gov. Aggregation   VEDO         4020129312156187            Gas           Gov. Aggregation
COH             159110920031                Gas           Gov. Aggregation   VEDO         4017403922359324            Gas           Gov. Aggregation
COH             163985970014                Gas           Gov. Aggregation   VEDO         4001490182676130            Gas           Gov. Aggregation
COH             164399450024                Gas           Gov. Aggregation   VEDO         4018366652678995            Gas           Gov. Aggregation
COH             199096670029                Gas           Gov. Aggregation   VEDO         4018550942676531            Gas           Gov. Aggregation
COH             198596640017                Gas           Gov. Aggregation   VEDO         4020803752676731            Gas           Gov. Aggregation
COH             205025200018                Gas           Gov. Aggregation   VEDO         4020885942676683            Gas           Gov. Aggregation
COH             204131180019                Gas           Gov. Aggregation   VEDO         4019004012537791            Gas           Gov. Aggregation
COH             198110870026                Gas           Gov. Aggregation   VEDO         4015179182537783            Gas           Gov. Aggregation
COH             202477140017                Gas           Gov. Aggregation   VEDO         4019991072537788            Gas           Gov. Aggregation
COH             205211750018                Gas           Gov. Aggregation   VEDO         4020281862130759            Gas           Gov. Aggregation
COH             192131298237                Gas           Gov. Aggregation   VEDO         4002587552532589            Gas           Gov. Aggregation
COH             200511040025                Gas           Gov. Aggregation   VEDO         4003280062537781            Gas           Gov. Aggregation
COH             200110980028                Gas           Gov. Aggregation   VEDO         4015588342434857            Gas           Gov. Aggregation
COH             204514560017                Gas           Gov. Aggregation   VEDO         4003523262213224            Gas           Gov. Aggregation
COH             160450060039                Gas           Gov. Aggregation   VEDO         4020295002585360            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             192131299530                Gas           Gov. Aggregation   VEDO         4015348842585358            Gas           Gov. Aggregation
COH             201390970018                Gas           Gov. Aggregation   VEDO         4018583022582332            Gas           Gov. Aggregation
COH             204269350012                Gas           Gov. Aggregation   VEDO         4018571212590594            Gas           Gov. Aggregation
COH             204713490010                Gas           Gov. Aggregation   VEDO         4003148452597530            Gas           Gov. Aggregation
COH             205680110019                Gas           Gov. Aggregation   VEDO         4002092952204541            Gas           Gov. Aggregation
COH             203218560016                Gas           Gov. Aggregation   VEDO         4019503302180362            Gas           Gov. Aggregation
COH             201365850025                Gas           Gov. Aggregation   VEDO         4018583022470532            Gas           Gov. Aggregation
COH             201821270010                Gas           Gov. Aggregation   VEDO         4018637082326014            Gas           Gov. Aggregation
COH             205292800017                Gas           Gov. Aggregation   VEDO         4003466232343806            Gas           Gov. Aggregation
COH             192131298460                Gas           Gov. Aggregation   VEDO         4019984762287866            Gas           Gov. Aggregation
COH             201494890015                Gas           Gov. Aggregation   VEDO         4015040282529598            Gas           Gov. Aggregation
COH             201990970016                Gas           Gov. Aggregation   VEDO         4016504112385599            Gas           Gov. Aggregation
COH             190935860037                Gas           Gov. Aggregation   VEDO         4020286162582331            Gas           Gov. Aggregation
COH             201702740022                Gas           Gov. Aggregation   VEDO         4002439592238856            Gas           Gov. Aggregation
COH             172113640028                Gas           Gov. Aggregation   VEDO         4017052592110305            Gas           Gov. Aggregation
COH             197812350037                Gas           Gov. Aggregation   VEDO         4018141722585364            Gas           Gov. Aggregation
COH             202894040014                Gas           Gov. Aggregation   VEDO         4004055472587018            Gas           Gov. Aggregation
COH             185494840098                Gas           Gov. Aggregation   VEDO         4020897892582333            Gas           Gov. Aggregation
COH             201340510019                Gas           Gov. Aggregation   VEDO         4017987582589175            Gas           Gov. Aggregation
COH             205718390010                Gas           Gov. Aggregation   VEDO         4018573042585361            Gas           Gov. Aggregation
COH             204006150010                Gas           Gov. Aggregation   VEDO         4018583022587019            Gas           Gov. Aggregation
COH             204379830018                Gas           Gov. Aggregation   VEDO         4018709962531316            Gas           Gov. Aggregation
COH             203210960018                Gas           Gov. Aggregation   VEDO         4001875712316406            Gas           Gov. Aggregation
COH             192131299905                Gas           Gov. Aggregation   VEDO         4020199842555417            Gas           Gov. Aggregation
COH             201449090018                Gas           Gov. Aggregation   VEDO         4004211262625296            Gas           Gov. Aggregation
COH             203725240018                Gas           Gov. Aggregation   VEDO         4004444822138930            Gas           Gov. Aggregation
COH             205539970018                Gas           Gov. Aggregation   VEDO         4015975662234423            Gas           Gov. Aggregation
COH             204547570016                Gas           Gov. Aggregation   VEDO         4018583022373401            Gas           Gov. Aggregation
COH             202901860024                Gas           Gov. Aggregation   VEDO         4018583022484056            Gas           Gov. Aggregation
COH             205072540018                Gas           Gov. Aggregation   VEDO         4018583022268399            Gas           Gov. Aggregation
COH             203079870777                Gas           Gov. Aggregation   VEDO         4015533892247370            Gas           Gov. Aggregation
COH             200836750019                Gas           Gov. Aggregation   VEDO         4002497772244666            Gas           Gov. Aggregation
COH             193531840043                Gas           Gov. Aggregation   VEDO         4003017762297122            Gas           Gov. Aggregation
COH             204014640010                Gas           Gov. Aggregation   VEDO         4002455472240422            Gas           Gov. Aggregation
COH             202604650019                Gas           Gov. Aggregation   VEDO         4004351012222450            Gas           Gov. Aggregation
COH             136043280090                Gas           Gov. Aggregation   VEDO         4019470452162419            Gas           Gov. Aggregation
COH             201606410016                Gas           Gov. Aggregation   VEDO         4003070262101317            Gas           Gov. Aggregation
COH             201521800014                Gas           Gov. Aggregation   VEDO         4005031802514267            Gas           Gov. Aggregation
COH             195998120044                Gas           Gov. Aggregation   VEDO         4015902392555414            Gas           Gov. Aggregation
COH             203252230013                Gas           Gov. Aggregation   VEDO         4001681482580182            Gas           Gov. Aggregation
COH             204764740010                Gas           Gov. Aggregation   VEDO         4019168902588906            Gas           Gov. Aggregation
COH             194189402987                Gas           Gov. Aggregation   VEDO         4020093982537140            Gas           Gov. Aggregation
COH             204207380025                Gas           Gov. Aggregation   VEDO         4018780112296934            Gas           Gov. Aggregation
COH             201835330018                Gas           Gov. Aggregation   VEDO         4001120232614278            Gas           Gov. Aggregation
COH             205115020015                Gas           Gov. Aggregation   VEDO         4018583022604824            Gas           Gov. Aggregation
COH             204139490018                Gas           Gov. Aggregation   VEDO         4003198702611238            Gas           Gov. Aggregation
COH             192786800025                Gas           Gov. Aggregation   VEDO         4015639182622243            Gas           Gov. Aggregation
COH             192131297005                Gas           Gov. Aggregation   VEDO         4019744282648658            Gas           Gov. Aggregation
COH             200488610035                Gas           Gov. Aggregation   VEDO         4015299852604828            Gas           Gov. Aggregation
COH             134559500029                Gas           Gov. Aggregation   VEDO         4017895602671226            Gas           Gov. Aggregation
COH             133375560055                Gas           Gov. Aggregation   VEDO         4017741072604825            Gas           Gov. Aggregation
COH             201771860022                Gas           Gov. Aggregation   VEDO         4021039462411895            Gas           Gov. Aggregation
COH             172426710020                Gas           Gov. Aggregation   VEDO         4001179472407840            Gas           Gov. Aggregation
COH             203079870428                Gas           Gov. Aggregation   VEDO         4018761112480914            Gas           Gov. Aggregation
COH             199889860037                Gas           Gov. Aggregation   VEDO         4001034342378529            Gas           Gov. Aggregation
COH             192131298693                Gas           Gov. Aggregation   VEDO         4020317852521235            Gas           Gov. Aggregation
COH             201821280018                Gas           Gov. Aggregation   VEDO         4001163592115430            Gas           Gov. Aggregation
COH             133810010029                Gas           Gov. Aggregation   VEDO         4001864252181867            Gas           Gov. Aggregation
COH             192131297121                Gas           Gov. Aggregation   VEDO         4021011852319754            Gas           Gov. Aggregation
COH             186425990037                Gas           Gov. Aggregation   VEDO         4004192892421730            Gas           Gov. Aggregation
COH             192131296873                Gas           Gov. Aggregation   VEDO         4017457002177407            Gas           Gov. Aggregation
COH             201909440036                Gas           Gov. Aggregation   VEDO         4015206472182336            Gas           Gov. Aggregation
COH             200717760028                Gas           Gov. Aggregation   VEDO         4017891142630736            Gas           Gov. Aggregation
COH             205006040012                Gas           Gov. Aggregation   VEDO         4015559312629188            Gas           Gov. Aggregation
COH             201519830013                Gas           Gov. Aggregation   VEDO         4017495542592617            Gas           Gov. Aggregation
COH             201841750017                Gas           Gov. Aggregation   VEDO         4021005292624566            Gas           Gov. Aggregation
COH             205614550016                Gas           Gov. Aggregation   VEDO         4015637992631488            Gas           Gov. Aggregation
COH             197123660033                Gas           Gov. Aggregation   VEDO         4015524542631487            Gas           Gov. Aggregation
COH             148354360045                Gas           Gov. Aggregation   VEDO         4018583022625188            Gas           Gov. Aggregation
COH             203496920012                Gas           Gov. Aggregation   VEDO         4002483452614465            Gas           Gov. Aggregation
COH             202983700016                Gas           Gov. Aggregation   VEDO         4001886952592707            Gas           Gov. Aggregation
COH             185903530030                Gas           Gov. Aggregation   VEDO         4020925822629688            Gas           Gov. Aggregation
COH             192131299254                Gas           Gov. Aggregation   VEDO         4017771782618396            Gas           Gov. Aggregation
COH             194189403182                Gas           Gov. Aggregation   VEDO         4003142852623451            Gas           Gov. Aggregation
COH             169634310037                Gas           Gov. Aggregation   VEDO         4015003312631642            Gas           Gov. Aggregation
COH             204825270019                Gas           Gov. Aggregation   VEDO         4015548702550811            Gas           Gov. Aggregation
COH             201163320024                Gas           Gov. Aggregation   VEDO         4018825762583191            Gas           Gov. Aggregation
COH             202188640015                Gas           Gov. Aggregation   VEDO         4016808832610019            Gas           Gov. Aggregation
COH             203365600016                Gas           Gov. Aggregation   VEDO         4019501002571980            Gas           Gov. Aggregation
COH             198125560011                Gas           Gov. Aggregation   VEDO         4018344562613766            Gas           Gov. Aggregation
COH             200761150032                Gas           Gov. Aggregation   VEDO         4015217652619389            Gas           Gov. Aggregation
COH             202408330012                Gas           Gov. Aggregation   VEDO         4017295432637329            Gas           Gov. Aggregation
COH             171841970063                Gas           Gov. Aggregation   VEDO         4017008592586023            Gas           Gov. Aggregation
COH             202950490010                Gas           Gov. Aggregation   VEDO         4018583022617336            Gas           Gov. Aggregation
COH             202335400021                Gas           Gov. Aggregation   VEDO         4019955242623450            Gas           Gov. Aggregation
COH             175880200086                Gas           Gov. Aggregation   VEDO         4017922862606330            Gas           Gov. Aggregation
COH             205563880016                Gas           Gov. Aggregation   VEDO         4020040232603706            Gas           Gov. Aggregation
COH             202082580012                Gas           Gov. Aggregation   VEDO         4016853622611031            Gas           Gov. Aggregation
COH             205045910017                Gas           Gov. Aggregation   VEDO         4002735582532239            Gas           Gov. Aggregation
COH             205463290012                Gas           Gov. Aggregation   VEDO         4020140742546603            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             193025020057                Gas           Gov. Aggregation   VEDO         4004953442544755            Gas           Gov. Aggregation
COH             203770120027                Gas           Gov. Aggregation   VEDO         4019207602571583            Gas           Gov. Aggregation
COH             201771110010                Gas           Gov. Aggregation   VEDO         4018172692581101            Gas           Gov. Aggregation
COH             168048580044                Gas           Gov. Aggregation   VEDO         4019769442556377            Gas           Gov. Aggregation
COH             149524430020                Gas           Gov. Aggregation   VEDO         4018583022540120            Gas           Gov. Aggregation
COH             205070070011                Gas           Gov. Aggregation   VEDO         4003067532643562            Gas           Gov. Aggregation
COH             199380680024                Gas           Gov. Aggregation   VEDO         4010029322672148            Gas           Gov. Aggregation
COH             204831450018                Gas           Gov. Aggregation   VEDO         4001617152639283            Gas           Gov. Aggregation
COH             201628350013                Gas           Gov. Aggregation   VEDO         4019180662263767            Gas           Gov. Aggregation
COH             204468920010                Gas           Gov. Aggregation   VEDO         4015994422309303            Gas           Gov. Aggregation
COH             203332610013                Gas           Gov. Aggregation   VEDO         4015574382299997            Gas           Gov. Aggregation
COH             202327890017                Gas           Gov. Aggregation   VEDO         4001349632132771            Gas           Gov. Aggregation
COH             192131298602                Gas           Gov. Aggregation   VEDO         4001970532192478            Gas           Gov. Aggregation
COH             201522490018                Gas           Gov. Aggregation   VEDO         4002374602104017            Gas           Gov. Aggregation
COH             204281080013                Gas           Gov. Aggregation   VEDO         4018583022571584            Gas           Gov. Aggregation
COH             116994730058                Gas           Gov. Aggregation   VEDO         4003983252550549            Gas           Gov. Aggregation
COH             120356560032                Gas           Gov. Aggregation   VEDO         4017170402560198            Gas           Gov. Aggregation
COH             137479380193                Gas           Gov. Aggregation   VEDO         4019444672344164            Gas           Gov. Aggregation
COH             177079670076                Gas           Gov. Aggregation   VEDO         4021034782529781            Gas           Gov. Aggregation
COH             185804110047                Gas           Gov. Aggregation   VEDO         4019277552529093            Gas           Gov. Aggregation
COH             187641680042                Gas           Gov. Aggregation   VEDO         4004915602501223            Gas           Gov. Aggregation
COH             201305770037                Gas           Gov. Aggregation   VEDO         4016042282296353            Gas           Gov. Aggregation
COH             202394080016                Gas           Gov. Aggregation   VEDO         4018583022188126            Gas           Gov. Aggregation
COH             204704820055                Gas           Gov. Aggregation   VEDO         4020317692675752            Gas           Gov. Aggregation
COH             205837670019                Gas           Gov. Aggregation   VEDO         4019023612188930            Gas           Gov. Aggregation
COH             122485600029                Gas           Gov. Aggregation   VEDO         4018628762163073            Gas           Gov. Aggregation
VEDO            4016172712259731            Gas           Gov. Aggregation   VEDO         4004185892420915            Gas           Gov. Aggregation
COH             196602730033                Gas           Gov. Aggregation   VEDO         4001867102457111            Gas           Gov. Aggregation
COH             204783280017                Gas           Gov. Aggregation   VEDO         4017914692223319            Gas           Gov. Aggregation
COH             194305980024                Gas           Gov. Aggregation   VEDO         4002038492373195            Gas           Gov. Aggregation
COH             127373680070                Gas           Gov. Aggregation   VEDO         4015957722434231            Gas           Gov. Aggregation
COH             205430260017                Gas           Gov. Aggregation   VEDO         4002935202288607            Gas           Gov. Aggregation
COH             205921710011                Gas           Gov. Aggregation   VEDO         4003685002538157            Gas           Gov. Aggregation
COH             164237130032                Gas           Gov. Aggregation   VEDO         4001513122534749            Gas           Gov. Aggregation
COH             164687670045                Gas           Gov. Aggregation   VEDO         4020118422529024            Gas           Gov. Aggregation
COH             149304790021                Gas           Gov. Aggregation   VEDO         4001508602147600            Gas           Gov. Aggregation
COH             204858920013                Gas           Gov. Aggregation   VEDO         4020868962139228            Gas           Gov. Aggregation
COH             205675590010                Gas           Gov. Aggregation   VEDO         4004176382413812            Gas           Gov. Aggregation
COH             203070140018                Gas           Gov. Aggregation   VEDO         4001882642183690            Gas           Gov. Aggregation
COH             205335120018                Gas           Gov. Aggregation   VEDO         4016298362410994            Gas           Gov. Aggregation
COH             202038670016                Gas           Gov. Aggregation   VEDO         4003806792215017            Gas           Gov. Aggregation
COH             191277560026                Gas           Gov. Aggregation   VEDO         4003796862441838            Gas           Gov. Aggregation
COH             186112580072                Gas           Gov. Aggregation   VEDO         4017423892455925            Gas           Gov. Aggregation
COH             201951070017                Gas           Gov. Aggregation   VEDO         4003037962146606            Gas           Gov. Aggregation
COH             202783500012                Gas           Gov. Aggregation   VEDO         4017313772257217            Gas           Gov. Aggregation
COH             125836770017                Gas           Gov. Aggregation   VEDO         4017262592272009            Gas           Gov. Aggregation
VEDO            4002675672262458            Gas           Gov. Aggregation   VEDO         4016294182211305            Gas           Gov. Aggregation
DEO             2180007865810               Gas           Gov. Aggregation   VEDO         4019937432422029            Gas           Gov. Aggregation
VEDO            4016932002615441            Gas           Gov. Aggregation   VEDO         4001617582319600            Gas           Gov. Aggregation
COH             206118300019                Gas           Gov. Aggregation   VEDO         4020020692338053            Gas           Gov. Aggregation
VEDO            4016525162145179            Gas           Gov. Aggregation   VEDO         4003728752158177            Gas           Gov. Aggregation
DEO             1180010419061               Gas           Gov. Aggregation   VEDO         4001407532460283            Gas           Gov. Aggregation
DEO             5180010223013               Gas           Gov. Aggregation   VEDO         4017748052156427            Gas           Gov. Aggregation
COH             196362550031                Gas           Gov. Aggregation   VEDO         4020014532196811            Gas           Gov. Aggregation
DEO             2180010173082               Gas           Gov. Aggregation   VEDO         4016271412484575            Gas           Gov. Aggregation
DEO             7180010240669               Gas           Gov. Aggregation   VEDO         4017889592238952            Gas           Gov. Aggregation
DEO             8180010379213               Gas           Gov. Aggregation   VEDO         4016046302280948            Gas           Gov. Aggregation
COH             197200440026                Gas           Gov. Aggregation   VEDO         4001037702103605            Gas           Gov. Aggregation
COH             203130020015                Gas           Gov. Aggregation   VEDO         4003850612384549            Gas           Gov. Aggregation
COH             202998920019                Gas           Gov. Aggregation   VEDO         4020291672425208            Gas           Gov. Aggregation
COH             203351890015                Gas           Gov. Aggregation   VEDO         4015051922154409            Gas           Gov. Aggregation
COH             205617380016                Gas           Gov. Aggregation   VEDO         4001630112527144            Gas           Gov. Aggregation
COH             205959990014                Gas           Gov. Aggregation   VEDO         4016180942228758            Gas           Gov. Aggregation
COH             201665100026                Gas           Gov. Aggregation   VEDO         4018579942205052            Gas           Gov. Aggregation
COH             198575670024                Gas           Gov. Aggregation   VEDO         4019277452478868            Gas           Gov. Aggregation
COH             112263350024                Gas           Gov. Aggregation   VEDO         4019737252267684            Gas           Gov. Aggregation
COH             204108170010                Gas           Gov. Aggregation   VEDO         4020859772300319            Gas           Gov. Aggregation
COH             202556600012                Gas           Gov. Aggregation   VEDO         4002482802489850            Gas           Gov. Aggregation
COH             206048170016                Gas           Gov. Aggregation   VEDO         4002822942277262            Gas           Gov. Aggregation
COH             192555190032                Gas           Gov. Aggregation   VEDO         4004305762271504            Gas           Gov. Aggregation
COH             169401960043                Gas           Gov. Aggregation   VEDO         4004111172412797            Gas           Gov. Aggregation
COH             205010650015                Gas           Gov. Aggregation   VEDO         4018810022478154            Gas           Gov. Aggregation
COH             205047420016                Gas           Gov. Aggregation   VEDO         4016685042366656            Gas           Gov. Aggregation
COH             161501870020                Gas           Gov. Aggregation   VEDO         4018521822353597            Gas           Gov. Aggregation
COH             160214780083                Gas           Gov. Aggregation   VEDO         4016131052275979            Gas           Gov. Aggregation
COH             204920000013                Gas           Gov. Aggregation   VEDO         4016682762105970            Gas           Gov. Aggregation
COH             205526340017                Gas           Gov. Aggregation   VEDO         4017112862288767            Gas           Gov. Aggregation
COH             170360840034                Gas           Gov. Aggregation   VEDO         4010121602230937            Gas           Gov. Aggregation
COH             202009480017                Gas           Gov. Aggregation   VEDO         4019125572118626            Gas           Gov. Aggregation
COH             193804670022                Gas           Gov. Aggregation   VEDO         4002696262359716            Gas           Gov. Aggregation
COH             202788710018                Gas           Gov. Aggregation   VEDO         4001445722141687            Gas           Gov. Aggregation
COH             202405250015                Gas           Gov. Aggregation   VEDO         4015960182391996            Gas           Gov. Aggregation
COH             202164700012                Gas           Gov. Aggregation   VEDO         4016630672169474            Gas           Gov. Aggregation
COH             174544280038                Gas           Gov. Aggregation   VEDO         4016533442295499            Gas           Gov. Aggregation
COH             204844860015                Gas           Gov. Aggregation   VEDO         4004654422401398            Gas           Gov. Aggregation
COH             165669490031                Gas           Gov. Aggregation   VEDO         4019439522645350            Gas           Gov. Aggregation
COH             203697800011                Gas           Gov. Aggregation   VEDO         4018380572603767            Gas           Gov. Aggregation
COH             189922360078                Gas           Gov. Aggregation   VEDO         4001429042647987            Gas           Gov. Aggregation
COH             194260850036                Gas           Gov. Aggregation   VEDO         4020278312674223            Gas           Gov. Aggregation
COH             205974900010                Gas           Gov. Aggregation   VEDO         4016743812599882            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             205555470019                Gas           Gov. Aggregation   VEDO         4021017572679380            Gas           Gov. Aggregation
COH             203537410020                Gas           Gov. Aggregation   VEDO         4017341332674564            Gas           Gov. Aggregation
COH             204528710016                Gas           Gov. Aggregation   VEDO         4001104032634032            Gas           Gov. Aggregation
COH             204662660013                Gas           Gov. Aggregation   VEDO         4003033732677180            Gas           Gov. Aggregation
COH             198945230030                Gas           Gov. Aggregation   VEDO         4002733572600445            Gas           Gov. Aggregation
COH             200463070022                Gas           Gov. Aggregation   VEDO         4020327332675552            Gas           Gov. Aggregation
COH             198944870029                Gas           Gov. Aggregation   VEDO         4019951182123523            Gas           Gov. Aggregation
COH             203269500020                Gas           Gov. Aggregation   VEDO         4019784662108527            Gas           Gov. Aggregation
COH             141529030022                Gas           Gov. Aggregation   VEDO         4018155622351782            Gas           Gov. Aggregation
COH             205838440015                Gas           Gov. Aggregation   VEDO         4019294342254277            Gas           Gov. Aggregation
COH             203446460014                Gas           Gov. Aggregation   VEDO         4017207102626410            Gas           Gov. Aggregation
COH             204632270018                Gas           Gov. Aggregation   VEDO         4018498352626409            Gas           Gov. Aggregation
COH             198516020024                Gas           Gov. Aggregation   VEDO         4019885292626263            Gas           Gov. Aggregation
COH             112745520035                Gas           Gov. Aggregation   VEDO         4018500092582903            Gas           Gov. Aggregation
COH             174513290031                Gas           Gov. Aggregation   VEDO         4020127012582900            Gas           Gov. Aggregation
COH             112185390040                Gas           Gov. Aggregation   VEDO         4019423492363243            Gas           Gov. Aggregation
COH             205561130017                Gas           Gov. Aggregation   VEDO         4001278282356532            Gas           Gov. Aggregation
COH             205829560019                Gas           Gov. Aggregation   VEDO         4020328362168710            Gas           Gov. Aggregation
COH             202056780015                Gas           Gov. Aggregation   VEDO         4019155122508183            Gas           Gov. Aggregation
COH             203570640013                Gas           Gov. Aggregation   VEDO         4002948922147090            Gas           Gov. Aggregation
COH             204258010016                Gas           Gov. Aggregation   VEDO         4017494952589556            Gas           Gov. Aggregation
COH             200888440042                Gas           Gov. Aggregation   VEDO         4019842662648500            Gas           Gov. Aggregation
COH             165402760127                Gas           Gov. Aggregation   VEDO         4018583022601293            Gas           Gov. Aggregation
COH             206091590017                Gas           Gov. Aggregation   VEDO         4004844252641608            Gas           Gov. Aggregation
COH             130595596121                Gas           Gov. Aggregation   VEDO         4002670422677179            Gas           Gov. Aggregation
COH             195744500032                Gas           Gov. Aggregation   VEDO         4003840692646060            Gas           Gov. Aggregation
COH             198881820390                Gas           Gov. Aggregation   VEDO         4019017762643961            Gas           Gov. Aggregation
COH             205959520012                Gas           Gov. Aggregation   VEDO         4002912942673969            Gas           Gov. Aggregation
COH             202337000012                Gas           Gov. Aggregation   VEDO         4018284722534697            Gas           Gov. Aggregation
COH             204586070019                Gas           Gov. Aggregation   VEDO         4001138982113154            Gas           Gov. Aggregation
COH             112768450032                Gas           Gov. Aggregation   VEDO         4018572042329915            Gas           Gov. Aggregation
COH             198644570028                Gas           Gov. Aggregation   VEDO         4015392432360800            Gas           Gov. Aggregation
COH             192764430038                Gas           Gov. Aggregation   VEDO         4018714392135444            Gas           Gov. Aggregation
COH             148230780110                Gas           Gov. Aggregation   VEDO         4018699522625180            Gas           Gov. Aggregation
COH             154650210031                Gas           Gov. Aggregation   VEDO         4019847532633302            Gas           Gov. Aggregation
COH             195069510014                Gas           Gov. Aggregation   VEDO         4017635572642040            Gas           Gov. Aggregation
COH             196153750032                Gas           Gov. Aggregation   VEDO         4003633892584272            Gas           Gov. Aggregation
COH             202107280011                Gas           Gov. Aggregation   VEDO         4002865262578863            Gas           Gov. Aggregation
COH             202198140019                Gas           Gov. Aggregation   VEDO         4003462552563442            Gas           Gov. Aggregation
COH             205611540014                Gas           Gov. Aggregation   VEDO         4003931032671553            Gas           Gov. Aggregation
COH             205838610019                Gas           Gov. Aggregation   VEDO         4015886362561642            Gas           Gov. Aggregation
COH             140914610024                Gas           Gov. Aggregation   VEDO         4018666122586013            Gas           Gov. Aggregation
COH             173527050104                Gas           Gov. Aggregation   VEDO         4019991752622722            Gas           Gov. Aggregation
COH             112270770021                Gas           Gov. Aggregation   VEDO         4018588742584797            Gas           Gov. Aggregation
COH             174454110089                Gas           Gov. Aggregation   VEDO         4003228662530001            Gas           Gov. Aggregation
COH             188724240047                Gas           Gov. Aggregation   VEDO         4017030122593022            Gas           Gov. Aggregation
COH             189829590032                Gas           Gov. Aggregation   VEDO         4018640842529942            Gas           Gov. Aggregation
COH             191422770032                Gas           Gov. Aggregation   VEDO         4018883082529535            Gas           Gov. Aggregation
COH             199797590020                Gas           Gov. Aggregation   VEDO         4004506632434054            Gas           Gov. Aggregation
COH             200492180019                Gas           Gov. Aggregation   VEDO         4004893012543188            Gas           Gov. Aggregation
COH             204836780019                Gas           Gov. Aggregation   VEDO         4015226422531685            Gas           Gov. Aggregation
COH             205416730018                Gas           Gov. Aggregation   VEDO         4019769452215013            Gas           Gov. Aggregation
COH             205586860012                Gas           Gov. Aggregation   VEDO         4021010152559507            Gas           Gov. Aggregation
COH             205851700012                Gas           Gov. Aggregation   VEDO         4015088522620014            Gas           Gov. Aggregation
COH             205912660011                Gas           Gov. Aggregation   VEDO         4016763902582770            Gas           Gov. Aggregation
COH             197830900015                Gas           Gov. Aggregation   VEDO         4002282002350298            Gas           Gov. Aggregation
COH             195368090028                Gas           Gov. Aggregation   VEDO         4019521492214418            Gas           Gov. Aggregation
COH             130559780052                Gas           Gov. Aggregation   VEDO         4019068762155804            Gas           Gov. Aggregation
COH             174044480027                Gas           Gov. Aggregation   VEDO         4019929872315410            Gas           Gov. Aggregation
COH             156193540058                Gas           Gov. Aggregation   VEDO         4020031992300724            Gas           Gov. Aggregation
COH             157547300038                Gas           Gov. Aggregation   VEDO         4019148682505826            Gas           Gov. Aggregation
COH             204405650019                Gas           Gov. Aggregation   VEDO         4016790092175306            Gas           Gov. Aggregation
COH             112289740037                Gas           Gov. Aggregation   VEDO         4018168612526867            Gas           Gov. Aggregation
COH             112127790020                Gas           Gov. Aggregation   VEDO         4020022922195353            Gas           Gov. Aggregation
COH             203909320039                Gas           Gov. Aggregation   VEDO         4004705642484126            Gas           Gov. Aggregation
COH             196421910020                Gas           Gov. Aggregation   VEDO         4019262552163038            Gas           Gov. Aggregation
COH             205138760012                Gas           Gov. Aggregation   VEDO         4004037872404793            Gas           Gov. Aggregation
COH             177679100046                Gas           Gov. Aggregation   VEDO         4003913102391313            Gas           Gov. Aggregation
COH             205573650013                Gas           Gov. Aggregation   VEDO         4015073582142874            Gas           Gov. Aggregation
COH             202120560014                Gas           Gov. Aggregation   VEDO         4001421482139498            Gas           Gov. Aggregation
COH             151934250034                Gas           Gov. Aggregation   VEDO         4015561142522615            Gas           Gov. Aggregation
COH             200373180020                Gas           Gov. Aggregation   VEDO         4003438662122000            Gas           Gov. Aggregation
COH             189765300029                Gas           Gov. Aggregation   VEDO         4019284812345186            Gas           Gov. Aggregation
COH             205932580016                Gas           Gov. Aggregation   VEDO         4016712112158825            Gas           Gov. Aggregation
COH             167932030054                Gas           Gov. Aggregation   VEDO         4017583652285765            Gas           Gov. Aggregation
COH             205917780016                Gas           Gov. Aggregation   VEDO         4001662132405487            Gas           Gov. Aggregation
COH             175339440029                Gas           Gov. Aggregation   VEDO         4001855702312779            Gas           Gov. Aggregation
COH             190075260037                Gas           Gov. Aggregation   VEDO         4020169922218284            Gas           Gov. Aggregation
COH             204992470014                Gas           Gov. Aggregation   VEDO         4017795832188283            Gas           Gov. Aggregation
COH             202551550013                Gas           Gov. Aggregation   VEDO         4020212692103159            Gas           Gov. Aggregation
COH             203607910017                Gas           Gov. Aggregation   VEDO         4018586292148056            Gas           Gov. Aggregation
COH             112306410038                Gas           Gov. Aggregation   VEDO         4019031742306061            Gas           Gov. Aggregation
COH             112259200024                Gas           Gov. Aggregation   VEDO         4021022982254568            Gas           Gov. Aggregation
COH             112314200035                Gas           Gov. Aggregation   VEDO         4019260682172465            Gas           Gov. Aggregation
COH             204662520012                Gas           Gov. Aggregation   VEDO         4020313652145083            Gas           Gov. Aggregation
COH             205302400018                Gas           Gov. Aggregation   VEDO         4003902232390106            Gas           Gov. Aggregation
COH             202346390012                Gas           Gov. Aggregation   VEDO         4015317062213994            Gas           Gov. Aggregation
COH             202843020015                Gas           Gov. Aggregation   VEDO         4016728942353804            Gas           Gov. Aggregation
COH             113528990045                Gas           Gov. Aggregation   VEDO         4019232862185810            Gas           Gov. Aggregation
COH             142285800072                Gas           Gov. Aggregation   VEDO         4003649022363015            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             140689130060                Gas           Gov. Aggregation   VEDO         4019767082451971            Gas           Gov. Aggregation
COH             203219090013                Gas           Gov. Aggregation   VEDO         4003730792235152            Gas           Gov. Aggregation
COH             203636450013                Gas           Gov. Aggregation   VEDO         4002503622233011            Gas           Gov. Aggregation
COH             112259940029                Gas           Gov. Aggregation   VEDO         4019814462483764            Gas           Gov. Aggregation
COH             112447230038                Gas           Gov. Aggregation   VEDO         4019376802355319            Gas           Gov. Aggregation
COH             175754300028                Gas           Gov. Aggregation   VEDO         4017747202119376            Gas           Gov. Aggregation
COH             202376610012                Gas           Gov. Aggregation   VEDO         4004190822421484            Gas           Gov. Aggregation
COH             202305590016                Gas           Gov. Aggregation   VEDO         4001009542446077            Gas           Gov. Aggregation
COH             162905450049                Gas           Gov. Aggregation   VEDO         4019734382342936            Gas           Gov. Aggregation
COH             202499020016                Gas           Gov. Aggregation   VEDO         4003680542366342            Gas           Gov. Aggregation
COH             192921060023                Gas           Gov. Aggregation   VEDO         4019849332275747            Gas           Gov. Aggregation
COH             203592590018                Gas           Gov. Aggregation   VEDO         4004434192502896            Gas           Gov. Aggregation
COH             112285690018                Gas           Gov. Aggregation   VEDO         4019266392482164            Gas           Gov. Aggregation
COH             171303280031                Gas           Gov. Aggregation   VEDO         4018601492314131            Gas           Gov. Aggregation
COH             203999540016                Gas           Gov. Aggregation   VEDO         4004249412427867            Gas           Gov. Aggregation
COH             129978780066                Gas           Gov. Aggregation   VEDO         4018693452480581            Gas           Gov. Aggregation
COH             175702490028                Gas           Gov. Aggregation   VEDO         4018200252458736            Gas           Gov. Aggregation
COH             202979120017                Gas           Gov. Aggregation   VEDO         4001654712161726            Gas           Gov. Aggregation
COH             202029820013                Gas           Gov. Aggregation   VEDO         4004137462208971            Gas           Gov. Aggregation
COH             151267650062                Gas           Gov. Aggregation   VEDO         4002563912251382            Gas           Gov. Aggregation
COH             203603070012                Gas           Gov. Aggregation   VEDO         4002070442403085            Gas           Gov. Aggregation
COH             204045750012                Gas           Gov. Aggregation   VEDO         4003930832393270            Gas           Gov. Aggregation
COH             204508460020                Gas           Gov. Aggregation   VEDO         4005017082512583            Gas           Gov. Aggregation
COH             204741380014                Gas           Gov. Aggregation   VEDO         4015963802119115            Gas           Gov. Aggregation
COH             205079900018                Gas           Gov. Aggregation   VEDO         4019278312349849            Gas           Gov. Aggregation
COH             205253110032                Gas           Gov. Aggregation   VEDO         4001383872438533            Gas           Gov. Aggregation
COH             145652850034                Gas           Gov. Aggregation   VEDO         4003620682107057            Gas           Gov. Aggregation
COH             186869790066                Gas           Gov. Aggregation   VEDO         4017389212248699            Gas           Gov. Aggregation
COH             189318730044                Gas           Gov. Aggregation   VEDO         4018954152172849            Gas           Gov. Aggregation
COH             191642110034                Gas           Gov. Aggregation   VEDO         4019811322332992            Gas           Gov. Aggregation
COH             194793440024                Gas           Gov. Aggregation   VEDO         4021023342133759            Gas           Gov. Aggregation
COH             197766060028                Gas           Gov. Aggregation   VEDO         4020194092458677            Gas           Gov. Aggregation
COH             203406210010                Gas           Gov. Aggregation   VEDO         4017084682463456            Gas           Gov. Aggregation
COH             205573610011                Gas           Gov. Aggregation   VEDO         4001293372127616            Gas           Gov. Aggregation
COH             201390200073                Gas           Gov. Aggregation   VEDO         4015027212371199            Gas           Gov. Aggregation
COH             201390200082                Gas           Gov. Aggregation   VEDO         4019817122242745            Gas           Gov. Aggregation
COH             202001890017                Gas           Gov. Aggregation   VEDO         4016794502101843            Gas           Gov. Aggregation
COH             175346610037                Gas           Gov. Aggregation   VEDO         4002865282484882            Gas           Gov. Aggregation
COH             194875370025                Gas           Gov. Aggregation   VEDO         4003079262464968            Gas           Gov. Aggregation
COH             196778940029                Gas           Gov. Aggregation   VEDO         4015234822380624            Gas           Gov. Aggregation
COH             204880700012                Gas           Gov. Aggregation   VEDO         4002770042133849            Gas           Gov. Aggregation
COH             201009700039                Gas           Gov. Aggregation   VEDO         4017173862378720            Gas           Gov. Aggregation
COH             203252710012                Gas           Gov. Aggregation   VEDO         4020791372270771            Gas           Gov. Aggregation
COH             203411630011                Gas           Gov. Aggregation   VEDO         4018090302100712            Gas           Gov. Aggregation
COH             204673270012                Gas           Gov. Aggregation   VEDO         4015871422148334            Gas           Gov. Aggregation
COH             195291960037                Gas           Gov. Aggregation   VEDO         4020293122364190            Gas           Gov. Aggregation
COH             159372180042                Gas           Gov. Aggregation   VEDO         4002709522195121            Gas           Gov. Aggregation
COH             202384910012                Gas           Gov. Aggregation   VEDO         4020057612278529            Gas           Gov. Aggregation
COH             196636630024                Gas           Gov. Aggregation   VEDO         4004484452120867            Gas           Gov. Aggregation
COH             197923180047                Gas           Gov. Aggregation   VEDO         4016462202515842            Gas           Gov. Aggregation
COH             191632830025                Gas           Gov. Aggregation   VEDO         4001895302184967            Gas           Gov. Aggregation
COH             174141540091                Gas           Gov. Aggregation   VEDO         4003710972369510            Gas           Gov. Aggregation
COH             202689100016                Gas           Gov. Aggregation   VEDO         4001543312151067            Gas           Gov. Aggregation
COH             204866680017                Gas           Gov. Aggregation   VEDO         4019421122321450            Gas           Gov. Aggregation
COH             204153710011                Gas           Gov. Aggregation   VEDO         4019969192220657            Gas           Gov. Aggregation
COH             201695150023                Gas           Gov. Aggregation   VEDO         4018235832341458            Gas           Gov. Aggregation
COH             198294360025                Gas           Gov. Aggregation   VEDO         4015896922145236            Gas           Gov. Aggregation
COH             201630350036                Gas           Gov. Aggregation   VEDO         4019970112471358            Gas           Gov. Aggregation
COH             202559440010                Gas           Gov. Aggregation   VEDO         4020914582492451            Gas           Gov. Aggregation
COH             205617360010                Gas           Gov. Aggregation   VEDO         4019982102323595            Gas           Gov. Aggregation
COH             148929560026                Gas           Gov. Aggregation   VEDO         4020787152501401            Gas           Gov. Aggregation
COH             202049470015                Gas           Gov. Aggregation   VEDO         4004505852455992            Gas           Gov. Aggregation
COH             153270090098                Gas           Gov. Aggregation   VEDO         4018788532239334            Gas           Gov. Aggregation
COH             204290930015                Gas           Gov. Aggregation   VEDO         4020261742528438            Gas           Gov. Aggregation
COH             163130090038                Gas           Gov. Aggregation   VEDO         4003612312505706            Gas           Gov. Aggregation
COH             171901680093                Gas           Gov. Aggregation   VEDO         4002652492260146            Gas           Gov. Aggregation
COH             129615990079                Gas           Gov. Aggregation   VEDO         4002839732382674            Gas           Gov. Aggregation
COH             203398890035                Gas           Gov. Aggregation   VEDO         4016086822193610            Gas           Gov. Aggregation
COH             205123660014                Gas           Gov. Aggregation   VEDO         4004800602488481            Gas           Gov. Aggregation
COH             205230220019                Gas           Gov. Aggregation   VEDO         4004659882216514            Gas           Gov. Aggregation
COH             112982820058                Gas           Gov. Aggregation   VEDO         4020328152136009            Gas           Gov. Aggregation
COH             200647030020                Gas           Gov. Aggregation   VEDO         4018235802168796            Gas           Gov. Aggregation
VEDO            4002110342234327            Gas           Gov. Aggregation   VEDO         4019775912281817            Gas           Gov. Aggregation
COH             114902880025                Gas           Gov. Aggregation   VEDO         4020097122324592            Gas           Gov. Aggregation
COH             115016620027                Gas           Gov. Aggregation   VEDO         4004306902434141            Gas           Gov. Aggregation
COH             203895120014                Gas           Gov. Aggregation   VEDO         4001570982237057            Gas           Gov. Aggregation
COH             160674530018                Gas           Gov. Aggregation   VEDO         4020857022146236            Gas           Gov. Aggregation
DEO             9180010309832               Gas           Gov. Aggregation   VEDO         4020124392350243            Gas           Gov. Aggregation
COH             143295410027                Gas           Gov. Aggregation   VEDO         4004988252311330            Gas           Gov. Aggregation
COH             200254430010                Gas           Gov. Aggregation   VEDO         4002937602176510            Gas           Gov. Aggregation
COH             116846680034                Gas           Gov. Aggregation   VEDO         4015896612498861            Gas           Gov. Aggregation
COH             131459750022                Gas           Gov. Aggregation   VEDO         4018899982124544            Gas           Gov. Aggregation
COH             110567230027                Gas           Gov. Aggregation   VEDO         4019375422208678            Gas           Gov. Aggregation
COH             110568320017                Gas           Gov. Aggregation   VEDO         4016296952497220            Gas           Gov. Aggregation
COH             110568580013                Gas           Gov. Aggregation   VEDO         4021008102438998            Gas           Gov. Aggregation
COH             110599490017                Gas           Gov. Aggregation   VEDO         4003833782382719            Gas           Gov. Aggregation
COH             134266740011                Gas           Gov. Aggregation   VEDO         4019128542519426            Gas           Gov. Aggregation
COH             144768580019                Gas           Gov. Aggregation   VEDO         4015056382160960            Gas           Gov. Aggregation
COH             145642920049                Gas           Gov. Aggregation   VEDO         4003088282304315            Gas           Gov. Aggregation
COH             157269690135                Gas           Gov. Aggregation   VEDO         4015739492393843            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             165159790020                Gas           Gov. Aggregation   VEDO         4016677372324442            Gas           Gov. Aggregation
COH             190560320035                Gas           Gov. Aggregation   VEDO         4003892822389088            Gas           Gov. Aggregation
COH             191424610022                Gas           Gov. Aggregation   VEDO         4015305332353924            Gas           Gov. Aggregation
COH             193660560012                Gas           Gov. Aggregation   VEDO         4019116832530170            Gas           Gov. Aggregation
COH             194070930103                Gas           Gov. Aggregation   VEDO         4019116832392360            Gas           Gov. Aggregation
COH             194956550025                Gas           Gov. Aggregation   VEDO         4004798072635268            Gas           Gov. Aggregation
COH             195766750016                Gas           Gov. Aggregation   VEDO         4018854952285015            Gas           Gov. Aggregation
COH             199846610011                Gas           Gov. Aggregation   VEDO         4003273542164044            Gas           Gov. Aggregation
COH             199881450011                Gas           Gov. Aggregation   VEDO         4001409162418081            Gas           Gov. Aggregation
COH             200564360018                Gas           Gov. Aggregation   VEDO         4017074112152257            Gas           Gov. Aggregation
COH             202181400019                Gas           Gov. Aggregation   VEDO         4020869852389324            Gas           Gov. Aggregation
COH             202380500016                Gas           Gov. Aggregation   VEDO         4002120492309915            Gas           Gov. Aggregation
COH             202712730013                Gas           Gov. Aggregation   VEDO         4003007262398704            Gas           Gov. Aggregation
COH             205550000017                Gas           Gov. Aggregation   VEDO         4020239422229512            Gas           Gov. Aggregation
COH             205817420013                Gas           Gov. Aggregation   VEDO         4001231222121787            Gas           Gov. Aggregation
COH             206096300017                Gas           Gov. Aggregation   VEDO         4001532012149946            Gas           Gov. Aggregation
COH             137388790010                Gas           Gov. Aggregation   VEDO         4018992562482182            Gas           Gov. Aggregation
DEO             2180010487020               Gas           Gov. Aggregation   VEDO         4019997962337935            Gas           Gov. Aggregation
DEO             8180010711173               Gas           Gov. Aggregation   VEDO         4018857502322123            Gas           Gov. Aggregation
VEDO            4002083242584527            Gas           Gov. Aggregation   VEDO         4001828132396621            Gas           Gov. Aggregation
VEDO            4015107412465962            Gas           Gov. Aggregation   VEDO         4003208742676412            Gas           Gov. Aggregation
VEDO            4018700792150690            Gas           Gov. Aggregation   VEDO         4001000372676410            Gas           Gov. Aggregation
VEDO            4001631792330792            Gas           Gov. Aggregation   VEDO         4017274092676411            Gas           Gov. Aggregation
VEDO            4020004332525058            Gas           Gov. Aggregation   VEDO         4015281832647081            Gas           Gov. Aggregation
VEDO            4017211502108136            Gas           Gov. Aggregation   VEDO         4019478342647080            Gas           Gov. Aggregation
VEDO            4001368182382803            Gas           Gov. Aggregation   VEDO         4020069902626686            Gas           Gov. Aggregation
VEDO            4002080892221277            Gas           Gov. Aggregation   VEDO         4020221132673559            Gas           Gov. Aggregation
VEDO            4020239162626063            Gas           Gov. Aggregation   VEDO         4020221162673560            Gas           Gov. Aggregation
VEDO            4003366582527322            Gas           Gov. Aggregation   VEDO         4019795492156839            Gas           Gov. Aggregation
VEDO            4015944842431483            Gas           Gov. Aggregation   VEDO         4018558372226667            Gas           Gov. Aggregation
VEDO            4020158872503646            Gas           Gov. Aggregation   VEDO         4003257842391399            Gas           Gov. Aggregation
VEDO            4017246622178851            Gas           Gov. Aggregation   VEDO         4016111612302412            Gas           Gov. Aggregation
VEDO            4016406752151969            Gas           Gov. Aggregation   VEDO         4019262062509192            Gas           Gov. Aggregation
VEDO            4019254132202743            Gas           Gov. Aggregation   VEDO         4020866182509983            Gas           Gov. Aggregation
VEDO            4002074552346495            Gas           Gov. Aggregation   VEDO         4015212912403496            Gas           Gov. Aggregation
VEDO            4015264032536595            Gas           Gov. Aggregation   VEDO         4003013802296717            Gas           Gov. Aggregation
VEDO            4018391352490179            Gas           Gov. Aggregation   VEDO         4015172242503701            Gas           Gov. Aggregation
VEDO            4003132142308892            Gas           Gov. Aggregation   VEDO         4019131242165560            Gas           Gov. Aggregation
VEDO            4019934912393736            Gas           Gov. Aggregation   VEDO         4003524322349753            Gas           Gov. Aggregation
VEDO            4017647952225384            Gas           Gov. Aggregation   VEDO         4004852042494240            Gas           Gov. Aggregation
VEDO            4003389802509803            Gas           Gov. Aggregation   VEDO         4020132152255564            Gas           Gov. Aggregation
VEDO            4018457032197509            Gas           Gov. Aggregation   VEDO         4015995312467492            Gas           Gov. Aggregation
VEDO            4001524902287855            Gas           Gov. Aggregation   VEDO         4020914862241162            Gas           Gov. Aggregation
VEDO            4004333462437078            Gas           Gov. Aggregation   VEDO         4021026572163827            Gas           Gov. Aggregation
VEDO            4018397962494101            Gas           Gov. Aggregation   VEDO         4019986932627683            Gas           Gov. Aggregation
VEDO            4017592842183949            Gas           Gov. Aggregation   VEDO         4019986932627684            Gas           Gov. Aggregation
VEDO            4018342322525465            Gas           Gov. Aggregation   VEDO         4020030122627678            Gas           Gov. Aggregation
VEDO            4004856192494691            Gas           Gov. Aggregation   VEDO         4019874742141605            Gas           Gov. Aggregation
VEDO            4019508872102909            Gas           Gov. Aggregation   VEDO         4018492982100959            Gas           Gov. Aggregation
VEDO            4001911712186598            Gas           Gov. Aggregation   VEDO         4020332212134890            Gas           Gov. Aggregation
VEDO            4001160392164808            Gas           Gov. Aggregation   VEDO         4003115062526713            Gas           Gov. Aggregation
VEDO            4017893582539938            Gas           Gov. Aggregation   VEDO         4020849482118125            Gas           Gov. Aggregation
VEDO            4017330232112598            Gas           Gov. Aggregation   VEDO         4003951952395507            Gas           Gov. Aggregation
VEDO            4001741662169958            Gas           Gov. Aggregation   VEDO         4019932102349749            Gas           Gov. Aggregation
VEDO            4001015462377296            Gas           Gov. Aggregation   VEDO         4017440802495808            Gas           Gov. Aggregation
VEDO            4015488922505493            Gas           Gov. Aggregation   VEDO         4018201682313136            Gas           Gov. Aggregation
VEDO            4018845582155218            Gas           Gov. Aggregation   VEDO         4003376222334278            Gas           Gov. Aggregation
VEDO            4019293212593266            Gas           Gov. Aggregation   VEDO         4020240572592148            Gas           Gov. Aggregation
VEDO            4018779292610755            Gas           Gov. Aggregation   VEDO         4020304152592141            Gas           Gov. Aggregation
VEDO            4020207052674215            Gas           Gov. Aggregation   VEDO         4020171642592142            Gas           Gov. Aggregation
VEDO            4002308782591038            Gas           Gov. Aggregation   VEDO         4018374622592202            Gas           Gov. Aggregation
VEDO            4003346292299063            Gas           Gov. Aggregation   VEDO         4020048712592209            Gas           Gov. Aggregation
VEDO            4002686852263550            Gas           Gov. Aggregation   VEDO         4018903832453522            Gas           Gov. Aggregation
VEDO            4002752992400700            Gas           Gov. Aggregation   VEDO         4018596552635780            Gas           Gov. Aggregation
VEDO            4002417852461635            Gas           Gov. Aggregation   VEDO         4001684922272419            Gas           Gov. Aggregation
VEDO            4021012862349026            Gas           Gov. Aggregation   VEDO         4001776212173335            Gas           Gov. Aggregation
VEDO            4020053272472711            Gas           Gov. Aggregation   VEDO         4001695132479286            Gas           Gov. Aggregation
VEDO            4020792152323557            Gas           Gov. Aggregation   VEDO         4016280672343304            Gas           Gov. Aggregation
VEDO            4020856652451088            Gas           Gov. Aggregation   VEDO         4003158732210418            Gas           Gov. Aggregation
VEDO            4018664322292346            Gas           Gov. Aggregation   VEDO         4016622872313304            Gas           Gov. Aggregation
VEDO            4020140562219800            Gas           Gov. Aggregation   VEDO         4016369962188032            Gas           Gov. Aggregation
VEDO            4020897082407390            Gas           Gov. Aggregation   VEDO         4015444332414282            Gas           Gov. Aggregation
VEDO            4016227862383467            Gas           Gov. Aggregation   VEDO         4019908532470956            Gas           Gov. Aggregation
VEDO            4017903262509513            Gas           Gov. Aggregation   VEDO         4019024422228455            Gas           Gov. Aggregation
VEDO            4019934252281361            Gas           Gov. Aggregation   VEDO         4017704572208350            Gas           Gov. Aggregation
VEDO            4020299612523210            Gas           Gov. Aggregation   VEDO         4018240992431592            Gas           Gov. Aggregation
VEDO            4015330752161222            Gas           Gov. Aggregation   VEDO         4015407652135685            Gas           Gov. Aggregation
VEDO            4003053842479959            Gas           Gov. Aggregation   VEDO         4016174892157850            Gas           Gov. Aggregation
VEDO            4019522692368189            Gas           Gov. Aggregation   VEDO         4019371872510714            Gas           Gov. Aggregation
VEDO            4018071432222935            Gas           Gov. Aggregation   VEDO         4021016402360980            Gas           Gov. Aggregation
VEDO            4020904582300086            Gas           Gov. Aggregation   VEDO         4015007112380399            Gas           Gov. Aggregation
VEDO            4015518232404081            Gas           Gov. Aggregation   VEDO         4002054982361079            Gas           Gov. Aggregation
VEDO            4016696712353385            Gas           Gov. Aggregation   VEDO         4017869782376251            Gas           Gov. Aggregation
VEDO            4020140162194353            Gas           Gov. Aggregation   VEDO         4003303852326686            Gas           Gov. Aggregation
VEDO            4016558852216767            Gas           Gov. Aggregation   VEDO         4018999382168065            Gas           Gov. Aggregation
VEDO            4017899982244163            Gas           Gov. Aggregation   VEDO         4019865702235521            Gas           Gov. Aggregation
VEDO            4018910742413101            Gas           Gov. Aggregation   VEDO         4019428952598458            Gas           Gov. Aggregation
VEDO            4016715262401282            Gas           Gov. Aggregation   VEDO         4020920952598470            Gas           Gov. Aggregation
VEDO            4001834242475788            Gas           Gov. Aggregation   VEDO         4020947032587287            Gas           Gov. Aggregation
VEDO            4020273872250854            Gas           Gov. Aggregation   VEDO         4015787262598477            Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
VEDO         4002758892271489            Gas           Gov. Aggregation   VEDO         4017150302598511            Gas           Gov. Aggregation
VEDO         4020889302300727            Gas           Gov. Aggregation   VEDO         4018690742598475            Gas           Gov. Aggregation
VEDO         4020240732255707            Gas           Gov. Aggregation   VEDO         4001961082290175            Gas           Gov. Aggregation
VEDO         4020926452287874            Gas           Gov. Aggregation   VEDO         4004490462454240            Gas           Gov. Aggregation
VEDO         4001192952118290            Gas           Gov. Aggregation   VEDO         4002677162262613            Gas           Gov. Aggregation
VEDO         4018417822243656            Gas           Gov. Aggregation   VEDO         4020263992460515            Gas           Gov. Aggregation
VEDO         4017554722504400            Gas           Gov. Aggregation   VEDO         4018524892162590            Gas           Gov. Aggregation
VEDO         4002684462413529            Gas           Gov. Aggregation   VEDO         4020841472411946            Gas           Gov. Aggregation
VEDO         4020304502476224            Gas           Gov. Aggregation   VEDO         4004881682463699            Gas           Gov. Aggregation
VEDO         4002120512207185            Gas           Gov. Aggregation   VEDO         4019997362139763            Gas           Gov. Aggregation
VEDO         4002120512288701            Gas           Gov. Aggregation   VEDO         4019500632367910            Gas           Gov. Aggregation
VEDO         4002522312264563            Gas           Gov. Aggregation   VEDO         4017557992453999            Gas           Gov. Aggregation
VEDO         4001311792310159            Gas           Gov. Aggregation   VEDO         4002887602283723            Gas           Gov. Aggregation
VEDO         4020858952225826            Gas           Gov. Aggregation   VEDO         4002741652269035            Gas           Gov. Aggregation
VEDO         4020858952302581            Gas           Gov. Aggregation   VEDO         4015204442200708            Gas           Gov. Aggregation
VEDO         4018840712301463            Gas           Gov. Aggregation   VEDO         4020036832381272            Gas           Gov. Aggregation
VEDO         4019806452511881            Gas           Gov. Aggregation   VEDO         4015470612230118            Gas           Gov. Aggregation
VEDO         4001526702432074            Gas           Gov. Aggregation   VEDO         4019220472175332            Gas           Gov. Aggregation
VEDO         4004300842205469            Gas           Gov. Aggregation   VEDO         4019355312165526            Gas           Gov. Aggregation
VEDO         4002754582202297            Gas           Gov. Aggregation   VEDO         4018928952459637            Gas           Gov. Aggregation
VEDO         4001823222177916            Gas           Gov. Aggregation   VEDO         4001987622423719            Gas           Gov. Aggregation
VEDO         4002493692198014            Gas           Gov. Aggregation   VEDO         4018732272414288            Gas           Gov. Aggregation
VEDO         4002826062115924            Gas           Gov. Aggregation   VEDO         4017599452268578            Gas           Gov. Aggregation
VEDO         4004798072488220            Gas           Gov. Aggregation   VEDO         4020837582470932            Gas           Gov. Aggregation
VEDO         4001752822171033            Gas           Gov. Aggregation   VEDO         4018742532177949            Gas           Gov. Aggregation
VEDO         4001173222397288            Gas           Gov. Aggregation   VEDO         4020244602380754            Gas           Gov. Aggregation
VEDO         4019455112146330            Gas           Gov. Aggregation   VEDO         4018335842279220            Gas           Gov. Aggregation
VEDO         4016991092162613            Gas           Gov. Aggregation   VEDO         4003548502617647            Gas           Gov. Aggregation
VEDO         4001586362517834            Gas           Gov. Aggregation   VEDO         4018129712587231            Gas           Gov. Aggregation
VEDO         4018702722516655            Gas           Gov. Aggregation   VEDO         4020311422625612            Gas           Gov. Aggregation
VEDO         4003532482285663            Gas           Gov. Aggregation   VEDO         4019510212626468            Gas           Gov. Aggregation
VEDO         4015513682352669            Gas           Gov. Aggregation   VEDO         4020016722626424            Gas           Gov. Aggregation
VEDO         4019474142330590            Gas           Gov. Aggregation   VEDO         4020202192626427            Gas           Gov. Aggregation
VEDO         4002129682290924            Gas           Gov. Aggregation   VEDO         4017963582626437            Gas           Gov. Aggregation
VEDO         4020013982592640            Gas           Gov. Aggregation   VEDO         4017723242626443            Gas           Gov. Aggregation
VEDO         4003154512424310            Gas           Gov. Aggregation   VEDO         4020903102626445            Gas           Gov. Aggregation
VEDO         4017616832172248            Gas           Gov. Aggregation   VEDO         4017985162587259            Gas           Gov. Aggregation
VEDO         4004467342451693            Gas           Gov. Aggregation   VEDO         4018851212584161            Gas           Gov. Aggregation
VEDO         4018401902301724            Gas           Gov. Aggregation   VEDO         4019025452587252            Gas           Gov. Aggregation
VEDO         4016975292216498            Gas           Gov. Aggregation   VEDO         4019137712587251            Gas           Gov. Aggregation
VEDO         4017962962312369            Gas           Gov. Aggregation   VEDO         4018370962598531            Gas           Gov. Aggregation
VEDO         4017853152446315            Gas           Gov. Aggregation   VEDO         4002605692611353            Gas           Gov. Aggregation
VEDO         4003121762307798            Gas           Gov. Aggregation   VEDO         4004829322611347            Gas           Gov. Aggregation
VEDO         4016075872320374            Gas           Gov. Aggregation   VEDO         4019507672611363            Gas           Gov. Aggregation
VEDO         4020283202407832            Gas           Gov. Aggregation   VEDO         4019142502611366            Gas           Gov. Aggregation
VEDO         4017119662429478            Gas           Gov. Aggregation   VEDO         4020206722382337            Gas           Gov. Aggregation
VEDO         4018491172343356            Gas           Gov. Aggregation   VEDO         4001210072119843            Gas           Gov. Aggregation
VEDO         4016358262356253            Gas           Gov. Aggregation   VEDO         4017282262162933            Gas           Gov. Aggregation
VEDO         4016784442203786            Gas           Gov. Aggregation   VEDO         4019868032153370            Gas           Gov. Aggregation
VEDO         4018911782518552            Gas           Gov. Aggregation   VEDO         4018201282415338            Gas           Gov. Aggregation
VEDO         4016368922326139            Gas           Gov. Aggregation   VEDO         4001398282137365            Gas           Gov. Aggregation
VEDO         4020865162245200            Gas           Gov. Aggregation   VEDO         4019195932178976            Gas           Gov. Aggregation
VEDO         4021021982120082            Gas           Gov. Aggregation   VEDO         4020903702406297            Gas           Gov. Aggregation
VEDO         4016525492515089            Gas           Gov. Aggregation   VEDO         4018803152227492            Gas           Gov. Aggregation
VEDO         4003409742337834            Gas           Gov. Aggregation   VEDO         4002238112218947            Gas           Gov. Aggregation
VEDO         4001037152419401            Gas           Gov. Aggregation   VEDO         4019445462293396            Gas           Gov. Aggregation
VEDO         4020932022329667            Gas           Gov. Aggregation   VEDO         4016449732227948            Gas           Gov. Aggregation
VEDO         4019042652244083            Gas           Gov. Aggregation   VEDO         4001349432253299            Gas           Gov. Aggregation
VEDO         4017130272182615            Gas           Gov. Aggregation   VEDO         4002205682215682            Gas           Gov. Aggregation
VEDO         4016587062447814            Gas           Gov. Aggregation   VEDO         4002258622220953            Gas           Gov. Aggregation
VEDO         4020273582274024            Gas           Gov. Aggregation   VEDO         4018053702118126            Gas           Gov. Aggregation
VEDO         4017300992117093            Gas           Gov. Aggregation   VEDO         4018279912203767            Gas           Gov. Aggregation
VEDO         4020048752308366            Gas           Gov. Aggregation   VEDO         4016577162364043            Gas           Gov. Aggregation
VEDO         4018706392350377            Gas           Gov. Aggregation   VEDO         4020851692472817            Gas           Gov. Aggregation
VEDO         4017997382232503            Gas           Gov. Aggregation   VEDO         4020895902451079            Gas           Gov. Aggregation
VEDO         4016181932139822            Gas           Gov. Aggregation   VEDO         4020080452640591            Gas           Gov. Aggregation
VEDO         4003082852303764            Gas           Gov. Aggregation   VEDO         4001116262386199            Gas           Gov. Aggregation
VEDO         4005112282198015            Gas           Gov. Aggregation   VEDO         4019197952376539            Gas           Gov. Aggregation
VEDO         4001295792242239            Gas           Gov. Aggregation   VEDO         4001338192563653            Gas           Gov. Aggregation
VEDO         4002627762257685            Gas           Gov. Aggregation   VEDO         4001879512322951            Gas           Gov. Aggregation
VEDO         4020295342389245            Gas           Gov. Aggregation   VEDO         4004158762396424            Gas           Gov. Aggregation
VEDO         4020913242375155            Gas           Gov. Aggregation   VEDO         4003746842630454            Gas           Gov. Aggregation
VEDO         4017222192279325            Gas           Gov. Aggregation   VEDO         4018236272113268            Gas           Gov. Aggregation
VEDO         4016454652467293            Gas           Gov. Aggregation   VEDO         4020848592365500            Gas           Gov. Aggregation
VEDO         4002677972100632            Gas           Gov. Aggregation   VEDO         4018596652417637            Gas           Gov. Aggregation
VEDO         4001599812224250            Gas           Gov. Aggregation   VEDO         4002938742288990            Gas           Gov. Aggregation
VEDO         4017085252277818            Gas           Gov. Aggregation   VEDO         4015798612359636            Gas           Gov. Aggregation
VEDO         4002782932273226            Gas           Gov. Aggregation   VEDO         4019496032360651            Gas           Gov. Aggregation
VEDO         4016719832160819            Gas           Gov. Aggregation   VEDO         4002026212249443            Gas           Gov. Aggregation
VEDO         4017465512111418            Gas           Gov. Aggregation   VEDO         4018562482438987            Gas           Gov. Aggregation
VEDO         4002845312630085            Gas           Gov. Aggregation   VEDO         4001829672178564            Gas           Gov. Aggregation
VEDO         4019885622473509            Gas           Gov. Aggregation   VEDO         4020290552127688            Gas           Gov. Aggregation
VEDO         4018888912317614            Gas           Gov. Aggregation   VEDO         4004834722492283            Gas           Gov. Aggregation
VEDO         4019390462323423            Gas           Gov. Aggregation   VEDO         4019993872503127            Gas           Gov. Aggregation
VEDO         4002035622198835            Gas           Gov. Aggregation   VEDO         4015274542315044            Gas           Gov. Aggregation
VEDO         4016459062112254            Gas           Gov. Aggregation   VEDO         4002093822204639            Gas           Gov. Aggregation
VEDO         4019406422399142            Gas           Gov. Aggregation   VEDO         4016661532330839            Gas           Gov. Aggregation
VEDO         4019418722435979            Gas           Gov. Aggregation   VEDO         4017337112505360            Gas           Gov. Aggregation
VEDO         4018959852504774            Gas           Gov. Aggregation   VEDO         4020219502445331            Gas           Gov. Aggregation
VEDO         4002815642276524            Gas           Gov. Aggregation   VEDO         4015355672150547            Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4001053772383980            Gas           Gov. Aggregation   VEDO            4019298312132765            Gas           Gov. Aggregation
VEDO         4018107242102751            Gas           Gov. Aggregation   VEDO            4003947112395000            Gas           Gov. Aggregation
VEDO         4015353232122775            Gas           Gov. Aggregation   VEDO            4004105412420139            Gas           Gov. Aggregation
VEDO         4018520992229885            Gas           Gov. Aggregation   VEDO            4018936132281928            Gas           Gov. Aggregation
VEDO         4020115662471402            Gas           Gov. Aggregation   VEDO            4018313252152989            Gas           Gov. Aggregation
VEDO         4001718382167680            Gas           Gov. Aggregation   VEDO            4003955412395880            Gas           Gov. Aggregation
VEDO         4004586312464965            Gas           Gov. Aggregation   VEDO            4015873502310616            Gas           Gov. Aggregation
VEDO         4017435152193421            Gas           Gov. Aggregation   VEDO            4004638312514830            Gas           Gov. Aggregation
VEDO         4004827062491410            Gas           Gov. Aggregation   VEDO            4020938642104837            Gas           Gov. Aggregation
VEDO         4020876122107319            Gas           Gov. Aggregation   VEDO            4019470882436934            Gas           Gov. Aggregation
VEDO         4001500942146871            Gas           Gov. Aggregation   VEDO            4004994122327380            Gas           Gov. Aggregation
VEDO         4020857102105744            Gas           Gov. Aggregation   VEDO            4016180052290044            Gas           Gov. Aggregation
VEDO         4004970092507314            Gas           Gov. Aggregation   VEDO            4019263922141736            Gas           Gov. Aggregation
VEDO         4019840462215107            Gas           Gov. Aggregation   VEDO            4017604882235358            Gas           Gov. Aggregation
VEDO         4017351112134044            Gas           Gov. Aggregation   VEDO            4003040102629888            Gas           Gov. Aggregation
VEDO         4019481162399030            Gas           Gov. Aggregation   VEDO            4004270652430146            Gas           Gov. Aggregation
VEDO         4015622562489972            Gas           Gov. Aggregation   VEDO            4020899862383900            Gas           Gov. Aggregation
VEDO         4004384602277218            Gas           Gov. Aggregation   VEDO            4015589802169659            Gas           Gov. Aggregation
VEDO         4004384602232867            Gas           Gov. Aggregation   VEDO            4019263892139645            Gas           Gov. Aggregation
VEDO         4001975422403944            Gas           Gov. Aggregation   COH             118020330026                Gas           Gov. Aggregation
VEDO         4017455282337538            Gas           Gov. Aggregation   COH             205718910010                Gas           Gov. Aggregation
VEDO         4002260282471473            Gas           Gov. Aggregation   COH             205963740017                Gas           Gov. Aggregation
VEDO         4015051562362660            Gas           Gov. Aggregation   COH             205983960019                Gas           Gov. Aggregation
VEDO         4019078602518799            Gas           Gov. Aggregation   COH             206001440017                Gas           Gov. Aggregation
VEDO         4004434002145393            Gas           Gov. Aggregation   COH             206197760017                Gas           Gov. Aggregation
VEDO         4003801712379265            Gas           Gov. Aggregation   COH             206333680014                Gas           Gov. Aggregation
VEDO         4001372612134979            Gas           Gov. Aggregation   VEDO            4020836902675800            Gas           Gov. Aggregation
VEDO         4005064892518068            Gas           Gov. Aggregation   VEDO            4020904252679662            Gas           Gov. Aggregation
VEDO         4016407822514413            Gas           Gov. Aggregation   VEDO            4002363522675923            Gas           Gov. Aggregation
VEDO         4003909422390902            Gas           Gov. Aggregation   VEDO            4016066932521652            Gas           Gov. Aggregation
VEDO         4003546322352063            Gas           Gov. Aggregation   VEDO            4003407362623350            Gas           Gov. Aggregation
VEDO         4020198032450541            Gas           Gov. Aggregation   VEDO            4020158082625366            Gas           Gov. Aggregation
VEDO         4019811472310641            Gas           Gov. Aggregation   VEDO            4020162822404061            Gas           Gov. Aggregation
VEDO         4017916312253217            Gas           Gov. Aggregation   VEDO            4018287292200548            Gas           Gov. Aggregation
VEDO         4015002902128145            Gas           Gov. Aggregation   VEDO            4019146332625363            Gas           Gov. Aggregation
VEDO         4020073232306247            Gas           Gov. Aggregation   VEDO            4020942982566392            Gas           Gov. Aggregation
VEDO         4004479422453016            Gas           Gov. Aggregation   VEDO            4021025492623383            Gas           Gov. Aggregation
VEDO         4020899632348129            Gas           Gov. Aggregation   VEDO            4004573802190251            Gas           Gov. Aggregation
VEDO         4018862522121233            Gas           Gov. Aggregation   VEDO            4015860592255840            Gas           Gov. Aggregation
VEDO         4002051682155401            Gas           Gov. Aggregation   VEDO            4020100322185752            Gas           Gov. Aggregation
VEDO         4004986702132591            Gas           Gov. Aggregation   VEDO            4021039292243701            Gas           Gov. Aggregation
VEDO         4004148962416866            Gas           Gov. Aggregation   VEDO            4003999592269456            Gas           Gov. Aggregation
VEDO         4020161392166420            Gas           Gov. Aggregation   VEDO            4017952422161540            Gas           Gov. Aggregation
VEDO         4018092332153711            Gas           Gov. Aggregation   VEDO            4021022742119202            Gas           Gov. Aggregation
VEDO         4017664242346518            Gas           Gov. Aggregation   VEDO            4020920202524961            Gas           Gov. Aggregation
VEDO         4019752212129724            Gas           Gov. Aggregation   VEDO            4021012652377332            Gas           Gov. Aggregation
VEDO         4002611242208267            Gas           Gov. Aggregation   VEDO            4021044282505132            Gas           Gov. Aggregation
VEDO         4018911662280312            Gas           Gov. Aggregation   VEDO            4002538222236092            Gas           Gov. Aggregation
VEDO         4017321742498064            Gas           Gov. Aggregation   VEDO            4020908992152695            Gas           Gov. Aggregation
VEDO         4017173272142733            Gas           Gov. Aggregation   VEDO            4020904672507136            Gas           Gov. Aggregation
VEDO         4015783912475723            Gas           Gov. Aggregation   VEDO            4020928212339794            Gas           Gov. Aggregation
VEDO         4003822492381488            Gas           Gov. Aggregation   VEDO            4004292282432611            Gas           Gov. Aggregation
VEDO         4001397882137341            Gas           Gov. Aggregation   VEDO            4016655652461447            Gas           Gov. Aggregation
VEDO         4020890062272330            Gas           Gov. Aggregation   VEDO            4002487682140459            Gas           Gov. Aggregation
VEDO         4017993982145678            Gas           Gov. Aggregation   VEDO            4016231312407834            Gas           Gov. Aggregation
VEDO         4001482812527473            Gas           Gov. Aggregation   VEDO            4020927562402672            Gas           Gov. Aggregation
VEDO         4020022892272120            Gas           Gov. Aggregation   VEDO            4021057632348876            Gas           Gov. Aggregation
VEDO         4003873172507402            Gas           Gov. Aggregation   VEDO            4021011552311910            Gas           Gov. Aggregation
VEDO         4003873172249490            Gas           Gov. Aggregation   VEDO            4001541622231324            Gas           Gov. Aggregation
VEDO         4001046912256616            Gas           Gov. Aggregation   VEDO            4019206932537703            Gas           Gov. Aggregation
VEDO         4018400012180365            Gas           Gov. Aggregation   VEDO            4021017512378218            Gas           Gov. Aggregation
VEDO         4019890222306976            Gas           Gov. Aggregation   VEDO            4003430692515500            Gas           Gov. Aggregation
VEDO         4004784272486741            Gas           Gov. Aggregation   VEDO            4020909582383946            Gas           Gov. Aggregation
VEDO         4019185292237678            Gas           Gov. Aggregation   VEDO            4005112282146541            Gas           Gov. Aggregation
VEDO         4001711842167045            Gas           Gov. Aggregation   VEDO            4020098872410352            Gas           Gov. Aggregation
VEDO         4019771002280841            Gas           Gov. Aggregation   VEDO            4015063082366599            Gas           Gov. Aggregation
VEDO         4015649042439877            Gas           Gov. Aggregation   VEDO            4020289522288520            Gas           Gov. Aggregation
VEDO         4015021612149963            Gas           Gov. Aggregation   VEDO            4004617892262187            Gas           Gov. Aggregation
VEDO         4017142782302841            Gas           Gov. Aggregation   COH             171088950010                Gas           Gov. Aggregation
VEDO         4002200922215203            Gas           Gov. Aggregation   COH             154535290315                Gas           Gov. Aggregation
VEDO         4004514712456971            Gas           Gov. Aggregation   COH             128793650039                Gas           Gov. Aggregation
VEDO         4003306922327014            Gas           Gov. Aggregation   COH             205701560019                Gas           Gov. Aggregation
VEDO         4003387972335559            Gas           Gov. Aggregation   COH             206040050017                Gas           Gov. Aggregation
VEDO         4004171012419343            Gas           Gov. Aggregation   COH             205335930018                Gas           Gov. Aggregation
VEDO         4015049072501953            Gas           Gov. Aggregation   COH             205611070013                Gas           Gov. Aggregation
VEDO         4021026412426357            Gas           Gov. Aggregation   COH             205855630019                Gas           Gov. Aggregation
VEDO         4017626412455821            Gas           Gov. Aggregation   COH             192714300049                Gas           Gov. Aggregation
VEDO         4016728252505675            Gas           Gov. Aggregation   COH             206289700014                Gas           Gov. Aggregation
VEDO         4019875712446786            Gas           Gov. Aggregation   COH             197313460032                Gas           Gov. Aggregation
VEDO         4017349722349106            Gas           Gov. Aggregation   COH             200413210018                Gas           Gov. Aggregation
VEDO         4015465002291553            Gas           Gov. Aggregation   COH             203778490015                Gas           Gov. Aggregation
VEDO         4004502252457351            Gas           Gov. Aggregation   COH             201522540017                Gas           Gov. Aggregation
VEDO         4002318642341501            Gas           Gov. Aggregation   COH             136640720046                Gas           Gov. Aggregation
VEDO         4015749982258259            Gas           Gov. Aggregation   COH             192469390042                Gas           Gov. Aggregation
VEDO         4001198312331403            Gas           Gov. Aggregation   COH             198252670028                Gas           Gov. Aggregation
VEDO         4019317262207117            Gas           Gov. Aggregation   COH             155707090026                Gas           Gov. Aggregation
VEDO         4018819992173296            Gas           Gov. Aggregation   COH             195563270026                Gas           Gov. Aggregation
VEDO         4002102852205485            Gas           Gov. Aggregation   COH             195540040031                Gas           Gov. Aggregation
VEDO         4019413572347293            Gas           Gov. Aggregation   COH             205858750018                Gas           Gov. Aggregation
VEDO         4016650002319562            Gas           Gov. Aggregation   COH             173459850012                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4019940842167106            Gas           Gov. Aggregation   COH             201201260025                Gas           Gov. Aggregation
VEDO         4004337542437476            Gas           Gov. Aggregation   COH             206176740015                Gas           Gov. Aggregation
VEDO         4003902802390163            Gas           Gov. Aggregation   COH             175401120032                Gas           Gov. Aggregation
VEDO         4021022592111483            Gas           Gov. Aggregation   COH             205480400012                Gas           Gov. Aggregation
VEDO         4005050392516378            Gas           Gov. Aggregation   COH             201165230010                Gas           Gov. Aggregation
VEDO         4015143892370794            Gas           Gov. Aggregation   COH             194894630020                Gas           Gov. Aggregation
VEDO         4004521392333621            Gas           Gov. Aggregation   COH             174564580079                Gas           Gov. Aggregation
VEDO         4004822052160794            Gas           Gov. Aggregation   COH             202387910016                Gas           Gov. Aggregation
VEDO         4004371262482064            Gas           Gov. Aggregation   COH             202437940013                Gas           Gov. Aggregation
VEDO         4020850392236811            Gas           Gov. Aggregation   COH             205106580017                Gas           Gov. Aggregation
VEDO         4001923712433809            Gas           Gov. Aggregation   VEDO            4021008872355727            Gas           Gov. Aggregation
VEDO         4016805012306517            Gas           Gov. Aggregation   VEDO            4020201802110229            Gas           Gov. Aggregation
VEDO         4004816742473732            Gas           Gov. Aggregation   VEDO            4016457822486506            Gas           Gov. Aggregation
VEDO         4019248572430888            Gas           Gov. Aggregation   VEDO            4018856582107861            Gas           Gov. Aggregation
VEDO         4001140292187838            Gas           Gov. Aggregation   VEDO            4021024052514660            Gas           Gov. Aggregation
VEDO         4019415112424742            Gas           Gov. Aggregation   VEDO            4020938242525705            Gas           Gov. Aggregation
VEDO         4020285702268797            Gas           Gov. Aggregation   VEDO            4015363912324157            Gas           Gov. Aggregation
VEDO         4018586182552744            Gas           Gov. Aggregation   VEDO            4020075302278427            Gas           Gov. Aggregation
VEDO         4016644382421126            Gas           Gov. Aggregation   VEDO            4020900212109780            Gas           Gov. Aggregation
VEDO         4020066482170066            Gas           Gov. Aggregation   VEDO            4020329252479791            Gas           Gov. Aggregation
VEDO         4018530432207513            Gas           Gov. Aggregation   VEDO            4020183322419894            Gas           Gov. Aggregation
VEDO         4020290542438350            Gas           Gov. Aggregation   VEDO            4018738852543945            Gas           Gov. Aggregation
VEDO         4020909712423215            Gas           Gov. Aggregation   VEDO            4020251612551327            Gas           Gov. Aggregation
VEDO         4020065512380759            Gas           Gov. Aggregation   VEDO            4020179172106096            Gas           Gov. Aggregation
VEDO         4019369462421681            Gas           Gov. Aggregation   VEDO            4020169822675038            Gas           Gov. Aggregation
VEDO         4001814682177063            Gas           Gov. Aggregation   VEDO            4020800742531892            Gas           Gov. Aggregation
VEDO         4017850602117591            Gas           Gov. Aggregation   VEDO            4020851752394702            Gas           Gov. Aggregation
VEDO         4004866912408250            Gas           Gov. Aggregation   VEDO            4017791482457946            Gas           Gov. Aggregation
VEDO         4015655552392770            Gas           Gov. Aggregation   VEDO            4020040932370255            Gas           Gov. Aggregation
VEDO         4001581072677256            Gas           Gov. Aggregation   VEDO            4020148492399052            Gas           Gov. Aggregation
VEDO         4020305172324360            Gas           Gov. Aggregation   VEDO            4016405092304454            Gas           Gov. Aggregation
VEDO         4020250222248702            Gas           Gov. Aggregation   VEDO            4018799842605902            Gas           Gov. Aggregation
VEDO         4016924872204601            Gas           Gov. Aggregation   VEDO            4020199572588166            Gas           Gov. Aggregation
VEDO         4005088322520625            Gas           Gov. Aggregation   VEDO            4020243172675920            Gas           Gov. Aggregation
VEDO         4001150142476861            Gas           Gov. Aggregation   VEDO            4020932102676169            Gas           Gov. Aggregation
VEDO         4004959572415011            Gas           Gov. Aggregation   VEDO            4019147342680119            Gas           Gov. Aggregation
VEDO         4020145652328578            Gas           Gov. Aggregation   VEDO            4001653112320454            Gas           Gov. Aggregation
VEDO         4019952882188211            Gas           Gov. Aggregation   VEDO            4020278112241454            Gas           Gov. Aggregation
VEDO         4016208792448958            Gas           Gov. Aggregation   VEDO            4020319222274235            Gas           Gov. Aggregation
VEDO         4019265692186070            Gas           Gov. Aggregation   VEDO            4020853042602435            Gas           Gov. Aggregation
VEDO         4004912672311177            Gas           Gov. Aggregation   VEDO            4020884232589205            Gas           Gov. Aggregation
VEDO         4001702692166173            Gas           Gov. Aggregation   VEDO            4021036172504054            Gas           Gov. Aggregation
VEDO         4002894172315795            Gas           Gov. Aggregation   VEDO            4020933492425508            Gas           Gov. Aggregation
VEDO         4001926042188070            Gas           Gov. Aggregation   VEDO            4021045522152638            Gas           Gov. Aggregation
VEDO         4002479462126272            Gas           Gov. Aggregation   VEDO            4016474722271538            Gas           Gov. Aggregation
VEDO         4015623572325433            Gas           Gov. Aggregation   VEDO            4020136602389642            Gas           Gov. Aggregation
VEDO         4019427092419690            Gas           Gov. Aggregation   VEDO            4020275872287520            Gas           Gov. Aggregation
VEDO         4001339062373220            Gas           Gov. Aggregation   VEDO            4020312332359884            Gas           Gov. Aggregation
VEDO         4015763112467022            Gas           Gov. Aggregation   VEDO            4020235922338738            Gas           Gov. Aggregation
VEDO         4004062422407461            Gas           Gov. Aggregation   VEDO            4003032112364511            Gas           Gov. Aggregation
VEDO         4015227292623562            Gas           Gov. Aggregation   VEDO            4020869282543491            Gas           Gov. Aggregation
VEDO         4019773472628361            Gas           Gov. Aggregation   VEDO            4010036432543492            Gas           Gov. Aggregation
VEDO         4016874272618393            Gas           Gov. Aggregation   VEDO            4004211922423782            Gas           Gov. Aggregation
VEDO         4003246002320677            Gas           Gov. Aggregation   VEDO            4020849552195049            Gas           Gov. Aggregation
VEDO         4001784462238353            Gas           Gov. Aggregation   VEDO            4004167642358783            Gas           Gov. Aggregation
VEDO         4020028802415529            Gas           Gov. Aggregation   VEDO            4021060182440943            Gas           Gov. Aggregation
VEDO         4017434232330935            Gas           Gov. Aggregation   VEDO            4019287062673800            Gas           Gov. Aggregation
VEDO         4020303492371498            Gas           Gov. Aggregation   VEDO            4017761352313897            Gas           Gov. Aggregation
VEDO         4018583022334895            Gas           Gov. Aggregation   VEDO            4020140202424570            Gas           Gov. Aggregation
VEDO         4016095692440863            Gas           Gov. Aggregation   VEDO            4019277222291318            Gas           Gov. Aggregation
VEDO         4016544132390036            Gas           Gov. Aggregation   VEDO            4019247702356617            Gas           Gov. Aggregation
VEDO         4018290372634555            Gas           Gov. Aggregation   VEDO            4020947142355164            Gas           Gov. Aggregation
VEDO         4005091792406778            Gas           Gov. Aggregation   VEDO            4015048152407103            Gas           Gov. Aggregation
VEDO         4019284802119627            Gas           Gov. Aggregation   VEDO            4004262962383246            Gas           Gov. Aggregation
VEDO         4017779052521427            Gas           Gov. Aggregation   VEDO            4020904272110141            Gas           Gov. Aggregation
VEDO         4001723092168143            Gas           Gov. Aggregation   VEDO            4020922712336291            Gas           Gov. Aggregation
VEDO         4016999232110792            Gas           Gov. Aggregation   VEDO            4020183792202793            Gas           Gov. Aggregation
VEDO         4020849322282476            Gas           Gov. Aggregation   VEDO            4017968322512535            Gas           Gov. Aggregation
VEDO         4002966972291927            Gas           Gov. Aggregation   VEDO            4016567382485456            Gas           Gov. Aggregation
VEDO         4020225412406082            Gas           Gov. Aggregation   VEDO            4020221352354240            Gas           Gov. Aggregation
VEDO         4019459212418841            Gas           Gov. Aggregation   VEDO            4020798572437788            Gas           Gov. Aggregation
VEDO         4020107922436266            Gas           Gov. Aggregation   VEDO            4020209972486430            Gas           Gov. Aggregation
VEDO         4018761662512561            Gas           Gov. Aggregation   VEDO            4020147692218360            Gas           Gov. Aggregation
VEDO         4017492352482838            Gas           Gov. Aggregation   VEDO            4020257642181391            Gas           Gov. Aggregation
VEDO         4019128322407627            Gas           Gov. Aggregation   VEDO            4015598222448425            Gas           Gov. Aggregation
VEDO         4016189652183278            Gas           Gov. Aggregation   VEDO            4020194182170708            Gas           Gov. Aggregation
VEDO         4019140292134920            Gas           Gov. Aggregation   VEDO            4017748302457347            Gas           Gov. Aggregation
VEDO         4019870102371847            Gas           Gov. Aggregation   VEDO            4020191542182314            Gas           Gov. Aggregation
VEDO         4018819612143315            Gas           Gov. Aggregation   VEDO            4019253562342550            Gas           Gov. Aggregation
VEDO         4017963742181823            Gas           Gov. Aggregation   VEDO            4019931112288498            Gas           Gov. Aggregation
VEDO         4019859662273429            Gas           Gov. Aggregation   VEDO            4019238942126283            Gas           Gov. Aggregation
VEDO         4001825592430841            Gas           Gov. Aggregation   VEDO            4020328402421878            Gas           Gov. Aggregation
VEDO         4019387702406948            Gas           Gov. Aggregation   VEDO            4018272562368558            Gas           Gov. Aggregation
VEDO         4020166102170781            Gas           Gov. Aggregation   VEDO            4019369942181573            Gas           Gov. Aggregation
VEDO         4020898362471315            Gas           Gov. Aggregation   VEDO            4015944782121505            Gas           Gov. Aggregation
VEDO         4002176752360877            Gas           Gov. Aggregation   VEDO            4021016772141179            Gas           Gov. Aggregation
VEDO         4019028342223383            Gas           Gov. Aggregation   VEDO            4002459252138747            Gas           Gov. Aggregation
VEDO         4001798792315520            Gas           Gov. Aggregation   VEDO            4004723372495864            Gas           Gov. Aggregation
VEDO         4015031262205987            Gas           Gov. Aggregation   VEDO            4016479422442904            Gas           Gov. Aggregation
VEDO         4018687512180491            Gas           Gov. Aggregation   VEDO            4021030032130599            Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
VEDO         4018687512361663            Gas           Gov. Aggregation   VEDO         4020924112340864            Gas           Gov. Aggregation
VEDO         4001483352334113            Gas           Gov. Aggregation   VEDO         4018904942405739            Gas           Gov. Aggregation
VEDO         4001516202630612            Gas           Gov. Aggregation   VEDO         4003236592319681            Gas           Gov. Aggregation
VEDO         4018454782327146            Gas           Gov. Aggregation   VEDO         4020859582154776            Gas           Gov. Aggregation
VEDO         4020279452102461            Gas           Gov. Aggregation   VEDO         4001275232173628            Gas           Gov. Aggregation
VEDO         4004899342499427            Gas           Gov. Aggregation   VEDO         4020151162251847            Gas           Gov. Aggregation
VEDO         4020245572138230            Gas           Gov. Aggregation   VEDO         4020221982392956            Gas           Gov. Aggregation
VEDO         4017553552201321            Gas           Gov. Aggregation   VEDO         4018393142281477            Gas           Gov. Aggregation
VEDO         4020053072424810            Gas           Gov. Aggregation   VEDO         4020291602412784            Gas           Gov. Aggregation
VEDO         4004925042502259            Gas           Gov. Aggregation   VEDO         4020291602502382            Gas           Gov. Aggregation
VEDO         4001786512485230            Gas           Gov. Aggregation   VEDO         4020857352391108            Gas           Gov. Aggregation
VEDO         4020798602401497            Gas           Gov. Aggregation   VEDO         4017209552295322            Gas           Gov. Aggregation
VEDO         4020145782444845            Gas           Gov. Aggregation   VEDO         4019809812169636            Gas           Gov. Aggregation
VEDO         4004652662472289            Gas           Gov. Aggregation   VEDO         4020097732305085            Gas           Gov. Aggregation
VEDO         4016935142244551            Gas           Gov. Aggregation   VEDO         4016560012274015            Gas           Gov. Aggregation
VEDO         4020161552347434            Gas           Gov. Aggregation   VEDO         4017275882468221            Gas           Gov. Aggregation
VEDO         4001885152101308            Gas           Gov. Aggregation   VEDO         4004541172424751            Gas           Gov. Aggregation
VEDO         4018875062480022            Gas           Gov. Aggregation   VEDO         4019448062474404            Gas           Gov. Aggregation
VEDO         4018958832354360            Gas           Gov. Aggregation   VEDO         4019446822416989            Gas           Gov. Aggregation
VEDO         4018785872329679            Gas           Gov. Aggregation   VEDO         4017447192302090            Gas           Gov. Aggregation
VEDO         4003736352372283            Gas           Gov. Aggregation   VEDO         4021003192484167            Gas           Gov. Aggregation
VEDO         4002905312351119            Gas           Gov. Aggregation   VEDO         4020905132382987            Gas           Gov. Aggregation
VEDO         4020326502349725            Gas           Gov. Aggregation   VEDO         4020866502382280            Gas           Gov. Aggregation
VEDO         4003830702493375            Gas           Gov. Aggregation   VEDO         4002046932477833            Gas           Gov. Aggregation
VEDO         4018636642382362            Gas           Gov. Aggregation   VEDO         4020867852224148            Gas           Gov. Aggregation
VEDO         4001510062512395            Gas           Gov. Aggregation   VEDO         4019931072327339            Gas           Gov. Aggregation
VEDO         4020927752414575            Gas           Gov. Aggregation   VEDO         4020869382135630            Gas           Gov. Aggregation
VEDO         4002859002206073            Gas           Gov. Aggregation   VEDO         4020223912297004            Gas           Gov. Aggregation
VEDO         4015873382572095            Gas           Gov. Aggregation   VEDO         4003688652369798            Gas           Gov. Aggregation
VEDO         4017530122375755            Gas           Gov. Aggregation   VEDO         4002820822383567            Gas           Gov. Aggregation
VEDO         4018149782493755            Gas           Gov. Aggregation   VEDO         4019505072239879            Gas           Gov. Aggregation
VEDO         4002727122267575            Gas           Gov. Aggregation   VEDO         4018063782348855            Gas           Gov. Aggregation
VEDO         4015650052109808            Gas           Gov. Aggregation   VEDO         4020225112306667            Gas           Gov. Aggregation
VEDO         4001083882330778            Gas           Gov. Aggregation   VEDO         4020274432127161            Gas           Gov. Aggregation
VEDO         4001083882398417            Gas           Gov. Aggregation   VEDO         4019920932267858            Gas           Gov. Aggregation
VEDO         4018446042648517            Gas           Gov. Aggregation   VEDO         4018578652478772            Gas           Gov. Aggregation
VEDO         4001879512148173            Gas           Gov. Aggregation   VEDO         4016252082312842            Gas           Gov. Aggregation
VEDO         4016340402466112            Gas           Gov. Aggregation   VEDO         4019306422439716            Gas           Gov. Aggregation
VEDO         4016340402136626            Gas           Gov. Aggregation   VEDO         4018084992336838            Gas           Gov. Aggregation
VEDO         4003243632320428            Gas           Gov. Aggregation   VEDO         4019214982645246            Gas           Gov. Aggregation
VEDO         4015093522360308            Gas           Gov. Aggregation   VEDO         4018341932493361            Gas           Gov. Aggregation
VEDO         4001250872123613            Gas           Gov. Aggregation   VEDO         4020854132264315            Gas           Gov. Aggregation
VEDO         4019518252241555            Gas           Gov. Aggregation   VEDO         4020284072456794            Gas           Gov. Aggregation
VEDO         4005035612514696            Gas           Gov. Aggregation   VEDO         4019206142430385            Gas           Gov. Aggregation
VEDO         4018792812473290            Gas           Gov. Aggregation   VEDO         4019206142320465            Gas           Gov. Aggregation
VEDO         4019224292211392            Gas           Gov. Aggregation   VEDO         4020049152565419            Gas           Gov. Aggregation
VEDO         4003296652325865            Gas           Gov. Aggregation   VEDO         4021033992292483            Gas           Gov. Aggregation
VEDO         4019411862285869            Gas           Gov. Aggregation   VEDO         4021033992101902            Gas           Gov. Aggregation
VEDO         4021020952209862            Gas           Gov. Aggregation   VEDO         4021033992344111            Gas           Gov. Aggregation
VEDO         4004371132441230            Gas           Gov. Aggregation   VEDO         4003344292206194            Gas           Gov. Aggregation
VEDO         4018198062172619            Gas           Gov. Aggregation   VEDO         4016899542259866            Gas           Gov. Aggregation
VEDO         4018795402303412            Gas           Gov. Aggregation   VEDO         4020788172320960            Gas           Gov. Aggregation
VEDO         4003690412367338            Gas           Gov. Aggregation   VEDO         4015825742219374            Gas           Gov. Aggregation
VEDO         4020919002125592            Gas           Gov. Aggregation   VEDO         4001140292361379            Gas           Gov. Aggregation
VEDO         4015375002356728            Gas           Gov. Aggregation   VEDO         4017539132189637            Gas           Gov. Aggregation
VEDO         4001417722139153            Gas           Gov. Aggregation   VEDO         4020876182501905            Gas           Gov. Aggregation
VEDO         4002808112275801            Gas           Gov. Aggregation   VEDO         4016657982101751            Gas           Gov. Aggregation
VEDO         4019418042114006            Gas           Gov. Aggregation   VEDO         4016657982246065            Gas           Gov. Aggregation
VEDO         4020082192399722            Gas           Gov. Aggregation   VEDO         4020786562179770            Gas           Gov. Aggregation
VEDO         4003716452288846            Gas           Gov. Aggregation   VEDO         4021048942463999            Gas           Gov. Aggregation
VEDO         4003742732372923            Gas           Gov. Aggregation   VEDO         4001398112470695            Gas           Gov. Aggregation
VEDO         4018949342474152            Gas           Gov. Aggregation   VEDO         4019945802348984            Gas           Gov. Aggregation
VEDO         4017299972507905            Gas           Gov. Aggregation   VEDO         4019945802161432            Gas           Gov. Aggregation
VEDO         4001358582152433            Gas           Gov. Aggregation   VEDO         4019148182105378            Gas           Gov. Aggregation
VEDO         4019994062501244            Gas           Gov. Aggregation   VEDO         4019535222189702            Gas           Gov. Aggregation
VEDO         4017986842389456            Gas           Gov. Aggregation   VEDO         4017244242184924            Gas           Gov. Aggregation
VEDO         4003795232378552            Gas           Gov. Aggregation   VEDO         4016962042138078            Gas           Gov. Aggregation
VEDO         4015221942168512            Gas           Gov. Aggregation   VEDO         4003025662120105            Gas           Gov. Aggregation
VEDO         4018215432439758            Gas           Gov. Aggregation   VEDO         4003025662241317            Gas           Gov. Aggregation
VEDO         4019974602494386            Gas           Gov. Aggregation   VEDO         4017266522404507            Gas           Gov. Aggregation
VEDO         4015953482366149            Gas           Gov. Aggregation   VEDO         4018083142398289            Gas           Gov. Aggregation
VEDO         4016665182418741            Gas           Gov. Aggregation   VEDO         4021036602356070            Gas           Gov. Aggregation
VEDO         4020161782157058            Gas           Gov. Aggregation   VEDO         4020839312458997            Gas           Gov. Aggregation
VEDO         4003127572354785            Gas           Gov. Aggregation   VEDO         4015391972101433            Gas           Gov. Aggregation
VEDO         4003087012304183            Gas           Gov. Aggregation   VEDO         4020877022523513            Gas           Gov. Aggregation
VEDO         4017495692161820            Gas           Gov. Aggregation   VEDO         4004357412358176            Gas           Gov. Aggregation
VEDO         4017495692452800            Gas           Gov. Aggregation   VEDO         4021023142122576            Gas           Gov. Aggregation
VEDO         4018732952143509            Gas           Gov. Aggregation   VEDO         4019817162527849            Gas           Gov. Aggregation
VEDO         4020251432213654            Gas           Gov. Aggregation   VEDO         4017217762348371            Gas           Gov. Aggregation
VEDO         4015124002312028            Gas           Gov. Aggregation   VEDO         4017128722452205            Gas           Gov. Aggregation
VEDO         4018459132362813            Gas           Gov. Aggregation   VEDO         4020896132188069            Gas           Gov. Aggregation
VEDO         4021017622352068            Gas           Gov. Aggregation   VEDO         4017748302441208            Gas           Gov. Aggregation
VEDO         4003064222296379            Gas           Gov. Aggregation   VEDO         4020871702260380            Gas           Gov. Aggregation
VEDO         4018245622523043            Gas           Gov. Aggregation   VEDO         4020043862514231            Gas           Gov. Aggregation
VEDO         4019088682477849            Gas           Gov. Aggregation   VEDO         4020070492193449            Gas           Gov. Aggregation
VEDO         4004671062493976            Gas           Gov. Aggregation   VEDO         4001208832140117            Gas           Gov. Aggregation
VEDO         4003436342455797            Gas           Gov. Aggregation   VEDO         4020208042357791            Gas           Gov. Aggregation
VEDO         4020937962222426            Gas           Gov. Aggregation   VEDO         4017935282112438            Gas           Gov. Aggregation
VEDO         4004865352495701            Gas           Gov. Aggregation   VEDO         4003257422449693            Gas           Gov. Aggregation
VEDO         4017067762496663            Gas           Gov. Aggregation   VEDO         4020915192518370            Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4001786512491874            Gas           Gov. Aggregation   VEDO            4020144912438757            Gas           Gov. Aggregation
VEDO         4018617302390960            Gas           Gov. Aggregation   VEDO            4020106292203247            Gas           Gov. Aggregation
VEDO         4017247022148974            Gas           Gov. Aggregation   VEDO            4021062372470080            Gas           Gov. Aggregation
VEDO         4001786512124158            Gas           Gov. Aggregation   VEDO            4021056602396667            Gas           Gov. Aggregation
VEDO         4004415342446079            Gas           Gov. Aggregation   VEDO            4020148382372246            Gas           Gov. Aggregation
VEDO         4016224932481708            Gas           Gov. Aggregation   VEDO            4016602832406002            Gas           Gov. Aggregation
VEDO         4003545382322237            Gas           Gov. Aggregation   VEDO            4020115732474490            Gas           Gov. Aggregation
VEDO         4019875872369023            Gas           Gov. Aggregation   VEDO            4019480932679388            Gas           Gov. Aggregation
VEDO         4019875872488056            Gas           Gov. Aggregation   VEDO            4020931682225346            Gas           Gov. Aggregation
VEDO         4003580782286986            Gas           Gov. Aggregation   VEDO            4020247512476741            Gas           Gov. Aggregation
VEDO         4015804092385108            Gas           Gov. Aggregation   VEDO            4020934422675910            Gas           Gov. Aggregation
VEDO         4019492742280092            Gas           Gov. Aggregation   VEDO            4018075612539686            Gas           Gov. Aggregation
VEDO         4020034682521321            Gas           Gov. Aggregation   VEDO            4020852382539688            Gas           Gov. Aggregation
VEDO         4016260072189115            Gas           Gov. Aggregation   VEDO            4015293212246395            Gas           Gov. Aggregation
VEDO         4016293012584526            Gas           Gov. Aggregation   VEDO            4001463662227541            Gas           Gov. Aggregation
VEDO         4001433452115615            Gas           Gov. Aggregation   VEDO            4020149302164541            Gas           Gov. Aggregation
VEDO         4004204822422991            Gas           Gov. Aggregation   VEDO            4020208402348065            Gas           Gov. Aggregation
VEDO         4016274602279442            Gas           Gov. Aggregation   VEDO            4020862942386024            Gas           Gov. Aggregation
VEDO         4002908942142226            Gas           Gov. Aggregation   VEDO            4002734322454848            Gas           Gov. Aggregation
VEDO         4016750702175810            Gas           Gov. Aggregation   VEDO            4017383202536025            Gas           Gov. Aggregation
VEDO         4017983332508530            Gas           Gov. Aggregation   VEDO            4020846222408869            Gas           Gov. Aggregation
VEDO         4017678812203885            Gas           Gov. Aggregation   VEDO            4021031042222277            Gas           Gov. Aggregation
VEDO         4020017792501003            Gas           Gov. Aggregation   VEDO            4019740072230877            Gas           Gov. Aggregation
VEDO         4002859342280977            Gas           Gov. Aggregation   VEDO            4020239602132086            Gas           Gov. Aggregation
VEDO         4020329022404416            Gas           Gov. Aggregation   VEDO            4017312252302699            Gas           Gov. Aggregation
VEDO         4017219262176759            Gas           Gov. Aggregation   VEDO            4020842172320923            Gas           Gov. Aggregation
VEDO         4019513342509258            Gas           Gov. Aggregation   VEDO            4016243622600237            Gas           Gov. Aggregation
VEDO         4019839232175910            Gas           Gov. Aggregation   VEDO            4017599492639662            Gas           Gov. Aggregation
VEDO         4020866472111134            Gas           Gov. Aggregation   VEDO            4021063022469279            Gas           Gov. Aggregation
VEDO         4020086172341377            Gas           Gov. Aggregation   VEDO            4020944912478937            Gas           Gov. Aggregation
VEDO         4018940422221441            Gas           Gov. Aggregation   VEDO            4016339472381233            Gas           Gov. Aggregation
VEDO         4002271552467161            Gas           Gov. Aggregation   VEDO            4020248522180971            Gas           Gov. Aggregation
VEDO         4019089852204889            Gas           Gov. Aggregation   VEDO            4017748302196750            Gas           Gov. Aggregation
VEDO         4019962032520271            Gas           Gov. Aggregation   VEDO            4019451162228452            Gas           Gov. Aggregation
VEDO         4015030602317077            Gas           Gov. Aggregation   VEDO            4020184612182535            Gas           Gov. Aggregation
VEDO         4020112742164032            Gas           Gov. Aggregation   VEDO            4018552802362344            Gas           Gov. Aggregation
VEDO         4016187302463031            Gas           Gov. Aggregation   VEDO            4020129732306114            Gas           Gov. Aggregation
VEDO         4003122122288002            Gas           Gov. Aggregation   VEDO            4020281732350200            Gas           Gov. Aggregation
VEDO         4019967772378509            Gas           Gov. Aggregation   VEDO            4020241542526988            Gas           Gov. Aggregation
VEDO         4004044082473656            Gas           Gov. Aggregation   VEDO            4002805132128699            Gas           Gov. Aggregation
VEDO         4004909442500549            Gas           Gov. Aggregation   VEDO            4018056352214560            Gas           Gov. Aggregation
VEDO         4002820082276972            Gas           Gov. Aggregation   VEDO            4020281512298622            Gas           Gov. Aggregation
VEDO         4001652972369960            Gas           Gov. Aggregation   VEDO            4002255612399102            Gas           Gov. Aggregation
VEDO         4004178052420090            Gas           Gov. Aggregation   VEDO            4016237802166040            Gas           Gov. Aggregation
VEDO         4002782932242707            Gas           Gov. Aggregation   VEDO            4016968072343934            Gas           Gov. Aggregation
VEDO         4001595022149276            Gas           Gov. Aggregation   VEDO            4019263982200916            Gas           Gov. Aggregation
VEDO         4015403972168170            Gas           Gov. Aggregation   VEDO            4020142012258138            Gas           Gov. Aggregation
VEDO         4016482552272910            Gas           Gov. Aggregation   VEDO            4016326802360555            Gas           Gov. Aggregation
VEDO         4002614522111539            Gas           Gov. Aggregation   VEDO            4020253832332792            Gas           Gov. Aggregation
VEDO         4004434812344876            Gas           Gov. Aggregation   VEDO            4021005312415847            Gas           Gov. Aggregation
VEDO         4020159182519809            Gas           Gov. Aggregation   VEDO            4020889952400147            Gas           Gov. Aggregation
VEDO         4002773402272234            Gas           Gov. Aggregation   VEDO            4018016632178632            Gas           Gov. Aggregation
VEDO         4004871982496407            Gas           Gov. Aggregation   VEDO            4019347692393645            Gas           Gov. Aggregation
VEDO         4002810412161074            Gas           Gov. Aggregation   VEDO            4015616832331445            Gas           Gov. Aggregation
VEDO         4019027072195525            Gas           Gov. Aggregation   VEDO            4020884842499555            Gas           Gov. Aggregation
VEDO         4020938482317270            Gas           Gov. Aggregation   VEDO            4020262242389144            Gas           Gov. Aggregation
VEDO         4001620712505908            Gas           Gov. Aggregation   VEDO            4015136862301066            Gas           Gov. Aggregation
VEDO         4019839682519637            Gas           Gov. Aggregation   VEDO            4020221342391951            Gas           Gov. Aggregation
VEDO         4004304932248989            Gas           Gov. Aggregation   VEDO            4003334812628018            Gas           Gov. Aggregation
VEDO         4018252742327951            Gas           Gov. Aggregation   VEDO            4018029322627999            Gas           Gov. Aggregation
VEDO         4017215402290039            Gas           Gov. Aggregation   VEDO            4017637842602209            Gas           Gov. Aggregation
VEDO         4020155782365501            Gas           Gov. Aggregation   VEDO            4017787242628004            Gas           Gov. Aggregation
VEDO         4004500302455407            Gas           Gov. Aggregation   VEDO            4018498192628016            Gas           Gov. Aggregation
VEDO         4018503542438797            Gas           Gov. Aggregation   COH             135004340036                Gas           Gov. Aggregation
VEDO         4004789352129645            Gas           Gov. Aggregation   COH             135004340027                Gas           Gov. Aggregation
VEDO         4019386482481726            Gas           Gov. Aggregation   COH             114961100015                Gas           Gov. Aggregation
VEDO         4020011702226668            Gas           Gov. Aggregation   VEDO            4016503032596917            Gas           Gov. Aggregation
VEDO         4015485332206236            Gas           Gov. Aggregation   DEO             9180009794892               Gas           Gov. Aggregation
VEDO         4004965692401581            Gas           Gov. Aggregation   COH             202209410017                Gas           Gov. Aggregation
VEDO         4017836902408736            Gas           Gov. Aggregation   COH             202227670015                Gas           Gov. Aggregation
VEDO         4020309492317414            Gas           Gov. Aggregation   COH             201103450014                Gas           Gov. Aggregation
VEDO         4019983012384099            Gas           Gov. Aggregation   COH             201179690015                Gas           Gov. Aggregation
VEDO         4020787322376380            Gas           Gov. Aggregation   COH             201624350011                Gas           Gov. Aggregation
VEDO         4004206172486121            Gas           Gov. Aggregation   COH             199955540015                Gas           Gov. Aggregation
VEDO         4001973742477893            Gas           Gov. Aggregation   COH             200043310012                Gas           Gov. Aggregation
VEDO         4004031872266238            Gas           Gov. Aggregation   COH             200002800015                Gas           Gov. Aggregation
VEDO         4004106402412279            Gas           Gov. Aggregation   COH             200056420012                Gas           Gov. Aggregation
VEDO         4018822692262798            Gas           Gov. Aggregation   COH             201711830015                Gas           Gov. Aggregation
VEDO         4019945442266562            Gas           Gov. Aggregation   COH             201732440013                Gas           Gov. Aggregation
VEDO         4019058502443009            Gas           Gov. Aggregation   COH             110914620037                Gas           Gov. Aggregation
VEDO         4019209992459858            Gas           Gov. Aggregation   COH             110958100016                Gas           Gov. Aggregation
VEDO         4018400062452230            Gas           Gov. Aggregation   COH             200082070011                Gas           Gov. Aggregation
VEDO         4003240812452174            Gas           Gov. Aggregation   COH             200092330015                Gas           Gov. Aggregation
VEDO         4004973022454115            Gas           Gov. Aggregation   COH             197838000027                Gas           Gov. Aggregation
VEDO         4019123612406295            Gas           Gov. Aggregation   COH             197885520010                Gas           Gov. Aggregation
VEDO         4018582992472004            Gas           Gov. Aggregation   COH             197955020016                Gas           Gov. Aggregation
VEDO         4002470782297192            Gas           Gov. Aggregation   COH             198023540011                Gas           Gov. Aggregation
VEDO         4017848072155043            Gas           Gov. Aggregation   COH             197966630015                Gas           Gov. Aggregation
VEDO         4019828162428515            Gas           Gov. Aggregation   COH             165376560055                Gas           Gov. Aggregation
VEDO         4001576962154277            Gas           Gov. Aggregation   COH             172650160067                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4002667752248929            Gas           Gov. Aggregation   COH             174676400024                Gas           Gov. Aggregation
VEDO         4018082012404124            Gas           Gov. Aggregation   COH             174682030029                Gas           Gov. Aggregation
VEDO         4004184822363248            Gas           Gov. Aggregation   COH             195039100022                Gas           Gov. Aggregation
VEDO         4002840972475163            Gas           Gov. Aggregation   COH             200161700010                Gas           Gov. Aggregation
VEDO         4004157622287625            Gas           Gov. Aggregation   COH             200210790017                Gas           Gov. Aggregation
VEDO         4019473612197009            Gas           Gov. Aggregation   COH             200276720013                Gas           Gov. Aggregation
VEDO         4002916012245018            Gas           Gov. Aggregation   COH             200267490011                Gas           Gov. Aggregation
VEDO         4003628672355852            Gas           Gov. Aggregation   COH             196374660015                Gas           Gov. Aggregation
VEDO         4004896752324908            Gas           Gov. Aggregation   COH             196397250013                Gas           Gov. Aggregation
VEDO         4019933112451227            Gas           Gov. Aggregation   COH             196629890016                Gas           Gov. Aggregation
VEDO         4019894992260729            Gas           Gov. Aggregation   COH             196636210013                Gas           Gov. Aggregation
VEDO         4005111292523243            Gas           Gov. Aggregation   COH             196809060018                Gas           Gov. Aggregation
VEDO         4001940562241068            Gas           Gov. Aggregation   COH             197054420012                Gas           Gov. Aggregation
VEDO         4001886712108740            Gas           Gov. Aggregation   COH             197174430016                Gas           Gov. Aggregation
VEDO         4003966582148160            Gas           Gov. Aggregation   COH             189938300013                Gas           Gov. Aggregation
VEDO         4003882332387938            Gas           Gov. Aggregation   COH             149303710038                Gas           Gov. Aggregation
VEDO         4001587152155270            Gas           Gov. Aggregation   COH             198536040019                Gas           Gov. Aggregation
VEDO         4019479762282702            Gas           Gov. Aggregation   COH             198673680015                Gas           Gov. Aggregation
VEDO         4018906072161722            Gas           Gov. Aggregation   COH             198591720010                Gas           Gov. Aggregation
VEDO         4015084262359143            Gas           Gov. Aggregation   COH             198699080017                Gas           Gov. Aggregation
VEDO         4015151992349483            Gas           Gov. Aggregation   COH             198794480011                Gas           Gov. Aggregation
VEDO         4018957472128887            Gas           Gov. Aggregation   COH             198857520018                Gas           Gov. Aggregation
VEDO         4020095712201700            Gas           Gov. Aggregation   COH             175234620023                Gas           Gov. Aggregation
VEDO         4020290242114270            Gas           Gov. Aggregation   COH             110392340016                Gas           Gov. Aggregation
VEDO         4003596162301635            Gas           Gov. Aggregation   COH             137118390060                Gas           Gov. Aggregation
VEDO         4018599792388241            Gas           Gov. Aggregation   COH             145335930119                Gas           Gov. Aggregation
VEDO         4018511862377548            Gas           Gov. Aggregation   COH             195784060013                Gas           Gov. Aggregation
VEDO         4018801892427940            Gas           Gov. Aggregation   COH             185241080039                Gas           Gov. Aggregation
VEDO         4004405132451570            Gas           Gov. Aggregation   COH             196067590011                Gas           Gov. Aggregation
VEDO         4003491862489136            Gas           Gov. Aggregation   COH             192485030016                Gas           Gov. Aggregation
VEDO         4001617232500174            Gas           Gov. Aggregation   COH             141487880042                Gas           Gov. Aggregation
VEDO         4019761302162651            Gas           Gov. Aggregation   COH             194894720012                Gas           Gov. Aggregation
VEDO         4020284672148019            Gas           Gov. Aggregation   COH             193888170012                Gas           Gov. Aggregation
VEDO         4001516412124793            Gas           Gov. Aggregation   COH             186118270039                Gas           Gov. Aggregation
VEDO         4004553532250323            Gas           Gov. Aggregation   COH             195364380016                Gas           Gov. Aggregation
VEDO         4015091222237636            Gas           Gov. Aggregation   COH             175629180038                Gas           Gov. Aggregation
VEDO         4019379762590408            Gas           Gov. Aggregation   COH             186842400036                Gas           Gov. Aggregation
VEDO         4019818702621396            Gas           Gov. Aggregation   COH             192994000013                Gas           Gov. Aggregation
VEDO         4018220062593049            Gas           Gov. Aggregation   COH             197687500014                Gas           Gov. Aggregation
VEDO         4015068192674012            Gas           Gov. Aggregation   COH             161704760014                Gas           Gov. Aggregation
VEDO         4019969122623539            Gas           Gov. Aggregation   COH             163823410013                Gas           Gov. Aggregation
VEDO         4018179472614285            Gas           Gov. Aggregation   COH             187744550014                Gas           Gov. Aggregation
VEDO         4015917842102431            Gas           Gov. Aggregation   COH             197016460014                Gas           Gov. Aggregation
VEDO         4002810282276022            Gas           Gov. Aggregation   COH             110903700015                Gas           Gov. Aggregation
VEDO         4001550942151813            Gas           Gov. Aggregation   COH             198075390014                Gas           Gov. Aggregation
VEDO         4020854002141993            Gas           Gov. Aggregation   COH             110290940016                Gas           Gov. Aggregation
VEDO         4001344332132292            Gas           Gov. Aggregation   COH             174141390011                Gas           Gov. Aggregation
VEDO         4020883282180444            Gas           Gov. Aggregation   COH             187687460024                Gas           Gov. Aggregation
VEDO         4016910652449855            Gas           Gov. Aggregation   COH             156076390030                Gas           Gov. Aggregation
VEDO         4018858712184783            Gas           Gov. Aggregation   COH             110964370017                Gas           Gov. Aggregation
VEDO         4019164452361507            Gas           Gov. Aggregation   COH             110965180015                Gas           Gov. Aggregation
VEDO         4001708962376553            Gas           Gov. Aggregation   COH             110274080011                Gas           Gov. Aggregation
VEDO         4015832742263335            Gas           Gov. Aggregation   COH             172547740019                Gas           Gov. Aggregation
VEDO         4001798542434414            Gas           Gov. Aggregation   COH             166497750012                Gas           Gov. Aggregation
VEDO         4016148442385967            Gas           Gov. Aggregation   COH             144650810019                Gas           Gov. Aggregation
VEDO         4017096732187128            Gas           Gov. Aggregation   COH             162832750014                Gas           Gov. Aggregation
VEDO         4001291992127476            Gas           Gov. Aggregation   COH             148852970014                Gas           Gov. Aggregation
VEDO         4018788932186817            Gas           Gov. Aggregation   COH             145569360016                Gas           Gov. Aggregation
VEDO         4018973792395682            Gas           Gov. Aggregation   COH             130472600017                Gas           Gov. Aggregation
VEDO         4019865162239855            Gas           Gov. Aggregation   COH             169546370023                Gas           Gov. Aggregation
VEDO         4020221242258575            Gas           Gov. Aggregation   COH             190409330015                Gas           Gov. Aggregation
VEDO         4017545942249852            Gas           Gov. Aggregation   COH             110312930010                Gas           Gov. Aggregation
VEDO         4018583022422305            Gas           Gov. Aggregation   COH             177606750016                Gas           Gov. Aggregation
VEDO         4018479822675240            Gas           Gov. Aggregation   COH             176007710015                Gas           Gov. Aggregation
VEDO         4018778152674426            Gas           Gov. Aggregation   COH             136584400034                Gas           Gov. Aggregation
VEDO         4020050272674604            Gas           Gov. Aggregation   COH             164632550018                Gas           Gov. Aggregation
VEDO         4020135572674310            Gas           Gov. Aggregation   COH             188003210014                Gas           Gov. Aggregation
VEDO         4019984532673187            Gas           Gov. Aggregation   COH             196127490014                Gas           Gov. Aggregation
VEDO         4020172882674607            Gas           Gov. Aggregation   COH             132788460016                Gas           Gov. Aggregation
VEDO         4020927462679869            Gas           Gov. Aggregation   COH             170901940017                Gas           Gov. Aggregation
VEDO         4018583332673816            Gas           Gov. Aggregation   COH             146271400017                Gas           Gov. Aggregation
VEDO         4018502992673340            Gas           Gov. Aggregation   COH             110401370028                Gas           Gov. Aggregation
VEDO         4020124052674306            Gas           Gov. Aggregation   COH             159437990017                Gas           Gov. Aggregation
VEDO         4020135242674317            Gas           Gov. Aggregation   COH             157039510013                Gas           Gov. Aggregation
VEDO         4020006002673354            Gas           Gov. Aggregation   COH             196476250015                Gas           Gov. Aggregation
VEDO         4020941512673355            Gas           Gov. Aggregation   COH             110392310012                Gas           Gov. Aggregation
VEDO         4020224832539050            Gas           Gov. Aggregation   COH             110923220023                Gas           Gov. Aggregation
VEDO         4016608862539052            Gas           Gov. Aggregation   COH             172165630012                Gas           Gov. Aggregation
VEDO         4016725072420729            Gas           Gov. Aggregation   COH             187319170015                Gas           Gov. Aggregation
VEDO         4017290442424660            Gas           Gov. Aggregation   COH             110356800024                Gas           Gov. Aggregation
VEDO         4018583022180508            Gas           Gov. Aggregation   COH             110947400016                Gas           Gov. Aggregation
VEDO         4018816882364205            Gas           Gov. Aggregation   COH             198608700017                Gas           Gov. Aggregation
VEDO         4002429672237863            Gas           Gov. Aggregation   COH             159560880019                Gas           Gov. Aggregation
VEDO         4018401692326895            Gas           Gov. Aggregation   COH             172951020013                Gas           Gov. Aggregation
VEDO         4020885072677432            Gas           Gov. Aggregation   COH             143812320019                Gas           Gov. Aggregation
VEDO         4020320662676335            Gas           Gov. Aggregation   COH             141209550021                Gas           Gov. Aggregation
VEDO         4020896342677434            Gas           Gov. Aggregation   COH             151187240013                Gas           Gov. Aggregation
VEDO         4019992582675818            Gas           Gov. Aggregation   COH             137973840018                Gas           Gov. Aggregation
VEDO         4021020222679927            Gas           Gov. Aggregation   COH             160604710044                Gas           Gov. Aggregation
VEDO         4016580802676104            Gas           Gov. Aggregation   COH             110400270012                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4020268162675815            Gas           Gov. Aggregation   COH             110903070018                Gas           Gov. Aggregation
VEDO         4018583022470636            Gas           Gov. Aggregation   COH             147343900027                Gas           Gov. Aggregation
VEDO         4002803142520520            Gas           Gov. Aggregation   COH             110351920010                Gas           Gov. Aggregation
VEDO         4002954262537139            Gas           Gov. Aggregation   COH             144354870015                Gas           Gov. Aggregation
VEDO         4018583022529622            Gas           Gov. Aggregation   COH             142157860026                Gas           Gov. Aggregation
VEDO         4003313192534063            Gas           Gov. Aggregation   COH             110399540010                Gas           Gov. Aggregation
VEDO         4018865872537797            Gas           Gov. Aggregation   COH             110946360026                Gas           Gov. Aggregation
VEDO         4018797892537796            Gas           Gov. Aggregation   COH             110298270020                Gas           Gov. Aggregation
VEDO         4004456712537811            Gas           Gov. Aggregation   COH             159112040014                Gas           Gov. Aggregation
VEDO         4018943512537812            Gas           Gov. Aggregation   COH             154199110021                Gas           Gov. Aggregation
VEDO         4004597842537813            Gas           Gov. Aggregation   COH             145387910016                Gas           Gov. Aggregation
VEDO         4004537642527295            Gas           Gov. Aggregation   COH             110923490018                Gas           Gov. Aggregation
VEDO         4001990202472718            Gas           Gov. Aggregation   COH             110923230012                Gas           Gov. Aggregation
VEDO         4018583022406213            Gas           Gov. Aggregation   COH             110364310020                Gas           Gov. Aggregation
VEDO         4020189972300443            Gas           Gov. Aggregation   COH             149999600010                Gas           Gov. Aggregation
VEDO         4020159502677437            Gas           Gov. Aggregation   COH             150358780036                Gas           Gov. Aggregation
VEDO         4020899732678590            Gas           Gov. Aggregation   COH             198987290012                Gas           Gov. Aggregation
VEDO         4015504972677535            Gas           Gov. Aggregation   COH             154294280024                Gas           Gov. Aggregation
VEDO         4017090262676592            Gas           Gov. Aggregation   COH             164525490018                Gas           Gov. Aggregation
VEDO         4020265742675821            Gas           Gov. Aggregation   COH             134443010018                Gas           Gov. Aggregation
VEDO         4020862912677131            Gas           Gov. Aggregation   COH             110388110013                Gas           Gov. Aggregation
VEDO         4018583022429005            Gas           Gov. Aggregation   COH             131422750010                Gas           Gov. Aggregation
VEDO         4004766842484804            Gas           Gov. Aggregation   COH             189584220011                Gas           Gov. Aggregation
VEDO         4018984832450883            Gas           Gov. Aggregation   COH             146934530078                Gas           Gov. Aggregation
VEDO         4017726022460507            Gas           Gov. Aggregation   COH             144149300028                Gas           Gov. Aggregation
VEDO         4018583022436936            Gas           Gov. Aggregation   COH             150723650010                Gas           Gov. Aggregation
VEDO         4019007772358733            Gas           Gov. Aggregation   COH             143535360019                Gas           Gov. Aggregation
VEDO         4018583022314181            Gas           Gov. Aggregation   COH             110352940023                Gas           Gov. Aggregation
VEDO         4018583022320158            Gas           Gov. Aggregation   COH             188784740019                Gas           Gov. Aggregation
VEDO         4017715462487775            Gas           Gov. Aggregation   COH             110290170018                Gas           Gov. Aggregation
VEDO         4018702322518129            Gas           Gov. Aggregation   COH             110273250017                Gas           Gov. Aggregation
VEDO         4015465832322189            Gas           Gov. Aggregation   COH             173441870015                Gas           Gov. Aggregation
VEDO         4020878462267191            Gas           Gov. Aggregation   COH             110304800014                Gas           Gov. Aggregation
VEDO         4001111212242828            Gas           Gov. Aggregation   COH             174232280011                Gas           Gov. Aggregation
VEDO         4017857542375831            Gas           Gov. Aggregation   COH             171029660015                Gas           Gov. Aggregation
VEDO         4017175532608344            Gas           Gov. Aggregation   COH             129177820038                Gas           Gov. Aggregation
VEDO         4004851692494206            Gas           Gov. Aggregation   COH             110273680017                Gas           Gov. Aggregation
VEDO         4018656912130712            Gas           Gov. Aggregation   COH             110915430017                Gas           Gov. Aggregation
VEDO         4001895382494549            Gas           Gov. Aggregation   COH             110363330028                Gas           Gov. Aggregation
VEDO         4020313072555416            Gas           Gov. Aggregation   COH             143678680010                Gas           Gov. Aggregation
VEDO         4018583022589178            Gas           Gov. Aggregation   COH             150289970042                Gas           Gov. Aggregation
VEDO         4019836652265974            Gas           Gov. Aggregation   COH             143922500045                Gas           Gov. Aggregation
VEDO         4001685572671502            Gas           Gov. Aggregation   COH             144592490011                Gas           Gov. Aggregation
VEDO         4015170412312092            Gas           Gov. Aggregation   COH             171048680011                Gas           Gov. Aggregation
VEDO         4015422642232878            Gas           Gov. Aggregation   COH             110319210026                Gas           Gov. Aggregation
VEDO         4017716622587020            Gas           Gov. Aggregation   COH             166385490014                Gas           Gov. Aggregation
VEDO         4001154072114512            Gas           Gov. Aggregation   COH             132237090020                Gas           Gov. Aggregation
VEDO         4019417132537141            Gas           Gov. Aggregation   COH             110291540018                Gas           Gov. Aggregation
VEDO         4018583022388911            Gas           Gov. Aggregation   COH             110374080028                Gas           Gov. Aggregation
VEDO         4018032812179805            Gas           Gov. Aggregation   COH             154794770012                Gas           Gov. Aggregation
VEDO         4004206182366524            Gas           Gov. Aggregation   COH             143135560015                Gas           Gov. Aggregation
VEDO         4018503352311687            Gas           Gov. Aggregation   COH             110947240010                Gas           Gov. Aggregation
VEDO         4002879222282923            Gas           Gov. Aggregation   COH             110290000013                Gas           Gov. Aggregation
VEDO         4002063262370275            Gas           Gov. Aggregation   COH             154105510015                Gas           Gov. Aggregation
VEDO         4018583022418013            Gas           Gov. Aggregation   COH             171729660011                Gas           Gov. Aggregation
VEDO         4020026432514213            Gas           Gov. Aggregation   COH             168783660021                Gas           Gov. Aggregation
VEDO         4001941782189685            Gas           Gov. Aggregation   COH             137785820020                Gas           Gov. Aggregation
VEDO         4018538232391531            Gas           Gov. Aggregation   COH             177107330012                Gas           Gov. Aggregation
VEDO         4003551832352655            Gas           Gov. Aggregation   COH             152779150034                Gas           Gov. Aggregation
VEDO         4002639802258877            Gas           Gov. Aggregation   COH             161491600010                Gas           Gov. Aggregation
VEDO         4018537742490643            Gas           Gov. Aggregation   COH             185294920013                Gas           Gov. Aggregation
VEDO         4004459552623127            Gas           Gov. Aggregation   COH             110312710016                Gas           Gov. Aggregation
VEDO         4016874862614281            Gas           Gov. Aggregation   COH             110399440011                Gas           Gov. Aggregation
VEDO         4018899262671239            Gas           Gov. Aggregation   COH             110992540021                Gas           Gov. Aggregation
VEDO         4001199952625294            Gas           Gov. Aggregation   COH             136623100015                Gas           Gov. Aggregation
VEDO         4002654272611239            Gas           Gov. Aggregation   COH             110399720012                Gas           Gov. Aggregation
VEDO         4018695052623128            Gas           Gov. Aggregation   COH             110985160026                Gas           Gov. Aggregation
VEDO         4020871022606274            Gas           Gov. Aggregation   COH             175454520019                Gas           Gov. Aggregation
VEDO         4017400722609891            Gas           Gov. Aggregation   COH             170430130016                Gas           Gov. Aggregation
VEDO         4018855382606273            Gas           Gov. Aggregation   COH             110373080020                Gas           Gov. Aggregation
VEDO         4005121132552100            Gas           Gov. Aggregation   COH             132899510038                Gas           Gov. Aggregation
VEDO         4015002292672008            Gas           Gov. Aggregation   COH             141998730013                Gas           Gov. Aggregation
VEDO         4015774812614279            Gas           Gov. Aggregation   COH             110273810019                Gas           Gov. Aggregation
VEDO         4004065792602147            Gas           Gov. Aggregation   COH             186171320018                Gas           Gov. Aggregation
VEDO         4004050302671241            Gas           Gov. Aggregation   COH             160174940012                Gas           Gov. Aggregation
VEDO         4018341782671500            Gas           Gov. Aggregation   COH             142166180011                Gas           Gov. Aggregation
VEDO         4019845642368998            Gas           Gov. Aggregation   COH             142239410026                Gas           Gov. Aggregation
VEDO         4018410242118922            Gas           Gov. Aggregation   COH             146420990026                Gas           Gov. Aggregation
VEDO         4004954442505551            Gas           Gov. Aggregation   COH             190692490013                Gas           Gov. Aggregation
VEDO         4020866832602073            Gas           Gov. Aggregation   COH             189439670014                Gas           Gov. Aggregation
VEDO         4017033132629835            Gas           Gov. Aggregation   COH             187685430015                Gas           Gov. Aggregation
VEDO         4003314202630733            Gas           Gov. Aggregation   COH             185153590011                Gas           Gov. Aggregation
VEDO         4018042982632103            Gas           Gov. Aggregation   COH             174267090018                Gas           Gov. Aggregation
VEDO         4019279522623397            Gas           Gov. Aggregation   COH             144293640022                Gas           Gov. Aggregation
VEDO         4018461712606329            Gas           Gov. Aggregation   COH             161053850203                Gas           Gov. Aggregation
VEDO         4005046452632069            Gas           Gov. Aggregation   COH             155239050036                Gas           Gov. Aggregation
VEDO         4003246622633016            Gas           Gov. Aggregation   COH             139349540012                Gas           Gov. Aggregation
VEDO         4020213712615862            Gas           Gov. Aggregation   COH             110922520013                Gas           Gov. Aggregation
VEDO         4018112362632027            Gas           Gov. Aggregation   COH             188689480016                Gas           Gov. Aggregation
VEDO         4016071102571321            Gas           Gov. Aggregation   COH             110922350019                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4018052902571324            Gas           Gov. Aggregation   COH             110923510013                Gas           Gov. Aggregation
VEDO         4017477522586496            Gas           Gov. Aggregation   COH             167960590030                Gas           Gov. Aggregation
VEDO         4016397442586495            Gas           Gov. Aggregation   COH             175795930020                Gas           Gov. Aggregation
VEDO         4015698522556379            Gas           Gov. Aggregation   COH             191565610015                Gas           Gov. Aggregation
VEDO         4018511532571432            Gas           Gov. Aggregation   COH             192754300018                Gas           Gov. Aggregation
VEDO         4020141632623911            Gas           Gov. Aggregation   COH             169130870010                Gas           Gov. Aggregation
VEDO         4018024982593699            Gas           Gov. Aggregation   COH             192328480014                Gas           Gov. Aggregation
VEDO         4018958242598003            Gas           Gov. Aggregation   COH             193017560015                Gas           Gov. Aggregation
VEDO         4003231112599372            Gas           Gov. Aggregation   COH             193099030014                Gas           Gov. Aggregation
VEDO         4016594522599369            Gas           Gov. Aggregation   COH             160957830015                Gas           Gov. Aggregation
VEDO         4002693732551298            Gas           Gov. Aggregation   COH             155119870010                Gas           Gov. Aggregation
VEDO         4019240972568400            Gas           Gov. Aggregation   COH             170832060019                Gas           Gov. Aggregation
VEDO         4021011182548955            Gas           Gov. Aggregation   COH             160996460011                Gas           Gov. Aggregation
VEDO         4015671352544496            Gas           Gov. Aggregation   COH             142714650019                Gas           Gov. Aggregation
VEDO         4015617442553363            Gas           Gov. Aggregation   COH             158118860011                Gas           Gov. Aggregation
VEDO         4002477392314862            Gas           Gov. Aggregation   COH             186675630015                Gas           Gov. Aggregation
VEDO         4019457232314986            Gas           Gov. Aggregation   COH             166058910018                Gas           Gov. Aggregation
VEDO         4017006762464517            Gas           Gov. Aggregation   COH             187300830015                Gas           Gov. Aggregation
VEDO         4018316212384975            Gas           Gov. Aggregation   COH             176197060011                Gas           Gov. Aggregation
VEDO         4018450872146042            Gas           Gov. Aggregation   COH             187732100013                Gas           Gov. Aggregation
VEDO         4020137542185460            Gas           Gov. Aggregation   COH             168801600014                Gas           Gov. Aggregation
VEDO         4003080252303510            Gas           Gov. Aggregation   COH             110903010010                Gas           Gov. Aggregation
VEDO         4019268582330565            Gas           Gov. Aggregation   COH             111014840010                Gas           Gov. Aggregation
VEDO         4019882732592616            Gas           Gov. Aggregation   COH             121796160015                Gas           Gov. Aggregation
VEDO         4018583022568399            Gas           Gov. Aggregation   COH             110417470033                Gas           Gov. Aggregation
VEDO         4017663102581102            Gas           Gov. Aggregation   COH             110273070015                Gas           Gov. Aggregation
VEDO         4019433192532883            Gas           Gov. Aggregation   COH             140457610015                Gas           Gov. Aggregation
VEDO         4003241772549555            Gas           Gov. Aggregation   COH             130548400018                Gas           Gov. Aggregation
VEDO         4016808212532881            Gas           Gov. Aggregation   COH             110305760011                Gas           Gov. Aggregation
VEDO         4018934292448550            Gas           Gov. Aggregation   COH             111015000014                Gas           Gov. Aggregation
VEDO         4019033292528993            Gas           Gov. Aggregation   COH             158938080017                Gas           Gov. Aggregation
VEDO         4018982642553014            Gas           Gov. Aggregation   COH             185857710013                Gas           Gov. Aggregation
VEDO         4017093192541005            Gas           Gov. Aggregation   COH             110922270016                Gas           Gov. Aggregation
VEDO         4019315312562850            Gas           Gov. Aggregation   COH             110914450015                Gas           Gov. Aggregation
VEDO         4004893502557512            Gas           Gov. Aggregation   COH             136129080018                Gas           Gov. Aggregation
VEDO         4020029162549016            Gas           Gov. Aggregation   COH             110415520027                Gas           Gov. Aggregation
VEDO         4016268952157379            Gas           Gov. Aggregation   COH             110325470029                Gas           Gov. Aggregation
VEDO         4002047492200040            Gas           Gov. Aggregation   COH             130907510022                Gas           Gov. Aggregation
VEDO         4017411792472604            Gas           Gov. Aggregation   COH             143335740013                Gas           Gov. Aggregation
VEDO         4003703322368677            Gas           Gov. Aggregation   COH             187841360018                Gas           Gov. Aggregation
VEDO         4019770182244267            Gas           Gov. Aggregation   COH             110922560015                Gas           Gov. Aggregation
VEDO         4019339162421920            Gas           Gov. Aggregation   COH             130185990024                Gas           Gov. Aggregation
VEDO         4020056482476476            Gas           Gov. Aggregation   COH             110330080020                Gas           Gov. Aggregation
VEDO         4019284712253199            Gas           Gov. Aggregation   COH             150398360030                Gas           Gov. Aggregation
VEDO         4004607072467239            Gas           Gov. Aggregation   COH             148995160012                Gas           Gov. Aggregation
VEDO         4004921362501859            Gas           Gov. Aggregation   COH             111023660019                Gas           Gov. Aggregation
VEDO         4018533682448879            Gas           Gov. Aggregation   COH             153560390018                Gas           Gov. Aggregation
VEDO         4001124302111843            Gas           Gov. Aggregation   COH             171182000019                Gas           Gov. Aggregation
VEDO         4017882882528596            Gas           Gov. Aggregation   COH             132042270034                Gas           Gov. Aggregation
VEDO         4019393392491006            Gas           Gov. Aggregation   COH             177651180011                Gas           Gov. Aggregation
VEDO         4017457532406005            Gas           Gov. Aggregation   COH             167482910018                Gas           Gov. Aggregation
VEDO         4001169152167845            Gas           Gov. Aggregation   COH             162803100011                Gas           Gov. Aggregation
VEDO         4018729052245815            Gas           Gov. Aggregation   COH             110966450016                Gas           Gov. Aggregation
VEDO         4020174402384328            Gas           Gov. Aggregation   COH             142885560017                Gas           Gov. Aggregation
VEDO         4018701802436216            Gas           Gov. Aggregation   COH             127232380017                Gas           Gov. Aggregation
VEDO         4001434352140634            Gas           Gov. Aggregation   COH             158296930010                Gas           Gov. Aggregation
VEDO         4019748222483528            Gas           Gov. Aggregation   COH             173980450011                Gas           Gov. Aggregation
VEDO         4019398792208736            Gas           Gov. Aggregation   COH             138737020019                Gas           Gov. Aggregation
VEDO         4004530242257460            Gas           Gov. Aggregation   COH             110305500015                Gas           Gov. Aggregation
VEDO         4017843022312091            Gas           Gov. Aggregation   COH             168911640013                Gas           Gov. Aggregation
VEDO         4017201172191683            Gas           Gov. Aggregation   COH             137264440015                Gas           Gov. Aggregation
VEDO         4003100352305590            Gas           Gov. Aggregation   COH             177367390010                Gas           Gov. Aggregation
VEDO         4015146482339082            Gas           Gov. Aggregation   COH             110946920019                Gas           Gov. Aggregation
VEDO         4015258782217415            Gas           Gov. Aggregation   COH             165324470017                Gas           Gov. Aggregation
VEDO         4002310532226092            Gas           Gov. Aggregation   COH             162271370014                Gas           Gov. Aggregation
VEDO         4018921742311546            Gas           Gov. Aggregation   COH             145957650012                Gas           Gov. Aggregation
VEDO         4020278092159425            Gas           Gov. Aggregation   COH             110305200018                Gas           Gov. Aggregation
VEDO         4019319082308274            Gas           Gov. Aggregation   COH             147916020018                Gas           Gov. Aggregation
VEDO         4016522642368736            Gas           Gov. Aggregation   COH             111023830013                Gas           Gov. Aggregation
VEDO         4004767172273606            Gas           Gov. Aggregation   COH             139034950013                Gas           Gov. Aggregation
VEDO         4004703322477886            Gas           Gov. Aggregation   COH             168783700013                Gas           Gov. Aggregation
VEDO         4020868002199436            Gas           Gov. Aggregation   COH             195054200010                Gas           Gov. Aggregation
VEDO         4002191462427475            Gas           Gov. Aggregation   COH             156865760020                Gas           Gov. Aggregation
VEDO         4019511522297337            Gas           Gov. Aggregation   COH             110313130016                Gas           Gov. Aggregation
VEDO         4018218872193687            Gas           Gov. Aggregation   COH             110337270062                Gas           Gov. Aggregation
VEDO         4015818982458300            Gas           Gov. Aggregation   COH             110352030024                Gas           Gov. Aggregation
VEDO         4020918982305624            Gas           Gov. Aggregation   COH             200099490018                Gas           Gov. Aggregation
VEDO         4019006582466267            Gas           Gov. Aggregation   COH             197946720018                Gas           Gov. Aggregation
VEDO         4017440392161965            Gas           Gov. Aggregation   COH             197932430018                Gas           Gov. Aggregation
VEDO         4002088762204112            Gas           Gov. Aggregation   COH             199153370011                Gas           Gov. Aggregation
VEDO         4019396372431306            Gas           Gov. Aggregation   COH             199221660015                Gas           Gov. Aggregation
VEDO         4004252682644018            Gas           Gov. Aggregation   COH             199221660033                Gas           Gov. Aggregation
VEDO         4020179892674009            Gas           Gov. Aggregation   COH             195742900014                Gas           Gov. Aggregation
VEDO         4019214512671262            Gas           Gov. Aggregation   COH             195944960014                Gas           Gov. Aggregation
VEDO         4002998542624113            Gas           Gov. Aggregation   COH             196004040018                Gas           Gov. Aggregation
VEDO         4018934962633300            Gas           Gov. Aggregation   COH             196148160019                Gas           Gov. Aggregation
VEDO         4002451642637628            Gas           Gov. Aggregation   COH             196226840010                Gas           Gov. Aggregation
VEDO         4016131052592459            Gas           Gov. Aggregation   COH             195489520012                Gas           Gov. Aggregation
VEDO         4015881092582907            Gas           Gov. Aggregation   COH             110914520010                Gas           Gov. Aggregation
VEDO         4017199562582901            Gas           Gov. Aggregation   COH             147314320011                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4018382692340566            Gas           Gov. Aggregation   COH             158459540098                Gas           Gov. Aggregation
VEDO         4019895142482362            Gas           Gov. Aggregation   COH             158516160041                Gas           Gov. Aggregation
VEDO         4001057512642832            Gas           Gov. Aggregation   COH             162557260039                Gas           Gov. Aggregation
VEDO         4016780602599881            Gas           Gov. Aggregation   COH             168389610081                Gas           Gov. Aggregation
VEDO         4020923522677253            Gas           Gov. Aggregation   COH             192945000016                Gas           Gov. Aggregation
VEDO         4002421222671261            Gas           Gov. Aggregation   COH             191375850018                Gas           Gov. Aggregation
VEDO         4001633962645276            Gas           Gov. Aggregation   COH             192579750016                Gas           Gov. Aggregation
VEDO         4016403332448294            Gas           Gov. Aggregation   COH             189077060029                Gas           Gov. Aggregation
VEDO         4003684912625596            Gas           Gov. Aggregation   COH             194339240019                Gas           Gov. Aggregation
VEDO         4015945432530892            Gas           Gov. Aggregation   COH             163548100067                Gas           Gov. Aggregation
VEDO         4001194182511773            Gas           Gov. Aggregation   COH             146142750017                Gas           Gov. Aggregation
VEDO         4019294192595137            Gas           Gov. Aggregation   COH             110914480019                Gas           Gov. Aggregation
VEDO         4019753252648511            Gas           Gov. Aggregation   COH             110380930044                Gas           Gov. Aggregation
VEDO         4020039202673453            Gas           Gov. Aggregation   COH             110976300016                Gas           Gov. Aggregation
VEDO         4020292172675767            Gas           Gov. Aggregation   COH             133106610026                Gas           Gov. Aggregation
VEDO         4003428482676695            Gas           Gov. Aggregation   COH             177446900014                Gas           Gov. Aggregation
VEDO         4020177302675768            Gas           Gov. Aggregation   COH             111014980011                Gas           Gov. Aggregation
VEDO         4019201422644305            Gas           Gov. Aggregation   COH             164810990018                Gas           Gov. Aggregation
VEDO         4020077732529944            Gas           Gov. Aggregation   COH             156552560016                Gas           Gov. Aggregation
VEDO         4019296772529999            Gas           Gov. Aggregation   COH             156552560034                Gas           Gov. Aggregation
VEDO         4001503252598581            Gas           Gov. Aggregation   COH             110915380018                Gas           Gov. Aggregation
VEDO         4002954352610143            Gas           Gov. Aggregation   COH             164235920049                Gas           Gov. Aggregation
VEDO         4017335302613941            Gas           Gov. Aggregation   COH             149296740066                Gas           Gov. Aggregation
VEDO         4019346472133560            Gas           Gov. Aggregation   COH             153484990014                Gas           Gov. Aggregation
VEDO         4016963792618553            Gas           Gov. Aggregation   COH             185386150010                Gas           Gov. Aggregation
VEDO         4020070692586746            Gas           Gov. Aggregation   COH             110385090023                Gas           Gov. Aggregation
VEDO         4001035292294325            Gas           Gov. Aggregation   COH             186601630038                Gas           Gov. Aggregation
VEDO         4020787042455609            Gas           Gov. Aggregation   COH             177513390019                Gas           Gov. Aggregation
VEDO         4020799972253496            Gas           Gov. Aggregation   COH             148885130011                Gas           Gov. Aggregation
VEDO         4019111812422736            Gas           Gov. Aggregation   COH             150426380071                Gas           Gov. Aggregation
VEDO         4016015292239868            Gas           Gov. Aggregation   COH             110305020025                Gas           Gov. Aggregation
VEDO         4002842862324361            Gas           Gov. Aggregation   COH             145850400010                Gas           Gov. Aggregation
VEDO         4001879512525881            Gas           Gov. Aggregation   COH             165384700030                Gas           Gov. Aggregation
VEDO         4015694232278823            Gas           Gov. Aggregation   COH             162027730015                Gas           Gov. Aggregation
VEDO         4003703112503988            Gas           Gov. Aggregation   COH             110353050019                Gas           Gov. Aggregation
VEDO         4017643892117467            Gas           Gov. Aggregation   COH             110352130014                Gas           Gov. Aggregation
VEDO         4017781762436023            Gas           Gov. Aggregation   COH             110922550017                Gas           Gov. Aggregation
VEDO         4004960162371414            Gas           Gov. Aggregation   COH             110947280012                Gas           Gov. Aggregation
VEDO         4017202482302159            Gas           Gov. Aggregation   COH             163342270013                Gas           Gov. Aggregation
VEDO         4020274202327927            Gas           Gov. Aggregation   COH             152039990045                Gas           Gov. Aggregation
VEDO         4018608172356176            Gas           Gov. Aggregation   COH             110381920017                Gas           Gov. Aggregation
VEDO         4018681372252199            Gas           Gov. Aggregation   COH             110914710010                Gas           Gov. Aggregation
VEDO         4016960762300000            Gas           Gov. Aggregation   COH             177840590014                Gas           Gov. Aggregation
VEDO         4018179942427870            Gas           Gov. Aggregation   COH             110272720010                Gas           Gov. Aggregation
VEDO         4016639472431501            Gas           Gov. Aggregation   COH             138151810015                Gas           Gov. Aggregation
VEDO         4005119762330233            Gas           Gov. Aggregation   COH             110407660034                Gas           Gov. Aggregation
VEDO         4020289942283291            Gas           Gov. Aggregation   COH             110941080016                Gas           Gov. Aggregation
VEDO         4019986082138137            Gas           Gov. Aggregation   COH             137499920044                Gas           Gov. Aggregation
VEDO         4001476922144665            Gas           Gov. Aggregation   COH             147468700016                Gas           Gov. Aggregation
VEDO         4004304352433886            Gas           Gov. Aggregation   COH             110903260018                Gas           Gov. Aggregation
VEDO         4018019402226046            Gas           Gov. Aggregation   COH             167767570016                Gas           Gov. Aggregation
VEDO         4004812252366142            Gas           Gov. Aggregation   COH             110914390018                Gas           Gov. Aggregation
VEDO         4017962482447873            Gas           Gov. Aggregation   COH             129014600010                Gas           Gov. Aggregation
VEDO         4017950902163083            Gas           Gov. Aggregation   COH             150063380017                Gas           Gov. Aggregation
VEDO         4003228382318806            Gas           Gov. Aggregation   COH             144322430032                Gas           Gov. Aggregation
VEDO         4020328612157496            Gas           Gov. Aggregation   COH             110388120011                Gas           Gov. Aggregation
VEDO         4005031372190968            Gas           Gov. Aggregation   COH             167535890010                Gas           Gov. Aggregation
VEDO         4020068532453603            Gas           Gov. Aggregation   COH             166696020031                Gas           Gov. Aggregation
VEDO         4016075002158999            Gas           Gov. Aggregation   COH             161429370010                Gas           Gov. Aggregation
VEDO         4004049482406035            Gas           Gov. Aggregation   COH             110915400013                Gas           Gov. Aggregation
VEDO         4019770992205125            Gas           Gov. Aggregation   COH             168566630018                Gas           Gov. Aggregation
VEDO         4018559212275043            Gas           Gov. Aggregation   COH             110941070018                Gas           Gov. Aggregation
VEDO         4018168902387377            Gas           Gov. Aggregation   COH             187310890012                Gas           Gov. Aggregation
VEDO         4005071992518854            Gas           Gov. Aggregation   COH             186504660010                Gas           Gov. Aggregation
VEDO         4016705602447921            Gas           Gov. Aggregation   COH             110305300017                Gas           Gov. Aggregation
VEDO         4018334022140342            Gas           Gov. Aggregation   COH             188649110017                Gas           Gov. Aggregation
VEDO         4017175412135452            Gas           Gov. Aggregation   COH             166609750013                Gas           Gov. Aggregation
VEDO         4018617492411987            Gas           Gov. Aggregation   COH             136078160029                Gas           Gov. Aggregation
VEDO         4002799302153264            Gas           Gov. Aggregation   COH             154662380031                Gas           Gov. Aggregation
VEDO         4003839862141725            Gas           Gov. Aggregation   COH             154148150011                Gas           Gov. Aggregation
VEDO         4019288822370167            Gas           Gov. Aggregation   COH             161823200037                Gas           Gov. Aggregation
VEDO         4017073312282788            Gas           Gov. Aggregation   COH             110914910018                Gas           Gov. Aggregation
VEDO         4018019712486319            Gas           Gov. Aggregation   COH             160074670039                Gas           Gov. Aggregation
VEDO         4015022922232518            Gas           Gov. Aggregation   COH             150536590010                Gas           Gov. Aggregation
VEDO         4016793212278776            Gas           Gov. Aggregation   COH             133896750015                Gas           Gov. Aggregation
VEDO         4019806362489732            Gas           Gov. Aggregation   COH             110940650018                Gas           Gov. Aggregation
VEDO         4002433322301556            Gas           Gov. Aggregation   COH             170832110018                Gas           Gov. Aggregation
VEDO         4020048112454808            Gas           Gov. Aggregation   COH             166691410011                Gas           Gov. Aggregation
VEDO         4004614052358766            Gas           Gov. Aggregation   COH             171279910013                Gas           Gov. Aggregation
VEDO         4015129982133308            Gas           Gov. Aggregation   COH             168977410022                Gas           Gov. Aggregation
VEDO         4020296802118774            Gas           Gov. Aggregation   COH             111024300021                Gas           Gov. Aggregation
VEDO         4017318752306322            Gas           Gov. Aggregation   COH             168992640022                Gas           Gov. Aggregation
VEDO         4016059282116485            Gas           Gov. Aggregation   COH             168203260023                Gas           Gov. Aggregation
VEDO         4018081022154007            Gas           Gov. Aggregation   COH             189621470019                Gas           Gov. Aggregation
VEDO         4001432522460132            Gas           Gov. Aggregation   COH             192822740011                Gas           Gov. Aggregation
VEDO         4016360322479795            Gas           Gov. Aggregation   COH             191597050016                Gas           Gov. Aggregation
VEDO         4016011912107313            Gas           Gov. Aggregation   COH             110923020016                Gas           Gov. Aggregation
VEDO         4002509532245897            Gas           Gov. Aggregation   COH             164106990039                Gas           Gov. Aggregation
VEDO         4001990532194423            Gas           Gov. Aggregation   COH             203916890017                Gas           Gov. Aggregation
VEDO         4019253662248565            Gas           Gov. Aggregation   COH             202551400014                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4020800372418670            Gas           Gov. Aggregation   COH             202579510013                Gas           Gov. Aggregation
VEDO         4003407792157896            Gas           Gov. Aggregation   COH             202625510014                Gas           Gov. Aggregation
VEDO         4019060382176938            Gas           Gov. Aggregation   COH             202676150022                Gas           Gov. Aggregation
VEDO         4001957032381030            Gas           Gov. Aggregation   COH             177729260019                Gas           Gov. Aggregation
VEDO         4017883182213149            Gas           Gov. Aggregation   COH             131399410012                Gas           Gov. Aggregation
VEDO         4018500072487723            Gas           Gov. Aggregation   COH             110352320014                Gas           Gov. Aggregation
VEDO         4017389802289614            Gas           Gov. Aggregation   COH             110904380020                Gas           Gov. Aggregation
VEDO         4019754182180072            Gas           Gov. Aggregation   COH             110296610022                Gas           Gov. Aggregation
VEDO         4004342262437981            Gas           Gov. Aggregation   COH             110305220014                Gas           Gov. Aggregation
VEDO         4002872612282261            Gas           Gov. Aggregation   COH             110970090013                Gas           Gov. Aggregation
VEDO         4019364492196124            Gas           Gov. Aggregation   COH             110305170015                Gas           Gov. Aggregation
VEDO         4019798822361969            Gas           Gov. Aggregation   COH             110923460014                Gas           Gov. Aggregation
VEDO         4002671892262061            Gas           Gov. Aggregation   COH             110314780018                Gas           Gov. Aggregation
VEDO         4015946082196858            Gas           Gov. Aggregation   COH             110387880050                Gas           Gov. Aggregation
VEDO         4004100732411648            Gas           Gov. Aggregation   COH             138678530018                Gas           Gov. Aggregation
VEDO         4002830292278033            Gas           Gov. Aggregation   COH             111004080011                Gas           Gov. Aggregation
VEDO         4018257612119816            Gas           Gov. Aggregation   COH             110414830024                Gas           Gov. Aggregation
VEDO         4019126692459886            Gas           Gov. Aggregation   COH             134334230013                Gas           Gov. Aggregation
VEDO         4019852462300956            Gas           Gov. Aggregation   COH             148140080010                Gas           Gov. Aggregation
VEDO         4017422672435148            Gas           Gov. Aggregation   COH             110287370013                Gas           Gov. Aggregation
VEDO         4018405152493430            Gas           Gov. Aggregation   COH             110296670020                Gas           Gov. Aggregation
VEDO         4019891142250886            Gas           Gov. Aggregation   COH             126805820038                Gas           Gov. Aggregation
VEDO         4003917922264207            Gas           Gov. Aggregation   COH             134909670012                Gas           Gov. Aggregation
VEDO         4019239782505702            Gas           Gov. Aggregation   COH             110902900015                Gas           Gov. Aggregation
VEDO         4017699342270182            Gas           Gov. Aggregation   COH             150283300017                Gas           Gov. Aggregation
VEDO         4020311992160452            Gas           Gov. Aggregation   COH             161216880014                Gas           Gov. Aggregation
VEDO         4005030142514090            Gas           Gov. Aggregation   COH             110983370017                Gas           Gov. Aggregation
VEDO         4015460072209015            Gas           Gov. Aggregation   COH             110983560017                Gas           Gov. Aggregation
VEDO         4019815242101582            Gas           Gov. Aggregation   COH             110291040013                Gas           Gov. Aggregation
VEDO         4019939552274796            Gas           Gov. Aggregation   COH             143858160017                Gas           Gov. Aggregation
VEDO         4019174962519260            Gas           Gov. Aggregation   COH             142541890016                Gas           Gov. Aggregation
VEDO         4015031262335629            Gas           Gov. Aggregation   COH             177541050011                Gas           Gov. Aggregation
VEDO         4017734352398459            Gas           Gov. Aggregation   COH             141954430018                Gas           Gov. Aggregation
VEDO         4015660512205872            Gas           Gov. Aggregation   COH             132924790017                Gas           Gov. Aggregation
VEDO         4019010032357999            Gas           Gov. Aggregation   COH             175826830015                Gas           Gov. Aggregation
VEDO         4019471362163342            Gas           Gov. Aggregation   COH             172004360019                Gas           Gov. Aggregation
VEDO         4020857892171078            Gas           Gov. Aggregation   COH             110363610010                Gas           Gov. Aggregation
VEDO         4018812012389620            Gas           Gov. Aggregation   COH             137301270020                Gas           Gov. Aggregation
VEDO         4017412152139492            Gas           Gov. Aggregation   COH             166657850011                Gas           Gov. Aggregation
VEDO         4004376462516106            Gas           Gov. Aggregation   COH             110993820011                Gas           Gov. Aggregation
VEDO         4016204852129975            Gas           Gov. Aggregation   COH             114412130012                Gas           Gov. Aggregation
VEDO         4019351252348276            Gas           Gov. Aggregation   COH             130228020016                Gas           Gov. Aggregation
VEDO         4005143412526966            Gas           Gov. Aggregation   COH             197464360016                Gas           Gov. Aggregation
VEDO         4020327322387457            Gas           Gov. Aggregation   COH             111024420017                Gas           Gov. Aggregation
VEDO         4020932152271359            Gas           Gov. Aggregation   COH             199880180010                Gas           Gov. Aggregation
VEDO         4020264402500626            Gas           Gov. Aggregation   COH             131600030022                Gas           Gov. Aggregation
VEDO         4020244802338032            Gas           Gov. Aggregation   COH             110382510011                Gas           Gov. Aggregation
VEDO         4015547052441785            Gas           Gov. Aggregation   COH             110382180020                Gas           Gov. Aggregation
VEDO         4004006592512602            Gas           Gov. Aggregation   COH             194643650018                Gas           Gov. Aggregation
VEDO         4016790932507803            Gas           Gov. Aggregation   COH             164684680030                Gas           Gov. Aggregation
VEDO         4017359032414077            Gas           Gov. Aggregation   COH             205191650013                Gas           Gov. Aggregation
VEDO         4019135882105161            Gas           Gov. Aggregation   COH             197929920049                Gas           Gov. Aggregation
VEDO         4020089122464100            Gas           Gov. Aggregation   COH             201360620014                Gas           Gov. Aggregation
VEDO         4002808392275834            Gas           Gov. Aggregation   COH             203303630029                Gas           Gov. Aggregation
VEDO         4018346312330974            Gas           Gov. Aggregation   COH             196226840029                Gas           Gov. Aggregation
VEDO         4020057972429270            Gas           Gov. Aggregation   COH             199842910025                Gas           Gov. Aggregation
VEDO         4018274932530824            Gas           Gov. Aggregation   COH             202417690018                Gas           Gov. Aggregation
VEDO         4003932022530361            Gas           Gov. Aggregation   COH             205635690013                Gas           Gov. Aggregation
VEDO         4003239552255492            Gas           Gov. Aggregation   COH             188736110012                Gas           Gov. Aggregation
VEDO         4020177862152005            Gas           Gov. Aggregation   COH             153815920024                Gas           Gov. Aggregation
VEDO         4019787102218262            Gas           Gov. Aggregation   COH             204699110011                Gas           Gov. Aggregation
VEDO         4020132972156527            Gas           Gov. Aggregation   COH             203779190016                Gas           Gov. Aggregation
VEDO         4020066712123925            Gas           Gov. Aggregation   COH             203105180015                Gas           Gov. Aggregation
VEDO         4019166122193655            Gas           Gov. Aggregation   COH             206197770015                Gas           Gov. Aggregation
VEDO         4002654272216894            Gas           Gov. Aggregation   COH             193733650036                Gas           Gov. Aggregation
VEDO         4018414102203195            Gas           Gov. Aggregation   COH             206133890014                Gas           Gov. Aggregation
VEDO         4018380742521161            Gas           Gov. Aggregation   COH             202517890014                Gas           Gov. Aggregation
VEDO         4019804472114110            Gas           Gov. Aggregation   COH             171107760027                Gas           Gov. Aggregation
VEDO         4003150602310841            Gas           Gov. Aggregation   COH             202321330016                Gas           Gov. Aggregation
VEDO         4019250192194305            Gas           Gov. Aggregation   COH             176069950042                Gas           Gov. Aggregation
VEDO         4019753972446682            Gas           Gov. Aggregation   COH             204420950014                Gas           Gov. Aggregation
VEDO         4003780002376880            Gas           Gov. Aggregation   COH             206323400013                Gas           Gov. Aggregation
VEDO         4015623182152699            Gas           Gov. Aggregation   COH             206183930010                Gas           Gov. Aggregation
VEDO         4017024052310404            Gas           Gov. Aggregation   COH             204909280019                Gas           Gov. Aggregation
VEDO         4020213672382291            Gas           Gov. Aggregation   COH             203033240015                Gas           Gov. Aggregation
VEDO         4019143612524360            Gas           Gov. Aggregation   COH             206244090017                Gas           Gov. Aggregation
VEDO         4004238442426706            Gas           Gov. Aggregation   COH             186018720018                Gas           Gov. Aggregation
VEDO         4020221082673561            Gas           Gov. Aggregation   COH             144885930035                Gas           Gov. Aggregation
VEDO         4001718952673562            Gas           Gov. Aggregation   COH             192930080020                Gas           Gov. Aggregation
VEDO         4001718952673563            Gas           Gov. Aggregation   COH             185124450066                Gas           Gov. Aggregation
VEDO         4019983502385391            Gas           Gov. Aggregation   COH             198209660012                Gas           Gov. Aggregation
VEDO         4019062952333054            Gas           Gov. Aggregation   COH             202104760016                Gas           Gov. Aggregation
VEDO         4019895652297645            Gas           Gov. Aggregation   COH             205496720012                Gas           Gov. Aggregation
VEDO         4001914172186863            Gas           Gov. Aggregation   COH             205815690011                Gas           Gov. Aggregation
VEDO         4018493282173659            Gas           Gov. Aggregation   COH             110915320010                Gas           Gov. Aggregation
VEDO         4003150552310834            Gas           Gov. Aggregation   COH             110921790019                Gas           Gov. Aggregation
VEDO         4016309442429017            Gas           Gov. Aggregation   VEDO            4001491072145994            Gas           Gov. Aggregation
VEDO         4002908962285871            Gas           Gov. Aggregation   DEO             3180011153368               Gas           Gov. Aggregation
VEDO         4020286022171779            Gas           Gov. Aggregation   DEO             8180011216433               Gas           Gov. Aggregation
VEDO         4019800362142538            Gas           Gov. Aggregation   VEDO            4002451302239997            Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4004840712492960            Gas           Gov. Aggregation   VEDO            4001763932249742            Gas           Gov. Aggregation
VEDO         4019823632140165            Gas           Gov. Aggregation   COH             142338420024                Gas           Gov. Aggregation
VEDO         4016859932129771            Gas           Gov. Aggregation   COH             123990190015                Gas           Gov. Aggregation
VEDO         4004148652416840            Gas           Gov. Aggregation   COH             123990190033                Gas           Gov. Aggregation
VEDO         4003859262385496            Gas           Gov. Aggregation   COH             123990190024                Gas           Gov. Aggregation
VEDO         4015278462159369            Gas           Gov. Aggregation   COH             124006540015                Gas           Gov. Aggregation
VEDO         4016525462329618            Gas           Gov. Aggregation   VEDO            4003297562325970            Gas           Gov. Aggregation
VEDO         4018885382145911            Gas           Gov. Aggregation   VEDO            4004919412501646            Gas           Gov. Aggregation
VEDO         4017547452136510            Gas           Gov. Aggregation   COH             124640450029                Gas           Gov. Aggregation
VEDO         4017666612353408            Gas           Gov. Aggregation   VEDO            4003719342415239            Gas           Gov. Aggregation
VEDO         4003503272347555            Gas           Gov. Aggregation   COH             206372980019                Gas           Gov. Aggregation
VEDO         4018779142627682            Gas           Gov. Aggregation   COH             206223690015                Gas           Gov. Aggregation
VEDO         4015261902421193            Gas           Gov. Aggregation   COH             202933520019                Gas           Gov. Aggregation
VEDO         4004688172239945            Gas           Gov. Aggregation   COH             198420170044                Gas           Gov. Aggregation
VEDO         4004776142158468            Gas           Gov. Aggregation   COH             147538120037                Gas           Gov. Aggregation
VEDO         4001231362215988            Gas           Gov. Aggregation   COH             127197210045                Gas           Gov. Aggregation
VEDO         4018605722145501            Gas           Gov. Aggregation   COH             185958320048                Gas           Gov. Aggregation
VEDO         4003538262380646            Gas           Gov. Aggregation   COH             202497700017                Gas           Gov. Aggregation
VEDO         4020230432237845            Gas           Gov. Aggregation   COH             202503620019                Gas           Gov. Aggregation
VEDO         4019841652526196            Gas           Gov. Aggregation   COH             202815900019                Gas           Gov. Aggregation
VEDO         4020908492441635            Gas           Gov. Aggregation   COH             204686840015                Gas           Gov. Aggregation
VEDO         4017045682267417            Gas           Gov. Aggregation   COH             166840050029                Gas           Gov. Aggregation
VEDO         4020032192592139            Gas           Gov. Aggregation   COH             204674400012                Gas           Gov. Aggregation
VEDO         4019996222592204            Gas           Gov. Aggregation   COH             200597790019                Gas           Gov. Aggregation
VEDO         4020137422211655            Gas           Gov. Aggregation   COH             203324500013                Gas           Gov. Aggregation
VEDO         4002432742238162            Gas           Gov. Aggregation   COH             206057970019                Gas           Gov. Aggregation
VEDO         4003444572341476            Gas           Gov. Aggregation   COH             205381280018                Gas           Gov. Aggregation
VEDO         4020919992210811            Gas           Gov. Aggregation   COH             188484280021                Gas           Gov. Aggregation
VEDO         4001579352154512            Gas           Gov. Aggregation   COH             155271230021                Gas           Gov. Aggregation
VEDO         4016053802193413            Gas           Gov. Aggregation   COH             201008960019                Gas           Gov. Aggregation
VEDO         4017134702277105            Gas           Gov. Aggregation   COH             203078430020                Gas           Gov. Aggregation
VEDO         4001932852387194            Gas           Gov. Aggregation   COH             206057980017                Gas           Gov. Aggregation
VEDO         4018914522473517            Gas           Gov. Aggregation   COH             200364090019                Gas           Gov. Aggregation
VEDO         4019915702116794            Gas           Gov. Aggregation   COH             203245890010                Gas           Gov. Aggregation
VEDO         4001255442124075            Gas           Gov. Aggregation   COH             190074920021                Gas           Gov. Aggregation
VEDO         4001113032442179            Gas           Gov. Aggregation   COH             202803210019                Gas           Gov. Aggregation
VEDO         4019034782235938            Gas           Gov. Aggregation   COH             206412750011                Gas           Gov. Aggregation
VEDO         4020223732193720            Gas           Gov. Aggregation   COH             151924630017                Gas           Gov. Aggregation
VEDO         4015664102381040            Gas           Gov. Aggregation   COH             144558150032                Gas           Gov. Aggregation
VEDO         4020888012229016            Gas           Gov. Aggregation   COH             171518360020                Gas           Gov. Aggregation
VEDO         4019404412503470            Gas           Gov. Aggregation   COH             155465440026                Gas           Gov. Aggregation
VEDO         4020187172150923            Gas           Gov. Aggregation   COH             205815060013                Gas           Gov. Aggregation
VEDO         4018032742125131            Gas           Gov. Aggregation   COH             201684500013                Gas           Gov. Aggregation
VEDO         4019886322372740            Gas           Gov. Aggregation   COH             202547110014                Gas           Gov. Aggregation
VEDO         4018427672207163            Gas           Gov. Aggregation   COH             193652630032                Gas           Gov. Aggregation
VEDO         4020200462374366            Gas           Gov. Aggregation   COH             206088320010                Gas           Gov. Aggregation
VEDO         4002906822285658            Gas           Gov. Aggregation   COH             203256880019                Gas           Gov. Aggregation
VEDO         4020140192344410            Gas           Gov. Aggregation   COH             205748720017                Gas           Gov. Aggregation
VEDO         4003310192346057            Gas           Gov. Aggregation   COH             205807970019                Gas           Gov. Aggregation
VEDO         4019453432598453            Gas           Gov. Aggregation   COH             203385690016                Gas           Gov. Aggregation
VEDO         4021014912584163            Gas           Gov. Aggregation   COH             202444290015                Gas           Gov. Aggregation
VEDO         4018007532587290            Gas           Gov. Aggregation   COH             198545130020                Gas           Gov. Aggregation
VEDO         4020850182587280            Gas           Gov. Aggregation   COH             187396410049                Gas           Gov. Aggregation
VEDO         4020944572587286            Gas           Gov. Aggregation   COH             203852200017                Gas           Gov. Aggregation
VEDO         4019845942201841            Gas           Gov. Aggregation   COH             189583920043                Gas           Gov. Aggregation
VEDO         4016528172200411            Gas           Gov. Aggregation   COH             202993310017                Gas           Gov. Aggregation
VEDO         4003697312368063            Gas           Gov. Aggregation   COH             205501450016                Gas           Gov. Aggregation
VEDO         4020853362228796            Gas           Gov. Aggregation   COH             204594680014                Gas           Gov. Aggregation
VEDO         4004782942274901            Gas           Gov. Aggregation   COH             202893970020                Gas           Gov. Aggregation
VEDO         4015583332262381            Gas           Gov. Aggregation   COH             206310010012                Gas           Gov. Aggregation
VEDO         4001028172102718            Gas           Gov. Aggregation   COH             153792860018                Gas           Gov. Aggregation
VEDO         4004395692443877            Gas           Gov. Aggregation   COH             194463290016                Gas           Gov. Aggregation
VEDO         4019360652171519            Gas           Gov. Aggregation   COH             204808410015                Gas           Gov. Aggregation
VEDO         4003393792150362            Gas           Gov. Aggregation   COH             205506670010                Gas           Gov. Aggregation
VEDO         4018958992240792            Gas           Gov. Aggregation   COH             111434600038                Gas           Gov. Aggregation
VEDO         4004089792410466            Gas           Gov. Aggregation   COH             202292280038                Gas           Gov. Aggregation
VEDO         4001489292463775            Gas           Gov. Aggregation   COH             148422800010                Gas           Gov. Aggregation
VEDO         4003945872387870            Gas           Gov. Aggregation   COH             202793190017                Gas           Gov. Aggregation
VEDO         4016754282520767            Gas           Gov. Aggregation   COH             203757210017                Gas           Gov. Aggregation
VEDO         4019232562178292            Gas           Gov. Aggregation   COH             193486150054                Gas           Gov. Aggregation
VEDO         4019389072224074            Gas           Gov. Aggregation   COH             157759160011                Gas           Gov. Aggregation
VEDO         4015117472176369            Gas           Gov. Aggregation   COH             173463250019                Gas           Gov. Aggregation
VEDO         4004293482124536            Gas           Gov. Aggregation   COH             202560680017                Gas           Gov. Aggregation
VEDO         4019152142356775            Gas           Gov. Aggregation   COH             203832230013                Gas           Gov. Aggregation
VEDO         4020129952502532            Gas           Gov. Aggregation   COH             139490310011                Gas           Gov. Aggregation
VEDO         4018608152517136            Gas           Gov. Aggregation   COH             202160390016                Gas           Gov. Aggregation
VEDO         4004159672502294            Gas           Gov. Aggregation   COH             197102220011                Gas           Gov. Aggregation
VEDO         4019442902258711            Gas           Gov. Aggregation   COH             110927040014                Gas           Gov. Aggregation
VEDO         4016715742318335            Gas           Gov. Aggregation   COH             168152790012                Gas           Gov. Aggregation
VEDO         4003571352617651            Gas           Gov. Aggregation   COH             203810190018                Gas           Gov. Aggregation
VEDO         4020042872617650            Gas           Gov. Aggregation   COH             190129450032                Gas           Gov. Aggregation
VEDO         4003154942617636            Gas           Gov. Aggregation   COH             203696570012                Gas           Gov. Aggregation
VEDO         4018908962617638            Gas           Gov. Aggregation   COH             198739430017                Gas           Gov. Aggregation
VEDO         4018586072617640            Gas           Gov. Aggregation   COH             198147470023                Gas           Gov. Aggregation
VEDO         4018360452624125            Gas           Gov. Aggregation   COH             148932500021                Gas           Gov. Aggregation
VEDO         4019186722624138            Gas           Gov. Aggregation   COH             110982910033                Gas           Gov. Aggregation
VEDO         4019979522624141            Gas           Gov. Aggregation   COH             203950910010                Gas           Gov. Aggregation
VEDO         4019333972584154            Gas           Gov. Aggregation   COH             205301650018                Gas           Gov. Aggregation
VEDO         4019244862625605            Gas           Gov. Aggregation   COH             204395470010                Gas           Gov. Aggregation
VEDO         4020100662626472            Gas           Gov. Aggregation   COH             204456900019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4020186542626470            Gas           Gov. Aggregation   COH             203982370017                Gas           Gov. Aggregation
VEDO            4016746572626456            Gas           Gov. Aggregation   COH             201550090022                Gas           Gov. Aggregation
VEDO            4017204122626453            Gas           Gov. Aggregation   COH             203868470018                Gas           Gov. Aggregation
VEDO            4019211332626450            Gas           Gov. Aggregation   COH             203560390017                Gas           Gov. Aggregation
VEDO            4019299442626448            Gas           Gov. Aggregation   COH             205490210011                Gas           Gov. Aggregation
VEDO            4004301642598530            Gas           Gov. Aggregation   COH             203124610014                Gas           Gov. Aggregation
VEDO            4018204102611348            Gas           Gov. Aggregation   COH             203903250018                Gas           Gov. Aggregation
VEDO            4020283232611723            Gas           Gov. Aggregation   COH             204705660011                Gas           Gov. Aggregation
VEDO            4004727622480500            Gas           Gov. Aggregation   COH             202665850019                Gas           Gov. Aggregation
VEDO            4016724722461423            Gas           Gov. Aggregation   COH             204403490017                Gas           Gov. Aggregation
VEDO            4004365852156026            Gas           Gov. Aggregation   COH             202721630015                Gas           Gov. Aggregation
VEDO            4002323042227332            Gas           Gov. Aggregation   COH             160219450055                Gas           Gov. Aggregation
VEDO            4002866342406892            Gas           Gov. Aggregation   COH             201606120026                Gas           Gov. Aggregation
VEDO            4003549762255918            Gas           Gov. Aggregation   COH             205962600018                Gas           Gov. Aggregation
VEDO            4019311542278981            Gas           Gov. Aggregation   COH             149468480020                Gas           Gov. Aggregation
VEDO            4015098762431880            Gas           Gov. Aggregation   COH             188894020035                Gas           Gov. Aggregation
VEDO            4018003012466184            Gas           Gov. Aggregation   COH             205270890015                Gas           Gov. Aggregation
VEDO            4020214792449014            Gas           Gov. Aggregation   COH             169859450032                Gas           Gov. Aggregation
VEDO            4019004102473004            Gas           Gov. Aggregation   COH             201365430014                Gas           Gov. Aggregation
VEDO            4002721022266971            Gas           Gov. Aggregation   COH             186797060035                Gas           Gov. Aggregation
VEDO            4017763602317829            Gas           Gov. Aggregation   COH             204646140016                Gas           Gov. Aggregation
VEDO            4004422572446835            Gas           Gov. Aggregation   COH             202432320013                Gas           Gov. Aggregation
VEDO            4019265022438476            Gas           Gov. Aggregation   COH             203710220013                Gas           Gov. Aggregation
VEDO            4019467652208980            Gas           Gov. Aggregation   COH             202786020017                Gas           Gov. Aggregation
VEDO            4002375912560437            Gas           Gov. Aggregation   COH             176144030027                Gas           Gov. Aggregation
VEDO            4018680022184328            Gas           Gov. Aggregation   COH             205528960013                Gas           Gov. Aggregation
VEDO            4018525952132854            Gas           Gov. Aggregation   COH             203228960011                Gas           Gov. Aggregation
VEDO            4019160572187415            Gas           Gov. Aggregation   COH             202599590015                Gas           Gov. Aggregation
VEDO            4017727692488910            Gas           Gov. Aggregation   COH             203257260017                Gas           Gov. Aggregation
VEDO            4019371902111283            Gas           Gov. Aggregation   COH             115784390010                Gas           Gov. Aggregation
VEDO            4001448422647630            Gas           Gov. Aggregation   COH             167399430114                Gas           Gov. Aggregation
VEDO            4017090322444347            Gas           Gov. Aggregation   COH             203527130011                Gas           Gov. Aggregation
VEDO            4017090322327252            Gas           Gov. Aggregation   COH             198230530023                Gas           Gov. Aggregation
VEDO            4002539682248924            Gas           Gov. Aggregation   COH             188199550029                Gas           Gov. Aggregation
VEDO            4020859162178079            Gas           Gov. Aggregation   COH             176822110040                Gas           Gov. Aggregation
VEDO            4003333772419934            Gas           Gov. Aggregation   COH             200116310026                Gas           Gov. Aggregation
VEDO            4001744972170276            Gas           Gov. Aggregation   COH             167785380036                Gas           Gov. Aggregation
VEDO            4004028692194955            Gas           Gov. Aggregation   COH             202868750010                Gas           Gov. Aggregation
VEDO            4002352972397108            Gas           Gov. Aggregation   COH             162975260051                Gas           Gov. Aggregation
VEDO            4017865302167416            Gas           Gov. Aggregation   COH             135818331229                Gas           Gov. Aggregation
VEDO            4017901022641123            Gas           Gov. Aggregation   COH             135818331238                Gas           Gov. Aggregation
VEDO            4018017292629263            Gas           Gov. Aggregation   COH             135842200020                Gas           Gov. Aggregation
VEDO            4001725252168363            Gas           Gov. Aggregation   COH             204716150015                Gas           Gov. Aggregation
VEDO            4001171132395630            Gas           Gov. Aggregation   COH             185154620021                Gas           Gov. Aggregation
VEDO            4015580962461967            Gas           Gov. Aggregation   COH             202794590011                Gas           Gov. Aggregation
VEDO            4019993872231925            Gas           Gov. Aggregation   COH             167607850033                Gas           Gov. Aggregation
VEDO            4019993872398764            Gas           Gov. Aggregation   COH             197027610028                Gas           Gov. Aggregation
VEDO            4004415192446060            Gas           Gov. Aggregation   COH             200502300010                Gas           Gov. Aggregation
VEDO            4019326332194878            Gas           Gov. Aggregation   COH             204758270012                Gas           Gov. Aggregation
VEDO            4018406562156097            Gas           Gov. Aggregation   COH             205544060018                Gas           Gov. Aggregation
VEDO            4020127542162738            Gas           Gov. Aggregation   COH             206160670013                Gas           Gov. Aggregation
VEDO            4003563272260367            Gas           Gov. Aggregation   COH             196026930042                Gas           Gov. Aggregation
VEDO            4019221452119998            Gas           Gov. Aggregation   COH             186356030035                Gas           Gov. Aggregation
VEDO            4015542112273697            Gas           Gov. Aggregation   COH             192425210032                Gas           Gov. Aggregation
VEDO            4001142402113466            Gas           Gov. Aggregation   COH             203595220019                Gas           Gov. Aggregation
VEDO            4015444342253380            Gas           Gov. Aggregation   COH             203592860011                Gas           Gov. Aggregation
VEDO            4016208362480756            Gas           Gov. Aggregation   COH             198642770039                Gas           Gov. Aggregation
VEDO            4003511122430147            Gas           Gov. Aggregation   COH             115782620033                Gas           Gov. Aggregation
VEDO            4020118222339122            Gas           Gov. Aggregation   COH             190787580022                Gas           Gov. Aggregation
VEDO            4016974502121587            Gas           Gov. Aggregation   COH             159079170037                Gas           Gov. Aggregation
VEDO            4015641282221374            Gas           Gov. Aggregation   COH             175515840021                Gas           Gov. Aggregation
VEDO            4019114782438703            Gas           Gov. Aggregation   COH             198549170015                Gas           Gov. Aggregation
VEDO            4003479942228213            Gas           Gov. Aggregation   COH             140832150098                Gas           Gov. Aggregation
VEDO            4016048522464960            Gas           Gov. Aggregation   COH             186633070066                Gas           Gov. Aggregation
VEDO            4016559892191789            Gas           Gov. Aggregation   COH             190465210012                Gas           Gov. Aggregation
VEDO            4018919182151867            Gas           Gov. Aggregation   COH             194720010018                Gas           Gov. Aggregation
VEDO            4002475752423150            Gas           Gov. Aggregation   COH             204737250010                Gas           Gov. Aggregation
VEDO            4003684192476227            Gas           Gov. Aggregation   COH             203660490014                Gas           Gov. Aggregation
VEDO            4003853342384884            Gas           Gov. Aggregation   COH             203881420010                Gas           Gov. Aggregation
VEDO            4016993332262643            Gas           Gov. Aggregation   COH             202675290016                Gas           Gov. Aggregation
VEDO            4001162062102733            Gas           Gov. Aggregation   COH             206257080012                Gas           Gov. Aggregation
VEDO            4003489282346123            Gas           Gov. Aggregation   COH             168782830072                Gas           Gov. Aggregation
VEDO            4004814532631726            Gas           Gov. Aggregation   COH             205962610016                Gas           Gov. Aggregation
COH             206090270016                Gas           Gov. Aggregation   COH             185675280056                Gas           Gov. Aggregation
COH             189733590035                Gas           Gov. Aggregation   COH             206183510018                Gas           Gov. Aggregation
COH             189792270029                Gas           Gov. Aggregation   COH             193394420034                Gas           Gov. Aggregation
COH             204865950012                Gas           Gov. Aggregation   COH             204063890015                Gas           Gov. Aggregation
COH             204959170017                Gas           Gov. Aggregation   COH             142693800031                Gas           Gov. Aggregation
COH             205128010010                Gas           Gov. Aggregation   COH             177265280082                Gas           Gov. Aggregation
COH             205515890015                Gas           Gov. Aggregation   COH             202911760015                Gas           Gov. Aggregation
COH             203577900023                Gas           Gov. Aggregation   COH             162162660032                Gas           Gov. Aggregation
COH             204432850010                Gas           Gov. Aggregation   COH             205616450013                Gas           Gov. Aggregation
COH             204432850038                Gas           Gov. Aggregation   COH             197099370028                Gas           Gov. Aggregation
COH             205204220014                Gas           Gov. Aggregation   COH             202448100016                Gas           Gov. Aggregation
COH             165060680077                Gas           Gov. Aggregation   COH             203744320011                Gas           Gov. Aggregation
VEDO            4003753702532931            Gas           Gov. Aggregation   COH             205584000016                Gas           Gov. Aggregation
VEDO            4015102202515142            Gas           Gov. Aggregation   COH             135075020052                Gas           Gov. Aggregation
VEDO            4020084982563057            Gas           Gov. Aggregation   COH             169011700035                Gas           Gov. Aggregation
VEDO            4020141602566396            Gas           Gov. Aggregation   COH             202801760018                Gas           Gov. Aggregation
VEDO            4019884232592732            Gas           Gov. Aggregation   COH             204690810012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4019223182211122            Gas           Gov. Aggregation   COH             165315470043                Gas           Gov. Aggregation
VEDO            4019059952459235            Gas           Gov. Aggregation   COH             203841460016                Gas           Gov. Aggregation
VEDO            4021006732437870            Gas           Gov. Aggregation   COH             203314480019                Gas           Gov. Aggregation
VEDO            4020917742239541            Gas           Gov. Aggregation   COH             191211570040                Gas           Gov. Aggregation
VEDO            4015116282129582            Gas           Gov. Aggregation   COH             204520790016                Gas           Gov. Aggregation
VEDO            4001947222190190            Gas           Gov. Aggregation   COH             206426940012                Gas           Gov. Aggregation
VEDO            4019334882399573            Gas           Gov. Aggregation   COH             203678120014                Gas           Gov. Aggregation
VEDO            4018908762444611            Gas           Gov. Aggregation   COH             138834790049                Gas           Gov. Aggregation
VEDO            4002169202507943            Gas           Gov. Aggregation   COH             188219830044                Gas           Gov. Aggregation
VEDO            4020127772272815            Gas           Gov. Aggregation   COH             205616430017                Gas           Gov. Aggregation
VEDO            4016774942148760            Gas           Gov. Aggregation   COH             115522940036                Gas           Gov. Aggregation
VEDO            4020918432198637            Gas           Gov. Aggregation   COH             199929140023                Gas           Gov. Aggregation
VEDO            4003131282209630            Gas           Gov. Aggregation   COH             190161770037                Gas           Gov. Aggregation
VEDO            4018714282168732            Gas           Gov. Aggregation   COH             204046830013                Gas           Gov. Aggregation
VEDO            4021018592549851            Gas           Gov. Aggregation   COH             192726760020                Gas           Gov. Aggregation
VEDO            4001360282291824            Gas           Gov. Aggregation   COH             202448080011                Gas           Gov. Aggregation
VEDO            4015634452392842            Gas           Gov. Aggregation   COH             115861150016                Gas           Gov. Aggregation
VEDO            4019771902399124            Gas           Gov. Aggregation   COH             199215300031                Gas           Gov. Aggregation
VEDO            4020077322491567            Gas           Gov. Aggregation   COH             206322560012                Gas           Gov. Aggregation
VEDO            4020945902315757            Gas           Gov. Aggregation   COH             205155280017                Gas           Gov. Aggregation
VEDO            4016820592206823            Gas           Gov. Aggregation   COH             206155840018                Gas           Gov. Aggregation
VEDO            4021004032195577            Gas           Gov. Aggregation   COH             202638150013                Gas           Gov. Aggregation
VEDO            4016237452399107            Gas           Gov. Aggregation   COH             206276970015                Gas           Gov. Aggregation
VEDO            4001261392404148            Gas           Gov. Aggregation   COH             204456270012                Gas           Gov. Aggregation
VEDO            4017650652395457            Gas           Gov. Aggregation   COH             202698870016                Gas           Gov. Aggregation
VEDO            4018078842112190            Gas           Gov. Aggregation   COH             149455090038                Gas           Gov. Aggregation
VEDO            4018078842167393            Gas           Gov. Aggregation   COH             199777130019                Gas           Gov. Aggregation
VEDO            4017613602152436            Gas           Gov. Aggregation   COH             130281330037                Gas           Gov. Aggregation
VEDO            4021012602132859            Gas           Gov. Aggregation   COH             154346360044                Gas           Gov. Aggregation
VEDO            4016507602438056            Gas           Gov. Aggregation   COH             205008680014                Gas           Gov. Aggregation
VEDO            4021030332103330            Gas           Gov. Aggregation   COH             147499410058                Gas           Gov. Aggregation
VEDO            4015305952283714            Gas           Gov. Aggregation   COH             204779060012                Gas           Gov. Aggregation
VEDO            4004461992451142            Gas           Gov. Aggregation   COH             205977850015                Gas           Gov. Aggregation
VEDO            4021051912140711            Gas           Gov. Aggregation   COH             196059930043                Gas           Gov. Aggregation
VEDO            4021038952221146            Gas           Gov. Aggregation   COH             202725360014                Gas           Gov. Aggregation
VEDO            4020924652445351            Gas           Gov. Aggregation   COH             203450370014                Gas           Gov. Aggregation
VEDO            4020200202369761            Gas           Gov. Aggregation   COH             149711140024                Gas           Gov. Aggregation
VEDO            4002205942267455            Gas           Gov. Aggregation   COH             202471670018                Gas           Gov. Aggregation
VEDO            4003911542192649            Gas           Gov. Aggregation   COH             203229000010                Gas           Gov. Aggregation
VEDO            4016037262623654            Gas           Gov. Aggregation   COH             143665290117                Gas           Gov. Aggregation
VEDO            4020865002602862            Gas           Gov. Aggregation   COH             204908180012                Gas           Gov. Aggregation
VEDO            4020142832623465            Gas           Gov. Aggregation   COH             202707510010                Gas           Gov. Aggregation
VEDO            4020911242621636            Gas           Gov. Aggregation   COH             149364460097                Gas           Gov. Aggregation
VEDO            4004457442509094            Gas           Gov. Aggregation   COH             206412400014                Gas           Gov. Aggregation
VEDO            4018791692277798            Gas           Gov. Aggregation   COH             203554790016                Gas           Gov. Aggregation
VEDO            4021027212418831            Gas           Gov. Aggregation   COH             202934100015                Gas           Gov. Aggregation
VEDO            4018942952180585            Gas           Gov. Aggregation   COH             204958490012                Gas           Gov. Aggregation
VEDO            4016234262432128            Gas           Gov. Aggregation   COH             205360240010                Gas           Gov. Aggregation
VEDO            4020926482257100            Gas           Gov. Aggregation   COH             193567380027                Gas           Gov. Aggregation
VEDO            4020908782267261            Gas           Gov. Aggregation   COH             186268140039                Gas           Gov. Aggregation
VEDO            4018961462458956            Gas           Gov. Aggregation   COH             206155870012                Gas           Gov. Aggregation
VEDO            4003972672276591            Gas           Gov. Aggregation   COH             198943870021                Gas           Gov. Aggregation
VEDO            4021055692381190            Gas           Gov. Aggregation   COH             164379890024                Gas           Gov. Aggregation
VEDO            4015848792645395            Gas           Gov. Aggregation   COH             199488010035                Gas           Gov. Aggregation
VEDO            4004016182679659            Gas           Gov. Aggregation   COH             165699560024                Gas           Gov. Aggregation
VEDO            4004828972237150            Gas           Gov. Aggregation   COH             204106570010                Gas           Gov. Aggregation
VEDO            4016365662641249            Gas           Gov. Aggregation   COH             202335170011                Gas           Gov. Aggregation
VEDO            4021059342214348            Gas           Gov. Aggregation   COH             205765880018                Gas           Gov. Aggregation
VEDO            4020786732353063            Gas           Gov. Aggregation   COH             205584060014                Gas           Gov. Aggregation
VEDO            4018102172535048            Gas           Gov. Aggregation   COH             199785650013                Gas           Gov. Aggregation
VEDO            4018288832215472            Gas           Gov. Aggregation   COH             166089940053                Gas           Gov. Aggregation
VEDO            4021032992449436            Gas           Gov. Aggregation   COH             172285700031                Gas           Gov. Aggregation
VEDO            4002121232270481            Gas           Gov. Aggregation   COH             164736690046                Gas           Gov. Aggregation
VEDO            4004134822399522            Gas           Gov. Aggregation   COH             202392870014                Gas           Gov. Aggregation
COH             205809540015                Gas           Gov. Aggregation   COH             204568270015                Gas           Gov. Aggregation
COH             132090910010                Gas           Gov. Aggregation   COH             196909810045                Gas           Gov. Aggregation
COH             198865200018                Gas           Gov. Aggregation   COH             199316840034                Gas           Gov. Aggregation
COH             188929260058                Gas           Gov. Aggregation   COH             203678130012                Gas           Gov. Aggregation
COH             205009250012                Gas           Gov. Aggregation   COH             200670270012                Gas           Gov. Aggregation
COH             138845100013                Gas           Gov. Aggregation   COH             171982390058                Gas           Gov. Aggregation
COH             175942070028                Gas           Gov. Aggregation   COH             205654040019                Gas           Gov. Aggregation
COH             205548050012                Gas           Gov. Aggregation   COH             206372090016                Gas           Gov. Aggregation
COH             205219150018                Gas           Gov. Aggregation   COH             192311860028                Gas           Gov. Aggregation
COH             202130710011                Gas           Gov. Aggregation   COH             204994310013                Gas           Gov. Aggregation
COH             186256380016                Gas           Gov. Aggregation   COH             198068100028                Gas           Gov. Aggregation
COH             205624210016                Gas           Gov. Aggregation   COH             185686330070                Gas           Gov. Aggregation
COH             206083630015                Gas           Gov. Aggregation   COH             115835420014                Gas           Gov. Aggregation
COH             205412510012                Gas           Gov. Aggregation   COH             199911060036                Gas           Gov. Aggregation
COH             192790170074                Gas           Gov. Aggregation   COH             200352660050                Gas           Gov. Aggregation
COH             196212340023                Gas           Gov. Aggregation   COH             201181680030                Gas           Gov. Aggregation
COH             186862940022                Gas           Gov. Aggregation   COH             202205640017                Gas           Gov. Aggregation
COH             194538090037                Gas           Gov. Aggregation   COH             202226610019                Gas           Gov. Aggregation
COH             205218430011                Gas           Gov. Aggregation   COH             205357550012                Gas           Gov. Aggregation
COH             205213470013                Gas           Gov. Aggregation   COH             205483830016                Gas           Gov. Aggregation
COH             205315610017                Gas           Gov. Aggregation   COH             192835990058                Gas           Gov. Aggregation
COH             197198920022                Gas           Gov. Aggregation   COH             206172650012                Gas           Gov. Aggregation
COH             202978070010                Gas           Gov. Aggregation   COH             205780400016                Gas           Gov. Aggregation
COH             165073380055                Gas           Gov. Aggregation   COH             204130930013                Gas           Gov. Aggregation
COH             205313110016                Gas           Gov. Aggregation   COH             204082440019                Gas           Gov. Aggregation
COH             205615940012                Gas           Gov. Aggregation   COH             203229020016                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4004426922315048            Gas           Gov. Aggregation   COH             162627350031                Gas           Gov. Aggregation
VEDO         4019075832377062            Gas           Gov. Aggregation   COH             170844310048                Gas           Gov. Aggregation
VEDO         4018922512529834            Gas           Gov. Aggregation   COH             203687440018                Gas           Gov. Aggregation
VEDO         4020238832673950            Gas           Gov. Aggregation   COH             115849350038                Gas           Gov. Aggregation
VEDO         4020288462373056            Gas           Gov. Aggregation   COH             199644760027                Gas           Gov. Aggregation
VEDO         4018224702498803            Gas           Gov. Aggregation   COH             133791510026                Gas           Gov. Aggregation
VEDO         4020906932584789            Gas           Gov. Aggregation   COH             203252070017                Gas           Gov. Aggregation
VEDO         4020183932452959            Gas           Gov. Aggregation   COH             203626900019                Gas           Gov. Aggregation
VEDO         4015538222218119            Gas           Gov. Aggregation   COH             205114720010                Gas           Gov. Aggregation
VEDO         4015330392248147            Gas           Gov. Aggregation   COH             205300360011                Gas           Gov. Aggregation
VEDO         4017311082525971            Gas           Gov. Aggregation   COH             204514430014                Gas           Gov. Aggregation
VEDO         4016444042452499            Gas           Gov. Aggregation   COH             204977420016                Gas           Gov. Aggregation
VEDO         4020901622394714            Gas           Gov. Aggregation   COH             115846330029                Gas           Gov. Aggregation
VEDO         4020194822313869            Gas           Gov. Aggregation   COH             175835920124                Gas           Gov. Aggregation
VEDO         4020083152577780            Gas           Gov. Aggregation   COH             188115450026                Gas           Gov. Aggregation
VEDO         4015950392487806            Gas           Gov. Aggregation   COH             196094280019                Gas           Gov. Aggregation
VEDO         4019919652471810            Gas           Gov. Aggregation   COH             205073490017                Gas           Gov. Aggregation
VEDO         4020335302676601            Gas           Gov. Aggregation   COH             188018350014                Gas           Gov. Aggregation
VEDO         4020292592675971            Gas           Gov. Aggregation   COH             198867150239                Gas           Gov. Aggregation
VEDO         4017061932675973            Gas           Gov. Aggregation   COH             201146960026                Gas           Gov. Aggregation
VEDO         4015939992674962            Gas           Gov. Aggregation   COH             202387860026                Gas           Gov. Aggregation
VEDO         4020132952673845            Gas           Gov. Aggregation   COH             202499740015                Gas           Gov. Aggregation
VEDO         4020322922672235            Gas           Gov. Aggregation   COH             115332760082                Gas           Gov. Aggregation
VEDO         4020059852673917            Gas           Gov. Aggregation   COH             191462220015                Gas           Gov. Aggregation
VEDO         4020221652674422            Gas           Gov. Aggregation   COH             197335300020                Gas           Gov. Aggregation
VEDO         4020330352569994            Gas           Gov. Aggregation   COH             200285220019                Gas           Gov. Aggregation
VEDO         4003890422440634            Gas           Gov. Aggregation   COH             202482700018                Gas           Gov. Aggregation
VEDO         4015606782262829            Gas           Gov. Aggregation   COH             140178030037                Gas           Gov. Aggregation
VEDO         4020119272164786            Gas           Gov. Aggregation   COH             145306660055                Gas           Gov. Aggregation
VEDO         4015825742188507            Gas           Gov. Aggregation   COH             149298000076                Gas           Gov. Aggregation
VEDO         4020852782586014            Gas           Gov. Aggregation   COH             153759750039                Gas           Gov. Aggregation
VEDO         4019411682207051            Gas           Gov. Aggregation   COH             154082510079                Gas           Gov. Aggregation
VEDO         4020913072244494            Gas           Gov. Aggregation   COH             160530020028                Gas           Gov. Aggregation
VEDO         4004201692359015            Gas           Gov. Aggregation   COH             204610610012                Gas           Gov. Aggregation
VEDO         4020317972240009            Gas           Gov. Aggregation   COH             204749200015                Gas           Gov. Aggregation
VEDO         4020163382183495            Gas           Gov. Aggregation   COH             204761680019                Gas           Gov. Aggregation
VEDO         4019917562205135            Gas           Gov. Aggregation   COH             205131590012                Gas           Gov. Aggregation
VEDO         4018117992496225            Gas           Gov. Aggregation   COH             205280900011                Gas           Gov. Aggregation
VEDO         4020217012217704            Gas           Gov. Aggregation   COH             159695270049                Gas           Gov. Aggregation
VEDO         4020897962537092            Gas           Gov. Aggregation   COH             162464540037                Gas           Gov. Aggregation
VEDO         4002875852249243            Gas           Gov. Aggregation   COH             169832760015                Gas           Gov. Aggregation
VEDO         4004624992469263            Gas           Gov. Aggregation   COH             173030720026                Gas           Gov. Aggregation
VEDO         4021012372517096            Gas           Gov. Aggregation   COH             191297530011                Gas           Gov. Aggregation
VEDO         4020334552107696            Gas           Gov. Aggregation   COH             194622450023                Gas           Gov. Aggregation
VEDO         4017671382144814            Gas           Gov. Aggregation   COH             196993880026                Gas           Gov. Aggregation
VEDO         4016554892479682            Gas           Gov. Aggregation   COH             197543630039                Gas           Gov. Aggregation
VEDO         4020915372206827            Gas           Gov. Aggregation   COH             198775630028                Gas           Gov. Aggregation
VEDO         4020264182615392            Gas           Gov. Aggregation   COH             199094890027                Gas           Gov. Aggregation
VEDO         4017278702615391            Gas           Gov. Aggregation   COH             203385200018                Gas           Gov. Aggregation
VEDO         4002641722288414            Gas           Gov. Aggregation   COH             203413850011                Gas           Gov. Aggregation
VEDO         4020903792318361            Gas           Gov. Aggregation   COH             203560580017                Gas           Gov. Aggregation
VEDO         4020077782476467            Gas           Gov. Aggregation   COH             204244240017                Gas           Gov. Aggregation
VEDO         4018358572675041            Gas           Gov. Aggregation   COH             204448860015                Gas           Gov. Aggregation
VEDO         4020903222266852            Gas           Gov. Aggregation   COH             204498230012                Gas           Gov. Aggregation
VEDO         4020150522194547            Gas           Gov. Aggregation   COH             204498250018                Gas           Gov. Aggregation
VEDO         4020891442101889            Gas           Gov. Aggregation   COH             204512350015                Gas           Gov. Aggregation
VEDO         4010085062226776            Gas           Gov. Aggregation   COH             204550950028                Gas           Gov. Aggregation
VEDO         4020865342438049            Gas           Gov. Aggregation   COH             204834400012                Gas           Gov. Aggregation
VEDO         4020936902440227            Gas           Gov. Aggregation   COH             205786170013                Gas           Gov. Aggregation
VEDO         4018570702242145            Gas           Gov. Aggregation   COH             206088910016                Gas           Gov. Aggregation
VEDO         4002708112109372            Gas           Gov. Aggregation   COH             166129180057                Gas           Gov. Aggregation
VEDO         4020940572163807            Gas           Gov. Aggregation   COH             197409730023                Gas           Gov. Aggregation
VEDO         4004558762248140            Gas           Gov. Aggregation   COH             200955320017                Gas           Gov. Aggregation
VEDO         4020104882530522            Gas           Gov. Aggregation   COH             201994480020                Gas           Gov. Aggregation
VEDO         4019854612128584            Gas           Gov. Aggregation   COH             203684320019                Gas           Gov. Aggregation
VEDO         4020160292119553            Gas           Gov. Aggregation   COH             203373890019                Gas           Gov. Aggregation
VEDO         4020092582438974            Gas           Gov. Aggregation   COH             203805220012                Gas           Gov. Aggregation
VEDO         4020084012450680            Gas           Gov. Aggregation   COH             171865390029                Gas           Gov. Aggregation
VEDO         4017065932379585            Gas           Gov. Aggregation   COH             203667740017                Gas           Gov. Aggregation
VEDO         4019121632414786            Gas           Gov. Aggregation   COH             189512250025                Gas           Gov. Aggregation
VEDO         4019511722287816            Gas           Gov. Aggregation   COH             204718860012                Gas           Gov. Aggregation
VEDO         4017344782227575            Gas           Gov. Aggregation   COH             202924490015                Gas           Gov. Aggregation
VEDO         4020093322302815            Gas           Gov. Aggregation   COH             201379300021                Gas           Gov. Aggregation
VEDO         4019384262488278            Gas           Gov. Aggregation   COH             203644820018                Gas           Gov. Aggregation
VEDO         4017632172293912            Gas           Gov. Aggregation   COH             203945030016                Gas           Gov. Aggregation
VEDO         4020073892282907            Gas           Gov. Aggregation   COH             204348290017                Gas           Gov. Aggregation
VEDO         4001987192373636            Gas           Gov. Aggregation   COH             205699820011                Gas           Gov. Aggregation
VEDO         4020303882524359            Gas           Gov. Aggregation   COH             205450590016                Gas           Gov. Aggregation
VEDO         4017738722521714            Gas           Gov. Aggregation   COH             136990900047                Gas           Gov. Aggregation
VEDO         4019394872360264            Gas           Gov. Aggregation   COH             200759600014                Gas           Gov. Aggregation
VEDO         4015722822264328            Gas           Gov. Aggregation   COH             203876190010                Gas           Gov. Aggregation
VEDO         4020941972320733            Gas           Gov. Aggregation   COH             204027230019                Gas           Gov. Aggregation
VEDO         4002996582420595            Gas           Gov. Aggregation   COH             161240720034                Gas           Gov. Aggregation
VEDO         4020911272478142            Gas           Gov. Aggregation   COH             133968740032                Gas           Gov. Aggregation
VEDO         4020186332209413            Gas           Gov. Aggregation   COH             204447250015                Gas           Gov. Aggregation
VEDO         4020062822446792            Gas           Gov. Aggregation   COH             196870460015                Gas           Gov. Aggregation
VEDO         4020892572296722            Gas           Gov. Aggregation   COH             164596700041                Gas           Gov. Aggregation
VEDO         4020879412507176            Gas           Gov. Aggregation   COH             202280230015                Gas           Gov. Aggregation
VEDO         4020848882143010            Gas           Gov. Aggregation   COH             156645600029                Gas           Gov. Aggregation
VEDO         4002286772589199            Gas           Gov. Aggregation   COH             204851710011                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4001308502437632            Gas           Gov. Aggregation   COH             167099290021                Gas           Gov. Aggregation
VEDO         4016992852451726            Gas           Gov. Aggregation   COH             205154610019                Gas           Gov. Aggregation
VEDO         4020278002370536            Gas           Gov. Aggregation   COH             205286750011                Gas           Gov. Aggregation
VEDO         4021003152220057            Gas           Gov. Aggregation   COH             205935760012                Gas           Gov. Aggregation
VEDO         4020867852395061            Gas           Gov. Aggregation   COH             171633010136                Gas           Gov. Aggregation
VEDO         4016657982456465            Gas           Gov. Aggregation   COH             206514840016                Gas           Gov. Aggregation
VEDO         4015084742285973            Gas           Gov. Aggregation   COH             205707220018                Gas           Gov. Aggregation
VEDO         4020203782344144            Gas           Gov. Aggregation   COH             144321500048                Gas           Gov. Aggregation
VEDO         4002673362368311            Gas           Gov. Aggregation   COH             140378030033                Gas           Gov. Aggregation
VEDO         4002675092105491            Gas           Gov. Aggregation   COH             206581760012                Gas           Gov. Aggregation
VEDO         4010075912264301            Gas           Gov. Aggregation   COH             204610310015                Gas           Gov. Aggregation
VEDO         4019356772344131            Gas           Gov. Aggregation   COH             133480240013                Gas           Gov. Aggregation
VEDO         4016632562486649            Gas           Gov. Aggregation   COH             197873640029                Gas           Gov. Aggregation
VEDO         4020248532322507            Gas           Gov. Aggregation   COH             204691930015                Gas           Gov. Aggregation
VEDO         4003896832459897            Gas           Gov. Aggregation   COH             205972210019                Gas           Gov. Aggregation
VEDO         4015810552315860            Gas           Gov. Aggregation   COH             205828190019                Gas           Gov. Aggregation
VEDO         4021068142335073            Gas           Gov. Aggregation   COH             204773990019                Gas           Gov. Aggregation
VEDO         4017474082477438            Gas           Gov. Aggregation   COH             205750240013                Gas           Gov. Aggregation
VEDO         4021023892166517            Gas           Gov. Aggregation   COH             191755300053                Gas           Gov. Aggregation
VEDO         4001227992126015            Gas           Gov. Aggregation   COH             138187090165                Gas           Gov. Aggregation
VEDO         4019744222181164            Gas           Gov. Aggregation   COH             205030630017                Gas           Gov. Aggregation
VEDO         4003102032372043            Gas           Gov. Aggregation   COH             205780510013                Gas           Gov. Aggregation
VEDO         4002030122313416            Gas           Gov. Aggregation   COH             191889810071                Gas           Gov. Aggregation
VEDO         4019964752463982            Gas           Gov. Aggregation   COH             146619510052                Gas           Gov. Aggregation
VEDO         4004202052422676            Gas           Gov. Aggregation   COH             120176020037                Gas           Gov. Aggregation
VEDO         4020069622439846            Gas           Gov. Aggregation   COH             148561400190                Gas           Gov. Aggregation
VEDO         4001453472174522            Gas           Gov. Aggregation   COH             141585200028                Gas           Gov. Aggregation
VEDO         4016301532289423            Gas           Gov. Aggregation   COH             206162470011                Gas           Gov. Aggregation
VEDO         4017094042359139            Gas           Gov. Aggregation   COH             205678560010                Gas           Gov. Aggregation
VEDO         4019945802138372            Gas           Gov. Aggregation   COH             126881540019                Gas           Gov. Aggregation
VEDO         4020798222201630            Gas           Gov. Aggregation   COH             120175850080                Gas           Gov. Aggregation
VEDO         4020803382326539            Gas           Gov. Aggregation   COH             191625260011                Gas           Gov. Aggregation
VEDO         4020333492143359            Gas           Gov. Aggregation   COH             200091970013                Gas           Gov. Aggregation
VEDO         4020883582489721            Gas           Gov. Aggregation   COH             175537300055                Gas           Gov. Aggregation
VEDO         4021045262314995            Gas           Gov. Aggregation   COH             200002240022                Gas           Gov. Aggregation
VEDO         4017879002275884            Gas           Gov. Aggregation   COH             190062230049                Gas           Gov. Aggregation
VEDO         4021008592164885            Gas           Gov. Aggregation   COH             198767000036                Gas           Gov. Aggregation
VEDO         4016548342470101            Gas           Gov. Aggregation   COH             201486600021                Gas           Gov. Aggregation
VEDO         4016548342385643            Gas           Gov. Aggregation   COH             176147090056                Gas           Gov. Aggregation
VEDO         4018798742228892            Gas           Gov. Aggregation   COH             197493590053                Gas           Gov. Aggregation
VEDO         4017874172502498            Gas           Gov. Aggregation   COH             206142520012                Gas           Gov. Aggregation
VEDO         4020867852161706            Gas           Gov. Aggregation   COH             205780460014                Gas           Gov. Aggregation
VEDO         4020292482424750            Gas           Gov. Aggregation   COH             175516390015                Gas           Gov. Aggregation
VEDO         4018816552131584            Gas           Gov. Aggregation   COH             205516860019                Gas           Gov. Aggregation
VEDO         4020305162447348            Gas           Gov. Aggregation   COH             193525280017                Gas           Gov. Aggregation
VEDO         4002238702243804            Gas           Gov. Aggregation   COH             196785440010                Gas           Gov. Aggregation
VEDO         4018649382674658            Gas           Gov. Aggregation   COH             205151350010                Gas           Gov. Aggregation
VEDO         4020186222313831            Gas           Gov. Aggregation   DEO             2180007931379               Gas           Gov. Aggregation
VEDO         4001532902420700            Gas           Gov. Aggregation   DEO             9180010179470               Gas           Gov. Aggregation
VEDO         4020172342199592            Gas           Gov. Aggregation   DEO             5180009879506               Gas           Gov. Aggregation
VEDO         4020928302213583            Gas           Gov. Aggregation   DEO             7180009620050               Gas           Gov. Aggregation
VEDO         4019907252380658            Gas           Gov. Aggregation   DEO             3180009221821               Gas           Gov. Aggregation
VEDO         4019417122136076            Gas           Gov. Aggregation   DEO             0180008293749               Gas           Gov. Aggregation
VEDO         4020330272176551            Gas           Gov. Aggregation   DEO             8180009749248               Gas           Gov. Aggregation
VEDO         4019398852310041            Gas           Gov. Aggregation   DEO             0180009769440               Gas           Gov. Aggregation
VEDO         4018373862259368            Gas           Gov. Aggregation   DEO             7180009768417               Gas           Gov. Aggregation
VEDO         4020080852151553            Gas           Gov. Aggregation   DEO             6180009543423               Gas           Gov. Aggregation
VEDO         4020266222104219            Gas           Gov. Aggregation   DEO             8180009784436               Gas           Gov. Aggregation
VEDO         4020804012229602            Gas           Gov. Aggregation   DEO             5180001593852               Gas           Gov. Aggregation
VEDO         4001501702469470            Gas           Gov. Aggregation   DEO             9180010545930               Gas           Gov. Aggregation
VEDO         4001501702129736            Gas           Gov. Aggregation   DEO             8180008415133               Gas           Gov. Aggregation
VEDO         4018024922640207            Gas           Gov. Aggregation   DEO             6180008004080               Gas           Gov. Aggregation
VEDO         4020157102161257            Gas           Gov. Aggregation   DEO             6500060239266               Gas           Gov. Aggregation
VEDO         4020102782147896            Gas           Gov. Aggregation   DEO             8180010319939               Gas           Gov. Aggregation
VEDO         4005112282284488            Gas           Gov. Aggregation   DEO             2180008151068               Gas           Gov. Aggregation
VEDO         4018986522504986            Gas           Gov. Aggregation   DEO             7180008042205               Gas           Gov. Aggregation
VEDO         4003414272631081            Gas           Gov. Aggregation   DEO             4180009346629               Gas           Gov. Aggregation
VEDO         4020891612530534            Gas           Gov. Aggregation   DEO             8180010390793               Gas           Gov. Aggregation
VEDO         4020837322258184            Gas           Gov. Aggregation   DEO             1180010566459               Gas           Gov. Aggregation
VEDO         4020144032540878            Gas           Gov. Aggregation   DEO             3180008811736               Gas           Gov. Aggregation
VEDO         4020921592150238            Gas           Gov. Aggregation   DEO             7180008572897               Gas           Gov. Aggregation
VEDO         4020118942471489            Gas           Gov. Aggregation   DEO             5180008425033               Gas           Gov. Aggregation
VEDO         4002344892530318            Gas           Gov. Aggregation   DEO             6180009650301               Gas           Gov. Aggregation
VEDO         4020901852615381            Gas           Gov. Aggregation   DEO             5180008019654               Gas           Gov. Aggregation
VEDO         4020221832615390            Gas           Gov. Aggregation   DEO             5180000328849               Gas           Gov. Aggregation
VEDO         4020925022603142            Gas           Gov. Aggregation   DEO             1180008397207               Gas           Gov. Aggregation
VEDO         4018799872613100            Gas           Gov. Aggregation   DEO             0180010502930               Gas           Gov. Aggregation
VEDO         4020906822606309            Gas           Gov. Aggregation   DEO             6180009738235               Gas           Gov. Aggregation
VEDO         4020856012606310            Gas           Gov. Aggregation   DEO             7180007980935               Gas           Gov. Aggregation
VEDO         4016477592595363            Gas           Gov. Aggregation   DEO             8180010721322               Gas           Gov. Aggregation
VEDO         4018004822595091            Gas           Gov. Aggregation   DEO             8180009660541               Gas           Gov. Aggregation
VEDO         4020858262595077            Gas           Gov. Aggregation   DEO             8180008854400               Gas           Gov. Aggregation
VEDO         4020867622179081            Gas           Gov. Aggregation   DEO             3180009436928               Gas           Gov. Aggregation
VEDO         4021006652445583            Gas           Gov. Aggregation   DEO             2180010453810               Gas           Gov. Aggregation
VEDO         4018988052243492            Gas           Gov. Aggregation   DEO             9180010505805               Gas           Gov. Aggregation
VEDO         4020135962280895            Gas           Gov. Aggregation   DEO             6180008366504               Gas           Gov. Aggregation
VEDO         4021053592362419            Gas           Gov. Aggregation   DEO             6180009447063               Gas           Gov. Aggregation
VEDO         4020845902305748            Gas           Gov. Aggregation   DEO             8180008867736               Gas           Gov. Aggregation
VEDO         4020229472498072            Gas           Gov. Aggregation   DEO             0180008234571               Gas           Gov. Aggregation
VEDO         4018188732124745            Gas           Gov. Aggregation   DEO             2180008159809               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4015603202412094            Gas           Gov. Aggregation   DEO             9180010818456               Gas           Gov. Aggregation
VEDO            4016741962232571            Gas           Gov. Aggregation   DEO             0180010786210               Gas           Gov. Aggregation
VEDO            4020130992354943            Gas           Gov. Aggregation   DEO             8180010229803               Gas           Gov. Aggregation
VEDO            4021008062326499            Gas           Gov. Aggregation   DEO             9180009994673               Gas           Gov. Aggregation
VEDO            4020879212253538            Gas           Gov. Aggregation   DEO             9180008271819               Gas           Gov. Aggregation
VEDO            4019164912392724            Gas           Gov. Aggregation   DEO             0180008346963               Gas           Gov. Aggregation
VEDO            4019445342179802            Gas           Gov. Aggregation   DEO             4180010864850               Gas           Gov. Aggregation
VEDO            4020334112169928            Gas           Gov. Aggregation   DEO             0180009963048               Gas           Gov. Aggregation
VEDO            4019395522308599            Gas           Gov. Aggregation   DEO             5180009692407               Gas           Gov. Aggregation
VEDO            4002159632493457            Gas           Gov. Aggregation   DEO             2180010656463               Gas           Gov. Aggregation
VEDO            4020156232517093            Gas           Gov. Aggregation   DEO             0180010531364               Gas           Gov. Aggregation
VEDO            4019924352487483            Gas           Gov. Aggregation   DEO             6180008984937               Gas           Gov. Aggregation
VEDO            4019408732207302            Gas           Gov. Aggregation   DEO             2180008871751               Gas           Gov. Aggregation
VEDO            4018219452155654            Gas           Gov. Aggregation   DEO             1180010118443               Gas           Gov. Aggregation
VEDO            4017432762446881            Gas           Gov. Aggregation   DEO             0180009613415               Gas           Gov. Aggregation
VEDO            4018934972351213            Gas           Gov. Aggregation   DEO             4180009169263               Gas           Gov. Aggregation
VEDO            4001451282520186            Gas           Gov. Aggregation   DEO             6180009633667               Gas           Gov. Aggregation
VEDO            4020120962241372            Gas           Gov. Aggregation   DEO             3180008246515               Gas           Gov. Aggregation
VEDO            4021024572212636            Gas           Gov. Aggregation   DEO             8180009452831               Gas           Gov. Aggregation
VEDO            4021047712280023            Gas           Gov. Aggregation   DEO             7180009801421               Gas           Gov. Aggregation
VEDO            4020151132174356            Gas           Gov. Aggregation   DEO             1180009802098               Gas           Gov. Aggregation
VEDO            4020910692333585            Gas           Gov. Aggregation   DEO             3180009910922               Gas           Gov. Aggregation
VEDO            4020838772321819            Gas           Gov. Aggregation   DEO             8180009892890               Gas           Gov. Aggregation
VEDO            4020911872513448            Gas           Gov. Aggregation   DEO             7180010013609               Gas           Gov. Aggregation
VEDO            4020317822188499            Gas           Gov. Aggregation   DEO             8180009030392               Gas           Gov. Aggregation
VEDO            4020937482498260            Gas           Gov. Aggregation   DEO             8180009131153               Gas           Gov. Aggregation
VEDO            4020278272246304            Gas           Gov. Aggregation   DEO             7180010684731               Gas           Gov. Aggregation
VEDO            4017671382624412            Gas           Gov. Aggregation   DEO             7180010292371               Gas           Gov. Aggregation
VEDO            4004511042628041            Gas           Gov. Aggregation   DEO             9180009088681               Gas           Gov. Aggregation
VEDO            4002623132628002            Gas           Gov. Aggregation   DEO             7180010045326               Gas           Gov. Aggregation
VEDO            4003064572628043            Gas           Gov. Aggregation   DEO             1180010160201               Gas           Gov. Aggregation
VEDO            4001311852596920            Gas           Gov. Aggregation   DEO             8180008029913               Gas           Gov. Aggregation
VEDO            4019504792628040            Gas           Gov. Aggregation   DEO             0180009025889               Gas           Gov. Aggregation
VEDO            4020199252628010            Gas           Gov. Aggregation   DEO             0180010801798               Gas           Gov. Aggregation
VEDO            4019126022628031            Gas           Gov. Aggregation   DEO             1180010353727               Gas           Gov. Aggregation
VEDO            4021053262628020            Gas           Gov. Aggregation   VEDO            4017599782523395            Gas           Gov. Aggregation
VEDO            4019968772628025            Gas           Gov. Aggregation   VEDO            4003198062301987            Gas           Gov. Aggregation
DEO             2180010724416               Gas           Gov. Aggregation   VEDO            4020064952278258            Gas           Gov. Aggregation
DEO             4180010735682               Gas           Gov. Aggregation   VEDO            4018692322394552            Gas           Gov. Aggregation
VEDO            4003128172308457            Gas           Gov. Aggregation   VEDO            4002610952315593            Gas           Gov. Aggregation
COH             202079340019                Gas           Gov. Aggregation   VEDO            4020432102675563            Gas           Gov. Aggregation
COH             202215530019                Gas           Gov. Aggregation   VEDO            4020268902634164            Gas           Gov. Aggregation
COH             201282460014                Gas           Gov. Aggregation   VEDO            4020130932673525            Gas           Gov. Aggregation
COH             201434240017                Gas           Gov. Aggregation   VEDO            4017864972479584            Gas           Gov. Aggregation
COH             201523030012                Gas           Gov. Aggregation   VEDO            4020202362395486            Gas           Gov. Aggregation
COH             201595630015                Gas           Gov. Aggregation   VEDO            4020791112378963            Gas           Gov. Aggregation
COH             201817540012                Gas           Gov. Aggregation   VEDO            4020244512674784            Gas           Gov. Aggregation
COH             201968590013                Gas           Gov. Aggregation   VEDO            4015733752640446            Gas           Gov. Aggregation
COH             202008160016                Gas           Gov. Aggregation   VEDO            4016635512676989            Gas           Gov. Aggregation
COH             202043340014                Gas           Gov. Aggregation   VEDO            4004207782673176            Gas           Gov. Aggregation
COH             110317580078                Gas           Gov. Aggregation   VEDO            4002324192673208            Gas           Gov. Aggregation
COH             198091160018                Gas           Gov. Aggregation   VEDO            4019256072675542            Gas           Gov. Aggregation
COH             198395150016                Gas           Gov. Aggregation   VEDO            4020933232643620            Gas           Gov. Aggregation
COH             198279800015                Gas           Gov. Aggregation   VEDO            4019745712645843            Gas           Gov. Aggregation
COH             198279890017                Gas           Gov. Aggregation   VEDO            4020137072676001            Gas           Gov. Aggregation
COH             198293940016                Gas           Gov. Aggregation   VEDO            4020243492602569            Gas           Gov. Aggregation
COH             198304400014                Gas           Gov. Aggregation   VEDO            4002591862270361            Gas           Gov. Aggregation
COH             155294250074                Gas           Gov. Aggregation   VEDO            4020155072628232            Gas           Gov. Aggregation
COH             160199720043                Gas           Gov. Aggregation   VEDO            4001615122157975            Gas           Gov. Aggregation
COH             188308750024                Gas           Gov. Aggregation   VEDO            4020313242676627            Gas           Gov. Aggregation
COH             188849290034                Gas           Gov. Aggregation   VEDO            4019262702397476            Gas           Gov. Aggregation
COH             201017640017                Gas           Gov. Aggregation   VEDO            4004375202441659            Gas           Gov. Aggregation
COH             192906410030                Gas           Gov. Aggregation   VEDO            4005022962223115            Gas           Gov. Aggregation
COH             110334950029                Gas           Gov. Aggregation   VEDO            4001732132169008            Gas           Gov. Aggregation
COH             192999750025                Gas           Gov. Aggregation   VEDO            4019917582672589            Gas           Gov. Aggregation
COH             194240110024                Gas           Gov. Aggregation   VEDO            4002119392554693            Gas           Gov. Aggregation
COH             200395230014                Gas           Gov. Aggregation   VEDO            4017274222420682            Gas           Gov. Aggregation
COH             200570230012                Gas           Gov. Aggregation   VEDO            4004167262674440            Gas           Gov. Aggregation
COH             200604250015                Gas           Gov. Aggregation   VEDO            4019078752674374            Gas           Gov. Aggregation
COH             197609330014                Gas           Gov. Aggregation   VEDO            4016000772639823            Gas           Gov. Aggregation
COH             197609430013                Gas           Gov. Aggregation   VEDO            4020001862639827            Gas           Gov. Aggregation
COH             197621740012                Gas           Gov. Aggregation   VEDO            4016871762625524            Gas           Gov. Aggregation
COH             197722950014                Gas           Gov. Aggregation   VEDO            4002713232672871            Gas           Gov. Aggregation
COH             153853690050                Gas           Gov. Aggregation   VEDO            4019388442466118            Gas           Gov. Aggregation
COH             196274090017                Gas           Gov. Aggregation   VEDO            4003216482317603            Gas           Gov. Aggregation
COH             196374610015                Gas           Gov. Aggregation   VEDO            4003766962139048            Gas           Gov. Aggregation
COH             197439730011                Gas           Gov. Aggregation   VEDO            4004629472469745            Gas           Gov. Aggregation
COH             195187670011                Gas           Gov. Aggregation   VEDO            4018821542436413            Gas           Gov. Aggregation
COH             191631610014                Gas           Gov. Aggregation   VEDO            4001153742114484            Gas           Gov. Aggregation
COH             193627490017                Gas           Gov. Aggregation   VEDO            4004313492434849            Gas           Gov. Aggregation
COH             193557520019                Gas           Gov. Aggregation   VEDO            4004313492510516            Gas           Gov. Aggregation
COH             192281800016                Gas           Gov. Aggregation   VEDO            4021054752459196            Gas           Gov. Aggregation
COH             198923600010                Gas           Gov. Aggregation   VEDO            4021045982493374            Gas           Gov. Aggregation
COH             199049290019                Gas           Gov. Aggregation   VEDO            4020084802270318            Gas           Gov. Aggregation
COH             199060540012                Gas           Gov. Aggregation   VEDO            4019917952243983            Gas           Gov. Aggregation
COH             199221660051                Gas           Gov. Aggregation   VEDO            4020892012498101            Gas           Gov. Aggregation
COH             199218580019                Gas           Gov. Aggregation   VEDO            4020917872314220            Gas           Gov. Aggregation
COH             194335490024                Gas           Gov. Aggregation   VEDO            4004184152369065            Gas           Gov. Aggregation
COH             194375910021                Gas           Gov. Aggregation   VEDO            4016637172470376            Gas           Gov. Aggregation
COH             194721110024                Gas           Gov. Aggregation   VEDO            4004271412309745            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             195680570016                Gas           Gov. Aggregation   VEDO            4018851202385422            Gas           Gov. Aggregation
COH             196013130010                Gas           Gov. Aggregation   VEDO            4004427992451909            Gas           Gov. Aggregation
COH             196175290015                Gas           Gov. Aggregation   VEDO            4017664512171636            Gas           Gov. Aggregation
COH             148855200046                Gas           Gov. Aggregation   VEDO            4019143842363558            Gas           Gov. Aggregation
COH             154742730028                Gas           Gov. Aggregation   VEDO            4018290722285391            Gas           Gov. Aggregation
COH             155979230012                Gas           Gov. Aggregation   VEDO            4004903332288986            Gas           Gov. Aggregation
COH             190996590027                Gas           Gov. Aggregation   VEDO            4020164022156748            Gas           Gov. Aggregation
COH             195180490013                Gas           Gov. Aggregation   VEDO            4016626872279878            Gas           Gov. Aggregation
COH             196160430016                Gas           Gov. Aggregation   COH             195995610029                Gas           Gov. Aggregation
COH             194254670019                Gas           Gov. Aggregation   COH             151644380032                Gas           Gov. Aggregation
COH             194415100016                Gas           Gov. Aggregation   COH             197974710011                Gas           Gov. Aggregation
COH             192677450011                Gas           Gov. Aggregation   COH             199890020012                Gas           Gov. Aggregation
COH             193645280013                Gas           Gov. Aggregation   COH             164476800017                Gas           Gov. Aggregation
COH             190886690010                Gas           Gov. Aggregation   COH             204809980014                Gas           Gov. Aggregation
COH             190886690029                Gas           Gov. Aggregation   COH             206440510012                Gas           Gov. Aggregation
COH             193415970015                Gas           Gov. Aggregation   VEDO            4018746002225997            Gas           Gov. Aggregation
COH             192691890019                Gas           Gov. Aggregation   DEO             2180010959104               Gas           Gov. Aggregation
COH             197940170016                Gas           Gov. Aggregation   COH             164849160020                Gas           Gov. Aggregation
COH             110363840012                Gas           Gov. Aggregation   VEDO            4002008812200046            Gas           Gov. Aggregation
COH             160352180014                Gas           Gov. Aggregation   COH             206698550019                Gas           Gov. Aggregation
COH             198488180013                Gas           Gov. Aggregation   VEDO            4021101042243812            Gas           Gov. Aggregation
COH             110404660021                Gas           Gov. Aggregation   COH             138495880031                Gas           Gov. Aggregation
COH             197504080019                Gas           Gov. Aggregation   VEDO            4002518152246736            Gas           Gov. Aggregation
COH             195591480014                Gas           Gov. Aggregation   VEDO            4001723972168222            Gas           Gov. Aggregation
COH             198723000010                Gas           Gov. Aggregation   VEDO            4004854962494562            Gas           Gov. Aggregation
COH             151748890017                Gas           Gov. Aggregation   COH             122031080011                Gas           Gov. Aggregation
COH             146068360017                Gas           Gov. Aggregation   DEO             9180010890241               Gas           Gov. Aggregation
COH             169365640011                Gas           Gov. Aggregation   VEDO            4019744432106821            Gas           Gov. Aggregation
COH             172613410017                Gas           Gov. Aggregation   VEDO            4018076952431518            Gas           Gov. Aggregation
COH             155080870013                Gas           Gov. Aggregation   COH             115019730028                Gas           Gov. Aggregation
COH             188723210018                Gas           Gov. Aggregation   COH             202974420023                Gas           Gov. Aggregation
COH             156768500011                Gas           Gov. Aggregation   VEDO            4004325072436131            Gas           Gov. Aggregation
COH             110311990010                Gas           Gov. Aggregation   DEO             0180007499241               Gas           Gov. Aggregation
COH             144277170016                Gas           Gov. Aggregation   DEO             5120000099425               Gas           Gov. Aggregation
COH             111000320027                Gas           Gov. Aggregation   DEO             4140000060579               Gas           Gov. Aggregation
COH             137881630017                Gas           Gov. Aggregation   COH             150724360233                Gas           Gov. Aggregation
COH             148735330025                Gas           Gov. Aggregation   VEDO            4002487332243648            Gas           Gov. Aggregation
COH             154150170058                Gas           Gov. Aggregation   VEDO            4004624432469179            Gas           Gov. Aggregation
COH             189753520019                Gas           Gov. Aggregation   COH             201931980036                Gas           Gov. Aggregation
COH             173980450039                Gas           Gov. Aggregation   VEDO            4003552642352732            Gas           Gov. Aggregation
COH             140185720019                Gas           Gov. Aggregation   VEDO            4001727662633614            Gas           Gov. Aggregation
COH             156134650022                Gas           Gov. Aggregation   COH             206651480012                Gas           Gov. Aggregation
COH             158107170019                Gas           Gov. Aggregation   COH             202161640011                Gas           Gov. Aggregation
COH             197006180014                Gas           Gov. Aggregation   COH             108832650011                Gas           Gov. Aggregation
COH             190691510038                Gas           Gov. Aggregation   COH             108832690013                Gas           Gov. Aggregation
COH             185833880027                Gas           Gov. Aggregation   COH             204913780015                Gas           Gov. Aggregation
COH             195158600016                Gas           Gov. Aggregation   COH             204736700017                Gas           Gov. Aggregation
COH             158979700010                Gas           Gov. Aggregation   COH             148714670019                Gas           Gov. Aggregation
COH             110273760029                Gas           Gov. Aggregation   COH             201865290023                Gas           Gov. Aggregation
COH             147295320013                Gas           Gov. Aggregation   COH             205128740017                Gas           Gov. Aggregation
COH             160553700036                Gas           Gov. Aggregation   DEO             0180011305647               Gas           Gov. Aggregation
COH             172090910012                Gas           Gov. Aggregation   DEO             0420906312715               Gas           Gov. Aggregation
COH             188604230016                Gas           Gov. Aggregation   VEDO            4003005722295893            Gas           Gov. Aggregation
COH             188072690019                Gas           Gov. Aggregation   VEDO            4003248432320926            Gas           Gov. Aggregation
COH             188961010016                Gas           Gov. Aggregation   VEDO            4018245542192581            Gas           Gov. Aggregation
COH             167197900015                Gas           Gov. Aggregation   COH             204907780018                Gas           Gov. Aggregation
COH             167379280010                Gas           Gov. Aggregation   COH             205425060010                Gas           Gov. Aggregation
COH             110399080017                Gas           Gov. Aggregation   COH             201410830022                Gas           Gov. Aggregation
COH             169410780015                Gas           Gov. Aggregation   COH             205416540018                Gas           Gov. Aggregation
COH             176659090015                Gas           Gov. Aggregation   COH             205416550016                Gas           Gov. Aggregation
COH             110419080031                Gas           Gov. Aggregation   COH             200657050070                Gas           Gov. Aggregation
COH             110914980014                Gas           Gov. Aggregation   COH             206536680014                Gas           Gov. Aggregation
COH             196633870011                Gas           Gov. Aggregation   COH             206643760010                Gas           Gov. Aggregation
COH             192094950012                Gas           Gov. Aggregation   COH             196872410155                Gas           Gov. Aggregation
COH             190243840010                Gas           Gov. Aggregation   COH             205537930010                Gas           Gov. Aggregation
COH             150339560014                Gas           Gov. Aggregation   COH             190121190033                Gas           Gov. Aggregation
COH             139892560017                Gas           Gov. Aggregation   COH             199914870030                Gas           Gov. Aggregation
COH             110272620011                Gas           Gov. Aggregation   COH             206600680017                Gas           Gov. Aggregation
COH             110381200018                Gas           Gov. Aggregation   COH             205646270018                Gas           Gov. Aggregation
COH             110273430019                Gas           Gov. Aggregation   COH             206541840019                Gas           Gov. Aggregation
COH             159269270015                Gas           Gov. Aggregation   COH             176625680307                Gas           Gov. Aggregation
COH             133174140013                Gas           Gov. Aggregation   COH             142388040029                Gas           Gov. Aggregation
COH             110381650014                Gas           Gov. Aggregation   COH             196013180029                Gas           Gov. Aggregation
COH             135489050022                Gas           Gov. Aggregation   COH             170212980056                Gas           Gov. Aggregation
COH             167121040015                Gas           Gov. Aggregation   COH             131377770013                Gas           Gov. Aggregation
COH             198243550013                Gas           Gov. Aggregation   COH             165208140049                Gas           Gov. Aggregation
COH             194864550011                Gas           Gov. Aggregation   COH             169042640024                Gas           Gov. Aggregation
COH             185268640035                Gas           Gov. Aggregation   COH             206056200012                Gas           Gov. Aggregation
COH             110947900011                Gas           Gov. Aggregation   COH             206246140012                Gas           Gov. Aggregation
COH             110374220037                Gas           Gov. Aggregation   COH             205475950018                Gas           Gov. Aggregation
COH             187894200047                Gas           Gov. Aggregation   COH             186421050023                Gas           Gov. Aggregation
COH             175583950016                Gas           Gov. Aggregation   COH             206438860014                Gas           Gov. Aggregation
COH             151330250016                Gas           Gov. Aggregation   COH             122403720017                Gas           Gov. Aggregation
COH             187626690015                Gas           Gov. Aggregation   COH             206482560023                Gas           Gov. Aggregation
COH             134371520014                Gas           Gov. Aggregation   COH             206585650017                Gas           Gov. Aggregation
COH             174177630015                Gas           Gov. Aggregation   COH             193114730022                Gas           Gov. Aggregation
COH             150289970097                Gas           Gov. Aggregation   COH             205009850016                Gas           Gov. Aggregation
COH             144717760027                Gas           Gov. Aggregation   COH             206131540011                Gas           Gov. Aggregation
COH             110290080017                Gas           Gov. Aggregation   COH             206724190018                Gas           Gov. Aggregation
COH             110399890017                Gas           Gov. Aggregation   COH             194453370029                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             130944700015                Gas           Gov. Aggregation   COH             206269100012                Gas           Gov. Aggregation
COH             194065990013                Gas           Gov. Aggregation   COH             199548430039                Gas           Gov. Aggregation
COH             143167160030                Gas           Gov. Aggregation   COH             206110120013                Gas           Gov. Aggregation
COH             199356720017                Gas           Gov. Aggregation   COH             192597350058                Gas           Gov. Aggregation
COH             147864500063                Gas           Gov. Aggregation   COH             201190010022                Gas           Gov. Aggregation
COH             165630790011                Gas           Gov. Aggregation   COH             205838130010                Gas           Gov. Aggregation
COH             189975140019                Gas           Gov. Aggregation   COH             162552290033                Gas           Gov. Aggregation
COH             110312380016                Gas           Gov. Aggregation   COH             153060960036                Gas           Gov. Aggregation
COH             165656870010                Gas           Gov. Aggregation   COH             156452960014                Gas           Gov. Aggregation
COH             110310340027                Gas           Gov. Aggregation   COH             206421180012                Gas           Gov. Aggregation
COH             110379020020                Gas           Gov. Aggregation   COH             205573300016                Gas           Gov. Aggregation
COH             167326380010                Gas           Gov. Aggregation   COH             206022810015                Gas           Gov. Aggregation
COH             110903040014                Gas           Gov. Aggregation   COH             206624000019                Gas           Gov. Aggregation
COH             168966910011                Gas           Gov. Aggregation   COH             206214800010                Gas           Gov. Aggregation
COH             162714620011                Gas           Gov. Aggregation   COH             206163040019                Gas           Gov. Aggregation
COH             146360480012                Gas           Gov. Aggregation   COH             199718410023                Gas           Gov. Aggregation
COH             110378650011                Gas           Gov. Aggregation   COH             190011580034                Gas           Gov. Aggregation
COH             174969490016                Gas           Gov. Aggregation   COH             197871560020                Gas           Gov. Aggregation
COH             110401330026                Gas           Gov. Aggregation   COH             206173700019                Gas           Gov. Aggregation
COH             110399570014                Gas           Gov. Aggregation   COH             173598100060                Gas           Gov. Aggregation
COH             163225790021                Gas           Gov. Aggregation   COH             205355750014                Gas           Gov. Aggregation
COH             110312700018                Gas           Gov. Aggregation   COH             204311530022                Gas           Gov. Aggregation
COH             110964940017                Gas           Gov. Aggregation   COH             203178130012                Gas           Gov. Aggregation
COH             143046420013                Gas           Gov. Aggregation   COH             198432420037                Gas           Gov. Aggregation
COH             110948360013                Gas           Gov. Aggregation   COH             206156210018                Gas           Gov. Aggregation
COH             159201880019                Gas           Gov. Aggregation   COH             122544900039                Gas           Gov. Aggregation
COH             161600490011                Gas           Gov. Aggregation   COH             192311890040                Gas           Gov. Aggregation
COH             110284040036                Gas           Gov. Aggregation   COH             177623930049                Gas           Gov. Aggregation
COH             157268110049                Gas           Gov. Aggregation   COH             202751080036                Gas           Gov. Aggregation
COH             110941020018                Gas           Gov. Aggregation   COH             167158360039                Gas           Gov. Aggregation
COH             151615500019                Gas           Gov. Aggregation   COH             205301780011                Gas           Gov. Aggregation
COH             110373460020                Gas           Gov. Aggregation   COH             204639060018                Gas           Gov. Aggregation
COH             141292970019                Gas           Gov. Aggregation   COH             158450550049                Gas           Gov. Aggregation
COH             110947190011                Gas           Gov. Aggregation   COH             206142880017                Gas           Gov. Aggregation
COH             134939210024                Gas           Gov. Aggregation   COH             206197810016                Gas           Gov. Aggregation
COH             110364120011                Gas           Gov. Aggregation   COH             200312260012                Gas           Gov. Aggregation
COH             132427360011                Gas           Gov. Aggregation   COH             205766680018                Gas           Gov. Aggregation
COH             110364470018                Gas           Gov. Aggregation   COH             199525510030                Gas           Gov. Aggregation
COH             110336530023                Gas           Gov. Aggregation   COH             191654330033                Gas           Gov. Aggregation
COH             186241080010                Gas           Gov. Aggregation   COH             194553200040                Gas           Gov. Aggregation
COH             153250240016                Gas           Gov. Aggregation   COH             201102900011                Gas           Gov. Aggregation
COH             153355350039                Gas           Gov. Aggregation   COH             196314040020                Gas           Gov. Aggregation
COH             185939680016                Gas           Gov. Aggregation   COH             134288600078                Gas           Gov. Aggregation
COH             148663830014                Gas           Gov. Aggregation   COH             190394940038                Gas           Gov. Aggregation
COH             110914410013                Gas           Gov. Aggregation   COH             190847690021                Gas           Gov. Aggregation
COH             166398130012                Gas           Gov. Aggregation   COH             136589830061                Gas           Gov. Aggregation
COH             136823940015                Gas           Gov. Aggregation   COH             161529990107                Gas           Gov. Aggregation
COH             135741920014                Gas           Gov. Aggregation   COH             205843810016                Gas           Gov. Aggregation
COH             145688360069                Gas           Gov. Aggregation   COH             205838160014                Gas           Gov. Aggregation
COH             149270090012                Gas           Gov. Aggregation   COH             193423980034                Gas           Gov. Aggregation
COH             110312790010                Gas           Gov. Aggregation   COH             205812140030                Gas           Gov. Aggregation
COH             167723830022                Gas           Gov. Aggregation   COH             206552650016                Gas           Gov. Aggregation
COH             146759420019                Gas           Gov. Aggregation   COH             194757000040                Gas           Gov. Aggregation
COH             177809760014                Gas           Gov. Aggregation   COH             129012312228                Gas           Gov. Aggregation
COH             138256040024                Gas           Gov. Aggregation   COH             163488460444                Gas           Gov. Aggregation
COH             190267560019                Gas           Gov. Aggregation   COH             205129250018                Gas           Gov. Aggregation
COH             144313300029                Gas           Gov. Aggregation   COH             191976390048                Gas           Gov. Aggregation
COH             186810830024                Gas           Gov. Aggregation   COH             206812560013                Gas           Gov. Aggregation
COH             110923240010                Gas           Gov. Aggregation   COH             206843340014                Gas           Gov. Aggregation
COH             110304770011                Gas           Gov. Aggregation   COH             205911170016                Gas           Gov. Aggregation
COH             110946540028                Gas           Gov. Aggregation   COH             195627760027                Gas           Gov. Aggregation
COH             110941360017                Gas           Gov. Aggregation   COH             206767830013                Gas           Gov. Aggregation
COH             138485400023                Gas           Gov. Aggregation   COH             206626280017                Gas           Gov. Aggregation
COH             140176660011                Gas           Gov. Aggregation   COH             205341990013                Gas           Gov. Aggregation
COH             185041120016                Gas           Gov. Aggregation   COH             206032460018                Gas           Gov. Aggregation
COH             187114800016                Gas           Gov. Aggregation   COH             206643800011                Gas           Gov. Aggregation
COH             191735520013                Gas           Gov. Aggregation   COH             190917380036                Gas           Gov. Aggregation
COH             189533600018                Gas           Gov. Aggregation   COH             205463520013                Gas           Gov. Aggregation
COH             189576970011                Gas           Gov. Aggregation   COH             201495420020                Gas           Gov. Aggregation
COH             190397490019                Gas           Gov. Aggregation   COH             158361050070                Gas           Gov. Aggregation
COH             169872540035                Gas           Gov. Aggregation   COH             205088220012                Gas           Gov. Aggregation
COH             175616520015                Gas           Gov. Aggregation   COH             206681460013                Gas           Gov. Aggregation
COH             170649870018                Gas           Gov. Aggregation   COH             206613390011                Gas           Gov. Aggregation
COH             189077060010                Gas           Gov. Aggregation   COH             206613380013                Gas           Gov. Aggregation
COH             161216950019                Gas           Gov. Aggregation   COH             206613450018                Gas           Gov. Aggregation
COH             189006490019                Gas           Gov. Aggregation   COH             204842340018                Gas           Gov. Aggregation
COH             110923570011                Gas           Gov. Aggregation   COH             204931810010                Gas           Gov. Aggregation
COH             110407660052                Gas           Gov. Aggregation   COH             206822410013                Gas           Gov. Aggregation
COH             186528240018                Gas           Gov. Aggregation   COH             170325670043                Gas           Gov. Aggregation
COH             136073010020                Gas           Gov. Aggregation   COH             206579190017                Gas           Gov. Aggregation
COH             176891460015                Gas           Gov. Aggregation   COH             205864510015                Gas           Gov. Aggregation
COH             110948460012                Gas           Gov. Aggregation   COH             205212090015                Gas           Gov. Aggregation
COH             110946340011                Gas           Gov. Aggregation   COH             206726180016                Gas           Gov. Aggregation
COH             143739820010                Gas           Gov. Aggregation   COH             204995220010                Gas           Gov. Aggregation
COH             155137640010                Gas           Gov. Aggregation   COH             205231090015                Gas           Gov. Aggregation
COH             161954680012                Gas           Gov. Aggregation   COH             206269090015                Gas           Gov. Aggregation
COH             167470530013                Gas           Gov. Aggregation   COH             205360570011                Gas           Gov. Aggregation
COH             140384640032                Gas           Gov. Aggregation   COH             188986880012                Gas           Gov. Aggregation
COH             141489920012                Gas           Gov. Aggregation   COH             205532380016                Gas           Gov. Aggregation
COH             168683150011                Gas           Gov. Aggregation   COH             205009860014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             110311960016                Gas           Gov. Aggregation   COH             205284260018                Gas           Gov. Aggregation
COH             160254820017                Gas           Gov. Aggregation   COH             147794590064                Gas           Gov. Aggregation
COH             110948420047                Gas           Gov. Aggregation   COH             205142220016                Gas           Gov. Aggregation
COH             188503500013                Gas           Gov. Aggregation   COH             205598560010                Gas           Gov. Aggregation
COH             153938400014                Gas           Gov. Aggregation   COH             204773720015                Gas           Gov. Aggregation
COH             162225330019                Gas           Gov. Aggregation   COH             204773720033                Gas           Gov. Aggregation
COH             110903100011                Gas           Gov. Aggregation   COH             193694970033                Gas           Gov. Aggregation
COH             172366740013                Gas           Gov. Aggregation   COH             204748290019                Gas           Gov. Aggregation
COH             110947200018                Gas           Gov. Aggregation   COH             205089090018                Gas           Gov. Aggregation
COH             110922400018                Gas           Gov. Aggregation   COH             197054480403                Gas           Gov. Aggregation
COH             142999070028                Gas           Gov. Aggregation   COH             204914200014                Gas           Gov. Aggregation
COH             152628900017                Gas           Gov. Aggregation   COH             173558940031                Gas           Gov. Aggregation
COH             110923540017                Gas           Gov. Aggregation   COH             186548290105                Gas           Gov. Aggregation
COH             148032320018                Gas           Gov. Aggregation   COH             192167740039                Gas           Gov. Aggregation
COH             156714080013                Gas           Gov. Aggregation   COH             206000240011                Gas           Gov. Aggregation
COH             110394850060                Gas           Gov. Aggregation   COH             197870440027                Gas           Gov. Aggregation
COH             110914620019                Gas           Gov. Aggregation   COH             206071030016                Gas           Gov. Aggregation
COH             110398960023                Gas           Gov. Aggregation   COH             204812560024                Gas           Gov. Aggregation
COH             166518980018                Gas           Gov. Aggregation   COH             206360140010                Gas           Gov. Aggregation
COH             167768940016                Gas           Gov. Aggregation   COH             204730480016                Gas           Gov. Aggregation
COH             110940790019                Gas           Gov. Aggregation   COH             206117460018                Gas           Gov. Aggregation
COH             110393740010                Gas           Gov. Aggregation   COH             205381530015                Gas           Gov. Aggregation
COH             149791010014                Gas           Gov. Aggregation   COH             206310770013                Gas           Gov. Aggregation
COH             171558730019                Gas           Gov. Aggregation   COH             205138420013                Gas           Gov. Aggregation
COH             151116090023                Gas           Gov. Aggregation   COH             204832450016                Gas           Gov. Aggregation
COH             110399390021                Gas           Gov. Aggregation   COH             204959220016                Gas           Gov. Aggregation
COH             161854480016                Gas           Gov. Aggregation   COH             206083870015                Gas           Gov. Aggregation
COH             132345840014                Gas           Gov. Aggregation   COH             197474380048                Gas           Gov. Aggregation
COH             110292450015                Gas           Gov. Aggregation   COH             206489700010                Gas           Gov. Aggregation
COH             157546770014                Gas           Gov. Aggregation   COH             206042840035                Gas           Gov. Aggregation
COH             159854120015                Gas           Gov. Aggregation   COH             199955670027                Gas           Gov. Aggregation
COH             165102840037                Gas           Gov. Aggregation   COH             206623350018                Gas           Gov. Aggregation
COH             110373680024                Gas           Gov. Aggregation   COH             165492110053                Gas           Gov. Aggregation
COH             127645140030                Gas           Gov. Aggregation   COH             200465670077                Gas           Gov. Aggregation
COH             186226180011                Gas           Gov. Aggregation   COH             205838150016                Gas           Gov. Aggregation
COH             130716840019                Gas           Gov. Aggregation   COH             201958960034                Gas           Gov. Aggregation
COH             150039100016                Gas           Gov. Aggregation   COH             202282510058                Gas           Gov. Aggregation
COH             161460520012                Gas           Gov. Aggregation   COH             171809560174                Gas           Gov. Aggregation
COH             110414780034                Gas           Gov. Aggregation   COH             171809560183                Gas           Gov. Aggregation
COH             110313100012                Gas           Gov. Aggregation   COH             171809560209                Gas           Gov. Aggregation
COH             185126450017                Gas           Gov. Aggregation   COH             171809560218                Gas           Gov. Aggregation
COH             168818210011                Gas           Gov. Aggregation   COH             156383110064                Gas           Gov. Aggregation
COH             168157820015                Gas           Gov. Aggregation   COH             129012312237                Gas           Gov. Aggregation
COH             140431720016                Gas           Gov. Aggregation   COH             171809560236                Gas           Gov. Aggregation
COH             196730940010                Gas           Gov. Aggregation   COH             171809560227                Gas           Gov. Aggregation
COH             197290310015                Gas           Gov. Aggregation   COH             199761470100                Gas           Gov. Aggregation
COH             197530540017                Gas           Gov. Aggregation   COH             206146990034                Gas           Gov. Aggregation
COH             197537880012                Gas           Gov. Aggregation   COH             201275190034                Gas           Gov. Aggregation
COH             195824170014                Gas           Gov. Aggregation   COH             158196570045                Gas           Gov. Aggregation
COH             130784640090                Gas           Gov. Aggregation   COH             158196570054                Gas           Gov. Aggregation
COH             140457610060                Gas           Gov. Aggregation   COH             205757420011                Gas           Gov. Aggregation
COH             152307260165                Gas           Gov. Aggregation   COH             206310780011                Gas           Gov. Aggregation
COH             158610810044                Gas           Gov. Aggregation   COH             205849610034                Gas           Gov. Aggregation
COH             161712280036                Gas           Gov. Aggregation   COH             205849610052                Gas           Gov. Aggregation
COH             170973920029                Gas           Gov. Aggregation   COH             206055770015                Gas           Gov. Aggregation
COH             198415500018                Gas           Gov. Aggregation   COH             122360790211                Gas           Gov. Aggregation
COH             198353070011                Gas           Gov. Aggregation   COH             195769310049                Gas           Gov. Aggregation
COH             198432360012                Gas           Gov. Aggregation   COH             206015970035                Gas           Gov. Aggregation
COH             198957310010                Gas           Gov. Aggregation   COH             206015970053                Gas           Gov. Aggregation
COH             198998180012                Gas           Gov. Aggregation   COH             199207150021                Gas           Gov. Aggregation
COH             199019110019                Gas           Gov. Aggregation   COH             206025520010                Gas           Gov. Aggregation
COH             196496790010                Gas           Gov. Aggregation   COH             171809560192                Gas           Gov. Aggregation
COH             193913820010                Gas           Gov. Aggregation   COH             122360790202                Gas           Gov. Aggregation
COH             192162590013                Gas           Gov. Aggregation   COH             122360790195                Gas           Gov. Aggregation
COH             192340630016                Gas           Gov. Aggregation   COH             204706510029                Gas           Gov. Aggregation
COH             193878450014                Gas           Gov. Aggregation   COH             205138400017                Gas           Gov. Aggregation
COH             125825320229                Gas           Gov. Aggregation   COH             129857950119                Gas           Gov. Aggregation
COH             136248710013                Gas           Gov. Aggregation   COH             206544870017                Gas           Gov. Aggregation
COH             169171900017                Gas           Gov. Aggregation   COH             205491300010                Gas           Gov. Aggregation
COH             193701310016                Gas           Gov. Aggregation   COH             205605500015                Gas           Gov. Aggregation
COH             194911790010                Gas           Gov. Aggregation   COH             205851430019                Gas           Gov. Aggregation
COH             169726400104                Gas           Gov. Aggregation   COH             206842350014                Gas           Gov. Aggregation
COH             194098580010                Gas           Gov. Aggregation   COH             206569130010                Gas           Gov. Aggregation
COH             157772770015                Gas           Gov. Aggregation   COH             206722890015                Gas           Gov. Aggregation
COH             193375490012                Gas           Gov. Aggregation   COH             205389080014                Gas           Gov. Aggregation
COH             193634270018                Gas           Gov. Aggregation   COH             206640000015                Gas           Gov. Aggregation
COH             194144320015                Gas           Gov. Aggregation   COH             198923660027                Gas           Gov. Aggregation
COH             193583880019                Gas           Gov. Aggregation   COH             205988710011                Gas           Gov. Aggregation
COH             110399090015                Gas           Gov. Aggregation   COH             205610250017                Gas           Gov. Aggregation
COH             168203210014                Gas           Gov. Aggregation   COH             204662080015                Gas           Gov. Aggregation
COH             136390290011                Gas           Gov. Aggregation   COH             205763960015                Gas           Gov. Aggregation
COH             142389020012                Gas           Gov. Aggregation   COH             206521970014                Gas           Gov. Aggregation
COH             110351870011                Gas           Gov. Aggregation   COH             206488250017                Gas           Gov. Aggregation
COH             110392570018                Gas           Gov. Aggregation   COH             205249910015                Gas           Gov. Aggregation
COH             110287010045                Gas           Gov. Aggregation   COH             186207930040                Gas           Gov. Aggregation
COH             146453210011                Gas           Gov. Aggregation   COH             200473440023                Gas           Gov. Aggregation
COH             110965140013                Gas           Gov. Aggregation   COH             190744180026                Gas           Gov. Aggregation
COH             140986470014                Gas           Gov. Aggregation   COH             205573260015                Gas           Gov. Aggregation
COH             110312650019                Gas           Gov. Aggregation   COH             122414630077                Gas           Gov. Aggregation
COH             163261570030                Gas           Gov. Aggregation   COH             135705100067                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             167798820027                Gas           Gov. Aggregation   COH             205461340015                Gas           Gov. Aggregation
COH             173303420011                Gas           Gov. Aggregation   COH             206737720019                Gas           Gov. Aggregation
COH             185215170017                Gas           Gov. Aggregation   COH             205846360015                Gas           Gov. Aggregation
COH             188589450014                Gas           Gov. Aggregation   COH             166081920035                Gas           Gov. Aggregation
COH             110314380021                Gas           Gov. Aggregation   COH             205024390020                Gas           Gov. Aggregation
COH             186651290017                Gas           Gov. Aggregation   COH             205396960014                Gas           Gov. Aggregation
COH             110940640010                Gas           Gov. Aggregation   COH             205265450018                Gas           Gov. Aggregation
COH             172816950014                Gas           Gov. Aggregation   COH             136602640034                Gas           Gov. Aggregation
COH             154406220018                Gas           Gov. Aggregation   COH             122476000033                Gas           Gov. Aggregation
COH             140540480025                Gas           Gov. Aggregation   COH             205861260014                Gas           Gov. Aggregation
COH             171556520017                Gas           Gov. Aggregation   COH             197495620034                Gas           Gov. Aggregation
COH             188457700010                Gas           Gov. Aggregation   COH             204811790028                Gas           Gov. Aggregation
COH             188934660017                Gas           Gov. Aggregation   COH             206460750010                Gas           Gov. Aggregation
COH             110378940010                Gas           Gov. Aggregation   COH             192080550033                Gas           Gov. Aggregation
COH             162810170012                Gas           Gov. Aggregation   COH             206191570019                Gas           Gov. Aggregation
COH             110915350014                Gas           Gov. Aggregation   COH             203344900026                Gas           Gov. Aggregation
COH             153927570012                Gas           Gov. Aggregation   COH             204941180012                Gas           Gov. Aggregation
COH             158839830019                Gas           Gov. Aggregation   COH             206373070018                Gas           Gov. Aggregation
COH             153307670015                Gas           Gov. Aggregation   COH             200973420036                Gas           Gov. Aggregation
COH             168727550013                Gas           Gov. Aggregation   COH             187369390050                Gas           Gov. Aggregation
COH             177364260013                Gas           Gov. Aggregation   COH             205336340010                Gas           Gov. Aggregation
COH             156339920012                Gas           Gov. Aggregation   COH             194119070057                Gas           Gov. Aggregation
COH             110292090011                Gas           Gov. Aggregation   COH             205211350012                Gas           Gov. Aggregation
COH             110372520010                Gas           Gov. Aggregation   COH             205646260010                Gas           Gov. Aggregation
COH             110947390019                Gas           Gov. Aggregation   COH             187906630068                Gas           Gov. Aggregation
COH             110351980018                Gas           Gov. Aggregation   COH             194944450030                Gas           Gov. Aggregation
COH             171329750010                Gas           Gov. Aggregation   COH             206134000018                Gas           Gov. Aggregation
COH             159503180034                Gas           Gov. Aggregation   COH             206018840018                Gas           Gov. Aggregation
COH             110407660025                Gas           Gov. Aggregation   COH             204917390019                Gas           Gov. Aggregation
COH             110399760014                Gas           Gov. Aggregation   COH             202616250027                Gas           Gov. Aggregation
COH             149558690016                Gas           Gov. Aggregation   COH             122486740082                Gas           Gov. Aggregation
COH             142652930012                Gas           Gov. Aggregation   COH             197214390019                Gas           Gov. Aggregation
COH             110312220019                Gas           Gov. Aggregation   COH             204655920013                Gas           Gov. Aggregation
COH             111015450010                Gas           Gov. Aggregation   COH             204768610019                Gas           Gov. Aggregation
COH             172292780012                Gas           Gov. Aggregation   COH             196912920054                Gas           Gov. Aggregation
COH             168955880011                Gas           Gov. Aggregation   COH             197705070033                Gas           Gov. Aggregation
COH             174336220013                Gas           Gov. Aggregation   COH             206124980014                Gas           Gov. Aggregation
COH             169645220015                Gas           Gov. Aggregation   COH             156111480035                Gas           Gov. Aggregation
COH             110957540025                Gas           Gov. Aggregation   COH             194965510042                Gas           Gov. Aggregation
COH             110393830011                Gas           Gov. Aggregation   COH             204969440019                Gas           Gov. Aggregation
COH             110304700015                Gas           Gov. Aggregation   COH             205545340017                Gas           Gov. Aggregation
COH             156120980013                Gas           Gov. Aggregation   COH             205899680017                Gas           Gov. Aggregation
COH             110923840014                Gas           Gov. Aggregation   COH             206073850010                Gas           Gov. Aggregation
COH             188864400010                Gas           Gov. Aggregation   COH             122546940046                Gas           Gov. Aggregation
COH             110299830600                Gas           Gov. Aggregation   COH             185714370053                Gas           Gov. Aggregation
COH             110292040020                Gas           Gov. Aggregation   COH             196082580039                Gas           Gov. Aggregation
COH             150384880030                Gas           Gov. Aggregation   COH             189448320027                Gas           Gov. Aggregation
COH             175511080010                Gas           Gov. Aggregation   COH             197168040039                Gas           Gov. Aggregation
COH             148610020015                Gas           Gov. Aggregation   COH             205916650015                Gas           Gov. Aggregation
COH             188787010016                Gas           Gov. Aggregation   COH             204811700017                Gas           Gov. Aggregation
COH             110289950026                Gas           Gov. Aggregation   COH             206487750014                Gas           Gov. Aggregation
COH             153574070016                Gas           Gov. Aggregation   COH             186646870034                Gas           Gov. Aggregation
COH             154615510014                Gas           Gov. Aggregation   COH             206466590012                Gas           Gov. Aggregation
COH             110387430045                Gas           Gov. Aggregation   COH             204931820018                Gas           Gov. Aggregation
COH             187087230033                Gas           Gov. Aggregation   COH             175629720089                Gas           Gov. Aggregation
COH             187809130014                Gas           Gov. Aggregation   COH             204890620018                Gas           Gov. Aggregation
COH             126977710010                Gas           Gov. Aggregation   COH             205930260017                Gas           Gov. Aggregation
COH             148276620037                Gas           Gov. Aggregation   COH             122369720020                Gas           Gov. Aggregation
COH             110915570018                Gas           Gov. Aggregation   COH             199908380027                Gas           Gov. Aggregation
COH             163194690010                Gas           Gov. Aggregation   COH             205631070011                Gas           Gov. Aggregation
COH             170882670016                Gas           Gov. Aggregation   COH             204181130023                Gas           Gov. Aggregation
COH             158146890016                Gas           Gov. Aggregation   COH             199953420041                Gas           Gov. Aggregation
COH             187542110014                Gas           Gov. Aggregation   COH             197753840030                Gas           Gov. Aggregation
COH             110352490019                Gas           Gov. Aggregation   COH             204787990010                Gas           Gov. Aggregation
COH             188107060025                Gas           Gov. Aggregation   COH             171575950053                Gas           Gov. Aggregation
COH             158551730010                Gas           Gov. Aggregation   COH             191754870118                Gas           Gov. Aggregation
COH             165365830033                Gas           Gov. Aggregation   COH             156218390038                Gas           Gov. Aggregation
COH             189475290018                Gas           Gov. Aggregation   COH             206183990018                Gas           Gov. Aggregation
COH             189727550018                Gas           Gov. Aggregation   COH             195801190027                Gas           Gov. Aggregation
COH             150593270026                Gas           Gov. Aggregation   COH             203411420024                Gas           Gov. Aggregation
COH             189950230012                Gas           Gov. Aggregation   COH             170545120104                Gas           Gov. Aggregation
COH             110291340038                Gas           Gov. Aggregation   COH             191359710057                Gas           Gov. Aggregation
COH             148963360366                Gas           Gov. Aggregation   COH             206556820012                Gas           Gov. Aggregation
COH             188196260026                Gas           Gov. Aggregation   COH             206170220016                Gas           Gov. Aggregation
COH             190467080025                Gas           Gov. Aggregation   COH             205287030010                Gas           Gov. Aggregation
COH             190188560026                Gas           Gov. Aggregation   COH             206506500014                Gas           Gov. Aggregation
COH             193367040022                Gas           Gov. Aggregation   COH             206747290019                Gas           Gov. Aggregation
COH             194556590034                Gas           Gov. Aggregation   COH             204830690010                Gas           Gov. Aggregation
COH             202352880025                Gas           Gov. Aggregation   COH             205815800017                Gas           Gov. Aggregation
COH             200276710024                Gas           Gov. Aggregation   COH             206827650013                Gas           Gov. Aggregation
COH             202368050017                Gas           Gov. Aggregation   COH             205540330019                Gas           Gov. Aggregation
COH             202433570028                Gas           Gov. Aggregation   COH             206551430014                Gas           Gov. Aggregation
COH             202417610014                Gas           Gov. Aggregation   COH             204675300011                Gas           Gov. Aggregation
COH             202525050013                Gas           Gov. Aggregation   COH             206673840010                Gas           Gov. Aggregation
COH             202756960013                Gas           Gov. Aggregation   COH             172390440079                Gas           Gov. Aggregation
COH             202942810019                Gas           Gov. Aggregation   COH             205633970018                Gas           Gov. Aggregation
COH             203148570013                Gas           Gov. Aggregation   COH             204765640019                Gas           Gov. Aggregation
COH             203140030012                Gas           Gov. Aggregation   COH             206072180013                Gas           Gov. Aggregation
COH             203367410012                Gas           Gov. Aggregation   COH             188355980027                Gas           Gov. Aggregation
COH             203488770011                Gas           Gov. Aggregation   COH             168133770061                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             203536710010                Gas           Gov. Aggregation   COH             206117500019                Gas           Gov. Aggregation
COH             203761990015                Gas           Gov. Aggregation   COH             197159260032                Gas           Gov. Aggregation
COH             203931990014                Gas           Gov. Aggregation   COH             205838250015                Gas           Gov. Aggregation
COH             203910020011                Gas           Gov. Aggregation   COH             205585930019                Gas           Gov. Aggregation
COH             204381610019                Gas           Gov. Aggregation   COH             185661640040                Gas           Gov. Aggregation
COH             204281240019                Gas           Gov. Aggregation   COH             132702160028                Gas           Gov. Aggregation
COH             204371900019                Gas           Gov. Aggregation   COH             205802250010                Gas           Gov. Aggregation
COH             195007650024                Gas           Gov. Aggregation   COH             205773580014                Gas           Gov. Aggregation
COH             203101820018                Gas           Gov. Aggregation   COH             197668440035                Gas           Gov. Aggregation
COH             199221660079                Gas           Gov. Aggregation   COH             152569930115                Gas           Gov. Aggregation
COH             110384920020                Gas           Gov. Aggregation   COH             193714450038                Gas           Gov. Aggregation
COH             156406570013                Gas           Gov. Aggregation   COH             147673810036                Gas           Gov. Aggregation
COH             150475560043                Gas           Gov. Aggregation   COH             204981680031                Gas           Gov. Aggregation
COH             110977560010                Gas           Gov. Aggregation   COH             205089160013                Gas           Gov. Aggregation
COH             110915500012                Gas           Gov. Aggregation   COH             202984330021                Gas           Gov. Aggregation
COH             110364340024                Gas           Gov. Aggregation   COH             138403170042                Gas           Gov. Aggregation
COH             111001680011                Gas           Gov. Aggregation   COH             198122700017                Gas           Gov. Aggregation
COH             110312840019                Gas           Gov. Aggregation   COH             203257570021                Gas           Gov. Aggregation
COH             158095880017                Gas           Gov. Aggregation   COH             206163110014                Gas           Gov. Aggregation
COH             126975070028                Gas           Gov. Aggregation   COH             205643410014                Gas           Gov. Aggregation
COH             110373170012                Gas           Gov. Aggregation   COH             202503760038                Gas           Gov. Aggregation
COH             128901620016                Gas           Gov. Aggregation   COH             195110070027                Gas           Gov. Aggregation
COH             110940620014                Gas           Gov. Aggregation   COH             204946940012                Gas           Gov. Aggregation
COH             110272960010                Gas           Gov. Aggregation   COH             205899900010                Gas           Gov. Aggregation
COH             171157260018                Gas           Gov. Aggregation   COH             197299860085                Gas           Gov. Aggregation
COH             110275650019                Gas           Gov. Aggregation   COH             193968820024                Gas           Gov. Aggregation
COH             159882730018                Gas           Gov. Aggregation   COH             205864600016                Gas           Gov. Aggregation
COH             110922070018                Gas           Gov. Aggregation   COH             205682320011                Gas           Gov. Aggregation
COH             110941320015                Gas           Gov. Aggregation   COH             197765580021                Gas           Gov. Aggregation
COH             157168870015                Gas           Gov. Aggregation   COH             200752080027                Gas           Gov. Aggregation
COH             110378880022                Gas           Gov. Aggregation   COH             197184850026                Gas           Gov. Aggregation
COH             110948290018                Gas           Gov. Aggregation   COH             142031170027                Gas           Gov. Aggregation
COH             163059310015                Gas           Gov. Aggregation   COH             191352890027                Gas           Gov. Aggregation
COH             171144100018                Gas           Gov. Aggregation   COH             205899850011                Gas           Gov. Aggregation
COH             110289550011                Gas           Gov. Aggregation   COH             206025550014                Gas           Gov. Aggregation
COH             171558820010                Gas           Gov. Aggregation   COH             205423120011                Gas           Gov. Aggregation
COH             192615200013                Gas           Gov. Aggregation   COH             205219540016                Gas           Gov. Aggregation
COH             110305830016                Gas           Gov. Aggregation   COH             205115420011                Gas           Gov. Aggregation
COH             148752500014                Gas           Gov. Aggregation   COH             204741210019                Gas           Gov. Aggregation
COH             138216240017                Gas           Gov. Aggregation   COH             205021620018                Gas           Gov. Aggregation
COH             110968890010                Gas           Gov. Aggregation   COH             133015190046                Gas           Gov. Aggregation
COH             110352640017                Gas           Gov. Aggregation   COH             187525490020                Gas           Gov. Aggregation
COH             156032230017                Gas           Gov. Aggregation   COH             206655630012                Gas           Gov. Aggregation
COH             111014440014                Gas           Gov. Aggregation   COH             206317670010                Gas           Gov. Aggregation
COH             110946580011                Gas           Gov. Aggregation   COH             206770950011                Gas           Gov. Aggregation
COH             110315600013                Gas           Gov. Aggregation   COH             206658770017                Gas           Gov. Aggregation
COH             132643220012                Gas           Gov. Aggregation   COH             205662590017                Gas           Gov. Aggregation
COH             110359580016                Gas           Gov. Aggregation   COH             146977190016                Gas           Gov. Aggregation
COH             110902970011                Gas           Gov. Aggregation   COH             122457400235                Gas           Gov. Aggregation
COH             141272650018                Gas           Gov. Aggregation   COH             122493770036                Gas           Gov. Aggregation
COH             110976640015                Gas           Gov. Aggregation   COH             129754100133                Gas           Gov. Aggregation
COH             164332020015                Gas           Gov. Aggregation   COH             205108830010                Gas           Gov. Aggregation
COH             162113790010                Gas           Gov. Aggregation   COH             206384580018                Gas           Gov. Aggregation
COH             110921870012                Gas           Gov. Aggregation   COH             206073880014                Gas           Gov. Aggregation
COH             196560980013                Gas           Gov. Aggregation   COH             206612540011                Gas           Gov. Aggregation
COH             110921810023                Gas           Gov. Aggregation   COH             206445620019                Gas           Gov. Aggregation
COH             110291260017                Gas           Gov. Aggregation   COH             206290810018                Gas           Gov. Aggregation
COH             110392530016                Gas           Gov. Aggregation   COH             204861600013                Gas           Gov. Aggregation
COH             110273800011                Gas           Gov. Aggregation   COH             203180280016                Gas           Gov. Aggregation
COH             152320350015                Gas           Gov. Aggregation   COH             205057880028                Gas           Gov. Aggregation
COH             110373330027                Gas           Gov. Aggregation   COH             205057880046                Gas           Gov. Aggregation
COH             146448670025                Gas           Gov. Aggregation   COH             170305280029                Gas           Gov. Aggregation
COH             140092200015                Gas           Gov. Aggregation   COH             205738140010                Gas           Gov. Aggregation
COH             110340480025                Gas           Gov. Aggregation   COH             122388870065                Gas           Gov. Aggregation
COH             201754130012                Gas           Gov. Aggregation   COH             206277810016                Gas           Gov. Aggregation
COH             110292730025                Gas           Gov. Aggregation   COH             204909400013                Gas           Gov. Aggregation
COH             205702590011                Gas           Gov. Aggregation   COH             153443640059                Gas           Gov. Aggregation
COH             205851360014                Gas           Gov. Aggregation   COH             114505060038                Gas           Gov. Aggregation
COH             204966750010                Gas           Gov. Aggregation   COH             206134070014                Gas           Gov. Aggregation
COH             204675070010                Gas           Gov. Aggregation   COH             137462400022                Gas           Gov. Aggregation
COH             127110260038                Gas           Gov. Aggregation   COH             147337970035                Gas           Gov. Aggregation
COH             172774990025                Gas           Gov. Aggregation   COH             204977830010                Gas           Gov. Aggregation
COH             110399530012                Gas           Gov. Aggregation   COH             205463560015                Gas           Gov. Aggregation
COH             204741140014                Gas           Gov. Aggregation   COH             205932240017                Gas           Gov. Aggregation
COH             110373140018                Gas           Gov. Aggregation   COH             205757460013                Gas           Gov. Aggregation
COH             151633500075                Gas           Gov. Aggregation   COH             206783090015                Gas           Gov. Aggregation
COH             157886120029                Gas           Gov. Aggregation   COH             200081940038                Gas           Gov. Aggregation
COH             201478110012                Gas           Gov. Aggregation   COH             206085350010                Gas           Gov. Aggregation
COH             185304280051                Gas           Gov. Aggregation   COH             205651910012                Gas           Gov. Aggregation
COH             206051690010                Gas           Gov. Aggregation   COH             206168110032                Gas           Gov. Aggregation
COH             201706480010                Gas           Gov. Aggregation   COH             204758900019                Gas           Gov. Aggregation
COH             204620220013                Gas           Gov. Aggregation   COH             204054460023                Gas           Gov. Aggregation
COH             201297360014                Gas           Gov. Aggregation   COH             206603910012                Gas           Gov. Aggregation
COH             172211810051                Gas           Gov. Aggregation   COH             168892430028                Gas           Gov. Aggregation
COH             199832870016                Gas           Gov. Aggregation   COH             206698490012                Gas           Gov. Aggregation
COH             199828750038                Gas           Gov. Aggregation   COH             188994900047                Gas           Gov. Aggregation
COH             110378860017                Gas           Gov. Aggregation   COH             171809560165                Gas           Gov. Aggregation
COH             205548460016                Gas           Gov. Aggregation   COH             167270950037                Gas           Gov. Aggregation
COH             205846330011                Gas           Gov. Aggregation   COH             133064080037                Gas           Gov. Aggregation
COH             204941100018                Gas           Gov. Aggregation   COH             199617210038                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             190789850049                Gas           Gov. Aggregation   COH             200424050028                Gas           Gov. Aggregation
COH             206089960014                Gas           Gov. Aggregation   COH             190680880034                Gas           Gov. Aggregation
COH             202328080015                Gas           Gov. Aggregation   COH             205482400018                Gas           Gov. Aggregation
COH             205978190012                Gas           Gov. Aggregation   COH             189091660069                Gas           Gov. Aggregation
COH             203555160016                Gas           Gov. Aggregation   COH             205715630015                Gas           Gov. Aggregation
COH             200480550016                Gas           Gov. Aggregation   COH             206220860015                Gas           Gov. Aggregation
COH             203607240018                Gas           Gov. Aggregation   COH             206323620017                Gas           Gov. Aggregation
COH             205515990014                Gas           Gov. Aggregation   COH             122498510049                Gas           Gov. Aggregation
COH             191088240033                Gas           Gov. Aggregation   COH             202433780024                Gas           Gov. Aggregation
COH             204538870012                Gas           Gov. Aggregation   COH             151000180038                Gas           Gov. Aggregation
COH             206224270011                Gas           Gov. Aggregation   COH             205319380018                Gas           Gov. Aggregation
COH             192320090021                Gas           Gov. Aggregation   COH             206401380012                Gas           Gov. Aggregation
COH             205493890013                Gas           Gov. Aggregation   COH             205643480010                Gas           Gov. Aggregation
COH             175150440047                Gas           Gov. Aggregation   COH             132238360067                Gas           Gov. Aggregation
COH             205608970011                Gas           Gov. Aggregation   COH             197682970034                Gas           Gov. Aggregation
COH             193238190015                Gas           Gov. Aggregation   COH             141818740048                Gas           Gov. Aggregation
COH             205627980019                Gas           Gov. Aggregation   COH             170484910028                Gas           Gov. Aggregation
COH             140116440013                Gas           Gov. Aggregation   COH             192996730034                Gas           Gov. Aggregation
COH             205457330016                Gas           Gov. Aggregation   COH             205560150015                Gas           Gov. Aggregation
COH             111006640019                Gas           Gov. Aggregation   COH             188281800030                Gas           Gov. Aggregation
COH             202460310016                Gas           Gov. Aggregation   COH             199560550029                Gas           Gov. Aggregation
COH             110976280020                Gas           Gov. Aggregation   COH             196895130021                Gas           Gov. Aggregation
COH             202638780011                Gas           Gov. Aggregation   COH             152150810028                Gas           Gov. Aggregation
COH             205874440019                Gas           Gov. Aggregation   COH             206002840011                Gas           Gov. Aggregation
COH             204841610013                Gas           Gov. Aggregation   COH             206203350018                Gas           Gov. Aggregation
COH             197764510018                Gas           Gov. Aggregation   COH             205624770019                Gas           Gov. Aggregation
COH             204607670017                Gas           Gov. Aggregation   COH             192067730033                Gas           Gov. Aggregation
COH             204441970016                Gas           Gov. Aggregation   COH             206107710016                Gas           Gov. Aggregation
COH             204972480014                Gas           Gov. Aggregation   COH             154937350169                Gas           Gov. Aggregation
COH             166997050037                Gas           Gov. Aggregation   COH             206073930013                Gas           Gov. Aggregation
COH             163302980036                Gas           Gov. Aggregation   COH             205108900015                Gas           Gov. Aggregation
COH             166405530011                Gas           Gov. Aggregation   COH             205682290018                Gas           Gov. Aggregation
COH             204957600010                Gas           Gov. Aggregation   COH             172900330051                Gas           Gov. Aggregation
COH             195746440013                Gas           Gov. Aggregation   COH             206156270016                Gas           Gov. Aggregation
COH             110981780015                Gas           Gov. Aggregation   COH             165791570026                Gas           Gov. Aggregation
COH             206042680020                Gas           Gov. Aggregation   COH             196052590012                Gas           Gov. Aggregation
COH             203791550014                Gas           Gov. Aggregation   COH             173283980027                Gas           Gov. Aggregation
COH             205815700018                Gas           Gov. Aggregation   COH             206090430012                Gas           Gov. Aggregation
COH             204861200017                Gas           Gov. Aggregation   COH             203934810015                Gas           Gov. Aggregation
COH             186229550080                Gas           Gov. Aggregation   COH             122441440025                Gas           Gov. Aggregation
COH             205115360014                Gas           Gov. Aggregation   COH             122438350129                Gas           Gov. Aggregation
COH             205048020018                Gas           Gov. Aggregation   COH             148360750031                Gas           Gov. Aggregation
COH             205375080013                Gas           Gov. Aggregation   COH             205953260019                Gas           Gov. Aggregation
COH             205131800017                Gas           Gov. Aggregation   COH             206042800015                Gas           Gov. Aggregation
COH             204521260015                Gas           Gov. Aggregation   DEO             5180011276674               Gas           Gov. Aggregation
COH             205800870014                Gas           Gov. Aggregation   DEO             8500002682046               Gas           Gov. Aggregation
VEDO            4017329302424384            Gas           Gov. Aggregation   DEO             0180010250303               Gas           Gov. Aggregation
COH             123798580011                Gas           Gov. Aggregation   DEO             8500066750829               Gas           Gov. Aggregation
COH             172342510011                Gas           Gov. Aggregation   DEO             5180008323195               Gas           Gov. Aggregation
COH             203477700027                Gas           Gov. Aggregation   DEO             2180007928781               Gas           Gov. Aggregation
DEO             9180010857503               Gas           Gov. Aggregation   DEO             4180008806486               Gas           Gov. Aggregation
COH             114918100187                Gas           Gov. Aggregation   DEO             8180007722138               Gas           Gov. Aggregation
COH             204359760024                Gas           Gov. Aggregation   DEO             6180011127544               Gas           Gov. Aggregation
VEDO            4002130672208211            Gas           Gov. Aggregation   DEO             4180007938856               Gas           Gov. Aggregation
COH             202504290017                Gas           Gov. Aggregation   DEO             6180008685727               Gas           Gov. Aggregation
COH             164849070010                Gas           Gov. Aggregation   DEO             4180010533976               Gas           Gov. Aggregation
COH             205327770019                Gas           Gov. Aggregation   DEO             2180007441381               Gas           Gov. Aggregation
COH             204744770034                Gas           Gov. Aggregation   DEO             6421702052388               Gas           Gov. Aggregation
COH             168791010011                Gas           Gov. Aggregation   DEO             6180010274184               Gas           Gov. Aggregation
COH             203949270018                Gas           Gov. Aggregation   DEO             4180008876031               Gas           Gov. Aggregation
COH             203425430023                Gas           Gov. Aggregation   DEO             1180002753941               Gas           Gov. Aggregation
COH             110425880021                Gas           Gov. Aggregation   DEO             8180008119190               Gas           Gov. Aggregation
COH             200348490028                Gas           Gov. Aggregation   DEO             6180011178619               Gas           Gov. Aggregation
COH             201017300027                Gas           Gov. Aggregation   DEO             8180010904154               Gas           Gov. Aggregation
COH             202825290017                Gas           Gov. Aggregation   DEO             9180009643108               Gas           Gov. Aggregation
COH             202648280015                Gas           Gov. Aggregation   DEO             0180006891843               Gas           Gov. Aggregation
COH             201017300045                Gas           Gov. Aggregation   DEO             6180007758525               Gas           Gov. Aggregation
COH             202609340014                Gas           Gov. Aggregation   DEO             5180007456214               Gas           Gov. Aggregation
COH             206040860017                Gas           Gov. Aggregation   DEO             7180010454849               Gas           Gov. Aggregation
COH             200810530019                Gas           Gov. Aggregation   DEO             0180011246589               Gas           Gov. Aggregation
COH             206342490015                Gas           Gov. Aggregation   DEO             3180011200962               Gas           Gov. Aggregation
COH             205523190015                Gas           Gov. Aggregation   DEO             5180007785624               Gas           Gov. Aggregation
COH             204908840013                Gas           Gov. Aggregation   DEO             4180009112864               Gas           Gov. Aggregation
COH             203516120016                Gas           Gov. Aggregation   DEO             3180008913965               Gas           Gov. Aggregation
COH             190515540034                Gas           Gov. Aggregation   DEO             4420903746239               Gas           Gov. Aggregation
COH             203484010018                Gas           Gov. Aggregation   DEO             1180007892726               Gas           Gov. Aggregation
COH             166679190014                Gas           Gov. Aggregation   DEO             0180011219742               Gas           Gov. Aggregation
COH             204706180010                Gas           Gov. Aggregation   DEO             0180009569828               Gas           Gov. Aggregation
COH             206469120014                Gas           Gov. Aggregation   DEO             6421705886527               Gas           Gov. Aggregation
COH             111256820030                Gas           Gov. Aggregation   DEO             9180010873939               Gas           Gov. Aggregation
COH             146368480025                Gas           Gov. Aggregation   DEO             8180008141648               Gas           Gov. Aggregation
COH             205433710016                Gas           Gov. Aggregation   DEO             0500065726877               Gas           Gov. Aggregation
COH             206245330014                Gas           Gov. Aggregation   DEO             0500067152235               Gas           Gov. Aggregation
COH             197947260059                Gas           Gov. Aggregation   DEO             3180011338688               Gas           Gov. Aggregation
COH             203282730015                Gas           Gov. Aggregation   DEO             9180008422023               Gas           Gov. Aggregation
COH             111258450025                Gas           Gov. Aggregation   DEO             4180010526979               Gas           Gov. Aggregation
COH             186293040037                Gas           Gov. Aggregation   DEO             6180011345155               Gas           Gov. Aggregation
COH             198916090022                Gas           Gov. Aggregation   DEO             4180010115503               Gas           Gov. Aggregation
COH             203704360017                Gas           Gov. Aggregation   DEO             2180007769023               Gas           Gov. Aggregation
COH             186335350041                Gas           Gov. Aggregation   DEO             7180010507640               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             205635460011                Gas           Gov. Aggregation   DEO             9180007638154               Gas           Gov. Aggregation
COH             203778400013                Gas           Gov. Aggregation   DEO             9180007972119               Gas           Gov. Aggregation
COH             185449160032                Gas           Gov. Aggregation   DEO             1180009672641               Gas           Gov. Aggregation
COH             204778700019                Gas           Gov. Aggregation   DEO             8180007819810               Gas           Gov. Aggregation
COH             200230900011                Gas           Gov. Aggregation   DEO             4180010201268               Gas           Gov. Aggregation
COH             139577490065                Gas           Gov. Aggregation   DEO             8180010343483               Gas           Gov. Aggregation
COH             205457110012                Gas           Gov. Aggregation   DEO             5180009167766               Gas           Gov. Aggregation
COH             204487660015                Gas           Gov. Aggregation   DEO             0180009069712               Gas           Gov. Aggregation
COH             205681160017                Gas           Gov. Aggregation   DEO             0180009149281               Gas           Gov. Aggregation
COH             138571430060                Gas           Gov. Aggregation   DEO             0180010065783               Gas           Gov. Aggregation
COH             206031780013                Gas           Gov. Aggregation   DEO             1180010571803               Gas           Gov. Aggregation
COH             202893960013                Gas           Gov. Aggregation   DEO             3180009409463               Gas           Gov. Aggregation
COH             205599290015                Gas           Gov. Aggregation   DEO             3180010196304               Gas           Gov. Aggregation
COH             203706210023                Gas           Gov. Aggregation   DEO             3180010506519               Gas           Gov. Aggregation
COH             201410210013                Gas           Gov. Aggregation   DEO             5180007814056               Gas           Gov. Aggregation
COH             205292670015                Gas           Gov. Aggregation   DEO             7180010738592               Gas           Gov. Aggregation
COH             192281630030                Gas           Gov. Aggregation   DEO             8180008260597               Gas           Gov. Aggregation
COH             203606280012                Gas           Gov. Aggregation   DEO             8180008994398               Gas           Gov. Aggregation
COH             203678200017                Gas           Gov. Aggregation   DEO             8180010663872               Gas           Gov. Aggregation
COH             174405320033                Gas           Gov. Aggregation   COH             193308030046                Gas           Gov. Aggregation
COH             204493370013                Gas           Gov. Aggregation   COH             123113820029                Gas           Gov. Aggregation
COH             147263340043                Gas           Gov. Aggregation   COH             206074940019                Gas           Gov. Aggregation
COH             206321990014                Gas           Gov. Aggregation   COH             169003860020                Gas           Gov. Aggregation
COH             205391110012                Gas           Gov. Aggregation   COH             202435510026                Gas           Gov. Aggregation
COH             150453910063                Gas           Gov. Aggregation   COH             204629130014                Gas           Gov. Aggregation
COH             205972120018                Gas           Gov. Aggregation   COH             154898890053                Gas           Gov. Aggregation
COH             205856210015                Gas           Gov. Aggregation   COH             195755950017                Gas           Gov. Aggregation
COH             171027980067                Gas           Gov. Aggregation   COH             203071560018                Gas           Gov. Aggregation
COH             199153380028                Gas           Gov. Aggregation   COH             204055510011                Gas           Gov. Aggregation
COH             199559150035                Gas           Gov. Aggregation   COH             205625530017                Gas           Gov. Aggregation
COH             206212770011                Gas           Gov. Aggregation   COH             200401740030                Gas           Gov. Aggregation
COH             206231100011                Gas           Gov. Aggregation   COH             171877050025                Gas           Gov. Aggregation
COH             204851640016                Gas           Gov. Aggregation   COH             205756000011                Gas           Gov. Aggregation
COH             138423720026                Gas           Gov. Aggregation   COH             194544630049                Gas           Gov. Aggregation
COH             198454370023                Gas           Gov. Aggregation   COH             205397500018                Gas           Gov. Aggregation
COH             201701720019                Gas           Gov. Aggregation   COH             206143420011                Gas           Gov. Aggregation
COH             203124220016                Gas           Gov. Aggregation   COH             204149890013                Gas           Gov. Aggregation
COH             149893360051                Gas           Gov. Aggregation   COH             205156950014                Gas           Gov. Aggregation
COH             201247790028                Gas           Gov. Aggregation   COH             206750710013                Gas           Gov. Aggregation
COH             205801630012                Gas           Gov. Aggregation   COH             197229980041                Gas           Gov. Aggregation
COH             191218900037                Gas           Gov. Aggregation   COH             193483630077                Gas           Gov. Aggregation
COH             204520800013                Gas           Gov. Aggregation   COH             206439740017                Gas           Gov. Aggregation
COH             110983870021                Gas           Gov. Aggregation   COH             204875820018                Gas           Gov. Aggregation
COH             195490140037                Gas           Gov. Aggregation   COH             177628570027                Gas           Gov. Aggregation
COH             202984190012                Gas           Gov. Aggregation   COH             189916110037                Gas           Gov. Aggregation
COH             143946040015                Gas           Gov. Aggregation   COH             203925370017                Gas           Gov. Aggregation
COH             205484370011                Gas           Gov. Aggregation   COH             204026150018                Gas           Gov. Aggregation
COH             202890170015                Gas           Gov. Aggregation   COH             204313180022                Gas           Gov. Aggregation
COH             204535320013                Gas           Gov. Aggregation   COH             204373340013                Gas           Gov. Aggregation
COH             204198800018                Gas           Gov. Aggregation   COH             204382470017                Gas           Gov. Aggregation
COH             142087350013                Gas           Gov. Aggregation   COH             204978430012                Gas           Gov. Aggregation
COH             205802160019                Gas           Gov. Aggregation   COH             205208200010                Gas           Gov. Aggregation
COH             204257050029                Gas           Gov. Aggregation   COH             205436880015                Gas           Gov. Aggregation
COH             110982120020                Gas           Gov. Aggregation   COH             200373550022                Gas           Gov. Aggregation
COH             203666710015                Gas           Gov. Aggregation   COH             203734200026                Gas           Gov. Aggregation
COH             205449000012                Gas           Gov. Aggregation   COH             203822300028                Gas           Gov. Aggregation
COH             204730400012                Gas           Gov. Aggregation   COH             203884450018                Gas           Gov. Aggregation
COH             202952360013                Gas           Gov. Aggregation   COH             205042920011                Gas           Gov. Aggregation
COH             202501410017                Gas           Gov. Aggregation   COH             205165680012                Gas           Gov. Aggregation
COH             203233430011                Gas           Gov. Aggregation   COH             168526190015                Gas           Gov. Aggregation
COH             205018030019                Gas           Gov. Aggregation   COH             205266170015                Gas           Gov. Aggregation
COH             202400910016                Gas           Gov. Aggregation   COH             162404990039                Gas           Gov. Aggregation
COH             205572390010                Gas           Gov. Aggregation   COH             204623010020                Gas           Gov. Aggregation
COH             168048340026                Gas           Gov. Aggregation   COH             205193240015                Gas           Gov. Aggregation
COH             205064000018                Gas           Gov. Aggregation   COH             201589230012                Gas           Gov. Aggregation
COH             204020590018                Gas           Gov. Aggregation   COH             188612790067                Gas           Gov. Aggregation
COH             204123250011                Gas           Gov. Aggregation   COH             161237610025                Gas           Gov. Aggregation
COH             205756670011                Gas           Gov. Aggregation   COH             160066630043                Gas           Gov. Aggregation
COH             204265330014                Gas           Gov. Aggregation   COH             200853510022                Gas           Gov. Aggregation
COH             203977350012                Gas           Gov. Aggregation   COH             177298250034                Gas           Gov. Aggregation
COH             204660930010                Gas           Gov. Aggregation   COH             199605100027                Gas           Gov. Aggregation
COH             202650490016                Gas           Gov. Aggregation   COH             185750270030                Gas           Gov. Aggregation
COH             187399860049                Gas           Gov. Aggregation   COH             206038330013                Gas           Gov. Aggregation
COH             200836080010                Gas           Gov. Aggregation   COH             175748620060                Gas           Gov. Aggregation
COH             166080410034                Gas           Gov. Aggregation   COH             205901930017                Gas           Gov. Aggregation
COH             192148450021                Gas           Gov. Aggregation   COH             190595300036                Gas           Gov. Aggregation
COH             195396740022                Gas           Gov. Aggregation   COH             206700360012                Gas           Gov. Aggregation
COH             161254990128                Gas           Gov. Aggregation   COH             204076410018                Gas           Gov. Aggregation
COH             204940710012                Gas           Gov. Aggregation   COH             206429450019                Gas           Gov. Aggregation
COH             205779260019                Gas           Gov. Aggregation   COH             205901910011                Gas           Gov. Aggregation
COH             203359590012                Gas           Gov. Aggregation   COH             142945250069                Gas           Gov. Aggregation
COH             153953240061                Gas           Gov. Aggregation   COH             154924930057                Gas           Gov. Aggregation
COH             143739600043                Gas           Gov. Aggregation   COH             195659990022                Gas           Gov. Aggregation
COH             115638490036                Gas           Gov. Aggregation   COH             144598450044                Gas           Gov. Aggregation
COH             115527380098                Gas           Gov. Aggregation   COH             189869400037                Gas           Gov. Aggregation
COH             204510920019                Gas           Gov. Aggregation   COH             188522690023                Gas           Gov. Aggregation
COH             205833890011                Gas           Gov. Aggregation   COH             201754950029                Gas           Gov. Aggregation
COH             202706510012                Gas           Gov. Aggregation   COH             203862400014                Gas           Gov. Aggregation
COH             205791780014                Gas           Gov. Aggregation   COH             177778440045                Gas           Gov. Aggregation
COH             206087410013                Gas           Gov. Aggregation   COH             203835460019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             204864890017                Gas           Gov. Aggregation   COH             167741530027                Gas           Gov. Aggregation
COH             115804820015                Gas           Gov. Aggregation   COH             203968600018                Gas           Gov. Aggregation
COH             192530300058                Gas           Gov. Aggregation   COH             206125910016                Gas           Gov. Aggregation
COH             195643340030                Gas           Gov. Aggregation   COH             205978820019                Gas           Gov. Aggregation
COH             201870300010                Gas           Gov. Aggregation   COH             161343880033                Gas           Gov. Aggregation
COH             205727430012                Gas           Gov. Aggregation   COH             186300700022                Gas           Gov. Aggregation
COH             206172610010                Gas           Gov. Aggregation   COH             204382430015                Gas           Gov. Aggregation
COH             206172660010                Gas           Gov. Aggregation   COH             197074110024                Gas           Gov. Aggregation
COH             194594270022                Gas           Gov. Aggregation   COH             188813910029                Gas           Gov. Aggregation
COH             200534180064                Gas           Gov. Aggregation   COH             205830300010                Gas           Gov. Aggregation
COH             200534180073                Gas           Gov. Aggregation   COH             205719990012                Gas           Gov. Aggregation
COH             205815030019                Gas           Gov. Aggregation   COH             175406930041                Gas           Gov. Aggregation
COH             135818331256                Gas           Gov. Aggregation   COH             204489310014                Gas           Gov. Aggregation
COH             135818331818                Gas           Gov. Aggregation   COH             188882310020                Gas           Gov. Aggregation
COH             171916740099                Gas           Gov. Aggregation   COH             201026140031                Gas           Gov. Aggregation
COH             205863620014                Gas           Gov. Aggregation   COH             205508960024                Gas           Gov. Aggregation
COH             206318540015                Gas           Gov. Aggregation   COH             167013680065                Gas           Gov. Aggregation
COH             175088630031                Gas           Gov. Aggregation   COH             192406650021                Gas           Gov. Aggregation
COH             204092410014                Gas           Gov. Aggregation   COH             177011760024                Gas           Gov. Aggregation
COH             116616140043                Gas           Gov. Aggregation   COH             206402580018                Gas           Gov. Aggregation
COH             204604920010                Gas           Gov. Aggregation   COH             147984970089                Gas           Gov. Aggregation
COH             204569570010                Gas           Gov. Aggregation   COH             206502260013                Gas           Gov. Aggregation
COH             193953220049                Gas           Gov. Aggregation   COH             206351990011                Gas           Gov. Aggregation
COH             204824830013                Gas           Gov. Aggregation   COH             203780470014                Gas           Gov. Aggregation
COH             190633350025                Gas           Gov. Aggregation   COH             176569300039                Gas           Gov. Aggregation
COH             203445590019                Gas           Gov. Aggregation   COH             204996730011                Gas           Gov. Aggregation
COH             138818270015                Gas           Gov. Aggregation   COH             160457660011                Gas           Gov. Aggregation
COH             204569580018                Gas           Gov. Aggregation   COH             149464650031                Gas           Gov. Aggregation
COH             204046850019                Gas           Gov. Aggregation   COH             130883730028                Gas           Gov. Aggregation
COH             202359820014                Gas           Gov. Aggregation   COH             167428570050                Gas           Gov. Aggregation
COH             204674350013                Gas           Gov. Aggregation   COH             203884220016                Gas           Gov. Aggregation
COH             204152040014                Gas           Gov. Aggregation   COH             157182640059                Gas           Gov. Aggregation
COH             202356410016                Gas           Gov. Aggregation   COH             194137690022                Gas           Gov. Aggregation
COH             115855830016                Gas           Gov. Aggregation   COH             162398900023                Gas           Gov. Aggregation
COH             202862040011                Gas           Gov. Aggregation   COH             205647220016                Gas           Gov. Aggregation
COH             205815000015                Gas           Gov. Aggregation   COH             205725060014                Gas           Gov. Aggregation
COH             203834220011                Gas           Gov. Aggregation   COH             196471070031                Gas           Gov. Aggregation
COH             204613980019                Gas           Gov. Aggregation   COH             205786900019                Gas           Gov. Aggregation
COH             200972510039                Gas           Gov. Aggregation   COH             159204130029                Gas           Gov. Aggregation
COH             205898610013                Gas           Gov. Aggregation   COH             144895220051                Gas           Gov. Aggregation
COH             197072230023                Gas           Gov. Aggregation   COH             205875920016                Gas           Gov. Aggregation
COH             205890540014                Gas           Gov. Aggregation   COH             204016180013                Gas           Gov. Aggregation
COH             205489820016                Gas           Gov. Aggregation   COH             205587930015                Gas           Gov. Aggregation
COH             203767890014                Gas           Gov. Aggregation   COH             206175030016                Gas           Gov. Aggregation
COH             202688030022                Gas           Gov. Aggregation   COH             188254960025                Gas           Gov. Aggregation
COH             206289250019                Gas           Gov. Aggregation   COH             204731590011                Gas           Gov. Aggregation
COH             205572450017                Gas           Gov. Aggregation   COH             186539280026                Gas           Gov. Aggregation
COH             171147140014                Gas           Gov. Aggregation   COH             204076260029                Gas           Gov. Aggregation
COH             206319810016                Gas           Gov. Aggregation   COH             190291250022                Gas           Gov. Aggregation
COH             205457060013                Gas           Gov. Aggregation   COH             205193220019                Gas           Gov. Aggregation
COH             203658930052                Gas           Gov. Aggregation   COH             197739420029                Gas           Gov. Aggregation
COH             203658930034                Gas           Gov. Aggregation   COH             205655650019                Gas           Gov. Aggregation
COH             203658930016                Gas           Gov. Aggregation   COH             186811360030                Gas           Gov. Aggregation
COH             115839640029                Gas           Gov. Aggregation   COH             198457040026                Gas           Gov. Aggregation
COH             204835440012                Gas           Gov. Aggregation   COH             124322610038                Gas           Gov. Aggregation
COH             190486140013                Gas           Gov. Aggregation   COH             204161590010                Gas           Gov. Aggregation
COH             115850100019                Gas           Gov. Aggregation   COH             205180680010                Gas           Gov. Aggregation
COH             202650500013                Gas           Gov. Aggregation   COH             204663180012                Gas           Gov. Aggregation
COH             203761200010                Gas           Gov. Aggregation   COH             203985240018                Gas           Gov. Aggregation
COH             203965600014                Gas           Gov. Aggregation   COH             206771780015                Gas           Gov. Aggregation
COH             202879000014                Gas           Gov. Aggregation   COH             206106340016                Gas           Gov. Aggregation
COH             204403560012                Gas           Gov. Aggregation   COH             206586310016                Gas           Gov. Aggregation
COH             197045100036                Gas           Gov. Aggregation   COH             170402660069                Gas           Gov. Aggregation
COH             205667660012                Gas           Gov. Aggregation   COH             205274370016                Gas           Gov. Aggregation
COH             204977390013                Gas           Gov. Aggregation   COH             206415220016                Gas           Gov. Aggregation
COH             203314490017                Gas           Gov. Aggregation   COH             203794880019                Gas           Gov. Aggregation
COH             200042050019                Gas           Gov. Aggregation   COH             205793640019                Gas           Gov. Aggregation
COH             170444700106                Gas           Gov. Aggregation   COH             206010710011                Gas           Gov. Aggregation
COH             202675340015                Gas           Gov. Aggregation   COH             186953780023                Gas           Gov. Aggregation
COH             206107490013                Gas           Gov. Aggregation   COH             206026200015                Gas           Gov. Aggregation
COH             204883980018                Gas           Gov. Aggregation   COH             206771790013                Gas           Gov. Aggregation
COH             204495510019                Gas           Gov. Aggregation   COH             204489350016                Gas           Gov. Aggregation
COH             204879390011                Gas           Gov. Aggregation   COH             200044610026                Gas           Gov. Aggregation
COH             196363730068                Gas           Gov. Aggregation   COH             204555280010                Gas           Gov. Aggregation
COH             205736780010                Gas           Gov. Aggregation   COH             205793710014                Gas           Gov. Aggregation
COH             188080560037                Gas           Gov. Aggregation   COH             204382460019                Gas           Gov. Aggregation
COH             204033620014                Gas           Gov. Aggregation   COH             158427380026                Gas           Gov. Aggregation
COH             198631810024                Gas           Gov. Aggregation   COH             139408940021                Gas           Gov. Aggregation
COH             201110290040                Gas           Gov. Aggregation   COH             190051030035                Gas           Gov. Aggregation
COH             205708360017                Gas           Gov. Aggregation   COH             197119740017                Gas           Gov. Aggregation
COH             201296200037                Gas           Gov. Aggregation   COH             205393580010                Gas           Gov. Aggregation
COH             157150230061                Gas           Gov. Aggregation   COH             177593520031                Gas           Gov. Aggregation
COH             198981650045                Gas           Gov. Aggregation   COH             186311280028                Gas           Gov. Aggregation
COH             163594520026                Gas           Gov. Aggregation   COH             205103790019                Gas           Gov. Aggregation
COH             206172640014                Gas           Gov. Aggregation   COH             187466280057                Gas           Gov. Aggregation
COH             203180500019                Gas           Gov. Aggregation   COH             177270690021                Gas           Gov. Aggregation
COH             204256140013                Gas           Gov. Aggregation   COH             193657290025                Gas           Gov. Aggregation
COH             204447770016                Gas           Gov. Aggregation   COH             204000140014                Gas           Gov. Aggregation
COH             205335720012                Gas           Gov. Aggregation   COH             205483570011                Gas           Gov. Aggregation
COH             167954290152                Gas           Gov. Aggregation   COH             145290660023                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             206012490014                Gas           Gov. Aggregation   COH             205022180019                Gas           Gov. Aggregation
COH             203091090015                Gas           Gov. Aggregation   COH             157106620053                Gas           Gov. Aggregation
COH             202934110022                Gas           Gov. Aggregation   COH             158692340023                Gas           Gov. Aggregation
COH             206082770018                Gas           Gov. Aggregation   COH             164865350080                Gas           Gov. Aggregation
COH             203330760034                Gas           Gov. Aggregation   COH             205781270012                Gas           Gov. Aggregation
COH             205264190015                Gas           Gov. Aggregation   COH             204241330014                Gas           Gov. Aggregation
COH             204899200018                Gas           Gov. Aggregation   COH             191135310046                Gas           Gov. Aggregation
COH             205373600017                Gas           Gov. Aggregation   COH             204461120012                Gas           Gov. Aggregation
COH             204904950018                Gas           Gov. Aggregation   COH             171842480037                Gas           Gov. Aggregation
COH             204419620016                Gas           Gov. Aggregation   COH             205803120015                Gas           Gov. Aggregation
COH             154336020028                Gas           Gov. Aggregation   COH             205469810010                Gas           Gov. Aggregation
COH             203666290014                Gas           Gov. Aggregation   COH             191032190022                Gas           Gov. Aggregation
COH             203916430013                Gas           Gov. Aggregation   COH             205992790016                Gas           Gov. Aggregation
COH             204040370012                Gas           Gov. Aggregation   COH             204881210013                Gas           Gov. Aggregation
COH             195776190022                Gas           Gov. Aggregation   COH             204555340017                Gas           Gov. Aggregation
COH             203606160017                Gas           Gov. Aggregation   COH             157837220021                Gas           Gov. Aggregation
COH             157315670096                Gas           Gov. Aggregation   COH             204659280010                Gas           Gov. Aggregation
COH             186175910070                Gas           Gov. Aggregation   COH             196624660032                Gas           Gov. Aggregation
COH             205667670010                Gas           Gov. Aggregation   COH             204041320010                Gas           Gov. Aggregation
COH             203094110014                Gas           Gov. Aggregation   COH             190828770024                Gas           Gov. Aggregation
COH             138477850035                Gas           Gov. Aggregation   COH             203777490026                Gas           Gov. Aggregation
COH             202196950013                Gas           Gov. Aggregation   COH             204555190019                Gas           Gov. Aggregation
COH             205108400010                Gas           Gov. Aggregation   COH             206564300014                Gas           Gov. Aggregation
COH             190072120041                Gas           Gov. Aggregation   COH             205786890012                Gas           Gov. Aggregation
COH             204005350010                Gas           Gov. Aggregation   COH             203984980015                Gas           Gov. Aggregation
COH             189250830029                Gas           Gov. Aggregation   COH             203550490017                Gas           Gov. Aggregation
COH             140859040022                Gas           Gov. Aggregation   COH             176795020048                Gas           Gov. Aggregation
COH             202235700011                Gas           Gov. Aggregation   COH             155929500038                Gas           Gov. Aggregation
COH             115852020030                Gas           Gov. Aggregation   COH             124784180022                Gas           Gov. Aggregation
COH             185086470019                Gas           Gov. Aggregation   COH             191906730034                Gas           Gov. Aggregation
COH             204106470039                Gas           Gov. Aggregation   COH             152123910024                Gas           Gov. Aggregation
COH             203400020012                Gas           Gov. Aggregation   COH             203835430015                Gas           Gov. Aggregation
COH             143347760041                Gas           Gov. Aggregation   COH             196029290032                Gas           Gov. Aggregation
COH             164746570040                Gas           Gov. Aggregation   COH             205084550011                Gas           Gov. Aggregation
COH             192960040052                Gas           Gov. Aggregation   COH             204141500029                Gas           Gov. Aggregation
COH             203169490025                Gas           Gov. Aggregation   COH             157683640020                Gas           Gov. Aggregation
COH             204716120011                Gas           Gov. Aggregation   COH             204199730011                Gas           Gov. Aggregation
COH             204165080019                Gas           Gov. Aggregation   COH             206093060014                Gas           Gov. Aggregation
COH             164161270061                Gas           Gov. Aggregation   COH             206118320015                Gas           Gov. Aggregation
COH             154973190032                Gas           Gov. Aggregation   COH             156224540079                Gas           Gov. Aggregation
COH             151840540069                Gas           Gov. Aggregation   COH             202626550023                Gas           Gov. Aggregation
COH             151755130057                Gas           Gov. Aggregation   COH             204222160010                Gas           Gov. Aggregation
COH             203881470010                Gas           Gov. Aggregation   COH             197710680034                Gas           Gov. Aggregation
COH             201968190035                Gas           Gov. Aggregation   COH             190958970036                Gas           Gov. Aggregation
COH             203458360010                Gas           Gov. Aggregation   COH             205895590014                Gas           Gov. Aggregation
COH             204513550011                Gas           Gov. Aggregation   COH             204050600012                Gas           Gov. Aggregation
COH             157140590030                Gas           Gov. Aggregation   COH             205172290019                Gas           Gov. Aggregation
COH             203516080015                Gas           Gov. Aggregation   COH             205139190010                Gas           Gov. Aggregation
COH             204351300017                Gas           Gov. Aggregation   COH             205549150019                Gas           Gov. Aggregation
COH             198243100026                Gas           Gov. Aggregation   COH             148789870065                Gas           Gov. Aggregation
COH             203393300010                Gas           Gov. Aggregation   COH             124526550020                Gas           Gov. Aggregation
COH             204206850019                Gas           Gov. Aggregation   COH             205473680019                Gas           Gov. Aggregation
COH             205021150017                Gas           Gov. Aggregation   COH             124397750023                Gas           Gov. Aggregation
COH             204231620014                Gas           Gov. Aggregation   COH             199499740020                Gas           Gov. Aggregation
COH             203588840014                Gas           Gov. Aggregation   COH             139932580044                Gas           Gov. Aggregation
COH             196032640022                Gas           Gov. Aggregation   COH             204333790013                Gas           Gov. Aggregation
COH             206001880015                Gas           Gov. Aggregation   COH             204271220014                Gas           Gov. Aggregation
COH             203069140011                Gas           Gov. Aggregation   COH             204623130016                Gas           Gov. Aggregation
COH             203560410012                Gas           Gov. Aggregation   COH             198716230026                Gas           Gov. Aggregation
COH             205914830011                Gas           Gov. Aggregation   COH             206361170012                Gas           Gov. Aggregation
COH             203658990014                Gas           Gov. Aggregation   COH             199315310028                Gas           Gov. Aggregation
COH             196704380013                Gas           Gov. Aggregation   COH             204996670014                Gas           Gov. Aggregation
COH             170068490047                Gas           Gov. Aggregation   COH             205201120011                Gas           Gov. Aggregation
COH             186274420055                Gas           Gov. Aggregation   COH             205683680014                Gas           Gov. Aggregation
COH             200643490013                Gas           Gov. Aggregation   COH             206235050014                Gas           Gov. Aggregation
COH             203109330015                Gas           Gov. Aggregation   COH             203506710022                Gas           Gov. Aggregation
COH             203109330051                Gas           Gov. Aggregation   COH             205655700018                Gas           Gov. Aggregation
COH             190127270043                Gas           Gov. Aggregation   COH             187186240013                Gas           Gov. Aggregation
COH             205681060018                Gas           Gov. Aggregation   COH             204912840014                Gas           Gov. Aggregation
COH             115867480015                Gas           Gov. Aggregation   COH             194240730024                Gas           Gov. Aggregation
COH             199424910030                Gas           Gov. Aggregation   COH             204135770017                Gas           Gov. Aggregation
COH             206359150011                Gas           Gov. Aggregation   COH             205504720013                Gas           Gov. Aggregation
COH             204780610013                Gas           Gov. Aggregation   COH             205973100010                Gas           Gov. Aggregation
COH             198249860025                Gas           Gov. Aggregation   COH             142671010079                Gas           Gov. Aggregation
COH             203810730014                Gas           Gov. Aggregation   COH             124388270023                Gas           Gov. Aggregation
COH             167345540052                Gas           Gov. Aggregation   COH             204867340016                Gas           Gov. Aggregation
COH             198246450027                Gas           Gov. Aggregation   COH             192512020028                Gas           Gov. Aggregation
COH             194216820099                Gas           Gov. Aggregation   COH             206393150019                Gas           Gov. Aggregation
COH             192647130039                Gas           Gov. Aggregation   COH             206524100010                Gas           Gov. Aggregation
COH             205391050015                Gas           Gov. Aggregation   COH             206579570017                Gas           Gov. Aggregation
COH             205572440019                Gas           Gov. Aggregation   COH             198099290033                Gas           Gov. Aggregation
COH             202659130013                Gas           Gov. Aggregation   COH             204769360010                Gas           Gov. Aggregation
COH             204430590019                Gas           Gov. Aggregation   COH             203822270016                Gas           Gov. Aggregation
COH             192017040033                Gas           Gov. Aggregation   COH             203189800027                Gas           Gov. Aggregation
COH             206338880012                Gas           Gov. Aggregation   COH             206457990017                Gas           Gov. Aggregation
COH             202935640010                Gas           Gov. Aggregation   COH             162214370050                Gas           Gov. Aggregation
COH             204680380014                Gas           Gov. Aggregation   COH             190252210059                Gas           Gov. Aggregation
COH             110724520013                Gas           Gov. Aggregation   COH             205097970016                Gas           Gov. Aggregation
COH             110752290022                Gas           Gov. Aggregation   COH             172803930024                Gas           Gov. Aggregation
COH             110705140022                Gas           Gov. Aggregation   COH             206485810015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             111538330044                Gas           Gov. Aggregation   COH             203935880019                Gas           Gov. Aggregation
COH             157134980139                Gas           Gov. Aggregation   COH             206780890013                Gas           Gov. Aggregation
COH             167537240067                Gas           Gov. Aggregation   COH             196961480036                Gas           Gov. Aggregation
COH             202594370011                Gas           Gov. Aggregation   COH             203341900031                Gas           Gov. Aggregation
COH             203588980015                Gas           Gov. Aggregation   COH             204597010018                Gas           Gov. Aggregation
COH             204948630013                Gas           Gov. Aggregation   COH             138872320010                Gas           Gov. Aggregation
COH             204994510011                Gas           Gov. Aggregation   COH             199203940023                Gas           Gov. Aggregation
COH             205707310019                Gas           Gov. Aggregation   COH             204813200018                Gas           Gov. Aggregation
COH             169610960031                Gas           Gov. Aggregation   COH             198443200030                Gas           Gov. Aggregation
COH             173253520053                Gas           Gov. Aggregation   COH             203896350014                Gas           Gov. Aggregation
COH             173506030022                Gas           Gov. Aggregation   COH             206429350010                Gas           Gov. Aggregation
COH             174324560044                Gas           Gov. Aggregation   COH             137839820025                Gas           Gov. Aggregation
COH             175795600029                Gas           Gov. Aggregation   COH             205348650010                Gas           Gov. Aggregation
COH             196960560013                Gas           Gov. Aggregation   COH             205987380013                Gas           Gov. Aggregation
COH             198865310024                Gas           Gov. Aggregation   COH             203196280022                Gas           Gov. Aggregation
COH             199111580024                Gas           Gov. Aggregation   COH             205816410017                Gas           Gov. Aggregation
COH             204024560016                Gas           Gov. Aggregation   COH             203794490011                Gas           Gov. Aggregation
COH             204047020011                Gas           Gov. Aggregation   COH             206247330010                Gas           Gov. Aggregation
COH             204094050016                Gas           Gov. Aggregation   COH             205172310014                Gas           Gov. Aggregation
COH             204131190017                Gas           Gov. Aggregation   COH             205939720012                Gas           Gov. Aggregation
COH             204152360017                Gas           Gov. Aggregation   COH             199361380027                Gas           Gov. Aggregation
COH             205496590010                Gas           Gov. Aggregation   COH             192450210020                Gas           Gov. Aggregation
COH             205828200016                Gas           Gov. Aggregation   COH             204173370011                Gas           Gov. Aggregation
COH             205911350018                Gas           Gov. Aggregation   COH             164277960043                Gas           Gov. Aggregation
COH             206023680011                Gas           Gov. Aggregation   COH             206523890017                Gas           Gov. Aggregation
COH             206042120018                Gas           Gov. Aggregation   COH             201018310023                Gas           Gov. Aggregation
COH             206064980012                Gas           Gov. Aggregation   COH             204650400012                Gas           Gov. Aggregation
COH             206124630017                Gas           Gov. Aggregation   COH             196194280026                Gas           Gov. Aggregation
COH             206168880013                Gas           Gov. Aggregation   COH             205683550011                Gas           Gov. Aggregation
COH             144695150023                Gas           Gov. Aggregation   COH             206164160012                Gas           Gov. Aggregation
COH             146341790053                Gas           Gov. Aggregation   COH             205337150018                Gas           Gov. Aggregation
COH             149956420161                Gas           Gov. Aggregation   COH             205992720010                Gas           Gov. Aggregation
COH             153552300031                Gas           Gov. Aggregation   COH             200084930043                Gas           Gov. Aggregation
COH             175572070041                Gas           Gov. Aggregation   COH             206779170017                Gas           Gov. Aggregation
COH             185822700018                Gas           Gov. Aggregation   COH             206058780017                Gas           Gov. Aggregation
COH             187583250028                Gas           Gov. Aggregation   COH             192469850027                Gas           Gov. Aggregation
COH             188520000049                Gas           Gov. Aggregation   COH             205180570013                Gas           Gov. Aggregation
COH             200489510034                Gas           Gov. Aggregation   COH             168110160021                Gas           Gov. Aggregation
COH             200507400028                Gas           Gov. Aggregation   COH             162037990056                Gas           Gov. Aggregation
COH             202718800016                Gas           Gov. Aggregation   COH             204131930011                Gas           Gov. Aggregation
COH             202786380012                Gas           Gov. Aggregation   COH             203111290028                Gas           Gov. Aggregation
COH             203606500015                Gas           Gov. Aggregation   COH             203958330016                Gas           Gov. Aggregation
COH             204003000035                Gas           Gov. Aggregation   COH             205835500018                Gas           Gov. Aggregation
COH             204982140014                Gas           Gov. Aggregation   COH             154342820045                Gas           Gov. Aggregation
COH             205038860013                Gas           Gov. Aggregation   COH             154045550051                Gas           Gov. Aggregation
COH             205064990011                Gas           Gov. Aggregation   COH             206312020016                Gas           Gov. Aggregation
COH             205223400016                Gas           Gov. Aggregation   COH             140203190066                Gas           Gov. Aggregation
COH             205265080016                Gas           Gov. Aggregation   COH             206700280019                Gas           Gov. Aggregation
COH             205820800016                Gas           Gov. Aggregation   COH             203794190014                Gas           Gov. Aggregation
COH             206144040019                Gas           Gov. Aggregation   COH             204776580028                Gas           Gov. Aggregation
COH             199347200024                Gas           Gov. Aggregation   COH             189950610021                Gas           Gov. Aggregation
COH             204608760016                Gas           Gov. Aggregation   COH             143800140012                Gas           Gov. Aggregation
COH             188629580020                Gas           Gov. Aggregation   COH             204949650017                Gas           Gov. Aggregation
COH             205413470019                Gas           Gov. Aggregation   COH             205302970019                Gas           Gov. Aggregation
COH             203839280019                Gas           Gov. Aggregation   COH             131407330029                Gas           Gov. Aggregation
COH             176620210029                Gas           Gov. Aggregation   COH             191776870023                Gas           Gov. Aggregation
COH             200440660026                Gas           Gov. Aggregation   COH             206172170013                Gas           Gov. Aggregation
COH             204737520013                Gas           Gov. Aggregation   COH             204960270013                Gas           Gov. Aggregation
COH             196854580023                Gas           Gov. Aggregation   COH             152758950138                Gas           Gov. Aggregation
COH             204541050017                Gas           Gov. Aggregation   COH             204291430018                Gas           Gov. Aggregation
COH             203918140010                Gas           Gov. Aggregation   COH             192947060029                Gas           Gov. Aggregation
COH             202329150018                Gas           Gov. Aggregation   COH             204801500010                Gas           Gov. Aggregation
COH             203034350010                Gas           Gov. Aggregation   COH             203828910019                Gas           Gov. Aggregation
COH             202822070019                Gas           Gov. Aggregation   COH             166070760023                Gas           Gov. Aggregation
COH             203844750028                Gas           Gov. Aggregation   COH             190511990029                Gas           Gov. Aggregation
COH             126984580068                Gas           Gov. Aggregation   COH             205673400013                Gas           Gov. Aggregation
COH             206454060018                Gas           Gov. Aggregation   COH             204312800014                Gas           Gov. Aggregation
COH             202677870010                Gas           Gov. Aggregation   COH             204071580013                Gas           Gov. Aggregation
COH             198728310015                Gas           Gov. Aggregation   COH             206498260014                Gas           Gov. Aggregation
COH             189499180020                Gas           Gov. Aggregation   COH             163469340038                Gas           Gov. Aggregation
COH             198867160022                Gas           Gov. Aggregation   COH             197046770025                Gas           Gov. Aggregation
COH             154163180068                Gas           Gov. Aggregation   COH             190299590025                Gas           Gov. Aggregation
COH             202604640020                Gas           Gov. Aggregation   COH             171730250023                Gas           Gov. Aggregation
COH             204654720017                Gas           Gov. Aggregation   COH             205436630017                Gas           Gov. Aggregation
COH             169761500109                Gas           Gov. Aggregation   COH             206114140011                Gas           Gov. Aggregation
COH             186065260043                Gas           Gov. Aggregation   COH             204769480015                Gas           Gov. Aggregation
COH             205892340012                Gas           Gov. Aggregation   COH             204119900013                Gas           Gov. Aggregation
COH             205157950012                Gas           Gov. Aggregation   COH             204500210019                Gas           Gov. Aggregation
COH             169836600029                Gas           Gov. Aggregation   COH             205524650016                Gas           Gov. Aggregation
COH             204815080010                Gas           Gov. Aggregation   COH             204858160013                Gas           Gov. Aggregation
COH             204224170014                Gas           Gov. Aggregation   COH             206747950010                Gas           Gov. Aggregation
COH             110883400012                Gas           Gov. Aggregation   COH             204759410010                Gas           Gov. Aggregation
COH             190141900013                Gas           Gov. Aggregation   COH             205808600014                Gas           Gov. Aggregation
COH             202465450017                Gas           Gov. Aggregation   COH             136106650043                Gas           Gov. Aggregation
COH             202667540010                Gas           Gov. Aggregation   COH             136569170053                Gas           Gov. Aggregation
COH             200230790024                Gas           Gov. Aggregation   COH             136585590024                Gas           Gov. Aggregation
COH             117376930322                Gas           Gov. Aggregation   COH             141039770035                Gas           Gov. Aggregation
COH             205391200013                Gas           Gov. Aggregation   COH             141987770027                Gas           Gov. Aggregation
COH             204835590011                Gas           Gov. Aggregation   COH             142178360205                Gas           Gov. Aggregation
COH             204825060013                Gas           Gov. Aggregation   COH             147422760029                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             189030530046                Gas           Gov. Aggregation   DEO             7180003991679               Gas           Gov. Aggregation
COH             192100350040                Gas           Gov. Aggregation   COH             150664820038                Gas           Gov. Aggregation
COH             205506610012                Gas           Gov. Aggregation   COH             155896510046                Gas           Gov. Aggregation
COH             172828650058                Gas           Gov. Aggregation   COH             208914330013                Gas           Gov. Aggregation
COH             204716280018                Gas           Gov. Aggregation   COH             174932890055                Gas           Gov. Aggregation
COH             172519270133                Gas           Gov. Aggregation   COH             187205120025                Gas           Gov. Aggregation
COH             158864230129                Gas           Gov. Aggregation   COH             209454060015                Gas           Gov. Aggregation
COH             203544780028                Gas           Gov. Aggregation   COH             210229380012                Gas           Gov. Aggregation
COH             117930680034                Gas           Gov. Aggregation   COH             200044180027                Gas           Gov. Aggregation
COH             205504530013                Gas           Gov. Aggregation   COH             201631380029                Gas           Gov. Aggregation
COH             197499610029                Gas           Gov. Aggregation   COH             190144310057                Gas           Gov. Aggregation
COH             193686430024                Gas           Gov. Aggregation   COH             196009900044                Gas           Gov. Aggregation
COH             149382940052                Gas           Gov. Aggregation   COH             170085420018                Gas           Gov. Aggregation
COH             130270440046                Gas           Gov. Aggregation   COH             191477420049                Gas           Gov. Aggregation
COH             186459550029                Gas           Gov. Aggregation   COH             209579460017                Gas           Gov. Aggregation
COH             206002270011                Gas           Gov. Aggregation   COH             209665900020                Gas           Gov. Aggregation
COH             206191250016                Gas           Gov. Aggregation   COH             210861680019                Gas           Gov. Aggregation
COH             203827990024                Gas           Gov. Aggregation   COH             210918140011                Gas           Gov. Aggregation
COH             185502080035                Gas           Gov. Aggregation   COH             193727850028                Gas           Gov. Aggregation
COH             205300750019                Gas           Gov. Aggregation   COH             206958010010                Gas           Gov. Aggregation
COH             204968770030                Gas           Gov. Aggregation   COH             209093020019                Gas           Gov. Aggregation
COH             205500880018                Gas           Gov. Aggregation   COH             170788330026                Gas           Gov. Aggregation
COH             205762070014                Gas           Gov. Aggregation   COH             172733280057                Gas           Gov. Aggregation
COH             206148620019                Gas           Gov. Aggregation   COH             173871150042                Gas           Gov. Aggregation
COH             206578200016                Gas           Gov. Aggregation   COH             175208280048                Gas           Gov. Aggregation
COH             194780760042                Gas           Gov. Aggregation   COH             176144980028                Gas           Gov. Aggregation
COH             148820850098                Gas           Gov. Aggregation   COH             185224310027                Gas           Gov. Aggregation
COH             206488330010                Gas           Gov. Aggregation   COH             186251500038                Gas           Gov. Aggregation
COH             137825560029                Gas           Gov. Aggregation   COH             187788830031                Gas           Gov. Aggregation
COH             201514560038                Gas           Gov. Aggregation   COH             199753650029                Gas           Gov. Aggregation
COH             205863850016                Gas           Gov. Aggregation   COH             201631700021                Gas           Gov. Aggregation
COH             205191880015                Gas           Gov. Aggregation   COH             202855800016                Gas           Gov. Aggregation
COH             185211640070                Gas           Gov. Aggregation   COH             202985440017                Gas           Gov. Aggregation
COH             204825080028                Gas           Gov. Aggregation   COH             203373570016                Gas           Gov. Aggregation
COH             198368920039                Gas           Gov. Aggregation   COH             204562400019                Gas           Gov. Aggregation
COH             205584730013                Gas           Gov. Aggregation   COH             204581550018                Gas           Gov. Aggregation
COH             203651970021                Gas           Gov. Aggregation   COH             204667690017                Gas           Gov. Aggregation
COH             206552220016                Gas           Gov. Aggregation   COH             204851230012                Gas           Gov. Aggregation
COH             199207220035                Gas           Gov. Aggregation   COH             204881170012                Gas           Gov. Aggregation
COH             161497610043                Gas           Gov. Aggregation   COH             205147710022                Gas           Gov. Aggregation
COH             205484110015                Gas           Gov. Aggregation   COH             205293850015                Gas           Gov. Aggregation
COH             153342120114                Gas           Gov. Aggregation   COH             205321110028                Gas           Gov. Aggregation
COH             195488330032                Gas           Gov. Aggregation   COH             205944440010                Gas           Gov. Aggregation
COH             157432380133                Gas           Gov. Aggregation   COH             205964970017                Gas           Gov. Aggregation
COH             205624070016                Gas           Gov. Aggregation   COH             206004240013                Gas           Gov. Aggregation
DEO             8180010402185               Gas           Gov. Aggregation   COH             206026260013                Gas           Gov. Aggregation
DEO             0180010003601               Gas           Gov. Aggregation   COH             206033700015                Gas           Gov. Aggregation
DEO             9180009523552               Gas           Gov. Aggregation   COH             206093330017                Gas           Gov. Aggregation
DEO             2180010541585               Gas           Gov. Aggregation   COH             199080910021                Gas           Gov. Aggregation
DEO             8180010464863               Gas           Gov. Aggregation   COH             199686080022                Gas           Gov. Aggregation
DEO             4180010612358               Gas           Gov. Aggregation   COH             206069110014                Gas           Gov. Aggregation
DEO             8180009910164               Gas           Gov. Aggregation   COH             206110960017                Gas           Gov. Aggregation
DEO             7180009282170               Gas           Gov. Aggregation   COH             206118350019                Gas           Gov. Aggregation
DEO             3180010620681               Gas           Gov. Aggregation   COH             206215940019                Gas           Gov. Aggregation
DEO             2180010469670               Gas           Gov. Aggregation   COH             206457940017                Gas           Gov. Aggregation
DEO             9180008642987               Gas           Gov. Aggregation   COH             206492780017                Gas           Gov. Aggregation
DEO             9180008755185               Gas           Gov. Aggregation   COH             206597890012                Gas           Gov. Aggregation
DEO             0180009758161               Gas           Gov. Aggregation   COH             206597990011                Gas           Gov. Aggregation
DEO             4180010455910               Gas           Gov. Aggregation   COH             201149360035                Gas           Gov. Aggregation
DEO             5180008203399               Gas           Gov. Aggregation   COH             206134840012                Gas           Gov. Aggregation
DEO             0180010609842               Gas           Gov. Aggregation   COH             161138090061                Gas           Gov. Aggregation
DEO             3180008369017               Gas           Gov. Aggregation   COH             185400110025                Gas           Gov. Aggregation
DEO             2180008144198               Gas           Gov. Aggregation   COH             191239300020                Gas           Gov. Aggregation
DEO             8180009211035               Gas           Gov. Aggregation   COH             205347160015                Gas           Gov. Aggregation
DEO             9180008502990               Gas           Gov. Aggregation   COH             206075810014                Gas           Gov. Aggregation
DEO             3180009893993               Gas           Gov. Aggregation   COH             195313670058                Gas           Gov. Aggregation
DEO             8180010702275               Gas           Gov. Aggregation   COH             196815560038                Gas           Gov. Aggregation
DEO             1180009556047               Gas           Gov. Aggregation   COH             196873980029                Gas           Gov. Aggregation
DEO             2180008012689               Gas           Gov. Aggregation   COH             197477270045                Gas           Gov. Aggregation
DEO             4180010286712               Gas           Gov. Aggregation   COH             200144050022                Gas           Gov. Aggregation
DEO             2180010522062               Gas           Gov. Aggregation   COH             204799070018                Gas           Gov. Aggregation
DEO             1180010239575               Gas           Gov. Aggregation   COH             206707330014                Gas           Gov. Aggregation
DEO             1180009639284               Gas           Gov. Aggregation   COH             200507150012                Gas           Gov. Aggregation
DEO             4180009215601               Gas           Gov. Aggregation   COH             205449650016                Gas           Gov. Aggregation
DEO             5180008646327               Gas           Gov. Aggregation   COH             199700330027                Gas           Gov. Aggregation
DEO             5180010831780               Gas           Gov. Aggregation   COH             205080540011                Gas           Gov. Aggregation
DEO             6180008521854               Gas           Gov. Aggregation   COH             199120620026                Gas           Gov. Aggregation
DEO             2180009209728               Gas           Gov. Aggregation   COH             125126810022                Gas           Gov. Aggregation
DEO             0180010696600               Gas           Gov. Aggregation   COH             206071160019                Gas           Gov. Aggregation
DEO             7180010020522               Gas           Gov. Aggregation   COH             204494450014                Gas           Gov. Aggregation
DEO             0180008907461               Gas           Gov. Aggregation   COH             195647370054                Gas           Gov. Aggregation
DEO             4180007899674               Gas           Gov. Aggregation   COH             204313110017                Gas           Gov. Aggregation
DEO             8180009763999               Gas           Gov. Aggregation   COH             205918980012                Gas           Gov. Aggregation
DEO             1180010435604               Gas           Gov. Aggregation   COH             206393180013                Gas           Gov. Aggregation
DEO             8180009769496               Gas           Gov. Aggregation   COH             125005830033                Gas           Gov. Aggregation
DEO             6180010668145               Gas           Gov. Aggregation   COH             204382450011                Gas           Gov. Aggregation
DEO             5180010048962               Gas           Gov. Aggregation   COH             203794970010                Gas           Gov. Aggregation
DEO             3180008596147               Gas           Gov. Aggregation   COH             147383510025                Gas           Gov. Aggregation
DEO             1180008289219               Gas           Gov. Aggregation   COH             204352650012                Gas           Gov. Aggregation
DEO             0180009139272               Gas           Gov. Aggregation   COH             205756230013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             9180010348594               Gas           Gov. Aggregation   COH             205147790017                Gas           Gov. Aggregation
DEO             6180010430291               Gas           Gov. Aggregation   COH             163095910059                Gas           Gov. Aggregation
DEO             5180010370769               Gas           Gov. Aggregation   COH             203925350020                Gas           Gov. Aggregation
DEO             2180008365482               Gas           Gov. Aggregation   COH             186157090026                Gas           Gov. Aggregation
DEO             6180009648414               Gas           Gov. Aggregation   COH             205485250014                Gas           Gov. Aggregation
DEO             0180008685195               Gas           Gov. Aggregation   COH             166130630068                Gas           Gov. Aggregation
DEO             5180010563702               Gas           Gov. Aggregation   COH             168514660020                Gas           Gov. Aggregation
DEO             7180010592780               Gas           Gov. Aggregation   COH             204765480013                Gas           Gov. Aggregation
DEO             4180009289124               Gas           Gov. Aggregation   COH             171115130013                Gas           Gov. Aggregation
DEO             7180008576169               Gas           Gov. Aggregation   COH             203869090016                Gas           Gov. Aggregation
DEO             2180010489011               Gas           Gov. Aggregation   COH             204302400028                Gas           Gov. Aggregation
DEO             8180009233912               Gas           Gov. Aggregation   COH             191338170037                Gas           Gov. Aggregation
DEO             5180008796304               Gas           Gov. Aggregation   COH             205670570014                Gas           Gov. Aggregation
DEO             2180009601510               Gas           Gov. Aggregation   COH             206247320012                Gas           Gov. Aggregation
DEO             3180010209291               Gas           Gov. Aggregation   COH             206075730011                Gas           Gov. Aggregation
DEO             1180010731708               Gas           Gov. Aggregation   COH             171401210046                Gas           Gov. Aggregation
DEO             4180008073214               Gas           Gov. Aggregation   COH             199098550020                Gas           Gov. Aggregation
DEO             5180009769795               Gas           Gov. Aggregation   COH             194407260029                Gas           Gov. Aggregation
DEO             1180010656730               Gas           Gov. Aggregation   COH             205625600012                Gas           Gov. Aggregation
DEO             5180008363277               Gas           Gov. Aggregation   COH             204389130014                Gas           Gov. Aggregation
DEO             9180008512820               Gas           Gov. Aggregation   COH             206579660018                Gas           Gov. Aggregation
DEO             5180010370505               Gas           Gov. Aggregation   COH             204406940016                Gas           Gov. Aggregation
DEO             5180010860349               Gas           Gov. Aggregation   COH             205165660016                Gas           Gov. Aggregation
DEO             4180010279147               Gas           Gov. Aggregation   COH             206461930010                Gas           Gov. Aggregation
DEO             4180010376496               Gas           Gov. Aggregation   COH             193814940024                Gas           Gov. Aggregation
DEO             9180009735013               Gas           Gov. Aggregation   COH             177153350039                Gas           Gov. Aggregation
DEO             3180010271644               Gas           Gov. Aggregation   COH             206269860013                Gas           Gov. Aggregation
DEO             7180008188287               Gas           Gov. Aggregation   COH             206393160017                Gas           Gov. Aggregation
DEO             2180009859966               Gas           Gov. Aggregation   COH             206479380019                Gas           Gov. Aggregation
DEO             6180008527690               Gas           Gov. Aggregation   COH             206483280011                Gas           Gov. Aggregation
DEO             6180010822327               Gas           Gov. Aggregation   COH             205758320010                Gas           Gov. Aggregation
DEO             0180009967194               Gas           Gov. Aggregation   COH             124501430036                Gas           Gov. Aggregation
DEO             2180008316548               Gas           Gov. Aggregation   COH             206483240019                Gas           Gov. Aggregation
DEO             9180010749800               Gas           Gov. Aggregation   COH             203968510017                Gas           Gov. Aggregation
DEO             4180010210876               Gas           Gov. Aggregation   COH             189101560058                Gas           Gov. Aggregation
DEO             1180009798085               Gas           Gov. Aggregation   COH             206343620015                Gas           Gov. Aggregation
DEO             4180008669253               Gas           Gov. Aggregation   COH             204579320011                Gas           Gov. Aggregation
DEO             7180009247475               Gas           Gov. Aggregation   COH             204505710014                Gas           Gov. Aggregation
DEO             6180009719563               Gas           Gov. Aggregation   COH             204141340014                Gas           Gov. Aggregation
DEO             0180010644603               Gas           Gov. Aggregation   COH             206644640013                Gas           Gov. Aggregation
DEO             3180008723450               Gas           Gov. Aggregation   COH             205237620020                Gas           Gov. Aggregation
DEO             4180008274514               Gas           Gov. Aggregation   COH             206231640018                Gas           Gov. Aggregation
DEO             5180009855629               Gas           Gov. Aggregation   COH             204291490016                Gas           Gov. Aggregation
DEO             8180009587845               Gas           Gov. Aggregation   COH             193598680029                Gas           Gov. Aggregation
DEO             0180008203611               Gas           Gov. Aggregation   COH             195492220018                Gas           Gov. Aggregation
DEO             5180009662259               Gas           Gov. Aggregation   COH             204258440016                Gas           Gov. Aggregation
DEO             2180010577226               Gas           Gov. Aggregation   COH             204801570016                Gas           Gov. Aggregation
DEO             9180009457675               Gas           Gov. Aggregation   COH             117415910046                Gas           Gov. Aggregation
DEO             2180010790422               Gas           Gov. Aggregation   COH             124379310014                Gas           Gov. Aggregation
DEO             5180010256691               Gas           Gov. Aggregation   COH             191810540037                Gas           Gov. Aggregation
DEO             2180009305702               Gas           Gov. Aggregation   COH             187780170027                Gas           Gov. Aggregation
DEO             5180010683898               Gas           Gov. Aggregation   COH             203984930015                Gas           Gov. Aggregation
DEO             9180009869931               Gas           Gov. Aggregation   COH             176924690025                Gas           Gov. Aggregation
DEO             0180009469420               Gas           Gov. Aggregation   COH             200029790012                Gas           Gov. Aggregation
DEO             4180010582445               Gas           Gov. Aggregation   VEDO            4001071232299929            Gas           Gov. Aggregation
DEO             7180000913628               Gas           Gov. Aggregation   DEO             6500003238633               Gas           Gov. Aggregation
DEO             0180009249693               Gas           Gov. Aggregation   VEDO            4002891702484739            Gas           Gov. Aggregation
DEO             9180010352959               Gas           Gov. Aggregation   VEDO            4002891702483829            Gas           Gov. Aggregation
DEO             2180010328924               Gas           Gov. Aggregation   COH             206506320012                Gas           Gov. Aggregation
DEO             1500053883751               Gas           Gov. Aggregation   COH             144836790010                Gas           Gov. Aggregation
DEO             3180010498629               Gas           Gov. Aggregation   DEO             8500043632150               Gas           Gov. Aggregation
DEO             8180010396976               Gas           Gov. Aggregation   COH             158208180022                Gas           Gov. Aggregation
DEO             8180010802615               Gas           Gov. Aggregation   DEO             8180011301533               Gas           Gov. Aggregation
DEO             5180010702362               Gas           Gov. Aggregation   VEDO            4004619342468614            Gas           Gov. Aggregation
DEO             1180010529177               Gas           Gov. Aggregation   VEDO            4016110612529946            Gas           Gov. Aggregation
DEO             4180010140171               Gas           Gov. Aggregation   VEDO            4004432422282022            Gas           Gov. Aggregation
DEO             5180010362402               Gas           Gov. Aggregation   COH             122388040023                Gas           Gov. Aggregation
DEO             1180008022912               Gas           Gov. Aggregation   COH             207060740019                Gas           Gov. Aggregation
DEO             8180010152012               Gas           Gov. Aggregation   DEO             3500013743050               Gas           Gov. Aggregation
DEO             3180010844973               Gas           Gov. Aggregation   VEDO            4004013312543802            Gas           Gov. Aggregation
DEO             6180009221269               Gas           Gov. Aggregation   DEO             2500066648265               Gas           Gov. Aggregation
DEO             9180010488576               Gas           Gov. Aggregation   VEDO            4002233002218408            Gas           Gov. Aggregation
DEO             2180008005639               Gas           Gov. Aggregation   COH             134414860020                Gas           Gov. Aggregation
DEO             7180008860691               Gas           Gov. Aggregation   COH             206843390014                Gas           Gov. Aggregation
DEO             6180009458445               Gas           Gov. Aggregation   VEDO            4015306462530562            Gas           Gov. Aggregation
DEO             4180010542363               Gas           Gov. Aggregation   VEDO            4001855022641661            Gas           Gov. Aggregation
DEO             8180009481705               Gas           Gov. Aggregation   COH             187824910027                Gas           Gov. Aggregation
DEO             2500047533264               Gas           Gov. Aggregation   COH             174471320061                Gas           Gov. Aggregation
DEO             7180007974132               Gas           Gov. Aggregation   VEDO            4017413352451697            Gas           Gov. Aggregation
DEO             7180008132970               Gas           Gov. Aggregation   VEDO            4002397392234602            Gas           Gov. Aggregation
DEO             8180008197843               Gas           Gov. Aggregation   VEDO            4001343212132200            Gas           Gov. Aggregation
DEO             9180008549892               Gas           Gov. Aggregation   VEDO            4003177682313672            Gas           Gov. Aggregation
DEO             5180008601684               Gas           Gov. Aggregation   VEDO            4005004532511177            Gas           Gov. Aggregation
DEO             1180008208085               Gas           Gov. Aggregation   COH             122499050017                Gas           Gov. Aggregation
DEO             3180010131657               Gas           Gov. Aggregation   DEO             0180011068093               Gas           Gov. Aggregation
DEO             8180008798419               Gas           Gov. Aggregation   DEO             4180011869269               Gas           Gov. Aggregation
DEO             7180008951725               Gas           Gov. Aggregation   VEDO            4005011322511930            Gas           Gov. Aggregation
DEO             2180008718213               Gas           Gov. Aggregation   VEDO            4002992122294494            Gas           Gov. Aggregation
DEO             7180008624428               Gas           Gov. Aggregation   COH             127622240028                Gas           Gov. Aggregation
DEO             1180009943917               Gas           Gov. Aggregation   VEDO            4015964722519321            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             4180010402727               Gas           Gov. Aggregation   VEDO            4021186122204114            Gas           Gov. Aggregation
DEO             7180010753368               Gas           Gov. Aggregation   VEDO            4019970372319624            Gas           Gov. Aggregation
DEO             3180010084442               Gas           Gov. Aggregation   VEDO            4017927032300154            Gas           Gov. Aggregation
DEO             1180010256613               Gas           Gov. Aggregation   VEDO            4019908792602047            Gas           Gov. Aggregation
DEO             8180008046690               Gas           Gov. Aggregation   VEDO            4005030042116126            Gas           Gov. Aggregation
DEO             9180009721484               Gas           Gov. Aggregation   VEDO            4020163512221698            Gas           Gov. Aggregation
DEO             9180008705130               Gas           Gov. Aggregation   VEDO            4018796132124176            Gas           Gov. Aggregation
DEO             5180010727378               Gas           Gov. Aggregation   VEDO            4002152382455533            Gas           Gov. Aggregation
DEO             1180009078010               Gas           Gov. Aggregation   VEDO            4004104062412007            Gas           Gov. Aggregation
DEO             8180009499184               Gas           Gov. Aggregation   VEDO            4019187172356615            Gas           Gov. Aggregation
DEO             5180010619873               Gas           Gov. Aggregation   VEDO            4002996832261159            Gas           Gov. Aggregation
DEO             5180008337997               Gas           Gov. Aggregation   VEDO            4015323662371745            Gas           Gov. Aggregation
DEO             1180010189466               Gas           Gov. Aggregation   VEDO            4003924902492299            Gas           Gov. Aggregation
DEO             1180010584434               Gas           Gov. Aggregation   VEDO            4020207902308050            Gas           Gov. Aggregation
DEO             9180010647380               Gas           Gov. Aggregation   VEDO            4016039232330511            Gas           Gov. Aggregation
DEO             7180009360221               Gas           Gov. Aggregation   VEDO            4018860252326928            Gas           Gov. Aggregation
DEO             6180010498738               Gas           Gov. Aggregation   VEDO            4001544802151226            Gas           Gov. Aggregation
DEO             2120000044221               Gas           Gov. Aggregation   VEDO            4021091372503256            Gas           Gov. Aggregation
DEO             3180010156945               Gas           Gov. Aggregation   VEDO            4018981222179908            Gas           Gov. Aggregation
DEO             8180010860918               Gas           Gov. Aggregation   VEDO            4002262552221389            Gas           Gov. Aggregation
DEO             8180010336448               Gas           Gov. Aggregation   VEDO            4019280992201754            Gas           Gov. Aggregation
DEO             8180009648792               Gas           Gov. Aggregation   VEDO            4003563082261285            Gas           Gov. Aggregation
DEO             0180000303422               Gas           Gov. Aggregation   VEDO            4015269602206270            Gas           Gov. Aggregation
DEO             4180009719420               Gas           Gov. Aggregation   VEDO            4017838142242372            Gas           Gov. Aggregation
DEO             7180010578236               Gas           Gov. Aggregation   VEDO            4019966132242307            Gas           Gov. Aggregation
DEO             5180008434570               Gas           Gov. Aggregation   VEDO            4021038492523376            Gas           Gov. Aggregation
DEO             1180010053342               Gas           Gov. Aggregation   VEDO            4020900872306663            Gas           Gov. Aggregation
DEO             4180009975195               Gas           Gov. Aggregation   VEDO            4001548822151613            Gas           Gov. Aggregation
DEO             6180009555864               Gas           Gov. Aggregation   VEDO            4020244892382806            Gas           Gov. Aggregation
DEO             6180010432558               Gas           Gov. Aggregation   VEDO            4020259672156755            Gas           Gov. Aggregation
DEO             4180010610391               Gas           Gov. Aggregation   VEDO            4018508122500037            Gas           Gov. Aggregation
DEO             5180009514347               Gas           Gov. Aggregation   VEDO            4019122602521229            Gas           Gov. Aggregation
DEO             1180002470196               Gas           Gov. Aggregation   VEDO            4019320112348489            Gas           Gov. Aggregation
DEO             6180010364943               Gas           Gov. Aggregation   VEDO            4003435252340506            Gas           Gov. Aggregation
DEO             1180008535217               Gas           Gov. Aggregation   VEDO            4020854752474687            Gas           Gov. Aggregation
VEDO            4017714072290073            Gas           Gov. Aggregation   VEDO            4005133362283676            Gas           Gov. Aggregation
VEDO            4020899652583036            Gas           Gov. Aggregation   VEDO            4001007142387043            Gas           Gov. Aggregation
VEDO            4002002542564465            Gas           Gov. Aggregation   VEDO            4001750592170802            Gas           Gov. Aggregation
VEDO            4018876482554057            Gas           Gov. Aggregation   VEDO            4017003412140611            Gas           Gov. Aggregation
VEDO            4020875802623605            Gas           Gov. Aggregation   VEDO            4017588372310681            Gas           Gov. Aggregation
VEDO            4020199522674270            Gas           Gov. Aggregation   VEDO            4020213432115328            Gas           Gov. Aggregation
VEDO            4015105942673578            Gas           Gov. Aggregation   VEDO            4002645762433904            Gas           Gov. Aggregation
VEDO            4018847092675705            Gas           Gov. Aggregation   VEDO            4020942122141978            Gas           Gov. Aggregation
VEDO            4020070422235932            Gas           Gov. Aggregation   VEDO            4019065692307566            Gas           Gov. Aggregation
VEDO            4020126022532039            Gas           Gov. Aggregation   VEDO            4016460782119522            Gas           Gov. Aggregation
VEDO            4018576882248515            Gas           Gov. Aggregation   VEDO            4017936042213957            Gas           Gov. Aggregation
VEDO            4018100292675759            Gas           Gov. Aggregation   VEDO            4018007882377747            Gas           Gov. Aggregation
VEDO            4020870012161296            Gas           Gov. Aggregation   VEDO            4018505422511169            Gas           Gov. Aggregation
VEDO            4019047112397301            Gas           Gov. Aggregation   VEDO            4019921952274156            Gas           Gov. Aggregation
VEDO            4019315752439361            Gas           Gov. Aggregation   VEDO            4018422102511002            Gas           Gov. Aggregation
VEDO            4020099322164049            Gas           Gov. Aggregation   VEDO            4018280332355993            Gas           Gov. Aggregation
VEDO            4020171632219904            Gas           Gov. Aggregation   VEDO            4020938302507445            Gas           Gov. Aggregation
VEDO            4019300472557464            Gas           Gov. Aggregation   VEDO            4017835562216025            Gas           Gov. Aggregation
VEDO            4017295622602465            Gas           Gov. Aggregation   VEDO            4019249912108205            Gas           Gov. Aggregation
VEDO            4017351502602466            Gas           Gov. Aggregation   VEDO            4020059872249757            Gas           Gov. Aggregation
VEDO            4019438812550969            Gas           Gov. Aggregation   VEDO            4018525812166706            Gas           Gov. Aggregation
VEDO            4015035752561868            Gas           Gov. Aggregation   VEDO            4018288142310556            Gas           Gov. Aggregation
VEDO            4019453782591655            Gas           Gov. Aggregation   VEDO            4018796072221436            Gas           Gov. Aggregation
VEDO            4002080052672686            Gas           Gov. Aggregation   VEDO            4019980702455997            Gas           Gov. Aggregation
VEDO            4001695262675502            Gas           Gov. Aggregation   VEDO            4019748912291172            Gas           Gov. Aggregation
VEDO            4001715672640657            Gas           Gov. Aggregation   VEDO            4017691082223176            Gas           Gov. Aggregation
VEDO            4018147282674192            Gas           Gov. Aggregation   VEDO            4001007142100796            Gas           Gov. Aggregation
VEDO            4018067682632816            Gas           Gov. Aggregation   VEDO            4021084952489861            Gas           Gov. Aggregation
VEDO            4003995562623628            Gas           Gov. Aggregation   VEDO            4003158592261198            Gas           Gov. Aggregation
VEDO            4018260772514713            Gas           Gov. Aggregation   VEDO            4019374512349122            Gas           Gov. Aggregation
VEDO            4019898502454843            Gas           Gov. Aggregation   VEDO            4020017822482299            Gas           Gov. Aggregation
VEDO            4020896972478224            Gas           Gov. Aggregation   VEDO            4004969002507199            Gas           Gov. Aggregation
VEDO            4017875772436090            Gas           Gov. Aggregation   VEDO            4020921902385755            Gas           Gov. Aggregation
VEDO            4016695522260588            Gas           Gov. Aggregation   VEDO            4016420182416697            Gas           Gov. Aggregation
VEDO            4018635282286102            Gas           Gov. Aggregation   COH             205914810015                Gas           Gov. Aggregation
VEDO            4020894762268870            Gas           Gov. Aggregation   DEO             6180012281787               Gas           Gov. Aggregation
VEDO            4016290062339228            Gas           Gov. Aggregation   DEO             2180012346745               Gas           Gov. Aggregation
VEDO            4017674942304204            Gas           Gov. Aggregation   COH             189028480015                Gas           Gov. Aggregation
VEDO            4002834392514163            Gas           Gov. Aggregation   VEDO            4002099952205208            Gas           Gov. Aggregation
VEDO            4020153622630919            Gas           Gov. Aggregation   COH             168546010010                Gas           Gov. Aggregation
VEDO            4016349302334136            Gas           Gov. Aggregation   COH             187292020041                Gas           Gov. Aggregation
VEDO            4004007792401476            Gas           Gov. Aggregation   COH             206446150016                Gas           Gov. Aggregation
VEDO            4003297162182094            Gas           Gov. Aggregation   COH             124703280030                Gas           Gov. Aggregation
VEDO            4002740342268888            Gas           Gov. Aggregation   COH             122271620019                Gas           Gov. Aggregation
VEDO            4017111082255559            Gas           Gov. Aggregation   COH             206401860011                Gas           Gov. Aggregation
VEDO            4018110902645822            Gas           Gov. Aggregation   COH             163479790015                Gas           Gov. Aggregation
VEDO            4015438362449445            Gas           Gov. Aggregation   COH             159752100033                Gas           Gov. Aggregation
VEDO            4021026772241195            Gas           Gov. Aggregation   COH             204996180017                Gas           Gov. Aggregation
VEDO            4017867692177467            Gas           Gov. Aggregation   COH             131882840044                Gas           Gov. Aggregation
VEDO            4017477372387443            Gas           Gov. Aggregation   COH             131882840053                Gas           Gov. Aggregation
VEDO            4002375112114024            Gas           Gov. Aggregation   COH             164812110018                Gas           Gov. Aggregation
VEDO            4019513642117784            Gas           Gov. Aggregation   COH             176604820025                Gas           Gov. Aggregation
VEDO            4015797882484790            Gas           Gov. Aggregation   COH             122272540014                Gas           Gov. Aggregation
VEDO            4018051772253916            Gas           Gov. Aggregation   COH             194438090011                Gas           Gov. Aggregation
VEDO            4019968942117201            Gas           Gov. Aggregation   COH             164184220054                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4001601372424712            Gas           Gov. Aggregation   COH             148375670019                Gas           Gov. Aggregation
VEDO            4001376512135344            Gas           Gov. Aggregation   COH             137473050014                Gas           Gov. Aggregation
VEDO            4017856742120227            Gas           Gov. Aggregation   COH             122272690013                Gas           Gov. Aggregation
VEDO            4019200212128609            Gas           Gov. Aggregation   COH             207204890012                Gas           Gov. Aggregation
VEDO            4002526612247575            Gas           Gov. Aggregation   COH             173003470026                Gas           Gov. Aggregation
VEDO            4001692272467905            Gas           Gov. Aggregation   COH             188026340019                Gas           Gov. Aggregation
VEDO            4001186702105093            Gas           Gov. Aggregation   COH             200902070011                Gas           Gov. Aggregation
VEDO            4019301332131961            Gas           Gov. Aggregation   COH             174759280015                Gas           Gov. Aggregation
VEDO            4017705212108150            Gas           Gov. Aggregation   COH             177413180015                Gas           Gov. Aggregation
VEDO            4020852722211293            Gas           Gov. Aggregation   COH             122270410024                Gas           Gov. Aggregation
VEDO            4002442482239132            Gas           Gov. Aggregation   COH             135521950032                Gas           Gov. Aggregation
VEDO            4018390282114345            Gas           Gov. Aggregation   COH             144836820013                Gas           Gov. Aggregation
VEDO            4015381182279057            Gas           Gov. Aggregation   COH             204862790012                Gas           Gov. Aggregation
VEDO            4016562762467149            Gas           Gov. Aggregation   COH             207096870017                Gas           Gov. Aggregation
VEDO            4018746002364512            Gas           Gov. Aggregation   COH             151771390095                Gas           Gov. Aggregation
COH             114906170017                Gas           Gov. Aggregation   COH             151771390077                Gas           Gov. Aggregation
COH             202990730015                Gas           Gov. Aggregation   COH             173310150086                Gas           Gov. Aggregation
COH             206585060011                Gas           Gov. Aggregation   COH             174177980021                Gas           Gov. Aggregation
COH             203507640016                Gas           Gov. Aggregation   COH             174177980012                Gas           Gov. Aggregation
COH             109605040019                Gas           Gov. Aggregation   COH             200895630010                Gas           Gov. Aggregation
COH             204125360014                Gas           Gov. Aggregation   COH             207379270013                Gas           Gov. Aggregation
COH             203723540019                Gas           Gov. Aggregation   COH             191174570031                Gas           Gov. Aggregation
COH             196813870037                Gas           Gov. Aggregation   COH             195575130011                Gas           Gov. Aggregation
COH             109604780025                Gas           Gov. Aggregation   COH             195079700022                Gas           Gov. Aggregation
COH             194329120033                Gas           Gov. Aggregation   COH             189194540039                Gas           Gov. Aggregation
VEDO            4004552572461153            Gas           Gov. Aggregation   COH             133026170029                Gas           Gov. Aggregation
VEDO            4004175482419832            Gas           Gov. Aggregation   COH             122163740013                Gas           Gov. Aggregation
VEDO            4003201862316118            Gas           Gov. Aggregation   COH             206738310013                Gas           Gov. Aggregation
VEDO            4017251192391538            Gas           Gov. Aggregation   COH             177760340016                Gas           Gov. Aggregation
DEO             3170000003101               Gas           Gov. Aggregation   COH             198795730016                Gas           Gov. Aggregation
VEDO            4004129502414770            Gas           Gov. Aggregation   COH             202643210019                Gas           Gov. Aggregation
VEDO            4015022322377652            Gas           Gov. Aggregation   COH             203162590019                Gas           Gov. Aggregation
VEDO            4002423182237202            Gas           Gov. Aggregation   COH             122118250039                Gas           Gov. Aggregation
COH             203980820016                Gas           Gov. Aggregation   COH             152881960028                Gas           Gov. Aggregation
COH             139713680118                Gas           Gov. Aggregation   COH             145769570036                Gas           Gov. Aggregation
COH             205822470012                Gas           Gov. Aggregation   COH             164630520036                Gas           Gov. Aggregation
COH             128811030011                Gas           Gov. Aggregation   COH             205336500025                Gas           Gov. Aggregation
COH             205616460011                Gas           Gov. Aggregation   COH             202026290011                Gas           Gov. Aggregation
VEDO            4001456532142737            Gas           Gov. Aggregation   COH             194912450019                Gas           Gov. Aggregation
VEDO            4002868292281863            Gas           Gov. Aggregation   COH             135501600019                Gas           Gov. Aggregation
DEO             2180010975259               Gas           Gov. Aggregation   COH             205040510011                Gas           Gov. Aggregation
COH             198788020083                Gas           Gov. Aggregation   COH             148607400012                Gas           Gov. Aggregation
COH             191450260049                Gas           Gov. Aggregation   COH             122162770019                Gas           Gov. Aggregation
COH             140563000036                Gas           Gov. Aggregation   COH             159254250029                Gas           Gov. Aggregation
VEDO            4004043852405428            Gas           Gov. Aggregation   COH             172643030023                Gas           Gov. Aggregation
DEO             2180010930436               Gas           Gov. Aggregation   COH             192927790019                Gas           Gov. Aggregation
DEO             7180010929028               Gas           Gov. Aggregation   COH             206149660019                Gas           Gov. Aggregation
DEO             9180009952562               Gas           Gov. Aggregation   COH             199461240015                Gas           Gov. Aggregation
COH             175982700012                Gas           Gov. Aggregation   COH             156981190015                Gas           Gov. Aggregation
VEDO            4003737422150438            Gas           Gov. Aggregation   COH             133390550046                Gas           Gov. Aggregation
VEDO            4001508392147578            Gas           Gov. Aggregation   COH             203148960039                Gas           Gov. Aggregation
COH             206717990015                Gas           Gov. Aggregation   COH             199578930013                Gas           Gov. Aggregation
DEO             4180011013141               Gas           Gov. Aggregation   COH             177673450036                Gas           Gov. Aggregation
DEO             8180011062443               Gas           Gov. Aggregation   COH             154924490014                Gas           Gov. Aggregation
VEDO            4004788832487225            Gas           Gov. Aggregation   COH             165180310034                Gas           Gov. Aggregation
COH             193719980028                Gas           Gov. Aggregation   COH             122270890015                Gas           Gov. Aggregation
COH             190122200029                Gas           Gov. Aggregation   COH             206159880012                Gas           Gov. Aggregation
COH             206935610012                Gas           Gov. Aggregation   COH             122048560284                Gas           Gov. Aggregation
VEDO            4016496522147047            Gas           Gov. Aggregation   COH             201357510014                Gas           Gov. Aggregation
COH             198397930027                Gas           Gov. Aggregation   COH             185151390026                Gas           Gov. Aggregation
COH             114986470034                Gas           Gov. Aggregation   COH             141736500113                Gas           Gov. Aggregation
COH             160587900015                Gas           Gov. Aggregation   COH             200184840013                Gas           Gov. Aggregation
VEDO            4004478172452872            Gas           Gov. Aggregation   COH             206003650019                Gas           Gov. Aggregation
VEDO            4021104462431242            Gas           Gov. Aggregation   COH             190346810018                Gas           Gov. Aggregation
VEDO            4002181662312053            Gas           Gov. Aggregation   COH             148795580054                Gas           Gov. Aggregation
VEDO            4001774512173139            Gas           Gov. Aggregation   COH             123334400029                Gas           Gov. Aggregation
VEDO            4018174872181541            Gas           Gov. Aggregation   COH             150510670026                Gas           Gov. Aggregation
VEDO            4003941722565784            Gas           Gov. Aggregation   COH             122263240025                Gas           Gov. Aggregation
DEO             6180011077449               Gas           Gov. Aggregation   COH             201919450015                Gas           Gov. Aggregation
DEO             7180011260694               Gas           Gov. Aggregation   COH             198820320080                Gas           Gov. Aggregation
COH             202585840011                Gas           Gov. Aggregation   COH             198770610013                Gas           Gov. Aggregation
COH             169490930462                Gas           Gov. Aggregation   COH             153090250014                Gas           Gov. Aggregation
COH             202215220014                Gas           Gov. Aggregation   COH             131027360038                Gas           Gov. Aggregation
COH             204477300011                Gas           Gov. Aggregation   COH             138452120012                Gas           Gov. Aggregation
COH             201742060012                Gas           Gov. Aggregation   COH             204140840011                Gas           Gov. Aggregation
COH             205126250014                Gas           Gov. Aggregation   COH             186848140048                Gas           Gov. Aggregation
COH             185889580041                Gas           Gov. Aggregation   COH             195515920011                Gas           Gov. Aggregation
COH             202848130021                Gas           Gov. Aggregation   COH             164829260012                Gas           Gov. Aggregation
COH             108832640059                Gas           Gov. Aggregation   COH             203793380016                Gas           Gov. Aggregation
COH             195973550028                Gas           Gov. Aggregation   COH             175352710042                Gas           Gov. Aggregation
COH             200547090011                Gas           Gov. Aggregation   COH             122137030026                Gas           Gov. Aggregation
COH             197152320024                Gas           Gov. Aggregation   COH             151009010026                Gas           Gov. Aggregation
COH             205432500012                Gas           Gov. Aggregation   COH             206367110012                Gas           Gov. Aggregation
COH             205176220015                Gas           Gov. Aggregation   COH             205085500082                Gas           Gov. Aggregation
COH             202468210011                Gas           Gov. Aggregation   COH             205085500064                Gas           Gov. Aggregation
COH             194290010011                Gas           Gov. Aggregation   COH             155866550078                Gas           Gov. Aggregation
COH             202196330013                Gas           Gov. Aggregation   COH             122161870038                Gas           Gov. Aggregation
COH             204819880014                Gas           Gov. Aggregation   COH             196652010011                Gas           Gov. Aggregation
COH             204915280016                Gas           Gov. Aggregation   COH             136657280044                Gas           Gov. Aggregation
VEDO            4017069522179999            Gas           Gov. Aggregation   COH             189355920037                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             2500067536654               Gas           Gov. Aggregation   COH             205884300017                Gas           Gov. Aggregation
VEDO            4004773522485525            Gas           Gov. Aggregation   COH             203395090011                Gas           Gov. Aggregation
DEO             8180011125216               Gas           Gov. Aggregation   COH             193090050018                Gas           Gov. Aggregation
COH             114888550035                Gas           Gov. Aggregation   COH             206049090011                Gas           Gov. Aggregation
COH             156097680017                Gas           Gov. Aggregation   COH             206334210010                Gas           Gov. Aggregation
COH             199843140034                Gas           Gov. Aggregation   COH             122162360015                Gas           Gov. Aggregation
DEO             5180011296320               Gas           Gov. Aggregation   COH             127659090032                Gas           Gov. Aggregation
DEO             5180011190960               Gas           Gov. Aggregation   COH             196653650015                Gas           Gov. Aggregation
DEO             6500002063738               Gas           Gov. Aggregation   COH             189337780044                Gas           Gov. Aggregation
VEDO            4005045182515807            Gas           Gov. Aggregation   COH             194543130028                Gas           Gov. Aggregation
COH             136807130019                Gas           Gov. Aggregation   COH             138750850017                Gas           Gov. Aggregation
COH             206868840017                Gas           Gov. Aggregation   COH             131038760022                Gas           Gov. Aggregation
DUKE            3630009120                  Gas           Gov. Aggregation   COH             148877740029                Gas           Gov. Aggregation
VEDO            4001287222588385            Gas           Gov. Aggregation   COH             196382830012                Gas           Gov. Aggregation
VEDO            4001287222589964            Gas           Gov. Aggregation   COH             163361210033                Gas           Gov. Aggregation
COH             197910850025                Gas           Gov. Aggregation   COH             163801180027                Gas           Gov. Aggregation
COH             205766710011                Gas           Gov. Aggregation   COH             202968190016                Gas           Gov. Aggregation
COH             206552700015                Gas           Gov. Aggregation   COH             171540910027                Gas           Gov. Aggregation
COH             204659940039                Gas           Gov. Aggregation   COH             122076120027                Gas           Gov. Aggregation
COH             122478720056                Gas           Gov. Aggregation   COH             122245570033                Gas           Gov. Aggregation
COH             122582470076                Gas           Gov. Aggregation   COH             188530310016                Gas           Gov. Aggregation
COH             204836320015                Gas           Gov. Aggregation   COH             153821370027                Gas           Gov. Aggregation
COH             189276090076                Gas           Gov. Aggregation   COH             195593640025                Gas           Gov. Aggregation
COH             205854720012                Gas           Gov. Aggregation   COH             198069380019                Gas           Gov. Aggregation
COH             206822400015                Gas           Gov. Aggregation   COH             122231380023                Gas           Gov. Aggregation
COH             201340970022                Gas           Gov. Aggregation   COH             166684930026                Gas           Gov. Aggregation
COH             145655790068                Gas           Gov. Aggregation   COH             191861890037                Gas           Gov. Aggregation
COH             206603900014                Gas           Gov. Aggregation   COH             151956020027                Gas           Gov. Aggregation
COH             204854680012                Gas           Gov. Aggregation   COH             200143770014                Gas           Gov. Aggregation
COH             160108660029                Gas           Gov. Aggregation   COH             122053270024                Gas           Gov. Aggregation
COH             206428230017                Gas           Gov. Aggregation   COH             197655310020                Gas           Gov. Aggregation
COH             122354690215                Gas           Gov. Aggregation   COH             160262140013                Gas           Gov. Aggregation
COH             200331390033                Gas           Gov. Aggregation   COH             194390940014                Gas           Gov. Aggregation
COH             200331390042                Gas           Gov. Aggregation   COH             122316170027                Gas           Gov. Aggregation
COH             122382360028                Gas           Gov. Aggregation   COH             160177380032                Gas           Gov. Aggregation
COH             205797570016                Gas           Gov. Aggregation   COH             202774690012                Gas           Gov. Aggregation
COH             192127830043                Gas           Gov. Aggregation   COH             122046760026                Gas           Gov. Aggregation
COH             190667700048                Gas           Gov. Aggregation   COH             203379120018                Gas           Gov. Aggregation
COH             206698510017                Gas           Gov. Aggregation   COH             185624440013                Gas           Gov. Aggregation
COH             206472320015                Gas           Gov. Aggregation   COH             122273270019                Gas           Gov. Aggregation
COH             130114750989                Gas           Gov. Aggregation   COH             198889940013                Gas           Gov. Aggregation
COH             205457410028                Gas           Gov. Aggregation   COH             205330350010                Gas           Gov. Aggregation
COH             134776440022                Gas           Gov. Aggregation   COH             198497230013                Gas           Gov. Aggregation
COH             206521990010                Gas           Gov. Aggregation   COH             206428880011                Gas           Gov. Aggregation
COH             200537750031                Gas           Gov. Aggregation   COH             202044180016                Gas           Gov. Aggregation
COH             176841370055                Gas           Gov. Aggregation   COH             195644270015                Gas           Gov. Aggregation
COH             206002790012                Gas           Gov. Aggregation   COH             126897490017                Gas           Gov. Aggregation
COH             206042770012                Gas           Gov. Aggregation   COH             122273550010                Gas           Gov. Aggregation
COH             164515030033                Gas           Gov. Aggregation   COH             163788030019                Gas           Gov. Aggregation
COH             149843700054                Gas           Gov. Aggregation   COH             175159950033                Gas           Gov. Aggregation
COH             205131900016                Gas           Gov. Aggregation   COH             204608080019                Gas           Gov. Aggregation
COH             206783050013                Gas           Gov. Aggregation   COH             154803730055                Gas           Gov. Aggregation
COH             205726520015                Gas           Gov. Aggregation   COH             161473760015                Gas           Gov. Aggregation
COH             206373140013                Gas           Gov. Aggregation   COH             169482030039                Gas           Gov. Aggregation
COH             186083460061                Gas           Gov. Aggregation   COH             122265600025                Gas           Gov. Aggregation
COH             205616960016                Gas           Gov. Aggregation   COH             157001040011                Gas           Gov. Aggregation
COH             205883640018                Gas           Gov. Aggregation   COH             189598810036                Gas           Gov. Aggregation
COH             186040920028                Gas           Gov. Aggregation   COH             151575150028                Gas           Gov. Aggregation
COH             206643750012                Gas           Gov. Aggregation   COH             199443250011                Gas           Gov. Aggregation
COH             196226890038                Gas           Gov. Aggregation   COH             166748960024                Gas           Gov. Aggregation
COH             142015230055                Gas           Gov. Aggregation   COH             172803270014                Gas           Gov. Aggregation
COH             206339500019                Gas           Gov. Aggregation   COH             158155790036                Gas           Gov. Aggregation
COH             205912670019                Gas           Gov. Aggregation   COH             161432930024                Gas           Gov. Aggregation
COH             205825990017                Gas           Gov. Aggregation   COH             125175170024                Gas           Gov. Aggregation
COH             197017820025                Gas           Gov. Aggregation   COH             122058780054                Gas           Gov. Aggregation
COH             205573330010                Gas           Gov. Aggregation   COH             156151210028                Gas           Gov. Aggregation
COH             206191600012                Gas           Gov. Aggregation   COH             200783090011                Gas           Gov. Aggregation
COH             206521980012                Gas           Gov. Aggregation   COH             203352080013                Gas           Gov. Aggregation
COH             206673800018                Gas           Gov. Aggregation   COH             122231610024                Gas           Gov. Aggregation
COH             201282490027                Gas           Gov. Aggregation   COH             157142040031                Gas           Gov. Aggregation
COH             205736580012                Gas           Gov. Aggregation   COH             207308190019                Gas           Gov. Aggregation
COH             206173680014                Gas           Gov. Aggregation   VEDO            4001302082128440            Gas           Gov. Aggregation
COH             204706490015                Gas           Gov. Aggregation   VEDO            4015723402112168            Gas           Gov. Aggregation
COH             205864500017                Gas           Gov. Aggregation   COH             197230670034                Gas           Gov. Aggregation
COH             205285400016                Gas           Gov. Aggregation   COH             198567260296                Gas           Gov. Aggregation
COH             200819770057                Gas           Gov. Aggregation   COH             123714920033                Gas           Gov. Aggregation
COH             203093660039                Gas           Gov. Aggregation   COH             194706890023                Gas           Gov. Aggregation
COH             122419810042                Gas           Gov. Aggregation   COH             204987090024                Gas           Gov. Aggregation
COH             168140470032                Gas           Gov. Aggregation   COH             200317580024                Gas           Gov. Aggregation
COH             169239480021                Gas           Gov. Aggregation   COH             123727450017                Gas           Gov. Aggregation
COH             122452030028                Gas           Gov. Aggregation   COH             123726660015                Gas           Gov. Aggregation
COH             196495500030                Gas           Gov. Aggregation   COH             198607280018                Gas           Gov. Aggregation
COH             205916590018                Gas           Gov. Aggregation   COH             207401120015                Gas           Gov. Aggregation
COH             197740280035                Gas           Gov. Aggregation   COH             123636940035                Gas           Gov. Aggregation
COH             204811660016                Gas           Gov. Aggregation   COH             206609220015                Gas           Gov. Aggregation
COH             204890610010                Gas           Gov. Aggregation   COH             198254090017                Gas           Gov. Aggregation
COH             155881270075                Gas           Gov. Aggregation   COH             203280400027                Gas           Gov. Aggregation
COH             205750460017                Gas           Gov. Aggregation   COH             203406950015                Gas           Gov. Aggregation
COH             187078810030                Gas           Gov. Aggregation   COH             123668220066                Gas           Gov. Aggregation
COH             204762370012                Gas           Gov. Aggregation   COH             123730890027                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             205578930014                Gas           Gov. Aggregation   COH             130148320040                Gas           Gov. Aggregation
COH             205408650012                Gas           Gov. Aggregation   COH             157499990064                Gas           Gov. Aggregation
COH             173842000035                Gas           Gov. Aggregation   COH             206431680016                Gas           Gov. Aggregation
COH             129933350104                Gas           Gov. Aggregation   COH             207061860012                Gas           Gov. Aggregation
COH             129933350097                Gas           Gov. Aggregation   COH             172139060026                Gas           Gov. Aggregation
COH             148540650076                Gas           Gov. Aggregation   COH             199581140012                Gas           Gov. Aggregation
COH             198875580045                Gas           Gov. Aggregation   COH             123710380062                Gas           Gov. Aggregation
COH             206413830012                Gas           Gov. Aggregation   COH             124121890054                Gas           Gov. Aggregation
COH             205766740015                Gas           Gov. Aggregation   COH             127276640056                Gas           Gov. Aggregation
COH             204909340016                Gas           Gov. Aggregation   COH             207167260014                Gas           Gov. Aggregation
COH             206258040018                Gas           Gov. Aggregation   COH             206586890015                Gas           Gov. Aggregation
COH             190617030053                Gas           Gov. Aggregation   COH             199359090032                Gas           Gov. Aggregation
COH             122340520022                Gas           Gov. Aggregation   COH             206671500015                Gas           Gov. Aggregation
COH             205380590024                Gas           Gov. Aggregation   COH             144145430029                Gas           Gov. Aggregation
COH             206713700013                Gas           Gov. Aggregation   COH             163378250049                Gas           Gov. Aggregation
COH             189435450072                Gas           Gov. Aggregation   COH             122058930043                Gas           Gov. Aggregation
COH             201740840021                Gas           Gov. Aggregation   COH             203353140018                Gas           Gov. Aggregation
COH             205585830010                Gas           Gov. Aggregation   COH             203491560018                Gas           Gov. Aggregation
COH             206506490017                Gas           Gov. Aggregation   COH             165660620040                Gas           Gov. Aggregation
COH             202271590028                Gas           Gov. Aggregation   COH             204099210012                Gas           Gov. Aggregation
COH             206452640010                Gas           Gov. Aggregation   COH             204340110010                Gas           Gov. Aggregation
COH             205115440017                Gas           Gov. Aggregation   COH             205885270012                Gas           Gov. Aggregation
COH             205055460011                Gas           Gov. Aggregation   COH             206096840014                Gas           Gov. Aggregation
COH             205540320011                Gas           Gov. Aggregation   COH             204300550012                Gas           Gov. Aggregation
COH             206685820019                Gas           Gov. Aggregation   COH             176704140026                Gas           Gov. Aggregation
COH             144037130030                Gas           Gov. Aggregation   COH             204278050016                Gas           Gov. Aggregation
COH             205402250018                Gas           Gov. Aggregation   COH             207364860010                Gas           Gov. Aggregation
COH             206732380011                Gas           Gov. Aggregation   COH             205701280018                Gas           Gov. Aggregation
COH             174573760063                Gas           Gov. Aggregation   COH             197224310050                Gas           Gov. Aggregation
COH             190988080058                Gas           Gov. Aggregation   COH             205921820018                Gas           Gov. Aggregation
COH             206747270013                Gas           Gov. Aggregation   COH             205966160013                Gas           Gov. Aggregation
COH             206619710011                Gas           Gov. Aggregation   COH             175201850051                Gas           Gov. Aggregation
COH             206290840012                Gas           Gov. Aggregation   COH             143706660022                Gas           Gov. Aggregation
COH             193296670058                Gas           Gov. Aggregation   COH             123661110027                Gas           Gov. Aggregation
COH             205599720014                Gas           Gov. Aggregation   COH             123660140023                Gas           Gov. Aggregation
COH             154440160279                Gas           Gov. Aggregation   COH             195973700026                Gas           Gov. Aggregation
COH             154440160288                Gas           Gov. Aggregation   COH             203373950016                Gas           Gov. Aggregation
COH             175060260073                Gas           Gov. Aggregation   COH             174489770060                Gas           Gov. Aggregation
COH             204995230018                Gas           Gov. Aggregation   COH             203412520021                Gas           Gov. Aggregation
COH             122473320041                Gas           Gov. Aggregation   COH             203886120013                Gas           Gov. Aggregation
COH             187231480070                Gas           Gov. Aggregation   COH             198899490026                Gas           Gov. Aggregation
COH             191559730040                Gas           Gov. Aggregation   COH             206509670013                Gas           Gov. Aggregation
COH             191194870036                Gas           Gov. Aggregation   COH             161372580053                Gas           Gov. Aggregation
COH             206117470016                Gas           Gov. Aggregation   COH             200985280022                Gas           Gov. Aggregation
COH             204841840015                Gas           Gov. Aggregation   COH             154099560038                Gas           Gov. Aggregation
COH             206214840012                Gas           Gov. Aggregation   COH             206150640010                Gas           Gov. Aggregation
COH             133108890079                Gas           Gov. Aggregation   COH             206417980013                Gas           Gov. Aggregation
COH             204773720024                Gas           Gov. Aggregation   COH             206580170018                Gas           Gov. Aggregation
COH             199978570039                Gas           Gov. Aggregation   COH             207113350018                Gas           Gov. Aggregation
COH             206560150014                Gas           Gov. Aggregation   COH             203604060012                Gas           Gov. Aggregation
COH             202885010037                Gas           Gov. Aggregation   COH             206096830016                Gas           Gov. Aggregation
COH             205124880016                Gas           Gov. Aggregation   COH             123669740029                Gas           Gov. Aggregation
COH             206107310010                Gas           Gov. Aggregation   COH             123733360022                Gas           Gov. Aggregation
COH             204900030019                Gas           Gov. Aggregation   COH             199812920017                Gas           Gov. Aggregation
COH             196184180046                Gas           Gov. Aggregation   COH             163169900036                Gas           Gov. Aggregation
COH             206231120017                Gas           Gov. Aggregation   COH             204950440018                Gas           Gov. Aggregation
COH             197344380025                Gas           Gov. Aggregation   COH             206580250011                Gas           Gov. Aggregation
COH             135589320069                Gas           Gov. Aggregation   COH             161746040017                Gas           Gov. Aggregation
COH             206051750017                Gas           Gov. Aggregation   COH             198947540022                Gas           Gov. Aggregation
COH             205585790019                Gas           Gov. Aggregation   COH             196101240056                Gas           Gov. Aggregation
COH             173423860024                Gas           Gov. Aggregation   COH             173417160015                Gas           Gov. Aggregation
COH             200366600035                Gas           Gov. Aggregation   COH             200995100028                Gas           Gov. Aggregation
COH             206770880016                Gas           Gov. Aggregation   COH             205098460011                Gas           Gov. Aggregation
COH             205187420010                Gas           Gov. Aggregation   COH             205438710016                Gas           Gov. Aggregation
COH             202638870030                Gas           Gov. Aggregation   COH             201466780026                Gas           Gov. Aggregation
COH             206438850016                Gas           Gov. Aggregation   COH             203719480011                Gas           Gov. Aggregation
COH             205899690015                Gas           Gov. Aggregation   COH             207269400018                Gas           Gov. Aggregation
COH             195955580039                Gas           Gov. Aggregation   COH             170691220042                Gas           Gov. Aggregation
COH             195416620032                Gas           Gov. Aggregation   COH             161339300097                Gas           Gov. Aggregation
COH             157715260307                Gas           Gov. Aggregation   COH             160070450042                Gas           Gov. Aggregation
COH             202909420039                Gas           Gov. Aggregation   COH             187859280027                Gas           Gov. Aggregation
COH             206561090015                Gas           Gov. Aggregation   COH             206941760018                Gas           Gov. Aggregation
COH             206781340016                Gas           Gov. Aggregation   COH             153509010042                Gas           Gov. Aggregation
COH             202461240037                Gas           Gov. Aggregation   COH             203423880023                Gas           Gov. Aggregation
COH             206685840015                Gas           Gov. Aggregation   COH             123637220016                Gas           Gov. Aggregation
COH             204799000030                Gas           Gov. Aggregation   COH             205503990019                Gas           Gov. Aggregation
COH             206643780016                Gas           Gov. Aggregation   COH             204233950011                Gas           Gov. Aggregation
COH             204775530011                Gas           Gov. Aggregation   COH             159963150045                Gas           Gov. Aggregation
COH             196735050035                Gas           Gov. Aggregation   COH             203544570031                Gas           Gov. Aggregation
COH             206572240010                Gas           Gov. Aggregation   COH             204490440014                Gas           Gov. Aggregation
COH             205416760012                Gas           Gov. Aggregation   COH             207218570010                Gas           Gov. Aggregation
COH             190155960012                Gas           Gov. Aggregation   COH             198286060025                Gas           Gov. Aggregation
COH             191524990067                Gas           Gov. Aggregation   COH             176801340055                Gas           Gov. Aggregation
COH             137226660064                Gas           Gov. Aggregation   COH             203734680017                Gas           Gov. Aggregation
COH             206015970071                Gas           Gov. Aggregation   COH             189193550039                Gas           Gov. Aggregation
COH             188627370019                Gas           Gov. Aggregation   COH             170405530097                Gas           Gov. Aggregation
COH             167102780038                Gas           Gov. Aggregation   COH             205903970015                Gas           Gov. Aggregation
COH             198982060038                Gas           Gov. Aggregation   COH             202615780028                Gas           Gov. Aggregation
COH             122360790186                Gas           Gov. Aggregation   COH             203383660016                Gas           Gov. Aggregation
COH             204691320013                Gas           Gov. Aggregation   COH             204838220012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             190988280047                Gas           Gov. Aggregation   COH             206606500012                Gas           Gov. Aggregation
COH             190988280056                Gas           Gov. Aggregation   COH             201289940028                Gas           Gov. Aggregation
COH             206592950019                Gas           Gov. Aggregation   COH             203886030012                Gas           Gov. Aggregation
COH             199080480086                Gas           Gov. Aggregation   COH             205840510015                Gas           Gov. Aggregation
COH             206379940013                Gas           Gov. Aggregation   COH             166757690022                Gas           Gov. Aggregation
COH             205984010016                Gas           Gov. Aggregation   COH             206463260017                Gas           Gov. Aggregation
COH             195954820012                Gas           Gov. Aggregation   COH             206454070016                Gas           Gov. Aggregation
COH             205682240018                Gas           Gov. Aggregation   COH             205485860016                Gas           Gov. Aggregation
COH             205983200018                Gas           Gov. Aggregation   COH             154190850033                Gas           Gov. Aggregation
COH             158196570036                Gas           Gov. Aggregation   COH             201826800027                Gas           Gov. Aggregation
COH             202182790025                Gas           Gov. Aggregation   COH             204548780010                Gas           Gov. Aggregation
COH             203607360022                Gas           Gov. Aggregation   COH             204397030018                Gas           Gov. Aggregation
COH             199851510020                Gas           Gov. Aggregation   COH             198717280024                Gas           Gov. Aggregation
COH             199298950022                Gas           Gov. Aggregation   COH             205589950017                Gas           Gov. Aggregation
COH             198982010029                Gas           Gov. Aggregation   COH             207125170011                Gas           Gov. Aggregation
COH             186153520014                Gas           Gov. Aggregation   COH             145657920084                Gas           Gov. Aggregation
COH             202008680026                Gas           Gov. Aggregation   COH             203855080017                Gas           Gov. Aggregation
COH             205273680013                Gas           Gov. Aggregation   COH             123717680047                Gas           Gov. Aggregation
COH             205792560018                Gas           Gov. Aggregation   COH             204950370013                Gas           Gov. Aggregation
COH             205042180017                Gas           Gov. Aggregation   COH             205867090018                Gas           Gov. Aggregation
COH             191995380031                Gas           Gov. Aggregation   COH             186270890019                Gas           Gov. Aggregation
COH             203834710027                Gas           Gov. Aggregation   COH             206852300013                Gas           Gov. Aggregation
COH             199699120026                Gas           Gov. Aggregation   COH             170656560072                Gas           Gov. Aggregation
COH             202400690013                Gas           Gov. Aggregation   COH             197800210022                Gas           Gov. Aggregation
COH             204662060019                Gas           Gov. Aggregation   COH             203886060016                Gas           Gov. Aggregation
COH             205932280019                Gas           Gov. Aggregation   COH             176832260048                Gas           Gov. Aggregation
COH             194035600026                Gas           Gov. Aggregation   COH             123716240023                Gas           Gov. Aggregation
COH             206323610019                Gas           Gov. Aggregation   COH             199050410010                Gas           Gov. Aggregation
COH             204781290019                Gas           Gov. Aggregation   COH             197121250033                Gas           Gov. Aggregation
COH             205775020017                Gas           Gov. Aggregation   COH             193690720015                Gas           Gov. Aggregation
COH             205052100012                Gas           Gov. Aggregation   COH             206976370017                Gas           Gov. Aggregation
COH             205397010020                Gas           Gov. Aggregation   COH             196890020042                Gas           Gov. Aggregation
COH             189770940024                Gas           Gov. Aggregation   COH             206861760018                Gas           Gov. Aggregation
COH             205963930017                Gas           Gov. Aggregation   COH             203988450018                Gas           Gov. Aggregation
COH             205682270012                Gas           Gov. Aggregation   COH             199100750021                Gas           Gov. Aggregation
COH             188763810036                Gas           Gov. Aggregation   COH             204362430017                Gas           Gov. Aggregation
COH             201115780029                Gas           Gov. Aggregation   COH             203820360011                Gas           Gov. Aggregation
COH             205079540023                Gas           Gov. Aggregation   COH             203466440016                Gas           Gov. Aggregation
COH             205696970016                Gas           Gov. Aggregation   COH             155876450069                Gas           Gov. Aggregation
COH             172475710027                Gas           Gov. Aggregation   COH             204555830014                Gas           Gov. Aggregation
COH             155431960064                Gas           Gov. Aggregation   COH             203535260017                Gas           Gov. Aggregation
COH             195817620041                Gas           Gov. Aggregation   COH             205438700018                Gas           Gov. Aggregation
COH             205702630012                Gas           Gov. Aggregation   COH             197663530036                Gas           Gov. Aggregation
COH             204756030016                Gas           Gov. Aggregation   COH             206333760017                Gas           Gov. Aggregation
COH             169478490096                Gas           Gov. Aggregation   COH             203376260015                Gas           Gov. Aggregation
COH             206231110019                Gas           Gov. Aggregation   COH             206852310011                Gas           Gov. Aggregation
COH             205325770013                Gas           Gov. Aggregation   COH             207486620012                Gas           Gov. Aggregation
COH             176767390040                Gas           Gov. Aggregation   COH             203066700037                Gas           Gov. Aggregation
COH             206310760015                Gas           Gov. Aggregation   COH             202309390010                Gas           Gov. Aggregation
COH             151751260049                Gas           Gov. Aggregation   COH             205633840015                Gas           Gov. Aggregation
COH             205953170018                Gas           Gov. Aggregation   COH             206869960010                Gas           Gov. Aggregation
COH             206718280012                Gas           Gov. Aggregation   COH             191084240086                Gas           Gov. Aggregation
COH             204193810025                Gas           Gov. Aggregation   COH             203691150010                Gas           Gov. Aggregation
COH             205646250012                Gas           Gov. Aggregation   COH             192452430066                Gas           Gov. Aggregation
COH             191559730031                Gas           Gov. Aggregation   COH             201005730022                Gas           Gov. Aggregation
COH             206822370012                Gas           Gov. Aggregation   COH             203886050018                Gas           Gov. Aggregation
COH             195605800042                Gas           Gov. Aggregation   COH             206228440017                Gas           Gov. Aggregation
COH             206665920010                Gas           Gov. Aggregation   COH             205911670011                Gas           Gov. Aggregation
COH             204730510019                Gas           Gov. Aggregation   COH             188617510065                Gas           Gov. Aggregation
COH             204993700013                Gas           Gov. Aggregation   COH             197336800069                Gas           Gov. Aggregation
COH             175498870041                Gas           Gov. Aggregation   COH             195645140029                Gas           Gov. Aggregation
COH             206117450010                Gas           Gov. Aggregation   COH             207221930017                Gas           Gov. Aggregation
COH             205585900015                Gas           Gov. Aggregation   COH             123682790067                Gas           Gov. Aggregation
COH             162009960328                Gas           Gov. Aggregation   COH             199999440032                Gas           Gov. Aggregation
COH             196712430051                Gas           Gov. Aggregation   COH             207201360019                Gas           Gov. Aggregation
COH             205728250018                Gas           Gov. Aggregation   COH             207242410012                Gas           Gov. Aggregation
COH             199912860036                Gas           Gov. Aggregation   COH             206811310017                Gas           Gov. Aggregation
COH             206497630018                Gas           Gov. Aggregation   COH             205688730013                Gas           Gov. Aggregation
COH             175331420047                Gas           Gov. Aggregation   COH             206449900012                Gas           Gov. Aggregation
COH             206401360016                Gas           Gov. Aggregation   COH             205823840012                Gas           Gov. Aggregation
COH             206041460019                Gas           Gov. Aggregation   COH             198943500037                Gas           Gov. Aggregation
COH             199660100021                Gas           Gov. Aggregation   COH             205216900016                Gas           Gov. Aggregation
COH             147338490570                Gas           Gov. Aggregation   COH             203485310013                Gas           Gov. Aggregation
COH             128799540889                Gas           Gov. Aggregation   COH             123707660015                Gas           Gov. Aggregation
COH             205146860014                Gas           Gov. Aggregation   COH             123707720012                Gas           Gov. Aggregation
COH             172162750068                Gas           Gov. Aggregation   COH             203610170016                Gas           Gov. Aggregation
COH             205749400012                Gas           Gov. Aggregation   COH             206199210018                Gas           Gov. Aggregation
COH             193575140057                Gas           Gov. Aggregation   COH             205582640016                Gas           Gov. Aggregation
COH             205037530014                Gas           Gov. Aggregation   COH             200028850048                Gas           Gov. Aggregation
COH             204695960039                Gas           Gov. Aggregation   COH             199113660032                Gas           Gov. Aggregation
COH             205846380011                Gas           Gov. Aggregation   COH             204522380018                Gas           Gov. Aggregation
COH             203652590029                Gas           Gov. Aggregation   COH             189572830027                Gas           Gov. Aggregation
COH             202788300023                Gas           Gov. Aggregation   COH             167472900066                Gas           Gov. Aggregation
COH             205285400034                Gas           Gov. Aggregation   COH             123712520013                Gas           Gov. Aggregation
COH             205343780013                Gas           Gov. Aggregation   COH             201842560024                Gas           Gov. Aggregation
COH             205212110010                Gas           Gov. Aggregation   COH             206274740017                Gas           Gov. Aggregation
COH             136559750034                Gas           Gov. Aggregation   COH             203466650012                Gas           Gov. Aggregation
COH             136559750043                Gas           Gov. Aggregation   COH             204451280010                Gas           Gov. Aggregation
COH             200551640025                Gas           Gov. Aggregation   COH             206225670015                Gas           Gov. Aggregation
COH             171190970028                Gas           Gov. Aggregation   COH             174982820018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             199122320016                Gas           Gov. Aggregation   COH             205937240026                Gas           Gov. Aggregation
COH             206626330016                Gas           Gov. Aggregation   COH             198729700075                Gas           Gov. Aggregation
COH             205747080014                Gas           Gov. Aggregation   COH             205673980012                Gas           Gov. Aggregation
COH             202826470026                Gas           Gov. Aggregation   COH             203326790028                Gas           Gov. Aggregation
COH             206170620012                Gas           Gov. Aggregation   COH             205867100015                Gas           Gov. Aggregation
COH             205131870013                Gas           Gov. Aggregation   COH             205867040018                Gas           Gov. Aggregation
COH             204836340011                Gas           Gov. Aggregation   COH             157350940077                Gas           Gov. Aggregation
COH             205718950012                Gas           Gov. Aggregation   COH             206584470017                Gas           Gov. Aggregation
COH             190812730025                Gas           Gov. Aggregation   COH             164954690080                Gas           Gov. Aggregation
COH             176910250053                Gas           Gov. Aggregation   COH             194625290110                Gas           Gov. Aggregation
COH             205418410011                Gas           Gov. Aggregation   COH             194625290101                Gas           Gov. Aggregation
COH             137245780032                Gas           Gov. Aggregation   COH             205058630037                Gas           Gov. Aggregation
COH             176007850025                Gas           Gov. Aggregation   COH             201029230036                Gas           Gov. Aggregation
COH             206603880019                Gas           Gov. Aggregation   COH             203510380023                Gas           Gov. Aggregation
COH             205529290012                Gas           Gov. Aggregation   COH             206757400014                Gas           Gov. Aggregation
COH             155835890054                Gas           Gov. Aggregation   COH             173029310034                Gas           Gov. Aggregation
COH             198812860048                Gas           Gov. Aggregation   COH             153880160054                Gas           Gov. Aggregation
COH             205529300019                Gas           Gov. Aggregation   COH             205123780019                Gas           Gov. Aggregation
COH             206073860018                Gas           Gov. Aggregation   COH             194769370066                Gas           Gov. Aggregation
COH             202902230024                Gas           Gov. Aggregation   COH             206493820016                Gas           Gov. Aggregation
COH             200525050015                Gas           Gov. Aggregation   COH             203482750017                Gas           Gov. Aggregation
COH             196895070024                Gas           Gov. Aggregation   COH             185372580037                Gas           Gov. Aggregation
COH             206522140016                Gas           Gov. Aggregation   COH             203550940012                Gas           Gov. Aggregation
COH             206755060010                Gas           Gov. Aggregation   COH             171871450050                Gas           Gov. Aggregation
COH             168988060041                Gas           Gov. Aggregation   COH             204187170014                Gas           Gov. Aggregation
COH             205301790028                Gas           Gov. Aggregation   COH             198871360030                Gas           Gov. Aggregation
COH             205916820019                Gas           Gov. Aggregation   COH             203284460036                Gas           Gov. Aggregation
COH             205849290014                Gas           Gov. Aggregation   COH             204950340019                Gas           Gov. Aggregation
COH             205529330013                Gas           Gov. Aggregation   COH             187900800064                Gas           Gov. Aggregation
COH             205089150024                Gas           Gov. Aggregation   COH             196722400083                Gas           Gov. Aggregation
COH             205192910025                Gas           Gov. Aggregation   COH             207229510019                Gas           Gov. Aggregation
COH             204741240013                Gas           Gov. Aggregation   COH             195686730074                Gas           Gov. Aggregation
COH             203261900022                Gas           Gov. Aggregation   COH             207389780015                Gas           Gov. Aggregation
COH             193743480031                Gas           Gov. Aggregation   COH             204573320013                Gas           Gov. Aggregation
COH             206184030017                Gas           Gov. Aggregation   COH             205639720018                Gas           Gov. Aggregation
COH             190273900041                Gas           Gov. Aggregation   COH             157366360049                Gas           Gov. Aggregation
COH             205192950018                Gas           Gov. Aggregation   COH             206945130012                Gas           Gov. Aggregation
COH             173965130047                Gas           Gov. Aggregation   COH             207383570011                Gas           Gov. Aggregation
COH             205786450014                Gas           Gov. Aggregation   COH             197055760126                Gas           Gov. Aggregation
COH             205391010013                Gas           Gov. Aggregation   COH             204113520033                Gas           Gov. Aggregation
COH             206204800011                Gas           Gov. Aggregation   COH             206466920012                Gas           Gov. Aggregation
COH             192076550023                Gas           Gov. Aggregation   COH             170868450021                Gas           Gov. Aggregation
COH             155083220040                Gas           Gov. Aggregation   COH             130998710234                Gas           Gov. Aggregation
COH             205815810015                Gas           Gov. Aggregation   COH             203776080015                Gas           Gov. Aggregation
COH             204198950026                Gas           Gov. Aggregation   COH             157429120045                Gas           Gov. Aggregation
COH             205785670010                Gas           Gov. Aggregation   COH             164710180074                Gas           Gov. Aggregation
COH             165479680025                Gas           Gov. Aggregation   COH             205550090019                Gas           Gov. Aggregation
COH             174348980028                Gas           Gov. Aggregation   COH             203662000021                Gas           Gov. Aggregation
COH             177817990108                Gas           Gov. Aggregation   COH             205799860011                Gas           Gov. Aggregation
COH             197679910024                Gas           Gov. Aggregation   COH             205787510019                Gas           Gov. Aggregation
COH             206373190013                Gas           Gov. Aggregation   COH             205242590017                Gas           Gov. Aggregation
COH             199450050027                Gas           Gov. Aggregation   COH             200751470063                Gas           Gov. Aggregation
COH             203431440028                Gas           Gov. Aggregation   COH             206005830017                Gas           Gov. Aggregation
COH             206125010015                Gas           Gov. Aggregation   COH             156343520053                Gas           Gov. Aggregation
COH             193905170023                Gas           Gov. Aggregation   COH             205966050016                Gas           Gov. Aggregation
COH             145146282615                Gas           Gov. Aggregation   COH             205742450016                Gas           Gov. Aggregation
COH             145146282624                Gas           Gov. Aggregation   COH             206016740013                Gas           Gov. Aggregation
COH             193151790059                Gas           Gov. Aggregation   COH             205416510014                Gas           Gov. Aggregation
COH             145146282633                Gas           Gov. Aggregation   COH             123694570013                Gas           Gov. Aggregation
COH             187674830078                Gas           Gov. Aggregation   COH             169876840025                Gas           Gov. Aggregation
COH             122487380022                Gas           Gov. Aggregation   COH             157815070047                Gas           Gov. Aggregation
COH             205342850010                Gas           Gov. Aggregation   COH             203699530014                Gas           Gov. Aggregation
COH             205219560012                Gas           Gov. Aggregation   COH             204998080014                Gas           Gov. Aggregation
COH             206032490012                Gas           Gov. Aggregation   COH             204792900017                Gas           Gov. Aggregation
COH             206042840026                Gas           Gov. Aggregation   COH             191888900029                Gas           Gov. Aggregation
COH             206711080018                Gas           Gov. Aggregation   COH             206405540010                Gas           Gov. Aggregation
COH             205953230015                Gas           Gov. Aggregation   COH             205985210012                Gas           Gov. Aggregation
COH             206360130012                Gas           Gov. Aggregation   COH             172499130010                Gas           Gov. Aggregation
COH             206173740011                Gas           Gov. Aggregation   COH             123665880028                Gas           Gov. Aggregation
COH             206141300010                Gas           Gov. Aggregation   COH             189839070058                Gas           Gov. Aggregation
COH             206351160015                Gas           Gov. Aggregation   COH             205148730017                Gas           Gov. Aggregation
COH             185970130042                Gas           Gov. Aggregation   COH             204770410016                Gas           Gov. Aggregation
COH             205982970019                Gas           Gov. Aggregation   COH             205376550012                Gas           Gov. Aggregation
COH             205617010013                Gas           Gov. Aggregation   COH             154700400123                Gas           Gov. Aggregation
COH             205813020015                Gas           Gov. Aggregation   COH             205126320019                Gas           Gov. Aggregation
COH             205634520010                Gas           Gov. Aggregation   COH             193067480053                Gas           Gov. Aggregation
COH             205087800012                Gas           Gov. Aggregation   COH             201922340020                Gas           Gov. Aggregation
COH             161751640038                Gas           Gov. Aggregation   COH             191219550039                Gas           Gov. Aggregation
COH             201559680020                Gas           Gov. Aggregation   COH             207113320014                Gas           Gov. Aggregation
COH             206383470013                Gas           Gov. Aggregation   COH             203474350018                Gas           Gov. Aggregation
COH             192849230021                Gas           Gov. Aggregation   COH             204132810014                Gas           Gov. Aggregation
COH             206173720015                Gas           Gov. Aggregation   COH             206752280010                Gas           Gov. Aggregation
COH             170426690045                Gas           Gov. Aggregation   COH             134664570059                Gas           Gov. Aggregation
COH             194362010036                Gas           Gov. Aggregation   COH             145798640021                Gas           Gov. Aggregation
COH             206392530011                Gas           Gov. Aggregation   COH             206270820018                Gas           Gov. Aggregation
COH             205171710012                Gas           Gov. Aggregation   COH             193600350021                Gas           Gov. Aggregation
COH             206477760013                Gas           Gov. Aggregation   COH             169987510029                Gas           Gov. Aggregation
COH             142923190022                Gas           Gov. Aggregation   COH             197188260022                Gas           Gov. Aggregation
COH             205253960016                Gas           Gov. Aggregation   COH             204559260016                Gas           Gov. Aggregation
COH             200704200031                Gas           Gov. Aggregation   COH             204143250019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             204811770013                Gas           Gov. Aggregation   COH             201466720028                Gas           Gov. Aggregation
COH             205978290011                Gas           Gov. Aggregation   COH             206565500010                Gas           Gov. Aggregation
COH             206673890010                Gas           Gov. Aggregation   COH             142027570031                Gas           Gov. Aggregation
COH             206624440017                Gas           Gov. Aggregation   COH             201716420020                Gas           Gov. Aggregation
COH             205654710018                Gas           Gov. Aggregation   COH             205238590016                Gas           Gov. Aggregation
COH             206633470012                Gas           Gov. Aggregation   COH             203911480013                Gas           Gov. Aggregation
COH             206522060013                Gas           Gov. Aggregation   COH             198057040033                Gas           Gov. Aggregation
COH             170882690030                Gas           Gov. Aggregation   COH             204697610010                Gas           Gov. Aggregation
COH             205108870012                Gas           Gov. Aggregation   COH             123645190025                Gas           Gov. Aggregation
COH             200481600031                Gas           Gov. Aggregation   COH             205692960025                Gas           Gov. Aggregation
COH             122496070037                Gas           Gov. Aggregation   COH             200233630049                Gas           Gov. Aggregation
COH             122485310020                Gas           Gov. Aggregation   COH             205618650017                Gas           Gov. Aggregation
COH             206110160015                Gas           Gov. Aggregation   COH             206165420015                Gas           Gov. Aggregation
COH             127462850020                Gas           Gov. Aggregation   COH             185380850042                Gas           Gov. Aggregation
COH             206506530018                Gas           Gov. Aggregation   COH             201056040020                Gas           Gov. Aggregation
COH             206802830017                Gas           Gov. Aggregation   COH             190504410052                Gas           Gov. Aggregation
COH             206209970016                Gas           Gov. Aggregation   COH             207182130019                Gas           Gov. Aggregation
COH             206783110010                Gas           Gov. Aggregation   COH             205510120016                Gas           Gov. Aggregation
COH             193467670028                Gas           Gov. Aggregation   COH             191110820032                Gas           Gov. Aggregation
COH             142552300025                Gas           Gov. Aggregation   COH             198467450083                Gas           Gov. Aggregation
COH             204800590014                Gas           Gov. Aggregation   COH             204671990015                Gas           Gov. Aggregation
COH             204662110018                Gas           Gov. Aggregation   COH             201078670013                Gas           Gov. Aggregation
COH             206506550014                Gas           Gov. Aggregation   COH             192280340097                Gas           Gov. Aggregation
COH             205709060018                Gas           Gov. Aggregation   COH             206342010015                Gas           Gov. Aggregation
COH             206018870012                Gas           Gov. Aggregation   COH             203347810010                Gas           Gov. Aggregation
COH             205573350016                Gas           Gov. Aggregation   COH             193629000033                Gas           Gov. Aggregation
COH             203047850018                Gas           Gov. Aggregation   COH             195741780021                Gas           Gov. Aggregation
COH             196364950024                Gas           Gov. Aggregation   COH             203970310014                Gas           Gov. Aggregation
COH             204388540010                Gas           Gov. Aggregation   COH             195323330030                Gas           Gov. Aggregation
COH             200276430023                Gas           Gov. Aggregation   COH             173387670068                Gas           Gov. Aggregation
COH             204405010022                Gas           Gov. Aggregation   COH             206071250010                Gas           Gov. Aggregation
COH             142573360029                Gas           Gov. Aggregation   COH             197078780044                Gas           Gov. Aggregation
COH             201450290022                Gas           Gov. Aggregation   COH             204541080011                Gas           Gov. Aggregation
COH             195344260013                Gas           Gov. Aggregation   COH             205949390011                Gas           Gov. Aggregation
COH             201323110019                Gas           Gov. Aggregation   COH             205380770017                Gas           Gov. Aggregation
COH             201532850020                Gas           Gov. Aggregation   COH             198291940047                Gas           Gov. Aggregation
COH             196749100017                Gas           Gov. Aggregation   COH             203336360018                Gas           Gov. Aggregation
COH             198975320010                Gas           Gov. Aggregation   COH             205279200011                Gas           Gov. Aggregation
COH             202348250026                Gas           Gov. Aggregation   COH             194992690020                Gas           Gov. Aggregation
COH             206149300014                Gas           Gov. Aggregation   COH             204009180018                Gas           Gov. Aggregation
COH             122378000022                Gas           Gov. Aggregation   COH             189020410060                Gas           Gov. Aggregation
COH             186077820022                Gas           Gov. Aggregation   COH             206470800018                Gas           Gov. Aggregation
COH             205972580012                Gas           Gov. Aggregation   COH             207270800011                Gas           Gov. Aggregation
COH             203792160014                Gas           Gov. Aggregation   COH             185541320023                Gas           Gov. Aggregation
COH             196496880011                Gas           Gov. Aggregation   COH             207257990010                Gas           Gov. Aggregation
COH             205033450019                Gas           Gov. Aggregation   COH             204620250017                Gas           Gov. Aggregation
COH             202869650019                Gas           Gov. Aggregation   COH             204563080015                Gas           Gov. Aggregation
COH             199393540017                Gas           Gov. Aggregation   COH             205820820012                Gas           Gov. Aggregation
COH             199529550016                Gas           Gov. Aggregation   COH             207319160012                Gas           Gov. Aggregation
COH             174494540049                Gas           Gov. Aggregation   COH             152027800067                Gas           Gov. Aggregation
COH             206698540011                Gas           Gov. Aggregation   COH             202291510031                Gas           Gov. Aggregation
COH             204706520018                Gas           Gov. Aggregation   COH             205090900014                Gas           Gov. Aggregation
COH             205293270017                Gas           Gov. Aggregation   COH             130300800027                Gas           Gov. Aggregation
COH             206445710010                Gas           Gov. Aggregation   COH             141032070081                Gas           Gov. Aggregation
VEDO            4010080002320772            Gas           Gov. Aggregation   COH             206130370019                Gas           Gov. Aggregation
COH             206774800014                Gas           Gov. Aggregation   COH             206645640011                Gas           Gov. Aggregation
DEO             2180008800091               Gas           Gov. Aggregation   COH             152348880016                Gas           Gov. Aggregation
DEO             0180008066868               Gas           Gov. Aggregation   COH             206217740017                Gas           Gov. Aggregation
DEO             6180008001172               Gas           Gov. Aggregation   COH             204589170012                Gas           Gov. Aggregation
DEO             7180008981339               Gas           Gov. Aggregation   COH             143026530021                Gas           Gov. Aggregation
DEO             6180008111982               Gas           Gov. Aggregation   COH             205966040018                Gas           Gov. Aggregation
DEO             0180007624718               Gas           Gov. Aggregation   COH             157384290037                Gas           Gov. Aggregation
DEO             4180007437880               Gas           Gov. Aggregation   COH             206551620014                Gas           Gov. Aggregation
DEO             2180008382498               Gas           Gov. Aggregation   COH             206327170023                Gas           Gov. Aggregation
DEO             5180011120423               Gas           Gov. Aggregation   COH             206554610010                Gas           Gov. Aggregation
DEO             7180011148034               Gas           Gov. Aggregation   COH             206426260015                Gas           Gov. Aggregation
DEO             2180001570450               Gas           Gov. Aggregation   COH             200672260010                Gas           Gov. Aggregation
DEO             1421706206854               Gas           Gov. Aggregation   COH             158674640055                Gas           Gov. Aggregation
DEO             7180010298056               Gas           Gov. Aggregation   COH             155429620060                Gas           Gov. Aggregation
DEO             2180007215713               Gas           Gov. Aggregation   COH             161955980026                Gas           Gov. Aggregation
DEO             8180009957460               Gas           Gov. Aggregation   COH             203647200012                Gas           Gov. Aggregation
DEO             1180008770839               Gas           Gov. Aggregation   COH             206565380016                Gas           Gov. Aggregation
DEO             2180006265905               Gas           Gov. Aggregation   COH             166434440055                Gas           Gov. Aggregation
DEO             3500050743491               Gas           Gov. Aggregation   COH             199122160038                Gas           Gov. Aggregation
DEO             6500063070811               Gas           Gov. Aggregation   COH             199122160047                Gas           Gov. Aggregation
DEO             9180010892316               Gas           Gov. Aggregation   COH             204017220012                Gas           Gov. Aggregation
DEO             5180009855437               Gas           Gov. Aggregation   COH             204546730014                Gas           Gov. Aggregation
DEO             4500065496902               Gas           Gov. Aggregation   COH             206494070012                Gas           Gov. Aggregation
DEO             0180010793536               Gas           Gov. Aggregation   COH             206239620016                Gas           Gov. Aggregation
DEO             8180008371992               Gas           Gov. Aggregation   COH             204338470010                Gas           Gov. Aggregation
DEO             5180011299810               Gas           Gov. Aggregation   COH             205600630018                Gas           Gov. Aggregation
DEO             1180010650030               Gas           Gov. Aggregation   COH             205600640016                Gas           Gov. Aggregation
DEO             9180010608192               Gas           Gov. Aggregation   COH             204619400018                Gas           Gov. Aggregation
DEO             7180009263263               Gas           Gov. Aggregation   COH             167007390078                Gas           Gov. Aggregation
DEO             6180007989617               Gas           Gov. Aggregation   COH             146429030047                Gas           Gov. Aggregation
DEO             3180008070535               Gas           Gov. Aggregation   COH             203317000013                Gas           Gov. Aggregation
DEO             2180010629237               Gas           Gov. Aggregation   COH             202291060036                Gas           Gov. Aggregation
DEO             5180005032362               Gas           Gov. Aggregation   COH             123677690014                Gas           Gov. Aggregation
DEO             8180008171834               Gas           Gov. Aggregation   COH             205725350013                Gas           Gov. Aggregation
DEO             0180007524255               Gas           Gov. Aggregation   COH             187563340030                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             7180010165174               Gas           Gov. Aggregation   COH             206662990012                Gas           Gov. Aggregation
DEO             1180007624507               Gas           Gov. Aggregation   COH             141911320119                Gas           Gov. Aggregation
DEO             0180007501953               Gas           Gov. Aggregation   COH             199089140034                Gas           Gov. Aggregation
DEO             1180011405482               Gas           Gov. Aggregation   COH             203560300015                Gas           Gov. Aggregation
DEO             4180011277407               Gas           Gov. Aggregation   COH             161652770086                Gas           Gov. Aggregation
DEO             6180009885572               Gas           Gov. Aggregation   COH             133093650036                Gas           Gov. Aggregation
DEO             6180009828342               Gas           Gov. Aggregation   COH             204732470014                Gas           Gov. Aggregation
DEO             2180009155394               Gas           Gov. Aggregation   COH             203650260013                Gas           Gov. Aggregation
DEO             4180007851873               Gas           Gov. Aggregation   COH             204670300011                Gas           Gov. Aggregation
DEO             5180004301011               Gas           Gov. Aggregation   COH             206618700015                Gas           Gov. Aggregation
DEO             4180009178847               Gas           Gov. Aggregation   COH             206239640012                Gas           Gov. Aggregation
DEO             2180009363480               Gas           Gov. Aggregation   COH             162215590043                Gas           Gov. Aggregation
DEO             4180011282414               Gas           Gov. Aggregation   COH             123661040022                Gas           Gov. Aggregation
DEO             6180007299393               Gas           Gov. Aggregation   COH             192285510073                Gas           Gov. Aggregation
DEO             4180008150348               Gas           Gov. Aggregation   COH             206595060010                Gas           Gov. Aggregation
DEO             0500048109367               Gas           Gov. Aggregation   COH             201092590029                Gas           Gov. Aggregation
DEO             7180007613926               Gas           Gov. Aggregation   COH             201471210051                Gas           Gov. Aggregation
DEO             9180007609491               Gas           Gov. Aggregation   COH             205597230011                Gas           Gov. Aggregation
DEO             4180004036814               Gas           Gov. Aggregation   COH             194075400015                Gas           Gov. Aggregation
DEO             6500053910777               Gas           Gov. Aggregation   COH             204408900010                Gas           Gov. Aggregation
DEO             7180008864723               Gas           Gov. Aggregation   COH             198437890039                Gas           Gov. Aggregation
DEO             5500054918820               Gas           Gov. Aggregation   COH             133719910104                Gas           Gov. Aggregation
DEO             2180006868125               Gas           Gov. Aggregation   COH             172113630048                Gas           Gov. Aggregation
DEO             4180000861832               Gas           Gov. Aggregation   COH             204701310012                Gas           Gov. Aggregation
DEO             7180004533924               Gas           Gov. Aggregation   COH             166206960013                Gas           Gov. Aggregation
DEO             0500055066723               Gas           Gov. Aggregation   COH             197277130057                Gas           Gov. Aggregation
DEO             6180008714291               Gas           Gov. Aggregation   COH             204645810017                Gas           Gov. Aggregation
DEO             8500035797457               Gas           Gov. Aggregation   COH             203807500019                Gas           Gov. Aggregation
DEO             3180009979087               Gas           Gov. Aggregation   COH             173598610027                Gas           Gov. Aggregation
DEO             9180011047678               Gas           Gov. Aggregation   COH             173598610036                Gas           Gov. Aggregation
DEO             6180010343514               Gas           Gov. Aggregation   COH             196654030013                Gas           Gov. Aggregation
DEO             9180008956113               Gas           Gov. Aggregation   COH             177293330117                Gas           Gov. Aggregation
DEO             6180011116143               Gas           Gov. Aggregation   VEDO            4001336792131638            Gas           Gov. Aggregation
DEO             0180006539564               Gas           Gov. Aggregation   COH             176632100045                Gas           Gov. Aggregation
DEO             1500067320751               Gas           Gov. Aggregation   DEO             9120000003243               Gas           Gov. Aggregation
DEO             8180007647193               Gas           Gov. Aggregation   VEDO            4016123812228189            Gas           Gov. Aggregation
DEO             1500047212243               Gas           Gov. Aggregation   VEDO            4021205422125210            Gas           Gov. Aggregation
DEO             2180010679474               Gas           Gov. Aggregation   VEDO            4020842602618583            Gas           Gov. Aggregation
DEO             2500064396234               Gas           Gov. Aggregation   VEDO            4002764702603675            Gas           Gov. Aggregation
DEO             9180010367233               Gas           Gov. Aggregation   DEO             8180012875198               Gas           Gov. Aggregation
DEO             2180009057714               Gas           Gov. Aggregation   VEDO            4001439552141099            Gas           Gov. Aggregation
DEO             8180007985017               Gas           Gov. Aggregation   COH             138569810029                Gas           Gov. Aggregation
DEO             2180011320880               Gas           Gov. Aggregation   COH             118824440010                Gas           Gov. Aggregation
DEO             5180008792004               Gas           Gov. Aggregation   VEDO            4002512642246192            Gas           Gov. Aggregation
DEO             5180009886875               Gas           Gov. Aggregation   DEO             8180011769661               Gas           Gov. Aggregation
DEO             5180010811827               Gas           Gov. Aggregation   VEDO            4001821642177769            Gas           Gov. Aggregation
DEO             6180008233002               Gas           Gov. Aggregation   COH             199159040018                Gas           Gov. Aggregation
DEO             7180007888030               Gas           Gov. Aggregation   COH             203667650016                Gas           Gov. Aggregation
DEO             7180008960835               Gas           Gov. Aggregation   COH             196019220037                Gas           Gov. Aggregation
DEO             8180010770661               Gas           Gov. Aggregation   COH             206143990012                Gas           Gov. Aggregation
DEO             9180007779021               Gas           Gov. Aggregation   COH             197373710024                Gas           Gov. Aggregation
DEO             9180010551033               Gas           Gov. Aggregation   COH             197751190022                Gas           Gov. Aggregation
COH             204837260016                Gas           Gov. Aggregation   COH             200308630013                Gas           Gov. Aggregation
COH             204034730019                Gas           Gov. Aggregation   COH             110743500151                Gas           Gov. Aggregation
COH             205812910010                Gas           Gov. Aggregation   COH             205380670036                Gas           Gov. Aggregation
COH             202342850013                Gas           Gov. Aggregation   COH             207169590011                Gas           Gov. Aggregation
COH             130640950026                Gas           Gov. Aggregation   COH             206742160016                Gas           Gov. Aggregation
COH             160155970016                Gas           Gov. Aggregation   COH             207568530017                Gas           Gov. Aggregation
COH             197794010029                Gas           Gov. Aggregation   COH             174871370036                Gas           Gov. Aggregation
COH             206473780017                Gas           Gov. Aggregation   COH             204200610011                Gas           Gov. Aggregation
COH             187443870033                Gas           Gov. Aggregation   COH             206537990017                Gas           Gov. Aggregation
COH             198513630040                Gas           Gov. Aggregation   COH             174610780041                Gas           Gov. Aggregation
COH             204462200022                Gas           Gov. Aggregation   COH             199563260042                Gas           Gov. Aggregation
COH             199655180044                Gas           Gov. Aggregation   COH             206326980016                Gas           Gov. Aggregation
COH             204850030025                Gas           Gov. Aggregation   COH             175971560042                Gas           Gov. Aggregation
COH             205397510016                Gas           Gov. Aggregation   COH             205270190012                Gas           Gov. Aggregation
COH             169581860044                Gas           Gov. Aggregation   COH             185257540066                Gas           Gov. Aggregation
COH             206443930018                Gas           Gov. Aggregation   COH             110555410015                Gas           Gov. Aggregation
COH             204845030017                Gas           Gov. Aggregation   COH             205876930012                Gas           Gov. Aggregation
COH             206446310012                Gas           Gov. Aggregation   COH             110573320098                Gas           Gov. Aggregation
COH             204608260011                Gas           Gov. Aggregation   COH             169706020142                Gas           Gov. Aggregation
COH             205803050010                Gas           Gov. Aggregation   COH             205886780013                Gas           Gov. Aggregation
COH             205011440017                Gas           Gov. Aggregation   COH             137493320104                Gas           Gov. Aggregation
COH             201049710015                Gas           Gov. Aggregation   COH             205751660013                Gas           Gov. Aggregation
COH             204282140018                Gas           Gov. Aggregation   COH             206363290013                Gas           Gov. Aggregation
COH             150156780034                Gas           Gov. Aggregation   COH             191136540055                Gas           Gov. Aggregation
COH             206125920014                Gas           Gov. Aggregation   COH             205670740018                Gas           Gov. Aggregation
COH             134470480022                Gas           Gov. Aggregation   COH             205758950027                Gas           Gov. Aggregation
COH             204389070026                Gas           Gov. Aggregation   COH             207422940019                Gas           Gov. Aggregation
COH             160243080052                Gas           Gov. Aggregation   COH             203753850011                Gas           Gov. Aggregation
COH             142636130096                Gas           Gov. Aggregation   COH             207112980018                Gas           Gov. Aggregation
COH             190747860027                Gas           Gov. Aggregation   COH             141998260021                Gas           Gov. Aggregation
COH             192689590035                Gas           Gov. Aggregation   VEDO            4004107382412385            Gas           Gov. Aggregation
COH             205865790015                Gas           Gov. Aggregation   COH             188760980028                Gas           Gov. Aggregation
COH             206149890011                Gas           Gov. Aggregation   COH             120206910026                Gas           Gov. Aggregation
COH             206674960013                Gas           Gov. Aggregation   COH             200174540017                Gas           Gov. Aggregation
COH             159957250029                Gas           Gov. Aggregation   COH             120207050025                Gas           Gov. Aggregation
COH             174163100051                Gas           Gov. Aggregation   COH             203412150010                Gas           Gov. Aggregation
COH             177763180023                Gas           Gov. Aggregation   COH             201632310012                Gas           Gov. Aggregation
COH             189052200030                Gas           Gov. Aggregation   COH             165897140022                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             162594090055                Gas           Gov. Aggregation   COH             207478200017                Gas           Gov. Aggregation
COH             185138500057                Gas           Gov. Aggregation   COH             171544700014                Gas           Gov. Aggregation
COH             192701990024                Gas           Gov. Aggregation   COH             202045070017                Gas           Gov. Aggregation
COH             195635760057                Gas           Gov. Aggregation   COH             160635730036                Gas           Gov. Aggregation
COH             206620200015                Gas           Gov. Aggregation   COH             185201990041                Gas           Gov. Aggregation
COH             206634620018                Gas           Gov. Aggregation   COH             198085740019                Gas           Gov. Aggregation
COH             204448100014                Gas           Gov. Aggregation   COH             117020160069                Gas           Gov. Aggregation
COH             204476720024                Gas           Gov. Aggregation   COH             134692460071                Gas           Gov. Aggregation
COH             205710040019                Gas           Gov. Aggregation   COH             196894870028                Gas           Gov. Aggregation
COH             206518790019                Gas           Gov. Aggregation   COH             199789000011                Gas           Gov. Aggregation
COH             150183150066                Gas           Gov. Aggregation   COH             207255840015                Gas           Gov. Aggregation
COH             197233590026                Gas           Gov. Aggregation   COH             163023900016                Gas           Gov. Aggregation
COH             206620020013                Gas           Gov. Aggregation   COH             191729530032                Gas           Gov. Aggregation
COH             129704530012                Gas           Gov. Aggregation   COH             192899740029                Gas           Gov. Aggregation
COH             193835390026                Gas           Gov. Aggregation   COH             147980910043                Gas           Gov. Aggregation
COH             192962100037                Gas           Gov. Aggregation   COH             197149760010                Gas           Gov. Aggregation
COH             165712950022                Gas           Gov. Aggregation   COH             170926720011                Gas           Gov. Aggregation
COH             206644700010                Gas           Gov. Aggregation   COH             200795880010                Gas           Gov. Aggregation
COH             154831810102                Gas           Gov. Aggregation   COH             195864130018                Gas           Gov. Aggregation
COH             200775140026                Gas           Gov. Aggregation   COH             130459290057                Gas           Gov. Aggregation
COH             201608040029                Gas           Gov. Aggregation   COH             206117270018                Gas           Gov. Aggregation
COH             206687250015                Gas           Gov. Aggregation   COH             206245980018                Gas           Gov. Aggregation
COH             200057320020                Gas           Gov. Aggregation   COH             162288730031                Gas           Gov. Aggregation
COH             206294130013                Gas           Gov. Aggregation   COH             143366480040                Gas           Gov. Aggregation
COH             204066500010                Gas           Gov. Aggregation   COH             191730730028                Gas           Gov. Aggregation
COH             206553670010                Gas           Gov. Aggregation   COH             199305190016                Gas           Gov. Aggregation
COH             163821770049                Gas           Gov. Aggregation   COH             201800810010                Gas           Gov. Aggregation
COH             124403820023                Gas           Gov. Aggregation   COH             173193390013                Gas           Gov. Aggregation
COH             197498170024                Gas           Gov. Aggregation   COH             198039030015                Gas           Gov. Aggregation
COH             204731610016                Gas           Gov. Aggregation   COH             201781190013                Gas           Gov. Aggregation
COH             206149860017                Gas           Gov. Aggregation   COH             170041990020                Gas           Gov. Aggregation
COH             191608680046                Gas           Gov. Aggregation   COH             204215450032                Gas           Gov. Aggregation
COH             205125560011                Gas           Gov. Aggregation   COH             117640750025                Gas           Gov. Aggregation
COH             205157080015                Gas           Gov. Aggregation   COH             149662550041                Gas           Gov. Aggregation
COH             206471150013                Gas           Gov. Aggregation   COH             142567780042                Gas           Gov. Aggregation
COH             205655710016                Gas           Gov. Aggregation   COH             148773120047                Gas           Gov. Aggregation
COH             204450550015                Gas           Gov. Aggregation   COH             197997000012                Gas           Gov. Aggregation
COH             170273140045                Gas           Gov. Aggregation   COH             141570070081                Gas           Gov. Aggregation
COH             206110920015                Gas           Gov. Aggregation   COH             151707470020                Gas           Gov. Aggregation
COH             205992850013                Gas           Gov. Aggregation   COH             202199110013                Gas           Gov. Aggregation
COH             206093200014                Gas           Gov. Aggregation   COH             204361560012                Gas           Gov. Aggregation
COH             204435430012                Gas           Gov. Aggregation   COH             195347190012                Gas           Gov. Aggregation
COH             162647150040                Gas           Gov. Aggregation   COH             142009620029                Gas           Gov. Aggregation
COH             206110910017                Gas           Gov. Aggregation   COH             200680980030                Gas           Gov. Aggregation
COH             192482890021                Gas           Gov. Aggregation   COH             206184890017                Gas           Gov. Aggregation
COH             187404040048                Gas           Gov. Aggregation   COH             198695940014                Gas           Gov. Aggregation
COH             130349650027                Gas           Gov. Aggregation   COH             144204720040                Gas           Gov. Aggregation
COH             204647070019                Gas           Gov. Aggregation   COH             144141720026                Gas           Gov. Aggregation
COH             203780510015                Gas           Gov. Aggregation   COH             205080770013                Gas           Gov. Aggregation
COH             205080550028                Gas           Gov. Aggregation   COH             198224760019                Gas           Gov. Aggregation
COH             204141580014                Gas           Gov. Aggregation   COH             118517310063                Gas           Gov. Aggregation
COH             204016140011                Gas           Gov. Aggregation   COH             120201540015                Gas           Gov. Aggregation
COH             205631580014                Gas           Gov. Aggregation   COH             175000110052                Gas           Gov. Aggregation
COH             206545520018                Gas           Gov. Aggregation   COH             157093190053                Gas           Gov. Aggregation
COH             204782350014                Gas           Gov. Aggregation   COH             204302540010                Gas           Gov. Aggregation
COH             205758370010                Gas           Gov. Aggregation   COH             118152210040                Gas           Gov. Aggregation
COH             204475730015                Gas           Gov. Aggregation   COH             120203420016                Gas           Gov. Aggregation
COH             193989340021                Gas           Gov. Aggregation   COH             191258140024                Gas           Gov. Aggregation
COH             204577270016                Gas           Gov. Aggregation   COH             154169360031                Gas           Gov. Aggregation
COH             204182610011                Gas           Gov. Aggregation   COH             122268700028                Gas           Gov. Aggregation
COH             203009850027                Gas           Gov. Aggregation   COH             119762840026                Gas           Gov. Aggregation
COH             151783230020                Gas           Gov. Aggregation   COH             176021800016                Gas           Gov. Aggregation
COH             195152920039                Gas           Gov. Aggregation   COH             201218680013                Gas           Gov. Aggregation
COH             204208570014                Gas           Gov. Aggregation   COH             199241240011                Gas           Gov. Aggregation
COH             203944410018                Gas           Gov. Aggregation   COH             132949570011                Gas           Gov. Aggregation
COH             175645230024                Gas           Gov. Aggregation   COH             201682880018                Gas           Gov. Aggregation
COH             205017560010                Gas           Gov. Aggregation   COH             205810440013                Gas           Gov. Aggregation
COH             174667670081                Gas           Gov. Aggregation   COH             120204190013                Gas           Gov. Aggregation
COH             155171870010                Gas           Gov. Aggregation   COH             119066870026                Gas           Gov. Aggregation
COH             190675010028                Gas           Gov. Aggregation   COH             200927440011                Gas           Gov. Aggregation
COH             196630450024                Gas           Gov. Aggregation   COH             197707590021                Gas           Gov. Aggregation
COH             167799400023                Gas           Gov. Aggregation   COH             155725810017                Gas           Gov. Aggregation
COH             206247230011                Gas           Gov. Aggregation   COH             191720180061                Gas           Gov. Aggregation
COH             191100310021                Gas           Gov. Aggregation   COH             197680790018                Gas           Gov. Aggregation
COH             186139440020                Gas           Gov. Aggregation   COH             198613520014                Gas           Gov. Aggregation
COH             196472320027                Gas           Gov. Aggregation   COH             191488190036                Gas           Gov. Aggregation
COH             205692530016                Gas           Gov. Aggregation   COH             176986810010                Gas           Gov. Aggregation
COH             204302450019                Gas           Gov. Aggregation   COH             155829200051                Gas           Gov. Aggregation
COH             193445100023                Gas           Gov. Aggregation   COH             205939910012                Gas           Gov. Aggregation
COH             206019550017                Gas           Gov. Aggregation   COH             206388460015                Gas           Gov. Aggregation
COH             125593130044                Gas           Gov. Aggregation   COH             203491160012                Gas           Gov. Aggregation
COH             169190030047                Gas           Gov. Aggregation   COH             199181750012                Gas           Gov. Aggregation
COH             138788290025                Gas           Gov. Aggregation   COH             196300960026                Gas           Gov. Aggregation
COH             205964880016                Gas           Gov. Aggregation   COH             129642240024                Gas           Gov. Aggregation
COH             157640950016                Gas           Gov. Aggregation   COH             118280750037                Gas           Gov. Aggregation
COH             205918970014                Gas           Gov. Aggregation   COH             187646880031                Gas           Gov. Aggregation
COH             203545400025                Gas           Gov. Aggregation   COH             201212380027                Gas           Gov. Aggregation
COH             205606040010                Gas           Gov. Aggregation   COH             206634770017                Gas           Gov. Aggregation
COH             124434080024                Gas           Gov. Aggregation   COH             203951730034                Gas           Gov. Aggregation
COH             204228180078                Gas           Gov. Aggregation   COH             157740980027                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             205875860019                Gas           Gov. Aggregation   COH             203528870014                Gas           Gov. Aggregation
COH             203365270025                Gas           Gov. Aggregation   COH             162575810017                Gas           Gov. Aggregation
COH             205244390015                Gas           Gov. Aggregation   COH             195097320024                Gas           Gov. Aggregation
COH             205939740018                Gas           Gov. Aggregation   COH             206040780014                Gas           Gov. Aggregation
COH             204066300012                Gas           Gov. Aggregation   COH             138000610025                Gas           Gov. Aggregation
COH             205109440010                Gas           Gov. Aggregation   COH             150502070047                Gas           Gov. Aggregation
COH             205729320011                Gas           Gov. Aggregation   COH             120203360019                Gas           Gov. Aggregation
COH             205375820017                Gas           Gov. Aggregation   COH             118073340023                Gas           Gov. Aggregation
COH             162086710042                Gas           Gov. Aggregation   COH             202921310018                Gas           Gov. Aggregation
COH             204154440016                Gas           Gov. Aggregation   COH             201289500011                Gas           Gov. Aggregation
COH             202409590025                Gas           Gov. Aggregation   COH             172349000014                Gas           Gov. Aggregation
COH             195789670024                Gas           Gov. Aggregation   COH             129621130012                Gas           Gov. Aggregation
COH             206312030014                Gas           Gov. Aggregation   COH             202306630015                Gas           Gov. Aggregation
COH             206247280011                Gas           Gov. Aggregation   COH             135908990016                Gas           Gov. Aggregation
COH             205116420019                Gas           Gov. Aggregation   COH             196548370026                Gas           Gov. Aggregation
COH             204587180014                Gas           Gov. Aggregation   COH             200359770017                Gas           Gov. Aggregation
COH             124345620029                Gas           Gov. Aggregation   COH             159590560022                Gas           Gov. Aggregation
COH             203679720025                Gas           Gov. Aggregation   COH             164144870025                Gas           Gov. Aggregation
COH             206368800015                Gas           Gov. Aggregation   COH             170086130035                Gas           Gov. Aggregation
COH             189575330035                Gas           Gov. Aggregation   COH             196338030022                Gas           Gov. Aggregation
COH             204837320013                Gas           Gov. Aggregation   COH             162480810054                Gas           Gov. Aggregation
COH             190407950028                Gas           Gov. Aggregation   COH             201149020027                Gas           Gov. Aggregation
COH             204012800010                Gas           Gov. Aggregation   COH             205469980015                Gas           Gov. Aggregation
COH             203896210013                Gas           Gov. Aggregation   COH             204186340029                Gas           Gov. Aggregation
COH             157033950022                Gas           Gov. Aggregation   COH             147694640029                Gas           Gov. Aggregation
COH             189161500018                Gas           Gov. Aggregation   COH             201789230018                Gas           Gov. Aggregation
COH             204769500010                Gas           Gov. Aggregation   COH             135372020025                Gas           Gov. Aggregation
COH             206746090013                Gas           Gov. Aggregation   COH             200229720012                Gas           Gov. Aggregation
COH             206294060018                Gas           Gov. Aggregation   COH             204067070019                Gas           Gov. Aggregation
COH             206311990015                Gas           Gov. Aggregation   COH             194710770038                Gas           Gov. Aggregation
COH             205865710011                Gas           Gov. Aggregation   COH             203163020016                Gas           Gov. Aggregation
COH             203968610016                Gas           Gov. Aggregation   COH             200090620018                Gas           Gov. Aggregation
COH             200044970021                Gas           Gov. Aggregation   COH             171818030014                Gas           Gov. Aggregation
COH             205116400013                Gas           Gov. Aggregation   COH             156561400056                Gas           Gov. Aggregation
COH             205497150010                Gas           Gov. Aggregation   COH             118025620052                Gas           Gov. Aggregation
COH             204154350015                Gas           Gov. Aggregation   COH             201884760015                Gas           Gov. Aggregation
COH             205884520011                Gas           Gov. Aggregation   COH             162826330015                Gas           Gov. Aggregation
COH             197391530015                Gas           Gov. Aggregation   COH             161467880022                Gas           Gov. Aggregation
COH             205606000018                Gas           Gov. Aggregation   COH             185378030012                Gas           Gov. Aggregation
COH             204858150015                Gas           Gov. Aggregation   COH             197551560019                Gas           Gov. Aggregation
COH             193247580023                Gas           Gov. Aggregation   COH             197281150018                Gas           Gov. Aggregation
COH             206614020016                Gas           Gov. Aggregation   COH             118849960046                Gas           Gov. Aggregation
COH             205800420018                Gas           Gov. Aggregation   COH             119212090029                Gas           Gov. Aggregation
COH             200125080026                Gas           Gov. Aggregation   COH             131705140036                Gas           Gov. Aggregation
COH             204499890012                Gas           Gov. Aggregation   COH             190841980013                Gas           Gov. Aggregation
COH             203201170022                Gas           Gov. Aggregation   COH             120453050033                Gas           Gov. Aggregation
COH             191287690019                Gas           Gov. Aggregation   COH             202544330014                Gas           Gov. Aggregation
COH             205703120017                Gas           Gov. Aggregation   COH             168327790011                Gas           Gov. Aggregation
COH             201437660022                Gas           Gov. Aggregation   COH             205080830029                Gas           Gov. Aggregation
COH             205984590015                Gas           Gov. Aggregation   COH             205574680015                Gas           Gov. Aggregation
COH             204600730018                Gas           Gov. Aggregation   COH             196535840015                Gas           Gov. Aggregation
COH             206175060010                Gas           Gov. Aggregation   COH             204014130017                Gas           Gov. Aggregation
COH             155495940028                Gas           Gov. Aggregation   COH             202252300019                Gas           Gov. Aggregation
COH             206461640011                Gas           Gov. Aggregation   COH             204382490013                Gas           Gov. Aggregation
COH             153104410028                Gas           Gov. Aggregation   COH             151672740028                Gas           Gov. Aggregation
COH             157126660035                Gas           Gov. Aggregation   COH             203607100026                Gas           Gov. Aggregation
COH             124430210015                Gas           Gov. Aggregation   COH             136928750013                Gas           Gov. Aggregation
COH             206075700017                Gas           Gov. Aggregation   COH             137296500015                Gas           Gov. Aggregation
COH             146049760040                Gas           Gov. Aggregation   COH             133361820013                Gas           Gov. Aggregation
COH             205697420019                Gas           Gov. Aggregation   COH             194261360019                Gas           Gov. Aggregation
COH             204978390011                Gas           Gov. Aggregation   COH             204465960018                Gas           Gov. Aggregation
COH             138600220025                Gas           Gov. Aggregation   COH             197539770011                Gas           Gov. Aggregation
COH             197998340028                Gas           Gov. Aggregation   COH             203132800017                Gas           Gov. Aggregation
COH             124397450035                Gas           Gov. Aggregation   COH             194268900011                Gas           Gov. Aggregation
COH             204206210013                Gas           Gov. Aggregation   COH             202406430015                Gas           Gov. Aggregation
COH             156008390088                Gas           Gov. Aggregation   COH             207525190019                Gas           Gov. Aggregation
COH             206784040013                Gas           Gov. Aggregation   COH             204035160026                Gas           Gov. Aggregation
COH             205673480017                Gas           Gov. Aggregation   COH             154199490040                Gas           Gov. Aggregation
COH             164919690048                Gas           Gov. Aggregation   COH             146338730043                Gas           Gov. Aggregation
COH             205172410013                Gas           Gov. Aggregation   COH             191386930018                Gas           Gov. Aggregation
COH             204996770013                Gas           Gov. Aggregation   COH             133433800041                Gas           Gov. Aggregation
COH             177744130032                Gas           Gov. Aggregation   COH             187796140011                Gas           Gov. Aggregation
COH             124431440033                Gas           Gov. Aggregation   COH             119675160060                Gas           Gov. Aggregation
COH             206639820016                Gas           Gov. Aggregation   COH             186497480015                Gas           Gov. Aggregation
COH             206700240017                Gas           Gov. Aggregation   COH             118659360036                Gas           Gov. Aggregation
COH             192539610046                Gas           Gov. Aggregation   COH             127628290026                Gas           Gov. Aggregation
COH             204002840013                Gas           Gov. Aggregation   COH             192366710015                Gas           Gov. Aggregation
COH             203482850034                Gas           Gov. Aggregation   COH             205215480017                Gas           Gov. Aggregation
COH             187045610031                Gas           Gov. Aggregation   COH             156672670028                Gas           Gov. Aggregation
COH             206429120018                Gas           Gov. Aggregation   COH             200452720019                Gas           Gov. Aggregation
COH             203813020017                Gas           Gov. Aggregation   COH             188982420025                Gas           Gov. Aggregation
COH             206564320010                Gas           Gov. Aggregation   COH             199771280010                Gas           Gov. Aggregation
COH             206192290016                Gas           Gov. Aggregation   COH             200984890017                Gas           Gov. Aggregation
COH             206374380011                Gas           Gov. Aggregation   COH             207508190015                Gas           Gov. Aggregation
COH             195272030023                Gas           Gov. Aggregation   COH             201808100013                Gas           Gov. Aggregation
COH             204750040016                Gas           Gov. Aggregation   COH             207120170011                Gas           Gov. Aggregation
COH             203904160015                Gas           Gov. Aggregation   COH             196550030013                Gas           Gov. Aggregation
COH             162281830061                Gas           Gov. Aggregation   COH             192713810188                Gas           Gov. Aggregation
COH             198264720022                Gas           Gov. Aggregation   COH             157475400058                Gas           Gov. Aggregation
COH             204932410012                Gas           Gov. Aggregation   COH             170617270020                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             205425890016                Gas           Gov. Aggregation   COH             153488840035                Gas           Gov. Aggregation
COH             124487550024                Gas           Gov. Aggregation   COH             199788960012                Gas           Gov. Aggregation
COH             205449820010                Gas           Gov. Aggregation   COH             194064250038                Gas           Gov. Aggregation
COH             204881100016                Gas           Gov. Aggregation   COH             194064250047                Gas           Gov. Aggregation
COH             205488830016                Gas           Gov. Aggregation   COH             171001590278                Gas           Gov. Aggregation
COH             205673420019                Gas           Gov. Aggregation   COH             135320230093                Gas           Gov. Aggregation
COH             206564180010                Gas           Gov. Aggregation   COH             202863020031                Gas           Gov. Aggregation
COH             206755470014                Gas           Gov. Aggregation   COH             207475370018                Gas           Gov. Aggregation
COH             204373290014                Gas           Gov. Aggregation   COH             204658350035                Gas           Gov. Aggregation
COH             206451900017                Gas           Gov. Aggregation   COH             205943090016                Gas           Gov. Aggregation
COH             204254320019                Gas           Gov. Aggregation   COH             205888480012                Gas           Gov. Aggregation
COH             205816590010                Gas           Gov. Aggregation   COH             203267890014                Gas           Gov. Aggregation
COH             204920800015                Gas           Gov. Aggregation   COH             175901540016                Gas           Gov. Aggregation
COH             205337110016                Gas           Gov. Aggregation   COH             163873600045                Gas           Gov. Aggregation
COH             202328760021                Gas           Gov. Aggregation   COH             205125830014                Gas           Gov. Aggregation
COH             206763330016                Gas           Gov. Aggregation   COH             161079960037                Gas           Gov. Aggregation
COH             197091300028                Gas           Gov. Aggregation   COH             193525920030                Gas           Gov. Aggregation
COH             204313120015                Gas           Gov. Aggregation   COH             193525920049                Gas           Gov. Aggregation
COH             204731580013                Gas           Gov. Aggregation   COH             199737790015                Gas           Gov. Aggregation
COH             203813060019                Gas           Gov. Aggregation   COH             193525920058                Gas           Gov. Aggregation
COH             197351400025                Gas           Gov. Aggregation   COH             202407730010                Gas           Gov. Aggregation
COH             204532700019                Gas           Gov. Aggregation   COH             206663820015                Gas           Gov. Aggregation
COH             204141380016                Gas           Gov. Aggregation   COH             206663910016                Gas           Gov. Aggregation
COH             174524310042                Gas           Gov. Aggregation   COH             206663990010                Gas           Gov. Aggregation
COH             198712060048                Gas           Gov. Aggregation   COH             206664010013                Gas           Gov. Aggregation
COH             198712060066                Gas           Gov. Aggregation   COH             206664050015                Gas           Gov. Aggregation
COH             206247150018                Gas           Gov. Aggregation   COH             185503210026                Gas           Gov. Aggregation
COH             204555180011                Gas           Gov. Aggregation   COH             115151220052                Gas           Gov. Aggregation
COH             199007150025                Gas           Gov. Aggregation   COH             133195590033                Gas           Gov. Aggregation
COH             201299180036                Gas           Gov. Aggregation   COH             165210340015                Gas           Gov. Aggregation
COH             203873330016                Gas           Gov. Aggregation   COH             132079630059                Gas           Gov. Aggregation
COH             203057230026                Gas           Gov. Aggregation   COH             164751640017                Gas           Gov. Aggregation
COH             204932560011                Gas           Gov. Aggregation   COH             206614180013                Gas           Gov. Aggregation
COH             204499860018                Gas           Gov. Aggregation   COH             199945590016                Gas           Gov. Aggregation
COH             205215440033                Gas           Gov. Aggregation   COH             201277110018                Gas           Gov. Aggregation
COH             205163490016                Gas           Gov. Aggregation   COH             200561990012                Gas           Gov. Aggregation
COH             206043710012                Gas           Gov. Aggregation   COH             200701720010                Gas           Gov. Aggregation
COH             167267670042                Gas           Gov. Aggregation   COH             206755610014                Gas           Gov. Aggregation
COH             176900000038                Gas           Gov. Aggregation   COH             202506460026                Gas           Gov. Aggregation
COH             170032430026                Gas           Gov. Aggregation   COH             118133950027                Gas           Gov. Aggregation
COH             151403170036                Gas           Gov. Aggregation   COH             206727350018                Gas           Gov. Aggregation
COH             190733850037                Gas           Gov. Aggregation   COH             170984200018                Gas           Gov. Aggregation
COH             206711580013                Gas           Gov. Aggregation   COH             207072910018                Gas           Gov. Aggregation
COH             205984550013                Gas           Gov. Aggregation   COH             174294080031                Gas           Gov. Aggregation
COH             170403160026                Gas           Gov. Aggregation   COH             148868160039                Gas           Gov. Aggregation
COH             204676390011                Gas           Gov. Aggregation   COH             157485790029                Gas           Gov. Aggregation
COH             170102120022                Gas           Gov. Aggregation   COH             195237880029                Gas           Gov. Aggregation
COH             203780260018                Gas           Gov. Aggregation   COH             203418750012                Gas           Gov. Aggregation
COH             205220010014                Gas           Gov. Aggregation   COH             200470050012                Gas           Gov. Aggregation
COH             168171730050                Gas           Gov. Aggregation   COH             206605500014                Gas           Gov. Aggregation
COH             190585130033                Gas           Gov. Aggregation   COH             206485560018                Gas           Gov. Aggregation
COH             202870370024                Gas           Gov. Aggregation   COH             199908670017                Gas           Gov. Aggregation
COH             152783520037                Gas           Gov. Aggregation   COH             160625080016                Gas           Gov. Aggregation
COH             167549010024                Gas           Gov. Aggregation   COH             168662000025                Gas           Gov. Aggregation
COH             205073070015                Gas           Gov. Aggregation   COH             176213230028                Gas           Gov. Aggregation
COH             176320240047                Gas           Gov. Aggregation   COH             195803710023                Gas           Gov. Aggregation
COH             203875440019                Gas           Gov. Aggregation   COH             163480170030                Gas           Gov. Aggregation
COH             203875450017                Gas           Gov. Aggregation   COH             189505060020                Gas           Gov. Aggregation
COH             190943520022                Gas           Gov. Aggregation   COH             201021000012                Gas           Gov. Aggregation
COH             196961470038                Gas           Gov. Aggregation   COH             185462450024                Gas           Gov. Aggregation
COH             204154130011                Gas           Gov. Aggregation   COH             206122160010                Gas           Gov. Aggregation
COH             134159000040                Gas           Gov. Aggregation   COH             152151440060                Gas           Gov. Aggregation
COH             203787570019                Gas           Gov. Aggregation   COH             206132370015                Gas           Gov. Aggregation
COH             206360990012                Gas           Gov. Aggregation   COH             202722840019                Gas           Gov. Aggregation
COH             205522530033                Gas           Gov. Aggregation   COH             201270170010                Gas           Gov. Aggregation
COH             205561360019                Gas           Gov. Aggregation   COH             200807110014                Gas           Gov. Aggregation
COH             205574450013                Gas           Gov. Aggregation   COH             200004430019                Gas           Gov. Aggregation
COH             205703180015                Gas           Gov. Aggregation   COH             205456100025                Gas           Gov. Aggregation
COH             205830330014                Gas           Gov. Aggregation   COH             177421620015                Gas           Gov. Aggregation
COH             206013630012                Gas           Gov. Aggregation   COH             203129240012                Gas           Gov. Aggregation
COH             206490470016                Gas           Gov. Aggregation   COH             205852220011                Gas           Gov. Aggregation
COH             205413070013                Gas           Gov. Aggregation   COH             187144800068                Gas           Gov. Aggregation
COH             205157070017                Gas           Gov. Aggregation   COH             200308390014                Gas           Gov. Aggregation
COH             205212900014                Gas           Gov. Aggregation   COH             202386170032                Gas           Gov. Aggregation
COH             196830020039                Gas           Gov. Aggregation   COH             205884730017                Gas           Gov. Aggregation
COH             193283230020                Gas           Gov. Aggregation   COH             196423150017                Gas           Gov. Aggregation
COH             205816490011                Gas           Gov. Aggregation   COH             194314250028                Gas           Gov. Aggregation
COH             145818160046                Gas           Gov. Aggregation   COH             205531880013                Gas           Gov. Aggregation
COH             204554130013                Gas           Gov. Aggregation   COH             201152710016                Gas           Gov. Aggregation
COH             205109450018                Gas           Gov. Aggregation   COH             162910230071                Gas           Gov. Aggregation
COH             204663240019                Gas           Gov. Aggregation   COH             194134360018                Gas           Gov. Aggregation
COH             206483300016                Gas           Gov. Aggregation   COH             133015060070                Gas           Gov. Aggregation
COH             134971690026                Gas           Gov. Aggregation   COH             206488930014                Gas           Gov. Aggregation
COH             206564170012                Gas           Gov. Aggregation   COH             195783020013                Gas           Gov. Aggregation
COH             164486160020                Gas           Gov. Aggregation   COH             166473790014                Gas           Gov. Aggregation
COH             175051840034                Gas           Gov. Aggregation   COH             177517970019                Gas           Gov. Aggregation
COH             203925220018                Gas           Gov. Aggregation   COH             200433450016                Gas           Gov. Aggregation
COH             142394970030                Gas           Gov. Aggregation   COH             160184370057                Gas           Gov. Aggregation
COH             125468060044                Gas           Gov. Aggregation   COH             204006760012                Gas           Gov. Aggregation
COH             203958530014                Gas           Gov. Aggregation   COH             189371130039                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             205816580012                Gas           Gov. Aggregation   COH             165656480021                Gas           Gov. Aggregation
COH             202990740031                Gas           Gov. Aggregation   COH             176758440039                Gas           Gov. Aggregation
COH             206402480019                Gas           Gov. Aggregation   COH             138557090026                Gas           Gov. Aggregation
COH             167066210026                Gas           Gov. Aggregation   COH             174899160023                Gas           Gov. Aggregation
COH             204406920010                Gas           Gov. Aggregation   COH             193711220023                Gas           Gov. Aggregation
COH             206224980012                Gas           Gov. Aggregation   COH             204587660013                Gas           Gov. Aggregation
COH             203812980018                Gas           Gov. Aggregation   COH             198976390023                Gas           Gov. Aggregation
COH             206187460011                Gas           Gov. Aggregation   COH             172435120043                Gas           Gov. Aggregation
COH             161530580048                Gas           Gov. Aggregation   COH             114656530058                Gas           Gov. Aggregation
COH             205858220019                Gas           Gov. Aggregation   COH             141898820016                Gas           Gov. Aggregation
COH             197547530050                Gas           Gov. Aggregation   COH             201789190017                Gas           Gov. Aggregation
COH             145935240050                Gas           Gov. Aggregation   COH             142361370017                Gas           Gov. Aggregation
COH             124501230038                Gas           Gov. Aggregation   COH             169657110013                Gas           Gov. Aggregation
COH             204132040016                Gas           Gov. Aggregation   COH             157348520043                Gas           Gov. Aggregation
COH             204313170015                Gas           Gov. Aggregation   COH             186639250048                Gas           Gov. Aggregation
COH             195534730039                Gas           Gov. Aggregation   COH             151343980016                Gas           Gov. Aggregation
COH             201796570021                Gas           Gov. Aggregation   COH             185755620054                Gas           Gov. Aggregation
COH             206723160016                Gas           Gov. Aggregation   COH             199555320019                Gas           Gov. Aggregation
COH             197257950039                Gas           Gov. Aggregation   COH             195668420013                Gas           Gov. Aggregation
COH             155214550015                Gas           Gov. Aggregation   COH             197947670026                Gas           Gov. Aggregation
COH             205873510230                Gas           Gov. Aggregation   COH             199490830029                Gas           Gov. Aggregation
COH             206110880014                Gas           Gov. Aggregation   COH             118809650036                Gas           Gov. Aggregation
COH             204826630011                Gas           Gov. Aggregation   COH             200197310017                Gas           Gov. Aggregation
COH             205655630013                Gas           Gov. Aggregation   COH             203554560014                Gas           Gov. Aggregation
COH             205425920019                Gas           Gov. Aggregation   COH             206462330014                Gas           Gov. Aggregation
COH             197840560025                Gas           Gov. Aggregation   COH             202252410043                Gas           Gov. Aggregation
COH             122182500040                Gas           Gov. Aggregation   COH             195687470031                Gas           Gov. Aggregation
COH             162346070036                Gas           Gov. Aggregation   COH             202126490017                Gas           Gov. Aggregation
COH             206070090016                Gas           Gov. Aggregation   COH             188895630053                Gas           Gov. Aggregation
COH             205039770010                Gas           Gov. Aggregation   COH             174633780034                Gas           Gov. Aggregation
COH             157708290075                Gas           Gov. Aggregation   COH             205625810018                Gas           Gov. Aggregation
COH             205992870019                Gas           Gov. Aggregation   COH             207038110018                Gas           Gov. Aggregation
COH             204769570016                Gas           Gov. Aggregation   COH             189103340014                Gas           Gov. Aggregation
COH             203771450017                Gas           Gov. Aggregation   COH             196248710020                Gas           Gov. Aggregation
COH             152180960097                Gas           Gov. Aggregation   COH             196989350017                Gas           Gov. Aggregation
COH             124466610043                Gas           Gov. Aggregation   COH             200910030012                Gas           Gov. Aggregation
COH             204996510017                Gas           Gov. Aggregation   COH             185284290017                Gas           Gov. Aggregation
COH             201667840036                Gas           Gov. Aggregation   COH             187242530030                Gas           Gov. Aggregation
COH             196677020035                Gas           Gov. Aggregation   COH             148450700049                Gas           Gov. Aggregation
COH             171341550025                Gas           Gov. Aggregation   COH             206335980017                Gas           Gov. Aggregation
COH             158979760045                Gas           Gov. Aggregation   COH             204881480017                Gas           Gov. Aggregation
COH             206473790015                Gas           Gov. Aggregation   COH             200004390018                Gas           Gov. Aggregation
COH             124431540032                Gas           Gov. Aggregation   COH             203621300015                Gas           Gov. Aggregation
COH             151695750046                Gas           Gov. Aggregation   COH             139596400027                Gas           Gov. Aggregation
COH             130259540030                Gas           Gov. Aggregation   COH             200013270014                Gas           Gov. Aggregation
COH             158225920039                Gas           Gov. Aggregation   COH             168005430018                Gas           Gov. Aggregation
COH             170200160035                Gas           Gov. Aggregation   COH             142204810025                Gas           Gov. Aggregation
COH             163920800033                Gas           Gov. Aggregation   COH             169333830036                Gas           Gov. Aggregation
COH             206033670012                Gas           Gov. Aggregation   COH             203451960018                Gas           Gov. Aggregation
COH             172349590048                Gas           Gov. Aggregation   COH             186307480025                Gas           Gov. Aggregation
COH             205891690011                Gas           Gov. Aggregation   COH             197440610013                Gas           Gov. Aggregation
COH             205891700018                Gas           Gov. Aggregation   COH             202680650019                Gas           Gov. Aggregation
COH             206588030011                Gas           Gov. Aggregation   COH             171972160057                Gas           Gov. Aggregation
COH             201853730025                Gas           Gov. Aggregation   COH             118054490022                Gas           Gov. Aggregation
COH             192586580044                Gas           Gov. Aggregation   COH             177496800047                Gas           Gov. Aggregation
COH             185930700037                Gas           Gov. Aggregation   COH             195756240014                Gas           Gov. Aggregation
COH             195982610035                Gas           Gov. Aggregation   COH             199490330015                Gas           Gov. Aggregation
COH             205887390013                Gas           Gov. Aggregation   COH             177276700017                Gas           Gov. Aggregation
COH             193259720028                Gas           Gov. Aggregation   COH             193258710022                Gas           Gov. Aggregation
COH             205767730015                Gas           Gov. Aggregation   COH             195222760025                Gas           Gov. Aggregation
COH             171114690036                Gas           Gov. Aggregation   COH             146592030015                Gas           Gov. Aggregation
COH             148471090115                Gas           Gov. Aggregation   COH             170280280014                Gas           Gov. Aggregation
COH             154436100029                Gas           Gov. Aggregation   COH             140427540022                Gas           Gov. Aggregation
COH             204066370018                Gas           Gov. Aggregation   COH             195212660027                Gas           Gov. Aggregation
COH             124437270028                Gas           Gov. Aggregation   COH             205644220012                Gas           Gov. Aggregation
COH             166096690033                Gas           Gov. Aggregation   COH             205740340022                Gas           Gov. Aggregation
COH             170419670044                Gas           Gov. Aggregation   COH             199430760039                Gas           Gov. Aggregation
COH             164152910038                Gas           Gov. Aggregation   COH             193479590011                Gas           Gov. Aggregation
COH             204055490016                Gas           Gov. Aggregation   COH             177239070045                Gas           Gov. Aggregation
COH             205839280017                Gas           Gov. Aggregation   COH             165870620018                Gas           Gov. Aggregation
COH             206164140016                Gas           Gov. Aggregation   COH             201097560016                Gas           Gov. Aggregation
COH             125121210037                Gas           Gov. Aggregation   COH             165794940059                Gas           Gov. Aggregation
COH             204587120016                Gas           Gov. Aggregation   COH             176026030045                Gas           Gov. Aggregation
COH             199240910021                Gas           Gov. Aggregation   COH             167871770040                Gas           Gov. Aggregation
COH             206727120016                Gas           Gov. Aggregation   COH             193765900018                Gas           Gov. Aggregation
COH             204951880014                Gas           Gov. Aggregation   COH             174454760010                Gas           Gov. Aggregation
COH             161918540053                Gas           Gov. Aggregation   COH             207585550017                Gas           Gov. Aggregation
COH             201686280034                Gas           Gov. Aggregation   COH             204661860013                Gas           Gov. Aggregation
COH             204578190011                Gas           Gov. Aggregation   COH             177585520056                Gas           Gov. Aggregation
COH             134316200017                Gas           Gov. Aggregation   COH             206613250010                Gas           Gov. Aggregation
COH             204801540012                Gas           Gov. Aggregation   COH             131460100025                Gas           Gov. Aggregation
COH             204813680018                Gas           Gov. Aggregation   COH             141762060013                Gas           Gov. Aggregation
COH             124614270031                Gas           Gov. Aggregation   COH             207400080016                Gas           Gov. Aggregation
COH             205311670013                Gas           Gov. Aggregation   COH             205366390017                Gas           Gov. Aggregation
COH             172821010010                Gas           Gov. Aggregation   COH             205737670011                Gas           Gov. Aggregation
COH             205250290013                Gas           Gov. Aggregation   COH             135408760023                Gas           Gov. Aggregation
COH             189549590027                Gas           Gov. Aggregation   COH             195728060011                Gas           Gov. Aggregation
COH             138863610018                Gas           Gov. Aggregation   COH             125497760037                Gas           Gov. Aggregation
COH             204442570018                Gas           Gov. Aggregation   COH             194898070011                Gas           Gov. Aggregation
COH             141075100226                Gas           Gov. Aggregation   COH             206673610018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             141075100244                Gas           Gov. Aggregation   COH             206244520016                Gas           Gov. Aggregation
COH             141075100253                Gas           Gov. Aggregation   COH             195400350014                Gas           Gov. Aggregation
COH             141075100262                Gas           Gov. Aggregation   COH             169592290014                Gas           Gov. Aggregation
COH             167031020047                Gas           Gov. Aggregation   COH             116830210035                Gas           Gov. Aggregation
COH             206680920018                Gas           Gov. Aggregation   COH             197465870017                Gas           Gov. Aggregation
COH             188522640023                Gas           Gov. Aggregation   COH             147818580028                Gas           Gov. Aggregation
COH             204515310017                Gas           Gov. Aggregation   COH             176106830029                Gas           Gov. Aggregation
COH             203884200010                Gas           Gov. Aggregation   COH             194332060011                Gas           Gov. Aggregation
COH             194332720049                Gas           Gov. Aggregation   COH             189637050023                Gas           Gov. Aggregation
COH             156949120044                Gas           Gov. Aggregation   COH             121879820029                Gas           Gov. Aggregation
COH             206718990013                Gas           Gov. Aggregation   COH             174896560016                Gas           Gov. Aggregation
COH             205932900018                Gas           Gov. Aggregation   COH             195021000011                Gas           Gov. Aggregation
COH             204439390013                Gas           Gov. Aggregation   COH             191435720017                Gas           Gov. Aggregation
COH             203808440010                Gas           Gov. Aggregation   COH             206444490019                Gas           Gov. Aggregation
COH             202910000025                Gas           Gov. Aggregation   COH             197010160055                Gas           Gov. Aggregation
COH             204391440014                Gas           Gov. Aggregation   COH             139770240030                Gas           Gov. Aggregation
COH             205809090010                Gas           Gov. Aggregation   COH             201391620019                Gas           Gov. Aggregation
COH             185638970059                Gas           Gov. Aggregation   COH             119354070069                Gas           Gov. Aggregation
COH             187837960039                Gas           Gov. Aggregation   COH             129396400023                Gas           Gov. Aggregation
COH             198436630044                Gas           Gov. Aggregation   COH             201696650017                Gas           Gov. Aggregation
COH             199178310039                Gas           Gov. Aggregation   COH             187329840013                Gas           Gov. Aggregation
COH             156627290023                Gas           Gov. Aggregation   COH             158600160024                Gas           Gov. Aggregation
COH             151865850062                Gas           Gov. Aggregation   COH             169788200026                Gas           Gov. Aggregation
COH             204554240010                Gas           Gov. Aggregation   COH             159101120243                Gas           Gov. Aggregation
COH             165158530044                Gas           Gov. Aggregation   COH             191762360038                Gas           Gov. Aggregation
COH             166227040021                Gas           Gov. Aggregation   COH             185643760025                Gas           Gov. Aggregation
COH             205033950014                Gas           Gov. Aggregation   COH             154271120043                Gas           Gov. Aggregation
COH             204750090016                Gas           Gov. Aggregation   COH             195197490018                Gas           Gov. Aggregation
COH             204406980018                Gas           Gov. Aggregation   COH             155062400091                Gas           Gov. Aggregation
COH             169708160041                Gas           Gov. Aggregation   COH             163379380059                Gas           Gov. Aggregation
COH             206184650017                Gas           Gov. Aggregation   COH             126889700019                Gas           Gov. Aggregation
COH             204327200028                Gas           Gov. Aggregation   COH             207005310015                Gas           Gov. Aggregation
COH             205281590015                Gas           Gov. Aggregation   COH             150718050026                Gas           Gov. Aggregation
COH             206666620011                Gas           Gov. Aggregation   COH             118291870128                Gas           Gov. Aggregation
COH             204960240019                Gas           Gov. Aggregation   COH             165570730011                Gas           Gov. Aggregation
COH             175274150037                Gas           Gov. Aggregation   COH             149703380021                Gas           Gov. Aggregation
COH             201292860126                Gas           Gov. Aggregation   COH             199252950019                Gas           Gov. Aggregation
COH             185470120026                Gas           Gov. Aggregation   COH             119912920011                Gas           Gov. Aggregation
COH             206033540019                Gas           Gov. Aggregation   COH             119913230014                Gas           Gov. Aggregation
COH             206092850010                Gas           Gov. Aggregation   COH             198758630015                Gas           Gov. Aggregation
COH             204986560018                Gas           Gov. Aggregation   COH             119463710027                Gas           Gov. Aggregation
COH             198086890034                Gas           Gov. Aggregation   COH             117663510045                Gas           Gov. Aggregation
COH             199013210038                Gas           Gov. Aggregation   COH             189349700018                Gas           Gov. Aggregation
COH             166004200029                Gas           Gov. Aggregation   COH             118076690024                Gas           Gov. Aggregation
COH             204867260013                Gas           Gov. Aggregation   COH             177477140046                Gas           Gov. Aggregation
COH             132577370030                Gas           Gov. Aggregation   COH             118256070022                Gas           Gov. Aggregation
COH             205803090012                Gas           Gov. Aggregation   COH             119910780024                Gas           Gov. Aggregation
COH             204555260014                Gas           Gov. Aggregation   COH             200325730016                Gas           Gov. Aggregation
COH             206043740016                Gas           Gov. Aggregation   COH             135078010030                Gas           Gov. Aggregation
COH             205901600016                Gas           Gov. Aggregation   COH             139726250031                Gas           Gov. Aggregation
COH             205809060016                Gas           Gov. Aggregation   COH             138381950019                Gas           Gov. Aggregation
COH             158634580025                Gas           Gov. Aggregation   COH             160913350018                Gas           Gov. Aggregation
COH             203871410013                Gas           Gov. Aggregation   COH             201282350017                Gas           Gov. Aggregation
COH             165681750030                Gas           Gov. Aggregation   COH             202369280017                Gas           Gov. Aggregation
COH             202607080031                Gas           Gov. Aggregation   COH             201877730016                Gas           Gov. Aggregation
COH             205715530016                Gas           Gov. Aggregation   COH             120439620042                Gas           Gov. Aggregation
COH             200806590034                Gas           Gov. Aggregation   COH             201588430012                Gas           Gov. Aggregation
COH             151235370031                Gas           Gov. Aggregation   COH             186184370020                Gas           Gov. Aggregation
COH             197186110036                Gas           Gov. Aggregation   COH             186614850026                Gas           Gov. Aggregation
COH             206149750010                Gas           Gov. Aggregation   COH             187460070035                Gas           Gov. Aggregation
COH             206483180012                Gas           Gov. Aggregation   COH             201009350015                Gas           Gov. Aggregation
COH             187007870028                Gas           Gov. Aggregation   COH             201232440013                Gas           Gov. Aggregation
COH             205165500019                Gas           Gov. Aggregation   COH             207204470010                Gas           Gov. Aggregation
COH             204687790014                Gas           Gov. Aggregation   COH             201699230019                Gas           Gov. Aggregation
COH             204489090011                Gas           Gov. Aggregation   COH             176034820024                Gas           Gov. Aggregation
COH             154199050015                Gas           Gov. Aggregation   COH             186421810023                Gas           Gov. Aggregation
COH             206247100018                Gas           Gov. Aggregation   COH             199298600016                Gas           Gov. Aggregation
COH             205457790010                Gas           Gov. Aggregation   COH             204611610010                Gas           Gov. Aggregation
COH             162728930035                Gas           Gov. Aggregation   COH             207179320016                Gas           Gov. Aggregation
COH             205830210019                Gas           Gov. Aggregation   COH             131494020012                Gas           Gov. Aggregation
COH             206355230012                Gas           Gov. Aggregation   COH             130704930033                Gas           Gov. Aggregation
COH             140972490037                Gas           Gov. Aggregation   COH             195755240016                Gas           Gov. Aggregation
COH             175841270048                Gas           Gov. Aggregation   COH             177770600065                Gas           Gov. Aggregation
COH             146669710028                Gas           Gov. Aggregation   COH             167612770020                Gas           Gov. Aggregation
COH             155475960044                Gas           Gov. Aggregation   COH             173557040014                Gas           Gov. Aggregation
COH             204932600012                Gas           Gov. Aggregation   COH             177253630010                Gas           Gov. Aggregation
COH             163007980023                Gas           Gov. Aggregation   COH             200384430015                Gas           Gov. Aggregation
COH             205186220014                Gas           Gov. Aggregation   COH             198693520034                Gas           Gov. Aggregation
COH             154670900061                Gas           Gov. Aggregation   COH             206603780010                Gas           Gov. Aggregation
COH             206149760018                Gas           Gov. Aggregation   COH             201960920019                Gas           Gov. Aggregation
COH             199927410011                Gas           Gov. Aggregation   COH             118374260040                Gas           Gov. Aggregation
COH             191969790021                Gas           Gov. Aggregation   COH             198455000019                Gas           Gov. Aggregation
COH             205089920013                Gas           Gov. Aggregation   COH             177626240020                Gas           Gov. Aggregation
COH             205493160016                Gas           Gov. Aggregation   COH             205301530013                Gas           Gov. Aggregation
COH             125061500052                Gas           Gov. Aggregation   COH             119139030027                Gas           Gov. Aggregation
COH             205373570014                Gas           Gov. Aggregation   COH             190996480020                Gas           Gov. Aggregation
COH             170640490034                Gas           Gov. Aggregation   COH             188496320027                Gas           Gov. Aggregation
COH             204476770015                Gas           Gov. Aggregation   COH             206323290017                Gas           Gov. Aggregation
COH             205255470015                Gas           Gov. Aggregation   COH             206685630019                Gas           Gov. Aggregation
COH             205011080013                Gas           Gov. Aggregation   COH             138951620046                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             147574200034                Gas           Gov. Aggregation   COH             202589890013                Gas           Gov. Aggregation
COH             205969710011                Gas           Gov. Aggregation   COH             202826370018                Gas           Gov. Aggregation
COH             125131950040                Gas           Gov. Aggregation   COH             163076630021                Gas           Gov. Aggregation
COH             167500450024                Gas           Gov. Aggregation   COH             205828720017                Gas           Gov. Aggregation
COH             197455730026                Gas           Gov. Aggregation   COH             206592860018                Gas           Gov. Aggregation
COH             148181070025                Gas           Gov. Aggregation   COH             202816520017                Gas           Gov. Aggregation
COH             204392880010                Gas           Gov. Aggregation   COH             163489510049                Gas           Gov. Aggregation
COH             205103800016                Gas           Gov. Aggregation   COH             153057740039                Gas           Gov. Aggregation
COH             196422630027                Gas           Gov. Aggregation   COH             204107210013                Gas           Gov. Aggregation
COH             206224830013                Gas           Gov. Aggregation   COH             195931660014                Gas           Gov. Aggregation
COH             205331370014                Gas           Gov. Aggregation   COH             194579720010                Gas           Gov. Aggregation
COH             202525320025                Gas           Gov. Aggregation   COH             140449650014                Gas           Gov. Aggregation
COH             189976600038                Gas           Gov. Aggregation   COH             119176240034                Gas           Gov. Aggregation
COH             199203900021                Gas           Gov. Aggregation   COH             167404210037                Gas           Gov. Aggregation
COH             205767750011                Gas           Gov. Aggregation   COH             112271700032                Gas           Gov. Aggregation
COH             197202990027                Gas           Gov. Aggregation   COH             197184710016                Gas           Gov. Aggregation
COH             205614660013                Gas           Gov. Aggregation   COH             195659590035                Gas           Gov. Aggregation
COH             202903040022                Gas           Gov. Aggregation   COH             203170270019                Gas           Gov. Aggregation
COH             204697100017                Gas           Gov. Aggregation   COH             205453140014                Gas           Gov. Aggregation
COH             124911600022                Gas           Gov. Aggregation   COH             189014210010                Gas           Gov. Aggregation
COH             125085380049                Gas           Gov. Aggregation   COH             203460120015                Gas           Gov. Aggregation
COH             125523960047                Gas           Gov. Aggregation   COH             173491870029                Gas           Gov. Aggregation
COH             135340490060                Gas           Gov. Aggregation   COH             196181750015                Gas           Gov. Aggregation
COH             151268870055                Gas           Gov. Aggregation   COH             194053220028                Gas           Gov. Aggregation
COH             153273500022                Gas           Gov. Aggregation   COH             118302480027                Gas           Gov. Aggregation
COH             155025380049                Gas           Gov. Aggregation   COH             195039010012                Gas           Gov. Aggregation
COH             161024050042                Gas           Gov. Aggregation   COH             200570210016                Gas           Gov. Aggregation
COH             164031990056                Gas           Gov. Aggregation   COH             188821130017                Gas           Gov. Aggregation
COH             166351190045                Gas           Gov. Aggregation   COH             204570240016                Gas           Gov. Aggregation
COH             168023560031                Gas           Gov. Aggregation   COH             205620230010                Gas           Gov. Aggregation
COH             188490210031                Gas           Gov. Aggregation   COH             203770350010                Gas           Gov. Aggregation
COH             188910790029                Gas           Gov. Aggregation   COH             196718410017                Gas           Gov. Aggregation
COH             189939000032                Gas           Gov. Aggregation   COH             201547600012                Gas           Gov. Aggregation
COH             194288260023                Gas           Gov. Aggregation   COH             205990980010                Gas           Gov. Aggregation
COH             196274790029                Gas           Gov. Aggregation   COH             197779120019                Gas           Gov. Aggregation
COH             196985430027                Gas           Gov. Aggregation   COH             158194200028                Gas           Gov. Aggregation
COH             197057670023                Gas           Gov. Aggregation   COH             141706050013                Gas           Gov. Aggregation
COH             197284570023                Gas           Gov. Aggregation   COH             119340430035                Gas           Gov. Aggregation
COH             203587020830                Gas           Gov. Aggregation   COH             170777540034                Gas           Gov. Aggregation
COH             203614520014                Gas           Gov. Aggregation   COH             196398450028                Gas           Gov. Aggregation
COH             204285050011                Gas           Gov. Aggregation   COH             200763950012                Gas           Gov. Aggregation
COH             204339690012                Gas           Gov. Aggregation   VEDO            4004425322447140            Gas           Gov. Aggregation
COH             204394060054                Gas           Gov. Aggregation   COH             134682850061                Gas           Gov. Aggregation
COH             205356260015                Gas           Gov. Aggregation   COH             205615900010                Gas           Gov. Aggregation
COH             205391760016                Gas           Gov. Aggregation   COH             206721330014                Gas           Gov. Aggregation
COH             205425960011                Gas           Gov. Aggregation   COH             206878960011                Gas           Gov. Aggregation
COH             205476690011                Gas           Gov. Aggregation   COH             140191000026                Gas           Gov. Aggregation
COH             205761970017                Gas           Gov. Aggregation   COH             196998560050                Gas           Gov. Aggregation
COH             205846950011                Gas           Gov. Aggregation   COH             204324860017                Gas           Gov. Aggregation
COH             205875960018                Gas           Gov. Aggregation   COH             206592230010                Gas           Gov. Aggregation
COH             205919050015                Gas           Gov. Aggregation   COH             205187150017                Gas           Gov. Aggregation
COH             206174940017                Gas           Gov. Aggregation   COH             201494610022                Gas           Gov. Aggregation
COH             206278890018                Gas           Gov. Aggregation   COH             207079040017                Gas           Gov. Aggregation
COH             206374460014                Gas           Gov. Aggregation   COH             206213910019                Gas           Gov. Aggregation
COH             206614050010                Gas           Gov. Aggregation   COH             205765960011                Gas           Gov. Aggregation
COH             206771840012                Gas           Gov. Aggregation   COH             165824420026                Gas           Gov. Aggregation
COH             206402160016                Gas           Gov. Aggregation   COH             205457100014                Gas           Gov. Aggregation
COH             171346180023                Gas           Gov. Aggregation   COH             199218290038                Gas           Gov. Aggregation
COH             193387020024                Gas           Gov. Aggregation   COH             205383630010                Gas           Gov. Aggregation
COH             196479900021                Gas           Gov. Aggregation   COH             207552000011                Gas           Gov. Aggregation
COH             206655530013                Gas           Gov. Aggregation   COH             150361640029                Gas           Gov. Aggregation
COH             205830310018                Gas           Gov. Aggregation   COH             196627510037                Gas           Gov. Aggregation
COH             206593700019                Gas           Gov. Aggregation   COH             201594900010                Gas           Gov. Aggregation
COH             192301610030                Gas           Gov. Aggregation   COH             207280120013                Gas           Gov. Aggregation
COH             197202750036                Gas           Gov. Aggregation   COH             156798860148                Gas           Gov. Aggregation
COH             197202850026                Gas           Gov. Aggregation   COH             166406020043                Gas           Gov. Aggregation
COH             199865630026                Gas           Gov. Aggregation   COH             202456430029                Gas           Gov. Aggregation
COH             201377610020                Gas           Gov. Aggregation   COH             186686210029                Gas           Gov. Aggregation
COH             204731640010                Gas           Gov. Aggregation   COH             205883230023                Gas           Gov. Aggregation
COH             204826700016                Gas           Gov. Aggregation   COH             204498090012                Gas           Gov. Aggregation
COH             200494120026                Gas           Gov. Aggregation   COH             205645560019                Gas           Gov. Aggregation
COH             206093360011                Gas           Gov. Aggregation   COH             198758790030                Gas           Gov. Aggregation
COH             205668460012                Gas           Gov. Aggregation   COH             204930000012                Gas           Gov. Aggregation
COH             206461920012                Gas           Gov. Aggregation   COH             200973360020                Gas           Gov. Aggregation
COH             197182190029                Gas           Gov. Aggregation   COH             190686890094                Gas           Gov. Aggregation
COH             190531340087                Gas           Gov. Aggregation   COH             206721780010                Gas           Gov. Aggregation
COH             197566540012                Gas           Gov. Aggregation   COH             204351360015                Gas           Gov. Aggregation
COH             203358130038                Gas           Gov. Aggregation   COH             204921490028                Gas           Gov. Aggregation
COH             204652880036                Gas           Gov. Aggregation   COH             160007010056                Gas           Gov. Aggregation
COH             154848620090                Gas           Gov. Aggregation   COH             204366140010                Gas           Gov. Aggregation
COH             151695790020                Gas           Gov. Aggregation   COH             195309070035                Gas           Gov. Aggregation
COH             206586330012                Gas           Gov. Aggregation   COH             196918400042                Gas           Gov. Aggregation
COH             204774210010                Gas           Gov. Aggregation   COH             204984080013                Gas           Gov. Aggregation
COH             172925090014                Gas           Gov. Aggregation   COH             202299850025                Gas           Gov. Aggregation
COH             204396270010                Gas           Gov. Aggregation   COH             111239600014                Gas           Gov. Aggregation
COH             125448270024                Gas           Gov. Aggregation   COH             207146500017                Gas           Gov. Aggregation
COH             192231160025                Gas           Gov. Aggregation   COH             189870450025                Gas           Gov. Aggregation
COH             162379020037                Gas           Gov. Aggregation   COH             201333370032                Gas           Gov. Aggregation
COH             161321330016                Gas           Gov. Aggregation   COH             205228630018                Gas           Gov. Aggregation
COH             145329490062                Gas           Gov. Aggregation   COH             207255410015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             192678220035                Gas           Gov. Aggregation   COH             207295590014                Gas           Gov. Aggregation
COH             191635190024                Gas           Gov. Aggregation   COH             145380353917                Gas           Gov. Aggregation
COH             203866390019                Gas           Gov. Aggregation   COH             165858970020                Gas           Gov. Aggregation
COH             200775400021                Gas           Gov. Aggregation   COH             132129900019                Gas           Gov. Aggregation
COH             191104630035                Gas           Gov. Aggregation   COH             206788740018                Gas           Gov. Aggregation
COH             206110740013                Gas           Gov. Aggregation   COH             198048660014                Gas           Gov. Aggregation
COH             131561520023                Gas           Gov. Aggregation   COH             203635960018                Gas           Gov. Aggregation
COH             176231850020                Gas           Gov. Aggregation   COH             203874560025                Gas           Gov. Aggregation
COH             201993700025                Gas           Gov. Aggregation   COH             207029320013                Gas           Gov. Aggregation
COH             200337540020                Gas           Gov. Aggregation   COH             111277140039                Gas           Gov. Aggregation
COH             198041000034                Gas           Gov. Aggregation   COH             204005680011                Gas           Gov. Aggregation
COH             174494950034                Gas           Gov. Aggregation   COH             204122290015                Gas           Gov. Aggregation
COH             186247510026                Gas           Gov. Aggregation   COH             206789410015                Gas           Gov. Aggregation
COH             196023340024                Gas           Gov. Aggregation   COH             202735920015                Gas           Gov. Aggregation
COH             205011510012                Gas           Gov. Aggregation   COH             203416810013                Gas           Gov. Aggregation
COH             192222140028                Gas           Gov. Aggregation   COH             205723510013                Gas           Gov. Aggregation
COH             205671370014                Gas           Gov. Aggregation   COH             204355950013                Gas           Gov. Aggregation
COH             167919060029                Gas           Gov. Aggregation   COH             205171200019                Gas           Gov. Aggregation
COH             199713200027                Gas           Gov. Aggregation   COH             203015360036                Gas           Gov. Aggregation
COH             197383950023                Gas           Gov. Aggregation   COH             203496720014                Gas           Gov. Aggregation
COH             204079860018                Gas           Gov. Aggregation   COH             206680440019                Gas           Gov. Aggregation
COH             204258460012                Gas           Gov. Aggregation   COH             110703950026                Gas           Gov. Aggregation
COH             203930360018                Gas           Gov. Aggregation   COH             110719760032                Gas           Gov. Aggregation
COH             205518240015                Gas           Gov. Aggregation   COH             155499790068                Gas           Gov. Aggregation
COH             205954250019                Gas           Gov. Aggregation   COH             158900310026                Gas           Gov. Aggregation
COH             204373280016                Gas           Gov. Aggregation   COH             160452290019                Gas           Gov. Aggregation
COH             194990860046                Gas           Gov. Aggregation   COH             169883780032                Gas           Gov. Aggregation
COH             205314930012                Gas           Gov. Aggregation   COH             172929450029                Gas           Gov. Aggregation
COH             204258430018                Gas           Gov. Aggregation   COH             173440380010                Gas           Gov. Aggregation
COH             193270430034                Gas           Gov. Aggregation   COH             174589910040                Gas           Gov. Aggregation
COH             198288230025                Gas           Gov. Aggregation   COH             198313800011                Gas           Gov. Aggregation
COH             176938790043                Gas           Gov. Aggregation   COH             198313800020                Gas           Gov. Aggregation
COH             206052470014                Gas           Gov. Aggregation   COH             198566950015                Gas           Gov. Aggregation
COH             204703750016                Gas           Gov. Aggregation   COH             199777190053                Gas           Gov. Aggregation
COH             140867340031                Gas           Gov. Aggregation   COH             199920350018                Gas           Gov. Aggregation
COH             141433570031                Gas           Gov. Aggregation   COH             200198760039                Gas           Gov. Aggregation
COH             150633040037                Gas           Gov. Aggregation   COH             204569070015                Gas           Gov. Aggregation
COH             160482160111                Gas           Gov. Aggregation   COH             204997650025                Gas           Gov. Aggregation
COH             192775040037                Gas           Gov. Aggregation   COH             205189800016                Gas           Gov. Aggregation
COH             193692100057                Gas           Gov. Aggregation   COH             205361400014                Gas           Gov. Aggregation
COH             204055650012                Gas           Gov. Aggregation   COH             206495660016                Gas           Gov. Aggregation
COH             204076430014                Gas           Gov. Aggregation   COH             206495930019                Gas           Gov. Aggregation
COH             204461200015                Gas           Gov. Aggregation   COH             203342200054                Gas           Gov. Aggregation
COH             204932730015                Gas           Gov. Aggregation   VEDO            4003351872421779            Gas           Gov. Aggregation
COH             204996800016                Gas           Gov. Aggregation   COH             110948350015                Gas           Gov. Aggregation
COH             205042900015                Gas           Gov. Aggregation   COH             125787330014                Gas           Gov. Aggregation
COH             206033640018                Gas           Gov. Aggregation   COH             195718260047                Gas           Gov. Aggregation
COH             206164190016                Gas           Gov. Aggregation   COH             205573210015                Gas           Gov. Aggregation
COH             206198590011                Gas           Gov. Aggregation   COH             151023490017                Gas           Gov. Aggregation
COH             206247370012                Gas           Gov. Aggregation   COH             200188560023                Gas           Gov. Aggregation
COH             206508170010                Gas           Gov. Aggregation   COH             206479320011                Gas           Gov. Aggregation
COH             206544080013                Gas           Gov. Aggregation   COH             140198430013                Gas           Gov. Aggregation
COH             206605150018                Gas           Gov. Aggregation   COH             111096290014                Gas           Gov. Aggregation
COH             206834540011                Gas           Gov. Aggregation   COH             196162930026                Gas           Gov. Aggregation
COH             141429360025                Gas           Gov. Aggregation   COH             204007500014                Gas           Gov. Aggregation
COH             205204800012                Gas           Gov. Aggregation   COH             204909290017                Gas           Gov. Aggregation
COH             205758230019                Gas           Gov. Aggregation   COH             207436770025                Gas           Gov. Aggregation
COH             205052800015                Gas           Gov. Aggregation   COH             206109990014                Gas           Gov. Aggregation
COH             194912760023                Gas           Gov. Aggregation   COH             204465920016                Gas           Gov. Aggregation
COH             167913870049                Gas           Gov. Aggregation   COH             207520390017                Gas           Gov. Aggregation
COH             198625720026                Gas           Gov. Aggregation   COH             207527500019                Gas           Gov. Aggregation
COH             203360970028                Gas           Gov. Aggregation   COH             207109190011                Gas           Gov. Aggregation
COH             205231630011                Gas           Gov. Aggregation   COH             205620850010                Gas           Gov. Aggregation
COH             189154910062                Gas           Gov. Aggregation   COH             200907690011                Gas           Gov. Aggregation
COH             206004130016                Gas           Gov. Aggregation   COH             195874540011                Gas           Gov. Aggregation
COH             204066420017                Gas           Gov. Aggregation   COH             205836470013                Gas           Gov. Aggregation
COH             205636150014                Gas           Gov. Aggregation   COH             203194740038                Gas           Gov. Aggregation
COH             205767650012                Gas           Gov. Aggregation   COH             206626030019                Gas           Gov. Aggregation
COH             198416450035                Gas           Gov. Aggregation   COH             111255010014                Gas           Gov. Aggregation
COH             206118260018                Gas           Gov. Aggregation   COH             206041860015                Gas           Gov. Aggregation
COH             205193210011                Gas           Gov. Aggregation   COH             206654850018                Gas           Gov. Aggregation
COH             204753890012                Gas           Gov. Aggregation   COH             205411710012                Gas           Gov. Aggregation
COH             165704000028                Gas           Gov. Aggregation   COH             207223510011                Gas           Gov. Aggregation
COH             206553530019                Gas           Gov. Aggregation   COH             206709170014                Gas           Gov. Aggregation
COH             185554560071                Gas           Gov. Aggregation   COH             196549920046                Gas           Gov. Aggregation
COH             198272520018                Gas           Gov. Aggregation   COH             111261980107                Gas           Gov. Aggregation
COH             206674890018                Gas           Gov. Aggregation   COH             206183550010                Gas           Gov. Aggregation
COH             200238280025                Gas           Gov. Aggregation   COH             175398520171                Gas           Gov. Aggregation
COH             204540180012                Gas           Gov. Aggregation   COH             204610990013                Gas           Gov. Aggregation
COH             189800040028                Gas           Gov. Aggregation   COH             192881220025                Gas           Gov. Aggregation
COH             200667690011                Gas           Gov. Aggregation   COH             155786390018                Gas           Gov. Aggregation
COH             200667690057                Gas           Gov. Aggregation   COH             207107670014                Gas           Gov. Aggregation
COH             204466940010                Gas           Gov. Aggregation   COH             205813920016                Gas           Gov. Aggregation
COH             177164630055                Gas           Gov. Aggregation   COH             206851050018                Gas           Gov. Aggregation
COH             206110730015                Gas           Gov. Aggregation   COH             203678170014                Gas           Gov. Aggregation
COH             193943280039                Gas           Gov. Aggregation   COH             206790500013                Gas           Gov. Aggregation
COH             204496540011                Gas           Gov. Aggregation   COH             199372080045                Gas           Gov. Aggregation
COH             124376620113                Gas           Gov. Aggregation   COH             203850150012                Gas           Gov. Aggregation
COH             204222000013                Gas           Gov. Aggregation   COH             206191000018                Gas           Gov. Aggregation
COH             204562310018                Gas           Gov. Aggregation   COH             195419790031                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             206212520013                Gas           Gov. Aggregation   COH             204958540011                Gas           Gov. Aggregation
COH             206429140014                Gas           Gov. Aggregation   COH             205822480010                Gas           Gov. Aggregation
COH             204450420012                Gas           Gov. Aggregation   COH             204780670011                Gas           Gov. Aggregation
COH             122206810016                Gas           Gov. Aggregation   COH             204702170010                Gas           Gov. Aggregation
COH             124378320014                Gas           Gov. Aggregation   COH             136880060056                Gas           Gov. Aggregation
VEDO            4002791882274157            Gas           Gov. Aggregation   COH             206223590016                Gas           Gov. Aggregation
VEDO            4004571542463289            Gas           Gov. Aggregation   COH             203223170035                Gas           Gov. Aggregation
DEO             6421704788578               Gas           Gov. Aggregation   COH             196234510049                Gas           Gov. Aggregation
VEDO            4001071232339267            Gas           Gov. Aggregation   COH             204583790014                Gas           Gov. Aggregation
VEDO            4001071232480137            Gas           Gov. Aggregation   COH             190890650082                Gas           Gov. Aggregation
DEO             6180011244380               Gas           Gov. Aggregation   COH             206655450010                Gas           Gov. Aggregation
DEO             9180011441817               Gas           Gov. Aggregation   COH             169025930083                Gas           Gov. Aggregation
COH             122371770016                Gas           Gov. Aggregation   COH             169025930092                Gas           Gov. Aggregation
VEDO            4003634252361427            Gas           Gov. Aggregation   COH             204864960012                Gas           Gov. Aggregation
VEDO            4019521572647552            Gas           Gov. Aggregation   VEDO            4002739182268763            Gas           Gov. Aggregation
VEDO            4001096652109185            Gas           Gov. Aggregation   VEDO            4020297732115309            Gas           Gov. Aggregation
VEDO            4016102262190759            Gas           Gov. Aggregation   VEDO            4020794602120761            Gas           Gov. Aggregation
COH             134143880012                Gas           Gov. Aggregation   COH             159702850013                Gas           Gov. Aggregation
COH             205477330014                Gas           Gov. Aggregation   VEDO            4018828382595751            Gas           Gov. Aggregation
VEDO            4003779132376787            Gas           Gov. Aggregation   VEDO            4004421362568398            Gas           Gov. Aggregation
COH             143072130019                Gas           Gov. Aggregation   VEDO            4004955932505730            Gas           Gov. Aggregation
VEDO            4019441642419662            Gas           Gov. Aggregation   COH             110985110017                Gas           Gov. Aggregation
COH             155530920026                Gas           Gov. Aggregation   VEDO            4016804002418437            Gas           Gov. Aggregation
DEO             4180011476882               Gas           Gov. Aggregation   COH             203760080018                Gas           Gov. Aggregation
COH             205921990013                Gas           Gov. Aggregation   COH             206307160018                Gas           Gov. Aggregation
COH             135312910015                Gas           Gov. Aggregation   COH             207047170017                Gas           Gov. Aggregation
VEDO            4004011342224202            Gas           Gov. Aggregation   COH             161230220067                Gas           Gov. Aggregation
VEDO            4004011342518460            Gas           Gov. Aggregation   COH             200046640026                Gas           Gov. Aggregation
VEDO            4004011342339597            Gas           Gov. Aggregation   COH             206573410012                Gas           Gov. Aggregation
COH             186273810135                Gas           Gov. Aggregation   COH             205636590012                Gas           Gov. Aggregation
COH             122505540019                Gas           Gov. Aggregation   COH             207801660014                Gas           Gov. Aggregation
VEDO            4021149422183714            Gas           Gov. Aggregation   COH             152958090082                Gas           Gov. Aggregation
VEDO            4004085762304703            Gas           Gov. Aggregation   COH             204094820014                Gas           Gov. Aggregation
VEDO            4002615282256460            Gas           Gov. Aggregation   COH             197326950050                Gas           Gov. Aggregation
DEO             0180011541037               Gas           Gov. Aggregation   COH             205570530014                Gas           Gov. Aggregation
DEO             7180011027344               Gas           Gov. Aggregation   COH             206322370012                Gas           Gov. Aggregation
VEDO            4018046092270456            Gas           Gov. Aggregation   COH             159133820025                Gas           Gov. Aggregation
COH             153869360038                Gas           Gov. Aggregation   COH             206326900012                Gas           Gov. Aggregation
COH             153869360010                Gas           Gov. Aggregation   COH             109881870039                Gas           Gov. Aggregation
VEDO            4004467222592534            Gas           Gov. Aggregation   COH             204802330014                Gas           Gov. Aggregation
VEDO            4017185792140720            Gas           Gov. Aggregation   COH             204174030010                Gas           Gov. Aggregation
COH             124465470018                Gas           Gov. Aggregation   COH             146466840012                Gas           Gov. Aggregation
VEDO            4003042252516963            Gas           Gov. Aggregation   COH             201105620014                Gas           Gov. Aggregation
VEDO            4021121392683517            Gas           Gov. Aggregation   COH             204916620076                Gas           Gov. Aggregation
VEDO            4017669982263326            Gas           Gov. Aggregation   COH             149599920048                Gas           Gov. Aggregation
DEO             1180011807369               Gas           Gov. Aggregation   COH             206479830014                Gas           Gov. Aggregation
VEDO            4002691372264005            Gas           Gov. Aggregation   COH             203465930024                Gas           Gov. Aggregation
DEO             2180011612557               Gas           Gov. Aggregation   COH             204759920013                Gas           Gov. Aggregation
COH             110929760019                Gas           Gov. Aggregation   COH             205001910019                Gas           Gov. Aggregation
COH             111325760027                Gas           Gov. Aggregation   COH             157489630051                Gas           Gov. Aggregation
DEO             2180012045028               Gas           Gov. Aggregation   COH             188668201580                Gas           Gov. Aggregation
DEO             6180011855532               Gas           Gov. Aggregation   COH             188668201517                Gas           Gov. Aggregation
DEO             8180011992294               Gas           Gov. Aggregation   COH             188668201526                Gas           Gov. Aggregation
DEO             3180011845978               Gas           Gov. Aggregation   COH             110976410031                Gas           Gov. Aggregation
DEO             3180011984038               Gas           Gov. Aggregation   DEO             8180013120280               Gas           Gov. Aggregation
DEO             5180011919804               Gas           Gov. Aggregation   VEDO            4001874772683108            Gas           Gov. Aggregation
DEO             6180011868075               Gas           Gov. Aggregation   COH             111272090012                Gas           Gov. Aggregation
DEO             8180011883481               Gas           Gov. Aggregation   COH             206221480013                Gas           Gov. Aggregation
COH             145817940106                Gas           Gov. Aggregation   COH             132858820039                Gas           Gov. Aggregation
COH             204306770014                Gas           Gov. Aggregation   COH             206333020012                Gas           Gov. Aggregation
DEO             4180011616295               Gas           Gov. Aggregation   COH             150734500027                Gas           Gov. Aggregation
VEDO            4004657782472831            Gas           Gov. Aggregation   COH             174725610025                Gas           Gov. Aggregation
DEO             1180012310431               Gas           Gov. Aggregation   COH             194066100035                Gas           Gov. Aggregation
DEO             7180012204859               Gas           Gov. Aggregation   COH             207301050012                Gas           Gov. Aggregation
VEDO            4020797062237341            Gas           Gov. Aggregation   COH             153694050025                Gas           Gov. Aggregation
VEDO            4019309552478392            Gas           Gov. Aggregation   COH             191162810062                Gas           Gov. Aggregation
VEDO            4018808092292160            Gas           Gov. Aggregation   COH             207521940019                Gas           Gov. Aggregation
VEDO            4019198272244569            Gas           Gov. Aggregation   COH             197091070027                Gas           Gov. Aggregation
VEDO            4019738282398771            Gas           Gov. Aggregation   COH             186155940049                Gas           Gov. Aggregation
VEDO            4020044942478318            Gas           Gov. Aggregation   COH             195138720022                Gas           Gov. Aggregation
VEDO            4020131472162230            Gas           Gov. Aggregation   COH             207031980010                Gas           Gov. Aggregation
VEDO            4019988422334265            Gas           Gov. Aggregation   COH             194656000026                Gas           Gov. Aggregation
VEDO            4015588472242983            Gas           Gov. Aggregation   COH             207888410014                Gas           Gov. Aggregation
VEDO            4004956662396989            Gas           Gov. Aggregation   COH             208065870011                Gas           Gov. Aggregation
VEDO            4018637042279642            Gas           Gov. Aggregation   COH             204025620020                Gas           Gov. Aggregation
VEDO            4004767702384266            Gas           Gov. Aggregation   COH             206652080014                Gas           Gov. Aggregation
VEDO            4001003292676726            Gas           Gov. Aggregation   COH             112701350033                Gas           Gov. Aggregation
VEDO            4019963492245453            Gas           Gov. Aggregation   COH             142788250027                Gas           Gov. Aggregation
VEDO            4003315772327935            Gas           Gov. Aggregation   COH             207110280019                Gas           Gov. Aggregation
VEDO            4001447542141869            Gas           Gov. Aggregation   COH             206311400018                Gas           Gov. Aggregation
VEDO            4017929062311737            Gas           Gov. Aggregation   COH             199770630027                Gas           Gov. Aggregation
VEDO            4003547632328098            Gas           Gov. Aggregation   COH             169758220025                Gas           Gov. Aggregation
VEDO            4019265072234062            Gas           Gov. Aggregation   COH             206324150014                Gas           Gov. Aggregation
VEDO            4021013672259486            Gas           Gov. Aggregation   COH             207224640012                Gas           Gov. Aggregation
VEDO            4001430382401984            Gas           Gov. Aggregation   COH             207321830016                Gas           Gov. Aggregation
VEDO            4020299152150088            Gas           Gov. Aggregation   COH             206534410014                Gas           Gov. Aggregation
VEDO            4021038192203613            Gas           Gov. Aggregation   COH             208133300015                Gas           Gov. Aggregation
VEDO            4016220912387720            Gas           Gov. Aggregation   COH             197012410049                Gas           Gov. Aggregation
VEDO            4019857452272509            Gas           Gov. Aggregation   COH             186451260035                Gas           Gov. Aggregation
VEDO            4019098292199334            Gas           Gov. Aggregation   COH             207364210016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4016387502104680            Gas           Gov. Aggregation   COH             208093610016                Gas           Gov. Aggregation
VEDO            4019986582413217            Gas           Gov. Aggregation   COH             205302560024                Gas           Gov. Aggregation
VEDO            4019285152116803            Gas           Gov. Aggregation   COH             207817290019                Gas           Gov. Aggregation
VEDO            4021175092492376            Gas           Gov. Aggregation   COH             207908900017                Gas           Gov. Aggregation
VEDO            4003249622321052            Gas           Gov. Aggregation   COH             207904830010                Gas           Gov. Aggregation
VEDO            4020236952340244            Gas           Gov. Aggregation   COH             206373900022                Gas           Gov. Aggregation
VEDO            4017975392312197            Gas           Gov. Aggregation   COH             163299330040                Gas           Gov. Aggregation
VEDO            4002828602400697            Gas           Gov. Aggregation   COH             145323960029                Gas           Gov. Aggregation
VEDO            4019951522313768            Gas           Gov. Aggregation   COH             163086900069                Gas           Gov. Aggregation
VEDO            4019115892190164            Gas           Gov. Aggregation   COH             186932900129                Gas           Gov. Aggregation
VEDO            4003482862241929            Gas           Gov. Aggregation   COH             187322280060                Gas           Gov. Aggregation
VEDO            4018605302277846            Gas           Gov. Aggregation   COH             208100520018                Gas           Gov. Aggregation
VEDO            4017576952151606            Gas           Gov. Aggregation   COH             208074700017                Gas           Gov. Aggregation
VEDO            4019451882291320            Gas           Gov. Aggregation   COH             172754690039                Gas           Gov. Aggregation
VEDO            4017318092364661            Gas           Gov. Aggregation   COH             190850430073                Gas           Gov. Aggregation
VEDO            4016259732271817            Gas           Gov. Aggregation   COH             205340420032                Gas           Gov. Aggregation
VEDO            4001617142446844            Gas           Gov. Aggregation   COH             206163420019                Gas           Gov. Aggregation
VEDO            4020305332294255            Gas           Gov. Aggregation   COH             206522850017                Gas           Gov. Aggregation
VEDO            4002700432264934            Gas           Gov. Aggregation   COH             206641860013                Gas           Gov. Aggregation
VEDO            4020918712502645            Gas           Gov. Aggregation   COH             208093630012                Gas           Gov. Aggregation
VEDO            4010046442181489            Gas           Gov. Aggregation   COH             112137990036                Gas           Gov. Aggregation
VEDO            4001617142357683            Gas           Gov. Aggregation   COH             112190300029                Gas           Gov. Aggregation
VEDO            4018817122163822            Gas           Gov. Aggregation   COH             121920180043                Gas           Gov. Aggregation
VEDO            4021022312526404            Gas           Gov. Aggregation   COH             177315880070                Gas           Gov. Aggregation
VEDO            4002152372445727            Gas           Gov. Aggregation   COH             207744980019                Gas           Gov. Aggregation
VEDO            4001734822337665            Gas           Gov. Aggregation   COH             207762790011                Gas           Gov. Aggregation
VEDO            4021191632523175            Gas           Gov. Aggregation   COH             207797910012                Gas           Gov. Aggregation
VEDO            4019357002306041            Gas           Gov. Aggregation   COH             207904840018                Gas           Gov. Aggregation
VEDO            4020175992310679            Gas           Gov. Aggregation   COH             207915870019                Gas           Gov. Aggregation
VEDO            4019458652341225            Gas           Gov. Aggregation   COH             208015850010                Gas           Gov. Aggregation
VEDO            4019951752105399            Gas           Gov. Aggregation   COH             208110800018                Gas           Gov. Aggregation
VEDO            4002322262448783            Gas           Gov. Aggregation   COH             139360240057                Gas           Gov. Aggregation
VEDO            4016440872454542            Gas           Gov. Aggregation   COH             188753680044                Gas           Gov. Aggregation
VEDO            4020877112322618            Gas           Gov. Aggregation   COH             202336760024                Gas           Gov. Aggregation
VEDO            4017936042201676            Gas           Gov. Aggregation   COH             206913930011                Gas           Gov. Aggregation
VEDO            4018455572345984            Gas           Gov. Aggregation   COH             206880040019                Gas           Gov. Aggregation
VEDO            4019083612248073            Gas           Gov. Aggregation   COH             206699170026                Gas           Gov. Aggregation
VEDO            4019959582383387            Gas           Gov. Aggregation   COH             176487660029                Gas           Gov. Aggregation
VEDO            4003511502348413            Gas           Gov. Aggregation   COH             148724720062                Gas           Gov. Aggregation
VEDO            4020250582270213            Gas           Gov. Aggregation   COH             206424240013                Gas           Gov. Aggregation
VEDO            4020940352355343            Gas           Gov. Aggregation   COH             175709170129                Gas           Gov. Aggregation
VEDO            4003729802371562            Gas           Gov. Aggregation   COH             207017370018                Gas           Gov. Aggregation
VEDO            4001834722179044            Gas           Gov. Aggregation   COH             207826860010                Gas           Gov. Aggregation
VEDO            4021179242489371            Gas           Gov. Aggregation   COH             139888810031                Gas           Gov. Aggregation
VEDO            4020293202494151            Gas           Gov. Aggregation   COH             199691820043                Gas           Gov. Aggregation
VEDO            4020056882232717            Gas           Gov. Aggregation   COH             143900900010                Gas           Gov. Aggregation
VEDO            4020286092383911            Gas           Gov. Aggregation   COH             171608970058                Gas           Gov. Aggregation
VEDO            4002377792165842            Gas           Gov. Aggregation   COH             159338880047                Gas           Gov. Aggregation
VEDO            4021034142288659            Gas           Gov. Aggregation   COH             197870350044                Gas           Gov. Aggregation
VEDO            4003552062352681            Gas           Gov. Aggregation   COH             193070160035                Gas           Gov. Aggregation
VEDO            4001634302159815            Gas           Gov. Aggregation   COH             207211060011                Gas           Gov. Aggregation
VEDO            4018361812235171            Gas           Gov. Aggregation   COH             196597830026                Gas           Gov. Aggregation
COH             207210340014                Gas           Gov. Aggregation   COH             167584450037                Gas           Gov. Aggregation
COH             190380740048                Gas           Gov. Aggregation   COH             207806940015                Gas           Gov. Aggregation
COH             161538190035                Gas           Gov. Aggregation   COH             206536870014                Gas           Gov. Aggregation
DEO             7180012112484               Gas           Gov. Aggregation   COH             190659860024                Gas           Gov. Aggregation
VEDO            4004955122501536            Gas           Gov. Aggregation   COH             130534910047                Gas           Gov. Aggregation
DEO             3421703203371               Gas           Gov. Aggregation   COH             143745740023                Gas           Gov. Aggregation
DEO             7180012246016               Gas           Gov. Aggregation   COH             173796420027                Gas           Gov. Aggregation
VEDO            4001114452110859            Gas           Gov. Aggregation   COH             112286300017                Gas           Gov. Aggregation
DEO             3180012144688               Gas           Gov. Aggregation   COH             148924850043                Gas           Gov. Aggregation
VEDO            4003449892342025            Gas           Gov. Aggregation   COH             203821840027                Gas           Gov. Aggregation
VEDO            4003878262362471            Gas           Gov. Aggregation   COH             141005020060                Gas           Gov. Aggregation
DEO             7180012273824               Gas           Gov. Aggregation   COH             207211070019                Gas           Gov. Aggregation
COH             161421780010                Gas           Gov. Aggregation   COH             207510920016                Gas           Gov. Aggregation
COH             195079700031                Gas           Gov. Aggregation   COH             147661680075                Gas           Gov. Aggregation
COH             197545570038                Gas           Gov. Aggregation   COH             208149290015                Gas           Gov. Aggregation
COH             122271590016                Gas           Gov. Aggregation   COH             207093160012                Gas           Gov. Aggregation
COH             196289530022                Gas           Gov. Aggregation   COH             204547860024                Gas           Gov. Aggregation
COH             122271440017                Gas           Gov. Aggregation   COH             206373470014                Gas           Gov. Aggregation
COH             145562150014                Gas           Gov. Aggregation   COH             192340030030                Gas           Gov. Aggregation
COH             169779970024                Gas           Gov. Aggregation   COH             137704760069                Gas           Gov. Aggregation
COH             143339830025                Gas           Gov. Aggregation   COH             206292470016                Gas           Gov. Aggregation
COH             122271420011                Gas           Gov. Aggregation   COH             206389070015                Gas           Gov. Aggregation
COH             193616630010                Gas           Gov. Aggregation   COH             206886770014                Gas           Gov. Aggregation
COH             134005580035                Gas           Gov. Aggregation   COH             207058710010                Gas           Gov. Aggregation
COH             165825760069                Gas           Gov. Aggregation   COH             207622030016                Gas           Gov. Aggregation
COH             173388470013                Gas           Gov. Aggregation   COH             192147730097                Gas           Gov. Aggregation
COH             122272340016                Gas           Gov. Aggregation   COH             194087440049                Gas           Gov. Aggregation
COH             200884010022                Gas           Gov. Aggregation   COH             196053080044                Gas           Gov. Aggregation
COH             122272510010                Gas           Gov. Aggregation   COH             196681800041                Gas           Gov. Aggregation
COH             196297380045                Gas           Gov. Aggregation   COH             197645510010                Gas           Gov. Aggregation
COH             198609320015                Gas           Gov. Aggregation   COH             201546080032                Gas           Gov. Aggregation
COH             166340980015                Gas           Gov. Aggregation   COH             203842500024                Gas           Gov. Aggregation
COH             195659240010                Gas           Gov. Aggregation   COH             206644060024                Gas           Gov. Aggregation
COH             122272710018                Gas           Gov. Aggregation   COH             206686380010                Gas           Gov. Aggregation
COH             136289430016                Gas           Gov. Aggregation   COH             206918900017                Gas           Gov. Aggregation
COH             199824710016                Gas           Gov. Aggregation   COH             207053510012                Gas           Gov. Aggregation
COH             122270470013                Gas           Gov. Aggregation   COH             207068880014                Gas           Gov. Aggregation
COH             207119690015                Gas           Gov. Aggregation   COH             207158190018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             206827420057                Gas           Gov. Aggregation   COH             207811620011                Gas           Gov. Aggregation
COH             191974700019                Gas           Gov. Aggregation   COH             207848710015                Gas           Gov. Aggregation
COH             197271760057                Gas           Gov. Aggregation   COH             207862440012                Gas           Gov. Aggregation
COH             205010720010                Gas           Gov. Aggregation   COH             208060240013                Gas           Gov. Aggregation
COH             185050780073                Gas           Gov. Aggregation   COH             208149280017                Gas           Gov. Aggregation
COH             193788880033                Gas           Gov. Aggregation   COH             112476250033                Gas           Gov. Aggregation
COH             193788880015                Gas           Gov. Aggregation   COH             175616490076                Gas           Gov. Aggregation
COH             187466280039                Gas           Gov. Aggregation   COH             207408140026                Gas           Gov. Aggregation
COH             194730680026                Gas           Gov. Aggregation   COH             207655050013                Gas           Gov. Aggregation
COH             177147140054                Gas           Gov. Aggregation   COH             201097630020                Gas           Gov. Aggregation
COH             207385530015                Gas           Gov. Aggregation   COH             207841440016                Gas           Gov. Aggregation
COH             202525840017                Gas           Gov. Aggregation   COH             207541610016                Gas           Gov. Aggregation
COH             150750570010                Gas           Gov. Aggregation   COH             196643970046                Gas           Gov. Aggregation
COH             192884270010                Gas           Gov. Aggregation   COH             192616760069                Gas           Gov. Aggregation
COH             177357020063                Gas           Gov. Aggregation   COH             204337300026                Gas           Gov. Aggregation
COH             199969390027                Gas           Gov. Aggregation   COH             204093010043                Gas           Gov. Aggregation
COH             124825780028                Gas           Gov. Aggregation   COH             207408170011                Gas           Gov. Aggregation
COH             200143750027                Gas           Gov. Aggregation   COH             207868620012                Gas           Gov. Aggregation
COH             166199720010                Gas           Gov. Aggregation   COH             207268700017                Gas           Gov. Aggregation
COH             202837180015                Gas           Gov. Aggregation   COH             207037360018                Gas           Gov. Aggregation
COH             122163880014                Gas           Gov. Aggregation   COH             195052020058                Gas           Gov. Aggregation
COH             201080360013                Gas           Gov. Aggregation   COH             145175800036                Gas           Gov. Aggregation
COH             204813380020                Gas           Gov. Aggregation   COH             166995120063                Gas           Gov. Aggregation
COH             167632210061                Gas           Gov. Aggregation   COH             204300400031                Gas           Gov. Aggregation
COH             122162950011                Gas           Gov. Aggregation   COH             206003460019                Gas           Gov. Aggregation
COH             177420730014                Gas           Gov. Aggregation   COH             122190440162                Gas           Gov. Aggregation
COH             142271700018                Gas           Gov. Aggregation   COH             187108110023                Gas           Gov. Aggregation
COH             192542330066                Gas           Gov. Aggregation   DUKE            9430015220                  Gas           Gov. Aggregation
COH             205367080010                Gas           Gov. Aggregation   COH             151113830014                Gas           Gov. Aggregation
COH             201242430014                Gas           Gov. Aggregation   VEDO            4004669542474170            Gas           Gov. Aggregation
COH             205042540011                Gas           Gov. Aggregation   DEO             3180013354836               Gas           Gov. Aggregation
COH             199881240015                Gas           Gov. Aggregation   DEO             9420902391446               Gas           Gov. Aggregation
COH             122249980100                Gas           Gov. Aggregation   COH             163068640035                Gas           Gov. Aggregation
COH             199748880031                Gas           Gov. Aggregation   COH             202798170020                Gas           Gov. Aggregation
COH             201553680013                Gas           Gov. Aggregation   COH             202565220013                Gas           Gov. Aggregation
COH             165158000027                Gas           Gov. Aggregation   COH             194021570022                Gas           Gov. Aggregation
COH             205508670016                Gas           Gov. Aggregation   COH             205274110010                Gas           Gov. Aggregation
COH             194829210016                Gas           Gov. Aggregation   COH             193837990026                Gas           Gov. Aggregation
COH             131492740015                Gas           Gov. Aggregation   COH             206716330033                Gas           Gov. Aggregation
COH             189910150022                Gas           Gov. Aggregation   COH             200109850037                Gas           Gov. Aggregation
COH             197540380038                Gas           Gov. Aggregation   COH             206716330015                Gas           Gov. Aggregation
COH             187192060018                Gas           Gov. Aggregation   COH             118092390023                Gas           Gov. Aggregation
COH             170235890011                Gas           Gov. Aggregation   COH             165925920027                Gas           Gov. Aggregation
COH             204265640019                Gas           Gov. Aggregation   COH             203554470013                Gas           Gov. Aggregation
COH             203532890011                Gas           Gov. Aggregation   COH             201944200014                Gas           Gov. Aggregation
COH             202687430011                Gas           Gov. Aggregation   COH             199305220019                Gas           Gov. Aggregation
COH             198795600013                Gas           Gov. Aggregation   COH             117557130022                Gas           Gov. Aggregation
COH             192169670012                Gas           Gov. Aggregation   COH             200074400018                Gas           Gov. Aggregation
COH             122271150018                Gas           Gov. Aggregation   COH             117252770060                Gas           Gov. Aggregation
COH             207169600018                Gas           Gov. Aggregation   COH             122332000028                Gas           Gov. Aggregation
COH             203925130026                Gas           Gov. Aggregation   COH             116976610033                Gas           Gov. Aggregation
COH             174768450065                Gas           Gov. Aggregation   COH             165405740018                Gas           Gov. Aggregation
COH             202772130013                Gas           Gov. Aggregation   COH             206197540013                Gas           Gov. Aggregation
COH             175250060018                Gas           Gov. Aggregation   COH             205501620010                Gas           Gov. Aggregation
COH             193972380046                Gas           Gov. Aggregation   COH             205330740018                Gas           Gov. Aggregation
COH             174766150035                Gas           Gov. Aggregation   COH             207142710011                Gas           Gov. Aggregation
COH             204266250019                Gas           Gov. Aggregation   COH             204791730015                Gas           Gov. Aggregation
COH             206471230016                Gas           Gov. Aggregation   COH             200607000011                Gas           Gov. Aggregation
COH             122270640017                Gas           Gov. Aggregation   COH             203843740022                Gas           Gov. Aggregation
COH             143881990032                Gas           Gov. Aggregation   COH             200414140020                Gas           Gov. Aggregation
COH             200141510012                Gas           Gov. Aggregation   COH             199239010023                Gas           Gov. Aggregation
COH             171419340015                Gas           Gov. Aggregation   COH             205990970012                Gas           Gov. Aggregation
COH             132583390015                Gas           Gov. Aggregation   COH             202876020016                Gas           Gov. Aggregation
COH             163177860010                Gas           Gov. Aggregation   COH             206422930012                Gas           Gov. Aggregation
COH             198770620011                Gas           Gov. Aggregation   COH             201445300011                Gas           Gov. Aggregation
COH             132727900100                Gas           Gov. Aggregation   COH             195736320073                Gas           Gov. Aggregation
COH             205762360013                Gas           Gov. Aggregation   COH             203127700037                Gas           Gov. Aggregation
COH             122797000024                Gas           Gov. Aggregation   COH             203127700046                Gas           Gov. Aggregation
COH             203713840017                Gas           Gov. Aggregation   COH             207952420015                Gas           Gov. Aggregation
COH             157808380038                Gas           Gov. Aggregation   COH             197847040039                Gas           Gov. Aggregation
COH             122274980018                Gas           Gov. Aggregation   COH             203767390037                Gas           Gov. Aggregation
COH             172755030044                Gas           Gov. Aggregation   COH             198600180022                Gas           Gov. Aggregation
COH             136024210101                Gas           Gov. Aggregation   COH             204344240015                Gas           Gov. Aggregation
COH             197831220034                Gas           Gov. Aggregation   COH             204546500012                Gas           Gov. Aggregation
COH             136660480027                Gas           Gov. Aggregation   COH             204228910010                Gas           Gov. Aggregation
COH             151292620010                Gas           Gov. Aggregation   COH             204766050039                Gas           Gov. Aggregation
COH             201135280013                Gas           Gov. Aggregation   COH             207131700016                Gas           Gov. Aggregation
COH             163584360021                Gas           Gov. Aggregation   COH             153072230052                Gas           Gov. Aggregation
COH             122274770012                Gas           Gov. Aggregation   COH             206051540011                Gas           Gov. Aggregation
COH             162195500018                Gas           Gov. Aggregation   COH             143074790026                Gas           Gov. Aggregation
COH             199476390013                Gas           Gov. Aggregation   COH             205171520012                Gas           Gov. Aggregation
COH             206286860017                Gas           Gov. Aggregation   COH             193017300028                Gas           Gov. Aggregation
COH             194147030010                Gas           Gov. Aggregation   COH             207547500017                Gas           Gov. Aggregation
COH             204092180013                Gas           Gov. Aggregation   COH             205646030018                Gas           Gov. Aggregation
COH             206074770015                Gas           Gov. Aggregation   COH             162310510029                Gas           Gov. Aggregation
COH             199087750012                Gas           Gov. Aggregation   COH             193086630097                Gas           Gov. Aggregation
COH             201944960015                Gas           Gov. Aggregation   COH             195444880039                Gas           Gov. Aggregation
COH             201544740019                Gas           Gov. Aggregation   COH             208073960015                Gas           Gov. Aggregation
COH             195505440013                Gas           Gov. Aggregation   COH             190252730023                Gas           Gov. Aggregation
COH             165305570089                Gas           Gov. Aggregation   COH             203569980024                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             143111320033                Gas           Gov. Aggregation   COH             204498630018                Gas           Gov. Aggregation
COH             143394360019                Gas           Gov. Aggregation   COH             160108340035                Gas           Gov. Aggregation
COH             165703550016                Gas           Gov. Aggregation   COH             208008200011                Gas           Gov. Aggregation
COH             203269690012                Gas           Gov. Aggregation   COH             167904890035                Gas           Gov. Aggregation
COH             188541700020                Gas           Gov. Aggregation   COH             208185340018                Gas           Gov. Aggregation
COH             146275850015                Gas           Gov. Aggregation   COH             195914190028                Gas           Gov. Aggregation
COH             150263850014                Gas           Gov. Aggregation   COH             206915200010                Gas           Gov. Aggregation
COH             122162590017                Gas           Gov. Aggregation   COH             207000460014                Gas           Gov. Aggregation
COH             199742950029                Gas           Gov. Aggregation   COH             188338570038                Gas           Gov. Aggregation
COH             166039600013                Gas           Gov. Aggregation   COH             207307670010                Gas           Gov. Aggregation
COH             194260940028                Gas           Gov. Aggregation   COH             188627600074                Gas           Gov. Aggregation
COH             133422650028                Gas           Gov. Aggregation   COH             198781110024                Gas           Gov. Aggregation
COH             195938540024                Gas           Gov. Aggregation   COH             187881060017                Gas           Gov. Aggregation
COH             204545810019                Gas           Gov. Aggregation   COH             207186260014                Gas           Gov. Aggregation
COH             157035190028                Gas           Gov. Aggregation   COH             207123880016                Gas           Gov. Aggregation
COH             170840230016                Gas           Gov. Aggregation   COH             207374520010                Gas           Gov. Aggregation
COH             203269800027                Gas           Gov. Aggregation   COH             152569380031                Gas           Gov. Aggregation
COH             131623730018                Gas           Gov. Aggregation   COH             194049590084                Gas           Gov. Aggregation
COH             189077040014                Gas           Gov. Aggregation   COH             204222350029                Gas           Gov. Aggregation
COH             140368660014                Gas           Gov. Aggregation   COH             207096230011                Gas           Gov. Aggregation
COH             193638260067                Gas           Gov. Aggregation   COH             174375120021                Gas           Gov. Aggregation
COH             200103420020                Gas           Gov. Aggregation   COH             204082730027                Gas           Gov. Aggregation
COH             203074990012                Gas           Gov. Aggregation   COH             208167010015                Gas           Gov. Aggregation
COH             158668170020                Gas           Gov. Aggregation   COH             119049710034                Gas           Gov. Aggregation
COH             201703240016                Gas           Gov. Aggregation   COH             206435040012                Gas           Gov. Aggregation
COH             200631950011                Gas           Gov. Aggregation   COH             195955280041                Gas           Gov. Aggregation
COH             188727300020                Gas           Gov. Aggregation   COH             132698210037                Gas           Gov. Aggregation
COH             193309030017                Gas           Gov. Aggregation   COH             134768010127                Gas           Gov. Aggregation
COH             174689950031                Gas           Gov. Aggregation   COH             118262760024                Gas           Gov. Aggregation
COH             200716490018                Gas           Gov. Aggregation   COH             203934550029                Gas           Gov. Aggregation
COH             122260140031                Gas           Gov. Aggregation   COH             174843510026                Gas           Gov. Aggregation
COH             169031390011                Gas           Gov. Aggregation   COH             134377830017                Gas           Gov. Aggregation
COH             172326890016                Gas           Gov. Aggregation   COH             202894090014                Gas           Gov. Aggregation
COH             198409300022                Gas           Gov. Aggregation   COH             206578370011                Gas           Gov. Aggregation
COH             145882710027                Gas           Gov. Aggregation   COH             206204410013                Gas           Gov. Aggregation
COH             157422750056                Gas           Gov. Aggregation   COH             206643550014                Gas           Gov. Aggregation
COH             139252020034                Gas           Gov. Aggregation   COH             140067780035                Gas           Gov. Aggregation
COH             175500200035                Gas           Gov. Aggregation   COH             168619100052                Gas           Gov. Aggregation
COH             133935680034                Gas           Gov. Aggregation   COH             143840990029                Gas           Gov. Aggregation
COH             122232840024                Gas           Gov. Aggregation   COH             205991060011                Gas           Gov. Aggregation
COH             153472920013                Gas           Gov. Aggregation   COH             204825580014                Gas           Gov. Aggregation
COH             169438220014                Gas           Gov. Aggregation   COH             207964390017                Gas           Gov. Aggregation
COH             145957160033                Gas           Gov. Aggregation   COH             205585310019                Gas           Gov. Aggregation
COH             199573180011                Gas           Gov. Aggregation   COH             190917130029                Gas           Gov. Aggregation
COH             155226100014                Gas           Gov. Aggregation   COH             205972450019                Gas           Gov. Aggregation
COH             163163410022                Gas           Gov. Aggregation   COH             170225120022                Gas           Gov. Aggregation
COH             189186070026                Gas           Gov. Aggregation   COH             196013030020                Gas           Gov. Aggregation
COH             125276770024                Gas           Gov. Aggregation   COH             194952230039                Gas           Gov. Aggregation
COH             130674640057                Gas           Gov. Aggregation   COH             205060530024                Gas           Gov. Aggregation
COH             206793910011                Gas           Gov. Aggregation   COH             204449260019                Gas           Gov. Aggregation
COH             207139550012                Gas           Gov. Aggregation   COH             166341230056                Gas           Gov. Aggregation
COH             168635260019                Gas           Gov. Aggregation   COH             199700940038                Gas           Gov. Aggregation
COH             159803290026                Gas           Gov. Aggregation   COH             158077740041                Gas           Gov. Aggregation
COH             145825660037                Gas           Gov. Aggregation   COH             202789700027                Gas           Gov. Aggregation
COH             171237360017                Gas           Gov. Aggregation   COH             194685300022                Gas           Gov. Aggregation
COH             205172150018                Gas           Gov. Aggregation   COH             186815390027                Gas           Gov. Aggregation
COH             142497620017                Gas           Gov. Aggregation   COH             201497260039                Gas           Gov. Aggregation
COH             199499460010                Gas           Gov. Aggregation   COH             205624490018                Gas           Gov. Aggregation
COH             204725910025                Gas           Gov. Aggregation   COH             175130400038                Gas           Gov. Aggregation
COH             200470240030                Gas           Gov. Aggregation   COH             165335190022                Gas           Gov. Aggregation
COH             122273440013                Gas           Gov. Aggregation   COH             207222570011                Gas           Gov. Aggregation
COH             167788060019                Gas           Gov. Aggregation   COH             207633910018                Gas           Gov. Aggregation
COH             165482570030                Gas           Gov. Aggregation   COH             207960130019                Gas           Gov. Aggregation
COH             161009970032                Gas           Gov. Aggregation   COH             205457220019                Gas           Gov. Aggregation
COH             122273500010                Gas           Gov. Aggregation   COH             133023960010                Gas           Gov. Aggregation
COH             159151630027                Gas           Gov. Aggregation   COH             207553700012                Gas           Gov. Aggregation
COH             143590690023                Gas           Gov. Aggregation   COH             156577760021                Gas           Gov. Aggregation
COH             165801240013                Gas           Gov. Aggregation   COH             194641500040                Gas           Gov. Aggregation
COH             191730040014                Gas           Gov. Aggregation   COH             159792910020                Gas           Gov. Aggregation
COH             205739180010                Gas           Gov. Aggregation   COH             174688540020                Gas           Gov. Aggregation
COH             201323360017                Gas           Gov. Aggregation   VEDO            4003520822349395            Gas           Gov. Aggregation
COH             198210450022                Gas           Gov. Aggregation   VEDO            4004562072462194            Gas           Gov. Aggregation
COH             170094360012                Gas           Gov. Aggregation   COH             192284190037                Gas           Gov. Aggregation
COH             175317430018                Gas           Gov. Aggregation   COH             170994380029                Gas           Gov. Aggregation
COH             122059740032                Gas           Gov. Aggregation   COH             196533100032                Gas           Gov. Aggregation
COH             159139620025                Gas           Gov. Aggregation   COH             110988330015                Gas           Gov. Aggregation
COH             176628000027                Gas           Gov. Aggregation   VEDO            4003537432351111            Gas           Gov. Aggregation
COH             131727740025                Gas           Gov. Aggregation   COH             200497630023                Gas           Gov. Aggregation
COH             171586340021                Gas           Gov. Aggregation   COH             193505590023                Gas           Gov. Aggregation
COH             202870180024                Gas           Gov. Aggregation   COH             208094720011                Gas           Gov. Aggregation
COH             133733580024                Gas           Gov. Aggregation   COH             172919110021                Gas           Gov. Aggregation
COH             186879530014                Gas           Gov. Aggregation   COH             188442630025                Gas           Gov. Aggregation
COH             122307300037                Gas           Gov. Aggregation   COH             204004810033                Gas           Gov. Aggregation
COH             138902030025                Gas           Gov. Aggregation   COH             207291740010                Gas           Gov. Aggregation
COH             186528480018                Gas           Gov. Aggregation   COH             174409330042                Gas           Gov. Aggregation
COH             194090780023                Gas           Gov. Aggregation   COH             192548250034                Gas           Gov. Aggregation
COH             170489030014                Gas           Gov. Aggregation   COH             206502840011                Gas           Gov. Aggregation
COH             194803450010                Gas           Gov. Aggregation   COH             206589770014                Gas           Gov. Aggregation
COH             193695370019                Gas           Gov. Aggregation   COH             173748530016                Gas           Gov. Aggregation
COH             150051080024                Gas           Gov. Aggregation   COH             193178090041                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             200044620024                Gas           Gov. Aggregation   VEDO            4004406862445166            Gas           Gov. Aggregation
COH             177396100028                Gas           Gov. Aggregation   VEDO            4004760892484154            Gas           Gov. Aggregation
COH             187996080038                Gas           Gov. Aggregation   COH             122376760018                Gas           Gov. Aggregation
COH             203951300025                Gas           Gov. Aggregation   DEO             2180011556340               Gas           Gov. Aggregation
COH             207087440016                Gas           Gov. Aggregation   DEO             9180011270488               Gas           Gov. Aggregation
COH             207246550015                Gas           Gov. Aggregation   DEO             8180013345024               Gas           Gov. Aggregation
VEDO            4002985742461344            Gas           Gov. Aggregation   DEO             6180011204611               Gas           Gov. Aggregation
COH             197672250027                Gas           Gov. Aggregation   DEO             8180013236992               Gas           Gov. Aggregation
COH             186386170033                Gas           Gov. Aggregation   DEO             2180013258227               Gas           Gov. Aggregation
COH             164729200034                Gas           Gov. Aggregation   DEO             9180006279340               Gas           Gov. Aggregation
COH             172303940031                Gas           Gov. Aggregation   DEO             2180011649839               Gas           Gov. Aggregation
COH             188366460023                Gas           Gov. Aggregation   DEO             4180010971601               Gas           Gov. Aggregation
COH             206647820019                Gas           Gov. Aggregation   DEO             9180012297098               Gas           Gov. Aggregation
COH             141468580045                Gas           Gov. Aggregation   DEO             1180013250776               Gas           Gov. Aggregation
COH             204838310013                Gas           Gov. Aggregation   DEO             7180012480814               Gas           Gov. Aggregation
COH             148666310026                Gas           Gov. Aggregation   DEO             5180013111534               Gas           Gov. Aggregation
COH             204315980011                Gas           Gov. Aggregation   DEO             1180012451562               Gas           Gov. Aggregation
COH             186940530040                Gas           Gov. Aggregation   DEO             3180013105628               Gas           Gov. Aggregation
COH             198303290038                Gas           Gov. Aggregation   DEO             7180013977910               Gas           Gov. Aggregation
COH             163793860023                Gas           Gov. Aggregation   DEO             6500032645828               Gas           Gov. Aggregation
COH             198426280030                Gas           Gov. Aggregation   DEO             6180013975085               Gas           Gov. Aggregation
COH             159428940070                Gas           Gov. Aggregation   DEO             7180011275507               Gas           Gov. Aggregation
COH             206907850011                Gas           Gov. Aggregation   DEO             2180012653649               Gas           Gov. Aggregation
COH             204697600012                Gas           Gov. Aggregation   DEO             9180013496925               Gas           Gov. Aggregation
COH             157854540037                Gas           Gov. Aggregation   DEO             4180012935970               Gas           Gov. Aggregation
COH             146337830044                Gas           Gov. Aggregation   DEO             5180013557250               Gas           Gov. Aggregation
COH             165506900029                Gas           Gov. Aggregation   DEO             9180013900097               Gas           Gov. Aggregation
COH             169659410016                Gas           Gov. Aggregation   DEO             8180011969673               Gas           Gov. Aggregation
COH             194956960038                Gas           Gov. Aggregation   DEO             0180012615964               Gas           Gov. Aggregation
COH             205312110018                Gas           Gov. Aggregation   DEO             2180013765396               Gas           Gov. Aggregation
COH             205430310016                Gas           Gov. Aggregation   DEO             4180012518196               Gas           Gov. Aggregation
COH             205444350019                Gas           Gov. Aggregation   DEO             6180013822606               Gas           Gov. Aggregation
COH             207216240013                Gas           Gov. Aggregation   DEO             8180013362965               Gas           Gov. Aggregation
COH             207325570013                Gas           Gov. Aggregation   DEO             3180012990570               Gas           Gov. Aggregation
COH             205656720012                Gas           Gov. Aggregation   DEO             1180011545751               Gas           Gov. Aggregation
COH             206785050019                Gas           Gov. Aggregation   DEO             9180011952953               Gas           Gov. Aggregation
COH             205255840017                Gas           Gov. Aggregation   DEO             3180012480686               Gas           Gov. Aggregation
COH             138892280035                Gas           Gov. Aggregation   DEO             4180013791601               Gas           Gov. Aggregation
COH             124301150039                Gas           Gov. Aggregation   DEO             9180012224347               Gas           Gov. Aggregation
COH             206213590017                Gas           Gov. Aggregation   DEO             9180011799951               Gas           Gov. Aggregation
COH             166918560036                Gas           Gov. Aggregation   DEO             3180013677374               Gas           Gov. Aggregation
COH             123735280016                Gas           Gov. Aggregation   DEO             2180012985371               Gas           Gov. Aggregation
COH             190742760028                Gas           Gov. Aggregation   DEO             0180011541976               Gas           Gov. Aggregation
COH             206467560016                Gas           Gov. Aggregation   DEO             4180012513300               Gas           Gov. Aggregation
COH             204515880018                Gas           Gov. Aggregation   DEO             8180013600166               Gas           Gov. Aggregation
COH             204017270012                Gas           Gov. Aggregation   DEO             2180013716786               Gas           Gov. Aggregation
COH             206516700011                Gas           Gov. Aggregation   DEO             9180013419541               Gas           Gov. Aggregation
COH             204921870028                Gas           Gov. Aggregation   DEO             9180012263924               Gas           Gov. Aggregation
COH             203584460012                Gas           Gov. Aggregation   DEO             6180013188464               Gas           Gov. Aggregation
COH             199039610021                Gas           Gov. Aggregation   DEO             0180013867214               Gas           Gov. Aggregation
COH             206313500013                Gas           Gov. Aggregation   DEO             4180012764265               Gas           Gov. Aggregation
COH             185837430032                Gas           Gov. Aggregation   DEO             2180013847836               Gas           Gov. Aggregation
COH             167133240054                Gas           Gov. Aggregation   DEO             5180013751980               Gas           Gov. Aggregation
COH             206327220013                Gas           Gov. Aggregation   DEO             8180012144094               Gas           Gov. Aggregation
COH             204172560013                Gas           Gov. Aggregation   DEO             7180013669888               Gas           Gov. Aggregation
COH             207235430013                Gas           Gov. Aggregation   DEO             2180013359519               Gas           Gov. Aggregation
COH             203571840019                Gas           Gov. Aggregation   DEO             6180013968571               Gas           Gov. Aggregation
COH             205721050014                Gas           Gov. Aggregation   DEO             6180011014125               Gas           Gov. Aggregation
COH             123715010023                Gas           Gov. Aggregation   DEO             6180013350631               Gas           Gov. Aggregation
COH             207218650013                Gas           Gov. Aggregation   DEO             1180013614472               Gas           Gov. Aggregation
COH             123695630027                Gas           Gov. Aggregation   DEO             1180013614190               Gas           Gov. Aggregation
COH             204304940012                Gas           Gov. Aggregation   DEO             1180013614114               Gas           Gov. Aggregation
COH             204651600018                Gas           Gov. Aggregation   DEO             9180012201477               Gas           Gov. Aggregation
COH             203988470014                Gas           Gov. Aggregation   DEO             6180012685180               Gas           Gov. Aggregation
COH             191805040042                Gas           Gov. Aggregation   DEO             4180011523284               Gas           Gov. Aggregation
COH             139041170094                Gas           Gov. Aggregation   DEO             7180004285156               Gas           Gov. Aggregation
COH             204740750018                Gas           Gov. Aggregation   DEO             7180011695834               Gas           Gov. Aggregation
COH             206509640019                Gas           Gov. Aggregation   DEO             8180012088224               Gas           Gov. Aggregation
COH             196453360038                Gas           Gov. Aggregation   DEO             1180013591246               Gas           Gov. Aggregation
COH             202978040043                Gas           Gov. Aggregation   DEO             4180013909895               Gas           Gov. Aggregation
COH             206708110018                Gas           Gov. Aggregation   DEO             1180013324846               Gas           Gov. Aggregation
COH             207180480010                Gas           Gov. Aggregation   DEO             1180013328072               Gas           Gov. Aggregation
COH             203644960019                Gas           Gov. Aggregation   DEO             6180012464124               Gas           Gov. Aggregation
COH             206344830019                Gas           Gov. Aggregation   DEO             9180012097091               Gas           Gov. Aggregation
COH             199542260019                Gas           Gov. Aggregation   DEO             4180012820999               Gas           Gov. Aggregation
COH             133757280027                Gas           Gov. Aggregation   DEO             2180010995690               Gas           Gov. Aggregation
COH             149820580021                Gas           Gov. Aggregation   DEO             9180013427358               Gas           Gov. Aggregation
COH             203662010010                Gas           Gov. Aggregation   DEO             6180012783629               Gas           Gov. Aggregation
COH             135663470051                Gas           Gov. Aggregation   DEO             1180012965686               Gas           Gov. Aggregation
COH             204200760010                Gas           Gov. Aggregation   DEO             9180012968796               Gas           Gov. Aggregation
COH             204555860018                Gas           Gov. Aggregation   DEO             0180012862702               Gas           Gov. Aggregation
COH             202830920031                Gas           Gov. Aggregation   DEO             9180010999209               Gas           Gov. Aggregation
COH             200917040034                Gas           Gov. Aggregation   DEO             4180011322213               Gas           Gov. Aggregation
COH             195442550032                Gas           Gov. Aggregation   DEO             5180010895289               Gas           Gov. Aggregation
COH             206190120015                Gas           Gov. Aggregation   DEO             7180013725531               Gas           Gov. Aggregation
COH             175393980040                Gas           Gov. Aggregation   DEO             3180011057007               Gas           Gov. Aggregation
COH             204246830019                Gas           Gov. Aggregation   DEO             1180013721749               Gas           Gov. Aggregation
COH             198393510023                Gas           Gov. Aggregation   DEO             6180011435116               Gas           Gov. Aggregation
COH             204718960020                Gas           Gov. Aggregation   DEO             8180013202078               Gas           Gov. Aggregation
COH             149724960141                Gas           Gov. Aggregation   DEO             5180011449069               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             191258190024                Gas           Gov. Aggregation   DEO             9180012726955               Gas           Gov. Aggregation
COH             123637290012                Gas           Gov. Aggregation   DEO             4180012835695               Gas           Gov. Aggregation
COH             160988150013                Gas           Gov. Aggregation   DEO             9180013663194               Gas           Gov. Aggregation
COH             201947060027                Gas           Gov. Aggregation   DEO             7180013469877               Gas           Gov. Aggregation
COH             196364620023                Gas           Gov. Aggregation   DEO             0180013124074               Gas           Gov. Aggregation
COH             205685360017                Gas           Gov. Aggregation   DEO             9180011765910               Gas           Gov. Aggregation
COH             204436130013                Gas           Gov. Aggregation   DEO             8180013067789               Gas           Gov. Aggregation
COH             168951300029                Gas           Gov. Aggregation   DEO             9180013876225               Gas           Gov. Aggregation
COH             128812290033                Gas           Gov. Aggregation   DEO             1180013727960               Gas           Gov. Aggregation
COH             203247320024                Gas           Gov. Aggregation   DEO             2180013866035               Gas           Gov. Aggregation
COH             200402740029                Gas           Gov. Aggregation   DEO             6180013414092               Gas           Gov. Aggregation
COH             123965180029                Gas           Gov. Aggregation   DEO             7180012975307               Gas           Gov. Aggregation
COH             161211040038                Gas           Gov. Aggregation   DEO             9180011544043               Gas           Gov. Aggregation
COH             197177030023                Gas           Gov. Aggregation   DEO             7180011431066               Gas           Gov. Aggregation
COH             136601480049                Gas           Gov. Aggregation   DEO             7180013926456               Gas           Gov. Aggregation
COH             206321880017                Gas           Gov. Aggregation   DEO             3180012367643               Gas           Gov. Aggregation
COH             201826810025                Gas           Gov. Aggregation   DEO             6180012042342               Gas           Gov. Aggregation
COH             204274100013                Gas           Gov. Aggregation   DEO             0180012781710               Gas           Gov. Aggregation
COH             132490870039                Gas           Gov. Aggregation   DEO             0180011008733               Gas           Gov. Aggregation
COH             197373970039                Gas           Gov. Aggregation   DEO             4180011037281               Gas           Gov. Aggregation
COH             203855180016                Gas           Gov. Aggregation   DEO             9180013828871               Gas           Gov. Aggregation
COH             206483870017                Gas           Gov. Aggregation   DEO             4180013357163               Gas           Gov. Aggregation
COH             205769160011                Gas           Gov. Aggregation   DEO             2180013280184               Gas           Gov. Aggregation
COH             152048350031                Gas           Gov. Aggregation   DEO             9180013006404               Gas           Gov. Aggregation
COH             205535400015                Gas           Gov. Aggregation   DEO             4180012621074               Gas           Gov. Aggregation
COH             206844380014                Gas           Gov. Aggregation   DEO             0180010908273               Gas           Gov. Aggregation
COH             188393590038                Gas           Gov. Aggregation   DEO             8180012506216               Gas           Gov. Aggregation
COH             206405570014                Gas           Gov. Aggregation   DEO             9180011919313               Gas           Gov. Aggregation
COH             207209100017                Gas           Gov. Aggregation   DEO             7180013345997               Gas           Gov. Aggregation
COH             200692920028                Gas           Gov. Aggregation   DEO             7180013538944               Gas           Gov. Aggregation
COH             203306550011                Gas           Gov. Aggregation   DEO             8180010995509               Gas           Gov. Aggregation
COH             205535390018                Gas           Gov. Aggregation   DEO             8180013512496               Gas           Gov. Aggregation
COH             200472270030                Gas           Gov. Aggregation   DEO             9180013498972               Gas           Gov. Aggregation
COH             203918290019                Gas           Gov. Aggregation   DEO             0180013779263               Gas           Gov. Aggregation
COH             206483820017                Gas           Gov. Aggregation   DEO             2180012709082               Gas           Gov. Aggregation
COH             151161400022                Gas           Gov. Aggregation   DEO             9180012942608               Gas           Gov. Aggregation
COH             137984000011                Gas           Gov. Aggregation   DEO             6180013904644               Gas           Gov. Aggregation
COH             203764360011                Gas           Gov. Aggregation   DEO             8180012387700               Gas           Gov. Aggregation
COH             203610180014                Gas           Gov. Aggregation   DEO             9180011298735               Gas           Gov. Aggregation
COH             201809630029                Gas           Gov. Aggregation   DEO             1180013011740               Gas           Gov. Aggregation
COH             186143620032                Gas           Gov. Aggregation   DEO             6420905612909               Gas           Gov. Aggregation
COH             174228100035                Gas           Gov. Aggregation   DEO             5180011002430               Gas           Gov. Aggregation
COH             206066530012                Gas           Gov. Aggregation   DEO             1180013916393               Gas           Gov. Aggregation
COH             207326010018                Gas           Gov. Aggregation   DEO             5180012300157               Gas           Gov. Aggregation
COH             206775160017                Gas           Gov. Aggregation   DEO             3180012842072               Gas           Gov. Aggregation
COH             206408310012                Gas           Gov. Aggregation   DEO             5180011253413               Gas           Gov. Aggregation
COH             160749480047                Gas           Gov. Aggregation   DEO             9180013664995               Gas           Gov. Aggregation
COH             123660960674                Gas           Gov. Aggregation   DEO             2180011240462               Gas           Gov. Aggregation
COH             205903980013                Gas           Gov. Aggregation   DEO             4180013389744               Gas           Gov. Aggregation
COH             196494890031                Gas           Gov. Aggregation   DEO             8180013513746               Gas           Gov. Aggregation
COH             197999420010                Gas           Gov. Aggregation   DEO             0180012795894               Gas           Gov. Aggregation
COH             123716660016                Gas           Gov. Aggregation   DEO             8180013995352               Gas           Gov. Aggregation
COH             123681370030                Gas           Gov. Aggregation   DEO             8180011709575               Gas           Gov. Aggregation
COH             206509610015                Gas           Gov. Aggregation   DEO             3180013102757               Gas           Gov. Aggregation
COH             206261100018                Gas           Gov. Aggregation   DEO             3180013675913               Gas           Gov. Aggregation
COH             204884290011                Gas           Gov. Aggregation   DEO             3180012557908               Gas           Gov. Aggregation
COH             188565110033                Gas           Gov. Aggregation   DEO             2180012779449               Gas           Gov. Aggregation
COH             196606910055                Gas           Gov. Aggregation   DEO             5180011506565               Gas           Gov. Aggregation
COH             137915700019                Gas           Gov. Aggregation   DEO             6180012647932               Gas           Gov. Aggregation
COH             200097010030                Gas           Gov. Aggregation   DEO             0180011143751               Gas           Gov. Aggregation
COH             199347540032                Gas           Gov. Aggregation   DEO             0180011550663               Gas           Gov. Aggregation
COH             204081440011                Gas           Gov. Aggregation   DEO             3180013753289               Gas           Gov. Aggregation
COH             206367710016                Gas           Gov. Aggregation   DEO             5180011356767               Gas           Gov. Aggregation
COH             200688060153                Gas           Gov. Aggregation   DEO             5180011406312               Gas           Gov. Aggregation
COH             206232360015                Gas           Gov. Aggregation   DEO             6180013431943               Gas           Gov. Aggregation
COH             163015390075                Gas           Gov. Aggregation   DEO             7180011193620               Gas           Gov. Aggregation
COH             205940530019                Gas           Gov. Aggregation   DEO             6180012539840               Gas           Gov. Aggregation
COH             190202580048                Gas           Gov. Aggregation   DEO             7180012520666               Gas           Gov. Aggregation
COH             206532150013                Gas           Gov. Aggregation   DEO             1180012068447               Gas           Gov. Aggregation
COH             206554630025                Gas           Gov. Aggregation   DEO             3180013835010               Gas           Gov. Aggregation
COH             203869630012                Gas           Gov. Aggregation   DEO             0180013568682               Gas           Gov. Aggregation
COH             198076470051                Gas           Gov. Aggregation   DEO             2180011429617               Gas           Gov. Aggregation
COH             200140670011                Gas           Gov. Aggregation   DEO             3180013763335               Gas           Gov. Aggregation
COH             204086680011                Gas           Gov. Aggregation   DEO             0180013518656               Gas           Gov. Aggregation
COH             204086680039                Gas           Gov. Aggregation   DEO             1180012586946               Gas           Gov. Aggregation
COH             204086680057                Gas           Gov. Aggregation   DEO             0180012624806               Gas           Gov. Aggregation
COH             173137280041                Gas           Gov. Aggregation   DEO             7180011217492               Gas           Gov. Aggregation
COH             189530270014                Gas           Gov. Aggregation   DEO             0180013530369               Gas           Gov. Aggregation
COH             189586290031                Gas           Gov. Aggregation   DEO             3180013678343               Gas           Gov. Aggregation
COH             185212290045                Gas           Gov. Aggregation   DEO             4180013447867               Gas           Gov. Aggregation
COH             202438210023                Gas           Gov. Aggregation   DEO             0180012304596               Gas           Gov. Aggregation
COH             205867100024                Gas           Gov. Aggregation   DEO             6180014004448               Gas           Gov. Aggregation
COH             205912030013                Gas           Gov. Aggregation   DEO             6180012126811               Gas           Gov. Aggregation
COH             206701970012                Gas           Gov. Aggregation   DEO             1180011984041               Gas           Gov. Aggregation
COH             188182820027                Gas           Gov. Aggregation   DEO             1180013924195               Gas           Gov. Aggregation
COH             123646540047                Gas           Gov. Aggregation   DEO             1180013025182               Gas           Gov. Aggregation
COH             123627090015                Gas           Gov. Aggregation   DEO             2180013449359               Gas           Gov. Aggregation
COH             204815350013                Gas           Gov. Aggregation   DEO             8180012723731               Gas           Gov. Aggregation
COH             203584440025                Gas           Gov. Aggregation   DEO             3180011586310               Gas           Gov. Aggregation
COH             198166330022                Gas           Gov. Aggregation   DEO             7180012413257               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             203758670037                Gas           Gov. Aggregation   DEO             1180013369349               Gas           Gov. Aggregation
COH             151070920044                Gas           Gov. Aggregation   DEO             8180013058965               Gas           Gov. Aggregation
COH             207132770010                Gas           Gov. Aggregation   DEO             5180011416566               Gas           Gov. Aggregation
COH             207306230014                Gas           Gov. Aggregation   DEO             2180011372905               Gas           Gov. Aggregation
COH             204939550019                Gas           Gov. Aggregation   DEO             6180013983596               Gas           Gov. Aggregation
COH             205340980017                Gas           Gov. Aggregation   DEO             5180014033650               Gas           Gov. Aggregation
COH             123732200063                Gas           Gov. Aggregation   DEO             2180011607677               Gas           Gov. Aggregation
COH             153880160036                Gas           Gov. Aggregation   DEO             6180012562512               Gas           Gov. Aggregation
COH             132940790031                Gas           Gov. Aggregation   DEO             1180013340507               Gas           Gov. Aggregation
COH             200391690034                Gas           Gov. Aggregation   DEO             9180013006137               Gas           Gov. Aggregation
COH             205200620018                Gas           Gov. Aggregation   DEO             2180011059001               Gas           Gov. Aggregation
COH             147353080047                Gas           Gov. Aggregation   DEO             5180013190773               Gas           Gov. Aggregation
COH             196722310037                Gas           Gov. Aggregation   DEO             5180013983492               Gas           Gov. Aggregation
COH             200107810039                Gas           Gov. Aggregation   DEO             7180012872823               Gas           Gov. Aggregation
COH             192110190034                Gas           Gov. Aggregation   COH             207564600010                Gas           Gov. Aggregation
COH             202284890037                Gas           Gov. Aggregation   COH             203957600011                Gas           Gov. Aggregation
COH             206772820014                Gas           Gov. Aggregation   COH             208157870016                Gas           Gov. Aggregation
COH             148856450051                Gas           Gov. Aggregation   COH             207388890014                Gas           Gov. Aggregation
COH             204799000058                Gas           Gov. Aggregation   COH             206782970012                Gas           Gov. Aggregation
COH             200930610018                Gas           Gov. Aggregation   COH             197603500038                Gas           Gov. Aggregation
COH             123700390016                Gas           Gov. Aggregation   COH             208400070017                Gas           Gov. Aggregation
COH             200985260026                Gas           Gov. Aggregation   COH             190862530040                Gas           Gov. Aggregation
COH             207291520016                Gas           Gov. Aggregation   COH             207313550012                Gas           Gov. Aggregation
COH             200793000027                Gas           Gov. Aggregation   COH             196639820046                Gas           Gov. Aggregation
COH             207125160013                Gas           Gov. Aggregation   COH             206673750019                Gas           Gov. Aggregation
COH             207472230013                Gas           Gov. Aggregation   COH             207949910019                Gas           Gov. Aggregation
COH             187669270013                Gas           Gov. Aggregation   COH             168187030107                Gas           Gov. Aggregation
COH             207401100019                Gas           Gov. Aggregation   COH             206090030025                Gas           Gov. Aggregation
COH             205238510012                Gas           Gov. Aggregation   COH             110392130010                Gas           Gov. Aggregation
COH             205304890012                Gas           Gov. Aggregation   COH             207386660016                Gas           Gov. Aggregation
COH             192111800033                Gas           Gov. Aggregation   COH             167167930067                Gas           Gov. Aggregation
COH             123701380427                Gas           Gov. Aggregation   COH             196334120030                Gas           Gov. Aggregation
COH             177676840038                Gas           Gov. Aggregation   COH             204231090025                Gas           Gov. Aggregation
COH             138872800206                Gas           Gov. Aggregation   COH             206521760018                Gas           Gov. Aggregation
COH             204637880010                Gas           Gov. Aggregation   COH             110392330036                Gas           Gov. Aggregation
COH             204557330015                Gas           Gov. Aggregation   COH             208065220017                Gas           Gov. Aggregation
COH             123712520022                Gas           Gov. Aggregation   COH             110377940012                Gas           Gov. Aggregation
COH             189696570039                Gas           Gov. Aggregation   COH             207553950010                Gas           Gov. Aggregation
COH             152507780091                Gas           Gov. Aggregation   COH             206879490018                Gas           Gov. Aggregation
COH             206016680016                Gas           Gov. Aggregation   COH             205024180015                Gas           Gov. Aggregation
COH             170215240037                Gas           Gov. Aggregation   COH             207307730017                Gas           Gov. Aggregation
COH             202067760025                Gas           Gov. Aggregation   COH             206997090012                Gas           Gov. Aggregation
COH             177212130020                Gas           Gov. Aggregation   COH             201754310032                Gas           Gov. Aggregation
COH             117782080062                Gas           Gov. Aggregation   COH             208031870012                Gas           Gov. Aggregation
COH             153414680052                Gas           Gov. Aggregation   COH             207852730012                Gas           Gov. Aggregation
COH             204624060019                Gas           Gov. Aggregation   COH             207471960012                Gas           Gov. Aggregation
COH             205742300017                Gas           Gov. Aggregation   COH             207055590012                Gas           Gov. Aggregation
COH             123668190018                Gas           Gov. Aggregation   COH             198138910047                Gas           Gov. Aggregation
COH             204555820016                Gas           Gov. Aggregation   COH             206876970013                Gas           Gov. Aggregation
COH             203466390017                Gas           Gov. Aggregation   COH             208041430013                Gas           Gov. Aggregation
COH             196592690017                Gas           Gov. Aggregation   COH             124826440063                Gas           Gov. Aggregation
COH             206509650017                Gas           Gov. Aggregation   COH             152124000023                Gas           Gov. Aggregation
COH             205999710018                Gas           Gov. Aggregation   COH             197756800023                Gas           Gov. Aggregation
COH             172017840039                Gas           Gov. Aggregation   COH             206188580023                Gas           Gov. Aggregation
COH             204829390016                Gas           Gov. Aggregation   COH             208016160013                Gas           Gov. Aggregation
COH             204566890037                Gas           Gov. Aggregation   COH             156181080023                Gas           Gov. Aggregation
COH             167512552099                Gas           Gov. Aggregation   COH             208193140013                Gas           Gov. Aggregation
COH             206614550015                Gas           Gov. Aggregation   COH             207055580014                Gas           Gov. Aggregation
COH             204961290017                Gas           Gov. Aggregation   COH             149539930024                Gas           Gov. Aggregation
COH             170958750027                Gas           Gov. Aggregation   COH             124348380024                Gas           Gov. Aggregation
COH             203466700011                Gas           Gov. Aggregation   COH             190624590024                Gas           Gov. Aggregation
COH             199905060020                Gas           Gov. Aggregation   COH             136711780034                Gas           Gov. Aggregation
COH             206937630014                Gas           Gov. Aggregation   COH             204422160025                Gas           Gov. Aggregation
COH             204099270010                Gas           Gov. Aggregation   COH             202337550035                Gas           Gov. Aggregation
COH             170904200016                Gas           Gov. Aggregation   COH             208476560015                Gas           Gov. Aggregation
COH             207163780013                Gas           Gov. Aggregation   COH             208521860015                Gas           Gov. Aggregation
COH             207226550017                Gas           Gov. Aggregation   COH             176598730065                Gas           Gov. Aggregation
COH             204304970016                Gas           Gov. Aggregation   COH             199940060035                Gas           Gov. Aggregation
COH             203529690010                Gas           Gov. Aggregation   COH             207817830015                Gas           Gov. Aggregation
COH             158318620035                Gas           Gov. Aggregation   COH             163130520046                Gas           Gov. Aggregation
COH             206077240010                Gas           Gov. Aggregation   COH             146736990036                Gas           Gov. Aggregation
COH             205542000014                Gas           Gov. Aggregation   COH             204623030026                Gas           Gov. Aggregation
COH             160263980033                Gas           Gov. Aggregation   COH             207690780016                Gas           Gov. Aggregation
COH             204125310014                Gas           Gov. Aggregation   COH             208038210016                Gas           Gov. Aggregation
COH             205126390015                Gas           Gov. Aggregation   COH             189827350027                Gas           Gov. Aggregation
COH             206635720015                Gas           Gov. Aggregation   COH             124465710017                Gas           Gov. Aggregation
COH             206785080013                Gas           Gov. Aggregation   COH             208060650017                Gas           Gov. Aggregation
COH             156512650093                Gas           Gov. Aggregation   COH             208302820017                Gas           Gov. Aggregation
COH             177240510156                Gas           Gov. Aggregation   COH             206587960018                Gas           Gov. Aggregation
COH             197657870047                Gas           Gov. Aggregation   COH             124440830078                Gas           Gov. Aggregation
COH             204315900017                Gas           Gov. Aggregation   COH             206799390019                Gas           Gov. Aggregation
COH             198332100027                Gas           Gov. Aggregation   COH             207478000019                Gas           Gov. Aggregation
COH             206045210013                Gas           Gov. Aggregation   COH             208060570014                Gas           Gov. Aggregation
COH             195978810050                Gas           Gov. Aggregation   COH             208254400018                Gas           Gov. Aggregation
COH             193762200039                Gas           Gov. Aggregation   COH             207375370010                Gas           Gov. Aggregation
COH             167153070076                Gas           Gov. Aggregation   COH             208565590010                Gas           Gov. Aggregation
COH             205417570010                Gas           Gov. Aggregation   COH             207202510015                Gas           Gov. Aggregation
COH             205226650018                Gas           Gov. Aggregation   COH             188938790021                Gas           Gov. Aggregation
COH             141032070063                Gas           Gov. Aggregation   COH             169636270023                Gas           Gov. Aggregation
COH             204842580018                Gas           Gov. Aggregation   COH             206829540012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             203907630010                Gas           Gov. Aggregation   COH             187130320031                Gas           Gov. Aggregation
COH             198947480025                Gas           Gov. Aggregation   COH             200033440025                Gas           Gov. Aggregation
COH             194821370019                Gas           Gov. Aggregation   COH             207864520011                Gas           Gov. Aggregation
COH             197214230049                Gas           Gov. Aggregation   COH             203015700034                Gas           Gov. Aggregation
COH             204175120019                Gas           Gov. Aggregation   COH             126740150028                Gas           Gov. Aggregation
COH             190542070054                Gas           Gov. Aggregation   COH             188483000021                Gas           Gov. Aggregation
COH             206069120012                Gas           Gov. Aggregation   COH             208336320011                Gas           Gov. Aggregation
COH             165864790025                Gas           Gov. Aggregation   COH             207926240018                Gas           Gov. Aggregation
COH             146843040074                Gas           Gov. Aggregation   COH             173533500053                Gas           Gov. Aggregation
COH             207353950014                Gas           Gov. Aggregation   COH             189679470054                Gas           Gov. Aggregation
COH             204978830018                Gas           Gov. Aggregation   COH             208031770022                Gas           Gov. Aggregation
COH             195183820044                Gas           Gov. Aggregation   COH             171074550013                Gas           Gov. Aggregation
COH             204286520010                Gas           Gov. Aggregation   COH             206620130029                Gas           Gov. Aggregation
COH             204525170016                Gas           Gov. Aggregation   COH             117611390068                Gas           Gov. Aggregation
COH             207396980018                Gas           Gov. Aggregation   COH             148721510160                Gas           Gov. Aggregation
COH             207169680012                Gas           Gov. Aggregation   COH             202453770042                Gas           Gov. Aggregation
COH             204878810014                Gas           Gov. Aggregation   COH             168492540087                Gas           Gov. Aggregation
COH             193528140010                Gas           Gov. Aggregation   COH             207911470011                Gas           Gov. Aggregation
COH             206144070013                Gas           Gov. Aggregation   COH             164312830044                Gas           Gov. Aggregation
COH             207383560013                Gas           Gov. Aggregation   COH             207166790015                Gas           Gov. Aggregation
COH             196275370025                Gas           Gov. Aggregation   COH             130666590028                Gas           Gov. Aggregation
COH             193556860038                Gas           Gov. Aggregation   COH             207954020015                Gas           Gov. Aggregation
COH             201455470024                Gas           Gov. Aggregation   COH             207453270015                Gas           Gov. Aggregation
COH             123674570024                Gas           Gov. Aggregation   COH             208336410012                Gas           Gov. Aggregation
COH             207346880014                Gas           Gov. Aggregation   COH             207690760010                Gas           Gov. Aggregation
COH             204714980015                Gas           Gov. Aggregation   COH             172294510023                Gas           Gov. Aggregation
COH             185651860018                Gas           Gov. Aggregation   COH             208088330016                Gas           Gov. Aggregation
COH             204764850017                Gas           Gov. Aggregation   COH             197097000038                Gas           Gov. Aggregation
COH             206463230013                Gas           Gov. Aggregation   COH             208174450018                Gas           Gov. Aggregation
COH             198962520024                Gas           Gov. Aggregation   COH             206823240017                Gas           Gov. Aggregation
COH             175677600074                Gas           Gov. Aggregation   COH             206987440019                Gas           Gov. Aggregation
COH             206185520012                Gas           Gov. Aggregation   COH             206671030014                Gas           Gov. Aggregation
COH             196191040013                Gas           Gov. Aggregation   COH             130145880067                Gas           Gov. Aggregation
COH             205438680013                Gas           Gov. Aggregation   COH             189238090021                Gas           Gov. Aggregation
COH             207334280015                Gas           Gov. Aggregation   COH             207780290018                Gas           Gov. Aggregation
COH             123674840698                Gas           Gov. Aggregation   COH             208314470016                Gas           Gov. Aggregation
COH             206353260010                Gas           Gov. Aggregation   COH             207197060013                Gas           Gov. Aggregation
COH             203869670014                Gas           Gov. Aggregation   COH             207611520016                Gas           Gov. Aggregation
COH             206440430019                Gas           Gov. Aggregation   COH             205574370029                Gas           Gov. Aggregation
COH             123684260028                Gas           Gov. Aggregation   COH             207888630018                Gas           Gov. Aggregation
COH             200210250010                Gas           Gov. Aggregation   COH             207849010010                Gas           Gov. Aggregation
COH             202405980030                Gas           Gov. Aggregation   COH             143387710038                Gas           Gov. Aggregation
COH             190894760018                Gas           Gov. Aggregation   COH             207586340019                Gas           Gov. Aggregation
COH             174038740043                Gas           Gov. Aggregation   COH             208314460018                Gas           Gov. Aggregation
COH             206136280025                Gas           Gov. Aggregation   COH             207525030012                Gas           Gov. Aggregation
COH             206386370018                Gas           Gov. Aggregation   COH             185078740028                Gas           Gov. Aggregation
COH             204799010010                Gas           Gov. Aggregation   COH             208206490011                Gas           Gov. Aggregation
COH             204477400010                Gas           Gov. Aggregation   COH             205310210011                Gas           Gov. Aggregation
COH             194667190042                Gas           Gov. Aggregation   COH             208128800011                Gas           Gov. Aggregation
COH             123677940011                Gas           Gov. Aggregation   COH             150763380031                Gas           Gov. Aggregation
COH             200721950029                Gas           Gov. Aggregation   COH             207683650018                Gas           Gov. Aggregation
COH             155509490077                Gas           Gov. Aggregation   COH             205758310021                Gas           Gov. Aggregation
COH             185008590045                Gas           Gov. Aggregation   COH             207822500013                Gas           Gov. Aggregation
COH             189302030035                Gas           Gov. Aggregation   COH             207556150012                Gas           Gov. Aggregation
COH             206652850012                Gas           Gov. Aggregation   COH             207757910016                Gas           Gov. Aggregation
COH             207093520016                Gas           Gov. Aggregation   COH             208041350010                Gas           Gov. Aggregation
COH             203734690015                Gas           Gov. Aggregation   COH             154452970023                Gas           Gov. Aggregation
COH             206180080015                Gas           Gov. Aggregation   COH             207676070015                Gas           Gov. Aggregation
COH             203994910027                Gas           Gov. Aggregation   COH             203395230039                Gas           Gov. Aggregation
COH             138695020019                Gas           Gov. Aggregation   COH             190722770028                Gas           Gov. Aggregation
COH             170932570056                Gas           Gov. Aggregation   COH             208507570016                Gas           Gov. Aggregation
COH             207155130016                Gas           Gov. Aggregation   COH             205425950022                Gas           Gov. Aggregation
COH             206922020013                Gas           Gov. Aggregation   COH             206794190011                Gas           Gov. Aggregation
COH             123661040031                Gas           Gov. Aggregation   COH             143748960049                Gas           Gov. Aggregation
COH             204479910019                Gas           Gov. Aggregation   COH             191852850025                Gas           Gov. Aggregation
COH             203392700036                Gas           Gov. Aggregation   COH             159242620026                Gas           Gov. Aggregation
COH             155062660015                Gas           Gov. Aggregation   COH             207542490010                Gas           Gov. Aggregation
COH             154101110080                Gas           Gov. Aggregation   COH             207024410014                Gas           Gov. Aggregation
COH             196599190018                Gas           Gov. Aggregation   COH             202944110021                Gas           Gov. Aggregation
COH             175708770045                Gas           Gov. Aggregation   COH             207205180019                Gas           Gov. Aggregation
COH             203644900011                Gas           Gov. Aggregation   COH             193549690048                Gas           Gov. Aggregation
COH             197980850046                Gas           Gov. Aggregation   COH             207757930012                Gas           Gov. Aggregation
COH             205710910016                Gas           Gov. Aggregation   COH             206981650017                Gas           Gov. Aggregation
COH             207149070012                Gas           Gov. Aggregation   COH             208187200013                Gas           Gov. Aggregation
COH             205988900011                Gas           Gov. Aggregation   COH             173048520012                Gas           Gov. Aggregation
COH             204755160011                Gas           Gov. Aggregation   COH             207533490019                Gas           Gov. Aggregation
COH             203657500018                Gas           Gov. Aggregation   COH             171721930029                Gas           Gov. Aggregation
COH             206228930014                Gas           Gov. Aggregation   COH             206997050010                Gas           Gov. Aggregation
COH             129338300062                Gas           Gov. Aggregation   COH             205976500029                Gas           Gov. Aggregation
COH             129623240024                Gas           Gov. Aggregation   COH             125136870029                Gas           Gov. Aggregation
COH             122401890016                Gas           Gov. Aggregation   COH             194609300013                Gas           Gov. Aggregation
VEDO            4017025612604289            Gas           Gov. Aggregation   COH             186476760038                Gas           Gov. Aggregation
COH             125883530018                Gas           Gov. Aggregation   COH             207522210010                Gas           Gov. Aggregation
VEDO            4004731982480932            Gas           Gov. Aggregation   COH             207617110010                Gas           Gov. Aggregation
DEO             8120000185290               Gas           Gov. Aggregation   COH             191281320036                Gas           Gov. Aggregation
VEDO            4016156982185889            Gas           Gov. Aggregation   COH             208129350014                Gas           Gov. Aggregation
VEDO            4002138692208987            Gas           Gov. Aggregation   COH             208174550017                Gas           Gov. Aggregation
DEO             7421001029956               Gas           Gov. Aggregation   COH             199700160032                Gas           Gov. Aggregation
VEDO            4003159042156820            Gas           Gov. Aggregation   COH             203958570016                Gas           Gov. Aggregation
COH             207567610012                Gas           Gov. Aggregation   COH             206902650013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             114712350010                Gas           Gov. Aggregation   COH             208006700010                Gas           Gov. Aggregation
VEDO            4017300212348045            Gas           Gov. Aggregation   COH             190982390019                Gas           Gov. Aggregation
VEDO            4001107192110196            Gas           Gov. Aggregation   COH             207864710011                Gas           Gov. Aggregation
COH             203906390022                Gas           Gov. Aggregation   COH             167340440026                Gas           Gov. Aggregation
COH             203906390013                Gas           Gov. Aggregation   COH             166980020010                Gas           Gov. Aggregation
COH             194265210067                Gas           Gov. Aggregation   COH             200867490028                Gas           Gov. Aggregation
COH             203590090017                Gas           Gov. Aggregation   COH             204337780026                Gas           Gov. Aggregation
COH             205535280011                Gas           Gov. Aggregation   COH             190813890137                Gas           Gov. Aggregation
COH             206123950012                Gas           Gov. Aggregation   COH             208363560014                Gas           Gov. Aggregation
COH             204293710015                Gas           Gov. Aggregation   COH             142011320081                Gas           Gov. Aggregation
COH             140789090021                Gas           Gov. Aggregation   COH             208000830015                Gas           Gov. Aggregation
COH             202354720015                Gas           Gov. Aggregation   COH             206683610017                Gas           Gov. Aggregation
COH             205640020012                Gas           Gov. Aggregation   COH             161026440046                Gas           Gov. Aggregation
COH             202921500027                Gas           Gov. Aggregation   COH             177058660018                Gas           Gov. Aggregation
COH             204061050015                Gas           Gov. Aggregation   COH             207905470014                Gas           Gov. Aggregation
COH             144721910017                Gas           Gov. Aggregation   COH             191592790020                Gas           Gov. Aggregation
COH             200425980012                Gas           Gov. Aggregation   COH             205010670020                Gas           Gov. Aggregation
COH             203562900015                Gas           Gov. Aggregation   COH             207496860011                Gas           Gov. Aggregation
COH             163444430031                Gas           Gov. Aggregation   COH             207698730010                Gas           Gov. Aggregation
COH             206792310019                Gas           Gov. Aggregation   COH             202235380037                Gas           Gov. Aggregation
COH             147667280022                Gas           Gov. Aggregation   COH             194991300041                Gas           Gov. Aggregation
COH             157263950025                Gas           Gov. Aggregation   COH             207256900010                Gas           Gov. Aggregation
COH             202764270039                Gas           Gov. Aggregation   COH             207923630012                Gas           Gov. Aggregation
COH             207127050012                Gas           Gov. Aggregation   COH             168421411297                Gas           Gov. Aggregation
COH             203885770019                Gas           Gov. Aggregation   COH             207828140017                Gas           Gov. Aggregation
COH             200581130029                Gas           Gov. Aggregation   COH             207158660019                Gas           Gov. Aggregation
COH             206533040014                Gas           Gov. Aggregation   COH             207527910013                Gas           Gov. Aggregation
COH             144894730074                Gas           Gov. Aggregation   COH             207387170017                Gas           Gov. Aggregation
COH             202880340029                Gas           Gov. Aggregation   COH             207883670010                Gas           Gov. Aggregation
COH             204490200014                Gas           Gov. Aggregation   COH             171962470035                Gas           Gov. Aggregation
COH             205663630016                Gas           Gov. Aggregation   COH             177107720056                Gas           Gov. Aggregation
COH             204433180019                Gas           Gov. Aggregation   COH             195441410024                Gas           Gov. Aggregation
COH             206803620019                Gas           Gov. Aggregation   COH             207101270010                Gas           Gov. Aggregation
COH             185512760040                Gas           Gov. Aggregation   COH             208174530011                Gas           Gov. Aggregation
COH             205561420025                Gas           Gov. Aggregation   COH             159226480057                Gas           Gov. Aggregation
COH             203280230023                Gas           Gov. Aggregation   COH             205976270037                Gas           Gov. Aggregation
COH             207375880013                Gas           Gov. Aggregation   COH             146550760074                Gas           Gov. Aggregation
DEO             6180012584019               Gas           Gov. Aggregation   COH             200121040031                Gas           Gov. Aggregation
COH             201807740011                Gas           Gov. Aggregation   COH             206936670018                Gas           Gov. Aggregation
COH             159166760010                Gas           Gov. Aggregation   COH             137611700013                Gas           Gov. Aggregation
COH             173751470021                Gas           Gov. Aggregation   COH             207353080017                Gas           Gov. Aggregation
COH             173271830032                Gas           Gov. Aggregation   COH             172520860029                Gas           Gov. Aggregation
COH             163443840019                Gas           Gov. Aggregation   COH             207148020014                Gas           Gov. Aggregation
COH             147424770041                Gas           Gov. Aggregation   COH             185554599058                Gas           Gov. Aggregation
COH             186461710011                Gas           Gov. Aggregation   COH             185554599254                Gas           Gov. Aggregation
COH             202744020033                Gas           Gov. Aggregation   COH             203305040038                Gas           Gov. Aggregation
COH             198766030014                Gas           Gov. Aggregation   COH             151395020036                Gas           Gov. Aggregation
COH             132253640020                Gas           Gov. Aggregation   COH             207858690019                Gas           Gov. Aggregation
COH             165220220019                Gas           Gov. Aggregation   COH             201015910023                Gas           Gov. Aggregation
COH             201888800018                Gas           Gov. Aggregation   COH             207400720011                Gas           Gov. Aggregation
COH             135558840047                Gas           Gov. Aggregation   COH             207024780017                Gas           Gov. Aggregation
COH             195095290016                Gas           Gov. Aggregation   COH             193335030030                Gas           Gov. Aggregation
COH             201741500020                Gas           Gov. Aggregation   COH             198432900036                Gas           Gov. Aggregation
COH             207180120015                Gas           Gov. Aggregation   COH             207698700016                Gas           Gov. Aggregation
COH             201429940011                Gas           Gov. Aggregation   COH             204731560026                Gas           Gov. Aggregation
COH             126874560056                Gas           Gov. Aggregation   COH             164639890031                Gas           Gov. Aggregation
COH             205803480010                Gas           Gov. Aggregation   COH             196260050050                Gas           Gov. Aggregation
COH             162054870019                Gas           Gov. Aggregation   COH             189963390021                Gas           Gov. Aggregation
COH             205939980018                Gas           Gov. Aggregation   COH             206797370017                Gas           Gov. Aggregation
COH             195972570017                Gas           Gov. Aggregation   COH             141075100271                Gas           Gov. Aggregation
COH             196915290015                Gas           Gov. Aggregation   COH             207919210037                Gas           Gov. Aggregation
COH             168410010017                Gas           Gov. Aggregation   COH             207201510017                Gas           Gov. Aggregation
COH             163700730025                Gas           Gov. Aggregation   COH             207852140016                Gas           Gov. Aggregation
COH             155372100024                Gas           Gov. Aggregation   COH             207539030013                Gas           Gov. Aggregation
COH             203761830018                Gas           Gov. Aggregation   COH             208016140017                Gas           Gov. Aggregation
COH             196768560020                Gas           Gov. Aggregation   COH             207774720010                Gas           Gov. Aggregation
COH             202833970017                Gas           Gov. Aggregation   COH             188727920020                Gas           Gov. Aggregation
COH             190748150024                Gas           Gov. Aggregation   COH             198833640022                Gas           Gov. Aggregation
COH             177182160010                Gas           Gov. Aggregation   COH             205401290012                Gas           Gov. Aggregation
COH             168923900013                Gas           Gov. Aggregation   COH             153769040037                Gas           Gov. Aggregation
COH             199645130018                Gas           Gov. Aggregation   COH             151777980026                Gas           Gov. Aggregation
COH             197609170018                Gas           Gov. Aggregation   COH             158771470037                Gas           Gov. Aggregation
COH             196296760010                Gas           Gov. Aggregation   COH             207137490019                Gas           Gov. Aggregation
COH             171212890027                Gas           Gov. Aggregation   COH             156992240048                Gas           Gov. Aggregation
COH             147413640023                Gas           Gov. Aggregation   COH             207111180018                Gas           Gov. Aggregation
COH             157594150022                Gas           Gov. Aggregation   COH             208022880019                Gas           Gov. Aggregation
COH             173763110012                Gas           Gov. Aggregation   COH             208279220014                Gas           Gov. Aggregation
COH             199362560027                Gas           Gov. Aggregation   COH             207817700012                Gas           Gov. Aggregation
COH             185869120012                Gas           Gov. Aggregation   COH             207788120017                Gas           Gov. Aggregation
COH             199253270010                Gas           Gov. Aggregation   COH             169761020011                Gas           Gov. Aggregation
COH             158439840024                Gas           Gov. Aggregation   COH             206975240016                Gas           Gov. Aggregation
COH             189251260027                Gas           Gov. Aggregation   COH             203149490036                Gas           Gov. Aggregation
COH             192490280022                Gas           Gov. Aggregation   COH             176212710029                Gas           Gov. Aggregation
COH             202008090011                Gas           Gov. Aggregation   COH             207148110015                Gas           Gov. Aggregation
COH             200132990011                Gas           Gov. Aggregation   COH             124434530010                Gas           Gov. Aggregation
COH             199137900013                Gas           Gov. Aggregation   COH             208149780012                Gas           Gov. Aggregation
COH             118860630050                Gas           Gov. Aggregation   COH             207828180019                Gas           Gov. Aggregation
COH             198916430011                Gas           Gov. Aggregation   COH             125336010025                Gas           Gov. Aggregation
COH             196834990010                Gas           Gov. Aggregation   COH             170293110076                Gas           Gov. Aggregation
COH             150181330026                Gas           Gov. Aggregation   COH             208129100016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             187997250049                Gas           Gov. Aggregation   COH             199391840027                Gas           Gov. Aggregation
COH             205292310010                Gas           Gov. Aggregation   COH             185149990025                Gas           Gov. Aggregation
COH             153798080065                Gas           Gov. Aggregation   COH             208180130012                Gas           Gov. Aggregation
COH             191913900042                Gas           Gov. Aggregation   COH             172866560011                Gas           Gov. Aggregation
COH             207533560014                Gas           Gov. Aggregation   COH             164208040023                Gas           Gov. Aggregation
COH             199415750015                Gas           Gov. Aggregation   COH             206143390036                Gas           Gov. Aggregation
COH             160639010011                Gas           Gov. Aggregation   COH             139986220046                Gas           Gov. Aggregation
COH             203366500015                Gas           Gov. Aggregation   COH             207511950018                Gas           Gov. Aggregation
COH             201486290018                Gas           Gov. Aggregation   COH             168719820022                Gas           Gov. Aggregation
COH             205668600012                Gas           Gov. Aggregation   COH             195803120036                Gas           Gov. Aggregation
COH             201919890013                Gas           Gov. Aggregation   COH             208267740010                Gas           Gov. Aggregation
COH             191063460011                Gas           Gov. Aggregation   COH             204801380034                Gas           Gov. Aggregation
COH             166004740044                Gas           Gov. Aggregation   COH             207586650014                Gas           Gov. Aggregation
COH             199439990015                Gas           Gov. Aggregation   COH             207111430015                Gas           Gov. Aggregation
COH             202484240011                Gas           Gov. Aggregation   COH             170419680015                Gas           Gov. Aggregation
COH             206490550019                Gas           Gov. Aggregation   COH             193566120023                Gas           Gov. Aggregation
COH             147443910023                Gas           Gov. Aggregation   COH             207225370017                Gas           Gov. Aggregation
COH             206869070017                Gas           Gov. Aggregation   COH             201489830027                Gas           Gov. Aggregation
COH             194217040037                Gas           Gov. Aggregation   COH             207848960013                Gas           Gov. Aggregation
COH             161376110017                Gas           Gov. Aggregation   COH             192450120029                Gas           Gov. Aggregation
COH             195288230019                Gas           Gov. Aggregation   COH             195994620038                Gas           Gov. Aggregation
COH             189227910021                Gas           Gov. Aggregation   COH             208066260017                Gas           Gov. Aggregation
COH             175575360062                Gas           Gov. Aggregation   COH             203679390025                Gas           Gov. Aggregation
COH             203555770018                Gas           Gov. Aggregation   COH             207282440012                Gas           Gov. Aggregation
COH             201377980014                Gas           Gov. Aggregation   COH             141897710039                Gas           Gov. Aggregation
COH             152773700012                Gas           Gov. Aggregation   COH             206919940026                Gas           Gov. Aggregation
COH             161212720042                Gas           Gov. Aggregation   COH             207442320017                Gas           Gov. Aggregation
COH             200730160017                Gas           Gov. Aggregation   COH             155279000078                Gas           Gov. Aggregation
COH             120204250010                Gas           Gov. Aggregation   COH             207674000013                Gas           Gov. Aggregation
COH             205043120017                Gas           Gov. Aggregation   COH             207655560016                Gas           Gov. Aggregation
COH             191346510010                Gas           Gov. Aggregation   COH             175191680014                Gas           Gov. Aggregation
COH             189180340049                Gas           Gov. Aggregation   COH             171448740010                Gas           Gov. Aggregation
COH             190723820052                Gas           Gov. Aggregation   COH             207421390017                Gas           Gov. Aggregation
COH             204297070012                Gas           Gov. Aggregation   COH             207421350015                Gas           Gov. Aggregation
COH             203105750015                Gas           Gov. Aggregation   COH             204586720021                Gas           Gov. Aggregation
COH             117503440075                Gas           Gov. Aggregation   COH             208521950016                Gas           Gov. Aggregation
COH             137924380027                Gas           Gov. Aggregation   COH             154917210026                Gas           Gov. Aggregation
COH             153515850043                Gas           Gov. Aggregation   COH             207134060015                Gas           Gov. Aggregation
COH             191868680028                Gas           Gov. Aggregation   COH             207926370011                Gas           Gov. Aggregation
COH             186004500022                Gas           Gov. Aggregation   COH             161651260021                Gas           Gov. Aggregation
COH             142401430018                Gas           Gov. Aggregation   COH             138817260028                Gas           Gov. Aggregation
COH             158307640016                Gas           Gov. Aggregation   COH             208521470017                Gas           Gov. Aggregation
COH             201665630016                Gas           Gov. Aggregation   DEO             9180012101510               Gas           Gov. Aggregation
COH             200125420024                Gas           Gov. Aggregation   DEO             4421804344279               Gas           Gov. Aggregation
COH             196478810013                Gas           Gov. Aggregation   DEO             1180012607100               Gas           Gov. Aggregation
COH             198516300016                Gas           Gov. Aggregation   DEO             2180012588834               Gas           Gov. Aggregation
COH             207250680019                Gas           Gov. Aggregation   DEO             7180013660355               Gas           Gov. Aggregation
COH             206738780015                Gas           Gov. Aggregation   DEO             4421801568845               Gas           Gov. Aggregation
COH             205350780018                Gas           Gov. Aggregation   DEO             6180012721134               Gas           Gov. Aggregation
COH             137694060041                Gas           Gov. Aggregation   DEO             5180011977313               Gas           Gov. Aggregation
COH             197241540029                Gas           Gov. Aggregation   DEO             7180011534118               Gas           Gov. Aggregation
COH             165071670012                Gas           Gov. Aggregation   DEO             2180013524313               Gas           Gov. Aggregation
COH             197321010011                Gas           Gov. Aggregation   DEO             0180013703163               Gas           Gov. Aggregation
COH             198283070029                Gas           Gov. Aggregation   DEO             6180013562980               Gas           Gov. Aggregation
COH             147434640038                Gas           Gov. Aggregation   DEO             5180011688569               Gas           Gov. Aggregation
COH             185461570012                Gas           Gov. Aggregation   DEO             7180013758373               Gas           Gov. Aggregation
COH             120206040010                Gas           Gov. Aggregation   DEO             8180013968144               Gas           Gov. Aggregation
COH             151001210020                Gas           Gov. Aggregation   DEO             6180013464357               Gas           Gov. Aggregation
COH             201313450019                Gas           Gov. Aggregation   DEO             3180011472858               Gas           Gov. Aggregation
COH             196314680026                Gas           Gov. Aggregation   DEO             1180013550438               Gas           Gov. Aggregation
COH             117603040031                Gas           Gov. Aggregation   DEO             3180013580109               Gas           Gov. Aggregation
COH             200300150010                Gas           Gov. Aggregation   DEO             1180013517320               Gas           Gov. Aggregation
COH             202707180010                Gas           Gov. Aggregation   DEO             8180011730012               Gas           Gov. Aggregation
COH             147163980014                Gas           Gov. Aggregation   DEO             7180013728261               Gas           Gov. Aggregation
COH             195752400045                Gas           Gov. Aggregation   DEO             6180012181726               Gas           Gov. Aggregation
COH             203552940018                Gas           Gov. Aggregation   DEO             7180012018818               Gas           Gov. Aggregation
COH             168661980022                Gas           Gov. Aggregation   DEO             2180011459024               Gas           Gov. Aggregation
COH             151415670018                Gas           Gov. Aggregation   DEO             9180012880203               Gas           Gov. Aggregation
COH             119666810026                Gas           Gov. Aggregation   DEO             1500050661630               Gas           Gov. Aggregation
COH             158070140014                Gas           Gov. Aggregation   DEO             8180013085637               Gas           Gov. Aggregation
COH             203562630021                Gas           Gov. Aggregation   DEO             1180011600078               Gas           Gov. Aggregation
COH             199431050027                Gas           Gov. Aggregation   DEO             1180011515245               Gas           Gov. Aggregation
COH             159978230029                Gas           Gov. Aggregation   DEO             9180011791877               Gas           Gov. Aggregation
COH             188647170037                Gas           Gov. Aggregation   DEO             6180013625697               Gas           Gov. Aggregation
COH             206374730017                Gas           Gov. Aggregation   DEO             2180011632607               Gas           Gov. Aggregation
COH             171115500015                Gas           Gov. Aggregation   DEO             0180013716939               Gas           Gov. Aggregation
COH             118743060021                Gas           Gov. Aggregation   DEO             1180013033092               Gas           Gov. Aggregation
COH             201715710012                Gas           Gov. Aggregation   DEO             3500007400832               Gas           Gov. Aggregation
COH             167235820010                Gas           Gov. Aggregation   DEO             0180012490622               Gas           Gov. Aggregation
COH             113455690025                Gas           Gov. Aggregation   DEO             8180007663967               Gas           Gov. Aggregation
COH             199539450025                Gas           Gov. Aggregation   DEO             3180013383044               Gas           Gov. Aggregation
COH             206579800018                Gas           Gov. Aggregation   DEO             2180013136464               Gas           Gov. Aggregation
COH             192932300010                Gas           Gov. Aggregation   DEO             3180011411440               Gas           Gov. Aggregation
COH             200194620018                Gas           Gov. Aggregation   DEO             3180012766560               Gas           Gov. Aggregation
COH             168903070010                Gas           Gov. Aggregation   DEO             6180011630567               Gas           Gov. Aggregation
COH             203156620015                Gas           Gov. Aggregation   DEO             0180011886906               Gas           Gov. Aggregation
COH             147156450038                Gas           Gov. Aggregation   DEO             0180012656171               Gas           Gov. Aggregation
COH             203156610017                Gas           Gov. Aggregation   DEO             0180013350849               Gas           Gov. Aggregation
COH             200966050011                Gas           Gov. Aggregation   DEO             1180011928397               Gas           Gov. Aggregation
COH             137824210042                Gas           Gov. Aggregation   DEO             1180013467775               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             119242730076                Gas           Gov. Aggregation   DEO             1180013479263               Gas           Gov. Aggregation
COH             152601610032                Gas           Gov. Aggregation   DEO             1180013755123               Gas           Gov. Aggregation
COH             206490670014                Gas           Gov. Aggregation   DEO             2180013568589               Gas           Gov. Aggregation
COH             130874770029                Gas           Gov. Aggregation   COH             126637430037                Gas           Gov. Aggregation
COH             207346080012                Gas           Gov. Aggregation   COH             208329050013                Gas           Gov. Aggregation
COH             144638800017                Gas           Gov. Aggregation   COH             206741640017                Gas           Gov. Aggregation
COH             160597450019                Gas           Gov. Aggregation   COH             161653100075                Gas           Gov. Aggregation
COH             203498460015                Gas           Gov. Aggregation   COH             193855000025                Gas           Gov. Aggregation
COH             176026170028                Gas           Gov. Aggregation   COH             207998470019                Gas           Gov. Aggregation
COH             118859780025                Gas           Gov. Aggregation   COH             123866190027                Gas           Gov. Aggregation
COH             186913670011                Gas           Gov. Aggregation   COH             151807680024                Gas           Gov. Aggregation
COH             200964980029                Gas           Gov. Aggregation   COH             207654750018                Gas           Gov. Aggregation
COH             188278280028                Gas           Gov. Aggregation   COH             187792030049                Gas           Gov. Aggregation
COH             194803910022                Gas           Gov. Aggregation   COH             190446380035                Gas           Gov. Aggregation
COH             169709590030                Gas           Gov. Aggregation   COH             207407670018                Gas           Gov. Aggregation
COH             151571340035                Gas           Gov. Aggregation   COH             189589210068                Gas           Gov. Aggregation
COH             198479950010                Gas           Gov. Aggregation   COH             151044510170                Gas           Gov. Aggregation
COH             206374710011                Gas           Gov. Aggregation   COH             156855790070                Gas           Gov. Aggregation
COH             118081350033                Gas           Gov. Aggregation   COH             123863750178                Gas           Gov. Aggregation
COH             201560940013                Gas           Gov. Aggregation   COH             168394850044                Gas           Gov. Aggregation
COH             206044340018                Gas           Gov. Aggregation   COH             199386770023                Gas           Gov. Aggregation
COH             142160360024                Gas           Gov. Aggregation   COH             203481620043                Gas           Gov. Aggregation
COH             195222950016                Gas           Gov. Aggregation   DEO             7180006781976               Gas           Gov. Aggregation
COH             139550930022                Gas           Gov. Aggregation   DEO             7500013886967               Gas           Gov. Aggregation
COH             202349470019                Gas           Gov. Aggregation   DEO             9180004021932               Gas           Gov. Aggregation
COH             162614160010                Gas           Gov. Aggregation   DEO             9180007514945               Gas           Gov. Aggregation
COH             204663650013                Gas           Gov. Aggregation   DEO             9500025661154               Gas           Gov. Aggregation
COH             196954360018                Gas           Gov. Aggregation   DEO             9500037287465               Gas           Gov. Aggregation
COH             157365490115                Gas           Gov. Aggregation   DEO             9500061904709               Gas           Gov. Aggregation
COH             205781330019                Gas           Gov. Aggregation   DEO             1180013725698               Gas           Gov. Aggregation
COH             129853190144                Gas           Gov. Aggregation   DEO             5500052866548               Gas           Gov. Aggregation
COH             118830500032                Gas           Gov. Aggregation   DEO             8180011894863               Gas           Gov. Aggregation
COH             146469910011                Gas           Gov. Aggregation   DEO             6180013195052               Gas           Gov. Aggregation
COH             201018570010                Gas           Gov. Aggregation   DEO             5500051997136               Gas           Gov. Aggregation
COH             202084820017                Gas           Gov. Aggregation   DEO             3180011252725               Gas           Gov. Aggregation
COH             203010280015                Gas           Gov. Aggregation   DEO             4421505237333               Gas           Gov. Aggregation
COH             205181000010                Gas           Gov. Aggregation   DEO             8500052364710               Gas           Gov. Aggregation
COH             207448750015                Gas           Gov. Aggregation   DEO             6180003530675               Gas           Gov. Aggregation
COH             205080920011                Gas           Gov. Aggregation   COH             156062480021                Gas           Gov. Aggregation
COH             201178290011                Gas           Gov. Aggregation   COH             208849880017                Gas           Gov. Aggregation
COH             201191220017                Gas           Gov. Aggregation   COH             119770440023                Gas           Gov. Aggregation
COH             201548640012                Gas           Gov. Aggregation   VEDO            4004381182442292            Gas           Gov. Aggregation
COH             168747700019                Gas           Gov. Aggregation   DEO             6180013363736               Gas           Gov. Aggregation
COH             117780910034                Gas           Gov. Aggregation   DEO             8180013292735               Gas           Gov. Aggregation
COH             201552650039                Gas           Gov. Aggregation   DEO             0180012759064               Gas           Gov. Aggregation
COH             158134270020                Gas           Gov. Aggregation   DEO             3180011061950               Gas           Gov. Aggregation
COH             170977750036                Gas           Gov. Aggregation   DEO             9180012499742               Gas           Gov. Aggregation
COH             171010510060                Gas           Gov. Aggregation   DEO             6180013622703               Gas           Gov. Aggregation
COH             201433910018                Gas           Gov. Aggregation   DEO             6180011734114               Gas           Gov. Aggregation
COH             201433910036                Gas           Gov. Aggregation   DEO             4180013149580               Gas           Gov. Aggregation
COH             203455810011                Gas           Gov. Aggregation   DEO             6180010062882               Gas           Gov. Aggregation
COH             192751120012                Gas           Gov. Aggregation   DEO             7180013036355               Gas           Gov. Aggregation
COH             192761220010                Gas           Gov. Aggregation   DEO             0180010722688               Gas           Gov. Aggregation
COH             195628910041                Gas           Gov. Aggregation   DEO             0180013753521               Gas           Gov. Aggregation
COH             198876820015                Gas           Gov. Aggregation   DEO             7500013069704               Gas           Gov. Aggregation
COH             195253020016                Gas           Gov. Aggregation   DEO             1180012483541               Gas           Gov. Aggregation
COH             160761030018                Gas           Gov. Aggregation   DEO             5180011562632               Gas           Gov. Aggregation
COH             195268940030                Gas           Gov. Aggregation   DEO             7180012227413               Gas           Gov. Aggregation
COH             202182260017                Gas           Gov. Aggregation   DEO             8180011106027               Gas           Gov. Aggregation
COH             205961920013                Gas           Gov. Aggregation   DEO             6180013626046               Gas           Gov. Aggregation
COH             158387470069                Gas           Gov. Aggregation   DEO             9180013761136               Gas           Gov. Aggregation
COH             167890450056                Gas           Gov. Aggregation   DEO             9180010595558               Gas           Gov. Aggregation
COH             198239960016                Gas           Gov. Aggregation   DEO             3180011996080               Gas           Gov. Aggregation
COH             198239960034                Gas           Gov. Aggregation   DEO             1180009849694               Gas           Gov. Aggregation
COH             198780310015                Gas           Gov. Aggregation   DEO             8180009724481               Gas           Gov. Aggregation
COH             207429650016                Gas           Gov. Aggregation   DEO             4180011683956               Gas           Gov. Aggregation
COH             200991140037                Gas           Gov. Aggregation   DEO             6180013886406               Gas           Gov. Aggregation
COH             177049120010                Gas           Gov. Aggregation   DEO             3180012872981               Gas           Gov. Aggregation
COH             199612780011                Gas           Gov. Aggregation   DEO             0180012002252               Gas           Gov. Aggregation
COH             174015140056                Gas           Gov. Aggregation   DEO             1180013024850               Gas           Gov. Aggregation
COH             203129180015                Gas           Gov. Aggregation   DEO             2180010993356               Gas           Gov. Aggregation
COH             193525920067                Gas           Gov. Aggregation   DEO             4180011149528               Gas           Gov. Aggregation
COH             187786400035                Gas           Gov. Aggregation   DEO             8180012118141               Gas           Gov. Aggregation
COH             134661741512                Gas           Gov. Aggregation   DEO             2180010448575               Gas           Gov. Aggregation
COH             134661741503                Gas           Gov. Aggregation   DEO             1500025457204               Gas           Gov. Aggregation
COH             202033400012                Gas           Gov. Aggregation   DEO             0180010486721               Gas           Gov. Aggregation
COH             201232550010                Gas           Gov. Aggregation   DEO             7180009827092               Gas           Gov. Aggregation
COH             190412910025                Gas           Gov. Aggregation   DEO             1180010865832               Gas           Gov. Aggregation
COH             144506610034                Gas           Gov. Aggregation   DEO             3500051442823               Gas           Gov. Aggregation
COH             123636490021                Gas           Gov. Aggregation   DEO             3180011423242               Gas           Gov. Aggregation
COH             129610570040                Gas           Gov. Aggregation   DEO             0180012639771               Gas           Gov. Aggregation
COH             201734110018                Gas           Gov. Aggregation   DEO             1180013934185               Gas           Gov. Aggregation
COH             199908800019                Gas           Gov. Aggregation   DEO             8180013524246               Gas           Gov. Aggregation
COH             119157680023                Gas           Gov. Aggregation   DEO             7180011952365               Gas           Gov. Aggregation
COH             200317210012                Gas           Gov. Aggregation   DEO             2180010550450               Gas           Gov. Aggregation
COH             153171460045                Gas           Gov. Aggregation   DEO             6180011459045               Gas           Gov. Aggregation
COH             141326810064                Gas           Gov. Aggregation   DEO             0180013204505               Gas           Gov. Aggregation
COH             203969160019                Gas           Gov. Aggregation   DEO             8180010639977               Gas           Gov. Aggregation
COH             201690380016                Gas           Gov. Aggregation   DEO             4180013977464               Gas           Gov. Aggregation
COH             195097470014                Gas           Gov. Aggregation   DEO             3180012663043               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             205450190010                Gas           Gov. Aggregation   DEO             2180013777639               Gas           Gov. Aggregation
COH             193755860018                Gas           Gov. Aggregation   DEO             5180012794293               Gas           Gov. Aggregation
COH             193773330020                Gas           Gov. Aggregation   DEO             6180013839398               Gas           Gov. Aggregation
COH             118847330024                Gas           Gov. Aggregation   DEO             9180010790514               Gas           Gov. Aggregation
COH             205574770016                Gas           Gov. Aggregation   DEO             8180010701765               Gas           Gov. Aggregation
COH             166872690046                Gas           Gov. Aggregation   DEO             0180012216112               Gas           Gov. Aggregation
COH             157742200035                Gas           Gov. Aggregation   DEO             3180013682498               Gas           Gov. Aggregation
COH             119897410021                Gas           Gov. Aggregation   DEO             2180011408118               Gas           Gov. Aggregation
COH             190379900029                Gas           Gov. Aggregation   DEO             6180013489748               Gas           Gov. Aggregation
COH             198282630014                Gas           Gov. Aggregation   DEO             1180013991541               Gas           Gov. Aggregation
COH             203427410023                Gas           Gov. Aggregation   DEO             2180012845219               Gas           Gov. Aggregation
COH             192887730017                Gas           Gov. Aggregation   DEO             8180012610538               Gas           Gov. Aggregation
COH             194384460036                Gas           Gov. Aggregation   DEO             0180013981692               Gas           Gov. Aggregation
COH             207543070016                Gas           Gov. Aggregation   DEO             0180013120445               Gas           Gov. Aggregation
COH             138720080067                Gas           Gov. Aggregation   DEO             2180012166019               Gas           Gov. Aggregation
COH             174586360015                Gas           Gov. Aggregation   DEO             5180012107960               Gas           Gov. Aggregation
COH             198618080017                Gas           Gov. Aggregation   DEO             7180010499337               Gas           Gov. Aggregation
COH             206216480014                Gas           Gov. Aggregation   DEO             6180011118415               Gas           Gov. Aggregation
COH             118346650038                Gas           Gov. Aggregation   DEO             3180010745629               Gas           Gov. Aggregation
COH             202761670013                Gas           Gov. Aggregation   DEO             0180010582388               Gas           Gov. Aggregation
COH             150511940134                Gas           Gov. Aggregation   DEO             3180011670629               Gas           Gov. Aggregation
COH             200181370018                Gas           Gov. Aggregation   DEO             7180013428679               Gas           Gov. Aggregation
COH             198864440010                Gas           Gov. Aggregation   DEO             6180011621072               Gas           Gov. Aggregation
COH             193728140016                Gas           Gov. Aggregation   DEO             0180013709031               Gas           Gov. Aggregation
COH             201976660039                Gas           Gov. Aggregation   DEO             6180011819798               Gas           Gov. Aggregation
COH             194404250036                Gas           Gov. Aggregation   DEO             3180009757935               Gas           Gov. Aggregation
COH             206350420012                Gas           Gov. Aggregation   DEO             0180010271234               Gas           Gov. Aggregation
COH             202032960026                Gas           Gov. Aggregation   DEO             8180011633181               Gas           Gov. Aggregation
COH             186008150019                Gas           Gov. Aggregation   DEO             6180012414600               Gas           Gov. Aggregation
COH             171753870016                Gas           Gov. Aggregation   DEO             3180012078969               Gas           Gov. Aggregation
COH             176769370022                Gas           Gov. Aggregation   DEO             0180011082965               Gas           Gov. Aggregation
COH             201808010012                Gas           Gov. Aggregation   DEO             9180012238529               Gas           Gov. Aggregation
COH             205217200011                Gas           Gov. Aggregation   DEO             6180011791289               Gas           Gov. Aggregation
COH             206941310012                Gas           Gov. Aggregation   DEO             7180012684952               Gas           Gov. Aggregation
COH             201854090028                Gas           Gov. Aggregation   DEO             7180013211308               Gas           Gov. Aggregation
COH             205253080011                Gas           Gov. Aggregation   DEO             5180012200909               Gas           Gov. Aggregation
COH             197436970062                Gas           Gov. Aggregation   DEO             6180010370755               Gas           Gov. Aggregation
COH             161316810052                Gas           Gov. Aggregation   DEO             4180009478669               Gas           Gov. Aggregation
COH             204457030010                Gas           Gov. Aggregation   DEO             8500065450761               Gas           Gov. Aggregation
COH             191823670015                Gas           Gov. Aggregation   DEO             0180009825976               Gas           Gov. Aggregation
COH             190284700013                Gas           Gov. Aggregation   DEO             1442104260321               Gas           Gov. Aggregation
COH             119908430022                Gas           Gov. Aggregation   DEO             5180010488306               Gas           Gov. Aggregation
COH             165477820038                Gas           Gov. Aggregation   DEO             5180013284537               Gas           Gov. Aggregation
COH             134146460041                Gas           Gov. Aggregation   DEO             3180011571539               Gas           Gov. Aggregation
COH             192131297498                Gas           Gov. Aggregation   DEO             0180013732159               Gas           Gov. Aggregation
COH             185564840026                Gas           Gov. Aggregation   DEO             1180012992644               Gas           Gov. Aggregation
COH             194569080025                Gas           Gov. Aggregation   DEO             4180013962611               Gas           Gov. Aggregation
COH             202084690015                Gas           Gov. Aggregation   DEO             7180009704444               Gas           Gov. Aggregation
COH             204826870011                Gas           Gov. Aggregation   DEO             5180010556954               Gas           Gov. Aggregation
COH             163150380026                Gas           Gov. Aggregation   DEO             8180014007381               Gas           Gov. Aggregation
COH             150942030070                Gas           Gov. Aggregation   DEO             2180013153409               Gas           Gov. Aggregation
COH             200385850015                Gas           Gov. Aggregation   DEO             5180011107282               Gas           Gov. Aggregation
COH             194182630010                Gas           Gov. Aggregation   DEO             8180010982160               Gas           Gov. Aggregation
COH             149265300063                Gas           Gov. Aggregation   DEO             3180011206309               Gas           Gov. Aggregation
COH             188882590013                Gas           Gov. Aggregation   DEO             9180011785445               Gas           Gov. Aggregation
COH             205220210012                Gas           Gov. Aggregation   DEO             9180012382638               Gas           Gov. Aggregation
COH             175611150013                Gas           Gov. Aggregation   DEO             8180011099707               Gas           Gov. Aggregation
COH             140016300014                Gas           Gov. Aggregation   DEO             3500063124469               Gas           Gov. Aggregation
COH             158145500064                Gas           Gov. Aggregation   DEO             2180013263553               Gas           Gov. Aggregation
COH             200605090017                Gas           Gov. Aggregation   DEO             8180011844151               Gas           Gov. Aggregation
COH             172028830047                Gas           Gov. Aggregation   DEO             3180011446484               Gas           Gov. Aggregation
COH             165316590055                Gas           Gov. Aggregation   DEO             7180011312915               Gas           Gov. Aggregation
COH             152253020017                Gas           Gov. Aggregation   DEO             2180013644743               Gas           Gov. Aggregation
COH             197169280028                Gas           Gov. Aggregation   DEO             5180010424544               Gas           Gov. Aggregation
COH             170121520019                Gas           Gov. Aggregation   DEO             0180013693456               Gas           Gov. Aggregation
COH             163897030054                Gas           Gov. Aggregation   DEO             3180010322972               Gas           Gov. Aggregation
COH             195214270016                Gas           Gov. Aggregation   DEO             8180012622824               Gas           Gov. Aggregation
COH             186469130035                Gas           Gov. Aggregation   DEO             4180012461661               Gas           Gov. Aggregation
COH             204265510016                Gas           Gov. Aggregation   DEO             2180013716729               Gas           Gov. Aggregation
COH             174495170018                Gas           Gov. Aggregation   DEO             2180012419283               Gas           Gov. Aggregation
COH             160660010034                Gas           Gov. Aggregation   DEO             7180012966127               Gas           Gov. Aggregation
COH             206198780011                Gas           Gov. Aggregation   DEO             8180011666144               Gas           Gov. Aggregation
COH             157035880032                Gas           Gov. Aggregation   DEO             6180011995834               Gas           Gov. Aggregation
COH             204093170013                Gas           Gov. Aggregation   DEO             3180012933622               Gas           Gov. Aggregation
COH             198597360032                Gas           Gov. Aggregation   DEO             8180013407293               Gas           Gov. Aggregation
COH             206044260015                Gas           Gov. Aggregation   DEO             7180011525116               Gas           Gov. Aggregation
COH             201952360014                Gas           Gov. Aggregation   DEO             8180012573760               Gas           Gov. Aggregation
COH             204697230010                Gas           Gov. Aggregation   DEO             3180011985398               Gas           Gov. Aggregation
COH             200490360051                Gas           Gov. Aggregation   DEO             1180011089127               Gas           Gov. Aggregation
COH             200984770021                Gas           Gov. Aggregation   DEO             3180013696736               Gas           Gov. Aggregation
COH             205485350013                Gas           Gov. Aggregation   DEO             4180011205167               Gas           Gov. Aggregation
COH             202121640015                Gas           Gov. Aggregation   DEO             4180012848611               Gas           Gov. Aggregation
COH             202552070021                Gas           Gov. Aggregation   DEO             5180010304433               Gas           Gov. Aggregation
COH             205701160013                Gas           Gov. Aggregation   DEO             1180011320822               Gas           Gov. Aggregation
COH             194503250018                Gas           Gov. Aggregation   DEO             8180010669769               Gas           Gov. Aggregation
COH             192512350010                Gas           Gov. Aggregation   DEO             5180012239426               Gas           Gov. Aggregation
COH             192302250034                Gas           Gov. Aggregation   DEO             6180013627673               Gas           Gov. Aggregation
COH             194407530013                Gas           Gov. Aggregation   DEO             6500064713109               Gas           Gov. Aggregation
COH             153235700011                Gas           Gov. Aggregation   DEO             0180010617236               Gas           Gov. Aggregation
COH             195323030015                Gas           Gov. Aggregation   DEO             7180010510830               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             168148900017                Gas           Gov. Aggregation   DEO             8180011573006               Gas           Gov. Aggregation
COH             204489720018                Gas           Gov. Aggregation   DEO             2180011236477               Gas           Gov. Aggregation
COH             197281090011                Gas           Gov. Aggregation   DEO             1180012360979               Gas           Gov. Aggregation
COH             198294850013                Gas           Gov. Aggregation   DEO             4180013638487               Gas           Gov. Aggregation
COH             203771650024                Gas           Gov. Aggregation   DEO             6180011838475               Gas           Gov. Aggregation
COH             202357290010                Gas           Gov. Aggregation   DEO             9180012208244               Gas           Gov. Aggregation
COH             192849630027                Gas           Gov. Aggregation   DEO             3180013571779               Gas           Gov. Aggregation
COH             190800300011                Gas           Gov. Aggregation   DEO             9180009770376               Gas           Gov. Aggregation
COH             204529750016                Gas           Gov. Aggregation   DEO             2180013287547               Gas           Gov. Aggregation
COH             174426260050                Gas           Gov. Aggregation   DEO             7180013987578               Gas           Gov. Aggregation
COH             152492740010                Gas           Gov. Aggregation   DEO             3180010160644               Gas           Gov. Aggregation
COH             161751550046                Gas           Gov. Aggregation   DEO             7180012507931               Gas           Gov. Aggregation
COH             174361440023                Gas           Gov. Aggregation   DEO             7180013987667               Gas           Gov. Aggregation
COH             206374770019                Gas           Gov. Aggregation   DEO             7180013987352               Gas           Gov. Aggregation
COH             199490290014                Gas           Gov. Aggregation   DEO             8180011123780               Gas           Gov. Aggregation
COH             130082690034                Gas           Gov. Aggregation   DEO             7180013203789               Gas           Gov. Aggregation
COH             186769820025                Gas           Gov. Aggregation   DEO             7180013987525               Gas           Gov. Aggregation
COH             202935290032                Gas           Gov. Aggregation   DEO             2500062351012               Gas           Gov. Aggregation
COH             154970000019                Gas           Gov. Aggregation   DEO             5180011904578               Gas           Gov. Aggregation
COH             203609130017                Gas           Gov. Aggregation   DEO             5500034297780               Gas           Gov. Aggregation
COH             206453560015                Gas           Gov. Aggregation   DEO             1180013910908               Gas           Gov. Aggregation
COH             144352480011                Gas           Gov. Aggregation   DEO             5180003330767               Gas           Gov. Aggregation
COH             205866200016                Gas           Gov. Aggregation   DEO             5180008079863               Gas           Gov. Aggregation
COH             154983340011                Gas           Gov. Aggregation   DEO             5500051286187               Gas           Gov. Aggregation
COH             191336870016                Gas           Gov. Aggregation   DEO             2180009367579               Gas           Gov. Aggregation
COH             159069170038                Gas           Gov. Aggregation   DEO             6180009789259               Gas           Gov. Aggregation
COH             194701260016                Gas           Gov. Aggregation   DEO             7180012593612               Gas           Gov. Aggregation
COH             170549410016                Gas           Gov. Aggregation   DEO             8180012535199               Gas           Gov. Aggregation
COH             191609020024                Gas           Gov. Aggregation   DEO             2180011362347               Gas           Gov. Aggregation
COH             193565320014                Gas           Gov. Aggregation   DEO             2180012712407               Gas           Gov. Aggregation
COH             188330330034                Gas           Gov. Aggregation   DEO             6180011066550               Gas           Gov. Aggregation
COH             202080380018                Gas           Gov. Aggregation   DEO             9180010189864               Gas           Gov. Aggregation
COH             188642000014                Gas           Gov. Aggregation   DEO             3180010863059               Gas           Gov. Aggregation
COH             168269500015                Gas           Gov. Aggregation   DEO             9500049607140               Gas           Gov. Aggregation
COH             199578210014                Gas           Gov. Aggregation   DEO             1180011021788               Gas           Gov. Aggregation
COH             198488080014                Gas           Gov. Aggregation   DEO             1180010056758               Gas           Gov. Aggregation
COH             190266530026                Gas           Gov. Aggregation   DEO             7180009858399               Gas           Gov. Aggregation
COH             189748910018                Gas           Gov. Aggregation   DEO             5180009408620               Gas           Gov. Aggregation
COH             204416410016                Gas           Gov. Aggregation   DEO             2180011873323               Gas           Gov. Aggregation
COH             190619180021                Gas           Gov. Aggregation   DEO             8180012805533               Gas           Gov. Aggregation
COH             170449290023                Gas           Gov. Aggregation   DEO             9180011771948               Gas           Gov. Aggregation
COH             191718700011                Gas           Gov. Aggregation   DEO             7180012587106               Gas           Gov. Aggregation
COH             191019050029                Gas           Gov. Aggregation   DEO             0180013939685               Gas           Gov. Aggregation
COH             199560430015                Gas           Gov. Aggregation   DEO             2180012127991               Gas           Gov. Aggregation
COH             157625500021                Gas           Gov. Aggregation   DEO             3180011939799               Gas           Gov. Aggregation
COH             192840490025                Gas           Gov. Aggregation   DEO             3180010346205               Gas           Gov. Aggregation
COH             197743840040                Gas           Gov. Aggregation   DEO             7180009452915               Gas           Gov. Aggregation
COH             164278730021                Gas           Gov. Aggregation   DEO             7180012792373               Gas           Gov. Aggregation
COH             196526680018                Gas           Gov. Aggregation   DEO             5180013947211               Gas           Gov. Aggregation
COH             165644050026                Gas           Gov. Aggregation   DEO             9180012137984               Gas           Gov. Aggregation
COH             187660610028                Gas           Gov. Aggregation   DEO             6180011946976               Gas           Gov. Aggregation
COH             198143480010                Gas           Gov. Aggregation   DEO             9180013084705               Gas           Gov. Aggregation
COH             201891100018                Gas           Gov. Aggregation   DEO             4180012063893               Gas           Gov. Aggregation
COH             145379750017                Gas           Gov. Aggregation   DEO             9180011191453               Gas           Gov. Aggregation
COH             198143450016                Gas           Gov. Aggregation   DEO             9180012378592               Gas           Gov. Aggregation
COH             173120380018                Gas           Gov. Aggregation   DEO             5180010768345               Gas           Gov. Aggregation
COH             201740700020                Gas           Gov. Aggregation   DEO             9180010534878               Gas           Gov. Aggregation
COH             175531620014                Gas           Gov. Aggregation   DEO             8180013245213               Gas           Gov. Aggregation
COH             147930610041                Gas           Gov. Aggregation   DEO             1180009937580               Gas           Gov. Aggregation
COH             199616750019                Gas           Gov. Aggregation   DEO             1180013057584               Gas           Gov. Aggregation
COH             176892410022                Gas           Gov. Aggregation   DEO             6180009869095               Gas           Gov. Aggregation
COH             193017480012                Gas           Gov. Aggregation   DEO             5180009479799               Gas           Gov. Aggregation
COH             194172630011                Gas           Gov. Aggregation   DEO             2180010552013               Gas           Gov. Aggregation
COH             201375980018                Gas           Gov. Aggregation   DEO             5180011625724               Gas           Gov. Aggregation
COH             199386610017                Gas           Gov. Aggregation   DEO             7180012805444               Gas           Gov. Aggregation
COH             118125030036                Gas           Gov. Aggregation   DEO             9180010028594               Gas           Gov. Aggregation
COH             161917970046                Gas           Gov. Aggregation   DEO             4180012355574               Gas           Gov. Aggregation
COH             207567340019                Gas           Gov. Aggregation   DEO             6180013968660               Gas           Gov. Aggregation
COH             169764970016                Gas           Gov. Aggregation   DEO             4180013314098               Gas           Gov. Aggregation
COH             186825380019                Gas           Gov. Aggregation   DEO             1180011538307               Gas           Gov. Aggregation
COH             196904400014                Gas           Gov. Aggregation   DEO             9180013446975               Gas           Gov. Aggregation
COH             118829250029                Gas           Gov. Aggregation   DEO             2180011725425               Gas           Gov. Aggregation
COH             186186190024                Gas           Gov. Aggregation   DEO             3180012097985               Gas           Gov. Aggregation
COH             120104240032                Gas           Gov. Aggregation   DEO             8180012330471               Gas           Gov. Aggregation
COH             202676030018                Gas           Gov. Aggregation   DEO             7180014019483               Gas           Gov. Aggregation
COH             199825270017                Gas           Gov. Aggregation   DEO             4180012166560               Gas           Gov. Aggregation
COH             195237050014                Gas           Gov. Aggregation   DEO             0180010903162               Gas           Gov. Aggregation
COH             153114450056                Gas           Gov. Aggregation   DEO             6180012573280               Gas           Gov. Aggregation
COH             118296230024                Gas           Gov. Aggregation   DEO             9180009304140               Gas           Gov. Aggregation
COH             118225460034                Gas           Gov. Aggregation   DEO             0180012321391               Gas           Gov. Aggregation
COH             117203020033                Gas           Gov. Aggregation   DEO             0180013950696               Gas           Gov. Aggregation
COH             198279270026                Gas           Gov. Aggregation   DEO             2180012546282               Gas           Gov. Aggregation
COH             167633910017                Gas           Gov. Aggregation   DEO             3180011613264               Gas           Gov. Aggregation
COH             202394190013                Gas           Gov. Aggregation   DEO             4180011863691               Gas           Gov. Aggregation
COH             189834760035                Gas           Gov. Aggregation   DEO             6180009743453               Gas           Gov. Aggregation
COH             144134020019                Gas           Gov. Aggregation   DEO             3180010776293               Gas           Gov. Aggregation
COH             166292530030                Gas           Gov. Aggregation   DEO             0180010544830               Gas           Gov. Aggregation
COH             173546740010                Gas           Gov. Aggregation   DEO             9500065077778               Gas           Gov. Aggregation
COH             194362940059                Gas           Gov. Aggregation   DEO             5180011328985               Gas           Gov. Aggregation
COH             204605550016                Gas           Gov. Aggregation   DEO             2180009910481               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             161667950050                Gas           Gov. Aggregation   DEO             6180011504433               Gas           Gov. Aggregation
COH             185853400034                Gas           Gov. Aggregation   DEO             5180013246750               Gas           Gov. Aggregation
COH             200394290014                Gas           Gov. Aggregation   DEO             9180013897669               Gas           Gov. Aggregation
COH             175516780022                Gas           Gov. Aggregation   DEO             3180011846154               Gas           Gov. Aggregation
COH             186173410024                Gas           Gov. Aggregation   DEO             0180009567359               Gas           Gov. Aggregation
COH             200267960012                Gas           Gov. Aggregation   DEO             2180011591805               Gas           Gov. Aggregation
COH             203751250011                Gas           Gov. Aggregation   DEO             3180012021969               Gas           Gov. Aggregation
COH             137526160036                Gas           Gov. Aggregation   DEO             9180012000778               Gas           Gov. Aggregation
COH             170677980034                Gas           Gov. Aggregation   DEO             9180012743641               Gas           Gov. Aggregation
COH             191707940032                Gas           Gov. Aggregation   DEO             9180013847952               Gas           Gov. Aggregation
COH             203743790015                Gas           Gov. Aggregation   DEO             0180010383242               Gas           Gov. Aggregation
COH             196194610026                Gas           Gov. Aggregation   DEO             4180013625841               Gas           Gov. Aggregation
COH             197645950027                Gas           Gov. Aggregation   DEO             2180010316484               Gas           Gov. Aggregation
COH             201940180017                Gas           Gov. Aggregation   DEO             2180011935380               Gas           Gov. Aggregation
COH             119912840018                Gas           Gov. Aggregation   DEO             1180010709194               Gas           Gov. Aggregation
COH             200414170015                Gas           Gov. Aggregation   DEO             2180010602954               Gas           Gov. Aggregation
COH             154085390042                Gas           Gov. Aggregation   DEO             1180011013031               Gas           Gov. Aggregation
COH             150462710011                Gas           Gov. Aggregation   DEO             5180011752048               Gas           Gov. Aggregation
COH             192789880014                Gas           Gov. Aggregation   DEO             3500034815065               Gas           Gov. Aggregation
COH             167384060015                Gas           Gov. Aggregation   DEO             3180011662348               Gas           Gov. Aggregation
COH             133087530016                Gas           Gov. Aggregation   DEO             7180009398262               Gas           Gov. Aggregation
COH             119488680031                Gas           Gov. Aggregation   DEO             3180012682890               Gas           Gov. Aggregation
COH             139615490045                Gas           Gov. Aggregation   DEO             3180013299989               Gas           Gov. Aggregation
COH             207146840016                Gas           Gov. Aggregation   DEO             0180011755113               Gas           Gov. Aggregation
COH             169057570028                Gas           Gov. Aggregation   DEO             4180013872223               Gas           Gov. Aggregation
COH             199731060010                Gas           Gov. Aggregation   DEO             8180012125504               Gas           Gov. Aggregation
COH             191607600017                Gas           Gov. Aggregation   DEO             2180009608359               Gas           Gov. Aggregation
COH             175195160079                Gas           Gov. Aggregation   DEO             9180013991386               Gas           Gov. Aggregation
COH             145030320033                Gas           Gov. Aggregation   DEO             9180012300783               Gas           Gov. Aggregation
COH             161722110012                Gas           Gov. Aggregation   DEO             0180013671771               Gas           Gov. Aggregation
COH             119912620014                Gas           Gov. Aggregation   DEO             0180012750644               Gas           Gov. Aggregation
COH             144046280012                Gas           Gov. Aggregation   DEO             8180013326741               Gas           Gov. Aggregation
COH             192182650018                Gas           Gov. Aggregation   DEO             0180001046191               Gas           Gov. Aggregation
COH             199578270012                Gas           Gov. Aggregation   DEO             3180008704576               Gas           Gov. Aggregation
COH             118829810021                Gas           Gov. Aggregation   DEO             6180011867885               Gas           Gov. Aggregation
COH             202266570014                Gas           Gov. Aggregation   DEO             5180012430257               Gas           Gov. Aggregation
COH             201542030012                Gas           Gov. Aggregation   DEO             9180013122567               Gas           Gov. Aggregation
COH             202805240019                Gas           Gov. Aggregation   DEO             0180010412753               Gas           Gov. Aggregation
COH             202834030012                Gas           Gov. Aggregation   DEO             3180013521481               Gas           Gov. Aggregation
COH             203550130012                Gas           Gov. Aggregation   DEO             3180013176336               Gas           Gov. Aggregation
COH             205418330018                Gas           Gov. Aggregation   DEO             8180010481028               Gas           Gov. Aggregation
COH             201664610012                Gas           Gov. Aggregation   DEO             6180011749075               Gas           Gov. Aggregation
COH             174852030055                Gas           Gov. Aggregation   DEO             7180013740190               Gas           Gov. Aggregation
COH             188993260026                Gas           Gov. Aggregation   DEO             7180013791424               Gas           Gov. Aggregation
COH             201686610025                Gas           Gov. Aggregation   DEO             8180011839286               Gas           Gov. Aggregation
COH             166248180019                Gas           Gov. Aggregation   DEO             3180013424428               Gas           Gov. Aggregation
COH             204547620015                Gas           Gov. Aggregation   DEO             7180011880178               Gas           Gov. Aggregation
COH             161321340032                Gas           Gov. Aggregation   DEO             6180010289814               Gas           Gov. Aggregation
COH             123585790036                Gas           Gov. Aggregation   DEO             6180011941598               Gas           Gov. Aggregation
COH             161932190057                Gas           Gov. Aggregation   DEO             0180013555904               Gas           Gov. Aggregation
COH             200014110015                Gas           Gov. Aggregation   DEO             0180013230161               Gas           Gov. Aggregation
COH             193045630020                Gas           Gov. Aggregation   DEO             7180009426771               Gas           Gov. Aggregation
COH             151529840011                Gas           Gov. Aggregation   DEO             3180013589154               Gas           Gov. Aggregation
COH             116799120032                Gas           Gov. Aggregation   DEO             6180011486642               Gas           Gov. Aggregation
COH             155323460022                Gas           Gov. Aggregation   DEO             8180013328727               Gas           Gov. Aggregation
COH             199616530015                Gas           Gov. Aggregation   DEO             7180013897545               Gas           Gov. Aggregation
COH             205851280011                Gas           Gov. Aggregation   DEO             4180010682716               Gas           Gov. Aggregation
COH             199482250019                Gas           Gov. Aggregation   DEO             2180013127092               Gas           Gov. Aggregation
COH             186825290036                Gas           Gov. Aggregation   DEO             5500037062023               Gas           Gov. Aggregation
COH             198688210012                Gas           Gov. Aggregation   DEO             5180014018884               Gas           Gov. Aggregation
COH             202610160019                Gas           Gov. Aggregation   DEO             9180011252869               Gas           Gov. Aggregation
COH             205912890013                Gas           Gov. Aggregation   DEO             4180012092771               Gas           Gov. Aggregation
COH             203710660011                Gas           Gov. Aggregation   DEO             2180012774747               Gas           Gov. Aggregation
COH             190879930050                Gas           Gov. Aggregation   DEO             0180011826613               Gas           Gov. Aggregation
COH             197815540013                Gas           Gov. Aggregation   DEO             1180012589413               Gas           Gov. Aggregation
COH             195062350021                Gas           Gov. Aggregation   DEO             4180010110887               Gas           Gov. Aggregation
COH             198230900034                Gas           Gov. Aggregation   DEO             2180011622270               Gas           Gov. Aggregation
COH             200921480015                Gas           Gov. Aggregation   DEO             3180010270891               Gas           Gov. Aggregation
COH             163083880024                Gas           Gov. Aggregation   DEO             4180011243315               Gas           Gov. Aggregation
COH             196967130019                Gas           Gov. Aggregation   DEO             4180012648775               Gas           Gov. Aggregation
COH             142814150049                Gas           Gov. Aggregation   DEO             3180013509689               Gas           Gov. Aggregation
COH             202089750021                Gas           Gov. Aggregation   DEO             8180011739795               Gas           Gov. Aggregation
COH             152778250026                Gas           Gov. Aggregation   DEO             0180010205017               Gas           Gov. Aggregation
COH             202851390011                Gas           Gov. Aggregation   DEO             5180009483145               Gas           Gov. Aggregation
COH             207195910018                Gas           Gov. Aggregation   DEO             6180011731169               Gas           Gov. Aggregation
COH             116967720020                Gas           Gov. Aggregation   DEO             8180013063013               Gas           Gov. Aggregation
COH             197072610014                Gas           Gov. Aggregation   DEO             0180012162623               Gas           Gov. Aggregation
COH             200032200018                Gas           Gov. Aggregation   DEO             6180010289655               Gas           Gov. Aggregation
COH             166696570036                Gas           Gov. Aggregation   DEO             3180013306083               Gas           Gov. Aggregation
COH             192282380022                Gas           Gov. Aggregation   DEO             5180013540760               Gas           Gov. Aggregation
COH             163372280027                Gas           Gov. Aggregation   DEO             7180012368629               Gas           Gov. Aggregation
COH             202625320014                Gas           Gov. Aggregation   DEO             9180009656792               Gas           Gov. Aggregation
COH             192654930018                Gas           Gov. Aggregation   DEO             8180013521854               Gas           Gov. Aggregation
COH             206366900018                Gas           Gov. Aggregation   DEO             7180013277480               Gas           Gov. Aggregation
COH             205585330015                Gas           Gov. Aggregation   DEO             2180009479022               Gas           Gov. Aggregation
COH             141985760103                Gas           Gov. Aggregation   DEO             7180012131387               Gas           Gov. Aggregation
COH             194888800018                Gas           Gov. Aggregation   DEO             9180009873682               Gas           Gov. Aggregation
COH             167112090014                Gas           Gov. Aggregation   DEO             7180011663569               Gas           Gov. Aggregation
COH             153608250024                Gas           Gov. Aggregation   DEO             2180012265729               Gas           Gov. Aggregation
COH             166769150011                Gas           Gov. Aggregation   DEO             4180013626295               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             187894570022                Gas           Gov. Aggregation   DEO             3180009575364               Gas           Gov. Aggregation
COH             207388800012                Gas           Gov. Aggregation   DEO             8180010106678               Gas           Gov. Aggregation
COH             119767900023                Gas           Gov. Aggregation   DEO             4180013627691               Gas           Gov. Aggregation
COH             152517760030                Gas           Gov. Aggregation   DEO             9180012580452               Gas           Gov. Aggregation
COH             194474140023                Gas           Gov. Aggregation   DEO             2180011822633               Gas           Gov. Aggregation
COH             198361420010                Gas           Gov. Aggregation   DEO             7180011438415               Gas           Gov. Aggregation
COH             204758660010                Gas           Gov. Aggregation   DEO             6180011624281               Gas           Gov. Aggregation
COH             200962720018                Gas           Gov. Aggregation   DEO             3180013548331               Gas           Gov. Aggregation
COH             134761500057                Gas           Gov. Aggregation   DEO             5180013009555               Gas           Gov. Aggregation
COH             197250700017                Gas           Gov. Aggregation   DEO             6180013139779               Gas           Gov. Aggregation
COH             165081540063                Gas           Gov. Aggregation   DEO             1180010216033               Gas           Gov. Aggregation
COH             194683700022                Gas           Gov. Aggregation   DEO             3180010352552               Gas           Gov. Aggregation
COH             159762550029                Gas           Gov. Aggregation   DEO             3180013750282               Gas           Gov. Aggregation
COH             188760220018                Gas           Gov. Aggregation   DEO             4180010600185               Gas           Gov. Aggregation
COH             174826390028                Gas           Gov. Aggregation   DEO             5180012513531               Gas           Gov. Aggregation
COH             176956880037                Gas           Gov. Aggregation   DEO             5180013490773               Gas           Gov. Aggregation
COH             159422000024                Gas           Gov. Aggregation   DEO             6180012826214               Gas           Gov. Aggregation
COH             207074810015                Gas           Gov. Aggregation   DEO             7180010906779               Gas           Gov. Aggregation
COH             144408280032                Gas           Gov. Aggregation   DEO             7180011053967               Gas           Gov. Aggregation
COH             199077490018                Gas           Gov. Aggregation   DEO             7180013057018               Gas           Gov. Aggregation
COH             158578300023                Gas           Gov. Aggregation   DEO             7180011830034               Gas           Gov. Aggregation
COH             153608090019                Gas           Gov. Aggregation   DEO             8180010433689               Gas           Gov. Aggregation
COH             197336570059                Gas           Gov. Aggregation   DEO             8180013372124               Gas           Gov. Aggregation
COH             204248040011                Gas           Gov. Aggregation   DEO             4180010194864               Gas           Gov. Aggregation
COH             192845710055                Gas           Gov. Aggregation   DEO             9180013141686               Gas           Gov. Aggregation
COH             206372220018                Gas           Gov. Aggregation   DEO             5180009767856               Gas           Gov. Aggregation
COH             193835900028                Gas           Gov. Aggregation   DEO             8180010868571               Gas           Gov. Aggregation
COH             111210660012                Gas           Gov. Aggregation   DEO             5180010306087               Gas           Gov. Aggregation
COH             205662230012                Gas           Gov. Aggregation   DEO             6180013952125               Gas           Gov. Aggregation
COH             201579230022                Gas           Gov. Aggregation   DEO             5180010268494               Gas           Gov. Aggregation
COH             204977450010                Gas           Gov. Aggregation   DEO             0180011574535               Gas           Gov. Aggregation
COH             201579230031                Gas           Gov. Aggregation   DEO             2500065586971               Gas           Gov. Aggregation
COH             205386450012                Gas           Gov. Aggregation   DEO             6180009782069               Gas           Gov. Aggregation
COH             203678190010                Gas           Gov. Aggregation   DEO             9180009885540               Gas           Gov. Aggregation
COH             188177860020                Gas           Gov. Aggregation   DEO             4180010384993               Gas           Gov. Aggregation
COH             203660440014                Gas           Gov. Aggregation   DEO             1180009397750               Gas           Gov. Aggregation
COH             206124480019                Gas           Gov. Aggregation   DEO             8180012362381               Gas           Gov. Aggregation
COH             206866560010                Gas           Gov. Aggregation   DEO             6180009942513               Gas           Gov. Aggregation
COH             206409460019                Gas           Gov. Aggregation   DEO             3180012495950               Gas           Gov. Aggregation
COH             161904620224                Gas           Gov. Aggregation   DEO             5180012926734               Gas           Gov. Aggregation
COH             206128570012                Gas           Gov. Aggregation   DEO             8180011697760               Gas           Gov. Aggregation
COH             206934900013                Gas           Gov. Aggregation   DEO             5180012803293               Gas           Gov. Aggregation
COH             207593530014                Gas           Gov. Aggregation   DEO             0180008786576               Gas           Gov. Aggregation
COH             197822090022                Gas           Gov. Aggregation   DEO             3180008786417               Gas           Gov. Aggregation
COH             196882210085                Gas           Gov. Aggregation   DEO             2180013605889               Gas           Gov. Aggregation
COH             203808370015                Gas           Gov. Aggregation   DEO             2180010959072               Gas           Gov. Aggregation
COH             205627940017                Gas           Gov. Aggregation   DEO             4180011241733               Gas           Gov. Aggregation
COH             207514360016                Gas           Gov. Aggregation   DEO             4180012387145               Gas           Gov. Aggregation
COH             207093340014                Gas           Gov. Aggregation   DEO             9180012628660               Gas           Gov. Aggregation
COH             204236680030                Gas           Gov. Aggregation   DEO             4180010109870               Gas           Gov. Aggregation
COH             200040010039                Gas           Gov. Aggregation   DEO             7180011684556               Gas           Gov. Aggregation
COH             196327560024                Gas           Gov. Aggregation   DEO             4180009418287               Gas           Gov. Aggregation
COH             203581180017                Gas           Gov. Aggregation   DEO             6180011664908               Gas           Gov. Aggregation
COH             206542940016                Gas           Gov. Aggregation   DEO             3180010807865               Gas           Gov. Aggregation
COH             206309990010                Gas           Gov. Aggregation   DEO             2180013899656               Gas           Gov. Aggregation
COH             129187750149                Gas           Gov. Aggregation   DEO             8180011510566               Gas           Gov. Aggregation
COH             206821710012                Gas           Gov. Aggregation   DEO             8180012908159               Gas           Gov. Aggregation
COH             206349340012                Gas           Gov. Aggregation   DEO             3180011076779               Gas           Gov. Aggregation
COH             111209920029                Gas           Gov. Aggregation   DEO             4180004968143               Gas           Gov. Aggregation
COH             206505400017                Gas           Gov. Aggregation   DEO             4180013262087               Gas           Gov. Aggregation
COH             206950660010                Gas           Gov. Aggregation   DEO             0180010135675               Gas           Gov. Aggregation
COH             205260010010                Gas           Gov. Aggregation   DEO             3180012732317               Gas           Gov. Aggregation
COH             189376150026                Gas           Gov. Aggregation   DEO             3180011545911               Gas           Gov. Aggregation
COH             203425450010                Gas           Gov. Aggregation   DEO             9180010996095               Gas           Gov. Aggregation
COH             173683670024                Gas           Gov. Aggregation   DEO             0180011379761               Gas           Gov. Aggregation
COH             111267690026                Gas           Gov. Aggregation   DEO             6180009311146               Gas           Gov. Aggregation
COH             154325270010                Gas           Gov. Aggregation   DEO             7180012012885               Gas           Gov. Aggregation
COH             203335020011                Gas           Gov. Aggregation   COH             150946040016                Gas           Gov. Aggregation
COH             197684200022                Gas           Gov. Aggregation   COH             169196670023                Gas           Gov. Aggregation
COH             170795540036                Gas           Gov. Aggregation   COH             207274370014                Gas           Gov. Aggregation
COH             206768270019                Gas           Gov. Aggregation   COH             188604740055                Gas           Gov. Aggregation
COH             207312970016                Gas           Gov. Aggregation   COH             206431660029                Gas           Gov. Aggregation
COH             205945530019                Gas           Gov. Aggregation   COH             208630870012                Gas           Gov. Aggregation
COH             206342500012                Gas           Gov. Aggregation   COH             198967090034                Gas           Gov. Aggregation
COH             205983210016                Gas           Gov. Aggregation   COH             208454700011                Gas           Gov. Aggregation
COH             205801650018                Gas           Gov. Aggregation   COH             198568990031                Gas           Gov. Aggregation
COH             111246870031                Gas           Gov. Aggregation   COH             136438300034                Gas           Gov. Aggregation
COH             111253290038                Gas           Gov. Aggregation   COH             166470980047                Gas           Gov. Aggregation
COH             204927790014                Gas           Gov. Aggregation   COH             200552960017                Gas           Gov. Aggregation
COH             172966170039                Gas           Gov. Aggregation   COH             206852340015                Gas           Gov. Aggregation
COH             110748270016                Gas           Gov. Aggregation   COH             205438750018                Gas           Gov. Aggregation
COH             110748300019                Gas           Gov. Aggregation   COH             208264310016                Gas           Gov. Aggregation
COH             110748530011                Gas           Gov. Aggregation   COH             204802630011                Gas           Gov. Aggregation
COH             151394210047                Gas           Gov. Aggregation   COH             205062900013                Gas           Gov. Aggregation
COH             154094770025                Gas           Gov. Aggregation   COH             174314390041                Gas           Gov. Aggregation
COH             154466230065                Gas           Gov. Aggregation   COH             205829340024                Gas           Gov. Aggregation
COH             192098450028                Gas           Gov. Aggregation   COH             190959950029                Gas           Gov. Aggregation
COH             192249590028                Gas           Gov. Aggregation   COH             206538190013                Gas           Gov. Aggregation
COH             193294090018                Gas           Gov. Aggregation   COH             205368630012                Gas           Gov. Aggregation
COH             193350190026                Gas           Gov. Aggregation   COH             205931470011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             201081240016                Gas           Gov. Aggregation   COH             203485330028                Gas           Gov. Aggregation
COH             201893890028                Gas           Gov. Aggregation   COH             153258120024                Gas           Gov. Aggregation
COH             204297460010                Gas           Gov. Aggregation   COH             205858860015                Gas           Gov. Aggregation
COH             204424860015                Gas           Gov. Aggregation   COH             204172650023                Gas           Gov. Aggregation
COH             206586800013                Gas           Gov. Aggregation   COH             205510160027                Gas           Gov. Aggregation
COH             206701620015                Gas           Gov. Aggregation   COH             136526170124                Gas           Gov. Aggregation
COH             206772580015                Gas           Gov. Aggregation   COH             207442800016                Gas           Gov. Aggregation
DEO             6421702641889               Gas           Gov. Aggregation   COH             207442780011                Gas           Gov. Aggregation
VEDO            4001865972679940            Gas           Gov. Aggregation   COH             175522820039                Gas           Gov. Aggregation
COH             186839570029                Gas           Gov. Aggregation   COH             208088960014                Gas           Gov. Aggregation
COH             151239800130                Gas           Gov. Aggregation   COH             205401440010                Gas           Gov. Aggregation
DEO             9180013037772               Gas           Gov. Aggregation   COH             206817870018                Gas           Gov. Aggregation
VEDO            4017700762491850            Gas           Gov. Aggregation   COH             207684670012                Gas           Gov. Aggregation
VEDO            4001889762431325            Gas           Gov. Aggregation   COH             204998070016                Gas           Gov. Aggregation
COH             161073830054                Gas           Gov. Aggregation   COH             203610240020                Gas           Gov. Aggregation
COH             110978120010                Gas           Gov. Aggregation   COH             136141950117                Gas           Gov. Aggregation
VEDO            4016246032126560            Gas           Gov. Aggregation   COH             189641250040                Gas           Gov. Aggregation
VEDO            4003244802320561            Gas           Gov. Aggregation   COH             206039070016                Gas           Gov. Aggregation
COH             111097470014                Gas           Gov. Aggregation   COH             206606570018                Gas           Gov. Aggregation
COH             204498790015                Gas           Gov. Aggregation   COH             205328670018                Gas           Gov. Aggregation
COH             204456720017                Gas           Gov. Aggregation   COH             124133370021                Gas           Gov. Aggregation
COH             163282840048                Gas           Gov. Aggregation   COH             167292980053                Gas           Gov. Aggregation
COH             202346570014                Gas           Gov. Aggregation   COH             198484040056                Gas           Gov. Aggregation
COH             197102060033                Gas           Gov. Aggregation   COH             207936520018                Gas           Gov. Aggregation
COH             204906110010                Gas           Gov. Aggregation   COH             208579860014                Gas           Gov. Aggregation
COH             205932150016                Gas           Gov. Aggregation   COH             204958070010                Gas           Gov. Aggregation
COH             110800360024                Gas           Gov. Aggregation   COH             175038330039                Gas           Gov. Aggregation
COH             193670920033                Gas           Gov. Aggregation   COH             195135480038                Gas           Gov. Aggregation
COH             199683990018                Gas           Gov. Aggregation   COH             200949610037                Gas           Gov. Aggregation
COH             205547710015                Gas           Gov. Aggregation   COH             201955210028                Gas           Gov. Aggregation
COH             195974780037                Gas           Gov. Aggregation   COH             202260450039                Gas           Gov. Aggregation
COH             117557800030                Gas           Gov. Aggregation   COH             202260450048                Gas           Gov. Aggregation
COH             160361970055                Gas           Gov. Aggregation   COH             206960430035                Gas           Gov. Aggregation
COH             203710090020                Gas           Gov. Aggregation   COH             206557090014                Gas           Gov. Aggregation
COH             199983260024                Gas           Gov. Aggregation   COH             124157940012                Gas           Gov. Aggregation
COH             206896950015                Gas           Gov. Aggregation   COH             149476380033                Gas           Gov. Aggregation
COH             206148870017                Gas           Gov. Aggregation   COH             206576240012                Gas           Gov. Aggregation
COH             152045710013                Gas           Gov. Aggregation   COH             166555200031                Gas           Gov. Aggregation
COH             203934080019                Gas           Gov. Aggregation   COH             202957910026                Gas           Gov. Aggregation
COH             200372290029                Gas           Gov. Aggregation   COH             204786270013                Gas           Gov. Aggregation
COH             204795790015                Gas           Gov. Aggregation   COH             126538210051                Gas           Gov. Aggregation
COH             207243840010                Gas           Gov. Aggregation   COH             185435760035                Gas           Gov. Aggregation
COH             205374640017                Gas           Gov. Aggregation   COH             204408880024                Gas           Gov. Aggregation
COH             196400850027                Gas           Gov. Aggregation   COH             186227350040                Gas           Gov. Aggregation
COH             207179100012                Gas           Gov. Aggregation   COH             204643940032                Gas           Gov. Aggregation
COH             204969210017                Gas           Gov. Aggregation   COH             143329860119                Gas           Gov. Aggregation
COH             203588880016                Gas           Gov. Aggregation   COH             203677090031                Gas           Gov. Aggregation
COH             205462030018                Gas           Gov. Aggregation   COH             124132390010                Gas           Gov. Aggregation
COH             192667120048                Gas           Gov. Aggregation   COH             154779710061                Gas           Gov. Aggregation
COH             194247090089                Gas           Gov. Aggregation   COH             202617670054                Gas           Gov. Aggregation
COH             111269220039                Gas           Gov. Aggregation   COH             145314920080                Gas           Gov. Aggregation
COH             153989710021                Gas           Gov. Aggregation   COH             207708890014                Gas           Gov. Aggregation
COH             138044010029                Gas           Gov. Aggregation   COH             206157640016                Gas           Gov. Aggregation
COH             207645770013                Gas           Gov. Aggregation   COH             195960570085                Gas           Gov. Aggregation
COH             205273290015                Gas           Gov. Aggregation   COH             205104270016                Gas           Gov. Aggregation
COH             206274200010                Gas           Gov. Aggregation   COH             195889600026                Gas           Gov. Aggregation
COH             186952240117                Gas           Gov. Aggregation   COH             207526920013                Gas           Gov. Aggregation
COH             207104230012                Gas           Gov. Aggregation   COH             206809910034                Gas           Gov. Aggregation
COH             203710090011                Gas           Gov. Aggregation   COH             191618630018                Gas           Gov. Aggregation
COH             192667120039                Gas           Gov. Aggregation   COH             193779990048                Gas           Gov. Aggregation
COH             202375530020                Gas           Gov. Aggregation   COH             193779990057                Gas           Gov. Aggregation
COH             204219710011                Gas           Gov. Aggregation   COH             206857010014                Gas           Gov. Aggregation
COH             196285630038                Gas           Gov. Aggregation   COH             158009080338                Gas           Gov. Aggregation
COH             207288240012                Gas           Gov. Aggregation   COH             207983780042                Gas           Gov. Aggregation
COH             198875850039                Gas           Gov. Aggregation   COH             207983780060                Gas           Gov. Aggregation
COH             148615000028                Gas           Gov. Aggregation   COH             206620700010                Gas           Gov. Aggregation
COH             185990550088                Gas           Gov. Aggregation   COH             162162370097                Gas           Gov. Aggregation
COH             206107950016                Gas           Gov. Aggregation   COH             205808010036                Gas           Gov. Aggregation
COH             204021890031                Gas           Gov. Aggregation   COH             208094670012                Gas           Gov. Aggregation
COH             204021890013                Gas           Gov. Aggregation   COH             206669490013                Gas           Gov. Aggregation
COH             200019800038                Gas           Gov. Aggregation   COH             208576530019                Gas           Gov. Aggregation
COH             173960550076                Gas           Gov. Aggregation   COH             206308910018                Gas           Gov. Aggregation
COH             173960550085                Gas           Gov. Aggregation   COH             208063480017                Gas           Gov. Aggregation
COH             173960550094                Gas           Gov. Aggregation   COH             207891640019                Gas           Gov. Aggregation
COH             207336420011                Gas           Gov. Aggregation   COH             155004520034                Gas           Gov. Aggregation
COH             206257140019                Gas           Gov. Aggregation   COH             204929390023                Gas           Gov. Aggregation
COH             205764880010                Gas           Gov. Aggregation   COH             207113430011                Gas           Gov. Aggregation
COH             203770080017                Gas           Gov. Aggregation   COH             202031130013                Gas           Gov. Aggregation
VEDO            4005158142528636            Gas           Gov. Aggregation   COH             192403510044                Gas           Gov. Aggregation
COH             120202170011                Gas           Gov. Aggregation   COH             208703780016                Gas           Gov. Aggregation
VEDO            4004142152416164            Gas           Gov. Aggregation   COH             206475100015                Gas           Gov. Aggregation
VEDO            4021099052357436            Gas           Gov. Aggregation   COH             123037470043                Gas           Gov. Aggregation
VEDO            4004092082114414            Gas           Gov. Aggregation   COH             193801930032                Gas           Gov. Aggregation
VEDO            4019974312366398            Gas           Gov. Aggregation   COH             205153150054                Gas           Gov. Aggregation
COH             194221090047                Gas           Gov. Aggregation   COH             205742430010                Gas           Gov. Aggregation
DEO             9180013223628               Gas           Gov. Aggregation   COH             163510280096                Gas           Gov. Aggregation
VEDO            4003044082299810            Gas           Gov. Aggregation   COH             187008800066                Gas           Gov. Aggregation
COH             188668201231                Gas           Gov. Aggregation   COH             136220090021                Gas           Gov. Aggregation
COH             169375570042                Gas           Gov. Aggregation   COH             145437350106                Gas           Gov. Aggregation
COH             188588200027                Gas           Gov. Aggregation   COH             207149060014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             169375570033                Gas           Gov. Aggregation   COH             191204900107                Gas           Gov. Aggregation
COH             153257760139                Gas           Gov. Aggregation   COH             191204900116                Gas           Gov. Aggregation
COH             206789960010                Gas           Gov. Aggregation   COH             191204900134                Gas           Gov. Aggregation
COH             207849350019                Gas           Gov. Aggregation   COH             197672200036                Gas           Gov. Aggregation
COH             204710010016                Gas           Gov. Aggregation   COH             206965900018                Gas           Gov. Aggregation
COH             204916620067                Gas           Gov. Aggregation   COH             124013520023                Gas           Gov. Aggregation
COH             205148520011                Gas           Gov. Aggregation   COH             192610730030                Gas           Gov. Aggregation
COH             203703510017                Gas           Gov. Aggregation   COH             203384430030                Gas           Gov. Aggregation
COH             205482160019                Gas           Gov. Aggregation   COH             123909170010                Gas           Gov. Aggregation
COH             204916620012                Gas           Gov. Aggregation   COH             123908720016                Gas           Gov. Aggregation
COH             172407480207                Gas           Gov. Aggregation   COH             169429940030                Gas           Gov. Aggregation
COH             207700350013                Gas           Gov. Aggregation   COH             208481200019                Gas           Gov. Aggregation
COH             207403390015                Gas           Gov. Aggregation   COH             206976390013                Gas           Gov. Aggregation
COH             199258080029                Gas           Gov. Aggregation   COH             206357940019                Gas           Gov. Aggregation
COH             207498760018                Gas           Gov. Aggregation   COH             206606560010                Gas           Gov. Aggregation
COH             203764130019                Gas           Gov. Aggregation   COH             207331650013                Gas           Gov. Aggregation
COH             207328660018                Gas           Gov. Aggregation   COH             206261160016                Gas           Gov. Aggregation
COH             200082620033                Gas           Gov. Aggregation   COH             148742360042                Gas           Gov. Aggregation
COH             175207620020                Gas           Gov. Aggregation   COH             197326620031                Gas           Gov. Aggregation
COH             204048310018                Gas           Gov. Aggregation   COH             176946450109                Gas           Gov. Aggregation
COH             207717700014                Gas           Gov. Aggregation   COH             207291610017                Gas           Gov. Aggregation
COH             196810440024                Gas           Gov. Aggregation   COH             208722050019                Gas           Gov. Aggregation
COH             206739260012                Gas           Gov. Aggregation   COH             206976400010                Gas           Gov. Aggregation
COH             207557780018                Gas           Gov. Aggregation   COH             206858300011                Gas           Gov. Aggregation
COH             205181340019                Gas           Gov. Aggregation   COH             122372970076                Gas           Gov. Aggregation
COH             176849890032                Gas           Gov. Aggregation   COH             206688530023                Gas           Gov. Aggregation
COH             202506760023                Gas           Gov. Aggregation   COH             208188590010                Gas           Gov. Aggregation
COH             206759990017                Gas           Gov. Aggregation   COH             200984240022                Gas           Gov. Aggregation
COH             205213360016                Gas           Gov. Aggregation   COH             196808180088                Gas           Gov. Aggregation
COH             206965640013                Gas           Gov. Aggregation   COH             205873510552                Gas           Gov. Aggregation
COH             204546510010                Gas           Gov. Aggregation   COH             192452490037                Gas           Gov. Aggregation
COH             207595640017                Gas           Gov. Aggregation   COH             192162840029                Gas           Gov. Aggregation
COH             122405280025                Gas           Gov. Aggregation   COH             172477340094                Gas           Gov. Aggregation
DEO             3180010981198               Gas           Gov. Aggregation   COH             177693810029                Gas           Gov. Aggregation
COH             154809860047                Gas           Gov. Aggregation   COH             204664470028                Gas           Gov. Aggregation
COH             188668201642                Gas           Gov. Aggregation   COH             205656730010                Gas           Gov. Aggregation
COH             191220730056                Gas           Gov. Aggregation   COH             205955500014                Gas           Gov. Aggregation
COH             188668201571                Gas           Gov. Aggregation   COH             206185560014                Gas           Gov. Aggregation
COH             188668201535                Gas           Gov. Aggregation   COH             196499470020                Gas           Gov. Aggregation
DEO             8180013484131               Gas           Gov. Aggregation   COH             204961380018                Gas           Gov. Aggregation
DEO             6500029482476               Gas           Gov. Aggregation   COH             206005910010                Gas           Gov. Aggregation
DEO             7180013294809               Gas           Gov. Aggregation   COH             170006170115                Gas           Gov. Aggregation
VEDO            4021290242449151            Gas           Gov. Aggregation   COH             208295470018                Gas           Gov. Aggregation
COH             207319650019                Gas           Gov. Aggregation   COH             207921350015                Gas           Gov. Aggregation
COH             192945750037                Gas           Gov. Aggregation   COH             207721160019                Gas           Gov. Aggregation
COH             201233400019                Gas           Gov. Aggregation   COH             208646920018                Gas           Gov. Aggregation
COH             146969110064                Gas           Gov. Aggregation   COH             194429790031                Gas           Gov. Aggregation
COH             112184370019                Gas           Gov. Aggregation   COH             190919150030                Gas           Gov. Aggregation
COH             192177030037                Gas           Gov. Aggregation   COH             168859660039                Gas           Gov. Aggregation
COH             206174290023                Gas           Gov. Aggregation   COH             205979410013                Gas           Gov. Aggregation
COH             199038320042                Gas           Gov. Aggregation   COH             192640150039                Gas           Gov. Aggregation
COH             191353220025                Gas           Gov. Aggregation   COH             206654920013                Gas           Gov. Aggregation
COH             205793050013                Gas           Gov. Aggregation   COH             208675790015                Gas           Gov. Aggregation
COH             206292670014                Gas           Gov. Aggregation   COH             208471670012                Gas           Gov. Aggregation
COH             116581900020                Gas           Gov. Aggregation   COH             201690570016                Gas           Gov. Aggregation
COH             208052480010                Gas           Gov. Aggregation   COH             200336350068                Gas           Gov. Aggregation
COH             207911260015                Gas           Gov. Aggregation   COH             206309540014                Gas           Gov. Aggregation
COH             208038410014                Gas           Gov. Aggregation   COH             205454770010                Gas           Gov. Aggregation
COH             126773610022                Gas           Gov. Aggregation   COH             205541980011                Gas           Gov. Aggregation
COH             207864140011                Gas           Gov. Aggregation   COH             205794710012                Gas           Gov. Aggregation
COH             208133290018                Gas           Gov. Aggregation   COH             206126940018                Gas           Gov. Aggregation
COH             157213670056                Gas           Gov. Aggregation   COH             190251840040                Gas           Gov. Aggregation
COH             118048230038                Gas           Gov. Aggregation   COH             204766690017                Gas           Gov. Aggregation
COH             196127660036                Gas           Gov. Aggregation   COH             165463270079                Gas           Gov. Aggregation
COH             208149350012                Gas           Gov. Aggregation   COH             201088420032                Gas           Gov. Aggregation
COH             207934890015                Gas           Gov. Aggregation   COH             208235410016                Gas           Gov. Aggregation
COH             200103220031                Gas           Gov. Aggregation   COH             193557160042                Gas           Gov. Aggregation
COH             169646850066                Gas           Gov. Aggregation   COH             207788620012                Gas           Gov. Aggregation
COH             206253150015                Gas           Gov. Aggregation   COH             203440600034                Gas           Gov. Aggregation
COH             206868330014                Gas           Gov. Aggregation   COH             206872940017                Gas           Gov. Aggregation
COH             207439770010                Gas           Gov. Aggregation   COH             207777800017                Gas           Gov. Aggregation
COH             208093620014                Gas           Gov. Aggregation   COH             164510460033                Gas           Gov. Aggregation
COH             207155260019                Gas           Gov. Aggregation   COH             177418590019                Gas           Gov. Aggregation
COH             207328010023                Gas           Gov. Aggregation   COH             177507820137                Gas           Gov. Aggregation
COH             208096750011                Gas           Gov. Aggregation   COH             208493510019                Gas           Gov. Aggregation
COH             192242740075                Gas           Gov. Aggregation   COH             197792260021                Gas           Gov. Aggregation
COH             200965370025                Gas           Gov. Aggregation   COH             196011770038                Gas           Gov. Aggregation
COH             201369260067                Gas           Gov. Aggregation   COH             191204900090                Gas           Gov. Aggregation
COH             206642650033                Gas           Gov. Aggregation   COH             204854890018                Gas           Gov. Aggregation
COH             206664570016                Gas           Gov. Aggregation   COH             205039120016                Gas           Gov. Aggregation
COH             207891960012                Gas           Gov. Aggregation   COH             207798330012                Gas           Gov. Aggregation
COH             208149270019                Gas           Gov. Aggregation   COH             204705980014                Gas           Gov. Aggregation
COH             199617760024                Gas           Gov. Aggregation   COH             205506580019                Gas           Gov. Aggregation
COH             192736960269                Gas           Gov. Aggregation   COH             124052140021                Gas           Gov. Aggregation
COH             188793620024                Gas           Gov. Aggregation   COH             141089980027                Gas           Gov. Aggregation
COH             206726720012                Gas           Gov. Aggregation   COH             206061240013                Gas           Gov. Aggregation
COH             112495280046                Gas           Gov. Aggregation   COH             208199410023                Gas           Gov. Aggregation
COH             206572500015                Gas           Gov. Aggregation   COH             139872570026                Gas           Gov. Aggregation
COH             207915880017                Gas           Gov. Aggregation   COH             193571600021                Gas           Gov. Aggregation
COH             206502210013                Gas           Gov. Aggregation   COH             142562560039                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             208158740011                Gas           Gov. Aggregation   COH             185484220026                Gas           Gov. Aggregation
COH             207302540017                Gas           Gov. Aggregation   COH             176075160036                Gas           Gov. Aggregation
COH             207541480014                Gas           Gov. Aggregation   COH             204985390016                Gas           Gov. Aggregation
COH             207966390013                Gas           Gov. Aggregation   COH             205189620014                Gas           Gov. Aggregation
COH             206868170018                Gas           Gov. Aggregation   COH             204690160019                Gas           Gov. Aggregation
COH             207096790014                Gas           Gov. Aggregation   COH             123963960010                Gas           Gov. Aggregation
COH             206584560018                Gas           Gov. Aggregation   COH             134409400054                Gas           Gov. Aggregation
COH             207043210034                Gas           Gov. Aggregation   COH             167709980012                Gas           Gov. Aggregation
COH             207911230011                Gas           Gov. Aggregation   COH             168880300057                Gas           Gov. Aggregation
COH             112164390035                Gas           Gov. Aggregation   COH             169163520014                Gas           Gov. Aggregation
COH             206658970015                Gas           Gov. Aggregation   COH             188543510053                Gas           Gov. Aggregation
COH             177168890124                Gas           Gov. Aggregation   COH             191204900125                Gas           Gov. Aggregation
COH             202953610027                Gas           Gov. Aggregation   COH             199113700015                Gas           Gov. Aggregation
COH             203502460032                Gas           Gov. Aggregation   COH             206363650017                Gas           Gov. Aggregation
COH             205466330035                Gas           Gov. Aggregation   COH             202205800031                Gas           Gov. Aggregation
COH             206161250019                Gas           Gov. Aggregation   COH             207513030017                Gas           Gov. Aggregation
COH             206241250019                Gas           Gov. Aggregation   COH             208576590017                Gas           Gov. Aggregation
COH             207056500018                Gas           Gov. Aggregation   COH             208581960018                Gas           Gov. Aggregation
COH             207563680016                Gas           Gov. Aggregation   COH             207467260018                Gas           Gov. Aggregation
COH             208050050014                Gas           Gov. Aggregation   COH             207911980014                Gas           Gov. Aggregation
COH             206711190015                Gas           Gov. Aggregation   COH             207771270020                Gas           Gov. Aggregation
COH             198318350025                Gas           Gov. Aggregation   COH             208523440019                Gas           Gov. Aggregation
COH             206843620024                Gas           Gov. Aggregation   COH             207971950014                Gas           Gov. Aggregation
COH             190734490059                Gas           Gov. Aggregation   COH             207626970011                Gas           Gov. Aggregation
COH             158307240047                Gas           Gov. Aggregation   COH             206052990015                Gas           Gov. Aggregation
COH             154361620038                Gas           Gov. Aggregation   COH             207847440014                Gas           Gov. Aggregation
COH             206674050023                Gas           Gov. Aggregation   COH             194243410043                Gas           Gov. Aggregation
COH             206674050014                Gas           Gov. Aggregation   COH             205013270028                Gas           Gov. Aggregation
COH             164084020101                Gas           Gov. Aggregation   COH             205626340024                Gas           Gov. Aggregation
COH             150280810034                Gas           Gov. Aggregation   COH             203034430022                Gas           Gov. Aggregation
COH             192040340031                Gas           Gov. Aggregation   COH             146450130023                Gas           Gov. Aggregation
COH             112776290075                Gas           Gov. Aggregation   COH             123991140031                Gas           Gov. Aggregation
COH             207698210019                Gas           Gov. Aggregation   COH             207746120015                Gas           Gov. Aggregation
COH             199750350046                Gas           Gov. Aggregation   COH             203952220020                Gas           Gov. Aggregation
COH             189927720045                Gas           Gov. Aggregation   COH             188845440049                Gas           Gov. Aggregation
COH             189196100082                Gas           Gov. Aggregation   COH             195351850023                Gas           Gov. Aggregation
COH             208082280019                Gas           Gov. Aggregation   COH             157018480103                Gas           Gov. Aggregation
COH             157569420037                Gas           Gov. Aggregation   COH             208317780015                Gas           Gov. Aggregation
COH             207491690017                Gas           Gov. Aggregation   COH             200096360048                Gas           Gov. Aggregation
COH             198507830023                Gas           Gov. Aggregation   COH             175374700011                Gas           Gov. Aggregation
COH             112263720035                Gas           Gov. Aggregation   COH             123935280021                Gas           Gov. Aggregation
COH             208065820011                Gas           Gov. Aggregation   COH             206988180012                Gas           Gov. Aggregation
COH             114446330028                Gas           Gov. Aggregation   COH             207026060014                Gas           Gov. Aggregation
COH             203211690022                Gas           Gov. Aggregation   COH             207201700017                Gas           Gov. Aggregation
COH             206563660011                Gas           Gov. Aggregation   COH             207558560012                Gas           Gov. Aggregation
COH             206065620024                Gas           Gov. Aggregation   COH             207955480017                Gas           Gov. Aggregation
COH             207485390013                Gas           Gov. Aggregation   COH             208138610010                Gas           Gov. Aggregation
COH             136124690029                Gas           Gov. Aggregation   COH             208537210018                Gas           Gov. Aggregation
COH             206766690015                Gas           Gov. Aggregation   COH             208537240012                Gas           Gov. Aggregation
COH             207224690012                Gas           Gov. Aggregation   DUKE            5540061426                  Gas           Gov. Aggregation
COH             112285280014                Gas           Gov. Aggregation   DUKE            6450061426                  Gas           Gov. Aggregation
COH             206593230018                Gas           Gov. Aggregation   DUKE            8650061420                  Gas           Gov. Aggregation
COH             172548100020                Gas           Gov. Aggregation   DUKE            1880083722                  Gas           Gov. Aggregation
COH             198191190038                Gas           Gov. Aggregation   DUKE            6980078540                  Gas           Gov. Aggregation
COH             198432590023                Gas           Gov. Aggregation   DUKE            3220081444                  Gas           Gov. Aggregation
COH             206132950675                Gas           Gov. Aggregation   DUKE            4220081436                  Gas           Gov. Aggregation
COH             207959630017                Gas           Gov. Aggregation   DUKE            3750081728                  Gas           Gov. Aggregation
COH             131011810143                Gas           Gov. Aggregation   DUKE            8720363307                  Gas           Gov. Aggregation
COH             147092230021                Gas           Gov. Aggregation   DUKE            9220082534                  Gas           Gov. Aggregation
COH             204599070030                Gas           Gov. Aggregation   DUKE            0900082723                  Gas           Gov. Aggregation
COH             206132950719                Gas           Gov. Aggregation   DUKE            6360082137                  Gas           Gov. Aggregation
COH             207333290015                Gas           Gov. Aggregation   DUKE            1820082945                  Gas           Gov. Aggregation
COH             207470520016                Gas           Gov. Aggregation   DUKE            0320081431                  Gas           Gov. Aggregation
COH             207485360019                Gas           Gov. Aggregation   DUKE            4500079128                  Gas           Gov. Aggregation
COH             207631990016                Gas           Gov. Aggregation   DUKE            0090078539                  Gas           Gov. Aggregation
COH             128866230041                Gas           Gov. Aggregation   DUKE            3670078647                  Gas           Gov. Aggregation
COH             206292870012                Gas           Gov. Aggregation   DUKE            3270078929                  Gas           Gov. Aggregation
COH             206351510011                Gas           Gov. Aggregation   DUKE            2560078629                  Gas           Gov. Aggregation
COH             206382260019                Gas           Gov. Aggregation   DUKE            0090079535                  Gas           Gov. Aggregation
COH             206545270011                Gas           Gov. Aggregation   DUKE            4940371611                  Gas           Gov. Aggregation
COH             206779580011                Gas           Gov. Aggregation   DUKE            4070085642                  Gas           Gov. Aggregation
COH             206879950011                Gas           Gov. Aggregation   DUKE            6320084425                  Gas           Gov. Aggregation
COH             200237080047                Gas           Gov. Aggregation   DUKE            7710220201                  Gas           Gov. Aggregation
COH             206351450014                Gas           Gov. Aggregation   DUKE            3610079934                  Gas           Gov. Aggregation
COH             196713010057                Gas           Gov. Aggregation   DUKE            7830078929                  Gas           Gov. Aggregation
COH             198355660022                Gas           Gov. Aggregation   DUKE            9720080838                  Gas           Gov. Aggregation
COH             207641550017                Gas           Gov. Aggregation   DUKE            5040085826                  Gas           Gov. Aggregation
COH             194730580036                Gas           Gov. Aggregation   DUKE            1740061429                  Gas           Gov. Aggregation
COH             207217690017                Gas           Gov. Aggregation   DUKE            1850084025                  Gas           Gov. Aggregation
COH             206091690016                Gas           Gov. Aggregation   VEDO            4018583022537792            Gas           Gov. Aggregation
COH             205003910024                Gas           Gov. Aggregation   VEDO            4002012872530814            Gas           Gov. Aggregation
COH             207861900017                Gas           Gov. Aggregation   VEDO            4019358762206386            Gas           Gov. Aggregation
COH             207158270011                Gas           Gov. Aggregation   VEDO            4019737662537806            Gas           Gov. Aggregation
COH             191557780026                Gas           Gov. Aggregation   VEDO            4021259622529609            Gas           Gov. Aggregation
COH             202026160036                Gas           Gov. Aggregation   VEDO            4019060362680440            Gas           Gov. Aggregation
COH             199414420034                Gas           Gov. Aggregation   VEDO            4019835432684727            Gas           Gov. Aggregation
COH             207521910015                Gas           Gov. Aggregation   VEDO            4015284752293250            Gas           Gov. Aggregation
COH             206428740010                Gas           Gov. Aggregation   VEDO            4021410462583699            Gas           Gov. Aggregation
COH             130595596327                Gas           Gov. Aggregation   VEDO            4021048362587017            Gas           Gov. Aggregation
COH             206174410018                Gas           Gov. Aggregation   VEDO            4021181222323373            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             141853950013                Gas           Gov. Aggregation   VEDO         4021111892187274            Gas           Gov. Aggregation
COH             146510960021                Gas           Gov. Aggregation   VEDO         4021217682199732            Gas           Gov. Aggregation
COH             124077960063                Gas           Gov. Aggregation   VEDO         4020297912583701            Gas           Gov. Aggregation
COH             204687260015                Gas           Gov. Aggregation   VEDO         4019831132372591            Gas           Gov. Aggregation
VEDO            4001037992600136            Gas           Gov. Aggregation   VEDO         4020307342185755            Gas           Gov. Aggregation
DEO             0180013000264               Gas           Gov. Aggregation   VEDO         4019839432648396            Gas           Gov. Aggregation
VEDO            4001648452260524            Gas           Gov. Aggregation   VEDO         4021114052671242            Gas           Gov. Aggregation
DEO             5180010833554               Gas           Gov. Aggregation   VEDO         4019102822370867            Gas           Gov. Aggregation
COH             208167130010                Gas           Gov. Aggregation   VEDO         4021165372426600            Gas           Gov. Aggregation
COH             198009180026                Gas           Gov. Aggregation   VEDO         4021057912555415            Gas           Gov. Aggregation
COH             185742770014                Gas           Gov. Aggregation   VEDO         4004789262487268            Gas           Gov. Aggregation
COH             205728340019                Gas           Gov. Aggregation   VEDO         4016735042627103            Gas           Gov. Aggregation
COH             196451470039                Gas           Gov. Aggregation   VEDO         4019150092631003            Gas           Gov. Aggregation
COH             153078260018                Gas           Gov. Aggregation   VEDO         4021098372683092            Gas           Gov. Aggregation
COH             206131730011                Gas           Gov. Aggregation   VEDO         4021174722582420            Gas           Gov. Aggregation
COH             202826510018                Gas           Gov. Aggregation   VEDO         4021170302631641            Gas           Gov. Aggregation
COH             205970580016                Gas           Gov. Aggregation   VEDO         4021045672566538            Gas           Gov. Aggregation
COH             125912580051                Gas           Gov. Aggregation   VEDO         4018463022561761            Gas           Gov. Aggregation
COH             207621150013                Gas           Gov. Aggregation   VEDO         4003675162534748            Gas           Gov. Aggregation
COH             205473420013                Gas           Gov. Aggregation   VEDO         4021410812532818            Gas           Gov. Aggregation
COH             206996590019                Gas           Gov. Aggregation   VEDO         4021094132532500            Gas           Gov. Aggregation
COH             170493660022                Gas           Gov. Aggregation   VEDO         4015081182289873            Gas           Gov. Aggregation
COH             206827140010                Gas           Gov. Aggregation   VEDO         4015314052544974            Gas           Gov. Aggregation
COH             206090630010                Gas           Gov. Aggregation   VEDO         4018112332328278            Gas           Gov. Aggregation
COH             206066590038                Gas           Gov. Aggregation   VEDO         4018198632542571            Gas           Gov. Aggregation
COH             125745870028                Gas           Gov. Aggregation   VEDO         4021245672542572            Gas           Gov. Aggregation
COH             205255140014                Gas           Gov. Aggregation   VEDO         4019328352277357            Gas           Gov. Aggregation
COH             202080140027                Gas           Gov. Aggregation   VEDO         4017325412532080            Gas           Gov. Aggregation
COH             157614210025                Gas           Gov. Aggregation   VEDO         4003220872541003            Gas           Gov. Aggregation
COH             204326490011                Gas           Gov. Aggregation   VEDO         4021169152479178            Gas           Gov. Aggregation
COH             205190070017                Gas           Gov. Aggregation   VEDO         4016359462414267            Gas           Gov. Aggregation
COH             161205210026                Gas           Gov. Aggregation   VEDO         4019388672320742            Gas           Gov. Aggregation
COH             207068760019                Gas           Gov. Aggregation   VEDO         4018631122504886            Gas           Gov. Aggregation
COH             198770450026                Gas           Gov. Aggregation   VEDO         4021224882498903            Gas           Gov. Aggregation
COH             195789110085                Gas           Gov. Aggregation   VEDO         4021229492308000            Gas           Gov. Aggregation
COH             206121790010                Gas           Gov. Aggregation   VEDO         4021289362191123            Gas           Gov. Aggregation
COH             185924130030                Gas           Gov. Aggregation   VEDO         4021279492415261            Gas           Gov. Aggregation
COH             125903120029                Gas           Gov. Aggregation   VEDO         4021234252109138            Gas           Gov. Aggregation
COH             206236020018                Gas           Gov. Aggregation   VEDO         4021048672506466            Gas           Gov. Aggregation
COH             206670090014                Gas           Gov. Aggregation   VEDO         4018040152216416            Gas           Gov. Aggregation
COH             206582490017                Gas           Gov. Aggregation   VEDO         4019236262364846            Gas           Gov. Aggregation
COH             205212240013                Gas           Gov. Aggregation   VEDO         4002766202321504            Gas           Gov. Aggregation
COH             204123740027                Gas           Gov. Aggregation   VEDO         4019844702140162            Gas           Gov. Aggregation
COH             205975240017                Gas           Gov. Aggregation   VEDO         4004379582442107            Gas           Gov. Aggregation
COH             208107490011                Gas           Gov. Aggregation   VEDO         4020850452372060            Gas           Gov. Aggregation
COH             205243800010                Gas           Gov. Aggregation   VEDO         4018894622433265            Gas           Gov. Aggregation
COH             198507570028                Gas           Gov. Aggregation   VEDO         4020312712684405            Gas           Gov. Aggregation
COH             125864840013                Gas           Gov. Aggregation   VEDO         4021415992188679            Gas           Gov. Aggregation
COH             204482800015                Gas           Gov. Aggregation   VEDO         4003880272582909            Gas           Gov. Aggregation
COH             138366080014                Gas           Gov. Aggregation   VEDO         4003275452589146            Gas           Gov. Aggregation
COH             207644710017                Gas           Gov. Aggregation   VEDO         4017408562576008            Gas           Gov. Aggregation
COH             207584630012                Gas           Gov. Aggregation   VEDO         4021419662529997            Gas           Gov. Aggregation
COH             190308530044                Gas           Gov. Aggregation   VEDO         4018504472437719            Gas           Gov. Aggregation
COH             203417690026                Gas           Gov. Aggregation   VEDO         4021235152227340            Gas           Gov. Aggregation
COH             125803620099                Gas           Gov. Aggregation   VEDO         4021079802413279            Gas           Gov. Aggregation
COH             173048640053                Gas           Gov. Aggregation   VEDO         4018097042167152            Gas           Gov. Aggregation
COH             125842780012                Gas           Gov. Aggregation   VEDO         4018576722158120            Gas           Gov. Aggregation
COH             125842770014                Gas           Gov. Aggregation   VEDO         4015382082378589            Gas           Gov. Aggregation
COH             174770830060                Gas           Gov. Aggregation   VEDO         4021076172509030            Gas           Gov. Aggregation
COH             207893830015                Gas           Gov. Aggregation   VEDO         4021086952498707            Gas           Gov. Aggregation
COH             186345100024                Gas           Gov. Aggregation   VEDO         4017294942481563            Gas           Gov. Aggregation
COH             207915670011                Gas           Gov. Aggregation   VEDO         4016036332442408            Gas           Gov. Aggregation
COH             162322800167                Gas           Gov. Aggregation   VEDO         4021180492241206            Gas           Gov. Aggregation
COH             204622260011                Gas           Gov. Aggregation   VEDO         4021202992419871            Gas           Gov. Aggregation
COH             135792500042                Gas           Gov. Aggregation   VEDO         4020263122418510            Gas           Gov. Aggregation
COH             204866200017                Gas           Gov. Aggregation   VEDO         4021150972384447            Gas           Gov. Aggregation
COH             205336520012                Gas           Gov. Aggregation   VEDO         4018189872153824            Gas           Gov. Aggregation
COH             207224440014                Gas           Gov. Aggregation   VEDO         4021402122507640            Gas           Gov. Aggregation
COH             197885910036                Gas           Gov. Aggregation   VEDO         4021419852415601            Gas           Gov. Aggregation
COH             203648360035                Gas           Gov. Aggregation   VEDO         4005157132328809            Gas           Gov. Aggregation
COH             204637710015                Gas           Gov. Aggregation   VEDO         4020286972154863            Gas           Gov. Aggregation
COH             206392620012                Gas           Gov. Aggregation   VEDO         4017276332360069            Gas           Gov. Aggregation
COH             207419930018                Gas           Gov. Aggregation   VEDO         4004288822261425            Gas           Gov. Aggregation
COH             207999810015                Gas           Gov. Aggregation   VEDO         4021229782373410            Gas           Gov. Aggregation
COH             205204360015                Gas           Gov. Aggregation   VEDO         4017180952359894            Gas           Gov. Aggregation
COH             186007060047                Gas           Gov. Aggregation   VEDO         4015005122346165            Gas           Gov. Aggregation
COH             197489980014                Gas           Gov. Aggregation   VEDO         4001279462300995            Gas           Gov. Aggregation
COH             206460920014                Gas           Gov. Aggregation   VEDO         4019521722432077            Gas           Gov. Aggregation
COH             204995400012                Gas           Gov. Aggregation   VEDO         4021236992218615            Gas           Gov. Aggregation
COH             207380950017                Gas           Gov. Aggregation   VEDO         4017943002403858            Gas           Gov. Aggregation
COH             192012770030                Gas           Gov. Aggregation   VEDO         4001747842273833            Gas           Gov. Aggregation
COH             142595370058                Gas           Gov. Aggregation   VEDO         4019755012220250            Gas           Gov. Aggregation
COH             207139250015                Gas           Gov. Aggregation   VEDO         4020918002517393            Gas           Gov. Aggregation
COH             207191920014                Gas           Gov. Aggregation   VEDO         4004359192200174            Gas           Gov. Aggregation
COH             207639770016                Gas           Gov. Aggregation   VEDO         4016449902374713            Gas           Gov. Aggregation
COH             164054850039                Gas           Gov. Aggregation   VEDO         4018975452217909            Gas           Gov. Aggregation
COH             205161490010                Gas           Gov. Aggregation   VEDO         4017646602109074            Gas           Gov. Aggregation
COH             204800740012                Gas           Gov. Aggregation   VEDO         4021095292296732            Gas           Gov. Aggregation
COH             191666720063                Gas           Gov. Aggregation   VEDO         4021100682167699            Gas           Gov. Aggregation
COH             207196270011                Gas           Gov. Aggregation   VEDO         4017185442227315            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             206428360010                Gas           Gov. Aggregation   VEDO         4021199542499419            Gas           Gov. Aggregation
COH             206380190018                Gas           Gov. Aggregation   VEDO         4018227842150623            Gas           Gov. Aggregation
COH             192986240083                Gas           Gov. Aggregation   VEDO         4021228712219745            Gas           Gov. Aggregation
COH             170295280031                Gas           Gov. Aggregation   VEDO         4015887662194938            Gas           Gov. Aggregation
COH             113314360022                Gas           Gov. Aggregation   VEDO         4021420762158020            Gas           Gov. Aggregation
COH             206896400010                Gas           Gov. Aggregation   VEDO         4021257902397655            Gas           Gov. Aggregation
COH             153315100026                Gas           Gov. Aggregation   VEDO         4018072892520309            Gas           Gov. Aggregation
COH             207256220013                Gas           Gov. Aggregation   VEDO         4021412672483421            Gas           Gov. Aggregation
COH             125786460028                Gas           Gov. Aggregation   VEDO         4001261272428030            Gas           Gov. Aggregation
COH             125785570027                Gas           Gov. Aggregation   VEDO         4021095422467622            Gas           Gov. Aggregation
COH             203246350020                Gas           Gov. Aggregation   VEDO         4004948752215828            Gas           Gov. Aggregation
COH             197073700031                Gas           Gov. Aggregation   VEDO         4021291332161545            Gas           Gov. Aggregation
COH             188307970093                Gas           Gov. Aggregation   VEDO         4016337832146184            Gas           Gov. Aggregation
COH             207201960013                Gas           Gov. Aggregation   VEDO         4016133452385753            Gas           Gov. Aggregation
COH             191421750029                Gas           Gov. Aggregation   VEDO         4018644242478375            Gas           Gov. Aggregation
COH             206426090011                Gas           Gov. Aggregation   VEDO         4021100492282800            Gas           Gov. Aggregation
COH             201958210031                Gas           Gov. Aggregation   VEDO         4021099022179631            Gas           Gov. Aggregation
COH             167182100023                Gas           Gov. Aggregation   VEDO         4020841922468881            Gas           Gov. Aggregation
COH             201607360060                Gas           Gov. Aggregation   VEDO         4015983092228955            Gas           Gov. Aggregation
COH             207800350011                Gas           Gov. Aggregation   VEDO         4021260422210627            Gas           Gov. Aggregation
COH             207173020011                Gas           Gov. Aggregation   VEDO         4016204792309600            Gas           Gov. Aggregation
COH             187136270085                Gas           Gov. Aggregation   VEDO         4017887312405369            Gas           Gov. Aggregation
COH             195906690039                Gas           Gov. Aggregation   VEDO         4004587452683980            Gas           Gov. Aggregation
COH             160038650137                Gas           Gov. Aggregation   VEDO         4002447162355731            Gas           Gov. Aggregation
COH             137754680052                Gas           Gov. Aggregation   VEDO         4021159592373048            Gas           Gov. Aggregation
COH             208220790018                Gas           Gov. Aggregation   VEDO         4021090982359267            Gas           Gov. Aggregation
COH             205534510014                Gas           Gov. Aggregation   VEDO         4021399442293993            Gas           Gov. Aggregation
COH             125773520059                Gas           Gov. Aggregation   VEDO         4021120612397030            Gas           Gov. Aggregation
COH             186155770036                Gas           Gov. Aggregation   VEDO         4021239232211303            Gas           Gov. Aggregation
COH             173223310069                Gas           Gov. Aggregation   VEDO         4002878512326114            Gas           Gov. Aggregation
COH             205566640010                Gas           Gov. Aggregation   VEDO         4021223082464559            Gas           Gov. Aggregation
COH             206358060030                Gas           Gov. Aggregation   VEDO         4016804562436369            Gas           Gov. Aggregation
COH             205930330012                Gas           Gov. Aggregation   VEDO         4020868952337271            Gas           Gov. Aggregation
COH             204240590012                Gas           Gov. Aggregation   VEDO         4018881162584168            Gas           Gov. Aggregation
COH             203170780021                Gas           Gov. Aggregation   VEDO         4021202832592138            Gas           Gov. Aggregation
COH             208040220019                Gas           Gov. Aggregation   VEDO         4021177152592144            Gas           Gov. Aggregation
COH             131879840041                Gas           Gov. Aggregation   VEDO         4002016302592156            Gas           Gov. Aggregation
COH             152393440139                Gas           Gov. Aggregation   VEDO         4020878552592129            Gas           Gov. Aggregation
COH             206865220013                Gas           Gov. Aggregation   VEDO         4021258952592132            Gas           Gov. Aggregation
COH             206173960015                Gas           Gov. Aggregation   VEDO         4021393532592136            Gas           Gov. Aggregation
COH             204369380014                Gas           Gov. Aggregation   VEDO         4016630912356299            Gas           Gov. Aggregation
COH             202751920066                Gas           Gov. Aggregation   VEDO         4017562792416497            Gas           Gov. Aggregation
COH             205917130012                Gas           Gov. Aggregation   VEDO         4019394312460985            Gas           Gov. Aggregation
COH             207037040015                Gas           Gov. Aggregation   VEDO         4020878482111035            Gas           Gov. Aggregation
COH             191361180027                Gas           Gov. Aggregation   VEDO         4019451012113764            Gas           Gov. Aggregation
COH             207893840013                Gas           Gov. Aggregation   VEDO         4019793462370973            Gas           Gov. Aggregation
COH             199373110046                Gas           Gov. Aggregation   VEDO         4020086892164148            Gas           Gov. Aggregation
COH             205932410011                Gas           Gov. Aggregation   VEDO         4002250952446156            Gas           Gov. Aggregation
COH             207419990016                Gas           Gov. Aggregation   VEDO         4021233652336712            Gas           Gov. Aggregation
COH             208099990015                Gas           Gov. Aggregation   VEDO         4004415322242103            Gas           Gov. Aggregation
COH             207031130018                Gas           Gov. Aggregation   VEDO         4018897222470690            Gas           Gov. Aggregation
COH             205079670017                Gas           Gov. Aggregation   VEDO         4021211522417505            Gas           Gov. Aggregation
COH             177200080017                Gas           Gov. Aggregation   VEDO         4021236032598451            Gas           Gov. Aggregation
COH             207614530018                Gas           Gov. Aggregation   VEDO         4020204232598461            Gas           Gov. Aggregation
COH             207251180012                Gas           Gov. Aggregation   VEDO         4021161902598460            Gas           Gov. Aggregation
COH             141274210052                Gas           Gov. Aggregation   VEDO         4018850562598472            Gas           Gov. Aggregation
COH             204836440010                Gas           Gov. Aggregation   VEDO         4018849432598479            Gas           Gov. Aggregation
COH             198455640024                Gas           Gov. Aggregation   VEDO         4021209742598478            Gas           Gov. Aggregation
COH             189646800026                Gas           Gov. Aggregation   VEDO         4021400862584152            Gas           Gov. Aggregation
COH             192125290069                Gas           Gov. Aggregation   VEDO         4021274062430727            Gas           Gov. Aggregation
COH             199645380025                Gas           Gov. Aggregation   VEDO         4015732002287474            Gas           Gov. Aggregation
COH             205750580012                Gas           Gov. Aggregation   VEDO         4002800602337624            Gas           Gov. Aggregation
COH             163227350029                Gas           Gov. Aggregation   VEDO         4020207352167399            Gas           Gov. Aggregation
COH             125873320013                Gas           Gov. Aggregation   VEDO         4021276132346200            Gas           Gov. Aggregation
COH             204736060012                Gas           Gov. Aggregation   VEDO         4016836942256842            Gas           Gov. Aggregation
COH             203373020048                Gas           Gov. Aggregation   VEDO         4021102112101716            Gas           Gov. Aggregation
COH             207023360017                Gas           Gov. Aggregation   VEDO         4021049302285158            Gas           Gov. Aggregation
COH             206786650011                Gas           Gov. Aggregation   VEDO         4018342142457202            Gas           Gov. Aggregation
COH             124632310016                Gas           Gov. Aggregation   VEDO         4021213072484447            Gas           Gov. Aggregation
COH             188823950057                Gas           Gov. Aggregation   VEDO         4018520702587236            Gas           Gov. Aggregation
COH             205709150019                Gas           Gov. Aggregation   VEDO         4021105322584150            Gas           Gov. Aggregation
COH             205187540015                Gas           Gov. Aggregation   VEDO         4021421322617645            Gas           Gov. Aggregation
COH             206184090024                Gas           Gov. Aggregation   VEDO         4021298892617643            Gas           Gov. Aggregation
COH             207455370010                Gas           Gov. Aggregation   VEDO         4021236112625635            Gas           Gov. Aggregation
COH             124642960019                Gas           Gov. Aggregation   VEDO         4021069012624128            Gas           Gov. Aggregation
COH             203688620027                Gas           Gov. Aggregation   VEDO         4021158032625629            Gas           Gov. Aggregation
COH             204722410017                Gas           Gov. Aggregation   VEDO         4020944492624140            Gas           Gov. Aggregation
COH             207427670016                Gas           Gov. Aggregation   VEDO         4021260692624126            Gas           Gov. Aggregation
COH             187870920073                Gas           Gov. Aggregation   VEDO         4021293142624121            Gas           Gov. Aggregation
COH             205624860029                Gas           Gov. Aggregation   VEDO         4021295472625624            Gas           Gov. Aggregation
COH             207767440014                Gas           Gov. Aggregation   VEDO         4021245262626459            Gas           Gov. Aggregation
COH             125723720052                Gas           Gov. Aggregation   VEDO         4020045862626463            Gas           Gov. Aggregation
COH             190970150023                Gas           Gov. Aggregation   VEDO         4019860612626431            Gas           Gov. Aggregation
COH             206643910018                Gas           Gov. Aggregation   VEDO         4021250972626433            Gas           Gov. Aggregation
COH             201502320015                Gas           Gov. Aggregation   VEDO         4021159412626444            Gas           Gov. Aggregation
COH             207904560017                Gas           Gov. Aggregation   VEDO         4021071472584169            Gas           Gov. Aggregation
COH             206401480011                Gas           Gov. Aggregation   VEDO         4021222642624157            Gas           Gov. Aggregation
COH             200140070035                Gas           Gov. Aggregation   VEDO         4021211372598527            Gas           Gov. Aggregation
COH             206754310019                Gas           Gov. Aggregation   VEDO         4021265532598520            Gas           Gov. Aggregation
COH             188706390035                Gas           Gov. Aggregation   VEDO         4019890212587261            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             204248540016                Gas           Gov. Aggregation   VEDO         4019244542587254            Gas           Gov. Aggregation
COH             143432860049                Gas           Gov. Aggregation   VEDO         4021223712587258            Gas           Gov. Aggregation
COH             125779090049                Gas           Gov. Aggregation   VEDO         4021189502509236            Gas           Gov. Aggregation
COH             206401500016                Gas           Gov. Aggregation   VEDO         4019513372433798            Gas           Gov. Aggregation
COH             205813240019                Gas           Gov. Aggregation   VEDO         4019075612247733            Gas           Gov. Aggregation
COH             204614430012                Gas           Gov. Aggregation   VEDO         4021415752116531            Gas           Gov. Aggregation
COH             187357190039                Gas           Gov. Aggregation   VEDO         4017002562128424            Gas           Gov. Aggregation
COH             125895080054                Gas           Gov. Aggregation   VEDO         4021170142163847            Gas           Gov. Aggregation
COH             206793460016                Gas           Gov. Aggregation   VEDO         4017396352144269            Gas           Gov. Aggregation
COH             206134260014                Gas           Gov. Aggregation   VEDO         4019930992516067            Gas           Gov. Aggregation
COH             206125120012                Gas           Gov. Aggregation   VEDO         4017003972264363            Gas           Gov. Aggregation
COH             207774230013                Gas           Gov. Aggregation   VEDO         4002561262280908            Gas           Gov. Aggregation
COH             169541870028                Gas           Gov. Aggregation   VEDO         4020261802291821            Gas           Gov. Aggregation
COH             125803180047                Gas           Gov. Aggregation   VEDO         4018975252294298            Gas           Gov. Aggregation
COH             207085800014                Gas           Gov. Aggregation   VEDO         4021214102351202            Gas           Gov. Aggregation
COH             125734670032                Gas           Gov. Aggregation   VEDO         4021190122334997            Gas           Gov. Aggregation
COH             125734350011                Gas           Gov. Aggregation   VEDO         4021074702292353            Gas           Gov. Aggregation
COH             208085080015                Gas           Gov. Aggregation   VEDO         4021303032236208            Gas           Gov. Aggregation
COH             149252770044                Gas           Gov. Aggregation   VEDO         4021399692506520            Gas           Gov. Aggregation
COH             201162370017                Gas           Gov. Aggregation   VEDO         4017031832196481            Gas           Gov. Aggregation
COH             146602960044                Gas           Gov. Aggregation   VEDO         4015577882493342            Gas           Gov. Aggregation
COH             206163170012                Gas           Gov. Aggregation   VEDO         4019024212218569            Gas           Gov. Aggregation
COH             122909680032                Gas           Gov. Aggregation   VEDO         4017767332344388            Gas           Gov. Aggregation
COH             125891650025                Gas           Gov. Aggregation   VEDO         4019095412415578            Gas           Gov. Aggregation
COH             205171780018                Gas           Gov. Aggregation   VEDO         4020198712303186            Gas           Gov. Aggregation
COH             154738820055                Gas           Gov. Aggregation   VEDO         4019896832109740            Gas           Gov. Aggregation
COH             125725680057                Gas           Gov. Aggregation   VEDO         4021090412426141            Gas           Gov. Aggregation
COH             187286270042                Gas           Gov. Aggregation   VEDO         4021311082263198            Gas           Gov. Aggregation
COH             204656560017                Gas           Gov. Aggregation   VEDO         4021235522340100            Gas           Gov. Aggregation
COH             176496510058                Gas           Gov. Aggregation   VEDO         4021066632261953            Gas           Gov. Aggregation
COH             174501080058                Gas           Gov. Aggregation   VEDO         4021201452417876            Gas           Gov. Aggregation
COH             152589380244                Gas           Gov. Aggregation   VEDO         4021246052129219            Gas           Gov. Aggregation
COH             134138510029                Gas           Gov. Aggregation   VEDO         4017343462522464            Gas           Gov. Aggregation
COH             200221120023                Gas           Gov. Aggregation   VEDO         4021237622286611            Gas           Gov. Aggregation
COH             206686050019                Gas           Gov. Aggregation   VEDO         4021243852360747            Gas           Gov. Aggregation
COH             207606180019                Gas           Gov. Aggregation   VEDO         4021418892318430            Gas           Gov. Aggregation
COH             202757140022                Gas           Gov. Aggregation   VEDO         4021210662446699            Gas           Gov. Aggregation
COH             185212320020                Gas           Gov. Aggregation   VEDO         4020273972144474            Gas           Gov. Aggregation
COH             204969590018                Gas           Gov. Aggregation   VEDO         4004724602474136            Gas           Gov. Aggregation
COH             151657960033                Gas           Gov. Aggregation   VEDO         4018330202413803            Gas           Gov. Aggregation
COH             187508060026                Gas           Gov. Aggregation   VEDO         4017880472476970            Gas           Gov. Aggregation
COH             206762920014                Gas           Gov. Aggregation   VEDO         4017009422195610            Gas           Gov. Aggregation
COH             122663270030                Gas           Gov. Aggregation   VEDO         4003234022333253            Gas           Gov. Aggregation
COH             205980870014                Gas           Gov. Aggregation   VEDO         4019532452488060            Gas           Gov. Aggregation
COH             123730230025                Gas           Gov. Aggregation   VEDO         4021059822325648            Gas           Gov. Aggregation
COH             149474660029                Gas           Gov. Aggregation   VEDO         4015309792144020            Gas           Gov. Aggregation
COH             125829850024                Gas           Gov. Aggregation   VEDO         4001526702149443            Gas           Gov. Aggregation
COH             150090180021                Gas           Gov. Aggregation   VEDO         4018314492225853            Gas           Gov. Aggregation
COH             185616490029                Gas           Gov. Aggregation   VEDO         4002920002144183            Gas           Gov. Aggregation
COH             205060040018                Gas           Gov. Aggregation   VEDO         4002135322466475            Gas           Gov. Aggregation
COH             205846480010                Gas           Gov. Aggregation   VEDO         4020225182333038            Gas           Gov. Aggregation
COH             171904370038                Gas           Gov. Aggregation   VEDO         4018702202470835            Gas           Gov. Aggregation
COH             136799870086                Gas           Gov. Aggregation   VEDO         4004123212414049            Gas           Gov. Aggregation
COH             207965720015                Gas           Gov. Aggregation   VEDO         4001471832409628            Gas           Gov. Aggregation
COH             146358270066                Gas           Gov. Aggregation   VEDO         4017981132477394            Gas           Gov. Aggregation
COH             189752150064                Gas           Gov. Aggregation   VEDO         4021427572420798            Gas           Gov. Aggregation
COH             189752150073                Gas           Gov. Aggregation   VEDO         4020271252514781            Gas           Gov. Aggregation
COH             190613210035                Gas           Gov. Aggregation   VEDO         4021259802299198            Gas           Gov. Aggregation
COH             207441940019                Gas           Gov. Aggregation   VEDO         4021097182128898            Gas           Gov. Aggregation
COH             207639420019                Gas           Gov. Aggregation   VEDO         4019020232642911            Gas           Gov. Aggregation
COH             190060200021                Gas           Gov. Aggregation   VEDO         4021421302155350            Gas           Gov. Aggregation
COH             204445410024                Gas           Gov. Aggregation   VEDO         4020132742485469            Gas           Gov. Aggregation
COH             205603600018                Gas           Gov. Aggregation   VEDO         4004519732244872            Gas           Gov. Aggregation
COH             150479690208                Gas           Gov. Aggregation   VEDO         4018547252440442            Gas           Gov. Aggregation
COH             207461480014                Gas           Gov. Aggregation   VEDO         4021105622311402            Gas           Gov. Aggregation
COH             185799470170                Gas           Gov. Aggregation   VEDO         4021152982182130            Gas           Gov. Aggregation
COH             185799470152                Gas           Gov. Aggregation   VEDO         4019194312502036            Gas           Gov. Aggregation
COH             185799470161                Gas           Gov. Aggregation   VEDO         4021401282497564            Gas           Gov. Aggregation
COH             185799470125                Gas           Gov. Aggregation   VEDO         4021291732465626            Gas           Gov. Aggregation
COH             185799470134                Gas           Gov. Aggregation   VEDO         4020295342220163            Gas           Gov. Aggregation
COH             185799470143                Gas           Gov. Aggregation   VEDO         4015946952320888            Gas           Gov. Aggregation
COH             185799470116                Gas           Gov. Aggregation   VEDO         4002681952311102            Gas           Gov. Aggregation
COH             135692060029                Gas           Gov. Aggregation   VEDO         4019314742375674            Gas           Gov. Aggregation
COH             191608280022                Gas           Gov. Aggregation   VEDO         4019488412224743            Gas           Gov. Aggregation
COH             204826400019                Gas           Gov. Aggregation   VEDO         4020938132521273            Gas           Gov. Aggregation
COH             205348980011                Gas           Gov. Aggregation   VEDO         4021259962191147            Gas           Gov. Aggregation
COH             206461400011                Gas           Gov. Aggregation   VEDO         4021012822231502            Gas           Gov. Aggregation
COH             206919310019                Gas           Gov. Aggregation   VEDO         4021235372389630            Gas           Gov. Aggregation
COH             207110630015                Gas           Gov. Aggregation   VEDO         4020899112196918            Gas           Gov. Aggregation
COH             207139510010                Gas           Gov. Aggregation   VEDO         4021045372212789            Gas           Gov. Aggregation
COH             207847170011                Gas           Gov. Aggregation   VEDO         4016856062179704            Gas           Gov. Aggregation
COH             193255320057                Gas           Gov. Aggregation   VEDO         4020317352427269            Gas           Gov. Aggregation
COH             204861700012                Gas           Gov. Aggregation   VEDO         4016468242308398            Gas           Gov. Aggregation
COH             151253410070                Gas           Gov. Aggregation   VEDO         4021255222343953            Gas           Gov. Aggregation
COH             195737490030                Gas           Gov. Aggregation   VEDO         4021084082272671            Gas           Gov. Aggregation
COH             175217700068                Gas           Gov. Aggregation   VEDO         4017220662436391            Gas           Gov. Aggregation
COH             207570070019                Gas           Gov. Aggregation   VEDO         4017822562458901            Gas           Gov. Aggregation
COH             208064320018                Gas           Gov. Aggregation   VEDO         4020227852278586            Gas           Gov. Aggregation
COH             202833340055                Gas           Gov. Aggregation   VEDO         4021300472316006            Gas           Gov. Aggregation
COH             190634460020                Gas           Gov. Aggregation   VEDO         4017755852190602            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             208127430011                Gas           Gov. Aggregation   VEDO         4021150542503306            Gas           Gov. Aggregation
COH             207203460014                Gas           Gov. Aggregation   VEDO         4021064502476107            Gas           Gov. Aggregation
COH             162776810039                Gas           Gov. Aggregation   VEDO         4002136572356571            Gas           Gov. Aggregation
COH             205508660018                Gas           Gov. Aggregation   VEDO         4020020982454443            Gas           Gov. Aggregation
COH             125269940050                Gas           Gov. Aggregation   VEDO         4021410842456284            Gas           Gov. Aggregation
COH             131070530013                Gas           Gov. Aggregation   VEDO         4001495452333156            Gas           Gov. Aggregation
COH             206013400010                Gas           Gov. Aggregation   VEDO         4017167642396668            Gas           Gov. Aggregation
COH             204614670012                Gas           Gov. Aggregation   VEDO         4021290972406965            Gas           Gov. Aggregation
COH             143979550046                Gas           Gov. Aggregation   VEDO         4019263832129332            Gas           Gov. Aggregation
COH             206043550016                Gas           Gov. Aggregation   VEDO         4019453022242715            Gas           Gov. Aggregation
COH             131754600063                Gas           Gov. Aggregation   VEDO         4015089252345675            Gas           Gov. Aggregation
COH             207465950017                Gas           Gov. Aggregation   VEDO         4015264342499352            Gas           Gov. Aggregation
COH             202249740023                Gas           Gov. Aggregation   VEDO         4021085222515161            Gas           Gov. Aggregation
COH             201553640020                Gas           Gov. Aggregation   VEDO         4019464702377318            Gas           Gov. Aggregation
COH             143446830028                Gas           Gov. Aggregation   VEDO         4021077852320745            Gas           Gov. Aggregation
COH             207053630017                Gas           Gov. Aggregation   VEDO         4018155122246984            Gas           Gov. Aggregation
COH             207655230015                Gas           Gov. Aggregation   VEDO         4017380622111818            Gas           Gov. Aggregation
COH             204488990014                Gas           Gov. Aggregation   VEDO         4021263352425795            Gas           Gov. Aggregation
COH             207448290012                Gas           Gov. Aggregation   VEDO         4021179892288420            Gas           Gov. Aggregation
COH             208254130015                Gas           Gov. Aggregation   VEDO         4020075012193237            Gas           Gov. Aggregation
COH             206121890019                Gas           Gov. Aggregation   VEDO         4019224172386931            Gas           Gov. Aggregation
COH             204995470018                Gas           Gov. Aggregation   VEDO         4017058832265113            Gas           Gov. Aggregation
COH             207408380017                Gas           Gov. Aggregation   VEDO         4021268172276801            Gas           Gov. Aggregation
COH             208031550019                Gas           Gov. Aggregation   VEDO         4021300362156501            Gas           Gov. Aggregation
COH             206110620018                Gas           Gov. Aggregation   VEDO         4021053942505939            Gas           Gov. Aggregation
COH             204253890012                Gas           Gov. Aggregation   VEDO         4017195412197782            Gas           Gov. Aggregation
COH             196272880015                Gas           Gov. Aggregation   VEDO         4017412852471517            Gas           Gov. Aggregation
COH             199275280030                Gas           Gov. Aggregation   VEDO         4017412852265941            Gas           Gov. Aggregation
COH             202104100032                Gas           Gov. Aggregation   VEDO         4021399792597022            Gas           Gov. Aggregation
COH             205163470010                Gas           Gov. Aggregation   VEDO         4018476022343405            Gas           Gov. Aggregation
COH             206771560011                Gas           Gov. Aggregation   VEDO         4021164862141578            Gas           Gov. Aggregation
COH             197622190052                Gas           Gov. Aggregation   VEDO         4020277472404585            Gas           Gov. Aggregation
COH             208059020012                Gas           Gov. Aggregation   VEDO         4021415252120974            Gas           Gov. Aggregation
COH             205984410012                Gas           Gov. Aggregation   VEDO         4021275512421976            Gas           Gov. Aggregation
COH             204657670012                Gas           Gov. Aggregation   VEDO         4015546712680054            Gas           Gov. Aggregation
COH             206563920016                Gas           Gov. Aggregation   VEDO         4018630002509360            Gas           Gov. Aggregation
COH             205360860010                Gas           Gov. Aggregation   VEDO         4020001712603108            Gas           Gov. Aggregation
COH             208040940018                Gas           Gov. Aggregation   VEDO         4021413062273993            Gas           Gov. Aggregation
COH             150210790072                Gas           Gov. Aggregation   VEDO         4016806982467681            Gas           Gov. Aggregation
COH             207093670015                Gas           Gov. Aggregation   VEDO         4017492752335726            Gas           Gov. Aggregation
COH             122791850073                Gas           Gov. Aggregation   VEDO         4021051952449983            Gas           Gov. Aggregation
COH             205125340017                Gas           Gov. Aggregation   VEDO         4003483662441287            Gas           Gov. Aggregation
COH             204937020014                Gas           Gov. Aggregation   VEDO         4019975302112784            Gas           Gov. Aggregation
COH             207953520012                Gas           Gov. Aggregation   VEDO         4004531082458788            Gas           Gov. Aggregation
COH             207069250014                Gas           Gov. Aggregation   VEDO         4002127682480426            Gas           Gov. Aggregation
COH             205156720012                Gas           Gov. Aggregation   VEDO         4021213062220934            Gas           Gov. Aggregation
COH             157951360048                Gas           Gov. Aggregation   VEDO         4018719972166776            Gas           Gov. Aggregation
COH             188626010034                Gas           Gov. Aggregation   VEDO         4021078102301688            Gas           Gov. Aggregation
COH             207690500014                Gas           Gov. Aggregation   VEDO         4021173612136876            Gas           Gov. Aggregation
COH             189390820089                Gas           Gov. Aggregation   VEDO         4021183132431030            Gas           Gov. Aggregation
COH             145892910033                Gas           Gov. Aggregation   VEDO         4004351312387463            Gas           Gov. Aggregation
COH             207264000012                Gas           Gov. Aggregation   VEDO         4004144812135940            Gas           Gov. Aggregation
COH             192734720030                Gas           Gov. Aggregation   VEDO         4018252842362268            Gas           Gov. Aggregation
COH             204826380014                Gas           Gov. Aggregation   VEDO         4020258342368498            Gas           Gov. Aggregation
COH             207675630019                Gas           Gov. Aggregation   VEDO         4018053282502305            Gas           Gov. Aggregation
COH             206865250017                Gas           Gov. Aggregation   VEDO         4021269472175606            Gas           Gov. Aggregation
COH             176110050042                Gas           Gov. Aggregation   VEDO         4017317572484744            Gas           Gov. Aggregation
COH             204334620016                Gas           Gov. Aggregation   VEDO         4021261492471632            Gas           Gov. Aggregation
COH             204598090010                Gas           Gov. Aggregation   VEDO         4021249722421494            Gas           Gov. Aggregation
COH             157134340053                Gas           Gov. Aggregation   VEDO         4010132852332988            Gas           Gov. Aggregation
COH             190896530049                Gas           Gov. Aggregation   VEDO         4016041082242816            Gas           Gov. Aggregation
COH             204944810013                Gas           Gov. Aggregation   VEDO         4015035122431447            Gas           Gov. Aggregation
COH             207009760013                Gas           Gov. Aggregation   VEDO         4003017212139213            Gas           Gov. Aggregation
COH             125842130045                Gas           Gov. Aggregation   VEDO         4001093102329572            Gas           Gov. Aggregation
COH             125842130054                Gas           Gov. Aggregation   VEDO         4017064672285368            Gas           Gov. Aggregation
COH             125842130081                Gas           Gov. Aggregation   VEDO         4021281292212451            Gas           Gov. Aggregation
COH             194142860052                Gas           Gov. Aggregation   VEDO         4020791542375778            Gas           Gov. Aggregation
COH             195610840034                Gas           Gov. Aggregation   VEDO         4002718142217404            Gas           Gov. Aggregation
COH             155266150083                Gas           Gov. Aggregation   VEDO         4019411862336862            Gas           Gov. Aggregation
COH             205964010027                Gas           Gov. Aggregation   VEDO         4021210692175190            Gas           Gov. Aggregation
COH             205350420013                Gas           Gov. Aggregation   VEDO         4021247062128388            Gas           Gov. Aggregation
COH             207485170019                Gas           Gov. Aggregation   VEDO         4021085702525331            Gas           Gov. Aggregation
COH             207999870013                Gas           Gov. Aggregation   VEDO         4018847322363548            Gas           Gov. Aggregation
COH             201805390028                Gas           Gov. Aggregation   VEDO         4020000992228271            Gas           Gov. Aggregation
COH             143432720011                Gas           Gov. Aggregation   VEDO         4002794732271937            Gas           Gov. Aggregation
COH             205864740017                Gas           Gov. Aggregation   VEDO         4021418732379277            Gas           Gov. Aggregation
COH             205132010011                Gas           Gov. Aggregation   VEDO         4001315382299822            Gas           Gov. Aggregation
COH             208065520014                Gas           Gov. Aggregation   VEDO         4018167682452084            Gas           Gov. Aggregation
COH             125799070032                Gas           Gov. Aggregation   VEDO         4020329642166700            Gas           Gov. Aggregation
COH             205526420010                Gas           Gov. Aggregation   VEDO         4021266812321393            Gas           Gov. Aggregation
COH             202405020022                Gas           Gov. Aggregation   VEDO         4021296732457678            Gas           Gov. Aggregation
COH             206064710018                Gas           Gov. Aggregation   VEDO         4018153482338027            Gas           Gov. Aggregation
COH             123066910085                Gas           Gov. Aggregation   VEDO         4021244122169496            Gas           Gov. Aggregation
COH             185293120111                Gas           Gov. Aggregation   VEDO         4021176132181475            Gas           Gov. Aggregation
COH             204326520014                Gas           Gov. Aggregation   VEDO         4015708522521762            Gas           Gov. Aggregation
COH             130162760084                Gas           Gov. Aggregation   VEDO         4021108742279488            Gas           Gov. Aggregation
COH             205035280011                Gas           Gov. Aggregation   VEDO         4017573302525575            Gas           Gov. Aggregation
COH             207031640011                Gas           Gov. Aggregation   VEDO         4019529852346678            Gas           Gov. Aggregation
COH             169512080169                Gas           Gov. Aggregation   VEDO         4005010932299848            Gas           Gov. Aggregation
COH             205873510543                Gas           Gov. Aggregation   VEDO         4018796622226026            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             125795620016                Gas           Gov. Aggregation   VEDO            4020230912304776            Gas           Gov. Aggregation
COH             144050620057                Gas           Gov. Aggregation   VEDO            4015906082450666            Gas           Gov. Aggregation
COH             203502220032                Gas           Gov. Aggregation   VEDO            4003640402175213            Gas           Gov. Aggregation
COH             207697940018                Gas           Gov. Aggregation   VEDO            4019384102366585            Gas           Gov. Aggregation
COH             205087900011                Gas           Gov. Aggregation   VEDO            4003366582377631            Gas           Gov. Aggregation
COH             136575420342                Gas           Gov. Aggregation   VEDO            4004157072419754            Gas           Gov. Aggregation
COH             207858170018                Gas           Gov. Aggregation   VEDO            4019865162469417            Gas           Gov. Aggregation
COH             125791860014                Gas           Gov. Aggregation   VEDO            4021308222274826            Gas           Gov. Aggregation
COH             208110510019                Gas           Gov. Aggregation   VEDO            4016595982281664            Gas           Gov. Aggregation
COH             144466290252                Gas           Gov. Aggregation   VEDO            4001011582101195            Gas           Gov. Aggregation
COH             185699590024                Gas           Gov. Aggregation   VEDO            4004091282538055            Gas           Gov. Aggregation
COH             174755430057                Gas           Gov. Aggregation   VEDO            4021068342485928            Gas           Gov. Aggregation
COH             137799990035                Gas           Gov. Aggregation   VEDO            4019410332281568            Gas           Gov. Aggregation
COH             165949680028                Gas           Gov. Aggregation   VEDO            4017547172144084            Gas           Gov. Aggregation
COH             125779110026                Gas           Gov. Aggregation   VEDO            4001511252355177            Gas           Gov. Aggregation
COH             149268670060                Gas           Gov. Aggregation   VEDO            4018549762312590            Gas           Gov. Aggregation
COH             206992480010                Gas           Gov. Aggregation   VEDO            4021181672279174            Gas           Gov. Aggregation
COH             124641210027                Gas           Gov. Aggregation   VEDO            4017151662321710            Gas           Gov. Aggregation
COH             207744790019                Gas           Gov. Aggregation   VEDO            4018535912393079            Gas           Gov. Aggregation
COH             206444100010                Gas           Gov. Aggregation   VEDO            4021417952365195            Gas           Gov. Aggregation
COH             190257840020                Gas           Gov. Aggregation   VEDO            4021098202283918            Gas           Gov. Aggregation
COH             129302310038                Gas           Gov. Aggregation   VEDO            4018969362392826            Gas           Gov. Aggregation
COH             204360380021                Gas           Gov. Aggregation   VEDO            4021277922370168            Gas           Gov. Aggregation
COH             206322360014                Gas           Gov. Aggregation   VEDO            4021183212493102            Gas           Gov. Aggregation
COH             206311010010                Gas           Gov. Aggregation   VEDO            4021309572423466            Gas           Gov. Aggregation
COH             207014380012                Gas           Gov. Aggregation   VEDO            4018179752396417            Gas           Gov. Aggregation
COH             204730660018                Gas           Gov. Aggregation   VEDO            4020926432419376            Gas           Gov. Aggregation
COH             125803690013                Gas           Gov. Aggregation   VEDO            4018490532268450            Gas           Gov. Aggregation
COH             206074040018                Gas           Gov. Aggregation   VEDO            4021394992169037            Gas           Gov. Aggregation
COH             195644040022                Gas           Gov. Aggregation   VEDO            4021213762420677            Gas           Gov. Aggregation
COH             125893610029                Gas           Gov. Aggregation   VEDO            4002347532447549            Gas           Gov. Aggregation
COH             205792710016                Gas           Gov. Aggregation   VEDO            4021198502166541            Gas           Gov. Aggregation
COH             204986050015                Gas           Gov. Aggregation   VEDO            4019769092315359            Gas           Gov. Aggregation
COH             205255160010                Gas           Gov. Aggregation   VEDO            4019396762451992            Gas           Gov. Aggregation
COH             207999830011                Gas           Gov. Aggregation   VEDO            4016081882110173            Gas           Gov. Aggregation
COH             149964080095                Gas           Gov. Aggregation   VEDO            4019948682470312            Gas           Gov. Aggregation
COH             206995590011                Gas           Gov. Aggregation   VEDO            4021205202476311            Gas           Gov. Aggregation
COH             207407780015                Gas           Gov. Aggregation   VEDO            4016438402516203            Gas           Gov. Aggregation
COH             204919750019                Gas           Gov. Aggregation   VEDO            4021040852486452            Gas           Gov. Aggregation
COH             190232040039                Gas           Gov. Aggregation   VEDO            4019751922340438            Gas           Gov. Aggregation
COH             205524350019                Gas           Gov. Aggregation   VEDO            4001708962317762            Gas           Gov. Aggregation
COH             166928060030                Gas           Gov. Aggregation   VEDO            4004794012430654            Gas           Gov. Aggregation
COH             199595320024                Gas           Gov. Aggregation   VEDO            4019811862281052            Gas           Gov. Aggregation
COH             206231240012                Gas           Gov. Aggregation   VEDO            4021291262388857            Gas           Gov. Aggregation
COH             205583450014                Gas           Gov. Aggregation   VEDO            4016416872382284            Gas           Gov. Aggregation
COH             199698520015                Gas           Gov. Aggregation   VEDO            4004135472398583            Gas           Gov. Aggregation
COH             174657830024                Gas           Gov. Aggregation   VEDO            4020931172196161            Gas           Gov. Aggregation
COH             205204130013                Gas           Gov. Aggregation   VEDO            4021114332393510            Gas           Gov. Aggregation
COH             206506230011                Gas           Gov. Aggregation   VEDO            4021071862680935            Gas           Gov. Aggregation
COH             204344270019                Gas           Gov. Aggregation   VEDO            4001103932109859            Gas           Gov. Aggregation
COH             197765400019                Gas           Gov. Aggregation   VEDO            4001854002431533            Gas           Gov. Aggregation
COH             129185660026                Gas           Gov. Aggregation   VEDO            4021065162312135            Gas           Gov. Aggregation
COH             203751230015                Gas           Gov. Aggregation   VEDO            4001591492416223            Gas           Gov. Aggregation
COH             151809740036                Gas           Gov. Aggregation   VEDO            4021212622680639            Gas           Gov. Aggregation
COH             192612500025                Gas           Gov. Aggregation   VEDO            4021285512683020            Gas           Gov. Aggregation
COH             198507200016                Gas           Gov. Aggregation   VEDO            4021231812680654            Gas           Gov. Aggregation
COH             118515210111                Gas           Gov. Aggregation   VEDO            4001140032564290            Gas           Gov. Aggregation
COH             205131760016                Gas           Gov. Aggregation   VEDO            4003317682676765            Gas           Gov. Aggregation
COH             205079350014                Gas           Gov. Aggregation   VEDO            4020294502355131            Gas           Gov. Aggregation
COH             192595750021                Gas           Gov. Aggregation   VEDO            4019965472178443            Gas           Gov. Aggregation
COH             203021050029                Gas           Gov. Aggregation   VEDO            4020902562333727            Gas           Gov. Aggregation
COH             165852630050                Gas           Gov. Aggregation   VEDO            4018036402162107            Gas           Gov. Aggregation
COH             167612920037                Gas           Gov. Aggregation   VEDO            4018500242352207            Gas           Gov. Aggregation
COH             204716630014                Gas           Gov. Aggregation   VEDO            4021245132279737            Gas           Gov. Aggregation
COH             208119690014                Gas           Gov. Aggregation   VEDO            4021204562100034            Gas           Gov. Aggregation
COH             202748480020                Gas           Gov. Aggregation   VEDO            4016952362208915            Gas           Gov. Aggregation
COH             203908560031                Gas           Gov. Aggregation   VEDO            4019230652159842            Gas           Gov. Aggregation
COH             206002500012                Gas           Gov. Aggregation   VEDO            4015511722118372            Gas           Gov. Aggregation
COH             206390280018                Gas           Gov. Aggregation   VEDO            4021045992496519            Gas           Gov. Aggregation
COH             204621730014                Gas           Gov. Aggregation   VEDO            4002454812373495            Gas           Gov. Aggregation
COH             207022780011                Gas           Gov. Aggregation   VEDO            4015362442286538            Gas           Gov. Aggregation
COH             190910620048                Gas           Gov. Aggregation   VEDO            4019736692206309            Gas           Gov. Aggregation
COH             196743710020                Gas           Gov. Aggregation   VEDO            4018320082438001            Gas           Gov. Aggregation
COH             202349460020                Gas           Gov. Aggregation   VEDO            4021201612285676            Gas           Gov. Aggregation
COH             204808330012                Gas           Gov. Aggregation   VEDO            4017522142301892            Gas           Gov. Aggregation
COH             205343610018                Gas           Gov. Aggregation   VEDO            4015917882158742            Gas           Gov. Aggregation
COH             206372770013                Gas           Gov. Aggregation   VEDO            4017962532446718            Gas           Gov. Aggregation
COH             208157630016                Gas           Gov. Aggregation   VEDO            4021228812219227            Gas           Gov. Aggregation
COH             206187870015                Gas           Gov. Aggregation   VEDO            4021205462502423            Gas           Gov. Aggregation
COH             208117170017                Gas           Gov. Aggregation   VEDO            4019417502108061            Gas           Gov. Aggregation
COH             118024630034                Gas           Gov. Aggregation   VEDO            4021411812528966            Gas           Gov. Aggregation
COH             198879440028                Gas           Gov. Aggregation   VEDO            4016670012531345            Gas           Gov. Aggregation
COH             206058210016                Gas           Gov. Aggregation   VEDO            4021083152682914            Gas           Gov. Aggregation
COH             198368730093                Gas           Gov. Aggregation   VEDO            4021254942349119            Gas           Gov. Aggregation
COH             207419320016                Gas           Gov. Aggregation   VEDO            4021153762226380            Gas           Gov. Aggregation
COH             175478050063                Gas           Gov. Aggregation   COH             205504310019                Gas           Gov. Aggregation
COH             197696380020                Gas           Gov. Aggregation   COH             206701850017                Gas           Gov. Aggregation
COH             206133720019                Gas           Gov. Aggregation   COH             146908160875                Gas           Gov. Aggregation
COH             207223970015                Gas           Gov. Aggregation   COH             197548690037                Gas           Gov. Aggregation
COH             206848130018                Gas           Gov. Aggregation   COH             208199380011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             207915410015                Gas           Gov. Aggregation   COH             206057130015                Gas           Gov. Aggregation
COH             190205730068                Gas           Gov. Aggregation   COH             207478940012                Gas           Gov. Aggregation
COH             204867510029                Gas           Gov. Aggregation   COH             157375070032                Gas           Gov. Aggregation
COH             206520250017                Gas           Gov. Aggregation   COH             206554580017                Gas           Gov. Aggregation
COH             118044010023                Gas           Gov. Aggregation   COH             208204990010                Gas           Gov. Aggregation
COH             200657920022                Gas           Gov. Aggregation   COH             207452100012                Gas           Gov. Aggregation
COH             159199790088                Gas           Gov. Aggregation   COH             146104920066                Gas           Gov. Aggregation
COH             193180550058                Gas           Gov. Aggregation   COH             208272730011                Gas           Gov. Aggregation
COH             205493290019                Gas           Gov. Aggregation   COH             206037380015                Gas           Gov. Aggregation
COH             207106110013                Gas           Gov. Aggregation   COH             154287970024                Gas           Gov. Aggregation
COH             207210660017                Gas           Gov. Aggregation   COH             108827040029                Gas           Gov. Aggregation
COH             170904130333                Gas           Gov. Aggregation   COH             207906330011                Gas           Gov. Aggregation
COH             206041160012                Gas           Gov. Aggregation   COH             204728290011                Gas           Gov. Aggregation
COH             205328940011                Gas           Gov. Aggregation   COH             204456500031                Gas           Gov. Aggregation
COH             188619810031                Gas           Gov. Aggregation   COH             207215260011                Gas           Gov. Aggregation
COH             205662450016                Gas           Gov. Aggregation   COH             208414390011                Gas           Gov. Aggregation
COH             194058330025                Gas           Gov. Aggregation   COH             198283950024                Gas           Gov. Aggregation
COH             207904180017                Gas           Gov. Aggregation   COH             207916700012                Gas           Gov. Aggregation
COH             156452350030                Gas           Gov. Aggregation   COH             204874330031                Gas           Gov. Aggregation
COH             205899390018                Gas           Gov. Aggregation   COH             208241290019                Gas           Gov. Aggregation
COH             172262750020                Gas           Gov. Aggregation   COH             206038610014                Gas           Gov. Aggregation
COH             176452970072                Gas           Gov. Aggregation   COH             208468260015                Gas           Gov. Aggregation
COH             205475830013                Gas           Gov. Aggregation   COH             205250600017                Gas           Gov. Aggregation
COH             204899900011                Gas           Gov. Aggregation   COH             205921580019                Gas           Gov. Aggregation
COH             207501300015                Gas           Gov. Aggregation   COH             200090510039                Gas           Gov. Aggregation
COH             196216240017                Gas           Gov. Aggregation   COH             207054330018                Gas           Gov. Aggregation
COH             206539850012                Gas           Gov. Aggregation   COH             199888190030                Gas           Gov. Aggregation
COH             196216240026                Gas           Gov. Aggregation   COH             144116420040                Gas           Gov. Aggregation
COH             208350660010                Gas           Gov. Aggregation   COH             208094620012                Gas           Gov. Aggregation
COH             198125410049                Gas           Gov. Aggregation   COH             166570570014                Gas           Gov. Aggregation
COH             207964440016                Gas           Gov. Aggregation   COH             207666690016                Gas           Gov. Aggregation
COH             204348120012                Gas           Gov. Aggregation   COH             207113230022                Gas           Gov. Aggregation
COH             205774790018                Gas           Gov. Aggregation   COH             108828430016                Gas           Gov. Aggregation
COH             207157650013                Gas           Gov. Aggregation   COH             205789190013                Gas           Gov. Aggregation
COH             199914020029                Gas           Gov. Aggregation   COH             205530150018                Gas           Gov. Aggregation
COH             168541840052                Gas           Gov. Aggregation   COH             187540970054                Gas           Gov. Aggregation
COH             118689820054                Gas           Gov. Aggregation   COH             198590140041                Gas           Gov. Aggregation
COH             156507860018                Gas           Gov. Aggregation   COH             117319950033                Gas           Gov. Aggregation
COH             207845800012                Gas           Gov. Aggregation   COH             207632860011                Gas           Gov. Aggregation
COH             205204070016                Gas           Gov. Aggregation   COH             171466610055                Gas           Gov. Aggregation
COH             118826620027                Gas           Gov. Aggregation   COH             205716410019                Gas           Gov. Aggregation
COH             202622500021                Gas           Gov. Aggregation   COH             203637350012                Gas           Gov. Aggregation
COH             199427450031                Gas           Gov. Aggregation   COH             207458220015                Gas           Gov. Aggregation
COH             206460160014                Gas           Gov. Aggregation   COH             207392280013                Gas           Gov. Aggregation
COH             195389240022                Gas           Gov. Aggregation   COH             200392220021                Gas           Gov. Aggregation
COH             207729110013                Gas           Gov. Aggregation   COH             206554590024                Gas           Gov. Aggregation
COH             208211950013                Gas           Gov. Aggregation   COH             206105650013                Gas           Gov. Aggregation
COH             170983230023                Gas           Gov. Aggregation   COH             207274260017                Gas           Gov. Aggregation
COH             207579330016                Gas           Gov. Aggregation   COH             206463190012                Gas           Gov. Aggregation
COH             202907950032                Gas           Gov. Aggregation   COH             206517100015                Gas           Gov. Aggregation
COH             206833390015                Gas           Gov. Aggregation   COH             206786860017                Gas           Gov. Aggregation
COH             197006640026                Gas           Gov. Aggregation   COH             205398210017                Gas           Gov. Aggregation
COH             196369800025                Gas           Gov. Aggregation   COH             207077670019                Gas           Gov. Aggregation
COH             208119840012                Gas           Gov. Aggregation   COH             198636690048                Gas           Gov. Aggregation
COH             136733750025                Gas           Gov. Aggregation   COH             198259440040                Gas           Gov. Aggregation
COH             136356120063                Gas           Gov. Aggregation   COH             207081570011                Gas           Gov. Aggregation
COH             117439420067                Gas           Gov. Aggregation   COH             207854460015                Gas           Gov. Aggregation
COH             197959550026                Gas           Gov. Aggregation   COH             203654920025                Gas           Gov. Aggregation
COH             199427320029                Gas           Gov. Aggregation   COH             207763380015                Gas           Gov. Aggregation
COH             138025290067                Gas           Gov. Aggregation   COH             201535650026                Gas           Gov. Aggregation
COH             170741820049                Gas           Gov. Aggregation   COH             205361490016                Gas           Gov. Aggregation
COH             207321310015                Gas           Gov. Aggregation   COH             202719220034                Gas           Gov. Aggregation
COH             207553770018                Gas           Gov. Aggregation   COH             208255160017                Gas           Gov. Aggregation
COH             185143080037                Gas           Gov. Aggregation   COH             196437930032                Gas           Gov. Aggregation
COH             208166970016                Gas           Gov. Aggregation   COH             208396070018                Gas           Gov. Aggregation
COH             201654870028                Gas           Gov. Aggregation   COH             204862770025                Gas           Gov. Aggregation
COH             205381420018                Gas           Gov. Aggregation   COH             166338320072                Gas           Gov. Aggregation
COH             204178930013                Gas           Gov. Aggregation   COH             205599000033                Gas           Gov. Aggregation
COH             206955360013                Gas           Gov. Aggregation   COH             154482490030                Gas           Gov. Aggregation
COH             207233290017                Gas           Gov. Aggregation   COH             204483630028                Gas           Gov. Aggregation
COH             207263400010                Gas           Gov. Aggregation   COH             207183840018                Gas           Gov. Aggregation
COH             204289380032                Gas           Gov. Aggregation   COH             207188280016                Gas           Gov. Aggregation
COH             131941630051                Gas           Gov. Aggregation   COH             206914010012                Gas           Gov. Aggregation
COH             207046220018                Gas           Gov. Aggregation   COH             206706310010                Gas           Gov. Aggregation
COH             204281180012                Gas           Gov. Aggregation   COH             108788810021                Gas           Gov. Aggregation
COH             189817600043                Gas           Gov. Aggregation   COH             205438630022                Gas           Gov. Aggregation
COH             206572150019                Gas           Gov. Aggregation   COH             208281090017                Gas           Gov. Aggregation
COH             205320670014                Gas           Gov. Aggregation   COH             206750060010                Gas           Gov. Aggregation
COH             202676110020                Gas           Gov. Aggregation   COH             206901860011                Gas           Gov. Aggregation
COH             162647580040                Gas           Gov. Aggregation   COH             208107310018                Gas           Gov. Aggregation
COH             206173330017                Gas           Gov. Aggregation   COH             132611590209                Gas           Gov. Aggregation
COH             206833380017                Gas           Gov. Aggregation   COH             206442080055                Gas           Gov. Aggregation
COH             159137500042                Gas           Gov. Aggregation   COH             206442080019                Gas           Gov. Aggregation
COH             206685390010                Gas           Gov. Aggregation   COH             207135080019                Gas           Gov. Aggregation
COH             146572380032                Gas           Gov. Aggregation   COH             195201600022                Gas           Gov. Aggregation
COH             208377720011                Gas           Gov. Aggregation   COH             204754800036                Gas           Gov. Aggregation
COH             205286920015                Gas           Gov. Aggregation   COH             204766160018                Gas           Gov. Aggregation
COH             204850480012                Gas           Gov. Aggregation   COH             205095910012                Gas           Gov. Aggregation
COH             208119860018                Gas           Gov. Aggregation   COH             205148710011                Gas           Gov. Aggregation
COH             207241190011                Gas           Gov. Aggregation   COH             205326680010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             206042400019                Gas           Gov. Aggregation   COH             208295390015                Gas           Gov. Aggregation
COH             146005770013                Gas           Gov. Aggregation   COH             115837430018                Gas           Gov. Aggregation
COH             189238430083                Gas           Gov. Aggregation   COH             110941460016                Gas           Gov. Aggregation
COH             168296770049                Gas           Gov. Aggregation   DEO             3180014372227               Gas           Gov. Aggregation
COH             194573920056                Gas           Gov. Aggregation   COH             210724680019                Gas           Gov. Aggregation
COH             198537060022                Gas           Gov. Aggregation   COH             209595150018                Gas           Gov. Aggregation
COH             200887470020                Gas           Gov. Aggregation   COH             209604250016                Gas           Gov. Aggregation
COH             117089690055                Gas           Gov. Aggregation   COH             185801520038                Gas           Gov. Aggregation
COH             177182120045                Gas           Gov. Aggregation   COH             195039950024                Gas           Gov. Aggregation
COH             208196560019                Gas           Gov. Aggregation   COH             208075460016                Gas           Gov. Aggregation
COH             206685560014                Gas           Gov. Aggregation   COH             168872570049                Gas           Gov. Aggregation
COH             208170960019                Gas           Gov. Aggregation   COH             124465090045                Gas           Gov. Aggregation
COH             205945810010                Gas           Gov. Aggregation   COH             208453670010                Gas           Gov. Aggregation
COH             185385890071                Gas           Gov. Aggregation   COH             209147370011                Gas           Gov. Aggregation
COH             207774000011                Gas           Gov. Aggregation   COH             191794620036                Gas           Gov. Aggregation
COH             150540150059                Gas           Gov. Aggregation   COH             210172720011                Gas           Gov. Aggregation
COH             208173720013                Gas           Gov. Aggregation   COH             185882890031                Gas           Gov. Aggregation
COH             206051580013                Gas           Gov. Aggregation   COH             209054370018                Gas           Gov. Aggregation
COH             190993440024                Gas           Gov. Aggregation   COH             210097140013                Gas           Gov. Aggregation
COH             206173380017                Gas           Gov. Aggregation   COH             186181700062                Gas           Gov. Aggregation
COH             204256850014                Gas           Gov. Aggregation   COH             197307590029                Gas           Gov. Aggregation
COH             206204520010                Gas           Gov. Aggregation   COH             207626040025                Gas           Gov. Aggregation
COH             190335410024                Gas           Gov. Aggregation   COH             185042670028                Gas           Gov. Aggregation
COH             205360410014                Gas           Gov. Aggregation   COH             197187230039                Gas           Gov. Aggregation
COH             114694400028                Gas           Gov. Aggregation   COH             126790330034                Gas           Gov. Aggregation
COH             170983270034                Gas           Gov. Aggregation   COH             211004140017                Gas           Gov. Aggregation
COH             190928250030                Gas           Gov. Aggregation   COH             211058980018                Gas           Gov. Aggregation
COH             175874290027                Gas           Gov. Aggregation   COH             209508290030                Gas           Gov. Aggregation
COH             205916150010                Gas           Gov. Aggregation   COH             210150510011                Gas           Gov. Aggregation
COH             201732370027                Gas           Gov. Aggregation   COH             210082260019                Gas           Gov. Aggregation
COH             189562130061                Gas           Gov. Aggregation   COH             156042590084                Gas           Gov. Aggregation
COH             166952100030                Gas           Gov. Aggregation   COH             156042590093                Gas           Gov. Aggregation
COH             195465430057                Gas           Gov. Aggregation   COH             208938920019                Gas           Gov. Aggregation
COH             207993450013                Gas           Gov. Aggregation   COH             210077200012                Gas           Gov. Aggregation
COH             177123980058                Gas           Gov. Aggregation   COH             210893900015                Gas           Gov. Aggregation
COH             174880580024                Gas           Gov. Aggregation   COH             209031500018                Gas           Gov. Aggregation
COH             187959040025                Gas           Gov. Aggregation   COH             169367320023                Gas           Gov. Aggregation
COH             193086250042                Gas           Gov. Aggregation   COH             203111420039                Gas           Gov. Aggregation
COH             195636790022                Gas           Gov. Aggregation   COH             210510620014                Gas           Gov. Aggregation
COH             198608420034                Gas           Gov. Aggregation   COH             210802770014                Gas           Gov. Aggregation
COH             204791740013                Gas           Gov. Aggregation   COH             160698950038                Gas           Gov. Aggregation
COH             204687160016                Gas           Gov. Aggregation   COH             208768960012                Gas           Gov. Aggregation
COH             201453060024                Gas           Gov. Aggregation   COH             210289610017                Gas           Gov. Aggregation
COH             160362890041                Gas           Gov. Aggregation   COH             209921290016                Gas           Gov. Aggregation
COH             205286890012                Gas           Gov. Aggregation   COH             177072380062                Gas           Gov. Aggregation
COH             170259510038                Gas           Gov. Aggregation   COH             206156840025                Gas           Gov. Aggregation
COH             204768380018                Gas           Gov. Aggregation   COH             125292680029                Gas           Gov. Aggregation
COH             203433440033                Gas           Gov. Aggregation   COH             209150440019                Gas           Gov. Aggregation
COH             187652900033                Gas           Gov. Aggregation   COH             200841800044                Gas           Gov. Aggregation
COH             206413420018                Gas           Gov. Aggregation   COH             125275470056                Gas           Gov. Aggregation
COH             204097520020                Gas           Gov. Aggregation   COH             199579720033                Gas           Gov. Aggregation
COH             200775700028                Gas           Gov. Aggregation   COH             202377230029                Gas           Gov. Aggregation
COH             174957720030                Gas           Gov. Aggregation   COH             209044340015                Gas           Gov. Aggregation
COH             205352210013                Gas           Gov. Aggregation   COH             125088500029                Gas           Gov. Aggregation
COH             207863600016                Gas           Gov. Aggregation   COH             211080660018                Gas           Gov. Aggregation
COH             207030740012                Gas           Gov. Aggregation   COH             130840250029                Gas           Gov. Aggregation
COH             206451020012                Gas           Gov. Aggregation   COH             164792150014                Gas           Gov. Aggregation
COH             205207980019                Gas           Gov. Aggregation   COH             194222790057                Gas           Gov. Aggregation
COH             207305000014                Gas           Gov. Aggregation   COH             208575230014                Gas           Gov. Aggregation
COH             207059450013                Gas           Gov. Aggregation   COH             209714450011                Gas           Gov. Aggregation
COH             207705100015                Gas           Gov. Aggregation   COH             210942660011                Gas           Gov. Aggregation
COH             201926080027                Gas           Gov. Aggregation   COH             166223340017                Gas           Gov. Aggregation
COH             203521760011                Gas           Gov. Aggregation   DEO             0180014141881               Gas           Gov. Aggregation
COH             143964460064                Gas           Gov. Aggregation   COH             153041950010                Gas           Gov. Aggregation
COH             198934470015                Gas           Gov. Aggregation   COH             141182880020                Gas           Gov. Aggregation
COH             205846190011                Gas           Gov. Aggregation   VEDO            4015148432213889            Gas           Gov. Aggregation
COH             201410730014                Gas           Gov. Aggregation   VEDO            4001361382133910            Gas           Gov. Aggregation
COH             200983970012                Gas           Gov. Aggregation   VEDO            4001054442105122            Gas           Gov. Aggregation
COH             201395920018                Gas           Gov. Aggregation   VEDO            4004372912441423            Gas           Gov. Aggregation
COH             119769620037                Gas           Gov. Aggregation   VEDO            4004278712431072            Gas           Gov. Aggregation
COH             201542040010                Gas           Gov. Aggregation   VEDO            4017069602287408            Gas           Gov. Aggregation
COH             194391550032                Gas           Gov. Aggregation   VEDO            4015131502532825            Gas           Gov. Aggregation
COH             201788140019                Gas           Gov. Aggregation   VEDO            4016101182462437            Gas           Gov. Aggregation
COH             206115830014                Gas           Gov. Aggregation   VEDO            4016445412515366            Gas           Gov. Aggregation
COH             185822230062                Gas           Gov. Aggregation   VEDO            4004096832411206            Gas           Gov. Aggregation
COH             173096250081                Gas           Gov. Aggregation   VEDO            4002345882229577            Gas           Gov. Aggregation
COH             206194600016                Gas           Gov. Aggregation   VEDO            4015003062132213            Gas           Gov. Aggregation
COH             207582570019                Gas           Gov. Aggregation   COH             208586150018                Gas           Gov. Aggregation
COH             156837110034                Gas           Gov. Aggregation   COH             208674140013                Gas           Gov. Aggregation
COH             117947300038                Gas           Gov. Aggregation   COH             204731620014                Gas           Gov. Aggregation
COH             117365720025                Gas           Gov. Aggregation   COH             188117680104                Gas           Gov. Aggregation
COH             188496310029                Gas           Gov. Aggregation   COH             199903050017                Gas           Gov. Aggregation
COH             202092940015                Gas           Gov. Aggregation   COH             209482840012                Gas           Gov. Aggregation
COH             189109700025                Gas           Gov. Aggregation   COH             195564060028                Gas           Gov. Aggregation
COH             173004140023                Gas           Gov. Aggregation   COH             203713640028                Gas           Gov. Aggregation
COH             193721130021                Gas           Gov. Aggregation   COH             202903010028                Gas           Gov. Aggregation
COH             205864230014                Gas           Gov. Aggregation   COH             210166820013                Gas           Gov. Aggregation
COH             152428470067                Gas           Gov. Aggregation   COH             208782800015                Gas           Gov. Aggregation
COH             195615710031                Gas           Gov. Aggregation   COH             177372450034                Gas           Gov. Aggregation
COH             161758090030                Gas           Gov. Aggregation   COH             172734730014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             201772000020                Gas           Gov. Aggregation   COH             209345260014                Gas           Gov. Aggregation
COH             207925190011                Gas           Gov. Aggregation   COH             203204390048                Gas           Gov. Aggregation
COH             201844470029                Gas           Gov. Aggregation   COH             207403500039                Gas           Gov. Aggregation
COH             163945130050                Gas           Gov. Aggregation   COH             211011030015                Gas           Gov. Aggregation
COH             205916160018                Gas           Gov. Aggregation   COH             198536730032                Gas           Gov. Aggregation
COH             207255890015                Gas           Gov. Aggregation   COH             201993610024                Gas           Gov. Aggregation
COH             171558660023                Gas           Gov. Aggregation   COH             203048660025                Gas           Gov. Aggregation
COH             205828640014                Gas           Gov. Aggregation   COH             209219340014                Gas           Gov. Aggregation
COH             206732390019                Gas           Gov. Aggregation   COH             137134720039                Gas           Gov. Aggregation
COH             205792380016                Gas           Gov. Aggregation   COH             205302940024                Gas           Gov. Aggregation
COH             205138260017                Gas           Gov. Aggregation   COH             197435410052                Gas           Gov. Aggregation
COH             185665970034                Gas           Gov. Aggregation   COH             174249780011                Gas           Gov. Aggregation
COH             153292080030                Gas           Gov. Aggregation   COH             208567910018                Gas           Gov. Aggregation
COH             141668490022                Gas           Gov. Aggregation   COH             171481540012                Gas           Gov. Aggregation
COH             186712550030                Gas           Gov. Aggregation   COH             155321200020                Gas           Gov. Aggregation
COH             120016490046                Gas           Gov. Aggregation   COH             206093280027                Gas           Gov. Aggregation
COH             142806620029                Gas           Gov. Aggregation   COH             209173640019                Gas           Gov. Aggregation
COH             141606600028                Gas           Gov. Aggregation   COH             170616880024                Gas           Gov. Aggregation
COH             207532850015                Gas           Gov. Aggregation   COH             210166870013                Gas           Gov. Aggregation
COH             170243180022                Gas           Gov. Aggregation   COH             162454180043                Gas           Gov. Aggregation
COH             199698540020                Gas           Gov. Aggregation   COH             210995060016                Gas           Gov. Aggregation
COH             204561670015                Gas           Gov. Aggregation   COH             172506390037                Gas           Gov. Aggregation
COH             190695700021                Gas           Gov. Aggregation   COH             210577610016                Gas           Gov. Aggregation
COH             207491390010                Gas           Gov. Aggregation   COH             149068130067                Gas           Gov. Aggregation
COH             206698080018                Gas           Gov. Aggregation   COH             210681890017                Gas           Gov. Aggregation
COH             206718200018                Gas           Gov. Aggregation   COH             193628310049                Gas           Gov. Aggregation
COH             198535920025                Gas           Gov. Aggregation   COH             204441560030                Gas           Gov. Aggregation
COH             154387110031                Gas           Gov. Aggregation   COH             208803820015                Gas           Gov. Aggregation
COH             154812260037                Gas           Gov. Aggregation   COH             130171980043                Gas           Gov. Aggregation
COH             198594170038                Gas           Gov. Aggregation   COH             196624700033                Gas           Gov. Aggregation
COH             202316860025                Gas           Gov. Aggregation   COH             209962680018                Gas           Gov. Aggregation
COH             207356900018                Gas           Gov. Aggregation   COH             209225370015                Gas           Gov. Aggregation
COH             135334050047                Gas           Gov. Aggregation   COH             210957660010                Gas           Gov. Aggregation
COH             186764710037                Gas           Gov. Aggregation   COH             128762850032                Gas           Gov. Aggregation
COH             207825390020                Gas           Gov. Aggregation   COH             133718420029                Gas           Gov. Aggregation
COH             198262750039                Gas           Gov. Aggregation   COH             159970970039                Gas           Gov. Aggregation
COH             185772350037                Gas           Gov. Aggregation   COH             187140700021                Gas           Gov. Aggregation
COH             165222340065                Gas           Gov. Aggregation   COH             188844680676                Gas           Gov. Aggregation
COH             206698020010                Gas           Gov. Aggregation   COH             190041890036                Gas           Gov. Aggregation
COH             137428120069                Gas           Gov. Aggregation   COH             190799500032                Gas           Gov. Aggregation
COH             206051520015                Gas           Gov. Aggregation   COH             194240530035                Gas           Gov. Aggregation
COH             205864290021                Gas           Gov. Aggregation   COH             195139820038                Gas           Gov. Aggregation
COH             204781070015                Gas           Gov. Aggregation   COH             203463760033                Gas           Gov. Aggregation
COH             203278830022                Gas           Gov. Aggregation   COH             204636030038                Gas           Gov. Aggregation
COH             207553740014                Gas           Gov. Aggregation   COH             204647080017                Gas           Gov. Aggregation
COH             205057020037                Gas           Gov. Aggregation   COH             204718010010                Gas           Gov. Aggregation
COH             143841640057                Gas           Gov. Aggregation   COH             206092970024                Gas           Gov. Aggregation
COH             173402450033                Gas           Gov. Aggregation   COH             208060390030                Gas           Gov. Aggregation
COH             189689980029                Gas           Gov. Aggregation   COH             209492120012                Gas           Gov. Aggregation
COH             202849280028                Gas           Gov. Aggregation   COH             209511880011                Gas           Gov. Aggregation
COH             200975460025                Gas           Gov. Aggregation   COH             209534930021                Gas           Gov. Aggregation
COH             208390580013                Gas           Gov. Aggregation   COH             209633350014                Gas           Gov. Aggregation
COH             204198720015                Gas           Gov. Aggregation   COH             209636090013                Gas           Gov. Aggregation
COH             188666360028                Gas           Gov. Aggregation   COH             209759070035                Gas           Gov. Aggregation
COH             204521090011                Gas           Gov. Aggregation   COH             209801580019                Gas           Gov. Aggregation
COH             191917980020                Gas           Gov. Aggregation   COH             209892670019                Gas           Gov. Aggregation
COH             207779860011                Gas           Gov. Aggregation   COH             209898050017                Gas           Gov. Aggregation
COH             176133490033                Gas           Gov. Aggregation   COH             210579470012                Gas           Gov. Aggregation
COH             117126880046                Gas           Gov. Aggregation   COH             210654690016                Gas           Gov. Aggregation
COH             197790800021                Gas           Gov. Aggregation   COH             210724930016                Gas           Gov. Aggregation
COH             204418200016                Gas           Gov. Aggregation   COH             163132040150                Gas           Gov. Aggregation
COH             206685470013                Gas           Gov. Aggregation   COH             148872320027                Gas           Gov. Aggregation
COH             205963590019                Gas           Gov. Aggregation   COH             208768930018                Gas           Gov. Aggregation
COH             119202940021                Gas           Gov. Aggregation   COH             210733240012                Gas           Gov. Aggregation
COH             175739300020                Gas           Gov. Aggregation   COH             208941240015                Gas           Gov. Aggregation
COH             205864100011                Gas           Gov. Aggregation   COH             167382200019                Gas           Gov. Aggregation
COH             169971520039                Gas           Gov. Aggregation   COH             172217650017                Gas           Gov. Aggregation
COH             199957810050                Gas           Gov. Aggregation   COH             209341810016                Gas           Gov. Aggregation
COH             207471300010                Gas           Gov. Aggregation   COH             208691580015                Gas           Gov. Aggregation
COH             206961920012                Gas           Gov. Aggregation   COH             167209710018                Gas           Gov. Aggregation
COH             198498050055                Gas           Gov. Aggregation   COH             209500190019                Gas           Gov. Aggregation
COH             117329720030                Gas           Gov. Aggregation   COH             124376250013                Gas           Gov. Aggregation
COH             192836930021                Gas           Gov. Aggregation   COH             192628910035                Gas           Gov. Aggregation
COH             145377580099                Gas           Gov. Aggregation   COH             210309170016                Gas           Gov. Aggregation
COH             145258270069                Gas           Gov. Aggregation   COH             210603550012                Gas           Gov. Aggregation
COH             163411850032                Gas           Gov. Aggregation   COH             209295740010                Gas           Gov. Aggregation
COH             189037610072                Gas           Gov. Aggregation   COH             143315790015                Gas           Gov. Aggregation
COH             195430750035                Gas           Gov. Aggregation   COH             139111740031                Gas           Gov. Aggregation
COH             205750330014                Gas           Gov. Aggregation   COH             210739670010                Gas           Gov. Aggregation
COH             170250660017                Gas           Gov. Aggregation   COH             208929980016                Gas           Gov. Aggregation
COH             207055670015                Gas           Gov. Aggregation   COH             198796290026                Gas           Gov. Aggregation
COH             205236710014                Gas           Gov. Aggregation   COH             202183450024                Gas           Gov. Aggregation
COH             193569130025                Gas           Gov. Aggregation   COH             210601440019                Gas           Gov. Aggregation
COH             197919140026                Gas           Gov. Aggregation   COH             190248910051                Gas           Gov. Aggregation
COH             176864910035                Gas           Gov. Aggregation   COH             209006490014                Gas           Gov. Aggregation
COH             162060040047                Gas           Gov. Aggregation   COH             210832390011                Gas           Gov. Aggregation
COH             204554660012                Gas           Gov. Aggregation   COH             206738410021                Gas           Gov. Aggregation
COH             207537710014                Gas           Gov. Aggregation   COH             209572390016                Gas           Gov. Aggregation
COH             171743800020                Gas           Gov. Aggregation   COH             208522040024                Gas           Gov. Aggregation
COH             161538040036                Gas           Gov. Aggregation   COH             210335500011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             208377660014                Gas           Gov. Aggregation   COH             200202660039                Gas           Gov. Aggregation
COH             194108680025                Gas           Gov. Aggregation   COH             209329500017                Gas           Gov. Aggregation
COH             204687140010                Gas           Gov. Aggregation   COH             145260780067                Gas           Gov. Aggregation
COH             163452380035                Gas           Gov. Aggregation   COH             158460460010                Gas           Gov. Aggregation
COH             205717360018                Gas           Gov. Aggregation   COH             209173600017                Gas           Gov. Aggregation
COH             170580210021                Gas           Gov. Aggregation   COH             158726930035                Gas           Gov. Aggregation
COH             194579730018                Gas           Gov. Aggregation   COH             210442250017                Gas           Gov. Aggregation
COH             167694660021                Gas           Gov. Aggregation   COH             208622360016                Gas           Gov. Aggregation
COH             162835850124                Gas           Gov. Aggregation   COH             208720780010                Gas           Gov. Aggregation
COH             136564931776                Gas           Gov. Aggregation   COH             150100270029                Gas           Gov. Aggregation
COH             207048620010                Gas           Gov. Aggregation   COH             210530990024                Gas           Gov. Aggregation
COH             206770640016                Gas           Gov. Aggregation   COH             209450950016                Gas           Gov. Aggregation
COH             205463440010                Gas           Gov. Aggregation   COH             209255820017                Gas           Gov. Aggregation
COH             203303270025                Gas           Gov. Aggregation   COH             209381350019                Gas           Gov. Aggregation
COH             201493490039                Gas           Gov. Aggregation   COH             210125300018                Gas           Gov. Aggregation
COH             202726650057                Gas           Gov. Aggregation   COH             210825860017                Gas           Gov. Aggregation
COH             206843300012                Gas           Gov. Aggregation   COH             209843900013                Gas           Gov. Aggregation
COH             202816550011                Gas           Gov. Aggregation   COH             201690340023                Gas           Gov. Aggregation
COH             110976620037                Gas           Gov. Aggregation   COH             210552020012                Gas           Gov. Aggregation
COH             208117760013                Gas           Gov. Aggregation   COH             140660860030                Gas           Gov. Aggregation
COH             154848760662                Gas           Gov. Aggregation   COH             175859740060                Gas           Gov. Aggregation
COH             165834010049                Gas           Gov. Aggregation   COH             148726180044                Gas           Gov. Aggregation
COH             206552590019                Gas           Gov. Aggregation   COH             124376810015                Gas           Gov. Aggregation
COH             206854270016                Gas           Gov. Aggregation   COH             154509750055                Gas           Gov. Aggregation
COH             207147010018                Gas           Gov. Aggregation   COH             209892550014                Gas           Gov. Aggregation
COH             205846310024                Gas           Gov. Aggregation   COH             196149460023                Gas           Gov. Aggregation
COH             195662090051                Gas           Gov. Aggregation   COH             208986040013                Gas           Gov. Aggregation
COH             208131960011                Gas           Gov. Aggregation   COH             163724570029                Gas           Gov. Aggregation
COH             207459820017                Gas           Gov. Aggregation   COH             210319470012                Gas           Gov. Aggregation
COH             207863650016                Gas           Gov. Aggregation   COH             210837210018                Gas           Gov. Aggregation
COH             207053260015                Gas           Gov. Aggregation   COH             210493040014                Gas           Gov. Aggregation
COH             207857970012                Gas           Gov. Aggregation   COH             124505060018                Gas           Gov. Aggregation
COH             196485590042                Gas           Gov. Aggregation   COH             209256120012                Gas           Gov. Aggregation
COH             207400120017                Gas           Gov. Aggregation   COH             124503590039                Gas           Gov. Aggregation
COH             207908420018                Gas           Gov. Aggregation   COH             209809180017                Gas           Gov. Aggregation
COH             207951470017                Gas           Gov. Aggregation   COH             207002710026                Gas           Gov. Aggregation
VEDO            4018011652532237            Gas           Gov. Aggregation   COH             209177790010                Gas           Gov. Aggregation
COH             200492060032                Gas           Gov. Aggregation   COH             209683030016                Gas           Gov. Aggregation
COH             206540600011                Gas           Gov. Aggregation   COH             193607220060                Gas           Gov. Aggregation
COH             206471930019                Gas           Gov. Aggregation   COH             210179470010                Gas           Gov. Aggregation
COH             205780760011                Gas           Gov. Aggregation   COH             175740730036                Gas           Gov. Aggregation
COH             204701660019                Gas           Gov. Aggregation   COH             204960210033                Gas           Gov. Aggregation
COH             206308870017                Gas           Gov. Aggregation   COH             199752000036                Gas           Gov. Aggregation
COH             207631820011                Gas           Gov. Aggregation   COH             206278830029                Gas           Gov. Aggregation
COH             205605460014                Gas           Gov. Aggregation   COH             210622330018                Gas           Gov. Aggregation
COH             154848760699                Gas           Gov. Aggregation   COH             206797790019                Gas           Gov. Aggregation
COH             187841380023                Gas           Gov. Aggregation   COH             195681400028                Gas           Gov. Aggregation
COH             189519380042                Gas           Gov. Aggregation   COH             169824170052                Gas           Gov. Aggregation
COH             207888210016                Gas           Gov. Aggregation   COH             197330670023                Gas           Gov. Aggregation
COH             207800130017                Gas           Gov. Aggregation   COH             209179220015                Gas           Gov. Aggregation
COH             207816930016                Gas           Gov. Aggregation   COH             210394560015                Gas           Gov. Aggregation
COH             206149250015                Gas           Gov. Aggregation   COH             211069000010                Gas           Gov. Aggregation
COH             151159840016                Gas           Gov. Aggregation   COH             174981220016                Gas           Gov. Aggregation
COH             206762760018                Gas           Gov. Aggregation   COH             210174140019                Gas           Gov. Aggregation
COH             206991580011                Gas           Gov. Aggregation   COH             205839230017                Gas           Gov. Aggregation
COH             205668020014                Gas           Gov. Aggregation   COH             210812320017                Gas           Gov. Aggregation
COH             200274300033                Gas           Gov. Aggregation   COH             165847350023                Gas           Gov. Aggregation
COH             206782940018                Gas           Gov. Aggregation   COH             209312110014                Gas           Gov. Aggregation
COH             204395450014                Gas           Gov. Aggregation   COH             205252930032                Gas           Gov. Aggregation
COH             202726650084                Gas           Gov. Aggregation   COH             208806960029                Gas           Gov. Aggregation
COH             204538920011                Gas           Gov. Aggregation   COH             208880550010                Gas           Gov. Aggregation
COH             205360500015                Gas           Gov. Aggregation   COH             198602470045                Gas           Gov. Aggregation
COH             205134280011                Gas           Gov. Aggregation   COH             208670090012                Gas           Gov. Aggregation
COH             208099550017                Gas           Gov. Aggregation   COH             210015150013                Gas           Gov. Aggregation
COH             202863930030                Gas           Gov. Aggregation   COH             206335800023                Gas           Gov. Aggregation
COH             206290530017                Gas           Gov. Aggregation   COH             210270280016                Gas           Gov. Aggregation
COH             159172080029                Gas           Gov. Aggregation   COH             206794180022                Gas           Gov. Aggregation
COH             163509450039                Gas           Gov. Aggregation   COH             207069540031                Gas           Gov. Aggregation
COH             207210720014                Gas           Gov. Aggregation   COH             210275350011                Gas           Gov. Aggregation
COH             207333070011                Gas           Gov. Aggregation   COH             173064840020                Gas           Gov. Aggregation
COH             205449050012                Gas           Gov. Aggregation   COH             209322840010                Gas           Gov. Aggregation
COH             207693860022                Gas           Gov. Aggregation   COH             210747600017                Gas           Gov. Aggregation
COH             204621920014                Gas           Gov. Aggregation   COH             125372640045                Gas           Gov. Aggregation
COH             173682020022                Gas           Gov. Aggregation   COH             210759850010                Gas           Gov. Aggregation
COH             206955430018                Gas           Gov. Aggregation   COH             192899380034                Gas           Gov. Aggregation
COH             207139150016                Gas           Gov. Aggregation   COH             205729350024                Gas           Gov. Aggregation
COH             206438750017                Gas           Gov. Aggregation   COH             156083420038                Gas           Gov. Aggregation
COH             207665610014                Gas           Gov. Aggregation   COH             156083420047                Gas           Gov. Aggregation
COH             207988130011                Gas           Gov. Aggregation   COH             210195220018                Gas           Gov. Aggregation
COH             190362850016                Gas           Gov. Aggregation   COH             210140700012                Gas           Gov. Aggregation
COH             207743200014                Gas           Gov. Aggregation   COH             194058830057                Gas           Gov. Aggregation
COH             207419630011                Gas           Gov. Aggregation   COH             193335160024                Gas           Gov. Aggregation
COH             206817090012                Gas           Gov. Aggregation   COH             209406110015                Gas           Gov. Aggregation
COH             154657350038                Gas           Gov. Aggregation   COH             210239540017                Gas           Gov. Aggregation
COH             207904310019                Gas           Gov. Aggregation   COH             187131500040                Gas           Gov. Aggregation
COH             111150360013                Gas           Gov. Aggregation   COH             203387230036                Gas           Gov. Aggregation
COH             196307580022                Gas           Gov. Aggregation   COH             211070150016                Gas           Gov. Aggregation
COH             196173860046                Gas           Gov. Aggregation   COH             159477620029                Gas           Gov. Aggregation
COH             208020120012                Gas           Gov. Aggregation   COH             205209500015                Gas           Gov. Aggregation
COH             205834290015                Gas           Gov. Aggregation   COH             170402920028                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             207540960015                Gas           Gov. Aggregation   COH             210166850017                Gas           Gov. Aggregation
COH             207638710010                Gas           Gov. Aggregation   COH             196978500045                Gas           Gov. Aggregation
COH             207800150013                Gas           Gov. Aggregation   COH             210927370014                Gas           Gov. Aggregation
DEO             1180013648404               Gas           Gov. Aggregation   COH             208889210013                Gas           Gov. Aggregation
DEO             5180014154688               Gas           Gov. Aggregation   COH             201631630026                Gas           Gov. Aggregation
COH             125838660025                Gas           Gov. Aggregation   COH             209998380016                Gas           Gov. Aggregation
COH             207664700017                Gas           Gov. Aggregation   COH             209604170013                Gas           Gov. Aggregation
COH             204659200016                Gas           Gov. Aggregation   COH             209719240015                Gas           Gov. Aggregation
COH             115719930031                Gas           Gov. Aggregation   COH             210112430018                Gas           Gov. Aggregation
COH             195197750022                Gas           Gov. Aggregation   COH             204037080010                Gas           Gov. Aggregation
COH             195576010023                Gas           Gov. Aggregation   COH             167770230154                Gas           Gov. Aggregation
COH             208342620015                Gas           Gov. Aggregation   COH             124440830087                Gas           Gov. Aggregation
COH             207334430013                Gas           Gov. Aggregation   COH             209910160016                Gas           Gov. Aggregation
COH             169692260036                Gas           Gov. Aggregation   COH             209572370010                Gas           Gov. Aggregation
COH             115175880027                Gas           Gov. Aggregation   COH             210969640019                Gas           Gov. Aggregation
COH             207656670011                Gas           Gov. Aggregation   COH             124439040013                Gas           Gov. Aggregation
COH             207613960010                Gas           Gov. Aggregation   COH             148954390038                Gas           Gov. Aggregation
COH             149237620501                Gas           Gov. Aggregation   COH             204798890018                Gas           Gov. Aggregation
COH             169837130044                Gas           Gov. Aggregation   COH             197351300026                Gas           Gov. Aggregation
COH             207939020017                Gas           Gov. Aggregation   COH             211064280012                Gas           Gov. Aggregation
COH             205319300014                Gas           Gov. Aggregation   COH             209356030019                Gas           Gov. Aggregation
COH             207884440016                Gas           Gov. Aggregation   COH             210724880017                Gas           Gov. Aggregation
COH             195744380029                Gas           Gov. Aggregation   COH             193018500033                Gas           Gov. Aggregation
COH             205871420019                Gas           Gov. Aggregation   COH             167121640055                Gas           Gov. Aggregation
COH             115143820017                Gas           Gov. Aggregation   COH             208811410014                Gas           Gov. Aggregation
COH             201309970037                Gas           Gov. Aggregation   COH             193132000036                Gas           Gov. Aggregation
COH             195971490016                Gas           Gov. Aggregation   COH             206093150015                Gas           Gov. Aggregation
COH             159732410049                Gas           Gov. Aggregation   COH             175664660051                Gas           Gov. Aggregation
COH             207376160012                Gas           Gov. Aggregation   COH             207021490014                Gas           Gov. Aggregation
COH             205470350014                Gas           Gov. Aggregation   COH             209468700011                Gas           Gov. Aggregation
COH             197392040043                Gas           Gov. Aggregation   COH             210942490017                Gas           Gov. Aggregation
COH             208464290017                Gas           Gov. Aggregation   COH             202726880022                Gas           Gov. Aggregation
COH             208475330015                Gas           Gov. Aggregation   COH             124419860022                Gas           Gov. Aggregation
COH             205181650014                Gas           Gov. Aggregation   COH             194273290028                Gas           Gov. Aggregation
COH             203507600050                Gas           Gov. Aggregation   COH             208313990019                Gas           Gov. Aggregation
COH             206997700013                Gas           Gov. Aggregation   COH             208759610014                Gas           Gov. Aggregation
COH             204509640011                Gas           Gov. Aggregation   COH             209283270023                Gas           Gov. Aggregation
COH             205751890015                Gas           Gov. Aggregation   COH             210368730023                Gas           Gov. Aggregation
COH             206870100017                Gas           Gov. Aggregation   COH             210389540010                Gas           Gov. Aggregation
COH             202608540014                Gas           Gov. Aggregation   COH             210753080014                Gas           Gov. Aggregation
COH             208109210015                Gas           Gov. Aggregation   COH             210752960011                Gas           Gov. Aggregation
COH             172380050036                Gas           Gov. Aggregation   COH             210351600016                Gas           Gov. Aggregation
COH             115155990035                Gas           Gov. Aggregation   COH             188319080031                Gas           Gov. Aggregation
COH             187763080059                Gas           Gov. Aggregation   COH             170010890026                Gas           Gov. Aggregation
COH             205703700015                Gas           Gov. Aggregation   COH             209500200016                Gas           Gov. Aggregation
COH             206017480016                Gas           Gov. Aggregation   COH             204734460012                Gas           Gov. Aggregation
COH             203103940028                Gas           Gov. Aggregation   COH             190566450027                Gas           Gov. Aggregation
COH             206910410016                Gas           Gov. Aggregation   COH             209173450019                Gas           Gov. Aggregation
COH             205215260013                Gas           Gov. Aggregation   COH             158650660024                Gas           Gov. Aggregation
COH             208214850018                Gas           Gov. Aggregation   COH             206075820012                Gas           Gov. Aggregation
COH             206554720017                Gas           Gov. Aggregation   COH             206093350013                Gas           Gov. Aggregation
COH             173365310050                Gas           Gov. Aggregation   COH             206874360015                Gas           Gov. Aggregation
COH             195774570026                Gas           Gov. Aggregation   COH             208239470025                Gas           Gov. Aggregation
COH             188632430051                Gas           Gov. Aggregation   COH             208563490015                Gas           Gov. Aggregation
COH             206655830010                Gas           Gov. Aggregation   COH             208594790017                Gas           Gov. Aggregation
COH             207205620016                Gas           Gov. Aggregation   COH             208728540014                Gas           Gov. Aggregation
COH             208281300012                Gas           Gov. Aggregation   COH             208807060017                Gas           Gov. Aggregation
COH             207347010014                Gas           Gov. Aggregation   COH             210572610016                Gas           Gov. Aggregation
COH             201106000021                Gas           Gov. Aggregation   COH             188267940077                Gas           Gov. Aggregation
COH             171890540079                Gas           Gov. Aggregation   COH             191111130035                Gas           Gov. Aggregation
COH             188315290035                Gas           Gov. Aggregation   COH             209394280017                Gas           Gov. Aggregation
COH             198954700050                Gas           Gov. Aggregation   COH             210309420013                Gas           Gov. Aggregation
COH             205031550012                Gas           Gov. Aggregation   COH             210789680013                Gas           Gov. Aggregation
COH             129116570048                Gas           Gov. Aggregation   COH             210942640015                Gas           Gov. Aggregation
COH             206313670018                Gas           Gov. Aggregation   COH             148242340091                Gas           Gov. Aggregation
VEDO            4002165322525989            Gas           Gov. Aggregation   COH             195848520029                Gas           Gov. Aggregation
DEO             7180013880168               Gas           Gov. Aggregation   COH             124502030029                Gas           Gov. Aggregation
DEO             3180011405094               Gas           Gov. Aggregation   COH             124661540026                Gas           Gov. Aggregation
DEO             7180012484513               Gas           Gov. Aggregation   COH             135391680072                Gas           Gov. Aggregation
DEO             8180010987725               Gas           Gov. Aggregation   COH             136106230041                Gas           Gov. Aggregation
DEO             0180012757209               Gas           Gov. Aggregation   COH             137895990059                Gas           Gov. Aggregation
DEO             1180013025317               Gas           Gov. Aggregation   COH             147443690020                Gas           Gov. Aggregation
DEO             9180010978781               Gas           Gov. Aggregation   COH             150915740032                Gas           Gov. Aggregation
DEO             6180013372832               Gas           Gov. Aggregation   COH             174657750030                Gas           Gov. Aggregation
DEO             5180011041690               Gas           Gov. Aggregation   COH             175051780037                Gas           Gov. Aggregation
DEO             6180011046369               Gas           Gov. Aggregation   COH             186749020025                Gas           Gov. Aggregation
DEO             2387000000372               Gas           Gov. Aggregation   COH             190051160029                Gas           Gov. Aggregation
DEO             0180013909146               Gas           Gov. Aggregation   COH             191230390075                Gas           Gov. Aggregation
DEO             0180011345908               Gas           Gov. Aggregation   COH             192647430027                Gas           Gov. Aggregation
DEO             8421002515084               Gas           Gov. Aggregation   COH             193838800023                Gas           Gov. Aggregation
DEO             7180013248371               Gas           Gov. Aggregation   COH             195040320032                Gas           Gov. Aggregation
DEO             6180013262586               Gas           Gov. Aggregation   COH             196918680375                Gas           Gov. Aggregation
DEO             2180012353597               Gas           Gov. Aggregation   COH             207647540017                Gas           Gov. Aggregation
DEO             7180012735035               Gas           Gov. Aggregation   COH             207683730011                Gas           Gov. Aggregation
DEO             9180013400066               Gas           Gov. Aggregation   COH             207926560011                Gas           Gov. Aggregation
DEO             2180012330464               Gas           Gov. Aggregation   COH             208016180019                Gas           Gov. Aggregation
DEO             6180011221720               Gas           Gov. Aggregation   COH             209017590010                Gas           Gov. Aggregation
DEO             1180011058685               Gas           Gov. Aggregation   COH             209074150012                Gas           Gov. Aggregation
DEO             1180012201384               Gas           Gov. Aggregation   COH             209117200019                Gas           Gov. Aggregation
DEO             6180011527290               Gas           Gov. Aggregation   COH             209142780015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             0180013286032               Gas           Gov. Aggregation   COH             210115140013                Gas           Gov. Aggregation
DEO             8180012985797               Gas           Gov. Aggregation   COH             210214340011                Gas           Gov. Aggregation
DEO             7180012590225               Gas           Gov. Aggregation   COH             210319580019                Gas           Gov. Aggregation
DEO             3180011537485               Gas           Gov. Aggregation   COH             210347480039                Gas           Gov. Aggregation
DEO             6180013212315               Gas           Gov. Aggregation   COH             210636750011                Gas           Gov. Aggregation
DEO             7180013169345               Gas           Gov. Aggregation   COH             210731280018                Gas           Gov. Aggregation
DEO             5180010994276               Gas           Gov. Aggregation   COH             210792090010                Gas           Gov. Aggregation
DEO             9180013372425               Gas           Gov. Aggregation   COH             174927960033                Gas           Gov. Aggregation
DEO             3180012998373               Gas           Gov. Aggregation   COH             176598740036                Gas           Gov. Aggregation
DEO             8180011223656               Gas           Gov. Aggregation   COH             176999010075                Gas           Gov. Aggregation
DEO             8180011114646               Gas           Gov. Aggregation   COH             186643450029                Gas           Gov. Aggregation
DEO             7180010961932               Gas           Gov. Aggregation   COH             187654840041                Gas           Gov. Aggregation
DEO             8180011015931               Gas           Gov. Aggregation   COH             193371940051                Gas           Gov. Aggregation
DEO             4180011539138               Gas           Gov. Aggregation   COH             194902680030                Gas           Gov. Aggregation
DEO             1180013895073               Gas           Gov. Aggregation   COH             196296160025                Gas           Gov. Aggregation
DEO             6180013725648               Gas           Gov. Aggregation   COH             196562330033                Gas           Gov. Aggregation
DEO             7180011319383               Gas           Gov. Aggregation   COH             208845570010                Gas           Gov. Aggregation
DEO             6180011220499               Gas           Gov. Aggregation   COH             209152370010                Gas           Gov. Aggregation
DEO             4180013646434               Gas           Gov. Aggregation   COH             209329860012                Gas           Gov. Aggregation
DEO             5180012893491               Gas           Gov. Aggregation   COH             209576790014                Gas           Gov. Aggregation
DEO             3180013101971               Gas           Gov. Aggregation   VEDO            4004606892467213            Gas           Gov. Aggregation
DEO             7180012760798               Gas           Gov. Aggregation   VEDO            4003214502317410            Gas           Gov. Aggregation
DEO             7180013884740               Gas           Gov. Aggregation   VEDO            4017015292588584            Gas           Gov. Aggregation
DEO             4180012689507               Gas           Gov. Aggregation   VEDO            4017277122626200            Gas           Gov. Aggregation
DEO             1180011334761               Gas           Gov. Aggregation   DEO             1420900303353               Gas           Gov. Aggregation
DEO             5500062161665               Gas           Gov. Aggregation   DEO             5500002499960               Gas           Gov. Aggregation
DEO             2180010954577               Gas           Gov. Aggregation   DEO             5421004106113               Gas           Gov. Aggregation
DEO             6180013664321               Gas           Gov. Aggregation   VEDO            4016441782262174            Gas           Gov. Aggregation
DEO             5180010037612               Gas           Gov. Aggregation   DEO             1120000065289               Gas           Gov. Aggregation
DEO             6180013415357               Gas           Gov. Aggregation   COH             177447870019                Gas           Gov. Aggregation
DEO             7180011422927               Gas           Gov. Aggregation   COH             196439350030                Gas           Gov. Aggregation
DEO             4180012443136               Gas           Gov. Aggregation   DEO             4180016703069               Gas           Gov. Aggregation
DEO             3500048789628               Gas           Gov. Aggregation   DEO             1180014507436               Gas           Gov. Aggregation
DEO             6180012421650               Gas           Gov. Aggregation   DEO             0180014670697               Gas           Gov. Aggregation
DEO             1180012606681               Gas           Gov. Aggregation   DEO             4180016179242               Gas           Gov. Aggregation
DEO             0180012786375               Gas           Gov. Aggregation   DEO             7180014935520               Gas           Gov. Aggregation
DEO             2180013725627               Gas           Gov. Aggregation   DEO             3180015998032               Gas           Gov. Aggregation
DEO             7180012288821               Gas           Gov. Aggregation   DEO             9180015796353               Gas           Gov. Aggregation
DEO             5180011795733               Gas           Gov. Aggregation   DEO             4180014084246               Gas           Gov. Aggregation
DEO             5180011795471               Gas           Gov. Aggregation   DEO             8180014738202               Gas           Gov. Aggregation
DEO             8180012603495               Gas           Gov. Aggregation   DEO             9180016780022               Gas           Gov. Aggregation
DEO             2180012208044               Gas           Gov. Aggregation   DEO             8180016362287               Gas           Gov. Aggregation
DEO             5180013967929               Gas           Gov. Aggregation   DEO             4180014613281               Gas           Gov. Aggregation
DEO             8180011371977               Gas           Gov. Aggregation   DEO             2180016520856               Gas           Gov. Aggregation
DEO             8180013420204               Gas           Gov. Aggregation   DEO             2180014248051               Gas           Gov. Aggregation
DEO             2180013794908               Gas           Gov. Aggregation   DEO             0180013809142               Gas           Gov. Aggregation
DEO             1180011842326               Gas           Gov. Aggregation   DEO             8180015641250               Gas           Gov. Aggregation
DEO             6180013306525               Gas           Gov. Aggregation   DEO             6180016204558               Gas           Gov. Aggregation
DEO             0180013756590               Gas           Gov. Aggregation   DEO             6180015472371               Gas           Gov. Aggregation
DEO             3180012877275               Gas           Gov. Aggregation   DEO             3180015233292               Gas           Gov. Aggregation
DEO             5180011627447               Gas           Gov. Aggregation   DEO             9180015246916               Gas           Gov. Aggregation
DEO             9180011574986               Gas           Gov. Aggregation   DEO             1180014427376               Gas           Gov. Aggregation
DEO             7180013104632               Gas           Gov. Aggregation   DEO             2180014198736               Gas           Gov. Aggregation
DEO             2180013908923               Gas           Gov. Aggregation   DEO             9180016152318               Gas           Gov. Aggregation
DEO             5180013958612               Gas           Gov. Aggregation   DEO             8180016242989               Gas           Gov. Aggregation
DEO             7180012272292               Gas           Gov. Aggregation   DEO             9180015262897               Gas           Gov. Aggregation
DEO             5180011227693               Gas           Gov. Aggregation   DEO             3180015777053               Gas           Gov. Aggregation
DEO             3180012670336               Gas           Gov. Aggregation   DEO             6180017074447               Gas           Gov. Aggregation
DEO             2180013573539               Gas           Gov. Aggregation   DEO             8180014514047               Gas           Gov. Aggregation
DEO             2180013326114               Gas           Gov. Aggregation   DEO             3180016340205               Gas           Gov. Aggregation
DEO             4180012727870               Gas           Gov. Aggregation   DEO             6180015922075               Gas           Gov. Aggregation
DEO             4180013307935               Gas           Gov. Aggregation   DEO             8180014630513               Gas           Gov. Aggregation
DEO             6180012970746               Gas           Gov. Aggregation   DEO             1180016788309               Gas           Gov. Aggregation
DEO             1180012637781               Gas           Gov. Aggregation   DEO             0180015913600               Gas           Gov. Aggregation
DEO             4180013669483               Gas           Gov. Aggregation   DEO             3180014184888               Gas           Gov. Aggregation
DEO             4180013394981               Gas           Gov. Aggregation   DEO             3180015788473               Gas           Gov. Aggregation
DEO             0180011194456               Gas           Gov. Aggregation   DEO             7180014549605               Gas           Gov. Aggregation
DEO             0180013450345               Gas           Gov. Aggregation   DEO             0180016042476               Gas           Gov. Aggregation
DEO             9180013785793               Gas           Gov. Aggregation   DEO             9180015294505               Gas           Gov. Aggregation
DEO             4180012311064               Gas           Gov. Aggregation   DEO             8180014406926               Gas           Gov. Aggregation
DEO             3180012660079               Gas           Gov. Aggregation   COH             123838490032                Gas           Gov. Aggregation
DEO             4180011844248               Gas           Gov. Aggregation   DEO             1421003587060               Gas           Gov. Aggregation
DEO             0180013092190               Gas           Gov. Aggregation   VEDO            4004248762427808            Gas           Gov. Aggregation
DEO             3180012920761               Gas           Gov. Aggregation   VEDO            4001990952312687            Gas           Gov. Aggregation
DEO             7180012495224               Gas           Gov. Aggregation   VEDO            4004330402495316            Gas           Gov. Aggregation
DEO             8180011749150               Gas           Gov. Aggregation   DEO             4442007053266               Gas           Gov. Aggregation
DEO             5500041404336               Gas           Gov. Aggregation   DEO             8180006187928               Gas           Gov. Aggregation
DEO             5500041404247               Gas           Gov. Aggregation   DEO             5442000356520               Gas           Gov. Aggregation
DEO             0180010772287               Gas           Gov. Aggregation   DEO             6150000013722               Gas           Gov. Aggregation
DEO             1180013894920               Gas           Gov. Aggregation   DEO             3180017574301               Gas           Gov. Aggregation
DEO             6180013310717               Gas           Gov. Aggregation   DEO             6500040246787               Gas           Gov. Aggregation
DEO             2180010980477               Gas           Gov. Aggregation   VEDO            4002688932684170            Gas           Gov. Aggregation
DEO             2180013887694               Gas           Gov. Aggregation   DEO             1180012774977               Gas           Gov. Aggregation
DEO             5180013178440               Gas           Gov. Aggregation   DEO             0442103805428               Gas           Gov. Aggregation
DEO             5180013947391               Gas           Gov. Aggregation   DEO             5180015589004               Gas           Gov. Aggregation
DEO             7180012833391               Gas           Gov. Aggregation   DEO             4421003195832               Gas           Gov. Aggregation
DEO             0180011354736               Gas           Gov. Aggregation   COH             134550300038                Gas           Gov. Aggregation
DEO             8180012740343               Gas           Gov. Aggregation   COH             204075070030                Gas           Gov. Aggregation
DEO             0180011070862               Gas           Gov. Aggregation   COH             138805290018                Gas           Gov. Aggregation
DEO             3180011278358               Gas           Gov. Aggregation   COH             116558830024                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             8180013964675               Gas           Gov. Aggregation   DEO             3180014677042               Gas           Gov. Aggregation
DEO             5180011534718               Gas           Gov. Aggregation   DEO             4180014893072               Gas           Gov. Aggregation
DEO             4180011980170               Gas           Gov. Aggregation   DEO             7180013942806               Gas           Gov. Aggregation
DEO             7180013337589               Gas           Gov. Aggregation   DEO             5180014883561               Gas           Gov. Aggregation
DEO             0180013758951               Gas           Gov. Aggregation   DEO             8180015334924               Gas           Gov. Aggregation
DEO             4180011934711               Gas           Gov. Aggregation   DEO             1180014365126               Gas           Gov. Aggregation
DEO             6180012208238               Gas           Gov. Aggregation   DEO             6180016049739               Gas           Gov. Aggregation
DEO             5180013330857               Gas           Gov. Aggregation   DEO             6180015048330               Gas           Gov. Aggregation
DEO             1180012834141               Gas           Gov. Aggregation   DEO             8180016843644               Gas           Gov. Aggregation
DEO             6180012241417               Gas           Gov. Aggregation   DEO             4440009984416               Gas           Gov. Aggregation
DEO             9180013773897               Gas           Gov. Aggregation   DEO             2180015683974               Gas           Gov. Aggregation
DEO             9180013079085               Gas           Gov. Aggregation   DEO             8180015591968               Gas           Gov. Aggregation
DEO             6180011515060               Gas           Gov. Aggregation   DEO             9180015063910               Gas           Gov. Aggregation
DEO             5180011959821               Gas           Gov. Aggregation   DEO             2180014346420               Gas           Gov. Aggregation
DEO             0180013590135               Gas           Gov. Aggregation   DEO             2180016374138               Gas           Gov. Aggregation
DEO             8180010871686               Gas           Gov. Aggregation   DEO             8180014559545               Gas           Gov. Aggregation
DEO             1180011041171               Gas           Gov. Aggregation   DEO             4180015918356               Gas           Gov. Aggregation
DEO             7180012282972               Gas           Gov. Aggregation   DEO             5180015990916               Gas           Gov. Aggregation
DEO             8180013566746               Gas           Gov. Aggregation   DEO             5180017143533               Gas           Gov. Aggregation
DEO             1180013832505               Gas           Gov. Aggregation   DEO             6180016461605               Gas           Gov. Aggregation
DEO             2180013442539               Gas           Gov. Aggregation   DEO             8180016536238               Gas           Gov. Aggregation
DEO             6180011389187               Gas           Gov. Aggregation   COH             111117750020                Gas           Gov. Aggregation
DEO             0180011450509               Gas           Gov. Aggregation   COH             123799780017                Gas           Gov. Aggregation
DEO             1180013860861               Gas           Gov. Aggregation   COH             210203850017                Gas           Gov. Aggregation
DEO             5180011450381               Gas           Gov. Aggregation   COH             135154310017                Gas           Gov. Aggregation
DEO             1180012566524               Gas           Gov. Aggregation   COH             124235280033                Gas           Gov. Aggregation
DEO             4180011911325               Gas           Gov. Aggregation   COH             132114010035                Gas           Gov. Aggregation
DEO             9180012144695               Gas           Gov. Aggregation   COH             141351750019                Gas           Gov. Aggregation
DEO             2180012678993               Gas           Gov. Aggregation   COH             160957860028                Gas           Gov. Aggregation
DEO             0180012049793               Gas           Gov. Aggregation   COH             121927080031                Gas           Gov. Aggregation
DEO             6180012279514               Gas           Gov. Aggregation   COH             173816320015                Gas           Gov. Aggregation
DEO             0180013015740               Gas           Gov. Aggregation   COH             176366730020                Gas           Gov. Aggregation
DEO             4180012718385               Gas           Gov. Aggregation   COH             211020500017                Gas           Gov. Aggregation
DEO             3180013373528               Gas           Gov. Aggregation   COH             211094650011                Gas           Gov. Aggregation
DEO             1180011958968               Gas           Gov. Aggregation   COH             210342540018                Gas           Gov. Aggregation
DEO             0180012335592               Gas           Gov. Aggregation   COH             124349710031                Gas           Gov. Aggregation
DEO             3180012317725               Gas           Gov. Aggregation   COH             199526630051                Gas           Gov. Aggregation
DEO             2180013197093               Gas           Gov. Aggregation   COH             208820600015                Gas           Gov. Aggregation
DEO             5180011098863               Gas           Gov. Aggregation   COH             209563780013                Gas           Gov. Aggregation
DEO             0180013380646               Gas           Gov. Aggregation   COH             186503090021                Gas           Gov. Aggregation
DEO             5180013987609               Gas           Gov. Aggregation   COH             195001400028                Gas           Gov. Aggregation
DEO             2180013060717               Gas           Gov. Aggregation   COH             205344470025                Gas           Gov. Aggregation
DEO             3180011987918               Gas           Gov. Aggregation   COH             202084340027                Gas           Gov. Aggregation
DEO             4180013758629               Gas           Gov. Aggregation   COH             208302830015                Gas           Gov. Aggregation
DEO             3180011928947               Gas           Gov. Aggregation   COH             208586190010                Gas           Gov. Aggregation
DEO             0180010935649               Gas           Gov. Aggregation   COH             132942640038                Gas           Gov. Aggregation
DEO             0180012347179               Gas           Gov. Aggregation   DEO             2180015011229               Gas           Gov. Aggregation
DEO             6180011178342               Gas           Gov. Aggregation   VEDO            4003246192433076            Gas           Gov. Aggregation
DEO             3180011121528               Gas           Gov. Aggregation   DEO             2180007083816               Gas           Gov. Aggregation
DEO             9180011273678               Gas           Gov. Aggregation   DEO             1442008152305               Gas           Gov. Aggregation
DEO             4180012586897               Gas           Gov. Aggregation   DEO             2180015073659               Gas           Gov. Aggregation
DEO             5180011525773               Gas           Gov. Aggregation   VEDO            4003799882379056            Gas           Gov. Aggregation
DEO             4180013680530               Gas           Gov. Aggregation   COH             185496120013                Gas           Gov. Aggregation
DEO             4180012933163               Gas           Gov. Aggregation   COH             208640930018                Gas           Gov. Aggregation
DEO             9180012123571               Gas           Gov. Aggregation   COH             206989710018                Gas           Gov. Aggregation
DEO             1180011100225               Gas           Gov. Aggregation   COH             205496730010                Gas           Gov. Aggregation
DEO             1180013844134               Gas           Gov. Aggregation   COH             110758340038                Gas           Gov. Aggregation
DEO             5180013607458               Gas           Gov. Aggregation   COH             207172900018                Gas           Gov. Aggregation
DEO             0180013462129               Gas           Gov. Aggregation   COH             207910890015                Gas           Gov. Aggregation
DEO             7180011649687               Gas           Gov. Aggregation   COH             207129820016                Gas           Gov. Aggregation
DEO             6180013604802               Gas           Gov. Aggregation   COH             205103310028                Gas           Gov. Aggregation
DEO             8180014014570               Gas           Gov. Aggregation   COH             207431240017                Gas           Gov. Aggregation
DEO             2180013775442               Gas           Gov. Aggregation   COH             150895970010                Gas           Gov. Aggregation
DEO             3180013618012               Gas           Gov. Aggregation   COH             208203000019                Gas           Gov. Aggregation
DEO             7180013515825               Gas           Gov. Aggregation   COH             171856050010                Gas           Gov. Aggregation
DEO             4180013245348               Gas           Gov. Aggregation   COH             203031300034                Gas           Gov. Aggregation
DEO             6180013881103               Gas           Gov. Aggregation   COH             208876520015                Gas           Gov. Aggregation
COH             208377900013                Gas           Gov. Aggregation   COH             155165830011                Gas           Gov. Aggregation
COH             166559750047                Gas           Gov. Aggregation   COH             207946650010                Gas           Gov. Aggregation
COH             140315350056                Gas           Gov. Aggregation   COH             193716240038                Gas           Gov. Aggregation
COH             200988700036                Gas           Gov. Aggregation   COH             208439770019                Gas           Gov. Aggregation
COH             206641540010                Gas           Gov. Aggregation   COH             202974570022                Gas           Gov. Aggregation
COH             208293640016                Gas           Gov. Aggregation   COH             205963650016                Gas           Gov. Aggregation
COH             207041120019                Gas           Gov. Aggregation   COH             205837990012                Gas           Gov. Aggregation
COH             207147080014                Gas           Gov. Aggregation   COH             208648610019                Gas           Gov. Aggregation
COH             206770820018                Gas           Gov. Aggregation   COH             205809720017                Gas           Gov. Aggregation
COH             154839610028                Gas           Gov. Aggregation   COH             208573920013                Gas           Gov. Aggregation
COH             198670140041                Gas           Gov. Aggregation   COH             204404710027                Gas           Gov. Aggregation
COH             208065260019                Gas           Gov. Aggregation   COH             206609450017                Gas           Gov. Aggregation
COH             208332620016                Gas           Gov. Aggregation   COH             205424840018                Gas           Gov. Aggregation
COH             207614640015                Gas           Gov. Aggregation   COH             208997860018                Gas           Gov. Aggregation
COH             203739150027                Gas           Gov. Aggregation   COH             200054020038                Gas           Gov. Aggregation
COH             207241270014                Gas           Gov. Aggregation   COH             207925340019                Gas           Gov. Aggregation
COH             207474500012                Gas           Gov. Aggregation   COH             209068370019                Gas           Gov. Aggregation
COH             206396990017                Gas           Gov. Aggregation   COH             208212150019                Gas           Gov. Aggregation
COH             207403200014                Gas           Gov. Aggregation   COH             209247730013                Gas           Gov. Aggregation
COH             206918090018                Gas           Gov. Aggregation   COH             208768160010                Gas           Gov. Aggregation
COH             207964740013                Gas           Gov. Aggregation   COH             198724990020                Gas           Gov. Aggregation
COH             195919360031                Gas           Gov. Aggregation   COH             205526350015                Gas           Gov. Aggregation
COH             208212070016                Gas           Gov. Aggregation   COH             208990450018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             150578560036                Gas           Gov. Aggregation   COH             206859390011                Gas           Gov. Aggregation
COH             166161770028                Gas           Gov. Aggregation   COH             206117390013                Gas           Gov. Aggregation
COH             166161770019                Gas           Gov. Aggregation   COH             206673760017                Gas           Gov. Aggregation
COH             207336470011                Gas           Gov. Aggregation   COH             206124930014                Gas           Gov. Aggregation
COH             208005800011                Gas           Gov. Aggregation   COH             193678290030                Gas           Gov. Aggregation
COH             207757340016                Gas           Gov. Aggregation   COH             175590040012                Gas           Gov. Aggregation
COH             208416180011                Gas           Gov. Aggregation   COH             201834650013                Gas           Gov. Aggregation
COH             206673730013                Gas           Gov. Aggregation   COH             204061100014                Gas           Gov. Aggregation
COH             206427780014                Gas           Gov. Aggregation   COH             204545970016                Gas           Gov. Aggregation
COH             208120090017                Gas           Gov. Aggregation   COH             209247740011                Gas           Gov. Aggregation
COH             208196730013                Gas           Gov. Aggregation   COH             202669730016                Gas           Gov. Aggregation
COH             201369330017                Gas           Gov. Aggregation   COH             202408680028                Gas           Gov. Aggregation
COH             207123950011                Gas           Gov. Aggregation   COH             187465380012                Gas           Gov. Aggregation
COH             175929970107                Gas           Gov. Aggregation   DUKE            5030038525                  Gas           Gov. Aggregation
COH             206711020010                Gas           Gov. Aggregation   DUKE            6030038542                  Gas           Gov. Aggregation
COH             203338890022                Gas           Gov. Aggregation   DUKE            7030038525                  Gas           Gov. Aggregation
COH             193057320173                Gas           Gov. Aggregation   DUKE            3290020221                  Gas           Gov. Aggregation
COH             197686950030                Gas           Gov. Aggregation   DUKE            4290020222                  Gas           Gov. Aggregation
COH             161773430027                Gas           Gov. Aggregation   DUKE            5290020221                  Gas           Gov. Aggregation
COH             206935590026                Gas           Gov. Aggregation   DUKE            7290020222                  Gas           Gov. Aggregation
COH             142962000047                Gas           Gov. Aggregation   DUKE            3190020242                  Gas           Gov. Aggregation
COH             110314800013                Gas           Gov. Aggregation   DUKE            7210038424                  Gas           Gov. Aggregation
COH             208453640016                Gas           Gov. Aggregation   DUKE            6870038436                  Gas           Gov. Aggregation
COH             208148730014                Gas           Gov. Aggregation   DUKE            5210038421                  Gas           Gov. Aggregation
COH             155460700058                Gas           Gov. Aggregation   DUKE            3210038423                  Gas           Gov. Aggregation
COH             207344950013                Gas           Gov. Aggregation   DUKE            2210038432                  Gas           Gov. Aggregation
COH             206996450018                Gas           Gov. Aggregation   DUKE            5950363904                  Gas           Gov. Aggregation
COH             198431290055                Gas           Gov. Aggregation   DUKE            1490038522                  Gas           Gov. Aggregation
COH             206932410010                Gas           Gov. Aggregation   DUKE            3490038522                  Gas           Gov. Aggregation
COH             206427860017                Gas           Gov. Aggregation   DUKE            9590038544                  Gas           Gov. Aggregation
COH             171494380028                Gas           Gov. Aggregation   DUKE            1690038524                  Gas           Gov. Aggregation
COH             207123960019                Gas           Gov. Aggregation   DUKE            8590038520                  Gas           Gov. Aggregation
COH             199096870134                Gas           Gov. Aggregation   DUKE            2690038531                  Gas           Gov. Aggregation
COH             207060700017                Gas           Gov. Aggregation   DUKE            6730038521                  Gas           Gov. Aggregation
COH             196374600026                Gas           Gov. Aggregation   DUKE            7730038521                  Gas           Gov. Aggregation
COH             207840930015                Gas           Gov. Aggregation   DUKE            3630038527                  Gas           Gov. Aggregation
COH             169173690027                Gas           Gov. Aggregation   DUKE            9730038524                  Gas           Gov. Aggregation
COH             198330170036                Gas           Gov. Aggregation   DUKE            9030038523                  Gas           Gov. Aggregation
COH             206801760014                Gas           Gov. Aggregation   DUKE            1130038533                  Gas           Gov. Aggregation
COH             208266210013                Gas           Gov. Aggregation   DUKE            4130038537                  Gas           Gov. Aggregation
COH             207289980015                Gas           Gov. Aggregation   DUKE            3130038539                  Gas           Gov. Aggregation
COH             207925310015                Gas           Gov. Aggregation   DUKE            6130038527                  Gas           Gov. Aggregation
COH             208211050012                Gas           Gov. Aggregation   DUKE            6490020227                  Gas           Gov. Aggregation
COH             207641280014                Gas           Gov. Aggregation   DUKE            7330038525                  Gas           Gov. Aggregation
COH             110336090062                Gas           Gov. Aggregation   DUKE            3430038522                  Gas           Gov. Aggregation
COH             206441870015                Gas           Gov. Aggregation   DUKE            5430038521                  Gas           Gov. Aggregation
COH             110372590016                Gas           Gov. Aggregation   DUKE            7430038522                  Gas           Gov. Aggregation
COH             157180830071                Gas           Gov. Aggregation   DUKE            1330038525                  Gas           Gov. Aggregation
COH             171272980077                Gas           Gov. Aggregation   DUKE            5450038537                  Gas           Gov. Aggregation
COH             207952680011                Gas           Gov. Aggregation   DUKE            7450038527                  Gas           Gov. Aggregation
COH             150782240030                Gas           Gov. Aggregation   DUKE            9350038523                  Gas           Gov. Aggregation
COH             207407440016                Gas           Gov. Aggregation   DUKE            1550038520                  Gas           Gov. Aggregation
COH             207661080014                Gas           Gov. Aggregation   DUKE            2550038524                  Gas           Gov. Aggregation
COH             162148330013                Gas           Gov. Aggregation   DUKE            6350038534                  Gas           Gov. Aggregation
COH             175767530087                Gas           Gov. Aggregation   DUKE            5350038523                  Gas           Gov. Aggregation
COH             207296960014                Gas           Gov. Aggregation   DUKE            4550038520                  Gas           Gov. Aggregation
COH             207525180011                Gas           Gov. Aggregation   DUKE            2350038524                  Gas           Gov. Aggregation
COH             207665590019                Gas           Gov. Aggregation   DUKE            9550038529                  Gas           Gov. Aggregation
COH             208185510012                Gas           Gov. Aggregation   DUKE            3250038521                  Gas           Gov. Aggregation
COH             207757940010                Gas           Gov. Aggregation   DUKE            7250038526                  Gas           Gov. Aggregation
COH             206849540010                Gas           Gov. Aggregation   DUKE            6250038528                  Gas           Gov. Aggregation
COH             208336420010                Gas           Gov. Aggregation   DUKE            2950038520                  Gas           Gov. Aggregation
COH             208452440010                Gas           Gov. Aggregation   DUKE            4250038521                  Gas           Gov. Aggregation
COH             124494020020                Gas           Gov. Aggregation   DUKE            8250038520                  Gas           Gov. Aggregation
COH             137997730100                Gas           Gov. Aggregation   DUKE            2150038526                  Gas           Gov. Aggregation
COH             207699050011                Gas           Gov. Aggregation   DUKE            1150038526                  Gas           Gov. Aggregation
COH             208252550011                Gas           Gov. Aggregation   COH             189939210010                Gas           Gov. Aggregation
COH             203202820041                Gas           Gov. Aggregation   COH             120204090014                Gas           Gov. Aggregation
COH             208167890011                Gas           Gov. Aggregation   DUKE            8840038520                  Gas           Gov. Aggregation
COH             208462670011                Gas           Gov. Aggregation   DUKE            7850038521                  Gas           Gov. Aggregation
COH             192106120091                Gas           Gov. Aggregation   DUKE            7650038528                  Gas           Gov. Aggregation
COH             207205170011                Gas           Gov. Aggregation   DUKE            6850038521                  Gas           Gov. Aggregation
COH             207074210011                Gas           Gov. Aggregation   DUKE            5850038521                  Gas           Gov. Aggregation
COH             146680000041                Gas           Gov. Aggregation   DUKE            6950038520                  Gas           Gov. Aggregation
COH             207367920011                Gas           Gov. Aggregation   DUKE            3560038523                  Gas           Gov. Aggregation
COH             206973380011                Gas           Gov. Aggregation   DUKE            2560038532                  Gas           Gov. Aggregation
COH             125445250042                Gas           Gov. Aggregation   DUKE            9950038521                  Gas           Gov. Aggregation
COH             185626650042                Gas           Gov. Aggregation   DUKE            9560038521                  Gas           Gov. Aggregation
COH             207306000012                Gas           Gov. Aggregation   DUKE            2660038529                  Gas           Gov. Aggregation
COH             148915230122                Gas           Gov. Aggregation   DUKE            2760038534                  Gas           Gov. Aggregation
COH             207939330012                Gas           Gov. Aggregation   DUKE            1060038526                  Gas           Gov. Aggregation
COH             189431990022                Gas           Gov. Aggregation   DUKE            2060038528                  Gas           Gov. Aggregation
COH             207817840013                Gas           Gov. Aggregation   DUKE            7000038626                  Gas           Gov. Aggregation
COH             207055440013                Gas           Gov. Aggregation   DUKE            2100038622                  Gas           Gov. Aggregation
COH             144042490043                Gas           Gov. Aggregation   DUKE            6100038628                  Gas           Gov. Aggregation
COH             207375400013                Gas           Gov. Aggregation   DUKE            5990038522                  Gas           Gov. Aggregation
COH             201093500034                Gas           Gov. Aggregation   DUKE            4990038521                  Gas           Gov. Aggregation
COH             208024360014                Gas           Gov. Aggregation   DUKE            5040214004                  Gas           Gov. Aggregation
COH             207651560014                Gas           Gov. Aggregation   DUKE            1610222403                  Gas           Gov. Aggregation
COH             206931450014                Gas           Gov. Aggregation   DUKE            8100038621                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             206972420014                Gas           Gov. Aggregation   DUKE         2590036038                  Gas           Gov. Aggregation
COH             208442660015                Gas           Gov. Aggregation   DUKE         9490036028                  Gas           Gov. Aggregation
COH             192450453045                Gas           Gov. Aggregation   DUKE         8490036024                  Gas           Gov. Aggregation
COH             207926540015                Gas           Gov. Aggregation   DUKE         7490036026                  Gas           Gov. Aggregation
COH             158818480026                Gas           Gov. Aggregation   DUKE         6490036022                  Gas           Gov. Aggregation
COH             187607220086                Gas           Gov. Aggregation   DUKE         5490036029                  Gas           Gov. Aggregation
COH             207542600016                Gas           Gov. Aggregation   DUKE         2300038637                  Gas           Gov. Aggregation
COH             208379250016                Gas           Gov. Aggregation   DUKE         2400038621                  Gas           Gov. Aggregation
COH             207169800016                Gas           Gov. Aggregation   DUKE         4500038621                  Gas           Gov. Aggregation
COH             207579900016                Gas           Gov. Aggregation   DUKE         4400038627                  Gas           Gov. Aggregation
COH             196478740027                Gas           Gov. Aggregation   DUKE         2500038622                  Gas           Gov. Aggregation
COH             206597770017                Gas           Gov. Aggregation   DUKE         5400038621                  Gas           Gov. Aggregation
COH             207945050018                Gas           Gov. Aggregation   DUKE         1500038621                  Gas           Gov. Aggregation
COH             207473340018                Gas           Gov. Aggregation   DUKE         6400038625                  Gas           Gov. Aggregation
COH             206887170018                Gas           Gov. Aggregation   DUKE         9700038628                  Gas           Gov. Aggregation
COH             207626030018                Gas           Gov. Aggregation   DUKE         2230038647                  Gas           Gov. Aggregation
COH             203875440028                Gas           Gov. Aggregation   DUKE         4230038621                  Gas           Gov. Aggregation
COH             207314220019                Gas           Gov. Aggregation   DUKE         5230038621                  Gas           Gov. Aggregation
COH             207655550018                Gas           Gov. Aggregation   DUKE         9720217004                  Gas           Gov. Aggregation
COH             205839290024                Gas           Gov. Aggregation   DUKE         7900038621                  Gas           Gov. Aggregation
COH             197811830029                Gas           Gov. Aggregation   DUKE         6010038620                  Gas           Gov. Aggregation
COH             207088430016                Gas           Gov. Aggregation   DUKE         9900038623                  Gas           Gov. Aggregation
COH             207111190016                Gas           Gov. Aggregation   DUKE         2130038624                  Gas           Gov. Aggregation
COH             171499940039                Gas           Gov. Aggregation   DUKE         6430038621                  Gas           Gov. Aggregation
COH             125179350028                Gas           Gov. Aggregation   DUKE         1130038623                  Gas           Gov. Aggregation
COH             208016150015                Gas           Gov. Aggregation   DUKE         9030038629                  Gas           Gov. Aggregation
COH             208567930014                Gas           Gov. Aggregation   DUKE         8030038626                  Gas           Gov. Aggregation
COH             204586860022                Gas           Gov. Aggregation   DUKE         7030038622                  Gas           Gov. Aggregation
COH             194741320037                Gas           Gov. Aggregation   DUKE         1530038621                  Gas           Gov. Aggregation
COH             208041380014                Gas           Gov. Aggregation   DUKE         4530038620                  Gas           Gov. Aggregation
COH             194857100038                Gas           Gov. Aggregation   DUKE         4210038620                  Gas           Gov. Aggregation
COH             194166920022                Gas           Gov. Aggregation   DUKE         5210038622                  Gas           Gov. Aggregation
COH             207166760011                Gas           Gov. Aggregation   DUKE         8060038540                  Gas           Gov. Aggregation
COH             196663130022                Gas           Gov. Aggregation   DUKE         6160038520                  Gas           Gov. Aggregation
COH             194376490037                Gas           Gov. Aggregation   DUKE         7660038522                  Gas           Gov. Aggregation
COH             208363480011                Gas           Gov. Aggregation   DUKE         8160038529                  Gas           Gov. Aggregation
COH             208470180017                Gas           Gov. Aggregation   DUKE         1310038622                  Gas           Gov. Aggregation
COH             208167800019                Gas           Gov. Aggregation   DUKE         4310038627                  Gas           Gov. Aggregation
COH             197447460020                Gas           Gov. Aggregation   DUKE         3280038530                  Gas           Gov. Aggregation
COH             207841940011                Gas           Gov. Aggregation   DUKE         2280038526                  Gas           Gov. Aggregation
COH             206975470018                Gas           Gov. Aggregation   DUKE         6310038621                  Gas           Gov. Aggregation
COH             207579870013                Gas           Gov. Aggregation   DUKE         9920038621                  Gas           Gov. Aggregation
COH             207382880018                Gas           Gov. Aggregation   DUKE         8530038621                  Gas           Gov. Aggregation
COH             172619320032                Gas           Gov. Aggregation   DUKE         9530038630                  Gas           Gov. Aggregation
COH             208392550015                Gas           Gov. Aggregation   DUKE         2630038624                  Gas           Gov. Aggregation
COH             207864680018                Gas           Gov. Aggregation   DUKE         3630038623                  Gas           Gov. Aggregation
COH             171022410084                Gas           Gov. Aggregation   DUKE         3020038620                  Gas           Gov. Aggregation
COH             208267670015                Gas           Gov. Aggregation   DUKE         8120038628                  Gas           Gov. Aggregation
COH             207728540015                Gas           Gov. Aggregation   DUKE         9120038621                  Gas           Gov. Aggregation
COH             205180740026                Gas           Gov. Aggregation   DUKE         4910038637                  Gas           Gov. Aggregation
COH             208288800013                Gas           Gov. Aggregation   DUKE         3910038624                  Gas           Gov. Aggregation
COH             208250510013                Gas           Gov. Aggregation   DUKE         2910038626                  Gas           Gov. Aggregation
COH             207606520017                Gas           Gov. Aggregation   DUKE         8810038624                  Gas           Gov. Aggregation
COH             206987430011                Gas           Gov. Aggregation   DUKE         1220038621                  Gas           Gov. Aggregation
COH             208298220014                Gas           Gov. Aggregation   DUKE         2220038633                  Gas           Gov. Aggregation
COH             207968190011                Gas           Gov. Aggregation   DUKE         1920038620                  Gas           Gov. Aggregation
COH             208159270018                Gas           Gov. Aggregation   DUKE         9630038628                  Gas           Gov. Aggregation
COH             206880490015                Gas           Gov. Aggregation   DUKE         2730038623                  Gas           Gov. Aggregation
COH             206727150010                Gas           Gov. Aggregation   DUKE         3730038625                  Gas           Gov. Aggregation
COH             206936640014                Gas           Gov. Aggregation   DUKE         7820038625                  Gas           Gov. Aggregation
COH             149866750038                Gas           Gov. Aggregation   DUKE         6820038622                  Gas           Gov. Aggregation
COH             163758260032                Gas           Gov. Aggregation   DUKE         4730038620                  Gas           Gov. Aggregation
COH             195988660024                Gas           Gov. Aggregation   DUKE         2540038620                  Gas           Gov. Aggregation
COH             204500220026                Gas           Gov. Aggregation   DUKE         7230038629                  Gas           Gov. Aggregation
COH             207111260011                Gas           Gov. Aggregation   DUKE         3540038623                  Gas           Gov. Aggregation
COH             149432750037                Gas           Gov. Aggregation   DUKE         4330038622                  Gas           Gov. Aggregation
COH             124376450011                Gas           Gov. Aggregation   DUKE         9230038621                  Gas           Gov. Aggregation
COH             171352040118                Gas           Gov. Aggregation   DUKE         8540038625                  Gas           Gov. Aggregation
COH             208442430013                Gas           Gov. Aggregation   DUKE         9540038622                  Gas           Gov. Aggregation
COH             170372750029                Gas           Gov. Aggregation   DUKE         1640038623                  Gas           Gov. Aggregation
COH             206926360014                Gas           Gov. Aggregation   DUKE         2640038621                  Gas           Gov. Aggregation
COH             207574110012                Gas           Gov. Aggregation   DUKE         4440038621                  Gas           Gov. Aggregation
COH             164915930045                Gas           Gov. Aggregation   DUKE         3440038629                  Gas           Gov. Aggregation
COH             167704590023                Gas           Gov. Aggregation   DUKE         1440038624                  Gas           Gov. Aggregation
COH             201884550028                Gas           Gov. Aggregation   DUKE         3640038620                  Gas           Gov. Aggregation
COH             206895600010                Gas           Gov. Aggregation   DUKE         4640038623                  Gas           Gov. Aggregation
COH             198567260287                Gas           Gov. Aggregation   DUKE         6640038625                  Gas           Gov. Aggregation
COH             198567260303                Gas           Gov. Aggregation   DUKE         4740038625                  Gas           Gov. Aggregation
COH             208066280013                Gas           Gov. Aggregation   DUKE         5740038628                  Gas           Gov. Aggregation
COH             207400700015                Gas           Gov. Aggregation   DUKE         6740038622                  Gas           Gov. Aggregation
COH             206907050019                Gas           Gov. Aggregation   DUKE         9740038627                  Gas           Gov. Aggregation
COH             207894830013                Gas           Gov. Aggregation   DUKE         6240038622                  Gas           Gov. Aggregation
COH             208254290012                Gas           Gov. Aggregation   DUKE         3840038621                  Gas           Gov. Aggregation
COH             208267750018                Gas           Gov. Aggregation   DUKE         9190020223                  Gas           Gov. Aggregation
COH             185142360012                Gas           Gov. Aggregation   DUKE         9290020224                  Gas           Gov. Aggregation
COH             170817730029                Gas           Gov. Aggregation   DUKE         2090020220                  Gas           Gov. Aggregation
COH             207339810013                Gas           Gov. Aggregation   DUKE         4090020235                  Gas           Gov. Aggregation
COH             204088870026                Gas           Gov. Aggregation   DUKE         1390020221                  Gas           Gov. Aggregation
COH             207455890011                Gas           Gov. Aggregation   DUKE         9580020231                  Gas           Gov. Aggregation
COH             170470400042                Gas           Gov. Aggregation   DUKE         8580020226                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             208314420016                Gas           Gov. Aggregation   DUKE         5090020222                  Gas           Gov. Aggregation
COH             206955950019                Gas           Gov. Aggregation   DUKE         7090020233                  Gas           Gov. Aggregation
COH             149616250023                Gas           Gov. Aggregation   DUKE         6090020246                  Gas           Gov. Aggregation
COH             208111530013                Gas           Gov. Aggregation   DUKE         8090020224                  Gas           Gov. Aggregation
COH             208020720016                Gas           Gov. Aggregation   DUKE         2580020233                  Gas           Gov. Aggregation
COH             143805540116                Gas           Gov. Aggregation   DUKE         9480020230                  Gas           Gov. Aggregation
COH             208254280014                Gas           Gov. Aggregation   DUKE         3780020222                  Gas           Gov. Aggregation
COH             151379260049                Gas           Gov. Aggregation   DUKE         1780020222                  Gas           Gov. Aggregation
COH             207448480012                Gas           Gov. Aggregation   DUKE         2880020221                  Gas           Gov. Aggregation
COH             130742260025                Gas           Gov. Aggregation   DUKE         3880020220                  Gas           Gov. Aggregation
COH             207666280012                Gas           Gov. Aggregation   DUKE         4880020220                  Gas           Gov. Aggregation
COH             190260680063                Gas           Gov. Aggregation   DUKE         9880020221                  Gas           Gov. Aggregation
COH             207954080013                Gas           Gov. Aggregation   DUKE         6880020228                  Gas           Gov. Aggregation
COH             150058350032                Gas           Gov. Aggregation   DUKE         6000020221                  Gas           Gov. Aggregation
COH             207045640012                Gas           Gov. Aggregation   DUKE         2080020223                  Gas           Gov. Aggregation
COH             185709120038                Gas           Gov. Aggregation   DUKE         5060020227                  Gas           Gov. Aggregation
COH             151233630094                Gas           Gov. Aggregation   DUKE         6060020230                  Gas           Gov. Aggregation
COH             208209340016                Gas           Gov. Aggregation   DUKE         6480020226                  Gas           Gov. Aggregation
COH             206771800029                Gas           Gov. Aggregation   DUKE         6340038543                  Gas           Gov. Aggregation
COH             190423840027                Gas           Gov. Aggregation   DUKE         1340038533                  Gas           Gov. Aggregation
COH             208009270015                Gas           Gov. Aggregation   DUKE         5340038540                  Gas           Gov. Aggregation
COH             207077210015                Gas           Gov. Aggregation   DUKE         4340038557                  Gas           Gov. Aggregation
COH             186548290114                Gas           Gov. Aggregation   DUKE         3970075029                  Gas           Gov. Aggregation
COH             206956040018                Gas           Gov. Aggregation   DUKE         4770020223                  Gas           Gov. Aggregation
COH             124782390031                Gas           Gov. Aggregation   DUKE         1730353703                  Gas           Gov. Aggregation
COH             157706950034                Gas           Gov. Aggregation   DUKE         5740038529                  Gas           Gov. Aggregation
COH             206813110015                Gas           Gov. Aggregation   DUKE         2770020229                  Gas           Gov. Aggregation
COH             206813110024                Gas           Gov. Aggregation   DUKE         8180020223                  Gas           Gov. Aggregation
COH             190531970030                Gas           Gov. Aggregation   DUKE         8770020230                  Gas           Gov. Aggregation
COH             204066360029                Gas           Gov. Aggregation   DUKE         6770020221                  Gas           Gov. Aggregation
COH             206747960018                Gas           Gov. Aggregation   DUKE         4870020223                  Gas           Gov. Aggregation
COH             208374040010                Gas           Gov. Aggregation   DUKE         8870020221                  Gas           Gov. Aggregation
COH             195009290044                Gas           Gov. Aggregation   DUKE         1160020229                  Gas           Gov. Aggregation
COH             207918560018                Gas           Gov. Aggregation   DUKE         7470020221                  Gas           Gov. Aggregation
COH             208187260011                Gas           Gov. Aggregation   DUKE         3060020224                  Gas           Gov. Aggregation
COH             176388150062                Gas           Gov. Aggregation   DUKE         2570020222                  Gas           Gov. Aggregation
COH             208294310013                Gas           Gov. Aggregation   DUKE         1570020239                  Gas           Gov. Aggregation
COH             176017340076                Gas           Gov. Aggregation   DUKE         1470020221                  Gas           Gov. Aggregation
COH             172701960015                Gas           Gov. Aggregation   DUKE         3570020220                  Gas           Gov. Aggregation
COH             165574460029                Gas           Gov. Aggregation   DUKE         4570020247                  Gas           Gov. Aggregation
COH             208031800016                Gas           Gov. Aggregation   DUKE         9000020223                  Gas           Gov. Aggregation
COH             207179910012                Gas           Gov. Aggregation   DUKE         8100020221                  Gas           Gov. Aggregation
COH             195172270034                Gas           Gov. Aggregation   DUKE         7100020221                  Gas           Gov. Aggregation
COH             207124470010                Gas           Gov. Aggregation   DUKE         6100020221                  Gas           Gov. Aggregation
COH             206820410017                Gas           Gov. Aggregation   DUKE         1100020223                  Gas           Gov. Aggregation
COH             166550460019                Gas           Gov. Aggregation   DUKE         5100020221                  Gas           Gov. Aggregation
COH             208442720012                Gas           Gov. Aggregation   DUKE         2100020221                  Gas           Gov. Aggregation
COH             208254350019                Gas           Gov. Aggregation   DUKE         4100020223                  Gas           Gov. Aggregation
COH             131447620024                Gas           Gov. Aggregation   DUKE         3100020225                  Gas           Gov. Aggregation
COH             197756930026                Gas           Gov. Aggregation   DUKE         9570020220                  Gas           Gov. Aggregation
COH             139459710022                Gas           Gov. Aggregation   DUKE         3370020227                  Gas           Gov. Aggregation
COH             208121400019                Gas           Gov. Aggregation   DUKE         6840038521                  Gas           Gov. Aggregation
COH             147618850034                Gas           Gov. Aggregation   DUKE         5840038520                  Gas           Gov. Aggregation
COH             167558720026                Gas           Gov. Aggregation   DUKE         3840038520                  Gas           Gov. Aggregation
COH             162266920046                Gas           Gov. Aggregation   DUKE         9270020220                  Gas           Gov. Aggregation
COH             207183310019                Gas           Gov. Aggregation   DUKE         4170020264                  Gas           Gov. Aggregation
COH             154548760024                Gas           Gov. Aggregation   DUKE         7070020223                  Gas           Gov. Aggregation
COH             124943790026                Gas           Gov. Aggregation   DUKE         9070020248                  Gas           Gov. Aggregation
COH             207749620014                Gas           Gov. Aggregation   DUKE         5170020221                  Gas           Gov. Aggregation
COH             208564530014                Gas           Gov. Aggregation   DUKE         6170020239                  Gas           Gov. Aggregation
COH             207647460014                Gas           Gov. Aggregation   DUKE         8660020223                  Gas           Gov. Aggregation
COH             206834410018                Gas           Gov. Aggregation   DUKE         9660020225                  Gas           Gov. Aggregation
COH             201452670028                Gas           Gov. Aggregation   DUKE         1760020231                  Gas           Gov. Aggregation
COH             207371090017                Gas           Gov. Aggregation   DUKE         2660020232                  Gas           Gov. Aggregation
COH             207466810014                Gas           Gov. Aggregation   DUKE         3660020233                  Gas           Gov. Aggregation
COH             207139660019                Gas           Gov. Aggregation   DUKE         7660020223                  Gas           Gov. Aggregation
COH             124409490021                Gas           Gov. Aggregation   DUKE         6120020221                  Gas           Gov. Aggregation
COH             125519130068                Gas           Gov. Aggregation   DUKE         4660020221                  Gas           Gov. Aggregation
COH             208182920012                Gas           Gov. Aggregation   DUKE         2160020222                  Gas           Gov. Aggregation
COH             125196600056                Gas           Gov. Aggregation   DUKE         8960038527                  Gas           Gov. Aggregation
COH             194912850042                Gas           Gov. Aggregation   DUKE         3960038540                  Gas           Gov. Aggregation
COH             207755790016                Gas           Gov. Aggregation   DUKE         1940072745                  Gas           Gov. Aggregation
COH             188719230013                Gas           Gov. Aggregation   DUKE         3070038521                  Gas           Gov. Aggregation
COH             208234270018                Gas           Gov. Aggregation   DUKE         8860038537                  Gas           Gov. Aggregation
COH             208297860012                Gas           Gov. Aggregation   DUKE         5070038545                  Gas           Gov. Aggregation
COH             207690770018                Gas           Gov. Aggregation   DUKE         6070038523                  Gas           Gov. Aggregation
COH             208314450010                Gas           Gov. Aggregation   DUKE         7070038532                  Gas           Gov. Aggregation
COH             207088000016                Gas           Gov. Aggregation   DUKE         7560020244                  Gas           Gov. Aggregation
COH             208086170014                Gas           Gov. Aggregation   DUKE         2560020233                  Gas           Gov. Aggregation
COH             208491770019                Gas           Gov. Aggregation   DUKE         2640079027                  Gas           Gov. Aggregation
COH             205652030033                Gas           Gov. Aggregation   DUKE         9270205621                  Gas           Gov. Aggregation
COH             133490500035                Gas           Gov. Aggregation   DUKE         2260020222                  Gas           Gov. Aggregation
COH             205180800014                Gas           Gov. Aggregation   DUKE         7370038530                  Gas           Gov. Aggregation
COH             207136320016                Gas           Gov. Aggregation   DUKE         8470038520                  Gas           Gov. Aggregation
COH             170186210045                Gas           Gov. Aggregation   DUKE         1260020227                  Gas           Gov. Aggregation
COH             196004560037                Gas           Gov. Aggregation   DUKE         6570038524                  Gas           Gov. Aggregation
COH             207647500015                Gas           Gov. Aggregation   DUKE         3710020225                  Gas           Gov. Aggregation
COH             166483410012                Gas           Gov. Aggregation   DUKE         8410020221                  Gas           Gov. Aggregation
COH             208060600017                Gas           Gov. Aggregation   DUKE         3120020221                  Gas           Gov. Aggregation
COH             169719100013                Gas           Gov. Aggregation   DUKE         2320020237                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             188690410035                Gas           Gov. Aggregation   DUKE         9220020223                  Gas           Gov. Aggregation
COH             193185100034                Gas           Gov. Aggregation   DUKE         1320020226                  Gas           Gov. Aggregation
COH             174287480032                Gas           Gov. Aggregation   DUKE         4710020221                  Gas           Gov. Aggregation
COH             207473490017                Gas           Gov. Aggregation   DUKE         8820020245                  Gas           Gov. Aggregation
COH             200452080023                Gas           Gov. Aggregation   DUKE         8920020222                  Gas           Gov. Aggregation
COH             207542630010                Gas           Gov. Aggregation   DUKE         9520020227                  Gas           Gov. Aggregation
COH             208442740018                Gas           Gov. Aggregation   DUKE         9920020221                  Gas           Gov. Aggregation
COH             208082580016                Gas           Gov. Aggregation   DUKE         1130020241                  Gas           Gov. Aggregation
COH             172932880022                Gas           Gov. Aggregation   DUKE         2720020238                  Gas           Gov. Aggregation
COH             170419480026                Gas           Gov. Aggregation   DUKE         2130020238                  Gas           Gov. Aggregation
COH             169881330012                Gas           Gov. Aggregation   DUKE         5920020244                  Gas           Gov. Aggregation
COH             194249370022                Gas           Gov. Aggregation   DUKE         5410020221                  Gas           Gov. Aggregation
COH             204529000022                Gas           Gov. Aggregation   DUKE         4430020225                  Gas           Gov. Aggregation
COH             188741870021                Gas           Gov. Aggregation   DUKE         6730020244                  Gas           Gov. Aggregation
COH             208111300011                Gas           Gov. Aggregation   DUKE         6330020221                  Gas           Gov. Aggregation
COH             201926710024                Gas           Gov. Aggregation   DUKE         9530020224                  Gas           Gov. Aggregation
COH             207894700010                Gas           Gov. Aggregation   DUKE         9330020221                  Gas           Gov. Aggregation
COH             206674920011                Gas           Gov. Aggregation   DUKE         9630020223                  Gas           Gov. Aggregation
COH             124371190034                Gas           Gov. Aggregation   DUKE         9830020222                  Gas           Gov. Aggregation
COH             200222010015                Gas           Gov. Aggregation   DUKE         7530020244                  Gas           Gov. Aggregation
COH             207793420013                Gas           Gov. Aggregation   DUKE         5930020223                  Gas           Gov. Aggregation
COH             207699180014                Gas           Gov. Aggregation   DUKE         9930020222                  Gas           Gov. Aggregation
COH             206794180013                Gas           Gov. Aggregation   DUKE         4040020223                  Gas           Gov. Aggregation
COH             160529590040                Gas           Gov. Aggregation   DUKE         3010020221                  Gas           Gov. Aggregation
COH             207822770017                Gas           Gov. Aggregation   DUKE         2010020221                  Gas           Gov. Aggregation
COH             208128350016                Gas           Gov. Aggregation   DUKE         4500020244                  Gas           Gov. Aggregation
COH             208066190012                Gas           Gov. Aggregation   DUKE         3500020220                  Gas           Gov. Aggregation
COH             207139680015                Gas           Gov. Aggregation   DUKE         6190020123                  Gas           Gov. Aggregation
COH             207187360011                Gas           Gov. Aggregation   DUKE         3470020123                  Gas           Gov. Aggregation
COH             207641910011                Gas           Gov. Aggregation   DUKE         4470020143                  Gas           Gov. Aggregation
COH             206956050016                Gas           Gov. Aggregation   DUKE         1470020133                  Gas           Gov. Aggregation
COH             195920480024                Gas           Gov. Aggregation   DUKE         8270020123                  Gas           Gov. Aggregation
COH             202328710021                Gas           Gov. Aggregation   DUKE         8470020120                  Gas           Gov. Aggregation
COH             193866190014                Gas           Gov. Aggregation   DUKE         1570020128                  Gas           Gov. Aggregation
COH             207920750013                Gas           Gov. Aggregation   DUKE         7290020120                  Gas           Gov. Aggregation
COH             207725580013                Gas           Gov. Aggregation   DUKE         3270020138                  Gas           Gov. Aggregation
COH             208111510017                Gas           Gov. Aggregation   DUKE         8570020127                  Gas           Gov. Aggregation
COH             208221500016                Gas           Gov. Aggregation   DUKE         5170020125                  Gas           Gov. Aggregation
COH             206997080014                Gas           Gov. Aggregation   DUKE         4390020125                  Gas           Gov. Aggregation
COH             192798540025                Gas           Gov. Aggregation   DUKE         5390020123                  Gas           Gov. Aggregation
COH             125084450037                Gas           Gov. Aggregation   DUKE         9090020121                  Gas           Gov. Aggregation
COH             172504510017                Gas           Gov. Aggregation   DUKE         7390020128                  Gas           Gov. Aggregation
COH             207421360013                Gas           Gov. Aggregation   DUKE         8090020129                  Gas           Gov. Aggregation
COH             174661400052                Gas           Gov. Aggregation   DUKE         4670020125                  Gas           Gov. Aggregation
COH             205502090010                Gas           Gov. Aggregation   DUKE         9070020125                  Gas           Gov. Aggregation
COH             208055720013                Gas           Gov. Aggregation   DUKE         6670020127                  Gas           Gov. Aggregation
COH             167548150018                Gas           Gov. Aggregation   DUKE         8230215003                  Gas           Gov. Aggregation
COH             139805310012                Gas           Gov. Aggregation   DUKE         9760020122                  Gas           Gov. Aggregation
COH             208513770011                Gas           Gov. Aggregation   DUKE         5360214202                  Gas           Gov. Aggregation
COH             208491460014                Gas           Gov. Aggregation   DUKE         1860020133                  Gas           Gov. Aggregation
COH             207556110010                Gas           Gov. Aggregation   DUKE         6760020128                  Gas           Gov. Aggregation
COH             206213440018                Gas           Gov. Aggregation   DUKE         6090020122                  Gas           Gov. Aggregation
COH             207420900011                Gas           Gov. Aggregation   DUKE         5070020120                  Gas           Gov. Aggregation
COH             207953930016                Gas           Gov. Aggregation   DUKE         4070020127                  Gas           Gov. Aggregation
COH             134269350026                Gas           Gov. Aggregation   DUKE         2770020120                  Gas           Gov. Aggregation
COH             146982550028                Gas           Gov. Aggregation   DUKE         3070020121                  Gas           Gov. Aggregation
COH             130187630016                Gas           Gov. Aggregation   DUKE         2070020131                  Gas           Gov. Aggregation
COH             156510510050                Gas           Gov. Aggregation   DUKE         1070020131                  Gas           Gov. Aggregation
COH             207788160019                Gas           Gov. Aggregation   DUKE         6490020125                  Gas           Gov. Aggregation
COH             172548390039                Gas           Gov. Aggregation   DUKE         5490020124                  Gas           Gov. Aggregation
COH             200593250029                Gas           Gov. Aggregation   DUKE         8490020124                  Gas           Gov. Aggregation
COH             148543930035                Gas           Gov. Aggregation   DUKE         5770020122                  Gas           Gov. Aggregation
COH             207005860010                Gas           Gov. Aggregation   DUKE         8960020130                  Gas           Gov. Aggregation
COH             207182920013                Gas           Gov. Aggregation   DUKE         7960020120                  Gas           Gov. Aggregation
COH             169253190013                Gas           Gov. Aggregation   DUKE         6770020123                  Gas           Gov. Aggregation
COH             208363530010                Gas           Gov. Aggregation   DUKE         1870020143                  Gas           Gov. Aggregation
COH             149982550025                Gas           Gov. Aggregation   DUKE         2870020145                  Gas           Gov. Aggregation
COH             208379180011                Gas           Gov. Aggregation   DUKE         9770020145                  Gas           Gov. Aggregation
COH             203958320027                Gas           Gov. Aggregation   DUKE         6960020139                  Gas           Gov. Aggregation
COH             188938760027                Gas           Gov. Aggregation   DUKE         4960020139                  Gas           Gov. Aggregation
COH             161990110033                Gas           Gov. Aggregation   DUKE         2960020139                  Gas           Gov. Aggregation
COH             207394940010                Gas           Gov. Aggregation   DUKE         5960020141                  Gas           Gov. Aggregation
COH             208439570011                Gas           Gov. Aggregation   DUKE         4660020141                  Gas           Gov. Aggregation
COH             140061860049                Gas           Gov. Aggregation   DUKE         3660020126                  Gas           Gov. Aggregation
COH             166152310023                Gas           Gov. Aggregation   DUKE         2660020124                  Gas           Gov. Aggregation
COH             207400710013                Gas           Gov. Aggregation   DUKE         9560020136                  Gas           Gov. Aggregation
COH             172394900010                Gas           Gov. Aggregation   DUKE         1660020153                  Gas           Gov. Aggregation
COH             159785850028                Gas           Gov. Aggregation   DUKE         8560020121                  Gas           Gov. Aggregation
COH             208187230017                Gas           Gov. Aggregation   DUKE         5860038521                  Gas           Gov. Aggregation
COH             126557440035                Gas           Gov. Aggregation   DUKE         2460038523                  Gas           Gov. Aggregation
COH             207725650018                Gas           Gov. Aggregation   DUKE         7170038542                  Gas           Gov. Aggregation
COH             176386750033                Gas           Gov. Aggregation   DUKE         8170038543                  Gas           Gov. Aggregation
COH             207586620010                Gas           Gov. Aggregation   DUKE         1270038533                  Gas           Gov. Aggregation
COH             208187270019                Gas           Gov. Aggregation   DUKE         6300088423                  Gas           Gov. Aggregation
COH             206794010018                Gas           Gov. Aggregation   DUKE         3270038525                  Gas           Gov. Aggregation
COH             207333760016                Gas           Gov. Aggregation   DUKE         5180038522                  Gas           Gov. Aggregation
COH             193387040020                Gas           Gov. Aggregation   DUKE         2510038654                  Gas           Gov. Aggregation
COH             208198080016                Gas           Gov. Aggregation   DUKE         3510038645                  Gas           Gov. Aggregation
COH             197280300036                Gas           Gov. Aggregation   DUKE         4510038649                  Gas           Gov. Aggregation
COH             186879680068                Gas           Gov. Aggregation   DUKE         2170038522                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             164493920025                Gas           Gov. Aggregation   DUKE         8970038529                  Gas           Gov. Aggregation
COH             208521660017                Gas           Gov. Aggregation   DUKE         9970038527                  Gas           Gov. Aggregation
COH             191655620030                Gas           Gov. Aggregation   DUKE         5970038536                  Gas           Gov. Aggregation
COH             207234440013                Gas           Gov. Aggregation   DUKE         1970038521                  Gas           Gov. Aggregation
COH             207158700010                Gas           Gov. Aggregation   DUKE         3850020223                  Gas           Gov. Aggregation
COH             203130300025                Gas           Gov. Aggregation   DUKE         2850020231                  Gas           Gov. Aggregation
COH             208167840011                Gas           Gov. Aggregation   DUKE         4410087726                  Gas           Gov. Aggregation
COH             124741980033                Gas           Gov. Aggregation   DUKE         9750020227                  Gas           Gov. Aggregation
COH             207738770016                Gas           Gov. Aggregation   DUKE         9650020231                  Gas           Gov. Aggregation
COH             208221300018                Gas           Gov. Aggregation   DUKE         1320038621                  Gas           Gov. Aggregation
COH             207595080015                Gas           Gov. Aggregation   DUKE         3320038624                  Gas           Gov. Aggregation
COH             188706630061                Gas           Gov. Aggregation   DUKE         4420038624                  Gas           Gov. Aggregation
COH             208548590016                Gas           Gov. Aggregation   DUKE         9720038620                  Gas           Gov. Aggregation
COH             140457150021                Gas           Gov. Aggregation   DUKE         9830038623                  Gas           Gov. Aggregation
COH             199019560024                Gas           Gov. Aggregation   DUKE         8720038626                  Gas           Gov. Aggregation
COH             196887610036                Gas           Gov. Aggregation   DUKE         7720038622                  Gas           Gov. Aggregation
COH             124433960021                Gas           Gov. Aggregation   DUKE         5720038624                  Gas           Gov. Aggregation
COH             208567660011                Gas           Gov. Aggregation   DUKE         1640038721                  Gas           Gov. Aggregation
COH             170600930026                Gas           Gov. Aggregation   DUKE         9250038723                  Gas           Gov. Aggregation
COH             189734270030                Gas           Gov. Aggregation   DUKE         1840038759                  Gas           Gov. Aggregation
COH             141544050035                Gas           Gov. Aggregation   DUKE         5840038763                  Gas           Gov. Aggregation
COH             197971860034                Gas           Gov. Aggregation   DUKE         6840038733                  Gas           Gov. Aggregation
COH             208260120014                Gas           Gov. Aggregation   DUKE         4840038737                  Gas           Gov. Aggregation
COH             164639850020                Gas           Gov. Aggregation   DUKE         9620038621                  Gas           Gov. Aggregation
COH             152469430023                Gas           Gov. Aggregation   DUKE         7620038631                  Gas           Gov. Aggregation
COH             208187250013                Gas           Gov. Aggregation   DUKE         6620038627                  Gas           Gov. Aggregation
COH             186263440027                Gas           Gov. Aggregation   DUKE         8540038722                  Gas           Gov. Aggregation
COH             145985160025                Gas           Gov. Aggregation   DUKE         6540038723                  Gas           Gov. Aggregation
COH             207043580019                Gas           Gov. Aggregation   DUKE         5620038632                  Gas           Gov. Aggregation
COH             206965310012                Gas           Gov. Aggregation   DUKE         5540038725                  Gas           Gov. Aggregation
COH             203788480043                Gas           Gov. Aggregation   DUKE         7650020225                  Gas           Gov. Aggregation
COH             207097290017                Gas           Gov. Aggregation   DUKE         6550038722                  Gas           Gov. Aggregation
COH             193370150040                Gas           Gov. Aggregation   DUKE         8760038751                  Gas           Gov. Aggregation
COH             203532410020                Gas           Gov. Aggregation   DUKE         7760038751                  Gas           Gov. Aggregation
COH             188268090029                Gas           Gov. Aggregation   DUKE         9760038733                  Gas           Gov. Aggregation
COH             208037760013                Gas           Gov. Aggregation   DUKE         1860038756                  Gas           Gov. Aggregation
COH             164813050037                Gas           Gov. Aggregation   DUKE         1960038726                  Gas           Gov. Aggregation
COH             208031790019                Gas           Gov. Aggregation   DUKE         5770038727                  Gas           Gov. Aggregation
COH             208491620010                Gas           Gov. Aggregation   DUKE         2050038735                  Gas           Gov. Aggregation
COH             162570050017                Gas           Gov. Aggregation   DUKE         4050038728                  Gas           Gov. Aggregation
COH             188475950047                Gas           Gov. Aggregation   DUKE         8280363913                  Gas           Gov. Aggregation
COH             193989330014                Gas           Gov. Aggregation   DUKE         7440038720                  Gas           Gov. Aggregation
COH             206999160013                Gas           Gov. Aggregation   DUKE         6440038726                  Gas           Gov. Aggregation
COH             198005280023                Gas           Gov. Aggregation   DUKE         5250038740                  Gas           Gov. Aggregation
COH             196031860028                Gas           Gov. Aggregation   DUKE         3150038724                  Gas           Gov. Aggregation
COH             207179930018                Gas           Gov. Aggregation   DUKE         6150038745                  Gas           Gov. Aggregation
COH             176525580015                Gas           Gov. Aggregation   DUKE         8150038727                  Gas           Gov. Aggregation
COH             208355960017                Gas           Gov. Aggregation   DUKE         9150038749                  Gas           Gov. Aggregation
COH             207166800012                Gas           Gov. Aggregation   DUKE         4850038722                  Gas           Gov. Aggregation
COH             164187910044                Gas           Gov. Aggregation   DUKE         6560038738                  Gas           Gov. Aggregation
COH             201361260027                Gas           Gov. Aggregation   DUKE         4560038728                  Gas           Gov. Aggregation
COH             177525940036                Gas           Gov. Aggregation   DUKE         1670038721                  Gas           Gov. Aggregation
COH             208336450014                Gas           Gov. Aggregation   DUKE         9960038721                  Gas           Gov. Aggregation
COH             208111460018                Gas           Gov. Aggregation   DUKE         9570038741                  Gas           Gov. Aggregation
COH             192813450020                Gas           Gov. Aggregation   DUKE         7570038726                  Gas           Gov. Aggregation
COH             208470250012                Gas           Gov. Aggregation   DUKE         6570038721                  Gas           Gov. Aggregation
COH             207006010016                Gas           Gov. Aggregation   DUKE         1070038721                  Gas           Gov. Aggregation
COH             207491970018                Gas           Gov. Aggregation   DUKE         2070038722                  Gas           Gov. Aggregation
COH             175011360039                Gas           Gov. Aggregation   DUKE         7380038729                  Gas           Gov. Aggregation
COH             207187250014                Gas           Gov. Aggregation   DUKE         4970038736                  Gas           Gov. Aggregation
COH             207848980019                Gas           Gov. Aggregation   DUKE         5380038727                  Gas           Gov. Aggregation
COH             208500960018                Gas           Gov. Aggregation   DUKE         2140038637                  Gas           Gov. Aggregation
COH             190577470020                Gas           Gov. Aggregation   DUKE         1140038629                  Gas           Gov. Aggregation
COH             207632210017                Gas           Gov. Aggregation   DUKE         3040038623                  Gas           Gov. Aggregation
COH             176958300016                Gas           Gov. Aggregation   DUKE         3540038729                  Gas           Gov. Aggregation
COH             208180140010                Gas           Gov. Aggregation   DUKE         6140038722                  Gas           Gov. Aggregation
COH             208392490018                Gas           Gov. Aggregation   DUKE         4040038629                  Gas           Gov. Aggregation
COH             206813090010                Gas           Gov. Aggregation   DUKE         7830038720                  Gas           Gov. Aggregation
COH             207711800015                Gas           Gov. Aggregation   DUKE         1140038762                  Gas           Gov. Aggregation
COH             207223090010                Gas           Gov. Aggregation   DUKE         3040038749                  Gas           Gov. Aggregation
COH             207223090038                Gas           Gov. Aggregation   DUKE         3140038751                  Gas           Gov. Aggregation
COH             153550690016                Gas           Gov. Aggregation   DUKE         4830038752                  Gas           Gov. Aggregation
COH             204392600027                Gas           Gov. Aggregation   DUKE         8730038749                  Gas           Gov. Aggregation
COH             198683280036                Gas           Gov. Aggregation   DUKE         9730038743                  Gas           Gov. Aggregation
COH             208294470010                Gas           Gov. Aggregation   DUKE         9830038746                  Gas           Gov. Aggregation
COH             197095240023                Gas           Gov. Aggregation   DUKE         9930038744                  Gas           Gov. Aggregation
COH             208521930010                Gas           Gov. Aggregation   DUKE         8040038630                  Gas           Gov. Aggregation
COH             134602210027                Gas           Gov. Aggregation   DUKE         7040038626                  Gas           Gov. Aggregation
COH             207491930016                Gas           Gov. Aggregation   DUKE         4940038628                  Gas           Gov. Aggregation
COH             206769810013                Gas           Gov. Aggregation   DUKE         7430038751                  Gas           Gov. Aggregation
COH             206999060014                Gas           Gov. Aggregation   DUKE         8630038744                  Gas           Gov. Aggregation
COH             150659310054                Gas           Gov. Aggregation   DUKE         9430038734                  Gas           Gov. Aggregation
COH             208135020010                Gas           Gov. Aggregation   DUKE         2630038765                  Gas           Gov. Aggregation
COH             205683220029                Gas           Gov. Aggregation   DUKE         2530038744                  Gas           Gov. Aggregation
COH             206823270011                Gas           Gov. Aggregation   DUKE         1730038757                  Gas           Gov. Aggregation
COH             140417570143                Gas           Gov. Aggregation   DUKE         9330038752                  Gas           Gov. Aggregation
COH             155194460045                Gas           Gov. Aggregation   DUKE         9630038759                  Gas           Gov. Aggregation
COH             207733610019                Gas           Gov. Aggregation   DUKE         9940038624                  Gas           Gov. Aggregation
COH             199256170024                Gas           Gov. Aggregation   DUKE         1130038728                  Gas           Gov. Aggregation
COH             207841980013                Gas           Gov. Aggregation   DUKE         1230038749                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             208513560015                Gas           Gov. Aggregation   DUKE         2230038746                  Gas           Gov. Aggregation
COH             150788640034                Gas           Gov. Aggregation   DUKE         3030038743                  Gas           Gov. Aggregation
COH             167815430021                Gas           Gov. Aggregation   DUKE         3130038764                  Gas           Gov. Aggregation
COH             141517050032                Gas           Gov. Aggregation   DUKE         3920038747                  Gas           Gov. Aggregation
COH             208066180014                Gas           Gov. Aggregation   DUKE         6920038746                  Gas           Gov. Aggregation
COH             208251950019                Gas           Gov. Aggregation   DUKE         6600391901                  Gas           Gov. Aggregation
COH             205837420020                Gas           Gov. Aggregation   DUKE         4020038721                  Gas           Gov. Aggregation
COH             197031890021                Gas           Gov. Aggregation   DUKE         1540038730                  Gas           Gov. Aggregation
COH             132382070036                Gas           Gov. Aggregation   DUKE         9340038723                  Gas           Gov. Aggregation
COH             203212120029                Gas           Gov. Aggregation   DUKE         2340038723                  Gas           Gov. Aggregation
COH             207555620015                Gas           Gov. Aggregation   DUKE         2950038727                  Gas           Gov. Aggregation
COH             207375340016                Gas           Gov. Aggregation   DUKE         3950038723                  Gas           Gov. Aggregation
COH             168785150024                Gas           Gov. Aggregation   DUKE         4950038722                  Gas           Gov. Aggregation
COH             207359180014                Gas           Gov. Aggregation   DUKE         5950038722                  Gas           Gov. Aggregation
COH             174580290049                Gas           Gov. Aggregation   DUKE         6950038737                  Gas           Gov. Aggregation
COH             207017770014                Gas           Gov. Aggregation   DUKE         9950038721                  Gas           Gov. Aggregation
COH             177704180027                Gas           Gov. Aggregation   DUKE         8360038728                  Gas           Gov. Aggregation
COH             177439250043                Gas           Gov. Aggregation   DUKE         7360038749                  Gas           Gov. Aggregation
COH             208009380012                Gas           Gov. Aggregation   DUKE         5360038723                  Gas           Gov. Aggregation
COH             172232790016                Gas           Gov. Aggregation   DUKE         7270038722                  Gas           Gov. Aggregation
COH             207257030011                Gas           Gov. Aggregation   DUKE         7170038725                  Gas           Gov. Aggregation
COH             207225320017                Gas           Gov. Aggregation   DUKE         8170038745                  Gas           Gov. Aggregation
COH             206920070017                Gas           Gov. Aggregation   DUKE         4270038722                  Gas           Gov. Aggregation
COH             189126760027                Gas           Gov. Aggregation   DUKE         1570038726                  Gas           Gov. Aggregation
COH             188807280016                Gas           Gov. Aggregation   DUKE         8470038735                  Gas           Gov. Aggregation
COH             208020690013                Gas           Gov. Aggregation   DUKE         7470038731                  Gas           Gov. Aggregation
COH             206758780013                Gas           Gov. Aggregation   DUKE         2080038728                  Gas           Gov. Aggregation
COH             206687330018                Gas           Gov. Aggregation   DUKE         3060038727                  Gas           Gov. Aggregation
COH             198688950035                Gas           Gov. Aggregation   DUKE         5060038724                  Gas           Gov. Aggregation
COH             174917750010                Gas           Gov. Aggregation   DUKE         3360038721                  Gas           Gov. Aggregation
COH             155108200022                Gas           Gov. Aggregation   DUKE         2360038723                  Gas           Gov. Aggregation
COH             208442680011                Gas           Gov. Aggregation   DUKE         6260038724                  Gas           Gov. Aggregation
COH             207788100011                Gas           Gov. Aggregation   DUKE         9270038734                  Gas           Gov. Aggregation
COH             204747950209                Gas           Gov. Aggregation   DUKE         2370038725                  Gas           Gov. Aggregation
COH             193367560032                Gas           Gov. Aggregation   DUKE         5080038746                  Gas           Gov. Aggregation
COH             208278960011                Gas           Gov. Aggregation   DUKE         6080038725                  Gas           Gov. Aggregation
COH             204924530023                Gas           Gov. Aggregation   DUKE         7080038722                  Gas           Gov. Aggregation
COH             163939820030                Gas           Gov. Aggregation   DUKE         6160038723                  Gas           Gov. Aggregation
COH             206880590014                Gas           Gov. Aggregation   DUKE         7160038730                  Gas           Gov. Aggregation
COH             208456200012                Gas           Gov. Aggregation   DUKE         8080038725                  Gas           Gov. Aggregation
COH             187964220053                Gas           Gov. Aggregation   DUKE         2390038531                  Gas           Gov. Aggregation
COH             125121100021                Gas           Gov. Aggregation   DUKE         2880038524                  Gas           Gov. Aggregation
COH             160109710044                Gas           Gov. Aggregation   DUKE         8780038523                  Gas           Gov. Aggregation
COH             207625950017                Gas           Gov. Aggregation   DUKE         8880038533                  Gas           Gov. Aggregation
COH             170032670017                Gas           Gov. Aggregation   DUKE         5780038523                  Gas           Gov. Aggregation
COH             140322870114                Gas           Gov. Aggregation   DUKE         5790038523                  Gas           Gov. Aggregation
COH             206919800016                Gas           Gov. Aggregation   DUKE         5290038521                  Gas           Gov. Aggregation
COH             207595060019                Gas           Gov. Aggregation   DUKE         7290038539                  Gas           Gov. Aggregation
COH             207196970014                Gas           Gov. Aggregation   DUKE         7390038522                  Gas           Gov. Aggregation
COH             206947170010                Gas           Gov. Aggregation   DUKE         7890038523                  Gas           Gov. Aggregation
COH             169925550012                Gas           Gov. Aggregation   DUKE         8390038533                  Gas           Gov. Aggregation
COH             198704490018                Gas           Gov. Aggregation   DUKE         9090038533                  Gas           Gov. Aggregation
COH             207330100010                Gas           Gov. Aggregation   DUKE         6400020225                  Gas           Gov. Aggregation
COH             205954220024                Gas           Gov. Aggregation   DUKE         1110020223                  Gas           Gov. Aggregation
COH             207793360016                Gas           Gov. Aggregation   DUKE         1310020221                  Gas           Gov. Aggregation
COH             207894860017                Gas           Gov. Aggregation   DUKE         4310020238                  Gas           Gov. Aggregation
COH             197810110022                Gas           Gov. Aggregation   DUKE         4020020221                  Gas           Gov. Aggregation
COH             177011810014                Gas           Gov. Aggregation   DUKE         4210020220                  Gas           Gov. Aggregation
COH             207572290019                Gas           Gov. Aggregation   DUKE         3310020221                  Gas           Gov. Aggregation
COH             206945490017                Gas           Gov. Aggregation   DUKE         3300020229                  Gas           Gov. Aggregation
COH             148789870047                Gas           Gov. Aggregation   DUKE         3020020227                  Gas           Gov. Aggregation
COH             197046790012                Gas           Gov. Aggregation   DUKE         5020020225                  Gas           Gov. Aggregation
COH             187618970040                Gas           Gov. Aggregation   DUKE         5900020222                  Gas           Gov. Aggregation
COH             149845360025                Gas           Gov. Aggregation   DUKE         5910020223                  Gas           Gov. Aggregation
COH             188821670014                Gas           Gov. Aggregation   DUKE         2810020221                  Gas           Gov. Aggregation
COH             195307540067                Gas           Gov. Aggregation   DUKE         2910020235                  Gas           Gov. Aggregation
COH             199826140030                Gas           Gov. Aggregation   DUKE         5700020225                  Gas           Gov. Aggregation
COH             207097040019                Gas           Gov. Aggregation   DUKE         5810020226                  Gas           Gov. Aggregation
COH             205823160024                Gas           Gov. Aggregation   DUKE         5800020224                  Gas           Gov. Aggregation
COH             206488500032                Gas           Gov. Aggregation   DUKE         8800020227                  Gas           Gov. Aggregation
COH             207991380012                Gas           Gov. Aggregation   DUKE         8790020123                  Gas           Gov. Aggregation
COH             173479820025                Gas           Gov. Aggregation   DUKE         7900020231                  Gas           Gov. Aggregation
COH             207983100017                Gas           Gov. Aggregation   DUKE         7700020225                  Gas           Gov. Aggregation
COH             207968290010                Gas           Gov. Aggregation   DUKE         7790020120                  Gas           Gov. Aggregation
COH             207883650014                Gas           Gov. Aggregation   DUKE         7910020228                  Gas           Gov. Aggregation
COH             194602550051                Gas           Gov. Aggregation   DUKE         8600020221                  Gas           Gov. Aggregation
COH             124440830069                Gas           Gov. Aggregation   DUKE         8310020222                  Gas           Gov. Aggregation
COH             207869130013                Gas           Gov. Aggregation   DUKE         8300020222                  Gas           Gov. Aggregation
COH             207549050018                Gas           Gov. Aggregation   DUKE         5880038524                  Gas           Gov. Aggregation
COH             195681380023                Gas           Gov. Aggregation   DUKE         6780038522                  Gas           Gov. Aggregation
COH             208159180017                Gas           Gov. Aggregation   DUKE         4980038530                  Gas           Gov. Aggregation
COH             169968420019                Gas           Gov. Aggregation   DUKE         4890038529                  Gas           Gov. Aggregation
DEO             0180012538028               Gas           Gov. Aggregation   DUKE         4780038521                  Gas           Gov. Aggregation
DEO             7180013438373               Gas           Gov. Aggregation   DUKE         3980038521                  Gas           Gov. Aggregation
DEO             0180012133853               Gas           Gov. Aggregation   DUKE         1300020227                  Gas           Gov. Aggregation
DEO             8180013098944               Gas           Gov. Aggregation   DUKE         3800020225                  Gas           Gov. Aggregation
DEO             4421803177497               Gas           Gov. Aggregation   DUKE         2700020222                  Gas           Gov. Aggregation
DEO             9180012881530               Gas           Gov. Aggregation   DUKE         2110020224                  Gas           Gov. Aggregation
DEO             9180012784919               Gas           Gov. Aggregation   DUKE         2300020225                  Gas           Gov. Aggregation
DEO             9180012543062               Gas           Gov. Aggregation   DUKE         1800020221                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             9180012784798               Gas           Gov. Aggregation   DUKE            4300020227                  Gas           Gov. Aggregation
DEO             5180013279268               Gas           Gov. Aggregation   DUKE            6700020226                  Gas           Gov. Aggregation
DEO             6180012729011               Gas           Gov. Aggregation   DUKE            8590020131                  Gas           Gov. Aggregation
DEO             4421705776640               Gas           Gov. Aggregation   DUKE            7590020128                  Gas           Gov. Aggregation
DEO             2180012307792               Gas           Gov. Aggregation   DUKE            7600020228                  Gas           Gov. Aggregation
DEO             2180013848468               Gas           Gov. Aggregation   DUKE            8110020226                  Gas           Gov. Aggregation
DEO             6180012837865               Gas           Gov. Aggregation   DUKE            9010020223                  Gas           Gov. Aggregation
DEO             5180013537232               Gas           Gov. Aggregation   DUKE            3510207603                  Gas           Gov. Aggregation
DEO             5180011714064               Gas           Gov. Aggregation   DUKE            9770038721                  Gas           Gov. Aggregation
DEO             1500063136594               Gas           Gov. Aggregation   COH             202223860059                Gas           Gov. Aggregation
DEO             0500054067742               Gas           Gov. Aggregation   COH             147937450121                Gas           Gov. Aggregation
DEO             2180012699430               Gas           Gov. Aggregation   COH             117218780033                Gas           Gov. Aggregation
DEO             1180013644615               Gas           Gov. Aggregation   COH             209031820011                Gas           Gov. Aggregation
DEO             2180012446467               Gas           Gov. Aggregation   COH             209150920018                Gas           Gov. Aggregation
DEO             8180011526015               Gas           Gov. Aggregation   COH             196563610023                Gas           Gov. Aggregation
DEO             0180011792606               Gas           Gov. Aggregation   COH             208419490010                Gas           Gov. Aggregation
DEO             4180011701042               Gas           Gov. Aggregation   COH             187974510033                Gas           Gov. Aggregation
DEO             9180012223203               Gas           Gov. Aggregation   COH             201261610025                Gas           Gov. Aggregation
DEO             2180010954788               Gas           Gov. Aggregation   COH             151787040040                Gas           Gov. Aggregation
DEO             3180013236824               Gas           Gov. Aggregation   COH             199100940030                Gas           Gov. Aggregation
DEO             2180011652038               Gas           Gov. Aggregation   COH             208745490019                Gas           Gov. Aggregation
DEO             3180012649551               Gas           Gov. Aggregation   COH             202892920022                Gas           Gov. Aggregation
DEO             5180011169974               Gas           Gov. Aggregation   COH             203959280024                Gas           Gov. Aggregation
DEO             7180012278723               Gas           Gov. Aggregation   COH             206735810014                Gas           Gov. Aggregation
DEO             7180006689259               Gas           Gov. Aggregation   COH             208175390019                Gas           Gov. Aggregation
DEO             2500011962560               Gas           Gov. Aggregation   COH             201725480029                Gas           Gov. Aggregation
DEO             1180013457906               Gas           Gov. Aggregation   COH             208083330016                Gas           Gov. Aggregation
DEO             1180012743878               Gas           Gov. Aggregation   COH             141430320020                Gas           Gov. Aggregation
DEO             9180012868562               Gas           Gov. Aggregation   COH             207896740018                Gas           Gov. Aggregation
DEO             1180013633548               Gas           Gov. Aggregation   COH             189024040015                Gas           Gov. Aggregation
DEO             9180011451441               Gas           Gov. Aggregation   COH             207449160026                Gas           Gov. Aggregation
DEO             7180013577207               Gas           Gov. Aggregation   COH             195071030038                Gas           Gov. Aggregation
DEO             0180010169241               Gas           Gov. Aggregation   COH             199812650032                Gas           Gov. Aggregation
DEO             0180012261521               Gas           Gov. Aggregation   COH             208013940015                Gas           Gov. Aggregation
DEO             3180013577135               Gas           Gov. Aggregation   COH             209301720019                Gas           Gov. Aggregation
DEO             3180013868561               Gas           Gov. Aggregation   COH             161700270051                Gas           Gov. Aggregation
DEO             4180012974178               Gas           Gov. Aggregation   COH             200724140041                Gas           Gov. Aggregation
DEO             4180013313574               Gas           Gov. Aggregation   COH             186353020060                Gas           Gov. Aggregation
DEO             8180013537060               Gas           Gov. Aggregation   COH             208052610012                Gas           Gov. Aggregation
DEO             8180013545374               Gas           Gov. Aggregation   COH             155106720063                Gas           Gov. Aggregation
DEO             8180013815526               Gas           Gov. Aggregation   COH             208168840019                Gas           Gov. Aggregation
DEO             9180013837873               Gas           Gov. Aggregation   COH             195337740044                Gas           Gov. Aggregation
COH             193964930038                Gas           Gov. Aggregation   COH             208703690015                Gas           Gov. Aggregation
COH             192041190013                Gas           Gov. Aggregation   COH             203201460021                Gas           Gov. Aggregation
COH             185859710064                Gas           Gov. Aggregation   COH             207768910022                Gas           Gov. Aggregation
COH             169979060030                Gas           Gov. Aggregation   COH             204187140029                Gas           Gov. Aggregation
COH             147349000033                Gas           Gov. Aggregation   COH             208038250018                Gas           Gov. Aggregation
COH             194103330019                Gas           Gov. Aggregation   COH             208026430015                Gas           Gov. Aggregation
COH             194123650029                Gas           Gov. Aggregation   COH             208053390017                Gas           Gov. Aggregation
COH             172427170022                Gas           Gov. Aggregation   COH             196511120025                Gas           Gov. Aggregation
COH             175517590039                Gas           Gov. Aggregation   COH             123731010029                Gas           Gov. Aggregation
COH             175617070027                Gas           Gov. Aggregation   COH             207837040019                Gas           Gov. Aggregation
COH             147433330053                Gas           Gov. Aggregation   COH             209106960013                Gas           Gov. Aggregation
COH             146334090037                Gas           Gov. Aggregation   COH             208516550011                Gas           Gov. Aggregation
COH             192173270017                Gas           Gov. Aggregation   COH             208551410016                Gas           Gov. Aggregation
COH             176916260068                Gas           Gov. Aggregation   COH             203798440022                Gas           Gov. Aggregation
COH             170101130068                Gas           Gov. Aggregation   COH             208381540010                Gas           Gov. Aggregation
COH             147529110010                Gas           Gov. Aggregation   COH             197170480023                Gas           Gov. Aggregation
COH             191654400029                Gas           Gov. Aggregation   COH             208498910015                Gas           Gov. Aggregation
COH             176341580088                Gas           Gov. Aggregation   COH             164784390048                Gas           Gov. Aggregation
COH             149083400059                Gas           Gov. Aggregation   COH             170871140029                Gas           Gov. Aggregation
COH             186612500014                Gas           Gov. Aggregation   COH             208689020017                Gas           Gov. Aggregation
COH             149107850053                Gas           Gov. Aggregation   COH             208551420014                Gas           Gov. Aggregation
COH             150360800027                Gas           Gov. Aggregation   COH             208830820018                Gas           Gov. Aggregation
COH             189589210059                Gas           Gov. Aggregation   COH             208317740013                Gas           Gov. Aggregation
COH             196325360048                Gas           Gov. Aggregation   COH             203141620025                Gas           Gov. Aggregation
COH             202927830017                Gas           Gov. Aggregation   COH             209305850014                Gas           Gov. Aggregation
COH             203460680018                Gas           Gov. Aggregation   COH             206034820018                Gas           Gov. Aggregation
COH             203460690016                Gas           Gov. Aggregation   COH             196340350020                Gas           Gov. Aggregation
COH             203477630013                Gas           Gov. Aggregation   COH             201896990049                Gas           Gov. Aggregation
COH             203893680011                Gas           Gov. Aggregation   COH             209339840015                Gas           Gov. Aggregation
COH             203900450012                Gas           Gov. Aggregation   COH             192171540014                Gas           Gov. Aggregation
COH             131171670010                Gas           Gov. Aggregation   COH             208317750011                Gas           Gov. Aggregation
COH             163029040079                Gas           Gov. Aggregation   COH             209110400011                Gas           Gov. Aggregation
COH             190460020021                Gas           Gov. Aggregation   COH             208207250019                Gas           Gov. Aggregation
COH             196740680032                Gas           Gov. Aggregation   COH             209100120011                Gas           Gov. Aggregation
COH             156340240030                Gas           Gov. Aggregation   COH             208067480019                Gas           Gov. Aggregation
COH             198545700020                Gas           Gov. Aggregation   COH             208274890041                Gas           Gov. Aggregation
COH             200451030016                Gas           Gov. Aggregation   COH             136370570130                Gas           Gov. Aggregation
COH             200451100020                Gas           Gov. Aggregation   COH             208568500012                Gas           Gov. Aggregation
COH             200457900011                Gas           Gov. Aggregation   COH             208856820014                Gas           Gov. Aggregation
COH             192517000040                Gas           Gov. Aggregation   COH             208905730018                Gas           Gov. Aggregation
COH             192526390022                Gas           Gov. Aggregation   COH             205979390027                Gas           Gov. Aggregation
COH             194576800019                Gas           Gov. Aggregation   COH             173894290303                Gas           Gov. Aggregation
COH             194972590032                Gas           Gov. Aggregation   COH             209387460014                Gas           Gov. Aggregation
COH             194972590050                Gas           Gov. Aggregation   COH             209387470012                Gas           Gov. Aggregation
COH             194972590078                Gas           Gov. Aggregation   COH             198431720045                Gas           Gov. Aggregation
COH             204301650019                Gas           Gov. Aggregation   COH             164230700027                Gas           Gov. Aggregation
COH             204319140019                Gas           Gov. Aggregation   COH             207927610018                Gas           Gov. Aggregation
COH             202788400013                Gas           Gov. Aggregation   COH             208992990011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             139879150011                Gas           Gov. Aggregation   COH             208609960018                Gas           Gov. Aggregation
COH             158072750138                Gas           Gov. Aggregation   COH             209151000019                Gas           Gov. Aggregation
COH             200372900011                Gas           Gov. Aggregation   COH             113089130056                Gas           Gov. Aggregation
COH             200376190013                Gas           Gov. Aggregation   COH             201705310026                Gas           Gov. Aggregation
COH             200378390017                Gas           Gov. Aggregation   COH             207651110018                Gas           Gov. Aggregation
COH             198862590031                Gas           Gov. Aggregation   COH             186497870068                Gas           Gov. Aggregation
COH             200840750010                Gas           Gov. Aggregation   COH             123682430035                Gas           Gov. Aggregation
COH             200847810013                Gas           Gov. Aggregation   COH             154405330124                Gas           Gov. Aggregation
COH             201835810017                Gas           Gov. Aggregation   COH             207691670017                Gas           Gov. Aggregation
COH             201844690014                Gas           Gov. Aggregation   COH             205810930010                Gas           Gov. Aggregation
COH             201844720017                Gas           Gov. Aggregation   COH             200212040029                Gas           Gov. Aggregation
COH             201852690017                Gas           Gov. Aggregation   COH             198798220026                Gas           Gov. Aggregation
COH             158160650098                Gas           Gov. Aggregation   COH             123625840011                Gas           Gov. Aggregation
COH             200399590011                Gas           Gov. Aggregation   COH             207874400015                Gas           Gov. Aggregation
COH             203417650015                Gas           Gov. Aggregation   COH             209010680015                Gas           Gov. Aggregation
COH             203792180010                Gas           Gov. Aggregation   COH             138069520093                Gas           Gov. Aggregation
COH             203809220014                Gas           Gov. Aggregation   COH             206813560020                Gas           Gov. Aggregation
COH             203853050017                Gas           Gov. Aggregation   COH             208606300012                Gas           Gov. Aggregation
COH             134479970067                Gas           Gov. Aggregation   COH             200182300047                Gas           Gov. Aggregation
COH             161230660010                Gas           Gov. Aggregation   COH             208203980014                Gas           Gov. Aggregation
COH             168751800091                Gas           Gov. Aggregation   COH             135508910038                Gas           Gov. Aggregation
COH             201671800017                Gas           Gov. Aggregation   COH             207077140029                Gas           Gov. Aggregation
COH             201714540029                Gas           Gov. Aggregation   COH             173548020026                Gas           Gov. Aggregation
COH             161534190079                Gas           Gov. Aggregation   COH             192767780020                Gas           Gov. Aggregation
COH             160253540036                Gas           Gov. Aggregation   COH             209137260015                Gas           Gov. Aggregation
COH             188857010044                Gas           Gov. Aggregation   COH             208372300019                Gas           Gov. Aggregation
COH             188896490024                Gas           Gov. Aggregation   COH             207983750011                Gas           Gov. Aggregation
COH             123809460020                Gas           Gov. Aggregation   COH             189457650092                Gas           Gov. Aggregation
COH             200314070018                Gas           Gov. Aggregation   COH             164394590105                Gas           Gov. Aggregation
COH             202209630020                Gas           Gov. Aggregation   COH             207989600010                Gas           Gov. Aggregation
COH             200827190016                Gas           Gov. Aggregation   COH             209339830017                Gas           Gov. Aggregation
COH             202716230010                Gas           Gov. Aggregation   COH             201168530011                Gas           Gov. Aggregation
COH             203704810012                Gas           Gov. Aggregation   COH             194814970054                Gas           Gov. Aggregation
COH             203710880015                Gas           Gov. Aggregation   COH             206261080022                Gas           Gov. Aggregation
COH             203742940015                Gas           Gov. Aggregation   COH             193001250077                Gas           Gov. Aggregation
COH             196515180034                Gas           Gov. Aggregation   COH             201837420033                Gas           Gov. Aggregation
COH             196806460010                Gas           Gov. Aggregation   COH             209376400019                Gas           Gov. Aggregation
COH             157081860084                Gas           Gov. Aggregation   COH             208841830013                Gas           Gov. Aggregation
COH             188991820031                Gas           Gov. Aggregation   COH             209024300015                Gas           Gov. Aggregation
COH             202067420017                Gas           Gov. Aggregation   COH             209289730015                Gas           Gov. Aggregation
COH             200631560013                Gas           Gov. Aggregation   COH             208514400016                Gas           Gov. Aggregation
COH             200637090010                Gas           Gov. Aggregation   COH             139389880133                Gas           Gov. Aggregation
COH             200646700012                Gas           Gov. Aggregation   COH             208396090014                Gas           Gov. Aggregation
COH             202600100012                Gas           Gov. Aggregation   COH             208248920012                Gas           Gov. Aggregation
COH             202604980010                Gas           Gov. Aggregation   COH             207274320023                Gas           Gov. Aggregation
COH             202609400011                Gas           Gov. Aggregation   COH             208863320014                Gas           Gov. Aggregation
COH             202625600015                Gas           Gov. Aggregation   COH             208471640018                Gas           Gov. Aggregation
COH             201226860018                Gas           Gov. Aggregation   COH             208496730017                Gas           Gov. Aggregation
COH             203649610012                Gas           Gov. Aggregation   COH             209093240013                Gas           Gov. Aggregation
COH             186994610022                Gas           Gov. Aggregation   COH             166018920047                Gas           Gov. Aggregation
COH             187053160020                Gas           Gov. Aggregation   COH             207525370011                Gas           Gov. Aggregation
COH             123907190038                Gas           Gov. Aggregation   COH             208182800017                Gas           Gov. Aggregation
COH             123829120038                Gas           Gov. Aggregation   COH             205445190039                Gas           Gov. Aggregation
COH             123853420016                Gas           Gov. Aggregation   COH             137854840181                Gas           Gov. Aggregation
COH             202182890015                Gas           Gov. Aggregation   COH             137854840172                Gas           Gov. Aggregation
COH             139218710068                Gas           Gov. Aggregation   COH             206066510025                Gas           Gov. Aggregation
COH             137564100029                Gas           Gov. Aggregation   COH             209268160019                Gas           Gov. Aggregation
COH             198715130010                Gas           Gov. Aggregation   COH             201661150033                Gas           Gov. Aggregation
COH             200520290015                Gas           Gov. Aggregation   COH             208447370016                Gas           Gov. Aggregation
COH             202408800013                Gas           Gov. Aggregation   COH             208496460014                Gas           Gov. Aggregation
COH             202408850013                Gas           Gov. Aggregation   COH             208165370014                Gas           Gov. Aggregation
COH             202412220016                Gas           Gov. Aggregation   COH             139389880124                Gas           Gov. Aggregation
COH             203505770013                Gas           Gov. Aggregation   COH             207609260016                Gas           Gov. Aggregation
COH             203545050010                Gas           Gov. Aggregation   COH             208165020017                Gas           Gov. Aggregation
COH             202003370012                Gas           Gov. Aggregation   COH             209044920013                Gas           Gov. Aggregation
COH             201977950018                Gas           Gov. Aggregation   COH             208412560019                Gas           Gov. Aggregation
COH             202008840013                Gas           Gov. Aggregation   COH             208303880013                Gas           Gov. Aggregation
COH             203917070017                Gas           Gov. Aggregation   COH             204659440034                Gas           Gov. Aggregation
COH             203934840019                Gas           Gov. Aggregation   COH             208736420012                Gas           Gov. Aggregation
COH             204040890013                Gas           Gov. Aggregation   COH             207710680013                Gas           Gov. Aggregation
COH             203110760012                Gas           Gov. Aggregation   COH             208053550013                Gas           Gov. Aggregation
COH             203555240019                Gas           Gov. Aggregation   COH             208214760017                Gas           Gov. Aggregation
COH             203557730012                Gas           Gov. Aggregation   COH             206501810037                Gas           Gov. Aggregation
COH             203569120015                Gas           Gov. Aggregation   COH             206064340025                Gas           Gov. Aggregation
COH             203577980018                Gas           Gov. Aggregation   COH             203466660029                Gas           Gov. Aggregation
COH             197661460017                Gas           Gov. Aggregation   COH             152529770131                Gas           Gov. Aggregation
COH             197687670028                Gas           Gov. Aggregation   COH             208989130018                Gas           Gov. Aggregation
COH             133373960046                Gas           Gov. Aggregation   COH             156429260010                Gas           Gov. Aggregation
COH             167401390027                Gas           Gov. Aggregation   COH             209014420011                Gas           Gov. Aggregation
COH             157372410045                Gas           Gov. Aggregation   COH             191037410052                Gas           Gov. Aggregation
COH             200043600020                Gas           Gov. Aggregation   COH             208858970019                Gas           Gov. Aggregation
COH             200067540014                Gas           Gov. Aggregation   COH             207568670018                Gas           Gov. Aggregation
COH             200102720010                Gas           Gov. Aggregation   COH             123700580043                Gas           Gov. Aggregation
COH             200561320021                Gas           Gov. Aggregation   COH             198092040039                Gas           Gov. Aggregation
COH             161209890071                Gas           Gov. Aggregation   COH             208825290011                Gas           Gov. Aggregation
COH             201337580012                Gas           Gov. Aggregation   COH             198610620019                Gas           Gov. Aggregation
COH             203360290012                Gas           Gov. Aggregation   COH             159551760059                Gas           Gov. Aggregation
COH             197549970018                Gas           Gov. Aggregation   COH             207755630019                Gas           Gov. Aggregation
COH             174221190102                Gas           Gov. Aggregation   COH             208684490019                Gas           Gov. Aggregation
COH             201729730019                Gas           Gov. Aggregation   COH             201001260029                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             200768970018                Gas           Gov. Aggregation   COH             175003930027                Gas           Gov. Aggregation
COH             123819650029                Gas           Gov. Aggregation   COH             200752950042                Gas           Gov. Aggregation
COH             156537440193                Gas           Gov. Aggregation   COH             208024590016                Gas           Gov. Aggregation
COH             193539300059                Gas           Gov. Aggregation   COH             204068240039                Gas           Gov. Aggregation
COH             199305510045                Gas           Gov. Aggregation   COH             142489750080                Gas           Gov. Aggregation
COH             198789850032                Gas           Gov. Aggregation   COH             208609850011                Gas           Gov. Aggregation
COH             204166110010                Gas           Gov. Aggregation   COH             177749760030                Gas           Gov. Aggregation
COH             157207640055                Gas           Gov. Aggregation   COH             123727630028                Gas           Gov. Aggregation
COH             157207640064                Gas           Gov. Aggregation   COH             123627130025                Gas           Gov. Aggregation
COH             174462360179                Gas           Gov. Aggregation   COH             204950350179                Gas           Gov. Aggregation
COH             203159170014                Gas           Gov. Aggregation   COH             207979900018                Gas           Gov. Aggregation
COH             135178060136                Gas           Gov. Aggregation   COH             208523530010                Gas           Gov. Aggregation
COH             201028930013                Gas           Gov. Aggregation   COH             208576580019                Gas           Gov. Aggregation
COH             203582460016                Gas           Gov. Aggregation   COH             209203590015                Gas           Gov. Aggregation
COH             145104900043                Gas           Gov. Aggregation   COH             123720300021                Gas           Gov. Aggregation
COH             150273360070                Gas           Gov. Aggregation   COH             202474750024                Gas           Gov. Aggregation
COH             175809520052                Gas           Gov. Aggregation   COH             123647910029                Gas           Gov. Aggregation
COH             162978920047                Gas           Gov. Aggregation   COH             208138590015                Gas           Gov. Aggregation
COH             193262420033                Gas           Gov. Aggregation   COH             208067540016                Gas           Gov. Aggregation
COH             201478220028                Gas           Gov. Aggregation   COH             209387480010                Gas           Gov. Aggregation
COH             205161440010                Gas           Gov. Aggregation   COH             208692780011                Gas           Gov. Aggregation
COH             206373280014                Gas           Gov. Aggregation   COH             207648420010                Gas           Gov. Aggregation
COH             206224390016                Gas           Gov. Aggregation   COH             206418050025                Gas           Gov. Aggregation
COH             162481190017                Gas           Gov. Aggregation   COH             209362700015                Gas           Gov. Aggregation
COH             166708950020                Gas           Gov. Aggregation   COH             207849510015                Gas           Gov. Aggregation
COH             208074260010                Gas           Gov. Aggregation   COH             174569320055                Gas           Gov. Aggregation
COH             169435390042                Gas           Gov. Aggregation   COH             202333400025                Gas           Gov. Aggregation
COH             205702700017                Gas           Gov. Aggregation   COH             206766480037                Gas           Gov. Aggregation
COH             171275440109                Gas           Gov. Aggregation   COH             207821900011                Gas           Gov. Aggregation
COH             206722220015                Gas           Gov. Aggregation   COH             127391940148                Gas           Gov. Aggregation
COH             208087870015                Gas           Gov. Aggregation   COH             207746170015                Gas           Gov. Aggregation
COH             201694960016                Gas           Gov. Aggregation   COH             205002500022                Gas           Gov. Aggregation
COH             139672130068                Gas           Gov. Aggregation   COH             208188580012                Gas           Gov. Aggregation
COH             177386520030                Gas           Gov. Aggregation   COH             188468910059                Gas           Gov. Aggregation
COH             201058180036                Gas           Gov. Aggregation   COH             209370520016                Gas           Gov. Aggregation
COH             206502360012                Gas           Gov. Aggregation   COH             190221120026                Gas           Gov. Aggregation
COH             189768480204                Gas           Gov. Aggregation   COH             208419430012                Gas           Gov. Aggregation
COH             206460810017                Gas           Gov. Aggregation   COH             198922630043                Gas           Gov. Aggregation
COH             206793410016                Gas           Gov. Aggregation   COH             208972750013                Gas           Gov. Aggregation
COH             207222090012                Gas           Gov. Aggregation   COH             204976740048                Gas           Gov. Aggregation
COH             121972290023                Gas           Gov. Aggregation   COH             208094650016                Gas           Gov. Aggregation
COH             194582970164                Gas           Gov. Aggregation   COH             208791130017                Gas           Gov. Aggregation
COH             174233330036                Gas           Gov. Aggregation   COH             177417900042                Gas           Gov. Aggregation
COH             123821130023                Gas           Gov. Aggregation   COH             127056280307                Gas           Gov. Aggregation
COH             123759960193                Gas           Gov. Aggregation   COH             207737140010                Gas           Gov. Aggregation
COH             168394850106                Gas           Gov. Aggregation   COH             200823980027                Gas           Gov. Aggregation
COH             123876720051                Gas           Gov. Aggregation   COH             206821010028                Gas           Gov. Aggregation
COH             166084040034                Gas           Gov. Aggregation   COH             207571050011                Gas           Gov. Aggregation
COH             171399850049                Gas           Gov. Aggregation   COH             206136260029                Gas           Gov. Aggregation
COH             197978480021                Gas           Gov. Aggregation   COH             208881790018                Gas           Gov. Aggregation
COH             206168430035                Gas           Gov. Aggregation   COH             142482570037                Gas           Gov. Aggregation
COH             207085410016                Gas           Gov. Aggregation   COH             209157650011                Gas           Gov. Aggregation
COH             205313510012                Gas           Gov. Aggregation   COH             174804860034                Gas           Gov. Aggregation
COH             175752010096                Gas           Gov. Aggregation   COH             196116740041                Gas           Gov. Aggregation
COH             204800640013                Gas           Gov. Aggregation   COH             208978790013                Gas           Gov. Aggregation
COH             207302350017                Gas           Gov. Aggregation   COH             206794970035                Gas           Gov. Aggregation
COH             164856770063                Gas           Gov. Aggregation   COH             207608510015                Gas           Gov. Aggregation
COH             200802910016                Gas           Gov. Aggregation   COH             200324730036                Gas           Gov. Aggregation
COH             206254750017                Gas           Gov. Aggregation   COH             208587490015                Gas           Gov. Aggregation
COH             208158150015                Gas           Gov. Aggregation   COH             208602100012                Gas           Gov. Aggregation
COH             201490900038                Gas           Gov. Aggregation   COH             207955360012                Gas           Gov. Aggregation
COH             126877110027                Gas           Gov. Aggregation   COH             208692650018                Gas           Gov. Aggregation
COH             200782420013                Gas           Gov. Aggregation   COH             123692850027                Gas           Gov. Aggregation
COH             206460830013                Gas           Gov. Aggregation   COH             208471650016                Gas           Gov. Aggregation
COH             199135760035                Gas           Gov. Aggregation   COH             197349360047                Gas           Gov. Aggregation
COH             134618470066                Gas           Gov. Aggregation   COH             208012840018                Gas           Gov. Aggregation
COH             207089230016                Gas           Gov. Aggregation   COH             207734100014                Gas           Gov. Aggregation
COH             203152120036                Gas           Gov. Aggregation   COH             208609860019                Gas           Gov. Aggregation
COH             202249600022                Gas           Gov. Aggregation   COH             208923660015                Gas           Gov. Aggregation
COH             206049700012                Gas           Gov. Aggregation   COH             207916780016                Gas           Gov. Aggregation
COH             205565110013                Gas           Gov. Aggregation   COH             209132820017                Gas           Gov. Aggregation
COH             174479650057                Gas           Gov. Aggregation   COH             207664250012                Gas           Gov. Aggregation
COH             147138730028                Gas           Gov. Aggregation   COH             113867800046                Gas           Gov. Aggregation
COH             173971530068                Gas           Gov. Aggregation   COH             192016530096                Gas           Gov. Aggregation
COH             200743040033                Gas           Gov. Aggregation   COH             139072430049                Gas           Gov. Aggregation
COH             207046430014                Gas           Gov. Aggregation   COH             207536040017                Gas           Gov. Aggregation
COH             208299370011                Gas           Gov. Aggregation   COH             186210510023                Gas           Gov. Aggregation
COH             200029810017                Gas           Gov. Aggregation   COH             207994890019                Gas           Gov. Aggregation
COH             200389900016                Gas           Gov. Aggregation   COH             208845620019                Gas           Gov. Aggregation
COH             202102810019                Gas           Gov. Aggregation   COH             207896610015                Gas           Gov. Aggregation
COH             205301910013                Gas           Gov. Aggregation   COH             208999250012                Gas           Gov. Aggregation
COH             207137090013                Gas           Gov. Aggregation   COH             207734110021                Gas           Gov. Aggregation
COH             168936980010                Gas           Gov. Aggregation   COH             209362590019                Gas           Gov. Aggregation
COH             208277830010                Gas           Gov. Aggregation   COH             197299910075                Gas           Gov. Aggregation
COH             195299380024                Gas           Gov. Aggregation   COH             205193650037                Gas           Gov. Aggregation
COH             207744740019                Gas           Gov. Aggregation   COH             199122940034                Gas           Gov. Aggregation
COH             164460720286                Gas           Gov. Aggregation   COH             207587380019                Gas           Gov. Aggregation
COH             206238120013                Gas           Gov. Aggregation   COH             207961440012                Gas           Gov. Aggregation
COH             206918450012                Gas           Gov. Aggregation   COH             200223760034                Gas           Gov. Aggregation
COH             208455440014                Gas           Gov. Aggregation   COH             209358670011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             200162600028                Gas           Gov. Aggregation   COH             208995690018                Gas           Gov. Aggregation
COH             206692170020                Gas           Gov. Aggregation   COH             194769950055                Gas           Gov. Aggregation
COH             200759740015                Gas           Gov. Aggregation   COH             162318160018                Gas           Gov. Aggregation
COH             200547420020                Gas           Gov. Aggregation   COH             202878590059                Gas           Gov. Aggregation
COH             207023260018                Gas           Gov. Aggregation   COH             141178870058                Gas           Gov. Aggregation
COH             206460820015                Gas           Gov. Aggregation   COH             197242560023                Gas           Gov. Aggregation
COH             123855580019                Gas           Gov. Aggregation   COH             157448230079                Gas           Gov. Aggregation
COH             200529180029                Gas           Gov. Aggregation   COH             154421180051                Gas           Gov. Aggregation
COH             149731370079                Gas           Gov. Aggregation   COH             207648400014                Gas           Gov. Aggregation
COH             197508540041                Gas           Gov. Aggregation   COH             207693850015                Gas           Gov. Aggregation
COH             200388460011                Gas           Gov. Aggregation   COH             208837550011                Gas           Gov. Aggregation
COH             200560640044                Gas           Gov. Aggregation   COH             208830790015                Gas           Gov. Aggregation
COH             208120250013                Gas           Gov. Aggregation   COH             175172280054                Gas           Gov. Aggregation
COH             206665960012                Gas           Gov. Aggregation   COH             208772490012                Gas           Gov. Aggregation
COH             140262150015                Gas           Gov. Aggregation   COH             158939360016                Gas           Gov. Aggregation
COH             201355800035                Gas           Gov. Aggregation   DEO             7180014964221               Gas           Gov. Aggregation
COH             172900610043                Gas           Gov. Aggregation   COH             130008960033                Gas           Gov. Aggregation
COH             189793920039                Gas           Gov. Aggregation   COH             208600820015                Gas           Gov. Aggregation
COH             198191230020                Gas           Gov. Aggregation   COH             205517510010                Gas           Gov. Aggregation
COH             204894570011                Gas           Gov. Aggregation   COH             209135080017                Gas           Gov. Aggregation
COH             207183040034                Gas           Gov. Aggregation   COH             175753920020                Gas           Gov. Aggregation
COH             207458400017                Gas           Gov. Aggregation   COH             207598100014                Gas           Gov. Aggregation
COH             201833410033                Gas           Gov. Aggregation   COH             196809120024                Gas           Gov. Aggregation
COH             207233680015                Gas           Gov. Aggregation   COH             122208840025                Gas           Gov. Aggregation
COH             207405140013                Gas           Gov. Aggregation   COH             208415250018                Gas           Gov. Aggregation
COH             208158130019                Gas           Gov. Aggregation   COH             208542470013                Gas           Gov. Aggregation
COH             208087860017                Gas           Gov. Aggregation   COH             156018670024                Gas           Gov. Aggregation
COH             192208590042                Gas           Gov. Aggregation   COH             148104880045                Gas           Gov. Aggregation
COH             123885050035                Gas           Gov. Aggregation   COH             208071110017                Gas           Gov. Aggregation
COH             203068150011                Gas           Gov. Aggregation   COH             208172850018                Gas           Gov. Aggregation
COH             149302860084                Gas           Gov. Aggregation   COH             209007590011                Gas           Gov. Aggregation
COH             205279920010                Gas           Gov. Aggregation   COH             208120100014                Gas           Gov. Aggregation
COH             156855790043                Gas           Gov. Aggregation   COH             206726070019                Gas           Gov. Aggregation
COH             207799430019                Gas           Gov. Aggregation   COH             207993520018                Gas           Gov. Aggregation
COH             207631930018                Gas           Gov. Aggregation   COH             206231080016                Gas           Gov. Aggregation
COH             204521370012                Gas           Gov. Aggregation   COH             194588150020                Gas           Gov. Aggregation
COH             206996570013                Gas           Gov. Aggregation   COH             206867800017                Gas           Gov. Aggregation
COH             123905000059                Gas           Gov. Aggregation   COH             207925350017                Gas           Gov. Aggregation
COH             123904750018                Gas           Gov. Aggregation   COH             208277540011                Gas           Gov. Aggregation
COH             163338790059                Gas           Gov. Aggregation   COH             202354440014                Gas           Gov. Aggregation
COH             203159050019                Gas           Gov. Aggregation   COH             205517430017                Gas           Gov. Aggregation
COH             205491320016                Gas           Gov. Aggregation   COH             209156280011                Gas           Gov. Aggregation
COH             207447780020                Gas           Gov. Aggregation   COH             208888600013                Gas           Gov. Aggregation
COH             206790100017                Gas           Gov. Aggregation   COH             208632110017                Gas           Gov. Aggregation
COH             126453000082                Gas           Gov. Aggregation   COH             208927870013                Gas           Gov. Aggregation
COH             206413980011                Gas           Gov. Aggregation   COH             205983910019                Gas           Gov. Aggregation
COH             202553690010                Gas           Gov. Aggregation   COH             192507850043                Gas           Gov. Aggregation
COH             132648950206                Gas           Gov. Aggregation   COH             110930190016                Gas           Gov. Aggregation
COH             208220730010                Gas           Gov. Aggregation   COH             201297450024                Gas           Gov. Aggregation
COH             205555290017                Gas           Gov. Aggregation   COH             197734550086                Gas           Gov. Aggregation
COH             207904530013                Gas           Gov. Aggregation   COH             110928730053                Gas           Gov. Aggregation
COH             208506730014                Gas           Gov. Aggregation   COH             110929310013                Gas           Gov. Aggregation
COH             208040140016                Gas           Gov. Aggregation   COH             162128630030                Gas           Gov. Aggregation
COH             208210490012                Gas           Gov. Aggregation   COH             189251280023                Gas           Gov. Aggregation
COH             126463280065                Gas           Gov. Aggregation   COH             209338210019                Gas           Gov. Aggregation
COH             123901380012                Gas           Gov. Aggregation   COH             205916400017                Gas           Gov. Aggregation
COH             145980350105                Gas           Gov. Aggregation   COH             209274800011                Gas           Gov. Aggregation
COH             130573120103                Gas           Gov. Aggregation   COH             192186210030                Gas           Gov. Aggregation
COH             196561460029                Gas           Gov. Aggregation   COH             110887210050                Gas           Gov. Aggregation
COH             174469630016                Gas           Gov. Aggregation   DUKE            1340058321                  Gas           Gov. Aggregation
COH             197307300038                Gas           Gov. Aggregation   DUKE            1210055430                  Gas           Gov. Aggregation
COH             208006730032                Gas           Gov. Aggregation   DUKE            1270363605                  Gas           Gov. Aggregation
COH             148388520013                Gas           Gov. Aggregation   DUKE            1240058322                  Gas           Gov. Aggregation
COH             148388520059                Gas           Gov. Aggregation   DUKE            1240055424                  Gas           Gov. Aggregation
COH             201596070011                Gas           Gov. Aggregation   DUKE            1390393202                  Gas           Gov. Aggregation
COH             207554290017                Gas           Gov. Aggregation   DUKE            1400055424                  Gas           Gov. Aggregation
COH             194754360032                Gas           Gov. Aggregation   DUKE            1400058423                  Gas           Gov. Aggregation
COH             205585980019                Gas           Gov. Aggregation   DUKE            3690392102                  Gas           Gov. Aggregation
COH             207729200014                Gas           Gov. Aggregation   DUKE            3480359903                  Gas           Gov. Aggregation
COH             198385090029                Gas           Gov. Aggregation   DUKE            3490018320                  Gas           Gov. Aggregation
COH             201805260052                Gas           Gov. Aggregation   DUKE            3610018325                  Gas           Gov. Aggregation
COH             201891430028                Gas           Gov. Aggregation   DUKE            3480018326                  Gas           Gov. Aggregation
COH             206658780015                Gas           Gov. Aggregation   DUKE            3510018434                  Gas           Gov. Aggregation
COH             201565880034                Gas           Gov. Aggregation   DUKE            3740079521                  Gas           Gov. Aggregation
COH             196483820038                Gas           Gov. Aggregation   DUKE            3730058325                  Gas           Gov. Aggregation
COH             126828191069                Gas           Gov. Aggregation   DUKE            3340055421                  Gas           Gov. Aggregation
COH             126828191096                Gas           Gov. Aggregation   DUKE            3130018326                  Gas           Gov. Aggregation
COH             200950370044                Gas           Gov. Aggregation   DUKE            3230364607                  Gas           Gov. Aggregation
COH             199983240037                Gas           Gov. Aggregation   DUKE            3140058325                  Gas           Gov. Aggregation
COH             195499680054                Gas           Gov. Aggregation   DUKE            3210055425                  Gas           Gov. Aggregation
COH             123848660017                Gas           Gov. Aggregation   DUKE            7900357902                  Gas           Gov. Aggregation
COH             195135910037                Gas           Gov. Aggregation   DUKE            7910018427                  Gas           Gov. Aggregation
COH             203949690029                Gas           Gov. Aggregation   DUKE            7790392203                  Gas           Gov. Aggregation
COH             159258540075                Gas           Gov. Aggregation   DUKE            8010365003                  Gas           Gov. Aggregation
COH             206284740043                Gas           Gov. Aggregation   DUKE            8010394602                  Gas           Gov. Aggregation
COH             207743080010                Gas           Gov. Aggregation   DUKE            2890055321                  Gas           Gov. Aggregation
COH             199595360026                Gas           Gov. Aggregation   DUKE            3020055422                  Gas           Gov. Aggregation
COH             206452730020                Gas           Gov. Aggregation   DUKE            2910394502                  Gas           Gov. Aggregation
COH             165430460050                Gas           Gov. Aggregation   DUKE            2800055423                  Gas           Gov. Aggregation
COH             206980310038                Gas           Gov. Aggregation   DUKE            3040395002                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             206671190011                Gas           Gov. Aggregation   DUKE            3050393702                  Gas           Gov. Aggregation
COH             199930060018                Gas           Gov. Aggregation   DUKE            3060359203                  Gas           Gov. Aggregation
COH             206822520010                Gas           Gov. Aggregation   DUKE            8210058426                  Gas           Gov. Aggregation
COH             196066850072                Gas           Gov. Aggregation   DUKE            2450036421                  Gas           Gov. Aggregation
COH             207014300018                Gas           Gov. Aggregation   DUKE            0700052222                  Gas           Gov. Aggregation
COH             201374370045                Gas           Gov. Aggregation   DUKE            0670036445                  Gas           Gov. Aggregation
COH             187998400045                Gas           Gov. Aggregation   DUKE            0510018427                  Gas           Gov. Aggregation
COH             187667330050                Gas           Gov. Aggregation   DUKE            0770052129                  Gas           Gov. Aggregation
COH             205680930017                Gas           Gov. Aggregation   DUKE            0460392602                  Gas           Gov. Aggregation
COH             205680930106                Gas           Gov. Aggregation   DUKE            0770394902                  Gas           Gov. Aggregation
COH             205680930099                Gas           Gov. Aggregation   DUKE            0480392502                  Gas           Gov. Aggregation
COH             205680930124                Gas           Gov. Aggregation   DUKE            0480360803                  Gas           Gov. Aggregation
COH             205680930080                Gas           Gov. Aggregation   DUKE            0550055426                  Gas           Gov. Aggregation
COH             205680930071                Gas           Gov. Aggregation   DUKE            5350360902                  Gas           Gov. Aggregation
COH             205680930062                Gas           Gov. Aggregation   DUKE            5340357606                  Gas           Gov. Aggregation
COH             205680930044                Gas           Gov. Aggregation   DUKE            5210395802                  Gas           Gov. Aggregation
COH             205680930133                Gas           Gov. Aggregation   DUKE            5210055425                  Gas           Gov. Aggregation
COH             207847870014                Gas           Gov. Aggregation   DUKE            5320394802                  Gas           Gov. Aggregation
COH             200759310033                Gas           Gov. Aggregation   DUKE            5100055429                  Gas           Gov. Aggregation
COH             206197860016                Gas           Gov. Aggregation   DUKE            5120036520                  Gas           Gov. Aggregation
COH             205916960029                Gas           Gov. Aggregation   DUKE            5160215705                  Gas           Gov. Aggregation
COH             207391860013                Gas           Gov. Aggregation   DUKE            4650018322                  Gas           Gov. Aggregation
COH             207838290015                Gas           Gov. Aggregation   DUKE            4750036423                  Gas           Gov. Aggregation
COH             206012970013                Gas           Gov. Aggregation   DUKE            4780018321                  Gas           Gov. Aggregation
COH             153523620080                Gas           Gov. Aggregation   DUKE            5010052229                  Gas           Gov. Aggregation
COH             206746740016                Gas           Gov. Aggregation   DUKE            4990209303                  Gas           Gov. Aggregation
COH             177206530047                Gas           Gov. Aggregation   DUKE            5000384103                  Gas           Gov. Aggregation
COH             186006990017                Gas           Gov. Aggregation   DUKE            0110052223                  Gas           Gov. Aggregation
COH             123075520051                Gas           Gov. Aggregation   DUKE            0120393802                  Gas           Gov. Aggregation
COH             186355880093                Gas           Gov. Aggregation   DUKE            0000072023                  Gas           Gov. Aggregation
COH             206820150012                Gas           Gov. Aggregation   DUKE            0010055430                  Gas           Gov. Aggregation
COH             190507850072                Gas           Gov. Aggregation   DUKE            2730058322                  Gas           Gov. Aggregation
COH             203639250019                Gas           Gov. Aggregation   DUKE            2580018320                  Gas           Gov. Aggregation
COH             193732290034                Gas           Gov. Aggregation   DUKE            2680394702                  Gas           Gov. Aggregation
COH             207841160015                Gas           Gov. Aggregation   DEO             3180014958878               Gas           Gov. Aggregation
COH             173490060021                Gas           Gov. Aggregation   COH             167255140048                Gas           Gov. Aggregation
COH             123868370016                Gas           Gov. Aggregation   COH             167419120026                Gas           Gov. Aggregation
COH             207147210016                Gas           Gov. Aggregation   COH             167466190014                Gas           Gov. Aggregation
COH             162659040066                Gas           Gov. Aggregation   DEO             9180015282877               Gas           Gov. Aggregation
COH             207932820013                Gas           Gov. Aggregation   COH             159526480015                Gas           Gov. Aggregation
COH             201747730011                Gas           Gov. Aggregation   COH             159592830021                Gas           Gov. Aggregation
COH             171186660040                Gas           Gov. Aggregation   COH             159774420058                Gas           Gov. Aggregation
COH             205864630010                Gas           Gov. Aggregation   VEDO            4001035962207866            Gas           Gov. Aggregation
COH             207654760016                Gas           Gov. Aggregation   VEDO            4001035962463136            Gas           Gov. Aggregation
COH             205169750019                Gas           Gov. Aggregation   COH             185241520027                Gas           Gov. Aggregation
COH             207991540018                Gas           Gov. Aggregation   COH             193737480016                Gas           Gov. Aggregation
COH             208048230011                Gas           Gov. Aggregation   COH             130698670015                Gas           Gov. Aggregation
COH             205384800030                Gas           Gov. Aggregation   COH             136678360025                Gas           Gov. Aggregation
COH             200743880019                Gas           Gov. Aggregation   COH             163202370018                Gas           Gov. Aggregation
COH             208455430016                Gas           Gov. Aggregation   COH             187211900046                Gas           Gov. Aggregation
COH             205171750014                Gas           Gov. Aggregation   COH             211175450011                Gas           Gov. Aggregation
COH             123815180017                Gas           Gov. Aggregation   VEDO            4002395902334819            Gas           Gov. Aggregation
COH             208247480017                Gas           Gov. Aggregation   VEDO            4002395902300445            Gas           Gov. Aggregation
COH             123742040020                Gas           Gov. Aggregation   COH             195160750029                Gas           Gov. Aggregation
COH             195801270119                Gas           Gov. Aggregation   DEO             8500054125484               Gas           Gov. Aggregation
COH             203840100013                Gas           Gov. Aggregation   COH             145071270010                Gas           Gov. Aggregation
COH             205628900013                Gas           Gov. Aggregation   COH             152406920031                Gas           Gov. Aggregation
COH             123805580014                Gas           Gov. Aggregation   COH             202853630025                Gas           Gov. Aggregation
COH             206323650011                Gas           Gov. Aggregation   COH             208477720019                Gas           Gov. Aggregation
COH             204969500016                Gas           Gov. Aggregation   COH             205916430011                Gas           Gov. Aggregation
COH             207400220016                Gas           Gov. Aggregation   COH             207296970012                Gas           Gov. Aggregation
COH             123804460039                Gas           Gov. Aggregation   COH             206342960016                Gas           Gov. Aggregation
COH             123804440024                Gas           Gov. Aggregation   COH             190759750025                Gas           Gov. Aggregation
COH             204944840017                Gas           Gov. Aggregation   COH             194711200026                Gas           Gov. Aggregation
COH             205963960011                Gas           Gov. Aggregation   COH             207735730010                Gas           Gov. Aggregation
COH             205517610019                Gas           Gov. Aggregation   COH             207631880019                Gas           Gov. Aggregation
COH             204387060013                Gas           Gov. Aggregation   COH             206859410016                Gas           Gov. Aggregation
COH             201047860036                Gas           Gov. Aggregation   COH             208584960012                Gas           Gov. Aggregation
COH             151759990102                Gas           Gov. Aggregation   COH             208546870011                Gas           Gov. Aggregation
COH             207464110015                Gas           Gov. Aggregation   COH             206131180017                Gas           Gov. Aggregation
COH             196193840020                Gas           Gov. Aggregation   COH             143699840012                Gas           Gov. Aggregation
COH             197044230022                Gas           Gov. Aggregation   DUKE            3730038534                  Gas           Gov. Aggregation
COH             164899600095                Gas           Gov. Aggregation   DUKE            4730038525                  Gas           Gov. Aggregation
COH             163766260071                Gas           Gov. Aggregation   DUKE            3820038546                  Gas           Gov. Aggregation
COH             123891440012                Gas           Gov. Aggregation   DUKE            1820038538                  Gas           Gov. Aggregation
COH             204857530017                Gas           Gov. Aggregation   DUKE            9720038545                  Gas           Gov. Aggregation
COH             206590110019                Gas           Gov. Aggregation   DUKE            9490020221                  Gas           Gov. Aggregation
COH             195432500015                Gas           Gov. Aggregation   DUKE            3030038522                  Gas           Gov. Aggregation
COH             208293750013                Gas           Gov. Aggregation   DUKE            1190020225                  Gas           Gov. Aggregation
COH             193708440042                Gas           Gov. Aggregation   DUKE            6270084224                  Gas           Gov. Aggregation
COH             169213900053                Gas           Gov. Aggregation   DUKE            1870038423                  Gas           Gov. Aggregation
COH             185839970035                Gas           Gov. Aggregation   DUKE            3870038420                  Gas           Gov. Aggregation
COH             207327860018                Gas           Gov. Aggregation   DUKE            3910073729                  Gas           Gov. Aggregation
COH             207742770017                Gas           Gov. Aggregation   DUKE            8210038423                  Gas           Gov. Aggregation
COH             177802150043                Gas           Gov. Aggregation   DUKE            4490038520                  Gas           Gov. Aggregation
COH             204687380010                Gas           Gov. Aggregation   DUKE            1210038420                  Gas           Gov. Aggregation
COH             167599350055                Gas           Gov. Aggregation   DUKE            3000038626                  Gas           Gov. Aggregation
COH             205836580010                Gas           Gov. Aggregation   DUKE            8490038527                  Gas           Gov. Aggregation
COH             208516630014                Gas           Gov. Aggregation   DUKE            5690038523                  Gas           Gov. Aggregation
COH             207993660019                Gas           Gov. Aggregation   DUKE            4690038527                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             206767850019                Gas           Gov. Aggregation   DUKE         3690038536                  Gas           Gov. Aggregation
COH             207806760013                Gas           Gov. Aggregation   DUKE         9490038529                  Gas           Gov. Aggregation
COH             206141740018                Gas           Gov. Aggregation   DUKE         5590038524                  Gas           Gov. Aggregation
COH             203678970034                Gas           Gov. Aggregation   DUKE         1630038530                  Gas           Gov. Aggregation
COH             205397020019                Gas           Gov. Aggregation   DUKE         6530038520                  Gas           Gov. Aggregation
COH             169008700032                Gas           Gov. Aggregation   DUKE         5530038524                  Gas           Gov. Aggregation
COH             200577170011                Gas           Gov. Aggregation   DUKE         8830038521                  Gas           Gov. Aggregation
COH             140588540031                Gas           Gov. Aggregation   DUKE         9330038533                  Gas           Gov. Aggregation
COH             205792660017                Gas           Gov. Aggregation   DUKE         1490020222                  Gas           Gov. Aggregation
COH             169535980064                Gas           Gov. Aggregation   DUKE         7580020221                  Gas           Gov. Aggregation
COH             199038020027                Gas           Gov. Aggregation   DUKE         1930038524                  Gas           Gov. Aggregation
COH             203367490025                Gas           Gov. Aggregation   DUKE         2930038526                  Gas           Gov. Aggregation
COH             206090480012                Gas           Gov. Aggregation   DUKE         1430038529                  Gas           Gov. Aggregation
COH             202182890024                Gas           Gov. Aggregation   DUKE         2430038525                  Gas           Gov. Aggregation
COH             202182890033                Gas           Gov. Aggregation   DUKE         4930038538                  Gas           Gov. Aggregation
COH             204092260016                Gas           Gov. Aggregation   DUKE         9430038521                  Gas           Gov. Aggregation
COH             204524780010                Gas           Gov. Aggregation   DUKE         4450038522                  Gas           Gov. Aggregation
COH             200155820027                Gas           Gov. Aggregation   DUKE         2450038522                  Gas           Gov. Aggregation
COH             207089240014                Gas           Gov. Aggregation   DUKE         8450038522                  Gas           Gov. Aggregation
COH             206288810013                Gas           Gov. Aggregation   DUKE         1350038526                  Gas           Gov. Aggregation
COH             200570290029                Gas           Gov. Aggregation   DUKE         9250038526                  Gas           Gov. Aggregation
COH             204523660017                Gas           Gov. Aggregation   DUKE         2650038529                  Gas           Gov. Aggregation
COH             206277860016                Gas           Gov. Aggregation   DUKE         3650038531                  Gas           Gov. Aggregation
COH             152380820038                Gas           Gov. Aggregation   DUKE         8850038521                  Gas           Gov. Aggregation
COH             208462020017                Gas           Gov. Aggregation   DUKE         8150038522                  Gas           Gov. Aggregation
COH             188546380055                Gas           Gov. Aggregation   DUKE         9150038524                  Gas           Gov. Aggregation
COH             174550170038                Gas           Gov. Aggregation   DUKE         7150038522                  Gas           Gov. Aggregation
COH             176735560096                Gas           Gov. Aggregation   DUKE         2250038521                  Gas           Gov. Aggregation
COH             207109460014                Gas           Gov. Aggregation   DUKE         4950038523                  Gas           Gov. Aggregation
COH             198033970047                Gas           Gov. Aggregation   DUKE         5560038521                  Gas           Gov. Aggregation
COH             202774220010                Gas           Gov. Aggregation   DUKE         6940038520                  Gas           Gov. Aggregation
COH             185853550033                Gas           Gov. Aggregation   DUKE         4940038536                  Gas           Gov. Aggregation
COH             196286200045                Gas           Gov. Aggregation   DUKE         9940038520                  Gas           Gov. Aggregation
COH             159554740048                Gas           Gov. Aggregation   DUKE         8560038532                  Gas           Gov. Aggregation
COH             204570720024                Gas           Gov. Aggregation   DUKE         1940038521                  Gas           Gov. Aggregation
COH             199717870029                Gas           Gov. Aggregation   DUKE         4760038520                  Gas           Gov. Aggregation
COH             207732420011                Gas           Gov. Aggregation   DUKE         4850038523                  Gas           Gov. Aggregation
COH             207451430015                Gas           Gov. Aggregation   DUKE         3850038525                  Gas           Gov. Aggregation
COH             161461110034                Gas           Gov. Aggregation   DUKE         2750038524                  Gas           Gov. Aggregation
COH             202209680020                Gas           Gov. Aggregation   DUKE         4750038545                  Gas           Gov. Aggregation
COH             203867400023                Gas           Gov. Aggregation   DUKE         9750038523                  Gas           Gov. Aggregation
COH             207839030017                Gas           Gov. Aggregation   DUKE         6750038524                  Gas           Gov. Aggregation
COH             205434810013                Gas           Gov. Aggregation   DUKE         7750038524                  Gas           Gov. Aggregation
COH             208462010019                Gas           Gov. Aggregation   DUKE         5950038523                  Gas           Gov. Aggregation
COH             208312320011                Gas           Gov. Aggregation   DUKE         4060038522                  Gas           Gov. Aggregation
COH             195542960034                Gas           Gov. Aggregation   DUKE         5060038525                  Gas           Gov. Aggregation
COH             208312430018                Gas           Gov. Aggregation   DUKE         9460038523                  Gas           Gov. Aggregation
COH             204702260039                Gas           Gov. Aggregation   DUKE         8460038524                  Gas           Gov. Aggregation
COH             145948790049                Gas           Gov. Aggregation   DUKE         1760038528                  Gas           Gov. Aggregation
COH             189760810059                Gas           Gov. Aggregation   DUKE         4660038530                  Gas           Gov. Aggregation
COH             166832550110                Gas           Gov. Aggregation   DUKE         6460038520                  Gas           Gov. Aggregation
COH             205301880010                Gas           Gov. Aggregation   DUKE         9990038523                  Gas           Gov. Aggregation
COH             205301880029                Gas           Gov. Aggregation   DUKE         9100038630                  Gas           Gov. Aggregation
COH             187785970065                Gas           Gov. Aggregation   DUKE         2200038621                  Gas           Gov. Aggregation
COH             208173870012                Gas           Gov. Aggregation   DUKE         3200038622                  Gas           Gov. Aggregation
COH             206578720017                Gas           Gov. Aggregation   DUKE         4200038627                  Gas           Gov. Aggregation
COH             206288710014                Gas           Gov. Aggregation   DUKE         6200038624                  Gas           Gov. Aggregation
COH             141905810100                Gas           Gov. Aggregation   DUKE         3900380101                  Gas           Gov. Aggregation
COH             200920270020                Gas           Gov. Aggregation   DUKE         5690036021                  Gas           Gov. Aggregation
COH             202408200019                Gas           Gov. Aggregation   DUKE         4690036031                  Gas           Gov. Aggregation
COH             199064640022                Gas           Gov. Aggregation   DUKE         8270067405                  Gas           Gov. Aggregation
COH             123804840020                Gas           Gov. Aggregation   DUKE         6590036030                  Gas           Gov. Aggregation
COH             174657160025                Gas           Gov. Aggregation   DUKE         4300038624                  Gas           Gov. Aggregation
COH             123834690029                Gas           Gov. Aggregation   DUKE         7500038622                  Gas           Gov. Aggregation
COH             123904860033                Gas           Gov. Aggregation   DUKE         1400038620                  Gas           Gov. Aggregation
COH             123813020041                Gas           Gov. Aggregation   DUKE         5500038621                  Gas           Gov. Aggregation
COH             175223410048                Gas           Gov. Aggregation   DUKE         2600038622                  Gas           Gov. Aggregation
COH             208333870012                Gas           Gov. Aggregation   DUKE         1700038622                  Gas           Gov. Aggregation
COH             205038130016                Gas           Gov. Aggregation   DUKE         5700038621                  Gas           Gov. Aggregation
COH             134894770078                Gas           Gov. Aggregation   DUKE         2900038621                  Gas           Gov. Aggregation
COH             160780640038                Gas           Gov. Aggregation   DUKE         3110038621                  Gas           Gov. Aggregation
COH             146253470011                Gas           Gov. Aggregation   DUKE         1110038630                  Gas           Gov. Aggregation
COH             140301330022                Gas           Gov. Aggregation   DUKE         3900038638                  Gas           Gov. Aggregation
COH             205548570013                Gas           Gov. Aggregation   DUKE         2110038636                  Gas           Gov. Aggregation
COH             202406090017                Gas           Gov. Aggregation   DUKE         5900038643                  Gas           Gov. Aggregation
COH             166880530042                Gas           Gov. Aggregation   DUKE         6900038631                  Gas           Gov. Aggregation
COH             199131960022                Gas           Gov. Aggregation   DUKE         7400038626                  Gas           Gov. Aggregation
COH             202127770016                Gas           Gov. Aggregation   DUKE         9400038620                  Gas           Gov. Aggregation
COH             203568220034                Gas           Gov. Aggregation   DUKE         8130038623                  Gas           Gov. Aggregation
COH             196222540011                Gas           Gov. Aggregation   DUKE         7130038620                  Gas           Gov. Aggregation
COH             206134200016                Gas           Gov. Aggregation   DUKE         3430038626                  Gas           Gov. Aggregation
COH             206485820031                Gas           Gov. Aggregation   DUKE         5430038622                  Gas           Gov. Aggregation
COH             206790190019                Gas           Gov. Aggregation   DUKE         1010038628                  Gas           Gov. Aggregation
COH             207613630019                Gas           Gov. Aggregation   DUKE         5130038625                  Gas           Gov. Aggregation
COH             207981750015                Gas           Gov. Aggregation   DUKE         4130038624                  Gas           Gov. Aggregation
COH             208266460011                Gas           Gov. Aggregation   DUKE         3130038623                  Gas           Gov. Aggregation
COH             199645320027                Gas           Gov. Aggregation   DUKE         5530038622                  Gas           Gov. Aggregation
COH             208158120011                Gas           Gov. Aggregation   DUKE         7380038525                  Gas           Gov. Aggregation
COH             207023250010                Gas           Gov. Aggregation   DUKE         6380038521                  Gas           Gov. Aggregation
COH             149576200047                Gas           Gov. Aggregation   DUKE         5380038521                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             193067610064                Gas           Gov. Aggregation   DUKE         4380038532                  Gas           Gov. Aggregation
COH             202406910032                Gas           Gov. Aggregation   DUKE         3380038523                  Gas           Gov. Aggregation
COH             187088200091                Gas           Gov. Aggregation   DUKE         8110038646                  Gas           Gov. Aggregation
COH             192386470050                Gas           Gov. Aggregation   DUKE         7110038636                  Gas           Gov. Aggregation
COH             201465350028                Gas           Gov. Aggregation   DUKE         1210038621                  Gas           Gov. Aggregation
COH             123816230023                Gas           Gov. Aggregation   DUKE         3210038631                  Gas           Gov. Aggregation
COH             143683130096                Gas           Gov. Aggregation   DUKE         4460038527                  Gas           Gov. Aggregation
COH             201226840012                Gas           Gov. Aggregation   DUKE         3460038525                  Gas           Gov. Aggregation
COH             204949030017                Gas           Gov. Aggregation   DUKE         2260038520                  Gas           Gov. Aggregation
COH             162502090085                Gas           Gov. Aggregation   DUKE         9280038520                  Gas           Gov. Aggregation
COH             185943930103                Gas           Gov. Aggregation   DUKE         8210038626                  Gas           Gov. Aggregation
COH             153333020034                Gas           Gov. Aggregation   DUKE         3160038522                  Gas           Gov. Aggregation
COH             141396890712                Gas           Gov. Aggregation   DUKE         6280038526                  Gas           Gov. Aggregation
COH             206042880019                Gas           Gov. Aggregation   DUKE         9310038624                  Gas           Gov. Aggregation
COH             194906840074                Gas           Gov. Aggregation   DUKE         9180038520                  Gas           Gov. Aggregation
COH             187300270031                Gas           Gov. Aggregation   DUKE         7180038528                  Gas           Gov. Aggregation
COH             174143860045                Gas           Gov. Aggregation   DUKE         6180038526                  Gas           Gov. Aggregation
COH             200435560028                Gas           Gov. Aggregation   DUKE         5030038629                  Gas           Gov. Aggregation
COH             205179910014                Gas           Gov. Aggregation   DUKE         6530038626                  Gas           Gov. Aggregation
COH             205719000019                Gas           Gov. Aggregation   DUKE         2030038622                  Gas           Gov. Aggregation
COH             151818340013                Gas           Gov. Aggregation   DUKE         1120038624                  Gas           Gov. Aggregation
DEO             0500048753609               Gas           Gov. Aggregation   DUKE         2120038624                  Gas           Gov. Aggregation
DEO             0500049482072               Gas           Gov. Aggregation   DUKE         3120038620                  Gas           Gov. Aggregation
DEO             1330000016251               Gas           Gov. Aggregation   DUKE         2020038629                  Gas           Gov. Aggregation
DEO             1500061622165               Gas           Gov. Aggregation   DUKE         4120038631                  Gas           Gov. Aggregation
DEO             2500037694444               Gas           Gov. Aggregation   DUKE         6120038629                  Gas           Gov. Aggregation
DEO             3180007867942               Gas           Gov. Aggregation   DUKE         7910038623                  Gas           Gov. Aggregation
DEO             6180006893466               Gas           Gov. Aggregation   DUKE         5910038625                  Gas           Gov. Aggregation
DEO             6500035380799               Gas           Gov. Aggregation   DUKE         7120038628                  Gas           Gov. Aggregation
DEO             6500062842471               Gas           Gov. Aggregation   DUKE         4220038624                  Gas           Gov. Aggregation
DEO             6500065349459               Gas           Gov. Aggregation   DUKE         5220038621                  Gas           Gov. Aggregation
DEO             6500066802365               Gas           Gov. Aggregation   DUKE         9220038621                  Gas           Gov. Aggregation
DEO             6500067568284               Gas           Gov. Aggregation   DUKE         5920038624                  Gas           Gov. Aggregation
DEO             7180001218690               Gas           Gov. Aggregation   DUKE         4920038623                  Gas           Gov. Aggregation
DEO             7180004423959               Gas           Gov. Aggregation   DUKE         2920038624                  Gas           Gov. Aggregation
DEO             7180005497230               Gas           Gov. Aggregation   DUKE         8630038630                  Gas           Gov. Aggregation
DEO             4180013175634               Gas           Gov. Aggregation   DUKE         4820038621                  Gas           Gov. Aggregation
DEO             4500053298477               Gas           Gov. Aggregation   DUKE         6730038629                  Gas           Gov. Aggregation
DEO             8180006428976               Gas           Gov. Aggregation   DUKE         7730038622                  Gas           Gov. Aggregation
DEO             0180010857087               Gas           Gov. Aggregation   DUKE         8730038620                  Gas           Gov. Aggregation
DEO             8180010429759               Gas           Gov. Aggregation   DUKE         3820038620                  Gas           Gov. Aggregation
DEO             1180008112978               Gas           Gov. Aggregation   DUKE         2820038620                  Gas           Gov. Aggregation
VEDO            4017187662438223            Gas           Gov. Aggregation   DUKE         6330038625                  Gas           Gov. Aggregation
VEDO            4003295922325787            Gas           Gov. Aggregation   DUKE         8230038622                  Gas           Gov. Aggregation
COH             120458960014                Gas           Gov. Aggregation   DUKE         8330038621                  Gas           Gov. Aggregation
VEDO            4001114432110857            Gas           Gov. Aggregation   DUKE         1540038625                  Gas           Gov. Aggregation
COH             121932170013                Gas           Gov. Aggregation   DUKE         9440038627                  Gas           Gov. Aggregation
COH             156062500053                Gas           Gov. Aggregation   DUKE         7540038622                  Gas           Gov. Aggregation
COH             156560220010                Gas           Gov. Aggregation   DUKE         8440038623                  Gas           Gov. Aggregation
VEDO            4004212892423886            Gas           Gov. Aggregation   DUKE         6440038623                  Gas           Gov. Aggregation
VEDO            4004900572499553            Gas           Gov. Aggregation   DUKE         5440038626                  Gas           Gov. Aggregation
COH             203734630017                Gas           Gov. Aggregation   DUKE         3490036027                  Gas           Gov. Aggregation
COH             208076620010                Gas           Gov. Aggregation   DUKE         2490036023                  Gas           Gov. Aggregation
COH             207742780015                Gas           Gov. Aggregation   DUKE         5340038625                  Gas           Gov. Aggregation
COH             190218720081                Gas           Gov. Aggregation   DUKE         8640038621                  Gas           Gov. Aggregation
COH             203078320032                Gas           Gov. Aggregation   DUKE         2740038621                  Gas           Gov. Aggregation
COH             206907740014                Gas           Gov. Aggregation   DUKE         3340038624                  Gas           Gov. Aggregation
COH             208381350010                Gas           Gov. Aggregation   DUKE         1340038622                  Gas           Gov. Aggregation
COH             114647940033                Gas           Gov. Aggregation   DUKE         3740038622                  Gas           Gov. Aggregation
COH             161033480052                Gas           Gov. Aggregation   DUKE         9140038622                  Gas           Gov. Aggregation
COH             204925060048                Gas           Gov. Aggregation   DUKE         8140038622                  Gas           Gov. Aggregation
COH             207475400011                Gas           Gov. Aggregation   DUKE         6140038629                  Gas           Gov. Aggregation
COH             208576660012                Gas           Gov. Aggregation   DUKE         7840038623                  Gas           Gov. Aggregation
COH             208514490018                Gas           Gov. Aggregation   DUKE         8840038626                  Gas           Gov. Aggregation
COH             205626410010                Gas           Gov. Aggregation   DUKE         5380204501                  Gas           Gov. Aggregation
COH             206280780016                Gas           Gov. Aggregation   DUKE         9980036022                  Gas           Gov. Aggregation
COH             195505890046                Gas           Gov. Aggregation   DUKE         6170366804                  Gas           Gov. Aggregation
COH             207732110016                Gas           Gov. Aggregation   DUKE         7870360505                  Gas           Gov. Aggregation
COH             205362880012                Gas           Gov. Aggregation   DUKE         1680020221                  Gas           Gov. Aggregation
COH             206870060016                Gas           Gov. Aggregation   DUKE         2680020232                  Gas           Gov. Aggregation
COH             207274440019                Gas           Gov. Aggregation   DUKE         4680020222                  Gas           Gov. Aggregation
COH             205294620020                Gas           Gov. Aggregation   DUKE         5190020225                  Gas           Gov. Aggregation
COH             205971130018                Gas           Gov. Aggregation   DUKE         4780020233                  Gas           Gov. Aggregation
COH             207300270018                Gas           Gov. Aggregation   DUKE         2780020230                  Gas           Gov. Aggregation
COH             151438990031                Gas           Gov. Aggregation   DUKE         5980020222                  Gas           Gov. Aggregation
COH             207906450016                Gas           Gov. Aggregation   DUKE         4980020220                  Gas           Gov. Aggregation
COH             143730580037                Gas           Gov. Aggregation   DUKE         6780020241                  Gas           Gov. Aggregation
COH             206595130015                Gas           Gov. Aggregation   DUKE         8780020239                  Gas           Gov. Aggregation
COH             205337960018                Gas           Gov. Aggregation   DUKE         8970020224                  Gas           Gov. Aggregation
COH             205195800013                Gas           Gov. Aggregation   DUKE         2970020222                  Gas           Gov. Aggregation
COH             208269620011                Gas           Gov. Aggregation   DUKE         4970020238                  Gas           Gov. Aggregation
COH             170835110021                Gas           Gov. Aggregation   DUKE         5970020237                  Gas           Gov. Aggregation
COH             189504830039                Gas           Gov. Aggregation   DUKE         6970020240                  Gas           Gov. Aggregation
COH             193140210026                Gas           Gov. Aggregation   DUKE         1970020221                  Gas           Gov. Aggregation
COH             193383150061                Gas           Gov. Aggregation   DUKE         8340038547                  Gas           Gov. Aggregation
COH             206659910015                Gas           Gov. Aggregation   DUKE         8240038529                  Gas           Gov. Aggregation
COH             159037270196                Gas           Gov. Aggregation   DUKE         6180020224                  Gas           Gov. Aggregation
COH             207607070010                Gas           Gov. Aggregation   DUKE         2180020223                  Gas           Gov. Aggregation
COH             173124610100                Gas           Gov. Aggregation   DUKE         4180020225                  Gas           Gov. Aggregation
COH             186599290037                Gas           Gov. Aggregation   DUKE         1870020221                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             199453650043                Gas           Gov. Aggregation   DUKE         6380020225                  Gas           Gov. Aggregation
COH             207291730012                Gas           Gov. Aggregation   DUKE         3280020225                  Gas           Gov. Aggregation
COH             137187010064                Gas           Gov. Aggregation   DUKE         1280020223                  Gas           Gov. Aggregation
COH             165534940077                Gas           Gov. Aggregation   DUKE         6640038526                  Gas           Gov. Aggregation
COH             192649230025                Gas           Gov. Aggregation   DUKE         8570020230                  Gas           Gov. Aggregation
COH             208102490011                Gas           Gov. Aggregation   DUKE         9080020225                  Gas           Gov. Aggregation
COH             156012530105                Gas           Gov. Aggregation   DUKE         8080020230                  Gas           Gov. Aggregation
COH             174723490043                Gas           Gov. Aggregation   DUKE         6080020220                  Gas           Gov. Aggregation
COH             189114560033                Gas           Gov. Aggregation   DUKE         7080020221                  Gas           Gov. Aggregation
COH             208235110019                Gas           Gov. Aggregation   DUKE         5870020222                  Gas           Gov. Aggregation
COH             185933660049                Gas           Gov. Aggregation   DUKE         3870020226                  Gas           Gov. Aggregation
COH             206327260015                Gas           Gov. Aggregation   DUKE         6570020240                  Gas           Gov. Aggregation
COH             169284560029                Gas           Gov. Aggregation   DUKE         5570020255                  Gas           Gov. Aggregation
COH             203426060029                Gas           Gov. Aggregation   DUKE         6370020224                  Gas           Gov. Aggregation
COH             201105990035                Gas           Gov. Aggregation   DUKE         8470020223                  Gas           Gov. Aggregation
COH             174972260017                Gas           Gov. Aggregation   DUKE         4470020226                  Gas           Gov. Aggregation
COH             206150660016                Gas           Gov. Aggregation   DUKE         3470020241                  Gas           Gov. Aggregation
COH             187643060020                Gas           Gov. Aggregation   DUKE         6470020223                  Gas           Gov. Aggregation
COH             151170170031                Gas           Gov. Aggregation   DUKE         1060020222                  Gas           Gov. Aggregation
COH             196033440022                Gas           Gov. Aggregation   DUKE         7000020221                  Gas           Gov. Aggregation
COH             207249060012                Gas           Gov. Aggregation   DUKE         9510020230                  Gas           Gov. Aggregation
COH             153516370051                Gas           Gov. Aggregation   DUKE         3610020222                  Gas           Gov. Aggregation
COH             191385470044                Gas           Gov. Aggregation   DUKE         8510020222                  Gas           Gov. Aggregation
COH             205324390015                Gas           Gov. Aggregation   DUKE         5610020232                  Gas           Gov. Aggregation
COH             198819590050                Gas           Gov. Aggregation   DUKE         7510020231                  Gas           Gov. Aggregation
COH             170086940053                Gas           Gov. Aggregation   DUKE         6610020227                  Gas           Gov. Aggregation
COH             202165610028                Gas           Gov. Aggregation   DUKE         6510020229                  Gas           Gov. Aggregation
COH             195973720022                Gas           Gov. Aggregation   DUKE         5510020223                  Gas           Gov. Aggregation
COH             208528950012                Gas           Gov. Aggregation   DUKE         2370020221                  Gas           Gov. Aggregation
COH             206097070014                Gas           Gov. Aggregation   DUKE         6960020221                  Gas           Gov. Aggregation
COH             207955500012                Gas           Gov. Aggregation   DUKE         4370020232                  Gas           Gov. Aggregation
COH             205209690034                Gas           Gov. Aggregation   DUKE         2270020235                  Gas           Gov. Aggregation
COH             201764170013                Gas           Gov. Aggregation   DUKE         8270020239                  Gas           Gov. Aggregation
COH             188517410068                Gas           Gov. Aggregation   DUKE         6270020232                  Gas           Gov. Aggregation
COH             173985030028                Gas           Gov. Aggregation   DUKE         5270020222                  Gas           Gov. Aggregation
COH             207456510018                Gas           Gov. Aggregation   DUKE         1070020233                  Gas           Gov. Aggregation
COH             142369760055                Gas           Gov. Aggregation   DUKE         2070020227                  Gas           Gov. Aggregation
COH             207304420018                Gas           Gov. Aggregation   DUKE         4270020233                  Gas           Gov. Aggregation
COH             198902350044                Gas           Gov. Aggregation   DUKE         3270020238                  Gas           Gov. Aggregation
COH             198458710023                Gas           Gov. Aggregation   DUKE         3070020227                  Gas           Gov. Aggregation
COH             205510230013                Gas           Gov. Aggregation   DUKE         1270020259                  Gas           Gov. Aggregation
COH             143014460094                Gas           Gov. Aggregation   DUKE         6070020226                  Gas           Gov. Aggregation
COH             206313620018                Gas           Gov. Aggregation   DUKE         5070020239                  Gas           Gov. Aggregation
COH             158857130054                Gas           Gov. Aggregation   DUKE         9950020221                  Gas           Gov. Aggregation
COH             164997470022                Gas           Gov. Aggregation   DUKE         8950020225                  Gas           Gov. Aggregation
COH             199314150024                Gas           Gov. Aggregation   DUKE         9960020224                  Gas           Gov. Aggregation
COH             133839260036                Gas           Gov. Aggregation   DUKE         8760020232                  Gas           Gov. Aggregation
COH             188453720041                Gas           Gov. Aggregation   DUKE         3760020221                  Gas           Gov. Aggregation
COH             207896840017                Gas           Gov. Aggregation   DUKE         5660020220                  Gas           Gov. Aggregation
COH             175213160051                Gas           Gov. Aggregation   DUKE         9120020222                  Gas           Gov. Aggregation
COH             202015180026                Gas           Gov. Aggregation   DUKE         4950020226                  Gas           Gov. Aggregation
COH             208431340015                Gas           Gov. Aggregation   DUKE         2220020220                  Gas           Gov. Aggregation
COH             188854870059                Gas           Gov. Aggregation   DUKE         5760038520                  Gas           Gov. Aggregation
COH             169609210040                Gas           Gov. Aggregation   DUKE         6760038523                  Gas           Gov. Aggregation
COH             208102540010                Gas           Gov. Aggregation   DUKE         7760038539                  Gas           Gov. Aggregation
COH             206907880015                Gas           Gov. Aggregation   DUKE         6960038547                  Gas           Gov. Aggregation
COH             207235520014                Gas           Gov. Aggregation   DUKE         8590085544                  Gas           Gov. Aggregation
COH             175066280031                Gas           Gov. Aggregation   DUKE         3360020250                  Gas           Gov. Aggregation
COH             206055530015                Gas           Gov. Aggregation   DUKE         2860038526                  Gas           Gov. Aggregation
COH             208551640018                Gas           Gov. Aggregation   DUKE         2960038532                  Gas           Gov. Aggregation
COH             121881210040                Gas           Gov. Aggregation   DUKE         1960038527                  Gas           Gov. Aggregation
COH             206217830018                Gas           Gov. Aggregation   DUKE         3860038529                  Gas           Gov. Aggregation
COH             208086530018                Gas           Gov. Aggregation   DUKE         1560020229                  Gas           Gov. Aggregation
COH             132462170053                Gas           Gov. Aggregation   DUKE         3560020239                  Gas           Gov. Aggregation
COH             114984330028                Gas           Gov. Aggregation   DUKE         4560020229                  Gas           Gov. Aggregation
COH             207274460015                Gas           Gov. Aggregation   DUKE         7360020233                  Gas           Gov. Aggregation
COH             201965410150                Gas           Gov. Aggregation   DUKE         5460020227                  Gas           Gov. Aggregation
COH             206807110018                Gas           Gov. Aggregation   DUKE         9460020254                  Gas           Gov. Aggregation
COH             206962700016                Gas           Gov. Aggregation   DUKE         1460020222                  Gas           Gov. Aggregation
COH             205921900020                Gas           Gov. Aggregation   DUKE         3160020221                  Gas           Gov. Aggregation
COH             206097090010                Gas           Gov. Aggregation   DUKE         3460020223                  Gas           Gov. Aggregation
COH             205620760055                Gas           Gov. Aggregation   DUKE         1950020229                  Gas           Gov. Aggregation
COH             143188560023                Gas           Gov. Aggregation   DUKE         7850020226                  Gas           Gov. Aggregation
COH             206645780012                Gas           Gov. Aggregation   DUKE         8610020226                  Gas           Gov. Aggregation
COH             206236890016                Gas           Gov. Aggregation   DUKE         9610020225                  Gas           Gov. Aggregation
COH             207775950010                Gas           Gov. Aggregation   DUKE         2510020223                  Gas           Gov. Aggregation
COH             207684710013                Gas           Gov. Aggregation   DUKE         1510020226                  Gas           Gov. Aggregation
COH             206976580013                Gas           Gov. Aggregation   DUKE         1710020235                  Gas           Gov. Aggregation
COH             205994230019                Gas           Gov. Aggregation   DUKE         7410020223                  Gas           Gov. Aggregation
COH             208438680010                Gas           Gov. Aggregation   DUKE         5710020229                  Gas           Gov. Aggregation
COH             115022600073                Gas           Gov. Aggregation   DUKE         3130020241                  Gas           Gov. Aggregation
COH             201711100054                Gas           Gov. Aggregation   DUKE         5620020227                  Gas           Gov. Aggregation
COH             185049890091                Gas           Gov. Aggregation   DUKE         4820020223                  Gas           Gov. Aggregation
COH             168299090055                Gas           Gov. Aggregation   DUKE         4720020221                  Gas           Gov. Aggregation
COH             207318090055                Gas           Gov. Aggregation   DUKE         5130020226                  Gas           Gov. Aggregation
COH             208499240032                Gas           Gov. Aggregation   DUKE         9620020232                  Gas           Gov. Aggregation
COH             205772290017                Gas           Gov. Aggregation   DUKE         6420020230                  Gas           Gov. Aggregation
COH             194006370035                Gas           Gov. Aggregation   DUKE         8720020243                  Gas           Gov. Aggregation
COH             174661510068                Gas           Gov. Aggregation   DUKE         8420020222                  Gas           Gov. Aggregation
COH             201598230022                Gas           Gov. Aggregation   DUKE         6520020226                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             196933300023                Gas           Gov. Aggregation   DUKE         7720020235                  Gas           Gov. Aggregation
COH             191597000061                Gas           Gov. Aggregation   DUKE         9420020223                  Gas           Gov. Aggregation
COH             198192350014                Gas           Gov. Aggregation   DUKE         9320020221                  Gas           Gov. Aggregation
COH             207972150010                Gas           Gov. Aggregation   DUKE         9720020226                  Gas           Gov. Aggregation
COH             208602160010                Gas           Gov. Aggregation   DUKE         2430020244                  Gas           Gov. Aggregation
COH             203019430015                Gas           Gov. Aggregation   DUKE         3330020229                  Gas           Gov. Aggregation
COH             207831280011                Gas           Gov. Aggregation   DUKE         3430020248                  Gas           Gov. Aggregation
COH             198726540011                Gas           Gov. Aggregation   DUKE         2530020236                  Gas           Gov. Aggregation
COH             114917090011                Gas           Gov. Aggregation   DUKE         1930020237                  Gas           Gov. Aggregation
COH             189876050081                Gas           Gov. Aggregation   DUKE         3930020241                  Gas           Gov. Aggregation
COH             207054380018                Gas           Gov. Aggregation   DUKE         5530020232                  Gas           Gov. Aggregation
COH             114886620052                Gas           Gov. Aggregation   DUKE         4830020224                  Gas           Gov. Aggregation
COH             203089050018                Gas           Gov. Aggregation   DUKE         4530020227                  Gas           Gov. Aggregation
DEO             3180013811908               Gas           Gov. Aggregation   DUKE         6530020254                  Gas           Gov. Aggregation
DEO             8180010120898               Gas           Gov. Aggregation   DUKE         6430020258                  Gas           Gov. Aggregation
DEO             1180008582372               Gas           Gov. Aggregation   DUKE         8530020243                  Gas           Gov. Aggregation
DEO             8180013473699               Gas           Gov. Aggregation   DUKE         2500020225                  Gas           Gov. Aggregation
DEO             9180009934919               Gas           Gov. Aggregation   DUKE         1500020237                  Gas           Gov. Aggregation
DEO             3180010055864               Gas           Gov. Aggregation   DUKE         9400020223                  Gas           Gov. Aggregation
DEO             3180013351492               Gas           Gov. Aggregation   DUKE         8400020222                  Gas           Gov. Aggregation
DEO             0180012894218               Gas           Gov. Aggregation   DUKE         5590020133                  Gas           Gov. Aggregation
DEO             1180010055032               Gas           Gov. Aggregation   DUKE         4290020120                  Gas           Gov. Aggregation
DEO             6180013638012               Gas           Gov. Aggregation   DUKE         5290020120                  Gas           Gov. Aggregation
DEO             0180013267566               Gas           Gov. Aggregation   DUKE         6290020123                  Gas           Gov. Aggregation
DEO             1180013491774               Gas           Gov. Aggregation   DUKE         9190020146                  Gas           Gov. Aggregation
DEO             4180012771013               Gas           Gov. Aggregation   DUKE         7190020124                  Gas           Gov. Aggregation
DEO             9180011532010               Gas           Gov. Aggregation   DUKE         8290020127                  Gas           Gov. Aggregation
DEO             1180009622780               Gas           Gov. Aggregation   DUKE         9290020125                  Gas           Gov. Aggregation
DEO             1180013878000               Gas           Gov. Aggregation   DUKE         2390020134                  Gas           Gov. Aggregation
DEO             9180010194739               Gas           Gov. Aggregation   DUKE         4190020125                  Gas           Gov. Aggregation
DEO             0180012528235               Gas           Gov. Aggregation   DUKE         2570020122                  Gas           Gov. Aggregation
DEO             0180013532908               Gas           Gov. Aggregation   DUKE         6270020132                  Gas           Gov. Aggregation
DEO             5180013517144               Gas           Gov. Aggregation   DUKE         3570020124                  Gas           Gov. Aggregation
DEO             0180011434271               Gas           Gov. Aggregation   DUKE         5270020126                  Gas           Gov. Aggregation
DEO             3180012673780               Gas           Gov. Aggregation   DUKE         2190020121                  Gas           Gov. Aggregation
DEO             0180013982125               Gas           Gov. Aggregation   DUKE         4570020127                  Gas           Gov. Aggregation
DEO             7180012639084               Gas           Gov. Aggregation   DUKE         2270020133                  Gas           Gov. Aggregation
DEO             4180011143842               Gas           Gov. Aggregation   DUKE         8390020125                  Gas           Gov. Aggregation
DEO             6180009654762               Gas           Gov. Aggregation   DUKE         9390020124                  Gas           Gov. Aggregation
DEO             1180010865599               Gas           Gov. Aggregation   DUKE         7090020129                  Gas           Gov. Aggregation
DEO             8180013792484               Gas           Gov. Aggregation   DUKE         1190020123                  Gas           Gov. Aggregation
DEO             3180010752979               Gas           Gov. Aggregation   DUKE         4170020123                  Gas           Gov. Aggregation
DEO             8180003113351               Gas           Gov. Aggregation   DUKE         1670020122                  Gas           Gov. Aggregation
DEO             2180013280432               Gas           Gov. Aggregation   DUKE         3170020122                  Gas           Gov. Aggregation
DEO             2180012138503               Gas           Gov. Aggregation   DUKE         2670020127                  Gas           Gov. Aggregation
DEO             0180010674485               Gas           Gov. Aggregation   DUKE         3670020121                  Gas           Gov. Aggregation
DEO             6180010521288               Gas           Gov. Aggregation   DUKE         2090020122                  Gas           Gov. Aggregation
DEO             2180012295703               Gas           Gov. Aggregation   DUKE         1090020152                  Gas           Gov. Aggregation
DEO             6180009942092               Gas           Gov. Aggregation   DUKE         4490020124                  Gas           Gov. Aggregation
DEO             5180009992919               Gas           Gov. Aggregation   DUKE         7070020122                  Gas           Gov. Aggregation
DEO             5180013360404               Gas           Gov. Aggregation   DUKE         6070020121                  Gas           Gov. Aggregation
DEO             5180012482771               Gas           Gov. Aggregation   DUKE         8670020123                  Gas           Gov. Aggregation
DEO             7180010599153               Gas           Gov. Aggregation   DUKE         9980020121                  Gas           Gov. Aggregation
DEO             6180012976648               Gas           Gov. Aggregation   DUKE         8980020128                  Gas           Gov. Aggregation
DEO             1180012658956               Gas           Gov. Aggregation   DUKE         3590020129                  Gas           Gov. Aggregation
DEO             8180013765722               Gas           Gov. Aggregation   DUKE         9490020124                  Gas           Gov. Aggregation
DEO             1180012354782               Gas           Gov. Aggregation   DUKE         2590020140                  Gas           Gov. Aggregation
DEO             0180011238556               Gas           Gov. Aggregation   DUKE         1590020122                  Gas           Gov. Aggregation
DEO             9180012405422               Gas           Gov. Aggregation   DUKE         3980020148                  Gas           Gov. Aggregation
DEO             2180012276867               Gas           Gov. Aggregation   DUKE         4980020146                  Gas           Gov. Aggregation
DEO             3180009832886               Gas           Gov. Aggregation   DUKE         4760020129                  Gas           Gov. Aggregation
DEO             2180010584187               Gas           Gov. Aggregation   DUKE         4860020121                  Gas           Gov. Aggregation
DEO             8180011674960               Gas           Gov. Aggregation   DUKE         3760020137                  Gas           Gov. Aggregation
DEO             6180011972631               Gas           Gov. Aggregation   DUKE         5860020122                  Gas           Gov. Aggregation
DEO             7180013279997               Gas           Gov. Aggregation   DUKE         9660020123                  Gas           Gov. Aggregation
DEO             3180012499078               Gas           Gov. Aggregation   DUKE         7660020123                  Gas           Gov. Aggregation
DEO             2180012738913               Gas           Gov. Aggregation   DUKE         7860020126                  Gas           Gov. Aggregation
DEO             6180010878978               Gas           Gov. Aggregation   DUKE         9860020137                  Gas           Gov. Aggregation
DEO             1180012681168               Gas           Gov. Aggregation   DUKE         6660020127                  Gas           Gov. Aggregation
DEO             2180013744004               Gas           Gov. Aggregation   DUKE         8260038535                  Gas           Gov. Aggregation
DEO             5180010277513               Gas           Gov. Aggregation   DUKE         6360038534                  Gas           Gov. Aggregation
DEO             4180013050997               Gas           Gov. Aggregation   DUKE         9270038530                  Gas           Gov. Aggregation
DEO             8180013364105               Gas           Gov. Aggregation   DUKE         8270038523                  Gas           Gov. Aggregation
DEO             1180010326609               Gas           Gov. Aggregation   DUKE         3360038521                  Gas           Gov. Aggregation
DEO             3180011691284               Gas           Gov. Aggregation   DUKE         8340355516                  Gas           Gov. Aggregation
DEO             3180013279623               Gas           Gov. Aggregation   DUKE         5170038539                  Gas           Gov. Aggregation
DEO             0180012361896               Gas           Gov. Aggregation   DUKE         6410038620                  Gas           Gov. Aggregation
DEO             6180010247685               Gas           Gov. Aggregation   DUKE         1180038530                  Gas           Gov. Aggregation
DEO             2180011850294               Gas           Gov. Aggregation   DUKE         8410038623                  Gas           Gov. Aggregation
DEO             0180010770563               Gas           Gov. Aggregation   DUKE         9410038633                  Gas           Gov. Aggregation
DEO             8180013982932               Gas           Gov. Aggregation   DUKE         9080038532                  Gas           Gov. Aggregation
DEO             3180012544339               Gas           Gov. Aggregation   DUKE         8080038530                  Gas           Gov. Aggregation
DEO             5180011039888               Gas           Gov. Aggregation   DUKE         3080038524                  Gas           Gov. Aggregation
DEO             2180011784331               Gas           Gov. Aggregation   DUKE         2080038528                  Gas           Gov. Aggregation
DEO             5180012163647               Gas           Gov. Aggregation   DUKE         3340368605                  Gas           Gov. Aggregation
DEO             3180013078394               Gas           Gov. Aggregation   DUKE         4910367306                  Gas           Gov. Aggregation
DEO             2180009868475               Gas           Gov. Aggregation   DUKE         4710038631                  Gas           Gov. Aggregation
DEO             7180014034973               Gas           Gov. Aggregation   DUKE         8710038651                  Gas           Gov. Aggregation
DEO             0180009912682               Gas           Gov. Aggregation   DUKE         6510038622                  Gas           Gov. Aggregation
DEO             7180006080467               Gas           Gov. Aggregation   DUKE         7570038533                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
DEO             2180009552052               Gas           Gov. Aggregation   DUKE         4270038547                  Gas           Gov. Aggregation
DEO             2180012483612               Gas           Gov. Aggregation   DUKE         9570038523                  Gas           Gov. Aggregation
DEO             4180009741123               Gas           Gov. Aggregation   DUKE         7670038524                  Gas           Gov. Aggregation
DEO             7180010024593               Gas           Gov. Aggregation   DUKE         4320038632                  Gas           Gov. Aggregation
DEO             0180011197881               Gas           Gov. Aggregation   DUKE         4810038627                  Gas           Gov. Aggregation
DEO             7180011674208               Gas           Gov. Aggregation   DUKE         1380224805                  Gas           Gov. Aggregation
DEO             0180009730689               Gas           Gov. Aggregation   DUKE         5320038623                  Gas           Gov. Aggregation
DEO             5180012016812               Gas           Gov. Aggregation   DUKE         7320038631                  Gas           Gov. Aggregation
DEO             6180013124659               Gas           Gov. Aggregation   DUKE         8320038630                  Gas           Gov. Aggregation
DEO             2180013154401               Gas           Gov. Aggregation   DUKE         2420038648                  Gas           Gov. Aggregation
DEO             8180013708652               Gas           Gov. Aggregation   DUKE         1710038629                  Gas           Gov. Aggregation
DEO             9180012757453               Gas           Gov. Aggregation   DUKE         3420038623                  Gas           Gov. Aggregation
DEO             0180010044034               Gas           Gov. Aggregation   DUKE         2520038654                  Gas           Gov. Aggregation
DEO             4180013548327               Gas           Gov. Aggregation   DUKE         3520038644                  Gas           Gov. Aggregation
DEO             8180013761510               Gas           Gov. Aggregation   DUKE         4520038643                  Gas           Gov. Aggregation
DEO             7180012221259               Gas           Gov. Aggregation   DUKE         3620038623                  Gas           Gov. Aggregation
DEO             6180013346720               Gas           Gov. Aggregation   DUKE         6520038626                  Gas           Gov. Aggregation
DEO             9180011030765               Gas           Gov. Aggregation   DUKE         3640038723                  Gas           Gov. Aggregation
DEO             2180011789564               Gas           Gov. Aggregation   DUKE         7640038720                  Gas           Gov. Aggregation
DEO             6442106366882               Gas           Gov. Aggregation   DUKE         3510212319                  Gas           Gov. Aggregation
DEO             8180010836075               Gas           Gov. Aggregation   DUKE         4510212313                  Gas           Gov. Aggregation
DEO             3180009678882               Gas           Gov. Aggregation   DUKE         2610212327                  Gas           Gov. Aggregation
DEO             8180011104003               Gas           Gov. Aggregation   DUKE         4720038621                  Gas           Gov. Aggregation
DEO             4180012425536               Gas           Gov. Aggregation   DUKE         3720038625                  Gas           Gov. Aggregation
DEO             4180013199070               Gas           Gov. Aggregation   DUKE         2720038621                  Gas           Gov. Aggregation
DEO             8180013151430               Gas           Gov. Aggregation   DUKE         1720038623                  Gas           Gov. Aggregation
DEO             8180009993312               Gas           Gov. Aggregation   DUKE         7550038721                  Gas           Gov. Aggregation
DEO             3180011993819               Gas           Gov. Aggregation   DUKE         8550038723                  Gas           Gov. Aggregation
DEO             3180011279332               Gas           Gov. Aggregation   DUKE         9550038722                  Gas           Gov. Aggregation
DEO             2180013303968               Gas           Gov. Aggregation   DUKE         2650038725                  Gas           Gov. Aggregation
DEO             0180009822575               Gas           Gov. Aggregation   DUKE         6750038727                  Gas           Gov. Aggregation
DEO             8180011285588               Gas           Gov. Aggregation   DUKE         8430085735                  Gas           Gov. Aggregation
DEO             9180011020633               Gas           Gov. Aggregation   DUKE         4660038721                  Gas           Gov. Aggregation
DEO             2180009930423               Gas           Gov. Aggregation   DUKE         5760038766                  Gas           Gov. Aggregation
DEO             1180012158362               Gas           Gov. Aggregation   DUKE         6760038761                  Gas           Gov. Aggregation
DEO             8180010818418               Gas           Gov. Aggregation   DUKE         2770038721                  Gas           Gov. Aggregation
DEO             0180010875381               Gas           Gov. Aggregation   DUKE         8770038733                  Gas           Gov. Aggregation
DEO             1180012792628               Gas           Gov. Aggregation   DUKE         1770038729                  Gas           Gov. Aggregation
DEO             3180012553792               Gas           Gov. Aggregation   DUKE         4770038746                  Gas           Gov. Aggregation
DEO             8180013084687               Gas           Gov. Aggregation   DUKE         9670038737                  Gas           Gov. Aggregation
DEO             9180011475863               Gas           Gov. Aggregation   DUKE         7770038732                  Gas           Gov. Aggregation
DEO             2180010617383               Gas           Gov. Aggregation   DUKE         8250038726                  Gas           Gov. Aggregation
DEO             1180012107244               Gas           Gov. Aggregation   DUKE         7250038741                  Gas           Gov. Aggregation
DEO             1180009927444               Gas           Gov. Aggregation   DUKE         1050038721                  Gas           Gov. Aggregation
DEO             8180011191767               Gas           Gov. Aggregation   DUKE         5050038729                  Gas           Gov. Aggregation
DEO             5442003668813               Gas           Gov. Aggregation   DUKE         2660038727                  Gas           Gov. Aggregation
DEO             6180011995322               Gas           Gov. Aggregation   DUKE         7750038730                  Gas           Gov. Aggregation
DEO             6180011886331               Gas           Gov. Aggregation   DUKE         4440038729                  Gas           Gov. Aggregation
DEO             3180012858526               Gas           Gov. Aggregation   DUKE         2440038725                  Gas           Gov. Aggregation
DEO             7180011841665               Gas           Gov. Aggregation   DUKE         9440038730                  Gas           Gov. Aggregation
DEO             1180010971807               Gas           Gov. Aggregation   DUKE         1440038732                  Gas           Gov. Aggregation
DEO             7180013701457               Gas           Gov. Aggregation   DUKE         2250038730                  Gas           Gov. Aggregation
DEO             8180012446489               Gas           Gov. Aggregation   DUKE         9560038727                  Gas           Gov. Aggregation
DEO             3180013298879               Gas           Gov. Aggregation   DUKE         3850038722                  Gas           Gov. Aggregation
DEO             2180005493768               Gas           Gov. Aggregation   DUKE         8570038727                  Gas           Gov. Aggregation
DEO             5180011203848               Gas           Gov. Aggregation   DUKE         1970038721                  Gas           Gov. Aggregation
DEO             7180011338356               Gas           Gov. Aggregation   DUKE         3480038723                  Gas           Gov. Aggregation
DEO             8180012734545               Gas           Gov. Aggregation   DUKE         2480038738                  Gas           Gov. Aggregation
DEO             1180011856087               Gas           Gov. Aggregation   DUKE         4480038734                  Gas           Gov. Aggregation
DEO             1180011856335               Gas           Gov. Aggregation   DUKE         6480038723                  Gas           Gov. Aggregation
DEO             3180010059826               Gas           Gov. Aggregation   DUKE         8480038741                  Gas           Gov. Aggregation
DEO             7180009985223               Gas           Gov. Aggregation   DUKE         7480038742                  Gas           Gov. Aggregation
DEO             8442004601457               Gas           Gov. Aggregation   DUKE         9380038724                  Gas           Gov. Aggregation
DEO             0500061675695               Gas           Gov. Aggregation   DUKE         4380038723                  Gas           Gov. Aggregation
DEO             9180003132714               Gas           Gov. Aggregation   DUKE         6970038724                  Gas           Gov. Aggregation
DEO             2442002550244               Gas           Gov. Aggregation   DUKE         6930038625                  Gas           Gov. Aggregation
DEO             2500065457592               Gas           Gov. Aggregation   DUKE         7930038621                  Gas           Gov. Aggregation
DEO             1180012611631               Gas           Gov. Aggregation   DUKE         8930038622                  Gas           Gov. Aggregation
DEO             3180008739394               Gas           Gov. Aggregation   DUKE         9930038622                  Gas           Gov. Aggregation
DEO             2500064805492               Gas           Gov. Aggregation   DUKE         4390071026                  Gas           Gov. Aggregation
COH             208479100015                Gas           Gov. Aggregation   DUKE         7240038726                  Gas           Gov. Aggregation
COH             207774520012                Gas           Gov. Aggregation   DUKE         5040038625                  Gas           Gov. Aggregation
COH             201049310037                Gas           Gov. Aggregation   DUKE         1930038740                  Gas           Gov. Aggregation
COH             163895750057                Gas           Gov. Aggregation   DUKE         4140038755                  Gas           Gov. Aggregation
COH             122162990013                Gas           Gov. Aggregation   DUKE         3930038726                  Gas           Gov. Aggregation
COH             166328620025                Gas           Gov. Aggregation   DUKE         5730038758                  Gas           Gov. Aggregation
COH             201849770017                Gas           Gov. Aggregation   DUKE         5140038741                  Gas           Gov. Aggregation
COH             207845300017                Gas           Gov. Aggregation   DUKE         5830038750                  Gas           Gov. Aggregation
COH             208313400012                Gas           Gov. Aggregation   DUKE         7040038750                  Gas           Gov. Aggregation
COH             185872910046                Gas           Gov. Aggregation   DUKE         6830038737                  Gas           Gov. Aggregation
COH             122105180031                Gas           Gov. Aggregation   DUKE         7930038747                  Gas           Gov. Aggregation
COH             132708820018                Gas           Gov. Aggregation   DUKE         7730038739                  Gas           Gov. Aggregation
COH             208534660010                Gas           Gov. Aggregation   DUKE         6040038752                  Gas           Gov. Aggregation
COH             208000440017                Gas           Gov. Aggregation   DUKE         5940038620                  Gas           Gov. Aggregation
COH             153277040058                Gas           Gov. Aggregation   DUKE         6940038622                  Gas           Gov. Aggregation
COH             188530280013                Gas           Gov. Aggregation   DUKE         5630038742                  Gas           Gov. Aggregation
COH             203352020024                Gas           Gov. Aggregation   DUKE         3330038755                  Gas           Gov. Aggregation
COH             191913570051                Gas           Gov. Aggregation   DUKE         3430038720                  Gas           Gov. Aggregation
COH             208186780014                Gas           Gov. Aggregation   DUKE         4330038738                  Gas           Gov. Aggregation
COH             198890300032                Gas           Gov. Aggregation   DUKE         4530038726                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             169726640024                Gas           Gov. Aggregation   DUKE         7630038742                  Gas           Gov. Aggregation
COH             197026040039                Gas           Gov. Aggregation   DUKE         9530038750                  Gas           Gov. Aggregation
COH             207670640017                Gas           Gov. Aggregation   DUKE         9230038754                  Gas           Gov. Aggregation
DEO             2180009840176               Gas           Gov. Aggregation   DUKE         6330038783                  Gas           Gov. Aggregation
DEO             4180011705610               Gas           Gov. Aggregation   DUKE         6530038739                  Gas           Gov. Aggregation
DEO             6180011338360               Gas           Gov. Aggregation   DUKE         6430038733                  Gas           Gov. Aggregation
DEO             8180013634883               Gas           Gov. Aggregation   DUKE         7530038760                  Gas           Gov. Aggregation
DEO             0180012933757               Gas           Gov. Aggregation   DUKE         4820038720                  Gas           Gov. Aggregation
DEO             9180011956883               Gas           Gov. Aggregation   DUKE         4920038731                  Gas           Gov. Aggregation
DEO             1180013855732               Gas           Gov. Aggregation   DUKE         5230038732                  Gas           Gov. Aggregation
DEO             9180009554563               Gas           Gov. Aggregation   DUKE         7130038755                  Gas           Gov. Aggregation
DEO             9180012746742               Gas           Gov. Aggregation   DUKE         8030038740                  Gas           Gov. Aggregation
DEO             1500050751682               Gas           Gov. Aggregation   DUKE         6230038732                  Gas           Gov. Aggregation
DEO             4180013876557               Gas           Gov. Aggregation   DUKE         8820038748                  Gas           Gov. Aggregation
DEO             4180013566002               Gas           Gov. Aggregation   DUKE         1030038764                  Gas           Gov. Aggregation
DEO             8180010686489               Gas           Gov. Aggregation   DUKE         2030038747                  Gas           Gov. Aggregation
DEO             7180012142651               Gas           Gov. Aggregation   DUKE         6130038746                  Gas           Gov. Aggregation
DEO             1180004937038               Gas           Gov. Aggregation   DUKE         9820038752                  Gas           Gov. Aggregation
DEO             3180013507557               Gas           Gov. Aggregation   DUKE         3170366805                  Gas           Gov. Aggregation
DEO             6180011412833               Gas           Gov. Aggregation   DUKE         3350038628                  Gas           Gov. Aggregation
DEO             1180012364715               Gas           Gov. Aggregation   DUKE         2350038625                  Gas           Gov. Aggregation
DEO             4440106144934               Gas           Gov. Aggregation   DUKE         5850038725                  Gas           Gov. Aggregation
DEO             2180010873123               Gas           Gov. Aggregation   DUKE         9850038732                  Gas           Gov. Aggregation
DEO             2180012998532               Gas           Gov. Aggregation   DUKE         6460038726                  Gas           Gov. Aggregation
DEO             9180010741459               Gas           Gov. Aggregation   DUKE         1950038732                  Gas           Gov. Aggregation
DEO             0180010835115               Gas           Gov. Aggregation   DUKE         2460038737                  Gas           Gov. Aggregation
DEO             2180009495960               Gas           Gov. Aggregation   DUKE         3460038734                  Gas           Gov. Aggregation
DEO             0180011807602               Gas           Gov. Aggregation   DUKE         5460038745                  Gas           Gov. Aggregation
DEO             2180010185575               Gas           Gov. Aggregation   DUKE         4460038738                  Gas           Gov. Aggregation
DEO             5180012806215               Gas           Gov. Aggregation   DUKE         1460038724                  Gas           Gov. Aggregation
DEO             0180011960498               Gas           Gov. Aggregation   DUKE         8270038726                  Gas           Gov. Aggregation
DEO             0180012850859               Gas           Gov. Aggregation   DUKE         3570038729                  Gas           Gov. Aggregation
DEO             2180011844797               Gas           Gov. Aggregation   DUKE         4170038741                  Gas           Gov. Aggregation
DEO             1180009759713               Gas           Gov. Aggregation   DUKE         3170038746                  Gas           Gov. Aggregation
DEO             1180012295755               Gas           Gov. Aggregation   DUKE         1380038732                  Gas           Gov. Aggregation
DEO             6180011958891               Gas           Gov. Aggregation   DUKE         9970038723                  Gas           Gov. Aggregation
DEO             6180009745922               Gas           Gov. Aggregation   DUKE         8280038724                  Gas           Gov. Aggregation
DEO             1180012095871               Gas           Gov. Aggregation   DUKE         7280038725                  Gas           Gov. Aggregation
DEO             7180009615485               Gas           Gov. Aggregation   DUKE         6280038745                  Gas           Gov. Aggregation
DEO             2180012095336               Gas           Gov. Aggregation   DUKE         4280038742                  Gas           Gov. Aggregation
DEO             0180011102520               Gas           Gov. Aggregation   DUKE         4060038730                  Gas           Gov. Aggregation
DEO             4180012976736               Gas           Gov. Aggregation   DUKE         6290211803                  Gas           Gov. Aggregation
DEO             8180012595055               Gas           Gov. Aggregation   DUKE         2260038743                  Gas           Gov. Aggregation
DEO             6180009857836               Gas           Gov. Aggregation   DUKE         8060038725                  Gas           Gov. Aggregation
DEO             6180013773824               Gas           Gov. Aggregation   DUKE         2160038723                  Gas           Gov. Aggregation
DEO             8500032216153               Gas           Gov. Aggregation   DUKE         3160038723                  Gas           Gov. Aggregation
DEO             8180010500605               Gas           Gov. Aggregation   DUKE         2470038728                  Gas           Gov. Aggregation
DEO             8180012997208               Gas           Gov. Aggregation   DUKE         1470038721                  Gas           Gov. Aggregation
DEO             8180009950814               Gas           Gov. Aggregation   DUKE         5370038725                  Gas           Gov. Aggregation
DEO             2180010326666               Gas           Gov. Aggregation   DUKE         9370038722                  Gas           Gov. Aggregation
DEO             4180013275041               Gas           Gov. Aggregation   DUKE         7180038726                  Gas           Gov. Aggregation
DEO             0180012702970               Gas           Gov. Aggregation   DUKE         2180038744                  Gas           Gov. Aggregation
DEO             7180012247681               Gas           Gov. Aggregation   DUKE         3180038726                  Gas           Gov. Aggregation
DEO             7180013803297               Gas           Gov. Aggregation   DUKE         4180038749                  Gas           Gov. Aggregation
DEO             8180011082935               Gas           Gov. Aggregation   DUKE         5180038762                  Gas           Gov. Aggregation
DEO             9180011657354               Gas           Gov. Aggregation   DUKE         6180038746                  Gas           Gov. Aggregation
DEO             9180013552404               Gas           Gov. Aggregation   DUKE         1180038721                  Gas           Gov. Aggregation
DEO             8180012032813               Gas           Gov. Aggregation   DUKE         6880038535                  Gas           Gov. Aggregation
DEO             8180011606166               Gas           Gov. Aggregation   DUKE         8290038538                  Gas           Gov. Aggregation
DEO             1180012555279               Gas           Gov. Aggregation   DUKE         6090038525                  Gas           Gov. Aggregation
DEO             3180010985785               Gas           Gov. Aggregation   DUKE         1190038520                  Gas           Gov. Aggregation
DEO             2180011754779               Gas           Gov. Aggregation   DUKE         5390038526                  Gas           Gov. Aggregation
DEO             4180013839908               Gas           Gov. Aggregation   DUKE         6790038525                  Gas           Gov. Aggregation
DEO             8180013082930               Gas           Gov. Aggregation   DUKE         4880038523                  Gas           Gov. Aggregation
DEO             1180010356157               Gas           Gov. Aggregation   DUKE         4090038521                  Gas           Gov. Aggregation
DEO             9180011779188               Gas           Gov. Aggregation   DUKE         4390038526                  Gas           Gov. Aggregation
DEO             3180009553919               Gas           Gov. Aggregation   DUKE         3880038520                  Gas           Gov. Aggregation
DEO             9180013540461               Gas           Gov. Aggregation   DUKE         1890038520                  Gas           Gov. Aggregation
DEO             2180011654949               Gas           Gov. Aggregation   DUKE         1880038520                  Gas           Gov. Aggregation
DEO             0180013611793               Gas           Gov. Aggregation   DUKE         1780038536                  Gas           Gov. Aggregation
DEO             8180011843125               Gas           Gov. Aggregation   DUKE         3090038521                  Gas           Gov. Aggregation
DEO             4180011235387               Gas           Gov. Aggregation   DUKE         1120020226                  Gas           Gov. Aggregation
DEO             8180013362523               Gas           Gov. Aggregation   DUKE         1210020221                  Gas           Gov. Aggregation
DEO             1180012908550               Gas           Gov. Aggregation   DUKE         3790020132                  Gas           Gov. Aggregation
DEO             6180012265079               Gas           Gov. Aggregation   DUKE         3810020228                  Gas           Gov. Aggregation
DEO             2180012615857               Gas           Gov. Aggregation   DUKE         2900020222                  Gas           Gov. Aggregation
DEO             9180000884437               Gas           Gov. Aggregation   DUKE         2790020121                  Gas           Gov. Aggregation
DEO             3180012925406               Gas           Gov. Aggregation   DUKE         2400020222                  Gas           Gov. Aggregation
DEO             0180000531019               Gas           Gov. Aggregation   DUKE         2120020222                  Gas           Gov. Aggregation
DEO             7180010093131               Gas           Gov. Aggregation   DUKE         2200020222                  Gas           Gov. Aggregation
DEO             9180010067725               Gas           Gov. Aggregation   DUKE         1810020222                  Gas           Gov. Aggregation
DEO             6180012426722               Gas           Gov. Aggregation   DUKE         1790020121                  Gas           Gov. Aggregation
DEO             4180013204259               Gas           Gov. Aggregation   DUKE         3910020221                  Gas           Gov. Aggregation
DEO             9180010341717               Gas           Gov. Aggregation   DUKE         3900020222                  Gas           Gov. Aggregation
DEO             3180011620523               Gas           Gov. Aggregation   DUKE         3400020232                  Gas           Gov. Aggregation
DEO             3180012994847               Gas           Gov. Aggregation   DUKE         5400020220                  Gas           Gov. Aggregation
DEO             4180013325696               Gas           Gov. Aggregation   DUKE         4790020122                  Gas           Gov. Aggregation
DEO             2180009519831               Gas           Gov. Aggregation   DUKE         4800020221                  Gas           Gov. Aggregation
DEO             8180011742134               Gas           Gov. Aggregation   DUKE         4810020220                  Gas           Gov. Aggregation
DEO             0180012514245               Gas           Gov. Aggregation   DUKE         4700020222                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             1180012469782               Gas           Gov. Aggregation   DUKE            4910020222                  Gas           Gov. Aggregation
DEO             2180011878786               Gas           Gov. Aggregation   DUKE            5010020225                  Gas           Gov. Aggregation
DEO             8180012514981               Gas           Gov. Aggregation   DUKE            9790020126                  Gas           Gov. Aggregation
DEO             6180011803821               Gas           Gov. Aggregation   DUKE            7210020225                  Gas           Gov. Aggregation
DEO             3180012453022               Gas           Gov. Aggregation   DUKE            7110020231                  Gas           Gov. Aggregation
DEO             6180012621286               Gas           Gov. Aggregation   DUKE            6910020222                  Gas           Gov. Aggregation
DEO             1500050768612               Gas           Gov. Aggregation   DUKE            6810020222                  Gas           Gov. Aggregation
DEO             1180013491135               Gas           Gov. Aggregation   DUKE            6690020123                  Gas           Gov. Aggregation
DEO             9180011977673               Gas           Gov. Aggregation   DUKE            1410020220                  Gas           Gov. Aggregation
DEO             3180013186787               Gas           Gov. Aggregation   DUKE            1400020221                  Gas           Gov. Aggregation
DEO             8180012849086               Gas           Gov. Aggregation   DUKE            1600020223                  Gas           Gov. Aggregation
DEO             0180013931666               Gas           Gov. Aggregation   DUKE            6500020222                  Gas           Gov. Aggregation
DEO             6180009587558               Gas           Gov. Aggregation   DUKE            7310020222                  Gas           Gov. Aggregation
DEO             5180010967321               Gas           Gov. Aggregation   DUKE            8090038537                  Gas           Gov. Aggregation
DEO             4180013118320               Gas           Gov. Aggregation   DUKE            8790038535                  Gas           Gov. Aggregation
DEO             9180011030464               Gas           Gov. Aggregation   DUKE            2090038527                  Gas           Gov. Aggregation
DEO             3180010034101               Gas           Gov. Aggregation   DUKE            5890038523                  Gas           Gov. Aggregation
DEO             7180011983657               Gas           Gov. Aggregation   DUKE            5980038522                  Gas           Gov. Aggregation
DEO             0180013530866               Gas           Gov. Aggregation   DUKE            2990038523                  Gas           Gov. Aggregation
DEO             4180012140917               Gas           Gov. Aggregation   DUKE            2980038522                  Gas           Gov. Aggregation
DEO             0180011733349               Gas           Gov. Aggregation   DUKE            9780038528                  Gas           Gov. Aggregation
DEO             8180013584332               Gas           Gov. Aggregation   DUKE            9980038523                  Gas           Gov. Aggregation
DEO             6180011983642               Gas           Gov. Aggregation   DUKE            9880038524                  Gas           Gov. Aggregation
DEO             6180010241661               Gas           Gov. Aggregation   DUKE            4110020225                  Gas           Gov. Aggregation
DEO             6180012039595               Gas           Gov. Aggregation   DUKE            3600020222                  Gas           Gov. Aggregation
DEO             5180010123630               Gas           Gov. Aggregation   DUKE            3410020239                  Gas           Gov. Aggregation
DEO             4180013968104               Gas           Gov. Aggregation   DUKE            5210020222                  Gas           Gov. Aggregation
DEO             4180010523244               Gas           Gov. Aggregation   DUKE            5300020224                  Gas           Gov. Aggregation
DEO             6180010035336               Gas           Gov. Aggregation   DUKE            7200020224                  Gas           Gov. Aggregation
DEO             8180011979269               Gas           Gov. Aggregation   DUKE            7010020221                  Gas           Gov. Aggregation
DEO             9180009893802               Gas           Gov. Aggregation   DUKE            6800020223                  Gas           Gov. Aggregation
DEO             5180012292764               Gas           Gov. Aggregation   DUKE            9110020231                  Gas           Gov. Aggregation
DEO             5180012543412               Gas           Gov. Aggregation   DUKE            9310020222                  Gas           Gov. Aggregation
DEO             2180010720670               Gas           Gov. Aggregation   DUKE            9600020222                  Gas           Gov. Aggregation
DEO             3180013188035               Gas           Gov. Aggregation   DUKE            9690020146                  Gas           Gov. Aggregation
DEO             7180010548674               Gas           Gov. Aggregation   COH             200659540028                Gas           Gov. Aggregation
DEO             9180013879172               Gas           Gov. Aggregation   COH             209293280011                Gas           Gov. Aggregation
DEO             7180010268245               Gas           Gov. Aggregation   COH             209150910010                Gas           Gov. Aggregation
DEO             7180010238312               Gas           Gov. Aggregation   COH             196316990072                Gas           Gov. Aggregation
DEO             5180009773761               Gas           Gov. Aggregation   COH             207936460011                Gas           Gov. Aggregation
DEO             0180010763937               Gas           Gov. Aggregation   COH             208493450012                Gas           Gov. Aggregation
DEO             4180011932699               Gas           Gov. Aggregation   COH             208688420015                Gas           Gov. Aggregation
DEO             5180010779549               Gas           Gov. Aggregation   COH             208168850017                Gas           Gov. Aggregation
DEO             1180013004424               Gas           Gov. Aggregation   COH             208786430015                Gas           Gov. Aggregation
DEO             8180014023056               Gas           Gov. Aggregation   COH             207849500017                Gas           Gov. Aggregation
DEO             1180009890891               Gas           Gov. Aggregation   COH             202740420037                Gas           Gov. Aggregation
DEO             0180009482530               Gas           Gov. Aggregation   COH             209150980016                Gas           Gov. Aggregation
DEO             6180013989200               Gas           Gov. Aggregation   COH             209110410019                Gas           Gov. Aggregation
DEO             0180011023763               Gas           Gov. Aggregation   COH             209007510017                Gas           Gov. Aggregation
DEO             0180009956322               Gas           Gov. Aggregation   COH             208010450014                Gas           Gov. Aggregation
DEO             0180013403410               Gas           Gov. Aggregation   COH             209038810019                Gas           Gov. Aggregation
DEO             2180010055789               Gas           Gov. Aggregation   COH             191013070045                Gas           Gov. Aggregation
DEO             7180013624201               Gas           Gov. Aggregation   COH             148242530019                Gas           Gov. Aggregation
DEO             7180013887541               Gas           Gov. Aggregation   COH             124423640047                Gas           Gov. Aggregation
DEO             5180012533690               Gas           Gov. Aggregation   COH             191256830023                Gas           Gov. Aggregation
DEO             0180012882472               Gas           Gov. Aggregation   COH             207618060019                Gas           Gov. Aggregation
DEO             0180010675135               Gas           Gov. Aggregation   COH             191657000036                Gas           Gov. Aggregation
DEO             0180010147960               Gas           Gov. Aggregation   COH             208531840018                Gas           Gov. Aggregation
DEO             9180013255698               Gas           Gov. Aggregation   COH             186666830030                Gas           Gov. Aggregation
DEO             6180010879651               Gas           Gov. Aggregation   COH             207889180011                Gas           Gov. Aggregation
DEO             7180013045451               Gas           Gov. Aggregation   COH             166349200083                Gas           Gov. Aggregation
DEO             5180013012886               Gas           Gov. Aggregation   COH             208561990014                Gas           Gov. Aggregation
DEO             0180012754038               Gas           Gov. Aggregation   COH             208952640018                Gas           Gov. Aggregation
DEO             6180013929472               Gas           Gov. Aggregation   COH             206615790013                Gas           Gov. Aggregation
DEO             2180013892930               Gas           Gov. Aggregation   COH             171974950039                Gas           Gov. Aggregation
DEO             8180002270263               Gas           Gov. Aggregation   COH             208431230018                Gas           Gov. Aggregation
DEO             0180012072112               Gas           Gov. Aggregation   COH             134511090044                Gas           Gov. Aggregation
DEO             8500050711457               Gas           Gov. Aggregation   COH             190450860044                Gas           Gov. Aggregation
DEO             9180012000182               Gas           Gov. Aggregation   COH             207750890024                Gas           Gov. Aggregation
DEO             4180012698049               Gas           Gov. Aggregation   COH             207916720018                Gas           Gov. Aggregation
DEO             0180012258327               Gas           Gov. Aggregation   COH             208229910014                Gas           Gov. Aggregation
DEO             6180012887285               Gas           Gov. Aggregation   COH             207763420016                Gas           Gov. Aggregation
DEO             8180011039113               Gas           Gov. Aggregation   COH             209126050012                Gas           Gov. Aggregation
DEO             4180009977491               Gas           Gov. Aggregation   COH             209244060010                Gas           Gov. Aggregation
DEO             3180013681321               Gas           Gov. Aggregation   COH             141712800067                Gas           Gov. Aggregation
DEO             4180013240191               Gas           Gov. Aggregation   COH             208703680017                Gas           Gov. Aggregation
DEO             9180011516030               Gas           Gov. Aggregation   COH             203295750023                Gas           Gov. Aggregation
DEO             8180010451490               Gas           Gov. Aggregation   COH             146512290046                Gas           Gov. Aggregation
DEO             5180012719918               Gas           Gov. Aggregation   COH             208421300014                Gas           Gov. Aggregation
DEO             3180009518242               Gas           Gov. Aggregation   COH             208501710018                Gas           Gov. Aggregation
DEO             3180011460084               Gas           Gov. Aggregation   COH             209235240011                Gas           Gov. Aggregation
DEO             5180013975065               Gas           Gov. Aggregation   COH             208269500016                Gas           Gov. Aggregation
DEO             2180013759917               Gas           Gov. Aggregation   COH             208776730013                Gas           Gov. Aggregation
DEO             0180012166272               Gas           Gov. Aggregation   COH             208317700011                Gas           Gov. Aggregation
DEO             7180013884101               Gas           Gov. Aggregation   COH             203466420029                Gas           Gov. Aggregation
DEO             4180012683057               Gas           Gov. Aggregation   COH             208612620012                Gas           Gov. Aggregation
DEO             2180011171112               Gas           Gov. Aggregation   COH             123638400016                Gas           Gov. Aggregation
DEO             7180013997394               Gas           Gov. Aggregation   COH             209126020018                Gas           Gov. Aggregation
DEO             4180013466558               Gas           Gov. Aggregation   COH             200147360030                Gas           Gov. Aggregation
DEO             9180012747637               Gas           Gov. Aggregation   COH             204224400024                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             3500050299749               Gas           Gov. Aggregation   COH             160869020058                Gas           Gov. Aggregation
DEO             7180012888589               Gas           Gov. Aggregation   COH             208004710012                Gas           Gov. Aggregation
COH             139687310014                Gas           Gov. Aggregation   COH             207607010012                Gas           Gov. Aggregation
COH             199404120029                Gas           Gov. Aggregation   COH             207524700013                Gas           Gov. Aggregation
COH             172859650062                Gas           Gov. Aggregation   COH             208954510011                Gas           Gov. Aggregation
COH             133288740052                Gas           Gov. Aggregation   COH             200426260020                Gas           Gov. Aggregation
COH             152928300044                Gas           Gov. Aggregation   COH             207671250017                Gas           Gov. Aggregation
COH             205502560011                Gas           Gov. Aggregation   COH             201245330055                Gas           Gov. Aggregation
COH             171821920109                Gas           Gov. Aggregation   COH             207884370011                Gas           Gov. Aggregation
COH             204841420013                Gas           Gov. Aggregation   COH             201809610023                Gas           Gov. Aggregation
COH             161690670032                Gas           Gov. Aggregation   COH             202383720069                Gas           Gov. Aggregation
COH             204799720011                Gas           Gov. Aggregation   COH             207971890017                Gas           Gov. Aggregation
COH             208183520014                Gas           Gov. Aggregation   COH             191656940031                Gas           Gov. Aggregation
COH             208464200015                Gas           Gov. Aggregation   COH             208381590010                Gas           Gov. Aggregation
COH             206778170019                Gas           Gov. Aggregation   COH             205305030038                Gas           Gov. Aggregation
COH             162156420026                Gas           Gov. Aggregation   COH             206066520023                Gas           Gov. Aggregation
COH             208636020018                Gas           Gov. Aggregation   COH             209150900012                Gas           Gov. Aggregation
COH             206034850012                Gas           Gov. Aggregation   COH             208026450011                Gas           Gov. Aggregation
COH             204742330012                Gas           Gov. Aggregation   COH             193656350042                Gas           Gov. Aggregation
COH             200047130021                Gas           Gov. Aggregation   COH             196466960044                Gas           Gov. Aggregation
COH             208385900016                Gas           Gov. Aggregation   COH             175845130049                Gas           Gov. Aggregation
COH             200637450023                Gas           Gov. Aggregation   COH             197925040024                Gas           Gov. Aggregation
COH             198492000075                Gas           Gov. Aggregation   COH             208587500012                Gas           Gov. Aggregation
COH             208256930013                Gas           Gov. Aggregation   COH             208785920014                Gas           Gov. Aggregation
COH             186864210049                Gas           Gov. Aggregation   COH             208796770013                Gas           Gov. Aggregation
COH             162000280025                Gas           Gov. Aggregation   COH             208721970018                Gas           Gov. Aggregation
COH             185908380050                Gas           Gov. Aggregation   COH             208668650019                Gas           Gov. Aggregation
COH             188817980072                Gas           Gov. Aggregation   COH             207879960018                Gas           Gov. Aggregation
COH             190465750064                Gas           Gov. Aggregation   COH             172243770026                Gas           Gov. Aggregation
COH             206005900012                Gas           Gov. Aggregation   COH             192993790029                Gas           Gov. Aggregation
COH             124280200043                Gas           Gov. Aggregation   COH             207782010012                Gas           Gov. Aggregation
COH             189680080026                Gas           Gov. Aggregation   COH             177629870059                Gas           Gov. Aggregation
COH             136372680026                Gas           Gov. Aggregation   COH             208222310014                Gas           Gov. Aggregation
COH             199944500052                Gas           Gov. Aggregation   COH             193134900033                Gas           Gov. Aggregation
COH             192670780061                Gas           Gov. Aggregation   COH             172060820096                Gas           Gov. Aggregation
COH             206788930018                Gas           Gov. Aggregation   COH             129859060952                Gas           Gov. Aggregation
COH             208684530010                Gas           Gov. Aggregation   COH             208508270017                Gas           Gov. Aggregation
COH             203156890028                Gas           Gov. Aggregation   COH             208692660016                Gas           Gov. Aggregation
COH             207368600016                Gas           Gov. Aggregation   COH             201809640027                Gas           Gov. Aggregation
COH             208615780013                Gas           Gov. Aggregation   COH             207739480015                Gas           Gov. Aggregation
COH             169246406839                Gas           Gov. Aggregation   COH             188284160039                Gas           Gov. Aggregation
COH             169246406848                Gas           Gov. Aggregation   COH             156731400073                Gas           Gov. Aggregation
COH             208229940018                Gas           Gov. Aggregation   COH             207473930032                Gas           Gov. Aggregation
COH             197045930023                Gas           Gov. Aggregation   COH             208916330019                Gas           Gov. Aggregation
COH             176587610045                Gas           Gov. Aggregation   COH             205394930041                Gas           Gov. Aggregation
COH             208674530011                Gas           Gov. Aggregation   COH             207558370012                Gas           Gov. Aggregation
COH             206491150011                Gas           Gov. Aggregation   COH             205238530027                Gas           Gov. Aggregation
COH             205431130012                Gas           Gov. Aggregation   COH             208887510014                Gas           Gov. Aggregation
COH             197324590069                Gas           Gov. Aggregation   COH             207906410014                Gas           Gov. Aggregation
COH             208342360010                Gas           Gov. Aggregation   COH             207936450013                Gas           Gov. Aggregation
COH             198406890016                Gas           Gov. Aggregation   COH             207865880014                Gas           Gov. Aggregation
COH             206405650017                Gas           Gov. Aggregation   COH             188918390063                Gas           Gov. Aggregation
COH             204608820013                Gas           Gov. Aggregation   COH             193086850082                Gas           Gov. Aggregation
COH             208178250021                Gas           Gov. Aggregation   COH             208178470016                Gas           Gov. Aggregation
COH             205081410016                Gas           Gov. Aggregation   COH             209142590015                Gas           Gov. Aggregation
COH             202461500041                Gas           Gov. Aggregation   COH             208487470011                Gas           Gov. Aggregation
COH             208061130014                Gas           Gov. Aggregation   COH             192669200038                Gas           Gov. Aggregation
COH             187837110046                Gas           Gov. Aggregation   COH             195120160036                Gas           Gov. Aggregation
COH             206713930015                Gas           Gov. Aggregation   COH             198266040030                Gas           Gov. Aggregation
COH             207462010010                Gas           Gov. Aggregation   COH             207998420019                Gas           Gov. Aggregation
COH             170652690028                Gas           Gov. Aggregation   COH             209064070010                Gas           Gov. Aggregation
COH             193350510028                Gas           Gov. Aggregation   COH             196541660029                Gas           Gov. Aggregation
COH             166631620031                Gas           Gov. Aggregation   COH             207684630010                Gas           Gov. Aggregation
COH             200813650036                Gas           Gov. Aggregation   COH             123725960078                Gas           Gov. Aggregation
COH             204838260014                Gas           Gov. Aggregation   COH             189718960039                Gas           Gov. Aggregation
COH             206777380017                Gas           Gov. Aggregation   COH             208651060018                Gas           Gov. Aggregation
COH             207780720017                Gas           Gov. Aggregation   COH             209069720013                Gas           Gov. Aggregation
COH             200466160045                Gas           Gov. Aggregation   COH             190614560012                Gas           Gov. Aggregation
COH             207090310016                Gas           Gov. Aggregation   COH             208043260015                Gas           Gov. Aggregation
COH             207838470017                Gas           Gov. Aggregation   COH             205238490017                Gas           Gov. Aggregation
COH             207656580010                Gas           Gov. Aggregation   COH             205896230017                Gas           Gov. Aggregation
COH             205942610027                Gas           Gov. Aggregation   COH             196101240109                Gas           Gov. Aggregation
COH             205622670112                Gas           Gov. Aggregation   COH             205937240035                Gas           Gov. Aggregation
COH             206580220017                Gas           Gov. Aggregation   COH             207906390019                Gas           Gov. Aggregation
COH             205090960012                Gas           Gov. Aggregation   COH             208576500015                Gas           Gov. Aggregation
COH             192781770022                Gas           Gov. Aggregation   COH             208959600012                Gas           Gov. Aggregation
COH             206667150018                Gas           Gov. Aggregation   COH             194851140032                Gas           Gov. Aggregation
COH             155746250093                Gas           Gov. Aggregation   COH             199500980025                Gas           Gov. Aggregation
COH             206651140013                Gas           Gov. Aggregation   COH             208592230036                Gas           Gov. Aggregation
COH             156862600047                Gas           Gov. Aggregation   COH             168026960031                Gas           Gov. Aggregation
COH             158184240085                Gas           Gov. Aggregation   COH             208967750014                Gas           Gov. Aggregation
COH             206120980012                Gas           Gov. Aggregation   COH             208474860016                Gas           Gov. Aggregation
COH             208342410019                Gas           Gov. Aggregation   COH             137062000444                Gas           Gov. Aggregation
COH             206997620010                Gas           Gov. Aggregation   COH             209356440013                Gas           Gov. Aggregation
COH             208688940016                Gas           Gov. Aggregation   COH             203839640031                Gas           Gov. Aggregation
COH             176733580032                Gas           Gov. Aggregation   COH             200688060215                Gas           Gov. Aggregation
COH             206854300019                Gas           Gov. Aggregation   COH             207098020020                Gas           Gov. Aggregation
COH             172839460046                Gas           Gov. Aggregation   COH             208678010012                Gas           Gov. Aggregation
COH             199208480057                Gas           Gov. Aggregation   COH             207983740013                Gas           Gov. Aggregation
COH             206577460014                Gas           Gov. Aggregation   COH             208372350019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             207711720012                Gas           Gov. Aggregation   COH             207906400025                Gas           Gov. Aggregation
COH             185367960047                Gas           Gov. Aggregation   COH             137854840163                Gas           Gov. Aggregation
COH             205798010039                Gas           Gov. Aggregation   COH             208604910018                Gas           Gov. Aggregation
COH             195960570101                Gas           Gov. Aggregation   COH             208983740012                Gas           Gov. Aggregation
COH             207346950028                Gas           Gov. Aggregation   COH             207528300019                Gas           Gov. Aggregation
COH             201985390037                Gas           Gov. Aggregation   COH             207669570015                Gas           Gov. Aggregation
COH             205310460037                Gas           Gov. Aggregation   COH             161706980103                Gas           Gov. Aggregation
COH             196625160026                Gas           Gov. Aggregation   COH             207298080024                Gas           Gov. Aggregation
COH             160801060132                Gas           Gov. Aggregation   COH             200294430043                Gas           Gov. Aggregation
COH             206358170019                Gas           Gov. Aggregation   COH             207804280036                Gas           Gov. Aggregation
COH             208229920012                Gas           Gov. Aggregation   COH             209330930014                Gas           Gov. Aggregation
COH             206944460015                Gas           Gov. Aggregation   COH             207676940012                Gas           Gov. Aggregation
COH             153028470028                Gas           Gov. Aggregation   COH             157577720064                Gas           Gov. Aggregation
COH             174296970021                Gas           Gov. Aggregation   COH             191256480045                Gas           Gov. Aggregation
COH             206454080023                Gas           Gov. Aggregation   COH             197373880038                Gas           Gov. Aggregation
COH             191050090043                Gas           Gov. Aggregation   COH             208932450010                Gas           Gov. Aggregation
COH             194039540058                Gas           Gov. Aggregation   COH             207896620013                Gas           Gov. Aggregation
COH             144280250030                Gas           Gov. Aggregation   COH             208248930010                Gas           Gov. Aggregation
COH             207932300012                Gas           Gov. Aggregation   COH             196165050025                Gas           Gov. Aggregation
COH             194333250028                Gas           Gov. Aggregation   COH             204671090032                Gas           Gov. Aggregation
COH             208005160016                Gas           Gov. Aggregation   COH             207373120016                Gas           Gov. Aggregation
COH             173425790052                Gas           Gov. Aggregation   COH             209318000015                Gas           Gov. Aggregation
COH             141533390028                Gas           Gov. Aggregation   COH             136184890067                Gas           Gov. Aggregation
COH             208295460010                Gas           Gov. Aggregation   COH             149500410060                Gas           Gov. Aggregation
COH             163491810023                Gas           Gov. Aggregation   COH             207648290018                Gas           Gov. Aggregation
COH             166192860042                Gas           Gov. Aggregation   COH             209165220014                Gas           Gov. Aggregation
COH             196818990032                Gas           Gov. Aggregation   COH             155186710263                Gas           Gov. Aggregation
COH             202220760010                Gas           Gov. Aggregation   COH             207859230013                Gas           Gov. Aggregation
COH             206702050013                Gas           Gov. Aggregation   COH             209226290010                Gas           Gov. Aggregation
COH             189579380037                Gas           Gov. Aggregation   COH             209226230012                Gas           Gov. Aggregation
COH             206280720018                Gas           Gov. Aggregation   COH             140495790045                Gas           Gov. Aggregation
COH             202913950020                Gas           Gov. Aggregation   COH             123709930023                Gas           Gov. Aggregation
COH             158427010050                Gas           Gov. Aggregation   COH             189345780038                Gas           Gov. Aggregation
COH             202090360039                Gas           Gov. Aggregation   COH             203848030058                Gas           Gov. Aggregation
COH             205692930012                Gas           Gov. Aggregation   COH             203970370021                Gas           Gov. Aggregation
COH             197304230039                Gas           Gov. Aggregation   COH             201987800054                Gas           Gov. Aggregation
COH             205132890017                Gas           Gov. Aggregation   COH             139881570072                Gas           Gov. Aggregation
COH             136456180041                Gas           Gov. Aggregation   COH             200856740046                Gas           Gov. Aggregation
COH             158025530044                Gas           Gov. Aggregation   COH             209296730010                Gas           Gov. Aggregation
COH             152748650070                Gas           Gov. Aggregation   COH             209100090018                Gas           Gov. Aggregation
COH             205419160012                Gas           Gov. Aggregation   COH             194570010026                Gas           Gov. Aggregation
COH             205983100037                Gas           Gov. Aggregation   COH             208791190015                Gas           Gov. Aggregation
COH             205983100019                Gas           Gov. Aggregation   COH             208834450018                Gas           Gov. Aggregation
COH             205804560011                Gas           Gov. Aggregation   COH             208431120011                Gas           Gov. Aggregation
COH             195856250038                Gas           Gov. Aggregation   COH             207831030013                Gas           Gov. Aggregation
COH             206623800013                Gas           Gov. Aggregation   COH             186688640034                Gas           Gov. Aggregation
COH             123907440053                Gas           Gov. Aggregation   COH             208593270018                Gas           Gov. Aggregation
COH             187757370060                Gas           Gov. Aggregation   COH             208564990018                Gas           Gov. Aggregation
COH             207607040016                Gas           Gov. Aggregation   COH             208856810016                Gas           Gov. Aggregation
COH             207389800010                Gas           Gov. Aggregation   COH             204143150029                Gas           Gov. Aggregation
COH             208645980018                Gas           Gov. Aggregation   COH             208595530019                Gas           Gov. Aggregation
COH             206722350036                Gas           Gov. Aggregation   COH             207637430011                Gas           Gov. Aggregation
COH             166358360081                Gas           Gov. Aggregation   COH             174790060033                Gas           Gov. Aggregation
COH             166344470032                Gas           Gov. Aggregation   COH             208317730024                Gas           Gov. Aggregation
COH             207414550018                Gas           Gov. Aggregation   COH             190228270021                Gas           Gov. Aggregation
COH             204613710015                Gas           Gov. Aggregation   COH             141179360044                Gas           Gov. Aggregation
COH             208059480016                Gas           Gov. Aggregation   COH             198518580032                Gas           Gov. Aggregation
COH             207955420019                Gas           Gov. Aggregation   COH             208255210016                Gas           Gov. Aggregation
COH             203622700037                Gas           Gov. Aggregation   COH             203754080020                Gas           Gov. Aggregation
COH             165479870025                Gas           Gov. Aggregation   COH             203865000021                Gas           Gov. Aggregation
COH             205565480016                Gas           Gov. Aggregation   COH             208122940014                Gas           Gov. Aggregation
COH             154441820045                Gas           Gov. Aggregation   COH             186882050045                Gas           Gov. Aggregation
COH             205166210027                Gas           Gov. Aggregation   COH             204959060038                Gas           Gov. Aggregation
COH             160341140033                Gas           Gov. Aggregation   COH             203245360039                Gas           Gov. Aggregation
COH             207026040018                Gas           Gov. Aggregation   COH             207543870018                Gas           Gov. Aggregation
COH             196771690071                Gas           Gov. Aggregation   COH             208512330015                Gas           Gov. Aggregation
COH             146230950054                Gas           Gov. Aggregation   COH             208168940018                Gas           Gov. Aggregation
COH             196590910032                Gas           Gov. Aggregation   COH             208551560015                Gas           Gov. Aggregation
COH             207587410012                Gas           Gov. Aggregation   COH             204021150036                Gas           Gov. Aggregation
COH             141662400157                Gas           Gov. Aggregation   COH             171928770034                Gas           Gov. Aggregation
COH             134106240014                Gas           Gov. Aggregation   COH             208801030015                Gas           Gov. Aggregation
COH             203677360052                Gas           Gov. Aggregation   COH             200005020013                Gas           Gov. Aggregation
COH             204956170013                Gas           Gov. Aggregation   COH             208138600012                Gas           Gov. Aggregation
COH             203261600016                Gas           Gov. Aggregation   COH             189968740027                Gas           Gov. Aggregation
COH             136313230462                Gas           Gov. Aggregation   COH             205612380025                Gas           Gov. Aggregation
COH             205904060014                Gas           Gov. Aggregation   COH             208760920016                Gas           Gov. Aggregation
COH             205246610014                Gas           Gov. Aggregation   COH             209126110019                Gas           Gov. Aggregation
COH             206808370012                Gas           Gov. Aggregation   COH             207831260015                Gas           Gov. Aggregation
COH             193500510056                Gas           Gov. Aggregation   COH             207831270013                Gas           Gov. Aggregation
COH             208033110017                Gas           Gov. Aggregation   COH             199958540037                Gas           Gov. Aggregation
COH             207992980014                Gas           Gov. Aggregation   COH             209318080019                Gas           Gov. Aggregation
COH             135391840023                Gas           Gov. Aggregation   COH             208609950010                Gas           Gov. Aggregation
COH             205477260046                Gas           Gov. Aggregation   COH             177240510209                Gas           Gov. Aggregation
COH             204620620019                Gas           Gov. Aggregation   COH             208499180017                Gas           Gov. Aggregation
COH             155375720028                Gas           Gov. Aggregation   COH             205721040025                Gas           Gov. Aggregation
COH             205966110022                Gas           Gov. Aggregation   COH             207742980013                Gas           Gov. Aggregation
COH             202690590020                Gas           Gov. Aggregation   COH             134794040028                Gas           Gov. Aggregation
COH             198484040047                Gas           Gov. Aggregation   COH             186361380157                Gas           Gov. Aggregation
COH             196076560027                Gas           Gov. Aggregation   COH             186312580050                Gas           Gov. Aggregation
COH             124014140030                Gas           Gov. Aggregation   COH             207680990031                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             202702310067                Gas           Gov. Aggregation   COH             206763870022                Gas           Gov. Aggregation
COH             205789600016                Gas           Gov. Aggregation   COH             207188330024                Gas           Gov. Aggregation
COH             206096940013                Gas           Gov. Aggregation   COH             197578570020                Gas           Gov. Aggregation
COH             206189610015                Gas           Gov. Aggregation   COH             208016610018                Gas           Gov. Aggregation
COH             207996500016                Gas           Gov. Aggregation   COH             209268040014                Gas           Gov. Aggregation
COH             208624330018                Gas           Gov. Aggregation   COH             209137240019                Gas           Gov. Aggregation
COH             124101380035                Gas           Gov. Aggregation   COH             208194540017                Gas           Gov. Aggregation
COH             200212020032                Gas           Gov. Aggregation   COH             208412550011                Gas           Gov. Aggregation
COH             208487520010                Gas           Gov. Aggregation   COH             208352800034                Gas           Gov. Aggregation
COH             205353150014                Gas           Gov. Aggregation   COH             209383240018                Gas           Gov. Aggregation
COH             206881430015                Gas           Gov. Aggregation   COH             208688510016                Gas           Gov. Aggregation
COH             207818940010                Gas           Gov. Aggregation   COH             208258040016                Gas           Gov. Aggregation
COH             158640280034                Gas           Gov. Aggregation   COH             207971870011                Gas           Gov. Aggregation
COH             203904930022                Gas           Gov. Aggregation   COH             150791770030                Gas           Gov. Aggregation
COH             124046510026                Gas           Gov. Aggregation   COH             204005500036                Gas           Gov. Aggregation
COH             199508120010                Gas           Gov. Aggregation   COH             208181110014                Gas           Gov. Aggregation
COH             206599460018                Gas           Gov. Aggregation   COH             205438810024                Gas           Gov. Aggregation
COH             123989780014                Gas           Gov. Aggregation   COH             123660960754                Gas           Gov. Aggregation
COH             174838460019                Gas           Gov. Aggregation   COH             199213600041                Gas           Gov. Aggregation
COH             202449890037                Gas           Gov. Aggregation   COH             207955340016                Gas           Gov. Aggregation
COH             208021290015                Gas           Gov. Aggregation   COH             209353860011                Gas           Gov. Aggregation
COH             207038890015                Gas           Gov. Aggregation   COH             203489150037                Gas           Gov. Aggregation
COH             207389790013                Gas           Gov. Aggregation   COH             188262680027                Gas           Gov. Aggregation
COH             207267200014                Gas           Gov. Aggregation   COH             186073830117                Gas           Gov. Aggregation
COH             177599010081                Gas           Gov. Aggregation   COH             208234480014                Gas           Gov. Aggregation
COH             207291570016                Gas           Gov. Aggregation   COH             208576490018                Gas           Gov. Aggregation
COH             207067590017                Gas           Gov. Aggregation   COH             195320420046                Gas           Gov. Aggregation
COH             189594620025                Gas           Gov. Aggregation   COH             191338870076                Gas           Gov. Aggregation
COH             208112920019                Gas           Gov. Aggregation   COH             163898850041                Gas           Gov. Aggregation
COH             208326570010                Gas           Gov. Aggregation   COH             208330160017                Gas           Gov. Aggregation
COH             190891460044                Gas           Gov. Aggregation   COH             140505340144                Gas           Gov. Aggregation
COH             206803800011                Gas           Gov. Aggregation   COH             208955840010                Gas           Gov. Aggregation
COH             199606810026                Gas           Gov. Aggregation   COH             207896740027                Gas           Gov. Aggregation
COH             205966190017                Gas           Gov. Aggregation   COH             208481130014                Gas           Gov. Aggregation
COH             206714980013                Gas           Gov. Aggregation   COH             185558290052                Gas           Gov. Aggregation
COH             206890060014                Gas           Gov. Aggregation   COH             197173390017                Gas           Gov. Aggregation
DUKE            3640061434                  Gas           Gov. Aggregation   COH             208129930012                Gas           Gov. Aggregation
DUKE            0640061425                  Gas           Gov. Aggregation   COH             207746090012                Gas           Gov. Aggregation
DUKE            0060061421                  Gas           Gov. Aggregation   COH             123664070048                Gas           Gov. Aggregation
DUKE            7720083320                  Gas           Gov. Aggregation   COH             198858970021                Gas           Gov. Aggregation
DUKE            1910081534                  Gas           Gov. Aggregation   COH             208830780017                Gas           Gov. Aggregation
DUKE            2950082740                  Gas           Gov. Aggregation   COH             208327030011                Gas           Gov. Aggregation
DUKE            0820082935                  Gas           Gov. Aggregation   COH             117956270081                Gas           Gov. Aggregation
DUKE            0970084625                  Gas           Gov. Aggregation   COH             208891820010                Gas           Gov. Aggregation
DUKE            9240081542                  Gas           Gov. Aggregation   COH             196688720062                Gas           Gov. Aggregation
DUKE            3280083230                  Gas           Gov. Aggregation   COH             207768920011                Gas           Gov. Aggregation
DUKE            2250084939                  Gas           Gov. Aggregation   COH             196485620054                Gas           Gov. Aggregation
DUKE            3470084025                  Gas           Gov. Aggregation   COH             209268050012                Gas           Gov. Aggregation
DUKE            8630082332                  Gas           Gov. Aggregation   COH             208568540014                Gas           Gov. Aggregation
DUKE            6570369615                  Gas           Gov. Aggregation   COH             209370530014                Gas           Gov. Aggregation
DUKE            2000369308                  Gas           Gov. Aggregation   COH             188185680049                Gas           Gov. Aggregation
DUKE            3980082137                  Gas           Gov. Aggregation   COH             203066700171                Gas           Gov. Aggregation
DUKE            6800379217                  Gas           Gov. Aggregation   COH             189376940119                Gas           Gov. Aggregation
DUKE            5980078535                  Gas           Gov. Aggregation   COH             156396600108                Gas           Gov. Aggregation
DUKE            5460078636                  Gas           Gov. Aggregation   COH             208047290011                Gas           Gov. Aggregation
DUKE            8290371505                  Gas           Gov. Aggregation   COH             123669670024                Gas           Gov. Aggregation
DUKE            4720367310                  Gas           Gov. Aggregation   COH             205777880022                Gas           Gov. Aggregation
DUKE            6530083934                  Gas           Gov. Aggregation   COH             209100100015                Gas           Gov. Aggregation
DUKE            3110086335                  Gas           Gov. Aggregation   COH             185359950135                Gas           Gov. Aggregation
DUKE            9980078534                  Gas           Gov. Aggregation   COH             166307980024                Gas           Gov. Aggregation
DUKE            3080080040                  Gas           Gov. Aggregation   COH             208712650014                Gas           Gov. Aggregation
DUKE            3420078642                  Gas           Gov. Aggregation   COH             208222270013                Gas           Gov. Aggregation
DUKE            5260061422                  Gas           Gov. Aggregation   COH             206812050029                Gas           Gov. Aggregation
DUKE            6260061428                  Gas           Gov. Aggregation   COH             207739540012                Gas           Gov. Aggregation
DUKE            7590393701                  Gas           Gov. Aggregation   COH             134012080026                Gas           Gov. Aggregation
DUKE            3900386602                  Gas           Gov. Aggregation   COH             166289520039                Gas           Gov. Aggregation
VEDO            4019091482674606            Gas           Gov. Aggregation   COH             197234240018                Gas           Gov. Aggregation
VEDO            4021102722680861            Gas           Gov. Aggregation   COH             199075370026                Gas           Gov. Aggregation
VEDO            4021111622682899            Gas           Gov. Aggregation   COH             169068070048                Gas           Gov. Aggregation
VEDO            4018455902530810            Gas           Gov. Aggregation   COH             123665320025                Gas           Gov. Aggregation
VEDO            4017272442467972            Gas           Gov. Aggregation   COH             191987080433                Gas           Gov. Aggregation
VEDO            4021421462684968            Gas           Gov. Aggregation   COH             186374780058                Gas           Gov. Aggregation
VEDO            4021276682684728            Gas           Gov. Aggregation   COH             208609930014                Gas           Gov. Aggregation
VEDO            4021169682537782            Gas           Gov. Aggregation   COH             185803660017                Gas           Gov. Aggregation
VEDO            4019501662209107            Gas           Gov. Aggregation   COH             195813810030                Gas           Gov. Aggregation
VEDO            4021093492230324            Gas           Gov. Aggregation   COH             208447390012                Gas           Gov. Aggregation
VEDO            4021057192583702            Gas           Gov. Aggregation   COH             200293480036                Gas           Gov. Aggregation
VEDO            4021180582595456            Gas           Gov. Aggregation   COH             207572550014                Gas           Gov. Aggregation
VEDO            4018093412589177            Gas           Gov. Aggregation   COH             206313490025                Gas           Gov. Aggregation
VEDO            4021262632590593            Gas           Gov. Aggregation   COH             145589610020                Gas           Gov. Aggregation
VEDO            4019944702598783            Gas           Gov. Aggregation   COH             208830900011                Gas           Gov. Aggregation
VEDO            4018388302152012            Gas           Gov. Aggregation   COH             209157660019                Gas           Gov. Aggregation
VEDO            4018406712648577            Gas           Gov. Aggregation   COH             208412580015                Gas           Gov. Aggregation
VEDO            4021204322671181            Gas           Gov. Aggregation   COH             205564800038                Gas           Gov. Aggregation
VEDO            4020313282604827            Gas           Gov. Aggregation   DUKE            2550036437                  Gas           Gov. Aggregation
VEDO            4018712222604826            Gas           Gov. Aggregation   DUKE            0290395902                  Gas           Gov. Aggregation
VEDO            4021296042648659            Gas           Gov. Aggregation   DUKE            0420384602                  Gas           Gov. Aggregation
VEDO            4016377582302139            Gas           Gov. Aggregation   DUKE            0200395802                  Gas           Gov. Aggregation
VEDO            4021227972228695            Gas           Gov. Aggregation   DUKE            0200055421                  Gas           Gov. Aggregation
VEDO            4018887492671501            Gas           Gov. Aggregation   DUKE            0440055422                  Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4016246592455044            Gas           Gov. Aggregation   DUKE            0320360603                  Gas           Gov. Aggregation
VEDO         4001726642517202            Gas           Gov. Aggregation   DUKE            0340058322                  Gas           Gov. Aggregation
VEDO         4017272862143181            Gas           Gov. Aggregation   DUKE            5930058322                  Gas           Gov. Aggregation
VEDO         4021405432632185            Gas           Gov. Aggregation   DUKE            5930395302                  Gas           Gov. Aggregation
VEDO         4021161772357913            Gas           Gov. Aggregation   DUKE            5910018421                  Gas           Gov. Aggregation
VEDO         4021265382558665            Gas           Gov. Aggregation   DUKE            5890055324                  Gas           Gov. Aggregation
VEDO         4003999512554551            Gas           Gov. Aggregation   DUKE            5980368305                  Gas           Gov. Aggregation
VEDO         4015946962536414            Gas           Gov. Aggregation   DUKE            6000058422                  Gas           Gov. Aggregation
VEDO         4017273782187843            Gas           Gov. Aggregation   DUKE            5850036421                  Gas           Gov. Aggregation
VEDO         4021120232445799            Gas           Gov. Aggregation   DUKE            3870018322                  Gas           Gov. Aggregation
VEDO         4021149192502064            Gas           Gov. Aggregation   DUKE            3880018352                  Gas           Gov. Aggregation
VEDO         4021095992394067            Gas           Gov. Aggregation   DUKE            3950390103                  Gas           Gov. Aggregation
VEDO         4019194832128709            Gas           Gov. Aggregation   DUKE            3990364206                  Gas           Gov. Aggregation
VEDO         4001133982366569            Gas           Gov. Aggregation   DUKE            3770394902                  Gas           Gov. Aggregation
VEDO         4021058372158667            Gas           Gov. Aggregation   DUKE            4040058321                  Gas           Gov. Aggregation
VEDO         4021082772349835            Gas           Gov. Aggregation   DUKE            4080395402                  Gas           Gov. Aggregation
VEDO         4021186762243320            Gas           Gov. Aggregation   DUKE            3900058422                  Gas           Gov. Aggregation
VEDO         4021303762288198            Gas           Gov. Aggregation   DUKE            1930058322                  Gas           Gov. Aggregation
VEDO         4021105172321208            Gas           Gov. Aggregation   DUKE            2040368205                  Gas           Gov. Aggregation
VEDO         4021166692209769            Gas           Gov. Aggregation   DUKE            1880018324                  Gas           Gov. Aggregation
VEDO         4016735292110135            Gas           Gov. Aggregation   DUKE            2000055426                  Gas           Gov. Aggregation
VEDO         4015397052163634            Gas           Gov. Aggregation   DUKE            2010363705                  Gas           Gov. Aggregation
VEDO         4021198482625097            Gas           Gov. Aggregation   DUKE            1970052130                  Gas           Gov. Aggregation
VEDO         4019226092240033            Gas           Gov. Aggregation   DUKE            3620224004                  Gas           Gov. Aggregation
VEDO         4018178982680634            Gas           Gov. Aggregation   DUKE            3470055428                  Gas           Gov. Aggregation
VEDO         4020298962679998            Gas           Gov. Aggregation   DUKE            3650018321                  Gas           Gov. Aggregation
VEDO         4004125012608186            Gas           Gov. Aggregation   DUKE            6550036435                  Gas           Gov. Aggregation
VEDO         4021403082529945            Gas           Gov. Aggregation   DUKE            6550058322                  Gas           Gov. Aggregation
VEDO         4021071892602156            Gas           Gov. Aggregation   DUKE            6450058334                  Gas           Gov. Aggregation
VEDO         4020177302610144            Gas           Gov. Aggregation   DUKE            6460388605                  Gas           Gov. Aggregation
VEDO         4021408812380914            Gas           Gov. Aggregation   DUKE            6670018320                  Gas           Gov. Aggregation
VEDO         4021216312255446            Gas           Gov. Aggregation   DUKE            6480036446                  Gas           Gov. Aggregation
VEDO         4019388332311652            Gas           Gov. Aggregation   DUKE            6610018329                  Gas           Gov. Aggregation
VEDO         4021042292507041            Gas           Gov. Aggregation   DUKE            5290018321                  Gas           Gov. Aggregation
VEDO         4019261782307761            Gas           Gov. Aggregation   DUKE            5280391203                  Gas           Gov. Aggregation
VEDO         4018394022250951            Gas           Gov. Aggregation   DUKE            6970381703                  Gas           Gov. Aggregation
VEDO         4002376302232569            Gas           Gov. Aggregation   DUKE            6740392902                  Gas           Gov. Aggregation
VEDO         4002116242430236            Gas           Gov. Aggregation   DUKE            7010396102                  Gas           Gov. Aggregation
VEDO         4020173512267685            Gas           Gov. Aggregation   DUKE            7020359905                  Gas           Gov. Aggregation
VEDO         4021410132352603            Gas           Gov. Aggregation   DUKE            6790018331                  Gas           Gov. Aggregation
VEDO         4018376072442284            Gas           Gov. Aggregation   DUKE            6790055323                  Gas           Gov. Aggregation
VEDO         4021097252477708            Gas           Gov. Aggregation   DUKE            6900209708                  Gas           Gov. Aggregation
VEDO         4020322242490365            Gas           Gov. Aggregation   DUKE            4160220604                  Gas           Gov. Aggregation
VEDO         4018866652483271            Gas           Gov. Aggregation   DUKE            4100353204                  Gas           Gov. Aggregation
VEDO         4019327992296706            Gas           Gov. Aggregation   DUKE            4200370203                  Gas           Gov. Aggregation
VEDO         4003401402336994            Gas           Gov. Aggregation   DUKE            4290018331                  Gas           Gov. Aggregation
VEDO         4021208232137873            Gas           Gov. Aggregation   DUKE            4150355903                  Gas           Gov. Aggregation
VEDO         4019375212347750            Gas           Gov. Aggregation   DUKE            7250058323                  Gas           Gov. Aggregation
VEDO         4021251852259907            Gas           Gov. Aggregation   DUKE            7220393802                  Gas           Gov. Aggregation
VEDO         4021058772131418            Gas           Gov. Aggregation   DUKE            7300055423                  Gas           Gov. Aggregation
VEDO         4003817962371021            Gas           Gov. Aggregation   DUKE            7060396502                  Gas           Gov. Aggregation
VEDO         4020868702223615            Gas           Gov. Aggregation   DUKE            6180221604                  Gas           Gov. Aggregation
VEDO         4003565262145626            Gas           Gov. Aggregation   DUKE            6200055420                  Gas           Gov. Aggregation
VEDO         4017453452265618            Gas           Gov. Aggregation   DUKE            6180018320                  Gas           Gov. Aggregation
VEDO         4017886892124152            Gas           Gov. Aggregation   DUKE            6140058321                  Gas           Gov. Aggregation
VEDO         4017404852162059            Gas           Gov. Aggregation   DUKE            6230366503                  Gas           Gov. Aggregation
VEDO         4001988522461026            Gas           Gov. Aggregation   VEDO            4001415072138902            Gas           Gov. Aggregation
VEDO         4021329142479383            Gas           Gov. Aggregation   COH             130593410011                Gas           Gov. Aggregation
VEDO         4021396032436831            Gas           Gov. Aggregation   COH             127478820032                Gas           Gov. Aggregation
VEDO         4019320732282853            Gas           Gov. Aggregation   COH             162568800023                Gas           Gov. Aggregation
VEDO         4001891112117453            Gas           Gov. Aggregation   COH             133644980010                Gas           Gov. Aggregation
VEDO         4001891112184544            Gas           Gov. Aggregation   COH             111223590010                Gas           Gov. Aggregation
VEDO         4016017012437805            Gas           Gov. Aggregation   VEDO            4021448772269320            Gas           Gov. Aggregation
VEDO         4017350142345572            Gas           Gov. Aggregation   DUKE            7600018423                  Gas           Gov. Aggregation
VEDO         4019387772191155            Gas           Gov. Aggregation   DUKE            7610018422                  Gas           Gov. Aggregation
VEDO         4021215912142013            Gas           Gov. Aggregation   DUKE            7580394704                  Gas           Gov. Aggregation
VEDO         4021033932213647            Gas           Gov. Aggregation   DUKE            7380393801                  Gas           Gov. Aggregation
VEDO         4017107082415685            Gas           Gov. Aggregation   DUKE            7550393102                  Gas           Gov. Aggregation
VEDO         4021186992440536            Gas           Gov. Aggregation   DUKE            7450036424                  Gas           Gov. Aggregation
VEDO         4019381612379353            Gas           Gov. Aggregation   DUKE            7860367503                  Gas           Gov. Aggregation
VEDO         4021041592401386            Gas           Gov. Aggregation   DUKE            7850055424                  Gas           Gov. Aggregation
VEDO         4021106002200734            Gas           Gov. Aggregation   DUKE            7940018321                  Gas           Gov. Aggregation
VEDO         4003591182215454            Gas           Gov. Aggregation   DUKE            7930058321                  Gas           Gov. Aggregation
VEDO         4003790892378081            Gas           Gov. Aggregation   DUKE            8000392602                  Gas           Gov. Aggregation
VEDO         4001035162379590            Gas           Gov. Aggregation   DUKE            7990058322                  Gas           Gov. Aggregation
VEDO         4020284632305052            Gas           Gov. Aggregation   DUKE            7750055441                  Gas           Gov. Aggregation
VEDO         4018854572179052            Gas           Gov. Aggregation   DUKE            8380018322                  Gas           Gov. Aggregation
VEDO         4021185352443088            Gas           Gov. Aggregation   DUKE            8340055422                  Gas           Gov. Aggregation
VEDO         4019351082490724            Gas           Gov. Aggregation   DUKE            8300055421                  Gas           Gov. Aggregation
VEDO         4021049522257960            Gas           Gov. Aggregation   DUKE            8100055420                  Gas           Gov. Aggregation
VEDO         4018987602500313            Gas           Gov. Aggregation   DUKE            8400361503                  Gas           Gov. Aggregation
VEDO         4001528732344254            Gas           Gov. Aggregation   DUKE            8410052227                  Gas           Gov. Aggregation
VEDO         4020211052205071            Gas           Gov. Aggregation   DUKE            8550018322                  Gas           Gov. Aggregation
VEDO         4021225322106722            Gas           Gov. Aggregation   DUKE            8830058326                  Gas           Gov. Aggregation
VEDO         4003836852383051            Gas           Gov. Aggregation   DUKE            8840397002                  Gas           Gov. Aggregation
VEDO         4004030422441435            Gas           Gov. Aggregation   DUKE            8940361202                  Gas           Gov. Aggregation
VEDO         4015725672107776            Gas           Gov. Aggregation   DUKE            8930058320                  Gas           Gov. Aggregation
VEDO         4020145952485805            Gas           Gov. Aggregation   DUKE            9010052224                  Gas           Gov. Aggregation
VEDO         4018436062261652            Gas           Gov. Aggregation   DUKE            8800055423                  Gas           Gov. Aggregation
VEDO         4004843582140835            Gas           Gov. Aggregation   DUKE            9010394002                  Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4017388352316778            Gas           Gov. Aggregation   DUKE            9190018333                  Gas           Gov. Aggregation
VEDO         4020016022516045            Gas           Gov. Aggregation   DUKE            9160018323                  Gas           Gov. Aggregation
VEDO         4021233952281765            Gas           Gov. Aggregation   DUKE            9160055427                  Gas           Gov. Aggregation
VEDO         4021412622466365            Gas           Gov. Aggregation   DUKE            9280395602                  Gas           Gov. Aggregation
VEDO         4016611552244606            Gas           Gov. Aggregation   DUKE            9340055421                  Gas           Gov. Aggregation
VEDO         4021298532592200            Gas           Gov. Aggregation   DUKE            9280018324                  Gas           Gov. Aggregation
VEDO         4021214332592205            Gas           Gov. Aggregation   DUKE            9300058424                  Gas           Gov. Aggregation
VEDO         4019158592592131            Gas           Gov. Aggregation   DUKE            9550360203                  Gas           Gov. Aggregation
VEDO         4021246242513334            Gas           Gov. Aggregation   DUKE            9620393802                  Gas           Gov. Aggregation
VEDO         4018865952302219            Gas           Gov. Aggregation   DUKE            9410396102                  Gas           Gov. Aggregation
VEDO         4019202932105100            Gas           Gov. Aggregation   DUKE            9410018430                  Gas           Gov. Aggregation
VEDO         4021021472435817            Gas           Gov. Aggregation   DUKE            9410211507                  Gas           Gov. Aggregation
VEDO         4016127912452061            Gas           Gov. Aggregation   DUKE            9580213608                  Gas           Gov. Aggregation
VEDO         4021239572293362            Gas           Gov. Aggregation   DUKE            9590392102                  Gas           Gov. Aggregation
VEDO         4020889512406177            Gas           Gov. Aggregation   DUKE            9970018323                  Gas           Gov. Aggregation
VEDO         4021235112408661            Gas           Gov. Aggregation   DUKE            9830058321                  Gas           Gov. Aggregation
VEDO         4020027342300829            Gas           Gov. Aggregation   DUKE            9880058320                  Gas           Gov. Aggregation
VEDO         4021421712286575            Gas           Gov. Aggregation   DUKE            9710352603                  Gas           Gov. Aggregation
VEDO         4004166652587283            Gas           Gov. Aggregation   DUKE            9770052125                  Gas           Gov. Aggregation
VEDO         4001105962598480            Gas           Gov. Aggregation   DUKE            2720058326                  Gas           Gov. Aggregation
VEDO         4021094962448544            Gas           Gov. Aggregation   DUKE            5140382601                  Gas           Gov. Aggregation
VEDO         4021004662176532            Gas           Gov. Aggregation   DUKE            0600058422                  Gas           Gov. Aggregation
VEDO         4021226322149515            Gas           Gov. Aggregation   DUKE            2570395702                  Gas           Gov. Aggregation
VEDO         4020044802412880            Gas           Gov. Aggregation   DUKE            0450055425                  Gas           Gov. Aggregation
VEDO         4021112392111214            Gas           Gov. Aggregation   DUKE            4300058432                  Gas           Gov. Aggregation
VEDO         4021185412527076            Gas           Gov. Aggregation   DUKE            7580036456                  Gas           Gov. Aggregation
VEDO         4021311832617656            Gas           Gov. Aggregation   DUKE            8610018327                  Gas           Gov. Aggregation
VEDO         4004638482624135            Gas           Gov. Aggregation   DUKE            5150018322                  Gas           Gov. Aggregation
VEDO         4016321962584179            Gas           Gov. Aggregation   DUKE            6890058334                  Gas           Gov. Aggregation
VEDO         4018513652624132            Gas           Gov. Aggregation   DEO             1500064139006               Gas           Gov. Aggregation
VEDO         4019796022624129            Gas           Gov. Aggregation   DEO             1500064586409               Gas           Gov. Aggregation
VEDO         4021406512625630            Gas           Gov. Aggregation   DEO             1500064873501               Gas           Gov. Aggregation
VEDO         4004321642625606            Gas           Gov. Aggregation   DEO             1500064993931               Gas           Gov. Aggregation
VEDO         4019422712625611            Gas           Gov. Aggregation   DEO             0180000484621               Gas           Gov. Aggregation
VEDO         4021293692625610            Gas           Gov. Aggregation   DEO             0180003992861               Gas           Gov. Aggregation
VEDO         4021272642626429            Gas           Gov. Aggregation   DEO             2180002726128               Gas           Gov. Aggregation
VEDO         4021039642626455            Gas           Gov. Aggregation   DEO             1500066698746               Gas           Gov. Aggregation
VEDO         4021051922626457            Gas           Gov. Aggregation   DEO             9500062491529               Gas           Gov. Aggregation
VEDO         4021052012626452            Gas           Gov. Aggregation   DEO             5180004956661               Gas           Gov. Aggregation
VEDO         4021229062587276            Gas           Gov. Aggregation   DEO             5180004689304               Gas           Gov. Aggregation
VEDO         4003815672598519            Gas           Gov. Aggregation   DEO             4180009665241               Gas           Gov. Aggregation
VEDO         4019810502598525            Gas           Gov. Aggregation   DEO             4180009368197               Gas           Gov. Aggregation
VEDO         4021158312598538            Gas           Gov. Aggregation   DEO             5180010791853               Gas           Gov. Aggregation
VEDO         4001637462611365            Gas           Gov. Aggregation   DEO             1180009636869               Gas           Gov. Aggregation
VEDO         4018600082226857            Gas           Gov. Aggregation   DEO             7180009644998               Gas           Gov. Aggregation
VEDO         4016597032479721            Gas           Gov. Aggregation   DEO             1180008646823               Gas           Gov. Aggregation
VEDO         4021114002435734            Gas           Gov. Aggregation   DEO             7180008707186               Gas           Gov. Aggregation
VEDO         4020858192501501            Gas           Gov. Aggregation   DEO             1180013918768               Gas           Gov. Aggregation
VEDO         4021038842680516            Gas           Gov. Aggregation   DEO             1442002343944               Gas           Gov. Aggregation
VEDO         4021086892509416            Gas           Gov. Aggregation   DEO             9180012584467               Gas           Gov. Aggregation
VEDO         4020785322159942            Gas           Gov. Aggregation   DEO             3500061875514               Gas           Gov. Aggregation
VEDO         4021405782370988            Gas           Gov. Aggregation   DEO             3500063572826               Gas           Gov. Aggregation
VEDO         4019460712359515            Gas           Gov. Aggregation   DEO             4180002239871               Gas           Gov. Aggregation
VEDO         4020203822132218            Gas           Gov. Aggregation   DEO             1180007301303               Gas           Gov. Aggregation
VEDO         4021107822357988            Gas           Gov. Aggregation   DEO             4180010778599               Gas           Gov. Aggregation
VEDO         4018909592170542            Gas           Gov. Aggregation   COH             123845700032                Gas           Gov. Aggregation
VEDO         4021081112282102            Gas           Gov. Aggregation   COH             190353150012                Gas           Gov. Aggregation
VEDO         4015168362303897            Gas           Gov. Aggregation   VEDO            4002083022676251            Gas           Gov. Aggregation
VEDO         4021311342497904            Gas           Gov. Aggregation   COH             188414460011                Gas           Gov. Aggregation
VEDO         4003519512216158            Gas           Gov. Aggregation   COH             135848420031                Gas           Gov. Aggregation
VEDO         4018123622185553            Gas           Gov. Aggregation   COH             159280910016                Gas           Gov. Aggregation
VEDO         4017473032467351            Gas           Gov. Aggregation   COH             140576880026                Gas           Gov. Aggregation
VEDO         4020009762423492            Gas           Gov. Aggregation   COH             160866880045                Gas           Gov. Aggregation
VEDO         4016331452326214            Gas           Gov. Aggregation   COH             165528160038                Gas           Gov. Aggregation
VEDO         4004485852464756            Gas           Gov. Aggregation   COH             210122010015                Gas           Gov. Aggregation
VEDO         4002408532235750            Gas           Gov. Aggregation   DEO             8180015218866               Gas           Gov. Aggregation
VEDO         4017529912305037            Gas           Gov. Aggregation   COH             120170830011                Gas           Gov. Aggregation
VEDO         4021042092347501            Gas           Gov. Aggregation   VEDO            4004593992465766            Gas           Gov. Aggregation
VEDO         4015263882428348            Gas           Gov. Aggregation   DEO             6180017472835               Gas           Gov. Aggregation
VEDO         4017025622215867            Gas           Gov. Aggregation   DEO             3500013230366               Gas           Gov. Aggregation
VEDO         4001928572415097            Gas           Gov. Aggregation   DEO             3180015102959               Gas           Gov. Aggregation
VEDO         4019733822323112            Gas           Gov. Aggregation   DEO             2180017569717               Gas           Gov. Aggregation
VEDO         4003955412163318            Gas           Gov. Aggregation   DEO             5500043738054               Gas           Gov. Aggregation
VEDO         4018792312417107            Gas           Gov. Aggregation   VEDO            4019128022533522            Gas           Gov. Aggregation
VEDO         4021061362433738            Gas           Gov. Aggregation   COH             150784600012                Gas           Gov. Aggregation
VEDO         4015057612372398            Gas           Gov. Aggregation   VEDO            4002047032199995            Gas           Gov. Aggregation
VEDO         4015908272617790            Gas           Gov. Aggregation   DEO             7500040486552               Gas           Gov. Aggregation
VEDO         4005141352445860            Gas           Gov. Aggregation   VEDO            4005059362517405            Gas           Gov. Aggregation
VEDO         4021098302206421            Gas           Gov. Aggregation   COH             185569100021                Gas           Gov. Aggregation
VEDO         4003658322251916            Gas           Gov. Aggregation   COH             206673020012                Gas           Gov. Aggregation
VEDO         4021066032371103            Gas           Gov. Aggregation   COH             190344990104                Gas           Gov. Aggregation
VEDO         4021196842425195            Gas           Gov. Aggregation   COH             209161010016                Gas           Gov. Aggregation
VEDO         4021223312308867            Gas           Gov. Aggregation   COH             189583790023                Gas           Gov. Aggregation
VEDO         4020897102213308            Gas           Gov. Aggregation   COH             206445300016                Gas           Gov. Aggregation
VEDO         4003913332314086            Gas           Gov. Aggregation   COH             195282190172                Gas           Gov. Aggregation
VEDO         4019151872274256            Gas           Gov. Aggregation   COH             203122030038                Gas           Gov. Aggregation
VEDO         4018153382524230            Gas           Gov. Aggregation   COH             209038650013                Gas           Gov. Aggregation
VEDO         4016435602372335            Gas           Gov. Aggregation   COH             188894442133                Gas           Gov. Aggregation
VEDO         4020009182249033            Gas           Gov. Aggregation   COH             207394280019                Gas           Gov. Aggregation
VEDO         4019009042203128            Gas           Gov. Aggregation   COH             207185710011                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4017298742200795            Gas           Gov. Aggregation   COH             203210850048                Gas           Gov. Aggregation
VEDO         4016423012515804            Gas           Gov. Aggregation   COH             207490320016                Gas           Gov. Aggregation
VEDO         4019413922244280            Gas           Gov. Aggregation   COH             207757010015                Gas           Gov. Aggregation
VEDO         4003650602147755            Gas           Gov. Aggregation   COH             206289340010                Gas           Gov. Aggregation
VEDO         4001227202259984            Gas           Gov. Aggregation   COH             205490830011                Gas           Gov. Aggregation
VEDO         4020285422135926            Gas           Gov. Aggregation   COH             206148890013                Gas           Gov. Aggregation
VEDO         4016625012311729            Gas           Gov. Aggregation   COH             209096020013                Gas           Gov. Aggregation
VEDO         4021191342450825            Gas           Gov. Aggregation   COH             207640970011                Gas           Gov. Aggregation
VEDO         4021415782177579            Gas           Gov. Aggregation   COH             206735460018                Gas           Gov. Aggregation
VEDO         4020177032460394            Gas           Gov. Aggregation   COH             206478990013                Gas           Gov. Aggregation
VEDO         4016937012129950            Gas           Gov. Aggregation   COH             200585740078                Gas           Gov. Aggregation
VEDO         4020844962249937            Gas           Gov. Aggregation   COH             197947260068                Gas           Gov. Aggregation
VEDO         4005093122240847            Gas           Gov. Aggregation   COH             206451090036                Gas           Gov. Aggregation
VEDO         4017853062230369            Gas           Gov. Aggregation   COH             207923570015                Gas           Gov. Aggregation
VEDO         4018193132677150            Gas           Gov. Aggregation   COH             208258400010                Gas           Gov. Aggregation
VEDO         4018908482133894            Gas           Gov. Aggregation   COH             205791580016                Gas           Gov. Aggregation
VEDO         4019380992172586            Gas           Gov. Aggregation   COH             206412720017                Gas           Gov. Aggregation
VEDO         4016025172139679            Gas           Gov. Aggregation   COH             174843860032                Gas           Gov. Aggregation
VEDO         4021425732141058            Gas           Gov. Aggregation   COH             207737360014                Gas           Gov. Aggregation
VEDO         4020144882238222            Gas           Gov. Aggregation   COH             207094310018                Gas           Gov. Aggregation
VEDO         4002206752215797            Gas           Gov. Aggregation   COH             209004470012                Gas           Gov. Aggregation
VEDO         4018655422475663            Gas           Gov. Aggregation   COH             200410790031                Gas           Gov. Aggregation
VEDO         4021176252207071            Gas           Gov. Aggregation   COH             207609090021                Gas           Gov. Aggregation
VEDO         4018984452326973            Gas           Gov. Aggregation   COH             209116140014                Gas           Gov. Aggregation
VEDO         4021058032222318            Gas           Gov. Aggregation   COH             207744060021                Gas           Gov. Aggregation
VEDO         4021164032426691            Gas           Gov. Aggregation   COH             170905520099                Gas           Gov. Aggregation
VEDO         4021163822341284            Gas           Gov. Aggregation   COH             206613050012                Gas           Gov. Aggregation
VEDO         4020875242178587            Gas           Gov. Aggregation   COH             206253950017                Gas           Gov. Aggregation
VEDO         4021212612435445            Gas           Gov. Aggregation   COH             209040050014                Gas           Gov. Aggregation
VEDO         4021286752158630            Gas           Gov. Aggregation   COH             176636510069                Gas           Gov. Aggregation
VEDO         4018058322269375            Gas           Gov. Aggregation   COH             204255210029                Gas           Gov. Aggregation
VEDO         4015117472346309            Gas           Gov. Aggregation   COH             206427060033                Gas           Gov. Aggregation
VEDO         4018907142321771            Gas           Gov. Aggregation   COH             198897690028                Gas           Gov. Aggregation
VEDO         4003724722301849            Gas           Gov. Aggregation   COH             205699440011                Gas           Gov. Aggregation
VEDO         4018718552306894            Gas           Gov. Aggregation   COH             208063000017                Gas           Gov. Aggregation
VEDO         4002682742403703            Gas           Gov. Aggregation   COH             209245760011                Gas           Gov. Aggregation
VEDO         4018398612113166            Gas           Gov. Aggregation   COH             208804600019                Gas           Gov. Aggregation
VEDO         4019941942342668            Gas           Gov. Aggregation   COH             204972610034                Gas           Gov. Aggregation
VEDO         4003839082490435            Gas           Gov. Aggregation   COH             209280430016                Gas           Gov. Aggregation
VEDO         4021302412109123            Gas           Gov. Aggregation   COH             207002390015                Gas           Gov. Aggregation
VEDO         4015200872207748            Gas           Gov. Aggregation   COH             207184320015                Gas           Gov. Aggregation
VEDO         4021052982398020            Gas           Gov. Aggregation   COH             207002390033                Gas           Gov. Aggregation
VEDO         4021112812603039            Gas           Gov. Aggregation   COH             111215230021                Gas           Gov. Aggregation
VEDO         4003713062371488            Gas           Gov. Aggregation   COH             207350320030                Gas           Gov. Aggregation
VEDO         4021053782328836            Gas           Gov. Aggregation   COH             205880820016                Gas           Gov. Aggregation
VEDO         4021287832523069            Gas           Gov. Aggregation   COH             202419690023                Gas           Gov. Aggregation
VEDO         4018061312208135            Gas           Gov. Aggregation   COH             209222770017                Gas           Gov. Aggregation
VEDO         4021174702322788            Gas           Gov. Aggregation   COH             208370110013                Gas           Gov. Aggregation
VEDO         4021052732496011            Gas           Gov. Aggregation   COH             205446310013                Gas           Gov. Aggregation
VEDO         4019361082433812            Gas           Gov. Aggregation   COH             206372210010                Gas           Gov. Aggregation
VEDO         4021229252389151            Gas           Gov. Aggregation   COH             205495820013                Gas           Gov. Aggregation
VEDO         4021070372426673            Gas           Gov. Aggregation   COH             207613950012                Gas           Gov. Aggregation
VEDO         4002108402276382            Gas           Gov. Aggregation   COH             207636330014                Gas           Gov. Aggregation
VEDO         4017688982201890            Gas           Gov. Aggregation   COH             188666210083                Gas           Gov. Aggregation
VEDO         4018247312206171            Gas           Gov. Aggregation   COH             208354740015                Gas           Gov. Aggregation
VEDO         4018941832508248            Gas           Gov. Aggregation   COH             208226310016                Gas           Gov. Aggregation
VEDO         4020247802258999            Gas           Gov. Aggregation   COH             203020370024                Gas           Gov. Aggregation
VEDO         4021087462510984            Gas           Gov. Aggregation   COH             201206690034                Gas           Gov. Aggregation
VEDO         4016744542118460            Gas           Gov. Aggregation   COH             208019230012                Gas           Gov. Aggregation
VEDO         4017866712241221            Gas           Gov. Aggregation   COH             207210420017                Gas           Gov. Aggregation
VEDO         4021154412430602            Gas           Gov. Aggregation   COH             208647670019                Gas           Gov. Aggregation
VEDO         4003516112409802            Gas           Gov. Aggregation   COH             207654020020                Gas           Gov. Aggregation
VEDO         4017034802349756            Gas           Gov. Aggregation   COH             205603880010                Gas           Gov. Aggregation
VEDO         4021100282188763            Gas           Gov. Aggregation   COH             163030980079                Gas           Gov. Aggregation
VEDO         4001661852397815            Gas           Gov. Aggregation   COH             209232410011                Gas           Gov. Aggregation
VEDO         4021278972270982            Gas           Gov. Aggregation   COH             205873910012                Gas           Gov. Aggregation
VEDO         4019265522471799            Gas           Gov. Aggregation   COH             207344270016                Gas           Gov. Aggregation
VEDO         4021092482636744            Gas           Gov. Aggregation   COH             209143020012                Gas           Gov. Aggregation
VEDO         4017121982527395            Gas           Gov. Aggregation   COH             155236320053                Gas           Gov. Aggregation
VEDO         4021219552674540            Gas           Gov. Aggregation   COH             208205250013                Gas           Gov. Aggregation
VEDO         4018049352286263            Gas           Gov. Aggregation   COH             207824620014                Gas           Gov. Aggregation
VEDO         4016685982312803            Gas           Gov. Aggregation   COH             207484430016                Gas           Gov. Aggregation
VEDO         4021180222508996            Gas           Gov. Aggregation   COH             208560030017                Gas           Gov. Aggregation
VEDO         4018567312268478            Gas           Gov. Aggregation   COH             185041600024                Gas           Gov. Aggregation
VEDO         4021078542376172            Gas           Gov. Aggregation   COH             207302050010                Gas           Gov. Aggregation
VEDO         4019279692361698            Gas           Gov. Aggregation   COH             201037590034                Gas           Gov. Aggregation
VEDO         4016826782441628            Gas           Gov. Aggregation   COH             193624260048                Gas           Gov. Aggregation
VEDO         4017659592420538            Gas           Gov. Aggregation   COH             195784270037                Gas           Gov. Aggregation
VEDO         4016204172313508            Gas           Gov. Aggregation   COH             209172020011                Gas           Gov. Aggregation
VEDO         4021410202247355            Gas           Gov. Aggregation   COH             204599610027                Gas           Gov. Aggregation
VEDO         4018579052487092            Gas           Gov. Aggregation   COH             208625840019                Gas           Gov. Aggregation
VEDO         4021210932150603            Gas           Gov. Aggregation   COH             207332560010                Gas           Gov. Aggregation
VEDO         4021117332199980            Gas           Gov. Aggregation   COH             208771350013                Gas           Gov. Aggregation
VEDO         4021064732100404            Gas           Gov. Aggregation   COH             209343030016                Gas           Gov. Aggregation
VEDO         4021060522124326            Gas           Gov. Aggregation   COH             207539920016                Gas           Gov. Aggregation
VEDO         4019182852119171            Gas           Gov. Aggregation   COH             205501460014                Gas           Gov. Aggregation
VEDO         4021268432448190            Gas           Gov. Aggregation   COH             188377780032                Gas           Gov. Aggregation
VEDO         4017429452424904            Gas           Gov. Aggregation   COH             208119240018                Gas           Gov. Aggregation
VEDO         4016365172115568            Gas           Gov. Aggregation   COH             193964590021                Gas           Gov. Aggregation
VEDO         4021246042113025            Gas           Gov. Aggregation   COH             111233380013                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4020018792524817            Gas           Gov. Aggregation   COH             206268750018                Gas           Gov. Aggregation
VEDO         4010039102425832            Gas           Gov. Aggregation   COH             205343320019                Gas           Gov. Aggregation
VEDO         4003239942120711            Gas           Gov. Aggregation   COH             193824190021                Gas           Gov. Aggregation
VEDO         4003239942439457            Gas           Gov. Aggregation   COH             203808940015                Gas           Gov. Aggregation
VEDO         4021197902493599            Gas           Gov. Aggregation   COH             207068000018                Gas           Gov. Aggregation
VEDO         4021117662188849            Gas           Gov. Aggregation   COH             202852520011                Gas           Gov. Aggregation
VEDO         4017799612351129            Gas           Gov. Aggregation   COH             205584210012                Gas           Gov. Aggregation
VEDO         4001964002257442            Gas           Gov. Aggregation   COH             205243320011                Gas           Gov. Aggregation
VEDO         4021172962352951            Gas           Gov. Aggregation   COH             185772190148                Gas           Gov. Aggregation
VEDO         4021071842490255            Gas           Gov. Aggregation   DEO             1180014661342               Gas           Gov. Aggregation
VEDO         4021311212144783            Gas           Gov. Aggregation   DEO             5180014548349               Gas           Gov. Aggregation
VEDO         4020102662179359            Gas           Gov. Aggregation   DEO             9180011403392               Gas           Gov. Aggregation
VEDO         4017118522361774            Gas           Gov. Aggregation   DEO             3180014031921               Gas           Gov. Aggregation
VEDO         4021215362319204            Gas           Gov. Aggregation   DEO             9180014447331               Gas           Gov. Aggregation
VEDO         4021414932447075            Gas           Gov. Aggregation   DEO             4180014849107               Gas           Gov. Aggregation
VEDO         4003972392394114            Gas           Gov. Aggregation   DEO             4180015106630               Gas           Gov. Aggregation
VEDO         4017407182368966            Gas           Gov. Aggregation   DEO             7180014236689               Gas           Gov. Aggregation
VEDO         4021265482155947            Gas           Gov. Aggregation   DEO             7180014287631               Gas           Gov. Aggregation
VEDO         4021062242526373            Gas           Gov. Aggregation   DEO             1180015028752               Gas           Gov. Aggregation
VEDO         4016025532352256            Gas           Gov. Aggregation   COH             191677400049                Gas           Gov. Aggregation
VEDO         4017424122356046            Gas           Gov. Aggregation   COH             208797820010                Gas           Gov. Aggregation
VEDO         4015586642178104            Gas           Gov. Aggregation   COH             190741580046                Gas           Gov. Aggregation
VEDO         4021198972397254            Gas           Gov. Aggregation   COH             175768700043                Gas           Gov. Aggregation
VEDO         4017174422488009            Gas           Gov. Aggregation   COH             208928280015                Gas           Gov. Aggregation
VEDO         4015313532255961            Gas           Gov. Aggregation   COH             209113420011                Gas           Gov. Aggregation
VEDO         4021292502497384            Gas           Gov. Aggregation   COH             209022950013                Gas           Gov. Aggregation
VEDO         4020205042118140            Gas           Gov. Aggregation   COH             203575310012                Gas           Gov. Aggregation
VEDO         4021101372219361            Gas           Gov. Aggregation   COH             203367580017                Gas           Gov. Aggregation
VEDO         4021409422494906            Gas           Gov. Aggregation   COH             208462070017                Gas           Gov. Aggregation
VEDO         4016140712503167            Gas           Gov. Aggregation   COH             208892270014                Gas           Gov. Aggregation
VEDO         4021101412185274            Gas           Gov. Aggregation   COH             208099660023                Gas           Gov. Aggregation
VEDO         4019019762413343            Gas           Gov. Aggregation   COH             121971370046                Gas           Gov. Aggregation
VEDO         4002275112513274            Gas           Gov. Aggregation   COH             208809830011                Gas           Gov. Aggregation
VEDO         4015846312451723            Gas           Gov. Aggregation   COH             204712480023                Gas           Gov. Aggregation
VEDO         4021079432417642            Gas           Gov. Aggregation   COH             188780910020                Gas           Gov. Aggregation
VEDO         4019946652169957            Gas           Gov. Aggregation   COH             209140120017                Gas           Gov. Aggregation
VEDO         4019938192220721            Gas           Gov. Aggregation   COH             131726650017                Gas           Gov. Aggregation
VEDO         4003176512275303            Gas           Gov. Aggregation   COH             170153440331                Gas           Gov. Aggregation
VEDO         4021228192221946            Gas           Gov. Aggregation   COH             208288370023                Gas           Gov. Aggregation
VEDO         4018852082275527            Gas           Gov. Aggregation   COH             207654720014                Gas           Gov. Aggregation
VEDO         4004485252460369            Gas           Gov. Aggregation   COH             168001590013                Gas           Gov. Aggregation
VEDO         4020042962279569            Gas           Gov. Aggregation   COH             208997170013                Gas           Gov. Aggregation
VEDO         4021300782125160            Gas           Gov. Aggregation   COH             208951320017                Gas           Gov. Aggregation
VEDO         4017375102397053            Gas           Gov. Aggregation   COH             202816690012                Gas           Gov. Aggregation
VEDO         4015245612121499            Gas           Gov. Aggregation   COH             197422320049                Gas           Gov. Aggregation
VEDO         4021086692427072            Gas           Gov. Aggregation   COH             121994180011                Gas           Gov. Aggregation
VEDO         4018179672267011            Gas           Gov. Aggregation   COH             137180470035                Gas           Gov. Aggregation
VEDO         4018003322334219            Gas           Gov. Aggregation   COH             145073620049                Gas           Gov. Aggregation
VEDO         4021279732452329            Gas           Gov. Aggregation   COH             163496530059                Gas           Gov. Aggregation
VEDO         4017067742258408            Gas           Gov. Aggregation   COH             164751480039                Gas           Gov. Aggregation
VEDO         4018498872113324            Gas           Gov. Aggregation   COH             167633940057                Gas           Gov. Aggregation
VEDO         4021204882240007            Gas           Gov. Aggregation   COH             205851390027                Gas           Gov. Aggregation
VEDO         4020784822132051            Gas           Gov. Aggregation   COH             206184040015                Gas           Gov. Aggregation
VEDO         4019949462683508            Gas           Gov. Aggregation   COH             206272870014                Gas           Gov. Aggregation
VEDO         4003841702383602            Gas           Gov. Aggregation   COH             207156170016                Gas           Gov. Aggregation
VEDO         4021025472414457            Gas           Gov. Aggregation   COH             208099910011                Gas           Gov. Aggregation
VEDO         4021292082495401            Gas           Gov. Aggregation   COH             208099920019                Gas           Gov. Aggregation
VEDO         4020224862476281            Gas           Gov. Aggregation   COH             208476000012                Gas           Gov. Aggregation
VEDO         4021199832349870            Gas           Gov. Aggregation   COH             204768560029                Gas           Gov. Aggregation
VEDO         4021293042245369            Gas           Gov. Aggregation   COH             164080190113                Gas           Gov. Aggregation
VEDO         4021239562511013            Gas           Gov. Aggregation   COH             186531330021                Gas           Gov. Aggregation
VEDO         4021074322275134            Gas           Gov. Aggregation   COH             208949320012                Gas           Gov. Aggregation
VEDO         4021074322273693            Gas           Gov. Aggregation   COH             165248270048                Gas           Gov. Aggregation
VEDO         4019786362470632            Gas           Gov. Aggregation   COH             209180570019                Gas           Gov. Aggregation
VEDO         4021079242306992            Gas           Gov. Aggregation   COH             187972820050                Gas           Gov. Aggregation
VEDO         4017522212384527            Gas           Gov. Aggregation   COH             209143390015                Gas           Gov. Aggregation
VEDO         4021054192357627            Gas           Gov. Aggregation   COH             208773760031                Gas           Gov. Aggregation
VEDO         4021231302461149            Gas           Gov. Aggregation   COH             138691650533                Gas           Gov. Aggregation
VEDO         4021073442507639            Gas           Gov. Aggregation   COH             186933740032                Gas           Gov. Aggregation
VEDO         4021086462527256            Gas           Gov. Aggregation   COH             208879500013                Gas           Gov. Aggregation
VEDO         4002312552118166            Gas           Gov. Aggregation   COH             208212220014                Gas           Gov. Aggregation
VEDO         4021070422212179            Gas           Gov. Aggregation   COH             149382011494                Gas           Gov. Aggregation
VEDO         4015458032584362            Gas           Gov. Aggregation   COH             204060780014                Gas           Gov. Aggregation
VEDO         4021395852683017            Gas           Gov. Aggregation   COH             209068430016                Gas           Gov. Aggregation
VEDO         4001875742593050            Gas           Gov. Aggregation   COH             199153440016                Gas           Gov. Aggregation
VEDO         4003197712683044            Gas           Gov. Aggregation   COH             200210820010                Gas           Gov. Aggregation
VEDO         4003644022676772            Gas           Gov. Aggregation   COH             209191990018                Gas           Gov. Aggregation
VEDO         4021024472676771            Gas           Gov. Aggregation   COH             209096950018                Gas           Gov. Aggregation
VEDO         4003218042680652            Gas           Gov. Aggregation   COH             121976690049                Gas           Gov. Aggregation
VEDO         4017618282676806            Gas           Gov. Aggregation   COH             207003350039                Gas           Gov. Aggregation
VEDO         4016167412334374            Gas           Gov. Aggregation   COH             208951290014                Gas           Gov. Aggregation
VEDO         4015684952322870            Gas           Gov. Aggregation   COH             205280500033                Gas           Gov. Aggregation
VEDO         4021202012334398            Gas           Gov. Aggregation   COH             203156320027                Gas           Gov. Aggregation
VEDO         4020145972338539            Gas           Gov. Aggregation   COH             201978050033                Gas           Gov. Aggregation
VEDO         4016411672273208            Gas           Gov. Aggregation   COH             208836460012                Gas           Gov. Aggregation
VEDO         4019435132161865            Gas           Gov. Aggregation   COH             196281450016                Gas           Gov. Aggregation
VEDO         4021028742201958            Gas           Gov. Aggregation   COH             209201230014                Gas           Gov. Aggregation
VEDO         4002916752428969            Gas           Gov. Aggregation   COH             198421450025                Gas           Gov. Aggregation
VEDO         4016629132149958            Gas           Gov. Aggregation   COH             206486890035                Gas           Gov. Aggregation
VEDO         4002644852207116            Gas           Gov. Aggregation   COH             201594630035                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4015190302450072            Gas           Gov. Aggregation   COH             200143180027                Gas           Gov. Aggregation
VEDO            4021421792489346            Gas           Gov. Aggregation   COH             152682140193                Gas           Gov. Aggregation
VEDO            4003682892332033            Gas           Gov. Aggregation   COH             208109100018                Gas           Gov. Aggregation
VEDO            4021114692376989            Gas           Gov. Aggregation   COH             209040540011                Gas           Gov. Aggregation
VEDO            4017649332237713            Gas           Gov. Aggregation   COH             208965920012                Gas           Gov. Aggregation
VEDO            4004444292494121            Gas           Gov. Aggregation   COH             203996240024                Gas           Gov. Aggregation
VEDO            4018186392533132            Gas           Gov. Aggregation   COH             207102050014                Gas           Gov. Aggregation
VEDO            4001161792121330            Gas           Gov. Aggregation   COH             208942400019                Gas           Gov. Aggregation
VEDO            4020863912433115            Gas           Gov. Aggregation   COH             206360150018                Gas           Gov. Aggregation
VEDO            4020078722321059            Gas           Gov. Aggregation   COH             203717520034                Gas           Gov. Aggregation
COH             205636710016                Gas           Gov. Aggregation   COH             206808150018                Gas           Gov. Aggregation
COH             161459790073                Gas           Gov. Aggregation   COH             208874520019                Gas           Gov. Aggregation
COH             108814330025                Gas           Gov. Aggregation   COH             209241100017                Gas           Gov. Aggregation
COH             108788340020                Gas           Gov. Aggregation   COH             209241110015                Gas           Gov. Aggregation
COH             163337230012                Gas           Gov. Aggregation   COH             195473310037                Gas           Gov. Aggregation
COH             207383500015                Gas           Gov. Aggregation   COH             202020720012                Gas           Gov. Aggregation
COH             207714370010                Gas           Gov. Aggregation   COH             203708690038                Gas           Gov. Aggregation
COH             108834410026                Gas           Gov. Aggregation   COH             206831580019                Gas           Gov. Aggregation
COH             207125120011                Gas           Gov. Aggregation   COH             205595690046                Gas           Gov. Aggregation
COH             206590400018                Gas           Gov. Aggregation   COH             196651870022                Gas           Gov. Aggregation
COH             197353930011                Gas           Gov. Aggregation   COH             208845980014                Gas           Gov. Aggregation
COH             201254760038                Gas           Gov. Aggregation   COH             165405810022                Gas           Gov. Aggregation
COH             205183980011                Gas           Gov. Aggregation   COH             122019442662                Gas           Gov. Aggregation
COH             168821700039                Gas           Gov. Aggregation   COH             208884550012                Gas           Gov. Aggregation
COH             207164490012                Gas           Gov. Aggregation   COH             190254710032                Gas           Gov. Aggregation
COH             207726010010                Gas           Gov. Aggregation   COH             208815950013                Gas           Gov. Aggregation
COH             202449840028                Gas           Gov. Aggregation   COH             208983540014                Gas           Gov. Aggregation
COH             208514370013                Gas           Gov. Aggregation   COH             209172540012                Gas           Gov. Aggregation
COH             127247350094                Gas           Gov. Aggregation   COH             208874510011                Gas           Gov. Aggregation
COH             108835000020                Gas           Gov. Aggregation   COH             198375190056                Gas           Gov. Aggregation
COH             208194940013                Gas           Gov. Aggregation   COH             207840940022                Gas           Gov. Aggregation
COH             207525060016                Gas           Gov. Aggregation   COH             172580800025                Gas           Gov. Aggregation
COH             205575500010                Gas           Gov. Aggregation   COH             209074940016                Gas           Gov. Aggregation
COH             208457240012                Gas           Gov. Aggregation   COH             209033410013                Gas           Gov. Aggregation
COH             207962130033                Gas           Gov. Aggregation   COH             208984110012                Gas           Gov. Aggregation
COH             207245670030                Gas           Gov. Aggregation   COH             208965780012                Gas           Gov. Aggregation
COH             205013030019                Gas           Gov. Aggregation   COH             208910870018                Gas           Gov. Aggregation
COH             205558390010                Gas           Gov. Aggregation   COH             208860480017                Gas           Gov. Aggregation
COH             207346860018                Gas           Gov. Aggregation   COH             199567490028                Gas           Gov. Aggregation
COH             108787910059                Gas           Gov. Aggregation   COH             208976650016                Gas           Gov. Aggregation
COH             176663770059                Gas           Gov. Aggregation   COH             176419520012                Gas           Gov. Aggregation
COH             207135540012                Gas           Gov. Aggregation   COH             204173960026                Gas           Gov. Aggregation
COH             203893270017                Gas           Gov. Aggregation   COH             197146100041                Gas           Gov. Aggregation
COH             207303070014                Gas           Gov. Aggregation   COH             186332880037                Gas           Gov. Aggregation
COH             208409700016                Gas           Gov. Aggregation   COH             208855540015                Gas           Gov. Aggregation
COH             174278500045                Gas           Gov. Aggregation   COH             111172260018                Gas           Gov. Aggregation
COH             208561940014                Gas           Gov. Aggregation   COH             204878660025                Gas           Gov. Aggregation
COH             207442770013                Gas           Gov. Aggregation   COH             207689880018                Gas           Gov. Aggregation
COH             207729910015                Gas           Gov. Aggregation   COH             208868630019                Gas           Gov. Aggregation
COH             207601680014                Gas           Gov. Aggregation   COH             208879410012                Gas           Gov. Aggregation
COH             207721040014                Gas           Gov. Aggregation   COH             208798820018                Gas           Gov. Aggregation
COH             207830890015                Gas           Gov. Aggregation   COH             204631880021                Gas           Gov. Aggregation
COH             158360910053                Gas           Gov. Aggregation   COH             187409420075                Gas           Gov. Aggregation
COH             208252060014                Gas           Gov. Aggregation   COH             202008390018                Gas           Gov. Aggregation
COH             205387420016                Gas           Gov. Aggregation   COH             202647940018                Gas           Gov. Aggregation
COH             206824090017                Gas           Gov. Aggregation   COH             202705490019                Gas           Gov. Aggregation
COH             206265760012                Gas           Gov. Aggregation   COH             203299960012                Gas           Gov. Aggregation
COH             208537110019                Gas           Gov. Aggregation   COH             204165860024                Gas           Gov. Aggregation
COH             163452450030                Gas           Gov. Aggregation   COH             207952730010                Gas           Gov. Aggregation
COH             205615780016                Gas           Gov. Aggregation   COH             131714450014                Gas           Gov. Aggregation
COH             200004900038                Gas           Gov. Aggregation   COH             133337150024                Gas           Gov. Aggregation
COH             205589890010                Gas           Gov. Aggregation   COH             133363470013                Gas           Gov. Aggregation
COH             208258550019                Gas           Gov. Aggregation   COH             191164380014                Gas           Gov. Aggregation
COH             206877650018                Gas           Gov. Aggregation   DUKE            5310055422                  Gas           Gov. Aggregation
COH             208628330010                Gas           Gov. Aggregation   COH             124522700017                Gas           Gov. Aggregation
COH             203190530067                Gas           Gov. Aggregation   COH             111264850037                Gas           Gov. Aggregation
COH             207955290017                Gas           Gov. Aggregation   COH             111282420011                Gas           Gov. Aggregation
COH             194222980039                Gas           Gov. Aggregation   COH             111283190036                Gas           Gov. Aggregation
COH             204738830016                Gas           Gov. Aggregation   DEO             2180014191940               Gas           Gov. Aggregation
COH             207638590016                Gas           Gov. Aggregation   DEO             4180014254465               Gas           Gov. Aggregation
COH             169029160023                Gas           Gov. Aggregation   DEO             3180014724543               Gas           Gov. Aggregation
COH             205466290034                Gas           Gov. Aggregation   DEO             0180013748887               Gas           Gov. Aggregation
COH             170890150018                Gas           Gov. Aggregation   DEO             2180015111999               Gas           Gov. Aggregation
COH             193651290081                Gas           Gov. Aggregation   DEO             9180014701766               Gas           Gov. Aggregation
COH             200899080036                Gas           Gov. Aggregation   DEO             9180014376305               Gas           Gov. Aggregation
COH             206813510011                Gas           Gov. Aggregation   DEO             9180014314463               Gas           Gov. Aggregation
COH             176688450081                Gas           Gov. Aggregation   DEO             5180014903305               Gas           Gov. Aggregation
COH             208668060013                Gas           Gov. Aggregation   DEO             6180015190322               Gas           Gov. Aggregation
COH             176688450072                Gas           Gov. Aggregation   DEO             7180014780970               Gas           Gov. Aggregation
COH             169029160032                Gas           Gov. Aggregation   DEO             3180014859223               Gas           Gov. Aggregation
COH             197711790020                Gas           Gov. Aggregation   DEO             7180014410874               Gas           Gov. Aggregation
COH             202557860052                Gas           Gov. Aggregation   DEO             5180014072444               Gas           Gov. Aggregation
COH             205547540011                Gas           Gov. Aggregation   DEO             4180015053881               Gas           Gov. Aggregation
COH             144412960021                Gas           Gov. Aggregation   DEO             1180014153716               Gas           Gov. Aggregation
COH             207552380012                Gas           Gov. Aggregation   DEO             7180014508094               Gas           Gov. Aggregation
COH             108792080035                Gas           Gov. Aggregation   DEO             2180014400149               Gas           Gov. Aggregation
COH             203997120018                Gas           Gov. Aggregation   DEO             9180014175682               Gas           Gov. Aggregation
COH             170789040169                Gas           Gov. Aggregation   DEO             2180014202556               Gas           Gov. Aggregation
COH             195153730028                Gas           Gov. Aggregation   DEO             7180015202669               Gas           Gov. Aggregation
COH             206469980014                Gas           Gov. Aggregation   DEO             1180015122056               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             207211800015                Gas           Gov. Aggregation   DEO             9180014252711               Gas           Gov. Aggregation
COH             207322960026                Gas           Gov. Aggregation   DEO             5180014815512               Gas           Gov. Aggregation
COH             207499710016                Gas           Gov. Aggregation   DEO             0180014670306               Gas           Gov. Aggregation
COH             207758510018                Gas           Gov. Aggregation   DEO             0180014531626               Gas           Gov. Aggregation
COH             207577600013                Gas           Gov. Aggregation   DEO             2180014148700               Gas           Gov. Aggregation
COH             206124450015                Gas           Gov. Aggregation   DEO             6180014646827               Gas           Gov. Aggregation
COH             208354720019                Gas           Gov. Aggregation   DEO             3180013588911               Gas           Gov. Aggregation
COH             148752640024                Gas           Gov. Aggregation   DEO             0180015009046               Gas           Gov. Aggregation
COH             115831590017                Gas           Gov. Aggregation   VEDO            4001362902134070            Gas           Gov. Aggregation
COH             155288770014                Gas           Gov. Aggregation   DEO             8500063134095               Gas           Gov. Aggregation
VEDO            4017641742361478            Gas           Gov. Aggregation   DEO             7180002642535               Gas           Gov. Aggregation
VEDO            4018789282143392            Gas           Gov. Aggregation   DEO             2180015055354               Gas           Gov. Aggregation
VEDO            4002410922235954            Gas           Gov. Aggregation   DEO             4180014204782               Gas           Gov. Aggregation
VEDO            4003441312217125            Gas           Gov. Aggregation   DEO             9180013595959               Gas           Gov. Aggregation
COH             146317510016                Gas           Gov. Aggregation   DEO             5180015099940               Gas           Gov. Aggregation
VEDO            4002813632607658            Gas           Gov. Aggregation   DEO             8180014064357               Gas           Gov. Aggregation
COH             207691570018                Gas           Gov. Aggregation   COH             194952520010                Gas           Gov. Aggregation
COH             157695150064                Gas           Gov. Aggregation   VEDO            4003125022282690            Gas           Gov. Aggregation
COH             205769100022                Gas           Gov. Aggregation   COH             163620810028                Gas           Gov. Aggregation
COH             206881310010                Gas           Gov. Aggregation   DEO             7180003932106               Gas           Gov. Aggregation
COH             208193830018                Gas           Gov. Aggregation   DEO             2180014906673               Gas           Gov. Aggregation
COH             207291410019                Gas           Gov. Aggregation   DEO             9500023364738               Gas           Gov. Aggregation
COH             207971580012                Gas           Gov. Aggregation   VEDO            4017474082518252            Gas           Gov. Aggregation
COH             158609460087                Gas           Gov. Aggregation   DEO             8442105250361               Gas           Gov. Aggregation
COH             206322330010                Gas           Gov. Aggregation   DEO             4180016268573               Gas           Gov. Aggregation
COH             209868680018                Gas           Gov. Aggregation   DEO             2180017368070               Gas           Gov. Aggregation
COH             207879860019                Gas           Gov. Aggregation   VEDO            4019447752310365            Gas           Gov. Aggregation
COH             208903120010                Gas           Gov. Aggregation   COH             113546590023                Gas           Gov. Aggregation
COH             207081090021                Gas           Gov. Aggregation   COH             124503670023                Gas           Gov. Aggregation
COH             208676150017                Gas           Gov. Aggregation   COH             206075640029                Gas           Gov. Aggregation
COH             207924020018                Gas           Gov. Aggregation   COH             125591890021                Gas           Gov. Aggregation
COH             161651920022                Gas           Gov. Aggregation   COH             208995610014                Gas           Gov. Aggregation
COH             163532080109                Gas           Gov. Aggregation   COH             208644060013                Gas           Gov. Aggregation
COH             206309290017                Gas           Gov. Aggregation   COH             161257570013                Gas           Gov. Aggregation
COH             109473050018                Gas           Gov. Aggregation   COH             176320240092                Gas           Gov. Aggregation
COH             197273550020                Gas           Gov. Aggregation   COH             192717960054                Gas           Gov. Aggregation
COH             208199310015                Gas           Gov. Aggregation   COH             208672900017                Gas           Gov. Aggregation
COH             194693220013                Gas           Gov. Aggregation   COH             155579770035                Gas           Gov. Aggregation
COH             194708600010                Gas           Gov. Aggregation   COH             135433110071                Gas           Gov. Aggregation
COH             167220640028                Gas           Gov. Aggregation   COH             165421400015                Gas           Gov. Aggregation
COH             208214640012                Gas           Gov. Aggregation   COH             205212800024                Gas           Gov. Aggregation
COH             205010060028                Gas           Gov. Aggregation   COH             136546870090                Gas           Gov. Aggregation
COH             208619640014                Gas           Gov. Aggregation   COH             208706680011                Gas           Gov. Aggregation
COH             204250130035                Gas           Gov. Aggregation   COH             210867430019                Gas           Gov. Aggregation
COH             209765690014                Gas           Gov. Aggregation   COH             209746890012                Gas           Gov. Aggregation
COH             207047230014                Gas           Gov. Aggregation   COH             150248370124                Gas           Gov. Aggregation
COH             162568800014                Gas           Gov. Aggregation   COH             209967520011                Gas           Gov. Aggregation
COH             206438210010                Gas           Gov. Aggregation   COH             209722770017                Gas           Gov. Aggregation
COH             206609410015                Gas           Gov. Aggregation   COH             210983760014                Gas           Gov. Aggregation
VEDO            4016163472221861            Gas           Gov. Aggregation   COH             210923470011                Gas           Gov. Aggregation
VEDO            4004020182402889            Gas           Gov. Aggregation   COH             210937250027                Gas           Gov. Aggregation
VEDO            4016551722307220            Gas           Gov. Aggregation   COH             190889820070                Gas           Gov. Aggregation
COH             120456960018                Gas           Gov. Aggregation   COH             209440490014                Gas           Gov. Aggregation
VEDO            4005069912518613            Gas           Gov. Aggregation   COH             193853460023                Gas           Gov. Aggregation
VEDO            4002673812331767            Gas           Gov. Aggregation   COH             209034100016                Gas           Gov. Aggregation
VEDO            4015264742264266            Gas           Gov. Aggregation   COH             210869020011                Gas           Gov. Aggregation
VEDO            4003013462624681            Gas           Gov. Aggregation   COH             209998350012                Gas           Gov. Aggregation
VEDO            4001284672126740            Gas           Gov. Aggregation   COH             210786520012                Gas           Gov. Aggregation
VEDO            4001197062118667            Gas           Gov. Aggregation   COH             188907500026                Gas           Gov. Aggregation
VEDO            4001344272132285            Gas           Gov. Aggregation   COH             141206350074                Gas           Gov. Aggregation
VEDO            4002408972441105            Gas           Gov. Aggregation   COH             174434630037                Gas           Gov. Aggregation
VEDO            4016205732405674            Gas           Gov. Aggregation   COH             209356010013                Gas           Gov. Aggregation
VEDO            4001263932124844            Gas           Gov. Aggregation   COH             196678960027                Gas           Gov. Aggregation
VEDO            4001530012629070            Gas           Gov. Aggregation   COH             209825870018                Gas           Gov. Aggregation
VEDO            4001530012441150            Gas           Gov. Aggregation   COH             124480130035                Gas           Gov. Aggregation
VEDO            4001859362181429            Gas           Gov. Aggregation   COH             209588250012                Gas           Gov. Aggregation
VEDO            4002398712234750            Gas           Gov. Aggregation   COH             208930020014                Gas           Gov. Aggregation
VEDO            4004708062478384            Gas           Gov. Aggregation   COH             194459630022                Gas           Gov. Aggregation
VEDO            4001141132355387            Gas           Gov. Aggregation   COH             208759630010                Gas           Gov. Aggregation
COH             209832220028                Gas           Gov. Aggregation   COH             208869860019                Gas           Gov. Aggregation
COH             207689330013                Gas           Gov. Aggregation   COH             144052310076                Gas           Gov. Aggregation
COH             207892350018                Gas           Gov. Aggregation   COH             209125110011                Gas           Gov. Aggregation
COH             146466440098                Gas           Gov. Aggregation   COH             210136020014                Gas           Gov. Aggregation
COH             209368300017                Gas           Gov. Aggregation   COH             208914880018                Gas           Gov. Aggregation
COH             209210020019                Gas           Gov. Aggregation   COH             188844680685                Gas           Gov. Aggregation
COH             204458980037                Gas           Gov. Aggregation   COH             209572410011                Gas           Gov. Aggregation
COH             209544720015                Gas           Gov. Aggregation   COH             210760010013                Gas           Gov. Aggregation
COH             206737000010                Gas           Gov. Aggregation   COH             209256130010                Gas           Gov. Aggregation
COH             207470120010                Gas           Gov. Aggregation   COH             209955350012                Gas           Gov. Aggregation
COH             209529450014                Gas           Gov. Aggregation   COH             163711630069                Gas           Gov. Aggregation
COH             174286990073                Gas           Gov. Aggregation   COH             202436190013                Gas           Gov. Aggregation
COH             208855150017                Gas           Gov. Aggregation   COH             124856780032                Gas           Gov. Aggregation
COH             189225680033                Gas           Gov. Aggregation   COH             117447870020                Gas           Gov. Aggregation
COH             207105430018                Gas           Gov. Aggregation   DEO             3180011586907               Gas           Gov. Aggregation
COH             209402730013                Gas           Gov. Aggregation   COH             209162690012                Gas           Gov. Aggregation
COH             208781560018                Gas           Gov. Aggregation   COH             196572980027                Gas           Gov. Aggregation
COH             207922410010                Gas           Gov. Aggregation   COH             200991960026                Gas           Gov. Aggregation
COH             169748560025                Gas           Gov. Aggregation   COH             209026210010                Gas           Gov. Aggregation
COH             196267420021                Gas           Gov. Aggregation   COH             208073360011                Gas           Gov. Aggregation
COH             209620970011                Gas           Gov. Aggregation   COH             208506080011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             166496610102                Gas           Gov. Aggregation   COH             208301150010                Gas           Gov. Aggregation
COH             209067910017                Gas           Gov. Aggregation   COH             208029970016                Gas           Gov. Aggregation
COH             207848150013                Gas           Gov. Aggregation   COH             143115150282                Gas           Gov. Aggregation
COH             206810610016                Gas           Gov. Aggregation   COH             209172000015                Gas           Gov. Aggregation
COH             210543580014                Gas           Gov. Aggregation   COH             208109540016                Gas           Gov. Aggregation
COH             143198400089                Gas           Gov. Aggregation   COH             206088330018                Gas           Gov. Aggregation
COH             208805930018                Gas           Gov. Aggregation   COH             207757000017                Gas           Gov. Aggregation
COH             209036890017                Gas           Gov. Aggregation   COH             168053610046                Gas           Gov. Aggregation
COH             209360430016                Gas           Gov. Aggregation   COH             205546520017                Gas           Gov. Aggregation
COH             209677190016                Gas           Gov. Aggregation   COH             110539830066                Gas           Gov. Aggregation
COH             210131630034                Gas           Gov. Aggregation   COH             208965150014                Gas           Gov. Aggregation
COH             207608770011                Gas           Gov. Aggregation   COH             209004480010                Gas           Gov. Aggregation
COH             140946680041                Gas           Gov. Aggregation   COH             206725480015                Gas           Gov. Aggregation
COH             192195020031                Gas           Gov. Aggregation   COH             208926610019                Gas           Gov. Aggregation
VEDO            4021544132431375            Gas           Gov. Aggregation   COH             207743590013                Gas           Gov. Aggregation
VEDO            4001198032466222            Gas           Gov. Aggregation   COH             207418500010                Gas           Gov. Aggregation
VEDO            4021614432156962            Gas           Gov. Aggregation   COH             159657570144                Gas           Gov. Aggregation
VEDO            4021302642173112            Gas           Gov. Aggregation   COH             204138520031                Gas           Gov. Aggregation
VEDO            4021302642330531            Gas           Gov. Aggregation   COH             203743080032                Gas           Gov. Aggregation
VEDO            4018588752685334            Gas           Gov. Aggregation   COH             205945550024                Gas           Gov. Aggregation
VEDO            4021221982634166            Gas           Gov. Aggregation   COH             207092460011                Gas           Gov. Aggregation
VEDO            4018939302496672            Gas           Gov. Aggregation   COH             207696480017                Gas           Gov. Aggregation
VEDO            4021094902165437            Gas           Gov. Aggregation   COH             206878970019                Gas           Gov. Aggregation
VEDO            4018967282482114            Gas           Gov. Aggregation   COH             201084610049                Gas           Gov. Aggregation
VEDO            4019520622459726            Gas           Gov. Aggregation   COH             207229490032                Gas           Gov. Aggregation
VEDO            4021311442611764            Gas           Gov. Aggregation   COH             208730330013                Gas           Gov. Aggregation
VEDO            4004411542345716            Gas           Gov. Aggregation   COH             207963270014                Gas           Gov. Aggregation
VEDO            4016821392583151            Gas           Gov. Aggregation   COH             198039000020                Gas           Gov. Aggregation
VEDO            4002940532685794            Gas           Gov. Aggregation   COH             196066550057                Gas           Gov. Aggregation
VEDO            4018314462686583            Gas           Gov. Aggregation   COH             207741690016                Gas           Gov. Aggregation
VEDO            4017333062686663            Gas           Gov. Aggregation   COH             208746020015                Gas           Gov. Aggregation
VEDO            4020200582586007            Gas           Gov. Aggregation   COH             152521060029                Gas           Gov. Aggregation
VEDO            4021489952685539            Gas           Gov. Aggregation   COH             207824080018                Gas           Gov. Aggregation
VEDO            4021492432685427            Gas           Gov. Aggregation   COH             204306350049                Gas           Gov. Aggregation
VEDO            4021558052686484            Gas           Gov. Aggregation   COH             203543090034                Gas           Gov. Aggregation
VEDO            4021582012686667            Gas           Gov. Aggregation   COH             206438340013                Gas           Gov. Aggregation
VEDO            4003187692680857            Gas           Gov. Aggregation   COH             189297440023                Gas           Gov. Aggregation
VEDO            4021539342686192            Gas           Gov. Aggregation   COH             187009070255                Gas           Gov. Aggregation
VEDO            4021102312680614            Gas           Gov. Aggregation   COH             207863070018                Gas           Gov. Aggregation
VEDO            4017067162679912            Gas           Gov. Aggregation   COH             204579010043                Gas           Gov. Aggregation
VEDO            4003145662310325            Gas           Gov. Aggregation   COH             208926620017                Gas           Gov. Aggregation
COH             210939970013                Gas           Gov. Aggregation   COH             206162270013                Gas           Gov. Aggregation
DEO             8442109158418               Gas           Gov. Aggregation   COH             110486000027                Gas           Gov. Aggregation
DEO             4180012074621               Gas           Gov. Aggregation   COH             205262180011                Gas           Gov. Aggregation
VEDO            4021045132632663            Gas           Gov. Aggregation   COH             208488610019                Gas           Gov. Aggregation
COH             210193960017                Gas           Gov. Aggregation   COH             206973820018                Gas           Gov. Aggregation
COH             210061340016                Gas           Gov. Aggregation   COH             205833350014                Gas           Gov. Aggregation
COH             206411800012                Gas           Gov. Aggregation   COH             202204710032                Gas           Gov. Aggregation
COH             207527140015                Gas           Gov. Aggregation   COH             208220250011                Gas           Gov. Aggregation
COH             195342060028                Gas           Gov. Aggregation   COH             207454780016                Gas           Gov. Aggregation
COH             163127160021                Gas           Gov. Aggregation   COH             207848210010                Gas           Gov. Aggregation
COH             202605990034                Gas           Gov. Aggregation   COH             206203260017                Gas           Gov. Aggregation
COH             206934880018                Gas           Gov. Aggregation   COH             111228420024                Gas           Gov. Aggregation
COH             208308090019                Gas           Gov. Aggregation   COH             204286800048                Gas           Gov. Aggregation
COH             207288260018                Gas           Gov. Aggregation   COH             208287760014                Gas           Gov. Aggregation
COH             207892240011                Gas           Gov. Aggregation   COH             203314550023                Gas           Gov. Aggregation
COH             208220000013                Gas           Gov. Aggregation   COH             207727990013                Gas           Gov. Aggregation
COH             206789870019                Gas           Gov. Aggregation   COH             162531720018                Gas           Gov. Aggregation
COH             202490920015                Gas           Gov. Aggregation   COH             157636230034                Gas           Gov. Aggregation
COH             203704120035                Gas           Gov. Aggregation   COH             190371900061                Gas           Gov. Aggregation
COH             205323620018                Gas           Gov. Aggregation   COH             207857600019                Gas           Gov. Aggregation
COH             206494030038                Gas           Gov. Aggregation   COH             208388680017                Gas           Gov. Aggregation
COH             207681310013                Gas           Gov. Aggregation   COH             205496520014                Gas           Gov. Aggregation
COH             209900400016                Gas           Gov. Aggregation   COH             205433720014                Gas           Gov. Aggregation
COH             154743320013                Gas           Gov. Aggregation   COH             206867160012                Gas           Gov. Aggregation
VEDO            4002173112114430            Gas           Gov. Aggregation   COH             207146490010                Gas           Gov. Aggregation
VEDO            4004450062449827            Gas           Gov. Aggregation   COH             207630250031                Gas           Gov. Aggregation
COH             196756030106                Gas           Gov. Aggregation   COH             208130570015                Gas           Gov. Aggregation
COH             203043950033                Gas           Gov. Aggregation   COH             208912110013                Gas           Gov. Aggregation
COH             207176070033                Gas           Gov. Aggregation   COH             209327630014                Gas           Gov. Aggregation
COH             207963010018                Gas           Gov. Aggregation   COH             209047050010                Gas           Gov. Aggregation
COH             209786050014                Gas           Gov. Aggregation   COH             111226891583                Gas           Gov. Aggregation
COH             210507530010                Gas           Gov. Aggregation   COH             209254320014                Gas           Gov. Aggregation
COH             193953900055                Gas           Gov. Aggregation   COH             205716150014                Gas           Gov. Aggregation
COH             189318990022                Gas           Gov. Aggregation   COH             161009841421                Gas           Gov. Aggregation
COH             150575470139                Gas           Gov. Aggregation   COH             207799560012                Gas           Gov. Aggregation
COH             207231470013                Gas           Gov. Aggregation   COH             205755640037                Gas           Gov. Aggregation
COH             208519220014                Gas           Gov. Aggregation   COH             110426080063                Gas           Gov. Aggregation
COH             131654010014                Gas           Gov. Aggregation   COH             141954350097                Gas           Gov. Aggregation
COH             149650730011                Gas           Gov. Aggregation   COH             162470190127                Gas           Gov. Aggregation
VEDO            4004844232493338            Gas           Gov. Aggregation   COH             206986040015                Gas           Gov. Aggregation
VEDO            4001353862343453            Gas           Gov. Aggregation   COH             208700350012                Gas           Gov. Aggregation
VEDO            4018854742238214            Gas           Gov. Aggregation   COH             207454770018                Gas           Gov. Aggregation
VEDO            4020215152188346            Gas           Gov. Aggregation   COH             207585120017                Gas           Gov. Aggregation
VEDO            4016304262367543            Gas           Gov. Aggregation   COH             209303250014                Gas           Gov. Aggregation
VEDO            4020309732401560            Gas           Gov. Aggregation   COH             173423370036                Gas           Gov. Aggregation
VEDO            4021239022260409            Gas           Gov. Aggregation   COH             205374680019                Gas           Gov. Aggregation
VEDO            4002517032361056            Gas           Gov. Aggregation   COH             208606870013                Gas           Gov. Aggregation
VEDO            4021005102118835            Gas           Gov. Aggregation   COH             204726880011                Gas           Gov. Aggregation
VEDO            4001603012156803            Gas           Gov. Aggregation   COH             200183150038                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4017202892374317            Gas           Gov. Aggregation   COH             208250270014                Gas           Gov. Aggregation
VEDO            4020801162315727            Gas           Gov. Aggregation   COH             202949130018                Gas           Gov. Aggregation
VEDO            4021469862232901            Gas           Gov. Aggregation   COH             207496170016                Gas           Gov. Aggregation
VEDO            4003303362326693            Gas           Gov. Aggregation   COH             208545690011                Gas           Gov. Aggregation
VEDO            4021539402687102            Gas           Gov. Aggregation   COH             208519340019                Gas           Gov. Aggregation
VEDO            4021537892687110            Gas           Gov. Aggregation   COH             208647660011                Gas           Gov. Aggregation
VEDO            4021575432684355            Gas           Gov. Aggregation   COH             203041120022                Gas           Gov. Aggregation
VEDO            4015902252228055            Gas           Gov. Aggregation   COH             208512550019                Gas           Gov. Aggregation
VEDO            4021305842233821            Gas           Gov. Aggregation   COH             209033050019                Gas           Gov. Aggregation
VEDO            4018458792355000            Gas           Gov. Aggregation   COH             204280920027                Gas           Gov. Aggregation
VEDO            4020902792475668            Gas           Gov. Aggregation   COH             199052210036                Gas           Gov. Aggregation
VEDO            4002528732267309            Gas           Gov. Aggregation   COH             209038370012                Gas           Gov. Aggregation
VEDO            4003825612137221            Gas           Gov. Aggregation   COH             208726480011                Gas           Gov. Aggregation
VEDO            4021421872685777            Gas           Gov. Aggregation   COH             204834590040                Gas           Gov. Aggregation
VEDO            4015723432360939            Gas           Gov. Aggregation   COH             208488620017                Gas           Gov. Aggregation
VEDO            4017478912109358            Gas           Gov. Aggregation   COH             111286170034                Gas           Gov. Aggregation
VEDO            4021638642477977            Gas           Gov. Aggregation   COH             207060370017                Gas           Gov. Aggregation
VEDO            4004490282454222            Gas           Gov. Aggregation   COH             209162710017                Gas           Gov. Aggregation
VEDO            4018755772232429            Gas           Gov. Aggregation   COH             203458570025                Gas           Gov. Aggregation
VEDO            4001098652108649            Gas           Gov. Aggregation   COH             208436370019                Gas           Gov. Aggregation
VEDO            4021214322447238            Gas           Gov. Aggregation   COH             206038460025                Gas           Gov. Aggregation
VEDO            4020190752182188            Gas           Gov. Aggregation   COH             208512530013                Gas           Gov. Aggregation
VEDO            4021219432350849            Gas           Gov. Aggregation   COH             206459610012                Gas           Gov. Aggregation
VEDO            4019114832593618            Gas           Gov. Aggregation   COH             171666090024                Gas           Gov. Aggregation
VEDO            4019335472593611            Gas           Gov. Aggregation   COH             209116150012                Gas           Gov. Aggregation
VEDO            4004884832497843            Gas           Gov. Aggregation   COH             204884620020                Gas           Gov. Aggregation
VEDO            4003333432593614            Gas           Gov. Aggregation   COH             195307150032                Gas           Gov. Aggregation
VEDO            4016119292173614            Gas           Gov. Aggregation   COH             208402880013                Gas           Gov. Aggregation
VEDO            4021237342184107            Gas           Gov. Aggregation   COH             207799680017                Gas           Gov. Aggregation
VEDO            4001068982397350            Gas           Gov. Aggregation   COH             207654040017                Gas           Gov. Aggregation
VEDO            4017693172360829            Gas           Gov. Aggregation   COH             209012560016                Gas           Gov. Aggregation
VEDO            4004003742335235            Gas           Gov. Aggregation   COH             207773340012                Gas           Gov. Aggregation
VEDO            4015690052467732            Gas           Gov. Aggregation   COH             205972160010                Gas           Gov. Aggregation
VEDO            4021228052366136            Gas           Gov. Aggregation   COH             196110310034                Gas           Gov. Aggregation
VEDO            4019965702254086            Gas           Gov. Aggregation   COH             205961050016                Gas           Gov. Aggregation
VEDO            4021490772391406            Gas           Gov. Aggregation   COH             209368370013                Gas           Gov. Aggregation
VEDO            4002431892309844            Gas           Gov. Aggregation   DEO             8180015022572               Gas           Gov. Aggregation
VEDO            4017845092218172            Gas           Gov. Aggregation   DEO             3180015230805               Gas           Gov. Aggregation
VEDO            4003656812320061            Gas           Gov. Aggregation   DEO             6180017042260               Gas           Gov. Aggregation
VEDO            4021218142310287            Gas           Gov. Aggregation   DEO             9180014374206               Gas           Gov. Aggregation
VEDO            4002925372537301            Gas           Gov. Aggregation   DEO             5180014480959               Gas           Gov. Aggregation
VEDO            4020798702417010            Gas           Gov. Aggregation   DEO             6180014136308               Gas           Gov. Aggregation
VEDO            4003138382679917            Gas           Gov. Aggregation   DEO             7180014975016               Gas           Gov. Aggregation
VEDO            4019925472682865            Gas           Gov. Aggregation   DEO             5180014717209               Gas           Gov. Aggregation
VEDO            4003064062301866            Gas           Gov. Aggregation   DEO             6180014303657               Gas           Gov. Aggregation
COH             188470520010                Gas           Gov. Aggregation   DEO             3180014058191               Gas           Gov. Aggregation
COH             190629840012                Gas           Gov. Aggregation   DEO             6180014628448               Gas           Gov. Aggregation
COH             207141770011                Gas           Gov. Aggregation   DEO             5180014226100               Gas           Gov. Aggregation
COH             169611340020                Gas           Gov. Aggregation   DEO             3180014858658               Gas           Gov. Aggregation
COH             205945790015                Gas           Gov. Aggregation   DEO             1180014241599               Gas           Gov. Aggregation
COH             157654910033                Gas           Gov. Aggregation   DEO             3180014655808               Gas           Gov. Aggregation
COH             144501290087                Gas           Gov. Aggregation   DEO             8180014612792               Gas           Gov. Aggregation
COH             206724980012                Gas           Gov. Aggregation   DEO             1180014789791               Gas           Gov. Aggregation
COH             208359310015                Gas           Gov. Aggregation   DEO             3180014901370               Gas           Gov. Aggregation
COH             194720440027                Gas           Gov. Aggregation   DEO             9180014139223               Gas           Gov. Aggregation
COH             204811340013                Gas           Gov. Aggregation   DEO             7180014820003               Gas           Gov. Aggregation
COH             206372840018                Gas           Gov. Aggregation   DEO             7180014011286               Gas           Gov. Aggregation
COH             208386060011                Gas           Gov. Aggregation   DEO             6180015139224               Gas           Gov. Aggregation
COH             195703160030                Gas           Gov. Aggregation   DEO             2180010574961               Gas           Gov. Aggregation
COH             200915930013                Gas           Gov. Aggregation   DEO             3180014824885               Gas           Gov. Aggregation
COH             200965050013                Gas           Gov. Aggregation   DEO             1180014712492               Gas           Gov. Aggregation
COH             132625910024                Gas           Gov. Aggregation   DEO             7180014691053               Gas           Gov. Aggregation
COH             200860010013                Gas           Gov. Aggregation   DEO             8180014954072               Gas           Gov. Aggregation
COH             201761640010                Gas           Gov. Aggregation   DEO             8180015179805               Gas           Gov. Aggregation
COH             193711950020                Gas           Gov. Aggregation   DEO             9180014924313               Gas           Gov. Aggregation
DEO             5180011925616               Gas           Gov. Aggregation   DEO             0180014650397               Gas           Gov. Aggregation
DEO             6180013196891               Gas           Gov. Aggregation   DEO             2180014493344               Gas           Gov. Aggregation
DEO             7180013355014               Gas           Gov. Aggregation   DEO             0180014401456               Gas           Gov. Aggregation
COH             203437460013                Gas           Gov. Aggregation   DEO             1180015059208               Gas           Gov. Aggregation
COH             155633900095                Gas           Gov. Aggregation   DEO             5180014804816               Gas           Gov. Aggregation
COH             206685890015                Gas           Gov. Aggregation   DEO             0180014635916               Gas           Gov. Aggregation
COH             207848510017                Gas           Gov. Aggregation   DEO             2180014708539               Gas           Gov. Aggregation
COH             208648850019                Gas           Gov. Aggregation   DEO             0180014100876               Gas           Gov. Aggregation
COH             207466350011                Gas           Gov. Aggregation   DEO             8180014438713               Gas           Gov. Aggregation
COH             199740730065                Gas           Gov. Aggregation   DEO             3180014268703               Gas           Gov. Aggregation
VEDO            4017611412310071            Gas           Gov. Aggregation   DEO             1180015184611               Gas           Gov. Aggregation
VEDO            4018009412146098            Gas           Gov. Aggregation   DEO             9180015048192               Gas           Gov. Aggregation
VEDO            4021497332372461            Gas           Gov. Aggregation   DEO             6180015133764               Gas           Gov. Aggregation
VEDO            4018378162431002            Gas           Gov. Aggregation   DEO             8180014736531               Gas           Gov. Aggregation
VEDO            4021461582593645            Gas           Gov. Aggregation   DEO             8180014914853               Gas           Gov. Aggregation
VEDO            4002581462593648            Gas           Gov. Aggregation   DEO             4180014835070               Gas           Gov. Aggregation
VEDO            4018920752489478            Gas           Gov. Aggregation   DEO             4180014339195               Gas           Gov. Aggregation
COH             210645640015                Gas           Gov. Aggregation   DEO             3180014841779               Gas           Gov. Aggregation
COH             210713810014                Gas           Gov. Aggregation   DEO             5180014428544               Gas           Gov. Aggregation
COH             154343220030                Gas           Gov. Aggregation   DEO             4180014499782               Gas           Gov. Aggregation
COH             190626910040                Gas           Gov. Aggregation   DEO             1180014871517               Gas           Gov. Aggregation
COH             210600190014                Gas           Gov. Aggregation   DEO             6180015035146               Gas           Gov. Aggregation
COH             110964850025                Gas           Gov. Aggregation   DEO             9180014794726               Gas           Gov. Aggregation
COH             192080530028                Gas           Gov. Aggregation   DEO             5180014074576               Gas           Gov. Aggregation
COH             208164460017                Gas           Gov. Aggregation   DEO             3180013765912               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             209169790017                Gas           Gov. Aggregation   DEO             9180015141943               Gas           Gov. Aggregation
COH             206655600018                Gas           Gov. Aggregation   DEO             1180015103148               Gas           Gov. Aggregation
COH             209477190010                Gas           Gov. Aggregation   DEO             5180015206949               Gas           Gov. Aggregation
COH             208718190019                Gas           Gov. Aggregation   DEO             1180014582002               Gas           Gov. Aggregation
COH             202762090031                Gas           Gov. Aggregation   DEO             2180014120701               Gas           Gov. Aggregation
COH             207407510020                Gas           Gov. Aggregation   DEO             7180014579510               Gas           Gov. Aggregation
COH             206626260020                Gas           Gov. Aggregation   DEO             9180014606286               Gas           Gov. Aggregation
COH             206867760016                Gas           Gov. Aggregation   COH             188651470026                Gas           Gov. Aggregation
COH             209603240010                Gas           Gov. Aggregation   COH             110611680028                Gas           Gov. Aggregation
COH             209650830017                Gas           Gov. Aggregation   COH             206245340012                Gas           Gov. Aggregation
COH             202408720010                Gas           Gov. Aggregation   COH             209321920015                Gas           Gov. Aggregation
COH             197668050028                Gas           Gov. Aggregation   DUKE            0730038534                  Gas           Gov. Aggregation
COH             207319810015                Gas           Gov. Aggregation   DUKE            0820038529                  Gas           Gov. Aggregation
COH             187538140017                Gas           Gov. Aggregation   DUKE            0190020227                  Gas           Gov. Aggregation
COH             204079040029                Gas           Gov. Aggregation   DUKE            0250208719                  Gas           Gov. Aggregation
COH             206812540017                Gas           Gov. Aggregation   DUKE            0790038523                  Gas           Gov. Aggregation
COH             189940930034                Gas           Gov. Aggregation   COH             205121950053                Gas           Gov. Aggregation
COH             206413570017                Gas           Gov. Aggregation   COH             208944340018                Gas           Gov. Aggregation
COH             207501370011                Gas           Gov. Aggregation   COH             209098740018                Gas           Gov. Aggregation
COH             207306910011                Gas           Gov. Aggregation   COH             210852180013                Gas           Gov. Aggregation
COH             207841010016                Gas           Gov. Aggregation   COH             124515030022                Gas           Gov. Aggregation
COH             192209860016                Gas           Gov. Aggregation   COH             161549100058                Gas           Gov. Aggregation
COH             208758430014                Gas           Gov. Aggregation   COH             188922130031                Gas           Gov. Aggregation
COH             196496800026                Gas           Gov. Aggregation   COH             209678640019                Gas           Gov. Aggregation
COH             207321550015                Gas           Gov. Aggregation   COH             211026450016                Gas           Gov. Aggregation
DEO             9422002776027               Gas           Gov. Aggregation   COH             207711930018                Gas           Gov. Aggregation
DEO             6422103115126               Gas           Gov. Aggregation   COH             148554640051                Gas           Gov. Aggregation
DEO             6422106227408               Gas           Gov. Aggregation   COH             210786900012                Gas           Gov. Aggregation
DEO             6500026205632               Gas           Gov. Aggregation   COH             209317390016                Gas           Gov. Aggregation
DEO             1500028852203               Gas           Gov. Aggregation   COH             206930070016                Gas           Gov. Aggregation
DEO             1500031208054               Gas           Gov. Aggregation   COH             191996590026                Gas           Gov. Aggregation
DEO             1500034811928               Gas           Gov. Aggregation   COH             124348530022                Gas           Gov. Aggregation
DEO             1500038106993               Gas           Gov. Aggregation   COH             166499210020                Gas           Gov. Aggregation
DEO             1500041061058               Gas           Gov. Aggregation   COH             210413900011                Gas           Gov. Aggregation
DEO             1500041453654               Gas           Gov. Aggregation   COH             210064920018                Gas           Gov. Aggregation
DEO             0500042978354               Gas           Gov. Aggregation   COH             124405900022                Gas           Gov. Aggregation
DEO             0500047649641               Gas           Gov. Aggregation   COH             210441730018                Gas           Gov. Aggregation
DEO             2500035995278               Gas           Gov. Aggregation   COH             209636070017                Gas           Gov. Aggregation
DEO             2500036682935               Gas           Gov. Aggregation   COH             208605700010                Gas           Gov. Aggregation
DEO             2500036904494               Gas           Gov. Aggregation   COH             190309130073                Gas           Gov. Aggregation
DEO             2500061079713               Gas           Gov. Aggregation   COH             140955990038                Gas           Gov. Aggregation
DEO             2500062892063               Gas           Gov. Aggregation   COH             199363570023                Gas           Gov. Aggregation
DEO             2500063187406               Gas           Gov. Aggregation   COH             197280540027                Gas           Gov. Aggregation
DEO             7180016317498               Gas           Gov. Aggregation   COH             200144060011                Gas           Gov. Aggregation
COH             199721320034                Gas           Gov. Aggregation   COH             207237810019                Gas           Gov. Aggregation
COH             201183560031                Gas           Gov. Aggregation   COH             207713620019                Gas           Gov. Aggregation
COH             209814180016                Gas           Gov. Aggregation   COH             210022320012                Gas           Gov. Aggregation
COH             143265360030                Gas           Gov. Aggregation   COH             209523910019                Gas           Gov. Aggregation
COH             199048960056                Gas           Gov. Aggregation   COH             205406030025                Gas           Gov. Aggregation
COH             205812980025                Gas           Gov. Aggregation   COH             199490010021                Gas           Gov. Aggregation
COH             209634230017                Gas           Gov. Aggregation   COH             206259120028                Gas           Gov. Aggregation
COH             209309320955                Gas           Gov. Aggregation   COH             209432360018                Gas           Gov. Aggregation
COH             204105800059                Gas           Gov. Aggregation   COH             209225460016                Gas           Gov. Aggregation
COH             207079160012                Gas           Gov. Aggregation   COH             197182930023                Gas           Gov. Aggregation
COH             190460800036                Gas           Gov. Aggregation   COH             209406240018                Gas           Gov. Aggregation
COH             208007470017                Gas           Gov. Aggregation   COH             200143980029                Gas           Gov. Aggregation
COH             206655240014                Gas           Gov. Aggregation   COH             210636740013                Gas           Gov. Aggregation
COH             208545930010                Gas           Gov. Aggregation   COH             203270000022                Gas           Gov. Aggregation
COH             199505230031                Gas           Gov. Aggregation   COH             210678100019                Gas           Gov. Aggregation
COH             202096540020                Gas           Gov. Aggregation   COH             147644640033                Gas           Gov. Aggregation
COH             153290050101                Gas           Gov. Aggregation   COH             209288990013                Gas           Gov. Aggregation
COH             207857140016                Gas           Gov. Aggregation   COH             197766650024                Gas           Gov. Aggregation
COH             203781160026                Gas           Gov. Aggregation   COH             203022570028                Gas           Gov. Aggregation
COH             195100380014                Gas           Gov. Aggregation   COH             208986260017                Gas           Gov. Aggregation
COH             173476040016                Gas           Gov. Aggregation   COH             194475930043                Gas           Gov. Aggregation
COH             120457070013                Gas           Gov. Aggregation   COH             195739090021                Gas           Gov. Aggregation
COH             209282000012                Gas           Gov. Aggregation   COH             210852170015                Gas           Gov. Aggregation
COH             208659130017                Gas           Gov. Aggregation   COH             150662230027                Gas           Gov. Aggregation
COH             199116390033                Gas           Gov. Aggregation   COH             209017680011                Gas           Gov. Aggregation
COH             210277020016                Gas           Gov. Aggregation   COH             191187370036                Gas           Gov. Aggregation
COH             209123470010                Gas           Gov. Aggregation   COH             210840450011                Gas           Gov. Aggregation
COH             207195490017                Gas           Gov. Aggregation   COH             206605000028                Gas           Gov. Aggregation
COH             205114880026                Gas           Gov. Aggregation   COH             209454160014                Gas           Gov. Aggregation
COH             208251970015                Gas           Gov. Aggregation   COH             160100840036                Gas           Gov. Aggregation
COH             209974060013                Gas           Gov. Aggregation   COH             209060390011                Gas           Gov. Aggregation
COH             207689570013                Gas           Gov. Aggregation   COH             209104430018                Gas           Gov. Aggregation
COH             207869710011                Gas           Gov. Aggregation   COH             202825350032                Gas           Gov. Aggregation
COH             207747900019                Gas           Gov. Aggregation   COH             209406230010                Gas           Gov. Aggregation
COH             209774390018                Gas           Gov. Aggregation   COH             169765540023                Gas           Gov. Aggregation
COH             198204380048                Gas           Gov. Aggregation   COH             210328610013                Gas           Gov. Aggregation
COH             209187660016                Gas           Gov. Aggregation   COH             208673510017                Gas           Gov. Aggregation
COH             202787280039                Gas           Gov. Aggregation   COH             210910130019                Gas           Gov. Aggregation
COH             210498950013                Gas           Gov. Aggregation   COH             210572480014                Gas           Gov. Aggregation
COH             149806390156                Gas           Gov. Aggregation   COH             209829540019                Gas           Gov. Aggregation
COH             144676350021                Gas           Gov. Aggregation   COH             207312630035                Gas           Gov. Aggregation
COH             208926910016                Gas           Gov. Aggregation   COH             195802360038                Gas           Gov. Aggregation
COH             158843600027                Gas           Gov. Aggregation   COH             210883810015                Gas           Gov. Aggregation
COH             206173040018                Gas           Gov. Aggregation   COH             111236500020                Gas           Gov. Aggregation
COH             173351360086                Gas           Gov. Aggregation   COH             111237160011                Gas           Gov. Aggregation
COH             198329200014                Gas           Gov. Aggregation   COH             111238990024                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             208327140018                Gas           Gov. Aggregation   COH             114979040011                Gas           Gov. Aggregation
COH             206755750024                Gas           Gov. Aggregation   COH             114979780098                Gas           Gov. Aggregation
COH             193085240091                Gas           Gov. Aggregation   COH             114986720013                Gas           Gov. Aggregation
COH             208164330014                Gas           Gov. Aggregation   COH             115833170039                Gas           Gov. Aggregation
COH             209664250010                Gas           Gov. Aggregation   COH             117216660014                Gas           Gov. Aggregation
COH             206762270011                Gas           Gov. Aggregation   COH             117309030019                Gas           Gov. Aggregation
COH             169132590033                Gas           Gov. Aggregation   COH             117309040017                Gas           Gov. Aggregation
COH             120535720029                Gas           Gov. Aggregation   COH             117332120011                Gas           Gov. Aggregation
COH             121701590041                Gas           Gov. Aggregation   COH             117332500020                Gas           Gov. Aggregation
COH             209728340015                Gas           Gov. Aggregation   COH             122421020016                Gas           Gov. Aggregation
COH             207665360017                Gas           Gov. Aggregation   COH             122424220027                Gas           Gov. Aggregation
COH             208219630014                Gas           Gov. Aggregation   COH             123810740019                Gas           Gov. Aggregation
COH             207447220018                Gas           Gov. Aggregation   COH             123811640027                Gas           Gov. Aggregation
COH             209239240013                Gas           Gov. Aggregation   COH             123812050029                Gas           Gov. Aggregation
COH             176443030014                Gas           Gov. Aggregation   COH             123892450027                Gas           Gov. Aggregation
COH             201865120046                Gas           Gov. Aggregation   COH             123896350011                Gas           Gov. Aggregation
COH             204730070021                Gas           Gov. Aggregation   COH             124571020026                Gas           Gov. Aggregation
COH             207949610012                Gas           Gov. Aggregation   COH             130511540034                Gas           Gov. Aggregation
COH             192515730032                Gas           Gov. Aggregation   COH             135438360051                Gas           Gov. Aggregation
COH             194143810032                Gas           Gov. Aggregation   COH             136405750020                Gas           Gov. Aggregation
COH             199096060036                Gas           Gov. Aggregation   COH             140616760034                Gas           Gov. Aggregation
COH             207719300014                Gas           Gov. Aggregation   COH             140619630017                Gas           Gov. Aggregation
COH             209116310018                Gas           Gov. Aggregation   COH             145762030033                Gas           Gov. Aggregation
COH             208731020016                Gas           Gov. Aggregation   COH             152045140013                Gas           Gov. Aggregation
COH             165805980047                Gas           Gov. Aggregation   COH             152175380018                Gas           Gov. Aggregation
COH             202263050019                Gas           Gov. Aggregation   COH             156233260015                Gas           Gov. Aggregation
COH             191580670020                Gas           Gov. Aggregation   COH             157461900016                Gas           Gov. Aggregation
COH             200461990050                Gas           Gov. Aggregation   COH             157464890013                Gas           Gov. Aggregation
COH             172508740084                Gas           Gov. Aggregation   COH             157537960022                Gas           Gov. Aggregation
COH             176694040057                Gas           Gov. Aggregation   COH             158314290015                Gas           Gov. Aggregation
COH             189468100021                Gas           Gov. Aggregation   COH             158316880017                Gas           Gov. Aggregation
COH             206802520012                Gas           Gov. Aggregation   COH             160296900012                Gas           Gov. Aggregation
COH             207163120011                Gas           Gov. Aggregation   COH             162367510011                Gas           Gov. Aggregation
COH             207484750019                Gas           Gov. Aggregation   COH             162546410012                Gas           Gov. Aggregation
COH             207903960015                Gas           Gov. Aggregation   COH             162555280011                Gas           Gov. Aggregation
COH             155171090023                Gas           Gov. Aggregation   COH             162803520013                Gas           Gov. Aggregation
COH             205069800038                Gas           Gov. Aggregation   COH             164159370010                Gas           Gov. Aggregation
COH             168389350068                Gas           Gov. Aggregation   COH             164917030013                Gas           Gov. Aggregation
COH             155169390025                Gas           Gov. Aggregation   COH             172766000010                Gas           Gov. Aggregation
COH             120431740169                Gas           Gov. Aggregation   COH             173041220019                Gas           Gov. Aggregation
COH             141765730132                Gas           Gov. Aggregation   COH             175656900011                Gas           Gov. Aggregation
COH             208330030014                Gas           Gov. Aggregation   COH             176970490011                Gas           Gov. Aggregation
COH             155567070055                Gas           Gov. Aggregation   COH             189143490019                Gas           Gov. Aggregation
COH             190117860031                Gas           Gov. Aggregation   COH             189531050018                Gas           Gov. Aggregation
COH             151023620019                Gas           Gov. Aggregation   COH             110962330019                Gas           Gov. Aggregation
COH             208204240035                Gas           Gov. Aggregation   COH             110962620018                Gas           Gov. Aggregation
COH             176781650572                Gas           Gov. Aggregation   COH             110962760028                Gas           Gov. Aggregation
COH             194982400030                Gas           Gov. Aggregation   COH             169558590013                Gas           Gov. Aggregation
COH             207088750019                Gas           Gov. Aggregation   COH             169600620015                Gas           Gov. Aggregation
COH             164810110085                Gas           Gov. Aggregation   COH             169662670015                Gas           Gov. Aggregation
COH             208453360015                Gas           Gov. Aggregation   COH             151903110010                Gas           Gov. Aggregation
COH             187243790043                Gas           Gov. Aggregation   COH             152018420057                Gas           Gov. Aggregation
COH             134174690026                Gas           Gov. Aggregation   COH             152455510034                Gas           Gov. Aggregation
COH             169180330027                Gas           Gov. Aggregation   COH             152459860015                Gas           Gov. Aggregation
COH             206781520018                Gas           Gov. Aggregation   COH             152467790200                Gas           Gov. Aggregation
COH             208284710010                Gas           Gov. Aggregation   COH             152517940023                Gas           Gov. Aggregation
COH             207484470018                Gas           Gov. Aggregation   COH             152637700029                Gas           Gov. Aggregation
COH             209121590019                Gas           Gov. Aggregation   COH             152945690047                Gas           Gov. Aggregation
COH             207573290017                Gas           Gov. Aggregation   COH             116285220030                Gas           Gov. Aggregation
COH             208805090015                Gas           Gov. Aggregation   COH             116557560041                Gas           Gov. Aggregation
COH             203180690029                Gas           Gov. Aggregation   COH             116592110014                Gas           Gov. Aggregation
COH             140466820021                Gas           Gov. Aggregation   COH             116611800482                Gas           Gov. Aggregation
COH             207932460019                Gas           Gov. Aggregation   COH             117316700040                Gas           Gov. Aggregation
COH             200000880031                Gas           Gov. Aggregation   COH             115046200013                Gas           Gov. Aggregation
COH             172999840020                Gas           Gov. Aggregation   COH             115046860024                Gas           Gov. Aggregation
COH             195963540030                Gas           Gov. Aggregation   COH             115047670022                Gas           Gov. Aggregation
COH             209448050010                Gas           Gov. Aggregation   COH             115050430025                Gas           Gov. Aggregation
COH             205769080027                Gas           Gov. Aggregation   COH             115050600010                Gas           Gov. Aggregation
COH             167737240090                Gas           Gov. Aggregation   COH             129456720073                Gas           Gov. Aggregation
COH             208976000012                Gas           Gov. Aggregation   COH             129477840010                Gas           Gov. Aggregation
COH             207107780011                Gas           Gov. Aggregation   COH             129527540043                Gas           Gov. Aggregation
COH             203698520027                Gas           Gov. Aggregation   COH             114990210011                Gas           Gov. Aggregation
COH             206973860010                Gas           Gov. Aggregation   COH             114991400028                Gas           Gov. Aggregation
COH             147958340022                Gas           Gov. Aggregation   COH             114994040028                Gas           Gov. Aggregation
COH             201654970027                Gas           Gov. Aggregation   COH             114996260028                Gas           Gov. Aggregation
COH             207381440021                Gas           Gov. Aggregation   COH             157695410014                Gas           Gov. Aggregation
COH             208810950013                Gas           Gov. Aggregation   COH             157742550014                Gas           Gov. Aggregation
COH             196092570021                Gas           Gov. Aggregation   COH             157825560025                Gas           Gov. Aggregation
COH             209891670011                Gas           Gov. Aggregation   COH             157860260015                Gas           Gov. Aggregation
COH             202045130023                Gas           Gov. Aggregation   COH             114933350012                Gas           Gov. Aggregation
COH             205424380033                Gas           Gov. Aggregation   COH             114933440013                Gas           Gov. Aggregation
COH             193304440075                Gas           Gov. Aggregation   COH             114933520016                Gas           Gov. Aggregation
COH             206737290010                Gas           Gov. Aggregation   COH             114933720014                Gas           Gov. Aggregation
COH             210499540017                Gas           Gov. Aggregation   COH             114933850017                Gas           Gov. Aggregation
COH             196778110023                Gas           Gov. Aggregation   COH             114936300025                Gas           Gov. Aggregation
COH             207548960019                Gas           Gov. Aggregation   COH             114936430019                Gas           Gov. Aggregation
COH             206643230011                Gas           Gov. Aggregation   COH             114936460013                Gas           Gov. Aggregation
COH             207783650016                Gas           Gov. Aggregation   COH             114936780016                Gas           Gov. Aggregation
COH             210332080016                Gas           Gov. Aggregation   COH             114936900010                Gas           Gov. Aggregation
COH             207993190018                Gas           Gov. Aggregation   COH             114937250024                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             200450040025                Gas           Gov. Aggregation   COH             114937310012                Gas           Gov. Aggregation
COH             190990970056                Gas           Gov. Aggregation   COH             170175690011                Gas           Gov. Aggregation
COH             168712250071                Gas           Gov. Aggregation   COH             170202320019                Gas           Gov. Aggregation
COH             207247100017                Gas           Gov. Aggregation   COH             170202330017                Gas           Gov. Aggregation
COH             192504270041                Gas           Gov. Aggregation   COH             170252010019                Gas           Gov. Aggregation
COH             206681860019                Gas           Gov. Aggregation   COH             170324700011                Gas           Gov. Aggregation
COH             208196180019                Gas           Gov. Aggregation   COH             170345080036                Gas           Gov. Aggregation
COH             206986180016                Gas           Gov. Aggregation   COH             133496180013                Gas           Gov. Aggregation
COH             207553310014                Gas           Gov. Aggregation   COH             133614680016                Gas           Gov. Aggregation
COH             202469750034                Gas           Gov. Aggregation   COH             133644140043                Gas           Gov. Aggregation
COH             206697330017                Gas           Gov. Aggregation   COH             133654820058                Gas           Gov. Aggregation
COH             207952040015                Gas           Gov. Aggregation   COH             133724740056                Gas           Gov. Aggregation
COH             197019560026                Gas           Gov. Aggregation   COH             168557990012                Gas           Gov. Aggregation
COH             209485270016                Gas           Gov. Aggregation   COH             110961070016                Gas           Gov. Aggregation
COH             189760750043                Gas           Gov. Aggregation   COH             110974560016                Gas           Gov. Aggregation
COH             120175520034                Gas           Gov. Aggregation   COH             146148340011                Gas           Gov. Aggregation
COH             202887860026                Gas           Gov. Aggregation   COH             157991520013                Gas           Gov. Aggregation
COH             207506710019                Gas           Gov. Aggregation   COH             110970150029                Gas           Gov. Aggregation
COH             209619870015                Gas           Gov. Aggregation   COH             110976010071                Gas           Gov. Aggregation
COH             205615030013                Gas           Gov. Aggregation   COH             110960430021                Gas           Gov. Aggregation
COH             206833120020                Gas           Gov. Aggregation   COH             110970300018                Gas           Gov. Aggregation
COH             195150070032                Gas           Gov. Aggregation   COH             110974980018                Gas           Gov. Aggregation
COH             201616750023                Gas           Gov. Aggregation   COH             172498470011                Gas           Gov. Aggregation
COH             208647950010                Gas           Gov. Aggregation   COH             156257740014                Gas           Gov. Aggregation
COH             187693760055                Gas           Gov. Aggregation   COH             171578670010                Gas           Gov. Aggregation
COH             202581760025                Gas           Gov. Aggregation   COH             171752810010                Gas           Gov. Aggregation
COH             197755020029                Gas           Gov. Aggregation   COH             172077860011                Gas           Gov. Aggregation
COH             164311610060                Gas           Gov. Aggregation   COH             171238800012                Gas           Gov. Aggregation
COH             171888880082                Gas           Gov. Aggregation   COH             171255130017                Gas           Gov. Aggregation
COH             207540300013                Gas           Gov. Aggregation   COH             171286450015                Gas           Gov. Aggregation
COH             208560170018                Gas           Gov. Aggregation   COH             171342600031                Gas           Gov. Aggregation
COH             200983320036                Gas           Gov. Aggregation   COH             171505710014                Gas           Gov. Aggregation
COH             205230740029                Gas           Gov. Aggregation   COH             171544160018                Gas           Gov. Aggregation
COH             207689620012                Gas           Gov. Aggregation   COH             162897810024                Gas           Gov. Aggregation
COH             208099000012                Gas           Gov. Aggregation   COH             164734660028                Gas           Gov. Aggregation
COH             205903430027                Gas           Gov. Aggregation   COH             165736290021                Gas           Gov. Aggregation
COH             141494410027                Gas           Gov. Aggregation   COH             176649785669                Gas           Gov. Aggregation
COH             210193580017                Gas           Gov. Aggregation   COH             195245710036                Gas           Gov. Aggregation
COH             196771170043                Gas           Gov. Aggregation   COH             199240580030                Gas           Gov. Aggregation
COH             203387880021                Gas           Gov. Aggregation   COH             199956680023                Gas           Gov. Aggregation
COH             201264110033                Gas           Gov. Aggregation   COH             201992720023                Gas           Gov. Aggregation
COH             207696870015                Gas           Gov. Aggregation   COH             202349130029                Gas           Gov. Aggregation
COH             206569280019                Gas           Gov. Aggregation   COH             202653380022                Gas           Gov. Aggregation
COH             206569280037                Gas           Gov. Aggregation   COH             202975170024                Gas           Gov. Aggregation
COH             201897490042                Gas           Gov. Aggregation   COH             203360980035                Gas           Gov. Aggregation
COH             194176250077                Gas           Gov. Aggregation   COH             208649880011                Gas           Gov. Aggregation
COH             206643050019                Gas           Gov. Aggregation   COH             208829770012                Gas           Gov. Aggregation
COH             205691400033                Gas           Gov. Aggregation   COH             208869940012                Gas           Gov. Aggregation
COH             148449870029                Gas           Gov. Aggregation   COH             209017720012                Gas           Gov. Aggregation
COH             137074690043                Gas           Gov. Aggregation   COH             209017730010                Gas           Gov. Aggregation
COH             197829520027                Gas           Gov. Aggregation   COH             209283300026                Gas           Gov. Aggregation
COH             118433180050                Gas           Gov. Aggregation   COH             209295880011                Gas           Gov. Aggregation
COH             118433180069                Gas           Gov. Aggregation   COH             209903410018                Gas           Gov. Aggregation
COH             209768940015                Gas           Gov. Aggregation   COH             210040260017                Gas           Gov. Aggregation
COH             208676360013                Gas           Gov. Aggregation   COH             210195240014                Gas           Gov. Aggregation
COH             177465740081                Gas           Gov. Aggregation   COH             210205460015                Gas           Gov. Aggregation
COH             209416470019                Gas           Gov. Aggregation   COH             210229370014                Gas           Gov. Aggregation
COH             206964060017                Gas           Gov. Aggregation   COH             210335510019                Gas           Gov. Aggregation
COH             194862050047                Gas           Gov. Aggregation   COH             210369090017                Gas           Gov. Aggregation
COH             120432350025                Gas           Gov. Aggregation   COH             210444330016                Gas           Gov. Aggregation
COH             120239840022                Gas           Gov. Aggregation   COH             210472170011                Gas           Gov. Aggregation
COH             206944580010                Gas           Gov. Aggregation   COH             210472180019                Gas           Gov. Aggregation
COH             207343130017                Gas           Gov. Aggregation   COH             210472190017                Gas           Gov. Aggregation
COH             136890940050                Gas           Gov. Aggregation   COH             166206120028                Gas           Gov. Aggregation
COH             204242090031                Gas           Gov. Aggregation   COH             204731630030                Gas           Gov. Aggregation
COH             208301250028                Gas           Gov. Aggregation   COH             124352220037                Gas           Gov. Aggregation
COH             207682320019                Gas           Gov. Aggregation   COH             209665780017                Gas           Gov. Aggregation
COH             209826980013                Gas           Gov. Aggregation   COH             163589620026                Gas           Gov. Aggregation
COH             208087540014                Gas           Gov. Aggregation   COH             124404280043                Gas           Gov. Aggregation
COH             187620540081                Gas           Gov. Aggregation   COH             135284370029                Gas           Gov. Aggregation
COH             209033110016                Gas           Gov. Aggregation   COH             209793080013                Gas           Gov. Aggregation
COH             171952710044                Gas           Gov. Aggregation   COH             209406180011                Gas           Gov. Aggregation
COH             199717540046                Gas           Gov. Aggregation   COH             150128720026                Gas           Gov. Aggregation
COH             207797090015                Gas           Gov. Aggregation   COH             209830180012                Gas           Gov. Aggregation
COH             140131330014                Gas           Gov. Aggregation   COH             210085350014                Gas           Gov. Aggregation
COH             207940020014                Gas           Gov. Aggregation   COH             210983660015                Gas           Gov. Aggregation
COH             201845620025                Gas           Gov. Aggregation   COH             209927420016                Gas           Gov. Aggregation
COH             209092040017                Gas           Gov. Aggregation   COH             191423020064                Gas           Gov. Aggregation
COH             110740610010                Gas           Gov. Aggregation   COH             208829590010                Gas           Gov. Aggregation
COH             207798010019                Gas           Gov. Aggregation   COH             167533800049                Gas           Gov. Aggregation
COH             201589860029                Gas           Gov. Aggregation   COH             209195200015                Gas           Gov. Aggregation
COH             203566120011                Gas           Gov. Aggregation   COH             210706070015                Gas           Gov. Aggregation
COH             210391010016                Gas           Gov. Aggregation   COH             127113700020                Gas           Gov. Aggregation
COH             207684450018                Gas           Gov. Aggregation   COH             191088480051                Gas           Gov. Aggregation
COH             205254800035                Gas           Gov. Aggregation   COH             204548210028                Gas           Gov. Aggregation
COH             200992630023                Gas           Gov. Aggregation   COH             210114990017                Gas           Gov. Aggregation
COH             193686750054                Gas           Gov. Aggregation   COH             206092810027                Gas           Gov. Aggregation
COH             207780580017                Gas           Gov. Aggregation   COH             199620020022                Gas           Gov. Aggregation
COH             156103000014                Gas           Gov. Aggregation   COH             209075910010                Gas           Gov. Aggregation
COH             145097810012                Gas           Gov. Aggregation   COH             200806440035                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             204067950014                Gas           Gov. Aggregation   COH             146801800036                Gas           Gov. Aggregation
COH             208551130015                Gas           Gov. Aggregation   COH             210636540015                Gas           Gov. Aggregation
COH             110880540028                Gas           Gov. Aggregation   COH             173280460040                Gas           Gov. Aggregation
COH             210536040012                Gas           Gov. Aggregation   COH             210435110011                Gas           Gov. Aggregation
COH             209744050012                Gas           Gov. Aggregation   COH             210140360014                Gas           Gov. Aggregation
COH             110880540019                Gas           Gov. Aggregation   COH             208586050019                Gas           Gov. Aggregation
COH             207448990015                Gas           Gov. Aggregation   COH             210695410018                Gas           Gov. Aggregation
COH             209239990016                Gas           Gov. Aggregation   COH             176222750048                Gas           Gov. Aggregation
COH             209215150012                Gas           Gov. Aggregation   COH             169624060022                Gas           Gov. Aggregation
COH             116623780026                Gas           Gov. Aggregation   COH             205230370036                Gas           Gov. Aggregation
COH             206538030016                Gas           Gov. Aggregation   COH             124410550016                Gas           Gov. Aggregation
COH             209579760014                Gas           Gov. Aggregation   COH             150051190012                Gas           Gov. Aggregation
COH             208967610013                Gas           Gov. Aggregation   COH             164073920016                Gas           Gov. Aggregation
COH             210541900010                Gas           Gov. Aggregation   COH             210459340013                Gas           Gov. Aggregation
COH             110883100033                Gas           Gov. Aggregation   COH             163654570019                Gas           Gov. Aggregation
COH             163584920014                Gas           Gov. Aggregation   COH             170028080010                Gas           Gov. Aggregation
COH             207257790012                Gas           Gov. Aggregation   COH             123914340086                Gas           Gov. Aggregation
COH             210193350015                Gas           Gov. Aggregation   COH             124037260019                Gas           Gov. Aggregation
COH             204388100012                Gas           Gov. Aggregation   COH             142938260026                Gas           Gov. Aggregation
COH             206088270011                Gas           Gov. Aggregation   COH             142999610024                Gas           Gov. Aggregation
COH             174197660026                Gas           Gov. Aggregation   COH             205286400014                Gas           Gov. Aggregation
COH             206866740012                Gas           Gov. Aggregation   COH             201061280029                Gas           Gov. Aggregation
COH             206665210019                Gas           Gov. Aggregation   COH             207695860037                Gas           Gov. Aggregation
COH             111330390033                Gas           Gov. Aggregation   COH             210248670011                Gas           Gov. Aggregation
COH             154111120023                Gas           Gov. Aggregation   COH             209975080017                Gas           Gov. Aggregation
COH             208950850018                Gas           Gov. Aggregation   COH             210015270018                Gas           Gov. Aggregation
COH             166521540040                Gas           Gov. Aggregation   COH             124401380039                Gas           Gov. Aggregation
COH             208028380012                Gas           Gov. Aggregation   COH             208820650015                Gas           Gov. Aggregation
COH             200234550295                Gas           Gov. Aggregation   COH             201067070021                Gas           Gov. Aggregation
COH             134527690045                Gas           Gov. Aggregation   COH             152708590095                Gas           Gov. Aggregation
COH             206745200011                Gas           Gov. Aggregation   COH             210747590010                Gas           Gov. Aggregation
COH             209640060010                Gas           Gov. Aggregation   COH             157416190020                Gas           Gov. Aggregation
COH             209064910013                Gas           Gov. Aggregation   COH             209350960016                Gas           Gov. Aggregation
COH             110918910047                Gas           Gov. Aggregation   COH             208984040017                Gas           Gov. Aggregation
COH             207521420018                Gas           Gov. Aggregation   COH             210692080014                Gas           Gov. Aggregation
COH             173846680026                Gas           Gov. Aggregation   COH             196287540033                Gas           Gov. Aggregation
COH             202444080019                Gas           Gov. Aggregation   COH             209825070016                Gas           Gov. Aggregation
COH             161173780035                Gas           Gov. Aggregation   COH             203900380099                Gas           Gov. Aggregation
COH             188598350016                Gas           Gov. Aggregation   COH             210308880019                Gas           Gov. Aggregation
COH             110918720010                Gas           Gov. Aggregation   COH             208734250012                Gas           Gov. Aggregation
COH             204706170012                Gas           Gov. Aggregation   COH             200425120021                Gas           Gov. Aggregation
COH             208646520012                Gas           Gov. Aggregation   COH             160518890022                Gas           Gov. Aggregation
COH             197947370038                Gas           Gov. Aggregation   COH             210166720014                Gas           Gov. Aggregation
COH             202392180019                Gas           Gov. Aggregation   COH             210603750010                Gas           Gov. Aggregation
COH             208881560016                Gas           Gov. Aggregation   COH             209025340015                Gas           Gov. Aggregation
COH             188871270040                Gas           Gov. Aggregation   COH             210861560014                Gas           Gov. Aggregation
COH             191194840087                Gas           Gov. Aggregation   COH             143707590016                Gas           Gov. Aggregation
COH             196452580016                Gas           Gov. Aggregation   COH             209497930012                Gas           Gov. Aggregation
COH             206069370038                Gas           Gov. Aggregation   COH             210832320015                Gas           Gov. Aggregation
COH             210099560011                Gas           Gov. Aggregation   COH             193660830033                Gas           Gov. Aggregation
COH             209359050019                Gas           Gov. Aggregation   COH             209940370019                Gas           Gov. Aggregation
COH             202693720035                Gas           Gov. Aggregation   COH             210150390017                Gas           Gov. Aggregation
COH             168659430040                Gas           Gov. Aggregation   COH             208535310011                Gas           Gov. Aggregation
COH             110724330013                Gas           Gov. Aggregation   COH             210715360015                Gas           Gov. Aggregation
COH             207135910014                Gas           Gov. Aggregation   COH             209369710019                Gas           Gov. Aggregation
COH             110726280083                Gas           Gov. Aggregation   COH             204731470025                Gas           Gov. Aggregation
COH             157872260047                Gas           Gov. Aggregation   COH             203727220045                Gas           Gov. Aggregation
COH             157872260038                Gas           Gov. Aggregation   COH             209874380018                Gas           Gov. Aggregation
COH             165845950058                Gas           Gov. Aggregation   COH             206052430021                Gas           Gov. Aggregation
COH             189674820032                Gas           Gov. Aggregation   COH             185118840067                Gas           Gov. Aggregation
COH             169757570097                Gas           Gov. Aggregation   COH             210315350015                Gas           Gov. Aggregation
COH             209407730013                Gas           Gov. Aggregation   COH             194020930037                Gas           Gov. Aggregation
COH             164641270036                Gas           Gov. Aggregation   COH             209572190018                Gas           Gov. Aggregation
COH             205554240019                Gas           Gov. Aggregation   COH             210983480013                Gas           Gov. Aggregation
COH             208088880011                Gas           Gov. Aggregation   COH             210686790018                Gas           Gov. Aggregation
COH             166794890022                Gas           Gov. Aggregation   COH             210074320013                Gas           Gov. Aggregation
COH             110685060014                Gas           Gov. Aggregation   COH             209232130010                Gas           Gov. Aggregation
COH             204751950077                Gas           Gov. Aggregation   COH             162492540056                Gas           Gov. Aggregation
COH             194119390032                Gas           Gov. Aggregation   COH             210467470019                Gas           Gov. Aggregation
COH             169108660020                Gas           Gov. Aggregation   COH             196490060033                Gas           Gov. Aggregation
COH             206163000026                Gas           Gov. Aggregation   COH             202721130056                Gas           Gov. Aggregation
COH             195591420034                Gas           Gov. Aggregation   COH             208829410017                Gas           Gov. Aggregation
COH             208157830014                Gas           Gov. Aggregation   COH             210646780014                Gas           Gov. Aggregation
COH             206897400018                Gas           Gov. Aggregation   COH             211022220012                Gas           Gov. Aggregation
COH             203934750018                Gas           Gov. Aggregation   COH             208805630011                Gas           Gov. Aggregation
COH             205864390011                Gas           Gov. Aggregation   COH             209188540019                Gas           Gov. Aggregation
COH             209982280010                Gas           Gov. Aggregation   COH             207967710022                Gas           Gov. Aggregation
COH             210508480019                Gas           Gov. Aggregation   COH             210690250012                Gas           Gov. Aggregation
COH             208768130016                Gas           Gov. Aggregation   COH             163993990175                Gas           Gov. Aggregation
COH             209328310019                Gas           Gov. Aggregation   COH             208747980012                Gas           Gov. Aggregation
COH             110941940015                Gas           Gov. Aggregation   COH             210166860015                Gas           Gov. Aggregation
COH             210607520010                Gas           Gov. Aggregation   COH             207699130014                Gas           Gov. Aggregation
COH             196508910035                Gas           Gov. Aggregation   COH             140323910033                Gas           Gov. Aggregation
COH             207247450014                Gas           Gov. Aggregation   COH             194415770043                Gas           Gov. Aggregation
COH             209322170011                Gas           Gov. Aggregation   COH             210179890012                Gas           Gov. Aggregation
COH             209264600014                Gas           Gov. Aggregation   COH             210927210017                Gas           Gov. Aggregation
COH             203924080010                Gas           Gov. Aggregation   COH             209589310017                Gas           Gov. Aggregation
COH             192162600010                Gas           Gov. Aggregation   COH             210921730010                Gas           Gov. Aggregation
COH             204703180016                Gas           Gov. Aggregation   COH             161927810048                Gas           Gov. Aggregation
COH             208775360022                Gas           Gov. Aggregation   COH             208625610017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             202766570014                Gas           Gov. Aggregation   COH             211064150019                Gas           Gov. Aggregation
COH             207811400017                Gas           Gov. Aggregation   COH             207886700017                Gas           Gov. Aggregation
COH             203124850014                Gas           Gov. Aggregation   COH             210239180013                Gas           Gov. Aggregation
COH             207848470016                Gas           Gov. Aggregation   COH             210646800019                Gas           Gov. Aggregation
COH             110935410037                Gas           Gov. Aggregation   COH             153225350034                Gas           Gov. Aggregation
COH             203950890015                Gas           Gov. Aggregation   COH             172025090012                Gas           Gov. Aggregation
COH             191150350180                Gas           Gov. Aggregation   COH             140757680024                Gas           Gov. Aggregation
COH             190174970010                Gas           Gov. Aggregation   COH             170360350019                Gas           Gov. Aggregation
COH             205352470037                Gas           Gov. Aggregation   COH             108787920011                Gas           Gov. Aggregation
COH             206822300016                Gas           Gov. Aggregation   COH             108788050030                Gas           Gov. Aggregation
COH             110934600039                Gas           Gov. Aggregation   COH             108788410016                Gas           Gov. Aggregation
COH             210594280010                Gas           Gov. Aggregation   COH             108788440010                Gas           Gov. Aggregation
COH             204370670010                Gas           Gov. Aggregation   COH             108788580011                Gas           Gov. Aggregation
COH             201048890029                Gas           Gov. Aggregation   COH             108801890016                Gas           Gov. Aggregation
COH             210365380014                Gas           Gov. Aggregation   COH             108804880021                Gas           Gov. Aggregation
COH             210388760016                Gas           Gov. Aggregation   COH             108807670047                Gas           Gov. Aggregation
COH             199253390024                Gas           Gov. Aggregation   COH             108808770017                Gas           Gov. Aggregation
COH             202805320012                Gas           Gov. Aggregation   COH             108815270026                Gas           Gov. Aggregation
COH             196983070036                Gas           Gov. Aggregation   COH             108820860021                Gas           Gov. Aggregation
COH             204607700010                Gas           Gov. Aggregation   COH             108821320022                Gas           Gov. Aggregation
COH             207089140015                Gas           Gov. Aggregation   COH             108821860029                Gas           Gov. Aggregation
COH             206563320012                Gas           Gov. Aggregation   COH             108828570017                Gas           Gov. Aggregation
COH             206042670013                Gas           Gov. Aggregation   COH             108836500014                Gas           Gov. Aggregation
COH             208752280018                Gas           Gov. Aggregation   COH             108838050015                Gas           Gov. Aggregation
COH             203229230012                Gas           Gov. Aggregation   COH             172911700014                Gas           Gov. Aggregation
COH             210092190013                Gas           Gov. Aggregation   COH             173086590018                Gas           Gov. Aggregation
COH             203162030016                Gas           Gov. Aggregation   COH             173224030011                Gas           Gov. Aggregation
COH             206935620010                Gas           Gov. Aggregation   COH             173441880013                Gas           Gov. Aggregation
COH             209503520013                Gas           Gov. Aggregation   COH             173819090018                Gas           Gov. Aggregation
COH             202482000015                Gas           Gov. Aggregation   COH             135897990011                Gas           Gov. Aggregation
COH             189996520033                Gas           Gov. Aggregation   COH             136223880010                Gas           Gov. Aggregation
COH             146171210028                Gas           Gov. Aggregation   COH             136386660012                Gas           Gov. Aggregation
COH             203292610019                Gas           Gov. Aggregation   COH             136547680016                Gas           Gov. Aggregation
COH             204700810019                Gas           Gov. Aggregation   COH             136618700010                Gas           Gov. Aggregation
COH             208940700010                Gas           Gov. Aggregation   COH             140132750014                Gas           Gov. Aggregation
COH             209349030014                Gas           Gov. Aggregation   COH             140404280016                Gas           Gov. Aggregation
COH             205896020011                Gas           Gov. Aggregation   COH             140948850014                Gas           Gov. Aggregation
COH             202602990012                Gas           Gov. Aggregation   COH             141225620013                Gas           Gov. Aggregation
COH             207839940016                Gas           Gov. Aggregation   COH             141823480015                Gas           Gov. Aggregation
COH             203198970032                Gas           Gov. Aggregation   COH             141848490011                Gas           Gov. Aggregation
COH             204642380014                Gas           Gov. Aggregation   COH             142018410015                Gas           Gov. Aggregation
COH             199393390028                Gas           Gov. Aggregation   COH             144918560032                Gas           Gov. Aggregation
COH             210578680010                Gas           Gov. Aggregation   COH             145062790010                Gas           Gov. Aggregation
COH             209172550010                Gas           Gov. Aggregation   COH             145205060019                Gas           Gov. Aggregation
COH             208008290013                Gas           Gov. Aggregation   COH             146309680018                Gas           Gov. Aggregation
COH             209994860013                Gas           Gov. Aggregation   COH             148193880011                Gas           Gov. Aggregation
DEO             2500022101266               Gas           Gov. Aggregation   COH             148224250016                Gas           Gov. Aggregation
DEO             0500009089469               Gas           Gov. Aggregation   COH             148262150017                Gas           Gov. Aggregation
VEDO            4019205622468126            Gas           Gov. Aggregation   COH             148997760030                Gas           Gov. Aggregation
DEO             2180015442356               Gas           Gov. Aggregation   COH             149020530027                Gas           Gov. Aggregation
COH             134371750016                Gas           Gov. Aggregation   COH             150738400011                Gas           Gov. Aggregation
COH             125785640022                Gas           Gov. Aggregation   COH             151666650011                Gas           Gov. Aggregation
VEDO            4017084712198256            Gas           Gov. Aggregation   COH             109323340014                Gas           Gov. Aggregation
COH             111123150014                Gas           Gov. Aggregation   COH             108832680015                Gas           Gov. Aggregation
COH             207689950013                Gas           Gov. Aggregation   COH             136344600012                Gas           Gov. Aggregation
COH             208110200014                Gas           Gov. Aggregation   COH             136568700017                Gas           Gov. Aggregation
COH             206290510011                Gas           Gov. Aggregation   COH             136616610022                Gas           Gov. Aggregation
COH             206521780014                Gas           Gov. Aggregation   COH             136842090032                Gas           Gov. Aggregation
COH             176731140010                Gas           Gov. Aggregation   COH             136876200046                Gas           Gov. Aggregation
COH             209661410012                Gas           Gov. Aggregation   COH             136895280282                Gas           Gov. Aggregation
COH             133289070659                Gas           Gov. Aggregation   COH             137378150015                Gas           Gov. Aggregation
DEO             7421001262371               Gas           Gov. Aggregation   COH             139710420029                Gas           Gov. Aggregation
COH             210194020012                Gas           Gov. Aggregation   COH             140075210028                Gas           Gov. Aggregation
DEO             1442102557827               Gas           Gov. Aggregation   COH             140095740016                Gas           Gov. Aggregation
VEDO            4017304932404009            Gas           Gov. Aggregation   COH             140118400017                Gas           Gov. Aggregation
COH             207991690017                Gas           Gov. Aggregation   COH             140169600027                Gas           Gov. Aggregation
COH             124288300046                Gas           Gov. Aggregation   COH             140280270058                Gas           Gov. Aggregation
COH             167268310027                Gas           Gov. Aggregation   COH             142278210035                Gas           Gov. Aggregation
COH             167282380014                Gas           Gov. Aggregation   COH             142325950020                Gas           Gov. Aggregation
COH             190891420015                Gas           Gov. Aggregation   COH             142440580024                Gas           Gov. Aggregation
COH             167637290010                Gas           Gov. Aggregation   COH             142489870012                Gas           Gov. Aggregation
COH             197786350016                Gas           Gov. Aggregation   COH             142492110023                Gas           Gov. Aggregation
COH             176821750039                Gas           Gov. Aggregation   COH             142583100059                Gas           Gov. Aggregation
COH             209867250010                Gas           Gov. Aggregation   COH             174455910016                Gas           Gov. Aggregation
COH             188629560024                Gas           Gov. Aggregation   COH             174487770019                Gas           Gov. Aggregation
COH             119526830028                Gas           Gov. Aggregation   COH             174501640014                Gas           Gov. Aggregation
COH             166397400044                Gas           Gov. Aggregation   COH             174525610010                Gas           Gov. Aggregation
VEDO            4002446952239590            Gas           Gov. Aggregation   COH             174538720010                Gas           Gov. Aggregation
COH             206685080015                Gas           Gov. Aggregation   COH             174545150015                Gas           Gov. Aggregation
COH             120458560018                Gas           Gov. Aggregation   COH             127049380034                Gas           Gov. Aggregation
COH             209944910017                Gas           Gov. Aggregation   COH             130966230278                Gas           Gov. Aggregation
COH             209562470010                Gas           Gov. Aggregation   COH             130982380022                Gas           Gov. Aggregation
COH             120459100012                Gas           Gov. Aggregation   COH             131137840016                Gas           Gov. Aggregation
COH             202653560024                Gas           Gov. Aggregation   COH             164109660032                Gas           Gov. Aggregation
COH             209699460013                Gas           Gov. Aggregation   COH             164128730019                Gas           Gov. Aggregation
COH             200450150013                Gas           Gov. Aggregation   COH             149100120041                Gas           Gov. Aggregation
COH             154309860065                Gas           Gov. Aggregation   COH             149123930025                Gas           Gov. Aggregation
COH             209872800013                Gas           Gov. Aggregation   COH             149200550012                Gas           Gov. Aggregation
COH             206851100017                Gas           Gov. Aggregation   COH             149200550021                Gas           Gov. Aggregation
COH             194972700047                Gas           Gov. Aggregation   COH             149376980066                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             206224010024                Gas           Gov. Aggregation   COH             149402770018                Gas           Gov. Aggregation
COH             208331180011                Gas           Gov. Aggregation   COH             162055850039                Gas           Gov. Aggregation
COH             208545920012                Gas           Gov. Aggregation   COH             162165460056                Gas           Gov. Aggregation
COH             120445590037                Gas           Gov. Aggregation   COH             162350960012                Gas           Gov. Aggregation
COH             137801300096                Gas           Gov. Aggregation   COH             162472720014                Gas           Gov. Aggregation
COH             205791950027                Gas           Gov. Aggregation   COH             162472750018                Gas           Gov. Aggregation
COH             204439090025                Gas           Gov. Aggregation   COH             162499450015                Gas           Gov. Aggregation
COH             208030090018                Gas           Gov. Aggregation   COH             111259150053                Gas           Gov. Aggregation
COH             209747480016                Gas           Gov. Aggregation   COH             111259470029                Gas           Gov. Aggregation
COH             197711290043                Gas           Gov. Aggregation   COH             111315630089                Gas           Gov. Aggregation
COH             207548740015                Gas           Gov. Aggregation   COH             112030990014                Gas           Gov. Aggregation
COH             174452680048                Gas           Gov. Aggregation   COH             116571260099                Gas           Gov. Aggregation
COH             208767910014                Gas           Gov. Aggregation   COH             130825600018                Gas           Gov. Aggregation
COH             209808300013                Gas           Gov. Aggregation   COH             131582030022                Gas           Gov. Aggregation
COH             206879030014                Gas           Gov. Aggregation   COH             131684590010                Gas           Gov. Aggregation
COH             170126430036                Gas           Gov. Aggregation   COH             132759610015                Gas           Gov. Aggregation
COH             202898280034                Gas           Gov. Aggregation   COH             144394040024                Gas           Gov. Aggregation
COH             120169620027                Gas           Gov. Aggregation   COH             144469020029                Gas           Gov. Aggregation
COH             207689560015                Gas           Gov. Aggregation   COH             145391940011                Gas           Gov. Aggregation
COH             200172500046                Gas           Gov. Aggregation   COH             145524180072                Gas           Gov. Aggregation
COH             207185870018                Gas           Gov. Aggregation   COH             153603770016                Gas           Gov. Aggregation
COH             203643830036                Gas           Gov. Aggregation   COH             154307990017                Gas           Gov. Aggregation
COH             207433910012                Gas           Gov. Aggregation   COH             154488080025                Gas           Gov. Aggregation
COH             163420470079                Gas           Gov. Aggregation   COH             155250610016                Gas           Gov. Aggregation
COH             202234610030                Gas           Gov. Aggregation   COH             155843760018                Gas           Gov. Aggregation
COH             188104270081                Gas           Gov. Aggregation   COH             157582930032                Gas           Gov. Aggregation
COH             209030470133                Gas           Gov. Aggregation   COH             157801850015                Gas           Gov. Aggregation
COH             144903270034                Gas           Gov. Aggregation   COH             158636800024                Gas           Gov. Aggregation
COH             207684310026                Gas           Gov. Aggregation   COH             159303410011                Gas           Gov. Aggregation
COH             209282430012                Gas           Gov. Aggregation   COH             160381250018                Gas           Gov. Aggregation
COH             207563890012                Gas           Gov. Aggregation   COH             161435100013                Gas           Gov. Aggregation
COH             210065980014                Gas           Gov. Aggregation   COH             162671370016                Gas           Gov. Aggregation
COH             154972400057                Gas           Gov. Aggregation   COH             163100770010                Gas           Gov. Aggregation
COH             207670060019                Gas           Gov. Aggregation   COH             163245670024                Gas           Gov. Aggregation
COH             209926830012                Gas           Gov. Aggregation   COH             169334300017                Gas           Gov. Aggregation
COH             119510170057                Gas           Gov. Aggregation   COH             171350020018                Gas           Gov. Aggregation
COH             135266830084                Gas           Gov. Aggregation   COH             172070910014                Gas           Gov. Aggregation
COH             201991110023                Gas           Gov. Aggregation   COH             110426900015                Gas           Gov. Aggregation
COH             208377420014                Gas           Gov. Aggregation   COH             110426980019                Gas           Gov. Aggregation
COH             208788580010                Gas           Gov. Aggregation   COH             110427140013                Gas           Gov. Aggregation
COH             206754820012                Gas           Gov. Aggregation   COH             110427170017                Gas           Gov. Aggregation
COH             209337980010                Gas           Gov. Aggregation   COH             110427190013                Gas           Gov. Aggregation
COH             209864670063                Gas           Gov. Aggregation   COH             110438100027                Gas           Gov. Aggregation
COH             194945270054                Gas           Gov. Aggregation   COH             110438160025                Gas           Gov. Aggregation
COH             209664370015                Gas           Gov. Aggregation   COH             110439200015                Gas           Gov. Aggregation
COH             207053070015                Gas           Gov. Aggregation   COH             114970300014                Gas           Gov. Aggregation
COH             189885500041                Gas           Gov. Aggregation   COH             114971020011                Gas           Gov. Aggregation
COH             192506350040                Gas           Gov. Aggregation   COH             114971460019                Gas           Gov. Aggregation
COH             196232050077                Gas           Gov. Aggregation   COH             114971480024                Gas           Gov. Aggregation
COH             203378310029                Gas           Gov. Aggregation   COH             114972630011                Gas           Gov. Aggregation
COH             203672030024                Gas           Gov. Aggregation   COH             114972840017                Gas           Gov. Aggregation
COH             204791570028                Gas           Gov. Aggregation   COH             114972990025                Gas           Gov. Aggregation
COH             205584620025                Gas           Gov. Aggregation   COH             174811250019                Gas           Gov. Aggregation
COH             208499940017                Gas           Gov. Aggregation   COH             174868560015                Gas           Gov. Aggregation
COH             209686460010                Gas           Gov. Aggregation   COH             168280750028                Gas           Gov. Aggregation
COH             210341470015                Gas           Gov. Aggregation   COH             168482900019                Gas           Gov. Aggregation
COH             190835840097                Gas           Gov. Aggregation   COH             110488930019                Gas           Gov. Aggregation
COH             210234280012                Gas           Gov. Aggregation   COH             110501090025                Gas           Gov. Aggregation
COH             204310770033                Gas           Gov. Aggregation   COH             168183600016                Gas           Gov. Aggregation
COH             176185700057                Gas           Gov. Aggregation   COH             169066670019                Gas           Gov. Aggregation
COH             206244560036                Gas           Gov. Aggregation   COH             114908760028                Gas           Gov. Aggregation
COH             209014620019                Gas           Gov. Aggregation   COH             114908830014                Gas           Gov. Aggregation
COH             209951420015                Gas           Gov. Aggregation   COH             114909180019                Gas           Gov. Aggregation
COH             210327440011                Gas           Gov. Aggregation   COH             114909590022                Gas           Gov. Aggregation
COH             170037190063                Gas           Gov. Aggregation   COH             114909880021                Gas           Gov. Aggregation
COH             210176130017                Gas           Gov. Aggregation   COH             114910200039                Gas           Gov. Aggregation
COH             208454900019                Gas           Gov. Aggregation   COH             156260120026                Gas           Gov. Aggregation
COH             120293210048                Gas           Gov. Aggregation   COH             129165360021                Gas           Gov. Aggregation
COH             206171100037                Gas           Gov. Aggregation   COH             164214360023                Gas           Gov. Aggregation
COH             161850350093                Gas           Gov. Aggregation   COH             128803450038                Gas           Gov. Aggregation
COH             207615640013                Gas           Gov. Aggregation   COH             117041910012                Gas           Gov. Aggregation
COH             209386060010                Gas           Gov. Aggregation   COH             145021460042                Gas           Gov. Aggregation
COH             205801700017                Gas           Gov. Aggregation   COH             116982140048                Gas           Gov. Aggregation
COH             201017350045                Gas           Gov. Aggregation   COH             161193910017                Gas           Gov. Aggregation
COH             208794910017                Gas           Gov. Aggregation   COH             167477950011                Gas           Gov. Aggregation
COH             202786330049                Gas           Gov. Aggregation   COH             170749290018                Gas           Gov. Aggregation
COH             157532970039                Gas           Gov. Aggregation   COH             155531650021                Gas           Gov. Aggregation
COH             207753480015                Gas           Gov. Aggregation   COH             173749790010                Gas           Gov. Aggregation
COH             207063460012                Gas           Gov. Aggregation   COH             174000030014                Gas           Gov. Aggregation
COH             210422910010                Gas           Gov. Aggregation   COH             131280590043                Gas           Gov. Aggregation
COH             149330760013                Gas           Gov. Aggregation   COH             148104430021                Gas           Gov. Aggregation
COH             149537660105                Gas           Gov. Aggregation   COH             162409200016                Gas           Gov. Aggregation
COH             209469880012                Gas           Gov. Aggregation   COH             162040070025                Gas           Gov. Aggregation
COH             206775270014                Gas           Gov. Aggregation   COH             161297360013                Gas           Gov. Aggregation
COH             203249690185                Gas           Gov. Aggregation   COH             155336500017                Gas           Gov. Aggregation
COH             202223670059                Gas           Gov. Aggregation   COH             154210090020                Gas           Gov. Aggregation
COH             165925400062                Gas           Gov. Aggregation   COH             134083710015                Gas           Gov. Aggregation
COH             166517810024                Gas           Gov. Aggregation   COH             147329530043                Gas           Gov. Aggregation
COH             208503980018                Gas           Gov. Aggregation   COH             166483900019                Gas           Gov. Aggregation
COH             118125630021                Gas           Gov. Aggregation   COH             133705880011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             202715920035                Gas           Gov. Aggregation   COH             162611750012                Gas           Gov. Aggregation
COH             167911180039                Gas           Gov. Aggregation   COH             139645960061                Gas           Gov. Aggregation
COH             199172110033                Gas           Gov. Aggregation   COH             144871720029                Gas           Gov. Aggregation
COH             209781210010                Gas           Gov. Aggregation   COH             171753990020                Gas           Gov. Aggregation
COH             210334270012                Gas           Gov. Aggregation   COH             143802520018                Gas           Gov. Aggregation
COH             203439170029                Gas           Gov. Aggregation   COH             117034820034                Gas           Gov. Aggregation
COH             209030470124                Gas           Gov. Aggregation   COH             151727090019                Gas           Gov. Aggregation
COH             207613540036                Gas           Gov. Aggregation   COH             133473240027                Gas           Gov. Aggregation
COH             208007820013                Gas           Gov. Aggregation   COH             166350530018                Gas           Gov. Aggregation
COH             206894660010                Gas           Gov. Aggregation   COH             174543750013                Gas           Gov. Aggregation
COH             195493100039                Gas           Gov. Aggregation   COH             117119430027                Gas           Gov. Aggregation
COH             133301710058                Gas           Gov. Aggregation   COH             157662680017                Gas           Gov. Aggregation
COH             209427400010                Gas           Gov. Aggregation   COH             144837190014                Gas           Gov. Aggregation
COH             202400550030                Gas           Gov. Aggregation   COH             120162210027                Gas           Gov. Aggregation
COH             185197200010                Gas           Gov. Aggregation   COH             169228060013                Gas           Gov. Aggregation
COH             209648530015                Gas           Gov. Aggregation   COH             166282500019                Gas           Gov. Aggregation
COH             134319590029                Gas           Gov. Aggregation   COH             165880860017                Gas           Gov. Aggregation
COH             207696510010                Gas           Gov. Aggregation   COH             152957220022                Gas           Gov. Aggregation
COH             206828430026                Gas           Gov. Aggregation   COH             170993810011                Gas           Gov. Aggregation
COH             206717520013                Gas           Gov. Aggregation   COH             164020540017                Gas           Gov. Aggregation
COH             176511590058                Gas           Gov. Aggregation   COH             163685790018                Gas           Gov. Aggregation
COH             207986910011                Gas           Gov. Aggregation   COH             158832180010                Gas           Gov. Aggregation
COH             208886910012                Gas           Gov. Aggregation   COH             130238110016                Gas           Gov. Aggregation
COH             206603120018                Gas           Gov. Aggregation   COH             142788800021                Gas           Gov. Aggregation
COH             177586460057                Gas           Gov. Aggregation   COH             162893330023                Gas           Gov. Aggregation
COH             205547610034                Gas           Gov. Aggregation   COH             174020690023                Gas           Gov. Aggregation
COH             195868870042                Gas           Gov. Aggregation   COH             149383060037                Gas           Gov. Aggregation
COH             208417220010                Gas           Gov. Aggregation   COH             142156540016                Gas           Gov. Aggregation
COH             158988480063                Gas           Gov. Aggregation   COH             129949430033                Gas           Gov. Aggregation
COH             209896240011                Gas           Gov. Aggregation   COH             185369370010                Gas           Gov. Aggregation
COH             210203450011                Gas           Gov. Aggregation   COH             185759560013                Gas           Gov. Aggregation
COH             207108200010                Gas           Gov. Aggregation   COH             110719410017                Gas           Gov. Aggregation
COH             204482430022                Gas           Gov. Aggregation   COH             110719680011                Gas           Gov. Aggregation
COH             203544760031                Gas           Gov. Aggregation   COH             110725830052                Gas           Gov. Aggregation
COH             207540330017                Gas           Gov. Aggregation   COH             154889140068                Gas           Gov. Aggregation
COH             198156280033                Gas           Gov. Aggregation   COH             136605120019                Gas           Gov. Aggregation
COH             175962710058                Gas           Gov. Aggregation   COH             132157290037                Gas           Gov. Aggregation
COH             206450800029                Gas           Gov. Aggregation   COH             156483380048                Gas           Gov. Aggregation
COH             208049450013                Gas           Gov. Aggregation   COH             151414850049                Gas           Gov. Aggregation
COH             192148960024                Gas           Gov. Aggregation   COH             142943710039                Gas           Gov. Aggregation
COH             208640550018                Gas           Gov. Aggregation   COH             129444180063                Gas           Gov. Aggregation
COH             187989000039                Gas           Gov. Aggregation   COH             163562030017                Gas           Gov. Aggregation
COH             206762520018                Gas           Gov. Aggregation   COH             147194550019                Gas           Gov. Aggregation
COH             185833760022                Gas           Gov. Aggregation   COH             154840860014                Gas           Gov. Aggregation
COH             210253270014                Gas           Gov. Aggregation   COH             155704860011                Gas           Gov. Aggregation
COH             208804560018                Gas           Gov. Aggregation   COH             155834140026                Gas           Gov. Aggregation
COH             207799840013                Gas           Gov. Aggregation   COH             159613600014                Gas           Gov. Aggregation
COH             208696140017                Gas           Gov. Aggregation   COH             159878410014                Gas           Gov. Aggregation
COH             156748790095                Gas           Gov. Aggregation   COH             160154350027                Gas           Gov. Aggregation
COH             208994240014                Gas           Gov. Aggregation   COH             168091520018                Gas           Gov. Aggregation
COH             203406700026                Gas           Gov. Aggregation   COH             168270930030                Gas           Gov. Aggregation
COH             202266230024                Gas           Gov. Aggregation   COH             168556810011                Gas           Gov. Aggregation
COH             203169620027                Gas           Gov. Aggregation   COH             168572410011                Gas           Gov. Aggregation
COH             188911220026                Gas           Gov. Aggregation   COH             174754410017                Gas           Gov. Aggregation
COH             208742390016                Gas           Gov. Aggregation   COH             174797320025                Gas           Gov. Aggregation
COH             209240590017                Gas           Gov. Aggregation   COH             174801280014                Gas           Gov. Aggregation
COH             120168700040                Gas           Gov. Aggregation   COH             174880990019                Gas           Gov. Aggregation
COH             207337510010                Gas           Gov. Aggregation   COH             176361730011                Gas           Gov. Aggregation
COH             209768920019                Gas           Gov. Aggregation   COH             176461120017                Gas           Gov. Aggregation
COH             147375310042                Gas           Gov. Aggregation   COH             176536050013                Gas           Gov. Aggregation
COH             208488660019                Gas           Gov. Aggregation   COH             176742400012                Gas           Gov. Aggregation
COH             188469800032                Gas           Gov. Aggregation   COH             171067020019                Gas           Gov. Aggregation
COH             209343360017                Gas           Gov. Aggregation   COH             171141550010                Gas           Gov. Aggregation
COH             209747550011                Gas           Gov. Aggregation   COH             171196600014                Gas           Gov. Aggregation
COH             207247110015                Gas           Gov. Aggregation   COH             172426380011                Gas           Gov. Aggregation
COH             209223580015                Gas           Gov. Aggregation   COH             172449930026                Gas           Gov. Aggregation
COH             200992140026                Gas           Gov. Aggregation   COH             174881000014                Gas           Gov. Aggregation
COH             163496830136                Gas           Gov. Aggregation   COH             175072630016                Gas           Gov. Aggregation
COH             196086040034                Gas           Gov. Aggregation   COH             175107630011                Gas           Gov. Aggregation
COH             205723540035                Gas           Gov. Aggregation   COH             175632800012                Gas           Gov. Aggregation
COH             197970740040                Gas           Gov. Aggregation   COH             175795470018                Gas           Gov. Aggregation
COH             191916690023                Gas           Gov. Aggregation   COH             111210120015                Gas           Gov. Aggregation
COH             137980420048                Gas           Gov. Aggregation   COH             111210580019                Gas           Gov. Aggregation
COH             209188970019                Gas           Gov. Aggregation   COH             111211120013                Gas           Gov. Aggregation
COH             206667010017                Gas           Gov. Aggregation   COH             111246840019                Gas           Gov. Aggregation
COH             203906740019                Gas           Gov. Aggregation   COH             111247450019                Gas           Gov. Aggregation
COH             207997250017                Gas           Gov. Aggregation   COH             111253400016                Gas           Gov. Aggregation
COH             205737270024                Gas           Gov. Aggregation   COH             111276440047                Gas           Gov. Aggregation
COH             203377940010                Gas           Gov. Aggregation   COH             111276570040                Gas           Gov. Aggregation
COH             177421910041                Gas           Gov. Aggregation   COH             111276590019                Gas           Gov. Aggregation
COH             110653820011                Gas           Gov. Aggregation   COH             111277270014                Gas           Gov. Aggregation
COH             110654030015                Gas           Gov. Aggregation   COH             141367210019                Gas           Gov. Aggregation
COH             164721410027                Gas           Gov. Aggregation   COH             141847430015                Gas           Gov. Aggregation
COH             171251600034                Gas           Gov. Aggregation   COH             142296740018                Gas           Gov. Aggregation
VEDO            4004341812375510            Gas           Gov. Aggregation   COH             142816810019                Gas           Gov. Aggregation
VEDO            4021294682105234            Gas           Gov. Aggregation   COH             144837840017                Gas           Gov. Aggregation
VEDO            4001721742289101            Gas           Gov. Aggregation   COH             146366940013                Gas           Gov. Aggregation
VEDO            4001040722217468            Gas           Gov. Aggregation   COH             146769090018                Gas           Gov. Aggregation
VEDO            4019405342647318            Gas           Gov. Aggregation   COH             149953600070                Gas           Gov. Aggregation
VEDO            4017915252528943            Gas           Gov. Aggregation   COH             150514690015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4004216102314480            Gas           Gov. Aggregation   COH             150977370012                Gas           Gov. Aggregation
VEDO            4001454662178742            Gas           Gov. Aggregation   COH             151183220033                Gas           Gov. Aggregation
VEDO            4020035662101113            Gas           Gov. Aggregation   COH             129727080019                Gas           Gov. Aggregation
VEDO            4021497162313354            Gas           Gov. Aggregation   COH             130075220019                Gas           Gov. Aggregation
VEDO            4017621082226132            Gas           Gov. Aggregation   COH             130496190023                Gas           Gov. Aggregation
VEDO            4002965872333446            Gas           Gov. Aggregation   COH             131523080017                Gas           Gov. Aggregation
VEDO            4021516392350223            Gas           Gov. Aggregation   COH             187295450018                Gas           Gov. Aggregation
VEDO            4018413432375753            Gas           Gov. Aggregation   COH             187323950012                Gas           Gov. Aggregation
VEDO            4017574672196923            Gas           Gov. Aggregation   COH             164424800043                Gas           Gov. Aggregation
VEDO            4015504512381910            Gas           Gov. Aggregation   COH             168733400020                Gas           Gov. Aggregation
VEDO            4003303362375276            Gas           Gov. Aggregation   COH             169052310013                Gas           Gov. Aggregation
VEDO            4021263632246546            Gas           Gov. Aggregation   COH             111262030024                Gas           Gov. Aggregation
VEDO            4021263652188019            Gas           Gov. Aggregation   COH             111280360018                Gas           Gov. Aggregation
VEDO            4018926652194885            Gas           Gov. Aggregation   COH             111280880019                Gas           Gov. Aggregation
VEDO            4018926652480902            Gas           Gov. Aggregation   COH             111281490019                Gas           Gov. Aggregation
VEDO            4018817562107869            Gas           Gov. Aggregation   COH             111228780010                Gas           Gov. Aggregation
VEDO            4021217152355785            Gas           Gov. Aggregation   COH             111232290014                Gas           Gov. Aggregation
VEDO            4021169472170214            Gas           Gov. Aggregation   COH             111232300011                Gas           Gov. Aggregation
VEDO            4021087762505035            Gas           Gov. Aggregation   COH             111232320017                Gas           Gov. Aggregation
VEDO            4004084322458370            Gas           Gov. Aggregation   COH             111232430014                Gas           Gov. Aggregation
VEDO            4002652672687112            Gas           Gov. Aggregation   COH             111232520015                Gas           Gov. Aggregation
VEDO            4018625572593623            Gas           Gov. Aggregation   COH             111810330046                Gas           Gov. Aggregation
VEDO            4021305612313811            Gas           Gov. Aggregation   COH             116537460017                Gas           Gov. Aggregation
VEDO            4019033912158106            Gas           Gov. Aggregation   COH             185070120015                Gas           Gov. Aggregation
VEDO            4020274352525733            Gas           Gov. Aggregation   COH             185159650016                Gas           Gov. Aggregation
VEDO            4004548722409359            Gas           Gov. Aggregation   COH             185362760012                Gas           Gov. Aggregation
VEDO            4001705472410738            Gas           Gov. Aggregation   COH             185496860018                Gas           Gov. Aggregation
VEDO            4021270082514862            Gas           Gov. Aggregation   COH             185543140018                Gas           Gov. Aggregation
VEDO            4003647142396546            Gas           Gov. Aggregation   COH             185614340015                Gas           Gov. Aggregation
VEDO            4017674942122767            Gas           Gov. Aggregation   COH             114895180083                Gas           Gov. Aggregation
VEDO            4021200442501564            Gas           Gov. Aggregation   COH             114900490012                Gas           Gov. Aggregation
VEDO            4021200442189419            Gas           Gov. Aggregation   COH             173432390015                Gas           Gov. Aggregation
VEDO            4005158842528700            Gas           Gov. Aggregation   COH             173732160035                Gas           Gov. Aggregation
VEDO            4004776692355313            Gas           Gov. Aggregation   COH             173936080012                Gas           Gov. Aggregation
VEDO            4002601752684746            Gas           Gov. Aggregation   COH             171424940027                Gas           Gov. Aggregation
VEDO            4016212342535117            Gas           Gov. Aggregation   COH             150149780011                Gas           Gov. Aggregation
VEDO            4020072592647504            Gas           Gov. Aggregation   COH             169409540027                Gas           Gov. Aggregation
VEDO            4001624102592697            Gas           Gov. Aggregation   COH             170224580019                Gas           Gov. Aggregation
VEDO            4016193912137247            Gas           Gov. Aggregation   COH             171476060014                Gas           Gov. Aggregation
VEDO            4021582102139242            Gas           Gov. Aggregation   COH             165893870027                Gas           Gov. Aggregation
VEDO            4021628492270076            Gas           Gov. Aggregation   COH             177573310019                Gas           Gov. Aggregation
VEDO            4019005222327874            Gas           Gov. Aggregation   COH             177610850016                Gas           Gov. Aggregation
VEDO            4017000672278405            Gas           Gov. Aggregation   COH             168650920018                Gas           Gov. Aggregation
VEDO            4016920302246170            Gas           Gov. Aggregation   COH             169004910027                Gas           Gov. Aggregation
VEDO            4002530002362235            Gas           Gov. Aggregation   COH             171672940022                Gas           Gov. Aggregation
VEDO            4015399692302117            Gas           Gov. Aggregation   COH             171754510046                Gas           Gov. Aggregation
VEDO            4021602022354125            Gas           Gov. Aggregation   COH             173174750026                Gas           Gov. Aggregation
VEDO            4021119972481503            Gas           Gov. Aggregation   COH             187362130012                Gas           Gov. Aggregation
VEDO            4018118902436764            Gas           Gov. Aggregation   COH             151426690011                Gas           Gov. Aggregation
VEDO            4001962222240020            Gas           Gov. Aggregation   COH             167492290027                Gas           Gov. Aggregation
VEDO            4019253762267930            Gas           Gov. Aggregation   COH             174996950012                Gas           Gov. Aggregation
VEDO            4003456812437762            Gas           Gov. Aggregation   COH             122495140016                Gas           Gov. Aggregation
VEDO            4021403682497233            Gas           Gov. Aggregation   COH             122352060024                Gas           Gov. Aggregation
VEDO            4020161172510674            Gas           Gov. Aggregation   COH             122402850012                Gas           Gov. Aggregation
VEDO            4020103912330962            Gas           Gov. Aggregation   COH             135325290028                Gas           Gov. Aggregation
VEDO            4021645842143017            Gas           Gov. Aggregation   COH             141997610029                Gas           Gov. Aggregation
VEDO            4021597512350388            Gas           Gov. Aggregation   COH             136212820015                Gas           Gov. Aggregation
VEDO            4005089352520735            Gas           Gov. Aggregation   COH             122374470013                Gas           Gov. Aggregation
VEDO            4004243512427243            Gas           Gov. Aggregation   COH             122354350010                Gas           Gov. Aggregation
COH             196772730016                Gas           Gov. Aggregation   COH             122343390015                Gas           Gov. Aggregation
COH             187373380017                Gas           Gov. Aggregation   COH             189185560016                Gas           Gov. Aggregation
COH             173825060011                Gas           Gov. Aggregation   COH             108723260041                Gas           Gov. Aggregation
COH             163846270051                Gas           Gov. Aggregation   COH             112511260026                Gas           Gov. Aggregation
COH             203007020034                Gas           Gov. Aggregation   COH             112956750021                Gas           Gov. Aggregation
COH             200994840025                Gas           Gov. Aggregation   COH             113093640041                Gas           Gov. Aggregation
COH             209547860010                Gas           Gov. Aggregation   COH             122339350049                Gas           Gov. Aggregation
COH             206533420014                Gas           Gov. Aggregation   COH             122339380025                Gas           Gov. Aggregation
COH             206538020018                Gas           Gov. Aggregation   COH             122339430015                Gas           Gov. Aggregation
COH             207582330019                Gas           Gov. Aggregation   COH             122339940018                Gas           Gov. Aggregation
COH             208606350012                Gas           Gov. Aggregation   COH             122339960023                Gas           Gov. Aggregation
COH             207587280010                Gas           Gov. Aggregation   COH             122339990018                Gas           Gov. Aggregation
COH             110888400021                Gas           Gov. Aggregation   COH             122348240016                Gas           Gov. Aggregation
COH             172862460010                Gas           Gov. Aggregation   COH             122348370019                Gas           Gov. Aggregation
COH             201361620021                Gas           Gov. Aggregation   COH             188427320013                Gas           Gov. Aggregation
COH             208670751781                Gas           Gov. Aggregation   COH             188503590015                Gas           Gov. Aggregation
VEDO            4004801862488632            Gas           Gov. Aggregation   COH             176672290015                Gas           Gov. Aggregation
VEDO            4001563672153016            Gas           Gov. Aggregation   COH             177005120012                Gas           Gov. Aggregation
VEDO            4001854392619216            Gas           Gov. Aggregation   COH             187676960013                Gas           Gov. Aggregation
COH             132490520023                Gas           Gov. Aggregation   COH             187844060015                Gas           Gov. Aggregation
COH             155202090017                Gas           Gov. Aggregation   COH             187861040013                Gas           Gov. Aggregation
COH             208760600013                Gas           Gov. Aggregation   COH             187907500018                Gas           Gov. Aggregation
COH             206586810011                Gas           Gov. Aggregation   COH             187975450016                Gas           Gov. Aggregation
COH             196601150064                Gas           Gov. Aggregation   COH             188019520016                Gas           Gov. Aggregation
COH             208753740019                Gas           Gov. Aggregation   COH             188229630018                Gas           Gov. Aggregation
COH             209937390012                Gas           Gov. Aggregation   COH             165691190019                Gas           Gov. Aggregation
COH             191762700018                Gas           Gov. Aggregation   COH             165702880019                Gas           Gov. Aggregation
COH             136038910016                Gas           Gov. Aggregation   COH             162982460018                Gas           Gov. Aggregation
COH             195449120010                Gas           Gov. Aggregation   COH             162984350017                Gas           Gov. Aggregation
COH             111316760035                Gas           Gov. Aggregation   COH             162996680031                Gas           Gov. Aggregation
COH             130251720010                Gas           Gov. Aggregation   COH             163011380011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             0421001956429               Gas           Gov. Aggregation   COH             163022190018                Gas           Gov. Aggregation
COH             172426350017                Gas           Gov. Aggregation   COH             163037670016                Gas           Gov. Aggregation
DEO             9422105464620               Gas           Gov. Aggregation   COH             163108670015                Gas           Gov. Aggregation
COH             202435890027                Gas           Gov. Aggregation   COH             163120820017                Gas           Gov. Aggregation
VEDO            4002320652227099            Gas           Gov. Aggregation   COH             163526000019                Gas           Gov. Aggregation
COH             146848590015                Gas           Gov. Aggregation   COH             163548220017                Gas           Gov. Aggregation
COH             200709130018                Gas           Gov. Aggregation   COH             163645170012                Gas           Gov. Aggregation
DEO             6120000121146               Gas           Gov. Aggregation   COH             163659210014                Gas           Gov. Aggregation
DEO             6150000009386               Gas           Gov. Aggregation   COH             164439330014                Gas           Gov. Aggregation
COH             189467690011                Gas           Gov. Aggregation   COH             164454570012                Gas           Gov. Aggregation
COH             190282970011                Gas           Gov. Aggregation   COH             164457540012                Gas           Gov. Aggregation
COH             162094230037                Gas           Gov. Aggregation   COH             164466700019                Gas           Gov. Aggregation
COH             124329800025                Gas           Gov. Aggregation   COH             164710860017                Gas           Gov. Aggregation
COH             146278910016                Gas           Gov. Aggregation   COH             164764190015                Gas           Gov. Aggregation
COH             146429900026                Gas           Gov. Aggregation   COH             164888680010                Gas           Gov. Aggregation
COH             198375540016                Gas           Gov. Aggregation   COH             164901530011                Gas           Gov. Aggregation
COH             201761790019                Gas           Gov. Aggregation   COH             164946350024                Gas           Gov. Aggregation
COH             142011830039                Gas           Gov. Aggregation   COH             166533990014                Gas           Gov. Aggregation
COH             152761210029                Gas           Gov. Aggregation   COH             166555340014                Gas           Gov. Aggregation
COH             132445590015                Gas           Gov. Aggregation   COH             166575700043                Gas           Gov. Aggregation
COH             185980850031                Gas           Gov. Aggregation   COH             166675250037                Gas           Gov. Aggregation
COH             118087100024                Gas           Gov. Aggregation   COH             166765940013                Gas           Gov. Aggregation
COH             118092520043                Gas           Gov. Aggregation   COH             166784690016                Gas           Gov. Aggregation
COH             208019430010                Gas           Gov. Aggregation   COH             166806530011                Gas           Gov. Aggregation
COH             206204770018                Gas           Gov. Aggregation   COH             166824120019                Gas           Gov. Aggregation
COH             207186430018                Gas           Gov. Aggregation   COH             166840340028                Gas           Gov. Aggregation
COH             203545000010                Gas           Gov. Aggregation   COH             166872870020                Gas           Gov. Aggregation
COH             207822860018                Gas           Gov. Aggregation   COH             167384480017                Gas           Gov. Aggregation
COH             121962240024                Gas           Gov. Aggregation   COH             158637950030                Gas           Gov. Aggregation
COH             208732140019                Gas           Gov. Aggregation   COH             158663650010                Gas           Gov. Aggregation
COH             208744980018                Gas           Gov. Aggregation   COH             158675720047                Gas           Gov. Aggregation
COH             146648730028                Gas           Gov. Aggregation   COH             158698190032                Gas           Gov. Aggregation
COH             173099290050                Gas           Gov. Aggregation   COH             158768120019                Gas           Gov. Aggregation
COH             200424060017                Gas           Gov. Aggregation   COH             158796700027                Gas           Gov. Aggregation
COH             169710250065                Gas           Gov. Aggregation   COH             158839880028                Gas           Gov. Aggregation
COH             205857590014                Gas           Gov. Aggregation   COH             158872860013                Gas           Gov. Aggregation
COH             208487750012                Gas           Gov. Aggregation   COH             158883010027                Gas           Gov. Aggregation
COH             208478090010                Gas           Gov. Aggregation   COH             159762710016                Gas           Gov. Aggregation
COH             134655050020                Gas           Gov. Aggregation   COH             159764170052                Gas           Gov. Aggregation
COH             173809060024                Gas           Gov. Aggregation   COH             159774100019                Gas           Gov. Aggregation
COH             186675650020                Gas           Gov. Aggregation   COH             159782270044                Gas           Gov. Aggregation
COH             202197890014                Gas           Gov. Aggregation   COH             159785430017                Gas           Gov. Aggregation
COH             202183340027                Gas           Gov. Aggregation   COH             159793020016                Gas           Gov. Aggregation
COH             203367470010                Gas           Gov. Aggregation   COH             160108640023                Gas           Gov. Aggregation
COH             167870680023                Gas           Gov. Aggregation   COH             160108660010                Gas           Gov. Aggregation
COH             122542710024                Gas           Gov. Aggregation   COH             160128430025                Gas           Gov. Aggregation
COH             121957670025                Gas           Gov. Aggregation   COH             160137310012                Gas           Gov. Aggregation
COH             121924110021                Gas           Gov. Aggregation   COH             160157780012                Gas           Gov. Aggregation
COH             206626360010                Gas           Gov. Aggregation   COH             160157800017                Gas           Gov. Aggregation
COH             207697810015                Gas           Gov. Aggregation   COH             161211380019                Gas           Gov. Aggregation
COH             207541090016                Gas           Gov. Aggregation   COH             161226130010                Gas           Gov. Aggregation
COH             208060090015                Gas           Gov. Aggregation   COH             161237160011                Gas           Gov. Aggregation
COH             206156240012                Gas           Gov. Aggregation   COH             161270400010                Gas           Gov. Aggregation
COH             203165840010                Gas           Gov. Aggregation   COH             161270430014                Gas           Gov. Aggregation
COH             204034060010                Gas           Gov. Aggregation   COH             161296580019                Gas           Gov. Aggregation
COH             203791960018                Gas           Gov. Aggregation   COH             177712180011                Gas           Gov. Aggregation
COH             202546470011                Gas           Gov. Aggregation   COH             177720540018                Gas           Gov. Aggregation
COH             203351390010                Gas           Gov. Aggregation   COH             155505050022                Gas           Gov. Aggregation
COH             206032470025                Gas           Gov. Aggregation   COH             155507500041                Gas           Gov. Aggregation
COH             174468360024                Gas           Gov. Aggregation   COH             155545890022                Gas           Gov. Aggregation
COH             208567040011                Gas           Gov. Aggregation   COH             155827660022                Gas           Gov. Aggregation
COH             208185650013                Gas           Gov. Aggregation   COH             155912510022                Gas           Gov. Aggregation
COH             206974510011                Gas           Gov. Aggregation   COH             156136330052                Gas           Gov. Aggregation
COH             173219760046                Gas           Gov. Aggregation   COH             156164700019                Gas           Gov. Aggregation
COH             205838260013                Gas           Gov. Aggregation   COH             156436760029                Gas           Gov. Aggregation
COH             202285560016                Gas           Gov. Aggregation   COH             156480060014                Gas           Gov. Aggregation
COH             170084290036                Gas           Gov. Aggregation   COH             156510680028                Gas           Gov. Aggregation
COH             207636690019                Gas           Gov. Aggregation   COH             156699440048                Gas           Gov. Aggregation
COH             207663750055                Gas           Gov. Aggregation   COH             156699450019                Gas           Gov. Aggregation
COH             187972820041                Gas           Gov. Aggregation   COH             156831940014                Gas           Gov. Aggregation
COH             150729030027                Gas           Gov. Aggregation   COH             157501310014                Gas           Gov. Aggregation
COH             207179430013                Gas           Gov. Aggregation   COH             157544180012                Gas           Gov. Aggregation
COH             207630350012                Gas           Gov. Aggregation   COH             157559880023                Gas           Gov. Aggregation
COH             175925220022                Gas           Gov. Aggregation   COH             157559920015                Gas           Gov. Aggregation
COH             205822780017                Gas           Gov. Aggregation   COH             157977430021                Gas           Gov. Aggregation
COH             196434010031                Gas           Gov. Aggregation   COH             158022900015                Gas           Gov. Aggregation
COH             188019600055                Gas           Gov. Aggregation   COH             158023200065                Gas           Gov. Aggregation
COH             201545800050                Gas           Gov. Aggregation   COH             158508600018                Gas           Gov. Aggregation
COH             205362640021                Gas           Gov. Aggregation   COH             158529350017                Gas           Gov. Aggregation
DEO             7180014333469               Gas           Gov. Aggregation   COH             172791080011                Gas           Gov. Aggregation
COH             206698270018                Gas           Gov. Aggregation   COH             172801990017                Gas           Gov. Aggregation
COH             210602710010                Gas           Gov. Aggregation   COH             173192470090                Gas           Gov. Aggregation
COH             155051070067                Gas           Gov. Aggregation   COH             173293860021                Gas           Gov. Aggregation
COH             209294330018                Gas           Gov. Aggregation   COH             173303500023                Gas           Gov. Aggregation
COH             192115590067                Gas           Gov. Aggregation   COH             173992370013                Gas           Gov. Aggregation
COH             185349590043                Gas           Gov. Aggregation   COH             174000270014                Gas           Gov. Aggregation
COH             207108050012                Gas           Gov. Aggregation   COH             174013070019                Gas           Gov. Aggregation
COH             208019910019                Gas           Gov. Aggregation   COH             174024700013                Gas           Gov. Aggregation
COH             207536460019                Gas           Gov. Aggregation   COH             174077590016                Gas           Gov. Aggregation
COH             206277180019                Gas           Gov. Aggregation   COH             174082810018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             209593770012                Gas           Gov. Aggregation   COH             174085880018                Gas           Gov. Aggregation
COH             196883440021                Gas           Gov. Aggregation   COH             174110890011                Gas           Gov. Aggregation
COH             209513730018                Gas           Gov. Aggregation   COH             174127910011                Gas           Gov. Aggregation
COH             186831090044                Gas           Gov. Aggregation   COH             174454870044                Gas           Gov. Aggregation
COH             138666540119                Gas           Gov. Aggregation   COH             174458250037                Gas           Gov. Aggregation
COH             200445660044                Gas           Gov. Aggregation   COH             188981080010                Gas           Gov. Aggregation
COH             209180150017                Gas           Gov. Aggregation   COH             122351990012                Gas           Gov. Aggregation
COH             207553180012                Gas           Gov. Aggregation   COH             122352010024                Gas           Gov. Aggregation
COH             208452840016                Gas           Gov. Aggregation   COH             122352310049                Gas           Gov. Aggregation
COH             208767950016                Gas           Gov. Aggregation   COH             122352350014                Gas           Gov. Aggregation
COH             196959230033                Gas           Gov. Aggregation   COH             122352440015                Gas           Gov. Aggregation
COH             165647350036                Gas           Gov. Aggregation   COH             122353550010                Gas           Gov. Aggregation
COH             195727390112                Gas           Gov. Aggregation   COH             122353580023                Gas           Gov. Aggregation
COH             207733900027                Gas           Gov. Aggregation   COH             122353680013                Gas           Gov. Aggregation
COH             204670330033                Gas           Gov. Aggregation   COH             122353920012                Gas           Gov. Aggregation
COH             154728330059                Gas           Gov. Aggregation   COH             122354020019                Gas           Gov. Aggregation
COH             173542790125                Gas           Gov. Aggregation   COH             122354660015                Gas           Gov. Aggregation
COH             206191120013                Gas           Gov. Aggregation   COH             122354690055                Gas           Gov. Aggregation
COH             209187020010                Gas           Gov. Aggregation   COH             122354860022                Gas           Gov. Aggregation
COH             209908560017                Gas           Gov. Aggregation   COH             122355150010                Gas           Gov. Aggregation
COH             197140210031                Gas           Gov. Aggregation   COH             122355410015                Gas           Gov. Aggregation
COH             203753660020                Gas           Gov. Aggregation   COH             122355560014                Gas           Gov. Aggregation
COH             205962920011                Gas           Gov. Aggregation   COH             122361920042                Gas           Gov. Aggregation
COH             208488850019                Gas           Gov. Aggregation   COH             122362550011                Gas           Gov. Aggregation
COH             208131140013                Gas           Gov. Aggregation   COH             122367620016                Gas           Gov. Aggregation
COH             157453410132                Gas           Gov. Aggregation   COH             122367880021                Gas           Gov. Aggregation
COH             208054870014                Gas           Gov. Aggregation   COH             122368210029                Gas           Gov. Aggregation
COH             208708210015                Gas           Gov. Aggregation   COH             122368380015                Gas           Gov. Aggregation
COH             209826900019                Gas           Gov. Aggregation   COH             122373770012                Gas           Gov. Aggregation
COH             202735110131                Gas           Gov. Aggregation   COH             122373840017                Gas           Gov. Aggregation
COH             200439740031                Gas           Gov. Aggregation   COH             122374200028                Gas           Gov. Aggregation
COH             207636400019                Gas           Gov. Aggregation   COH             122380040010                Gas           Gov. Aggregation
COH             209759890015                Gas           Gov. Aggregation   COH             122380190019                Gas           Gov. Aggregation
COH             209768930017                Gas           Gov. Aggregation   COH             122380270012                Gas           Gov. Aggregation
COH             209337990018                Gas           Gov. Aggregation   COH             150495230013                Gas           Gov. Aggregation
COH             209882560013                Gas           Gov. Aggregation   COH             150501380017                Gas           Gov. Aggregation
COH             207060520015                Gas           Gov. Aggregation   COH             150527410016                Gas           Gov. Aggregation
COH             192381800023                Gas           Gov. Aggregation   COH             150736460013                Gas           Gov. Aggregation
COH             145263080111                Gas           Gov. Aggregation   COH             150817310021                Gas           Gov. Aggregation
COH             208410150019                Gas           Gov. Aggregation   COH             150914290039                Gas           Gov. Aggregation
COH             207696750010                Gas           Gov. Aggregation   COH             150919560014                Gas           Gov. Aggregation
COH             209562570019                Gas           Gov. Aggregation   COH             150986810038                Gas           Gov. Aggregation
COH             209686200014                Gas           Gov. Aggregation   COH             151655490036                Gas           Gov. Aggregation
COH             209316770018                Gas           Gov. Aggregation   COH             151675940011                Gas           Gov. Aggregation
COH             208572330019                Gas           Gov. Aggregation   COH             151680630033                Gas           Gov. Aggregation
COH             194988220125                Gas           Gov. Aggregation   COH             151681020084                Gas           Gov. Aggregation
COH             206042040015                Gas           Gov. Aggregation   COH             153259830130                Gas           Gov. Aggregation
COH             208700480015                Gas           Gov. Aggregation   COH             153268860028                Gas           Gov. Aggregation
COH             189165270073                Gas           Gov. Aggregation   COH             153296380048                Gas           Gov. Aggregation
COH             207223730015                Gas           Gov. Aggregation   COH             153307110049                Gas           Gov. Aggregation
COH             117190110471                Gas           Gov. Aggregation   COH             153458850036                Gas           Gov. Aggregation
COH             208172550039                Gas           Gov. Aggregation   COH             153481050026                Gas           Gov. Aggregation
COH             202735110042                Gas           Gov. Aggregation   COH             153516030025                Gas           Gov. Aggregation
COH             132611590218                Gas           Gov. Aggregation   COH             153547920014                Gas           Gov. Aggregation
COH             207459320012                Gas           Gov. Aggregation   COH             154261150011                Gas           Gov. Aggregation
COH             209232550012                Gas           Gov. Aggregation   COH             154273410011                Gas           Gov. Aggregation
COH             208179160019                Gas           Gov. Aggregation   COH             154276890015                Gas           Gov. Aggregation
COH             149758730086                Gas           Gov. Aggregation   COH             154323530028                Gas           Gov. Aggregation
COH             207118560014                Gas           Gov. Aggregation   COH             154373800017                Gas           Gov. Aggregation
COH             209759920018                Gas           Gov. Aggregation   COH             154424930011                Gas           Gov. Aggregation
COH             207540320019                Gas           Gov. Aggregation   COH             154663450016                Gas           Gov. Aggregation
COH             209735730018                Gas           Gov. Aggregation   COH             154717450020                Gas           Gov. Aggregation
COH             209116280015                Gas           Gov. Aggregation   COH             154745420045                Gas           Gov. Aggregation
COH             209827030010                Gas           Gov. Aggregation   COH             154751610024                Gas           Gov. Aggregation
COH             209791590010                Gas           Gov. Aggregation   COH             154780480030                Gas           Gov. Aggregation
COH             206917460021                Gas           Gov. Aggregation   COH             187775190015                Gas           Gov. Aggregation
COH             203465750040                Gas           Gov. Aggregation   COH             171790690114                Gas           Gov. Aggregation
COH             163537280045                Gas           Gov. Aggregation   COH             171806570034                Gas           Gov. Aggregation
COH             209320750022                Gas           Gov. Aggregation   COH             171878890027                Gas           Gov. Aggregation
COH             202315420038                Gas           Gov. Aggregation   COH             171888570014                Gas           Gov. Aggregation
COH             209557270013                Gas           Gov. Aggregation   COH             171906260019                Gas           Gov. Aggregation
COH             208377300019                Gas           Gov. Aggregation   COH             171944620013                Gas           Gov. Aggregation
COH             209403300011                Gas           Gov. Aggregation   COH             171947420019                Gas           Gov. Aggregation
COH             202042710027                Gas           Gov. Aggregation   COH             172236790018                Gas           Gov. Aggregation
COH             188398480013                Gas           Gov. Aggregation   COH             172263220010                Gas           Gov. Aggregation
COH             206562870019                Gas           Gov. Aggregation   COH             172485470018                Gas           Gov. Aggregation
COH             204290100028                Gas           Gov. Aggregation   COH             172494560010                Gas           Gov. Aggregation
COH             128860140720                Gas           Gov. Aggregation   COH             172519740027                Gas           Gov. Aggregation
COH             208634370019                Gas           Gov. Aggregation   COH             188236770014                Gas           Gov. Aggregation
COH             207195630017                Gas           Gov. Aggregation   COH             168293260015                Gas           Gov. Aggregation
COH             117000570172                Gas           Gov. Aggregation   COH             159621330014                Gas           Gov. Aggregation
COH             205647610023                Gas           Gov. Aggregation   COH             197858350022                Gas           Gov. Aggregation
COH             207511110023                Gas           Gov. Aggregation   COH             124440840012                Gas           Gov. Aggregation
COH             208039280029                Gas           Gov. Aggregation   COH             124416380038                Gas           Gov. Aggregation
COH             207639380018                Gas           Gov. Aggregation   COH             124419940016                Gas           Gov. Aggregation
COH             135779290045                Gas           Gov. Aggregation   COH             168601930037                Gas           Gov. Aggregation
COH             195341410106                Gas           Gov. Aggregation   COH             168623920015                Gas           Gov. Aggregation
COH             195225690051                Gas           Gov. Aggregation   COH             168624910042                Gas           Gov. Aggregation
COH             206071800014                Gas           Gov. Aggregation   COH             168783730017                Gas           Gov. Aggregation
COH             206897070018                Gas           Gov. Aggregation   COH             170279620015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             209593820011                Gas           Gov. Aggregation   COH             186392530016                Gas           Gov. Aggregation
COH             206183640011                Gas           Gov. Aggregation   COH             186406890029                Gas           Gov. Aggregation
COH             206914570015                Gas           Gov. Aggregation   COH             133532960011                Gas           Gov. Aggregation
COH             208276830012                Gas           Gov. Aggregation   COH             133733320028                Gas           Gov. Aggregation
COH             152146100062                Gas           Gov. Aggregation   COH             133784920025                Gas           Gov. Aggregation
COH             206051360019                Gas           Gov. Aggregation   COH             134838150021                Gas           Gov. Aggregation
COH             209664260018                Gas           Gov. Aggregation   COH             134858420013                Gas           Gov. Aggregation
COH             209342450010                Gas           Gov. Aggregation   COH             134921410010                Gas           Gov. Aggregation
COH             207654150014                Gas           Gov. Aggregation   COH             134928780019                Gas           Gov. Aggregation
COH             116834860040                Gas           Gov. Aggregation   COH             134975160010                Gas           Gov. Aggregation
COH             207640390013                Gas           Gov. Aggregation   COH             135216750031                Gas           Gov. Aggregation
COH             208023820019                Gas           Gov. Aggregation   COH             122509860023                Gas           Gov. Aggregation
COH             209015950018                Gas           Gov. Aggregation   COH             122510570012                Gas           Gov. Aggregation
COH             198884440027                Gas           Gov. Aggregation   COH             122510570398                Gas           Gov. Aggregation
COH             208951030018                Gas           Gov. Aggregation   COH             122510570405                Gas           Gov. Aggregation
COH             206147860011                Gas           Gov. Aggregation   COH             122510570414                Gas           Gov. Aggregation
COH             209224560017                Gas           Gov. Aggregation   COH             122516100027                Gas           Gov. Aggregation
COH             207615720016                Gas           Gov. Aggregation   COH             122516450024                Gas           Gov. Aggregation
COH             206520980023                Gas           Gov. Aggregation   COH             122516930023                Gas           Gov. Aggregation
COH             208211660023                Gas           Gov. Aggregation   COH             122517150016                Gas           Gov. Aggregation
COH             209169010010                Gas           Gov. Aggregation   COH             122552070028                Gas           Gov. Aggregation
COH             200246880031                Gas           Gov. Aggregation   COH             122554850020                Gas           Gov. Aggregation
COH             208119420010                Gas           Gov. Aggregation   COH             122564900028                Gas           Gov. Aggregation
COH             206974020014                Gas           Gov. Aggregation   COH             123006440035                Gas           Gov. Aggregation
COH             206257320011                Gas           Gov. Aggregation   COH             123013860032                Gas           Gov. Aggregation
COH             206967420015                Gas           Gov. Aggregation   COH             123907080022                Gas           Gov. Aggregation
COH             194828220043                Gas           Gov. Aggregation   COH             125098530040                Gas           Gov. Aggregation
COH             208927090017                Gas           Gov. Aggregation   COH             129736670025                Gas           Gov. Aggregation
COH             208682760016                Gas           Gov. Aggregation   COH             129794960059                Gas           Gov. Aggregation
COH             208775040010                Gas           Gov. Aggregation   COH             130006950020                Gas           Gov. Aggregation
COH             207321150019                Gas           Gov. Aggregation   COH             130340360026                Gas           Gov. Aggregation
COH             138384670076                Gas           Gov. Aggregation   COH             130604870047                Gas           Gov. Aggregation
COH             209602740017                Gas           Gov. Aggregation   COH             130604870065                Gas           Gov. Aggregation
COH             191512960040                Gas           Gov. Aggregation   COH             130620430036                Gas           Gov. Aggregation
COH             176995560069                Gas           Gov. Aggregation   COH             135989920029                Gas           Gov. Aggregation
COH             202889130025                Gas           Gov. Aggregation   COH             136115250048                Gas           Gov. Aggregation
COH             207615740012                Gas           Gov. Aggregation   COH             136156930049                Gas           Gov. Aggregation
COH             207749920011                Gas           Gov. Aggregation   COH             136242040034                Gas           Gov. Aggregation
COH             117116940053                Gas           Gov. Aggregation   COH             137245780014                Gas           Gov. Aggregation
COH             208030180019                Gas           Gov. Aggregation   COH             137326280026                Gas           Gov. Aggregation
COH             154304390073                Gas           Gov. Aggregation   COH             137341370034                Gas           Gov. Aggregation
COH             195572880029                Gas           Gov. Aggregation   COH             137382870051                Gas           Gov. Aggregation
COH             194659110036                Gas           Gov. Aggregation   COH             137400020031                Gas           Gov. Aggregation
COH             207162410012                Gas           Gov. Aggregation   COH             137551520037                Gas           Gov. Aggregation
COH             153778300195                Gas           Gov. Aggregation   COH             137587440011                Gas           Gov. Aggregation
COH             209728390015                Gas           Gov. Aggregation   COH             137609510036                Gas           Gov. Aggregation
COH             209728400012                Gas           Gov. Aggregation   COH             137616680018                Gas           Gov. Aggregation
COH             209702710011                Gas           Gov. Aggregation   COH             137652590011                Gas           Gov. Aggregation
COH             207792010011                Gas           Gov. Aggregation   COH             122473610031                Gas           Gov. Aggregation
COH             165477980071                Gas           Gov. Aggregation   COH             122473790034                Gas           Gov. Aggregation
COH             157122370070                Gas           Gov. Aggregation   COH             122474240019                Gas           Gov. Aggregation
COH             209441260010                Gas           Gov. Aggregation   COH             122474270013                Gas           Gov. Aggregation
COH             205962980019                Gas           Gov. Aggregation   COH             122474470011                Gas           Gov. Aggregation
COH             208730850014                Gas           Gov. Aggregation   COH             122475160023                Gas           Gov. Aggregation
COH             207779760012                Gas           Gov. Aggregation   COH             122475780014                Gas           Gov. Aggregation
COH             208616730011                Gas           Gov. Aggregation   COH             122475810017                Gas           Gov. Aggregation
COH             209662340015                Gas           Gov. Aggregation   COH             122476130018                Gas           Gov. Aggregation
COH             159960650064                Gas           Gov. Aggregation   COH             122476610017                Gas           Gov. Aggregation
COH             209134610017                Gas           Gov. Aggregation   COH             122476740029                Gas           Gov. Aggregation
COH             209350140018                Gas           Gov. Aggregation   COH             122476760016                Gas           Gov. Aggregation
COH             208965360010                Gas           Gov. Aggregation   COH             122477030017                Gas           Gov. Aggregation
COH             118519140074                Gas           Gov. Aggregation   COH             122477070046                Gas           Gov. Aggregation
COH             187332150020                Gas           Gov. Aggregation   COH             122480670016                Gas           Gov. Aggregation
COH             206039690034                Gas           Gov. Aggregation   COH             122480770033                Gas           Gov. Aggregation
COH             209908590011                Gas           Gov. Aggregation   COH             122481210047                Gas           Gov. Aggregation
COH             206359460016                Gas           Gov. Aggregation   COH             122481260010                Gas           Gov. Aggregation
COH             207060480014                Gas           Gov. Aggregation   COH             122493030031                Gas           Gov. Aggregation
COH             209919060019                Gas           Gov. Aggregation   COH             122493820017                Gas           Gov. Aggregation
COH             209254540018                Gas           Gov. Aggregation   COH             122494060033                Gas           Gov. Aggregation
COH             208730860012                Gas           Gov. Aggregation   COH             185361610015                Gas           Gov. Aggregation
COH             201656880022                Gas           Gov. Aggregation   COH             185361770012                Gas           Gov. Aggregation
COH             209522130015                Gas           Gov. Aggregation   COH             122501770028                Gas           Gov. Aggregation
COH             196108710026                Gas           Gov. Aggregation   COH             122502330019                Gas           Gov. Aggregation
COH             209967860010                Gas           Gov. Aggregation   COH             122502510011                Gas           Gov. Aggregation
COH             208746220013                Gas           Gov. Aggregation   COH             138045340019                Gas           Gov. Aggregation
COH             208519550015                Gas           Gov. Aggregation   COH             138201460021                Gas           Gov. Aggregation
COH             209497000017                Gas           Gov. Aggregation   COH             138484820018                Gas           Gov. Aggregation
COH             207852660017                Gas           Gov. Aggregation   COH             138570620035                Gas           Gov. Aggregation
COH             208235920019                Gas           Gov. Aggregation   COH             139549070017                Gas           Gov. Aggregation
COH             203268790031                Gas           Gov. Aggregation   COH             139572570031                Gas           Gov. Aggregation
COH             152206330093                Gas           Gov. Aggregation   COH             139640970041                Gas           Gov. Aggregation
COH             207762320019                Gas           Gov. Aggregation   COH             122419170029                Gas           Gov. Aggregation
COH             144341270081                Gas           Gov. Aggregation   COH             122419560018                Gas           Gov. Aggregation
COH             208757920013                Gas           Gov. Aggregation   COH             122419870013                Gas           Gov. Aggregation
COH             189855830116                Gas           Gov. Aggregation   COH             122419890028                Gas           Gov. Aggregation
COH             206117080018                Gas           Gov. Aggregation   COH             122421000207                Gas           Gov. Aggregation
COH             195963070253                Gas           Gov. Aggregation   COH             122421330011                Gas           Gov. Aggregation
COH             209093090015                Gas           Gov. Aggregation   COH             122421350017                Gas           Gov. Aggregation
COH             198534220060                Gas           Gov. Aggregation   COH             122423550011                Gas           Gov. Aggregation
COH             148014890026                Gas           Gov. Aggregation   COH             122423560019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             208926980012                Gas           Gov. Aggregation   COH             122423730013                Gas           Gov. Aggregation
COH             200201390056                Gas           Gov. Aggregation   COH             122423770015                Gas           Gov. Aggregation
COH             199061790045                Gas           Gov. Aggregation   COH             122423900017                Gas           Gov. Aggregation
COH             209634820013                Gas           Gov. Aggregation   COH             122423960033                Gas           Gov. Aggregation
COH             209799360012                Gas           Gov. Aggregation   COH             122430110045                Gas           Gov. Aggregation
COH             208912290016                Gas           Gov. Aggregation   COH             122430110054                Gas           Gov. Aggregation
COH             206257240018                Gas           Gov. Aggregation   COH             122430370041                Gas           Gov. Aggregation
COH             206725590012                Gas           Gov. Aggregation   COH             122430380021                Gas           Gov. Aggregation
COH             207120780013                Gas           Gov. Aggregation   COH             122430940014                Gas           Gov. Aggregation
COH             195233180033                Gas           Gov. Aggregation   COH             122431210033                Gas           Gov. Aggregation
COH             204458010030                Gas           Gov. Aggregation   COH             122431500014                Gas           Gov. Aggregation
COH             208647780016                Gas           Gov. Aggregation   COH             122452200013                Gas           Gov. Aggregation
COH             195752060038                Gas           Gov. Aggregation   COH             122452270019                Gas           Gov. Aggregation
COH             199058470138                Gas           Gov. Aggregation   COH             122452270028                Gas           Gov. Aggregation
COH             167040510063                Gas           Gov. Aggregation   COH             122452320072                Gas           Gov. Aggregation
COH             149681850566                Gas           Gov. Aggregation   COH             122452460046                Gas           Gov. Aggregation
COH             207931170012                Gas           Gov. Aggregation   COH             122458290013                Gas           Gov. Aggregation
COH             209337910014                Gas           Gov. Aggregation   COH             122459170016                Gas           Gov. Aggregation
COH             143861940141                Gas           Gov. Aggregation   COH             122459470022                Gas           Gov. Aggregation
COH             208756440016                Gas           Gov. Aggregation   COH             122461090018                Gas           Gov. Aggregation
COH             160141420118                Gas           Gov. Aggregation   COH             122461110013                Gas           Gov. Aggregation
COH             202455720048                Gas           Gov. Aggregation   COH             122462440021                Gas           Gov. Aggregation
COH             208716040014                Gas           Gov. Aggregation   COH             122383690018                Gas           Gov. Aggregation
COH             158388860074                Gas           Gov. Aggregation   COH             122383870010                Gas           Gov. Aggregation
COH             173036650074                Gas           Gov. Aggregation   COH             122384000029                Gas           Gov. Aggregation
COH             156006520057                Gas           Gov. Aggregation   COH             122384130022                Gas           Gov. Aggregation
COH             158820860094                Gas           Gov. Aggregation   COH             122384240010                Gas           Gov. Aggregation
COH             209354330010                Gas           Gov. Aggregation   COH             122386090018                Gas           Gov. Aggregation
COH             198050470055                Gas           Gov. Aggregation   COH             122386900017                Gas           Gov. Aggregation
COH             209634800017                Gas           Gov. Aggregation   COH             122386900035                Gas           Gov. Aggregation
COH             205446800038                Gas           Gov. Aggregation   COH             122386950017                Gas           Gov. Aggregation
COH             208706770012                Gas           Gov. Aggregation   COH             122405620014                Gas           Gov. Aggregation
COH             158006060203                Gas           Gov. Aggregation   COH             122405720022                Gas           Gov. Aggregation
COH             202756660034                Gas           Gov. Aggregation   COH             122406010010                Gas           Gov. Aggregation
COH             208954760019                Gas           Gov. Aggregation   COH             122406070018                Gas           Gov. Aggregation
COH             149681850548                Gas           Gov. Aggregation   COH             122406080016                Gas           Gov. Aggregation
COH             209320740015                Gas           Gov. Aggregation   COH             122406160019                Gas           Gov. Aggregation
COH             209614550012                Gas           Gov. Aggregation   COH             122406200010                Gas           Gov. Aggregation
COH             175962460131                Gas           Gov. Aggregation   COH             122414320036                Gas           Gov. Aggregation
COH             208938750015                Gas           Gov. Aggregation   COH             122414520052                Gas           Gov. Aggregation
COH             206888670011                Gas           Gov. Aggregation   COH             122414590085                Gas           Gov. Aggregation
COH             208757910015                Gas           Gov. Aggregation   COH             122414600019                Gas           Gov. Aggregation
COH             132282230043                Gas           Gov. Aggregation   COH             122414630031                Gas           Gov. Aggregation
COH             207413890019                Gas           Gov. Aggregation   COH             122417880015                Gas           Gov. Aggregation
COH             154415900089                Gas           Gov. Aggregation   COH             122418240017                Gas           Gov. Aggregation
COH             190126060076                Gas           Gov. Aggregation   COH             147153290010                Gas           Gov. Aggregation
COH             209618770018                Gas           Gov. Aggregation   COH             147185620013                Gas           Gov. Aggregation
COH             158227980131                Gas           Gov. Aggregation   COH             147212800016                Gas           Gov. Aggregation
COH             205929400010                Gas           Gov. Aggregation   COH             147616980022                Gas           Gov. Aggregation
COH             209944130011                Gas           Gov. Aggregation   COH             147646710061                Gas           Gov. Aggregation
COH             174115930030                Gas           Gov. Aggregation   COH             147656510017                Gas           Gov. Aggregation
COH             207361880049                Gas           Gov. Aggregation   COH             147713850023                Gas           Gov. Aggregation
COH             207919940016                Gas           Gov. Aggregation   COH             147747400026                Gas           Gov. Aggregation
COH             196634500016                Gas           Gov. Aggregation   COH             147751600034                Gas           Gov. Aggregation
COH             207203170033                Gas           Gov. Aggregation   COH             148685890016                Gas           Gov. Aggregation
COH             209490230013                Gas           Gov. Aggregation   COH             148733070024                Gas           Gov. Aggregation
COH             208488810017                Gas           Gov. Aggregation   COH             149116010014                Gas           Gov. Aggregation
COH             209108710011                Gas           Gov. Aggregation   COH             149173930011                Gas           Gov. Aggregation
COH             209684160017                Gas           Gov. Aggregation   COH             149177550013                Gas           Gov. Aggregation
COH             186682350037                Gas           Gov. Aggregation   COH             149281370038                Gas           Gov. Aggregation
COH             207742070014                Gas           Gov. Aggregation   COH             149641870011                Gas           Gov. Aggregation
COH             209194240019                Gas           Gov. Aggregation   COH             149673880021                Gas           Gov. Aggregation
COH             209856050015                Gas           Gov. Aggregation   COH             168567610010                Gas           Gov. Aggregation
COH             187518090047                Gas           Gov. Aggregation   COH             135195920013                Gas           Gov. Aggregation
COH             203963870049                Gas           Gov. Aggregation   COH             122418770016                Gas           Gov. Aggregation
COH             163463050040                Gas           Gov. Aggregation   COH             140083540013                Gas           Gov. Aggregation
COH             209490680019                Gas           Gov. Aggregation   COH             140164660052                Gas           Gov. Aggregation
COH             194891010062                Gas           Gov. Aggregation   COH             140213920016                Gas           Gov. Aggregation
COH             206978760011                Gas           Gov. Aggregation   COH             143590580017                Gas           Gov. Aggregation
COH             206725020011                Gas           Gov. Aggregation   COH             143668560034                Gas           Gov. Aggregation
COH             189506780054                Gas           Gov. Aggregation   COH             143708020013                Gas           Gov. Aggregation
COH             208989080019                Gas           Gov. Aggregation   COH             143737570035                Gas           Gov. Aggregation
COH             208029540016                Gas           Gov. Aggregation   COH             143928050020                Gas           Gov. Aggregation
COH             207138850011                Gas           Gov. Aggregation   COH             143955680021                Gas           Gov. Aggregation
COH             207463010018                Gas           Gov. Aggregation   COH             144022610012                Gas           Gov. Aggregation
COH             202104230053                Gas           Gov. Aggregation   COH             144037140029                Gas           Gov. Aggregation
COH             203432470039                Gas           Gov. Aggregation   COH             144066760055                Gas           Gov. Aggregation
COH             209780140017                Gas           Gov. Aggregation   COH             144186330033                Gas           Gov. Aggregation
COH             205343370028                Gas           Gov. Aggregation   COH             112286040012                Gas           Gov. Aggregation
COH             176568750064                Gas           Gov. Aggregation   COH             123840130014                Gas           Gov. Aggregation
COH             204196530055                Gas           Gov. Aggregation   COH             124231630019                Gas           Gov. Aggregation
COH             117293610012                Gas           Gov. Aggregation   COH             124261500022                Gas           Gov. Aggregation
COH             165931090154                Gas           Gov. Aggregation   COH             135511460045                Gas           Gov. Aggregation
COH             157662310041                Gas           Gov. Aggregation   COH             150060800032                Gas           Gov. Aggregation
COH             204534460187                Gas           Gov. Aggregation   COH             173270730017                Gas           Gov. Aggregation
COH             209972580018                Gas           Gov. Aggregation   COH             114903030021                Gas           Gov. Aggregation
COH             193016890027                Gas           Gov. Aggregation   COH             114904500011                Gas           Gov. Aggregation
COH             208030050016                Gas           Gov. Aggregation   COH             114904660027                Gas           Gov. Aggregation
COH             207589990017                Gas           Gov. Aggregation   COH             114904740020                Gas           Gov. Aggregation
COH             199310560053                Gas           Gov. Aggregation   COH             114916050011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             209546290012                Gas           Gov. Aggregation   COH             114916060019                Gas           Gov. Aggregation
COH             205517180029                Gas           Gov. Aggregation   COH             114916320014                Gas           Gov. Aggregation
COH             200573700026                Gas           Gov. Aggregation   COH             114916340010                Gas           Gov. Aggregation
COH             208676390017                Gas           Gov. Aggregation   COH             114916460015                Gas           Gov. Aggregation
COH             202760630148                Gas           Gov. Aggregation   COH             114963570013                Gas           Gov. Aggregation
COH             191469760036                Gas           Gov. Aggregation   COH             114963920037                Gas           Gov. Aggregation
COH             204740570034                Gas           Gov. Aggregation   COH             114964060018                Gas           Gov. Aggregation
COH             197593920024                Gas           Gov. Aggregation   COH             114967100013                Gas           Gov. Aggregation
COH             209415740014                Gas           Gov. Aggregation   COH             114987050012                Gas           Gov. Aggregation
COH             196808780028                Gas           Gov. Aggregation   COH             114987810012                Gas           Gov. Aggregation
COH             111207820033                Gas           Gov. Aggregation   COH             114988190020                Gas           Gov. Aggregation
COH             116844080061                Gas           Gov. Aggregation   COH             114988360024                Gas           Gov. Aggregation
COH             207987910019                Gas           Gov. Aggregation   COH             114989410012                Gas           Gov. Aggregation
COH             206189800024                Gas           Gov. Aggregation   COH             115001840031                Gas           Gov. Aggregation
COH             206592330019                Gas           Gov. Aggregation   COH             115006410040                Gas           Gov. Aggregation
COH             207816480011                Gas           Gov. Aggregation   COH             115020280020                Gas           Gov. Aggregation
COH             208557030014                Gas           Gov. Aggregation   COH             115020360023                Gas           Gov. Aggregation
COH             208943070017                Gas           Gov. Aggregation   COH             115020380056                Gas           Gov. Aggregation
COH             209344430010                Gas           Gov. Aggregation   COH             115021180029                Gas           Gov. Aggregation
COH             203233560023                Gas           Gov. Aggregation   COH             115021440033                Gas           Gov. Aggregation
COH             205396660035                Gas           Gov. Aggregation   COH             115021830013                Gas           Gov. Aggregation
COH             153557730193                Gas           Gov. Aggregation   COH             115068300025                Gas           Gov. Aggregation
COH             207022520015                Gas           Gov. Aggregation   COH             115070520015                Gas           Gov. Aggregation
COH             167399730040                Gas           Gov. Aggregation   COH             115081190012                Gas           Gov. Aggregation
COH             208573430016                Gas           Gov. Aggregation   COH             115081270042                Gas           Gov. Aggregation
COH             209311290019                Gas           Gov. Aggregation   COH             115082580018                Gas           Gov. Aggregation
COH             206591490018                Gas           Gov. Aggregation   COH             128946200038                Gas           Gov. Aggregation
COH             209742800018                Gas           Gov. Aggregation   COH             131948580030                Gas           Gov. Aggregation
COH             201711340036                Gas           Gov. Aggregation   COH             132147800021                Gas           Gov. Aggregation
COH             139132310046                Gas           Gov. Aggregation   COH             132251490017                Gas           Gov. Aggregation
COH             206245430031                Gas           Gov. Aggregation   COH             132297460044                Gas           Gov. Aggregation
COH             206905610015                Gas           Gov. Aggregation   COH             136603430027                Gas           Gov. Aggregation
COH             208718030012                Gas           Gov. Aggregation   COH             136663360026                Gas           Gov. Aggregation
COH             206076590028                Gas           Gov. Aggregation   COH             142078250040                Gas           Gov. Aggregation
COH             208975470016                Gas           Gov. Aggregation   COH             142082120011                Gas           Gov. Aggregation
COH             207428640010                Gas           Gov. Aggregation   COH             142181370046                Gas           Gov. Aggregation
COH             206227220033                Gas           Gov. Aggregation   COH             142220880027                Gas           Gov. Aggregation
COH             209880700017                Gas           Gov. Aggregation   COH             144195500029                Gas           Gov. Aggregation
COH             209185600012                Gas           Gov. Aggregation   COH             144272080015                Gas           Gov. Aggregation
COH             208634280018                Gas           Gov. Aggregation   COH             146787770017                Gas           Gov. Aggregation
COH             208965340014                Gas           Gov. Aggregation   COH             146820890038                Gas           Gov. Aggregation
COH             191764670039                Gas           Gov. Aggregation   COH             149292780011                Gas           Gov. Aggregation
COH             174969650058                Gas           Gov. Aggregation   COH             149439220016                Gas           Gov. Aggregation
COH             159178420043                Gas           Gov. Aggregation   COH             149468520012                Gas           Gov. Aggregation
COH             206459690016                Gas           Gov. Aggregation   COH             150448780053                Gas           Gov. Aggregation
COH             174426860045                Gas           Gov. Aggregation   COH             150481920017                Gas           Gov. Aggregation
COH             190934280013                Gas           Gov. Aggregation   COH             150588760015                Gas           Gov. Aggregation
COH             208203740014                Gas           Gov. Aggregation   COH             150710500018                Gas           Gov. Aggregation
COH             209672010013                Gas           Gov. Aggregation   COH             153094350015                Gas           Gov. Aggregation
COH             176270350087                Gas           Gov. Aggregation   COH             153110560015                Gas           Gov. Aggregation
COH             208607020019                Gas           Gov. Aggregation   COH             153158610023                Gas           Gov. Aggregation
COH             206064890011                Gas           Gov. Aggregation   COH             155154640023                Gas           Gov. Aggregation
COH             208300000013                Gas           Gov. Aggregation   COH             155509510054                Gas           Gov. Aggregation
COH             208362380014                Gas           Gov. Aggregation   COH             158330440019                Gas           Gov. Aggregation
COH             209462110017                Gas           Gov. Aggregation   COH             158350560030                Gas           Gov. Aggregation
COH             191275840021                Gas           Gov. Aggregation   COH             158370940010                Gas           Gov. Aggregation
COH             204256350028                Gas           Gov. Aggregation   COH             158381980028                Gas           Gov. Aggregation
COH             207939250699                Gas           Gov. Aggregation   COH             160065150019                Gas           Gov. Aggregation
COH             206762400013                Gas           Gov. Aggregation   COH             160545350028                Gas           Gov. Aggregation
COH             155375790088                Gas           Gov. Aggregation   COH             161510380015                Gas           Gov. Aggregation
COH             202637160013                Gas           Gov. Aggregation   COH             161690690010                Gas           Gov. Aggregation
COH             199576870047                Gas           Gov. Aggregation   COH             161759620018                Gas           Gov. Aggregation
COH             154127100104                Gas           Gov. Aggregation   COH             164793510016                Gas           Gov. Aggregation
COH             205827820036                Gas           Gov. Aggregation   COH             164814800019                Gas           Gov. Aggregation
COH             209928920019                Gas           Gov. Aggregation   COH             164884330011                Gas           Gov. Aggregation
COH             172890210040                Gas           Gov. Aggregation   COH             165323140018                Gas           Gov. Aggregation
COH             207500190011                Gas           Gov. Aggregation   COH             168027260018                Gas           Gov. Aggregation
COH             208811670010                Gas           Gov. Aggregation   COH             168059630013                Gas           Gov. Aggregation
COH             208389810017                Gas           Gov. Aggregation   COH             168160240038                Gas           Gov. Aggregation
COH             206069010033                Gas           Gov. Aggregation   COH             168303790011                Gas           Gov. Aggregation
COH             205179570025                Gas           Gov. Aggregation   COH             168720770011                Gas           Gov. Aggregation
COH             206680960010                Gas           Gov. Aggregation   COH             169886330012                Gas           Gov. Aggregation
COH             117165970027                Gas           Gov. Aggregation   COH             169964030019                Gas           Gov. Aggregation
COH             193499540037                Gas           Gov. Aggregation   COH             170090080028                Gas           Gov. Aggregation
COH             209301880016                Gas           Gov. Aggregation   COH             170393630020                Gas           Gov. Aggregation
COH             207204310013                Gas           Gov. Aggregation   COH             172198060031                Gas           Gov. Aggregation
COH             208057860010                Gas           Gov. Aggregation   COH             172209210025                Gas           Gov. Aggregation
COH             207747930013                Gas           Gov. Aggregation   COH             174597130010                Gas           Gov. Aggregation
COH             205990540012                Gas           Gov. Aggregation   COH             175958280012                Gas           Gov. Aggregation
COH             208332370028                Gas           Gov. Aggregation   COH             175996150019                Gas           Gov. Aggregation
COH             154541600058                Gas           Gov. Aggregation   COH             176364890012                Gas           Gov. Aggregation
COH             209453350016                Gas           Gov. Aggregation   COH             185372680018                Gas           Gov. Aggregation
COH             209840960017                Gas           Gov. Aggregation   COH             185396920017                Gas           Gov. Aggregation
COH             207654140025                Gas           Gov. Aggregation   COH             185954350013                Gas           Gov. Aggregation
COH             177647020139                Gas           Gov. Aggregation   COH             185961190012                Gas           Gov. Aggregation
COH             199252100026                Gas           Gov. Aggregation   COH             189259890010                Gas           Gov. Aggregation
COH             152996690031                Gas           Gov. Aggregation   COH             189299380013                Gas           Gov. Aggregation
COH             206002000017                Gas           Gov. Aggregation   COH             189364110010                Gas           Gov. Aggregation
COH             208971270016                Gas           Gov. Aggregation   COH             189383460017                Gas           Gov. Aggregation
COH             145405910070                Gas           Gov. Aggregation   COH             189625860019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             207892690017                Gas           Gov. Aggregation   COH             189724820017                Gas           Gov. Aggregation
COH             190477610040                Gas           Gov. Aggregation   COH             189874920019                Gas           Gov. Aggregation
COH             206697560019                Gas           Gov. Aggregation   COH             189907180014                Gas           Gov. Aggregation
COH             206778700017                Gas           Gov. Aggregation   COH             190188460018                Gas           Gov. Aggregation
COH             170991640057                Gas           Gov. Aggregation   COH             190221200010                Gas           Gov. Aggregation
COH             202957700039                Gas           Gov. Aggregation   COH             111211250016                Gas           Gov. Aggregation
COH             194520540057                Gas           Gov. Aggregation   COH             111211370011                Gas           Gov. Aggregation
COH             170211680051                Gas           Gov. Aggregation   COH             111246010013                Gas           Gov. Aggregation
COH             202739630036                Gas           Gov. Aggregation   COH             131278830010                Gas           Gov. Aggregation
COH             208440170012                Gas           Gov. Aggregation   COH             132924680029                Gas           Gov. Aggregation
COH             196974660040                Gas           Gov. Aggregation   COH             133450730040                Gas           Gov. Aggregation
COH             208903930010                Gas           Gov. Aggregation   COH             133925600013                Gas           Gov. Aggregation
COH             205624160035                Gas           Gov. Aggregation   COH             158994510018                Gas           Gov. Aggregation
COH             156031150105                Gas           Gov. Aggregation   COH             159324230042                Gas           Gov. Aggregation
COH             208298310015                Gas           Gov. Aggregation   COH             159356420054                Gas           Gov. Aggregation
COH             209310380012                Gas           Gov. Aggregation   COH             159367120027                Gas           Gov. Aggregation
COH             209498720149                Gas           Gov. Aggregation   COH             159706160038                Gas           Gov. Aggregation
COH             209742790011                Gas           Gov. Aggregation   COH             162938770034                Gas           Gov. Aggregation
COH             205945650023                Gas           Gov. Aggregation   COH             163577560015                Gas           Gov. Aggregation
COH             191902430035                Gas           Gov. Aggregation   COH             170623990017                Gas           Gov. Aggregation
COH             151136860145                Gas           Gov. Aggregation   COH             170727650027                Gas           Gov. Aggregation
COH             199287980065                Gas           Gov. Aggregation   COH             171807710014                Gas           Gov. Aggregation
COH             209634750018                Gas           Gov. Aggregation   COH             190340320013                Gas           Gov. Aggregation
COH             168528970099                Gas           Gov. Aggregation   COH             111286400026                Gas           Gov. Aggregation
COH             207344360017                Gas           Gov. Aggregation   COH             111286550016                Gas           Gov. Aggregation
COH             206031880012                Gas           Gov. Aggregation   COH             136395990023                Gas           Gov. Aggregation
COH             204343420037                Gas           Gov. Aggregation   COH             136441870038                Gas           Gov. Aggregation
COH             207337060024                Gas           Gov. Aggregation   COH             137648970010                Gas           Gov. Aggregation
COH             195588800059                Gas           Gov. Aggregation   COH             137984200028                Gas           Gov. Aggregation
COH             206425430100                Gas           Gov. Aggregation   COH             138454730029                Gas           Gov. Aggregation
COH             208625910014                Gas           Gov. Aggregation   COH             163211440032                Gas           Gov. Aggregation
COH             115194580048                Gas           Gov. Aggregation   COH             163279240014                Gas           Gov. Aggregation
COH             193112810136                Gas           Gov. Aggregation   COH             163283370018                Gas           Gov. Aggregation
COH             209058440015                Gas           Gov. Aggregation   COH             163283380016                Gas           Gov. Aggregation
COH             195887100052                Gas           Gov. Aggregation   COH             168176560029                Gas           Gov. Aggregation
COH             200250680025                Gas           Gov. Aggregation   COH             168566410023                Gas           Gov. Aggregation
COH             162208510026                Gas           Gov. Aggregation   COH             168732950018                Gas           Gov. Aggregation
COH             171261980043                Gas           Gov. Aggregation   COH             168796340012                Gas           Gov. Aggregation
COH             117304980047                Gas           Gov. Aggregation   COH             165356590015                Gas           Gov. Aggregation
COH             126918890099                Gas           Gov. Aggregation   COH             166228960017                Gas           Gov. Aggregation
COH             206133380011                Gas           Gov. Aggregation   COH             177484380014                Gas           Gov. Aggregation
COH             208488840011                Gas           Gov. Aggregation   COH             177741850037                Gas           Gov. Aggregation
COH             196282290036                Gas           Gov. Aggregation   COH             185409830017                Gas           Gov. Aggregation
COH             209701340011                Gas           Gov. Aggregation   COH             187627850019                Gas           Gov. Aggregation
COH             136836940330                Gas           Gov. Aggregation   COH             188330780012                Gas           Gov. Aggregation
COH             198666230069                Gas           Gov. Aggregation   COH             125142710029                Gas           Gov. Aggregation
COH             176529840085                Gas           Gov. Aggregation   COH             148587850030                Gas           Gov. Aggregation
COH             143384100023                Gas           Gov. Aggregation   VEDO            4003458402342940            Gas           Gov. Aggregation
COH             198187290027                Gas           Gov. Aggregation   COH             169568210039                Gas           Gov. Aggregation
COH             200271070038                Gas           Gov. Aggregation   COH             114955690024                Gas           Gov. Aggregation
COH             204584350023                Gas           Gov. Aggregation   COH             116850770027                Gas           Gov. Aggregation
COH             169089610031                Gas           Gov. Aggregation   COH             117106000015                Gas           Gov. Aggregation
COH             200637590024                Gas           Gov. Aggregation   COH             117216540019                Gas           Gov. Aggregation
COH             163657350037                Gas           Gov. Aggregation   COH             117216560015                Gas           Gov. Aggregation
COH             195902520032                Gas           Gov. Aggregation   COH             117219930011                Gas           Gov. Aggregation
COH             208064640011                Gas           Gov. Aggregation   COH             117220290022                Gas           Gov. Aggregation
COH             206212420014                Gas           Gov. Aggregation   COH             117250180013                Gas           Gov. Aggregation
COH             207230440011                Gas           Gov. Aggregation   COH             117250210016                Gas           Gov. Aggregation
COH             205554990021                Gas           Gov. Aggregation   COH             117250520011                Gas           Gov. Aggregation
COH             208545880011                Gas           Gov. Aggregation   COH             117251080012                Gas           Gov. Aggregation
COH             185430380044                Gas           Gov. Aggregation   COH             117251160015                Gas           Gov. Aggregation
COH             206644900027                Gas           Gov. Aggregation   COH             150329000058                Gas           Gov. Aggregation
COH             206514080016                Gas           Gov. Aggregation   COH             150464490014                Gas           Gov. Aggregation
COH             209891660013                Gas           Gov. Aggregation   COH             150795590021                Gas           Gov. Aggregation
COH             209342670014                Gas           Gov. Aggregation   COH             155935980071                Gas           Gov. Aggregation
COH             188473190041                Gas           Gov. Aggregation   COH             155963230015                Gas           Gov. Aggregation
COH             117349850013                Gas           Gov. Aggregation   COH             156035730016                Gas           Gov. Aggregation
COH             147363050079                Gas           Gov. Aggregation   COH             156190240020                Gas           Gov. Aggregation
COH             159637440054                Gas           Gov. Aggregation   COH             168502970011                Gas           Gov. Aggregation
COH             117363940014                Gas           Gov. Aggregation   COH             168595350034                Gas           Gov. Aggregation
COH             203465090030                Gas           Gov. Aggregation   COH             170036220013                Gas           Gov. Aggregation
COH             166438040042                Gas           Gov. Aggregation   COH             170068970019                Gas           Gov. Aggregation
COH             209784480018                Gas           Gov. Aggregation   COH             170159110025                Gas           Gov. Aggregation
COH             143010660054                Gas           Gov. Aggregation   COH             171709560014                Gas           Gov. Aggregation
COH             208921580034                Gas           Gov. Aggregation   COH             171830970057                Gas           Gov. Aggregation
COH             203842090030                Gas           Gov. Aggregation   COH             171835470043                Gas           Gov. Aggregation
COH             198293760023                Gas           Gov. Aggregation   COH             171960870026                Gas           Gov. Aggregation
COH             185191560035                Gas           Gov. Aggregation   COH             172111250015                Gas           Gov. Aggregation
COH             173638040049                Gas           Gov. Aggregation   COH             173394370039                Gas           Gov. Aggregation
COH             209718570018                Gas           Gov. Aggregation   COH             173411510022                Gas           Gov. Aggregation
COH             208888320012                Gas           Gov. Aggregation   COH             173480210048                Gas           Gov. Aggregation
COH             201226090029                Gas           Gov. Aggregation   COH             173488170023                Gas           Gov. Aggregation
COH             147102320010                Gas           Gov. Aggregation   COH             173706310056                Gas           Gov. Aggregation
COH             195055000029                Gas           Gov. Aggregation   COH             175244000013                Gas           Gov. Aggregation
COH             189407960038                Gas           Gov. Aggregation   COH             175264000011                Gas           Gov. Aggregation
COH             208811770019                Gas           Gov. Aggregation   COH             175277230016                Gas           Gov. Aggregation
COH             208584210019                Gas           Gov. Aggregation   COH             175314180017                Gas           Gov. Aggregation
COH             175459430063                Gas           Gov. Aggregation   COH             175434300017                Gas           Gov. Aggregation
COH             193091430061                Gas           Gov. Aggregation   COH             175836200025                Gas           Gov. Aggregation
COH             195217910033                Gas           Gov. Aggregation   COH             175866190016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             203350850024                Gas           Gov. Aggregation   COH             176023880025                Gas           Gov. Aggregation
COH             195633770059                Gas           Gov. Aggregation   COH             176176170030                Gas           Gov. Aggregation
COH             206180440019                Gas           Gov. Aggregation   COH             176574790018                Gas           Gov. Aggregation
COH             206289640017                Gas           Gov. Aggregation   COH             185645740016                Gas           Gov. Aggregation
COH             209768910011                Gas           Gov. Aggregation   COH             185650080014                Gas           Gov. Aggregation
COH             209047230012                Gas           Gov. Aggregation   COH             185668870011                Gas           Gov. Aggregation
COH             208440120012                Gas           Gov. Aggregation   COH             185892630016                Gas           Gov. Aggregation
COH             209791520014                Gas           Gov. Aggregation   COH             185928940014                Gas           Gov. Aggregation
COH             209672060013                Gas           Gov. Aggregation   COH             186933290019                Gas           Gov. Aggregation
COH             197798490021                Gas           Gov. Aggregation   COH             186992060013                Gas           Gov. Aggregation
COH             207094660015                Gas           Gov. Aggregation   COH             187237720013                Gas           Gov. Aggregation
COH             198357870033                Gas           Gov. Aggregation   COH             187250790011                Gas           Gov. Aggregation
COH             185020160058                Gas           Gov. Aggregation   COH             187258170024                Gas           Gov. Aggregation
COH             209840940011                Gas           Gov. Aggregation   COH             187462500030                Gas           Gov. Aggregation
COH             204095820021                Gas           Gov. Aggregation   COH             187915400012                Gas           Gov. Aggregation
COH             191928430102                Gas           Gov. Aggregation   COH             187924300014                Gas           Gov. Aggregation
COH             203504780031                Gas           Gov. Aggregation   COH             188249400014                Gas           Gov. Aggregation
COH             209867270016                Gas           Gov. Aggregation   COH             188256630011                Gas           Gov. Aggregation
COH             207981940015                Gas           Gov. Aggregation   COH             188265650018                Gas           Gov. Aggregation
COH             209672020011                Gas           Gov. Aggregation   COH             188421350019                Gas           Gov. Aggregation
COH             121193530140                Gas           Gov. Aggregation   COH             188433150016                Gas           Gov. Aggregation
COH             207108070018                Gas           Gov. Aggregation   COH             188452880013                Gas           Gov. Aggregation
COH             190558490017                Gas           Gov. Aggregation   COH             188529220018                Gas           Gov. Aggregation
COH             208265680017                Gas           Gov. Aggregation   COH             188563840016                Gas           Gov. Aggregation
COH             208092870014                Gas           Gov. Aggregation   COH             188593450015                Gas           Gov. Aggregation
COH             209934600013                Gas           Gov. Aggregation   COH             188593490017                Gas           Gov. Aggregation
COH             204527560047                Gas           Gov. Aggregation   COH             188626910017                Gas           Gov. Aggregation
COH             202244370058                Gas           Gov. Aggregation   COH             188796440017                Gas           Gov. Aggregation
COH             151542460040                Gas           Gov. Aggregation   COH             188812680011                Gas           Gov. Aggregation
COH             202344490051                Gas           Gov. Aggregation   COH             189002310014                Gas           Gov. Aggregation
COH             208888330010                Gas           Gov. Aggregation   COH             189022330018                Gas           Gov. Aggregation
COH             208265670019                Gas           Gov. Aggregation   COH             189028340014                Gas           Gov. Aggregation
COH             204024460026                Gas           Gov. Aggregation   COH             189794450018                Gas           Gov. Aggregation
COH             206445360014                Gas           Gov. Aggregation   COH             190273530012                Gas           Gov. Aggregation
COH             162788130082                Gas           Gov. Aggregation   COH             168469680014                Gas           Gov. Aggregation
COH             205358440031                Gas           Gov. Aggregation   COH             157795050045                Gas           Gov. Aggregation
COH             194393120074                Gas           Gov. Aggregation   COH             148803890041                Gas           Gov. Aggregation
COH             209571080013                Gas           Gov. Aggregation   COH             124537040033                Gas           Gov. Aggregation
COH             208424910010                Gas           Gov. Aggregation   COH             124542510042                Gas           Gov. Aggregation
COH             204485540032                Gas           Gov. Aggregation   COH             124547300046                Gas           Gov. Aggregation
COH             209015840011                Gas           Gov. Aggregation   COH             125812440034                Gas           Gov. Aggregation
COH             209403210010                Gas           Gov. Aggregation   COH             125815900068                Gas           Gov. Aggregation
COH             117551370033                Gas           Gov. Aggregation   COH             125817770026                Gas           Gov. Aggregation
COH             203245540040                Gas           Gov. Aggregation   COH             125826370021                Gas           Gov. Aggregation
COH             208148340016                Gas           Gov. Aggregation   COH             132366120020                Gas           Gov. Aggregation
COH             209448080014                Gas           Gov. Aggregation   COH             132416000037                Gas           Gov. Aggregation
COH             198608320044                Gas           Gov. Aggregation   COH             132430080031                Gas           Gov. Aggregation
COH             207951690011                Gas           Gov. Aggregation   COH             132624500013                Gas           Gov. Aggregation
COH             196991590049                Gas           Gov. Aggregation   COH             132664270027                Gas           Gov. Aggregation
COH             159621450046                Gas           Gov. Aggregation   COH             141909830028                Gas           Gov. Aggregation
COH             201707500059                Gas           Gov. Aggregation   COH             141980100030                Gas           Gov. Aggregation
COH             190009580066                Gas           Gov. Aggregation   COH             142023290029                Gas           Gov. Aggregation
COH             208912300013                Gas           Gov. Aggregation   COH             142052590016                Gas           Gov. Aggregation
COH             208477100019                Gas           Gov. Aggregation   COH             142310810011                Gas           Gov. Aggregation
COH             200384250031                Gas           Gov. Aggregation   COH             142359410013                Gas           Gov. Aggregation
COH             206917200016                Gas           Gov. Aggregation   COH             148165140024                Gas           Gov. Aggregation
COH             207744240023                Gas           Gov. Aggregation   COH             148189340013                Gas           Gov. Aggregation
COH             207779750014                Gas           Gov. Aggregation   COH             148327970017                Gas           Gov. Aggregation
COH             192676180047                Gas           Gov. Aggregation   COH             148383500017                Gas           Gov. Aggregation
COH             208942090015                Gas           Gov. Aggregation   COH             149464330029                Gas           Gov. Aggregation
COH             117279080041                Gas           Gov. Aggregation   COH             149578650012                Gas           Gov. Aggregation
COH             208848200011                Gas           Gov. Aggregation   COH             149578750155                Gas           Gov. Aggregation
COH             208754200010                Gas           Gov. Aggregation   COH             165317070016                Gas           Gov. Aggregation
COH             208597250014                Gas           Gov. Aggregation   COH             165387470015                Gas           Gov. Aggregation
COH             207068100017                Gas           Gov. Aggregation   COH             188161960013                Gas           Gov. Aggregation
COH             195879320062                Gas           Gov. Aggregation   COH             188242050012                Gas           Gov. Aggregation
COH             206443650017                Gas           Gov. Aggregation   COH             188243850012                Gas           Gov. Aggregation
COH             202174910026                Gas           Gov. Aggregation   COH             188391540014                Gas           Gov. Aggregation
COH             196800830032                Gas           Gov. Aggregation   COH             188427390019                Gas           Gov. Aggregation
COH             205737190021                Gas           Gov. Aggregation   COH             188897990018                Gas           Gov. Aggregation
COH             200929790032                Gas           Gov. Aggregation   COH             188920200012                Gas           Gov. Aggregation
COH             209068060014                Gas           Gov. Aggregation   COH             188937890013                Gas           Gov. Aggregation
COH             207766960017                Gas           Gov. Aggregation   COH             188949060012                Gas           Gov. Aggregation
COH             138075430115                Gas           Gov. Aggregation   COH             172254580185                Gas           Gov. Aggregation
COH             148872410082                Gas           Gov. Aggregation   COH             172254580201                Gas           Gov. Aggregation
COH             193943480037                Gas           Gov. Aggregation   COH             172956540014                Gas           Gov. Aggregation
COH             207766970015                Gas           Gov. Aggregation   COH             125780290017                Gas           Gov. Aggregation
COH             206954340019                Gas           Gov. Aggregation   COH             164395610046                Gas           Gov. Aggregation
COH             207172650011                Gas           Gov. Aggregation   COH             189218400018                Gas           Gov. Aggregation
COH             191733090045                Gas           Gov. Aggregation   COH             115179280034                Gas           Gov. Aggregation
COH             209372960010                Gas           Gov. Aggregation   COH             115204610057                Gas           Gov. Aggregation
COH             202977410038                Gas           Gov. Aggregation   COH             186733590029                Gas           Gov. Aggregation
COH             195707550076                Gas           Gov. Aggregation   COH             171622580014                Gas           Gov. Aggregation
COH             205096300036                Gas           Gov. Aggregation   COH             123821470111                Gas           Gov. Aggregation
COH             208354480010                Gas           Gov. Aggregation   COH             148884020025                Gas           Gov. Aggregation
COH             209025080010                Gas           Gov. Aggregation   COH             123876220038                Gas           Gov. Aggregation
COH             205988960019                Gas           Gov. Aggregation   COH             123829040017                Gas           Gov. Aggregation
COH             204095680021                Gas           Gov. Aggregation   COH             123868480013                Gas           Gov. Aggregation
COH             203521720028                Gas           Gov. Aggregation   COH             123815110020                Gas           Gov. Aggregation
COH             206346370012                Gas           Gov. Aggregation   COH             123853970011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             209428020018                Gas           Gov. Aggregation   COH             166901520011                Gas           Gov. Aggregation
COH             209953660011                Gas           Gov. Aggregation   COH             123804470019                Gas           Gov. Aggregation
COH             208459840012                Gas           Gov. Aggregation   COH             186056320012                Gas           Gov. Aggregation
COH             207255260017                Gas           Gov. Aggregation   COH             173402700012                Gas           Gov. Aggregation
COH             208293350017                Gas           Gov. Aggregation   COH             172025180013                Gas           Gov. Aggregation
COH             209560900013                Gas           Gov. Aggregation   COH             187053150013                Gas           Gov. Aggregation
COH             195429070077                Gas           Gov. Aggregation   COH             123853370026                Gas           Gov. Aggregation
COH             206806880019                Gas           Gov. Aggregation   COH             123849400019                Gas           Gov. Aggregation
COH             205633580038                Gas           Gov. Aggregation   COH             154201860027                Gas           Gov. Aggregation
COH             149358420043                Gas           Gov. Aggregation   COH             173944920018                Gas           Gov. Aggregation
COH             207660730019                Gas           Gov. Aggregation   COH             123811510024                Gas           Gov. Aggregation
COH             199790540033                Gas           Gov. Aggregation   COH             123818090047                Gas           Gov. Aggregation
COH             155399870116                Gas           Gov. Aggregation   COH             131413670025                Gas           Gov. Aggregation
COH             193836150042                Gas           Gov. Aggregation   COH             130277400451                Gas           Gov. Aggregation
COH             209437800015                Gas           Gov. Aggregation   COH             123877500028                Gas           Gov. Aggregation
COH             208092880012                Gas           Gov. Aggregation   COH             123845950012                Gas           Gov. Aggregation
COH             192405830025                Gas           Gov. Aggregation   COH             123895860052                Gas           Gov. Aggregation
COH             196889460034                Gas           Gov. Aggregation   COH             166814000015                Gas           Gov. Aggregation
COH             208988690013                Gas           Gov. Aggregation   COH             123895860043                Gas           Gov. Aggregation
COH             201575630035                Gas           Gov. Aggregation   COH             171439720013                Gas           Gov. Aggregation
COH             203942780033                Gas           Gov. Aggregation   COH             123849390021                Gas           Gov. Aggregation
COH             201195970030                Gas           Gov. Aggregation   COH             123843130027                Gas           Gov. Aggregation
COH             191114920024                Gas           Gov. Aggregation   COH             152698560012                Gas           Gov. Aggregation
COH             199167260033                Gas           Gov. Aggregation   COH             133568920032                Gas           Gov. Aggregation
COH             208964200015                Gas           Gov. Aggregation   COH             113805890066                Gas           Gov. Aggregation
COH             120390320058                Gas           Gov. Aggregation   COH             123828770016                Gas           Gov. Aggregation
COH             208390010012                Gas           Gov. Aggregation   COH             140084740019                Gas           Gov. Aggregation
COH             177625950023                Gas           Gov. Aggregation   COH             172990440022                Gas           Gov. Aggregation
COH             117335180013                Gas           Gov. Aggregation   COH             160131290019                Gas           Gov. Aggregation
COH             206697500011                Gas           Gov. Aggregation   COH             135454400030                Gas           Gov. Aggregation
COH             155037570017                Gas           Gov. Aggregation   COH             133438630010                Gas           Gov. Aggregation
COH             206867240015                Gas           Gov. Aggregation   COH             174365260050                Gas           Gov. Aggregation
COH             209422790019                Gas           Gov. Aggregation   COH             150727190019                Gas           Gov. Aggregation
COH             209615460019                Gas           Gov. Aggregation   COH             123804220011                Gas           Gov. Aggregation
COH             206482290011                Gas           Gov. Aggregation   COH             152862230021                Gas           Gov. Aggregation
COH             193468400031                Gas           Gov. Aggregation   COH             147155470045                Gas           Gov. Aggregation
COH             207363820010                Gas           Gov. Aggregation   COH             145427820019                Gas           Gov. Aggregation
COH             197341440037                Gas           Gov. Aggregation   COH             190768820012                Gas           Gov. Aggregation
COH             209896750014                Gas           Gov. Aggregation   COH             123819760044                Gas           Gov. Aggregation
COH             197006050039                Gas           Gov. Aggregation   COH             157719830014                Gas           Gov. Aggregation
COH             133593110066                Gas           Gov. Aggregation   COH             123852390024                Gas           Gov. Aggregation
COH             206964170014                Gas           Gov. Aggregation   COH             174021210012                Gas           Gov. Aggregation
COH             200437430021                Gas           Gov. Aggregation   COH             153818870010                Gas           Gov. Aggregation
COH             202524810024                Gas           Gov. Aggregation   COH             152589170015                Gas           Gov. Aggregation
COH             194991610037                Gas           Gov. Aggregation   COH             152133380025                Gas           Gov. Aggregation
COH             198032170038                Gas           Gov. Aggregation   COH             168991310014                Gas           Gov. Aggregation
COH             155605730036                Gas           Gov. Aggregation   COH             173089800017                Gas           Gov. Aggregation
COH             201274870033                Gas           Gov. Aggregation   COH             165856160015                Gas           Gov. Aggregation
COH             135970030016                Gas           Gov. Aggregation   COH             123820340012                Gas           Gov. Aggregation
COH             208680550014                Gas           Gov. Aggregation   COH             123820350010                Gas           Gov. Aggregation
COH             209660950011                Gas           Gov. Aggregation   COH             169546490019                Gas           Gov. Aggregation
COH             117441490022                Gas           Gov. Aggregation   COH             123866310021                Gas           Gov. Aggregation
COH             208062920016                Gas           Gov. Aggregation   COH             146379550045                Gas           Gov. Aggregation
COH             206848010013                Gas           Gov. Aggregation   COH             190014160018                Gas           Gov. Aggregation
COH             206141431021                Gas           Gov. Aggregation   COH             123850640016                Gas           Gov. Aggregation
COH             209288140011                Gas           Gov. Aggregation   COH             136213550056                Gas           Gov. Aggregation
COH             207217160018                Gas           Gov. Aggregation   COH             144153870011                Gas           Gov. Aggregation
COH             117368660022                Gas           Gov. Aggregation   COH             123878720011                Gas           Gov. Aggregation
COH             209001330017                Gas           Gov. Aggregation   COH             123878660014                Gas           Gov. Aggregation
COH             197183970023                Gas           Gov. Aggregation   COH             174217960010                Gas           Gov. Aggregation
COH             117332700028                Gas           Gov. Aggregation   COH             141115060023                Gas           Gov. Aggregation
COH             204931190020                Gas           Gov. Aggregation   COH             151585210015                Gas           Gov. Aggregation
COH             209735720010                Gas           Gov. Aggregation   COH             170994550014                Gas           Gov. Aggregation
COH             207217170016                Gas           Gov. Aggregation   COH             123904920012                Gas           Gov. Aggregation
COH             209132830015                Gas           Gov. Aggregation   COH             123821090022                Gas           Gov. Aggregation
COH             206427260013                Gas           Gov. Aggregation   COH             123882980036                Gas           Gov. Aggregation
COH             209247420018                Gas           Gov. Aggregation   COH             187885530010                Gas           Gov. Aggregation
COH             174967810030                Gas           Gov. Aggregation   COH             123882980018                Gas           Gov. Aggregation
COH             208997570019                Gas           Gov. Aggregation   COH             188635640015                Gas           Gov. Aggregation
COH             207118760012                Gas           Gov. Aggregation   COH             171031560011                Gas           Gov. Aggregation
COH             203595430024                Gas           Gov. Aggregation   COH             173178530033                Gas           Gov. Aggregation
COH             203518580034                Gas           Gov. Aggregation   COH             159739410018                Gas           Gov. Aggregation
COH             207804390015                Gas           Gov. Aggregation   COH             126459990038                Gas           Gov. Aggregation
COH             203770190014                Gas           Gov. Aggregation   COH             123864930034                Gas           Gov. Aggregation
COH             199876680041                Gas           Gov. Aggregation   COH             123879510013                Gas           Gov. Aggregation
COH             209171210013                Gas           Gov. Aggregation   COH             123907260015                Gas           Gov. Aggregation
COH             206459830025                Gas           Gov. Aggregation   COH             189868740010                Gas           Gov. Aggregation
COH             200591680023                Gas           Gov. Aggregation   COH             161548300021                Gas           Gov. Aggregation
COH             204467660017                Gas           Gov. Aggregation   COH             154468220107                Gas           Gov. Aggregation
COH             209546370015                Gas           Gov. Aggregation   COH             156677870017                Gas           Gov. Aggregation
COH             209440120011                Gas           Gov. Aggregation   COH             123875030012                Gas           Gov. Aggregation
COH             200437210036                Gas           Gov. Aggregation   COH             136936020019                Gas           Gov. Aggregation
COH             209827120011                Gas           Gov. Aggregation   COH             163832070016                Gas           Gov. Aggregation
COH             207731210017                Gas           Gov. Aggregation   COH             123899320011                Gas           Gov. Aggregation
COH             209562650012                Gas           Gov. Aggregation   COH             147382100014                Gas           Gov. Aggregation
COH             207107810023                Gas           Gov. Aggregation   COH             168744480012                Gas           Gov. Aggregation
COH             199781840048                Gas           Gov. Aggregation   COH             185268780018                Gas           Gov. Aggregation
COH             208758040016                Gas           Gov. Aggregation   COH             186218390014                Gas           Gov. Aggregation
COH             206955280010                Gas           Gov. Aggregation   COH             189971500020                Gas           Gov. Aggregation
COH             147364710069                Gas           Gov. Aggregation   COH             122408240018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             137783450040                Gas           Gov. Aggregation   COH             122408850029                Gas           Gov. Aggregation
COH             170756550090                Gas           Gov. Aggregation   COH             122409620034                Gas           Gov. Aggregation
COH             176655540116                Gas           Gov. Aggregation   COH             122449120017                Gas           Gov. Aggregation
COH             209024750011                Gas           Gov. Aggregation   COH             122449240012                Gas           Gov. Aggregation
COH             208118620038                Gas           Gov. Aggregation   COH             122449830036                Gas           Gov. Aggregation
COH             206124660011                Gas           Gov. Aggregation   COH             122451620026                Gas           Gov. Aggregation
COH             207461020010                Gas           Gov. Aggregation   COH             122485030010                Gas           Gov. Aggregation
COH             207454960018                Gas           Gov. Aggregation   COH             122485160013                Gas           Gov. Aggregation
COH             207980640010                Gas           Gov. Aggregation   COH             122485330026                Gas           Gov. Aggregation
COH             209588720013                Gas           Gov. Aggregation   COH             122499300014                Gas           Gov. Aggregation
COH             206663760018                Gas           Gov. Aggregation   COH             132154730030                Gas           Gov. Aggregation
COH             209702840014                Gas           Gov. Aggregation   COH             132377950032                Gas           Gov. Aggregation
COH             207816580010                Gas           Gov. Aggregation   COH             132533370041                Gas           Gov. Aggregation
COH             175241350043                Gas           Gov. Aggregation   COH             132567520039                Gas           Gov. Aggregation
COH             208018180024                Gas           Gov. Aggregation   COH             135350710017                Gas           Gov. Aggregation
COH             206427410011                Gas           Gov. Aggregation   COH             135435690058                Gas           Gov. Aggregation
COH             204661450028                Gas           Gov. Aggregation   COH             135521010020                Gas           Gov. Aggregation
COH             205987370033                Gas           Gov. Aggregation   COH             135628330036                Gas           Gov. Aggregation
COH             208425090011                Gas           Gov. Aggregation   COH             135746930012                Gas           Gov. Aggregation
COH             208982560012                Gas           Gov. Aggregation   COH             138272840022                Gas           Gov. Aggregation
COH             209775360012                Gas           Gov. Aggregation   COH             138309590106                Gas           Gov. Aggregation
COH             141856090036                Gas           Gov. Aggregation   COH             138325020030                Gas           Gov. Aggregation
COH             141433730135                Gas           Gov. Aggregation   COH             138922820018                Gas           Gov. Aggregation
COH             174101280036                Gas           Gov. Aggregation   COH             139887340041                Gas           Gov. Aggregation
COH             175398800038                Gas           Gov. Aggregation   COH             139922120032                Gas           Gov. Aggregation
COH             191895730020                Gas           Gov. Aggregation   COH             140024250018                Gas           Gov. Aggregation
COH             203105090023                Gas           Gov. Aggregation   COH             140099820093                Gas           Gov. Aggregation
COH             206289760012                Gas           Gov. Aggregation   COH             144277590027                Gas           Gov. Aggregation
COH             206334910013                Gas           Gov. Aggregation   COH             144383190044                Gas           Gov. Aggregation
COH             201935640048                Gas           Gov. Aggregation   COH             144438480019                Gas           Gov. Aggregation
COH             197198820032                Gas           Gov. Aggregation   COH             144492390023                Gas           Gov. Aggregation
COH             208804770014                Gas           Gov. Aggregation   COH             145167510052                Gas           Gov. Aggregation
COH             203742450036                Gas           Gov. Aggregation   COH             145498270016                Gas           Gov. Aggregation
COH             117321570038                Gas           Gov. Aggregation   COH             150456040015                Gas           Gov. Aggregation
COH             209840780015                Gas           Gov. Aggregation   COH             150527390020                Gas           Gov. Aggregation
COH             209239400019                Gas           Gov. Aggregation   COH             150730700041                Gas           Gov. Aggregation
COH             209953610011                Gas           Gov. Aggregation   COH             151031690045                Gas           Gov. Aggregation
COH             208600440015                Gas           Gov. Aggregation   COH             151115440049                Gas           Gov. Aggregation
COH             206425430011                Gas           Gov. Aggregation   COH             157017010069                Gas           Gov. Aggregation
COH             208454930013                Gas           Gov. Aggregation   COH             157092690014                Gas           Gov. Aggregation
COH             156003250078                Gas           Gov. Aggregation   COH             164775470022                Gas           Gov. Aggregation
COH             208545870013                Gas           Gov. Aggregation   COH             164847160015                Gas           Gov. Aggregation
COH             207565790082                Gas           Gov. Aggregation   COH             166438550018                Gas           Gov. Aggregation
COH             201547500022                Gas           Gov. Aggregation   COH             166438590010                Gas           Gov. Aggregation
COH             187894390048                Gas           Gov. Aggregation   COH             166449450016                Gas           Gov. Aggregation
COH             189332250027                Gas           Gov. Aggregation   COH             166568920015                Gas           Gov. Aggregation
COH             175427840037                Gas           Gov. Aggregation   COH             167733720015                Gas           Gov. Aggregation
COH             209495590018                Gas           Gov. Aggregation   COH             168584410016                Gas           Gov. Aggregation
COH             205820120037                Gas           Gov. Aggregation   COH             168584430012                Gas           Gov. Aggregation
COH             209733950016                Gas           Gov. Aggregation   COH             168777690028                Gas           Gov. Aggregation
COH             135129100023                Gas           Gov. Aggregation   COH             169124640011                Gas           Gov. Aggregation
COH             206268850017                Gas           Gov. Aggregation   COH             169137200016                Gas           Gov. Aggregation
COH             194437160054                Gas           Gov. Aggregation   COH             169455890045                Gas           Gov. Aggregation
COH             172669080092                Gas           Gov. Aggregation   COH             169466840024                Gas           Gov. Aggregation
COH             209582020012                Gas           Gov. Aggregation   COH             170526320013                Gas           Gov. Aggregation
COH             187659640089                Gas           Gov. Aggregation   COH             170597450017                Gas           Gov. Aggregation
COH             144319270033                Gas           Gov. Aggregation   COH             170668410014                Gas           Gov. Aggregation
COH             208196260012                Gas           Gov. Aggregation   COH             171349100014                Gas           Gov. Aggregation
COH             208119500013                Gas           Gov. Aggregation   COH             171448500047                Gas           Gov. Aggregation
COH             209036330014                Gas           Gov. Aggregation   COH             174046060012                Gas           Gov. Aggregation
COH             208565870011                Gas           Gov. Aggregation   COH             174056000031                Gas           Gov. Aggregation
COH             206088830013                Gas           Gov. Aggregation   COH             174056000040                Gas           Gov. Aggregation
COH             207202990015                Gas           Gov. Aggregation   COH             174415610022                Gas           Gov. Aggregation
COH             208185000019                Gas           Gov. Aggregation   COH             174515540016                Gas           Gov. Aggregation
COH             200792630036                Gas           Gov. Aggregation   COH             175084250039                Gas           Gov. Aggregation
COH             207553240019                Gas           Gov. Aggregation   COH             175092450030                Gas           Gov. Aggregation
COH             200975050021                Gas           Gov. Aggregation   COH             175222210042                Gas           Gov. Aggregation
COH             150670370094                Gas           Gov. Aggregation   COH             185201160018                Gas           Gov. Aggregation
COH             207857670015                Gas           Gov. Aggregation   COH             185234400018                Gas           Gov. Aggregation
COH             116919760149                Gas           Gov. Aggregation   COH             186206180022                Gas           Gov. Aggregation
COH             203387770042                Gas           Gov. Aggregation   COH             186309460025                Gas           Gov. Aggregation
COH             186110810095                Gas           Gov. Aggregation   COH             186421070010                Gas           Gov. Aggregation
COH             130687860152                Gas           Gov. Aggregation   COH             187642010022                Gas           Gov. Aggregation
COH             169722550101                Gas           Gov. Aggregation   COH             188337850022                Gas           Gov. Aggregation
COH             175031650054                Gas           Gov. Aggregation   COH             188518770016                Gas           Gov. Aggregation
COH             202906020011                Gas           Gov. Aggregation   COH             189021760010                Gas           Gov. Aggregation
COH             207436340016                Gas           Gov. Aggregation   COH             189514310019                Gas           Gov. Aggregation
COH             209303370019                Gas           Gov. Aggregation   COH             189562590010                Gas           Gov. Aggregation
COH             176775430151                Gas           Gov. Aggregation   COH             189578580019                Gas           Gov. Aggregation
COH             207725020010                Gas           Gov. Aggregation   COH             189823630026                Gas           Gov. Aggregation
COH             207044620018                Gas           Gov. Aggregation   COH             189826780010                Gas           Gov. Aggregation
COH             193599630036                Gas           Gov. Aggregation   COH             189843180010                Gas           Gov. Aggregation
COH             206322100018                Gas           Gov. Aggregation   COH             190613650015                Gas           Gov. Aggregation
COH             188486030056                Gas           Gov. Aggregation   COH             190714410011                Gas           Gov. Aggregation
COH             177113890076                Gas           Gov. Aggregation   COH             190714460011                Gas           Gov. Aggregation
COH             206048190012                Gas           Gov. Aggregation   COH             190917380018                Gas           Gov. Aggregation
COH             156993070015                Gas           Gov. Aggregation   COH             190949770019                Gas           Gov. Aggregation
COH             171755770022                Gas           Gov. Aggregation   COH             191139120011                Gas           Gov. Aggregation
COH             200991340035                Gas           Gov. Aggregation   COH             191139180019                Gas           Gov. Aggregation
COH             208903890019                Gas           Gov. Aggregation   COH             191186700010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             196935460026                Gas           Gov. Aggregation   COH             191384120012                Gas           Gov. Aggregation
COH             206685030015                Gas           Gov. Aggregation   COH             191344490019                Gas           Gov. Aggregation
COH             207828850027                Gas           Gov. Aggregation   COH             191345260015                Gas           Gov. Aggregation
COH             195633000023                Gas           Gov. Aggregation   COH             175318130037                Gas           Gov. Aggregation
COH             200113750039                Gas           Gov. Aggregation   COH             191591690014                Gas           Gov. Aggregation
COH             116931370038                Gas           Gov. Aggregation   COH             108788810012                Gas           Gov. Aggregation
COH             204244450022                Gas           Gov. Aggregation   COH             187679130011                Gas           Gov. Aggregation
COH             208811710011                Gas           Gov. Aggregation   COH             191611700035                Gas           Gov. Aggregation
COH             134227010025                Gas           Gov. Aggregation   COH             108827910017                Gas           Gov. Aggregation
COH             166544130057                Gas           Gov. Aggregation   COH             190715470017                Gas           Gov. Aggregation
COH             209557220013                Gas           Gov. Aggregation   COH             108835110036                Gas           Gov. Aggregation
COH             199139610038                Gas           Gov. Aggregation   COH             190742720017                Gas           Gov. Aggregation
COH             208437080018                Gas           Gov. Aggregation   COH             144549210010                Gas           Gov. Aggregation
COH             144697000039                Gas           Gov. Aggregation   COH             108828370019                Gas           Gov. Aggregation
COH             207891200011                Gas           Gov. Aggregation   COH             108850380010                Gas           Gov. Aggregation
COH             207552340010                Gas           Gov. Aggregation   COH             155388410080                Gas           Gov. Aggregation
COH             201925830021                Gas           Gov. Aggregation   COH             122382290041                Gas           Gov. Aggregation
COH             208926830013                Gas           Gov. Aggregation   COH             122424250021                Gas           Gov. Aggregation
COH             207289290010                Gas           Gov. Aggregation   COH             122469680018                Gas           Gov. Aggregation
COH             209470330014                Gas           Gov. Aggregation   COH             155844580014                Gas           Gov. Aggregation
COH             208647790014                Gas           Gov. Aggregation   COH             191883310014                Gas           Gov. Aggregation
COH             201366990042                Gas           Gov. Aggregation   COH             191944620019                Gas           Gov. Aggregation
COH             156298340110                Gas           Gov. Aggregation   COH             175694830016                Gas           Gov. Aggregation
COH             207112140023                Gas           Gov. Aggregation   COH             187033310011                Gas           Gov. Aggregation
COH             197671830027                Gas           Gov. Aggregation   COH             168245940013                Gas           Gov. Aggregation
COH             209866590011                Gas           Gov. Aggregation   COH             186386050010                Gas           Gov. Aggregation
COH             195271050049                Gas           Gov. Aggregation   COH             191436190017                Gas           Gov. Aggregation
COH             195774180046                Gas           Gov. Aggregation   COH             111341890017                Gas           Gov. Aggregation
COH             209532020017                Gas           Gov. Aggregation   COH             171363270046                Gas           Gov. Aggregation
COH             208805170018                Gas           Gov. Aggregation   COH             174087070014                Gas           Gov. Aggregation
COH             209902280018                Gas           Gov. Aggregation   COH             156524750024                Gas           Gov. Aggregation
COH             203534960030                Gas           Gov. Aggregation   COH             150380340077                Gas           Gov. Aggregation
COH             201401500020                Gas           Gov. Aggregation   COH             207792440011                Gas           Gov. Aggregation
COH             194239760067                Gas           Gov. Aggregation   DUKE            8600018447                  Gas           Gov. Aggregation
COH             207332620017                Gas           Gov. Aggregation   DUKE            9600018451                  Gas           Gov. Aggregation
COH             199085980045                Gas           Gov. Aggregation   DUKE            4810384602                  Gas           Gov. Aggregation
COH             146834950027                Gas           Gov. Aggregation   DUKE            9760363505                  Gas           Gov. Aggregation
COH             208757870014                Gas           Gov. Aggregation   DUKE            9790392202                  Gas           Gov. Aggregation
COH             209619810017                Gas           Gov. Aggregation   DUKE            9900058421                  Gas           Gov. Aggregation
COH             208757850018                Gas           Gov. Aggregation   DUKE            2190203406                  Gas           Gov. Aggregation
COH             207743230018                Gas           Gov. Aggregation   DUKE            0900396002                  Gas           Gov. Aggregation
COH             206697540022                Gas           Gov. Aggregation   DUKE            1000055422                  Gas           Gov. Aggregation
COH             169653860096                Gas           Gov. Aggregation   DUKE            2850036423                  Gas           Gov. Aggregation
COH             193892740022                Gas           Gov. Aggregation   DUKE            2840396902                  Gas           Gov. Aggregation
COH             209263840016                Gas           Gov. Aggregation   DUKE            2850018326                  Gas           Gov. Aggregation
COH             191325760030                Gas           Gov. Aggregation   DUKE            1650036421                  Gas           Gov. Aggregation
COH             207645840018                Gas           Gov. Aggregation   DUKE            1490395402                  Gas           Gov. Aggregation
COH             145821510027                Gas           Gov. Aggregation   DUKE            1500018421                  Gas           Gov. Aggregation
COH             152155590105                Gas           Gov. Aggregation   DUKE            1710396702                  Gas           Gov. Aggregation
COH             209516210011                Gas           Gov. Aggregation   COH             165486380050                Gas           Gov. Aggregation
COH             209768890016                Gas           Gov. Aggregation   COH             165562100010                Gas           Gov. Aggregation
COH             120308630038                Gas           Gov. Aggregation   COH             110926170028                Gas           Gov. Aggregation
COH             208297850014                Gas           Gov. Aggregation   COH             110927490038                Gas           Gov. Aggregation
COH             137749380154                Gas           Gov. Aggregation   COH             110934580025                Gas           Gov. Aggregation
COH             201081160031                Gas           Gov. Aggregation   COH             136864200014                Gas           Gov. Aggregation
COH             207631660015                Gas           Gov. Aggregation   COH             110929920015                Gas           Gov. Aggregation
COH             149289940121                Gas           Gov. Aggregation   DUKE            0050038522                  Gas           Gov. Aggregation
COH             164249600065                Gas           Gov. Aggregation   DUKE            0940038538                  Gas           Gov. Aggregation
COH             190383460069                Gas           Gov. Aggregation   DUKE            0660038521                  Gas           Gov. Aggregation
COH             202852820027                Gas           Gov. Aggregation   DUKE            0750038528                  Gas           Gov. Aggregation
COH             205962900024                Gas           Gov. Aggregation   DUKE            0060038522                  Gas           Gov. Aggregation
COH             208757990019                Gas           Gov. Aggregation   DUKE            0560038522                  Gas           Gov. Aggregation
COH             193761370027                Gas           Gov. Aggregation   DUKE            0760038534                  Gas           Gov. Aggregation
COH             207924860012                Gas           Gov. Aggregation   DUKE            0420209702                  Gas           Gov. Aggregation
COH             205891790029                Gas           Gov. Aggregation   DUKE            0120038624                  Gas           Gov. Aggregation
COH             209200700017                Gas           Gov. Aggregation   DUKE            0020038629                  Gas           Gov. Aggregation
COH             206121250013                Gas           Gov. Aggregation   DUKE            0730038620                  Gas           Gov. Aggregation
COH             209742870014                Gas           Gov. Aggregation   DUKE            0920038622                  Gas           Gov. Aggregation
COH             200436450056                Gas           Gov. Aggregation   DUKE            0820038620                  Gas           Gov. Aggregation
COH             185252740037                Gas           Gov. Aggregation   DUKE            0430038622                  Gas           Gov. Aggregation
COH             209591390178                Gas           Gov. Aggregation   DUKE            0870020220                  Gas           Gov. Aggregation
COH             208331430018                Gas           Gov. Aggregation   DUKE            0540038523                  Gas           Gov. Aggregation
COH             206384360014                Gas           Gov. Aggregation   DUKE            0280020225                  Gas           Gov. Aggregation
COH             207088820014                Gas           Gov. Aggregation   DUKE            0180020233                  Gas           Gov. Aggregation
COH             200201950021                Gas           Gov. Aggregation   DUKE            0160020229                  Gas           Gov. Aggregation
COH             167549250051                Gas           Gov. Aggregation   DUKE            0470020226                  Gas           Gov. Aggregation
COH             209718580016                Gas           Gov. Aggregation   DUKE            0100020222                  Gas           Gov. Aggregation
COH             208226570012                Gas           Gov. Aggregation   DUKE            0170020260                  Gas           Gov. Aggregation
COH             209015990010                Gas           Gov. Aggregation   DUKE            0130020249                  Gas           Gov. Aggregation
COH             161556560039                Gas           Gov. Aggregation   DUKE            0730020243                  Gas           Gov. Aggregation
COH             206235500019                Gas           Gov. Aggregation   DUKE            0930020243                  Gas           Gov. Aggregation
COH             209254500016                Gas           Gov. Aggregation   DUKE            0140020222                  Gas           Gov. Aggregation
COH             206348070011                Gas           Gov. Aggregation   DUKE            0010020222                  Gas           Gov. Aggregation
COH             160727280027                Gas           Gov. Aggregation   DUKE            0290020140                  Gas           Gov. Aggregation
COH             153176600125                Gas           Gov. Aggregation   DUKE            0190020121                  Gas           Gov. Aggregation
COH             198307520068                Gas           Gov. Aggregation   DUKE            0860020126                  Gas           Gov. Aggregation
COH             209859810082                Gas           Gov. Aggregation   DUKE            0180038523                  Gas           Gov. Aggregation
COH             208362450019                Gas           Gov. Aggregation   DUKE            0510038631                  Gas           Gov. Aggregation
COH             207624410012                Gas           Gov. Aggregation   DUKE            0970038550                  Gas           Gov. Aggregation
COH             207108090014                Gas           Gov. Aggregation   DUKE            0850020227                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             209414130014                Gas           Gov. Aggregation   DUKE            0770038522                  Gas           Gov. Aggregation
COH             208878880016                Gas           Gov. Aggregation   DUKE            0710070922                  Gas           Gov. Aggregation
COH             146649460014                Gas           Gov. Aggregation   DUKE            0320038622                  Gas           Gov. Aggregation
COH             209775850019                Gas           Gov. Aggregation   DUKE            0810038623                  Gas           Gov. Aggregation
COH             149003610035                Gas           Gov. Aggregation   DUKE            0870038725                  Gas           Gov. Aggregation
COH             201395870037                Gas           Gov. Aggregation   DUKE            0070038722                  Gas           Gov. Aggregation
COH             206867380016                Gas           Gov. Aggregation   DUKE            0420020021                  Gas           Gov. Aggregation
COH             207096020024                Gas           Gov. Aggregation   DUKE            0970038744                  Gas           Gov. Aggregation
COH             206459850012                Gas           Gov. Aggregation   DUKE            0480038736                  Gas           Gov. Aggregation
COH             206371150015                Gas           Gov. Aggregation   DUKE            0800081725                  Gas           Gov. Aggregation
COH             206041340014                Gas           Gov. Aggregation   DUKE            0440038742                  Gas           Gov. Aggregation
COH             141950770079                Gas           Gov. Aggregation   DUKE            0570038743                  Gas           Gov. Aggregation
COH             208081650013                Gas           Gov. Aggregation   DUKE            0380038724                  Gas           Gov. Aggregation
COH             208154940017                Gas           Gov. Aggregation   DUKE            0160038722                  Gas           Gov. Aggregation
COH             203079871141                Gas           Gov. Aggregation   DUKE            0260038723                  Gas           Gov. Aggregation
COH             146114210055                Gas           Gov. Aggregation   COH             187851900013                Gas           Gov. Aggregation
COH             202387420028                Gas           Gov. Aggregation   DUKE            0410020220                  Gas           Gov. Aggregation
COH             153695420025                Gas           Gov. Aggregation   DUKE            0300020230                  Gas           Gov. Aggregation
COH             209337890019                Gas           Gov. Aggregation   DUKE            0210020221                  Gas           Gov. Aggregation
COH             206486830019                Gas           Gov. Aggregation   DUKE            0990038522                  Gas           Gov. Aggregation
COH             199578390035                Gas           Gov. Aggregation   DUKE            0190038523                  Gas           Gov. Aggregation
COH             157296270083                Gas           Gov. Aggregation   DUKE            0690020126                  Gas           Gov. Aggregation
COH             206212640018                Gas           Gov. Aggregation   DUKE            6730038739                  Gas           Gov. Aggregation
COH             206342620017                Gas           Gov. Aggregation   DUKE            8690020122                  Gas           Gov. Aggregation
COH             207579140016                Gas           Gov. Aggregation   DUKE            6110038622                  Gas           Gov. Aggregation
COH             194547640050                Gas           Gov. Aggregation   DUKE            5670020120                  Gas           Gov. Aggregation
COH             208119450014                Gas           Gov. Aggregation   DUKE            7640038621                  Gas           Gov. Aggregation
COH             172126780022                Gas           Gov. Aggregation   DUKE            4090020123                  Gas           Gov. Aggregation
COH             206284480011                Gas           Gov. Aggregation   DUKE            5190020129                  Gas           Gov. Aggregation
COH             206550630014                Gas           Gov. Aggregation   DUKE            8200020221                  Gas           Gov. Aggregation
COH             187327110038                Gas           Gov. Aggregation   DUKE            0580020228                  Gas           Gov. Aggregation
COH             207878840015                Gas           Gov. Aggregation   DUKE            4650038738                  Gas           Gov. Aggregation
COH             196900820096                Gas           Gov. Aggregation   DUKE            5850020222                  Gas           Gov. Aggregation
COH             188605000030                Gas           Gov. Aggregation   DUKE            0750020228                  Gas           Gov. Aggregation
COH             206758160013                Gas           Gov. Aggregation   DUKE            3180038525                  Gas           Gov. Aggregation
COH             209162940019                Gas           Gov. Aggregation   DUKE            7140038621                  Gas           Gov. Aggregation
COH             206341520010                Gas           Gov. Aggregation   DUKE            4180038534                  Gas           Gov. Aggregation
COH             146985850038                Gas           Gov. Aggregation   DUKE            0270020122                  Gas           Gov. Aggregation
COH             200378650021                Gas           Gov. Aggregation   DUKE            7800020224                  Gas           Gov. Aggregation
COH             208981380012                Gas           Gov. Aggregation   DUKE            9490082525                  Gas           Gov. Aggregation
COH             190095500034                Gas           Gov. Aggregation   DUKE            9060038723                  Gas           Gov. Aggregation
COH             203881840021                Gas           Gov. Aggregation   DUKE            9810020221                  Gas           Gov. Aggregation
COH             208362490011                Gas           Gov. Aggregation   DUKE            9020038621                  Gas           Gov. Aggregation
COH             209129480016                Gas           Gov. Aggregation   DUKE            8950038520                  Gas           Gov. Aggregation
COH             202092510024                Gas           Gov. Aggregation   DUKE            6690038534                  Gas           Gov. Aggregation
COH             130712920010                Gas           Gov. Aggregation   DUKE            6600020220                  Gas           Gov. Aggregation
COH             206974060016                Gas           Gov. Aggregation   DUKE            5570020130                  Gas           Gov. Aggregation
COH             208416130011                Gas           Gov. Aggregation   DUKE            9300020220                  Gas           Gov. Aggregation
COH             131055830030                Gas           Gov. Aggregation   DUKE            5070038725                  Gas           Gov. Aggregation
COH             133420610164                Gas           Gov. Aggregation   DUKE            9270020125                  Gas           Gov. Aggregation
COH             141584310063                Gas           Gov. Aggregation   DUKE            8700020221                  Gas           Gov. Aggregation
COH             142142160060                Gas           Gov. Aggregation   DUKE            9020020221                  Gas           Gov. Aggregation
COH             152013300089                Gas           Gov. Aggregation   DUKE            0620020042                  Gas           Gov. Aggregation
COH             154229100046                Gas           Gov. Aggregation   DUKE            8210020221                  Gas           Gov. Aggregation
COH             188206820016                Gas           Gov. Aggregation   DUKE            8020020221                  Gas           Gov. Aggregation
COH             191412080047                Gas           Gov. Aggregation   DUKE            4010038626                  Gas           Gov. Aggregation
COH             192519090039                Gas           Gov. Aggregation   DUKE            6420020032                  Gas           Gov. Aggregation
COH             193725000137                Gas           Gov. Aggregation   DUKE            5420020050                  Gas           Gov. Aggregation
COH             194400600094                Gas           Gov. Aggregation   DUKE            3420020024                  Gas           Gov. Aggregation
COH             194403520022                Gas           Gov. Aggregation   DUKE            6310020224                  Gas           Gov. Aggregation
COH             195136870025                Gas           Gov. Aggregation   DUKE            6370020122                  Gas           Gov. Aggregation
COH             196430860031                Gas           Gov. Aggregation   DUKE            0830391702                  Gas           Gov. Aggregation
COH             196734020033                Gas           Gov. Aggregation   DEO             1421004319923               Gas           Gov. Aggregation
COH             201753870028                Gas           Gov. Aggregation   COH             144902380024                Gas           Gov. Aggregation
COH             201847650034                Gas           Gov. Aggregation   COH             145242010011                Gas           Gov. Aggregation
COH             203231790038                Gas           Gov. Aggregation   COH             195444070011                Gas           Gov. Aggregation
COH             203392000015                Gas           Gov. Aggregation   COH             111123800017                Gas           Gov. Aggregation
COH             204174210049                Gas           Gov. Aggregation   COH             207541110020                Gas           Gov. Aggregation
COH             206051380015                Gas           Gov. Aggregation   DEO             2500008659624               Gas           Gov. Aggregation
COH             206162420011                Gas           Gov. Aggregation   VEDO            4003248682486693            Gas           Gov. Aggregation
COH             206194280023                Gas           Gov. Aggregation   VEDO            4021169292391788            Gas           Gov. Aggregation
COH             206275630018                Gas           Gov. Aggregation   DEO             1500011269878               Gas           Gov. Aggregation
COH             206318950019                Gas           Gov. Aggregation   VEDO            4002596092254567            Gas           Gov. Aggregation
COH             206482270015                Gas           Gov. Aggregation   DEO             4442003318098               Gas           Gov. Aggregation
COH             206955200016                Gas           Gov. Aggregation   VEDO            4004409822445491            Gas           Gov. Aggregation
COH             206986200011                Gas           Gov. Aggregation   COH             151493240050                Gas           Gov. Aggregation
COH             207022320017                Gas           Gov. Aggregation   COH             192875250022                Gas           Gov. Aggregation
COH             207130630013                Gas           Gov. Aggregation   COH             115067440037                Gas           Gov. Aggregation
COH             207146580020                Gas           Gov. Aggregation   COH             190550240015                Gas           Gov. Aggregation
COH             207157340018                Gas           Gov. Aggregation   COH             122413250079                Gas           Gov. Aggregation
COH             207271380018                Gas           Gov. Aggregation   COH             121984260015                Gas           Gov. Aggregation
COH             207723780015                Gas           Gov. Aggregation   COH             137772500024                Gas           Gov. Aggregation
COH             207728920015                Gas           Gov. Aggregation   COH             122477880019                Gas           Gov. Aggregation
COH             207744230016                Gas           Gov. Aggregation   COH             124052080051                Gas           Gov. Aggregation
COH             207749900015                Gas           Gov. Aggregation   COH             137109340014                Gas           Gov. Aggregation
COH             207779740016                Gas           Gov. Aggregation   COH             166348710015                Gas           Gov. Aggregation
COH             207790700010                Gas           Gov. Aggregation   COH             168719020011                Gas           Gov. Aggregation
COH             208389820015                Gas           Gov. Aggregation   COH             160174990012                Gas           Gov. Aggregation
COH             208415880016                Gas           Gov. Aggregation   COH             169792870018                Gas           Gov. Aggregation
COH             208488720016                Gas           Gov. Aggregation   COH             150139720023                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             208519490018                Gas           Gov. Aggregation   COH             159246730052                Gas           Gov. Aggregation
COH             208532680010                Gas           Gov. Aggregation   COH             159306210017                Gas           Gov. Aggregation
COH             208558310013                Gas           Gov. Aggregation   COH             159476960011                Gas           Gov. Aggregation
COH             208806190012                Gas           Gov. Aggregation   COH             151349011534                Gas           Gov. Aggregation
COH             208853040014                Gas           Gov. Aggregation   COH             151349011954                Gas           Gov. Aggregation
COH             208886880019                Gas           Gov. Aggregation   COH             151349012248                Gas           Gov. Aggregation
COH             208927020011                Gas           Gov. Aggregation   COH             190566850014                Gas           Gov. Aggregation
COH             208948220015                Gas           Gov. Aggregation   COH             152900880023                Gas           Gov. Aggregation
COH             208958120024                Gas           Gov. Aggregation   COH             191759300019                Gas           Gov. Aggregation
COH             208991640016                Gas           Gov. Aggregation   COH             111058610016                Gas           Gov. Aggregation
COH             208997530017                Gas           Gov. Aggregation   COH             154981860025                Gas           Gov. Aggregation
COH             209026290014                Gas           Gov. Aggregation   COH             186637850019                Gas           Gov. Aggregation
COH             209353240011                Gas           Gov. Aggregation   COH             152917670031                Gas           Gov. Aggregation
COH             209368450016                Gas           Gov. Aggregation   COH             165644920014                Gas           Gov. Aggregation
COH             209368460014                Gas           Gov. Aggregation   COH             190917410011                Gas           Gov. Aggregation
COH             209403160011                Gas           Gov. Aggregation   COH             191505200017                Gas           Gov. Aggregation
COH             209433170016                Gas           Gov. Aggregation   COH             191943860011                Gas           Gov. Aggregation
COH             209446850016                Gas           Gov. Aggregation   COH             114694020019                Gas           Gov. Aggregation
COH             209490690017                Gas           Gov. Aggregation   COH             152213630120                Gas           Gov. Aggregation
COH             209686170011                Gas           Gov. Aggregation   COH             135049000015                Gas           Gov. Aggregation
COH             209799970014                Gas           Gov. Aggregation   COH             117358210018                Gas           Gov. Aggregation
COH             209840920015                Gas           Gov. Aggregation   COH             117363380012                Gas           Gov. Aggregation
COH             209855730014                Gas           Gov. Aggregation   COH             173148060026                Gas           Gov. Aggregation
COH             209867350019                Gas           Gov. Aggregation   COH             115844350010                Gas           Gov. Aggregation
COH             209867360017                Gas           Gov. Aggregation   COH             190821330011                Gas           Gov. Aggregation
COH             209881020018                Gas           Gov. Aggregation   COH             191567100018                Gas           Gov. Aggregation
COH             196609450010                Gas           Gov. Aggregation   COH             145697120033                Gas           Gov. Aggregation
COH             208796390013                Gas           Gov. Aggregation   COH             145717320019                Gas           Gov. Aggregation
COH             208795830049                Gas           Gov. Aggregation   COH             111263340036                Gas           Gov. Aggregation
COH             208116800016                Gas           Gov. Aggregation   COH             111265210020                Gas           Gov. Aggregation
COH             206737300017                Gas           Gov. Aggregation   COH             147852000018                Gas           Gov. Aggregation
COH             160145720126                Gas           Gov. Aggregation   COH             169047020024                Gas           Gov. Aggregation
COH             208194810010                Gas           Gov. Aggregation   COH             169892060034                Gas           Gov. Aggregation
COH             207744210029                Gas           Gov. Aggregation   COH             171176880018                Gas           Gov. Aggregation
COH             147321610122                Gas           Gov. Aggregation   COH             177455030018                Gas           Gov. Aggregation
COH             207792000013                Gas           Gov. Aggregation   DEO             7421005911794               Gas           Gov. Aggregation
COH             207811180014                Gas           Gov. Aggregation   COH             175623010017                Gas           Gov. Aggregation
COH             208625040017                Gas           Gov. Aggregation   DEO             4180017178651               Gas           Gov. Aggregation
COH             208265710010                Gas           Gov. Aggregation   COH             176623780015                Gas           Gov. Aggregation
COH             191018560024                Gas           Gov. Aggregation   COH             185027140012                Gas           Gov. Aggregation
COH             207993200015                Gas           Gov. Aggregation   COH             211134300018                Gas           Gov. Aggregation
COH             187400650020                Gas           Gov. Aggregation   DEO             8180011939100               Gas           Gov. Aggregation
COH             204534460230                Gas           Gov. Aggregation   COH             190305610016                Gas           Gov. Aggregation
COH             188685350066                Gas           Gov. Aggregation   COH             190466550019                Gas           Gov. Aggregation
COH             200734310035                Gas           Gov. Aggregation   COH             146292470064                Gas           Gov. Aggregation
COH             185233610034                Gas           Gov. Aggregation   COH             159327840011                Gas           Gov. Aggregation
COH             117538650676                Gas           Gov. Aggregation   COH             169083580012                Gas           Gov. Aggregation
COH             209508920019                Gas           Gov. Aggregation   COH             174063520037                Gas           Gov. Aggregation
COH             193037110035                Gas           Gov. Aggregation   COH             175144760016                Gas           Gov. Aggregation
COH             195028090028                Gas           Gov. Aggregation   COH             175727890013                Gas           Gov. Aggregation
COH             207388600014                Gas           Gov. Aggregation   COH             118249190102                Gas           Gov. Aggregation
COH             209655810011                Gas           Gov. Aggregation   COH             114701980020                Gas           Gov. Aggregation
COH             208625930010                Gas           Gov. Aggregation   COH             148975420028                Gas           Gov. Aggregation
COH             200075090030                Gas           Gov. Aggregation   COH             185664850013                Gas           Gov. Aggregation
COH             207491130014                Gas           Gov. Aggregation   COH             192591080011                Gas           Gov. Aggregation
COH             176175510067                Gas           Gov. Aggregation   COH             111288460011                Gas           Gov. Aggregation
COH             207484600010                Gas           Gov. Aggregation   COH             111291690016                Gas           Gov. Aggregation
COH             177609390034                Gas           Gov. Aggregation   COH             111292070014                Gas           Gov. Aggregation
COH             209505920015                Gas           Gov. Aggregation   COH             111292710028                Gas           Gov. Aggregation
COH             202707570027                Gas           Gov. Aggregation   COH             115016220012                Gas           Gov. Aggregation
COH             209621030016                Gas           Gov. Aggregation   COH             166402950055                Gas           Gov. Aggregation
COH             201516030035                Gas           Gov. Aggregation   COH             164721580077                Gas           Gov. Aggregation
COH             207613560014                Gas           Gov. Aggregation   COH             189771550024                Gas           Gov. Aggregation
COH             206867270019                Gas           Gov. Aggregation   COH             115007360012                Gas           Gov. Aggregation
COH             200937680056                Gas           Gov. Aggregation   COH             176338180016                Gas           Gov. Aggregation
COH             151738480032                Gas           Gov. Aggregation   COH             162260440012                Gas           Gov. Aggregation
COH             187404090066                Gas           Gov. Aggregation   COH             136603510020                Gas           Gov. Aggregation
COH             207399670017                Gas           Gov. Aggregation   COH             145108550021                Gas           Gov. Aggregation
COH             207307560013                Gas           Gov. Aggregation   COH             190496090031                Gas           Gov. Aggregation
COH             207570310018                Gas           Gov. Aggregation   COH             190613490037                Gas           Gov. Aggregation
COH             206445400015                Gas           Gov. Aggregation   COH             161363080020                Gas           Gov. Aggregation
COH             208767940018                Gas           Gov. Aggregation   COH             190941220010                Gas           Gov. Aggregation
COH             209191890019                Gas           Gov. Aggregation   COH             165952070010                Gas           Gov. Aggregation
COH             196215890059                Gas           Gov. Aggregation   COH             187305490017                Gas           Gov. Aggregation
COH             171429470017                Gas           Gov. Aggregation   COH             116280320048                Gas           Gov. Aggregation
COH             172504120019                Gas           Gov. Aggregation   COH             106929350137                Gas           Gov. Aggregation
COH             202431310017                Gas           Gov. Aggregation   COH             191645510016                Gas           Gov. Aggregation
COH             202454660016                Gas           Gov. Aggregation   COH             162577470024                Gas           Gov. Aggregation
COH             203009030010                Gas           Gov. Aggregation   COH             161196630038                Gas           Gov. Aggregation
COH             203009050016                Gas           Gov. Aggregation   COH             114947780013                Gas           Gov. Aggregation
COH             203021310015                Gas           Gov. Aggregation   COH             162091210037                Gas           Gov. Aggregation
COH             203031430019                Gas           Gov. Aggregation   COH             192027580011                Gas           Gov. Aggregation
COH             203040620010                Gas           Gov. Aggregation   COH             192492290017                Gas           Gov. Aggregation
COH             203068010010                Gas           Gov. Aggregation   COH             192400110017                Gas           Gov. Aggregation
COH             117256400112                Gas           Gov. Aggregation   COH             189788400020                Gas           Gov. Aggregation
DEO             6180016711017               Gas           Gov. Aggregation   COH             191404890017                Gas           Gov. Aggregation
COH             176297130103                Gas           Gov. Aggregation   COH             168673810022                Gas           Gov. Aggregation
COH             158412755417                Gas           Gov. Aggregation   COH             150457100038                Gas           Gov. Aggregation
COH             210595270010                Gas           Gov. Aggregation   COH             169629870022                Gas           Gov. Aggregation
COH             123813220012                Gas           Gov. Aggregation   COH             167188360027                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             196801770051                Gas           Gov. Aggregation   COH             165826790043                Gas           Gov. Aggregation
COH             185099530019                Gas           Gov. Aggregation   COH             191820220015                Gas           Gov. Aggregation
COH             146433200015                Gas           Gov. Aggregation   COH             166129100017                Gas           Gov. Aggregation
COH             207416400015                Gas           Gov. Aggregation   COH             165326670020                Gas           Gov. Aggregation
VEDO            4003134302309116            Gas           Gov. Aggregation   COH             170050300016                Gas           Gov. Aggregation
VEDO            4015154822485209            Gas           Gov. Aggregation   COH             171236160020                Gas           Gov. Aggregation
VEDO            4015350912527091            Gas           Gov. Aggregation   COH             191124970014                Gas           Gov. Aggregation
VEDO            4016048072361871            Gas           Gov. Aggregation   COH             155118840027                Gas           Gov. Aggregation
VEDO            4017043112364943            Gas           Gov. Aggregation   COH             187016190031                Gas           Gov. Aggregation
COH             149017300022                Gas           Gov. Aggregation   COH             162507890041                Gas           Gov. Aggregation
COH             156565030038                Gas           Gov. Aggregation   COH             191775780015                Gas           Gov. Aggregation
COH             162622170011                Gas           Gov. Aggregation   COH             163255260010                Gas           Gov. Aggregation
COH             163996990044                Gas           Gov. Aggregation   COH             176153040053                Gas           Gov. Aggregation
COH             165392670012                Gas           Gov. Aggregation   COH             190607650018                Gas           Gov. Aggregation
COH             119579440029                Gas           Gov. Aggregation   COH             190833220019                Gas           Gov. Aggregation
COH             132844770011                Gas           Gov. Aggregation   COH             117065070019                Gas           Gov. Aggregation
COH             132845000038                Gas           Gov. Aggregation   COH             192778610013                Gas           Gov. Aggregation
COH             146712780021                Gas           Gov. Aggregation   COH             192813600019                Gas           Gov. Aggregation
COH             146253790023                Gas           Gov. Aggregation   COH             112302620032                Gas           Gov. Aggregation
COH             148656260055                Gas           Gov. Aggregation   COH             172511340036                Gas           Gov. Aggregation
COH             152153920010                Gas           Gov. Aggregation   COH             112700900057                Gas           Gov. Aggregation
COH             159532970019                Gas           Gov. Aggregation   COH             192961870010                Gas           Gov. Aggregation
COH             194720960019                Gas           Gov. Aggregation   COH             112284940017                Gas           Gov. Aggregation
COH             166484720033                Gas           Gov. Aggregation   COH             112316580032                Gas           Gov. Aggregation
COH             115781740021                Gas           Gov. Aggregation   COH             112286210016                Gas           Gov. Aggregation
COH             115803770018                Gas           Gov. Aggregation   COH             175235020018                Gas           Gov. Aggregation
COH             172054870035                Gas           Gov. Aggregation   COH             137291350017                Gas           Gov. Aggregation
COH             209697960012                Gas           Gov. Aggregation   COH             175385840019                Gas           Gov. Aggregation
COH             204152130024                Gas           Gov. Aggregation   COH             175918710015                Gas           Gov. Aggregation
COH             207680150019                Gas           Gov. Aggregation   COH             191571230012                Gas           Gov. Aggregation
COH             134345140180                Gas           Gov. Aggregation   COH             112269700028                Gas           Gov. Aggregation
COH             200409760012                Gas           Gov. Aggregation   COH             149495660025                Gas           Gov. Aggregation
COH             199056830038                Gas           Gov. Aggregation   COH             160481840012                Gas           Gov. Aggregation
COH             209838290013                Gas           Gov. Aggregation   COH             137601710049                Gas           Gov. Aggregation
COH             110918400017                Gas           Gov. Aggregation   COH             161392260012                Gas           Gov. Aggregation
COH             110926840045                Gas           Gov. Aggregation   COH             112321730020                Gas           Gov. Aggregation
COH             210363680015                Gas           Gov. Aggregation   COH             112477580023                Gas           Gov. Aggregation
COH             209702390019                Gas           Gov. Aggregation   COH             187669430019                Gas           Gov. Aggregation
DEO             9500038692286               Gas           Gov. Aggregation   COH             172502420010                Gas           Gov. Aggregation
COH             120187610021                Gas           Gov. Aggregation   COH             133001770043                Gas           Gov. Aggregation
COH             114972550018                Gas           Gov. Aggregation   COH             112133170018                Gas           Gov. Aggregation
DEO             8120000183219               Gas           Gov. Aggregation   COH             160954160030                Gas           Gov. Aggregation
COH             206324350021                Gas           Gov. Aggregation   COH             159165890033                Gas           Gov. Aggregation
COH             199851350033                Gas           Gov. Aggregation   COH             164811850015                Gas           Gov. Aggregation
COH             207600910017                Gas           Gov. Aggregation   COH             112294940016                Gas           Gov. Aggregation
COH             205837050019                Gas           Gov. Aggregation   COH             159636020072                Gas           Gov. Aggregation
COH             208758550019                Gas           Gov. Aggregation   COH             136597340012                Gas           Gov. Aggregation
COH             203677690017                Gas           Gov. Aggregation   COH             189389440019                Gas           Gov. Aggregation
COH             203064130013                Gas           Gov. Aggregation   COH             112301390024                Gas           Gov. Aggregation
COH             208156650014                Gas           Gov. Aggregation   COH             112287480036                Gas           Gov. Aggregation
COH             203303700015                Gas           Gov. Aggregation   COH             126901560048                Gas           Gov. Aggregation
COH             121977330015                Gas           Gov. Aggregation   COH             170921730019                Gas           Gov. Aggregation
COH             193727760045                Gas           Gov. Aggregation   COH             186571650011                Gas           Gov. Aggregation
COH             201545800096                Gas           Gov. Aggregation   COH             185598530039                Gas           Gov. Aggregation
COH             206960930012                Gas           Gov. Aggregation   COH             144086840010                Gas           Gov. Aggregation
COH             203589310013                Gas           Gov. Aggregation   COH             190551790018                Gas           Gov. Aggregation
COH             205753330018                Gas           Gov. Aggregation   COH             170213500018                Gas           Gov. Aggregation
COH             203008980013                Gas           Gov. Aggregation   COH             177405670019                Gas           Gov. Aggregation
COH             169995210034                Gas           Gov. Aggregation   COH             156788530031                Gas           Gov. Aggregation
COH             207567550015                Gas           Gov. Aggregation   COH             146330520034                Gas           Gov. Aggregation
COH             190721660014                Gas           Gov. Aggregation   COH             112396480026                Gas           Gov. Aggregation
COH             203638680011                Gas           Gov. Aggregation   COH             171310830021                Gas           Gov. Aggregation
COH             207753040017                Gas           Gov. Aggregation   COH             140493140036                Gas           Gov. Aggregation
COH             205953120018                Gas           Gov. Aggregation   COH             190267930011                Gas           Gov. Aggregation
COH             194487640021                Gas           Gov. Aggregation   COH             131522940045                Gas           Gov. Aggregation
COH             207594180016                Gas           Gov. Aggregation   COH             164565070021                Gas           Gov. Aggregation
COH             113005490048                Gas           Gov. Aggregation   COH             190889200016                Gas           Gov. Aggregation
COH             198363500028                Gas           Gov. Aggregation   COH             112240570026                Gas           Gov. Aggregation
COH             208005880015                Gas           Gov. Aggregation   COH             161301760018                Gas           Gov. Aggregation
COH             207825880018                Gas           Gov. Aggregation   COH             112313280022                Gas           Gov. Aggregation
COH             208390690010                Gas           Gov. Aggregation   COH             130676160036                Gas           Gov. Aggregation
COH             188719160045                Gas           Gov. Aggregation   COH             159888750012                Gas           Gov. Aggregation
COH             206934470014                Gas           Gov. Aggregation   COH             145742320025                Gas           Gov. Aggregation
COH             198725060023                Gas           Gov. Aggregation   COH             113546200033                Gas           Gov. Aggregation
COH             194299010040                Gas           Gov. Aggregation   COH             112295220015                Gas           Gov. Aggregation
COH             158412754187                Gas           Gov. Aggregation   COH             155235010032                Gas           Gov. Aggregation
COH             158412754972                Gas           Gov. Aggregation   COH             209464700019                Gas           Gov. Aggregation
COH             196437940012                Gas           Gov. Aggregation   COH             210472070012                Gas           Gov. Aggregation
COH             200316620027                Gas           Gov. Aggregation   COH             199850360024                Gas           Gov. Aggregation
COH             202163870028                Gas           Gov. Aggregation   COH             203828920017                Gas           Gov. Aggregation
COH             202633620014                Gas           Gov. Aggregation   COH             174641190022                Gas           Gov. Aggregation
COH             204560980012                Gas           Gov. Aggregation   COH             210819660012                Gas           Gov. Aggregation
COH             193332910022                Gas           Gov. Aggregation   COH             202210560022                Gas           Gov. Aggregation
COH             203246240023                Gas           Gov. Aggregation   COH             144703520035                Gas           Gov. Aggregation
COH             208566970018                Gas           Gov. Aggregation   COH             208660710012                Gas           Gov. Aggregation
COH             205396950016                Gas           Gov. Aggregation   COH             134785660018                Gas           Gov. Aggregation
COH             207532930018                Gas           Gov. Aggregation   COH             210413940013                Gas           Gov. Aggregation
COH             207712810011                Gas           Gov. Aggregation   COH             167851080118                Gas           Gov. Aggregation
COH             208081870017                Gas           Gov. Aggregation   COH             208216730028                Gas           Gov. Aggregation
COH             206373080025                Gas           Gov. Aggregation   COH             209910300016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             197481210020                Gas           Gov. Aggregation   COH             200103650031                Gas           Gov. Aggregation
COH             202748570012                Gas           Gov. Aggregation   COH             209406170013                Gas           Gov. Aggregation
COH             208227210015                Gas           Gov. Aggregation   COH             204297910015                Gas           Gov. Aggregation
COH             205822740015                Gas           Gov. Aggregation   COH             198264800034                Gas           Gov. Aggregation
COH             207964850010                Gas           Gov. Aggregation   COH             209144030018                Gas           Gov. Aggregation
COH             202842650024                Gas           Gov. Aggregation   COH             210022310014                Gas           Gov. Aggregation
COH             207964860018                Gas           Gov. Aggregation   COH             210823680019                Gas           Gov. Aggregation
COH             208277650018                Gas           Gov. Aggregation   COH             209033930014                Gas           Gov. Aggregation
COH             203618910023                Gas           Gov. Aggregation   COH             200884250013                Gas           Gov. Aggregation
COH             197052970011                Gas           Gov. Aggregation   COH             185053770042                Gas           Gov. Aggregation
COH             186913000020                Gas           Gov. Aggregation   COH             211084700011                Gas           Gov. Aggregation
COH             203744730015                Gas           Gov. Aggregation   COH             165972290058                Gas           Gov. Aggregation
COH             168078140070                Gas           Gov. Aggregation   COH             210629110010                Gas           Gov. Aggregation
COH             195491720024                Gas           Gov. Aggregation   COH             125131950059                Gas           Gov. Aggregation
COH             202093170015                Gas           Gov. Aggregation   COH             211092360016                Gas           Gov. Aggregation
COH             207825890016                Gas           Gov. Aggregation   COH             207135570016                Gas           Gov. Aggregation
COH             208477740015                Gas           Gov. Aggregation   COH             207183000014                Gas           Gov. Aggregation
COH             207419730010                Gas           Gov. Aggregation   COH             209612030015                Gas           Gov. Aggregation
COH             121977520015                Gas           Gov. Aggregation   COH             148826800069                Gas           Gov. Aggregation
COH             188703960068                Gas           Gov. Aggregation   COH             162716150025                Gas           Gov. Aggregation
COH             166515350043                Gas           Gov. Aggregation   COH             207336000019                Gas           Gov. Aggregation
COH             172278910041                Gas           Gov. Aggregation   COH             209550550018                Gas           Gov. Aggregation
COH             208765600013                Gas           Gov. Aggregation   COH             208618620010                Gas           Gov. Aggregation
COH             207447720013                Gas           Gov. Aggregation   COH             208812870016                Gas           Gov. Aggregation
COH             121957900035                Gas           Gov. Aggregation   COH             210978520015                Gas           Gov. Aggregation
COH             206592960017                Gas           Gov. Aggregation   COH             210927360016                Gas           Gov. Aggregation
COH             203717240024                Gas           Gov. Aggregation   COH             210254540015                Gas           Gov. Aggregation
COH             197030900020                Gas           Gov. Aggregation   COH             187248280022                Gas           Gov. Aggregation
COH             196713170027                Gas           Gov. Aggregation   COH             168265730033                Gas           Gov. Aggregation
COH             197724700049                Gas           Gov. Aggregation   COH             187573400018                Gas           Gov. Aggregation
COH             194856320025                Gas           Gov. Aggregation   COH             160149530020                Gas           Gov. Aggregation
COH             204075690012                Gas           Gov. Aggregation   COH             210641120012                Gas           Gov. Aggregation
COH             208425820017                Gas           Gov. Aggregation   COH             210471840012                Gas           Gov. Aggregation
COH             114805130055                Gas           Gov. Aggregation   COH             210214220016                Gas           Gov. Aggregation
COH             208166490017                Gas           Gov. Aggregation   COH             211026410014                Gas           Gov. Aggregation
COH             208049800019                Gas           Gov. Aggregation   COH             193972380055                Gas           Gov. Aggregation
COH             198755550063                Gas           Gov. Aggregation   COH             188849980315                Gas           Gov. Aggregation
COH             206918250014                Gas           Gov. Aggregation   COH             188849980342                Gas           Gov. Aggregation
COH             208425830015                Gas           Gov. Aggregation   COH             210342300018                Gas           Gov. Aggregation
COH             207382170017                Gas           Gov. Aggregation   COH             210603790012                Gas           Gov. Aggregation
COH             206065350012                Gas           Gov. Aggregation   COH             207111450020                Gas           Gov. Aggregation
COH             188552520034                Gas           Gov. Aggregation   COH             126553860071                Gas           Gov. Aggregation
COH             207204570019                Gas           Gov. Aggregation   COH             202701690024                Gas           Gov. Aggregation
COH             208617400018                Gas           Gov. Aggregation   COH             209654090015                Gas           Gov. Aggregation
COH             186995540070                Gas           Gov. Aggregation   COH             209315980016                Gas           Gov. Aggregation
COH             203760470016                Gas           Gov. Aggregation   COH             210893680012                Gas           Gov. Aggregation
COH             192163570042                Gas           Gov. Aggregation   COH             124862300164                Gas           Gov. Aggregation
COH             207682800018                Gas           Gov. Aggregation   COH             208998430016                Gas           Gov. Aggregation
COH             160737550038                Gas           Gov. Aggregation   COH             209754410015                Gas           Gov. Aggregation
COH             208110340015                Gas           Gov. Aggregation   COH             210578300019                Gas           Gov. Aggregation
COH             170225330037                Gas           Gov. Aggregation   COH             163896970013                Gas           Gov. Aggregation
COH             202832080025                Gas           Gov. Aggregation   COH             206803120023                Gas           Gov. Aggregation
COH             201485340028                Gas           Gov. Aggregation   COH             204444820011                Gas           Gov. Aggregation
COH             171901680119                Gas           Gov. Aggregation   COH             168872450053                Gas           Gov. Aggregation
COH             208716610014                Gas           Gov. Aggregation   COH             202482890028                Gas           Gov. Aggregation
COH             205614530038                Gas           Gov. Aggregation   COH             204621170012                Gas           Gov. Aggregation
COH             207682840010                Gas           Gov. Aggregation   COH             210158960011                Gas           Gov. Aggregation
COH             205822750013                Gas           Gov. Aggregation   COH             208167880022                Gas           Gov. Aggregation
COH             164606690023                Gas           Gov. Aggregation   COH             204747990014                Gas           Gov. Aggregation
COH             205828890012                Gas           Gov. Aggregation   COH             208914870010                Gas           Gov. Aggregation
COH             205899740014                Gas           Gov. Aggregation   COH             209737210013                Gas           Gov. Aggregation
COH             204073130031                Gas           Gov. Aggregation   COH             208711970019                Gas           Gov. Aggregation
COH             203837640017                Gas           Gov. Aggregation   COH             188622070012                Gas           Gov. Aggregation
COH             207893630017                Gas           Gov. Aggregation   COH             190797760014                Gas           Gov. Aggregation
COH             142071640042                Gas           Gov. Aggregation   COH             190898090011                Gas           Gov. Aggregation
COH             199268170038                Gas           Gov. Aggregation   COH             190921740022                Gas           Gov. Aggregation
COH             203238690017                Gas           Gov. Aggregation   COH             192961000012                Gas           Gov. Aggregation
COH             203688420010                Gas           Gov. Aggregation   VEDO            4017727392269403            Gas           Gov. Aggregation
COH             163474990059                Gas           Gov. Aggregation   VEDO            4018439592630758            Gas           Gov. Aggregation
COH             202433640023                Gas           Gov. Aggregation   VEDO            4004161242247263            Gas           Gov. Aggregation
COH             207690010017                Gas           Gov. Aggregation   VEDO            4001717132167558            Gas           Gov. Aggregation
COH             162873470035                Gas           Gov. Aggregation   VEDO            4001777742173483            Gas           Gov. Aggregation
COH             201714830028                Gas           Gov. Aggregation   VEDO            4018585502131562            Gas           Gov. Aggregation
COH             204514880038                Gas           Gov. Aggregation   VEDO            4003704582368803            Gas           Gov. Aggregation
COH             206918370028                Gas           Gov. Aggregation   VEDO            4018682692628613            Gas           Gov. Aggregation
COH             190812690033                Gas           Gov. Aggregation   VEDO            4002137902208922            Gas           Gov. Aggregation
COH             202038120011                Gas           Gov. Aggregation   VEDO            4018728712182685            Gas           Gov. Aggregation
COH             168021220036                Gas           Gov. Aggregation   COH             175076040049                Gas           Gov. Aggregation
COH             193088640028                Gas           Gov. Aggregation   COH             193268830017                Gas           Gov. Aggregation
COH             203303750015                Gas           Gov. Aggregation   VEDO            4002054712426313            Gas           Gov. Aggregation
COH             207681630016                Gas           Gov. Aggregation   VEDO            4001458522142904            Gas           Gov. Aggregation
COH             175483940047                Gas           Gov. Aggregation   VEDO            4004640372470958            Gas           Gov. Aggregation
COH             172658660020                Gas           Gov. Aggregation   VEDO            4002413062236173            Gas           Gov. Aggregation
COH             174427460029                Gas           Gov. Aggregation   VEDO            4015791052184658            Gas           Gov. Aggregation
COH             202433800010                Gas           Gov. Aggregation   VEDO            4002510432145369            Gas           Gov. Aggregation
COH             154155220011                Gas           Gov. Aggregation   VEDO            4015313682213861            Gas           Gov. Aggregation
COH             203607420010                Gas           Gov. Aggregation   VEDO            4001227672121473            Gas           Gov. Aggregation
COH             194114290042                Gas           Gov. Aggregation   VEDO            4016786302160805            Gas           Gov. Aggregation
COH             153443700010                Gas           Gov. Aggregation   VEDO            4001714712308442            Gas           Gov. Aggregation
COH             191762780030                Gas           Gov. Aggregation   VEDO            4002629242257823            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             206673860016                Gas           Gov. Aggregation   VEDO            4002091592204403            Gas           Gov. Aggregation
COH             203642690010                Gas           Gov. Aggregation   VEDO            4018306682289612            Gas           Gov. Aggregation
COH             196299720021                Gas           Gov. Aggregation   VEDO            4003061832301634            Gas           Gov. Aggregation
COH             203278960016                Gas           Gov. Aggregation   VEDO            4002653882260274            Gas           Gov. Aggregation
COH             188441290029                Gas           Gov. Aggregation   VEDO            4001012942101312            Gas           Gov. Aggregation
COH             197497090023                Gas           Gov. Aggregation   VEDO            4004274252430555            Gas           Gov. Aggregation
COH             189431610049                Gas           Gov. Aggregation   VEDO            4004569482609431            Gas           Gov. Aggregation
COH             202965230013                Gas           Gov. Aggregation   VEDO            4003301422376194            Gas           Gov. Aggregation
COH             202965230031                Gas           Gov. Aggregation   VEDO            4004725542480263            Gas           Gov. Aggregation
COH             197317510024                Gas           Gov. Aggregation   VEDO            4002291542557163            Gas           Gov. Aggregation
COH             206828530016                Gas           Gov. Aggregation   VEDO            4016429922454111            Gas           Gov. Aggregation
COH             205838060015                Gas           Gov. Aggregation   VEDO            4004209702423539            Gas           Gov. Aggregation
COH             203386330019                Gas           Gov. Aggregation   VEDO            4002686652263533            Gas           Gov. Aggregation
COH             189000690028                Gas           Gov. Aggregation   VEDO            4003026362284589            Gas           Gov. Aggregation
COH             207616130018                Gas           Gov. Aggregation   VEDO            4004723272480019            Gas           Gov. Aggregation
COH             205273650028                Gas           Gov. Aggregation   VEDO            4017287652112745            Gas           Gov. Aggregation
COH             203080270010                Gas           Gov. Aggregation   VEDO            4004784902486818            Gas           Gov. Aggregation
COH             205646230016                Gas           Gov. Aggregation   VEDO            4001723412342517            Gas           Gov. Aggregation
COH             175321530054                Gas           Gov. Aggregation   VEDO            4004333252437059            Gas           Gov. Aggregation
COH             206897420014                Gas           Gov. Aggregation   VEDO            4015180032441159            Gas           Gov. Aggregation
COH             206191560011                Gas           Gov. Aggregation   VEDO            4002875002282498            Gas           Gov. Aggregation
COH             205605540017                Gas           Gov. Aggregation   VEDO            4005007852523705            Gas           Gov. Aggregation
COH             172775130023                Gas           Gov. Aggregation   VEDO            4004546172460469            Gas           Gov. Aggregation
COH             208732220012                Gas           Gov. Aggregation   VEDO            4001106382110118            Gas           Gov. Aggregation
COH             203636290026                Gas           Gov. Aggregation   VEDO            4002864572281494            Gas           Gov. Aggregation
COH             154509600029                Gas           Gov. Aggregation   VEDO            4018185132457539            Gas           Gov. Aggregation
COH             197844290015                Gas           Gov. Aggregation   VEDO            4002056462372672            Gas           Gov. Aggregation
COH             199013160039                Gas           Gov. Aggregation   VEDO            4004199732294321            Gas           Gov. Aggregation
COH             204054540017                Gas           Gov. Aggregation   VEDO            4003221112318105            Gas           Gov. Aggregation
COH             202894280014                Gas           Gov. Aggregation   VEDO            4003221112509799            Gas           Gov. Aggregation
COH             202942930014                Gas           Gov. Aggregation   VEDO            4018166582307715            Gas           Gov. Aggregation
COH             202982460019                Gas           Gov. Aggregation   VEDO            4004794602487828            Gas           Gov. Aggregation
COH             208425900010                Gas           Gov. Aggregation   VEDO            4003658012493564            Gas           Gov. Aggregation
COH             208746690015                Gas           Gov. Aggregation   VEDO            4003735372372181            Gas           Gov. Aggregation
COH             207792470015                Gas           Gov. Aggregation   VEDO            4003853952288499            Gas           Gov. Aggregation
COH             208272690010                Gas           Gov. Aggregation   VEDO            4015891742272873            Gas           Gov. Aggregation
COH             205883660014                Gas           Gov. Aggregation   VEDO            4001099232109412            Gas           Gov. Aggregation
COH             209908540011                Gas           Gov. Aggregation   VEDO            4016495192405463            Gas           Gov. Aggregation
COH             200451010029                Gas           Gov. Aggregation   VEDO            4017343892349065            Gas           Gov. Aggregation
COH             200561300034                Gas           Gov. Aggregation   VEDO            4004416292446177            Gas           Gov. Aggregation
COH             201772240020                Gas           Gov. Aggregation   VEDO            4003425512339505            Gas           Gov. Aggregation
COH             202305270013                Gas           Gov. Aggregation   VEDO            4018136272222496            Gas           Gov. Aggregation
COH             205709050010                Gas           Gov. Aggregation   VEDO            4017341822198279            Gas           Gov. Aggregation
COH             205828980013                Gas           Gov. Aggregation   VEDO            4003442322380539            Gas           Gov. Aggregation
COH             205898100038                Gas           Gov. Aggregation   VEDO            4002716432266537            Gas           Gov. Aggregation
COH             205939030026                Gas           Gov. Aggregation   COH             125712280012                Gas           Gov. Aggregation
COH             205953220017                Gas           Gov. Aggregation   COH             125720580021                Gas           Gov. Aggregation
COH             206042850015                Gas           Gov. Aggregation   COH             125729120029                Gas           Gov. Aggregation
COH             207679850015                Gas           Gov. Aggregation   COH             125734710015                Gas           Gov. Aggregation
COH             208469500012                Gas           Gov. Aggregation   COH             125894010023                Gas           Gov. Aggregation
COH             208478030012                Gas           Gov. Aggregation   COH             125895080036                Gas           Gov. Aggregation
COH             208547080015                Gas           Gov. Aggregation   COH             125896760013                Gas           Gov. Aggregation
COH             201084240065                Gas           Gov. Aggregation   COH             154209030025                Gas           Gov. Aggregation
COH             205822730017                Gas           Gov. Aggregation   COH             154344970031                Gas           Gov. Aggregation
COH             176519070060                Gas           Gov. Aggregation   COH             154697810019                Gas           Gov. Aggregation
COH             205857510029                Gas           Gov. Aggregation   COH             163284100030                Gas           Gov. Aggregation
COH             207476880019                Gas           Gov. Aggregation   COH             163978400036                Gas           Gov. Aggregation
COH             201919080013                Gas           Gov. Aggregation   COH             164031450022                Gas           Gov. Aggregation
COH             208196810016                Gas           Gov. Aggregation   COH             188364550028                Gas           Gov. Aggregation
COH             208039930013                Gas           Gov. Aggregation   COH             188421570013                Gas           Gov. Aggregation
COH             207675140012                Gas           Gov. Aggregation   COH             190127550017                Gas           Gov. Aggregation
COH             113423230582                Gas           Gov. Aggregation   COH             190141280014                Gas           Gov. Aggregation
COH             205873510730                Gas           Gov. Aggregation   COH             190251880015                Gas           Gov. Aggregation
COH             186774930138                Gas           Gov. Aggregation   COH             125766210022                Gas           Gov. Aggregation
COH             203671080035                Gas           Gov. Aggregation   COH             125774220087                Gas           Gov. Aggregation
COH             208355180011                Gas           Gov. Aggregation   COH             153485290082                Gas           Gov. Aggregation
COH             207394480017                Gas           Gov. Aggregation   COH             165420510096                Gas           Gov. Aggregation
COH             158412754123                Gas           Gov. Aggregation   COH             193429650013                Gas           Gov. Aggregation
COH             122002290027                Gas           Gov. Aggregation   COH             193451560015                Gas           Gov. Aggregation
COH             208423490011                Gas           Gov. Aggregation   COH             109274530037                Gas           Gov. Aggregation
COH             197522600039                Gas           Gov. Aggregation   COH             132178260020                Gas           Gov. Aggregation
COH             187083970018                Gas           Gov. Aggregation   COH             141506240026                Gas           Gov. Aggregation
COH             208528380012                Gas           Gov. Aggregation   COH             170694790029                Gas           Gov. Aggregation
COH             170242620058                Gas           Gov. Aggregation   COH             170934860015                Gas           Gov. Aggregation
COH             195902000059                Gas           Gov. Aggregation   COH             176526280016                Gas           Gov. Aggregation
COH             208234700017                Gas           Gov. Aggregation   COH             185910830023                Gas           Gov. Aggregation
COH             204825750027                Gas           Gov. Aggregation   COH             192561120015                Gas           Gov. Aggregation
COH             150474680184                Gas           Gov. Aggregation   COH             170663940031                Gas           Gov. Aggregation
COH             208401220013                Gas           Gov. Aggregation   COH             187973140033                Gas           Gov. Aggregation
COH             206230150013                Gas           Gov. Aggregation   COH             193539300031                Gas           Gov. Aggregation
COH             205314270011                Gas           Gov. Aggregation   COH             144348540099                Gas           Gov. Aggregation
COH             199401300036                Gas           Gov. Aggregation   COH             193837130017                Gas           Gov. Aggregation
COH             206290920015                Gas           Gov. Aggregation   COH             191654390013                Gas           Gov. Aggregation
COH             194058400039                Gas           Gov. Aggregation   COH             159919830018                Gas           Gov. Aggregation
COH             198178541497                Gas           Gov. Aggregation   COH             159998690030                Gas           Gov. Aggregation
COH             205646240014                Gas           Gov. Aggregation   COH             127026750025                Gas           Gov. Aggregation
COH             206090200010                Gas           Gov. Aggregation   COH             123759960175                Gas           Gov. Aggregation
COH             207616150014                Gas           Gov. Aggregation   COH             191763120018                Gas           Gov. Aggregation
COH             207863720011                Gas           Gov. Aggregation   COH             162378120010                Gas           Gov. Aggregation
COH             207893570010                Gas           Gov. Aggregation   COH             192714500010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             208030740011                Gas           Gov. Aggregation   COH             143062880022                Gas           Gov. Aggregation
COH             208779630018                Gas           Gov. Aggregation   COH             123814440023                Gas           Gov. Aggregation
COH             121975152668                Gas           Gov. Aggregation   COH             191529180012                Gas           Gov. Aggregation
COH             203757630019                Gas           Gov. Aggregation   COH             193093240012                Gas           Gov. Aggregation
COH             206214750020                Gas           Gov. Aggregation   COH             192330290019                Gas           Gov. Aggregation
COH             204248450024                Gas           Gov. Aggregation   COH             170198070013                Gas           Gov. Aggregation
COH             207333090017                Gas           Gov. Aggregation   COH             123847330045                Gas           Gov. Aggregation
COH             201545800078                Gas           Gov. Aggregation   COH             143504880113                Gas           Gov. Aggregation
COH             202055860029                Gas           Gov. Aggregation   COH             162350250011                Gas           Gov. Aggregation
COH             149719070747                Gas           Gov. Aggregation   COH             150624080029                Gas           Gov. Aggregation
COH             152197810093                Gas           Gov. Aggregation   COH             190534410022                Gas           Gov. Aggregation
COH             208355170013                Gas           Gov. Aggregation   COH             193053060014                Gas           Gov. Aggregation
COH             201805060045                Gas           Gov. Aggregation   COH             187770340013                Gas           Gov. Aggregation
COH             206290760019                Gas           Gov. Aggregation   COH             109940810017                Gas           Gov. Aggregation
COH             199097700020                Gas           Gov. Aggregation   COH             161770810014                Gas           Gov. Aggregation
COH             206090360026                Gas           Gov. Aggregation   COH             160523130011                Gas           Gov. Aggregation
COH             206867840019                Gas           Gov. Aggregation   COH             192069760015                Gas           Gov. Aggregation
COH             194690300058                Gas           Gov. Aggregation   COH             142809520015                Gas           Gov. Aggregation
COH             202183120023                Gas           Gov. Aggregation   COH             192791960012                Gas           Gov. Aggregation
COH             201565480038                Gas           Gov. Aggregation   COH             114702010076                Gas           Gov. Aggregation
COH             208355150017                Gas           Gov. Aggregation   COH             112216910016                Gas           Gov. Aggregation
COH             208489620015                Gas           Gov. Aggregation   COH             112216880013                Gas           Gov. Aggregation
COH             206472180015                Gas           Gov. Aggregation   COH             193840940010                Gas           Gov. Aggregation
COH             208566350018                Gas           Gov. Aggregation   COH             193934810018                Gas           Gov. Aggregation
COH             208308980012                Gas           Gov. Aggregation   COH             124407170022                Gas           Gov. Aggregation
COH             208634570017                Gas           Gov. Aggregation   COH             124464080012                Gas           Gov. Aggregation
COH             207915550016                Gas           Gov. Aggregation   COH             124464420010                Gas           Gov. Aggregation
COH             208417460010                Gas           Gov. Aggregation   COH             124464960026                Gas           Gov. Aggregation
COH             206413930011                Gas           Gov. Aggregation   COH             124465290016                Gas           Gov. Aggregation
COH             208403420017                Gas           Gov. Aggregation   COH             124437070011                Gas           Gov. Aggregation
COH             208455420018                Gas           Gov. Aggregation   COH             124437910023                Gas           Gov. Aggregation
COH             208490150011                Gas           Gov. Aggregation   COH             124449160017                Gas           Gov. Aggregation
COH             208490280014                Gas           Gov. Aggregation   COH             124460610027                Gas           Gov. Aggregation
COH             208490310017                Gas           Gov. Aggregation   COH             138145010016                Gas           Gov. Aggregation
COH             208490340011                Gas           Gov. Aggregation   COH             141217330039                Gas           Gov. Aggregation
COH             208490370015                Gas           Gov. Aggregation   COH             142451530012                Gas           Gov. Aggregation
COH             208676880014                Gas           Gov. Aggregation   COH             142586550013                Gas           Gov. Aggregation
COH             207407550013                Gas           Gov. Aggregation   COH             186072580014                Gas           Gov. Aggregation
COH             208560550018                Gas           Gov. Aggregation   COH             190278790036                Gas           Gov. Aggregation
COH             208278160028                Gas           Gov. Aggregation   COH             110943400014                Gas           Gov. Aggregation
COH             208288120016                Gas           Gov. Aggregation   COH             111104610017                Gas           Gov. Aggregation
COH             207034210033                Gas           Gov. Aggregation   COH             111112730024                Gas           Gov. Aggregation
COH             208023230013                Gas           Gov. Aggregation   COH             177179140011                Gas           Gov. Aggregation
COH             208238330017                Gas           Gov. Aggregation   COH             124269020018                Gas           Gov. Aggregation
COH             207869550015                Gas           Gov. Aggregation   COH             189928940010                Gas           Gov. Aggregation
COH             207950300014                Gas           Gov. Aggregation   COH             190098120056                Gas           Gov. Aggregation
COH             198087560031                Gas           Gov. Aggregation   COH             190927320019                Gas           Gov. Aggregation
COH             208475260010                Gas           Gov. Aggregation   COH             111155840012                Gas           Gov. Aggregation
COH             206319860016                Gas           Gov. Aggregation   COH             192373140010                Gas           Gov. Aggregation
COH             202924390016                Gas           Gov. Aggregation   COH             144916500010                Gas           Gov. Aggregation
COH             208438380013                Gas           Gov. Aggregation   COH             203568950022                Gas           Gov. Aggregation
COH             208461910012                Gas           Gov. Aggregation   COH             208809620015                Gas           Gov. Aggregation
COH             207945890012                Gas           Gov. Aggregation   COH             207827880023                Gas           Gov. Aggregation
COH             207737890013                Gas           Gov. Aggregation   COH             208702090013                Gas           Gov. Aggregation
COH             205709000010                Gas           Gov. Aggregation   COH             209442310017                Gas           Gov. Aggregation
COH             206320830019                Gas           Gov. Aggregation   COH             204249120021                Gas           Gov. Aggregation
COH             170868170020                Gas           Gov. Aggregation   COH             197173540042                Gas           Gov. Aggregation
COH             208798830016                Gas           Gov. Aggregation   COH             197396700028                Gas           Gov. Aggregation
COH             191139510028                Gas           Gov. Aggregation   COH             206880570018                Gas           Gov. Aggregation
COH             206042810013                Gas           Gov. Aggregation   COH             209041180015                Gas           Gov. Aggregation
COH             208099650016                Gas           Gov. Aggregation   COH             153416880029                Gas           Gov. Aggregation
COH             203505700017                Gas           Gov. Aggregation   COH             211026360015                Gas           Gov. Aggregation
COH             206204720018                Gas           Gov. Aggregation   COH             189409260022                Gas           Gov. Aggregation
COH             194548090018                Gas           Gov. Aggregation   COH             205740030027                Gas           Gov. Aggregation
COH             197609850042                Gas           Gov. Aggregation   COH             210889470015                Gas           Gov. Aggregation
COH             206766330029                Gas           Gov. Aggregation   COH             210018880014                Gas           Gov. Aggregation
COH             187258550088                Gas           Gov. Aggregation   COH             210018810018                Gas           Gov. Aggregation
COH             149549660593                Gas           Gov. Aggregation   COH             208707390010                Gas           Gov. Aggregation
COH             206695610012                Gas           Gov. Aggregation   COH             210592410016                Gas           Gov. Aggregation
COH             208425840013                Gas           Gov. Aggregation   COH             209017380014                Gas           Gov. Aggregation
COH             207358110010                Gas           Gov. Aggregation   COH             133200760043                Gas           Gov. Aggregation
COH             208377960011                Gas           Gov. Aggregation   COH             159555300066                Gas           Gov. Aggregation
COH             208477920017                Gas           Gov. Aggregation   COH             162506000021                Gas           Gov. Aggregation
COH             206065360010                Gas           Gov. Aggregation   COH             194132460020                Gas           Gov. Aggregation
COH             202336130017                Gas           Gov. Aggregation   COH             203418480028                Gas           Gov. Aggregation
COH             141335560022                Gas           Gov. Aggregation   COH             203884320024                Gas           Gov. Aggregation
COH             208758470016                Gas           Gov. Aggregation   COH             205587660021                Gas           Gov. Aggregation
COH             200410450050                Gas           Gov. Aggregation   COH             205673430026                Gas           Gov. Aggregation
COH             208683110010                Gas           Gov. Aggregation   COH             208958980015                Gas           Gov. Aggregation
COH             208132170015                Gas           Gov. Aggregation   COH             208998530015                Gas           Gov. Aggregation
COH             206651890016                Gas           Gov. Aggregation   COH             209027390011                Gas           Gov. Aggregation
COH             207939870019                Gas           Gov. Aggregation   COH             209229940017                Gas           Gov. Aggregation
COH             208701090015                Gas           Gov. Aggregation   COH             210927420013                Gas           Gov. Aggregation
COH             206450210014                Gas           Gov. Aggregation   COH             207556230015                Gas           Gov. Aggregation
COH             149549660664                Gas           Gov. Aggregation   COH             124444580019                Gas           Gov. Aggregation
COH             208417440014                Gas           Gov. Aggregation   COH             152862400025                Gas           Gov. Aggregation
COH             206411160017                Gas           Gov. Aggregation   COH             208088470017                Gas           Gov. Aggregation
COH             168157830040                Gas           Gov. Aggregation   COH             209181420018                Gas           Gov. Aggregation
COH             195299200021                Gas           Gov. Aggregation   COH             146190070091                Gas           Gov. Aggregation
COH             198879080033                Gas           Gov. Aggregation   COH             209859560012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             208441030019                Gas           Gov. Aggregation   COH             201431830019                Gas           Gov. Aggregation
COH             204285610031                Gas           Gov. Aggregation   COH             189888090015                Gas           Gov. Aggregation
COH             121990660036                Gas           Gov. Aggregation   COH             210695680012                Gas           Gov. Aggregation
COH             121990660018                Gas           Gov. Aggregation   COH             199308450024                Gas           Gov. Aggregation
COH             121990660027                Gas           Gov. Aggregation   COH             210701170014                Gas           Gov. Aggregation
COH             208074180017                Gas           Gov. Aggregation   COH             154345090034                Gas           Gov. Aggregation
COH             205943740028                Gas           Gov. Aggregation   COH             195300360201                Gas           Gov. Aggregation
COH             205943740019                Gas           Gov. Aggregation   COH             147581280033                Gas           Gov. Aggregation
COH             203415550010                Gas           Gov. Aggregation   COH             154742650123                Gas           Gov. Aggregation
COH             203415550038                Gas           Gov. Aggregation   COH             160619630031                Gas           Gov. Aggregation
COH             208778680010                Gas           Gov. Aggregation   COH             160838270042                Gas           Gov. Aggregation
COH             207239430015                Gas           Gov. Aggregation   COH             164639800020                Gas           Gov. Aggregation
COH             207530810035                Gas           Gov. Aggregation   COH             167303000035                Gas           Gov. Aggregation
COH             143689990012                Gas           Gov. Aggregation   COH             167425250044                Gas           Gov. Aggregation
COH             208485250011                Gas           Gov. Aggregation   COH             170762350026                Gas           Gov. Aggregation
COH             206255070018                Gas           Gov. Aggregation   COH             172113970038                Gas           Gov. Aggregation
COH             193731990066                Gas           Gov. Aggregation   COH             198633210026                Gas           Gov. Aggregation
COH             203037920014                Gas           Gov. Aggregation   COH             198770820028                Gas           Gov. Aggregation
COH             206603870011                Gas           Gov. Aggregation   COH             201386900039                Gas           Gov. Aggregation
COH             204020920018                Gas           Gov. Aggregation   COH             201864000034                Gas           Gov. Aggregation
COH             170505790064                Gas           Gov. Aggregation   COH             204108860024                Gas           Gov. Aggregation
COH             207825900013                Gas           Gov. Aggregation   COH             205739910025                Gas           Gov. Aggregation
COH             201048900026                Gas           Gov. Aggregation   COH             206508060022                Gas           Gov. Aggregation
COH             208798850012                Gas           Gov. Aggregation   COH             206593910024                Gas           Gov. Aggregation
COH             203779240015                Gas           Gov. Aggregation   COH             206736130042                Gas           Gov. Aggregation
COH             208659830010                Gas           Gov. Aggregation   COH             207219870015                Gas           Gov. Aggregation
COH             188954150049                Gas           Gov. Aggregation   COH             207308310013                Gas           Gov. Aggregation
COH             207313590014                Gas           Gov. Aggregation   COH             209173650017                Gas           Gov. Aggregation
COH             206342980012                Gas           Gov. Aggregation   COH             209413590010                Gas           Gov. Aggregation
COH             208293680018                Gas           Gov. Aggregation   COH             209464730013                Gas           Gov. Aggregation
COH             161152830056                Gas           Gov. Aggregation   COH             209468190019                Gas           Gov. Aggregation
COH             203536740014                Gas           Gov. Aggregation   COH             209584300019                Gas           Gov. Aggregation
COH             208707400017                Gas           Gov. Aggregation   COH             209940470018                Gas           Gov. Aggregation
COH             208475700017                Gas           Gov. Aggregation   COH             209962810010                Gas           Gov. Aggregation
COH             188886790022                Gas           Gov. Aggregation   COH             209998440013                Gas           Gov. Aggregation
COH             203596160010                Gas           Gov. Aggregation   COH             210040170016                Gas           Gov. Aggregation
COH             207023090014                Gas           Gov. Aggregation   COH             210048570016                Gas           Gov. Aggregation
COH             154738630055                Gas           Gov. Aggregation   COH             210092890016                Gas           Gov. Aggregation
COH             205343760017                Gas           Gov. Aggregation   COH             193793740013                Gas           Gov. Aggregation
COH             207940450014                Gas           Gov. Aggregation   COH             133646070017                Gas           Gov. Aggregation
COH             204165920021                Gas           Gov. Aggregation   COH             134600850018                Gas           Gov. Aggregation
COH             197686400035                Gas           Gov. Aggregation   COH             156320130017                Gas           Gov. Aggregation
COH             206290990020                Gas           Gov. Aggregation   COH             156412050073                Gas           Gov. Aggregation
COH             208377980017                Gas           Gov. Aggregation   COH             120169690014                Gas           Gov. Aggregation
COH             202495880041                Gas           Gov. Aggregation   COH             120170380016                Gas           Gov. Aggregation
COH             208468440017                Gas           Gov. Aggregation   COH             167845930014                Gas           Gov. Aggregation
COH             207925360015                Gas           Gov. Aggregation   COH             124207760040                Gas           Gov. Aggregation
COH             208477870018                Gas           Gov. Aggregation   COH             191716050012                Gas           Gov. Aggregation
COH             208484410019                Gas           Gov. Aggregation   COH             192204190017                Gas           Gov. Aggregation
COH             199984310030                Gas           Gov. Aggregation   COH             192243840018                Gas           Gov. Aggregation
COH             206090310017                Gas           Gov. Aggregation   COH             188181980017                Gas           Gov. Aggregation
COH             143330440052                Gas           Gov. Aggregation   COH             188190160010                Gas           Gov. Aggregation
COH             205935060019                Gas           Gov. Aggregation   COH             192869050018                Gas           Gov. Aggregation
COH             207934330012                Gas           Gov. Aggregation   COH             152817680022                Gas           Gov. Aggregation
COH             160605330079                Gas           Gov. Aggregation   COH             152880050021                Gas           Gov. Aggregation
COH             142418620031                Gas           Gov. Aggregation   COH             151349012006                Gas           Gov. Aggregation
COH             206664160012                Gas           Gov. Aggregation   COH             151349012319                Gas           Gov. Aggregation
COH             207789840014                Gas           Gov. Aggregation   COH             158985770013                Gas           Gov. Aggregation
COH             165324280035                Gas           Gov. Aggregation   COH             159041320025                Gas           Gov. Aggregation
COH             208674300019                Gas           Gov. Aggregation   COH             159143740021                Gas           Gov. Aggregation
COH             208081890013                Gas           Gov. Aggregation   COH             115793860049                Gas           Gov. Aggregation
COH             203650150016                Gas           Gov. Aggregation   COH             185499150011                Gas           Gov. Aggregation
COH             206401370014                Gas           Gov. Aggregation   COH             189421330030                Gas           Gov. Aggregation
COH             139672160071                Gas           Gov. Aggregation   COH             192767710015                Gas           Gov. Aggregation
COH             170663740060                Gas           Gov. Aggregation   COH             193350390015                Gas           Gov. Aggregation
COH             206373020018                Gas           Gov. Aggregation   COH             138565800010                Gas           Gov. Aggregation
COH             208506640013                Gas           Gov. Aggregation   COH             154336020019                Gas           Gov. Aggregation
COH             203618930010                Gas           Gov. Aggregation   COH             157269690073                Gas           Gov. Aggregation
COH             207853680011                Gas           Gov. Aggregation   COH             176503880018                Gas           Gov. Aggregation
COH             205517540014                Gas           Gov. Aggregation   COH             165137480012                Gas           Gov. Aggregation
COH             206879570011                Gas           Gov. Aggregation   COH             111339110015                Gas           Gov. Aggregation
COH             208657210014                Gas           Gov. Aggregation   COH             189926110018                Gas           Gov. Aggregation
COH             205343770015                Gas           Gov. Aggregation   COH             156962970020                Gas           Gov. Aggregation
COH             157502940065                Gas           Gov. Aggregation   VEDO            4018084342284663            Gas           Gov. Aggregation
COH             144727080056                Gas           Gov. Aggregation   VEDO            4018109152231112            Gas           Gov. Aggregation
COH             206439030025                Gas           Gov. Aggregation   VEDO            4015424862418737            Gas           Gov. Aggregation
COH             148181560068                Gas           Gov. Aggregation   VEDO            4001214022502120            Gas           Gov. Aggregation
COH             153669990030                Gas           Gov. Aggregation   VEDO            4018752552197730            Gas           Gov. Aggregation
COH             198790770054                Gas           Gov. Aggregation   VEDO            4004939672164279            Gas           Gov. Aggregation
COH             203005570051                Gas           Gov. Aggregation   VEDO            4017529702568526            Gas           Gov. Aggregation
COH             204025020017                Gas           Gov. Aggregation   VEDO            4016980542254519            Gas           Gov. Aggregation
COH             202584070015                Gas           Gov. Aggregation   COH             169122600013                Gas           Gov. Aggregation
COH             208543960018                Gas           Gov. Aggregation   COH             111146340016                Gas           Gov. Aggregation
COH             208475210010                Gas           Gov. Aggregation   COH             175869780016                Gas           Gov. Aggregation
COH             198559410031                Gas           Gov. Aggregation   COH             174795300014                Gas           Gov. Aggregation
COH             195588960074                Gas           Gov. Aggregation   COH             185892790013                Gas           Gov. Aggregation
COH             204051040018                Gas           Gov. Aggregation   COH             185436780011                Gas           Gov. Aggregation
COH             202984260017                Gas           Gov. Aggregation   COH             133042130014                Gas           Gov. Aggregation
COH             208701070019                Gas           Gov. Aggregation   COH             111146360021                Gas           Gov. Aggregation
COH             208441070011                Gas           Gov. Aggregation   COH             173856110015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             208007590012                Gas           Gov. Aggregation   COH             144634650017                Gas           Gov. Aggregation
COH             208332760017                Gas           Gov. Aggregation   COH             152142630032                Gas           Gov. Aggregation
COH             208360360012                Gas           Gov. Aggregation   COH             171752840023                Gas           Gov. Aggregation
COH             208469400013                Gas           Gov. Aggregation   COH             156015520021                Gas           Gov. Aggregation
COH             208469400022                Gas           Gov. Aggregation   COH             173708020017                Gas           Gov. Aggregation
COH             208081020015                Gas           Gov. Aggregation   COH             160705510024                Gas           Gov. Aggregation
COH             202989110045                Gas           Gov. Aggregation   COH             177816460012                Gas           Gov. Aggregation
COH             204065140018                Gas           Gov. Aggregation   COH             130934400019                Gas           Gov. Aggregation
COH             206058360024                Gas           Gov. Aggregation   COH             192256500012                Gas           Gov. Aggregation
COH             206413780013                Gas           Gov. Aggregation   COH             192133180010                Gas           Gov. Aggregation
COH             207428890018                Gas           Gov. Aggregation   COH             165922420019                Gas           Gov. Aggregation
COH             202369420017                Gas           Gov. Aggregation   COH             185553500011                Gas           Gov. Aggregation
COH             208132230012                Gas           Gov. Aggregation   COH             192911680015                Gas           Gov. Aggregation
COH             208489580014                Gas           Gov. Aggregation   COH             188529560017                Gas           Gov. Aggregation
COH             206340470013                Gas           Gov. Aggregation   COH             187982970012                Gas           Gov. Aggregation
COH             206472210018                Gas           Gov. Aggregation   COH             188540820018                Gas           Gov. Aggregation
COH             208238240016                Gas           Gov. Aggregation   COH             190543170015                Gas           Gov. Aggregation
COH             208484590012                Gas           Gov. Aggregation   COH             191995290012                Gas           Gov. Aggregation
COH             199933810023                Gas           Gov. Aggregation   COH             191709870015                Gas           Gov. Aggregation
COH             206472200010                Gas           Gov. Aggregation   COH             190946480016                Gas           Gov. Aggregation
COH             208716500017                Gas           Gov. Aggregation   COH             111146000026                Gas           Gov. Aggregation
COH             149147020026                Gas           Gov. Aggregation   COH             191139010014                Gas           Gov. Aggregation
COH             206930590017                Gas           Gov. Aggregation   COH             191350860018                Gas           Gov. Aggregation
COH             208441240015                Gas           Gov. Aggregation   COH             192519420011                Gas           Gov. Aggregation
COH             208674270016                Gas           Gov. Aggregation   COH             192974830011                Gas           Gov. Aggregation
COH             206460450013                Gas           Gov. Aggregation   COH             193230590017                Gas           Gov. Aggregation
COH             208196990019                Gas           Gov. Aggregation   COH             171157290021                Gas           Gov. Aggregation
COH             208475920011                Gas           Gov. Aggregation   COH             193038880014                Gas           Gov. Aggregation
COH             207246370031                Gas           Gov. Aggregation   COH             173230900015                Gas           Gov. Aggregation
COH             207837270011                Gas           Gov. Aggregation   COH             192663860014                Gas           Gov. Aggregation
COH             201971920061                Gas           Gov. Aggregation   COH             111179910017                Gas           Gov. Aggregation
COH             208422930010                Gas           Gov. Aggregation   VEDO            4003991872399784            Gas           Gov. Aggregation
COH             205883620012                Gas           Gov. Aggregation   VEDO            4018666882284760            Gas           Gov. Aggregation
COH             207611010013                Gas           Gov. Aggregation   VEDO            4015654102482949            Gas           Gov. Aggregation
COH             208500270013                Gas           Gov. Aggregation   VEDO            4003044712299868            Gas           Gov. Aggregation
COH             122000850032                Gas           Gov. Aggregation   VEDO            4001053872598663            Gas           Gov. Aggregation
COH             208276180019                Gas           Gov. Aggregation   VEDO            4004114992391457            Gas           Gov. Aggregation
COH             207964930013                Gas           Gov. Aggregation   VEDO            4018037262428228            Gas           Gov. Aggregation
COH             208416340017                Gas           Gov. Aggregation   VEDO            4018941062487417            Gas           Gov. Aggregation
COH             201076290035                Gas           Gov. Aggregation   VEDO            4002184042213541            Gas           Gov. Aggregation
COH             208332710017                Gas           Gov. Aggregation   VEDO            4004847532414464            Gas           Gov. Aggregation
COH             203840480032                Gas           Gov. Aggregation   VEDO            4018531032472635            Gas           Gov. Aggregation
COH             208566990014                Gas           Gov. Aggregation   VEDO            4002896252284617            Gas           Gov. Aggregation
COH             206793390011                Gas           Gov. Aggregation   VEDO            4001314332129538            Gas           Gov. Aggregation
COH             203871970016                Gas           Gov. Aggregation   VEDO            4003809652380100            Gas           Gov. Aggregation
COH             208108890015                Gas           Gov. Aggregation   VEDO            4017833402226521            Gas           Gov. Aggregation
COH             207915560014                Gas           Gov. Aggregation   VEDO            4003970152286548            Gas           Gov. Aggregation
COH             204421170025                Gas           Gov. Aggregation   VEDO            4015647112172089            Gas           Gov. Aggregation
COH             204073020034                Gas           Gov. Aggregation   VEDO            4018566222151528            Gas           Gov. Aggregation
COH             208560510016                Gas           Gov. Aggregation   VEDO            4003446122271847            Gas           Gov. Aggregation
COH             205360550015                Gas           Gov. Aggregation   VEDO            4017985082447322            Gas           Gov. Aggregation
COH             206822360014                Gas           Gov. Aggregation   VEDO            4004507352161612            Gas           Gov. Aggregation
COH             195406790029                Gas           Gov. Aggregation   VEDO            4002002532195618            Gas           Gov. Aggregation
COH             207915530010                Gas           Gov. Aggregation   VEDO            4004724002619952            Gas           Gov. Aggregation
COH             207914250011                Gas           Gov. Aggregation   VEDO            4004007482401439            Gas           Gov. Aggregation
COH             205386700019                Gas           Gov. Aggregation   VEDO            4015322142103247            Gas           Gov. Aggregation
COH             208486720010                Gas           Gov. Aggregation   VEDO            4002465942241447            Gas           Gov. Aggregation
COH             208475780011                Gas           Gov. Aggregation   VEDO            4003700052368350            Gas           Gov. Aggregation
COH             206369480011                Gas           Gov. Aggregation   VEDO            4002994682294740            Gas           Gov. Aggregation
COH             158412754007                Gas           Gov. Aggregation   VEDO            4018825012556321            Gas           Gov. Aggregation
COH             206291510028                Gas           Gov. Aggregation   VEDO            4001101982189795            Gas           Gov. Aggregation
COH             208469360012                Gas           Gov. Aggregation   VEDO            4001088182316012            Gas           Gov. Aggregation
COH             206383230013                Gas           Gov. Aggregation   VEDO            4005123342504577            Gas           Gov. Aggregation
COH             207941580015                Gas           Gov. Aggregation   VEDO            4001429392140196            Gas           Gov. Aggregation
COH             208333260010                Gas           Gov. Aggregation   VEDO            4002202222215336            Gas           Gov. Aggregation
COH             189009130027                Gas           Gov. Aggregation   VEDO            4003864172419501            Gas           Gov. Aggregation
COH             208460040017                Gas           Gov. Aggregation   VEDO            4002535002248454            Gas           Gov. Aggregation
COH             208266360012                Gas           Gov. Aggregation   VEDO            4018936322391035            Gas           Gov. Aggregation
COH             208333250012                Gas           Gov. Aggregation   VEDO            4016347142314663            Gas           Gov. Aggregation
COH             202282040039                Gas           Gov. Aggregation   VEDO            4002279562223067            Gas           Gov. Aggregation
COH             203087660032                Gas           Gov. Aggregation   VEDO            4017512012274183            Gas           Gov. Aggregation
COH             206015640016                Gas           Gov. Aggregation   VEDO            4002098012205014            Gas           Gov. Aggregation
COH             202674570019                Gas           Gov. Aggregation   VEDO            4018626162363445            Gas           Gov. Aggregation
COH             195890830034                Gas           Gov. Aggregation   VEDO            4015670632136451            Gas           Gov. Aggregation
COH             206698440012                Gas           Gov. Aggregation   VEDO            4010089272203959            Gas           Gov. Aggregation
COH             208594030016                Gas           Gov. Aggregation   VEDO            4017431842503739            Gas           Gov. Aggregation
COH             208746680017                Gas           Gov. Aggregation   VEDO            4018646552159328            Gas           Gov. Aggregation
COH             207920170015                Gas           Gov. Aggregation   VEDO            4001671592163254            Gas           Gov. Aggregation
COH             207930440017                Gas           Gov. Aggregation   COH             138097480020                Gas           Gov. Aggregation
COH             208132370013                Gas           Gov. Aggregation   COH             118204450030                Gas           Gov. Aggregation
COH             207823570017                Gas           Gov. Aggregation   COH             163601650013                Gas           Gov. Aggregation
COH             208238370019                Gas           Gov. Aggregation   COH             159364240019                Gas           Gov. Aggregation
COH             189414620089                Gas           Gov. Aggregation   COH             154127510028                Gas           Gov. Aggregation
COH             208099660014                Gas           Gov. Aggregation   COH             160125130015                Gas           Gov. Aggregation
COH             207068620018                Gas           Gov. Aggregation   COH             163690240012                Gas           Gov. Aggregation
COH             208258360019                Gas           Gov. Aggregation   COH             157142660022                Gas           Gov. Aggregation
COH             208478000018                Gas           Gov. Aggregation   COH             168801620010                Gas           Gov. Aggregation
COH             208617560015                Gas           Gov. Aggregation   COH             169087290015                Gas           Gov. Aggregation
COH             203874870011                Gas           Gov. Aggregation   COH             169114780013                Gas           Gov. Aggregation
COH             208227320012                Gas           Gov. Aggregation   COH             174151010037                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             208468160016                Gas           Gov. Aggregation   COH             177305560014                Gas           Gov. Aggregation
COH             208489840019                Gas           Gov. Aggregation   COH             177486790014                Gas           Gov. Aggregation
COH             208547020017                Gas           Gov. Aggregation   COH             111175340015                Gas           Gov. Aggregation
COH             208659970011                Gas           Gov. Aggregation   COH             111143280015                Gas           Gov. Aggregation
COH             202934560019                Gas           Gov. Aggregation   COH             111144500016                Gas           Gov. Aggregation
COH             208485540010                Gas           Gov. Aggregation   COH             142385790019                Gas           Gov. Aggregation
COH             205204240029                Gas           Gov. Aggregation   COH             111060970016                Gas           Gov. Aggregation
COH             207863780019                Gas           Gov. Aggregation   COH             151208170058                Gas           Gov. Aggregation
COH             208497490016                Gas           Gov. Aggregation   COH             145689020013                Gas           Gov. Aggregation
COH             208049090019                Gas           Gov. Aggregation   COH             170677450017                Gas           Gov. Aggregation
VEDO            4004980972241133            Gas           Gov. Aggregation   COH             189346170034                Gas           Gov. Aggregation
VEDO            4020279652431765            Gas           Gov. Aggregation   COH             192691450011                Gas           Gov. Aggregation
VEDO            4002553092486995            Gas           Gov. Aggregation   COH             111145160016                Gas           Gov. Aggregation
VEDO            4002875752282568            Gas           Gov. Aggregation   COH             164023180017                Gas           Gov. Aggregation
VEDO            4001750572227081            Gas           Gov. Aggregation   COH             164971530014                Gas           Gov. Aggregation
VEDO            4016797782439780            Gas           Gov. Aggregation   COH             111185750018                Gas           Gov. Aggregation
VEDO            4021637142253898            Gas           Gov. Aggregation   COH             130490380016                Gas           Gov. Aggregation
VEDO            4004755082483501            Gas           Gov. Aggregation   COH             163199830010                Gas           Gov. Aggregation
VEDO            4002644832452993            Gas           Gov. Aggregation   COH             164777590032                Gas           Gov. Aggregation
VEDO            4021190162151360            Gas           Gov. Aggregation   COH             192942780019                Gas           Gov. Aggregation
VEDO            4004228372111583            Gas           Gov. Aggregation   COH             194573570014                Gas           Gov. Aggregation
VEDO            4018246322381869            Gas           Gov. Aggregation   COH             194664400016                Gas           Gov. Aggregation
VEDO            4003402862337519            Gas           Gov. Aggregation   COH             194664560013                Gas           Gov. Aggregation
VEDO            4021076152239206            Gas           Gov. Aggregation   VEDO            4018247402242179            Gas           Gov. Aggregation
VEDO            4021259372347246            Gas           Gov. Aggregation   COH             141088690011                Gas           Gov. Aggregation
VEDO            4002557422440861            Gas           Gov. Aggregation   COH             193785540012                Gas           Gov. Aggregation
VEDO            4001657262526173            Gas           Gov. Aggregation   COH             175024660039                Gas           Gov. Aggregation
VEDO            4001657262496934            Gas           Gov. Aggregation   COH             192654380014                Gas           Gov. Aggregation
VEDO            4018446622537310            Gas           Gov. Aggregation   COH             194000760017                Gas           Gov. Aggregation
VEDO            4015289072537205            Gas           Gov. Aggregation   COH             158438670013                Gas           Gov. Aggregation
VEDO            4020912262537198            Gas           Gov. Aggregation   COH             121730000089                Gas           Gov. Aggregation
VEDO            4020852722421576            Gas           Gov. Aggregation   COH             160823520031                Gas           Gov. Aggregation
VEDO            4019499442469003            Gas           Gov. Aggregation   COH             163634970044                Gas           Gov. Aggregation
VEDO            4003374242537196            Gas           Gov. Aggregation   COH             176555110038                Gas           Gov. Aggregation
COH             207925470012                Gas           Gov. Aggregation   COH             194710980016                Gas           Gov. Aggregation
COH             208333610016                Gas           Gov. Aggregation   VEDO            4019058402297197            Gas           Gov. Aggregation
COH             208390910013                Gas           Gov. Aggregation   VEDO            4016846392421837            Gas           Gov. Aggregation
COH             208426010015                Gas           Gov. Aggregation   COH             111327010011                Gas           Gov. Aggregation
COH             208375710017                Gas           Gov. Aggregation   COH             142872730027                Gas           Gov. Aggregation
COH             208277770013                Gas           Gov. Aggregation   COH             153911510017                Gas           Gov. Aggregation
COH             208473840012                Gas           Gov. Aggregation   COH             167152320011                Gas           Gov. Aggregation
COH             207934380012                Gas           Gov. Aggregation   COH             192190180010                Gas           Gov. Aggregation
COH             208478240018                Gas           Gov. Aggregation   COH             194901810016                Gas           Gov. Aggregation
COH             201111580010                Gas           Gov. Aggregation   COH             151522560023                Gas           Gov. Aggregation
COH             207261430036                Gas           Gov. Aggregation   COH             194860240014                Gas           Gov. Aggregation
COH             208359650014                Gas           Gov. Aggregation   COH             168540330024                Gas           Gov. Aggregation
COH             207938810013                Gas           Gov. Aggregation   COH             194475010019                Gas           Gov. Aggregation
COH             207938830019                Gas           Gov. Aggregation   COH             121939270027                Gas           Gov. Aggregation
COH             208461920010                Gas           Gov. Aggregation   COH             112935190069                Gas           Gov. Aggregation
COH             208478110015                Gas           Gov. Aggregation   COH             169342220017                Gas           Gov. Aggregation
COH             202082890017                Gas           Gov. Aggregation   COH             194767160019                Gas           Gov. Aggregation
COH             168801690025                Gas           Gov. Aggregation   COH             186150770036                Gas           Gov. Aggregation
COH             204379460034                Gas           Gov. Aggregation   COH             171363960032                Gas           Gov. Aggregation
COH             208049830013                Gas           Gov. Aggregation   COH             193007030017                Gas           Gov. Aggregation
COH             202356710022                Gas           Gov. Aggregation   COH             169371550044                Gas           Gov. Aggregation
COH             206290700011                Gas           Gov. Aggregation   COH             189389460024                Gas           Gov. Aggregation
COH             196071160558                Gas           Gov. Aggregation   COH             188391310030                Gas           Gov. Aggregation
COH             160175090028                Gas           Gov. Aggregation   COH             192916770016                Gas           Gov. Aggregation
COH             207814690011                Gas           Gov. Aggregation   COH             195061520018                Gas           Gov. Aggregation
COH             203966820016                Gas           Gov. Aggregation   COH             195162820011                Gas           Gov. Aggregation
COH             130915440039                Gas           Gov. Aggregation   VEDO            4019087952391853            Gas           Gov. Aggregation
COH             207825920019                Gas           Gov. Aggregation   COH             195155930013                Gas           Gov. Aggregation
COH             173099350048                Gas           Gov. Aggregation   COH             189911810021                Gas           Gov. Aggregation
COH             197284900041                Gas           Gov. Aggregation   COH             110959850026                Gas           Gov. Aggregation
COH             208048120014                Gas           Gov. Aggregation   COH             169867390010                Gas           Gov. Aggregation
COH             206090190013                Gas           Gov. Aggregation   COH             188218470033                Gas           Gov. Aggregation
COH             208626510016                Gas           Gov. Aggregation   COH             194951500016                Gas           Gov. Aggregation
COH             208355260014                Gas           Gov. Aggregation   COH             136943400014                Gas           Gov. Aggregation
COH             207887450018                Gas           Gov. Aggregation   COH             193567390016                Gas           Gov. Aggregation
COH             208388210015                Gas           Gov. Aggregation   COH             131658990011                Gas           Gov. Aggregation
COH             206449930016                Gas           Gov. Aggregation   COH             172814600011                Gas           Gov. Aggregation
COH             203999650022                Gas           Gov. Aggregation   COH             191863550016                Gas           Gov. Aggregation
COH             208778540019                Gas           Gov. Aggregation   COH             193531870010                Gas           Gov. Aggregation
COH             205931270031                Gas           Gov. Aggregation   COH             193205110029                Gas           Gov. Aggregation
COH             206117420016                Gas           Gov. Aggregation   COH             192797650015                Gas           Gov. Aggregation
COH             206460350014                Gas           Gov. Aggregation   COH             145021240039                Gas           Gov. Aggregation
COH             208387310016                Gas           Gov. Aggregation   COH             173876640021                Gas           Gov. Aggregation
COH             206986680011                Gas           Gov. Aggregation   COH             193425160014                Gas           Gov. Aggregation
COH             198851160025                Gas           Gov. Aggregation   COH             194780480014                Gas           Gov. Aggregation
COH             203874910012                Gas           Gov. Aggregation   COH             193017090014                Gas           Gov. Aggregation
COH             205380480018                Gas           Gov. Aggregation   COH             159386970065                Gas           Gov. Aggregation
COH             199929850024                Gas           Gov. Aggregation   COH             194746760017                Gas           Gov. Aggregation
COH             203394610022                Gas           Gov. Aggregation   COH             167044960025                Gas           Gov. Aggregation
COH             207089210010                Gas           Gov. Aggregation   COH             194298620017                Gas           Gov. Aggregation
COH             208205810015                Gas           Gov. Aggregation   COH             163194720022                Gas           Gov. Aggregation
COH             208328270019                Gas           Gov. Aggregation   COH             194827140015                Gas           Gov. Aggregation
COH             121975152775                Gas           Gov. Aggregation   COH             193017150020                Gas           Gov. Aggregation
COH             169123760054                Gas           Gov. Aggregation   COH             162627830021                Gas           Gov. Aggregation
COH             171613400065                Gas           Gov. Aggregation   COH             169313360055                Gas           Gov. Aggregation
COH             173101630060                Gas           Gov. Aggregation   COH             175064860033                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             191364310078                Gas           Gov. Aggregation   COH             154953130027                Gas           Gov. Aggregation
COH             197625390045                Gas           Gov. Aggregation   COH             193836180019                Gas           Gov. Aggregation
COH             207640670014                Gas           Gov. Aggregation   COH             195226050017                Gas           Gov. Aggregation
COH             208081910018                Gas           Gov. Aggregation   COH             195254600012                Gas           Gov. Aggregation
COH             208423770012                Gas           Gov. Aggregation   COH             124313990029                Gas           Gov. Aggregation
COH             208701130016                Gas           Gov. Aggregation   COH             137961750049                Gas           Gov. Aggregation
COH             208108560014                Gas           Gov. Aggregation   COH             149935780035                Gas           Gov. Aggregation
COH             170562240032                Gas           Gov. Aggregation   COH             165361900054                Gas           Gov. Aggregation
COH             121975152560                Gas           Gov. Aggregation   COH             166112860022                Gas           Gov. Aggregation
COH             172680620021                Gas           Gov. Aggregation   COH             171887170029                Gas           Gov. Aggregation
COH             174569940055                Gas           Gov. Aggregation   COH             171590760024                Gas           Gov. Aggregation
COH             185733500055                Gas           Gov. Aggregation   COH             139687970025                Gas           Gov. Aggregation
COH             190476830046                Gas           Gov. Aggregation   COH             169043600011                Gas           Gov. Aggregation
COH             193115140042                Gas           Gov. Aggregation   COH             192647000018                Gas           Gov. Aggregation
COH             196401370062                Gas           Gov. Aggregation   COH             177787410015                Gas           Gov. Aggregation
COH             200658680030                Gas           Gov. Aggregation   COH             177704220019                Gas           Gov. Aggregation
COH             206775200018                Gas           Gov. Aggregation   COH             177624800026                Gas           Gov. Aggregation
COH             207872080017                Gas           Gov. Aggregation   COH             177479910013                Gas           Gov. Aggregation
COH             208132480010                Gas           Gov. Aggregation   COH             170536540016                Gas           Gov. Aggregation
COH             208567050019                Gas           Gov. Aggregation   COH             170875830026                Gas           Gov. Aggregation
COH             208590350017                Gas           Gov. Aggregation   COH             171280060028                Gas           Gov. Aggregation
COH             208732200016                Gas           Gov. Aggregation   COH             171484250017                Gas           Gov. Aggregation
COH             187314500186                Gas           Gov. Aggregation   COH             191434180013                Gas           Gov. Aggregation
COH             208378100019                Gas           Gov. Aggregation   COH             191281690011                Gas           Gov. Aggregation
COH             206256740033                Gas           Gov. Aggregation   COH             191264240011                Gas           Gov. Aggregation
COH             208574060012                Gas           Gov. Aggregation   COH             154797340016                Gas           Gov. Aggregation
COH             206291180028                Gas           Gov. Aggregation   COH             154936720010                Gas           Gov. Aggregation
COH             207999700018                Gas           Gov. Aggregation   COH             154944940017                Gas           Gov. Aggregation
COH             208333440012                Gas           Gov. Aggregation   COH             155137560017                Gas           Gov. Aggregation
COH             208333620014                Gas           Gov. Aggregation   COH             155161470024                Gas           Gov. Aggregation
COH             208333630012                Gas           Gov. Aggregation   COH             155171650025                Gas           Gov. Aggregation
COH             208333680012                Gas           Gov. Aggregation   COH             163298970011                Gas           Gov. Aggregation
COH             208478220012                Gas           Gov. Aggregation   COH             163372490032                Gas           Gov. Aggregation
COH             208489960014                Gas           Gov. Aggregation   COH             163475960017                Gas           Gov. Aggregation
COH             208333400010                Gas           Gov. Aggregation   COH             163490860025                Gas           Gov. Aggregation
COH             206307090022                Gas           Gov. Aggregation   COH             163580720014                Gas           Gov. Aggregation
COH             208333380015                Gas           Gov. Aggregation   COH             163738140057                Gas           Gov. Aggregation
COH             206002720016                Gas           Gov. Aggregation   COH             168220940015                Gas           Gov. Aggregation
DEO             7500016278541               Gas           Gov. Aggregation   COH             168344060027                Gas           Gov. Aggregation
COH             207841130011                Gas           Gov. Aggregation   COH             168379190027                Gas           Gov. Aggregation
COH             208132500015                Gas           Gov. Aggregation   COH             168400330011                Gas           Gov. Aggregation
COH             208513020018                Gas           Gov. Aggregation   COH             168541430012                Gas           Gov. Aggregation
COH             206360260015                Gas           Gov. Aggregation   COH             168559720014                Gas           Gov. Aggregation
COH             206269130016                Gas           Gov. Aggregation   COH             185832440012                Gas           Gov. Aggregation
COH             204607760027                Gas           Gov. Aggregation   COH             185864080011                Gas           Gov. Aggregation
COH             205496800015                Gas           Gov. Aggregation   COH             185925010015                Gas           Gov. Aggregation
COH             208312230010                Gas           Gov. Aggregation   COH             186116200019                Gas           Gov. Aggregation
COH             208520410011                Gas           Gov. Aggregation   COH             186122100017                Gas           Gov. Aggregation
COH             199312340037                Gas           Gov. Aggregation   COH             186600910031                Gas           Gov. Aggregation
COH             204503940029                Gas           Gov. Aggregation   COH             186643420016                Gas           Gov. Aggregation
COH             208547060019                Gas           Gov. Aggregation   COH             186703310011                Gas           Gov. Aggregation
COH             149150446007                Gas           Gov. Aggregation   COH             186762180015                Gas           Gov. Aggregation
COH             205504790019                Gas           Gov. Aggregation   COH             189126650011                Gas           Gov. Aggregation
COH             206673920022                Gas           Gov. Aggregation   COH             189141720014                Gas           Gov. Aggregation
COH             203628700026                Gas           Gov. Aggregation   COH             189141840019                Gas           Gov. Aggregation
COH             198404210030                Gas           Gov. Aggregation   COH             189206780014                Gas           Gov. Aggregation
COH             186387730051                Gas           Gov. Aggregation   COH             194517800013                Gas           Gov. Aggregation
COH             208696310011                Gas           Gov. Aggregation   COH             154839440015                Gas           Gov. Aggregation
COH             191781360029                Gas           Gov. Aggregation   COH             156048450018                Gas           Gov. Aggregation
COH             206188070011                Gas           Gov. Aggregation   COH             156132140014                Gas           Gov. Aggregation
COH             203744800010                Gas           Gov. Aggregation   COH             156254580014                Gas           Gov. Aggregation
COH             205917000019                Gas           Gov. Aggregation   COH             156370320012                Gas           Gov. Aggregation
COH             163981010013                Gas           Gov. Aggregation   COH             193874840010                Gas           Gov. Aggregation
COH             173930090030                Gas           Gov. Aggregation   COH             194037540016                Gas           Gov. Aggregation
COH             202993810012                Gas           Gov. Aggregation   COH             194074420013                Gas           Gov. Aggregation
COH             198449900031                Gas           Gov. Aggregation   COH             124309890010                Gas           Gov. Aggregation
COH             203094610019                Gas           Gov. Aggregation   COH             124310060011                Gas           Gov. Aggregation
COH             123798480021                Gas           Gov. Aggregation   COH             124310560016                Gas           Gov. Aggregation
COH             199851630025                Gas           Gov. Aggregation   COH             124310600017                Gas           Gov. Aggregation
COH             198841230049                Gas           Gov. Aggregation   COH             124310710014                Gas           Gov. Aggregation
COH             206134140019                Gas           Gov. Aggregation   COH             124310850015                Gas           Gov. Aggregation
COH             194525820012                Gas           Gov. Aggregation   COH             124310890017                Gas           Gov. Aggregation
COH             192195070031                Gas           Gov. Aggregation   COH             124311130014                Gas           Gov. Aggregation
COH             208547140012                Gas           Gov. Aggregation   COH             124522210010                Gas           Gov. Aggregation
COH             208574110011                Gas           Gov. Aggregation   COH             124525450023                Gas           Gov. Aggregation
COH             157665550036                Gas           Gov. Aggregation   COH             124528790053                Gas           Gov. Aggregation
COH             208165110018                Gas           Gov. Aggregation   COH             124531690011                Gas           Gov. Aggregation
COH             205302000012                Gas           Gov. Aggregation   COH             191738760017                Gas           Gov. Aggregation
COH             207567570011                Gas           Gov. Aggregation   COH             148166060010                Gas           Gov. Aggregation
COH             123763960014                Gas           Gov. Aggregation   COH             172344940017                Gas           Gov. Aggregation
COH             208421580016                Gas           Gov. Aggregation   COH             139126140018                Gas           Gov. Aggregation
COH             202266770012                Gas           Gov. Aggregation   COH             185388050017                Gas           Gov. Aggregation
COH             202483190014                Gas           Gov. Aggregation   COH             164340370042                Gas           Gov. Aggregation
COH             167297560024                Gas           Gov. Aggregation   COH             125139120020                Gas           Gov. Aggregation
COH             205984050018                Gas           Gov. Aggregation   COH             170717390014                Gas           Gov. Aggregation
COH             208775460012                Gas           Gov. Aggregation   COH             131719790013                Gas           Gov. Aggregation
COH             158238200024                Gas           Gov. Aggregation   COH             154625350017                Gas           Gov. Aggregation
COH             197693790020                Gas           Gov. Aggregation   COH             124341680025                Gas           Gov. Aggregation
COH             206658360013                Gas           Gov. Aggregation   COH             154435370016                Gas           Gov. Aggregation
COH             165556850016                Gas           Gov. Aggregation   COH             163704050011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             207718670019                Gas           Gov. Aggregation   COH             124328170020                Gas           Gov. Aggregation
COH             210374550019                Gas           Gov. Aggregation   COH             189905950016                Gas           Gov. Aggregation
COH             207979610019                Gas           Gov. Aggregation   COH             162401810014                Gas           Gov. Aggregation
COH             120158740016                Gas           Gov. Aggregation   COH             172850780018                Gas           Gov. Aggregation
COH             190890930029                Gas           Gov. Aggregation   COH             172959110027                Gas           Gov. Aggregation
COH             117072250025                Gas           Gov. Aggregation   COH             173133710011                Gas           Gov. Aggregation
COH             146938080020                Gas           Gov. Aggregation   COH             173184680011                Gas           Gov. Aggregation
COH             151516030018                Gas           Gov. Aggregation   COH             173435760011                Gas           Gov. Aggregation
COH             151530870076                Gas           Gov. Aggregation   COH             175184520012                Gas           Gov. Aggregation
COH             156910060039                Gas           Gov. Aggregation   COH             175446010031                Gas           Gov. Aggregation
COH             166308270012                Gas           Gov. Aggregation   COH             175645250011                Gas           Gov. Aggregation
COH             208426100016                Gas           Gov. Aggregation   COH             176546780019                Gas           Gov. Aggregation
COH             206253810016                Gas           Gov. Aggregation   COH             176674780018                Gas           Gov. Aggregation
COH             166323000785                Gas           Gov. Aggregation   COH             176772100012                Gas           Gov. Aggregation
COH             166323000794                Gas           Gov. Aggregation   COH             176938660022                Gas           Gov. Aggregation
COH             206734340015                Gas           Gov. Aggregation   COH             176950740010                Gas           Gov. Aggregation
COH             206734340033                Gas           Gov. Aggregation   COH             190301010010                Gas           Gov. Aggregation
COH             207940670018                Gas           Gov. Aggregation   COH             190479170012                Gas           Gov. Aggregation
COH             206242230011                Gas           Gov. Aggregation   COH             190490260019                Gas           Gov. Aggregation
COH             123849410017                Gas           Gov. Aggregation   COH             190543890014                Gas           Gov. Aggregation
COH             207440140019                Gas           Gov. Aggregation   COH             190609400025                Gas           Gov. Aggregation
COH             208403430015                Gas           Gov. Aggregation   COH             192875630013                Gas           Gov. Aggregation
COH             206841120032                Gas           Gov. Aggregation   COH             192931720014                Gas           Gov. Aggregation
COH             206841120041                Gas           Gov. Aggregation   COH             193030010012                Gas           Gov. Aggregation
COH             206132920046                Gas           Gov. Aggregation   COH             193046420013                Gas           Gov. Aggregation
COH             162193830059                Gas           Gov. Aggregation   COH             194644110019                Gas           Gov. Aggregation
COH             205123460034                Gas           Gov. Aggregation   COH             194738740018                Gas           Gov. Aggregation
COH             199578470029                Gas           Gov. Aggregation   COH             194765540013                Gas           Gov. Aggregation
COH             192959890057                Gas           Gov. Aggregation   COH             194772640017                Gas           Gov. Aggregation
COH             186522500042                Gas           Gov. Aggregation   COH             150787090014                Gas           Gov. Aggregation
COH             205621670016                Gas           Gov. Aggregation   COH             151047020015                Gas           Gov. Aggregation
COH             205754840019                Gas           Gov. Aggregation   COH             158228940011                Gas           Gov. Aggregation
COH             192400340117                Gas           Gov. Aggregation   COH             160389460018                Gas           Gov. Aggregation
COH             202902320025                Gas           Gov. Aggregation   COH             161199740011                Gas           Gov. Aggregation
COH             157443180052                Gas           Gov. Aggregation   COH             124377420015                Gas           Gov. Aggregation
COH             206833710017                Gas           Gov. Aggregation   COH             124377440011                Gas           Gov. Aggregation
COH             194196270053                Gas           Gov. Aggregation   DUKE            3520009129                  Gas           Gov. Aggregation
COH             157219790086                Gas           Gov. Aggregation   COH             177166470082                Gas           Gov. Aggregation
COH             192448190057                Gas           Gov. Aggregation   COH             188358430044                Gas           Gov. Aggregation
COH             206544930014                Gas           Gov. Aggregation   COH             195610000012                Gas           Gov. Aggregation
COH             208185700012                Gas           Gov. Aggregation   DEO             0500036506901               Gas           Gov. Aggregation
COH             207837680015                Gas           Gov. Aggregation   DEO             0500039231721               Gas           Gov. Aggregation
COH             200804420033                Gas           Gov. Aggregation   DEO             0500045490776               Gas           Gov. Aggregation
COH             143845970229                Gas           Gov. Aggregation   DEO             0500048874938               Gas           Gov. Aggregation
COH             196629960020                Gas           Gov. Aggregation   DEO             1421705780987               Gas           Gov. Aggregation
COH             198560420027                Gas           Gov. Aggregation   DEO             1421705857364               Gas           Gov. Aggregation
COH             206770980015                Gas           Gov. Aggregation   DEO             1442003108432               Gas           Gov. Aggregation
COH             193453340035                Gas           Gov. Aggregation   DEO             2500026399742               Gas           Gov. Aggregation
COH             204965390125                Gas           Gov. Aggregation   DEO             2500028030663               Gas           Gov. Aggregation
COH             202326270019                Gas           Gov. Aggregation   DEO             2500030336585               Gas           Gov. Aggregation
COH             123893970035                Gas           Gov. Aggregation   DEO             2500035415880               Gas           Gov. Aggregation
COH             202032730033                Gas           Gov. Aggregation   DEO             4421605287171               Gas           Gov. Aggregation
COH             192881030034                Gas           Gov. Aggregation   DEO             4421605775080               Gas           Gov. Aggregation
COH             199409410037                Gas           Gov. Aggregation   DEO             4421805471976               Gas           Gov. Aggregation
COH             123813640041                Gas           Gov. Aggregation   DEO             4500008566648               Gas           Gov. Aggregation
COH             204965270022                Gas           Gov. Aggregation   DEO             4500047031352               Gas           Gov. Aggregation
COH             202025860022                Gas           Gov. Aggregation   DEO             4500055047339               Gas           Gov. Aggregation
COH             197798930028                Gas           Gov. Aggregation   COH             194856240013                Gas           Gov. Aggregation
COH             167418700035                Gas           Gov. Aggregation   COH             195388600019                Gas           Gov. Aggregation
COH             206843410019                Gas           Gov. Aggregation   COH             194970970018                Gas           Gov. Aggregation
COH             146393740072                Gas           Gov. Aggregation   COH             164764220036                Gas           Gov. Aggregation
COH             198018930047                Gas           Gov. Aggregation   COH             121945360025                Gas           Gov. Aggregation
COH             164828030432                Gas           Gov. Aggregation   COH             145996930011                Gas           Gov. Aggregation
COH             155703890044                Gas           Gov. Aggregation   COH             194753590018                Gas           Gov. Aggregation
COH             189774170037                Gas           Gov. Aggregation   COH             193778120015                Gas           Gov. Aggregation
COH             200992930011                Gas           Gov. Aggregation   COH             195036420012                Gas           Gov. Aggregation
COH             204505300010                Gas           Gov. Aggregation   COH             123833470018                Gas           Gov. Aggregation
COH             194623090116                Gas           Gov. Aggregation   COH             194195230017                Gas           Gov. Aggregation
COH             194623090125                Gas           Gov. Aggregation   COH             194582970039                Gas           Gov. Aggregation
COH             158385000105                Gas           Gov. Aggregation   VEDO            4001788242394678            Gas           Gov. Aggregation
COH             208040120010                Gas           Gov. Aggregation   VEDO            4002213492497224            Gas           Gov. Aggregation
COH             208099930017                Gas           Gov. Aggregation   VEDO            4015007812186603            Gas           Gov. Aggregation
COH             208325420022                Gas           Gov. Aggregation   VEDO            4015737942448980            Gas           Gov. Aggregation
COH             207908440014                Gas           Gov. Aggregation   VEDO            4015742912270964            Gas           Gov. Aggregation
COH             201360720013                Gas           Gov. Aggregation   VEDO            4015757322226248            Gas           Gov. Aggregation
COH             123885400013                Gas           Gov. Aggregation   VEDO            4015784752250132            Gas           Gov. Aggregation
COH             207946730013                Gas           Gov. Aggregation   COH             175562290037                Gas           Gov. Aggregation
COH             204929740010                Gas           Gov. Aggregation   COH             195634260018                Gas           Gov. Aggregation
COH             202822150030                Gas           Gov. Aggregation   COH             195220140010                Gas           Gov. Aggregation
COH             205002570019                Gas           Gov. Aggregation   COH             193665250017                Gas           Gov. Aggregation
COH             185867250037                Gas           Gov. Aggregation   COH             194228360019                Gas           Gov. Aggregation
COH             169173810049                Gas           Gov. Aggregation   COH             193898880012                Gas           Gov. Aggregation
COH             207641390011                Gas           Gov. Aggregation   COH             191448510032                Gas           Gov. Aggregation
COH             208110460010                Gas           Gov. Aggregation   VEDO            4010105092456487            Gas           Gov. Aggregation
COH             188472330034                Gas           Gov. Aggregation   VEDO            4017001782284425            Gas           Gov. Aggregation
COH             202967840020                Gas           Gov. Aggregation   COH             136971410031                Gas           Gov. Aggregation
COH             205540360013                Gas           Gov. Aggregation   COH             172977840017                Gas           Gov. Aggregation
COH             208081310014                Gas           Gov. Aggregation   COH             160225440018                Gas           Gov. Aggregation
COH             167584130089                Gas           Gov. Aggregation   COH             192349500015                Gas           Gov. Aggregation
COH             208478310013                Gas           Gov. Aggregation   COH             144439010042                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             171247230022                Gas           Gov. Aggregation   COH             144963830012                Gas           Gov. Aggregation
COH             205851520010                Gas           Gov. Aggregation   COH             155424020039                Gas           Gov. Aggregation
COH             205611330018                Gas           Gov. Aggregation   DEO             0500048771299               Gas           Gov. Aggregation
COH             206115670018                Gas           Gov. Aggregation   DEO             0500049789169               Gas           Gov. Aggregation
COH             152320210014                Gas           Gov. Aggregation   DEO             4421701198996               Gas           Gov. Aggregation
COH             206291820014                Gas           Gov. Aggregation   DEO             4500013629777               Gas           Gov. Aggregation
COH             207103800014                Gas           Gov. Aggregation   DEO             4500051604457               Gas           Gov. Aggregation
COH             204866080013                Gas           Gov. Aggregation   DEO             4500052116269               Gas           Gov. Aggregation
COH             207371860015                Gas           Gov. Aggregation   DEO             7500061126300               Gas           Gov. Aggregation
COH             207665040014                Gas           Gov. Aggregation   DEO             7500062411560               Gas           Gov. Aggregation
COH             123847440015                Gas           Gov. Aggregation   DEO             9500048005954               Gas           Gov. Aggregation
COH             125844300027                Gas           Gov. Aggregation   DEO             6500010504831               Gas           Gov. Aggregation
COH             202869660017                Gas           Gov. Aggregation   DEO             8500055584343               Gas           Gov. Aggregation
COH             204570730013                Gas           Gov. Aggregation   DEO             9500060510106               Gas           Gov. Aggregation
COH             207277680013                Gas           Gov. Aggregation   COH             190202740035                Gas           Gov. Aggregation
COH             207476970010                Gas           Gov. Aggregation   COH             193871950022                Gas           Gov. Aggregation
COH             208266420019                Gas           Gov. Aggregation   COH             195658920019                Gas           Gov. Aggregation
COH             207009260018                Gas           Gov. Aggregation   COH             195700830017                Gas           Gov. Aggregation
COH             197830450029                Gas           Gov. Aggregation   COH             195752980017                Gas           Gov. Aggregation
COH             207183560017                Gas           Gov. Aggregation   COH             120432210015                Gas           Gov. Aggregation
COH             123830700015                Gas           Gov. Aggregation   COH             123886210039                Gas           Gov. Aggregation
COH             171901360143                Gas           Gov. Aggregation   COH             124501980013                Gas           Gov. Aggregation
COH             206964510012                Gas           Gov. Aggregation   COH             124391190014                Gas           Gov. Aggregation
COH             200438180013                Gas           Gov. Aggregation   VEDO            4019024622365623            Gas           Gov. Aggregation
COH             172750580012                Gas           Gov. Aggregation   VEDO            4019081492235234            Gas           Gov. Aggregation
COH             189586300047                Gas           Gov. Aggregation   VEDO            4019110362192776            Gas           Gov. Aggregation
COH             123822640024                Gas           Gov. Aggregation   VEDO            4016529142119145            Gas           Gov. Aggregation
COH             207579470017                Gas           Gov. Aggregation   VEDO            4003070342452742            Gas           Gov. Aggregation
COH             203710890013                Gas           Gov. Aggregation   VEDO            4017248662455598            Gas           Gov. Aggregation
COH             198832960045                Gas           Gov. Aggregation   VEDO            4019005062378598            Gas           Gov. Aggregation
COH             199635630032                Gas           Gov. Aggregation   VEDO            4004246952427619            Gas           Gov. Aggregation
COH             197428840057                Gas           Gov. Aggregation   VEDO            4018750652281192            Gas           Gov. Aggregation
COH             205010040013                Gas           Gov. Aggregation   VEDO            4003846702384123            Gas           Gov. Aggregation
COH             207290170012                Gas           Gov. Aggregation   VEDO            4001140292476564            Gas           Gov. Aggregation
COH             208030880012                Gas           Gov. Aggregation   VEDO            4019134052412568            Gas           Gov. Aggregation
COH             192278700041                Gas           Gov. Aggregation   VEDO            4019192822243379            Gas           Gov. Aggregation
COH             198827480038                Gas           Gov. Aggregation   VEDO            4015415712177056            Gas           Gov. Aggregation
COH             199167570038                Gas           Gov. Aggregation   VEDO            4004951452505230            Gas           Gov. Aggregation
COH             203177770010                Gas           Gov. Aggregation   VEDO            4004260502429067            Gas           Gov. Aggregation
COH             203424270010                Gas           Gov. Aggregation   COH             114765770020                Gas           Gov. Aggregation
COH             203511000011                Gas           Gov. Aggregation   COH             145365930116                Gas           Gov. Aggregation
COH             200178310017                Gas           Gov. Aggregation   COH             161110900040                Gas           Gov. Aggregation
COH             203245470018                Gas           Gov. Aggregation   COH             195899390011                Gas           Gov. Aggregation
COH             185650430029                Gas           Gov. Aggregation   COH             195940280015                Gas           Gov. Aggregation
COH             165109680055                Gas           Gov. Aggregation   COH             195940860013                Gas           Gov. Aggregation
COH             170716140045                Gas           Gov. Aggregation   VEDO            4001034042103274            Gas           Gov. Aggregation
COH             207554260013                Gas           Gov. Aggregation   COH             141197220018                Gas           Gov. Aggregation
COH             203205950011                Gas           Gov. Aggregation   COH             187199500020                Gas           Gov. Aggregation
COH             200669760021                Gas           Gov. Aggregation   COH             194247720013                Gas           Gov. Aggregation
COH             200669760030                Gas           Gov. Aggregation   COH             115790090010                Gas           Gov. Aggregation
COH             207639450013                Gas           Gov. Aggregation   COH             115789210026                Gas           Gov. Aggregation
COH             203343810018                Gas           Gov. Aggregation   COH             132513790036                Gas           Gov. Aggregation
COH             136742990160                Gas           Gov. Aggregation   COH             134418700034                Gas           Gov. Aggregation
COH             202511190031                Gas           Gov. Aggregation   VEDO            4001508132636517            Gas           Gov. Aggregation
COH             208238430016                Gas           Gov. Aggregation   VEDO            4002948862636463            Gas           Gov. Aggregation
COH             204561830011                Gas           Gov. Aggregation   VEDO            4005014072257696            Gas           Gov. Aggregation
COH             169695050025                Gas           Gov. Aggregation   VEDO            4003504042456014            Gas           Gov. Aggregation
COH             205724550013                Gas           Gov. Aggregation   VEDO            4003280382324159            Gas           Gov. Aggregation
COH             207599090015                Gas           Gov. Aggregation   VEDO            4004881492497498            Gas           Gov. Aggregation
COH             205772470019                Gas           Gov. Aggregation   VEDO            4001590182418545            Gas           Gov. Aggregation
COH             207841150017                Gas           Gov. Aggregation   VEDO            4002048132200100            Gas           Gov. Aggregation
COH             207554250015                Gas           Gov. Aggregation   VEDO            4018588662181811            Gas           Gov. Aggregation
COH             204607800019                Gas           Gov. Aggregation   VEDO            4018747442350636            Gas           Gov. Aggregation
COH             185947320023                Gas           Gov. Aggregation   VEDO            4016129212131117            Gas           Gov. Aggregation
COH             208530440014                Gas           Gov. Aggregation   VEDO            4018502312157175            Gas           Gov. Aggregation
COH             202285620013                Gas           Gov. Aggregation   VEDO            4018691932305850            Gas           Gov. Aggregation
COH             205581460016                Gas           Gov. Aggregation   VEDO            4017021152194798            Gas           Gov. Aggregation
COH             123819670776                Gas           Gov. Aggregation   VEDO            4018756912159958            Gas           Gov. Aggregation
COH             208401630017                Gas           Gov. Aggregation   VEDO            4018904092238902            Gas           Gov. Aggregation
COH             187604970076                Gas           Gov. Aggregation   VEDO            4005123282524637            Gas           Gov. Aggregation
COH             207826130013                Gas           Gov. Aggregation   VEDO            4005126612525045            Gas           Gov. Aggregation
COH             204488400017                Gas           Gov. Aggregation   VEDO            4015957742522047            Gas           Gov. Aggregation
COH             208275350015                Gas           Gov. Aggregation   VEDO            4018356042176672            Gas           Gov. Aggregation
COH             198469260043                Gas           Gov. Aggregation   VEDO            4017822972308930            Gas           Gov. Aggregation
COH             165534330093                Gas           Gov. Aggregation   VEDO            4017893382440424            Gas           Gov. Aggregation
COH             175946910087                Gas           Gov. Aggregation   VEDO            4018932232600979            Gas           Gov. Aggregation
COH             206658190019                Gas           Gov. Aggregation   VEDO            4018521022110966            Gas           Gov. Aggregation
COH             199786910034                Gas           Gov. Aggregation   VEDO            4018319622634801            Gas           Gov. Aggregation
COH             206291810016                Gas           Gov. Aggregation   VEDO            4017073552428018            Gas           Gov. Aggregation
COH             193988090035                Gas           Gov. Aggregation   VEDO            4018789082237966            Gas           Gov. Aggregation
COH             202356750015                Gas           Gov. Aggregation   VEDO            4002619592256904            Gas           Gov. Aggregation
COH             198330400037                Gas           Gov. Aggregation   VEDO            4002250592220174            Gas           Gov. Aggregation
COH             204204720010                Gas           Gov. Aggregation   COH             167435370020                Gas           Gov. Aggregation
COH             190200460038                Gas           Gov. Aggregation   COH             193759270014                Gas           Gov. Aggregation
COH             203907800041                Gas           Gov. Aggregation   COH             110439080011                Gas           Gov. Aggregation
COH             162175920021                Gas           Gov. Aggregation   COH             110439150016                Gas           Gov. Aggregation
COH             134522920546                Gas           Gov. Aggregation   COH             110439230019                Gas           Gov. Aggregation
COH             206989650011                Gas           Gov. Aggregation   COH             110447110017                Gas           Gov. Aggregation
COH             207630140016                Gas           Gov. Aggregation   COH             110438120014                Gas           Gov. Aggregation
COH             207946720015                Gas           Gov. Aggregation   COH             196067200012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             206310930019                Gas           Gov. Aggregation   COH             191635490012                Gas           Gov. Aggregation
COH             187515460027                Gas           Gov. Aggregation   COH             110520460018                Gas           Gov. Aggregation
COH             198483190048                Gas           Gov. Aggregation   COH             110521290021                Gas           Gov. Aggregation
COH             202164040039                Gas           Gov. Aggregation   COH             146216520036                Gas           Gov. Aggregation
COH             164828030423                Gas           Gov. Aggregation   COH             195657930019                Gas           Gov. Aggregation
COH             200738150013                Gas           Gov. Aggregation   VEDO            4016434132169982            Gas           Gov. Aggregation
COH             202116540017                Gas           Gov. Aggregation   VEDO            4016143802163121            Gas           Gov. Aggregation
COH             176626950068                Gas           Gov. Aggregation   COH             196365860012                Gas           Gov. Aggregation
COH             199299040030                Gas           Gov. Aggregation   COH             190626270027                Gas           Gov. Aggregation
COH             206397080016                Gas           Gov. Aggregation   COH             194094370012                Gas           Gov. Aggregation
COH             207245590019                Gas           Gov. Aggregation   COH             194936470015                Gas           Gov. Aggregation
COH             203688510011                Gas           Gov. Aggregation   COH             193336170011                Gas           Gov. Aggregation
COH             194912000022                Gas           Gov. Aggregation   COH             114948360019                Gas           Gov. Aggregation
COH             123841260015                Gas           Gov. Aggregation   COH             108731260017                Gas           Gov. Aggregation
COH             201097660015                Gas           Gov. Aggregation   COH             108732330010                Gas           Gov. Aggregation
COH             205640950017                Gas           Gov. Aggregation   COH             108736110018                Gas           Gov. Aggregation
COH             206226890017                Gas           Gov. Aggregation   COH             168631940014                Gas           Gov. Aggregation
COH             188772720027                Gas           Gov. Aggregation   COH             110879940027                Gas           Gov. Aggregation
COH             119900240037                Gas           Gov. Aggregation   COH             175904210019                Gas           Gov. Aggregation
COH             173053970062                Gas           Gov. Aggregation   COH             176390580012                Gas           Gov. Aggregation
VEDO            4001096242109140            Gas           Gov. Aggregation   COH             176429970026                Gas           Gov. Aggregation
COH             204716490014                Gas           Gov. Aggregation   COH             176452890015                Gas           Gov. Aggregation
COH             206133620010                Gas           Gov. Aggregation   COH             190224390015                Gas           Gov. Aggregation
COH             207186140019                Gas           Gov. Aggregation   COH             166316400035                Gas           Gov. Aggregation
COH             137522530036                Gas           Gov. Aggregation   COH             166234860015                Gas           Gov. Aggregation
COH             160102750077                Gas           Gov. Aggregation   COH             186934280019                Gas           Gov. Aggregation
COH             205286840012                Gas           Gov. Aggregation   COH             188442620018                Gas           Gov. Aggregation
COH             207538410015                Gas           Gov. Aggregation   COH             188479430020                Gas           Gov. Aggregation
COH             114682530017                Gas           Gov. Aggregation   COH             170064270023                Gas           Gov. Aggregation
COH             209736390018                Gas           Gov. Aggregation   COH             171609180016                Gas           Gov. Aggregation
COH             175214310011                Gas           Gov. Aggregation   COH             210861640017                Gas           Gov. Aggregation
COH             111133820012                Gas           Gov. Aggregation   COH             125143650048                Gas           Gov. Aggregation
COH             111147550010                Gas           Gov. Aggregation   COH             138760500028                Gas           Gov. Aggregation
COH             111096610025                Gas           Gov. Aggregation   COH             143707920034                Gas           Gov. Aggregation
COH             111247760014                Gas           Gov. Aggregation   COH             158839640037                Gas           Gov. Aggregation
COH             203903690025                Gas           Gov. Aggregation   COH             163520460033                Gas           Gov. Aggregation
COH             115333320019                Gas           Gov. Aggregation   COH             165250210036                Gas           Gov. Aggregation
DEO             8180014477668               Gas           Gov. Aggregation   COH             171377260067                Gas           Gov. Aggregation
DEO             4180014600729               Gas           Gov. Aggregation   COH             196603770024                Gas           Gov. Aggregation
DEO             4180014114286               Gas           Gov. Aggregation   COH             198766010036                Gas           Gov. Aggregation
DEO             5180014136101               Gas           Gov. Aggregation   COH             203041110024                Gas           Gov. Aggregation
DEO             8180014533786               Gas           Gov. Aggregation   COH             204066510027                Gas           Gov. Aggregation
DEO             8180014476379               Gas           Gov. Aggregation   COH             206794080023                Gas           Gov. Aggregation
DEO             2180014886798               Gas           Gov. Aggregation   COH             208101200022                Gas           Gov. Aggregation
DEO             0180014423361               Gas           Gov. Aggregation   COH             208411530017                Gas           Gov. Aggregation
DEO             4180014277212               Gas           Gov. Aggregation   COH             208644060022                Gas           Gov. Aggregation
DEO             8180014645774               Gas           Gov. Aggregation   COH             208840710010                Gas           Gov. Aggregation
DEO             3180014565890               Gas           Gov. Aggregation   COH             201348070034                Gas           Gov. Aggregation
DEO             9180014345900               Gas           Gov. Aggregation   DEO             4180016663151               Gas           Gov. Aggregation
DEO             8180014476788               Gas           Gov. Aggregation   DEO             3180016008263               Gas           Gov. Aggregation
DEO             1180014301078               Gas           Gov. Aggregation   DEO             7180016699841               Gas           Gov. Aggregation
DEO             7180014132135               Gas           Gov. Aggregation   DEO             8180015429889               Gas           Gov. Aggregation
DEO             1180014825341               Gas           Gov. Aggregation   DEO             6180014057325               Gas           Gov. Aggregation
DEO             4500036982547               Gas           Gov. Aggregation   DEO             3180015481718               Gas           Gov. Aggregation
DEO             0180014534164               Gas           Gov. Aggregation   DEO             1180015055392               Gas           Gov. Aggregation
DEO             6180014217610               Gas           Gov. Aggregation   DEO             6180010452505               Gas           Gov. Aggregation
DEO             2180014351530               Gas           Gov. Aggregation   DEO             3180016859975               Gas           Gov. Aggregation
DEO             6180014875909               Gas           Gov. Aggregation   DEO             2180015060145               Gas           Gov. Aggregation
DEO             7180014476913               Gas           Gov. Aggregation   DEO             0180014290194               Gas           Gov. Aggregation
DEO             1180014564543               Gas           Gov. Aggregation   DEO             3180016365090               Gas           Gov. Aggregation
DEO             7180014058390               Gas           Gov. Aggregation   DEO             2180014836973               Gas           Gov. Aggregation
DEO             1180014821980               Gas           Gov. Aggregation   DEO             9180015613200               Gas           Gov. Aggregation
DEO             5180014353594               Gas           Gov. Aggregation   DEO             1180014033019               Gas           Gov. Aggregation
DEO             7180014037101               Gas           Gov. Aggregation   DEO             9180013512410               Gas           Gov. Aggregation
DEO             3180014441597               Gas           Gov. Aggregation   DEO             2180015815138               Gas           Gov. Aggregation
DEO             5180014006423               Gas           Gov. Aggregation   DEO             0180015164490               Gas           Gov. Aggregation
DEO             0180014536648               Gas           Gov. Aggregation   DEO             5180015700017               Gas           Gov. Aggregation
DEO             1180014399026               Gas           Gov. Aggregation   DEO             9180016657676               Gas           Gov. Aggregation
DEO             1180014945306               Gas           Gov. Aggregation   DEO             0180016716092               Gas           Gov. Aggregation
DEO             6180014812515               Gas           Gov. Aggregation   DEO             3180014108769               Gas           Gov. Aggregation
DEO             3180014857622               Gas           Gov. Aggregation   DEO             5180017170632               Gas           Gov. Aggregation
DEO             4180013842445               Gas           Gov. Aggregation   DEO             6180017126710               Gas           Gov. Aggregation
DEO             6180014065926               Gas           Gov. Aggregation   DEO             7180012339365               Gas           Gov. Aggregation
DEO             4180014652619               Gas           Gov. Aggregation   DEO             3180016864019               Gas           Gov. Aggregation
DEO             4180014085041               Gas           Gov. Aggregation   DEO             5180015773439               Gas           Gov. Aggregation
DEO             6180014892314               Gas           Gov. Aggregation   DEO             9180014920435               Gas           Gov. Aggregation
DEO             9500021520253               Gas           Gov. Aggregation   DEO             2180015141916               Gas           Gov. Aggregation
DEO             2180014696673               Gas           Gov. Aggregation   DEO             2180016346514               Gas           Gov. Aggregation
DEO             7180014751734               Gas           Gov. Aggregation   DEO             1180014115605               Gas           Gov. Aggregation
DEO             7180014406170               Gas           Gov. Aggregation   DEO             9180014390154               Gas           Gov. Aggregation
DEO             2180014657911               Gas           Gov. Aggregation   DEO             4180016738933               Gas           Gov. Aggregation
DEO             0180014372550               Gas           Gov. Aggregation   DEO             5180017119676               Gas           Gov. Aggregation
COH             157088560047                Gas           Gov. Aggregation   DEO             1180014870229               Gas           Gov. Aggregation
COH             155909970078                Gas           Gov. Aggregation   DEO             2180014088865               Gas           Gov. Aggregation
COH             124269330013                Gas           Gov. Aggregation   DEO             1180015222129               Gas           Gov. Aggregation
COH             132423310037                Gas           Gov. Aggregation   DEO             0180016354457               Gas           Gov. Aggregation
COH             127277970082                Gas           Gov. Aggregation   DEO             1180014745830               Gas           Gov. Aggregation
COH             129082750025                Gas           Gov. Aggregation   DEO             9180014815552               Gas           Gov. Aggregation
COH             160002080141                Gas           Gov. Aggregation   DEO             5180016562850               Gas           Gov. Aggregation
DEO             3500007971867               Gas           Gov. Aggregation   DEO             6180015928309               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             208247820015                Gas           Gov. Aggregation   DEO             7180015770536               Gas           Gov. Aggregation
DEO             3500035960963               Gas           Gov. Aggregation   DEO             1180015763502               Gas           Gov. Aggregation
DEO             1500032327220               Gas           Gov. Aggregation   DEO             5180015495521               Gas           Gov. Aggregation
VEDO            4002414072236280            Gas           Gov. Aggregation   DEO             6180017051188               Gas           Gov. Aggregation
COH             136465570013                Gas           Gov. Aggregation   DEO             0180014459514               Gas           Gov. Aggregation
COH             146101920017                Gas           Gov. Aggregation   DEO             1180014842982               Gas           Gov. Aggregation
COH             122485970022                Gas           Gov. Aggregation   DEO             3180012607740               Gas           Gov. Aggregation
COH             173132390039                Gas           Gov. Aggregation   DEO             9180014098510               Gas           Gov. Aggregation
COH             191014480010                Gas           Gov. Aggregation   DEO             4180015514475               Gas           Gov. Aggregation
COH             110370260091                Gas           Gov. Aggregation   DEO             5180014052041               Gas           Gov. Aggregation
COH             146155270011                Gas           Gov. Aggregation   DEO             2180016465110               Gas           Gov. Aggregation
VEDO            4017864492630667            Gas           Gov. Aggregation   DEO             8180013941984               Gas           Gov. Aggregation
VEDO            4003655152363633            Gas           Gov. Aggregation   DEO             3180013442009               Gas           Gov. Aggregation
COH             149454630027                Gas           Gov. Aggregation   DEO             4180013397231               Gas           Gov. Aggregation
COH             169742620024                Gas           Gov. Aggregation   DEO             4180014226166               Gas           Gov. Aggregation
COH             174706310028                Gas           Gov. Aggregation   DEO             3180014889851               Gas           Gov. Aggregation
COH             207422990019                Gas           Gov. Aggregation   DEO             1180014193959               Gas           Gov. Aggregation
COH             174442810078                Gas           Gov. Aggregation   DEO             9180015683906               Gas           Gov. Aggregation
COH             203132300012                Gas           Gov. Aggregation   DEO             5180015201295               Gas           Gov. Aggregation
COH             203650900036                Gas           Gov. Aggregation   DEO             7180015941481               Gas           Gov. Aggregation
COH             209821650012                Gas           Gov. Aggregation   DEO             2180016582012               Gas           Gov. Aggregation
COH             197518780077                Gas           Gov. Aggregation   DEO             7180015433268               Gas           Gov. Aggregation
COH             204474720028                Gas           Gov. Aggregation   DEO             0180016728481               Gas           Gov. Aggregation
COH             207642320013                Gas           Gov. Aggregation   DEO             1180017155756               Gas           Gov. Aggregation
COH             209712600013                Gas           Gov. Aggregation   DEO             4180015776582               Gas           Gov. Aggregation
COH             171215960133                Gas           Gov. Aggregation   COH             191620670015                Gas           Gov. Aggregation
COH             152473630013                Gas           Gov. Aggregation   COH             160229440010                Gas           Gov. Aggregation
COH             203081550019                Gas           Gov. Aggregation   DEO             1500028858001               Gas           Gov. Aggregation
COH             130402390037                Gas           Gov. Aggregation   COH             205555210013                Gas           Gov. Aggregation
COH             196738220024                Gas           Gov. Aggregation   COH             176125370017                Gas           Gov. Aggregation
COH             156275680082                Gas           Gov. Aggregation   COH             193510220010                Gas           Gov. Aggregation
COH             187862260033                Gas           Gov. Aggregation   COH             177817840010                Gas           Gov. Aggregation
COH             209475440011                Gas           Gov. Aggregation   COH             187052550048                Gas           Gov. Aggregation
COH             170044200038                Gas           Gov. Aggregation   COH             187383730012                Gas           Gov. Aggregation
COH             210041610011                Gas           Gov. Aggregation   COH             194682060010                Gas           Gov. Aggregation
COH             209478270011                Gas           Gov. Aggregation   COH             195533470018                Gas           Gov. Aggregation
COH             165163200088                Gas           Gov. Aggregation   COH             189261090013                Gas           Gov. Aggregation
COH             210329420011                Gas           Gov. Aggregation   COH             189261240020                Gas           Gov. Aggregation
COH             210249440017                Gas           Gov. Aggregation   COH             189283050015                Gas           Gov. Aggregation
COH             191368630019                Gas           Gov. Aggregation   COH             190721370015                Gas           Gov. Aggregation
VEDO            4003438752407055            Gas           Gov. Aggregation   COH             190825890016                Gas           Gov. Aggregation
COH             163108310010                Gas           Gov. Aggregation   COH             193250050027                Gas           Gov. Aggregation
COH             115038760013                Gas           Gov. Aggregation   COH             194331880011                Gas           Gov. Aggregation
COH             125550120028                Gas           Gov. Aggregation   COH             195904140010                Gas           Gov. Aggregation
COH             204286920016                Gas           Gov. Aggregation   COH             117331370011                Gas           Gov. Aggregation
COH             204639130013                Gas           Gov. Aggregation   COH             117331620018                Gas           Gov. Aggregation
COH             204990940019                Gas           Gov. Aggregation   COH             117337300013                Gas           Gov. Aggregation
COH             205063430056                Gas           Gov. Aggregation   COH             117345500014                Gas           Gov. Aggregation
COH             205572420013                Gas           Gov. Aggregation   COH             118308960024                Gas           Gov. Aggregation
COH             205621330017                Gas           Gov. Aggregation   COH             120158500016                Gas           Gov. Aggregation
COH             205780410014                Gas           Gov. Aggregation   COH             120160590013                Gas           Gov. Aggregation
COH             208090920035                Gas           Gov. Aggregation   COH             136153430013                Gas           Gov. Aggregation
COH             208477010018                Gas           Gov. Aggregation   COH             150513000020                Gas           Gov. Aggregation
COH             208730220016                Gas           Gov. Aggregation   COH             150586660038                Gas           Gov. Aggregation
COH             208994320017                Gas           Gov. Aggregation   COH             160733890044                Gas           Gov. Aggregation
COH             209717230011                Gas           Gov. Aggregation   COH             176515080011                Gas           Gov. Aggregation
COH             209817970014                Gas           Gov. Aggregation   COH             186042140019                Gas           Gov. Aggregation
COH             209992670017                Gas           Gov. Aggregation   COH             189170490012                Gas           Gov. Aggregation
COH             210026640017                Gas           Gov. Aggregation   COH             195647440013                Gas           Gov. Aggregation
COH             210226900018                Gas           Gov. Aggregation   COH             111097010010                Gas           Gov. Aggregation
COH             209470210019                Gas           Gov. Aggregation   COH             111097820029                Gas           Gov. Aggregation
COH             115847620026                Gas           Gov. Aggregation   COH             164116570018                Gas           Gov. Aggregation
COH             206661300018                Gas           Gov. Aggregation   COH             134190160014                Gas           Gov. Aggregation
COH             208975880010                Gas           Gov. Aggregation   COH             195833080014                Gas           Gov. Aggregation
COH             115754350011                Gas           Gov. Aggregation   COH             133721590063                Gas           Gov. Aggregation
COH             198687610010                Gas           Gov. Aggregation   COH             146026790033                Gas           Gov. Aggregation
COH             186349580044                Gas           Gov. Aggregation   COH             192131292055                Gas           Gov. Aggregation
COH             171978470087                Gas           Gov. Aggregation   COH             187694270029                Gas           Gov. Aggregation
COH             147817060298                Gas           Gov. Aggregation   COH             193954900017                Gas           Gov. Aggregation
COH             115832330920                Gas           Gov. Aggregation   COH             195388220019                Gas           Gov. Aggregation
COH             115832331063                Gas           Gov. Aggregation   COH             195715790015                Gas           Gov. Aggregation
COH             115832331125                Gas           Gov. Aggregation   COH             195931500017                Gas           Gov. Aggregation
COH             204003970014                Gas           Gov. Aggregation   COH             196471490015                Gas           Gov. Aggregation
COH             151725670057                Gas           Gov. Aggregation   COH             135034670043                Gas           Gov. Aggregation
COH             152184120068                Gas           Gov. Aggregation   COH             120262710020                Gas           Gov. Aggregation
COH             158573470135                Gas           Gov. Aggregation   COH             194612050028                Gas           Gov. Aggregation
COH             162051940010                Gas           Gov. Aggregation   COH             195931480012                Gas           Gov. Aggregation
COH             187051740040                Gas           Gov. Aggregation   COH             192388190037                Gas           Gov. Aggregation
COH             187103240053                Gas           Gov. Aggregation   COH             192671060015                Gas           Gov. Aggregation
COH             187114530086                Gas           Gov. Aggregation   VEDO            4001901952185578            Gas           Gov. Aggregation
COH             189538330042                Gas           Gov. Aggregation   VEDO            4004618282468497            Gas           Gov. Aggregation
COH             191288980114                Gas           Gov. Aggregation   VEDO            4016853492152512            Gas           Gov. Aggregation
COH             194703060078                Gas           Gov. Aggregation   VEDO            4016361292175322            Gas           Gov. Aggregation
COH             195194050025                Gas           Gov. Aggregation   VEDO            4018436432464138            Gas           Gov. Aggregation
COH             201972620017                Gas           Gov. Aggregation   VEDO            4001320372130120            Gas           Gov. Aggregation
COH             202825470019                Gas           Gov. Aggregation   VEDO            4001743782170157            Gas           Gov. Aggregation
COH             203116730034                Gas           Gov. Aggregation   VEDO            4002334952219173            Gas           Gov. Aggregation
COH             203257250028                Gas           Gov. Aggregation   COH             115844570014                Gas           Gov. Aggregation
COH             203965390019                Gas           Gov. Aggregation   COH             192452360016                Gas           Gov. Aggregation
COH             204013430034                Gas           Gov. Aggregation   COH             191376200012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             207363590055                Gas           Gov. Aggregation   COH             130058640017                Gas           Gov. Aggregation
COH             207539790014                Gas           Gov. Aggregation   COH             170006170071                Gas           Gov. Aggregation
COH             207571150010                Gas           Gov. Aggregation   COH             162428660010                Gas           Gov. Aggregation
COH             207665180015                Gas           Gov. Aggregation   COH             160660060016                Gas           Gov. Aggregation
COH             207814100032                Gas           Gov. Aggregation   COH             158258470017                Gas           Gov. Aggregation
COH             207992580018                Gas           Gov. Aggregation   COH             124161760039                Gas           Gov. Aggregation
COH             210363470019                Gas           Gov. Aggregation   COH             124588280018                Gas           Gov. Aggregation
COH             210516300019                Gas           Gov. Aggregation   COH             195299510017                Gas           Gov. Aggregation
COH             210543240015                Gas           Gov. Aggregation   COH             195958660018                Gas           Gov. Aggregation
COH             198339730012                Gas           Gov. Aggregation   COH             193308120010                Gas           Gov. Aggregation
COH             187246130036                Gas           Gov. Aggregation   COH             157662070033                Gas           Gov. Aggregation
COH             171742990041                Gas           Gov. Aggregation   COH             111232950024                Gas           Gov. Aggregation
COH             191626510043                Gas           Gov. Aggregation   COH             188929010023                Gas           Gov. Aggregation
COH             204706160023                Gas           Gov. Aggregation   COH             186854720025                Gas           Gov. Aggregation
COH             158534510101                Gas           Gov. Aggregation   COH             162584640014                Gas           Gov. Aggregation
COH             209224430014                Gas           Gov. Aggregation   COH             196357900010                Gas           Gov. Aggregation
COH             209327580015                Gas           Gov. Aggregation   COH             195857050010                Gas           Gov. Aggregation
COH             209067920015                Gas           Gov. Aggregation   COH             171275860030                Gas           Gov. Aggregation
COH             207484400012                Gas           Gov. Aggregation   COH             185435160013                Gas           Gov. Aggregation
COH             209240480010                Gas           Gov. Aggregation   COH             191159190033                Gas           Gov. Aggregation
COH             198252520010                Gas           Gov. Aggregation   COH             195766880019                Gas           Gov. Aggregation
COH             159993130028                Gas           Gov. Aggregation   COH             113651350039                Gas           Gov. Aggregation
COH             172032530032                Gas           Gov. Aggregation   COH             170761690036                Gas           Gov. Aggregation
COH             207067850012                Gas           Gov. Aggregation   COH             195937500015                Gas           Gov. Aggregation
COH             206829060013                Gas           Gov. Aggregation   COH             196983990015                Gas           Gov. Aggregation
COH             199218880016                Gas           Gov. Aggregation   COH             197009380016                Gas           Gov. Aggregation
COH             206891430014                Gas           Gov. Aggregation   COH             192729400010                Gas           Gov. Aggregation
COH             188308120062                Gas           Gov. Aggregation   COH             197199150013                Gas           Gov. Aggregation
COH             209867040014                Gas           Gov. Aggregation   COH             197200260015                Gas           Gov. Aggregation
COH             206425660031                Gas           Gov. Aggregation   COH             197200540016                Gas           Gov. Aggregation
COH             208036050014                Gas           Gov. Aggregation   VEDO            4002812532388603            Gas           Gov. Aggregation
COH             132851350023                Gas           Gov. Aggregation   VEDO            4004014962262042            Gas           Gov. Aggregation
COH             210259700011                Gas           Gov. Aggregation   VEDO            4019216222195115            Gas           Gov. Aggregation
COH             204947670017                Gas           Gov. Aggregation   COH             164353020011                Gas           Gov. Aggregation
COH             208119080012                Gas           Gov. Aggregation   COH             165522840046                Gas           Gov. Aggregation
COH             208098600018                Gas           Gov. Aggregation   COH             176774570029                Gas           Gov. Aggregation
COH             115544970061                Gas           Gov. Aggregation   COH             191993660036                Gas           Gov. Aggregation
COH             205972080017                Gas           Gov. Aggregation   COH             192691220037                Gas           Gov. Aggregation
COH             131628090031                Gas           Gov. Aggregation   COH             197306980010                Gas           Gov. Aggregation
COH             201890240011                Gas           Gov. Aggregation   COH             197307240013                Gas           Gov. Aggregation
COH             115803300025                Gas           Gov. Aggregation   COH             111315530026                Gas           Gov. Aggregation
COH             209944730015                Gas           Gov. Aggregation   COH             196065040010                Gas           Gov. Aggregation
COH             187220100036                Gas           Gov. Aggregation   COH             166906510013                Gas           Gov. Aggregation
COH             155843460020                Gas           Gov. Aggregation   COH             127591930011                Gas           Gov. Aggregation
COH             210037640014                Gas           Gov. Aggregation   COH             142222760019                Gas           Gov. Aggregation
COH             206777910015                Gas           Gov. Aggregation   COH             137548230017                Gas           Gov. Aggregation
COH             115751961152                Gas           Gov. Aggregation   COH             197276630018                Gas           Gov. Aggregation
COH             207824510017                Gas           Gov. Aggregation   COH             196717620015                Gas           Gov. Aggregation
COH             176556140049                Gas           Gov. Aggregation   COH             195711740013                Gas           Gov. Aggregation
COH             205041530015                Gas           Gov. Aggregation   COH             111253180013                Gas           Gov. Aggregation
COH             141509530109                Gas           Gov. Aggregation   COH             111253340019                Gas           Gov. Aggregation
COH             201616540027                Gas           Gov. Aggregation   COH             111253350017                Gas           Gov. Aggregation
COH             158966600045                Gas           Gov. Aggregation   COH             124403790020                Gas           Gov. Aggregation
COH             207689360017                Gas           Gov. Aggregation   COH             164683410029                Gas           Gov. Aggregation
COH             206437480016                Gas           Gov. Aggregation   COH             175754150011                Gas           Gov. Aggregation
COH             208130330015                Gas           Gov. Aggregation   COH             115848430015                Gas           Gov. Aggregation
COH             209752880011                Gas           Gov. Aggregation   VEDO            4001863232181773            Gas           Gov. Aggregation
COH             210435480014                Gas           Gov. Aggregation   DEO             6500048314655               Gas           Gov. Aggregation
COH             203569610012                Gas           Gov. Aggregation   COH             192945280036                Gas           Gov. Aggregation
COH             208745920018                Gas           Gov. Aggregation   VEDO            4004152682417272            Gas           Gov. Aggregation
COH             210126390018                Gas           Gov. Aggregation   VEDO            4016287782585332            Gas           Gov. Aggregation
COH             201040340020                Gas           Gov. Aggregation   DEO             9440105607133               Gas           Gov. Aggregation
COH             209510950018                Gas           Gov. Aggregation   DEO             4442008272558               Gas           Gov. Aggregation
COH             207301960011                Gas           Gov. Aggregation   DEO             7180003845974               Gas           Gov. Aggregation
COH             210468870013                Gas           Gov. Aggregation   DEO             3500045591510               Gas           Gov. Aggregation
COH             187840660044                Gas           Gov. Aggregation   COH             111326630013                Gas           Gov. Aggregation
COH             209961650016                Gas           Gov. Aggregation   VEDO            4018434592633026            Gas           Gov. Aggregation
COH             199310510053                Gas           Gov. Aggregation   COH             120531920034                Gas           Gov. Aggregation
COH             203552740038                Gas           Gov. Aggregation   VEDO            4017377862512049            Gas           Gov. Aggregation
COH             147695320024                Gas           Gov. Aggregation   COH             185864980058                Gas           Gov. Aggregation
COH             208658860016                Gas           Gov. Aggregation   COH             124604420012                Gas           Gov. Aggregation
COH             210442690042                Gas           Gov. Aggregation   COH             207210880011                Gas           Gov. Aggregation
COH             210435560017                Gas           Gov. Aggregation   COH             205873510525                Gas           Gov. Aggregation
COH             191794580320                Gas           Gov. Aggregation   COH             136164980015                Gas           Gov. Aggregation
COH             162738280068                Gas           Gov. Aggregation   COH             124594230015                Gas           Gov. Aggregation
COH             151102550070                Gas           Gov. Aggregation   COH             158518320141                Gas           Gov. Aggregation
COH             177352040078                Gas           Gov. Aggregation   COH             207466430014                Gas           Gov. Aggregation
COH             203416630011                Gas           Gov. Aggregation   COH             207078790030                Gas           Gov. Aggregation
COH             196756030080                Gas           Gov. Aggregation   COH             208964540014                Gas           Gov. Aggregation
COH             208414950013                Gas           Gov. Aggregation   COH             202580990029                Gas           Gov. Aggregation
COH             210346060011                Gas           Gov. Aggregation   COH             207139270011                Gas           Gov. Aggregation
COH             203323110017                Gas           Gov. Aggregation   COH             148170700034                Gas           Gov. Aggregation
COH             209934460013                Gas           Gov. Aggregation   COH             205265500026                Gas           Gov. Aggregation
COH             208757140017                Gas           Gov. Aggregation   COH             208645380014                Gas           Gov. Aggregation
COH             186295060020                Gas           Gov. Aggregation   COH             161947320049                Gas           Gov. Aggregation
COH             206733570019                Gas           Gov. Aggregation   COH             166667670027                Gas           Gov. Aggregation
COH             206041800017                Gas           Gov. Aggregation   COH             209211020017                Gas           Gov. Aggregation
COH             199125540014                Gas           Gov. Aggregation   COH             157977790053                Gas           Gov. Aggregation
COH             208599060010                Gas           Gov. Aggregation   COH             197657920028                Gas           Gov. Aggregation
COH             210363130010                Gas           Gov. Aggregation   COH             208015610010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             210082670013                Gas           Gov. Aggregation   COH             207428220018                Gas           Gov. Aggregation
COH             209402670016                Gas           Gov. Aggregation   COH             205155100032                Gas           Gov. Aggregation
COH             188713960290                Gas           Gov. Aggregation   COH             208238580015                Gas           Gov. Aggregation
COH             208955170011                Gas           Gov. Aggregation   COH             207858190014                Gas           Gov. Aggregation
COH             151534990117                Gas           Gov. Aggregation   COH             207518390012                Gas           Gov. Aggregation
COH             206886010013                Gas           Gov. Aggregation   COH             194593580074                Gas           Gov. Aggregation
COH             206810800016                Gas           Gov. Aggregation   COH             190421730051                Gas           Gov. Aggregation
COH             196702920040                Gas           Gov. Aggregation   COH             209295030019                Gas           Gov. Aggregation
COH             194291630046                Gas           Gov. Aggregation   COH             206624450033                Gas           Gov. Aggregation
COH             204642070028                Gas           Gov. Aggregation   COH             208732410012                Gas           Gov. Aggregation
COH             174699240039                Gas           Gov. Aggregation   COH             209328680012                Gas           Gov. Aggregation
COH             204441690015                Gas           Gov. Aggregation   COH             197651750071                Gas           Gov. Aggregation
COH             209677220019                Gas           Gov. Aggregation   COH             206251330011                Gas           Gov. Aggregation
COH             207453080015                Gas           Gov. Aggregation   COH             208453820018                Gas           Gov. Aggregation
COH             197409440024                Gas           Gov. Aggregation   COH             207009670012                Gas           Gov. Aggregation
COH             162761460070                Gas           Gov. Aggregation   COH             206696790013                Gas           Gov. Aggregation
COH             203950530010                Gas           Gov. Aggregation   COH             206972030016                Gas           Gov. Aggregation
COH             196597310025                Gas           Gov. Aggregation   COH             209280600010                Gas           Gov. Aggregation
COH             149746880044                Gas           Gov. Aggregation   COH             208719750019                Gas           Gov. Aggregation
COH             115801320016                Gas           Gov. Aggregation   COH             206114330011                Gas           Gov. Aggregation
COH             209095950010                Gas           Gov. Aggregation   COH             208851800018                Gas           Gov. Aggregation
COH             208330670010                Gas           Gov. Aggregation   COH             206802160018                Gas           Gov. Aggregation
COH             145353370039                Gas           Gov. Aggregation   COH             124109940086                Gas           Gov. Aggregation
COH             203496660017                Gas           Gov. Aggregation   COH             208312500013                Gas           Gov. Aggregation
COH             115667470039                Gas           Gov. Aggregation   COH             206889010017                Gas           Gov. Aggregation
COH             205547910013                Gas           Gov. Aggregation   COH             124582940020                Gas           Gov. Aggregation
COH             209093960012                Gas           Gov. Aggregation   COH             201220220032                Gas           Gov. Aggregation
COH             207514280013                Gas           Gov. Aggregation   COH             208683240013                Gas           Gov. Aggregation
COH             147021160052                Gas           Gov. Aggregation   COH             208617640018                Gas           Gov. Aggregation
COH             196861480029                Gas           Gov. Aggregation   COH             161014470045                Gas           Gov. Aggregation
COH             196691590027                Gas           Gov. Aggregation   COH             208648960016                Gas           Gov. Aggregation
COH             204696080023                Gas           Gov. Aggregation   COH             209616630011                Gas           Gov. Aggregation
COH             193344950038                Gas           Gov. Aggregation   COH             187803930054                Gas           Gov. Aggregation
COH             195285080044                Gas           Gov. Aggregation   COH             208097190026                Gas           Gov. Aggregation
COH             186608230074                Gas           Gov. Aggregation   COH             207005550015                Gas           Gov. Aggregation
COH             172366140028                Gas           Gov. Aggregation   COH             193086040028                Gas           Gov. Aggregation
COH             205531320010                Gas           Gov. Aggregation   COH             200901750029                Gas           Gov. Aggregation
COH             209677110012                Gas           Gov. Aggregation   COH             206535630016                Gas           Gov. Aggregation
COH             203505060012                Gas           Gov. Aggregation   COH             208127980016                Gas           Gov. Aggregation
COH             201731780014                Gas           Gov. Aggregation   COH             207330210017                Gas           Gov. Aggregation
COH             207342940019                Gas           Gov. Aggregation   COH             200707470039                Gas           Gov. Aggregation
COH             210111030014                Gas           Gov. Aggregation   COH             202354520026                Gas           Gov. Aggregation
COH             190957130061                Gas           Gov. Aggregation   COH             209016610017                Gas           Gov. Aggregation
COH             207418420017                Gas           Gov. Aggregation   COH             205914440013                Gas           Gov. Aggregation
COH             206171730035                Gas           Gov. Aggregation   COH             196552750152                Gas           Gov. Aggregation
COH             189067070019                Gas           Gov. Aggregation   COH             206863300010                Gas           Gov. Aggregation
VEDO            4015342742394311            Gas           Gov. Aggregation   COH             164666250038                Gas           Gov. Aggregation
COH             145199980039                Gas           Gov. Aggregation   COH             191461890053                Gas           Gov. Aggregation
COH             154311310010                Gas           Gov. Aggregation   COH             141879420074                Gas           Gov. Aggregation
COH             146424240052                Gas           Gov. Aggregation   COH             201517580029                Gas           Gov. Aggregation
COH             115687300023                Gas           Gov. Aggregation   COH             207366320019                Gas           Gov. Aggregation
COH             196343270012                Gas           Gov. Aggregation   COH             207461240014                Gas           Gov. Aggregation
COH             148855990014                Gas           Gov. Aggregation   COH             208179690018                Gas           Gov. Aggregation
COH             203302460036                Gas           Gov. Aggregation   COH             171710250016                Gas           Gov. Aggregation
COH             208838770013                Gas           Gov. Aggregation   COH             203652750025                Gas           Gov. Aggregation
COH             206588460011                Gas           Gov. Aggregation   COH             206373390011                Gas           Gov. Aggregation
COH             198850850022                Gas           Gov. Aggregation   COH             209304010012                Gas           Gov. Aggregation
COH             207998730014                Gas           Gov. Aggregation   COH             193812530042                Gas           Gov. Aggregation
COH             210468980010                Gas           Gov. Aggregation   COH             207893820017                Gas           Gov. Aggregation
COH             203237240031                Gas           Gov. Aggregation   COH             155780180023                Gas           Gov. Aggregation
COH             207811060019                Gas           Gov. Aggregation   COH             154736710052                Gas           Gov. Aggregation
COH             203044550017                Gas           Gov. Aggregation   COH             208533940013                Gas           Gov. Aggregation
COH             210021000011                Gas           Gov. Aggregation   COH             208668490013                Gas           Gov. Aggregation
COH             158363260045                Gas           Gov. Aggregation   COH             202568470113                Gas           Gov. Aggregation
COH             207240400018                Gas           Gov. Aggregation   COH             208707220015                Gas           Gov. Aggregation
COH             170914130010                Gas           Gov. Aggregation   COH             167362680100                Gas           Gov. Aggregation
COH             209685550013                Gas           Gov. Aggregation   COH             194964430103                Gas           Gov. Aggregation
COH             209768750015                Gas           Gov. Aggregation   COH             208275880014                Gas           Gov. Aggregation
COH             209385970011                Gas           Gov. Aggregation   COH             209563110013                Gas           Gov. Aggregation
COH             206782340014                Gas           Gov. Aggregation   COH             135870310073                Gas           Gov. Aggregation
COH             207399740012                Gas           Gov. Aggregation   COH             194860980028                Gas           Gov. Aggregation
COH             209245850012                Gas           Gov. Aggregation   COH             207784030023                Gas           Gov. Aggregation
COH             206495260010                Gas           Gov. Aggregation   COH             206879750013                Gas           Gov. Aggregation
COH             209498610017                Gas           Gov. Aggregation   COH             208690400014                Gas           Gov. Aggregation
COH             208512440012                Gas           Gov. Aggregation   COH             208378240010                Gas           Gov. Aggregation
COH             209933100010                Gas           Gov. Aggregation   COH             207640070010                Gas           Gov. Aggregation
COH             205681000029                Gas           Gov. Aggregation   COH             206084470035                Gas           Gov. Aggregation
COH             174880880021                Gas           Gov. Aggregation   COH             206780510012                Gas           Gov. Aggregation
COH             206448870011                Gas           Gov. Aggregation   COH             206084470017                Gas           Gov. Aggregation
COH             207924570022                Gas           Gov. Aggregation   COH             200920120030                Gas           Gov. Aggregation
COH             201764070023                Gas           Gov. Aggregation   COH             201852750023                Gas           Gov. Aggregation
COH             208960990018                Gas           Gov. Aggregation   COH             206191670018                Gas           Gov. Aggregation
COH             207131430022                Gas           Gov. Aggregation   COH             191222320058                Gas           Gov. Aggregation
COH             207179060011                Gas           Gov. Aggregation   COH             209179730018                Gas           Gov. Aggregation
COH             207332520018                Gas           Gov. Aggregation   COH             206552820010                Gas           Gov. Aggregation
COH             208584020019                Gas           Gov. Aggregation   COH             124583690030                Gas           Gov. Aggregation
COH             207289460014                Gas           Gov. Aggregation   COH             164399690024                Gas           Gov. Aggregation
COH             210435570015                Gas           Gov. Aggregation   COH             189061360092                Gas           Gov. Aggregation
COH             139086760023                Gas           Gov. Aggregation   COH             205293410017                Gas           Gov. Aggregation
COH             115859800032                Gas           Gov. Aggregation   COH             191740220033                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             209728110013                Gas           Gov. Aggregation   COH             124540600056                Gas           Gov. Aggregation
COH             175307590043                Gas           Gov. Aggregation   COH             209201400018                Gas           Gov. Aggregation
COH             196615980025                Gas           Gov. Aggregation   COH             154669170013                Gas           Gov. Aggregation
COH             208926450013                Gas           Gov. Aggregation   COH             208205880011                Gas           Gov. Aggregation
COH             207631550018                Gas           Gov. Aggregation   COH             208391250010                Gas           Gov. Aggregation
COH             210083680019                Gas           Gov. Aggregation   COH             207707910011                Gas           Gov. Aggregation
COH             200267580021                Gas           Gov. Aggregation   COH             207309790011                Gas           Gov. Aggregation
COH             209685630016                Gas           Gov. Aggregation   COH             207646510015                Gas           Gov. Aggregation
COH             206551930019                Gas           Gov. Aggregation   COH             208719760017                Gas           Gov. Aggregation
COH             210348810019                Gas           Gov. Aggregation   COH             207182690012                Gas           Gov. Aggregation
COH             143671470027                Gas           Gov. Aggregation   COH             200527270060                Gas           Gov. Aggregation
COH             210175830012                Gas           Gov. Aggregation   COH             145244520056                Gas           Gov. Aggregation
COH             198584790057                Gas           Gov. Aggregation   COH             208732440016                Gas           Gov. Aggregation
COH             210131630016                Gas           Gov. Aggregation   COH             206610460012                Gas           Gov. Aggregation
COH             206602970012                Gas           Gov. Aggregation   COH             203365540046                Gas           Gov. Aggregation
COH             206684830019                Gas           Gov. Aggregation   COH             209325580019                Gas           Gov. Aggregation
COH             209578540012                Gas           Gov. Aggregation   COH             208517440012                Gas           Gov. Aggregation
COH             208593360019                Gas           Gov. Aggregation   COH             175874950055                Gas           Gov. Aggregation
COH             206116900026                Gas           Gov. Aggregation   COH             154386150026                Gas           Gov. Aggregation
COH             137371280021                Gas           Gov. Aggregation   COH             188083000065                Gas           Gov. Aggregation
COH             142060990024                Gas           Gov. Aggregation   COH             208257120011                Gas           Gov. Aggregation
COH             210519450012                Gas           Gov. Aggregation   COH             207176970016                Gas           Gov. Aggregation
COH             208439850012                Gas           Gov. Aggregation   COH             194418300081                Gas           Gov. Aggregation
COH             148498410157                Gas           Gov. Aggregation   COH             207309880012                Gas           Gov. Aggregation
COH             208519280012                Gas           Gov. Aggregation   COH             202470330066                Gas           Gov. Aggregation
COH             202583710021                Gas           Gov. Aggregation   COH             202983300038                Gas           Gov. Aggregation
COH             204681050020                Gas           Gov. Aggregation   COH             196583020034                Gas           Gov. Aggregation
COH             201531360016                Gas           Gov. Aggregation   COH             208426260013                Gas           Gov. Aggregation
COH             206862670015                Gas           Gov. Aggregation   COH             209380940017                Gas           Gov. Aggregation
COH             164622240069                Gas           Gov. Aggregation   COH             165277110022                Gas           Gov. Aggregation
COH             175803510083                Gas           Gov. Aggregation   COH             209664990015                Gas           Gov. Aggregation
COH             207342160013                Gas           Gov. Aggregation   COH             207920280012                Gas           Gov. Aggregation
COH             207593450011                Gas           Gov. Aggregation   COH             141876720068                Gas           Gov. Aggregation
COH             207799210015                Gas           Gov. Aggregation   COH             207505780017                Gas           Gov. Aggregation
COH             133821580018                Gas           Gov. Aggregation   COH             202497390031                Gas           Gov. Aggregation
COH             175849620039                Gas           Gov. Aggregation   COH             205737880017                Gas           Gov. Aggregation
COH             207563630016                Gas           Gov. Aggregation   COH             206851330019                Gas           Gov. Aggregation
COH             208501700010                Gas           Gov. Aggregation   COH             207263440012                Gas           Gov. Aggregation
COH             209762480014                Gas           Gov. Aggregation   COH             209664730019                Gas           Gov. Aggregation
COH             190605250034                Gas           Gov. Aggregation   COH             200094330020                Gas           Gov. Aggregation
COH             208508310018                Gas           Gov. Aggregation   COH             208788830017                Gas           Gov. Aggregation
COH             200919020025                Gas           Gov. Aggregation   COH             203079871552                Gas           Gov. Aggregation
VEDO            4021092892276362            Gas           Gov. Aggregation   COH             208390570015                Gas           Gov. Aggregation
VEDO            4021426072396706            Gas           Gov. Aggregation   COH             185747490086                Gas           Gov. Aggregation
VEDO            4021302862406611            Gas           Gov. Aggregation   COH             206055740011                Gas           Gov. Aggregation
VEDO            4019343732476738            Gas           Gov. Aggregation   COH             176924010063                Gas           Gov. Aggregation
VEDO            4019851752305806            Gas           Gov. Aggregation   COH             206985780012                Gas           Gov. Aggregation
VEDO            4001411192594114            Gas           Gov. Aggregation   COH             206290380019                Gas           Gov. Aggregation
VEDO            4021602062674267            Gas           Gov. Aggregation   COH             205871350014                Gas           Gov. Aggregation
VEDO            4004742732684105            Gas           Gov. Aggregation   COH             201568430023                Gas           Gov. Aggregation
VEDO            4021554162685998            Gas           Gov. Aggregation   COH             156338710027                Gas           Gov. Aggregation
VEDO            4020038532595769            Gas           Gov. Aggregation   COH             207031850017                Gas           Gov. Aggregation
VEDO            4021585122550270            Gas           Gov. Aggregation   COH             206116120011                Gas           Gov. Aggregation
VEDO            4020177952532204            Gas           Gov. Aggregation   COH             207999370018                Gas           Gov. Aggregation
VEDO            4002004692529536            Gas           Gov. Aggregation   COH             203577830028                Gas           Gov. Aggregation
VEDO            4001417332685178            Gas           Gov. Aggregation   COH             206563210015                Gas           Gov. Aggregation
VEDO            4015429862686665            Gas           Gov. Aggregation   COH             205403050036                Gas           Gov. Aggregation
DEO             3442100937073               Gas           Gov. Aggregation   COH             206665740018                Gas           Gov. Aggregation
COH             124440830041                Gas           Gov. Aggregation   COH             207952440011                Gas           Gov. Aggregation
COH             115844770021                Gas           Gov. Aggregation   COH             203079871570                Gas           Gov. Aggregation
COH             116807700022                Gas           Gov. Aggregation   COH             206612010012                Gas           Gov. Aggregation
VEDO            4021569602578535            Gas           Gov. Aggregation   COH             206748310021                Gas           Gov. Aggregation
VEDO            4016221842686214            Gas           Gov. Aggregation   COH             199026050026                Gas           Gov. Aggregation
VEDO            4002777362635008            Gas           Gov. Aggregation   COH             206032110011                Gas           Gov. Aggregation
VEDO            4002134322492571            Gas           Gov. Aggregation   COH             175434860145                Gas           Gov. Aggregation
VEDO            4021456532336442            Gas           Gov. Aggregation   COH             207288930017                Gas           Gov. Aggregation
DEO             3180016755314               Gas           Gov. Aggregation   COH             208640750016                Gas           Gov. Aggregation
COH             110922370015                Gas           Gov. Aggregation   COH             207999210011                Gas           Gov. Aggregation
COH             115846270102                Gas           Gov. Aggregation   COH             208765210015                Gas           Gov. Aggregation
COH             143419640098                Gas           Gov. Aggregation   COH             209506030010                Gas           Gov. Aggregation
COH             146264940135                Gas           Gov. Aggregation   COH             208828230017                Gas           Gov. Aggregation
COH             148516630044                Gas           Gov. Aggregation   COH             209452810011                Gas           Gov. Aggregation
COH             160770370072                Gas           Gov. Aggregation   COH             206073590015                Gas           Gov. Aggregation
COH             161220030068                Gas           Gov. Aggregation   COH             172628960039                Gas           Gov. Aggregation
COH             199125480017                Gas           Gov. Aggregation   COH             208700860015                Gas           Gov. Aggregation
COH             200298970051                Gas           Gov. Aggregation   COH             207941480016                Gas           Gov. Aggregation
COH             201693620019                Gas           Gov. Aggregation   COH             205255010020                Gas           Gov. Aggregation
COH             202730380019                Gas           Gov. Aggregation   COH             205883510015                Gas           Gov. Aggregation
COH             202920540012                Gas           Gov. Aggregation   COH             208247340016                Gas           Gov. Aggregation
COH             203433220020                Gas           Gov. Aggregation   COH             206133800012                Gas           Gov. Aggregation
COH             203450530056                Gas           Gov. Aggregation   COH             201628770024                Gas           Gov. Aggregation
COH             203606150019                Gas           Gov. Aggregation   COH             207157680017                Gas           Gov. Aggregation
COH             204198340015                Gas           Gov. Aggregation   COH             208460190016                Gas           Gov. Aggregation
COH             209160180013                Gas           Gov. Aggregation   COH             205766450016                Gas           Gov. Aggregation
DUKE            0130038523                  Gas           Gov. Aggregation   COH             176243680085                Gas           Gov. Aggregation
DUKE            0230038528                  Gas           Gov. Aggregation   COH             209058920014                Gas           Gov. Aggregation
DUKE            0490020244                  Gas           Gov. Aggregation   COH             205953000013                Gas           Gov. Aggregation
DUKE            0930038525                  Gas           Gov. Aggregation   COH             208839400018                Gas           Gov. Aggregation
DUKE            0330038521                  Gas           Gov. Aggregation   COH             207585540019                Gas           Gov. Aggregation
DUKE            0550038521                  Gas           Gov. Aggregation   COH             205828670018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DUKE            0770353801                  Gas           Gov. Aggregation   COH             201444120020                Gas           Gov. Aggregation
DUKE            0950038529                  Gas           Gov. Aggregation   COH             207944190011                Gas           Gov. Aggregation
DUKE            0590036020                  Gas           Gov. Aggregation   COH             208407660019                Gas           Gov. Aggregation
DUKE            0500038631                  Gas           Gov. Aggregation   COH             205814640013                Gas           Gov. Aggregation
DUKE            0380038534                  Gas           Gov. Aggregation   COH             145707090019                Gas           Gov. Aggregation
DUKE            0260038554                  Gas           Gov. Aggregation   COH             118813020057                Gas           Gov. Aggregation
DUKE            0310038623                  Gas           Gov. Aggregation   COH             118813020048                Gas           Gov. Aggregation
DUKE            0280038521                  Gas           Gov. Aggregation   COH             209285030010                Gas           Gov. Aggregation
DUKE            0030038620                  Gas           Gov. Aggregation   COH             206589240024                Gas           Gov. Aggregation
DUKE            0640038623                  Gas           Gov. Aggregation   COH             207074520016                Gas           Gov. Aggregation
DUKE            0740038628                  Gas           Gov. Aggregation   COH             208527500018                Gas           Gov. Aggregation
DUKE            0840038621                  Gas           Gov. Aggregation   COH             204064970025                Gas           Gov. Aggregation
DUKE            0240038623                  Gas           Gov. Aggregation   COH             207609100019                Gas           Gov. Aggregation
DUKE            0390020221                  Gas           Gov. Aggregation   COH             208205510018                Gas           Gov. Aggregation
DUKE            0680020222                  Gas           Gov. Aggregation   COH             205786320011                Gas           Gov. Aggregation
DUKE            0090020239                  Gas           Gov. Aggregation   COH             206873270016                Gas           Gov. Aggregation
DUKE            0980020232                  Gas           Gov. Aggregation   COH             193017380031                Gas           Gov. Aggregation
DUKE            0970020221                  Gas           Gov. Aggregation   COH             209074830019                Gas           Gov. Aggregation
DUKE            0760020222                  Gas           Gov. Aggregation   COH             197609160038                Gas           Gov. Aggregation
DUKE            0220020225                  Gas           Gov. Aggregation   COH             205691840022                Gas           Gov. Aggregation
DUKE            0860038534                  Gas           Gov. Aggregation   COH             206974270012                Gas           Gov. Aggregation
DUKE            0370038540                  Gas           Gov. Aggregation   COH             200842580030                Gas           Gov. Aggregation
DUKE            0360020240                  Gas           Gov. Aggregation   COH             158770640024                Gas           Gov. Aggregation
DUKE            0960038527                  Gas           Gov. Aggregation   COH             194756730021                Gas           Gov. Aggregation
DUKE            0660020223                  Gas           Gov. Aggregation   COH             202942600022                Gas           Gov. Aggregation
DUKE            0320020241                  Gas           Gov. Aggregation   COH             198624820018                Gas           Gov. Aggregation
DUKE            0920020224                  Gas           Gov. Aggregation   COH             186312110076                Gas           Gov. Aggregation
DUKE            0490020139                  Gas           Gov. Aggregation   COH             194756730030                Gas           Gov. Aggregation
DUKE            0090020126                  Gas           Gov. Aggregation   COH             195271550035                Gas           Gov. Aggregation
DUKE            0590020124                  Gas           Gov. Aggregation   COH             205161800023                Gas           Gov. Aggregation
DUKE            0960020131                  Gas           Gov. Aggregation   COH             206089460019                Gas           Gov. Aggregation
DUKE            0760020134                  Gas           Gov. Aggregation   COH             203030820019                Gas           Gov. Aggregation
DUKE            0660020141                  Gas           Gov. Aggregation   COH             207549490034                Gas           Gov. Aggregation
DUKE            0460038521                  Gas           Gov. Aggregation   COH             209368750013                Gas           Gov. Aggregation
DUKE            0270038534                  Gas           Gov. Aggregation   COH             205897040015                Gas           Gov. Aggregation
DUKE            0840038732                  Gas           Gov. Aggregation   COH             207394370010                Gas           Gov. Aggregation
DUKE            0710212311                  Gas           Gov. Aggregation   COH             190300220063                Gas           Gov. Aggregation
DUKE            0610212319                  Gas           Gov. Aggregation   COH             204731820021                Gas           Gov. Aggregation
DUKE            0720038629                  Gas           Gov. Aggregation   COH             207527360019                Gas           Gov. Aggregation
DUKE            0660038724                  Gas           Gov. Aggregation   COH             208359250018                Gas           Gov. Aggregation
DUKE            0670038729                  Gas           Gov. Aggregation   COH             203411220017                Gas           Gov. Aggregation
COH             153085660019                Gas           Gov. Aggregation   COH             202417220025                Gas           Gov. Aggregation
COH             108728610010                Gas           Gov. Aggregation   COH             206624090011                Gas           Gov. Aggregation
COH             194872220022                Gas           Gov. Aggregation   COH             208865650011                Gas           Gov. Aggregation
COH             134624970013                Gas           Gov. Aggregation   COH             118813630120                Gas           Gov. Aggregation
DEO             8180011377403               Gas           Gov. Aggregation   COH             208731210016                Gas           Gov. Aggregation
DEO             4180016320014               Gas           Gov. Aggregation   COH             206323000017                Gas           Gov. Aggregation
DEO             6180013795227               Gas           Gov. Aggregation   COH             206109790016                Gas           Gov. Aggregation
DEO             6180011536610               Gas           Gov. Aggregation   COH             209633410011                Gas           Gov. Aggregation
DEO             6180013259043               Gas           Gov. Aggregation   COH             208131620012                Gas           Gov. Aggregation
DEO             8180012383429               Gas           Gov. Aggregation   COH             207049260014                Gas           Gov. Aggregation
DEO             9180005096854               Gas           Gov. Aggregation   COH             138704690072                Gas           Gov. Aggregation
DEO             4180014635213               Gas           Gov. Aggregation   COH             130089640012                Gas           Gov. Aggregation
DEO             9180014978301               Gas           Gov. Aggregation   COH             208148490015                Gas           Gov. Aggregation
DEO             9180013130533               Gas           Gov. Aggregation   COH             114703040014                Gas           Gov. Aggregation
DEO             6120000178019               Gas           Gov. Aggregation   COH             162678930158                Gas           Gov. Aggregation
COH             159455910024                Gas           Gov. Aggregation   COH             186992080028                Gas           Gov. Aggregation
COH             138944810023                Gas           Gov. Aggregation   COH             206960090019                Gas           Gov. Aggregation
COH             187600130016                Gas           Gov. Aggregation   COH             199896280034                Gas           Gov. Aggregation
COH             173042380014                Gas           Gov. Aggregation   COH             208943290011                Gas           Gov. Aggregation
COH             188404370011                Gas           Gov. Aggregation   COH             172494520090                Gas           Gov. Aggregation
COH             148476090017                Gas           Gov. Aggregation   COH             188990670053                Gas           Gov. Aggregation
COH             197998300017                Gas           Gov. Aggregation   COH             201768890023                Gas           Gov. Aggregation
COH             170654490026                Gas           Gov. Aggregation   COH             114671270051                Gas           Gov. Aggregation
COH             209082030010                Gas           Gov. Aggregation   COH             208699120015                Gas           Gov. Aggregation
COH             207870020013                Gas           Gov. Aggregation   COH             141313490050                Gas           Gov. Aggregation
COH             209272360018                Gas           Gov. Aggregation   COH             155829250202                Gas           Gov. Aggregation
COH             209162150015                Gas           Gov. Aggregation   COH             156158090100                Gas           Gov. Aggregation
COH             208460370018                Gas           Gov. Aggregation   COH             167262340032                Gas           Gov. Aggregation
COH             206798520013                Gas           Gov. Aggregation   COH             195546280039                Gas           Gov. Aggregation
COH             206781350014                Gas           Gov. Aggregation   COH             196104880029                Gas           Gov. Aggregation
COH             185099710011                Gas           Gov. Aggregation   COH             197184540021                Gas           Gov. Aggregation
COH             208204960016                Gas           Gov. Aggregation   COH             197895010025                Gas           Gov. Aggregation
COH             159406860073                Gas           Gov. Aggregation   COH             197916830036                Gas           Gov. Aggregation
COH             203976150034                Gas           Gov. Aggregation   COH             198593220020                Gas           Gov. Aggregation
COH             198844720022                Gas           Gov. Aggregation   COH             199727840024                Gas           Gov. Aggregation
COH             207325890043                Gas           Gov. Aggregation   COH             203861360024                Gas           Gov. Aggregation
COH             206505590018                Gas           Gov. Aggregation   COH             206643660011                Gas           Gov. Aggregation
COH             205773950016                Gas           Gov. Aggregation   COH             206651840016                Gas           Gov. Aggregation
COH             197774780039                Gas           Gov. Aggregation   COH             206665840017                Gas           Gov. Aggregation
COH             203750740038                Gas           Gov. Aggregation   COH             206879460014                Gas           Gov. Aggregation
COH             192749330111                Gas           Gov. Aggregation   COH             207046310019                Gas           Gov. Aggregation
COH             191652770035                Gas           Gov. Aggregation   COH             207157760010                Gas           Gov. Aggregation
COH             209326750011                Gas           Gov. Aggregation   COH             207166070016                Gas           Gov. Aggregation
COH             174237270040                Gas           Gov. Aggregation   COH             207532870011                Gas           Gov. Aggregation
COH             202675510028                Gas           Gov. Aggregation   COH             207661060018                Gas           Gov. Aggregation
COH             200076530044                Gas           Gov. Aggregation   COH             207675050011                Gas           Gov. Aggregation
COH             199469320030                Gas           Gov. Aggregation   COH             208593910013                Gas           Gov. Aggregation
COH             208961970010                Gas           Gov. Aggregation   COH             208626310018                Gas           Gov. Aggregation
COH             207564450012                Gas           Gov. Aggregation   COH             208689990014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             131728910054                Gas           Gov. Aggregation   COH             209047750013                Gas           Gov. Aggregation
COH             208417160013                Gas           Gov. Aggregation   COH             209201100011                Gas           Gov. Aggregation
COH             169820550023                Gas           Gov. Aggregation   COH             209240990013                Gas           Gov. Aggregation
COH             207806430012                Gas           Gov. Aggregation   COH             209506080010                Gas           Gov. Aggregation
COH             164807140086                Gas           Gov. Aggregation   COH             202604060022                Gas           Gov. Aggregation
COH             201547460021                Gas           Gov. Aggregation   COH             207744650018                Gas           Gov. Aggregation
COH             194018850057                Gas           Gov. Aggregation   COH             202093430010                Gas           Gov. Aggregation
COH             165156870029                Gas           Gov. Aggregation   COH             147152560024                Gas           Gov. Aggregation
COH             193427740081                Gas           Gov. Aggregation   COH             164572760030                Gas           Gov. Aggregation
COH             206521060024                Gas           Gov. Aggregation   COH             201091900016                Gas           Gov. Aggregation
COH             192047730026                Gas           Gov. Aggregation   COH             198206540013                Gas           Gov. Aggregation
COH             194916940036                Gas           Gov. Aggregation   COH             198223620010                Gas           Gov. Aggregation
COH             189091040023                Gas           Gov. Aggregation   COH             197082830035                Gas           Gov. Aggregation
COH             207146560015                Gas           Gov. Aggregation   COH             206117540011                Gas           Gov. Aggregation
COH             207924330013                Gas           Gov. Aggregation   COH             197081910030                Gas           Gov. Aggregation
COH             206905640019                Gas           Gov. Aggregation   COH             170212970030                Gas           Gov. Aggregation
COH             207107960013                Gas           Gov. Aggregation   COH             208928260019                Gas           Gov. Aggregation
COH             207374140029                Gas           Gov. Aggregation   COH             209380900220                Gas           Gov. Aggregation
COH             175944730089                Gas           Gov. Aggregation   COH             202533800018                Gas           Gov. Aggregation
COH             207548920017                Gas           Gov. Aggregation   COH             150981260016                Gas           Gov. Aggregation
COH             209403200012                Gas           Gov. Aggregation   COH             152553670024                Gas           Gov. Aggregation
COH             157178100097                Gas           Gov. Aggregation   COH             208732240018                Gas           Gov. Aggregation
COH             206505620011                Gas           Gov. Aggregation   COH             209463800010                Gas           Gov. Aggregation
COH             207696740012                Gas           Gov. Aggregation   COH             209620080018                Gas           Gov. Aggregation
COH             208861700018                Gas           Gov. Aggregation   COH             205792600019                Gas           Gov. Aggregation
COH             160412170054                Gas           Gov. Aggregation   COH             173280550041                Gas           Gov. Aggregation
COH             187189790129                Gas           Gov. Aggregation   COH             209380880010                Gas           Gov. Aggregation
COH             154157520096                Gas           Gov. Aggregation   COH             199138030014                Gas           Gov. Aggregation
COH             207940380019                Gas           Gov. Aggregation   COH             202175410010                Gas           Gov. Aggregation
COH             207565690038                Gas           Gov. Aggregation   COH             205969680018                Gas           Gov. Aggregation
COH             195404670055                Gas           Gov. Aggregation   COH             207272180018                Gas           Gov. Aggregation
COH             208453080014                Gas           Gov. Aggregation   COH             122484880032                Gas           Gov. Aggregation
COH             197533940062                Gas           Gov. Aggregation   COH             166860920024                Gas           Gov. Aggregation
COH             206942590012                Gas           Gov. Aggregation   COH             207419790018                Gas           Gov. Aggregation
COH             209901320011                Gas           Gov. Aggregation   COH             185350850018                Gas           Gov. Aggregation
COH             208781710016                Gas           Gov. Aggregation   COH             207690020015                Gas           Gov. Aggregation
COH             208025190018                Gas           Gov. Aggregation   COH             167756820025                Gas           Gov. Aggregation
COH             202369080028                Gas           Gov. Aggregation   COH             199019130015                Gas           Gov. Aggregation
COH             209820180013                Gas           Gov. Aggregation   COH             196086350011                Gas           Gov. Aggregation
COH             207887020018                Gas           Gov. Aggregation   COH             209656510012                Gas           Gov. Aggregation
COH             208804470017                Gas           Gov. Aggregation   COH             169995130022                Gas           Gov. Aggregation
COH             208286730012                Gas           Gov. Aggregation   COH             209163370017                Gas           Gov. Aggregation
COH             193460480022                Gas           Gov. Aggregation   COH             209611530012                Gas           Gov. Aggregation
COH             208607180025                Gas           Gov. Aggregation   COH             207988200016                Gas           Gov. Aggregation
COH             200667160021                Gas           Gov. Aggregation   COH             169416460038                Gas           Gov. Aggregation
COH             207792040015                Gas           Gov. Aggregation   COH             203460610021                Gas           Gov. Aggregation
COH             209967880016                Gas           Gov. Aggregation   COH             206584270019                Gas           Gov. Aggregation
COH             208888360014                Gas           Gov. Aggregation   COH             208803360012                Gas           Gov. Aggregation
COH             208895730011                Gas           Gov. Aggregation   COH             201863050027                Gas           Gov. Aggregation
COH             209895970010                Gas           Gov. Aggregation   COH             209241160015                Gas           Gov. Aggregation
COH             209187700017                Gas           Gov. Aggregation   COH             206549130012                Gas           Gov. Aggregation
COH             201034520025                Gas           Gov. Aggregation   COH             127180860017                Gas           Gov. Aggregation
COH             205945670010                Gas           Gov. Aggregation   COH             207660400018                Gas           Gov. Aggregation
COH             206572010018                Gas           Gov. Aggregation   COH             208065410017                Gas           Gov. Aggregation
COH             192420360040                Gas           Gov. Aggregation   COH             188138070037                Gas           Gov. Aggregation
COH             206954780017                Gas           Gov. Aggregation   COH             195344240026                Gas           Gov. Aggregation
COH             207810970010                Gas           Gov. Aggregation   COH             144547720017                Gas           Gov. Aggregation
COH             195439970077                Gas           Gov. Aggregation   COH             153385910010                Gas           Gov. Aggregation
COH             208019920017                Gas           Gov. Aggregation   COH             201281030016                Gas           Gov. Aggregation
COH             205983710011                Gas           Gov. Aggregation   COH             198882940035                Gas           Gov. Aggregation
COH             201675950027                Gas           Gov. Aggregation   COH             208985350010                Gas           Gov. Aggregation
COH             209282480012                Gas           Gov. Aggregation   COH             207176880015                Gas           Gov. Aggregation
COH             199798750033                Gas           Gov. Aggregation   COH             205854270017                Gas           Gov. Aggregation
COH             206201150014                Gas           Gov. Aggregation   COH             208921210013                Gas           Gov. Aggregation
COH             208997620018                Gas           Gov. Aggregation   COH             148511400051                Gas           Gov. Aggregation
COH             136384580031                Gas           Gov. Aggregation   COH             203344870023                Gas           Gov. Aggregation
COH             202394030016                Gas           Gov. Aggregation   COH             158980040043                Gas           Gov. Aggregation
COH             206268370018                Gas           Gov. Aggregation   COH             209116550018                Gas           Gov. Aggregation
COH             193023220068                Gas           Gov. Aggregation   COH             208477970017                Gas           Gov. Aggregation
COH             208689470013                Gas           Gov. Aggregation   COH             151190100060                Gas           Gov. Aggregation
COH             200862780045                Gas           Gov. Aggregation   COH             209623660010                Gas           Gov. Aggregation
COH             197729200053                Gas           Gov. Aggregation   COH             207848530013                Gas           Gov. Aggregation
COH             117344730054                Gas           Gov. Aggregation   COH             206802820019                Gas           Gov. Aggregation
COH             209938140012                Gas           Gov. Aggregation   COH             207789630018                Gas           Gov. Aggregation
COH             148379410088                Gas           Gov. Aggregation   COH             200684370021                Gas           Gov. Aggregation
COH             209240690016                Gas           Gov. Aggregation   COH             191887920018                Gas           Gov. Aggregation
COH             209872900012                Gas           Gov. Aggregation   COH             198134190010                Gas           Gov. Aggregation
COH             205524140022                Gas           Gov. Aggregation   COH             187368180047                Gas           Gov. Aggregation
COH             209856060013                Gas           Gov. Aggregation   COH             122391160049                Gas           Gov. Aggregation
COH             203115780036                Gas           Gov. Aggregation   COH             187561510047                Gas           Gov. Aggregation
COH             209791580012                Gas           Gov. Aggregation   COH             207893660011                Gas           Gov. Aggregation
COH             185566260042                Gas           Gov. Aggregation   COH             209644390013                Gas           Gov. Aggregation
COH             203109482781                Gas           Gov. Aggregation   COH             208639410010                Gas           Gov. Aggregation
COH             208453270014                Gas           Gov. Aggregation   COH             206698430014                Gas           Gov. Aggregation
COH             201445000032                Gas           Gov. Aggregation   COH             192328500055                Gas           Gov. Aggregation
COH             207339880028                Gas           Gov. Aggregation   COH             190733290044                Gas           Gov. Aggregation
COH             208019580019                Gas           Gov. Aggregation   COH             191069360010                Gas           Gov. Aggregation
COH             209294400013                Gas           Gov. Aggregation   COH             204340680039                Gas           Gov. Aggregation
COH             206452330015                Gas           Gov. Aggregation   COH             198889570020                Gas           Gov. Aggregation
COH             186376830062                Gas           Gov. Aggregation   COH             150742210165                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             136251360038                Gas           Gov. Aggregation   COH             207952820011                Gas           Gov. Aggregation
COH             202285160029                Gas           Gov. Aggregation   COH             206770910019                Gas           Gov. Aggregation
COH             209827000016                Gas           Gov. Aggregation   COH             207485050014                Gas           Gov. Aggregation
COH             207903870023                Gas           Gov. Aggregation   COH             176997060024                Gas           Gov. Aggregation
COH             199967230024                Gas           Gov. Aggregation   COH             194822650027                Gas           Gov. Aggregation
COH             207674720012                Gas           Gov. Aggregation   COH             201097620013                Gas           Gov. Aggregation
COH             201681200021                Gas           Gov. Aggregation   COH             201297570029                Gas           Gov. Aggregation
COH             207766980013                Gas           Gov. Aggregation   COH             201723050032                Gas           Gov. Aggregation
COH             206332540015                Gas           Gov. Aggregation   COH             163087370041                Gas           Gov. Aggregation
COH             206002110014                Gas           Gov. Aggregation   COH             207825950013                Gas           Gov. Aggregation
COH             163102600128                Gas           Gov. Aggregation   COH             173175670030                Gas           Gov. Aggregation
COH             206023910012                Gas           Gov. Aggregation   COH             176882470012                Gas           Gov. Aggregation
COH             207892740016                Gas           Gov. Aggregation   COH             112986860034                Gas           Gov. Aggregation
COH             205112250040                Gas           Gov. Aggregation   COH             189237380013                Gas           Gov. Aggregation
COH             208566650015                Gas           Gov. Aggregation   COH             164424890018                Gas           Gov. Aggregation
COH             206095320024                Gas           Gov. Aggregation   COH             204959260018                Gas           Gov. Aggregation
COH             206632880018                Gas           Gov. Aggregation   COH             209453600013                Gas           Gov. Aggregation
COH             208049440015                Gas           Gov. Aggregation   COH             195728270017                Gas           Gov. Aggregation
COH             119400810037                Gas           Gov. Aggregation   COH             195137990037                Gas           Gov. Aggregation
COH             204716210030                Gas           Gov. Aggregation   COH             198263130028                Gas           Gov. Aggregation
COH             203155870024                Gas           Gov. Aggregation   COH             204628400019                Gas           Gov. Aggregation
COH             209631590018                Gas           Gov. Aggregation   COH             199741810011                Gas           Gov. Aggregation
COH             208989590012                Gas           Gov. Aggregation   COH             204945390010                Gas           Gov. Aggregation
COH             206782650019                Gas           Gov. Aggregation   COH             130366380135                Gas           Gov. Aggregation
COH             207079250013                Gas           Gov. Aggregation   COH             209344650014                Gas           Gov. Aggregation
COH             145841530076                Gas           Gov. Aggregation   COH             188417730036                Gas           Gov. Aggregation
COH             118074010048                Gas           Gov. Aggregation   COH             162755900016                Gas           Gov. Aggregation
COH             207131290013                Gas           Gov. Aggregation   COH             122482840025                Gas           Gov. Aggregation
COH             209578710016                Gas           Gov. Aggregation   COH             159080440019                Gas           Gov. Aggregation
COH             206481930018                Gas           Gov. Aggregation   COH             141266540014                Gas           Gov. Aggregation
COH             141014930024                Gas           Gov. Aggregation   COH             209314750016                Gas           Gov. Aggregation
COH             195187130121                Gas           Gov. Aggregation   COH             206641400019                Gas           Gov. Aggregation
COH             192012160029                Gas           Gov. Aggregation   COH             207087890012                Gas           Gov. Aggregation
COH             193824360025                Gas           Gov. Aggregation   COH             209163350011                Gas           Gov. Aggregation
COH             203666170019                Gas           Gov. Aggregation   COH             205855350018                Gas           Gov. Aggregation
COH             198623030016                Gas           Gov. Aggregation   COH             175339150048                Gas           Gov. Aggregation
COH             138225150080                Gas           Gov. Aggregation   COH             190236760049                Gas           Gov. Aggregation
COH             176994520050                Gas           Gov. Aggregation   COH             177773660030                Gas           Gov. Aggregation
COH             156190230022                Gas           Gov. Aggregation   COH             191222080031                Gas           Gov. Aggregation
COH             208118060018                Gas           Gov. Aggregation   COH             150763030016                Gas           Gov. Aggregation
COH             209826820016                Gas           Gov. Aggregation   COH             165518360028                Gas           Gov. Aggregation
COH             207093770014                Gas           Gov. Aggregation   COH             206715250014                Gas           Gov. Aggregation
COH             208301350018                Gas           Gov. Aggregation   COH             207665690018                Gas           Gov. Aggregation
COH             199760820037                Gas           Gov. Aggregation   COH             208093270018                Gas           Gov. Aggregation
COH             177791900102                Gas           Gov. Aggregation   COH             208301820019                Gas           Gov. Aggregation
COH             133553130075                Gas           Gov. Aggregation   COH             208333850016                Gas           Gov. Aggregation
COH             204534460196                Gas           Gov. Aggregation   COH             194951090022                Gas           Gov. Aggregation
COH             207605870016                Gas           Gov. Aggregation   COH             209392240019                Gas           Gov. Aggregation
COH             207121770013                Gas           Gov. Aggregation   COH             206757250016                Gas           Gov. Aggregation
COH             208994580013                Gas           Gov. Aggregation   COH             208421960016                Gas           Gov. Aggregation
COH             117488000026                Gas           Gov. Aggregation   COH             206792990017                Gas           Gov. Aggregation
COH             209190630015                Gas           Gov. Aggregation   COH             161519200023                Gas           Gov. Aggregation
COH             193245980078                Gas           Gov. Aggregation   COH             208600370010                Gas           Gov. Aggregation
COH             153941070044                Gas           Gov. Aggregation   COH             201586610027                Gas           Gov. Aggregation
COH             188606580055                Gas           Gov. Aggregation   COH             206949880017                Gas           Gov. Aggregation
COH             206770420012                Gas           Gov. Aggregation   COH             206268730012                Gas           Gov. Aggregation
DUKE            4660398702                  Gas           Gov. Aggregation   COH             209531760014                Gas           Gov. Aggregation
COH             192361140024                Gas           Gov. Aggregation   COH             208166160016                Gas           Gov. Aggregation
COH             200568610080                Gas           Gov. Aggregation   COH             207903690012                Gas           Gov. Aggregation
COH             208109640015                Gas           Gov. Aggregation   COH             206088190018                Gas           Gov. Aggregation
COH             200839640025                Gas           Gov. Aggregation   COH             208973180011                Gas           Gov. Aggregation
COH             207240950013                Gas           Gov. Aggregation   COH             209392250017                Gas           Gov. Aggregation
COH             205672870026                Gas           Gov. Aggregation   COH             208293240010                Gas           Gov. Aggregation
COH             197775940015                Gas           Gov. Aggregation   COH             207902430018                Gas           Gov. Aggregation
COH             176855760045                Gas           Gov. Aggregation   COH             201578580012                Gas           Gov. Aggregation
COH             208752710017                Gas           Gov. Aggregation   COH             209649870012                Gas           Gov. Aggregation
COH             117155080043                Gas           Gov. Aggregation   COH             194715220015                Gas           Gov. Aggregation
COH             202781440046                Gas           Gov. Aggregation   COH             207816420013                Gas           Gov. Aggregation
COH             209392430019                Gas           Gov. Aggregation   COH             208153520017                Gas           Gov. Aggregation
COH             186054030099                Gas           Gov. Aggregation   COH             202416320017                Gas           Gov. Aggregation
COH             208647800011                Gas           Gov. Aggregation   COH             170254370038                Gas           Gov. Aggregation
COH             206068600013                Gas           Gov. Aggregation   COH             208943000011                Gas           Gov. Aggregation
COH             204903080059                Gas           Gov. Aggregation   COH             206257130011                Gas           Gov. Aggregation
COH             206548370014                Gas           Gov. Aggregation   COH             208298760011                Gas           Gov. Aggregation
COH             203042900053                Gas           Gov. Aggregation   COH             207165790017                Gas           Gov. Aggregation
COH             209321070032                Gas           Gov. Aggregation   COH             199577560022                Gas           Gov. Aggregation
COH             162066040036                Gas           Gov. Aggregation   COH             171053330022                Gas           Gov. Aggregation
COH             207155000013                Gas           Gov. Aggregation   COH             193954590022                Gas           Gov. Aggregation
COH             204835660025                Gas           Gov. Aggregation   COH             206626000015                Gas           Gov. Aggregation
COH             192671070022                Gas           Gov. Aggregation   COH             207724980011                Gas           Gov. Aggregation
COH             201434520027                Gas           Gov. Aggregation   COH             196792310030                Gas           Gov. Aggregation
COH             186076390034                Gas           Gov. Aggregation   COH             203790040022                Gas           Gov. Aggregation
COH             206408210013                Gas           Gov. Aggregation   COH             200804790027                Gas           Gov. Aggregation
COH             208157200016                Gas           Gov. Aggregation   COH             205224730015                Gas           Gov. Aggregation
COH             209015800019                Gas           Gov. Aggregation   COH             208253120019                Gas           Gov. Aggregation
COH             209950700018                Gas           Gov. Aggregation   COH             207022230016                Gas           Gov. Aggregation
COH             209056180014                Gas           Gov. Aggregation   COH             201034430033                Gas           Gov. Aggregation
COH             209311270013                Gas           Gov. Aggregation   COH             206933050014                Gas           Gov. Aggregation
COH             141608020080                Gas           Gov. Aggregation   COH             172461040018                Gas           Gov. Aggregation
COH             200101980045                Gas           Gov. Aggregation   COH             209402800018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             208647810019                Gas           Gov. Aggregation   COH             206744650019                Gas           Gov. Aggregation
COH             209200560017                Gas           Gov. Aggregation   COH             207168860016                Gas           Gov. Aggregation
COH             208699980015                Gas           Gov. Aggregation   COH             205975670026                Gas           Gov. Aggregation
COH             206600590016                Gas           Gov. Aggregation   COH             207773230015                Gas           Gov. Aggregation
COH             208699980033                Gas           Gov. Aggregation   COH             208211440010                Gas           Gov. Aggregation
COH             208488700010                Gas           Gov. Aggregation   COH             208092660018                Gas           Gov. Aggregation
COH             209790050015                Gas           Gov. Aggregation   COH             196983020036                Gas           Gov. Aggregation
COH             207728070014                Gas           Gov. Aggregation   COH             208081490017                Gas           Gov. Aggregation
COH             208597980039                Gas           Gov. Aggregation   COH             208781210011                Gas           Gov. Aggregation
COH             158911020033                Gas           Gov. Aggregation   COH             208772260010                Gas           Gov. Aggregation
COH             209453290019                Gas           Gov. Aggregation   COH             208647650013                Gas           Gov. Aggregation
COH             207313060015                Gas           Gov. Aggregation   COH             206412710019                Gas           Gov. Aggregation
COH             147770920091                Gas           Gov. Aggregation   COH             192322130046                Gas           Gov. Aggregation
COH             204897800034                Gas           Gov. Aggregation   COH             187981660037                Gas           Gov. Aggregation
COH             208767890019                Gas           Gov. Aggregation   COH             196241110039                Gas           Gov. Aggregation
COH             207941230018                Gas           Gov. Aggregation   COH             151224410053                Gas           Gov. Aggregation
COH             208710750017                Gas           Gov. Aggregation   COH             206107200013                Gas           Gov. Aggregation
COH             161617770115                Gas           Gov. Aggregation   COH             132187450021                Gas           Gov. Aggregation
COH             207944950011                Gas           Gov. Aggregation   COH             201160560011                Gas           Gov. Aggregation
COH             207434620011                Gas           Gov. Aggregation   VEDO            4021403262242093            Gas           Gov. Aggregation
COH             197054110026                Gas           Gov. Aggregation   VEDO            4001764922377870            Gas           Gov. Aggregation
COH             206828040019                Gas           Gov. Aggregation   VEDO            4020334442363940            Gas           Gov. Aggregation
COH             206088510010                Gas           Gov. Aggregation   VEDO            4020075322256358            Gas           Gov. Aggregation
COH             209752870013                Gas           Gov. Aggregation   VEDO            4019342052224976            Gas           Gov. Aggregation
COH             167474360039                Gas           Gov. Aggregation   VEDO            4017394652164310            Gas           Gov. Aggregation
COH             209355270011                Gas           Gov. Aggregation   VEDO            4015722602637902            Gas           Gov. Aggregation
COH             207046110011                Gas           Gov. Aggregation   VEDO            4017986192350763            Gas           Gov. Aggregation
COH             192867010047                Gas           Gov. Aggregation   VEDO            4015973622434908            Gas           Gov. Aggregation
COH             207495720012                Gas           Gov. Aggregation   VEDO            4019508062320316            Gas           Gov. Aggregation
COH             206544530018                Gas           Gov. Aggregation   VEDO            4017733182158506            Gas           Gov. Aggregation
COH             206438460027                Gas           Gov. Aggregation   VEDO            4018823312199231            Gas           Gov. Aggregation
COH             208780600011                Gas           Gov. Aggregation   VEDO            4005148092527501            Gas           Gov. Aggregation
COH             207933780010                Gas           Gov. Aggregation   VEDO            4015075082316718            Gas           Gov. Aggregation
COH             164810940045                Gas           Gov. Aggregation   VEDO            4021174632644635            Gas           Gov. Aggregation
COH             204844110021                Gas           Gov. Aggregation   VEDO            4021075712309299            Gas           Gov. Aggregation
COH             208024660011                Gas           Gov. Aggregation   VEDO            4020848292223987            Gas           Gov. Aggregation
COH             204278460029                Gas           Gov. Aggregation   VEDO            4016616352474942            Gas           Gov. Aggregation
COH             207695050019                Gas           Gov. Aggregation   VEDO            4017705512284201            Gas           Gov. Aggregation
COH             200194440025                Gas           Gov. Aggregation   VEDO            4002314352226460            Gas           Gov. Aggregation
COH             208424800013                Gas           Gov. Aggregation   VEDO            4019000422117370            Gas           Gov. Aggregation
COH             206601430017                Gas           Gov. Aggregation   VEDO            4015258542333701            Gas           Gov. Aggregation
COH             208854490018                Gas           Gov. Aggregation   COH             115516530017                Gas           Gov. Aggregation
COH             185298380055                Gas           Gov. Aggregation   VEDO            4021398222502399            Gas           Gov. Aggregation
COH             207444480010                Gas           Gov. Aggregation   VEDO            4002685182243548            Gas           Gov. Aggregation
COH             192461620110                Gas           Gov. Aggregation   VEDO            4020852682257747            Gas           Gov. Aggregation
COH             194694890048                Gas           Gov. Aggregation   VEDO            4019256182198922            Gas           Gov. Aggregation
COH             206770480010                Gas           Gov. Aggregation   VEDO            4015927392482906            Gas           Gov. Aggregation
COH             208311170015                Gas           Gov. Aggregation   VEDO            4002472692480204            Gas           Gov. Aggregation
COH             209791480013                Gas           Gov. Aggregation   VEDO            4021487062370464            Gas           Gov. Aggregation
COH             165913230107                Gas           Gov. Aggregation   VEDO            4021288382452055            Gas           Gov. Aggregation
COH             206821380012                Gas           Gov. Aggregation   VEDO            4021433212218115            Gas           Gov. Aggregation
COH             209812890011                Gas           Gov. Aggregation   VEDO            4017568162364363            Gas           Gov. Aggregation
COH             186071210102                Gas           Gov. Aggregation   VEDO            4021244072323495            Gas           Gov. Aggregation
COH             207344350019                Gas           Gov. Aggregation   VEDO            4018187772217456            Gas           Gov. Aggregation
COH             197787720098                Gas           Gov. Aggregation   VEDO            4021516562121717            Gas           Gov. Aggregation
COH             206172850010                Gas           Gov. Aggregation   VEDO            4021455572285868            Gas           Gov. Aggregation
COH             192248210056                Gas           Gov. Aggregation   VEDO            4021079452154571            Gas           Gov. Aggregation
COH             117423500072                Gas           Gov. Aggregation   VEDO            4020171822213912            Gas           Gov. Aggregation
COH             206691960017                Gas           Gov. Aggregation   VEDO            4015816252199018            Gas           Gov. Aggregation
COH             206945790014                Gas           Gov. Aggregation   VEDO            4021489192168217            Gas           Gov. Aggregation
COH             117305900014                Gas           Gov. Aggregation   VEDO            4021430692457620            Gas           Gov. Aggregation
COH             191265660039                Gas           Gov. Aggregation   VEDO            4021465622338023            Gas           Gov. Aggregation
COH             204534460178                Gas           Gov. Aggregation   VEDO            4021452812311368            Gas           Gov. Aggregation
COH             167474360057                Gas           Gov. Aggregation   VEDO            4017991132179816            Gas           Gov. Aggregation
COH             209238790010                Gas           Gov. Aggregation   VEDO            4018575122637697            Gas           Gov. Aggregation
COH             175252500128                Gas           Gov. Aggregation   VEDO            4021524582365668            Gas           Gov. Aggregation
COH             209602660014                Gas           Gov. Aggregation   VEDO            4021045222497722            Gas           Gov. Aggregation
COH             191795330044                Gas           Gov. Aggregation   VEDO            4017714422355752            Gas           Gov. Aggregation
COH             131094890214                Gas           Gov. Aggregation   COH             204139090012                Gas           Gov. Aggregation
COH             155958220072                Gas           Gov. Aggregation   COH             205114760012                Gas           Gov. Aggregation
COH             207779560014                Gas           Gov. Aggregation   COH             206827450015                Gas           Gov. Aggregation
COH             208488710018                Gas           Gov. Aggregation   COH             206197300013                Gas           Gov. Aggregation
COH             207892590018                Gas           Gov. Aggregation   COH             203332470013                Gas           Gov. Aggregation
COH             206888650015                Gas           Gov. Aggregation   COH             209292210017                Gas           Gov. Aggregation
COH             206424200011                Gas           Gov. Aggregation   COH             185539140035                Gas           Gov. Aggregation
COH             207052280013                Gas           Gov. Aggregation   COH             206721640019                Gas           Gov. Aggregation
COH             202891100044                Gas           Gov. Aggregation   COH             204256120017                Gas           Gov. Aggregation
COH             193125510089                Gas           Gov. Aggregation   COH             206072790015                Gas           Gov. Aggregation
COH             208730510015                Gas           Gov. Aggregation   COH             204203090015                Gas           Gov. Aggregation
COH             198008510046                Gas           Gov. Aggregation   COH             207791860015                Gas           Gov. Aggregation
COH             208798290010                Gas           Gov. Aggregation   COH             208774860010                Gas           Gov. Aggregation
COH             206949580010                Gas           Gov. Aggregation   COH             201435310010                Gas           Gov. Aggregation
COH             207933710014                Gas           Gov. Aggregation   COH             202368940010                Gas           Gov. Aggregation
COH             193330080058                Gas           Gov. Aggregation   COH             204758430018                Gas           Gov. Aggregation
COH             206211060012                Gas           Gov. Aggregation   COH             209288010018                Gas           Gov. Aggregation
COH             209194200017                Gas           Gov. Aggregation   COH             199928820031                Gas           Gov. Aggregation
COH             202680790029                Gas           Gov. Aggregation   COH             207312910018                Gas           Gov. Aggregation
COH             208729520016                Gas           Gov. Aggregation   COH             205443940017                Gas           Gov. Aggregation
COH             209003040014                Gas           Gov. Aggregation   COH             206788010011                Gas           Gov. Aggregation
COH             206741990041                Gas           Gov. Aggregation   COH             168547020025                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             207887950013                Gas           Gov. Aggregation   COH             170905550039                Gas           Gov. Aggregation
COH             208623010017                Gas           Gov. Aggregation   COH             209094040013                Gas           Gov. Aggregation
COH             192733680040                Gas           Gov. Aggregation   COH             189517870034                Gas           Gov. Aggregation
COH             206632870010                Gas           Gov. Aggregation   COH             189517870043                Gas           Gov. Aggregation
COH             202789940027                Gas           Gov. Aggregation   COH             207017640011                Gas           Gov. Aggregation
COH             208027770012                Gas           Gov. Aggregation   COH             205202790019                Gas           Gov. Aggregation
COH             206533500017                Gas           Gov. Aggregation   COH             208774840014                Gas           Gov. Aggregation
COH             204534460203                Gas           Gov. Aggregation   COH             204791370011                Gas           Gov. Aggregation
COH             131134180020                Gas           Gov. Aggregation   COH             186650660011                Gas           Gov. Aggregation
COH             208377260018                Gas           Gov. Aggregation   COH             192284560011                Gas           Gov. Aggregation
COH             209855150016                Gas           Gov. Aggregation   COH             197884880017                Gas           Gov. Aggregation
COH             209327830012                Gas           Gov. Aggregation   COH             136493160010                Gas           Gov. Aggregation
COH             172329924475                Gas           Gov. Aggregation   COH             191718120031                Gas           Gov. Aggregation
COH             208205000015                Gas           Gov. Aggregation   COH             171875150019                Gas           Gov. Aggregation
COH             186170680033                Gas           Gov. Aggregation   COH             209626400018                Gas           Gov. Aggregation
COH             145887960105                Gas           Gov. Aggregation   COH             129143580030                Gas           Gov. Aggregation
COH             200462500023                Gas           Gov. Aggregation   COH             140819900016                Gas           Gov. Aggregation
COH             193311580035                Gas           Gov. Aggregation   COH             197814640014                Gas           Gov. Aggregation
COH             206427170012                Gas           Gov. Aggregation   COH             190329950015                Gas           Gov. Aggregation
COH             207565790126                Gas           Gov. Aggregation   COH             209392200017                Gas           Gov. Aggregation
COH             159773150048                Gas           Gov. Aggregation   COH             206642970018                Gas           Gov. Aggregation
COH             207924790017                Gas           Gov. Aggregation   COH             198660990026                Gas           Gov. Aggregation
COH             155332900057                Gas           Gov. Aggregation   COH             204599390033                Gas           Gov. Aggregation
COH             190377000068                Gas           Gov. Aggregation   COH             201435210011                Gas           Gov. Aggregation
COH             205468440038                Gas           Gov. Aggregation   COH             174758630031                Gas           Gov. Aggregation
COH             208818980011                Gas           Gov. Aggregation   COH             200670220030                Gas           Gov. Aggregation
COH             208982900010                Gas           Gov. Aggregation   COH             173219160015                Gas           Gov. Aggregation
COH             209047160017                Gas           Gov. Aggregation   COH             208573000016                Gas           Gov. Aggregation
COH             192462810029                Gas           Gov. Aggregation   COH             201803700026                Gas           Gov. Aggregation
COH             207876800017                Gas           Gov. Aggregation   COH             203716400013                Gas           Gov. Aggregation
COH             207986540019                Gas           Gov. Aggregation   COH             175087920050                Gas           Gov. Aggregation
COH             150359530170                Gas           Gov. Aggregation   COH             201506880010                Gas           Gov. Aggregation
COH             196870560014                Gas           Gov. Aggregation   COH             207468480010                Gas           Gov. Aggregation
COH             208818970013                Gas           Gov. Aggregation   COH             202055030014                Gas           Gov. Aggregation
COH             196815070059                Gas           Gov. Aggregation   COH             207022100013                Gas           Gov. Aggregation
COH             193807100052                Gas           Gov. Aggregation   COH             197894730017                Gas           Gov. Aggregation
COH             206223970016                Gas           Gov. Aggregation   COH             204559600014                Gas           Gov. Aggregation
COH             196888410054                Gas           Gov. Aggregation   COH             115788510016                Gas           Gov. Aggregation
COH             207137940032                Gas           Gov. Aggregation   COH             167961420033                Gas           Gov. Aggregation
COH             204695350019                Gas           Gov. Aggregation   COH             208559990019                Gas           Gov. Aggregation
COH             208900940014                Gas           Gov. Aggregation   COH             206684770012                Gas           Gov. Aggregation
COH             206720850017                Gas           Gov. Aggregation   COH             196621730060                Gas           Gov. Aggregation
COH             192588630058                Gas           Gov. Aggregation   COH             208926390016                Gas           Gov. Aggregation
COH             160805770064                Gas           Gov. Aggregation   COH             209240520011                Gas           Gov. Aggregation
COH             209441150013                Gas           Gov. Aggregation   COH             206064770016                Gas           Gov. Aggregation
COH             207155770012                Gas           Gov. Aggregation   COH             209232340016                Gas           Gov. Aggregation
COH             161357500097                Gas           Gov. Aggregation   COH             208354650014                Gas           Gov. Aggregation
COH             187808640135                Gas           Gov. Aggregation   COH             207724360011                Gas           Gov. Aggregation
COH             194721080049                Gas           Gov. Aggregation   COH             115809970014                Gas           Gov. Aggregation
COH             202092400018                Gas           Gov. Aggregation   COH             206268700018                Gas           Gov. Aggregation
COH             209532000011                Gas           Gov. Aggregation   COH             203293530014                Gas           Gov. Aggregation
COH             204534460212                Gas           Gov. Aggregation   COH             206802250019                Gas           Gov. Aggregation
COH             175840800137                Gas           Gov. Aggregation   COH             206562510023                Gas           Gov. Aggregation
COH             165105510085                Gas           Gov. Aggregation   COH             208098700017                Gas           Gov. Aggregation
COH             158430780169                Gas           Gov. Aggregation   COH             204527330045                Gas           Gov. Aggregation
COH             207320810012                Gas           Gov. Aggregation   COH             208926400013                Gas           Gov. Aggregation
COH             194494630019                Gas           Gov. Aggregation   COH             207506380019                Gas           Gov. Aggregation
COH             203894660022                Gas           Gov. Aggregation   COH             207430890013                Gas           Gov. Aggregation
COH             209944900019                Gas           Gov. Aggregation   COH             207732800011                Gas           Gov. Aggregation
COH             209054800017                Gas           Gov. Aggregation   COH             208688390012                Gas           Gov. Aggregation
COH             188564120042                Gas           Gov. Aggregation   COH             209588540011                Gas           Gov. Aggregation
COH             206998910017                Gas           Gov. Aggregation   COH             206613020018                Gas           Gov. Aggregation
COH             208556740017                Gas           Gov. Aggregation   COH             208912040018                Gas           Gov. Aggregation
COH             209123450014                Gas           Gov. Aggregation   VEDO            4018162582214248            Gas           Gov. Aggregation
COH             207463770019                Gas           Gov. Aggregation   VEDO            4021160422250225            Gas           Gov. Aggregation
COH             203005520060                Gas           Gov. Aggregation   VEDO            4021529672459621            Gas           Gov. Aggregation
COH             206632770011                Gas           Gov. Aggregation   VEDO            4021537452143597            Gas           Gov. Aggregation
COH             200437880027                Gas           Gov. Aggregation   VEDO            4021524012451100            Gas           Gov. Aggregation
COH             159773400072                Gas           Gov. Aggregation   VEDO            4021162852290206            Gas           Gov. Aggregation
COH             208545890019                Gas           Gov. Aggregation   VEDO            4019433262152706            Gas           Gov. Aggregation
COH             208680060017                Gas           Gov. Aggregation   VEDO            4020313482439410            Gas           Gov. Aggregation
COH             208287830019                Gas           Gov. Aggregation   VEDO            4021107712498676            Gas           Gov. Aggregation
COH             206603220017                Gas           Gov. Aggregation   VEDO            4010007092251086            Gas           Gov. Aggregation
COH             209611200011                Gas           Gov. Aggregation   VEDO            4021197562299289            Gas           Gov. Aggregation
COH             205630830022                Gas           Gov. Aggregation   VEDO            4021172662333410            Gas           Gov. Aggregation
COH             169279440169                Gas           Gov. Aggregation   VEDO            4021245692501243            Gas           Gov. Aggregation
COH             199841400042                Gas           Gov. Aggregation   VEDO            4021464712366173            Gas           Gov. Aggregation
COH             207553060017                Gas           Gov. Aggregation   VEDO            4021484792111074            Gas           Gov. Aggregation
COH             207696660019                Gas           Gov. Aggregation   VEDO            4021052102459799            Gas           Gov. Aggregation
COH             209230550016                Gas           Gov. Aggregation   VEDO            4021271472164661            Gas           Gov. Aggregation
COH             136836940296                Gas           Gov. Aggregation   VEDO            4021287922239977            Gas           Gov. Aggregation
COH             209938220015                Gas           Gov. Aggregation   VEDO            4015110482330772            Gas           Gov. Aggregation
COH             208566570012                Gas           Gov. Aggregation   VEDO            4016273162323559            Gas           Gov. Aggregation
COH             143282450053                Gas           Gov. Aggregation   VEDO            4015057632377038            Gas           Gov. Aggregation
COH             201821250023                Gas           Gov. Aggregation   VEDO            4021035042219208            Gas           Gov. Aggregation
COH             206183600019                Gas           Gov. Aggregation   VEDO            4021432022483254            Gas           Gov. Aggregation
COH             206494190017                Gas           Gov. Aggregation   VEDO            4018976602402918            Gas           Gov. Aggregation
COH             208054860016                Gas           Gov. Aggregation   VEDO            4003714502369884            Gas           Gov. Aggregation
COH             199722380021                Gas           Gov. Aggregation   VEDO            4020084832146962            Gas           Gov. Aggregation
COH             208763690019                Gas           Gov. Aggregation   VEDO            4017210102286137            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             195159200063                Gas           Gov. Aggregation   VEDO         4018611802519830            Gas           Gov. Aggregation
COH             209856090017                Gas           Gov. Aggregation   VEDO         4003582012355851            Gas           Gov. Aggregation
COH             117364560012                Gas           Gov. Aggregation   VEDO         4003415462338424            Gas           Gov. Aggregation
COH             208623450015                Gas           Gov. Aggregation   VEDO         4021013112101152            Gas           Gov. Aggregation
COH             196602030030                Gas           Gov. Aggregation   VEDO         4018079372275807            Gas           Gov. Aggregation
COH             154399990096                Gas           Gov. Aggregation   VEDO         4021076342373723            Gas           Gov. Aggregation
COH             174992100107                Gas           Gov. Aggregation   VEDO         4020313272152947            Gas           Gov. Aggregation
COH             139922150018                Gas           Gov. Aggregation   VEDO         4021210752127179            Gas           Gov. Aggregation
COH             209058900018                Gas           Gov. Aggregation   VEDO         4021299732258282            Gas           Gov. Aggregation
DEO             1500039938156               Gas           Gov. Aggregation   VEDO         4021526142522089            Gas           Gov. Aggregation
DEO             1500002650025               Gas           Gov. Aggregation   VEDO         4010007092383999            Gas           Gov. Aggregation
DEO             1500035042985               Gas           Gov. Aggregation   VEDO         4021230392318524            Gas           Gov. Aggregation
COH             208669100012                Gas           Gov. Aggregation   VEDO         4021414412413925            Gas           Gov. Aggregation
COH             155526710047                Gas           Gov. Aggregation   VEDO         4018796092218150            Gas           Gov. Aggregation
COH             170812170063                Gas           Gov. Aggregation   VEDO         4021259192164821            Gas           Gov. Aggregation
COH             207567210016                Gas           Gov. Aggregation   VEDO         4020051452498121            Gas           Gov. Aggregation
COH             201476720018                Gas           Gov. Aggregation   VEDO         4021246692209110            Gas           Gov. Aggregation
COH             155764950221                Gas           Gov. Aggregation   VEDO         4021508012386177            Gas           Gov. Aggregation
COH             193114271788                Gas           Gov. Aggregation   VEDO         4019292562491266            Gas           Gov. Aggregation
COH             209532220015                Gas           Gov. Aggregation   VEDO         4017550442401133            Gas           Gov. Aggregation
COH             208488860017                Gas           Gov. Aggregation   VEDO         4002940822517483            Gas           Gov. Aggregation
COH             207079200013                Gas           Gov. Aggregation   VEDO         4017338492472322            Gas           Gov. Aggregation
COH             206632860012                Gas           Gov. Aggregation   VEDO         4017369052476336            Gas           Gov. Aggregation
COH             117362800015                Gas           Gov. Aggregation   VEDO         4003624762360422            Gas           Gov. Aggregation
COH             209918920010                Gas           Gov. Aggregation   VEDO         4019892412165982            Gas           Gov. Aggregation
COH             203555100027                Gas           Gov. Aggregation   VEDO         4016887782392194            Gas           Gov. Aggregation
COH             204612520035                Gas           Gov. Aggregation   VEDO         4021433022313325            Gas           Gov. Aggregation
COH             208038780017                Gas           Gov. Aggregation   VEDO         4020833742151019            Gas           Gov. Aggregation
COH             209864710019                Gas           Gov. Aggregation   VEDO         4019833202250051            Gas           Gov. Aggregation
COH             209640690018                Gas           Gov. Aggregation   VEDO         4021080192169319            Gas           Gov. Aggregation
COH             189556450085                Gas           Gov. Aggregation   VEDO         4021083942500633            Gas           Gov. Aggregation
COH             208542960010                Gas           Gov. Aggregation   VEDO         4019424272296002            Gas           Gov. Aggregation
COH             193109140036                Gas           Gov. Aggregation   VEDO         4016592082491150            Gas           Gov. Aggregation
COH             205785850030                Gas           Gov. Aggregation   VEDO         4018337562218960            Gas           Gov. Aggregation
COH             207154660017                Gas           Gov. Aggregation   VEDO         4021405872442729            Gas           Gov. Aggregation
COH             209030660017                Gas           Gov. Aggregation   VEDO         4018043812344325            Gas           Gov. Aggregation
COH             209915800011                Gas           Gov. Aggregation   VEDO         4016147682166900            Gas           Gov. Aggregation
COH             206214040010                Gas           Gov. Aggregation   VEDO         4021416182179492            Gas           Gov. Aggregation
COH             208976090014                Gas           Gov. Aggregation   VEDO         4003835132274833            Gas           Gov. Aggregation
COH             194304650025                Gas           Gov. Aggregation   VEDO         4021029712340927            Gas           Gov. Aggregation
COH             208409600017                Gas           Gov. Aggregation   VEDO         4016061632246431            Gas           Gov. Aggregation
COH             200193690025                Gas           Gov. Aggregation   VEDO         4019986862369445            Gas           Gov. Aggregation
COH             134174280031                Gas           Gov. Aggregation   VEDO         4019043392414864            Gas           Gov. Aggregation
COH             143639800123                Gas           Gov. Aggregation   VEDO         4015417412115021            Gas           Gov. Aggregation
COH             143939120013                Gas           Gov. Aggregation   VEDO         4021398992473759            Gas           Gov. Aggregation
COH             205434800024                Gas           Gov. Aggregation   VEDO         4021241632162196            Gas           Gov. Aggregation
COH             205673040019                Gas           Gov. Aggregation   VEDO         4021165412518441            Gas           Gov. Aggregation
COH             207616260011                Gas           Gov. Aggregation   VEDO         4021230072334436            Gas           Gov. Aggregation
COH             206029510014                Gas           Gov. Aggregation   VEDO         4021431132353706            Gas           Gov. Aggregation
COH             185946620111                Gas           Gov. Aggregation   VEDO         4020186952148026            Gas           Gov. Aggregation
COH             201781400018                Gas           Gov. Aggregation   VEDO         4021500932503812            Gas           Gov. Aggregation
COH             206439210018                Gas           Gov. Aggregation   VEDO         4021103562515410            Gas           Gov. Aggregation
COH             207157910018                Gas           Gov. Aggregation   VEDO         4021212212379837            Gas           Gov. Aggregation
COH             208756800010                Gas           Gov. Aggregation   VEDO         4021022092125582            Gas           Gov. Aggregation
COH             194997740010                Gas           Gov. Aggregation   VEDO         4019923182154120            Gas           Gov. Aggregation
COH             206643830015                Gas           Gov. Aggregation   VEDO         4021250492515720            Gas           Gov. Aggregation
COH             206633520011                Gas           Gov. Aggregation   VEDO         4015274462498520            Gas           Gov. Aggregation
COH             123757470047                Gas           Gov. Aggregation   VEDO         4021482342477378            Gas           Gov. Aggregation
COH             205475970014                Gas           Gov. Aggregation   VEDO         4021310052319526            Gas           Gov. Aggregation
COH             208585070017                Gas           Gov. Aggregation   VEDO         4019311052266802            Gas           Gov. Aggregation
COH             206986710014                Gas           Gov. Aggregation   VEDO         4020228882349802            Gas           Gov. Aggregation
COH             193837090025                Gas           Gov. Aggregation   VEDO         4021113742496380            Gas           Gov. Aggregation
COH             198018920021                Gas           Gov. Aggregation   VEDO         4021508672165906            Gas           Gov. Aggregation
COH             205696990012                Gas           Gov. Aggregation   VEDO         4016393402298836            Gas           Gov. Aggregation
COH             203098190010                Gas           Gov. Aggregation   VEDO         4020091102391906            Gas           Gov. Aggregation
COH             192393180047                Gas           Gov. Aggregation   VEDO         4017260302195199            Gas           Gov. Aggregation
COH             140861880030                Gas           Gov. Aggregation   VEDO         4021513412305105            Gas           Gov. Aggregation
COH             203619090015                Gas           Gov. Aggregation   VEDO         4019382102227693            Gas           Gov. Aggregation
COH             144901240052                Gas           Gov. Aggregation   VEDO         4019756362277255            Gas           Gov. Aggregation
COH             207624980013                Gas           Gov. Aggregation   VEDO         4020837012529230            Gas           Gov. Aggregation
COH             195623600037                Gas           Gov. Aggregation   VEDO         4021300272113234            Gas           Gov. Aggregation
COH             203580440014                Gas           Gov. Aggregation   VEDO         4021473412301720            Gas           Gov. Aggregation
COH             123800390032                Gas           Gov. Aggregation   VEDO         4017051202102660            Gas           Gov. Aggregation
COH             176695380036                Gas           Gov. Aggregation   VEDO         4004635472470403            Gas           Gov. Aggregation
COH             123799500024                Gas           Gov. Aggregation   VEDO         4020139232428488            Gas           Gov. Aggregation
COH             202227800017                Gas           Gov. Aggregation   VEDO         4019240842425267            Gas           Gov. Aggregation
COH             157427270039                Gas           Gov. Aggregation   VEDO         4019943982506714            Gas           Gov. Aggregation
COH             199134010025                Gas           Gov. Aggregation   VEDO         4021516302338992            Gas           Gov. Aggregation
COH             199786990029                Gas           Gov. Aggregation   VEDO         4021031782432904            Gas           Gov. Aggregation
COH             200384670015                Gas           Gov. Aggregation   VEDO         4021289032112883            Gas           Gov. Aggregation
COH             207299990012                Gas           Gov. Aggregation   VEDO         4021250512357671            Gas           Gov. Aggregation
COH             202513620018                Gas           Gov. Aggregation   VEDO         4021418542430749            Gas           Gov. Aggregation
COH             191562090020                Gas           Gov. Aggregation   VEDO         4002650842259972            Gas           Gov. Aggregation
COH             203252500016                Gas           Gov. Aggregation   VEDO         4021260262489122            Gas           Gov. Aggregation
COH             203709610014                Gas           Gov. Aggregation   VEDO         4017966662360295            Gas           Gov. Aggregation
COH             207965450012                Gas           Gov. Aggregation   VEDO         4001930962407283            Gas           Gov. Aggregation
COH             157115710037                Gas           Gov. Aggregation   VEDO         4021534942173919            Gas           Gov. Aggregation
COH             123741250028                Gas           Gov. Aggregation   VEDO         4021200382490692            Gas           Gov. Aggregation
COH             205857600011                Gas           Gov. Aggregation   VEDO         4021272862126466            Gas           Gov. Aggregation
COH             142757630013                Gas           Gov. Aggregation   VEDO         4019340332444167            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             123742430028                Gas           Gov. Aggregation   VEDO         4020112362287754            Gas           Gov. Aggregation
COH             205405200012                Gas           Gov. Aggregation   VEDO         4019128982181021            Gas           Gov. Aggregation
COH             208648860017                Gas           Gov. Aggregation   VEDO         4019397092209730            Gas           Gov. Aggregation
COH             123743050017                Gas           Gov. Aggregation   VEDO         4021414972426268            Gas           Gov. Aggregation
COH             146005050041                Gas           Gov. Aggregation   VEDO         4003626702265955            Gas           Gov. Aggregation
COH             206768080019                Gas           Gov. Aggregation   VEDO         4020889012221526            Gas           Gov. Aggregation
COH             191204890039                Gas           Gov. Aggregation   VEDO         4021082612363301            Gas           Gov. Aggregation
COH             207139200015                Gas           Gov. Aggregation   VEDO         4016197102103979            Gas           Gov. Aggregation
COH             170832320023                Gas           Gov. Aggregation   VEDO         4018955862376187            Gas           Gov. Aggregation
COH             206238140019                Gas           Gov. Aggregation   VEDO         4004323472459069            Gas           Gov. Aggregation
COH             200371890034                Gas           Gov. Aggregation   VEDO         4020940202273294            Gas           Gov. Aggregation
COH             202293730013                Gas           Gov. Aggregation   VEDO         4020173602211868            Gas           Gov. Aggregation
COH             205563620010                Gas           Gov. Aggregation   VEDO         4017654812334528            Gas           Gov. Aggregation
COH             203040600014                Gas           Gov. Aggregation   VEDO         4021073932106807            Gas           Gov. Aggregation
COH             189545600059                Gas           Gov. Aggregation   VEDO         4015899072485855            Gas           Gov. Aggregation
COH             208079420016                Gas           Gov. Aggregation   VEDO         4018896982432168            Gas           Gov. Aggregation
COH             205624840023                Gas           Gov. Aggregation   VEDO         4020896482102890            Gas           Gov. Aggregation
COH             199546590021                Gas           Gov. Aggregation   VEDO         4021443522405218            Gas           Gov. Aggregation
COH             203722220018                Gas           Gov. Aggregation   VEDO         4020050952394083            Gas           Gov. Aggregation
COH             205953300010                Gas           Gov. Aggregation   VEDO         4018663832212375            Gas           Gov. Aggregation
COH             207345140011                Gas           Gov. Aggregation   VEDO         4021466812326894            Gas           Gov. Aggregation
COH             207446960015                Gas           Gov. Aggregation   VEDO         4020192712319588            Gas           Gov. Aggregation
COH             206522190016                Gas           Gov. Aggregation   VEDO         4002672422464154            Gas           Gov. Aggregation
COH             203493070017                Gas           Gov. Aggregation   VEDO         4021055192149309            Gas           Gov. Aggregation
COH             203347010018                Gas           Gov. Aggregation   VEDO         4015169762502189            Gas           Gov. Aggregation
COH             200480660022                Gas           Gov. Aggregation   VEDO         4002819812154333            Gas           Gov. Aggregation
COH             207999760016                Gas           Gov. Aggregation   VEDO         4019880232299226            Gas           Gov. Aggregation
COH             175942020019                Gas           Gov. Aggregation   VEDO         4019497362318152            Gas           Gov. Aggregation
COH             188389430049                Gas           Gov. Aggregation   VEDO         4001816742404653            Gas           Gov. Aggregation
COH             199635700028                Gas           Gov. Aggregation   VEDO         4017026282229448            Gas           Gov. Aggregation
COH             205311780010                Gas           Gov. Aggregation   VEDO         4019525522300813            Gas           Gov. Aggregation
COH             141430340035                Gas           Gov. Aggregation   VEDO         4021279512431739            Gas           Gov. Aggregation
COH             123885050099                Gas           Gov. Aggregation   VEDO         4020282022202515            Gas           Gov. Aggregation
COH             203834760036                Gas           Gov. Aggregation   VEDO         4020913282213532            Gas           Gov. Aggregation
COH             205916880017                Gas           Gov. Aggregation   VEDO         4019332632272537            Gas           Gov. Aggregation
COH             172958650017                Gas           Gov. Aggregation   VEDO         4019332632627236            Gas           Gov. Aggregation
COH             207744730011                Gas           Gov. Aggregation   VEDO         4021164092219640            Gas           Gov. Aggregation
COH             203821600027                Gas           Gov. Aggregation   VEDO         4017130552304451            Gas           Gov. Aggregation
COH             196862100026                Gas           Gov. Aggregation   VEDO         4020074932365534            Gas           Gov. Aggregation
COH             207904520015                Gas           Gov. Aggregation   VEDO         4021401992206766            Gas           Gov. Aggregation
COH             206522200013                Gas           Gov. Aggregation   VEDO         4021169672472540            Gas           Gov. Aggregation
COH             123747170023                Gas           Gov. Aggregation   VEDO         4021046482514279            Gas           Gov. Aggregation
COH             206640640011                Gas           Gov. Aggregation   VEDO         4021293952630535            Gas           Gov. Aggregation
COH             206822490017                Gas           Gov. Aggregation   VEDO         4004190052510345            Gas           Gov. Aggregation
COH             201231660019                Gas           Gov. Aggregation   VEDO         4021034582499478            Gas           Gov. Aggregation
COH             129902160047                Gas           Gov. Aggregation   VEDO         4021496992175038            Gas           Gov. Aggregation
COH             198469420021                Gas           Gov. Aggregation   VEDO         4019504472279316            Gas           Gov. Aggregation
COH             206357360011                Gas           Gov. Aggregation   VEDO         4021070392176385            Gas           Gov. Aggregation
COH             198390840048                Gas           Gov. Aggregation   VEDO         4017439532287525            Gas           Gov. Aggregation
COH             207057460015                Gas           Gov. Aggregation   VEDO         4016378412520440            Gas           Gov. Aggregation
COH             207294540016                Gas           Gov. Aggregation   VEDO         4021196082261446            Gas           Gov. Aggregation
COH             207433500018                Gas           Gov. Aggregation   VEDO         4001374202249784            Gas           Gov. Aggregation
COH             200236790022                Gas           Gov. Aggregation   VEDO         4003413582429549            Gas           Gov. Aggregation
COH             196660100033                Gas           Gov. Aggregation   VEDO         4020017372281659            Gas           Gov. Aggregation
COH             198125990020                Gas           Gov. Aggregation   VEDO         4021394932313855            Gas           Gov. Aggregation
COH             207139210013                Gas           Gov. Aggregation   VEDO         4021080332519455            Gas           Gov. Aggregation
COH             196513850019                Gas           Gov. Aggregation   VEDO         4021056662117850            Gas           Gov. Aggregation
COH             203966980013                Gas           Gov. Aggregation   VEDO         4002332522467760            Gas           Gov. Aggregation
COH             205494490015                Gas           Gov. Aggregation   VEDO         4021121132214054            Gas           Gov. Aggregation
COH             206616060014                Gas           Gov. Aggregation   VEDO         4021242092286926            Gas           Gov. Aggregation
COH             206757960017                Gas           Gov. Aggregation   VEDO         4018709882141120            Gas           Gov. Aggregation
COH             202321440013                Gas           Gov. Aggregation   VEDO         4003552522326906            Gas           Gov. Aggregation
COH             208327190018                Gas           Gov. Aggregation   VEDO         4021226092240387            Gas           Gov. Aggregation
COH             207494710034                Gas           Gov. Aggregation   VEDO         4019187592145204            Gas           Gov. Aggregation
COH             202974550017                Gas           Gov. Aggregation   VEDO         4021081102361646            Gas           Gov. Aggregation
COH             205778360010                Gas           Gov. Aggregation   VEDO         4021463752510837            Gas           Gov. Aggregation
COH             152563010076                Gas           Gov. Aggregation   VEDO         4020311262292997            Gas           Gov. Aggregation
COH             193597500046                Gas           Gov. Aggregation   VEDO         4021395752356465            Gas           Gov. Aggregation
COH             200789240017                Gas           Gov. Aggregation   VEDO         4021065032151266            Gas           Gov. Aggregation
COH             202189790012                Gas           Gov. Aggregation   VEDO         4021414762443284            Gas           Gov. Aggregation
COH             208517180017                Gas           Gov. Aggregation   VEDO         4015959152253926            Gas           Gov. Aggregation
COH             198270500034                Gas           Gov. Aggregation   VEDO         4021203902391426            Gas           Gov. Aggregation
COH             199061150030                Gas           Gov. Aggregation   VEDO         4021461272453518            Gas           Gov. Aggregation
COH             206516310013                Gas           Gov. Aggregation   VEDO         4018870642322182            Gas           Gov. Aggregation
COH             202408670011                Gas           Gov. Aggregation   VEDO         4021232022135118            Gas           Gov. Aggregation
COH             208500140010                Gas           Gov. Aggregation   VEDO         4021436782295709            Gas           Gov. Aggregation
COH             202433500013                Gas           Gov. Aggregation   VEDO         4019879882513347            Gas           Gov. Aggregation
COH             200351720031                Gas           Gov. Aggregation   VEDO         4020309682210683            Gas           Gov. Aggregation
COH             206713510013                Gas           Gov. Aggregation   VEDO         4004763832401085            Gas           Gov. Aggregation
COH             207281620016                Gas           Gov. Aggregation   VEDO         4019203952452300            Gas           Gov. Aggregation
COH             144809760031                Gas           Gov. Aggregation   VEDO         4020010462385297            Gas           Gov. Aggregation
COH             111108210031                Gas           Gov. Aggregation   VEDO         4021509882503422            Gas           Gov. Aggregation
COH             201728850016                Gas           Gov. Aggregation   VEDO         4020217372340664            Gas           Gov. Aggregation
COH             208092110013                Gas           Gov. Aggregation   VEDO         4020941712268627            Gas           Gov. Aggregation
COH             196880250045                Gas           Gov. Aggregation   VEDO         4019473822466001            Gas           Gov. Aggregation
COH             208626330014                Gas           Gov. Aggregation   VEDO         4021311812118216            Gas           Gov. Aggregation
COH             173393780017                Gas           Gov. Aggregation   VEDO         4017270592416690            Gas           Gov. Aggregation
COH             202532000018                Gas           Gov. Aggregation   VEDO         4015807092317181            Gas           Gov. Aggregation
COH             206673690012                Gas           Gov. Aggregation   VEDO         4021524682167995            Gas           Gov. Aggregation
COH             201204720013                Gas           Gov. Aggregation   VEDO         4021528262172098            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             156147920028                Gas           Gov. Aggregation   VEDO            4021459572486543            Gas           Gov. Aggregation
COH             156147920046                Gas           Gov. Aggregation   VEDO            4021470792496652            Gas           Gov. Aggregation
COH             156147920055                Gas           Gov. Aggregation   VEDO            4021093922161250            Gas           Gov. Aggregation
COH             173489540050                Gas           Gov. Aggregation   VEDO            4021272792504415            Gas           Gov. Aggregation
COH             202543580014                Gas           Gov. Aggregation   VEDO            4021029352260246            Gas           Gov. Aggregation
COH             208370420018                Gas           Gov. Aggregation   VEDO            4019941302365474            Gas           Gov. Aggregation
COH             171701930030                Gas           Gov. Aggregation   VEDO            4016830342502257            Gas           Gov. Aggregation
COH             157575260038                Gas           Gov. Aggregation   VEDO            4018333232204815            Gas           Gov. Aggregation
COH             114492500052                Gas           Gov. Aggregation   VEDO            4021398812172921            Gas           Gov. Aggregation
COH             207209440016                Gas           Gov. Aggregation   VEDO            4021251592359006            Gas           Gov. Aggregation
COH             208065250011                Gas           Gov. Aggregation   VEDO            4021040652383317            Gas           Gov. Aggregation
COH             207934270015                Gas           Gov. Aggregation   VEDO            4001561902540746            Gas           Gov. Aggregation
COH             205949770011                Gas           Gov. Aggregation   VEDO            4021287312513231            Gas           Gov. Aggregation
COH             205963640018                Gas           Gov. Aggregation   COH             177554510231                Gas           Gov. Aggregation
COH             111122020013                Gas           Gov. Aggregation   COH             177554510099                Gas           Gov. Aggregation
COH             203224500024                Gas           Gov. Aggregation   COH             177554510222                Gas           Gov. Aggregation
COH             208658410010                Gas           Gov. Aggregation   COH             190069250032                Gas           Gov. Aggregation
COH             202398300011                Gas           Gov. Aggregation   COH             198929580013                Gas           Gov. Aggregation
COH             147631860025                Gas           Gov. Aggregation   COH             208838840018                Gas           Gov. Aggregation
COH             111103900036                Gas           Gov. Aggregation   COH             209210120018                Gas           Gov. Aggregation
COH             207404740019                Gas           Gov. Aggregation   COH             169973340015                Gas           Gov. Aggregation
COH             206536590013                Gas           Gov. Aggregation   COH             189408120050                Gas           Gov. Aggregation
COH             208672830012                Gas           Gov. Aggregation   COH             209326050018                Gas           Gov. Aggregation
COH             207748960015                Gas           Gov. Aggregation   COH             185621650033                Gas           Gov. Aggregation
COH             170565680016                Gas           Gov. Aggregation   COH             130766140146                Gas           Gov. Aggregation
COH             208645580012                Gas           Gov. Aggregation   COH             114657920107                Gas           Gov. Aggregation
COH             205336270015                Gas           Gov. Aggregation   COH             209650530010                Gas           Gov. Aggregation
COH             177339430047                Gas           Gov. Aggregation   COH             205444610032                Gas           Gov. Aggregation
COH             198877220019                Gas           Gov. Aggregation   COH             205825310019                Gas           Gov. Aggregation
COH             207435500014                Gas           Gov. Aggregation   COH             207130020011                Gas           Gov. Aggregation
COH             201694740021                Gas           Gov. Aggregation   COH             208787190014                Gas           Gov. Aggregation
COH             111105970029                Gas           Gov. Aggregation   COH             208605330018                Gas           Gov. Aggregation
COH             205991110010                Gas           Gov. Aggregation   COH             208984900016                Gas           Gov. Aggregation
COH             139518380900                Gas           Gov. Aggregation   COH             167247730032                Gas           Gov. Aggregation
COH             204096290012                Gas           Gov. Aggregation   COH             209380600018                Gas           Gov. Aggregation
COH             207755140012                Gas           Gov. Aggregation   COH             204033680021                Gas           Gov. Aggregation
COH             207204520019                Gas           Gov. Aggregation   COH             145524180312                Gas           Gov. Aggregation
COH             169512720084                Gas           Gov. Aggregation   COH             208950860016                Gas           Gov. Aggregation
COH             202533260030                Gas           Gov. Aggregation   COH             209033040011                Gas           Gov. Aggregation
COH             202558780011                Gas           Gov. Aggregation   COH             135086690022                Gas           Gov. Aggregation
COH             141607770076                Gas           Gov. Aggregation   COH             207614380010                Gas           Gov. Aggregation
COH             205533400019                Gas           Gov. Aggregation   COH             206230740019                Gas           Gov. Aggregation
COH             208238170011                Gas           Gov. Aggregation   COH             209263700015                Gas           Gov. Aggregation
COH             199786620026                Gas           Gov. Aggregation   COH             189688560029                Gas           Gov. Aggregation
COH             198782940028                Gas           Gov. Aggregation   COH             208926640013                Gas           Gov. Aggregation
COH             205396920012                Gas           Gov. Aggregation   COH             165948560043                Gas           Gov. Aggregation
COH             204054380011                Gas           Gov. Aggregation   COH             144266980019                Gas           Gov. Aggregation
COH             208167070013                Gas           Gov. Aggregation   COH             145524180287                Gas           Gov. Aggregation
COH             149934780224                Gas           Gov. Aggregation   COH             185621650042                Gas           Gov. Aggregation
COH             207816880017                Gas           Gov. Aggregation   COH             207185350017                Gas           Gov. Aggregation
COH             208435450014                Gas           Gov. Aggregation   COH             207086360015                Gas           Gov. Aggregation
COH             128968440023                Gas           Gov. Aggregation   COH             207381720013                Gas           Gov. Aggregation
COH             203521880016                Gas           Gov. Aggregation   COH             110519610019                Gas           Gov. Aggregation
COH             205320780011                Gas           Gov. Aggregation   COH             204351340037                Gas           Gov. Aggregation
COH             206986600017                Gas           Gov. Aggregation   COH             209078520016                Gas           Gov. Aggregation
COH             203338940012                Gas           Gov. Aggregation   COH             206191040010                Gas           Gov. Aggregation
COH             161501690028                Gas           Gov. Aggregation   COH             205717630011                Gas           Gov. Aggregation
COH             208731950011                Gas           Gov. Aggregation   COH             199468190030                Gas           Gov. Aggregation
COH             204437750020                Gas           Gov. Aggregation   COH             207822950019                Gas           Gov. Aggregation
COH             170923610083                Gas           Gov. Aggregation   VEDO            4021119452209234            Gas           Gov. Aggregation
COH             202505730012                Gas           Gov. Aggregation   VEDO            4020045562174282            Gas           Gov. Aggregation
COH             201607070016                Gas           Gov. Aggregation   VEDO            4021094862120189            Gas           Gov. Aggregation
COH             206471990017                Gas           Gov. Aggregation   VEDO            4016929552315570            Gas           Gov. Aggregation
COH             152637850028                Gas           Gov. Aggregation   VEDO            4021255652269811            Gas           Gov. Aggregation
COH             203257520012                Gas           Gov. Aggregation   VEDO            4018887482208261            Gas           Gov. Aggregation
COH             208557950011                Gas           Gov. Aggregation   VEDO            4021095182304089            Gas           Gov. Aggregation
COH             207659580014                Gas           Gov. Aggregation   COH             123693780020                Gas           Gov. Aggregation
COH             190121140015                Gas           Gov. Aggregation   COH             123708020017                Gas           Gov. Aggregation
COH             206257870016                Gas           Gov. Aggregation   COH             191983720016                Gas           Gov. Aggregation
COH             116642900039                Gas           Gov. Aggregation   COH             173310050014                Gas           Gov. Aggregation
COH             111199020058                Gas           Gov. Aggregation   COH             200658470025                Gas           Gov. Aggregation
COH             202942760029                Gas           Gov. Aggregation   VEDO            4020087392272238            Gas           Gov. Aggregation
COH             202408690017                Gas           Gov. Aggregation   DEO             6180015489495               Gas           Gov. Aggregation
COH             207689870010                Gas           Gov. Aggregation   COH             157755330013                Gas           Gov. Aggregation
COH             207296920012                Gas           Gov. Aggregation   COH             164547180017                Gas           Gov. Aggregation
COH             202798030010                Gas           Gov. Aggregation   COH             167644630013                Gas           Gov. Aggregation
COH             170557930010                Gas           Gov. Aggregation   COH             188171720012                Gas           Gov. Aggregation
COH             177809790027                Gas           Gov. Aggregation   VEDO            4001652822161534            Gas           Gov. Aggregation
COH             202896990011                Gas           Gov. Aggregation   COH             209624990019                Gas           Gov. Aggregation
COH             207060710015                Gas           Gov. Aggregation   COH             195122810026                Gas           Gov. Aggregation
COH             111053170028                Gas           Gov. Aggregation   COH             168617790034                Gas           Gov. Aggregation
COH             208731730017                Gas           Gov. Aggregation   COH             123804860071                Gas           Gov. Aggregation
COH             207712740016                Gas           Gov. Aggregation   COH             191627940014                Gas           Gov. Aggregation
COH             202912340011                Gas           Gov. Aggregation   COH             120539970010                Gas           Gov. Aggregation
COH             206737630018                Gas           Gov. Aggregation   COH             158580610023                Gas           Gov. Aggregation
COH             197966550021                Gas           Gov. Aggregation   VEDO            4016787972496469            Gas           Gov. Aggregation
COH             177621940050                Gas           Gov. Aggregation   VEDO            4002818592589023            Gas           Gov. Aggregation
COH             207922860016                Gas           Gov. Aggregation   DEO             4421004109040               Gas           Gov. Aggregation
COH             203553660015                Gas           Gov. Aggregation   DEO             6180015366809               Gas           Gov. Aggregation
COH             203770510025                Gas           Gov. Aggregation   COH             159112240021                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             206906100010                Gas           Gov. Aggregation   DEO             7440107676737               Gas           Gov. Aggregation
COH             201912170018                Gas           Gov. Aggregation   DEO             4500053083327               Gas           Gov. Aggregation
COH             208520170012                Gas           Gov. Aggregation   VEDO            4015222692629572            Gas           Gov. Aggregation
COH             188463880010                Gas           Gov. Aggregation   COH             208087900018                Gas           Gov. Aggregation
COH             140461260109                Gas           Gov. Aggregation   COH             175481570076                Gas           Gov. Aggregation
COH             198580260029                Gas           Gov. Aggregation   COH             202102930032                Gas           Gov. Aggregation
COH             202767130014                Gas           Gov. Aggregation   COH             151160913202                Gas           Gov. Aggregation
COH             204441940021                Gas           Gov. Aggregation   COH             196559290039                Gas           Gov. Aggregation
COH             171918110131                Gas           Gov. Aggregation   COH             207965710017                Gas           Gov. Aggregation
COH             198585360028                Gas           Gov. Aggregation   COH             194510980029                Gas           Gov. Aggregation
COH             208574000014                Gas           Gov. Aggregation   COH             196403120024                Gas           Gov. Aggregation
COH             207079740029                Gas           Gov. Aggregation   COH             190555480079                Gas           Gov. Aggregation
COH             202293650010                Gas           Gov. Aggregation   COH             209533590016                Gas           Gov. Aggregation
COH             153483400073                Gas           Gov. Aggregation   COH             207254230024                Gas           Gov. Aggregation
COH             203975430019                Gas           Gov. Aggregation   COH             177120970065                Gas           Gov. Aggregation
COH             206964450015                Gas           Gov. Aggregation   COH             207256240019                Gas           Gov. Aggregation
COH             208196770015                Gas           Gov. Aggregation   COH             146380870027                Gas           Gov. Aggregation
COH             202942830015                Gas           Gov. Aggregation   COH             191921790058                Gas           Gov. Aggregation
COH             162873410037                Gas           Gov. Aggregation   COH             203821340022                Gas           Gov. Aggregation
COH             207344980017                Gas           Gov. Aggregation   COH             206392630038                Gas           Gov. Aggregation
COH             154568440010                Gas           Gov. Aggregation   COH             209043420010                Gas           Gov. Aggregation
COH             197922550014                Gas           Gov. Aggregation   COH             206292120019                Gas           Gov. Aggregation
COH             207195990012                Gas           Gov. Aggregation   COH             208732430018                Gas           Gov. Aggregation
COH             132221080016                Gas           Gov. Aggregation   COH             166714470028                Gas           Gov. Aggregation
COH             207682730013                Gas           Gov. Aggregation   COH             207163270010                Gas           Gov. Aggregation
COH             206780680026                Gas           Gov. Aggregation   COH             170932430037                Gas           Gov. Aggregation
COH             127518210043                Gas           Gov. Aggregation   COH             148436678986                Gas           Gov. Aggregation
COH             202101970018                Gas           Gov. Aggregation   COH             208351310011                Gas           Gov. Aggregation
COH             205624610012                Gas           Gov. Aggregation   COH             161737450029                Gas           Gov. Aggregation
COH             162841160019                Gas           Gov. Aggregation   COH             206536740011                Gas           Gov. Aggregation
COH             205457310010                Gas           Gov. Aggregation   COH             208868850013                Gas           Gov. Aggregation
COH             201142620016                Gas           Gov. Aggregation   COH             198406710059                Gas           Gov. Aggregation
COH             205846320013                Gas           Gov. Aggregation   COH             206843460019                Gas           Gov. Aggregation
COH             203751450019                Gas           Gov. Aggregation   COH             208743560018                Gas           Gov. Aggregation
COH             208690120013                Gas           Gov. Aggregation   COH             186410290044                Gas           Gov. Aggregation
COH             207005420012                Gas           Gov. Aggregation   COH             159190220012                Gas           Gov. Aggregation
COH             202716170013                Gas           Gov. Aggregation   COH             159168190098                Gas           Gov. Aggregation
COH             206964460013                Gas           Gov. Aggregation   COH             200009030102                Gas           Gov. Aggregation
COH             202525120018                Gas           Gov. Aggregation   COH             207600990011                Gas           Gov. Aggregation
COH             193542240028                Gas           Gov. Aggregation   COH             204950350697                Gas           Gov. Aggregation
COH             201410780014                Gas           Gov. Aggregation   COH             201355090035                Gas           Gov. Aggregation
COH             206224340016                Gas           Gov. Aggregation   COH             204774330024                Gas           Gov. Aggregation
COH             111126570038                Gas           Gov. Aggregation   COH             208518480012                Gas           Gov. Aggregation
COH             203527810018                Gas           Gov. Aggregation   COH             208879670018                Gas           Gov. Aggregation
COH             110834930041                Gas           Gov. Aggregation   COH             208913300011                Gas           Gov. Aggregation
COH             200384530023                Gas           Gov. Aggregation   COH             185167540021                Gas           Gov. Aggregation
COH             171223580038                Gas           Gov. Aggregation   COH             206398510013                Gas           Gov. Aggregation
COH             111115800023                Gas           Gov. Aggregation   COH             167518040050                Gas           Gov. Aggregation
COH             203129910011                Gas           Gov. Aggregation   COH             157703330012                Gas           Gov. Aggregation
COH             156515900067                Gas           Gov. Aggregation   COH             187283960034                Gas           Gov. Aggregation
COH             187480670028                Gas           Gov. Aggregation   COH             173971990071                Gas           Gov. Aggregation
COH             207053290019                Gas           Gov. Aggregation   COH             208943690017                Gas           Gov. Aggregation
COH             205991170018                Gas           Gov. Aggregation   COH             209078420311                Gas           Gov. Aggregation
COH             201414910018                Gas           Gov. Aggregation   COH             195254180039                Gas           Gov. Aggregation
COH             111116300026                Gas           Gov. Aggregation   COH             206969130058                Gas           Gov. Aggregation
COH             192239590029                Gas           Gov. Aggregation   COH             208617630010                Gas           Gov. Aggregation
COH             202093160017                Gas           Gov. Aggregation   COH             202986480026                Gas           Gov. Aggregation
COH             111154780026                Gas           Gov. Aggregation   COH             206106740012                Gas           Gov. Aggregation
COH             203170440013                Gas           Gov. Aggregation   COH             206130160013                Gas           Gov. Aggregation
COH             195271640027                Gas           Gov. Aggregation   COH             209295040017                Gas           Gov. Aggregation
COH             174021010069                Gas           Gov. Aggregation   COH             207891660015                Gas           Gov. Aggregation
COH             203982500019                Gas           Gov. Aggregation   COH             188848600030                Gas           Gov. Aggregation
COH             206284390010                Gas           Gov. Aggregation   COH             206069890011                Gas           Gov. Aggregation
COH             201772180014                Gas           Gov. Aggregation   COH             208091720017                Gas           Gov. Aggregation
COH             201772190012                Gas           Gov. Aggregation   COH             207782510017                Gas           Gov. Aggregation
COH             206445540016                Gas           Gov. Aggregation   COH             125821920061                Gas           Gov. Aggregation
COH             200341830020                Gas           Gov. Aggregation   COH             209438640017                Gas           Gov. Aggregation
COH             207162770017                Gas           Gov. Aggregation   COH             208499040016                Gas           Gov. Aggregation
COH             205540240018                Gas           Gov. Aggregation   COH             205936550014                Gas           Gov. Aggregation
COH             176204150015                Gas           Gov. Aggregation   COH             207337190018                Gas           Gov. Aggregation
COH             204096350019                Gas           Gov. Aggregation   COH             205709180013                Gas           Gov. Aggregation
COH             174021010078                Gas           Gov. Aggregation   COH             209650980016                Gas           Gov. Aggregation
COH             157697650056                Gas           Gov. Aggregation   COH             202356780019                Gas           Gov. Aggregation
COH             201788230029                Gas           Gov. Aggregation   COH             207533060019                Gas           Gov. Aggregation
COH             111124400028                Gas           Gov. Aggregation   COH             208580060019                Gas           Gov. Aggregation
COH             207224220010                Gas           Gov. Aggregation   COH             209265230010                Gas           Gov. Aggregation
COH             204065070013                Gas           Gov. Aggregation   COH             208048690015                Gas           Gov. Aggregation
COH             208253620023                Gas           Gov. Aggregation   COH             208604610011                Gas           Gov. Aggregation
COH             196109290023                Gas           Gov. Aggregation   COH             207675270015                Gas           Gov. Aggregation
COH             203975280011                Gas           Gov. Aggregation   COH             206292090016                Gas           Gov. Aggregation
COH             203484450025                Gas           Gov. Aggregation   COH             194383990046                Gas           Gov. Aggregation
COH             186090180056                Gas           Gov. Aggregation   COH             202751910013                Gas           Gov. Aggregation
COH             121946600013                Gas           Gov. Aggregation   COH             206812640025                Gas           Gov. Aggregation
COH             203315390025                Gas           Gov. Aggregation   COH             124609860074                Gas           Gov. Aggregation
COH             170537410048                Gas           Gov. Aggregation   COH             202754190019                Gas           Gov. Aggregation
COH             202433650012                Gas           Gov. Aggregation   COH             208570500017                Gas           Gov. Aggregation
COH             207697790010                Gas           Gov. Aggregation   COH             197026620055                Gas           Gov. Aggregation
COH             208648800019                Gas           Gov. Aggregation   COH             195926090033                Gas           Gov. Aggregation
COH             208654790019                Gas           Gov. Aggregation   COH             167325520058                Gas           Gov. Aggregation
COH             112845170064                Gas           Gov. Aggregation   COH             209216500016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             190039590052                Gas           Gov. Aggregation   COH             207313780014                Gas           Gov. Aggregation
COH             202824090011                Gas           Gov. Aggregation   COH             124617050013                Gas           Gov. Aggregation
COH             207041270018                Gas           Gov. Aggregation   COH             207932620015                Gas           Gov. Aggregation
COH             172263360020                Gas           Gov. Aggregation   COH             205757540016                Gas           Gov. Aggregation
COH             171435510024                Gas           Gov. Aggregation   COH             206815950015                Gas           Gov. Aggregation
COH             188678890013                Gas           Gov. Aggregation   COH             193181150050                Gas           Gov. Aggregation
COH             208107590010                Gas           Gov. Aggregation   COH             209389310011                Gas           Gov. Aggregation
COH             207823140017                Gas           Gov. Aggregation   COH             208600200015                Gas           Gov. Aggregation
COH             206783020019                Gas           Gov. Aggregation   COH             209252570016                Gas           Gov. Aggregation
COH             207147130013                Gas           Gov. Aggregation   COH             197232770020                Gas           Gov. Aggregation
COH             208593960013                Gas           Gov. Aggregation   COH             207200610018                Gas           Gov. Aggregation
COH             204460110016                Gas           Gov. Aggregation   COH             134851230017                Gas           Gov. Aggregation
COH             205390440015                Gas           Gov. Aggregation   COH             200003060019                Gas           Gov. Aggregation
COH             202483270026                Gas           Gov. Aggregation   COH             206665990016                Gas           Gov. Aggregation
COH             206738050027                Gas           Gov. Aggregation   COH             208183330014                Gas           Gov. Aggregation
COH             194548070021                Gas           Gov. Aggregation   COH             208183330032                Gas           Gov. Aggregation
COH             203110730018                Gas           Gov. Aggregation   COH             199785360158                Gas           Gov. Aggregation
COH             207674150012                Gas           Gov. Aggregation   COH             164982890025                Gas           Gov. Aggregation
COH             206439080016                Gas           Gov. Aggregation   COH             186684240027                Gas           Gov. Aggregation
COH             208238340015                Gas           Gov. Aggregation   COH             199919190024                Gas           Gov. Aggregation
COH             205792690011                Gas           Gov. Aggregation   COH             202305050028                Gas           Gov. Aggregation
COH             188524900079                Gas           Gov. Aggregation   COH             208227050019                Gas           Gov. Aggregation
COH             125789870053                Gas           Gov. Aggregation   COH             190707230050                Gas           Gov. Aggregation
COH             146070330072                Gas           Gov. Aggregation   COH             208110060014                Gas           Gov. Aggregation
COH             202356770011                Gas           Gov. Aggregation   COH             206398140011                Gas           Gov. Aggregation
COH             188926400036                Gas           Gov. Aggregation   COH             151466750041                Gas           Gov. Aggregation
COH             124643270012                Gas           Gov. Aggregation   COH             208607470015                Gas           Gov. Aggregation
COH             207838870013                Gas           Gov. Aggregation   COH             205702540020                Gas           Gov. Aggregation
COH             202885080015                Gas           Gov. Aggregation   COH             208719360011                Gas           Gov. Aggregation
COH             203811980029                Gas           Gov. Aggregation   COH             196346250029                Gas           Gov. Aggregation
COH             190295510038                Gas           Gov. Aggregation   COH             201216800020                Gas           Gov. Aggregation
COH             161828410042                Gas           Gov. Aggregation   COH             206093790020                Gas           Gov. Aggregation
COH             208533910019                Gas           Gov. Aggregation   COH             206867690020                Gas           Gov. Aggregation
COH             207993700010                Gas           Gov. Aggregation   COH             205864270016                Gas           Gov. Aggregation
COH             208645710014                Gas           Gov. Aggregation   COH             198622880029                Gas           Gov. Aggregation
COH             204062130016                Gas           Gov. Aggregation   COH             209163190015                Gas           Gov. Aggregation
COH             194102500015                Gas           Gov. Aggregation   COH             195814360042                Gas           Gov. Aggregation
COH             200354180100                Gas           Gov. Aggregation   COH             208064950016                Gas           Gov. Aggregation
COH             202882790012                Gas           Gov. Aggregation   COH             203697120032                Gas           Gov. Aggregation
COH             196895320030                Gas           Gov. Aggregation   COH             207271700010                Gas           Gov. Aggregation
COH             200354180084                Gas           Gov. Aggregation   COH             199698250021                Gas           Gov. Aggregation
COH             208110530015                Gas           Gov. Aggregation   COH             206350860010                Gas           Gov. Aggregation
COH             203963070038                Gas           Gov. Aggregation   COH             196829380037                Gas           Gov. Aggregation
COH             208309590012                Gas           Gov. Aggregation   COH             209254750014                Gas           Gov. Aggregation
COH             158487700013                Gas           Gov. Aggregation   COH             208855500013                Gas           Gov. Aggregation
COH             201205100093                Gas           Gov. Aggregation   COH             208683000013                Gas           Gov. Aggregation
VEDO            4002294262224507            Gas           Gov. Aggregation   COH             205718700023                Gas           Gov. Aggregation
COH             139802490075                Gas           Gov. Aggregation   COH             206833480025                Gas           Gov. Aggregation
COH             197391110013                Gas           Gov. Aggregation   COH             206245990016                Gas           Gov. Aggregation
COH             186720770046                Gas           Gov. Aggregation   COH             207822300015                Gas           Gov. Aggregation
COH             167248730030                Gas           Gov. Aggregation   COH             149820960049                Gas           Gov. Aggregation
COH             167520200015                Gas           Gov. Aggregation   COH             206955370011                Gas           Gov. Aggregation
COH             168223270010                Gas           Gov. Aggregation   COH             208640800015                Gas           Gov. Aggregation
COH             177729320043                Gas           Gov. Aggregation   COH             208099450018                Gas           Gov. Aggregation
COH             135172970020                Gas           Gov. Aggregation   COH             139948120065                Gas           Gov. Aggregation
COH             123747510012                Gas           Gov. Aggregation   COH             207599190014                Gas           Gov. Aggregation
COH             196149530028                Gas           Gov. Aggregation   COH             197549660022                Gas           Gov. Aggregation
COH             196180620032                Gas           Gov. Aggregation   COH             208581820017                Gas           Gov. Aggregation
COH             144681780039                Gas           Gov. Aggregation   COH             206012760017                Gas           Gov. Aggregation
COH             144683720019                Gas           Gov. Aggregation   COH             209664590019                Gas           Gov. Aggregation
COH             164194870066                Gas           Gov. Aggregation   COH             117947350029                Gas           Gov. Aggregation
COH             133253840027                Gas           Gov. Aggregation   COH             206833500011                Gas           Gov. Aggregation
COH             203717370018                Gas           Gov. Aggregation   COH             188979460024                Gas           Gov. Aggregation
COH             203679010015                Gas           Gov. Aggregation   COH             187272800030                Gas           Gov. Aggregation
COH             200946980036                Gas           Gov. Aggregation   COH             206928120010                Gas           Gov. Aggregation
COH             194263000074                Gas           Gov. Aggregation   COH             130242450034                Gas           Gov. Aggregation
COH             161862830024                Gas           Gov. Aggregation   COH             206051120297                Gas           Gov. Aggregation
COH             191851680023                Gas           Gov. Aggregation   COH             115212050049                Gas           Gov. Aggregation
COH             125859110035                Gas           Gov. Aggregation   COH             206356500022                Gas           Gov. Aggregation
COH             186455160047                Gas           Gov. Aggregation   COH             199730830092                Gas           Gov. Aggregation
COH             206066590029                Gas           Gov. Aggregation   COH             206601700010                Gas           Gov. Aggregation
COH             202834200016                Gas           Gov. Aggregation   COH             170389663575                Gas           Gov. Aggregation
COH             199712820029                Gas           Gov. Aggregation   COH             208081370012                Gas           Gov. Aggregation
COH             203069450034                Gas           Gov. Aggregation   COH             177809660060                Gas           Gov. Aggregation
COH             189850740026                Gas           Gov. Aggregation   COH             200169900012                Gas           Gov. Aggregation
COH             169221450033                Gas           Gov. Aggregation   COH             208461700016                Gas           Gov. Aggregation
COH             205635810017                Gas           Gov. Aggregation   COH             198106620036                Gas           Gov. Aggregation
COH             206269210019                Gas           Gov. Aggregation   COH             186557310058                Gas           Gov. Aggregation
COH             197815840029                Gas           Gov. Aggregation   COH             199006160034                Gas           Gov. Aggregation
COH             131467870020                Gas           Gov. Aggregation   COH             205889510013                Gas           Gov. Aggregation
COH             204800790012                Gas           Gov. Aggregation   COH             142069260029                Gas           Gov. Aggregation
COH             204700400015                Gas           Gov. Aggregation   COH             207712560014                Gas           Gov. Aggregation
COH             133778570022                Gas           Gov. Aggregation   COH             204348190027                Gas           Gov. Aggregation
COH             149830050021                Gas           Gov. Aggregation   COH             194189403637                Gas           Gov. Aggregation
COH             149848010031                Gas           Gov. Aggregation   COH             118071510021                Gas           Gov. Aggregation
COH             150193310016                Gas           Gov. Aggregation   COH             208879200016                Gas           Gov. Aggregation
COH             150285520035                Gas           Gov. Aggregation   COH             206073550013                Gas           Gov. Aggregation
COH             150309920020                Gas           Gov. Aggregation   COH             206133810010                Gas           Gov. Aggregation
COH             150645210045                Gas           Gov. Aggregation   COH             208648350014                Gas           Gov. Aggregation
COH             144839770054                Gas           Gov. Aggregation   COH             207441790020                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             151867140058                Gas           Gov. Aggregation   COH             207267170011                Gas           Gov. Aggregation
DEO             5500029622527               Gas           Gov. Aggregation   COH             205750310018                Gas           Gov. Aggregation
COH             205097600013                Gas           Gov. Aggregation   COH             206493670018                Gas           Gov. Aggregation
COH             205032360010                Gas           Gov. Aggregation   COH             193624400039                Gas           Gov. Aggregation
COH             201450570023                Gas           Gov. Aggregation   COH             208284990012                Gas           Gov. Aggregation
COH             206863320016                Gas           Gov. Aggregation   COH             207419190014                Gas           Gov. Aggregation
COH             206751550024                Gas           Gov. Aggregation   COH             207172750010                Gas           Gov. Aggregation
COH             203702950026                Gas           Gov. Aggregation   COH             194122140037                Gas           Gov. Aggregation
COH             204021630035                Gas           Gov. Aggregation   COH             194271600053                Gas           Gov. Aggregation
COH             206671610012                Gas           Gov. Aggregation   COH             202043090035                Gas           Gov. Aggregation
COH             154862420065                Gas           Gov. Aggregation   COH             207049040010                Gas           Gov. Aggregation
COH             205559860019                Gas           Gov. Aggregation   COH             207762410010                Gas           Gov. Aggregation
COH             205953360018                Gas           Gov. Aggregation   COH             200593770057                Gas           Gov. Aggregation
COH             205991440011                Gas           Gov. Aggregation   COH             206342790012                Gas           Gov. Aggregation
COH             194412600026                Gas           Gov. Aggregation   COH             205764410018                Gas           Gov. Aggregation
COH             173988030031                Gas           Gov. Aggregation   COH             207964080012                Gas           Gov. Aggregation
COH             125873490090                Gas           Gov. Aggregation   COH             209448290010                Gas           Gov. Aggregation
COH             195181120027                Gas           Gov. Aggregation   COH             208546350010                Gas           Gov. Aggregation
COH             203501650034                Gas           Gov. Aggregation   COH             200340590032                Gas           Gov. Aggregation
COH             205170650017                Gas           Gov. Aggregation   COH             202659990022                Gas           Gov. Aggregation
COH             169221530205                Gas           Gov. Aggregation   COH             207674890017                Gas           Gov. Aggregation
COH             204476370019                Gas           Gov. Aggregation   COH             201472650039                Gas           Gov. Aggregation
COH             205586130015                Gas           Gov. Aggregation   COH             207108640018                Gas           Gov. Aggregation
COH             205977740018                Gas           Gov. Aggregation   COH             192949580035                Gas           Gov. Aggregation
COH             207719710018                Gas           Gov. Aggregation   COH             206426690015                Gas           Gov. Aggregation
COH             205738360014                Gas           Gov. Aggregation   COH             206791630014                Gas           Gov. Aggregation
COH             189532810052                Gas           Gov. Aggregation   COH             167370260094                Gas           Gov. Aggregation
COH             204585440031                Gas           Gov. Aggregation   COH             207344750015                Gas           Gov. Aggregation
COH             196768110024                Gas           Gov. Aggregation   COH             207934160018                Gas           Gov. Aggregation
COH             208120360010                Gas           Gov. Aggregation   COH             206372640010                Gas           Gov. Aggregation
COH             187675020021                Gas           Gov. Aggregation   COH             114674750036                Gas           Gov. Aggregation
COH             205501820018                Gas           Gov. Aggregation   COH             207210590012                Gas           Gov. Aggregation
COH             208238560019                Gas           Gov. Aggregation   COH             152753110045                Gas           Gov. Aggregation
COH             125837740011                Gas           Gov. Aggregation   COH             206967720012                Gas           Gov. Aggregation
COH             125790520053                Gas           Gov. Aggregation   COH             209350260013                Gas           Gov. Aggregation
COH             125851540022                Gas           Gov. Aggregation   COH             205691210015                Gas           Gov. Aggregation
COH             205650410019                Gas           Gov. Aggregation   COH             147108820022                Gas           Gov. Aggregation
COH             199743270020                Gas           Gov. Aggregation   COH             207773930018                Gas           Gov. Aggregation
COH             206360350016                Gas           Gov. Aggregation   COH             177228650028                Gas           Gov. Aggregation
COH             207496460015                Gas           Gov. Aggregation   COH             187931770020                Gas           Gov. Aggregation
COH             195340120029                Gas           Gov. Aggregation   COH             188973050040                Gas           Gov. Aggregation
COH             206906310016                Gas           Gov. Aggregation   COH             190474080039                Gas           Gov. Aggregation
COH             204749520018                Gas           Gov. Aggregation   COH             191072680034                Gas           Gov. Aggregation
COH             207603270016                Gas           Gov. Aggregation   COH             191647170023                Gas           Gov. Aggregation
COH             201564970019                Gas           Gov. Aggregation   COH             193583720030                Gas           Gov. Aggregation
COH             201564970028                Gas           Gov. Aggregation   COH             194612610039                Gas           Gov. Aggregation
COH             146887400101                Gas           Gov. Aggregation   COH             195406460037                Gas           Gov. Aggregation
COH             197586930027                Gas           Gov. Aggregation   COH             205157210035                Gas           Gov. Aggregation
COH             194073760041                Gas           Gov. Aggregation   COH             205857450013                Gas           Gov. Aggregation
COH             207774240011                Gas           Gov. Aggregation   COH             205963620012                Gas           Gov. Aggregation
COH             204488500016                Gas           Gov. Aggregation   COH             206012780013                Gas           Gov. Aggregation
COH             129734430056                Gas           Gov. Aggregation   COH             206051670014                Gas           Gov. Aggregation
COH             147495240025                Gas           Gov. Aggregation   COH             206191510011                Gas           Gov. Aggregation
COH             156729290054                Gas           Gov. Aggregation   COH             206191520019                Gas           Gov. Aggregation
COH             207109670010                Gas           Gov. Aggregation   COH             207779930016                Gas           Gov. Aggregation
COH             149132100020                Gas           Gov. Aggregation   COH             207878310016                Gas           Gov. Aggregation
COH             203094630033                Gas           Gov. Aggregation   COH             207946610018                Gas           Gov. Aggregation
COH             154585490023                Gas           Gov. Aggregation   COH             207982150019                Gas           Gov. Aggregation
COH             161301870015                Gas           Gov. Aggregation   COH             208332380017                Gas           Gov. Aggregation
COH             144844350024                Gas           Gov. Aggregation   COH             208477460023                Gas           Gov. Aggregation
COH             205501830016                Gas           Gov. Aggregation   COH             208500120014                Gas           Gov. Aggregation
COH             205180010010                Gas           Gov. Aggregation   COH             208520110014                Gas           Gov. Aggregation
COH             106929350280                Gas           Gov. Aggregation   COH             208533360015                Gas           Gov. Aggregation
COH             199158400014                Gas           Gov. Aggregation   COH             209603130013                Gas           Gov. Aggregation
COH             199480070039                Gas           Gov. Aggregation   COH             209135120018                Gas           Gov. Aggregation
COH             207755220015                Gas           Gov. Aggregation   COH             202555200036                Gas           Gov. Aggregation
COH             207441950017                Gas           Gov. Aggregation   COH             204758860027                Gas           Gov. Aggregation
COH             207327890012                Gas           Gov. Aggregation   COH             206032410018                Gas           Gov. Aggregation
COH             186515050024                Gas           Gov. Aggregation   COH             206214850010                Gas           Gov. Aggregation
COH             167312200025                Gas           Gov. Aggregation   COH             208227280011                Gas           Gov. Aggregation
COH             208167320010                Gas           Gov. Aggregation   COH             170939130027                Gas           Gov. Aggregation
COH             201944530015                Gas           Gov. Aggregation   COH             190770580054                Gas           Gov. Aggregation
COH             177609910061                Gas           Gov. Aggregation   COH             160659550098                Gas           Gov. Aggregation
COH             170814650059                Gas           Gov. Aggregation   COH             156510240057                Gas           Gov. Aggregation
COH             205900140015                Gas           Gov. Aggregation   COH             158342950044                Gas           Gov. Aggregation
COH             204555060016                Gas           Gov. Aggregation   COH             154703580059                Gas           Gov. Aggregation
COH             187276950059                Gas           Gov. Aggregation   COH             204388510043                Gas           Gov. Aggregation
COH             198259660017                Gas           Gov. Aggregation   COH             190057290039                Gas           Gov. Aggregation
COH             198009750017                Gas           Gov. Aggregation   COH             195710530019                Gas           Gov. Aggregation
COH             153306430053                Gas           Gov. Aggregation   COH             196244620018                Gas           Gov. Aggregation
COH             190479070022                Gas           Gov. Aggregation   COH             201912240031                Gas           Gov. Aggregation
COH             208174230014                Gas           Gov. Aggregation   COH             207358870011                Gas           Gov. Aggregation
COH             204821920010                Gas           Gov. Aggregation   COH             205932270011                Gas           Gov. Aggregation
COH             207408110013                Gas           Gov. Aggregation   COH             204616990011                Gas           Gov. Aggregation
COH             205449460025                Gas           Gov. Aggregation   COH             201944400012                Gas           Gov. Aggregation
COH             167514750077                Gas           Gov. Aggregation   COH             204220990010                Gas           Gov. Aggregation
COH             206042550018                Gas           Gov. Aggregation   COH             206633510013                Gas           Gov. Aggregation
COH             157805750045                Gas           Gov. Aggregation   COH             207036900025                Gas           Gov. Aggregation
COH             118823320026                Gas           Gov. Aggregation   COH             207352470017                Gas           Gov. Aggregation
COH             199177280038                Gas           Gov. Aggregation   COH             169243870075                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             206065210011                Gas           Gov. Aggregation   COH             207399490015                Gas           Gov. Aggregation
COH             204380000019                Gas           Gov. Aggregation   COH             207800210010                Gas           Gov. Aggregation
COH             205243600021                Gas           Gov. Aggregation   COH             198517630024                Gas           Gov. Aggregation
COH             174415240039                Gas           Gov. Aggregation   COH             209240400016                Gas           Gov. Aggregation
COH             207358740018                Gas           Gov. Aggregation   COH             201485250027                Gas           Gov. Aggregation
COH             203813650024                Gas           Gov. Aggregation   COH             203900380106                Gas           Gov. Aggregation
COH             118815560023                Gas           Gov. Aggregation   COH             204179360020                Gas           Gov. Aggregation
COH             177747890028                Gas           Gov. Aggregation   COH             209353750014                Gas           Gov. Aggregation
COH             185337520024                Gas           Gov. Aggregation   COH             174031510036                Gas           Gov. Aggregation
COH             207108850014                Gas           Gov. Aggregation   COH             198879120016                Gas           Gov. Aggregation
COH             196894830026                Gas           Gov. Aggregation   COH             175644790010                Gas           Gov. Aggregation
COH             163317410025                Gas           Gov. Aggregation   COH             202788360021                Gas           Gov. Aggregation
COH             200892910044                Gas           Gov. Aggregation   COH             206506520010                Gas           Gov. Aggregation
COH             207447400010                Gas           Gov. Aggregation   COH             186830250033                Gas           Gov. Aggregation
COH             200807060024                Gas           Gov. Aggregation   COH             206680840015                Gas           Gov. Aggregation
COH             206964370012                Gas           Gov. Aggregation   COH             201852580029                Gas           Gov. Aggregation
COH             195038830021                Gas           Gov. Aggregation   COH             176748950024                Gas           Gov. Aggregation
COH             191718680025                Gas           Gov. Aggregation   COH             177255160024                Gas           Gov. Aggregation
COH             205585180026                Gas           Gov. Aggregation   COH             171766930025                Gas           Gov. Aggregation
COH             185958910035                Gas           Gov. Aggregation   COH             186237410028                Gas           Gov. Aggregation
COH             206427670017                Gas           Gov. Aggregation   COH             174749350020                Gas           Gov. Aggregation
COH             186728630058                Gas           Gov. Aggregation   COH             122431990021                Gas           Gov. Aggregation
COH             207660970019                Gas           Gov. Aggregation   COH             206373180015                Gas           Gov. Aggregation
COH             134832280035                Gas           Gov. Aggregation   COH             206439190022                Gas           Gov. Aggregation
COH             196203310028                Gas           Gov. Aggregation   COH             128899550027                Gas           Gov. Aggregation
COH             193276060094                Gas           Gov. Aggregation   COH             145522270013                Gas           Gov. Aggregation
COH             186235900038                Gas           Gov. Aggregation   COH             176760900055                Gas           Gov. Aggregation
COH             205783640010                Gas           Gov. Aggregation   COH             208065380014                Gas           Gov. Aggregation
COH             206633050010                Gas           Gov. Aggregation   COH             205846390073                Gas           Gov. Aggregation
COH             173220450020                Gas           Gov. Aggregation   COH             207281740011                Gas           Gov. Aggregation
COH             168572650039                Gas           Gov. Aggregation   COH             141136460034                Gas           Gov. Aggregation
COH             206710950017                Gas           Gov. Aggregation   COH             172826910020                Gas           Gov. Aggregation
COH             204919350013                Gas           Gov. Aggregation   COH             203892180018                Gas           Gov. Aggregation
COH             205815610017                Gas           Gov. Aggregation   COH             203792150025                Gas           Gov. Aggregation
COH             207855710010                Gas           Gov. Aggregation   COH             201386560013                Gas           Gov. Aggregation
COH             170731100050                Gas           Gov. Aggregation   COH             204585130018                Gas           Gov. Aggregation
COH             208148600011                Gas           Gov. Aggregation   COH             209627230012                Gas           Gov. Aggregation
COH             196382280027                Gas           Gov. Aggregation   COH             157755950059                Gas           Gov. Aggregation
COH             187041840068                Gas           Gov. Aggregation   COH             187336770102                Gas           Gov. Aggregation
COH             163128760014                Gas           Gov. Aggregation   COH             207744700017                Gas           Gov. Aggregation
COH             117318560046                Gas           Gov. Aggregation   COH             206343060013                Gas           Gov. Aggregation
COH             206651090014                Gas           Gov. Aggregation   COH             206626320018                Gas           Gov. Aggregation
COH             204446970016                Gas           Gov. Aggregation   COH             191467960038                Gas           Gov. Aggregation
COH             205219360014                Gas           Gov. Aggregation   COH             205396970021                Gas           Gov. Aggregation
COH             207327720017                Gas           Gov. Aggregation   COH             207407620018                Gas           Gov. Aggregation
COH             204479060018                Gas           Gov. Aggregation   COH             207826070016                Gas           Gov. Aggregation
COH             207501310013                Gas           Gov. Aggregation   COH             173574670070                Gas           Gov. Aggregation
COH             192928810049                Gas           Gov. Aggregation   COH             208425950010                Gas           Gov. Aggregation
COH             193110010076                Gas           Gov. Aggregation   COH             205354700034                Gas           Gov. Aggregation
COH             204256880018                Gas           Gov. Aggregation   COH             207466370017                Gas           Gov. Aggregation
COH             204631760017                Gas           Gov. Aggregation   COH             190411590052                Gas           Gov. Aggregation
COH             208238000016                Gas           Gov. Aggregation   COH             206090350019                Gas           Gov. Aggregation
COH             207636500018                Gas           Gov. Aggregation   COH             208879520019                Gas           Gov. Aggregation
COH             187668060028                Gas           Gov. Aggregation   COH             207313670017                Gas           Gov. Aggregation
COH             204791770017                Gas           Gov. Aggregation   COH             208008440011                Gas           Gov. Aggregation
COH             189355720020                Gas           Gov. Aggregation   COH             185174880043                Gas           Gov. Aggregation
COH             207646240012                Gas           Gov. Aggregation   COH             206685900012                Gas           Gov. Aggregation
COH             206162830015                Gas           Gov. Aggregation   COH             166141810021                Gas           Gov. Aggregation
COH             206915990015                Gas           Gov. Aggregation   COH             173802030042                Gas           Gov. Aggregation
COH             200003340029                Gas           Gov. Aggregation   COH             207915600015                Gas           Gov. Aggregation
COH             206073560011                Gas           Gov. Aggregation   COH             208963310014                Gas           Gov. Aggregation
COH             197054230021                Gas           Gov. Aggregation   COH             196807020029                Gas           Gov. Aggregation
COH             202457570037                Gas           Gov. Aggregation   COH             131307300045                Gas           Gov. Aggregation
COH             205079250015                Gas           Gov. Aggregation   COH             147648810084                Gas           Gov. Aggregation
COH             202716830023                Gas           Gov. Aggregation   COH             209163340013                Gas           Gov. Aggregation
COH             190504380031                Gas           Gov. Aggregation   COH             197184880039                Gas           Gov. Aggregation
COH             140901470254                Gas           Gov. Aggregation   COH             209079740018                Gas           Gov. Aggregation
COH             200784820015                Gas           Gov. Aggregation   COH             200339080032                Gas           Gov. Aggregation
COH             208148670017                Gas           Gov. Aggregation   COH             175622990041                Gas           Gov. Aggregation
COH             189177220023                Gas           Gov. Aggregation   COH             206204750012                Gas           Gov. Aggregation
COH             197868500010                Gas           Gov. Aggregation   COH             160157760052                Gas           Gov. Aggregation
COH             199567460015                Gas           Gov. Aggregation   COH             194911920021                Gas           Gov. Aggregation
COH             200014240018                Gas           Gov. Aggregation   COH             162100350028                Gas           Gov. Aggregation
COH             118701470032                Gas           Gov. Aggregation   COH             195573940033                Gas           Gov. Aggregation
COH             207707740017                Gas           Gov. Aggregation   COH             204890660029                Gas           Gov. Aggregation
COH             191488760036                Gas           Gov. Aggregation   COH             200024020013                Gas           Gov. Aggregation
COH             205314120012                Gas           Gov. Aggregation   COH             175492520135                Gas           Gov. Aggregation
COH             208179400018                Gas           Gov. Aggregation   COH             122373970047                Gas           Gov. Aggregation
COH             189971150042                Gas           Gov. Aggregation   COH             208332930011                Gas           Gov. Aggregation
COH             204362440024                Gas           Gov. Aggregation   COH             199074300022                Gas           Gov. Aggregation
COH             208277400010                Gas           Gov. Aggregation   COH             194563770013                Gas           Gov. Aggregation
COH             206359990015                Gas           Gov. Aggregation   COH             195907590029                Gas           Gov. Aggregation
COH             204887920012                Gas           Gov. Aggregation   COH             201559590010                Gas           Gov. Aggregation
COH             206042480013                Gas           Gov. Aggregation   COH             209522700015                Gas           Gov. Aggregation
COH             205236780010                Gas           Gov. Aggregation   COH             207186490016                Gas           Gov. Aggregation
COH             164442320402                Gas           Gov. Aggregation   COH             196449050087                Gas           Gov. Aggregation
COH             204408500023                Gas           Gov. Aggregation   COH             202610370015                Gas           Gov. Aggregation
COH             186111230031                Gas           Gov. Aggregation   COH             162736310010                Gas           Gov. Aggregation
COH             189285940023                Gas           Gov. Aggregation   COH             205386730013                Gas           Gov. Aggregation
COH             198080040034                Gas           Gov. Aggregation   COH             198704760048                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             187373160022                Gas           Gov. Aggregation   COH             206493870016                Gas           Gov. Aggregation
COH             207665520013                Gas           Gov. Aggregation   COH             208868680019                Gas           Gov. Aggregation
COH             207745540028                Gas           Gov. Aggregation   COH             136854370029                Gas           Gov. Aggregation
COH             208131750015                Gas           Gov. Aggregation   COH             207281720015                Gas           Gov. Aggregation
COH             203417280022                Gas           Gov. Aggregation   COH             130733890040                Gas           Gov. Aggregation
COH             196483640036                Gas           Gov. Aggregation   COH             205138450017                Gas           Gov. Aggregation
COH             206057620012                Gas           Gov. Aggregation   COH             122479470011                Gas           Gov. Aggregation
COH             206792480014                Gas           Gov. Aggregation   COH             201694900036                Gas           Gov. Aggregation
COH             188328850021                Gas           Gov. Aggregation   COH             201529150015                Gas           Gov. Aggregation
COH             205837920016                Gas           Gov. Aggregation   COH             200909170016                Gas           Gov. Aggregation
COH             175076100037                Gas           Gov. Aggregation   COH             209486720019                Gas           Gov. Aggregation
COH             118128600030                Gas           Gov. Aggregation   COH             209380900122                Gas           Gov. Aggregation
COH             205750370016                Gas           Gov. Aggregation   COH             185192160019                Gas           Gov. Aggregation
COH             171779080189                Gas           Gov. Aggregation   COH             201802270029                Gas           Gov. Aggregation
COH             205611190018                Gas           Gov. Aggregation   COH             206522100014                Gas           Gov. Aggregation
COH             207707700015                Gas           Gov. Aggregation   COH             208966010011                Gas           Gov. Aggregation
COH             206146210019                Gas           Gov. Aggregation   COH             209097110012                Gas           Gov. Aggregation
COH             135693100064                Gas           Gov. Aggregation   COH             209338340012                Gas           Gov. Aggregation
COH             200084380021                Gas           Gov. Aggregation   COH             209361120019                Gas           Gov. Aggregation
COH             203606850021                Gas           Gov. Aggregation   COH             208557760020                Gas           Gov. Aggregation
COH             162526070025                Gas           Gov. Aggregation   COH             189439760015                Gas           Gov. Aggregation
COH             207108900013                Gas           Gov. Aggregation   COH             204558200010                Gas           Gov. Aggregation
COH             208119850010                Gas           Gov. Aggregation   COH             206802310016                Gas           Gov. Aggregation
COH             152079530038                Gas           Gov. Aggregation   COH             209316670019                Gas           Gov. Aggregation
COH             205424710015                Gas           Gov. Aggregation   COH             156853540030                Gas           Gov. Aggregation
COH             206737490018                Gas           Gov. Aggregation   COH             208730250010                Gas           Gov. Aggregation
COH             194874640020                Gas           Gov. Aggregation   COH             209263650016                Gas           Gov. Aggregation
COH             207893350016                Gas           Gov. Aggregation   COH             187338400025                Gas           Gov. Aggregation
COH             169261160012                Gas           Gov. Aggregation   COH             209047010018                Gas           Gov. Aggregation
COH             204488100010                Gas           Gov. Aggregation   COH             194100820067                Gas           Gov. Aggregation
COH             206051590011                Gas           Gov. Aggregation   COH             111327850015                Gas           Gov. Aggregation
COH             190715120029                Gas           Gov. Aggregation   COH             162662830063                Gas           Gov. Aggregation
COH             198962100022                Gas           Gov. Aggregation   COH             208810970019                Gas           Gov. Aggregation
COH             206471820012                Gas           Gov. Aggregation   COH             164749380035                Gas           Gov. Aggregation
COH             206649380018                Gas           Gov. Aggregation   COH             208130510017                Gas           Gov. Aggregation
COH             206964340018                Gas           Gov. Aggregation   COH             206717880018                Gas           Gov. Aggregation
COH             165066860022                Gas           Gov. Aggregation   COH             209004410014                Gas           Gov. Aggregation
COH             207085190013                Gas           Gov. Aggregation   COH             199227570030                Gas           Gov. Aggregation
COH             204696390028                Gas           Gov. Aggregation   COH             207336440017                Gas           Gov. Aggregation
COH             206032260010                Gas           Gov. Aggregation   COH             206585220017                Gas           Gov. Aggregation
COH             204537160013                Gas           Gov. Aggregation   COH             173695430047                Gas           Gov. Aggregation
COH             201660490016                Gas           Gov. Aggregation   COH             207840340019                Gas           Gov. Aggregation
COH             198454740016                Gas           Gov. Aggregation   COH             111340050033                Gas           Gov. Aggregation
COH             157592340026                Gas           Gov. Aggregation   COH             169448660075                Gas           Gov. Aggregation
COH             134471060108                Gas           Gov. Aggregation   COH             206203960010                Gas           Gov. Aggregation
COH             208226910010                Gas           Gov. Aggregation   COH             189528700045                Gas           Gov. Aggregation
COH             167541940025                Gas           Gov. Aggregation   COH             140490420033                Gas           Gov. Aggregation
COH             206002450013                Gas           Gov. Aggregation   COH             209263690018                Gas           Gov. Aggregation
COH             170831880028                Gas           Gov. Aggregation   COH             136280010012                Gas           Gov. Aggregation
COH             205301300011                Gas           Gov. Aggregation   COH             207362950015                Gas           Gov. Aggregation
COH             204359030045                Gas           Gov. Aggregation   COH             209149430014                Gas           Gov. Aggregation
COH             174580870118                Gas           Gov. Aggregation   COH             209123280010                Gas           Gov. Aggregation
COH             206655500019                Gas           Gov. Aggregation   COH             207388560013                Gas           Gov. Aggregation
COH             207840790015                Gas           Gov. Aggregation   COH             209186540013                Gas           Gov. Aggregation
COH             207964350015                Gas           Gov. Aggregation   COH             207696400013                Gas           Gov. Aggregation
COH             205265280014                Gas           Gov. Aggregation   COH             209649020010                Gas           Gov. Aggregation
COH             110468930011                Gas           Gov. Aggregation   COH             158969530017                Gas           Gov. Aggregation
COH             193681380016                Gas           Gov. Aggregation   COH             208756060016                Gas           Gov. Aggregation
COH             164625530026                Gas           Gov. Aggregation   COH             193919280076                Gas           Gov. Aggregation
COH             151349011712                Gas           Gov. Aggregation   COH             192550050022                Gas           Gov. Aggregation
COH             144255730041                Gas           Gov. Aggregation   COH             207689400018                Gas           Gov. Aggregation
COH             175095260016                Gas           Gov. Aggregation   COH             155686290075                Gas           Gov. Aggregation
COH             194189400603                Gas           Gov. Aggregation   COH             203980860027                Gas           Gov. Aggregation
COH             190140680012                Gas           Gov. Aggregation   COH             209531770012                Gas           Gov. Aggregation
COH             125877780046                Gas           Gov. Aggregation   COH             207863030016                Gas           Gov. Aggregation
COH             125883510021                Gas           Gov. Aggregation   COH             205546450012                Gas           Gov. Aggregation
COH             125883580045                Gas           Gov. Aggregation   VEDO            4003256672321748            Gas           Gov. Aggregation
COH             125894680032                Gas           Gov. Aggregation   VEDO            4016335902472476            Gas           Gov. Aggregation
COH             111004450022                Gas           Gov. Aggregation   VEDO            4021176022626104            Gas           Gov. Aggregation
COH             136739870073                Gas           Gov. Aggregation   VEDO            4017471262641113            Gas           Gov. Aggregation
COH             194721440025                Gas           Gov. Aggregation   VEDO            4016387042536862            Gas           Gov. Aggregation
COH             205197220011                Gas           Gov. Aggregation   VEDO            4019820312642373            Gas           Gov. Aggregation
COH             185772650025                Gas           Gov. Aggregation   VEDO            4004685942684640            Gas           Gov. Aggregation
COH             206718360015                Gas           Gov. Aggregation   VEDO            4019932602200184            Gas           Gov. Aggregation
COH             153107590025                Gas           Gov. Aggregation   VEDO            4001140292672215            Gas           Gov. Aggregation
COH             204781410013                Gas           Gov. Aggregation   VEDO            4021102732197081            Gas           Gov. Aggregation
COH             125789150018                Gas           Gov. Aggregation   VEDO            4016849332130340            Gas           Gov. Aggregation
COH             125789160016                Gas           Gov. Aggregation   VEDO            4015908532463361            Gas           Gov. Aggregation
COH             192197620040                Gas           Gov. Aggregation   VEDO            4021465162384933            Gas           Gov. Aggregation
COH             192178830037                Gas           Gov. Aggregation   VEDO            4002797672274744            Gas           Gov. Aggregation
COH             152589380299                Gas           Gov. Aggregation   VEDO            4020200312447378            Gas           Gov. Aggregation
COH             208072950091                Gas           Gov. Aggregation   VEDO            4021159062325400            Gas           Gov. Aggregation
COH             204162220033                Gas           Gov. Aggregation   VEDO            4021515542509647            Gas           Gov. Aggregation
COH             159195300186                Gas           Gov. Aggregation   VEDO            4003159222335347            Gas           Gov. Aggregation
COH             206047820011                Gas           Gov. Aggregation   VEDO            4021236792500234            Gas           Gov. Aggregation
COH             207407800010                Gas           Gov. Aggregation   VEDO            4021443122376065            Gas           Gov. Aggregation
COH             202726650048                Gas           Gov. Aggregation   VEDO            4021531232189358            Gas           Gov. Aggregation
COH             202726650075                Gas           Gov. Aggregation   VEDO            4021459092177034            Gas           Gov. Aggregation
COH             204775590019                Gas           Gov. Aggregation   VEDO            4021504002401049            Gas           Gov. Aggregation
COH             205774930018                Gas           Gov. Aggregation   VEDO            4021535682446427            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             205838000017                Gas           Gov. Aggregation   VEDO            4015743162511991            Gas           Gov. Aggregation
COH             205953080017                Gas           Gov. Aggregation   VEDO            4021443002192151            Gas           Gov. Aggregation
COH             206224290017                Gas           Gov. Aggregation   VEDO            4021268192168188            Gas           Gov. Aggregation
COH             185026160056                Gas           Gov. Aggregation   VEDO            4021269942245119            Gas           Gov. Aggregation
COH             189562770030                Gas           Gov. Aggregation   VEDO            4021311072396011            Gas           Gov. Aggregation
COH             171345680039                Gas           Gov. Aggregation   VEDO            4017936042190761            Gas           Gov. Aggregation
COH             143631010027                Gas           Gov. Aggregation   VEDO            4003049532397158            Gas           Gov. Aggregation
COH             125885790029                Gas           Gov. Aggregation   VEDO            4021216532528549            Gas           Gov. Aggregation
COH             151803230035                Gas           Gov. Aggregation   VEDO            4001132042539637            Gas           Gov. Aggregation
COH             206879720019                Gas           Gov. Aggregation   VEDO            4021311392441787            Gas           Gov. Aggregation
COH             207665760013                Gas           Gov. Aggregation   VEDO            4021409972507706            Gas           Gov. Aggregation
COH             204941250017                Gas           Gov. Aggregation   VEDO            4021444742186928            Gas           Gov. Aggregation
COH             206743570018                Gas           Gov. Aggregation   VEDO            4020013202451675            Gas           Gov. Aggregation
COH             204388580021                Gas           Gov. Aggregation   VEDO            4021440412235030            Gas           Gov. Aggregation
COH             205343890010                Gas           Gov. Aggregation   VEDO            4020108412382900            Gas           Gov. Aggregation
COH             207338100014                Gas           Gov. Aggregation   VEDO            4019748772368297            Gas           Gov. Aggregation
COH             186953360021                Gas           Gov. Aggregation   VEDO            4021436342401317            Gas           Gov. Aggregation
COH             205469330011                Gas           Gov. Aggregation   VEDO            4021215892185188            Gas           Gov. Aggregation
COH             125758150031                Gas           Gov. Aggregation   VEDO            4017740982413135            Gas           Gov. Aggregation
COH             208060150012                Gas           Gov. Aggregation   VEDO            4021515892320562            Gas           Gov. Aggregation
COH             206918600010                Gas           Gov. Aggregation   VEDO            4021290112179489            Gas           Gov. Aggregation
COH             205972600017                Gas           Gov. Aggregation   VEDO            4021428342402315            Gas           Gov. Aggregation
COH             204539240012                Gas           Gov. Aggregation   VEDO            4021428342548590            Gas           Gov. Aggregation
COH             194035900023                Gas           Gov. Aggregation   VEDO            4001474602144427            Gas           Gov. Aggregation
COH             204779960013                Gas           Gov. Aggregation   COH             202398280016                Gas           Gov. Aggregation
COH             205293380023                Gas           Gov. Aggregation   COH             208086370012                Gas           Gov. Aggregation
COH             188510610024                Gas           Gov. Aggregation   COH             207773510016                Gas           Gov. Aggregation
COH             125780500049                Gas           Gov. Aggregation   COH             204371430018                Gas           Gov. Aggregation
COH             201902890027                Gas           Gov. Aggregation   COH             203923400014                Gas           Gov. Aggregation
COH             110981230029                Gas           Gov. Aggregation   COH             206148180012                Gas           Gov. Aggregation
COH             208039830014                Gas           Gov. Aggregation   COH             206148180030                Gas           Gov. Aggregation
COH             208247380018                Gas           Gov. Aggregation   COH             209303210012                Gas           Gov. Aggregation
COH             207600860018                Gas           Gov. Aggregation   COH             208195940011                Gas           Gov. Aggregation
COH             207787740019                Gas           Gov. Aggregation   COH             207143610010                Gas           Gov. Aggregation
COH             198823960026                Gas           Gov. Aggregation   COH             208767790010                Gas           Gov. Aggregation
COH             149634260032                Gas           Gov. Aggregation   COH             201553040017                Gas           Gov. Aggregation
COH             204753900037                Gas           Gov. Aggregation   COH             209161420010                Gas           Gov. Aggregation
COH             208110210012                Gas           Gov. Aggregation   COH             189992570013                Gas           Gov. Aggregation
COH             206974380019                Gas           Gov. Aggregation   COH             203087100011                Gas           Gov. Aggregation
COH             167880330025                Gas           Gov. Aggregation   COH             208982420011                Gas           Gov. Aggregation
COH             207582820016                Gas           Gov. Aggregation   COH             202512700013                Gas           Gov. Aggregation
COH             193663290022                Gas           Gov. Aggregation   COH             201355400011                Gas           Gov. Aggregation
COH             208110220010                Gas           Gov. Aggregation   COH             209311170014                Gas           Gov. Aggregation
COH             199401160018                Gas           Gov. Aggregation   COH             206876820014                Gas           Gov. Aggregation
COH             187616830025                Gas           Gov. Aggregation   COH             205931770018                Gas           Gov. Aggregation
COH             134294640013                Gas           Gov. Aggregation   COH             201581500011                Gas           Gov. Aggregation
COH             173543360070                Gas           Gov. Aggregation   COH             206973730017                Gas           Gov. Aggregation
COH             185161790058                Gas           Gov. Aggregation   COH             206973720019                Gas           Gov. Aggregation
COH             206837740013                Gas           Gov. Aggregation   COH             185267800042                Gas           Gov. Aggregation
COH             201702990020                Gas           Gov. Aggregation   COH             169362960047                Gas           Gov. Aggregation
COH             205829080010                Gas           Gov. Aggregation   COH             207357110012                Gas           Gov. Aggregation
COH             208006000017                Gas           Gov. Aggregation   COH             208634150015                Gas           Gov. Aggregation
COH             207738070013                Gas           Gov. Aggregation   COH             204780580010                Gas           Gov. Aggregation
COH             190315360036                Gas           Gov. Aggregation   COH             162339720089                Gas           Gov. Aggregation
COH             205156210019                Gas           Gov. Aggregation   COH             146320930020                Gas           Gov. Aggregation
COH             207247700011                Gas           Gov. Aggregation   COH             206180030033                Gas           Gov. Aggregation
COH             208179640018                Gas           Gov. Aggregation   COH             208606750018                Gas           Gov. Aggregation
COH             137952030021                Gas           Gov. Aggregation   COH             202578090014                Gas           Gov. Aggregation
COH             206015920017                Gas           Gov. Aggregation   COH             206230700017                Gas           Gov. Aggregation
COH             207750230013                Gas           Gov. Aggregation   COH             206230710015                Gas           Gov. Aggregation
COH             125876230043                Gas           Gov. Aggregation   COH             200449910025                Gas           Gov. Aggregation
COH             208008560016                Gas           Gov. Aggregation   COH             208054760017                Gas           Gov. Aggregation
COH             201852780018                Gas           Gov. Aggregation   COH             188409330019                Gas           Gov. Aggregation
COH             168048970024                Gas           Gov. Aggregation   COH             207552690017                Gas           Gov. Aggregation
COH             154611160043                Gas           Gov. Aggregation   COH             207863010010                Gas           Gov. Aggregation
COH             208100000017                Gas           Gov. Aggregation   COH             207148560020                Gas           Gov. Aggregation
COH             171475670036                Gas           Gov. Aggregation   COH             205662210016                Gas           Gov. Aggregation
COH             125781090035                Gas           Gov. Aggregation   COH             207716780010                Gas           Gov. Aggregation
COH             134954170085                Gas           Gov. Aggregation   COH             207185600014                Gas           Gov. Aggregation
COH             205659590014                Gas           Gov. Aggregation   COH             206001860019                Gas           Gov. Aggregation
COH             205425130015                Gas           Gov. Aggregation   COH             208532140013                Gas           Gov. Aggregation
COH             190551590029                Gas           Gov. Aggregation   COH             209272710014                Gas           Gov. Aggregation
COH             168967120024                Gas           Gov. Aggregation   COH             205945470012                Gas           Gov. Aggregation
COH             199489050026                Gas           Gov. Aggregation   COH             206497110017                Gas           Gov. Aggregation
COH             203074680035                Gas           Gov. Aggregation   COH             208838750017                Gas           Gov. Aggregation
COH             167227390054                Gas           Gov. Aggregation   COH             207728790013                Gas           Gov. Aggregation
COH             194459510045                Gas           Gov. Aggregation   COH             164736690064                Gas           Gov. Aggregation
COH             206042950014                Gas           Gov. Aggregation   COH             167926440042                Gas           Gov. Aggregation
COH             206783250011                Gas           Gov. Aggregation   COH             207246940013                Gas           Gov. Aggregation
COH             206117650018                Gas           Gov. Aggregation   COH             206423160012                Gas           Gov. Aggregation
COH             205517670017                Gas           Gov. Aggregation   COH             206423300012                Gas           Gov. Aggregation
COH             168800440038                Gas           Gov. Aggregation   COH             185195290043                Gas           Gov. Aggregation
COH             206996630010                Gas           Gov. Aggregation   COH             137380800013                Gas           Gov. Aggregation
COH             195499500042                Gas           Gov. Aggregation   VEDO            4021540032636417            Gas           Gov. Aggregation
DEO             4180014118322               Gas           Gov. Aggregation   VEDO            4016630972224757            Gas           Gov. Aggregation
COH             187372840012                Gas           Gov. Aggregation   VEDO            4018512152679905            Gas           Gov. Aggregation
COH             159532680010                Gas           Gov. Aggregation   VEDO            4019949462683025            Gas           Gov. Aggregation
COH             145074870018                Gas           Gov. Aggregation   VEDO            4002958852202877            Gas           Gov. Aggregation
COH             171450280012                Gas           Gov. Aggregation   VEDO            4003875992387303            Gas           Gov. Aggregation
COH             171476470018                Gas           Gov. Aggregation   VEDO            4018474472175988            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             149598370037                Gas           Gov. Aggregation   VEDO         4017846522110750            Gas           Gov. Aggregation
COH             150017640055                Gas           Gov. Aggregation   VEDO         4021406902230621            Gas           Gov. Aggregation
COH             159927030019                Gas           Gov. Aggregation   VEDO         4015594112394422            Gas           Gov. Aggregation
COH             159945060015                Gas           Gov. Aggregation   VEDO         4021525242288949            Gas           Gov. Aggregation
COH             195641630015                Gas           Gov. Aggregation   VEDO         4021525242175818            Gas           Gov. Aggregation
COH             116277220037                Gas           Gov. Aggregation   VEDO         4021525242342330            Gas           Gov. Aggregation
COH             186863900046                Gas           Gov. Aggregation   VEDO         4002512592474777            Gas           Gov. Aggregation
COH             110783020014                Gas           Gov. Aggregation   VEDO         4021525242126944            Gas           Gov. Aggregation
VEDO            4001490072473177            Gas           Gov. Aggregation   VEDO         4002958852400929            Gas           Gov. Aggregation
COH             155590060101                Gas           Gov. Aggregation   VEDO         4020848092382014            Gas           Gov. Aggregation
COH             208600480017                Gas           Gov. Aggregation   VEDO         4001606832460896            Gas           Gov. Aggregation
COH             208806220015                Gas           Gov. Aggregation   VEDO         4015086632372298            Gas           Gov. Aggregation
COH             201911950025                Gas           Gov. Aggregation   VEDO         4021248282218720            Gas           Gov. Aggregation
COH             203636030020                Gas           Gov. Aggregation   VEDO         4021191872404954            Gas           Gov. Aggregation
COH             204222570023                Gas           Gov. Aggregation   VEDO         4018720192276979            Gas           Gov. Aggregation
COH             205842700075                Gas           Gov. Aggregation   VEDO         4020162592206971            Gas           Gov. Aggregation
COH             208730680010                Gas           Gov. Aggregation   VEDO         4004266712446962            Gas           Gov. Aggregation
COH             197045270022                Gas           Gov. Aggregation   VEDO         4021403162200636            Gas           Gov. Aggregation
COH             197041090055                Gas           Gov. Aggregation   VEDO         4004664012391158            Gas           Gov. Aggregation
COH             146164750119                Gas           Gov. Aggregation   VEDO         4021282892196369            Gas           Gov. Aggregation
COH             209722450014                Gas           Gov. Aggregation   VEDO         4010011432445405            Gas           Gov. Aggregation
COH             186322440094                Gas           Gov. Aggregation   VEDO         4002245822407568            Gas           Gov. Aggregation
COH             206425430039                Gas           Gov. Aggregation   VEDO         4015497932408005            Gas           Gov. Aggregation
COH             117357700017                Gas           Gov. Aggregation   VEDO         4015360832216417            Gas           Gov. Aggregation
COH             207606000025                Gas           Gov. Aggregation   VEDO         4015913562243824            Gas           Gov. Aggregation
COH             199481050031                Gas           Gov. Aggregation   VEDO         4021081002260797            Gas           Gov. Aggregation
COH             208878840014                Gas           Gov. Aggregation   VEDO         4017930532175594            Gas           Gov. Aggregation
COH             208098930019                Gas           Gov. Aggregation   VEDO         4021413042267774            Gas           Gov. Aggregation
COH             202773440025                Gas           Gov. Aggregation   VEDO         4018817792113884            Gas           Gov. Aggregation
COH             208912340015                Gas           Gov. Aggregation   VEDO         4019453372459331            Gas           Gov. Aggregation
COH             200829680046                Gas           Gov. Aggregation   VEDO         4021482692240032            Gas           Gov. Aggregation
COH             205990520016                Gas           Gov. Aggregation   VEDO         4003928622249722            Gas           Gov. Aggregation
COH             209621060010                Gas           Gov. Aggregation   VEDO         4019222302135838            Gas           Gov. Aggregation
COH             171234020078                Gas           Gov. Aggregation   VEDO         4021045182367650            Gas           Gov. Aggregation
COH             208868230013                Gas           Gov. Aggregation   VEDO         4018600562226514            Gas           Gov. Aggregation
COH             208529710010                Gas           Gov. Aggregation   VEDO         4021051362160025            Gas           Gov. Aggregation
COH             196051540032                Gas           Gov. Aggregation   VEDO         4016716602127904            Gas           Gov. Aggregation
COH             206552070018                Gas           Gov. Aggregation   VEDO         4021207932243654            Gas           Gov. Aggregation
COH             207952000013                Gas           Gov. Aggregation   VEDO         4020889882313413            Gas           Gov. Aggregation
COH             207804380017                Gas           Gov. Aggregation   VEDO         4021408382524363            Gas           Gov. Aggregation
COH             209115660017                Gas           Gov. Aggregation   VEDO         4018411712327445            Gas           Gov. Aggregation
COH             155211760062                Gas           Gov. Aggregation   VEDO         4004650202591176            Gas           Gov. Aggregation
COH             150693520156                Gas           Gov. Aggregation   VEDO         4018161502591181            Gas           Gov. Aggregation
COH             150693520147                Gas           Gov. Aggregation   VEDO         4004597282591168            Gas           Gov. Aggregation
COH             207172220011                Gas           Gov. Aggregation   VEDO         4019333342426401            Gas           Gov. Aggregation
COH             209309380015                Gas           Gov. Aggregation   VEDO         4004440552394899            Gas           Gov. Aggregation
COH             190993040028                Gas           Gov. Aggregation   VEDO         4021012682502005            Gas           Gov. Aggregation
COH             208148320010                Gas           Gov. Aggregation   VEDO         4021057322114588            Gas           Gov. Aggregation
COH             198002220030                Gas           Gov. Aggregation   VEDO         4021247152149390            Gas           Gov. Aggregation
COH             206256440018                Gas           Gov. Aggregation   VEDO         4019261422497907            Gas           Gov. Aggregation
COH             208331310013                Gas           Gov. Aggregation   VEDO         4021400502266278            Gas           Gov. Aggregation
COH             152368200016                Gas           Gov. Aggregation   VEDO         4017213262500359            Gas           Gov. Aggregation
COH             152640990013                Gas           Gov. Aggregation   VEDO         4019896652103309            Gas           Gov. Aggregation
COH             152648520015                Gas           Gov. Aggregation   VEDO         4018395022372496            Gas           Gov. Aggregation
COH             208119800010                Gas           Gov. Aggregation   VEDO         4021220912361470            Gas           Gov. Aggregation
COH             196304600023                Gas           Gov. Aggregation   VEDO         4019457652405817            Gas           Gov. Aggregation
COH             176618840031                Gas           Gov. Aggregation   VEDO         4003170152528844            Gas           Gov. Aggregation
COH             143763680028                Gas           Gov. Aggregation   VEDO         4021030262460711            Gas           Gov. Aggregation
COH             191476530057                Gas           Gov. Aggregation   VEDO         4021213012362296            Gas           Gov. Aggregation
COH             188793120010                Gas           Gov. Aggregation   VEDO         4021418022455490            Gas           Gov. Aggregation
COH             199147810020                Gas           Gov. Aggregation   VEDO         4019519412343346            Gas           Gov. Aggregation
COH             205585140015                Gas           Gov. Aggregation   VEDO         4021249212175767            Gas           Gov. Aggregation
COH             189019060067                Gas           Gov. Aggregation   VEDO         4021534582234788            Gas           Gov. Aggregation
COH             142951010020                Gas           Gov. Aggregation   VEDO         4018900592411920            Gas           Gov. Aggregation
COH             125667300032                Gas           Gov. Aggregation   VEDO         4020121522372198            Gas           Gov. Aggregation
COH             205976220019                Gas           Gov. Aggregation   VEDO         4018680282396389            Gas           Gov. Aggregation
COH             148455800039                Gas           Gov. Aggregation   VEDO         4002623502122608            Gas           Gov. Aggregation
COH             204730290016                Gas           Gov. Aggregation   VEDO         4019820402261687            Gas           Gov. Aggregation
COH             118264650032                Gas           Gov. Aggregation   VEDO         4021281652496512            Gas           Gov. Aggregation
COH             206042580012                Gas           Gov. Aggregation   VEDO         4001176162154332            Gas           Gov. Aggregation
COH             186221630016                Gas           Gov. Aggregation   VEDO         4021499102484528            Gas           Gov. Aggregation
COH             186229910011                Gas           Gov. Aggregation   VEDO         4017437652446641            Gas           Gov. Aggregation
COH             186231990010                Gas           Gov. Aggregation   VEDO         4004790122142482            Gas           Gov. Aggregation
COH             156486670014                Gas           Gov. Aggregation   VEDO         4021282042239555            Gas           Gov. Aggregation
COH             156525090012                Gas           Gov. Aggregation   VEDO         4021444602117371            Gas           Gov. Aggregation
COH             156554170032                Gas           Gov. Aggregation   VEDO         4019973502410310            Gas           Gov. Aggregation
COH             156554170078                Gas           Gov. Aggregation   VEDO         4002188442482254            Gas           Gov. Aggregation
COH             156554170087                Gas           Gov. Aggregation   VEDO         4021172942253829            Gas           Gov. Aggregation
COH             156610750021                Gas           Gov. Aggregation   VEDO         4021022722448829            Gas           Gov. Aggregation
COH             156630240017                Gas           Gov. Aggregation   VEDO         4021473962282452            Gas           Gov. Aggregation
COH             156661830036                Gas           Gov. Aggregation   VEDO         4021067672351716            Gas           Gov. Aggregation
COH             185899790028                Gas           Gov. Aggregation   VEDO         4004535752410884            Gas           Gov. Aggregation
COH             158518060164                Gas           Gov. Aggregation   VEDO         4021081072101926            Gas           Gov. Aggregation
COH             185379820032                Gas           Gov. Aggregation   VEDO         4016402012193651            Gas           Gov. Aggregation
COH             141273070027                Gas           Gov. Aggregation   VEDO         4021274852149609            Gas           Gov. Aggregation
COH             122666240021                Gas           Gov. Aggregation   VEDO         4021054902249824            Gas           Gov. Aggregation
COH             174872240095                Gas           Gov. Aggregation   VEDO         4021108112181686            Gas           Gov. Aggregation
COH             187809590036                Gas           Gov. Aggregation   VEDO         4021203832361542            Gas           Gov. Aggregation
COH             189900930038                Gas           Gov. Aggregation   VEDO         4021302572449898            Gas           Gov. Aggregation
COH             123120990056                Gas           Gov. Aggregation   VEDO         4021197372460930            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             204361020015                Gas           Gov. Aggregation   VEDO            4021521282522479            Gas           Gov. Aggregation
COH             206360820017                Gas           Gov. Aggregation   VEDO            4018818192395736            Gas           Gov. Aggregation
COH             207300670014                Gas           Gov. Aggregation   VEDO            4004128432414667            Gas           Gov. Aggregation
COH             205638810011                Gas           Gov. Aggregation   VEDO            4015749762388459            Gas           Gov. Aggregation
COH             201039360029                Gas           Gov. Aggregation   VEDO            4021259072142171            Gas           Gov. Aggregation
COH             206033120017                Gas           Gov. Aggregation   VEDO            4021416852519932            Gas           Gov. Aggregation
COH             125007550109                Gas           Gov. Aggregation   VEDO            4018859862429642            Gas           Gov. Aggregation
COH             121831310053                Gas           Gov. Aggregation   VEDO            4021024232271363            Gas           Gov. Aggregation
COH             206782600019                Gas           Gov. Aggregation   VEDO            4021218202155464            Gas           Gov. Aggregation
COH             206489370010                Gas           Gov. Aggregation   VEDO            4020872522365742            Gas           Gov. Aggregation
COH             197439370026                Gas           Gov. Aggregation   VEDO            4004577352216991            Gas           Gov. Aggregation
COH             209185930013                Gas           Gov. Aggregation   VEDO            4020042042308463            Gas           Gov. Aggregation
COH             209806970017                Gas           Gov. Aggregation   VEDO            4021199632365336            Gas           Gov. Aggregation
COH             208092860016                Gas           Gov. Aggregation   VEDO            4021513912477770            Gas           Gov. Aggregation
COH             206673210012                Gas           Gov. Aggregation   VEDO            4020018342188055            Gas           Gov. Aggregation
COH             206383210044                Gas           Gov. Aggregation   VEDO            4021451382258186            Gas           Gov. Aggregation
COH             206222020035                Gas           Gov. Aggregation   VEDO            4021077872188551            Gas           Gov. Aggregation
COH             206438390013                Gas           Gov. Aggregation   VEDO            4020238632265854            Gas           Gov. Aggregation
COH             208584300010                Gas           Gov. Aggregation   VEDO            4021066332182839            Gas           Gov. Aggregation
COH             209023580019                Gas           Gov. Aggregation   VEDO            4021081312327984            Gas           Gov. Aggregation
COH             201530420033                Gas           Gov. Aggregation   VEDO            4021496662450584            Gas           Gov. Aggregation
COH             207791990018                Gas           Gov. Aggregation   VEDO            4021204822274984            Gas           Gov. Aggregation
COH             208659240014                Gas           Gov. Aggregation   VEDO            4021434962317489            Gas           Gov. Aggregation
COH             209616380014                Gas           Gov. Aggregation   VEDO            4021108382201876            Gas           Gov. Aggregation
COH             209440060014                Gas           Gov. Aggregation   VEDO            4001392932263838            Gas           Gov. Aggregation
COH             207222780017                Gas           Gov. Aggregation   VEDO            4021255402487699            Gas           Gov. Aggregation
COH             148313240135                Gas           Gov. Aggregation   VEDO            4020088072444227            Gas           Gov. Aggregation
COH             189424900061                Gas           Gov. Aggregation   VEDO            4021114712420034            Gas           Gov. Aggregation
COH             206567790016                Gas           Gov. Aggregation   VEDO            4021197142400624            Gas           Gov. Aggregation
COH             209728320019                Gas           Gov. Aggregation   VEDO            4019773702170295            Gas           Gov. Aggregation
COH             202856660023                Gas           Gov. Aggregation   VEDO            4019818512375704            Gas           Gov. Aggregation
COH             206642230013                Gas           Gov. Aggregation   VEDO            4021185112311558            Gas           Gov. Aggregation
COH             209254460015                Gas           Gov. Aggregation   VEDO            4021259412352254            Gas           Gov. Aggregation
COH             198391410037                Gas           Gov. Aggregation   VEDO            4001739812403625            Gas           Gov. Aggregation
COH             206859190013                Gas           Gov. Aggregation   VEDO            4021061722172497            Gas           Gov. Aggregation
COH             163297380017                Gas           Gov. Aggregation   VEDO            4021495612417712            Gas           Gov. Aggregation
COH             206655780011                Gas           Gov. Aggregation   VEDO            4021461512298105            Gas           Gov. Aggregation
COH             153630790079                Gas           Gov. Aggregation   VEDO            4005027532559993            Gas           Gov. Aggregation
COH             169896810038                Gas           Gov. Aggregation   VEDO            4021308092496952            Gas           Gov. Aggregation
COH             208742260013                Gas           Gov. Aggregation   VEDO            4021467372165945            Gas           Gov. Aggregation
COH             158996410033                Gas           Gov. Aggregation   VEDO            4021109612221953            Gas           Gov. Aggregation
COH             136549280105                Gas           Gov. Aggregation   VEDO            4021109612523036            Gas           Gov. Aggregation
COH             208362130016                Gas           Gov. Aggregation   VEDO            4021481612221249            Gas           Gov. Aggregation
COH             199577680045                Gas           Gov. Aggregation   VEDO            4021434042381161            Gas           Gov. Aggregation
COH             208848210019                Gas           Gov. Aggregation   VEDO            4021173052440967            Gas           Gov. Aggregation
COH             206833100015                Gas           Gov. Aggregation   VEDO            4018200052672017            Gas           Gov. Aggregation
COH             208148370010                Gas           Gov. Aggregation   VEDO            4021235792625436            Gas           Gov. Aggregation
COH             200013770028                Gas           Gov. Aggregation   VEDO            4021198132592438            Gas           Gov. Aggregation
COH             208616760015                Gas           Gov. Aggregation   VEDO            4016993082627811            Gas           Gov. Aggregation
COH             207963770019                Gas           Gov. Aggregation   VEDO            4017800582592437            Gas           Gov. Aggregation
COH             146622880021                Gas           Gov. Aggregation   VEDO            4021254202619712            Gas           Gov. Aggregation
COH             141043850057                Gas           Gov. Aggregation   VEDO            4018199432136856            Gas           Gov. Aggregation
COH             208167640013                Gas           Gov. Aggregation   VEDO            4004752802182074            Gas           Gov. Aggregation
COH             196649610030                Gas           Gov. Aggregation   VEDO            4021521622647258            Gas           Gov. Aggregation
COH             193608810037                Gas           Gov. Aggregation   VEDO            4021206752120795            Gas           Gov. Aggregation
COH             205838880013                Gas           Gov. Aggregation   VEDO            4021067932453614            Gas           Gov. Aggregation
COH             188324400023                Gas           Gov. Aggregation   VEDO            4021444112195029            Gas           Gov. Aggregation
COH             207373930034                Gas           Gov. Aggregation   VEDO            4019756332450026            Gas           Gov. Aggregation
COH             162407500053                Gas           Gov. Aggregation   VEDO            4021528402368559            Gas           Gov. Aggregation
COH             205767320020                Gas           Gov. Aggregation   VEDO            4021300132467584            Gas           Gov. Aggregation
COH             205629770019                Gas           Gov. Aggregation   VEDO            4021283812198870            Gas           Gov. Aggregation
COH             208118760011                Gas           Gov. Aggregation   VEDO            4004123262124473            Gas           Gov. Aggregation
COH             205987640018                Gas           Gov. Aggregation   VEDO            4021181642262295            Gas           Gov. Aggregation
COH             123443320025                Gas           Gov. Aggregation   VEDO            4021270992388693            Gas           Gov. Aggregation
COH             157188220126                Gas           Gov. Aggregation   VEDO            4017087172452649            Gas           Gov. Aggregation
COH             197944820039                Gas           Gov. Aggregation   VEDO            4003038632296497            Gas           Gov. Aggregation
COH             201443850038                Gas           Gov. Aggregation   VEDO            4021233272339645            Gas           Gov. Aggregation
COH             207355200017                Gas           Gov. Aggregation   VEDO            4021488122136859            Gas           Gov. Aggregation
COH             142328690029                Gas           Gov. Aggregation   VEDO            4021114082304433            Gas           Gov. Aggregation
COH             204646880011                Gas           Gov. Aggregation   VEDO            4018179252242090            Gas           Gov. Aggregation
COH             204568700014                Gas           Gov. Aggregation   VEDO            4017289092358611            Gas           Gov. Aggregation
COH             204976100015                Gas           Gov. Aggregation   VEDO            4021221822421756            Gas           Gov. Aggregation
COH             201100010030                Gas           Gov. Aggregation   VEDO            4020260452231557            Gas           Gov. Aggregation
COH             122763540040                Gas           Gov. Aggregation   VEDO            4001772162309587            Gas           Gov. Aggregation
COH             134412170029                Gas           Gov. Aggregation   VEDO            4021508192481526            Gas           Gov. Aggregation
COH             206322390018                Gas           Gov. Aggregation   VEDO            4021300662423654            Gas           Gov. Aggregation
COH             205235790010                Gas           Gov. Aggregation   VEDO            4021498412511144            Gas           Gov. Aggregation
COH             206651270016                Gas           Gov. Aggregation   VEDO            4021233802223711            Gas           Gov. Aggregation
COH             206504880019                Gas           Gov. Aggregation   VEDO            4021440772265044            Gas           Gov. Aggregation
COH             205527660018                Gas           Gov. Aggregation   VEDO            4003393152193248            Gas           Gov. Aggregation
COH             204430480012                Gas           Gov. Aggregation   VEDO            4019744982399444            Gas           Gov. Aggregation
COH             167350180039                Gas           Gov. Aggregation   VEDO            4004851242166809            Gas           Gov. Aggregation
COH             164882780039                Gas           Gov. Aggregation   COH             206576090014                Gas           Gov. Aggregation
COH             208040980010                Gas           Gov. Aggregation   COH             201587860032                Gas           Gov. Aggregation
COH             170615800031                Gas           Gov. Aggregation   COH             207791880011                Gas           Gov. Aggregation
COH             207339620013                Gas           Gov. Aggregation   COH             189255360019                Gas           Gov. Aggregation
COH             206579490014                Gas           Gov. Aggregation   COH             110448600021                Gas           Gov. Aggregation
DEO             3180012155806               Gas           Gov. Aggregation   COH             208900290011                Gas           Gov. Aggregation
DEO             7180000263345               Gas           Gov. Aggregation   COH             168931900034                Gas           Gov. Aggregation
VEDO            4017265462447672            Gas           Gov. Aggregation   COH             207363540019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             163088840022                Gas           Gov. Aggregation   COH             203713880037                Gas           Gov. Aggregation
COH             203861630027                Gas           Gov. Aggregation   COH             208895340013                Gas           Gov. Aggregation
COH             175402040019                Gas           Gov. Aggregation   COH             138702430089                Gas           Gov. Aggregation
COH             155663150036                Gas           Gov. Aggregation   COH             207436420019                Gas           Gov. Aggregation
COH             147164590023                Gas           Gov. Aggregation   COH             208439910019                Gas           Gov. Aggregation
COH             206870080012                Gas           Gov. Aggregation   COH             207857590012                Gas           Gov. Aggregation
COH             207113590018                Gas           Gov. Aggregation   COH             203044740017                Gas           Gov. Aggregation
COH             115175140040                Gas           Gov. Aggregation   COH             208049330018                Gas           Gov. Aggregation
COH             206803900010                Gas           Gov. Aggregation   COH             207589710015                Gas           Gov. Aggregation
COH             204654900019                Gas           Gov. Aggregation   COH             193281930018                Gas           Gov. Aggregation
COH             132504440010                Gas           Gov. Aggregation   COH             161209890133                Gas           Gov. Aggregation
COH             161868270075                Gas           Gov. Aggregation   COH             164077720029                Gas           Gov. Aggregation
COH             206795100017                Gas           Gov. Aggregation   COH             166150480022                Gas           Gov. Aggregation
COH             201894030035                Gas           Gov. Aggregation   COH             191926580025                Gas           Gov. Aggregation
COH             205685460016                Gas           Gov. Aggregation   COH             198563770037                Gas           Gov. Aggregation
COH             196473180034                Gas           Gov. Aggregation   COH             207696920014                Gas           Gov. Aggregation
COH             205680880018                Gas           Gov. Aggregation   COH             207645950015                Gas           Gov. Aggregation
COH             185231180039                Gas           Gov. Aggregation   COH             196947980031                Gas           Gov. Aggregation
COH             206922150016                Gas           Gov. Aggregation   COH             207177860017                Gas           Gov. Aggregation
COH             208408260011                Gas           Gov. Aggregation   COH             209058620017                Gas           Gov. Aggregation
COH             206629510012                Gas           Gov. Aggregation   COH             117560670022                Gas           Gov. Aggregation
COH             206467390012                Gas           Gov. Aggregation   COH             208148390016                Gas           Gov. Aggregation
COH             206957890018                Gas           Gov. Aggregation   COH             207732980014                Gas           Gov. Aggregation
COH             207039100018                Gas           Gov. Aggregation   COH             207210520016                Gas           Gov. Aggregation
COH             205318530018                Gas           Gov. Aggregation   COH             208259220016                Gas           Gov. Aggregation
COH             205477390012                Gas           Gov. Aggregation   COH             207165920019                Gas           Gov. Aggregation
COH             205081640018                Gas           Gov. Aggregation   COH             202484280031                Gas           Gov. Aggregation
COH             203004120039                Gas           Gov. Aggregation   COH             203069220023                Gas           Gov. Aggregation
COH             208033220014                Gas           Gov. Aggregation   COH             206191220012                Gas           Gov. Aggregation
COH             207382890016                Gas           Gov. Aggregation   COH             197454200029                Gas           Gov. Aggregation
COH             206874840014                Gas           Gov. Aggregation   COH             117164480059                Gas           Gov. Aggregation
COH             195825110032                Gas           Gov. Aggregation   COH             207096080013                Gas           Gov. Aggregation
COH             208048940012                Gas           Gov. Aggregation   COH             117464970032                Gas           Gov. Aggregation
COH             208239460018                Gas           Gov. Aggregation   COH             191071990040                Gas           Gov. Aggregation
COH             206618790035                Gas           Gov. Aggregation   COH             208293420012                Gas           Gov. Aggregation
COH             197271680045                Gas           Gov. Aggregation   COH             195589580045                Gas           Gov. Aggregation
COH             206919710024                Gas           Gov. Aggregation   COH             208064730021                Gas           Gov. Aggregation
COH             161918600050                Gas           Gov. Aggregation   COH             209368690016                Gas           Gov. Aggregation
COH             160159600079                Gas           Gov. Aggregation   COH             166438120027                Gas           Gov. Aggregation
COH             207968160017                Gas           Gov. Aggregation   COH             209254600015                Gas           Gov. Aggregation
COH             195914030021                Gas           Gov. Aggregation   COH             209074720012                Gas           Gov. Aggregation
COH             207197140016                Gas           Gov. Aggregation   COH             202879230025                Gas           Gov. Aggregation
COH             208096700011                Gas           Gov. Aggregation   COH             205448690010                Gas           Gov. Aggregation
COH             203968710024                Gas           Gov. Aggregation   COH             207271530016                Gas           Gov. Aggregation
COH             208196750019                Gas           Gov. Aggregation   COH             206782710016                Gas           Gov. Aggregation
COH             199332940039                Gas           Gov. Aggregation   COH             207728990011                Gas           Gov. Aggregation
COH             207514860011                Gas           Gov. Aggregation   COH             206697700019                Gas           Gov. Aggregation
COH             206503880011                Gas           Gov. Aggregation   COH             195518320020                Gas           Gov. Aggregation
COH             207604590017                Gas           Gov. Aggregation   COH             111175930011                Gas           Gov. Aggregation
COH             206360030013                Gas           Gov. Aggregation   COH             207492430019                Gas           Gov. Aggregation
COH             157546840028                Gas           Gov. Aggregation   COH             206097030012                Gas           Gov. Aggregation
COH             206351080012                Gas           Gov. Aggregation   DEO             1500018956952               Gas           Gov. Aggregation
COH             147464510014                Gas           Gov. Aggregation   DEO             9180015631030               Gas           Gov. Aggregation
DEO             5180015799377               Gas           Gov. Aggregation   COH             166450270020                Gas           Gov. Aggregation
COH             207387270016                Gas           Gov. Aggregation   COH             166543860010                Gas           Gov. Aggregation
COH             200666860053                Gas           Gov. Aggregation   DUKE            6290380002                  Gas           Gov. Aggregation
COH             206237560013                Gas           Gov. Aggregation   DUKE            8500222105                  Gas           Gov. Aggregation
COH             206928660017                Gas           Gov. Aggregation   DUKE            9420222203                  Gas           Gov. Aggregation
COH             207630040017                Gas           Gov. Aggregation   DUKE            5470381802                  Gas           Gov. Aggregation
COH             207644800018                Gas           Gov. Aggregation   DUKE            0430084921                  Gas           Gov. Aggregation
COH             207871380016                Gas           Gov. Aggregation   DUKE            7400362105                  Gas           Gov. Aggregation
COH             207876790010                Gas           Gov. Aggregation   DUKE            4240359802                  Gas           Gov. Aggregation
COH             208085510014                Gas           Gov. Aggregation   DUKE            0410366303                  Gas           Gov. Aggregation
COH             210053920011                Gas           Gov. Aggregation   DUKE            6660374202                  Gas           Gov. Aggregation
COH             210345950016                Gas           Gov. Aggregation   DUKE            9190377802                  Gas           Gov. Aggregation
COH             210212850018                Gas           Gov. Aggregation   DUKE            9130377702                  Gas           Gov. Aggregation
COH             138679340034                Gas           Gov. Aggregation   DUKE            8640376703                  Gas           Gov. Aggregation
COH             207779650015                Gas           Gov. Aggregation   DUKE            1030368504                  Gas           Gov. Aggregation
COH             208087270011                Gas           Gov. Aggregation   DUKE            5980071626                  Gas           Gov. Aggregation
COH             208237220012                Gas           Gov. Aggregation   DUKE            6650224903                  Gas           Gov. Aggregation
COH             186839160025                Gas           Gov. Aggregation   DUKE            8860361602                  Gas           Gov. Aggregation
COH             206236460034                Gas           Gov. Aggregation   DUKE            1440224904                  Gas           Gov. Aggregation
COH             207593500010                Gas           Gov. Aggregation   DUKE            6900211902                  Gas           Gov. Aggregation
COH             172917880024                Gas           Gov. Aggregation   DUKE            9930358701                  Gas           Gov. Aggregation
COH             206950610010                Gas           Gov. Aggregation   DUKE            7410360902                  Gas           Gov. Aggregation
COH             199125490015                Gas           Gov. Aggregation   DUKE            7130087223                  Gas           Gov. Aggregation
COH             151743970047                Gas           Gov. Aggregation   DUKE            9910208903                  Gas           Gov. Aggregation
COH             208948440019                Gas           Gov. Aggregation   COH             191173890036                Gas           Gov. Aggregation
COH             202103070013                Gas           Gov. Aggregation   COH             174931690022                Gas           Gov. Aggregation
COH             187822170027                Gas           Gov. Aggregation   COH             208719070012                Gas           Gov. Aggregation
COH             152525170055                Gas           Gov. Aggregation   COH             207014010019                Gas           Gov. Aggregation
COH             208788000011                Gas           Gov. Aggregation   COH             202923630035                Gas           Gov. Aggregation
COH             147817060378                Gas           Gov. Aggregation   COH             207388730017                Gas           Gov. Aggregation
COH             147817060421                Gas           Gov. Aggregation   COH             118098210037                Gas           Gov. Aggregation
COH             147817060430                Gas           Gov. Aggregation   COH             208087560010                Gas           Gov. Aggregation
COH             147817060458                Gas           Gov. Aggregation   COH             137722610026                Gas           Gov. Aggregation
COH             147817060494                Gas           Gov. Aggregation   COH             208253320017                Gas           Gov. Aggregation
COH             115833240043                Gas           Gov. Aggregation   COH             208211780019                Gas           Gov. Aggregation
COH             185777050085                Gas           Gov. Aggregation   COH             208488950018                Gas           Gov. Aggregation
COH             167184900030                Gas           Gov. Aggregation   COH             207825110019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             173088400013                Gas           Gov. Aggregation   COH             208788570012                Gas           Gov. Aggregation
COH             174045030109                Gas           Gov. Aggregation   COH             199086790025                Gas           Gov. Aggregation
COH             175508750052                Gas           Gov. Aggregation   COH             208119440016                Gas           Gov. Aggregation
COH             175515880121                Gas           Gov. Aggregation   COH             119896120024                Gas           Gov. Aggregation
COH             175833070047                Gas           Gov. Aggregation   COH             135282760076                Gas           Gov. Aggregation
COH             176073380169                Gas           Gov. Aggregation   COH             138007090021                Gas           Gov. Aggregation
COH             185576380073                Gas           Gov. Aggregation   COH             152409170033                Gas           Gov. Aggregation
COH             195749490026                Gas           Gov. Aggregation   COH             188275560034                Gas           Gov. Aggregation
COH             198768950115                Gas           Gov. Aggregation   COH             188414420028                Gas           Gov. Aggregation
COH             198971040044                Gas           Gov. Aggregation   COH             188725010025                Gas           Gov. Aggregation
COH             199095720011                Gas           Gov. Aggregation   COH             189740410028                Gas           Gov. Aggregation
COH             200162820031                Gas           Gov. Aggregation   COH             191476420041                Gas           Gov. Aggregation
COH             201102150037                Gas           Gov. Aggregation   COH             193197210036                Gas           Gov. Aggregation
COH             204228270015                Gas           Gov. Aggregation   COH             194652560036                Gas           Gov. Aggregation
COH             204231510035                Gas           Gov. Aggregation   COH             194694910025                Gas           Gov. Aggregation
COH             204379550017                Gas           Gov. Aggregation   COH             205672770018                Gas           Gov. Aggregation
COH             205396260011                Gas           Gov. Aggregation   COH             205727740017                Gas           Gov. Aggregation
COH             205763570017                Gas           Gov. Aggregation   COH             205929840027                Gas           Gov. Aggregation
COH             206001810028                Gas           Gov. Aggregation   COH             205952630022                Gas           Gov. Aggregation
COH             209115640011                Gas           Gov. Aggregation   COH             206031920013                Gas           Gov. Aggregation
COH             209311130012                Gas           Gov. Aggregation   COH             206089050015                Gas           Gov. Aggregation
COH             209789790013                Gas           Gov. Aggregation   COH             206089140016                Gas           Gov. Aggregation
COH             209882070016                Gas           Gov. Aggregation   COH             206153870016                Gas           Gov. Aggregation
COH             210161820013                Gas           Gov. Aggregation   COH             206245660015                Gas           Gov. Aggregation
COH             210164510012                Gas           Gov. Aggregation   COH             207878850013                Gas           Gov. Aggregation
COH             210175760017                Gas           Gov. Aggregation   COH             208099070018                Gas           Gov. Aggregation
COH             210175770015                Gas           Gov. Aggregation   COH             208109760010                Gas           Gov. Aggregation
COH             210217460010                Gas           Gov. Aggregation   COH             209123600012                Gas           Gov. Aggregation
COH             209972960018                Gas           Gov. Aggregation   COH             209180160015                Gas           Gov. Aggregation
COH             185815530037                Gas           Gov. Aggregation   COH             209251830013                Gas           Gov. Aggregation
COH             210362000019                Gas           Gov. Aggregation   COH             208331520019                Gas           Gov. Aggregation
COH             209034560010                Gas           Gov. Aggregation   COH             200848150038                Gas           Gov. Aggregation
COH             208845480019                Gas           Gov. Aggregation   COH             174797040042                Gas           Gov. Aggregation
COH             209975640019                Gas           Gov. Aggregation   COH             134960940035                Gas           Gov. Aggregation
COH             208807620019                Gas           Gov. Aggregation   COH             155686420077                Gas           Gov. Aggregation
COH             209150870019                Gas           Gov. Aggregation   COH             205628700015                Gas           Gov. Aggregation
COH             210857500015                Gas           Gov. Aggregation   COH             167488730032                Gas           Gov. Aggregation
COH             135735160053                Gas           Gov. Aggregation   COH             209294440015                Gas           Gov. Aggregation
COH             209903980019                Gas           Gov. Aggregation   COH             204822990023                Gas           Gov. Aggregation
COH             210247290013                Gas           Gov. Aggregation   COH             207108210018                Gas           Gov. Aggregation
COH             208776670016                Gas           Gov. Aggregation   COH             199724400040                Gas           Gov. Aggregation
COH             156086020027                Gas           Gov. Aggregation   COH             208440300014                Gas           Gov. Aggregation
COH             209553250015                Gas           Gov. Aggregation   COH             206257410012                Gas           Gov. Aggregation
COH             114781580026                Gas           Gov. Aggregation   COH             198897790036                Gas           Gov. Aggregation
COH             186232880011                Gas           Gov. Aggregation   COH             207712000011                Gas           Gov. Aggregation
COH             193406140018                Gas           Gov. Aggregation   COH             208331510011                Gas           Gov. Aggregation
COH             189916700015                Gas           Gov. Aggregation   COH             208039320011                Gas           Gov. Aggregation
COH             144857840024                Gas           Gov. Aggregation   COH             209058590014                Gas           Gov. Aggregation
COH             189408330010                Gas           Gov. Aggregation   COH             207811210017                Gas           Gov. Aggregation
COH             136395410024                Gas           Gov. Aggregation   COH             205368110057                Gas           Gov. Aggregation
COH             160824880061                Gas           Gov. Aggregation   COH             203425780020                Gas           Gov. Aggregation
COH             209463110015                Gas           Gov. Aggregation   COH             206245600026                Gas           Gov. Aggregation
COH             204958670014                Gas           Gov. Aggregation   COH             197421180023                Gas           Gov. Aggregation
COH             201953490024                Gas           Gov. Aggregation   COH             185880900050                Gas           Gov. Aggregation
COH             186392620115                Gas           Gov. Aggregation   COH             205959350018                Gas           Gov. Aggregation
COH             201943830023                Gas           Gov. Aggregation   COH             207506700011                Gas           Gov. Aggregation
COH             207022450010                Gas           Gov. Aggregation   COH             177502780038                Gas           Gov. Aggregation
COH             117334280014                Gas           Gov. Aggregation   COH             205507550013                Gas           Gov. Aggregation
COH             196828940031                Gas           Gov. Aggregation   COH             195654290092                Gas           Gov. Aggregation
COH             208805150012                Gas           Gov. Aggregation   COH             205963100011                Gas           Gov. Aggregation
COH             206310310019                Gas           Gov. Aggregation   COH             207728980013                Gas           Gov. Aggregation
COH             207263210010                Gas           Gov. Aggregation   COH             201925930020                Gas           Gov. Aggregation
COH             207253330016                Gas           Gov. Aggregation   COH             191113990031                Gas           Gov. Aggregation
COH             203146610036                Gas           Gov. Aggregation   COH             158859950085                Gas           Gov. Aggregation
COH             208377350019                Gas           Gov. Aggregation   COH             209522220016                Gas           Gov. Aggregation
COH             205211940027                Gas           Gov. Aggregation   COH             205485810025                Gas           Gov. Aggregation
COH             207066960011                Gas           Gov. Aggregation   COH             208166800011                Gas           Gov. Aggregation
COH             195897310048                Gas           Gov. Aggregation   COH             204148790016                Gas           Gov. Aggregation
COH             206195900011                Gas           Gov. Aggregation   COH             209303530015                Gas           Gov. Aggregation
COH             209593790018                Gas           Gov. Aggregation   COH             194237000024                Gas           Gov. Aggregation
COH             209386100011                Gas           Gov. Aggregation   COH             207811200019                Gas           Gov. Aggregation
COH             207138880015                Gas           Gov. Aggregation   COH             205294000020                Gas           Gov. Aggregation
COH             186162070065                Gas           Gov. Aggregation   COH             198317600024                Gas           Gov. Aggregation
COH             207636420015                Gas           Gov. Aggregation   COH             191444830024                Gas           Gov. Aggregation
COH             208730930017                Gas           Gov. Aggregation   COH             157250210063                Gas           Gov. Aggregation
COH             206445390018                Gas           Gov. Aggregation   COH             203378400020                Gas           Gov. Aggregation
COH             206064910025                Gas           Gov. Aggregation   COH             174670600042                Gas           Gov. Aggregation
COH             206737280012                Gas           Gov. Aggregation   COH             144810090128                Gas           Gov. Aggregation
COH             197063470040                Gas           Gov. Aggregation   COH             175328400164                Gas           Gov. Aggregation
COH             206603280015                Gas           Gov. Aggregation   COH             199975010023                Gas           Gov. Aggregation
COH             201747270027                Gas           Gov. Aggregation   COH             175716380040                Gas           Gov. Aggregation
COH             208798360015                Gas           Gov. Aggregation   COH             206031970013                Gas           Gov. Aggregation
COH             208286430015                Gas           Gov. Aggregation   COH             189529280033                Gas           Gov. Aggregation
COH             208839000012                Gas           Gov. Aggregation   COH             185541160027                Gas           Gov. Aggregation
COH             207313180010                Gas           Gov. Aggregation   COH             201333180032                Gas           Gov. Aggregation
COH             206437530033                Gas           Gov. Aggregation   COH             144841390031                Gas           Gov. Aggregation
COH             207406820018                Gas           Gov. Aggregation   COH             207138890013                Gas           Gov. Aggregation
COH             207321130013                Gas           Gov. Aggregation   COH             206392160019                Gas           Gov. Aggregation
COH             200890070036                Gas           Gov. Aggregation   COH             206322750021                Gas           Gov. Aggregation
COH             194189403351                Gas           Gov. Aggregation   COH             196415670051                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             207463670010                Gas           Gov. Aggregation   COH             168231810037                Gas           Gov. Aggregation
COH             207344490010                Gas           Gov. Aggregation   COH             209053700010                Gas           Gov. Aggregation
COH             209247440014                Gas           Gov. Aggregation   COH             205783630012                Gas           Gov. Aggregation
COH             174320760077                Gas           Gov. Aggregation   COH             174747670063                Gas           Gov. Aggregation
COH             206310250012                Gas           Gov. Aggregation   COH             208253300011                Gas           Gov. Aggregation
COH             208940460011                Gas           Gov. Aggregation   COH             160943210121                Gas           Gov. Aggregation
COH             193486850057                Gas           Gov. Aggregation   COH             207913330016                Gas           Gov. Aggregation
COH             208360650011                Gas           Gov. Aggregation   COH             207871090017                Gas           Gov. Aggregation
COH             201678710021                Gas           Gov. Aggregation   COH             209498950016                Gas           Gov. Aggregation
COH             201804250029                Gas           Gov. Aggregation   COH             207670100010                Gas           Gov. Aggregation
COH             204142610042                Gas           Gov. Aggregation   COH             200312510064                Gas           Gov. Aggregation
COH             168704850107                Gas           Gov. Aggregation   COH             207840580019                Gas           Gov. Aggregation
COH             206254420016                Gas           Gov. Aggregation   COH             196475450033                Gas           Gov. Aggregation
COH             177703270057                Gas           Gov. Aggregation   COH             204123390012                Gas           Gov. Aggregation
COH             208632620010                Gas           Gov. Aggregation   COH             205783550019                Gas           Gov. Aggregation
COH             192833450082                Gas           Gov. Aggregation   COH             203511440028                Gas           Gov. Aggregation
COH             202033730031                Gas           Gov. Aggregation   COH             116896000022                Gas           Gov. Aggregation
COH             168001350040                Gas           Gov. Aggregation   COH             117359940040                Gas           Gov. Aggregation
COH             177080340072                Gas           Gov. Aggregation   COH             206917400014                Gas           Gov. Aggregation
COH             177334630054                Gas           Gov. Aggregation   COH             208131130015                Gas           Gov. Aggregation
COH             198642790017                Gas           Gov. Aggregation   COH             207296740010                Gas           Gov. Aggregation
COH             203560370020                Gas           Gov. Aggregation   COH             208811840014                Gas           Gov. Aggregation
COH             115832090010                Gas           Gov. Aggregation   COH             200096390033                Gas           Gov. Aggregation
COH             167185000073                Gas           Gov. Aggregation   COH             169216320031                Gas           Gov. Aggregation
COH             198026610010                Gas           Gov. Aggregation   COH             209194290019                Gas           Gov. Aggregation
COH             209551820019                Gas           Gov. Aggregation   COH             206155990017                Gas           Gov. Aggregation
COH             199697730013                Gas           Gov. Aggregation   COH             208410170015                Gas           Gov. Aggregation
COH             186406270029                Gas           Gov. Aggregation   COH             201522450025                Gas           Gov. Aggregation
COH             190510000037                Gas           Gov. Aggregation   COH             209463190019                Gas           Gov. Aggregation
COH             200437110019                Gas           Gov. Aggregation   COH             197148950030                Gas           Gov. Aggregation
COH             208616440012                Gas           Gov. Aggregation   COH             206195460014                Gas           Gov. Aggregation
COH             115880300023                Gas           Gov. Aggregation   COH             205628760013                Gas           Gov. Aggregation
COH             195159370059                Gas           Gov. Aggregation   COH             209327890010                Gas           Gov. Aggregation
COH             207674420015                Gas           Gov. Aggregation   COH             205640650029                Gas           Gov. Aggregation
COH             197575700028                Gas           Gov. Aggregation   COH             185332380097                Gas           Gov. Aggregation
COH             208109420011                Gas           Gov. Aggregation   COH             206032020010                Gas           Gov. Aggregation
COH             205754760016                Gas           Gov. Aggregation   COH             207344540019                Gas           Gov. Aggregation
COH             209375270019                Gas           Gov. Aggregation   COH             207797870011                Gas           Gov. Aggregation
COH             205708350019                Gas           Gov. Aggregation   COH             208403090017                Gas           Gov. Aggregation
COH             194525230025                Gas           Gov. Aggregation   COH             194313030035                Gas           Gov. Aggregation
COH             207344070018                Gas           Gov. Aggregation   COH             208425080013                Gas           Gov. Aggregation
COH             154113330043                Gas           Gov. Aggregation   COH             209134510018                Gas           Gov. Aggregation
COH             198704660012                Gas           Gov. Aggregation   COH             208827880013                Gas           Gov. Aggregation
COH             197996130035                Gas           Gov. Aggregation   COH             208237560011                Gas           Gov. Aggregation
COH             207539740014                Gas           Gov. Aggregation   COH             198769160039                Gas           Gov. Aggregation
COH             167383480037                Gas           Gov. Aggregation   COH             197995690030                Gas           Gov. Aggregation
COH             169613430054                Gas           Gov. Aggregation   COH             197745060031                Gas           Gov. Aggregation
COH             157337810125                Gas           Gov. Aggregation   COH             193904730045                Gas           Gov. Aggregation
COH             207381610016                Gas           Gov. Aggregation   COH             187926270053                Gas           Gov. Aggregation
COH             205989970015                Gas           Gov. Aggregation   COH             199125660046                Gas           Gov. Aggregation
COH             204899580028                Gas           Gov. Aggregation   COH             187041900038                Gas           Gov. Aggregation
COH             207123580019                Gas           Gov. Aggregation   COH             203207450021                Gas           Gov. Aggregation
COH             175062070015                Gas           Gov. Aggregation   COH             164452220046                Gas           Gov. Aggregation
COH             203913170014                Gas           Gov. Aggregation   COH             188178000055                Gas           Gov. Aggregation
COH             202546410013                Gas           Gov. Aggregation   COH             174338000079                Gas           Gov. Aggregation
COH             204583690015                Gas           Gov. Aggregation   COH             176999190041                Gas           Gov. Aggregation
COH             199324090017                Gas           Gov. Aggregation   COH             172449580020                Gas           Gov. Aggregation
COH             204824880013                Gas           Gov. Aggregation   COH             191232460058                Gas           Gov. Aggregation
COH             145866290066                Gas           Gov. Aggregation   COH             206544610011                Gas           Gov. Aggregation
COH             163547580032                Gas           Gov. Aggregation   COH             208900030015                Gas           Gov. Aggregation
COH             186788980031                Gas           Gov. Aggregation   COH             207712420013                Gas           Gov. Aggregation
COH             200151060016                Gas           Gov. Aggregation   COH             209031290013                Gas           Gov. Aggregation
COH             209218150016                Gas           Gov. Aggregation   COH             201771930027                Gas           Gov. Aggregation
COH             204799920019                Gas           Gov. Aggregation   COH             200858620038                Gas           Gov. Aggregation
COH             203861160017                Gas           Gov. Aggregation   COH             155736370071                Gas           Gov. Aggregation
COH             205433660017                Gas           Gov. Aggregation   COH             117242490024                Gas           Gov. Aggregation
COH             133613500051                Gas           Gov. Aggregation   COH             207573340016                Gas           Gov. Aggregation
COH             207919840017                Gas           Gov. Aggregation   COH             206173010014                Gas           Gov. Aggregation
COH             208301100010                Gas           Gov. Aggregation   COH             117252220029                Gas           Gov. Aggregation
COH             206657640016                Gas           Gov. Aggregation   COH             147300080020                Gas           Gov. Aggregation
COH             115751961321                Gas           Gov. Aggregation   COH             207022370017                Gas           Gov. Aggregation
COH             207185630018                Gas           Gov. Aggregation   COH             186678750069                Gas           Gov. Aggregation
COH             210363460011                Gas           Gov. Aggregation   COH             202979720039                Gas           Gov. Aggregation
COH             189867450031                Gas           Gov. Aggregation   COH             206833130028                Gas           Gov. Aggregation
COH             115751961205                Gas           Gov. Aggregation   COH             209045660016                Gas           Gov. Aggregation
COH             187062070048                Gas           Gov. Aggregation   COH             161756850070                Gas           Gov. Aggregation
COH             168048350079                Gas           Gov. Aggregation   COH             208440160014                Gas           Gov. Aggregation
COH             192092520034                Gas           Gov. Aggregation   COH             207352120010                Gas           Gov. Aggregation
COH             209918760014                Gas           Gov. Aggregation   COH             195630260034                Gas           Gov. Aggregation
COH             189802170063                Gas           Gov. Aggregation   COH             200299370028                Gas           Gov. Aggregation
COH             208098670014                Gas           Gov. Aggregation   COH             202904470020                Gas           Gov. Aggregation
COH             207696360012                Gas           Gov. Aggregation   COH             205482010010                Gas           Gov. Aggregation
COH             152556480028                Gas           Gov. Aggregation   COH             206592420010                Gas           Gov. Aggregation
COH             210191400018                Gas           Gov. Aggregation   COH             206774870010                Gas           Gov. Aggregation
COH             207163300013                Gas           Gov. Aggregation   COH             151638540040                Gas           Gov. Aggregation
COH             206696490016                Gas           Gov. Aggregation   COH             208402560010                Gas           Gov. Aggregation
COH             168497060060                Gas           Gov. Aggregation   COH             207053000019                Gas           Gov. Aggregation
COH             196893680011                Gas           Gov. Aggregation   COH             197406240040                Gas           Gov. Aggregation
COH             200116960039                Gas           Gov. Aggregation   COH             205837570010                Gas           Gov. Aggregation
COH             205850000039                Gas           Gov. Aggregation   COH             208991660012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             207539730016                Gas           Gov. Aggregation   COH             203652170027                Gas           Gov. Aggregation
COH             202119230034                Gas           Gov. Aggregation   COH             206042060011                Gas           Gov. Aggregation
COH             208658790011                Gas           Gov. Aggregation   COH             206380870015                Gas           Gov. Aggregation
COH             208727210015                Gas           Gov. Aggregation   COH             174595660022                Gas           Gov. Aggregation
COH             208912020012                Gas           Gov. Aggregation   COH             206578940011                Gas           Gov. Aggregation
VEDO            4002882452283229            Gas           Gov. Aggregation   COH             196147850043                Gas           Gov. Aggregation
COH             210723560016                Gas           Gov. Aggregation   COH             206917280010                Gas           Gov. Aggregation
DEO             6180017413968               Gas           Gov. Aggregation   COH             199504040042                Gas           Gov. Aggregation
COH             209045790019                Gas           Gov. Aggregation   COH             154276400035                Gas           Gov. Aggregation
VEDO            4002448052239700            Gas           Gov. Aggregation   COH             205333780032                Gas           Gov. Aggregation
DEO             5180010615549               Gas           Gov. Aggregation   COH             125574670041                Gas           Gov. Aggregation
VEDO            4021562862426113            Gas           Gov. Aggregation   COH             189306070137                Gas           Gov. Aggregation
DEO             9421000200359               Gas           Gov. Aggregation   COH             168411590041                Gas           Gov. Aggregation
COH             199347970041                Gas           Gov. Aggregation   COH             176233030108                Gas           Gov. Aggregation
COH             209171910016                Gas           Gov. Aggregation   COH             169946240102                Gas           Gov. Aggregation
COH             200168850033                Gas           Gov. Aggregation   COH             206477680010                Gas           Gov. Aggregation
COH             201503300026                Gas           Gov. Aggregation   COH             199350670029                Gas           Gov. Aggregation
COH             209360050016                Gas           Gov. Aggregation   COH             194185650047                Gas           Gov. Aggregation
COH             134781050176                Gas           Gov. Aggregation   COH             172461160077                Gas           Gov. Aggregation
COH             199954160044                Gas           Gov. Aggregation   COH             206451790011                Gas           Gov. Aggregation
COH             205051340023                Gas           Gov. Aggregation   COH             200608850039                Gas           Gov. Aggregation
COH             204336660023                Gas           Gov. Aggregation   COH             193069880037                Gas           Gov. Aggregation
COH             207017140016                Gas           Gov. Aggregation   COH             206489390016                Gas           Gov. Aggregation
COH             203510690028                Gas           Gov. Aggregation   COH             208855360013                Gas           Gov. Aggregation
COH             206887400019                Gas           Gov. Aggregation   COH             173694570077                Gas           Gov. Aggregation
COH             201175660037                Gas           Gov. Aggregation   COH             207941290016                Gas           Gov. Aggregation
COH             208598970011                Gas           Gov. Aggregation   COH             207585330013                Gas           Gov. Aggregation
COH             206583840011                Gas           Gov. Aggregation   COH             201235270022                Gas           Gov. Aggregation
COH             204700140010                Gas           Gov. Aggregation   COH             198571930036                Gas           Gov. Aggregation
COH             203527170022                Gas           Gov. Aggregation   COH             199146080035                Gas           Gov. Aggregation
COH             115782970101                Gas           Gov. Aggregation   COH             206317330039                Gas           Gov. Aggregation
COH             205124270023                Gas           Gov. Aggregation   COH             169202910027                Gas           Gov. Aggregation
COH             198598990010                Gas           Gov. Aggregation   COH             205333930030                Gas           Gov. Aggregation
COH             206412690014                Gas           Gov. Aggregation   COH             208259200010                Gas           Gov. Aggregation
COH             203778370010                Gas           Gov. Aggregation   COH             193133040072                Gas           Gov. Aggregation
COH             202105380014                Gas           Gov. Aggregation   COH             203969370024                Gas           Gov. Aggregation
COH             209905600014                Gas           Gov. Aggregation   COH             206133500015                Gas           Gov. Aggregation
COH             209360400012                Gas           Gov. Aggregation   COH             206496290012                Gas           Gov. Aggregation
COH             209664020018                Gas           Gov. Aggregation   COH             208425010017                Gas           Gov. Aggregation
COH             209223180019                Gas           Gov. Aggregation   COH             167488650039                Gas           Gov. Aggregation
COH             202025310018                Gas           Gov. Aggregation   COH             191673820021                Gas           Gov. Aggregation
COH             209685580017                Gas           Gov. Aggregation   COH             208468870017                Gas           Gov. Aggregation
COH             187340350049                Gas           Gov. Aggregation   COH             195440320034                Gas           Gov. Aggregation
COH             210259710019                Gas           Gov. Aggregation   COH             205963040014                Gas           Gov. Aggregation
COH             170335660017                Gas           Gov. Aggregation   COH             207910770010                Gas           Gov. Aggregation
COH             206775430010                Gas           Gov. Aggregation   COH             197530520020                Gas           Gov. Aggregation
COH             205447800036                Gas           Gov. Aggregation   COH             205696790014                Gas           Gov. Aggregation
COH             140751240073                Gas           Gov. Aggregation   COH             203079871178                Gas           Gov. Aggregation
COH             143390330031                Gas           Gov. Aggregation   COH             209129370019                Gas           Gov. Aggregation
COH             200368930032                Gas           Gov. Aggregation   COH             207128550015                Gas           Gov. Aggregation
COH             206625900018                Gas           Gov. Aggregation   COH             194030850024                Gas           Gov. Aggregation
COH             208616320017                Gas           Gov. Aggregation   COH             189431510059                Gas           Gov. Aggregation
COH             130320160048                Gas           Gov. Aggregation   COH             209254570012                Gas           Gov. Aggregation
COH             177540200020                Gas           Gov. Aggregation   COH             203934500029                Gas           Gov. Aggregation
COH             209626430012                Gas           Gov. Aggregation   COH             196471480026                Gas           Gov. Aggregation
COH             198675740018                Gas           Gov. Aggregation   COH             171888710023                Gas           Gov. Aggregation
COH             206796810016                Gas           Gov. Aggregation   COH             170325440023                Gas           Gov. Aggregation
COH             177018360024                Gas           Gov. Aggregation   COH             208775050018                Gas           Gov. Aggregation
COH             115803550032                Gas           Gov. Aggregation   COH             203079871212                Gas           Gov. Aggregation
COH             115829730021                Gas           Gov. Aggregation   COH             203618100023                Gas           Gov. Aggregation
COH             158599860031                Gas           Gov. Aggregation   COH             206821850013                Gas           Gov. Aggregation
COH             141019480038                Gas           Gov. Aggregation   COH             202352340028                Gas           Gov. Aggregation
COH             196320240043                Gas           Gov. Aggregation   COH             208985000013                Gas           Gov. Aggregation
COH             210346610015                Gas           Gov. Aggregation   COH             208730920019                Gas           Gov. Aggregation
COH             188810140036                Gas           Gov. Aggregation   COH             209315520012                Gas           Gov. Aggregation
COH             133831260014                Gas           Gov. Aggregation   COH             208237600012                Gas           Gov. Aggregation
COH             207223480027                Gas           Gov. Aggregation   COH             206962260019                Gas           Gov. Aggregation
COH             139586520078                Gas           Gov. Aggregation   COH             209240680018                Gas           Gov. Aggregation
COH             206996270016                Gas           Gov. Aggregation   COH             206290360022                Gas           Gov. Aggregation
COH             198579770025                Gas           Gov. Aggregation   COH             205487600016                Gas           Gov. Aggregation
COH             158430850084                Gas           Gov. Aggregation   COH             147585030082                Gas           Gov. Aggregation
COH             207903660018                Gas           Gov. Aggregation   COH             207418790010                Gas           Gov. Aggregation
COH             160095880022                Gas           Gov. Aggregation   COH             206082190010                Gas           Gov. Aggregation
COH             115670200029                Gas           Gov. Aggregation   COH             205676540018                Gas           Gov. Aggregation
COH             173116130082                Gas           Gov. Aggregation   COH             209162860016                Gas           Gov. Aggregation
COH             198017930012                Gas           Gov. Aggregation   COH             206154220010                Gas           Gov. Aggregation
COH             166927780022                Gas           Gov. Aggregation   COH             176555610042                Gas           Gov. Aggregation
COH             203914850037                Gas           Gov. Aggregation   COH             208030030010                Gas           Gov. Aggregation
COH             208064500010                Gas           Gov. Aggregation   COH             207946320019                Gas           Gov. Aggregation
COH             197409460020                Gas           Gov. Aggregation   COH             202698980022                Gas           Gov. Aggregation
COH             176087880049                Gas           Gov. Aggregation   COH             149448110038                Gas           Gov. Aggregation
COH             110317660026                Gas           Gov. Aggregation   COH             202951660030                Gas           Gov. Aggregation
VEDO            4016395792142641            Gas           Gov. Aggregation   COH             205611050017                Gas           Gov. Aggregation
COH             210935540011                Gas           Gov. Aggregation   COH             207816540018                Gas           Gov. Aggregation
DEO             5500064461317               Gas           Gov. Aggregation   COH             198751040022                Gas           Gov. Aggregation
DEO             4442106211986               Gas           Gov. Aggregation   COH             207963720019                Gas           Gov. Aggregation
COH             203881910026                Gas           Gov. Aggregation   COH             177136900075                Gas           Gov. Aggregation
COH             175885590030                Gas           Gov. Aggregation   COH             203069240029                Gas           Gov. Aggregation
DEO             4180014238930               Gas           Gov. Aggregation   COH             207963860010                Gas           Gov. Aggregation
COH             203962700019                Gas           Gov. Aggregation   COH             162455750069                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             207184160019                Gas           Gov. Aggregation   COH             207645710015                Gas           Gov. Aggregation
COH             210290400018                Gas           Gov. Aggregation   COH             196162410034                Gas           Gov. Aggregation
COH             209279790014                Gas           Gov. Aggregation   COH             207321260025                Gas           Gov. Aggregation
COH             200421890037                Gas           Gov. Aggregation   COH             207682410010                Gas           Gov. Aggregation
COH             208859560013                Gas           Gov. Aggregation   COH             147742520085                Gas           Gov. Aggregation
COH             208760710010                Gas           Gov. Aggregation   COH             173597030101                Gas           Gov. Aggregation
COH             207035960016                Gas           Gov. Aggregation   COH             208784910018                Gas           Gov. Aggregation
COH             188900880012                Gas           Gov. Aggregation   COH             202821430051                Gas           Gov. Aggregation
COH             208955210012                Gas           Gov. Aggregation   COH             199001740069                Gas           Gov. Aggregation
COH             205559020015                Gas           Gov. Aggregation   COH             172309640032                Gas           Gov. Aggregation
COH             210096150013                Gas           Gov. Aggregation   COH             195236690049                Gas           Gov. Aggregation
COH             210558960013                Gas           Gov. Aggregation   COH             206843150014                Gas           Gov. Aggregation
COH             210315030012                Gas           Gov. Aggregation   COH             190782230132                Gas           Gov. Aggregation
COH             207777550010                Gas           Gov. Aggregation   COH             206861990010                Gas           Gov. Aggregation
COH             199110240036                Gas           Gov. Aggregation   COH             207646030016                Gas           Gov. Aggregation
COH             209495780018                Gas           Gov. Aggregation   COH             194172420024                Gas           Gov. Aggregation
COH             208797520013                Gas           Gov. Aggregation   COH             205057340021                Gas           Gov. Aggregation
COH             207599930018                Gas           Gov. Aggregation   COH             199094170037                Gas           Gov. Aggregation
COH             209134660017                Gas           Gov. Aggregation   COH             206002310012                Gas           Gov. Aggregation
COH             170325440032                Gas           Gov. Aggregation   COH             161290090078                Gas           Gov. Aggregation
COH             209264090012                Gas           Gov. Aggregation   COH             206489420019                Gas           Gov. Aggregation
COH             201374630040                Gas           Gov. Aggregation   COH             206679330015                Gas           Gov. Aggregation
COH             187878456329                Gas           Gov. Aggregation   COH             207363870010                Gas           Gov. Aggregation
COH             205507320048                Gas           Gov. Aggregation   COH             153658600043                Gas           Gov. Aggregation
COH             205582150037                Gas           Gov. Aggregation   COH             208689620011                Gas           Gov. Aggregation
COH             195603990056                Gas           Gov. Aggregation   COH             208253340013                Gas           Gov. Aggregation
COH             201027250036                Gas           Gov. Aggregation   COH             209047260016                Gas           Gov. Aggregation
COH             206348800017                Gas           Gov. Aggregation   COH             192763020036                Gas           Gov. Aggregation
COH             197101430037                Gas           Gov. Aggregation   COH             206204040011                Gas           Gov. Aggregation
COH             173678480034                Gas           Gov. Aggregation   COH             194967780024                Gas           Gov. Aggregation
COH             117444330029                Gas           Gov. Aggregation   COH             205677330038                Gas           Gov. Aggregation
COH             139573360131                Gas           Gov. Aggregation   COH             205919420026                Gas           Gov. Aggregation
COH             142148630112                Gas           Gov. Aggregation   COH             189626340025                Gas           Gov. Aggregation
COH             143087320054                Gas           Gov. Aggregation   COH             206427140018                Gas           Gov. Aggregation
COH             146665000123                Gas           Gov. Aggregation   COH             207863160019                Gas           Gov. Aggregation
COH             206413050016                Gas           Gov. Aggregation   COH             207271320010                Gas           Gov. Aggregation
COH             207646010010                Gas           Gov. Aggregation   COH             109844820180                Gas           Gov. Aggregation
COH             209476910010                Gas           Gov. Aggregation   COH             208778340011                Gas           Gov. Aggregation
COH             209593910021                Gas           Gov. Aggregation   COH             209004550015                Gas           Gov. Aggregation
COH             209728490014                Gas           Gov. Aggregation   COH             208827700010                Gas           Gov. Aggregation
COH             209786260010                Gas           Gov. Aggregation   COH             159589640064                Gas           Gov. Aggregation
COH             202883620024                Gas           Gov. Aggregation   COH             202371730035                Gas           Gov. Aggregation
COH             171790110044                Gas           Gov. Aggregation   COH             202090030038                Gas           Gov. Aggregation
COH             207610700010                Gas           Gov. Aggregation   COH             202090030047                Gas           Gov. Aggregation
COH             209149510017                Gas           Gov. Aggregation   COH             208766070013                Gas           Gov. Aggregation
COH             209368470012                Gas           Gov. Aggregation   COH             208246190010                Gas           Gov. Aggregation
COH             203770230024                Gas           Gov. Aggregation   COH             207010560012                Gas           Gov. Aggregation
COH             208157090010                Gas           Gov. Aggregation   COH             205890680015                Gas           Gov. Aggregation
COH             158304150131                Gas           Gov. Aggregation   COH             190098570025                Gas           Gov. Aggregation
COH             157183990107                Gas           Gov. Aggregation   COH             135156090047                Gas           Gov. Aggregation
COH             207352040017                Gas           Gov. Aggregation   COH             206986160010                Gas           Gov. Aggregation
COH             209223260012                Gas           Gov. Aggregation   COH             120518130029                Gas           Gov. Aggregation
COH             177590640078                Gas           Gov. Aggregation   COH             117036850034                Gas           Gov. Aggregation
COH             208331070014                Gas           Gov. Aggregation   COH             206682970014                Gas           Gov. Aggregation
COH             209602670012                Gas           Gov. Aggregation   COH             140685200027                Gas           Gov. Aggregation
COH             208975470212                Gas           Gov. Aggregation   COH             141819460081                Gas           Gov. Aggregation
COH             204534460221                Gas           Gov. Aggregation   COH             208376180017                Gas           Gov. Aggregation
COH             167580500052                Gas           Gov. Aggregation   COH             204075430016                Gas           Gov. Aggregation
COH             208519440018                Gas           Gov. Aggregation   COH             205718380012                Gas           Gov. Aggregation
COH             209532010019                Gas           Gov. Aggregation   COH             185693370031                Gas           Gov. Aggregation
COH             208438400072                Gas           Gov. Aggregation   COH             206071610014                Gas           Gov. Aggregation
COH             175307370076                Gas           Gov. Aggregation   COH             206114550015                Gas           Gov. Aggregation
COH             176988940073                Gas           Gov. Aggregation   COH             207418820013                Gas           Gov. Aggregation
COH             208416700011                Gas           Gov. Aggregation   COH             208573480016                Gas           Gov. Aggregation
COH             202732820030                Gas           Gov. Aggregation   COH             206172950019                Gas           Gov. Aggregation
COH             202714450036                Gas           Gov. Aggregation   COH             207222970017                Gas           Gov. Aggregation
COH             209611290013                Gas           Gov. Aggregation   COH             208247130010                Gas           Gov. Aggregation
COH             207053060026                Gas           Gov. Aggregation   COH             205708590019                Gas           Gov. Aggregation
COH             199601620044                Gas           Gov. Aggregation   COH             207123710011                Gas           Gov. Aggregation
COH             188665310039                Gas           Gov. Aggregation   COH             201210190012                Gas           Gov. Aggregation
COH             207075620059                Gas           Gov. Aggregation   COH             207254450037                Gas           Gov. Aggregation
COH             187998440056                Gas           Gov. Aggregation   COH             159577750084                Gas           Gov. Aggregation
COH             209016020011                Gas           Gov. Aggregation   COH             209433190012                Gas           Gov. Aggregation
COH             209592520016                Gas           Gov. Aggregation   COH             208157240018                Gas           Gov. Aggregation
COH             117251860027                Gas           Gov. Aggregation   COH             208634360011                Gas           Gov. Aggregation
COH             141029720036                Gas           Gov. Aggregation   COH             209123500013                Gas           Gov. Aggregation
COH             112028620070                Gas           Gov. Aggregation   COH             206562770010                Gas           Gov. Aggregation
COH             108729480034                Gas           Gov. Aggregation   COH             205702310019                Gas           Gov. Aggregation
COH             207913260011                Gas           Gov. Aggregation   COH             209015900018                Gas           Gov. Aggregation
COH             207585290012                Gas           Gov. Aggregation   COH             199661160027                Gas           Gov. Aggregation
COH             158472540036                Gas           Gov. Aggregation   COH             207476290013                Gas           Gov. Aggregation
COH             208710790019                Gas           Gov. Aggregation   COH             193425270039                Gas           Gov. Aggregation
COH             208226530010                Gas           Gov. Aggregation   COH             194971510021                Gas           Gov. Aggregation
COH             167703630124                Gas           Gov. Aggregation   COH             207418880011                Gas           Gov. Aggregation
COH             195027830024                Gas           Gov. Aggregation   COH             200325750030                Gas           Gov. Aggregation
COH             208253200012                Gas           Gov. Aggregation   COH             209368620010                Gas           Gov. Aggregation
COH             205372800035                Gas           Gov. Aggregation   COH             207871540021                Gas           Gov. Aggregation
COH             208157080012                Gas           Gov. Aggregation   COH             207144430016                Gas           Gov. Aggregation
COH             199846260051                Gas           Gov. Aggregation   COH             208384810017                Gas           Gov. Aggregation
COH             197830080036                Gas           Gov. Aggregation   COH             208237640014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             206917270012                Gas           Gov. Aggregation   COH             198782480025                Gas           Gov. Aggregation
COH             206812260016                Gas           Gov. Aggregation   COH             201034690039                Gas           Gov. Aggregation
COH             207013500018                Gas           Gov. Aggregation   COH             208390120028                Gas           Gov. Aggregation
COH             208424790016                Gas           Gov. Aggregation   COH             196552740056                Gas           Gov. Aggregation
COH             209732790012                Gas           Gov. Aggregation   COH             205851100018                Gas           Gov. Aggregation
COH             209759910010                Gas           Gov. Aggregation   COH             192906990020                Gas           Gov. Aggregation
COH             206051370017                Gas           Gov. Aggregation   COH             192168310108                Gas           Gov. Aggregation
COH             209047210016                Gas           Gov. Aggregation   COH             205696030013                Gas           Gov. Aggregation
COH             209337880011                Gas           Gov. Aggregation   COH             207670020017                Gas           Gov. Aggregation
COH             206770300017                Gas           Gov. Aggregation   COH             208788410015                Gas           Gov. Aggregation
COH             207783670012                Gas           Gov. Aggregation   COH             202445380014                Gas           Gov. Aggregation
COH             209247080010                Gas           Gov. Aggregation   COH             195454910086                Gas           Gov. Aggregation
COH             208803390016                Gas           Gov. Aggregation   COH             195454910077                Gas           Gov. Aggregation
COH             208047380012                Gas           Gov. Aggregation   COH             163633520031                Gas           Gov. Aggregation
COH             204230920031                Gas           Gov. Aggregation   COH             209294250015                Gas           Gov. Aggregation
COH             202885830035                Gas           Gov. Aggregation   COH             209303480016                Gas           Gov. Aggregation
COH             208274750013                Gas           Gov. Aggregation   COH             208767960014                Gas           Gov. Aggregation
COH             116880490023                Gas           Gov. Aggregation   COH             200273010036                Gas           Gov. Aggregation
COH             189646320036                Gas           Gov. Aggregation   COH             197232580020                Gas           Gov. Aggregation
COH             209463050018                Gas           Gov. Aggregation   COH             193865210057                Gas           Gov. Aggregation
COH             209676520018                Gas           Gov. Aggregation   COH             207824950015                Gas           Gov. Aggregation
COH             194716870017                Gas           Gov. Aggregation   COH             209294410011                Gas           Gov. Aggregation
COH             208838700017                Gas           Gov. Aggregation   COH             209083520015                Gas           Gov. Aggregation
COH             209155750014                Gas           Gov. Aggregation   COH             207806400018                Gas           Gov. Aggregation
COH             194198340027                Gas           Gov. Aggregation   COH             208927050015                Gas           Gov. Aggregation
COH             204758390017                Gas           Gov. Aggregation   COH             176102580020                Gas           Gov. Aggregation
COH             193074590046                Gas           Gov. Aggregation   COH             165538070036                Gas           Gov. Aggregation
COH             207193150012                Gas           Gov. Aggregation   COH             203946860029                Gas           Gov. Aggregation
COH             152541090067                Gas           Gov. Aggregation   COH             160964070092                Gas           Gov. Aggregation
COH             115774720011                Gas           Gov. Aggregation   COH             148644050116                Gas           Gov. Aggregation
COH             148451540130                Gas           Gov. Aggregation   COH             208311040012                Gas           Gov. Aggregation
COH             130774120036                Gas           Gov. Aggregation   COH             208424940014                Gas           Gov. Aggregation
COH             115774340039                Gas           Gov. Aggregation   COH             208560180016                Gas           Gov. Aggregation
COH             172800720024                Gas           Gov. Aggregation   COH             206658490016                Gas           Gov. Aggregation
COH             195742220026                Gas           Gov. Aggregation   COH             195706840022                Gas           Gov. Aggregation
COH             169545760096                Gas           Gov. Aggregation   COH             209187630012                Gas           Gov. Aggregation
COH             207406390019                Gas           Gov. Aggregation   COH             164848050070                Gas           Gov. Aggregation
COH             193609610037                Gas           Gov. Aggregation   COH             209074560016                Gas           Gov. Aggregation
COH             198234600011                Gas           Gov. Aggregation   COH             204970170022                Gas           Gov. Aggregation
COH             191064790038                Gas           Gov. Aggregation   COH             206562750014                Gas           Gov. Aggregation
COH             209992680015                Gas           Gov. Aggregation   COH             149568740050                Gas           Gov. Aggregation
COH             203180450038                Gas           Gov. Aggregation   COH             188422320040                Gas           Gov. Aggregation
COH             208217810010                Gas           Gov. Aggregation   COH             207783700015                Gas           Gov. Aggregation
COH             209664060010                Gas           Gov. Aggregation   COH             208185100018                Gas           Gov. Aggregation
COH             206807550016                Gas           Gov. Aggregation   COH             205681480010                Gas           Gov. Aggregation
COH             167089021143                Gas           Gov. Aggregation   COH             207388700013                Gas           Gov. Aggregation
COH             205433540021                Gas           Gov. Aggregation   COH             153429870024                Gas           Gov. Aggregation
COH             200038540015                Gas           Gov. Aggregation   COH             196960490027                Gas           Gov. Aggregation
COH             167050080027                Gas           Gov. Aggregation   COH             193432850032                Gas           Gov. Aggregation
COH             186131500023                Gas           Gov. Aggregation   COH             164992410033                Gas           Gov. Aggregation
COH             209702320013                Gas           Gov. Aggregation   COH             192691470044                Gas           Gov. Aggregation
COH             209123230010                Gas           Gov. Aggregation   COH             206622920010                Gas           Gov. Aggregation
COH             197393700033                Gas           Gov. Aggregation   COH             208758030018                Gas           Gov. Aggregation
COH             151380680146                Gas           Gov. Aggregation   COH             202472500011                Gas           Gov. Aggregation
COH             205653990021                Gas           Gov. Aggregation   COH             203079870455                Gas           Gov. Aggregation
COH             206481230015                Gas           Gov. Aggregation   COH             155198110095                Gas           Gov. Aggregation
COH             137921820011                Gas           Gov. Aggregation   COH             201199470028                Gas           Gov. Aggregation
COH             208224390014                Gas           Gov. Aggregation   COH             157613680047                Gas           Gov. Aggregation
COH             207202220016                Gas           Gov. Aggregation   COH             206156000012                Gas           Gov. Aggregation
COH             207665060010                Gas           Gov. Aggregation   COH             160926260047                Gas           Gov. Aggregation
COH             198394910027                Gas           Gov. Aggregation   COH             206438490012                Gas           Gov. Aggregation
COH             209840460012                Gas           Gov. Aggregation   COH             159714200023                Gas           Gov. Aggregation
COH             208073320019                Gas           Gov. Aggregation   COH             209016040017                Gas           Gov. Aggregation
COH             115861790058                Gas           Gov. Aggregation   COH             170740540040                Gas           Gov. Aggregation
COH             189670550055                Gas           Gov. Aggregation   COH             207532700016                Gas           Gov. Aggregation
COH             210468960014                Gas           Gov. Aggregation   COH             209263250065                Gas           Gov. Aggregation
COH             169991290090                Gas           Gov. Aggregation   COH             208902490015                Gas           Gov. Aggregation
COH             174039040039                Gas           Gov. Aggregation   COH             207540190017                Gas           Gov. Aggregation
COH             207013850015                Gas           Gov. Aggregation   COH             209463160015                Gas           Gov. Aggregation
COH             206873160019                Gas           Gov. Aggregation   COH             197739500040                Gas           Gov. Aggregation
COH             209570850013                Gas           Gov. Aggregation   COH             205863860014                Gas           Gov. Aggregation
COH             210175810016                Gas           Gov. Aggregation   COH             200781390030                Gas           Gov. Aggregation
COH             208155000012                Gas           Gov. Aggregation   DEO             4180015228037               Gas           Gov. Aggregation
COH             115854580020                Gas           Gov. Aggregation   COH             193296510015                Gas           Gov. Aggregation
COH             209953200017                Gas           Gov. Aggregation   COH             192708380028                Gas           Gov. Aggregation
COH             185822660035                Gas           Gov. Aggregation   COH             209264070016                Gas           Gov. Aggregation
COH             206827190010                Gas           Gov. Aggregation   COH             174132030088                Gas           Gov. Aggregation
COH             202999760039                Gas           Gov. Aggregation   COH             205021280029                Gas           Gov. Aggregation
COH             209840410012                Gas           Gov. Aggregation   COH             193686650028                Gas           Gov. Aggregation
COH             175227490044                Gas           Gov. Aggregation   COH             206277300013                Gas           Gov. Aggregation
COH             209981070016                Gas           Gov. Aggregation   COH             203079871123                Gas           Gov. Aggregation
COH             208593430014                Gas           Gov. Aggregation   COH             208997630016                Gas           Gov. Aggregation
COH             197480540032                Gas           Gov. Aggregation   COH             199143590025                Gas           Gov. Aggregation
COH             147966730041                Gas           Gov. Aggregation   COH             201292220022                Gas           Gov. Aggregation
COH             203498980016                Gas           Gov. Aggregation   COH             135391740024                Gas           Gov. Aggregation
COH             189508020022                Gas           Gov. Aggregation   COH             206031990019                Gas           Gov. Aggregation
DEO             3500046287072               Gas           Gov. Aggregation   COH             151254390028                Gas           Gov. Aggregation
DEO             5500053123432               Gas           Gov. Aggregation   COH             177158090034                Gas           Gov. Aggregation
DEO             7180016634063               Gas           Gov. Aggregation   COH             205737300027                Gas           Gov. Aggregation
DEO             9440100454917               Gas           Gov. Aggregation   COH             205475610019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             4500064694865               Gas           Gov. Aggregation   COH             207963800012                Gas           Gov. Aggregation
COH             111154340019                Gas           Gov. Aggregation   COH             200042600022                Gas           Gov. Aggregation
COH             206955440016                Gas           Gov. Aggregation   COH             208157290018                Gas           Gov. Aggregation
VEDO            4004471652452148            Gas           Gov. Aggregation   COH             195764240053                Gas           Gov. Aggregation
DEO             2420906460577               Gas           Gov. Aggregation   COH             205809570019                Gas           Gov. Aggregation
VEDO            4003025102510594            Gas           Gov. Aggregation   COH             185540690028                Gas           Gov. Aggregation
COH             111013180020                Gas           Gov. Aggregation   COH             207653310012                Gas           Gov. Aggregation
DEO             0500009534551               Gas           Gov. Aggregation   COH             199131590039                Gas           Gov. Aggregation
COH             171909150123                Gas           Gov. Aggregation   COH             207674800015                Gas           Gov. Aggregation
COH             198962300020                Gas           Gov. Aggregation   COH             208119540015                Gas           Gov. Aggregation
COH             201694350023                Gas           Gov. Aggregation   COH             202942360023                Gas           Gov. Aggregation
COH             206359370015                Gas           Gov. Aggregation   COH             209108800012                Gas           Gov. Aggregation
COH             209083410018                Gas           Gov. Aggregation   COH             209068130019                Gas           Gov. Aggregation
COH             172772450022                Gas           Gov. Aggregation   COH             208293430010                Gas           Gov. Aggregation
COH             196734060044                Gas           Gov. Aggregation   COH             199479190037                Gas           Gov. Aggregation
COH             117343170018                Gas           Gov. Aggregation   COH             207590720010                Gas           Gov. Aggregation
COH             169542630044                Gas           Gov. Aggregation   COH             200192330068                Gas           Gov. Aggregation
COH             193452870036                Gas           Gov. Aggregation   COH             201421060049                Gas           Gov. Aggregation
COH             206697440014                Gas           Gov. Aggregation   COH             200448930041                Gas           Gov. Aggregation
COH             207998920014                Gas           Gov. Aggregation   COH             209392260015                Gas           Gov. Aggregation
COH             209826790013                Gas           Gov. Aggregation   COH             138457960070                Gas           Gov. Aggregation
COH             199146000022                Gas           Gov. Aggregation   COH             205883220016                Gas           Gov. Aggregation
COH             152524580024                Gas           Gov. Aggregation   COH             208624280019                Gas           Gov. Aggregation
COH             201112630071                Gas           Gov. Aggregation   COH             204736660034                Gas           Gov. Aggregation
COH             203210920025                Gas           Gov. Aggregation   COH             208244750016                Gas           Gov. Aggregation
COH             167962140058                Gas           Gov. Aggregation   COH             199119720064                Gas           Gov. Aggregation
COH             201296640026                Gas           Gov. Aggregation   COH             209091340016                Gas           Gov. Aggregation
COH             201684730024                Gas           Gov. Aggregation   COH             151466100056                Gas           Gov. Aggregation
COH             198827190039                Gas           Gov. Aggregation   COH             206749830011                Gas           Gov. Aggregation
COH             209232490015                Gas           Gov. Aggregation   COH             207434470013                Gas           Gov. Aggregation
COH             208519450016                Gas           Gov. Aggregation   COH             197668570029                Gas           Gov. Aggregation
COH             208757860016                Gas           Gov. Aggregation   COH             206879780017                Gas           Gov. Aggregation
COH             209583470016                Gas           Gov. Aggregation   COH             154175140025                Gas           Gov. Aggregation
COH             207798520012                Gas           Gov. Aggregation   COH             208074370017                Gas           Gov. Aggregation
COH             132908630032                Gas           Gov. Aggregation   COH             205754460019                Gas           Gov. Aggregation
COH             200860680031                Gas           Gov. Aggregation   COH             204886820015                Gas           Gov. Aggregation
COH             119644350056                Gas           Gov. Aggregation   COH             133647700129                Gas           Gov. Aggregation
COH             142853860048                Gas           Gov. Aggregation   COH             192392140056                Gas           Gov. Aggregation
COH             151380590029                Gas           Gov. Aggregation   COH             207988280010                Gas           Gov. Aggregation
COH             169269060099                Gas           Gov. Aggregation   COH             208688750016                Gas           Gov. Aggregation
COH             204479870036                Gas           Gov. Aggregation   COH             140344250083                Gas           Gov. Aggregation
COH             206072900011                Gas           Gov. Aggregation   COH             159907650039                Gas           Gov. Aggregation
COH             206350680018                Gas           Gov. Aggregation   COH             189547620033                Gas           Gov. Aggregation
COH             208098990017                Gas           Gov. Aggregation   COH             208436800018                Gas           Gov. Aggregation
COH             209735770010                Gas           Gov. Aggregation   COH             208197180017                Gas           Gov. Aggregation
COH             209841010014                Gas           Gov. Aggregation   COH             209233110012                Gas           Gov. Aggregation
COH             206230830010                Gas           Gov. Aggregation   COH             206935850012                Gas           Gov. Aggregation
COH             207271310021                Gas           Gov. Aggregation   COH             177853090012                Gas           Gov. Aggregation
COH             135005650048                Gas           Gov. Aggregation   COH             209656610011                Gas           Gov. Aggregation
COH             208532620012                Gas           Gov. Aggregation   COH             206163160014                Gas           Gov. Aggregation
COH             208173400010                Gas           Gov. Aggregation   COH             199062040068                Gas           Gov. Aggregation
COH             189176460061                Gas           Gov. Aggregation   COH             166045350077                Gas           Gov. Aggregation
COH             204420760023                Gas           Gov. Aggregation   COH             199408840057                Gas           Gov. Aggregation
COH             209047330011                Gas           Gov. Aggregation   COH             172068600069                Gas           Gov. Aggregation
COH             201683430029                Gas           Gov. Aggregation   COH             209163460018                Gas           Gov. Aggregation
COH             207381870012                Gas           Gov. Aggregation   COH             205605600023                Gas           Gov. Aggregation
DEO             6500002551947               Gas           Gov. Aggregation   COH             190432250031                Gas           Gov. Aggregation
DEO             1180006528604               Gas           Gov. Aggregation   COH             162284330033                Gas           Gov. Aggregation
DEO             5180007659538               Gas           Gov. Aggregation   COH             195764030020                Gas           Gov. Aggregation
DEO             2120000173954               Gas           Gov. Aggregation   COH             205260060029                Gas           Gov. Aggregation
DEO             0180006465901               Gas           Gov. Aggregation   COH             196972340023                Gas           Gov. Aggregation
DEO             9180006071362               Gas           Gov. Aggregation   COH             209344530019                Gas           Gov. Aggregation
DEO             5500063016260               Gas           Gov. Aggregation   COH             201925910024                Gas           Gov. Aggregation
DEO             3180006505825               Gas           Gov. Aggregation   COH             196306510046                Gas           Gov. Aggregation
DEO             0500045455593               Gas           Gov. Aggregation   COH             192188870047                Gas           Gov. Aggregation
DEO             1180005152185               Gas           Gov. Aggregation   COH             203957360012                Gas           Gov. Aggregation
DEO             1500004982584               Gas           Gov. Aggregation   COH             202456620029                Gas           Gov. Aggregation
DEO             8120000055062               Gas           Gov. Aggregation   COH             208131160019                Gas           Gov. Aggregation
DEO             1500021258798               Gas           Gov. Aggregation   COH             208912500011                Gas           Gov. Aggregation
DEO             0421001913832               Gas           Gov. Aggregation   COH             201235350025                Gas           Gov. Aggregation
COH             190297010011                Gas           Gov. Aggregation   COH             205434090015                Gas           Gov. Aggregation
COH             156691340027                Gas           Gov. Aggregation   COH             189647610033                Gas           Gov. Aggregation
COH             165430680018                Gas           Gov. Aggregation   COH             206905760014                Gas           Gov. Aggregation
COH             157969220040                Gas           Gov. Aggregation   COH             197814900037                Gas           Gov. Aggregation
COH             120457210031                Gas           Gov. Aggregation   COH             191058530026                Gas           Gov. Aggregation
COH             120457820033                Gas           Gov. Aggregation   COH             169663030044                Gas           Gov. Aggregation
COH             209677420017                Gas           Gov. Aggregation   COH             205523680012                Gas           Gov. Aggregation
COH             210176220018                Gas           Gov. Aggregation   COH             205874150010                Gas           Gov. Aggregation
VEDO            4001676812163728            Gas           Gov. Aggregation   COH             206441960016                Gas           Gov. Aggregation
COH             135554570042                Gas           Gov. Aggregation   COH             190679740045                Gas           Gov. Aggregation
COH             208511390015                Gas           Gov. Aggregation   COH             202818400027                Gas           Gov. Aggregation
COH             118066240038                Gas           Gov. Aggregation   COH             119830470056                Gas           Gov. Aggregation
DEO             3330000005414               Gas           Gov. Aggregation   COH             117216850023                Gas           Gov. Aggregation
DEO             8180017222358               Gas           Gov. Aggregation   COH             169005840020                Gas           Gov. Aggregation
DEO             3420801492795               Gas           Gov. Aggregation   COH             206018560017                Gas           Gov. Aggregation
DEO             3180014761652               Gas           Gov. Aggregation   COH             160483740037                Gas           Gov. Aggregation
DEO             5500020357695               Gas           Gov. Aggregation   COH             117251120031                Gas           Gov. Aggregation
COH             210734060018                Gas           Gov. Aggregation   COH             208311180013                Gas           Gov. Aggregation
VEDO            4002511362246060            Gas           Gov. Aggregation   COH             116903060032                Gas           Gov. Aggregation
DEO             3180006659498               Gas           Gov. Aggregation   COH             117037630065                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             155479850281                Gas           Gov. Aggregation   COH             154610500061                Gas           Gov. Aggregation
VEDO            4003299132326143            Gas           Gov. Aggregation   COH             159546380050                Gas           Gov. Aggregation
DEO             3383000008749               Gas           Gov. Aggregation   COH             167213530026                Gas           Gov. Aggregation
DEO             2180005880296               Gas           Gov. Aggregation   COH             172527330026                Gas           Gov. Aggregation
COH             111146120021                Gas           Gov. Aggregation   COH             173446060033                Gas           Gov. Aggregation
DEO             8500000955135               Gas           Gov. Aggregation   COH             173929510034                Gas           Gov. Aggregation
COH             124606900026                Gas           Gov. Aggregation   COH             174773830046                Gas           Gov. Aggregation
VEDO            4001261712529001            Gas           Gov. Aggregation   COH             194967610029                Gas           Gov. Aggregation
DEO             8180011138504               Gas           Gov. Aggregation   COH             200941230033                Gas           Gov. Aggregation
COH             168402780013                Gas           Gov. Aggregation   COH             201489960011                Gas           Gov. Aggregation
VEDO            4015057622256442            Gas           Gov. Aggregation   COH             201541840023                Gas           Gov. Aggregation
COH             119913140013                Gas           Gov. Aggregation   COH             202731420027                Gas           Gov. Aggregation
VEDO            4003065092340384            Gas           Gov. Aggregation   COH             202920640020                Gas           Gov. Aggregation
DEO             2500019716504               Gas           Gov. Aggregation   COH             205548180015                Gas           Gov. Aggregation
COH             186066840012                Gas           Gov. Aggregation   COH             206685280013                Gas           Gov. Aggregation
COH             170672740016                Gas           Gov. Aggregation   COH             206843140016                Gas           Gov. Aggregation
DEO             6180015585709               Gas           Gov. Aggregation   COH             206861490015                Gas           Gov. Aggregation
COH             200559230061                Gas           Gov. Aggregation   COH             207123770019                Gas           Gov. Aggregation
COH             158412755435                Gas           Gov. Aggregation   COH             207419000013                Gas           Gov. Aggregation
DEO             3500045431327               Gas           Gov. Aggregation   COH             207501210014                Gas           Gov. Aggregation
COH             210788920014                Gas           Gov. Aggregation   COH             207600670018                Gas           Gov. Aggregation
COH             157382280060                Gas           Gov. Aggregation   COH             207779800013                Gas           Gov. Aggregation
COH             149447340014                Gas           Gov. Aggregation   COH             207816600015                Gas           Gov. Aggregation
COH             174264080016                Gas           Gov. Aggregation   COH             207857660017                Gas           Gov. Aggregation
COH             166950400013                Gas           Gov. Aggregation   COH             208390100013                Gas           Gov. Aggregation
VEDO            4003378742334527            Gas           Gov. Aggregation   COH             208505620019                Gas           Gov. Aggregation
DEO             3442007950039               Gas           Gov. Aggregation   COH             208506260013                Gas           Gov. Aggregation
DEO             1180000231292               Gas           Gov. Aggregation   COH             208532750015                Gas           Gov. Aggregation
COH             210327870011                Gas           Gov. Aggregation   COH             209083720013                Gas           Gov. Aggregation
COH             150805690134                Gas           Gov. Aggregation   COH             209123590015                Gas           Gov. Aggregation
DEO             1180001450654               Gas           Gov. Aggregation   COH             193719860023                Gas           Gov. Aggregation
DEO             1180001474846               Gas           Gov. Aggregation   COH             146411640046                Gas           Gov. Aggregation
DEO             1421002502088               Gas           Gov. Aggregation   COH             124823730022                Gas           Gov. Aggregation
DEO             1421005184307               Gas           Gov. Aggregation   COH             201153170027                Gas           Gov. Aggregation
DEO             6180002026515               Gas           Gov. Aggregation   COH             205137950032                Gas           Gov. Aggregation
DEO             6180002026604               Gas           Gov. Aggregation   COH             194894570023                Gas           Gov. Aggregation
DEO             2180003889556               Gas           Gov. Aggregation   COH             203726020030                Gas           Gov. Aggregation
COH             207274360025                Gas           Gov. Aggregation   COH             206471610016                Gas           Gov. Aggregation
COH             154782630034                Gas           Gov. Aggregation   COH             209240730017                Gas           Gov. Aggregation
COH             202139770020                Gas           Gov. Aggregation   COH             206009470015                Gas           Gov. Aggregation
COH             206354670012                Gas           Gov. Aggregation   COH             207987930015                Gas           Gov. Aggregation
COH             203079871169                Gas           Gov. Aggregation   COH             172458530067                Gas           Gov. Aggregation
COH             208185090011                Gas           Gov. Aggregation   COH             205765620012                Gas           Gov. Aggregation
COH             207388720019                Gas           Gov. Aggregation   COH             155589850091                Gas           Gov. Aggregation
COH             206480690020                Gas           Gov. Aggregation   COH             207600650021                Gas           Gov. Aggregation
COH             206531250014                Gas           Gov. Aggregation   COH             207195610011                Gas           Gov. Aggregation
COH             192098210046                Gas           Gov. Aggregation   COH             208861730012                Gas           Gov. Aggregation
COH             154491990045                Gas           Gov. Aggregation   COH             197066390023                Gas           Gov. Aggregation
COH             207241000010                Gas           Gov. Aggregation   COH             176452880026                Gas           Gov. Aggregation
COH             206867370018                Gas           Gov. Aggregation   COH             145976470047                Gas           Gov. Aggregation
COH             208868290011                Gas           Gov. Aggregation   COH             208287880019                Gas           Gov. Aggregation
COH             208710830010                Gas           Gov. Aggregation   COH             168900870134                Gas           Gov. Aggregation
COH             203998810020                Gas           Gov. Aggregation   COH             170613140025                Gas           Gov. Aggregation
COH             153635750139                Gas           Gov. Aggregation   COH             206031980011                Gas           Gov. Aggregation
COH             198335540010                Gas           Gov. Aggregation   COH             158926520082                Gas           Gov. Aggregation
COH             206818780015                Gas           Gov. Aggregation   COH             207045750028                Gas           Gov. Aggregation
COH             207553290019                Gas           Gov. Aggregation   COH             204895050036                Gas           Gov. Aggregation
COH             207096040011                Gas           Gov. Aggregation   COH             207381910013                Gas           Gov. Aggregation
COH             208109670019                Gas           Gov. Aggregation   COH             195665350050                Gas           Gov. Aggregation
COH             208205200013                Gas           Gov. Aggregation   COH             165312150082                Gas           Gov. Aggregation
COH             204730110031                Gas           Gov. Aggregation   COH             208099030016                Gas           Gov. Aggregation
COH             193231300060                Gas           Gov. Aggregation   COH             206859210018                Gas           Gov. Aggregation
COH             205354540038                Gas           Gov. Aggregation   COH             196483350046                Gas           Gov. Aggregation
COH             187011080061                Gas           Gov. Aggregation   COH             208811860010                Gas           Gov. Aggregation
COH             207151270015                Gas           Gov. Aggregation   COH             206002220011                Gas           Gov. Aggregation
COH             207056130016                Gas           Gov. Aggregation   COH             155183340034                Gas           Gov. Aggregation
COH             156607780040                Gas           Gov. Aggregation   COH             191733280116                Gas           Gov. Aggregation
COH             209896080015                Gas           Gov. Aggregation   COH             126746230127                Gas           Gov. Aggregation
COH             208767970012                Gas           Gov. Aggregation   COH             187968790083                Gas           Gov. Aggregation
COH             191764850022                Gas           Gov. Aggregation   COH             198860780044                Gas           Gov. Aggregation
COH             195122850028                Gas           Gov. Aggregation   COH             195823190049                Gas           Gov. Aggregation
COH             160936110029                Gas           Gov. Aggregation   COH             206190810010                Gas           Gov. Aggregation
COH             206471460018                Gas           Gov. Aggregation   COH             205707410036                Gas           Gov. Aggregation
COH             204686950030                Gas           Gov. Aggregation   COH             202703530032                Gas           Gov. Aggregation
COH             208955510019                Gas           Gov. Aggregation   COH             207454950010                Gas           Gov. Aggregation
COH             209557250017                Gas           Gov. Aggregation   COH             205863070010                Gas           Gov. Aggregation
COH             199037730039                Gas           Gov. Aggregation   COH             207593760016                Gas           Gov. Aggregation
COH             208768000013                Gas           Gov. Aggregation   COH             207585340011                Gas           Gov. Aggregation
COH             209285070012                Gas           Gov. Aggregation   COH             205915520014                Gas           Gov. Aggregation
COH             209890000013                Gas           Gov. Aggregation   COH             208276940019                Gas           Gov. Aggregation
COH             206141431094                Gas           Gov. Aggregation   COH             207418910014                Gas           Gov. Aggregation
COH             209309320133                Gas           Gov. Aggregation   COH             199637920037                Gas           Gov. Aggregation
COH             200567910052                Gas           Gov. Aggregation   COH             193571550031                Gas           Gov. Aggregation
COH             208981460168                Gas           Gov. Aggregation   COH             198576310045                Gas           Gov. Aggregation
COH             200335330037                Gas           Gov. Aggregation   COH             206658520028                Gas           Gov. Aggregation
COH             201066480036                Gas           Gov. Aggregation   COH             207737560012                Gas           Gov. Aggregation
COH             202983860022                Gas           Gov. Aggregation   COH             208965450011                Gas           Gov. Aggregation
COH             208403010013                Gas           Gov. Aggregation   COH             209360780013                Gas           Gov. Aggregation
COH             194934000080                Gas           Gov. Aggregation   COH             207491240011                Gas           Gov. Aggregation
COH             208107290013                Gas           Gov. Aggregation   COH             108876480042                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             117190690032                Gas           Gov. Aggregation   COH             117036930037                Gas           Gov. Aggregation
VEDO            4003006052295939            Gas           Gov. Aggregation   COH             141220710023                Gas           Gov. Aggregation
VEDO            4019018082381540            Gas           Gov. Aggregation   COH             206268840019                Gas           Gov. Aggregation
VEDO            4001111042110552            Gas           Gov. Aggregation   COH             208354900011                Gas           Gov. Aggregation
DEO             4500062311053               Gas           Gov. Aggregation   COH             208477270014                Gas           Gov. Aggregation
DEO             9500065310577               Gas           Gov. Aggregation   COH             117112890025                Gas           Gov. Aggregation
COH             155434060085                Gas           Gov. Aggregation   COH             206109680019                Gas           Gov. Aggregation
COH             157113360099                Gas           Gov. Aggregation   COH             206833150015                Gas           Gov. Aggregation
COH             158215430033                Gas           Gov. Aggregation   COH             117234360037                Gas           Gov. Aggregation
COH             158582560128                Gas           Gov. Aggregation   COH             151983230044                Gas           Gov. Aggregation
COH             163173240090                Gas           Gov. Aggregation   COH             206089060013                Gas           Gov. Aggregation
COH             171764520061                Gas           Gov. Aggregation   COH             206191230010                Gas           Gov. Aggregation
COH             176685680043                Gas           Gov. Aggregation   COH             206777630014                Gas           Gov. Aggregation
COH             198163450041                Gas           Gov. Aggregation   COH             199774700033                Gas           Gov. Aggregation
COH             198277670035                Gas           Gov. Aggregation   COH             208943140012                Gas           Gov. Aggregation
COH             199120980030                Gas           Gov. Aggregation   COH             206359500017                Gas           Gov. Aggregation
COH             205178850037                Gas           Gov. Aggregation   COH             203079870973                Gas           Gov. Aggregation
COH             205937710036                Gas           Gov. Aggregation   COH             198181810029                Gas           Gov. Aggregation
COH             205951010024                Gas           Gov. Aggregation   COH             197902300036                Gas           Gov. Aggregation
COH             206002230019                Gas           Gov. Aggregation   COH             205675460017                Gas           Gov. Aggregation
COH             206632760013                Gas           Gov. Aggregation   COH             186989860058                Gas           Gov. Aggregation
COH             206640500010                Gas           Gov. Aggregation   COH             209200710015                Gas           Gov. Aggregation
COH             206697510019                Gas           Gov. Aggregation   COH             200425870024                Gas           Gov. Aggregation
COH             206746960010                Gas           Gov. Aggregation   COH             164660550064                Gas           Gov. Aggregation
COH             206770290029                Gas           Gov. Aggregation   COH             203526850021                Gas           Gov. Aggregation
COH             206887390012                Gas           Gov. Aggregation   COH             136453870015                Gas           Gov. Aggregation
COH             206917330019                Gas           Gov. Aggregation   COH             206917340017                Gas           Gov. Aggregation
COH             206935110017                Gas           Gov. Aggregation   COH             205910560034                Gas           Gov. Aggregation
COH             207418770014                Gas           Gov. Aggregation   COH             185539280027                Gas           Gov. Aggregation
COH             207454880015                Gas           Gov. Aggregation   COH             208377380013                Gas           Gov. Aggregation
COH             207540150015                Gas           Gov. Aggregation   COH             201871400026                Gas           Gov. Aggregation
COH             208081570010                Gas           Gov. Aggregation   COH             206685220015                Gas           Gov. Aggregation
COH             208247120012                Gas           Gov. Aggregation   COH             209486470012                Gas           Gov. Aggregation
COH             208259170017                Gas           Gov. Aggregation   COH             194632600039                Gas           Gov. Aggregation
COH             208276890010                Gas           Gov. Aggregation   COH             208030260012                Gas           Gov. Aggregation
COH             208286420017                Gas           Gov. Aggregation   COH             165532400065                Gas           Gov. Aggregation
COH             208640510016                Gas           Gov. Aggregation   COH             209240720019                Gas           Gov. Aggregation
COH             208700500010                Gas           Gov. Aggregation   COH             197421690026                Gas           Gov. Aggregation
COH             208730520013                Gas           Gov. Aggregation   COH             203079871249                Gas           Gov. Aggregation
COH             208730690018                Gas           Gov. Aggregation   COH             207454820026                Gas           Gov. Aggregation
COH             208746250017                Gas           Gov. Aggregation   COH             208131120017                Gas           Gov. Aggregation
COH             209033140010                Gas           Gov. Aggregation   COH             206359600016                Gas           Gov. Aggregation
COH             209033180012                Gas           Gov. Aggregation   COH             199157340028                Gas           Gov. Aggregation
COH             209180180011                Gas           Gov. Aggregation   COH             206322810019                Gas           Gov. Aggregation
COH             209194210015                Gas           Gov. Aggregation   COH             205915480013                Gas           Gov. Aggregation
COH             209240660012                Gas           Gov. Aggregation   COH             152480840041                Gas           Gov. Aggregation
COH             209303490014                Gas           Gov. Aggregation   COH             198585170028                Gas           Gov. Aggregation
COH             209532160027                Gas           Gov. Aggregation   COH             207924910011                Gas           Gov. Aggregation
COH             209672100014                Gas           Gov. Aggregation   COH             208981460140                Gas           Gov. Aggregation
DEO             4180017924529               Gas           Gov. Aggregation   COH             205230770023                Gas           Gov. Aggregation
COH             200067410020                Gas           Gov. Aggregation   COH             151695900026                Gas           Gov. Aggregation
DEO             4422103599182               Gas           Gov. Aggregation   COH             199252230038                Gas           Gov. Aggregation
VEDO            4018536612584794            Gas           Gov. Aggregation   COH             204440970036                Gas           Gov. Aggregation
VEDO            4017499512386421            Gas           Gov. Aggregation   COH             198902380011                Gas           Gov. Aggregation
VEDO            4002324022227425            Gas           Gov. Aggregation   COH             166834890704                Gas           Gov. Aggregation
COH             114981820012                Gas           Gov. Aggregation   COH             201898050024                Gas           Gov. Aggregation
DEO             8180015073914               Gas           Gov. Aggregation   COH             167988530123                Gas           Gov. Aggregation
VEDO            4015138202325717            Gas           Gov. Aggregation   COH             207313220011                Gas           Gov. Aggregation
DEO             1180015041683               Gas           Gov. Aggregation   COH             205484100017                Gas           Gov. Aggregation
DEO             4500066111304               Gas           Gov. Aggregation   COH             167643730032                Gas           Gov. Aggregation
COH             206867750018                Gas           Gov. Aggregation   COH             202983530021                Gas           Gov. Aggregation
COH             207893450015                Gas           Gov. Aggregation   COH             202648610024                Gas           Gov. Aggregation
COH             204337000010                Gas           Gov. Aggregation   COH             209448110017                Gas           Gov. Aggregation
COH             206815500019                Gas           Gov. Aggregation   COH             149178410074                Gas           Gov. Aggregation
COH             207122740017                Gas           Gov. Aggregation   COH             137673220032                Gas           Gov. Aggregation
COH             207352380016                Gas           Gov. Aggregation   COH             207458300018                Gas           Gov. Aggregation
COH             208110310011                Gas           Gov. Aggregation   COH             206243240017                Gas           Gov. Aggregation
COH             186368000054                Gas           Gov. Aggregation   COH             174579850124                Gas           Gov. Aggregation
COH             205103330015                Gas           Gov. Aggregation   COH             163500580012                Gas           Gov. Aggregation
COH             205347590015                Gas           Gov. Aggregation   COH             209194270013                Gas           Gov. Aggregation
COH             207256020015                Gas           Gov. Aggregation   COH             191811600023                Gas           Gov. Aggregation
COH             207458280013                Gas           Gov. Aggregation   COH             207399920014                Gas           Gov. Aggregation
COH             207639560010                Gas           Gov. Aggregation   COH             207725060012                Gas           Gov. Aggregation
COH             208235900013                Gas           Gov. Aggregation   COH             207630690011                Gas           Gov. Aggregation
COH             205635130010                Gas           Gov. Aggregation   COH             207450970014                Gas           Gov. Aggregation
COH             207925280012                Gas           Gov. Aggregation   COH             207506690014                Gas           Gov. Aggregation
COH             187185180045                Gas           Gov. Aggregation   COH             138265380024                Gas           Gov. Aggregation
COH             200165860046                Gas           Gov. Aggregation   COH             195573220034                Gas           Gov. Aggregation
COH             204811490012                Gas           Gov. Aggregation   COH             209498830011                Gas           Gov. Aggregation
COH             208020100016                Gas           Gov. Aggregation   COH             206400720012                Gas           Gov. Aggregation
COH             200250900019                Gas           Gov. Aggregation   COH             169177120028                Gas           Gov. Aggregation
COH             206497560013                Gas           Gov. Aggregation   COH             145882330054                Gas           Gov. Aggregation
COH             208148790012                Gas           Gov. Aggregation   COH             189668000037                Gas           Gov. Aggregation
COH             193057470047                Gas           Gov. Aggregation   COH             208424180014                Gas           Gov. Aggregation
COH             201607020016                Gas           Gov. Aggregation   COH             142788770037                Gas           Gov. Aggregation
COH             204871620018                Gas           Gov. Aggregation   COH             207022350011                Gas           Gov. Aggregation
COH             205883540019                Gas           Gov. Aggregation   COH             191373040049                Gas           Gov. Aggregation
COH             204808480011                Gas           Gov. Aggregation   COH             187016180042                Gas           Gov. Aggregation
COH             206833620016                Gas           Gov. Aggregation   COH             207416140010                Gas           Gov. Aggregation
COH             116561880054                Gas           Gov. Aggregation   COH             205915430013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             207668660018                Gas           Gov. Aggregation   COH             205499800019                Gas           Gov. Aggregation
COH             205155940018                Gas           Gov. Aggregation   COH             120082230023                Gas           Gov. Aggregation
COH             205634820017                Gas           Gov. Aggregation   COH             206058100019                Gas           Gov. Aggregation
COH             204631860016                Gas           Gov. Aggregation   COH             208894330017                Gas           Gov. Aggregation
COH             206679520015                Gas           Gov. Aggregation   COH             207313170012                Gas           Gov. Aggregation
COH             172472850015                Gas           Gov. Aggregation   COH             137958540077                Gas           Gov. Aggregation
COH             207023010010                Gas           Gov. Aggregation   COH             206083890011                Gas           Gov. Aggregation
COH             207521740011                Gas           Gov. Aggregation   COH             208029570010                Gas           Gov. Aggregation
COH             207621600018                Gas           Gov. Aggregation   COH             205665200012                Gas           Gov. Aggregation
COH             186101840016                Gas           Gov. Aggregation   COH             206383080015                Gas           Gov. Aggregation
COH             206843320018                Gas           Gov. Aggregation   COH             208865710018                Gas           Gov. Aggregation
COH             142841460038                Gas           Gov. Aggregation   COH             205849380015                Gas           Gov. Aggregation
COH             205004350011                Gas           Gov. Aggregation   COH             205863170019                Gas           Gov. Aggregation
COH             135832720031                Gas           Gov. Aggregation   COH             188117320056                Gas           Gov. Aggregation
COH             190375550058                Gas           Gov. Aggregation   COH             200601330069                Gas           Gov. Aggregation
COH             162637720050                Gas           Gov. Aggregation   COH             204764690011                Gas           Gov. Aggregation
COH             208129450013                Gas           Gov. Aggregation   COH             176023220087                Gas           Gov. Aggregation
COH             187247730038                Gas           Gov. Aggregation   COH             207178770014                Gas           Gov. Aggregation
COH             171625950029                Gas           Gov. Aggregation   COH             209161280010                Gas           Gov. Aggregation
COH             123816480012                Gas           Gov. Aggregation   COH             206544570010                Gas           Gov. Aggregation
COH             123816740017                Gas           Gov. Aggregation   COH             208049420019                Gas           Gov. Aggregation
COH             158786090018                Gas           Gov. Aggregation   COH             208584270017                Gas           Gov. Aggregation
COH             131421220059                Gas           Gov. Aggregation   COH             163498870027                Gas           Gov. Aggregation
COH             177351260010                Gas           Gov. Aggregation   COH             208689420013                Gas           Gov. Aggregation
COH             123821490028                Gas           Gov. Aggregation   COH             197575840038                Gas           Gov. Aggregation
COH             152215020035                Gas           Gov. Aggregation   COH             175667480035                Gas           Gov. Aggregation
COH             142627360177                Gas           Gov. Aggregation   COH             175667480044                Gas           Gov. Aggregation
COH             188489980015                Gas           Gov. Aggregation   COH             207791370018                Gas           Gov. Aggregation
COH             123882860013                Gas           Gov. Aggregation   COH             175667480053                Gas           Gov. Aggregation
COH             142389360057                Gas           Gov. Aggregation   COH             175667480062                Gas           Gov. Aggregation
COH             148108150040                Gas           Gov. Aggregation   COH             206085480013                Gas           Gov. Aggregation
COH             127452110017                Gas           Gov. Aggregation   COH             207101240016                Gas           Gov. Aggregation
COH             197350900013                Gas           Gov. Aggregation   COH             196882420045                Gas           Gov. Aggregation
COH             194802840029                Gas           Gov. Aggregation   COH             171983370069                Gas           Gov. Aggregation
COH             193822250022                Gas           Gov. Aggregation   COH             149983150054                Gas           Gov. Aggregation
COH             188516490028                Gas           Gov. Aggregation   COH             144938000046                Gas           Gov. Aggregation
COH             176756240053                Gas           Gov. Aggregation   COH             205681510013                Gas           Gov. Aggregation
COH             123765470040                Gas           Gov. Aggregation   COH             199802410024                Gas           Gov. Aggregation
COH             189439810014                Gas           Gov. Aggregation   COH             167142360041                Gas           Gov. Aggregation
COH             123855060027                Gas           Gov. Aggregation   COH             208080360016                Gas           Gov. Aggregation
COH             123860110016                Gas           Gov. Aggregation   COH             203079871230                Gas           Gov. Aggregation
COH             171396650010                Gas           Gov. Aggregation   COH             159635860041                Gas           Gov. Aggregation
COH             174127980017                Gas           Gov. Aggregation   COH             198171520021                Gas           Gov. Aggregation
COH             177107450017                Gas           Gov. Aggregation   COH             208787390012                Gas           Gov. Aggregation
COH             123803440035                Gas           Gov. Aggregation   COH             205529120017                Gas           Gov. Aggregation
COH             123856040010                Gas           Gov. Aggregation   COH             205572740016                Gas           Gov. Aggregation
COH             155708420015                Gas           Gov. Aggregation   COH             192450680040                Gas           Gov. Aggregation
COH             156340260018                Gas           Gov. Aggregation   COH             203555040039                Gas           Gov. Aggregation
COH             123885930021                Gas           Gov. Aggregation   COH             207811190012                Gas           Gov. Aggregation
COH             123857990019                Gas           Gov. Aggregation   COH             201901680023                Gas           Gov. Aggregation
COH             123887760023                Gas           Gov. Aggregation   COH             209074660015                Gas           Gov. Aggregation
COH             189515170017                Gas           Gov. Aggregation   COH             165571870038                Gas           Gov. Aggregation
COH             135337050014                Gas           Gov. Aggregation   COH             206817690016                Gas           Gov. Aggregation
COH             123856400014                Gas           Gov. Aggregation   COH             207924920019                Gas           Gov. Aggregation
COH             150451720012                Gas           Gov. Aggregation   COH             166212920027                Gas           Gov. Aggregation
COH             123823670035                Gas           Gov. Aggregation   COH             205051530023                Gas           Gov. Aggregation
COH             172976640011                Gas           Gov. Aggregation   COH             148233640042                Gas           Gov. Aggregation
COH             170761330031                Gas           Gov. Aggregation   COH             206257380019                Gas           Gov. Aggregation
COH             122017270039                Gas           Gov. Aggregation   COH             208976160019                Gas           Gov. Aggregation
COH             123819810025                Gas           Gov. Aggregation   COH             203110420022                Gas           Gov. Aggregation
COH             186070770036                Gas           Gov. Aggregation   COH             208991670010                Gas           Gov. Aggregation
COH             198975350014                Gas           Gov. Aggregation   COH             205915470015                Gas           Gov. Aggregation
COH             138910420133                Gas           Gov. Aggregation   COH             203950640026                Gas           Gov. Aggregation
COH             146212440139                Gas           Gov. Aggregation   COH             208354850012                Gas           Gov. Aggregation
COH             190260110017                Gas           Gov. Aggregation   COH             200561840031                Gas           Gov. Aggregation
COH             123891000014                Gas           Gov. Aggregation   COH             198636210020                Gas           Gov. Aggregation
COH             136551400015                Gas           Gov. Aggregation   COH             208824510016                Gas           Gov. Aggregation
COH             171243240019                Gas           Gov. Aggregation   COH             206632170017                Gas           Gov. Aggregation
COH             123823220039                Gas           Gov. Aggregation   COH             196249570037                Gas           Gov. Aggregation
COH             141100420028                Gas           Gov. Aggregation   COH             208689520012                Gas           Gov. Aggregation
COH             158080650016                Gas           Gov. Aggregation   COH             207901270014                Gas           Gov. Aggregation
COH             140192430015                Gas           Gov. Aggregation   COH             176995940041                Gas           Gov. Aggregation
COH             122018830039                Gas           Gov. Aggregation   COH             207471200011                Gas           Gov. Aggregation
COH             123812380057                Gas           Gov. Aggregation   COH             195532860054                Gas           Gov. Aggregation
COH             175628860019                Gas           Gov. Aggregation   COH             208468480019                Gas           Gov. Aggregation
COH             123839670014                Gas           Gov. Aggregation   COH             207679350010                Gas           Gov. Aggregation
COH             157143000019                Gas           Gov. Aggregation   COH             187946120016                Gas           Gov. Aggregation
COH             123820520014                Gas           Gov. Aggregation   COH             208275360013                Gas           Gov. Aggregation
COH             141414950022                Gas           Gov. Aggregation   COH             205718460024                Gas           Gov. Aggregation
COH             123833520035                Gas           Gov. Aggregation   COH             191368900049                Gas           Gov. Aggregation
COH             142709940019                Gas           Gov. Aggregation   COH             200783620028                Gas           Gov. Aggregation
COH             169743380014                Gas           Gov. Aggregation   COH             137098730099                Gas           Gov. Aggregation
COH             173558940022                Gas           Gov. Aggregation   COH             176365900035                Gas           Gov. Aggregation
COH             158135450075                Gas           Gov. Aggregation   COH             204404180029                Gas           Gov. Aggregation
COH             175042550016                Gas           Gov. Aggregation   COH             177495580064                Gas           Gov. Aggregation
VEDO            4015575372206567            Gas           Gov. Aggregation   COH             186651710027                Gas           Gov. Aggregation
VEDO            4017978452174031            Gas           Gov. Aggregation   COH             207762330017                Gas           Gov. Aggregation
VEDO            4019155202470004            Gas           Gov. Aggregation   COH             207799810019                Gas           Gov. Aggregation
DEO             7500024772639               Gas           Gov. Aggregation   COH             206673230018                Gas           Gov. Aggregation
DEO             8440107957981               Gas           Gov. Aggregation   COH             209210400019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             129301640040                Gas           Gov. Aggregation   COH             209263250074                Gas           Gov. Aggregation
COH             208887770010                Gas           Gov. Aggregation   COH             206073060016                Gas           Gov. Aggregation
COH             156185930035                Gas           Gov. Aggregation   COH             155227580076                Gas           Gov. Aggregation
COH             123829850026                Gas           Gov. Aggregation   COH             159540280026                Gas           Gov. Aggregation
COH             112790450035                Gas           Gov. Aggregation   COH             205830560025                Gas           Gov. Aggregation
COH             131004250039                Gas           Gov. Aggregation   COH             190432960041                Gas           Gov. Aggregation
COH             123834320035                Gas           Gov. Aggregation   COH             208109600013                Gas           Gov. Aggregation
COH             191174260018                Gas           Gov. Aggregation   COH             208331470010                Gas           Gov. Aggregation
COH             155908160052                Gas           Gov. Aggregation   COH             209162840010                Gas           Gov. Aggregation
COH             123837640014                Gas           Gov. Aggregation   COH             203595680022                Gas           Gov. Aggregation
COH             130563020025                Gas           Gov. Aggregation   COH             205366170022                Gas           Gov. Aggregation
COH             169745980014                Gas           Gov. Aggregation   COH             177609570045                Gas           Gov. Aggregation
COH             123837410012                Gas           Gov. Aggregation   COH             201862590026                Gas           Gov. Aggregation
COH             160137360012                Gas           Gov. Aggregation   COH             188151860042                Gas           Gov. Aggregation
COH             130385070023                Gas           Gov. Aggregation   COH             195109430024                Gas           Gov. Aggregation
COH             123832550022                Gas           Gov. Aggregation   COH             208184960010                Gas           Gov. Aggregation
COH             123852420018                Gas           Gov. Aggregation   COH             205642970019                Gas           Gov. Aggregation
COH             160962770017                Gas           Gov. Aggregation   COH             207577300016                Gas           Gov. Aggregation
COH             123829390014                Gas           Gov. Aggregation   COH             208827890011                Gas           Gov. Aggregation
COH             135660720045                Gas           Gov. Aggregation   COH             193366090079                Gas           Gov. Aggregation
COH             159214260012                Gas           Gov. Aggregation   COH             204296770053                Gas           Gov. Aggregation
COH             189562650017                Gas           Gov. Aggregation   COH             207600680016                Gas           Gov. Aggregation
COH             151309280024                Gas           Gov. Aggregation   COH             207946440014                Gas           Gov. Aggregation
COH             123901260026                Gas           Gov. Aggregation   COH             208728050017                Gas           Gov. Aggregation
COH             187196720020                Gas           Gov. Aggregation   COH             208758080018                Gas           Gov. Aggregation
COH             123850450025                Gas           Gov. Aggregation   COH             208092910015                Gas           Gov. Aggregation
COH             155988840015                Gas           Gov. Aggregation   COH             194350230035                Gas           Gov. Aggregation
COH             156908390017                Gas           Gov. Aggregation   COH             165934080098                Gas           Gov. Aggregation
COH             185162240015                Gas           Gov. Aggregation   COH             208532770011                Gas           Gov. Aggregation
COH             189198240016                Gas           Gov. Aggregation   COH             185417190060                Gas           Gov. Aggregation
COH             168147850010                Gas           Gov. Aggregation   COH             206070640010                Gas           Gov. Aggregation
COH             159915700022                Gas           Gov. Aggregation   COH             206681850011                Gas           Gov. Aggregation
COH             123905090024                Gas           Gov. Aggregation   COH             188387310057                Gas           Gov. Aggregation
COH             187180060013                Gas           Gov. Aggregation   COH             185406140125                Gas           Gov. Aggregation
COH             175534020023                Gas           Gov. Aggregation   COH             207749880029                Gas           Gov. Aggregation
COH             199603940016                Gas           Gov. Aggregation   COH             207106170011                Gas           Gov. Aggregation
COH             199413900017                Gas           Gov. Aggregation   COH             209000820016                Gas           Gov. Aggregation
COH             194071050026                Gas           Gov. Aggregation   COH             159545430033                Gas           Gov. Aggregation
COH             198187020014                Gas           Gov. Aggregation   COH             193892990039                Gas           Gov. Aggregation
COH             165366080011                Gas           Gov. Aggregation   COH             198934050022                Gas           Gov. Aggregation
COH             123855550015                Gas           Gov. Aggregation   COH             185853930088                Gas           Gov. Aggregation
COH             123855510013                Gas           Gov. Aggregation   COH             202514870032                Gas           Gov. Aggregation
COH             175857950015                Gas           Gov. Aggregation   COH             169030650063                Gas           Gov. Aggregation
COH             123852500011                Gas           Gov. Aggregation   COH             207901120015                Gas           Gov. Aggregation
COH             123852600010                Gas           Gov. Aggregation   COH             206941980012                Gas           Gov. Aggregation
COH             157094910013                Gas           Gov. Aggregation   COH             206603300010                Gas           Gov. Aggregation
COH             133259040050                Gas           Gov. Aggregation   COH             202886880024                Gas           Gov. Aggregation
COH             169024910016                Gas           Gov. Aggregation   COH             207553250017                Gas           Gov. Aggregation
COH             148104170044                Gas           Gov. Aggregation   COH             209068090018                Gas           Gov. Aggregation
COH             172419520025                Gas           Gov. Aggregation   COH             139605060126                Gas           Gov. Aggregation
COH             195094520019                Gas           Gov. Aggregation   COH             209263820010                Gas           Gov. Aggregation
COH             194339460013                Gas           Gov. Aggregation   COH             202123140025                Gas           Gov. Aggregation
COH             149273880029                Gas           Gov. Aggregation   COH             162365270025                Gas           Gov. Aggregation
COH             158023230014                Gas           Gov. Aggregation   COH             207041040016                Gas           Gov. Aggregation
COH             153385980043                Gas           Gov. Aggregation   COH             209172130018                Gas           Gov. Aggregation
COH             190812860019                Gas           Gov. Aggregation   COH             208440230019                Gas           Gov. Aggregation
COH             148689740019                Gas           Gov. Aggregation   COH             208644370018                Gas           Gov. Aggregation
COH             145042290026                Gas           Gov. Aggregation   COH             142764120051                Gas           Gov. Aggregation
COH             123806370025                Gas           Gov. Aggregation   COH             207352030019                Gas           Gov. Aggregation
COH             123863880019                Gas           Gov. Aggregation   COH             196807660034                Gas           Gov. Aggregation
COH             161382280019                Gas           Gov. Aggregation   COH             204519090025                Gas           Gov. Aggregation
COH             123863830019                Gas           Gov. Aggregation   COH             204300640013                Gas           Gov. Aggregation
COH             151011010012                Gas           Gov. Aggregation   COH             199635890047                Gas           Gov. Aggregation
COH             123862960023                Gas           Gov. Aggregation   COH             204561550029                Gas           Gov. Aggregation
COH             187626870017                Gas           Gov. Aggregation   COH             201747290023                Gas           Gov. Aggregation
COH             138908630027                Gas           Gov. Aggregation   COH             155446670028                Gas           Gov. Aggregation
COH             155846580010                Gas           Gov. Aggregation   COH             208838900015                Gas           Gov. Aggregation
COH             123817120015                Gas           Gov. Aggregation   COH             208293300017                Gas           Gov. Aggregation
COH             123817660021                Gas           Gov. Aggregation   COH             206584830057                Gas           Gov. Aggregation
COH             123817850012                Gas           Gov. Aggregation   COH             208460200013                Gas           Gov. Aggregation
COH             123819770051                Gas           Gov. Aggregation   COH             192176820042                Gas           Gov. Aggregation
COH             123820120134                Gas           Gov. Aggregation   COH             154824940057                Gas           Gov. Aggregation
COH             177668480013                Gas           Gov. Aggregation   COH             205504320017                Gas           Gov. Aggregation
COH             169712540015                Gas           Gov. Aggregation   COH             207593700018                Gas           Gov. Aggregation
COH             157397800023                Gas           Gov. Aggregation   COH             202193780051                Gas           Gov. Aggregation
COH             190159260011                Gas           Gov. Aggregation   COH             144989720039                Gas           Gov. Aggregation
COH             123866490024                Gas           Gov. Aggregation   COH             207615750010                Gas           Gov. Aggregation
COH             123868330014                Gas           Gov. Aggregation   COH             206342570036                Gas           Gov. Aggregation
COH             123869180032                Gas           Gov. Aggregation   COH             188094040037                Gas           Gov. Aggregation
COH             152837090024                Gas           Gov. Aggregation   COH             204240100023                Gas           Gov. Aggregation
COH             123826440037                Gas           Gov. Aggregation   COH             146331000022                Gas           Gov. Aggregation
COH             196705690016                Gas           Gov. Aggregation   COH             128899570050                Gas           Gov. Aggregation
COH             197466150016                Gas           Gov. Aggregation   COH             174310500036                Gas           Gov. Aggregation
COH             199345140012                Gas           Gov. Aggregation   COH             117890690029                Gas           Gov. Aggregation
COH             123892490010                Gas           Gov. Aggregation   COH             206413020012                Gas           Gov. Aggregation
COH             176785310011                Gas           Gov. Aggregation   COH             165620590023                Gas           Gov. Aggregation
COH             123895740057                Gas           Gov. Aggregation   COH             199926130021                Gas           Gov. Aggregation
COH             193964930029                Gas           Gov. Aggregation   COH             144439300149                Gas           Gov. Aggregation
COH             190932610053                Gas           Gov. Aggregation   COH             206427250015                Gas           Gov. Aggregation
COH             168518390010                Gas           Gov. Aggregation   COH             205534170016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             160604760062                Gas           Gov. Aggregation   COH             202748380021                Gas           Gov. Aggregation
COH             164325410018                Gas           Gov. Aggregation   COH             206277220010                Gas           Gov. Aggregation
COH             123831390019                Gas           Gov. Aggregation   COH             202252390020                Gas           Gov. Aggregation
COH             123845110027                Gas           Gov. Aggregation   COH             167254130060                Gas           Gov. Aggregation
COH             123852620025                Gas           Gov. Aggregation   COH             207512610017                Gas           Gov. Aggregation
COH             148651370016                Gas           Gov. Aggregation   COH             207707020036                Gas           Gov. Aggregation
COH             175204570018                Gas           Gov. Aggregation   COH             207707020018                Gas           Gov. Aggregation
COH             137274030010                Gas           Gov. Aggregation   COH             196531730034                Gas           Gov. Aggregation
COH             191109060017                Gas           Gov. Aggregation   COH             205614570012                Gas           Gov. Aggregation
COH             123841410022                Gas           Gov. Aggregation   COH             207252170012                Gas           Gov. Aggregation
COH             141727510012                Gas           Gov. Aggregation   COH             156361390080                Gas           Gov. Aggregation
COH             123850470030                Gas           Gov. Aggregation   COH             164380140046                Gas           Gov. Aggregation
COH             131879930015                Gas           Gov. Aggregation   COH             206867360010                Gas           Gov. Aggregation
COH             171768170030                Gas           Gov. Aggregation   COH             185074810030                Gas           Gov. Aggregation
COH             142338620013                Gas           Gov. Aggregation   COH             199587600031                Gas           Gov. Aggregation
COH             123892490029                Gas           Gov. Aggregation   COH             171236180035                Gas           Gov. Aggregation
COH             174267280018                Gas           Gov. Aggregation   COH             171940190094                Gas           Gov. Aggregation
COH             155217430014                Gas           Gov. Aggregation   COH             202304840015                Gas           Gov. Aggregation
COH             123830220016                Gas           Gov. Aggregation   COH             206632890016                Gas           Gov. Aggregation
COH             188599660019                Gas           Gov. Aggregation   COH             208546200011                Gas           Gov. Aggregation
COH             134840240027                Gas           Gov. Aggregation   COH             206089090017                Gas           Gov. Aggregation
COH             177541510014                Gas           Gov. Aggregation   COH             208640570014                Gas           Gov. Aggregation
COH             123802940014                Gas           Gov. Aggregation   COH             207952060011                Gas           Gov. Aggregation
COH             185672520015                Gas           Gov. Aggregation   COH             208659210010                Gas           Gov. Aggregation
COH             136738350029                Gas           Gov. Aggregation   COH             206885110014                Gas           Gov. Aggregation
COH             186218180018                Gas           Gov. Aggregation   COH             203986750028                Gas           Gov. Aggregation
COH             161741270019                Gas           Gov. Aggregation   COH             198967620023                Gas           Gov. Aggregation
COH             157460750029                Gas           Gov. Aggregation   COH             208519570011                Gas           Gov. Aggregation
COH             112396580034                Gas           Gov. Aggregation   COH             205801790019                Gas           Gov. Aggregation
COH             194643740028                Gas           Gov. Aggregation   COH             209490780018                Gas           Gov. Aggregation
COH             123804180010                Gas           Gov. Aggregation   COH             191124860044                Gas           Gov. Aggregation
COH             187124240013                Gas           Gov. Aggregation   COH             198224790022                Gas           Gov. Aggregation
COH             160868450032                Gas           Gov. Aggregation   COH             205330690028                Gas           Gov. Aggregation
COH             189494030012                Gas           Gov. Aggregation   COH             206042070028                Gas           Gov. Aggregation
COH             175905850013                Gas           Gov. Aggregation   COH             209275700010                Gas           Gov. Aggregation
COH             123864470013                Gas           Gov. Aggregation   COH             209360640012                Gas           Gov. Aggregation
COH             123865180012                Gas           Gov. Aggregation   COH             117112720048                Gas           Gov. Aggregation
COH             189651560017                Gas           Gov. Aggregation   COH             206866710018                Gas           Gov. Aggregation
COH             152969050050                Gas           Gov. Aggregation   COH             152722600074                Gas           Gov. Aggregation
COH             155993710011                Gas           Gov. Aggregation   COH             206482300027                Gas           Gov. Aggregation
COH             143737900026                Gas           Gov. Aggregation   COH             207892550016                Gas           Gov. Aggregation
COH             123863450019                Gas           Gov. Aggregation   COH             197439410036                Gas           Gov. Aggregation
COH             160134100021                Gas           Gov. Aggregation   COH             206928870013                Gas           Gov. Aggregation
COH             127026240022                Gas           Gov. Aggregation   COH             203891430044                Gas           Gov. Aggregation
COH             123877820021                Gas           Gov. Aggregation   COH             209210350010                Gas           Gov. Aggregation
COH             123863590010                Gas           Gov. Aggregation   COH             154583470101                Gas           Gov. Aggregation
COH             123836700022                Gas           Gov. Aggregation   COH             209380640010                Gas           Gov. Aggregation
COH             138251440020                Gas           Gov. Aggregation   COH             209446020010                Gas           Gov. Aggregation
COH             174043830016                Gas           Gov. Aggregation   COH             189683420046                Gas           Gov. Aggregation
COH             155271950011                Gas           Gov. Aggregation   COH             165143550032                Gas           Gov. Aggregation
COH             185484420015                Gas           Gov. Aggregation   COH             205965780024                Gas           Gov. Aggregation
COH             123819190017                Gas           Gov. Aggregation   COH             174462220034                Gas           Gov. Aggregation
COH             123888720038                Gas           Gov. Aggregation   COH             187827520041                Gas           Gov. Aggregation
COH             123821940023                Gas           Gov. Aggregation   COH             204599450030                Gas           Gov. Aggregation
COH             164994120012                Gas           Gov. Aggregation   COH             173900100094                Gas           Gov. Aggregation
COH             123899070014                Gas           Gov. Aggregation   COH             209368530019                Gas           Gov. Aggregation
COH             164515080015                Gas           Gov. Aggregation   COH             206541090017                Gas           Gov. Aggregation
COH             123899460012                Gas           Gov. Aggregation   COH             206380760018                Gas           Gov. Aggregation
COH             154018950018                Gas           Gov. Aggregation   COH             195860600044                Gas           Gov. Aggregation
COH             160043870032                Gas           Gov. Aggregation   COH             186087070047                Gas           Gov. Aggregation
COH             161256460018                Gas           Gov. Aggregation   COH             201795470024                Gas           Gov. Aggregation
COH             136129600018                Gas           Gov. Aggregation   COH             186789200050                Gas           Gov. Aggregation
COH             154800650030                Gas           Gov. Aggregation   COH             198576240031                Gas           Gov. Aggregation
VEDO            4003835802382942            Gas           Gov. Aggregation   COH             209263960011                Gas           Gov. Aggregation
COH             142014690015                Gas           Gov. Aggregation   COH             206073070023                Gas           Gov. Aggregation
DEO             6180008100276               Gas           Gov. Aggregation   COH             152373090091                Gas           Gov. Aggregation
COH             167239940017                Gas           Gov. Aggregation   COH             203996690057                Gas           Gov. Aggregation
COH             110427540028                Gas           Gov. Aggregation   COH             200936370026                Gas           Gov. Aggregation
COH             139119870047                Gas           Gov. Aggregation   COH             200183670039                Gas           Gov. Aggregation
COH             160029520133                Gas           Gov. Aggregation   COH             206592430018                Gas           Gov. Aggregation
COH             207826310015                Gas           Gov. Aggregation   COH             207919950014                Gas           Gov. Aggregation
COH             205072730018                Gas           Gov. Aggregation   COH             205611120012                Gas           Gov. Aggregation
COH             165498450014                Gas           Gov. Aggregation   COH             205990640011                Gas           Gov. Aggregation
COH             202989960047                Gas           Gov. Aggregation   COH             118047020052                Gas           Gov. Aggregation
COH             207333180018                Gas           Gov. Aggregation   COH             144440970093                Gas           Gov. Aggregation
COH             150826130011                Gas           Gov. Aggregation   COH             209254410015                Gas           Gov. Aggregation
COH             205750580021                Gas           Gov. Aggregation   COH             206012590013                Gas           Gov. Aggregation
COH             190969700039                Gas           Gov. Aggregation   COH             201884680049                Gas           Gov. Aggregation
COH             206134280010                Gas           Gov. Aggregation   COH             204449240022                Gas           Gov. Aggregation
COH             207611120010                Gas           Gov. Aggregation   COH             206888770010                Gas           Gov. Aggregation
COH             192860270029                Gas           Gov. Aggregation   COH             202899570013                Gas           Gov. Aggregation
COH             122750800024                Gas           Gov. Aggregation   COH             209360630014                Gas           Gov. Aggregation
COH             206604030015                Gas           Gov. Aggregation   COH             209178430013                Gas           Gov. Aggregation
COH             125715700026                Gas           Gov. Aggregation   COH             204909140027                Gas           Gov. Aggregation
COH             145134840070                Gas           Gov. Aggregation   COH             188083080050                Gas           Gov. Aggregation
COH             204257580019                Gas           Gov. Aggregation   COH             190942990026                Gas           Gov. Aggregation
COH             170050750049                Gas           Gov. Aggregation   COH             207523690018                Gas           Gov. Aggregation
COH             206163180010                Gas           Gov. Aggregation   COH             202855940026                Gas           Gov. Aggregation
COH             204535540017                Gas           Gov. Aggregation   COH             172200930031                Gas           Gov. Aggregation
COH             205219640015                Gas           Gov. Aggregation   COH             207175190012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             208120410019                Gas           Gov. Aggregation   COH             209162970013                Gas           Gov. Aggregation
COH             206292100013                Gas           Gov. Aggregation   COH             207762380017                Gas           Gov. Aggregation
COH             204494680016                Gas           Gov. Aggregation   COH             199741250028                Gas           Gov. Aggregation
COH             204381860017                Gas           Gov. Aggregation   COH             206088980012                Gas           Gov. Aggregation
COH             195367440026                Gas           Gov. Aggregation   COH             192772000022                Gas           Gov. Aggregation
COH             205405270018                Gas           Gov. Aggregation   COH             209498890019                Gas           Gov. Aggregation
COH             187870970028                Gas           Gov. Aggregation   COH             201012170025                Gas           Gov. Aggregation
COH             166385770088                Gas           Gov. Aggregation   COH             208370210012                Gas           Gov. Aggregation
COH             190489080038                Gas           Gov. Aggregation   COH             208519600014                Gas           Gov. Aggregation
COH             208040230017                Gas           Gov. Aggregation   COH             111502680028                Gas           Gov. Aggregation
COH             106929350486                Gas           Gov. Aggregation   COH             198724860036                Gas           Gov. Aggregation
COH             205364310017                Gas           Gov. Aggregation   COH             207640550073                Gas           Gov. Aggregation
COH             207646520013                Gas           Gov. Aggregation   COH             207640550082                Gas           Gov. Aggregation
COH             122325500037                Gas           Gov. Aggregation   COH             139295690034                Gas           Gov. Aggregation
COH             197550730024                Gas           Gov. Aggregation   COH             172260310044                Gas           Gov. Aggregation
COH             206758460010                Gas           Gov. Aggregation   COH             190898240064                Gas           Gov. Aggregation
COH             206585770012                Gas           Gov. Aggregation   COH             208109770018                Gas           Gov. Aggregation
COH             206090710013                Gas           Gov. Aggregation   COH             167150490145                Gas           Gov. Aggregation
COH             142027800363                Gas           Gov. Aggregation   COH             199882350029                Gas           Gov. Aggregation
COH             207023380013                Gas           Gov. Aggregation   COH             205931910018                Gas           Gov. Aggregation
COH             125875140053                Gas           Gov. Aggregation   COH             203079871187                Gas           Gov. Aggregation
COH             187048650019                Gas           Gov. Aggregation   COH             207840490018                Gas           Gov. Aggregation
COH             202219430012                Gas           Gov. Aggregation   COH             207223720017                Gas           Gov. Aggregation
COH             202434070012                Gas           Gov. Aggregation   COH             208454960017                Gas           Gov. Aggregation
COH             207541210010                Gas           Gov. Aggregation   COH             209463130011                Gas           Gov. Aggregation
COH             208218100017                Gas           Gov. Aggregation   COH             202766380023                Gas           Gov. Aggregation
COH             205662660012                Gas           Gov. Aggregation   COH             143066710038                Gas           Gov. Aggregation
COH             207448220016                Gas           Gov. Aggregation   COH             199191690032                Gas           Gov. Aggregation
COH             204388870011                Gas           Gov. Aggregation   COH             209058610019                Gas           Gov. Aggregation
COH             165437650038                Gas           Gov. Aggregation   COH             209123570019                Gas           Gov. Aggregation
COH             204555090010                Gas           Gov. Aggregation   COH             202482850026                Gas           Gov. Aggregation
COH             185053700037                Gas           Gov. Aggregation   COH             208062360014                Gas           Gov. Aggregation
COH             206071490010                Gas           Gov. Aggregation   COH             192943980024                Gas           Gov. Aggregation
COH             206699340011                Gas           Gov. Aggregation   COH             201556200044                Gas           Gov. Aggregation
COH             206987210017                Gas           Gov. Aggregation   COH             208634320019                Gas           Gov. Aggregation
COH             199268970030                Gas           Gov. Aggregation   COH             206214070014                Gas           Gov. Aggregation
COH             164375260060                Gas           Gov. Aggregation   COH             206234410010                Gas           Gov. Aggregation
COH             204706790012                Gas           Gov. Aggregation   COH             207302110017                Gas           Gov. Aggregation
COH             204845900014                Gas           Gov. Aggregation   COH             195183280057                Gas           Gov. Aggregation
COH             202027940021                Gas           Gov. Aggregation   COH             204088670037                Gas           Gov. Aggregation
COH             204911000012                Gas           Gov. Aggregation   COH             207933800015                Gas           Gov. Aggregation
COH             164029040023                Gas           Gov. Aggregation   COH             177807770043                Gas           Gov. Aggregation
COH             195718300020                Gas           Gov. Aggregation   COH             207824980019                Gas           Gov. Aggregation
COH             116312250071                Gas           Gov. Aggregation   COH             208499860014                Gas           Gov. Aggregation
COH             205979430019                Gas           Gov. Aggregation   COH             206821530010                Gas           Gov. Aggregation
DEO             5180014320499               Gas           Gov. Aggregation   COH             156243820114                Gas           Gov. Aggregation
VEDO            4003970892397493            Gas           Gov. Aggregation   COH             177564760032                Gas           Gov. Aggregation
COH             197577230014                Gas           Gov. Aggregation   DEO             7180015157252               Gas           Gov. Aggregation
COH             197704610013                Gas           Gov. Aggregation   VEDO            4018888732368659            Gas           Gov. Aggregation
VEDO            4018804382155716            Gas           Gov. Aggregation   DEO             4500034857143               Gas           Gov. Aggregation
VEDO            4001008702196824            Gas           Gov. Aggregation   COH             164513710089                Gas           Gov. Aggregation
VEDO            4019250922463303            Gas           Gov. Aggregation   COH             207583900017                Gas           Gov. Aggregation
VEDO            4019223732424058            Gas           Gov. Aggregation   COH             206193060012                Gas           Gov. Aggregation
VEDO            4002005362181859            Gas           Gov. Aggregation   COH             165490100077                Gas           Gov. Aggregation
VEDO            4019322132237279            Gas           Gov. Aggregation   COH             205460370039                Gas           Gov. Aggregation
VEDO            4001278022129989            Gas           Gov. Aggregation   COH             206344860013                Gas           Gov. Aggregation
VEDO            4018613082319481            Gas           Gov. Aggregation   COH             207070660015                Gas           Gov. Aggregation
VEDO            4019164062525008            Gas           Gov. Aggregation   COH             115012920031                Gas           Gov. Aggregation
VEDO            4001019332291154            Gas           Gov. Aggregation   COH             206976600018                Gas           Gov. Aggregation
VEDO            4019226012464480            Gas           Gov. Aggregation   COH             208123040011                Gas           Gov. Aggregation
VEDO            4015313422335205            Gas           Gov. Aggregation   COH             207802180013                Gas           Gov. Aggregation
VEDO            4016270612416906            Gas           Gov. Aggregation   COH             187206990021                Gas           Gov. Aggregation
VEDO            4019272192549461            Gas           Gov. Aggregation   COH             194667570042                Gas           Gov. Aggregation
VEDO            4015823892333951            Gas           Gov. Aggregation   COH             207558590016                Gas           Gov. Aggregation
VEDO            4016505082515715            Gas           Gov. Aggregation   COH             115018150022                Gas           Gov. Aggregation
VEDO            4019139722321227            Gas           Gov. Aggregation   COH             208381720012                Gas           Gov. Aggregation
VEDO            4019158532387120            Gas           Gov. Aggregation   COH             204518840029                Gas           Gov. Aggregation
VEDO            4003492222377731            Gas           Gov. Aggregation   COH             194836340023                Gas           Gov. Aggregation
VEDO            4001501702279534            Gas           Gov. Aggregation   COH             157361600011                Gas           Gov. Aggregation
VEDO            4019152852490274            Gas           Gov. Aggregation   COH             207472280013                Gas           Gov. Aggregation
VEDO            4019297312105192            Gas           Gov. Aggregation   COH             205482480012                Gas           Gov. Aggregation
VEDO            4004715822515694            Gas           Gov. Aggregation   COH             205464560022                Gas           Gov. Aggregation
VEDO            4002002522287713            Gas           Gov. Aggregation   COH             173784820064                Gas           Gov. Aggregation
VEDO            4019144092615383            Gas           Gov. Aggregation   COH             143216540106                Gas           Gov. Aggregation
VEDO            4019206142623848            Gas           Gov. Aggregation   COH             170554960074                Gas           Gov. Aggregation
COH             134317420091                Gas           Gov. Aggregation   COH             208285310012                Gas           Gov. Aggregation
COH             138045790042                Gas           Gov. Aggregation   COH             172153030246                Gas           Gov. Aggregation
COH             195039600018                Gas           Gov. Aggregation   COH             207700860016                Gas           Gov. Aggregation
COH             195088060019                Gas           Gov. Aggregation   COH             195236300139                Gas           Gov. Aggregation
COH             195254510011                Gas           Gov. Aggregation   COH             208043340018                Gas           Gov. Aggregation
COH             197218730019                Gas           Gov. Aggregation   COH             209331100016                Gas           Gov. Aggregation
COH             159058560020                Gas           Gov. Aggregation   COH             207896800015                Gas           Gov. Aggregation
COH             189605320023                Gas           Gov. Aggregation   COH             206652950011                Gas           Gov. Aggregation
COH             195747640019                Gas           Gov. Aggregation   COH             143751050089                Gas           Gov. Aggregation
COH             192671510029                Gas           Gov. Aggregation   COH             176242620123                Gas           Gov. Aggregation
COH             161743740016                Gas           Gov. Aggregation   COH             158828010130                Gas           Gov. Aggregation
COH             196799050013                Gas           Gov. Aggregation   COH             204127430033                Gas           Gov. Aggregation
COH             146786720019                Gas           Gov. Aggregation   COH             206422440015                Gas           Gov. Aggregation
COH             196630120014                Gas           Gov. Aggregation   COH             127302580052                Gas           Gov. Aggregation
COH             197042200013                Gas           Gov. Aggregation   COH             148307460178                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             135216930024                Gas           Gov. Aggregation   COH             208846780014                Gas           Gov. Aggregation
COH             174383920026                Gas           Gov. Aggregation   COH             206991470078                Gas           Gov. Aggregation
COH             197798780011                Gas           Gov. Aggregation   COH             200861120027                Gas           Gov. Aggregation
COH             197830570015                Gas           Gov. Aggregation   COH             205142730037                Gas           Gov. Aggregation
COH             197837840014                Gas           Gov. Aggregation   COH             194773690024                Gas           Gov. Aggregation
COH             197967680013                Gas           Gov. Aggregation   COH             195201820044                Gas           Gov. Aggregation
COH             185884320018                Gas           Gov. Aggregation   COH             192395630020                Gas           Gov. Aggregation
COH             188405760017                Gas           Gov. Aggregation   COH             207268200012                Gas           Gov. Aggregation
COH             171754380017                Gas           Gov. Aggregation   COH             208108990032                Gas           Gov. Aggregation
COH             169023090011                Gas           Gov. Aggregation   COH             208108990014                Gas           Gov. Aggregation
COH             196630770018                Gas           Gov. Aggregation   COH             207093210011                Gas           Gov. Aggregation
COH             108760180022                Gas           Gov. Aggregation   COH             207896810013                Gas           Gov. Aggregation
COH             108697570025                Gas           Gov. Aggregation   COH             199555790011                Gas           Gov. Aggregation
COH             108700740011                Gas           Gov. Aggregation   COH             209478490015                Gas           Gov. Aggregation
COH             185785310010                Gas           Gov. Aggregation   COH             207417950018                Gas           Gov. Aggregation
COH             188643940015                Gas           Gov. Aggregation   COH             132274340154                Gas           Gov. Aggregation
COH             196150570018                Gas           Gov. Aggregation   COH             196307310037                Gas           Gov. Aggregation
COH             193527510023                Gas           Gov. Aggregation   COH             185814400072                Gas           Gov. Aggregation
COH             194039400011                Gas           Gov. Aggregation   COH             207880010014                Gas           Gov. Aggregation
COH             170216530016                Gas           Gov. Aggregation   COH             206069750010                Gas           Gov. Aggregation
COH             185596570017                Gas           Gov. Aggregation   COH             141560700025                Gas           Gov. Aggregation
COH             189191140011                Gas           Gov. Aggregation   COH             208670990013                Gas           Gov. Aggregation
COH             171135960017                Gas           Gov. Aggregation   COH             208924930016                Gas           Gov. Aggregation
COH             108743090018                Gas           Gov. Aggregation   COH             208405250019                Gas           Gov. Aggregation
COH             108743240016                Gas           Gov. Aggregation   COH             200680890057                Gas           Gov. Aggregation
COH             108743350013                Gas           Gov. Aggregation   COH             208993060014                Gas           Gov. Aggregation
COH             108741350017                Gas           Gov. Aggregation   COH             205525140011                Gas           Gov. Aggregation
COH             197124470013                Gas           Gov. Aggregation   COH             203882250023                Gas           Gov. Aggregation
COH             157989690013                Gas           Gov. Aggregation   COH             208481310016                Gas           Gov. Aggregation
COH             169302830013                Gas           Gov. Aggregation   COH             171160570089                Gas           Gov. Aggregation
COH             193852620012                Gas           Gov. Aggregation   COH             173181980096                Gas           Gov. Aggregation
COH             195883270019                Gas           Gov. Aggregation   COH             207548440036                Gas           Gov. Aggregation
COH             196254840011                Gas           Gov. Aggregation   COH             207831320012                Gas           Gov. Aggregation
COH             196592600015                Gas           Gov. Aggregation   COH             208834620012                Gas           Gov. Aggregation
COH             197457140017                Gas           Gov. Aggregation   COH             206350010018                Gas           Gov. Aggregation
COH             108721090023                Gas           Gov. Aggregation   COH             209435520018                Gas           Gov. Aggregation
COH             195814620010                Gas           Gov. Aggregation   COH             208562040011                Gas           Gov. Aggregation
COH             193184080013                Gas           Gov. Aggregation   COH             195005570043                Gas           Gov. Aggregation
COH             122463810281                Gas           Gov. Aggregation   COH             165963740034                Gas           Gov. Aggregation
COH             158744800301                Gas           Gov. Aggregation   COH             205142780117                Gas           Gov. Aggregation
COH             158744800310                Gas           Gov. Aggregation   COH             208396220016                Gas           Gov. Aggregation
COH             158744800329                Gas           Gov. Aggregation   COH             157852560073                Gas           Gov. Aggregation
COH             190290880013                Gas           Gov. Aggregation   COH             185645730036                Gas           Gov. Aggregation
COH             154333540043                Gas           Gov. Aggregation   COH             208749250011                Gas           Gov. Aggregation
COH             186794550029                Gas           Gov. Aggregation   COH             208692820012                Gas           Gov. Aggregation
COH             151778970035                Gas           Gov. Aggregation   COH             190664470061                Gas           Gov. Aggregation
COH             122390360021                Gas           Gov. Aggregation   COH             175113890050                Gas           Gov. Aggregation
COH             197452390015                Gas           Gov. Aggregation   COH             196857760074                Gas           Gov. Aggregation
COH             147202010031                Gas           Gov. Aggregation   COH             170464940060                Gas           Gov. Aggregation
COH             156524760013                Gas           Gov. Aggregation   COH             207102760015                Gas           Gov. Aggregation
COH             164704160026                Gas           Gov. Aggregation   COH             208699580019                Gas           Gov. Aggregation
COH             185860050051                Gas           Gov. Aggregation   COH             205652680019                Gas           Gov. Aggregation
COH             188413400033                Gas           Gov. Aggregation   COH             206591370031                Gas           Gov. Aggregation
COH             191599460016                Gas           Gov. Aggregation   COH             203131570018                Gas           Gov. Aggregation
COH             192677490013                Gas           Gov. Aggregation   COH             187692460050                Gas           Gov. Aggregation
COH             196826890018                Gas           Gov. Aggregation   COH             204475450032                Gas           Gov. Aggregation
COH             196074340027                Gas           Gov. Aggregation   COH             173014510033                Gas           Gov. Aggregation
COH             167522370025                Gas           Gov. Aggregation   COH             209478480017                Gas           Gov. Aggregation
COH             193597610016                Gas           Gov. Aggregation   COH             207446050016                Gas           Gov. Aggregation
COH             122376480017                Gas           Gov. Aggregation   COH             177804230033                Gas           Gov. Aggregation
COH             194158760014                Gas           Gov. Aggregation   COH             169149900050                Gas           Gov. Aggregation
COH             132343600045                Gas           Gov. Aggregation   COH             206097040010                Gas           Gov. Aggregation
COH             191962310025                Gas           Gov. Aggregation   COH             206126970012                Gas           Gov. Aggregation
COH             189970360031                Gas           Gov. Aggregation   COH             209254140012                Gas           Gov. Aggregation
COH             123844750025                Gas           Gov. Aggregation   COH             203208940017                Gas           Gov. Aggregation
COH             122396460046                Gas           Gov. Aggregation   COH             209226330011                Gas           Gov. Aggregation
COH             192575490019                Gas           Gov. Aggregation   COH             141839420032                Gas           Gov. Aggregation
COH             135989790054                Gas           Gov. Aggregation   COH             208537310017                Gas           Gov. Aggregation
COH             171023080019                Gas           Gov. Aggregation   COH             190779000039                Gas           Gov. Aggregation
COH             170348910026                Gas           Gov. Aggregation   COH             207286470018                Gas           Gov. Aggregation
COH             176963200043                Gas           Gov. Aggregation   COH             200966680028                Gas           Gov. Aggregation
COH             190759810022                Gas           Gov. Aggregation   COH             206280800011                Gas           Gov. Aggregation
COH             197481200013                Gas           Gov. Aggregation   COH             147271520048                Gas           Gov. Aggregation
COH             193874260012                Gas           Gov. Aggregation   COH             206357760017                Gas           Gov. Aggregation
COH             196656280017                Gas           Gov. Aggregation   COH             207472270015                Gas           Gov. Aggregation
COH             157411150037                Gas           Gov. Aggregation   COH             206759690010                Gas           Gov. Aggregation
COH             173538220043                Gas           Gov. Aggregation   COH             208295510019                Gas           Gov. Aggregation
COH             122390720016                Gas           Gov. Aggregation   COH             200640560078                Gas           Gov. Aggregation
COH             158192090053                Gas           Gov. Aggregation   COH             195193180057                Gas           Gov. Aggregation
COH             122511300025                Gas           Gov. Aggregation   COH             201454120083                Gas           Gov. Aggregation
COH             192764150019                Gas           Gov. Aggregation   COH             173688690084                Gas           Gov. Aggregation
COH             132103450036                Gas           Gov. Aggregation   COH             206057520013                Gas           Gov. Aggregation
COH             152064410016                Gas           Gov. Aggregation   COH             209356450011                Gas           Gov. Aggregation
COH             188467460029                Gas           Gov. Aggregation   COH             209041720011                Gas           Gov. Aggregation
COH             190898440017                Gas           Gov. Aggregation   COH             208811220014                Gas           Gov. Aggregation
COH             122470560010                Gas           Gov. Aggregation   COH             168371940098                Gas           Gov. Aggregation
COH             197524080017                Gas           Gov. Aggregation   COH             203637470026                Gas           Gov. Aggregation
COH             187869080046                Gas           Gov. Aggregation   COH             209013440019                Gas           Gov. Aggregation
COH             197687630017                Gas           Gov. Aggregation   COH             208374320011                Gas           Gov. Aggregation
COH             122472390012                Gas           Gov. Aggregation   COH             198990650082                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             173242850048                Gas           Gov. Aggregation   COH             202426690037                Gas           Gov. Aggregation
COH             164827940031                Gas           Gov. Aggregation   COH             205754030019                Gas           Gov. Aggregation
COH             197900940018                Gas           Gov. Aggregation   COH             158849610121                Gas           Gov. Aggregation
COH             194936690019                Gas           Gov. Aggregation   COH             196800990066                Gas           Gov. Aggregation
COH             122495100032                Gas           Gov. Aggregation   COH             206932510019                Gas           Gov. Aggregation
COH             197779420016                Gas           Gov. Aggregation   COH             208662500012                Gas           Gov. Aggregation
COH             122513130018                Gas           Gov. Aggregation   COH             206890070012                Gas           Gov. Aggregation
COH             197560410011                Gas           Gov. Aggregation   COH             195991030109                Gas           Gov. Aggregation
COH             154105320015                Gas           Gov. Aggregation   COH             207796570016                Gas           Gov. Aggregation
COH             165136510044                Gas           Gov. Aggregation   COH             196692420039                Gas           Gov. Aggregation
COH             197723160018                Gas           Gov. Aggregation   COH             205858910014                Gas           Gov. Aggregation
COH             188301960033                Gas           Gov. Aggregation   COH             198970620044                Gas           Gov. Aggregation
COH             194982940028                Gas           Gov. Aggregation   COH             205616080011                Gas           Gov. Aggregation
COH             122386800018                Gas           Gov. Aggregation   COH             206805550010                Gas           Gov. Aggregation
COH             196673630017                Gas           Gov. Aggregation   COH             205398330021                Gas           Gov. Aggregation
COH             174626680058                Gas           Gov. Aggregation   COH             209465560017                Gas           Gov. Aggregation
COH             193046050011                Gas           Gov. Aggregation   COH             186112740069                Gas           Gov. Aggregation
COH             192771780012                Gas           Gov. Aggregation   COH             148430830053                Gas           Gov. Aggregation
COH             157546960032                Gas           Gov. Aggregation   COH             198316080026                Gas           Gov. Aggregation
COH             197874190013                Gas           Gov. Aggregation   COH             207486680010                Gas           Gov. Aggregation
COH             129971700780                Gas           Gov. Aggregation   COH             206795070023                Gas           Gov. Aggregation
COH             122495860015                Gas           Gov. Aggregation   COH             207949860010                Gas           Gov. Aggregation
COH             195028500012                Gas           Gov. Aggregation   COH             205626420018                Gas           Gov. Aggregation
COH             175346260059                Gas           Gov. Aggregation   COH             190135750027                Gas           Gov. Aggregation
COH             156584350200                Gas           Gov. Aggregation   COH             208889990010                Gas           Gov. Aggregation
COH             131487800022                Gas           Gov. Aggregation   COH             147848360085                Gas           Gov. Aggregation
COH             195591590011                Gas           Gov. Aggregation   COH             148570240024                Gas           Gov. Aggregation
COH             143089370023                Gas           Gov. Aggregation   COH             208787740018                Gas           Gov. Aggregation
COH             190403450021                Gas           Gov. Aggregation   COH             203251970038                Gas           Gov. Aggregation
COH             165305050015                Gas           Gov. Aggregation   COH             194447680036                Gas           Gov. Aggregation
COH             197176530011                Gas           Gov. Aggregation   COH             194734220015                Gas           Gov. Aggregation
COH             175634990028                Gas           Gov. Aggregation   COH             208903530014                Gas           Gov. Aggregation
COH             196067650018                Gas           Gov. Aggregation   COH             190091410086                Gas           Gov. Aggregation
COH             196067650036                Gas           Gov. Aggregation   COH             195991030127                Gas           Gov. Aggregation
COH             195814590017                Gas           Gov. Aggregation   COH             207065340031                Gas           Gov. Aggregation
COH             122357290017                Gas           Gov. Aggregation   COH             198233820017                Gas           Gov. Aggregation
COH             196989930015                Gas           Gov. Aggregation   COH             207288180033                Gas           Gov. Aggregation
COH             176219490059                Gas           Gov. Aggregation   COH             208396230014                Gas           Gov. Aggregation
COH             128787380020                Gas           Gov. Aggregation   COH             207274430011                Gas           Gov. Aggregation
COH             197257890014                Gas           Gov. Aggregation   COH             151299180028                Gas           Gov. Aggregation
COH             197004880011                Gas           Gov. Aggregation   COH             209373480019                Gas           Gov. Aggregation
COH             197765590010                Gas           Gov. Aggregation   COH             193181200013                Gas           Gov. Aggregation
COH             123545900072                Gas           Gov. Aggregation   COH             200589880035                Gas           Gov. Aggregation
COH             122498050028                Gas           Gov. Aggregation   COH             208497240018                Gas           Gov. Aggregation
COH             197963210019                Gas           Gov. Aggregation   COH             205632010011                Gas           Gov. Aggregation
COH             173423890019                Gas           Gov. Aggregation   COH             208631130015                Gas           Gov. Aggregation
COH             122483750013                Gas           Gov. Aggregation   COH             206115060016                Gas           Gov. Aggregation
COH             185606840026                Gas           Gov. Aggregation   COH             206012290034                Gas           Gov. Aggregation
COH             122451720034                Gas           Gov. Aggregation   COH             209272270017                Gas           Gov. Aggregation
COH             136646250025                Gas           Gov. Aggregation   COH             191612600052                Gas           Gov. Aggregation
COH             197251010010                Gas           Gov. Aggregation   COH             207788640018                Gas           Gov. Aggregation
COH             122361810036                Gas           Gov. Aggregation   COH             193917720059                Gas           Gov. Aggregation
COH             122485850018                Gas           Gov. Aggregation   COH             195507670039                Gas           Gov. Aggregation
COH             197955160017                Gas           Gov. Aggregation   COH             196000510044                Gas           Gov. Aggregation
COH             122491470024                Gas           Gov. Aggregation   COH             193645950030                Gas           Gov. Aggregation
COH             147326830028                Gas           Gov. Aggregation   COH             208845780016                Gas           Gov. Aggregation
COH             190506070032                Gas           Gov. Aggregation   COH             157699950059                Gas           Gov. Aggregation
COH             169416170020                Gas           Gov. Aggregation   COH             202587500036                Gas           Gov. Aggregation
COH             157130050025                Gas           Gov. Aggregation   COH             204805550030                Gas           Gov. Aggregation
COH             136340270010                Gas           Gov. Aggregation   COH             208248960014                Gas           Gov. Aggregation
COH             130978470059                Gas           Gov. Aggregation   COH             199725830057                Gas           Gov. Aggregation
COH             175754000021                Gas           Gov. Aggregation   COH             207746200018                Gas           Gov. Aggregation
COH             122478680028                Gas           Gov. Aggregation   COH             207955490015                Gas           Gov. Aggregation
COH             122429550019                Gas           Gov. Aggregation   COH             136624550037                Gas           Gov. Aggregation
COH             197825560018                Gas           Gov. Aggregation   COH             189287890020                Gas           Gov. Aggregation
COH             122446520019                Gas           Gov. Aggregation   COH             114930880026                Gas           Gov. Aggregation
COH             146118320018                Gas           Gov. Aggregation   COH             170619110047                Gas           Gov. Aggregation
COH             139681250037                Gas           Gov. Aggregation   COH             207090340010                Gas           Gov. Aggregation
COH             197184980010                Gas           Gov. Aggregation   COH             206725790029                Gas           Gov. Aggregation
COH             192181900035                Gas           Gov. Aggregation   COH             207149110022                Gas           Gov. Aggregation
COH             191947390021                Gas           Gov. Aggregation   COH             198993240028                Gas           Gov. Aggregation
COH             196378890019                Gas           Gov. Aggregation   COH             206591890014                Gas           Gov. Aggregation
COH             196033910014                Gas           Gov. Aggregation   COH             202499450034                Gas           Gov. Aggregation
COH             113849920021                Gas           Gov. Aggregation   COH             206645760016                Gas           Gov. Aggregation
COH             152735370058                Gas           Gov. Aggregation   COH             186700790115                Gas           Gov. Aggregation
COH             194296340010                Gas           Gov. Aggregation   COH             206947860015                Gas           Gov. Aggregation
COH             196266360017                Gas           Gov. Aggregation   COH             191785640040                Gas           Gov. Aggregation
COH             130496300029                Gas           Gov. Aggregation   COH             201498280024                Gas           Gov. Aggregation
COH             158069020030                Gas           Gov. Aggregation   COH             194740090038                Gas           Gov. Aggregation
COH             160985550015                Gas           Gov. Aggregation   COH             205406870010                Gas           Gov. Aggregation
COH             193347960012                Gas           Gov. Aggregation   COH             197867360012                Gas           Gov. Aggregation
COH             196994300016                Gas           Gov. Aggregation   COH             207442830010                Gas           Gov. Aggregation
COH             194781200010                Gas           Gov. Aggregation   COH             205110110025                Gas           Gov. Aggregation
COH             134760730015                Gas           Gov. Aggregation   COH             207113500016                Gas           Gov. Aggregation
COH             189890390026                Gas           Gov. Aggregation   COH             203886140028                Gas           Gov. Aggregation
COH             190601550057                Gas           Gov. Aggregation   COH             123617680058                Gas           Gov. Aggregation
COH             193778070016                Gas           Gov. Aggregation   COH             196810700029                Gas           Gov. Aggregation
COH             175221320041                Gas           Gov. Aggregation   COH             146094980021                Gas           Gov. Aggregation
COH             196139310016                Gas           Gov. Aggregation   COH             208257500011                Gas           Gov. Aggregation
COH             190692060031                Gas           Gov. Aggregation   COH             187407670031                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             122509760015                Gas           Gov. Aggregation   COH             207525100017                Gas           Gov. Aggregation
COH             196741600018                Gas           Gov. Aggregation   COH             205678390016                Gas           Gov. Aggregation
COH             192568370019                Gas           Gov. Aggregation   COH             194374070048                Gas           Gov. Aggregation
COH             122382650036                Gas           Gov. Aggregation   COH             163950600103                Gas           Gov. Aggregation
COH             122425060010                Gas           Gov. Aggregation   COH             154929960060                Gas           Gov. Aggregation
COH             197017770017                Gas           Gov. Aggregation   COH             208010600012                Gas           Gov. Aggregation
COH             122356630017                Gas           Gov. Aggregation   COH             206667190010                Gas           Gov. Aggregation
COH             165126960069                Gas           Gov. Aggregation   COH             173243390052                Gas           Gov. Aggregation
COH             193123410011                Gas           Gov. Aggregation   COH             114927350033                Gas           Gov. Aggregation
COH             192399350012                Gas           Gov. Aggregation   COH             114998520029                Gas           Gov. Aggregation
COH             138416430031                Gas           Gov. Aggregation   COH             207666790015                Gas           Gov. Aggregation
COH             188564020016                Gas           Gov. Aggregation   COH             209165340019                Gas           Gov. Aggregation
COH             191587620017                Gas           Gov. Aggregation   COH             115015080032                Gas           Gov. Aggregation
COH             122407150028                Gas           Gov. Aggregation   COH             206546140016                Gas           Gov. Aggregation
COH             189574690014                Gas           Gov. Aggregation   COH             142572170030                Gas           Gov. Aggregation
COH             192978530025                Gas           Gov. Aggregation   COH             191948160036                Gas           Gov. Aggregation
COH             173544800011                Gas           Gov. Aggregation   COH             208230080016                Gas           Gov. Aggregation
COH             196618610017                Gas           Gov. Aggregation   COH             208396210018                Gas           Gov. Aggregation
COH             193733680012                Gas           Gov. Aggregation   COH             205575670024                Gas           Gov. Aggregation
COH             143263200019                Gas           Gov. Aggregation   COH             206844450019                Gas           Gov. Aggregation
COH             194476490026                Gas           Gov. Aggregation   COH             176338190023                Gas           Gov. Aggregation
COH             185545190032                Gas           Gov. Aggregation   COH             158323170084                Gas           Gov. Aggregation
COH             131955360022                Gas           Gov. Aggregation   COH             205955540016                Gas           Gov. Aggregation
COH             191976400018                Gas           Gov. Aggregation   COH             205759280026                Gas           Gov. Aggregation
COH             197932470010                Gas           Gov. Aggregation   COH             173463640026                Gas           Gov. Aggregation
COH             122355360016                Gas           Gov. Aggregation   COH             154350240077                Gas           Gov. Aggregation
COH             175714440023                Gas           Gov. Aggregation   COH             205101630016                Gas           Gov. Aggregation
COH             151639590066                Gas           Gov. Aggregation   COH             205966220010                Gas           Gov. Aggregation
COH             147002220031                Gas           Gov. Aggregation   COH             206651770020                Gas           Gov. Aggregation
COH             122382820030                Gas           Gov. Aggregation   COH             207865930013                Gas           Gov. Aggregation
COH             158096250035                Gas           Gov. Aggregation   COH             166071850040                Gas           Gov. Aggregation
COH             167813330026                Gas           Gov. Aggregation   COH             208894280018                Gas           Gov. Aggregation
COH             192385600018                Gas           Gov. Aggregation   COH             197999520037                Gas           Gov. Aggregation
COH             194871060019                Gas           Gov. Aggregation   COH             209061460014                Gas           Gov. Aggregation
COH             133736350044                Gas           Gov. Aggregation   COH             204763230153                Gas           Gov. Aggregation
COH             127636880123                Gas           Gov. Aggregation   COH             203167960039                Gas           Gov. Aggregation
COH             194670580016                Gas           Gov. Aggregation   COH             187152580059                Gas           Gov. Aggregation
COH             191995360026                Gas           Gov. Aggregation   COH             203529720022                Gas           Gov. Aggregation
COH             158321710020                Gas           Gov. Aggregation   COH             162865750079                Gas           Gov. Aggregation
COH             174513090033                Gas           Gov. Aggregation   COH             195142280035                Gas           Gov. Aggregation
COH             194411860015                Gas           Gov. Aggregation   COH             196618150032                Gas           Gov. Aggregation
COH             133064210057                Gas           Gov. Aggregation   COH             203263540024                Gas           Gov. Aggregation
COH             194594510012                Gas           Gov. Aggregation   COH             206121020011                Gas           Gov. Aggregation
COH             193974760033                Gas           Gov. Aggregation   COH             206515970017                Gas           Gov. Aggregation
COH             171653230012                Gas           Gov. Aggregation   COH             207006570019                Gas           Gov. Aggregation
COH             163129200019                Gas           Gov. Aggregation   COH             208029660011                Gas           Gov. Aggregation
COH             186077830039                Gas           Gov. Aggregation   COH             185636150037                Gas           Gov. Aggregation
COH             146018930094                Gas           Gov. Aggregation   COH             193027000066                Gas           Gov. Aggregation
COH             192262750035                Gas           Gov. Aggregation   COH             148098780078                Gas           Gov. Aggregation
COH             196332570012                Gas           Gov. Aggregation   COH             145397750500                Gas           Gov. Aggregation
COH             173871930048                Gas           Gov. Aggregation   COH             150707640347                Gas           Gov. Aggregation
COH             192322410010                Gas           Gov. Aggregation   COH             203220100026                Gas           Gov. Aggregation
COH             156247920035                Gas           Gov. Aggregation   COH             201158480040                Gas           Gov. Aggregation
COH             142602610050                Gas           Gov. Aggregation   COH             192265750119                Gas           Gov. Aggregation
COH             192803080010                Gas           Gov. Aggregation   COH             209015310012                Gas           Gov. Aggregation
COH             189193150033                Gas           Gov. Aggregation   COH             112005040070                Gas           Gov. Aggregation
COH             131638790015                Gas           Gov. Aggregation   COH             196591360045                Gas           Gov. Aggregation
COH             149689930045                Gas           Gov. Aggregation   COH             207668890010                Gas           Gov. Aggregation
COH             193765930012                Gas           Gov. Aggregation   COH             205384660012                Gas           Gov. Aggregation
COH             197588170014                Gas           Gov. Aggregation   COH             154196690044                Gas           Gov. Aggregation
COH             196034000013                Gas           Gov. Aggregation   COH             204559570011                Gas           Gov. Aggregation
COH             174244370035                Gas           Gov. Aggregation   COH             203748970035                Gas           Gov. Aggregation
COH             196686100011                Gas           Gov. Aggregation   COH             169919190020                Gas           Gov. Aggregation
COH             196307640010                Gas           Gov. Aggregation   COH             209012440011                Gas           Gov. Aggregation
COH             194936710014                Gas           Gov. Aggregation   COH             207104560031                Gas           Gov. Aggregation
COH             133745720010                Gas           Gov. Aggregation   COH             205410970047                Gas           Gov. Aggregation
COH             168293240019                Gas           Gov. Aggregation   COH             188044600089                Gas           Gov. Aggregation
COH             196857690015                Gas           Gov. Aggregation   COH             209472780016                Gas           Gov. Aggregation
COH             175930560039                Gas           Gov. Aggregation   COH             206954550015                Gas           Gov. Aggregation
COH             197680090015                Gas           Gov. Aggregation   COH             115056980091                Gas           Gov. Aggregation
COH             196109200012                Gas           Gov. Aggregation   COH             206503100014                Gas           Gov. Aggregation
COH             158037810013                Gas           Gov. Aggregation   COH             196130020033                Gas           Gov. Aggregation
COH             162133780010                Gas           Gov. Aggregation   COH             201330140027                Gas           Gov. Aggregation
COH             172450870026                Gas           Gov. Aggregation   COH             209137340018                Gas           Gov. Aggregation
COH             115043780018                Gas           Gov. Aggregation   COH             191430040092                Gas           Gov. Aggregation
COH             122019780010                Gas           Gov. Aggregation   COH             209421540022                Gas           Gov. Aggregation
COH             173678930075                Gas           Gov. Aggregation   COH             209268210018                Gas           Gov. Aggregation
COH             173690360015                Gas           Gov. Aggregation   COH             187725880033                Gas           Gov. Aggregation
COH             197922100018                Gas           Gov. Aggregation   COH             205600710011                Gas           Gov. Aggregation
COH             198100790015                Gas           Gov. Aggregation   COH             208615420018                Gas           Gov. Aggregation
DUKE            2770052120                  Gas           Gov. Aggregation   COH             205374560014                Gas           Gov. Aggregation
VEDO            4004291802432560            Gas           Gov. Aggregation   COH             206735700026                Gas           Gov. Aggregation
VEDO            4003173942313261            Gas           Gov. Aggregation   COH             197445820073                Gas           Gov. Aggregation
VEDO            4001355882632623            Gas           Gov. Aggregation   COH             209043780033                Gas           Gov. Aggregation
VEDO            4003455702342645            Gas           Gov. Aggregation   COH             194027370040                Gas           Gov. Aggregation
VEDO            4004350262365872            Gas           Gov. Aggregation   COH             207794380010                Gas           Gov. Aggregation
VEDO            4001706472166540            Gas           Gov. Aggregation   COH             208083340014                Gas           Gov. Aggregation
COH             173889200044                Gas           Gov. Aggregation   COH             201160480036                Gas           Gov. Aggregation
COH             205534430011                Gas           Gov. Aggregation   COH             157435720073                Gas           Gov. Aggregation
COH             206592940011                Gas           Gov. Aggregation   COH             130261590197                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             198685910011                Gas           Gov. Aggregation   COH             194558240033                Gas           Gov. Aggregation
COH             200722930012                Gas           Gov. Aggregation   COH             200075150046                Gas           Gov. Aggregation
COH             140767800027                Gas           Gov. Aggregation   COH             143034350264                Gas           Gov. Aggregation
COH             208179500017                Gas           Gov. Aggregation   COH             209080440018                Gas           Gov. Aggregation
COH             205200370011                Gas           Gov. Aggregation   COH             205852550012                Gas           Gov. Aggregation
COH             165199660050                Gas           Gov. Aggregation   COH             203133380069                Gas           Gov. Aggregation
COH             172419450011                Gas           Gov. Aggregation   COH             208703830015                Gas           Gov. Aggregation
COH             206726040015                Gas           Gov. Aggregation   COH             208431294263                Gas           Gov. Aggregation
COH             207636600017                Gas           Gov. Aggregation   COH             208537350019                Gas           Gov. Aggregation
COH             204995150015                Gas           Gov. Aggregation   COH             208251380019                Gas           Gov. Aggregation
COH             205449010010                Gas           Gov. Aggregation   COH             207167320011                Gas           Gov. Aggregation
COH             207535920014                Gas           Gov. Aggregation   COH             207566140013                Gas           Gov. Aggregation
COH             203580000034                Gas           Gov. Aggregation   COH             209305940015                Gas           Gov. Aggregation
COH             200191030036                Gas           Gov. Aggregation   COH             209362720011                Gas           Gov. Aggregation
COH             208461330014                Gas           Gov. Aggregation   COH             186415800055                Gas           Gov. Aggregation
COH             157414610025                Gas           Gov. Aggregation   COH             109447670095                Gas           Gov. Aggregation
COH             201483370026                Gas           Gov. Aggregation   COH             205852540014                Gas           Gov. Aggregation
COH             204007520029                Gas           Gov. Aggregation   COH             203396250024                Gas           Gov. Aggregation
COH             111142530345                Gas           Gov. Aggregation   COH             115052720057                Gas           Gov. Aggregation
COH             111142530407                Gas           Gov. Aggregation   COH             171577510051                Gas           Gov. Aggregation
COH             175296900015                Gas           Gov. Aggregation   COH             209277350010                Gas           Gov. Aggregation
COH             195123790369                Gas           Gov. Aggregation   COH             207385550011                Gas           Gov. Aggregation
COH             205611220011                Gas           Gov. Aggregation   COH             194797400060                Gas           Gov. Aggregation
COH             157414610034                Gas           Gov. Aggregation   COH             208551570013                Gas           Gov. Aggregation
COH             202610280032                Gas           Gov. Aggregation   COH             199758750046                Gas           Gov. Aggregation
COH             192574360054                Gas           Gov. Aggregation   COH             206313630016                Gas           Gov. Aggregation
COH             206779800014                Gas           Gov. Aggregation   COH             205847550013                Gas           Gov. Aggregation
COH             204251680029                Gas           Gov. Aggregation   COH             195625740025                Gas           Gov. Aggregation
COH             166542530084                Gas           Gov. Aggregation   COH             195302080037                Gas           Gov. Aggregation
COH             203238560023                Gas           Gov. Aggregation   COH             208978900019                Gas           Gov. Aggregation
COH             145703390087                Gas           Gov. Aggregation   COH             205877190016                Gas           Gov. Aggregation
COH             205850020017                Gas           Gov. Aggregation   COH             131660510061                Gas           Gov. Aggregation
COH             206277660018                Gas           Gov. Aggregation   COH             207821710011                Gas           Gov. Aggregation
COH             206544850011                Gas           Gov. Aggregation   COH             186844260032                Gas           Gov. Aggregation
COH             208264840015                Gas           Gov. Aggregation   COH             207597930012                Gas           Gov. Aggregation
COH             204930570013                Gas           Gov. Aggregation   COH             185814400054                Gas           Gov. Aggregation
COH             208504960010                Gas           Gov. Aggregation   COH             209019150018                Gas           Gov. Aggregation
COH             206238010016                Gas           Gov. Aggregation   COH             209420500013                Gas           Gov. Aggregation
COH             207014200019                Gas           Gov. Aggregation   COH             205394790050                Gas           Gov. Aggregation
COH             160046500024                Gas           Gov. Aggregation   COH             139334950026                Gas           Gov. Aggregation
COH             185759110071                Gas           Gov. Aggregation   COH             204968520023                Gas           Gov. Aggregation
COH             174828920086                Gas           Gov. Aggregation   COH             201157950034                Gas           Gov. Aggregation
COH             206372900015                Gas           Gov. Aggregation   COH             209246280038                Gas           Gov. Aggregation
COH             208179460016                Gas           Gov. Aggregation   COH             205446300015                Gas           Gov. Aggregation
COH             207851320010                Gas           Gov. Aggregation   COH             147556700939                Gas           Gov. Aggregation
COH             199189750025                Gas           Gov. Aggregation   COH             208599820047                Gas           Gov. Aggregation
COH             201189920024                Gas           Gov. Aggregation   COH             209283810010                Gas           Gov. Aggregation
COH             186048240025                Gas           Gov. Aggregation   COH             202288890039                Gas           Gov. Aggregation
COH             111064460015                Gas           Gov. Aggregation   COH             159143760036                Gas           Gov. Aggregation
COH             206342930012                Gas           Gov. Aggregation   COH             207113580010                Gas           Gov. Aggregation
COH             187010180026                Gas           Gov. Aggregation   COH             206591370013                Gas           Gov. Aggregation
COH             201883830030                Gas           Gov. Aggregation   COH             190706250058                Gas           Gov. Aggregation
COH             207636590010                Gas           Gov. Aggregation   COH             198729170059                Gas           Gov. Aggregation
COH             204661930018                Gas           Gov. Aggregation   COH             208447440011                Gas           Gov. Aggregation
COH             195589770054                Gas           Gov. Aggregation   COH             207383630027                Gas           Gov. Aggregation
COH             190120260049                Gas           Gov. Aggregation   COH             209154970010                Gas           Gov. Aggregation
COH             204890570019                Gas           Gov. Aggregation   COH             205862320055                Gas           Gov. Aggregation
COH             185683180103                Gas           Gov. Aggregation   COH             208421610019                Gas           Gov. Aggregation
COH             122782650083                Gas           Gov. Aggregation   COH             207532430013                Gas           Gov. Aggregation
COH             206183940018                Gas           Gov. Aggregation   COH             208846720016                Gas           Gov. Aggregation
COH             194982370082                Gas           Gov. Aggregation   COH             205688800018                Gas           Gov. Aggregation
COH             205494130010                Gas           Gov. Aggregation   COH             173699590091                Gas           Gov. Aggregation
COH             204506900030                Gas           Gov. Aggregation   COH             209027980017                Gas           Gov. Aggregation
COH             204811540020                Gas           Gov. Aggregation   COH             114985170039                Gas           Gov. Aggregation
COH             198039180032                Gas           Gov. Aggregation   COH             119905090039                Gas           Gov. Aggregation
COH             112031310041                Gas           Gov. Aggregation   COH             201739850095                Gas           Gov. Aggregation
COH             198606760046                Gas           Gov. Aggregation   COH             199871580033                Gas           Gov. Aggregation
COH             205115370012                Gas           Gov. Aggregation   COH             207505860010                Gas           Gov. Aggregation
COH             203527080030                Gas           Gov. Aggregation   COH             207519740034                Gas           Gov. Aggregation
COH             204088390036                Gas           Gov. Aggregation   COH             208967890015                Gas           Gov. Aggregation
COH             200479040016                Gas           Gov. Aggregation   COH             114893770029                Gas           Gov. Aggregation
COH             139936480010                Gas           Gov. Aggregation   COH             151366050059                Gas           Gov. Aggregation
COH             208655580011                Gas           Gov. Aggregation   COH             185434840058                Gas           Gov. Aggregation
COH             207985420016                Gas           Gov. Aggregation   COH             174663060069                Gas           Gov. Aggregation
COH             207567460014                Gas           Gov. Aggregation   COH             209418520014                Gas           Gov. Aggregation
COH             205694750034                Gas           Gov. Aggregation   COH             204446550032                Gas           Gov. Aggregation
COH             206409360010                Gas           Gov. Aggregation   COH             149012870103                Gas           Gov. Aggregation
COH             207270500014                Gas           Gov. Aggregation   COH             203622800027                Gas           Gov. Aggregation
COH             201897600039                Gas           Gov. Aggregation   COH             191548650040                Gas           Gov. Aggregation
COH             205953090015                Gas           Gov. Aggregation   COH             207470730012                Gas           Gov. Aggregation
COH             198664130028                Gas           Gov. Aggregation   COH             207335990256                Gas           Gov. Aggregation
COH             207999450011                Gas           Gov. Aggregation   COH             207927630014                Gas           Gov. Aggregation
COH             111902980090                Gas           Gov. Aggregation   COH             196506780037                Gas           Gov. Aggregation
COH             139051590022                Gas           Gov. Aggregation   COH             207137780018                Gas           Gov. Aggregation
COH             207263460018                Gas           Gov. Aggregation   COH             206487890015                Gas           Gov. Aggregation
COH             111045410015                Gas           Gov. Aggregation   COH             205856330010                Gas           Gov. Aggregation
COH             208643890011                Gas           Gov. Aggregation   COH             188019360752                Gas           Gov. Aggregation
COH             207750130014                Gas           Gov. Aggregation   COH             209231500014                Gas           Gov. Aggregation
COH             153772920035                Gas           Gov. Aggregation   COH             116218210113                Gas           Gov. Aggregation
COH             205401280014                Gas           Gov. Aggregation   COH             205847540015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             127126220042                Gas           Gov. Aggregation   COH             171213360062                Gas           Gov. Aggregation
COH             206671940022                Gas           Gov. Aggregation   COH             208670980015                Gas           Gov. Aggregation
COH             207754110010                Gas           Gov. Aggregation   COH             175569920058                Gas           Gov. Aggregation
COH             190897780045                Gas           Gov. Aggregation   COH             207209220012                Gas           Gov. Aggregation
COH             205715560010                Gas           Gov. Aggregation   COH             208675870018                Gas           Gov. Aggregation
COH             205146780011                Gas           Gov. Aggregation   COH             198111460066                Gas           Gov. Aggregation
COH             208875470018                Gas           Gov. Aggregation   COH             200212050134                Gas           Gov. Aggregation
COH             194035480013                Gas           Gov. Aggregation   COH             208967920018                Gas           Gov. Aggregation
COH             206933860014                Gas           Gov. Aggregation   COH             208881920010                Gas           Gov. Aggregation
COH             155660260039                Gas           Gov. Aggregation   COH             175402070451                Gas           Gov. Aggregation
COH             137848780123                Gas           Gov. Aggregation   COH             114983600041                Gas           Gov. Aggregation
COH             192732960061                Gas           Gov. Aggregation   COH             198731090060                Gas           Gov. Aggregation
COH             187715120042                Gas           Gov. Aggregation   COH             208902310012                Gas           Gov. Aggregation
COH             205654590014                Gas           Gov. Aggregation   COH             114921550024                Gas           Gov. Aggregation
COH             205432420019                Gas           Gov. Aggregation   COH             206017870014                Gas           Gov. Aggregation
COH             208417410010                Gas           Gov. Aggregation   COH             194580700020                Gas           Gov. Aggregation
COH             207624810018                Gas           Gov. Aggregation   COH             186617890040                Gas           Gov. Aggregation
COH             175698480110                Gas           Gov. Aggregation   COH             207008310019                Gas           Gov. Aggregation
COH             206617190015                Gas           Gov. Aggregation   COH             208248950016                Gas           Gov. Aggregation
COH             192106560035                Gas           Gov. Aggregation   COH             206565510018                Gas           Gov. Aggregation
COH             154127050043                Gas           Gov. Aggregation   COH             206377290014                Gas           Gov. Aggregation
COH             111045160018                Gas           Gov. Aggregation   COH             205220680023                Gas           Gov. Aggregation
COH             208520190018                Gas           Gov. Aggregation   COH             169047400024                Gas           Gov. Aggregation
COH             146452170058                Gas           Gov. Aggregation   COH             160165610047                Gas           Gov. Aggregation
COH             200398720042                Gas           Gov. Aggregation   COH             207280880014                Gas           Gov. Aggregation
COH             204675160011                Gas           Gov. Aggregation   COH             209151030013                Gas           Gov. Aggregation
COH             207166120015                Gas           Gov. Aggregation   COH             198721710033                Gas           Gov. Aggregation
COH             196994210051                Gas           Gov. Aggregation   COH             196711660199                Gas           Gov. Aggregation
COH             206032370017                Gas           Gov. Aggregation   COH             147097090138                Gas           Gov. Aggregation
COH             206698300011                Gas           Gov. Aggregation   COH             173865980112                Gas           Gov. Aggregation
COH             208477690016                Gas           Gov. Aggregation   COH             201650840031                Gas           Gov. Aggregation
COH             111035410016                Gas           Gov. Aggregation   COH             191015560039                Gas           Gov. Aggregation
COH             206384540016                Gas           Gov. Aggregation   COH             205502580017                Gas           Gov. Aggregation
COH             206409280017                Gas           Gov. Aggregation   COH             197165180045                Gas           Gov. Aggregation
COH             204985030039                Gas           Gov. Aggregation   COH             207896770012                Gas           Gov. Aggregation
COH             192330870071                Gas           Gov. Aggregation   COH             149007760018                Gas           Gov. Aggregation
COH             204985030011                Gas           Gov. Aggregation   COH             137846220053                Gas           Gov. Aggregation
COH             206718260016                Gas           Gov. Aggregation   COH             162257620351                Gas           Gov. Aggregation
COH             207320170035                Gas           Gov. Aggregation   COH             203851800031                Gas           Gov. Aggregation
COH             111102330118                Gas           Gov. Aggregation   COH             201167430069                Gas           Gov. Aggregation
COH             162853940056                Gas           Gov. Aggregation   COH             170900440032                Gas           Gov. Aggregation
COH             204538950024                Gas           Gov. Aggregation   COH             206421120014                Gas           Gov. Aggregation
COH             206346960018                Gas           Gov. Aggregation   COH             199444200037                Gas           Gov. Aggregation
COH             191906180067                Gas           Gov. Aggregation   COH             192027430058                Gas           Gov. Aggregation
COH             207934290011                Gas           Gov. Aggregation   COH             207944980015                Gas           Gov. Aggregation
COH             208049750010                Gas           Gov. Aggregation   COH             207393950010                Gas           Gov. Aggregation
COH             111075480072                Gas           Gov. Aggregation   COH             193600560045                Gas           Gov. Aggregation
COH             166726310017                Gas           Gov. Aggregation   COH             206714730015                Gas           Gov. Aggregation
COH             205386270038                Gas           Gov. Aggregation   COH             207473600013                Gas           Gov. Aggregation
COH             207552030015                Gas           Gov. Aggregation   COH             168059640020                Gas           Gov. Aggregation
COH             155204710147                Gas           Gov. Aggregation   COH             195635790024                Gas           Gov. Aggregation
COH             155204710165                Gas           Gov. Aggregation   COH             193629060068                Gas           Gov. Aggregation
COH             205665030036                Gas           Gov. Aggregation   COH             168893100025                Gas           Gov. Aggregation
COH             208775330019                Gas           Gov. Aggregation   COH             132423480041                Gas           Gov. Aggregation
COH             207183250030                Gas           Gov. Aggregation   COH             199003580078                Gas           Gov. Aggregation
COH             208638560011                Gas           Gov. Aggregation   COH             191341040037                Gas           Gov. Aggregation
COH             121873800052                Gas           Gov. Aggregation   COH             206097010016                Gas           Gov. Aggregation
COH             208504260017                Gas           Gov. Aggregation   COH             208010560011                Gas           Gov. Aggregation
COH             192732960052                Gas           Gov. Aggregation   COH             208830930015                Gas           Gov. Aggregation
COH             205521480018                Gas           Gov. Aggregation   COH             208576640016                Gas           Gov. Aggregation
COH             160462470065                Gas           Gov. Aggregation   COH             208795520017                Gas           Gov. Aggregation
COH             207624850010                Gas           Gov. Aggregation   COH             207543930015                Gas           Gov. Aggregation
COH             207624840012                Gas           Gov. Aggregation   COH             209351610017                Gas           Gov. Aggregation
COH             200158550037                Gas           Gov. Aggregation   COH             153990700646                Gas           Gov. Aggregation
COH             134911660046                Gas           Gov. Aggregation   COH             206526590014                Gas           Gov. Aggregation
COH             152087500019                Gas           Gov. Aggregation   COH             152191640055                Gas           Gov. Aggregation
COH             206413600010                Gas           Gov. Aggregation   COH             205933580014                Gas           Gov. Aggregation
COH             206141720030                Gas           Gov. Aggregation   COH             203342130013                Gas           Gov. Aggregation
COH             168794330063                Gas           Gov. Aggregation   COH             174774630046                Gas           Gov. Aggregation
COH             175474190035                Gas           Gov. Aggregation   COH             195176220018                Gas           Gov. Aggregation
COH             197880760047                Gas           Gov. Aggregation   COH             200278540035                Gas           Gov. Aggregation
COH             206342940010                Gas           Gov. Aggregation   COH             208067600013                Gas           Gov. Aggregation
COH             208546780010                Gas           Gov. Aggregation   COH             208897410014                Gas           Gov. Aggregation
COH             206323330027                Gas           Gov. Aggregation   COH             209524940011                Gas           Gov. Aggregation
COH             204995160013                Gas           Gov. Aggregation   COH             206020260015                Gas           Gov. Aggregation
COH             201883860196                Gas           Gov. Aggregation   COH             199944450035                Gas           Gov. Aggregation
COH             204907180014                Gas           Gov. Aggregation   COH             206491200010                Gas           Gov. Aggregation
COH             208353860012                Gas           Gov. Aggregation   COH             207423590011                Gas           Gov. Aggregation
COH             208700980010                Gas           Gov. Aggregation   COH             187958270065                Gas           Gov. Aggregation
COH             204661940016                Gas           Gov. Aggregation   COH             163447820051                Gas           Gov. Aggregation
COH             157417610056                Gas           Gov. Aggregation   COH             157857470027                Gas           Gov. Aggregation
COH             205247270014                Gas           Gov. Aggregation   COH             207807630018                Gas           Gov. Aggregation
COH             205691240019                Gas           Gov. Aggregation   COH             139522280064                Gas           Gov. Aggregation
COH             176579160065                Gas           Gov. Aggregation   COH             206702140014                Gas           Gov. Aggregation
COH             199521310030                Gas           Gov. Aggregation   COH             114979780525                Gas           Gov. Aggregation
COH             205912640015                Gas           Gov. Aggregation   COH             200350990037                Gas           Gov. Aggregation
COH             206497550024                Gas           Gov. Aggregation   COH             208971360017                Gas           Gov. Aggregation
COH             208533470012                Gas           Gov. Aggregation   COH             198910180034                Gas           Gov. Aggregation
COH             207766400014                Gas           Gov. Aggregation   COH             205419190016                Gas           Gov. Aggregation
COH             174312020097                Gas           Gov. Aggregation   COH             206077260016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             207964760019                Gas           Gov. Aggregation   COH             190718800020                Gas           Gov. Aggregation
COH             202447820035                Gas           Gov. Aggregation   COH             205814030011                Gas           Gov. Aggregation
COH             203460260025                Gas           Gov. Aggregation   COH             169592570079                Gas           Gov. Aggregation
COH             208912950017                Gas           Gov. Aggregation   COH             209345900019                Gas           Gov. Aggregation
COH             207999460019                Gas           Gov. Aggregation   COH             115074690021                Gas           Gov. Aggregation
COH             111078710013                Gas           Gov. Aggregation   COH             205913180038                Gas           Gov. Aggregation
COH             207204530017                Gas           Gov. Aggregation   COH             207222290010                Gas           Gov. Aggregation
COH             204862900018                Gas           Gov. Aggregation   COH             204658960028                Gas           Gov. Aggregation
COH             157037260127                Gas           Gov. Aggregation   COH             205913180010                Gas           Gov. Aggregation
COH             207455200015                Gas           Gov. Aggregation   COH             206863520014                Gas           Gov. Aggregation
COH             207247490016                Gas           Gov. Aggregation   COH             134730950021                Gas           Gov. Aggregation
COH             206793360017                Gas           Gov. Aggregation   COH             114958260019                Gas           Gov. Aggregation
COH             171230990073                Gas           Gov. Aggregation   COH             208056380013                Gas           Gov. Aggregation
COH             194222600029                Gas           Gov. Aggregation   COH             207519580010                Gas           Gov. Aggregation
COH             207841000018                Gas           Gov. Aggregation   COH             203186740035                Gas           Gov. Aggregation
COH             139123880046                Gas           Gov. Aggregation   COH             207149130019                Gas           Gov. Aggregation
COH             167545060031                Gas           Gov. Aggregation   COH             200544660035                Gas           Gov. Aggregation
COH             206918180019                Gas           Gov. Aggregation   COH             203196600033                Gas           Gov. Aggregation
COH             204985030048                Gas           Gov. Aggregation   COH             208803840011                Gas           Gov. Aggregation
COH             171567200128                Gas           Gov. Aggregation   COH             193549210048                Gas           Gov. Aggregation
COH             194563730057                Gas           Gov. Aggregation   COH             206658210041                Gas           Gov. Aggregation
COH             202596040034                Gas           Gov. Aggregation   COH             208923200011                Gas           Gov. Aggregation
COH             190403420027                Gas           Gov. Aggregation   COH             188019360574                Gas           Gov. Aggregation
COH             202621160043                Gas           Gov. Aggregation   COH             174643950037                Gas           Gov. Aggregation
COH             138920920075                Gas           Gov. Aggregation   COH             209197630011                Gas           Gov. Aggregation
COH             206585580012                Gas           Gov. Aggregation   COH             208699670010                Gas           Gov. Aggregation
COH             208455300013                Gas           Gov. Aggregation   COH             188019360636                Gas           Gov. Aggregation
COH             207345010018                Gas           Gov. Aggregation   COH             208881900014                Gas           Gov. Aggregation
COH             198255790027                Gas           Gov. Aggregation   COH             196665060032                Gas           Gov. Aggregation
COH             206603840017                Gas           Gov. Aggregation   COH             204250250021                Gas           Gov. Aggregation
COH             190854600015                Gas           Gov. Aggregation   COH             203436800040                Gas           Gov. Aggregation
COH             203966750011                Gas           Gov. Aggregation   COH             202467770052                Gas           Gov. Aggregation
COH             190541230034                Gas           Gov. Aggregation   COH             207429860012                Gas           Gov. Aggregation
COH             208520260013                Gas           Gov. Aggregation   COH             207335990194                Gas           Gov. Aggregation
COH             191380490120                Gas           Gov. Aggregation   COH             204890490025                Gas           Gov. Aggregation
COH             157788310036                Gas           Gov. Aggregation   COH             162165460136                Gas           Gov. Aggregation
COH             161246310010                Gas           Gov. Aggregation   COH             209517710014                Gas           Gov. Aggregation
COH             111100240013                Gas           Gov. Aggregation   COH             173351670054                Gas           Gov. Aggregation
COH             205529280014                Gas           Gov. Aggregation   COH             201525510035                Gas           Gov. Aggregation
COH             206665910012                Gas           Gov. Aggregation   COH             208638330019                Gas           Gov. Aggregation
COH             207204560011                Gas           Gov. Aggregation   COH             172316740063                Gas           Gov. Aggregation
COH             207646370015                Gas           Gov. Aggregation   COH             209339930016                Gas           Gov. Aggregation
COH             208623120014                Gas           Gov. Aggregation   COH             209379800019                Gas           Gov. Aggregation
COH             204667220015                Gas           Gov. Aggregation   COH             209510000017                Gas           Gov. Aggregation
COH             204577930026                Gas           Gov. Aggregation   COH             208769630019                Gas           Gov. Aggregation
COH             191985270017                Gas           Gov. Aggregation   COH             186241000089                Gas           Gov. Aggregation
COH             195573870010                Gas           Gov. Aggregation   COH             206040970032                Gas           Gov. Aggregation
COH             111100510016                Gas           Gov. Aggregation   COH             148101150062                Gas           Gov. Aggregation
COH             133519500015                Gas           Gov. Aggregation   COH             208910500015                Gas           Gov. Aggregation
COH             132155560025                Gas           Gov. Aggregation   COH             198137250066                Gas           Gov. Aggregation
COH             195045910038                Gas           Gov. Aggregation   COH             207714460011                Gas           Gov. Aggregation
COH             159751580017                Gas           Gov. Aggregation   COH             193756260021                Gas           Gov. Aggregation
COH             208370440014                Gas           Gov. Aggregation   COH             114919530014                Gas           Gov. Aggregation
COH             205350340010                Gas           Gov. Aggregation   COH             208368050011                Gas           Gov. Aggregation
COH             208546900014                Gas           Gov. Aggregation   COH             209465540011                Gas           Gov. Aggregation
COH             206277700019                Gas           Gov. Aggregation   COH             207620880012                Gas           Gov. Aggregation
COH             208927920012                Gas           Gov. Aggregation   COH             136350130072                Gas           Gov. Aggregation
COH             208879380019                Gas           Gov. Aggregation   COH             148160460045                Gas           Gov. Aggregation
COH             206287990018                Gas           Gov. Aggregation   COH             174073730023                Gas           Gov. Aggregation
COH             208266250015                Gas           Gov. Aggregation   COH             208647470011                Gas           Gov. Aggregation
COH             200735670038                Gas           Gov. Aggregation   COH             206591370059                Gas           Gov. Aggregation
COH             205171620011                Gas           Gov. Aggregation   COH             208846360030                Gas           Gov. Aggregation
COH             206124890022                Gas           Gov. Aggregation   COH             170466980031                Gas           Gov. Aggregation
COH             205243640014                Gas           Gov. Aggregation   COH             209013370014                Gas           Gov. Aggregation
COH             111064860011                Gas           Gov. Aggregation   COH             209087140017                Gas           Gov. Aggregation
COH             201231630033                Gas           Gov. Aggregation   COH             192844960055                Gas           Gov. Aggregation
COH             205747960019                Gas           Gov. Aggregation   COH             128846200076                Gas           Gov. Aggregation
COH             205821550017                Gas           Gov. Aggregation   COH             196051150016                Gas           Gov. Aggregation
COH             169086750065                Gas           Gov. Aggregation   COH             206591370111                Gas           Gov. Aggregation
COH             139312760595                Gas           Gov. Aggregation   COH             172295860046                Gas           Gov. Aggregation
COH             207455210013                Gas           Gov. Aggregation   COH             114965370048                Gas           Gov. Aggregation
COH             204781210015                Gas           Gov. Aggregation   COH             205947290016                Gas           Gov. Aggregation
COH             197355140040                Gas           Gov. Aggregation   COH             193117490054                Gas           Gov. Aggregation
COH             208520230019                Gas           Gov. Aggregation   COH             209260460012                Gas           Gov. Aggregation
COH             194990080022                Gas           Gov. Aggregation   COH             176059370161                Gas           Gov. Aggregation
COH             196672720047                Gas           Gov. Aggregation   COH             188455450071                Gas           Gov. Aggregation
COH             208477670010                Gas           Gov. Aggregation   COH             205380610010                Gas           Gov. Aggregation
COH             205662130013                Gas           Gov. Aggregation   COH             208514480010                Gas           Gov. Aggregation
COH             203834650020                Gas           Gov. Aggregation   COH             208628450015                Gas           Gov. Aggregation
COH             205039320014                Gas           Gov. Aggregation   COH             208749240013                Gas           Gov. Aggregation
COH             177107320023                Gas           Gov. Aggregation   COH             200078410036                Gas           Gov. Aggregation
COH             208087720016                Gas           Gov. Aggregation   COH             205660600036                Gas           Gov. Aggregation
COH             207068530017                Gas           Gov. Aggregation   COH             177139220027                Gas           Gov. Aggregation
COH             156422240143                Gas           Gov. Aggregation   COH             114885720053                Gas           Gov. Aggregation
COH             159186880479                Gas           Gov. Aggregation   COH             189191470049                Gas           Gov. Aggregation
COH             208788880017                Gas           Gov. Aggregation   COH             207860870016                Gas           Gov. Aggregation
COH             111086270028                Gas           Gov. Aggregation   COH             209375260011                Gas           Gov. Aggregation
COH             207313520018                Gas           Gov. Aggregation   COH             207939250779                Gas           Gov. Aggregation
COH             208853810012                Gas           Gov. Aggregation   COH             205429620032                Gas           Gov. Aggregation
COH             167038560095                Gas           Gov. Aggregation   COH             202701790032                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             167038560102                Gas           Gov. Aggregation   COH             206363670013                Gas           Gov. Aggregation
COH             197752080032                Gas           Gov. Aggregation   COH             208692830029                Gas           Gov. Aggregation
COH             206758590013                Gas           Gov. Aggregation   COH             207718390018                Gas           Gov. Aggregation
COH             154415800026                Gas           Gov. Aggregation   COH             148884970035                Gas           Gov. Aggregation
COH             208729080019                Gas           Gov. Aggregation   COH             208241410013                Gas           Gov. Aggregation
COH             205554360014                Gas           Gov. Aggregation   COH             204409010024                Gas           Gov. Aggregation
COH             199160790018                Gas           Gov. Aggregation   COH             196052040026                Gas           Gov. Aggregation
COH             140380861775                Gas           Gov. Aggregation   COH             200345570036                Gas           Gov. Aggregation
COH             173440640015                Gas           Gov. Aggregation   COH             205542010012                Gas           Gov. Aggregation
COH             158626630030                Gas           Gov. Aggregation   COH             208501760018                Gas           Gov. Aggregation
COH             174634190063                Gas           Gov. Aggregation   COH             204933670025                Gas           Gov. Aggregation
COH             177795670078                Gas           Gov. Aggregation   COH             169915840165                Gas           Gov. Aggregation
COH             196533710070                Gas           Gov. Aggregation   COH             164516470020                Gas           Gov. Aggregation
COH             200218210049                Gas           Gov. Aggregation   COH             190797120054                Gas           Gov. Aggregation
COH             204804990030                Gas           Gov. Aggregation   COH             201603190046                Gas           Gov. Aggregation
COH             207387890034                Gas           Gov. Aggregation   COH             208061190012                Gas           Gov. Aggregation
COH             207407520019                Gas           Gov. Aggregation   COH             201535850015                Gas           Gov. Aggregation
COH             207436740012                Gas           Gov. Aggregation   COH             149791320126                Gas           Gov. Aggregation
COH             207460260012                Gas           Gov. Aggregation   COH             208583230017                Gas           Gov. Aggregation
COH             207507060014                Gas           Gov. Aggregation   COH             167359670074                Gas           Gov. Aggregation
COH             207521730013                Gas           Gov. Aggregation   COH             150707640356                Gas           Gov. Aggregation
COH             207540930011                Gas           Gov. Aggregation   COH             150707640392                Gas           Gov. Aggregation
COH             207584010012                Gas           Gov. Aggregation   COH             200183050075                Gas           Gov. Aggregation
COH             208711130015                Gas           Gov. Aggregation   COH             209459470019                Gas           Gov. Aggregation
COH             208719460010                Gas           Gov. Aggregation   COH             160908150093                Gas           Gov. Aggregation
COH             164049480029                Gas           Gov. Aggregation   COH             198552000031                Gas           Gov. Aggregation
COH             207695810019                Gas           Gov. Aggregation   COH             202331140033                Gas           Gov. Aggregation
COH             207205460010                Gas           Gov. Aggregation   COH             186191910085                Gas           Gov. Aggregation
COH             200994880018                Gas           Gov. Aggregation   COH             207163830012                Gas           Gov. Aggregation
COH             199523260019                Gas           Gov. Aggregation   COH             129782640042                Gas           Gov. Aggregation
COH             207706590011                Gas           Gov. Aggregation   COH             207748610018                Gas           Gov. Aggregation
COH             207383440018                Gas           Gov. Aggregation   COH             114896850026                Gas           Gov. Aggregation
COH             208251030012                Gas           Gov. Aggregation   COH             206767840011                Gas           Gov. Aggregation
COH             206724200015                Gas           Gov. Aggregation   COH             206573590015                Gas           Gov. Aggregation
COH             190148220049                Gas           Gov. Aggregation   COH             197316240050                Gas           Gov. Aggregation
COH             195212680023                Gas           Gov. Aggregation   COH             206556970011                Gas           Gov. Aggregation
COH             206459800012                Gas           Gov. Aggregation   COH             209449370011                Gas           Gov. Aggregation
COH             204909020022                Gas           Gov. Aggregation   COH             164932790245                Gas           Gov. Aggregation
COH             133722960054                Gas           Gov. Aggregation   COH             195741080037                Gas           Gov. Aggregation
COH             208682780012                Gas           Gov. Aggregation   COH             207884410012                Gas           Gov. Aggregation
COH             208178610016                Gas           Gov. Aggregation   COH             149787700027                Gas           Gov. Aggregation
COH             207583640012                Gas           Gov. Aggregation   COH             176994210046                Gas           Gov. Aggregation
COH             207165880018                Gas           Gov. Aggregation   COH             209296830019                Gas           Gov. Aggregation
COH             208099060010                Gas           Gov. Aggregation   COH             188342290056                Gas           Gov. Aggregation
COH             208119490025                Gas           Gov. Aggregation   COH             130918880031                Gas           Gov. Aggregation
COH             208625960014                Gas           Gov. Aggregation   COH             208089030017                Gas           Gov. Aggregation
COH             209047270014                Gas           Gov. Aggregation   COH             201650840059                Gas           Gov. Aggregation
COH             208640520014                Gas           Gov. Aggregation   COH             207531430015                Gas           Gov. Aggregation
COH             208226520012                Gas           Gov. Aggregation   COH             205648360015                Gas           Gov. Aggregation
COH             208616720013                Gas           Gov. Aggregation   COH             202813110037                Gas           Gov. Aggregation
COH             208647990012                Gas           Gov. Aggregation   COH             175888900038                Gas           Gov. Aggregation
COH             207600660010                Gas           Gov. Aggregation   COH             203633630039                Gas           Gov. Aggregation
COH             147242690026                Gas           Gov. Aggregation   COH             196044120062                Gas           Gov. Aggregation
COH             188471720016                Gas           Gov. Aggregation   COH             143382470093                Gas           Gov. Aggregation
COH             207767020012                Gas           Gov. Aggregation   COH             209429350017                Gas           Gov. Aggregation
COH             156584690030                Gas           Gov. Aggregation   COH             202178740024                Gas           Gov. Aggregation
COH             208788550016                Gas           Gov. Aggregation   COH             208317900019                Gas           Gov. Aggregation
COH             177297530028                Gas           Gov. Aggregation   COH             197235760035                Gas           Gov. Aggregation
COH             117916370020                Gas           Gov. Aggregation   COH             208726330012                Gas           Gov. Aggregation
COH             207641080016                Gas           Gov. Aggregation   COH             208999300011                Gas           Gov. Aggregation
COH             199850910028                Gas           Gov. Aggregation   COH             188324870070                Gas           Gov. Aggregation
COH             200468560047                Gas           Gov. Aggregation   COH             206313610010                Gas           Gov. Aggregation
COH             185333510051                Gas           Gov. Aggregation   COH             206509690019                Gas           Gov. Aggregation
COH             207623570011                Gas           Gov. Aggregation   COH             207511650011                Gas           Gov. Aggregation
COH             208912490014                Gas           Gov. Aggregation   COH             157357130046                Gas           Gov. Aggregation
COH             207696900018                Gas           Gov. Aggregation   COH             115082560067                Gas           Gov. Aggregation
COH             208220380014                Gas           Gov. Aggregation   COH             161277380011                Gas           Gov. Aggregation
COH             194181130035                Gas           Gov. Aggregation   COH             209144610016                Gas           Gov. Aggregation
COH             147164950018                Gas           Gov. Aggregation   COH             205006550033                Gas           Gov. Aggregation
VEDO            4002990332294316            Gas           Gov. Aggregation   COH             154170350049                Gas           Gov. Aggregation
COH             192590830033                Gas           Gov. Aggregation   COH             154170350058                Gas           Gov. Aggregation
COH             207638700012                Gas           Gov. Aggregation   COH             190107360091                Gas           Gov. Aggregation
COH             117168020039                Gas           Gov. Aggregation   COH             191785650093                Gas           Gov. Aggregation
COH             140129850029                Gas           Gov. Aggregation   COH             205460370011                Gas           Gov. Aggregation
COH             175829830055                Gas           Gov. Aggregation   COH             207851640013                Gas           Gov. Aggregation
COH             185396520020                Gas           Gov. Aggregation   COH             206423280017                Gas           Gov. Aggregation
COH             198132190014                Gas           Gov. Aggregation   COH             208749270017                Gas           Gov. Aggregation
COH             198132260019                Gas           Gov. Aggregation   COH             205852570018                Gas           Gov. Aggregation
COH             198229390017                Gas           Gov. Aggregation   COH             208289690015                Gas           Gov. Aggregation
COH             198262980013                Gas           Gov. Aggregation   COH             195708200031                Gas           Gov. Aggregation
COH             195886320012                Gas           Gov. Aggregation   COH             114954460042                Gas           Gov. Aggregation
COH             197769100014                Gas           Gov. Aggregation   COH             206883800013                Gas           Gov. Aggregation
DEO             1500062473202               Gas           Gov. Aggregation   COH             176374800028                Gas           Gov. Aggregation
COH             114885460058                Gas           Gov. Aggregation   COH             206891810014                Gas           Gov. Aggregation
COH             114982610032                Gas           Gov. Aggregation   COH             153057030029                Gas           Gov. Aggregation
COH             156214145015                Gas           Gov. Aggregation   COH             114918170021                Gas           Gov. Aggregation
COH             158680550079                Gas           Gov. Aggregation   COH             204921970027                Gas           Gov. Aggregation
COH             198382930019                Gas           Gov. Aggregation   COH             206526640013                Gas           Gov. Aggregation
COH             198441100017                Gas           Gov. Aggregation   COH             206261240019                Gas           Gov. Aggregation
COH             159542050066                Gas           Gov. Aggregation   COH             135861700070                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             193198000010                Gas           Gov. Aggregation   COH             208572780015                Gas           Gov. Aggregation
COH             195812500019                Gas           Gov. Aggregation   COH             205510260017                Gas           Gov. Aggregation
COH             195017970017                Gas           Gov. Aggregation   COH             204240200022                Gas           Gov. Aggregation
COH             167603010028                Gas           Gov. Aggregation   COH             153170390024                Gas           Gov. Aggregation
COH             198515480011                Gas           Gov. Aggregation   COH             153312520060                Gas           Gov. Aggregation
COH             147993220023                Gas           Gov. Aggregation   COH             145408890024                Gas           Gov. Aggregation
COH             147686450044                Gas           Gov. Aggregation   COH             205742500015                Gas           Gov. Aggregation
COH             151672250030                Gas           Gov. Aggregation   COH             127512900095                Gas           Gov. Aggregation
COH             152117230020                Gas           Gov. Aggregation   COH             188511300018                Gas           Gov. Aggregation
COH             197517140019                Gas           Gov. Aggregation   COH             206850480010                Gas           Gov. Aggregation
COH             197698670016                Gas           Gov. Aggregation   COH             207936540014                Gas           Gov. Aggregation
COH             197814410012                Gas           Gov. Aggregation   COH             206055100015                Gas           Gov. Aggregation
COH             197790540017                Gas           Gov. Aggregation   COH             115013330015                Gas           Gov. Aggregation
COH             198714300016                Gas           Gov. Aggregation   COH             208871010012                Gas           Gov. Aggregation
COH             174941950017                Gas           Gov. Aggregation   COH             206755980017                Gas           Gov. Aggregation
COH             197853280018                Gas           Gov. Aggregation   COH             199858900033                Gas           Gov. Aggregation
COH             198263050016                Gas           Gov. Aggregation   COH             198458730029                Gas           Gov. Aggregation
COH             170557960023                Gas           Gov. Aggregation   COH             208381700016                Gas           Gov. Aggregation
COH             197009320018                Gas           Gov. Aggregation   COH             205776200017                Gas           Gov. Aggregation
COH             196697690015                Gas           Gov. Aggregation   COH             156027930057                Gas           Gov. Aggregation
COH             196127530015                Gas           Gov. Aggregation   COH             198145460047                Gas           Gov. Aggregation
COH             195960130014                Gas           Gov. Aggregation   COH             198845700024                Gas           Gov. Aggregation
COH             196886550013                Gas           Gov. Aggregation   COH             136519400193                Gas           Gov. Aggregation
COH             195931770011                Gas           Gov. Aggregation   COH             203505410027                Gas           Gov. Aggregation
COH             196741740019                Gas           Gov. Aggregation   COH             205600720019                Gas           Gov. Aggregation
COH             165479210023                Gas           Gov. Aggregation   COH             192858740089                Gas           Gov. Aggregation
COH             153596410063                Gas           Gov. Aggregation   COH             115040510038                Gas           Gov. Aggregation
COH             198759140016                Gas           Gov. Aggregation   COH             158382000021                Gas           Gov. Aggregation
COH             197815620016                Gas           Gov. Aggregation   COH             200912040025                Gas           Gov. Aggregation
COH             166606350013                Gas           Gov. Aggregation   COH             205438840028                Gas           Gov. Aggregation
COH             185868490017                Gas           Gov. Aggregation   COH             172727060038                Gas           Gov. Aggregation
COH             197002090011                Gas           Gov. Aggregation   COH             207994960023                Gas           Gov. Aggregation
COH             197473820010                Gas           Gov. Aggregation   COH             206444890015                Gas           Gov. Aggregation
COH             197168880015                Gas           Gov. Aggregation   COH             207218670019                Gas           Gov. Aggregation
COH             196784530013                Gas           Gov. Aggregation   COH             193054770031                Gas           Gov. Aggregation
COH             115678250023                Gas           Gov. Aggregation   COH             190795750047                Gas           Gov. Aggregation
COH             115846540016                Gas           Gov. Aggregation   COH             199036210030                Gas           Gov. Aggregation
COH             198733160016                Gas           Gov. Aggregation   COH             207831330010                Gas           Gov. Aggregation
COH             195039360019                Gas           Gov. Aggregation   COH             187204720058                Gas           Gov. Aggregation
COH             196250900016                Gas           Gov. Aggregation   COH             200343100038                Gas           Gov. Aggregation
COH             196160630014                Gas           Gov. Aggregation   COH             190465790048                Gas           Gov. Aggregation
VEDO            4019398082631118            Gas           Gov. Aggregation   COH             208715600018                Gas           Gov. Aggregation
VEDO            4019444332481965            Gas           Gov. Aggregation   COH             196824850029                Gas           Gov. Aggregation
VEDO            4019236202282406            Gas           Gov. Aggregation   COH             206709450033                Gas           Gov. Aggregation
VEDO            4019153642221941            Gas           Gov. Aggregation   COH             208303990010                Gas           Gov. Aggregation
VEDO            4001788762279860            Gas           Gov. Aggregation   COH             201965750051                Gas           Gov. Aggregation
VEDO            4001127392363977            Gas           Gov. Aggregation   COH             209277360018                Gas           Gov. Aggregation
VEDO            4018919982521396            Gas           Gov. Aggregation   COH             197947080039                Gas           Gov. Aggregation
VEDO            4018860482382727            Gas           Gov. Aggregation   COH             207410260017                Gas           Gov. Aggregation
VEDO            4019497022509845            Gas           Gov. Aggregation   COH             205697830013                Gas           Gov. Aggregation
VEDO            4016010282190387            Gas           Gov. Aggregation   COH             208531020010                Gas           Gov. Aggregation
VEDO            4003045012299901            Gas           Gov. Aggregation   COH             207121800016                Gas           Gov. Aggregation
VEDO            4019497832433346            Gas           Gov. Aggregation   COH             193732430034                Gas           Gov. Aggregation
VEDO            4019418502369979            Gas           Gov. Aggregation   COH             160435470062                Gas           Gov. Aggregation
VEDO            4019083062245186            Gas           Gov. Aggregation   COH             165313470029                Gas           Gov. Aggregation
COH             158046590048                Gas           Gov. Aggregation   COH             206747130021                Gas           Gov. Aggregation
COH             199553230012                Gas           Gov. Aggregation   COH             207383640016                Gas           Gov. Aggregation
COH             198740300011                Gas           Gov. Aggregation   COH             197737800078                Gas           Gov. Aggregation
COH             198661230014                Gas           Gov. Aggregation   COH             203391700056                Gas           Gov. Aggregation
COH             198107160013                Gas           Gov. Aggregation   COH             157146290068                Gas           Gov. Aggregation
COH             198107180019                Gas           Gov. Aggregation   COH             196197800039                Gas           Gov. Aggregation
COH             172080490049                Gas           Gov. Aggregation   COH             208852600027                Gas           Gov. Aggregation
COH             116253440086                Gas           Gov. Aggregation   COH             206870050018                Gas           Gov. Aggregation
COH             186425640030                Gas           Gov. Aggregation   COH             202276360035                Gas           Gov. Aggregation
COH             114907990013                Gas           Gov. Aggregation   COH             208852600018                Gas           Gov. Aggregation
COH             194412950014                Gas           Gov. Aggregation   COH             207729970013                Gas           Gov. Aggregation
COH             191270730079                Gas           Gov. Aggregation   COH             207794390018                Gas           Gov. Aggregation
COH             187250080047                Gas           Gov. Aggregation   COH             209069760015                Gas           Gov. Aggregation
COH             177218710035                Gas           Gov. Aggregation   COH             173904640066                Gas           Gov. Aggregation
COH             176980210036                Gas           Gov. Aggregation   COH             188993440046                Gas           Gov. Aggregation
COH             197196670038                Gas           Gov. Aggregation   COH             185797770117                Gas           Gov. Aggregation
COH             197468330014                Gas           Gov. Aggregation   COH             166631680057                Gas           Gov. Aggregation
COH             194973900016                Gas           Gov. Aggregation   COH             208307530036                Gas           Gov. Aggregation
COH             199836430010                Gas           Gov. Aggregation   COH             200640560096                Gas           Gov. Aggregation
COH             188019360065                Gas           Gov. Aggregation   COH             208010570019                Gas           Gov. Aggregation
COH             188019360074                Gas           Gov. Aggregation   COH             208372390011                Gas           Gov. Aggregation
COH             197534320033                Gas           Gov. Aggregation   COH             201716490026                Gas           Gov. Aggregation
COH             196974440144                Gas           Gov. Aggregation   COH             208891950013                Gas           Gov. Aggregation
COH             198717290013                Gas           Gov. Aggregation   COH             209358230013                Gas           Gov. Aggregation
COH             198717290022                Gas           Gov. Aggregation   COH             206502330018                Gas           Gov. Aggregation
COH             198929310019                Gas           Gov. Aggregation   COH             168130320123                Gas           Gov. Aggregation
COH             199259050014                Gas           Gov. Aggregation   COH             205398350018                Gas           Gov. Aggregation
COH             194191360018                Gas           Gov. Aggregation   COH             209246510011                Gas           Gov. Aggregation
COH             193803530032                Gas           Gov. Aggregation   COH             198723640052                Gas           Gov. Aggregation
COH             195403350018                Gas           Gov. Aggregation   COH             170830060040                Gas           Gov. Aggregation
COH             198899520010                Gas           Gov. Aggregation   COH             207142000038                Gas           Gov. Aggregation
COH             197758920015                Gas           Gov. Aggregation   COH             154909940084                Gas           Gov. Aggregation
COH             198089520017                Gas           Gov. Aggregation   COH             190795750065                Gas           Gov. Aggregation
COH             114979590025                Gas           Gov. Aggregation   COH             207694180014                Gas           Gov. Aggregation
COH             115016010034                Gas           Gov. Aggregation   COH             192682570051                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             172251680037                Gas           Gov. Aggregation   COH             202540080079                Gas           Gov. Aggregation
COH             197195890016                Gas           Gov. Aggregation   COH             165760380101                Gas           Gov. Aggregation
COH             194335580070                Gas           Gov. Aggregation   COH             206232450016                Gas           Gov. Aggregation
COH             194844100017                Gas           Gov. Aggregation   COH             201394260046                Gas           Gov. Aggregation
COH             195320460011                Gas           Gov. Aggregation   COH             207167370020                Gas           Gov. Aggregation
COH             199631960013                Gas           Gov. Aggregation   COH             187261650035                Gas           Gov. Aggregation
COH             190602630030                Gas           Gov. Aggregation   COH             207681520019                Gas           Gov. Aggregation
COH             199153090010                Gas           Gov. Aggregation   COH             169564990123                Gas           Gov. Aggregation
COH             199060140016                Gas           Gov. Aggregation   COH             133949200099                Gas           Gov. Aggregation
COH             198911270015                Gas           Gov. Aggregation   COH             202801910061                Gas           Gov. Aggregation
COH             197249280019                Gas           Gov. Aggregation   COH             209512280015                Gas           Gov. Aggregation
COH             196881290018                Gas           Gov. Aggregation   COH             209445640012                Gas           Gov. Aggregation
COH             197137660016                Gas           Gov. Aggregation   COH             205536930030                Gas           Gov. Aggregation
COH             162968190588                Gas           Gov. Aggregation   COH             208583210011                Gas           Gov. Aggregation
COH             162344450012                Gas           Gov. Aggregation   COH             167188980045                Gas           Gov. Aggregation
COH             193765040028                Gas           Gov. Aggregation   COH             208941900016                Gas           Gov. Aggregation
COH             175455060087                Gas           Gov. Aggregation   COH             208742360012                Gas           Gov. Aggregation
COH             142963490061                Gas           Gov. Aggregation   COH             206165450019                Gas           Gov. Aggregation
COH             199755570013                Gas           Gov. Aggregation   COH             135985580010                Gas           Gov. Aggregation
COH             115022030082                Gas           Gov. Aggregation   COH             202179120031                Gas           Gov. Aggregation
COH             114893730054                Gas           Gov. Aggregation   COH             206702170018                Gas           Gov. Aggregation
COH             171533420052                Gas           Gov. Aggregation   COH             190544650021                Gas           Gov. Aggregation
COH             198113430013                Gas           Gov. Aggregation   COH             201742180026                Gas           Gov. Aggregation
COH             196585350013                Gas           Gov. Aggregation   COH             207058520010                Gas           Gov. Aggregation
COH             193081580034                Gas           Gov. Aggregation   COH             142082160031                Gas           Gov. Aggregation
COH             192180610038                Gas           Gov. Aggregation   COH             144552090028                Gas           Gov. Aggregation
COH             158278000040                Gas           Gov. Aggregation   COH             145889670077                Gas           Gov. Aggregation
COH             199707740018                Gas           Gov. Aggregation   COH             203598530027                Gas           Gov. Aggregation
COH             121839940046                Gas           Gov. Aggregation   COH             205398340010                Gas           Gov. Aggregation
COH             114919320054                Gas           Gov. Aggregation   COH             202994940022                Gas           Gov. Aggregation
COH             194610880019                Gas           Gov. Aggregation   COH             159599910039                Gas           Gov. Aggregation
COH             195265620015                Gas           Gov. Aggregation   COH             207235490011                Gas           Gov. Aggregation
COH             186774520054                Gas           Gov. Aggregation   COH             153595000089                Gas           Gov. Aggregation
COH             115002000026                Gas           Gov. Aggregation   COH             197917960037                Gas           Gov. Aggregation
COH             114921170024                Gas           Gov. Aggregation   COH             206346560030                Gas           Gov. Aggregation
COH             199100990012                Gas           Gov. Aggregation   COH             200403940043                Gas           Gov. Aggregation
COH             198694910012                Gas           Gov. Aggregation   COH             195134560088                Gas           Gov. Aggregation
COH             198764920011                Gas           Gov. Aggregation   COH             200288020079                Gas           Gov. Aggregation
COH             192630190032                Gas           Gov. Aggregation   COH             188176520078                Gas           Gov. Aggregation
COH             196157720012                Gas           Gov. Aggregation   COH             194701710039                Gas           Gov. Aggregation
COH             193707470011                Gas           Gov. Aggregation   COH             136780260047                Gas           Gov. Aggregation
COH             195292330019                Gas           Gov. Aggregation   COH             194510180054                Gas           Gov. Aggregation
COH             195058310028                Gas           Gov. Aggregation   COH             195091380033                Gas           Gov. Aggregation
COH             196136140018                Gas           Gov. Aggregation   COH             115031000052                Gas           Gov. Aggregation
COH             115044740023                Gas           Gov. Aggregation   COH             202945450028                Gas           Gov. Aggregation
COH             169415480036                Gas           Gov. Aggregation   COH             205612450020                Gas           Gov. Aggregation
COH             156495640039                Gas           Gov. Aggregation   COH             204497940033                Gas           Gov. Aggregation
COH             165855080023                Gas           Gov. Aggregation   COH             187076830021                Gas           Gov. Aggregation
COH             170044480049                Gas           Gov. Aggregation   COH             208727370030                Gas           Gov. Aggregation
COH             197931390019                Gas           Gov. Aggregation   COH             134776000024                Gas           Gov. Aggregation
COH             197896690012                Gas           Gov. Aggregation   COH             187761840044                Gas           Gov. Aggregation
COH             193666720016                Gas           Gov. Aggregation   COH             207773220017                Gas           Gov. Aggregation
COH             192141160026                Gas           Gov. Aggregation   COH             160597010020                Gas           Gov. Aggregation
COH             136732270019                Gas           Gov. Aggregation   COH             207865950019                Gas           Gov. Aggregation
COH             176937020019                Gas           Gov. Aggregation   COH             205453690019                Gas           Gov. Aggregation
COH             199767040037                Gas           Gov. Aggregation   COH             208551590019                Gas           Gov. Aggregation
COH             198734080011                Gas           Gov. Aggregation   COH             174364860047                Gas           Gov. Aggregation
COH             160506300020                Gas           Gov. Aggregation   COH             207604930015                Gas           Gov. Aggregation
COH             169591250014                Gas           Gov. Aggregation   COH             206997660012                Gas           Gov. Aggregation
COH             163550150017                Gas           Gov. Aggregation   COH             208481300018                Gas           Gov. Aggregation
COH             187185170038                Gas           Gov. Aggregation   COH             205563770019                Gas           Gov. Aggregation
COH             198776760010                Gas           Gov. Aggregation   COH             206538230014                Gas           Gov. Aggregation
COH             158413710034                Gas           Gov. Aggregation   COH             205834900016                Gas           Gov. Aggregation
COH             162641320055                Gas           Gov. Aggregation   COH             171329100089                Gas           Gov. Aggregation
COH             185186070020                Gas           Gov. Aggregation   COH             200353210016                Gas           Gov. Aggregation
COH             194575110016                Gas           Gov. Aggregation   COH             196715300034                Gas           Gov. Aggregation
COH             195112800029                Gas           Gov. Aggregation   COH             209203640014                Gas           Gov. Aggregation
COH             114886460074                Gas           Gov. Aggregation   COH             205671170016                Gas           Gov. Aggregation
COH             198911260017                Gas           Gov. Aggregation   COH             204787090037                Gas           Gov. Aggregation
COH             194335580016                Gas           Gov. Aggregation   COH             114657780081                Gas           Gov. Aggregation
COH             194284370019                Gas           Gov. Aggregation   COH             207775910027                Gas           Gov. Aggregation
COH             199259060012                Gas           Gov. Aggregation   COH             209110470017                Gas           Gov. Aggregation
COH             197188280028                Gas           Gov. Aggregation   COH             194157590058                Gas           Gov. Aggregation
COH             198845690018                Gas           Gov. Aggregation   COH             115034080078                Gas           Gov. Aggregation
COH             199854500017                Gas           Gov. Aggregation   COH             200380690046                Gas           Gov. Aggregation
COH             198441790013                Gas           Gov. Aggregation   COH             201280110066                Gas           Gov. Aggregation
COH             197865010019                Gas           Gov. Aggregation   COH             166470520025                Gas           Gov. Aggregation
COH             199283400019                Gas           Gov. Aggregation   COH             208028640017                Gas           Gov. Aggregation
COH             193133650010                Gas           Gov. Aggregation   COH             208948410015                Gas           Gov. Aggregation
COH             194247960031                Gas           Gov. Aggregation   COH             159136250092                Gas           Gov. Aggregation
COH             194602300017                Gas           Gov. Aggregation   COH             201130260017                Gas           Gov. Aggregation
COH             199055350013                Gas           Gov. Aggregation   COH             115045240017                Gas           Gov. Aggregation
COH             199030810018                Gas           Gov. Aggregation   COH             188531600031                Gas           Gov. Aggregation
COH             199132930017                Gas           Gov. Aggregation   COH             150707640365                Gas           Gov. Aggregation
COH             197615920017                Gas           Gov. Aggregation   COH             188482920066                Gas           Gov. Aggregation
COH             196464320024                Gas           Gov. Aggregation   COH             156024380031                Gas           Gov. Aggregation
COH             196498550016                Gas           Gov. Aggregation   COH             208056390011                Gas           Gov. Aggregation
COH             194243270025                Gas           Gov. Aggregation   COH             159344390145                Gas           Gov. Aggregation
COH             190648850038                Gas           Gov. Aggregation   COH             176469350013                Gas           Gov. Aggregation
COH             191869030022                Gas           Gov. Aggregation   COH             166518220035                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             143116260036                Gas           Gov. Aggregation   COH             206856500013                Gas           Gov. Aggregation
COH             175105460048                Gas           Gov. Aggregation   COH             201198190047                Gas           Gov. Aggregation
COH             176089130042                Gas           Gov. Aggregation   COH             196680060058                Gas           Gov. Aggregation
VEDO            4019521792417955            Gas           Gov. Aggregation   COH             208309410019                Gas           Gov. Aggregation
VEDO            4019735572216857            Gas           Gov. Aggregation   COH             204128970029                Gas           Gov. Aggregation
VEDO            4018163812440347            Gas           Gov. Aggregation   COH             207315270017                Gas           Gov. Aggregation
VEDO            4016308212271177            Gas           Gov. Aggregation   COH             193026920074                Gas           Gov. Aggregation
VEDO            4004032662275592            Gas           Gov. Aggregation   COH             157015190048                Gas           Gov. Aggregation
VEDO            4015477882599426            Gas           Gov. Aggregation   COH             202730870034                Gas           Gov. Aggregation
VEDO            4018860462602907            Gas           Gov. Aggregation   COH             208956110039                Gas           Gov. Aggregation
COH             199324850017                Gas           Gov. Aggregation   COH             192583490030                Gas           Gov. Aggregation
COH             199660020019                Gas           Gov. Aggregation   COH             203731230035                Gas           Gov. Aggregation
COH             176882890041                Gas           Gov. Aggregation   COH             209122840041                Gas           Gov. Aggregation
COH             123878230014                Gas           Gov. Aggregation   COH             165095050094                Gas           Gov. Aggregation
COH             123878240012                Gas           Gov. Aggregation   COH             207355330010                Gas           Gov. Aggregation
COH             199460670017                Gas           Gov. Aggregation   COH             206912130011                Gas           Gov. Aggregation
COH             123812780026                Gas           Gov. Aggregation   COH             209373000019                Gas           Gov. Aggregation
COH             194810830024                Gas           Gov. Aggregation   COH             159753890090                Gas           Gov. Aggregation
COH             123894160015                Gas           Gov. Aggregation   COH             176046270025                Gas           Gov. Aggregation
COH             171973580020                Gas           Gov. Aggregation   COH             196522570028                Gas           Gov. Aggregation
COH             169239830063                Gas           Gov. Aggregation   COH             137312150013                Gas           Gov. Aggregation
COH             207001580035                Gas           Gov. Aggregation   COH             204851910028                Gas           Gov. Aggregation
COH             198529670012                Gas           Gov. Aggregation   COH             207983230029                Gas           Gov. Aggregation
COH             197626770016                Gas           Gov. Aggregation   COH             200005050026                Gas           Gov. Aggregation
COH             185480940023                Gas           Gov. Aggregation   COH             208501770016                Gas           Gov. Aggregation
COH             162670530014                Gas           Gov. Aggregation   COH             208094690018                Gas           Gov. Aggregation
COH             197202440022                Gas           Gov. Aggregation   COH             115024340065                Gas           Gov. Aggregation
COH             124436350014                Gas           Gov. Aggregation   COH             208224160012                Gas           Gov. Aggregation
COH             146212210057                Gas           Gov. Aggregation   COH             206108600017                Gas           Gov. Aggregation
COH             198144610010                Gas           Gov. Aggregation   COH             198101050054                Gas           Gov. Aggregation
DEO             0500066138224               Gas           Gov. Aggregation   COH             207632950021                Gas           Gov. Aggregation
DEO             0500067058275               Gas           Gov. Aggregation   COH             199673360020                Gas           Gov. Aggregation
DEO             0500067647137               Gas           Gov. Aggregation   COH             204438720042                Gas           Gov. Aggregation
DEO             6180000630582               Gas           Gov. Aggregation   COH             205733890013                Gas           Gov. Aggregation
DEO             6180000994698               Gas           Gov. Aggregation   COH             193083620077                Gas           Gov. Aggregation
DEO             8500067361281               Gas           Gov. Aggregation   COH             208387500016                Gas           Gov. Aggregation
DEO             2180000739182               Gas           Gov. Aggregation   COH             115035360040                Gas           Gov. Aggregation
DEO             2180000749684               Gas           Gov. Aggregation   COH             203466770035                Gas           Gov. Aggregation
DEO             2180001063103               Gas           Gov. Aggregation   COH             172674960032                Gas           Gov. Aggregation
DEO             2180001095990               Gas           Gov. Aggregation   COH             199286230046                Gas           Gov. Aggregation
DEO             2180001244531               Gas           Gov. Aggregation   COH             207006590015                Gas           Gov. Aggregation
DEO             2500067484113               Gas           Gov. Aggregation   COH             202225720036                Gas           Gov. Aggregation
DEO             3180000672508               Gas           Gov. Aggregation   COH             208076760020                Gas           Gov. Aggregation
DEO             3180000722744               Gas           Gov. Aggregation   COH             203945150020                Gas           Gov. Aggregation
DEO             5180000067986               Gas           Gov. Aggregation   COH             209254060019                Gas           Gov. Aggregation
DEO             5180000133633               Gas           Gov. Aggregation   COH             188680430041                Gas           Gov. Aggregation
DEO             5180000133882               Gas           Gov. Aggregation   COH             209345890012                Gas           Gov. Aggregation
DEO             5500064666509               Gas           Gov. Aggregation   COH             209195850019                Gas           Gov. Aggregation
DEO             5500064678477               Gas           Gov. Aggregation   COH             202704420033                Gas           Gov. Aggregation
DEO             5500064823623               Gas           Gov. Aggregation   COH             202231550066                Gas           Gov. Aggregation
DEO             5500064857364               Gas           Gov. Aggregation   COH             195476530099                Gas           Gov. Aggregation
DEO             5500064880060               Gas           Gov. Aggregation   COH             208537280014                Gas           Gov. Aggregation
DEO             6180001210525               Gas           Gov. Aggregation   COH             206976550019                Gas           Gov. Aggregation
DEO             6500063362597               Gas           Gov. Aggregation   COH             202086030028                Gas           Gov. Aggregation
DEO             7180000799209               Gas           Gov. Aggregation   COH             114894490099                Gas           Gov. Aggregation
DEO             7180000799778               Gas           Gov. Aggregation   COH             206483950010                Gas           Gov. Aggregation
DEO             7500063921438               Gas           Gov. Aggregation   COH             207627040014                Gas           Gov. Aggregation
DEO             7500063998278               Gas           Gov. Aggregation   COH             202794110020                Gas           Gov. Aggregation
DEO             7500064132458               Gas           Gov. Aggregation   COH             190300240050                Gas           Gov. Aggregation
DEO             7500065225921               Gas           Gov. Aggregation   COH             207558680017                Gas           Gov. Aggregation
DEO             8180000953350               Gas           Gov. Aggregation   COH             204643780036                Gas           Gov. Aggregation
DEO             8180001097697               Gas           Gov. Aggregation   COH             170051440033                Gas           Gov. Aggregation
DEO             8500066381977               Gas           Gov. Aggregation   COH             204787890020                Gas           Gov. Aggregation
DEO             8500066392585               Gas           Gov. Aggregation   COH             114960580017                Gas           Gov. Aggregation
DEO             8500066440881               Gas           Gov. Aggregation   COH             173733750048                Gas           Gov. Aggregation
DEO             9500062649716               Gas           Gov. Aggregation   COH             162661490049                Gas           Gov. Aggregation
DEO             0421001803040               Gas           Gov. Aggregation   COH             150410600040                Gas           Gov. Aggregation
DEO             0421004358721               Gas           Gov. Aggregation   COH             187200610022                Gas           Gov. Aggregation
DEO             0500062779141               Gas           Gov. Aggregation   COH             203926530020                Gas           Gov. Aggregation
DEO             0500062874212               Gas           Gov. Aggregation   COH             205136750054                Gas           Gov. Aggregation
DEO             2500047986540               Gas           Gov. Aggregation   COH             190630650046                Gas           Gov. Aggregation
DEO             2500065221084               Gas           Gov. Aggregation   COH             206475160013                Gas           Gov. Aggregation
DEO             3500003833659               Gas           Gov. Aggregation   COH             192072720070                Gas           Gov. Aggregation
DEO             1500048180938               Gas           Gov. Aggregation   COH             205606570019                Gas           Gov. Aggregation
DEO             9500052198262               Gas           Gov. Aggregation   COH             207140280016                Gas           Gov. Aggregation
DEO             3500043113173               Gas           Gov. Aggregation   COH             207729950017                Gas           Gov. Aggregation
DEO             1500017939249               Gas           Gov. Aggregation   COH             149302860100                Gas           Gov. Aggregation
DEO             0500043806605               Gas           Gov. Aggregation   COH             207516440015                Gas           Gov. Aggregation
DEO             0500045276648               Gas           Gov. Aggregation   COH             202458030029                Gas           Gov. Aggregation
DEO             2500045925973               Gas           Gov. Aggregation   COH             207492390018                Gas           Gov. Aggregation
DEO             7500035528977               Gas           Gov. Aggregation   COH             207717120016                Gas           Gov. Aggregation
DEO             9500027460323               Gas           Gov. Aggregation   COH             157502390025                Gas           Gov. Aggregation
DEO             6420903631136               Gas           Gov. Aggregation   COH             134413980143                Gas           Gov. Aggregation
DEO             8500032577769               Gas           Gov. Aggregation   COH             205938400011                Gas           Gov. Aggregation
DEO             2330000008394               Gas           Gov. Aggregation   COH             209208710019                Gas           Gov. Aggregation
DEO             4421005145567               Gas           Gov. Aggregation   COH             200744010037                Gas           Gov. Aggregation
DEO             5500053785327               Gas           Gov. Aggregation   COH             206638920017                Gas           Gov. Aggregation
DEO             7421005502233               Gas           Gov. Aggregation   COH             150196820068                Gas           Gov. Aggregation
DEO             9421001915920               Gas           Gov. Aggregation   COH             185331940064                Gas           Gov. Aggregation
DEO             8500017005820               Gas           Gov. Aggregation   COH             202171610034                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             4500036618023               Gas           Gov. Aggregation   COH             202474880027                Gas           Gov. Aggregation
DEO             5500040961415               Gas           Gov. Aggregation   COH             209356460019                Gas           Gov. Aggregation
DEO             0500036984569               Gas           Gov. Aggregation   COH             142896350125                Gas           Gov. Aggregation
DEO             0421003589421               Gas           Gov. Aggregation   COH             208675860010                Gas           Gov. Aggregation
DEO             3420906397167               Gas           Gov. Aggregation   COH             206069340016                Gas           Gov. Aggregation
DEO             3500053550018               Gas           Gov. Aggregation   COH             206119210016                Gas           Gov. Aggregation
DEO             6330000009721               Gas           Gov. Aggregation   COH             208681330018                Gas           Gov. Aggregation
DEO             4500051719387               Gas           Gov. Aggregation   COH             161867490080                Gas           Gov. Aggregation
DEO             8420901558666               Gas           Gov. Aggregation   COH             175861740038                Gas           Gov. Aggregation
DEO             0500054560437               Gas           Gov. Aggregation   COH             209376470015                Gas           Gov. Aggregation
DEO             4500054168810               Gas           Gov. Aggregation   COH             171495690021                Gas           Gov. Aggregation
DEO             6500048301672               Gas           Gov. Aggregation   COH             205215640013                Gas           Gov. Aggregation
DEO             3500052043843               Gas           Gov. Aggregation   COH             209365930011                Gas           Gov. Aggregation
DEO             7421002994146               Gas           Gov. Aggregation   COH             196106490036                Gas           Gov. Aggregation
DEO             9500027589488               Gas           Gov. Aggregation   COH             154349140124                Gas           Gov. Aggregation
DEO             2500010295000               Gas           Gov. Aggregation   COH             153177010136                Gas           Gov. Aggregation
DEO             9500025292211               Gas           Gov. Aggregation   COH             207882680010                Gas           Gov. Aggregation
DEO             4500045722594               Gas           Gov. Aggregation   COH             202268980023                Gas           Gov. Aggregation
DEO             8500034317455               Gas           Gov. Aggregation   COH             208376340013                Gas           Gov. Aggregation
DEO             5500048482392               Gas           Gov. Aggregation   COH             165137860094                Gas           Gov. Aggregation
DEO             2500020026663               Gas           Gov. Aggregation   COH             202806820024                Gas           Gov. Aggregation
DEO             4500003804221               Gas           Gov. Aggregation   COH             209496710010                Gas           Gov. Aggregation
DEO             2421004511846               Gas           Gov. Aggregation   COH             191161580054                Gas           Gov. Aggregation
DEO             7500016005071               Gas           Gov. Aggregation   COH             207520710037                Gas           Gov. Aggregation
DEO             9500023232046               Gas           Gov. Aggregation   COH             131882050086                Gas           Gov. Aggregation
DEO             7500054214583               Gas           Gov. Aggregation   COH             206518080018                Gas           Gov. Aggregation
DEO             8421005183914               Gas           Gov. Aggregation   COH             196370770047                Gas           Gov. Aggregation
DEO             6500039397926               Gas           Gov. Aggregation   COH             115040940109                Gas           Gov. Aggregation
DEO             4500039108000               Gas           Gov. Aggregation   COH             201719800346                Gas           Gov. Aggregation
DEO             0500039106604               Gas           Gov. Aggregation   COH             151609800091                Gas           Gov. Aggregation
DEO             0500021897597               Gas           Gov. Aggregation   COH             206526610019                Gas           Gov. Aggregation
DEO             2500020533137               Gas           Gov. Aggregation   COH             207293860011                Gas           Gov. Aggregation
DEO             3500026561587               Gas           Gov. Aggregation   COH             202646160032                Gas           Gov. Aggregation
DEO             6500022439811               Gas           Gov. Aggregation   COH             206463290011                Gas           Gov. Aggregation
DEO             5420904341502               Gas           Gov. Aggregation   COH             208576670010                Gas           Gov. Aggregation
DEO             3500050987866               Gas           Gov. Aggregation   COH             202576450012                Gas           Gov. Aggregation
DEO             8500034674281               Gas           Gov. Aggregation   COH             206702160010                Gas           Gov. Aggregation
DEO             3500006922230               Gas           Gov. Aggregation   COH             201410060051                Gas           Gov. Aggregation
DEO             6500054183606               Gas           Gov. Aggregation   COH             205419200013                Gas           Gov. Aggregation
DEO             5500013964839               Gas           Gov. Aggregation   COH             167664600044                Gas           Gov. Aggregation
DEO             4500051117470               Gas           Gov. Aggregation   COH             203166560035                Gas           Gov. Aggregation
DEO             2120000151630               Gas           Gov. Aggregation   COH             198997920036                Gas           Gov. Aggregation
DEO             5500032477069               Gas           Gov. Aggregation   COH             207500600014                Gas           Gov. Aggregation
DEO             8120000082424               Gas           Gov. Aggregation   COH             206061350010                Gas           Gov. Aggregation
DEO             6421002993975               Gas           Gov. Aggregation   COH             190277130063                Gas           Gov. Aggregation
DEO             0500040079999               Gas           Gov. Aggregation   COH             172509040034                Gas           Gov. Aggregation
DEO             8500011638297               Gas           Gov. Aggregation   COH             174262420152                Gas           Gov. Aggregation
DEO             1500006847006               Gas           Gov. Aggregation   COH             202790400027                Gas           Gov. Aggregation
DEO             9120000074374               Gas           Gov. Aggregation   COH             173899860134                Gas           Gov. Aggregation
DEO             7500004983114               Gas           Gov. Aggregation   COH             173899860143                Gas           Gov. Aggregation
DEO             9421003841906               Gas           Gov. Aggregation   COH             173899860161                Gas           Gov. Aggregation
DEO             9500060533615               Gas           Gov. Aggregation   COH             204750610025                Gas           Gov. Aggregation
DEO             8500011088551               Gas           Gov. Aggregation   COH             203827730037                Gas           Gov. Aggregation
DEO             2500037587706               Gas           Gov. Aggregation   COH             152667740162                Gas           Gov. Aggregation
DEO             1420505172715               Gas           Gov. Aggregation   COH             208932700017                Gas           Gov. Aggregation
DEO             8500043263082               Gas           Gov. Aggregation   COH             190845320040                Gas           Gov. Aggregation
DEO             8421002258041               Gas           Gov. Aggregation   COH             164286230127                Gas           Gov. Aggregation
DEO             9500060711956               Gas           Gov. Aggregation   COH             196392340050                Gas           Gov. Aggregation
DEO             2230000000213               Gas           Gov. Aggregation   COH             203324810045                Gas           Gov. Aggregation
DEO             1500030984704               Gas           Gov. Aggregation   COH             207026090018                Gas           Gov. Aggregation
DEO             6500042665321               Gas           Gov. Aggregation   COH             207026110013                Gas           Gov. Aggregation
DEO             7421001352811               Gas           Gov. Aggregation   COH             208625470017                Gas           Gov. Aggregation
DEO             9500060454881               Gas           Gov. Aggregation   COH             194080320039                Gas           Gov. Aggregation
DEO             3500061608481               Gas           Gov. Aggregation   COH             204739380037                Gas           Gov. Aggregation
DEO             0500061041972               Gas           Gov. Aggregation   COH             208289670019                Gas           Gov. Aggregation
DEO             7500061457523               Gas           Gov. Aggregation   COH             166834890973                Gas           Gov. Aggregation
DEO             0420501221362               Gas           Gov. Aggregation   COH             208497060034                Gas           Gov. Aggregation
DEO             1120000134061               Gas           Gov. Aggregation   COH             166834890964                Gas           Gov. Aggregation
DEO             3500024813162               Gas           Gov. Aggregation   COH             208497060016                Gas           Gov. Aggregation
DEO             4421001033780               Gas           Gov. Aggregation   COH             197419590031                Gas           Gov. Aggregation
DEO             0500043487986               Gas           Gov. Aggregation   COH             185423830035                Gas           Gov. Aggregation
VEDO            4003093182304820            Gas           Gov. Aggregation   COH             174528220052                Gas           Gov. Aggregation
COH             200173630010                Gas           Gov. Aggregation   COH             151267400073                Gas           Gov. Aggregation
COH             172613630039                Gas           Gov. Aggregation   COH             208051020018                Gas           Gov. Aggregation
COH             198818010026                Gas           Gov. Aggregation   COH             192968050072                Gas           Gov. Aggregation
COH             198252970016                Gas           Gov. Aggregation   COH             203685660034                Gas           Gov. Aggregation
COH             122539590045                Gas           Gov. Aggregation   COH             209318090017                Gas           Gov. Aggregation
COH             135203630024                Gas           Gov. Aggregation   COH             208509780018                Gas           Gov. Aggregation
COH             162868630032                Gas           Gov. Aggregation   COH             200790160048                Gas           Gov. Aggregation
COH             192445380044                Gas           Gov. Aggregation   COH             190299210042                Gas           Gov. Aggregation
COH             199554650012                Gas           Gov. Aggregation   COH             206165440011                Gas           Gov. Aggregation
COH             156431040039                Gas           Gov. Aggregation   COH             207671280011                Gas           Gov. Aggregation
COH             197648520012                Gas           Gov. Aggregation   COH             208230040014                Gas           Gov. Aggregation
COH             199401220015                Gas           Gov. Aggregation   COH             198980270056                Gas           Gov. Aggregation
COH             199595270016                Gas           Gov. Aggregation   COH             208138660010                Gas           Gov. Aggregation
COH             199765140012                Gas           Gov. Aggregation   COH             166912570036                Gas           Gov. Aggregation
COH             199955660010                Gas           Gov. Aggregation   COH             207763450010                Gas           Gov. Aggregation
COH             199170080016                Gas           Gov. Aggregation   COH             207401150019                Gas           Gov. Aggregation
COH             199442640011                Gas           Gov. Aggregation   COH             185617280049                Gas           Gov. Aggregation
COH             148833710018                Gas           Gov. Aggregation   COH             206589400011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             198513580014                Gas           Gov. Aggregation   COH             206635550020                Gas           Gov. Aggregation
COH             169036870047                Gas           Gov. Aggregation   COH             200710280023                Gas           Gov. Aggregation
COH             200043480017                Gas           Gov. Aggregation   COH             203560770026                Gas           Gov. Aggregation
COH             200063000015                Gas           Gov. Aggregation   COH             207359670011                Gas           Gov. Aggregation
COH             199410780019                Gas           Gov. Aggregation   COH             204699220027                Gas           Gov. Aggregation
COH             199224770016                Gas           Gov. Aggregation   COH             171091730064                Gas           Gov. Aggregation
COH             157188150014                Gas           Gov. Aggregation   COH             201643120046                Gas           Gov. Aggregation
COH             199691540015                Gas           Gov. Aggregation   COH             209054860015                Gas           Gov. Aggregation
COH             160462670036                Gas           Gov. Aggregation   COH             209220090014                Gas           Gov. Aggregation
COH             157944070133                Gas           Gov. Aggregation   COH             202694740048                Gas           Gov. Aggregation
COH             198554070015                Gas           Gov. Aggregation   COH             186241440041                Gas           Gov. Aggregation
COH             195169360032                Gas           Gov. Aggregation   COH             200562360030                Gas           Gov. Aggregation
COH             186935210039                Gas           Gov. Aggregation   COH             146382470072                Gas           Gov. Aggregation
COH             200124320018                Gas           Gov. Aggregation   COH             201959960032                Gas           Gov. Aggregation
COH             198279950014                Gas           Gov. Aggregation   COH             207761760037                Gas           Gov. Aggregation
COH             200165980014                Gas           Gov. Aggregation   COH             208854630036                Gas           Gov. Aggregation
COH             188472130027                Gas           Gov. Aggregation   COH             208854630018                Gas           Gov. Aggregation
COH             188540950020                Gas           Gov. Aggregation   COH             206805510018                Gas           Gov. Aggregation
COH             199029270015                Gas           Gov. Aggregation   COH             166271500094                Gas           Gov. Aggregation
COH             198763190017                Gas           Gov. Aggregation   COH             206107620015                Gas           Gov. Aggregation
COH             199097090010                Gas           Gov. Aggregation   COH             208244320016                Gas           Gov. Aggregation
COH             199373010010                Gas           Gov. Aggregation   COH             206805510036                Gas           Gov. Aggregation
COH             198617360010                Gas           Gov. Aggregation   COH             209223740011                Gas           Gov. Aggregation
COH             199546220019                Gas           Gov. Aggregation   COH             187255620089                Gas           Gov. Aggregation
COH             199752650012                Gas           Gov. Aggregation   COH             162291180030                Gas           Gov. Aggregation
COH             199529480011                Gas           Gov. Aggregation   COH             208499240014                Gas           Gov. Aggregation
COH             198621620016                Gas           Gov. Aggregation   COH             194518570074                Gas           Gov. Aggregation
COH             198526690014                Gas           Gov. Aggregation   COH             189041660064                Gas           Gov. Aggregation
COH             199325000013                Gas           Gov. Aggregation   COH             205398380012                Gas           Gov. Aggregation
COH             143065640026                Gas           Gov. Aggregation   COH             204927630035                Gas           Gov. Aggregation
COH             199603850015                Gas           Gov. Aggregation   COH             162191810057                Gas           Gov. Aggregation
COH             173363450046                Gas           Gov. Aggregation   COH             114998500041                Gas           Gov. Aggregation
COH             162246730431                Gas           Gov. Aggregation   COH             206425660013                Gas           Gov. Aggregation
COH             154601450034                Gas           Gov. Aggregation   COH             163539550062                Gas           Gov. Aggregation
COH             198819850019                Gas           Gov. Aggregation   COH             130291120012                Gas           Gov. Aggregation
COH             197980350014                Gas           Gov. Aggregation   COH             209356470017                Gas           Gov. Aggregation
COH             199843070011                Gas           Gov. Aggregation   COH             209335030013                Gas           Gov. Aggregation
COH             199324960014                Gas           Gov. Aggregation   COH             206459300017                Gas           Gov. Aggregation
COH             198088220012                Gas           Gov. Aggregation   COH             115068300016                Gas           Gov. Aggregation
COH             194063630021                Gas           Gov. Aggregation   COH             208780800019                Gas           Gov. Aggregation
COH             195620450017                Gas           Gov. Aggregation   COH             201169590044                Gas           Gov. Aggregation
COH             198170020019                Gas           Gov. Aggregation   COH             202667710014                Gas           Gov. Aggregation
COH             198455250017                Gas           Gov. Aggregation   COH             203491650028                Gas           Gov. Aggregation
COH             199160000013                Gas           Gov. Aggregation   COH             114921140226                Gas           Gov. Aggregation
COH             199875490016                Gas           Gov. Aggregation   COH             114921140244                Gas           Gov. Aggregation
COH             199234470018                Gas           Gov. Aggregation   COH             127656430036                Gas           Gov. Aggregation
COH             199421330010                Gas           Gov. Aggregation   COH             208252400012                Gas           Gov. Aggregation
COH             199515530019                Gas           Gov. Aggregation   COH             209110460019                Gas           Gov. Aggregation
COH             199132910011                Gas           Gov. Aggregation   COH             205638500016                Gas           Gov. Aggregation
COH             197094720015                Gas           Gov. Aggregation   COH             169244930105                Gas           Gov. Aggregation
COH             197525440019                Gas           Gov. Aggregation   COH             150040720077                Gas           Gov. Aggregation
COH             200223710016                Gas           Gov. Aggregation   COH             195622370065                Gas           Gov. Aggregation
COH             133120740029                Gas           Gov. Aggregation   COH             141712890023                Gas           Gov. Aggregation
COH             124157220022                Gas           Gov. Aggregation   COH             207908710017                Gas           Gov. Aggregation
COH             143358100046                Gas           Gov. Aggregation   COH             208204930012                Gas           Gov. Aggregation
COH             146754760081                Gas           Gov. Aggregation   COH             209354540016                Gas           Gov. Aggregation
COH             156565850072                Gas           Gov. Aggregation   COH             206778440049                Gas           Gov. Aggregation
COH             187371000010                Gas           Gov. Aggregation   COH             206136440012                Gas           Gov. Aggregation
COH             193640970018                Gas           Gov. Aggregation   COH             205240680058                Gas           Gov. Aggregation
COH             171136160031                Gas           Gov. Aggregation   COH             197645980030                Gas           Gov. Aggregation
COH             176733580023                Gas           Gov. Aggregation   COH             201454120047                Gas           Gov. Aggregation
COH             176472650068                Gas           Gov. Aggregation   COH             198414840046                Gas           Gov. Aggregation
COH             152715700078                Gas           Gov. Aggregation   COH             209395180016                Gas           Gov. Aggregation
COH             165291490103                Gas           Gov. Aggregation   COH             166574110156                Gas           Gov. Aggregation
COH             169065840015                Gas           Gov. Aggregation   COH             202633970057                Gas           Gov. Aggregation
COH             170211250015                Gas           Gov. Aggregation   COH             115104510069                Gas           Gov. Aggregation
COH             123966050015                Gas           Gov. Aggregation   COH             199139800029                Gas           Gov. Aggregation
COH             199508130018                Gas           Gov. Aggregation   COH             188655760045                Gas           Gov. Aggregation
COH             160206020089                Gas           Gov. Aggregation   COH             203829620027                Gas           Gov. Aggregation
COH             123965500012                Gas           Gov. Aggregation   COH             194550050020                Gas           Gov. Aggregation
COH             194957050019                Gas           Gov. Aggregation   COH             207684680010                Gas           Gov. Aggregation
COH             172723810010                Gas           Gov. Aggregation   COH             208645620013                Gas           Gov. Aggregation
COH             173878210018                Gas           Gov. Aggregation   COH             206676060018                Gas           Gov. Aggregation
COH             199314010014                Gas           Gov. Aggregation   COH             209148900017                Gas           Gov. Aggregation
COH             109472650014                Gas           Gov. Aggregation   COH             208801060019                Gas           Gov. Aggregation
VEDO            4003453372239573            Gas           Gov. Aggregation   COH             200564350038                Gas           Gov. Aggregation
VEDO            4018149412500462            Gas           Gov. Aggregation   COH             206469290019                Gas           Gov. Aggregation
VEDO            4015543542372645            Gas           Gov. Aggregation   COH             176059370143                Gas           Gov. Aggregation
VEDO            4001478712126733            Gas           Gov. Aggregation   COH             209504170015                Gas           Gov. Aggregation
VEDO            4004274812430629            Gas           Gov. Aggregation   COH             185701710067                Gas           Gov. Aggregation
VEDO            4003138202309564            Gas           Gov. Aggregation   COH             205506170015                Gas           Gov. Aggregation
VEDO            4004305102636260            Gas           Gov. Aggregation   COH             209177360010                Gas           Gov. Aggregation
VEDO            4001080532642170            Gas           Gov. Aggregation   COH             162591460053                Gas           Gov. Aggregation
VEDO            4018974602642326            Gas           Gov. Aggregation   COH             149045480044                Gas           Gov. Aggregation
VEDO            4019871382641362            Gas           Gov. Aggregation   COH             206870040010                Gas           Gov. Aggregation
VEDO            4001072192646925            Gas           Gov. Aggregation   COH             204035490027                Gas           Gov. Aggregation
VEDO            4019736222311647            Gas           Gov. Aggregation   COH             206927420019                Gas           Gov. Aggregation
COH             200453540015                Gas           Gov. Aggregation   COH             172973460051                Gas           Gov. Aggregation
COH             198423400012                Gas           Gov. Aggregation   COH             114982660032                Gas           Gov. Aggregation
COH             187679140037                Gas           Gov. Aggregation   COH             201290010020                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             108843140024                Gas           Gov. Aggregation   COH             164558180103                Gas           Gov. Aggregation
COH             195375210027                Gas           Gov. Aggregation   COH             171861920061                Gas           Gov. Aggregation
COH             199075280016                Gas           Gov. Aggregation   COH             208466740018                Gas           Gov. Aggregation
COH             200308710016                Gas           Gov. Aggregation   COH             175147960036                Gas           Gov. Aggregation
COH             186545930035                Gas           Gov. Aggregation   COH             208963750012                Gas           Gov. Aggregation
COH             189392620032                Gas           Gov. Aggregation   COH             208414230014                Gas           Gov. Aggregation
COH             196445210027                Gas           Gov. Aggregation   COH             207098080028                Gas           Gov. Aggregation
COH             199153250016                Gas           Gov. Aggregation   COH             176668460018                Gas           Gov. Aggregation
COH             191333290041                Gas           Gov. Aggregation   COH             193062000026                Gas           Gov. Aggregation
COH             185899310019                Gas           Gov. Aggregation   COH             171155540040                Gas           Gov. Aggregation
COH             192131294375                Gas           Gov. Aggregation   COH             192383490025                Gas           Gov. Aggregation
COH             144956540036                Gas           Gov. Aggregation   COH             132527030018                Gas           Gov. Aggregation
COH             165388210044                Gas           Gov. Aggregation   COH             153772790060                Gas           Gov. Aggregation
COH             198129640034                Gas           Gov. Aggregation   COH             171918860027                Gas           Gov. Aggregation
COH             115068210033                Gas           Gov. Aggregation   COH             207972090013                Gas           Gov. Aggregation
COH             114921140173                Gas           Gov. Aggregation   COH             206475130019                Gas           Gov. Aggregation
COH             171307650142                Gas           Gov. Aggregation   COH             205565820014                Gas           Gov. Aggregation
COH             160963920031                Gas           Gov. Aggregation   COH             205565820032                Gas           Gov. Aggregation
COH             115051090132                Gas           Gov. Aggregation   COH             166312960072                Gas           Gov. Aggregation
COH             115051580013                Gas           Gov. Aggregation   COH             203613640020                Gas           Gov. Aggregation
COH             129312870076                Gas           Gov. Aggregation   COH             160135940096                Gas           Gov. Aggregation
COH             200526430013                Gas           Gov. Aggregation   COH             172160460107                Gas           Gov. Aggregation
COH             154310930049                Gas           Gov. Aggregation   COH             207845480010                Gas           Gov. Aggregation
COH             195991030047                Gas           Gov. Aggregation   COH             209212760010                Gas           Gov. Aggregation
COH             200625510016                Gas           Gov. Aggregation   COH             206239670016                Gas           Gov. Aggregation
COH             196559770047                Gas           Gov. Aggregation   COH             199732200081                Gas           Gov. Aggregation
COH             187507190076                Gas           Gov. Aggregation   COH             201023610038                Gas           Gov. Aggregation
COH             193717440052                Gas           Gov. Aggregation   COH             209146120015                Gas           Gov. Aggregation
COH             200426300012                Gas           Gov. Aggregation   COH             151927030026                Gas           Gov. Aggregation
COH             115032490021                Gas           Gov. Aggregation   COH             114895270075                Gas           Gov. Aggregation
COH             201035510016                Gas           Gov. Aggregation   COH             205161690036                Gas           Gov. Aggregation
COH             187964990034                Gas           Gov. Aggregation   COH             206671700013                Gas           Gov. Aggregation
COH             196191540018                Gas           Gov. Aggregation   COH             206153380019                Gas           Gov. Aggregation
COH             194105150031                Gas           Gov. Aggregation   COH             115030330073                Gas           Gov. Aggregation
COH             196024110011                Gas           Gov. Aggregation   COH             194369230045                Gas           Gov. Aggregation
COH             200016660016                Gas           Gov. Aggregation   COH             209302800010                Gas           Gov. Aggregation
COH             200490180013                Gas           Gov. Aggregation   COH             208006110014                Gas           Gov. Aggregation
COH             194364250023                Gas           Gov. Aggregation   COH             186935020039                Gas           Gov. Aggregation
COH             189060790030                Gas           Gov. Aggregation   COH             207865970024                Gas           Gov. Aggregation
COH             192364480045                Gas           Gov. Aggregation   COH             206248800019                Gas           Gov. Aggregation
COH             170543690047                Gas           Gov. Aggregation   COH             203511750023                Gas           Gov. Aggregation
COH             197712050023                Gas           Gov. Aggregation   COH             123586740061                Gas           Gov. Aggregation
COH             134413980081                Gas           Gov. Aggregation   COH             200581500030                Gas           Gov. Aggregation
COH             165298220034                Gas           Gov. Aggregation   COH             114997620057                Gas           Gov. Aggregation
COH             200839000010                Gas           Gov. Aggregation   COH             130480220109                Gas           Gov. Aggregation
COH             198458780029                Gas           Gov. Aggregation   COH             206734730013                Gas           Gov. Aggregation
COH             197169160023                Gas           Gov. Aggregation   COH             206883740016                Gas           Gov. Aggregation
COH             170309430163                Gas           Gov. Aggregation   COH             155582810057                Gas           Gov. Aggregation
COH             197179900017                Gas           Gov. Aggregation   COH             206907890013                Gas           Gov. Aggregation
COH             200472300015                Gas           Gov. Aggregation   COH             207015210024                Gas           Gov. Aggregation
COH             188869480041                Gas           Gov. Aggregation   COH             114978560014                Gas           Gov. Aggregation
COH             130072290084                Gas           Gov. Aggregation   COH             208183090015                Gas           Gov. Aggregation
COH             169584960029                Gas           Gov. Aggregation   COH             204456330082                Gas           Gov. Aggregation
COH             200730870018                Gas           Gov. Aggregation   COH             176594830026                Gas           Gov. Aggregation
COH             200719900015                Gas           Gov. Aggregation   COH             207516450013                Gas           Gov. Aggregation
COH             199949270015                Gas           Gov. Aggregation   COH             209010470019                Gas           Gov. Aggregation
COH             191727580045                Gas           Gov. Aggregation   COH             200278530028                Gas           Gov. Aggregation
COH             189629650024                Gas           Gov. Aggregation   COH             207790750010                Gas           Gov. Aggregation
COH             149200550030                Gas           Gov. Aggregation   COH             209165290010                Gas           Gov. Aggregation
COH             188589200034                Gas           Gov. Aggregation   COH             208570580011                Gas           Gov. Aggregation
COH             176576070079                Gas           Gov. Aggregation   COH             204947060033                Gas           Gov. Aggregation
COH             195700140012                Gas           Gov. Aggregation   COH             194019990038                Gas           Gov. Aggregation
COH             190159880048                Gas           Gov. Aggregation   COH             208807780016                Gas           Gov. Aggregation
COH             196986280027                Gas           Gov. Aggregation   COH             115079970031                Gas           Gov. Aggregation
COH             196443380026                Gas           Gov. Aggregation   COH             209268250010                Gas           Gov. Aggregation
COH             169832570024                Gas           Gov. Aggregation   COH             209362740017                Gas           Gov. Aggregation
VEDO            4001932372188704            Gas           Gov. Aggregation   COH             205834240033                Gas           Gov. Aggregation
COH             157026410011                Gas           Gov. Aggregation   COH             152601480094                Gas           Gov. Aggregation
DEO             8180015155524               Gas           Gov. Aggregation   COH             187609690066                Gas           Gov. Aggregation
COH             143197050012                Gas           Gov. Aggregation   COH             208712710011                Gas           Gov. Aggregation
COH             186287260016                Gas           Gov. Aggregation   COH             154998790141                Gas           Gov. Aggregation
DEO             6500018582743               Gas           Gov. Aggregation   COH             191200300049                Gas           Gov. Aggregation
DUKE            8250038521                  Gas           Gov. Aggregation   COH             203270870039                Gas           Gov. Aggregation
VEDO            4018038712258970            Gas           Gov. Aggregation   COH             154763320093                Gas           Gov. Aggregation
DEO             5180017069586               Gas           Gov. Aggregation   COH             208353540019                Gas           Gov. Aggregation
COH             123843970012                Gas           Gov. Aggregation   COH             205789520013                Gas           Gov. Aggregation
COH             201029710017                Gas           Gov. Aggregation   COH             196711660180                Gas           Gov. Aggregation
COH             201060610012                Gas           Gov. Aggregation   COH             207359680019                Gas           Gov. Aggregation
VEDO            4021490472685696            Gas           Gov. Aggregation   COH             189383570096                Gas           Gov. Aggregation
COH             207127790017                Gas           Gov. Aggregation   COH             208662490015                Gas           Gov. Aggregation
DEO             7180017723184               Gas           Gov. Aggregation   COH             186343980051                Gas           Gov. Aggregation
COH             200014120013                Gas           Gov. Aggregation   COH             205950340018                Gas           Gov. Aggregation
COH             200498460018                Gas           Gov. Aggregation   COH             208405230013                Gas           Gov. Aggregation
COH             200774360013                Gas           Gov. Aggregation   COH             208742520018                Gas           Gov. Aggregation
COH             201115230015                Gas           Gov. Aggregation   COH             208877360017                Gas           Gov. Aggregation
COH             198847900019                Gas           Gov. Aggregation   COH             208138720017                Gas           Gov. Aggregation
COH             200173650016                Gas           Gov. Aggregation   COH             206846450024                Gas           Gov. Aggregation
COH             176950240033                Gas           Gov. Aggregation   COH             209242520017                Gas           Gov. Aggregation
COH             174342150051                Gas           Gov. Aggregation   COH             208138650012                Gas           Gov. Aggregation
COH             188209970037                Gas           Gov. Aggregation   COH             196934750027                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             188302070029                Gas           Gov. Aggregation   COH             201294110021                Gas           Gov. Aggregation
COH             192983630032                Gas           Gov. Aggregation   COH             200386420022                Gas           Gov. Aggregation
COH             192776680013                Gas           Gov. Aggregation   COH             204589410020                Gas           Gov. Aggregation
COH             124565350048                Gas           Gov. Aggregation   COH             204924860051                Gas           Gov. Aggregation
COH             199499070012                Gas           Gov. Aggregation   COH             206114460023                Gas           Gov. Aggregation
COH             199469810019                Gas           Gov. Aggregation   COH             163352920042                Gas           Gov. Aggregation
COH             199156520013                Gas           Gov. Aggregation   COH             194866860030                Gas           Gov. Aggregation
COH             200282490019                Gas           Gov. Aggregation   COH             152066500095                Gas           Gov. Aggregation
COH             171265050095                Gas           Gov. Aggregation   COH             206475170011                Gas           Gov. Aggregation
COH             186752660024                Gas           Gov. Aggregation   COH             193343400035                Gas           Gov. Aggregation
COH             187311650038                Gas           Gov. Aggregation   COH             207391950014                Gas           Gov. Aggregation
COH             189795010045                Gas           Gov. Aggregation   COH             202335830021                Gas           Gov. Aggregation
COH             124564380017                Gas           Gov. Aggregation   COH             207522550019                Gas           Gov. Aggregation
COH             198150130018                Gas           Gov. Aggregation   COH             203582590019                Gas           Gov. Aggregation
COH             199741970018                Gas           Gov. Aggregation   COH             149446950125                Gas           Gov. Aggregation
COH             200346250013                Gas           Gov. Aggregation   COH             139133210018                Gas           Gov. Aggregation
COH             198725190017                Gas           Gov. Aggregation   COH             205238600022                Gas           Gov. Aggregation
COH             198529210018                Gas           Gov. Aggregation   COH             187929490060                Gas           Gov. Aggregation
COH             143297850021                Gas           Gov. Aggregation   COH             206978850012                Gas           Gov. Aggregation
COH             124564330044                Gas           Gov. Aggregation   COH             207972100010                Gas           Gov. Aggregation
COH             197300110014                Gas           Gov. Aggregation   COH             208453650014                Gas           Gov. Aggregation
COH             197073200018                Gas           Gov. Aggregation   COH             188019360645                Gas           Gov. Aggregation
COH             200837330015                Gas           Gov. Aggregation   COH             209036980018                Gas           Gov. Aggregation
COH             200585310014                Gas           Gov. Aggregation   COH             188019360627                Gas           Gov. Aggregation
COH             200009030013                Gas           Gov. Aggregation   COH             115020990021                Gas           Gov. Aggregation
COH             161152710051                Gas           Gov. Aggregation   COH             208841970014                Gas           Gov. Aggregation
COH             197902540018                Gas           Gov. Aggregation   COH             208684570012                Gas           Gov. Aggregation
COH             200084040013                Gas           Gov. Aggregation   COH             130382270036                Gas           Gov. Aggregation
COH             157854340066                Gas           Gov. Aggregation   COH             115123210053                Gas           Gov. Aggregation
COH             162957640022                Gas           Gov. Aggregation   COH             205634630053                Gas           Gov. Aggregation
COH             121846060037                Gas           Gov. Aggregation   COH             200069690028                Gas           Gov. Aggregation
COH             198520310015                Gas           Gov. Aggregation   COH             206234260012                Gas           Gov. Aggregation
COH             136836940269                Gas           Gov. Aggregation   COH             206431720017                Gas           Gov. Aggregation
COH             167056710077                Gas           Gov. Aggregation   COH             161258690034                Gas           Gov. Aggregation
COH             167442270017                Gas           Gov. Aggregation   COH             203427880025                Gas           Gov. Aggregation
COH             117343390021                Gas           Gov. Aggregation   COH             209144600018                Gas           Gov. Aggregation
COH             166186450014                Gas           Gov. Aggregation   COH             204750640038                Gas           Gov. Aggregation
COH             153043970030                Gas           Gov. Aggregation   COH             145778740068                Gas           Gov. Aggregation
COH             142251910034                Gas           Gov. Aggregation   COH             206059640014                Gas           Gov. Aggregation
COH             192131294106                Gas           Gov. Aggregation   COH             114984560020                Gas           Gov. Aggregation
COH             192131294384                Gas           Gov. Aggregation   COH             114984560039                Gas           Gov. Aggregation
COH             192131294419                Gas           Gov. Aggregation   COH             186450260091                Gas           Gov. Aggregation
COH             192131294553                Gas           Gov. Aggregation   COH             202243380012                Gas           Gov. Aggregation
COH             195191430085                Gas           Gov. Aggregation   COH             208867660015                Gas           Gov. Aggregation
COH             146374580058                Gas           Gov. Aggregation   COH             202292600012                Gas           Gov. Aggregation
COH             129850300039                Gas           Gov. Aggregation   COH             205013150023                Gas           Gov. Aggregation
COH             197764920012                Gas           Gov. Aggregation   COH             207499140034                Gas           Gov. Aggregation
COH             197764930010                Gas           Gov. Aggregation   COH             198231270035                Gas           Gov. Aggregation
COH             170610140012                Gas           Gov. Aggregation   COH             148236070064                Gas           Gov. Aggregation
COH             117322190018                Gas           Gov. Aggregation   COH             206591370102                Gas           Gov. Aggregation
COH             162418120032                Gas           Gov. Aggregation   COH             200880850033                Gas           Gov. Aggregation
COH             191586780016                Gas           Gov. Aggregation   COH             144707120068                Gas           Gov. Aggregation
COH             200361390012                Gas           Gov. Aggregation   COH             192799120067                Gas           Gov. Aggregation
COH             200250550013                Gas           Gov. Aggregation   COH             192799120058                Gas           Gov. Aggregation
COH             200019940011                Gas           Gov. Aggregation   COH             209160650014                Gas           Gov. Aggregation
COH             200066530018                Gas           Gov. Aggregation   COH             208651140011                Gas           Gov. Aggregation
COH             198815010013                Gas           Gov. Aggregation   COH             198014870011                Gas           Gov. Aggregation
COH             111268810019                Gas           Gov. Aggregation   COH             195960340038                Gas           Gov. Aggregation
COH             199158030012                Gas           Gov. Aggregation   COH             114989370066                Gas           Gov. Aggregation
COH             199350500015                Gas           Gov. Aggregation   COH             194550030033                Gas           Gov. Aggregation
COH             167298000136                Gas           Gov. Aggregation   COH             138204870047                Gas           Gov. Aggregation
COH             199655670014                Gas           Gov. Aggregation   COH             209447170017                Gas           Gov. Aggregation
COH             196560110024                Gas           Gov. Aggregation   COH             114911670011                Gas           Gov. Aggregation
COH             201124420016                Gas           Gov. Aggregation   COH             194164030041                Gas           Gov. Aggregation
COH             201268570011                Gas           Gov. Aggregation   COH             202007580029                Gas           Gov. Aggregation
COH             200741220011                Gas           Gov. Aggregation   COH             198890870033                Gas           Gov. Aggregation
COH             200449940010                Gas           Gov. Aggregation   COH             208881910012                Gas           Gov. Aggregation
VEDO            4018168092610139            Gas           Gov. Aggregation   COH             198657050011                Gas           Gov. Aggregation
VEDO            4010084442558816            Gas           Gov. Aggregation   COH             208419530011                Gas           Gov. Aggregation
VEDO            4016976012609965            Gas           Gov. Aggregation   COH             208881930018                Gas           Gov. Aggregation
VEDO            4002598282610134            Gas           Gov. Aggregation   COH             205847520019                Gas           Gov. Aggregation
VEDO            4018212642270486            Gas           Gov. Aggregation   COH             206739550020                Gas           Gov. Aggregation
VEDO            4010091402513702            Gas           Gov. Aggregation   COH             207387650025                Gas           Gov. Aggregation
VEDO            4018663522272578            Gas           Gov. Aggregation   COH             209157700010                Gas           Gov. Aggregation
VEDO            4019832352279120            Gas           Gov. Aggregation   COH             165004810139                Gas           Gov. Aggregation
COH             201116900012                Gas           Gov. Aggregation   COH             114931000019                Gas           Gov. Aggregation
COH             192878300034                Gas           Gov. Aggregation   COH             114930530010                Gas           Gov. Aggregation
COH             194195330034                Gas           Gov. Aggregation   COH             187820220075                Gas           Gov. Aggregation
COH             201543100015                Gas           Gov. Aggregation   COH             209061450016                Gas           Gov. Aggregation
VEDO            4018065072398126            Gas           Gov. Aggregation   COH             188865080043                Gas           Gov. Aggregation
COH             202189840011                Gas           Gov. Aggregation   COH             208199550015                Gas           Gov. Aggregation
COH             145404240028                Gas           Gov. Aggregation   COH             170587340057                Gas           Gov. Aggregation
COH             165352270047                Gas           Gov. Aggregation   COH             208204970014                Gas           Gov. Aggregation
VEDO            4003121412643592            Gas           Gov. Aggregation   COH             203457870051                Gas           Gov. Aggregation
VEDO            4018958222629849            Gas           Gov. Aggregation   COH             209087160013                Gas           Gov. Aggregation
VEDO            4002563292625956            Gas           Gov. Aggregation   COH             198284210027                Gas           Gov. Aggregation
VEDO            4016665422603679            Gas           Gov. Aggregation   COH             195352070025                Gas           Gov. Aggregation
VEDO            4018080612631895            Gas           Gov. Aggregation   COH             204168880024                Gas           Gov. Aggregation
COH             198584830012                Gas           Gov. Aggregation   COH             201268450016                Gas           Gov. Aggregation
COH             197975510011                Gas           Gov. Aggregation   COH             208155450018                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             200824950012                Gas           Gov. Aggregation   COH             208662480017                Gas           Gov. Aggregation
COH             202292900019                Gas           Gov. Aggregation   COH             201668220034                Gas           Gov. Aggregation
COH             199737820018                Gas           Gov. Aggregation   COH             192017150094                Gas           Gov. Aggregation
DEO             0180002986489               Gas           Gov. Aggregation   COH             201162840018                Gas           Gov. Aggregation
DEO             1421003910065               Gas           Gov. Aggregation   COH             207327070014                Gas           Gov. Aggregation
DEO             5180002268214               Gas           Gov. Aggregation   COH             207044870025                Gas           Gov. Aggregation
DEO             3180004596518               Gas           Gov. Aggregation   COH             200526430031                Gas           Gov. Aggregation
DEO             3180003058022               Gas           Gov. Aggregation   COH             198631050042                Gas           Gov. Aggregation
DEO             8180004361128               Gas           Gov. Aggregation   COH             127057040056                Gas           Gov. Aggregation
DEO             4180001566058               Gas           Gov. Aggregation   COH             208668810015                Gas           Gov. Aggregation
DEO             2180003162714               Gas           Gov. Aggregation   COH             132042980053                Gas           Gov. Aggregation
DEO             9180003867861               Gas           Gov. Aggregation   COH             204974200036                Gas           Gov. Aggregation
DEO             3180003749682               Gas           Gov. Aggregation   COH             209161440016                Gas           Gov. Aggregation
DEO             4500011804213               Gas           Gov. Aggregation   COH             187283380036                Gas           Gov. Aggregation
DEO             4180001665044               Gas           Gov. Aggregation   COH             164120210032                Gas           Gov. Aggregation
DEO             6180003598846               Gas           Gov. Aggregation   COH             208138640014                Gas           Gov. Aggregation
DEO             2180004354447               Gas           Gov. Aggregation   COH             208668260011                Gas           Gov. Aggregation
DEO             9180004474941               Gas           Gov. Aggregation   COH             208388570010                Gas           Gov. Aggregation
DEO             8180001853626               Gas           Gov. Aggregation   COH             205446400041                Gas           Gov. Aggregation
DEO             3180004092121               Gas           Gov. Aggregation   COH             150707640374                Gas           Gov. Aggregation
DEO             3180001245303               Gas           Gov. Aggregation   COH             140904870085                Gas           Gov. Aggregation
COH             199120890011                Gas           Gov. Aggregation   COH             207576220015                Gas           Gov. Aggregation
COH             200581180010                Gas           Gov. Aggregation   COH             209345870016                Gas           Gov. Aggregation
COH             193128040037                Gas           Gov. Aggregation   COH             139661500072                Gas           Gov. Aggregation
COH             196976470019                Gas           Gov. Aggregation   COH             206570990017                Gas           Gov. Aggregation
COH             195804770029                Gas           Gov. Aggregation   COH             200999040032                Gas           Gov. Aggregation
COH             146732650017                Gas           Gov. Aggregation   COH             119603530036                Gas           Gov. Aggregation
COH             110883100024                Gas           Gov. Aggregation   COH             131057200074                Gas           Gov. Aggregation
COH             190964450014                Gas           Gov. Aggregation   COH             206145870013                Gas           Gov. Aggregation
COH             199145340014                Gas           Gov. Aggregation   COH             207854530010                Gas           Gov. Aggregation
COH             147326980045                Gas           Gov. Aggregation   COH             209212780016                Gas           Gov. Aggregation
COH             208848730010                Gas           Gov. Aggregation   COH             202547650039                Gas           Gov. Aggregation
COH             207233650020                Gas           Gov. Aggregation   COH             206265880026                Gas           Gov. Aggregation
COH             205163840067                Gas           Gov. Aggregation   COH             208447420015                Gas           Gov. Aggregation
COH             121946180012                Gas           Gov. Aggregation   COH             115031790039                Gas           Gov. Aggregation
COH             208983520018                Gas           Gov. Aggregation   COH             199820240068                Gas           Gov. Aggregation
COH             194680330026                Gas           Gov. Aggregation   COH             198300700064                Gas           Gov. Aggregation
COH             200193920026                Gas           Gov. Aggregation   COH             208952660014                Gas           Gov. Aggregation
COH             208855690014                Gas           Gov. Aggregation   COH             208736590017                Gas           Gov. Aggregation
COH             208966080017                Gas           Gov. Aggregation   COH             206412180011                Gas           Gov. Aggregation
COH             206277850018                Gas           Gov. Aggregation   COH             114910090015                Gas           Gov. Aggregation
COH             208885610035                Gas           Gov. Aggregation   COH             206207300010                Gas           Gov. Aggregation
COH             208885610017                Gas           Gov. Aggregation   COH             202515660016                Gas           Gov. Aggregation
COH             123751340028                Gas           Gov. Aggregation   COH             207939250591                Gas           Gov. Aggregation
COH             208819750017                Gas           Gov. Aggregation   COH             114901270016                Gas           Gov. Aggregation
COH             208985400019                Gas           Gov. Aggregation   COH             207102090034                Gas           Gov. Aggregation
COH             209135390012                Gas           Gov. Aggregation   COH             176276100032                Gas           Gov. Aggregation
COH             165141470131                Gas           Gov. Aggregation   COH             209422540011                Gas           Gov. Aggregation
COH             123744030019                Gas           Gov. Aggregation   COH             206045280019                Gas           Gov. Aggregation
COH             208928270017                Gas           Gov. Aggregation   COH             206136430014                Gas           Gov. Aggregation
COH             209135280015                Gas           Gov. Aggregation   COH             207637490019                Gas           Gov. Aggregation
COH             163620970034                Gas           Gov. Aggregation   COH             141166010044                Gas           Gov. Aggregation
COH             196483830027                Gas           Gov. Aggregation   COH             136655190010                Gas           Gov. Aggregation
COH             209064800016                Gas           Gov. Aggregation   COH             172893390010                Gas           Gov. Aggregation
COH             164166050021                Gas           Gov. Aggregation   COH             166946490014                Gas           Gov. Aggregation
COH             204622160021                Gas           Gov. Aggregation   COH             153080570018                Gas           Gov. Aggregation
COH             194641330055                Gas           Gov. Aggregation   COH             152858990012                Gas           Gov. Aggregation
COH             208839680010                Gas           Gov. Aggregation   COH             152858990021                Gas           Gov. Aggregation
COH             199118340048                Gas           Gov. Aggregation   COH             114702620014                Gas           Gov. Aggregation
COH             209201300019                Gas           Gov. Aggregation   COH             157622540010                Gas           Gov. Aggregation
COH             123836160053                Gas           Gov. Aggregation   COH             156439050013                Gas           Gov. Aggregation
COH             209241220012                Gas           Gov. Aggregation   COH             118068650038                Gas           Gov. Aggregation
COH             123747130021                Gas           Gov. Aggregation   COH             157837920015                Gas           Gov. Aggregation
COH             165272850054                Gas           Gov. Aggregation   COH             168783470012                Gas           Gov. Aggregation
COH             207428820012                Gas           Gov. Aggregation   COH             190511080011                Gas           Gov. Aggregation
COH             200417860041                Gas           Gov. Aggregation   COH             114703560015                Gas           Gov. Aggregation
COH             208913190015                Gas           Gov. Aggregation   COH             118150800040                Gas           Gov. Aggregation
COH             150930980138                Gas           Gov. Aggregation   COH             161533380017                Gas           Gov. Aggregation
COH             208991930015                Gas           Gov. Aggregation   COH             114681880025                Gas           Gov. Aggregation
COH             176207680036                Gas           Gov. Aggregation   COH             187823350018                Gas           Gov. Aggregation
COH             148468150020                Gas           Gov. Aggregation   COH             146178570029                Gas           Gov. Aggregation
COH             205521100017                Gas           Gov. Aggregation   COH             186200740017                Gas           Gov. Aggregation
COH             209177850017                Gas           Gov. Aggregation   COH             140249910068                Gas           Gov. Aggregation
COH             209081060016                Gas           Gov. Aggregation   COH             133672630023                Gas           Gov. Aggregation
COH             195585010060                Gas           Gov. Aggregation   COH             114909730013                Gas           Gov. Aggregation
COH             209149900015                Gas           Gov. Aggregation   COH             122374130032                Gas           Gov. Aggregation
COH             208903160012                Gas           Gov. Aggregation   COH             122427840021                Gas           Gov. Aggregation
COH             152286240361                Gas           Gov. Aggregation   COH             163552270036                Gas           Gov. Aggregation
COH             200860150023                Gas           Gov. Aggregation   COH             140332810053                Gas           Gov. Aggregation
COH             204840530030                Gas           Gov. Aggregation   COH             191607830019                Gas           Gov. Aggregation
COH             188374870066                Gas           Gov. Aggregation   COH             141287230015                Gas           Gov. Aggregation
COH             203932300016                Gas           Gov. Aggregation   COH             153443510010                Gas           Gov. Aggregation
COH             205700520019                Gas           Gov. Aggregation   COH             153536620010                Gas           Gov. Aggregation
COH             206074010014                Gas           Gov. Aggregation   COH             121966570081                Gas           Gov. Aggregation
COH             209241150017                Gas           Gov. Aggregation   COH             171443810015                Gas           Gov. Aggregation
COH             208991890014                Gas           Gov. Aggregation   COH             174100950028                Gas           Gov. Aggregation
COH             208238220010                Gas           Gov. Aggregation   COH             168452830017                Gas           Gov. Aggregation
COH             206163190027                Gas           Gov. Aggregation   COH             190607480014                Gas           Gov. Aggregation
COH             208781980029                Gas           Gov. Aggregation   COH             141052720019                Gas           Gov. Aggregation
COH             209141490018                Gas           Gov. Aggregation   COH             130078930014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             207034210015                Gas           Gov. Aggregation   COH             142981020016                Gas           Gov. Aggregation
COH             197233020025                Gas           Gov. Aggregation   COH             192919580010                Gas           Gov. Aggregation
COH             168864750039                Gas           Gov. Aggregation   COH             115829490022                Gas           Gov. Aggregation
COH             177199870025                Gas           Gov. Aggregation   COH             148371110014                Gas           Gov. Aggregation
COH             190801240030                Gas           Gov. Aggregation   COH             147962480015                Gas           Gov. Aggregation
COH             196799140023                Gas           Gov. Aggregation   COH             137561510038                Gas           Gov. Aggregation
COH             203218750016                Gas           Gov. Aggregation   COH             143626370014                Gas           Gov. Aggregation
COH             206380040019                Gas           Gov. Aggregation   COH             158342050052                Gas           Gov. Aggregation
COH             206421330038                Gas           Gov. Aggregation   COH             192654920010                Gas           Gov. Aggregation
COH             206428180018                Gas           Gov. Aggregation   VEDO            4016332422340804            Gas           Gov. Aggregation
COH             206522070011                Gas           Gov. Aggregation   COH             195507040013                Gas           Gov. Aggregation
COH             206673780013                Gas           Gov. Aggregation   COH             195271510015                Gas           Gov. Aggregation
COH             208132520011                Gas           Gov. Aggregation   COH             196162760013                Gas           Gov. Aggregation
COH             208132590017                Gas           Gov. Aggregation   COH             196967090018                Gas           Gov. Aggregation
COH             208196970013                Gas           Gov. Aggregation   COH             194554760014                Gas           Gov. Aggregation
COH             208409090015                Gas           Gov. Aggregation   COH             186384110011                Gas           Gov. Aggregation
COH             208545110012                Gas           Gov. Aggregation   COH             172951340025                Gas           Gov. Aggregation
COH             209201280014                Gas           Gov. Aggregation   COH             193170260014                Gas           Gov. Aggregation
COH             204469320023                Gas           Gov. Aggregation   COH             194756730012                Gas           Gov. Aggregation
COH             208996460014                Gas           Gov. Aggregation   COH             195944650019                Gas           Gov. Aggregation
COH             209047950011                Gas           Gov. Aggregation   COH             195643730010                Gas           Gov. Aggregation
COH             209135200011                Gas           Gov. Aggregation   COH             193059590011                Gas           Gov. Aggregation
COH             201371110036                Gas           Gov. Aggregation   COH             189923430017                Gas           Gov. Aggregation
COH             209124090018                Gas           Gov. Aggregation   COH             202676100013                Gas           Gov. Aggregation
COH             209163320017                Gas           Gov. Aggregation   COH             202816530015                Gas           Gov. Aggregation
COH             173036370091                Gas           Gov. Aggregation   COH             202853500013                Gas           Gov. Aggregation
COH             203852930023                Gas           Gov. Aggregation   COH             202894160019                Gas           Gov. Aggregation
COH             209180530017                Gas           Gov. Aggregation   COH             177504660011                Gas           Gov. Aggregation
COH             195367110025                Gas           Gov. Aggregation   COH             177198790015                Gas           Gov. Aggregation
COH             208941990018                Gas           Gov. Aggregation   COH             156051390014                Gas           Gov. Aggregation
COH             116551750025                Gas           Gov. Aggregation   DUKE            3500392402                  Gas           Gov. Aggregation
COH             188698680033                Gas           Gov. Aggregation   DUKE            4950391602                  Gas           Gov. Aggregation
COH             199313180020                Gas           Gov. Aggregation   DUKE            1030391602                  Gas           Gov. Aggregation
COH             208805900014                Gas           Gov. Aggregation   DUKE            4160390702                  Gas           Gov. Aggregation
COH             209149860014                Gas           Gov. Aggregation   DUKE            1530390702                  Gas           Gov. Aggregation
COH             193622790078                Gas           Gov. Aggregation   DUKE            3090393501                  Gas           Gov. Aggregation
COH             207345050029                Gas           Gov. Aggregation   DUKE            8690392802                  Gas           Gov. Aggregation
COH             191088030037                Gas           Gov. Aggregation   DUKE            7930397702                  Gas           Gov. Aggregation
COH             209146180013                Gas           Gov. Aggregation   DUKE            4700396602                  Gas           Gov. Aggregation
COH             203982730011                Gas           Gov. Aggregation   DUKE            9930397702                  Gas           Gov. Aggregation
COH             207761170013                Gas           Gov. Aggregation   DUKE            0440392102                  Gas           Gov. Aggregation
COH             208868700014                Gas           Gov. Aggregation   DUKE            7200202802                  Gas           Gov. Aggregation
COH             208868710012                Gas           Gov. Aggregation   DUKE            1600391002                  Gas           Gov. Aggregation
COH             209032560014                Gas           Gov. Aggregation   DUKE            9810392002                  Gas           Gov. Aggregation
COH             209224920011                Gas           Gov. Aggregation   DUKE            8950392802                  Gas           Gov. Aggregation
COH             202651690012                Gas           Gov. Aggregation   DUKE            3240390402                  Gas           Gov. Aggregation
COH             204421030015                Gas           Gov. Aggregation   DUKE            6050009122                  Gas           Gov. Aggregation
COH             207374690015                Gas           Gov. Aggregation   DUKE            7350351204                  Gas           Gov. Aggregation
COH             209172600019                Gas           Gov. Aggregation   DUKE            7050009125                  Gas           Gov. Aggregation
COH             167052790113                Gas           Gov. Aggregation   DUKE            2420353003                  Gas           Gov. Aggregation
COH             208803270011                Gas           Gov. Aggregation   DUKE            3590353405                  Gas           Gov. Aggregation
COH             205654730014                Gas           Gov. Aggregation   DUKE            2440357402                  Gas           Gov. Aggregation
COH             201909540035                Gas           Gov. Aggregation   DUKE            5150009120                  Gas           Gov. Aggregation
COH             203672290011                Gas           Gov. Aggregation   DUKE            0610080123                  Gas           Gov. Aggregation
COH             201989610050                Gas           Gov. Aggregation   DUKE            1540079425                  Gas           Gov. Aggregation
COH             203394570021                Gas           Gov. Aggregation   DUKE            3720083922                  Gas           Gov. Aggregation
COH             208928080017                Gas           Gov. Aggregation   DUKE            9270084122                  Gas           Gov. Aggregation
COH             121922180021                Gas           Gov. Aggregation   DUKE            8150009143                  Gas           Gov. Aggregation
COH             207077280020                Gas           Gov. Aggregation   DUKE            7650079627                  Gas           Gov. Aggregation
COH             207105150017                Gas           Gov. Aggregation   DUKE            7280080723                  Gas           Gov. Aggregation
COH             209084020018                Gas           Gov. Aggregation   DUKE            7690071422                  Gas           Gov. Aggregation
COH             208965940018                Gas           Gov. Aggregation   DUKE            6750009124                  Gas           Gov. Aggregation
COH             208590520020                Gas           Gov. Aggregation   DUKE            7200353202                  Gas           Gov. Aggregation
COH             203696320032                Gas           Gov. Aggregation   DUKE            8350355002                  Gas           Gov. Aggregation
COH             209149850016                Gas           Gov. Aggregation   DUKE            7170351804                  Gas           Gov. Aggregation
COH             209084030016                Gas           Gov. Aggregation   DUKE            4740352202                  Gas           Gov. Aggregation
COH             202702360012                Gas           Gov. Aggregation   DUKE            8080352803                  Gas           Gov. Aggregation
COH             208943540018                Gas           Gov. Aggregation   DUKE            4360353402                  Gas           Gov. Aggregation
COH             209016450011                Gas           Gov. Aggregation   DUKE            6360353405                  Gas           Gov. Aggregation
COH             170735590069                Gas           Gov. Aggregation   DUKE            2620351902                  Gas           Gov. Aggregation
COH             204696540026                Gas           Gov. Aggregation   DUKE            6170351802                  Gas           Gov. Aggregation
COH             209198350018                Gas           Gov. Aggregation   DUKE            0780357404                  Gas           Gov. Aggregation
COH             208910250018                Gas           Gov. Aggregation   DUKE            1620351902                  Gas           Gov. Aggregation
COH             208894470018                Gas           Gov. Aggregation   DUKE            2740357702                  Gas           Gov. Aggregation
COH             208819550019                Gas           Gov. Aggregation   DUKE            9010356303                  Gas           Gov. Aggregation
COH             203516330012                Gas           Gov. Aggregation   DUKE            0110356302                  Gas           Gov. Aggregation
COH             208828340014                Gas           Gov. Aggregation   DUKE            1080354503                  Gas           Gov. Aggregation
COH             157941480053                Gas           Gov. Aggregation   DUKE            5030354502                  Gas           Gov. Aggregation
COH             146675950061                Gas           Gov. Aggregation   DUKE            6500360604                  Gas           Gov. Aggregation
COH             147807920092                Gas           Gov. Aggregation   DUKE            9420371703                  Gas           Gov. Aggregation
COH             205571010011                Gas           Gov. Aggregation   DUKE            4630368403                  Gas           Gov. Aggregation
COH             192599840024                Gas           Gov. Aggregation   DUKE            4720366503                  Gas           Gov. Aggregation
COH             208911470010                Gas           Gov. Aggregation   DUKE            7170360202                  Gas           Gov. Aggregation
COH             186633640011                Gas           Gov. Aggregation   DUKE            0970361902                  Gas           Gov. Aggregation
COH             205718850013                Gas           Gov. Aggregation   DUKE            9870361903                  Gas           Gov. Aggregation
COH             209194490017                Gas           Gov. Aggregation   DUKE            9880212002                  Gas           Gov. Aggregation
COH             207961190015                Gas           Gov. Aggregation   DUKE            0150218802                  Gas           Gov. Aggregation
COH             209241080012                Gas           Gov. Aggregation   DUKE            5500213003                  Gas           Gov. Aggregation
COH             139518380928                Gas           Gov. Aggregation   DUKE            2940210202                  Gas           Gov. Aggregation
COH             111122450013                Gas           Gov. Aggregation   DUKE            3530212402                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             111121660039                Gas           Gov. Aggregation   DUKE         9620208407                  Gas           Gov. Aggregation
COH             194742870030                Gas           Gov. Aggregation   DUKE         7470209403                  Gas           Gov. Aggregation
COH             208958400016                Gas           Gov. Aggregation   DUKE         0720208403                  Gas           Gov. Aggregation
COH             197765470024                Gas           Gov. Aggregation   DUKE         3900082921                  Gas           Gov. Aggregation
COH             208976780019                Gas           Gov. Aggregation   DUKE         9340083222                  Gas           Gov. Aggregation
COH             209123940011                Gas           Gov. Aggregation   DUKE         8460014623                  Gas           Gov. Aggregation
COH             157264520023                Gas           Gov. Aggregation   DUKE         7780080224                  Gas           Gov. Aggregation
COH             209064990017                Gas           Gov. Aggregation   DUKE         4730080322                  Gas           Gov. Aggregation
COH             209232920014                Gas           Gov. Aggregation   DUKE         9770081623                  Gas           Gov. Aggregation
COH             202008230020                Gas           Gov. Aggregation   DUKE         6560085032                  Gas           Gov. Aggregation
COH             208253560026                Gas           Gov. Aggregation   DUKE         1540082122                  Gas           Gov. Aggregation
COH             208965890019                Gas           Gov. Aggregation   DUKE         8450081127                  Gas           Gov. Aggregation
COH             205295580027                Gas           Gov. Aggregation   DUKE         4470084424                  Gas           Gov. Aggregation
COH             149756410121                Gas           Gov. Aggregation   DUKE         9310085423                  Gas           Gov. Aggregation
COH             208812170013                Gas           Gov. Aggregation   DUKE         7310086626                  Gas           Gov. Aggregation
COH             208804050015                Gas           Gov. Aggregation   DUKE         9330085823                  Gas           Gov. Aggregation
COH             209044370019                Gas           Gov. Aggregation   DUKE         5640080624                  Gas           Gov. Aggregation
COH             193803920058                Gas           Gov. Aggregation   DUKE         4640080622                  Gas           Gov. Aggregation
COH             111121240028                Gas           Gov. Aggregation   DUKE         0380085921                  Gas           Gov. Aggregation
COH             208943520012                Gas           Gov. Aggregation   DUKE         8400081826                  Gas           Gov. Aggregation
COH             201307660018                Gas           Gov. Aggregation   DUKE         5520088621                  Gas           Gov. Aggregation
COH             201848570011                Gas           Gov. Aggregation   DUKE         9190087821                  Gas           Gov. Aggregation
COH             202355130017                Gas           Gov. Aggregation   DUKE         1210084823                  Gas           Gov. Aggregation
COH             136490850020                Gas           Gov. Aggregation   DUKE         2550212003                  Gas           Gov. Aggregation
COH             189038490049                Gas           Gov. Aggregation   DUKE         1680201602                  Gas           Gov. Aggregation
COH             199268160030                Gas           Gov. Aggregation   DUKE         2440200702                  Gas           Gov. Aggregation
COH             204973160055                Gas           Gov. Aggregation   DUKE         0520217302                  Gas           Gov. Aggregation
COH             199179090034                Gas           Gov. Aggregation   DUKE         7980204903                  Gas           Gov. Aggregation
COH             208894030010                Gas           Gov. Aggregation   DUKE         3460074822                  Gas           Gov. Aggregation
COH             208861960014                Gas           Gov. Aggregation   DUKE         6500203204                  Gas           Gov. Aggregation
COH             208107700016                Gas           Gov. Aggregation   DUKE         5400084621                  Gas           Gov. Aggregation
COH             208132160017                Gas           Gov. Aggregation   DUKE         2680394902                  Gas           Gov. Aggregation
COH             162297530052                Gas           Gov. Aggregation   DUKE         4090211203                  Gas           Gov. Aggregation
COH             162298200013                Gas           Gov. Aggregation   DUKE         9130203502                  Gas           Gov. Aggregation
COH             191949210015                Gas           Gov. Aggregation   DUKE         5440200708                  Gas           Gov. Aggregation
COH             174885270029                Gas           Gov. Aggregation   DUKE         2360212004                  Gas           Gov. Aggregation
COH             174885370019                Gas           Gov. Aggregation   DUKE         6940223604                  Gas           Gov. Aggregation
COH             190427000016                Gas           Gov. Aggregation   DUKE         4270014625                  Gas           Gov. Aggregation
COH             190484990019                Gas           Gov. Aggregation   DUKE         2760014621                  Gas           Gov. Aggregation
COH             122516980023                Gas           Gov. Aggregation   DUKE         6190210503                  Gas           Gov. Aggregation
COH             122524320122                Gas           Gov. Aggregation   DUKE         1500214802                  Gas           Gov. Aggregation
COH             122564970042                Gas           Gov. Aggregation   DUKE         8170014624                  Gas           Gov. Aggregation
COH             134921110022                Gas           Gov. Aggregation   DUKE         8310211304                  Gas           Gov. Aggregation
COH             147267550087                Gas           Gov. Aggregation   DUKE         1080212511                  Gas           Gov. Aggregation
COH             147494570242                Gas           Gov. Aggregation   DUKE         6740217203                  Gas           Gov. Aggregation
COH             147794590046                Gas           Gov. Aggregation   DUKE         2700214506                  Gas           Gov. Aggregation
COH             164454570021                Gas           Gov. Aggregation   DUKE         6630221803                  Gas           Gov. Aggregation
COH             164525710039                Gas           Gov. Aggregation   DUKE         7280380503                  Gas           Gov. Aggregation
COH             201080060016                Gas           Gov. Aggregation   DUKE         0550014621                  Gas           Gov. Aggregation
COH             196328160017                Gas           Gov. Aggregation   DUKE         1550014631                  Gas           Gov. Aggregation
COH             196382470018                Gas           Gov. Aggregation   DUKE         7450014626                  Gas           Gov. Aggregation
COH             202688670019                Gas           Gov. Aggregation   DUKE         3550014620                  Gas           Gov. Aggregation
COH             201968640012                Gas           Gov. Aggregation   DUKE         7260014622                  Gas           Gov. Aggregation
COH             201772130014                Gas           Gov. Aggregation   DUKE         6260014620                  Gas           Gov. Aggregation
COH             201786330013                Gas           Gov. Aggregation   DUKE         3260014639                  Gas           Gov. Aggregation
COH             177380500036                Gas           Gov. Aggregation   DUKE         2470355802                  Gas           Gov. Aggregation
COH             191982850066                Gas           Gov. Aggregation   DUKE         4460088229                  Gas           Gov. Aggregation
VEDO            4004265762429650            Gas           Gov. Aggregation   DUKE         7650014630                  Gas           Gov. Aggregation
COH             201604450012                Gas           Gov. Aggregation   DUKE         9640078722                  Gas           Gov. Aggregation
DEO             3500005518037               Gas           Gov. Aggregation   DUKE         7580211502                  Gas           Gov. Aggregation
COH             201725330011                Gas           Gov. Aggregation   DUKE         0960014625                  Gas           Gov. Aggregation
COH             196107120022                Gas           Gov. Aggregation   DUKE         4170014625                  Gas           Gov. Aggregation
COH             193856500019                Gas           Gov. Aggregation   DUKE         4320213307                  Gas           Gov. Aggregation
COH             191509040022                Gas           Gov. Aggregation   DUKE         1720216104                  Gas           Gov. Aggregation
COH             201270570016                Gas           Gov. Aggregation   DUKE         0080212505                  Gas           Gov. Aggregation
COH             161612470029                Gas           Gov. Aggregation   DUKE         8070014624                  Gas           Gov. Aggregation
COH             161198060034                Gas           Gov. Aggregation   DUKE         7330385003                  Gas           Gov. Aggregation
COH             167405530038                Gas           Gov. Aggregation   DUKE         8560369102                  Gas           Gov. Aggregation
COH             151547630017                Gas           Gov. Aggregation   DUKE         4820364802                  Gas           Gov. Aggregation
COH             173797580031                Gas           Gov. Aggregation   DUKE         3600360203                  Gas           Gov. Aggregation
COH             195595610027                Gas           Gov. Aggregation   DUKE         5150362102                  Gas           Gov. Aggregation
COH             157215080029                Gas           Gov. Aggregation   DUKE         0130366804                  Gas           Gov. Aggregation
COH             110571440024                Gas           Gov. Aggregation   DUKE         9800393002                  Gas           Gov. Aggregation
COH             110567630023                Gas           Gov. Aggregation   DUKE         4700355002                  Gas           Gov. Aggregation
COH             110645490036                Gas           Gov. Aggregation   DUKE         5550356304                  Gas           Gov. Aggregation
COH             197461460011                Gas           Gov. Aggregation   DUKE         7820350404                  Gas           Gov. Aggregation
COH             199569890011                Gas           Gov. Aggregation   DUKE         0500217403                  Gas           Gov. Aggregation
COH             200853820018                Gas           Gov. Aggregation   DUKE         0500355906                  Gas           Gov. Aggregation
COH             132633640033                Gas           Gov. Aggregation   DUKE         3330362601                  Gas           Gov. Aggregation
COH             188950800013                Gas           Gov. Aggregation   DUKE         6310362603                  Gas           Gov. Aggregation
COH             154056900054                Gas           Gov. Aggregation   DUKE         5430363808                  Gas           Gov. Aggregation
COH             168965710015                Gas           Gov. Aggregation   DUKE         2440368603                  Gas           Gov. Aggregation
COH             166057350018                Gas           Gov. Aggregation   DUKE         4090360403                  Gas           Gov. Aggregation
COH             167205510018                Gas           Gov. Aggregation   DUKE         5060216007                  Gas           Gov. Aggregation
COH             143729990025                Gas           Gov. Aggregation   DUKE         3900218105                  Gas           Gov. Aggregation
COH             200517230014                Gas           Gov. Aggregation   DUKE         1830224705                  Gas           Gov. Aggregation
COH             169058310011                Gas           Gov. Aggregation   DUKE         3420217202                  Gas           Gov. Aggregation
COH             110638230035                Gas           Gov. Aggregation   DUKE         2490218504                  Gas           Gov. Aggregation
COH             193080270022                Gas           Gov. Aggregation   DUKE         9330390001                  Gas           Gov. Aggregation
COH             153664770027                Gas           Gov. Aggregation   DUKE         3310354902                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             192715250011                Gas           Gov. Aggregation   DUKE         6860221903                  Gas           Gov. Aggregation
COH             193031380022                Gas           Gov. Aggregation   DUKE         7340224902                  Gas           Gov. Aggregation
COH             195131730015                Gas           Gov. Aggregation   DUKE         3460216102                  Gas           Gov. Aggregation
COH             158777510170                Gas           Gov. Aggregation   DUKE         7990395602                  Gas           Gov. Aggregation
COH             110609850018                Gas           Gov. Aggregation   DUKE         1670216103                  Gas           Gov. Aggregation
COH             114434900023                Gas           Gov. Aggregation   DUKE         7570216403                  Gas           Gov. Aggregation
COH             197221980010                Gas           Gov. Aggregation   DUKE         4840218208                  Gas           Gov. Aggregation
COH             198614230013                Gas           Gov. Aggregation   DUKE         0450354103                  Gas           Gov. Aggregation
COH             203141550011                Gas           Gov. Aggregation   DUKE         0630216003                  Gas           Gov. Aggregation
COH             163553690063                Gas           Gov. Aggregation   DUKE         3520221002                  Gas           Gov. Aggregation
COH             110638090080                Gas           Gov. Aggregation   DUKE         9910224004                  Gas           Gov. Aggregation
COH             186249720028                Gas           Gov. Aggregation   DUKE         3230361803                  Gas           Gov. Aggregation
COH             193956900022                Gas           Gov. Aggregation   DUKE         4900224503                  Gas           Gov. Aggregation
COH             194145360015                Gas           Gov. Aggregation   DUKE         0590359606                  Gas           Gov. Aggregation
COH             194391540016                Gas           Gov. Aggregation   DUKE         6580353008                  Gas           Gov. Aggregation
COH             176967950020                Gas           Gov. Aggregation   DUKE         1570384102                  Gas           Gov. Aggregation
COH             177462840013                Gas           Gov. Aggregation   DUKE         7270215403                  Gas           Gov. Aggregation
COH             177240590016                Gas           Gov. Aggregation   DUKE         1000361003                  Gas           Gov. Aggregation
COH             123668720034                Gas           Gov. Aggregation   DUKE         9200222207                  Gas           Gov. Aggregation
COH             123715740020                Gas           Gov. Aggregation   DUKE         6250215305                  Gas           Gov. Aggregation
COH             123708410042                Gas           Gov. Aggregation   DUKE         4900350102                  Gas           Gov. Aggregation
COH             123637480049                Gas           Gov. Aggregation   DUKE         7030215703                  Gas           Gov. Aggregation
COH             123730970039                Gas           Gov. Aggregation   DUKE         8600218202                  Gas           Gov. Aggregation
COH             152716420039                Gas           Gov. Aggregation   DUKE         8700215703                  Gas           Gov. Aggregation
COH             156130640022                Gas           Gov. Aggregation   DUKE         6570219504                  Gas           Gov. Aggregation
COH             158217920018                Gas           Gov. Aggregation   DUKE         9890357002                  Gas           Gov. Aggregation
COH             143720720029                Gas           Gov. Aggregation   DUKE         4620361302                  Gas           Gov. Aggregation
COH             162691510032                Gas           Gov. Aggregation   DUKE         6520359303                  Gas           Gov. Aggregation
COH             152100030036                Gas           Gov. Aggregation   DUKE         7990367101                  Gas           Gov. Aggregation
COH             150380970020                Gas           Gov. Aggregation   DUKE         0650368902                  Gas           Gov. Aggregation
COH             198760690018                Gas           Gov. Aggregation   DUKE         3750217502                  Gas           Gov. Aggregation
COH             201817790010                Gas           Gov. Aggregation   DUKE         2440219203                  Gas           Gov. Aggregation
COH             123716420043                Gas           Gov. Aggregation   DUKE         4970218403                  Gas           Gov. Aggregation
COH             123726360027                Gas           Gov. Aggregation   DUKE         4080362903                  Gas           Gov. Aggregation
COH             187386940012                Gas           Gov. Aggregation   DUKE         7080363303                  Gas           Gov. Aggregation
COH             172479120023                Gas           Gov. Aggregation   DUKE         9980360402                  Gas           Gov. Aggregation
COH             193241970023                Gas           Gov. Aggregation   DUKE         3800366604                  Gas           Gov. Aggregation
COH             188261230023                Gas           Gov. Aggregation   DUKE         4500360403                  Gas           Gov. Aggregation
COH             199417380019                Gas           Gov. Aggregation   DUKE         0100216302                  Gas           Gov. Aggregation
COH             197146560018                Gas           Gov. Aggregation   DUKE         4060216002                  Gas           Gov. Aggregation
COH             197177840014                Gas           Gov. Aggregation   DUKE         6740216906                  Gas           Gov. Aggregation
COH             200521330014                Gas           Gov. Aggregation   DUKE         7670216103                  Gas           Gov. Aggregation
COH             158681430036                Gas           Gov. Aggregation   DUKE         6670216107                  Gas           Gov. Aggregation
COH             167476900031                Gas           Gov. Aggregation   DUKE         9670216105                  Gas           Gov. Aggregation
COH             191070260027                Gas           Gov. Aggregation   DUKE         7390217606                  Gas           Gov. Aggregation
COH             200126010019                Gas           Gov. Aggregation   DUKE         2060351402                  Gas           Gov. Aggregation
COH             198587210016                Gas           Gov. Aggregation   DUKE         9950351402                  Gas           Gov. Aggregation
COH             176495240020                Gas           Gov. Aggregation   DUKE         4390217606                  Gas           Gov. Aggregation
COH             202690630012                Gas           Gov. Aggregation   DUKE         6390217604                  Gas           Gov. Aggregation
COH             156396660044                Gas           Gov. Aggregation   DUKE         8950351402                  Gas           Gov. Aggregation
COH             189894800021                Gas           Gov. Aggregation   DUKE         7140218603                  Gas           Gov. Aggregation
COH             193234040032                Gas           Gov. Aggregation   DUKE         6140218603                  Gas           Gov. Aggregation
COH             151022350054                Gas           Gov. Aggregation   DUKE         7750218703                  Gas           Gov. Aggregation
COH             200317650029                Gas           Gov. Aggregation   DUKE         0010221302                  Gas           Gov. Aggregation
COH             191577740013                Gas           Gov. Aggregation   DUKE         1670218005                  Gas           Gov. Aggregation
COH             196637990018                Gas           Gov. Aggregation   DUKE         3670218002                  Gas           Gov. Aggregation
COH             159929910010                Gas           Gov. Aggregation   DUKE         5670218002                  Gas           Gov. Aggregation
COH             199854430012                Gas           Gov. Aggregation   DUKE         9800217803                  Gas           Gov. Aggregation
COH             144181400074                Gas           Gov. Aggregation   DUKE         0750217803                  Gas           Gov. Aggregation
COH             148808630027                Gas           Gov. Aggregation   DUKE         9910360003                  Gas           Gov. Aggregation
COH             152503770046                Gas           Gov. Aggregation   DUKE         6430217604                  Gas           Gov. Aggregation
COH             128812290015                Gas           Gov. Aggregation   DUKE         6330218705                  Gas           Gov. Aggregation
COH             123648390018                Gas           Gov. Aggregation   DUKE         1330218703                  Gas           Gov. Aggregation
COH             202286930016                Gas           Gov. Aggregation   DUKE         5500219502                  Gas           Gov. Aggregation
COH             164502920024                Gas           Gov. Aggregation   DUKE         2500219504                  Gas           Gov. Aggregation
COH             163002630017                Gas           Gov. Aggregation   DUKE         2400219503                  Gas           Gov. Aggregation
COH             198825360019                Gas           Gov. Aggregation   DUKE         6600219503                  Gas           Gov. Aggregation
COH             199258890010                Gas           Gov. Aggregation   DUKE         8600219705                  Gas           Gov. Aggregation
COH             167789040011                Gas           Gov. Aggregation   DUKE         4400220006                  Gas           Gov. Aggregation
COH             168655560176                Gas           Gov. Aggregation   DUKE         1500220003                  Gas           Gov. Aggregation
COH             187925250040                Gas           Gov. Aggregation   DUKE         7400220002                  Gas           Gov. Aggregation
COH             187818180024                Gas           Gov. Aggregation   DUKE         0910220404                  Gas           Gov. Aggregation
COH             172904740020                Gas           Gov. Aggregation   DUKE         2910220402                  Gas           Gov. Aggregation
COH             174687670098                Gas           Gov. Aggregation   DUKE         3910220405                  Gas           Gov. Aggregation
COH             174547850041                Gas           Gov. Aggregation   DUKE         4910220402                  Gas           Gov. Aggregation
COH             186666830021                Gas           Gov. Aggregation   DUKE         9540009420                  Gas           Gov. Aggregation
COH             177749760012                Gas           Gov. Aggregation   DUKE         9480221403                  Gas           Gov. Aggregation
COH             123697980020                Gas           Gov. Aggregation   DUKE         9440009422                  Gas           Gov. Aggregation
COH             123735390282                Gas           Gov. Aggregation   DUKE         3540009423                  Gas           Gov. Aggregation
COH             123735010012                Gas           Gov. Aggregation   DUKE         3520221602                  Gas           Gov. Aggregation
COH             124205890029                Gas           Gov. Aggregation   DUKE         7100352103                  Gas           Gov. Aggregation
COH             135128240026                Gas           Gov. Aggregation   DUKE         5750207202                  Gas           Gov. Aggregation
COH             135128410020                Gas           Gov. Aggregation   DUKE         9680213304                  Gas           Gov. Aggregation
COH             137854980039                Gas           Gov. Aggregation   DUKE         9320223804                  Gas           Gov. Aggregation
COH             138468580013                Gas           Gov. Aggregation   DUKE         9790357402                  Gas           Gov. Aggregation
COH             202027840013                Gas           Gov. Aggregation   DUKE         7590367202                  Gas           Gov. Aggregation
COH             161612480027                Gas           Gov. Aggregation   DUKE         3390376802                  Gas           Gov. Aggregation
COH             163836440029                Gas           Gov. Aggregation   DUKE         9570355302                  Gas           Gov. Aggregation
COH             163748110016                Gas           Gov. Aggregation   DUKE         9080220603                  Gas           Gov. Aggregation
COH             165692730040                Gas           Gov. Aggregation   DUKE         0720220204                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             148742340037                Gas           Gov. Aggregation   DUKE         0890219003                  Gas           Gov. Aggregation
COH             146172820019                Gas           Gov. Aggregation   DUKE         3390350903                  Gas           Gov. Aggregation
COH             142551620011                Gas           Gov. Aggregation   DUKE         5690221902                  Gas           Gov. Aggregation
COH             123728250017                Gas           Gov. Aggregation   DUKE         8060380802                  Gas           Gov. Aggregation
COH             123728320012                Gas           Gov. Aggregation   DUKE         1230217708                  Gas           Gov. Aggregation
COH             123727230013                Gas           Gov. Aggregation   DUKE         1750216006                  Gas           Gov. Aggregation
COH             123638360024                Gas           Gov. Aggregation   DUKE         0440218504                  Gas           Gov. Aggregation
COH             123639370020                Gas           Gov. Aggregation   DUKE         7240358807                  Gas           Gov. Aggregation
COH             123716580022                Gas           Gov. Aggregation   DUKE         9060372003                  Gas           Gov. Aggregation
COH             200104850019                Gas           Gov. Aggregation   DUKE         9630372702                  Gas           Gov. Aggregation
COH             123668840011                Gas           Gov. Aggregation   DUKE         9420374603                  Gas           Gov. Aggregation
COH             123661510032                Gas           Gov. Aggregation   DUKE         8690373003                  Gas           Gov. Aggregation
COH             123660920010                Gas           Gov. Aggregation   DUKE         8370368702                  Gas           Gov. Aggregation
COH             123720870022                Gas           Gov. Aggregation   DUKE         1470360003                  Gas           Gov. Aggregation
COH             123968260026                Gas           Gov. Aggregation   DUKE         1240009421                  Gas           Gov. Aggregation
COH             123662180021                Gas           Gov. Aggregation   DUKE         8550359104                  Gas           Gov. Aggregation
COH             168066770019                Gas           Gov. Aggregation   DUKE         9460361202                  Gas           Gov. Aggregation
COH             177469370027                Gas           Gov. Aggregation   DUKE         8050360602                  Gas           Gov. Aggregation
COH             145045310016                Gas           Gov. Aggregation   DUKE         3090225403                  Gas           Gov. Aggregation
COH             142712070015                Gas           Gov. Aggregation   DUKE         3250351203                  Gas           Gov. Aggregation
COH             172915000031                Gas           Gov. Aggregation   DUKE         6560351705                  Gas           Gov. Aggregation
COH             200280340014                Gas           Gov. Aggregation   DUKE         1660223104                  Gas           Gov. Aggregation
COH             199854450018                Gas           Gov. Aggregation   DUKE         9110217703                  Gas           Gov. Aggregation
COH             200159670012                Gas           Gov. Aggregation   DUKE         1250351202                  Gas           Gov. Aggregation
COH             198423520017                Gas           Gov. Aggregation   DUKE         1560225302                  Gas           Gov. Aggregation
COH             123724850037                Gas           Gov. Aggregation   DUKE         4470224804                  Gas           Gov. Aggregation
COH             123730880010                Gas           Gov. Aggregation   DUKE         5090225403                  Gas           Gov. Aggregation
COH             123731030016                Gas           Gov. Aggregation   DUKE         3140222104                  Gas           Gov. Aggregation
COH             201379340014                Gas           Gov. Aggregation   DUKE         7270221704                  Gas           Gov. Aggregation
COH             151076090010                Gas           Gov. Aggregation   DUKE         3110219904                  Gas           Gov. Aggregation
COH             144495950010                Gas           Gov. Aggregation   DUKE         1950351002                  Gas           Gov. Aggregation
COH             167472300026                Gas           Gov. Aggregation   DUKE         7440216702                  Gas           Gov. Aggregation
COH             167669120027                Gas           Gov. Aggregation   DUKE         2280222404                  Gas           Gov. Aggregation
COH             133263110038                Gas           Gov. Aggregation   DUKE         2900224403                  Gas           Gov. Aggregation
COH             189971410038                Gas           Gov. Aggregation   DUKE         2090224303                  Gas           Gov. Aggregation
COH             187011610023                Gas           Gov. Aggregation   DUKE         0100223403                  Gas           Gov. Aggregation
COH             152394610033                Gas           Gov. Aggregation   DUKE         8670221905                  Gas           Gov. Aggregation
COH             198498350016                Gas           Gov. Aggregation   DUKE         5530221402                  Gas           Gov. Aggregation
COH             167505090048                Gas           Gov. Aggregation   DUKE         1670221006                  Gas           Gov. Aggregation
COH             154486710062                Gas           Gov. Aggregation   DUKE         2750350204                  Gas           Gov. Aggregation
COH             153901700018                Gas           Gov. Aggregation   DUKE         1700351302                  Gas           Gov. Aggregation
COH             170932570047                Gas           Gov. Aggregation   DUKE         2930224803                  Gas           Gov. Aggregation
COH             185739680038                Gas           Gov. Aggregation   DUKE         2890223903                  Gas           Gov. Aggregation
COH             176244100011                Gas           Gov. Aggregation   DUKE         6480221402                  Gas           Gov. Aggregation
COH             198741780019                Gas           Gov. Aggregation   DUKE         4050351802                  Gas           Gov. Aggregation
COH             127014130039                Gas           Gov. Aggregation   DUKE         6240009421                  Gas           Gov. Aggregation
COH             127457220041                Gas           Gov. Aggregation   DUKE         5400350203                  Gas           Gov. Aggregation
COH             192914790016                Gas           Gov. Aggregation   DUKE         9240009424                  Gas           Gov. Aggregation
COH             199812840014                Gas           Gov. Aggregation   DUKE         0340009420                  Gas           Gov. Aggregation
COH             199542250011                Gas           Gov. Aggregation   DUKE         4340009421                  Gas           Gov. Aggregation
COH             195655010061                Gas           Gov. Aggregation   DUKE         2990203607                  Gas           Gov. Aggregation
COH             146895030022                Gas           Gov. Aggregation   DUKE         5900212002                  Gas           Gov. Aggregation
COH             155452170066                Gas           Gov. Aggregation   DUKE         0180202404                  Gas           Gov. Aggregation
COH             123682790049                Gas           Gov. Aggregation   DUKE         7530209904                  Gas           Gov. Aggregation
COH             173390530042                Gas           Gov. Aggregation   DUKE         5570212705                  Gas           Gov. Aggregation
COH             171880580027                Gas           Gov. Aggregation   DUKE         6900212007                  Gas           Gov. Aggregation
COH             202831600018                Gas           Gov. Aggregation   DUKE         6080206302                  Gas           Gov. Aggregation
COH             200938120015                Gas           Gov. Aggregation   DUKE         1480210109                  Gas           Gov. Aggregation
COH             201120870010                Gas           Gov. Aggregation   DUKE         4220207204                  Gas           Gov. Aggregation
COH             201350530014                Gas           Gov. Aggregation   DUKE         4610200104                  Gas           Gov. Aggregation
COH             201391830015                Gas           Gov. Aggregation   DUKE         9710203007                  Gas           Gov. Aggregation
COH             202727990018                Gas           Gov. Aggregation   DUKE         6820085621                  Gas           Gov. Aggregation
COH             202645010017                Gas           Gov. Aggregation   DUKE         8710082425                  Gas           Gov. Aggregation
COH             202551410012                Gas           Gov. Aggregation   DUKE         0120082525                  Gas           Gov. Aggregation
COH             202942820017                Gas           Gov. Aggregation   DUKE         7610082322                  Gas           Gov. Aggregation
COH             202666310010                Gas           Gov. Aggregation   DUKE         8150084826                  Gas           Gov. Aggregation
COH             167463920016                Gas           Gov. Aggregation   DUKE         5910085221                  Gas           Gov. Aggregation
COH             202702830013                Gas           Gov. Aggregation   DUKE         5500083522                  Gas           Gov. Aggregation
COH             202145860019                Gas           Gov. Aggregation   DUKE         2390206505                  Gas           Gov. Aggregation
COH             171008780023                Gas           Gov. Aggregation   DUKE         1800084221                  Gas           Gov. Aggregation
COH             201779840011                Gas           Gov. Aggregation   DUKE         6800086321                  Gas           Gov. Aggregation
COH             201629140015                Gas           Gov. Aggregation   DUKE         0350080124                  Gas           Gov. Aggregation
COH             111179840021                Gas           Gov. Aggregation   DUKE         8560085920                  Gas           Gov. Aggregation
COH             139202651732                Gas           Gov. Aggregation   DUKE         3760086324                  Gas           Gov. Aggregation
COH             201115360018                Gas           Gov. Aggregation   DUKE         1050087622                  Gas           Gov. Aggregation
COH             188583670056                Gas           Gov. Aggregation   DUKE         0560079521                  Gas           Gov. Aggregation
COH             201805010018                Gas           Gov. Aggregation   DUKE         9360081621                  Gas           Gov. Aggregation
COH             203129900013                Gas           Gov. Aggregation   DUKE         3290080522                  Gas           Gov. Aggregation
COH             201436330014                Gas           Gov. Aggregation   DUKE         8640081521                  Gas           Gov. Aggregation
COH             202266650017                Gas           Gov. Aggregation   DUKE         8520206506                  Gas           Gov. Aggregation
COH             203226810016                Gas           Gov. Aggregation   DUKE         9600086622                  Gas           Gov. Aggregation
COH             202093140011                Gas           Gov. Aggregation   DUKE         6570083822                  Gas           Gov. Aggregation
COH             201690990018                Gas           Gov. Aggregation   DUKE         1460081021                  Gas           Gov. Aggregation
COH             200620830028                Gas           Gov. Aggregation   DUKE         2500083627                  Gas           Gov. Aggregation
COH             111151580015                Gas           Gov. Aggregation   DUKE         1940078824                  Gas           Gov. Aggregation
COH             198154440024                Gas           Gov. Aggregation   DUKE         2940078829                  Gas           Gov. Aggregation
COH             152603860027                Gas           Gov. Aggregation   DUKE         3940078823                  Gas           Gov. Aggregation
COH             171849070039                Gas           Gov. Aggregation   DUKE         4940078825                  Gas           Gov. Aggregation
COH             202643320016                Gas           Gov. Aggregation   DUKE         8480088322                  Gas           Gov. Aggregation
COH             201297460013                Gas           Gov. Aggregation   DUKE         3490081027                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             199737500024                Gas           Gov. Aggregation   DUKE         6200201802                  Gas           Gov. Aggregation
COH             202386070015                Gas           Gov. Aggregation   DUKE         5670087925                  Gas           Gov. Aggregation
COH             201960990015                Gas           Gov. Aggregation   DUKE         2030202104                  Gas           Gov. Aggregation
COH             201510090017                Gas           Gov. Aggregation   DUKE         2710201902                  Gas           Gov. Aggregation
COH             201432820215                Gas           Gov. Aggregation   DUKE         4210390603                  Gas           Gov. Aggregation
COH             201429260014                Gas           Gov. Aggregation   DUKE         8210390602                  Gas           Gov. Aggregation
COH             159308280037                Gas           Gov. Aggregation   DUKE         7140200005                  Gas           Gov. Aggregation
COH             154030740052                Gas           Gov. Aggregation   DUKE         2140086720                  Gas           Gov. Aggregation
COH             208559210012                Gas           Gov. Aggregation   DUKE         7960217302                  Gas           Gov. Aggregation
COH             205108810014                Gas           Gov. Aggregation   DUKE         0180087421                  Gas           Gov. Aggregation
COH             166708870027                Gas           Gov. Aggregation   DUKE         9570085322                  Gas           Gov. Aggregation
COH             207925290010                Gas           Gov. Aggregation   DUKE         1070079026                  Gas           Gov. Aggregation
COH             164107840010                Gas           Gov. Aggregation   DUKE         6880083125                  Gas           Gov. Aggregation
COH             173491580084                Gas           Gov. Aggregation   DUKE         3250009240                  Gas           Gov. Aggregation
COH             171469860011                Gas           Gov. Aggregation   DUKE         2570009125                  Gas           Gov. Aggregation
COH             172712110010                Gas           Gov. Aggregation   DUKE         1180075424                  Gas           Gov. Aggregation
COH             206918160013                Gas           Gov. Aggregation   DUKE         3750071522                  Gas           Gov. Aggregation
COH             148659460020                Gas           Gov. Aggregation   DUKE         2180075422                  Gas           Gov. Aggregation
COH             173290220067                Gas           Gov. Aggregation   DUKE         8810075724                  Gas           Gov. Aggregation
COH             208772240014                Gas           Gov. Aggregation   DUKE         5270223504                  Gas           Gov. Aggregation
COH             185505970041                Gas           Gov. Aggregation   DUKE         3380350904                  Gas           Gov. Aggregation
COH             208277560017                Gas           Gov. Aggregation   DUKE         1850353806                  Gas           Gov. Aggregation
COH             204958210038                Gas           Gov. Aggregation   DUKE         2280356205                  Gas           Gov. Aggregation
COH             208855560011                Gas           Gov. Aggregation   DUKE         9340200603                  Gas           Gov. Aggregation
COH             206519790035                Gas           Gov. Aggregation   DUKE         9400203102                  Gas           Gov. Aggregation
COH             162200120104                Gas           Gov. Aggregation   DUKE         6830200303                  Gas           Gov. Aggregation
COH             198910560016                Gas           Gov. Aggregation   DUKE         9960205806                  Gas           Gov. Aggregation
COH             203895100036                Gas           Gov. Aggregation   DUKE         3900201304                  Gas           Gov. Aggregation
COH             112071940036                Gas           Gov. Aggregation   DUKE         2020208003                  Gas           Gov. Aggregation
COH             198744440032                Gas           Gov. Aggregation   DUKE         8260209903                  Gas           Gov. Aggregation
COH             136450380069                Gas           Gov. Aggregation   DUKE         6360208006                  Gas           Gov. Aggregation
COH             202227660035                Gas           Gov. Aggregation   DUKE         3600211303                  Gas           Gov. Aggregation
COH             205682160024                Gas           Gov. Aggregation   DUKE         2940211602                  Gas           Gov. Aggregation
COH             188432820026                Gas           Gov. Aggregation   DUKE         6160212004                  Gas           Gov. Aggregation
VEDO            4020272442229965            Gas           Gov. Aggregation   DUKE         6050203802                  Gas           Gov. Aggregation
VEDO            4021206952238734            Gas           Gov. Aggregation   DUKE         5570209704                  Gas           Gov. Aggregation
VEDO            4021509182337267            Gas           Gov. Aggregation   DUKE         8330209603                  Gas           Gov. Aggregation
VEDO            4019238222522827            Gas           Gov. Aggregation   DUKE         3320027730                  Gas           Gov. Aggregation
VEDO            4017653202331108            Gas           Gov. Aggregation   DUKE         7240200907                  Gas           Gov. Aggregation
VEDO            4021189022420174            Gas           Gov. Aggregation   DUKE         7570087921                  Gas           Gov. Aggregation
VEDO            4001621952450015            Gas           Gov. Aggregation   DUKE         1590353402                  Gas           Gov. Aggregation
VEDO            4021275432170230            Gas           Gov. Aggregation   DUKE         8440357402                  Gas           Gov. Aggregation
VEDO            4021465052519975            Gas           Gov. Aggregation   DUKE         1840361802                  Gas           Gov. Aggregation
VEDO            4001677422120263            Gas           Gov. Aggregation   DUKE         4630365302                  Gas           Gov. Aggregation
VEDO            4016588912216200            Gas           Gov. Aggregation   DUKE         0700355502                  Gas           Gov. Aggregation
VEDO            4018840622121135            Gas           Gov. Aggregation   DUKE         1960354102                  Gas           Gov. Aggregation
VEDO            4021086252204470            Gas           Gov. Aggregation   DUKE         1450364503                  Gas           Gov. Aggregation
VEDO            4003323992310576            Gas           Gov. Aggregation   DUKE         4430362105                  Gas           Gov. Aggregation
VEDO            4003149282108068            Gas           Gov. Aggregation   DUKE         5990351302                  Gas           Gov. Aggregation
VEDO            4003944142394679            Gas           Gov. Aggregation   DUKE         8360207202                  Gas           Gov. Aggregation
VEDO            4021037442291649            Gas           Gov. Aggregation   DUKE         1030206104                  Gas           Gov. Aggregation
VEDO            4019756892368036            Gas           Gov. Aggregation   DUKE         8720204506                  Gas           Gov. Aggregation
VEDO            4021426432244342            Gas           Gov. Aggregation   DUKE         9840353702                  Gas           Gov. Aggregation
VEDO            4004512372416249            Gas           Gov. Aggregation   DUKE         5630365302                  Gas           Gov. Aggregation
VEDO            4002147872209911            Gas           Gov. Aggregation   DUKE         3530351402                  Gas           Gov. Aggregation
VEDO            4002145872189601            Gas           Gov. Aggregation   DUKE         7810357302                  Gas           Gov. Aggregation
COH             160198900010                Gas           Gov. Aggregation   DUKE         6510216501                  Gas           Gov. Aggregation
COH             160595900027                Gas           Gov. Aggregation   DUKE         2330083023                  Gas           Gov. Aggregation
COH             151325870017                Gas           Gov. Aggregation   DUKE         8320083325                  Gas           Gov. Aggregation
COH             141835030023                Gas           Gov. Aggregation   DUKE         6710082425                  Gas           Gov. Aggregation
COH             189102590023                Gas           Gov. Aggregation   DUKE         8060085122                  Gas           Gov. Aggregation
COH             189977050023                Gas           Gov. Aggregation   DUKE         2150084824                  Gas           Gov. Aggregation
COH             201135960010                Gas           Gov. Aggregation   DUKE         7880082927                  Gas           Gov. Aggregation
COH             200327220019                Gas           Gov. Aggregation   DUKE         3700084225                  Gas           Gov. Aggregation
COH             200754600014                Gas           Gov. Aggregation   DUKE         7040079323                  Gas           Gov. Aggregation
COH             125593610052                Gas           Gov. Aggregation   DUKE         0730079022                  Gas           Gov. Aggregation
COH             201631660011                Gas           Gov. Aggregation   DUKE         8100082824                  Gas           Gov. Aggregation
COH             200768630019                Gas           Gov. Aggregation   DUKE         6180082121                  Gas           Gov. Aggregation
COH             200045090015                Gas           Gov. Aggregation   DUKE         7060082324                  Gas           Gov. Aggregation
COH             201039060031                Gas           Gov. Aggregation   DUKE         2960203205                  Gas           Gov. Aggregation
COH             196307970011                Gas           Gov. Aggregation   DUKE         7210027744                  Gas           Gov. Aggregation
COH             193807210022                Gas           Gov. Aggregation   DUKE         7550083522                  Gas           Gov. Aggregation
COH             196434780049                Gas           Gov. Aggregation   DUKE         5650200702                  Gas           Gov. Aggregation
COH             155503990065                Gas           Gov. Aggregation   DUKE         4580087821                  Gas           Gov. Aggregation
COH             202975090012                Gas           Gov. Aggregation   DUKE         3530200905                  Gas           Gov. Aggregation
COH             202397890010                Gas           Gov. Aggregation   DUKE         1140086722                  Gas           Gov. Aggregation
COH             158529050010                Gas           Gov. Aggregation   DUKE         9510027723                  Gas           Gov. Aggregation
COH             191406640033                Gas           Gov. Aggregation   DUKE         6950085225                  Gas           Gov. Aggregation
COH             202699820014                Gas           Gov. Aggregation   DUKE         5660085625                  Gas           Gov. Aggregation
COH             203689640012                Gas           Gov. Aggregation   DUKE         1800200306                  Gas           Gov. Aggregation
COH             197611710028                Gas           Gov. Aggregation   DUKE         9290201512                  Gas           Gov. Aggregation
COH             200452130013                Gas           Gov. Aggregation   DUKE         5250009121                  Gas           Gov. Aggregation
COH             201227880012                Gas           Gov. Aggregation   DUKE         5470009121                  Gas           Gov. Aggregation
COH             197611930022                Gas           Gov. Aggregation   DUKE         1650076528                  Gas           Gov. Aggregation
COH             198019370025                Gas           Gov. Aggregation   DUKE         4470009122                  Gas           Gov. Aggregation
COH             199753980020                Gas           Gov. Aggregation   DUKE         1610080123                  Gas           Gov. Aggregation
COH             201116100010                Gas           Gov. Aggregation   DUKE         1370075721                  Gas           Gov. Aggregation
COH             201391430019                Gas           Gov. Aggregation   DUKE         2720081021                  Gas           Gov. Aggregation
COH             201299120010                Gas           Gov. Aggregation   DUKE         6260009123                  Gas           Gov. Aggregation
COH             202600540010                Gas           Gov. Aggregation   DUKE         5260009126                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             203434030019                Gas           Gov. Aggregation   DUKE         4960009121                  Gas           Gov. Aggregation
COH             158316240039                Gas           Gov. Aggregation   DUKE         5960009123                  Gas           Gov. Aggregation
COH             203122890010                Gas           Gov. Aggregation   DUKE         6960009123                  Gas           Gov. Aggregation
COH             201349760019                Gas           Gov. Aggregation   DUKE         0670009120                  Gas           Gov. Aggregation
COH             200729920010                Gas           Gov. Aggregation   DUKE         7510202601                  Gas           Gov. Aggregation
COH             200357240012                Gas           Gov. Aggregation   DUKE         0960220701                  Gas           Gov. Aggregation
COH             200202630017                Gas           Gov. Aggregation   DUKE         5660074621                  Gas           Gov. Aggregation
COH             201429780015                Gas           Gov. Aggregation   DUKE         8800070029                  Gas           Gov. Aggregation
COH             190889950028                Gas           Gov. Aggregation   DUKE         8480075923                  Gas           Gov. Aggregation
COH             201052150016                Gas           Gov. Aggregation   DUKE         5480075923                  Gas           Gov. Aggregation
COH             192931680022                Gas           Gov. Aggregation   DUKE         7270076228                  Gas           Gov. Aggregation
COH             197866500032                Gas           Gov. Aggregation   DUKE         7620077122                  Gas           Gov. Aggregation
COH             201116160018                Gas           Gov. Aggregation   DUKE         9760076922                  Gas           Gov. Aggregation
COH             200436380015                Gas           Gov. Aggregation   DUKE         5150084824                  Gas           Gov. Aggregation
COH             200841770014                Gas           Gov. Aggregation   DUKE         2390087529                  Gas           Gov. Aggregation
COH             202677070018                Gas           Gov. Aggregation   DUKE         0290081123                  Gas           Gov. Aggregation
COH             189966080048                Gas           Gov. Aggregation   DUKE         4670009122                  Gas           Gov. Aggregation
COH             202849540014                Gas           Gov. Aggregation   DUKE         3770009120                  Gas           Gov. Aggregation
COH             201172230015                Gas           Gov. Aggregation   DUKE         4770009123                  Gas           Gov. Aggregation
COH             124375050044                Gas           Gov. Aggregation   DUKE         8980200003                  Gas           Gov. Aggregation
COH             200156680016                Gas           Gov. Aggregation   DUKE         0390087522                  Gas           Gov. Aggregation
COH             197644270013                Gas           Gov. Aggregation   DUKE         3580087821                  Gas           Gov. Aggregation
COH             192360450049                Gas           Gov. Aggregation   DUKE         9670086823                  Gas           Gov. Aggregation
COH             202392940019                Gas           Gov. Aggregation   DUKE         1270086426                  Gas           Gov. Aggregation
COH             200301620019                Gas           Gov. Aggregation   DUKE         1050208102                  Gas           Gov. Aggregation
COH             135394840054                Gas           Gov. Aggregation   DUKE         4070009121                  Gas           Gov. Aggregation
COH             141075100208                Gas           Gov. Aggregation   DUKE         9170009128                  Gas           Gov. Aggregation
COH             186402670069                Gas           Gov. Aggregation   DUKE         3030206002                  Gas           Gov. Aggregation
COH             202972900017                Gas           Gov. Aggregation   DUKE         5230202803                  Gas           Gov. Aggregation
COH             194290610033                Gas           Gov. Aggregation   DUKE         5220200703                  Gas           Gov. Aggregation
COH             187803780038                Gas           Gov. Aggregation   DUKE         2300202003                  Gas           Gov. Aggregation
COH             185475070125                Gas           Gov. Aggregation   DUKE         2190203003                  Gas           Gov. Aggregation
COH             188877700047                Gas           Gov. Aggregation   DUKE         8130202502                  Gas           Gov. Aggregation
COH             199897910011                Gas           Gov. Aggregation   DUKE         3090204902                  Gas           Gov. Aggregation
COH             203516850013                Gas           Gov. Aggregation   DUKE         6660202303                  Gas           Gov. Aggregation
COH             198436630035                Gas           Gov. Aggregation   DUKE         4660203302                  Gas           Gov. Aggregation
COH             198407090030                Gas           Gov. Aggregation   DUKE         7410202606                  Gas           Gov. Aggregation
COH             200337780039                Gas           Gov. Aggregation   DUKE         3180009124                  Gas           Gov. Aggregation
COH             200344620019                Gas           Gov. Aggregation   DUKE         4730386701                  Gas           Gov. Aggregation
COH             200544690011                Gas           Gov. Aggregation   DUKE         8190355903                  Gas           Gov. Aggregation
COH             201269900019                Gas           Gov. Aggregation   DUKE         6430367403                  Gas           Gov. Aggregation
COH             201266950015                Gas           Gov. Aggregation   DUKE         0570365801                  Gas           Gov. Aggregation
COH             201678540018                Gas           Gov. Aggregation   DUKE         5430351903                  Gas           Gov. Aggregation
COH             198700360013                Gas           Gov. Aggregation   DUKE         8870357801                  Gas           Gov. Aggregation
COH             197707080028                Gas           Gov. Aggregation   DUKE         9090355902                  Gas           Gov. Aggregation
COH             203257920018                Gas           Gov. Aggregation   DUKE         5100354102                  Gas           Gov. Aggregation
COH             200645070017                Gas           Gov. Aggregation   DUKE         1560027525                  Gas           Gov. Aggregation
COH             175108900021                Gas           Gov. Aggregation   DUKE         9460027520                  Gas           Gov. Aggregation
COH             165134060043                Gas           Gov. Aggregation   DUKE         1940391601                  Gas           Gov. Aggregation
COH             201260950026                Gas           Gov. Aggregation   DUKE         5110350604                  Gas           Gov. Aggregation
COH             202478650018                Gas           Gov. Aggregation   DUKE         7400356804                  Gas           Gov. Aggregation
COH             152254290055                Gas           Gov. Aggregation   DUKE         8670354503                  Gas           Gov. Aggregation
COH             189630830023                Gas           Gov. Aggregation   DUKE         6600351601                  Gas           Gov. Aggregation
COH             203315740012                Gas           Gov. Aggregation   DUKE         7710371803                  Gas           Gov. Aggregation
COH             202076060014                Gas           Gov. Aggregation   DUKE         9210363207                  Gas           Gov. Aggregation
COH             200125120018                Gas           Gov. Aggregation   DUKE         9850371402                  Gas           Gov. Aggregation
COH             201863910017                Gas           Gov. Aggregation   DUKE         4880368302                  Gas           Gov. Aggregation
COH             191056830018                Gas           Gov. Aggregation   DUKE         8470363705                  Gas           Gov. Aggregation
COH             203379290013                Gas           Gov. Aggregation   DUKE         3500363904                  Gas           Gov. Aggregation
COH             202387120012                Gas           Gov. Aggregation   DUKE         1490364507                  Gas           Gov. Aggregation
COH             201934600011                Gas           Gov. Aggregation   DUKE         1250371203                  Gas           Gov. Aggregation
COH             167143260031                Gas           Gov. Aggregation   DUKE         8760364702                  Gas           Gov. Aggregation
COH             161791380020                Gas           Gov. Aggregation   DUKE         1360027541                  Gas           Gov. Aggregation
COH             176366790028                Gas           Gov. Aggregation   DUKE         8260027524                  Gas           Gov. Aggregation
COH             201919640015                Gas           Gov. Aggregation   DUKE         6260027529                  Gas           Gov. Aggregation
COH             202559900013                Gas           Gov. Aggregation   DUKE         8740215107                  Gas           Gov. Aggregation
COH             185519140064                Gas           Gov. Aggregation   DUKE         1580214205                  Gas           Gov. Aggregation
COH             200331850036                Gas           Gov. Aggregation   DUKE         8530213704                  Gas           Gov. Aggregation
COH             170777300034                Gas           Gov. Aggregation   DUKE         6390214209                  Gas           Gov. Aggregation
COH             201665390017                Gas           Gov. Aggregation   DUKE         7250214703                  Gas           Gov. Aggregation
COH             201849900019                Gas           Gov. Aggregation   DUKE         0280213302                  Gas           Gov. Aggregation
COH             202237520015                Gas           Gov. Aggregation   DUKE         0250214702                  Gas           Gov. Aggregation
COH             167084220035                Gas           Gov. Aggregation   DUKE         9400216009                  Gas           Gov. Aggregation
COH             202386860019                Gas           Gov. Aggregation   DUKE         7330222102                  Gas           Gov. Aggregation
COH             191279410032                Gas           Gov. Aggregation   DUKE         6190221905                  Gas           Gov. Aggregation
COH             192257290042                Gas           Gov. Aggregation   DUKE         9750221513                  Gas           Gov. Aggregation
COH             197280560023                Gas           Gov. Aggregation   DUKE         5350217403                  Gas           Gov. Aggregation
COH             197192940039                Gas           Gov. Aggregation   DUKE         3410216703                  Gas           Gov. Aggregation
COH             196943870032                Gas           Gov. Aggregation   DUKE         7960216707                  Gas           Gov. Aggregation
COH             199887730010                Gas           Gov. Aggregation   DUKE         7010217608                  Gas           Gov. Aggregation
COH             199163720025                Gas           Gov. Aggregation   DUKE         0580222304                  Gas           Gov. Aggregation
COH             203741610016                Gas           Gov. Aggregation   DUKE         6410216705                  Gas           Gov. Aggregation
COH             203695160010                Gas           Gov. Aggregation   DUKE         0260027530                  Gas           Gov. Aggregation
COH             201969320017                Gas           Gov. Aggregation   DUKE         6440203803                  Gas           Gov. Aggregation
COH             200754480010                Gas           Gov. Aggregation   DUKE         9160027524                  Gas           Gov. Aggregation
COH             200746420019                Gas           Gov. Aggregation   DUKE         7670203803                  Gas           Gov. Aggregation
COH             200481270013                Gas           Gov. Aggregation   DUKE         0540203809                  Gas           Gov. Aggregation
COH             200960370016                Gas           Gov. Aggregation   DUKE         6160027522                  Gas           Gov. Aggregation
COH             203639260017                Gas           Gov. Aggregation   DUKE         3160027521                  Gas           Gov. Aggregation
COH             152194070022                Gas           Gov. Aggregation   DUKE         2160027522                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             131327630017                Gas           Gov. Aggregation   DUKE         3650027524                  Gas           Gov. Aggregation
COH             200775370019                Gas           Gov. Aggregation   DUKE         1030210004                  Gas           Gov. Aggregation
COH             202544200011                Gas           Gov. Aggregation   DUKE         2610211307                  Gas           Gov. Aggregation
COH             147201890020                Gas           Gov. Aggregation   DUKE         9310212703                  Gas           Gov. Aggregation
COH             133577530071                Gas           Gov. Aggregation   DUKE         1120212209                  Gas           Gov. Aggregation
COH             133057360060                Gas           Gov. Aggregation   DUKE         3550211004                  Gas           Gov. Aggregation
COH             124361930020                Gas           Gov. Aggregation   DUKE         3690212103                  Gas           Gov. Aggregation
COH             147119240012                Gas           Gov. Aggregation   DUKE         3230211102                  Gas           Gov. Aggregation
COH             138090750027                Gas           Gov. Aggregation   DUKE         5390211402                  Gas           Gov. Aggregation
COH             201656600011                Gas           Gov. Aggregation   DUKE         7920209805                  Gas           Gov. Aggregation
COH             202455710013                Gas           Gov. Aggregation   DUKE         2990209703                  Gas           Gov. Aggregation
COH             201618600011                Gas           Gov. Aggregation   DUKE         4530209707                  Gas           Gov. Aggregation
COH             199112460018                Gas           Gov. Aggregation   DUKE         3420223005                  Gas           Gov. Aggregation
COH             202453980011                Gas           Gov. Aggregation   DUKE         8900206504                  Gas           Gov. Aggregation
COH             201912710014                Gas           Gov. Aggregation   DUKE         0900206502                  Gas           Gov. Aggregation
COH             191091020023                Gas           Gov. Aggregation   DUKE         3370211709                  Gas           Gov. Aggregation
COH             200584480011                Gas           Gov. Aggregation   DUKE         3470211307                  Gas           Gov. Aggregation
COH             203009790011                Gas           Gov. Aggregation   DUKE         6550027526                  Gas           Gov. Aggregation
COH             159909510043                Gas           Gov. Aggregation   DUKE         4080202906                  Gas           Gov. Aggregation
COH             201645960019                Gas           Gov. Aggregation   DUKE         5970357601                  Gas           Gov. Aggregation
COH             202010780011                Gas           Gov. Aggregation   DUKE         3350027521                  Gas           Gov. Aggregation
COH             201969370017                Gas           Gov. Aggregation   DUKE         8880214904                  Gas           Gov. Aggregation
COH             203528800018                Gas           Gov. Aggregation   DUKE         9760212707                  Gas           Gov. Aggregation
COH             203763220012                Gas           Gov. Aggregation   DUKE         8830218604                  Gas           Gov. Aggregation
COH             172949000076                Gas           Gov. Aggregation   DUKE         7570222211                  Gas           Gov. Aggregation
COH             194656260022                Gas           Gov. Aggregation   DUKE         9740212905                  Gas           Gov. Aggregation
COH             203727440012                Gas           Gov. Aggregation   DUKE         4450219808                  Gas           Gov. Aggregation
COH             203689630014                Gas           Gov. Aggregation   DUKE         6510221205                  Gas           Gov. Aggregation
COH             192041620030                Gas           Gov. Aggregation   DUKE         0330211505                  Gas           Gov. Aggregation
COH             124412800028                Gas           Gov. Aggregation   DUKE         5450211404                  Gas           Gov. Aggregation
COH             195561950027                Gas           Gov. Aggregation   DUKE         7230211504                  Gas           Gov. Aggregation
COH             200829510014                Gas           Gov. Aggregation   DUKE         4400213008                  Gas           Gov. Aggregation
COH             200916530015                Gas           Gov. Aggregation   DUKE         6530221802                  Gas           Gov. Aggregation
COH             201220560013                Gas           Gov. Aggregation   DUKE         5410218309                  Gas           Gov. Aggregation
COH             200194290018                Gas           Gov. Aggregation   DUKE         6600350510                  Gas           Gov. Aggregation
COH             201781950013                Gas           Gov. Aggregation   DUKE         9380222302                  Gas           Gov. Aggregation
COH             124491750023                Gas           Gov. Aggregation   DUKE         8150224603                  Gas           Gov. Aggregation
COH             185236600067                Gas           Gov. Aggregation   DUKE         1430355304                  Gas           Gov. Aggregation
COH             202734560013                Gas           Gov. Aggregation   DUKE         6450225104                  Gas           Gov. Aggregation
COH             201357840015                Gas           Gov. Aggregation   DUKE         0740352903                  Gas           Gov. Aggregation
COH             203162820010                Gas           Gov. Aggregation   DUKE         2940220502                  Gas           Gov. Aggregation
COH             156892120054                Gas           Gov. Aggregation   DUKE         3480219904                  Gas           Gov. Aggregation
COH             200884240015                Gas           Gov. Aggregation   DUKE         8130364803                  Gas           Gov. Aggregation
COH             201298730023                Gas           Gov. Aggregation   DUKE         4120356803                  Gas           Gov. Aggregation
COH             201211530018                Gas           Gov. Aggregation   DUKE         9820363907                  Gas           Gov. Aggregation
COH             200638440014                Gas           Gov. Aggregation   DUKE         7900206506                  Gas           Gov. Aggregation
COH             203638830019                Gas           Gov. Aggregation   DUKE         5080359502                  Gas           Gov. Aggregation
COH             203130290019                Gas           Gov. Aggregation   DUKE         5730350402                  Gas           Gov. Aggregation
COH             200738600018                Gas           Gov. Aggregation   DUKE         7270350609                  Gas           Gov. Aggregation
COH             203418530018                Gas           Gov. Aggregation   DUKE         3340355102                  Gas           Gov. Aggregation
COH             163084830013                Gas           Gov. Aggregation   DUKE         1050363303                  Gas           Gov. Aggregation
COH             135288840040                Gas           Gov. Aggregation   DUKE         2260357912                  Gas           Gov. Aggregation
COH             200194370020                Gas           Gov. Aggregation   DUKE         1440362803                  Gas           Gov. Aggregation
COH             201588850023                Gas           Gov. Aggregation   DUKE         1200360502                  Gas           Gov. Aggregation
COH             201631690015                Gas           Gov. Aggregation   DUKE         2680219908                  Gas           Gov. Aggregation
COH             202551990011                Gas           Gov. Aggregation   DUKE         6230222406                  Gas           Gov. Aggregation
COH             154998360025                Gas           Gov. Aggregation   DUKE         2790223019                  Gas           Gov. Aggregation
COH             201762650025                Gas           Gov. Aggregation   DUKE         2130224506                  Gas           Gov. Aggregation
COH             203565840012                Gas           Gov. Aggregation   DUKE         4850225206                  Gas           Gov. Aggregation
COH             165499200032                Gas           Gov. Aggregation   DUKE         0790221504                  Gas           Gov. Aggregation
COH             142765620027                Gas           Gov. Aggregation   DUKE         8540359505                  Gas           Gov. Aggregation
COH             196338980023                Gas           Gov. Aggregation   DUKE         8640359507                  Gas           Gov. Aggregation
COH             160620240021                Gas           Gov. Aggregation   DUKE         1950359516                  Gas           Gov. Aggregation
COH             124762220029                Gas           Gov. Aggregation   DUKE         4620360115                  Gas           Gov. Aggregation
COH             202878500011                Gas           Gov. Aggregation   DUKE         5110213709                  Gas           Gov. Aggregation
COH             197196290029                Gas           Gov. Aggregation   DUKE         7410210811                  Gas           Gov. Aggregation
COH             201618720016                Gas           Gov. Aggregation   DUKE         8050213905                  Gas           Gov. Aggregation
COH             201807310011                Gas           Gov. Aggregation   DUKE         0570212202                  Gas           Gov. Aggregation
COH             202044700016                Gas           Gov. Aggregation   DUKE         7290214205                  Gas           Gov. Aggregation
COH             200280830011                Gas           Gov. Aggregation   DUKE         6110212509                  Gas           Gov. Aggregation
COH             201402940017                Gas           Gov. Aggregation   DUKE         8880356610                  Gas           Gov. Aggregation
COH             201618670017                Gas           Gov. Aggregation   DUKE         6750353202                  Gas           Gov. Aggregation
COH             149298380013                Gas           Gov. Aggregation   DUKE         9230219911                  Gas           Gov. Aggregation
COH             158146110037                Gas           Gov. Aggregation   DUKE         6490211610                  Gas           Gov. Aggregation
COH             203669170013                Gas           Gov. Aggregation   DUKE         0470213108                  Gas           Gov. Aggregation
COH             200317150015                Gas           Gov. Aggregation   DUKE         8330213605                  Gas           Gov. Aggregation
COH             174715170029                Gas           Gov. Aggregation   DUKE         9870217607                  Gas           Gov. Aggregation
COH             166401590017                Gas           Gov. Aggregation   DUKE         7640217407                  Gas           Gov. Aggregation
COH             156044660049                Gas           Gov. Aggregation   DUKE         2190214302                  Gas           Gov. Aggregation
COH             201055740016                Gas           Gov. Aggregation   DUKE         3730356404                  Gas           Gov. Aggregation
COH             200965660015                Gas           Gov. Aggregation   DUKE         6620350605                  Gas           Gov. Aggregation
COH             164166230032                Gas           Gov. Aggregation   DUKE         5260214205                  Gas           Gov. Aggregation
COH             194340780022                Gas           Gov. Aggregation   DUKE         8850206608                  Gas           Gov. Aggregation
COH             201979150012                Gas           Gov. Aggregation   DUKE         6510216603                  Gas           Gov. Aggregation
COH             158995270035                Gas           Gov. Aggregation   DUKE         1040203908                  Gas           Gov. Aggregation
COH             155973540046                Gas           Gov. Aggregation   DUKE         2640202207                  Gas           Gov. Aggregation
COH             143085840022                Gas           Gov. Aggregation   DUKE         0310210408                  Gas           Gov. Aggregation
COH             188715450024                Gas           Gov. Aggregation   DUKE         0410205108                  Gas           Gov. Aggregation
COH             202260600019                Gas           Gov. Aggregation   DUKE         2610211505                  Gas           Gov. Aggregation
COH             203041220012                Gas           Gov. Aggregation   DUKE         0600203605                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             203478280015                Gas           Gov. Aggregation   DUKE         5620217508                  Gas           Gov. Aggregation
COH             200628200015                Gas           Gov. Aggregation   DUKE         9060217908                  Gas           Gov. Aggregation
COH             200693380011                Gas           Gov. Aggregation   DUKE         1470213102                  Gas           Gov. Aggregation
COH             200414800012                Gas           Gov. Aggregation   DUKE         3350209402                  Gas           Gov. Aggregation
COH             201213560018                Gas           Gov. Aggregation   DUKE         9210210406                  Gas           Gov. Aggregation
COH             125389830059                Gas           Gov. Aggregation   DUKE         0960202805                  Gas           Gov. Aggregation
COH             196339310021                Gas           Gov. Aggregation   DUKE         9500203604                  Gas           Gov. Aggregation
COH             199903110014                Gas           Gov. Aggregation   DUKE         1330203106                  Gas           Gov. Aggregation
COH             200026780010                Gas           Gov. Aggregation   DUKE         8600201805                  Gas           Gov. Aggregation
COH             199700430026                Gas           Gov. Aggregation   DUKE         4460365715                  Gas           Gov. Aggregation
COH             203361020016                Gas           Gov. Aggregation   DUKE         7370361211                  Gas           Gov. Aggregation
COH             202798760017                Gas           Gov. Aggregation   DUKE         7130363906                  Gas           Gov. Aggregation
COH             203088220014                Gas           Gov. Aggregation   DUKE         7710363112                  Gas           Gov. Aggregation
COH             200166410011                Gas           Gov. Aggregation   DUKE         4640359505                  Gas           Gov. Aggregation
COH             201773470011                Gas           Gov. Aggregation   DUKE         7280360502                  Gas           Gov. Aggregation
COH             201904090012                Gas           Gov. Aggregation   DUKE         8280360510                  Gas           Gov. Aggregation
COH             175441530023                Gas           Gov. Aggregation   DUKE         8930203905                  Gas           Gov. Aggregation
COH             174679450028                Gas           Gov. Aggregation   DUKE         5910223303                  Gas           Gov. Aggregation
COH             189647450037                Gas           Gov. Aggregation   DUKE         4340358605                  Gas           Gov. Aggregation
COH             186208470027                Gas           Gov. Aggregation   DUKE         1120361902                  Gas           Gov. Aggregation
COH             158091290046                Gas           Gov. Aggregation   DUKE         1740354503                  Gas           Gov. Aggregation
COH             192222050036                Gas           Gov. Aggregation   DUKE         6840224805                  Gas           Gov. Aggregation
COH             202781200019                Gas           Gov. Aggregation   DUKE         9330360104                  Gas           Gov. Aggregation
COH             187915990037                Gas           Gov. Aggregation   DUKE         1180360404                  Gas           Gov. Aggregation
COH             203679800019                Gas           Gov. Aggregation   DUKE         1270357520                  Gas           Gov. Aggregation
COH             202843640015                Gas           Gov. Aggregation   DUKE         0410350409                  Gas           Gov. Aggregation
COH             199451130028                Gas           Gov. Aggregation   DUKE         4340225208                  Gas           Gov. Aggregation
COH             199722310016                Gas           Gov. Aggregation   DUKE         8090362003                  Gas           Gov. Aggregation
COH             199700540014                Gas           Gov. Aggregation   DUKE         5430350802                  Gas           Gov. Aggregation
COH             199700560010                Gas           Gov. Aggregation   DUKE         4170360702                  Gas           Gov. Aggregation
COH             199728580018                Gas           Gov. Aggregation   DUKE         8760224507                  Gas           Gov. Aggregation
COH             199336810010                Gas           Gov. Aggregation   DUKE         1480366103                  Gas           Gov. Aggregation
COH             199304300014                Gas           Gov. Aggregation   DUKE         1290362112                  Gas           Gov. Aggregation
COH             200024650011                Gas           Gov. Aggregation   DUKE         0740356312                  Gas           Gov. Aggregation
COH             199126290015                Gas           Gov. Aggregation   DUKE         9020355503                  Gas           Gov. Aggregation
COH             199098930011                Gas           Gov. Aggregation   DUKE         3050359803                  Gas           Gov. Aggregation
COH             199098950017                Gas           Gov. Aggregation   DUKE         0490360105                  Gas           Gov. Aggregation
COH             199013810014                Gas           Gov. Aggregation   DUKE         6380362811                  Gas           Gov. Aggregation
COH             199054790013                Gas           Gov. Aggregation   DUKE         9170360706                  Gas           Gov. Aggregation
COH             199029730036                Gas           Gov. Aggregation   DUKE         6420360002                  Gas           Gov. Aggregation
COH             198656560016                Gas           Gov. Aggregation   DUKE         6230222110                  Gas           Gov. Aggregation
COH             200125230015                Gas           Gov. Aggregation   DUKE         8970222408                  Gas           Gov. Aggregation
COH             199903000017                Gas           Gov. Aggregation   DUKE         5850223803                  Gas           Gov. Aggregation
COH             199806340012                Gas           Gov. Aggregation   DUKE         4880225206                  Gas           Gov. Aggregation
COH             199826210017                Gas           Gov. Aggregation   DUKE         4580222302                  Gas           Gov. Aggregation
COH             200959100015                Gas           Gov. Aggregation   DUKE         5570222205                  Gas           Gov. Aggregation
COH             201010000015                Gas           Gov. Aggregation   DUKE         0000225204                  Gas           Gov. Aggregation
COH             197524700034                Gas           Gov. Aggregation   DUKE         6980223405                  Gas           Gov. Aggregation
COH             197432620018                Gas           Gov. Aggregation   DUKE         6990222902                  Gas           Gov. Aggregation
COH             197447610028                Gas           Gov. Aggregation   DUKE         6830218604                  Gas           Gov. Aggregation
COH             197409160032                Gas           Gov. Aggregation   DUKE         5030220307                  Gas           Gov. Aggregation
COH             197455740015                Gas           Gov. Aggregation   DUKE         7830216006                  Gas           Gov. Aggregation
COH             197219020025                Gas           Gov. Aggregation   DUKE         0770372102                  Gas           Gov. Aggregation
COH             197273050025                Gas           Gov. Aggregation   DUKE         2560372502                  Gas           Gov. Aggregation
COH             196612680015                Gas           Gov. Aggregation   DUKE         0730372506                  Gas           Gov. Aggregation
COH             195914090010                Gas           Gov. Aggregation   DUKE         5040372502                  Gas           Gov. Aggregation
COH             196308010010                Gas           Gov. Aggregation   DUKE         2480374303                  Gas           Gov. Aggregation
COH             194865630030                Gas           Gov. Aggregation   DUKE         9530372103                  Gas           Gov. Aggregation
COH             195088260026                Gas           Gov. Aggregation   DUKE         6110372202                  Gas           Gov. Aggregation
COH             195520390012                Gas           Gov. Aggregation   DUKE         9980223404                  Gas           Gov. Aggregation
COH             196757790016                Gas           Gov. Aggregation   DUKE         9500223209                  Gas           Gov. Aggregation
COH             124352200031                Gas           Gov. Aggregation   DUKE         5470372202                  Gas           Gov. Aggregation
COH             124360070023                Gas           Gov. Aggregation   DUKE         3680372102                  Gas           Gov. Aggregation
COH             122120230038                Gas           Gov. Aggregation   DUKE         3410372002                  Gas           Gov. Aggregation
COH             125424260026                Gas           Gov. Aggregation   DUKE         1680372303                  Gas           Gov. Aggregation
COH             125429160027                Gas           Gov. Aggregation   DUKE         0760376402                  Gas           Gov. Aggregation
COH             125401860028                Gas           Gov. Aggregation   DUKE         9600375103                  Gas           Gov. Aggregation
COH             125441970030                Gas           Gov. Aggregation   DUKE         6950384602                  Gas           Gov. Aggregation
COH             171630790022                Gas           Gov. Aggregation   DUKE         4780387702                  Gas           Gov. Aggregation
COH             174166810047                Gas           Gov. Aggregation   DUKE         2550385202                  Gas           Gov. Aggregation
COH             177396290029                Gas           Gov. Aggregation   DUKE         2900385302                  Gas           Gov. Aggregation
COH             175151230030                Gas           Gov. Aggregation   DUKE         9100386603                  Gas           Gov. Aggregation
COH             175512180017                Gas           Gov. Aggregation   DUKE         0460376204                  Gas           Gov. Aggregation
COH             124809130073                Gas           Gov. Aggregation   DUKE         8150377002                  Gas           Gov. Aggregation
COH             142045000032                Gas           Gov. Aggregation   DUKE         8160206303                  Gas           Gov. Aggregation
COH             194313890053                Gas           Gov. Aggregation   DUKE         5420216702                  Gas           Gov. Aggregation
COH             162889030052                Gas           Gov. Aggregation   DUKE         2900216102                  Gas           Gov. Aggregation
COH             124362340095                Gas           Gov. Aggregation   DUKE         9300224206                  Gas           Gov. Aggregation
COH             200257350020                Gas           Gov. Aggregation   DUKE         6400224214                  Gas           Gov. Aggregation
COH             172702690029                Gas           Gov. Aggregation   DUKE         8480084524                  Gas           Gov. Aggregation
COH             166512160030                Gas           Gov. Aggregation   DUKE         4280027631                  Gas           Gov. Aggregation
COH             167585410024                Gas           Gov. Aggregation   DUKE         1510386201                  Gas           Gov. Aggregation
COH             169599620047                Gas           Gov. Aggregation   DUKE         8180027637                  Gas           Gov. Aggregation
VEDO            4019944512241630            Gas           Gov. Aggregation   DUKE         8970083123                  Gas           Gov. Aggregation
VEDO            4016621992254713            Gas           Gov. Aggregation   DUKE         6080027624                  Gas           Gov. Aggregation
VEDO            4020058662275594            Gas           Gov. Aggregation   DUKE         9880027635                  Gas           Gov. Aggregation
VEDO            4019832842474424            Gas           Gov. Aggregation   DUKE         2090027623                  Gas           Gov. Aggregation
VEDO            4020286812463128            Gas           Gov. Aggregation   DUKE         1090027624                  Gas           Gov. Aggregation
VEDO            4019245122392738            Gas           Gov. Aggregation   DUKE         4980027621                  Gas           Gov. Aggregation
VEDO            4017883042365836            Gas           Gov. Aggregation   DUKE         2920353205                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
VEDO            4002453152194154            Gas           Gov. Aggregation   DUKE         9760223902                  Gas           Gov. Aggregation
VEDO            4002308232186966            Gas           Gov. Aggregation   DUKE         5600219702                  Gas           Gov. Aggregation
VEDO            4001070012236549            Gas           Gov. Aggregation   DUKE         0220364504                  Gas           Gov. Aggregation
VEDO            4003885042354929            Gas           Gov. Aggregation   DUKE         9120364503                  Gas           Gov. Aggregation
VEDO            4016618272357499            Gas           Gov. Aggregation   DUKE         1220364504                  Gas           Gov. Aggregation
VEDO            4015412632513371            Gas           Gov. Aggregation   DUKE         7120364502                  Gas           Gov. Aggregation
VEDO            4004678752462137            Gas           Gov. Aggregation   DUKE         8350388304                  Gas           Gov. Aggregation
VEDO            4017124652409464            Gas           Gov. Aggregation   DUKE         1380009121                  Gas           Gov. Aggregation
VEDO            4015670222104811            Gas           Gov. Aggregation   DUKE         7510361105                  Gas           Gov. Aggregation
VEDO            4020207932628231            Gas           Gov. Aggregation   DUKE         7980027635                  Gas           Gov. Aggregation
VEDO            4019055132629120            Gas           Gov. Aggregation   DUKE         6980027632                  Gas           Gov. Aggregation
VEDO            4016780212502577            Gas           Gov. Aggregation   DUKE         7940027526                  Gas           Gov. Aggregation
VEDO            4004042762161212            Gas           Gov. Aggregation   DUKE         8940027548                  Gas           Gov. Aggregation
VEDO            4019142462310403            Gas           Gov. Aggregation   DUKE         5280395902                  Gas           Gov. Aggregation
VEDO            4020212512415047            Gas           Gov. Aggregation   DUKE         8090398102                  Gas           Gov. Aggregation
VEDO            4020228892140304            Gas           Gov. Aggregation   DUKE         3370027522                  Gas           Gov. Aggregation
VEDO            4019813572648381            Gas           Gov. Aggregation   DUKE         9970214701                  Gas           Gov. Aggregation
VEDO            4019948462428454            Gas           Gov. Aggregation   DUKE         2470027526                  Gas           Gov. Aggregation
VEDO            4020081642252252            Gas           Gov. Aggregation   DUKE         3170027520                  Gas           Gov. Aggregation
VEDO            4004657222200691            Gas           Gov. Aggregation   DUKE         2170027524                  Gas           Gov. Aggregation
VEDO            4003738002381520            Gas           Gov. Aggregation   DUKE         4470027520                  Gas           Gov. Aggregation
VEDO            4004554922465813            Gas           Gov. Aggregation   DUKE         9570027521                  Gas           Gov. Aggregation
VEDO            4003640442345654            Gas           Gov. Aggregation   DUKE         0670027531                  Gas           Gov. Aggregation
VEDO            4019876722155424            Gas           Gov. Aggregation   DUKE         0890083323                  Gas           Gov. Aggregation
VEDO            4019872102463841            Gas           Gov. Aggregation   DUKE         5470027520                  Gas           Gov. Aggregation
VEDO            4019858122454452            Gas           Gov. Aggregation   DUKE         0170027523                  Gas           Gov. Aggregation
VEDO            4019871512448721            Gas           Gov. Aggregation   DUKE         0620201205                  Gas           Gov. Aggregation
VEDO            4019864052637160            Gas           Gov. Aggregation   DUKE         7090030527                  Gas           Gov. Aggregation
VEDO            4019908642623191            Gas           Gov. Aggregation   DUKE         8090030523                  Gas           Gov. Aggregation
VEDO            4017964672281181            Gas           Gov. Aggregation   DUKE         2410030626                  Gas           Gov. Aggregation
VEDO            4019962442401041            Gas           Gov. Aggregation   DUKE         5200077420                  Gas           Gov. Aggregation
VEDO            4020134682370806            Gas           Gov. Aggregation   DUKE         8050363702                  Gas           Gov. Aggregation
VEDO            4020158992314367            Gas           Gov. Aggregation   DUKE         9490030544                  Gas           Gov. Aggregation
VEDO            4017568732195681            Gas           Gov. Aggregation   DUKE         9190030523                  Gas           Gov. Aggregation
VEDO            4002083102236840            Gas           Gov. Aggregation   DUKE         0410030621                  Gas           Gov. Aggregation
VEDO            4001760992346416            Gas           Gov. Aggregation   DUKE         6490030523                  Gas           Gov. Aggregation
VEDO            4016908342465065            Gas           Gov. Aggregation   DUKE         3390030528                  Gas           Gov. Aggregation
VEDO            4004885882197687            Gas           Gov. Aggregation   DUKE         6290030543                  Gas           Gov. Aggregation
VEDO            4017770962419948            Gas           Gov. Aggregation   DUKE         4470363208                  Gas           Gov. Aggregation
VEDO            4019919302124973            Gas           Gov. Aggregation   DUKE         7670363503                  Gas           Gov. Aggregation
VEDO            4019212812116818            Gas           Gov. Aggregation   DUKE         6860363407                  Gas           Gov. Aggregation
VEDO            4019419592672481            Gas           Gov. Aggregation   DUKE         7700365707                  Gas           Gov. Aggregation
VEDO            4020164272525249            Gas           Gov. Aggregation   DUKE         5130373402                  Gas           Gov. Aggregation
VEDO            4020166502428259            Gas           Gov. Aggregation   DUKE         9700368111                  Gas           Gov. Aggregation
VEDO            4019093222269534            Gas           Gov. Aggregation   DUKE         5080061470                  Gas           Gov. Aggregation
VEDO            4018407422433799            Gas           Gov. Aggregation   DUKE         5180061429                  Gas           Gov. Aggregation
VEDO            4004372612441392            Gas           Gov. Aggregation   DUKE         6080061441                  Gas           Gov. Aggregation
VEDO            4002902202236386            Gas           Gov. Aggregation   DUKE         5300027628                  Gas           Gov. Aggregation
VEDO            4016181502642662            Gas           Gov. Aggregation   DUKE         8000027635                  Gas           Gov. Aggregation
VEDO            4003909502411889            Gas           Gov. Aggregation   DUKE         7180061428                  Gas           Gov. Aggregation
VEDO            4004664242637461            Gas           Gov. Aggregation   DUKE         9180061454                  Gas           Gov. Aggregation
VEDO            4003978892647064            Gas           Gov. Aggregation   DUKE         2390030528                  Gas           Gov. Aggregation
VEDO            4019203442263430            Gas           Gov. Aggregation   DUKE         0580210210                  Gas           Gov. Aggregation
VEDO            4015601392341267            Gas           Gov. Aggregation   DUKE         1870350906                  Gas           Gov. Aggregation
VEDO            4019146312132891            Gas           Gov. Aggregation   DUKE         3870350907                  Gas           Gov. Aggregation
VEDO            4015977682674813            Gas           Gov. Aggregation   DUKE         6340351907                  Gas           Gov. Aggregation
VEDO            4015279962644945            Gas           Gov. Aggregation   DUKE         0320356006                  Gas           Gov. Aggregation
VEDO            4019509302648665            Gas           Gov. Aggregation   DUKE         2870350902                  Gas           Gov. Aggregation
VEDO            4019004192642726            Gas           Gov. Aggregation   DUKE         2230397601                  Gas           Gov. Aggregation
VEDO            4004920322635520            Gas           Gov. Aggregation   DUKE         4100061524                  Gas           Gov. Aggregation
VEDO            4015684472381582            Gas           Gov. Aggregation   DUKE         6370061421                  Gas           Gov. Aggregation
VEDO            4002008142405552            Gas           Gov. Aggregation   DUKE         8040206911                  Gas           Gov. Aggregation
VEDO            4017301832216459            Gas           Gov. Aggregation   DUKE         4760061427                  Gas           Gov. Aggregation
VEDO            4019470652648024            Gas           Gov. Aggregation   DUKE         4770073330                  Gas           Gov. Aggregation
VEDO            4020171892600134            Gas           Gov. Aggregation   DUKE         3420049227                  Gas           Gov. Aggregation
VEDO            4020083142455107            Gas           Gov. Aggregation   DUKE         6420049224                  Gas           Gov. Aggregation
VEDO            4017778032404204            Gas           Gov. Aggregation   DUKE         0320049225                  Gas           Gov. Aggregation
VEDO            4019877002213867            Gas           Gov. Aggregation   DUKE         0420049223                  Gas           Gov. Aggregation
VEDO            4019894212453449            Gas           Gov. Aggregation   DUKE         9690218803                  Gas           Gov. Aggregation
VEDO            4016933292335076            Gas           Gov. Aggregation   DUKE         8550224303                  Gas           Gov. Aggregation
VEDO            4017613602383985            Gas           Gov. Aggregation   DUKE         3460218504                  Gas           Gov. Aggregation
VEDO            4020101542288380            Gas           Gov. Aggregation   DUKE         5580223402                  Gas           Gov. Aggregation
VEDO            4016144182237691            Gas           Gov. Aggregation   DUKE         7850382202                  Gas           Gov. Aggregation
VEDO            4017391542393737            Gas           Gov. Aggregation   DUKE         4470362603                  Gas           Gov. Aggregation
VEDO            4018239422313887            Gas           Gov. Aggregation   DUKE         3570366302                  Gas           Gov. Aggregation
VEDO            4019775512637750            Gas           Gov. Aggregation   DUKE         9880372702                  Gas           Gov. Aggregation
VEDO            4018282322446350            Gas           Gov. Aggregation   DUKE         9070357502                  Gas           Gov. Aggregation
VEDO            4019533932141032            Gas           Gov. Aggregation   DUKE         5910357903                  Gas           Gov. Aggregation
VEDO            4001545792339383            Gas           Gov. Aggregation   DUKE         6510357804                  Gas           Gov. Aggregation
VEDO            4018391762142923            Gas           Gov. Aggregation   DUKE         2210225102                  Gas           Gov. Aggregation
VEDO            4019819862447800            Gas           Gov. Aggregation   DUKE         1910356702                  Gas           Gov. Aggregation
VEDO            4018313702488429            Gas           Gov. Aggregation   DUKE         2400384602                  Gas           Gov. Aggregation
VEDO            4018334812444834            Gas           Gov. Aggregation   DUKE         8210222302                  Gas           Gov. Aggregation
VEDO            4019863582252414            Gas           Gov. Aggregation   DUKE         6470350203                  Gas           Gov. Aggregation
COH             187931880027                Gas           Gov. Aggregation   DUKE         9280362203                  Gas           Gov. Aggregation
COH             187841260037                Gas           Gov. Aggregation   DUKE         3990359603                  Gas           Gov. Aggregation
COH             188559510032                Gas           Gov. Aggregation   DUKE         8110362803                  Gas           Gov. Aggregation
COH             189417300053                Gas           Gov. Aggregation   DUKE         2650372902                  Gas           Gov. Aggregation
COH             118302650021                Gas           Gov. Aggregation   DUKE         4530372504                  Gas           Gov. Aggregation
COH             119386350027                Gas           Gov. Aggregation   DUKE         8100372402                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             118040910031                Gas           Gov. Aggregation   DUKE         1440009428                  Gas           Gov. Aggregation
COH             201722790020                Gas           Gov. Aggregation   DUKE         9820386801                  Gas           Gov. Aggregation
COH             202328070017                Gas           Gov. Aggregation   DUKE         5690395101                  Gas           Gov. Aggregation
COH             202472730013                Gas           Gov. Aggregation   DUKE         7170395802                  Gas           Gov. Aggregation
COH             202513400014                Gas           Gov. Aggregation   DUKE         2530397502                  Gas           Gov. Aggregation
COH             202498770011                Gas           Gov. Aggregation   DUKE         9720397602                  Gas           Gov. Aggregation
COH             161734590053                Gas           Gov. Aggregation   DUKE         0980396902                  Gas           Gov. Aggregation
COH             153806710036                Gas           Gov. Aggregation   DUKE         1470396702                  Gas           Gov. Aggregation
COH             157246890088                Gas           Gov. Aggregation   DUKE         8840398002                  Gas           Gov. Aggregation
COH             170447770017                Gas           Gov. Aggregation   DUKE         1090393502                  Gas           Gov. Aggregation
COH             117898250052                Gas           Gov. Aggregation   DUKE         1830392902                  Gas           Gov. Aggregation
COH             117939390037                Gas           Gov. Aggregation   DUKE         4480394402                  Gas           Gov. Aggregation
COH             139765510052                Gas           Gov. Aggregation   DUKE         4840398002                  Gas           Gov. Aggregation
COH             140294590025                Gas           Gov. Aggregation   DUKE         6780391802                  Gas           Gov. Aggregation
COH             203286930015                Gas           Gov. Aggregation   DUKE         7420392102                  Gas           Gov. Aggregation
COH             203459960012                Gas           Gov. Aggregation   DUKE         0140352202                  Gas           Gov. Aggregation
COH             204152710013                Gas           Gov. Aggregation   DUKE         9310209704                  Gas           Gov. Aggregation
COH             155183850046                Gas           Gov. Aggregation   DUKE         6710363302                  Gas           Gov. Aggregation
COH             142364910035                Gas           Gov. Aggregation   DUKE         5890211101                  Gas           Gov. Aggregation
COH             201151570018                Gas           Gov. Aggregation   DUKE         0540200903                  Gas           Gov. Aggregation
COH             203349790011                Gas           Gov. Aggregation   DUKE         6720201106                  Gas           Gov. Aggregation
COH             161144030024                Gas           Gov. Aggregation   DUKE         4220200802                  Gas           Gov. Aggregation
COH             202966490035                Gas           Gov. Aggregation   DUKE         0610200210                  Gas           Gov. Aggregation
COH             166950490042                Gas           Gov. Aggregation   DUKE         7480394402                  Gas           Gov. Aggregation
COH             160105450029                Gas           Gov. Aggregation   DUKE         4500395602                  Gas           Gov. Aggregation
COH             185448810037                Gas           Gov. Aggregation   DUKE         7290391302                  Gas           Gov. Aggregation
COH             202967880013                Gas           Gov. Aggregation   DUKE         8640392502                  Gas           Gov. Aggregation
COH             202309540018                Gas           Gov. Aggregation   DUKE         8760203902                  Gas           Gov. Aggregation
COH             203774030019                Gas           Gov. Aggregation   DUKE         8340009122                  Gas           Gov. Aggregation
COH             200836210030                Gas           Gov. Aggregation   DUKE         5050009130                  Gas           Gov. Aggregation
COH             201272970018                Gas           Gov. Aggregation   DUKE         1670355905                  Gas           Gov. Aggregation
COH             203767150019                Gas           Gov. Aggregation   DUKE         8450200604                  Gas           Gov. Aggregation
COH             204116920015                Gas           Gov. Aggregation   DUKE         2650200603                  Gas           Gov. Aggregation
COH             204153200018                Gas           Gov. Aggregation   DUKE         2520390201                  Gas           Gov. Aggregation
COH             203257610022                Gas           Gov. Aggregation   DUKE         0130390602                  Gas           Gov. Aggregation
COH             202726300014                Gas           Gov. Aggregation   DUKE         9350390602                  Gas           Gov. Aggregation
COH             202716270012                Gas           Gov. Aggregation   DUKE         7420390203                  Gas           Gov. Aggregation
COH             202920920012                Gas           Gov. Aggregation   DUKE         1080395102                  Gas           Gov. Aggregation
COH             203132630013                Gas           Gov. Aggregation   DUKE         6160390802                  Gas           Gov. Aggregation
COH             203555260015                Gas           Gov. Aggregation   DUKE         2560070321                  Gas           Gov. Aggregation
COH             141219150015                Gas           Gov. Aggregation   DUKE         5470079221                  Gas           Gov. Aggregation
COH             173002740012                Gas           Gov. Aggregation   DUKE         0690080921                  Gas           Gov. Aggregation
COH             168557890022                Gas           Gov. Aggregation   DUKE         6150086022                  Gas           Gov. Aggregation
COH             164586830018                Gas           Gov. Aggregation   DUKE         0220084422                  Gas           Gov. Aggregation
COH             140698980018                Gas           Gov. Aggregation   DUKE         3710081523                  Gas           Gov. Aggregation
COH             140862260029                Gas           Gov. Aggregation   DUKE         9740084228                  Gas           Gov. Aggregation
COH             202182750014                Gas           Gov. Aggregation   DUKE         7400083624                  Gas           Gov. Aggregation
COH             202243780018                Gas           Gov. Aggregation   DUKE         5950084622                  Gas           Gov. Aggregation
COH             157584610044                Gas           Gov. Aggregation   DUKE         4750009126                  Gas           Gov. Aggregation
COH             201671720014                Gas           Gov. Aggregation   DUKE         9200354504                  Gas           Gov. Aggregation
COH             201305150019                Gas           Gov. Aggregation   DUKE         8510352103                  Gas           Gov. Aggregation
COH             201240610056                Gas           Gov. Aggregation   DUKE         5120352103                  Gas           Gov. Aggregation
COH             159540630013                Gas           Gov. Aggregation   DUKE         4520351904                  Gas           Gov. Aggregation
COH             111177670012                Gas           Gov. Aggregation   DUKE         5520351905                  Gas           Gov. Aggregation
COH             133241570010                Gas           Gov. Aggregation   DUKE         2450355004                  Gas           Gov. Aggregation
COH             188402990015                Gas           Gov. Aggregation   DUKE         1070351903                  Gas           Gov. Aggregation
COH             136627670018                Gas           Gov. Aggregation   DUKE         7890359607                  Gas           Gov. Aggregation
COH             169512760013                Gas           Gov. Aggregation   DUKE         2050363303                  Gas           Gov. Aggregation
COH             141280950018                Gas           Gov. Aggregation   DUKE         8670356402                  Gas           Gov. Aggregation
COH             203276780018                Gas           Gov. Aggregation   DUKE         3830356602                  Gas           Gov. Aggregation
COH             203286960019                Gas           Gov. Aggregation   DUKE         4830356602                  Gas           Gov. Aggregation
COH             203411330014                Gas           Gov. Aggregation   DUKE         4840357302                  Gas           Gov. Aggregation
COH             202756990017                Gas           Gov. Aggregation   DUKE         2490358402                  Gas           Gov. Aggregation
COH             193370910031                Gas           Gov. Aggregation   DUKE         6550359102                  Gas           Gov. Aggregation
COH             201311110014                Gas           Gov. Aggregation   DUKE         6690359603                  Gas           Gov. Aggregation
COH             201944270010                Gas           Gov. Aggregation   DUKE         0410359002                  Gas           Gov. Aggregation
COH             202823800013                Gas           Gov. Aggregation   DUKE         9440367902                  Gas           Gov. Aggregation
COH             203386270012                Gas           Gov. Aggregation   DUKE         9250213004                  Gas           Gov. Aggregation
COH             204054400016                Gas           Gov. Aggregation   DUKE         9620215602                  Gas           Gov. Aggregation
COH             144039880146                Gas           Gov. Aggregation   DUKE         7140213502                  Gas           Gov. Aggregation
COH             203703590011                Gas           Gov. Aggregation   DUKE         6550360802                  Gas           Gov. Aggregation
COH             203016000011                Gas           Gov. Aggregation   DUKE         5340361403                  Gas           Gov. Aggregation
COH             200688620011                Gas           Gov. Aggregation   DUKE         9140359904                  Gas           Gov. Aggregation
COH             201237490013                Gas           Gov. Aggregation   DUKE         7130207904                  Gas           Gov. Aggregation
COH             202420640011                Gas           Gov. Aggregation   DUKE         4650210603                  Gas           Gov. Aggregation
COH             195434300022                Gas           Gov. Aggregation   DUKE         4270212002                  Gas           Gov. Aggregation
COH             199874580019                Gas           Gov. Aggregation   DUKE         8090212403                  Gas           Gov. Aggregation
COH             195062440031                Gas           Gov. Aggregation   DUKE         4530201505                  Gas           Gov. Aggregation
DEO             7180006752960               Gas           Gov. Aggregation   DUKE         3510087925                  Gas           Gov. Aggregation
DEO             9180005823252               Gas           Gov. Aggregation   DUKE         8430210903                  Gas           Gov. Aggregation
DEO             7180007500348               Gas           Gov. Aggregation   DUKE         3590211601                  Gas           Gov. Aggregation
DEO             5180006377863               Gas           Gov. Aggregation   DUKE         9200084527                  Gas           Gov. Aggregation
DEO             2500065403936               Gas           Gov. Aggregation   DUKE         5770088322                  Gas           Gov. Aggregation
DEO             1180006864797               Gas           Gov. Aggregation   DUKE         4160083525                  Gas           Gov. Aggregation
VEDO            4017122432137196            Gas           Gov. Aggregation   DUKE         9040201204                  Gas           Gov. Aggregation
COH             161391120059                Gas           Gov. Aggregation   DUKE         6310088522                  Gas           Gov. Aggregation
DEO             6180006221192               Gas           Gov. Aggregation   DUKE         7680082122                  Gas           Gov. Aggregation
DEO             6180005577868               Gas           Gov. Aggregation   DUKE         3450086826                  Gas           Gov. Aggregation
DEO             2180004994728               Gas           Gov. Aggregation   DUKE         7320202702                  Gas           Gov. Aggregation
COH             149705020059                Gas           Gov. Aggregation   DUKE         9100082222                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             203416830019                Gas           Gov. Aggregation   DUKE         4320081522                  Gas           Gov. Aggregation
VEDO            4002094362204679            Gas           Gov. Aggregation   DUKE         9720081827                  Gas           Gov. Aggregation
COH             205233300016                Gas           Gov. Aggregation   DUKE         0410080921                  Gas           Gov. Aggregation
COH             162964100048                Gas           Gov. Aggregation   DUKE         8910083222                  Gas           Gov. Aggregation
COH             173926410013                Gas           Gov. Aggregation   DUKE         4190082224                  Gas           Gov. Aggregation
COH             208062490017                Gas           Gov. Aggregation   DUKE         5160082322                  Gas           Gov. Aggregation
COH             200938660021                Gas           Gov. Aggregation   DUKE         4490086122                  Gas           Gov. Aggregation
COH             205780770019                Gas           Gov. Aggregation   DUKE         5330082222                  Gas           Gov. Aggregation
COH             207682750019                Gas           Gov. Aggregation   DUKE         6450082721                  Gas           Gov. Aggregation
COH             163381430071                Gas           Gov. Aggregation   DUKE         0490200907                  Gas           Gov. Aggregation
COH             208377940015                Gas           Gov. Aggregation   DUKE         6630087222                  Gas           Gov. Aggregation
COH             176701060056                Gas           Gov. Aggregation   DUKE         0900088121                  Gas           Gov. Aggregation
COH             208425730016                Gas           Gov. Aggregation   DUKE         4240085423                  Gas           Gov. Aggregation
COH             207816900012                Gas           Gov. Aggregation   DUKE         2620200004                  Gas           Gov. Aggregation
COH             208440880013                Gas           Gov. Aggregation   DUKE         1560086921                  Gas           Gov. Aggregation
COH             206770800012                Gas           Gov. Aggregation   DUKE         4030081028                  Gas           Gov. Aggregation
COH             207170750014                Gas           Gov. Aggregation   DUKE         2730201603                  Gas           Gov. Aggregation
COH             194792990076                Gas           Gov. Aggregation   DUKE         5060213402                  Gas           Gov. Aggregation
COH             205052030017                Gas           Gov. Aggregation   DUKE         5630072824                  Gas           Gov. Aggregation
COH             207407480018                Gas           Gov. Aggregation   DUKE         8390200905                  Gas           Gov. Aggregation
COH             199111650029                Gas           Gov. Aggregation   DUKE         0240201004                  Gas           Gov. Aggregation
COH             208157850010                Gas           Gov. Aggregation   DUKE         9760221202                  Gas           Gov. Aggregation
COH             110407290210                Gas           Gov. Aggregation   DUKE         7810200903                  Gas           Gov. Aggregation
COH             207893470011                Gas           Gov. Aggregation   DUKE         4740202503                  Gas           Gov. Aggregation
COH             205582980015                Gas           Gov. Aggregation   DUKE         2100200307                  Gas           Gov. Aggregation
COH             207744600018                Gas           Gov. Aggregation   DUKE         5630074323                  Gas           Gov. Aggregation
COH             207233480017                Gas           Gov. Aggregation   DUKE         7860014620                  Gas           Gov. Aggregation
COH             202849470028                Gas           Gov. Aggregation   DUKE         3850201102                  Gas           Gov. Aggregation
COH             208786600019                Gas           Gov. Aggregation   DUKE         7140087822                  Gas           Gov. Aggregation
COH             202810040010                Gas           Gov. Aggregation   DUKE         0680209503                  Gas           Gov. Aggregation
COH             208607550018                Gas           Gov. Aggregation   DUKE         6360219704                  Gas           Gov. Aggregation
COH             152066810036                Gas           Gov. Aggregation   DUKE         1930215603                  Gas           Gov. Aggregation
COH             198455100027                Gas           Gov. Aggregation   DUKE         9440221404                  Gas           Gov. Aggregation
COH             204931690016                Gas           Gov. Aggregation   DUKE         3340216402                  Gas           Gov. Aggregation
COH             208593170019                Gas           Gov. Aggregation   DUKE         2550217002                  Gas           Gov. Aggregation
COH             140485410045                Gas           Gov. Aggregation   DUKE         0760218903                  Gas           Gov. Aggregation
COH             207707790017                Gas           Gov. Aggregation   DUKE         6320201404                  Gas           Gov. Aggregation
COH             204857350015                Gas           Gov. Aggregation   DUKE         4310211902                  Gas           Gov. Aggregation
COH             208425720018                Gas           Gov. Aggregation   DUKE         5720211905                  Gas           Gov. Aggregation
COH             202178930024                Gas           Gov. Aggregation   DUKE         1450210502                  Gas           Gov. Aggregation
COH             193535890045                Gas           Gov. Aggregation   DUKE         3860014623                  Gas           Gov. Aggregation
COH             198643820027                Gas           Gov. Aggregation   DUKE         2270014624                  Gas           Gov. Aggregation
COH             191549270039                Gas           Gov. Aggregation   DUKE         5860014622                  Gas           Gov. Aggregation
COH             208377920019                Gas           Gov. Aggregation   DUKE         9200075925                  Gas           Gov. Aggregation
COH             176787570022                Gas           Gov. Aggregation   DUKE         0310070325                  Gas           Gov. Aggregation
COH             207697510018                Gas           Gov. Aggregation   DUKE         6860014620                  Gas           Gov. Aggregation
COH             202511310026                Gas           Gov. Aggregation   DUKE         1330074521                  Gas           Gov. Aggregation
COH             111053410018                Gas           Gov. Aggregation   DUKE         0300075924                  Gas           Gov. Aggregation
COH             206391220018                Gas           Gov. Aggregation   DUKE         7720213602                  Gas           Gov. Aggregation
COH             148566590011                Gas           Gov. Aggregation   DUKE         8010214904                  Gas           Gov. Aggregation
COH             205708990015                Gas           Gov. Aggregation   DUKE         1760014622                  Gas           Gov. Aggregation
COH             206480880011                Gas           Gov. Aggregation   DUKE         3560014624                  Gas           Gov. Aggregation
COH             175273300091                Gas           Gov. Aggregation   DUKE         9660014627                  Gas           Gov. Aggregation
COH             172300530060                Gas           Gov. Aggregation   DUKE         6560014633                  Gas           Gov. Aggregation
COH             204064680035                Gas           Gov. Aggregation   DUKE         7660014620                  Gas           Gov. Aggregation
COH             174042550071                Gas           Gov. Aggregation   DUKE         5130395802                  Gas           Gov. Aggregation
COH             204289280033                Gas           Gov. Aggregation   DUKE         5550014621                  Gas           Gov. Aggregation
COH             208332540013                Gas           Gov. Aggregation   DUKE         4450014621                  Gas           Gov. Aggregation
COH             205545660010                Gas           Gov. Aggregation   DUKE         3450014623                  Gas           Gov. Aggregation
COH             111055280058                Gas           Gov. Aggregation   DUKE         2450014622                  Gas           Gov. Aggregation
COH             207101920013                Gas           Gov. Aggregation   DUKE         8550014624                  Gas           Gov. Aggregation
COH             201861210045                Gas           Gov. Aggregation   DUKE         9550014621                  Gas           Gov. Aggregation
COH             204605850059                Gas           Gov. Aggregation   DUKE         8350014622                  Gas           Gov. Aggregation
COH             205945900011                Gas           Gov. Aggregation   DUKE         2650014627                  Gas           Gov. Aggregation
COH             207139140018                Gas           Gov. Aggregation   DUKE         6350014620                  Gas           Gov. Aggregation
COH             208520200015                Gas           Gov. Aggregation   DUKE         4650014631                  Gas           Gov. Aggregation
COH             187914180039                Gas           Gov. Aggregation   DUKE         9770201807                  Gas           Gov. Aggregation
COH             191109510030                Gas           Gov. Aggregation   DUKE         9150014620                  Gas           Gov. Aggregation
COH             208452890016                Gas           Gov. Aggregation   DUKE         7210073620                  Gas           Gov. Aggregation
COH             206032380015                Gas           Gov. Aggregation   DUKE         6170014626                  Gas           Gov. Aggregation
COH             205788840018                Gas           Gov. Aggregation   DUKE         9080215904                  Gas           Gov. Aggregation
COH             208731790015                Gas           Gov. Aggregation   DUKE         4640218602                  Gas           Gov. Aggregation
COH             177316610056                Gas           Gov. Aggregation   DUKE         7270077322                  Gas           Gov. Aggregation
COH             111059560079                Gas           Gov. Aggregation   DUKE         0680076528                  Gas           Gov. Aggregation
COH             207321510013                Gas           Gov. Aggregation   DUKE         4940076621                  Gas           Gov. Aggregation
COH             207271970014                Gas           Gov. Aggregation   DUKE         0040206204                  Gas           Gov. Aggregation
COH             207327410012                Gas           Gov. Aggregation   DUKE         3960014620                  Gas           Gov. Aggregation
COH             208259460016                Gas           Gov. Aggregation   DUKE         9350214405                  Gas           Gov. Aggregation
COH             207455190018                Gas           Gov. Aggregation   DUKE         7960014623                  Gas           Gov. Aggregation
COH             111055230012                Gas           Gov. Aggregation   DUKE         8960014624                  Gas           Gov. Aggregation
COH             167545060040                Gas           Gov. Aggregation   DUKE         5960014623                  Gas           Gov. Aggregation
COH             206029820019                Gas           Gov. Aggregation   DUKE         2070014620                  Gas           Gov. Aggregation
COH             175962010055                Gas           Gov. Aggregation   DUKE         3380214302                  Gas           Gov. Aggregation
COH             200883250033                Gas           Gov. Aggregation   DUKE         4250214202                  Gas           Gov. Aggregation
COH             198093010033                Gas           Gov. Aggregation   DUKE         1930218803                  Gas           Gov. Aggregation
COH             206460270011                Gas           Gov. Aggregation   DUKE         8590356604                  Gas           Gov. Aggregation
COH             199795560039                Gas           Gov. Aggregation   DUKE         9640391502                  Gas           Gov. Aggregation
COH             205997920018                Gas           Gov. Aggregation   DUKE         8610383301                  Gas           Gov. Aggregation
COH             154509900151                Gas           Gov. Aggregation   DUKE         2940213605                  Gas           Gov. Aggregation
COH             154509900179                Gas           Gov. Aggregation   DUKE         7440215904                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             159702740105                Gas           Gov. Aggregation   DUKE         1520214905                  Gas           Gov. Aggregation
COH             202934530024                Gas           Gov. Aggregation   DUKE         8640216804                  Gas           Gov. Aggregation
COH             206518370017                Gas           Gov. Aggregation   DUKE         0260215004                  Gas           Gov. Aggregation
COH             192719650046                Gas           Gov. Aggregation   DUKE         1410214802                  Gas           Gov. Aggregation
COH             207271960016                Gas           Gov. Aggregation   DUKE         6540361504                  Gas           Gov. Aggregation
COH             205355710012                Gas           Gov. Aggregation   DUKE         2140365007                  Gas           Gov. Aggregation
COH             208204320010                Gas           Gov. Aggregation   DUKE         9650358403                  Gas           Gov. Aggregation
COH             199892400027                Gas           Gov. Aggregation   DUKE         6290215807                  Gas           Gov. Aggregation
COH             196092110054                Gas           Gov. Aggregation   DUKE         2430214904                  Gas           Gov. Aggregation
COH             202756930028                Gas           Gov. Aggregation   DUKE         2300214804                  Gas           Gov. Aggregation
COH             198828970033                Gas           Gov. Aggregation   DUKE         0780217803                  Gas           Gov. Aggregation
COH             208591190019                Gas           Gov. Aggregation   DUKE         9090217203                  Gas           Gov. Aggregation
COH             205024420014                Gas           Gov. Aggregation   DUKE         7860374902                  Gas           Gov. Aggregation
COH             205416490019                Gas           Gov. Aggregation   DUKE         2320220403                  Gas           Gov. Aggregation
COH             174254750016                Gas           Gov. Aggregation   DUKE         4530217504                  Gas           Gov. Aggregation
COH             111088310016                Gas           Gov. Aggregation   DUKE         7900225207                  Gas           Gov. Aggregation
COH             199567480020                Gas           Gov. Aggregation   DUKE         9350219207                  Gas           Gov. Aggregation
COH             207762530015                Gas           Gov. Aggregation   DUKE         9710223104                  Gas           Gov. Aggregation
COH             208676700011                Gas           Gov. Aggregation   DUKE         9160218805                  Gas           Gov. Aggregation
COH             200544700018                Gas           Gov. Aggregation   DUKE         7550223803                  Gas           Gov. Aggregation
COH             198692040019                Gas           Gov. Aggregation   DUKE         3920223603                  Gas           Gov. Aggregation
COH             207064660018                Gas           Gov. Aggregation   DUKE         0940224502                  Gas           Gov. Aggregation
COH             195299130017                Gas           Gov. Aggregation   DUKE         5130357901                  Gas           Gov. Aggregation
COH             206918190017                Gas           Gov. Aggregation   DUKE         0650360003                  Gas           Gov. Aggregation
COH             208108180014                Gas           Gov. Aggregation   DUKE         0940375502                  Gas           Gov. Aggregation
COH             139997250458                Gas           Gov. Aggregation   DUKE         2520357902                  Gas           Gov. Aggregation
COH             154745030645                Gas           Gov. Aggregation   DUKE         5140389302                  Gas           Gov. Aggregation
COH             185457230067                Gas           Gov. Aggregation   DUKE         5770215303                  Gas           Gov. Aggregation
COH             201017110036                Gas           Gov. Aggregation   DUKE         3800215402                  Gas           Gov. Aggregation
COH             174118590063                Gas           Gov. Aggregation   DUKE         4600215304                  Gas           Gov. Aggregation
COH             185860690619                Gas           Gov. Aggregation   DUKE         1950350202                  Gas           Gov. Aggregation
COH             205313300016                Gas           Gov. Aggregation   DUKE         4510364002                  Gas           Gov. Aggregation
COH             185990050092                Gas           Gov. Aggregation   DUKE         5130360803                  Gas           Gov. Aggregation
COH             208425750012                Gas           Gov. Aggregation   DUKE         4820224403                  Gas           Gov. Aggregation
COH             194012020017                Gas           Gov. Aggregation   DUKE         8590356402                  Gas           Gov. Aggregation
COH             168346990055                Gas           Gov. Aggregation   DUKE         6790214902                  Gas           Gov. Aggregation
COH             145088570030                Gas           Gov. Aggregation   DUKE         0350215505                  Gas           Gov. Aggregation
COH             205585540020                Gas           Gov. Aggregation   DUKE         7510217304                  Gas           Gov. Aggregation
COH             207733140018                Gas           Gov. Aggregation   DUKE         0760085621                  Gas           Gov. Aggregation
COH             208183670013                Gas           Gov. Aggregation   DUKE         9700084221                  Gas           Gov. Aggregation
COH             204825670015                Gas           Gov. Aggregation   DUKE         1760085622                  Gas           Gov. Aggregation
COH             207682770015                Gas           Gov. Aggregation   DUKE         0800084224                  Gas           Gov. Aggregation
COH             137475240127                Gas           Gov. Aggregation   DUKE         0690083924                  Gas           Gov. Aggregation
COH             195274560028                Gas           Gov. Aggregation   DUKE         8970202304                  Gas           Gov. Aggregation
COH             208533480010                Gas           Gov. Aggregation   DUKE         2670355801                  Gas           Gov. Aggregation
COH             207610960016                Gas           Gov. Aggregation   DUKE         8650088822                  Gas           Gov. Aggregation
COH             204230350013                Gas           Gov. Aggregation   DUKE         2450389801                  Gas           Gov. Aggregation
COH             208731850012                Gas           Gov. Aggregation   DUKE         5690356404                  Gas           Gov. Aggregation
COH             208612320015                Gas           Gov. Aggregation   DUKE         7940358002                  Gas           Gov. Aggregation
COH             205945910019                Gas           Gov. Aggregation   DUKE         1490218202                  Gas           Gov. Aggregation
COH             136256630031                Gas           Gov. Aggregation   DUKE         4980351203                  Gas           Gov. Aggregation
COH             168118870099                Gas           Gov. Aggregation   DUKE         7050352702                  Gas           Gov. Aggregation
COH             208039870016                Gas           Gov. Aggregation   DUKE         7370222303                  Gas           Gov. Aggregation
COH             205662510013                Gas           Gov. Aggregation   DUKE         7180389302                  Gas           Gov. Aggregation
COH             198293540056                Gas           Gov. Aggregation   DUKE         8410354504                  Gas           Gov. Aggregation
COH             206110020014                Gas           Gov. Aggregation   DUKE         8950219305                  Gas           Gov. Aggregation
COH             194232810560                Gas           Gov. Aggregation   DUKE         3410354203                  Gas           Gov. Aggregation
COH             202923140038                Gas           Gov. Aggregation   DUKE         0300214805                  Gas           Gov. Aggregation
COH             204985920014                Gas           Gov. Aggregation   DUKE         9710215604                  Gas           Gov. Aggregation
COH             208617340011                Gas           Gov. Aggregation   DUKE         8400221402                  Gas           Gov. Aggregation
COH             128994730063                Gas           Gov. Aggregation   DUKE         2030222604                  Gas           Gov. Aggregation
COH             205828790013                Gas           Gov. Aggregation   DUKE         9600220504                  Gas           Gov. Aggregation
COH             111078520013                Gas           Gov. Aggregation   DUKE         1870361402                  Gas           Gov. Aggregation
COH             208520240017                Gas           Gov. Aggregation   DUKE         4930215302                  Gas           Gov. Aggregation
COH             202285500027                Gas           Gov. Aggregation   DUKE         1930215706                  Gas           Gov. Aggregation
COH             201186340013                Gas           Gov. Aggregation   DUKE         9320218003                  Gas           Gov. Aggregation
COH             206197730013                Gas           Gov. Aggregation   DUKE         0730219203                  Gas           Gov. Aggregation
COH             147235370019                Gas           Gov. Aggregation   DUKE         9630219202                  Gas           Gov. Aggregation
COH             188032430044                Gas           Gov. Aggregation   DUKE         6430218702                  Gas           Gov. Aggregation
COH             199131770022                Gas           Gov. Aggregation   DUKE         8960216502                  Gas           Gov. Aggregation
COH             206698310019                Gas           Gov. Aggregation   DUKE         9960216502                  Gas           Gov. Aggregation
COH             204387140025                Gas           Gov. Aggregation   DUKE         9570216605                  Gas           Gov. Aggregation
COH             193341950061                Gas           Gov. Aggregation   DUKE         3670216604                  Gas           Gov. Aggregation
COH             164515010028                Gas           Gov. Aggregation   DUKE         4880217402                  Gas           Gov. Aggregation
COH             205813130012                Gas           Gov. Aggregation   DUKE         7880217405                  Gas           Gov. Aggregation
COH             205608380015                Gas           Gov. Aggregation   DUKE         8900221302                  Gas           Gov. Aggregation
COH             207904300011                Gas           Gov. Aggregation   DUKE         8140218604                  Gas           Gov. Aggregation
COH             205293170018                Gas           Gov. Aggregation   DUKE         9650217804                  Gas           Gov. Aggregation
COH             157977270070                Gas           Gov. Aggregation   DUKE         7650217802                  Gas           Gov. Aggregation
COH             131843970021                Gas           Gov. Aggregation   DUKE         2010221305                  Gas           Gov. Aggregation
COH             207554020013                Gas           Gov. Aggregation   DUKE         3010221302                  Gas           Gov. Aggregation
COH             207536320018                Gas           Gov. Aggregation   DUKE         7670218005                  Gas           Gov. Aggregation
COH             206933540011                Gas           Gov. Aggregation   DUKE         4510350402                  Gas           Gov. Aggregation
COH             116618590045                Gas           Gov. Aggregation   DUKE         8330218703                  Gas           Gov. Aggregation
COH             111154600041                Gas           Gov. Aggregation   DUKE         0740356405                  Gas           Gov. Aggregation
COH             206002650011                Gas           Gov. Aggregation   DUKE         9910217402                  Gas           Gov. Aggregation
COH             208489440013                Gas           Gov. Aggregation   DUKE         4600219502                  Gas           Gov. Aggregation
COH             207207260018                Gas           Gov. Aggregation   DUKE         5510220407                  Gas           Gov. Aggregation
COH             205391400011                Gas           Gov. Aggregation   DUKE         3510220402                  Gas           Gov. Aggregation
COH             207302280012                Gas           Gov. Aggregation   DUKE         7210220402                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             162895310112                Gas           Gov. Aggregation   DUKE         0840350002                  Gas           Gov. Aggregation
COH             173266790087                Gas           Gov. Aggregation   DUKE         5670350009                  Gas           Gov. Aggregation
COH             203321380033                Gas           Gov. Aggregation   DUKE         6690352602                  Gas           Gov. Aggregation
COH             111046270031                Gas           Gov. Aggregation   DUKE         9590220202                  Gas           Gov. Aggregation
COH             208961750016                Gas           Gov. Aggregation   DUKE         1700219703                  Gas           Gov. Aggregation
COH             208332520017                Gas           Gov. Aggregation   DUKE         0510350402                  Gas           Gov. Aggregation
COH             206643680017                Gas           Gov. Aggregation   DUKE         8800221305                  Gas           Gov. Aggregation
COH             111196810021                Gas           Gov. Aggregation   DUKE         9800221302                  Gas           Gov. Aggregation
COH             206599130017                Gas           Gov. Aggregation   DUKE         2900221307                  Gas           Gov. Aggregation
COH             173526260031                Gas           Gov. Aggregation   DUKE         6670350003                  Gas           Gov. Aggregation
COH             194496870015                Gas           Gov. Aggregation   DUKE         7670350003                  Gas           Gov. Aggregation
COH             204151220018                Gas           Gov. Aggregation   DUKE         7100351102                  Gas           Gov. Aggregation
COH             166190970016                Gas           Gov. Aggregation   DUKE         3310351102                  Gas           Gov. Aggregation
COH             111053950033                Gas           Gov. Aggregation   DUKE         2640009421                  Gas           Gov. Aggregation
COH             112036280119                Gas           Gov. Aggregation   DUKE         7260213004                  Gas           Gov. Aggregation
COH             135247000097                Gas           Gov. Aggregation   DUKE         3070212903                  Gas           Gov. Aggregation
COH             152575560021                Gas           Gov. Aggregation   DUKE         8800222702                  Gas           Gov. Aggregation
COH             191920640024                Gas           Gov. Aggregation   DUKE         4180222502                  Gas           Gov. Aggregation
COH             201002680029                Gas           Gov. Aggregation   DUKE         3730222503                  Gas           Gov. Aggregation
COH             201681560026                Gas           Gov. Aggregation   DUKE         2310077920                  Gas           Gov. Aggregation
COH             160238670013                Gas           Gov. Aggregation   DUKE         3740223104                  Gas           Gov. Aggregation
COH             166573380027                Gas           Gov. Aggregation   DUKE         1370222405                  Gas           Gov. Aggregation
COH             206290650012                Gas           Gov. Aggregation   DUKE         5070212902                  Gas           Gov. Aggregation
COH             205155960014                Gas           Gov. Aggregation   DUKE         3110222106                  Gas           Gov. Aggregation
COH             205079450013                Gas           Gov. Aggregation   DUKE         2560355403                  Gas           Gov. Aggregation
COH             205938870013                Gas           Gov. Aggregation   DUKE         9970218703                  Gas           Gov. Aggregation
COH             152301310022                Gas           Gov. Aggregation   DUKE         2070217804                  Gas           Gov. Aggregation
COH             191081770018                Gas           Gov. Aggregation   DUKE         8270218704                  Gas           Gov. Aggregation
COH             205728160017                Gas           Gov. Aggregation   DUKE         8870354502                  Gas           Gov. Aggregation
COH             199842940010                Gas           Gov. Aggregation   DUKE         1020360002                  Gas           Gov. Aggregation
COH             203409490016                Gas           Gov. Aggregation   DUKE         3020360003                  Gas           Gov. Aggregation
COH             149105650022                Gas           Gov. Aggregation   DUKE         8980350802                  Gas           Gov. Aggregation
COH             208469180010                Gas           Gov. Aggregation   DUKE         4300222108                  Gas           Gov. Aggregation
COH             208167100016                Gas           Gov. Aggregation   DUKE         2850214302                  Gas           Gov. Aggregation
COH             206563300016                Gas           Gov. Aggregation   DUKE         3460216502                  Gas           Gov. Aggregation
COH             197160610026                Gas           Gov. Aggregation   DUKE         9920216903                  Gas           Gov. Aggregation
COH             207624870016                Gas           Gov. Aggregation   DUKE         9650216003                  Gas           Gov. Aggregation
COH             129419700039                Gas           Gov. Aggregation   DUKE         7930216503                  Gas           Gov. Aggregation
COH             189819410076                Gas           Gov. Aggregation   DUKE         6990352802                  Gas           Gov. Aggregation
COH             207333020011                Gas           Gov. Aggregation   DUKE         8740220402                  Gas           Gov. Aggregation
COH             194718440031                Gas           Gov. Aggregation   DUKE         2880364701                  Gas           Gov. Aggregation
COH             204675230016                Gas           Gov. Aggregation   DUKE         1280082120                  Gas           Gov. Aggregation
COH             207893480019                Gas           Gov. Aggregation   DUKE         1330373104                  Gas           Gov. Aggregation
COH             206817130013                Gas           Gov. Aggregation   DUKE         1670367306                  Gas           Gov. Aggregation
COH             156632390058                Gas           Gov. Aggregation   DUKE         4340365402                  Gas           Gov. Aggregation
COH             208819590011                Gas           Gov. Aggregation   DUKE         0400369903                  Gas           Gov. Aggregation
COH             175492710019                Gas           Gov. Aggregation   DUKE         9010372202                  Gas           Gov. Aggregation
COH             206133940013                Gas           Gov. Aggregation   DUKE         5390363305                  Gas           Gov. Aggregation
COH             145752620058                Gas           Gov. Aggregation   DUKE         5710363503                  Gas           Gov. Aggregation
COH             111065050046                Gas           Gov. Aggregation   DUKE         4930214404                  Gas           Gov. Aggregation
COH             206173600010                Gas           Gov. Aggregation   DUKE         0220215204                  Gas           Gov. Aggregation
COH             111036010090                Gas           Gov. Aggregation   DUKE         3750222504                  Gas           Gov. Aggregation
COH             206444500016                Gas           Gov. Aggregation   DUKE         2350217502                  Gas           Gov. Aggregation
COH             161679810027                Gas           Gov. Aggregation   DUKE         6530220504                  Gas           Gov. Aggregation
COH             200631790024                Gas           Gov. Aggregation   DUKE         5230351002                  Gas           Gov. Aggregation
COH             197395130048                Gas           Gov. Aggregation   DUKE         0700353804                  Gas           Gov. Aggregation
COH             206698320017                Gas           Gov. Aggregation   DUKE         9690217204                  Gas           Gov. Aggregation
COH             207782700017                Gas           Gov. Aggregation   DUKE         1050217304                  Gas           Gov. Aggregation
COH             204992520013                Gas           Gov. Aggregation   DUKE         2290215502                  Gas           Gov. Aggregation
COH             200780400039                Gas           Gov. Aggregation   DUKE         1070215806                  Gas           Gov. Aggregation
COH             199192080065                Gas           Gov. Aggregation   DUKE         4450217303                  Gas           Gov. Aggregation
COH             201386540026                Gas           Gov. Aggregation   DUKE         9120215202                  Gas           Gov. Aggregation
COH             206310680012                Gas           Gov. Aggregation   DUKE         6880225408                  Gas           Gov. Aggregation
COH             204964040013                Gas           Gov. Aggregation   DUKE         2690223603                  Gas           Gov. Aggregation
COH             205932170012                Gas           Gov. Aggregation   DUKE         8710214304                  Gas           Gov. Aggregation
COH             208410540017                Gas           Gov. Aggregation   DUKE         6750218102                  Gas           Gov. Aggregation
COH             205336300018                Gas           Gov. Aggregation   DUKE         6950355903                  Gas           Gov. Aggregation
COH             204811550019                Gas           Gov. Aggregation   DUKE         8150218606                  Gas           Gov. Aggregation
COH             191317400041                Gas           Gov. Aggregation   DUKE         5060363801                  Gas           Gov. Aggregation
COH             150452230086                Gas           Gov. Aggregation   DUKE         4620220606                  Gas           Gov. Aggregation
COH             185860690566                Gas           Gov. Aggregation   DUKE         2890359803                  Gas           Gov. Aggregation
COH             185860690584                Gas           Gov. Aggregation   DUKE         3710220602                  Gas           Gov. Aggregation
COH             202293640021                Gas           Gov. Aggregation   DUKE         8280357104                  Gas           Gov. Aggregation
COH             185860690593                Gas           Gov. Aggregation   DUKE         2700351302                  Gas           Gov. Aggregation
COH             206685750014                Gas           Gov. Aggregation   DUKE         0890223908                  Gas           Gov. Aggregation
COH             205347650094                Gas           Gov. Aggregation   DUKE         7790219508                  Gas           Gov. Aggregation
COH             111068530021                Gas           Gov. Aggregation   DUKE         7400221405                  Gas           Gov. Aggregation
COH             143115050023                Gas           Gov. Aggregation   DUKE         8350223105                  Gas           Gov. Aggregation
COH             151050570068                Gas           Gov. Aggregation   DUKE         7360225003                  Gas           Gov. Aggregation
COH             155299850096                Gas           Gov. Aggregation   DUKE         8000223404                  Gas           Gov. Aggregation
COH             205260230014                Gas           Gov. Aggregation   DUKE         1660225102                  Gas           Gov. Aggregation
COH             205372990018                Gas           Gov. Aggregation   DUKE         7120350404                  Gas           Gov. Aggregation
COH             205638430011                Gas           Gov. Aggregation   DUKE         6220221404                  Gas           Gov. Aggregation
COH             206613340011                Gas           Gov. Aggregation   DUKE         4670224103                  Gas           Gov. Aggregation
COH             207103850014                Gas           Gov. Aggregation   DUKE         5340009425                  Gas           Gov. Aggregation
COH             207857980010                Gas           Gov. Aggregation   DUKE         6340009452                  Gas           Gov. Aggregation
COH             208173820012                Gas           Gov. Aggregation   DUKE         2390203706                  Gas           Gov. Aggregation
COH             208220610015                Gas           Gov. Aggregation   DUKE         2280202504                  Gas           Gov. Aggregation
COH             208293660012                Gas           Gov. Aggregation   DUKE         4400207801                  Gas           Gov. Aggregation
COH             208332630014                Gas           Gov. Aggregation   DUKE         6850203306                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             208510890012                Gas           Gov. Aggregation   DUKE         5300203606                  Gas           Gov. Aggregation
COH             190993780014                Gas           Gov. Aggregation   DUKE         2750207805                  Gas           Gov. Aggregation
COH             191115030010                Gas           Gov. Aggregation   DUKE         4300203604                  Gas           Gov. Aggregation
COH             198592160034                Gas           Gov. Aggregation   DUKE         3300203606                  Gas           Gov. Aggregation
COH             205062560015                Gas           Gov. Aggregation   DUKE         3900206705                  Gas           Gov. Aggregation
COH             188946870036                Gas           Gov. Aggregation   DUKE         9090200701                  Gas           Gov. Aggregation
COH             186719220035                Gas           Gov. Aggregation   DUKE         7340009421                  Gas           Gov. Aggregation
COH             164366560075                Gas           Gov. Aggregation   DUKE         1290077423                  Gas           Gov. Aggregation
COH             198289640018                Gas           Gov. Aggregation   DUKE         2030204501                  Gas           Gov. Aggregation
COH             175544700056                Gas           Gov. Aggregation   DUKE         8340009421                  Gas           Gov. Aggregation
COH             195349160050                Gas           Gov. Aggregation   DUKE         7780209103                  Gas           Gov. Aggregation
COH             208573470018                Gas           Gov. Aggregation   DUKE         9010200902                  Gas           Gov. Aggregation
COH             207484670016                Gas           Gov. Aggregation   DUKE         6450202402                  Gas           Gov. Aggregation
COH             208593580013                Gas           Gov. Aggregation   DUKE         5410083222                  Gas           Gov. Aggregation
COH             207840500015                Gas           Gov. Aggregation   DUKE         8420082224                  Gas           Gov. Aggregation
COH             196067350020                Gas           Gov. Aggregation   DUKE         1120082524                  Gas           Gov. Aggregation
COH             208424970018                Gas           Gov. Aggregation   DUKE         5740084922                  Gas           Gov. Aggregation
COH             208606160012                Gas           Gov. Aggregation   DUKE         6080082323                  Gas           Gov. Aggregation
COH             204269300021                Gas           Gov. Aggregation   DUKE         4420082223                  Gas           Gov. Aggregation
COH             155081780038                Gas           Gov. Aggregation   DUKE         3330083020                  Gas           Gov. Aggregation
COH             195284120038                Gas           Gov. Aggregation   DUKE         7150084824                  Gas           Gov. Aggregation
COH             190935550041                Gas           Gov. Aggregation   DUKE         5480009220                  Gas           Gov. Aggregation
COH             208819150013                Gas           Gov. Aggregation   DUKE         1150088022                  Gas           Gov. Aggregation
COH             207863270016                Gas           Gov. Aggregation   DUKE         2750086822                  Gas           Gov. Aggregation
COH             207737520010                Gas           Gov. Aggregation   DUKE         2780079525                  Gas           Gov. Aggregation
COH             207223810018                Gas           Gov. Aggregation   DUKE         7580083223                  Gas           Gov. Aggregation
COH             207853380014                Gas           Gov. Aggregation   DUKE         0030081929                  Gas           Gov. Aggregation
COH             206603320016                Gas           Gov. Aggregation   DUKE         0460081627                  Gas           Gov. Aggregation
COH             129290680127                Gas           Gov. Aggregation   DUKE         1330080722                  Gas           Gov. Aggregation
COH             207805900015                Gas           Gov. Aggregation   DUKE         5330080321                  Gas           Gov. Aggregation
COH             133840420057                Gas           Gov. Aggregation   DUKE         6650009223                  Gas           Gov. Aggregation
COH             197839500048                Gas           Gov. Aggregation   DUKE         0650009224                  Gas           Gov. Aggregation
COH             208825440019                Gas           Gov. Aggregation   DUKE         1500083624                  Gas           Gov. Aggregation
COH             207681060016                Gas           Gov. Aggregation   DUKE         8320080323                  Gas           Gov. Aggregation
COH             191539810036                Gas           Gov. Aggregation   DUKE         6770200902                  Gas           Gov. Aggregation
COH             119705640135                Gas           Gov. Aggregation   DUKE         6500083521                  Gas           Gov. Aggregation
COH             202591290023                Gas           Gov. Aggregation   DUKE         3400087922                  Gas           Gov. Aggregation
COH             188263650021                Gas           Gov. Aggregation   DUKE         8640080425                  Gas           Gov. Aggregation
COH             186541920044                Gas           Gov. Aggregation   DUKE         2180083728                  Gas           Gov. Aggregation
COH             207368780019                Gas           Gov. Aggregation   DUKE         8890084522                  Gas           Gov. Aggregation
COH             208395960013                Gas           Gov. Aggregation   DUKE         1970086623                  Gas           Gov. Aggregation
COH             207235250011                Gas           Gov. Aggregation   DUKE         2250203905                  Gas           Gov. Aggregation
COH             185721470011                Gas           Gov. Aggregation   DUKE         9240210002                  Gas           Gov. Aggregation
COH             157685430020                Gas           Gov. Aggregation   DUKE         8540205704                  Gas           Gov. Aggregation
COH             190712770010                Gas           Gov. Aggregation   DUKE         1410204605                  Gas           Gov. Aggregation
COH             190712770047                Gas           Gov. Aggregation   DUKE         7750209804                  Gas           Gov. Aggregation
COH             193365840028                Gas           Gov. Aggregation   DUKE         7740206807                  Gas           Gov. Aggregation
COH             123991130015                Gas           Gov. Aggregation   DUKE         9490082423                  Gas           Gov. Aggregation
COH             203988510015                Gas           Gov. Aggregation   DUKE         6350200405                  Gas           Gov. Aggregation
COH             198911210017                Gas           Gov. Aggregation   DUKE         5100085021                  Gas           Gov. Aggregation
COH             194342060010                Gas           Gov. Aggregation   DUKE         4760086322                  Gas           Gov. Aggregation
COH             194499150029                Gas           Gov. Aggregation   DUKE         4440397102                  Gas           Gov. Aggregation
COH             196214510014                Gas           Gov. Aggregation   DUKE         3930217301                  Gas           Gov. Aggregation
COH             196330080019                Gas           Gov. Aggregation   DUKE         4250009222                  Gas           Gov. Aggregation
COH             163505300029                Gas           Gov. Aggregation   DUKE         9150009224                  Gas           Gov. Aggregation
COH             203341090014                Gas           Gov. Aggregation   DUKE         6570009123                  Gas           Gov. Aggregation
COH             198423540013                Gas           Gov. Aggregation   DUKE         5570009120                  Gas           Gov. Aggregation
COH             197488140012                Gas           Gov. Aggregation   DUKE         6150009221                  Gas           Gov. Aggregation
COH             198386210021                Gas           Gov. Aggregation   DUKE         3150009232                  Gas           Gov. Aggregation
COH             196708430023                Gas           Gov. Aggregation   DUKE         1150009228                  Gas           Gov. Aggregation
COH             196686780019                Gas           Gov. Aggregation   DUKE         1420357302                  Gas           Gov. Aggregation
COH             196900490023                Gas           Gov. Aggregation   DUKE         8010350102                  Gas           Gov. Aggregation
COH             197491200012                Gas           Gov. Aggregation   DUKE         8120350402                  Gas           Gov. Aggregation
COH             192536980018                Gas           Gov. Aggregation   DUKE         4910350004                  Gas           Gov. Aggregation
COH             192688650034                Gas           Gov. Aggregation   DUKE         4690352302                  Gas           Gov. Aggregation
COH             186382740013                Gas           Gov. Aggregation   DUKE         4020225402                  Gas           Gov. Aggregation
COH             162148090014                Gas           Gov. Aggregation   DUKE         5550223402                  Gas           Gov. Aggregation
COH             188067910013                Gas           Gov. Aggregation   DUKE         4590356104                  Gas           Gov. Aggregation
COH             188067910022                Gas           Gov. Aggregation   DUKE         2620350102                  Gas           Gov. Aggregation
COH             188101070025                Gas           Gov. Aggregation   DUKE         9560207905                  Gas           Gov. Aggregation
COH             188190940025                Gas           Gov. Aggregation   DUKE         5240208006                  Gas           Gov. Aggregation
COH             199148390036                Gas           Gov. Aggregation   DUKE         0380207903                  Gas           Gov. Aggregation
COH             199161380012                Gas           Gov. Aggregation   DUKE         1140207904                  Gas           Gov. Aggregation
COH             199812780017                Gas           Gov. Aggregation   DUKE         9700211903                  Gas           Gov. Aggregation
COH             200047100018                Gas           Gov. Aggregation   DUKE         8570211102                  Gas           Gov. Aggregation
COH             200230150019                Gas           Gov. Aggregation   DUKE         3050213602                  Gas           Gov. Aggregation
COH             200710210018                Gas           Gov. Aggregation   DUKE         3790210902                  Gas           Gov. Aggregation
COH             169637790013                Gas           Gov. Aggregation   DUKE         6250212503                  Gas           Gov. Aggregation
COH             127086310030                Gas           Gov. Aggregation   DUKE         7130212902                  Gas           Gov. Aggregation
COH             143897260041                Gas           Gov. Aggregation   DUKE         2220210302                  Gas           Gov. Aggregation
COH             144776890071                Gas           Gov. Aggregation   DUKE         7130206804                  Gas           Gov. Aggregation
COH             141232080085                Gas           Gov. Aggregation   DUKE         5850206104                  Gas           Gov. Aggregation
COH             201809720011                Gas           Gov. Aggregation   DUKE         2910027728                  Gas           Gov. Aggregation
COH             202339070014                Gas           Gov. Aggregation   DUKE         2780206703                  Gas           Gov. Aggregation
COH             173324280044                Gas           Gov. Aggregation   DUKE         9180206203                  Gas           Gov. Aggregation
COH             188320190017                Gas           Gov. Aggregation   DUKE         1760208004                  Gas           Gov. Aggregation
COH             199623360025                Gas           Gov. Aggregation   DUKE         1170351502                  Gas           Gov. Aggregation
COH             199258880012                Gas           Gov. Aggregation   DUKE         3300363905                  Gas           Gov. Aggregation
COH             131330820010                Gas           Gov. Aggregation   DUKE         8670364502                  Gas           Gov. Aggregation
COH             142106740028                Gas           Gov. Aggregation   DUKE         8500353807                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             145426280024                Gas           Gov. Aggregation   DUKE         4860361905                  Gas           Gov. Aggregation
COH             142154100021                Gas           Gov. Aggregation   DUKE         4020355102                  Gas           Gov. Aggregation
COH             127201640704                Gas           Gov. Aggregation   DUKE         3880358203                  Gas           Gov. Aggregation
COH             189529090042                Gas           Gov. Aggregation   DUKE         8740361402                  Gas           Gov. Aggregation
COH             189162900085                Gas           Gov. Aggregation   DUKE         4010354802                  Gas           Gov. Aggregation
COH             189256280014                Gas           Gov. Aggregation   DUKE         8960210004                  Gas           Gov. Aggregation
COH             186413610031                Gas           Gov. Aggregation   DUKE         7930353703                  Gas           Gov. Aggregation
COH             204065190018                Gas           Gov. Aggregation   DUKE         4560355803                  Gas           Gov. Aggregation
COH             203917030015                Gas           Gov. Aggregation   DUKE         4300363902                  Gas           Gov. Aggregation
COH             204539100011                Gas           Gov. Aggregation   DUKE         3530359103                  Gas           Gov. Aggregation
COH             204545860019                Gas           Gov. Aggregation   DUKE         3950084622                  Gas           Gov. Aggregation
COH             154937350141                Gas           Gov. Aggregation   DUKE         3470355305                  Gas           Gov. Aggregation
COH             194649580039                Gas           Gov. Aggregation   DUKE         8780081922                  Gas           Gov. Aggregation
COH             203460620010                Gas           Gov. Aggregation   DUKE         8300214402                  Gas           Gov. Aggregation
COH             203436810011                Gas           Gov. Aggregation   DUKE         5390087323                  Gas           Gov. Aggregation
COH             188894760030                Gas           Gov. Aggregation   DUKE         7960087725                  Gas           Gov. Aggregation
COH             197779790028                Gas           Gov. Aggregation   DUKE         7000079422                  Gas           Gov. Aggregation
COH             204458620014                Gas           Gov. Aggregation   DUKE         2720083924                  Gas           Gov. Aggregation
COH             112779720032                Gas           Gov. Aggregation   DUKE         2950009121                  Gas           Gov. Aggregation
COH             198154590023                Gas           Gov. Aggregation   DUKE         0950009126                  Gas           Gov. Aggregation
COH             161090050052                Gas           Gov. Aggregation   DUKE         6060085021                  Gas           Gov. Aggregation
COH             133948210106                Gas           Gov. Aggregation   DUKE         9140084422                  Gas           Gov. Aggregation
COH             145569080024                Gas           Gov. Aggregation   DUKE         9510086429                  Gas           Gov. Aggregation
COH             202805360014                Gas           Gov. Aggregation   DUKE         7320083327                  Gas           Gov. Aggregation
COH             204149860019                Gas           Gov. Aggregation   DUKE         7040082521                  Gas           Gov. Aggregation
COH             201836680022                Gas           Gov. Aggregation   DUKE         9940087623                  Gas           Gov. Aggregation
COH             194633540030                Gas           Gov. Aggregation   DUKE         5070078722                  Gas           Gov. Aggregation
COH             187224570049                Gas           Gov. Aggregation   DUKE         0550081922                  Gas           Gov. Aggregation
COH             189781590043                Gas           Gov. Aggregation   DUKE         5920204103                  Gas           Gov. Aggregation
COH             204207760016                Gas           Gov. Aggregation   DUKE         5100209402                  Gas           Gov. Aggregation
COH             152783020023                Gas           Gov. Aggregation   DUKE         5330212403                  Gas           Gov. Aggregation
COH             122480820014                Gas           Gov. Aggregation   DUKE         0910027728                  Gas           Gov. Aggregation
COH             195987900025                Gas           Gov. Aggregation   DUKE         3850206803                  Gas           Gov. Aggregation
COH             171152180079                Gas           Gov. Aggregation   DUKE         4600207502                  Gas           Gov. Aggregation
COH             169527330030                Gas           Gov. Aggregation   DUKE         6560085922                  Gas           Gov. Aggregation
COH             158069220083                Gas           Gov. Aggregation   DUKE         6640081521                  Gas           Gov. Aggregation
COH             150108090030                Gas           Gov. Aggregation   DUKE         9280080722                  Gas           Gov. Aggregation
COH             142701240049                Gas           Gov. Aggregation   DUKE         4250081121                  Gas           Gov. Aggregation
COH             204107480017                Gas           Gov. Aggregation   DUKE         8280080725                  Gas           Gov. Aggregation
COH             167178120055                Gas           Gov. Aggregation   DUKE         8930079622                  Gas           Gov. Aggregation
COH             174443250038                Gas           Gov. Aggregation   DUKE         4840080822                  Gas           Gov. Aggregation
COH             198206070012                Gas           Gov. Aggregation   DUKE         8880076323                  Gas           Gov. Aggregation
COH             199073630034                Gas           Gov. Aggregation   DUKE         1470009127                  Gas           Gov. Aggregation
COH             155106940030                Gas           Gov. Aggregation   DUKE         2470009134                  Gas           Gov. Aggregation
COH             203913140010                Gas           Gov. Aggregation   DUKE         9370009123                  Gas           Gov. Aggregation
COH             204051290016                Gas           Gov. Aggregation   DUKE         6450009123                  Gas           Gov. Aggregation
COH             204388500018                Gas           Gov. Aggregation   DUKE         7350009123                  Gas           Gov. Aggregation
COH             204360000011                Gas           Gov. Aggregation   DUKE         6370009121                  Gas           Gov. Aggregation
COH             200738100013                Gas           Gov. Aggregation   DUKE         9930079231                  Gas           Gov. Aggregation
COH             166505680045                Gas           Gov. Aggregation   DUKE         9400083621                  Gas           Gov. Aggregation
COH             204107580016                Gas           Gov. Aggregation   DUKE         3500083523                  Gas           Gov. Aggregation
COH             203779330016                Gas           Gov. Aggregation   DUKE         9260009123                  Gas           Gov. Aggregation
COH             200520240024                Gas           Gov. Aggregation   DUKE         3560009124                  Gas           Gov. Aggregation
COH             203577130016                Gas           Gov. Aggregation   DUKE         6560009125                  Gas           Gov. Aggregation
COH             203477610017                Gas           Gov. Aggregation   DUKE         7560009122                  Gas           Gov. Aggregation
COH             192759870046                Gas           Gov. Aggregation   DUKE         8560009121                  Gas           Gov. Aggregation
COH             187918900039                Gas           Gov. Aggregation   DUKE         0370009125                  Gas           Gov. Aggregation
COH             198496850033                Gas           Gov. Aggregation   DUKE         6270009121                  Gas           Gov. Aggregation
COH             163952970022                Gas           Gov. Aggregation   DUKE         7570009124                  Gas           Gov. Aggregation
COH             122441390071                Gas           Gov. Aggregation   DUKE         8570009130                  Gas           Gov. Aggregation
COH             199146600026                Gas           Gov. Aggregation   DUKE         8960009132                  Gas           Gov. Aggregation
COH             204214500015                Gas           Gov. Aggregation   DUKE         3270009125                  Gas           Gov. Aggregation
COH             204007540016                Gas           Gov. Aggregation   DUKE         2270009122                  Gas           Gov. Aggregation
COH             196141120020                Gas           Gov. Aggregation   DUKE         9740069821                  Gas           Gov. Aggregation
COH             204325960014                Gas           Gov. Aggregation   DUKE         8570074322                  Gas           Gov. Aggregation
COH             203966870016                Gas           Gov. Aggregation   DUKE         7480075924                  Gas           Gov. Aggregation
COH             167542110027                Gas           Gov. Aggregation   DUKE         9710076323                  Gas           Gov. Aggregation
COH             188896120021                Gas           Gov. Aggregation   DUKE         4840076022                  Gas           Gov. Aggregation
COH             190577030022                Gas           Gov. Aggregation   DUKE         1440077022                  Gas           Gov. Aggregation
COH             189795850021                Gas           Gov. Aggregation   DUKE         9880076321                  Gas           Gov. Aggregation
COH             203874890017                Gas           Gov. Aggregation   DUKE         1630084324                  Gas           Gov. Aggregation
COH             204054430010                Gas           Gov. Aggregation   DUKE         8040083625                  Gas           Gov. Aggregation
COH             204337160017                Gas           Gov. Aggregation   DUKE         5870088822                  Gas           Gov. Aggregation
COH             130114750934                Gas           Gov. Aggregation   DUKE         1390087528                  Gas           Gov. Aggregation
COH             130114750943                Gas           Gov. Aggregation   DUKE         6770009124                  Gas           Gov. Aggregation
COH             130114750952                Gas           Gov. Aggregation   DUKE         7770009122                  Gas           Gov. Aggregation
COH             202448760018                Gas           Gov. Aggregation   DUKE         2770009130                  Gas           Gov. Aggregation
COH             189495700073                Gas           Gov. Aggregation   DUKE         5670009127                  Gas           Gov. Aggregation
COH             151917440183                Gas           Gov. Aggregation   DUKE         0870009127                  Gas           Gov. Aggregation
COH             203664720017                Gas           Gov. Aggregation   DUKE         8770009121                  Gas           Gov. Aggregation
COH             204230830012                Gas           Gov. Aggregation   DUKE         6670009124                  Gas           Gov. Aggregation
COH             203924180019                Gas           Gov. Aggregation   DUKE         1770009122                  Gas           Gov. Aggregation
COH             203710810019                Gas           Gov. Aggregation   DUKE         4060009123                  Gas           Gov. Aggregation
COH             204585050015                Gas           Gov. Aggregation   DUKE         4770078623                  Gas           Gov. Aggregation
COH             203444410018                Gas           Gov. Aggregation   DUKE         2270086425                  Gas           Gov. Aggregation
COH             203315100016                Gas           Gov. Aggregation   DUKE         5400087222                  Gas           Gov. Aggregation
COH             202638890018                Gas           Gov. Aggregation   DUKE         7620200805                  Gas           Gov. Aggregation
COH             202912510015                Gas           Gov. Aggregation   DUKE         4170200803                  Gas           Gov. Aggregation
COH             204585090017                Gas           Gov. Aggregation   DUKE         1020204102                  Gas           Gov. Aggregation
COH             204449520014                Gas           Gov. Aggregation   DUKE         7850200003                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             203999320012                Gas           Gov. Aggregation   DUKE         0030201203                  Gas           Gov. Aggregation
COH             203842340019                Gas           Gov. Aggregation   DUKE         2980200002                  Gas           Gov. Aggregation
COH             187739020034                Gas           Gov. Aggregation   DUKE         2070009121                  Gas           Gov. Aggregation
COH             185206850031                Gas           Gov. Aggregation   DUKE         6170009130                  Gas           Gov. Aggregation
COH             165480020057                Gas           Gov. Aggregation   DUKE         8410088021                  Gas           Gov. Aggregation
COH             202788310012                Gas           Gov. Aggregation   DUKE         5170009120                  Gas           Gov. Aggregation
COH             203561000016                Gas           Gov. Aggregation   DUKE         4170009124                  Gas           Gov. Aggregation
COH             147794590055                Gas           Gov. Aggregation   DUKE         8730081228                  Gas           Gov. Aggregation
COH             144651400022                Gas           Gov. Aggregation   DUKE         8310081725                  Gas           Gov. Aggregation
COH             203504610018                Gas           Gov. Aggregation   DUKE         7730081223                  Gas           Gov. Aggregation
COH             203426040014                Gas           Gov. Aggregation   DUKE         2010204302                  Gas           Gov. Aggregation
COH             203371650013                Gas           Gov. Aggregation   DUKE         1180009148                  Gas           Gov. Aggregation
COH             203344860016                Gas           Gov. Aggregation   DUKE         8980068425                  Gas           Gov. Aggregation
COH             203156080019                Gas           Gov. Aggregation   DUKE         7980068434                  Gas           Gov. Aggregation
COH             202570110015                Gas           Gov. Aggregation   DUKE         5620388701                  Gas           Gov. Aggregation
COH             200214440030                Gas           Gov. Aggregation   DUKE         7670009123                  Gas           Gov. Aggregation
COH             199909360038                Gas           Gov. Aggregation   DUKE         0770009121                  Gas           Gov. Aggregation
COH             203762220014                Gas           Gov. Aggregation   DUKE         3900353401                  Gas           Gov. Aggregation
COH             203770590010                Gas           Gov. Aggregation   DUKE         4870360802                  Gas           Gov. Aggregation
COH             198637660033                Gas           Gov. Aggregation   DUKE         3590350704                  Gas           Gov. Aggregation
COH             198301010012                Gas           Gov. Aggregation   DUKE         5290393501                  Gas           Gov. Aggregation
COH             203724160017                Gas           Gov. Aggregation   DUKE         7660216201                  Gas           Gov. Aggregation
COH             203210200017                Gas           Gov. Aggregation   DUKE         2030079620                  Gas           Gov. Aggregation
COH             203121800010                Gas           Gov. Aggregation   DUKE         8760027522                  Gas           Gov. Aggregation
COH             203148610014                Gas           Gov. Aggregation   DUKE         2560027524                  Gas           Gov. Aggregation
COH             203134450017                Gas           Gov. Aggregation   DUKE         0560027521                  Gas           Gov. Aggregation
COH             203105190013                Gas           Gov. Aggregation   DUKE         1080030522                  Gas           Gov. Aggregation
COH             204488360016                Gas           Gov. Aggregation   DUKE         7160214602                  Gas           Gov. Aggregation
COH             203577920010                Gas           Gov. Aggregation   DUKE         3890217002                  Gas           Gov. Aggregation
COH             131476780048                Gas           Gov. Aggregation   DUKE         4110220201                  Gas           Gov. Aggregation
COH             158911810108                Gas           Gov. Aggregation   DUKE         7750366902                  Gas           Gov. Aggregation
COH             197508490024                Gas           Gov. Aggregation   DUKE         6460027525                  Gas           Gov. Aggregation
COH             188628390022                Gas           Gov. Aggregation   DUKE         7300370803                  Gas           Gov. Aggregation
COH             175851370037                Gas           Gov. Aggregation   DUKE         1440374704                  Gas           Gov. Aggregation
COH             203672370014                Gas           Gov. Aggregation   DUKE         4830371508                  Gas           Gov. Aggregation
COH             203009020012                Gas           Gov. Aggregation   DUKE         2800371505                  Gas           Gov. Aggregation
COH             201485380020                Gas           Gov. Aggregation   DUKE         8490366403                  Gas           Gov. Aggregation
COH             202766710014                Gas           Gov. Aggregation   DUKE         1460027520                  Gas           Gov. Aggregation
COH             163050350024                Gas           Gov. Aggregation   DUKE         1880214907                  Gas           Gov. Aggregation
COH             203660870014                Gas           Gov. Aggregation   DUKE         7780214205                  Gas           Gov. Aggregation
COH             203819000019                Gas           Gov. Aggregation   DUKE         5080214703                  Gas           Gov. Aggregation
COH             204280660013                Gas           Gov. Aggregation   DUKE         5250214714                  Gas           Gov. Aggregation
COH             176430700109                Gas           Gov. Aggregation   DUKE         0550217202                  Gas           Gov. Aggregation
COH             196286210016                Gas           Gov. Aggregation   DUKE         0390224003                  Gas           Gov. Aggregation
COH             194784420036                Gas           Gov. Aggregation   DUKE         8690221704                  Gas           Gov. Aggregation
COH             197807870020                Gas           Gov. Aggregation   DUKE         4310371703                  Gas           Gov. Aggregation
COH             108791710043                Gas           Gov. Aggregation   DUKE         9880371203                  Gas           Gov. Aggregation
COH             200791360017                Gas           Gov. Aggregation   DUKE         6610371103                  Gas           Gov. Aggregation
COH             202085920014                Gas           Gov. Aggregation   DUKE         3390225402                  Gas           Gov. Aggregation
COH             202790180015                Gas           Gov. Aggregation   DUKE         1700222613                  Gas           Gov. Aggregation
COH             202790190013                Gas           Gov. Aggregation   DUKE         5770350102                  Gas           Gov. Aggregation
COH             203660380017                Gas           Gov. Aggregation   DUKE         4730219104                  Gas           Gov. Aggregation
COH             204135200016                Gas           Gov. Aggregation   DUKE         7650217207                  Gas           Gov. Aggregation
COH             204224320012                Gas           Gov. Aggregation   DUKE         0750217205                  Gas           Gov. Aggregation
COH             204224330010                Gas           Gov. Aggregation   DUKE         4030220306                  Gas           Gov. Aggregation
COH             199848340032                Gas           Gov. Aggregation   DUKE         9290217002                  Gas           Gov. Aggregation
COH             204456500013                Gas           Gov. Aggregation   DUKE         4190217103                  Gas           Gov. Aggregation
COH             202895160017                Gas           Gov. Aggregation   DUKE         0270216703                  Gas           Gov. Aggregation
COH             203081640010                Gas           Gov. Aggregation   DUKE         4490217506                  Gas           Gov. Aggregation
COH             157273530086                Gas           Gov. Aggregation   DUKE         5340218505                  Gas           Gov. Aggregation
COH             188527390026                Gas           Gov. Aggregation   DUKE         3250217910                  Gas           Gov. Aggregation
COH             190648640032                Gas           Gov. Aggregation   DUKE         8850222715                  Gas           Gov. Aggregation
COH             189690440056                Gas           Gov. Aggregation   DUKE         9920222207                  Gas           Gov. Aggregation
COH             108838660026                Gas           Gov. Aggregation   DUKE         0910222002                  Gas           Gov. Aggregation
COH             168105540031                Gas           Gov. Aggregation   DUKE         9150224605                  Gas           Gov. Aggregation
COH             202892130019                Gas           Gov. Aggregation   DUKE         0650027526                  Gas           Gov. Aggregation
COH             202548680013                Gas           Gov. Aggregation   DUKE         3670210306                  Gas           Gov. Aggregation
COH             203798310010                Gas           Gov. Aggregation   DUKE         6340211906                  Gas           Gov. Aggregation
COH             203654930014                Gas           Gov. Aggregation   DUKE         0100212108                  Gas           Gov. Aggregation
COH             203640930013                Gas           Gov. Aggregation   DUKE         1450211405                  Gas           Gov. Aggregation
COH             203173030013                Gas           Gov. Aggregation   DUKE         3010216308                  Gas           Gov. Aggregation
COH             197541180029                Gas           Gov. Aggregation   DUKE         0610211306                  Gas           Gov. Aggregation
COH             170140100099                Gas           Gov. Aggregation   DUKE         2490210802                  Gas           Gov. Aggregation
COH             171196420012                Gas           Gov. Aggregation   DUKE         7480211308                  Gas           Gov. Aggregation
COH             164433290015                Gas           Gov. Aggregation   DUKE         4280213304                  Gas           Gov. Aggregation
COH             174608360080                Gas           Gov. Aggregation   DUKE         1110216306                  Gas           Gov. Aggregation
COH             201589930015                Gas           Gov. Aggregation   DUKE         8310212705                  Gas           Gov. Aggregation
COH             202465620011                Gas           Gov. Aggregation   DUKE         6310212705                  Gas           Gov. Aggregation
COH             201809550017                Gas           Gov. Aggregation   DUKE         3210211803                  Gas           Gov. Aggregation
COH             202014890010                Gas           Gov. Aggregation   DUKE         1040211711                  Gas           Gov. Aggregation
DEO             4180002674419               Gas           Gov. Aggregation   DUKE         6000211307                  Gas           Gov. Aggregation
DEO             7500014408078               Gas           Gov. Aggregation   DUKE         3660210902                  Gas           Gov. Aggregation
COH             110807320046                Gas           Gov. Aggregation   DUKE         7910206510                  Gas           Gov. Aggregation
COH             130455880051                Gas           Gov. Aggregation   DUKE         8840207306                  Gas           Gov. Aggregation
COH             165276860054                Gas           Gov. Aggregation   DUKE         6270212107                  Gas           Gov. Aggregation
COH             158869250036                Gas           Gov. Aggregation   DUKE         3380210210                  Gas           Gov. Aggregation
COH             132843380015                Gas           Gov. Aggregation   DUKE         7890210909                  Gas           Gov. Aggregation
COH             204481130018                Gas           Gov. Aggregation   DUKE         7880211202                  Gas           Gov. Aggregation
COH             141168810033                Gas           Gov. Aggregation   DUKE         7930211903                  Gas           Gov. Aggregation
COH             201435630013                Gas           Gov. Aggregation   DUKE         2900206512                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
COH             194174040057                Gas           Gov. Aggregation   DUKE         6350027522                  Gas           Gov. Aggregation
COH             202163350018                Gas           Gov. Aggregation   DUKE         8910206508                  Gas           Gov. Aggregation
COH             146545470049                Gas           Gov. Aggregation   DUKE         9020206509                  Gas           Gov. Aggregation
COH             197982420015                Gas           Gov. Aggregation   DUKE         0020206510                  Gas           Gov. Aggregation
COH             199267930012                Gas           Gov. Aggregation   DUKE         0890206904                  Gas           Gov. Aggregation
COH             194034800017                Gas           Gov. Aggregation   DUKE         6780213212                  Gas           Gov. Aggregation
COH             194189402638                Gas           Gov. Aggregation   DUKE         8560223306                  Gas           Gov. Aggregation
COH             200698390019                Gas           Gov. Aggregation   DUKE         8150224107                  Gas           Gov. Aggregation
COH             190357490022                Gas           Gov. Aggregation   DUKE         3330220503                  Gas           Gov. Aggregation
COH             189073140048                Gas           Gov. Aggregation   DUKE         8350223202                  Gas           Gov. Aggregation
COH             189306070093                Gas           Gov. Aggregation   DUKE         5250217905                  Gas           Gov. Aggregation
COH             200810710011                Gas           Gov. Aggregation   DUKE         4900221405                  Gas           Gov. Aggregation
COH             197515530011                Gas           Gov. Aggregation   DUKE         1960222007                  Gas           Gov. Aggregation
COH             194254240073                Gas           Gov. Aggregation   DUKE         5240218713                  Gas           Gov. Aggregation
COH             194257450046                Gas           Gov. Aggregation   DUKE         8800206508                  Gas           Gov. Aggregation
COH             130875400051                Gas           Gov. Aggregation   DUKE         5610211305                  Gas           Gov. Aggregation
COH             165927370109                Gas           Gov. Aggregation   DUKE         6530211209                  Gas           Gov. Aggregation
COH             138277500023                Gas           Gov. Aggregation   DUKE         7370210809                  Gas           Gov. Aggregation
COH             204322540018                Gas           Gov. Aggregation   DUKE         3760216915                  Gas           Gov. Aggregation
COH             193040040033                Gas           Gov. Aggregation   DUKE         2200214004                  Gas           Gov. Aggregation
COH             119411870041                Gas           Gov. Aggregation   DUKE         4190212406                  Gas           Gov. Aggregation
COH             154552050051                Gas           Gov. Aggregation   DUKE         2890206906                  Gas           Gov. Aggregation
COH             155452200014                Gas           Gov. Aggregation   DUKE         0890211805                  Gas           Gov. Aggregation
DEO             6500065956621               Gas           Gov. Aggregation   DUKE         4240356803                  Gas           Gov. Aggregation
COH             199907580036                Gas           Gov. Aggregation   DUKE         9620352407                  Gas           Gov. Aggregation
COH             199481670013                Gas           Gov. Aggregation   DUKE         7910353109                  Gas           Gov. Aggregation
COH             121975180020                Gas           Gov. Aggregation   DUKE         2180353307                  Gas           Gov. Aggregation
COH             121975180039                Gas           Gov. Aggregation   DUKE         6390356103                  Gas           Gov. Aggregation
COH             121975180048                Gas           Gov. Aggregation   DUKE         0810221004                  Gas           Gov. Aggregation
COH             121975180057                Gas           Gov. Aggregation   DUKE         3630219509                  Gas           Gov. Aggregation
COH             121975180066                Gas           Gov. Aggregation   DUKE         9170222603                  Gas           Gov. Aggregation
COH             195871080014                Gas           Gov. Aggregation   DUKE         6370218004                  Gas           Gov. Aggregation
COH             192978500021                Gas           Gov. Aggregation   DUKE         7050361002                  Gas           Gov. Aggregation
COH             194655670028                Gas           Gov. Aggregation   DUKE         4050359804                  Gas           Gov. Aggregation
COH             132883430029                Gas           Gov. Aggregation   DUKE         3970363504                  Gas           Gov. Aggregation
COH             150418720012                Gas           Gov. Aggregation   DUKE         6260357907                  Gas           Gov. Aggregation
COH             122021060025                Gas           Gov. Aggregation   DUKE         3980371202                  Gas           Gov. Aggregation
COH             156671980034                Gas           Gov. Aggregation   DUKE         7320364306                  Gas           Gov. Aggregation
COH             122003520017                Gas           Gov. Aggregation   DUKE         4120361902                  Gas           Gov. Aggregation
COH             139911500017                Gas           Gov. Aggregation   DUKE         6020355502                  Gas           Gov. Aggregation
COH             205212120018                Gas           Gov. Aggregation   DUKE         1580362202                  Gas           Gov. Aggregation
COH             135134730039                Gas           Gov. Aggregation   DUKE         4000360702                  Gas           Gov. Aggregation
COH             161804490019                Gas           Gov. Aggregation   DUKE         4890360803                  Gas           Gov. Aggregation
COH             189394550033                Gas           Gov. Aggregation   DUKE         1120206509                  Gas           Gov. Aggregation
COH             204404800019                Gas           Gov. Aggregation   DUKE         4020206504                  Gas           Gov. Aggregation
COH             204931740015                Gas           Gov. Aggregation   DUKE         7020206504                  Gas           Gov. Aggregation
COH             205301630012                Gas           Gov. Aggregation   DUKE         3120206514                  Gas           Gov. Aggregation
COH             202602830113                Gas           Gov. Aggregation   DUKE         0940363305                  Gas           Gov. Aggregation
COH             205074890011                Gas           Gov. Aggregation   DUKE         8870359816                  Gas           Gov. Aggregation
COH             204931760011                Gas           Gov. Aggregation   DUKE         5850225204                  Gas           Gov. Aggregation
COH             204936190011                Gas           Gov. Aggregation   DUKE         0050219803                  Gas           Gov. Aggregation
COH             204395430018                Gas           Gov. Aggregation   DUKE         8730356402                  Gas           Gov. Aggregation
COH             202401320018                Gas           Gov. Aggregation   DUKE         5090224503                  Gas           Gov. Aggregation
COH             205032220019                Gas           Gov. Aggregation   DUKE         5170223309                  Gas           Gov. Aggregation
COH             164751070017                Gas           Gov. Aggregation   DUKE         5240224809                  Gas           Gov. Aggregation
COH             186768690043                Gas           Gov. Aggregation   DUKE         4550355202                  Gas           Gov. Aggregation
COH             204675110011                Gas           Gov. Aggregation   DUKE         5620350607                  Gas           Gov. Aggregation
COH             195864140016                Gas           Gov. Aggregation   DUKE         2340223902                  Gas           Gov. Aggregation
COH             195591350039                Gas           Gov. Aggregation   DUKE         6850225207                  Gas           Gov. Aggregation
COH             136118860035                Gas           Gov. Aggregation   DUKE         4400222905                  Gas           Gov. Aggregation
COH             201310980014                Gas           Gov. Aggregation   DUKE         0770222903                  Gas           Gov. Aggregation
COH             195833240010                Gas           Gov. Aggregation   DUKE         1790221516                  Gas           Gov. Aggregation
COH             195221880013                Gas           Gov. Aggregation   DUKE         2790221509                  Gas           Gov. Aggregation
COH             196203980028                Gas           Gov. Aggregation   DUKE         3790221505                  Gas           Gov. Aggregation
COH             204639700013                Gas           Gov. Aggregation   DUKE         2200209512                  Gas           Gov. Aggregation
COH             204392150013                Gas           Gov. Aggregation   DUKE         3720214213                  Gas           Gov. Aggregation
COH             195655700011                Gas           Gov. Aggregation   DUKE         1930212111                  Gas           Gov. Aggregation
COH             204369960012                Gas           Gov. Aggregation   DUKE         6880356610                  Gas           Gov. Aggregation
COH             144143700017                Gas           Gov. Aggregation   DUKE         8910209903                  Gas           Gov. Aggregation
COH             205204170015                Gas           Gov. Aggregation   DUKE         8010211507                  Gas           Gov. Aggregation
COH             204758760019                Gas           Gov. Aggregation   DUKE         5510216603                  Gas           Gov. Aggregation
COH             198099070020                Gas           Gov. Aggregation   DUKE         5120212612                  Gas           Gov. Aggregation
COH             195728530030                Gas           Gov. Aggregation   DUKE         4270214003                  Gas           Gov. Aggregation
COH             129480110025                Gas           Gov. Aggregation   DUKE         2490215405                  Gas           Gov. Aggregation
COH             205187330019                Gas           Gov. Aggregation   DUKE         5300210305                  Gas           Gov. Aggregation
COH             111336450029                Gas           Gov. Aggregation   DUKE         2650209408                  Gas           Gov. Aggregation
COH             202580410011                Gas           Gov. Aggregation   DUKE         4370214011                  Gas           Gov. Aggregation
COH             201522280012                Gas           Gov. Aggregation   DUKE         7970215404                  Gas           Gov. Aggregation
COH             201990630017                Gas           Gov. Aggregation   DUKE         9790211108                  Gas           Gov. Aggregation
COH             201868700039                Gas           Gov. Aggregation   DUKE         7810216110                  Gas           Gov. Aggregation
COH             155691680054                Gas           Gov. Aggregation   DUKE         5110352403                  Gas           Gov. Aggregation
COH             158396240040                Gas           Gov. Aggregation   DUKE         6500351403                  Gas           Gov. Aggregation
COH             185946770343                Gas           Gov. Aggregation   DUKE         0920210903                  Gas           Gov. Aggregation
COH             203998710012                Gas           Gov. Aggregation   DUKE         3880224807                  Gas           Gov. Aggregation
COH             202685300012                Gas           Gov. Aggregation   DUKE         3650213606                  Gas           Gov. Aggregation
COH             202737970011                Gas           Gov. Aggregation   DUKE         5550355205                  Gas           Gov. Aggregation
COH             204448720014                Gas           Gov. Aggregation   DUKE         7850225202                  Gas           Gov. Aggregation
DEO             6180008566765               Gas           Gov. Aggregation   DUKE         3620360125                  Gas           Gov. Aggregation
DEO             4180003423621               Gas           Gov. Aggregation   DUKE         3320203604                  Gas           Gov. Aggregation
DEO             3180003507471               Gas           Gov. Aggregation   DUKE         3910225209                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type      Utility      Utility Account Number     Commodity      Customer Type
DEO             2180008483245               Gas           Gov. Aggregation   DUKE         2280204307                  Gas           Gov. Aggregation
DEO             0180006496448               Gas           Gov. Aggregation   DUKE         9700213306                  Gas           Gov. Aggregation
DEO             0180003269748               Gas           Gov. Aggregation   DUKE         1390214507                  Gas           Gov. Aggregation
DEO             8500063560956               Gas           Gov. Aggregation   DUKE         1280215903                  Gas           Gov. Aggregation
DEO             6180000201873               Gas           Gov. Aggregation   DUKE         2010215008                  Gas           Gov. Aggregation
DEO             2180000240754               Gas           Gov. Aggregation   DUKE         1010215011                  Gas           Gov. Aggregation
DEO             2180004737402               Gas           Gov. Aggregation   DUKE         4060214721                  Gas           Gov. Aggregation
DEO             7500055767545               Gas           Gov. Aggregation   DUKE         7030214806                  Gas           Gov. Aggregation
DEO             2500061338573               Gas           Gov. Aggregation   DUKE         1600203603                  Gas           Gov. Aggregation
DEO             2180007141888               Gas           Gov. Aggregation   DUKE         0650207508                  Gas           Gov. Aggregation
DEO             2180006617207               Gas           Gov. Aggregation   DUKE         4240210908                  Gas           Gov. Aggregation
DEO             2500051802640               Gas           Gov. Aggregation   DUKE         4900203602                  Gas           Gov. Aggregation
DEO             7180003810292               Gas           Gov. Aggregation   DUKE         8510212606                  Gas           Gov. Aggregation
DEO             7180001453477               Gas           Gov. Aggregation   DUKE         3160358812                  Gas           Gov. Aggregation
DEO             7180002957688               Gas           Gov. Aggregation   DUKE         2010358814                  Gas           Gov. Aggregation
DEO             7180003801904               Gas           Gov. Aggregation   DUKE         4770362604                  Gas           Gov. Aggregation
DEO             7180000355813               Gas           Gov. Aggregation   DUKE         5770362608                  Gas           Gov. Aggregation
DEO             6500063191003               Gas           Gov. Aggregation   DUKE         1910203407                  Gas           Gov. Aggregation
DEO             6500047675582               Gas           Gov. Aggregation   DUKE         9110362314                  Gas           Gov. Aggregation
DEO             3500002557124               Gas           Gov. Aggregation   DUKE         4900202412                  Gas           Gov. Aggregation
DEO             6180004405405               Gas           Gov. Aggregation   DUKE         9680202705                  Gas           Gov. Aggregation
DEO             6500061274207               Gas           Gov. Aggregation   DUKE         9990359904                  Gas           Gov. Aggregation
DEO             6500060825883               Gas           Gov. Aggregation   DUKE         6550354906                  Gas           Gov. Aggregation
DEO             9500061285193               Gas           Gov. Aggregation   DUKE         5440363804                  Gas           Gov. Aggregation
DEO             9500067482323               Gas           Gov. Aggregation   DUKE         2740356302                  Gas           Gov. Aggregation
DEO             9180007874801               Gas           Gov. Aggregation   DUKE         7160350709                  Gas           Gov. Aggregation
COH             129245320074                Gas           Gov. Aggregation   DUKE         4210352504                  Gas           Gov. Aggregation
COH             194939690040                Gas           Gov. Aggregation   DUKE         2290353803                  Gas           Gov. Aggregation
COH             201920830012                Gas           Gov. Aggregation   DUKE         1330358003                  Gas           Gov. Aggregation
COH             201677050013                Gas           Gov. Aggregation   DUKE         1010360308                  Gas           Gov. Aggregation
COH             201677050031                Gas           Gov. Aggregation   DUKE         0850359404                  Gas           Gov. Aggregation
COH             201677050059                Gas           Gov. Aggregation   DUKE         8440353207                  Gas           Gov. Aggregation
COH             166834890919                Gas           Gov. Aggregation   DUKE         9900360307                  Gas           Gov. Aggregation
COH             195024580032                Gas           Gov. Aggregation   DUKE         4000360005                  Gas           Gov. Aggregation
COH             203058450019                Gas           Gov. Aggregation   DUKE         8300356102                  Gas           Gov. Aggregation
COH             203402730019                Gas           Gov. Aggregation   DUKE         2520394703                  Gas           Gov. Aggregation
COH             204501640017                Gas           Gov. Aggregation   DUKE         1520394702                  Gas           Gov. Aggregation
COH             204882230017                Gas           Gov. Aggregation   DUKE         7570027530                  Gas           Gov. Aggregation
COH             205043700015                Gas           Gov. Aggregation   DUKE         5340225202                  Gas           Gov. Aggregation
COH             203948770015                Gas           Gov. Aggregation   DUKE         8180222706                  Gas           Gov. Aggregation
COH             204033250012                Gas           Gov. Aggregation   DUKE         8350222904                  Gas           Gov. Aggregation
COH             201972200015                Gas           Gov. Aggregation   DUKE         2890224504                  Gas           Gov. Aggregation
COH             197884760049                Gas           Gov. Aggregation   DUKE         5820223905                  Gas           Gov. Aggregation
COH             203868230018                Gas           Gov. Aggregation   DUKE         6180222706                  Gas           Gov. Aggregation
COH             203828080014                Gas           Gov. Aggregation   DUKE         1990224206                  Gas           Gov. Aggregation
COH             203433390016                Gas           Gov. Aggregation   DUKE         0650217204                  Gas           Gov. Aggregation
COH             203527400014                Gas           Gov. Aggregation   DUKE         6130215703                  Gas           Gov. Aggregation
COH             202961100018                Gas           Gov. Aggregation   DUKE         7130215702                  Gas           Gov. Aggregation
COH             202967450013                Gas           Gov. Aggregation   DUKE         9700215702                  Gas           Gov. Aggregation
COH             205100520011                Gas           Gov. Aggregation   DUKE         3000372903                  Gas           Gov. Aggregation
COH             204653520011                Gas           Gov. Aggregation   DUKE         2680372104                  Gas           Gov. Aggregation
COH             204534230014                Gas           Gov. Aggregation   DUKE         7340372005                  Gas           Gov. Aggregation
COH             203811040017                Gas           Gov. Aggregation   DUKE         0510220704                  Gas           Gov. Aggregation
DUKE            3660052229                  Gas           Gov. Aggregation   DUKE         8700217805                  Gas           Gov. Aggregation
DUKE            1070052224                  Gas           Gov. Aggregation   DUKE         1260215604                  Gas           Gov. Aggregation
DUKE            5400009121                  Gas           Gov. Aggregation   DUKE         0550215704                  Gas           Gov. Aggregation
DUKE            3300009123                  Gas           Gov. Aggregation   DUKE         3550217202                  Gas           Gov. Aggregation
DUKE            4890058321                  Gas           Gov. Aggregation   DUKE         2550215804                  Gas           Gov. Aggregation
DUKE            4890211301                  Gas           Gov. Aggregation   DUKE         3060215906                  Gas           Gov. Aggregation
DUKE            4980058321                  Gas           Gov. Aggregation   DUKE         8850215905                  Gas           Gov. Aggregation
DUKE            4360202903                  Gas           Gov. Aggregation   DUKE         0350374303                  Gas           Gov. Aggregation
DUKE            3980058323                  Gas           Gov. Aggregation   DUKE         6890372302                  Gas           Gov. Aggregation
DUKE            9970018322                  Gas           Gov. Aggregation   DUKE         2340383603                  Gas           Gov. Aggregation
DUKE            9850018322                  Gas           Gov. Aggregation   DUKE         7340385804                  Gas           Gov. Aggregation
DUKE            9650018325                  Gas           Gov. Aggregation   DUKE         6310391702                  Gas           Gov. Aggregation
DUKE            9260018320                  Gas           Gov. Aggregation   DUKE         6550390202                  Gas           Gov. Aggregation
DUKE            9350018323                  Gas           Gov. Aggregation   DUKE         4560390802                  Gas           Gov. Aggregation
DUKE            8750018320                  Gas           Gov. Aggregation   DUKE         0860390502                  Gas           Gov. Aggregation
DUKE            8350018325                  Gas           Gov. Aggregation   DUKE         9550375702                  Gas           Gov. Aggregation
DUKE            4480036446                  Gas           Gov. Aggregation   DUKE         0730379403                  Gas           Gov. Aggregation
DUKE            4370224404                  Gas           Gov. Aggregation   DUKE         1620372003                  Gas           Gov. Aggregation
DUKE            2660213320                  Gas           Gov. Aggregation   DUKE         0320375902                  Gas           Gov. Aggregation
DUKE            0000058431                  Gas           Gov. Aggregation   DUKE         8450362216                  Gas           Gov. Aggregation
DUKE            0090058330                  Gas           Gov. Aggregation   DUKE         7900361302                  Gas           Gov. Aggregation
DUKE            2980058324                  Gas           Gov. Aggregation   DUKE         2950366603                  Gas           Gov. Aggregation
DUKE            4890087327                  Gas           Gov. Aggregation   DUKE         4990027534                  Gas           Gov. Aggregation
DUKE            2300217303                  Gas           Gov. Aggregation   DUKE         3170350801                  Gas           Gov. Aggregation
DUKE            0730215605                  Gas           Gov. Aggregation   DUKE         0120206403                  Gas           Gov. Aggregation
DUKE            0740212408                  Gas           Gov. Aggregation   DUKE         7970068524                  Gas           Gov. Aggregation
DUKE            5460214411                  Gas           Gov. Aggregation   DUKE         6110388402                  Gas           Gov. Aggregation
DUKE            9610214505                  Gas           Gov. Aggregation   DUKE         0190027662                  Gas           Gov. Aggregation
DUKE            0720215308                  Gas           Gov. Aggregation   DUKE         7380027620                  Gas           Gov. Aggregation
DUKE            2630215602                  Gas           Gov. Aggregation   DUKE         8720201805                  Gas           Gov. Aggregation
DUKE            2600221603                  Gas           Gov. Aggregation   DUKE         7080027621                  Gas           Gov. Aggregation
VEDO            4017053492365137            Gas           Gov. Aggregation   DUKE         3770027625                  Gas           Gov. Aggregation
VEDO            4001772902140395            Gas           Gov. Aggregation   DUKE         8310216304                  Gas           Gov. Aggregation
VEDO            4020314842207486            Gas           Gov. Aggregation   DUKE         7580027621                  Gas           Gov. Aggregation
VEDO            4020321792385308            Gas           Gov. Aggregation   DUKE         7340214503                  Gas           Gov. Aggregation
VEDO            4020295032164538            Gas           Gov. Aggregation   DUKE         8340214502                  Gas           Gov. Aggregation
VEDO            4015218302124965            Gas           Gov. Aggregation   DUKE         4090027623                  Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4020847632414048            Gas           Gov. Aggregation   DUKE            7030085323                  Gas           Gov. Aggregation
VEDO            4017401222218587            Gas           Gov. Aggregation   DUKE            2670027620                  Gas           Gov. Aggregation
VEDO            4020852772292505            Gas           Gov. Aggregation   DUKE            1090222906                  Gas           Gov. Aggregation
VEDO            4019236662599425            Gas           Gov. Aggregation   DUKE            1050222907                  Gas           Gov. Aggregation
VEDO            4002756112180320            Gas           Gov. Aggregation   DUKE            2570027625                  Gas           Gov. Aggregation
VEDO            4017613602354782            Gas           Gov. Aggregation   DUKE            6550204002                  Gas           Gov. Aggregation
VEDO            4018558752380573            Gas           Gov. Aggregation   DUKE            8210206004                  Gas           Gov. Aggregation
VEDO            4019421582472442            Gas           Gov. Aggregation   DUKE            9570027634                  Gas           Gov. Aggregation
VEDO            4020297032105417            Gas           Gov. Aggregation   DUKE            5250027527                  Gas           Gov. Aggregation
VEDO            4020298562408919            Gas           Gov. Aggregation   DUKE            4250027528                  Gas           Gov. Aggregation
VEDO            4020334862239814            Gas           Gov. Aggregation   DUKE            9830077320                  Gas           Gov. Aggregation
VEDO            4017619692675761            Gas           Gov. Aggregation   DUKE            6540208502                  Gas           Gov. Aggregation
VEDO            4020859902281824            Gas           Gov. Aggregation   DUKE            8840027524                  Gas           Gov. Aggregation
VEDO            4020321462112283            Gas           Gov. Aggregation   DUKE            2940027534                  Gas           Gov. Aggregation
VEDO            4018045492402436            Gas           Gov. Aggregation   DUKE            3940027524                  Gas           Gov. Aggregation
VEDO            4019349342676992            Gas           Gov. Aggregation   DUKE            6940027559                  Gas           Gov. Aggregation
VEDO            4020299792379008            Gas           Gov. Aggregation   DUKE            8270027534                  Gas           Gov. Aggregation
VEDO            4019127902438964            Gas           Gov. Aggregation   DUKE            7170027526                  Gas           Gov. Aggregation
VEDO            4020837072132217            Gas           Gov. Aggregation   DUKE            7550074827                  Gas           Gov. Aggregation
VEDO            4017335932481828            Gas           Gov. Aggregation   DUKE            6170027522                  Gas           Gov. Aggregation
VEDO            4020293832413329            Gas           Gov. Aggregation   DUKE            5170027542                  Gas           Gov. Aggregation
VEDO            4018239732172740            Gas           Gov. Aggregation   DUKE            0570027524                  Gas           Gov. Aggregation
VEDO            4002818072200455            Gas           Gov. Aggregation   DUKE            4670027523                  Gas           Gov. Aggregation
VEDO            4020865582271361            Gas           Gov. Aggregation   DUKE            8870208911                  Gas           Gov. Aggregation
VEDO            4020897842428413            Gas           Gov. Aggregation   DUKE            7870208910                  Gas           Gov. Aggregation
VEDO            4019529042390338            Gas           Gov. Aggregation   DUKE            6870208909                  Gas           Gov. Aggregation
VEDO            4019884802275462            Gas           Gov. Aggregation   DUKE            9870208903                  Gas           Gov. Aggregation
VEDO            4019897792472334            Gas           Gov. Aggregation   DUKE            0750365302                  Gas           Gov. Aggregation
VEDO            4017815022279948            Gas           Gov. Aggregation   DUKE            9470027521                  Gas           Gov. Aggregation
VEDO            4019469302233369            Gas           Gov. Aggregation   DUKE            0790085322                  Gas           Gov. Aggregation
VEDO            4020836812677215            Gas           Gov. Aggregation   DUKE            3510030635                  Gas           Gov. Aggregation
VEDO            4020850242343385            Gas           Gov. Aggregation   DUKE            2510030623                  Gas           Gov. Aggregation
VEDO            4020319372117940            Gas           Gov. Aggregation   DUKE            2000083421                  Gas           Gov. Aggregation
DEO             6500050354921               Gas           Gov. Aggregation   DUKE            9410030626                  Gas           Gov. Aggregation
DEO             2500051981313               Gas           Gov. Aggregation   DUKE            0180061421                  Gas           Gov. Aggregation
DEO             0440107977205               Gas           Gov. Aggregation   DUKE            5490030520                  Gas           Gov. Aggregation
DEO             7500032237671               Gas           Gov. Aggregation   DUKE            7490030534                  Gas           Gov. Aggregation
DEO             5440100846695               Gas           Gov. Aggregation   DUKE            6590030523                  Gas           Gov. Aggregation
DEO             3440107889541               Gas           Gov. Aggregation   DUKE            3490030538                  Gas           Gov. Aggregation
DEO             0500048750668               Gas           Gov. Aggregation   DUKE            4290030526                  Gas           Gov. Aggregation
DEO             8500049567886               Gas           Gov. Aggregation   DUKE            5290030534                  Gas           Gov. Aggregation
DEO             6500015927500               Gas           Gov. Aggregation   DUKE            5990375807                  Gas           Gov. Aggregation
DEO             6500041491486               Gas           Gov. Aggregation   DUKE            3300369504                  Gas           Gov. Aggregation
DEO             7440104184779               Gas           Gov. Aggregation   DUKE            9310366003                  Gas           Gov. Aggregation
DEO             7442104127157               Gas           Gov. Aggregation   DUKE            5000371503                  Gas           Gov. Aggregation
DEO             4440101940906               Gas           Gov. Aggregation   DUKE            4670367002                  Gas           Gov. Aggregation
DEO             0500048958219               Gas           Gov. Aggregation   DUKE            3180061420                  Gas           Gov. Aggregation
DEO             5440104035600               Gas           Gov. Aggregation   DUKE            8080061422                  Gas           Gov. Aggregation
DEO             7440101292915               Gas           Gov. Aggregation   DUKE            4180061422                  Gas           Gov. Aggregation
DEO             9500027541315               Gas           Gov. Aggregation   DUKE            3380061429                  Gas           Gov. Aggregation
DEO             4442105065710               Gas           Gov. Aggregation   DUKE            2500385903                  Gas           Gov. Aggregation
DEO             4442106171800               Gas           Gov. Aggregation   DUKE            5360208007                  Gas           Gov. Aggregation
DEO             9500052176249               Gas           Gov. Aggregation   DUKE            5510205306                  Gas           Gov. Aggregation
DEO             0500050388462               Gas           Gov. Aggregation   DUKE            9280061422                  Gas           Gov. Aggregation
DEO             4500052777490               Gas           Gov. Aggregation   DUKE            5380061437                  Gas           Gov. Aggregation
COH             174002870023                Gas           Gov. Aggregation   DUKE            6380061424                  Gas           Gov. Aggregation
COH             176125470016                Gas           Gov. Aggregation   DUKE            2700214209                  Gas           Gov. Aggregation
COH             196697700012                Gas           Gov. Aggregation   DUKE            8560214002                  Gas           Gov. Aggregation
COH             196782820016                Gas           Gov. Aggregation   DUKE            3680218707                  Gas           Gov. Aggregation
COH             159850450014                Gas           Gov. Aggregation   DUKE            2780361401                  Gas           Gov. Aggregation
COH             174818650039                Gas           Gov. Aggregation   DUKE            4280075826                  Gas           Gov. Aggregation
COH             197695550017                Gas           Gov. Aggregation   DUKE            3070061425                  Gas           Gov. Aggregation
COH             164391120010                Gas           Gov. Aggregation   DUKE            2960061421                  Gas           Gov. Aggregation
COH             111116390028                Gas           Gov. Aggregation   DUKE            6960061435                  Gas           Gov. Aggregation
COH             171808790052                Gas           Gov. Aggregation   DUKE            4960061468                  Gas           Gov. Aggregation
COH             193993880010                Gas           Gov. Aggregation   DUKE            7420049221                  Gas           Gov. Aggregation
COH             139518380268                Gas           Gov. Aggregation   COH             122404950017                Gas           Gov. Aggregation
COH             111120830017                Gas           Gov. Aggregation   COH             115155010012                Gas           Gov. Aggregation
COH             158963580037                Gas           Gov. Aggregation   VEDO            4002618692256813            Gas           Gov. Aggregation
COH             194739760012                Gas           Gov. Aggregation   DEO             6500049015522               Gas           Gov. Aggregation
COH             189031030012                Gas           Gov. Aggregation   COH             210220520010                Gas           Gov. Aggregation
COH             195643890017                Gas           Gov. Aggregation   VEDO            4001408892138352            Gas           Gov. Aggregation
COH             160401660018                Gas           Gov. Aggregation   COH             151308060068                Gas           Gov. Aggregation
COH             177712120013                Gas           Gov. Aggregation   COH             185503580010                Gas           Gov. Aggregation
COH             140149810043                Gas           Gov. Aggregation   COH             185540330014                Gas           Gov. Aggregation
COH             153269460011                Gas           Gov. Aggregation   COH             185709090026                Gas           Gov. Aggregation
COH             169137130011                Gas           Gov. Aggregation   COH             186163020018                Gas           Gov. Aggregation
COH             199901470013                Gas           Gov. Aggregation   COH             160082460036                Gas           Gov. Aggregation
COH             154317470024                Gas           Gov. Aggregation   COH             162628830029                Gas           Gov. Aggregation
COH             153575250025                Gas           Gov. Aggregation   COH             186590080011                Gas           Gov. Aggregation
COH             169897120013                Gas           Gov. Aggregation   COH             186614090017                Gas           Gov. Aggregation
COH             131248050035                Gas           Gov. Aggregation   COH             122700720017                Gas           Gov. Aggregation
COH             111171680012                Gas           Gov. Aggregation   COH             164884300017                Gas           Gov. Aggregation
COH             157788290022                Gas           Gov. Aggregation   COH             112115900012                Gas           Gov. Aggregation
COH             169122240019                Gas           Gov. Aggregation   COH             122719510049                Gas           Gov. Aggregation
COH             172259270019                Gas           Gov. Aggregation   COH             122749510019                Gas           Gov. Aggregation
COH             158167290018                Gas           Gov. Aggregation   COH             122963010047                Gas           Gov. Aggregation
COH             189526540016                Gas           Gov. Aggregation   COH             123742360023                Gas           Gov. Aggregation
COH             152970340010                Gas           Gov. Aggregation   COH             112294860013                Gas           Gov. Aggregation
COH             172917440017                Gas           Gov. Aggregation   COH             123107010022                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             197515460016                Gas           Gov. Aggregation   COH             188392560018                Gas           Gov. Aggregation
COH             156510590018                Gas           Gov. Aggregation   COH             186790180016                Gas           Gov. Aggregation
COH             177247410019                Gas           Gov. Aggregation   COH             156480380017                Gas           Gov. Aggregation
COH             158230020019                Gas           Gov. Aggregation   COH             163219270032                Gas           Gov. Aggregation
COH             193690070012                Gas           Gov. Aggregation   COH             123741230013                Gas           Gov. Aggregation
COH             141550740359                Gas           Gov. Aggregation   COH             123749240015                Gas           Gov. Aggregation
COH             193511490012                Gas           Gov. Aggregation   COH             123751380011                Gas           Gov. Aggregation
COH             196274010013                Gas           Gov. Aggregation   COH             112520950022                Gas           Gov. Aggregation
COH             151940480015                Gas           Gov. Aggregation   COH             125750680027                Gas           Gov. Aggregation
COH             111122330027                Gas           Gov. Aggregation   COH             125778160019                Gas           Gov. Aggregation
COH             111115840016                Gas           Gov. Aggregation   COH             125836860018                Gas           Gov. Aggregation
COH             165012390042                Gas           Gov. Aggregation   COH             125760760038                Gas           Gov. Aggregation
COH             127598710013                Gas           Gov. Aggregation   COH             125837760017                Gas           Gov. Aggregation
COH             121925450037                Gas           Gov. Aggregation   COH             125864320012                Gas           Gov. Aggregation
COH             169030960013                Gas           Gov. Aggregation   COH             125865160014                Gas           Gov. Aggregation
COH             185766230017                Gas           Gov. Aggregation   COH             125866820013                Gas           Gov. Aggregation
COH             199372980019                Gas           Gov. Aggregation   COH             188117840011                Gas           Gov. Aggregation
COH             169449320010                Gas           Gov. Aggregation   COH             188867640014                Gas           Gov. Aggregation
COH             185682400019                Gas           Gov. Aggregation   COH             125864270013                Gas           Gov. Aggregation
COH             121948180027                Gas           Gov. Aggregation   COH             125864310023                Gas           Gov. Aggregation
COH             165562890042                Gas           Gov. Aggregation   COH             189399260016                Gas           Gov. Aggregation
COH             196883800016                Gas           Gov. Aggregation   COH             115008500065                Gas           Gov. Aggregation
COH             173441930012                Gas           Gov. Aggregation   COH             115014230014                Gas           Gov. Aggregation
COH             121952450030                Gas           Gov. Aggregation   COH             125779920017                Gas           Gov. Aggregation
COH             160314010064                Gas           Gov. Aggregation   COH             125811500024                Gas           Gov. Aggregation
COH             145692190039                Gas           Gov. Aggregation   COH             189352450014                Gas           Gov. Aggregation
COH             134177660017                Gas           Gov. Aggregation   COH             127593870092                Gas           Gov. Aggregation
COH             198178540176                Gas           Gov. Aggregation   COH             130566700026                Gas           Gov. Aggregation
COH             121933050016                Gas           Gov. Aggregation   COH             190262920013                Gas           Gov. Aggregation
COH             121975250025                Gas           Gov. Aggregation   COH             136130930016                Gas           Gov. Aggregation
COH             143061490026                Gas           Gov. Aggregation   COH             138683670036                Gas           Gov. Aggregation
COH             193450270018                Gas           Gov. Aggregation   COH             133707060028                Gas           Gov. Aggregation
COH             191739380024                Gas           Gov. Aggregation   COH             138206950028                Gas           Gov. Aggregation
COH             121927770018                Gas           Gov. Aggregation   COH             141936190053                Gas           Gov. Aggregation
COH             192683810012                Gas           Gov. Aggregation   COH             190412400013                Gas           Gov. Aggregation
COH             121978570022                Gas           Gov. Aggregation   COH             190462350019                Gas           Gov. Aggregation
COH             193146620037                Gas           Gov. Aggregation   COH             190327480018                Gas           Gov. Aggregation
COH             193334060027                Gas           Gov. Aggregation   COH             144304890025                Gas           Gov. Aggregation
COH             195931820038                Gas           Gov. Aggregation   COH             166121500019                Gas           Gov. Aggregation
COH             196669400023                Gas           Gov. Aggregation   COH             191115980011                Gas           Gov. Aggregation
COH             200067320010                Gas           Gov. Aggregation   COH             166937360010                Gas           Gov. Aggregation
COH             200067340016                Gas           Gov. Aggregation   COH             168158170010                Gas           Gov. Aggregation
COH             200071780015                Gas           Gov. Aggregation   COH             121938480016                Gas           Gov. Aggregation
COH             200131190011                Gas           Gov. Aggregation   COH             121941770018                Gas           Gov. Aggregation
COH             200210850014                Gas           Gov. Aggregation   COH             121958780020                Gas           Gov. Aggregation
COH             200217110015                Gas           Gov. Aggregation   COH             121964480020                Gas           Gov. Aggregation
COH             200220910010                Gas           Gov. Aggregation   COH             121954130015                Gas           Gov. Aggregation
COH             200318940017                Gas           Gov. Aggregation   COH             121955950011                Gas           Gov. Aggregation
COH             200322950016                Gas           Gov. Aggregation   COH             122447600029                Gas           Gov. Aggregation
COH             200356740019                Gas           Gov. Aggregation   COH             134346280036                Gas           Gov. Aggregation
COH             200789300014                Gas           Gov. Aggregation   COH             135755640023                Gas           Gov. Aggregation
COH             200791430012                Gas           Gov. Aggregation   COH             191319350011                Gas           Gov. Aggregation
COH             200796030016                Gas           Gov. Aggregation   COH             191349550016                Gas           Gov. Aggregation
COH             200810580019                Gas           Gov. Aggregation   COH             169069720012                Gas           Gov. Aggregation
COH             200889110012                Gas           Gov. Aggregation   COH             145344040064                Gas           Gov. Aggregation
COH             200893870014                Gas           Gov. Aggregation   COH             168981460023                Gas           Gov. Aggregation
COH             200895360017                Gas           Gov. Aggregation   COH             168992810017                Gas           Gov. Aggregation
COH             200904770010                Gas           Gov. Aggregation   COH             191463420011                Gas           Gov. Aggregation
COH             194986130011                Gas           Gov. Aggregation   COH             171830340013                Gas           Gov. Aggregation
COH             194576980012                Gas           Gov. Aggregation   COH             191498690012                Gas           Gov. Aggregation
COH             194662830010                Gas           Gov. Aggregation   COH             122404970013                Gas           Gov. Aggregation
COH             194757020019                Gas           Gov. Aggregation   COH             122415040024                Gas           Gov. Aggregation
COH             197922630017                Gas           Gov. Aggregation   COH             122421870018                Gas           Gov. Aggregation
COH             198568010018                Gas           Gov. Aggregation   COH             169184690024                Gas           Gov. Aggregation
COH             196972460019                Gas           Gov. Aggregation   COH             169210980026                Gas           Gov. Aggregation
COH             121938350022                Gas           Gov. Aggregation   COH             171310670016                Gas           Gov. Aggregation
COH             122536830040                Gas           Gov. Aggregation   COH             147623220017                Gas           Gov. Aggregation
COH             198545690014                Gas           Gov. Aggregation   COH             124045130028                Gas           Gov. Aggregation
COH             197494580017                Gas           Gov. Aggregation   COH             124605300033                Gas           Gov. Aggregation
COH             197544570030                Gas           Gov. Aggregation   COH             124609820018                Gas           Gov. Aggregation
COH             197761640017                Gas           Gov. Aggregation   COH             169578570015                Gas           Gov. Aggregation
COH             198178540256                Gas           Gov. Aggregation   COH             124038780018                Gas           Gov. Aggregation
COH             198178540416                Gas           Gov. Aggregation   COH             130113180016                Gas           Gov. Aggregation
COH             197319750011                Gas           Gov. Aggregation   COH             136238260019                Gas           Gov. Aggregation
COH             198304420010                Gas           Gov. Aggregation   COH             136247640029                Gas           Gov. Aggregation
COH             173085620031                Gas           Gov. Aggregation   COH             136761670023                Gas           Gov. Aggregation
COH             199146520014                Gas           Gov. Aggregation   COH             177120660015                Gas           Gov. Aggregation
COH             199203300018                Gas           Gov. Aggregation   COH             137358450023                Gas           Gov. Aggregation
COH             199211650018                Gas           Gov. Aggregation   COH             171592250036                Gas           Gov. Aggregation
COH             199460360012                Gas           Gov. Aggregation   COH             140195270022                Gas           Gov. Aggregation
COH             199460470019                Gas           Gov. Aggregation   COH             187312810014                Gas           Gov. Aggregation
COH             199488940012                Gas           Gov. Aggregation   COH             187542320010                Gas           Gov. Aggregation
COH             199578410012                Gas           Gov. Aggregation   COH             188450700014                Gas           Gov. Aggregation
COH             199603770012                Gas           Gov. Aggregation   COH             189636420018                Gas           Gov. Aggregation
COH             199603800015                Gas           Gov. Aggregation   COH             189477070010                Gas           Gov. Aggregation
COH             199652510013                Gas           Gov. Aggregation   COH             115171420012                Gas           Gov. Aggregation
COH             199800100014                Gas           Gov. Aggregation   COH             189765430013                Gas           Gov. Aggregation
COH             199803230011                Gas           Gov. Aggregation   COH             189793290014                Gas           Gov. Aggregation
COH             199864000011                Gas           Gov. Aggregation   COH             153857300017                Gas           Gov. Aggregation
COH             199872380015                Gas           Gov. Aggregation   COH             153857310015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             199875520019                Gas           Gov. Aggregation   COH             167108120016                Gas           Gov. Aggregation
COH             196978150021                Gas           Gov. Aggregation   COH             188883390031                Gas           Gov. Aggregation
COH             196928190019                Gas           Gov. Aggregation   COH             166436450219                Gas           Gov. Aggregation
COH             197184960023                Gas           Gov. Aggregation   COH             190274000011                Gas           Gov. Aggregation
COH             197497050021                Gas           Gov. Aggregation   COH             190308510011                Gas           Gov. Aggregation
COH             188807050014                Gas           Gov. Aggregation   COH             190876120010                Gas           Gov. Aggregation
COH             198903020014                Gas           Gov. Aggregation   COH             168539800019                Gas           Gov. Aggregation
COH             198944790017                Gas           Gov. Aggregation   COH             168558060015                Gas           Gov. Aggregation
COH             160605320017                Gas           Gov. Aggregation   COH             190936170012                Gas           Gov. Aggregation
COH             129884460044                Gas           Gov. Aggregation   COH             191454400014                Gas           Gov. Aggregation
COH             162359580014                Gas           Gov. Aggregation   COH             169104500012                Gas           Gov. Aggregation
COH             151793250025                Gas           Gov. Aggregation   COH             190988270012                Gas           Gov. Aggregation
COH             185511290032                Gas           Gov. Aggregation   COH             191104750012                Gas           Gov. Aggregation
COH             152999290048                Gas           Gov. Aggregation   COH             191770260014                Gas           Gov. Aggregation
COH             201551140010                Gas           Gov. Aggregation   COH             171031160033                Gas           Gov. Aggregation
COH             146295140021                Gas           Gov. Aggregation   COH             157340760021                Gas           Gov. Aggregation
COH             149719112755                Gas           Gov. Aggregation   COH             158095930025                Gas           Gov. Aggregation
COH             153694180037                Gas           Gov. Aggregation   COH             169635380022                Gas           Gov. Aggregation
COH             157241300027                Gas           Gov. Aggregation   COH             191828580014                Gas           Gov. Aggregation
COH             157746090068                Gas           Gov. Aggregation   COH             170307770013                Gas           Gov. Aggregation
COH             171132340022                Gas           Gov. Aggregation   COH             149672760028                Gas           Gov. Aggregation
COH             172010820046                Gas           Gov. Aggregation   COH             150254110018                Gas           Gov. Aggregation
COH             172642340039                Gas           Gov. Aggregation   COH             149749260011                Gas           Gov. Aggregation
COH             174462350037                Gas           Gov. Aggregation   COH             151075920017                Gas           Gov. Aggregation
COH             186969520024                Gas           Gov. Aggregation   COH             173666220033                Gas           Gov. Aggregation
COH             188337800031                Gas           Gov. Aggregation   COH             152124650036                Gas           Gov. Aggregation
COH             188714520030                Gas           Gov. Aggregation   COH             152275850026                Gas           Gov. Aggregation
COH             194887620036                Gas           Gov. Aggregation   COH             191050610016                Gas           Gov. Aggregation
COH             194952660020                Gas           Gov. Aggregation   COH             163050750011                Gas           Gov. Aggregation
COH             195137910024                Gas           Gov. Aggregation   COH             151628700029                Gas           Gov. Aggregation
COH             195367150036                Gas           Gov. Aggregation   COH             151638850027                Gas           Gov. Aggregation
COH             196574120023                Gas           Gov. Aggregation   COH             163605340010                Gas           Gov. Aggregation
COH             196919650039                Gas           Gov. Aggregation   COH             152957560012                Gas           Gov. Aggregation
COH             201153490011                Gas           Gov. Aggregation   COH             190950830013                Gas           Gov. Aggregation
COH             201175700010                Gas           Gov. Aggregation   COH             174754500018                Gas           Gov. Aggregation
COH             201183840014                Gas           Gov. Aggregation   COH             153991300022                Gas           Gov. Aggregation
COH             201450240013                Gas           Gov. Aggregation   COH             153658380022                Gas           Gov. Aggregation
COH             201495430019                Gas           Gov. Aggregation   COH             153815330046                Gas           Gov. Aggregation
COH             201516380014                Gas           Gov. Aggregation   COH             153971840021                Gas           Gov. Aggregation
COH             200816630016                Gas           Gov. Aggregation   COH             154026000047                Gas           Gov. Aggregation
COH             201617540016                Gas           Gov. Aggregation   COH             108699500034                Gas           Gov. Aggregation
COH             201693150018                Gas           Gov. Aggregation   COH             108702550017                Gas           Gov. Aggregation
COH             201793210013                Gas           Gov. Aggregation   COH             176575250019                Gas           Gov. Aggregation
COH             201805150019                Gas           Gov. Aggregation   COH             110933110016                Gas           Gov. Aggregation
COH             201847850014                Gas           Gov. Aggregation   COH             191678070010                Gas           Gov. Aggregation
COH             201852520012                Gas           Gov. Aggregation   COH             154866900011                Gas           Gov. Aggregation
COH             201862930015                Gas           Gov. Aggregation   COH             108709080021                Gas           Gov. Aggregation
COH             201944380017                Gas           Gov. Aggregation   COH             155111070032                Gas           Gov. Aggregation
COH             201968680014                Gas           Gov. Aggregation   COH             110907990026                Gas           Gov. Aggregation
COH             201987770015                Gas           Gov. Aggregation   COH             108693980018                Gas           Gov. Aggregation
COH             201991920014                Gas           Gov. Aggregation   COH             108694600015                Gas           Gov. Aggregation
COH             199560520016                Gas           Gov. Aggregation   COH             108699970018                Gas           Gov. Aggregation
COH             197489930014                Gas           Gov. Aggregation   COH             155216600010                Gas           Gov. Aggregation
COH             143554780057                Gas           Gov. Aggregation   COH             108757450013                Gas           Gov. Aggregation
COH             121993880025                Gas           Gov. Aggregation   COH             108757780014                Gas           Gov. Aggregation
COH             204099130019                Gas           Gov. Aggregation   COH             108758260011                Gas           Gov. Aggregation
COH             204742270015                Gas           Gov. Aggregation   COH             108760850012                Gas           Gov. Aggregation
COH             199284620020                Gas           Gov. Aggregation   COH             108722810038                Gas           Gov. Aggregation
COH             187563150085                Gas           Gov. Aggregation   COH             155296230010                Gas           Gov. Aggregation
COH             203728160019                Gas           Gov. Aggregation   COH             111101510014                Gas           Gov. Aggregation
COH             203719410015                Gas           Gov. Aggregation   COH             108751240028                Gas           Gov. Aggregation
COH             201679190010                Gas           Gov. Aggregation   COH             108753730012                Gas           Gov. Aggregation
COH             201666040018                Gas           Gov. Aggregation   COH             108756620028                Gas           Gov. Aggregation
COH             203253310014                Gas           Gov. Aggregation   COH             108763340022                Gas           Gov. Aggregation
COH             205334170010                Gas           Gov. Aggregation   COH             108667490034                Gas           Gov. Aggregation
COH             205199130016                Gas           Gov. Aggregation   COH             108669230016                Gas           Gov. Aggregation
COH             202560800011                Gas           Gov. Aggregation   COH             108673090017                Gas           Gov. Aggregation
COH             202363950018                Gas           Gov. Aggregation   COH             108703130013                Gas           Gov. Aggregation
COH             203959230015                Gas           Gov. Aggregation   COH             111078170017                Gas           Gov. Aggregation
COH             119713000025                Gas           Gov. Aggregation   COH             111080980012                Gas           Gov. Aggregation
COH             204642080017                Gas           Gov. Aggregation   COH             111088530029                Gas           Gov. Aggregation
COH             201678000020                Gas           Gov. Aggregation   COH             108729240025                Gas           Gov. Aggregation
COH             202394300019                Gas           Gov. Aggregation   COH             108729760017                Gas           Gov. Aggregation
COH             205072620011                Gas           Gov. Aggregation   COH             108731960010                Gas           Gov. Aggregation
COH             203882740011                Gas           Gov. Aggregation   COH             108733860017                Gas           Gov. Aggregation
COH             204661960012                Gas           Gov. Aggregation   COH             108743200014                Gas           Gov. Aggregation
COH             204741160010                Gas           Gov. Aggregation   COH             108743520017                Gas           Gov. Aggregation
COH             204730450012                Gas           Gov. Aggregation   COH             108763640010                Gas           Gov. Aggregation
COH             204747700014                Gas           Gov. Aggregation   COH             108765190011                Gas           Gov. Aggregation
COH             203733540018                Gas           Gov. Aggregation   COH             108771840039                Gas           Gov. Aggregation
COH             140288060163                Gas           Gov. Aggregation   COH             108772560045                Gas           Gov. Aggregation
COH             200236570028                Gas           Gov. Aggregation   COH             185053310011                Gas           Gov. Aggregation
COH             203329110033                Gas           Gov. Aggregation   COH             155663390018                Gas           Gov. Aggregation
COH             205273610017                Gas           Gov. Aggregation   COH             156073890013                Gas           Gov. Aggregation
COH             205192850019                Gas           Gov. Aggregation   COH             156005620030                Gas           Gov. Aggregation
COH             205255080017                Gas           Gov. Aggregation   COH             108753160021                Gas           Gov. Aggregation
COH             204054360015                Gas           Gov. Aggregation   COH             108758670024                Gas           Gov. Aggregation
COH             202590260021                Gas           Gov. Aggregation   COH             149964950029                Gas           Gov. Aggregation
COH             203982410018                Gas           Gov. Aggregation   COH             150090580027                Gas           Gov. Aggregation
COH             203999170014                Gas           Gov. Aggregation   COH             157325630011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             203943800018                Gas           Gov. Aggregation   COH             150830860019                Gas           Gov. Aggregation
COH             203570150016                Gas           Gov. Aggregation   COH             150862590019                Gas           Gov. Aggregation
COH             204096320015                Gas           Gov. Aggregation   COH             149174950042                Gas           Gov. Aggregation
COH             196953680022                Gas           Gov. Aggregation   COH             149842670017                Gas           Gov. Aggregation
COH             205124760011                Gas           Gov. Aggregation   COH             151796110019                Gas           Gov. Aggregation
COH             204621990010                Gas           Gov. Aggregation   COH             151911970031                Gas           Gov. Aggregation
COH             199658330019                Gas           Gov. Aggregation   COH             152302820014                Gas           Gov. Aggregation
COH             175035190026                Gas           Gov. Aggregation   COH             156729780024                Gas           Gov. Aggregation
VEDO            4010107942106933            Gas           Gov. Aggregation   COH             187767120016                Gas           Gov. Aggregation
VEDO            4018258222245010            Gas           Gov. Aggregation   COH             154216370029                Gas           Gov. Aggregation
VEDO            4018126532444868            Gas           Gov. Aggregation   COH             158166560022                Gas           Gov. Aggregation
VEDO            4020796742411719            Gas           Gov. Aggregation   COH             154810000026                Gas           Gov. Aggregation
VEDO            4018526002342659            Gas           Gov. Aggregation   COH             155887720023                Gas           Gov. Aggregation
VEDO            4018534022103999            Gas           Gov. Aggregation   COH             156540130011                Gas           Gov. Aggregation
VEDO            4018538662103203            Gas           Gov. Aggregation   COH             154962070030                Gas           Gov. Aggregation
VEDO            4018538662142840            Gas           Gov. Aggregation   COH             154870880026                Gas           Gov. Aggregation
VEDO            4018538662590178            Gas           Gov. Aggregation   COH             158983880014                Gas           Gov. Aggregation
VEDO            4018538832143016            Gas           Gov. Aggregation   COH             158991900012                Gas           Gov. Aggregation
VEDO            4018541232362721            Gas           Gov. Aggregation   COH             188741620014                Gas           Gov. Aggregation
VEDO            4019509672281532            Gas           Gov. Aggregation   COH             156986850016                Gas           Gov. Aggregation
VEDO            4016088632487419            Gas           Gov. Aggregation   COH             157076440038                Gas           Gov. Aggregation
VEDO            4004994262509992            Gas           Gov. Aggregation   COH             158112780010                Gas           Gov. Aggregation
VEDO            4003483592355015            Gas           Gov. Aggregation   COH             158261430036                Gas           Gov. Aggregation
VEDO            4002777222181227            Gas           Gov. Aggregation   COH             189266440019                Gas           Gov. Aggregation
VEDO            4001744982675189            Gas           Gov. Aggregation   COH             159193830018                Gas           Gov. Aggregation
VEDO            4019501252418441            Gas           Gov. Aggregation   COH             159439260016                Gas           Gov. Aggregation
VEDO            4019867752398760            Gas           Gov. Aggregation   COH             157617040016                Gas           Gov. Aggregation
VEDO            4019502672486905            Gas           Gov. Aggregation   COH             159003920010                Gas           Gov. Aggregation
VEDO            4020882382448846            Gas           Gov. Aggregation   COH             159572800010                Gas           Gov. Aggregation
VEDO            4001352072132988            Gas           Gov. Aggregation   COH             159910040012                Gas           Gov. Aggregation
VEDO            4001418942139255            Gas           Gov. Aggregation   COH             160056190010                Gas           Gov. Aggregation
VEDO            4001437112384760            Gas           Gov. Aggregation   COH             160948520019                Gas           Gov. Aggregation
VEDO            4001438742365009            Gas           Gov. Aggregation   COH             161698190028                Gas           Gov. Aggregation
VEDO            4001438742503917            Gas           Gov. Aggregation   COH             161781910010                Gas           Gov. Aggregation
VEDO            4001688202298956            Gas           Gov. Aggregation   COH             158402970015                Gas           Gov. Aggregation
VEDO            4001719762167838            Gas           Gov. Aggregation   COH             158485550028                Gas           Gov. Aggregation
VEDO            4001832122467858            Gas           Gov. Aggregation   COH             158568370011                Gas           Gov. Aggregation
VEDO            4001852962180828            Gas           Gov. Aggregation   COH             189884210017                Gas           Gov. Aggregation
VEDO            4001901092185514            Gas           Gov. Aggregation   COH             161385660031                Gas           Gov. Aggregation
VEDO            4002083362374825            Gas           Gov. Aggregation   COH             161194490032                Gas           Gov. Aggregation
VEDO            4002089522209971            Gas           Gov. Aggregation   COH             162594950018                Gas           Gov. Aggregation
VEDO            4002120432470357            Gas           Gov. Aggregation   COH             161602680017                Gas           Gov. Aggregation
VEDO            4002153772210509            Gas           Gov. Aggregation   COH             164161370266                Gas           Gov. Aggregation
VEDO            4002185512351938            Gas           Gov. Aggregation   COH             161872440016                Gas           Gov. Aggregation
VEDO            4002185732364934            Gas           Gov. Aggregation   COH             162545950011                Gas           Gov. Aggregation
VEDO            4002189522214100            Gas           Gov. Aggregation   COH             162601830025                Gas           Gov. Aggregation
VEDO            4002209482513682            Gas           Gov. Aggregation   COH             210027590016                Gas           Gov. Aggregation
VEDO            4002254752220566            Gas           Gov. Aggregation   COH             125753590011                Gas           Gov. Aggregation
VEDO            4002278832223002            Gas           Gov. Aggregation   COH             163085670015                Gas           Gov. Aggregation
VEDO            4002528152247722            Gas           Gov. Aggregation   COH             162735910016                Gas           Gov. Aggregation
VEDO            4002528212247727            Gas           Gov. Aggregation   COH             164997200019                Gas           Gov. Aggregation
VEDO            4002542342249194            Gas           Gov. Aggregation   COH             165063080013                Gas           Gov. Aggregation
VEDO            4002551252250119            Gas           Gov. Aggregation   COH             190397550016                Gas           Gov. Aggregation
VEDO            4002568412539849            Gas           Gov. Aggregation   COH             162994440053                Gas           Gov. Aggregation
VEDO            4002575162252527            Gas           Gov. Aggregation   COH             164195540027                Gas           Gov. Aggregation
VEDO            4002588802253852            Gas           Gov. Aggregation   COH             125550670023                Gas           Gov. Aggregation
VEDO            4002612472256141            Gas           Gov. Aggregation   COH             115332750011                Gas           Gov. Aggregation
VEDO            4002639402258835            Gas           Gov. Aggregation   COH             135640540018                Gas           Gov. Aggregation
VEDO            4002885972283566            Gas           Gov. Aggregation   COH             135640940014                Gas           Gov. Aggregation
VEDO            4002916502286650            Gas           Gov. Aggregation   COH             164743160015                Gas           Gov. Aggregation
VEDO            4002928912388467            Gas           Gov. Aggregation   COH             164913590014                Gas           Gov. Aggregation
VEDO            4002974582292719            Gas           Gov. Aggregation   COH             123625430035                Gas           Gov. Aggregation
VEDO            4002980872239289            Gas           Gov. Aggregation   COH             123656670012                Gas           Gov. Aggregation
VEDO            4003052852231762            Gas           Gov. Aggregation   COH             123661170016                Gas           Gov. Aggregation
VEDO            4003086262304100            Gas           Gov. Aggregation   COH             123662590016                Gas           Gov. Aggregation
VEDO            4003296502325847            Gas           Gov. Aggregation   COH             123663360021                Gas           Gov. Aggregation
VEDO            4003296502333945            Gas           Gov. Aggregation   COH             123668770016                Gas           Gov. Aggregation
VEDO            4003329522329309            Gas           Gov. Aggregation   COH             143013750022                Gas           Gov. Aggregation
VEDO            4003337042330096            Gas           Gov. Aggregation   COH             144488880010                Gas           Gov. Aggregation
VEDO            4003347262331206            Gas           Gov. Aggregation   COH             191727060017                Gas           Gov. Aggregation
VEDO            4003390862321172            Gas           Gov. Aggregation   COH             131713880016                Gas           Gov. Aggregation
VEDO            4003925622467166            Gas           Gov. Aggregation   COH             134284340017                Gas           Gov. Aggregation
VEDO            4003946512394943            Gas           Gov. Aggregation   COH             116602740019                Gas           Gov. Aggregation
VEDO            4003977372398225            Gas           Gov. Aggregation   COH             139414440014                Gas           Gov. Aggregation
VEDO            4003977372517209            Gas           Gov. Aggregation   COH             140938420015                Gas           Gov. Aggregation
VEDO            4003982502518042            Gas           Gov. Aggregation   COH             141274860010                Gas           Gov. Aggregation
VEDO            4003985882671908            Gas           Gov. Aggregation   COH             142092060022                Gas           Gov. Aggregation
VEDO            4003996102425801            Gas           Gov. Aggregation   COH             123719510039                Gas           Gov. Aggregation
VEDO            4004019962454994            Gas           Gov. Aggregation   COH             123720860015                Gas           Gov. Aggregation
VEDO            4004344362438242            Gas           Gov. Aggregation   COH             123721990016                Gas           Gov. Aggregation
VEDO            4004403682444775            Gas           Gov. Aggregation   COH             123636250030                Gas           Gov. Aggregation
VEDO            4004412722445783            Gas           Gov. Aggregation   COH             165518250012                Gas           Gov. Aggregation
VEDO            4004436952448462            Gas           Gov. Aggregation   COH             165712720020                Gas           Gov. Aggregation
VEDO            4004512372241306            Gas           Gov. Aggregation   COH             165716810014                Gas           Gov. Aggregation
VEDO            4010044572273007            Gas           Gov. Aggregation   COH             123629580063                Gas           Gov. Aggregation
VEDO            4010044572446541            Gas           Gov. Aggregation   COH             123630510028                Gas           Gov. Aggregation
VEDO            4010121272400019            Gas           Gov. Aggregation   COH             123636390013                Gas           Gov. Aggregation
VEDO            4010132512214593            Gas           Gov. Aggregation   COH             123636980144                Gas           Gov. Aggregation
VEDO            4015005742177886            Gas           Gov. Aggregation   COH             123638190011                Gas           Gov. Aggregation
VEDO            4015200102485584            Gas           Gov. Aggregation   COH             123650720013                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4015242102310245            Gas           Gov. Aggregation   COH             123652200027                Gas           Gov. Aggregation
VEDO         4015311232106852            Gas           Gov. Aggregation   COH             123656840016                Gas           Gov. Aggregation
VEDO         4015350702518532            Gas           Gov. Aggregation   COH             123658840021                Gas           Gov. Aggregation
VEDO         4015363462220909            Gas           Gov. Aggregation   COH             123662760010                Gas           Gov. Aggregation
VEDO         4015377452445328            Gas           Gov. Aggregation   COH             123720570016                Gas           Gov. Aggregation
VEDO         4015393362494655            Gas           Gov. Aggregation   COH             123721650017                Gas           Gov. Aggregation
VEDO         4015485772349084            Gas           Gov. Aggregation   COH             123724670026                Gas           Gov. Aggregation
VEDO         4015601852405243            Gas           Gov. Aggregation   COH             123724010033                Gas           Gov. Aggregation
VEDO         4015606062459848            Gas           Gov. Aggregation   COH             123724870015                Gas           Gov. Aggregation
VEDO         4015608142645699            Gas           Gov. Aggregation   COH             124005730044                Gas           Gov. Aggregation
VEDO         4015627862200155            Gas           Gov. Aggregation   COH             124161750031                Gas           Gov. Aggregation
VEDO         4015656812343051            Gas           Gov. Aggregation   COH             150612510014                Gas           Gov. Aggregation
VEDO         4015687072309663            Gas           Gov. Aggregation   COH             150619930049                Gas           Gov. Aggregation
VEDO         4015708192523284            Gas           Gov. Aggregation   COH             114999920032                Gas           Gov. Aggregation
VEDO         4016554412387717            Gas           Gov. Aggregation   COH             165949380012                Gas           Gov. Aggregation
VEDO         4016570502379977            Gas           Gov. Aggregation   COH             166343540011                Gas           Gov. Aggregation
VEDO         4016605302337474            Gas           Gov. Aggregation   COH             166584000050                Gas           Gov. Aggregation
VEDO         4016623352477126            Gas           Gov. Aggregation   COH             128837680039                Gas           Gov. Aggregation
VEDO         4016639972345313            Gas           Gov. Aggregation   COH             110815980023                Gas           Gov. Aggregation
VEDO         4016809852338413            Gas           Gov. Aggregation   COH             114979250026                Gas           Gov. Aggregation
VEDO         4016822032172096            Gas           Gov. Aggregation   COH             133188720030                Gas           Gov. Aggregation
VEDO         4016830852108461            Gas           Gov. Aggregation   COH             134210290059                Gas           Gov. Aggregation
VEDO         4016842612256025            Gas           Gov. Aggregation   COH             134457040013                Gas           Gov. Aggregation
VEDO         4016858452242043            Gas           Gov. Aggregation   COH             133269520012                Gas           Gov. Aggregation
VEDO         4016906402114969            Gas           Gov. Aggregation   COH             132565860014                Gas           Gov. Aggregation
VEDO         4017169802374473            Gas           Gov. Aggregation   COH             132631530021                Gas           Gov. Aggregation
VEDO         4017173562216833            Gas           Gov. Aggregation   COH             134958790032                Gas           Gov. Aggregation
VEDO         4017183492201042            Gas           Gov. Aggregation   COH             153619790028                Gas           Gov. Aggregation
VEDO         4017186592451689            Gas           Gov. Aggregation   COH             169281190014                Gas           Gov. Aggregation
VEDO         4017200572525029            Gas           Gov. Aggregation   COH             139228500025                Gas           Gov. Aggregation
VEDO         4017230932356562            Gas           Gov. Aggregation   COH             140103650169                Gas           Gov. Aggregation
VEDO         4017231552394055            Gas           Gov. Aggregation   COH             167694770019                Gas           Gov. Aggregation
VEDO         4017464832110887            Gas           Gov. Aggregation   COH             155319410021                Gas           Gov. Aggregation
VEDO         4017466602245841            Gas           Gov. Aggregation   COH             117097700028                Gas           Gov. Aggregation
VEDO         4017481352187820            Gas           Gov. Aggregation   COH             117159140033                Gas           Gov. Aggregation
VEDO         4017484722209143            Gas           Gov. Aggregation   COH             117160760021                Gas           Gov. Aggregation
VEDO         4017513842176849            Gas           Gov. Aggregation   COH             139189680040                Gas           Gov. Aggregation
VEDO         4017728982155141            Gas           Gov. Aggregation   COH             117312060016                Gas           Gov. Aggregation
VEDO         4017747462296824            Gas           Gov. Aggregation   COH             117345580027                Gas           Gov. Aggregation
VEDO         4017750332378384            Gas           Gov. Aggregation   COH             117373430029                Gas           Gov. Aggregation
VEDO         4017755432209113            Gas           Gov. Aggregation   COH             117375020021                Gas           Gov. Aggregation
VEDO         4017757562209073            Gas           Gov. Aggregation   COH             144776790018                Gas           Gov. Aggregation
VEDO         4017799782310106            Gas           Gov. Aggregation   COH             117224710034                Gas           Gov. Aggregation
VEDO         4017799782357243            Gas           Gov. Aggregation   COH             156889760039                Gas           Gov. Aggregation
VEDO         4017799782379004            Gas           Gov. Aggregation   COH             145421680011                Gas           Gov. Aggregation
VEDO         4018309792320934            Gas           Gov. Aggregation   COH             157896250030                Gas           Gov. Aggregation
VEDO         4018330072468554            Gas           Gov. Aggregation   COH             158010920016                Gas           Gov. Aggregation
VEDO         4018338512491070            Gas           Gov. Aggregation   COH             117556680029                Gas           Gov. Aggregation
VEDO         4018338572406718            Gas           Gov. Aggregation   COH             117558120022                Gas           Gov. Aggregation
VEDO         4018350252387186            Gas           Gov. Aggregation   COH             159540210020                Gas           Gov. Aggregation
VEDO         4018350742169743            Gas           Gov. Aggregation   COH             147705570010                Gas           Gov. Aggregation
VEDO         4018353052172741            Gas           Gov. Aggregation   COH             167767550010                Gas           Gov. Aggregation
VEDO         4018498432554418            Gas           Gov. Aggregation   COH             167696670025                Gas           Gov. Aggregation
VEDO         4018533592501576            Gas           Gov. Aggregation   COH             160461780017                Gas           Gov. Aggregation
VEDO         4018535902352907            Gas           Gov. Aggregation   COH             117911620027                Gas           Gov. Aggregation
VEDO         4018553762239214            Gas           Gov. Aggregation   COH             117966810022                Gas           Gov. Aggregation
VEDO         4018566342343214            Gas           Gov. Aggregation   COH             118001840029                Gas           Gov. Aggregation
VEDO         4018583022358977            Gas           Gov. Aggregation   COH             177554860014                Gas           Gov. Aggregation
VEDO         4019189312488379            Gas           Gov. Aggregation   COH             118111230024                Gas           Gov. Aggregation
VEDO         4019195982425434            Gas           Gov. Aggregation   COH             117999090025                Gas           Gov. Aggregation
VEDO         4019227992276180            Gas           Gov. Aggregation   COH             118192110056                Gas           Gov. Aggregation
VEDO         4019230882216301            Gas           Gov. Aggregation   COH             118379080048                Gas           Gov. Aggregation
VEDO         4019246722348549            Gas           Gov. Aggregation   COH             164727370015                Gas           Gov. Aggregation
VEDO         4019248152136699            Gas           Gov. Aggregation   COH             118686340024                Gas           Gov. Aggregation
VEDO         4019310442519456            Gas           Gov. Aggregation   COH             172188970031                Gas           Gov. Aggregation
VEDO         4019329522140806            Gas           Gov. Aggregation   COH             170236700018                Gas           Gov. Aggregation
VEDO         4019340112165104            Gas           Gov. Aggregation   COH             118266380044                Gas           Gov. Aggregation
VEDO         4019344132154539            Gas           Gov. Aggregation   COH             118493510018                Gas           Gov. Aggregation
VEDO         4019363032385974            Gas           Gov. Aggregation   COH             171510550017                Gas           Gov. Aggregation
VEDO         4019390782347964            Gas           Gov. Aggregation   COH             172265940015                Gas           Gov. Aggregation
VEDO         4019472632348231            Gas           Gov. Aggregation   COH             172234130010                Gas           Gov. Aggregation
VEDO         4019486262514001            Gas           Gov. Aggregation   COH             172251570012                Gas           Gov. Aggregation
VEDO         4019521182299780            Gas           Gov. Aggregation   COH             118767270027                Gas           Gov. Aggregation
VEDO         4019531442213789            Gas           Gov. Aggregation   COH             118823790019                Gas           Gov. Aggregation
VEDO         4019532932460684            Gas           Gov. Aggregation   COH             118825250018                Gas           Gov. Aggregation
VEDO         4019823762527850            Gas           Gov. Aggregation   COH             118827040018                Gas           Gov. Aggregation
VEDO         4019906902401442            Gas           Gov. Aggregation   COH             172971190016                Gas           Gov. Aggregation
VEDO         4019924422322581            Gas           Gov. Aggregation   COH             174842240016                Gas           Gov. Aggregation
VEDO         4019968582390606            Gas           Gov. Aggregation   COH             175008970047                Gas           Gov. Aggregation
VEDO         4019974122250895            Gas           Gov. Aggregation   COH             188065340017                Gas           Gov. Aggregation
VEDO         4019974922525375            Gas           Gov. Aggregation   COH             115800790010                Gas           Gov. Aggregation
VEDO         4020041252118256            Gas           Gov. Aggregation   COH             189970330019                Gas           Gov. Aggregation
VEDO         4020041252431365            Gas           Gov. Aggregation   COH             115773960013                Gas           Gov. Aggregation
VEDO         4020046752197381            Gas           Gov. Aggregation   COH             115808730016                Gas           Gov. Aggregation
VEDO         4020069642381808            Gas           Gov. Aggregation   COH             115836480010                Gas           Gov. Aggregation
VEDO         4020070452200206            Gas           Gov. Aggregation   COH             115839050014                Gas           Gov. Aggregation
VEDO         4020070942176299            Gas           Gov. Aggregation   COH             119901600039                Gas           Gov. Aggregation
VEDO         4020085382249634            Gas           Gov. Aggregation   COH             119911700304                Gas           Gov. Aggregation
VEDO         4020223122307410            Gas           Gov. Aggregation   COH             120160520017                Gas           Gov. Aggregation
VEDO         4020223982251844            Gas           Gov. Aggregation   COH             115785460013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4020245562409529            Gas           Gov. Aggregation   COH             115803000028                Gas           Gov. Aggregation
VEDO            4002044762408517            Gas           Gov. Aggregation   COH             115809340016                Gas           Gov. Aggregation
VEDO            4002078922203210            Gas           Gov. Aggregation   COH             115858180017                Gas           Gov. Aggregation
VEDO            4002084112531107            Gas           Gov. Aggregation   COH             115858440012                Gas           Gov. Aggregation
VEDO            4002200402215150            Gas           Gov. Aggregation   COH             115860140038                Gas           Gov. Aggregation
VEDO            4002212202216321            Gas           Gov. Aggregation   COH             115800930029                Gas           Gov. Aggregation
VEDO            4002218812524417            Gas           Gov. Aggregation   COH             115804470028                Gas           Gov. Aggregation
VEDO            4002235902218712            Gas           Gov. Aggregation   COH             189992930017                Gas           Gov. Aggregation
VEDO            4002246162219723            Gas           Gov. Aggregation   COH             115862300012                Gas           Gov. Aggregation
VEDO            4020307772129649            Gas           Gov. Aggregation   COH             120079440026                Gas           Gov. Aggregation
VEDO            4020336602151467            Gas           Gov. Aggregation   COH             120200250027                Gas           Gov. Aggregation
VEDO            4017876892199973            Gas           Gov. Aggregation   COH             120206950028                Gas           Gov. Aggregation
VEDO            4020859382283125            Gas           Gov. Aggregation   COH             177110230016                Gas           Gov. Aggregation
VEDO            4016610242521118            Gas           Gov. Aggregation   COH             191498140017                Gas           Gov. Aggregation
VEDO            4001024472102392            Gas           Gov. Aggregation   COH             115827500014                Gas           Gov. Aggregation
VEDO            4020879402230016            Gas           Gov. Aggregation   COH             115829000015                Gas           Gov. Aggregation
VEDO            4018578912449979            Gas           Gov. Aggregation   COH             115829520016                Gas           Gov. Aggregation
VEDO            4020175322470368            Gas           Gov. Aggregation   COH             115865980023                Gas           Gov. Aggregation
VEDO            4020177872317631            Gas           Gov. Aggregation   COH             115868330309                Gas           Gov. Aggregation
VEDO            4020216162320104            Gas           Gov. Aggregation   COH             177293270021                Gas           Gov. Aggregation
VEDO            4017727762676990            Gas           Gov. Aggregation   COH             120346640027                Gas           Gov. Aggregation
VEDO            4016158152459378            Gas           Gov. Aggregation   COH             177505070013                Gas           Gov. Aggregation
VEDO            4020880822175613            Gas           Gov. Aggregation   COH             177522130014                Gas           Gov. Aggregation
VEDO            4020308452429651            Gas           Gov. Aggregation   COH             120431660031                Gas           Gov. Aggregation
VEDO            4020243352675921            Gas           Gov. Aggregation   COH             120445770011                Gas           Gov. Aggregation
VEDO            4020228822316671            Gas           Gov. Aggregation   COH             186506700017                Gas           Gov. Aggregation
VEDO            4020232392300904            Gas           Gov. Aggregation   COH             186962220012                Gas           Gov. Aggregation
VEDO            4020234002494881            Gas           Gov. Aggregation   COH             192169720011                Gas           Gov. Aggregation
VEDO            4018403562442815            Gas           Gov. Aggregation   COH             186797930014                Gas           Gov. Aggregation
VEDO            4005135842526090            Gas           Gov. Aggregation   COH             191860370010                Gas           Gov. Aggregation
VEDO            4010086332331165            Gas           Gov. Aggregation   COH             192139910014                Gas           Gov. Aggregation
VEDO            4003912592307340            Gas           Gov. Aggregation   COH             108801890043                Gas           Gov. Aggregation
DEO             6442006604406               Gas           Gov. Aggregation   COH             108807110017                Gas           Gov. Aggregation
DEO             7180003482608               Gas           Gov. Aggregation   COH             191895970011                Gas           Gov. Aggregation
DEO             7180003237072               Gas           Gov. Aggregation   COH             121637300039                Gas           Gov. Aggregation
DEO             0500052208895               Gas           Gov. Aggregation   COH             188171670013                Gas           Gov. Aggregation
DEO             9500065170722               Gas           Gov. Aggregation   COH             191440420019                Gas           Gov. Aggregation
VEDO            4001633182240902            Gas           Gov. Aggregation   COH             191508240013                Gas           Gov. Aggregation
VEDO            4001635002409661            Gas           Gov. Aggregation   COH             187133500019                Gas           Gov. Aggregation
VEDO            4001645472160848            Gas           Gov. Aggregation   COH             127462740023                Gas           Gov. Aggregation
VEDO            4001645472196044            Gas           Gov. Aggregation   COH             123566660042                Gas           Gov. Aggregation
VEDO            4001645472499728            Gas           Gov. Aggregation   COH             108847610018                Gas           Gov. Aggregation
VEDO            4001645472511033            Gas           Gov. Aggregation   COH             108853860013                Gas           Gov. Aggregation
VEDO            4001646652413917            Gas           Gov. Aggregation   COH             127014940039                Gas           Gov. Aggregation
VEDO            4001646652457201            Gas           Gov. Aggregation   COH             166554960016                Gas           Gov. Aggregation
VEDO            4001656312499532            Gas           Gov. Aggregation   COH             130822470058                Gas           Gov. Aggregation
VEDO            4002919132286924            Gas           Gov. Aggregation   COH             188887280018                Gas           Gov. Aggregation
VEDO            4002925562184489            Gas           Gov. Aggregation   COH             188907460016                Gas           Gov. Aggregation
VEDO            4002928232213117            Gas           Gov. Aggregation   COH             130591280022                Gas           Gov. Aggregation
VEDO            4002930112531461            Gas           Gov. Aggregation   COH             130973840088                Gas           Gov. Aggregation
VEDO            4002959792291186            Gas           Gov. Aggregation   COH             157284560014                Gas           Gov. Aggregation
VEDO            4002960822291290            Gas           Gov. Aggregation   COH             132593200040                Gas           Gov. Aggregation
VEDO            4003791522378145            Gas           Gov. Aggregation   COH             134984230025                Gas           Gov. Aggregation
VEDO            4003798142378869            Gas           Gov. Aggregation   COH             134176090037                Gas           Gov. Aggregation
VEDO            4003820102381226            Gas           Gov. Aggregation   COH             136742890036                Gas           Gov. Aggregation
VEDO            4003834942382838            Gas           Gov. Aggregation   COH             135127540025                Gas           Gov. Aggregation
VEDO            4003836142382978            Gas           Gov. Aggregation   COH             137889820020                Gas           Gov. Aggregation
VEDO            4004233222426128            Gas           Gov. Aggregation   COH             137956560013                Gas           Gov. Aggregation
VEDO            4004238702426735            Gas           Gov. Aggregation   COH             137510350020                Gas           Gov. Aggregation
VEDO            4004250752172132            Gas           Gov. Aggregation   COH             159673500037                Gas           Gov. Aggregation
VEDO            4004251822428124            Gas           Gov. Aggregation   COH             135544620024                Gas           Gov. Aggregation
VEDO            4004257342428727            Gas           Gov. Aggregation   COH             127244760012                Gas           Gov. Aggregation
VEDO            4004259532428960            Gas           Gov. Aggregation   COH             127009820017                Gas           Gov. Aggregation
VEDO            4004261602429180            Gas           Gov. Aggregation   COH             127135740035                Gas           Gov. Aggregation
VEDO            4004991002159535            Gas           Gov. Aggregation   COH             129467580025                Gas           Gov. Aggregation
VEDO            4004992932509844            Gas           Gov. Aggregation   COH             192001030010                Gas           Gov. Aggregation
VEDO            4005012682512084            Gas           Gov. Aggregation   COH             192094830017                Gas           Gov. Aggregation
VEDO            4005020742177146            Gas           Gov. Aggregation   COH             191753260010                Gas           Gov. Aggregation
VEDO            4005022752513268            Gas           Gov. Aggregation   COH             139202530014                Gas           Gov. Aggregation
VEDO            4005025782496982            Gas           Gov. Aggregation   COH             139449400019                Gas           Gov. Aggregation
VEDO            4005054112516785            Gas           Gov. Aggregation   COH             139516750031                Gas           Gov. Aggregation
VEDO            4010037302217195            Gas           Gov. Aggregation   COH             140116320036                Gas           Gov. Aggregation
VEDO            4010045572641409            Gas           Gov. Aggregation   COH             130474470011                Gas           Gov. Aggregation
VEDO            4010072692305464            Gas           Gov. Aggregation   COH             140282160039                Gas           Gov. Aggregation
VEDO            4010094992254653            Gas           Gov. Aggregation   COH             140302640025                Gas           Gov. Aggregation
VEDO            4015023912625729            Gas           Gov. Aggregation   COH             140399400013                Gas           Gov. Aggregation
VEDO            4015040222198877            Gas           Gov. Aggregation   COH             133060440020                Gas           Gov. Aggregation
VEDO            4015045412361464            Gas           Gov. Aggregation   COH             140491020035                Gas           Gov. Aggregation
VEDO            4015058442145975            Gas           Gov. Aggregation   COH             140501440025                Gas           Gov. Aggregation
VEDO            4015061262133506            Gas           Gov. Aggregation   COH             141911670027                Gas           Gov. Aggregation
VEDO            4015075102508129            Gas           Gov. Aggregation   COH             142499150030                Gas           Gov. Aggregation
VEDO            4015078842573964            Gas           Gov. Aggregation   COH             135432670012                Gas           Gov. Aggregation
VEDO            4015472152269917            Gas           Gov. Aggregation   COH             142600150033                Gas           Gov. Aggregation
VEDO            4015477082295966            Gas           Gov. Aggregation   COH             135401700038                Gas           Gov. Aggregation
VEDO            4015483292241840            Gas           Gov. Aggregation   COH             135510720033                Gas           Gov. Aggregation
VEDO            4015487922153450            Gas           Gov. Aggregation   COH             143869040037                Gas           Gov. Aggregation
VEDO            4015497532373326            Gas           Gov. Aggregation   COH             143557510057                Gas           Gov. Aggregation
VEDO            4015505132186695            Gas           Gov. Aggregation   COH             144862380011                Gas           Gov. Aggregation
VEDO            4015583642398612            Gas           Gov. Aggregation   COH             139080310010                Gas           Gov. Aggregation
VEDO            4015589842485337            Gas           Gov. Aggregation   COH             146213660024                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4015592002118977            Gas           Gov. Aggregation   COH             110553780012                Gas           Gov. Aggregation
VEDO         4015592162151774            Gas           Gov. Aggregation   COH             110553950016                Gas           Gov. Aggregation
VEDO         4015592662211525            Gas           Gov. Aggregation   COH             145862570010                Gas           Gov. Aggregation
VEDO         4015596742151293            Gas           Gov. Aggregation   COH             110552480017                Gas           Gov. Aggregation
VEDO         4016747652287900            Gas           Gov. Aggregation   COH             110621640025                Gas           Gov. Aggregation
VEDO         4016752272439839            Gas           Gov. Aggregation   COH             146644030014                Gas           Gov. Aggregation
VEDO         4016753912409278            Gas           Gov. Aggregation   COH             146622220029                Gas           Gov. Aggregation
VEDO         4016758672612856            Gas           Gov. Aggregation   COH             146630940049                Gas           Gov. Aggregation
VEDO         4017100122327710            Gas           Gov. Aggregation   COH             110609820023                Gas           Gov. Aggregation
VEDO         4017134792143028            Gas           Gov. Aggregation   COH             110610120018                Gas           Gov. Aggregation
VEDO         4017138072430780            Gas           Gov. Aggregation   COH             147095660025                Gas           Gov. Aggregation
VEDO         4017195272314753            Gas           Gov. Aggregation   COH             147388190014                Gas           Gov. Aggregation
VEDO         4017202802338983            Gas           Gov. Aggregation   COH             146918540034                Gas           Gov. Aggregation
VEDO         4017207092219787            Gas           Gov. Aggregation   COH             111247370016                Gas           Gov. Aggregation
VEDO         4017212272327175            Gas           Gov. Aggregation   COH             143258720011                Gas           Gov. Aggregation
VEDO         4017226332278748            Gas           Gov. Aggregation   COH             166649940046                Gas           Gov. Aggregation
VEDO         4017265672459910            Gas           Gov. Aggregation   COH             167071170024                Gas           Gov. Aggregation
VEDO         4017271572335100            Gas           Gov. Aggregation   COH             167101850035                Gas           Gov. Aggregation
VEDO         4017271962624977            Gas           Gov. Aggregation   COH             168019150027                Gas           Gov. Aggregation
VEDO         4017274072527048            Gas           Gov. Aggregation   COH             167120790029                Gas           Gov. Aggregation
VEDO         4017274662432959            Gas           Gov. Aggregation   COH             167499580022                Gas           Gov. Aggregation
VEDO         4017275362342930            Gas           Gov. Aggregation   COH             168422640056                Gas           Gov. Aggregation
VEDO         4017587152134366            Gas           Gov. Aggregation   COH             168109570019                Gas           Gov. Aggregation
VEDO         4017587272628269            Gas           Gov. Aggregation   COH             168399480042                Gas           Gov. Aggregation
VEDO         4017590682554162            Gas           Gov. Aggregation   COH             171685740036                Gas           Gov. Aggregation
VEDO         4017591752122933            Gas           Gov. Aggregation   COH             169714390013                Gas           Gov. Aggregation
VEDO         4017613092249318            Gas           Gov. Aggregation   COH             171662600015                Gas           Gov. Aggregation
VEDO         4017619152439264            Gas           Gov. Aggregation   COH             173517480016                Gas           Gov. Aggregation
VEDO         4017997242147537            Gas           Gov. Aggregation   COH             173530740013                Gas           Gov. Aggregation
VEDO         4018000202631142            Gas           Gov. Aggregation   COH             173099110020                Gas           Gov. Aggregation
VEDO         4018001012212565            Gas           Gov. Aggregation   COH             174698030017                Gas           Gov. Aggregation
VEDO         4018005372382889            Gas           Gov. Aggregation   COH             172048230014                Gas           Gov. Aggregation
VEDO         4018008642674313            Gas           Gov. Aggregation   COH             173493370020                Gas           Gov. Aggregation
VEDO         4018012422284534            Gas           Gov. Aggregation   COH             176911140018                Gas           Gov. Aggregation
VEDO         4018013542342537            Gas           Gov. Aggregation   COH             173111520017                Gas           Gov. Aggregation
VEDO         4018709602519291            Gas           Gov. Aggregation   COH             176498280017                Gas           Gov. Aggregation
VEDO         4018712572367811            Gas           Gov. Aggregation   COH             176545930019                Gas           Gov. Aggregation
VEDO         4018715562135946            Gas           Gov. Aggregation   COH             128917700025                Gas           Gov. Aggregation
VEDO         4018716662342897            Gas           Gov. Aggregation   COH             174177600011                Gas           Gov. Aggregation
VEDO         4018721482178044            Gas           Gov. Aggregation   COH             192184470012                Gas           Gov. Aggregation
VEDO         4018724152625730            Gas           Gov. Aggregation   COH             185099510013                Gas           Gov. Aggregation
VEDO         4018904712166749            Gas           Gov. Aggregation   COH             192099180014                Gas           Gov. Aggregation
VEDO         4018906052482352            Gas           Gov. Aggregation   COH             175107920029                Gas           Gov. Aggregation
VEDO         4018924722431461            Gas           Gov. Aggregation   COH             186901860025                Gas           Gov. Aggregation
VEDO         4018931432218241            Gas           Gov. Aggregation   COH             175849560023                Gas           Gov. Aggregation
VEDO         4018932952409357            Gas           Gov. Aggregation   COH             187663680019                Gas           Gov. Aggregation
VEDO         4018934352516468            Gas           Gov. Aggregation   COH             135540370016                Gas           Gov. Aggregation
VEDO         4019001122626036            Gas           Gov. Aggregation   COH             174778960012                Gas           Gov. Aggregation
VEDO         4019007192311674            Gas           Gov. Aggregation   COH             125078270029                Gas           Gov. Aggregation
VEDO         4019007472373575            Gas           Gov. Aggregation   COH             192364770017                Gas           Gov. Aggregation
VEDO         4019012872257890            Gas           Gov. Aggregation   COH             137797390044                Gas           Gov. Aggregation
VEDO         4019150022610425            Gas           Gov. Aggregation   COH             110678870037                Gas           Gov. Aggregation
VEDO         4019155832587532            Gas           Gov. Aggregation   COH             159962960038                Gas           Gov. Aggregation
VEDO         4019159592134151            Gas           Gov. Aggregation   COH             158108680047                Gas           Gov. Aggregation
VEDO         4019163132619620            Gas           Gov. Aggregation   COH             185448470011                Gas           Gov. Aggregation
VEDO         4019215382337780            Gas           Gov. Aggregation   COH             168156400015                Gas           Gov. Aggregation
VEDO         4019239282195578            Gas           Gov. Aggregation   COH             143196780011                Gas           Gov. Aggregation
VEDO         4019239612201851            Gas           Gov. Aggregation   COH             156024070036                Gas           Gov. Aggregation
VEDO         4019239612290948            Gas           Gov. Aggregation   COH             158815320070                Gas           Gov. Aggregation
VEDO         4019240582291007            Gas           Gov. Aggregation   COH             123994070012                Gas           Gov. Aggregation
VEDO         4019402182334445            Gas           Gov. Aggregation   COH             122151300038                Gas           Gov. Aggregation
VEDO         4019402952405773            Gas           Gov. Aggregation   COH             134121420032                Gas           Gov. Aggregation
VEDO         4019403722196113            Gas           Gov. Aggregation   COH             168233090017                Gas           Gov. Aggregation
VEDO         4019407572347232            Gas           Gov. Aggregation   COH             177389070057                Gas           Gov. Aggregation
VEDO         4019432902261444            Gas           Gov. Aggregation   COH             192300140013                Gas           Gov. Aggregation
VEDO         4019436442260890            Gas           Gov. Aggregation   COH             167326240037                Gas           Gov. Aggregation
VEDO         4019437102375266            Gas           Gov. Aggregation   COH             169008300018                Gas           Gov. Aggregation
VEDO         4019445102287606            Gas           Gov. Aggregation   COH             168068860043                Gas           Gov. Aggregation
VEDO         4019459402401860            Gas           Gov. Aggregation   COH             153525480040                Gas           Gov. Aggregation
VEDO         4019461382260309            Gas           Gov. Aggregation   COH             177048200015                Gas           Gov. Aggregation
VEDO         4019464402233057            Gas           Gov. Aggregation   COH             132057900030                Gas           Gov. Aggregation
VEDO         4019471642204532            Gas           Gov. Aggregation   COH             117100750029                Gas           Gov. Aggregation
VEDO         4019472452255184            Gas           Gov. Aggregation   COH             192289200016                Gas           Gov. Aggregation
VEDO         4019474252343758            Gas           Gov. Aggregation   COH             192299910016                Gas           Gov. Aggregation
VEDO         4019474662179428            Gas           Gov. Aggregation   COH             134191270019                Gas           Gov. Aggregation
VEDO         4019496162407091            Gas           Gov. Aggregation   COH             115867890019                Gas           Gov. Aggregation
VEDO         4019505722422805            Gas           Gov. Aggregation   DEO             7180015866703               Gas           Gov. Aggregation
VEDO         4019508702148589            Gas           Gov. Aggregation   COH             172974880042                Gas           Gov. Aggregation
VEDO         4019511512240234            Gas           Gov. Aggregation   COH             115072270014                Gas           Gov. Aggregation
VEDO         4019792122417090            Gas           Gov. Aggregation   VEDO            4005124372524766            Gas           Gov. Aggregation
VEDO         4019796032396573            Gas           Gov. Aggregation   COH             115859900022                Gas           Gov. Aggregation
VEDO         4019798282428302            Gas           Gov. Aggregation   DUKE            8730224102                  Gas           Gov. Aggregation
VEDO         4019801912101962            Gas           Gov. Aggregation   COH             144166600038                Gas           Gov. Aggregation
VEDO         4019803002104666            Gas           Gov. Aggregation   COH             146655880068                Gas           Gov. Aggregation
VEDO         4019821952406985            Gas           Gov. Aggregation   COH             146704180079                Gas           Gov. Aggregation
VEDO         4019822242295747            Gas           Gov. Aggregation   COH             147849190016                Gas           Gov. Aggregation
VEDO         4019824452526102            Gas           Gov. Aggregation   COH             153417990024                Gas           Gov. Aggregation
VEDO         4019824842276608            Gas           Gov. Aggregation   COH             155779690038                Gas           Gov. Aggregation
VEDO         4019829542459536            Gas           Gov. Aggregation   COH             156773500029                Gas           Gov. Aggregation
VEDO         4019830322492447            Gas           Gov. Aggregation   COH             172584240016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4019862892347431            Gas           Gov. Aggregation   COH             185828450028                Gas           Gov. Aggregation
VEDO            4019865492397272            Gas           Gov. Aggregation   COH             187452890012                Gas           Gov. Aggregation
VEDO            4019868242532945            Gas           Gov. Aggregation   COH             188178160025                Gas           Gov. Aggregation
VEDO            4020059522530500            Gas           Gov. Aggregation   COH             192373420011                Gas           Gov. Aggregation
VEDO            4020064732322884            Gas           Gov. Aggregation   COH             192399360010                Gas           Gov. Aggregation
VEDO            4020077562524305            Gas           Gov. Aggregation   COH             192425870016                Gas           Gov. Aggregation
VEDO            4020077792517610            Gas           Gov. Aggregation   COH             192450300012                Gas           Gov. Aggregation
VEDO            4020078672343437            Gas           Gov. Aggregation   COH             110274130010                Gas           Gov. Aggregation
VEDO            4020079712124924            Gas           Gov. Aggregation   COH             131064870024                Gas           Gov. Aggregation
VEDO            4020093492303079            Gas           Gov. Aggregation   COH             137104910014                Gas           Gov. Aggregation
VEDO            4020093562671590            Gas           Gov. Aggregation   COH             145938250052                Gas           Gov. Aggregation
VEDO            4020093832464879            Gas           Gov. Aggregation   COH             161126960018                Gas           Gov. Aggregation
VEDO            4020094892231672            Gas           Gov. Aggregation   COH             163841750014                Gas           Gov. Aggregation
VEDO            4020097672139437            Gas           Gov. Aggregation   COH             169026170018                Gas           Gov. Aggregation
VEDO            4020098012542621            Gas           Gov. Aggregation   COH             170126280029                Gas           Gov. Aggregation
VEDO            4020119192492733            Gas           Gov. Aggregation   COH             172163550022                Gas           Gov. Aggregation
VEDO            4020120782262502            Gas           Gov. Aggregation   COH             185206370023                Gas           Gov. Aggregation
VEDO            4020122542301628            Gas           Gov. Aggregation   COH             192478930012                Gas           Gov. Aggregation
VEDO            4020127852277115            Gas           Gov. Aggregation   COH             192536580012                Gas           Gov. Aggregation
VEDO            4020130502674025            Gas           Gov. Aggregation   COH             192611950014                Gas           Gov. Aggregation
VEDO            4020175702199589            Gas           Gov. Aggregation   COH             192624540013                Gas           Gov. Aggregation
VEDO            4020176402318003            Gas           Gov. Aggregation   COH             192654360018                Gas           Gov. Aggregation
VEDO            4020177392194721            Gas           Gov. Aggregation   COH             111806730050                Gas           Gov. Aggregation
VEDO            4020177462442223            Gas           Gov. Aggregation   COH             152229710040                Gas           Gov. Aggregation
VEDO            4020179902286086            Gas           Gov. Aggregation   COH             191445020013                Gas           Gov. Aggregation
VEDO            4020191882625747            Gas           Gov. Aggregation   COH             167610680032                Gas           Gov. Aggregation
VEDO            4020196542491248            Gas           Gov. Aggregation   COH             167690580017                Gas           Gov. Aggregation
VEDO            4020201992639829            Gas           Gov. Aggregation   COH             191446220019                Gas           Gov. Aggregation
VEDO            4020203212427678            Gas           Gov. Aggregation   COH             173124620028                Gas           Gov. Aggregation
VEDO            4020205672648404            Gas           Gov. Aggregation   COH             189671500026                Gas           Gov. Aggregation
VEDO            4020206812267315            Gas           Gov. Aggregation   COH             190976650017                Gas           Gov. Aggregation
VEDO            4020213682277616            Gas           Gov. Aggregation   COH             185744850022                Gas           Gov. Aggregation
VEDO            4020216272209168            Gas           Gov. Aggregation   COH             176877030033                Gas           Gov. Aggregation
VEDO            4020216372396800            Gas           Gov. Aggregation   COH             192401050018                Gas           Gov. Aggregation
VEDO            4020216642401906            Gas           Gov. Aggregation   COH             115018230025                Gas           Gov. Aggregation
VEDO            4020218262609073            Gas           Gov. Aggregation   COH             114946830014                Gas           Gov. Aggregation
VEDO            4020224542591101            Gas           Gov. Aggregation   COH             189610750013                Gas           Gov. Aggregation
VEDO            4020229012391311            Gas           Gov. Aggregation   COH             114950870017                Gas           Gov. Aggregation
VEDO            4017682062257887            Gas           Gov. Aggregation   COH             160691570041                Gas           Gov. Aggregation
VEDO            4020866202487966            Gas           Gov. Aggregation   COH             112819060026                Gas           Gov. Aggregation
VEDO            4017448092280698            Gas           Gov. Aggregation   COH             169735270023                Gas           Gov. Aggregation
VEDO            4019120582226798            Gas           Gov. Aggregation   COH             117821980023                Gas           Gov. Aggregation
VEDO            4020244992263867            Gas           Gov. Aggregation   COH             160391480037                Gas           Gov. Aggregation
VEDO            4020857032269909            Gas           Gov. Aggregation   COH             122416690017                Gas           Gov. Aggregation
VEDO            4015060822475156            Gas           Gov. Aggregation   COH             122465240027                Gas           Gov. Aggregation
VEDO            4020222672234502            Gas           Gov. Aggregation   COH             124314490013                Gas           Gov. Aggregation
VEDO            4004590322329855            Gas           Gov. Aggregation   COH             136778290046                Gas           Gov. Aggregation
VEDO            4016758472307873            Gas           Gov. Aggregation   COH             146483560015                Gas           Gov. Aggregation
VEDO            4020901492443570            Gas           Gov. Aggregation   COH             146928010016                Gas           Gov. Aggregation
VEDO            4015699902345636            Gas           Gov. Aggregation   COH             147560620017                Gas           Gov. Aggregation
VEDO            4015035952257497            Gas           Gov. Aggregation   COH             149212750024                Gas           Gov. Aggregation
VEDO            4017978112225320            Gas           Gov. Aggregation   COH             152449850018                Gas           Gov. Aggregation
VEDO            4020875822225625            Gas           Gov. Aggregation   COH             152451160125                Gas           Gov. Aggregation
VEDO            4015716722208672            Gas           Gov. Aggregation   COH             153871310024                Gas           Gov. Aggregation
VEDO            4019911642181066            Gas           Gov. Aggregation   COH             155988660013                Gas           Gov. Aggregation
VEDO            4019880142190795            Gas           Gov. Aggregation   COH             167201870011                Gas           Gov. Aggregation
VEDO            4017386872462784            Gas           Gov. Aggregation   COH             167246390036                Gas           Gov. Aggregation
VEDO            4018651552392859            Gas           Gov. Aggregation   COH             168542510031                Gas           Gov. Aggregation
VEDO            4015968912502843            Gas           Gov. Aggregation   VEDO            4001374402491948            Gas           Gov. Aggregation
VEDO            4015588232366425            Gas           Gov. Aggregation   COH             190993950027                Gas           Gov. Aggregation
VEDO            4001465362151120            Gas           Gov. Aggregation   COH             192660490018                Gas           Gov. Aggregation
VEDO            4001465362156209            Gas           Gov. Aggregation   COH             192664260018                Gas           Gov. Aggregation
VEDO            4001313812129491            Gas           Gov. Aggregation   COH             192763640018                Gas           Gov. Aggregation
VEDO            4017580962413597            Gas           Gov. Aggregation   COH             192800960011                Gas           Gov. Aggregation
VEDO            4019019902180351            Gas           Gov. Aggregation   COH             192907000025                Gas           Gov. Aggregation
VEDO            4015109132451593            Gas           Gov. Aggregation   COH             141949990012                Gas           Gov. Aggregation
VEDO            4002222612256690            Gas           Gov. Aggregation   COH             112206250025                Gas           Gov. Aggregation
VEDO            4020114162251515            Gas           Gov. Aggregation   COH             162082220016                Gas           Gov. Aggregation
VEDO            4019196182215619            Gas           Gov. Aggregation   COH             132988040029                Gas           Gov. Aggregation
VEDO            4016524652136934            Gas           Gov. Aggregation   COH             140403210012                Gas           Gov. Aggregation
VEDO            4020275612197981            Gas           Gov. Aggregation   COH             130414190043                Gas           Gov. Aggregation
VEDO            4018746172675095            Gas           Gov. Aggregation   COH             112275810013                Gas           Gov. Aggregation
VEDO            4001546662151394            Gas           Gov. Aggregation   COH             112275800015                Gas           Gov. Aggregation
VEDO            4004007912306115            Gas           Gov. Aggregation   COH             114951820033                Gas           Gov. Aggregation
VEDO            4017659762413159            Gas           Gov. Aggregation   COH             122468540028                Gas           Gov. Aggregation
VEDO            4015754882319888            Gas           Gov. Aggregation   COH             122469960046                Gas           Gov. Aggregation
VEDO            4004783692486686            Gas           Gov. Aggregation   COH             160170880031                Gas           Gov. Aggregation
VEDO            4004758612210478            Gas           Gov. Aggregation   COH             174118660022                Gas           Gov. Aggregation
VEDO            4001546742481565            Gas           Gov. Aggregation   COH             175745880017                Gas           Gov. Aggregation
VEDO            4003540142412027            Gas           Gov. Aggregation   COH             177607390065                Gas           Gov. Aggregation
VEDO            4016757912139098            Gas           Gov. Aggregation   COH             189114530039                Gas           Gov. Aggregation
VEDO            4015434482203559            Gas           Gov. Aggregation   COH             190345220023                Gas           Gov. Aggregation
VEDO            4003309842338477            Gas           Gov. Aggregation   COH             192836370010                Gas           Gov. Aggregation
VEDO            4020841612677270            Gas           Gov. Aggregation   COH             192898900018                Gas           Gov. Aggregation
COH             121954780019                Gas           Gov. Aggregation   COH             192989060012                Gas           Gov. Aggregation
COH             121990370037                Gas           Gov. Aggregation   COH             193002060011                Gas           Gov. Aggregation
COH             122010250028                Gas           Gov. Aggregation   COH             193017610014                Gas           Gov. Aggregation
COH             121976680014                Gas           Gov. Aggregation   COH             193028040011                Gas           Gov. Aggregation
COH             158007170011                Gas           Gov. Aggregation   COH             193045670013                Gas           Gov. Aggregation
COH             129848160025                Gas           Gov. Aggregation   COH             135330500022                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             111141620017                Gas           Gov. Aggregation   COH             192843040014                Gas           Gov. Aggregation
COH             111121540025                Gas           Gov. Aggregation   COH             188174190018                Gas           Gov. Aggregation
COH             111132920022                Gas           Gov. Aggregation   COH             117359700031                Gas           Gov. Aggregation
COH             111137350022                Gas           Gov. Aggregation   COH             136692930016                Gas           Gov. Aggregation
COH             202073790035                Gas           Gov. Aggregation   COH             137852190020                Gas           Gov. Aggregation
COH             198431880033                Gas           Gov. Aggregation   COH             156795400015                Gas           Gov. Aggregation
COH             198698420035                Gas           Gov. Aggregation   COH             171011030023                Gas           Gov. Aggregation
COH             205645540013                Gas           Gov. Aggregation   COH             173292040043                Gas           Gov. Aggregation
COH             205584130019                Gas           Gov. Aggregation   COH             176881500026                Gas           Gov. Aggregation
COH             205490120010                Gas           Gov. Aggregation   COH             191012970020                Gas           Gov. Aggregation
COH             205529000012                Gas           Gov. Aggregation   COH             192970390012                Gas           Gov. Aggregation
COH             205386440014                Gas           Gov. Aggregation   COH             192996670019                Gas           Gov. Aggregation
COH             205324810016                Gas           Gov. Aggregation   COH             193027870019                Gas           Gov. Aggregation
COH             205312710012                Gas           Gov. Aggregation   COH             193107810011                Gas           Gov. Aggregation
COH             205137720012                Gas           Gov. Aggregation   COH             193126820019                Gas           Gov. Aggregation
COH             204985570018                Gas           Gov. Aggregation   COH             193127210015                Gas           Gov. Aggregation
COH             205225430016                Gas           Gov. Aggregation   COH             193213960015                Gas           Gov. Aggregation
COH             204518890010                Gas           Gov. Aggregation   COH             193272830018                Gas           Gov. Aggregation
COH             174217700023                Gas           Gov. Aggregation   COH             165059740031                Gas           Gov. Aggregation
COH             186190820031                Gas           Gov. Aggregation   COH             189386570027                Gas           Gov. Aggregation
COH             202224890015                Gas           Gov. Aggregation   COH             190225520079                Gas           Gov. Aggregation
COH             202868900018                Gas           Gov. Aggregation   COH             108855160034                Gas           Gov. Aggregation
COH             155493760066                Gas           Gov. Aggregation   COH             134207460023                Gas           Gov. Aggregation
COH             152653600053                Gas           Gov. Aggregation   COH             151091290034                Gas           Gov. Aggregation
COH             193423640035                Gas           Gov. Aggregation   COH             174076390010                Gas           Gov. Aggregation
COH             147613280123                Gas           Gov. Aggregation   COH             186087160020                Gas           Gov. Aggregation
COH             150868860074                Gas           Gov. Aggregation   COH             186314730027                Gas           Gov. Aggregation
COH             205599110012                Gas           Gov. Aggregation   COH             190444170015                Gas           Gov. Aggregation
COH             200210830018                Gas           Gov. Aggregation   COH             193200770012                Gas           Gov. Aggregation
COH             197044900012                Gas           Gov. Aggregation   COH             193290110039                Gas           Gov. Aggregation
COH             196161100068                Gas           Gov. Aggregation   COH             190452840017                Gas           Gov. Aggregation
COH             194484240030                Gas           Gov. Aggregation   COH             167012990017                Gas           Gov. Aggregation
COH             195277100037                Gas           Gov. Aggregation   COH             167186330018                Gas           Gov. Aggregation
COH             201253840015                Gas           Gov. Aggregation   COH             167260470011                Gas           Gov. Aggregation
COH             165447420026                Gas           Gov. Aggregation   COH             167449140010                Gas           Gov. Aggregation
COH             164246550035                Gas           Gov. Aggregation   COH             167651970026                Gas           Gov. Aggregation
COH             189398240030                Gas           Gov. Aggregation   COH             191179950013                Gas           Gov. Aggregation
COH             189398500026                Gas           Gov. Aggregation   COH             191212050010                Gas           Gov. Aggregation
COH             187675310039                Gas           Gov. Aggregation   COH             191238260012                Gas           Gov. Aggregation
COH             162562560053                Gas           Gov. Aggregation   COH             191245960010                Gas           Gov. Aggregation
COH             197410280016                Gas           Gov. Aggregation   COH             114963080025                Gas           Gov. Aggregation
COH             199864220015                Gas           Gov. Aggregation   COH             117276860025                Gas           Gov. Aggregation
COH             200285580014                Gas           Gov. Aggregation   COH             120460080014                Gas           Gov. Aggregation
COH             200403970010                Gas           Gov. Aggregation   COH             153851760031                Gas           Gov. Aggregation
COH             205040600012                Gas           Gov. Aggregation   COH             174569990037                Gas           Gov. Aggregation
COH             197029690028                Gas           Gov. Aggregation   COH             188329170022                Gas           Gov. Aggregation
COH             198494650011                Gas           Gov. Aggregation   COH             191701460026                Gas           Gov. Aggregation
COH             198934770012                Gas           Gov. Aggregation   COH             192231340027                Gas           Gov. Aggregation
COH             199603840017                Gas           Gov. Aggregation   COH             193189710010                Gas           Gov. Aggregation
COH             201523180011                Gas           Gov. Aggregation   COH             193215530011                Gas           Gov. Aggregation
COH             201754240019                Gas           Gov. Aggregation   COH             193250220012                Gas           Gov. Aggregation
COH             202953040018                Gas           Gov. Aggregation   COH             193384820013                Gas           Gov. Aggregation
COH             196235130010                Gas           Gov. Aggregation   COH             193402650019                Gas           Gov. Aggregation
COH             201542140019                Gas           Gov. Aggregation   COH             193402660017                Gas           Gov. Aggregation
COH             204025080015                Gas           Gov. Aggregation   COH             193439020014                Gas           Gov. Aggregation
COH             201376250019                Gas           Gov. Aggregation   COH             189662290020                Gas           Gov. Aggregation
COH             203087670012                Gas           Gov. Aggregation   COH             175042600051                Gas           Gov. Aggregation
COH             204646520016                Gas           Gov. Aggregation   COH             191985820020                Gas           Gov. Aggregation
COH             205066160011                Gas           Gov. Aggregation   COH             147305620017                Gas           Gov. Aggregation
COH             177623930030                Gas           Gov. Aggregation   COH             129683660011                Gas           Gov. Aggregation
COH             202209580012                Gas           Gov. Aggregation   COH             124698100049                Gas           Gov. Aggregation
COH             195583050011                Gas           Gov. Aggregation   COH             124736920045                Gas           Gov. Aggregation
COH             188360980035                Gas           Gov. Aggregation   COH             144935880173                Gas           Gov. Aggregation
COH             137485590025                Gas           Gov. Aggregation   COH             148773900025                Gas           Gov. Aggregation
COH             203858630015                Gas           Gov. Aggregation   COH             154432690024                Gas           Gov. Aggregation
COH             205062840016                Gas           Gov. Aggregation   COH             165813920015                Gas           Gov. Aggregation
COH             198882690010                Gas           Gov. Aggregation   COH             176324980044                Gas           Gov. Aggregation
COH             192328500046                Gas           Gov. Aggregation   COH             188417410024                Gas           Gov. Aggregation
COH             185778460185                Gas           Gov. Aggregation   COH             193467420011                Gas           Gov. Aggregation
COH             185778460194                Gas           Gov. Aggregation   COH             193473170011                Gas           Gov. Aggregation
COH             167813040027                Gas           Gov. Aggregation   COH             193556900011                Gas           Gov. Aggregation
COH             162645440034                Gas           Gov. Aggregation   COH             193570450016                Gas           Gov. Aggregation
COH             115516420010                Gas           Gov. Aggregation   COH             193570670010                Gas           Gov. Aggregation
VEDO            4020285672222565            Gas           Gov. Aggregation   COH             193627590016                Gas           Gov. Aggregation
VEDO            4019789922379776            Gas           Gov. Aggregation   COH             193655730017                Gas           Gov. Aggregation
VEDO            4020310632262678            Gas           Gov. Aggregation   COH             193696200012                Gas           Gov. Aggregation
VEDO            4020856942140842            Gas           Gov. Aggregation   COH             192566880016                Gas           Gov. Aggregation
VEDO            4020907232155359            Gas           Gov. Aggregation   COH             140291320018                Gas           Gov. Aggregation
VEDO            4020907832225856            Gas           Gov. Aggregation   COH             111077410018                Gas           Gov. Aggregation
VEDO            4020913742266301            Gas           Gov. Aggregation   COH             111192150028                Gas           Gov. Aggregation
VEDO            4020922062409795            Gas           Gov. Aggregation   VEDO            4018269392393971            Gas           Gov. Aggregation
VEDO            4016699662640469            Gas           Gov. Aggregation   COH             157906490037                Gas           Gov. Aggregation
VEDO            4001105002636908            Gas           Gov. Aggregation   COH             194290620013                Gas           Gov. Aggregation
VEDO            4001783772641470            Gas           Gov. Aggregation   COH             143287540027                Gas           Gov. Aggregation
VEDO            4020059062646923            Gas           Gov. Aggregation   COH             150764180111                Gas           Gov. Aggregation
VEDO            4017952082646585            Gas           Gov. Aggregation   COH             159894710053                Gas           Gov. Aggregation
VEDO            4020172172309016            Gas           Gov. Aggregation   COH             163173070069                Gas           Gov. Aggregation
VEDO            4015079042414236            Gas           Gov. Aggregation   COH             163285270033                Gas           Gov. Aggregation
VEDO            4016536592637335            Gas           Gov. Aggregation   COH             171754450021                Gas           Gov. Aggregation
COH             187328920036                Gas           Gov. Aggregation   COH             175557150019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             193016740028                Gas           Gov. Aggregation   COH             176520760035                Gas           Gov. Aggregation
COH             111324510012                Gas           Gov. Aggregation   COH             186774680024                Gas           Gov. Aggregation
COH             111329090011                Gas           Gov. Aggregation   COH             192317460020                Gas           Gov. Aggregation
COH             111337450036                Gas           Gov. Aggregation   COH             193581820015                Gas           Gov. Aggregation
COH             154846770075                Gas           Gov. Aggregation   COH             193638690012                Gas           Gov. Aggregation
COH             156169150015                Gas           Gov. Aggregation   COH             193657810016                Gas           Gov. Aggregation
COH             159067380029                Gas           Gov. Aggregation   COH             193679300017                Gas           Gov. Aggregation
COH             161902080026                Gas           Gov. Aggregation   COH             193717070014                Gas           Gov. Aggregation
COH             162027040074                Gas           Gov. Aggregation   COH             193727180010                Gas           Gov. Aggregation
COH             191008950032                Gas           Gov. Aggregation   COH             193741000017                Gas           Gov. Aggregation
COH             191178960022                Gas           Gov. Aggregation   COH             193759890014                Gas           Gov. Aggregation
COH             193567570036                Gas           Gov. Aggregation   COH             193772410016                Gas           Gov. Aggregation
COH             196742370051                Gas           Gov. Aggregation   COH             193776500019                Gas           Gov. Aggregation
COH             197317460034                Gas           Gov. Aggregation   COH             193779740013                Gas           Gov. Aggregation
COH             197931550015                Gas           Gov. Aggregation   COH             193779900019                Gas           Gov. Aggregation
COH             201425770015                Gas           Gov. Aggregation   COH             193791160019                Gas           Gov. Aggregation
COH             201484490010                Gas           Gov. Aggregation   COH             193817590013                Gas           Gov. Aggregation
COH             201503830016                Gas           Gov. Aggregation   COH             193865560018                Gas           Gov. Aggregation
COH             201662050014                Gas           Gov. Aggregation   COH             193865580014                Gas           Gov. Aggregation
COH             202585610028                Gas           Gov. Aggregation   COH             193887420011                Gas           Gov. Aggregation
COH             202675390015                Gas           Gov. Aggregation   COH             193920370010                Gas           Gov. Aggregation
COH             202725390018                Gas           Gov. Aggregation   COH             193920630015                Gas           Gov. Aggregation
COH             202826100014                Gas           Gov. Aggregation   COH             123715950017                Gas           Gov. Aggregation
COH             203569630018                Gas           Gov. Aggregation   COH             123882240013                Gas           Gov. Aggregation
COH             203617830013                Gas           Gov. Aggregation   COH             152434400095                Gas           Gov. Aggregation
COH             203879300010                Gas           Gov. Aggregation   COH             157034830043                Gas           Gov. Aggregation
COH             203914760018                Gas           Gov. Aggregation   COH             162802580031                Gas           Gov. Aggregation
COH             203957240017                Gas           Gov. Aggregation   COH             170937110025                Gas           Gov. Aggregation
COH             204139190011                Gas           Gov. Aggregation   COH             171630570028                Gas           Gov. Aggregation
COH             202392760017                Gas           Gov. Aggregation   COH             177648190061                Gas           Gov. Aggregation
COH             173310050032                Gas           Gov. Aggregation   COH             194000740011                Gas           Gov. Aggregation
COH             199378940015                Gas           Gov. Aggregation   COH             194001370017                Gas           Gov. Aggregation
COH             205675660015                Gas           Gov. Aggregation   COH             194139420015                Gas           Gov. Aggregation
COH             203006130033                Gas           Gov. Aggregation   COH             122358650028                Gas           Gov. Aggregation
COH             202794360019                Gas           Gov. Aggregation   COH             187217710035                Gas           Gov. Aggregation
COH             205258120012                Gas           Gov. Aggregation   COH             194167460018                Gas           Gov. Aggregation
COH             205112140034                Gas           Gov. Aggregation   COH             194189530017                Gas           Gov. Aggregation
COH             176270640022                Gas           Gov. Aggregation   COH             194189630016                Gas           Gov. Aggregation
COH             205681820018                Gas           Gov. Aggregation   COH             194189650012                Gas           Gov. Aggregation
COH             203555060017                Gas           Gov. Aggregation   COH             194189680016                Gas           Gov. Aggregation
COH             203351120016                Gas           Gov. Aggregation   COH             194209900015                Gas           Gov. Aggregation
COH             186651140027                Gas           Gov. Aggregation   COH             194241450012                Gas           Gov. Aggregation
COH             186155620037                Gas           Gov. Aggregation   COH             194243240012                Gas           Gov. Aggregation
COH             187125200064                Gas           Gov. Aggregation   COH             194247520033                Gas           Gov. Aggregation
COH             187866960029                Gas           Gov. Aggregation   COH             194257210019                Gas           Gov. Aggregation
COH             187902830037                Gas           Gov. Aggregation   COH             194270680013                Gas           Gov. Aggregation
COH             161358230029                Gas           Gov. Aggregation   COH             194274810017                Gas           Gov. Aggregation
COH             157062670093                Gas           Gov. Aggregation   COH             122072420022                Gas           Gov. Aggregation
COH             202236320019                Gas           Gov. Aggregation   COH             122270520012                Gas           Gov. Aggregation
COH             202236430016                Gas           Gov. Aggregation   COH             124458410015                Gas           Gov. Aggregation
COH             202293510019                Gas           Gov. Aggregation   COH             124311650015                Gas           Gov. Aggregation
COH             202376020025                Gas           Gov. Aggregation   COH             124348100022                Gas           Gov. Aggregation
COH             202377610029                Gas           Gov. Aggregation   COH             124357140043                Gas           Gov. Aggregation
COH             202448620017                Gas           Gov. Aggregation   COH             124364060027                Gas           Gov. Aggregation
VEDO            4001253432123873            Gas           Gov. Aggregation   COH             124457800015                Gas           Gov. Aggregation
VEDO            4015166292501209            Gas           Gov. Aggregation   COH             124352410019                Gas           Gov. Aggregation
VEDO            4001338822131836            Gas           Gov. Aggregation   COH             124359650033                Gas           Gov. Aggregation
VEDO            4015939362143280            Gas           Gov. Aggregation   COH             124704220030                Gas           Gov. Aggregation
VEDO            4018341872249786            Gas           Gov. Aggregation   COH             124771540023                Gas           Gov. Aggregation
VEDO            4019860832672067            Gas           Gov. Aggregation   COH             124790510029                Gas           Gov. Aggregation
VEDO            4019085612244322            Gas           Gov. Aggregation   COH             124948520022                Gas           Gov. Aggregation
VEDO            4001665332162705            Gas           Gov. Aggregation   COH             124314240015                Gas           Gov. Aggregation
VEDO            4004444832449283            Gas           Gov. Aggregation   COH             124389570019                Gas           Gov. Aggregation
VEDO            4004200122527439            Gas           Gov. Aggregation   COH             124390740010                Gas           Gov. Aggregation
VEDO            4020084482469373            Gas           Gov. Aggregation   COH             124396470015                Gas           Gov. Aggregation
VEDO            4001522992673276            Gas           Gov. Aggregation   COH             124405890016                Gas           Gov. Aggregation
VEDO            4002471272242000            Gas           Gov. Aggregation   COH             124406160017                Gas           Gov. Aggregation
VEDO            4004059962266214            Gas           Gov. Aggregation   COH             124504560015                Gas           Gov. Aggregation
VEDO            4017911542133500            Gas           Gov. Aggregation   COH             124504910011                Gas           Gov. Aggregation
VEDO            4002147012463599            Gas           Gov. Aggregation   COH             124794290037                Gas           Gov. Aggregation
VEDO            4016643912588020            Gas           Gov. Aggregation   COH             124836340063                Gas           Gov. Aggregation
VEDO            4018031562285761            Gas           Gov. Aggregation   COH             124942960031                Gas           Gov. Aggregation
VEDO            4018264322446288            Gas           Gov. Aggregation   COH             125685350025                Gas           Gov. Aggregation
VEDO            4019752822404567            Gas           Gov. Aggregation   COH             130200090010                Gas           Gov. Aggregation
COH             205734220011                Gas           Gov. Aggregation   COH             130588750048                Gas           Gov. Aggregation
COH             201836230017                Gas           Gov. Aggregation   COH             125441380025                Gas           Gov. Aggregation
COH             205855610013                Gas           Gov. Aggregation   COH             125684330021                Gas           Gov. Aggregation
COH             164870640140                Gas           Gov. Aggregation   COH             125685200026                Gas           Gov. Aggregation
COH             154758720045                Gas           Gov. Aggregation   COH             133056010029                Gas           Gov. Aggregation
COH             187247120072                Gas           Gov. Aggregation   COH             133097600010                Gas           Gov. Aggregation
COH             203452800019                Gas           Gov. Aggregation   COH             132951590030                Gas           Gov. Aggregation
COH             159461180043                Gas           Gov. Aggregation   COH             131505070017                Gas           Gov. Aggregation
COH             173868210046                Gas           Gov. Aggregation   COH             136509220021                Gas           Gov. Aggregation
COH             205580000014                Gas           Gov. Aggregation   COH             136514820024                Gas           Gov. Aggregation
COH             204728880017                Gas           Gov. Aggregation   COH             133966670022                Gas           Gov. Aggregation
COH             192172710034                Gas           Gov. Aggregation   COH             137419640014                Gas           Gov. Aggregation
COH             117294760019                Gas           Gov. Aggregation   COH             138348840012                Gas           Gov. Aggregation
COH             197574350042                Gas           Gov. Aggregation   COH             139482960012                Gas           Gov. Aggregation
COH             189850590046                Gas           Gov. Aggregation   COH             145084710038                Gas           Gov. Aggregation
COH             204994480018                Gas           Gov. Aggregation   COH             147612120011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             203008240018                Gas           Gov. Aggregation   COH             147565120012                Gas           Gov. Aggregation
COH             201769320011                Gas           Gov. Aggregation   COH             146432880033                Gas           Gov. Aggregation
COH             161801390016                Gas           Gov. Aggregation   COH             151505160023                Gas           Gov. Aggregation
COH             203293710016                Gas           Gov. Aggregation   COH             151986810028                Gas           Gov. Aggregation
COH             136722780102                Gas           Gov. Aggregation   COH             152202130020                Gas           Gov. Aggregation
COH             195563180025                Gas           Gov. Aggregation   COH             152488900015                Gas           Gov. Aggregation
COH             195457990048                Gas           Gov. Aggregation   COH             152521830018                Gas           Gov. Aggregation
COH             205610850011                Gas           Gov. Aggregation   COH             151234980044                Gas           Gov. Aggregation
COH             205164760017                Gas           Gov. Aggregation   COH             152477260013                Gas           Gov. Aggregation
COH             187319960046                Gas           Gov. Aggregation   COH             151627890022                Gas           Gov. Aggregation
COH             173783470042                Gas           Gov. Aggregation   COH             152110400019                Gas           Gov. Aggregation
COH             194431760014                Gas           Gov. Aggregation   COH             152167040025                Gas           Gov. Aggregation
COH             203459780029                Gas           Gov. Aggregation   COH             153808430013                Gas           Gov. Aggregation
COH             202688280020                Gas           Gov. Aggregation   COH             154252130023                Gas           Gov. Aggregation
COH             203516160018                Gas           Gov. Aggregation   COH             155119560015                Gas           Gov. Aggregation
COH             202730930013                Gas           Gov. Aggregation   COH             155305990010                Gas           Gov. Aggregation
COH             203237970010                Gas           Gov. Aggregation   COH             156475550030                Gas           Gov. Aggregation
COH             196124820010                Gas           Gov. Aggregation   COH             157441700010                Gas           Gov. Aggregation
COH             203778120012                Gas           Gov. Aggregation   COH             158663250032                Gas           Gov. Aggregation
COH             185145990078                Gas           Gov. Aggregation   COH             158860540015                Gas           Gov. Aggregation
COH             205151010011                Gas           Gov. Aggregation   COH             158915880017                Gas           Gov. Aggregation
COH             203372700010                Gas           Gov. Aggregation   COH             161360600017                Gas           Gov. Aggregation
COH             195850950033                Gas           Gov. Aggregation   COH             161375990015                Gas           Gov. Aggregation
COH             201340420018                Gas           Gov. Aggregation   COH             162554630019                Gas           Gov. Aggregation
COH             163837660058                Gas           Gov. Aggregation   COH             162716250024                Gas           Gov. Aggregation
COH             203790440019                Gas           Gov. Aggregation   COH             161941260026                Gas           Gov. Aggregation
COH             143579850023                Gas           Gov. Aggregation   COH             162663570020                Gas           Gov. Aggregation
COH             204324890011                Gas           Gov. Aggregation   COH             164467950015                Gas           Gov. Aggregation
COH             201964870012                Gas           Gov. Aggregation   COH             164698600028                Gas           Gov. Aggregation
COH             204381420019                Gas           Gov. Aggregation   COH             165905750016                Gas           Gov. Aggregation
COH             202938590015                Gas           Gov. Aggregation   COH             165605280011                Gas           Gov. Aggregation
COH             200717710028                Gas           Gov. Aggregation   COH             169531300019                Gas           Gov. Aggregation
COH             204219950011                Gas           Gov. Aggregation   COH             168924930015                Gas           Gov. Aggregation
COH             194587970020                Gas           Gov. Aggregation   COH             169555930017                Gas           Gov. Aggregation
COH             199863470024                Gas           Gov. Aggregation   COH             170127820014                Gas           Gov. Aggregation
COH             202139760013                Gas           Gov. Aggregation   COH             170664860018                Gas           Gov. Aggregation
COH             203246000014                Gas           Gov. Aggregation   COH             169334130031                Gas           Gov. Aggregation
COH             204420070019                Gas           Gov. Aggregation   COH             169418480021                Gas           Gov. Aggregation
COH             205555010015                Gas           Gov. Aggregation   COH             169997290016                Gas           Gov. Aggregation
COH             155107930067                Gas           Gov. Aggregation   COH             170138590010                Gas           Gov. Aggregation
COH             202650870016                Gas           Gov. Aggregation   COH             170984020016                Gas           Gov. Aggregation
COH             162454540065                Gas           Gov. Aggregation   COH             171055100017                Gas           Gov. Aggregation
COH             202007430020                Gas           Gov. Aggregation   COH             174312300016                Gas           Gov. Aggregation
COH             205196210015                Gas           Gov. Aggregation   COH             174563610010                Gas           Gov. Aggregation
COH             199711260029                Gas           Gov. Aggregation   COH             176704830012                Gas           Gov. Aggregation
COH             159143180047                Gas           Gov. Aggregation   COH             177317490014                Gas           Gov. Aggregation
COH             205899010017                Gas           Gov. Aggregation   COH             185090730015                Gas           Gov. Aggregation
COH             204340910012                Gas           Gov. Aggregation   COH             176101120046                Gas           Gov. Aggregation
COH             205665590011                Gas           Gov. Aggregation   COH             185122180021                Gas           Gov. Aggregation
COH             205676230013                Gas           Gov. Aggregation   COH             185554510017                Gas           Gov. Aggregation
COH             202503790023                Gas           Gov. Aggregation   COH             122170200066                Gas           Gov. Aggregation
COH             195318360035                Gas           Gov. Aggregation   COH             122657690053                Gas           Gov. Aggregation
COH             173501370049                Gas           Gov. Aggregation   COH             122922680025                Gas           Gov. Aggregation
COH             204256410016                Gas           Gov. Aggregation   COH             118831310307                Gas           Gov. Aggregation
COH             201925890010                Gas           Gov. Aggregation   COH             186906780013                Gas           Gov. Aggregation
COH             201616880017                Gas           Gov. Aggregation   COH             186780270036                Gas           Gov. Aggregation
COH             198877850053                Gas           Gov. Aggregation   COH             186804900013                Gas           Gov. Aggregation
COH             191828250031                Gas           Gov. Aggregation   COH             185529490015                Gas           Gov. Aggregation
COH             134842200012                Gas           Gov. Aggregation   COH             123797750026                Gas           Gov. Aggregation
COH             205195670011                Gas           Gov. Aggregation   COH             123798180015                Gas           Gov. Aggregation
COH             205697800019                Gas           Gov. Aggregation   COH             186861490010                Gas           Gov. Aggregation
COH             169414430056                Gas           Gov. Aggregation   COH             123764760014                Gas           Gov. Aggregation
COH             205502520019                Gas           Gov. Aggregation   COH             187627490015                Gas           Gov. Aggregation
COH             203267720019                Gas           Gov. Aggregation   COH             124648800029                Gas           Gov. Aggregation
COH             159361630086                Gas           Gov. Aggregation   COH             125758270027                Gas           Gov. Aggregation
COH             199242490017                Gas           Gov. Aggregation   COH             125772510017                Gas           Gov. Aggregation
COH             205590120018                Gas           Gov. Aggregation   COH             126450650028                Gas           Gov. Aggregation
COH             122337720081                Gas           Gov. Aggregation   COH             188378370018                Gas           Gov. Aggregation
COH             202151500011                Gas           Gov. Aggregation   COH             188386900037                Gas           Gov. Aggregation
COH             205846670010                Gas           Gov. Aggregation   COH             188404540015                Gas           Gov. Aggregation
COH             155108680031                Gas           Gov. Aggregation   COH             127588570023                Gas           Gov. Aggregation
COH             205508180019                Gas           Gov. Aggregation   COH             125752750046                Gas           Gov. Aggregation
COH             167222460059                Gas           Gov. Aggregation   COH             125833520024                Gas           Gov. Aggregation
COH             204208210019                Gas           Gov. Aggregation   COH             192643530015                Gas           Gov. Aggregation
COH             166719900027                Gas           Gov. Aggregation   COH             188313860011                Gas           Gov. Aggregation
COH             201041150028                Gas           Gov. Aggregation   COH             132434990112                Gas           Gov. Aggregation
COH             205353900016                Gas           Gov. Aggregation   COH             134480090023                Gas           Gov. Aggregation
COH             162546200034                Gas           Gov. Aggregation   COH             189930630010                Gas           Gov. Aggregation
COH             165277180037                Gas           Gov. Aggregation   COH             190982360015                Gas           Gov. Aggregation
COH             199875720026                Gas           Gov. Aggregation   COH             191020210013                Gas           Gov. Aggregation
COH             204586120018                Gas           Gov. Aggregation   COH             142073690048                Gas           Gov. Aggregation
COH             203895580018                Gas           Gov. Aggregation   COH             191414620012                Gas           Gov. Aggregation
COH             205204590017                Gas           Gov. Aggregation   COH             191239460018                Gas           Gov. Aggregation
VEDO            4002707602265666            Gas           Gov. Aggregation   COH             151884320018                Gas           Gov. Aggregation
COH             204377780013                Gas           Gov. Aggregation   COH             115033510097                Gas           Gov. Aggregation
COH             204480950018                Gas           Gov. Aggregation   COH             148910590029                Gas           Gov. Aggregation
COH             204990420018                Gas           Gov. Aggregation   COH             153380730018                Gas           Gov. Aggregation
COH             205321480012                Gas           Gov. Aggregation   COH             193239270016                Gas           Gov. Aggregation
COH             196921480021                Gas           Gov. Aggregation   COH             192813520016                Gas           Gov. Aggregation
VEDO            4016549792347968            Gas           Gov. Aggregation   COH             192834100010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4016313632405450            Gas           Gov. Aggregation   COH             193628280019                Gas           Gov. Aggregation
VEDO            4016416862325539            Gas           Gov. Aggregation   COH             159470620032                Gas           Gov. Aggregation
VEDO            4015052022503689            Gas           Gov. Aggregation   COH             193497590013                Gas           Gov. Aggregation
VEDO            4016136072132236            Gas           Gov. Aggregation   COH             160062760017                Gas           Gov. Aggregation
VEDO            4020900372416452            Gas           Gov. Aggregation   COH             193886030015                Gas           Gov. Aggregation
VEDO            4003492072630590            Gas           Gov. Aggregation   COH             193989060011                Gas           Gov. Aggregation
VEDO            4017258592180936            Gas           Gov. Aggregation   COH             193989210019                Gas           Gov. Aggregation
VEDO            4015774812118732            Gas           Gov. Aggregation   COH             164994260013                Gas           Gov. Aggregation
VEDO            4015031262204662            Gas           Gov. Aggregation   COH             165071330013                Gas           Gov. Aggregation
VEDO            4018714462442647            Gas           Gov. Aggregation   COH             194332720012                Gas           Gov. Aggregation
VEDO            4002006052195945            Gas           Gov. Aggregation   COH             194208930011                Gas           Gov. Aggregation
VEDO            4002006052526904            Gas           Gov. Aggregation   COH             165429980018                Gas           Gov. Aggregation
VEDO            4015156812244648            Gas           Gov. Aggregation   COH             129526270042                Gas           Gov. Aggregation
VEDO            4016976732479688            Gas           Gov. Aggregation   COH             131448180016                Gas           Gov. Aggregation
VEDO            4001386882177428            Gas           Gov. Aggregation   COH             168406460030                Gas           Gov. Aggregation
VEDO            4001386882136292            Gas           Gov. Aggregation   COH             168945900035                Gas           Gov. Aggregation
VEDO            4015539822168002            Gas           Gov. Aggregation   COH             169679120024                Gas           Gov. Aggregation
VEDO            4001045592104355            Gas           Gov. Aggregation   COH             134271530014                Gas           Gov. Aggregation
VEDO            4001045592301597            Gas           Gov. Aggregation   COH             134558280028                Gas           Gov. Aggregation
VEDO            4001786512219021            Gas           Gov. Aggregation   COH             170123310037                Gas           Gov. Aggregation
VEDO            4020869062374741            Gas           Gov. Aggregation   COH             171525560023                Gas           Gov. Aggregation
VEDO            4003740502372690            Gas           Gov. Aggregation   COH             110920530015                Gas           Gov. Aggregation
VEDO            4020869062339162            Gas           Gov. Aggregation   COH             110929800010                Gas           Gov. Aggregation
VEDO            4019420882324313            Gas           Gov. Aggregation   COH             111060270013                Gas           Gov. Aggregation
VEDO            4018567962193157            Gas           Gov. Aggregation   COH             111061620017                Gas           Gov. Aggregation
VEDO            4018379792389001            Gas           Gov. Aggregation   COH             111088040013                Gas           Gov. Aggregation
VEDO            4015816952243717            Gas           Gov. Aggregation   COH             111104480024                Gas           Gov. Aggregation
VEDO            4001281722171573            Gas           Gov. Aggregation   COH             111060480028                Gas           Gov. Aggregation
VEDO            4001281722227416            Gas           Gov. Aggregation   COH             111102110025                Gas           Gov. Aggregation
VEDO            4019993062274540            Gas           Gov. Aggregation   COH             172891280017                Gas           Gov. Aggregation
VEDO            4002080842167009            Gas           Gov. Aggregation   COH             136987670061                Gas           Gov. Aggregation
VEDO            4017683462487663            Gas           Gov. Aggregation   COH             137858750057                Gas           Gov. Aggregation
VEDO            4019875872131351            Gas           Gov. Aggregation   COH             121951050018                Gas           Gov. Aggregation
VEDO            4019418572140137            Gas           Gov. Aggregation   COH             121988500025                Gas           Gov. Aggregation
VEDO            4005155612528325            Gas           Gov. Aggregation   COH             175754190013                Gas           Gov. Aggregation
VEDO            4018177822288678            Gas           Gov. Aggregation   COH             176176640022                Gas           Gov. Aggregation
VEDO            4019834372389257            Gas           Gov. Aggregation   COH             185301800011                Gas           Gov. Aggregation
VEDO            4018018052147060            Gas           Gov. Aggregation   COH             123908630033                Gas           Gov. Aggregation
VEDO            4020104382225453            Gas           Gov. Aggregation   COH             124570370016                Gas           Gov. Aggregation
VEDO            4003954682483469            Gas           Gov. Aggregation   COH             124575830028                Gas           Gov. Aggregation
VEDO            4001070992133573            Gas           Gov. Aggregation   COH             124577200017                Gas           Gov. Aggregation
VEDO            4020067242117979            Gas           Gov. Aggregation   COH             124593570016                Gas           Gov. Aggregation
VEDO            4019986722431446            Gas           Gov. Aggregation   COH             123942410037                Gas           Gov. Aggregation
VEDO            4004464402148168            Gas           Gov. Aggregation   COH             124036580032                Gas           Gov. Aggregation
VEDO            4017192302648397            Gas           Gov. Aggregation   COH             124037600017                Gas           Gov. Aggregation
VEDO            4015217992625083            Gas           Gov. Aggregation   COH             124262650029                Gas           Gov. Aggregation
VEDO            4017448202625884            Gas           Gov. Aggregation   COH             161558970020                Gas           Gov. Aggregation
VEDO            4004618582624609            Gas           Gov. Aggregation   COH             132116020039                Gas           Gov. Aggregation
VEDO            4018922502648573            Gas           Gov. Aggregation   COH             189826070019                Gas           Gov. Aggregation
VEDO            4018792862671503            Gas           Gov. Aggregation   COH             137931070036                Gas           Gov. Aggregation
VEDO            4004992192509769            Gas           Gov. Aggregation   COH             143651910017                Gas           Gov. Aggregation
VEDO            4004723442480036            Gas           Gov. Aggregation   COH             190981580011                Gas           Gov. Aggregation
VEDO            4018399462264028            Gas           Gov. Aggregation   COH             191518300019                Gas           Gov. Aggregation
VEDO            4019455502234877            Gas           Gov. Aggregation   COH             140442130035                Gas           Gov. Aggregation
VEDO            4001066572201913            Gas           Gov. Aggregation   COH             141012660061                Gas           Gov. Aggregation
VEDO            4004055142406624            Gas           Gov. Aggregation   COH             111162820011                Gas           Gov. Aggregation
VEDO            4018782672315538            Gas           Gov. Aggregation   COH             142391620146                Gas           Gov. Aggregation
VEDO            4015242612116081            Gas           Gov. Aggregation   COH             191667660019                Gas           Gov. Aggregation
VEDO            4018583022539361            Gas           Gov. Aggregation   COH             169400540016                Gas           Gov. Aggregation
VEDO            4016481812229929            Gas           Gov. Aggregation   COH             191701550027                Gas           Gov. Aggregation
VEDO            4010080562242126            Gas           Gov. Aggregation   COH             150305410043                Gas           Gov. Aggregation
VEDO            4017661772260843            Gas           Gov. Aggregation   COH             193471060018                Gas           Gov. Aggregation
VEDO            4018721392381909            Gas           Gov. Aggregation   COH             193865700018                Gas           Gov. Aggregation
VEDO            4019160662277150            Gas           Gov. Aggregation   COH             194144520013                Gas           Gov. Aggregation
VEDO            4019947362236020            Gas           Gov. Aggregation   COH             193557270030                Gas           Gov. Aggregation
VEDO            4019236572276272            Gas           Gov. Aggregation   COH             150886510015                Gas           Gov. Aggregation
VEDO            4003427012339638            Gas           Gov. Aggregation   COH             138113210011                Gas           Gov. Aggregation
VEDO            4002212212465041            Gas           Gov. Aggregation   COH             138232730010                Gas           Gov. Aggregation
VEDO            4020210672109172            Gas           Gov. Aggregation   COH             114694040015                Gas           Gov. Aggregation
VEDO            4002117432206899            Gas           Gov. Aggregation   COH             116687560037                Gas           Gov. Aggregation
VEDO            4004026182403558            Gas           Gov. Aggregation   COH             188477410028                Gas           Gov. Aggregation
VEDO            4002284332223539            Gas           Gov. Aggregation   COH             159428900032                Gas           Gov. Aggregation
VEDO            4001485992308558            Gas           Gov. Aggregation   COH             117113060027                Gas           Gov. Aggregation
VEDO            4018973632341304            Gas           Gov. Aggregation   COH             141809100014                Gas           Gov. Aggregation
VEDO            4020157812366944            Gas           Gov. Aggregation   COH             161542880013                Gas           Gov. Aggregation
VEDO            4021011112342009            Gas           Gov. Aggregation   COH             117345730052                Gas           Gov. Aggregation
VEDO            4016664992215517            Gas           Gov. Aggregation   COH             117360320010                Gas           Gov. Aggregation
COH             196852500023                Gas           Gov. Aggregation   COH             117362010011                Gas           Gov. Aggregation
COH             198252920025                Gas           Gov. Aggregation   COH             117376730011                Gas           Gov. Aggregation
COH             200608000019                Gas           Gov. Aggregation   COH             117377150011                Gas           Gov. Aggregation
COH             204598060016                Gas           Gov. Aggregation   COH             163979170033                Gas           Gov. Aggregation
VEDO            4015808042491623            Gas           Gov. Aggregation   COH             164263830030                Gas           Gov. Aggregation
VEDO            4017489592110411            Gas           Gov. Aggregation   COH             118001790039                Gas           Gov. Aggregation
VEDO            4020288202427067            Gas           Gov. Aggregation   COH             145067620015                Gas           Gov. Aggregation
VEDO            4020918892332070            Gas           Gov. Aggregation   COH             165751160017                Gas           Gov. Aggregation
VEDO            4021004222367460            Gas           Gov. Aggregation   COH             118051110018                Gas           Gov. Aggregation
VEDO            4020942682276170            Gas           Gov. Aggregation   COH             118058720034                Gas           Gov. Aggregation
VEDO            4020926022398018            Gas           Gov. Aggregation   COH             118201720066                Gas           Gov. Aggregation
VEDO            4020908142391133            Gas           Gov. Aggregation   COH             165509190014                Gas           Gov. Aggregation
VEDO            4020905562481767            Gas           Gov. Aggregation   COH             118103180022                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4016035122353387            Gas           Gov. Aggregation   COH             194027370013                Gas           Gov. Aggregation
VEDO            4021009702234589            Gas           Gov. Aggregation   COH             118441220036                Gas           Gov. Aggregation
VEDO            4021014542193572            Gas           Gov. Aggregation   COH             118825690016                Gas           Gov. Aggregation
VEDO            4021056202680803            Gas           Gov. Aggregation   COH             108699690017                Gas           Gov. Aggregation
VEDO            4020920472114633            Gas           Gov. Aggregation   COH             108701670023                Gas           Gov. Aggregation
VEDO            4004626412238926            Gas           Gov. Aggregation   COH             108705740020                Gas           Gov. Aggregation
VEDO            4020138442477250            Gas           Gov. Aggregation   COH             108706350011                Gas           Gov. Aggregation
VEDO            4002122542268266            Gas           Gov. Aggregation   COH             108727580019                Gas           Gov. Aggregation
VEDO            4020942972408205            Gas           Gov. Aggregation   COH             108709470029                Gas           Gov. Aggregation
VEDO            4021029052125758            Gas           Gov. Aggregation   COH             108709920024                Gas           Gov. Aggregation
VEDO            4015060382331118            Gas           Gov. Aggregation   COH             108713550014                Gas           Gov. Aggregation
VEDO            4018615882462126            Gas           Gov. Aggregation   COH             118824300019                Gas           Gov. Aggregation
VEDO            4002966992680355            Gas           Gov. Aggregation   COH             118826190019                Gas           Gov. Aggregation
VEDO            4020908592224243            Gas           Gov. Aggregation   COH             193801770018                Gas           Gov. Aggregation
VEDO            4020905642323523            Gas           Gov. Aggregation   COH             108682410010                Gas           Gov. Aggregation
VEDO            4021039282208821            Gas           Gov. Aggregation   COH             108682470018                Gas           Gov. Aggregation
VEDO            4021019292583063            Gas           Gov. Aggregation   COH             108688020029                Gas           Gov. Aggregation
VEDO            4001068222241058            Gas           Gov. Aggregation   COH             154510980018                Gas           Gov. Aggregation
COH             202456610012                Gas           Gov. Aggregation   COH             118917280062                Gas           Gov. Aggregation
COH             205828250016                Gas           Gov. Aggregation   COH             118943160035                Gas           Gov. Aggregation
COH             192460130035                Gas           Gov. Aggregation   COH             108731930016                Gas           Gov. Aggregation
COH             205155590012                Gas           Gov. Aggregation   COH             108732520029                Gas           Gov. Aggregation
COH             205400480014                Gas           Gov. Aggregation   COH             108739540012                Gas           Gov. Aggregation
COH             203481870014                Gas           Gov. Aggregation   COH             108717460015                Gas           Gov. Aggregation
COH             200741410011                Gas           Gov. Aggregation   COH             108720200021                Gas           Gov. Aggregation
COH             200840470028                Gas           Gov. Aggregation   COH             108728220012                Gas           Gov. Aggregation
COH             200879500011                Gas           Gov. Aggregation   COH             108737400015                Gas           Gov. Aggregation
COH             200880620013                Gas           Gov. Aggregation   COH             108741880016                Gas           Gov. Aggregation
COH             200933200018                Gas           Gov. Aggregation   COH             108743680032                Gas           Gov. Aggregation
COH             200927020019                Gas           Gov. Aggregation   COH             108744600018                Gas           Gov. Aggregation
COH             201096390014                Gas           Gov. Aggregation   COH             119097800043                Gas           Gov. Aggregation
COH             199322600022                Gas           Gov. Aggregation   COH             119384820013                Gas           Gov. Aggregation
COH             199955580017                Gas           Gov. Aggregation   COH             119218020030                Gas           Gov. Aggregation
COH             199979850010                Gas           Gov. Aggregation   COH             119574740035                Gas           Gov. Aggregation
COH             176438230040                Gas           Gov. Aggregation   COH             162748060018                Gas           Gov. Aggregation
COH             188354820022                Gas           Gov. Aggregation   COH             119604990038                Gas           Gov. Aggregation
COH             189091440029                Gas           Gov. Aggregation   COH             119918650034                Gas           Gov. Aggregation
COH             135838720011                Gas           Gov. Aggregation   COH             108753460037                Gas           Gov. Aggregation
COH             189621460020                Gas           Gov. Aggregation   COH             108759230033                Gas           Gov. Aggregation
COH             171132050050                Gas           Gov. Aggregation   COH             120103910033                Gas           Gov. Aggregation
COH             174724770024                Gas           Gov. Aggregation   COH             120212750134                Gas           Gov. Aggregation
COH             110313090024                Gas           Gov. Aggregation   COH             173247580018                Gas           Gov. Aggregation
COH             110305530019                Gas           Gov. Aggregation   COH             120445390075                Gas           Gov. Aggregation
COH             154000440012                Gas           Gov. Aggregation   COH             120446140011                Gas           Gov. Aggregation
COH             199632010010                Gas           Gov. Aggregation   COH             120438570036                Gas           Gov. Aggregation
COH             199595220016                Gas           Gov. Aggregation   COH             120439460055                Gas           Gov. Aggregation
COH             199929620013                Gas           Gov. Aggregation   COH             120443870050                Gas           Gov. Aggregation
COH             177839090030                Gas           Gov. Aggregation   COH             117577060034                Gas           Gov. Aggregation
COH             191221950049                Gas           Gov. Aggregation   COH             123665780029                Gas           Gov. Aggregation
COH             110363600021                Gas           Gov. Aggregation   COH             123674450029                Gas           Gov. Aggregation
COH             110363880014                Gas           Gov. Aggregation   COH             123681920016                Gas           Gov. Aggregation
COH             110363530017                Gas           Gov. Aggregation   COH             123722510041                Gas           Gov. Aggregation
COH             110903000012                Gas           Gov. Aggregation   COH             123730350011                Gas           Gov. Aggregation
COH             110965090014                Gas           Gov. Aggregation   COH             123627730010                Gas           Gov. Aggregation
COH             110323090023                Gas           Gov. Aggregation   COH             123628120016                Gas           Gov. Aggregation
COH             110352150010                Gas           Gov. Aggregation   COH             123681960018                Gas           Gov. Aggregation
COH             138181070036                Gas           Gov. Aggregation   COH             123684240013                Gas           Gov. Aggregation
COH             110313320016                Gas           Gov. Aggregation   COH             131304460039                Gas           Gov. Aggregation
COH             162095980047                Gas           Gov. Aggregation   COH             123663980021                Gas           Gov. Aggregation
COH             167993950035                Gas           Gov. Aggregation   COH             186921980028                Gas           Gov. Aggregation
COH             175854890041                Gas           Gov. Aggregation   COH             134331260068                Gas           Gov. Aggregation
COH             186552250024                Gas           Gov. Aggregation   COH             134354720036                Gas           Gov. Aggregation
COH             176508540037                Gas           Gov. Aggregation   COH             136465930026                Gas           Gov. Aggregation
COH             186215300090                Gas           Gov. Aggregation   COH             136466920017                Gas           Gov. Aggregation
COH             199127890017                Gas           Gov. Aggregation   COH             126978710027                Gas           Gov. Aggregation
COH             199503070020                Gas           Gov. Aggregation   COH             127024800037                Gas           Gov. Aggregation
COH             203066160013                Gas           Gov. Aggregation   COH             169726410013                Gas           Gov. Aggregation
COH             203246210010                Gas           Gov. Aggregation   COH             188241600018                Gas           Gov. Aggregation
COH             203325100015                Gas           Gov. Aggregation   COH             187915670016                Gas           Gov. Aggregation
COH             203355500018                Gas           Gov. Aggregation   COH             128950010011                Gas           Gov. Aggregation
COH             203393180016                Gas           Gov. Aggregation   COH             140261030012                Gas           Gov. Aggregation
COH             203405480016                Gas           Gov. Aggregation   COH             137840410046                Gas           Gov. Aggregation
COH             203688230010                Gas           Gov. Aggregation   COH             171961890020                Gas           Gov. Aggregation
COH             203770480013                Gas           Gov. Aggregation   COH             173757630034                Gas           Gov. Aggregation
COH             203717090017                Gas           Gov. Aggregation   COH             173929990016                Gas           Gov. Aggregation
COH             203787160015                Gas           Gov. Aggregation   COH             140529340055                Gas           Gov. Aggregation
COH             204011000010                Gas           Gov. Aggregation   COH             172525540017                Gas           Gov. Aggregation
COH             204115340019                Gas           Gov. Aggregation   COH             172712050013                Gas           Gov. Aggregation
COH             204207520016                Gas           Gov. Aggregation   COH             173156150011                Gas           Gov. Aggregation
COH             204050860018                Gas           Gov. Aggregation   COH             135912610016                Gas           Gov. Aggregation
COH             204040830015                Gas           Gov. Aggregation   COH             141531860023                Gas           Gov. Aggregation
COH             204207530014                Gas           Gov. Aggregation   COH             143914790060                Gas           Gov. Aggregation
COH             204290280012                Gas           Gov. Aggregation   COH             143611450018                Gas           Gov. Aggregation
COH             201968580015                Gas           Gov. Aggregation   COH             143667860113                Gas           Gov. Aggregation
COH             201708450012                Gas           Gov. Aggregation   COH             144583210036                Gas           Gov. Aggregation
COH             202276990015                Gas           Gov. Aggregation   COH             143874980039                Gas           Gov. Aggregation
COH             202523190018                Gas           Gov. Aggregation   COH             145643660051                Gas           Gov. Aggregation
COH             202805310014                Gas           Gov. Aggregation   COH             145828940014                Gas           Gov. Aggregation
COH             150290620015                Gas           Gov. Aggregation   VEDO            4002844812686599            Gas           Gov. Aggregation
COH             154437510012                Gas           Gov. Aggregation   COH             137595130037                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             123530990039                Gas           Gov. Aggregation   DEO             0180013942930               Gas           Gov. Aggregation
COH             110273360014                Gas           Gov. Aggregation   DEO             6422006320166               Gas           Gov. Aggregation
COH             174941890010                Gas           Gov. Aggregation   DEO             9180012014881               Gas           Gov. Aggregation
COH             149480220019                Gas           Gov. Aggregation   DEO             8180015281911               Gas           Gov. Aggregation
COH             110965670012                Gas           Gov. Aggregation   DEO             5180016422652               Gas           Gov. Aggregation
COH             206372870012                Gas           Gov. Aggregation   DEO             4180016104394               Gas           Gov. Aggregation
COH             206133880016                Gas           Gov. Aggregation   DEO             2180013512628               Gas           Gov. Aggregation
COH             188054160027                Gas           Gov. Aggregation   DEO             2180014177908               Gas           Gov. Aggregation
COH             190386760159                Gas           Gov. Aggregation   DEO             7180014187356               Gas           Gov. Aggregation
COH             206196260014                Gas           Gov. Aggregation   DEO             2180011182250               Gas           Gov. Aggregation
COH             110408940024                Gas           Gov. Aggregation   DEO             0180012602516               Gas           Gov. Aggregation
COH             204460020015                Gas           Gov. Aggregation   DEO             7180003490083               Gas           Gov. Aggregation
COH             192463020041                Gas           Gov. Aggregation   DEO             7180011720463               Gas           Gov. Aggregation
COH             165772600038                Gas           Gov. Aggregation   DEO             2180015411050               Gas           Gov. Aggregation
COH             205945920017                Gas           Gov. Aggregation   DEO             5180013337677               Gas           Gov. Aggregation
COH             204744000017                Gas           Gov. Aggregation   DEO             9180011292182               Gas           Gov. Aggregation
COH             205017580016                Gas           Gov. Aggregation   DEO             9180015286327               Gas           Gov. Aggregation
COH             195028450013                Gas           Gov. Aggregation   DEO             8180015030407               Gas           Gov. Aggregation
COH             163791550059                Gas           Gov. Aggregation   DEO             1180016101465               Gas           Gov. Aggregation
COH             167756800010                Gas           Gov. Aggregation   DEO             7180013437009               Gas           Gov. Aggregation
COH             110381190039                Gas           Gov. Aggregation   DEO             7180012832909               Gas           Gov. Aggregation
COH             159230540055                Gas           Gov. Aggregation   DEO             5180014594587               Gas           Gov. Aggregation
COH             162930530058                Gas           Gov. Aggregation   DEO             7422103252351               Gas           Gov. Aggregation
COH             197927180030                Gas           Gov. Aggregation   DEO             5180015694972               Gas           Gov. Aggregation
COH             206204690015                Gas           Gov. Aggregation   DEO             3180015370390               Gas           Gov. Aggregation
COH             205754770014                Gas           Gov. Aggregation   DEO             8180011411349               Gas           Gov. Aggregation
COH             206110060016                Gas           Gov. Aggregation   DEO             7500025494602               Gas           Gov. Aggregation
COH             205689720013                Gas           Gov. Aggregation   DEO             4180013407962               Gas           Gov. Aggregation
COH             204447090019                Gas           Gov. Aggregation   DEO             9180013961664               Gas           Gov. Aggregation
COH             165183930029                Gas           Gov. Aggregation   DEO             1180011789244               Gas           Gov. Aggregation
COH             202825410011                Gas           Gov. Aggregation   DEO             1180008780656               Gas           Gov. Aggregation
COH             206156170017                Gas           Gov. Aggregation   DEO             7180011347499               Gas           Gov. Aggregation
COH             110352260017                Gas           Gov. Aggregation   DEO             4180016330924               Gas           Gov. Aggregation
COH             205283460018                Gas           Gov. Aggregation   DEO             1180016189724               Gas           Gov. Aggregation
COH             202756970011                Gas           Gov. Aggregation   DEO             1180015524675               Gas           Gov. Aggregation
COH             204696480010                Gas           Gov. Aggregation   DEO             1180014796426               Gas           Gov. Aggregation
COH             171030870054                Gas           Gov. Aggregation   DEO             8180011367343               Gas           Gov. Aggregation
COH             205708960011                Gas           Gov. Aggregation   DEO             0180012164140               Gas           Gov. Aggregation
COH             205293140014                Gas           Gov. Aggregation   DEO             4180016258052               Gas           Gov. Aggregation
COH             205424800016                Gas           Gov. Aggregation   DEO             7180012838995               Gas           Gov. Aggregation
COH             204948890019                Gas           Gov. Aggregation   DEO             5180005528849               Gas           Gov. Aggregation
COH             204538880010                Gas           Gov. Aggregation   DEO             0180016005438               Gas           Gov. Aggregation
COH             155591890043                Gas           Gov. Aggregation   DEO             9180011688913               Gas           Gov. Aggregation
COH             198884090012                Gas           Gov. Aggregation   DEO             4180013284555               Gas           Gov. Aggregation
COH             203300520019                Gas           Gov. Aggregation   DEO             7180015683568               Gas           Gov. Aggregation
COH             141943090013                Gas           Gov. Aggregation   DEO             1180014423061               Gas           Gov. Aggregation
COH             206227610013                Gas           Gov. Aggregation   DEO             5180012512985               Gas           Gov. Aggregation
COH             199178180019                Gas           Gov. Aggregation   DEO             2180014949907               Gas           Gov. Aggregation
COH             205088990011                Gas           Gov. Aggregation   DEO             5180015968542               Gas           Gov. Aggregation
COH             205972500018                Gas           Gov. Aggregation   DEO             7180015849947               Gas           Gov. Aggregation
COH             205557810013                Gas           Gov. Aggregation   DEO             1180014049198               Gas           Gov. Aggregation
COH             205692080011                Gas           Gov. Aggregation   DEO             8180016298831               Gas           Gov. Aggregation
COH             205336310016                Gas           Gov. Aggregation   DEO             2180016078298               Gas           Gov. Aggregation
COH             192356930010                Gas           Gov. Aggregation   COH             209807400014                Gas           Gov. Aggregation
DEO             0180010025677               Gas           Gov. Aggregation   COH             210560540016                Gas           Gov. Aggregation
COH             205705330019                Gas           Gov. Aggregation   COH             206505970027                Gas           Gov. Aggregation
COH             205727540019                Gas           Gov. Aggregation   COH             209640940015                Gas           Gov. Aggregation
COH             172222610032                Gas           Gov. Aggregation   COH             209747520017                Gas           Gov. Aggregation
COH             199412370020                Gas           Gov. Aggregation   COH             208092890029                Gas           Gov. Aggregation
COH             199426310023                Gas           Gov. Aggregation   COH             191709630033                Gas           Gov. Aggregation
COH             203254370010                Gas           Gov. Aggregation   COH             206334870021                Gas           Gov. Aggregation
COH             205059720018                Gas           Gov. Aggregation   COH             207767040018                Gas           Gov. Aggregation
COH             192625850034                Gas           Gov. Aggregation   COH             209827020012                Gas           Gov. Aggregation
COH             199247650031                Gas           Gov. Aggregation   COH             203079871794                Gas           Gov. Aggregation
COH             206230750017                Gas           Gov. Aggregation   COH             210036860305                Gas           Gov. Aggregation
COH             205179330016                Gas           Gov. Aggregation   COH             210292270012                Gas           Gov. Aggregation
COH             151243020037                Gas           Gov. Aggregation   COH             210065960018                Gas           Gov. Aggregation
COH             110438220013                Gas           Gov. Aggregation   COH             210127410011                Gas           Gov. Aggregation
COH             200132330019                Gas           Gov. Aggregation   COH             189298740055                Gas           Gov. Aggregation
COH             201024160022                Gas           Gov. Aggregation   COH             210287860019                Gas           Gov. Aggregation
COH             110899520014                Gas           Gov. Aggregation   COH             145350990044                Gas           Gov. Aggregation
COH             192549230018                Gas           Gov. Aggregation   COH             147868200040                Gas           Gov. Aggregation
COH             202208540021                Gas           Gov. Aggregation   COH             210075490016                Gas           Gov. Aggregation
COH             136416960023                Gas           Gov. Aggregation   COH             209934630017                Gas           Gov. Aggregation
COH             155867090046                Gas           Gov. Aggregation   COH             117160810039                Gas           Gov. Aggregation
COH             132603250065                Gas           Gov. Aggregation   COH             210025560016                Gas           Gov. Aggregation
COH             168232700029                Gas           Gov. Aggregation   COH             210103780014                Gas           Gov. Aggregation
COH             204116320011                Gas           Gov. Aggregation   COH             116804750055                Gas           Gov. Aggregation
COH             204994330019                Gas           Gov. Aggregation   COH             209882400016                Gas           Gov. Aggregation
COH             205857140018                Gas           Gov. Aggregation   COH             207809140035                Gas           Gov. Aggregation
COH             163892500108                Gas           Gov. Aggregation   COH             209752080019                Gas           Gov. Aggregation
COH             204394830016                Gas           Gov. Aggregation   COH             157118970091                Gas           Gov. Aggregation
COH             203483900013                Gas           Gov. Aggregation   COH             192593190032                Gas           Gov. Aggregation
COH             204040350016                Gas           Gov. Aggregation   COH             198008660027                Gas           Gov. Aggregation
COH             202276480012                Gas           Gov. Aggregation   COH             202293060023                Gas           Gov. Aggregation
COH             201558780021                Gas           Gov. Aggregation   COH             210157680012                Gas           Gov. Aggregation
COH             204482340012                Gas           Gov. Aggregation   COH             198068430047                Gas           Gov. Aggregation
COH             203769860016                Gas           Gov. Aggregation   COH             155833980059                Gas           Gov. Aggregation
COH             205488490018                Gas           Gov. Aggregation   COH             210276800014                Gas           Gov. Aggregation
COH             203725810018                Gas           Gov. Aggregation   COH             201901700028                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             156017620044                Gas           Gov. Aggregation   COH             115714600067                Gas           Gov. Aggregation
COH             115860280039                Gas           Gov. Aggregation   COH             207696960025                Gas           Gov. Aggregation
COH             115771540042                Gas           Gov. Aggregation   COH             152312970012                Gas           Gov. Aggregation
COH             202335230018                Gas           Gov. Aggregation   COH             208982410120                Gas           Gov. Aggregation
COH             155060150025                Gas           Gov. Aggregation   COH             205919170029                Gas           Gov. Aggregation
COH             110741610018                Gas           Gov. Aggregation   COH             210247610015                Gas           Gov. Aggregation
COH             203557240015                Gas           Gov. Aggregation   COH             209827080010                Gas           Gov. Aggregation
COH             204623960012                Gas           Gov. Aggregation   COH             210560590016                Gas           Gov. Aggregation
COH             136529110040                Gas           Gov. Aggregation   COH             210247540010                Gas           Gov. Aggregation
COH             189463780029                Gas           Gov. Aggregation   COH             210157640010                Gas           Gov. Aggregation
COH             196960210034                Gas           Gov. Aggregation   COH             210491770015                Gas           Gov. Aggregation
COH             176357790027                Gas           Gov. Aggregation   COH             208844860011                Gas           Gov. Aggregation
COH             189564450024                Gas           Gov. Aggregation   COH             209753140014                Gas           Gov. Aggregation
COH             190840590026                Gas           Gov. Aggregation   COH             210625870019                Gas           Gov. Aggregation
COH             192131298835                Gas           Gov. Aggregation   COH             196003110051                Gas           Gov. Aggregation
COH             192131299601                Gas           Gov. Aggregation   COH             162669360031                Gas           Gov. Aggregation
COH             194605290032                Gas           Gov. Aggregation   COH             191165310034                Gas           Gov. Aggregation
COH             195459680030                Gas           Gov. Aggregation   COH             163021810055                Gas           Gov. Aggregation
COH             196437660039                Gas           Gov. Aggregation   COH             191179250047                Gas           Gov. Aggregation
COH             200511090025                Gas           Gov. Aggregation   COH             208311200018                Gas           Gov. Aggregation
COH             201702560020                Gas           Gov. Aggregation   COH             208624110014                Gas           Gov. Aggregation
COH             202512990013                Gas           Gov. Aggregation   COH             208648020013                Gas           Gov. Aggregation
COH             203488470014                Gas           Gov. Aggregation   COH             209327930011                Gas           Gov. Aggregation
COH             206173030010                Gas           Gov. Aggregation   COH             209516270019                Gas           Gov. Aggregation
COH             206310230016                Gas           Gov. Aggregation   COH             210634760013                Gas           Gov. Aggregation
COH             142166510011                Gas           Gov. Aggregation   COH             210176470016                Gas           Gov. Aggregation
COH             185744710012                Gas           Gov. Aggregation   COH             203367140028                Gas           Gov. Aggregation
COH             195410010023                Gas           Gov. Aggregation   COH             206049150027                Gas           Gov. Aggregation
COH             199234820014                Gas           Gov. Aggregation   COH             209621070018                Gas           Gov. Aggregation
COH             204885550014                Gas           Gov. Aggregation   COH             155825680059                Gas           Gov. Aggregation
COH             193868360041                Gas           Gov. Aggregation   COH             190321060027                Gas           Gov. Aggregation
COH             205313380010                Gas           Gov. Aggregation   COH             210690930019                Gas           Gov. Aggregation
COH             159610850072                Gas           Gov. Aggregation   COH             206879160026                Gas           Gov. Aggregation
COH             110883100015                Gas           Gov. Aggregation   COH             210083980016                Gas           Gov. Aggregation
COH             205681320013                Gas           Gov. Aggregation   COH             203528830021                Gas           Gov. Aggregation
COH             206310170019                Gas           Gov. Aggregation   COH             174564330044                Gas           Gov. Aggregation
COH             203774100032                Gas           Gov. Aggregation   COH             209902420018                Gas           Gov. Aggregation
COH             198674160030                Gas           Gov. Aggregation   COH             189791070032                Gas           Gov. Aggregation
COH             206190360015                Gas           Gov. Aggregation   COH             209827130019                Gas           Gov. Aggregation
COH             188128550037                Gas           Gov. Aggregation   COH             188515840035                Gas           Gov. Aggregation
COH             198329740020                Gas           Gov. Aggregation   COH             189733340037                Gas           Gov. Aggregation
COH             206359560015                Gas           Gov. Aggregation   COH             196560840021                Gas           Gov. Aggregation
COH             142728240089                Gas           Gov. Aggregation   COH             159779500060                Gas           Gov. Aggregation
COH             201486890021                Gas           Gov. Aggregation   COH             210327530012                Gas           Gov. Aggregation
DEO             2180008090976               Gas           Gov. Aggregation   COH             209516260011                Gas           Gov. Aggregation
DEO             2180009343157               Gas           Gov. Aggregation   COH             210339250016                Gas           Gov. Aggregation
DEO             5180010851070               Gas           Gov. Aggregation   COH             209616400019                Gas           Gov. Aggregation
DEO             9180008517555               Gas           Gov. Aggregation   COH             209686390015                Gas           Gov. Aggregation
DEO             3180009732440               Gas           Gov. Aggregation   COH             195912840025                Gas           Gov. Aggregation
DEO             1180010178506               Gas           Gov. Aggregation   COH             189647610042                Gas           Gov. Aggregation
DEO             9180010213218               Gas           Gov. Aggregation   COH             200027130023                Gas           Gov. Aggregation
DEO             1180010393228               Gas           Gov. Aggregation   COH             202386020033                Gas           Gov. Aggregation
DEO             7180008747005               Gas           Gov. Aggregation   COH             140204060089                Gas           Gov. Aggregation
DEO             8180008340605               Gas           Gov. Aggregation   COH             210200290011                Gas           Gov. Aggregation
DEO             6180010437710               Gas           Gov. Aggregation   COH             208903220019                Gas           Gov. Aggregation
DEO             0180008170607               Gas           Gov. Aggregation   COH             140144100024                Gas           Gov. Aggregation
DEO             1180009955621               Gas           Gov. Aggregation   COH             170751300029                Gas           Gov. Aggregation
DEO             7180009636698               Gas           Gov. Aggregation   COH             174770080022                Gas           Gov. Aggregation
DEO             2500065723123               Gas           Gov. Aggregation   COH             209841180019                Gas           Gov. Aggregation
DEO             2180010517962               Gas           Gov. Aggregation   COH             161114170028                Gas           Gov. Aggregation
DEO             6500066175528               Gas           Gov. Aggregation   COH             200386780036                Gas           Gov. Aggregation
DEO             8180010367922               Gas           Gov. Aggregation   COH             210723140014                Gas           Gov. Aggregation
DEO             9180008307765               Gas           Gov. Aggregation   COH             108736330030                Gas           Gov. Aggregation
DEO             5180008817981               Gas           Gov. Aggregation   COH             117642330056                Gas           Gov. Aggregation
DEO             0180010701545               Gas           Gov. Aggregation   COH             117853970064                Gas           Gov. Aggregation
DEO             5180008603393               Gas           Gov. Aggregation   COH             117914120026                Gas           Gov. Aggregation
VEDO            4018370372593633            Gas           Gov. Aggregation   COH             118113210033                Gas           Gov. Aggregation
VEDO            4017863562593647            Gas           Gov. Aggregation   COH             154834600066                Gas           Gov. Aggregation
VEDO            4020216772222654            Gas           Gov. Aggregation   COH             155722080026                Gas           Gov. Aggregation
VEDO            4001149592114117            Gas           Gov. Aggregation   COH             157202730074                Gas           Gov. Aggregation
VEDO            4020236972393238            Gas           Gov. Aggregation   COH             159722850020                Gas           Gov. Aggregation
VEDO            4002990792294367            Gas           Gov. Aggregation   COH             160385560015                Gas           Gov. Aggregation
VEDO            4020089852455897            Gas           Gov. Aggregation   COH             161372000063                Gas           Gov. Aggregation
VEDO            4018256322167385            Gas           Gov. Aggregation   COH             163081400073                Gas           Gov. Aggregation
VEDO            4019130852371719            Gas           Gov. Aggregation   VEDO            4004566572368512            Gas           Gov. Aggregation
VEDO            4017581072135012            Gas           Gov. Aggregation   DEO             8420902927277               Gas           Gov. Aggregation
VEDO            4020272402319100            Gas           Gov. Aggregation   VEDO            4003079192303405            Gas           Gov. Aggregation
VEDO            4002044222199709            Gas           Gov. Aggregation   DEO             9180013400967               Gas           Gov. Aggregation
VEDO            4016616282210821            Gas           Gov. Aggregation   DEO             9180015998336               Gas           Gov. Aggregation
VEDO            4018795892563987            Gas           Gov. Aggregation   DEO             0180015534203               Gas           Gov. Aggregation
VEDO            4015735852177569            Gas           Gov. Aggregation   DEO             0180010933682               Gas           Gov. Aggregation
VEDO            4016841112236930            Gas           Gov. Aggregation   DEO             1180012931274               Gas           Gov. Aggregation
VEDO            4016268342551294            Gas           Gov. Aggregation   DEO             0180011750209               Gas           Gov. Aggregation
VEDO            4016852122537199            Gas           Gov. Aggregation   DEO             4180010257552               Gas           Gov. Aggregation
COH             201624820012                Gas           Gov. Aggregation   DEO             9180013773402               Gas           Gov. Aggregation
COH             198812560023                Gas           Gov. Aggregation   DEO             6180015981027               Gas           Gov. Aggregation
COH             204721980010                Gas           Gov. Aggregation   DEO             9180012998305               Gas           Gov. Aggregation
COH             204985550012                Gas           Gov. Aggregation   DEO             1180015701041               Gas           Gov. Aggregation
VEDO            4020795822360664            Gas           Gov. Aggregation   DEO             7180015433981               Gas           Gov. Aggregation
VEDO            4002368852177687            Gas           Gov. Aggregation   DEO             8180015497213               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4019529902538439            Gas           Gov. Aggregation   DEO             3180015383250               Gas           Gov. Aggregation
VEDO            4020329822194311            Gas           Gov. Aggregation   DEO             1180015911639               Gas           Gov. Aggregation
COH             160649400027                Gas           Gov. Aggregation   DEO             1180013004068               Gas           Gov. Aggregation
VEDO            4019959662482093            Gas           Gov. Aggregation   DEO             0180013804863               Gas           Gov. Aggregation
VEDO            4003451622390468            Gas           Gov. Aggregation   DEO             4180013467654               Gas           Gov. Aggregation
COH             194825140037                Gas           Gov. Aggregation   DEO             5422105477404               Gas           Gov. Aggregation
COH             200184740032                Gas           Gov. Aggregation   DEO             3500017212019               Gas           Gov. Aggregation
COH             130985690058                Gas           Gov. Aggregation   DEO             3180016236860               Gas           Gov. Aggregation
COH             191261160032                Gas           Gov. Aggregation   DEO             1180015641379               Gas           Gov. Aggregation
COH             194038860035                Gas           Gov. Aggregation   DEO             8180015685722               Gas           Gov. Aggregation
COH             206025500014                Gas           Gov. Aggregation   DEO             1180014402355               Gas           Gov. Aggregation
COH             205862230018                Gas           Gov. Aggregation   DEO             9422106311174               Gas           Gov. Aggregation
COH             199753030038                Gas           Gov. Aggregation   DEO             5180012127954               Gas           Gov. Aggregation
COH             201772290020                Gas           Gov. Aggregation   DEO             1180012602042               Gas           Gov. Aggregation
COH             122382150031                Gas           Gov. Aggregation   DEO             9180015777816               Gas           Gov. Aggregation
COH             206147840015                Gas           Gov. Aggregation   DEO             3180012679681               Gas           Gov. Aggregation
COH             204995280018                Gas           Gov. Aggregation   DEO             4180010895753               Gas           Gov. Aggregation
COH             204089510010                Gas           Gov. Aggregation   DEO             6180014026156               Gas           Gov. Aggregation
COH             204442060015                Gas           Gov. Aggregation   DEO             3180016152226               Gas           Gov. Aggregation
COH             174589250021                Gas           Gov. Aggregation   DEO             4180015763190               Gas           Gov. Aggregation
COH             198916530029                Gas           Gov. Aggregation   DEO             1500066947629               Gas           Gov. Aggregation
COH             194698490651                Gas           Gov. Aggregation   DEO             6180007930701               Gas           Gov. Aggregation
COH             198148970035                Gas           Gov. Aggregation   DEO             4180015176824               Gas           Gov. Aggregation
COH             154650250033                Gas           Gov. Aggregation   DEO             4180011493864               Gas           Gov. Aggregation
COH             199547190014                Gas           Gov. Aggregation   DEO             0180005950031               Gas           Gov. Aggregation
COH             205602770015                Gas           Gov. Aggregation   DEO             5180000601788               Gas           Gov. Aggregation
COH             204146670015                Gas           Gov. Aggregation   DEO             4180004500123               Gas           Gov. Aggregation
DEO             4180007841761               Gas           Gov. Aggregation   DEO             3180014731836               Gas           Gov. Aggregation
DEO             5180009209791               Gas           Gov. Aggregation   DEO             3180013120540               Gas           Gov. Aggregation
DEO             4180007635736               Gas           Gov. Aggregation   DEO             0500045652019               Gas           Gov. Aggregation
DEO             7180007874960               Gas           Gov. Aggregation   DEO             2180010631988               Gas           Gov. Aggregation
DEO             7180008338474               Gas           Gov. Aggregation   DEO             1180013675837               Gas           Gov. Aggregation
DEO             8180007620248               Gas           Gov. Aggregation   DEO             7180015214298               Gas           Gov. Aggregation
COH             177306620037                Gas           Gov. Aggregation   DEO             2180013680544               Gas           Gov. Aggregation
COH             155184140034                Gas           Gov. Aggregation   DEO             9180010938285               Gas           Gov. Aggregation
COH             203795050020                Gas           Gov. Aggregation   DEO             5180011890345               Gas           Gov. Aggregation
COH             206093290016                Gas           Gov. Aggregation   DEO             7180013435287               Gas           Gov. Aggregation
COH             190479540032                Gas           Gov. Aggregation   DEO             0180015509606               Gas           Gov. Aggregation
COH             206278870012                Gas           Gov. Aggregation   DEO             1180015408461               Gas           Gov. Aggregation
COH             157581660022                Gas           Gov. Aggregation   COH             123847330018                Gas           Gov. Aggregation
COH             157559590060                Gas           Gov. Aggregation   COH             123855660012                Gas           Gov. Aggregation
COH             205978780018                Gas           Gov. Aggregation   COH             117287240068                Gas           Gov. Aggregation
COH             205992840015                Gas           Gov. Aggregation   COH             117359310015                Gas           Gov. Aggregation
COH             188734790032                Gas           Gov. Aggregation   COH             122669200078                Gas           Gov. Aggregation
COH             203985180011                Gas           Gov. Aggregation   COH             164626830021                Gas           Gov. Aggregation
COH             204996600018                Gas           Gov. Aggregation   COH             167629800055                Gas           Gov. Aggregation
COH             204500020019                Gas           Gov. Aggregation   COH             187787770027                Gas           Gov. Aggregation
COH             206617770013                Gas           Gov. Aggregation   COH             193414930015                Gas           Gov. Aggregation
COH             205954140012                Gas           Gov. Aggregation   COH             193425560029                Gas           Gov. Aggregation
COH             206402420011                Gas           Gov. Aggregation   COH             193520350021                Gas           Gov. Aggregation
COH             139630890021                Gas           Gov. Aggregation   COH             195591440012                Gas           Gov. Aggregation
COH             206429320016                Gas           Gov. Aggregation   COH             195616220014                Gas           Gov. Aggregation
COH             206019580011                Gas           Gov. Aggregation   COH             195622220011                Gas           Gov. Aggregation
COH             203958460019                Gas           Gov. Aggregation   COH             195639430012                Gas           Gov. Aggregation
COH             205212870011                Gas           Gov. Aggregation   COH             195648290013                Gas           Gov. Aggregation
COH             204826620013                Gas           Gov. Aggregation   COH             195730330019                Gas           Gov. Aggregation
COH             203968410018                Gas           Gov. Aggregation   COH             195747340012                Gas           Gov. Aggregation
COH             204728920018                Gas           Gov. Aggregation   COH             195754100017                Gas           Gov. Aggregation
COH             206604940014                Gas           Gov. Aggregation   COH             114417850011                Gas           Gov. Aggregation
COH             206343600019                Gas           Gov. Aggregation   DEO             0421504436009               Gas           Gov. Aggregation
COH             157282130045                Gas           Gov. Aggregation   DEO             0421802806647               Gas           Gov. Aggregation
COH             160374830020                Gas           Gov. Aggregation   DEO             0442101323523               Gas           Gov. Aggregation
COH             188495920032                Gas           Gov. Aggregation   DEO             0500002300144               Gas           Gov. Aggregation
COH             206246960010                Gas           Gov. Aggregation   COH             193673850014                Gas           Gov. Aggregation
COH             206055630014                Gas           Gov. Aggregation   COH             125190630034                Gas           Gov. Aggregation
COH             205992750014                Gas           Gov. Aggregation   COH             141918100022                Gas           Gov. Aggregation
COH             205274350010                Gas           Gov. Aggregation   COH             111175620016                Gas           Gov. Aggregation
COH             205689630012                Gas           Gov. Aggregation   COH             187411490012                Gas           Gov. Aggregation
COH             200942030024                Gas           Gov. Aggregation   COH             143152480016                Gas           Gov. Aggregation
COH             204920730010                Gas           Gov. Aggregation   COH             140744100040                Gas           Gov. Aggregation
COH             205058830017                Gas           Gov. Aggregation   COH             156110140047                Gas           Gov. Aggregation
COH             205839310010                Gas           Gov. Aggregation   COH             166106660018                Gas           Gov. Aggregation
COH             203780460016                Gas           Gov. Aggregation   COH             167401290055                Gas           Gov. Aggregation
COH             124878940023                Gas           Gov. Aggregation   COH             171961790021                Gas           Gov. Aggregation
COH             205180790017                Gas           Gov. Aggregation   COH             195630670010                Gas           Gov. Aggregation
COH             132993690022                Gas           Gov. Aggregation   COH             195666730012                Gas           Gov. Aggregation
COH             158131200039                Gas           Gov. Aggregation   COH             195702110014                Gas           Gov. Aggregation
COH             200340080020                Gas           Gov. Aggregation   COH             195716220012                Gas           Gov. Aggregation
COH             206225030019                Gas           Gov. Aggregation   COH             195716240018                Gas           Gov. Aggregation
COH             204743600013                Gas           Gov. Aggregation   COH             195716250016                Gas           Gov. Aggregation
COH             124391880046                Gas           Gov. Aggregation   COH             195728320016                Gas           Gov. Aggregation
COH             204182650013                Gas           Gov. Aggregation   COH             195739250018                Gas           Gov. Aggregation
COH             204900630013                Gas           Gov. Aggregation   COH             195797420010                Gas           Gov. Aggregation
COH             171562260046                Gas           Gov. Aggregation   COH             195823640017                Gas           Gov. Aggregation
COH             204881240017                Gas           Gov. Aggregation   COH             195841240013                Gas           Gov. Aggregation
COH             143895710031                Gas           Gov. Aggregation   COH             195871660012                Gas           Gov. Aggregation
COH             164484520055                Gas           Gov. Aggregation   COH             123638500024                Gas           Gov. Aggregation
COH             159186760054                Gas           Gov. Aggregation   COH             132146750051                Gas           Gov. Aggregation
COH             204055470029                Gas           Gov. Aggregation   COH             149413520026                Gas           Gov. Aggregation
COH             204986540012                Gas           Gov. Aggregation   COH             149949230040                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             123103490020                Gas           Gov. Aggregation   COH             166927730013                Gas           Gov. Aggregation
COH             195994600032                Gas           Gov. Aggregation   COH             187206400033                Gas           Gov. Aggregation
COH             204996750017                Gas           Gov. Aggregation   COH             190566050021                Gas           Gov. Aggregation
COH             204722760014                Gas           Gov. Aggregation   COH             191943340010                Gas           Gov. Aggregation
COH             124457090024                Gas           Gov. Aggregation   COH             191960320054                Gas           Gov. Aggregation
COH             203789520015                Gas           Gov. Aggregation   COH             192131291467                Gas           Gov. Aggregation
COH             162204820029                Gas           Gov. Aggregation   COH             192131291501                Gas           Gov. Aggregation
COH             204336090014                Gas           Gov. Aggregation   COH             192131291592                Gas           Gov. Aggregation
COH             141075100235                Gas           Gov. Aggregation   COH             195839460012                Gas           Gov. Aggregation
COH             204323620028                Gas           Gov. Aggregation   COH             195895590017                Gas           Gov. Aggregation
COH             205226100013                Gas           Gov. Aggregation   COH             195946680019                Gas           Gov. Aggregation
COH             162281620038                Gas           Gov. Aggregation   COH             195949110012                Gas           Gov. Aggregation
COH             175280780032                Gas           Gov. Aggregation   COH             195957250016                Gas           Gov. Aggregation
COH             204914160013                Gas           Gov. Aggregation   COH             196095680013                Gas           Gov. Aggregation
COH             197590320026                Gas           Gov. Aggregation   COH             196126480018                Gas           Gov. Aggregation
COH             205385600012                Gas           Gov. Aggregation   COH             196165160013                Gas           Gov. Aggregation
COH             150236810199                Gas           Gov. Aggregation   COH             138673950010                Gas           Gov. Aggregation
COH             205912920016                Gas           Gov. Aggregation   COH             148557900014                Gas           Gov. Aggregation
COH             172343670052                Gas           Gov. Aggregation   COH             187429100016                Gas           Gov. Aggregation
COH             205830030017                Gas           Gov. Aggregation   COH             188337460015                Gas           Gov. Aggregation
COH             172343670034                Gas           Gov. Aggregation   COH             160912840017                Gas           Gov. Aggregation
COH             201823940024                Gas           Gov. Aggregation   COH             159762010013                Gas           Gov. Aggregation
COH             203795100010                Gas           Gov. Aggregation   COH             142365620016                Gas           Gov. Aggregation
COH             203843520019                Gas           Gov. Aggregation   COH             145353380019                Gas           Gov. Aggregation
COH             203958620015                Gas           Gov. Aggregation   COH             145661780012                Gas           Gov. Aggregation
COH             204008390016                Gas           Gov. Aggregation   COH             148341130013                Gas           Gov. Aggregation
COH             204128070019                Gas           Gov. Aggregation   COH             195532710019                Gas           Gov. Aggregation
COH             204161270017                Gas           Gov. Aggregation   COH             171309660020                Gas           Gov. Aggregation
COH             204173200016                Gas           Gov. Aggregation   COH             137524290015                Gas           Gov. Aggregation
COH             204244070013                Gas           Gov. Aggregation   COH             111210540017                Gas           Gov. Aggregation
COH             204282150025                Gas           Gov. Aggregation   COH             170159690015                Gas           Gov. Aggregation
COH             118293990030                Gas           Gov. Aggregation   COH             124225390013                Gas           Gov. Aggregation
COH             189793190015                Gas           Gov. Aggregation   COH             131200120049                Gas           Gov. Aggregation
COH             206043910010                Gas           Gov. Aggregation   COH             135463010024                Gas           Gov. Aggregation
COH             176819050022                Gas           Gov. Aggregation   COH             135684860046                Gas           Gov. Aggregation
COH             199699940024                Gas           Gov. Aggregation   COH             141915060134                Gas           Gov. Aggregation
COH             204415200012                Gas           Gov. Aggregation   COH             154275350092                Gas           Gov. Aggregation
COH             153040700023                Gas           Gov. Aggregation   COH             187824220013                Gas           Gov. Aggregation
COH             162054330030                Gas           Gov. Aggregation   COH             195865690019                Gas           Gov. Aggregation
COH             206553640016                Gas           Gov. Aggregation   COH             196288140017                Gas           Gov. Aggregation
COH             205583460012                Gas           Gov. Aggregation   COH             196295810011                Gas           Gov. Aggregation
COH             205683710017                Gas           Gov. Aggregation   COH             196310530016                Gas           Gov. Aggregation
COH             205705920033                Gas           Gov. Aggregation   COH             196342620010                Gas           Gov. Aggregation
COH             205869770011                Gas           Gov. Aggregation   COH             196424230018                Gas           Gov. Aggregation
COH             172280140039                Gas           Gov. Aggregation   COH             196424290016                Gas           Gov. Aggregation
COH             198393000020                Gas           Gov. Aggregation   COH             196651600019                Gas           Gov. Aggregation
COH             204313000010                Gas           Gov. Aggregation   COH             137732470016                Gas           Gov. Aggregation
COH             154964120035                Gas           Gov. Aggregation   COH             162776190021                Gas           Gov. Aggregation
COH             206634570019                Gas           Gov. Aggregation   COH             166361420036                Gas           Gov. Aggregation
COH             206545530016                Gas           Gov. Aggregation   COH             168896410015                Gas           Gov. Aggregation
COH             203498090022                Gas           Gov. Aggregation   COH             170161270027                Gas           Gov. Aggregation
COH             205816520014                Gas           Gov. Aggregation   COH             187287720018                Gas           Gov. Aggregation
COH             154491100041                Gas           Gov. Aggregation   COH             189180370016                Gas           Gov. Aggregation
COH             205454310016                Gas           Gov. Aggregation   COH             187407020019                Gas           Gov. Aggregation
COH             201589130022                Gas           Gov. Aggregation   COH             190971140023                Gas           Gov. Aggregation
COH             206467540010                Gas           Gov. Aggregation   COH             192544930011                Gas           Gov. Aggregation
COH             203968690010                Gas           Gov. Aggregation   COH             195945840017                Gas           Gov. Aggregation
COH             174538210099                Gas           Gov. Aggregation   COH             195630060018                Gas           Gov. Aggregation
COH             166920510040                Gas           Gov. Aggregation   COH             196232640019                Gas           Gov. Aggregation
VEDO            4003042352299637            Gas           Gov. Aggregation   COH             195939240016                Gas           Gov. Aggregation
VEDO            4017049002227363            Gas           Gov. Aggregation   COH             196422790015                Gas           Gov. Aggregation
VEDO            4018135492210390            Gas           Gov. Aggregation   COH             196035600015                Gas           Gov. Aggregation
VEDO            4003255662321647            Gas           Gov. Aggregation   COH             196041490016                Gas           Gov. Aggregation
VEDO            4002782522434322            Gas           Gov. Aggregation   COH             196086710015                Gas           Gov. Aggregation
VEDO            4019139552215085            Gas           Gov. Aggregation   COH             196339290017                Gas           Gov. Aggregation
VEDO            4019269002506849            Gas           Gov. Aggregation   COH             196339360012                Gas           Gov. Aggregation
VEDO            4021049512588127            Gas           Gov. Aggregation   COH             196383010012                Gas           Gov. Aggregation
VEDO            4001402962137806            Gas           Gov. Aggregation   COH             124969020032                Gas           Gov. Aggregation
VEDO            4019952112113650            Gas           Gov. Aggregation   COH             124430270022                Gas           Gov. Aggregation
VEDO            4020852682155597            Gas           Gov. Aggregation   COH             124432810015                Gas           Gov. Aggregation
VEDO            4020852682206829            Gas           Gov. Aggregation   COH             124967090023                Gas           Gov. Aggregation
VEDO            4017307422516694            Gas           Gov. Aggregation   COH             148500860012                Gas           Gov. Aggregation
VEDO            4001952942367731            Gas           Gov. Aggregation   COH             148585210010                Gas           Gov. Aggregation
VEDO            4015222572203520            Gas           Gov. Aggregation   COH             149236200029                Gas           Gov. Aggregation
VEDO            4018134332100451            Gas           Gov. Aggregation   COH             157584080037                Gas           Gov. Aggregation
VEDO            4019752862368865            Gas           Gov. Aggregation   COH             155068860011                Gas           Gov. Aggregation
VEDO            4020320292675929            Gas           Gov. Aggregation   COH             159398620027                Gas           Gov. Aggregation
VEDO            4015067282302735            Gas           Gov. Aggregation   COH             172475650011                Gas           Gov. Aggregation
VEDO            4017962402186782            Gas           Gov. Aggregation   COH             138449210010                Gas           Gov. Aggregation
VEDO            4021052772311673            Gas           Gov. Aggregation   COH             176961110055                Gas           Gov. Aggregation
VEDO            4020197112127960            Gas           Gov. Aggregation   COH             172249970086                Gas           Gov. Aggregation
VEDO            4016262962223943            Gas           Gov. Aggregation   COH             192261330017                Gas           Gov. Aggregation
VEDO            4018166652393230            Gas           Gov. Aggregation   COH             191985250011                Gas           Gov. Aggregation
VEDO            4017742872514889            Gas           Gov. Aggregation   COH             194406530015                Gas           Gov. Aggregation
VEDO            4002814182235403            Gas           Gov. Aggregation   COH             195277650014                Gas           Gov. Aggregation
VEDO            4019287982599644            Gas           Gov. Aggregation   COH             195438610010                Gas           Gov. Aggregation
VEDO            4019535002288586            Gas           Gov. Aggregation   COH             195672900013                Gas           Gov. Aggregation
VEDO            4019941482130940            Gas           Gov. Aggregation   COH             195801100016                Gas           Gov. Aggregation
VEDO            4018760492146234            Gas           Gov. Aggregation   COH             196125880016                Gas           Gov. Aggregation
COH             176831920014                Gas           Gov. Aggregation   COH             195788930012                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             124424340039                Gas           Gov. Aggregation   COH             196130590016                Gas           Gov. Aggregation
COH             122273890037                Gas           Gov. Aggregation   COH             196397280017                Gas           Gov. Aggregation
COH             155185150012                Gas           Gov. Aggregation   COH             196421180015                Gas           Gov. Aggregation
COH             158488000018                Gas           Gov. Aggregation   COH             110399500018                Gas           Gov. Aggregation
COH             161340710016                Gas           Gov. Aggregation   COH             111053370017                Gas           Gov. Aggregation
COH             122244050187                Gas           Gov. Aggregation   COH             196504010014                Gas           Gov. Aggregation
COH             204537550039                Gas           Gov. Aggregation   COH             174669540057                Gas           Gov. Aggregation
COH             200482200033                Gas           Gov. Aggregation   COH             111055410014                Gas           Gov. Aggregation
COH             206096970017                Gas           Gov. Aggregation   COH             111101860011                Gas           Gov. Aggregation
COH             204933610018                Gas           Gov. Aggregation   COH             111185900025                Gas           Gov. Aggregation
COH             122107690021                Gas           Gov. Aggregation   COH             188019360127                Gas           Gov. Aggregation
COH             203680930028                Gas           Gov. Aggregation   COH             134158650037                Gas           Gov. Aggregation
COH             206942730012                Gas           Gov. Aggregation   COH             134404450027                Gas           Gov. Aggregation
COH             205393750014                Gas           Gov. Aggregation   COH             187865350029                Gas           Gov. Aggregation
COH             199879260016                Gas           Gov. Aggregation   COH             189259890681                Gas           Gov. Aggregation
COH             207081610012                Gas           Gov. Aggregation   COH             193792870036                Gas           Gov. Aggregation
COH             205596970018                Gas           Gov. Aggregation   COH             118938690035                Gas           Gov. Aggregation
COH             204374420014                Gas           Gov. Aggregation   COH             194186070010                Gas           Gov. Aggregation
COH             134394110101                Gas           Gov. Aggregation   COH             139499030012                Gas           Gov. Aggregation
COH             203571630013                Gas           Gov. Aggregation   COH             140339150012                Gas           Gov. Aggregation
COH             206803650013                Gas           Gov. Aggregation   COH             141125600028                Gas           Gov. Aggregation
COH             203361620029                Gas           Gov. Aggregation   COH             195142260011                Gas           Gov. Aggregation
COH             190223700048                Gas           Gov. Aggregation   COH             194984320015                Gas           Gov. Aggregation
COH             165704490026                Gas           Gov. Aggregation   COH             196366740015                Gas           Gov. Aggregation
COH             196314560012                Gas           Gov. Aggregation   COH             146900340015                Gas           Gov. Aggregation
COH             163378890018                Gas           Gov. Aggregation   COH             194873240017                Gas           Gov. Aggregation
COH             169705710023                Gas           Gov. Aggregation   COH             161529890019                Gas           Gov. Aggregation
COH             157926470039                Gas           Gov. Aggregation   COH             166490620022                Gas           Gov. Aggregation
COH             199386630013                Gas           Gov. Aggregation   COH             170196780018                Gas           Gov. Aggregation
COH             117788040068                Gas           Gov. Aggregation   COH             171394770019                Gas           Gov. Aggregation
COH             120206760064                Gas           Gov. Aggregation   COH             175414150020                Gas           Gov. Aggregation
COH             195574180022                Gas           Gov. Aggregation   COH             143319960020                Gas           Gov. Aggregation
COH             119317490050                Gas           Gov. Aggregation   COH             188002860010                Gas           Gov. Aggregation
COH             203033920012                Gas           Gov. Aggregation   COH             147799490056                Gas           Gov. Aggregation
COH             193673500062                Gas           Gov. Aggregation   COH             190450380018                Gas           Gov. Aggregation
COH             204456100035                Gas           Gov. Aggregation   COH             191419710013                Gas           Gov. Aggregation
COH             173167730034                Gas           Gov. Aggregation   COH             190291500010                Gas           Gov. Aggregation
COH             168291450028                Gas           Gov. Aggregation   COH             157891520015                Gas           Gov. Aggregation
COH             194952120023                Gas           Gov. Aggregation   COH             191509050011                Gas           Gov. Aggregation
COH             204778870014                Gas           Gov. Aggregation   COH             192041950022                Gas           Gov. Aggregation
COH             206942200013                Gas           Gov. Aggregation   COH             192281630021                Gas           Gov. Aggregation
COH             119191310046                Gas           Gov. Aggregation   COH             166427920022                Gas           Gov. Aggregation
COH             204526040011                Gas           Gov. Aggregation   COH             167645370098                Gas           Gov. Aggregation
COH             204526040039                Gas           Gov. Aggregation   COH             192851660017                Gas           Gov. Aggregation
COH             123936050090                Gas           Gov. Aggregation   COH             192665230012                Gas           Gov. Aggregation
COH             201587910013                Gas           Gov. Aggregation   COH             165018020010                Gas           Gov. Aggregation
COH             194973400011                Gas           Gov. Aggregation   COH             165119970017                Gas           Gov. Aggregation
COH             205244720015                Gas           Gov. Aggregation   COH             168879260013                Gas           Gov. Aggregation
COH             202789760016                Gas           Gov. Aggregation   COH             194576510010                Gas           Gov. Aggregation
COH             200994270016                Gas           Gov. Aggregation   COH             167772980019                Gas           Gov. Aggregation
COH             118130450046                Gas           Gov. Aggregation   COH             170550030013                Gas           Gov. Aggregation
COH             197518300013                Gas           Gov. Aggregation   COH             195278480018                Gas           Gov. Aggregation
COH             177732510046                Gas           Gov. Aggregation   COH             171077160019                Gas           Gov. Aggregation
COH             198992930016                Gas           Gov. Aggregation   COH             171105130023                Gas           Gov. Aggregation
COH             186078650017                Gas           Gov. Aggregation   COH             196085210012                Gas           Gov. Aggregation
COH             193150520039                Gas           Gov. Aggregation   COH             169491450050                Gas           Gov. Aggregation
COH             204241590010                Gas           Gov. Aggregation   COH             170746890027                Gas           Gov. Aggregation
COH             162388430023                Gas           Gov. Aggregation   COH             196364340013                Gas           Gov. Aggregation
COH             201796760012                Gas           Gov. Aggregation   COH             174234950025                Gas           Gov. Aggregation
COH             190619120023                Gas           Gov. Aggregation   COH             175236380020                Gas           Gov. Aggregation
COH             120450380058                Gas           Gov. Aggregation   COH             196147420016                Gas           Gov. Aggregation
COH             205011580027                Gas           Gov. Aggregation   COH             110483200021                Gas           Gov. Aggregation
COH             186825350015                Gas           Gov. Aggregation   COH             110493780154                Gas           Gov. Aggregation
COH             154255990054                Gas           Gov. Aggregation   COH             110561920015                Gas           Gov. Aggregation
COH             171790280012                Gas           Gov. Aggregation   COH             173848570016                Gas           Gov. Aggregation
COH             202008010017                Gas           Gov. Aggregation   COH             110662210010                Gas           Gov. Aggregation
COH             117609300025                Gas           Gov. Aggregation   COH             110522520048                Gas           Gov. Aggregation
COH             140429550035                Gas           Gov. Aggregation   COH             176176280019                Gas           Gov. Aggregation
COH             195860830019                Gas           Gov. Aggregation   COH             110725000010                Gas           Gov. Aggregation
COH             203303400018                Gas           Gov. Aggregation   COH             177125070019                Gas           Gov. Aggregation
COH             190768670014                Gas           Gov. Aggregation   COH             186830520027                Gas           Gov. Aggregation
COH             202277880025                Gas           Gov. Aggregation   COH             187732900033                Gas           Gov. Aggregation
COH             174737070024                Gas           Gov. Aggregation   COH             188024560017                Gas           Gov. Aggregation
COH             167213960017                Gas           Gov. Aggregation   COH             186278660020                Gas           Gov. Aggregation
COH             195061440015                Gas           Gov. Aggregation   COH             187279520017                Gas           Gov. Aggregation
COH             173165400019                Gas           Gov. Aggregation   COH             187928670019                Gas           Gov. Aggregation
COH             168708200025                Gas           Gov. Aggregation   COH             188415880011                Gas           Gov. Aggregation
COH             197160550010                Gas           Gov. Aggregation   COH             188787900019                Gas           Gov. Aggregation
COH             204290220023                Gas           Gov. Aggregation   COH             188049640027                Gas           Gov. Aggregation
COH             112766140022                Gas           Gov. Aggregation   COH             188057290015                Gas           Gov. Aggregation
COH             205243610029                Gas           Gov. Aggregation   COH             189726170010                Gas           Gov. Aggregation
COH             204909240017                Gas           Gov. Aggregation   COH             191168410028                Gas           Gov. Aggregation
COH             162611880024                Gas           Gov. Aggregation   COH             190662960026                Gas           Gov. Aggregation
COH             140259940025                Gas           Gov. Aggregation   COH             190919090015                Gas           Gov. Aggregation
COH             138036220040                Gas           Gov. Aggregation   COH             191464470019                Gas           Gov. Aggregation
COH             153556280010                Gas           Gov. Aggregation   COH             192452860048                Gas           Gov. Aggregation
COH             201919900038                Gas           Gov. Aggregation   COH             192057580018                Gas           Gov. Aggregation
COH             150051940041                Gas           Gov. Aggregation   COH             133196530015                Gas           Gov. Aggregation
COH             190454120014                Gas           Gov. Aggregation   COH             194477200015                Gas           Gov. Aggregation
COH             164221610034                Gas           Gov. Aggregation   COH             193809600017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             118703580026                Gas           Gov. Aggregation   COH             135935730013                Gas           Gov. Aggregation
COH             206307280013                Gas           Gov. Aggregation   COH             194876980016                Gas           Gov. Aggregation
COH             146023910033                Gas           Gov. Aggregation   COH             194695110012                Gas           Gov. Aggregation
COH             188652700034                Gas           Gov. Aggregation   COH             195223840017                Gas           Gov. Aggregation
COH             206148050019                Gas           Gov. Aggregation   COH             195182130014                Gas           Gov. Aggregation
COH             207288370015                Gas           Gov. Aggregation   COH             196330120010                Gas           Gov. Aggregation
COH             190674180052                Gas           Gov. Aggregation   COH             196379080017                Gas           Gov. Aggregation
COH             205468880018                Gas           Gov. Aggregation   COH             196424170011                Gas           Gov. Aggregation
COH             203668700013                Gas           Gov. Aggregation   COH             196638050013                Gas           Gov. Aggregation
COH             198553560023                Gas           Gov. Aggregation   COH             110688650023                Gas           Gov. Aggregation
COH             205227930017                Gas           Gov. Aggregation   COH             156795090011                Gas           Gov. Aggregation
COH             205691790014                Gas           Gov. Aggregation   COH             123670660023                Gas           Gov. Aggregation
COH             204628620013                Gas           Gov. Aggregation   COH             123682350069                Gas           Gov. Aggregation
COH             205661800014                Gas           Gov. Aggregation   COH             124074970021                Gas           Gov. Aggregation
COH             207674520014                Gas           Gov. Aggregation   COH             129847360169                Gas           Gov. Aggregation
COH             205157860011                Gas           Gov. Aggregation   COH             130481860023                Gas           Gov. Aggregation
COH             205810690011                Gas           Gov. Aggregation   COH             136486540051                Gas           Gov. Aggregation
COH             207830330012                Gas           Gov. Aggregation   COH             146563790026                Gas           Gov. Aggregation
COH             206292850016                Gas           Gov. Aggregation   COH             143490950039                Gas           Gov. Aggregation
COH             201260330044                Gas           Gov. Aggregation   COH             138383710015                Gas           Gov. Aggregation
COH             207369080014                Gas           Gov. Aggregation   COH             152505000016                Gas           Gov. Aggregation
COH             207616450011                Gas           Gov. Aggregation   COH             144271880019                Gas           Gov. Aggregation
COH             207738250015                Gas           Gov. Aggregation   COH             144708150024                Gas           Gov. Aggregation
COH             207846000018                Gas           Gov. Aggregation   COH             151441660024                Gas           Gov. Aggregation
COH             207879270013                Gas           Gov. Aggregation   COH             151617060027                Gas           Gov. Aggregation
COH             207841470010                Gas           Gov. Aggregation   COH             151853510040                Gas           Gov. Aggregation
COH             195972910033                Gas           Gov. Aggregation   COH             147458240023                Gas           Gov. Aggregation
COH             195728760023                Gas           Gov. Aggregation   COH             152080520019                Gas           Gov. Aggregation
COH             207541650018                Gas           Gov. Aggregation   COH             151113950019                Gas           Gov. Aggregation
COH             130595596416                Gas           Gov. Aggregation   COH             156848550039                Gas           Gov. Aggregation
COH             206205350014                Gas           Gov. Aggregation   COH             158160160019                Gas           Gov. Aggregation
COH             112327330022                Gas           Gov. Aggregation   COH             160476440017                Gas           Gov. Aggregation
COH             166822200114                Gas           Gov. Aggregation   COH             158718510012                Gas           Gov. Aggregation
COH             206191910017                Gas           Gov. Aggregation   COH             168659540010                Gas           Gov. Aggregation
COH             203834100034                Gas           Gov. Aggregation   COH             172432610108                Gas           Gov. Aggregation
COH             206604240011                Gas           Gov. Aggregation   COH             188679330027                Gas           Gov. Aggregation
COH             186745080067                Gas           Gov. Aggregation   COH             186499870019                Gas           Gov. Aggregation
COH             207708020016                Gas           Gov. Aggregation   COH             186629020010                Gas           Gov. Aggregation
COH             208133650012                Gas           Gov. Aggregation   COH             191934950020                Gas           Gov. Aggregation
COH             138940510024                Gas           Gov. Aggregation   COH             191953860010                Gas           Gov. Aggregation
COH             208185730016                Gas           Gov. Aggregation   COH             193059970011                Gas           Gov. Aggregation
COH             205757490017                Gas           Gov. Aggregation   COH             194326160013                Gas           Gov. Aggregation
COH             204488410015                Gas           Gov. Aggregation   COH             195969890017                Gas           Gov. Aggregation
COH             202481070022                Gas           Gov. Aggregation   COH             196020560015                Gas           Gov. Aggregation
DEO             0330000000689               Gas           Gov. Aggregation   COH             196434030019                Gas           Gov. Aggregation
DEO             1421000161327               Gas           Gov. Aggregation   COH             196132840019                Gas           Gov. Aggregation
COH             197489890022                Gas           Gov. Aggregation   COH             195160940010                Gas           Gov. Aggregation
VEDO            4021486722442094            Gas           Gov. Aggregation   COH             195420860015                Gas           Gov. Aggregation
VEDO            4021182192627393            Gas           Gov. Aggregation   COH             122285560068                Gas           Gov. Aggregation
VEDO            4021225742355675            Gas           Gov. Aggregation   COH             125799330028                Gas           Gov. Aggregation
VEDO            4021066642259147            Gas           Gov. Aggregation   COH             125824250020                Gas           Gov. Aggregation
VEDO            4021153592418366            Gas           Gov. Aggregation   COH             196558200011                Gas           Gov. Aggregation
VEDO            4020850442222227            Gas           Gov. Aggregation   COH             123752250025                Gas           Gov. Aggregation
VEDO            4021121692216062            Gas           Gov. Aggregation   COH             125843190014                Gas           Gov. Aggregation
VEDO            4021118102414199            Gas           Gov. Aggregation   COH             131804660055                Gas           Gov. Aggregation
VEDO            4020945752405073            Gas           Gov. Aggregation   COH             141025470019                Gas           Gov. Aggregation
VEDO            4016466772515800            Gas           Gov. Aggregation   COH             143709290051                Gas           Gov. Aggregation
VEDO            4003947252365450            Gas           Gov. Aggregation   COH             155338400041                Gas           Gov. Aggregation
VEDO            4017590332167546            Gas           Gov. Aggregation   COH             108769440047                Gas           Gov. Aggregation
VEDO            4019386182398711            Gas           Gov. Aggregation   COH             162405640012                Gas           Gov. Aggregation
VEDO            4017639622465843            Gas           Gov. Aggregation   COH             162461700011                Gas           Gov. Aggregation
VEDO            4021211802146551            Gas           Gov. Aggregation   COH             164057950023                Gas           Gov. Aggregation
VEDO            4017679002316441            Gas           Gov. Aggregation   COH             163668640015                Gas           Gov. Aggregation
VEDO            4020888732685863            Gas           Gov. Aggregation   COH             164052430013                Gas           Gov. Aggregation
VEDO            4015016592261447            Gas           Gov. Aggregation   COH             166258410028                Gas           Gov. Aggregation
VEDO            4021213532461894            Gas           Gov. Aggregation   COH             166619290019                Gas           Gov. Aggregation
VEDO            4021099372187675            Gas           Gov. Aggregation   COH             167643040028                Gas           Gov. Aggregation
VEDO            4018258252482461            Gas           Gov. Aggregation   COH             166684370015                Gas           Gov. Aggregation
VEDO            4021427232345442            Gas           Gov. Aggregation   COH             167666910027                Gas           Gov. Aggregation
VEDO            4020279022389270            Gas           Gov. Aggregation   COH             169471320040                Gas           Gov. Aggregation
VEDO            4021081992169741            Gas           Gov. Aggregation   COH             169655410014                Gas           Gov. Aggregation
VEDO            4021171892264191            Gas           Gov. Aggregation   COH             169655980015                Gas           Gov. Aggregation
VEDO            4004379472418904            Gas           Gov. Aggregation   COH             170920670069                Gas           Gov. Aggregation
VEDO            4004379472441806            Gas           Gov. Aggregation   COH             170784740055                Gas           Gov. Aggregation
VEDO            4021215582303948            Gas           Gov. Aggregation   COH             171032970013                Gas           Gov. Aggregation
VEDO            4020109162452209            Gas           Gov. Aggregation   COH             172901910011                Gas           Gov. Aggregation
VEDO            4016493932456913            Gas           Gov. Aggregation   COH             173002580016                Gas           Gov. Aggregation
VEDO            4019988122119424            Gas           Gov. Aggregation   COH             174268830010                Gas           Gov. Aggregation
VEDO            4021489462233803            Gas           Gov. Aggregation   COH             175207760012                Gas           Gov. Aggregation
VEDO            4018794692102523            Gas           Gov. Aggregation   COH             177293400014                Gas           Gov. Aggregation
VEDO            4018609122121685            Gas           Gov. Aggregation   COH             175516770033                Gas           Gov. Aggregation
VEDO            4021478192308410            Gas           Gov. Aggregation   COH             177580350016                Gas           Gov. Aggregation
VEDO            4021292612403966            Gas           Gov. Aggregation   COH             177586460039                Gas           Gov. Aggregation
VEDO            4001229682201060            Gas           Gov. Aggregation   COH             185508130014                Gas           Gov. Aggregation
VEDO            4001939682304680            Gas           Gov. Aggregation   COH             185594980015                Gas           Gov. Aggregation
VEDO            4015954102273955            Gas           Gov. Aggregation   COH             186162180017                Gas           Gov. Aggregation
VEDO            4021436482340078            Gas           Gov. Aggregation   COH             194517250019                Gas           Gov. Aggregation
VEDO            4021506572484024            Gas           Gov. Aggregation   COH             186539160021                Gas           Gov. Aggregation
VEDO            4016558682496913            Gas           Gov. Aggregation   COH             194830660028                Gas           Gov. Aggregation
VEDO            4021404912111428            Gas           Gov. Aggregation   COH             186377720018                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4018919672457973            Gas           Gov. Aggregation   COH             186807820023                Gas           Gov. Aggregation
VEDO         4018010162109571            Gas           Gov. Aggregation   COH             187130810010                Gas           Gov. Aggregation
VEDO         4016056542132636            Gas           Gov. Aggregation   COH             187078960011                Gas           Gov. Aggregation
VEDO         4021290292230307            Gas           Gov. Aggregation   COH             195123930029                Gas           Gov. Aggregation
VEDO         4021432402119301            Gas           Gov. Aggregation   COH             195406550010                Gas           Gov. Aggregation
VEDO         4003671302447622            Gas           Gov. Aggregation   COH             188895620019                Gas           Gov. Aggregation
VEDO         4020927352289362            Gas           Gov. Aggregation   COH             189006240011                Gas           Gov. Aggregation
VEDO         4019824832274951            Gas           Gov. Aggregation   COH             189006390029                Gas           Gov. Aggregation
VEDO         4021435802266293            Gas           Gov. Aggregation   COH             189269610017                Gas           Gov. Aggregation
VEDO         4021122022129845            Gas           Gov. Aggregation   COH             161018980022                Gas           Gov. Aggregation
VEDO         4001533952362020            Gas           Gov. Aggregation   COH             161020650026                Gas           Gov. Aggregation
VEDO         4016589072160851            Gas           Gov. Aggregation   COH             195894010010                Gas           Gov. Aggregation
VEDO         4020927132108720            Gas           Gov. Aggregation   COH             189878800016                Gas           Gov. Aggregation
VEDO         4021397292288731            Gas           Gov. Aggregation   COH             195910370019                Gas           Gov. Aggregation
VEDO         4021429832264169            Gas           Gov. Aggregation   COH             196109150013                Gas           Gov. Aggregation
VEDO         4021037962422689            Gas           Gov. Aggregation   COH             190721210027                Gas           Gov. Aggregation
VEDO         4021037962538330            Gas           Gov. Aggregation   COH             196204040014                Gas           Gov. Aggregation
VEDO         4021149512154293            Gas           Gov. Aggregation   COH             190753120010                Gas           Gov. Aggregation
VEDO         4021401642261336            Gas           Gov. Aggregation   COH             190812180012                Gas           Gov. Aggregation
VEDO         4003694712367804            Gas           Gov. Aggregation   COH             190917200015                Gas           Gov. Aggregation
VEDO         4021037602105362            Gas           Gov. Aggregation   COH             190982700013                Gas           Gov. Aggregation
VEDO         4004881812378821            Gas           Gov. Aggregation   COH             191295280018                Gas           Gov. Aggregation
VEDO         4021173292486556            Gas           Gov. Aggregation   COH             191344660013                Gas           Gov. Aggregation
VEDO         4017488772368841            Gas           Gov. Aggregation   COH             191365060015                Gas           Gov. Aggregation
VEDO         4020052772478850            Gas           Gov. Aggregation   COH             191584900014                Gas           Gov. Aggregation
VEDO         4004784052456831            Gas           Gov. Aggregation   COH             191739200012                Gas           Gov. Aggregation
VEDO         4018201672310697            Gas           Gov. Aggregation   COH             191087390016                Gas           Gov. Aggregation
VEDO         4004381472527851            Gas           Gov. Aggregation   COH             191926710027                Gas           Gov. Aggregation
VEDO         4002254062631483            Gas           Gov. Aggregation   COH             191934600014                Gas           Gov. Aggregation
VEDO         4021012582217956            Gas           Gov. Aggregation   COH             192039380018                Gas           Gov. Aggregation
VEDO         4015149662398752            Gas           Gov. Aggregation   COH             192131290440                Gas           Gov. Aggregation
VEDO         4021272342257014            Gas           Gov. Aggregation   COH             192131292037                Gas           Gov. Aggregation
VEDO         4018930142528937            Gas           Gov. Aggregation   COH             192281770022                Gas           Gov. Aggregation
VEDO         4021121592436914            Gas           Gov. Aggregation   COH             192559770014                Gas           Gov. Aggregation
VEDO         4021423942491111            Gas           Gov. Aggregation   COH             192481730017                Gas           Gov. Aggregation
VEDO         4018886202500940            Gas           Gov. Aggregation   COH             192861610025                Gas           Gov. Aggregation
VEDO         4021157342498867            Gas           Gov. Aggregation   COH             192822680014                Gas           Gov. Aggregation
VEDO         4021164392495711            Gas           Gov. Aggregation   COH             192961450018                Gas           Gov. Aggregation
VEDO         4021076702300520            Gas           Gov. Aggregation   COH             196644830016                Gas           Gov. Aggregation
VEDO         4016017052426620            Gas           Gov. Aggregation   COH             193322850017                Gas           Gov. Aggregation
VEDO         4020905092112943            Gas           Gov. Aggregation   COH             193378600012                Gas           Gov. Aggregation
VEDO         4021243842224287            Gas           Gov. Aggregation   COH             193497790011                Gas           Gov. Aggregation
VEDO         4021262852134279            Gas           Gov. Aggregation   COH             193639100013                Gas           Gov. Aggregation
VEDO         4003561362507466            Gas           Gov. Aggregation   COH             193686220019                Gas           Gov. Aggregation
VEDO         4020330762676788            Gas           Gov. Aggregation   COH             194401010014                Gas           Gov. Aggregation
VEDO         4021410472389380            Gas           Gov. Aggregation   COH             194197470013                Gas           Gov. Aggregation
VEDO         4021414072493271            Gas           Gov. Aggregation   COH             193824480011                Gas           Gov. Aggregation
VEDO         4016982022318321            Gas           Gov. Aggregation   COH             194474110010                Gas           Gov. Aggregation
VEDO         4001972332209075            Gas           Gov. Aggregation   COH             194763290010                Gas           Gov. Aggregation
VEDO         4017549712451529            Gas           Gov. Aggregation   COH             194882170013                Gas           Gov. Aggregation
VEDO         4021441612397664            Gas           Gov. Aggregation   COH             194780290014                Gas           Gov. Aggregation
VEDO         4019086592231887            Gas           Gov. Aggregation   COH             194486900019                Gas           Gov. Aggregation
VEDO         4021072202582899            Gas           Gov. Aggregation   COH             195137460010                Gas           Gov. Aggregation
VEDO         4015293892290680            Gas           Gov. Aggregation   COH             195343240019                Gas           Gov. Aggregation
VEDO         4020903822105852            Gas           Gov. Aggregation   COH             195020850033                Gas           Gov. Aggregation
VEDO         4021232642102020            Gas           Gov. Aggregation   COH             195328420013                Gas           Gov. Aggregation
VEDO         4019212032515014            Gas           Gov. Aggregation   COH             195557780013                Gas           Gov. Aggregation
VEDO         4020947472570444            Gas           Gov. Aggregation   COH             195573630010                Gas           Gov. Aggregation
VEDO         4021065432336657            Gas           Gov. Aggregation   COH             195736680014                Gas           Gov. Aggregation
VEDO         4019271872345264            Gas           Gov. Aggregation   COH             195715800012                Gas           Gov. Aggregation
VEDO         4004520572459446            Gas           Gov. Aggregation   COH             195828040013                Gas           Gov. Aggregation
VEDO         4019843182399253            Gas           Gov. Aggregation   COH             196106540017                Gas           Gov. Aggregation
VEDO         4020319322150694            Gas           Gov. Aggregation   COH             196108700019                Gas           Gov. Aggregation
VEDO         4021457772455691            Gas           Gov. Aggregation   COH             196108970013                Gas           Gov. Aggregation
VEDO         4004007502286473            Gas           Gov. Aggregation   COH             196116560012                Gas           Gov. Aggregation
VEDO         4019836732203090            Gas           Gov. Aggregation   COH             196032950018                Gas           Gov. Aggregation
VEDO         4018258942505665            Gas           Gov. Aggregation   COH             196193570018                Gas           Gov. Aggregation
VEDO         4021261132154515            Gas           Gov. Aggregation   COH             196288890010                Gas           Gov. Aggregation
VEDO         4021099982475113            Gas           Gov. Aggregation   COH             196230380018                Gas           Gov. Aggregation
VEDO         4021005802228239            Gas           Gov. Aggregation   COH             196243360015                Gas           Gov. Aggregation
VEDO         4016833932302881            Gas           Gov. Aggregation   COH             196320940019                Gas           Gov. Aggregation
VEDO         4003209152588566            Gas           Gov. Aggregation   COH             196526410014                Gas           Gov. Aggregation
VEDO         4017106552588553            Gas           Gov. Aggregation   COH             196526650014                Gas           Gov. Aggregation
VEDO         4021199352588552            Gas           Gov. Aggregation   COH             196596810013                Gas           Gov. Aggregation
VEDO         4021464292448708            Gas           Gov. Aggregation   COH             117101710025                Gas           Gov. Aggregation
VEDO         4021079482510869            Gas           Gov. Aggregation   COH             117985810031                Gas           Gov. Aggregation
VEDO         4018432452680890            Gas           Gov. Aggregation   COH             117345150018                Gas           Gov. Aggregation
VEDO         4018419032283558            Gas           Gov. Aggregation   COH             117350780015                Gas           Gov. Aggregation
VEDO         4021242142502750            Gas           Gov. Aggregation   COH             117356460010                Gas           Gov. Aggregation
VEDO         4019919102378303            Gas           Gov. Aggregation   COH             117871840054                Gas           Gov. Aggregation
VEDO         4021261072286095            Gas           Gov. Aggregation   COH             117453820027                Gas           Gov. Aggregation
VEDO         4020282282528507            Gas           Gov. Aggregation   COH             118324100020                Gas           Gov. Aggregation
VEDO         4021308962354981            Gas           Gov. Aggregation   COH             118711460024                Gas           Gov. Aggregation
VEDO         4021092702220961            Gas           Gov. Aggregation   COH             118824490047                Gas           Gov. Aggregation
VEDO         4020937612680140            Gas           Gov. Aggregation   COH             118947650043                Gas           Gov. Aggregation
VEDO         4003943942394656            Gas           Gov. Aggregation   COH             123994370019                Gas           Gov. Aggregation
VEDO         4019877512148797            Gas           Gov. Aggregation   COH             123997170024                Gas           Gov. Aggregation
VEDO         4021063382520446            Gas           Gov. Aggregation   COH             119547880033                Gas           Gov. Aggregation
VEDO         4001493522146216            Gas           Gov. Aggregation   COH             119770550020                Gas           Gov. Aggregation
VEDO         4021520162135491            Gas           Gov. Aggregation   COH             119790200030                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4021207312526469            Gas           Gov. Aggregation   COH             124015890022                Gas           Gov. Aggregation
VEDO            4020911732479680            Gas           Gov. Aggregation   COH             120169960017                Gas           Gov. Aggregation
VEDO            4021476472146534            Gas           Gov. Aggregation   COH             120203380015                Gas           Gov. Aggregation
VEDO            4017718172464292            Gas           Gov. Aggregation   COH             120447320011                Gas           Gov. Aggregation
VEDO            4021033412496234            Gas           Gov. Aggregation   COH             120437780034                Gas           Gov. Aggregation
VEDO            4019447212443234            Gas           Gov. Aggregation   COH             136581660018                Gas           Gov. Aggregation
VEDO            4021252582292419            Gas           Gov. Aggregation   COH             133774110026                Gas           Gov. Aggregation
VEDO            4019757702242363            Gas           Gov. Aggregation   COH             132172730032                Gas           Gov. Aggregation
VEDO            4021103782637587            Gas           Gov. Aggregation   COH             133380880020                Gas           Gov. Aggregation
VEDO            4019366322100916            Gas           Gov. Aggregation   COH             134898730032                Gas           Gov. Aggregation
VEDO            4001000112230913            Gas           Gov. Aggregation   COH             135031070027                Gas           Gov. Aggregation
VEDO            4019779032424044            Gas           Gov. Aggregation   COH             135276610025                Gas           Gov. Aggregation
VEDO            4019779032192374            Gas           Gov. Aggregation   COH             135319830027                Gas           Gov. Aggregation
VEDO            4021078922515572            Gas           Gov. Aggregation   COH             139010730028                Gas           Gov. Aggregation
VEDO            4021045602391197            Gas           Gov. Aggregation   COH             139758420010                Gas           Gov. Aggregation
VEDO            4021184362169529            Gas           Gov. Aggregation   COH             138978520014                Gas           Gov. Aggregation
VEDO            4015480692338496            Gas           Gov. Aggregation   COH             140906460032                Gas           Gov. Aggregation
VEDO            4021428172486628            Gas           Gov. Aggregation   COH             139091440029                Gas           Gov. Aggregation
VEDO            4021249662561338            Gas           Gov. Aggregation   COH             139206410048                Gas           Gov. Aggregation
VEDO            4021253702291089            Gas           Gov. Aggregation   COH             143635350028                Gas           Gov. Aggregation
VEDO            4019070412132595            Gas           Gov. Aggregation   COH             143801520010                Gas           Gov. Aggregation
VEDO            4020941142161533            Gas           Gov. Aggregation   COH             141746780016                Gas           Gov. Aggregation
VEDO            4021182662592723            Gas           Gov. Aggregation   COH             141862770021                Gas           Gov. Aggregation
VEDO            4021284412237893            Gas           Gov. Aggregation   COH             144986170022                Gas           Gov. Aggregation
VEDO            4021469722464003            Gas           Gov. Aggregation   COH             146407920028                Gas           Gov. Aggregation
VEDO            4021510242353056            Gas           Gov. Aggregation   COH             143002690082                Gas           Gov. Aggregation
VEDO            4021396322451140            Gas           Gov. Aggregation   COH             146712830020                Gas           Gov. Aggregation
VEDO            4021163592238006            Gas           Gov. Aggregation   COH             147481440031                Gas           Gov. Aggregation
VEDO            4019175492673584            Gas           Gov. Aggregation   COH             147828930023                Gas           Gov. Aggregation
VEDO            4019383802404886            Gas           Gov. Aggregation   COH             151349011472                Gas           Gov. Aggregation
VEDO            4021486522322773            Gas           Gov. Aggregation   COH             151925020040                Gas           Gov. Aggregation
VEDO            4017928752107427            Gas           Gov. Aggregation   COH             152024780031                Gas           Gov. Aggregation
VEDO            4017842612114444            Gas           Gov. Aggregation   COH             151524650057                Gas           Gov. Aggregation
VEDO            4015539602586167            Gas           Gov. Aggregation   COH             151825760038                Gas           Gov. Aggregation
VEDO            4010067842294659            Gas           Gov. Aggregation   COH             154765400029                Gas           Gov. Aggregation
VEDO            4021150262371957            Gas           Gov. Aggregation   COH             152915090028                Gas           Gov. Aggregation
VEDO            4017543722478476            Gas           Gov. Aggregation   COH             154981900017                Gas           Gov. Aggregation
VEDO            4017514562594260            Gas           Gov. Aggregation   COH             155383770012                Gas           Gov. Aggregation
VEDO            4004596862594184            Gas           Gov. Aggregation   COH             156031760018                Gas           Gov. Aggregation
VEDO            4016598352594310            Gas           Gov. Aggregation   COH             157225230026                Gas           Gov. Aggregation
VEDO            4018661062594309            Gas           Gov. Aggregation   COH             157938210038                Gas           Gov. Aggregation
VEDO            4018889762594180            Gas           Gov. Aggregation   COH             157381950016                Gas           Gov. Aggregation
COH             145910480025                Gas           Gov. Aggregation   COH             156510720074                Gas           Gov. Aggregation
VEDO            4021449442594269            Gas           Gov. Aggregation   COH             159788390047                Gas           Gov. Aggregation
VEDO            4021472432594311            Gas           Gov. Aggregation   COH             160250200024                Gas           Gov. Aggregation
VEDO            4020335662594265            Gas           Gov. Aggregation   COH             160503090030                Gas           Gov. Aggregation
VEDO            4021225292164911            Gas           Gov. Aggregation   COH             161299020047                Gas           Gov. Aggregation
VEDO            4002392692234147            Gas           Gov. Aggregation   COH             161501610015                Gas           Gov. Aggregation
VEDO            4003038432479085            Gas           Gov. Aggregation   COH             161821970058                Gas           Gov. Aggregation
VEDO            4003881582117808            Gas           Gov. Aggregation   COH             161847420013                Gas           Gov. Aggregation
VEDO            4017076882174402            Gas           Gov. Aggregation   COH             161886030013                Gas           Gov. Aggregation
VEDO            4015478702463181            Gas           Gov. Aggregation   COH             162009960122                Gas           Gov. Aggregation
VEDO            4019388922202916            Gas           Gov. Aggregation   COH             161174070014                Gas           Gov. Aggregation
VEDO            4021303722456103            Gas           Gov. Aggregation   COH             163021630017                Gas           Gov. Aggregation
VEDO            4021047272384707            Gas           Gov. Aggregation   COH             165655980019                Gas           Gov. Aggregation
VEDO            4021413932291309            Gas           Gov. Aggregation   COH             167289250017                Gas           Gov. Aggregation
VEDO            4021425992248135            Gas           Gov. Aggregation   COH             167477670010                Gas           Gov. Aggregation
VEDO            4021061182341020            Gas           Gov. Aggregation   COH             169632020014                Gas           Gov. Aggregation
VEDO            4021081642351480            Gas           Gov. Aggregation   COH             170081220018                Gas           Gov. Aggregation
VEDO            4021214042268322            Gas           Gov. Aggregation   COH             176737030011                Gas           Gov. Aggregation
VEDO            4020847422454126            Gas           Gov. Aggregation   COH             186160290018                Gas           Gov. Aggregation
VEDO            4021234702481225            Gas           Gov. Aggregation   COH             186308610016                Gas           Gov. Aggregation
VEDO            4020932422381611            Gas           Gov. Aggregation   COH             170755930029                Gas           Gov. Aggregation
VEDO            4004028172382120            Gas           Gov. Aggregation   COH             171199920048                Gas           Gov. Aggregation
VEDO            4018604432594217            Gas           Gov. Aggregation   COH             174956740010                Gas           Gov. Aggregation
VEDO            4017976602594223            Gas           Gov. Aggregation   COH             174466260010                Gas           Gov. Aggregation
VEDO            4017976602594291            Gas           Gov. Aggregation   COH             188363820023                Gas           Gov. Aggregation
VEDO            4017993712594256            Gas           Gov. Aggregation   COH             191713560011                Gas           Gov. Aggregation
VEDO            4019981882594205            Gas           Gov. Aggregation   COH             192044160013                Gas           Gov. Aggregation
VEDO            4018174922594211            Gas           Gov. Aggregation   COH             193465450019                Gas           Gov. Aggregation
VEDO            4021173942594206            Gas           Gov. Aggregation   COH             186496380027                Gas           Gov. Aggregation
VEDO            4021188612594193            Gas           Gov. Aggregation   COH             193361860013                Gas           Gov. Aggregation
VEDO            4021200412594293            Gas           Gov. Aggregation   COH             194730150018                Gas           Gov. Aggregation
VEDO            4020916192594292            Gas           Gov. Aggregation   COH             110512410015                Gas           Gov. Aggregation
VEDO            4001321072325862            Gas           Gov. Aggregation   COH             189870380020                Gas           Gov. Aggregation
VEDO            4021424402138474            Gas           Gov. Aggregation   COH             191236840014                Gas           Gov. Aggregation
VEDO            4003295342502511            Gas           Gov. Aggregation   COH             192021780011                Gas           Gov. Aggregation
VEDO            4018109722107851            Gas           Gov. Aggregation   COH             191938110028                Gas           Gov. Aggregation
VEDO            4021476142386441            Gas           Gov. Aggregation   COH             192404970028                Gas           Gov. Aggregation
VEDO            4021478922103025            Gas           Gov. Aggregation   COH             191414780019                Gas           Gov. Aggregation
VEDO            4015283252224184            Gas           Gov. Aggregation   COH             192298590016                Gas           Gov. Aggregation
VEDO            4001281722386761            Gas           Gov. Aggregation   COH             193296000012                Gas           Gov. Aggregation
VEDO            4004221942461604            Gas           Gov. Aggregation   COH             193307090019                Gas           Gov. Aggregation
VEDO            4020941642513418            Gas           Gov. Aggregation   COH             193384310010                Gas           Gov. Aggregation
VEDO            4021297392201835            Gas           Gov. Aggregation   COH             193295930019                Gas           Gov. Aggregation
VEDO            4001475852452074            Gas           Gov. Aggregation   COH             111404890022                Gas           Gov. Aggregation
VEDO            4021449762438808            Gas           Gov. Aggregation   COH             131725750018                Gas           Gov. Aggregation
VEDO            4002483672472348            Gas           Gov. Aggregation   COH             133817180039                Gas           Gov. Aggregation
VEDO            4002275322400084            Gas           Gov. Aggregation   COH             196184330017                Gas           Gov. Aggregation
VEDO            4016760022320163            Gas           Gov. Aggregation   COH             195645100018                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4015754192472577            Gas           Gov. Aggregation   COH             196374010011                Gas           Gov. Aggregation
VEDO         4004174862362758            Gas           Gov. Aggregation   COH             151911540013                Gas           Gov. Aggregation
VEDO         4017526762432009            Gas           Gov. Aggregation   COH             153028440015                Gas           Gov. Aggregation
VEDO         4016158892531454            Gas           Gov. Aggregation   COH             149995360019                Gas           Gov. Aggregation
VEDO         4019348132498001            Gas           Gov. Aggregation   COH             115509910021                Gas           Gov. Aggregation
VEDO         4019358022385882            Gas           Gov. Aggregation   COH             115754860014                Gas           Gov. Aggregation
VEDO         4018928612476529            Gas           Gov. Aggregation   COH             115782740038                Gas           Gov. Aggregation
VEDO         4021399792625760            Gas           Gov. Aggregation   COH             115844500018                Gas           Gov. Aggregation
VEDO         4017709662230918            Gas           Gov. Aggregation   COH             115854530011                Gas           Gov. Aggregation
VEDO         4021399132384390            Gas           Gov. Aggregation   COH             115855620010                Gas           Gov. Aggregation
VEDO         4021157582292403            Gas           Gov. Aggregation   COH             115800640011                Gas           Gov. Aggregation
VEDO         4019922682676283            Gas           Gov. Aggregation   COH             119343300027                Gas           Gov. Aggregation
VEDO         4018934832676284            Gas           Gov. Aggregation   COH             132110650039                Gas           Gov. Aggregation
VEDO         4020234022362449            Gas           Gov. Aggregation   COH             132201010021                Gas           Gov. Aggregation
VEDO         4018281482259129            Gas           Gov. Aggregation   COH             120540030014                Gas           Gov. Aggregation
VEDO         4018934832685992            Gas           Gov. Aggregation   COH             127124860015                Gas           Gov. Aggregation
VEDO         4018934832363313            Gas           Gov. Aggregation   COH             134938720047                Gas           Gov. Aggregation
VEDO         4021475702420113            Gas           Gov. Aggregation   COH             135760360049                Gas           Gov. Aggregation
VEDO         4021284672513079            Gas           Gov. Aggregation   COH             136291460015                Gas           Gov. Aggregation
VEDO         4002577812143237            Gas           Gov. Aggregation   COH             137756800025                Gas           Gov. Aggregation
VEDO         4017662552481267            Gas           Gov. Aggregation   COH             140346860027                Gas           Gov. Aggregation
VEDO         4021056832648427            Gas           Gov. Aggregation   COH             138110160036                Gas           Gov. Aggregation
VEDO         4002287852223898            Gas           Gov. Aggregation   COH             150677600019                Gas           Gov. Aggregation
VEDO         4021446692422619            Gas           Gov. Aggregation   COH             150919170025                Gas           Gov. Aggregation
VEDO         4019430162369377            Gas           Gov. Aggregation   COH             148474880024                Gas           Gov. Aggregation
VEDO         4020059722344862            Gas           Gov. Aggregation   COH             151221720027                Gas           Gov. Aggregation
VEDO         4021312262196652            Gas           Gov. Aggregation   COH             152537400033                Gas           Gov. Aggregation
VEDO         4018994802377336            Gas           Gov. Aggregation   COH             153534890027                Gas           Gov. Aggregation
VEDO         4021394492271969            Gas           Gov. Aggregation   COH             157318050027                Gas           Gov. Aggregation
VEDO         4021010332442847            Gas           Gov. Aggregation   COH             163279240210                Gas           Gov. Aggregation
VEDO         4021266112172513            Gas           Gov. Aggregation   COH             156326720011                Gas           Gov. Aggregation
VEDO         4021414332380064            Gas           Gov. Aggregation   COH             196278490015                Gas           Gov. Aggregation
VEDO         4002287252257221            Gas           Gov. Aggregation   COH             147352390035                Gas           Gov. Aggregation
VEDO         4018970302283941            Gas           Gov. Aggregation   COH             194734060019                Gas           Gov. Aggregation
VEDO         4003061402341628            Gas           Gov. Aggregation   COH             135649960067                Gas           Gov. Aggregation
VEDO         4003199352210158            Gas           Gov. Aggregation   COH             117335280012                Gas           Gov. Aggregation
VEDO         4002451012540658            Gas           Gov. Aggregation   COH             117274700031                Gas           Gov. Aggregation
VEDO         4021112212178763            Gas           Gov. Aggregation   COH             174157600031                Gas           Gov. Aggregation
VEDO         4019453242235137            Gas           Gov. Aggregation   COH             134414550016                Gas           Gov. Aggregation
VEDO         4020253352324466            Gas           Gov. Aggregation   COH             123693570024                Gas           Gov. Aggregation
VEDO         4021115122306950            Gas           Gov. Aggregation   COH             160181230016                Gas           Gov. Aggregation
VEDO         4021309492516610            Gas           Gov. Aggregation   COH             124023510015                Gas           Gov. Aggregation
VEDO         4021211542351657            Gas           Gov. Aggregation   COH             120196310034                Gas           Gov. Aggregation
VEDO         4021253012250599            Gas           Gov. Aggregation   COH             126797330021                Gas           Gov. Aggregation
VEDO         4021505062282975            Gas           Gov. Aggregation   COH             123739500011                Gas           Gov. Aggregation
VEDO         4021490482237140            Gas           Gov. Aggregation   COH             170259030011                Gas           Gov. Aggregation
VEDO         4021494822158472            Gas           Gov. Aggregation   COH             196301390015                Gas           Gov. Aggregation
VEDO         4021178712315847            Gas           Gov. Aggregation   COH             157545850019                Gas           Gov. Aggregation
VEDO         4017563102344079            Gas           Gov. Aggregation   COH             173101620017                Gas           Gov. Aggregation
VEDO         4017910352192543            Gas           Gov. Aggregation   COH             195595860016                Gas           Gov. Aggregation
VEDO         4017002962322121            Gas           Gov. Aggregation   COH             111000530032                Gas           Gov. Aggregation
VEDO         4021183662284867            Gas           Gov. Aggregation   COH             144769830032                Gas           Gov. Aggregation
VEDO         4002111702206350            Gas           Gov. Aggregation   COH             176296560016                Gas           Gov. Aggregation
VEDO         4021450082267671            Gas           Gov. Aggregation   COH             152189950028                Gas           Gov. Aggregation
VEDO         4016582402160569            Gas           Gov. Aggregation   COH             187115020018                Gas           Gov. Aggregation
VEDO         4017421522465028            Gas           Gov. Aggregation   COH             174627820029                Gas           Gov. Aggregation
VEDO         4003575432355166            Gas           Gov. Aggregation   COH             166603560015                Gas           Gov. Aggregation
VEDO         4003558942353424            Gas           Gov. Aggregation   COH             176641620038                Gas           Gov. Aggregation
VEDO         4018992572282708            Gas           Gov. Aggregation   COH             196672500016                Gas           Gov. Aggregation
VEDO         4019419652442922            Gas           Gov. Aggregation   COH             108775000037                Gas           Gov. Aggregation
VEDO         4021266022458825            Gas           Gov. Aggregation   COH             196696590018                Gas           Gov. Aggregation
VEDO         4021242472334161            Gas           Gov. Aggregation   COH             196656520016                Gas           Gov. Aggregation
VEDO         4015328362125158            Gas           Gov. Aggregation   COH             196827230014                Gas           Gov. Aggregation
VEDO         4020914992397262            Gas           Gov. Aggregation   COH             149758740048                Gas           Gov. Aggregation
VEDO         4019293122356054            Gas           Gov. Aggregation   COH             196748630018                Gas           Gov. Aggregation
VEDO         4015627062321034            Gas           Gov. Aggregation   COH             167431800027                Gas           Gov. Aggregation
VEDO         4016388792509969            Gas           Gov. Aggregation   COH             196574730016                Gas           Gov. Aggregation
VEDO         4015803192410320            Gas           Gov. Aggregation   COH             191654140015                Gas           Gov. Aggregation
VEDO         4003172112313064            Gas           Gov. Aggregation   COH             196657840017                Gas           Gov. Aggregation
VEDO         4019504142467467            Gas           Gov. Aggregation   COH             196611890013                Gas           Gov. Aggregation
VEDO         4016356642267277            Gas           Gov. Aggregation   COH             174881150013                Gas           Gov. Aggregation
VEDO         4021413992370932            Gas           Gov. Aggregation   COH             137984800022                Gas           Gov. Aggregation
VEDO         4021021892489795            Gas           Gov. Aggregation   COH             156650580032                Gas           Gov. Aggregation
VEDO         4021429552138530            Gas           Gov. Aggregation   COH             154397720014                Gas           Gov. Aggregation
VEDO         4021023402265095            Gas           Gov. Aggregation   COH             148661250029                Gas           Gov. Aggregation
VEDO         4021150922177858            Gas           Gov. Aggregation   COH             117820420022                Gas           Gov. Aggregation
VEDO         4021509162452407            Gas           Gov. Aggregation   COH             151063960032                Gas           Gov. Aggregation
VEDO         4004048812526297            Gas           Gov. Aggregation   COH             112221310011                Gas           Gov. Aggregation
VEDO         4017269032306435            Gas           Gov. Aggregation   VEDO            4017223422166253            Gas           Gov. Aggregation
VEDO         4002843132206331            Gas           Gov. Aggregation   COH             124023870038                Gas           Gov. Aggregation
VEDO         4016235832627638            Gas           Gov. Aggregation   COH             124025160015                Gas           Gov. Aggregation
VEDO         4021398332416493            Gas           Gov. Aggregation   COH             124019630019                Gas           Gov. Aggregation
VEDO         4019953122469513            Gas           Gov. Aggregation   COH             124020300015                Gas           Gov. Aggregation
VEDO         4021055282443700            Gas           Gov. Aggregation   COH             170904140028                Gas           Gov. Aggregation
VEDO         4021393702112440            Gas           Gov. Aggregation   COH             164543570040                Gas           Gov. Aggregation
VEDO         4021017392490828            Gas           Gov. Aggregation   COH             164591250019                Gas           Gov. Aggregation
VEDO         4021402452107589            Gas           Gov. Aggregation   COH             138492250011                Gas           Gov. Aggregation
VEDO         4021459432460214            Gas           Gov. Aggregation   COH             138882630069                Gas           Gov. Aggregation
VEDO         4020162072322373            Gas           Gov. Aggregation   COH             139428450059                Gas           Gov. Aggregation
VEDO         4015291242298042            Gas           Gov. Aggregation   COH             139510370051                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4003599582387941            Gas           Gov. Aggregation   COH             156925960011                Gas           Gov. Aggregation
VEDO            4017340192286640            Gas           Gov. Aggregation   COH             157477570040                Gas           Gov. Aggregation
VEDO            4021507502466863            Gas           Gov. Aggregation   COH             168088270027                Gas           Gov. Aggregation
VEDO            4021417342115765            Gas           Gov. Aggregation   COH             187656720042                Gas           Gov. Aggregation
VEDO            4021460682408132            Gas           Gov. Aggregation   COH             196754360012                Gas           Gov. Aggregation
VEDO            4021029762161015            Gas           Gov. Aggregation   COH             196778630015                Gas           Gov. Aggregation
VEDO            4020120532474551            Gas           Gov. Aggregation   COH             196847520011                Gas           Gov. Aggregation
VEDO            4015812312455451            Gas           Gov. Aggregation   COH             196852550014                Gas           Gov. Aggregation
VEDO            4018059992417741            Gas           Gov. Aggregation   COH             196852560012                Gas           Gov. Aggregation
VEDO            4021059612121693            Gas           Gov. Aggregation   COH             196857480019                Gas           Gov. Aggregation
VEDO            4003137432309474            Gas           Gov. Aggregation   COH             196857660011                Gas           Gov. Aggregation
VEDO            4021410122432007            Gas           Gov. Aggregation   COH             196892560018                Gas           Gov. Aggregation
VEDO            4021501632323649            Gas           Gov. Aggregation   COH             196916230015                Gas           Gov. Aggregation
VEDO            4005096322423002            Gas           Gov. Aggregation   COH             196918510012                Gas           Gov. Aggregation
VEDO            4019150282311008            Gas           Gov. Aggregation   COH             196921530011                Gas           Gov. Aggregation
VEDO            4003511062103468            Gas           Gov. Aggregation   COH             196985840012                Gas           Gov. Aggregation
VEDO            4021024142113844            Gas           Gov. Aggregation   COH             197158550015                Gas           Gov. Aggregation
VEDO            4021157542315562            Gas           Gov. Aggregation   COH             131956950017                Gas           Gov. Aggregation
VEDO            4021021162173140            Gas           Gov. Aggregation   COH             138225180020                Gas           Gov. Aggregation
VEDO            4021047032497813            Gas           Gov. Aggregation   COH             142046320104                Gas           Gov. Aggregation
VEDO            4019192572470196            Gas           Gov. Aggregation   COH             142355180038                Gas           Gov. Aggregation
VEDO            4021486752235280            Gas           Gov. Aggregation   COH             156417790069                Gas           Gov. Aggregation
VEDO            4004531932458887            Gas           Gov. Aggregation   COH             159087470046                Gas           Gov. Aggregation
VEDO            4021435542410244            Gas           Gov. Aggregation   COH             164436390018                Gas           Gov. Aggregation
VEDO            4020281612110432            Gas           Gov. Aggregation   COH             166350780025                Gas           Gov. Aggregation
VEDO            4021483422229663            Gas           Gov. Aggregation   COH             169564060048                Gas           Gov. Aggregation
VEDO            4019998362293954            Gas           Gov. Aggregation   COH             171050560057                Gas           Gov. Aggregation
VEDO            4020228462271092            Gas           Gov. Aggregation   COH             172477230024                Gas           Gov. Aggregation
VEDO            4004303572433800            Gas           Gov. Aggregation   COH             191827190018                Gas           Gov. Aggregation
VEDO            4021063312158885            Gas           Gov. Aggregation   COH             191853990024                Gas           Gov. Aggregation
VEDO            4004701992477717            Gas           Gov. Aggregation   COH             192118670037                Gas           Gov. Aggregation
VEDO            4010049362359981            Gas           Gov. Aggregation   COH             192131293447                Gas           Gov. Aggregation
VEDO            4005108412196276            Gas           Gov. Aggregation   COH             192774180012                Gas           Gov. Aggregation
VEDO            4021429842120409            Gas           Gov. Aggregation   COH             194145370031                Gas           Gov. Aggregation
VEDO            4017098172159159            Gas           Gov. Aggregation   COH             195448750010                Gas           Gov. Aggregation
VEDO            4021470002403305            Gas           Gov. Aggregation   COH             196748730017                Gas           Gov. Aggregation
VEDO            4015731922472470            Gas           Gov. Aggregation   COH             196950730018                Gas           Gov. Aggregation
VEDO            4020187062337638            Gas           Gov. Aggregation   COH             196986290016                Gas           Gov. Aggregation
VEDO            4018462492446951            Gas           Gov. Aggregation   COH             197096720011                Gas           Gov. Aggregation
VEDO            4018651972307787            Gas           Gov. Aggregation   COH             115801190014                Gas           Gov. Aggregation
VEDO            4018044122330749            Gas           Gov. Aggregation   COH             115857290034                Gas           Gov. Aggregation
VEDO            4003585702299285            Gas           Gov. Aggregation   COH             130729760046                Gas           Gov. Aggregation
VEDO            4018721452414854            Gas           Gov. Aggregation   COH             144026860030                Gas           Gov. Aggregation
VEDO            4016448262436734            Gas           Gov. Aggregation   COH             151512560024                Gas           Gov. Aggregation
VEDO            4021112622514122            Gas           Gov. Aggregation   COH             151598570022                Gas           Gov. Aggregation
VEDO            4021215992136751            Gas           Gov. Aggregation   COH             153274890083                Gas           Gov. Aggregation
VEDO            4021018042156036            Gas           Gov. Aggregation   COH             157701070011                Gas           Gov. Aggregation
VEDO            4021397972242277            Gas           Gov. Aggregation   COH             159374770026                Gas           Gov. Aggregation
VEDO            4021252602182125            Gas           Gov. Aggregation   COH             159942980072                Gas           Gov. Aggregation
VEDO            4003585702296145            Gas           Gov. Aggregation   COH             159960460019                Gas           Gov. Aggregation
VEDO            4021517912354436            Gas           Gov. Aggregation   COH             162966170040                Gas           Gov. Aggregation
VEDO            4019920642296625            Gas           Gov. Aggregation   COH             163165150014                Gas           Gov. Aggregation
VEDO            4021012812278843            Gas           Gov. Aggregation   COH             165453410034                Gas           Gov. Aggregation
VEDO            4021220572128129            Gas           Gov. Aggregation   COH             166023530039                Gas           Gov. Aggregation
VEDO            4021233342321809            Gas           Gov. Aggregation   COH             171790690203                Gas           Gov. Aggregation
VEDO            4019196572457438            Gas           Gov. Aggregation   COH             174320360053                Gas           Gov. Aggregation
VEDO            4018680112349308            Gas           Gov. Aggregation   COH             175585870055                Gas           Gov. Aggregation
VEDO            4018121192488271            Gas           Gov. Aggregation   COH             190504830036                Gas           Gov. Aggregation
VEDO            4021289962274572            Gas           Gov. Aggregation   COH             194882840012                Gas           Gov. Aggregation
VEDO            4021082402675071            Gas           Gov. Aggregation   COH             197082790016                Gas           Gov. Aggregation
VEDO            4021090332108218            Gas           Gov. Aggregation   COH             197122700018                Gas           Gov. Aggregation
VEDO            4020839982317981            Gas           Gov. Aggregation   COH             197146930010                Gas           Gov. Aggregation
VEDO            4020845042677197            Gas           Gov. Aggregation   COH             197158510013                Gas           Gov. Aggregation
VEDO            4021108732218662            Gas           Gov. Aggregation   COH             197159190019                Gas           Gov. Aggregation
VEDO            4020945992318230            Gas           Gov. Aggregation   COH             197160090017                Gas           Gov. Aggregation
VEDO            4019043032410475            Gas           Gov. Aggregation   COH             197206510010                Gas           Gov. Aggregation
VEDO            4002879692358376            Gas           Gov. Aggregation   COH             197206640013                Gas           Gov. Aggregation
VEDO            4021275582479216            Gas           Gov. Aggregation   COH             197226020011                Gas           Gov. Aggregation
VEDO            4021438862180487            Gas           Gov. Aggregation   COH             197228440019                Gas           Gov. Aggregation
VEDO            4021251422363466            Gas           Gov. Aggregation   COH             197266640017                Gas           Gov. Aggregation
VEDO            4021031572291417            Gas           Gov. Aggregation   COH             155988110018                Gas           Gov. Aggregation
VEDO            4017064772327020            Gas           Gov. Aggregation   COH             196333530027                Gas           Gov. Aggregation
VEDO            4021068322112872            Gas           Gov. Aggregation   COH             121988480011                Gas           Gov. Aggregation
VEDO            4001448452500157            Gas           Gov. Aggregation   COH             132809160139                Gas           Gov. Aggregation
VEDO            4020259662362026            Gas           Gov. Aggregation   COH             162707560028                Gas           Gov. Aggregation
VEDO            4015729522412982            Gas           Gov. Aggregation   COH             162736390023                Gas           Gov. Aggregation
VEDO            4020911032306973            Gas           Gov. Aggregation   COH             163394580019                Gas           Gov. Aggregation
VEDO            4015508152582709            Gas           Gov. Aggregation   COH             168212850039                Gas           Gov. Aggregation
VEDO            4021506522477101            Gas           Gov. Aggregation   COH             173103500036                Gas           Gov. Aggregation
VEDO            4021407812130392            Gas           Gov. Aggregation   COH             173832570082                Gas           Gov. Aggregation
VEDO            4021457992137113            Gas           Gov. Aggregation   COH             187334200034                Gas           Gov. Aggregation
VEDO            4020943462374266            Gas           Gov. Aggregation   COH             188328990022                Gas           Gov. Aggregation
VEDO            4021201192456552            Gas           Gov. Aggregation   COH             189200900029                Gas           Gov. Aggregation
VEDO            4016645022512873            Gas           Gov. Aggregation   COH             190827410021                Gas           Gov. Aggregation
VEDO            4021096502365777            Gas           Gov. Aggregation   COH             190847110031                Gas           Gov. Aggregation
COH             123942090017                Gas           Gov. Aggregation   COH             191031010021                Gas           Gov. Aggregation
VEDO            4019323972106368            Gas           Gov. Aggregation   COH             191353920028                Gas           Gov. Aggregation
VEDO            4021064862279448            Gas           Gov. Aggregation   COH             192430520018                Gas           Gov. Aggregation
VEDO            4015558812217367            Gas           Gov. Aggregation   COH             192448440027                Gas           Gov. Aggregation
VEDO            4018379332343077            Gas           Gov. Aggregation   COH             195135360015                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4021154052209282            Gas           Gov. Aggregation   COH             197098060025                Gas           Gov. Aggregation
VEDO         4020915502357774            Gas           Gov. Aggregation   COH             197260860013                Gas           Gov. Aggregation
VEDO         4019765002370336            Gas           Gov. Aggregation   COH             197266770010                Gas           Gov. Aggregation
VEDO         4015508742458520            Gas           Gov. Aggregation   COH             197270960011                Gas           Gov. Aggregation
VEDO         4020916352324548            Gas           Gov. Aggregation   COH             197279340013                Gas           Gov. Aggregation
VEDO         4020329992344269            Gas           Gov. Aggregation   COH             197316320017                Gas           Gov. Aggregation
VEDO         4021260142222662            Gas           Gov. Aggregation   COH             197328650013                Gas           Gov. Aggregation
VEDO         4021518702253523            Gas           Gov. Aggregation   COH             197328780016                Gas           Gov. Aggregation
VEDO         4004705492478140            Gas           Gov. Aggregation   COH             197358430016                Gas           Gov. Aggregation
VEDO         4017093922154449            Gas           Gov. Aggregation   COH             197407160018                Gas           Gov. Aggregation
VEDO         4021484612412134            Gas           Gov. Aggregation   COH             197415090016                Gas           Gov. Aggregation
VEDO         4021161282593209            Gas           Gov. Aggregation   COH             197449860013                Gas           Gov. Aggregation
VEDO         4021393302299184            Gas           Gov. Aggregation   COH             197455560013                Gas           Gov. Aggregation
VEDO         4021400392461082            Gas           Gov. Aggregation   COH             197480530016                Gas           Gov. Aggregation
VEDO         4017221682499668            Gas           Gov. Aggregation   COH             197482130016                Gas           Gov. Aggregation
VEDO         4021116362192012            Gas           Gov. Aggregation   COH             111396290018                Gas           Gov. Aggregation
VEDO         4017796342260133            Gas           Gov. Aggregation   COH             122136900034                Gas           Gov. Aggregation
VEDO         4021172832335327            Gas           Gov. Aggregation   COH             135997040036                Gas           Gov. Aggregation
VEDO         4004352362268926            Gas           Gov. Aggregation   COH             145153100039                Gas           Gov. Aggregation
VEDO         4021450842190631            Gas           Gov. Aggregation   COH             155650930048                Gas           Gov. Aggregation
VEDO         4021112502308402            Gas           Gov. Aggregation   COH             156293180025                Gas           Gov. Aggregation
VEDO         4021158892435599            Gas           Gov. Aggregation   COH             162130570038                Gas           Gov. Aggregation
VEDO         4018927022168797            Gas           Gov. Aggregation   COH             163677020034                Gas           Gov. Aggregation
VEDO         4003153542180609            Gas           Gov. Aggregation   COH             166599680048                Gas           Gov. Aggregation
VEDO         4021517212163562            Gas           Gov. Aggregation   COH             172264740091                Gas           Gov. Aggregation
VEDO         4019063212156801            Gas           Gov. Aggregation   COH             173528810031                Gas           Gov. Aggregation
VEDO         4021103112495463            Gas           Gov. Aggregation   COH             173644390034                Gas           Gov. Aggregation
VEDO         4021219202227462            Gas           Gov. Aggregation   COH             176982980022                Gas           Gov. Aggregation
VEDO         4021087812246738            Gas           Gov. Aggregation   COH             185935530033                Gas           Gov. Aggregation
VEDO         4002248692219982            Gas           Gov. Aggregation   COH             187664230020                Gas           Gov. Aggregation
VEDO         4021275372589055            Gas           Gov. Aggregation   COH             187815460030                Gas           Gov. Aggregation
VEDO         4001066922272088            Gas           Gov. Aggregation   COH             189303630028                Gas           Gov. Aggregation
VEDO         4003124082246035            Gas           Gov. Aggregation   COH             193550910039                Gas           Gov. Aggregation
VEDO         4019402422220245            Gas           Gov. Aggregation   COH             197418220012                Gas           Gov. Aggregation
VEDO         4021013732139054            Gas           Gov. Aggregation   COH             197453780011                Gas           Gov. Aggregation
VEDO         4018881392204712            Gas           Gov. Aggregation   COH             197496380015                Gas           Gov. Aggregation
VEDO         4021218262236647            Gas           Gov. Aggregation   COH             197507200035                Gas           Gov. Aggregation
VEDO         4004320292413288            Gas           Gov. Aggregation   COH             197622050015                Gas           Gov. Aggregation
VEDO         4019061522419580            Gas           Gov. Aggregation   COH             197644060017                Gas           Gov. Aggregation
VEDO         4021507462448330            Gas           Gov. Aggregation   COH             197749560010                Gas           Gov. Aggregation
VEDO         4021459752520068            Gas           Gov. Aggregation   COH             197799480012                Gas           Gov. Aggregation
VEDO         4019766992423881            Gas           Gov. Aggregation   COH             112286290010                Gas           Gov. Aggregation
VEDO         4021419592122061            Gas           Gov. Aggregation   VEDO            4003669992365202            Gas           Gov. Aggregation
VEDO         4016199462248836            Gas           Gov. Aggregation   COH             196235460011                Gas           Gov. Aggregation
VEDO         4021300242144019            Gas           Gov. Aggregation   COH             196471440015                Gas           Gov. Aggregation
VEDO         4021296832419858            Gas           Gov. Aggregation   COH             133190900019                Gas           Gov. Aggregation
VEDO         4019875302452310            Gas           Gov. Aggregation   COH             190391910021                Gas           Gov. Aggregation
VEDO         4016105102123467            Gas           Gov. Aggregation   COH             157683020020                Gas           Gov. Aggregation
VEDO         4015496312630944            Gas           Gov. Aggregation   COH             153111080023                Gas           Gov. Aggregation
VEDO         4021498782199063            Gas           Gov. Aggregation   COH             130610670028                Gas           Gov. Aggregation
VEDO         4021423462420982            Gas           Gov. Aggregation   COH             110942000010                Gas           Gov. Aggregation
VEDO         4021517572426121            Gas           Gov. Aggregation   COH             110942510013                Gas           Gov. Aggregation
VEDO         4020276612418862            Gas           Gov. Aggregation   COH             110942640016                Gas           Gov. Aggregation
VEDO         4021471652265877            Gas           Gov. Aggregation   COH             110942690016                Gas           Gov. Aggregation
VEDO         4017433592198250            Gas           Gov. Aggregation   COH             110942820018                Gas           Gov. Aggregation
VEDO         4021057942426451            Gas           Gov. Aggregation   COH             110943470010                Gas           Gov. Aggregation
VEDO         4021482272200136            Gas           Gov. Aggregation   COH             171395910017                Gas           Gov. Aggregation
VEDO         4018524802194908            Gas           Gov. Aggregation   COH             171709970018                Gas           Gov. Aggregation
VEDO         4001020142100821            Gas           Gov. Aggregation   COH             174183600018                Gas           Gov. Aggregation
VEDO         4021292792292868            Gas           Gov. Aggregation   COH             196867050018                Gas           Gov. Aggregation
VEDO         4021516442512186            Gas           Gov. Aggregation   COH             197196450016                Gas           Gov. Aggregation
VEDO         4021482192495578            Gas           Gov. Aggregation   COH             197631780013                Gas           Gov. Aggregation
VEDO         4021101582185393            Gas           Gov. Aggregation   COH             197668100018                Gas           Gov. Aggregation
VEDO         4021422582494450            Gas           Gov. Aggregation   COH             197679990019                Gas           Gov. Aggregation
VEDO         4002953252290516            Gas           Gov. Aggregation   COH             197686530010                Gas           Gov. Aggregation
VEDO         4021021682366302            Gas           Gov. Aggregation   VEDO            4019407942282275            Gas           Gov. Aggregation
VEDO         4018155752590210            Gas           Gov. Aggregation   COH             119256340024                Gas           Gov. Aggregation
VEDO         4019320962419412            Gas           Gov. Aggregation   COH             122019444302                Gas           Gov. Aggregation
VEDO         4018680692252576            Gas           Gov. Aggregation   COH             134182080036                Gas           Gov. Aggregation
VEDO         4017525692456567            Gas           Gov. Aggregation   COH             142467660021                Gas           Gov. Aggregation
VEDO         4019995402518406            Gas           Gov. Aggregation   COH             155070430089                Gas           Gov. Aggregation
VEDO         4016199462100912            Gas           Gov. Aggregation   COH             158467040041                Gas           Gov. Aggregation
VEDO         4021291692381217            Gas           Gov. Aggregation   COH             177059010021                Gas           Gov. Aggregation
VEDO         4003298922326119            Gas           Gov. Aggregation   COH             177284910025                Gas           Gov. Aggregation
VEDO         4018828502439058            Gas           Gov. Aggregation   COH             191393830032                Gas           Gov. Aggregation
VEDO         4017547402164696            Gas           Gov. Aggregation   COH             197705500014                Gas           Gov. Aggregation
VEDO         4016552792261955            Gas           Gov. Aggregation   COH             197768690013                Gas           Gov. Aggregation
VEDO         4002061862165829            Gas           Gov. Aggregation   COH             197777990011                Gas           Gov. Aggregation
VEDO         4021224192122122            Gas           Gov. Aggregation   COH             197828080013                Gas           Gov. Aggregation
VEDO         4003210322284076            Gas           Gov. Aggregation   COH             197865740016                Gas           Gov. Aggregation
VEDO         4005089842352025            Gas           Gov. Aggregation   COH             197869000013                Gas           Gov. Aggregation
VEDO         4021177252169263            Gas           Gov. Aggregation   COH             197990370019                Gas           Gov. Aggregation
VEDO         4016863392612571            Gas           Gov. Aggregation   COH             111267700014                Gas           Gov. Aggregation
VEDO         4018364832114791            Gas           Gov. Aggregation   COH             167550490012                Gas           Gov. Aggregation
VEDO         4021282482514036            Gas           Gov. Aggregation   COH             155123380032                Gas           Gov. Aggregation
VEDO         4017255232388389            Gas           Gov. Aggregation   COH             147778830058                Gas           Gov. Aggregation
VEDO         4021262402672524            Gas           Gov. Aggregation   COH             110724590019                Gas           Gov. Aggregation
VEDO         4021458322372921            Gas           Gov. Aggregation   COH             144865430014                Gas           Gov. Aggregation
VEDO         4021290272453729            Gas           Gov. Aggregation   COH             165846390054                Gas           Gov. Aggregation
VEDO         4020935152343835            Gas           Gov. Aggregation   COH             145914670027                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4021425402168823            Gas           Gov. Aggregation   COH             193437540019                Gas           Gov. Aggregation
VEDO         4021057582333251            Gas           Gov. Aggregation   COH             193554790019                Gas           Gov. Aggregation
VEDO         4021066452322218            Gas           Gov. Aggregation   COH             169456090041                Gas           Gov. Aggregation
VEDO         4021451292492319            Gas           Gov. Aggregation   COH             115872360028                Gas           Gov. Aggregation
VEDO         4021098792220072            Gas           Gov. Aggregation   COH             148599840019                Gas           Gov. Aggregation
VEDO         4021190362391784            Gas           Gov. Aggregation   COH             197198280018                Gas           Gov. Aggregation
VEDO         4021193662466502            Gas           Gov. Aggregation   COH             191953340046                Gas           Gov. Aggregation
VEDO         4021193782296855            Gas           Gov. Aggregation   COH             170183600012                Gas           Gov. Aggregation
VEDO         4021222782392862            Gas           Gov. Aggregation   COH             173002100034                Gas           Gov. Aggregation
VEDO         4020895562295613            Gas           Gov. Aggregation   COH             192706540037                Gas           Gov. Aggregation
VEDO         4021256872165489            Gas           Gov. Aggregation   COH             192706540055                Gas           Gov. Aggregation
VEDO         4021225902206366            Gas           Gov. Aggregation   COH             157986280033                Gas           Gov. Aggregation
VEDO         4001468072676963            Gas           Gov. Aggregation   COH             197188110014                Gas           Gov. Aggregation
VEDO         4020185132431603            Gas           Gov. Aggregation   COH             190309770015                Gas           Gov. Aggregation
VEDO         4020162072145565            Gas           Gov. Aggregation   COH             191420900029                Gas           Gov. Aggregation
VEDO         4020162072356461            Gas           Gov. Aggregation   COH             192894710016                Gas           Gov. Aggregation
VEDO         4001468072366526            Gas           Gov. Aggregation   COH             185372460014                Gas           Gov. Aggregation
VEDO         4004262312429250            Gas           Gov. Aggregation   COH             138496600028                Gas           Gov. Aggregation
VEDO         4021005362397034            Gas           Gov. Aggregation   COH             135120080026                Gas           Gov. Aggregation
VEDO         4015558702233240            Gas           Gov. Aggregation   COH             197141350012                Gas           Gov. Aggregation
VEDO         4021207602518366            Gas           Gov. Aggregation   COH             196590900016                Gas           Gov. Aggregation
VEDO         4001096612602678            Gas           Gov. Aggregation   COH             195323550016                Gas           Gov. Aggregation
VEDO         4021431702349592            Gas           Gov. Aggregation   COH             141649770078                Gas           Gov. Aggregation
VEDO         4019485252176039            Gas           Gov. Aggregation   COH             143940720023                Gas           Gov. Aggregation
VEDO         4021290782206452            Gas           Gov. Aggregation   COH             108717590018                Gas           Gov. Aggregation
VEDO         4015882162263730            Gas           Gov. Aggregation   COH             194817730012                Gas           Gov. Aggregation
VEDO         4004799932430420            Gas           Gov. Aggregation   COH             196569060018                Gas           Gov. Aggregation
VEDO         4020300612281884            Gas           Gov. Aggregation   COH             187778480054                Gas           Gov. Aggregation
VEDO         4021473502362722            Gas           Gov. Aggregation   COH             149055290070                Gas           Gov. Aggregation
VEDO         4002261562225844            Gas           Gov. Aggregation   COH             138641790011                Gas           Gov. Aggregation
VEDO         4019841542331915            Gas           Gov. Aggregation   COH             139649740014                Gas           Gov. Aggregation
VEDO         4018000852447801            Gas           Gov. Aggregation   COH             186362450025                Gas           Gov. Aggregation
VEDO         4004520812338021            Gas           Gov. Aggregation   COH             193884160012                Gas           Gov. Aggregation
VEDO         4021414572146736            Gas           Gov. Aggregation   COH             193918470014                Gas           Gov. Aggregation
VEDO         4003257782321865            Gas           Gov. Aggregation   COH             174945300024                Gas           Gov. Aggregation
VEDO         4015741022235505            Gas           Gov. Aggregation   COH             193509470011                Gas           Gov. Aggregation
VEDO         4019057412188758            Gas           Gov. Aggregation   COH             195909290019                Gas           Gov. Aggregation
VEDO         4021160372597611            Gas           Gov. Aggregation   COH             160806820016                Gas           Gov. Aggregation
VEDO         4003126932588347            Gas           Gov. Aggregation   COH             175079630021                Gas           Gov. Aggregation
VEDO         4021019452553518            Gas           Gov. Aggregation   COH             172218220033                Gas           Gov. Aggregation
VEDO         4020856802624898            Gas           Gov. Aggregation   COH             172058000011                Gas           Gov. Aggregation
VEDO         4019457242228885            Gas           Gov. Aggregation   COH             108683150013                Gas           Gov. Aggregation
VEDO         4017515052319130            Gas           Gov. Aggregation   COH             149089630013                Gas           Gov. Aggregation
VEDO         4021018612465101            Gas           Gov. Aggregation   COH             143986310014                Gas           Gov. Aggregation
VEDO         4021518912177764            Gas           Gov. Aggregation   COH             147410600027                Gas           Gov. Aggregation
VEDO         4004378052340811            Gas           Gov. Aggregation   COH             147464040013                Gas           Gov. Aggregation
VEDO         4020229662301558            Gas           Gov. Aggregation   COH             193894750017                Gas           Gov. Aggregation
VEDO         4021299942514293            Gas           Gov. Aggregation   COH             188019160030                Gas           Gov. Aggregation
VEDO         4018938902100458            Gas           Gov. Aggregation   COH             138830360010                Gas           Gov. Aggregation
VEDO         4018249412537240            Gas           Gov. Aggregation   COH             147226110021                Gas           Gov. Aggregation
VEDO         4005067702631087            Gas           Gov. Aggregation   COH             156060680023                Gas           Gov. Aggregation
VEDO         4021483772569056            Gas           Gov. Aggregation   COH             153869360056                Gas           Gov. Aggregation
VEDO         4021210402473096            Gas           Gov. Aggregation   COH             192140990024                Gas           Gov. Aggregation
VEDO         4016402292460660            Gas           Gov. Aggregation   COH             134781920011                Gas           Gov. Aggregation
VEDO         4017533882482074            Gas           Gov. Aggregation   COH             175422040017                Gas           Gov. Aggregation
VEDO         4021399472384330            Gas           Gov. Aggregation   COH             170890120032                Gas           Gov. Aggregation
VEDO         4018610542355588            Gas           Gov. Aggregation   COH             170287960026                Gas           Gov. Aggregation
VEDO         4001531962278995            Gas           Gov. Aggregation   COH             168137570029                Gas           Gov. Aggregation
VEDO         4003909942223897            Gas           Gov. Aggregation   COH             191446100014                Gas           Gov. Aggregation
VEDO         4015660972265864            Gas           Gov. Aggregation   COH             168135730029                Gas           Gov. Aggregation
VEDO         4015686242267169            Gas           Gov. Aggregation   COH             108680530037                Gas           Gov. Aggregation
VEDO         4015946422176467            Gas           Gov. Aggregation   COH             108729140017                Gas           Gov. Aggregation
VEDO         4016521242589846            Gas           Gov. Aggregation   COH             108727050029                Gas           Gov. Aggregation
VEDO         4019913502429032            Gas           Gov. Aggregation   COH             137825680033                Gas           Gov. Aggregation
VEDO         4021246832475424            Gas           Gov. Aggregation   COH             192113410022                Gas           Gov. Aggregation
VEDO         4021286602458400            Gas           Gov. Aggregation   COH             196995740012                Gas           Gov. Aggregation
VEDO         4021296702213193            Gas           Gov. Aggregation   COH             108757940010                Gas           Gov. Aggregation
VEDO         4021069752457652            Gas           Gov. Aggregation   COH             108758430015                Gas           Gov. Aggregation
VEDO         4021469062596523            Gas           Gov. Aggregation   COH             162011250037                Gas           Gov. Aggregation
VEDO         4021518592498460            Gas           Gov. Aggregation   COH             145366200019                Gas           Gov. Aggregation
VEDO         4021401652422546            Gas           Gov. Aggregation   COH             192083240023                Gas           Gov. Aggregation
VEDO         4003790222679623            Gas           Gov. Aggregation   COH             192831410011                Gas           Gov. Aggregation
VEDO         4021517382677314            Gas           Gov. Aggregation   COH             185877360015                Gas           Gov. Aggregation
VEDO         4001000812414574            Gas           Gov. Aggregation   COH             108675730018                Gas           Gov. Aggregation
VEDO         4021169802149760            Gas           Gov. Aggregation   COH             108671590034                Gas           Gov. Aggregation
VEDO         4021404072113605            Gas           Gov. Aggregation   COH             196029020010                Gas           Gov. Aggregation
VEDO         4001108422281136            Gas           Gov. Aggregation   COH             170280780055                Gas           Gov. Aggregation
VEDO         4020835572517303            Gas           Gov. Aggregation   COH             168532390029                Gas           Gov. Aggregation
VEDO         4018958712344995            Gas           Gov. Aggregation   COH             173020420039                Gas           Gov. Aggregation
VEDO         4019829162227214            Gas           Gov. Aggregation   COH             196810590014                Gas           Gov. Aggregation
VEDO         4020919032634132            Gas           Gov. Aggregation   COH             197743480019                Gas           Gov. Aggregation
VEDO         4002563482528810            Gas           Gov. Aggregation   COH             197399750013                Gas           Gov. Aggregation
VEDO         4003762082245614            Gas           Gov. Aggregation   COH             193846230017                Gas           Gov. Aggregation
VEDO         4021085492119663            Gas           Gov. Aggregation   COH             196223790017                Gas           Gov. Aggregation
VEDO         4015813212474220            Gas           Gov. Aggregation   COH             165341110052                Gas           Gov. Aggregation
VEDO         4017844322347228            Gas           Gov. Aggregation   COH             173043470013                Gas           Gov. Aggregation
VEDO         4018106352345291            Gas           Gov. Aggregation   COH             197429350012                Gas           Gov. Aggregation
VEDO         4019134502107887            Gas           Gov. Aggregation   COH             108669380015                Gas           Gov. Aggregation
VEDO         4021295602608979            Gas           Gov. Aggregation   COH             147232760013                Gas           Gov. Aggregation
VEDO         4018603802361495            Gas           Gov. Aggregation   COH             196202880012                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4017896472259244            Gas           Gov. Aggregation   COH             188846910011                Gas           Gov. Aggregation
VEDO         4005112282474756            Gas           Gov. Aggregation   COH             196615330012                Gas           Gov. Aggregation
VEDO         4019946732252147            Gas           Gov. Aggregation   COH             159764290039                Gas           Gov. Aggregation
VEDO         4021114582173486            Gas           Gov. Aggregation   COH             171113010021                Gas           Gov. Aggregation
VEDO         4021040582272086            Gas           Gov. Aggregation   COH             155833890021                Gas           Gov. Aggregation
VEDO         4019186642120172            Gas           Gov. Aggregation   COH             109652910062                Gas           Gov. Aggregation
VEDO         4001054182397257            Gas           Gov. Aggregation   COH             122375170032                Gas           Gov. Aggregation
VEDO         4021004822335302            Gas           Gov. Aggregation   COH             120158950030                Gas           Gov. Aggregation
VEDO         4019142962443115            Gas           Gov. Aggregation   COH             137820590103                Gas           Gov. Aggregation
VEDO         4021515772334800            Gas           Gov. Aggregation   COH             141249410035                Gas           Gov. Aggregation
VEDO         4021080302202340            Gas           Gov. Aggregation   COH             151665350141                Gas           Gov. Aggregation
VEDO         4019913002213779            Gas           Gov. Aggregation   COH             153785700043                Gas           Gov. Aggregation
VEDO         4021501352144294            Gas           Gov. Aggregation   COH             156282540059                Gas           Gov. Aggregation
VEDO         4020848072459193            Gas           Gov. Aggregation   COH             156697110103                Gas           Gov. Aggregation
VEDO         4001986012193952            Gas           Gov. Aggregation   COH             156723050056                Gas           Gov. Aggregation
VEDO         4021042562434208            Gas           Gov. Aggregation   COH             166044110104                Gas           Gov. Aggregation
VEDO         4021481812312600            Gas           Gov. Aggregation   COH             170126440016                Gas           Gov. Aggregation
VEDO         4001137682284155            Gas           Gov. Aggregation   COH             177340260022                Gas           Gov. Aggregation
VEDO         4020938212448071            Gas           Gov. Aggregation   COH             194189401764                Gas           Gov. Aggregation
VEDO         4017072682453745            Gas           Gov. Aggregation   COH             197982400019                Gas           Gov. Aggregation
VEDO         4021043152169477            Gas           Gov. Aggregation   COH             197982560016                Gas           Gov. Aggregation
VEDO         4018504072246069            Gas           Gov. Aggregation   COH             198019480013                Gas           Gov. Aggregation
VEDO         4021493692363930            Gas           Gov. Aggregation   COH             198027150015                Gas           Gov. Aggregation
VEDO         4017935682309852            Gas           Gov. Aggregation   COH             198027920013                Gas           Gov. Aggregation
VEDO         4003005322123267            Gas           Gov. Aggregation   COH             198051340014                Gas           Gov. Aggregation
VEDO         4016682492303158            Gas           Gov. Aggregation   COH             198068350017                Gas           Gov. Aggregation
VEDO         4021157222437046            Gas           Gov. Aggregation   COH             198068790015                Gas           Gov. Aggregation
VEDO         4021012012524109            Gas           Gov. Aggregation   COH             198079840011                Gas           Gov. Aggregation
VEDO         4019816362186730            Gas           Gov. Aggregation   COH             198104890016                Gas           Gov. Aggregation
VEDO         4020045172203973            Gas           Gov. Aggregation   COH             198111970014                Gas           Gov. Aggregation
VEDO         4021112482427402            Gas           Gov. Aggregation   DEO             9500053888974               Gas           Gov. Aggregation
VEDO         4021231852451871            Gas           Gov. Aggregation   COH             139187890013                Gas           Gov. Aggregation
VEDO         4015060992523868            Gas           Gov. Aggregation   COH             122378020028                Gas           Gov. Aggregation
VEDO         4004330542436758            Gas           Gov. Aggregation   DEO             8120000091553               Gas           Gov. Aggregation
VEDO         4021460402183671            Gas           Gov. Aggregation   COH             124493420028                Gas           Gov. Aggregation
VEDO         4021225302457306            Gas           Gov. Aggregation   COH             139924570105                Gas           Gov. Aggregation
VEDO         4017085192195535            Gas           Gov. Aggregation   COH             142855120021                Gas           Gov. Aggregation
VEDO         4021094122260121            Gas           Gov. Aggregation   COH             143621000066                Gas           Gov. Aggregation
VEDO         4021094122450454            Gas           Gov. Aggregation   COH             150557230093                Gas           Gov. Aggregation
VEDO         4021094122188243            Gas           Gov. Aggregation   COH             155685100030                Gas           Gov. Aggregation
VEDO         4021248002165845            Gas           Gov. Aggregation   COH             162281080032                Gas           Gov. Aggregation
VEDO         4021092452288569            Gas           Gov. Aggregation   COH             175468480028                Gas           Gov. Aggregation
VEDO         4021513302331413            Gas           Gov. Aggregation   COH             175480790045                Gas           Gov. Aggregation
VEDO         4004264552405091            Gas           Gov. Aggregation   COH             177804230113                Gas           Gov. Aggregation
VEDO         4017166752429574            Gas           Gov. Aggregation   COH             189013780059                Gas           Gov. Aggregation
VEDO         4021447862292519            Gas           Gov. Aggregation   COH             195859140017                Gas           Gov. Aggregation
VEDO         4021430732206626            Gas           Gov. Aggregation   COH             196787130020                Gas           Gov. Aggregation
VEDO         4021505022114471            Gas           Gov. Aggregation   COH             197833580026                Gas           Gov. Aggregation
VEDO         4021212552392800            Gas           Gov. Aggregation   COH             198112960014                Gas           Gov. Aggregation
VEDO         4021067582176434            Gas           Gov. Aggregation   COH             198129780017                Gas           Gov. Aggregation
VEDO         4019847322350984            Gas           Gov. Aggregation   COH             198223500015                Gas           Gov. Aggregation
VEDO         4018705342282967            Gas           Gov. Aggregation   COH             198239020013                Gas           Gov. Aggregation
VEDO         4021151422420659            Gas           Gov. Aggregation   COH             198352580016                Gas           Gov. Aggregation
VEDO         4021432632158950            Gas           Gov. Aggregation   COH             122461630023                Gas           Gov. Aggregation
VEDO         4015792042172862            Gas           Gov. Aggregation   COH             122346430010                Gas           Gov. Aggregation
VEDO         4019443822346033            Gas           Gov. Aggregation   COH             115826000011                Gas           Gov. Aggregation
VEDO         4019986052141343            Gas           Gov. Aggregation   COH             108701610025                Gas           Gov. Aggregation
VEDO         4021037922216171            Gas           Gov. Aggregation   COH             122346290065                Gas           Gov. Aggregation
VEDO         4016077672164765            Gas           Gov. Aggregation   COH             166665830018                Gas           Gov. Aggregation
VEDO         4018813792316839            Gas           Gov. Aggregation   COH             118080650069                Gas           Gov. Aggregation
VEDO         4018175382125020            Gas           Gov. Aggregation   COH             140732450015                Gas           Gov. Aggregation
VEDO         4019868812492243            Gas           Gov. Aggregation   COH             164132310027                Gas           Gov. Aggregation
VEDO         4021441552132260            Gas           Gov. Aggregation   COH             174849050021                Gas           Gov. Aggregation
VEDO         4021070222349187            Gas           Gov. Aggregation   COH             198178541273                Gas           Gov. Aggregation
VEDO         4016792202450915            Gas           Gov. Aggregation   COH             198233120014                Gas           Gov. Aggregation
VEDO         4021019512391566            Gas           Gov. Aggregation   COH             198339820013                Gas           Gov. Aggregation
VEDO         4021453252481951            Gas           Gov. Aggregation   COH             198340030016                Gas           Gov. Aggregation
VEDO         4021273262274806            Gas           Gov. Aggregation   COH             198384880016                Gas           Gov. Aggregation
VEDO         4017210042499633            Gas           Gov. Aggregation   COH             198395690013                Gas           Gov. Aggregation
VEDO         4018967342139132            Gas           Gov. Aggregation   COH             198410510016                Gas           Gov. Aggregation
VEDO         4017970522135937            Gas           Gov. Aggregation   COH             198432490015                Gas           Gov. Aggregation
VEDO         4021506242492364            Gas           Gov. Aggregation   COH             198466240016                Gas           Gov. Aggregation
VEDO         4020096692201553            Gas           Gov. Aggregation   COH             198466290016                Gas           Gov. Aggregation
VEDO         4021309602170574            Gas           Gov. Aggregation   COH             198469370013                Gas           Gov. Aggregation
VEDO         4021191832173735            Gas           Gov. Aggregation   COH             198482570013                Gas           Gov. Aggregation
VEDO         4017821842522617            Gas           Gov. Aggregation   COH             198483210016                Gas           Gov. Aggregation
VEDO         4020035492104248            Gas           Gov. Aggregation   COH             198550760018                Gas           Gov. Aggregation
VEDO         4003286202570564            Gas           Gov. Aggregation   COH             167464060024                Gas           Gov. Aggregation
VEDO         4020181722362478            Gas           Gov. Aggregation   COH             144232150023                Gas           Gov. Aggregation
VEDO         4021299212308881            Gas           Gov. Aggregation   COH             153008820035                Gas           Gov. Aggregation
VEDO         4021486362247223            Gas           Gov. Aggregation   COH             153749770027                Gas           Gov. Aggregation
VEDO         4018847192414096            Gas           Gov. Aggregation   COH             162986940037                Gas           Gov. Aggregation
VEDO         4021036292398570            Gas           Gov. Aggregation   COH             164529800121                Gas           Gov. Aggregation
VEDO         4002932312288308            Gas           Gov. Aggregation   COH             174941560055                Gas           Gov. Aggregation
VEDO         4019502232495561            Gas           Gov. Aggregation   COH             176962580037                Gas           Gov. Aggregation
VEDO         4001082572139039            Gas           Gov. Aggregation   COH             186454300067                Gas           Gov. Aggregation
VEDO         4018720742219931            Gas           Gov. Aggregation   COH             189844350021                Gas           Gov. Aggregation
VEDO         4018364762272782            Gas           Gov. Aggregation   COH             198488210016                Gas           Gov. Aggregation
VEDO         4019779362647785            Gas           Gov. Aggregation   COH             198562150011                Gas           Gov. Aggregation
VEDO         4020945642305968            Gas           Gov. Aggregation   COH             198583160015                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4015639152195421            Gas           Gov. Aggregation   COH             198599150014                Gas           Gov. Aggregation
VEDO         4021427672443441            Gas           Gov. Aggregation   COH             198646650018                Gas           Gov. Aggregation
VEDO         4004988702386903            Gas           Gov. Aggregation   COH             198688230018                Gas           Gov. Aggregation
VEDO         4017669082361666            Gas           Gov. Aggregation   COH             198688300013                Gas           Gov. Aggregation
VEDO         4021121922443587            Gas           Gov. Aggregation   COH             198717220017                Gas           Gov. Aggregation
VEDO         4021446512677373            Gas           Gov. Aggregation   COH             198733100018                Gas           Gov. Aggregation
VEDO         4018361222685246            Gas           Gov. Aggregation   COH             171778330026                Gas           Gov. Aggregation
VEDO         4021084882213229            Gas           Gov. Aggregation   COH             117215780011                Gas           Gov. Aggregation
VEDO         4001206292625719            Gas           Gov. Aggregation   COH             117213460012                Gas           Gov. Aggregation
VEDO         4002373592625743            Gas           Gov. Aggregation   VEDO            4019508722248949            Gas           Gov. Aggregation
VEDO         4003636522625741            Gas           Gov. Aggregation   VEDO            4004637992455364            Gas           Gov. Aggregation
VEDO         4021189282625710            Gas           Gov. Aggregation   COH             115001180012                Gas           Gov. Aggregation
VEDO         4021052142625707            Gas           Gov. Aggregation   COH             163220470064                Gas           Gov. Aggregation
VEDO         4017055272488394            Gas           Gov. Aggregation   COH             197371450014                Gas           Gov. Aggregation
VEDO         4020012102108365            Gas           Gov. Aggregation   COH             195897700019                Gas           Gov. Aggregation
VEDO         4019993972357764            Gas           Gov. Aggregation   COH             197184830011                Gas           Gov. Aggregation
VEDO         4021206522261512            Gas           Gov. Aggregation   COH             131351310022                Gas           Gov. Aggregation
VEDO         4021121542248352            Gas           Gov. Aggregation   COH             158246810038                Gas           Gov. Aggregation
VEDO         4021230592105019            Gas           Gov. Aggregation   COH             198189730011                Gas           Gov. Aggregation
VEDO         4016057192237181            Gas           Gov. Aggregation   COH             115843000015                Gas           Gov. Aggregation
VEDO         4016731512539382            Gas           Gov. Aggregation   COH             198296810017                Gas           Gov. Aggregation
VEDO         4003603182526801            Gas           Gov. Aggregation   COH             173696510011                Gas           Gov. Aggregation
VEDO         4018223282358581            Gas           Gov. Aggregation   COH             172663520028                Gas           Gov. Aggregation
VEDO         4021395402481622            Gas           Gov. Aggregation   COH             188484250027                Gas           Gov. Aggregation
VEDO         4001298832447372            Gas           Gov. Aggregation   COH             199079610018                Gas           Gov. Aggregation
VEDO         4018743222175994            Gas           Gov. Aggregation   COH             196902120017                Gas           Gov. Aggregation
VEDO         4021415012191067            Gas           Gov. Aggregation   COH             197025230013                Gas           Gov. Aggregation
VEDO         4020020522420507            Gas           Gov. Aggregation   COH             197444620013                Gas           Gov. Aggregation
VEDO         4019801402406850            Gas           Gov. Aggregation   COH             176517740018                Gas           Gov. Aggregation
VEDO         4021468692325123            Gas           Gov. Aggregation   COH             171203620040                Gas           Gov. Aggregation
VEDO         4018927302183467            Gas           Gov. Aggregation   COH             177545250020                Gas           Gov. Aggregation
VEDO         4002035332190366            Gas           Gov. Aggregation   COH             160757870020                Gas           Gov. Aggregation
VEDO         4018189412174981            Gas           Gov. Aggregation   COH             112431250037                Gas           Gov. Aggregation
VEDO         4020298872515508            Gas           Gov. Aggregation   COH             128841200012                Gas           Gov. Aggregation
VEDO         4001141642184779            Gas           Gov. Aggregation   VEDO            4005106072522699            Gas           Gov. Aggregation
VEDO         4021515452491694            Gas           Gov. Aggregation   COH             145220750021                Gas           Gov. Aggregation
VEDO         4019405582241139            Gas           Gov. Aggregation   COH             151480690062                Gas           Gov. Aggregation
VEDO         4001902332511502            Gas           Gov. Aggregation   COH             194196050031                Gas           Gov. Aggregation
VEDO         4015499552155089            Gas           Gov. Aggregation   COH             196234510030                Gas           Gov. Aggregation
VEDO         4004714672474800            Gas           Gov. Aggregation   COH             199063450015                Gas           Gov. Aggregation
VEDO         4021489532508742            Gas           Gov. Aggregation   COH             165193060021                Gas           Gov. Aggregation
VEDO         4003978602229852            Gas           Gov. Aggregation   COH             111272300044                Gas           Gov. Aggregation
VEDO         4017054832313207            Gas           Gov. Aggregation   COH             172539360043                Gas           Gov. Aggregation
VEDO         4001588342389316            Gas           Gov. Aggregation   COH             125779390019                Gas           Gov. Aggregation
VEDO         4017905892211635            Gas           Gov. Aggregation   COH             137134820029                Gas           Gov. Aggregation
VEDO         4019033562139950            Gas           Gov. Aggregation   VEDO            4015945872195221            Gas           Gov. Aggregation
VEDO         4020900502454958            Gas           Gov. Aggregation   COH             125804060013                Gas           Gov. Aggregation
VEDO         4021499772223952            Gas           Gov. Aggregation   COH             196604590011                Gas           Gov. Aggregation
VEDO         4021493652138567            Gas           Gov. Aggregation   COH             198020120015                Gas           Gov. Aggregation
VEDO         4016325012447947            Gas           Gov. Aggregation   COH             139200170014                Gas           Gov. Aggregation
VEDO         4018803892421028            Gas           Gov. Aggregation   VEDO            4002963472291572            Gas           Gov. Aggregation
VEDO         4019167162491792            Gas           Gov. Aggregation   COH             198539740016                Gas           Gov. Aggregation
VEDO         4001058852423050            Gas           Gov. Aggregation   COH             159993700028                Gas           Gov. Aggregation
VEDO         4016181002200487            Gas           Gov. Aggregation   COH             137279800063                Gas           Gov. Aggregation
VEDO         4016181002362264            Gas           Gov. Aggregation   COH             125790210021                Gas           Gov. Aggregation
VEDO         4021515692505261            Gas           Gov. Aggregation   COH             125750210034                Gas           Gov. Aggregation
VEDO         4020325912501049            Gas           Gov. Aggregation   DEO             1180000006965               Gas           Gov. Aggregation
VEDO         4018976312506359            Gas           Gov. Aggregation   COH             198934790018                Gas           Gov. Aggregation
VEDO         4021305352297177            Gas           Gov. Aggregation   COH             198783030018                Gas           Gov. Aggregation
VEDO         4018460432480443            Gas           Gov. Aggregation   COH             137286140085                Gas           Gov. Aggregation
VEDO         4002257042369058            Gas           Gov. Aggregation   COH             137286140094                Gas           Gov. Aggregation
VEDO         4002257042683302            Gas           Gov. Aggregation   COH             146380370013                Gas           Gov. Aggregation
VEDO         4021493092501230            Gas           Gov. Aggregation   COH             177514530026                Gas           Gov. Aggregation
VEDO         4017098072265221            Gas           Gov. Aggregation   COH             150275700056                Gas           Gov. Aggregation
VEDO         4017718392118021            Gas           Gov. Aggregation   COH             166765090030                Gas           Gov. Aggregation
VEDO         4019029392183341            Gas           Gov. Aggregation   COH             162081540020                Gas           Gov. Aggregation
VEDO         4021500382256210            Gas           Gov. Aggregation   COH             118708640032                Gas           Gov. Aggregation
VEDO         4021409032332363            Gas           Gov. Aggregation   COH             135208590023                Gas           Gov. Aggregation
VEDO         4019798072493168            Gas           Gov. Aggregation   DEO             8421103196597               Gas           Gov. Aggregation
VEDO         4001347552192394            Gas           Gov. Aggregation   DEO             6421004055918               Gas           Gov. Aggregation
VEDO         4016122852380336            Gas           Gov. Aggregation   COH             200733630012                Gas           Gov. Aggregation
VEDO         4021036012329168            Gas           Gov. Aggregation   COH             200706050011                Gas           Gov. Aggregation
VEDO         4021059012221827            Gas           Gov. Aggregation   COH             165121110021                Gas           Gov. Aggregation
VEDO         4002238372106626            Gas           Gov. Aggregation   COH             167400000020                Gas           Gov. Aggregation
VEDO         4019526862426015            Gas           Gov. Aggregation   COH             118824680010                Gas           Gov. Aggregation
VEDO         4018858072434676            Gas           Gov. Aggregation   COH             170064150028                Gas           Gov. Aggregation
VEDO         4015914442348181            Gas           Gov. Aggregation   COH             138040060018                Gas           Gov. Aggregation
VEDO         4017005212435020            Gas           Gov. Aggregation   COH             185814920046                Gas           Gov. Aggregation
VEDO         4021150662388985            Gas           Gov. Aggregation   COH             115004290013                Gas           Gov. Aggregation
VEDO         4020105212177562            Gas           Gov. Aggregation   COH             195099490034                Gas           Gov. Aggregation
VEDO         4019915262100079            Gas           Gov. Aggregation   COH             111220020015                Gas           Gov. Aggregation
VEDO         4018885312122885            Gas           Gov. Aggregation   COH             111220710010                Gas           Gov. Aggregation
VEDO         4021293522515394            Gas           Gov. Aggregation   COH             159915560013                Gas           Gov. Aggregation
VEDO         4004263372111279            Gas           Gov. Aggregation   DEO             7180015085312               Gas           Gov. Aggregation
VEDO         4021267572487918            Gas           Gov. Aggregation   DEO             4420903454505               Gas           Gov. Aggregation
VEDO         4019308832289388            Gas           Gov. Aggregation   VEDO            4002208612248962            Gas           Gov. Aggregation
VEDO         4021230512518716            Gas           Gov. Aggregation   DEO             4500044168715               Gas           Gov. Aggregation
VEDO         4019275222110907            Gas           Gov. Aggregation   COH             136643140015                Gas           Gov. Aggregation
VEDO         4021064972149011            Gas           Gov. Aggregation   COH             196528060014                Gas           Gov. Aggregation
VEDO         4021435982324627            Gas           Gov. Aggregation   COH             192596630015                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4020264542386296            Gas           Gov. Aggregation   COH             192603290010                Gas           Gov. Aggregation
VEDO         4021188392183384            Gas           Gov. Aggregation   COH             192240840014                Gas           Gov. Aggregation
VEDO         4020878132188068            Gas           Gov. Aggregation   COH             200962860019                Gas           Gov. Aggregation
VEDO         4021188392106961            Gas           Gov. Aggregation   DEO             6421002142309               Gas           Gov. Aggregation
VEDO         4002309612157805            Gas           Gov. Aggregation   DEO             5180016371132               Gas           Gov. Aggregation
VEDO         4021044332205400            Gas           Gov. Aggregation   COH             157933820030                Gas           Gov. Aggregation
VEDO         4021186612197917            Gas           Gov. Aggregation   COH             158121470025                Gas           Gov. Aggregation
VEDO         4004229132368164            Gas           Gov. Aggregation   COH             185971390019                Gas           Gov. Aggregation
VEDO         4021177662471485            Gas           Gov. Aggregation   DEO             7180016618665               Gas           Gov. Aggregation
VEDO         4021303792391102            Gas           Gov. Aggregation   COH             140225620041                Gas           Gov. Aggregation
VEDO         4016107782194019            Gas           Gov. Aggregation   DEO             7442006593064               Gas           Gov. Aggregation
VEDO         4002537332248670            Gas           Gov. Aggregation   DEO             3500020064948               Gas           Gov. Aggregation
VEDO         4018379842106178            Gas           Gov. Aggregation   COH             153700260062                Gas           Gov. Aggregation
VEDO         4021036192369468            Gas           Gov. Aggregation   COH             154879900014                Gas           Gov. Aggregation
VEDO         4021431662462819            Gas           Gov. Aggregation   DEO             4500001910774               Gas           Gov. Aggregation
VEDO         4021095962180125            Gas           Gov. Aggregation   COH             138535770010                Gas           Gov. Aggregation
VEDO         4021454892248611            Gas           Gov. Aggregation   DEO             9180002495839               Gas           Gov. Aggregation
VEDO         4004728192480553            Gas           Gov. Aggregation   COH             121952390024                Gas           Gov. Aggregation
VEDO         4021118142313052            Gas           Gov. Aggregation   VEDO            4001002462125751            Gas           Gov. Aggregation
VEDO         4010062222289507            Gas           Gov. Aggregation   COH             108767890029                Gas           Gov. Aggregation
VEDO         4015258172362954            Gas           Gov. Aggregation   COH             210203440013                Gas           Gov. Aggregation
VEDO         4017336132478812            Gas           Gov. Aggregation   COH             210634730019                Gas           Gov. Aggregation
VEDO         4015452312274691            Gas           Gov. Aggregation   COH             209717030013                Gas           Gov. Aggregation
VEDO         4002461132209975            Gas           Gov. Aggregation   COH             209583500019                Gas           Gov. Aggregation
VEDO         4003754952374220            Gas           Gov. Aggregation   COH             210364330025                Gas           Gov. Aggregation
VEDO         4021076072200770            Gas           Gov. Aggregation   COH             194110290040                Gas           Gov. Aggregation
VEDO         4021430552284157            Gas           Gov. Aggregation   COH             208991680018                Gas           Gov. Aggregation
VEDO         4021443412485378            Gas           Gov. Aggregation   COH             210253260016                Gas           Gov. Aggregation
VEDO         4020793132276847            Gas           Gov. Aggregation   COH             209728430016                Gas           Gov. Aggregation
VEDO         4016021362406075            Gas           Gov. Aggregation   COH             209953760010                Gas           Gov. Aggregation
VEDO         4019526112470851            Gas           Gov. Aggregation   COH             201465050021                Gas           Gov. Aggregation
VEDO         4003111952306813            Gas           Gov. Aggregation   COH             210581270019                Gas           Gov. Aggregation
VEDO         4021196522275152            Gas           Gov. Aggregation   COH             210307360010                Gas           Gov. Aggregation
VEDO         4020920072528665            Gas           Gov. Aggregation   COH             210253250018                Gas           Gov. Aggregation
VEDO         4016078772141134            Gas           Gov. Aggregation   COH             210148450019                Gas           Gov. Aggregation
VEDO         4015492432178942            Gas           Gov. Aggregation   COH             209522210018                Gas           Gov. Aggregation
VEDO         4021237492183102            Gas           Gov. Aggregation   COH             203155910043                Gas           Gov. Aggregation
VEDO         4003646292190324            Gas           Gov. Aggregation   COH             210499580019                Gas           Gov. Aggregation
VEDO         4018899732399037            Gas           Gov. Aggregation   COH             177625940034                Gas           Gov. Aggregation
VEDO         4021427392199390            Gas           Gov. Aggregation   COH             210247640019                Gas           Gov. Aggregation
VEDO         4019868852410966            Gas           Gov. Aggregation   COH             203079871687                Gas           Gov. Aggregation
VEDO         4021401712172303            Gas           Gov. Aggregation   COH             164989240152                Gas           Gov. Aggregation
VEDO         4021497372292792            Gas           Gov. Aggregation   COH             198608280061                Gas           Gov. Aggregation
VEDO         4002844302279451            Gas           Gov. Aggregation   COH             210549180016                Gas           Gov. Aggregation
VEDO         4018730512250445            Gas           Gov. Aggregation   COH             209567980013                Gas           Gov. Aggregation
VEDO         4003919652683449            Gas           Gov. Aggregation   COH             173230260038                Gas           Gov. Aggregation
VEDO         4021021052340518            Gas           Gov. Aggregation   COH             144493150012                Gas           Gov. Aggregation
VEDO         4019505752161313            Gas           Gov. Aggregation   DEO             7420904771765               Gas           Gov. Aggregation
VEDO         4021177982354972            Gas           Gov. Aggregation   COH             191319070038                Gas           Gov. Aggregation
VEDO         4021235582251962            Gas           Gov. Aggregation   COH             201606990015                Gas           Gov. Aggregation
VEDO         4004380482115634            Gas           Gov. Aggregation   COH             112275480031                Gas           Gov. Aggregation
VEDO         4019268922118551            Gas           Gov. Aggregation   COH             112289080027                Gas           Gov. Aggregation
VEDO         4018631082430097            Gas           Gov. Aggregation   COH             156422980013                Gas           Gov. Aggregation
VEDO         4020320052486020            Gas           Gov. Aggregation   COH             117010220021                Gas           Gov. Aggregation
VEDO         4001128602295972            Gas           Gov. Aggregation   DEO             3120000019911               Gas           Gov. Aggregation
VEDO         4015501702318418            Gas           Gov. Aggregation   COH             194334590025                Gas           Gov. Aggregation
VEDO         4020791702145365            Gas           Gov. Aggregation   DEO             2500037648564               Gas           Gov. Aggregation
VEDO         4021514952141418            Gas           Gov. Aggregation   COH             194363010016                Gas           Gov. Aggregation
VEDO         4002583482466119            Gas           Gov. Aggregation   COH             202638580013                Gas           Gov. Aggregation
VEDO         4021184252216761            Gas           Gov. Aggregation   COH             124395030037                Gas           Gov. Aggregation
VEDO         4018705892371890            Gas           Gov. Aggregation   DEO             1421002883143               Gas           Gov. Aggregation
VEDO         4021489412110469            Gas           Gov. Aggregation   COH             189773870032                Gas           Gov. Aggregation
VEDO         4019762232407021            Gas           Gov. Aggregation   COH             198617030019                Gas           Gov. Aggregation
VEDO         4021030732194261            Gas           Gov. Aggregation   COH             195285960012                Gas           Gov. Aggregation
VEDO         4021212162347583            Gas           Gov. Aggregation   COH             196119400019                Gas           Gov. Aggregation
VEDO         4021403042446037            Gas           Gov. Aggregation   COH             196641420018                Gas           Gov. Aggregation
VEDO         4018440902397857            Gas           Gov. Aggregation   COH             198623800014                Gas           Gov. Aggregation
VEDO         4004741952214165            Gas           Gov. Aggregation   COH             201270670015                Gas           Gov. Aggregation
VEDO         4018614112504073            Gas           Gov. Aggregation   COH             199542060011                Gas           Gov. Aggregation
VEDO         4021501052144607            Gas           Gov. Aggregation   COH             198956240026                Gas           Gov. Aggregation
VEDO         4018509022352890            Gas           Gov. Aggregation   COH             201782570011                Gas           Gov. Aggregation
VEDO         4021060482624787            Gas           Gov. Aggregation   COH             200137840012                Gas           Gov. Aggregation
VEDO         4021094212329463            Gas           Gov. Aggregation   COH             196071480015                Gas           Gov. Aggregation
VEDO         4021171482165921            Gas           Gov. Aggregation   COH             198458430013                Gas           Gov. Aggregation
VEDO         4019249572474034            Gas           Gov. Aggregation   COH             200131990031                Gas           Gov. Aggregation
VEDO         4018616642375989            Gas           Gov. Aggregation   COH             200906140018                Gas           Gov. Aggregation
VEDO         4021029152197220            Gas           Gov. Aggregation   DEO             2421003841369               Gas           Gov. Aggregation
VEDO         4021163542409904            Gas           Gov. Aggregation   COH             127653630012                Gas           Gov. Aggregation
VEDO         4021484762242497            Gas           Gov. Aggregation   DEO             7500022861326               Gas           Gov. Aggregation
VEDO         4021200572138895            Gas           Gov. Aggregation   COH             140393920016                Gas           Gov. Aggregation
VEDO         4019873932131022            Gas           Gov. Aggregation   DEO             3500030172887               Gas           Gov. Aggregation
VEDO         4021286052257679            Gas           Gov. Aggregation   COH             122509390013                Gas           Gov. Aggregation
VEDO         4015955772512961            Gas           Gov. Aggregation   COH             122404470018                Gas           Gov. Aggregation
VEDO         4020945212130150            Gas           Gov. Aggregation   DEO             2421101659647               Gas           Gov. Aggregation
VEDO         4021416362107563            Gas           Gov. Aggregation   COH             156247920017                Gas           Gov. Aggregation
VEDO         4019747952259164            Gas           Gov. Aggregation   COH             188338240046                Gas           Gov. Aggregation
VEDO         4001484462398735            Gas           Gov. Aggregation   DEO             4421004559070               Gas           Gov. Aggregation
VEDO         4021518272512981            Gas           Gov. Aggregation   COH             189732160037                Gas           Gov. Aggregation
VEDO         4021448442525157            Gas           Gov. Aggregation   COH             117343360018                Gas           Gov. Aggregation
VEDO         4021237032137002            Gas           Gov. Aggregation   COH             140568900019                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4017769152308360            Gas           Gov. Aggregation   COH             173539640034                Gas           Gov. Aggregation
VEDO         4019496822330092            Gas           Gov. Aggregation   COH             131010220041                Gas           Gov. Aggregation
VEDO         4002268212437946            Gas           Gov. Aggregation   COH             148432370038                Gas           Gov. Aggregation
VEDO         4020924692448008            Gas           Gov. Aggregation   COH             203156090017                Gas           Gov. Aggregation
VEDO         4005155082498248            Gas           Gov. Aggregation   DEO             6500018769791               Gas           Gov. Aggregation
VEDO         4019459682280293            Gas           Gov. Aggregation   COH             203295710012                Gas           Gov. Aggregation
VEDO         4019459682320130            Gas           Gov. Aggregation   COH             118051310016                Gas           Gov. Aggregation
VEDO         4019459682195222            Gas           Gov. Aggregation   COH             155974670029                Gas           Gov. Aggregation
VEDO         4019459682410678            Gas           Gov. Aggregation   COH             108718070024                Gas           Gov. Aggregation
VEDO         4019459682512470            Gas           Gov. Aggregation   COH             108722360015                Gas           Gov. Aggregation
VEDO         4019459682285488            Gas           Gov. Aggregation   COH             175062770036                Gas           Gov. Aggregation
VEDO         4019459682382455            Gas           Gov. Aggregation   COH             149268460037                Gas           Gov. Aggregation
VEDO         4019459682121162            Gas           Gov. Aggregation   VEDO            4017257272114122            Gas           Gov. Aggregation
VEDO         4019459682178839            Gas           Gov. Aggregation   VEDO            4020190172471139            Gas           Gov. Aggregation
VEDO         4002020262345838            Gas           Gov. Aggregation   VEDO            4017743982392866            Gas           Gov. Aggregation
VEDO         4016937822356904            Gas           Gov. Aggregation   VEDO            4001854952181015            Gas           Gov. Aggregation
VEDO         4020924052497816            Gas           Gov. Aggregation   VEDO            4002925092287522            Gas           Gov. Aggregation
VEDO         4021225912194116            Gas           Gov. Aggregation   DEO             9500060458079               Gas           Gov. Aggregation
VEDO         4020312012223497            Gas           Gov. Aggregation   DEO             7500060370641               Gas           Gov. Aggregation
VEDO         4001696132459662            Gas           Gov. Aggregation   COH             153658300037                Gas           Gov. Aggregation
VEDO         4021224042404602            Gas           Gov. Aggregation   COH             111284310010                Gas           Gov. Aggregation
VEDO         4021426712435799            Gas           Gov. Aggregation   COH             138490490033                Gas           Gov. Aggregation
VEDO         4021286872191628            Gas           Gov. Aggregation   COH             201069410034                Gas           Gov. Aggregation
VEDO         4021055782278882            Gas           Gov. Aggregation   COH             192336730041                Gas           Gov. Aggregation
VEDO         4021186292183307            Gas           Gov. Aggregation   COH             204057090016                Gas           Gov. Aggregation
VEDO         4020942302458917            Gas           Gov. Aggregation   COH             160718620024                Gas           Gov. Aggregation
VEDO         4016626272219414            Gas           Gov. Aggregation   COH             175187460028                Gas           Gov. Aggregation
VEDO         4004045642226268            Gas           Gov. Aggregation   COH             117556750024                Gas           Gov. Aggregation
VEDO         4018028012376721            Gas           Gov. Aggregation   COH             122413020031                Gas           Gov. Aggregation
VEDO         4017466352249580            Gas           Gov. Aggregation   COH             157415950013                Gas           Gov. Aggregation
VEDO         4020944532285116            Gas           Gov. Aggregation   COH             134090110016                Gas           Gov. Aggregation
VEDO         4017762642156764            Gas           Gov. Aggregation   COH             125843280015                Gas           Gov. Aggregation
VEDO         4002619982313340            Gas           Gov. Aggregation   COH             162502780035                Gas           Gov. Aggregation
VEDO         4020312372648585            Gas           Gov. Aggregation   COH             162502780053                Gas           Gov. Aggregation
VEDO         4018280552450624            Gas           Gov. Aggregation   COH             170715010044                Gas           Gov. Aggregation
VEDO         4001880352462165            Gas           Gov. Aggregation   COH             124572010026                Gas           Gov. Aggregation
VEDO         4018735852317044            Gas           Gov. Aggregation   DEO             0500017608168               Gas           Gov. Aggregation
VEDO         4021423932386631            Gas           Gov. Aggregation   COH             204420600017                Gas           Gov. Aggregation
VEDO         4021006322118183            Gas           Gov. Aggregation   COH             204479410014                Gas           Gov. Aggregation
VEDO         4019960492251591            Gas           Gov. Aggregation   COH             125778240076                Gas           Gov. Aggregation
VEDO         4001188542160772            Gas           Gov. Aggregation   COH             204547780012                Gas           Gov. Aggregation
VEDO         4004687572240239            Gas           Gov. Aggregation   COH             196788780013                Gas           Gov. Aggregation
VEDO         4015047852492699            Gas           Gov. Aggregation   COH             197541410011                Gas           Gov. Aggregation
VEDO         4015124472104195            Gas           Gov. Aggregation   COH             198244990019                Gas           Gov. Aggregation
VEDO         4017435902455705            Gas           Gov. Aggregation   COH             199673460010                Gas           Gov. Aggregation
VEDO         4017463922502608            Gas           Gov. Aggregation   COH             188402320088                Gas           Gov. Aggregation
VEDO         4017601212391020            Gas           Gov. Aggregation   COH             188641190053                Gas           Gov. Aggregation
VEDO         4021505282448110            Gas           Gov. Aggregation   COH             120457400031                Gas           Gov. Aggregation
VEDO         4002464922615953            Gas           Gov. Aggregation   COH             191851040045                Gas           Gov. Aggregation
VEDO         4015515712417845            Gas           Gov. Aggregation   COH             192131297292                Gas           Gov. Aggregation
VEDO         4021013252407573            Gas           Gov. Aggregation   COH             192131296668                Gas           Gov. Aggregation
VEDO         4017125872299327            Gas           Gov. Aggregation   COH             155801680022                Gas           Gov. Aggregation
VEDO         4003792642160475            Gas           Gov. Aggregation   COH             157920360025                Gas           Gov. Aggregation
VEDO         4021229772351330            Gas           Gov. Aggregation   COH             151185470162                Gas           Gov. Aggregation
VEDO         4015655732529952            Gas           Gov. Aggregation   COH             141615560055                Gas           Gov. Aggregation
VEDO         4018463222207230            Gas           Gov. Aggregation   COH             204319710019                Gas           Gov. Aggregation
VEDO         4003519592382964            Gas           Gov. Aggregation   COH             203208380033                Gas           Gov. Aggregation
VEDO         4021023532302462            Gas           Gov. Aggregation   COH             202972000016                Gas           Gov. Aggregation
VEDO         4015815892578383            Gas           Gov. Aggregation   COH             189705880042                Gas           Gov. Aggregation
VEDO         4021237442291593            Gas           Gov. Aggregation   COH             200423520012                Gas           Gov. Aggregation
VEDO         4017277842469482            Gas           Gov. Aggregation   COH             201017350018                Gas           Gov. Aggregation
VEDO         4019326422567020            Gas           Gov. Aggregation   COH             201017350027                Gas           Gov. Aggregation
VEDO         4021033292494550            Gas           Gov. Aggregation   COH             200635200010                Gas           Gov. Aggregation
VEDO         4021416812255267            Gas           Gov. Aggregation   COH             202055240010                Gas           Gov. Aggregation
VEDO         4021185842683946            Gas           Gov. Aggregation   COH             201833970018                Gas           Gov. Aggregation
VEDO         4021286182188035            Gas           Gov. Aggregation   COH             187352990111                Gas           Gov. Aggregation
VEDO         4021149882201842            Gas           Gov. Aggregation   COH             202501770012                Gas           Gov. Aggregation
VEDO         4021161132347736            Gas           Gov. Aggregation   COH             201183570011                Gas           Gov. Aggregation
VEDO         4021438362535321            Gas           Gov. Aggregation   COH             202599670018                Gas           Gov. Aggregation
VEDO         4021372742535807            Gas           Gov. Aggregation   COH             156607000052                Gas           Gov. Aggregation
VEDO         4005001782478119            Gas           Gov. Aggregation   COH             166560840036                Gas           Gov. Aggregation
VEDO         4021182522470181            Gas           Gov. Aggregation   COH             159960700036                Gas           Gov. Aggregation
VEDO         4021292782240315            Gas           Gov. Aggregation   COH             201549850016                Gas           Gov. Aggregation
VEDO         4020040062495007            Gas           Gov. Aggregation   COH             200411270010                Gas           Gov. Aggregation
VEDO         4017514072235230            Gas           Gov. Aggregation   COH             203881760019                Gas           Gov. Aggregation
VEDO         4017514072295462            Gas           Gov. Aggregation   COH             202833680018                Gas           Gov. Aggregation
VEDO         4001459832256987            Gas           Gov. Aggregation   COH             204095650018                Gas           Gov. Aggregation
VEDO         4016064002405613            Gas           Gov. Aggregation   COH             158825350019                Gas           Gov. Aggregation
VEDO         4019362682306145            Gas           Gov. Aggregation   COH             145270140015                Gas           Gov. Aggregation
VEDO         4020409712282100            Gas           Gov. Aggregation   COH             162081160066                Gas           Gov. Aggregation
VEDO         4016554842489329            Gas           Gov. Aggregation   COH             172599980029                Gas           Gov. Aggregation
VEDO         4018201022381351            Gas           Gov. Aggregation   COH             171824760036                Gas           Gov. Aggregation
VEDO         4003608892345039            Gas           Gov. Aggregation   COH             171526370067                Gas           Gov. Aggregation
VEDO         4019917612418770            Gas           Gov. Aggregation   COH             173625170030                Gas           Gov. Aggregation
VEDO         4020791972128130            Gas           Gov. Aggregation   COH             200484900014                Gas           Gov. Aggregation
VEDO         4021405662158473            Gas           Gov. Aggregation   COH             203966220012                Gas           Gov. Aggregation
VEDO         4021286612272119            Gas           Gov. Aggregation   COH             146354780085                Gas           Gov. Aggregation
VEDO         4001669962212268            Gas           Gov. Aggregation   COH             150188960020                Gas           Gov. Aggregation
VEDO         4004983862509829            Gas           Gov. Aggregation   COH             158785550031                Gas           Gov. Aggregation
VEDO         4021491782429329            Gas           Gov. Aggregation   DEO             4385000004924               Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4015332682511767            Gas           Gov. Aggregation   COH             154281840185                Gas           Gov. Aggregation
VEDO         4017773572322820            Gas           Gov. Aggregation   COH             199665680075                Gas           Gov. Aggregation
VEDO         4018875912424225            Gas           Gov. Aggregation   COH             137601270042                Gas           Gov. Aggregation
VEDO         4021077062142606            Gas           Gov. Aggregation   COH             195378710044                Gas           Gov. Aggregation
VEDO         4019919482599841            Gas           Gov. Aggregation   COH             195318460034                Gas           Gov. Aggregation
VEDO         4017426632532946            Gas           Gov. Aggregation   COH             203966140028                Gas           Gov. Aggregation
VEDO         4002539122605992            Gas           Gov. Aggregation   COH             209621100011                Gas           Gov. Aggregation
VEDO         4020279672646322            Gas           Gov. Aggregation   COH             203079871650                Gas           Gov. Aggregation
VEDO         4015681432529122            Gas           Gov. Aggregation   COH             209626770011                Gas           Gov. Aggregation
VEDO         4016957992197963            Gas           Gov. Aggregation   COH             205757020024                Gas           Gov. Aggregation
VEDO         4017355182137556            Gas           Gov. Aggregation   COH             206665570023                Gas           Gov. Aggregation
VEDO         4001780222319018            Gas           Gov. Aggregation   COH             210611530019                Gas           Gov. Aggregation
VEDO         4019852952646536            Gas           Gov. Aggregation   COH             210536670010                Gas           Gov. Aggregation
VEDO         4021443472210490            Gas           Gov. Aggregation   COH             209702660021                Gas           Gov. Aggregation
VEDO         4021423742162524            Gas           Gov. Aggregation   COH             209791640019                Gas           Gov. Aggregation
VEDO         4018141592129713            Gas           Gov. Aggregation   COH             198910500036                Gas           Gov. Aggregation
VEDO         4019217502456140            Gas           Gov. Aggregation   COH             210388520016                Gas           Gov. Aggregation
VEDO         4021119882272460            Gas           Gov. Aggregation   COH             204937630034                Gas           Gov. Aggregation
VEDO         4021048192269333            Gas           Gov. Aggregation   COH             167022360063                Gas           Gov. Aggregation
VEDO         4018709292131257            Gas           Gov. Aggregation   COH             145572310028                Gas           Gov. Aggregation
VEDO         4021198652384127            Gas           Gov. Aggregation   COH             167040810079                Gas           Gov. Aggregation
VEDO         4021400272530231            Gas           Gov. Aggregation   COH             167128330038                Gas           Gov. Aggregation
VEDO         4001683002610424            Gas           Gov. Aggregation   COH             195254850029                Gas           Gov. Aggregation
VEDO         4001668092624373            Gas           Gov. Aggregation   COH             209522260018                Gas           Gov. Aggregation
VEDO         4021026152619602            Gas           Gov. Aggregation   COH             210268510012                Gas           Gov. Aggregation
VEDO         4002295412675565            Gas           Gov. Aggregation   COH             210268520010                Gas           Gov. Aggregation
VEDO         4021441502686037            Gas           Gov. Aggregation   COH             210306020013                Gas           Gov. Aggregation
VEDO         4002769532674590            Gas           Gov. Aggregation   COH             209919180014                Gas           Gov. Aggregation
VEDO         4018856212674591            Gas           Gov. Aggregation   COH             210411940017                Gas           Gov. Aggregation
VEDO         4018535842683545            Gas           Gov. Aggregation   COH             210676550019                Gas           Gov. Aggregation
VEDO         4020927172602890            Gas           Gov. Aggregation   COH             203295420031                Gas           Gov. Aggregation
VEDO         4021033832603407            Gas           Gov. Aggregation   COH             210611610012                Gas           Gov. Aggregation
VEDO         4020105592640426            Gas           Gov. Aggregation   COH             210237380015                Gas           Gov. Aggregation
VEDO         4019210112640409            Gas           Gov. Aggregation   COH             209953100250                Gas           Gov. Aggregation
VEDO         4018886742642645            Gas           Gov. Aggregation   COH             210455090014                Gas           Gov. Aggregation
VEDO         4017334792637238            Gas           Gov. Aggregation   COH             209094180014                Gas           Gov. Aggregation
VEDO         4021266892628388            Gas           Gov. Aggregation   COH             209560310017                Gas           Gov. Aggregation
VEDO         4021483262647388            Gas           Gov. Aggregation   COH             162872510029                Gas           Gov. Aggregation
VEDO         4019819652629167            Gas           Gov. Aggregation   COH             209826930013                Gas           Gov. Aggregation
VEDO         4019731852629166            Gas           Gov. Aggregation   COH             172849470123                Gas           Gov. Aggregation
VEDO         4021517312591102            Gas           Gov. Aggregation   COH             210075430018                Gas           Gov. Aggregation
VEDO         4003039042642367            Gas           Gov. Aggregation   COH             210288280019                Gas           Gov. Aggregation
VEDO         4002289492683089            Gas           Gov. Aggregation   COH             209972030013                Gas           Gov. Aggregation
VEDO         4003844842632820            Gas           Gov. Aggregation   COH             210138460018                Gas           Gov. Aggregation
VEDO         4016458362646226            Gas           Gov. Aggregation   COH             209368660012                Gas           Gov. Aggregation
VEDO         4021162352413811            Gas           Gov. Aggregation   COH             210468690011                Gas           Gov. Aggregation
VEDO         4020204382268893            Gas           Gov. Aggregation   COH             210065970016                Gas           Gov. Aggregation
VEDO         4021251932536283            Gas           Gov. Aggregation   COH             209993440013                Gas           Gov. Aggregation
VEDO         4021156222626855            Gas           Gov. Aggregation   COH             210250980011                Gas           Gov. Aggregation
VEDO         4021511972411312            Gas           Gov. Aggregation   COH             210519680014                Gas           Gov. Aggregation
VEDO         4001514642402710            Gas           Gov. Aggregation   COH             210021210017                Gas           Gov. Aggregation
VEDO         4016026832405579            Gas           Gov. Aggregation   COH             209928970019                Gas           Gov. Aggregation
VEDO         4003126442308271            Gas           Gov. Aggregation   COH             210138450010                Gas           Gov. Aggregation
VEDO         4001254132516204            Gas           Gov. Aggregation   COH             209839670011                Gas           Gov. Aggregation
VEDO         4001678752402722            Gas           Gov. Aggregation   COH             206133400025                Gas           Gov. Aggregation
VEDO         4015519062326863            Gas           Gov. Aggregation   COH             209237990010                Gas           Gov. Aggregation
VEDO         4017884192503648            Gas           Gov. Aggregation   COH             206051120331                Gas           Gov. Aggregation
VEDO         4017704412236061            Gas           Gov. Aggregation   COH             165559290063                Gas           Gov. Aggregation
VEDO         4004342792288850            Gas           Gov. Aggregation   COH             165559290054                Gas           Gov. Aggregation
VEDO         4021299332486170            Gas           Gov. Aggregation   COH             138273940636                Gas           Gov. Aggregation
VEDO         4018238002453461            Gas           Gov. Aggregation   COH             138273940645                Gas           Gov. Aggregation
VEDO         4020885392279526            Gas           Gov. Aggregation   COH             210325650011                Gas           Gov. Aggregation
VEDO         4017813302505992            Gas           Gov. Aggregation   COH             210602140010                Gas           Gov. Aggregation
VEDO         4021037382243142            Gas           Gov. Aggregation   COH             205164800027                Gas           Gov. Aggregation
VEDO         4004453862254625            Gas           Gov. Aggregation   COH             210723040015                Gas           Gov. Aggregation
VEDO         4021046442393474            Gas           Gov. Aggregation   COH             209880850178                Gas           Gov. Aggregation
VEDO         4021431212492105            Gas           Gov. Aggregation   COH             209560960217                Gas           Gov. Aggregation
VEDO         4021466762169915            Gas           Gov. Aggregation   COH             210423170014                Gas           Gov. Aggregation
VEDO         4018374782510694            Gas           Gov. Aggregation   COH             209891150010                Gas           Gov. Aggregation
VEDO         4021511202456340            Gas           Gov. Aggregation   COH             209993590012                Gas           Gov. Aggregation
VEDO         4021086192117133            Gas           Gov. Aggregation   COH             207840540026                Gas           Gov. Aggregation
VEDO         4021157972274115            Gas           Gov. Aggregation   COH             209859811072                Gas           Gov. Aggregation
VEDO         4021099972175203            Gas           Gov. Aggregation   COH             209950590012                Gas           Gov. Aggregation
VEDO         4015520612254497            Gas           Gov. Aggregation   COH             209309321561                Gas           Gov. Aggregation
VEDO         4021505192238357            Gas           Gov. Aggregation   COH             209309321294                Gas           Gov. Aggregation
VEDO         4015385632134079            Gas           Gov. Aggregation   COH             210020680011                Gas           Gov. Aggregation
VEDO         4021070572383219            Gas           Gov. Aggregation   COH             202720060026                Gas           Gov. Aggregation
VEDO         4001169792116028            Gas           Gov. Aggregation   COH             209953100036                Gas           Gov. Aggregation
VEDO         4001169792234652            Gas           Gov. Aggregation   COH             210157690010                Gas           Gov. Aggregation
VEDO         4019954422473158            Gas           Gov. Aggregation   COH             210064770010                Gas           Gov. Aggregation
VEDO         4020212402340736            Gas           Gov. Aggregation   COH             210393130017                Gas           Gov. Aggregation
VEDO         4019182092482814            Gas           Gov. Aggregation   COH             209953100296                Gas           Gov. Aggregation
VEDO         4021014362511712            Gas           Gov. Aggregation   COH             209841060014                Gas           Gov. Aggregation
VEDO         4017747472172478            Gas           Gov. Aggregation   COH             210667100012                Gas           Gov. Aggregation
VEDO         4021476992122943            Gas           Gov. Aggregation   COH             209634830011                Gas           Gov. Aggregation
VEDO         4020923492106277            Gas           Gov. Aggregation   COH             171879560015                Gas           Gov. Aggregation
VEDO         4015951252228267            Gas           Gov. Aggregation   COH             210625460015                Gas           Gov. Aggregation
VEDO         4015546982356912            Gas           Gov. Aggregation   COH             189793550082                Gas           Gov. Aggregation
VEDO         4018682842138624            Gas           Gov. Aggregation   COH             176019360096                Gas           Gov. Aggregation
VEDO         4017415942600924            Gas           Gov. Aggregation   COH             208958160026                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4021118412480351            Gas           Gov. Aggregation   COH             204311050023                Gas           Gov. Aggregation
VEDO         4020889382684899            Gas           Gov. Aggregation   COH             210708580014                Gas           Gov. Aggregation
VEDO         4019959492414740            Gas           Gov. Aggregation   COH             189554580046                Gas           Gov. Aggregation
VEDO         4021265022149399            Gas           Gov. Aggregation   COH             204370700022                Gas           Gov. Aggregation
VEDO         4021295182610608            Gas           Gov. Aggregation   COH             209826870016                Gas           Gov. Aggregation
VEDO         4018023602464457            Gas           Gov. Aggregation   COH             210423050019                Gas           Gov. Aggregation
VEDO         4019916392299880            Gas           Gov. Aggregation   COH             210036550015                Gas           Gov. Aggregation
VEDO         4021419342220810            Gas           Gov. Aggregation   COH             210037400014                Gas           Gov. Aggregation
VEDO         4015359422436056            Gas           Gov. Aggregation   COH             209664350019                Gas           Gov. Aggregation
VEDO         4021025582677537            Gas           Gov. Aggregation   COH             209853830017                Gas           Gov. Aggregation
VEDO         4018023602304539            Gas           Gov. Aggregation   COH             209882260016                Gas           Gov. Aggregation
VEDO         4021452612686144            Gas           Gov. Aggregation   COH             117088610035                Gas           Gov. Aggregation
VEDO         4002901072285089            Gas           Gov. Aggregation   COH             209577400013                Gas           Gov. Aggregation
VEDO         4021090552290412            Gas           Gov. Aggregation   COH             210457300015                Gas           Gov. Aggregation
VEDO         4020847172242407            Gas           Gov. Aggregation   COH             209309320740                Gas           Gov. Aggregation
VEDO         4018065922260614            Gas           Gov. Aggregation   COH             195159280049                Gas           Gov. Aggregation
VEDO         4019976692328048            Gas           Gov. Aggregation   COH             210235060016                Gas           Gov. Aggregation
VEDO         4018310432161799            Gas           Gov. Aggregation   COH             196095970030                Gas           Gov. Aggregation
VEDO         4021194302307706            Gas           Gov. Aggregation   COH             209571030013                Gas           Gov. Aggregation
VEDO         4020925372390505            Gas           Gov. Aggregation   COH             209560960173                Gas           Gov. Aggregation
VEDO         4016764432343521            Gas           Gov. Aggregation   COH             209786220018                Gas           Gov. Aggregation
VEDO         4016780822460500            Gas           Gov. Aggregation   COH             209908520015                Gas           Gov. Aggregation
VEDO         4021403982539250            Gas           Gov. Aggregation   COH             200880230060                Gas           Gov. Aggregation
VEDO         4021421832302130            Gas           Gov. Aggregation   COH             203635870035                Gas           Gov. Aggregation
VEDO         4021054162506568            Gas           Gov. Aggregation   COH             210218790019                Gas           Gov. Aggregation
VEDO         4021291312134126            Gas           Gov. Aggregation   COH             210651470018                Gas           Gov. Aggregation
VEDO         4021425892122587            Gas           Gov. Aggregation   COH             210676450010                Gas           Gov. Aggregation
VEDO         4021060732458498            Gas           Gov. Aggregation   COH             207815740018                Gas           Gov. Aggregation
VEDO         4021261392230049            Gas           Gov. Aggregation   COH             210028280019                Gas           Gov. Aggregation
VEDO         4021261242280197            Gas           Gov. Aggregation   COH             198610150036                Gas           Gov. Aggregation
VEDO         4021023952347137            Gas           Gov. Aggregation   COH             210529760016                Gas           Gov. Aggregation
VEDO         4001107732110251            Gas           Gov. Aggregation   COH             205085630021                Gas           Gov. Aggregation
VEDO         4021489862493747            Gas           Gov. Aggregation   COH             162039300458                Gas           Gov. Aggregation
VEDO         4016266232590065            Gas           Gov. Aggregation   COH             162872520036                Gas           Gov. Aggregation
VEDO         4016425382219306            Gas           Gov. Aggregation   COH             209974090017                Gas           Gov. Aggregation
VEDO         4021187062494349            Gas           Gov. Aggregation   COH             196823830034                Gas           Gov. Aggregation
VEDO         4018720862405045            Gas           Gov. Aggregation   COH             201702590042                Gas           Gov. Aggregation
VEDO         4019736612264657            Gas           Gov. Aggregation   COH             210226250015                Gas           Gov. Aggregation
VEDO         4017226882422105            Gas           Gov. Aggregation   COH             139346610040                Gas           Gov. Aggregation
VEDO         4021009642648725            Gas           Gov. Aggregation   COH             209953100223                Gas           Gov. Aggregation
VEDO         4021193442483583            Gas           Gov. Aggregation   COH             210054020018                Gas           Gov. Aggregation
VEDO         4015445662183670            Gas           Gov. Aggregation   COH             198865160035                Gas           Gov. Aggregation
VEDO         4018226912682986            Gas           Gov. Aggregation   COH             147029380201                Gas           Gov. Aggregation
VEDO         4021037802633245            Gas           Gov. Aggregation   COH             210245620017                Gas           Gov. Aggregation
VEDO         4019335842287646            Gas           Gov. Aggregation   COH             202227590058                Gas           Gov. Aggregation
VEDO         4020138792393549            Gas           Gov. Aggregation   COH             209309320982                Gas           Gov. Aggregation
VEDO         4021436012453625            Gas           Gov. Aggregation   COH             209826750011                Gas           Gov. Aggregation
VEDO         4021068822429728            Gas           Gov. Aggregation   COH             202042760036                Gas           Gov. Aggregation
VEDO         4010111752680032            Gas           Gov. Aggregation   COH             205507400032                Gas           Gov. Aggregation
VEDO         4017307952464605            Gas           Gov. Aggregation   COH             210723030017                Gas           Gov. Aggregation
VEDO         4004965212501457            Gas           Gov. Aggregation   COH             193836270056                Gas           Gov. Aggregation
VEDO         4002140022102668            Gas           Gov. Aggregation   COH             167037840043                Gas           Gov. Aggregation
VEDO         4017637532277471            Gas           Gov. Aggregation   COH             199111320028                Gas           Gov. Aggregation
VEDO         4017047612504839            Gas           Gov. Aggregation   COH             209686230018                Gas           Gov. Aggregation
VEDO         4021438382387683            Gas           Gov. Aggregation   COH             210349250015                Gas           Gov. Aggregation
VEDO         4005012622472791            Gas           Gov. Aggregation   COH             208178480041                Gas           Gov. Aggregation
VEDO         4019123932482761            Gas           Gov. Aggregation   COH             187583370041                Gas           Gov. Aggregation
VEDO         4003752612441828            Gas           Gov. Aggregation   COH             210667710014                Gas           Gov. Aggregation
VEDO         4020928662342894            Gas           Gov. Aggregation   COH             206917320020                Gas           Gov. Aggregation
VEDO         4021193542264372            Gas           Gov. Aggregation   COH             210218060012                Gas           Gov. Aggregation
VEDO         4021237652191316            Gas           Gov. Aggregation   COH             208377410016                Gas           Gov. Aggregation
VEDO         4021188592437858            Gas           Gov. Aggregation   COH             198584950026                Gas           Gov. Aggregation
VEDO         4021114092380035            Gas           Gov. Aggregation   COH             171559690043                Gas           Gov. Aggregation
VEDO         4002571092477800            Gas           Gov. Aggregation   COH             173522830075                Gas           Gov. Aggregation
VEDO         4021154902188550            Gas           Gov. Aggregation   COH             208865210022                Gas           Gov. Aggregation
VEDO         4021209052174407            Gas           Gov. Aggregation   COH             186384050032                Gas           Gov. Aggregation
VEDO         4015645642440389            Gas           Gov. Aggregation   COH             210676100013                Gas           Gov. Aggregation
VEDO         4021283652265411            Gas           Gov. Aggregation   COH             209368680018                Gas           Gov. Aggregation
VEDO         4021401092274487            Gas           Gov. Aggregation   COH             210294750017                Gas           Gov. Aggregation
VEDO         4021101952322978            Gas           Gov. Aggregation   COH             199528880073                Gas           Gov. Aggregation
VEDO         4005138662112366            Gas           Gov. Aggregation   COH             204674650038                Gas           Gov. Aggregation
VEDO         4021118552245230            Gas           Gov. Aggregation   COH             206990960022                Gas           Gov. Aggregation
VEDO         4018434952521447            Gas           Gov. Aggregation   COH             169386960047                Gas           Gov. Aggregation
VEDO         4003136122127933            Gas           Gov. Aggregation   COH             209134590021                Gas           Gov. Aggregation
VEDO         4001002262203781            Gas           Gov. Aggregation   COH             210457560011                Gas           Gov. Aggregation
VEDO         4001002262276325            Gas           Gov. Aggregation   COH             210491880012                Gas           Gov. Aggregation
VEDO         4021402582152965            Gas           Gov. Aggregation   COH             137768060026                Gas           Gov. Aggregation
VEDO         4021403652522187            Gas           Gov. Aggregation   COH             117896180033                Gas           Gov. Aggregation
VEDO         4021080662178649            Gas           Gov. Aggregation   COH             210723150012                Gas           Gov. Aggregation
VEDO         4021511862435577            Gas           Gov. Aggregation   COH             209677490013                Gas           Gov. Aggregation
VEDO         4018364802379527            Gas           Gov. Aggregation   COH             191695670036                Gas           Gov. Aggregation
VEDO         4018777142364214            Gas           Gov. Aggregation   COH             210164870017                Gas           Gov. Aggregation
VEDO         4020866452275957            Gas           Gov. Aggregation   COH             201518710029                Gas           Gov. Aggregation
VEDO         4021227252510191            Gas           Gov. Aggregation   COH             208689610022                Gas           Gov. Aggregation
VEDO         4021225532290821            Gas           Gov. Aggregation   COH             203079871847                Gas           Gov. Aggregation
VEDO         4015389352214037            Gas           Gov. Aggregation   COH             108774630064                Gas           Gov. Aggregation
VEDO         4020078312493233            Gas           Gov. Aggregation   COH             162120110071                Gas           Gov. Aggregation
VEDO         4021493702386102            Gas           Gov. Aggregation   COH             200646440035                Gas           Gov. Aggregation
VEDO         4019466622480295            Gas           Gov. Aggregation   COH             190549539607                Gas           Gov. Aggregation
VEDO         4021460292472163            Gas           Gov. Aggregation   COH             163973290067                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4016193002320273            Gas           Gov. Aggregation   COH             208411650021                Gas           Gov. Aggregation
VEDO         4021024312340329            Gas           Gov. Aggregation   COH             198408110024                Gas           Gov. Aggregation
VEDO         4021292002498161            Gas           Gov. Aggregation   COH             201360480023                Gas           Gov. Aggregation
VEDO         4015486162147683            Gas           Gov. Aggregation   COH             147286690033                Gas           Gov. Aggregation
VEDO         4021406772441832            Gas           Gov. Aggregation   COH             210278780015                Gas           Gov. Aggregation
VEDO         4018285792381063            Gas           Gov. Aggregation   COH             199635160040                Gas           Gov. Aggregation
VEDO         4021235752312587            Gas           Gov. Aggregation   COH             118860960060                Gas           Gov. Aggregation
VEDO         4021069632509104            Gas           Gov. Aggregation   COH             133190880050                Gas           Gov. Aggregation
VEDO         4019204452483050            Gas           Gov. Aggregation   COH             134174670155                Gas           Gov. Aggregation
VEDO         4003535052350834            Gas           Gov. Aggregation   COH             136393660026                Gas           Gov. Aggregation
VEDO         4021174792180901            Gas           Gov. Aggregation   COH             138873810033                Gas           Gov. Aggregation
VEDO         4020872312142194            Gas           Gov. Aggregation   COH             143197220025                Gas           Gov. Aggregation
VEDO         4021064162463189            Gas           Gov. Aggregation   COH             149879430118                Gas           Gov. Aggregation
VEDO         4021472272389968            Gas           Gov. Aggregation   COH             150126340020                Gas           Gov. Aggregation
VEDO         4021479222341946            Gas           Gov. Aggregation   COH             150160860038                Gas           Gov. Aggregation
VEDO         4018690822431948            Gas           Gov. Aggregation   COH             150636960029                Gas           Gov. Aggregation
VEDO         4020873272137257            Gas           Gov. Aggregation   COH             203607040038                Gas           Gov. Aggregation
VEDO         4017239092167487            Gas           Gov. Aggregation   COH             210667720012                Gas           Gov. Aggregation
VEDO         4015175552359704            Gas           Gov. Aggregation   COH             210516160019                Gas           Gov. Aggregation
VEDO         4021214502268689            Gas           Gov. Aggregation   COH             205350150029                Gas           Gov. Aggregation
VEDO         4015263652509053            Gas           Gov. Aggregation   COH             190811860020                Gas           Gov. Aggregation
VEDO         4020322702328178            Gas           Gov. Aggregation   COH             210403410015                Gas           Gov. Aggregation
VEDO         4021228292226617            Gas           Gov. Aggregation   COH             209953100090                Gas           Gov. Aggregation
VEDO         4021075482254574            Gas           Gov. Aggregation   COH             210175090018                Gas           Gov. Aggregation
VEDO         4016973692190428            Gas           Gov. Aggregation   COH             203797560029                Gas           Gov. Aggregation
VEDO         4018946922282246            Gas           Gov. Aggregation   COH             199012910024                Gas           Gov. Aggregation
VEDO         4019318182224230            Gas           Gov. Aggregation   COH             201103990020                Gas           Gov. Aggregation
VEDO         4019468082122515            Gas           Gov. Aggregation   COH             203063810021                Gas           Gov. Aggregation
VEDO         4021216182325906            Gas           Gov. Aggregation   COH             209742880012                Gas           Gov. Aggregation
VEDO         4021506112144388            Gas           Gov. Aggregation   COH             209602830018                Gas           Gov. Aggregation
VEDO         4002721542267029            Gas           Gov. Aggregation   COH             151022800031                Gas           Gov. Aggregation
VEDO         4021470992466697            Gas           Gov. Aggregation   COH             193497110059                Gas           Gov. Aggregation
VEDO         4015806542401935            Gas           Gov. Aggregation   COH             205434100021                Gas           Gov. Aggregation
VEDO         4021113872160600            Gas           Gov. Aggregation   COH             208648010024                Gas           Gov. Aggregation
VEDO         4017386752291040            Gas           Gov. Aggregation   COH             115800960014                Gas           Gov. Aggregation
VEDO         4020280352140053            Gas           Gov. Aggregation   COH             115801290013                Gas           Gov. Aggregation
VEDO         4021120382144014            Gas           Gov. Aggregation   COH             204802520014                Gas           Gov. Aggregation
VEDO         4016770802523931            Gas           Gov. Aggregation   DEO             1500006828898               Gas           Gov. Aggregation
VEDO         4001643802131036            Gas           Gov. Aggregation   DEO             7500030089943               Gas           Gov. Aggregation
VEDO         4015381242170164            Gas           Gov. Aggregation   COH             124504330031                Gas           Gov. Aggregation
VEDO         4021243952460345            Gas           Gov. Aggregation   DEO             8180007085960               Gas           Gov. Aggregation
VEDO         4018055592196080            Gas           Gov. Aggregation   DEO             8500030751748               Gas           Gov. Aggregation
VEDO         4017381972307274            Gas           Gov. Aggregation   COH             123692490014                Gas           Gov. Aggregation
VEDO         4018371302201912            Gas           Gov. Aggregation   COH             166323600369                Gas           Gov. Aggregation
VEDO         4021072992227166            Gas           Gov. Aggregation   COH             201390880017                Gas           Gov. Aggregation
VEDO         4003987822267320            Gas           Gov. Aggregation   COH             201871180014                Gas           Gov. Aggregation
VEDO         4019802942507634            Gas           Gov. Aggregation   COH             148857800019                Gas           Gov. Aggregation
VEDO         4018745222238769            Gas           Gov. Aggregation   COH             204808770010                Gas           Gov. Aggregation
VEDO         4019449842409891            Gas           Gov. Aggregation   DEO             0180008390374               Gas           Gov. Aggregation
VEDO         4015430042508124            Gas           Gov. Aggregation   COH             204977790019                Gas           Gov. Aggregation
VEDO         4021229672426865            Gas           Gov. Aggregation   DEO             4500048337398               Gas           Gov. Aggregation
VEDO         4021239092305698            Gas           Gov. Aggregation   COH             205132210019                Gas           Gov. Aggregation
VEDO         4021276412507652            Gas           Gov. Aggregation   VEDO            4003495632278157            Gas           Gov. Aggregation
VEDO         4001091332427013            Gas           Gov. Aggregation   DEO             6421000005901               Gas           Gov. Aggregation
VEDO         4019263252113033            Gas           Gov. Aggregation   COH             205192630015                Gas           Gov. Aggregation
VEDO         4021165272677448            Gas           Gov. Aggregation   COH             199087670028                Gas           Gov. Aggregation
VEDO         4021245832410686            Gas           Gov. Aggregation   COH             111154070016                Gas           Gov. Aggregation
VEDO         4020853502197692            Gas           Gov. Aggregation   DEO             1180009285300               Gas           Gov. Aggregation
VEDO         4020925002390415            Gas           Gov. Aggregation   COH             122384380039                Gas           Gov. Aggregation
VEDO         4021287902402760            Gas           Gov. Aggregation   DEO             4140000058429               Gas           Gov. Aggregation
VEDO         4021483572483684            Gas           Gov. Aggregation   COH             193423160107                Gas           Gov. Aggregation
VEDO         4021280832494602            Gas           Gov. Aggregation   COH             150977370021                Gas           Gov. Aggregation
VEDO         4021080092433014            Gas           Gov. Aggregation   COH             196844090027                Gas           Gov. Aggregation
VEDO         4021417232155336            Gas           Gov. Aggregation   COH             171879970064                Gas           Gov. Aggregation
VEDO         4021262392531220            Gas           Gov. Aggregation   COH             205355600015                Gas           Gov. Aggregation
VEDO         4016194342368917            Gas           Gov. Aggregation   COH             137286140138                Gas           Gov. Aggregation
VEDO         4021250252268007            Gas           Gov. Aggregation   COH             169391410023                Gas           Gov. Aggregation
VEDO         4020084602175752            Gas           Gov. Aggregation   COH             202119040016                Gas           Gov. Aggregation
VEDO         4021184602137846            Gas           Gov. Aggregation   COH             203020360017                Gas           Gov. Aggregation
VEDO         4018859422548686            Gas           Gov. Aggregation   COH             192131296702                Gas           Gov. Aggregation
VEDO         4021520612531624            Gas           Gov. Aggregation   COH             117193500035                Gas           Gov. Aggregation
VEDO         4020124532151195            Gas           Gov. Aggregation   COH             203595660026                Gas           Gov. Aggregation
VEDO         4017478152313165            Gas           Gov. Aggregation   COH             202081822422                Gas           Gov. Aggregation
VEDO         4021108702122389            Gas           Gov. Aggregation   DUKE            7500200402                  Gas           Gov. Aggregation
VEDO         4020861172282139            Gas           Gov. Aggregation   COH             200529070013                Gas           Gov. Aggregation
VEDO         4021492532224746            Gas           Gov. Aggregation   DEO             0180006572334               Gas           Gov. Aggregation
VEDO         4002240102491245            Gas           Gov. Aggregation   DEO             5180006627768               Gas           Gov. Aggregation
VEDO         4021158072253880            Gas           Gov. Aggregation   DEO             7180008301205               Gas           Gov. Aggregation
VEDO         4021507852320091            Gas           Gov. Aggregation   DEO             5180007222745               Gas           Gov. Aggregation
VEDO         4020066302286864            Gas           Gov. Aggregation   DEO             8180007337220               Gas           Gov. Aggregation
VEDO         4021101672151596            Gas           Gov. Aggregation   COH             122340890025                Gas           Gov. Aggregation
VEDO         4001344082132269            Gas           Gov. Aggregation   COH             122015810020                Gas           Gov. Aggregation
VEDO         4021411492375194            Gas           Gov. Aggregation   COH             153804370014                Gas           Gov. Aggregation
VEDO         4001267132125157            Gas           Gov. Aggregation   DEO             7421702142584               Gas           Gov. Aggregation
VEDO         4017836552291935            Gas           Gov. Aggregation   COH             124643290027                Gas           Gov. Aggregation
VEDO         4015099652431441            Gas           Gov. Aggregation   DEO             4180009325839               Gas           Gov. Aggregation
VEDO         4021402872187983            Gas           Gov. Aggregation   COH             140111570016                Gas           Gov. Aggregation
VEDO         4015815522363897            Gas           Gov. Aggregation   COH             121953340022                Gas           Gov. Aggregation
VEDO         4015815522401066            Gas           Gov. Aggregation   DEO             4500036310412               Gas           Gov. Aggregation
VEDO         4021046002347975            Gas           Gov. Aggregation   DEO             7180000720952               Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4018249322430300            Gas           Gov. Aggregation   DEO             9180007338519               Gas           Gov. Aggregation
VEDO         4021465522250751            Gas           Gov. Aggregation   DEO             9500017482414               Gas           Gov. Aggregation
VEDO         4004438812339072            Gas           Gov. Aggregation   COH             203651710016                Gas           Gov. Aggregation
VEDO         4001686422176486            Gas           Gov. Aggregation   COH             125846390025                Gas           Gov. Aggregation
VEDO         4019410382473010            Gas           Gov. Aggregation   COH             121925840044                Gas           Gov. Aggregation
VEDO         4018990482308339            Gas           Gov. Aggregation   COH             121925840035                Gas           Gov. Aggregation
VEDO         4021266732209126            Gas           Gov. Aggregation   DEO             7421006680404               Gas           Gov. Aggregation
VEDO         4002184462297510            Gas           Gov. Aggregation   COH             197009300012                Gas           Gov. Aggregation
VEDO         4021214182523201            Gas           Gov. Aggregation   COH             203079871785                Gas           Gov. Aggregation
VEDO         4021080252220805            Gas           Gov. Aggregation   COH             209741100017                Gas           Gov. Aggregation
VEDO         4018859422538999            Gas           Gov. Aggregation   COH             210594950019                Gas           Gov. Aggregation
VEDO         4020861172180619            Gas           Gov. Aggregation   COH             185194470065                Gas           Gov. Aggregation
VEDO         4020861172429936            Gas           Gov. Aggregation   COH             210484260017                Gas           Gov. Aggregation
VEDO         4020936652180397            Gas           Gov. Aggregation   COH             210038020012                Gas           Gov. Aggregation
VEDO         4021216782179379            Gas           Gov. Aggregation   COH             205572060037                Gas           Gov. Aggregation
VEDO         4017869472172228            Gas           Gov. Aggregation   COH             205654270020                Gas           Gov. Aggregation
VEDO         4015923622497628            Gas           Gov. Aggregation   COH             210278760028                Gas           Gov. Aggregation
VEDO         4015330012428958            Gas           Gov. Aggregation   COH             208519640025                Gas           Gov. Aggregation
VEDO         4021207522287515            Gas           Gov. Aggregation   COH             210317770013                Gas           Gov. Aggregation
VEDO         4019917052203774            Gas           Gov. Aggregation   COH             209626760013                Gas           Gov. Aggregation
VEDO         4017624492333257            Gas           Gov. Aggregation   COH             209588710015                Gas           Gov. Aggregation
VEDO         4021467572492181            Gas           Gov. Aggregation   COH             209723360011                Gas           Gov. Aggregation
VEDO         4015531242187449            Gas           Gov. Aggregation   COH             159900190094                Gas           Gov. Aggregation
VEDO         4020049892388748            Gas           Gov. Aggregation   COH             209562630016                Gas           Gov. Aggregation
VEDO         4021177322268013            Gas           Gov. Aggregation   COH             186430240024                Gas           Gov. Aggregation
VEDO         4021275822184299            Gas           Gov. Aggregation   COH             209702830016                Gas           Gov. Aggregation
VEDO         4020919242402301            Gas           Gov. Aggregation   COH             210364320018                Gas           Gov. Aggregation
VEDO         4020928472262394            Gas           Gov. Aggregation   COH             203778650011                Gas           Gov. Aggregation
VEDO         4002675462110466            Gas           Gov. Aggregation   COH             162453500047                Gas           Gov. Aggregation
VEDO         4018637132565399            Gas           Gov. Aggregation   COH             194090360030                Gas           Gov. Aggregation
VEDO         4021108702117917            Gas           Gov. Aggregation   COH             210301110014                Gas           Gov. Aggregation
VEDO         4021108702390392            Gas           Gov. Aggregation   COH             207933790027                Gas           Gov. Aggregation
VEDO         4021058412483393            Gas           Gov. Aggregation   COH             210519790011                Gas           Gov. Aggregation
VEDO         4021403362266436            Gas           Gov. Aggregation   COH             210084010017                Gas           Gov. Aggregation
VEDO         4015744342508157            Gas           Gov. Aggregation   COH             208976170017                Gas           Gov. Aggregation
VEDO         4021217202211783            Gas           Gov. Aggregation   COH             203710700012                Gas           Gov. Aggregation
VEDO         4017077412256979            Gas           Gov. Aggregation   COH             207400110019                Gas           Gov. Aggregation
VEDO         4016150302282349            Gas           Gov. Aggregation   COH             205095820011                Gas           Gov. Aggregation
VEDO         4020932642330721            Gas           Gov. Aggregation   COH             208816040012                Gas           Gov. Aggregation
VEDO         4021213642130196            Gas           Gov. Aggregation   COH             198603700044                Gas           Gov. Aggregation
VEDO         4021178892198216            Gas           Gov. Aggregation   COH             206117370017                Gas           Gov. Aggregation
VEDO         4020861172429709            Gas           Gov. Aggregation   COH             208600810017                Gas           Gov. Aggregation
VEDO         4017077412271259            Gas           Gov. Aggregation   COH             206902240019                Gas           Gov. Aggregation
VEDO         4016842272346108            Gas           Gov. Aggregation   COH             205265340011                Gas           Gov. Aggregation
VEDO         4017516952231255            Gas           Gov. Aggregation   COH             207144680014                Gas           Gov. Aggregation
VEDO         4017598682148114            Gas           Gov. Aggregation   COH             203878610017                Gas           Gov. Aggregation
VEDO         4021029972462807            Gas           Gov. Aggregation   COH             209264610012                Gas           Gov. Aggregation
VEDO         4017127282297868            Gas           Gov. Aggregation   COH             204369190023                Gas           Gov. Aggregation
VEDO         4018798782199540            Gas           Gov. Aggregation   COH             208099540019                Gas           Gov. Aggregation
VEDO         4021488372355358            Gas           Gov. Aggregation   COH             201055310016                Gas           Gov. Aggregation
VEDO         4021094872437787            Gas           Gov. Aggregation   COH             206897380013                Gas           Gov. Aggregation
VEDO         4021078732269412            Gas           Gov. Aggregation   COH             193009970052                Gas           Gov. Aggregation
VEDO         4004900642509841            Gas           Gov. Aggregation   COH             135741320065                Gas           Gov. Aggregation
VEDO         4019865522479016            Gas           Gov. Aggregation   COH             110943860045                Gas           Gov. Aggregation
VEDO         4021481472127899            Gas           Gov. Aggregation   COH             203411320016                Gas           Gov. Aggregation
VEDO         4017955202385073            Gas           Gov. Aggregation   COH             206626270028                Gas           Gov. Aggregation
VEDO         4021468432302111            Gas           Gov. Aggregation   COH             186702750039                Gas           Gov. Aggregation
VEDO         4019477952425863            Gas           Gov. Aggregation   COH             191150350199                Gas           Gov. Aggregation
VEDO         4017448712500451            Gas           Gov. Aggregation   COH             207697610017                Gas           Gov. Aggregation
VEDO         4021226262372782            Gas           Gov. Aggregation   COH             203516350018                Gas           Gov. Aggregation
VEDO         4021405082217603            Gas           Gov. Aggregation   COH             207143710019                Gas           Gov. Aggregation
VEDO         4017789872321399            Gas           Gov. Aggregation   COH             174020970079                Gas           Gov. Aggregation
VEDO         4019970292518635            Gas           Gov. Aggregation   COH             207386890018                Gas           Gov. Aggregation
VEDO         4017077152516332            Gas           Gov. Aggregation   COH             206633410014                Gas           Gov. Aggregation
VEDO         4004832552213436            Gas           Gov. Aggregation   COH             210457990011                Gas           Gov. Aggregation
VEDO         4020164622368697            Gas           Gov. Aggregation   COH             110943760028                Gas           Gov. Aggregation
VEDO         4020860992211852            Gas           Gov. Aggregation   COH             206156200010                Gas           Gov. Aggregation
VEDO         4021513552440647            Gas           Gov. Aggregation   COH             209854370012                Gas           Gov. Aggregation
VEDO         4001467602494616            Gas           Gov. Aggregation   COH             193651180039                Gas           Gov. Aggregation
VEDO         4021046982370998            Gas           Gov. Aggregation   COH             209627150019                Gas           Gov. Aggregation
VEDO         4021046982462015            Gas           Gov. Aggregation   COH             205864360017                Gas           Gov. Aggregation
VEDO         4021266002451612            Gas           Gov. Aggregation   COH             199011830032                Gas           Gov. Aggregation
VEDO         4018878652143753            Gas           Gov. Aggregation   COH             208090510013                Gas           Gov. Aggregation
VEDO         4018650152476273            Gas           Gov. Aggregation   COH             192519370030                Gas           Gov. Aggregation
VEDO         4021482822222482            Gas           Gov. Aggregation   COH             203964650016                Gas           Gov. Aggregation
VEDO         4021277272258029            Gas           Gov. Aggregation   COH             207893440017                Gas           Gov. Aggregation
VEDO         4017136852317851            Gas           Gov. Aggregation   COH             208573930011                Gas           Gov. Aggregation
VEDO         4003368772504370            Gas           Gov. Aggregation   COH             131408880013                Gas           Gov. Aggregation
VEDO         4021410052219758            Gas           Gov. Aggregation   COH             209403920011                Gas           Gov. Aggregation
VEDO         4021462762232576            Gas           Gov. Aggregation   COH             207286860016                Gas           Gov. Aggregation
VEDO         4021303592475474            Gas           Gov. Aggregation   COH             208781930010                Gas           Gov. Aggregation
VEDO         4021450382497109            Gas           Gov. Aggregation   COH             209516480015                Gas           Gov. Aggregation
VEDO         4021444452110821            Gas           Gov. Aggregation   COH             208798810010                Gas           Gov. Aggregation
VEDO         4021013122128067            Gas           Gov. Aggregation   COH             168796670013                Gas           Gov. Aggregation
VEDO         4021082832350687            Gas           Gov. Aggregation   COH             206863660015                Gas           Gov. Aggregation
VEDO         4001163472430790            Gas           Gov. Aggregation   COH             206519740017                Gas           Gov. Aggregation
VEDO         4018178372371364            Gas           Gov. Aggregation   COH             208118330011                Gas           Gov. Aggregation
VEDO         4019515532573357            Gas           Gov. Aggregation   COH             201141440016                Gas           Gov. Aggregation
VEDO         4016356842684418            Gas           Gov. Aggregation   COH             110950020037                Gas           Gov. Aggregation
VEDO         4021240132446966            Gas           Gov. Aggregation   COH             207088340015                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4021080642325041            Gas           Gov. Aggregation   COH             210163480011                Gas           Gov. Aggregation
VEDO         4021150572676495            Gas           Gov. Aggregation   COH             202570880014                Gas           Gov. Aggregation
VEDO         4021482492132469            Gas           Gov. Aggregation   COH             209324760013                Gas           Gov. Aggregation
VEDO         4021107132410657            Gas           Gov. Aggregation   COH             138462430043                Gas           Gov. Aggregation
VEDO         4021445552318533            Gas           Gov. Aggregation   COH             208546820011                Gas           Gov. Aggregation
VEDO         4019093632364130            Gas           Gov. Aggregation   VEDO            4003850042601854            Gas           Gov. Aggregation
VEDO         4021153052338388            Gas           Gov. Aggregation   COH             197358370019                Gas           Gov. Aggregation
VEDO         4018043852526564            Gas           Gov. Aggregation   COH             202008320012                Gas           Gov. Aggregation
VEDO         4015104182254850            Gas           Gov. Aggregation   COH             199967820020                Gas           Gov. Aggregation
VEDO         4020940882428714            Gas           Gov. Aggregation   COH             159781950016                Gas           Gov. Aggregation
VEDO         4020930542110611            Gas           Gov. Aggregation   COH             210628380016                Gas           Gov. Aggregation
VEDO         4020915322519301            Gas           Gov. Aggregation   COH             210484580010                Gas           Gov. Aggregation
VEDO         4020786762353003            Gas           Gov. Aggregation   COH             165038420032                Gas           Gov. Aggregation
VEDO         4017073532371754            Gas           Gov. Aggregation   COH             189813500079                Gas           Gov. Aggregation
VEDO         4021415872671658            Gas           Gov. Aggregation   COH             210811260012                Gas           Gov. Aggregation
VEDO         4020941312240985            Gas           Gov. Aggregation   COH             210021400017                Gas           Gov. Aggregation
VEDO         4021120562647557            Gas           Gov. Aggregation   COH             207003240032                Gas           Gov. Aggregation
VEDO         4004343272377200            Gas           Gov. Aggregation   COH             191645990098                Gas           Gov. Aggregation
VEDO         4003473842238587            Gas           Gov. Aggregation   COH             207913570016                Gas           Gov. Aggregation
VEDO         4017486832400771            Gas           Gov. Aggregation   COH             208301720010                Gas           Gov. Aggregation
VEDO         4021266532139051            Gas           Gov. Aggregation   COH             206500920018                Gas           Gov. Aggregation
VEDO         4020150472474421            Gas           Gov. Aggregation   COH             166769240067                Gas           Gov. Aggregation
VEDO         4020945782488126            Gas           Gov. Aggregation   COH             210165500012                Gas           Gov. Aggregation
VEDO         4020910232646590            Gas           Gov. Aggregation   COH             210102610011                Gas           Gov. Aggregation
VEDO         4004526992534419            Gas           Gov. Aggregation   COH             206855740033                Gas           Gov. Aggregation
VEDO         4021184562531418            Gas           Gov. Aggregation   COH             209640360017                Gas           Gov. Aggregation
VEDO         4005048222194680            Gas           Gov. Aggregation   COH             110982680014                Gas           Gov. Aggregation
VEDO         4021449362303620            Gas           Gov. Aggregation   COH             199510020025                Gas           Gov. Aggregation
VEDO         4002663222320953            Gas           Gov. Aggregation   COH             209096810017                Gas           Gov. Aggregation
VEDO         4015200592493994            Gas           Gov. Aggregation   COH             209169360017                Gas           Gov. Aggregation
VEDO         4019187072465387            Gas           Gov. Aggregation   COH             160473040053                Gas           Gov. Aggregation
VEDO         4018020052151380            Gas           Gov. Aggregation   COH             210326170010                Gas           Gov. Aggregation
VEDO         4019989362327000            Gas           Gov. Aggregation   COH             194061150035                Gas           Gov. Aggregation
VEDO         4018719322505193            Gas           Gov. Aggregation   COH             210612200016                Gas           Gov. Aggregation
VEDO         4021180162419429            Gas           Gov. Aggregation   COH             159978540042                Gas           Gov. Aggregation
VEDO         4021207942273711            Gas           Gov. Aggregation   COH             208848580012                Gas           Gov. Aggregation
VEDO         4020983432441927            Gas           Gov. Aggregation   COH             209386340011                Gas           Gov. Aggregation
VEDO         4016312342448852            Gas           Gov. Aggregation   COH             207964750011                Gas           Gov. Aggregation
VEDO         4004368842440994            Gas           Gov. Aggregation   COH             110983080018                Gas           Gov. Aggregation
VEDO         4021440972443035            Gas           Gov. Aggregation   COH             210012980015                Gas           Gov. Aggregation
VEDO         4016234722424031            Gas           Gov. Aggregation   COH             210711600012                Gas           Gov. Aggregation
VEDO         4020918142679887            Gas           Gov. Aggregation   COH             153062230035                Gas           Gov. Aggregation
VEDO         4020178142458950            Gas           Gov. Aggregation   COH             176496850020                Gas           Gov. Aggregation
VEDO         4003518422401760            Gas           Gov. Aggregation   COH             209807530017                Gas           Gov. Aggregation
VEDO         4021431622315450            Gas           Gov. Aggregation   COH             203126960017                Gas           Gov. Aggregation
VEDO         4001505132308308            Gas           Gov. Aggregation   COH             209096910016                Gas           Gov. Aggregation
VEDO         4016889172234509            Gas           Gov. Aggregation   COH             141565560034                Gas           Gov. Aggregation
VEDO         4019403192537970            Gas           Gov. Aggregation   COH             210090310011                Gas           Gov. Aggregation
VEDO         4021094802212171            Gas           Gov. Aggregation   COH             111016220025                Gas           Gov. Aggregation
VEDO         4019920412297049            Gas           Gov. Aggregation   COH             202651530015                Gas           Gov. Aggregation
VEDO         4021253352222168            Gas           Gov. Aggregation   COH             206661640017                Gas           Gov. Aggregation
VEDO         4015897142128212            Gas           Gov. Aggregation   COH             169268410024                Gas           Gov. Aggregation
VEDO         4016736632357017            Gas           Gov. Aggregation   COH             204985950018                Gas           Gov. Aggregation
VEDO         4018411292357518            Gas           Gov. Aggregation   COH             210645570010                Gas           Gov. Aggregation
VEDO         4021187532347017            Gas           Gov. Aggregation   COH             210642130018                Gas           Gov. Aggregation
VEDO         4019233532269386            Gas           Gov. Aggregation   COH             209934120014                Gas           Gov. Aggregation
VEDO         4021179562345032            Gas           Gov. Aggregation   COH             202234920035                Gas           Gov. Aggregation
VEDO         4021012182537992            Gas           Gov. Aggregation   COH             210279180019                Gas           Gov. Aggregation
VEDO         4004584002164707            Gas           Gov. Aggregation   COH             209350370010                Gas           Gov. Aggregation
VEDO         4017313752165400            Gas           Gov. Aggregation   COH             203587070018                Gas           Gov. Aggregation
VEDO         4016380542494431            Gas           Gov. Aggregation   COH             147081710014                Gas           Gov. Aggregation
VEDO         4020915942354399            Gas           Gov. Aggregation   COH             111107460013                Gas           Gov. Aggregation
VEDO         4021094572284311            Gas           Gov. Aggregation   COH             167141480039                Gas           Gov. Aggregation
VEDO         4021103102415910            Gas           Gov. Aggregation   COH             203341230014                Gas           Gov. Aggregation
VEDO         4021269882208843            Gas           Gov. Aggregation   COH             205463210018                Gas           Gov. Aggregation
VEDO         4021438522433650            Gas           Gov. Aggregation   COH             114704060018                Gas           Gov. Aggregation
VEDO         4021116032513911            Gas           Gov. Aggregation   VEDO            4004874912171725            Gas           Gov. Aggregation
VEDO         4019838392281163            Gas           Gov. Aggregation   VEDO            4005137492526245            Gas           Gov. Aggregation
VEDO         4021435372323530            Gas           Gov. Aggregation   VEDO            4003276462323762            Gas           Gov. Aggregation
VEDO         4019257332314601            Gas           Gov. Aggregation   COH             158381740028                Gas           Gov. Aggregation
VEDO         4021516092167604            Gas           Gov. Aggregation   DEO             5180009669059               Gas           Gov. Aggregation
VEDO         4002121832207296            Gas           Gov. Aggregation   VEDO            4015851392283075            Gas           Gov. Aggregation
VEDO         4002121832509507            Gas           Gov. Aggregation   VEDO            4018402352315276            Gas           Gov. Aggregation
VEDO         4017537982686212            Gas           Gov. Aggregation   COH             173112440012                Gas           Gov. Aggregation
VEDO         4020929212623600            Gas           Gov. Aggregation   COH             150148640012                Gas           Gov. Aggregation
VEDO         4021299942631499            Gas           Gov. Aggregation   COH             174523730037                Gas           Gov. Aggregation
VEDO         4017655422185824            Gas           Gov. Aggregation   DEO             2440200122253               Gas           Gov. Aggregation
VEDO         4016642232208858            Gas           Gov. Aggregation   COH             123799350017                Gas           Gov. Aggregation
VEDO         4021456662364443            Gas           Gov. Aggregation   VEDO            4003998722400524            Gas           Gov. Aggregation
VEDO         4016537552201751            Gas           Gov. Aggregation   VEDO            4004676302474917            Gas           Gov. Aggregation
VEDO         4021206762164923            Gas           Gov. Aggregation   VEDO            4003699692368304            Gas           Gov. Aggregation
VEDO         4020911422447559            Gas           Gov. Aggregation   VEDO            4003724782370983            Gas           Gov. Aggregation
VEDO         4021253202143785            Gas           Gov. Aggregation   COH             177742910041                Gas           Gov. Aggregation
VEDO         4021263092197995            Gas           Gov. Aggregation   COH             194234210017                Gas           Gov. Aggregation
VEDO         4021017542138306            Gas           Gov. Aggregation   COH             149719113058                Gas           Gov. Aggregation
VEDO         4021297852482929            Gas           Gov. Aggregation   COH             111329560012                Gas           Gov. Aggregation
VEDO         4016702792343678            Gas           Gov. Aggregation   VEDO            4019136332237753            Gas           Gov. Aggregation
VEDO         4010087532680882            Gas           Gov. Aggregation   COH             153852190039                Gas           Gov. Aggregation
VEDO         4020162472511110            Gas           Gov. Aggregation   COH             201533220039                Gas           Gov. Aggregation
VEDO         4021512592450762            Gas           Gov. Aggregation   COH             124231200028                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4021298722222495            Gas           Gov. Aggregation   COH             206311390011                Gas           Gov. Aggregation
VEDO            4021401932238150            Gas           Gov. Aggregation   DEO             7180010618886               Gas           Gov. Aggregation
VEDO            4019522252450726            Gas           Gov. Aggregation   COH             202293530024                Gas           Gov. Aggregation
VEDO            4018073242373739            Gas           Gov. Aggregation   COH             139654800038                Gas           Gov. Aggregation
VEDO            4021410452263626            Gas           Gov. Aggregation   COH             194913600024                Gas           Gov. Aggregation
VEDO            4004210522609997            Gas           Gov. Aggregation   COH             174615070040                Gas           Gov. Aggregation
VEDO            4016621922610125            Gas           Gov. Aggregation   VEDO            4002428172237697            Gas           Gov. Aggregation
VEDO            4015991892610129            Gas           Gov. Aggregation   COH             192526610025                Gas           Gov. Aggregation
VEDO            4017158542609988            Gas           Gov. Aggregation   COH             205114900021                Gas           Gov. Aggregation
VEDO            4017922802609968            Gas           Gov. Aggregation   COH             205945630018                Gas           Gov. Aggregation
VEDO            4018281852610138            Gas           Gov. Aggregation   COH             202797730015                Gas           Gov. Aggregation
VEDO            4002884972677100            Gas           Gov. Aggregation   COH             160664080078                Gas           Gov. Aggregation
VEDO            4003215892677109            Gas           Gov. Aggregation   COH             206342650011                Gas           Gov. Aggregation
VEDO            4004506022677103            Gas           Gov. Aggregation   DEO             5180011107559               Gas           Gov. Aggregation
VEDO            4017345032271012            Gas           Gov. Aggregation   COH             202833750022                Gas           Gov. Aggregation
VEDO            4015210542466090            Gas           Gov. Aggregation   COH             156799360098                Gas           Gov. Aggregation
VEDO            4015215862336407            Gas           Gov. Aggregation   COH             114918100016                Gas           Gov. Aggregation
VEDO            4021087152677104            Gas           Gov. Aggregation   COH             114918100132                Gas           Gov. Aggregation
COH             205847390017                Gas           Gov. Aggregation   COH             114918100178                Gas           Gov. Aggregation
COH             205516070195                Gas           Gov. Aggregation   VEDO            4018103422527094            Gas           Gov. Aggregation
COH             207874310014                Gas           Gov. Aggregation   COH             203557540012                Gas           Gov. Aggregation
COH             208932340013                Gas           Gov. Aggregation   COH             203588090012                Gas           Gov. Aggregation
COH             176033130030                Gas           Gov. Aggregation   COH             198176400017                Gas           Gov. Aggregation
COH             200235270078                Gas           Gov. Aggregation   COH             172528480032                Gas           Gov. Aggregation
COH             208900100010                Gas           Gov. Aggregation   VEDO            4002417412236607            Gas           Gov. Aggregation
COH             207955260013                Gas           Gov. Aggregation   VEDO            4004284252625570            Gas           Gov. Aggregation
COH             120183450103                Gas           Gov. Aggregation   VEDO            4004735342481319            Gas           Gov. Aggregation
COH             209407930011                Gas           Gov. Aggregation   DEO             7180010583204               Gas           Gov. Aggregation
COH             149742060026                Gas           Gov. Aggregation   VEDO            4002890252284000            Gas           Gov. Aggregation
COH             198237390056                Gas           Gov. Aggregation   VEDO            4015695682436890            Gas           Gov. Aggregation
COH             168480920073                Gas           Gov. Aggregation   COH             206787370018                Gas           Gov. Aggregation
COH             190899480035                Gas           Gov. Aggregation   COH             200627070015                Gas           Gov. Aggregation
COH             118103730080                Gas           Gov. Aggregation   DEO             0180011593781               Gas           Gov. Aggregation
COH             206885240017                Gas           Gov. Aggregation   COH             199236570031                Gas           Gov. Aggregation
COH             160655440062                Gas           Gov. Aggregation   COH             207196090019                Gas           Gov. Aggregation
COH             195990190037                Gas           Gov. Aggregation   COH             168820240029                Gas           Gov. Aggregation
COH             205759120010                Gas           Gov. Aggregation   COH             194054170054                Gas           Gov. Aggregation
COH             206561580012                Gas           Gov. Aggregation   VEDO            4004613852468011            Gas           Gov. Aggregation
COH             207035110032                Gas           Gov. Aggregation   VEDO            4021175592636814            Gas           Gov. Aggregation
DEO             0180017400658               Gas           Gov. Aggregation   COH             198449620021                Gas           Gov. Aggregation
COH             194842260036                Gas           Gov. Aggregation   COH             207389870016                Gas           Gov. Aggregation
COH             203312270035                Gas           Gov. Aggregation   COH             122386900106                Gas           Gov. Aggregation
COH             205541920013                Gas           Gov. Aggregation   COH             117346450022                Gas           Gov. Aggregation
COH             205546220010                Gas           Gov. Aggregation   DEO             0500030076825               Gas           Gov. Aggregation
COH             208317630016                Gas           Gov. Aggregation   COH             107324500038                Gas           Gov. Aggregation
COH             208755850012                Gas           Gov. Aggregation   COH             168058340016                Gas           Gov. Aggregation
COH             142569060129                Gas           Gov. Aggregation   COH             188403000029                Gas           Gov. Aggregation
COH             206790480018                Gas           Gov. Aggregation   VEDO            4015745692102261            Gas           Gov. Aggregation
COH             207595840015                Gas           Gov. Aggregation   VEDO            4003351872154090            Gas           Gov. Aggregation
COH             208112790017                Gas           Gov. Aggregation   COH             207289880016                Gas           Gov. Aggregation
COH             208419390011                Gas           Gov. Aggregation   DEO             6500026875870               Gas           Gov. Aggregation
COH             203144980033                Gas           Gov. Aggregation   DEO             2420100751306               Gas           Gov. Aggregation
COH             208897280012                Gas           Gov. Aggregation   DEO             2420102028480               Gas           Gov. Aggregation
COH             175169120036                Gas           Gov. Aggregation   DEO             2422004371248               Gas           Gov. Aggregation
COH             197284500036                Gas           Gov. Aggregation   DEO             2422006239364               Gas           Gov. Aggregation
COH             188548520033                Gas           Gov. Aggregation   DEO             2422006726088               Gas           Gov. Aggregation
COH             164503370055                Gas           Gov. Aggregation   DEO             8500061052692               Gas           Gov. Aggregation
COH             206606440015                Gas           Gov. Aggregation   DEO             4180000650908               Gas           Gov. Aggregation
COH             195390240038                Gas           Gov. Aggregation   DEO             5500063960305               Gas           Gov. Aggregation
COH             196563560042                Gas           Gov. Aggregation   DEO             9500053942354               Gas           Gov. Aggregation
COH             173052850014                Gas           Gov. Aggregation   DEO             5180004995116               Gas           Gov. Aggregation
COH             207889150017                Gas           Gov. Aggregation   VEDO            4021599762476982            Gas           Gov. Aggregation
COH             205794610013                Gas           Gov. Aggregation   COH             210602460013                Gas           Gov. Aggregation
COH             147556760026                Gas           Gov. Aggregation   DEO             0500061536790               Gas           Gov. Aggregation
COH             192383370020                Gas           Gov. Aggregation   DEO             2421001806072               Gas           Gov. Aggregation
COH             206641170018                Gas           Gov. Aggregation   DEO             7500044403436               Gas           Gov. Aggregation
COH             204552430014                Gas           Gov. Aggregation   VEDO            4018471892636399            Gas           Gov. Aggregation
COH             205575430024                Gas           Gov. Aggregation   COH             207218460013                Gas           Gov. Aggregation
COH             188473420033                Gas           Gov. Aggregation   COH             207297910012                Gas           Gov. Aggregation
COH             188473420024                Gas           Gov. Aggregation   COH             207346710019                Gas           Gov. Aggregation
COH             188473420015                Gas           Gov. Aggregation   VEDO            4018581832222631            Gas           Gov. Aggregation
COH             162092230031                Gas           Gov. Aggregation   VEDO            4004911062500729            Gas           Gov. Aggregation
COH             187381030077                Gas           Gov. Aggregation   COH             205181360015                Gas           Gov. Aggregation
COH             208952510015                Gas           Gov. Aggregation   COH             205735420017                Gas           Gov. Aggregation
COH             208850010016                Gas           Gov. Aggregation   COH             205482160037                Gas           Gov. Aggregation
COH             204615370022                Gas           Gov. Aggregation   COH             161874580095                Gas           Gov. Aggregation
COH             198528660034                Gas           Gov. Aggregation   COH             157011810027                Gas           Gov. Aggregation
COH             207914520014                Gas           Gov. Aggregation   COH             205685050012                Gas           Gov. Aggregation
COH             174727770028                Gas           Gov. Aggregation   COH             206582210015                Gas           Gov. Aggregation
COH             193143290033                Gas           Gov. Aggregation   COH             188668201713                Gas           Gov. Aggregation
COH             186875620077                Gas           Gov. Aggregation   COH             188668201553                Gas           Gov. Aggregation
COH             204347190029                Gas           Gov. Aggregation   COH             140727210043                Gas           Gov. Aggregation
COH             207718690015                Gas           Gov. Aggregation   COH             208148780014                Gas           Gov. Aggregation
COH             200174600023                Gas           Gov. Aggregation   DEO             0180013471455               Gas           Gov. Aggregation
COH             202789930038                Gas           Gov. Aggregation   COH             196572190050                Gas           Gov. Aggregation
COH             192543270021                Gas           Gov. Aggregation   COH             185799470090                Gas           Gov. Aggregation
COH             185383530043                Gas           Gov. Aggregation   COH             185799470107                Gas           Gov. Aggregation
COH             195045240020                Gas           Gov. Aggregation   COH             204344500010                Gas           Gov. Aggregation
COH             199039230021                Gas           Gov. Aggregation   COH             204716940019                Gas           Gov. Aggregation
COH             205940480010                Gas           Gov. Aggregation   COH             187101600024                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             207353900014                Gas           Gov. Aggregation   COH             199955480027                Gas           Gov. Aggregation
COH             208537100011                Gas           Gov. Aggregation   COH             207792280015                Gas           Gov. Aggregation
COH             167583000079                Gas           Gov. Aggregation   COH             188383550028                Gas           Gov. Aggregation
COH             175722050117                Gas           Gov. Aggregation   COH             206658620018                Gas           Gov. Aggregation
COH             207801920019                Gas           Gov. Aggregation   COH             204663750021                Gas           Gov. Aggregation
COH             206642500016                Gas           Gov. Aggregation   COH             160780460027                Gas           Gov. Aggregation
COH             200792530037                Gas           Gov. Aggregation   COH             205774820011                Gas           Gov. Aggregation
COH             156497780134                Gas           Gov. Aggregation   COH             197419640049                Gas           Gov. Aggregation
COH             206207080017                Gas           Gov. Aggregation   COH             122488420012                Gas           Gov. Aggregation
COH             127129010013                Gas           Gov. Aggregation   VEDO            4003030402298438            Gas           Gov. Aggregation
COH             208795330017                Gas           Gov. Aggregation   COH             175116890036                Gas           Gov. Aggregation
COH             208692540011                Gas           Gov. Aggregation   COH             203458550029                Gas           Gov. Aggregation
COH             207714330018                Gas           Gov. Aggregation   COH             111191030016                Gas           Gov. Aggregation
COH             209469200014                Gas           Gov. Aggregation   COH             167907950036                Gas           Gov. Aggregation
COH             205994060015                Gas           Gov. Aggregation   COH             133117470014                Gas           Gov. Aggregation
COH             201955000022                Gas           Gov. Aggregation   COH             171629950058                Gas           Gov. Aggregation
COH             202951580037                Gas           Gov. Aggregation   DEO             2180006441355               Gas           Gov. Aggregation
COH             205627950015                Gas           Gov. Aggregation   DEO             5180007389635               Gas           Gov. Aggregation
COH             208372270016                Gas           Gov. Aggregation   DEO             1180009527577               Gas           Gov. Aggregation
COH             203427770028                Gas           Gov. Aggregation   DEO             7500026433037               Gas           Gov. Aggregation
COH             208076650014                Gas           Gov. Aggregation   DEO             3180011760224               Gas           Gov. Aggregation
COH             206712130015                Gas           Gov. Aggregation   DEO             1500045507636               Gas           Gov. Aggregation
COH             120538730021                Gas           Gov. Aggregation   DEO             9180007770141               Gas           Gov. Aggregation
COH             191424840051                Gas           Gov. Aggregation   DEO             9180009699961               Gas           Gov. Aggregation
COH             209061350017                Gas           Gov. Aggregation   DEO             0180006600519               Gas           Gov. Aggregation
COH             204697570028                Gas           Gov. Aggregation   DEO             2180010899841               Gas           Gov. Aggregation
COH             206217700015                Gas           Gov. Aggregation   DEO             7180010499798               Gas           Gov. Aggregation
COH             206594980019                Gas           Gov. Aggregation   DEO             6180005647746               Gas           Gov. Aggregation
COH             191943134734                Gas           Gov. Aggregation   DEO             3180005308842               Gas           Gov. Aggregation
COH             205810860024                Gas           Gov. Aggregation   DEO             8180006997067               Gas           Gov. Aggregation
COH             202268810037                Gas           Gov. Aggregation   DEO             3180009255909               Gas           Gov. Aggregation
COH             133979470036                Gas           Gov. Aggregation   DEO             7500066064533               Gas           Gov. Aggregation
COH             201774610037                Gas           Gov. Aggregation   DEO             8180000128187               Gas           Gov. Aggregation
COH             202653600025                Gas           Gov. Aggregation   DEO             2180008590391               Gas           Gov. Aggregation
COH             203010110047                Gas           Gov. Aggregation   DEO             3180008329790               Gas           Gov. Aggregation
COH             203208950033                Gas           Gov. Aggregation   DEO             1180006485367               Gas           Gov. Aggregation
COH             206005750014                Gas           Gov. Aggregation   DEO             4180004939669               Gas           Gov. Aggregation
COH             206176820018                Gas           Gov. Aggregation   DEO             9180007911800               Gas           Gov. Aggregation
COH             206417930013                Gas           Gov. Aggregation   DEO             0180008934523               Gas           Gov. Aggregation
COH             206534800012                Gas           Gov. Aggregation   DEO             9180003243344               Gas           Gov. Aggregation
COH             206606400013                Gas           Gov. Aggregation   DEO             7180002007999               Gas           Gov. Aggregation
COH             206645600019                Gas           Gov. Aggregation   DEO             4180002726256               Gas           Gov. Aggregation
COH             206645610017                Gas           Gov. Aggregation   DEO             3180001850171               Gas           Gov. Aggregation
COH             208122850013                Gas           Gov. Aggregation   DEO             9180001863142               Gas           Gov. Aggregation
COH             208188530012                Gas           Gov. Aggregation   DEO             0180009030007               Gas           Gov. Aggregation
COH             208396060010                Gas           Gov. Aggregation   DEO             2180001546875               Gas           Gov. Aggregation
COH             209027860012                Gas           Gov. Aggregation   DEO             5180003277312               Gas           Gov. Aggregation
COH             209050200011                Gas           Gov. Aggregation   DEO             6180002941833               Gas           Gov. Aggregation
COH             209086980013                Gas           Gov. Aggregation   DEO             3180005767592               Gas           Gov. Aggregation
COH             209137190010                Gas           Gov. Aggregation   DEO             1180001575217               Gas           Gov. Aggregation
COH             209212550014                Gas           Gov. Aggregation   DEO             9180007410388               Gas           Gov. Aggregation
COH             209226120015                Gas           Gov. Aggregation   DEO             2180006859992               Gas           Gov. Aggregation
COH             209242370019                Gas           Gov. Aggregation   DEO             3422105187680               Gas           Gov. Aggregation
COH             209274920016                Gas           Gov. Aggregation   DEO             1180006196359               Gas           Gov. Aggregation
COH             156119460051                Gas           Gov. Aggregation   DEO             6180008192075               Gas           Gov. Aggregation
COH             157153420038                Gas           Gov. Aggregation   DEO             6180008615017               Gas           Gov. Aggregation
COH             168782660050                Gas           Gov. Aggregation   DEO             7500051553863               Gas           Gov. Aggregation
COH             171740740029                Gas           Gov. Aggregation   DEO             3180000348138               Gas           Gov. Aggregation
COH             187175930020                Gas           Gov. Aggregation   DEO             2180008148708               Gas           Gov. Aggregation
COH             189451430045                Gas           Gov. Aggregation   DEO             7500063692624               Gas           Gov. Aggregation
COH             196472920058                Gas           Gov. Aggregation   DEO             0180007672415               Gas           Gov. Aggregation
COH             196831560034                Gas           Gov. Aggregation   DEO             9500064546157               Gas           Gov. Aggregation
COH             196922450025                Gas           Gov. Aggregation   DEO             2180002424902               Gas           Gov. Aggregation
COH             206606460011                Gas           Gov. Aggregation   DEO             9180007401480               Gas           Gov. Aggregation
COH             206907790014                Gas           Gov. Aggregation   DEO             0180009830611               Gas           Gov. Aggregation
COH             207015070015                Gas           Gov. Aggregation   DEO             7180009910534               Gas           Gov. Aggregation
COH             130070050024                Gas           Gov. Aggregation   DEO             6180009132032               Gas           Gov. Aggregation
COH             136142450076                Gas           Gov. Aggregation   DEO             5180006549843               Gas           Gov. Aggregation
COH             164860420021                Gas           Gov. Aggregation   DEO             7180005335287               Gas           Gov. Aggregation
VEDO            4020907122207537            Gas           Gov. Aggregation   COH             117247980030                Gas           Gov. Aggregation
VEDO            4021095432354050            Gas           Gov. Aggregation   COH             209194250026                Gas           Gov. Aggregation
COH             132500800012                Gas           Gov. Aggregation   COH             209591390034                Gas           Gov. Aggregation
COH             132541350011                Gas           Gov. Aggregation   COH             189929940036                Gas           Gov. Aggregation
COH             132570480022                Gas           Gov. Aggregation   COH             210287210015                Gas           Gov. Aggregation
COH             117019480047                Gas           Gov. Aggregation   COH             209560960128                Gas           Gov. Aggregation
COH             205574740012                Gas           Gov. Aggregation   COH             210163460015                Gas           Gov. Aggregation
COH             190790800028                Gas           Gov. Aggregation   COH             209392550023                Gas           Gov. Aggregation
COH             201816320038                Gas           Gov. Aggregation   COH             119864790021                Gas           Gov. Aggregation
COH             165643730043                Gas           Gov. Aggregation   COH             208131150020                Gas           Gov. Aggregation
COH             117649410028                Gas           Gov. Aggregation   COH             208640600017                Gas           Gov. Aggregation
COH             175065090024                Gas           Gov. Aggregation   COH             210519120011                Gas           Gov. Aggregation
COH             197939140024                Gas           Gov. Aggregation   COH             210227280017                Gas           Gov. Aggregation
COH             151452330020                Gas           Gov. Aggregation   COH             149177020023                Gas           Gov. Aggregation
COH             118859280020                Gas           Gov. Aggregation   COH             206452070038                Gas           Gov. Aggregation
COH             164170690019                Gas           Gov. Aggregation   COH             186971160034                Gas           Gov. Aggregation
COH             193251110013                Gas           Gov. Aggregation   COH             201766890027                Gas           Gov. Aggregation
COH             159440860035                Gas           Gov. Aggregation   COH             117243110030                Gas           Gov. Aggregation
COH             189534690027                Gas           Gov. Aggregation   COH             210722950016                Gas           Gov. Aggregation
COH             196478840035                Gas           Gov. Aggregation   COH             172468530057                Gas           Gov. Aggregation
COH             118493540021                Gas           Gov. Aggregation   COH             210193550013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             196285020018                Gas           Gov. Aggregation   COH             209808330017                Gas           Gov. Aggregation
COH             196285020036                Gas           Gov. Aggregation   COH             210581130018                Gas           Gov. Aggregation
COH             208852520015                Gas           Gov. Aggregation   COH             142951580076                Gas           Gov. Aggregation
COH             199071450018                Gas           Gov. Aggregation   COH             153777060045                Gas           Gov. Aggregation
COH             203364780011                Gas           Gov. Aggregation   COH             207564640030                Gas           Gov. Aggregation
COH             203364780039                Gas           Gov. Aggregation   COH             210659870018                Gas           Gov. Aggregation
COH             138385280058                Gas           Gov. Aggregation   COH             209686220010                Gas           Gov. Aggregation
COH             208407200015                Gas           Gov. Aggregation   COH             210549880019                Gas           Gov. Aggregation
COH             166809460056                Gas           Gov. Aggregation   COH             210499530019                Gas           Gov. Aggregation
COH             162868180028                Gas           Gov. Aggregation   COH             204735380026                Gas           Gov. Aggregation
COH             176685200034                Gas           Gov. Aggregation   COH             209882380011                Gas           Gov. Aggregation
COH             200251880049                Gas           Gov. Aggregation   COH             210456440018                Gas           Gov. Aggregation
COH             208661560012                Gas           Gov. Aggregation   COH             202430940044                Gas           Gov. Aggregation
VEDO            4002528732247799            Gas           Gov. Aggregation   COH             202430940035                Gas           Gov. Aggregation
VEDO            4005069722518585            Gas           Gov. Aggregation   COH             210434860016                Gas           Gov. Aggregation
COH             196234510012                Gas           Gov. Aggregation   COH             209785070012                Gas           Gov. Aggregation
COH             208783390010                Gas           Gov. Aggregation   COH             202419450023                Gas           Gov. Aggregation
COH             208205420026                Gas           Gov. Aggregation   COH             193746200024                Gas           Gov. Aggregation
COH             209050360018                Gas           Gov. Aggregation   COH             203079871758                Gas           Gov. Aggregation
COH             209007670014                Gas           Gov. Aggregation   COH             210581260011                Gas           Gov. Aggregation
COH             205473790016                Gas           Gov. Aggregation   COH             209791630011                Gas           Gov. Aggregation
COH             208791220018                Gas           Gov. Aggregation   COH             205822560013                Gas           Gov. Aggregation
COH             208825800013                Gas           Gov. Aggregation   COH             120363910060                Gas           Gov. Aggregation
COH             209151040011                Gas           Gov. Aggregation   COH             210237470016                Gas           Gov. Aggregation
COH             154277580241                Gas           Gov. Aggregation   COH             191043320058                Gas           Gov. Aggregation
COH             197826600044                Gas           Gov. Aggregation   COH             168659500063                Gas           Gov. Aggregation
COH             209002710015                Gas           Gov. Aggregation   COH             209859810046                Gas           Gov. Aggregation
COH             185219140042                Gas           Gov. Aggregation   COH             209966410016                Gas           Gov. Aggregation
COH             160042650030                Gas           Gov. Aggregation   COH             196717330052                Gas           Gov. Aggregation
COH             153487970049                Gas           Gov. Aggregation   COH             195972310020                Gas           Gov. Aggregation
COH             208256880014                Gas           Gov. Aggregation   COH             186347370097                Gas           Gov. Aggregation
COH             190983810072                Gas           Gov. Aggregation   COH             209309320491                Gas           Gov. Aggregation
COH             151764170014                Gas           Gov. Aggregation   COH             209546360017                Gas           Gov. Aggregation
COH             175845250026                Gas           Gov. Aggregation   COH             189255920057                Gas           Gov. Aggregation
COH             200903090033                Gas           Gov. Aggregation   DEO             7180005934036               Gas           Gov. Aggregation
COH             163712560133                Gas           Gov. Aggregation   DEO             7180008369766               Gas           Gov. Aggregation
COH             160128420143                Gas           Gov. Aggregation   DEO             2500066394642               Gas           Gov. Aggregation
COH             208967900012                Gas           Gov. Aggregation   DEO             0180001516936               Gas           Gov. Aggregation
COH             208916460012                Gas           Gov. Aggregation   DEO             5180007894442               Gas           Gov. Aggregation
COH             156394540043                Gas           Gov. Aggregation   DEO             5180002662393               Gas           Gov. Aggregation
COH             197565590032                Gas           Gov. Aggregation   DEO             0180009549228               Gas           Gov. Aggregation
COH             155614540037                Gas           Gov. Aggregation   DEO             9180008326283               Gas           Gov. Aggregation
COH             188691310043                Gas           Gov. Aggregation   DEO             3180007664262               Gas           Gov. Aggregation
COH             154406850089                Gas           Gov. Aggregation   DEO             7180008477469               Gas           Gov. Aggregation
COH             202295990024                Gas           Gov. Aggregation   DEO             5180004893987               Gas           Gov. Aggregation
COH             159147040182                Gas           Gov. Aggregation   DEO             4180001866448               Gas           Gov. Aggregation
COH             201175710018                Gas           Gov. Aggregation   DEO             3422006589673               Gas           Gov. Aggregation
COH             208710110011                Gas           Gov. Aggregation   DEO             9180006600759               Gas           Gov. Aggregation
COH             132425890167                Gas           Gov. Aggregation   DEO             1500064934660               Gas           Gov. Aggregation
COH             132437020039                Gas           Gov. Aggregation   DEO             5500067469850               Gas           Gov. Aggregation
COH             124504400018                Gas           Gov. Aggregation   DEO             0180007497988               Gas           Gov. Aggregation
COH             124504800014                Gas           Gov. Aggregation   DEO             1180008416959               Gas           Gov. Aggregation
COH             170582670012                Gas           Gov. Aggregation   DEO             2180005360853               Gas           Gov. Aggregation
COH             170741310019                Gas           Gov. Aggregation   DEO             5180008053943               Gas           Gov. Aggregation
COH             188514410019                Gas           Gov. Aggregation   DEO             9180002041321               Gas           Gov. Aggregation
COH             143147100016                Gas           Gov. Aggregation   DEO             6180003554270               Gas           Gov. Aggregation
COH             155876490052                Gas           Gov. Aggregation   DEO             1180009475158               Gas           Gov. Aggregation
COH             201824220014                Gas           Gov. Aggregation   DEO             7180000089887               Gas           Gov. Aggregation
COH             144957280011                Gas           Gov. Aggregation   DEO             5180004670504               Gas           Gov. Aggregation
COH             201005290016                Gas           Gov. Aggregation   DEO             1422101148237               Gas           Gov. Aggregation
COH             164405280052                Gas           Gov. Aggregation   DEO             2180000193835               Gas           Gov. Aggregation
COH             203822320015                Gas           Gov. Aggregation   DEO             2180006676466               Gas           Gov. Aggregation
COH             205356230011                Gas           Gov. Aggregation   DEO             0500066866744               Gas           Gov. Aggregation
COH             204900620015                Gas           Gov. Aggregation   DEO             7500045870789               Gas           Gov. Aggregation
COH             203379400028                Gas           Gov. Aggregation   DEO             8180001095921               Gas           Gov. Aggregation
COH             204550220012                Gas           Gov. Aggregation   DEO             6180003598315               Gas           Gov. Aggregation
COH             165317570119                Gas           Gov. Aggregation   DEO             5180009236778               Gas           Gov. Aggregation
COH             205212880019                Gas           Gov. Aggregation   DEO             1180000566424               Gas           Gov. Aggregation
COH             136726180020                Gas           Gov. Aggregation   DEO             8180009485795               Gas           Gov. Aggregation
COH             206393140011                Gas           Gov. Aggregation   DEO             9422104966654               Gas           Gov. Aggregation
COH             108712790016                Gas           Gov. Aggregation   DEO             2180005817747               Gas           Gov. Aggregation
VEDO            4001537942150582            Gas           Gov. Aggregation   DEO             2180008043505               Gas           Gov. Aggregation
COH             115172290018                Gas           Gov. Aggregation   DEO             3500066777575               Gas           Gov. Aggregation
COH             115226340021                Gas           Gov. Aggregation   DEO             3180009788823               Gas           Gov. Aggregation
COH             115228920016                Gas           Gov. Aggregation   DEO             8180007149519               Gas           Gov. Aggregation
COH             126806680045                Gas           Gov. Aggregation   DEO             8422100994967               Gas           Gov. Aggregation
COH             131830090069                Gas           Gov. Aggregation   DEO             1180015554190               Gas           Gov. Aggregation
COH             208205770014                Gas           Gov. Aggregation   DEO             7180002974290               Gas           Gov. Aggregation
COH             208209260013                Gas           Gov. Aggregation   DEO             7180002974337               Gas           Gov. Aggregation
COH             208659930019                Gas           Gov. Aggregation   DEO             2180008442456               Gas           Gov. Aggregation
COH             195927150010                Gas           Gov. Aggregation   DEO             8180006704202               Gas           Gov. Aggregation
COH             207616230017                Gas           Gov. Aggregation   DEO             5180000743816               Gas           Gov. Aggregation
COH             203630490017                Gas           Gov. Aggregation   DEO             0180002060291               Gas           Gov. Aggregation
COH             206168860017                Gas           Gov. Aggregation   DEO             8180000586784               Gas           Gov. Aggregation
COH             167495210152                Gas           Gov. Aggregation   DEO             3180007767422               Gas           Gov. Aggregation
COH             208355210014                Gas           Gov. Aggregation   DEO             5180005148844               Gas           Gov. Aggregation
COH             200592210038                Gas           Gov. Aggregation   DEO             1180010869993               Gas           Gov. Aggregation
COH             205508020012                Gas           Gov. Aggregation   DEO             1180001224315               Gas           Gov. Aggregation
COH             203594820015                Gas           Gov. Aggregation   DEO             0180010853208               Gas           Gov. Aggregation
COH             173182190072                Gas           Gov. Aggregation   DEO             1180007739278               Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             205757430019                Gas           Gov. Aggregation   DEO             6420101059575               Gas           Gov. Aggregation
COH             208798880016                Gas           Gov. Aggregation   DEO             9180006636719               Gas           Gov. Aggregation
COH             208758580013                Gas           Gov. Aggregation   DEO             4180007453466               Gas           Gov. Aggregation
COH             200620210037                Gas           Gov. Aggregation   DEO             1180007817991               Gas           Gov. Aggregation
COH             198068680036                Gas           Gov. Aggregation   DEO             7180008574977               Gas           Gov. Aggregation
COH             198180860030                Gas           Gov. Aggregation   DEO             1180001108966               Gas           Gov. Aggregation
COH             204907490046                Gas           Gov. Aggregation   DEO             2180003316507               Gas           Gov. Aggregation
COH             147631100131                Gas           Gov. Aggregation   DEO             4180010492451               Gas           Gov. Aggregation
COH             205938980010                Gas           Gov. Aggregation   DEO             4180009117532               Gas           Gov. Aggregation
COH             202130130013                Gas           Gov. Aggregation   DEO             7180001419971               Gas           Gov. Aggregation
COH             205909830012                Gas           Gov. Aggregation   DEO             1180009249941               Gas           Gov. Aggregation
COH             208164040015                Gas           Gov. Aggregation   DEO             2180000756095               Gas           Gov. Aggregation
COH             206540230019                Gas           Gov. Aggregation   DEO             7180008637453               Gas           Gov. Aggregation
COH             167558160033                Gas           Gov. Aggregation   DEO             7180008458528               Gas           Gov. Aggregation
COH             206707090015                Gas           Gov. Aggregation   DEO             7180008458270               Gas           Gov. Aggregation
COH             135078320080                Gas           Gov. Aggregation   DEO             7120000098865               Gas           Gov. Aggregation
COH             206942490013                Gas           Gov. Aggregation   DEO             7180007665375               Gas           Gov. Aggregation
COH             199313230010                Gas           Gov. Aggregation   DEO             2180010472076               Gas           Gov. Aggregation
COH             207982240010                Gas           Gov. Aggregation   DEO             5180013779763               Gas           Gov. Aggregation
COH             206065410019                Gas           Gov. Aggregation   DEO             2500015300229               Gas           Gov. Aggregation
COH             165817180031                Gas           Gov. Aggregation   DEO             0180015662032               Gas           Gov. Aggregation
COH             202401370027                Gas           Gov. Aggregation   DEO             3180010283540               Gas           Gov. Aggregation
COH             121956780024                Gas           Gov. Aggregation   DEO             4500067037115               Gas           Gov. Aggregation
COH             206633490018                Gas           Gov. Aggregation   DEO             4180015551122               Gas           Gov. Aggregation
COH             121942990029                Gas           Gov. Aggregation   DEO             4180015472313               Gas           Gov. Aggregation
COH             173142560032                Gas           Gov. Aggregation   DEO             7180014538012               Gas           Gov. Aggregation
COH             196071160307                Gas           Gov. Aggregation   DEO             6180015895564               Gas           Gov. Aggregation
COH             206711100013                Gas           Gov. Aggregation   DEO             8180014653187               Gas           Gov. Aggregation
COH             205425030016                Gas           Gov. Aggregation   DEO             0180011746093               Gas           Gov. Aggregation
COH             208410640016                Gas           Gov. Aggregation   DEO             1180013991700               Gas           Gov. Aggregation
COH             121933020021                Gas           Gov. Aggregation   DEO             1500067491993               Gas           Gov. Aggregation
COH             204498840014                Gas           Gov. Aggregation   DEO             6180012632118               Gas           Gov. Aggregation
COH             165901170052                Gas           Gov. Aggregation   DEO             7180016449537               Gas           Gov. Aggregation
COH             208452870010                Gas           Gov. Aggregation   DEO             8180014892992               Gas           Gov. Aggregation
COH             202491820014                Gas           Gov. Aggregation   DEO             8180010879422               Gas           Gov. Aggregation
COH             207455290017                Gas           Gov. Aggregation   DEO             5180015250519               Gas           Gov. Aggregation
COH             208238210012                Gas           Gov. Aggregation   DEO             0180016216484               Gas           Gov. Aggregation
COH             208634610018                Gas           Gov. Aggregation   DEO             2420103338365               Gas           Gov. Aggregation
COH             205366610010                Gas           Gov. Aggregation   DEO             8180014216905               Gas           Gov. Aggregation
COH             192920990020                Gas           Gov. Aggregation   DEO             4180014145258               Gas           Gov. Aggregation
COH             202558930019                Gas           Gov. Aggregation   DEO             5180011237171               Gas           Gov. Aggregation
COH             205360720028                Gas           Gov. Aggregation   DEO             6180001328612               Gas           Gov. Aggregation
COH             152309800023                Gas           Gov. Aggregation   DEO             3180015909724               Gas           Gov. Aggregation
COH             148081380022                Gas           Gov. Aggregation   DEO             3180014522236               Gas           Gov. Aggregation
COH             168992720043                Gas           Gov. Aggregation   DEO             7500067513612               Gas           Gov. Aggregation
COH             205682260014                Gas           Gov. Aggregation   DEO             7180015742715               Gas           Gov. Aggregation
COH             206086930016                Gas           Gov. Aggregation   DEO             3180014610259               Gas           Gov. Aggregation
COH             188977080046                Gas           Gov. Aggregation   DEO             3180013314383               Gas           Gov. Aggregation
COH             121956590015                Gas           Gov. Aggregation   DEO             6180013606972               Gas           Gov. Aggregation
COH             203607390017                Gas           Gov. Aggregation   DEO             6180015058688               Gas           Gov. Aggregation
COH             206489740012                Gas           Gov. Aggregation   DEO             7180016121364               Gas           Gov. Aggregation
COH             206613430012                Gas           Gov. Aggregation   DEO             8180016316509               Gas           Gov. Aggregation
COH             200032890032                Gas           Gov. Aggregation   DEO             5180016200702               Gas           Gov. Aggregation
COH             202055870027                Gas           Gov. Aggregation   DEO             2180013956969               Gas           Gov. Aggregation
COH             208690160015                Gas           Gov. Aggregation   DEO             9180011332371               Gas           Gov. Aggregation
COH             141213770026                Gas           Gov. Aggregation   DEO             1180011306903               Gas           Gov. Aggregation
COH             122954950030                Gas           Gov. Aggregation   DEO             3180016017763               Gas           Gov. Aggregation
COH             207327820025                Gas           Gov. Aggregation   DEO             5180012387042               Gas           Gov. Aggregation
COH             142727410067                Gas           Gov. Aggregation   DEO             8180015434472               Gas           Gov. Aggregation
COH             144148610025                Gas           Gov. Aggregation   DEO             7180015487946               Gas           Gov. Aggregation
COH             198068760020                Gas           Gov. Aggregation   DEO             8180014766412               Gas           Gov. Aggregation
COH             167489380034                Gas           Gov. Aggregation   DEO             1180015942687               Gas           Gov. Aggregation
COH             186643010021                Gas           Gov. Aggregation   DEO             2180013740150               Gas           Gov. Aggregation
COH             174415620039                Gas           Gov. Aggregation   DEO             9180014448103               Gas           Gov. Aggregation
COH             186663350037                Gas           Gov. Aggregation   DEO             6180014303958               Gas           Gov. Aggregation
COH             199513440021                Gas           Gov. Aggregation   DEO             3180008596452               Gas           Gov. Aggregation
COH             206184000013                Gas           Gov. Aggregation   DEO             5180013025432               Gas           Gov. Aggregation
COH             194384420025                Gas           Gov. Aggregation   DEO             0180011047993               Gas           Gov. Aggregation
COH             207466320017                Gas           Gov. Aggregation   DEO             7180015930835               Gas           Gov. Aggregation
COH             195432370022                Gas           Gov. Aggregation   DEO             5180012339631               Gas           Gov. Aggregation
COH             205517590014                Gas           Gov. Aggregation   DEO             1500064988639               Gas           Gov. Aggregation
COH             197610400034                Gas           Gov. Aggregation   DEO             4180011674583               Gas           Gov. Aggregation
COH             206842530016                Gas           Gov. Aggregation   DEO             1180015472537               Gas           Gov. Aggregation
COH             203386340026                Gas           Gov. Aggregation   DEO             1180012254192               Gas           Gov. Aggregation
COH             199747030031                Gas           Gov. Aggregation   DEO             2180010985892               Gas           Gov. Aggregation
COH             202893390013                Gas           Gov. Aggregation   DEO             4180011019427               Gas           Gov. Aggregation
COH             206134040010                Gas           Gov. Aggregation   DEO             1180011895449               Gas           Gov. Aggregation
COH             206290900019                Gas           Gov. Aggregation   DEO             0500047031857               Gas           Gov. Aggregation
COH             203411640028                Gas           Gov. Aggregation   DEO             0180004767495               Gas           Gov. Aggregation
COH             205424940017                Gas           Gov. Aggregation   COH             147399230030                Gas           Gov. Aggregation
COH             202293700019                Gas           Gov. Aggregation   COH             145609540021                Gas           Gov. Aggregation
COH             208081880015                Gas           Gov. Aggregation   COH             145630610030                Gas           Gov. Aggregation
COH             194472660064                Gas           Gov. Aggregation   COH             176939470011                Gas           Gov. Aggregation
COH             206343020011                Gas           Gov. Aggregation   COH             177580800011                Gas           Gov. Aggregation
COH             204866040020                Gas           Gov. Aggregation   COH             145930930028                Gas           Gov. Aggregation
COH             202828820019                Gas           Gov. Aggregation   COH             149175420014                Gas           Gov. Aggregation
COH             205815760025                Gas           Gov. Aggregation   COH             147112940028                Gas           Gov. Aggregation
COH             187143160029                Gas           Gov. Aggregation   COH             147141390032                Gas           Gov. Aggregation
COH             189285880044                Gas           Gov. Aggregation   COH             148831940014                Gas           Gov. Aggregation
COH             208592350013                Gas           Gov. Aggregation   COH             149789250046                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             206214870016                Gas           Gov. Aggregation   COH             147686410024                Gas           Gov. Aggregation
COH             162533750027                Gas           Gov. Aggregation   COH             147948400020                Gas           Gov. Aggregation
COH             208753130017                Gas           Gov. Aggregation   COH             148603580013                Gas           Gov. Aggregation
COH             201545800112                Gas           Gov. Aggregation   COH             151812960051                Gas           Gov. Aggregation
COH             205822760011                Gas           Gov. Aggregation   COH             148710640022                Gas           Gov. Aggregation
COH             207825870010                Gas           Gov. Aggregation   COH             192178670013                Gas           Gov. Aggregation
COH             203619700025                Gas           Gov. Aggregation   COH             199064540014                Gas           Gov. Aggregation
COH             202716200025                Gas           Gov. Aggregation   DEO             0442104965366               Gas           Gov. Aggregation
COH             207611000015                Gas           Gov. Aggregation   COH             147815540022                Gas           Gov. Aggregation
COH             204496340022                Gas           Gov. Aggregation   COH             152239300027                Gas           Gov. Aggregation
COH             189138960057                Gas           Gov. Aggregation   COH             189881180010                Gas           Gov. Aggregation
COH             203199560018                Gas           Gov. Aggregation   COH             189984560012                Gas           Gov. Aggregation
COH             202498820010                Gas           Gov. Aggregation   COH             189987100012                Gas           Gov. Aggregation
COH             203315050017                Gas           Gov. Aggregation   COH             190140920011                Gas           Gov. Aggregation
COH             121942840020                Gas           Gov. Aggregation   COH             153188260051                Gas           Gov. Aggregation
COH             203497650026                Gas           Gov. Aggregation   COH             154702100024                Gas           Gov. Aggregation
COH             202056190019                Gas           Gov. Aggregation   COH             154773540041                Gas           Gov. Aggregation
COH             152818970047                Gas           Gov. Aggregation   COH             154852450015                Gas           Gov. Aggregation
COH             199929760032                Gas           Gov. Aggregation   COH             193305670011                Gas           Gov. Aggregation
COH             204065200015                Gas           Gov. Aggregation   COH             154906380015                Gas           Gov. Aggregation
COH             194863320039                Gas           Gov. Aggregation   COH             150671000017                Gas           Gov. Aggregation
COH             162975870044                Gas           Gov. Aggregation   COH             193250280029                Gas           Gov. Aggregation
COH             206522160012                Gas           Gov. Aggregation   COH             193395350019                Gas           Gov. Aggregation
COH             203193700038                Gas           Gov. Aggregation   COH             193519720017                Gas           Gov. Aggregation
COH             203640410012                Gas           Gov. Aggregation   COH             187426840017                Gas           Gov. Aggregation
COH             204706480026                Gas           Gov. Aggregation   COH             190454190010                Gas           Gov. Aggregation
COH             205517580016                Gas           Gov. Aggregation   COH             151349012677                Gas           Gov. Aggregation
COH             205820090016                Gas           Gov. Aggregation   COH             156682550059                Gas           Gov. Aggregation
COH             207823540013                Gas           Gov. Aggregation   COH             157570640038                Gas           Gov. Aggregation
COH             208617490010                Gas           Gov. Aggregation   COH             159819080018                Gas           Gov. Aggregation
COH             204040850011                Gas           Gov. Aggregation   COH             193765940010                Gas           Gov. Aggregation
COH             208634540013                Gas           Gov. Aggregation   COH             161372440052                Gas           Gov. Aggregation
COH             121977420052                Gas           Gov. Aggregation   COH             161460270024                Gas           Gov. Aggregation
COH             207290110014                Gas           Gov. Aggregation   COH             161494700013                Gas           Gov. Aggregation
COH             153471510100                Gas           Gov. Aggregation   COH             162445850032                Gas           Gov. Aggregation
COH             198745530095                Gas           Gov. Aggregation   COH             162548970020                Gas           Gov. Aggregation
COH             191837910033                Gas           Gov. Aggregation   COH             162617180038                Gas           Gov. Aggregation
COH             207893620019                Gas           Gov. Aggregation   COH             161539390022                Gas           Gov. Aggregation
COH             208648770016                Gas           Gov. Aggregation   COH             162860000012                Gas           Gov. Aggregation
COH             207267590013                Gas           Gov. Aggregation   COH             165302280013                Gas           Gov. Aggregation
COH             157913940037                Gas           Gov. Aggregation   COH             156190610013                Gas           Gov. Aggregation
COH             121957780040                Gas           Gov. Aggregation   COH             155981070011                Gas           Gov. Aggregation
COH             206360100018                Gas           Gov. Aggregation   COH             191881930018                Gas           Gov. Aggregation
COH             205343030010                Gas           Gov. Aggregation   COH             167696670016                Gas           Gov. Aggregation
COH             208648750010                Gas           Gov. Aggregation   COH             157225160012                Gas           Gov. Aggregation
COH             201134600017                Gas           Gov. Aggregation   COH             168116960012                Gas           Gov. Aggregation
COH             156404120048                Gas           Gov. Aggregation   COH             168137580045                Gas           Gov. Aggregation
COH             194556730025                Gas           Gov. Aggregation   COH             168707790015                Gas           Gov. Aggregation
COH             207455340016                Gas           Gov. Aggregation   COH             115750450018                Gas           Gov. Aggregation
COH             206964490017                Gas           Gov. Aggregation   COH             115752890012                Gas           Gov. Aggregation
COH             121955890023                Gas           Gov. Aggregation   COH             115753330017                Gas           Gov. Aggregation
COH             202464390021                Gas           Gov. Aggregation   COH             115754620014                Gas           Gov. Aggregation
COH             201545800130                Gas           Gov. Aggregation   COH             169315530037                Gas           Gov. Aggregation
COH             144870360054                Gas           Gov. Aggregation   COH             115837490016                Gas           Gov. Aggregation
COH             121954390020                Gas           Gov. Aggregation   COH             115839190015                Gas           Gov. Aggregation
COH             121955510022                Gas           Gov. Aggregation   COH             115842500012                Gas           Gov. Aggregation
COH             121933430061                Gas           Gov. Aggregation   COH             115847210013                Gas           Gov. Aggregation
COH             198706540022                Gas           Gov. Aggregation   COH             115847530034                Gas           Gov. Aggregation
COH             188896020022                Gas           Gov. Aggregation   COH             115878880027                Gas           Gov. Aggregation
COH             203975500014                Gas           Gov. Aggregation   COH             115804580016                Gas           Gov. Aggregation
COH             206612030018                Gas           Gov. Aggregation   COH             157196890049                Gas           Gov. Aggregation
COH             167328550056                Gas           Gov. Aggregation   COH             157240380014                Gas           Gov. Aggregation
COH             206515190020                Gas           Gov. Aggregation   COH             157253880021                Gas           Gov. Aggregation
COH             206002810017                Gas           Gov. Aggregation   COH             157382030035                Gas           Gov. Aggregation
COH             121975850029                Gas           Gov. Aggregation   COH             168058080011                Gas           Gov. Aggregation
COH             194693640024                Gas           Gov. Aggregation   COH             168847860023                Gas           Gov. Aggregation
COH             202842660022                Gas           Gov. Aggregation   COH             115801620013                Gas           Gov. Aggregation
COH             160883500048                Gas           Gov. Aggregation   COH             115810950015                Gas           Gov. Aggregation
COH             192632740050                Gas           Gov. Aggregation   COH             115818580062                Gas           Gov. Aggregation
COH             208758560017                Gas           Gov. Aggregation   COH             157529170025                Gas           Gov. Aggregation
COH             208235690018                Gas           Gov. Aggregation   COH             115845690026                Gas           Gov. Aggregation
COH             205898210017                Gas           Gov. Aggregation   COH             115846410013                Gas           Gov. Aggregation
COH             161464360027                Gas           Gov. Aggregation   COH             115846700012                Gas           Gov. Aggregation
COH             206310730011                Gas           Gov. Aggregation   COH             115848640011                Gas           Gov. Aggregation
COH             206489680015                Gas           Gov. Aggregation   COH             115849830028                Gas           Gov. Aggregation
COH             203916920010                Gas           Gov. Aggregation   COH             115867010013                Gas           Gov. Aggregation
COH             200339410023                Gas           Gov. Aggregation   COH             171835480014                Gas           Gov. Aggregation
COH             203224760011                Gas           Gov. Aggregation   COH             171917990013                Gas           Gov. Aggregation
COH             208332680014                Gas           Gov. Aggregation   COH             171950640016                Gas           Gov. Aggregation
COH             203406090016                Gas           Gov. Aggregation   COH             159028930016                Gas           Gov. Aggregation
COH             121943840019                Gas           Gov. Aggregation   COH             158966900015                Gas           Gov. Aggregation
COH             196077210028                Gas           Gov. Aggregation   COH             159005060017                Gas           Gov. Aggregation
COH             208196830012                Gas           Gov. Aggregation   COH             159020660028                Gas           Gov. Aggregation
COH             203852930014                Gas           Gov. Aggregation   COH             172453820011                Gas           Gov. Aggregation
COH             171901680128                Gas           Gov. Aggregation   COH             159762360029                Gas           Gov. Aggregation
COH             197358410029                Gas           Gov. Aggregation   COH             175732710019                Gas           Gov. Aggregation
COH             208362720012                Gas           Gov. Aggregation   COH             176493890019                Gas           Gov. Aggregation
COH             203966800010                Gas           Gov. Aggregation   COH             176240040012                Gas           Gov. Aggregation
COH             202885420013                Gas           Gov. Aggregation   COH             177128170012                Gas           Gov. Aggregation
COH             177780940027                Gas           Gov. Aggregation   COH             185425070013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             196126860063                Gas           Gov. Aggregation   COH             186075360032                Gas           Gov. Aggregation
COH             205654670017                Gas           Gov. Aggregation   COH             194222610018                Gas           Gov. Aggregation
COH             199321920036                Gas           Gov. Aggregation   COH             194278270013                Gas           Gov. Aggregation
COH             176655550034                Gas           Gov. Aggregation   COH             161609790038                Gas           Gov. Aggregation
COH             191562400060                Gas           Gov. Aggregation   COH             161601510032                Gas           Gov. Aggregation
COH             198125920024                Gas           Gov. Aggregation   COH             186270880011                Gas           Gov. Aggregation
COH             205314250015                Gas           Gov. Aggregation   COH             110684780015                Gas           Gov. Aggregation
COH             169598540055                Gas           Gov. Aggregation   COH             189432540015                Gas           Gov. Aggregation
COH             207787760015                Gas           Gov. Aggregation   COH             189457250014                Gas           Gov. Aggregation
COH             206357810016                Gas           Gov. Aggregation   COH             189693220010                Gas           Gov. Aggregation
COH             160837840053                Gas           Gov. Aggregation   COH             189791610010                Gas           Gov. Aggregation
COH             146841670101                Gas           Gov. Aggregation   COH             111263040011                Gas           Gov. Aggregation
COH             200318940035                Gas           Gov. Aggregation   COH             111273540015                Gas           Gov. Aggregation
COH             198783380024                Gas           Gov. Aggregation   COH             162792560010                Gas           Gov. Aggregation
COH             207711760014                Gas           Gov. Aggregation   COH             111257100020                Gas           Gov. Aggregation
COH             202676230025                Gas           Gov. Aggregation   COH             111263060017                Gas           Gov. Aggregation
COH             203642610016                Gas           Gov. Aggregation   COH             111282720027                Gas           Gov. Aggregation
COH             208758490012                Gas           Gov. Aggregation   COH             163854550019                Gas           Gov. Aggregation
COH             207541020010                Gas           Gov. Aggregation   COH             190491460015                Gas           Gov. Aggregation
COH             208312040010                Gas           Gov. Aggregation   COH             190718880015                Gas           Gov. Aggregation
COH             205774940016                Gas           Gov. Aggregation   COH             190738660019                Gas           Gov. Aggregation
COH             203069360015                Gas           Gov. Aggregation   COH             111275070029                Gas           Gov. Aggregation
COH             206310740019                Gas           Gov. Aggregation   COH             163893970019                Gas           Gov. Aggregation
COH             208469390016                Gas           Gov. Aggregation   COH             163921730018                Gas           Gov. Aggregation
COH             201545800149                Gas           Gov. Aggregation   COH             164373370016                Gas           Gov. Aggregation
COH             138124160046                Gas           Gov. Aggregation   COH             164380070014                Gas           Gov. Aggregation
COH             191777370035                Gas           Gov. Aggregation   COH             164670690028                Gas           Gov. Aggregation
COH             121957980020                Gas           Gov. Aggregation   COH             190865930013                Gas           Gov. Aggregation
COH             176358400044                Gas           Gov. Aggregation   COH             190911610020                Gas           Gov. Aggregation
COH             188665970040                Gas           Gov. Aggregation   COH             164755830108                Gas           Gov. Aggregation
COH             203536840013                Gas           Gov. Aggregation   COH             165850660030                Gas           Gov. Aggregation
COH             206413860016                Gas           Gov. Aggregation   COH             165365760029                Gas           Gov. Aggregation
COH             174809670043                Gas           Gov. Aggregation   COH             165367870022                Gas           Gov. Aggregation
COH             189031310040                Gas           Gov. Aggregation   COH             132165450018                Gas           Gov. Aggregation
COH             203861710011                Gas           Gov. Aggregation   COH             133372000030                Gas           Gov. Aggregation
COH             201884700026                Gas           Gov. Aggregation   COH             130980230018                Gas           Gov. Aggregation
COH             203811790010                Gas           Gov. Aggregation   COH             166657830015                Gas           Gov. Aggregation
COH             186085750020                Gas           Gov. Aggregation   COH             193158200012                Gas           Gov. Aggregation
COH             208158040018                Gas           Gov. Aggregation   COH             194391420011                Gas           Gov. Aggregation
COH             206822440017                Gas           Gov. Aggregation   COH             109027540190                Gas           Gov. Aggregation
COH             137913860038                Gas           Gov. Aggregation   COH             109098080027                Gas           Gov. Aggregation
COH             195094500031                Gas           Gov. Aggregation   COH             109098081428                Gas           Gov. Aggregation
COH             198783010030                Gas           Gov. Aggregation   COH             109279350035                Gas           Gov. Aggregation
COH             202288220011                Gas           Gov. Aggregation   COH             194360930019                Gas           Gov. Aggregation
COH             202293720015                Gas           Gov. Aggregation   COH             169335450023                Gas           Gov. Aggregation
COH             206974550013                Gas           Gov. Aggregation   COH             140942560133                Gas           Gov. Aggregation
COH             205366910026                Gas           Gov. Aggregation   COH             141587070040                Gas           Gov. Aggregation
COH             208556790017                Gas           Gov. Aggregation   COH             170371420011                Gas           Gov. Aggregation
COH             203957670017                Gas           Gov. Aggregation   COH             171053740017                Gas           Gov. Aggregation
COH             190551290040                Gas           Gov. Aggregation   COH             171689370018                Gas           Gov. Aggregation
COH             191692000032                Gas           Gov. Aggregation   COH             173001220031                Gas           Gov. Aggregation
COH             206539960028                Gas           Gov. Aggregation   COH             142730740025                Gas           Gov. Aggregation
COH             207858080017                Gas           Gov. Aggregation   COH             146172830017                Gas           Gov. Aggregation
COH             165294750013                Gas           Gov. Aggregation   COH             151530500064                Gas           Gov. Aggregation
COH             196148260036                Gas           Gov. Aggregation   COH             151539220010                Gas           Gov. Aggregation
COH             196829590024                Gas           Gov. Aggregation   COH             148858130018                Gas           Gov. Aggregation
COH             205723950011                Gas           Gov. Aggregation   COH             174375090019                Gas           Gov. Aggregation
COH             121978840098                Gas           Gov. Aggregation   COH             174863750015                Gas           Gov. Aggregation
COH             206149470028                Gas           Gov. Aggregation   COH             154981330017                Gas           Gov. Aggregation
COH             193180730050                Gas           Gov. Aggregation   COH             156770630028                Gas           Gov. Aggregation
COH             196842060027                Gas           Gov. Aggregation   COH             156669130019                Gas           Gov. Aggregation
COH             203910040035                Gas           Gov. Aggregation   COH             175728050017                Gas           Gov. Aggregation
COH             206793400018                Gas           Gov. Aggregation   COH             157756810074                Gas           Gov. Aggregation
COH             203238610013                Gas           Gov. Aggregation   COH             158138750021                Gas           Gov. Aggregation
COH             203378690011                Gas           Gov. Aggregation   COH             176867250010                Gas           Gov. Aggregation
COH             208220640019                Gas           Gov. Aggregation   COH             160934160032                Gas           Gov. Aggregation
COH             192314170045                Gas           Gov. Aggregation   COH             159548700012                Gas           Gov. Aggregation
COH             208732180011                Gas           Gov. Aggregation   COH             166683940026                Gas           Gov. Aggregation
COH             121942650020                Gas           Gov. Aggregation   COH             164001810029                Gas           Gov. Aggregation
COH             205987520013                Gas           Gov. Aggregation   COH             186601610014                Gas           Gov. Aggregation
COH             205780820018                Gas           Gov. Aggregation   COH             170220980031                Gas           Gov. Aggregation
COH             208227340018                Gas           Gov. Aggregation   COH             173269200011                Gas           Gov. Aggregation
COH             207594240013                Gas           Gov. Aggregation   COH             174022490012                Gas           Gov. Aggregation
COH             208667020013                Gas           Gov. Aggregation   COH             188390770018                Gas           Gov. Aggregation
COH             206875930013                Gas           Gov. Aggregation   COH             170963980019                Gas           Gov. Aggregation
COH             199862250031                Gas           Gov. Aggregation   COH             189236910013                Gas           Gov. Aggregation
COH             197122580032                Gas           Gov. Aggregation   COH             172356540016                Gas           Gov. Aggregation
COH             121958970011                Gas           Gov. Aggregation   COH             177413750015                Gas           Gov. Aggregation
COH             203570200015                Gas           Gov. Aggregation   COH             177652310020                Gas           Gov. Aggregation
COH             166932130054                Gas           Gov. Aggregation   COH             173030490016                Gas           Gov. Aggregation
COH             189785080033                Gas           Gov. Aggregation   COH             190477710012                Gas           Gov. Aggregation
COH             194497220108                Gas           Gov. Aggregation   COH             175868910010                Gas           Gov. Aggregation
COH             198342330028                Gas           Gov. Aggregation   COH             188510080017                Gas           Gov. Aggregation
COH             160330090037                Gas           Gov. Aggregation   COH             189371240018                Gas           Gov. Aggregation
COH             170810090046                Gas           Gov. Aggregation   COH             191423730010                Gas           Gov. Aggregation
COH             186080970033                Gas           Gov. Aggregation   COH             191961070019                Gas           Gov. Aggregation
COH             203443290016                Gas           Gov. Aggregation   COH             185605480024                Gas           Gov. Aggregation
COH             205171640026                Gas           Gov. Aggregation   COH             192055780010                Gas           Gov. Aggregation
COH             206142900012                Gas           Gov. Aggregation   COH             192019070015                Gas           Gov. Aggregation
COH             206163060015                Gas           Gov. Aggregation   COH             187031320013                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             206369730018                Gas           Gov. Aggregation   COH             191605470135                Gas           Gov. Aggregation
COH             206949520021                Gas           Gov. Aggregation   COH             193028530018                Gas           Gov. Aggregation
COH             207075950014                Gas           Gov. Aggregation   COH             193267230015                Gas           Gov. Aggregation
COH             207172930012                Gas           Gov. Aggregation   COH             193347720012                Gas           Gov. Aggregation
COH             207179440011                Gas           Gov. Aggregation   COH             193433290010                Gas           Gov. Aggregation
COH             207814430015                Gas           Gov. Aggregation   COH             194013200017                Gas           Gov. Aggregation
COH             207826060018                Gas           Gov. Aggregation   COH             193569270017                Gas           Gov. Aggregation
COH             207893670019                Gas           Gov. Aggregation   COH             193640830017                Gas           Gov. Aggregation
COH             207925440018                Gas           Gov. Aggregation   COH             193710080016                Gas           Gov. Aggregation
COH             207952830019                Gas           Gov. Aggregation   COH             194136030013                Gas           Gov. Aggregation
COH             208158030010                Gas           Gov. Aggregation   COH             193531080016                Gas           Gov. Aggregation
COH             208167200015                Gas           Gov. Aggregation   COH             194206680018                Gas           Gov. Aggregation
COH             208184280013                Gas           Gov. Aggregation   COH             109573980020                Gas           Gov. Aggregation
COH             208212250018                Gas           Gov. Aggregation   COH             111331990017                Gas           Gov. Aggregation
COH             208227350016                Gas           Gov. Aggregation   COH             136397750029                Gas           Gov. Aggregation
COH             207526590013                Gas           Gov. Aggregation   COH             141557100028                Gas           Gov. Aggregation
COH             208452970019                Gas           Gov. Aggregation   COH             147932350042                Gas           Gov. Aggregation
COH             208452920019                Gas           Gov. Aggregation   COH             140132060019                Gas           Gov. Aggregation
COH             206277710017                Gas           Gov. Aggregation   COH             156031350023                Gas           Gov. Aggregation
COH             138691650515                Gas           Gov. Aggregation   COH             154387990028                Gas           Gov. Aggregation
COH             207419650017                Gas           Gov. Aggregation   COH             155478120026                Gas           Gov. Aggregation
COH             186729890070                Gas           Gov. Aggregation   COH             160118730014                Gas           Gov. Aggregation
COH             170597230031                Gas           Gov. Aggregation   COH             171610080087                Gas           Gov. Aggregation
COH             208110330017                Gas           Gov. Aggregation   COH             169464930010                Gas           Gov. Aggregation
COH             202993740035                Gas           Gov. Aggregation   COH             185332200012                Gas           Gov. Aggregation
COH             206323440015                Gas           Gov. Aggregation   COH             189427190010                Gas           Gov. Aggregation
COH             189325440031                Gas           Gov. Aggregation   COH             189523640011                Gas           Gov. Aggregation
COH             207767360011                Gas           Gov. Aggregation   COH             110447430029                Gas           Gov. Aggregation
COH             205533540010                Gas           Gov. Aggregation   COH             156171430011                Gas           Gov. Aggregation
COH             185453330091                Gas           Gov. Aggregation   COH             161270300011                Gas           Gov. Aggregation
COH             208645430013                Gas           Gov. Aggregation   COH             191026120010                Gas           Gov. Aggregation
COH             192669450045                Gas           Gov. Aggregation   COH             149958860021                Gas           Gov. Aggregation
COH             207245630010                Gas           Gov. Aggregation   COH             110724030016                Gas           Gov. Aggregation
COH             198404030038                Gas           Gov. Aggregation   COH             111070460012                Gas           Gov. Aggregation
COH             122013250022                Gas           Gov. Aggregation   COH             165182660028                Gas           Gov. Aggregation
COH             205828880014                Gas           Gov. Aggregation   COH             186184230010                Gas           Gov. Aggregation
COH             206685800013                Gas           Gov. Aggregation   COH             138965310060                Gas           Gov. Aggregation
COH             199158300015                Gas           Gov. Aggregation   COH             157129400015                Gas           Gov. Aggregation
COH             130936170023                Gas           Gov. Aggregation   COH             159587060015                Gas           Gov. Aggregation
COH             202130990013                Gas           Gov. Aggregation   COH             130024390020                Gas           Gov. Aggregation
COH             207342930011                Gas           Gov. Aggregation   COH             110960990015                Gas           Gov. Aggregation
COH             208593990017                Gas           Gov. Aggregation   COH             112068890016                Gas           Gov. Aggregation
COH             200734600034                Gas           Gov. Aggregation   COH             124410600015                Gas           Gov. Aggregation
COH             208500310014                Gas           Gov. Aggregation   COH             176182010030                Gas           Gov. Aggregation
COH             203442560011                Gas           Gov. Aggregation   COH             124309530015                Gas           Gov. Aggregation
COH             186603400069                Gas           Gov. Aggregation   COH             134160450016                Gas           Gov. Aggregation
COH             201902240014                Gas           Gov. Aggregation   COH             194466030014                Gas           Gov. Aggregation
COH             206762840011                Gas           Gov. Aggregation   COH             117524610020                Gas           Gov. Aggregation
COH             154037970014                Gas           Gov. Aggregation   COH             144966890041                Gas           Gov. Aggregation
COH             208644470017                Gas           Gov. Aggregation   COH             148631770050                Gas           Gov. Aggregation
COH             208399430016                Gas           Gov. Aggregation   COH             155776310051                Gas           Gov. Aggregation
COH             208259520013                Gas           Gov. Aggregation   COH             153191900095                Gas           Gov. Aggregation
COH             200729470024                Gas           Gov. Aggregation   COH             154307430023                Gas           Gov. Aggregation
COH             202525140014                Gas           Gov. Aggregation   COH             161734330084                Gas           Gov. Aggregation
COH             200310640025                Gas           Gov. Aggregation   COH             161998450018                Gas           Gov. Aggregation
COH             202100910030                Gas           Gov. Aggregation   COH             175317150017                Gas           Gov. Aggregation
COH             202774130019                Gas           Gov. Aggregation   COH             155429050079                Gas           Gov. Aggregation
COH             203170990036                Gas           Gov. Aggregation   COH             193977850010                Gas           Gov. Aggregation
COH             203242030025                Gas           Gov. Aggregation   COH             194487660018                Gas           Gov. Aggregation
COH             203733620011                Gas           Gov. Aggregation   COH             194498710014                Gas           Gov. Aggregation
COH             203922650014                Gas           Gov. Aggregation   COH             185483030019                Gas           Gov. Aggregation
COH             206427960016                Gas           Gov. Aggregation   COH             188579900010                Gas           Gov. Aggregation
COH             206610390017                Gas           Gov. Aggregation   COH             194158320016                Gas           Gov. Aggregation
COH             206974440016                Gas           Gov. Aggregation   COH             175158330035                Gas           Gov. Aggregation
COH             207281700019                Gas           Gov. Aggregation   COH             194465520013                Gas           Gov. Aggregation
COH             207447670014                Gas           Gov. Aggregation   COH             194579310016                Gas           Gov. Aggregation
COH             207476890017                Gas           Gov. Aggregation   COH             193547670019                Gas           Gov. Aggregation
COH             208039970015                Gas           Gov. Aggregation   COH             194167380015                Gas           Gov. Aggregation
COH             208227260015                Gas           Gov. Aggregation   COH             194395000011                Gas           Gov. Aggregation
COH             208648700010                Gas           Gov. Aggregation   COH             194393520016                Gas           Gov. Aggregation
COH             208659850016                Gas           Gov. Aggregation   COH             111220250017                Gas           Gov. Aggregation
COH             206486890017                Gas           Gov. Aggregation   COH             168259680019                Gas           Gov. Aggregation
COH             176968430036                Gas           Gov. Aggregation   COH             168733420017                Gas           Gov. Aggregation
COH             156187290036                Gas           Gov. Aggregation   COH             175932780020                Gas           Gov. Aggregation
COH             208038350017                Gas           Gov. Aggregation   COH             189933440014                Gas           Gov. Aggregation
COH             193402900034                Gas           Gov. Aggregation   COH             194597010011                Gas           Gov. Aggregation
COH             208259510015                Gas           Gov. Aggregation   COH             194605450010                Gas           Gov. Aggregation
COH             207068560020                Gas           Gov. Aggregation   COH             194646200016                Gas           Gov. Aggregation
COH             152361790231                Gas           Gov. Aggregation   COH             194681110011                Gas           Gov. Aggregation
COH             205883630010                Gas           Gov. Aggregation   COH             194719900014                Gas           Gov. Aggregation
COH             173881310083                Gas           Gov. Aggregation   COH             194721040010                Gas           Gov. Aggregation
COH             206452620014                Gas           Gov. Aggregation   COH             194723660016                Gas           Gov. Aggregation
COH             202083780027                Gas           Gov. Aggregation   VEDO            4018573002599370            Gas           Gov. Aggregation
COH             189042710089                Gas           Gov. Aggregation   COH             112184300022                Gas           Gov. Aggregation
COH             208489630013                Gas           Gov. Aggregation   COH             111175800018                Gas           Gov. Aggregation
COH             208039980013                Gas           Gov. Aggregation   COH             124415230022                Gas           Gov. Aggregation
COH             208533610012                Gas           Gov. Aggregation   COH             124508520015                Gas           Gov. Aggregation
COH             199239310048                Gas           Gov. Aggregation   COH             126812140027                Gas           Gov. Aggregation
COH             199838030074                Gas           Gov. Aggregation   COH             145717020067                Gas           Gov. Aggregation
COH             206401310016                Gas           Gov. Aggregation   COH             157054530080                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             202117630043                Gas           Gov. Aggregation   COH             158577710010                Gas           Gov. Aggregation
COH             204086180016                Gas           Gov. Aggregation   COH             167320820028                Gas           Gov. Aggregation
COH             205366590015                Gas           Gov. Aggregation   COH             185022960010                Gas           Gov. Aggregation
COH             206954250018                Gas           Gov. Aggregation   COH             185027160045                Gas           Gov. Aggregation
COH             207327830023                Gas           Gov. Aggregation   COH             192795940027                Gas           Gov. Aggregation
COH             195176670050                Gas           Gov. Aggregation   COH             194673500016                Gas           Gov. Aggregation
COH             207566530011                Gas           Gov. Aggregation   COH             194673960010                Gas           Gov. Aggregation
COH             138801890065                Gas           Gov. Aggregation   COH             194727100015                Gas           Gov. Aggregation
COH             195479320015                Gas           Gov. Aggregation   COH             194765910015                Gas           Gov. Aggregation
COH             139630000045                Gas           Gov. Aggregation   COH             194830670017                Gas           Gov. Aggregation
COH             207946700019                Gas           Gov. Aggregation   COH             194853860019                Gas           Gov. Aggregation
COH             208252000016                Gas           Gov. Aggregation   COH             194876890015                Gas           Gov. Aggregation
COH             208368960010                Gas           Gov. Aggregation   COH             124389110015                Gas           Gov. Aggregation
COH             208478160015                Gas           Gov. Aggregation   COH             136734500043                Gas           Gov. Aggregation
COH             208478170013                Gas           Gov. Aggregation   COH             140734410037                Gas           Gov. Aggregation
COH             208487060017                Gas           Gov. Aggregation   COH             148035580018                Gas           Gov. Aggregation
COH             208490210018                Gas           Gov. Aggregation   COH             174562700022                Gas           Gov. Aggregation
COH             208490250010                Gas           Gov. Aggregation   COH             177609690022                Gas           Gov. Aggregation
COH             208490380013                Gas           Gov. Aggregation   COH             185467220031                Gas           Gov. Aggregation
COH             208490400018                Gas           Gov. Aggregation   COH             190066650034                Gas           Gov. Aggregation
COH             208490420014                Gas           Gov. Aggregation   COH             192571350025                Gas           Gov. Aggregation
COH             208497090010                Gas           Gov. Aggregation   COH             194657140025                Gas           Gov. Aggregation
COH             195216950046                Gas           Gov. Aggregation   COH             194864690012                Gas           Gov. Aggregation
COH             206090420014                Gas           Gov. Aggregation   COH             194969430014                Gas           Gov. Aggregation
COH             208469290017                Gas           Gov. Aggregation   COH             194972590014                Gas           Gov. Aggregation
COH             206902090048                Gas           Gov. Aggregation   COH             185216450034                Gas           Gov. Aggregation
COH             208490560015                Gas           Gov. Aggregation   COH             110987470018                Gas           Gov. Aggregation
COH             208478280010                Gas           Gov. Aggregation   COH             110987470027                Gas           Gov. Aggregation
COH             206427890020                Gas           Gov. Aggregation   COH             125873550042                Gas           Gov. Aggregation
COH             155783480275                Gas           Gov. Aggregation   COH             148375090020                Gas           Gov. Aggregation
COH             146029910022                Gas           Gov. Aggregation   COH             157283870057                Gas           Gov. Aggregation
COH             201977650020                Gas           Gov. Aggregation   COH             168673550018                Gas           Gov. Aggregation
COH             204240480024                Gas           Gov. Aggregation   COH             173113410025                Gas           Gov. Aggregation
COH             208441290015                Gas           Gov. Aggregation   COH             193719910022                Gas           Gov. Aggregation
COH             165354890098                Gas           Gov. Aggregation   COH             193754260016                Gas           Gov. Aggregation
COH             206090290012                Gas           Gov. Aggregation   COH             195020960012                Gas           Gov. Aggregation
COH             206544880015                Gas           Gov. Aggregation   COH             195182140012                Gas           Gov. Aggregation
COH             206967470015                Gas           Gov. Aggregation   COH             172901880027                Gas           Gov. Aggregation
COH             207900850014                Gas           Gov. Aggregation   VEDO            4003649212363030            Gas           Gov. Aggregation
COH             208183130016                Gas           Gov. Aggregation   COH             111250950017                Gas           Gov. Aggregation
COH             186934460048                Gas           Gov. Aggregation   COH             147283110049                Gas           Gov. Aggregation
COH             208415600014                Gas           Gov. Aggregation   COH             151554030036                Gas           Gov. Aggregation
COH             208701140014                Gas           Gov. Aggregation   COH             185512360026                Gas           Gov. Aggregation
COH             202181020028                Gas           Gov. Aggregation   COH             191520050026                Gas           Gov. Aggregation
COH             206425380012                Gas           Gov. Aggregation   COH             195152940017                Gas           Gov. Aggregation
COH             122001010027                Gas           Gov. Aggregation   COH             195230360013                Gas           Gov. Aggregation
COH             205517600011                Gas           Gov. Aggregation   COH             111150780015                Gas           Gov. Aggregation
COH             201747650027                Gas           Gov. Aggregation   COH             174647120015                Gas           Gov. Aggregation
COH             204038030018                Gas           Gov. Aggregation   COH             160245420010                Gas           Gov. Aggregation
COH             163059390028                Gas           Gov. Aggregation   COH             189440620011                Gas           Gov. Aggregation
COH             187760050051                Gas           Gov. Aggregation   COH             177477020023                Gas           Gov. Aggregation
COH             197776280030                Gas           Gov. Aggregation   COH             194656330018                Gas           Gov. Aggregation
COH             208612840016                Gas           Gov. Aggregation   COH             194947830016                Gas           Gov. Aggregation
COH             169997250023                Gas           Gov. Aggregation   COH             194983590011                Gas           Gov. Aggregation
COH             208452430012                Gas           Gov. Aggregation   COH             195413030014                Gas           Gov. Aggregation
COH             206438780011                Gas           Gov. Aggregation   COH             172585240023                Gas           Gov. Aggregation
COH             177574560033                Gas           Gov. Aggregation   COH             157767120030                Gas           Gov. Aggregation
COH             203670240015                Gas           Gov. Aggregation   COH             157801090015                Gas           Gov. Aggregation
COH             207254320016                Gas           Gov. Aggregation   COH             157807330012                Gas           Gov. Aggregation
COH             201510120047                Gas           Gov. Aggregation   COH             157856520019                Gas           Gov. Aggregation
COH             208110320019                Gas           Gov. Aggregation   COH             157856750039                Gas           Gov. Aggregation
COH             208370450012                Gas           Gov. Aggregation   COH             158057910010                Gas           Gov. Aggregation
COH             207501380019                Gas           Gov. Aggregation   COH             185369130029                Gas           Gov. Aggregation
COH             206480990018                Gas           Gov. Aggregation   COH             185480930016                Gas           Gov. Aggregation
COH             208370500011                Gas           Gov. Aggregation   COH             185501990018                Gas           Gov. Aggregation
COH             202219370033                Gas           Gov. Aggregation   COH             185087760016                Gas           Gov. Aggregation
COH             208132190011                Gas           Gov. Aggregation   COH             185184980014                Gas           Gov. Aggregation
COH             200941460026                Gas           Gov. Aggregation   COH             185417880029                Gas           Gov. Aggregation
COH             194705360035                Gas           Gov. Aggregation   COH             185464660017                Gas           Gov. Aggregation
COH             121952570017                Gas           Gov. Aggregation   COH             187315050018                Gas           Gov. Aggregation
COH             144091880048                Gas           Gov. Aggregation   COH             187415250014                Gas           Gov. Aggregation
COH             202688710010                Gas           Gov. Aggregation   COH             187500670024                Gas           Gov. Aggregation
COH             201595800028                Gas           Gov. Aggregation   COH             187603880013                Gas           Gov. Aggregation
COH             208566980016                Gas           Gov. Aggregation   COH             187642560018                Gas           Gov. Aggregation
COH             186992210048                Gas           Gov. Aggregation   COH             124448550115                Gas           Gov. Aggregation
COH             202834130011                Gas           Gov. Aggregation   COH             124448550133                Gas           Gov. Aggregation
COH             208040040026                Gas           Gov. Aggregation   COH             124449080014                Gas           Gov. Aggregation
COH             202676240014                Gas           Gov. Aggregation   COH             124449170015                Gas           Gov. Aggregation
COH             203423570037                Gas           Gov. Aggregation   COH             124449220041                Gas           Gov. Aggregation
COH             192355270057                Gas           Gov. Aggregation   COH             124449300017                Gas           Gov. Aggregation
COH             186755560074                Gas           Gov. Aggregation   COH             187248160018                Gas           Gov. Aggregation
COH             155556050043                Gas           Gov. Aggregation   COH             111185740010                Gas           Gov. Aggregation
COH             206372970011                Gas           Gov. Aggregation   COH             132974580016                Gas           Gov. Aggregation
COH             200084470022                Gas           Gov. Aggregation   COH             176971950076                Gas           Gov. Aggregation
COH             199946470046                Gas           Gov. Aggregation   VEDO            4021565622687432            Gas           Gov. Aggregation
COH             190359750032                Gas           Gov. Aggregation   COH             156987900013                Gas           Gov. Aggregation
COH             200370250138                Gas           Gov. Aggregation   COH             120170960014                Gas           Gov. Aggregation
COH             113851510488                Gas           Gov. Aggregation   COH             173711710033                Gas           Gov. Aggregation
COH             112305970088                Gas           Gov. Aggregation   COH             189077750015                Gas           Gov. Aggregation
COH             121972040187                Gas           Gov. Aggregation   COH             132790180029                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             186286590046                Gas           Gov. Aggregation   DEO             8500027543339               Gas           Gov. Aggregation
COH             205640890010                Gas           Gov. Aggregation   VEDO            4002852792453278            Gas           Gov. Aggregation
COH             200901650039                Gas           Gov. Aggregation   DEO             0500055309320               Gas           Gov. Aggregation
COH             152072170010                Gas           Gov. Aggregation   DEO             0500061297465               Gas           Gov. Aggregation
COH             152556450024                Gas           Gov. Aggregation   DEO             0500065952065               Gas           Gov. Aggregation
COH             152592160029                Gas           Gov. Aggregation   DEO             1422002548878               Gas           Gov. Aggregation
COH             153938370011                Gas           Gov. Aggregation   DEO             1422105188470               Gas           Gov. Aggregation
COH             154583000010                Gas           Gov. Aggregation   DEO             1500054691564               Gas           Gov. Aggregation
COH             196741630012                Gas           Gov. Aggregation   DEO             1500054830735               Gas           Gov. Aggregation
COH             186162320026                Gas           Gov. Aggregation   DEO             1500063740204               Gas           Gov. Aggregation
COH             202187620011                Gas           Gov. Aggregation   DEO             4422104373126               Gas           Gov. Aggregation
COH             177593270034                Gas           Gov. Aggregation   DEO             4422104939092               Gas           Gov. Aggregation
COH             165309590149                Gas           Gov. Aggregation   DEO             4422106346497               Gas           Gov. Aggregation
COH             159057580028                Gas           Gov. Aggregation   DEO             4500004188883               Gas           Gov. Aggregation
COH             201606860012                Gas           Gov. Aggregation   DEO             4500005857780               Gas           Gov. Aggregation
COH             201541960019                Gas           Gov. Aggregation   DEO             4500006421687               Gas           Gov. Aggregation
COH             174848950015                Gas           Gov. Aggregation   DEO             4500011070339               Gas           Gov. Aggregation
COH             159549230028                Gas           Gov. Aggregation   DEO             4500063186476               Gas           Gov. Aggregation
COH             168314350029                Gas           Gov. Aggregation   DEO             4500063724141               Gas           Gov. Aggregation
COH             175062960036                Gas           Gov. Aggregation   DEO             4500063759039               Gas           Gov. Aggregation
COH             134254620039                Gas           Gov. Aggregation   DEO             4500064368964               Gas           Gov. Aggregation
COH             129171030027                Gas           Gov. Aggregation   DEO             5500035681876               Gas           Gov. Aggregation
COH             169911260058                Gas           Gov. Aggregation   DEO             5500036503677               Gas           Gov. Aggregation
COH             192191550029                Gas           Gov. Aggregation   DEO             5500041646637               Gas           Gov. Aggregation
COH             186757840026                Gas           Gov. Aggregation   DEO             5500052920567               Gas           Gov. Aggregation
COH             170135750012                Gas           Gov. Aggregation   DEO             5500053670839               Gas           Gov. Aggregation
COH             163059030023                Gas           Gov. Aggregation   DEO             7500049933848               Gas           Gov. Aggregation
COH             160373610019                Gas           Gov. Aggregation   DEO             9500024020376               Gas           Gov. Aggregation
COH             117090670038                Gas           Gov. Aggregation   DEO             9500032315811               Gas           Gov. Aggregation
COH             117903170029                Gas           Gov. Aggregation   DEO             9500036666216               Gas           Gov. Aggregation
COH             117506410020                Gas           Gov. Aggregation   COH             204105010055                Gas           Gov. Aggregation
COH             148352510010                Gas           Gov. Aggregation   COH             123875450041                Gas           Gov. Aggregation
COH             118981880061                Gas           Gov. Aggregation   COH             208624030011                Gas           Gov. Aggregation
COH             198116940010                Gas           Gov. Aggregation   COH             189369790027                Gas           Gov. Aggregation
COH             124330170016                Gas           Gov. Aggregation   COH             208329210019                Gas           Gov. Aggregation
COH             165643280011                Gas           Gov. Aggregation   COH             206657420012                Gas           Gov. Aggregation
COH             197688230019                Gas           Gov. Aggregation   COH             207716960012                Gas           Gov. Aggregation
COH             124420150019                Gas           Gov. Aggregation   COH             207667890012                Gas           Gov. Aggregation
COH             171620960054                Gas           Gov. Aggregation   COH             209799780014                Gas           Gov. Aggregation
COH             174314630040                Gas           Gov. Aggregation   COH             207914890017                Gas           Gov. Aggregation
COH             199952900033                Gas           Gov. Aggregation   COH             209735390010                Gas           Gov. Aggregation
COH             192830520029                Gas           Gov. Aggregation   COH             208797080016                Gas           Gov. Aggregation
COH             199169760016                Gas           Gov. Aggregation   COH             209484780011                Gas           Gov. Aggregation
COH             173545780032                Gas           Gov. Aggregation   COH             204690670012                Gas           Gov. Aggregation
COH             206042490011                Gas           Gov. Aggregation   COH             208485200011                Gas           Gov. Aggregation
COH             191376170028                Gas           Gov. Aggregation   COH             209773760012                Gas           Gov. Aggregation
COH             206737500024                Gas           Gov. Aggregation   COH             210146530016                Gas           Gov. Aggregation
COH             206806670013                Gas           Gov. Aggregation   COH             209967690016                Gas           Gov. Aggregation
COH             205978140012                Gas           Gov. Aggregation   COH             210082490020                Gas           Gov. Aggregation
COH             190378960038                Gas           Gov. Aggregation   COH             207415390010                Gas           Gov. Aggregation
COH             206859290012                Gas           Gov. Aggregation   COH             207728770017                Gas           Gov. Aggregation
COH             137673050083                Gas           Gov. Aggregation   COH             207852460019                Gas           Gov. Aggregation
COH             204948770014                Gas           Gov. Aggregation   COH             210457170013                Gas           Gov. Aggregation
COH             205681790015                Gas           Gov. Aggregation   COH             208029870017                Gas           Gov. Aggregation
COH             208081770018                Gas           Gov. Aggregation   COH             208211420014                Gas           Gov. Aggregation
COH             207783830018                Gas           Gov. Aggregation   COH             210529600019                Gas           Gov. Aggregation
COH             193136600023                Gas           Gov. Aggregation   COH             209218180010                Gas           Gov. Aggregation
COH             170126730024                Gas           Gov. Aggregation   COH             208328930010                Gas           Gov. Aggregation
COH             161127420046                Gas           Gov. Aggregation   DEO             5500054228075               Gas           Gov. Aggregation
COH             205864150011                Gas           Gov. Aggregation   VEDO            4001171272540748            Gas           Gov. Aggregation
COH             160572020020                Gas           Gov. Aggregation   VEDO            4018847512640985            Gas           Gov. Aggregation
COH             207931020013                Gas           Gov. Aggregation   VEDO            4021084992439569            Gas           Gov. Aggregation
COH             154160450030                Gas           Gov. Aggregation   VEDO            4004939912503921            Gas           Gov. Aggregation
COH             188276600042                Gas           Gov. Aggregation   VEDO            4019831582393469            Gas           Gov. Aggregation
COH             208257030010                Gas           Gov. Aggregation   VEDO            4019114232249656            Gas           Gov. Aggregation
COH             153834220021                Gas           Gov. Aggregation   VEDO            4003270882323206            Gas           Gov. Aggregation
COH             205048200010                Gas           Gov. Aggregation   VEDO            4019910062407289            Gas           Gov. Aggregation
COH             207283580011                Gas           Gov. Aggregation   VEDO            4016133732209646            Gas           Gov. Aggregation
COH             197409710027                Gas           Gov. Aggregation   VEDO            4018216272268584            Gas           Gov. Aggregation
COH             131569800046                Gas           Gov. Aggregation   VEDO            4015539492257669            Gas           Gov. Aggregation
COH             204785580010                Gas           Gov. Aggregation   VEDO            4021310802439533            Gas           Gov. Aggregation
COH             148990970021                Gas           Gov. Aggregation   VEDO            4005148842527581            Gas           Gov. Aggregation
COH             206232470012                Gas           Gov. Aggregation   VEDO            4015872952229239            Gas           Gov. Aggregation
COH             175064680013                Gas           Gov. Aggregation   VEDO            4002278532138695            Gas           Gov. Aggregation
COH             197933060014                Gas           Gov. Aggregation   VEDO            4015571682481309            Gas           Gov. Aggregation
COH             203771270024                Gas           Gov. Aggregation   VEDO            4021094922283431            Gas           Gov. Aggregation
COH             174642720037                Gas           Gov. Aggregation   VEDO            4019814522521205            Gas           Gov. Aggregation
COH             205992480020                Gas           Gov. Aggregation   VEDO            4021297522163453            Gas           Gov. Aggregation
COH             205999560010                Gas           Gov. Aggregation   VEDO            4018640212136943            Gas           Gov. Aggregation
COH             208521780012                Gas           Gov. Aggregation   VEDO            4016407282596597            Gas           Gov. Aggregation
COH             207014810011                Gas           Gov. Aggregation   VEDO            4002105932205788            Gas           Gov. Aggregation
COH             206934560015                Gas           Gov. Aggregation   VEDO            4019150452427286            Gas           Gov. Aggregation
COH             200671390015                Gas           Gov. Aggregation   COH             143993970020                Gas           Gov. Aggregation
COH             171230570017                Gas           Gov. Aggregation   COH             210917530011                Gas           Gov. Aggregation
COH             207905160019                Gas           Gov. Aggregation   VEDO            4003768652393865            Gas           Gov. Aggregation
COH             160597240022                Gas           Gov. Aggregation   COH             143780310038                Gas           Gov. Aggregation
COH             207647530019                Gas           Gov. Aggregation   COH             122488150055                Gas           Gov. Aggregation
COH             167157680016                Gas           Gov. Aggregation   COH             122488150082                Gas           Gov. Aggregation
COH             166494190016                Gas           Gov. Aggregation   VEDO            4019853002250707            Gas           Gov. Aggregation
COH             207314340014                Gas           Gov. Aggregation   VEDO            4019853002630154            Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             207920760011                Gas           Gov. Aggregation   VEDO            4015795852394848            Gas           Gov. Aggregation
COH             158622320024                Gas           Gov. Aggregation   VEDO            4020077802264206            Gas           Gov. Aggregation
COH             174384780033                Gas           Gov. Aggregation   VEDO            4021519232330521            Gas           Gov. Aggregation
COH             206898050010                Gas           Gov. Aggregation   VEDO            4020882482168106            Gas           Gov. Aggregation
COH             146351160027                Gas           Gov. Aggregation   VEDO            4020139892509080            Gas           Gov. Aggregation
COH             197169650048                Gas           Gov. Aggregation   VEDO            4016802462230570            Gas           Gov. Aggregation
COH             207439610013                Gas           Gov. Aggregation   VEDO            4015086312128746            Gas           Gov. Aggregation
COH             206823230019                Gas           Gov. Aggregation   VEDO            4003586982356398            Gas           Gov. Aggregation
COH             206524110027                Gas           Gov. Aggregation   VEDO            4019791842101680            Gas           Gov. Aggregation
COH             188642970020                Gas           Gov. Aggregation   VEDO            4018649862372152            Gas           Gov. Aggregation
COH             203771340029                Gas           Gov. Aggregation   VEDO            4021504802502073            Gas           Gov. Aggregation
COH             207848950015                Gas           Gov. Aggregation   VEDO            4002686842246755            Gas           Gov. Aggregation
COH             207302760011                Gas           Gov. Aggregation   VEDO            4017129812452474            Gas           Gov. Aggregation
COH             207409050014                Gas           Gov. Aggregation   VEDO            4021093912263718            Gas           Gov. Aggregation
COH             205047930028                Gas           Gov. Aggregation   VEDO            4017085502189081            Gas           Gov. Aggregation
COH             190660230023                Gas           Gov. Aggregation   VEDO            4002467652241628            Gas           Gov. Aggregation
COH             172427920024                Gas           Gov. Aggregation   VEDO            4019235942373566            Gas           Gov. Aggregation
COH             188459830028                Gas           Gov. Aggregation   VEDO            4016325152418644            Gas           Gov. Aggregation
COH             206294090021                Gas           Gov. Aggregation   VEDO            4021520552376241            Gas           Gov. Aggregation
COH             165643340036                Gas           Gov. Aggregation   VEDO            4004818982490543            Gas           Gov. Aggregation
COH             199336550033                Gas           Gov. Aggregation   VEDO            4019487922418976            Gas           Gov. Aggregation
COH             124514720029                Gas           Gov. Aggregation   VEDO            4021176682683791            Gas           Gov. Aggregation
COH             197083190038                Gas           Gov. Aggregation   VEDO            4016110082456001            Gas           Gov. Aggregation
COH             207455800019                Gas           Gov. Aggregation   VEDO            4019893382274420            Gas           Gov. Aggregation
COH             202294880029                Gas           Gov. Aggregation   VEDO            4003836182382983            Gas           Gov. Aggregation
COH             207699140012                Gas           Gov. Aggregation   VEDO            4017768012424182            Gas           Gov. Aggregation
COH             207841990011                Gas           Gov. Aggregation   VEDO            4005006842511445            Gas           Gov. Aggregation
COH             124387940033                Gas           Gov. Aggregation   VEDO            4002395082503926            Gas           Gov. Aggregation
COH             207641870010                Gas           Gov. Aggregation   VEDO            4021242902394647            Gas           Gov. Aggregation
COH             207273080017                Gas           Gov. Aggregation   COH             203335220019                Gas           Gov. Aggregation
COH             135695880021                Gas           Gov. Aggregation   COH             207207040014                Gas           Gov. Aggregation
COH             208134840010                Gas           Gov. Aggregation   COH             198114460015                Gas           Gov. Aggregation
COH             207264110019                Gas           Gov. Aggregation   COH             131375290036                Gas           Gov. Aggregation
COH             193003860039                Gas           Gov. Aggregation   COH             206754100013                Gas           Gov. Aggregation
COH             207485780011                Gas           Gov. Aggregation   COH             206892770011                Gas           Gov. Aggregation
COH             164532580078                Gas           Gov. Aggregation   COH             189949880028                Gas           Gov. Aggregation
COH             207565560017                Gas           Gov. Aggregation   COH             204939030018                Gas           Gov. Aggregation
COH             207733590014                Gas           Gov. Aggregation   COH             195944310038                Gas           Gov. Aggregation
COH             206374140020                Gas           Gov. Aggregation   COH             204856380011                Gas           Gov. Aggregation
COH             199255490029                Gas           Gov. Aggregation   COH             207856020031                Gas           Gov. Aggregation
COH             207527850016                Gas           Gov. Aggregation   COH             207856020059                Gas           Gov. Aggregation
COH             127334330020                Gas           Gov. Aggregation   COH             210174560011                Gas           Gov. Aggregation
COH             193778670065                Gas           Gov. Aggregation   COH             199370310022                Gas           Gov. Aggregation
COH             207522170019                Gas           Gov. Aggregation   COH             186921070047                Gas           Gov. Aggregation
COH             177436110020                Gas           Gov. Aggregation   COH             188779990018                Gas           Gov. Aggregation
COH             153253510031                Gas           Gov. Aggregation   COH             206594990017                Gas           Gov. Aggregation
COH             208355970015                Gas           Gov. Aggregation   COH             207708830016                Gas           Gov. Aggregation
COH             207000280012                Gas           Gov. Aggregation   COH             209435310012                Gas           Gov. Aggregation
COH             124487620056                Gas           Gov. Aggregation   COH             210398600018                Gas           Gov. Aggregation
COH             142495700023                Gas           Gov. Aggregation   COH             208150700015                Gas           Gov. Aggregation
COH             176752120029                Gas           Gov. Aggregation   COH             210375100011                Gas           Gov. Aggregation
COH             190321520020                Gas           Gov. Aggregation   COH             156558380049                Gas           Gov. Aggregation
COH             136951680037                Gas           Gov. Aggregation   COH             203970190010                Gas           Gov. Aggregation
COH             207774940014                Gas           Gov. Aggregation   COH             200827980029                Gas           Gov. Aggregation
COH             171695180015                Gas           Gov. Aggregation   COH             209416410011                Gas           Gov. Aggregation
COH             206927530016                Gas           Gov. Aggregation   COH             203261930017                Gas           Gov. Aggregation
COH             201437850031                Gas           Gov. Aggregation   COH             206560690039                Gas           Gov. Aggregation
COH             208075150011                Gas           Gov. Aggregation   COH             173309140027                Gas           Gov. Aggregation
COH             202044640028                Gas           Gov. Aggregation   COH             156278290042                Gas           Gov. Aggregation
COH             207288630010                Gas           Gov. Aggregation   COH             160988420098                Gas           Gov. Aggregation
COH             207395000015                Gas           Gov. Aggregation   COH             208805210019                Gas           Gov. Aggregation
COH             140110000026                Gas           Gov. Aggregation   COH             141894040063                Gas           Gov. Aggregation
COH             207421370011                Gas           Gov. Aggregation   COH             150523220050                Gas           Gov. Aggregation
COH             207448580011                Gas           Gov. Aggregation   COH             204329380018                Gas           Gov. Aggregation
COH             203156570025                Gas           Gov. Aggregation   COH             193921520043                Gas           Gov. Aggregation
COH             202118060023                Gas           Gov. Aggregation   COH             208342140016                Gas           Gov. Aggregation
COH             207894870015                Gas           Gov. Aggregation   COH             207642370013                Gas           Gov. Aggregation
COH             192849930033                Gas           Gov. Aggregation   COH             156431910036                Gas           Gov. Aggregation
COH             186775290042                Gas           Gov. Aggregation   COH             147115760093                Gas           Gov. Aggregation
COH             207894760018                Gas           Gov. Aggregation   COH             209837240015                Gas           Gov. Aggregation
COH             208385660017                Gas           Gov. Aggregation   COH             173049480546                Gas           Gov. Aggregation
COH             207926550013                Gas           Gov. Aggregation   COH             189820620024                Gas           Gov. Aggregation
COH             208050280016                Gas           Gov. Aggregation   COH             139867850019                Gas           Gov. Aggregation
COH             208101100014                Gas           Gov. Aggregation   COH             198673360021                Gas           Gov. Aggregation
COH             208149750018                Gas           Gov. Aggregation   COH             207571440019                Gas           Gov. Aggregation
COH             199555150024                Gas           Gov. Aggregation   COH             205589750019                Gas           Gov. Aggregation
COH             207097260013                Gas           Gov. Aggregation   COH             196626610109                Gas           Gov. Aggregation
COH             207365910017                Gas           Gov. Aggregation   COH             205644830014                Gas           Gov. Aggregation
COH             206736130033                Gas           Gov. Aggregation   COH             108670560023                Gas           Gov. Aggregation
COH             186525860041                Gas           Gov. Aggregation   COH             204255430023                Gas           Gov. Aggregation
COH             146656810079                Gas           Gov. Aggregation   COH             209086940011                Gas           Gov. Aggregation
COH             201292860153                Gas           Gov. Aggregation   COH             208199350017                Gas           Gov. Aggregation
COH             174045080010                Gas           Gov. Aggregation   COH             151520070048                Gas           Gov. Aggregation
COH             176424550104                Gas           Gov. Aggregation   COH             207931580016                Gas           Gov. Aggregation
COH             202961840022                Gas           Gov. Aggregation   COH             173886550038                Gas           Gov. Aggregation
COH             207576650015                Gas           Gov. Aggregation   COH             209323210010                Gas           Gov. Aggregation
COH             208392510013                Gas           Gov. Aggregation   COH             187672190059                Gas           Gov. Aggregation
COH             194526280050                Gas           Gov. Aggregation   COH             108684360053                Gas           Gov. Aggregation
COH             152701030032                Gas           Gov. Aggregation   COH             208317580017                Gas           Gov. Aggregation
COH             195213740028                Gas           Gov. Aggregation   COH             142423010074                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             202757850023                Gas           Gov. Aggregation   COH             204004020011                Gas           Gov. Aggregation
COH             207053700012                Gas           Gov. Aggregation   COH             129436320042                Gas           Gov. Aggregation
COH             157954790042                Gas           Gov. Aggregation   COH             207962090014                Gas           Gov. Aggregation
COH             204863700027                Gas           Gov. Aggregation   COH             186783891084                Gas           Gov. Aggregation
COH             198010150029                Gas           Gov. Aggregation   COH             206743790012                Gas           Gov. Aggregation
COH             206827020015                Gas           Gov. Aggregation   COH             189590960013                Gas           Gov. Aggregation
COH             120436150047                Gas           Gov. Aggregation   COH             148346790033                Gas           Gov. Aggregation
COH             207811910010                Gas           Gov. Aggregation   COH             205020080014                Gas           Gov. Aggregation
COH             175514720046                Gas           Gov. Aggregation   COH             109457090229                Gas           Gov. Aggregation
COH             203794460026                Gas           Gov. Aggregation   COH             108684190022                Gas           Gov. Aggregation
COH             206626880011                Gas           Gov. Aggregation   COH             204774560017                Gas           Gov. Aggregation
COH             173284630028                Gas           Gov. Aggregation   COH             164020290118                Gas           Gov. Aggregation
COH             156515800120                Gas           Gov. Aggregation   COH             109736520039                Gas           Gov. Aggregation
COH             201806990020                Gas           Gov. Aggregation   COH             197762600040                Gas           Gov. Aggregation
COH             208507590012                Gas           Gov. Aggregation   COH             202722650037                Gas           Gov. Aggregation
COH             208159330024                Gas           Gov. Aggregation   COH             108666940031                Gas           Gov. Aggregation
COH             206919860014                Gas           Gov. Aggregation   COH             209812460011                Gas           Gov. Aggregation
COH             131115200043                Gas           Gov. Aggregation   COH             108673110085                Gas           Gov. Aggregation
COH             208379230010                Gas           Gov. Aggregation   COH             143655240190                Gas           Gov. Aggregation
COH             208288790016                Gas           Gov. Aggregation   COH             207304500011                Gas           Gov. Aggregation
COH             206605140029                Gas           Gov. Aggregation   COH             108705010023                Gas           Gov. Aggregation
COH             163804590034                Gas           Gov. Aggregation   COH             108706720022                Gas           Gov. Aggregation
COH             206033510024                Gas           Gov. Aggregation   COH             175310900068                Gas           Gov. Aggregation
COH             207378810011                Gas           Gov. Aggregation   COH             176884710044                Gas           Gov. Aggregation
COH             207651230013                Gas           Gov. Aggregation   COH             186146150017                Gas           Gov. Aggregation
COH             208567850011                Gas           Gov. Aggregation   COH             191037430021                Gas           Gov. Aggregation
COH             208159220018                Gas           Gov. Aggregation   COH             192281670023                Gas           Gov. Aggregation
COH             151676640021                Gas           Gov. Aggregation   COH             205618500018                Gas           Gov. Aggregation
COH             207953960010                Gas           Gov. Aggregation   COH             208916190019                Gas           Gov. Aggregation
COH             187013120022                Gas           Gov. Aggregation   COH             209212530018                Gas           Gov. Aggregation
COH             195480730025                Gas           Gov. Aggregation   COH             177177860069                Gas           Gov. Aggregation
COH             137790980017                Gas           Gov. Aggregation   COH             205287800018                Gas           Gov. Aggregation
COH             206912850010                Gas           Gov. Aggregation   COH             200186260039                Gas           Gov. Aggregation
COH             190988060016                Gas           Gov. Aggregation   COH             185529470046                Gas           Gov. Aggregation
COH             207414480013                Gas           Gov. Aggregation   COH             209691020011                Gas           Gov. Aggregation
COH             168327420072                Gas           Gov. Aggregation   COH             206546020020                Gas           Gov. Aggregation
COH             207111380016                Gas           Gov. Aggregation   COH             209818560018                Gas           Gov. Aggregation
COH             208418150013                Gas           Gov. Aggregation   COH             203693900018                Gas           Gov. Aggregation
COH             207437210011                Gas           Gov. Aggregation   COH             208090830016                Gas           Gov. Aggregation
COH             160101010029                Gas           Gov. Aggregation   COH             160332230024                Gas           Gov. Aggregation
COH             174382160037                Gas           Gov. Aggregation   COH             206635490014                Gas           Gov. Aggregation
COH             187915190044                Gas           Gov. Aggregation   COH             209317920014                Gas           Gov. Aggregation
COH             207661430010                Gas           Gov. Aggregation   COH             206712120017                Gas           Gov. Aggregation
COH             159842710034                Gas           Gov. Aggregation   COH             202886240037                Gas           Gov. Aggregation
COH             206661420013                Gas           Gov. Aggregation   COH             207456400011                Gas           Gov. Aggregation
COH             205406090014                Gas           Gov. Aggregation   COH             206606450013                Gas           Gov. Aggregation
COH             155984170032                Gas           Gov. Aggregation   COH             202931500017                Gas           Gov. Aggregation
COH             190308970024                Gas           Gov. Aggregation   COH             206386300012                Gas           Gov. Aggregation
COH             207124620018                Gas           Gov. Aggregation   COH             160078050013                Gas           Gov. Aggregation
COH             207579800017                Gas           Gov. Aggregation   COH             205720920013                Gas           Gov. Aggregation
COH             208228600011                Gas           Gov. Aggregation   COH             208138290018                Gas           Gov. Aggregation
COH             198210630033                Gas           Gov. Aggregation   COH             205541900017                Gas           Gov. Aggregation
COH             159980770049                Gas           Gov. Aggregation   COH             161225530063                Gas           Gov. Aggregation
COH             206859910011                Gas           Gov. Aggregation   COH             209203410012                Gas           Gov. Aggregation
COH             201524250032                Gas           Gov. Aggregation   COH             209985240012                Gas           Gov. Aggregation
COH             208392500015                Gas           Gov. Aggregation   COH             208622570012                Gas           Gov. Aggregation
COH             207784420012                Gas           Gov. Aggregation   COH             202001690028                Gas           Gov. Aggregation
COH             191049120021                Gas           Gov. Aggregation   COH             203206610010                Gas           Gov. Aggregation
COH             207637080015                Gas           Gov. Aggregation   COH             203240070012                Gas           Gov. Aggregation
COH             152932970027                Gas           Gov. Aggregation   COH             208222200017                Gas           Gov. Aggregation
COH             205781280010                Gas           Gov. Aggregation   COH             207626880010                Gas           Gov. Aggregation
COH             207187450012                Gas           Gov. Aggregation   COH             209676610019                Gas           Gov. Aggregation
COH             207089740019                Gas           Gov. Aggregation   COH             206835410016                Gas           Gov. Aggregation
COH             154725710340                Gas           Gov. Aggregation   COH             206567830035                Gas           Gov. Aggregation
COH             170303650016                Gas           Gov. Aggregation   COH             192189970053                Gas           Gov. Aggregation
COH             170529770022                Gas           Gov. Aggregation   COH             202672730037                Gas           Gov. Aggregation
COH             207968370013                Gas           Gov. Aggregation   COH             173989590050                Gas           Gov. Aggregation
COH             205717560034                Gas           Gov. Aggregation   COH             187843830042                Gas           Gov. Aggregation
COH             199029900021                Gas           Gov. Aggregation   COH             205361450032                Gas           Gov. Aggregation
COH             191599310035                Gas           Gov. Aggregation   COH             152430480024                Gas           Gov. Aggregation
COH             204357790013                Gas           Gov. Aggregation   COH             202370370015                Gas           Gov. Aggregation
COH             157153680025                Gas           Gov. Aggregation   COH             209146090012                Gas           Gov. Aggregation
COH             207985350011                Gas           Gov. Aggregation   COH             208986890015                Gas           Gov. Aggregation
COH             195803280015                Gas           Gov. Aggregation   COH             205707050014                Gas           Gov. Aggregation
COH             207828010014                Gas           Gov. Aggregation   COH             203719390029                Gas           Gov. Aggregation
COH             195191990051                Gas           Gov. Aggregation   COH             205140060014                Gas           Gov. Aggregation
COH             207234450020                Gas           Gov. Aggregation   COH             208609790014                Gas           Gov. Aggregation
COH             206149880013                Gas           Gov. Aggregation   COH             209762470016                Gas           Gov. Aggregation
COH             172991760014                Gas           Gov. Aggregation   COH             203066140017                Gas           Gov. Aggregation
COH             206278920020                Gas           Gov. Aggregation   COH             205530130012                Gas           Gov. Aggregation
COH             207542540019                Gas           Gov. Aggregation   COH             205140050025                Gas           Gov. Aggregation
COH             208427500010                Gas           Gov. Aggregation   COH             153337650043                Gas           Gov. Aggregation
COH             206004030026                Gas           Gov. Aggregation   COH             108710720023                Gas           Gov. Aggregation
COH             195848520038                Gas           Gov. Aggregation   COH             190863780046                Gas           Gov. Aggregation
COH             192619440024                Gas           Gov. Aggregation   COH             206150570015                Gas           Gov. Aggregation
COH             207856670017                Gas           Gov. Aggregation   COH             157045090082                Gas           Gov. Aggregation
COH             205011450024                Gas           Gov. Aggregation   COH             205840370015                Gas           Gov. Aggregation
COH             174827920033                Gas           Gov. Aggregation   COH             208854710011                Gas           Gov. Aggregation
COH             198171060028                Gas           Gov. Aggregation   COH             208484850017                Gas           Gov. Aggregation
COH             208121500018                Gas           Gov. Aggregation   COH             208076670010                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             193488120029                Gas           Gov. Aggregation   COH             203344010014                Gas           Gov. Aggregation
COH             199651230023                Gas           Gov. Aggregation   COH             203774230017                Gas           Gov. Aggregation
COH             208294460012                Gas           Gov. Aggregation   COH             169232310048                Gas           Gov. Aggregation
COH             190109140020                Gas           Gov. Aggregation   COH             108738180029                Gas           Gov. Aggregation
COH             207886340013                Gas           Gov. Aggregation   COH             135783740096                Gas           Gov. Aggregation
COH             208055670014                Gas           Gov. Aggregation   COH             189390150026                Gas           Gov. Aggregation
COH             208535320019                Gas           Gov. Aggregation   COH             207188270027                Gas           Gov. Aggregation
COH             177787390010                Gas           Gov. Aggregation   COH             206409160012                Gas           Gov. Aggregation
COH             207282310019                Gas           Gov. Aggregation   COH             206992430010                Gas           Gov. Aggregation
COH             204138460034                Gas           Gov. Aggregation   COH             206165280015                Gas           Gov. Aggregation
COH             202034890027                Gas           Gov. Aggregation   COH             208405120016                Gas           Gov. Aggregation
COH             208101110012                Gas           Gov. Aggregation   COH             199387990025                Gas           Gov. Aggregation
COH             207400580011                Gas           Gov. Aggregation   COH             189418570028                Gas           Gov. Aggregation
COH             207314310029                Gas           Gov. Aggregation   COH             210375110019                Gas           Gov. Aggregation
COH             162709610023                Gas           Gov. Aggregation   COH             108771030039                Gas           Gov. Aggregation
COH             193955970020                Gas           Gov. Aggregation   COH             206560660035                Gas           Gov. Aggregation
COH             206630540013                Gas           Gov. Aggregation   COH             209235140012                Gas           Gov. Aggregation
COH             195881000037                Gas           Gov. Aggregation   COH             200317500011                Gas           Gov. Aggregation
COH             207733640013                Gas           Gov. Aggregation   COH             208021240015                Gas           Gov. Aggregation
COH             207225430014                Gas           Gov. Aggregation   COH             202913850012                Gas           Gov. Aggregation
COH             167385920021                Gas           Gov. Aggregation   COH             204374330013                Gas           Gov. Aggregation
COH             150459870024                Gas           Gov. Aggregation   COH             192326220290                Gas           Gov. Aggregation
COH             171426320014                Gas           Gov. Aggregation   COH             195351610041                Gas           Gov. Aggregation
COH             207122610014                Gas           Gov. Aggregation   COH             207955270011                Gas           Gov. Aggregation
COH             207111440013                Gas           Gov. Aggregation   COH             205060800027                Gas           Gov. Aggregation
COH             173403080011                Gas           Gov. Aggregation   COH             202799150013                Gas           Gov. Aggregation
COH             208267830011                Gas           Gov. Aggregation   COH             112113270046                Gas           Gov. Aggregation
COH             155513800036                Gas           Gov. Aggregation   COH             204250150013                Gas           Gov. Aggregation
COH             207968250018                Gas           Gov. Aggregation   COH             208703570010                Gas           Gov. Aggregation
COH             194061550013                Gas           Gov. Aggregation   COH             186962230047                Gas           Gov. Aggregation
COH             177810620029                Gas           Gov. Aggregation   COH             209374500012                Gas           Gov. Aggregation
COH             206805200013                Gas           Gov. Aggregation   COH             210406080019                Gas           Gov. Aggregation
COH             195245490033                Gas           Gov. Aggregation   COH             196731950043                Gas           Gov. Aggregation
COH             207617090015                Gas           Gov. Aggregation   COH             156114560032                Gas           Gov. Aggregation
COH             208198110019                Gas           Gov. Aggregation   COH             202968870013                Gas           Gov. Aggregation
COH             207067030014                Gas           Gov. Aggregation   COH             186613570036                Gas           Gov. Aggregation
COH             207632340010                Gas           Gov. Aggregation   COH             191407890020                Gas           Gov. Aggregation
COH             207052120016                Gas           Gov. Aggregation   COH             206342180010                Gas           Gov. Aggregation
COH             131996010056                Gas           Gov. Aggregation   COH             108720240023                Gas           Gov. Aggregation
COH             208336370011                Gas           Gov. Aggregation   COH             207125110013                Gas           Gov. Aggregation
COH             207171040011                Gas           Gov. Aggregation   COH             207478910018                Gas           Gov. Aggregation
COH             175077920042                Gas           Gov. Aggregation   COH             202254170022                Gas           Gov. Aggregation
COH             207187430016                Gas           Gov. Aggregation   COH             194333170025                Gas           Gov. Aggregation
COH             151070920026                Gas           Gov. Aggregation   COH             210353890012                Gas           Gov. Aggregation
COH             195758670010                Gas           Gov. Aggregation   COH             206185500016                Gas           Gov. Aggregation
COH             131610960053                Gas           Gov. Aggregation   COH             203403680018                Gas           Gov. Aggregation
COH             208460710016                Gas           Gov. Aggregation   COH             108757280028                Gas           Gov. Aggregation
COH             207821950011                Gas           Gov. Aggregation   COH             208619710019                Gas           Gov. Aggregation
COH             204335330033                Gas           Gov. Aggregation   COH             175968300043                Gas           Gov. Aggregation
COH             208441220019                Gas           Gov. Aggregation   COH             204848890011                Gas           Gov. Aggregation
COH             208476920019                Gas           Gov. Aggregation   COH             208372260018                Gas           Gov. Aggregation
COH             205935680019                Gas           Gov. Aggregation   COH             193840570036                Gas           Gov. Aggregation
COH             208467080015                Gas           Gov. Aggregation   COH             166395900034                Gas           Gov. Aggregation
COH             207878460015                Gas           Gov. Aggregation   COH             194234950021                Gas           Gov. Aggregation
COH             207878460033                Gas           Gov. Aggregation   COH             205518980010                Gas           Gov. Aggregation
COH             200236610298                Gas           Gov. Aggregation   COH             176290780076                Gas           Gov. Aggregation
COH             191523600060                Gas           Gov. Aggregation   COH             202837250010                Gas           Gov. Aggregation
COH             207652290037                Gas           Gov. Aggregation   COH             202275400010                Gas           Gov. Aggregation
COH             164811110207                Gas           Gov. Aggregation   COH             134385600018                Gas           Gov. Aggregation
COH             202106550052                Gas           Gov. Aggregation   COH             209875500010                Gas           Gov. Aggregation
COH             204060120012                Gas           Gov. Aggregation   COH             194297380038                Gas           Gov. Aggregation
COH             207999660017                Gas           Gov. Aggregation   COH             156225270074                Gas           Gov. Aggregation
COH             207934350018                Gas           Gov. Aggregation   COH             209249370015                Gas           Gov. Aggregation
COH             205971400011                Gas           Gov. Aggregation   COH             145872130011                Gas           Gov. Aggregation
COH             208355140019                Gas           Gov. Aggregation   COH             206835420014                Gas           Gov. Aggregation
COH             208362750016                Gas           Gov. Aggregation   COH             207775790014                Gas           Gov. Aggregation
COH             207934340010                Gas           Gov. Aggregation   COH             202876780017                Gas           Gov. Aggregation
COH             207342730013                Gas           Gov. Aggregation   COH             155356440063                Gas           Gov. Aggregation
COH             163109120054                Gas           Gov. Aggregation   COH             204345610015                Gas           Gov. Aggregation
COH             207345040012                Gas           Gov. Aggregation   COH             206077100019                Gas           Gov. Aggregation
COH             208499220018                Gas           Gov. Aggregation   COH             108741140011                Gas           Gov. Aggregation
COH             121953710033                Gas           Gov. Aggregation   COH             108741320497                Gas           Gov. Aggregation
COH             187040210035                Gas           Gov. Aggregation   COH             108741320568                Gas           Gov. Aggregation
COH             197885700030                Gas           Gov. Aggregation   COH             108741320577                Gas           Gov. Aggregation
COH             205343810034                Gas           Gov. Aggregation   COH             108741320540                Gas           Gov. Aggregation
COH             208355130011                Gas           Gov. Aggregation   COH             108741320559                Gas           Gov. Aggregation
COH             197232910020                Gas           Gov. Aggregation   COH             208830720019                Gas           Gov. Aggregation
COH             207814450011                Gas           Gov. Aggregation   COH             209018910010                Gas           Gov. Aggregation
COH             201332800033                Gas           Gov. Aggregation   COH             204464970036                Gas           Gov. Aggregation
COH             155783480220                Gas           Gov. Aggregation   COH             193031510024                Gas           Gov. Aggregation
COH             121927490026                Gas           Gov. Aggregation   COH             204847620019                Gas           Gov. Aggregation
COH             205938910014                Gas           Gov. Aggregation   COH             202994790015                Gas           Gov. Aggregation
COH             207725200012                Gas           Gov. Aggregation   COH             199566550027                Gas           Gov. Aggregation
COH             208584970010                Gas           Gov. Aggregation   COH             138050520038                Gas           Gov. Aggregation
COH             158722990193                Gas           Gov. Aggregation   COH             207750850013                Gas           Gov. Aggregation
COH             200783020024                Gas           Gov. Aggregation   COH             108750670039                Gas           Gov. Aggregation
COH             206051730011                Gas           Gov. Aggregation   COH             208175310015                Gas           Gov. Aggregation
COH             188481190080                Gas           Gov. Aggregation   COH             209219930010                Gas           Gov. Aggregation
COH             208055190015                Gas           Gov. Aggregation   COH             205109950013                Gas           Gov. Aggregation
COH             172485360020                Gas           Gov. Aggregation   COH             152182210081                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             207247520019                Gas           Gov. Aggregation   COH             210375060010                Gas           Gov. Aggregation
COH             208461890017                Gas           Gov. Aggregation   COH             201554310027                Gas           Gov. Aggregation
COH             177587410028                Gas           Gov. Aggregation   COH             204970640014                Gas           Gov. Aggregation
COH             203847930024                Gas           Gov. Aggregation   COH             204187010017                Gas           Gov. Aggregation
COH             176163440021                Gas           Gov. Aggregation   COH             210097110019                Gas           Gov. Aggregation
COH             206641960012                Gas           Gov. Aggregation   COH             189302580030                Gas           Gov. Aggregation
COH             203510970010                Gas           Gov. Aggregation   COH             196897800044                Gas           Gov. Aggregation
COH             206321090013                Gas           Gov. Aggregation   COH             205258940010                Gas           Gov. Aggregation
COH             208386750016                Gas           Gov. Aggregation   COH             207251320012                Gas           Gov. Aggregation
COH             206290670018                Gas           Gov. Aggregation   COH             206096620010                Gas           Gov. Aggregation
COH             206550960015                Gas           Gov. Aggregation   COH             203382800018                Gas           Gov. Aggregation
COH             199967970029                Gas           Gov. Aggregation   COH             200966460220                Gas           Gov. Aggregation
COH             172610180094                Gas           Gov. Aggregation   COH             203491520016                Gas           Gov. Aggregation
COH             194298830040                Gas           Gov. Aggregation   COH             202391760019                Gas           Gov. Aggregation
COH             206170040014                Gas           Gov. Aggregation   COH             108752930012                Gas           Gov. Aggregation
COH             199914800025                Gas           Gov. Aggregation   COH             209605510019                Gas           Gov. Aggregation
COH             166371600019                Gas           Gov. Aggregation   COH             209641000010                Gas           Gov. Aggregation
COH             158412755006                Gas           Gov. Aggregation   COH             210448590014                Gas           Gov. Aggregation
COH             208355230010                Gas           Gov. Aggregation   COH             136465530039                Gas           Gov. Aggregation
COH             208362730010                Gas           Gov. Aggregation   COH             202667610015                Gas           Gov. Aggregation
COH             208531540011                Gas           Gov. Aggregation   COH             203562990017                Gas           Gov. Aggregation
COH             204123670013                Gas           Gov. Aggregation   COH             208537050012                Gas           Gov. Aggregation
COH             208185570010                Gas           Gov. Aggregation   COH             206130970013                Gas           Gov. Aggregation
COH             206110110015                Gas           Gov. Aggregation   COH             205003440014                Gas           Gov. Aggregation
COH             197568140030                Gas           Gov. Aggregation   COH             206192950017                Gas           Gov. Aggregation
COH             135440870013                Gas           Gov. Aggregation   COH             210230520019                Gas           Gov. Aggregation
COH             208455330017                Gas           Gov. Aggregation   COH             206688430015                Gas           Gov. Aggregation
COH             201919120023                Gas           Gov. Aggregation   COH             203742720011                Gas           Gov. Aggregation
COH             208584990016                Gas           Gov. Aggregation   COH             204515760013                Gas           Gov. Aggregation
COH             194979080071                Gas           Gov. Aggregation   COH             194085360013                Gas           Gov. Aggregation
COH             208719540013                Gas           Gov. Aggregation   COH             208662320010                Gas           Gov. Aggregation
COH             208475750017                Gas           Gov. Aggregation   COH             174163650083                Gas           Gov. Aggregation
COH             151380370025                Gas           Gov. Aggregation   COH             132418860104                Gas           Gov. Aggregation
COH             203604030036                Gas           Gov. Aggregation   COH             206852290016                Gas           Gov. Aggregation
COH             199934840043                Gas           Gov. Aggregation   COH             204273930011                Gas           Gov. Aggregation
COH             202401330016                Gas           Gov. Aggregation   COH             207283400018                Gas           Gov. Aggregation
COH             207079800017                Gas           Gov. Aggregation   COH             207931580034                Gas           Gov. Aggregation
COH             196872350023                Gas           Gov. Aggregation   COH             210141790012                Gas           Gov. Aggregation
COH             192067430036                Gas           Gov. Aggregation   COH             171491340013                Gas           Gov. Aggregation
COH             189477220027                Gas           Gov. Aggregation   COH             203988270016                Gas           Gov. Aggregation
COH             150044960015                Gas           Gov. Aggregation   COH             207721000012                Gas           Gov. Aggregation
COH             206401350018                Gas           Gov. Aggregation   COH             200603660011                Gas           Gov. Aggregation
COH             200007760050                Gas           Gov. Aggregation   COH             194737560027                Gas           Gov. Aggregation
COH             202433670018                Gas           Gov. Aggregation   COH             207849460016                Gas           Gov. Aggregation
COH             207585670012                Gas           Gov. Aggregation   COH             202887980021                Gas           Gov. Aggregation
COH             157725100014                Gas           Gov. Aggregation   COH             198260930017                Gas           Gov. Aggregation
COH             202075550031                Gas           Gov. Aggregation   COH             203691060019                Gas           Gov. Aggregation
COH             208361140016                Gas           Gov. Aggregation   COH             206842660028                Gas           Gov. Aggregation
COH             207757390016                Gas           Gov. Aggregation   COH             209131080015                Gas           Gov. Aggregation
COH             205756160027                Gas           Gov. Aggregation   COH             210116300017                Gas           Gov. Aggregation
COH             208332810016                Gas           Gov. Aggregation   COH             206363530012                Gas           Gov. Aggregation
COH             207302290010                Gas           Gov. Aggregation   COH             206146310018                Gas           Gov. Aggregation
COH             198328090038                Gas           Gov. Aggregation   COH             202732220018                Gas           Gov. Aggregation
COH             149719070738                Gas           Gov. Aggregation   COH             207955280019                Gas           Gov. Aggregation
COH             205671240011                Gas           Gov. Aggregation   COH             208281080019                Gas           Gov. Aggregation
COH             206188590012                Gas           Gov. Aggregation   COH             209117770010                Gas           Gov. Aggregation
COH             206243250033                Gas           Gov. Aggregation   COH             202941200019                Gas           Gov. Aggregation
COH             208157940011                Gas           Gov. Aggregation   COH             208175350017                Gas           Gov. Aggregation
COH             157259080036                Gas           Gov. Aggregation   COH             108958260071                Gas           Gov. Aggregation
COH             197508470028                Gas           Gov. Aggregation   COH             203913880015                Gas           Gov. Aggregation
COH             196737430022                Gas           Gov. Aggregation   COH             205345050012                Gas           Gov. Aggregation
COH             157565210075                Gas           Gov. Aggregation   COH             202887980012                Gas           Gov. Aggregation
COH             207052030015                Gas           Gov. Aggregation   COH             205181480038                Gas           Gov. Aggregation
COH             207783960011                Gas           Gov. Aggregation   COH             207600410030                Gas           Gov. Aggregation
COH             208410550015                Gas           Gov. Aggregation   COH             197740720023                Gas           Gov. Aggregation
COH             175317112577                Gas           Gov. Aggregation   COH             171895320057                Gas           Gov. Aggregation
COH             207964970015                Gas           Gov. Aggregation   COH             208772030018                Gas           Gov. Aggregation
COH             203124870038                Gas           Gov. Aggregation   COH             191720500018                Gas           Gov. Aggregation
COH             208453090012                Gas           Gov. Aggregation   COH             209228120011                Gas           Gov. Aggregation
COH             206012860016                Gas           Gov. Aggregation   COH             108764410025                Gas           Gov. Aggregation
COH             208512990017                Gas           Gov. Aggregation   COH             143264610075                Gas           Gov. Aggregation
COH             132903920095                Gas           Gov. Aggregation   COH             196494040039                Gas           Gov. Aggregation
COH             158412754892                Gas           Gov. Aggregation   COH             207218520029                Gas           Gov. Aggregation
COH             208468650013                Gas           Gov. Aggregation   COH             204446240019                Gas           Gov. Aggregation
COH             206496840025                Gas           Gov. Aggregation   COH             207565890036                Gas           Gov. Aggregation
COH             206472170017                Gas           Gov. Aggregation   COH             205132820011                Gas           Gov. Aggregation
COH             208500250017                Gas           Gov. Aggregation   COH             203712110012                Gas           Gov. Aggregation
COH             208512980019                Gas           Gov. Aggregation   COH             208592500011                Gas           Gov. Aggregation
COH             200339170024                Gas           Gov. Aggregation   COH             204559070016                Gas           Gov. Aggregation
COH             205890280019                Gas           Gov. Aggregation   COH             202857270014                Gas           Gov. Aggregation
COH             208028750014                Gas           Gov. Aggregation   COH             108717040013                Gas           Gov. Aggregation
COH             207036870013                Gas           Gov. Aggregation   COH             203568140013                Gas           Gov. Aggregation
COH             202912500026                Gas           Gov. Aggregation   COH             189753930031                Gas           Gov. Aggregation
COH             206390080010                Gas           Gov. Aggregation   COH             210173530019                Gas           Gov. Aggregation
COH             206428160012                Gas           Gov. Aggregation   COH             206239570017                Gas           Gov. Aggregation
COH             206984570018                Gas           Gov. Aggregation   COH             203287960026                Gas           Gov. Aggregation
COH             208708600013                Gas           Gov. Aggregation   COH             199860670055                Gas           Gov. Aggregation
COH             208730100011                Gas           Gov. Aggregation   COH             209443170015                Gas           Gov. Aggregation
COH             208378080014                Gas           Gov. Aggregation   COH             108720360019                Gas           Gov. Aggregation
COH             208378090012                Gas           Gov. Aggregation   COH             198248350015                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             208416480018                Gas           Gov. Aggregation   COH             208886280015                Gas           Gov. Aggregation
COH             208711190013                Gas           Gov. Aggregation   COH             204555800010                Gas           Gov. Aggregation
COH             204456820034                Gas           Gov. Aggregation   COH             203970240019                Gas           Gov. Aggregation
COH             208423720012                Gas           Gov. Aggregation   COH             207801990015                Gas           Gov. Aggregation
COH             207066530011                Gas           Gov. Aggregation   COH             177318510026                Gas           Gov. Aggregation
COH             208238230018                Gas           Gov. Aggregation   COH             209706710013                Gas           Gov. Aggregation
COH             208500280011                Gas           Gov. Aggregation   COH             140742100580                Gas           Gov. Aggregation
COH             202578210018                Gas           Gov. Aggregation   COH             209312500012                Gas           Gov. Aggregation
COH             165048490046                Gas           Gov. Aggregation   COH             196205770037                Gas           Gov. Aggregation
COH             207224340015                Gas           Gov. Aggregation   COH             205656650017                Gas           Gov. Aggregation
COH             207987480010                Gas           Gov. Aggregation   COH             195297810054                Gas           Gov. Aggregation
COH             207934520012                Gas           Gov. Aggregation   COH             209153530032                Gas           Gov. Aggregation
COH             208626420015                Gas           Gov. Aggregation   COH             208551320015                Gas           Gov. Aggregation
COH             206291630023                Gas           Gov. Aggregation   COH             187798580042                Gas           Gov. Aggregation
COH             208132490018                Gas           Gov. Aggregation   COH             206719510011                Gas           Gov. Aggregation
COH             145689240026                Gas           Gov. Aggregation   COH             210503260015                Gas           Gov. Aggregation
COH             208417430016                Gas           Gov. Aggregation   COH             205787470018                Gas           Gov. Aggregation
COH             207911060017                Gas           Gov. Aggregation   COH             159264280193                Gas           Gov. Aggregation
COH             208490020018                Gas           Gov. Aggregation   COH             155607980085                Gas           Gov. Aggregation
COH             208389440015                Gas           Gov. Aggregation   COH             176866480069                Gas           Gov. Aggregation
COH             208489920012                Gas           Gov. Aggregation   COH             209302040010                Gas           Gov. Aggregation
COH             207930470011                Gas           Gov. Aggregation   COH             170999800048                Gas           Gov. Aggregation
COH             208004440019                Gas           Gov. Aggregation   COH             131883130069                Gas           Gov. Aggregation
COH             208640970010                Gas           Gov. Aggregation   COH             206884590016                Gas           Gov. Aggregation
COH             205846350026                Gas           Gov. Aggregation   COH             207640020010                Gas           Gov. Aggregation
COH             208477790015                Gas           Gov. Aggregation   COH             209847340013                Gas           Gov. Aggregation
COH             208185580018                Gas           Gov. Aggregation   COH             199350630027                Gas           Gov. Aggregation
COH             207941600010                Gas           Gov. Aggregation   COH             210486950018                Gas           Gov. Aggregation
COH             207592270039                Gas           Gov. Aggregation   COH             199574510046                Gas           Gov. Aggregation
COH             207592270011                Gas           Gov. Aggregation   COH             208150670012                Gas           Gov. Aggregation
COH             207826010018                Gas           Gov. Aggregation   COH             202534760015                Gas           Gov. Aggregation
COH             207910960010                Gas           Gov. Aggregation   COH             205880770017                Gas           Gov. Aggregation
COH             208403370018                Gas           Gov. Aggregation   COH             209762420016                Gas           Gov. Aggregation
COH             208709630015                Gas           Gov. Aggregation   COH             208010380019                Gas           Gov. Aggregation
COH             205916530029                Gas           Gov. Aggregation   COH             207126960013                Gas           Gov. Aggregation
COH             208422780012                Gas           Gov. Aggregation   COH             205708010010                Gas           Gov. Aggregation
COH             208308950018                Gas           Gov. Aggregation   COH             197078880034                Gas           Gov. Aggregation
COH             205930290011                Gas           Gov. Aggregation   COH             209956420015                Gas           Gov. Aggregation
COH             207910950012                Gas           Gov. Aggregation   COH             208858810012                Gas           Gov. Aggregation
COH             208477800012                Gas           Gov. Aggregation   COH             210512540017                Gas           Gov. Aggregation
COH             208362760014                Gas           Gov. Aggregation   COH             204961200015                Gas           Gov. Aggregation
COH             206290690014                Gas           Gov. Aggregation   COH             204690010010                Gas           Gov. Aggregation
COH             207636640019                Gas           Gov. Aggregation   COH             208760730016                Gas           Gov. Aggregation
COH             204544880035                Gas           Gov. Aggregation   COH             208677970013                Gas           Gov. Aggregation
COH             207992000019                Gas           Gov. Aggregation   COH             208464060015                Gas           Gov. Aggregation
COH             208377970019                Gas           Gov. Aggregation   COH             208317590015                Gas           Gov. Aggregation
COH             208574030018                Gas           Gov. Aggregation   COH             194075344201                Gas           Gov. Aggregation
COH             206110100017                Gas           Gov. Aggregation   COH             207154880011                Gas           Gov. Aggregation
COH             152910080020                Gas           Gov. Aggregation   COH             170968590066                Gas           Gov. Aggregation
COH             204163160034                Gas           Gov. Aggregation   COH             210068840017                Gas           Gov. Aggregation
COH             208600880013                Gas           Gov. Aggregation   COH             210196280023                Gas           Gov. Aggregation
COH             206482550025                Gas           Gov. Aggregation   COH             201203680023                Gas           Gov. Aggregation
COH             208489530014                Gas           Gov. Aggregation   COH             204362330018                Gas           Gov. Aggregation
COH             208039960017                Gas           Gov. Aggregation   COH             204466850037                Gas           Gov. Aggregation
COH             208500240019                Gas           Gov. Aggregation   COH             203798160030                Gas           Gov. Aggregation
COH             208132220014                Gas           Gov. Aggregation   COH             209182060012                Gas           Gov. Aggregation
COH             202162650017                Gas           Gov. Aggregation   COH             196150570027                Gas           Gov. Aggregation
COH             158412754990                Gas           Gov. Aggregation   COH             200851570033                Gas           Gov. Aggregation
COH             208333710015                Gas           Gov. Aggregation   COH             208736310015                Gas           Gov. Aggregation
COH             208391000012                Gas           Gov. Aggregation   COH             194876770038                Gas           Gov. Aggregation
COH             208426030011                Gas           Gov. Aggregation   COH             208160540018                Gas           Gov. Aggregation
COH             208274080014                Gas           Gov. Aggregation   COH             163505140185                Gas           Gov. Aggregation
COH             208469540014                Gas           Gov. Aggregation   COH             203855040015                Gas           Gov. Aggregation
COH             162676660033                Gas           Gov. Aggregation   COH             137990160033                Gas           Gov. Aggregation
COH             207624960017                Gas           Gov. Aggregation   COH             203702210012                Gas           Gov. Aggregation
COH             208490080016                Gas           Gov. Aggregation   COH             207865770017                Gas           Gov. Aggregation
COH             208732230010                Gas           Gov. Aggregation   COH             172312130096                Gas           Gov. Aggregation
COH             204179930039                Gas           Gov. Aggregation   COH             202396900028                Gas           Gov. Aggregation
COH             205738050019                Gas           Gov. Aggregation   COH             193926270028                Gas           Gov. Aggregation
COH             208584980018                Gas           Gov. Aggregation   COH             207235350010                Gas           Gov. Aggregation
COH             207964890012                Gas           Gov. Aggregation   COH             170775360036                Gas           Gov. Aggregation
COH             206444360016                Gas           Gov. Aggregation   COH             118879050035                Gas           Gov. Aggregation
COH             203056900036                Gas           Gov. Aggregation   COH             207906320013                Gas           Gov. Aggregation
COH             208469200015                Gas           Gov. Aggregation   COH             209037370014                Gas           Gov. Aggregation
COH             204473110037                Gas           Gov. Aggregation   COH             209407960015                Gas           Gov. Aggregation
COH             202083530010                Gas           Gov. Aggregation   COH             207673700018                Gas           Gov. Aggregation
COH             158412753982                Gas           Gov. Aggregation   COH             140103651524                Gas           Gov. Aggregation
COH             208333480014                Gas           Gov. Aggregation   COH             202601140012                Gas           Gov. Aggregation
COH             158412754605                Gas           Gov. Aggregation   COH             209593160010                Gas           Gov. Aggregation
COH             199407530036                Gas           Gov. Aggregation   COH             207458000011                Gas           Gov. Aggregation
COH             208332730013                Gas           Gov. Aggregation   COH             207458000020                Gas           Gov. Aggregation
COH             208378070016                Gas           Gov. Aggregation   COH             194907910031                Gas           Gov. Aggregation
COH             208425920016                Gas           Gov. Aggregation   COH             200408270035                Gas           Gov. Aggregation
COH             208264540018                Gas           Gov. Aggregation   COH             207611990018                Gas           Gov. Aggregation
COH             208333020010                Gas           Gov. Aggregation   COH             197471060032                Gas           Gov. Aggregation
COH             208422100014                Gas           Gov. Aggregation   COH             208932320017                Gas           Gov. Aggregation
COH             208500330010                Gas           Gov. Aggregation   COH             210201270013                Gas           Gov. Aggregation
COH             208788970018                Gas           Gov. Aggregation   COH             199962460026                Gas           Gov. Aggregation
COH             200236610136                Gas           Gov. Aggregation   COH             209564600018                Gas           Gov. Aggregation
COH             208246870017                Gas           Gov. Aggregation   COH             198839000042                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             206358540011                Gas           Gov. Aggregation   COH             209581640014                Gas           Gov. Aggregation
COH             208333150013                Gas           Gov. Aggregation   COH             201155240028                Gas           Gov. Aggregation
COH             208417470018                Gas           Gov. Aggregation   COH             196830450011                Gas           Gov. Aggregation
COH             193291600052                Gas           Gov. Aggregation   COH             209679380012                Gas           Gov. Aggregation
COH             208006440015                Gas           Gov. Aggregation   COH             209256940010                Gas           Gov. Aggregation
COH             206428120010                Gas           Gov. Aggregation   COH             194788910035                Gas           Gov. Aggregation
COH             208006450013                Gas           Gov. Aggregation   COH             200541360034                Gas           Gov. Aggregation
COH             208252070012                Gas           Gov. Aggregation   COH             200541360025                Gas           Gov. Aggregation
COH             208312130011                Gas           Gov. Aggregation   COH             192588230089                Gas           Gov. Aggregation
COH             208333220018                Gas           Gov. Aggregation   COH             151439400023                Gas           Gov. Aggregation
COH             208309060013                Gas           Gov. Aggregation   COH             173347200033                Gas           Gov. Aggregation
COH             206360120014                Gas           Gov. Aggregation   COH             189907030051                Gas           Gov. Aggregation
COH             206413720015                Gas           Gov. Aggregation   COH             199971450029                Gas           Gov. Aggregation
COH             202660360012                Gas           Gov. Aggregation   COH             169674610030                Gas           Gov. Aggregation
COH             208773670012                Gas           Gov. Aggregation   COH             192603350026                Gas           Gov. Aggregation
COH             208487170014                Gas           Gov. Aggregation   COH             173049480457                Gas           Gov. Aggregation
COH             202953010014                Gas           Gov. Aggregation   COH             108771810026                Gas           Gov. Aggregation
COH             187247610033                Gas           Gov. Aggregation   COH             208791070010                Gas           Gov. Aggregation
COH             208417510019                Gas           Gov. Aggregation   COH             176240040076                Gas           Gov. Aggregation
COH             208487260015                Gas           Gov. Aggregation   COH             205190260017                Gas           Gov. Aggregation
COH             205945950011                Gas           Gov. Aggregation   COH             209691040017                Gas           Gov. Aggregation
COH             195530780055                Gas           Gov. Aggregation   COH             154713420060                Gas           Gov. Aggregation
COH             206472260018                Gas           Gov. Aggregation   COH             209711800013                Gas           Gov. Aggregation
COH             208497400014                Gas           Gov. Aggregation   COH             207353870011                Gas           Gov. Aggregation
COH             204653770028                Gas           Gov. Aggregation   COH             208698130015                Gas           Gov. Aggregation
COH             205650800017                Gas           Gov. Aggregation   COH             175631460043                Gas           Gov. Aggregation
COH             204680630011                Gas           Gov. Aggregation   COH             176995760030                Gas           Gov. Aggregation
COH             208120180018                Gas           Gov. Aggregation   COH             209395040015                Gas           Gov. Aggregation
COH             208332990019                Gas           Gov. Aggregation   COH             208138270012                Gas           Gov. Aggregation
COH             206277730013                Gas           Gov. Aggregation   COH             185354040029                Gas           Gov. Aggregation
COH             206735140015                Gas           Gov. Aggregation   COH             207901610030                Gas           Gov. Aggregation
COH             208469330018                Gas           Gov. Aggregation   COH             191514630036                Gas           Gov. Aggregation
COH             207697630013                Gas           Gov. Aggregation   COH             108773900069                Gas           Gov. Aggregation
COH             207806000012                Gas           Gov. Aggregation   COH             203402570013                Gas           Gov. Aggregation
COH             208500420011                Gas           Gov. Aggregation   COH             200234550339                Gas           Gov. Aggregation
COH             206996490010                Gas           Gov. Aggregation   COH             108728810045                Gas           Gov. Aggregation
COH             122028980019                Gas           Gov. Aggregation   COH             143398130028                Gas           Gov. Aggregation
COH             206720890019                Gas           Gov. Aggregation   COH             210310770017                Gas           Gov. Aggregation
COH             207930450015                Gas           Gov. Aggregation   COH             209537610013                Gas           Gov. Aggregation
COH             207737970016                Gas           Gov. Aggregation   COH             196011370032                Gas           Gov. Aggregation
COH             208390930019                Gas           Gov. Aggregation   COH             153545400080                Gas           Gov. Aggregation
COH             207925450016                Gas           Gov. Aggregation   COH             210002100010                Gas           Gov. Aggregation
COH             208543550014                Gas           Gov. Aggregation   COH             203897520016                Gas           Gov. Aggregation
COH             208390870012                Gas           Gov. Aggregation   COH             193944190027                Gas           Gov. Aggregation
COH             202120100029                Gas           Gov. Aggregation   COH             207913580014                Gas           Gov. Aggregation
COH             207999730012                Gas           Gov. Aggregation   COH             207449120024                Gas           Gov. Aggregation
COH             208441090017                Gas           Gov. Aggregation   COH             207684540028                Gas           Gov. Aggregation
COH             202487340014                Gas           Gov. Aggregation   COH             164501530037                Gas           Gov. Aggregation
COH             207934390010                Gas           Gov. Aggregation   COH             210159530019                Gas           Gov. Aggregation
COH             208332790011                Gas           Gov. Aggregation   COH             199962460035                Gas           Gov. Aggregation
COH             203495840011                Gas           Gov. Aggregation   COH             186834800048                Gas           Gov. Aggregation
COH             206025480019                Gas           Gov. Aggregation   COH             209802510011                Gas           Gov. Aggregation
COH             200520260020                Gas           Gov. Aggregation   COH             207349820038                Gas           Gov. Aggregation
COH             207934360016                Gas           Gov. Aggregation   COH             205387400029                Gas           Gov. Aggregation
COH             207934490019                Gas           Gov. Aggregation   COH             206803720018                Gas           Gov. Aggregation
COH             207938840017                Gas           Gov. Aggregation   COH             160078050022                Gas           Gov. Aggregation
COH             208437570015                Gas           Gov. Aggregation   COH             200055040014                Gas           Gov. Aggregation
COH             208259500017                Gas           Gov. Aggregation   COH             202372030012                Gas           Gov. Aggregation
COH             195639700051                Gas           Gov. Aggregation   COH             189665750018                Gas           Gov. Aggregation
COH             208048120023                Gas           Gov. Aggregation   COH             206635500011                Gas           Gov. Aggregation
COH             207914010011                Gas           Gov. Aggregation   COH             209478370010                Gas           Gov. Aggregation
COH             206323460011                Gas           Gov. Aggregation   COH             209478380018                Gas           Gov. Aggregation
COH             201924300015                Gas           Gov. Aggregation   COH             208821570010                Gas           Gov. Aggregation
COH             206360240019                Gas           Gov. Aggregation   COH             208901160016                Gas           Gov. Aggregation
COH             205702620014                Gas           Gov. Aggregation   COH             199379060018                Gas           Gov. Aggregation
COH             206460340016                Gas           Gov. Aggregation   COH             205126260012                Gas           Gov. Aggregation
COH             208355240018                Gas           Gov. Aggregation   COH             202225190038                Gas           Gov. Aggregation
COH             208441200013                Gas           Gov. Aggregation   COH             206958080025                Gas           Gov. Aggregation
COH             206918420018                Gas           Gov. Aggregation   COH             108762760026                Gas           Gov. Aggregation
COH             207965430016                Gas           Gov. Aggregation   COH             205266730017                Gas           Gov. Aggregation
COH             208096880014                Gas           Gov. Aggregation   COH             207784680018                Gas           Gov. Aggregation
COH             208478270012                Gas           Gov. Aggregation   COH             202857240029                Gas           Gov. Aggregation
COH             208490480012                Gas           Gov. Aggregation   COH             171678020096                Gas           Gov. Aggregation
COH             167049780050                Gas           Gov. Aggregation   COH             209650170016                Gas           Gov. Aggregation
COH             207622450018                Gas           Gov. Aggregation   COH             203501510015                Gas           Gov. Aggregation
COH             153952510262                Gas           Gov. Aggregation   COH             145864260066                Gas           Gov. Aggregation
COH             207737910018                Gas           Gov. Aggregation   COH             208160550016                Gas           Gov. Aggregation
COH             153434120020                Gas           Gov. Aggregation   COH             206606410020                Gas           Gov. Aggregation
COH             203903710011                Gas           Gov. Aggregation   COH             195336620032                Gas           Gov. Aggregation
COH             152329200072                Gas           Gov. Aggregation   COH             204487240031                Gas           Gov. Aggregation
COH             191556260045                Gas           Gov. Aggregation   COH             149664450039                Gas           Gov. Aggregation
COH             195278390035                Gas           Gov. Aggregation   COH             209647160015                Gas           Gov. Aggregation
COH             206579210012                Gas           Gov. Aggregation   COH             206242090011                Gas           Gov. Aggregation
COH             199803400024                Gas           Gov. Aggregation   COH             196530610022                Gas           Gov. Aggregation
COH             203484390019                Gas           Gov. Aggregation   COH             201361680029                Gas           Gov. Aggregation
COH             204749670026                Gas           Gov. Aggregation   COH             201361680038                Gas           Gov. Aggregation
COH             207609750013                Gas           Gov. Aggregation   COH             108684980026                Gas           Gov. Aggregation
COH             168906130020                Gas           Gov. Aggregation   COH             206614520011                Gas           Gov. Aggregation
COH             186590800037                Gas           Gov. Aggregation   COH             207587330019                Gas           Gov. Aggregation
COH             206042860013                Gas           Gov. Aggregation   COH             131064840011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             206065420017                Gas           Gov. Aggregation   COH             205337820017                Gas           Gov. Aggregation
COH             206117530013                Gas           Gov. Aggregation   COH             204309930023                Gas           Gov. Aggregation
COH             206452690010                Gas           Gov. Aggregation   COH             202782520010                Gas           Gov. Aggregation
COH             208099840016                Gas           Gov. Aggregation   COH             206417910017                Gas           Gov. Aggregation
COH             208099870010                Gas           Gov. Aggregation   COH             208605110014                Gas           Gov. Aggregation
COH             208106010013                Gas           Gov. Aggregation   COH             209424160017                Gas           Gov. Aggregation
COH             208110420018                Gas           Gov. Aggregation   COH             204334170011                Gas           Gov. Aggregation
COH             208167210013                Gas           Gov. Aggregation   COH             186921070056                Gas           Gov. Aggregation
COH             208185670019                Gas           Gov. Aggregation   COH             208381430013                Gas           Gov. Aggregation
COH             208478230010                Gas           Gov. Aggregation   COH             209624590013                Gas           Gov. Aggregation
COH             208487030013                Gas           Gov. Aggregation   COH             108761270012                Gas           Gov. Aggregation
COH             208487990012                Gas           Gov. Aggregation   COH             207807580019                Gas           Gov. Aggregation
COH             208500450015                Gas           Gov. Aggregation   COH             207782810014                Gas           Gov. Aggregation
COH             208506700010                Gas           Gov. Aggregation   COH             209100010023                Gas           Gov. Aggregation
COH             198862630032                Gas           Gov. Aggregation   COH             207047270016                Gas           Gov. Aggregation
COH             204366580036                Gas           Gov. Aggregation   COH             189467660035                Gas           Gov. Aggregation
COH             205444850014                Gas           Gov. Aggregation   COH             209930630015                Gas           Gov. Aggregation
COH             206134050018                Gas           Gov. Aggregation   COH             206096630018                Gas           Gov. Aggregation
COH             206356310013                Gas           Gov. Aggregation   COH             203119670013                Gas           Gov. Aggregation
COH             206552690018                Gas           Gov. Aggregation   COH             206217660014                Gas           Gov. Aggregation
COH             207241320013                Gas           Gov. Aggregation   COH             205245100022                Gas           Gov. Aggregation
COH             207307780017                Gas           Gov. Aggregation   COH             204260350029                Gas           Gov. Aggregation
COH             172461510037                Gas           Gov. Aggregation   COH             210083230013                Gas           Gov. Aggregation
COH             127261930010                Gas           Gov. Aggregation   COH             189088170069                Gas           Gov. Aggregation
COH             145516080025                Gas           Gov. Aggregation   COH             210002090013                Gas           Gov. Aggregation
COH             149511020023                Gas           Gov. Aggregation   COH             138113170056                Gas           Gov. Aggregation
COH             156532340032                Gas           Gov. Aggregation   COH             207990960012                Gas           Gov. Aggregation
COH             158412754614                Gas           Gov. Aggregation   COH             209860890010                Gas           Gov. Aggregation
COH             158412754847                Gas           Gov. Aggregation   COH             198914480033                Gas           Gov. Aggregation
COH             202638930019                Gas           Gov. Aggregation   COH             209537600015                Gas           Gov. Aggregation
COH             203390730016                Gas           Gov. Aggregation   COH             208952530011                Gas           Gov. Aggregation
COH             203770660015                Gas           Gov. Aggregation   COH             208493300013                Gas           Gov. Aggregation
COH             203809450016                Gas           Gov. Aggregation   COH             205406680010                Gas           Gov. Aggregation
COH             205822790015                Gas           Gov. Aggregation   COH             208813500011                Gas           Gov. Aggregation
COH             206737740015                Gas           Gov. Aggregation   COH             194560560040                Gas           Gov. Aggregation
COH             206737750013                Gas           Gov. Aggregation   COH             208303860017                Gas           Gov. Aggregation
COH             208708130030                Gas           Gov. Aggregation   COH             173635050016                Gas           Gov. Aggregation
COH             207933090015                Gas           Gov. Aggregation   COH             146947000027                Gas           Gov. Aggregation
COH             208477930015                Gas           Gov. Aggregation   COH             199765150038                Gas           Gov. Aggregation
COH             118670530036                Gas           Gov. Aggregation   COH             202524480024                Gas           Gov. Aggregation
COH             197695660023                Gas           Gov. Aggregation   COH             206573520019                Gas           Gov. Aggregation
COH             204146900034                Gas           Gov. Aggregation   COH             171633300082                Gas           Gov. Aggregation
COH             206360270022                Gas           Gov. Aggregation   COH             206540530016                Gas           Gov. Aggregation
COH             208048420011                Gas           Gov. Aggregation   COH             187276800041                Gas           Gov. Aggregation
COH             208204720016                Gas           Gov. Aggregation   COH             208019170015                Gas           Gov. Aggregation
COH             208312190019                Gas           Gov. Aggregation   COH             203166730011                Gas           Gov. Aggregation
COH             208312220012                Gas           Gov. Aggregation   COH             202721400022                Gas           Gov. Aggregation
COH             208312260014                Gas           Gov. Aggregation   COH             199894250025                Gas           Gov. Aggregation
COH             208333780011                Gas           Gov. Aggregation   COH             204997860012                Gas           Gov. Aggregation
COH             208333790019                Gas           Gov. Aggregation   COH             192464060032                Gas           Gov. Aggregation
COH             208333800016                Gas           Gov. Aggregation   COH             156360810047                Gas           Gov. Aggregation
COH             208426020013                Gas           Gov. Aggregation   COH             203988290012                Gas           Gov. Aggregation
COH             208426040019                Gas           Gov. Aggregation   COH             200304890035                Gas           Gov. Aggregation
COH             143358170042                Gas           Gov. Aggregation   COH             138034290040                Gas           Gov. Aggregation
COH             202043570025                Gas           Gov. Aggregation   COH             193521380050                Gas           Gov. Aggregation
COH             206291750019                Gas           Gov. Aggregation   COH             176605670061                Gas           Gov. Aggregation
COH             206040490015                Gas           Gov. Aggregation   COH             193097860032                Gas           Gov. Aggregation
COH             205115510021                Gas           Gov. Aggregation   COH             205123110019                Gas           Gov. Aggregation
COH             207419800015                Gas           Gov. Aggregation   COH             206207090015                Gas           Gov. Aggregation
COH             206425790016                Gas           Gov. Aggregation   COH             170120520039                Gas           Gov. Aggregation
COH             205394520038                Gas           Gov. Aggregation   COH             176626850032                Gas           Gov. Aggregation
COH             203545020016                Gas           Gov. Aggregation   COH             205472610015                Gas           Gov. Aggregation
COH             208788990014                Gas           Gov. Aggregation   COH             207346810018                Gas           Gov. Aggregation
COH             206776210023                Gas           Gov. Aggregation   COH             210049200011                Gas           Gov. Aggregation
COH             206090390011                Gas           Gov. Aggregation   COH             108708710020                Gas           Gov. Aggregation
COH             206090380013                Gas           Gov. Aggregation   COH             176908040034                Gas           Gov. Aggregation
COH             206341480019                Gas           Gov. Aggregation   COH             197106590052                Gas           Gov. Aggregation
COH             207485110011                Gas           Gov. Aggregation   COH             204088890031                Gas           Gov. Aggregation
COH             208132560013                Gas           Gov. Aggregation   COH             203023870014                Gas           Gov. Aggregation
COH             206611890010                Gas           Gov. Aggregation   COH             209825190011                Gas           Gov. Aggregation
COH             206125040019                Gas           Gov. Aggregation   COH             207700590013                Gas           Gov. Aggregation
COH             207982270014                Gas           Gov. Aggregation   COH             203044120035                Gas           Gov. Aggregation
COH             208607680011                Gas           Gov. Aggregation   COH             108700300013                Gas           Gov. Aggregation
COH             115803050019                Gas           Gov. Aggregation   COH             191975250058                Gas           Gov. Aggregation
COH             208655840016                Gas           Gov. Aggregation   COH             189943350067                Gas           Gov. Aggregation
COH             190249490030                Gas           Gov. Aggregation   COH             206172070014                Gas           Gov. Aggregation
COH             185538050045                Gas           Gov. Aggregation   COH             207743620016                Gas           Gov. Aggregation
COH             187280180061                Gas           Gov. Aggregation   COH             206772690012                Gas           Gov. Aggregation
COH             149906920027                Gas           Gov. Aggregation   COH             200281590038                Gas           Gov. Aggregation
COH             174676490017                Gas           Gov. Aggregation   COH             201088470032                Gas           Gov. Aggregation
COH             154093980069                Gas           Gov. Aggregation   COH             207047260018                Gas           Gov. Aggregation
COH             123762950018                Gas           Gov. Aggregation   COH             201758120034                Gas           Gov. Aggregation
COH             204850650016                Gas           Gov. Aggregation   COH             145564700103                Gas           Gov. Aggregation
COH             202505770023                Gas           Gov. Aggregation   COH             210353830014                Gas           Gov. Aggregation
COH             207068700011                Gas           Gov. Aggregation   COH             201007610032                Gas           Gov. Aggregation
COH             208081950010                Gas           Gov. Aggregation   COH             198198320045                Gas           Gov. Aggregation
COH             206153270012                Gas           Gov. Aggregation   COH             209698230013                Gas           Gov. Aggregation
COH             207527560017                Gas           Gov. Aggregation   COH             129058790019                Gas           Gov. Aggregation
COH             205434940016                Gas           Gov. Aggregation   COH             197837680018                Gas           Gov. Aggregation
COH             205946030012                Gas           Gov. Aggregation   COH             209144470016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             163041300032                Gas           Gov. Aggregation   COH             168633880031                Gas           Gov. Aggregation
COH             193070350017                Gas           Gov. Aggregation   COH             207456380016                Gas           Gov. Aggregation
COH             192112300036                Gas           Gov. Aggregation   COH             210310750011                Gas           Gov. Aggregation
COH             206963410015                Gas           Gov. Aggregation   COH             205385410012                Gas           Gov. Aggregation
COH             147236830047                Gas           Gov. Aggregation   COH             202282760010                Gas           Gov. Aggregation
COH             195180550029                Gas           Gov. Aggregation   COH             202282760038                Gas           Gov. Aggregation
COH             123872230034                Gas           Gov. Aggregation   COH             206785020024                Gas           Gov. Aggregation
COH             206737830016                Gas           Gov. Aggregation   COH             207353880019                Gas           Gov. Aggregation
COH             161839430063                Gas           Gov. Aggregation   COH             202897120011                Gas           Gov. Aggregation
COH             202894320015                Gas           Gov. Aggregation   COH             209879780014                Gas           Gov. Aggregation
COH             202869710016                Gas           Gov. Aggregation   COH             199676410096                Gas           Gov. Aggregation
COH             164041460056                Gas           Gov. Aggregation   COH             188445780028                Gas           Gov. Aggregation
COH             207241370013                Gas           Gov. Aggregation   COH             203654900010                Gas           Gov. Aggregation
COH             192328000032                Gas           Gov. Aggregation   COH             208112770020                Gas           Gov. Aggregation
COH             123799990013                Gas           Gov. Aggregation   COH             206648390018                Gas           Gov. Aggregation
COH             206770970017                Gas           Gov. Aggregation   COH             208945090019                Gas           Gov. Aggregation
COH             208403460019                Gas           Gov. Aggregation   COH             208043160016                Gas           Gov. Aggregation
COH             208716560015                Gas           Gov. Aggregation   COH             195413670038                Gas           Gov. Aggregation
COH             191395420070                Gas           Gov. Aggregation   COH             136465530271                Gas           Gov. Aggregation
COH             123799860010                Gas           Gov. Aggregation   COH             208625150014                Gas           Gov. Aggregation
COH             177237850045                Gas           Gov. Aggregation   COH             203400540031                Gas           Gov. Aggregation
COH             195851270025                Gas           Gov. Aggregation   COH             209691050015                Gas           Gov. Aggregation
COH             198507460058                Gas           Gov. Aggregation   COH             175543760047                Gas           Gov. Aggregation
COH             151307120156                Gas           Gov. Aggregation   COH             187639870038                Gas           Gov. Aggregation
COH             204476350013                Gas           Gov. Aggregation   COH             202499810010                Gas           Gov. Aggregation
COH             200906460039                Gas           Gov. Aggregation   COH             191840650102                Gas           Gov. Aggregation
COH             207251330010                Gas           Gov. Aggregation   COH             208703540016                Gas           Gov. Aggregation
COH             205614970018                Gas           Gov. Aggregation   COH             210456900011                Gas           Gov. Aggregation
COH             140744100077                Gas           Gov. Aggregation   COH             139741580076                Gas           Gov. Aggregation
COH             199980070011                Gas           Gov. Aggregation   COH             208246900010                Gas           Gov. Aggregation
COH             204569180030                Gas           Gov. Aggregation   COH             205413450013                Gas           Gov. Aggregation
COH             207204690014                Gas           Gov. Aggregation   COH             204843110014                Gas           Gov. Aggregation
COH             203568470014                Gas           Gov. Aggregation   COH             198323940039                Gas           Gov. Aggregation
COH             207256200017                Gas           Gov. Aggregation   COH             208940840011                Gas           Gov. Aggregation
COH             206140990018                Gas           Gov. Aggregation   COH             209985190013                Gas           Gov. Aggregation
COH             206665980018                Gas           Gov. Aggregation   COH             207308660010                Gas           Gov. Aggregation
COH             176163520033                Gas           Gov. Aggregation   COH             189783710034                Gas           Gov. Aggregation
COH             203110790016                Gas           Gov. Aggregation   COH             188964880036                Gas           Gov. Aggregation
COH             203074650022                Gas           Gov. Aggregation   COH             207075330014                Gas           Gov. Aggregation
COH             187830600038                Gas           Gov. Aggregation   COH             203865070018                Gas           Gov. Aggregation
COH             207982330011                Gas           Gov. Aggregation   COH             200820340036                Gas           Gov. Aggregation
COH             192516590030                Gas           Gov. Aggregation   COH             206298660014                Gas           Gov. Aggregation
COH             194771520050                Gas           Gov. Aggregation   COH             169149230024                Gas           Gov. Aggregation
COH             158244260074                Gas           Gov. Aggregation   COH             210353840012                Gas           Gov. Aggregation
COH             188881020023                Gas           Gov. Aggregation   COH             129847360212                Gas           Gov. Aggregation
COH             199385880031                Gas           Gov. Aggregation   COH             186940250085                Gas           Gov. Aggregation
COH             208585060019                Gas           Gov. Aggregation   COH             208916180011                Gas           Gov. Aggregation
COH             208533800012                Gas           Gov. Aggregation   COH             209959520018                Gas           Gov. Aggregation
COH             206022910014                Gas           Gov. Aggregation   COH             209639780012                Gas           Gov. Aggregation
COH             205273750027                Gas           Gov. Aggregation   COH             173049480582                Gas           Gov. Aggregation
COH             206698560017                Gas           Gov. Aggregation   COH             207213480019                Gas           Gov. Aggregation
COH             193411850036                Gas           Gov. Aggregation   COH             171583180030                Gas           Gov. Aggregation
COH             193059900033                Gas           Gov. Aggregation   COH             203004600010                Gas           Gov. Aggregation
COH             202631890012                Gas           Gov. Aggregation   COH             192326220281                Gas           Gov. Aggregation
COH             198783070029                Gas           Gov. Aggregation   COH             108721780019                Gas           Gov. Aggregation
COH             202699330017                Gas           Gov. Aggregation   COH             209217780016                Gas           Gov. Aggregation
COH             208789010017                Gas           Gov. Aggregation   COH             206701800026                Gas           Gov. Aggregation
COH             146253490044                Gas           Gov. Aggregation   COH             206270720019                Gas           Gov. Aggregation
COH             206277880021                Gas           Gov. Aggregation   COH             209249440010                Gas           Gov. Aggregation
COH             203148660023                Gas           Gov. Aggregation   COH             167138360031                Gas           Gov. Aggregation
COH             196904490034                Gas           Gov. Aggregation   COH             208108060019                Gas           Gov. Aggregation
COH             123746760030                Gas           Gov. Aggregation   COH             146040700059                Gas           Gov. Aggregation
COH             206452750017                Gas           Gov. Aggregation   COH             205038380014                Gas           Gov. Aggregation
COH             208109310014                Gas           Gov. Aggregation   COH             209385110011                Gas           Gov. Aggregation
COH             191642850020                Gas           Gov. Aggregation   COH             200948430046                Gas           Gov. Aggregation
COH             208441330016                Gas           Gov. Aggregation   COH             200948430028                Gas           Gov. Aggregation
COH             208179600016                Gas           Gov. Aggregation   COH             200948430037                Gas           Gov. Aggregation
COH             207501400014                Gas           Gov. Aggregation   COH             208160580010                Gas           Gov. Aggregation
COH             168048910062                Gas           Gov. Aggregation   COH             208160580029                Gas           Gov. Aggregation
COH             207744720013                Gas           Gov. Aggregation   COH             208668290033                Gas           Gov. Aggregation
COH             199460610019                Gas           Gov. Aggregation   COH             207143390099                Gas           Gov. Aggregation
COH             159289750030                Gas           Gov. Aggregation   COH             209768480030                Gas           Gov. Aggregation
COH             173342160023                Gas           Gov. Aggregation   COH             209768480012                Gas           Gov. Aggregation
COH             207256160016                Gas           Gov. Aggregation   COH             203507460014                Gas           Gov. Aggregation
COH             207247570019                Gas           Gov. Aggregation   COH             207209300015                Gas           Gov. Aggregation
COH             167208960063                Gas           Gov. Aggregation   COH             207209300042                Gas           Gov. Aggregation
COH             170058940016                Gas           Gov. Aggregation   COH             108769420569                Gas           Gov. Aggregation
COH             206439200010                Gas           Gov. Aggregation   COH             108769420523                Gas           Gov. Aggregation
COH             123743720016                Gas           Gov. Aggregation   COH             199714770026                Gas           Gov. Aggregation
COH             206002900018                Gas           Gov. Aggregation   COH             202907480013                Gas           Gov. Aggregation
COH             203162200010                Gas           Gov. Aggregation   COH             206059540015                Gas           Gov. Aggregation
COH             207272240015                Gas           Gov. Aggregation   COH             158580570022                Gas           Gov. Aggregation
COH             199578450014                Gas           Gov. Aggregation   COH             203158270033                Gas           Gov. Aggregation
COH             202336330015                Gas           Gov. Aggregation   COH             208767070011                Gas           Gov. Aggregation
COH             202558960013                Gas           Gov. Aggregation   COH             210420330016                Gas           Gov. Aggregation
COH             200053560064                Gas           Gov. Aggregation   COH             189890150035                Gas           Gov. Aggregation
COH             188377390061                Gas           Gov. Aggregation   COH             194466890041                Gas           Gov. Aggregation
COH             206426000019                Gas           Gov. Aggregation   COH             194466890069                Gas           Gov. Aggregation
COH             208391060010                Gas           Gov. Aggregation   COH             144131290082                Gas           Gov. Aggregation
COH             206310920011                Gas           Gov. Aggregation   COH             194466890032                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             190732420011                Gas           Gov. Aggregation   COH             203347040012                Gas           Gov. Aggregation
COH             208275600012                Gas           Gov. Aggregation   COH             205618510105                Gas           Gov. Aggregation
COH             206231190013                Gas           Gov. Aggregation   COH             159054070674                Gas           Gov. Aggregation
COH             123818980031                Gas           Gov. Aggregation   COH             159054070683                Gas           Gov. Aggregation
COH             206392560015                Gas           Gov. Aggregation   COH             171391590013                Gas           Gov. Aggregation
COH             200398340015                Gas           Gov. Aggregation   COH             206777520017                Gas           Gov. Aggregation
COH             206851440016                Gas           Gov. Aggregation   COH             208612380013                Gas           Gov. Aggregation
COH             207659600019                Gas           Gov. Aggregation   COH             140103651471                Gas           Gov. Aggregation
COH             190049970033                Gas           Gov. Aggregation   COH             186806920024                Gas           Gov. Aggregation
COH             207800270018                Gas           Gov. Aggregation   COH             205281920015                Gas           Gov. Aggregation
COH             175477410014                Gas           Gov. Aggregation   COH             208252350022                Gas           Gov. Aggregation
COH             200805670011                Gas           Gov. Aggregation   COH             209644490012                Gas           Gov. Aggregation
COH             200640960038                Gas           Gov. Aggregation   COH             206969550014                Gas           Gov. Aggregation
COH             123848030126                Gas           Gov. Aggregation   COH             187570680025                Gas           Gov. Aggregation
COH             206935790015                Gas           Gov. Aggregation   COH             205043550017                Gas           Gov. Aggregation
COH             205689640010                Gas           Gov. Aggregation   COH             140103651248                Gas           Gov. Aggregation
COH             206355860010                Gas           Gov. Aggregation   COH             140103651382                Gas           Gov. Aggregation
COH             169219310199                Gas           Gov. Aggregation   COH             208576440027                Gas           Gov. Aggregation
COH             203966970015                Gas           Gov. Aggregation   COH             134781050185                Gas           Gov. Aggregation
COH             197366150018                Gas           Gov. Aggregation   COH             199546970030                Gas           Gov. Aggregation
COH             151942660031                Gas           Gov. Aggregation   COH             199546970067                Gas           Gov. Aggregation
COH             206153710019                Gas           Gov. Aggregation   COH             203019060013                Gas           Gov. Aggregation
COH             207774180014                Gas           Gov. Aggregation   COH             203019060031                Gas           Gov. Aggregation
COH             187280180114                Gas           Gov. Aggregation   COH             205873510472                Gas           Gov. Aggregation
COH             199896410027                Gas           Gov. Aggregation   COH             200589800031                Gas           Gov. Aggregation
COH             199253720024                Gas           Gov. Aggregation   COH             167506550370                Gas           Gov. Aggregation
COH             208374560011                Gas           Gov. Aggregation   COH             209727300015                Gas           Gov. Aggregation
COH             173460970069                Gas           Gov. Aggregation   COH             195049660033                Gas           Gov. Aggregation
COH             144375000040                Gas           Gov. Aggregation   COH             204608770023                Gas           Gov. Aggregation
COH             202707960016                Gas           Gov. Aggregation   COH             152558960121                Gas           Gov. Aggregation
COH             207431310012                Gas           Gov. Aggregation   COH             210168170016                Gas           Gov. Aggregation
COH             204456690014                Gas           Gov. Aggregation   COH             208459060016                Gas           Gov. Aggregation
COH             195420720023                Gas           Gov. Aggregation   COH             206390340015                Gas           Gov. Aggregation
COH             206673910015                Gas           Gov. Aggregation   COH             203825750055                Gas           Gov. Aggregation
COH             206204890031                Gas           Gov. Aggregation   COH             197475570037                Gas           Gov. Aggregation
COH             205971370018                Gas           Gov. Aggregation   COH             161483850033                Gas           Gov. Aggregation
COH             163196950075                Gas           Gov. Aggregation   COH             200411540068                Gas           Gov. Aggregation
COH             168429570011                Gas           Gov. Aggregation   COH             173049480662                Gas           Gov. Aggregation
COH             195160980021                Gas           Gov. Aggregation   COH             154661320017                Gas           Gov. Aggregation
COH             123814590022                Gas           Gov. Aggregation   COH             145749250099                Gas           Gov. Aggregation
COH             206173800018                Gas           Gov. Aggregation   COH             208342130018                Gas           Gov. Aggregation
COH             207441930011                Gas           Gov. Aggregation   COH             209938360016                Gas           Gov. Aggregation
COH             146503770044                Gas           Gov. Aggregation   COH             200946510061                Gas           Gov. Aggregation
COH             205431630017                Gas           Gov. Aggregation   COH             200946510052                Gas           Gov. Aggregation
COH             207772080019                Gas           Gov. Aggregation   COH             200946510043                Gas           Gov. Aggregation
COH             208581970016                Gas           Gov. Aggregation   COH             204509480015                Gas           Gov. Aggregation
COH             205930870019                Gas           Gov. Aggregation   COH             207508530013                Gas           Gov. Aggregation
COH             169833730046                Gas           Gov. Aggregation   COH             207077470011                Gas           Gov. Aggregation
COH             174725090025                Gas           Gov. Aggregation   COH             204827360016                Gas           Gov. Aggregation
COH             207515000019                Gas           Gov. Aggregation   COH             204490300013                Gas           Gov. Aggregation
COH             198726570024                Gas           Gov. Aggregation   COH             205580160011                Gas           Gov. Aggregation
COH             206695680018                Gas           Gov. Aggregation   COH             209619050017                Gas           Gov. Aggregation
COH             208286130018                Gas           Gov. Aggregation   COH             168657990047                Gas           Gov. Aggregation
COH             208057800012                Gas           Gov. Aggregation   COH             209422390059                Gas           Gov. Aggregation
COH             175970750026                Gas           Gov. Aggregation   COH             108668670016                Gas           Gov. Aggregation
COH             123765190076                Gas           Gov. Aggregation   COH             207971720012                Gas           Gov. Aggregation
COH             177760310030                Gas           Gov. Aggregation   COH             203626850056                Gas           Gov. Aggregation
COH             185679040049                Gas           Gov. Aggregation   COH             196672770038                Gas           Gov. Aggregation
COH             203577970010                Gas           Gov. Aggregation   COH             205881290016                Gas           Gov. Aggregation
COH             186884970057                Gas           Gov. Aggregation   COH             210064080033                Gas           Gov. Aggregation
COH             206906260017                Gas           Gov. Aggregation   COH             177793820034                Gas           Gov. Aggregation
COH             207527540011                Gas           Gov. Aggregation   COH             207048950011                Gas           Gov. Aggregation
COH             206961210039                Gas           Gov. Aggregation   COH             108672710198                Gas           Gov. Aggregation
COH             201880330013                Gas           Gov. Aggregation   COH             151112100082                Gas           Gov. Aggregation
COH             201880330031                Gas           Gov. Aggregation   COH             194913560023                Gas           Gov. Aggregation
COH             202570970015                Gas           Gov. Aggregation   COH             207927550011                Gas           Gov. Aggregation
COH             202491780013                Gas           Gov. Aggregation   COH             209581400014                Gas           Gov. Aggregation
COH             202602830079                Gas           Gov. Aggregation   COH             200345230055                Gas           Gov. Aggregation
COH             205638580010                Gas           Gov. Aggregation   COH             195794880010                Gas           Gov. Aggregation
COH             207431210013                Gas           Gov. Aggregation   COH             196691060037                Gas           Gov. Aggregation
COH             111105600017                Gas           Gov. Aggregation   COH             140071540107                Gas           Gov. Aggregation
COH             206946380018                Gas           Gov. Aggregation   COH             136488960059                Gas           Gov. Aggregation
COH             200315820036                Gas           Gov. Aggregation   COH             188175250031                Gas           Gov. Aggregation
COH             205651880019                Gas           Gov. Aggregation   COH             202438040010                Gas           Gov. Aggregation
COH             202862960018                Gas           Gov. Aggregation   COH             207334250011                Gas           Gov. Aggregation
COH             139823871374                Gas           Gov. Aggregation   COH             176343220034                Gas           Gov. Aggregation
COH             208701010011                Gas           Gov. Aggregation   COH             202414200034                Gas           Gov. Aggregation
COH             191971820145                Gas           Gov. Aggregation   COH             199573610038                Gas           Gov. Aggregation
COH             151461460051                Gas           Gov. Aggregation   COH             130140710099                Gas           Gov. Aggregation
COH             208173760015                Gas           Gov. Aggregation   COH             209812610019                Gas           Gov. Aggregation
COH             207476850015                Gas           Gov. Aggregation   COH             205085740019                Gas           Gov. Aggregation
COH             208788860011                Gas           Gov. Aggregation   COH             173872460081                Gas           Gov. Aggregation
COH             203751380014                Gas           Gov. Aggregation   COH             140702180033                Gas           Gov. Aggregation
COH             198585290023                Gas           Gov. Aggregation   COH             204386790012                Gas           Gov. Aggregation
COH             208360160014                Gas           Gov. Aggregation   COH             209002180017                Gas           Gov. Aggregation
COH             208091000018                Gas           Gov. Aggregation   COH             202480710047                Gas           Gov. Aggregation
COH             208173770013                Gas           Gov. Aggregation   COH             209609690014                Gas           Gov. Aggregation
COH             202869540012                Gas           Gov. Aggregation   COH             201202910026                Gas           Gov. Aggregation
COH             148513210048                Gas           Gov. Aggregation   COH             204891560019                Gas           Gov. Aggregation
COH             206214600012                Gas           Gov. Aggregation   COH             207599750016                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             161514660045                Gas           Gov. Aggregation   COH             207296140016                Gas           Gov. Aggregation
COH             206173580015                Gas           Gov. Aggregation   COH             176847930037                Gas           Gov. Aggregation
COH             202625420013                Gas           Gov. Aggregation   COH             209230560014                Gas           Gov. Aggregation
COH             206372890018                Gas           Gov. Aggregation   COH             207736110018                Gas           Gov. Aggregation
COH             207548900011                Gas           Gov. Aggregation   COH             205329850018                Gas           Gov. Aggregation
COH             202983150012                Gas           Gov. Aggregation   COH             148993820026                Gas           Gov. Aggregation
COH             202519060014                Gas           Gov. Aggregation   COH             206858990017                Gas           Gov. Aggregation
COH             187407330041                Gas           Gov. Aggregation   COH             192103520048                Gas           Gov. Aggregation
COH             202343850011                Gas           Gov. Aggregation   COH             205419100014                Gas           Gov. Aggregation
COH             205548430012                Gas           Gov. Aggregation   COH             156072220088                Gas           Gov. Aggregation
COH             200500900018                Gas           Gov. Aggregation   COH             209564590011                Gas           Gov. Aggregation
COH             206427850019                Gas           Gov. Aggregation   COH             166123960046                Gas           Gov. Aggregation
COH             208407530016                Gas           Gov. Aggregation   COH             129021760021                Gas           Gov. Aggregation
COH             208039800010                Gas           Gov. Aggregation   COH             203353050026                Gas           Gov. Aggregation
COH             199061150076                Gas           Gov. Aggregation   COH             108675730349                Gas           Gov. Aggregation
COH             203383060012                Gas           Gov. Aggregation   COH             108675730358                Gas           Gov. Aggregation
COH             206214620018                Gas           Gov. Aggregation   COH             208396030016                Gas           Gov. Aggregation
COH             206563280011                Gas           Gov. Aggregation   COH             203622530024                Gas           Gov. Aggregation
COH             207079710016                Gas           Gov. Aggregation   COH             203380150046                Gas           Gov. Aggregation
COH             207871920012                Gas           Gov. Aggregation   COH             205410250011                Gas           Gov. Aggregation
COH             194415060024                Gas           Gov. Aggregation   COH             202818620012                Gas           Gov. Aggregation
COH             206427820015                Gas           Gov. Aggregation   COH             169060700023                Gas           Gov. Aggregation
COH             208584880019                Gas           Gov. Aggregation   COH             208628300016                Gas           Gov. Aggregation
COH             204024970010                Gas           Gov. Aggregation   COH             209985180015                Gas           Gov. Aggregation
COH             203688180011                Gas           Gov. Aggregation   COH             210329470011                Gas           Gov. Aggregation
COH             111121920016                Gas           Gov. Aggregation   COH             191795510037                Gas           Gov. Aggregation
COH             201297390018                Gas           Gov. Aggregation   COH             210385170016                Gas           Gov. Aggregation
COH             202430650027                Gas           Gov. Aggregation   COH             197787760036                Gas           Gov. Aggregation
COH             202008200026                Gas           Gov. Aggregation   COH             139685540029                Gas           Gov. Aggregation
COH             147422200017                Gas           Gov. Aggregation   COH             142523260070                Gas           Gov. Aggregation
COH             206561190014                Gas           Gov. Aggregation   COH             205493420011                Gas           Gov. Aggregation
COH             207952730029                Gas           Gov. Aggregation   COH             203719370023                Gas           Gov. Aggregation
COH             199796060023                Gas           Gov. Aggregation   COH             154459200084                Gas           Gov. Aggregation
COH             167141480048                Gas           Gov. Aggregation   COH             108703410023                Gas           Gov. Aggregation
COH             202217700019                Gas           Gov. Aggregation   COH             189769440022                Gas           Gov. Aggregation
COH             202293610018                Gas           Gov. Aggregation   COH             205473310016                Gas           Gov. Aggregation
COH             201044840018                Gas           Gov. Aggregation   COH             206425480011                Gas           Gov. Aggregation
COH             175834640027                Gas           Gov. Aggregation   COH             207533980016                Gas           Gov. Aggregation
COH             111118480016                Gas           Gov. Aggregation   COH             193466590054                Gas           Gov. Aggregation
COH             207848460018                Gas           Gov. Aggregation   COH             108704610010                Gas           Gov. Aggregation
COH             201374420053                Gas           Gov. Aggregation   COH             194349170013                Gas           Gov. Aggregation
COH             207540970013                Gas           Gov. Aggregation   COH             206617810014                Gas           Gov. Aggregation
COH             205784010010                Gas           Gov. Aggregation   COH             203306420018                Gas           Gov. Aggregation
COH             208477680018                Gas           Gov. Aggregation   COH             207057440019                Gas           Gov. Aggregation
COH             190812560030                Gas           Gov. Aggregation   COH             210002060019                Gas           Gov. Aggregation
COH             207296930010                Gas           Gov. Aggregation   COH             109322580025                Gas           Gov. Aggregation
COH             197776910019                Gas           Gov. Aggregation   COH             210391100017                Gas           Gov. Aggregation
COH             198279600017                Gas           Gov. Aggregation   COH             206701790010                Gas           Gov. Aggregation
COH             203847830016                Gas           Gov. Aggregation   COH             210061510010                Gas           Gov. Aggregation
COH             205676090013                Gas           Gov. Aggregation   COH             200507920038                Gas           Gov. Aggregation
COH             168437530021                Gas           Gov. Aggregation   COH             188419150043                Gas           Gov. Aggregation
COH             161484430020                Gas           Gov. Aggregation   COH             169343270024                Gas           Gov. Aggregation
COH             206048780027                Gas           Gov. Aggregation   COH             207980850034                Gas           Gov. Aggregation
COH             172334700027                Gas           Gov. Aggregation   COH             206526240017                Gas           Gov. Aggregation
COH             169712440025                Gas           Gov. Aggregation   COH             197547080019                Gas           Gov. Aggregation
COH             205375070024                Gas           Gov. Aggregation   COH             200693800030                Gas           Gov. Aggregation
COH             208332600010                Gas           Gov. Aggregation   COH             204855520031                Gas           Gov. Aggregation
COH             193433620074                Gas           Gov. Aggregation   COH             202506850015                Gas           Gov. Aggregation
COH             193136870027                Gas           Gov. Aggregation   COH             202724760012                Gas           Gov. Aggregation
COH             207687240016                Gas           Gov. Aggregation   COH             196747410061                Gas           Gov. Aggregation
COH             207919490011                Gas           Gov. Aggregation   COH             199370750011                Gas           Gov. Aggregation
COH             170760800034                Gas           Gov. Aggregation   COH             208102370016                Gas           Gov. Aggregation
COH             205828860018                Gas           Gov. Aggregation   COH             131429420319                Gas           Gov. Aggregation
COH             207005430010                Gas           Gov. Aggregation   COH             151015420036                Gas           Gov. Aggregation
COH             207048520011                Gas           Gov. Aggregation   COH             209738140016                Gas           Gov. Aggregation
COH             208332660018                Gas           Gov. Aggregation   COH             198737330021                Gas           Gov. Aggregation
COH             185693540035                Gas           Gov. Aggregation   COH             199107280044                Gas           Gov. Aggregation
COH             111107720027                Gas           Gov. Aggregation   COH             199286080057                Gas           Gov. Aggregation
COH             203934740010                Gas           Gov. Aggregation   COH             204978790017                Gas           Gov. Aggregation
COH             200075840014                Gas           Gov. Aggregation   COH             205466230018                Gas           Gov. Aggregation
COH             206010190011                Gas           Gov. Aggregation   COH             205510100010                Gas           Gov. Aggregation
COH             177068940027                Gas           Gov. Aggregation   COH             205790140010                Gas           Gov. Aggregation
COH             197874180024                Gas           Gov. Aggregation   COH             207656440019                Gas           Gov. Aggregation
COH             206658730015                Gas           Gov. Aggregation   COH             207734080019                Gas           Gov. Aggregation
COH             134845890030                Gas           Gov. Aggregation   COH             207750830026                Gas           Gov. Aggregation
COH             205446560011                Gas           Gov. Aggregation   COH             207797850015                Gas           Gov. Aggregation
COH             199224700029                Gas           Gov. Aggregation   COH             207942780020                Gas           Gov. Aggregation
COH             160957820017                Gas           Gov. Aggregation   COH             208096400014                Gas           Gov. Aggregation
COH             203642550019                Gas           Gov. Aggregation   COH             209157620017                Gas           Gov. Aggregation
COH             206231040014                Gas           Gov. Aggregation   COH             209231320030                Gas           Gov. Aggregation
COH             207925320013                Gas           Gov. Aggregation   COH             209249430012                Gas           Gov. Aggregation
COH             195218340031                Gas           Gov. Aggregation   COH             209341720015                Gas           Gov. Aggregation
COH             204015090023                Gas           Gov. Aggregation   COH             209429220014                Gas           Gov. Aggregation
COH             207737850011                Gas           Gov. Aggregation   COH             155906810031                Gas           Gov. Aggregation
COH             199999050034                Gas           Gov. Aggregation   COH             129331430023                Gas           Gov. Aggregation
COH             208788910010                Gas           Gov. Aggregation   COH             168772120036                Gas           Gov. Aggregation
COH             195798410038                Gas           Gov. Aggregation   COH             176431950034                Gas           Gov. Aggregation
COH             202433490016                Gas           Gov. Aggregation   COH             146935010020                Gas           Gov. Aggregation
COH             201348120015                Gas           Gov. Aggregation   COH             169328250011                Gas           Gov. Aggregation
COH             196013110041                Gas           Gov. Aggregation   COH             196801360011                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             206812480010                Gas           Gov. Aggregation   COH             192603310024                Gas           Gov. Aggregation
COH             199910400018                Gas           Gov. Aggregation   COH             210215270014                Gas           Gov. Aggregation
COH             203966710019                Gas           Gov. Aggregation   COH             197625350043                Gas           Gov. Aggregation
COH             168422680012                Gas           Gov. Aggregation   COH             137895320022                Gas           Gov. Aggregation
COH             164041340024                Gas           Gov. Aggregation   COH             155012220012                Gas           Gov. Aggregation
COH             148865880025                Gas           Gov. Aggregation   COH             197522710036                Gas           Gov. Aggregation
COH             202547540014                Gas           Gov. Aggregation   COH             202420380016                Gas           Gov. Aggregation
COH             206906150010                Gas           Gov. Aggregation   COH             204884110018                Gas           Gov. Aggregation
COH             205972490011                Gas           Gov. Aggregation   COH             164997210035                Gas           Gov. Aggregation
COH             205660300011                Gas           Gov. Aggregation   COH             206059560011                Gas           Gov. Aggregation
COH             208326260015                Gas           Gov. Aggregation   VEDO            4003503942421215            Gas           Gov. Aggregation
COH             206286350014                Gas           Gov. Aggregation   VEDO            4002812352276215            Gas           Gov. Aggregation
COH             202150560011                Gas           Gov. Aggregation   VEDO            4004736272481425            Gas           Gov. Aggregation
COH             203360200010                Gas           Gov. Aggregation   VEDO            4003666512426987            Gas           Gov. Aggregation
COH             207993530016                Gas           Gov. Aggregation   VEDO            4016003412486705            Gas           Gov. Aggregation
COH             202025730010                Gas           Gov. Aggregation   VEDO            4020870462214075            Gas           Gov. Aggregation
COH             111137260012                Gas           Gov. Aggregation   VEDO            4003789152125662            Gas           Gov. Aggregation
COH             203039830019                Gas           Gov. Aggregation   VEDO            4017924062533477            Gas           Gov. Aggregation
COH             203205880025                Gas           Gov. Aggregation   VEDO            4001881862183609            Gas           Gov. Aggregation
COH             207540980011                Gas           Gov. Aggregation   VEDO            4004509542456383            Gas           Gov. Aggregation
COH             198660940035                Gas           Gov. Aggregation   COH             165508490102                Gas           Gov. Aggregation
COH             205779030017                Gas           Gov. Aggregation   COH             209505980013                Gas           Gov. Aggregation
COH             206940500014                Gas           Gov. Aggregation   COH             208908590012                Gas           Gov. Aggregation
COH             205800820014                Gas           Gov. Aggregation   COH             171078990040                Gas           Gov. Aggregation
COH             195843090011                Gas           Gov. Aggregation   COH             197002200026                Gas           Gov. Aggregation
COH             207447650018                Gas           Gov. Aggregation   COH             117214890029                Gas           Gov. Aggregation
COH             206953600016                Gas           Gov. Aggregation   COH             123583790049                Gas           Gov. Aggregation
COH             196924920031                Gas           Gov. Aggregation   COH             149383340056                Gas           Gov. Aggregation
COH             202834080012                Gas           Gov. Aggregation   COH             207344560015                Gas           Gov. Aggregation
COH             201968610018                Gas           Gov. Aggregation   COH             209224600018                Gas           Gov. Aggregation
COH             207321470012                Gas           Gov. Aggregation   COH             209882590017                Gas           Gov. Aggregation
COH             185840440033                Gas           Gov. Aggregation   COH             210121850011                Gas           Gov. Aggregation
COH             207023050012                Gas           Gov. Aggregation   COH             209368520011                Gas           Gov. Aggregation
COH             203857540016                Gas           Gov. Aggregation   COH             206762480017                Gas           Gov. Aggregation
COH             207654620015                Gas           Gov. Aggregation   COH             207418800017                Gas           Gov. Aggregation
COH             190174940016                Gas           Gov. Aggregation   COH             210364220019                Gas           Gov. Aggregation
COH             202952940011                Gas           Gov. Aggregation   COH             159639800036                Gas           Gov. Aggregation
COH             208654700017                Gas           Gov. Aggregation   COH             148435880017                Gas           Gov. Aggregation
COH             206040280019                Gas           Gov. Aggregation   COH             209337920012                Gas           Gov. Aggregation
COH             165248020022                Gas           Gov. Aggregation   COH             199480600019                Gas           Gov. Aggregation
COH             203146330071                Gas           Gov. Aggregation   COH             188811160049                Gas           Gov. Aggregation
COH             177364170021                Gas           Gov. Aggregation   COH             205963000021                Gas           Gov. Aggregation
COH             203536660011                Gas           Gov. Aggregation   COH             191597060041                Gas           Gov. Aggregation
COH             208205720014                Gas           Gov. Aggregation   COH             161391350266                Gas           Gov. Aggregation
COH             167326370030                Gas           Gov. Aggregation   COH             191124800055                Gas           Gov. Aggregation
COH             135556810010                Gas           Gov. Aggregation   COH             210253190011                Gas           Gov. Aggregation
COH             205864350019                Gas           Gov. Aggregation   COH             206603340012                Gas           Gov. Aggregation
COH             190234930038                Gas           Gov. Aggregation   COH             138687580055                Gas           Gov. Aggregation
COH             158675180014                Gas           Gov. Aggregation   COH             138687580037                Gas           Gov. Aggregation
COH             202521410015                Gas           Gov. Aggregation   COH             138687580046                Gas           Gov. Aggregation
COH             202521410033                Gas           Gov. Aggregation   COH             209402520017                Gas           Gov. Aggregation
COH             203739180012                Gas           Gov. Aggregation   COH             207074530014                Gas           Gov. Aggregation
COH             111124870039                Gas           Gov. Aggregation   COH             207515890022                Gas           Gov. Aggregation
COH             206310700017                Gas           Gov. Aggregation   COH             162343530062                Gas           Gov. Aggregation
COH             150660800058                Gas           Gov. Aggregation   COH             166250110036                Gas           Gov. Aggregation
COH             207036810015                Gas           Gov. Aggregation   COH             208949950010                Gas           Gov. Aggregation
COH             139495130037                Gas           Gov. Aggregation   COH             209309320866                Gas           Gov. Aggregation
COH             201568850025                Gas           Gov. Aggregation   COH             171275200038                Gas           Gov. Aggregation
COH             200486430019                Gas           Gov. Aggregation   COH             209619450013                Gas           Gov. Aggregation
COH             203170380016                Gas           Gov. Aggregation   COH             208834820010                Gas           Gov. Aggregation
COH             205646150013                Gas           Gov. Aggregation   COH             189801530050                Gas           Gov. Aggregation
COH             201504110015                Gas           Gov. Aggregation   COH             209726820018                Gas           Gov. Aggregation
COH             140381480023                Gas           Gov. Aggregation   COH             172930210053                Gas           Gov. Aggregation
COH             201991830013                Gas           Gov. Aggregation   COH             207476230015                Gas           Gov. Aggregation
COH             203770540010                Gas           Gov. Aggregation   COH             209908530013                Gas           Gov. Aggregation
COH             205496740018                Gas           Gov. Aggregation   COH             207712480011                Gas           Gov. Aggregation
COH             201629160011                Gas           Gov. Aggregation   COH             209654100012                Gas           Gov. Aggregation
COH             205849630012                Gas           Gov. Aggregation   COH             156180320140                Gas           Gov. Aggregation
COH             202182760021                Gas           Gov. Aggregation   COH             115432910024                Gas           Gov. Aggregation
COH             111121300025                Gas           Gov. Aggregation   COH             117344950021                Gas           Gov. Aggregation
COH             206859400018                Gas           Gov. Aggregation   COH             136713480033                Gas           Gov. Aggregation
COH             203999200017                Gas           Gov. Aggregation   COH             157884430028                Gas           Gov. Aggregation
COH             203351330012                Gas           Gov. Aggregation   DEO             2180005212049               Gas           Gov. Aggregation
COH             201220080014                Gas           Gov. Aggregation   VEDO            4001954512190921            Gas           Gov. Aggregation
COH             202075410012                Gas           Gov. Aggregation   COH             111411400010                Gas           Gov. Aggregation
COH             206396550019                Gas           Gov. Aggregation   COH             122326660032                Gas           Gov. Aggregation
COH             208617380013                Gas           Gov. Aggregation   COH             145693330019                Gas           Gov. Aggregation
COH             208110300013                Gas           Gov. Aggregation   COH             210951690016                Gas           Gov. Aggregation
COH             203924140017                Gas           Gov. Aggregation   VEDO            4003090722304584            Gas           Gov. Aggregation
COH             111138740028                Gas           Gov. Aggregation   DEO             5420504318476               Gas           Gov. Aggregation
COH             206986610015                Gas           Gov. Aggregation   DEO             6421006688780               Gas           Gov. Aggregation
COH             208506590014                Gas           Gov. Aggregation   DEO             3180017222041               Gas           Gov. Aggregation
COH             206133950011                Gas           Gov. Aggregation   COH             117193300028                Gas           Gov. Aggregation
COH             206427880013                Gas           Gov. Aggregation   COH             133185450024                Gas           Gov. Aggregation
COH             206734300013                Gas           Gov. Aggregation   DEO             6500053511033               Gas           Gov. Aggregation
COH             206958290012                Gas           Gov. Aggregation   COH             174392560014                Gas           Gov. Aggregation
COH             207089130017                Gas           Gov. Aggregation   DEO             5500018231624               Gas           Gov. Aggregation
COH             205755800015                Gas           Gov. Aggregation   COH             192961500017                Gas           Gov. Aggregation
COH             205757380010                Gas           Gov. Aggregation   COH             193540350010                Gas           Gov. Aggregation
COH             206911210016                Gas           Gov. Aggregation   COH             140126360019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
COH             161402280024                Gas           Gov. Aggregation   VEDO            4017698532157554            Gas           Gov. Aggregation
COH             111181230033                Gas           Gov. Aggregation   COH             188066010014                Gas           Gov. Aggregation
COH             136247600036                Gas           Gov. Aggregation   COH             191406760029                Gas           Gov. Aggregation
COH             208746620019                Gas           Gov. Aggregation   COH             193699500013                Gas           Gov. Aggregation
COH             200557710037                Gas           Gov. Aggregation   COH             111012270014                Gas           Gov. Aggregation
COH             207961870012                Gas           Gov. Aggregation   COH             155695310044                Gas           Gov. Aggregation
COH             203278930012                Gas           Gov. Aggregation   COH             175745740016                Gas           Gov. Aggregation
COH             194058440022                Gas           Gov. Aggregation   COH             124021210021                Gas           Gov. Aggregation
COH             206274370015                Gas           Gov. Aggregation   DEO             9500060539588               Gas           Gov. Aggregation
COH             191912070021                Gas           Gov. Aggregation   COH             196860010029                Gas           Gov. Aggregation
COH             197043020037                Gas           Gov. Aggregation   COH             127663810013                Gas           Gov. Aggregation
COH             190507850063                Gas           Gov. Aggregation   VEDO            4005084462683021            Gas           Gov. Aggregation
COH             207270040011                Gas           Gov. Aggregation   DEO             7500045842813               Gas           Gov. Aggregation
COH             205559470011                Gas           Gov. Aggregation   DEO             8500021149847               Gas           Gov. Aggregation
COH             202498830018                Gas           Gov. Aggregation   COH             124032880037                Gas           Gov. Aggregation
COH             204277340053                Gas           Gov. Aggregation   VEDO            4002304362225510            Gas           Gov. Aggregation
COH             149572250054                Gas           Gov. Aggregation   COH             123745080026                Gas           Gov. Aggregation
COH             206436690014                Gas           Gov. Aggregation   DEO             8500022221609               Gas           Gov. Aggregation
COH             203484400016                Gas           Gov. Aggregation   VEDO            4003536432186532            Gas           Gov. Aggregation
COH             197699490012                Gas           Gov. Aggregation   VEDO            4003540302351421            Gas           Gov. Aggregation
COH             206451250014                Gas           Gov. Aggregation   VEDO            4003562992362581            Gas           Gov. Aggregation
COH             202227690011                Gas           Gov. Aggregation   VEDO            4001745992174198            Gas           Gov. Aggregation
COH             207541010012                Gas           Gov. Aggregation   DEO             6442005308737               Gas           Gov. Aggregation
COH             192209870023                Gas           Gov. Aggregation   DEO             0180017543854               Gas           Gov. Aggregation
COH             196895140029                Gas           Gov. Aggregation   DEO             8120000050731               Gas           Gov. Aggregation
COH             207186400014                Gas           Gov. Aggregation   COH             207762370019                Gas           Gov. Aggregation
COH             190797430040                Gas           Gov. Aggregation   COH             208148400013                Gas           Gov. Aggregation
COH             202651640012                Gas           Gov. Aggregation   COH             208196290016                Gas           Gov. Aggregation
COH             206685810011                Gas           Gov. Aggregation   COH             208219360011                Gas           Gov. Aggregation
COH             206396830010                Gas           Gov. Aggregation   COH             208301380012                Gas           Gov. Aggregation
COH             155189970012                Gas           Gov. Aggregation   COH             208499920011                Gas           Gov. Aggregation
COH             208212170015                Gas           Gov. Aggregation   COH             208648000017                Gas           Gov. Aggregation
COH             121939950015                Gas           Gov. Aggregation   COH             208719080010                Gas           Gov. Aggregation
COH             196718860031                Gas           Gov. Aggregation   COH             208811890014                Gas           Gov. Aggregation
COH             196812910021                Gas           Gov. Aggregation   COH             207591130012                Gas           Gov. Aggregation
COH             206384670019                Gas           Gov. Aggregation   COH             206468900012                Gas           Gov. Aggregation
COH             206736590019                Gas           Gov. Aggregation   COH             205635570027                Gas           Gov. Aggregation
COH             207060880010                Gas           Gov. Aggregation   COH             205364720011                Gas           Gov. Aggregation
COH             205900040016                Gas           Gov. Aggregation   COH             210013810018                Gas           Gov. Aggregation
COH             208780170012                Gas           Gov. Aggregation   COH             207016780014                Gas           Gov. Aggregation
COH             207364060018                Gas           Gov. Aggregation   COH             206497210016                Gas           Gov. Aggregation
COH             205342560011                Gas           Gov. Aggregation   COH             204182760029                Gas           Gov. Aggregation
COH             192849170024                Gas           Gov. Aggregation   COH             207571360016                Gas           Gov. Aggregation
COH             199013250021                Gas           Gov. Aggregation   COH             190332040037                Gas           Gov. Aggregation
COH             207299240019                Gas           Gov. Aggregation   COH             208927120010                Gas           Gov. Aggregation
COH             149844880028                Gas           Gov. Aggregation   COH             208454980013                Gas           Gov. Aggregation
COH             149783800024                Gas           Gov. Aggregation   COH             203425910022                Gas           Gov. Aggregation
COH             192463140046                Gas           Gov. Aggregation   COH             208499900015                Gas           Gov. Aggregation
COH             164439480139                Gas           Gov. Aggregation   COH             210038010014                Gas           Gov. Aggregation
COH             202249670019                Gas           Gov. Aggregation   COH             206578960017                Gas           Gov. Aggregation
COH             205397040015                Gas           Gov. Aggregation   COH             207185090021                Gas           Gov. Aggregation
COH             206548570021                Gas           Gov. Aggregation   COH             209316800011                Gas           Gov. Aggregation
COH             207616290015                Gas           Gov. Aggregation   COH             208477250018                Gas           Gov. Aggregation
COH             203238780018                Gas           Gov. Aggregation   COH             195084380047                Gas           Gov. Aggregation
COH             196887690067                Gas           Gov. Aggregation   COH             206986250011                Gas           Gov. Aggregation
COH             206718390019                Gas           Gov. Aggregation   COH             161245980030                Gas           Gov. Aggregation
COH             189356130031                Gas           Gov. Aggregation   COH             208710650018                Gas           Gov. Aggregation
COH             161195510062                Gas           Gov. Aggregation   COH             206684920010                Gas           Gov. Aggregation
COH             166327950073                Gas           Gov. Aggregation   COH             208389710018                Gas           Gov. Aggregation
COH             191739410027                Gas           Gov. Aggregation   COH             208658500011                Gas           Gov. Aggregation
COH             202274650010                Gas           Gov. Aggregation   COH             208606890019                Gas           Gov. Aggregation
COH             207576710012                Gas           Gov. Aggregation   COH             204459510015                Gas           Gov. Aggregation
COH             200536310035                Gas           Gov. Aggregation   COH             209039280019                Gas           Gov. Aggregation
COH             206410080016                Gas           Gov. Aggregation   COH             136100100013                Gas           Gov. Aggregation
COH             196462710017                Gas           Gov. Aggregation   COH             205026370039                Gas           Gov. Aggregation
COH             202251800025                Gas           Gov. Aggregation   COH             199158090029                Gas           Gov. Aggregation
COH             207455380018                Gas           Gov. Aggregation   COH             209634690011                Gas           Gov. Aggregation
COH             207965640012                Gas           Gov. Aggregation   COH             111257070018                Gas           Gov. Aggregation
COH             125814680021                Gas           Gov. Aggregation   COH             207871420017                Gas           Gov. Aggregation
COH             208350780015                Gas           Gov. Aggregation   COH             205351020024                Gas           Gov. Aggregation
COH             204153190020                Gas           Gov. Aggregation   COH             209645350019                Gas           Gov. Aggregation
COH             176664010029                Gas           Gov. Aggregation   COH             195236780031                Gas           Gov. Aggregation
COH             208966090015                Gas           Gov. Aggregation   COH             192330280048                Gas           Gov. Aggregation
DEO             6180014436736               Gas           Gov. Aggregation   COH             194641420056                Gas           Gov. Aggregation
VEDO            4004465162451461            Gas           Gov. Aggregation   COH             189255590039                Gas           Gov. Aggregation
VEDO            4004750772483022            Gas           Gov. Aggregation   COH             152300030014                Gas           Gov. Aggregation
VEDO            4003250452321144            Gas           Gov. Aggregation   COH             208903860015                Gas           Gov. Aggregation
DEO             9180014172153               Gas           Gov. Aggregation   COH             206603050013                Gas           Gov. Aggregation
DEO             5421006188227               Gas           Gov. Aggregation   COH             206759350039                Gas           Gov. Aggregation
DEO             2421000629825               Gas           Gov. Aggregation   COH             150716870028                Gas           Gov. Aggregation
COH             136141400096                Gas           Gov. Aggregation   COH             205108470025                Gas           Gov. Aggregation
DEO             0500007408206               Gas           Gov. Aggregation   COH             199631000023                Gas           Gov. Aggregation
DEO             9120000040878               Gas           Gov. Aggregation   COH             209023920017                Gas           Gov. Aggregation
DEO             8500022701823               Gas           Gov. Aggregation   COH             206535810018                Gas           Gov. Aggregation
DEO             6120000139140               Gas           Gov. Aggregation   COH             190127280032                Gas           Gov. Aggregation
DEO             7500042291196               Gas           Gov. Aggregation   COH             209840570019                Gas           Gov. Aggregation
DEO             4180014661382               Gas           Gov. Aggregation   COH             111284640011                Gas           Gov. Aggregation
DEO             0180014298301               Gas           Gov. Aggregation   COH             193133690030                Gas           Gov. Aggregation
DEO             3180014130020               Gas           Gov. Aggregation   COH             186335350078                Gas           Gov. Aggregation
DEO             3180014528955               Gas           Gov. Aggregation   COH             207519820019                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             9180013909099               Gas           Gov. Aggregation   COH             169394780011                Gas           Gov. Aggregation
DEO             4180014384989               Gas           Gov. Aggregation   COH             193112280030                Gas           Gov. Aggregation
DEO             6180014807739               Gas           Gov. Aggregation   COH             173101020013                Gas           Gov. Aggregation
DEO             6180014805984               Gas           Gov. Aggregation   COH             210097840016                Gas           Gov. Aggregation
DEO             3180014946460               Gas           Gov. Aggregation   COH             208109550014                Gas           Gov. Aggregation
DEO             0180014222662               Gas           Gov. Aggregation   COH             207406590017                Gas           Gov. Aggregation
DEO             2180014238432               Gas           Gov. Aggregation   COH             209074490011                Gas           Gov. Aggregation
DEO             1180014049112               Gas           Gov. Aggregation   COH             208235230014                Gas           Gov. Aggregation
DEO             9180014323324               Gas           Gov. Aggregation   COH             209108160026                Gas           Gov. Aggregation
DEO             5180014971180               Gas           Gov. Aggregation   COH             193963200042                Gas           Gov. Aggregation
DEO             7500024667136               Gas           Gov. Aggregation   COH             197960860251                Gas           Gov. Aggregation
DEO             4180014863651               Gas           Gov. Aggregation   COH             191056050058                Gas           Gov. Aggregation
COH             208066740016                Gas           Gov. Aggregation   COH             210211730015                Gas           Gov. Aggregation
COH             196467140017                Gas           Gov. Aggregation   COH             209162570017                Gas           Gov. Aggregation
COH             158924280014                Gas           Gov. Aggregation   COH             201347020036                Gas           Gov. Aggregation
COH             156087690061                Gas           Gov. Aggregation   COH             187525000031                Gas           Gov. Aggregation
COH             160606330031                Gas           Gov. Aggregation   COH             206673030010                Gas           Gov. Aggregation
COH             200503770010                Gas           Gov. Aggregation   COH             194779970032                Gas           Gov. Aggregation
COH             207542980017                Gas           Gov. Aggregation   COH             207910640017                Gas           Gov. Aggregation
COH             203538380016                Gas           Gov. Aggregation   COH             169127900083                Gas           Gov. Aggregation
COH             206076360017                Gas           Gov. Aggregation   COH             175842190016                Gas           Gov. Aggregation
COH             185224570014                Gas           Gov. Aggregation   COH             202599640023                Gas           Gov. Aggregation
COH             163173760046                Gas           Gov. Aggregation   COH             206867150014                Gas           Gov. Aggregation
COH             118493540012                Gas           Gov. Aggregation   COH             206657570039                Gas           Gov. Aggregation
COH             198735830011                Gas           Gov. Aggregation   COH             188362720017                Gas           Gov. Aggregation
COH             185127340027                Gas           Gov. Aggregation   COH             207665260018                Gas           Gov. Aggregation
COH             167174670030                Gas           Gov. Aggregation   COH             192446860032                Gas           Gov. Aggregation
COH             166022570042                Gas           Gov. Aggregation   COH             206770220014                Gas           Gov. Aggregation
COH             190576300036                Gas           Gov. Aggregation   COH             205748720035                Gas           Gov. Aggregation
COH             133720660042                Gas           Gov. Aggregation   COH             207344200010                Gas           Gov. Aggregation
COH             134988590022                Gas           Gov. Aggregation   COH             205131530023                Gas           Gov. Aggregation
COH             195022000046                Gas           Gov. Aggregation   COH             209321870016                Gas           Gov. Aggregation
COH             187886040100                Gas           Gov. Aggregation   COH             208658920013                Gas           Gov. Aggregation
COH             168980300064                Gas           Gov. Aggregation   COH             207630830011                Gas           Gov. Aggregation
COH             207234610017                Gas           Gov. Aggregation   COH             208109530018                Gas           Gov. Aggregation
COH             205217300010                Gas           Gov. Aggregation   COH             173499220056                Gas           Gov. Aggregation
COH             206149990010                Gas           Gov. Aggregation   COH             199740980018                Gas           Gov. Aggregation
COH             208849560014                Gas           Gov. Aggregation   COH             208606820013                Gas           Gov. Aggregation
COH             205847110015                Gas           Gov. Aggregation   COH             209253830019                Gas           Gov. Aggregation
COH             117610360057                Gas           Gov. Aggregation   COH             175424160018                Gas           Gov. Aggregation
COH             166259110056                Gas           Gov. Aggregation   COH             175424740016                Gas           Gov. Aggregation
DEO             9440103269309               Gas           Gov. Aggregation   VEDO            4003371122332536            Gas           Gov. Aggregation
DEO             4180014385535               Gas           Gov. Aggregation   VEDO            4003739932602898            Gas           Gov. Aggregation
DEO             5180014367457               Gas           Gov. Aggregation   VEDO            4003813052380482            Gas           Gov. Aggregation
DEO             8180014710894               Gas           Gov. Aggregation   DEO             4440100103323               Gas           Gov. Aggregation
DEO             0180014301397               Gas           Gov. Aggregation   COH             111177060010                Gas           Gov. Aggregation
DEO             6180014558950               Gas           Gov. Aggregation   VEDO            4003150752301325            Gas           Gov. Aggregation
DEO             1180014502255               Gas           Gov. Aggregation   DEO             2500064147537               Gas           Gov. Aggregation
DEO             3180014217695               Gas           Gov. Aggregation   VEDO            4018464942131970            Gas           Gov. Aggregation
DEO             9180014147434               Gas           Gov. Aggregation   COH             174279260017                Gas           Gov. Aggregation
DEO             3180014659512               Gas           Gov. Aggregation   COH             188179370029                Gas           Gov. Aggregation
DEO             7180014266010               Gas           Gov. Aggregation   COH             135818330855                Gas           Gov. Aggregation
DEO             7180014535418               Gas           Gov. Aggregation   COH             196895330010                Gas           Gov. Aggregation
DEO             9180014644289               Gas           Gov. Aggregation   COH             122490150023                Gas           Gov. Aggregation
DEO             3180014643298               Gas           Gov. Aggregation   COH             198049210016                Gas           Gov. Aggregation
DEO             8180014040836               Gas           Gov. Aggregation   VEDO            4004510502451724            Gas           Gov. Aggregation
DEO             1180014106922               Gas           Gov. Aggregation   VEDO            4003480682532894            Gas           Gov. Aggregation
DEO             0180014348092               Gas           Gov. Aggregation   COH             133074330015                Gas           Gov. Aggregation
DEO             2180014921787               Gas           Gov. Aggregation   VEDO            4004549032639132            Gas           Gov. Aggregation
DEO             0180014298992               Gas           Gov. Aggregation   DEO             8421003254841               Gas           Gov. Aggregation
DEO             0500032425552               Gas           Gov. Aggregation   DEO             2500008866628               Gas           Gov. Aggregation
DEO             0180014430687               Gas           Gov. Aggregation   DEO             8420903589629               Gas           Gov. Aggregation
DEO             1180009395863               Gas           Gov. Aggregation   DEO             3420906147768               Gas           Gov. Aggregation
DEO             6180014858876               Gas           Gov. Aggregation   DEO             2180004130047               Gas           Gov. Aggregation
DEO             5180014783018               Gas           Gov. Aggregation   COH             133677470027                Gas           Gov. Aggregation
DEO             0180014206273               Gas           Gov. Aggregation   COH             111044990016                Gas           Gov. Aggregation
DEO             1180014945625               Gas           Gov. Aggregation   DEO             3180005981841               Gas           Gov. Aggregation
DEO             7180014780312               Gas           Gov. Aggregation   DEO             2180007216542               Gas           Gov. Aggregation
DEO             6180015000027               Gas           Gov. Aggregation   DEO             5180007768125               Gas           Gov. Aggregation
DEO             4180014845765               Gas           Gov. Aggregation   DEO             8180007526766               Gas           Gov. Aggregation
DEO             0180014765557               Gas           Gov. Aggregation   DEO             0180007066424               Gas           Gov. Aggregation
DEO             3180014571359               Gas           Gov. Aggregation   COH             164715400059                Gas           Gov. Aggregation
DEO             5180014399282               Gas           Gov. Aggregation   VEDO            4001926022224899            Gas           Gov. Aggregation
DEO             9180014147397               Gas           Gov. Aggregation   DEO             7500054983060               Gas           Gov. Aggregation
DEO             0180014060812               Gas           Gov. Aggregation   DEO             8500061958468               Gas           Gov. Aggregation
DEO             5180014464683               Gas           Gov. Aggregation   DEO             0421702736357               Gas           Gov. Aggregation
DEO             4180014748665               Gas           Gov. Aggregation   COH             118493520016                Gas           Gov. Aggregation
DEO             0180014397321               Gas           Gov. Aggregation   COH             116697150032                Gas           Gov. Aggregation
DEO             5180014298182               Gas           Gov. Aggregation   COH             149019490029                Gas           Gov. Aggregation
DEO             5180014315815               Gas           Gov. Aggregation   COH             154455550025                Gas           Gov. Aggregation
DEO             7180014222487               Gas           Gov. Aggregation   COH             162306580033                Gas           Gov. Aggregation
DEO             4180014399032               Gas           Gov. Aggregation   COH             172783490012                Gas           Gov. Aggregation
DEO             1180014413103               Gas           Gov. Aggregation   COH             136307900017                Gas           Gov. Aggregation
COH             111189930012                Gas           Gov. Aggregation   COH             185516630012                Gas           Gov. Aggregation
COH             111163320023                Gas           Gov. Aggregation   COH             124121810023                Gas           Gov. Aggregation
VEDO            4001956162602891            Gas           Gov. Aggregation   COH             191995240012                Gas           Gov. Aggregation
DEO             8180014141457               Gas           Gov. Aggregation   COH             188659380010                Gas           Gov. Aggregation
DEO             8180014562400               Gas           Gov. Aggregation   COH             167557830016                Gas           Gov. Aggregation
DEO             5180014287359               Gas           Gov. Aggregation   COH             167558870025                Gas           Gov. Aggregation
DEO             2180014458827               Gas           Gov. Aggregation   COH             174500780017                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
DEO             0180014073092               Gas           Gov. Aggregation   COH             144844900019                Gas           Gov. Aggregation
DEO             3180014170090               Gas           Gov. Aggregation   VEDO            4017734842610757            Gas           Gov. Aggregation
DEO             7180014183464               Gas           Gov. Aggregation   VEDO            4001907292186121            Gas           Gov. Aggregation
DEO             2180014436861               Gas           Gov. Aggregation   VEDO            4003662902231090            Gas           Gov. Aggregation
DEO             6180014696393               Gas           Gov. Aggregation   COH             194179670019                Gas           Gov. Aggregation
DEO             1180014808777               Gas           Gov. Aggregation   DEO             2421802291326               Gas           Gov. Aggregation
DEO             2180014890322               Gas           Gov. Aggregation   DEO             2421804130703               Gas           Gov. Aggregation
DEO             4180014053358               Gas           Gov. Aggregation   DEO             2421804136746               Gas           Gov. Aggregation
DEO             4180014091914               Gas           Gov. Aggregation   DEO             2421805192548               Gas           Gov. Aggregation
DEO             4180014398452               Gas           Gov. Aggregation   DEO             2500002279696               Gas           Gov. Aggregation
VEDO            4021403922684982            Gas           Gov. Aggregation   DEO             2500018228077               Gas           Gov. Aggregation
VEDO            4003822772196029            Gas           Gov. Aggregation   DEO             5500013894646               Gas           Gov. Aggregation
VEDO            4004501882683862            Gas           Gov. Aggregation   DEO             5500015681361               Gas           Gov. Aggregation
VEDO            4020196162683878            Gas           Gov. Aggregation   DEO             5500024784498               Gas           Gov. Aggregation
VEDO            4021179502683835            Gas           Gov. Aggregation   DEO             5500028871216               Gas           Gov. Aggregation
VEDO            4021179502683881            Gas           Gov. Aggregation   DEO             6421706173580               Gas           Gov. Aggregation
VEDO            4021179502683890            Gas           Gov. Aggregation   DEO             6421804340833               Gas           Gov. Aggregation
VEDO            4021396582683858            Gas           Gov. Aggregation   DEO             6421806333461               Gas           Gov. Aggregation
VEDO            4021413742683871            Gas           Gov. Aggregation   DEO             6500029807974               Gas           Gov. Aggregation
VEDO            4021440602602472            Gas           Gov. Aggregation   VEDO            4003418942338795            Gas           Gov. Aggregation
VEDO            4021236612541184            Gas           Gov. Aggregation   VEDO            4004363682274341            Gas           Gov. Aggregation
VEDO            4021400992592804            Gas           Gov. Aggregation   VEDO            4002416232236504            Gas           Gov. Aggregation
VEDO            4021175012152636            Gas           Gov. Aggregation   VEDO            4003445602341579            Gas           Gov. Aggregation
VEDO            4021295862281733            Gas           Gov. Aggregation   COH             159589570096                Gas           Gov. Aggregation
VEDO            4016008892227439            Gas           Gov. Aggregation   VEDO            4003266272322756            Gas           Gov. Aggregation
VEDO            4018738752623347            Gas           Gov. Aggregation   COH             195766060011                Gas           Gov. Aggregation
VEDO            4021066982623348            Gas           Gov. Aggregation   VEDO            4002204822281302            Gas           Gov. Aggregation
VEDO            4021227812569844            Gas           Gov. Aggregation   VEDO            4002891732144255            Gas           Gov. Aggregation
VEDO            4021484952251251            Gas           Gov. Aggregation   VEDO            4003129392308596            Gas           Gov. Aggregation
VEDO            4001171022505341            Gas           Gov. Aggregation   VEDO            4003143872310136            Gas           Gov. Aggregation
COH             126917100078                Gas           Gov. Aggregation   VEDO            4017158262193930            Gas           Gov. Aggregation
COH             207550420017                Gas           Gov. Aggregation   VEDO            4017880912523713            Gas           Gov. Aggregation
COH             201038420019                Gas           Gov. Aggregation   VEDO            4018342282162212            Gas           Gov. Aggregation
COH             195059830063                Gas           Gov. Aggregation   VEDO            4018357842451881            Gas           Gov. Aggregation
COH             129377650021                Gas           Gov. Aggregation   VEDO            4018491822201789            Gas           Gov. Aggregation
COH             186534680022                Gas           Gov. Aggregation   VEDO            4018591452170660            Gas           Gov. Aggregation
COH             191346880040                Gas           Gov. Aggregation   VEDO            4004434522582887            Gas           Gov. Aggregation
COH             200076860018                Gas           Gov. Aggregation   VEDO            4015952412166895            Gas           Gov. Aggregation
COH             200076860027                Gas           Gov. Aggregation   VEDO            4016232822282795            Gas           Gov. Aggregation
COH             156963260018                Gas           Gov. Aggregation   VEDO            4018944832446035            Gas           Gov. Aggregation
COH             186903210045                Gas           Gov. Aggregation   VEDO            4002149362349860            Gas           Gov. Aggregation
COH             208037920019                Gas           Gov. Aggregation   VEDO            4004606172351120            Gas           Gov. Aggregation
COH             129441240020                Gas           Gov. Aggregation   VEDO            4004810972489626            Gas           Gov. Aggregation
COH             205293290013                Gas           Gov. Aggregation   VEDO            4015589802387802            Gas           Gov. Aggregation
COH             167590990077                Gas           Gov. Aggregation   VEDO            4015083642102255            Gas           Gov. Aggregation
COH             194770110058                Gas           Gov. Aggregation   VEDO            4015153642123104            Gas           Gov. Aggregation
COH             198824090027                Gas           Gov. Aggregation   VEDO            4016355172246525            Gas           Gov. Aggregation
COH             201280980019                Gas           Gov. Aggregation   VEDO            4016561272524897            Gas           Gov. Aggregation
COH             201702930013                Gas           Gov. Aggregation   VEDO            4016575062457128            Gas           Gov. Aggregation
COH             202406110012                Gas           Gov. Aggregation   VEDO            4016835742607799            Gas           Gov. Aggregation
COH             203170670015                Gas           Gov. Aggregation   VEDO            4005059102249409            Gas           Gov. Aggregation
COH             205738280011                Gas           Gov. Aggregation   VEDO            4002610952255992            Gas           Gov. Aggregation
COH             208516840010                Gas           Gov. Aggregation   VEDO            4002762312639103            Gas           Gov. Aggregation
COH             201604970013                Gas           Gov. Aggregation   VEDO            4018488002148165            Gas           Gov. Aggregation
COH             199296340033                Gas           Gov. Aggregation   DEO             3500063000959               Gas           Gov. Aggregation
COH             201588660023                Gas           Gov. Aggregation   VEDO            4016671542560834            Gas           Gov. Aggregation
COH             191111410072                Gas           Gov. Aggregation   COH             157942030019                Gas           Gov. Aggregation
COH             206905090015                Gas           Gov. Aggregation   COH             196214110018                Gas           Gov. Aggregation
COH             208165790016                Gas           Gov. Aggregation   COH             152095120058                Gas           Gov. Aggregation
COH             165640460046                Gas           Gov. Aggregation   COH             194189401004                Gas           Gov. Aggregation
VEDO            4021153192292045            Gas           Gov. Aggregation   COH             197072700015                Gas           Gov. Aggregation
VEDO            4003666352468496            Gas           Gov. Aggregation   VEDO            4004274422430579            Gas           Gov. Aggregation
VEDO            4001223262457800            Gas           Gov. Aggregation   VEDO            4004479612453042            Gas           Gov. Aggregation
VEDO            4004810132491862            Gas           Gov. Aggregation   DEO             5500026590293               Gas           Gov. Aggregation
VEDO            4020939942205393            Gas           Gov. Aggregation   DEO             4500044576898               Gas           Gov. Aggregation
VEDO            4021410892368073            Gas           Gov. Aggregation   DEO             7500045757023               Gas           Gov. Aggregation
VEDO            4004834112198483            Gas           Gov. Aggregation   DEO             0500010709945               Gas           Gov. Aggregation
VEDO            4021063092500904            Gas           Gov. Aggregation   DEO             9500049920777               Gas           Gov. Aggregation
VEDO            4010132612324973            Gas           Gov. Aggregation   DEO             4500027659518               Gas           Gov. Aggregation
VEDO            4018047022648463            Gas           Gov. Aggregation   DEO             8500024649607               Gas           Gov. Aggregation
VEDO            4002246672257025            Gas           Gov. Aggregation   DEO             5500017224165               Gas           Gov. Aggregation
VEDO            4018737142367072            Gas           Gov. Aggregation   DEO             7421005161981               Gas           Gov. Aggregation
VEDO            4018823812641038            Gas           Gov. Aggregation   DEO             3421005052077               Gas           Gov. Aggregation
VEDO            4001242942684459            Gas           Gov. Aggregation   DEO             3500040936202               Gas           Gov. Aggregation
VEDO            4017385062286827            Gas           Gov. Aggregation   DEO             3500051290256               Gas           Gov. Aggregation
VEDO            4001427472496825            Gas           Gov. Aggregation   DEO             9421002705669               Gas           Gov. Aggregation
VEDO            4021472182193178            Gas           Gov. Aggregation   DEO             1421004507691               Gas           Gov. Aggregation
VEDO            4015454772452401            Gas           Gov. Aggregation   DEO             7500016189141               Gas           Gov. Aggregation
VEDO            4020931872206116            Gas           Gov. Aggregation   DEO             2500050283912               Gas           Gov. Aggregation
VEDO            4021173772199289            Gas           Gov. Aggregation   DEO             2500049310124               Gas           Gov. Aggregation
VEDO            4017160242507145            Gas           Gov. Aggregation   DEO             5500029837338               Gas           Gov. Aggregation
VEDO            4021020342457109            Gas           Gov. Aggregation   DEO             1500038399931               Gas           Gov. Aggregation
VEDO            4021422052455272            Gas           Gov. Aggregation   DEO             1421005157832               Gas           Gov. Aggregation
VEDO            4017571942382078            Gas           Gov. Aggregation   DEO             7421004217970               Gas           Gov. Aggregation
VEDO            4021074742472305            Gas           Gov. Aggregation   DEO             6500008056539               Gas           Gov. Aggregation
VEDO            4016327382516797            Gas           Gov. Aggregation   DEO             8420902054731               Gas           Gov. Aggregation
VEDO            4017590432114864            Gas           Gov. Aggregation   DEO             0500032855391               Gas           Gov. Aggregation
VEDO            4021299792431445            Gas           Gov. Aggregation   DEO             5420901101266               Gas           Gov. Aggregation
VEDO            4001812442364039            Gas           Gov. Aggregation   DEO             1500006267095               Gas           Gov. Aggregation
VEDO            4021262422242201            Gas           Gov. Aggregation   DEO             9500004224050               Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4018562702191408            Gas           Gov. Aggregation   DEO             6500043768128               Gas           Gov. Aggregation
VEDO         4001180472286237            Gas           Gov. Aggregation   DEO             0500017122638               Gas           Gov. Aggregation
VEDO         4018677292443435            Gas           Gov. Aggregation   DEO             9421005582968               Gas           Gov. Aggregation
VEDO         4019846942217544            Gas           Gov. Aggregation   DEO             6500050235758               Gas           Gov. Aggregation
VEDO         4021012592198185            Gas           Gov. Aggregation   DEO             7500040046672               Gas           Gov. Aggregation
VEDO         4021094992458617            Gas           Gov. Aggregation   DEO             6421000561709               Gas           Gov. Aggregation
VEDO         4002527592154842            Gas           Gov. Aggregation   DEO             6421001338056               Gas           Gov. Aggregation
VEDO         4017177612320466            Gas           Gov. Aggregation   DEO             3500006376405               Gas           Gov. Aggregation
VEDO         4019733662404417            Gas           Gov. Aggregation   DEO             4140000058344               Gas           Gov. Aggregation
VEDO         4017435592334685            Gas           Gov. Aggregation   DEO             8500032410600               Gas           Gov. Aggregation
VEDO         4020227812118336            Gas           Gov. Aggregation   DEO             7500015222541               Gas           Gov. Aggregation
VEDO         4020045612331835            Gas           Gov. Aggregation   DEO             9421104211595               Gas           Gov. Aggregation
VEDO         4017551592340579            Gas           Gov. Aggregation   DEO             7421005227910               Gas           Gov. Aggregation
VEDO         4004598782121274            Gas           Gov. Aggregation   DEO             9500036786773               Gas           Gov. Aggregation
VEDO         4001205612113388            Gas           Gov. Aggregation   DEO             3500003507410               Gas           Gov. Aggregation
VEDO         4021072282328749            Gas           Gov. Aggregation   DEO             0421002247247               Gas           Gov. Aggregation
VEDO         4019311832500161            Gas           Gov. Aggregation   DEO             7500028493236               Gas           Gov. Aggregation
VEDO         4021266242408703            Gas           Gov. Aggregation   VEDO            4004159562383453            Gas           Gov. Aggregation
VEDO         4018194182130955            Gas           Gov. Aggregation   VEDO            4004159562604790            Gas           Gov. Aggregation
VEDO         4021441342326520            Gas           Gov. Aggregation   VEDO            4004159562418063            Gas           Gov. Aggregation
VEDO         4016174782325527            Gas           Gov. Aggregation   DEO             5180004307162               Gas           Gov. Aggregation
VEDO         4021120832239043            Gas           Gov. Aggregation   DEO             7180001093382               Gas           Gov. Aggregation
VEDO         4001632812354406            Gas           Gov. Aggregation   DEO             0180004242758               Gas           Gov. Aggregation
VEDO         4018302592299748            Gas           Gov. Aggregation   DEO             5180002171631               Gas           Gov. Aggregation
VEDO         4021265972341308            Gas           Gov. Aggregation   DEO             2180002468210               Gas           Gov. Aggregation
VEDO         4016217712399550            Gas           Gov. Aggregation   DEO             4180006001001               Gas           Gov. Aggregation
VEDO         4021272272435102            Gas           Gov. Aggregation   DEO             3500053032675               Gas           Gov. Aggregation
VEDO         4021301302153970            Gas           Gov. Aggregation   DEO             3180007684045               Gas           Gov. Aggregation
VEDO         4020922202187211            Gas           Gov. Aggregation   DEO             1180002418593               Gas           Gov. Aggregation
VEDO         4020169842267131            Gas           Gov. Aggregation   DEO             1440204939923               Gas           Gov. Aggregation
VEDO         4016734222483880            Gas           Gov. Aggregation   DEO             3500064136103               Gas           Gov. Aggregation
VEDO         4020860712641022            Gas           Gov. Aggregation   DEO             5500048095333               Gas           Gov. Aggregation
VEDO         4004238532426715            Gas           Gov. Aggregation   VEDO            4001001312644859            Gas           Gov. Aggregation
VEDO         4021091812486851            Gas           Gov. Aggregation   VEDO            4001019712122914            Gas           Gov. Aggregation
VEDO         4015653142184122            Gas           Gov. Aggregation   VEDO            4001020862102018            Gas           Gov. Aggregation
VEDO         4020927842460216            Gas           Gov. Aggregation   VEDO            4001023382436826            Gas           Gov. Aggregation
VEDO         4004517552395675            Gas           Gov. Aggregation   VEDO            4001034742217793            Gas           Gov. Aggregation
VEDO         4003827632147191            Gas           Gov. Aggregation   VEDO            4001046912645140            Gas           Gov. Aggregation
VEDO         4019838572161169            Gas           Gov. Aggregation   VEDO            4001048902104653            Gas           Gov. Aggregation
VEDO         4019961802211279            Gas           Gov. Aggregation   VEDO            4001048902232555            Gas           Gov. Aggregation
VEDO         4021473852261131            Gas           Gov. Aggregation   DEO             6180002190549               Gas           Gov. Aggregation
VEDO         4019212282250670            Gas           Gov. Aggregation   DEO             5500038798723               Gas           Gov. Aggregation
VEDO         4020931082261426            Gas           Gov. Aggregation   DEO             3500064782568               Gas           Gov. Aggregation
VEDO         4021036662469863            Gas           Gov. Aggregation   DEO             9500021094505               Gas           Gov. Aggregation
VEDO         4021170582258775            Gas           Gov. Aggregation   DEO             8500020684993               Gas           Gov. Aggregation
VEDO         4017793392432537            Gas           Gov. Aggregation   DEO             8500066855774               Gas           Gov. Aggregation
VEDO         4019830022300464            Gas           Gov. Aggregation   DEO             8500046492693               Gas           Gov. Aggregation
VEDO         4021197762350529            Gas           Gov. Aggregation   DEO             5180008723240               Gas           Gov. Aggregation
VEDO         4021294732513840            Gas           Gov. Aggregation   DEO             6180006516429               Gas           Gov. Aggregation
VEDO         4015079532168427            Gas           Gov. Aggregation   DEO             2180010069676               Gas           Gov. Aggregation
VEDO         4017465032154135            Gas           Gov. Aggregation   DEO             4180010602777               Gas           Gov. Aggregation
VEDO         4020137322306672            Gas           Gov. Aggregation   DEO             7180008175567               Gas           Gov. Aggregation
VEDO         4021445292205555            Gas           Gov. Aggregation   DEO             1180010222592               Gas           Gov. Aggregation
VEDO         4020321032165884            Gas           Gov. Aggregation   DEO             6180009938369               Gas           Gov. Aggregation
VEDO         4021035032495633            Gas           Gov. Aggregation   DEO             6180009222399               Gas           Gov. Aggregation
VEDO         4021053512445600            Gas           Gov. Aggregation   DEO             6180010842576               Gas           Gov. Aggregation
VEDO         4020924922225180            Gas           Gov. Aggregation   DEO             7180005886030               Gas           Gov. Aggregation
VEDO         4001095992424901            Gas           Gov. Aggregation   DEO             7180012786398               Gas           Gov. Aggregation
VEDO         4016901012296566            Gas           Gov. Aggregation   DEO             0180007334445               Gas           Gov. Aggregation
VEDO         4019348382313843            Gas           Gov. Aggregation   DEO             4180013042729               Gas           Gov. Aggregation
VEDO         4019064422497532            Gas           Gov. Aggregation   DEO             1180010946421               Gas           Gov. Aggregation
VEDO         4004881812159126            Gas           Gov. Aggregation   DEO             1180011992089               Gas           Gov. Aggregation
VEDO         4021178272492219            Gas           Gov. Aggregation   DEO             7180011172845               Gas           Gov. Aggregation
VEDO         4021302282384844            Gas           Gov. Aggregation   VEDO            4004134202415286            Gas           Gov. Aggregation
VEDO         4021121182500236            Gas           Gov. Aggregation   VEDO            4003574892369757            Gas           Gov. Aggregation
VEDO         4018891132629077            Gas           Gov. Aggregation   VEDO            4004516102457123            Gas           Gov. Aggregation
VEDO         4001541932150938            Gas           Gov. Aggregation   VEDO            4005029122513980            Gas           Gov. Aggregation
VEDO         4002957242677389            Gas           Gov. Aggregation   VEDO            4005035932514732            Gas           Gov. Aggregation
VEDO         4021455372151719            Gas           Gov. Aggregation   VEDO            4021725802155011            Gas           Gov. Aggregation
VEDO         4021216342173974            Gas           Gov. Aggregation   DEO             1180010554515               Gas           Gov. Aggregation
VEDO         4004438592150458            Gas           Gov. Aggregation   COH             170691810039                Gas           Gov. Aggregation
VEDO         4021217922385627            Gas           Gov. Aggregation   COH             122441620027                Gas           Gov. Aggregation
VEDO         4020849732216999            Gas           Gov. Aggregation   DEO             6180017919425               Gas           Gov. Aggregation
VEDO         4020194112483602            Gas           Gov. Aggregation   VEDO            4017336452263082            Gas           Gov. Aggregation
VEDO         4019083792108857            Gas           Gov. Aggregation   VEDO            4004002802400944            Gas           Gov. Aggregation
VEDO         4002634752505424            Gas           Gov. Aggregation   VEDO            4021650322683099            Gas           Gov. Aggregation
VEDO         4021484722314261            Gas           Gov. Aggregation   VEDO            4021543392181776            Gas           Gov. Aggregation
VEDO         4018792682387116            Gas           Gov. Aggregation   COH             197149890013                Gas           Gov. Aggregation
VEDO         4017063872491983            Gas           Gov. Aggregation   COH             200824770029                Gas           Gov. Aggregation
VEDO         4002261012478580            Gas           Gov. Aggregation   DEO             6180018224247               Gas           Gov. Aggregation
VEDO         4019201362684100            Gas           Gov. Aggregation   COH             185439990119                Gas           Gov. Aggregation
VEDO         4019201362684101            Gas           Gov. Aggregation   COH             210022580018                Gas           Gov. Aggregation
VEDO         4019201362684102            Gas           Gov. Aggregation   COH             204909200024                Gas           Gov. Aggregation
VEDO         4019201362684103            Gas           Gov. Aggregation   COH             210789820013                Gas           Gov. Aggregation
VEDO         4019201362686470            Gas           Gov. Aggregation   COH             202889360134                Gas           Gov. Aggregation
VEDO         4019201362686471            Gas           Gov. Aggregation   COH             209121890016                Gas           Gov. Aggregation
VEDO         4021256812506575            Gas           Gov. Aggregation   DEO             1421003719107               Gas           Gov. Aggregation
VEDO         4004279692469727            Gas           Gov. Aggregation   COH             119732480114                Gas           Gov. Aggregation
VEDO         4020061002276856            Gas           Gov. Aggregation   VEDO            4018102252519899            Gas           Gov. Aggregation
VEDO         4017912512357165            Gas           Gov. Aggregation   COH             111028630015                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4021433382434714            Gas           Gov. Aggregation   DEO             5180018086838               Gas           Gov. Aggregation
VEDO         4018528182251807            Gas           Gov. Aggregation   VEDO            4004845992493545            Gas           Gov. Aggregation
VEDO         4021048702220161            Gas           Gov. Aggregation   VEDO            4018325162267456            Gas           Gov. Aggregation
VEDO         4020167832133361            Gas           Gov. Aggregation   COH             210940040015                Gas           Gov. Aggregation
VEDO         4021232592410577            Gas           Gov. Aggregation   COH             110943410021                Gas           Gov. Aggregation
VEDO         4020083722124402            Gas           Gov. Aggregation   COH             144674980014                Gas           Gov. Aggregation
VEDO         4004685772122328            Gas           Gov. Aggregation   COH             177659370060                Gas           Gov. Aggregation
VEDO         4019253842209209            Gas           Gov. Aggregation   COH             118849150028                Gas           Gov. Aggregation
VEDO         4016613412233479            Gas           Gov. Aggregation   COH             155900670015                Gas           Gov. Aggregation
VEDO         4016008092501593            Gas           Gov. Aggregation   COH             111169430019                Gas           Gov. Aggregation
VEDO         4021291282512481            Gas           Gov. Aggregation   DEO             9180017401227               Gas           Gov. Aggregation
VEDO         4019737452429433            Gas           Gov. Aggregation   DEO             6500048996746               Gas           Gov. Aggregation
VEDO         4021221592193306            Gas           Gov. Aggregation   DEO             1500061275067               Gas           Gov. Aggregation
VEDO         4019089122280414            Gas           Gov. Aggregation   DEO             9500015946279               Gas           Gov. Aggregation
VEDO         4017319672241986            Gas           Gov. Aggregation   DEO             2500050694168               Gas           Gov. Aggregation
VEDO         4017646432349616            Gas           Gov. Aggregation   DEO             4500051189020               Gas           Gov. Aggregation
VEDO         4021162532452165            Gas           Gov. Aggregation   DEO             3421001404497               Gas           Gov. Aggregation
VEDO         4019447212195276            Gas           Gov. Aggregation   DEO             7500052034379               Gas           Gov. Aggregation
VEDO         4002149522218742            Gas           Gov. Aggregation   DEO             0500053084493               Gas           Gov. Aggregation
VEDO         4020025732242150            Gas           Gov. Aggregation   DEO             9420900303220               Gas           Gov. Aggregation
VEDO         4021299612210642            Gas           Gov. Aggregation   DEO             8500029135631               Gas           Gov. Aggregation
VEDO         4021018702410145            Gas           Gov. Aggregation   DEO             8500054546225               Gas           Gov. Aggregation
VEDO         4021053902195587            Gas           Gov. Aggregation   DEO             3500053959264               Gas           Gov. Aggregation
VEDO         4021491862230952            Gas           Gov. Aggregation   DEO             6421006502288               Gas           Gov. Aggregation
VEDO         4021289422470798            Gas           Gov. Aggregation   DEO             7180017715240               Gas           Gov. Aggregation
VEDO         4021496152434486            Gas           Gov. Aggregation   VEDO            4003326742329031            Gas           Gov. Aggregation
VEDO         4019916752339714            Gas           Gov. Aggregation   VEDO            4001924562187916            Gas           Gov. Aggregation
VEDO         4021247242153621            Gas           Gov. Aggregation   VEDO            4017095452239966            Gas           Gov. Aggregation
VEDO         4020926302197799            Gas           Gov. Aggregation   VEDO            4017095722469817            Gas           Gov. Aggregation
VEDO         4020907412178644            Gas           Gov. Aggregation   VEDO            4003114962307103            Gas           Gov. Aggregation
VEDO         4021101282361460            Gas           Gov. Aggregation   VEDO            4019104252441594            Gas           Gov. Aggregation
VEDO         4015627612180804            Gas           Gov. Aggregation   VEDO            4004514932457000            Gas           Gov. Aggregation
VEDO         4018891322115393            Gas           Gov. Aggregation   VEDO            4001760702314491            Gas           Gov. Aggregation
VEDO         4021424982468375            Gas           Gov. Aggregation   DEO             1180017854265               Gas           Gov. Aggregation
VEDO         4021268342448396            Gas           Gov. Aggregation   DUKE            7960357702                  Gas           Gov. Aggregation
VEDO         4021201642260762            Gas           Gov. Aggregation   DEO             3180017661656               Gas           Gov. Aggregation
VEDO         4021252402368587            Gas           Gov. Aggregation   COH             126963800010                Gas           Gov. Aggregation
VEDO         4018864422508198            Gas           Gov. Aggregation   VEDO            4001693522463428            Gas           Gov. Aggregation
VEDO         4001250612420697            Gas           Gov. Aggregation   DEO             5180017696691               Gas           Gov. Aggregation
VEDO         4018641642377452            Gas           Gov. Aggregation   DEO             9180017794649               Gas           Gov. Aggregation
VEDO         4016534132267532            Gas           Gov. Aggregation   DEO             8180017187092               Gas           Gov. Aggregation
VEDO         4021510812676937            Gas           Gov. Aggregation   DEO             5180014262996               Gas           Gov. Aggregation
VEDO         4004263782326254            Gas           Gov. Aggregation   DEO             7440103564363               Gas           Gov. Aggregation
VEDO         4021309342408189            Gas           Gov. Aggregation   COH             175826930032                Gas           Gov. Aggregation
VEDO         4019790852222741            Gas           Gov. Aggregation   VEDO            4015897662216611            Gas           Gov. Aggregation
VEDO         4018621352488095            Gas           Gov. Aggregation   VEDO            4010009702360561            Gas           Gov. Aggregation
VEDO         4021170382263230            Gas           Gov. Aggregation   DEO             4180018265035               Gas           Gov. Aggregation
VEDO         4020166942407523            Gas           Gov. Aggregation   DEO             0500033940633               Gas           Gov. Aggregation
VEDO         4021225392512157            Gas           Gov. Aggregation   VEDO            4004964312421132            Gas           Gov. Aggregation
VEDO         4021226272359626            Gas           Gov. Aggregation   VEDO            4002477982538934            Gas           Gov. Aggregation
VEDO         4021258312187083            Gas           Gov. Aggregation   DEO             4180018006372               Gas           Gov. Aggregation
VEDO         4021284202364073            Gas           Gov. Aggregation   DUKE            6910038621                  Gas           Gov. Aggregation
VEDO         4021149502378521            Gas           Gov. Aggregation   DUKE            1650036420                  Gas           Gov. Aggregation
VEDO         4021262372394607            Gas           Gov. Aggregation   VEDO            4004076322369683            Gas           Gov. Aggregation
VEDO         4021008042519126            Gas           Gov. Aggregation   VEDO            4021608042313194            Gas           Gov. Aggregation
VEDO         4021250262501351            Gas           Gov. Aggregation   COH             118823270018                Gas           Gov. Aggregation
VEDO         4004380672271291            Gas           Gov. Aggregation   COH             117350510011                Gas           Gov. Aggregation
VEDO         4021282402464682            Gas           Gov. Aggregation   DEO             6180010956413               Gas           Gov. Aggregation
VEDO         4019937772528043            Gas           Gov. Aggregation   DEO             8180010350831               Gas           Gov. Aggregation
VEDO         4019447212318333            Gas           Gov. Aggregation   DEO             6180010758976               Gas           Gov. Aggregation
VEDO         4021193972325679            Gas           Gov. Aggregation   DEO             9180010556411               Gas           Gov. Aggregation
VEDO         4021120332150470            Gas           Gov. Aggregation   DEO             3180010993380               Gas           Gov. Aggregation
VEDO         4004916712375864            Gas           Gov. Aggregation   DEO             4180017670766               Gas           Gov. Aggregation
VEDO         4021309182218097            Gas           Gov. Aggregation   COH             160106050030                Gas           Gov. Aggregation
VEDO         4021309642102939            Gas           Gov. Aggregation   DEO             3421005719245               Gas           Gov. Aggregation
VEDO         4019779032284304            Gas           Gov. Aggregation   COH             197902450035                Gas           Gov. Aggregation
VEDO         4019779032185854            Gas           Gov. Aggregation   VEDO            4010120232446887            Gas           Gov. Aggregation
VEDO         4019779032465410            Gas           Gov. Aggregation   VEDO            4010120232486470            Gas           Gov. Aggregation
VEDO         4021111182363052            Gas           Gov. Aggregation   DEO             1180010996851               Gas           Gov. Aggregation
VEDO         4019779032203716            Gas           Gov. Aggregation   DEO             4180009619479               Gas           Gov. Aggregation
VEDO         4019779032527504            Gas           Gov. Aggregation   DEO             6180009772863               Gas           Gov. Aggregation
VEDO         4019779032108062            Gas           Gov. Aggregation   DEO             5180008248474               Gas           Gov. Aggregation
VEDO         4021288852685181            Gas           Gov. Aggregation   DEO             9500042241620               Gas           Gov. Aggregation
VEDO         4020027202409682            Gas           Gov. Aggregation   DEO             6180002045300               Gas           Gov. Aggregation
VEDO         4001815272373682            Gas           Gov. Aggregation   VEDO            4003667342364916            Gas           Gov. Aggregation
VEDO         4021115832683389            Gas           Gov. Aggregation   DUKE            3390203703                  Gas           Gov. Aggregation
VEDO         4021086042165057            Gas           Gov. Aggregation   COH             206238040029                Gas           Gov. Aggregation
VEDO         4021165802125298            Gas           Gov. Aggregation   DEO             5180017557207               Gas           Gov. Aggregation
VEDO         4018364752120361            Gas           Gov. Aggregation   DEO             7180012383856               Gas           Gov. Aggregation
VEDO         4020939782494657            Gas           Gov. Aggregation   DEO             8180017660360               Gas           Gov. Aggregation
VEDO         4021263972417795            Gas           Gov. Aggregation   DEO             2442005566010               Gas           Gov. Aggregation
VEDO         4021090822348060            Gas           Gov. Aggregation   VEDO            4003383332108670            Gas           Gov. Aggregation
VEDO         4018493822286400            Gas           Gov. Aggregation   COH             208293210016                Gas           Gov. Aggregation
VEDO         4018625312453958            Gas           Gov. Aggregation   COH             208640330014                Gas           Gov. Aggregation
VEDO         4020901142170680            Gas           Gov. Aggregation   COH             209134310010                Gas           Gov. Aggregation
VEDO         4021185172142391            Gas           Gov. Aggregation   COH             209786100013                Gas           Gov. Aggregation
VEDO         4019900912684128            Gas           Gov. Aggregation   COH             208226210017                Gas           Gov. Aggregation
VEDO         4021494422131102            Gas           Gov. Aggregation   COH             210052800018                Gas           Gov. Aggregation
VEDO         4019354822494840            Gas           Gov. Aggregation   COH             210082180016                Gas           Gov. Aggregation
VEDO         4020795162313399            Gas           Gov. Aggregation   COH             209168090016                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4020858722588373            Gas           Gov. Aggregation   COH             209055540010                Gas           Gov. Aggregation
VEDO         4019003142365591            Gas           Gov. Aggregation   COH             207791430015                Gas           Gov. Aggregation
VEDO         4021276732673585            Gas           Gov. Aggregation   COH             208013650016                Gas           Gov. Aggregation
VEDO         4001030642499531            Gas           Gov. Aggregation   COH             208781520016                Gas           Gov. Aggregation
VEDO         4019356182470300            Gas           Gov. Aggregation   COH             199370640014                Gas           Gov. Aggregation
VEDO         4021482802491166            Gas           Gov. Aggregation   COH             206758610018                Gas           Gov. Aggregation
VEDO         4016959982683030            Gas           Gov. Aggregation   COH             208745840015                Gas           Gov. Aggregation
VEDO         4021086402540835            Gas           Gov. Aggregation   COH             207824390022                Gas           Gov. Aggregation
VEDO         4003522662539705            Gas           Gov. Aggregation   COH             193691580031                Gas           Gov. Aggregation
VEDO         4021039542384249            Gas           Gov. Aggregation   COH             207105390017                Gas           Gov. Aggregation
VEDO         4021483962420059            Gas           Gov. Aggregation   COH             199023350814                Gas           Gov. Aggregation
VEDO         4019915672451423            Gas           Gov. Aggregation   COH             115507060122                Gas           Gov. Aggregation
VEDO         4020284442195351            Gas           Gov. Aggregation   COH             192518870073                Gas           Gov. Aggregation
VEDO         4020899062151160            Gas           Gov. Aggregation   COH             206684710014                Gas           Gov. Aggregation
VEDO         4003631912594179            Gas           Gov. Aggregation   COH             209224440012                Gas           Gov. Aggregation
VEDO         4005107652594262            Gas           Gov. Aggregation   COH             209791270017                Gas           Gov. Aggregation
VEDO         4021054032594191            Gas           Gov. Aggregation   COH             209814120018                Gas           Gov. Aggregation
VEDO         4021061682594231            Gas           Gov. Aggregation   COH             206864680019                Gas           Gov. Aggregation
VEDO         4021087452594185            Gas           Gov. Aggregation   COH             208956270018                Gas           Gov. Aggregation
VEDO         4021206202594264            Gas           Gov. Aggregation   COH             207204250016                Gas           Gov. Aggregation
VEDO         4021275502594316            Gas           Gov. Aggregation   COH             200584030015                Gas           Gov. Aggregation
VEDO         4002334612148347            Gas           Gov. Aggregation   COH             195268220013                Gas           Gov. Aggregation
VEDO         4019501252280672            Gas           Gov. Aggregation   COH             207305450010                Gas           Gov. Aggregation
VEDO         4021292272352051            Gas           Gov. Aggregation   COH             207021230018                Gas           Gov. Aggregation
VEDO         4021003422319571            Gas           Gov. Aggregation   COH             207918630013                Gas           Gov. Aggregation
VEDO         4021093672527389            Gas           Gov. Aggregation   VEDO            4003193402315264            Gas           Gov. Aggregation
VEDO         4020276942183433            Gas           Gov. Aggregation   VEDO            4020150392673507            Gas           Gov. Aggregation
VEDO         4021161122304020            Gas           Gov. Aggregation   VEDO            4001558582628585            Gas           Gov. Aggregation
VEDO         4021514632310001            Gas           Gov. Aggregation   VEDO            4020117702673506            Gas           Gov. Aggregation
VEDO         4021210592196845            Gas           Gov. Aggregation   VEDO            4020038922399857            Gas           Gov. Aggregation
VEDO         4017215052594225            Gas           Gov. Aggregation   VEDO            4019222192645310            Gas           Gov. Aggregation
VEDO         4019943292594215            Gas           Gov. Aggregation   VEDO            4018433482357325            Gas           Gov. Aggregation
VEDO         4021296132594257            Gas           Gov. Aggregation   VEDO            4003301702424710            Gas           Gov. Aggregation
VEDO         4021398322594253            Gas           Gov. Aggregation   VEDO            4004036582404654            Gas           Gov. Aggregation
VEDO         4021422562594248            Gas           Gov. Aggregation   VEDO            4015073922176300            Gas           Gov. Aggregation
VEDO         4021432252594281            Gas           Gov. Aggregation   VEDO            4019169322366334            Gas           Gov. Aggregation
VEDO         4021197642594213            Gas           Gov. Aggregation   VEDO            4004068382408136            Gas           Gov. Aggregation
VEDO         4021205572594284            Gas           Gov. Aggregation   VEDO            4018945782381215            Gas           Gov. Aggregation
VEDO         4021235312594216            Gas           Gov. Aggregation   VEDO            4021506412118682            Gas           Gov. Aggregation
VEDO         4021235382594199            Gas           Gov. Aggregation   VEDO            4021606202326446            Gas           Gov. Aggregation
VEDO         4021100292594299            Gas           Gov. Aggregation   VEDO            4016109252187140            Gas           Gov. Aggregation
VEDO         4018210332127367            Gas           Gov. Aggregation   VEDO            4002234302148181            Gas           Gov. Aggregation
VEDO         4015673652504014            Gas           Gov. Aggregation   VEDO            4021209232215981            Gas           Gov. Aggregation
VEDO         4017144412165869            Gas           Gov. Aggregation   VEDO            4021639472579402            Gas           Gov. Aggregation
VEDO         4016445452509174            Gas           Gov. Aggregation   VEDO            4021500132504749            Gas           Gov. Aggregation
VEDO         4003078622300999            Gas           Gov. Aggregation   VEDO            4003921822392273            Gas           Gov. Aggregation
VEDO         4015895852280300            Gas           Gov. Aggregation   VEDO            4018670082446777            Gas           Gov. Aggregation
VEDO         4015847862397649            Gas           Gov. Aggregation   VEDO            4002669512261806            Gas           Gov. Aggregation
VEDO         4015125632323934            Gas           Gov. Aggregation   VEDO            4021489892465788            Gas           Gov. Aggregation
VEDO         4021207142161179            Gas           Gov. Aggregation   VEDO            4018319352202443            Gas           Gov. Aggregation
VEDO         4021469652139310            Gas           Gov. Aggregation   VEDO            4018883072429163            Gas           Gov. Aggregation
VEDO         4015276652371479            Gas           Gov. Aggregation   VEDO            4005143572526989            Gas           Gov. Aggregation
VEDO         4019521012270078            Gas           Gov. Aggregation   VEDO            4018273382252858            Gas           Gov. Aggregation
VEDO         4020176502425277            Gas           Gov. Aggregation   VEDO            4019175172143326            Gas           Gov. Aggregation
VEDO         4021070992110254            Gas           Gov. Aggregation   VEDO            4019287692645185            Gas           Gov. Aggregation
VEDO         4004531342257731            Gas           Gov. Aggregation   VEDO            4021254402405559            Gas           Gov. Aggregation
VEDO         4017260572279073            Gas           Gov. Aggregation   VEDO            4021451102171581            Gas           Gov. Aggregation
VEDO         4004033682186009            Gas           Gov. Aggregation   VEDO            4018831342437655            Gas           Gov. Aggregation
VEDO         4019121042680274            Gas           Gov. Aggregation   VEDO            4016865842162869            Gas           Gov. Aggregation
VEDO         4018617832481556            Gas           Gov. Aggregation   VEDO            4017003502329640            Gas           Gov. Aggregation
VEDO         4021049662360578            Gas           Gov. Aggregation   VEDO            4021077272210350            Gas           Gov. Aggregation
VEDO         4018654712521362            Gas           Gov. Aggregation   VEDO            4018803842676589            Gas           Gov. Aggregation
VEDO         4015786142323689            Gas           Gov. Aggregation   VEDO            4002030052198275            Gas           Gov. Aggregation
VEDO         4021157582406565            Gas           Gov. Aggregation   VEDO            4018830812499449            Gas           Gov. Aggregation
VEDO         4019500252377214            Gas           Gov. Aggregation   VEDO            4021413822228501            Gas           Gov. Aggregation
VEDO         4021266722644088            Gas           Gov. Aggregation   VEDO            4020001092509954            Gas           Gov. Aggregation
VEDO         4020162102341447            Gas           Gov. Aggregation   VEDO            4018590642219995            Gas           Gov. Aggregation
VEDO         4021437172465947            Gas           Gov. Aggregation   VEDO            4016233682496595            Gas           Gov. Aggregation
VEDO         4016493392483487            Gas           Gov. Aggregation   VEDO            4020895532511604            Gas           Gov. Aggregation
VEDO         4021284282230540            Gas           Gov. Aggregation   VEDO            4019762642183010            Gas           Gov. Aggregation
VEDO         4003469072366803            Gas           Gov. Aggregation   VEDO            4016384152168397            Gas           Gov. Aggregation
VEDO         4021054962227400            Gas           Gov. Aggregation   VEDO            4016267902274542            Gas           Gov. Aggregation
VEDO         4021054962683162            Gas           Gov. Aggregation   VEDO            4015587302414939            Gas           Gov. Aggregation
VEDO         4021202602675198            Gas           Gov. Aggregation   VEDO            4018513732363300            Gas           Gov. Aggregation
VEDO         4021457612675190            Gas           Gov. Aggregation   VEDO            4002831792278178            Gas           Gov. Aggregation
VEDO         4021276362675192            Gas           Gov. Aggregation   VEDO            4003942982394560            Gas           Gov. Aggregation
VEDO         4003449112291357            Gas           Gov. Aggregation   COH             174127490010                Gas           Gov. Aggregation
VEDO         4021052942239978            Gas           Gov. Aggregation   COH             189591390011                Gas           Gov. Aggregation
VEDO         4020933612163927            Gas           Gov. Aggregation   COH             207963250018                Gas           Gov. Aggregation
VEDO         4021024342499552            Gas           Gov. Aggregation   COH             174608250056                Gas           Gov. Aggregation
VEDO         4001963222191768            Gas           Gov. Aggregation   COH             207338850017                Gas           Gov. Aggregation
VEDO         4021205122333417            Gas           Gov. Aggregation   COH             110453490042                Gas           Gov. Aggregation
VEDO         4003330822168116            Gas           Gov. Aggregation   COH             110453510010                Gas           Gov. Aggregation
VEDO         4019533752193648            Gas           Gov. Aggregation   COH             210267290011                Gas           Gov. Aggregation
VEDO         4021275942252254            Gas           Gov. Aggregation   COH             185311660010                Gas           Gov. Aggregation
VEDO         4021291102418490            Gas           Gov. Aggregation   COH             175836030021                Gas           Gov. Aggregation
VEDO         4016438002171531            Gas           Gov. Aggregation   COH             208477050010                Gas           Gov. Aggregation
VEDO         4021097982121527            Gas           Gov. Aggregation   COH             208784920016                Gas           Gov. Aggregation
VEDO         4020204822273960            Gas           Gov. Aggregation   COH             110504500013                Gas           Gov. Aggregation
VEDO         4021444472374415            Gas           Gov. Aggregation   COH             206169850017                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4021256452145101            Gas           Gov. Aggregation   COH             200722640013                Gas           Gov. Aggregation
VEDO         4017352842433394            Gas           Gov. Aggregation   COH             172703380022                Gas           Gov. Aggregation
VEDO         4021270512394856            Gas           Gov. Aggregation   COH             205823810018                Gas           Gov. Aggregation
VEDO         4001046912631330            Gas           Gov. Aggregation   COH             201748940024                Gas           Gov. Aggregation
VEDO         4021479742433551            Gas           Gov. Aggregation   COH             207936400013                Gas           Gov. Aggregation
VEDO         4001190382185957            Gas           Gov. Aggregation   COH             207516230019                Gas           Gov. Aggregation
VEDO         4020050682387995            Gas           Gov. Aggregation   COH             208602080017                Gas           Gov. Aggregation
VEDO         4021216802420754            Gas           Gov. Aggregation   COH             202882050017                Gas           Gov. Aggregation
VEDO         4018165782466244            Gas           Gov. Aggregation   COH             206731590019                Gas           Gov. Aggregation
VEDO         4021235692103251            Gas           Gov. Aggregation   COH             206582250017                Gas           Gov. Aggregation
VEDO         4019505902213837            Gas           Gov. Aggregation   COH             189304370030                Gas           Gov. Aggregation
VEDO         4021295462204380            Gas           Gov. Aggregation   COH             207351340034                Gas           Gov. Aggregation
VEDO         4003469072131208            Gas           Gov. Aggregation   COH             154478360036                Gas           Gov. Aggregation
VEDO         4015009382360287            Gas           Gov. Aggregation   COH             208861030019                Gas           Gov. Aggregation
VEDO         4021267922465929            Gas           Gov. Aggregation   COH             208018100011                Gas           Gov. Aggregation
VEDO         4020945182502070            Gas           Gov. Aggregation   COH             210387340016                Gas           Gov. Aggregation
VEDO         4020921552400533            Gas           Gov. Aggregation   COH             204788880011                Gas           Gov. Aggregation
VEDO         4020921552233634            Gas           Gov. Aggregation   COH             195877260023                Gas           Gov. Aggregation
VEDO         4021302802428077            Gas           Gov. Aggregation   COH             209401930013                Gas           Gov. Aggregation
VEDO         4019298192646344            Gas           Gov. Aggregation   COH             208097120011                Gas           Gov. Aggregation
VEDO         4021193222409550            Gas           Gov. Aggregation   COH             196413920089                Gas           Gov. Aggregation
VEDO         4017611532227398            Gas           Gov. Aggregation   COH             209625480014                Gas           Gov. Aggregation
VEDO         4020922292145290            Gas           Gov. Aggregation   COH             199509420033                Gas           Gov. Aggregation
VEDO         4021064632120040            Gas           Gov. Aggregation   COH             202783580016                Gas           Gov. Aggregation
VEDO         4021243412497163            Gas           Gov. Aggregation   COH             196111080022                Gas           Gov. Aggregation
VEDO         4021010102291750            Gas           Gov. Aggregation   COH             209861100013                Gas           Gov. Aggregation
VEDO         4020786352146382            Gas           Gov. Aggregation   COH             205158060017                Gas           Gov. Aggregation
VEDO         4021292712180323            Gas           Gov. Aggregation   COH             204779280016                Gas           Gov. Aggregation
VEDO         4021046462151365            Gas           Gov. Aggregation   COH             210315240018                Gas           Gov. Aggregation
VEDO         4020162322395795            Gas           Gov. Aggregation   COH             165330140031                Gas           Gov. Aggregation
VEDO         4021114922282851            Gas           Gov. Aggregation   COH             196126890012                Gas           Gov. Aggregation
VEDO         4017697952303920            Gas           Gov. Aggregation   COH             203016470031                Gas           Gov. Aggregation
VEDO         4021052372212770            Gas           Gov. Aggregation   COH             196078450026                Gas           Gov. Aggregation
VEDO         4020792892314947            Gas           Gov. Aggregation   COH             206447000015                Gas           Gov. Aggregation
VEDO         4020919332231482            Gas           Gov. Aggregation   COH             207328740011                Gas           Gov. Aggregation
VEDO         4019949752157272            Gas           Gov. Aggregation   COH             209195710018                Gas           Gov. Aggregation
VEDO         4015011512198869            Gas           Gov. Aggregation   COH             190435080022                Gas           Gov. Aggregation
VEDO         4017923292229127            Gas           Gov. Aggregation   COH             191475710051                Gas           Gov. Aggregation
VEDO         4021008112362092            Gas           Gov. Aggregation   COH             189547230017                Gas           Gov. Aggregation
VEDO         4021151742202664            Gas           Gov. Aggregation   COH             203680840018                Gas           Gov. Aggregation
VEDO         4019858702415256            Gas           Gov. Aggregation   COH             150926420036                Gas           Gov. Aggregation
VEDO         4021464732131906            Gas           Gov. Aggregation   COH             204997850014                Gas           Gov. Aggregation
VEDO         4015371602200387            Gas           Gov. Aggregation   COH             210086600019                Gas           Gov. Aggregation
VEDO         4002762082641211            Gas           Gov. Aggregation   COH             203699450011                Gas           Gov. Aggregation
VEDO         4015608042381731            Gas           Gov. Aggregation   COH             208760720018                Gas           Gov. Aggregation
VEDO         4021513512677548            Gas           Gov. Aggregation   COH             167347850071                Gas           Gov. Aggregation
VEDO         4021202842448315            Gas           Gov. Aggregation   COH             208287460017                Gas           Gov. Aggregation
VEDO         4020885322682780            Gas           Gov. Aggregation   COH             207623490018                Gas           Gov. Aggregation
VEDO         4021260772431617            Gas           Gov. Aggregation   COH             206533180033                Gas           Gov. Aggregation
VEDO         4020107972251153            Gas           Gov. Aggregation   COH             209911840011                Gas           Gov. Aggregation
VEDO         4020915222206322            Gas           Gov. Aggregation   COH             160767070036                Gas           Gov. Aggregation
VEDO         4020921322677543            Gas           Gov. Aggregation   COH             191633590104                Gas           Gov. Aggregation
VEDO         4018717952632075            Gas           Gov. Aggregation   COH             207092560010                Gas           Gov. Aggregation
VEDO         4005146212358785            Gas           Gov. Aggregation   COH             205132810022                Gas           Gov. Aggregation
VEDO         4004293082432086            Gas           Gov. Aggregation   COH             175033430467                Gas           Gov. Aggregation
VEDO         4004582402359913            Gas           Gov. Aggregation   COH             176815000931                Gas           Gov. Aggregation
VEDO         4018739792461669            Gas           Gov. Aggregation   COH             203250840019                Gas           Gov. Aggregation
VEDO         4020891242602606            Gas           Gov. Aggregation   COH             173049480420                Gas           Gov. Aggregation
VEDO         4019974812377253            Gas           Gov. Aggregation   COH             173049480439                Gas           Gov. Aggregation
VEDO         4021153242463754            Gas           Gov. Aggregation   COH             173049480635                Gas           Gov. Aggregation
VEDO         4021207462503373            Gas           Gov. Aggregation   COH             203786620010                Gas           Gov. Aggregation
VEDO         4017308942446470            Gas           Gov. Aggregation   COH             205653560012                Gas           Gov. Aggregation
VEDO         4019290382402151            Gas           Gov. Aggregation   COH             108961090070                Gas           Gov. Aggregation
VEDO         4021028732136189            Gas           Gov. Aggregation   COH             208503420015                Gas           Gov. Aggregation
VEDO         4017144232239464            Gas           Gov. Aggregation   COH             138113170074                Gas           Gov. Aggregation
VEDO         4019197742417201            Gas           Gov. Aggregation   COH             210293120011                Gas           Gov. Aggregation
VEDO         4003286512191031            Gas           Gov. Aggregation   COH             202499830016                Gas           Gov. Aggregation
VEDO         4020162072113192            Gas           Gov. Aggregation   COH             173932404901                Gas           Gov. Aggregation
VEDO         4001069172479684            Gas           Gov. Aggregation   COH             174084140024                Gas           Gov. Aggregation
VEDO         4016025032527526            Gas           Gov. Aggregation   COH             206463140012                Gas           Gov. Aggregation
VEDO         4004825012101141            Gas           Gov. Aggregation   COH             206463150010                Gas           Gov. Aggregation
VEDO         4005112282147280            Gas           Gov. Aggregation   COH             109082120030                Gas           Gov. Aggregation
VEDO         4016765302147056            Gas           Gov. Aggregation   COH             138113170065                Gas           Gov. Aggregation
VEDO         4019107862331702            Gas           Gov. Aggregation   COH             146165960051                Gas           Gov. Aggregation
VEDO         4021430522526881            Gas           Gov. Aggregation   COH             149281050017                Gas           Gov. Aggregation
VEDO         4021408722137253            Gas           Gov. Aggregation   COH             173400520032                Gas           Gov. Aggregation
VEDO         4003130912243330            Gas           Gov. Aggregation   COH             198031880013                Gas           Gov. Aggregation
VEDO         4019097792116271            Gas           Gov. Aggregation   COH             198124330048                Gas           Gov. Aggregation
VEDO         4021208262346590            Gas           Gov. Aggregation   COH             209141450016                Gas           Gov. Aggregation
VEDO         4018348712172659            Gas           Gov. Aggregation   COH             209537580010                Gas           Gov. Aggregation
VEDO         4021427612185895            Gas           Gov. Aggregation   COH             210302880011                Gas           Gov. Aggregation
VEDO         4021236102262282            Gas           Gov. Aggregation   COH             207734050015                Gas           Gov. Aggregation
VEDO         4020331072380728            Gas           Gov. Aggregation   COH             166823200050                Gas           Gov. Aggregation
VEDO         4021190452295359            Gas           Gov. Aggregation   COH             200502260019                Gas           Gov. Aggregation
VEDO         4018632652225366            Gas           Gov. Aggregation   COH             205450720018                Gas           Gov. Aggregation
VEDO         4001281722474349            Gas           Gov. Aggregation   COH             159184320158                Gas           Gov. Aggregation
VEDO         4020162072502164            Gas           Gov. Aggregation   COH             206595000012                Gas           Gov. Aggregation
VEDO         4021514522603150            Gas           Gov. Aggregation   COH             200776170028                Gas           Gov. Aggregation
VEDO         4017040392280166            Gas           Gov. Aggregation   COH             204855640018                Gas           Gov. Aggregation
VEDO         4021273562521517            Gas           Gov. Aggregation   COH             207257940010                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4018748592398141            Gas           Gov. Aggregation   COH             206146940016                Gas           Gov. Aggregation
VEDO         4018099132456528            Gas           Gov. Aggregation   COH             207870230019                Gas           Gov. Aggregation
VEDO         4021217002165107            Gas           Gov. Aggregation   COH             201061680016                Gas           Gov. Aggregation
VEDO         4021433512217477            Gas           Gov. Aggregation   COH             208662300014                Gas           Gov. Aggregation
VEDO         4015132952410601            Gas           Gov. Aggregation   COH             140169820021                Gas           Gov. Aggregation
VEDO         4020237872182037            Gas           Gov. Aggregation   COH             194871790052                Gas           Gov. Aggregation
VEDO         4001695732263084            Gas           Gov. Aggregation   COH             207061780019                Gas           Gov. Aggregation
VEDO         4003171462198887            Gas           Gov. Aggregation   COH             208703550014                Gas           Gov. Aggregation
VEDO         4017157592326848            Gas           Gov. Aggregation   COH             196162860030                Gas           Gov. Aggregation
VEDO         4016348262218281            Gas           Gov. Aggregation   COH             193046920027                Gas           Gov. Aggregation
VEDO         4018417662393350            Gas           Gov. Aggregation   COH             209732820015                Gas           Gov. Aggregation
VEDO         4003295342325738            Gas           Gov. Aggregation   COH             209492930012                Gas           Gov. Aggregation
VEDO         4019821012382129            Gas           Gov. Aggregation   COH             198555590014                Gas           Gov. Aggregation
VEDO         4021098092534696            Gas           Gov. Aggregation   COH             186773800048                Gas           Gov. Aggregation
VEDO         4021469462205979            Gas           Gov. Aggregation   COH             209061340019                Gas           Gov. Aggregation
VEDO         4001658672162089            Gas           Gov. Aggregation   COH             185884310038                Gas           Gov. Aggregation
VEDO         4004120172646102            Gas           Gov. Aggregation   COH             195770230034                Gas           Gov. Aggregation
VEDO         4002846622233502            Gas           Gov. Aggregation   COH             208241260015                Gas           Gov. Aggregation
VEDO         4021518672253497            Gas           Gov. Aggregation   COH             202654830016                Gas           Gov. Aggregation
VEDO         4021310342303165            Gas           Gov. Aggregation   COH             156348480034                Gas           Gov. Aggregation
VEDO         4003960062396363            Gas           Gov. Aggregation   COH             210168200019                Gas           Gov. Aggregation
VEDO         4001818162630960            Gas           Gov. Aggregation   COH             204389690017                Gas           Gov. Aggregation
VEDO         4020915172197208            Gas           Gov. Aggregation   COH             202619840018                Gas           Gov. Aggregation
VEDO         4020045822140834            Gas           Gov. Aggregation   COH             204656030027                Gas           Gov. Aggregation
VEDO         4018518202254900            Gas           Gov. Aggregation   COH             203121660029                Gas           Gov. Aggregation
VEDO         4017546002423691            Gas           Gov. Aggregation   COH             208175340019                Gas           Gov. Aggregation
VEDO         4021162372442234            Gas           Gov. Aggregation   COH             171524300074                Gas           Gov. Aggregation
VEDO         4021400882254687            Gas           Gov. Aggregation   COH             186891410022                Gas           Gov. Aggregation
VEDO         4004835032124371            Gas           Gov. Aggregation   COH             187302140043                Gas           Gov. Aggregation
VEDO         4019384712215503            Gas           Gov. Aggregation   COH             210241450011                Gas           Gov. Aggregation
VEDO         4018273972333385            Gas           Gov. Aggregation   COH             208342170010                Gas           Gov. Aggregation
VEDO         4018134292331809            Gas           Gov. Aggregation   COH             202799140024                Gas           Gov. Aggregation
VEDO         4021297212408831            Gas           Gov. Aggregation   COH             163712130071                Gas           Gov. Aggregation
VEDO         4004732782481013            Gas           Gov. Aggregation   COH             155931000074                Gas           Gov. Aggregation
VEDO         4020019832402906            Gas           Gov. Aggregation   COH             209305780019                Gas           Gov. Aggregation
VEDO         4019834592321888            Gas           Gov. Aggregation   COH             210106560014                Gas           Gov. Aggregation
VEDO         4010049362343496            Gas           Gov. Aggregation   COH             171839390042                Gas           Gov. Aggregation
VEDO         4003691772624061            Gas           Gov. Aggregation   COH             208893770017                Gas           Gov. Aggregation
VEDO         4019100382419029            Gas           Gov. Aggregation   COH             209501140017                Gas           Gov. Aggregation
VEDO         4016790432286899            Gas           Gov. Aggregation   COH             185488900034                Gas           Gov. Aggregation
VEDO         4017411112378872            Gas           Gov. Aggregation   COH             210002080015                Gas           Gov. Aggregation
VEDO         4017059512675253            Gas           Gov. Aggregation   COH             108730190023                Gas           Gov. Aggregation
VEDO         4015457152361309            Gas           Gov. Aggregation   COH             209975660015                Gas           Gov. Aggregation
VEDO         4015542972286187            Gas           Gov. Aggregation   COH             202167420033                Gas           Gov. Aggregation
VEDO         4021444042675789            Gas           Gov. Aggregation   COH             208654080018                Gas           Gov. Aggregation
VEDO         4021499692111259            Gas           Gov. Aggregation   COH             201810000028                Gas           Gov. Aggregation
VEDO         4020326892675070            Gas           Gov. Aggregation   COH             193571450023                Gas           Gov. Aggregation
VEDO         4021214982532680            Gas           Gov. Aggregation   COH             166523560015                Gas           Gov. Aggregation
VEDO         4021463722499285            Gas           Gov. Aggregation   COH             108747510048                Gas           Gov. Aggregation
VEDO         4020939912466659            Gas           Gov. Aggregation   COH             155597970026                Gas           Gov. Aggregation
VEDO         4018740692336508            Gas           Gov. Aggregation   COH             207700600010                Gas           Gov. Aggregation
VEDO         4021172752367189            Gas           Gov. Aggregation   COH             202649170025                Gas           Gov. Aggregation
VEDO         4019393032137678            Gas           Gov. Aggregation   COH             201679220022                Gas           Gov. Aggregation
VEDO         4017845452234897            Gas           Gov. Aggregation   COH             195603020031                Gas           Gov. Aggregation
VEDO         4017353172517636            Gas           Gov. Aggregation   COH             201734640017                Gas           Gov. Aggregation
VEDO         4021274122270617            Gas           Gov. Aggregation   COH             207090230022                Gas           Gov. Aggregation
VEDO         4021076232258407            Gas           Gov. Aggregation   COH             175481700023                Gas           Gov. Aggregation
VEDO         4021426772510429            Gas           Gov. Aggregation   COH             159428630039                Gas           Gov. Aggregation
VEDO         4004267032452587            Gas           Gov. Aggregation   COH             208493340015                Gas           Gov. Aggregation
VEDO         4019936012505048            Gas           Gov. Aggregation   COH             202338960019                Gas           Gov. Aggregation
VEDO         4021191482514217            Gas           Gov. Aggregation   COH             210159540017                Gas           Gov. Aggregation
VEDO         4001258672419276            Gas           Gov. Aggregation   COH             193833800050                Gas           Gov. Aggregation
VEDO         4021096032327336            Gas           Gov. Aggregation   COH             208800890017                Gas           Gov. Aggregation
VEDO         4021011492346536            Gas           Gov. Aggregation   COH             201826630023                Gas           Gov. Aggregation
VEDO         4021164472113999            Gas           Gov. Aggregation   COH             207376050015                Gas           Gov. Aggregation
VEDO         4018680112104155            Gas           Gov. Aggregation   COH             208214680014                Gas           Gov. Aggregation
VEDO         4021311402473017            Gas           Gov. Aggregation   COH             209027840016                Gas           Gov. Aggregation
VEDO         4010034462210449            Gas           Gov. Aggregation   COH             197084810035                Gas           Gov. Aggregation
VEDO         4021269952523852            Gas           Gov. Aggregation   COH             185782110045                Gas           Gov. Aggregation
VEDO         4018684972491785            Gas           Gov. Aggregation   COH             203590170029                Gas           Gov. Aggregation
VEDO         4019946082260942            Gas           Gov. Aggregation   COH             208537090014                Gas           Gov. Aggregation
VEDO         4021093662291263            Gas           Gov. Aggregation   COH             210049210019                Gas           Gov. Aggregation
VEDO         4021409922272627            Gas           Gov. Aggregation   COH             207478880015                Gas           Gov. Aggregation
VEDO         4021481282136126            Gas           Gov. Aggregation   COH             201535640028                Gas           Gov. Aggregation
VEDO         4004858172494893            Gas           Gov. Aggregation   COH             210523720016                Gas           Gov. Aggregation
VEDO         4021119832346150            Gas           Gov. Aggregation   COH             177578320080                Gas           Gov. Aggregation
VEDO         4021164342303175            Gas           Gov. Aggregation   COH             204041960016                Gas           Gov. Aggregation
VEDO         4021209852364394            Gas           Gov. Aggregation   COH             172393440028                Gas           Gov. Aggregation
VEDO         4021418672487940            Gas           Gov. Aggregation   COH             206683510018                Gas           Gov. Aggregation
VEDO         4020930912388816            Gas           Gov. Aggregation   COH             168923230050                Gas           Gov. Aggregation
VEDO         4021448032193591            Gas           Gov. Aggregation   COH             167568060024                Gas           Gov. Aggregation
VEDO         4018214992173105            Gas           Gov. Aggregation   COH             197003430026                Gas           Gov. Aggregation
VEDO         4021440092406531            Gas           Gov. Aggregation   COH             206575370017                Gas           Gov. Aggregation
VEDO         4021510822633181            Gas           Gov. Aggregation   COH             207656450017                Gas           Gov. Aggregation
VEDO         4019224722207204            Gas           Gov. Aggregation   COH             203950360016                Gas           Gov. Aggregation
VEDO         4016011982237719            Gas           Gov. Aggregation   COH             199500910029                Gas           Gov. Aggregation
VEDO         4021420842365837            Gas           Gov. Aggregation   COH             210353930013                Gas           Gov. Aggregation
VEDO         4019513362471275            Gas           Gov. Aggregation   COH             208749040015                Gas           Gov. Aggregation
VEDO         4020213162293847            Gas           Gov. Aggregation   COH             206526270011                Gas           Gov. Aggregation
VEDO         4020873122197985            Gas           Gov. Aggregation   COH             208464080011                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4020316372633683            Gas           Gov. Aggregation   COH             204718850014                Gas           Gov. Aggregation
VEDO         4005013532270850            Gas           Gov. Aggregation   COH             207097950018                Gas           Gov. Aggregation
VEDO         4020910002311147            Gas           Gov. Aggregation   COH             175626410044                Gas           Gov. Aggregation
VEDO         4021173842562661            Gas           Gov. Aggregation   COH             210324990012                Gas           Gov. Aggregation
VEDO         4019503412311701            Gas           Gov. Aggregation   COH             203130650013                Gas           Gov. Aggregation
VEDO         4021159982151976            Gas           Gov. Aggregation   COH             160878270011                Gas           Gov. Aggregation
VEDO         4018198782439506            Gas           Gov. Aggregation   COH             141324640019                Gas           Gov. Aggregation
VEDO         4020300452346341            Gas           Gov. Aggregation   COH             207574650019                Gas           Gov. Aggregation
VEDO         4021281552303267            Gas           Gov. Aggregation   COH             200994950022                Gas           Gov. Aggregation
VEDO         4019221672200827            Gas           Gov. Aggregation   COH             208834350019                Gas           Gov. Aggregation
VEDO         4017021072347502            Gas           Gov. Aggregation   COH             203719360016                Gas           Gov. Aggregation
VEDO         4001968622192270            Gas           Gov. Aggregation   COH             210168210017                Gas           Gov. Aggregation
VEDO         4021484452442535            Gas           Gov. Aggregation   COH             194603890030                Gas           Gov. Aggregation
VEDO         4019492012283097            Gas           Gov. Aggregation   COH             166422650010                Gas           Gov. Aggregation
VEDO         4019189552331109            Gas           Gov. Aggregation   COH             205813610011                Gas           Gov. Aggregation
VEDO         4021478452125668            Gas           Gov. Aggregation   COH             202979000012                Gas           Gov. Aggregation
VEDO         4021478142329626            Gas           Gov. Aggregation   COH             138952470028                Gas           Gov. Aggregation
VEDO         4019333032102532            Gas           Gov. Aggregation   COH             196998460024                Gas           Gov. Aggregation
VEDO         4019876322247996            Gas           Gov. Aggregation   COH             204200690024                Gas           Gov. Aggregation
VEDO         4018772792400844            Gas           Gov. Aggregation   COH             210116330011                Gas           Gov. Aggregation
VEDO         4017476472104773            Gas           Gov. Aggregation   COH             203195400037                Gas           Gov. Aggregation
VEDO         4001162962438169            Gas           Gov. Aggregation   COH             205510090013                Gas           Gov. Aggregation
VEDO         4021118332125448            Gas           Gov. Aggregation   COH             206321060019                Gas           Gov. Aggregation
VEDO         4018599602336357            Gas           Gov. Aggregation   COH             210532000018                Gas           Gov. Aggregation
VEDO         4019513152302974            Gas           Gov. Aggregation   COH             200521240013                Gas           Gov. Aggregation
VEDO         4021114142421817            Gas           Gov. Aggregation   COH             202921560016                Gas           Gov. Aggregation
VEDO         4021230472261637            Gas           Gov. Aggregation   COH             208001810017                Gas           Gov. Aggregation
VEDO         4020945372464520            Gas           Gov. Aggregation   COH             204978820010                Gas           Gov. Aggregation
VEDO         4004150272146918            Gas           Gov. Aggregation   COH             208501650011                Gas           Gov. Aggregation
VEDO         4015972662673220            Gas           Gov. Aggregation   COH             210385620011                Gas           Gov. Aggregation
VEDO         4017888352680145            Gas           Gov. Aggregation   COH             209762430014                Gas           Gov. Aggregation
VEDO         4021300512389474            Gas           Gov. Aggregation   COH             196708360028                Gas           Gov. Aggregation
VEDO         4021466682454826            Gas           Gov. Aggregation   COH             208248890019                Gas           Gov. Aggregation
VEDO         4021055882143577            Gas           Gov. Aggregation   COH             203571690011                Gas           Gov. Aggregation
VEDO         4004439022516471            Gas           Gov. Aggregation   COH             200213970022                Gas           Gov. Aggregation
VEDO         4001138382440870            Gas           Gov. Aggregation   COH             209165140020                Gas           Gov. Aggregation
VEDO         4002971812676007            Gas           Gov. Aggregation   COH             209596080011                Gas           Gov. Aggregation
VEDO         4021501912209463            Gas           Gov. Aggregation   COH             186783890978                Gas           Gov. Aggregation
VEDO         4021168612452802            Gas           Gov. Aggregation   COH             172576490057                Gas           Gov. Aggregation
VEDO         4021115932452496            Gas           Gov. Aggregation   COH             204822820019                Gas           Gov. Aggregation
VEDO         4020939962646663            Gas           Gov. Aggregation   COH             172979140118                Gas           Gov. Aggregation
VEDO         4017849502413587            Gas           Gov. Aggregation   COH             202552410010                Gas           Gov. Aggregation
VEDO         4015791462645837            Gas           Gov. Aggregation   COH             205885200016                Gas           Gov. Aggregation
VEDO         4018354472352860            Gas           Gov. Aggregation   COH             207721020018                Gas           Gov. Aggregation
VEDO         4017449452114490            Gas           Gov. Aggregation   COH             209857420015                Gas           Gov. Aggregation
VEDO         4004473062396824            Gas           Gov. Aggregation   COH             170028890083                Gas           Gov. Aggregation
VEDO         4021444252204068            Gas           Gov. Aggregation   COH             205453110010                Gas           Gov. Aggregation
VEDO         4004090952590766            Gas           Gov. Aggregation   COH             194341880010                Gas           Gov. Aggregation
VEDO         4001501382684622            Gas           Gov. Aggregation   COH             207558190010                Gas           Gov. Aggregation
VEDO         4004824962588620            Gas           Gov. Aggregation   COH             176188610032                Gas           Gov. Aggregation
VEDO         4016655002645740            Gas           Gov. Aggregation   COH             148480950035                Gas           Gov. Aggregation
VEDO         4021229242405720            Gas           Gov. Aggregation   COH             208508180016                Gas           Gov. Aggregation
VEDO         4019367762281773            Gas           Gov. Aggregation   COH             186588910011                Gas           Gov. Aggregation
VEDO         4015319792641813            Gas           Gov. Aggregation   COH             205491990016                Gas           Gov. Aggregation
VEDO         4021308712301955            Gas           Gov. Aggregation   COH             207113180014                Gas           Gov. Aggregation
VEDO         4019933522492906            Gas           Gov. Aggregation   COH             205205380019                Gas           Gov. Aggregation
VEDO         4015216122684475            Gas           Gov. Aggregation   COH             108716700016                Gas           Gov. Aggregation
VEDO         4020914122612560            Gas           Gov. Aggregation   COH             207620550011                Gas           Gov. Aggregation
VEDO         4020912392477313            Gas           Gov. Aggregation   COH             204451250025                Gas           Gov. Aggregation
VEDO         4003682392123281            Gas           Gov. Aggregation   COH             210296560013                Gas           Gov. Aggregation
VEDO         4015282922325701            Gas           Gov. Aggregation   COH             208501640013                Gas           Gov. Aggregation
VEDO         4017669002161519            Gas           Gov. Aggregation   COH             203622550020                Gas           Gov. Aggregation
VEDO         4018469202296045            Gas           Gov. Aggregation   COH             200232000034                Gas           Gov. Aggregation
VEDO         4019941172361548            Gas           Gov. Aggregation   COH             207017700018                Gas           Gov. Aggregation
VEDO         4021494642144683            Gas           Gov. Aggregation   COH             108672710170                Gas           Gov. Aggregation
VEDO         4021256872216825            Gas           Gov. Aggregation   COH             205029390011                Gas           Gov. Aggregation
VEDO         4020902512303738            Gas           Gov. Aggregation   COH             209027850014                Gas           Gov. Aggregation
VEDO         4019826162187229            Gas           Gov. Aggregation   COH             203001690018                Gas           Gov. Aggregation
VEDO         4015589552303202            Gas           Gov. Aggregation   COH             207251240019                Gas           Gov. Aggregation
VEDO         4002153042595109            Gas           Gov. Aggregation   COH             206116310039                Gas           Gov. Aggregation
VEDO         4021503652450362            Gas           Gov. Aggregation   COH             205045920015                Gas           Gov. Aggregation
VEDO         4019412142455568            Gas           Gov. Aggregation   COH             108741320531                Gas           Gov. Aggregation
VEDO         4015388862526523            Gas           Gov. Aggregation   COH             208580670011                Gas           Gov. Aggregation
VEDO         4021488252178240            Gas           Gov. Aggregation   COH             207346840012                Gas           Gov. Aggregation
VEDO         4020162072684985            Gas           Gov. Aggregation   COH             204327710030                Gas           Gov. Aggregation
VEDO         4021049272215437            Gas           Gov. Aggregation   COH             200830580035                Gas           Gov. Aggregation
VEDO         4021433982472637            Gas           Gov. Aggregation   COH             206107020011                Gas           Gov. Aggregation
VEDO         4020104322150536            Gas           Gov. Aggregation   COH             197805160032                Gas           Gov. Aggregation
VEDO         4021157012371622            Gas           Gov. Aggregation   COH             207013390012                Gas           Gov. Aggregation
VEDO         4019886302126577            Gas           Gov. Aggregation   COH             189637480023                Gas           Gov. Aggregation
VEDO         4019886302193367            Gas           Gov. Aggregation   COH             175185480055                Gas           Gov. Aggregation
VEDO         4003762772343841            Gas           Gov. Aggregation   COH             144771010011                Gas           Gov. Aggregation
VEDO         4020162072264568            Gas           Gov. Aggregation   COH             209636910010                Gas           Gov. Aggregation
VEDO         4020162072387759            Gas           Gov. Aggregation   COH             199488730034                Gas           Gov. Aggregation
VEDO         4021076262182071            Gas           Gov. Aggregation   COH             108684680038                Gas           Gov. Aggregation
VEDO         4020162072300982            Gas           Gov. Aggregation   COH             207695020015                Gas           Gov. Aggregation
VEDO         4021251842219015            Gas           Gov. Aggregation   COH             136120400027                Gas           Gov. Aggregation
VEDO         4018183132108287            Gas           Gov. Aggregation   COH             210206580018                Gas           Gov. Aggregation
VEDO         4015028072306227            Gas           Gov. Aggregation   COH             196263070014                Gas           Gov. Aggregation
VEDO         4016580952132500            Gas           Gov. Aggregation   COH             197950420021                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4018470982501013            Gas           Gov. Aggregation   COH             171032190044                Gas           Gov. Aggregation
VEDO            4021059952330100            Gas           Gov. Aggregation   COH             108701670032                Gas           Gov. Aggregation
VEDO            4018792512224767            Gas           Gov. Aggregation   COH             137182330049                Gas           Gov. Aggregation
VEDO            4021031752648001            Gas           Gov. Aggregation   COH             150801600087                Gas           Gov. Aggregation
VEDO            4021061292598998            Gas           Gov. Aggregation   COH             210116290010                Gas           Gov. Aggregation
VEDO            4015947072536947            Gas           Gov. Aggregation   COH             206225620015                Gas           Gov. Aggregation
VEDO            4021425782435204            Gas           Gov. Aggregation   COH             210326970012                Gas           Gov. Aggregation
VEDO            4020923362676311            Gas           Gov. Aggregation   COH             203347530028                Gas           Gov. Aggregation
VEDO            4020885882679433            Gas           Gov. Aggregation   COH             191896710022                Gas           Gov. Aggregation
VEDO            4019336652476619            Gas           Gov. Aggregation   COH             206554520028                Gas           Gov. Aggregation
VEDO            4021052452431218            Gas           Gov. Aggregation   COH             209524790013                Gas           Gov. Aggregation
VEDO            4021175282648918            Gas           Gov. Aggregation   COH             208856780013                Gas           Gov. Aggregation
VEDO            4015075102640351            Gas           Gov. Aggregation   COH             193701340029                Gas           Gov. Aggregation
VEDO            4021037002116114            Gas           Gov. Aggregation   COH             198591670057                Gas           Gov. Aggregation
VEDO            4001777772676250            Gas           Gov. Aggregation   COH             108755780027                Gas           Gov. Aggregation
VEDO            4015081552180289            Gas           Gov. Aggregation   COH             167696670043                Gas           Gov. Aggregation
VEDO            4016698902296282            Gas           Gov. Aggregation   COH             134442320079                Gas           Gov. Aggregation
VEDO            4003566972430788            Gas           Gov. Aggregation   COH             209706720011                Gas           Gov. Aggregation
VEDO            4015658042454076            Gas           Gov. Aggregation   COH             155274010021                Gas           Gov. Aggregation
VEDO            4010017042584994            Gas           Gov. Aggregation   COH             208485240013                Gas           Gov. Aggregation
VEDO            4021481162462896            Gas           Gov. Aggregation   COH             208102380014                Gas           Gov. Aggregation
VEDO            4021110442455067            Gas           Gov. Aggregation   COH             205742210016                Gas           Gov. Aggregation
VEDO            4001140292676488            Gas           Gov. Aggregation   COH             200514020032                Gas           Gov. Aggregation
VEDO            4019153672345374            Gas           Gov. Aggregation   COH             208412510019                Gas           Gov. Aggregation
VEDO            4020197372479450            Gas           Gov. Aggregation   COH             207865790013                Gas           Gov. Aggregation
VEDO            4021310592267636            Gas           Gov. Aggregation   COH             209365760017                Gas           Gov. Aggregation
VEDO            4021047322140343            Gas           Gov. Aggregation   COH             108667250034                Gas           Gov. Aggregation
VEDO            4002030112276279            Gas           Gov. Aggregation   COH             206509550027                Gas           Gov. Aggregation
VEDO            4021499872338095            Gas           Gov. Aggregation   COH             205220530015                Gas           Gov. Aggregation
VEDO            4020903352399615            Gas           Gov. Aggregation   COH             191702360034                Gas           Gov. Aggregation
VEDO            4005045172344183            Gas           Gov. Aggregation   COH             206976300011                Gas           Gov. Aggregation
VEDO            4021425372206683            Gas           Gov. Aggregation   COH             177063850017                Gas           Gov. Aggregation
COH             208441350012                Gas           Gov. Aggregation   COH             175347990036                Gas           Gov. Aggregation
COH             208008480013                Gas           Gov. Aggregation   COH             201050240020                Gas           Gov. Aggregation
COH             205617060013                Gas           Gov. Aggregation   COH             186367410023                Gas           Gov. Aggregation
COH             204539150011                Gas           Gov. Aggregation   COH             165196370011                Gas           Gov. Aggregation
COH             193363200062                Gas           Gov. Aggregation   COH             203280320015                Gas           Gov. Aggregation
COH             206958740017                Gas           Gov. Aggregation   COH             201030320025                Gas           Gov. Aggregation
COH             207817030013                Gas           Gov. Aggregation   COH             210296570011                Gas           Gov. Aggregation
COH             201840320019                Gas           Gov. Aggregation   COH             202537080021                Gas           Gov. Aggregation
COH             203216170030                Gas           Gov. Aggregation   COH             191883250017                Gas           Gov. Aggregation
COH             123863750187                Gas           Gov. Aggregation   COH             199269580012                Gas           Gov. Aggregation
COH             203349020012                Gas           Gov. Aggregation   COH             208102390012                Gas           Gov. Aggregation
COH             205573380010                Gas           Gov. Aggregation   COH             205602230027                Gas           Gov. Aggregation
COH             153823530029                Gas           Gov. Aggregation   COH             207983690014                Gas           Gov. Aggregation
COH             207436790012                Gas           Gov. Aggregation   COH             206937460029                Gas           Gov. Aggregation
COH             207419850015                Gas           Gov. Aggregation   COH             206336700022                Gas           Gov. Aggregation
COH             204127050033                Gas           Gov. Aggregation   COH             209454720016                Gas           Gov. Aggregation
COH             188436760094                Gas           Gov. Aggregation   COH             114713290048                Gas           Gov. Aggregation
COH             204343720016                Gas           Gov. Aggregation   COH             207076630019                Gas           Gov. Aggregation
COH             203208290032                Gas           Gov. Aggregation   COH             108736820046                Gas           Gov. Aggregation
COH             123881520025                Gas           Gov. Aggregation   COH             206022100032                Gas           Gov. Aggregation
COH             207923580013                Gas           Gov. Aggregation   COH             206417920015                Gas           Gov. Aggregation
COH             208153480016                Gas           Gov. Aggregation   COH             173705720016                Gas           Gov. Aggregation
COH             207554280019                Gas           Gov. Aggregation   COH             197457130028                Gas           Gov. Aggregation
COH             123893340046                Gas           Gov. Aggregation   COH             209174300018                Gas           Gov. Aggregation
COH             153822940016                Gas           Gov. Aggregation   COH             201137140027                Gas           Gov. Aggregation
VEDO            4020924072632359            Gas           Gov. Aggregation   COH             173089230053                Gas           Gov. Aggregation
VEDO            4019052822375161            Gas           Gov. Aggregation   COH             204808240011                Gas           Gov. Aggregation
VEDO            4021245332570716            Gas           Gov. Aggregation   COH             209683840016                Gas           Gov. Aggregation
VEDO            4021409612449543            Gas           Gov. Aggregation   COH             206824080019                Gas           Gov. Aggregation
VEDO            4001000812541076            Gas           Gov. Aggregation   COH             204656790019                Gas           Gov. Aggregation
VEDO            4004260182298613            Gas           Gov. Aggregation   COH             170421390299                Gas           Gov. Aggregation
VEDO            4021232062124765            Gas           Gov. Aggregation   COH             200308700027                Gas           Gov. Aggregation
VEDO            4018563232682993            Gas           Gov. Aggregation   COH             205714190010                Gas           Gov. Aggregation
VEDO            4019197582590134            Gas           Gov. Aggregation   COH             185020660017                Gas           Gov. Aggregation
VEDO            4003921112672552            Gas           Gov. Aggregation   COH             200998750026                Gas           Gov. Aggregation
VEDO            4001566142392732            Gas           Gov. Aggregation   COH             108758050024                Gas           Gov. Aggregation
VEDO            4021493972286600            Gas           Gov. Aggregation   COH             208342150014                Gas           Gov. Aggregation
VEDO            4003672172582171            Gas           Gov. Aggregation   COH             203563000012                Gas           Gov. Aggregation
VEDO            4015993272239653            Gas           Gov. Aggregation   COH             168121100039                Gas           Gov. Aggregation
VEDO            4020929612177509            Gas           Gov. Aggregation   COH             209573410019                Gas           Gov. Aggregation
VEDO            4021248812519690            Gas           Gov. Aggregation   COH             205250580030                Gas           Gov. Aggregation
VEDO            4021231462262117            Gas           Gov. Aggregation   COH             205250580058                Gas           Gov. Aggregation
VEDO            4021182732505696            Gas           Gov. Aggregation   COH             205730220019                Gas           Gov. Aggregation
VEDO            4021216772150467            Gas           Gov. Aggregation   COH             206443340012                Gas           Gov. Aggregation
VEDO            4003206062498458            Gas           Gov. Aggregation   COH             108719180010                Gas           Gov. Aggregation
VEDO            4021235972268981            Gas           Gov. Aggregation   COH             203768250034                Gas           Gov. Aggregation
VEDO            4019160232362885            Gas           Gov. Aggregation   COH             208098180017                Gas           Gov. Aggregation
VEDO            4021442882484550            Gas           Gov. Aggregation   COH             208791050014                Gas           Gov. Aggregation
VEDO            4003226952463002            Gas           Gov. Aggregation   COH             164584910051                Gas           Gov. Aggregation
VEDO            4021278342330518            Gas           Gov. Aggregation   COH             204057000023                Gas           Gov. Aggregation
VEDO            4019955322164293            Gas           Gov. Aggregation   COH             108720120019                Gas           Gov. Aggregation
VEDO            4001343492383397            Gas           Gov. Aggregation   COH             205104200010                Gas           Gov. Aggregation
VEDO            4017100102148736            Gas           Gov. Aggregation   COH             207328750019                Gas           Gov. Aggregation
VEDO            4018765762420962            Gas           Gov. Aggregation   COH             210152010012                Gas           Gov. Aggregation
VEDO            4020258612477269            Gas           Gov. Aggregation   COH             129405340025                Gas           Gov. Aggregation
VEDO            4021262682602100            Gas           Gov. Aggregation   COH             189305070013                Gas           Gov. Aggregation
VEDO            4019768652124029            Gas           Gov. Aggregation   COH             205626300022                Gas           Gov. Aggregation
VEDO            4021097682417702            Gas           Gov. Aggregation   COH             208551310017                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4021445242613881            Gas           Gov. Aggregation   COH             206546010013                Gas           Gov. Aggregation
VEDO         4020797722508386            Gas           Gov. Aggregation   COH             196390270040                Gas           Gov. Aggregation
VEDO         4021399792627329            Gas           Gov. Aggregation   COH             193952770028                Gas           Gov. Aggregation
VEDO         4021419742170969            Gas           Gov. Aggregation   COH             203636140027                Gas           Gov. Aggregation
VEDO         4021471412327294            Gas           Gov. Aggregation   COH             208576440018                Gas           Gov. Aggregation
VEDO         4017331742152360            Gas           Gov. Aggregation   COH             209622200018                Gas           Gov. Aggregation
VEDO         4018965742173713            Gas           Gov. Aggregation   COH             162906740028                Gas           Gov. Aggregation
VEDO         4021220872340486            Gas           Gov. Aggregation   COH             205266740015                Gas           Gov. Aggregation
VEDO         4004588952108830            Gas           Gov. Aggregation   COH             186980150064                Gas           Gov. Aggregation
VEDO         4001136892488431            Gas           Gov. Aggregation   COH             203885970026                Gas           Gov. Aggregation
VEDO         4018730612121416            Gas           Gov. Aggregation   COH             203814170014                Gas           Gov. Aggregation
VEDO         4021484702465427            Gas           Gov. Aggregation   COH             203892370018                Gas           Gov. Aggregation
VEDO         4002976752487664            Gas           Gov. Aggregation   COH             210282190010                Gas           Gov. Aggregation
VEDO         4020916132115054            Gas           Gov. Aggregation   COH             208990280014                Gas           Gov. Aggregation
VEDO         4020928072478360            Gas           Gov. Aggregation   COH             176815001092                Gas           Gov. Aggregation
VEDO         4019480762190361            Gas           Gov. Aggregation   COH             109098081679                Gas           Gov. Aggregation
VEDO         4021458572400014            Gas           Gov. Aggregation   COH             206260990014                Gas           Gov. Aggregation
VEDO         4017646892165467            Gas           Gov. Aggregation   COH             210375050012                Gas           Gov. Aggregation
VEDO         4021088002448756            Gas           Gov. Aggregation   COH             207850980014                Gas           Gov. Aggregation
VEDO         4021439252200634            Gas           Gov. Aggregation   COH             185541220042                Gas           Gov. Aggregation
VEDO         4021240152316576            Gas           Gov. Aggregation   COH             208580670039                Gas           Gov. Aggregation
VEDO         4003644242213632            Gas           Gov. Aggregation   COH             206443070019                Gas           Gov. Aggregation
VEDO         4021081662345290            Gas           Gov. Aggregation   COH             209654930018                Gas           Gov. Aggregation
VEDO         4005061492517656            Gas           Gov. Aggregation   COH             200369110050                Gas           Gov. Aggregation
VEDO         4020274932293327            Gas           Gov. Aggregation   COH             206763820022                Gas           Gov. Aggregation
VEDO         4021409212275910            Gas           Gov. Aggregation   COH             206830700015                Gas           Gov. Aggregation
VEDO         4021409212494565            Gas           Gov. Aggregation   COH             204753760019                Gas           Gov. Aggregation
VEDO         4021409212391582            Gas           Gov. Aggregation   COH             207451950016                Gas           Gov. Aggregation
VEDO         4004643372261428            Gas           Gov. Aggregation   COH             207936410011                Gas           Gov. Aggregation
VEDO         4021471052300391            Gas           Gov. Aggregation   COH             208609760010                Gas           Gov. Aggregation
VEDO         4016431842278217            Gas           Gov. Aggregation   COH             209454710018                Gas           Gov. Aggregation
VEDO         4016256722413701            Gas           Gov. Aggregation   COH             209099980016                Gas           Gov. Aggregation
VEDO         4020785332176266            Gas           Gov. Aggregation   COH             206705550021                Gas           Gov. Aggregation
VEDO         4015746052108531            Gas           Gov. Aggregation   COH             203798210020                Gas           Gov. Aggregation
VEDO         4021231572346261            Gas           Gov. Aggregation   COH             204732290012                Gas           Gov. Aggregation
VEDO         4015394562226334            Gas           Gov. Aggregation   COH             206907770018                Gas           Gov. Aggregation
VEDO         4021292412468862            Gas           Gov. Aggregation   COH             207346820016                Gas           Gov. Aggregation
VEDO         4021424772142753            Gas           Gov. Aggregation   COH             206766250017                Gas           Gov. Aggregation
VEDO         4021440962136323            Gas           Gov. Aggregation   COH             210375040014                Gas           Gov. Aggregation
VEDO         4018208192472046            Gas           Gov. Aggregation   COH             209407970013                Gas           Gov. Aggregation
VEDO         4003803902319230            Gas           Gov. Aggregation   COH             199089080037                Gas           Gov. Aggregation
VEDO         4015444222498362            Gas           Gov. Aggregation   COH             209691030019                Gas           Gov. Aggregation
VEDO         4021094122127467            Gas           Gov. Aggregation   COH             209330770018                Gas           Gov. Aggregation
VEDO         4021094122303369            Gas           Gov. Aggregation   COH             209658210011                Gas           Gov. Aggregation
VEDO         4021094122411336            Gas           Gov. Aggregation   COH             203104900033                Gas           Gov. Aggregation
VEDO         4021094122460328            Gas           Gov. Aggregation   COH             209911860017                Gas           Gov. Aggregation
VEDO         4021094122201252            Gas           Gov. Aggregation   COH             206273850052                Gas           Gov. Aggregation
VEDO         4021094122468379            Gas           Gov. Aggregation   COH             207211780010                Gas           Gov. Aggregation
VEDO         4021094122358119            Gas           Gov. Aggregation   COH             206840980016                Gas           Gov. Aggregation
VEDO         4017122482428846            Gas           Gov. Aggregation   COH             207994860015                Gas           Gov. Aggregation
VEDO         4021094122262417            Gas           Gov. Aggregation   COH             208036450010                Gas           Gov. Aggregation
VEDO         4021094122157820            Gas           Gov. Aggregation   COH             208431020012                Gas           Gov. Aggregation
VEDO         4020209802529822            Gas           Gov. Aggregation   COH             208543180012                Gas           Gov. Aggregation
VEDO         4021193712241362            Gas           Gov. Aggregation   COH             199950920015                Gas           Gov. Aggregation
VEDO         4021256512301440            Gas           Gov. Aggregation   COH             185055010029                Gas           Gov. Aggregation
VEDO         4021264062118044            Gas           Gov. Aggregation   COH             208281040017                Gas           Gov. Aggregation
VEDO         4019017272358699            Gas           Gov. Aggregation   COH             193019820034                Gas           Gov. Aggregation
VEDO         4019948972360038            Gas           Gov. Aggregation   COH             195434140035                Gas           Gov. Aggregation
VEDO         4015308332437521            Gas           Gov. Aggregation   COH             203734650022                Gas           Gov. Aggregation
VEDO         4021005502327353            Gas           Gov. Aggregation   COH             207915080015                Gas           Gov. Aggregation
VEDO         4019367572460395            Gas           Gov. Aggregation   COH             154850870020                Gas           Gov. Aggregation
VEDO         4021089042408801            Gas           Gov. Aggregation   COH             195262940050                Gas           Gov. Aggregation
VEDO         4016326692267188            Gas           Gov. Aggregation   COH             202268850011                Gas           Gov. Aggregation
VEDO         4021100222446548            Gas           Gov. Aggregation   COH             204425090024                Gas           Gov. Aggregation
VEDO         4018677132201640            Gas           Gov. Aggregation   COH             161717950035                Gas           Gov. Aggregation
VEDO         4020837522489915            Gas           Gov. Aggregation   COH             209421100015                Gas           Gov. Aggregation
VEDO         4021514112270143            Gas           Gov. Aggregation   COH             170551670035                Gas           Gov. Aggregation
VEDO         4021071912299772            Gas           Gov. Aggregation   COH             149294060036                Gas           Gov. Aggregation
VEDO         4021311752522887            Gas           Gov. Aggregation   COH             204048410017                Gas           Gov. Aggregation
VEDO         4020218812364025            Gas           Gov. Aggregation   COH             206847610019                Gas           Gov. Aggregation
VEDO         4020931252229632            Gas           Gov. Aggregation   COH             210055900011                Gas           Gov. Aggregation
VEDO         4016117712266904            Gas           Gov. Aggregation   COH             209119780014                Gas           Gov. Aggregation
VEDO         4018332792163062            Gas           Gov. Aggregation   COH             206474880023                Gas           Gov. Aggregation
VEDO         4004055802388332            Gas           Gov. Aggregation   COH             204557570015                Gas           Gov. Aggregation
VEDO         4021121732286525            Gas           Gov. Aggregation   COH             169826380045                Gas           Gov. Aggregation
VEDO         4021300742513977            Gas           Gov. Aggregation   COH             204950290010                Gas           Gov. Aggregation
VEDO         4021199772183733            Gas           Gov. Aggregation   COH             204914960033                Gas           Gov. Aggregation
VEDO         4002851642270587            Gas           Gov. Aggregation   COH             203306440014                Gas           Gov. Aggregation
VEDO         4001881562504333            Gas           Gov. Aggregation   COH             207568600012                Gas           Gov. Aggregation
VEDO         4018398602141604            Gas           Gov. Aggregation   COH             207865780015                Gas           Gov. Aggregation
VEDO         4020907622507786            Gas           Gov. Aggregation   COH             193795010021                Gas           Gov. Aggregation
VEDO         4021226652517344            Gas           Gov. Aggregation   COH             166250910038                Gas           Gov. Aggregation
VEDO         4002699272450331            Gas           Gov. Aggregation   COH             199810660034                Gas           Gov. Aggregation
VEDO         4018263102182950            Gas           Gov. Aggregation   COH             207453840015                Gas           Gov. Aggregation
VEDO         4018378842173927            Gas           Gov. Aggregation   COH             204761880035                Gas           Gov. Aggregation
VEDO         4015726312513162            Gas           Gov. Aggregation   COH             206993130011                Gas           Gov. Aggregation
VEDO         4021464562526438            Gas           Gov. Aggregation   COH             208967680019                Gas           Gov. Aggregation
VEDO         4021150742432666            Gas           Gov. Aggregation   COH             203757660031                Gas           Gov. Aggregation
VEDO         4021312252431469            Gas           Gov. Aggregation   COH             200288160034                Gas           Gov. Aggregation
VEDO         4020012042122876            Gas           Gov. Aggregation   COH             207235360018                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4015676312109964            Gas           Gov. Aggregation   COH             208508160010                Gas           Gov. Aggregation
VEDO         4001076652470066            Gas           Gov. Aggregation   COH             209584740017                Gas           Gov. Aggregation
VEDO         4017104382137382            Gas           Gov. Aggregation   COH             108715900016                Gas           Gov. Aggregation
VEDO         4004562672514138            Gas           Gov. Aggregation   COH             209117760012                Gas           Gov. Aggregation
VEDO         4021439222120839            Gas           Gov. Aggregation   COH             206440390018                Gas           Gov. Aggregation
VEDO         4021485402110231            Gas           Gov. Aggregation   COH             192415800039                Gas           Gov. Aggregation
VEDO         4016859392397943            Gas           Gov. Aggregation   COH             209713130010                Gas           Gov. Aggregation
VEDO         4020020052454692            Gas           Gov. Aggregation   COH             144722100042                Gas           Gov. Aggregation
VEDO         4021488322353811            Gas           Gov. Aggregation   COH             149627580021                Gas           Gov. Aggregation
VEDO         4019391022479954            Gas           Gov. Aggregation   COH             161070720142                Gas           Gov. Aggregation
VEDO         4021431532417090            Gas           Gov. Aggregation   COH             203031910018                Gas           Gov. Aggregation
VEDO         4020943422536104            Gas           Gov. Aggregation   COH             173049480528                Gas           Gov. Aggregation
VEDO         4021271262536103            Gas           Gov. Aggregation   COH             177638830067                Gas           Gov. Aggregation
VEDO         4020933422279329            Gas           Gov. Aggregation   COH             203227650018                Gas           Gov. Aggregation
VEDO         4018036182403025            Gas           Gov. Aggregation   COH             108729810025                Gas           Gov. Aggregation
VEDO         4021027392405039            Gas           Gov. Aggregation   COH             197520450035                Gas           Gov. Aggregation
VEDO         4019007412432788            Gas           Gov. Aggregation   COH             203440570059                Gas           Gov. Aggregation
VEDO         4020916932357513            Gas           Gov. Aggregation   COH             204197240018                Gas           Gov. Aggregation
VEDO         4021479102441334            Gas           Gov. Aggregation   COH             204143050020                Gas           Gov. Aggregation
VEDO         4019126742386601            Gas           Gov. Aggregation   COH             208642340018                Gas           Gov. Aggregation
VEDO         4016344832286364            Gas           Gov. Aggregation   COH             207383490018                Gas           Gov. Aggregation
VEDO         4019184812526201            Gas           Gov. Aggregation   COH             207113200019                Gas           Gov. Aggregation
VEDO         4021102282253392            Gas           Gov. Aggregation   COH             205720900017                Gas           Gov. Aggregation
VEDO         4017210502173144            Gas           Gov. Aggregation   COH             203010870011                Gas           Gov. Aggregation
VEDO         4021209212364286            Gas           Gov. Aggregation   COH             207038750014                Gas           Gov. Aggregation
VEDO         4021399682346260            Gas           Gov. Aggregation   COH             209510400013                Gas           Gov. Aggregation
VEDO         4016871292213597            Gas           Gov. Aggregation   COH             198166720039                Gas           Gov. Aggregation
VEDO         4003281162510879            Gas           Gov. Aggregation   COH             203339860017                Gas           Gov. Aggregation
VEDO         4003950512381401            Gas           Gov. Aggregation   COH             158680550097                Gas           Gov. Aggregation
VEDO         4018954042147096            Gas           Gov. Aggregation   COH             190291520025                Gas           Gov. Aggregation
VEDO         4019200992320647            Gas           Gov. Aggregation   COH             175388470057                Gas           Gov. Aggregation
VEDO         4017630722319170            Gas           Gov. Aggregation   COH             193454540031                Gas           Gov. Aggregation
VEDO         4019436342678684            Gas           Gov. Aggregation   COH             206270730017                Gas           Gov. Aggregation
VEDO         4021228522683293            Gas           Gov. Aggregation   COH             209775270011                Gas           Gov. Aggregation
VEDO         4003021372625754            Gas           Gov. Aggregation   COH             206945760010                Gas           Gov. Aggregation
VEDO         4021180142672018            Gas           Gov. Aggregation   COH             207198180016                Gas           Gov. Aggregation
VEDO         4020091792684530            Gas           Gov. Aggregation   COH             207274220015                Gas           Gov. Aggregation
VEDO         4001201312677372            Gas           Gov. Aggregation   COH             205911540018                Gas           Gov. Aggregation
VEDO         4021063192297480            Gas           Gov. Aggregation   COH             197775810021                Gas           Gov. Aggregation
VEDO         4021302032625717            Gas           Gov. Aggregation   COH             206463130014                Gas           Gov. Aggregation
VEDO         4021149632625700            Gas           Gov. Aggregation   COH             173049480402                Gas           Gov. Aggregation
VEDO         4021463402625720            Gas           Gov. Aggregation   COH             208921380018                Gas           Gov. Aggregation
VEDO         4019838602359746            Gas           Gov. Aggregation   COH             205985150015                Gas           Gov. Aggregation
VEDO         4021031532188474            Gas           Gov. Aggregation   COH             203874280015                Gas           Gov. Aggregation
VEDO         4021453782122094            Gas           Gov. Aggregation   COH             165975690101                Gas           Gov. Aggregation
VEDO         4021241332124659            Gas           Gov. Aggregation   COH             210534020010                Gas           Gov. Aggregation
VEDO         4021018982476002            Gas           Gov. Aggregation   COH             208922990018                Gas           Gov. Aggregation
VEDO         4021033242396732            Gas           Gov. Aggregation   COH             208881680011                Gas           Gov. Aggregation
VEDO         4021308932329529            Gas           Gov. Aggregation   COH             198657010028                Gas           Gov. Aggregation
VEDO         4019279582303701            Gas           Gov. Aggregation   COH             145690490030                Gas           Gov. Aggregation
VEDO         4021519542513223            Gas           Gov. Aggregation   COH             193847020055                Gas           Gov. Aggregation
VEDO         4021166722167771            Gas           Gov. Aggregation   COH             195812330015                Gas           Gov. Aggregation
VEDO         4021285222520552            Gas           Gov. Aggregation   COH             198866000045                Gas           Gov. Aggregation
VEDO         4021177792299970            Gas           Gov. Aggregation   COH             208387880017                Gas           Gov. Aggregation
VEDO         4016584742525861            Gas           Gov. Aggregation   COH             204611090010                Gas           Gov. Aggregation
VEDO         4021434972318307            Gas           Gov. Aggregation   COH             209002330015                Gas           Gov. Aggregation
VEDO         4021415732372291            Gas           Gov. Aggregation   COH             177578320062                Gas           Gov. Aggregation
VEDO         4021258292261841            Gas           Gov. Aggregation   COH             154721810043                Gas           Gov. Aggregation
VEDO         4017943122176042            Gas           Gov. Aggregation   COH             196758360023                Gas           Gov. Aggregation
VEDO         4018921222466361            Gas           Gov. Aggregation   COH             208662310021                Gas           Gov. Aggregation
VEDO         4021280192336690            Gas           Gov. Aggregation   COH             209875510018                Gas           Gov. Aggregation
VEDO         4020947232511320            Gas           Gov. Aggregation   COH             209985200010                Gas           Gov. Aggregation
VEDO         4019192632120102            Gas           Gov. Aggregation   COH             207159540012                Gas           Gov. Aggregation
VEDO         4015484632404382            Gas           Gov. Aggregation   COH             209738150014                Gas           Gov. Aggregation
VEDO         4021291972145490            Gas           Gov. Aggregation   COH             206155060030                Gas           Gov. Aggregation
VEDO         4021087892523627            Gas           Gov. Aggregation   COH             207169920011                Gas           Gov. Aggregation
VEDO         4020800142432420            Gas           Gov. Aggregation   COH             208061070017                Gas           Gov. Aggregation
VEDO         4003989072324294            Gas           Gov. Aggregation   COH             108718880042                Gas           Gov. Aggregation
VEDO         4021214772455340            Gas           Gov. Aggregation   COH             155496280016                Gas           Gov. Aggregation
VEDO         4019865992136919            Gas           Gov. Aggregation   COH             202167410044                Gas           Gov. Aggregation
VEDO         4019488462311474            Gas           Gov. Aggregation   COH             204125240019                Gas           Gov. Aggregation
VEDO         4021220922503530            Gas           Gov. Aggregation   COH             208241270013                Gas           Gov. Aggregation
VEDO         4021445222401489            Gas           Gov. Aggregation   COH             165644860026                Gas           Gov. Aggregation
VEDO         4016499452297709            Gas           Gov. Aggregation   COH             194066990020                Gas           Gov. Aggregation
VEDO         4021158412307779            Gas           Gov. Aggregation   COH             209267870012                Gas           Gov. Aggregation
VEDO         4021518202207405            Gas           Gov. Aggregation   COH             148341000056                Gas           Gov. Aggregation
VEDO         4002776852159970            Gas           Gov. Aggregation   COH             210293300013                Gas           Gov. Aggregation
VEDO         4016295832122438            Gas           Gov. Aggregation   COH             198257510049                Gas           Gov. Aggregation
VEDO         4021397252453824            Gas           Gov. Aggregation   COH             202531260016                Gas           Gov. Aggregation
VEDO         4020943822229193            Gas           Gov. Aggregation   COH             208165390010                Gas           Gov. Aggregation
VEDO         4018237382384105            Gas           Gov. Aggregation   COH             157431390035                Gas           Gov. Aggregation
VEDO         4017238342268604            Gas           Gov. Aggregation   COH             208514340019                Gas           Gov. Aggregation
VEDO         4001559562346316            Gas           Gov. Aggregation   COH             195965010028                Gas           Gov. Aggregation
VEDO         4019857012453178            Gas           Gov. Aggregation   COH             210476410012                Gas           Gov. Aggregation
VEDO         4017903442256224            Gas           Gov. Aggregation   COH             209034580016                Gas           Gov. Aggregation
VEDO         4018728972404690            Gas           Gov. Aggregation   COH             209956430013                Gas           Gov. Aggregation
VEDO         4021182382499797            Gas           Gov. Aggregation   COH             196577000022                Gas           Gov. Aggregation
VEDO         4016294512173389            Gas           Gov. Aggregation   COH             202945240013                Gas           Gov. Aggregation
VEDO         4015881922259820            Gas           Gov. Aggregation   COH             200660920025                Gas           Gov. Aggregation
VEDO         4016326282287412            Gas           Gov. Aggregation   COH             197963580049                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4021460122403233            Gas           Gov. Aggregation   COH             188415830075                Gas           Gov. Aggregation
VEDO         4021238402199057            Gas           Gov. Aggregation   COH             210196290012                Gas           Gov. Aggregation
VEDO         4021095592253536            Gas           Gov. Aggregation   COH             139120030068                Gas           Gov. Aggregation
VEDO         4018421752513481            Gas           Gov. Aggregation   COH             195895500024                Gas           Gov. Aggregation
VEDO         4004391842137010            Gas           Gov. Aggregation   COH             201466670029                Gas           Gov. Aggregation
VEDO         4004290012107120            Gas           Gov. Aggregation   COH             201144090014                Gas           Gov. Aggregation
VEDO         4018774272400219            Gas           Gov. Aggregation   COH             204534660014                Gas           Gov. Aggregation
VEDO         4021489642183471            Gas           Gov. Aggregation   COH             207113190012                Gas           Gov. Aggregation
VEDO         4020944652244497            Gas           Gov. Aggregation   COH             208222190010                Gas           Gov. Aggregation
VEDO         4017146132449572            Gas           Gov. Aggregation   COH             145864260048                Gas           Gov. Aggregation
VEDO         4021414242384826            Gas           Gov. Aggregation   COH             145864260057                Gas           Gov. Aggregation
VEDO         4021165892457809            Gas           Gov. Aggregation   COH             205661970019                Gas           Gov. Aggregation
VEDO         4021455452421939            Gas           Gov. Aggregation   COH             206748380018                Gas           Gov. Aggregation
VEDO         4021247532473458            Gas           Gov. Aggregation   COH             204666680039                Gas           Gov. Aggregation
VEDO         4021419252469416            Gas           Gov. Aggregation   COH             206582960018                Gas           Gov. Aggregation
VEDO         4017397092683301            Gas           Gov. Aggregation   COH             207188260010                Gas           Gov. Aggregation
VEDO         4021030012405305            Gas           Gov. Aggregation   COH             159675620047                Gas           Gov. Aggregation
VEDO         4021289812324371            Gas           Gov. Aggregation   COH             204260360018                Gas           Gov. Aggregation
VEDO         4019766132408553            Gas           Gov. Aggregation   COH             108666940022                Gas           Gov. Aggregation
VEDO         4021232092189304            Gas           Gov. Aggregation   COH             208399990019                Gas           Gov. Aggregation
VEDO         4016402592420035            Gas           Gov. Aggregation   COH             206675910011                Gas           Gov. Aggregation
VEDO         4018982712276324            Gas           Gov. Aggregation   COH             201663670030                Gas           Gov. Aggregation
VEDO         4018729222144495            Gas           Gov. Aggregation   COH             208821580018                Gas           Gov. Aggregation
VEDO         4021274822128682            Gas           Gov. Aggregation   COH             203289690038                Gas           Gov. Aggregation
VEDO         4019817292154986            Gas           Gov. Aggregation   COH             202681110038                Gas           Gov. Aggregation
VEDO         4004027962329826            Gas           Gov. Aggregation   COH             208013860012                Gas           Gov. Aggregation
VEDO         4010025222144732            Gas           Gov. Aggregation   COH             130035590025                Gas           Gov. Aggregation
VEDO         4017443382318966            Gas           Gov. Aggregation   COH             168961190086                Gas           Gov. Aggregation
VEDO         4021054102360139            Gas           Gov. Aggregation   COH             207044580017                Gas           Gov. Aggregation
VEDO         4021399232522566            Gas           Gov. Aggregation   COH             204858760017                Gas           Gov. Aggregation
VEDO         4018848322140252            Gas           Gov. Aggregation   COH             108764370042                Gas           Gov. Aggregation
VEDO         4018499562328847            Gas           Gov. Aggregation   COH             165318880041                Gas           Gov. Aggregation
VEDO         4018780382401350            Gas           Gov. Aggregation   COH             206232320013                Gas           Gov. Aggregation
VEDO         4017682362239070            Gas           Gov. Aggregation   COH             210353850010                Gas           Gov. Aggregation
VEDO         4001847912379444            Gas           Gov. Aggregation   COH             108726530048                Gas           Gov. Aggregation
VEDO         4018247082364549            Gas           Gov. Aggregation   COH             207626870012                Gas           Gov. Aggregation
VEDO         4021101032117275            Gas           Gov. Aggregation   COH             203491530014                Gas           Gov. Aggregation
VEDO         4004877442375358            Gas           Gov. Aggregation   COH             208160560014                Gas           Gov. Aggregation
VEDO         4003928202107049            Gas           Gov. Aggregation   COH             204588950010                Gas           Gov. Aggregation
VEDO         4021230362427065            Gas           Gov. Aggregation   COH             210086610017                Gas           Gov. Aggregation
VEDO         4018639772403747            Gas           Gov. Aggregation   COH             203787420010                Gas           Gov. Aggregation
VEDO         4020076582464725            Gas           Gov. Aggregation   COH             205387390013                Gas           Gov. Aggregation
VEDO         4019900032459978            Gas           Gov. Aggregation   COH             209134090017                Gas           Gov. Aggregation
VEDO         4021045662139721            Gas           Gov. Aggregation   COH             205759090017                Gas           Gov. Aggregation
VEDO         4021249962244823            Gas           Gov. Aggregation   COH             208160570012                Gas           Gov. Aggregation
VEDO         4017754212111637            Gas           Gov. Aggregation   COH             132142040049                Gas           Gov. Aggregation
VEDO         4021488302113392            Gas           Gov. Aggregation   COH             206772710026                Gas           Gov. Aggregation
VEDO         4004300962187561            Gas           Gov. Aggregation   COH             203728140022                Gas           Gov. Aggregation
VEDO         4015203882505454            Gas           Gov. Aggregation   COH             197124460033                Gas           Gov. Aggregation
VEDO         4021509802392906            Gas           Gov. Aggregation   COH             194178540018                Gas           Gov. Aggregation
VEDO         4018828982342158            Gas           Gov. Aggregation   COH             205378160010                Gas           Gov. Aggregation
VEDO         4004541162392443            Gas           Gov. Aggregation   COH             205656670013                Gas           Gov. Aggregation
VEDO         4004541162437789            Gas           Gov. Aggregation   COH             198790520029                Gas           Gov. Aggregation
VEDO         4021231072176717            Gas           Gov. Aggregation   COH             208841760018                Gas           Gov. Aggregation
VEDO         4021401002383753            Gas           Gov. Aggregation   COH             163333710046                Gas           Gov. Aggregation
VEDO         4021188392352661            Gas           Gov. Aggregation   COH             205525020016                Gas           Gov. Aggregation
VEDO         4021188392390760            Gas           Gov. Aggregation   COH             196738350036                Gas           Gov. Aggregation
VEDO         4021188392104514            Gas           Gov. Aggregation   COH             207772110012                Gas           Gov. Aggregation
VEDO         4021188392398799            Gas           Gov. Aggregation   COH             108751030022                Gas           Gov. Aggregation
VEDO         4021188392311688            Gas           Gov. Aggregation   COH             166768650081                Gas           Gov. Aggregation
VEDO         4021188392352710            Gas           Gov. Aggregation   COH             158810080133                Gas           Gov. Aggregation
VEDO         4017905892367789            Gas           Gov. Aggregation   COH             189867590078                Gas           Gov. Aggregation
VEDO         4002942582277383            Gas           Gov. Aggregation   COH             209720940015                Gas           Gov. Aggregation
VEDO         4019962312138536            Gas           Gov. Aggregation   COH             176823840054                Gas           Gov. Aggregation
VEDO         4016223082221336            Gas           Gov. Aggregation   COH             204637680012                Gas           Gov. Aggregation
VEDO         4019349802179567            Gas           Gov. Aggregation   COH             203776780018                Gas           Gov. Aggregation
VEDO         4003349092682953            Gas           Gov. Aggregation   COH             204217750017                Gas           Gov. Aggregation
VEDO         4003349092683648            Gas           Gov. Aggregation   COH             198915220017                Gas           Gov. Aggregation
VEDO         4003669762365181            Gas           Gov. Aggregation   COH             208697300011                Gas           Gov. Aggregation
VEDO         4021513702374452            Gas           Gov. Aggregation   COH             194773560021                Gas           Gov. Aggregation
VEDO         4019956472320024            Gas           Gov. Aggregation   COH             207543770019                Gas           Gov. Aggregation
VEDO         4018824272207556            Gas           Gov. Aggregation   COH             209222430018                Gas           Gov. Aggregation
VEDO         4018824272486332            Gas           Gov. Aggregation   COH             185557750039                Gas           Gov. Aggregation
VEDO         4021170252232293            Gas           Gov. Aggregation   COH             207180400016                Gas           Gov. Aggregation
VEDO         4020087962319997            Gas           Gov. Aggregation   COH             204013380017                Gas           Gov. Aggregation
VEDO         4002356342139591            Gas           Gov. Aggregation   COH             204408680026                Gas           Gov. Aggregation
VEDO         4021401002205462            Gas           Gov. Aggregation   COH             209963390017                Gas           Gov. Aggregation
VEDO         4021401002496584            Gas           Gov. Aggregation   COH             206070480014                Gas           Gov. Aggregation
VEDO         4017346982454626            Gas           Gov. Aggregation   COH             151573680183                Gas           Gov. Aggregation
VEDO         4017343602403631            Gas           Gov. Aggregation   COH             202924210013                Gas           Gov. Aggregation
VEDO         4021300172184386            Gas           Gov. Aggregation   COH             185185650020                Gas           Gov. Aggregation
VEDO         4018711272319694            Gas           Gov. Aggregation   COH             206298670012                Gas           Gov. Aggregation
VEDO         4018039662483902            Gas           Gov. Aggregation   COH             133767960014                Gas           Gov. Aggregation
VEDO         4018404682238365            Gas           Gov. Aggregation   COH             206627380014                Gas           Gov. Aggregation
VEDO         4003228872175069            Gas           Gov. Aggregation   COH             129301760045                Gas           Gov. Aggregation
VEDO         4002188072216909            Gas           Gov. Aggregation   COH             204884390010                Gas           Gov. Aggregation
VEDO         4021252592458137            Gas           Gov. Aggregation   COH             209711640017                Gas           Gov. Aggregation
VEDO         4020202012289424            Gas           Gov. Aggregation   COH             200112090067                Gas           Gov. Aggregation
VEDO         4021257202582969            Gas           Gov. Aggregation   COH             206526250015                Gas           Gov. Aggregation
VEDO         4004004932462500            Gas           Gov. Aggregation   COH             204858770015                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4021299632477571            Gas           Gov. Aggregation   COH             205685290012                Gas           Gov. Aggregation
VEDO         4020317982438574            Gas           Gov. Aggregation   COH             207989510019                Gas           Gov. Aggregation
VEDO         4003118472422149            Gas           Gov. Aggregation   COH             207289020016                Gas           Gov. Aggregation
VEDO         4018778202146149            Gas           Gov. Aggregation   COH             210023060015                Gas           Gov. Aggregation
VEDO         4018233072317726            Gas           Gov. Aggregation   COH             136465530397                Gas           Gov. Aggregation
VEDO         4017709212385899            Gas           Gov. Aggregation   COH             207994870013                Gas           Gov. Aggregation
VEDO         4003008922246579            Gas           Gov. Aggregation   COH             204907790016                Gas           Gov. Aggregation
VEDO         4021166782330498            Gas           Gov. Aggregation   COH             208164960012                Gas           Gov. Aggregation
VEDO         4020284012435773            Gas           Gov. Aggregation   COH             209605520017                Gas           Gov. Aggregation
VEDO         4017905892472335            Gas           Gov. Aggregation   COH             202521540027                Gas           Gov. Aggregation
VEDO         4001818982465390            Gas           Gov. Aggregation   COH             194651960025                Gas           Gov. Aggregation
VEDO         4017590042110932            Gas           Gov. Aggregation   COH             145643390067                Gas           Gov. Aggregation
VEDO         4018646972220107            Gas           Gov. Aggregation   COH             200526120027                Gas           Gov. Aggregation
VEDO         4017645962264722            Gas           Gov. Aggregation   COH             209100000016                Gas           Gov. Aggregation
VEDO         4004254352123000            Gas           Gov. Aggregation   COH             206744550010                Gas           Gov. Aggregation
VEDO         4015052192203731            Gas           Gov. Aggregation   COH             206554530017                Gas           Gov. Aggregation
VEDO         4003887482104978            Gas           Gov. Aggregation   COH             209501130019                Gas           Gov. Aggregation
VEDO         4021415552413552            Gas           Gov. Aggregation   COH             176815000959                Gas           Gov. Aggregation
VEDO         4018542762308111            Gas           Gov. Aggregation   COH             204214260016                Gas           Gov. Aggregation
VEDO         4021288792357279            Gas           Gov. Aggregation   COH             208673970011                Gas           Gov. Aggregation
VEDO         4002065442225877            Gas           Gov. Aggregation   COH             206751260016                Gas           Gov. Aggregation
VEDO         4003537872480965            Gas           Gov. Aggregation   COH             208876590011                Gas           Gov. Aggregation
VEDO         4017228142485523            Gas           Gov. Aggregation   COH             202895110017                Gas           Gov. Aggregation
VEDO         4016739232495141            Gas           Gov. Aggregation   COH             207768840018                Gas           Gov. Aggregation
VEDO         4018722482429685            Gas           Gov. Aggregation   COH             207758490013                Gas           Gov. Aggregation
VEDO         4021008352365109            Gas           Gov. Aggregation   COH             196334170021                Gas           Gov. Aggregation
VEDO         4021518262157986            Gas           Gov. Aggregation   COH             145653540037                Gas           Gov. Aggregation
VEDO         4019026972428219            Gas           Gov. Aggregation   COH             172218180023                Gas           Gov. Aggregation
VEDO         4021246812377740            Gas           Gov. Aggregation   COH             205164770024                Gas           Gov. Aggregation
VEDO         4021250672237857            Gas           Gov. Aggregation   COH             205213510014                Gas           Gov. Aggregation
VEDO         4021424822350847            Gas           Gov. Aggregation   COH             206652830016                Gas           Gov. Aggregation
VEDO         4004380482419327            Gas           Gov. Aggregation   COH             206651240012                Gas           Gov. Aggregation
VEDO         4001656972212024            Gas           Gov. Aggregation   COH             206040690031                Gas           Gov. Aggregation
VEDO         4021074212281448            Gas           Gov. Aggregation   COH             177129280035                Gas           Gov. Aggregation
VEDO         4021049162425697            Gas           Gov. Aggregation   COH             210531990013                Gas           Gov. Aggregation
VEDO         4003708202167113            Gas           Gov. Aggregation   COH             194819870028                Gas           Gov. Aggregation
VEDO         4021228792185914            Gas           Gov. Aggregation   COH             193642890048                Gas           Gov. Aggregation
VEDO         4017905892149624            Gas           Gov. Aggregation   COH             205873110010                Gas           Gov. Aggregation
VEDO         4017905892196456            Gas           Gov. Aggregation   COH             208523300018                Gas           Gov. Aggregation
VEDO         4002754952110376            Gas           Gov. Aggregation   COH             210131040010                Gas           Gov. Aggregation
VEDO         4021504462318922            Gas           Gov. Aggregation   COH             206916020025                Gas           Gov. Aggregation
VEDO         4021166042398914            Gas           Gov. Aggregation   COH             207440900019                Gas           Gov. Aggregation
VEDO         4021405162453876            Gas           Gov. Aggregation   COH             189579420074                Gas           Gov. Aggregation
VEDO         4021446192235788            Gas           Gov. Aggregation   COH             201479310018                Gas           Gov. Aggregation
VEDO         4020085232148182            Gas           Gov. Aggregation   COH             209911850019                Gas           Gov. Aggregation
VEDO         4018096342456986            Gas           Gov. Aggregation   COH             205250560016                Gas           Gov. Aggregation
VEDO         4019027162361727            Gas           Gov. Aggregation   COH             157230030045                Gas           Gov. Aggregation
VEDO         4019246342511211            Gas           Gov. Aggregation   COH             153704380087                Gas           Gov. Aggregation
VEDO         4017550512128708            Gas           Gov. Aggregation   COH             207346800010                Gas           Gov. Aggregation
VEDO         4021010872315902            Gas           Gov. Aggregation   COH             206260980016                Gas           Gov. Aggregation
VEDO         4021059832472002            Gas           Gov. Aggregation   COH             130291520045                Gas           Gov. Aggregation
VEDO         4001922412340285            Gas           Gov. Aggregation   COH             209185750011                Gas           Gov. Aggregation
VEDO         4021473652499208            Gas           Gov. Aggregation   COH             209365070012                Gas           Gov. Aggregation
VEDO         4021280552227293            Gas           Gov. Aggregation   COH             209714740010                Gas           Gov. Aggregation
VEDO         4010029762379163            Gas           Gov. Aggregation   COH             203970200017                Gas           Gov. Aggregation
VEDO         4021514192381850            Gas           Gov. Aggregation   COH             171521880024                Gas           Gov. Aggregation
VEDO         4017693312143348            Gas           Gov. Aggregation   COH             202583440019                Gas           Gov. Aggregation
VEDO         4021182882160788            Gas           Gov. Aggregation   COH             202782420011                Gas           Gov. Aggregation
VEDO         4021224542105690            Gas           Gov. Aggregation   COH             209018880017                Gas           Gov. Aggregation
VEDO         4016425272486386            Gas           Gov. Aggregation   COH             196509050070                Gas           Gov. Aggregation
VEDO         4016638772306512            Gas           Gov. Aggregation   COH             210055890014                Gas           Gov. Aggregation
VEDO         4017610972518138            Gas           Gov. Aggregation   COH             168564190060                Gas           Gov. Aggregation
VEDO         4004068042247152            Gas           Gov. Aggregation   COH             197615650014                Gas           Gov. Aggregation
VEDO         4019431812395882            Gas           Gov. Aggregation   COH             208893360013                Gas           Gov. Aggregation
VEDO         4021283802385082            Gas           Gov. Aggregation   COH             208381440011                Gas           Gov. Aggregation
VEDO         4021419612311160            Gas           Gov. Aggregation   COH             206694770011                Gas           Gov. Aggregation
VEDO         4016813522419805            Gas           Gov. Aggregation   COH             108672710189                Gas           Gov. Aggregation
VEDO         4019479292454669            Gas           Gov. Aggregation   COH             204633320015                Gas           Gov. Aggregation
VEDO         4021235662265269            Gas           Gov. Aggregation   COH             152267290352                Gas           Gov. Aggregation
VEDO         4021275902148656            Gas           Gov. Aggregation   COH             188892730030                Gas           Gov. Aggregation
VEDO         4017527172256706            Gas           Gov. Aggregation   COH             205673900018                Gas           Gov. Aggregation
VEDO         4021285452377726            Gas           Gov. Aggregation   COH             208084700016                Gas           Gov. Aggregation
VEDO         4021501572511289            Gas           Gov. Aggregation   COH             200435070030                Gas           Gov. Aggregation
VEDO         4016970922239245            Gas           Gov. Aggregation   COH             166856520125                Gas           Gov. Aggregation
VEDO         4020284832104024            Gas           Gov. Aggregation   COH             209917370018                Gas           Gov. Aggregation
VEDO         4021491052492149            Gas           Gov. Aggregation   COH             206260970018                Gas           Gov. Aggregation
VEDO         4021280812130097            Gas           Gov. Aggregation   COH             170230070031                Gas           Gov. Aggregation
VEDO         4018484432392400            Gas           Gov. Aggregation   COH             210395420012                Gas           Gov. Aggregation
VEDO         4015870972418215            Gas           Gov. Aggregation   COH             207532150021                Gas           Gov. Aggregation
VEDO         4010039902324584            Gas           Gov. Aggregation   COH             205071470015                Gas           Gov. Aggregation
VEDO         4021057012477997            Gas           Gov. Aggregation   COH             192103520066                Gas           Gov. Aggregation
VEDO         4021035222345521            Gas           Gov. Aggregation   COH             176548080030                Gas           Gov. Aggregation
VEDO         4002364492231433            Gas           Gov. Aggregation   COH             206096600023                Gas           Gov. Aggregation
VEDO         4017765182270445            Gas           Gov. Aggregation   COH             173049480484                Gas           Gov. Aggregation
VEDO         4021305992282945            Gas           Gov. Aggregation   COH             206719520028                Gas           Gov. Aggregation
VEDO         4018904262324974            Gas           Gov. Aggregation   COH             202762910010                Gas           Gov. Aggregation
VEDO         4021216482470337            Gas           Gov. Aggregation   COH             205648270014                Gas           Gov. Aggregation
VEDO         4019397432179060            Gas           Gov. Aggregation   COH             209596090019                Gas           Gov. Aggregation
VEDO         4020208652336848            Gas           Gov. Aggregation   COH             207416120023                Gas           Gov. Aggregation
VEDO         4021233762101609            Gas           Gov. Aggregation   COH             192326220254                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4019459682134021            Gas           Gov. Aggregation   COH             196202880021                Gas           Gov. Aggregation
VEDO         4019459682354179            Gas           Gov. Aggregation   COH             185392000072                Gas           Gov. Aggregation
VEDO         4019459682116232            Gas           Gov. Aggregation   COH             210222100014                Gas           Gov. Aggregation
VEDO         4019459682510834            Gas           Gov. Aggregation   COH             205262500013                Gas           Gov. Aggregation
VEDO         4019459682371404            Gas           Gov. Aggregation   COH             206777480016                Gas           Gov. Aggregation
VEDO         4019459682121475            Gas           Gov. Aggregation   COH             138720490105                Gas           Gov. Aggregation
VEDO         4021016852328869            Gas           Gov. Aggregation   COH             209154400019                Gas           Gov. Aggregation
VEDO         4016029272517761            Gas           Gov. Aggregation   COH             197829620026                Gas           Gov. Aggregation
VEDO         4001156682210748            Gas           Gov. Aggregation   COH             206119100019                Gas           Gov. Aggregation
VEDO         4021013542465008            Gas           Gov. Aggregation   COH             204815250014                Gas           Gov. Aggregation
VEDO         4016162222369450            Gas           Gov. Aggregation   COH             207566300019                Gas           Gov. Aggregation
VEDO         4017426602395251            Gas           Gov. Aggregation   COH             186364970068                Gas           Gov. Aggregation
VEDO         4021103942180694            Gas           Gov. Aggregation   COH             108961670069                Gas           Gov. Aggregation
VEDO         4019035322247961            Gas           Gov. Aggregation   COH             209947540019                Gas           Gov. Aggregation
VEDO         4021190552164237            Gas           Gov. Aggregation   COH             209316150018                Gas           Gov. Aggregation
VEDO         4021409902371848            Gas           Gov. Aggregation   COH             205985130019                Gas           Gov. Aggregation
VEDO         4021188742474944            Gas           Gov. Aggregation   COH             203628870021                Gas           Gov. Aggregation
VEDO         4021094892461532            Gas           Gov. Aggregation   COH             206227190012                Gas           Gov. Aggregation
VEDO         4021408862208094            Gas           Gov. Aggregation   COH             209041610014                Gas           Gov. Aggregation
VEDO         4020088352623745            Gas           Gov. Aggregation   COH             208325980034                Gas           Gov. Aggregation
VEDO         4020059642402983            Gas           Gov. Aggregation   COH             210206560012                Gas           Gov. Aggregation
VEDO         4020060622249258            Gas           Gov. Aggregation   COH             209370460019                Gas           Gov. Aggregation
VEDO         4021273082302787            Gas           Gov. Aggregation   COH             209762450010                Gas           Gov. Aggregation
VEDO         4020937152512694            Gas           Gov. Aggregation   COH             210503250017                Gas           Gov. Aggregation
VEDO         4019188932425934            Gas           Gov. Aggregation   COH             199014300019                Gas           Gov. Aggregation
VEDO         4021397182268814            Gas           Gov. Aggregation   COH             144144810594                Gas           Gov. Aggregation
VEDO         4021058752229743            Gas           Gov. Aggregation   COH             208642330010                Gas           Gov. Aggregation
VEDO         4021234482599089            Gas           Gov. Aggregation   COH             164758380018                Gas           Gov. Aggregation
VEDO         4015280962606112            Gas           Gov. Aggregation   COH             208957920019                Gas           Gov. Aggregation
VEDO         4021439122606113            Gas           Gov. Aggregation   COH             206983170014                Gas           Gov. Aggregation
VEDO         4018736452606114            Gas           Gov. Aggregation   COH             206150580022                Gas           Gov. Aggregation
VEDO         4003917152269651            Gas           Gov. Aggregation   COH             195323550025                Gas           Gov. Aggregation
VEDO         4021442542154627            Gas           Gov. Aggregation   COH             208686180010                Gas           Gov. Aggregation
VEDO         4002989062364311            Gas           Gov. Aggregation   COH             205431470011                Gas           Gov. Aggregation
VEDO         4015519842273363            Gas           Gov. Aggregation   COH             206969850011                Gas           Gov. Aggregation
VEDO         4003231412169018            Gas           Gov. Aggregation   COH             206969850039                Gas           Gov. Aggregation
VEDO         4002886222310818            Gas           Gov. Aggregation   COH             198689830047                Gas           Gov. Aggregation
VEDO         4016591722275797            Gas           Gov. Aggregation   COH             208464050017                Gas           Gov. Aggregation
VEDO         4021082222275983            Gas           Gov. Aggregation   COH             208803500012                Gas           Gov. Aggregation
VEDO         4001488872501153            Gas           Gov. Aggregation   COH             109457090265                Gas           Gov. Aggregation
VEDO         4021421552481823            Gas           Gov. Aggregation   COH             191907970050                Gas           Gov. Aggregation
VEDO         4021475222262191            Gas           Gov. Aggregation   COH             192140990042                Gas           Gov. Aggregation
VEDO         4021490852276073            Gas           Gov. Aggregation   COH             167696670034                Gas           Gov. Aggregation
VEDO         4021514992303060            Gas           Gov. Aggregation   COH             206727960010                Gas           Gov. Aggregation
VEDO         4018933622150138            Gas           Gov. Aggregation   COH             199225690057                Gas           Gov. Aggregation
VEDO         4021219322560227            Gas           Gov. Aggregation   COH             177719350039                Gas           Gov. Aggregation
VEDO         4020920162486937            Gas           Gov. Aggregation   COH             208415340037                Gas           Gov. Aggregation
VEDO         4021046562423786            Gas           Gov. Aggregation   COH             207291470026                Gas           Gov. Aggregation
VEDO         4020308542195318            Gas           Gov. Aggregation   COH             204965010017                Gas           Gov. Aggregation
VEDO         4015827002682979            Gas           Gov. Aggregation   COH             175977270069                Gas           Gov. Aggregation
VEDO         4021520842186813            Gas           Gov. Aggregation   COH             202606790016                Gas           Gov. Aggregation
VEDO         4017322252353515            Gas           Gov. Aggregation   COH             206789060019                Gas           Gov. Aggregation
VEDO         4021486052229753            Gas           Gov. Aggregation   COH             202973500037                Gas           Gov. Aggregation
VEDO         4021279752202027            Gas           Gov. Aggregation   COH             198831600051                Gas           Gov. Aggregation
VEDO         4019160102155104            Gas           Gov. Aggregation   COH             207337290017                Gas           Gov. Aggregation
VEDO         4019342762303802            Gas           Gov. Aggregation   COH             209550330014                Gas           Gov. Aggregation
VEDO         4016599932400359            Gas           Gov. Aggregation   COH             209501150015                Gas           Gov. Aggregation
VEDO         4017608792502408            Gas           Gov. Aggregation   COH             209609430018                Gas           Gov. Aggregation
VEDO         4019134532484959            Gas           Gov. Aggregation   COH             202634430030                Gas           Gov. Aggregation
VEDO         4019408862113730            Gas           Gov. Aggregation   COH             206856670018                Gas           Gov. Aggregation
VEDO         4003758292446264            Gas           Gov. Aggregation   COH             207136090015                Gas           Gov. Aggregation
VEDO         4021412142456387            Gas           Gov. Aggregation   COH             198131830011                Gas           Gov. Aggregation
VEDO         4019053722155212            Gas           Gov. Aggregation   COH             108713160034                Gas           Gov. Aggregation
VEDO         4018384442203581            Gas           Gov. Aggregation   COH             209099990014                Gas           Gov. Aggregation
VEDO         4019069252507579            Gas           Gov. Aggregation   COH             186940250076                Gas           Gov. Aggregation
VEDO         4016396372149728            Gas           Gov. Aggregation   COH             108675730330                Gas           Gov. Aggregation
VEDO         4019405542102405            Gas           Gov. Aggregation   COH             169607210071                Gas           Gov. Aggregation
VEDO         4021504672329736            Gas           Gov. Aggregation   COH             209807840012                Gas           Gov. Aggregation
VEDO         4020839332677241            Gas           Gov. Aggregation   COH             206313400014                Gas           Gov. Aggregation
VEDO         4003915232180502            Gas           Gov. Aggregation   COH             108771840057                Gas           Gov. Aggregation
VEDO         4010062222217241            Gas           Gov. Aggregation   COH             155356440054                Gas           Gov. Aggregation
VEDO         4021244212317393            Gas           Gov. Aggregation   COH             207960620016                Gas           Gov. Aggregation
VEDO         4020301102318763            Gas           Gov. Aggregation   COH             205812590018                Gas           Gov. Aggregation
VEDO         4004790472419719            Gas           Gov. Aggregation   COH             209947530011                Gas           Gov. Aggregation
VEDO         4017248552470750            Gas           Gov. Aggregation   COH             209684420012                Gas           Gov. Aggregation
VEDO         4020229662607651            Gas           Gov. Aggregation   COH             205973510023                Gas           Gov. Aggregation
VEDO         4020290522282323            Gas           Gov. Aggregation   COH             108729410261                Gas           Gov. Aggregation
VEDO         4021116732149268            Gas           Gov. Aggregation   COH             186408830269                Gas           Gov. Aggregation
VEDO         4004065732407835            Gas           Gov. Aggregation   COH             207660520013                Gas           Gov. Aggregation
VEDO         4021311292464779            Gas           Gov. Aggregation   COH             204151870030                Gas           Gov. Aggregation
VEDO         4018870812256578            Gas           Gov. Aggregation   COH             173049480493                Gas           Gov. Aggregation
VEDO         4016965442527356            Gas           Gov. Aggregation   COH             159441520454                Gas           Gov. Aggregation
VEDO         4015793472121266            Gas           Gov. Aggregation   COH             198183130082                Gas           Gov. Aggregation
VEDO         4018860952324014            Gas           Gov. Aggregation   COH             194093960010                Gas           Gov. Aggregation
VEDO         4019841102150561            Gas           Gov. Aggregation   COH             198183130055                Gas           Gov. Aggregation
VEDO         4019309292181517            Gas           Gov. Aggregation   COH             206306060057                Gas           Gov. Aggregation
VEDO         4021032872486662            Gas           Gov. Aggregation   COH             189971390033                Gas           Gov. Aggregation
VEDO         4021311992564258            Gas           Gov. Aggregation   COH             209157610019                Gas           Gov. Aggregation
VEDO         4015560592325961            Gas           Gov. Aggregation   COH             200431800016                Gas           Gov. Aggregation
VEDO         4019970242195365            Gas           Gov. Aggregation   COH             206849380014                Gas           Gov. Aggregation
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      Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO            4018483762448758            Gas           Gov. Aggregation   COH             173049480653                Gas           Gov. Aggregation
VEDO            4018337042486331            Gas           Gov. Aggregation   COH             207533970018                Gas           Gov. Aggregation
VEDO            4021004812104581            Gas           Gov. Aggregation   COH             194606600034                Gas           Gov. Aggregation
VEDO            4020274562439332            Gas           Gov. Aggregation   COH             209831820015                Gas           Gov. Aggregation
VEDO            4021212592470082            Gas           Gov. Aggregation   COH             209623820016                Gas           Gov. Aggregation
VEDO            4021454982639848            Gas           Gov. Aggregation   COH             207090250019                Gas           Gov. Aggregation
VEDO            4002492352453052            Gas           Gov. Aggregation   COH             176078560063                Gas           Gov. Aggregation
VEDO            4019895352364097            Gas           Gov. Aggregation   COH             208400300036                Gas           Gov. Aggregation
VEDO            4019196102161492            Gas           Gov. Aggregation   COH             108774630046                Gas           Gov. Aggregation
VEDO            4003222572117019            Gas           Gov. Aggregation   COH             207435000037                Gas           Gov. Aggregation
VEDO            4004580932221038            Gas           Gov. Aggregation   COH             207435000019                Gas           Gov. Aggregation
VEDO            4001504372166499            Gas           Gov. Aggregation   COH             186548290187                Gas           Gov. Aggregation
VEDO            4015835382316031            Gas           Gov. Aggregation   COH             206409330016                Gas           Gov. Aggregation
VEDO            4021240672417718            Gas           Gov. Aggregation   COH             209319960012                Gas           Gov. Aggregation
VEDO            4015106852625940            Gas           Gov. Aggregation   COH             194636270022                Gas           Gov. Aggregation
VEDO            4019374592230536            Gas           Gov. Aggregation   COH             202721670017                Gas           Gov. Aggregation
VEDO            4017242462207810            Gas           Gov. Aggregation   COH             204530250018                Gas           Gov. Aggregation
VEDO            4003796122387837            Gas           Gov. Aggregation   COH             203941860010                Gas           Gov. Aggregation
VEDO            4020946182325022            Gas           Gov. Aggregation   COH             201848390028                Gas           Gov. Aggregation
VEDO            4017375352560052            Gas           Gov. Aggregation   COH             206727950012                Gas           Gov. Aggregation
VEDO            4021078992540876            Gas           Gov. Aggregation   COH             188987230034                Gas           Gov. Aggregation
VEDO            4017064842263877            Gas           Gov. Aggregation   COH             203920590011                Gas           Gov. Aggregation
VEDO            4004774562538306            Gas           Gov. Aggregation   COH             208783270015                Gas           Gov. Aggregation
VEDO            4019073762512450            Gas           Gov. Aggregation   COH             202650310031                Gas           Gov. Aggregation
VEDO            4019044922643191            Gas           Gov. Aggregation   COH             208229840019                Gas           Gov. Aggregation
VEDO            4021088112411365            Gas           Gov. Aggregation   COH             204748950010                Gas           Gov. Aggregation
VEDO            4021057372260248            Gas           Gov. Aggregation   COH             202917800041                Gas           Gov. Aggregation
VEDO            4017761942340436            Gas           Gov. Aggregation   COH             207351600011                Gas           Gov. Aggregation
VEDO            4020092442365412            Gas           Gov. Aggregation   COH             210531980015                Gas           Gov. Aggregation
VEDO            4017732002378238            Gas           Gov. Aggregation   COH             198784670021                Gas           Gov. Aggregation
VEDO            4021233662589765            Gas           Gov. Aggregation   COH             150066460023                Gas           Gov. Aggregation
VEDO            4021069542509501            Gas           Gov. Aggregation   COH             191411490043                Gas           Gov. Aggregation
VEDO            4002335742132604            Gas           Gov. Aggregation   COH             209798970016                Gas           Gov. Aggregation
VEDO            4021194292138784            Gas           Gov. Aggregation   COH             146569320086                Gas           Gov. Aggregation
VEDO            4021414982628883            Gas           Gov. Aggregation   COH             206763810015                Gas           Gov. Aggregation
VEDO            4002978512677318            Gas           Gov. Aggregation   COH             207642360015                Gas           Gov. Aggregation
VEDO            4002992862677317            Gas           Gov. Aggregation   COH             205205370011                Gas           Gov. Aggregation
VEDO            4003708052674006            Gas           Gov. Aggregation   COH             209735370014                Gas           Gov. Aggregation
VEDO            4019359632590025            Gas           Gov. Aggregation   COH             209385800016                Gas           Gov. Aggregation
VEDO            4021107302396766            Gas           Gov. Aggregation   COH             203092640017                Gas           Gov. Aggregation
VEDO            4021442202568521            Gas           Gov. Aggregation   COH             108681460049                Gas           Gov. Aggregation
VEDO            4021061492623623            Gas           Gov. Aggregation   COH             118010860366                Gas           Gov. Aggregation
VEDO            4021007912632132            Gas           Gov. Aggregation   COH             209192560034                Gas           Gov. Aggregation
VEDO            4018244562590023            Gas           Gov. Aggregation   COH             166834891025                Gas           Gov. Aggregation
VEDO            4021239082590021            Gas           Gov. Aggregation   COH             203423540015                Gas           Gov. Aggregation
VEDO            4018209492674415            Gas           Gov. Aggregation   COH             200946510089                Gas           Gov. Aggregation
VEDO            4021476532674416            Gas           Gov. Aggregation   COH             200946510070                Gas           Gov. Aggregation
VEDO            4001585442637905            Gas           Gov. Aggregation   COH             205510070017                Gas           Gov. Aggregation
VEDO            4021074672637906            Gas           Gov. Aggregation   COH             205994030011                Gas           Gov. Aggregation
VEDO            4004991252680400            Gas           Gov. Aggregation   COH             208983660019                Gas           Gov. Aggregation
VEDO            4021018662680401            Gas           Gov. Aggregation   COH             209289650012                Gas           Gov. Aggregation
VEDO            4021250202684785            Gas           Gov. Aggregation   COH             185964730030                Gas           Gov. Aggregation
VEDO            4002465452367825            Gas           Gov. Aggregation   COH             209086930013                Gas           Gov. Aggregation
VEDO            4002941062528269            Gas           Gov. Aggregation   COH             190159760025                Gas           Gov. Aggregation
VEDO            4017225512253219            Gas           Gov. Aggregation   COH             208204030011                Gas           Gov. Aggregation
VEDO            4016288792635402            Gas           Gov. Aggregation   COH             205355200019                Gas           Gov. Aggregation
VEDO            4016329222437936            Gas           Gov. Aggregation   COH             210538910015                Gas           Gov. Aggregation
VEDO            4018302702244874            Gas           Gov. Aggregation   COH             209443140011                Gas           Gov. Aggregation
VEDO            4021162022448767            Gas           Gov. Aggregation   COH             206976290014                Gas           Gov. Aggregation
VEDO            4021214242162572            Gas           Gov. Aggregation   COH             204697550022                Gas           Gov. Aggregation
VEDO            4019251032159392            Gas           Gov. Aggregation   COH             209076560012                Gas           Gov. Aggregation
VEDO            4017509132438349            Gas           Gov. Aggregation   COH             206652820018                Gas           Gov. Aggregation
VEDO            4021488922639938            Gas           Gov. Aggregation   COH             204714020016                Gas           Gov. Aggregation
VEDO            4021104572315844            Gas           Gov. Aggregation   COH             205661620030                Gas           Gov. Aggregation
VEDO            4017745632363391            Gas           Gov. Aggregation   COH             204889680019                Gas           Gov. Aggregation
VEDO            4001433872461182            Gas           Gov. Aggregation   COH             187821010013                Gas           Gov. Aggregation
VEDO            4021182072394588            Gas           Gov. Aggregation   COH             159195300168                Gas           Gov. Aggregation
VEDO            4021292902403448            Gas           Gov. Aggregation   COH             174745580057                Gas           Gov. Aggregation
VEDO            4021408752291676            Gas           Gov. Aggregation   COH             174745580084                Gas           Gov. Aggregation
VEDO            4016420722590354            Gas           Gov. Aggregation   COH             174745580119                Gas           Gov. Aggregation
VEDO            4001851352180670            Gas           Gov. Aggregation   COH             205012970014                Gas           Gov. Aggregation
VEDO            4021149602393778            Gas           Gov. Aggregation   COH             140034730016                Gas           Gov. Aggregation
VEDO            4021053542292269            Gas           Gov. Aggregation   COH             173797720022                Gas           Gov. Aggregation
COH             198406390066                Gas           Gov. Aggregation   COH             206943090015                Gas           Gov. Aggregation
COH             208765880033                Gas           Gov. Aggregation   COH             168066240047                Gas           Gov. Aggregation
COH             208978940011                Gas           Gov. Aggregation   COH             108702860012                Gas           Gov. Aggregation
COH             209165350017                Gas           Gov. Aggregation   COH             210132180019                Gas           Gov. Aggregation
COH             209203660010                Gas           Gov. Aggregation   COH             204943970012                Gas           Gov. Aggregation
COH             203778740021                Gas           Gov. Aggregation   COH             168791080044                Gas           Gov. Aggregation
COH             208765790032                Gas           Gov. Aggregation   COH             164032590021                Gas           Gov. Aggregation
COH             191831640023                Gas           Gov. Aggregation   COH             200989210019                Gas           Gov. Aggregation
COH             209050350010                Gas           Gov. Aggregation   COH             208692570015                Gas           Gov. Aggregation
COH             114915250011                Gas           Gov. Aggregation   COH             196764190017                Gas           Gov. Aggregation
COH             207503520015                Gas           Gov. Aggregation   COH             209305760013                Gas           Gov. Aggregation
COH             199686700049                Gas           Gov. Aggregation   COH             157502780158                Gas           Gov. Aggregation
COH             206189230015                Gas           Gov. Aggregation   COH             206052960011                Gas           Gov. Aggregation
COH             199440780043                Gas           Gov. Aggregation   COH             203560220012                Gas           Gov. Aggregation
VEDO            4015842102211630            Gas           Gov. Aggregation   COH             203719340029                Gas           Gov. Aggregation
VEDO            4020939152488773            Gas           Gov. Aggregation   COH             207423220018                Gas           Gov. Aggregation
VEDO            4019904122143882            Gas           Gov. Aggregation   COH             205368350039                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4017412162399271            Gas           Gov. Aggregation   COH             140256220102                Gas           Gov. Aggregation
VEDO         4020929312174015            Gas           Gov. Aggregation   COH             206965770016                Gas           Gov. Aggregation
VEDO         4019377832382153            Gas           Gov. Aggregation   COH             210249500014                Gas           Gov. Aggregation
VEDO         4017836802142361            Gas           Gov. Aggregation   COH             210206550014                Gas           Gov. Aggregation
VEDO         4021178342379368            Gas           Gov. Aggregation   COH             108703830016                Gas           Gov. Aggregation
VEDO         4018358892507409            Gas           Gov. Aggregation   COH             108713160043                Gas           Gov. Aggregation
VEDO         4004057212406845            Gas           Gov. Aggregation   COH             209617450017                Gas           Gov. Aggregation
VEDO         4021202712244303            Gas           Gov. Aggregation   COH             159776730031                Gas           Gov. Aggregation
VEDO         4017337782348555            Gas           Gov. Aggregation   COH             187778480063                Gas           Gov. Aggregation
VEDO         4021395532279512            Gas           Gov. Aggregation   COH             205947200014                Gas           Gov. Aggregation
VEDO         4017093502219088            Gas           Gov. Aggregation   COH             197683030011                Gas           Gov. Aggregation
VEDO         4003540412345632            Gas           Gov. Aggregation   COH             206353240023                Gas           Gov. Aggregation
VEDO         4021121782414682            Gas           Gov. Aggregation   COH             205347550022                Gas           Gov. Aggregation
VEDO         4018631752283470            Gas           Gov. Aggregation   COH             209262820012                Gas           Gov. Aggregation
VEDO         4003894152264322            Gas           Gov. Aggregation   COH             191681870015                Gas           Gov. Aggregation
VEDO         4021030882163452            Gas           Gov. Aggregation   COH             209770930012                Gas           Gov. Aggregation
VEDO         4017930372476659            Gas           Gov. Aggregation   COH             142185660038                Gas           Gov. Aggregation
VEDO         4017799262496490            Gas           Gov. Aggregation   COH             199070880029                Gas           Gov. Aggregation
VEDO         4017015002349132            Gas           Gov. Aggregation   COH             202776630010                Gas           Gov. Aggregation
VEDO         4019029312200592            Gas           Gov. Aggregation   COH             207257910016                Gas           Gov. Aggregation
VEDO         4004497482220319            Gas           Gov. Aggregation   COH             208164090015                Gas           Gov. Aggregation
VEDO         4021089792324280            Gas           Gov. Aggregation   COH             168349390019                Gas           Gov. Aggregation
VEDO         4021403782242414            Gas           Gov. Aggregation   COH             206619150019                Gas           Gov. Aggregation
VEDO         4018553002349427            Gas           Gov. Aggregation   COH             209561550015                Gas           Gov. Aggregation
VEDO         4001465442503636            Gas           Gov. Aggregation   COH             205724990011                Gas           Gov. Aggregation
VEDO         4021514082485334            Gas           Gov. Aggregation   COH             206320990016                Gas           Gov. Aggregation
VEDO         4019010122302080            Gas           Gov. Aggregation   COH             149817910108                Gas           Gov. Aggregation
VEDO         4020928742154328            Gas           Gov. Aggregation   COH             195022270031                Gas           Gov. Aggregation
VEDO         4017663952161216            Gas           Gov. Aggregation   COH             200530430014                Gas           Gov. Aggregation
VEDO         4017994942392407            Gas           Gov. Aggregation   COH             203444970039                Gas           Gov. Aggregation
VEDO         4018937112309292            Gas           Gov. Aggregation   COH             210538930011                Gas           Gov. Aggregation
VEDO         4021296812526922            Gas           Gov. Aggregation   COH             205242900011                Gas           Gov. Aggregation
VEDO         4017107492180886            Gas           Gov. Aggregation   COH             210230500013                Gas           Gov. Aggregation
VEDO         4021156952163332            Gas           Gov. Aggregation   COH             190925470012                Gas           Gov. Aggregation
VEDO         4017876182584293            Gas           Gov. Aggregation   COH             206847840011                Gas           Gov. Aggregation
VEDO         4016923452682946            Gas           Gov. Aggregation   COH             190587820034                Gas           Gov. Aggregation
VEDO         4021514122684817            Gas           Gov. Aggregation   COH             173196110015                Gas           Gov. Aggregation
VEDO         4021240502496535            Gas           Gov. Aggregation   COH             193928850022                Gas           Gov. Aggregation
VEDO         4021268012329480            Gas           Gov. Aggregation   COH             164917040217                Gas           Gov. Aggregation
VEDO         4018935542277038            Gas           Gov. Aggregation   COH             209443160017                Gas           Gov. Aggregation
VEDO         4021278722233588            Gas           Gov. Aggregation   COH             203234960018                Gas           Gov. Aggregation
VEDO         4020942762158991            Gas           Gov. Aggregation   COH             173932404910                Gas           Gov. Aggregation
VEDO         4021261092342607            Gas           Gov. Aggregation   COH             201348060036                Gas           Gov. Aggregation
VEDO         4019995022484697            Gas           Gov. Aggregation   COH             204707560027                Gas           Gov. Aggregation
VEDO         4021217452241192            Gas           Gov. Aggregation   COH             210332290012                Gas           Gov. Aggregation
VEDO         4019898812211794            Gas           Gov. Aggregation   COH             206543750014                Gas           Gov. Aggregation
VEDO         4021491242152013            Gas           Gov. Aggregation   COH             198070490013                Gas           Gov. Aggregation
VEDO         4021077702522457            Gas           Gov. Aggregation   COH             208999190015                Gas           Gov. Aggregation
VEDO         4019311322461114            Gas           Gov. Aggregation   COH             205032460037                Gas           Gov. Aggregation
VEDO         4021510162287227            Gas           Gov. Aggregation   COH             108692140016                Gas           Gov. Aggregation
VEDO         4019018682392371            Gas           Gov. Aggregation   COH             207781960015                Gas           Gov. Aggregation
VEDO         4020788062229864            Gas           Gov. Aggregation   COH             206988020015                Gas           Gov. Aggregation
VEDO         4021153662298855            Gas           Gov. Aggregation   COH             108693670013                Gas           Gov. Aggregation
VEDO         4021247612422360            Gas           Gov. Aggregation   COH             108694160018                Gas           Gov. Aggregation
VEDO         4017502262336879            Gas           Gov. Aggregation   COH             203119680020                Gas           Gov. Aggregation
VEDO         4021100152107894            Gas           Gov. Aggregation   COH             194244400249                Gas           Gov. Aggregation
VEDO         4021182112392788            Gas           Gov. Aggregation   COH             172453510034                Gas           Gov. Aggregation
VEDO         4015487482535694            Gas           Gov. Aggregation   COH             201170460011                Gas           Gov. Aggregation
VEDO         4017426112402101            Gas           Gov. Aggregation   COH             204039410016                Gas           Gov. Aggregation
VEDO         4021154222375186            Gas           Gov. Aggregation   COH             206199140013                Gas           Gov. Aggregation
VEDO         4021394292198288            Gas           Gov. Aggregation   COH             206398810010                Gas           Gov. Aggregation
VEDO         4019413062441332            Gas           Gov. Aggregation   COH             206571090032                Gas           Gov. Aggregation
VEDO         4021015222520009            Gas           Gov. Aggregation   COH             207291460019                Gas           Gov. Aggregation
VEDO         4020910612131840            Gas           Gov. Aggregation   COH             207337800019                Gas           Gov. Aggregation
VEDO         4015813862525851            Gas           Gov. Aggregation   COH             207357000015                Gas           Gov. Aggregation
VEDO         4021163622302069            Gas           Gov. Aggregation   COH             207378490046                Gas           Gov. Aggregation
VEDO         4015996222210496            Gas           Gov. Aggregation   COH             207459540034                Gas           Gov. Aggregation
VEDO         4021458452171466            Gas           Gov. Aggregation   COH             208209730032                Gas           Gov. Aggregation
VEDO         4017901452438332            Gas           Gov. Aggregation   COH             208556860012                Gas           Gov. Aggregation
VEDO         4021429872515756            Gas           Gov. Aggregation   COH             208583380016                Gas           Gov. Aggregation
VEDO         4021195322222194            Gas           Gov. Aggregation   COH             208613670038                Gas           Gov. Aggregation
VEDO         4018719082176773            Gas           Gov. Aggregation   COH             208736280012                Gas           Gov. Aggregation
VEDO         4021267412684957            Gas           Gov. Aggregation   COH             208752200014                Gas           Gov. Aggregation
VEDO         4003992672280934            Gas           Gov. Aggregation   COH             208939260016                Gas           Gov. Aggregation
VEDO         4019532332490934            Gas           Gov. Aggregation   COH             209746480018                Gas           Gov. Aggregation
VEDO         4021513322138868            Gas           Gov. Aggregation   COH             209963380019                Gas           Gov. Aggregation
VEDO         4020935742296677            Gas           Gov. Aggregation   COH             209965430014                Gas           Gov. Aggregation
VEDO         4019759912351676            Gas           Gov. Aggregation   COH             210259640014                Gas           Gov. Aggregation
VEDO         4015850592379857            Gas           Gov. Aggregation   COH             207138390036                Gas           Gov. Aggregation
VEDO         4018945492466171            Gas           Gov. Aggregation   COH             158331900038                Gas           Gov. Aggregation
VEDO         4021418562301269            Gas           Gov. Aggregation   COH             169539660036                Gas           Gov. Aggregation
VEDO         4021252292596077            Gas           Gov. Aggregation   COH             170976950045                Gas           Gov. Aggregation
VEDO         4021470182604592            Gas           Gov. Aggregation   COH             172169840047                Gas           Gov. Aggregation
VEDO         4017041512264918            Gas           Gov. Aggregation   COH             177352120062                Gas           Gov. Aggregation
VEDO         4020865182266782            Gas           Gov. Aggregation   COH             205540020014                Gas           Gov. Aggregation
VEDO         4018126702148933            Gas           Gov. Aggregation   COH             203950720029                Gas           Gov. Aggregation
VEDO         4017886472258003            Gas           Gov. Aggregation   COH             210037880014                Gas           Gov. Aggregation
VEDO         4020924912458372            Gas           Gov. Aggregation   COH             209655890015                Gas           Gov. Aggregation
VEDO         4016991262632167            Gas           Gov. Aggregation   COH             129746940018                Gas           Gov. Aggregation
VEDO         4004341022632168            Gas           Gov. Aggregation   COH             145632650010                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4021250602323114            Gas           Gov. Aggregation   COH             210411770013                Gas           Gov. Aggregation
VEDO         4021233702487299            Gas           Gov. Aggregation   COH             206969260015                Gas           Gov. Aggregation
VEDO         4003438292157392            Gas           Gov. Aggregation   COH             208196190017                Gas           Gov. Aggregation
VEDO         4018914512254163            Gas           Gov. Aggregation   COH             177706900021                Gas           Gov. Aggregation
VEDO         4017773952140536            Gas           Gov. Aggregation   COH             208886050013                Gas           Gov. Aggregation
VEDO         4021186712264909            Gas           Gov. Aggregation   COH             210203470017                Gas           Gov. Aggregation
VEDO         4003839722431412            Gas           Gov. Aggregation   COH             210491840010                Gas           Gov. Aggregation
VEDO         4003808182149732            Gas           Gov. Aggregation   COH             200633500039                Gas           Gov. Aggregation
VEDO         4020153272304364            Gas           Gov. Aggregation   COH             198475540041                Gas           Gov. Aggregation
VEDO         4021478942422708            Gas           Gov. Aggregation   COH             209159530012                Gas           Gov. Aggregation
VEDO         4021491532213967            Gas           Gov. Aggregation   COH             208310980017                Gas           Gov. Aggregation
VEDO         4021206322250977            Gas           Gov. Aggregation   COH             131496600025                Gas           Gov. Aggregation
VEDO         4001002262216399            Gas           Gov. Aggregation   COH             201169530028                Gas           Gov. Aggregation
VEDO         4021485022205239            Gas           Gov. Aggregation   COH             207766920015                Gas           Gov. Aggregation
VEDO         4018324862189569            Gas           Gov. Aggregation   COH             199364530038                Gas           Gov. Aggregation
VEDO         4021173252259492            Gas           Gov. Aggregation   COH             195777470030                Gas           Gov. Aggregation
VEDO         4021217762335976            Gas           Gov. Aggregation   COH             176267110048                Gas           Gov. Aggregation
VEDO         4001548062487945            Gas           Gov. Aggregation   COH             209015820015                Gas           Gov. Aggregation
VEDO         4021259472172502            Gas           Gov. Aggregation   COH             199412820025                Gas           Gov. Aggregation
VEDO         4010077862149715            Gas           Gov. Aggregation   COH             206613120017                Gas           Gov. Aggregation
VEDO         4021226312528324            Gas           Gov. Aggregation   COH             210103790012                Gas           Gov. Aggregation
VEDO         4021064912112466            Gas           Gov. Aggregation   COH             209872850013                Gas           Gov. Aggregation
VEDO         4021418312243539            Gas           Gov. Aggregation   COH             173785170014                Gas           Gov. Aggregation
VEDO         4021237252252092            Gas           Gov. Aggregation   COH             208401190010                Gas           Gov. Aggregation
VEDO         4021011052370847            Gas           Gov. Aggregation   COH             210132630014                Gas           Gov. Aggregation
VEDO         4021084772346543            Gas           Gov. Aggregation   COH             210132640012                Gas           Gov. Aggregation
VEDO         4020255982155059            Gas           Gov. Aggregation   COH             208818490014                Gas           Gov. Aggregation
VEDO         4021244542107882            Gas           Gov. Aggregation   COH             207476330014                Gas           Gov. Aggregation
VEDO         4018425442207822            Gas           Gov. Aggregation   COH             208605970014                Gas           Gov. Aggregation
VEDO         4018754272174303            Gas           Gov. Aggregation   COH             201064470032                Gas           Gov. Aggregation
VEDO         4019405012177664            Gas           Gov. Aggregation   COH             207822640014                Gas           Gov. Aggregation
VEDO         4021023662452059            Gas           Gov. Aggregation   COH             209439740014                Gas           Gov. Aggregation
VEDO         4020285092104202            Gas           Gov. Aggregation   COH             208331170013                Gas           Gov. Aggregation
VEDO         4021052562195225            Gas           Gov. Aggregation   COH             210059830018                Gas           Gov. Aggregation
VEDO         4015422262447052            Gas           Gov. Aggregation   COH             144292490071                Gas           Gov. Aggregation
VEDO         4017002222316159            Gas           Gov. Aggregation   COH             207327640014                Gas           Gov. Aggregation
VEDO         4021072892144904            Gas           Gov. Aggregation   COH             210036860485                Gas           Gov. Aggregation
VEDO         4020316362483110            Gas           Gov. Aggregation   COH             159138750020                Gas           Gov. Aggregation
VEDO         4018993772420370            Gas           Gov. Aggregation   COH             160129870030                Gas           Gov. Aggregation
VEDO         4020280792120384            Gas           Gov. Aggregation   COH             206867430024                Gas           Gov. Aggregation
VEDO         4015926392218066            Gas           Gov. Aggregation   COH             207041050014                Gas           Gov. Aggregation
VEDO         4015131412413460            Gas           Gov. Aggregation   COH             207388740015                Gas           Gov. Aggregation
VEDO         4017088392326230            Gas           Gov. Aggregation   COH             207670110018                Gas           Gov. Aggregation
VEDO         4021028262677126            Gas           Gov. Aggregation   COH             209002510017                Gas           Gov. Aggregation
VEDO         4019958122677124            Gas           Gov. Aggregation   COH             209902430016                Gas           Gov. Aggregation
VEDO         4017371392677123            Gas           Gov. Aggregation   COH             117328040026                Gas           Gov. Aggregation
VEDO         4021245822329226            Gas           Gov. Aggregation   COH             148887120028                Gas           Gov. Aggregation
VEDO         4002047852215515            Gas           Gov. Aggregation   COH             210334410012                Gas           Gov. Aggregation
VEDO         4021109112470733            Gas           Gov. Aggregation   COH             210349430017                Gas           Gov. Aggregation
VEDO         4001783032295390            Gas           Gov. Aggregation   COH             199659450021                Gas           Gov. Aggregation
VEDO         4021119582309428            Gas           Gov. Aggregation   COH             201943740031                Gas           Gov. Aggregation
VEDO         4020930372308131            Gas           Gov. Aggregation   COH             202303370025                Gas           Gov. Aggregation
VEDO         4021290132449400            Gas           Gov. Aggregation   COH             198768190035                Gas           Gov. Aggregation
VEDO         4017006812148028            Gas           Gov. Aggregation   COH             208287860013                Gas           Gov. Aggregation
VEDO         4021398672274837            Gas           Gov. Aggregation   COH             201246460056                Gas           Gov. Aggregation
VEDO         4021468132503559            Gas           Gov. Aggregation   COH             206598640012                Gas           Gov. Aggregation
VEDO         4015681252205755            Gas           Gov. Aggregation   COH             151923910181                Gas           Gov. Aggregation
VEDO         4015176712172037            Gas           Gov. Aggregation   COH             207933850015                Gas           Gov. Aggregation
VEDO         4017288022425799            Gas           Gov. Aggregation   COH             145525140112                Gas           Gov. Aggregation
VEDO         4020934832122405            Gas           Gov. Aggregation   COH             207933880019                Gas           Gov. Aggregation
VEDO         4021466012384870            Gas           Gov. Aggregation   COH             173570810078                Gas           Gov. Aggregation
VEDO         4020921202494859            Gas           Gov. Aggregation   COH             203079871105                Gas           Gov. Aggregation
VEDO         4021509832209339            Gas           Gov. Aggregation   COH             210465930016                Gas           Gov. Aggregation
VEDO         4021018932159509            Gas           Gov. Aggregation   COH             210066040019                Gas           Gov. Aggregation
VEDO         4010120232380228            Gas           Gov. Aggregation   COH             202314170024                Gas           Gov. Aggregation
VEDO         4021226762156157            Gas           Gov. Aggregation   COH             207146660014                Gas           Gov. Aggregation
VEDO         4020930352495860            Gas           Gov. Aggregation   COH             159785380054                Gas           Gov. Aggregation
VEDO         4021443392453353            Gas           Gov. Aggregation   COH             208875870014                Gas           Gov. Aggregation
VEDO         4003333302329703            Gas           Gov. Aggregation   COH             208546210019                Gas           Gov. Aggregation
VEDO         4021482862202221            Gas           Gov. Aggregation   COH             210278770017                Gas           Gov. Aggregation
VEDO         4003739232405325            Gas           Gov. Aggregation   COH             207987940013                Gas           Gov. Aggregation
VEDO         4021449132345646            Gas           Gov. Aggregation   COH             210364270019                Gas           Gov. Aggregation
VEDO         4021282462147321            Gas           Gov. Aggregation   COH             206782680013                Gas           Gov. Aggregation
VEDO         4017526662178530            Gas           Gov. Aggregation   COH             209476880017                Gas           Gov. Aggregation
VEDO         4017526662249105            Gas           Gov. Aggregation   COH             210529790010                Gas           Gov. Aggregation
VEDO         4016964332123710            Gas           Gov. Aggregation   COH             209311350016                Gas           Gov. Aggregation
VEDO         4020911692371808            Gas           Gov. Aggregation   COH             210386160016                Gas           Gov. Aggregation
VEDO         4021111822305692            Gas           Gov. Aggregation   COH             205755600026                Gas           Gov. Aggregation
VEDO         4016887852461947            Gas           Gov. Aggregation   COH             207045100015                Gas           Gov. Aggregation
VEDO         4016397332291074            Gas           Gov. Aggregation   COH             208710660016                Gas           Gov. Aggregation
VEDO         4021498462134179            Gas           Gov. Aggregation   COH             210348950010                Gas           Gov. Aggregation
VEDO         4020218652513057            Gas           Gov. Aggregation   COH             206917050018                Gas           Gov. Aggregation
VEDO         4018037482257604            Gas           Gov. Aggregation   COH             207385450012                Gas           Gov. Aggregation
VEDO         4019408402158986            Gas           Gov. Aggregation   COH             209557180012                Gas           Gov. Aggregation
VEDO         4021051652319993            Gas           Gov. Aggregation   COH             173542060020                Gas           Gov. Aggregation
VEDO         4018896692222620            Gas           Gov. Aggregation   COH             111256820058                Gas           Gov. Aggregation
VEDO         4020193562427851            Gas           Gov. Aggregation   COH             194006500037                Gas           Gov. Aggregation
VEDO         4021080922422303            Gas           Gov. Aggregation   COH             209505860018                Gas           Gov. Aggregation
VEDO         4003762842525880            Gas           Gov. Aggregation   COH             207244160011                Gas           Gov. Aggregation
VEDO         4021409552414946            Gas           Gov. Aggregation   COH             135863400015                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4018305902344338            Gas           Gov. Aggregation   COH             208205260011                Gas           Gov. Aggregation
VEDO         4019866952326610            Gas           Gov. Aggregation   COH             206552000012                Gas           Gov. Aggregation
VEDO         4021216002158258            Gas           Gov. Aggregation   COH             133674100057                Gas           Gov. Aggregation
VEDO         4021288632116660            Gas           Gov. Aggregation   COH             197195420023                Gas           Gov. Aggregation
VEDO         4021288632451544            Gas           Gov. Aggregation   COH             209210150012                Gas           Gov. Aggregation
VEDO         4021288632495974            Gas           Gov. Aggregation   COH             208682610017                Gas           Gov. Aggregation
VEDO         4021489432305822            Gas           Gov. Aggregation   COH             185483460028                Gas           Gov. Aggregation
VEDO         4015917422209623            Gas           Gov. Aggregation   COH             206289330012                Gas           Gov. Aggregation
VEDO         4021406562491405            Gas           Gov. Aggregation   COH             185369350023                Gas           Gov. Aggregation
VEDO         4017890132375458            Gas           Gov. Aggregation   COH             209516110012                Gas           Gov. Aggregation
VEDO         4019121872373975            Gas           Gov. Aggregation   COH             202833590026                Gas           Gov. Aggregation
VEDO         4019121872295951            Gas           Gov. Aggregation   COH             208253150022                Gas           Gov. Aggregation
VEDO         4019955442290388            Gas           Gov. Aggregation   COH             208788200019                Gas           Gov. Aggregation
VEDO         4020861172623031            Gas           Gov. Aggregation   COH             209735050011                Gas           Gov. Aggregation
VEDO         4021449282513556            Gas           Gov. Aggregation   COH             111284660106                Gas           Gov. Aggregation
VEDO         4021210612291637            Gas           Gov. Aggregation   COH             206535760019                Gas           Gov. Aggregation
VEDO         4002152042153099            Gas           Gov. Aggregation   COH             208235870010                Gas           Gov. Aggregation
VEDO         4021167022396384            Gas           Gov. Aggregation   COH             207439380012                Gas           Gov. Aggregation
VEDO         4020936372345579            Gas           Gov. Aggregation   COH             209840580017                Gas           Gov. Aggregation
VEDO         4016973692190189            Gas           Gov. Aggregation   COH             201771530021                Gas           Gov. Aggregation
VEDO         4021399262272424            Gas           Gov. Aggregation   COH             207903720015                Gas           Gov. Aggregation
VEDO         4004190012421392            Gas           Gov. Aggregation   COH             209490590018                Gas           Gov. Aggregation
VEDO         4010005692432977            Gas           Gov. Aggregation   COH             207598830039                Gas           Gov. Aggregation
VEDO         4018901802232184            Gas           Gov. Aggregation   COH             209282300019                Gas           Gov. Aggregation
VEDO         4021107982262407            Gas           Gov. Aggregation   COH             206766990012                Gas           Gov. Aggregation
VEDO         4021112242376275            Gas           Gov. Aggregation   COH             210091750017                Gas           Gov. Aggregation
VEDO         4015464192129157            Gas           Gov. Aggregation   COH             206946050017                Gas           Gov. Aggregation
VEDO         4021217512130411            Gas           Gov. Aggregation   COH             209037050011                Gas           Gov. Aggregation
VEDO         4018363532405488            Gas           Gov. Aggregation   COH             209210140014                Gas           Gov. Aggregation
VEDO         4019889862504480            Gas           Gov. Aggregation   COH             208573220010                Gas           Gov. Aggregation
VEDO         4018882972335924            Gas           Gov. Aggregation   COH             175803160014                Gas           Gov. Aggregation
VEDO         4015302032432688            Gas           Gov. Aggregation   COH             167205520034                Gas           Gov. Aggregation
VEDO         4021484672366919            Gas           Gov. Aggregation   COH             209557190010                Gas           Gov. Aggregation
VEDO         4021446062347312            Gas           Gov. Aggregation   COH             209664130015                Gas           Gov. Aggregation
VEDO         4021470892159601            Gas           Gov. Aggregation   COH             208848100012                Gas           Gov. Aggregation
VEDO         4021238632352268            Gas           Gov. Aggregation   COH             185814680065                Gas           Gov. Aggregation
VEDO         4005112282286288            Gas           Gov. Aggregation   COH             210519540013                Gas           Gov. Aggregation
VEDO         4003612322268621            Gas           Gov. Aggregation   COH             204879510015                Gas           Gov. Aggregation
VEDO         4016299582460200            Gas           Gov. Aggregation   COH             198288670014                Gas           Gov. Aggregation
VEDO         4019810532502837            Gas           Gov. Aggregation   COH             205463230014                Gas           Gov. Aggregation
VEDO         4002216622429760            Gas           Gov. Aggregation   COH             205990410028                Gas           Gov. Aggregation
VEDO         4020861172631491            Gas           Gov. Aggregation   COH             208265520010                Gas           Gov. Aggregation
VEDO         4018663772387708            Gas           Gov. Aggregation   COH             172291010079                Gas           Gov. Aggregation
VEDO         4017997712261914            Gas           Gov. Aggregation   COH             209992890011                Gas           Gov. Aggregation
VEDO         4001863142181533            Gas           Gov. Aggregation   COH             209861380015                Gas           Gov. Aggregation
VEDO         4004065092352372            Gas           Gov. Aggregation   COH             208788190012                Gas           Gov. Aggregation
VEDO         4017721632423060            Gas           Gov. Aggregation   COH             157967010093                Gas           Gov. Aggregation
VEDO         4021219962292044            Gas           Gov. Aggregation   COH             209275670017                Gas           Gov. Aggregation
VEDO         4001863142354850            Gas           Gov. Aggregation   DEO             1180016131505               Gas           Gov. Aggregation
VEDO         4019453942420924            Gas           Gov. Aggregation   COH             204309080022                Gas           Gov. Aggregation
VEDO         4016021352505574            Gas           Gov. Aggregation   COH             206934860012                Gas           Gov. Aggregation
VEDO         4019536202527006            Gas           Gov. Aggregation   COH             209147480018                Gas           Gov. Aggregation
VEDO         4021160002347496            Gas           Gov. Aggregation   COH             203980820025                Gas           Gov. Aggregation
VEDO         4021166102173829            Gas           Gov. Aggregation   COH             111338590026                Gas           Gov. Aggregation
VEDO         4019774292136177            Gas           Gov. Aggregation   COH             201684440025                Gas           Gov. Aggregation
VEDO         4019169242303476            Gas           Gov. Aggregation   COH             208439890014                Gas           Gov. Aggregation
VEDO         4021108702418249            Gas           Gov. Aggregation   COH             194705890043                Gas           Gov. Aggregation
VEDO         4021429682386697            Gas           Gov. Aggregation   COH             168818330025                Gas           Gov. Aggregation
VEDO         4019444832493382            Gas           Gov. Aggregation   VEDO            4016697042456431            Gas           Gov. Aggregation
VEDO         4017278092344237            Gas           Gov. Aggregation   DEO             0421005571952               Gas           Gov. Aggregation
VEDO         4021416582261092            Gas           Gov. Aggregation   COH             207936220011                Gas           Gov. Aggregation
VEDO         4020203312208369            Gas           Gov. Aggregation   COH             206846900010                Gas           Gov. Aggregation
VEDO         4004140972334107            Gas           Gov. Aggregation   COH             189931340028                Gas           Gov. Aggregation
VEDO         4021248962478783            Gas           Gov. Aggregation   COH             193219430014                Gas           Gov. Aggregation
VEDO         4002629332112308            Gas           Gov. Aggregation   COH             194715680046                Gas           Gov. Aggregation
VEDO         4021405302192029            Gas           Gov. Aggregation   COH             197828810046                Gas           Gov. Aggregation
VEDO         4018573072425723            Gas           Gov. Aggregation   COH             199889850057                Gas           Gov. Aggregation
VEDO         4017538542246249            Gas           Gov. Aggregation   COH             152356570023                Gas           Gov. Aggregation
VEDO         4021248442336800            Gas           Gov. Aggregation   COH             206895190017                Gas           Gov. Aggregation
VEDO         4021499592137493            Gas           Gov. Aggregation   COH             206896670014                Gas           Gov. Aggregation
VEDO         4019867482431427            Gas           Gov. Aggregation   COH             201197300018                Gas           Gov. Aggregation
VEDO         4002224362402730            Gas           Gov. Aggregation   COH             193656670045                Gas           Gov. Aggregation
VEDO         4003924732106233            Gas           Gov. Aggregation   COH             207737340018                Gas           Gov. Aggregation
VEDO         4018245942353615            Gas           Gov. Aggregation   COH             205070660017                Gas           Gov. Aggregation
VEDO         4021053062117293            Gas           Gov. Aggregation   COH             143302790067                Gas           Gov. Aggregation
VEDO         4021053722418321            Gas           Gov. Aggregation   COH             173739680014                Gas           Gov. Aggregation
VEDO         4020864572121646            Gas           Gov. Aggregation   COH             208016590013                Gas           Gov. Aggregation
VEDO         4015292762254887            Gas           Gov. Aggregation   COH             197535460050                Gas           Gov. Aggregation
VEDO         4018719302397445            Gas           Gov. Aggregation   COH             199319320019                Gas           Gov. Aggregation
VEDO         4021223092633487            Gas           Gov. Aggregation   COH             210151800018                Gas           Gov. Aggregation
VEDO         4021228582480966            Gas           Gov. Aggregation   COH             193890130015                Gas           Gov. Aggregation
VEDO         4021449992158093            Gas           Gov. Aggregation   COH             165359810076                Gas           Gov. Aggregation
VEDO         4016589402107411            Gas           Gov. Aggregation   COH             189373620078                Gas           Gov. Aggregation
VEDO         4017026402463517            Gas           Gov. Aggregation   COH             122482640018                Gas           Gov. Aggregation
VEDO         4015611542358478            Gas           Gov. Aggregation   COH             118492850019                Gas           Gov. Aggregation
VEDO         4019423312364961            Gas           Gov. Aggregation   VEDO            4004145032416469            Gas           Gov. Aggregation
VEDO         4004048642291153            Gas           Gov. Aggregation   VEDO            4016177862208258            Gas           Gov. Aggregation
VEDO         4005146832280808            Gas           Gov. Aggregation   COH             123757630034                Gas           Gov. Aggregation
VEDO         4004011842457574            Gas           Gov. Aggregation   VEDO            4003383332304627            Gas           Gov. Aggregation
VEDO         4021242072463745            Gas           Gov. Aggregation   COH             111145430028                Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type         Utility      Utility Account Number     Commodity      Customer Type
VEDO         4021193642345786            Gas           Gov. Aggregation   DEO             1500047382389               Gas           Gov. Aggregation
VEDO         4021122152194464            Gas           Gov. Aggregation   DEO             3180011617687               Gas           Gov. Aggregation
VEDO         4018266042317691            Gas           Gov. Aggregation   COH             111080960025                Gas           Gov. Aggregation
VEDO         4021253932210359            Gas           Gov. Aggregation   DEO             2180014224691               Gas           Gov. Aggregation
VEDO         4021264182346032            Gas           Gov. Aggregation   DEO             0140000014945               Gas           Gov. Aggregation
VEDO         4021251732519931            Gas           Gov. Aggregation   DEO             7421004167700               Gas           Gov. Aggregation
VEDO         4019064432176394            Gas           Gov. Aggregation   DEO             1500061726238               Gas           Gov. Aggregation
VEDO         4019233512323714            Gas           Gov. Aggregation   COH             211273900018                Gas           Gov. Aggregation
VEDO         4018027242367254            Gas           Gov. Aggregation   COH             138534110010                Gas           Gov. Aggregation
VEDO         4021485832226443            Gas           Gov. Aggregation   COH             211198840011                Gas           Gov. Aggregation
VEDO         4020919732298741            Gas           Gov. Aggregation   COH             150845730033                Gas           Gov. Aggregation
VEDO         4018565522180212            Gas           Gov. Aggregation   COH             165195540026                Gas           Gov. Aggregation
VEDO         4019760962465446            Gas           Gov. Aggregation   COH             204734490034                Gas           Gov. Aggregation
VEDO         4016487942467079            Gas           Gov. Aggregation   COH             210137360011                Gas           Gov. Aggregation
VEDO         4021294942526678            Gas           Gov. Aggregation   COH             206334680021                Gas           Gov. Aggregation
VEDO         4021419982295376            Gas           Gov. Aggregation   COH             197046920032                Gas           Gov. Aggregation
VEDO         4021481642136382            Gas           Gov. Aggregation   COH             204552420034                Gas           Gov. Aggregation
VEDO         4001999732121358            Gas           Gov. Aggregation   COH             209273520012                Gas           Gov. Aggregation
VEDO         4003021402331003            Gas           Gov. Aggregation   COH             174846010034                Gas           Gov. Aggregation
VEDO         4019805372133059            Gas           Gov. Aggregation   COH             209579560016                Gas           Gov. Aggregation
VEDO         4018972802373315            Gas           Gov. Aggregation   COH             209784760019                Gas           Gov. Aggregation
VEDO         4017529462441588            Gas           Gov. Aggregation   COH             206714670018                Gas           Gov. Aggregation
VEDO         4021309692465281            Gas           Gov. Aggregation   COH             199637330031                Gas           Gov. Aggregation
VEDO         4001869012148772            Gas           Gov. Aggregation   COH             209620750017                Gas           Gov. Aggregation
VEDO         4002768102271686            Gas           Gov. Aggregation   COH             209620750035                Gas           Gov. Aggregation
VEDO         4004760272343390            Gas           Gov. Aggregation   COH             150151070060                Gas           Gov. Aggregation
VEDO         4020080052486775            Gas           Gov. Aggregation   COH             208734790028                Gas           Gov. Aggregation
VEDO         4021216472233527            Gas           Gov. Aggregation   COH             210501160010                Gas           Gov. Aggregation
VEDO         4021465822378215            Gas           Gov. Aggregation   COH             203464790026                Gas           Gov. Aggregation
VEDO         4015139572357685            Gas           Gov. Aggregation   COH             198946460021                Gas           Gov. Aggregation
VEDO         4016700652313081            Gas           Gov. Aggregation   COH             207353440020                Gas           Gov. Aggregation
VEDO         4021272622160599            Gas           Gov. Aggregation   COH             187782320085                Gas           Gov. Aggregation
VEDO         4017289132316193            Gas           Gov. Aggregation   COH             207397390010                Gas           Gov. Aggregation
VEDO         4019209702435743            Gas           Gov. Aggregation   COH             207486090014                Gas           Gov. Aggregation
VEDO         4020291472365714            Gas           Gov. Aggregation   COH             207248540022                Gas           Gov. Aggregation
VEDO         4020898282395352            Gas           Gov. Aggregation   COH             203036990012                Gas           Gov. Aggregation
VEDO         4021419452447696            Gas           Gov. Aggregation   COH             188185110048                Gas           Gov. Aggregation
VEDO         4021243022320735            Gas           Gov. Aggregation   COH             185984980045                Gas           Gov. Aggregation
VEDO         4021051282425425            Gas           Gov. Aggregation   COH             211156460019                Gas           Gov. Aggregation
VEDO         4020878242259884            Gas           Gov. Aggregation   COH             207754530012                Gas           Gov. Aggregation
VEDO         4021189062210084            Gas           Gov. Aggregation   COH             206201120038                Gas           Gov. Aggregation
VEDO         4001655042136831            Gas           Gov. Aggregation   COH             155437400069                Gas           Gov. Aggregation
VEDO         4019428192311544            Gas           Gov. Aggregation   COH             202889360232                Gas           Gov. Aggregation
VEDO         4021466322176568            Gas           Gov. Aggregation   COH             209076170014                Gas           Gov. Aggregation
VEDO         4020007142494523            Gas           Gov. Aggregation   COH             202889360116                Gas           Gov. Aggregation
VEDO         4021401662499677            Gas           Gov. Aggregation   COH             202889360054                Gas           Gov. Aggregation
VEDO         4021255542463341            Gas           Gov. Aggregation   COH             202889360018                Gas           Gov. Aggregation
VEDO         4021222052135161            Gas           Gov. Aggregation   COH             202889360170                Gas           Gov. Aggregation
VEDO         4021300402423518            Gas           Gov. Aggregation   COH             199341710010                Gas           Gov. Aggregation
VEDO         4021121942569428            Gas           Gov. Aggregation
VEDO         4021431152680551            Gas           Gov. Aggregation
VEDO         4015740302106016            Gas           Gov. Aggregation
VEDO         4004546422234901            Gas           Gov. Aggregation
VEDO         4004160232436590            Gas           Gov. Aggregation
VEDO         4020072432363503            Gas           Gov. Aggregation
VEDO         4019970322478394            Gas           Gov. Aggregation
VEDO         4019530032339643            Gas           Gov. Aggregation
VEDO         4020000032362616            Gas           Gov. Aggregation
VEDO         4015687612185670            Gas           Gov. Aggregation
VEDO         4018630472268382            Gas           Gov. Aggregation
VEDO         4021282082424921            Gas           Gov. Aggregation
VEDO         4021238562353500            Gas           Gov. Aggregation
VEDO         4004965402487409            Gas           Gov. Aggregation
VEDO         4021241432242903            Gas           Gov. Aggregation
VEDO         4017776682447071            Gas           Gov. Aggregation
VEDO         4018987722517421            Gas           Gov. Aggregation
VEDO         4015578932685445            Gas           Gov. Aggregation
VEDO         4017300642486175            Gas           Gov. Aggregation
VEDO         4019492852393271            Gas           Gov. Aggregation
VEDO         4019174912142875            Gas           Gov. Aggregation
VEDO         4016585122371262            Gas           Gov. Aggregation
VEDO         4021070492481000            Gas           Gov. Aggregation
VEDO         4002752862680189            Gas           Gov. Aggregation
VEDO         4018975552642732            Gas           Gov. Aggregation
VEDO         4021010112680318            Gas           Gov. Aggregation
VEDO         4017155882274445            Gas           Gov. Aggregation
VEDO         4021029772206013            Gas           Gov. Aggregation
VEDO         4005084242435525            Gas           Gov. Aggregation
VEDO         4021487202282259            Gas           Gov. Aggregation
VEDO         4020259042358402            Gas           Gov. Aggregation
VEDO         4021409162118807            Gas           Gov. Aggregation
VEDO         4021505152396030            Gas           Gov. Aggregation
VEDO         4020166342419368            Gas           Gov. Aggregation
VEDO         4021293482484862            Gas           Gov. Aggregation
VEDO         4001467302300792            Gas           Gov. Aggregation
VEDO         4021214782161628            Gas           Gov. Aggregation
VEDO         4017873492395829            Gas           Gov. Aggregation
VEDO         4018438642425234            Gas           Gov. Aggregation
VEDO         4021515682388929            Gas           Gov. Aggregation
VEDO         4004753202493819            Gas           Gov. Aggregation
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   Utility      Utility Account Number     Commodity      Customer Type   Utility   Utility Account Number   Commodity   Customer Type
VEDO         4021193892227689            Gas           Gov. Aggregation
VEDO         4021245582281270            Gas           Gov. Aggregation
VEDO         4015516222680761            Gas           Gov. Aggregation
VEDO         4017618312281551            Gas           Gov. Aggregation
VEDO         4021511272479254            Gas           Gov. Aggregation
VEDO         4004675742326852            Gas           Gov. Aggregation
VEDO         4021467832410221            Gas           Gov. Aggregation
VEDO         4018989522230682            Gas           Gov. Aggregation
VEDO         4001276822277532            Gas           Gov. Aggregation
VEDO         4021481382424132            Gas           Gov. Aggregation
VEDO         4020912252115665            Gas           Gov. Aggregation
VEDO         4019737242353199            Gas           Gov. Aggregation
VEDO         4020931732522127            Gas           Gov. Aggregation
VEDO         4020884032460125            Gas           Gov. Aggregation
VEDO         4004414392361475            Gas           Gov. Aggregation
VEDO         4020322562196978            Gas           Gov. Aggregation
VEDO         4021281442440443            Gas           Gov. Aggregation
VEDO         4021500652270472            Gas           Gov. Aggregation
VEDO         4021014762255105            Gas           Gov. Aggregation
VEDO         4021002982207109            Gas           Gov. Aggregation
VEDO         4021398522114387            Gas           Gov. Aggregation
VEDO         4021195612372487            Gas           Gov. Aggregation
VEDO         4021181692403182            Gas           Gov. Aggregation
VEDO         4021504242180184            Gas           Gov. Aggregation
VEDO         4021415052491185            Gas           Gov. Aggregation
VEDO         4021152222433830            Gas           Gov. Aggregation
VEDO         4021244332140589            Gas           Gov. Aggregation
VEDO         4021014492342366            Gas           Gov. Aggregation
VEDO         4015849672277158            Gas           Gov. Aggregation
VEDO         4019245692353556            Gas           Gov. Aggregation
VEDO         4021223652186776            Gas           Gov. Aggregation
VEDO         4016721532484415            Gas           Gov. Aggregation
VEDO         4015813562326874            Gas           Gov. Aggregation
VEDO         4021217132280741            Gas           Gov. Aggregation
VEDO         4021104782417930            Gas           Gov. Aggregation
VEDO         4004299962378570            Gas           Gov. Aggregation
VEDO         4020221472675675            Gas           Gov. Aggregation
VEDO         4021057992392982            Gas           Gov. Aggregation
VEDO         4021462142337257            Gas           Gov. Aggregation
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                                     EXHIBIT E

                     Schedule Customer Electric Non-Agg Contracts
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621000474710           Electric       Non Aggregation    FEOH - TE     08007500912670021675        Electric       Non Aggregation
AEP - CSP     00040621000562442           Electric       Non Aggregation    FEOH - TE     08007500912670021675        Electric       Non Aggregation
AEP - CSP     00040621002578091           Electric       Non Aggregation    FEOH - TE     08007500912670021675        Electric       Non Aggregation
AEP - CSP     00040621003155645           Electric       Non Aggregation    FEOH - TE     08006290545000031914        Electric       Non Aggregation
AEP - CSP     00040621000847964           Electric       Non Aggregation    FEOH - OE     08022191000001389373        Electric       Non Aggregation
AEP - CSP     00040621006265565           Electric       Non Aggregation    FEOH - TE     08006016852880019449        Electric       Non Aggregation
AEP - CSP     00040621000340074           Electric       Non Aggregation    FEOH - OE     08018722660000361589        Electric       Non Aggregation
AEP - CSP     00040621000560995           Electric       Non Aggregation    FEOH - OE     08018810730000295155        Electric       Non Aggregation
AEP - CSP     00040621001233914           Electric       Non Aggregation    FEOH - OE     08019264840000458450        Electric       Non Aggregation
AEP - CSP     00040621000541651           Electric       Non Aggregation    FEOH - OE     08019272500000338854        Electric       Non Aggregation
AEP - CSP     00040621000743512           Electric       Non Aggregation    FEOH - OE     08006424620000816412        Electric       Non Aggregation
AEP - CSP     00040621000841061           Electric       Non Aggregation    FEOH - TE     08006085342460005179        Electric       Non Aggregation
AEP - CSP     00040621003495483           Electric       Non Aggregation    FEOH - TE     08005925485001560188        Electric       Non Aggregation
AEP - CSP     00040621000499490           Electric       Non Aggregation    FEOH - OE     08005693225000122419        Electric       Non Aggregation
AEP - CSP     00040621004506940           Electric       Non Aggregation    FEOH - OE     08019402700000282035        Electric       Non Aggregation
AEP - CSP     00040621004916643           Electric       Non Aggregation    FEOH - OE     08019887340000313880        Electric       Non Aggregation
AEP - CSP     00040621006463850           Electric       Non Aggregation    FEOH - OE     08020205580000399452        Electric       Non Aggregation
AEP - CSP     00040621001558743           Electric       Non Aggregation    FEOH - OE     08020437600000511595        Electric       Non Aggregation
AEP - CSP     00040621001800873           Electric       Non Aggregation    FEOH - OE     08020539105000216210        Electric       Non Aggregation
AEP - CSP     00040621000276034           Electric       Non Aggregation    FEOH - OE     08020658500000579943        Electric       Non Aggregation
AEP - CSP     00040621000337762           Electric       Non Aggregation    FEOH - TE     08005718962700092090        Electric       Non Aggregation
AEP - CSP     00040621004541631           Electric       Non Aggregation    FEOH - OE     08020828910001488156        Electric       Non Aggregation
AEP - CSP     00040621001413284           Electric       Non Aggregation    FEOH - OE     08020960410000427198        Electric       Non Aggregation
AEP - CSP     00040621002997184           Electric       Non Aggregation    FEOH - TE     08006516072600002677        Electric       Non Aggregation
AEP - CSP     00040621004036810           Electric       Non Aggregation    FEOH - OE     08006517945000126143        Electric       Non Aggregation
AEP - CSP     00040621004354575           Electric       Non Aggregation    FEOH - CEI    08006640481050097549        Electric       Non Aggregation
AEP - CSP     00040621003258760           Electric       Non Aggregation    FEOH - TE     08007970352240000501        Electric       Non Aggregation
AEP - CSP     00040621003286353           Electric       Non Aggregation    FEOH - TE     08008004862120091229        Electric       Non Aggregation
AEP - CSP     00040621006438605           Electric       Non Aggregation    FEOH - OE     08006641830000613609        Electric       Non Aggregation
AEP - CSP     00040621005797385           Electric       Non Aggregation    FEOH - TE     08006688945000330014        Electric       Non Aggregation
AEP - CSP     00040621007023663           Electric       Non Aggregation    FEOH - TE     08006698215000210988        Electric       Non Aggregation
AEP - CSP     00040621006933542           Electric       Non Aggregation    FEOH - TE     08006767192190019652        Electric       Non Aggregation
AEP - CSP     00040621007484071           Electric       Non Aggregation    FEOH - TE     08006767193000008038        Electric       Non Aggregation
AEP - CSP     00040621005315004           Electric       Non Aggregation    FEOH - TE     08008026232850017817        Electric       Non Aggregation
AEP - CSP     00040621006380534           Electric       Non Aggregation    FEOH - TE     08008270022490000991        Electric       Non Aggregation
AEP - CSP     00040621006561940           Electric       Non Aggregation    FEOH - OE     08021322280001383958        Electric       Non Aggregation
AEP - CSP     00040621010793650           Electric       Non Aggregation    FEOH - CEI    08006502104000015390        Electric       Non Aggregation
AEP - CSP     00040621009383200           Electric       Non Aggregation    FEOH - OE     08006517945001315050        Electric       Non Aggregation
AEP - CSP     00040621012038655           Electric       Non Aggregation    FEOH - TE     08006071842020018702        Electric       Non Aggregation
AEP - CSP     00040621012083001           Electric       Non Aggregation    FEOH - TE     08006987882540031166        Electric       Non Aggregation
AEP - CSP     00040621012133010           Electric       Non Aggregation    FEOH - CEI    08008491891460064992        Electric       Non Aggregation
AEP - CSP     00040621010760753           Electric       Non Aggregation    FEOH - CEI    08008491891460065089        Electric       Non Aggregation
AEP - CSP     00040621008902201           Electric       Non Aggregation    FEOH - CEI    08008491891550000598        Electric       Non Aggregation
AEP - CSP     00040621007516534           Electric       Non Aggregation    FEOH - OE     08021952970000507221        Electric       Non Aggregation
AEP - CSP     00040621007835554           Electric       Non Aggregation    FEOH - CEI    08022037015001548240        Electric       Non Aggregation
AEP - CSP     00040621008618275           Electric       Non Aggregation    FEOH - CEI    08022037015001548241        Electric       Non Aggregation
AEP - CSP     00040621008978294           Electric       Non Aggregation    FEOH - OE     08006499460000845693        Electric       Non Aggregation
AEP - CSP     00040621013873425           Electric       Non Aggregation    FEOH - OE     08006499460000845694        Electric       Non Aggregation
AEP - CSP     00040621014358205           Electric       Non Aggregation    FEOH - OE     08006589805000017217        Electric       Non Aggregation
AEP - CSP     00040621009701644           Electric       Non Aggregation    FEOH - CEI    08006287071860000153        Electric       Non Aggregation
AEP - CSP     00040621013582941           Electric       Non Aggregation    FEOH - TE     08022211003000002666        Electric       Non Aggregation
AEP - CSP     00040621010785411           Electric       Non Aggregation    FEOH - TE     08007044542030015497        Electric       Non Aggregation
AEP - CSP     00040621008817064           Electric       Non Aggregation    FEOH - TE     08007108875000068262        Electric       Non Aggregation
AEP - CSP     00040621008818920           Electric       Non Aggregation    FEOH - TE     08007168322430094262        Electric       Non Aggregation
AEP - CSP     00040621009869940           Electric       Non Aggregation    FEOH - TE     08007168325000240738        Electric       Non Aggregation
AEP - CSP     00040621011074533           Electric       Non Aggregation    FEOH - OE     08006589800001319556        Electric       Non Aggregation
AEP - CSP     00040621011669680           Electric       Non Aggregation    FEOH - CEI    08006640481940014625        Electric       Non Aggregation
AEP - CSP     00040621011902524           Electric       Non Aggregation    FEOH - TE     08006767192390093489        Electric       Non Aggregation
AEP - CSP     00040621009643305           Electric       Non Aggregation    FEOH - TE     08006767195000032469        Electric       Non Aggregation
AEP - CSP     00040621011456114           Electric       Non Aggregation    FEOH - OE     08022605940000504474        Electric       Non Aggregation
AEP - CSP     00040621014932284           Electric       Non Aggregation    FEOH - TE     08006688942570093026        Electric       Non Aggregation
AEP - CSP     00040621010057553           Electric       Non Aggregation    FEOH - TE     08006688942790092730        Electric       Non Aggregation
AEP - CSP     00040621011841492           Electric       Non Aggregation    FEOH - TE     08007353262450003468        Electric       Non Aggregation
AEP - CSP     00040621015788863           Electric       Non Aggregation    FEOH - CEI    08007354091460065214        Electric       Non Aggregation
AEP - CSP     00040621009732640           Electric       Non Aggregation    FEOH - TE     08007436872720033243        Electric       Non Aggregation
AEP - CSP     00040621010870383           Electric       Non Aggregation    FEOH - TE     08007494785000152617        Electric       Non Aggregation
AEP - CSP     00040621016703821           Electric       Non Aggregation    FEOH - TE     08006767195000339498        Electric       Non Aggregation
AEP - CSP     00040621019561940           Electric       Non Aggregation    FEOH - OE     08006774510001340633        Electric       Non Aggregation
AEP - CSP     00040621019847540           Electric       Non Aggregation    FEOH - OE     08023059360000592217        Electric       Non Aggregation
AEP - CSP     00040621013339972           Electric       Non Aggregation    FEOH - CEI    08011612071440056703        Electric       Non Aggregation
AEP - CSP     00040621017987221           Electric       Non Aggregation    FEOH - CEI    08012058481160065952        Electric       Non Aggregation
AEP - CSP     00040621020627964           Electric       Non Aggregation    FEOH - CEI    08012282861560010802        Electric       Non Aggregation
AEP - CSP     00040621010364141           Electric       Non Aggregation    FEOH - CEI    08012409041670067784        Electric       Non Aggregation
AEP - CSP     00040621010383141           Electric       Non Aggregation    FEOH - CEI    08013623511810076480        Electric       Non Aggregation
AEP - CSP     00040621013887945           Electric       Non Aggregation    FEOH - CEI    08014238445000309977        Electric       Non Aggregation
AEP - CSP     00040621011841004           Electric       Non Aggregation    FEOH - CEI    08014270711970097196        Electric       Non Aggregation
AEP - CSP     00040621012109623           Electric       Non Aggregation    FEOH - TE     08007158212720013452        Electric       Non Aggregation
AEP - CSP     00040621021894472           Electric       Non Aggregation    FEOH - TE     08008061032600027601        Electric       Non Aggregation
AEP - CSP     00040621014043493           Electric       Non Aggregation    FEOH - OE     08023601765000023098        Electric       Non Aggregation
AEP - CSP     00040621014072664           Electric       Non Aggregation    FEOH - OE     08015422040000496938        Electric       Non Aggregation
AEP - CSP     00040621014774711           Electric       Non Aggregation    FEOH - CEI    08015730451920078367        Electric       Non Aggregation
AEP - CSP     00040621017108435           Electric       Non Aggregation    FEOH - TE     08007146112720008218        Electric       Non Aggregation
AEP - CSP     00040621015038521           Electric       Non Aggregation    FEOH - OE     08023271185000163269        Electric       Non Aggregation
AEP - CSP     00040621016021772           Electric       Non Aggregation    FEOH - CEI    08007354091480000698        Electric       Non Aggregation
AEP - CSP     00040621015414350           Electric       Non Aggregation    FEOH - CEI    08007354091630089373        Electric       Non Aggregation
AEP - CSP     00040621016298231           Electric       Non Aggregation    FEOH - OE     08007405490001099997        Electric       Non Aggregation
AEP - CSP     00040621024338291           Electric       Non Aggregation    FEOH - OE     08023685345000381005        Electric       Non Aggregation
AEP - CSP     00040621024779475           Electric       Non Aggregation    FEOH - TE     08007464972770091889        Electric       Non Aggregation
AEP - CSP     00040621022385692           Electric       Non Aggregation    FEOH - TE     08007639392810018449        Electric       Non Aggregation
AEP - CSP     00040621025636621           Electric       Non Aggregation    FEOH - TE     08006411815000036006        Electric       Non Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621022590671           Electric       Non Aggregation    FEOH - OE     08006499460000846190        Electric       Non Aggregation
AEP - CSP     00040621022768515           Electric       Non Aggregation    FEOH - OE     08017755610000185265        Electric       Non Aggregation
AEP - CSP     00040621022958494           Electric       Non Aggregation    FEOH - TE     08006607922320005360        Electric       Non Aggregation
AEP - CSP     00040621026040680           Electric       Non Aggregation    FEOH - OE     08006641830000613728        Electric       Non Aggregation
AEP - CSP     00040621027456890           Electric       Non Aggregation    FEOH - TE     08008046825001293110        Electric       Non Aggregation
AEP - CSP     00040621027549575           Electric       Non Aggregation    FEOH - TE     08007970352290010135        Electric       Non Aggregation
AEP - CSP     00040621020163904           Electric       Non Aggregation    FEOH - TE     08008046822130028055        Electric       Non Aggregation
AEP - CSP     00040621020099134           Electric       Non Aggregation    FEOH - TE     08006687782810018434        Electric       Non Aggregation
AEP - CSP     00040621021063681           Electric       Non Aggregation    FEOH - TE     08006688942690091051        Electric       Non Aggregation
AEP - CSP     00040621029222504           Electric       Non Aggregation    FEOH - TE     08006688942710092040        Electric       Non Aggregation
AEP - CSP     00040621021629921           Electric       Non Aggregation    FEOH - TE     08008321752520011519        Electric       Non Aggregation
AEP - CSP     00040621019798741           Electric       Non Aggregation    FEOH - OE     08020232395000248419        Electric       Non Aggregation
AEP - CSP     00040621021565255           Electric       Non Aggregation    FEOH - OE     08020419910000466122        Electric       Non Aggregation
AEP - CSP     00040621015311235           Electric       Non Aggregation    FEOH - TE     08008265282420021716        Electric       Non Aggregation
AEP - CSP     00040621022599970           Electric       Non Aggregation    FEOH - TE     08008265282590005638        Electric       Non Aggregation
AEP - CSP     00040621019847540           Electric       Non Aggregation    FEOH - CEI    08009514391400081866        Electric       Non Aggregation
AEP - CSP     00040621025129364           Electric       Non Aggregation    FEOH - CEI    08009886121340085160        Electric       Non Aggregation
AEP - CSP     00040621022470840           Electric       Non Aggregation    FEOH - CEI    08010258901260094054        Electric       Non Aggregation
AEP - CSP     00040621029820320           Electric       Non Aggregation    FEOH - CEI    08010956791330003297        Electric       Non Aggregation
AEP - CSP     00040621029881932           Electric       Non Aggregation    FEOH - CEI    08010997941180081133        Electric       Non Aggregation
AEP - CSP     00040621022900701           Electric       Non Aggregation    FEOH - CEI    08011319051040017597        Electric       Non Aggregation
AEP - CSP     00040621017455805           Electric       Non Aggregation    FEOH - OE     08023748950000776819        Electric       Non Aggregation
AEP - CSP     00040621031144424           Electric       Non Aggregation    FEOH - TE     08006767192170090873        Electric       Non Aggregation
AEP - CSP     00040621032333901           Electric       Non Aggregation    FEOH - TE     08006767192190019690        Electric       Non Aggregation
AEP - CSP     00040621032484593           Electric       Non Aggregation    FEOH - OE     08006801600000613612        Electric       Non Aggregation
AEP - CSP     00040621021806015           Electric       Non Aggregation    FEOH - OE     08020668890000443362        Electric       Non Aggregation
AEP - CSP     00040621021838950           Electric       Non Aggregation    FEOH - OE     08020900110000595051        Electric       Non Aggregation
AEP - CSP     00040621024500881           Electric       Non Aggregation    FEOH - OE     08021031810000440638        Electric       Non Aggregation
AEP - CSP     00040621023608952           Electric       Non Aggregation    FEOH - OE     08021167390000583367        Electric       Non Aggregation
AEP - CSP     00040621024570332           Electric       Non Aggregation    FEOH - TE     08008265282590005642        Electric       Non Aggregation
AEP - CSP     00040621019288284           Electric       Non Aggregation    FEOH - CEI    08008491891550000598        Electric       Non Aggregation
AEP - CSP     00040621024806590           Electric       Non Aggregation    FEOH - CEI    08011612071920009509        Electric       Non Aggregation
AEP - CSP     00040621024894883           Electric       Non Aggregation    FEOH - CEI    08012004441000092826        Electric       Non Aggregation
AEP - CSP     00040621025088905           Electric       Non Aggregation    FEOH - CEI    08012291584000014943        Electric       Non Aggregation
AEP - CSP     00040621027599954           Electric       Non Aggregation    FEOH - CEI    08012456511510044260        Electric       Non Aggregation
AEP - CSP     00040621019904622           Electric       Non Aggregation    FEOH - CEI    08012470881030023440        Electric       Non Aggregation
AEP - CSP     00040621019911362           Electric       Non Aggregation    FEOH - CEI    08012820841120060842        Electric       Non Aggregation
AEP - CSP     00040621026172393           Electric       Non Aggregation    FEOH - CEI    08013034021960032506        Electric       Non Aggregation
AEP - CSP     00040621028288994           Electric       Non Aggregation    FEOH - OE     08021362870001354594        Electric       Non Aggregation
AEP - CSP     00040621024413493           Electric       Non Aggregation    FEOH - OE     08007021410000552763        Electric       Non Aggregation
AEP - CSP     00040621024685623           Electric       Non Aggregation    FEOH - TE     08007146112720023167        Electric       Non Aggregation
AEP - CSP     00040621028007952           Electric       Non Aggregation    FEOH - OE     08023548350000615290        Electric       Non Aggregation
AEP - CSP     00040621029016730           Electric       Non Aggregation    FEOH - CEI    08013049065000333715        Electric       Non Aggregation
AEP - CSP     00040621026559190           Electric       Non Aggregation    FEOH - CEI    08013152581670067779        Electric       Non Aggregation
AEP - CSP     00040621027276244           Electric       Non Aggregation    FEOH - CEI    08013555071610101296        Electric       Non Aggregation
AEP - CSP     00040621027520645           Electric       Non Aggregation    FEOH - CEI    08014070911210037971        Electric       Non Aggregation
AEP - CSP     00040621028551733           Electric       Non Aggregation    FEOH - TE     08007308372840015595        Electric       Non Aggregation
AEP - CSP     00040621029818851           Electric       Non Aggregation    FEOH - TE     08007494782580003044        Electric       Non Aggregation
AEP - CSP     00040621028117631           Electric       Non Aggregation    FEOH - CEI    08014112831160006890        Electric       Non Aggregation
AEP - CSP     00040621028366084           Electric       Non Aggregation    FEOH - CEI    08015766111930019625        Electric       Non Aggregation
AEP - CSP     00040621024701840           Electric       Non Aggregation    FEOH - OE     08015825225001263280        Electric       Non Aggregation
AEP - CSP     00040621030410374           Electric       Non Aggregation    FEOH - CEI    08015886851820065347        Electric       Non Aggregation
AEP - CSP     00040621031403521           Electric       Non Aggregation    FEOH - OE     08021848840000241822        Electric       Non Aggregation
AEP - CSP     00040621028807474           Electric       Non Aggregation    FEOH - OE     08022031830001362797        Electric       Non Aggregation
AEP - CSP     00040621029028443           Electric       Non Aggregation    FEOH - CEI    08022037015001548232        Electric       Non Aggregation
AEP - CSP     00040621029001465           Electric       Non Aggregation    FEOH - CEI    08022037015001548239        Electric       Non Aggregation
AEP - CSP     00040621030526782           Electric       Non Aggregation    FEOH - CEI    08008491891590000598        Electric       Non Aggregation
AEP - CSP     00040621029966664           Electric       Non Aggregation    FEOH - OE     08007553890000410825        Electric       Non Aggregation
AEP - CSP     00040621029424212           Electric       Non Aggregation    FEOH - CEI    08009304811950001210        Electric       Non Aggregation
AEP - CSP     00040621025733523           Electric       Non Aggregation    FEOH - OE     08018230490000367946        Electric       Non Aggregation
AEP - CSP     00040621025950032           Electric       Non Aggregation    FEOH - OE     08018244580000420195        Electric       Non Aggregation
AEP - CSP     00040621030738380           Electric       Non Aggregation    FEOH - OE     08018415540000301065        Electric       Non Aggregation
AEP - CSP     00040621030457000           Electric       Non Aggregation    FEOH - OE     08022510685000183769        Electric       Non Aggregation
AEP - CSP     00040621034222730           Electric       Non Aggregation    FEOH - CEI    08009628891220099521        Electric       Non Aggregation
AEP - CSP     00040621026088994           Electric       Non Aggregation    FEOH - CEI    08011889881030060735        Electric       Non Aggregation
AEP - CSP     00040621030627710           Electric       Non Aggregation    FEOH - CEI    08012282861560010802        Electric       Non Aggregation
AEP - CSP     00040621031225672           Electric       Non Aggregation    FEOH - CEI    08012282861560010817        Electric       Non Aggregation
AEP - CSP     00040621027249153           Electric       Non Aggregation    FEOH - CEI    08012368581920076465        Electric       Non Aggregation
AEP - CSP     00040621030599263           Electric       Non Aggregation    FEOH - OE     08018515480001517166        Electric       Non Aggregation
AEP - CSP     00040621031030884           Electric       Non Aggregation    FEOH - OE     08018585560000361392        Electric       Non Aggregation
AEP - CSP     00040621031258963           Electric       Non Aggregation    FEOH - CEI    08013034231380038155        Electric       Non Aggregation
AEP - CSP     00040621031453763           Electric       Non Aggregation    FEOH - CEI    08013989741220093807        Electric       Non Aggregation
AEP - CSP     00040621035103442           Electric       Non Aggregation    FEOH - CEI    08014141291830016753        Electric       Non Aggregation
AEP - CSP     00040621032276051           Electric       Non Aggregation    FEOH - CEI    08014949221850000432        Electric       Non Aggregation
AEP - CSP     00040621031838521           Electric       Non Aggregation    FEOH - CEI    08014950891420037750        Electric       Non Aggregation
AEP - CSP     00040621032313704           Electric       Non Aggregation    FEOH - CEI    08015045091530058036        Electric       Non Aggregation
AEP - CSP     00040621039446095           Electric       Non Aggregation    FEOH - OE     08009569555000258229        Electric       Non Aggregation
AEP - CSP     00040621039609971           Electric       Non Aggregation    FEOH - CEI    08009606021110045529        Electric       Non Aggregation
AEP - CSP     00040621031987355           Electric       Non Aggregation    FEOH - CEI    08010089931450055117        Electric       Non Aggregation
AEP - CSP     00040621028437854           Electric       Non Aggregation    FEOH - CEI    08011381541220009513        Electric       Non Aggregation
AEP - CSP     00040621033640034           Electric       Non Aggregation    FEOH - OE     08012433870000536797        Electric       Non Aggregation
AEP - CSP     00040621032919493           Electric       Non Aggregation    FEOH - OE     08018889750000396499        Electric       Non Aggregation
AEP - CSP     00040621032539522           Electric       Non Aggregation    FEOH - OE     08019208055000123838        Electric       Non Aggregation
AEP - CSP     00040621033498172           Electric       Non Aggregation    FEOH - TE     08007970352290010149        Electric       Non Aggregation
AEP - CSP     00040621033154725           Electric       Non Aggregation    FEOH - OE     08016665250001416832        Electric       Non Aggregation
AEP - CSP     00040621033281944           Electric       Non Aggregation    FEOH - CEI    08012939501610071057        Electric       Non Aggregation
AEP - CSP     00040621033821355           Electric       Non Aggregation    FEOH - CEI    08013023191140078406        Electric       Non Aggregation
AEP - CSP     00040621034186541           Electric       Non Aggregation    FEOH - CEI    08013152585000277775        Electric       Non Aggregation
AEP - CSP     00040621036919044           Electric       Non Aggregation    FEOH - CEI    08013726711110045360        Electric       Non Aggregation
AEP - CSP     00040621042471591           Electric       Non Aggregation    FEOH - CEI    08014072231260038801        Electric       Non Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621042863081           Electric       Non Aggregation    FEOH - OE     08019366885001489521        Electric       Non Aggregation
AEP - CSP     00040621035004190           Electric       Non Aggregation    FEOH - OE     08019649590000324581        Electric       Non Aggregation
AEP - CSP     00040621035295320           Electric       Non Aggregation    FEOH - OE     08019760720000437874        Electric       Non Aggregation
AEP - CSP     00040621029261970           Electric       Non Aggregation    FEOH - OE     08019816510001353702        Electric       Non Aggregation
AEP - CSP     00040621029300343           Electric       Non Aggregation    FEOH - OE     08019986540000503985        Electric       Non Aggregation
AEP - CSP     00040621038476892           Electric       Non Aggregation    FEOH - OE     08020007230000413386        Electric       Non Aggregation
AEP - CSP     00040621039738744           Electric       Non Aggregation    FEOH - OE     08017475250000184658        Electric       Non Aggregation
AEP - CSP     00040621040443530           Electric       Non Aggregation    FEOH - CEI    08014257231900068464        Electric       Non Aggregation
AEP - CSP     00040621040955452           Electric       Non Aggregation    FEOH - CEI    08014860351630067534        Electric       Non Aggregation
AEP - CSP     00040621038448302           Electric       Non Aggregation    FEOH - CEI    08015137481810075384        Electric       Non Aggregation
AEP - CSP     00040621038743803           Electric       Non Aggregation    FEOH - CEI    08015604451320091414        Electric       Non Aggregation
AEP - CSP     00040621044045314           Electric       Non Aggregation    FEOH - OE     08020168170000383858        Electric       Non Aggregation
AEP - CSP     00040621031092350           Electric       Non Aggregation    FEOH - OE     08020232680000336692        Electric       Non Aggregation
AEP - CSP     00040621031255590           Electric       Non Aggregation    FEOH - OE     08020575510000520623        Electric       Non Aggregation
AEP - CSP     00040621037615603           Electric       Non Aggregation    FEOH - OE     08020897640000592642        Electric       Non Aggregation
AEP - CSP     00040621039160334           Electric       Non Aggregation    FEOH - OE     08018603700000320376        Electric       Non Aggregation
AEP - CSP     00040621031709203           Electric       Non Aggregation    FEOH - OE     08021415110001415807        Electric       Non Aggregation
AEP - CSP     00040621035803530           Electric       Non Aggregation    FEOH - OE     08019791170000485357        Electric       Non Aggregation
AEP - CSP     00040621038632591           Electric       Non Aggregation    FEOH - OE     08020768240001459922        Electric       Non Aggregation
AEP - CSP     00040621045873011           Electric       Non Aggregation    FEOH - OE     08020853860000558813        Electric       Non Aggregation
AEP - CSP     00040621045934974           Electric       Non Aggregation    FEOH - OE     08020904405001358459        Electric       Non Aggregation
AEP - CSP     00040621036559623           Electric       Non Aggregation    FEOH - CEI    08009568551370063953        Electric       Non Aggregation
AEP - CSP     00040621036991571           Electric       Non Aggregation    FEOH - OE     08017994020000250525        Electric       Non Aggregation
AEP - CSP     00040621039054440           Electric       Non Aggregation    FEOH - OE     08018059200000257622        Electric       Non Aggregation
AEP - CSP     00040621039508393           Electric       Non Aggregation    FEOH - OE     08024088435000023718        Electric       Non Aggregation
AEP - CSP     00040621046102791           Electric       Non Aggregation    FEOH - OE     08021952605000017626        Electric       Non Aggregation
AEP - CSP     00040621043470814           Electric       Non Aggregation    FEOH - CEI    08010466391600033710        Electric       Non Aggregation
AEP - CSP     00040621043882495           Electric       Non Aggregation    FEOH - CEI    08011617041570005454        Electric       Non Aggregation
AEP - CSP     00040621040548493           Electric       Non Aggregation    FEOH - CEI    08012282861560010747        Electric       Non Aggregation
AEP - CSP     00040621040024220           Electric       Non Aggregation    FEOH - CEI    08022037015001548228        Electric       Non Aggregation
AEP - CSP     00040621047426394           Electric       Non Aggregation    FEOH - CEI    08022037015001548229        Electric       Non Aggregation
AEP - CSP     00040621047795134           Electric       Non Aggregation    FEOH - CEI    08022037015001548236        Electric       Non Aggregation
AEP - CSP     00040621041690872           Electric       Non Aggregation    FEOH - OE     08024553330000778104        Electric       Non Aggregation
AEP - CSP     00040621037526363           Electric       Non Aggregation    FEOH - CEI    08012396131840021135        Electric       Non Aggregation
AEP - CSP     00040621037664282           Electric       Non Aggregation    FEOH - CEI    08013664961920007359        Electric       Non Aggregation
AEP - CSP     00040621049506631           Electric       Non Aggregation    FEOH - CEI    08014503261910077893        Electric       Non Aggregation
AEP - CSP     00040621050197834           Electric       Non Aggregation    FEOH - CEI    08014738871600075618        Electric       Non Aggregation
AEP - CSP     00040621050237935           Electric       Non Aggregation    FEOH - CEI    08015131231830003416        Electric       Non Aggregation
AEP - CSP     00040621050566665           Electric       Non Aggregation    FEOH - CEI    08015353031920065048        Electric       Non Aggregation
AEP - CSP     00040621043505110           Electric       Non Aggregation    FEOH - CEI    08015444911850081329        Electric       Non Aggregation
AEP - CSP     00040621038532075           Electric       Non Aggregation    FEOH - OE     08019574830000401050        Electric       Non Aggregation
AEP - CSP     00040621042589282           Electric       Non Aggregation    FEOH - OE     08019791100000485345        Electric       Non Aggregation
AEP - CSP     00040621032891431           Electric       Non Aggregation    FEOH - OE     08019942070000384379        Electric       Non Aggregation
AEP - CSP     00040621045437414           Electric       Non Aggregation    FEOH - OE     08020197550000427886        Electric       Non Aggregation
AEP - CSP     00040621050784445           Electric       Non Aggregation    FEOH - OE     08020237120000365207        Electric       Non Aggregation
AEP - CSP     00040621039027982           Electric       Non Aggregation    FEOH - OE     08020858300000427122        Electric       Non Aggregation
AEP - CSP     00040621033657764           Electric       Non Aggregation    FEOH - OE     08017193360000177203        Electric       Non Aggregation
AEP - CSP     00040621051138412           Electric       Non Aggregation    FEOH - OE     08021279310001415806        Electric       Non Aggregation
AEP - CSP     00040621044354555           Electric       Non Aggregation    FEOH - OE     08017755610000184889        Electric       Non Aggregation
AEP - CSP     00040621044359614           Electric       Non Aggregation    FEOH - OE     08021844420000518570        Electric       Non Aggregation
AEP - CSP     00040621039750824           Electric       Non Aggregation    FEOH - OE     08021952600000507213        Electric       Non Aggregation
AEP - CSP     00040621040083750           Electric       Non Aggregation    FEOH - OE     08022037015001426298        Electric       Non Aggregation
AEP - CSP     00040621043947945           Electric       Non Aggregation    FEOH - OE     08018697570001559345        Electric       Non Aggregation
AEP - CSP     00040621044739563           Electric       Non Aggregation    FEOH - OE     08019272500001306188        Electric       Non Aggregation
AEP - CSP     00040621040358521           Electric       Non Aggregation    FEOH - OE     08019411030001527505        Electric       Non Aggregation
AEP - CSP     00040621035299620           Electric       Non Aggregation    FEOH - OE     08019468820000338457        Electric       Non Aggregation
AEP - CSP     00040621042035615           Electric       Non Aggregation    FEOH - OE     08020287350001421245        Electric       Non Aggregation
AEP - CSP     00040621046414650           Electric       Non Aggregation    FEOH - CEI    08022037015001548227        Electric       Non Aggregation
AEP - CSP     00040621045708725           Electric       Non Aggregation    FEOH - CEI    08022037015001548234        Electric       Non Aggregation
AEP - CSP     00040621054155245           Electric       Non Aggregation    FEOH - CEI    08022037015001548237        Electric       Non Aggregation
AEP - CSP     00040621042345180           Electric       Non Aggregation    FEOH - OE     08022105255000270467        Electric       Non Aggregation
AEP - CSP     00040621048259830           Electric       Non Aggregation    FEOH - OE     08020819950001381952        Electric       Non Aggregation
AEP - CSP     00040621046695864           Electric       Non Aggregation    FEOH - OE     08020865220000457725        Electric       Non Aggregation
AEP - CSP     00040621048680805           Electric       Non Aggregation    FEOH - OE     08020897050000592633        Electric       Non Aggregation
AEP - CSP     00040621042901805           Electric       Non Aggregation    FEOH - OE     08020897055000390185        Electric       Non Aggregation
AEP - CSP     00040621042982473           Electric       Non Aggregation    FEOH - OE     08024922005000251432        Electric       Non Aggregation
AEP - CSP     00040621047333092           Electric       Non Aggregation    FEOH - OE     08021627250000578611        Electric       Non Aggregation
AEP - CSP     00040621048712613           Electric       Non Aggregation    FEOH - OE     08021936080000603592        Electric       Non Aggregation
AEP - CSP     00040621043609660           Electric       Non Aggregation    FEOH - OE     08021985170000538988        Electric       Non Aggregation
AEP - CSP     00040621036795690           Electric       Non Aggregation    FEOH - OE     08024828550000846189        Electric       Non Aggregation
AEP - CSP     00040621048222403           Electric       Non Aggregation    FEOH - OE     08021887565000286163        Electric       Non Aggregation
AEP - CSP     00040621055561535           Electric       Non Aggregation    FEOH - OE     08023309280000810135        Electric       Non Aggregation
AEP - CSP     00040621055846983           Electric       Non Aggregation    FEOH - OE     08022620720001471969        Electric       Non Aggregation
AEP - CSP     00040621049443571           Electric       Non Aggregation    FEOH - CEI    08022037015001548230        Electric       Non Aggregation
AEP - CSP     00040621049539082           Electric       Non Aggregation    FEOH - CEI    08022037015001548242        Electric       Non Aggregation
AEP - CSP     00040621049838692           Electric       Non Aggregation    FEOH - OE     08024922060000778643        Electric       Non Aggregation
AEP - CSP     00040621045375225           Electric       Non Aggregation    FEOH - OE     08022936760000787841        Electric       Non Aggregation
AEP - CSP     00040621051752235           Electric       Non Aggregation    FEOH - OE     08022945910000582653        Electric       Non Aggregation
AEP - CSP     00040621050001394           Electric       Non Aggregation    FEOH - OE     08022605940000507173        Electric       Non Aggregation
AEP - CSP     00040621046021903           Electric       Non Aggregation    FEOH - OE     08025066470000804389        Electric       Non Aggregation
AEP - CSP     00040621052018033           Electric       Non Aggregation    FEOH - OE     08024757360000846037        Electric       Non Aggregation
AEP - CSP     00040621050384963           Electric       Non Aggregation    FEOH - OE     08023450930000776138        Electric       Non Aggregation
AEP - CSP     00040621057738102           Electric       Non Aggregation    FEOH - OE     08023493590000630562        Electric       Non Aggregation
AEP - CSP     00040621046550961           Electric       Non Aggregation    FEOH - OE     08023548280000615289        Electric       Non Aggregation
AEP - CSP     00040621046620275           Electric       Non Aggregation    FEOH - OE     08023548520000615292        Electric       Non Aggregation
AEP - CSP     00040621057852784           Electric       Non Aggregation    FEOH - OE     08025005260000778767        Electric       Non Aggregation
AEP - CSP     00040621047269675           Electric       Non Aggregation    FEOH - CEI    08025792651900003922        Electric       Non Aggregation
AEP - CSP     00040621041307330           Electric       Non Aggregation    FEOH - OE     08025066470001439019        Electric       Non Aggregation
AEP - CSP     00040621041922211           Electric       Non Aggregation    FEOH - OE     08025074610000778892        Electric       Non Aggregation
AEP - CSP     00040621051664465           Electric       Non Aggregation    FEOH - OE     08024089900001455499        Electric       Non Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621058843433           Electric       Non Aggregation    FEOH - OE     08025210730000779092        Electric       Non Aggregation
AEP - CSP     00040621048208292           Electric       Non Aggregation    FEOH - OE     08025286845000384750        Electric       Non Aggregation
AEP - CSP     00040621048452045           Electric       Non Aggregation    FEOH - OE     08026137540000900398        Electric       Non Aggregation
AEP - CSP     00040621052324020           Electric       Non Aggregation    FEOH - OE     08024379130000782549        Electric       Non Aggregation
AEP - CSP     00040621042381184           Electric       Non Aggregation    FEOH - OE     08025279960001368325        Electric       Non Aggregation
AEP - CSP     00040621059812522           Electric       Non Aggregation    FEOH - OE     08023601760001435690        Electric       Non Aggregation
AEP - CSP     00040621042977784           Electric       Non Aggregation    FEOH - OE     08024922005000380218        Electric       Non Aggregation
AEP - CSP     00040621052843391           Electric       Non Aggregation    FEOH - OE     08025612780000982442        Electric       Non Aggregation
AEP - CSP     00040621052067472           Electric       Non Aggregation    FEOH - OE     08025000570001495225        Electric       Non Aggregation
AEP - CSP     00040621056451995           Electric       Non Aggregation    FEOH - OE     08025978530001059535        Electric       Non Aggregation
AEP - CSP     00040621049737700           Electric       Non Aggregation    FEOH - OE     08025074610000778891        Electric       Non Aggregation
AEP - CSP     00040621060069002           Electric       Non Aggregation    FEOH - OE     08026339460001063595        Electric       Non Aggregation
AEP - CSP     00040621044292522           Electric       Non Aggregation    FEOH - OE     08026516250001094424        Electric       Non Aggregation
AEP - CSP     00040621057363742           Electric       Non Aggregation    FEOH - OE     08026518680001097786        Electric       Non Aggregation
AEP - CSP     00040621053153110           Electric       Non Aggregation    FEOH - OE     08024491310000897027        Electric       Non Aggregation
AEP - CSP     00040621053608132           Electric       Non Aggregation    FEOH - OE     08025669290000992232        Electric       Non Aggregation
AEP - CSP     00040621050128192           Electric       Non Aggregation    FEOH - OE     08026610050001116734        Electric       Non Aggregation
AEP - CSP     00040621053529705           Electric       Non Aggregation    FEOH - OE     08027409110001056189        Electric       Non Aggregation
AEP - CSP     00040621044814403           Electric       Non Aggregation    FEOH - OE     08025066475001351131        Electric       Non Aggregation
AEP - CSP     00040621045119262           Electric       Non Aggregation    FEOH - OE     08027097095000147100        Electric       Non Aggregation
AEP - CSP     00040621053786880           Electric       Non Aggregation    FEOH - OE     08026408060000990128        Electric       Non Aggregation
AEP - CSP     00040621051529251           Electric       Non Aggregation    FEOH - OE     08026461480001058825        Electric       Non Aggregation
AEP - CSP     00040621054964000           Electric       Non Aggregation    FEOH - OE     08027251630001057152        Electric       Non Aggregation
AEP - CSP     00040621055550121           Electric       Non Aggregation    FEOH - OE     08024840770000778478        Electric       Non Aggregation
AEP - CSP     00040621061347884           Electric       Non Aggregation    FEOH - OE     08024840640000778477        Electric       Non Aggregation
AEP - CSP     00040621061395412           Electric       Non Aggregation    FEOH - OE     08025655260000979047        Electric       Non Aggregation
AEP - CSP     00040621061439885           Electric       Non Aggregation    FEOH - OE     08025970420000873695        Electric       Non Aggregation
AEP - CSP     00040621061576041           Electric       Non Aggregation    FEOH - OE     08024970620000828935        Electric       Non Aggregation
AEP - CSP     00040621055916831           Electric       Non Aggregation    FEOH - CEI    08028172451910069613        Electric       Non Aggregation
AEP - CSP     00040621056114032           Electric       Non Aggregation    FEOH - OE     08024890375001315439        Electric       Non Aggregation
AEP - CSP     00040621063047281           Electric       Non Aggregation    FEOH - OE     08024926350000778702        Electric       Non Aggregation
AEP - CSP     00040621052702744           Electric       Non Aggregation    FEOH - OE     08028361110001150796        Electric       Non Aggregation
AEP - CSP     00040621047018795           Electric       Non Aggregation    FEOH - OE     08028478685000077891        Electric       Non Aggregation
AEP - CSP     00040621047599914           Electric       Non Aggregation    FEOH - OE     08029165565000139900        Electric       Non Aggregation
AEP - CSP     00040621063298414           Electric       Non Aggregation    FEOH - OE     08024890375000389888        Electric       Non Aggregation
AEP - CSP     00040621057369731           Electric       Non Aggregation    FEOH - OE     08026254475000030013        Electric       Non Aggregation
AEP - CSP     00040621056583362           Electric       Non Aggregation    FEOH - OE     08025004370000778753        Electric       Non Aggregation
AEP - CSP     00040621056990363           Electric       Non Aggregation    FEOH - OE     08025004375000240634        Electric       Non Aggregation
AEP - CSP     00040621053744834           Electric       Non Aggregation    FEOH - OE     08025059230001336858        Electric       Non Aggregation
AEP - CSP     00040621054033171           Electric       Non Aggregation    FEOH - OE     08027794140000217179        Electric       Non Aggregation
AEP - CSP     00040621047846282           Electric       Non Aggregation    FEOH - OE     08030176600000708590        Electric       Non Aggregation
AEP - CSP     00040621056677861           Electric       Non Aggregation    FEOH - OE     08027352860001534644        Electric       Non Aggregation
AEP - CSP     00040621055420084           Electric       Non Aggregation    FEOH - OE     08025004690000778757        Electric       Non Aggregation
AEP - CSP     00040621057498212           Electric       Non Aggregation    FEOH - OE     08027987550001176328        Electric       Non Aggregation
AEP - CSP     00040621056886445           Electric       Non Aggregation    FEOH - CEI    08030629751170062568        Electric       Non Aggregation
AEP - CSP     00040621064663364           Electric       Non Aggregation    FEOH - OE     08030998405001362621        Electric       Non Aggregation
AEP - CSP     00040621064980733           Electric       Non Aggregation    FEOH - OE     08028007810001171470        Electric       Non Aggregation
AEP - CSP     00040621063281101           Electric       Non Aggregation    FEOH - OE     08028007810001467414        Electric       Non Aggregation
AEP - CSP     00040621063412613           Electric       Non Aggregation    FEOH - OE     08028054490001113199        Electric       Non Aggregation
AEP - CSP     00040621054521264           Electric       Non Aggregation    FEOH - OE     08025286840000828572        Electric       Non Aggregation
AEP - CSP     00040621049499945           Electric       Non Aggregation    FEOH - TE     08029862782560019454        Electric       Non Aggregation
AEP - CSP     00040621059385312           Electric       Non Aggregation    FEOH - OE     08030035930001392441        Electric       Non Aggregation
AEP - CSP     00040621049868833           Electric       Non Aggregation    FEOH - OE     08028325940000214342        Electric       Non Aggregation
AEP - CSP     00040621050492531           Electric       Non Aggregation    FEOH - OE     08027026190001434212        Electric       Non Aggregation
AEP - CSP     00040621052486604           Electric       Non Aggregation    FEOH - OE     08030441260000213608        Electric       Non Aggregation
AEP - CSP     00040621059131883           Electric       Non Aggregation    FEOH - OE     08030441260000213611        Electric       Non Aggregation
AEP - CSP     00040621059678173           Electric       Non Aggregation    FEOH - OE     08027106795000327918        Electric       Non Aggregation
AEP - CSP     00040621053227472           Electric       Non Aggregation    FEOH - OE     08029014330001331717        Electric       Non Aggregation
AEP - CSP     00040621064648741           Electric       Non Aggregation    FEOH - TE     08029090652190007994        Electric       Non Aggregation
AEP - CSP     00040621064696103           Electric       Non Aggregation    FEOH - OE     08027620760001108748        Electric       Non Aggregation
AEP - CSP     00040621059808690           Electric       Non Aggregation    FEOH - OE     08025981980000977681        Electric       Non Aggregation
AEP - CSP     00040621059895994           Electric       Non Aggregation    FEOH - CEI    08030461661330028611        Electric       Non Aggregation
AEP - CSP     00040621055418665           Electric       Non Aggregation    FEOH - OE     08027393820001147634        Electric       Non Aggregation
AEP - CSP     00040621066006493           Electric       Non Aggregation    FEOH - OE     08027794980001307647        Electric       Non Aggregation
AEP - CSP     00040621061486172           Electric       Non Aggregation    FEOH - OE     08031766340001495977        Electric       Non Aggregation
AEP - CSP     00040621061760273           Electric       Non Aggregation    FEOH - CEI    08030899041580000755        Electric       Non Aggregation
AEP - CSP     00040621054994733           Electric       Non Aggregation    FEOH - OE     08032000810000339162        Electric       Non Aggregation
AEP - CSP     00040621056164870           Electric       Non Aggregation    FEOH - CEI    08031104221770094463        Electric       Non Aggregation
AEP - CSP     00040621062514311           Electric       Non Aggregation    FEOH - CEI    08031104221840094467        Electric       Non Aggregation
AEP - CSP     00040621066803290           Electric       Non Aggregation    FEOH - OE     08031147105001386925        Electric       Non Aggregation
AEP - CSP     00040621066819745           Electric       Non Aggregation    FEOH - OE     08028007810001171472        Electric       Non Aggregation
AEP - CSP     00040621066853230           Electric       Non Aggregation    FEOH - OE     08026254470001447160        Electric       Non Aggregation
AEP - CSP     00040621062927130           Electric       Non Aggregation    FEOH - TE     08034362792690025488        Electric       Non Aggregation
AEP - CSP     00040621057271354           Electric       Non Aggregation    FEOH - OE     08028120180001147916        Electric       Non Aggregation
AEP - CSP     00040621062493431           Electric       Non Aggregation    FEOH - OE     08031544420000255541        Electric       Non Aggregation
AEP - CSP     00040621062927353           Electric       Non Aggregation    FEOH - OE     08028463270001174097        Electric       Non Aggregation
AEP - CSP     00040621063107880           Electric       Non Aggregation    FEOH - OE     08028478680001169570        Electric       Non Aggregation
AEP - CSP     00040621068022231           Electric       Non Aggregation    FEOH - OE     08028740140001354531        Electric       Non Aggregation
AEP - CSP     00040621068062132           Electric       Non Aggregation    FEOH - OE     08026501920000910042        Electric       Non Aggregation
AEP - CSP     00040621064935124           Electric       Non Aggregation    FEOH - OE     08033625920000421417        Electric       Non Aggregation
AEP - CSP     00040621068455192           Electric       Non Aggregation    FEOH - TE     08031946415000148180        Electric       Non Aggregation
AEP - CSP     00040621057290704           Electric       Non Aggregation    FEOH - OE     08029165560000337999        Electric       Non Aggregation
AEP - CSP     00040621064343010           Electric       Non Aggregation    FEOH - OE     08034450545001443993        Electric       Non Aggregation
AEP - CSP     00040621058130425           Electric       Non Aggregation    FEOH - OE     08034609515000305240        Electric       Non Aggregation
AEP - CSP     00040621065296732           Electric       Non Aggregation    FEOH - CEI    08034860911600079529        Electric       Non Aggregation
AEP - CSP     00040621058652713           Electric       Non Aggregation    FEOH - CEI    08033449715001295548        Electric       Non Aggregation
AEP - CSP     00040621059088660           Electric       Non Aggregation    FEOH - TE     08029986732660008766        Electric       Non Aggregation
AEP - CSP     00040621063791375           Electric       Non Aggregation    FEOH - TE     08029986735001376543        Electric       Non Aggregation
AEP - CSP     00040621064055471           Electric       Non Aggregation    FEOH - OE     08033932895000193669        Electric       Non Aggregation
AEP - CSP     00040621070098530           Electric       Non Aggregation    FEOH - OE     08031226190000613532        Electric       Non Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621066046612           Electric       Non Aggregation    FEOH - OE     08035206800001068279        Electric       Non Aggregation
AEP - CSP     00040621070246382           Electric       Non Aggregation    FEOH - OE     08035459690000620721        Electric       Non Aggregation
AEP - CSP     00040621070253741           Electric       Non Aggregation    FEOH - OE     08035460310000620930        Electric       Non Aggregation
AEP - CSP     00040621070535745           Electric       Non Aggregation    FEOH - CEI    08035371271550070899        Electric       Non Aggregation
AEP - CSP     00040621059537715           Electric       Non Aggregation    FEOH - OE     08035459690001394556        Electric       Non Aggregation
AEP - CSP     00040621059680393           Electric       Non Aggregation    FEOH - CEI    08035035811120000650        Electric       Non Aggregation
AEP - CSP     00040621060858822           Electric       Non Aggregation    FEOH - OE     08028284730001167732        Electric       Non Aggregation
AEP - CSP     00040621065927465           Electric       Non Aggregation    FEOH - OE     08028301890000218659        Electric       Non Aggregation
AEP - CSP     00040621071741901           Electric       Non Aggregation    FEOH - OE     08028357530001155217        Electric       Non Aggregation
AEP - CSP     00040621062038661           Electric       Non Aggregation    FEOH - OE     08028362850001145132        Electric       Non Aggregation
AEP - CSP     00040621062417025           Electric       Non Aggregation    FEOH - OE     08031401220000348197        Electric       Non Aggregation
AEP - CSP     00040621062748694           Electric       Non Aggregation    FEOH - OE     08028968160000500286        Electric       Non Aggregation
AEP - CSP     00040621062783180           Electric       Non Aggregation    FEOH - OE     08036168580001066763        Electric       Non Aggregation
AEP - CSP     00040621060554481           Electric       Non Aggregation    FEOH - OE     08032005485000224696        Electric       Non Aggregation
AEP - CSP     00040621068436393           Electric       Non Aggregation    FEOH - CEI    08032020131020049657        Electric       Non Aggregation
AEP - CSP     00040621068809240           Electric       Non Aggregation    FEOH - OE     08027227970001121256        Electric       Non Aggregation
AEP - CSP     00040621061399560           Electric       Non Aggregation    FEOH - OE     08035460150000620885        Electric       Non Aggregation
AEP - CSP     00040621073432543           Electric       Non Aggregation    FEOH - OE     08035460150001430627        Electric       Non Aggregation
AEP - CSP     00040621069315605           Electric       Non Aggregation    FEOH - CEI    08029251251690092527        Electric       Non Aggregation
AEP - CSP     00040621073785175           Electric       Non Aggregation    FEOH - OE     08029628720001459919        Electric       Non Aggregation
AEP - CSP     00040621067746815           Electric       Non Aggregation    FEOH - CEI    08036269081370019472        Electric       Non Aggregation
AEP - CSP     00040621073753665           Electric       Non Aggregation    FEOH - OE     08035643210000974412        Electric       Non Aggregation
AEP - CSP     00040621064767992           Electric       Non Aggregation    FEOH - OE     08037321820000262954        Electric       Non Aggregation
AEP - CSP     00040621064848410           Electric       Non Aggregation    FEOH - CEI    08029859641510004086        Electric       Non Aggregation
AEP - CSP     00040621069869172           Electric       Non Aggregation    FEOH - CEI    08036145561810022591        Electric       Non Aggregation
AEP - CSP     00040621065538902           Electric       Non Aggregation    FEOH - OE     08030203900000369964        Electric       Non Aggregation
AEP - CSP     00040621070176912           Electric       Non Aggregation    FEOH - OE     08030213655000129550        Electric       Non Aggregation
AEP - CSP     00040621068163325           Electric       Non Aggregation    FEOH - OE     08036900760000238639        Electric       Non Aggregation
AEP - CSP     00040621074115262           Electric       Non Aggregation    FEOH - OE     08037133230000778661        Electric       Non Aggregation
AEP - CSP     00040621068604584           Electric       Non Aggregation    FEOH - OE     08030678930001363662        Electric       Non Aggregation
AEP - CSP     00040621068809240           Electric       Non Aggregation    FEOH - OE     08027579580001114185        Electric       Non Aggregation
AEP - CSP     00040621074831683           Electric       Non Aggregation    FEOH - CEI    08031104221770094463        Electric       Non Aggregation
AEP - CSP     00040621075165744           Electric       Non Aggregation    FEOH - TE     08037901942820000755        Electric       Non Aggregation
AEP - CSP     00040621075206530           Electric       Non Aggregation    FEOH - OE     08037860660001342566        Electric       Non Aggregation
AEP - CSP     00040621067313445           Electric       Non Aggregation    FEOH - OE     08031273445001570382        Electric       Non Aggregation
AEP - CSP     00040621067424930           Electric       Non Aggregation    FEOH - CEI    08038383961940008272        Electric       Non Aggregation
AEP - CSP     00040621071161144           Electric       Non Aggregation    FEOH - OE     08033625920000315971        Electric       Non Aggregation
AEP - CSP     00040621065984991           Electric       Non Aggregation    FEOH - OE     08033625920000421548        Electric       Non Aggregation
AEP - CSP     00040621076502180           Electric       Non Aggregation    FEOH - CEI    08039376315000361107        Electric       Non Aggregation
AEP - CSP     00040621072407631           Electric       Non Aggregation    FEOH - OE     08038721620000778642        Electric       Non Aggregation
AEP - CSP     00040621065767052           Electric       Non Aggregation    FEOH - OE     08032542410001161848        Electric       Non Aggregation
AEP - CSP     00040621071968760           Electric       Non Aggregation    FEOH - OE     08028085340001158077        Electric       Non Aggregation
AEP - CSP     00040621069030625           Electric       Non Aggregation    FEOH - OE     08028007810001171471        Electric       Non Aggregation
AEP - CSP     00040621072208780           Electric       Non Aggregation    FEOH - OE     08034515635000330704        Electric       Non Aggregation
AEP - CSP     00040621072405350           Electric       Non Aggregation    FEOH - OE     08028292180000983258        Electric       Non Aggregation
AEP - CSP     00040621076958532           Electric       Non Aggregation    FEOH - OE     08028292180001125424        Electric       Non Aggregation
AEP - CSP     00040621077582911           Electric       Non Aggregation    FEOH - OE     08041212940001556961        Electric       Non Aggregation
AEP - CSP     00040621074203103           Electric       Non Aggregation    FEOH - TE     08040155702470022406        Electric       Non Aggregation
AEP - CSP     00040621077863280           Electric       Non Aggregation    FEOH - OE     08028237520001399605        Electric       Non Aggregation
AEP - CSP     00040621070125655           Electric       Non Aggregation    FEOH - OE     08028340790001575604        Electric       Non Aggregation
AEP - CSP     00040621070494200           Electric       Non Aggregation    FEOH - CEI    08035000971410036455        Electric       Non Aggregation
AEP - CSP     00040621070709755           Electric       Non Aggregation    FEOH - OE     08028292185000069057        Electric       Non Aggregation
AEP - CSP     00040621072911415           Electric       Non Aggregation    FEOH - CEI    08028663491450089479        Electric       Non Aggregation
AEP - CSP     00040621075702444           Electric       Non Aggregation    FEOH - OE     08028697475000066061        Electric       Non Aggregation
AEP - CSP     00040621075717782           Electric       Non Aggregation    FEOH - OE     08029211020000423791        Electric       Non Aggregation
AEP - CSP     00040621079269761           Electric       Non Aggregation    FEOH - OE     08027878660000403365        Electric       Non Aggregation
AEP - CSP     00040621070709755           Electric       Non Aggregation    FEOH - OE     08033902180000419718        Electric       Non Aggregation
AEP - CSP     00040621071216945           Electric       Non Aggregation    FEOH - CEI    08034100591510069463        Electric       Non Aggregation
AEP - CSP     00040621074147871           Electric       Non Aggregation    FEOH - OE     08035461800001367714        Electric       Non Aggregation
AEP - CSP     00040621075932770           Electric       Non Aggregation    FEOH - OE     08040302200000230959        Electric       Non Aggregation
AEP - CSP     00040621076168552           Electric       Non Aggregation    FEOH - OE     08028963760000499678        Electric       Non Aggregation
AEP - CSP     00040621076858260           Electric       Non Aggregation    FEOH - OE     08034515630001355825        Electric       Non Aggregation
AEP - CSP     00040621075470695           Electric       Non Aggregation    FEOH - OE     08036030680000466548        Electric       Non Aggregation
AEP - CSP     00040621071971470           Electric       Non Aggregation    FEOH - CEI    08051336751460065111        Electric       Non Aggregation
AEP - CSP     00040621079677861           Electric       Non Aggregation    FEOH - OE     08029211020000369154        Electric       Non Aggregation
AEP - CSP     00040621076482744           Electric       Non Aggregation    FEOH - OE     08035028240000772828        Electric       Non Aggregation
AEP - CSP     00040621077676810           Electric       Non Aggregation    FEOH - OE     08035028245000021377        Electric       Non Aggregation
AEP - CSP     00040621076901312           Electric       Non Aggregation    FEOH - OE     08041156995000150575        Electric       Non Aggregation
AEP - CSP     00040621073173090           Electric       Non Aggregation    FEOH - OE     08050094105001244586        Electric       Non Aggregation
AEP - CSP     00040621081817910           Electric       Non Aggregation    FEOH - OE     08028361800001150815        Electric       Non Aggregation
AEP - CSP     00040621081840691           Electric       Non Aggregation    FEOH - OE     08028364520001150811        Electric       Non Aggregation
AEP - CSP     00040621073512015           Electric       Non Aggregation    FEOH - OE     08028396940001518834        Electric       Non Aggregation
AEP - CSP     00040621078209520           Electric       Non Aggregation    FEOH - OE     08028462110001173973        Electric       Non Aggregation
AEP - CSP     00040621078227063           Electric       Non Aggregation    FEOH - OE     08035459690000620912        Electric       Non Aggregation
AEP - CSP     00040621077832094           Electric       Non Aggregation    FEOH - OE     08036168580001099630        Electric       Non Aggregation
AEP - CSP     00040621077961970           Electric       Non Aggregation    FEOH - OE     08050086830000301403        Electric       Non Aggregation
AEP - CSP     00040621074254961           Electric       Non Aggregation    FEOH - OE     08050116610000347124        Electric       Non Aggregation
AEP - CSP     00040621074258341           Electric       Non Aggregation    FEOH - TE     08050515283000001761        Electric       Non Aggregation
AEP - CSP     00040621074384224           Electric       Non Aggregation    FEOH - OE     08028470340001169127        Electric       Non Aggregation
AEP - CSP     00040621074483864           Electric       Non Aggregation    FEOH - TE     08029986732660008733        Electric       Non Aggregation
AEP - CSP     00040621077167375           Electric       Non Aggregation    FEOH - OE     08050987780001175322        Electric       Non Aggregation
AEP - CSP     00040621070221014           Electric       Non Aggregation    FEOH - CEI    08031104221470092694        Electric       Non Aggregation
AEP - CSP     00040621075237402           Electric       Non Aggregation    FEOH - OE     08050758805000282566        Electric       Non Aggregation
AEP - CSP     00040621079322771           Electric       Non Aggregation    FEOH - OE     08051223530001153241        Electric       Non Aggregation
AEP - CSP     00040621083900253           Electric       Non Aggregation    FEOH - CEI    08051336751360090981        Electric       Non Aggregation
AEP - CSP     00040621084158750           Electric       Non Aggregation    FEOH - OE     08037571380000412560        Electric       Non Aggregation
AEP - CSP     00040621075671672           Electric       Non Aggregation    FEOH - OE     08031766340000511429        Electric       Non Aggregation
AEP - CSP     00040621079708604           Electric       Non Aggregation    FEOH - OE     08031766340000511436        Electric       Non Aggregation
AEP - CSP     00040621080128690           Electric       Non Aggregation    FEOH - TE     08053133262900006441        Electric       Non Aggregation
AEP - CSP     00040621077728683           Electric       Non Aggregation    FEOH - OE     08051028365001399676        Electric       Non Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621078008934           Electric       Non Aggregation    FEOH - CEI    08030899041580000755        Electric       Non Aggregation
AEP - CSP     00040621077104325           Electric       Non Aggregation    FEOH - OE     08051902720000264199        Electric       Non Aggregation
AEP - CSP     00040621075274755           Electric       Non Aggregation    FEOH - CEI    08031905961840062078        Electric       Non Aggregation
AEP - CSP     00040621077745602           Electric       Non Aggregation    FEOH - TE     08029986732660008752        Electric       Non Aggregation
AEP - CSP     00040621081215303           Electric       Non Aggregation    FEOH - TE     08037967095000149493        Electric       Non Aggregation
AEP - CSP     00040621085681605           Electric       Non Aggregation    FEOH - CEI    08031104221410000667        Electric       Non Aggregation
AEP - CSP     00040621072574775           Electric       Non Aggregation    FEOH - OE     08051703270001461973        Electric       Non Aggregation
AEP - CSP     00040621080774114           Electric       Non Aggregation    FEOH - OE     08051718380000377139        Electric       Non Aggregation
AEP - CSP     00040621085897900           Electric       Non Aggregation    FEOH - OE     08051827450000359689        Electric       Non Aggregation
AEP - CSP     00040621086154281           Electric       Non Aggregation    FEOH - CEI    08031439571520012775        Electric       Non Aggregation
AEP - CSP     00040621081826835           Electric       Non Aggregation    FEOH - OE     08038559240001410399        Electric       Non Aggregation
AEP - CSP     00040621082731731           Electric       Non Aggregation    FEOH - CEI    08031104225000035841        Electric       Non Aggregation
AEP - CSP     00040621078519742           Electric       Non Aggregation    FEOH - OE     08052214805000182763        Electric       Non Aggregation
AEP - CSP     00040621080853493           Electric       Non Aggregation    FEOH - OE     08052729590000831564        Electric       Non Aggregation
AEP - CSP     00040621075361323           Electric       Non Aggregation    FEOH - CEI    08052885801010006896        Electric       Non Aggregation
AEP - CSP     00040621083978574           Electric       Non Aggregation    FEOH - CEI    08052886481810085278        Electric       Non Aggregation
AEP - CSP     00040621081602972           Electric       Non Aggregation    FEOH - OE     08031876830000537198        Electric       Non Aggregation
AEP - CSP     00040621085242832           Electric       Non Aggregation    FEOH - OE     08032146680001412433        Electric       Non Aggregation
AEP - CSP     00040621084565745           Electric       Non Aggregation    FEOH - CEI    08037777761500014437        Electric       Non Aggregation
AEP - CSP     00040621084675705           Electric       Non Aggregation    FEOH - CEI    08052886481810085278        Electric       Non Aggregation
AEP - CSP     00040621084731412           Electric       Non Aggregation    FEOH - OE     08052968320000498473        Electric       Non Aggregation
AEP - CSP     00040621085206030           Electric       Non Aggregation    FEOH - OE     08038102190001154742        Electric       Non Aggregation
AEP - CSP     00040621086102724           Electric       Non Aggregation    FEOH - OE     08031766340000511428        Electric       Non Aggregation
AEP - CSP     00040621086460712           Electric       Non Aggregation    FEOH - OE     08031766345000253715        Electric       Non Aggregation
AEP - CSP     00040621085020155           Electric       Non Aggregation    FEOH - OE     08053361440000452302        Electric       Non Aggregation
AEP - CSP     00040621076198854           Electric       Non Aggregation    FEOH - CEI    08032546271930085837        Electric       Non Aggregation
AEP - CSP     00040621090694984           Electric       Non Aggregation    FEOH - CEI    08038476761670040834        Electric       Non Aggregation
AEP - CSP     00040621090783184           Electric       Non Aggregation    FEOH - OE     08034059370001060748        Electric       Non Aggregation
AEP - CSP     00040621090793414           Electric       Non Aggregation    FEOH - OE     08039429445001477874        Electric       Non Aggregation
AEP - CSP     00040621087995792           Electric       Non Aggregation    FEOH - OE     08053227810000360109        Electric       Non Aggregation
AEP - CSP     00040621086901542           Electric       Non Aggregation    FEOH - CEI    08034341521660042555        Electric       Non Aggregation
AEP - CSP     00040621085662734           Electric       Non Aggregation    FEOH - OE     08033344920000549644        Electric       Non Aggregation
AEP - CSP     00040621086256580           Electric       Non Aggregation    FEOH - OE     08033133585000326265        Electric       Non Aggregation
AEP - CSP     00040621091720560           Electric       Non Aggregation    FEOH - OE     08035028240000772827        Electric       Non Aggregation
AEP - CSP     00040621091792904           Electric       Non Aggregation    FEOH - CEI    08033407181210046595        Electric       Non Aggregation
AEP - CSP     00040621091960901           Electric       Non Aggregation    FEOH - TE     08040298762560005861        Electric       Non Aggregation
AEP - CSP     00040621092466881           Electric       Non Aggregation    FEOH - CEI    08040369711160093558        Electric       Non Aggregation
AEP - CSP     00040621087256145           Electric       Non Aggregation    FEOH - CEI    08053724251300082444        Electric       Non Aggregation
AEP - CSP     00040621092525375           Electric       Non Aggregation    FEOH - OE     08053440200000443309        Electric       Non Aggregation
AEP - CSP     00040621084766042           Electric       Non Aggregation    FEOH - OE     08053442340001070837        Electric       Non Aggregation
AEP - CSP     00040621089292350           Electric       Non Aggregation    FEOH - CEI    08053724251300082406        Electric       Non Aggregation
AEP - CSP     00040621089904145           Electric       Non Aggregation    FEOH - OE     08035461510001560885        Electric       Non Aggregation
AEP - CSP     00040621093132932           Electric       Non Aggregation    FEOH - CEI    08053724251820093296        Electric       Non Aggregation
AEP - CSP     00040621080506291           Electric       Non Aggregation    FEOH - TE     08040941572720015601        Electric       Non Aggregation
AEP - CSP     00040621085947844           Electric       Non Aggregation    FEOH - CEI    08053724251300082496        Electric       Non Aggregation
AEP - CSP     00040621086120605           Electric       Non Aggregation    FEOH - OE     08054800930001058063        Electric       Non Aggregation
AEP - CSP     00040621093643902           Electric       Non Aggregation    FEOH - TE     08054822352530090441        Electric       Non Aggregation
AEP - CSP     00040621081814474           Electric       Non Aggregation    FEOH - OE     08055245150001418946        Electric       Non Aggregation
AEP - CSP     00040621086237222           Electric       Non Aggregation    FEOH - CEI    08054210421950077963        Electric       Non Aggregation
AEP - CSP     00040621093663733           Electric       Non Aggregation    FEOH - OE     08054260770001441422        Electric       Non Aggregation
AEP - CSP     00040621094168420           Electric       Non Aggregation    FEOH - TE     08034648032710028223        Electric       Non Aggregation
AEP - CSP     00040621089333483           Electric       Non Aggregation    FEOH - CEI    08054505651300037646        Electric       Non Aggregation
AEP - CSP     00040621089891030           Electric       Non Aggregation    FEOH - CEI    08034412061210031750        Electric       Non Aggregation
AEP - CSP     00040621082028045           Electric       Non Aggregation    FEOH - TE     08054822352430017887        Electric       Non Aggregation
AEP - CSP     00040621091857252           Electric       Non Aggregation    FEOH - OE     08040746645000120072        Electric       Non Aggregation
AEP - CSP     00040621082626532           Electric       Non Aggregation    FEOH - TE     08050515283000001765        Electric       Non Aggregation
AEP - CSP     00040621092815760           Electric       Non Aggregation    FEOH - CEI    08056127751440037806        Electric       Non Aggregation
AEP - CSP     00040621083040715           Electric       Non Aggregation    FEOH - OE     08037098590000501912        Electric       Non Aggregation
AEP - CSP     00040621083012973           Electric       Non Aggregation    FEOH - CEI    08040936691190090101        Electric       Non Aggregation
AEP - CSP     00040621096612452           Electric       Non Aggregation    FEOH - OE     08056463280000740237        Electric       Non Aggregation
AEP - CSP     00040621093181595           Electric       Non Aggregation    FEOH - CEI    08056666994000015374        Electric       Non Aggregation
AEP - CSP     00040621094000855           Electric       Non Aggregation    FEOH - OE     08035460120001367716        Electric       Non Aggregation
AEP - CSP     00040621083968493           Electric       Non Aggregation    FEOH - OE     08035460870001454122        Electric       Non Aggregation
AEP - CSP     00040621091797161           Electric       Non Aggregation    FEOH - OE     08052243590001004114        Electric       Non Aggregation
AEP - CSP     00040621090517365           Electric       Non Aggregation    FEOH - OE     08035919100001461657        Electric       Non Aggregation
AEP - CSP     00040621090591623           Electric       Non Aggregation    FEOH - OE     08036168580001091878        Electric       Non Aggregation
AEP - CSP     00040621096773261           Electric       Non Aggregation    FEOH - TE     08055733722280001895        Electric       Non Aggregation
AEP - CSP     00040621094194751           Electric       Non Aggregation    FEOH - OE     08050395510000183622        Electric       Non Aggregation
AEP - CSP     00040621094245873           Electric       Non Aggregation    FEOH - CEI    08052746435001290010        Electric       Non Aggregation
AEP - CSP     00040621094641460           Electric       Non Aggregation    FEOH - OE     08036198180000778910        Electric       Non Aggregation
AEP - CSP     00040621092253805           Electric       Non Aggregation    FEOH - CEI    08038144811410021869        Electric       Non Aggregation
AEP - CSP     00040621091919585           Electric       Non Aggregation    FEOH - CEI    08052812101660034206        Electric       Non Aggregation
AEP - CSP     00040621085431545           Electric       Non Aggregation    FEOH - TE     08057491022140015256        Electric       Non Aggregation
AEP - CSP     00040621099106092           Electric       Non Aggregation    FEOH - OE     08037261610000177381        Electric       Non Aggregation
AEP - CSP     00040621094314671           Electric       Non Aggregation    FEOH - OE     08053482590000462464        Electric       Non Aggregation
AEP - CSP     00040621085531794           Electric       Non Aggregation    FEOH - CEI    08053724251220048696        Electric       Non Aggregation
AEP - CSP     00040621085638975           Electric       Non Aggregation    FEOH - OE     08037778320000467810        Electric       Non Aggregation
AEP - CSP     00040621099974772           Electric       Non Aggregation    FEOH - OE     08054198370001152894        Electric       Non Aggregation
AEP - CSP     00040621086031335           Electric       Non Aggregation    FEOH - OE     08057988425001417155        Electric       Non Aggregation
AEP - CSP     00040621095062503           Electric       Non Aggregation    FEOH - CEI    08058191871810085333        Electric       Non Aggregation
AEP - CSP     00040621094824631           Electric       Non Aggregation    FEOH - CEI    08052885801010006882        Electric       Non Aggregation
AEP - OP      00140060700378173           Electric       Non Aggregation    FEOH - CEI    08052885801010006914        Electric       Non Aggregation
AEP - CSP     00040621086088420           Electric       Non Aggregation    FEOH - CEI    08040150935000274361        Electric       Non Aggregation
AEP - CSP     00040621086568353           Electric       Non Aggregation    FEOH - CEI    08058191875000275064        Electric       Non Aggregation
AEP - CSP     00040621096397774           Electric       Non Aggregation    FEOH - OE     08039012825000359150        Electric       Non Aggregation
AEP - CSP     00040621096804933           Electric       Non Aggregation    FEOH - OE     08059317240001344285        Electric       Non Aggregation
AEP - CSP     00040621099323501           Electric       Non Aggregation    FEOH - TE     08058182905001436273        Electric       Non Aggregation
AEP - CSP     00040621097170294           Electric       Non Aggregation    FEOH - CEI    08054844835000131769        Electric       Non Aggregation
AEP - CSP     00040621097527821           Electric       Non Aggregation    FEOH - OE     08054855150000779109        Electric       Non Aggregation
AEP - CSP     00040621087419022           Electric       Non Aggregation    FEOH - CEI    08054992131860043635        Electric       Non Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - CSP     00040621087422393           Electric       Non Aggregation    FEOH - OE     08040551815000377246        Electric       Non Aggregation
AEP - CSP     00040621097605305           Electric       Non Aggregation    FEOH - CEI    08040150931350076389        Electric       Non Aggregation
AEP - CSP     00040621098151991           Electric       Non Aggregation    FEOH - OE     08040229560001130665        Electric       Non Aggregation
AEP - CSP     00040621099748453           Electric       Non Aggregation    FEOH - OE     08040602750001331728        Electric       Non Aggregation
AEP - CSP     00040621098667811           Electric       Non Aggregation    FEOH - TE     08057172055001431620        Electric       Non Aggregation
AEP - OP      00140060702596282           Electric       Non Aggregation    FEOH - OE     08057185590000778678        Electric       Non Aggregation
AEP - CSP     00040621088842240           Electric       Non Aggregation    FEOH - CEI    08050323961820038814        Electric       Non Aggregation
AEP - CSP     00040621099236770           Electric       Non Aggregation    FEOH - OE     08058067640000736251        Electric       Non Aggregation
AEP - OP      00140060700203135           Electric       Non Aggregation    FEOH - TE     08057665042140002261        Electric       Non Aggregation
AEP - CSP     00040621099674553           Electric       Non Aggregation    FEOH - CEI    08057919915000310692        Electric       Non Aggregation
AEP - OP      00140060704550503           Electric       Non Aggregation    FEOH - OE     08050828010001379415        Electric       Non Aggregation
AEP - CSP     00040621089324495           Electric       Non Aggregation    FEOH - CEI    08058281561110008357        Electric       Non Aggregation
AEP - CSP     00040621097777454           Electric       Non Aggregation    FEOH - OE     08058576690000837251        Electric       Non Aggregation
AEP - CSP     00040621089048474           Electric       Non Aggregation    FEOH - TE     08050515283000001762        Electric       Non Aggregation
AEP - OP      00140060704877451           Electric       Non Aggregation    FEOH - CEI    08058841291840006913        Electric       Non Aggregation
AEP - CSP     00040621089803100           Electric       Non Aggregation    FEOH - OE     08058782630001472135        Electric       Non Aggregation
AEP - OP      00140060700785001           Electric       Non Aggregation    FEOH - OE     08051223530001153242        Electric       Non Aggregation
AEP - CSP     00040621099608221           Electric       Non Aggregation    FEOH - OE     08051223530001153243        Electric       Non Aggregation
AEP - OP      00140060705636902           Electric       Non Aggregation    FEOH - CEI    08058951011430097696        Electric       Non Aggregation
AEP - OP      00140060705808781           Electric       Non Aggregation    FEOH - CEI    08058951015000300685        Electric       Non Aggregation
AEP - OP      00140060701356601           Electric       Non Aggregation    FEOH - OE     08051181550000286624        Electric       Non Aggregation
AEP - OP      00140060706072950           Electric       Non Aggregation    FEOH - CEI    08059743181240001837        Electric       Non Aggregation
AEP - CSP     00040621092151834           Electric       Non Aggregation    FEOH - OE     08059793405001431393        Electric       Non Aggregation
AEP - OP      00140060706576682           Electric       Non Aggregation    FEOH - CEI    08051336751460065106        Electric       Non Aggregation
AEP - OP      00140060702050930           Electric       Non Aggregation    FEOH - CEI    08051336751460065182        Electric       Non Aggregation
AEP - CSP     00040621093850232           Electric       Non Aggregation    FEOH - OE     08051853830000316265        Electric       Non Aggregation
AEP - OP      00140060707346041           Electric       Non Aggregation    FEOH - CEI    08059495481710001983        Electric       Non Aggregation
AEP - OP      00140060703887782           Electric       Non Aggregation    FEOH - OE     08051703270001123155        Electric       Non Aggregation
AEP - OP      00140060704033160           Electric       Non Aggregation    FEOH - OE     08060304170000723452        Electric       Non Aggregation
AEP - OP      00140060702256572           Electric       Non Aggregation    FEOH - TE     08060476142780024112        Electric       Non Aggregation
AEP - CSP     00040621093737574           Electric       Non Aggregation    FEOH - OE     08052236410001078342        Electric       Non Aggregation
AEP - CSP     00040621095653935           Electric       Non Aggregation    FEOH - CEI    08052515651240026710        Electric       Non Aggregation
AEP - CSP     00040621096014140           Electric       Non Aggregation    FEOH - CEI    08052066951370056216        Electric       Non Aggregation
AEP - CSP     00040621096038644           Electric       Non Aggregation    FEOH - OE     08060737610001479449        Electric       Non Aggregation
AEP - CSP     00040621095089203           Electric       Non Aggregation    FEOH - OE     08060297955001472787        Electric       Non Aggregation
AEP - OP      00140060708377000           Electric       Non Aggregation    FEOH - CEI    08052885801320098835        Electric       Non Aggregation
AEP - OP      00140060705899182           Electric       Non Aggregation    FEOH - OE     08060927740000471069        Electric       Non Aggregation
AEP - OP      00140060706098560           Electric       Non Aggregation    FEOH - OE     08053400590001542223        Electric       Non Aggregation
AEP - OP      00140060706231001           Electric       Non Aggregation    FEOH - OE     08060832800001433749        Electric       Non Aggregation
AEP - OP      00140060706437650           Electric       Non Aggregation    FEOH - CEI    08053714361400030405        Electric       Non Aggregation
AEP - OP      00140060704818813           Electric       Non Aggregation    FEOH - CEI    08053714361400030405        Electric       Non Aggregation
AEP - OP      00140060703824203           Electric       Non Aggregation    FEOH - CEI    08053714361400030392        Electric       Non Aggregation
AEP - OP      00140060705423644           Electric       Non Aggregation    FEOH - CEI    08053724251580090871        Electric       Non Aggregation
AEP - CSP     00040621099208623           Electric       Non Aggregation    FEOH - CEI    08053724251330051937        Electric       Non Aggregation
AEP - OP      00140060710372730           Electric       Non Aggregation    FEOH - OE     08053440200000440443        Electric       Non Aggregation
AEP - CSP     00040621099532754           Electric       Non Aggregation    FEOH - OE     08061264910000538133        Electric       Non Aggregation
AEP - CSP     00040621099761401           Electric       Non Aggregation    FEOH - OE     08061264910000538142        Electric       Non Aggregation
AEP - OP      00140060706672880           Electric       Non Aggregation    FEOH - OE     08061264910000538149        Electric       Non Aggregation
AEP - OP      00140060706782152           Electric       Non Aggregation    FEOH - CEI    08054844831460059284        Electric       Non Aggregation
AEP - OP      00140060707389710           Electric       Non Aggregation    FEOH - OE     08061367180001131337        Electric       Non Aggregation
AEP - OP      00140060708003795           Electric       Non Aggregation    FEOH - OE     08055064880001091111        Electric       Non Aggregation
AEP - OP      00140060712323383           Electric       Non Aggregation    FEOH - CEI    08055327704000010037        Electric       Non Aggregation
AEP - OP      00140060708095122           Electric       Non Aggregation    FEOH - CEI    08054357941090099347        Electric       Non Aggregation
AEP - OP      00140060707988822           Electric       Non Aggregation    FEOH - OE     08054852720000486229        Electric       Non Aggregation
AEP - OP      00140060708212444           Electric       Non Aggregation    FEOH - TE     08055223332060002705        Electric       Non Aggregation
AEP - OP      00140060706088084           Electric       Non Aggregation    FEOH - OE     08061264910000538130        Electric       Non Aggregation
AEP - OP      00140060707574155           Electric       Non Aggregation    FEOH - OE     08061288610000499289        Electric       Non Aggregation
AEP - OP      00140060707942543           Electric       Non Aggregation    FEOH - OE     08061288610000499291        Electric       Non Aggregation
AEP - OP      00140060708553404           Electric       Non Aggregation    FEOH - OE     08061264910000538132        Electric       Non Aggregation
AEP - OP      00140060713644025           Electric       Non Aggregation    FEOH - OE     08061264910000538145        Electric       Non Aggregation
AEP - OP      00140060702045064           Electric       Non Aggregation    FEOH - OE     08061025050000259351        Electric       Non Aggregation
AEP - OP      00140060709206255           Electric       Non Aggregation    FEOH - OE     08061264910000538135        Electric       Non Aggregation
AEP - OP      00140060709284713           Electric       Non Aggregation    FEOH - OE     08061264910000538137        Electric       Non Aggregation
AEP - OP      00140060709378104           Electric       Non Aggregation    FEOH - OE     08061288610000499288        Electric       Non Aggregation
AEP - OP      00140060708990835           Electric       Non Aggregation    FEOH - OE     08061347835000177576        Electric       Non Aggregation
AEP - OP      00140060704308534           Electric       Non Aggregation    FEOH - OE     08061771690000224453        Electric       Non Aggregation
AEP - OP      00140060705153425           Electric       Non Aggregation    FEOH - OE     08061771695000146407        Electric       Non Aggregation
AEP - OP      00140060716464645           Electric       Non Aggregation    FEOH - OE     08058025460000211933        Electric       Non Aggregation
AEP - OP      00140060711404712           Electric       Non Aggregation    FEOH - OE     08062307350000374856        Electric       Non Aggregation
AEP - OP      00140060703666993           Electric       Non Aggregation    FEOH - OE     08061969240001381768        Electric       Non Aggregation
AEP - OP      00140060717818401           Electric       Non Aggregation    FEOH - OE     08062330130000413979        Electric       Non Aggregation
AEP - OP      00140060711109633           Electric       Non Aggregation    FEOH - CEI    08061982005000294954        Electric       Non Aggregation
AEP - OP      00140060712695490           Electric       Non Aggregation    FEOH - OE     08062313215000267078        Electric       Non Aggregation
AEP - OP      00140060715775840           Electric       Non Aggregation    FEOH - OE     08057930170000329866        Electric       Non Aggregation
AEP - OP      00140060704667191           Electric       Non Aggregation    FEOH - OE     08058648850000956927        Electric       Non Aggregation
AEP - OP      00140060711989935           Electric       Non Aggregation    FEOH - CEI    08058124151670050108        Electric       Non Aggregation
AEP - OP      00140060712715255           Electric       Non Aggregation    FEOH - OE     08058796705001433753        Electric       Non Aggregation
AEP - OP      00140060705216932           Electric       Non Aggregation    FEOH - CEI    08059743181240001837        Electric       Non Aggregation
AEP - OP      00140060706025973           Electric       Non Aggregation    FEOH - OE     08059983220000346736        Electric       Non Aggregation
AEP - OP      00140060713038145           Electric       Non Aggregation    FEOH - OE     08060469390001551371        Electric       Non Aggregation
AEP - OP      00140060715413932           Electric       Non Aggregation    FEOH - CEI    08058951011430097696        Electric       Non Aggregation
AEP - OP      00140060715426341           Electric       Non Aggregation    FEOH - OE     08060737615000018248        Electric       Non Aggregation
AEP - OP      00140060706792694           Electric       Non Aggregation    FEOH - CEI    08059495485000129590        Electric       Non Aggregation
AEP - OP      00140060706771121           Electric       Non Aggregation    FEOH - OE     08061264910000538129        Electric       Non Aggregation
AEP - OP      00140060707088964           Electric       Non Aggregation    FEOH - OE     08061288610000499290        Electric       Non Aggregation
AEP - OP      00140060719518534           Electric       Non Aggregation    FEOH - CEI    08061659011940003424        Electric       Non Aggregation
AEP - OP      00140060715966065           Electric       Non Aggregation    FEOH - OE     08061264910000538139        Electric       Non Aggregation
AEP - OP      00140060708673750           Electric       Non Aggregation    FEOH - OE     08061264910000538147        Electric       Non Aggregation
AEP - OP      00140060716850851           Electric       Non Aggregation    FEOH - OE     08061367180001360658        Electric       Non Aggregation
AEP - OP      00140060719701895           Electric       Non Aggregation    FEOH - OE     08061564045000318294        Electric       Non Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type         Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060721909775           Electric       Non Aggregation    FEOH - CEI      08062791741930054760        Electric       Non Aggregation
AEP - OP      00140060716665831           Electric       Non Aggregation    FEOH - OE       08062633350001368941        Electric       Non Aggregation
AEP - OP      00140060713763380           Electric       Non Aggregation    FEOH - OE       08062146330000362277        Electric       Non Aggregation
AEP - OP      00140060715262365           Electric       Non Aggregation    FEOH - OE       08060886160000941598        Electric       Non Aggregation
AEP - OP      00140060709851794           Electric       Non Aggregation    FEOH - OE       08061264910000538134        Electric       Non Aggregation
AEP - OP      00140060716032930           Electric       Non Aggregation    FEOH - OE       08061353510001365737        Electric       Non Aggregation
AEP - OP      00140060718521041           Electric       Non Aggregation    FEOH - CEI      08062650141910001169        Electric       Non Aggregation
AEP - OP      00140060718690101           Electric       Non Aggregation    FEOH - CEI      08062650141910001169        Electric       Non Aggregation
AEP - OP      00140060720079971           Electric       Non Aggregation    FEOH - OE       08062573560000889485        Electric       Non Aggregation
AEP - OP      00140060718794355           Electric       Non Aggregation    FEOH - OE       08062643995001516554        Electric       Non Aggregation
AEP - OP      00140060719069061           Electric       Non Aggregation    FEOH - OE       08063064740001548762        Electric       Non Aggregation
AEP - OP      00140060717102475           Electric       Non Aggregation    FEOH - OE       08063190495000186903        Electric       Non Aggregation
AEP - OP      00140060717341495           Electric       Non Aggregation    FEOH - CEI      08064023111850059658        Electric       Non Aggregation
AEP - OP      00140060712103654           Electric       Non Aggregation    FEOH - OE       08064247660000517436        Electric       Non Aggregation
AEP - OP      00140060722741722           Electric       Non Aggregation    DPL             0880000300                  Electric       Non Aggregation
AEP - OP      00140060712568560           Electric       Non Aggregation    FEOH - CEI      08064187755000044000        Electric       Non Aggregation
AEP - OP      00140060723178231           Electric       Non Aggregation    DPL             0935445393                  Electric       Non Aggregation
AEP - OP      00140060724764041           Electric       Non Aggregation    DPL             0991514079                  Electric       Non Aggregation
AEP - OP      00140060713774673           Electric       Non Aggregation    DPL             1764918470                  Electric       Non Aggregation
AEP - OP      00140060714643391           Electric       Non Aggregation    FEOH - OE       08063703330000158669        Electric       Non Aggregation
AEP - OP      00140060714879941           Electric       Non Aggregation    FEOH - CEI      08064137391850061171        Electric       Non Aggregation
AEP - OP      00140060721779712           Electric       Non Aggregation    FEOH - CEI      08064187751710027924        Electric       Non Aggregation
AEP - OP      00140060720850640           Electric       Non Aggregation    FEOH - CEI      08064187751660000958        Electric       Non Aggregation
AEP - OP      00140060719781252           Electric       Non Aggregation    DPL             1487026299                  Electric       Non Aggregation
AEP - OP      00140060719790114           Electric       Non Aggregation    DPL             2013663397                  Electric       Non Aggregation
AEP - OP      00140060721279331           Electric       Non Aggregation    DPL             1589153335                  Electric       Non Aggregation
AEP - OP      00140060715141794           Electric       Non Aggregation    FEOH - OE       08063937160000400911        Electric       Non Aggregation
AEP - OP      00140060716677531           Electric       Non Aggregation    FEOH - OE       08064195110000615591        Electric       Non Aggregation
AEP - OP      00140060716930925           Electric       Non Aggregation    FEOH - CEI      08064402651250058746        Electric       Non Aggregation
AEP - OP      00140060726767520           Electric       Non Aggregation    DPL             1068918949                  Electric       Non Aggregation
AEP - OP      00140060727382010           Electric       Non Aggregation    DPL             2008166861                  Electric       Non Aggregation
AEP - OP      00140060727122915           Electric       Non Aggregation    DPL             1177070325                  Electric       Non Aggregation
AEP - OP      00140060727200804           Electric       Non Aggregation    DPL             1863808711                  Electric       Non Aggregation
AEP - OP      00140060716791315           Electric       Non Aggregation    DPL             2246951691                  Electric       Non Aggregation
AEP - OP      00140060724624054           Electric       Non Aggregation    DPL             2460893023                  Electric       Non Aggregation
AEP - OP      00140060722996985           Electric       Non Aggregation    DPL             2604746424                  Electric       Non Aggregation
AEP - OP      00140060724275922           Electric       Non Aggregation    DPL             2291109135                  Electric       Non Aggregation
AEP - OP      00140060724082044           Electric       Non Aggregation    DPL             3300346320                  Electric       Non Aggregation
AEP - OP      00140060718139512           Electric       Non Aggregation    DPL             1436258245                  Electric       Non Aggregation
AEP - OP      00140060718992535           Electric       Non Aggregation    DPL             1670561434                  Electric       Non Aggregation
AEP - OP      00140060719168552           Electric       Non Aggregation    DPL             2231597038                  Electric       Non Aggregation
AEP - OP      00140060730370135           Electric       Non Aggregation    DPL             2265130426                  Electric       Non Aggregation
AEP - OP      00140060730246900           Electric       Non Aggregation    DPL             2355312862                  Electric       Non Aggregation
AEP - OP      00140060725639983           Electric       Non Aggregation    DPL             2540429435                  Electric       Non Aggregation
AEP - OP      00140060720411024           Electric       Non Aggregation    DPL             2767971540                  Electric       Non Aggregation
AEP - OP      00140060726453695           Electric       Non Aggregation    DPL             2927216268                  Electric       Non Aggregation
AEP - OP      00140060727599701           Electric       Non Aggregation    DPL             2927216268                  Electric       Non Aggregation
AEP - OP      00140060720471412           Electric       Non Aggregation    DPL             2714369016                  Electric       Non Aggregation
AEP - OP      00140060720673962           Electric       Non Aggregation    DPL             3529057357                  Electric       Non Aggregation
AEP - OP      00140060727659051           Electric       Non Aggregation    DPL             3832217036                  Electric       Non Aggregation
AEP - OP      00140060727834714           Electric       Non Aggregation    DPL             4327920240                  Electric       Non Aggregation
AEP - OP      00140060721059873           Electric       Non Aggregation    DPL             3382201876                  Electric       Non Aggregation
AEP - OP      00140060728926794           Electric       Non Aggregation    DPL             4177179226                  Electric       Non Aggregation
AEP - OP      00140060728700671           Electric       Non Aggregation    DPL             4269625918                  Electric       Non Aggregation
AEP - OP      00140060732031384           Electric       Non Aggregation    DPL             4330666112                  Electric       Non Aggregation
AEP - OP      00140060732840093           Electric       Non Aggregation    DPL             4395914243                  Electric       Non Aggregation
AEP - OP      00140060729974395           Electric       Non Aggregation    DPL             4708396600                  Electric       Non Aggregation
AEP - OP      00140060729994593           Electric       Non Aggregation    DPL             2555410669                  Electric       Non Aggregation
AEP - OP      00140060732421540           Electric       Non Aggregation    DPL             3300346320                  Electric       Non Aggregation
AEP - OP      00140060732491041           Electric       Non Aggregation    DPL             3493610057                  Electric       Non Aggregation
AEP - OP      00140060730082932           Electric       Non Aggregation    DPL             3648345166                  Electric       Non Aggregation
AEP - OP      00140060728378855           Electric       Non Aggregation    DPL             3460753727                  Electric       Non Aggregation
AEP - OP      00140060729370931           Electric       Non Aggregation    DPL             4783328628                  Electric       Non Aggregation
AEP - OP      00140060723021782           Electric       Non Aggregation    DPL             3051265692                  Electric       Non Aggregation
AEP - OP      00140060722352353           Electric       Non Aggregation    DPL             3334612868                  Electric       Non Aggregation
AEP - OP      00140060723238674           Electric       Non Aggregation    DPL             4659153910                  Electric       Non Aggregation
AEP - OP      00140060732150943           Electric       Non Aggregation    DPL             4770044942                  Electric       Non Aggregation
AEP - OP      00140060731716961           Electric       Non Aggregation    DPL             4449203114                  Electric       Non Aggregation
AEP - OP      00140060734846991           Electric       Non Aggregation    DPL             5475417226                  Electric       Non Aggregation
AEP - OP      00140060723914902           Electric       Non Aggregation    DPL             6084406757                  Electric       Non Aggregation
AEP - OP      00140060736099680           Electric       Non Aggregation    DPL             4028327781                  Electric       Non Aggregation
AEP - OP      00140060724477512           Electric       Non Aggregation    DPL             5063353661                  Electric       Non Aggregation
AEP - OP      00140060733151664           Electric       Non Aggregation    DPL             5100225938                  Electric       Non Aggregation
AEP - OP      00140060724854815           Electric       Non Aggregation    DPL             5475417226                  Electric       Non Aggregation
AEP - OP      00140060725043182           Electric       Non Aggregation    DPL             5100225938                  Electric       Non Aggregation
AEP - OP      00140060733640924           Electric       Non Aggregation    DPL             5193718853                  Electric       Non Aggregation
AEP - OP      00140060734088624           Electric       Non Aggregation    DPL             5662401769                  Electric       Non Aggregation
AEP - OP      00140060726018253           Electric       Non Aggregation    DPL             5973515136                  Electric       Non Aggregation
AEP - OP      00140060725943264           Electric       Non Aggregation    DPL             4977736601                  Electric       Non Aggregation
AEP - OP      00140060732995950           Electric       Non Aggregation    DPL             5063353661                  Electric       Non Aggregation
AEP - OP      00140060733297925           Electric       Non Aggregation    DPL             5168973469                  Electric       Non Aggregation
AEP - OP      00140060725912590           Electric       Non Aggregation    DPL             5767427563                  Electric       Non Aggregation
AEP - OP      00140060734708765           Electric       Non Aggregation    DPL             3232395980                  Electric       Non Aggregation
AEP - OP      00140060726852561           Electric       Non Aggregation    DPL             3603398992                  Electric       Non Aggregation
AEP - OP      00140060726222984           Electric       Non Aggregation    DPL             5215345476                  Electric       Non Aggregation
AEP - OP      00140060735114691           Electric       Non Aggregation    DPL             6541923040                  Electric       Non Aggregation
AEP - OP      00140060727125751           Electric       Non Aggregation    DPL             7005953503                  Electric       Non Aggregation
AEP - OP      00140060727495562           Electric       Non Aggregation    DPL             7115314189                  Electric       Non Aggregation
AEP - OP      00140060740280782           Electric       Non Aggregation    DPL             7136906566                  Electric       Non Aggregation
AEP - OP      00140060739660193           Electric       Non Aggregation    DPL             4770044942                  Electric       Non Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type         Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060736805983           Electric       Non Aggregation    DPL             4910728676                  Electric       Non Aggregation
AEP - OP      00140060740366700           Electric       Non Aggregation    DPL             5109733922                  Electric       Non Aggregation
AEP - OP      00140060740701995           Electric       Non Aggregation    FEOH - OE       08063493500000360327        Electric       Non Aggregation
AEP - OP      00140060729768785           Electric       Non Aggregation    FEOH - CEI      08064137391850061171        Electric       Non Aggregation
AEP - OP      00140060730339144           Electric       Non Aggregation    FEOH - CEI      08064187751660000958        Electric       Non Aggregation
AEP - OP      00140060737537920           Electric       Non Aggregation    DPL             5578216287                  Electric       Non Aggregation
AEP - OP      00140060735457314           Electric       Non Aggregation    DPL             5880517555                  Electric       Non Aggregation
AEP - OP      00140060741857805           Electric       Non Aggregation    DPL             7568590413                  Electric       Non Aggregation
AEP - OP      00140060741239182           Electric       Non Aggregation    DPL             6475065899                  Electric       Non Aggregation
AEP - OP      00140060735898951           Electric       Non Aggregation    DPL             7266885919                  Electric       Non Aggregation
AEP - OP      00140060735929304           Electric       Non Aggregation    DPL             6825690466                  Electric       Non Aggregation
AEP - OP      00140060730632450           Electric       Non Aggregation    DPL             6901603960                  Electric       Non Aggregation
AEP - OP      00140060729422440           Electric       Non Aggregation    DPL             7234772938                  Electric       Non Aggregation
AEP - OP      00140060742961823           Electric       Non Aggregation    DPL             5441088115                  Electric       Non Aggregation
AEP - OP      00140060730393922           Electric       Non Aggregation    DPL             5521706948                  Electric       Non Aggregation
AEP - OP      00140060743801640           Electric       Non Aggregation    DPL             5724081628                  Electric       Non Aggregation
AEP - OP      00140060740000444           Electric       Non Aggregation    DPL             5757609281                  Electric       Non Aggregation
AEP - OP      00140060730661741           Electric       Non Aggregation    DPL             5802250102                  Electric       Non Aggregation
AEP - OP      00140060730709160           Electric       Non Aggregation    DPL             6156571581                  Electric       Non Aggregation
AEP - OP      00140060730805344           Electric       Non Aggregation    DPL             7484561875                  Electric       Non Aggregation
AEP - OP      00140060732249711           Electric       Non Aggregation    DPL             7895671169                  Electric       Non Aggregation
AEP - OP      00140060742482203           Electric       Non Aggregation    DPL             7993445908                  Electric       Non Aggregation
AEP - OP      00140060738771340           Electric       Non Aggregation    DPL             7201809110                  Electric       Non Aggregation
AEP - OP      00140060738928371           Electric       Non Aggregation    DPL             7385808453                  Electric       Non Aggregation
AEP - OP      00140060738987332           Electric       Non Aggregation    DPL             7986463342                  Electric       Non Aggregation
AEP - OP      00140060742975591           Electric       Non Aggregation    DPL             6143344328                  Electric       Non Aggregation
AEP - OP      00140060734202662           Electric       Non Aggregation    DPL             6143344328                  Electric       Non Aggregation
AEP - OP      00140060747502625           Electric       Non Aggregation    DPL             6238027658                  Electric       Non Aggregation
AEP - OP      00140060744505931           Electric       Non Aggregation    DPL             2865079144                  Electric       Non Aggregation
AEP - OP      00140060745130182           Electric       Non Aggregation    DPL             3493610057                  Electric       Non Aggregation
AEP - OP      00140060748268854           Electric       Non Aggregation    DPL             6822413821                  Electric       Non Aggregation
AEP - OP      00140060742233585           Electric       Non Aggregation    DPL             6891164649                  Electric       Non Aggregation
AEP - OP      00140060749040032           Electric       Non Aggregation    DPL             6327229420                  Electric       Non Aggregation
AEP - OP      00140060736767795           Electric       Non Aggregation    DPL             6698729894                  Electric       Non Aggregation
AEP - OP      00140060736954065           Electric       Non Aggregation    DPL             4612415855                  Electric       Non Aggregation
AEP - OP      00140060746746110           Electric       Non Aggregation    DPL             4680718970                  Electric       Non Aggregation
AEP - OP      00140060740834801           Electric       Non Aggregation    DPL             5510039619                  Electric       Non Aggregation
AEP - OP      00140060741143321           Electric       Non Aggregation    DPL             5559394166                  Electric       Non Aggregation
AEP - OP      00140060747830720           Electric       Non Aggregation    DPL             5816728842                  Electric       Non Aggregation
AEP - OP      00140060747861331           Electric       Non Aggregation    DPL             7743653136                  Electric       Non Aggregation
AEP - OP      00140060747893550           Electric       Non Aggregation    DPL             8219975364                  Electric       Non Aggregation
AEP - OP      00140060747805151           Electric       Non Aggregation    DPL             8229826050                  Electric       Non Aggregation
AEP - OP      00140060751512750           Electric       Non Aggregation    DPL             8266519298                  Electric       Non Aggregation
AEP - OP      00140060749584854           Electric       Non Aggregation    DPL             8273474911                  Electric       Non Aggregation
AEP - OP      00140060752330610           Electric       Non Aggregation    DPL             8319941477                  Electric       Non Aggregation
AEP - OP      00140060752706695           Electric       Non Aggregation    DPL             8148164141                  Electric       Non Aggregation
AEP - OP      00140060740502872           Electric       Non Aggregation    DPL             8178899635                  Electric       Non Aggregation
AEP - OP      00140060743284145           Electric       Non Aggregation    DPL             8266519298                  Electric       Non Aggregation
AEP - OP      00140060740896890           Electric       Non Aggregation    DPL             8318171021                  Electric       Non Aggregation
AEP - OP      00140060750209954           Electric       Non Aggregation    DPL             8319941477                  Electric       Non Aggregation
AEP - OP      00140060750482465           Electric       Non Aggregation    DPL             7755817999                  Electric       Non Aggregation
AEP - OP      00140060744008061           Electric       Non Aggregation    DPL             7773481864                  Electric       Non Aggregation
AEP - OP      00140060750120212           Electric       Non Aggregation    DPL             7740077064                  Electric       Non Aggregation
AEP - OP      00140060741599660           Electric       Non Aggregation    DPL             7771194722                  Electric       Non Aggregation
AEP - OP      00140060750594060           Electric       Non Aggregation    DPL             9026625773                  Electric       Non Aggregation
AEP - OP      00140060754713441           Electric       Non Aggregation    DPL             8608635363                  Electric       Non Aggregation
AEP - OP      00140060754752601           Electric       Non Aggregation    DPL             9094631732                  Electric       Non Aggregation
AEP - OP      00140060754757691           Electric       Non Aggregation    DPL             9301316014                  Electric       Non Aggregation
AEP - OP      00140060754177871           Electric       Non Aggregation    DPL             8762465520                  Electric       Non Aggregation
AEP - OP      00140060749284283           Electric       Non Aggregation    DPL             8879370996                  Electric       Non Aggregation
AEP - OP      00140060749426434           Electric       Non Aggregation    DPL             9068582996                  Electric       Non Aggregation
AEP - OP      00140060747411163           Electric       Non Aggregation    DPL             8648731517                  Electric       Non Aggregation
AEP - OP      00140060753650332           Electric       Non Aggregation    DPL             9194539688                  Electric       Non Aggregation
AEP - OP      00140060750429113           Electric       Non Aggregation    DPL             8380235518                  Electric       Non Aggregation
AEP - OP      00140060755738572           Electric       Non Aggregation    DPL             8531280113                  Electric       Non Aggregation
AEP - OP      00140060753909043           Electric       Non Aggregation    DPL             8605332217                  Electric       Non Aggregation
AEP - OP      00140060750429113           Electric       Non Aggregation    DPL             8178899635                  Electric       Non Aggregation
AEP - OP      00140060754015295           Electric       Non Aggregation    DPL             7676220648                  Electric       Non Aggregation
AEP - OP      00140060750858174           Electric       Non Aggregation    DPL             7773481864                  Electric       Non Aggregation
AEP - OP      00140060750950823           Electric       Non Aggregation    DPL             8055882483                  Electric       Non Aggregation
AEP - OP      00140060746064474           Electric       Non Aggregation    DPL             9220244713                  Electric       Non Aggregation
AEP - OP      00140060755009221           Electric       Non Aggregation    DPL             9296601610                  Electric       Non Aggregation
AEP - OP      00140060755060303           Electric       Non Aggregation    DPL             9802038852                  Electric       Non Aggregation
AEP - OP      00140060756508690           Electric       Non Aggregation    DPL             9374444794                  Electric       Non Aggregation
AEP - OP      00140060751564372           Electric       Non Aggregation    DPL             9677165214                  Electric       Non Aggregation
AEP - OP      00140060760302884           Electric       Non Aggregation    DPL             9902730826                  Electric       Non Aggregation
AEP - OP      00140060760769683           Electric       Non Aggregation    DPL             9502465938                  Electric       Non Aggregation
AEP - OP      00140060752033324           Electric       Non Aggregation    DPL             9677165214                  Electric       Non Aggregation
AEP - OP      00140060752033324           Electric       Non Aggregation    DPL             9403447902                  Electric       Non Aggregation
AEP - OP      00140060752494223           Electric       Non Aggregation    FEOH - TE       08006687782860091676        Electric       Non Aggregation
AEP - OP      00140060746256964           Electric       Non Aggregation    FEOH - TE       08006688942910017875        Electric       Non Aggregation
AEP - OP      00140060746791144           Electric       Non Aggregation    FEOH - TE       08006688945000331689        Electric       Non Aggregation
AEP - OP      00140060758659182           Electric       Non Aggregation    FEOH - TE       08006709552900017849        Electric       Non Aggregation
AEP - OP      00140060759022105           Electric       Non Aggregation    FEOH - TE       08006767195000378285        Electric       Non Aggregation
AEP - OP      00140060759167301           Electric       Non Aggregation    FEOH - OE       08006774510001570171        Electric       Non Aggregation
AEP - OP      00140060747910792           Electric       Non Aggregation    FEOH - TE       08008199442770021643        Electric       Non Aggregation
AEP - OP      00140060761788511           Electric       Non Aggregation    FEOH - TE       08008265285000032427        Electric       Non Aggregation
AEP - OP      00140060761870153           Electric       Non Aggregation    AEP - OP        00140060798500792           Electric       Non Aggregation
AEP - OP      00140060762060864           Electric       Non Aggregation    AEP - OP        00140060794305391           Electric       Non Aggregation
AEP - OP      00140060754182350           Electric       Non Aggregation    FEOH - CEI      08008491891460065159        Electric       Non Aggregation
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    Utility      Utility Account Number      Commodity      Customer Type         Utility      Utility Account Number      Commodity      Customer Type
AEP - OP      00140060747426700           Electric       Non Aggregation    FEOH - CEI      08008491891600000597        Electric       Non Aggregation
AEP - OP      00140060755243953           Electric       Non Aggregation    FEOH - OE       08006885930000602467        Electric       Non Aggregation
AEP - OP      00140060749148742           Electric       Non Aggregation    AEP - OP        00140060794869962           Electric       Non Aggregation
AEP - OP      00140060749745755           Electric       Non Aggregation    AEP - OP        00140060794919454           Electric       Non Aggregation
AEP - OP      00140060766573702           Electric       Non Aggregation    FEOH - TE       08006958192060030180        Electric       Non Aggregation
AEP - OP      00140060755940250           Electric       Non Aggregation    FEOH - TE       08006987022130030874        Electric       Non Aggregation
AEP - OP      00140060767085740           Electric       Non Aggregation    FEOH - CEI      08008648981550016261        Electric       Non Aggregation
AEP - OP      00140060765399373           Electric       Non Aggregation    FEOH - TE       08007039192930019114        Electric       Non Aggregation
AEP - OP      00140060756502533           Electric       Non Aggregation    FEOH - CEI      08007060345001515226        Electric       Non Aggregation
AEP - OP      00140060763428773           Electric       Non Aggregation    FEOH - TE       08007099542200020735        Electric       Non Aggregation
AEP - OP      00140060757126274           Electric       Non Aggregation    FEOH - TE       08007146112720023153        Electric       Non Aggregation
AEP - OP      00140060753068084           Electric       Non Aggregation    AEP - OP        00140060797951192           Electric       Non Aggregation
AEP - OP      00140060751991362           Electric       Non Aggregation    DPL             0093651161                  Electric       Non Aggregation
AEP - OP      00140060765904841           Electric       Non Aggregation    DPL             0211904684                  Electric       Non Aggregation
AEP - OP      00140060768848940           Electric       Non Aggregation    FEOH - CEI      08009527291420057472        Electric       Non Aggregation
AEP - OP      00140060764409973           Electric       Non Aggregation    AEP - OP        00140060798938384           Electric       Non Aggregation
AEP - OP      00140060764905805           Electric       Non Aggregation    AEP - OP        00140060796430841           Electric       Non Aggregation
AEP - OP      00140060767745543           Electric       Non Aggregation    DPL             0776383521                  Electric       Non Aggregation
AEP - OP      00140060768351553           Electric       Non Aggregation    FEOH - TE       08005783872080023087        Electric       Non Aggregation
AEP - OP      00140060769202935           Electric       Non Aggregation    FEOH - CEI      08005799951850000978        Electric       Non Aggregation
AEP - OP      00140060755544394           Electric       Non Aggregation    FEOH - CEI      08011316101830038535        Electric       Non Aggregation
AEP - OP      00140060771216671           Electric       Non Aggregation    FEOH - CEI      08011324691550014674        Electric       Non Aggregation
AEP - OP      00140060769525690           Electric       Non Aggregation    FEOH - CEI      08012282861560010817        Electric       Non Aggregation
AEP - OP      00140060766176571           Electric       Non Aggregation    FEOH - CEI      08012328301570000856        Electric       Non Aggregation
AEP - OP      00140060770092641           Electric       Non Aggregation    FEOH - CEI      08007354091630089373        Electric       Non Aggregation
AEP - OP      00140060771575383           Electric       Non Aggregation    FEOH - CEI      08007354095000033943        Electric       Non Aggregation
AEP - OP      00140060759865893           Electric       Non Aggregation    AEP - OP        00140060797255894           Electric       Non Aggregation
AEP - OP      00140060767654494           Electric       Non Aggregation    FEOH - CEI      08013644631210040763        Electric       Non Aggregation
AEP - OP      00140060767819183           Electric       Non Aggregation    FEOH - CEI      08013786614000018881        Electric       Non Aggregation
AEP - OP      00140060771896262           Electric       Non Aggregation    FEOH - CEI      08014056291820065352        Electric       Non Aggregation
AEP - OP      00140060768791655           Electric       Non Aggregation    FEOH - CEI      08014301831840008425        Electric       Non Aggregation
AEP - OP      00140060763041772           Electric       Non Aggregation    FEOH - CEI      08016070861950031957        Electric       Non Aggregation
AEP - OP      00140060758082231           Electric       Non Aggregation    FEOH - TE       08007494785000377259        Electric       Non Aggregation
AEP - OP      00140060763530040           Electric       Non Aggregation    FEOH - CEI      08012290651070052899        Electric       Non Aggregation
AEP - OP      00140060764211484           Electric       Non Aggregation    FEOH - CEI      08013259161430011740        Electric       Non Aggregation
AEP - OP      00140060769696264           Electric       Non Aggregation    FEOH - TE       08005939155000037133        Electric       Non Aggregation
AEP - OP      00140060770090925           Electric       Non Aggregation    FEOH - TE       08005968792700024395        Electric       Non Aggregation
AEP - OP      00140060776095500           Electric       Non Aggregation    AEP - OP        00140060799978154           Electric       Non Aggregation
AEP - OP      00140060774190303           Electric       Non Aggregation    FEOH - TE       08004683052090023145        Electric       Non Aggregation
AEP - OP      00140060770146463           Electric       Non Aggregation    FEOH - TE       08004836212180013392        Electric       Non Aggregation
AEP - OP      00140060770474893           Electric       Non Aggregation    DPL             0282612294                  Electric       Non Aggregation
AEP - OP      00140060759042232           Electric       Non Aggregation    FEOH - CEI      08007705141350020156        Electric       Non Aggregation
AEP - OP      00140060771617001           Electric       Non Aggregation    FEOH - CEI      08013664961850023860        Electric       Non Aggregation
AEP - OP      00140060775776924           Electric       Non Aggregation    FEOH - CEI      08014112831160006890        Electric       Non Aggregation
AEP - OP      00140060775181180           Electric       Non Aggregation    FEOH - CEI      08014685661930076557        Electric       Non Aggregation
AEP - OP      00140060776561931           Electric       Non Aggregation    FEOH - CEI      08016154691940062187        Electric       Non Aggregation
AEP - OP      00140060768127302           Electric       Non Aggregation    DPL             0704723134                  Electric       Non Aggregation
AEP - OP      00140060777140421           Electric       Non Aggregation    DPL             0761060991                  Electric       Non Aggregation
AEP - OP      00140060761956915           Electric       Non Aggregation    DPL             0776383521                  Electric       Non Aggregation
AEP - OP      00140060778206400           Electric       Non Aggregation    FEOH - TE       08000568232670025834        Electric       Non Aggregation
AEP - OP      00140060773599994           Electric       Non Aggregation    FEOH - CEI      08002686375000142401        Electric       Non Aggregation
AEP - OP      00140060764733391           Electric       Non Aggregation    FEOH - TE       08004836212180013655        Electric       Non Aggregation
AEP - OP      00140060778992160           Electric       Non Aggregation    FEOH - TE       08004836212180014304        Electric       Non Aggregation
AEP - OP      00140060780283990           Electric       Non Aggregation    FEOH - TE       08004940202540094092        Electric       Non Aggregation
AEP - OP      00140060763755092           Electric       Non Aggregation    FEOH - CEI      08004633191230092230        Electric       Non Aggregation
AEP - OP      00140060778344424           Electric       Non Aggregation    FEOH - TE       08004660452650093657        Electric       Non Aggregation
AEP - OP      00140060765868304           Electric       Non Aggregation    FEOH - TE       08007970352290010154        Electric       Non Aggregation
AEP - OP      00140060780055723           Electric       Non Aggregation    FEOH - TE       08008144272770032666        Electric       Non Aggregation
AEP - OP      00140060780470960           Electric       Non Aggregation    FEOH - TE       08005326222060029993        Electric       Non Aggregation
AEP - OP      00140060779841661           Electric       Non Aggregation    FEOH - TE       08005385152360003454        Electric       Non Aggregation
AEP - OP      00140060781233981           Electric       Non Aggregation    FEOH - TE       08004682342090022162        Electric       Non Aggregation
AEP - OP      00140060766004901           Electric       Non Aggregation    FEOH - OE       08018621590000267828        Electric       Non Aggregation
AEP - OP      00140060776190734           Electric       Non Aggregation    DPL             0627758302                  Electric       Non Aggregation
AEP - OP      00140060782167400           Electric       Non Aggregation    DPL             0704723134                  Electric       Non Aggregation
AEP - OP      00140060769029382           Electric       Non Aggregation    FEOH - TE       08006290542740019202        Electric       Non Aggregation
AEP - OP      00140060769103321           Electric       Non Aggregation    FEOH - CEI      08008491891460065093        Electric       Non Aggregation
AEP - OP      00140060783183920           Electric       Non Aggregation    FEOH - TE       08004667635000329617        Electric       Non Aggregation
AEP - OP      00140060784897600           Electric       Non Aggregation    FEOH - TE       08004737422370020166        Electric       Non Aggregation
AEP - OP      00140060773214775           Electric       Non Aggregation    FEOH - OE       08005521580001424928        Electric       Non Aggregation
AEP - OP      00140060773289163           Electric       Non Aggregation    FEOH - TE       08004764392280031654        Electric       Non Aggregation
AEP - OP      00140060782857864           Electric       Non Aggregation    FEOH - TE       08004836212180013917        Electric       Non Aggregation
AEP - OP      00140060782912204           Electric       Non Aggregation    FEOH - CEI      08004885391670000754        Electric       Non Aggregation
AEP - OP      00140060784417702           Electric       Non Aggregation    FEOH - OE       08018810780000295156        Electric       Non Aggregation
AEP - OP      00140060779697263           Electric       Non Aggregation    FEOH - OE       08018894460001525015        Electric       Non Aggregation
AEP - OP      00140060784686674           Electric       Non Aggregation    FEOH - OE       08018958210000387864        Electric       Non Aggregation
AEP - OP      00140060784986133           Electric       Non Aggregation    FEOH - OE       08019318670000334287        Electric       Non Aggregation
AEP - OP      00140060769681065           Electric       Non Aggregation    FEOH - OE       08019810180000346893        Electric       Non Aggregation
AEP - OP      00140060774900373           Electric       Non Aggregation    FEOH - OE       08019986540000503986        Electric       Non Aggregation
AEP - OP      00140060786261555           Electric       Non Aggregation    FEOH - CEI      08008491891460065163        Electric       Non Aggregation
AEP - OP      00140060781362580           Electric       Non Aggregation    FEOH - CEI      08008491891550000598        Electric       Non Aggregation
AEP - OP      00140060772684224           Electric       Non Aggregation    FEOH - CEI      08008491891600000597        Electric       Non Aggregation
AEP - OP      00140060787238065           Electric       Non Aggregation    FEOH - CEI      08008491895000041958        Electric       Non Aggregation
AEP - OP      00140060782306951           Electric       Non Aggregation    FEOH - TE       08004830232320012434        Electric       Non Aggregation
AEP - OP      00140060782952903           Electric       Non Aggregation    FEOH - CEI      08004832881510001798        Electric       Non Aggregation
AEP - OP      00140060770008020           Electric       Non Aggregation    FEOH - TE       08004836212180013782        Electric       Non Aggregation
AEP - OP      00140060787594600           Electric       Non Aggregation    FEOH - TE       08004836215000035072        Electric       Non Aggregation
AEP - OP      00140060786770093           Electric       Non Aggregation    FEOH - TE       08005058763000008524        Electric       Non Aggregation
AEP - OP      00140060788100753           Electric       Non Aggregation    FEOH - TE       08005529562230025580        Electric       Non Aggregation
AEP - OP      00140060773749962           Electric       Non Aggregation    FEOH - OE       08006424620000816409        Electric       Non Aggregation
AEP - OP      00140060788331331           Electric       Non Aggregation    FEOH - OE       08006424625000023487        Electric       Non Aggregation
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      Utility      Utility Account Number      Commodity      Customer Type       Utility      Utility Account Number      Commodity      Customer Type
AEP - OP        00140060789082741           Electric       Non Aggregation    FEOH - OE     08006424625000307377        Electric       Non Aggregation
AEP - OP        00140060784193910           Electric       Non Aggregation    FEOH - OE     08006589800000576440        Electric       Non Aggregation
AEP - OP        00140060772500162           Electric       Non Aggregation    FEOH - CEI    08005278291330001151        Electric       Non Aggregation
AEP - OP        00140060789247740           Electric       Non Aggregation    FEOH - OE     08020698450001441955        Electric       Non Aggregation
AEP - OP        00140060771052255           Electric       Non Aggregation    FEOH - OE     08020855060000558321        Electric       Non Aggregation
AEP - OP        00140060771800924           Electric       Non Aggregation    FEOH - OE     08020857610000542689        Electric       Non Aggregation
AEP - OP        00140060789539173           Electric       Non Aggregation    FEOH - OE     08020895460000422727        Electric       Non Aggregation
AEP - OP        00140060777406782           Electric       Non Aggregation    FEOH - OE     08005108900001451495        Electric       Non Aggregation
AEP - OP        00140060772475400           Electric       Non Aggregation    FEOH - OE     08005108905000368679        Electric       Non Aggregation
AEP - OP        00140060788224493           Electric       Non Aggregation    FEOH - TE     08005127142020031290        Electric       Non Aggregation
AEP - OP        00140060779685791           Electric       Non Aggregation    FEOH - OE     08003905120001573044        Electric       Non Aggregation
AEP - OP        00140060779702892           Electric       Non Aggregation    FEOH - CEI    08006640481940014606        Electric       Non Aggregation
AEP - OP        00140060790680504           Electric       Non Aggregation    FEOH - CEI    08006640481940014630        Electric       Non Aggregation
AEP - OP        00140060774859083           Electric       Non Aggregation    FEOH - OE     08006641830000613652        Electric       Non Aggregation
AEP - OP        00140060791726864           Electric       Non Aggregation    FEOH - OE     08021227670000504950        Electric       Non Aggregation
AEP - OP        00140060775372091           Electric       Non Aggregation    FEOH - OE     08019272500000347809        Electric       Non Aggregation
AEP - OP        00140060781056574           Electric       Non Aggregation    FEOH - OE     08019503680000403379        Electric       Non Aggregation
AEP - OP        00140060777799035           Electric       Non Aggregation    FEOH - OE     08020233010000326488        Electric       Non Aggregation
AEP - OP        00140060793464462           Electric       Non Aggregation    FEOH - CEI    08004633191520090908        Electric       Non Aggregation
AEP - OP        00140060776699995           Electric       Non Aggregation    FEOH - TE     08004660452280012921        Electric       Non Aggregation
AEP - OP        00140060794030920           Electric       Non Aggregation    FEOH - TE     08004667632100017073        Electric       Non Aggregation
AEP - OP        00140060777283122           Electric       Non Aggregation    FEOH - TE     08004667632100017087        Electric       Non Aggregation
AEP - OP        00140060779045315           Electric       Non Aggregation    FEOH - CEI    08005691571570024878        Electric       Non Aggregation
AEP - OP        00140060782112542           Electric       Non Aggregation    FEOH - TE     08006682622570006866        Electric       Non Aggregation
AEP - OP        00140060795719765           Electric       Non Aggregation    FEOH - TE     08006687782720090531        Electric       Non Aggregation
AEP - OP        00140060795955454           Electric       Non Aggregation    FEOH - TE     08006688942650092866        Electric       Non Aggregation
AEP - OP        00140060796927985           Electric       Non Aggregation    FEOH - TE     08006700725000268008        Electric       Non Aggregation
AEP - OP        00140060784749663           Electric       Non Aggregation    FEOH - OE     08005519420000815067        Electric       Non Aggregation
AEP - OP        00140060784997704           Electric       Non Aggregation    FEOH - OE     08020931610000471010        Electric       Non Aggregation
AEP - OP        00140060794321722           Electric       Non Aggregation    FEOH - OE     08020933100000471037        Electric       Non Aggregation
AEP - OP        00140060791039663           Electric       Non Aggregation    FEOH - TE     08004764392280031673        Electric       Non Aggregation
AEP - OP        00140060780234742           Electric       Non Aggregation    FEOH - TE     08004764392280031724        Electric       Non Aggregation
AEP - OP        00140060779507855           Electric       Non Aggregation    FEOH - TE     08004817165000025887        Electric       Non Aggregation
AEP - OP        00140060786170770           Electric       Non Aggregation    FEOH - CEI    08004832881830001797        Electric       Non Aggregation
AEP - OP        00140060791107895           Electric       Non Aggregation    FEOH - TE     08004836212180013265        Electric       Non Aggregation
AEP - OP        00140060791124995           Electric       Non Aggregation    FEOH - TE     08004836212180014042        Electric       Non Aggregation
AEP - OP        00140060780052121           Electric       Non Aggregation    FEOH - TE     08004836212200002915        Electric       Non Aggregation
AEP - OP        00140060787332171           Electric       Non Aggregation    FEOH - TE     08004836212200003302        Electric       Non Aggregation
AEP - OP        00140060780741901           Electric       Non Aggregation    FEOH - TE     08005058763000008525        Electric       Non Aggregation
AEP - OP        00140060782002915           Electric       Non Aggregation    FEOH - TE     08005077512270092014        Electric       Non Aggregation
AEP - OP        00140060799010342           Electric       Non Aggregation    FEOH - OE     08005108900000815348        Electric       Non Aggregation
AEP - OP        00140060798754391           Electric       Non Aggregation    FEOH - OE     08021218620000543305        Electric       Non Aggregation
AEP - OP        00140060793768944           Electric       Non Aggregation    FEOH - TE     08006767192190019671        Electric       Non Aggregation
AEP - OP        00140060783427314           Electric       Non Aggregation    FEOH - TE     08006767192290090278        Electric       Non Aggregation
FEOH - OE       08002872400000950913        Electric       Non Aggregation    FEOH - OE     08006774510000794922        Electric       Non Aggregation
DPL             0192765601                  Electric       Non Aggregation    FEOH - CEI    08011261571220040732        Electric       Non Aggregation
FEOH - OE       08004030440001484179        Electric       Non Aggregation    FEOH - CEI    08011423245001392590        Electric       Non Aggregation
DPL             0341207003                  Electric       Non Aggregation    FEOH - OE     08005108905000179344        Electric       Non Aggregation
DPL             0778519458                  Electric       Non Aggregation    FEOH - CEI    08005691571570024863        Electric       Non Aggregation
AEP - OP        00140060790999231           Electric       Non Aggregation    FEOH - OE     08005693220000914723        Electric       Non Aggregation
FEOH - TE       08004660452280012916        Electric       Non Aggregation    FEOH - OE     08005693225000308568        Electric       Non Aggregation
FEOH - TE       08004764392280031710        Electric       Non Aggregation    FEOH - CEI    08012184941250026446        Electric       Non Aggregation
FEOH - TE       08004835732720033224        Electric       Non Aggregation    FEOH - CEI    08012282861560010747        Electric       Non Aggregation
FEOH - TE       08004836212200003049        Electric       Non Aggregation    FEOH - OE     08012612425001406413        Electric       Non Aggregation
FEOH - TE       08004836212200003439        Electric       Non Aggregation    FEOH - CEI    08013000471620099334        Electric       Non Aggregation
AEP - OP        00140060784729515           Electric       Non Aggregation    FEOH - CEI    08013535151200020912        Electric       Non Aggregation
FEOH - TE       08005084342790012565        Electric       Non Aggregation    FEOH - OE     08021873370000625056        Electric       Non Aggregation
FEOH - TE       08005100912590014980        Electric       Non Aggregation    FEOH - OE     08021936190000602463        Electric       Non Aggregation
FEOH - OE       08005108900001504926        Electric       Non Aggregation    FEOH - OE     08021952440000507209        Electric       Non Aggregation
FEOH - OE       08005108900001504927        Electric       Non Aggregation    FEOH - TE     08005620002920018777        Electric       Non Aggregation
AEP - OP        00140060785701644           Electric       Non Aggregation    FEOH - CEI    08013935721840055228        Electric       Non Aggregation
FEOH - TE       08004940202180014342        Electric       Non Aggregation    FEOH - CEI    08014250494000014064        Electric       Non Aggregation
AEP - OP        00140060785211744           Electric       Non Aggregation    FEOH - CEI    08015359231620093288        Electric       Non Aggregation
AEP - OP        00140060796621645           Electric       Non Aggregation    FEOH - CEI    08015454451910052794        Electric       Non Aggregation
FEOH - TE       08005252162090029417        Electric       Non Aggregation    FEOH - TE     08007184742090018982        Electric       Non Aggregation
AEP - OP        00140060786183224           Electric       Non Aggregation    FEOH - TE     08005666442480028353        Electric       Non Aggregation
AEP - OP        00140060796801042           Electric       Non Aggregation    FEOH - OE     08005795850000550266        Electric       Non Aggregation
AEP - OP        00140060796916470           Electric       Non Aggregation    FEOH - TE     08005820802290003516        Electric       Non Aggregation
AEP - OP        00140060788633412           Electric       Non Aggregation    FEOH - OE     08005828130001424793        Electric       Non Aggregation
FEOH - TE       08005428172020032132        Electric       Non Aggregation    FEOH - CEI    08022037015001548233        Electric       Non Aggregation
AEP - OP        00140060787648742           Electric       Non Aggregation    FEOH - CEI    08022037015001548238        Electric       Non Aggregation
AEP - OP        00140060787841824           Electric       Non Aggregation    FEOH - TE     08006062612080028145        Electric       Non Aggregation
AEP - OP        00140060780998663           Electric       Non Aggregation    FEOH - TE     08005685122310016709        Electric       Non Aggregation
FEOH - TE       08005488892000092174        Electric       Non Aggregation    FEOH - CEI    08005691571570024990        Electric       Non Aggregation
AEP - OP        00140060799270334           Electric       Non Aggregation    FEOH - OE     08021844425000277710        Electric       Non Aggregation
AEP - OP        00140060799278971           Electric       Non Aggregation    FEOH - CEI    08022037015001548231        Electric       Non Aggregation
AEP - OP        00140060793071512           Electric       Non Aggregation    FEOH - CEI    08022037015001548235        Electric       Non Aggregation
DPL             0745595673                  Electric       Non Aggregation    FEOH - OE     08007405490001099998        Electric       Non Aggregation
AEP - OP        00140060782167400           Electric       Non Aggregation    FEOH - TE     08007500912670021675        Electric       Non Aggregation
AEP - OP        00140060782262930           Electric       Non Aggregation
FEOH - OE       08003905120001573043        Electric       Non Aggregation
AEP - OP        00140060787097793           Electric       Non Aggregation
AEP - OP        00140060783618401           Electric       Non Aggregation
FEOH - TE       08004682345000226758        Electric       Non Aggregation
FEOH - TE       08004683055000029522        Electric       Non Aggregation
FEOH - TE       08004732892540031081        Electric       Non Aggregation
FEOH - CEI      08004832881830001797        Electric       Non Aggregation
FEOH - TE       08004836212180013528        Electric       Non Aggregation
FEOH - OE       08004843730001134724        Electric       Non Aggregation
FEOH - TE       08005077512480093243        Electric       Non Aggregation
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      Utility      Utility Account Number      Commodity      Customer Type   Utility   Utility Account Number   Commodity   Customer Type
FEOH - OE       08005693225000175416        Electric       Non Aggregation
FEOH - TE       08005714272360016946        Electric       Non Aggregation
FEOH - OE       08005364870000945797        Electric       Non Aggregation
FEOH - TE       08005428172020032128        Electric       Non Aggregation
AEP - OP        00140060795890834           Electric       Non Aggregation
AEP - OP        00140060796235893           Electric       Non Aggregation
AEP - OP        00140060796513434           Electric       Non Aggregation
FEOH - OE       08005828130001021539        Electric       Non Aggregation
AEP - OP        00140060786892490           Electric       Non Aggregation
FEOH - OE       08005519425000023326        Electric       Non Aggregation
FEOH - TE       08005904212370028804        Electric       Non Aggregation
AEP - OP        00140060797963041           Electric       Non Aggregation
AEP - OP        00140060793461144           Electric       Non Aggregation
FEOH - CEI      08006500305000323720        Electric       Non Aggregation
FEOH - TE       08006511242010030101        Electric       Non Aggregation
FEOH - OE       08006517945000020048        Electric       Non Aggregation
AEP - OP        00140060789990411           Electric       Non Aggregation
AEP - OP        00140060798827491           Electric       Non Aggregation
FEOH - TE       08006616195000178672        Electric       Non Aggregation
AEP - OP        00140060787754400           Electric       Non Aggregation
AEP - OP        00140060799726962           Electric       Non Aggregation
DPL             0241261644                  Electric       Non Aggregation
AEP - OP        00140060792156963           Electric       Non Aggregation
AEP - OP        00140060788680485           Electric       Non Aggregation
AEP - OP        00140060788954925           Electric       Non Aggregation
FEOH - TE       08006411812360003416        Electric       Non Aggregation
FEOH - TE       08006511242870091650        Electric       Non Aggregation
FEOH - OE       08004104010001487175        Electric       Non Aggregation
FEOH - CEI      08006640481760091871        Electric       Non Aggregation
FEOH - CEI      08006640481940014611        Electric       Non Aggregation
FEOH - OE       08006641830000613580        Electric       Non Aggregation
FEOH - OE       08005693220000851504        Electric       Non Aggregation
FEOH - OE       08005693220000864746        Electric       Non Aggregation
AEP - OP        00140060793202661           Electric       Non Aggregation
AEP - OP        00140060794173392           Electric       Non Aggregation
AEP - OP        00140060794282930           Electric       Non Aggregation
FEOH - OE       08006641830000613607        Electric       Non Aggregation
FEOH - TE       08006688942930014323        Electric       Non Aggregation
FEOH - CEI      08006640481940014606        Electric       Non Aggregation
FEOH - CEI      08006640481940014611        Electric       Non Aggregation
FEOH - CEI      08006640481950033633        Electric       Non Aggregation
FEOH - CEI      08005799951140039390        Electric       Non Aggregation
FEOH - TE       08004682345000265974        Electric       Non Aggregation
FEOH - TE       08006688942920000629        Electric       Non Aggregation
FEOH - TE       08006688942920020055        Electric       Non Aggregation
FEOH - TE       08006712082180008529        Electric       Non Aggregation
FEOH - OE       08006774510000807862        Electric       Non Aggregation
FEOH - OE       08006801600001533159        Electric       Non Aggregation
FEOH - TE       08006843882890014720        Electric       Non Aggregation
FEOH - TE       08004732892540031096        Electric       Non Aggregation
FEOH - TE       08004764392280031640        Electric       Non Aggregation
FEOH - TE       08004764392280031669        Electric       Non Aggregation
FEOH - TE       08004764392280031705        Electric       Non Aggregation
AEP - OP        00140060795368975           Electric       Non Aggregation
FEOH - TE       08006914952090018997        Electric       Non Aggregation
FEOH - TE       08004830232320012415        Electric       Non Aggregation
FEOH - TE       08004835732720033239        Electric       Non Aggregation
FEOH - TE       08004836212180013124        Electric       Non Aggregation
FEOH - TE       08004836212180014179        Electric       Non Aggregation
FEOH - TE       08004836212760091196        Electric       Non Aggregation
FEOH - TE       08004917472030016019        Electric       Non Aggregation
AEP - OP        00140060793255454           Electric       Non Aggregation
FEOH - TE       08006958192060030194        Electric       Non Aggregation
FEOH - TE       08007108872120016080        Electric       Non Aggregation
FEOH - TE       08007146112720022502        Electric       Non Aggregation
FEOH - TE       08005983552200014274        Electric       Non Aggregation
FEOH - TE       08007146112720021711        Electric       Non Aggregation
FEOH - TE       08007173115000345696        Electric       Non Aggregation
AEP - OP        00140060796715390           Electric       Non Aggregation
AEP - OP        00140060793998891           Electric       Non Aggregation
FEOH - CEI      08006287071860000153        Electric       Non Aggregation
AEP - OP        00140060791156725           Electric       Non Aggregation
FEOH - CEI      08007410491540032932        Electric       Non Aggregation
FEOH - CEI      08007430645000346849        Electric       Non Aggregation
AEP - OP        00140060795155004           Electric       Non Aggregation
AEP - OP        00140060795174002           Electric       Non Aggregation
AEP - OP        00140060791832632           Electric       Non Aggregation
FEOH - TE       08005509402250004683        Electric       Non Aggregation
FEOH - OE       08005519420000815068        Electric       Non Aggregation
FEOH - TE       08007970352290010120        Electric       Non Aggregation
FEOH - TE       08007970352290010168        Electric       Non Aggregation
FEOH - TE       08006511242590019202        Electric       Non Aggregation
FEOH - OE       08006517940000536344        Electric       Non Aggregation
FEOH - OE       08006517940000536388        Electric       Non Aggregation
FEOH - TE       08008046822040014937        Electric       Non Aggregation
FEOH - TE       08006619692140014977        Electric       Non Aggregation
FEOH - CEI      08006640481940014589        Electric       Non Aggregation
FEOH - TE       08008265282200015613        Electric       Non Aggregation
FEOH - TE       08008265282420021699        Electric       Non Aggregation
FEOH - TE       08008321755000034445        Electric       Non Aggregation
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                     Schedule of Customer Gas Non-Agg Contracts
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DEO             9441105087502               Gas           Non Aggregation - OH   COH             164669590013                Gas           Non Aggregation - OH
DEO             5422102908068               Gas           Non Aggregation - OH   COH             122724150035                Gas           Non Aggregation - OH
DEO             5440100340585               Gas           Non Aggregation - OH   COH             141820340010                Gas           Non Aggregation - OH
DEO             5500015214786               Gas           Non Aggregation - OH   COH             115555030010                Gas           Non Aggregation - OH
DEO             1420200585664               Gas           Non Aggregation - OH   COH             115542870011                Gas           Non Aggregation - OH
DEO             6500037037022               Gas           Non Aggregation - OH   COH             125307370012                Gas           Non Aggregation - OH
DEO             0440100340597               Gas           Non Aggregation - OH   COH             117007070011                Gas           Non Aggregation - OH
DEO             8440804569375               Gas           Non Aggregation - OH   COH             165219560011                Gas           Non Aggregation - OH
DEO             0500018715935               Gas           Non Aggregation - OH   COH             141469780014                Gas           Non Aggregation - OH
DEO             2500040711289               Gas           Non Aggregation - OH   COH             171764860024                Gas           Non Aggregation - OH
DEO             2500029835346               Gas           Non Aggregation - OH   COH             171765170018                Gas           Non Aggregation - OH
DEO             9420306293403               Gas           Non Aggregation - OH   COH             166267670016                Gas           Non Aggregation - OH
DEO             8421104214802               Gas           Non Aggregation - OH   COH             143942450017                Gas           Non Aggregation - OH
DEO             0500016112754               Gas           Non Aggregation - OH   COH             166456180018                Gas           Non Aggregation - OH
DEO             2441200286632               Gas           Non Aggregation - OH   COH             133475740028                Gas           Non Aggregation - OH
DEO             9500000226197               Gas           Non Aggregation - OH   COH             170726270010                Gas           Non Aggregation - OH
DEO             2500023544535               Gas           Non Aggregation - OH   COH             112921500017                Gas           Non Aggregation - OH
DEO             6421202670587               Gas           Non Aggregation - OH   COH             112921500197                Gas           Non Aggregation - OH
DEO             2500029028360               Gas           Non Aggregation - OH   COH             112921500419                Gas           Non Aggregation - OH
DEO             2500003884601               Gas           Non Aggregation - OH   COH             132094550027                Gas           Non Aggregation - OH
DEO             6500034405208               Gas           Non Aggregation - OH   COH             128911180018                Gas           Non Aggregation - OH
DEO             9440604772596               Gas           Non Aggregation - OH   COH             140848100022                Gas           Non Aggregation - OH
DEO             5500027227357               Gas           Non Aggregation - OH   COH             111174150017                Gas           Non Aggregation - OH
DEO             3421402525933               Gas           Non Aggregation - OH   COH             129081540012                Gas           Non Aggregation - OH
DEO             6500013429146               Gas           Non Aggregation - OH   COH             111119810014                Gas           Non Aggregation - OH
DEO             5441705265444               Gas           Non Aggregation - OH   COH             111041310014                Gas           Non Aggregation - OH
DEO             3500033060238               Gas           Non Aggregation - OH   COH             153046530027                Gas           Non Aggregation - OH
DEO             6500004050233               Gas           Non Aggregation - OH   COH             110690930029                Gas           Non Aggregation - OH
DEO             6441006486956               Gas           Non Aggregation - OH   COH             161395740015                Gas           Non Aggregation - OH
DEO             6500034263467               Gas           Non Aggregation - OH   COH             112358720089                Gas           Non Aggregation - OH
DEO             6500034311040               Gas           Non Aggregation - OH   COH             156561570024                Gas           Non Aggregation - OH
DEO             4441301872110               Gas           Non Aggregation - OH   COH             112358720043                Gas           Non Aggregation - OH
DEO             6383000000947               Gas           Non Aggregation - OH   COH             173750460016                Gas           Non Aggregation - OH
DEO             9500020622207               Gas           Non Aggregation - OH   COH             117610610036                Gas           Non Aggregation - OH
DEO             7440808007961               Gas           Non Aggregation - OH   COH             134277870011                Gas           Non Aggregation - OH
DEO             8500041924940               Gas           Non Aggregation - OH   COH             130647360026                Gas           Non Aggregation - OH
DEO             9421004884919               Gas           Non Aggregation - OH   COH             118198830035                Gas           Non Aggregation - OH
DEO             4421300334892               Gas           Non Aggregation - OH   COH             168881380013                Gas           Non Aggregation - OH
DEO             8500037965747               Gas           Non Aggregation - OH   COH             168881380031                Gas           Non Aggregation - OH
DEO             2440704893249               Gas           Non Aggregation - OH   COH             118394590012                Gas           Non Aggregation - OH
DEO             5440204583351               Gas           Non Aggregation - OH   COH             147673620027                Gas           Non Aggregation - OH
DEO             1441508092717               Gas           Non Aggregation - OH   COH             117516770033                Gas           Non Aggregation - OH
DEO             6500011112120               Gas           Non Aggregation - OH   COH             151581510010                Gas           Non Aggregation - OH
DEO             5440107537099               Gas           Non Aggregation - OH   COH             171003610019                Gas           Non Aggregation - OH
DEO             5440307537084               Gas           Non Aggregation - OH   COH             119192650025                Gas           Non Aggregation - OH
DEO             0441302248445               Gas           Non Aggregation - OH   COH             151016490012                Gas           Non Aggregation - OH
DEO             2441604301743               Gas           Non Aggregation - OH   COH             110659960010                Gas           Non Aggregation - OH
DEO             8500030158040               Gas           Non Aggregation - OH   COH             171363510045                Gas           Non Aggregation - OH
DEO             8500046424541               Gas           Non Aggregation - OH   COH             137843080013                Gas           Non Aggregation - OH
DEO             8440606512155               Gas           Non Aggregation - OH   COH             110837540010                Gas           Non Aggregation - OH
DEO             7500047769051               Gas           Non Aggregation - OH   COH             110799870031                Gas           Non Aggregation - OH
DEO             2441000456890               Gas           Non Aggregation - OH   COH             123826070017                Gas           Non Aggregation - OH
DEO             3421700053487               Gas           Non Aggregation - OH   COH             123837960017                Gas           Non Aggregation - OH
DEO             4500025661589               Gas           Non Aggregation - OH   COH             114741950022                Gas           Non Aggregation - OH
COH             108822470010                Gas           Non Aggregation - OH   COH             159319510017                Gas           Non Aggregation - OH
COH             114724730015                Gas           Non Aggregation - OH   COH             132907520019                Gas           Non Aggregation - OH
COH             114724730033                Gas           Non Aggregation - OH   COH             109398710019                Gas           Non Aggregation - OH
COH             116979030039                Gas           Non Aggregation - OH   COH             124073130010                Gas           Non Aggregation - OH
COH             117447330014                Gas           Non Aggregation - OH   COH             124098100014                Gas           Non Aggregation - OH
COH             117560060039                Gas           Non Aggregation - OH   COH             153519690012                Gas           Non Aggregation - OH
COH             118723190017                Gas           Non Aggregation - OH   COH             148126330017                Gas           Non Aggregation - OH
COH             119975430012                Gas           Non Aggregation - OH   COH             124192460019                Gas           Non Aggregation - OH
COH             123969620028                Gas           Non Aggregation - OH   COH             130924410018                Gas           Non Aggregation - OH
COH             129851030043                Gas           Non Aggregation - OH   COH             111651930011                Gas           Non Aggregation - OH
COH             132717120329                Gas           Non Aggregation - OH   COH             173812130013                Gas           Non Aggregation - OH
COH             132717120338                Gas           Non Aggregation - OH   COH             123913180019                Gas           Non Aggregation - OH
COH             133328950070                Gas           Non Aggregation - OH   COH             110307360011                Gas           Non Aggregation - OH
COH             133931510019                Gas           Non Aggregation - OH   COH             145167760023                Gas           Non Aggregation - OH
COH             140733340025                Gas           Non Aggregation - OH   COH             109575920019                Gas           Non Aggregation - OH
COH             143153900024                Gas           Non Aggregation - OH   COH             118683310053                Gas           Non Aggregation - OH
COH             143929780230                Gas           Non Aggregation - OH   COH             142448870027                Gas           Non Aggregation - OH
COH             143929780285                Gas           Non Aggregation - OH   COH             122296290017                Gas           Non Aggregation - OH
COH             149499270074                Gas           Non Aggregation - OH   COH             165820110010                Gas           Non Aggregation - OH
COH             153705120016                Gas           Non Aggregation - OH   COH             176448690016                Gas           Non Aggregation - OH
COH             153916640010                Gas           Non Aggregation - OH   COH             112769400012                Gas           Non Aggregation - OH
COH             158803390071                Gas           Non Aggregation - OH   COH             112283260012                Gas           Non Aggregation - OH
COH             161572040025                Gas           Non Aggregation - OH   COH             147423850028                Gas           Non Aggregation - OH
COH             162176040024                Gas           Non Aggregation - OH   COH             125133650021                Gas           Non Aggregation - OH
COH             166844900013                Gas           Non Aggregation - OH   COH             124546780020                Gas           Non Aggregation - OH
COH             167701090024                Gas           Non Aggregation - OH   COH             172400640010                Gas           Non Aggregation - OH
COH             167935060016                Gas           Non Aggregation - OH   COH             124580280023                Gas           Non Aggregation - OH
COH             168582610045                Gas           Non Aggregation - OH   COH             174234390014                Gas           Non Aggregation - OH
COH             168951710014                Gas           Non Aggregation - OH   COH             124912990010                Gas           Non Aggregation - OH
COH             174908250014                Gas           Non Aggregation - OH   COH             125235030016                Gas           Non Aggregation - OH
COH             186589440018                Gas           Non Aggregation - OH   COH             148393330030                Gas           Non Aggregation - OH
COH             186589610012                Gas           Non Aggregation - OH   COH             130240740028                Gas           Non Aggregation - OH
COH             188420890018                Gas           Non Aggregation - OH   COH             158974240017                Gas           Non Aggregation - OH
COH             188631930012                Gas           Non Aggregation - OH   COH             109785730014                Gas           Non Aggregation - OH
COH             190064250014                Gas           Non Aggregation - OH   COH             109785730023                Gas           Non Aggregation - OH
COH             132988310022                Gas           Non Aggregation - OH   COH             156765940033                Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             132988310013                Gas           Non Aggregation - OH   COH             113098270012                Gas           Non Aggregation - OH
COH             110756240033                Gas           Non Aggregation - OH   COH             148913320029                Gas           Non Aggregation - OH
COH             156171440019                Gas           Non Aggregation - OH   COH             113329710018                Gas           Non Aggregation - OH
COH             137874210029                Gas           Non Aggregation - OH   COH             141972680018                Gas           Non Aggregation - OH
COH             153363250015                Gas           Non Aggregation - OH   COH             117476250010                Gas           Non Aggregation - OH
COH             154963030018                Gas           Non Aggregation - OH   COH             135722050017                Gas           Non Aggregation - OH
COH             152120080034                Gas           Non Aggregation - OH   COH             125367800015                Gas           Non Aggregation - OH
COH             153561550012                Gas           Non Aggregation - OH   COH             123776070014                Gas           Non Aggregation - OH
COH             134266160013                Gas           Non Aggregation - OH   COH             150771400011                Gas           Non Aggregation - OH
COH             154384730019                Gas           Non Aggregation - OH   COH             170135890013                Gas           Non Aggregation - OH
COH             151023670028                Gas           Non Aggregation - OH   COH             149301730010                Gas           Non Aggregation - OH
COH             110565640016                Gas           Non Aggregation - OH   COH             159302090011                Gas           Non Aggregation - OH
COH             114966720024                Gas           Non Aggregation - OH   COH             111202300014                Gas           Non Aggregation - OH
COH             110579100010                Gas           Non Aggregation - OH   COH             122893560014                Gas           Non Aggregation - OH
COH             110617910018                Gas           Non Aggregation - OH   COH             160598090013                Gas           Non Aggregation - OH
COH             110289800018                Gas           Non Aggregation - OH   COH             109782890017                Gas           Non Aggregation - OH
COH             110310900010                Gas           Non Aggregation - OH   COH             131684380014                Gas           Non Aggregation - OH
COH             110313420015                Gas           Non Aggregation - OH   COH             118791380014                Gas           Non Aggregation - OH
COH             110313430013                Gas           Non Aggregation - OH   COH             154460990013                Gas           Non Aggregation - OH
COH             110317460019                Gas           Non Aggregation - OH   COH             151105400011                Gas           Non Aggregation - OH
COH             110607440027                Gas           Non Aggregation - OH   COH             148422640023                Gas           Non Aggregation - OH
COH             122004420016                Gas           Non Aggregation - OH   COH             172163450014                Gas           Non Aggregation - OH
COH             122017450013                Gas           Non Aggregation - OH   COH             158524010036                Gas           Non Aggregation - OH
COH             122017750010                Gas           Non Aggregation - OH   COH             157828130083                Gas           Non Aggregation - OH
COH             138569380011                Gas           Non Aggregation - OH   COH             119679580019                Gas           Non Aggregation - OH
COH             109488610019                Gas           Non Aggregation - OH   COH             113865000011                Gas           Non Aggregation - OH
COH             114995950025                Gas           Non Aggregation - OH   COH             160144900013                Gas           Non Aggregation - OH
COH             152935080019                Gas           Non Aggregation - OH   COH             136077160021                Gas           Non Aggregation - OH
COH             112301110022                Gas           Non Aggregation - OH   COH             138642810014                Gas           Non Aggregation - OH
COH             163861430019                Gas           Non Aggregation - OH   COH             125875780013                Gas           Non Aggregation - OH
COH             169175500013                Gas           Non Aggregation - OH   COH             124053270013                Gas           Non Aggregation - OH
COH             114999980012                Gas           Non Aggregation - OH   COH             129407600017                Gas           Non Aggregation - OH
COH             164595540010                Gas           Non Aggregation - OH   COH             121970600012                Gas           Non Aggregation - OH
COH             146490210200                Gas           Non Aggregation - OH   COH             121969690017                Gas           Non Aggregation - OH
COH             166210910014                Gas           Non Aggregation - OH   COH             121968090015                Gas           Non Aggregation - OH
COH             111393920011                Gas           Non Aggregation - OH   COH             135919510013                Gas           Non Aggregation - OH
COH             143719710060                Gas           Non Aggregation - OH   COH             156733190029                Gas           Non Aggregation - OH
COH             154002760011                Gas           Non Aggregation - OH   COH             110289470036                Gas           Non Aggregation - OH
COH             162664870016                Gas           Non Aggregation - OH   COH             114636750018                Gas           Non Aggregation - OH
COH             171378920011                Gas           Non Aggregation - OH   COH             118512390012                Gas           Non Aggregation - OH
COH             158008300039                Gas           Non Aggregation - OH   COH             114762700011                Gas           Non Aggregation - OH
COH             130496450037                Gas           Non Aggregation - OH   COH             115301620022                Gas           Non Aggregation - OH
COH             173819350013                Gas           Non Aggregation - OH   COH             124296380016                Gas           Non Aggregation - OH
COH             143670520019                Gas           Non Aggregation - OH   COH             114953640019                Gas           Non Aggregation - OH
COH             133767680013                Gas           Non Aggregation - OH   COH             124389490016                Gas           Non Aggregation - OH
COH             114985300013                Gas           Non Aggregation - OH   COH             115149590014                Gas           Non Aggregation - OH
COH             122604890016                Gas           Non Aggregation - OH   COH             118512390030                Gas           Non Aggregation - OH
COH             139951010025                Gas           Non Aggregation - OH   COH             139964490019                Gas           Non Aggregation - OH
COH             175964960016                Gas           Non Aggregation - OH   COH             116803190019                Gas           Non Aggregation - OH
COH             115008300129                Gas           Non Aggregation - OH   COH             111485580018                Gas           Non Aggregation - OH
COH             115008300110                Gas           Non Aggregation - OH   COH             165277040018                Gas           Non Aggregation - OH
COH             115008300138                Gas           Non Aggregation - OH   COH             123971370017                Gas           Non Aggregation - OH
COH             115008300156                Gas           Non Aggregation - OH   COH             115140840019                Gas           Non Aggregation - OH
COH             152698930014                Gas           Non Aggregation - OH   COH             115172870043                Gas           Non Aggregation - OH
COH             109809320018                Gas           Non Aggregation - OH   COH             167455580015                Gas           Non Aggregation - OH
COH             155581860013                Gas           Non Aggregation - OH   COH             175181360012                Gas           Non Aggregation - OH
COH             153308200020                Gas           Non Aggregation - OH   COH             151243010011                Gas           Non Aggregation - OH
COH             122438240042                Gas           Non Aggregation - OH   COH             110929290018                Gas           Non Aggregation - OH
COH             132358480013                Gas           Non Aggregation - OH   COH             124464440070                Gas           Non Aggregation - OH
COH             113572410034                Gas           Non Aggregation - OH   COH             145437690025                Gas           Non Aggregation - OH
COH             154124370015                Gas           Non Aggregation - OH   COH             114408930031                Gas           Non Aggregation - OH
COH             110579100029                Gas           Non Aggregation - OH   COH             157009740027                Gas           Non Aggregation - OH
COH             171531400014                Gas           Non Aggregation - OH   COH             122809930031                Gas           Non Aggregation - OH
COH             161544800015                Gas           Non Aggregation - OH   COH             156012460011                Gas           Non Aggregation - OH
COH             186272410015                Gas           Non Aggregation - OH   COH             125561570049                Gas           Non Aggregation - OH
COH             144743480012                Gas           Non Aggregation - OH   COH             140062070016                Gas           Non Aggregation - OH
COH             141154710015                Gas           Non Aggregation - OH   COH             122111530016                Gas           Non Aggregation - OH
COH             124829450010                Gas           Non Aggregation - OH   COH             151097850025                Gas           Non Aggregation - OH
COH             122211460028                Gas           Non Aggregation - OH   COH             131464680026                Gas           Non Aggregation - OH
COH             130432564203                Gas           Non Aggregation - OH   COH             155742320014                Gas           Non Aggregation - OH
COH             163895590015                Gas           Non Aggregation - OH   COH             164995190016                Gas           Non Aggregation - OH
COH             167859190011                Gas           Non Aggregation - OH   COH             150235690026                Gas           Non Aggregation - OH
COH             187491830012                Gas           Non Aggregation - OH   COH             158679900014                Gas           Non Aggregation - OH
COH             130851720063                Gas           Non Aggregation - OH   COH             167831280010                Gas           Non Aggregation - OH
COH             173474010016                Gas           Non Aggregation - OH   COH             148463040023                Gas           Non Aggregation - OH
COH             114886840083                Gas           Non Aggregation - OH   COH             110619680031                Gas           Non Aggregation - OH
COH             115028610033                Gas           Non Aggregation - OH   COH             110601720011                Gas           Non Aggregation - OH
COH             130143650023                Gas           Non Aggregation - OH   COH             145250500011                Gas           Non Aggregation - OH
COH             188217450011                Gas           Non Aggregation - OH   COH             112032820015                Gas           Non Aggregation - OH
COH             137076170039                Gas           Non Aggregation - OH   COH             110984090014                Gas           Non Aggregation - OH
COH             113244300014                Gas           Non Aggregation - OH   COH             143484690055                Gas           Non Aggregation - OH
COH             113244300023                Gas           Non Aggregation - OH   COH             143484690037                Gas           Non Aggregation - OH
COH             113052990017                Gas           Non Aggregation - OH   COH             117109980014                Gas           Non Aggregation - OH
COH             113191670010                Gas           Non Aggregation - OH   COH             166796810015                Gas           Non Aggregation - OH
COH             165685520030                Gas           Non Aggregation - OH   COH             139840460044                Gas           Non Aggregation - OH
COH             165685520012                Gas           Non Aggregation - OH   COH             119132930013                Gas           Non Aggregation - OH
COH             140917370949                Gas           Non Aggregation - OH   COH             117836430018                Gas           Non Aggregation - OH
COH             112205230012                Gas           Non Aggregation - OH   COH             141538060018                Gas           Non Aggregation - OH
COH             112578770029                Gas           Non Aggregation - OH   COH             165119500015                Gas           Non Aggregation - OH
COH             161124020028                Gas           Non Aggregation - OH   COH             108934560014                Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             161124020019                Gas           Non Aggregation - OH   COH             112290220015                Gas           Non Aggregation - OH
COH             119220330049                Gas           Non Aggregation - OH   COH             134413400028                Gas           Non Aggregation - OH
COH             119045480013                Gas           Non Aggregation - OH   COH             111564420013                Gas           Non Aggregation - OH
COH             158963410014                Gas           Non Aggregation - OH   COH             114591990014                Gas           Non Aggregation - OH
COH             143785030019                Gas           Non Aggregation - OH   COH             146691670011                Gas           Non Aggregation - OH
COH             148675000013                Gas           Non Aggregation - OH   COH             165669240015                Gas           Non Aggregation - OH
COH             110423260016                Gas           Non Aggregation - OH   COH             123633730017                Gas           Non Aggregation - OH
COH             166510260015                Gas           Non Aggregation - OH   COH             122034460015                Gas           Non Aggregation - OH
COH             144665570028                Gas           Non Aggregation - OH   COH             122135520018                Gas           Non Aggregation - OH
COH             118665460023                Gas           Non Aggregation - OH   COH             170429760017                Gas           Non Aggregation - OH
COH             155800650011                Gas           Non Aggregation - OH   COH             137892720015                Gas           Non Aggregation - OH
COH             171729240019                Gas           Non Aggregation - OH   COH             124342920013                Gas           Non Aggregation - OH
COH             127584200019                Gas           Non Aggregation - OH   COH             112986360039                Gas           Non Aggregation - OH
COH             112721710017                Gas           Non Aggregation - OH   COH             148865410014                Gas           Non Aggregation - OH
COH             153072960031                Gas           Non Aggregation - OH   COH             113438730031                Gas           Non Aggregation - OH
COH             122622770022                Gas           Non Aggregation - OH   COH             155591090014                Gas           Non Aggregation - OH
COH             113063050020                Gas           Non Aggregation - OH   COH             151762630020                Gas           Non Aggregation - OH
COH             113063050048                Gas           Non Aggregation - OH   COH             118451930027                Gas           Non Aggregation - OH
COH             113063050057                Gas           Non Aggregation - OH   COH             127247280035                Gas           Non Aggregation - OH
COH             112384290021                Gas           Non Aggregation - OH   COH             142908710015                Gas           Non Aggregation - OH
COH             166209410030                Gas           Non Aggregation - OH   COH             173944950012                Gas           Non Aggregation - OH
COH             166209410012                Gas           Non Aggregation - OH   COH             165553650023                Gas           Non Aggregation - OH
COH             169061840095                Gas           Non Aggregation - OH   COH             113813180013                Gas           Non Aggregation - OH
COH             112673700012                Gas           Non Aggregation - OH   COH             167172680014                Gas           Non Aggregation - OH
COH             185170030012                Gas           Non Aggregation - OH   COH             112945300019                Gas           Non Aggregation - OH
COH             122238900029                Gas           Non Aggregation - OH   COH             135019430018                Gas           Non Aggregation - OH
COH             177331530042                Gas           Non Aggregation - OH   COH             168540910013                Gas           Non Aggregation - OH
COH             122372590012                Gas           Non Aggregation - OH   COH             161927640026                Gas           Non Aggregation - OH
COH             114580720013                Gas           Non Aggregation - OH   COH             157631660025                Gas           Non Aggregation - OH
COH             114766540035                Gas           Non Aggregation - OH   COH             138689640012                Gas           Non Aggregation - OH
COH             114766590035                Gas           Non Aggregation - OH   COH             124736350018                Gas           Non Aggregation - OH
COH             114766590044                Gas           Non Aggregation - OH   COH             138333030013                Gas           Non Aggregation - OH
COH             146851100010                Gas           Non Aggregation - OH   COH             124659770014                Gas           Non Aggregation - OH
COH             114560370019                Gas           Non Aggregation - OH   COH             112478080017                Gas           Non Aggregation - OH
COH             188526230012                Gas           Non Aggregation - OH   COH             125211220016                Gas           Non Aggregation - OH
COH             110721800029                Gas           Non Aggregation - OH   COH             148964940013                Gas           Non Aggregation - OH
COH             115566990043                Gas           Non Aggregation - OH   COH             169497910015                Gas           Non Aggregation - OH
COH             141632450016                Gas           Non Aggregation - OH   COH             139173000018                Gas           Non Aggregation - OH
COH             175475740019                Gas           Non Aggregation - OH   COH             148565580015                Gas           Non Aggregation - OH
COH             123729810017                Gas           Non Aggregation - OH   COH             110575200017                Gas           Non Aggregation - OH
COH             149054080021                Gas           Non Aggregation - OH   COH             110575210015                Gas           Non Aggregation - OH
COH             124580960039                Gas           Non Aggregation - OH   COH             119187250020                Gas           Non Aggregation - OH
COH             161914080049                Gas           Non Aggregation - OH   COH             161143970010                Gas           Non Aggregation - OH
COH             161914080058                Gas           Non Aggregation - OH   COH             124773540029                Gas           Non Aggregation - OH
COH             161914080067                Gas           Non Aggregation - OH   COH             122269610016                Gas           Non Aggregation - OH
COH             112233300018                Gas           Non Aggregation - OH   COH             128952680017                Gas           Non Aggregation - OH
COH             112221440041                Gas           Non Aggregation - OH   COH             146182770019                Gas           Non Aggregation - OH
COH             114746650025                Gas           Non Aggregation - OH   COH             123814440014                Gas           Non Aggregation - OH
COH             123626270019                Gas           Non Aggregation - OH   COH             123814460010                Gas           Non Aggregation - OH
COH             123626280017                Gas           Non Aggregation - OH   COH             141650910557                Gas           Non Aggregation - OH
COH             123626280026                Gas           Non Aggregation - OH   COH             149391210029                Gas           Non Aggregation - OH
COH             114741850167                Gas           Non Aggregation - OH   COH             148136690011                Gas           Non Aggregation - OH
COH             122579260040                Gas           Non Aggregation - OH   COH             141868800013                Gas           Non Aggregation - OH
COH             129858620027                Gas           Non Aggregation - OH   COH             166700070012                Gas           Non Aggregation - OH
COH             148574820033                Gas           Non Aggregation - OH   COH             167550080018                Gas           Non Aggregation - OH
COH             112427170015                Gas           Non Aggregation - OH   COH             142644970011                Gas           Non Aggregation - OH
COH             113170740046                Gas           Non Aggregation - OH   COH             125335150019                Gas           Non Aggregation - OH
COH             129860180025                Gas           Non Aggregation - OH   COH             125233160040                Gas           Non Aggregation - OH
COH             113170740037                Gas           Non Aggregation - OH   COH             161426270017                Gas           Non Aggregation - OH
COH             144341880029                Gas           Non Aggregation - OH   COH             125694440027                Gas           Non Aggregation - OH
COH             114624520011                Gas           Non Aggregation - OH   COH             138743650014                Gas           Non Aggregation - OH
COH             129860680020                Gas           Non Aggregation - OH   COH             111442110016                Gas           Non Aggregation - OH
COH             129856260198                Gas           Non Aggregation - OH   COH             174453130014                Gas           Non Aggregation - OH
COH             134434160052                Gas           Non Aggregation - OH   COH             170769950035                Gas           Non Aggregation - OH
COH             124096930014                Gas           Non Aggregation - OH   COH             152805000010                Gas           Non Aggregation - OH
COH             129259190028                Gas           Non Aggregation - OH   COH             125341450031                Gas           Non Aggregation - OH
COH             129856260063                Gas           Non Aggregation - OH   COH             124793610013                Gas           Non Aggregation - OH
COH             129856260090                Gas           Non Aggregation - OH   COH             124687290016                Gas           Non Aggregation - OH
COH             129856260241                Gas           Non Aggregation - OH   COH             161225470011                Gas           Non Aggregation - OH
COH             129856260250                Gas           Non Aggregation - OH   COH             135733050032                Gas           Non Aggregation - OH
COH             149594640038                Gas           Non Aggregation - OH   COH             160201060027                Gas           Non Aggregation - OH
COH             115009910012                Gas           Non Aggregation - OH   COH             113164130029                Gas           Non Aggregation - OH
COH             115009920010                Gas           Non Aggregation - OH   COH             111490240018                Gas           Non Aggregation - OH
COH             152873600039                Gas           Non Aggregation - OH   COH             111490240027                Gas           Non Aggregation - OH
COH             127633330204                Gas           Non Aggregation - OH   COH             111543800017                Gas           Non Aggregation - OH
COH             127633330222                Gas           Non Aggregation - OH   COH             159221220015                Gas           Non Aggregation - OH
COH             127633330106                Gas           Non Aggregation - OH   COH             113078370013                Gas           Non Aggregation - OH
COH             127633330179                Gas           Non Aggregation - OH   COH             147830660016                Gas           Non Aggregation - OH
COH             127633330053                Gas           Non Aggregation - OH   COH             129592060065                Gas           Non Aggregation - OH
COH             127633330124                Gas           Non Aggregation - OH   COH             172090360018                Gas           Non Aggregation - OH
COH             124591420011                Gas           Non Aggregation - OH   COH             165608260019                Gas           Non Aggregation - OH
COH             177320940012                Gas           Non Aggregation - OH   COH             147584490015                Gas           Non Aggregation - OH
COH             123647670011                Gas           Non Aggregation - OH   COH             125201930018                Gas           Non Aggregation - OH
COH             129928470020                Gas           Non Aggregation - OH   COH             154848490016                Gas           Non Aggregation - OH
COH             141176660010                Gas           Non Aggregation - OH   COH             173993200016                Gas           Non Aggregation - OH
COH             129860530487                Gas           Non Aggregation - OH   COH             140914370025                Gas           Non Aggregation - OH
COH             114768410010                Gas           Non Aggregation - OH   COH             134090990138                Gas           Non Aggregation - OH
COH             109920850011                Gas           Non Aggregation - OH   COH             175042850013                Gas           Non Aggregation - OH
COH             109920850048                Gas           Non Aggregation - OH   COH             124203010018                Gas           Non Aggregation - OH
COH             186998780010                Gas           Non Aggregation - OH   COH             138012820026                Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             187672830018                Gas           Non Aggregation - OH   COH             110623760017                Gas           Non Aggregation - OH
COH             140527790019                Gas           Non Aggregation - OH   COH             169230950011                Gas           Non Aggregation - OH
COH             169061840031                Gas           Non Aggregation - OH   COH             118920580017                Gas           Non Aggregation - OH
COH             167066650015                Gas           Non Aggregation - OH   COH             139318470058                Gas           Non Aggregation - OH
COH             143812660018                Gas           Non Aggregation - OH   COH             154294700052                Gas           Non Aggregation - OH
COH             153606810011                Gas           Non Aggregation - OH   COH             119367070035                Gas           Non Aggregation - OH
COH             156407160017                Gas           Non Aggregation - OH   COH             132107990026                Gas           Non Aggregation - OH
COH             124487250018                Gas           Non Aggregation - OH   COH             118499980036                Gas           Non Aggregation - OH
COH             124838210011                Gas           Non Aggregation - OH   COH             134471650015                Gas           Non Aggregation - OH
COH             125474390060                Gas           Non Aggregation - OH   COH             171812330013                Gas           Non Aggregation - OH
COH             109784330010                Gas           Non Aggregation - OH   COH             159311760020                Gas           Non Aggregation - OH
COH             166402340017                Gas           Non Aggregation - OH   COH             124966870030                Gas           Non Aggregation - OH
COH             156572000011                Gas           Non Aggregation - OH   COH             156908200016                Gas           Non Aggregation - OH
COH             187831400010                Gas           Non Aggregation - OH   COH             138751620013                Gas           Non Aggregation - OH
COH             138166770013                Gas           Non Aggregation - OH   COH             125167030011                Gas           Non Aggregation - OH
COH             118812020111                Gas           Non Aggregation - OH   COH             125456260029                Gas           Non Aggregation - OH
COH             131681880060                Gas           Non Aggregation - OH   COH             145187270024                Gas           Non Aggregation - OH
COH             130653510209                Gas           Non Aggregation - OH   COH             141657170013                Gas           Non Aggregation - OH
COH             185467980014                Gas           Non Aggregation - OH   COH             149474790013                Gas           Non Aggregation - OH
COH             173172180011                Gas           Non Aggregation - OH   COH             125554480016                Gas           Non Aggregation - OH
COH             110333590018                Gas           Non Aggregation - OH   COH             117995000021                Gas           Non Aggregation - OH
COH             111024860024                Gas           Non Aggregation - OH   COH             171801530014                Gas           Non Aggregation - OH
COH             158486100057                Gas           Non Aggregation - OH   COH             119775800018                Gas           Non Aggregation - OH
COH             189466450013                Gas           Non Aggregation - OH   COH             122163590015                Gas           Non Aggregation - OH
COH             117119260014                Gas           Non Aggregation - OH   COH             140837220011                Gas           Non Aggregation - OH
COH             145823700014                Gas           Non Aggregation - OH   COH             162436960010                Gas           Non Aggregation - OH
COH             157716980019                Gas           Non Aggregation - OH   COH             151379410010                Gas           Non Aggregation - OH
COH             174261920033                Gas           Non Aggregation - OH   COH             153143110029                Gas           Non Aggregation - OH
COH             162296190083                Gas           Non Aggregation - OH   COH             169718950017                Gas           Non Aggregation - OH
COH             118704500039                Gas           Non Aggregation - OH   COH             149039330011                Gas           Non Aggregation - OH
COH             118723190026                Gas           Non Aggregation - OH   COH             125243890019                Gas           Non Aggregation - OH
COH             118723200014                Gas           Non Aggregation - OH   COH             142040860014                Gas           Non Aggregation - OH
COH             119482750010                Gas           Non Aggregation - OH   COH             145710090021                Gas           Non Aggregation - OH
COH             119708840093                Gas           Non Aggregation - OH   COH             142148080029                Gas           Non Aggregation - OH
COH             115982360016                Gas           Non Aggregation - OH   COH             125811890023                Gas           Non Aggregation - OH
COH             119708840011                Gas           Non Aggregation - OH   COH             135399170019                Gas           Non Aggregation - OH
COH             187944120038                Gas           Non Aggregation - OH   COH             173603220017                Gas           Non Aggregation - OH
COH             156058370014                Gas           Non Aggregation - OH   COH             143186140016                Gas           Non Aggregation - OH
COH             132357450011                Gas           Non Aggregation - OH   COH             115362330025                Gas           Non Aggregation - OH
COH             133409580021                Gas           Non Aggregation - OH   COH             147902500016                Gas           Non Aggregation - OH
COH             160521941943                Gas           Non Aggregation - OH   COH             153578340011                Gas           Non Aggregation - OH
COH             136615150030                Gas           Non Aggregation - OH   COH             137926830028                Gas           Non Aggregation - OH
COH             109931770079                Gas           Non Aggregation - OH   COH             161603700010                Gas           Non Aggregation - OH
COH             148874860020                Gas           Non Aggregation - OH   COH             170050970034                Gas           Non Aggregation - OH
COH             146273090091                Gas           Non Aggregation - OH   COH             124652150018                Gas           Non Aggregation - OH
COH             168817620017                Gas           Non Aggregation - OH   COH             130544420012                Gas           Non Aggregation - OH
COH             174340790015                Gas           Non Aggregation - OH   COH             138515690019                Gas           Non Aggregation - OH
DUKE            8790051920                  Gas           Non Aggregation - OH   COH             141137360015                Gas           Non Aggregation - OH
DUKE            8790205301                  Gas           Non Aggregation - OH   COH             150351580023                Gas           Non Aggregation - OH
DUKE            4140057120                  Gas           Non Aggregation - OH   COH             152513250035                Gas           Non Aggregation - OH
DUKE            5320067401                  Gas           Non Aggregation - OH   COH             159567010017                Gas           Non Aggregation - OH
DUKE            5390016920                  Gas           Non Aggregation - OH   COH             160899500027                Gas           Non Aggregation - OH
DUKE            2090030020                  Gas           Non Aggregation - OH   COH             134512590029                Gas           Non Aggregation - OH
DUKE            0830072901                  Gas           Non Aggregation - OH   COH             124139970032                Gas           Non Aggregation - OH
DUKE            7500221901                  Gas           Non Aggregation - OH   COH             125382570030                Gas           Non Aggregation - OH
DUKE            8120201901                  Gas           Non Aggregation - OH   COH             146532500012                Gas           Non Aggregation - OH
DUKE            9830084720                  Gas           Non Aggregation - OH   COH             156367840010                Gas           Non Aggregation - OH
DUKE            0240082127                  Gas           Non Aggregation - OH   COH             159440520018                Gas           Non Aggregation - OH
DUKE            3960080125                  Gas           Non Aggregation - OH   COH             173965380018                Gas           Non Aggregation - OH
DUKE            9460024525                  Gas           Non Aggregation - OH   COH             161074540017                Gas           Non Aggregation - OH
DUKE            3510370002                  Gas           Non Aggregation - OH   COH             110579600015                Gas           Non Aggregation - OH
DUKE            6870084122                  Gas           Non Aggregation - OH   COH             159563890039                Gas           Non Aggregation - OH
DUKE            7590359101                  Gas           Non Aggregation - OH   COH             134861480050                Gas           Non Aggregation - OH
DUKE            1700222501                  Gas           Non Aggregation - OH   COH             161854840010                Gas           Non Aggregation - OH
DUKE            7330354902                  Gas           Non Aggregation - OH   COH             172280520011                Gas           Non Aggregation - OH
DUKE            2430022720                  Gas           Non Aggregation - OH   COH             124987650023                Gas           Non Aggregation - OH
DUKE            3790022420                  Gas           Non Aggregation - OH   COH             132423750026                Gas           Non Aggregation - OH
DUKE            4990039120                  Gas           Non Aggregation - OH   COH             142435220011                Gas           Non Aggregation - OH
DUKE            7810068520                  Gas           Non Aggregation - OH   COH             168630160010                Gas           Non Aggregation - OH
DUKE            7860022620                  Gas           Non Aggregation - OH   COH             134576810019                Gas           Non Aggregation - OH
DUKE            8280022620                  Gas           Non Aggregation - OH   COH             156243340035                Gas           Non Aggregation - OH
DUKE            9690022420                  Gas           Non Aggregation - OH   COH             163868680013                Gas           Non Aggregation - OH
DUKE            0090061521                  Gas           Non Aggregation - OH   COH             122998960018                Gas           Non Aggregation - OH
DUKE            0230087920                  Gas           Non Aggregation - OH   COH             170704060010                Gas           Non Aggregation - OH
DUKE            0600203201                  Gas           Non Aggregation - OH   COH             136996470046                Gas           Non Aggregation - OH
DUKE            1280030421                  Gas           Non Aggregation - OH   COH             168719170010                Gas           Non Aggregation - OH
DUKE            1510084820                  Gas           Non Aggregation - OH   COH             166849800014                Gas           Non Aggregation - OH
DUKE            3460014020                  Gas           Non Aggregation - OH   COH             126899750027                Gas           Non Aggregation - OH
DUKE            3780205201                  Gas           Non Aggregation - OH   COH             125458930015                Gas           Non Aggregation - OH
DUKE            3810035320                  Gas           Non Aggregation - OH   COH             166709240027                Gas           Non Aggregation - OH
DUKE            3960219901                  Gas           Non Aggregation - OH   COH             125148080039                Gas           Non Aggregation - OH
DUKE            4260205301                  Gas           Non Aggregation - OH   COH             170692340018                Gas           Non Aggregation - OH
DUKE            4280043920                  Gas           Non Aggregation - OH   COH             124491240011                Gas           Non Aggregation - OH
DUKE            6970039922                  Gas           Non Aggregation - OH   COH             124401450016                Gas           Non Aggregation - OH
DUKE            7340073220                  Gas           Non Aggregation - OH   COH             118288220032                Gas           Non Aggregation - OH
DUKE            7640058620                  Gas           Non Aggregation - OH   COH             139082070017                Gas           Non Aggregation - OH
DUKE            7720202101                  Gas           Non Aggregation - OH   COH             122197290017                Gas           Non Aggregation - OH
DUKE            8290034920                  Gas           Non Aggregation - OH   COH             147297670016                Gas           Non Aggregation - OH
DUKE            8420051820                  Gas           Non Aggregation - OH   COH             136146260041                Gas           Non Aggregation - OH
DUKE            8650057521                  Gas           Non Aggregation - OH   COH             138013430035                Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DUKE            9530207901                  Gas           Non Aggregation - OH   COH             122470780014                Gas           Non Aggregation - OH
DUKE            3300224602                  Gas           Non Aggregation - OH   COH             158692980010                Gas           Non Aggregation - OH
DUKE            4770353402                  Gas           Non Aggregation - OH   COH             133801940014                Gas           Non Aggregation - OH
DUKE            6040203401                  Gas           Non Aggregation - OH   COH             124970720032                Gas           Non Aggregation - OH
DUKE            6150355601                  Gas           Non Aggregation - OH   COH             150313550010                Gas           Non Aggregation - OH
DUKE            6240359702                  Gas           Non Aggregation - OH   COH             159012590011                Gas           Non Aggregation - OH
DUKE            8840223801                  Gas           Non Aggregation - OH   COH             136127950019                Gas           Non Aggregation - OH
DUKE            0880042320                  Gas           Non Aggregation - OH   COH             138656650019                Gas           Non Aggregation - OH
DUKE            4940213201                  Gas           Non Aggregation - OH   COH             153830210012                Gas           Non Aggregation - OH
DUKE            1390215001                  Gas           Non Aggregation - OH   COH             154225830014                Gas           Non Aggregation - OH
DUKE            1930205101                  Gas           Non Aggregation - OH   COH             125371470016                Gas           Non Aggregation - OH
DUKE            3710060520                  Gas           Non Aggregation - OH   COH             124568770017                Gas           Non Aggregation - OH
DUKE            3740071120                  Gas           Non Aggregation - OH   COH             172545030030                Gas           Non Aggregation - OH
DUKE            5710060520                  Gas           Non Aggregation - OH   COH             165597200025                Gas           Non Aggregation - OH
DUKE            8060010923                  Gas           Non Aggregation - OH   COH             150116520014                Gas           Non Aggregation - OH
DUKE            0810206407                  Gas           Non Aggregation - OH   COH             125042250019                Gas           Non Aggregation - OH
DUKE            1690205201                  Gas           Non Aggregation - OH   COH             123562550016                Gas           Non Aggregation - OH
DUKE            1560024022                  Gas           Non Aggregation - OH   COH             140389740013                Gas           Non Aggregation - OH
DUKE            0340080821                  Gas           Non Aggregation - OH   COH             156053580010                Gas           Non Aggregation - OH
DUKE            6070082023                  Gas           Non Aggregation - OH   COH             125589610024                Gas           Non Aggregation - OH
DUKE            6340202802                  Gas           Non Aggregation - OH   COH             150351580014                Gas           Non Aggregation - OH
DUKE            0910007223                  Gas           Non Aggregation - OH   COH             161323640035                Gas           Non Aggregation - OH
DEO             4500024248115               Gas           Non Aggregation - OH   COH             122606260023                Gas           Non Aggregation - OH
DEO             3500051562065               Gas           Non Aggregation - OH   COH             122721670014                Gas           Non Aggregation - OH
DEO             9500027287318               Gas           Non Aggregation - OH   COH             124534120014                Gas           Non Aggregation - OH
DEO             0500053265652               Gas           Non Aggregation - OH   COH             124491310025                Gas           Non Aggregation - OH
DEO             3500052960691               Gas           Non Aggregation - OH   COH             124839320016                Gas           Non Aggregation - OH
COH             117235360017                Gas           Non Aggregation - OH   COH             164639710010                Gas           Non Aggregation - OH
COH             144913590036                Gas           Non Aggregation - OH   COH             136712330018                Gas           Non Aggregation - OH
COH             112704890061                Gas           Non Aggregation - OH   COH             125050600018                Gas           Non Aggregation - OH
COH             113046070031                Gas           Non Aggregation - OH   COH             170295740016                Gas           Non Aggregation - OH
COH             113061920085                Gas           Non Aggregation - OH   COH             143301300016                Gas           Non Aggregation - OH
COH             113046070013                Gas           Non Aggregation - OH   COH             141645450019                Gas           Non Aggregation - OH
COH             113046070040                Gas           Non Aggregation - OH   COH             163012190019                Gas           Non Aggregation - OH
COH             161486150034                Gas           Non Aggregation - OH   COH             122778370027                Gas           Non Aggregation - OH
COH             187224780036                Gas           Non Aggregation - OH   COH             154717990018                Gas           Non Aggregation - OH
COH             114742000010                Gas           Non Aggregation - OH   COH             169155070016                Gas           Non Aggregation - OH
COH             156150380025                Gas           Non Aggregation - OH   COH             124688470016                Gas           Non Aggregation - OH
COH             177202780016                Gas           Non Aggregation - OH   COH             133685370021                Gas           Non Aggregation - OH
COH             114900100013                Gas           Non Aggregation - OH   COH             133685370030                Gas           Non Aggregation - OH
COH             114891430033                Gas           Non Aggregation - OH   COH             154780810012                Gas           Non Aggregation - OH
COH             186788190019                Gas           Non Aggregation - OH   COH             113240560027                Gas           Non Aggregation - OH
COH             187378440014                Gas           Non Aggregation - OH   COH             147202980010                Gas           Non Aggregation - OH
COH             187378440032                Gas           Non Aggregation - OH   COH             132442890018                Gas           Non Aggregation - OH
COH             130432563188                Gas           Non Aggregation - OH   COH             135960240022                Gas           Non Aggregation - OH
COH             130709650023                Gas           Non Aggregation - OH   COH             153925770014                Gas           Non Aggregation - OH
COH             130432563259                Gas           Non Aggregation - OH   COH             172160730011                Gas           Non Aggregation - OH
COH             112950040139                Gas           Non Aggregation - OH   COH             176578610017                Gas           Non Aggregation - OH
COH             130432564329                Gas           Non Aggregation - OH   COH             117320290020                Gas           Non Aggregation - OH
COH             130432564285                Gas           Non Aggregation - OH   COH             125590600023                Gas           Non Aggregation - OH
COH             130432563713                Gas           Non Aggregation - OH   COH             125864610011                Gas           Non Aggregation - OH
COH             112639780705                Gas           Non Aggregation - OH   COH             136236500021                Gas           Non Aggregation - OH
COH             112639780545                Gas           Non Aggregation - OH   COH             137100320025                Gas           Non Aggregation - OH
COH             112639840024                Gas           Non Aggregation - OH   COH             140113040013                Gas           Non Aggregation - OH
COH             112639780634                Gas           Non Aggregation - OH   COH             140267500020                Gas           Non Aggregation - OH
COH             112950040095                Gas           Non Aggregation - OH   COH             149875640014                Gas           Non Aggregation - OH
COH             147841570012                Gas           Non Aggregation - OH   COH             159348490020                Gas           Non Aggregation - OH
COH             112639780072                Gas           Non Aggregation - OH   COH             159557440018                Gas           Non Aggregation - OH
COH             114817000011                Gas           Non Aggregation - OH   COH             174006970015                Gas           Non Aggregation - OH
DEO             8420600336180               Gas           Non Aggregation - OH   COH             160386450016                Gas           Non Aggregation - OH
COH             115082650282                Gas           Non Aggregation - OH   COH             161540560014                Gas           Non Aggregation - OH
COH             115082650013                Gas           Non Aggregation - OH   COH             164680960011                Gas           Non Aggregation - OH
COH             115082650175                Gas           Non Aggregation - OH   COH             125722680026                Gas           Non Aggregation - OH
COH             115082650237                Gas           Non Aggregation - OH   COH             167667820024                Gas           Non Aggregation - OH
COH             115082650255                Gas           Non Aggregation - OH   COH             171860240011                Gas           Non Aggregation - OH
COH             115082650264                Gas           Non Aggregation - OH   COH             174455080011                Gas           Non Aggregation - OH
COH             115082650273                Gas           Non Aggregation - OH   COH             148475830022                Gas           Non Aggregation - OH
COH             149447970389                Gas           Non Aggregation - OH   COH             150001620016                Gas           Non Aggregation - OH
COH             149447970450                Gas           Non Aggregation - OH   COH             119948140029                Gas           Non Aggregation - OH
COH             115082650344                Gas           Non Aggregation - OH   COH             124870180029                Gas           Non Aggregation - OH
DEO             4500018093099               Gas           Non Aggregation - OH   COH             142836230037                Gas           Non Aggregation - OH
COH             152562980048                Gas           Non Aggregation - OH   COH             138459770021                Gas           Non Aggregation - OH
COH             174143840012                Gas           Non Aggregation - OH   COH             151785230035                Gas           Non Aggregation - OH
COH             144425950017                Gas           Non Aggregation - OH   COH             122202750017                Gas           Non Aggregation - OH
DEO             5500053967176               Gas           Non Aggregation - OH   COH             125550820012                Gas           Non Aggregation - OH
COH             112633670184                Gas           Non Aggregation - OH   COH             120361960019                Gas           Non Aggregation - OH
COH             112633680011                Gas           Non Aggregation - OH   COH             124336180012                Gas           Non Aggregation - OH
COH             112633690019                Gas           Non Aggregation - OH   COH             145599410012                Gas           Non Aggregation - OH
COH             112633700016                Gas           Non Aggregation - OH   COH             157906240039                Gas           Non Aggregation - OH
COH             113159500013                Gas           Non Aggregation - OH   COH             116615230019                Gas           Non Aggregation - OH
COH             113223280013                Gas           Non Aggregation - OH   COH             125479140017                Gas           Non Aggregation - OH
COH             113223420013                Gas           Non Aggregation - OH   COH             164032010013                Gas           Non Aggregation - OH
COH             113734010034                Gas           Non Aggregation - OH   COH             124691460011                Gas           Non Aggregation - OH
COH             113734010043                Gas           Non Aggregation - OH   COH             122627190015                Gas           Non Aggregation - OH
COH             113734010052                Gas           Non Aggregation - OH   COH             134993700018                Gas           Non Aggregation - OH
COH             113734010061                Gas           Non Aggregation - OH   COH             141015840021                Gas           Non Aggregation - OH
COH             113734010070                Gas           Non Aggregation - OH   COH             155346400035                Gas           Non Aggregation - OH
COH             113734010089                Gas           Non Aggregation - OH   COH             127167950016                Gas           Non Aggregation - OH
COH             113734010098                Gas           Non Aggregation - OH   COH             150027450018                Gas           Non Aggregation - OH
COH             113734010105                Gas           Non Aggregation - OH   COH             120356250019                Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             113734010221                Gas           Non Aggregation - OH   COH             124580870029                Gas           Non Aggregation - OH
COH             113734010230                Gas           Non Aggregation - OH   COH             125550850016                Gas           Non Aggregation - OH
COH             113734010249                Gas           Non Aggregation - OH   COH             124596520010                Gas           Non Aggregation - OH
COH             113734010258                Gas           Non Aggregation - OH   COH             137741150023                Gas           Non Aggregation - OH
COH             113734010267                Gas           Non Aggregation - OH   COH             139903890013                Gas           Non Aggregation - OH
COH             113734010276                Gas           Non Aggregation - OH   COH             132125110022                Gas           Non Aggregation - OH
COH             113734010285                Gas           Non Aggregation - OH   COH             156480350013                Gas           Non Aggregation - OH
COH             113734010294                Gas           Non Aggregation - OH   COH             133377280014                Gas           Non Aggregation - OH
COH             113734010409                Gas           Non Aggregation - OH   COH             134880930019                Gas           Non Aggregation - OH
COH             113734010418                Gas           Non Aggregation - OH   COH             158229910015                Gas           Non Aggregation - OH
COH             113734010427                Gas           Non Aggregation - OH   COH             165267640013                Gas           Non Aggregation - OH
COH             113734010436                Gas           Non Aggregation - OH   COH             172173810017                Gas           Non Aggregation - OH
COH             113734010445                Gas           Non Aggregation - OH   COH             112802250012                Gas           Non Aggregation - OH
COH             113734010454                Gas           Non Aggregation - OH   COH             122847740059                Gas           Non Aggregation - OH
COH             113734010472                Gas           Non Aggregation - OH   COH             166027810032                Gas           Non Aggregation - OH
COH             113734010481                Gas           Non Aggregation - OH   COH             171753080012                Gas           Non Aggregation - OH
COH             113815570017                Gas           Non Aggregation - OH   COH             174275420011                Gas           Non Aggregation - OH
COH             126734538345                Gas           Non Aggregation - OH   COH             174275420039                Gas           Non Aggregation - OH
COH             162124800014                Gas           Non Aggregation - OH   COH             174275420048                Gas           Non Aggregation - OH
COH             187035770011                Gas           Non Aggregation - OH   COH             174275420057                Gas           Non Aggregation - OH
COH             112633670308                Gas           Non Aggregation - OH   COH             174275420066                Gas           Non Aggregation - OH
COH             114741840016                Gas           Non Aggregation - OH   COH             124465380017                Gas           Non Aggregation - OH
DUKE            5070219103                  Gas           Non Aggregation - OH   COH             155158780017                Gas           Non Aggregation - OH
DUKE            9210218902                  Gas           Non Aggregation - OH   COH             164857290017                Gas           Non Aggregation - OH
COH             114799340010                Gas           Non Aggregation - OH   COH             142877310025                Gas           Non Aggregation - OH
COH             115028270017                Gas           Non Aggregation - OH   COH             167799450014                Gas           Non Aggregation - OH
COH             129261680593                Gas           Non Aggregation - OH   COH             161479880018                Gas           Non Aggregation - OH
COH             172260110019                Gas           Non Aggregation - OH   COH             146055710029                Gas           Non Aggregation - OH
COH             144025640047                Gas           Non Aggregation - OH   COH             151876300028                Gas           Non Aggregation - OH
DEO             0500023900583               Gas           Non Aggregation - OH   COH             153721480017                Gas           Non Aggregation - OH
DEO             6422000070829               Gas           Non Aggregation - OH   COH             122787140026                Gas           Non Aggregation - OH
DEO             9421000331485               Gas           Non Aggregation - OH   COH             144809130033                Gas           Non Aggregation - OH
DEO             5500024253211               Gas           Non Aggregation - OH   COH             152094950010                Gas           Non Aggregation - OH
DEO             3500028609889               Gas           Non Aggregation - OH   COH             170108420018                Gas           Non Aggregation - OH
DEO             3440009302889               Gas           Non Aggregation - OH   COH             167847120010                Gas           Non Aggregation - OH
DEO             5440900423507               Gas           Non Aggregation - OH   COH             124370240017                Gas           Non Aggregation - OH
DEO             5440900423526               Gas           Non Aggregation - OH   COH             113810800018                Gas           Non Aggregation - OH
DEO             1500038972118               Gas           Non Aggregation - OH   COH             131767650020                Gas           Non Aggregation - OH
COH             145908360025                Gas           Non Aggregation - OH   COH             127191040043                Gas           Non Aggregation - OH
DEO             9500051884330               Gas           Non Aggregation - OH   COH             153492210010                Gas           Non Aggregation - OH
COH             186788190037                Gas           Non Aggregation - OH   COH             153492210038                Gas           Non Aggregation - OH
DEO             5420100050743               Gas           Non Aggregation - OH   COH             140759300029                Gas           Non Aggregation - OH
COH             164847660038                Gas           Non Aggregation - OH   COH             153324850011                Gas           Non Aggregation - OH
VEDO            4001024462545488            Gas           Non Aggregation - OH   COH             122680870010                Gas           Non Aggregation - OH
VEDO            4001024462371142            Gas           Non Aggregation - OH   COH             146776800013                Gas           Non Aggregation - OH
VEDO            4001024462382837            Gas           Non Aggregation - OH   COH             168049570017                Gas           Non Aggregation - OH
VEDO            4001024462147179            Gas           Non Aggregation - OH   COH             136327480014                Gas           Non Aggregation - OH
VEDO            4001024462311060            Gas           Non Aggregation - OH   COH             151438060018                Gas           Non Aggregation - OH
VEDO            4001024462598841            Gas           Non Aggregation - OH   COH             175911840012                Gas           Non Aggregation - OH
VEDO            4001024462636342            Gas           Non Aggregation - OH   COH             150563400030                Gas           Non Aggregation - OH
VEDO            4001024462619409            Gas           Non Aggregation - OH   COH             122883760022                Gas           Non Aggregation - OH
VEDO            4001024462217800            Gas           Non Aggregation - OH   COH             124500110017                Gas           Non Aggregation - OH
VEDO            4001024462271998            Gas           Non Aggregation - OH   COH             156429370017                Gas           Non Aggregation - OH
VEDO            4001024462356957            Gas           Non Aggregation - OH   COH             110745560011                Gas           Non Aggregation - OH
VEDO            4015119112532526            Gas           Non Aggregation - OH   COH             157622690019                Gas           Non Aggregation - OH
COH             156773280017                Gas           Non Aggregation - OH   COH             166273880019                Gas           Non Aggregation - OH
DEO             3500047550106               Gas           Non Aggregation - OH   COH             140137490019                Gas           Non Aggregation - OH
COH             142901130011                Gas           Non Aggregation - OH   COH             171191740015                Gas           Non Aggregation - OH
COH             162093910027                Gas           Non Aggregation - OH   COH             124789530028                Gas           Non Aggregation - OH
COH             110855360056                Gas           Non Aggregation - OH   COH             153367400015                Gas           Non Aggregation - OH
COH             156423080047                Gas           Non Aggregation - OH   COH             144380520022                Gas           Non Aggregation - OH
COH             138743540017                Gas           Non Aggregation - OH   COH             124497120014                Gas           Non Aggregation - OH
COH             134137540043                Gas           Non Aggregation - OH   COH             123584140025                Gas           Non Aggregation - OH
COH             150125240014                Gas           Non Aggregation - OH   COH             122640700019                Gas           Non Aggregation - OH
COH             119538120031                Gas           Non Aggregation - OH   COH             156111750010                Gas           Non Aggregation - OH
COH             193371620012                Gas           Non Aggregation - OH   COH             148643320013                Gas           Non Aggregation - OH
COH             132357450066                Gas           Non Aggregation - OH   COH             118866780020                Gas           Non Aggregation - OH
COH             124628970017                Gas           Non Aggregation - OH   COH             124954240028                Gas           Non Aggregation - OH
COH             124628970026                Gas           Non Aggregation - OH   COH             170901960013                Gas           Non Aggregation - OH
COH             124628970044                Gas           Non Aggregation - OH   COH             125168790010                Gas           Non Aggregation - OH
COH             124628970053                Gas           Non Aggregation - OH   COH             136787300017                Gas           Non Aggregation - OH
COH             159080210017                Gas           Non Aggregation - OH   COH             119137630016                Gas           Non Aggregation - OH
DEO             8190000000238               Gas           Non Aggregation - OH   COH             122113270035                Gas           Non Aggregation - OH
DEO             3441900621198               Gas           Non Aggregation - OH   COH             155585120038                Gas           Non Aggregation - OH
COH             165798850014                Gas           Non Aggregation - OH   COH             155585120056                Gas           Non Aggregation - OH
COH             193536030016                Gas           Non Aggregation - OH   COH             124791610017                Gas           Non Aggregation - OH
COH             170635200035                Gas           Non Aggregation - OH   COH             139804320012                Gas           Non Aggregation - OH
COH             193699670018                Gas           Non Aggregation - OH   COH             143662490013                Gas           Non Aggregation - OH
DEO             7500055670431               Gas           Non Aggregation - OH   COH             174147850012                Gas           Non Aggregation - OH
COH             176400650023                Gas           Non Aggregation - OH   COH             135855820014                Gas           Non Aggregation - OH
COH             115576960011                Gas           Non Aggregation - OH   COH             167996170015                Gas           Non Aggregation - OH
COH             117230870010                Gas           Non Aggregation - OH   COH             137027600068                Gas           Non Aggregation - OH
COH             123626810015                Gas           Non Aggregation - OH   COH             118392560021                Gas           Non Aggregation - OH
COH             148005680010                Gas           Non Aggregation - OH   COH             119182070037                Gas           Non Aggregation - OH
COH             189589790183                Gas           Non Aggregation - OH   COH             117876820012                Gas           Non Aggregation - OH
COH             194074080015                Gas           Non Aggregation - OH   COH             160688010018                Gas           Non Aggregation - OH
COH             194129410018                Gas           Non Aggregation - OH   COH             118854410022                Gas           Non Aggregation - OH
COH             110562280018                Gas           Non Aggregation - OH   COH             137500730012                Gas           Non Aggregation - OH
COH             110562280027                Gas           Non Aggregation - OH   COH             134924830016                Gas           Non Aggregation - OH
COH             110562280036                Gas           Non Aggregation - OH   COH             125568520018                Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             110562280045                Gas           Non Aggregation - OH   COH             163728880017                Gas           Non Aggregation - OH
COH             110562280054                Gas           Non Aggregation - OH   COH             125275150026                Gas           Non Aggregation - OH
COH             110562280063                Gas           Non Aggregation - OH   COH             125427160012                Gas           Non Aggregation - OH
COH             110562280072                Gas           Non Aggregation - OH   COH             139259820014                Gas           Non Aggregation - OH
COH             131622920029                Gas           Non Aggregation - OH   COH             169535900015                Gas           Non Aggregation - OH
COH             149324530014                Gas           Non Aggregation - OH   COH             124768630076                Gas           Non Aggregation - OH
COH             177451410016                Gas           Non Aggregation - OH   COH             124770570074                Gas           Non Aggregation - OH
VEDO            4018165562466744            Gas           Non Aggregation - OH   COH             161366050011                Gas           Non Aggregation - OH
DEO             1500055600789               Gas           Non Aggregation - OH   COH             160188560013                Gas           Non Aggregation - OH
COH             187350160011                Gas           Non Aggregation - OH   COH             172937590014                Gas           Non Aggregation - OH
COH             145781420022                Gas           Non Aggregation - OH   COH             122913270011                Gas           Non Aggregation - OH
COH             122541930075                Gas           Non Aggregation - OH   COH             124638630017                Gas           Non Aggregation - OH
COH             155614580011                Gas           Non Aggregation - OH   COH             124853040015                Gas           Non Aggregation - OH
COH             125623970178                Gas           Non Aggregation - OH   COH             159029380010                Gas           Non Aggregation - OH
COH             130653510183                Gas           Non Aggregation - OH   COH             162527670018                Gas           Non Aggregation - OH
COH             188217450048                Gas           Non Aggregation - OH   COH             137220810028                Gas           Non Aggregation - OH
COH             136893170010                Gas           Non Aggregation - OH   COH             151288080013                Gas           Non Aggregation - OH
COH             149781460011                Gas           Non Aggregation - OH   COH             174183090016                Gas           Non Aggregation - OH
COH             162853720034                Gas           Non Aggregation - OH   COH             163973640018                Gas           Non Aggregation - OH
COH             118885080027                Gas           Non Aggregation - OH   COH             167623290199                Gas           Non Aggregation - OH
COH             169478800018                Gas           Non Aggregation - OH   COH             152106940024                Gas           Non Aggregation - OH
COH             189589790138                Gas           Non Aggregation - OH   COH             168364240018                Gas           Non Aggregation - OH
COH             146490210068                Gas           Non Aggregation - OH   COH             110698720018                Gas           Non Aggregation - OH
COH             146490210086                Gas           Non Aggregation - OH   COH             110698730016                Gas           Non Aggregation - OH
COH             146490210111                Gas           Non Aggregation - OH   COH             122855710030                Gas           Non Aggregation - OH
COH             151355630023                Gas           Non Aggregation - OH   COH             122876620017                Gas           Non Aggregation - OH
COH             164171190012                Gas           Non Aggregation - OH   COH             144322470016                Gas           Non Aggregation - OH
COH             115593120011                Gas           Non Aggregation - OH   COH             140773330032                Gas           Non Aggregation - OH
COH             115912390017                Gas           Non Aggregation - OH   COH             134460600027                Gas           Non Aggregation - OH
COH             117495300117                Gas           Non Aggregation - OH   COH             156224620027                Gas           Non Aggregation - OH
COH             119415440016                Gas           Non Aggregation - OH   COH             145951440018                Gas           Non Aggregation - OH
COH             119463800028                Gas           Non Aggregation - OH   COH             147776010018                Gas           Non Aggregation - OH
COH             189589790227                Gas           Non Aggregation - OH   COH             171894600014                Gas           Non Aggregation - OH
COH             194236620017                Gas           Non Aggregation - OH   COH             116974410011                Gas           Non Aggregation - OH
COH             146490210040                Gas           Non Aggregation - OH   COH             163860880017                Gas           Non Aggregation - OH
COH             158826880043                Gas           Non Aggregation - OH   COH             115240070037                Gas           Non Aggregation - OH
COH             158871500038                Gas           Non Aggregation - OH   COH             118971780036                Gas           Non Aggregation - OH
COH             170045650041                Gas           Non Aggregation - OH   COH             110950820011                Gas           Non Aggregation - OH
COH             191286170010                Gas           Non Aggregation - OH   COH             125395070010                Gas           Non Aggregation - OH
COH             193566650013                Gas           Non Aggregation - OH   COH             125734310019                Gas           Non Aggregation - OH
COH             176001980039                Gas           Non Aggregation - OH   COH             153711900028                Gas           Non Aggregation - OH
COH             160521941989                Gas           Non Aggregation - OH   COH             125077250025                Gas           Non Aggregation - OH
VEDO            4002311632226200            Gas           Non Aggregation - OH   COH             122258490024                Gas           Non Aggregation - OH
VEDO            4002396942234554            Gas           Non Aggregation - OH   COH             145372800047                Gas           Non Aggregation - OH
VEDO            4002588872254470            Gas           Non Aggregation - OH   COH             125787920010                Gas           Non Aggregation - OH
VEDO            4003388212335579            Gas           Non Aggregation - OH   COH             163742050020                Gas           Non Aggregation - OH
VEDO            4018109162632101            Gas           Non Aggregation - OH   COH             159029960018                Gas           Non Aggregation - OH
VEDO            4018789262460228            Gas           Non Aggregation - OH   COH             132024470021                Gas           Non Aggregation - OH
VEDO            4003275182213624            Gas           Non Aggregation - OH   COH             169063420017                Gas           Non Aggregation - OH
VEDO            4016890032450378            Gas           Non Aggregation - OH   COH             155479860065                Gas           Non Aggregation - OH
VEDO            4001627372500479            Gas           Non Aggregation - OH   COH             125481030024                Gas           Non Aggregation - OH
VEDO            4003671252263742            Gas           Non Aggregation - OH   COH             124458260017                Gas           Non Aggregation - OH
VEDO            4017764282634975            Gas           Non Aggregation - OH   COH             159784110034                Gas           Non Aggregation - OH
COH             138767500015                Gas           Non Aggregation - OH   COH             152565400034                Gas           Non Aggregation - OH
COH             138767500024                Gas           Non Aggregation - OH   COH             173069480017                Gas           Non Aggregation - OH
COH             119412520051                Gas           Non Aggregation - OH   COH             173496890016                Gas           Non Aggregation - OH
COH             147541470037                Gas           Non Aggregation - OH   COH             122055510010                Gas           Non Aggregation - OH
COH             147541470046                Gas           Non Aggregation - OH   COH             154643830018                Gas           Non Aggregation - OH
COH             147541470019                Gas           Non Aggregation - OH   COH             167927990018                Gas           Non Aggregation - OH
COH             115116630023                Gas           Non Aggregation - OH   COH             150226820027                Gas           Non Aggregation - OH
VEDO            4019004692605697            Gas           Non Aggregation - OH   COH             125554210021                Gas           Non Aggregation - OH
VEDO            4018445222472089            Gas           Non Aggregation - OH   COH             164678400013                Gas           Non Aggregation - OH
VEDO            4015790072626803            Gas           Non Aggregation - OH   COH             125275370020                Gas           Non Aggregation - OH
COH             112843580062                Gas           Non Aggregation - OH   COH             148184570015                Gas           Non Aggregation - OH
COH             138028500011                Gas           Non Aggregation - OH   COH             152734540036                Gas           Non Aggregation - OH
COH             187491830049                Gas           Non Aggregation - OH   COH             135345940038                Gas           Non Aggregation - OH
COH             152660700084                Gas           Non Aggregation - OH   COH             148734660019                Gas           Non Aggregation - OH
COH             115008300165                Gas           Non Aggregation - OH   COH             122669650038                Gas           Non Aggregation - OH
COH             170487280016                Gas           Non Aggregation - OH   COH             136797070015                Gas           Non Aggregation - OH
COH             115008300174                Gas           Non Aggregation - OH   COH             118352110047                Gas           Non Aggregation - OH
COH             142386120017                Gas           Non Aggregation - OH   COH             131216570024                Gas           Non Aggregation - OH
COH             139200150385                Gas           Non Aggregation - OH   COH             157633580055                Gas           Non Aggregation - OH
COH             131888790016                Gas           Non Aggregation - OH   COH             166149500011                Gas           Non Aggregation - OH
COH             139200150474                Gas           Non Aggregation - OH   COH             146589210023                Gas           Non Aggregation - OH
VEDO            4001307402128908            Gas           Non Aggregation - OH   COH             174309520017                Gas           Non Aggregation - OH
COH             119446890026                Gas           Non Aggregation - OH   COH             110927580011                Gas           Non Aggregation - OH
COH             186589440036                Gas           Non Aggregation - OH   COH             176814390012                Gas           Non Aggregation - OH
COH             194636230011                Gas           Non Aggregation - OH   COH             117475510017                Gas           Non Aggregation - OH
VEDO            4001318412129935            Gas           Non Aggregation - OH   COH             164595810013                Gas           Non Aggregation - OH
COH             190330110018                Gas           Non Aggregation - OH   COH             144306670027                Gas           Non Aggregation - OH
DEO             9500004434403               Gas           Non Aggregation - OH   COH             164796430017                Gas           Non Aggregation - OH
COH             146273090064                Gas           Non Aggregation - OH   COH             125511780022                Gas           Non Aggregation - OH
COH             146273090073                Gas           Non Aggregation - OH   COH             117626730010                Gas           Non Aggregation - OH
DEO             1500061071375               Gas           Non Aggregation - OH   COH             122999840011                Gas           Non Aggregation - OH
COH             115082650362                Gas           Non Aggregation - OH   COH             151451800023                Gas           Non Aggregation - OH
COH             122785430010                Gas           Non Aggregation - OH   COH             135791120017                Gas           Non Aggregation - OH
COH             146490210308                Gas           Non Aggregation - OH   COH             125080270042                Gas           Non Aggregation - OH
VEDO            4004926782502468            Gas           Non Aggregation - OH   COH             120128870012                Gas           Non Aggregation - OH
DEO             8441500309099               Gas           Non Aggregation - OH   COH             177107480011                Gas           Non Aggregation - OH
DEO             7421500232414               Gas           Non Aggregation - OH   COH             165926540025                Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DEO             4440300309080               Gas           Non Aggregation - OH   COH             148876350023                Gas           Non Aggregation - OH
DEO             5441700309063               Gas           Non Aggregation - OH   COH             139477550019                Gas           Non Aggregation - OH
COH             150879820024                Gas           Non Aggregation - OH   COH             122129210025                Gas           Non Aggregation - OH
COH             150879820015                Gas           Non Aggregation - OH   COH             111255140026                Gas           Non Aggregation - OH
COH             152328470103                Gas           Non Aggregation - OH   COH             124596520029                Gas           Non Aggregation - OH
COH             164595540056                Gas           Non Aggregation - OH   COH             149790620018                Gas           Non Aggregation - OH
VEDO            4001815122340965            Gas           Non Aggregation - OH   COH             175137400034                Gas           Non Aggregation - OH
VEDO            4004689812476397            Gas           Non Aggregation - OH   COH             124437250022                Gas           Non Aggregation - OH
COH             111102510021                Gas           Non Aggregation - OH   COH             152416900016                Gas           Non Aggregation - OH
COH             131725640048                Gas           Non Aggregation - OH   COH             133610520017                Gas           Non Aggregation - OH
COH             131810280016                Gas           Non Aggregation - OH   COH             124144390015                Gas           Non Aggregation - OH
COH             131725640011                Gas           Non Aggregation - OH   COH             152015850017                Gas           Non Aggregation - OH
COH             120010270017                Gas           Non Aggregation - OH   COH             168069250012                Gas           Non Aggregation - OH
COH             120010280015                Gas           Non Aggregation - OH   COH             113064700021                Gas           Non Aggregation - OH
COH             131725640020                Gas           Non Aggregation - OH   COH             144285590039                Gas           Non Aggregation - OH
COH             120010260019                Gas           Non Aggregation - OH   COH             162480260014                Gas           Non Aggregation - OH
COH             189531840085                Gas           Non Aggregation - OH   COH             172488420012                Gas           Non Aggregation - OH
COH             188217450039                Gas           Non Aggregation - OH   COH             124884280010                Gas           Non Aggregation - OH
COH             191393520037                Gas           Non Aggregation - OH   COH             124376580014                Gas           Non Aggregation - OH
COH             189531840030                Gas           Non Aggregation - OH   COH             111233610014                Gas           Non Aggregation - OH
COH             125623970025                Gas           Non Aggregation - OH   COH             124745840016                Gas           Non Aggregation - OH
COH             125623970123                Gas           Non Aggregation - OH   COH             113028440022                Gas           Non Aggregation - OH
COH             135224290013                Gas           Non Aggregation - OH   COH             113028440031                Gas           Non Aggregation - OH
COH             187355680030                Gas           Non Aggregation - OH   COH             113028440040                Gas           Non Aggregation - OH
COH             115554380019                Gas           Non Aggregation - OH   COH             113028440059                Gas           Non Aggregation - OH
COH             115555610018                Gas           Non Aggregation - OH   COH             113028440086                Gas           Non Aggregation - OH
COH             115555620016                Gas           Non Aggregation - OH   COH             123950320020                Gas           Non Aggregation - OH
COH             115555630014                Gas           Non Aggregation - OH   COH             175088610017                Gas           Non Aggregation - OH
DEO             7500002207156               Gas           Non Aggregation - OH   COH             165279340011                Gas           Non Aggregation - OH
DEO             7500002207349               Gas           Non Aggregation - OH   COH             164983510013                Gas           Non Aggregation - OH
VEDO            4017369302541186            Gas           Non Aggregation - OH   COH             148428950026                Gas           Non Aggregation - OH
VEDO            4001227232407263            Gas           Non Aggregation - OH   COH             165928820022                Gas           Non Aggregation - OH
VEDO            4018982982366583            Gas           Non Aggregation - OH   COH             186461100019                Gas           Non Aggregation - OH
VEDO            4001024462155927            Gas           Non Aggregation - OH   COH             140994860015                Gas           Non Aggregation - OH
COH             129860530736                Gas           Non Aggregation - OH   COH             135630040014                Gas           Non Aggregation - OH
COH             117377310017                Gas           Non Aggregation - OH   COH             140751420011                Gas           Non Aggregation - OH
COH             117377300019                Gas           Non Aggregation - OH   COH             161619540011                Gas           Non Aggregation - OH
COH             117377290012                Gas           Non Aggregation - OH   COH             175532480012                Gas           Non Aggregation - OH
COH             117377330013                Gas           Non Aggregation - OH   COH             122068380057                Gas           Non Aggregation - OH
COH             164284010010                Gas           Non Aggregation - OH   COH             122068380084                Gas           Non Aggregation - OH
COH             142431980092                Gas           Non Aggregation - OH   COH             132738080011                Gas           Non Aggregation - OH
COH             146415260020                Gas           Non Aggregation - OH   COH             176503330013                Gas           Non Aggregation - OH
COH             127315900039                Gas           Non Aggregation - OH   COH             113742650024                Gas           Non Aggregation - OH
COH             169339190039                Gas           Non Aggregation - OH   COH             165221320016                Gas           Non Aggregation - OH
COH             146496200013                Gas           Non Aggregation - OH   COH             165221310018                Gas           Non Aggregation - OH
COH             114982660014                Gas           Non Aggregation - OH   COH             149357820014                Gas           Non Aggregation - OH
COH             150575290011                Gas           Non Aggregation - OH   COH             127293030030                Gas           Non Aggregation - OH
COH             164595540047                Gas           Non Aggregation - OH   COH             109662960061                Gas           Non Aggregation - OH
DEO             9120000077029               Gas           Non Aggregation - OH   COH             159739440021                Gas           Non Aggregation - OH
DEO             8441600411124               Gas           Non Aggregation - OH   COH             166163630041                Gas           Non Aggregation - OH
DEO             8441600411143               Gas           Non Aggregation - OH   COH             112169600021                Gas           Non Aggregation - OH
DEO             2441600411154               Gas           Non Aggregation - OH   COH             143156100017                Gas           Non Aggregation - OH
DEO             3441600411117               Gas           Non Aggregation - OH   COH             124304160013                Gas           Non Aggregation - OH
COH             124293450035                Gas           Non Aggregation - OH   COH             140818880022                Gas           Non Aggregation - OH
COH             110413030042                Gas           Non Aggregation - OH   COH             161811710017                Gas           Non Aggregation - OH
DEO             0500063069178               Gas           Non Aggregation - OH   COH             136910180010                Gas           Non Aggregation - OH
COH             118018530029                Gas           Non Aggregation - OH   COH             114592670019                Gas           Non Aggregation - OH
VEDO            4019004692429521            Gas           Non Aggregation - OH   COH             124458690026                Gas           Non Aggregation - OH
COH             118941210029                Gas           Non Aggregation - OH   COH             112930340021                Gas           Non Aggregation - OH
COH             190940120022                Gas           Non Aggregation - OH   COH             172235460019                Gas           Non Aggregation - OH
COH             146118700303                Gas           Non Aggregation - OH   COH             172894710010                Gas           Non Aggregation - OH
COH             119003630019                Gas           Non Aggregation - OH   COH             157263140016                Gas           Non Aggregation - OH
COH             146118700214                Gas           Non Aggregation - OH   COH             120080140035                Gas           Non Aggregation - OH
COH             150738360010                Gas           Non Aggregation - OH   COH             162277400051                Gas           Non Aggregation - OH
COH             124006580017                Gas           Non Aggregation - OH   COH             167074100059                Gas           Non Aggregation - OH
COH             124051320016                Gas           Non Aggregation - OH   COH             185393860034                Gas           Non Aggregation - OH
COH             124199540036                Gas           Non Aggregation - OH   COH             173142400026                Gas           Non Aggregation - OH
COH             124197080019                Gas           Non Aggregation - OH   COH             124510480055                Gas           Non Aggregation - OH
COH             124197080037                Gas           Non Aggregation - OH   COH             143240500014                Gas           Non Aggregation - OH
COH             123960380027                Gas           Non Aggregation - OH   COH             111255570017                Gas           Non Aggregation - OH
COH             124235380032                Gas           Non Aggregation - OH   COH             147171480049                Gas           Non Aggregation - OH
COH             124235380014                Gas           Non Aggregation - OH   COH             122764900024                Gas           Non Aggregation - OH
COH             194516170018                Gas           Non Aggregation - OH   COH             113488050084                Gas           Non Aggregation - OH
VEDO            4002318032226815            Gas           Non Aggregation - OH   COH             190127210018                Gas           Non Aggregation - OH
COH             119945190025                Gas           Non Aggregation - OH   COH             137900470028                Gas           Non Aggregation - OH
COH             125602980027                Gas           Non Aggregation - OH   COH             134015770016                Gas           Non Aggregation - OH
COH             125602980036                Gas           Non Aggregation - OH   COH             124466780048                Gas           Non Aggregation - OH
VEDO            4001641762560137            Gas           Non Aggregation - OH   COH             139160690020                Gas           Non Aggregation - OH
COH             146176000013                Gas           Non Aggregation - OH   COH             149699890025                Gas           Non Aggregation - OH
COH             132386540011                Gas           Non Aggregation - OH   COH             161962560010                Gas           Non Aggregation - OH
COH             132386540020                Gas           Non Aggregation - OH   COH             167235110019                Gas           Non Aggregation - OH
COH             122997660013                Gas           Non Aggregation - OH   COH             170691390010                Gas           Non Aggregation - OH
COH             112148140086                Gas           Non Aggregation - OH   COH             167540750018                Gas           Non Aggregation - OH
COH             144011750016                Gas           Non Aggregation - OH   COH             110716310014                Gas           Non Aggregation - OH
COH             113841200019                Gas           Non Aggregation - OH   COH             110716300016                Gas           Non Aggregation - OH
COH             112148140040                Gas           Non Aggregation - OH   COH             140666320013                Gas           Non Aggregation - OH
COH             112148140095                Gas           Non Aggregation - OH   COH             186236620017                Gas           Non Aggregation - OH
COH             112148140406                Gas           Non Aggregation - OH   COH             117381960012                Gas           Non Aggregation - OH
DEO             8500060078110               Gas           Non Aggregation - OH   COH             117382090013                Gas           Non Aggregation - OH
VEDO            4001295682327184            Gas           Non Aggregation - OH   COH             117382640017                Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             127181760025                Gas           Non Aggregation - OH   COH             117382850013                Gas           Non Aggregation - OH
COH             149324500010                Gas           Non Aggregation - OH   COH             117383260015                Gas           Non Aggregation - OH
COH             118880700035                Gas           Non Aggregation - OH   COH             111082800015                Gas           Non Aggregation - OH
COH             140552790061                Gas           Non Aggregation - OH   COH             111082800033                Gas           Non Aggregation - OH
DUKE            8850205201                  Gas           Non Aggregation - OH   COH             118830480073                Gas           Non Aggregation - OH
DUKE            3630368101                  Gas           Non Aggregation - OH   COH             118830480055                Gas           Non Aggregation - OH
DUKE            9580359201                  Gas           Non Aggregation - OH   COH             118830480019                Gas           Non Aggregation - OH
COH             175839630501                Gas           Non Aggregation - OH   COH             115783880037                Gas           Non Aggregation - OH
COH             194106350055                Gas           Non Aggregation - OH   COH             137752070018                Gas           Non Aggregation - OH
COH             122067320168                Gas           Non Aggregation - OH   COH             120158310052                Gas           Non Aggregation - OH
COH             125382190012                Gas           Non Aggregation - OH   COH             120158310061                Gas           Non Aggregation - OH
COH             195999930015                Gas           Non Aggregation - OH   COH             123048500016                Gas           Non Aggregation - OH
COH             177448020015                Gas           Non Aggregation - OH   COH             176995530010                Gas           Non Aggregation - OH
COH             144797910027                Gas           Non Aggregation - OH   COH             120158350018                Gas           Non Aggregation - OH
COH             172707190097                Gas           Non Aggregation - OH   COH             136781920019                Gas           Non Aggregation - OH
COH             196438580016                Gas           Non Aggregation - OH   COH             147905130018                Gas           Non Aggregation - OH
COH             185518530019                Gas           Non Aggregation - OH   COH             114593190027                Gas           Non Aggregation - OH
COH             146165550011                Gas           Non Aggregation - OH   COH             113402060019                Gas           Non Aggregation - OH
COH             115412720017                Gas           Non Aggregation - OH   COH             114926880016                Gas           Non Aggregation - OH
COH             115403460011                Gas           Non Aggregation - OH   COH             141112570013                Gas           Non Aggregation - OH
COH             124166400016                Gas           Non Aggregation - OH   COH             109451170019                Gas           Non Aggregation - OH
COH             153382010033                Gas           Non Aggregation - OH   COH             123816650016                Gas           Non Aggregation - OH
COH             167935060043                Gas           Non Aggregation - OH   COH             111184890011                Gas           Non Aggregation - OH
COH             170117600011                Gas           Non Aggregation - OH   COH             111140930014                Gas           Non Aggregation - OH
COH             186216260015                Gas           Non Aggregation - OH   COH             110983510026                Gas           Non Aggregation - OH
COH             113655360084                Gas           Non Aggregation - OH   COH             111141120012                Gas           Non Aggregation - OH
COH             117237580017                Gas           Non Aggregation - OH   COH             135989030026                Gas           Non Aggregation - OH
COH             150077520018                Gas           Non Aggregation - OH   COH             131525440017                Gas           Non Aggregation - OH
COH             171895080012                Gas           Non Aggregation - OH   COH             110686810014                Gas           Non Aggregation - OH
COH             176822050025                Gas           Non Aggregation - OH   COH             110850760025                Gas           Non Aggregation - OH
COH             129483240022                Gas           Non Aggregation - OH   COH             110849410012                Gas           Non Aggregation - OH
COH             157716760015                Gas           Non Aggregation - OH   COH             111592310017                Gas           Non Aggregation - OH
COH             174168430043                Gas           Non Aggregation - OH   COH             119517660014                Gas           Non Aggregation - OH
COH             163630340017                Gas           Non Aggregation - OH   COH             108672810035                Gas           Non Aggregation - OH
COH             194660540015                Gas           Non Aggregation - OH   COH             108672810044                Gas           Non Aggregation - OH
COH             159058430018                Gas           Non Aggregation - OH   COH             108672810017                Gas           Non Aggregation - OH
VEDO            4018984032429649            Gas           Non Aggregation - OH   COH             117516730022                Gas           Non Aggregation - OH
VEDO            4001018812359124            Gas           Non Aggregation - OH   COH             118010570027                Gas           Non Aggregation - OH
VEDO            4015005952382824            Gas           Non Aggregation - OH   COH             118010570018                Gas           Non Aggregation - OH
VEDO            4004893382292364            Gas           Non Aggregation - OH   COH             117516730013                Gas           Non Aggregation - OH
VEDO            4016590812462142            Gas           Non Aggregation - OH   COH             117728030011                Gas           Non Aggregation - OH
VEDO            4015790072266685            Gas           Non Aggregation - OH   COH             158473460059                Gas           Non Aggregation - OH
VEDO            4017729652624117            Gas           Non Aggregation - OH   COH             116987520011                Gas           Non Aggregation - OH
COH             196477420017                Gas           Non Aggregation - OH   COH             124766760019                Gas           Non Aggregation - OH
COH             112263680016                Gas           Non Aggregation - OH   COH             135317200014                Gas           Non Aggregation - OH
DEO             1500012874291               Gas           Non Aggregation - OH   COH             190330860011                Gas           Non Aggregation - OH
DEO             6500012876496               Gas           Non Aggregation - OH   COH             143276210029                Gas           Non Aggregation - OH
DUKE            0620370501                  Gas           Non Aggregation - OH   COH             189696940013                Gas           Non Aggregation - OH
COH             174930910018                Gas           Non Aggregation - OH   COH             128700300046                Gas           Non Aggregation - OH
DEO             6500004322893               Gas           Non Aggregation - OH   COH             187817940017                Gas           Non Aggregation - OH
COH             122030340018                Gas           Non Aggregation - OH   COH             151367140012                Gas           Non Aggregation - OH
COH             154815420028                Gas           Non Aggregation - OH   COH             109251600012                Gas           Non Aggregation - OH
COH             112524350011                Gas           Non Aggregation - OH   COH             164838890011                Gas           Non Aggregation - OH
COH             114932350014                Gas           Non Aggregation - OH   COH             190365150017                Gas           Non Aggregation - OH
COH             122910270017                Gas           Non Aggregation - OH   COH             176916510010                Gas           Non Aggregation - OH
COH             120024020029                Gas           Non Aggregation - OH   COH             169930940028                Gas           Non Aggregation - OH
COH             113578660021                Gas           Non Aggregation - OH   COH             165838000025                Gas           Non Aggregation - OH
COH             154815420037                Gas           Non Aggregation - OH   COH             185881350018                Gas           Non Aggregation - OH
COH             137683660011                Gas           Non Aggregation - OH   COH             133700470026                Gas           Non Aggregation - OH
COH             108909520024                Gas           Non Aggregation - OH   COH             115810800016                Gas           Non Aggregation - OH
COH             120178920025                Gas           Non Aggregation - OH   COH             152190880011                Gas           Non Aggregation - OH
COH             120178920034                Gas           Non Aggregation - OH   COH             125689670020                Gas           Non Aggregation - OH
COH             120178920043                Gas           Non Aggregation - OH   COH             125593460027                Gas           Non Aggregation - OH
COH             161379790019                Gas           Non Aggregation - OH   COH             115865140010                Gas           Non Aggregation - OH
COH             161967800019                Gas           Non Aggregation - OH   COH             159115860098                Gas           Non Aggregation - OH
COH             185335230010                Gas           Non Aggregation - OH   COH             111212490014                Gas           Non Aggregation - OH
COH             111653020045                Gas           Non Aggregation - OH   COH             124127550026                Gas           Non Aggregation - OH
COH             116979030048                Gas           Non Aggregation - OH   COH             125224480015                Gas           Non Aggregation - OH
DEO             2421200054100               Gas           Non Aggregation - OH   COH             125844800022                Gas           Non Aggregation - OH
DEO             3420500110980               Gas           Non Aggregation - OH   COH             126872060019                Gas           Non Aggregation - OH
DEO             3421800110973               Gas           Non Aggregation - OH   COH             165988520010                Gas           Non Aggregation - OH
DEO             1421600053886               Gas           Non Aggregation - OH   COH             185263670020                Gas           Non Aggregation - OH
DEO             2441800158177               Gas           Non Aggregation - OH   COH             187800800011                Gas           Non Aggregation - OH
DEO             2441300442673               Gas           Non Aggregation - OH   COH             110482520017                Gas           Non Aggregation - OH
DEO             7180009010213               Gas           Non Aggregation - OH   COH             165393110017                Gas           Non Aggregation - OH
DEO             0421100053900               Gas           Non Aggregation - OH   COH             187916340013                Gas           Non Aggregation - OH
DEO             4500007570241               Gas           Non Aggregation - OH   COH             138761740026                Gas           Non Aggregation - OH
DEO             2500014891316               Gas           Non Aggregation - OH   COH             113736370026                Gas           Non Aggregation - OH
DEO             6500016537894               Gas           Non Aggregation - OH   COH             130347560039                Gas           Non Aggregation - OH
DEO             2500020400185               Gas           Non Aggregation - OH   COH             175866770014                Gas           Non Aggregation - OH
DEO             5500021247327               Gas           Non Aggregation - OH   COH             112634770010                Gas           Non Aggregation - OH
DEO             5500025303018               Gas           Non Aggregation - OH   COH             175970300011                Gas           Non Aggregation - OH
DEO             2500043725473               Gas           Non Aggregation - OH   COH             161720100018                Gas           Non Aggregation - OH
DEO             2500048529661               Gas           Non Aggregation - OH   COH             125709230019                Gas           Non Aggregation - OH
DEO             2500054921900               Gas           Non Aggregation - OH   COH             113165120047                Gas           Non Aggregation - OH
DUKE            9420042623                  Gas           Non Aggregation - OH   COH             186198120014                Gas           Non Aggregation - OH
DUKE            1650203703                  Gas           Non Aggregation - OH   COH             130426480010                Gas           Non Aggregation - OH
DUKE            0470362602                  Gas           Non Aggregation - OH   COH             170144030014                Gas           Non Aggregation - OH
VEDO            4018835022361824            Gas           Non Aggregation - OH   COH             149056040016                Gas           Non Aggregation - OH
COH             173312580019                Gas           Non Aggregation - OH   COH             148501120033                Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             160887240018                Gas           Non Aggregation - OH   COH             126787520040                Gas           Non Aggregation - OH
COH             196582820010                Gas           Non Aggregation - OH   COH             122316760023                Gas           Non Aggregation - OH
COH             100517850042                Gas           Non Aggregation - OH   COH             187754280010                Gas           Non Aggregation - OH
COH             196720920015                Gas           Non Aggregation - OH   COH             187783590014                Gas           Non Aggregation - OH
COH             154041850083                Gas           Non Aggregation - OH   COH             117421510038                Gas           Non Aggregation - OH
COH             114886840038                Gas           Non Aggregation - OH   COH             188800830014                Gas           Non Aggregation - OH
DEO             4500065003421               Gas           Non Aggregation - OH   COH             117811760011                Gas           Non Aggregation - OH
COH             192078330016                Gas           Non Aggregation - OH   COH             109497990011                Gas           Non Aggregation - OH
DEO             2500052135584               Gas           Non Aggregation - OH   COH             151136150064                Gas           Non Aggregation - OH
COH             125879420010                Gas           Non Aggregation - OH   COH             138288090116                Gas           Non Aggregation - OH
COH             171824970023                Gas           Non Aggregation - OH   COH             167365640013                Gas           Non Aggregation - OH
VEDO            4002817392276707            Gas           Non Aggregation - OH   COH             125855500013                Gas           Non Aggregation - OH
VEDO            4001556162425842            Gas           Non Aggregation - OH   COH             120564140048                Gas           Non Aggregation - OH
VEDO            4001020572127306            Gas           Non Aggregation - OH   COH             188963990035                Gas           Non Aggregation - OH
VEDO            4001020572101995            Gas           Non Aggregation - OH   COH             132981910011                Gas           Non Aggregation - OH
VEDO            4001546932500936            Gas           Non Aggregation - OH   COH             168309360019                Gas           Non Aggregation - OH
VEDO            4001653362161587            Gas           Non Aggregation - OH   COH             190659150014                Gas           Non Aggregation - OH
VEDO            4001437852401546            Gas           Non Aggregation - OH   COH             190789870018                Gas           Non Aggregation - OH
VEDO            4015591142553581            Gas           Non Aggregation - OH   COH             155350690018                Gas           Non Aggregation - OH
COH             172770620039                Gas           Non Aggregation - OH   COH             108797580012                Gas           Non Aggregation - OH
COH             130496450064                Gas           Non Aggregation - OH   COH             125205680013                Gas           Non Aggregation - OH
COH             187515890027                Gas           Non Aggregation - OH   COH             167734120019                Gas           Non Aggregation - OH
VEDO            4019284982132630            Gas           Non Aggregation - OH   COH             117995730019                Gas           Non Aggregation - OH
COH             138139500061                Gas           Non Aggregation - OH   COH             109656540133                Gas           Non Aggregation - OH
VEDO            4003223112496114            Gas           Non Aggregation - OH   COH             109656540106                Gas           Non Aggregation - OH
VEDO            4001793562455509            Gas           Non Aggregation - OH   COH             109656540115                Gas           Non Aggregation - OH
VEDO            4003223112512492            Gas           Non Aggregation - OH   COH             109798140075                Gas           Non Aggregation - OH
VEDO            4003872932386996            Gas           Non Aggregation - OH   COH             134151280011                Gas           Non Aggregation - OH
DUKE            8140359502                  Gas           Non Aggregation - OH   COH             125804180018                Gas           Non Aggregation - OH
DUKE            1830072901                  Gas           Non Aggregation - OH   COH             154914390034                Gas           Non Aggregation - OH
DUKE            3710371501                  Gas           Non Aggregation - OH   COH             174956370036                Gas           Non Aggregation - OH
COH             146490210013                Gas           Non Aggregation - OH   COH             129274970013                Gas           Non Aggregation - OH
COH             146490210157                Gas           Non Aggregation - OH   COH             191299970015                Gas           Non Aggregation - OH
COH             162447510039                Gas           Non Aggregation - OH   COH             163467780021                Gas           Non Aggregation - OH
COH             146490210193                Gas           Non Aggregation - OH   COH             191306740016                Gas           Non Aggregation - OH
COH             146490210255                Gas           Non Aggregation - OH   COH             123067790025                Gas           Non Aggregation - OH
COH             172707190113                Gas           Non Aggregation - OH   COH             120012680017                Gas           Non Aggregation - OH
COH             162447510084                Gas           Non Aggregation - OH   COH             123862100014                Gas           Non Aggregation - OH
COH             164171190049                Gas           Non Aggregation - OH   COH             114992430011                Gas           Non Aggregation - OH
COH             170635200044                Gas           Non Aggregation - OH   COH             114988290010                Gas           Non Aggregation - OH
COH             174026280027                Gas           Non Aggregation - OH   COH             191748130018                Gas           Non Aggregation - OH
COH             146490210317                Gas           Non Aggregation - OH   COH             131101910034                Gas           Non Aggregation - OH
DEO             9500015181469               Gas           Non Aggregation - OH   COH             115821310043                Gas           Non Aggregation - OH
DEO             9500014801943               Gas           Non Aggregation - OH   COH             131927230019                Gas           Non Aggregation - OH
DEO             2500025254337               Gas           Non Aggregation - OH   COH             152208010069                Gas           Non Aggregation - OH
DEO             1500032364095               Gas           Non Aggregation - OH   COH             147454200010                Gas           Non Aggregation - OH
DEO             0500035271997               Gas           Non Aggregation - OH   COH             169189920052                Gas           Non Aggregation - OH
DEO             1500032792098               Gas           Non Aggregation - OH   COH             169189920016                Gas           Non Aggregation - OH
DEO             7500011626029               Gas           Non Aggregation - OH   COH             146984640016                Gas           Non Aggregation - OH
DEO             2500013347164               Gas           Non Aggregation - OH   COH             167691250023                Gas           Non Aggregation - OH
DEO             8500012951198               Gas           Non Aggregation - OH   COH             111141450013                Gas           Non Aggregation - OH
DEO             7500013747583               Gas           Non Aggregation - OH   COH             148126330026                Gas           Non Aggregation - OH
DEO             2500015384830               Gas           Non Aggregation - OH   COH             124185100019                Gas           Non Aggregation - OH
DEO             2500022129532               Gas           Non Aggregation - OH   COH             124185190011                Gas           Non Aggregation - OH
DEO             8500020200246               Gas           Non Aggregation - OH   COH             143108990012                Gas           Non Aggregation - OH
DEO             0500038786223               Gas           Non Aggregation - OH   COH             141686380018                Gas           Non Aggregation - OH
DEO             0500038076205               Gas           Non Aggregation - OH   COH             114745990035                Gas           Non Aggregation - OH
DEO             0500041462177               Gas           Non Aggregation - OH   COH             131679570015                Gas           Non Aggregation - OH
DEO             0500041891449               Gas           Non Aggregation - OH   COH             120504950017                Gas           Non Aggregation - OH
DEO             0500053532703               Gas           Non Aggregation - OH   COH             143409910010                Gas           Non Aggregation - OH
DUKE            5960352302                  Gas           Non Aggregation - OH   COH             168733090017                Gas           Non Aggregation - OH
DUKE            7470082526                  Gas           Non Aggregation - OH   COH             124172140027                Gas           Non Aggregation - OH
DUKE            4150357403                  Gas           Non Aggregation - OH   COH             155714530019                Gas           Non Aggregation - OH
DUKE            0490360402                  Gas           Non Aggregation - OH   COH             123712590019                Gas           Non Aggregation - OH
DUKE            0540364002                  Gas           Non Aggregation - OH   COH             142815720010                Gas           Non Aggregation - OH
DUKE            5120365102                  Gas           Non Aggregation - OH   COH             156934840017                Gas           Non Aggregation - OH
VEDO            4015790072600900            Gas           Non Aggregation - OH   COH             120471020022                Gas           Non Aggregation - OH
VEDO            4015790072384642            Gas           Non Aggregation - OH   COH             122106970015                Gas           Non Aggregation - OH
VEDO            4015790072592351            Gas           Non Aggregation - OH   COH             122106960017                Gas           Non Aggregation - OH
VEDO            4015790072627449            Gas           Non Aggregation - OH   COH             146983830018                Gas           Non Aggregation - OH
VEDO            4001364882134269            Gas           Non Aggregation - OH   COH             160667020047                Gas           Non Aggregation - OH
DEO             9440700066484               Gas           Non Aggregation - OH   COH             160667020038                Gas           Non Aggregation - OH
VEDO            4003508312428536            Gas           Non Aggregation - OH   COH             109913060012                Gas           Non Aggregation - OH
COH             153382010024                Gas           Non Aggregation - OH   COH             160164550015                Gas           Non Aggregation - OH
COH             125616960068                Gas           Non Aggregation - OH   COH             185962010035                Gas           Non Aggregation - OH
DEO             7500044951041               Gas           Non Aggregation - OH   COH             185962010017                Gas           Non Aggregation - OH
VEDO            4018982982291514            Gas           Non Aggregation - OH   COH             122898930016                Gas           Non Aggregation - OH
VEDO            4001571992350824            Gas           Non Aggregation - OH   COH             167105500012                Gas           Non Aggregation - OH
DEO             5500065272889               Gas           Non Aggregation - OH   COH             162106920151                Gas           Non Aggregation - OH
DUKE            4930205201                  Gas           Non Aggregation - OH   COH             125065160010                Gas           Non Aggregation - OH
DEO             0500065595807               Gas           Non Aggregation - OH   COH             164002110015                Gas           Non Aggregation - OH
DUKE            2260214901                  Gas           Non Aggregation - OH   COH             112684490014                Gas           Non Aggregation - OH
DUKE            3730205401                  Gas           Non Aggregation - OH   COH             121978080016                Gas           Non Aggregation - OH
DUKE            4520054622                  Gas           Non Aggregation - OH   COH             149269840026                Gas           Non Aggregation - OH
DUKE            9520054620                  Gas           Non Aggregation - OH   COH             113790270014                Gas           Non Aggregation - OH
DUKE            4380042921                  Gas           Non Aggregation - OH   COH             129575830023                Gas           Non Aggregation - OH
DUKE            7890078824                  Gas           Non Aggregation - OH   COH             177769730016                Gas           Non Aggregation - OH
DUKE            9250205901                  Gas           Non Aggregation - OH   COH             185459890029                Gas           Non Aggregation - OH
DUKE            8420003020                  Gas           Non Aggregation - OH   COH             124663550011                Gas           Non Aggregation - OH
DUKE            7640088020                  Gas           Non Aggregation - OH   COH             188140680016                Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DUKE            1290004920                  Gas           Non Aggregation - OH   COH             172032590021                Gas           Non Aggregation - OH
DUKE            2290004920                  Gas           Non Aggregation - OH   COH             186017830017                Gas           Non Aggregation - OH
DUKE            0290004920                  Gas           Non Aggregation - OH   COH             150101190015                Gas           Non Aggregation - OH
DUKE            6870221401                  Gas           Non Aggregation - OH   COH             152258000011                Gas           Non Aggregation - OH
DUKE            7620011620                  Gas           Non Aggregation - OH   COH             162227220018                Gas           Non Aggregation - OH
DUKE            8420011622                  Gas           Non Aggregation - OH   COH             164903960017                Gas           Non Aggregation - OH
DUKE            5620011620                  Gas           Non Aggregation - OH   COH             125005300016                Gas           Non Aggregation - OH
DUKE            0390205301                  Gas           Non Aggregation - OH   COH             127463210031                Gas           Non Aggregation - OH
DUKE            3220087520                  Gas           Non Aggregation - OH   COH             137616630027                Gas           Non Aggregation - OH
DUKE            7140059920                  Gas           Non Aggregation - OH   COH             168167960015                Gas           Non Aggregation - OH
DUKE            7910220201                  Gas           Non Aggregation - OH   COH             169539230018                Gas           Non Aggregation - OH
DUKE            8180376801                  Gas           Non Aggregation - OH   COH             150037980070                Gas           Non Aggregation - OH
DUKE            2660001620                  Gas           Non Aggregation - OH   COH             163998420012                Gas           Non Aggregation - OH
DUKE            8560001620                  Gas           Non Aggregation - OH   COH             186615290013                Gas           Non Aggregation - OH
DUKE            7400004320                  Gas           Non Aggregation - OH   COH             122703720011                Gas           Non Aggregation - OH
DUKE            6580068425                  Gas           Non Aggregation - OH   COH             122754090026                Gas           Non Aggregation - OH
DUKE            6350058920                  Gas           Non Aggregation - OH   COH             122976100069                Gas           Non Aggregation - OH
DUKE            7350058920                  Gas           Non Aggregation - OH   COH             112166630012                Gas           Non Aggregation - OH
DUKE            8350058920                  Gas           Non Aggregation - OH   COH             125903110012                Gas           Non Aggregation - OH
DUKE            6250020220                  Gas           Non Aggregation - OH   COH             139464640017                Gas           Non Aggregation - OH
DUKE            9250020221                  Gas           Non Aggregation - OH   COH             143934980013                Gas           Non Aggregation - OH
DUKE            8100215101                  Gas           Non Aggregation - OH   COH             122013380016                Gas           Non Aggregation - OH
DUKE            7250020220                  Gas           Non Aggregation - OH   COH             122013740010                Gas           Non Aggregation - OH
DUKE            4440064120                  Gas           Non Aggregation - OH   COH             122013400011                Gas           Non Aggregation - OH
DUKE            5440064120                  Gas           Non Aggregation - OH   COH             122006600014                Gas           Non Aggregation - OH
DUKE            3580085021                  Gas           Non Aggregation - OH   COH             122497790016                Gas           Non Aggregation - OH
DUKE            3760087920                  Gas           Non Aggregation - OH   COH             123029490019                Gas           Non Aggregation - OH
DUKE            3840205101                  Gas           Non Aggregation - OH   COH             126891560121                Gas           Non Aggregation - OH
DUKE            7390016920                  Gas           Non Aggregation - OH   COH             173651160019                Gas           Non Aggregation - OH
DUKE            7870012720                  Gas           Non Aggregation - OH   COH             167722490017                Gas           Non Aggregation - OH
DUKE            0710220501                  Gas           Non Aggregation - OH   COH             166145960013                Gas           Non Aggregation - OH
DUKE            7360009320                  Gas           Non Aggregation - OH   COH             167478660010                Gas           Non Aggregation - OH
DUKE            9360009320                  Gas           Non Aggregation - OH   COH             170558120027                Gas           Non Aggregation - OH
DUKE            2860032720                  Gas           Non Aggregation - OH   COH             152148370071                Gas           Non Aggregation - OH
DUKE            1530069520                  Gas           Non Aggregation - OH   COH             153879160011                Gas           Non Aggregation - OH
DUKE            4480038620                  Gas           Non Aggregation - OH   COH             111136910017                Gas           Non Aggregation - OH
DUKE            0840224501                  Gas           Non Aggregation - OH   COH             108741200018                Gas           Non Aggregation - OH
DUKE            3480038620                  Gas           Non Aggregation - OH   COH             155775830018                Gas           Non Aggregation - OH
COH             139075160013                Gas           Non Aggregation - OH   COH             165004580012                Gas           Non Aggregation - OH
COH             150992430115                Gas           Non Aggregation - OH   COH             165594310019                Gas           Non Aggregation - OH
COH             197590280016                Gas           Non Aggregation - OH   COH             124019760012                Gas           Non Aggregation - OH
COH             130967840036                Gas           Non Aggregation - OH   COH             124219120012                Gas           Non Aggregation - OH
COH             114746660023                Gas           Non Aggregation - OH   COH             131975900026                Gas           Non Aggregation - OH
COH             110579100038                Gas           Non Aggregation - OH   COH             117002520016                Gas           Non Aggregation - OH
COH             140879870017                Gas           Non Aggregation - OH   COH             117073600010                Gas           Non Aggregation - OH
COH             112704860183                Gas           Non Aggregation - OH   COH             117965670015                Gas           Non Aggregation - OH
COH             190941430034                Gas           Non Aggregation - OH   COH             117809800035                Gas           Non Aggregation - OH
COH             129682600024                Gas           Non Aggregation - OH   COH             118359520029                Gas           Non Aggregation - OH
COH             148996900014                Gas           Non Aggregation - OH   COH             118815960056                Gas           Non Aggregation - OH
VEDO            4001365682472508            Gas           Non Aggregation - OH   COH             118938440108                Gas           Non Aggregation - OH
COH             197951640014                Gas           Non Aggregation - OH   COH             119167960032                Gas           Non Aggregation - OH
COH             197023600019                Gas           Non Aggregation - OH   COH             185826180010                Gas           Non Aggregation - OH
COH             197023610017                Gas           Non Aggregation - OH   COH             118512720012                Gas           Non Aggregation - OH
COH             113590170019                Gas           Non Aggregation - OH   COH             119707160034                Gas           Non Aggregation - OH
COH             164284010109                Gas           Non Aggregation - OH   COH             133276700046                Gas           Non Aggregation - OH
COH             112855240013                Gas           Non Aggregation - OH   COH             137411070010                Gas           Non Aggregation - OH
COH             112649000047                Gas           Non Aggregation - OH   COH             146463220018                Gas           Non Aggregation - OH
COH             197718910039                Gas           Non Aggregation - OH   COH             147400140212                Gas           Non Aggregation - OH
COH             172730780058                Gas           Non Aggregation - OH   COH             111569790016                Gas           Non Aggregation - OH
COH             172779620013                Gas           Non Aggregation - OH   COH             173336680036                Gas           Non Aggregation - OH
VEDO            4004758392298860            Gas           Non Aggregation - OH   COH             112168210016                Gas           Non Aggregation - OH
COH             111393930019                Gas           Non Aggregation - OH   COH             112974230013                Gas           Non Aggregation - OH
COH             111404960018                Gas           Non Aggregation - OH   COH             127146720054                Gas           Non Aggregation - OH
COH             115116440050                Gas           Non Aggregation - OH   COH             133539000027                Gas           Non Aggregation - OH
COH             189531840094                Gas           Non Aggregation - OH   COH             147964340029                Gas           Non Aggregation - OH
COH             117709010097                Gas           Non Aggregation - OH   COH             165006210042                Gas           Non Aggregation - OH
COH             162853720061                Gas           Non Aggregation - OH   COH             150037980052                Gas           Non Aggregation - OH
COH             146166630012                Gas           Non Aggregation - OH   COH             150037980061                Gas           Non Aggregation - OH
VEDO            4020165022343076            Gas           Non Aggregation - OH   COH             192168540011                Gas           Non Aggregation - OH
COH             188509940135                Gas           Non Aggregation - OH   COH             114525240010                Gas           Non Aggregation - OH
COH             177331530051                Gas           Non Aggregation - OH   COH             115273170019                Gas           Non Aggregation - OH
COH             113020180014                Gas           Non Aggregation - OH   COH             192832980010                Gas           Non Aggregation - OH
COH             195655550059                Gas           Non Aggregation - OH   COH             174406070016                Gas           Non Aggregation - OH
COH             129860530772                Gas           Non Aggregation - OH   COH             158598370018                Gas           Non Aggregation - OH
COH             112704860192                Gas           Non Aggregation - OH   COH             143787630028                Gas           Non Aggregation - OH
COH             195540560014                Gas           Non Aggregation - OH   COH             186642740011                Gas           Non Aggregation - OH
DEO             1500051212996               Gas           Non Aggregation - OH   COH             124073150016                Gas           Non Aggregation - OH
DUKE            5460376502                  Gas           Non Aggregation - OH   COH             166607270018                Gas           Non Aggregation - OH
DUKE            6740371405                  Gas           Non Aggregation - OH   COH             166607270027                Gas           Non Aggregation - OH
VEDO            4017764282132152            Gas           Non Aggregation - OH   COH             112695820011                Gas           Non Aggregation - OH
VEDO            4019307552644428            Gas           Non Aggregation - OH   COH             149158100035                Gas           Non Aggregation - OH
VEDO            4017764282537622            Gas           Non Aggregation - OH   COH             144428770019                Gas           Non Aggregation - OH
COH             166164140033                Gas           Non Aggregation - OH   COH             148490570016                Gas           Non Aggregation - OH
COH             172585460018                Gas           Non Aggregation - OH   COH             176890040015                Gas           Non Aggregation - OH
COH             149499270172                Gas           Non Aggregation - OH   COH             186153130016                Gas           Non Aggregation - OH
COH             149499270181                Gas           Non Aggregation - OH   COH             175413480014                Gas           Non Aggregation - OH
COH             149499270154                Gas           Non Aggregation - OH   COH             125681190018                Gas           Non Aggregation - OH
DEO             3500061735212               Gas           Non Aggregation - OH   COH             189272650012                Gas           Non Aggregation - OH
COH             141215400038                Gas           Non Aggregation - OH   COH             175264700014                Gas           Non Aggregation - OH
COH             148121260021                Gas           Non Aggregation - OH   COH             113240890028                Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DUKE            0670080120                  Gas           Non Aggregation - OH   COH             174502130019                Gas           Non Aggregation - OH
COH             188463390013                Gas           Non Aggregation - OH   COH             124539560012                Gas           Non Aggregation - OH
COH             177037140039                Gas           Non Aggregation - OH   COH             123784100010                Gas           Non Aggregation - OH
COH             115776770026                Gas           Non Aggregation - OH   COH             143211080014                Gas           Non Aggregation - OH
COH             110183233457                Gas           Non Aggregation - OH   COH             150262380015                Gas           Non Aggregation - OH
COH             110183233706                Gas           Non Aggregation - OH   COH             159802550023                Gas           Non Aggregation - OH
COH             110183231306                Gas           Non Aggregation - OH   COH             192826930013                Gas           Non Aggregation - OH
COH             158871500010                Gas           Non Aggregation - OH   COH             111166040017                Gas           Non Aggregation - OH
VEDO            4001599982628943            Gas           Non Aggregation - OH   COH             174410010019                Gas           Non Aggregation - OH
COH             123933990017                Gas           Non Aggregation - OH   COH             147611350015                Gas           Non Aggregation - OH
COH             127633330259                Gas           Non Aggregation - OH   COH             125475050041                Gas           Non Aggregation - OH
COH             172523620121                Gas           Non Aggregation - OH   COH             134365010023                Gas           Non Aggregation - OH
COH             114801590100                Gas           Non Aggregation - OH   COH             122083340017                Gas           Non Aggregation - OH
COH             159146330085                Gas           Non Aggregation - OH   COH             110374330016                Gas           Non Aggregation - OH
COH             114801590128                Gas           Non Aggregation - OH   COH             170869250021                Gas           Non Aggregation - OH
COH             114616100105                Gas           Non Aggregation - OH   COH             122333040028                Gas           Non Aggregation - OH
COH             155817970037                Gas           Non Aggregation - OH   COH             124236180023                Gas           Non Aggregation - OH
VEDO            4019047202424955            Gas           Non Aggregation - OH   COH             193038930013                Gas           Non Aggregation - OH
VEDO            4020165022282922            Gas           Non Aggregation - OH   COH             193137940011                Gas           Non Aggregation - OH
COH             196623750017                Gas           Non Aggregation - OH   COH             152175260040                Gas           Non Aggregation - OH
DUKE            4520081423                  Gas           Non Aggregation - OH   COH             110937330012                Gas           Non Aggregation - OH
COH             118563400030                Gas           Non Aggregation - OH   COH             169559780048                Gas           Non Aggregation - OH
DEO             6421000485067               Gas           Non Aggregation - OH   COH             169244490046                Gas           Non Aggregation - OH
COH             129483240031                Gas           Non Aggregation - OH   COH             110284230018                Gas           Non Aggregation - OH
COH             129483240040                Gas           Non Aggregation - OH   COH             111281220015                Gas           Non Aggregation - OH
COH             117495300135                Gas           Non Aggregation - OH   COH             113670230016                Gas           Non Aggregation - OH
COH             100911590096                Gas           Non Aggregation - OH   COH             113670240014                Gas           Non Aggregation - OH
DEO             6500060965029               Gas           Non Aggregation - OH   COH             123078400014                Gas           Non Aggregation - OH
VEDO            4001815122590039            Gas           Non Aggregation - OH   COH             151122430019                Gas           Non Aggregation - OH
VEDO            4001815122405012            Gas           Non Aggregation - OH   COH             191784640015                Gas           Non Aggregation - OH
VEDO            4001815122203453            Gas           Non Aggregation - OH   COH             153509610037                Gas           Non Aggregation - OH
VEDO            4001815122222896            Gas           Non Aggregation - OH   COH             123821940014                Gas           Non Aggregation - OH
VEDO            4001815122175788            Gas           Non Aggregation - OH   COH             162099260022                Gas           Non Aggregation - OH
VEDO            4001815122514309            Gas           Non Aggregation - OH   COH             158790740030                Gas           Non Aggregation - OH
VEDO            4001815122448449            Gas           Non Aggregation - OH   COH             192077850019                Gas           Non Aggregation - OH
VEDO            4001815122367365            Gas           Non Aggregation - OH   COH             176190430017                Gas           Non Aggregation - OH
VEDO            4001815122112767            Gas           Non Aggregation - OH   COH             147400140301                Gas           Non Aggregation - OH
VEDO            4002825342277515            Gas           Non Aggregation - OH   COH             153515214721                Gas           Non Aggregation - OH
VEDO            4001815122364008            Gas           Non Aggregation - OH   COH             152148370053                Gas           Non Aggregation - OH
VEDO            4001815122125461            Gas           Non Aggregation - OH   COH             153476790415                Gas           Non Aggregation - OH
VEDO            4001815122362097            Gas           Non Aggregation - OH   COH             119910730015                Gas           Non Aggregation - OH
COH             199394630016                Gas           Non Aggregation - OH   COH             125828500038                Gas           Non Aggregation - OH
COH             123676830034                Gas           Non Aggregation - OH   COH             123070690145                Gas           Non Aggregation - OH
COH             140878630019                Gas           Non Aggregation - OH   COH             187647010013                Gas           Non Aggregation - OH
COH             123724060140                Gas           Non Aggregation - OH   COH             147829030020                Gas           Non Aggregation - OH
COH             135163070019                Gas           Non Aggregation - OH   COH             111569760012                Gas           Non Aggregation - OH
COH             123719020032                Gas           Non Aggregation - OH   COH             109680250053                Gas           Non Aggregation - OH
COH             123629200017                Gas           Non Aggregation - OH   COH             142455870022                Gas           Non Aggregation - OH
COH             123676830016                Gas           Non Aggregation - OH   COH             187257430012                Gas           Non Aggregation - OH
COH             109382750069                Gas           Non Aggregation - OH   COH             155356820054                Gas           Non Aggregation - OH
COH             110995830015                Gas           Non Aggregation - OH   COH             163129080015                Gas           Non Aggregation - OH
COH             110996650020                Gas           Non Aggregation - OH   COH             124729510019                Gas           Non Aggregation - OH
COH             145442790014                Gas           Non Aggregation - OH   COH             124824690010                Gas           Non Aggregation - OH
COH             110996650039                Gas           Non Aggregation - OH   COH             125184270015                Gas           Non Aggregation - OH
COH             144727390042                Gas           Non Aggregation - OH   COH             125410860010                Gas           Non Aggregation - OH
COH             144727390051                Gas           Non Aggregation - OH   COH             125438860012                Gas           Non Aggregation - OH
COH             144727390131                Gas           Non Aggregation - OH   COH             125379870016                Gas           Non Aggregation - OH
COH             144727390015                Gas           Non Aggregation - OH   COH             124900840016                Gas           Non Aggregation - OH
COH             144727390202                Gas           Non Aggregation - OH   COH             125216800014                Gas           Non Aggregation - OH
COH             144727390097                Gas           Non Aggregation - OH   COH             134561380011                Gas           Non Aggregation - OH
COH             115984870015                Gas           Non Aggregation - OH   COH             139272600012                Gas           Non Aggregation - OH
COH             115952530013                Gas           Non Aggregation - OH   COH             146318840015                Gas           Non Aggregation - OH
COH             111166790047                Gas           Non Aggregation - OH   COH             153649130014                Gas           Non Aggregation - OH
COH             153934950017                Gas           Non Aggregation - OH   COH             155789120018                Gas           Non Aggregation - OH
COH             146646900017                Gas           Non Aggregation - OH   COH             166206040016                Gas           Non Aggregation - OH
COH             127458920024                Gas           Non Aggregation - OH   COH             169515730013                Gas           Non Aggregation - OH
COH             111168060028                Gas           Non Aggregation - OH   COH             172427880014                Gas           Non Aggregation - OH
COH             148761190011                Gas           Non Aggregation - OH   COH             122854890026                Gas           Non Aggregation - OH
COH             114671290020                Gas           Non Aggregation - OH   COH             124539060017                Gas           Non Aggregation - OH
COH             114649910017                Gas           Non Aggregation - OH   COH             186573010011                Gas           Non Aggregation - OH
COH             114671290011                Gas           Non Aggregation - OH   COH             125856260021                Gas           Non Aggregation - OH
COH             116969850029                Gas           Non Aggregation - OH   COH             189220760018                Gas           Non Aggregation - OH
COH             151495630018                Gas           Non Aggregation - OH   COH             114830370016                Gas           Non Aggregation - OH
COH             125795730040                Gas           Non Aggregation - OH   COH             113250780011                Gas           Non Aggregation - OH
COH             125887540027                Gas           Non Aggregation - OH   COH             114629500015                Gas           Non Aggregation - OH
COH             125748410019                Gas           Non Aggregation - OH   COH             138422810010                Gas           Non Aggregation - OH
COH             125712500015                Gas           Non Aggregation - OH   COH             116928080018                Gas           Non Aggregation - OH
COH             125712500033                Gas           Non Aggregation - OH   COH             117262610017                Gas           Non Aggregation - OH
COH             122675830019                Gas           Non Aggregation - OH   COH             117682810033                Gas           Non Aggregation - OH
COH             125887550016                Gas           Non Aggregation - OH   COH             166088200032                Gas           Non Aggregation - OH
COH             125795710026                Gas           Non Aggregation - OH   COH             108686460012                Gas           Non Aggregation - OH
COH             125795700019                Gas           Non Aggregation - OH   COH             161722130018                Gas           Non Aggregation - OH
COH             116745340011                Gas           Non Aggregation - OH   COH             115306550018                Gas           Non Aggregation - OH
COH             153650340017                Gas           Non Aggregation - OH   COH             117351180028                Gas           Non Aggregation - OH
COH             153793650047                Gas           Non Aggregation - OH   COH             193539140017                Gas           Non Aggregation - OH
COH             132097110023                Gas           Non Aggregation - OH   COH             110667250021                Gas           Non Aggregation - OH
COH             120472000015                Gas           Non Aggregation - OH   COH             110686200012                Gas           Non Aggregation - OH
COH             108822460012                Gas           Non Aggregation - OH   COH             120536510030                Gas           Non Aggregation - OH
COH             163535340019                Gas           Non Aggregation - OH   COH             190572210015                Gas           Non Aggregation - OH
COH             122420710013                Gas           Non Aggregation - OH   COH             192842950015                Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             122437540014                Gas           Non Aggregation - OH   COH             134476950138                Gas           Non Aggregation - OH
COH             122438330016                Gas           Non Aggregation - OH   COH             169983040017                Gas           Non Aggregation - OH
COH             122447160013                Gas           Non Aggregation - OH   COH             144399800060                Gas           Non Aggregation - OH
COH             108936390016                Gas           Non Aggregation - OH   COH             139783100014                Gas           Non Aggregation - OH
COH             131412870025                Gas           Non Aggregation - OH   COH             157123950030                Gas           Non Aggregation - OH
COH             153851230014                Gas           Non Aggregation - OH   COH             156503020021                Gas           Non Aggregation - OH
COH             166514330012                Gas           Non Aggregation - OH   COH             177226870017                Gas           Non Aggregation - OH
COH             108903920013                Gas           Non Aggregation - OH   COH             159269040013                Gas           Non Aggregation - OH
COH             108890890019                Gas           Non Aggregation - OH   COH             162775200011                Gas           Non Aggregation - OH
COH             146206280010                Gas           Non Aggregation - OH   COH             185910370011                Gas           Non Aggregation - OH
COH             141457420014                Gas           Non Aggregation - OH   COH             186232810015                Gas           Non Aggregation - OH
COH             115135680014                Gas           Non Aggregation - OH   COH             188838270022                Gas           Non Aggregation - OH
COH             134011200013                Gas           Non Aggregation - OH   COH             110806530017                Gas           Non Aggregation - OH
COH             152463940019                Gas           Non Aggregation - OH   COH             111344810017                Gas           Non Aggregation - OH
COH             131907620019                Gas           Non Aggregation - OH   COH             194365790019                Gas           Non Aggregation - OH
COH             156676050011                Gas           Non Aggregation - OH   COH             169367290039                Gas           Non Aggregation - OH
COH             145982970049                Gas           Non Aggregation - OH   COH             194039250013                Gas           Non Aggregation - OH
COH             143321010015                Gas           Non Aggregation - OH   COH             186202790022                Gas           Non Aggregation - OH
COH             122081620012                Gas           Non Aggregation - OH   COH             141462130014                Gas           Non Aggregation - OH
COH             113665450011                Gas           Non Aggregation - OH   COH             125005300025                Gas           Non Aggregation - OH
COH             113586800015                Gas           Non Aggregation - OH   COH             161840010040                Gas           Non Aggregation - OH
COH             156080110011                Gas           Non Aggregation - OH   COH             170281320031                Gas           Non Aggregation - OH
COH             139295780017                Gas           Non Aggregation - OH   COH             132930560012                Gas           Non Aggregation - OH
COH             112821810032                Gas           Non Aggregation - OH   COH             161092240021                Gas           Non Aggregation - OH
COH             131993890049                Gas           Non Aggregation - OH   COH             131302670039                Gas           Non Aggregation - OH
COH             114996090015                Gas           Non Aggregation - OH   COH             185606110010                Gas           Non Aggregation - OH
COH             124410890015                Gas           Non Aggregation - OH   COH             139736930037                Gas           Non Aggregation - OH
COH             140804580015                Gas           Non Aggregation - OH   COH             113739240018                Gas           Non Aggregation - OH
COH             124464490089                Gas           Non Aggregation - OH   COH             192826930031                Gas           Non Aggregation - OH
COH             154015480013                Gas           Non Aggregation - OH   COH             192826930059                Gas           Non Aggregation - OH
COH             124336370030                Gas           Non Aggregation - OH   COH             138059140085                Gas           Non Aggregation - OH
COH             124464490105                Gas           Non Aggregation - OH   COH             140264790017                Gas           Non Aggregation - OH
COH             124499070020                Gas           Non Aggregation - OH   COH             151275110040                Gas           Non Aggregation - OH
COH             124486750024                Gas           Non Aggregation - OH   COH             195821100014                Gas           Non Aggregation - OH
COH             124464490114                Gas           Non Aggregation - OH   COH             156655610026                Gas           Non Aggregation - OH
COH             143334150028                Gas           Non Aggregation - OH   COH             128914430028                Gas           Non Aggregation - OH
COH             131994010014                Gas           Non Aggregation - OH   COH             113215370011                Gas           Non Aggregation - OH
COH             114789590028                Gas           Non Aggregation - OH   COH             119527510032                Gas           Non Aggregation - OH
COH             114789630010                Gas           Non Aggregation - OH   COH             110633210011                Gas           Non Aggregation - OH
COH             125604870017                Gas           Non Aggregation - OH   COH             173062500016                Gas           Non Aggregation - OH
COH             173590440010                Gas           Non Aggregation - OH   COH             176562780015                Gas           Non Aggregation - OH
COH             125604840022                Gas           Non Aggregation - OH   COH             124758780012                Gas           Non Aggregation - OH
COH             125604850020                Gas           Non Aggregation - OH   COH             164878990016                Gas           Non Aggregation - OH
COH             108715800017                Gas           Non Aggregation - OH   COH             109574770013                Gas           Non Aggregation - OH
COH             108772280017                Gas           Non Aggregation - OH   COH             152798890020                Gas           Non Aggregation - OH
COH             116561500017                Gas           Non Aggregation - OH   COH             115945870017                Gas           Non Aggregation - OH
COH             108774020017                Gas           Non Aggregation - OH   COH             111306570018                Gas           Non Aggregation - OH
COH             123876170011                Gas           Non Aggregation - OH   COH             115889520029                Gas           Non Aggregation - OH
COH             156329040018                Gas           Non Aggregation - OH   COH             135368010026                Gas           Non Aggregation - OH
COH             123876180019                Gas           Non Aggregation - OH   COH             134473120012                Gas           Non Aggregation - OH
COH             123822730025                Gas           Non Aggregation - OH   COH             158242090010                Gas           Non Aggregation - OH
COH             123876200023                Gas           Non Aggregation - OH   COH             190332230055                Gas           Non Aggregation - OH
COH             134079270026                Gas           Non Aggregation - OH   COH             130398370014                Gas           Non Aggregation - OH
COH             163662860011                Gas           Non Aggregation - OH   COH             190332230037                Gas           Non Aggregation - OH
COH             115090610078                Gas           Non Aggregation - OH   COH             124768630021                Gas           Non Aggregation - OH
COH             131681880051                Gas           Non Aggregation - OH   COH             170802210047                Gas           Non Aggregation - OH
COH             131681880042                Gas           Non Aggregation - OH   COH             177144840017                Gas           Non Aggregation - OH
COH             115090610069                Gas           Non Aggregation - OH   COH             158931740094                Gas           Non Aggregation - OH
COH             154595480015                Gas           Non Aggregation - OH   COH             150062130020                Gas           Non Aggregation - OH
COH             145706510021                Gas           Non Aggregation - OH   COH             149603810013                Gas           Non Aggregation - OH
VEDO            4002376362172205            Gas           Non Aggregation - OH   COH             157798750015                Gas           Non Aggregation - OH
VEDO            4001852422628886            Gas           Non Aggregation - OH   COH             191576000010                Gas           Non Aggregation - OH
VEDO            4002376362167810            Gas           Non Aggregation - OH   COH             131473490027                Gas           Non Aggregation - OH
VEDO            4001852422378270            Gas           Non Aggregation - OH   COH             122006660012                Gas           Non Aggregation - OH
VEDO            4004477772455772            Gas           Non Aggregation - OH   COH             122006650014                Gas           Non Aggregation - OH
VEDO            4002376362488568            Gas           Non Aggregation - OH   COH             122006640016                Gas           Non Aggregation - OH
VEDO            4002376362626212            Gas           Non Aggregation - OH   COH             122006620010                Gas           Non Aggregation - OH
VEDO            4001318942170787            Gas           Non Aggregation - OH   COH             122006610012                Gas           Non Aggregation - OH
VEDO            4001318942366475            Gas           Non Aggregation - OH   COH             122006630018                Gas           Non Aggregation - OH
VEDO            4001318942328971            Gas           Non Aggregation - OH   COH             122013760016                Gas           Non Aggregation - OH
VEDO            4001318942265267            Gas           Non Aggregation - OH   COH             122013390014                Gas           Non Aggregation - OH
VEDO            4001318942392393            Gas           Non Aggregation - OH   COH             122013750018                Gas           Non Aggregation - OH
VEDO            4015153862318694            Gas           Non Aggregation - OH   COH             124553740014                Gas           Non Aggregation - OH
VEDO            4004244412427339            Gas           Non Aggregation - OH   COH             134361840054                Gas           Non Aggregation - OH
VEDO            4001246482123194            Gas           Non Aggregation - OH   COH             123649690013                Gas           Non Aggregation - OH
VEDO            4001246482145620            Gas           Non Aggregation - OH   COH             110860370026                Gas           Non Aggregation - OH
VEDO            4001246482183435            Gas           Non Aggregation - OH   COH             195821100032                Gas           Non Aggregation - OH
VEDO            4001246482213929            Gas           Non Aggregation - OH   COH             170261740026                Gas           Non Aggregation - OH
VEDO            4001246482255333            Gas           Non Aggregation - OH   COH             160964770013                Gas           Non Aggregation - OH
VEDO            4001246482331657            Gas           Non Aggregation - OH   COH             157819930020                Gas           Non Aggregation - OH
VEDO            4002064882601990            Gas           Non Aggregation - OH   COH             115971990017                Gas           Non Aggregation - OH
VEDO            4002064882449324            Gas           Non Aggregation - OH   COH             166411020159                Gas           Non Aggregation - OH
VEDO            4002064882506110            Gas           Non Aggregation - OH   COH             118064030036                Gas           Non Aggregation - OH
VEDO            4002064882259536            Gas           Non Aggregation - OH   COH             127645980098                Gas           Non Aggregation - OH
VEDO            4002064882246200            Gas           Non Aggregation - OH   COH             150866040098                Gas           Non Aggregation - OH
VEDO            4002064882438495            Gas           Non Aggregation - OH   COH             114931900038                Gas           Non Aggregation - OH
VEDO            4002064882385255            Gas           Non Aggregation - OH   COH             146835610017                Gas           Non Aggregation - OH
VEDO            4002799182274882            Gas           Non Aggregation - OH   COH             119136090021                Gas           Non Aggregation - OH
VEDO            4002001822599598            Gas           Non Aggregation - OH   COH             125473240045                Gas           Non Aggregation - OH
VEDO            4001414622138857            Gas           Non Aggregation - OH   COH             117191780031                Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
VEDO            4003816992382096            Gas           Non Aggregation - OH   COH             143248430059                Gas           Non Aggregation - OH
VEDO            4002001822554848            Gas           Non Aggregation - OH   COH             137983630075                Gas           Non Aggregation - OH
VEDO            4005053652248354            Gas           Non Aggregation - OH   COH             156788820030                Gas           Non Aggregation - OH
VEDO            4001303782230581            Gas           Non Aggregation - OH   COH             142918470051                Gas           Non Aggregation - OH
VEDO            4001303782419002            Gas           Non Aggregation - OH   COH             131725210039                Gas           Non Aggregation - OH
DEO             6440800028061               Gas           Non Aggregation - OH   COH             129096000023                Gas           Non Aggregation - OH
DEO             1441500027864               Gas           Non Aggregation - OH   COH             135940680013                Gas           Non Aggregation - OH
DEO             3440800027723               Gas           Non Aggregation - OH   COH             109655770084                Gas           Non Aggregation - OH
DEO             6500035759097               Gas           Non Aggregation - OH   COH             127606730010                Gas           Non Aggregation - OH
DEO             2440800027578               Gas           Non Aggregation - OH   COH             124804850027                Gas           Non Aggregation - OH
DEO             1441500027859               Gas           Non Aggregation - OH   COH             171296180020                Gas           Non Aggregation - OH
DEO             3500020503580               Gas           Non Aggregation - OH   COH             151670180020                Gas           Non Aggregation - OH
DEO             6441900053872               Gas           Non Aggregation - OH   COH             149931970104                Gas           Non Aggregation - OH
DEO             1441900053813               Gas           Non Aggregation - OH   COH             164898570049                Gas           Non Aggregation - OH
DEO             3500009687344               Gas           Non Aggregation - OH   COH             108711090024                Gas           Non Aggregation - OH
DEO             3441900053847               Gas           Non Aggregation - OH   COH             122825260038                Gas           Non Aggregation - OH
DEO             7441900053854               Gas           Non Aggregation - OH   COH             167626450028                Gas           Non Aggregation - OH
DEO             7500009020158               Gas           Non Aggregation - OH   COH             126758210028                Gas           Non Aggregation - OH
DEO             7440500267549               Gas           Non Aggregation - OH   COH             139765430059                Gas           Non Aggregation - OH
DEO             2500009475511               Gas           Non Aggregation - OH   COH             167023480057                Gas           Non Aggregation - OH
DEO             0440600267484               Gas           Non Aggregation - OH   COH             117597900026                Gas           Non Aggregation - OH
DEO             2500031710165               Gas           Non Aggregation - OH   COH             197381460020                Gas           Non Aggregation - OH
DEO             7500027150805               Gas           Non Aggregation - OH   COH             124432740029                Gas           Non Aggregation - OH
DEO             2440100376070               Gas           Non Aggregation - OH   COH             149266000028                Gas           Non Aggregation - OH
DEO             2500044062260               Gas           Non Aggregation - OH   COH             188594580025                Gas           Non Aggregation - OH
DEO             8440100376068               Gas           Non Aggregation - OH   COH             140276580034                Gas           Non Aggregation - OH
DEO             2440100376008               Gas           Non Aggregation - OH   COH             122728670038                Gas           Non Aggregation - OH
DEO             1440100375926               Gas           Non Aggregation - OH   COH             159693390020                Gas           Non Aggregation - OH
DEO             3440100376051               Gas           Non Aggregation - OH   COH             146276380021                Gas           Non Aggregation - OH
DEO             5500029479534               Gas           Non Aggregation - OH   COH             169194990039                Gas           Non Aggregation - OH
DEO             3442100375976               Gas           Non Aggregation - OH   COH             133862400037                Gas           Non Aggregation - OH
DEO             3442100375981               Gas           Non Aggregation - OH   COH             139568650033                Gas           Non Aggregation - OH
DEO             1440100375911               Gas           Non Aggregation - OH   COH             165006210104                Gas           Non Aggregation - OH
DEO             3500042692804               Gas           Non Aggregation - OH   COH             143214480023                Gas           Non Aggregation - OH
DEO             2500044062186               Gas           Non Aggregation - OH   COH             162403050065                Gas           Non Aggregation - OH
DEO             2500035163267               Gas           Non Aggregation - OH   COH             163824450022                Gas           Non Aggregation - OH
DEO             4440200333116               Gas           Non Aggregation - OH   COH             143145960083                Gas           Non Aggregation - OH
DEO             7500005253283               Gas           Non Aggregation - OH   COH             120175850026                Gas           Non Aggregation - OH
DEO             3440900624098               Gas           Non Aggregation - OH   COH             120175850044                Gas           Non Aggregation - OH
DEO             9440900453043               Gas           Non Aggregation - OH   COH             124466780075                Gas           Non Aggregation - OH
DEO             2440900453068               Gas           Non Aggregation - OH   COH             161313470041                Gas           Non Aggregation - OH
DEO             0440900453104               Gas           Non Aggregation - OH   COH             132582330037                Gas           Non Aggregation - OH
DEO             9440900453057               Gas           Non Aggregation - OH   COH             116675300027                Gas           Non Aggregation - OH
DEO             0440900453015               Gas           Non Aggregation - OH   COH             172476700027                Gas           Non Aggregation - OH
DEO             7440900452989               Gas           Non Aggregation - OH   COH             174236500025                Gas           Non Aggregation - OH
DEO             5441200606307               Gas           Non Aggregation - OH   COH             124865710028                Gas           Non Aggregation - OH
DEO             0441400086789               Gas           Non Aggregation - OH   COH             186145710039                Gas           Non Aggregation - OH
DEO             0441300086770               Gas           Non Aggregation - OH   COH             189144860288                Gas           Non Aggregation - OH
DEO             0500031468414               Gas           Non Aggregation - OH   COH             189998520100                Gas           Non Aggregation - OH
DEO             5500066301876               Gas           Non Aggregation - OH   COH             162702290025                Gas           Non Aggregation - OH
DEO             5180000907887               Gas           Non Aggregation - OH   COH             175208270022                Gas           Non Aggregation - OH
COH             123849650124                Gas           Non Aggregation - OH   COH             173842220048                Gas           Non Aggregation - OH
VEDO            4001340352630045            Gas           Non Aggregation - OH   COH             191788700032                Gas           Non Aggregation - OH
VEDO            4001198442126897            Gas           Non Aggregation - OH   COH             124560300011                Gas           Non Aggregation - OH
VEDO            4002941552297726            Gas           Non Aggregation - OH   COH             124224440014                Gas           Non Aggregation - OH
COH             199955230010                Gas           Non Aggregation - OH   COH             124560300020                Gas           Non Aggregation - OH
COH             191851850027                Gas           Non Aggregation - OH   COH             175478050036                Gas           Non Aggregation - OH
COH             186005900026                Gas           Non Aggregation - OH   COH             122223170024                Gas           Non Aggregation - OH
COH             136779520018                Gas           Non Aggregation - OH   COH             109839840034                Gas           Non Aggregation - OH
COH             112832930025                Gas           Non Aggregation - OH   COH             125488760027                Gas           Non Aggregation - OH
COH             167991620056                Gas           Non Aggregation - OH   COH             125488750010                Gas           Non Aggregation - OH
COH             189531840101                Gas           Non Aggregation - OH   COH             114742660021                Gas           Non Aggregation - OH
COH             129860530825                Gas           Non Aggregation - OH   COH             124328610027                Gas           Non Aggregation - OH
DEO             0500050989785               Gas           Non Aggregation - OH   COH             130492410033                Gas           Non Aggregation - OH
COH             139200150563                Gas           Non Aggregation - OH   COH             196494570010                Gas           Non Aggregation - OH
COH             142667890010                Gas           Non Aggregation - OH   COH             142312050026                Gas           Non Aggregation - OH
COH             123067750032                Gas           Non Aggregation - OH   COH             166709420010                Gas           Non Aggregation - OH
COH             113601600068                Gas           Non Aggregation - OH   COH             191469480035                Gas           Non Aggregation - OH
COH             122437590041                Gas           Non Aggregation - OH   COH             205161510015                Gas           Non Aggregation - OH
COH             136348010027                Gas           Non Aggregation - OH   COH             124559730014                Gas           Non Aggregation - OH
COH             124166410014                Gas           Non Aggregation - OH   COH             122450570029                Gas           Non Aggregation - OH
DEO             8180001971568               Gas           Non Aggregation - OH   COH             200955480032                Gas           Non Aggregation - OH
VEDO            4015862352289317            Gas           Non Aggregation - OH   COH             127393040027                Gas           Non Aggregation - OH
COH             111168060046                Gas           Non Aggregation - OH   COH             153157150013                Gas           Non Aggregation - OH
COH             111141440015                Gas           Non Aggregation - OH   COH             134070020017                Gas           Non Aggregation - OH
COH             114824220010                Gas           Non Aggregation - OH   COH             113581770021                Gas           Non Aggregation - OH
COH             120570250015                Gas           Non Aggregation - OH   COH             113581770030                Gas           Non Aggregation - OH
COH             137886440017                Gas           Non Aggregation - OH   DEO             7440904661438               Gas           Non Aggregation - OH
COH             150250750012                Gas           Non Aggregation - OH   DEO             8421400388233               Gas           Non Aggregation - OH
COH             134781110020                Gas           Non Aggregation - OH   DEO             8421400388229               Gas           Non Aggregation - OH
COH             120570280019                Gas           Non Aggregation - OH   DEO             7440300114635               Gas           Non Aggregation - OH
DEO             2500053324163               Gas           Non Aggregation - OH   DEO             2421400388259               Gas           Non Aggregation - OH
VEDO            4003419712338883            Gas           Non Aggregation - OH   DEO             1500040797218               Gas           Non Aggregation - OH
VEDO            4003419712630471            Gas           Non Aggregation - OH   DEO             0500025665380               Gas           Non Aggregation - OH
DUKE            0490085721                  Gas           Non Aggregation - OH   DEO             2500032309584               Gas           Non Aggregation - OH
COH             144727390211                Gas           Non Aggregation - OH   DEO             3420501984151               Gas           Non Aggregation - OH
VEDO            4002440482628752            Gas           Non Aggregation - OH   DEO             3420501984165               Gas           Non Aggregation - OH
VEDO            4002360582231015            Gas           Non Aggregation - OH   DEO             3420501984170               Gas           Non Aggregation - OH
COH             148680610050                Gas           Non Aggregation - OH   DEO             2500010432285               Gas           Non Aggregation - OH
COH             112843580035                Gas           Non Aggregation - OH   DEO             7440702202628               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             130184690038                Gas           Non Aggregation - OH   DEO             8440602120535               Gas           Non Aggregation - OH
COH             112843580026                Gas           Non Aggregation - OH   DEO             8500042514639               Gas           Non Aggregation - OH
COH             142689050010                Gas           Non Aggregation - OH   DEO             9500036426507               Gas           Non Aggregation - OH
COH             143586420019                Gas           Non Aggregation - OH   DEO             0500023741976               Gas           Non Aggregation - OH
COH             112843580053                Gas           Non Aggregation - OH   DEO             2500031072655               Gas           Non Aggregation - OH
COH             175404810013                Gas           Non Aggregation - OH   DEO             3440802772780               Gas           Non Aggregation - OH
VEDO            4015301702222269            Gas           Non Aggregation - OH   DEO             6500010816672               Gas           Non Aggregation - OH
VEDO            4015301702390422            Gas           Non Aggregation - OH   DEO             9500025634706               Gas           Non Aggregation - OH
DUKE            2840214403                  Gas           Non Aggregation - OH   DEO             9500036635281               Gas           Non Aggregation - OH
DUKE            2350216103                  Gas           Non Aggregation - OH   DEO             5500034366838               Gas           Non Aggregation - OH
DUKE            7060206903                  Gas           Non Aggregation - OH   DEO             4500033789821               Gas           Non Aggregation - OH
DUKE            3650206102                  Gas           Non Aggregation - OH   DEO             5441507883661               Gas           Non Aggregation - OH
DUKE            9860209002                  Gas           Non Aggregation - OH   DEO             3500019171992               Gas           Non Aggregation - OH
DUKE            2450215703                  Gas           Non Aggregation - OH   DEO             1500036826968               Gas           Non Aggregation - OH
DUKE            9050382701                  Gas           Non Aggregation - OH   DEO             4441601476270               Gas           Non Aggregation - OH
VEDO            4001599982375477            Gas           Non Aggregation - OH   DEO             8420803379360               Gas           Non Aggregation - OH
COH             187355680058                Gas           Non Aggregation - OH   DEO             4500020064723               Gas           Non Aggregation - OH
COH             187355680067                Gas           Non Aggregation - OH   DEO             9500035539163               Gas           Non Aggregation - OH
COH             112898190050                Gas           Non Aggregation - OH   DEO             4500003153884               Gas           Non Aggregation - OH
COH             190271960034                Gas           Non Aggregation - OH   DEO             1500003757300               Gas           Non Aggregation - OH
COH             168401440016                Gas           Non Aggregation - OH   DEO             4500002441193               Gas           Non Aggregation - OH
COH             198302330013                Gas           Non Aggregation - OH   DEO             9442107691515               Gas           Non Aggregation - OH
COH             195540560032                Gas           Non Aggregation - OH   DEO             0440302775872               Gas           Non Aggregation - OH
COH             191631770075                Gas           Non Aggregation - OH   DEO             2421400388264               Gas           Non Aggregation - OH
COH             112669810125                Gas           Non Aggregation - OH   DEO             5421400315918               Gas           Non Aggregation - OH
COH             170558260028                Gas           Non Aggregation - OH   DEO             3500015628586               Gas           Non Aggregation - OH
COH             160521940533                Gas           Non Aggregation - OH   DEO             5500017003063               Gas           Non Aggregation - OH
COH             160521940435                Gas           Non Aggregation - OH   DEO             6421400416347               Gas           Non Aggregation - OH
COH             160521940113                Gas           Non Aggregation - OH   DEO             3420100399851               Gas           Non Aggregation - OH
COH             160521940079                Gas           Non Aggregation - OH   DEO             1421102129600               Gas           Non Aggregation - OH
COH             160521941701                Gas           Non Aggregation - OH   DEO             9500024277419               Gas           Non Aggregation - OH
COH             160521941372                Gas           Non Aggregation - OH   DEO             4140000003955               Gas           Non Aggregation - OH
COH             160521941078                Gas           Non Aggregation - OH   DEO             5441400045457               Gas           Non Aggregation - OH
COH             160521941096                Gas           Non Aggregation - OH   DEO             3500006783374               Gas           Non Aggregation - OH
COH             160521940775                Gas           Non Aggregation - OH   DEO             2442107040179               Gas           Non Aggregation - OH
COH             160521940417                Gas           Non Aggregation - OH   DEO             8441600567459               Gas           Non Aggregation - OH
COH             160521941729                Gas           Non Aggregation - OH   DEO             2441000089807               Gas           Non Aggregation - OH
COH             160521941390                Gas           Non Aggregation - OH   DEO             4440606282440               Gas           Non Aggregation - OH
COH             160521940631                Gas           Non Aggregation - OH   DEO             4500027641960               Gas           Non Aggregation - OH
COH             160521940695                Gas           Non Aggregation - OH   DEO             3500043108185               Gas           Non Aggregation - OH
COH             160521940711                Gas           Non Aggregation - OH   DEO             1422104930421               Gas           Non Aggregation - OH
COH             160521940757                Gas           Non Aggregation - OH   DEO             8500015790072               Gas           Non Aggregation - OH
COH             160521941747                Gas           Non Aggregation - OH   DEO             7420301400662               Gas           Non Aggregation - OH
COH             160521941881                Gas           Non Aggregation - OH   DEO             7500033498365               Gas           Non Aggregation - OH
COH             160521941907                Gas           Non Aggregation - OH   DEO             8421300334382               Gas           Non Aggregation - OH
COH             160510240211                Gas           Non Aggregation - OH   DEO             0421204047948               Gas           Non Aggregation - OH
COH             160521941916                Gas           Non Aggregation - OH   DEO             4500005744624               Gas           Non Aggregation - OH
COH             160510240177                Gas           Non Aggregation - OH   DEO             8500019859440               Gas           Non Aggregation - OH
COH             160510240186                Gas           Non Aggregation - OH   DEO             7500027147813               Gas           Non Aggregation - OH
COH             160510240168                Gas           Non Aggregation - OH   DEO             0420106146449               Gas           Non Aggregation - OH
COH             160510240195                Gas           Non Aggregation - OH   DEO             0421901220798               Gas           Non Aggregation - OH
DEO             0500011978766               Gas           Non Aggregation - OH   DEO             5500035961168               Gas           Non Aggregation - OH
DEO             0500011975172               Gas           Non Aggregation - OH   DEO             6400000178799               Gas           Non Aggregation - OH
DEO             2500009159915               Gas           Non Aggregation - OH   DEO             9500018945790               Gas           Non Aggregation - OH
DEO             0500014915379               Gas           Non Aggregation - OH   DEO             5420501230121               Gas           Non Aggregation - OH
DEO             0500013848478               Gas           Non Aggregation - OH   DEO             8500028704953               Gas           Non Aggregation - OH
DEO             0500011988140               Gas           Non Aggregation - OH   DEO             4500036635837               Gas           Non Aggregation - OH
DEO             0500011986004               Gas           Non Aggregation - OH   DEO             8441406353129               Gas           Non Aggregation - OH
DEO             0500013923939               Gas           Non Aggregation - OH   DEO             6441702124585               Gas           Non Aggregation - OH
DEO             0500014715245               Gas           Non Aggregation - OH   DEO             8500035968946               Gas           Non Aggregation - OH
DEO             1500008881446               Gas           Non Aggregation - OH   DEO             3500011030984               Gas           Non Aggregation - OH
DEO             0500013848622               Gas           Non Aggregation - OH   DEO             7421301646825               Gas           Non Aggregation - OH
DEO             0500011980722               Gas           Non Aggregation - OH   DEO             2421504315700               Gas           Non Aggregation - OH
DEO             0500013855600               Gas           Non Aggregation - OH   DEO             7500008818638               Gas           Non Aggregation - OH
DEO             0500011982427               Gas           Non Aggregation - OH   DEO             3421204266816               Gas           Non Aggregation - OH
DEO             0500011984436               Gas           Non Aggregation - OH   DEO             5500036577683               Gas           Non Aggregation - OH
DEO             0500011987715               Gas           Non Aggregation - OH   DEO             6441705149315               Gas           Non Aggregation - OH
DEO             0500011983275               Gas           Non Aggregation - OH   DEO             3140000086751               Gas           Non Aggregation - OH
DEO             0500063655437               Gas           Non Aggregation - OH   DEO             8421103187896               Gas           Non Aggregation - OH
DEO             0500018236179               Gas           Non Aggregation - OH   DEO             3421503485722               Gas           Non Aggregation - OH
DEO             0500016466353               Gas           Non Aggregation - OH   DEO             0421601956586               Gas           Non Aggregation - OH
DEO             0500029692634               Gas           Non Aggregation - OH   DEO             1500011287374               Gas           Non Aggregation - OH
DEO             0500029692667               Gas           Non Aggregation - OH   DEO             0441705482385               Gas           Non Aggregation - OH
DEO             0500030471795               Gas           Non Aggregation - OH   DEO             8500015926265               Gas           Non Aggregation - OH
DEO             0500029693302               Gas           Non Aggregation - OH   DEO             6420104393805               Gas           Non Aggregation - OH
DEO             0500029693374               Gas           Non Aggregation - OH   DEO             2441204396452               Gas           Non Aggregation - OH
DEO             0500029693566               Gas           Non Aggregation - OH   DEO             4500017729766               Gas           Non Aggregation - OH
DEO             0500030224187               Gas           Non Aggregation - OH   DEO             6500032258667               Gas           Non Aggregation - OH
DEO             0500029694287               Gas           Non Aggregation - OH   DEO             1441703972819               Gas           Non Aggregation - OH
DEO             0500029694432               Gas           Non Aggregation - OH   DEO             5421004222435               Gas           Non Aggregation - OH
DEO             0500029694484               Gas           Non Aggregation - OH   DEO             7500031033474               Gas           Non Aggregation - OH
DEO             0500029694535               Gas           Non Aggregation - OH   DEO             0420603759925               Gas           Non Aggregation - OH
DEO             0500029706711               Gas           Non Aggregation - OH   DEO             3441605377761               Gas           Non Aggregation - OH
DEO             0500029706745               Gas           Non Aggregation - OH   DEO             9420900515776               Gas           Non Aggregation - OH
DEO             0500029706778               Gas           Non Aggregation - OH   DEO             6500017450659               Gas           Non Aggregation - OH
DEO             0500029706800               Gas           Non Aggregation - OH   DEO             6500006153667               Gas           Non Aggregation - OH
DEO             0500029706834               Gas           Non Aggregation - OH   DEO             6442005419348               Gas           Non Aggregation - OH
DEO             0500029706872               Gas           Non Aggregation - OH   DEO             5120000183950               Gas           Non Aggregation - OH
DEO             0500029707113               Gas           Non Aggregation - OH   DEO             5440506777812               Gas           Non Aggregation - OH
DEO             0500030226233               Gas           Non Aggregation - OH   DEO             1421000457559               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DEO             0500036450962               Gas           Non Aggregation - OH   DEO             6420805905979               Gas           Non Aggregation - OH
DEO             0500032420916               Gas           Non Aggregation - OH   DEO             4421903640337               Gas           Non Aggregation - OH
DEO             0500032420987               Gas           Non Aggregation - OH   DEO             9500009284168               Gas           Non Aggregation - OH
DEO             0500032421036               Gas           Non Aggregation - OH   DEO             3120000123027               Gas           Non Aggregation - OH
DEO             7500065372333               Gas           Non Aggregation - OH   DEO             9500020908082               Gas           Non Aggregation - OH
DEO             7500061355755               Gas           Non Aggregation - OH   DEO             5420103494634               Gas           Non Aggregation - OH
DEO             0500063210428               Gas           Non Aggregation - OH   DEO             8500033275061               Gas           Non Aggregation - OH
DEO             0500067455976               Gas           Non Aggregation - OH   DEO             4500003425533               Gas           Non Aggregation - OH
DEO             0180000431458               Gas           Non Aggregation - OH   DEO             4420205461050               Gas           Non Aggregation - OH
COH             122150470017                Gas           Non Aggregation - OH   DEO             4420606096743               Gas           Non Aggregation - OH
COH             122067320186                Gas           Non Aggregation - OH   DEO             8421801104180               Gas           Non Aggregation - OH
COH             122067320211                Gas           Non Aggregation - OH   DEO             6500031665327               Gas           Non Aggregation - OH
COH             145982970021                Gas           Non Aggregation - OH   DEO             2440001698250               Gas           Non Aggregation - OH
COH             145982970058                Gas           Non Aggregation - OH   DEO             5440106429873               Gas           Non Aggregation - OH
COH             145982970067                Gas           Non Aggregation - OH   DEO             5440403770968               Gas           Non Aggregation - OH
COH             111653020081                Gas           Non Aggregation - OH   DEO             5421001761130               Gas           Non Aggregation - OH
VEDO            4018835022627222            Gas           Non Aggregation - OH   DEO             7400000027490               Gas           Non Aggregation - OH
COH             146097910029                Gas           Non Aggregation - OH   DEO             7442006993640               Gas           Non Aggregation - OH
COH             146097910010                Gas           Non Aggregation - OH   DEO             9440901015584               Gas           Non Aggregation - OH
VEDO            4015790072591552            Gas           Non Aggregation - OH   DEO             4441702590678               Gas           Non Aggregation - OH
DEO             0500065664843               Gas           Non Aggregation - OH   DEO             3421302289615               Gas           Non Aggregation - OH
COH             201077000015                Gas           Non Aggregation - OH   DEO             6500006594835               Gas           Non Aggregation - OH
COH             200712430018                Gas           Non Aggregation - OH   DEO             8420505266929               Gas           Non Aggregation - OH
VEDO            4001571992469099            Gas           Non Aggregation - OH   DEO             6500024472732               Gas           Non Aggregation - OH
VEDO            4001571992531402            Gas           Non Aggregation - OH   DEO             1441808987349               Gas           Non Aggregation - OH
VEDO            4001571992531403            Gas           Non Aggregation - OH   DEO             8441600612777               Gas           Non Aggregation - OH
VEDO            4001571992592627            Gas           Non Aggregation - OH   DEO             9500019423400               Gas           Non Aggregation - OH
VEDO            4001571992627852            Gas           Non Aggregation - OH   DEO             8500031457618               Gas           Non Aggregation - OH
VEDO            4001571992640256            Gas           Non Aggregation - OH   DEO             9421702231741               Gas           Non Aggregation - OH
VEDO            4001024462643089            Gas           Non Aggregation - OH   DEO             0420104911549               Gas           Non Aggregation - OH
VEDO            4001024462644518            Gas           Non Aggregation - OH   DEO             3421802115999               Gas           Non Aggregation - OH
COH             131761060179                Gas           Non Aggregation - OH   DEO             7420205655002               Gas           Non Aggregation - OH
COH             131761060080                Gas           Non Aggregation - OH   DEO             8500002613667               Gas           Non Aggregation - OH
COH             143931230016                Gas           Non Aggregation - OH   DEO             8440102082091               Gas           Non Aggregation - OH
COH             150469950017                Gas           Non Aggregation - OH   DEO             8440506993881               Gas           Non Aggregation - OH
COH             112540150073                Gas           Non Aggregation - OH   DEO             5440208189263               Gas           Non Aggregation - OH
COH             162001540019                Gas           Non Aggregation - OH   DEO             6441507155015               Gas           Non Aggregation - OH
COH             162001540046                Gas           Non Aggregation - OH   DEO             7500007960523               Gas           Non Aggregation - OH
COH             162001540028                Gas           Non Aggregation - OH   DEO             8440207686859               Gas           Non Aggregation - OH
COH             162001540037                Gas           Non Aggregation - OH   DEO             9441105222903               Gas           Non Aggregation - OH
COH             124166400025                Gas           Non Aggregation - OH   DEO             1421703175392               Gas           Non Aggregation - OH
VEDO            4003530552527939            Gas           Non Aggregation - OH   DEO             4500024426067               Gas           Non Aggregation - OH
COH             197509630022                Gas           Non Aggregation - OH   DEO             8440402133608               Gas           Non Aggregation - OH
COH             198687780015                Gas           Non Aggregation - OH   DEO             6500033608126               Gas           Non Aggregation - OH
COH             115842260013                Gas           Non Aggregation - OH   DEO             6421205867035               Gas           Non Aggregation - OH
COH             111646330045                Gas           Non Aggregation - OH   DEO             7500034688125               Gas           Non Aggregation - OH
COH             111646330054                Gas           Non Aggregation - OH   DEO             6440704836383               Gas           Non Aggregation - OH
COH             111646330027                Gas           Non Aggregation - OH   DEO             2500028359504               Gas           Non Aggregation - OH
COH             111646330036                Gas           Non Aggregation - OH   DEO             9500029899741               Gas           Non Aggregation - OH
DEO             6500046880517               Gas           Non Aggregation - OH   DEO             5440208516095               Gas           Non Aggregation - OH
DEO             6500049125892               Gas           Non Aggregation - OH   DEO             6500012679528               Gas           Non Aggregation - OH
DEO             6500049125939               Gas           Non Aggregation - OH   DEO             6441706598504               Gas           Non Aggregation - OH
DEO             6500049126030               Gas           Non Aggregation - OH   DEO             3500036621161               Gas           Non Aggregation - OH
DEO             6500049126044               Gas           Non Aggregation - OH   DEO             2500004196684               Gas           Non Aggregation - OH
DEO             6500049126063               Gas           Non Aggregation - OH   DEO             8420303837502               Gas           Non Aggregation - OH
DEO             6500049126114               Gas           Non Aggregation - OH   DEO             6441306592198               Gas           Non Aggregation - OH
DEO             6500049126148               Gas           Non Aggregation - OH   DEO             7500004564536               Gas           Non Aggregation - OH
DEO             6500049127559               Gas           Non Aggregation - OH   DEO             0422103980187               Gas           Non Aggregation - OH
DEO             6500049127600               Gas           Non Aggregation - OH   DEO             2500025083083               Gas           Non Aggregation - OH
DEO             6500049127629               Gas           Non Aggregation - OH   DEO             8500047379691               Gas           Non Aggregation - OH
DEO             6500049127686               Gas           Non Aggregation - OH   DEO             9500017693526               Gas           Non Aggregation - OH
DEO             6500049127756               Gas           Non Aggregation - OH   DEO             0500036336363               Gas           Non Aggregation - OH
DEO             6500049133553               Gas           Non Aggregation - OH   DEO             8500034239417               Gas           Non Aggregation - OH
DEO             6500049133572               Gas           Non Aggregation - OH   DEO             4420601874725               Gas           Non Aggregation - OH
DEO             6500049133619               Gas           Non Aggregation - OH   DEO             8420601597475               Gas           Non Aggregation - OH
DEO             6500049133623               Gas           Non Aggregation - OH   DEO             6500017352970               Gas           Non Aggregation - OH
DEO             6500049133642               Gas           Non Aggregation - OH   DEO             4422103726372               Gas           Non Aggregation - OH
DEO             6500049211497               Gas           Non Aggregation - OH   DEO             7420204764593               Gas           Non Aggregation - OH
DEO             6500049211500               Gas           Non Aggregation - OH   DEO             0500012596984               Gas           Non Aggregation - OH
DEO             6500049211515               Gas           Non Aggregation - OH   DEO             5441805001430               Gas           Non Aggregation - OH
DEO             6500049211529               Gas           Non Aggregation - OH   DEO             2500031124238               Gas           Non Aggregation - OH
DEO             6500049211534               Gas           Non Aggregation - OH   DEO             6420900846428               Gas           Non Aggregation - OH
DUKE            6610071539                  Gas           Non Aggregation - OH   DEO             4421805388566               Gas           Non Aggregation - OH
COH             117415490027                Gas           Non Aggregation - OH   DEO             4500019834409               Gas           Non Aggregation - OH
COH             165929480013                Gas           Non Aggregation - OH   DEO             7500024387365               Gas           Non Aggregation - OH
COH             199535220012                Gas           Non Aggregation - OH   DEO             4500022968541               Gas           Non Aggregation - OH
COH             199535220030                Gas           Non Aggregation - OH   DEO             2421602651849               Gas           Non Aggregation - OH
COH             161277250045                Gas           Non Aggregation - OH   DEO             5500027093825               Gas           Non Aggregation - OH
COH             119220330110                Gas           Non Aggregation - OH   DEO             5500026701466               Gas           Non Aggregation - OH
DEO             3500051890327               Gas           Non Aggregation - OH   DEO             5441705612260               Gas           Non Aggregation - OH
DEO             7441600213789               Gas           Non Aggregation - OH   DEO             9500020454143               Gas           Non Aggregation - OH
DEO             3440400213732               Gas           Non Aggregation - OH   DEO             7421500208699               Gas           Non Aggregation - OH
DEO             3440600213765               Gas           Non Aggregation - OH   DEO             2440900878576               Gas           Non Aggregation - OH
DEO             3422100162915               Gas           Non Aggregation - OH   DEO             4500025615267               Gas           Non Aggregation - OH
DEO             9440600086121               Gas           Non Aggregation - OH   DEO             6500037549180               Gas           Non Aggregation - OH
DEO             0500011085723               Gas           Non Aggregation - OH   DEO             5441907505691               Gas           Non Aggregation - OH
DEO             2500031546791               Gas           Non Aggregation - OH   DEO             4420206288230               Gas           Non Aggregation - OH
DEO             2500034548399               Gas           Non Aggregation - OH   DEO             6421501757631               Gas           Non Aggregation - OH
DEO             7500034511029               Gas           Non Aggregation - OH   DEO             6500006349030               Gas           Non Aggregation - OH
DEO             7500035564533               Gas           Non Aggregation - OH   DEO             6441901450829               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DEO             2500035956817               Gas           Non Aggregation - OH   DEO             5500031656589               Gas           Non Aggregation - OH
DEO             0500062944974               Gas           Non Aggregation - OH   DEO             4440207702357               Gas           Non Aggregation - OH
DEO             7180002979593               Gas           Non Aggregation - OH   DEO             1441707680006               Gas           Non Aggregation - OH
COH             112309590026                Gas           Non Aggregation - OH   DEO             7441403977047               Gas           Non Aggregation - OH
DEO             7180005466111               Gas           Non Aggregation - OH   DEO             4500032711118               Gas           Non Aggregation - OH
DEO             7500004075889               Gas           Non Aggregation - OH   DEO             4500019350556               Gas           Non Aggregation - OH
DEO             8180005335910               Gas           Non Aggregation - OH   DEO             7500013834989               Gas           Non Aggregation - OH
COH             114768150015                Gas           Non Aggregation - OH   DEO             2500018601976               Gas           Non Aggregation - OH
COH             117222170014                Gas           Non Aggregation - OH   DEO             0421506706068               Gas           Non Aggregation - OH
COH             111076900026                Gas           Non Aggregation - OH   DEO             9441503503900               Gas           Non Aggregation - OH
COH             113588040011                Gas           Non Aggregation - OH   DEO             2500007235460               Gas           Non Aggregation - OH
DEO             9500002182777               Gas           Non Aggregation - OH   DEO             4500012772468               Gas           Non Aggregation - OH
DEO             9500002182763               Gas           Non Aggregation - OH   DEO             6422104513043               Gas           Non Aggregation - OH
DEO             9500002182758               Gas           Non Aggregation - OH   DEO             8421100149773               Gas           Non Aggregation - OH
DEO             9500002182739               Gas           Non Aggregation - OH   DEO             4500037532435               Gas           Non Aggregation - OH
COH             188509940144                Gas           Non Aggregation - OH   DEO             4442106619177               Gas           Non Aggregation - OH
COH             143777450018                Gas           Non Aggregation - OH   DEO             0440506154117               Gas           Non Aggregation - OH
COH             143777450027                Gas           Non Aggregation - OH   DEO             7500037208211               Gas           Non Aggregation - OH
COH             143777450036                Gas           Non Aggregation - OH   DEO             3500033722193               Gas           Non Aggregation - OH
COH             143777450045                Gas           Non Aggregation - OH   DEO             0500002224685               Gas           Non Aggregation - OH
DEO             4441200133470               Gas           Non Aggregation - OH   DEO             8500017622077               Gas           Non Aggregation - OH
COH             133125750036                Gas           Non Aggregation - OH   DEO             0500010550441               Gas           Non Aggregation - OH
DEO             6440706173384               Gas           Non Aggregation - OH   DEO             2500037151371               Gas           Non Aggregation - OH
DUKE            6580387902                  Gas           Non Aggregation - OH   DEO             1420504417297               Gas           Non Aggregation - OH
COH             146204800014                Gas           Non Aggregation - OH   DEO             0421803206672               Gas           Non Aggregation - OH
COH             110594900029                Gas           Non Aggregation - OH   DEO             3421000161051               Gas           Non Aggregation - OH
COH             112824310022                Gas           Non Aggregation - OH   DEO             5421306678116               Gas           Non Aggregation - OH
COH             122632710096                Gas           Non Aggregation - OH   DEO             0440201131148               Gas           Non Aggregation - OH
COH             189589790165                Gas           Non Aggregation - OH   DEO             9500034482655               Gas           Non Aggregation - OH
COH             189589790085                Gas           Non Aggregation - OH   DEO             1500032605001               Gas           Non Aggregation - OH
VEDO            4019004692489924            Gas           Non Aggregation - OH   DEO             3500037700606               Gas           Non Aggregation - OH
COH             202932990013                Gas           Non Aggregation - OH   DEO             2422000275475               Gas           Non Aggregation - OH
COH             200347990016                Gas           Non Aggregation - OH   DEO             8422000029229               Gas           Non Aggregation - OH
COH             125474440041                Gas           Non Aggregation - OH   DEO             3421800461240               Gas           Non Aggregation - OH
COH             125474440050                Gas           Non Aggregation - OH   DEO             2500023558102               Gas           Non Aggregation - OH
COH             125474440096                Gas           Non Aggregation - OH   DEO             9421800029203               Gas           Non Aggregation - OH
COH             125474370091                Gas           Non Aggregation - OH   DEO             9420405460186               Gas           Non Aggregation - OH
COH             125474390033                Gas           Non Aggregation - OH   DEO             1500002478811               Gas           Non Aggregation - OH
COH             162909710037                Gas           Non Aggregation - OH   DEO             1440505082637               Gas           Non Aggregation - OH
COH             201266550019                Gas           Non Aggregation - OH   DEO             7500025694435               Gas           Non Aggregation - OH
COH             199192030010                Gas           Non Aggregation - OH   DEO             2441701414604               Gas           Non Aggregation - OH
COH             200874460038                Gas           Non Aggregation - OH   DEO             8421901024954               Gas           Non Aggregation - OH
COH             142861040034                Gas           Non Aggregation - OH   DEO             7500013516970               Gas           Non Aggregation - OH
COH             123799880025                Gas           Non Aggregation - OH   DEO             0500033949105               Gas           Non Aggregation - OH
DUKE            2880210002                  Gas           Non Aggregation - OH   DEO             8440707400089               Gas           Non Aggregation - OH
DEO             0500055251329               Gas           Non Aggregation - OH   DEO             2421605717424               Gas           Non Aggregation - OH
DUKE            3590205601                  Gas           Non Aggregation - OH   DEO             2441800375565               Gas           Non Aggregation - OH
DUKE            2310029320                  Gas           Non Aggregation - OH   DEO             4500027215799               Gas           Non Aggregation - OH
DUKE            1310029320                  Gas           Non Aggregation - OH   DEO             7440604594893               Gas           Non Aggregation - OH
DUKE            8120205601                  Gas           Non Aggregation - OH   DEO             0441507463928               Gas           Non Aggregation - OH
DUKE            3740211402                  Gas           Non Aggregation - OH   DEO             0500012051417               Gas           Non Aggregation - OH
DUKE            0720022520                  Gas           Non Aggregation - OH   DEO             0500032003658               Gas           Non Aggregation - OH
DUKE            5280028720                  Gas           Non Aggregation - OH   DEO             3441907200518               Gas           Non Aggregation - OH
DUKE            2280028721                  Gas           Non Aggregation - OH   DEO             6441107367460               Gas           Non Aggregation - OH
DUKE            3280028720                  Gas           Non Aggregation - OH   DEO             4500034054397               Gas           Non Aggregation - OH
DUKE            6700050720                  Gas           Non Aggregation - OH   DEO             3420602409777               Gas           Non Aggregation - OH
DUKE            5700050720                  Gas           Non Aggregation - OH   DEO             9420905523711               Gas           Non Aggregation - OH
DUKE            1780351101                  Gas           Non Aggregation - OH   DEO             3500022165000               Gas           Non Aggregation - OH
DUKE            4610079220                  Gas           Non Aggregation - OH   DEO             5440505442264               Gas           Non Aggregation - OH
DUKE            5970070620                  Gas           Non Aggregation - OH   DEO             6500025439697               Gas           Non Aggregation - OH
DUKE            9380042320                  Gas           Non Aggregation - OH   DEO             6500025439734               Gas           Non Aggregation - OH
DUKE            0310205001                  Gas           Non Aggregation - OH   DEO             2500031237041               Gas           Non Aggregation - OH
DUKE            1480042320                  Gas           Non Aggregation - OH   DEO             1500031253641               Gas           Non Aggregation - OH
DUKE            7330205401                  Gas           Non Aggregation - OH   DEO             5440304135213               Gas           Non Aggregation - OH
VEDO            4001519512148702            Gas           Non Aggregation - OH   DEO             8440805579850               Gas           Non Aggregation - OH
VEDO            4001650342161317            Gas           Non Aggregation - OH   DEO             7420401948516               Gas           Non Aggregation - OH
COH             196951270013                Gas           Non Aggregation - OH   DEO             7441607512540               Gas           Non Aggregation - OH
COH             199956270010                Gas           Non Aggregation - OH   DEO             0500020419035               Gas           Non Aggregation - OH
COH             112786230021                Gas           Non Aggregation - OH   DEO             5421806555091               Gas           Non Aggregation - OH
COH             151326870033                Gas           Non Aggregation - OH   DEO             1500023333014               Gas           Non Aggregation - OH
COH             123849650106                Gas           Non Aggregation - OH   DEO             8440301890963               Gas           Non Aggregation - OH
COH             123849650115                Gas           Non Aggregation - OH   DEO             3500031627164               Gas           Non Aggregation - OH
COH             160521942022                Gas           Non Aggregation - OH   DEO             7500036550349               Gas           Non Aggregation - OH
COH             160521942031                Gas           Non Aggregation - OH   DEO             3500037296286               Gas           Non Aggregation - OH
COH             160521942004                Gas           Non Aggregation - OH   DEO             2500009105965               Gas           Non Aggregation - OH
COH             202488290077                Gas           Non Aggregation - OH   DEO             1440807158344               Gas           Non Aggregation - OH
DEO             7441600435884               Gas           Non Aggregation - OH   DEO             3441603862081               Gas           Non Aggregation - OH
DEO             7441600435879               Gas           Non Aggregation - OH   DEO             6441001876066               Gas           Non Aggregation - OH
DEO             5500013830673               Gas           Non Aggregation - OH   DEO             6441008759852               Gas           Non Aggregation - OH
COH             115009910021                Gas           Non Aggregation - OH   DEO             2440708994902               Gas           Non Aggregation - OH
COH             115009920029                Gas           Non Aggregation - OH   DEO             9500038205950               Gas           Non Aggregation - OH
VEDO            4001200022140442            Gas           Non Aggregation - OH   DEO             1420105586364               Gas           Non Aggregation - OH
VEDO            4001200022162457            Gas           Non Aggregation - OH   DEO             4500034088776               Gas           Non Aggregation - OH
VEDO            4001200022308886            Gas           Non Aggregation - OH   DEO             5441006024748               Gas           Non Aggregation - OH
VEDO            4001200022368996            Gas           Non Aggregation - OH   DEO             8421505856506               Gas           Non Aggregation - OH
VEDO            4001200022374428            Gas           Non Aggregation - OH   DEO             0422106153847               Gas           Non Aggregation - OH
VEDO            4001200022380854            Gas           Non Aggregation - OH   DEO             8500016458216               Gas           Non Aggregation - OH
VEDO            4001200022389249            Gas           Non Aggregation - OH   DEO             3420205019034               Gas           Non Aggregation - OH
VEDO            4001200022624161            Gas           Non Aggregation - OH   DEO             3421104798930               Gas           Non Aggregation - OH
VEDO            4001660812162267            Gas           Non Aggregation - OH   DEO             8420900833146               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
VEDO            4001660812451608            Gas           Non Aggregation - OH   DEO             2440304341092               Gas           Non Aggregation - OH
VEDO            4016435632584940            Gas           Non Aggregation - OH   DEO             6441206600543               Gas           Non Aggregation - OH
VEDO            4016453952179694            Gas           Non Aggregation - OH   DEO             8440106190695               Gas           Non Aggregation - OH
VEDO            4016453952502820            Gas           Non Aggregation - OH   DEO             9440905386944               Gas           Non Aggregation - OH
VEDO            4016453952627280            Gas           Non Aggregation - OH   DEO             8420202048580               Gas           Non Aggregation - OH
COH             112604150031                Gas           Non Aggregation - OH   DEO             0440606339395               Gas           Non Aggregation - OH
COH             112756760014                Gas           Non Aggregation - OH   DEO             0500024257031               Gas           Non Aggregation - OH
COH             112756760023                Gas           Non Aggregation - OH   DEO             7500014935808               Gas           Non Aggregation - OH
COH             112819440017                Gas           Non Aggregation - OH   DEO             5421201942407               Gas           Non Aggregation - OH
COH             113023900025                Gas           Non Aggregation - OH   DEO             6421202456815               Gas           Non Aggregation - OH
COH             113023900034                Gas           Non Aggregation - OH   DEO             8500002303042               Gas           Non Aggregation - OH
COH             113030460023                Gas           Non Aggregation - OH   DEO             5500027538213               Gas           Non Aggregation - OH
COH             113589710170                Gas           Non Aggregation - OH   DEO             4500027060312               Gas           Non Aggregation - OH
COH             121998800012                Gas           Non Aggregation - OH   DEO             0440603799844               Gas           Non Aggregation - OH
COH             122438240033                Gas           Non Aggregation - OH   DEO             0500022115842               Gas           Non Aggregation - OH
COH             122540210014                Gas           Non Aggregation - OH   DEO             7421805934458               Gas           Non Aggregation - OH
COH             123075220027                Gas           Non Aggregation - OH   DEO             6500002219155               Gas           Non Aggregation - OH
COH             127489830019                Gas           Non Aggregation - OH   DEO             3500026770003               Gas           Non Aggregation - OH
COH             131368100049                Gas           Non Aggregation - OH   DEO             2441704961779               Gas           Non Aggregation - OH
COH             131368100076                Gas           Non Aggregation - OH   DEO             7421506007904               Gas           Non Aggregation - OH
COH             131368100334                Gas           Non Aggregation - OH   DEO             5500033227288               Gas           Non Aggregation - OH
COH             131368100361                Gas           Non Aggregation - OH   DEO             3442101208952               Gas           Non Aggregation - OH
COH             131368100398                Gas           Non Aggregation - OH   DEO             9441803477921               Gas           Non Aggregation - OH
COH             131368100405                Gas           Non Aggregation - OH   DEO             7421605896316               Gas           Non Aggregation - OH
COH             131368100512                Gas           Non Aggregation - OH   DEO             1500029145862               Gas           Non Aggregation - OH
COH             131368100521                Gas           Non Aggregation - OH   DEO             8422001342488               Gas           Non Aggregation - OH
COH             132354430020                Gas           Non Aggregation - OH   DEO             6500016190481               Gas           Non Aggregation - OH
COH             143929780061                Gas           Non Aggregation - OH   DEO             2500010530635               Gas           Non Aggregation - OH
COH             143929780070                Gas           Non Aggregation - OH   DEO             0500024813048               Gas           Non Aggregation - OH
COH             143929780089                Gas           Non Aggregation - OH   DEO             9500038982794               Gas           Non Aggregation - OH
COH             143929780098                Gas           Non Aggregation - OH   DEO             9120000015670               Gas           Non Aggregation - OH
COH             143929780141                Gas           Non Aggregation - OH   DEO             7441702892783               Gas           Non Aggregation - OH
COH             143929780150                Gas           Non Aggregation - OH   DEO             0422101491143               Gas           Non Aggregation - OH
COH             143929780196                Gas           Non Aggregation - OH   DEO             0500004228291               Gas           Non Aggregation - OH
COH             143929780267                Gas           Non Aggregation - OH   DEO             3500022002800               Gas           Non Aggregation - OH
COH             156101610010                Gas           Non Aggregation - OH   DEO             1440900113975               Gas           Non Aggregation - OH
COH             158583500011                Gas           Non Aggregation - OH   DEO             6441700639654               Gas           Non Aggregation - OH
COH             162931000011                Gas           Non Aggregation - OH   DEO             5500009007230               Gas           Non Aggregation - OH
COH             163270290012                Gas           Non Aggregation - OH   DEO             7500032891509               Gas           Non Aggregation - OH
COH             163469860011                Gas           Non Aggregation - OH   DEO             9440902769156               Gas           Non Aggregation - OH
COH             163835850016                Gas           Non Aggregation - OH   DEO             1422001819490               Gas           Non Aggregation - OH
COH             163835850043                Gas           Non Aggregation - OH   DEO             2441301952043               Gas           Non Aggregation - OH
DEO             0500034452801               Gas           Non Aggregation - OH   DEO             0500015110968               Gas           Non Aggregation - OH
DEO             0500039079811               Gas           Non Aggregation - OH   DEO             7400000186592               Gas           Non Aggregation - OH
DEO             0500045727078               Gas           Non Aggregation - OH   DEO             9420600825763               Gas           Non Aggregation - OH
DEO             0500046223636               Gas           Non Aggregation - OH   DEO             2500012090911               Gas           Non Aggregation - OH
DEO             0500053584063               Gas           Non Aggregation - OH   DEO             7421903986741               Gas           Non Aggregation - OH
DEO             2420200165431               Gas           Non Aggregation - OH   DEO             9500029681768               Gas           Non Aggregation - OH
DEO             2500028748446               Gas           Non Aggregation - OH   DEO             8440603676439               Gas           Non Aggregation - OH
DEO             2500031551192               Gas           Non Aggregation - OH   DEO             8500042782384               Gas           Non Aggregation - OH
DEO             2500031719908               Gas           Non Aggregation - OH   DEO             8440606028049               Gas           Non Aggregation - OH
DEO             2500032598678               Gas           Non Aggregation - OH   DEO             9500033672847               Gas           Non Aggregation - OH
DEO             2500034564257               Gas           Non Aggregation - OH   DEO             1442108310089               Gas           Non Aggregation - OH
DEO             2500046639114               Gas           Non Aggregation - OH   DEO             1500006758668               Gas           Non Aggregation - OH
DEO             2500048651546               Gas           Non Aggregation - OH   DEO             7500013477976               Gas           Non Aggregation - OH
DEO             3440400216941               Gas           Non Aggregation - OH   DEO             0440807569378               Gas           Non Aggregation - OH
DEO             3441000216932               Gas           Non Aggregation - OH   DEO             1500004742822               Gas           Non Aggregation - OH
DEO             3500031804624               Gas           Non Aggregation - OH   DEO             7440506756506               Gas           Non Aggregation - OH
DEO             4440800217055               Gas           Non Aggregation - OH   DEO             6500004174147               Gas           Non Aggregation - OH
DEO             4441500654932               Gas           Non Aggregation - OH   DEO             5421103598608               Gas           Non Aggregation - OH
DEO             4500020811172               Gas           Non Aggregation - OH   DEO             3421700784810               Gas           Non Aggregation - OH
DEO             4500040958418               Gas           Non Aggregation - OH   DEO             2500002373656               Gas           Non Aggregation - OH
DEO             5440400654916               Gas           Non Aggregation - OH   DEO             0441004501103               Gas           Non Aggregation - OH
DEO             5500047020411               Gas           Non Aggregation - OH   DEO             7440803666611               Gas           Non Aggregation - OH
DEO             6421700161848               Gas           Non Aggregation - OH   DEO             1440807956263               Gas           Non Aggregation - OH
DEO             6421900161851               Gas           Non Aggregation - OH   DEO             6500033941605               Gas           Non Aggregation - OH
DEO             6500012701150               Gas           Non Aggregation - OH   DEO             5500014091592               Gas           Non Aggregation - OH
DEO             6500014938383               Gas           Non Aggregation - OH   DEO             2420904893690               Gas           Non Aggregation - OH
DEO             6500031795963               Gas           Non Aggregation - OH   DEO             7440906474813               Gas           Non Aggregation - OH
DEO             7420500165461               Gas           Non Aggregation - OH   DEO             2440904184876               Gas           Non Aggregation - OH
DEO             7421500165450               Gas           Non Aggregation - OH   DEO             8441605267874               Gas           Non Aggregation - OH
DEO             7440500217001               Gas           Non Aggregation - OH   DEO             8500027769611               Gas           Non Aggregation - OH
DEO             7441400216951               Gas           Non Aggregation - OH   DEO             1500025002986               Gas           Non Aggregation - OH
DEO             7441600216965               Gas           Non Aggregation - OH   DEO             4421100191576               Gas           Non Aggregation - OH
DEO             7500011578638               Gas           Non Aggregation - OH   DEO             6500031374634               Gas           Non Aggregation - OH
DEO             7500013523840               Gas           Non Aggregation - OH   DEO             7500017940920               Gas           Non Aggregation - OH
DEO             7500014003090               Gas           Non Aggregation - OH   DEO             7442108735321               Gas           Non Aggregation - OH
DEO             7500019845479               Gas           Non Aggregation - OH   DEO             8421703151522               Gas           Non Aggregation - OH
DEO             7500021417290               Gas           Non Aggregation - OH   DEO             1441307192583               Gas           Non Aggregation - OH
DEO             7500023047345               Gas           Non Aggregation - OH   DEO             9500018518062               Gas           Non Aggregation - OH
DEO             7500023810094               Gas           Non Aggregation - OH   DEO             1500003142035               Gas           Non Aggregation - OH
DEO             7500025843245               Gas           Non Aggregation - OH   DEO             1500004010125               Gas           Non Aggregation - OH
DEO             7500026770893               Gas           Non Aggregation - OH   DEO             4421500196120               Gas           Non Aggregation - OH
DEO             7500027177681               Gas           Non Aggregation - OH   DEO             4400000000050               Gas           Non Aggregation - OH
DEO             7500048721271               Gas           Non Aggregation - OH   DEO             9421602575106               Gas           Non Aggregation - OH
DEO             8500034712160               Gas           Non Aggregation - OH   DEO             0500020319896               Gas           Non Aggregation - OH
DEO             9440200217046               Gas           Non Aggregation - OH   DEO             0440404764837               Gas           Non Aggregation - OH
COH             203762310015                Gas           Non Aggregation - OH   DEO             0400000102893               Gas           Non Aggregation - OH
COH             203764090018                Gas           Non Aggregation - OH   DEO             1440700443261               Gas           Non Aggregation - OH
VEDO            4001571992602388            Gas           Non Aggregation - OH   DEO             6500017174696               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
VEDO            4001571992583315            Gas           Non Aggregation - OH   DEO             4440807958151               Gas           Non Aggregation - OH
VEDO            4001571992634388            Gas           Non Aggregation - OH   DEO             4441007958144               Gas           Non Aggregation - OH
VEDO            4001571992645847            Gas           Non Aggregation - OH   DEO             8441100035215               Gas           Non Aggregation - OH
VEDO            4001571992466537            Gas           Non Aggregation - OH   DEO             2500008564430               Gas           Non Aggregation - OH
VEDO            4001571992641390            Gas           Non Aggregation - OH   DEO             4421904258580               Gas           Non Aggregation - OH
VEDO            4001571992242329            Gas           Non Aggregation - OH   DEO             1500016755732               Gas           Non Aggregation - OH
VEDO            4001024462443676            Gas           Non Aggregation - OH   DEO             4421606085415               Gas           Non Aggregation - OH
DEO             1440700547565               Gas           Non Aggregation - OH   DEO             9440704505797               Gas           Non Aggregation - OH
DEO             5180006779007               Gas           Non Aggregation - OH   DEO             6440206809445               Gas           Non Aggregation - OH
COH             118100230045                Gas           Non Aggregation - OH   DEO             3500026220801               Gas           Non Aggregation - OH
COH             118100220029                Gas           Non Aggregation - OH   DEO             6440501835205               Gas           Non Aggregation - OH
COH             115008300192                Gas           Non Aggregation - OH   DEO             6500033330359               Gas           Non Aggregation - OH
COH             119006250022                Gas           Non Aggregation - OH   DEO             1421202033300               Gas           Non Aggregation - OH
COH             163662860057                Gas           Non Aggregation - OH   DEO             1500034529739               Gas           Non Aggregation - OH
DEO             6180007209974               Gas           Non Aggregation - OH   DEO             6422005625772               Gas           Non Aggregation - OH
COH             114550420019                Gas           Non Aggregation - OH   DEO             3500002327758               Gas           Non Aggregation - OH
VEDO            4001355832359445            Gas           Non Aggregation - OH   DEO             7500013402525               Gas           Non Aggregation - OH
DEO             5440907693997               Gas           Non Aggregation - OH   DEO             7500023131532               Gas           Non Aggregation - OH
VEDO            4002143762671029            Gas           Non Aggregation - OH   DEO             6500036665391               Gas           Non Aggregation - OH
VEDO            4002143762338915            Gas           Non Aggregation - OH   DEO             7500029294376               Gas           Non Aggregation - OH
VEDO            4002143762444526            Gas           Non Aggregation - OH   DEO             1441000154823               Gas           Non Aggregation - OH
COH             123941930012                Gas           Non Aggregation - OH   DEO             4421402191147               Gas           Non Aggregation - OH
COH             125739010012                Gas           Non Aggregation - OH   DEO             3500043294949               Gas           Non Aggregation - OH
DUKE            6270374402                  Gas           Non Aggregation - OH   DEO             8441003108573               Gas           Non Aggregation - OH
DUKE            7960068920                  Gas           Non Aggregation - OH   DEO             8420203218801               Gas           Non Aggregation - OH
DUKE            6960054320                  Gas           Non Aggregation - OH   DEO             2441700732766               Gas           Non Aggregation - OH
COH             157420920036                Gas           Non Aggregation - OH   DEO             0441403385145               Gas           Non Aggregation - OH
COH             132717120490                Gas           Non Aggregation - OH   DEO             7500002193191               Gas           Non Aggregation - OH
DUKE            7450020727                  Gas           Non Aggregation - OH   DEO             1500018266488               Gas           Non Aggregation - OH
COH             201334430019                Gas           Non Aggregation - OH   DEO             6500010769400               Gas           Non Aggregation - OH
COH             204122840019                Gas           Non Aggregation - OH   DEO             1440001557330               Gas           Non Aggregation - OH
DEO             4500013130358               Gas           Non Aggregation - OH   DEO             8421104269475               Gas           Non Aggregation - OH
DEO             4500047638398               Gas           Non Aggregation - OH   DEO             5500015202433               Gas           Non Aggregation - OH
COH             124994740010                Gas           Non Aggregation - OH   DEO             5420503345939               Gas           Non Aggregation - OH
DEO             3180008494562               Gas           Non Aggregation - OH   DEO             6420200182276               Gas           Non Aggregation - OH
VEDO            4019417622647429            Gas           Non Aggregation - OH   DEO             5500035611982               Gas           Non Aggregation - OH
COH             154592000039                Gas           Non Aggregation - OH   DEO             3500004215764               Gas           Non Aggregation - OH
COH             114789590055                Gas           Non Aggregation - OH   DEO             0441802513687               Gas           Non Aggregation - OH
COH             114789590037                Gas           Non Aggregation - OH   DEO             8500030203724               Gas           Non Aggregation - OH
COH             202554860012                Gas           Non Aggregation - OH   DEO             4441703991925               Gas           Non Aggregation - OH
VEDO            4001227792121482            Gas           Non Aggregation - OH   DEO             5500017838419               Gas           Non Aggregation - OH
COH             153472670016                Gas           Non Aggregation - OH   DEO             7440508322645               Gas           Non Aggregation - OH
DEO             4500002289968               Gas           Non Aggregation - OH   DEO             2500017835960               Gas           Non Aggregation - OH
COH             204755190015                Gas           Non Aggregation - OH   DEO             0500003539614               Gas           Non Aggregation - OH
COH             119412520122                Gas           Non Aggregation - OH   DEO             6500024654294               Gas           Non Aggregation - OH
VEDO            4018029312337560            Gas           Non Aggregation - OH   DEO             0500028504031               Gas           Non Aggregation - OH
DEO             5180004904659               Gas           Non Aggregation - OH   DEO             3441707088998               Gas           Non Aggregation - OH
COH             202876690070                Gas           Non Aggregation - OH   DEO             8440100082096               Gas           Non Aggregation - OH
COH             202876690098                Gas           Non Aggregation - OH   DEO             5500015546023               Gas           Non Aggregation - OH
DEO             9420200995193               Gas           Non Aggregation - OH   DEO             7441706286153               Gas           Non Aggregation - OH
COH             200961660013                Gas           Non Aggregation - OH   DEO             6441806922436               Gas           Non Aggregation - OH
COH             119708840075                Gas           Non Aggregation - OH   DEO             4420100223227               Gas           Non Aggregation - OH
DEO             0180003866811               Gas           Non Aggregation - OH   DEO             0500029989618               Gas           Non Aggregation - OH
DEO             0500061857415               Gas           Non Aggregation - OH   DEO             1421803854900               Gas           Non Aggregation - OH
DEO             0500061857720               Gas           Non Aggregation - OH   DEO             3440308711209               Gas           Non Aggregation - OH
DEO             0500061859266               Gas           Non Aggregation - OH   DEO             1440705833775               Gas           Non Aggregation - OH
DEO             0500061859369               Gas           Non Aggregation - OH   DEO             2421604759778               Gas           Non Aggregation - OH
DUKE            6820077424                  Gas           Non Aggregation - OH   DEO             7420102768325               Gas           Non Aggregation - OH
DUKE            6570214206                  Gas           Non Aggregation - OH   DEO             1441606631991               Gas           Non Aggregation - OH
DUKE            6170046026                  Gas           Non Aggregation - OH   DEO             3421004312400               Gas           Non Aggregation - OH
DUKE            3750360503                  Gas           Non Aggregation - OH   DEO             7420205098203               Gas           Non Aggregation - OH
DUKE            3930081127                  Gas           Non Aggregation - OH   DEO             8422005420242               Gas           Non Aggregation - OH
DUKE            5350036421                  Gas           Non Aggregation - OH   DEO             9120000176424               Gas           Non Aggregation - OH
COH             204921400017                Gas           Non Aggregation - OH   DEO             6440900398480               Gas           Non Aggregation - OH
DEO             7500024205164               Gas           Non Aggregation - OH   DEO             1440900398543               Gas           Non Aggregation - OH
DEO             6500023083305               Gas           Non Aggregation - OH   DEO             9440300423319               Gas           Non Aggregation - OH
COH             117615610018                Gas           Non Aggregation - OH   DEO             5500030136720               Gas           Non Aggregation - OH
DEO             2180017223709               Gas           Non Aggregation - OH   DEO             9421504638560               Gas           Non Aggregation - OH
COH             158803390053                Gas           Non Aggregation - OH   DEO             5441208368544               Gas           Non Aggregation - OH
COH             158803390099                Gas           Non Aggregation - OH   DEO             3440503507533               Gas           Non Aggregation - OH
COH             200120660033                Gas           Non Aggregation - OH   DEO             8500015080871               Gas           Non Aggregation - OH
COH             200120660015                Gas           Non Aggregation - OH   DEO             0440104542457               Gas           Non Aggregation - OH
COH             168779080013                Gas           Non Aggregation - OH   DEO             1500035787938               Gas           Non Aggregation - OH
COH             114757760029                Gas           Non Aggregation - OH   DEO             3500023783365               Gas           Non Aggregation - OH
COH             114757870044                Gas           Non Aggregation - OH   DEO             1500024239605               Gas           Non Aggregation - OH
COH             194698010044                Gas           Non Aggregation - OH   DEO             1440400339669               Gas           Non Aggregation - OH
COH             187301620017                Gas           Non Aggregation - OH   DEO             5420100085946               Gas           Non Aggregation - OH
COH             119141720107                Gas           Non Aggregation - OH   DEO             1440100114986               Gas           Non Aggregation - OH
COH             119142660046                Gas           Non Aggregation - OH   DEO             5441600115090               Gas           Non Aggregation - OH
DEO             8420401983034               Gas           Non Aggregation - OH   DEO             5441900115017               Gas           Non Aggregation - OH
VEDO            4004891032498517            Gas           Non Aggregation - OH   DEO             1500006911321               Gas           Non Aggregation - OH
VEDO            4003542992351727            Gas           Non Aggregation - OH   DEO             0500012208969               Gas           Non Aggregation - OH
VEDO            4017764282672573            Gas           Non Aggregation - OH   DEO             2421900267134               Gas           Non Aggregation - OH
COH             188255250040                Gas           Non Aggregation - OH   DEO             3422000001054               Gas           Non Aggregation - OH
COH             203596710014                Gas           Non Aggregation - OH   DEO             9422100001047               Gas           Non Aggregation - OH
VEDO            4017351452381778            Gas           Non Aggregation - OH   DEO             6421206446671               Gas           Non Aggregation - OH
VEDO            4017270252626143            Gas           Non Aggregation - OH   DEO             4500035737711               Gas           Non Aggregation - OH
COH             119288360078                Gas           Non Aggregation - OH   DEO             5441603832750               Gas           Non Aggregation - OH
COH             119288360014                Gas           Non Aggregation - OH   DEO             6500030787534               Gas           Non Aggregation - OH
COH             119288360130                Gas           Non Aggregation - OH   DEO             6500036043593               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             119900300034                Gas           Non Aggregation - OH   DEO             7440307823339               Gas           Non Aggregation - OH
DEO             9440600527640               Gas           Non Aggregation - OH   DEO             7500024201107               Gas           Non Aggregation - OH
DEO             3180002473476               Gas           Non Aggregation - OH   DEO             8330000001558               Gas           Non Aggregation - OH
COH             171622630013                Gas           Non Aggregation - OH   DEO             8441202528272               Gas           Non Aggregation - OH
COH             145243960029                Gas           Non Aggregation - OH   DEO             8500013643100               Gas           Non Aggregation - OH
COH             119708840066                Gas           Non Aggregation - OH   DEO             3440500043930               Gas           Non Aggregation - OH
VEDO            4003275182431133            Gas           Non Aggregation - OH   DEO             5500011533021               Gas           Non Aggregation - OH
VEDO            4003275182441724            Gas           Non Aggregation - OH   DEO             5500026440691               Gas           Non Aggregation - OH
COH             199241450017                Gas           Non Aggregation - OH   DEO             8441009112511               Gas           Non Aggregation - OH
COH             118836560029                Gas           Non Aggregation - OH   DEO             6441900561475               Gas           Non Aggregation - OH
DEO             9441603619720               Gas           Non Aggregation - OH   DEO             8140000003872               Gas           Non Aggregation - OH
DEO             0180007974088               Gas           Non Aggregation - OH   DEO             0500021312022               Gas           Non Aggregation - OH
COH             123719100017                Gas           Non Aggregation - OH   DEO             1440807500026               Gas           Non Aggregation - OH
VEDO            4001164662621637            Gas           Non Aggregation - OH   DEO             4500029338066               Gas           Non Aggregation - OH
DEO             3420302606595               Gas           Non Aggregation - OH   DEO             1441004172808               Gas           Non Aggregation - OH
COH             119286310027                Gas           Non Aggregation - OH   DEO             5420100663779               Gas           Non Aggregation - OH
VEDO            4020225862638991            Gas           Non Aggregation - OH   DEO             8500033630384               Gas           Non Aggregation - OH
COH             124266760028                Gas           Non Aggregation - OH   DEO             3500018263941               Gas           Non Aggregation - OH
COH             138166770022                Gas           Non Aggregation - OH   DEO             3441403511119               Gas           Non Aggregation - OH
COH             138166770031                Gas           Non Aggregation - OH   DEO             0420203660166               Gas           Non Aggregation - OH
COH             138166770040                Gas           Non Aggregation - OH   DEO             8500003265997               Gas           Non Aggregation - OH
DEO             5441403863795               Gas           Non Aggregation - OH   DEO             2441700974057               Gas           Non Aggregation - OH
COH             173945410059                Gas           Non Aggregation - OH   DEO             5441003470413               Gas           Non Aggregation - OH
COH             173945410077                Gas           Non Aggregation - OH   DEO             8140000032905               Gas           Non Aggregation - OH
DUKE            3200055131                  Gas           Non Aggregation - OH   DEO             8421501961799               Gas           Non Aggregation - OH
COH             157277540031                Gas           Non Aggregation - OH   DEO             8500028337133               Gas           Non Aggregation - OH
COH             202712140017                Gas           Non Aggregation - OH   DEO             9500033159745               Gas           Non Aggregation - OH
DEO             1500047397480               Gas           Non Aggregation - OH   DEO             8440903530009               Gas           Non Aggregation - OH
COH             124632510032                Gas           Non Aggregation - OH   DEO             3441600168929               Gas           Non Aggregation - OH
COH             166414230024                Gas           Non Aggregation - OH   DEO             9441808180117               Gas           Non Aggregation - OH
DEO             0180009261053               Gas           Non Aggregation - OH   DEO             1440900114184               Gas           Non Aggregation - OH
DUKE            8780201702                  Gas           Non Aggregation - OH   DEO             7500021849305               Gas           Non Aggregation - OH
DUKE            8270223902                  Gas           Non Aggregation - OH   DEO             6441102917818               Gas           Non Aggregation - OH
DEO             1500017999316               Gas           Non Aggregation - OH   DEO             4440700222067               Gas           Non Aggregation - OH
COH             204629610013                Gas           Non Aggregation - OH   DEO             7500007096215               Gas           Non Aggregation - OH
COH             204629540018                Gas           Non Aggregation - OH   DEO             4420602632220               Gas           Non Aggregation - OH
COH             138767500033                Gas           Non Aggregation - OH   DEO             6500021305559               Gas           Non Aggregation - OH
COH             138767500033                Gas           Non Aggregation - OH   DEO             6441505462657               Gas           Non Aggregation - OH
COH             113096860012                Gas           Non Aggregation - OH   DEO             6500030346685               Gas           Non Aggregation - OH
COH             119366330023                Gas           Non Aggregation - OH   DEO             5500002981108               Gas           Non Aggregation - OH
COH             201330080020                Gas           Non Aggregation - OH   DEO             3500036367380               Gas           Non Aggregation - OH
COH             201209930019                Gas           Non Aggregation - OH   DEO             8420105048418               Gas           Non Aggregation - OH
COH             201330080011                Gas           Non Aggregation - OH   DEO             7421003081080               Gas           Non Aggregation - OH
COH             160521942040                Gas           Non Aggregation - OH   DEO             2441702513203               Gas           Non Aggregation - OH
DEO             0180005556282               Gas           Non Aggregation - OH   DEO             2441400425520               Gas           Non Aggregation - OH
COH             123849650080                Gas           Non Aggregation - OH   DEO             7440701918883               Gas           Non Aggregation - OH
COH             143533130011                Gas           Non Aggregation - OH   DEO             2500024734968               Gas           Non Aggregation - OH
DEO             6422003070230               Gas           Non Aggregation - OH   DEO             5440307081740               Gas           Non Aggregation - OH
VEDO            4002378332628769            Gas           Non Aggregation - OH   DEO             0500029350289               Gas           Non Aggregation - OH
DUKE            1970355101                  Gas           Non Aggregation - OH   DEO             5500026000031               Gas           Non Aggregation - OH
VEDO            4002376362647913            Gas           Non Aggregation - OH   DEO             0440107739558               Gas           Non Aggregation - OH
COH             148739680015                Gas           Non Aggregation - OH   DEO             6421302390026               Gas           Non Aggregation - OH
COH             151077170039                Gas           Non Aggregation - OH   DEO             8500024332905               Gas           Non Aggregation - OH
COH             151077170066                Gas           Non Aggregation - OH   DEO             0421706661669               Gas           Non Aggregation - OH
DEO             0500023090544               Gas           Non Aggregation - OH   DEO             8441205793187               Gas           Non Aggregation - OH
DEO             0500024828913               Gas           Non Aggregation - OH   DEO             4500005149503               Gas           Non Aggregation - OH
DEO             0500023323499               Gas           Non Aggregation - OH   DEO             0440907230470               Gas           Non Aggregation - OH
DEO             0500033350285               Gas           Non Aggregation - OH   DEO             2500025437511               Gas           Non Aggregation - OH
DEO             0500033100834               Gas           Non Aggregation - OH   DEO             6500017698602               Gas           Non Aggregation - OH
DEO             0500053509759               Gas           Non Aggregation - OH   DEO             2500023382846               Gas           Non Aggregation - OH
DUKE            0850224703                  Gas           Non Aggregation - OH   DEO             6500027389757               Gas           Non Aggregation - OH
DUKE            1760224403                  Gas           Non Aggregation - OH   DEO             0420702924101               Gas           Non Aggregation - OH
DUKE            1850224703                  Gas           Non Aggregation - OH   DEO             6500033276429               Gas           Non Aggregation - OH
DUKE            2850224703                  Gas           Non Aggregation - OH   DEO             6420602847883               Gas           Non Aggregation - OH
DUKE            6920224803                  Gas           Non Aggregation - OH   DEO             2421906191538               Gas           Non Aggregation - OH
DUKE            9750224703                  Gas           Non Aggregation - OH   DEO             1440502746299               Gas           Non Aggregation - OH
DUKE            9160379602                  Gas           Non Aggregation - OH   DEO             1500009912092               Gas           Non Aggregation - OH
DUKE            3640389403                  Gas           Non Aggregation - OH   DEO             2440607828173               Gas           Non Aggregation - OH
DEO             5180010496202               Gas           Non Aggregation - OH   DEO             6441908369764               Gas           Non Aggregation - OH
COH             119482750029                Gas           Non Aggregation - OH   DEO             1440802231391               Gas           Non Aggregation - OH
COH             110860310055                Gas           Non Aggregation - OH   DEO             8440905496336               Gas           Non Aggregation - OH
COH             110860310046                Gas           Non Aggregation - OH   DEO             8440905496317               Gas           Non Aggregation - OH
COH             153383130036                Gas           Non Aggregation - OH   DEO             0500030394459               Gas           Non Aggregation - OH
COH             143268130023                Gas           Non Aggregation - OH   DEO             2420803049659               Gas           Non Aggregation - OH
COH             206042130016                Gas           Non Aggregation - OH   DEO             9421606238974               Gas           Non Aggregation - OH
DUKE            6170084226                  Gas           Non Aggregation - OH   DEO             0420303003559               Gas           Non Aggregation - OH
DUKE            7040369304                  Gas           Non Aggregation - OH   DEO             0500021253048               Gas           Non Aggregation - OH
DUKE            1490085922                  Gas           Non Aggregation - OH   DEO             6441100417200               Gas           Non Aggregation - OH
DUKE            7600080428                  Gas           Non Aggregation - OH   DEO             1441603644183               Gas           Non Aggregation - OH
DUKE            4350219006                  Gas           Non Aggregation - OH   DEO             4441002882166               Gas           Non Aggregation - OH
DUKE            6240369308                  Gas           Non Aggregation - OH   DEO             3500017417272               Gas           Non Aggregation - OH
DEO             8441100184327               Gas           Non Aggregation - OH   DEO             5500034727202               Gas           Non Aggregation - OH
VEDO            4017336872221300            Gas           Non Aggregation - OH   DEO             9440606637817               Gas           Non Aggregation - OH
COH             115393000010                Gas           Non Aggregation - OH   DEO             7422000485873               Gas           Non Aggregation - OH
COH             146164270021                Gas           Non Aggregation - OH   DEO             4441300304555               Gas           Non Aggregation - OH
DEO             5500022903701               Gas           Non Aggregation - OH   DEO             8440905496322               Gas           Non Aggregation - OH
DEO             0500025979774               Gas           Non Aggregation - OH   DEO             7500015693977               Gas           Non Aggregation - OH
COH             123063830159                Gas           Non Aggregation - OH   DEO             9500007884483               Gas           Non Aggregation - OH
COH             113655360075                Gas           Non Aggregation - OH   DEO             0440401660855               Gas           Non Aggregation - OH
DEO             1180010997233               Gas           Non Aggregation - OH   DEO             8422000804475               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             112669810143                Gas           Non Aggregation - OH   DEO             0500009713626               Gas           Non Aggregation - OH
COH             113782810026                Gas           Non Aggregation - OH   DEO             4500002500937               Gas           Non Aggregation - OH
COH             155082210080                Gas           Non Aggregation - OH   DEO             9500013980628               Gas           Non Aggregation - OH
DEO             1180011322527               Gas           Non Aggregation - OH   DEO             9500013980544               Gas           Non Aggregation - OH
COH             138415440040                Gas           Non Aggregation - OH   DEO             8421000601444               Gas           Non Aggregation - OH
COH             122067320248                Gas           Non Aggregation - OH   DEO             6500018758277               Gas           Non Aggregation - OH
COH             122067320257                Gas           Non Aggregation - OH   DEO             9420303274728               Gas           Non Aggregation - OH
COH             122150470026                Gas           Non Aggregation - OH   DEO             6420602776434               Gas           Non Aggregation - OH
COH             194129540011                Gas           Non Aggregation - OH   DEO             9500009159459               Gas           Non Aggregation - OH
COH             145982970030                Gas           Non Aggregation - OH   DEO             7500013461450               Gas           Non Aggregation - OH
COH             129378462189                Gas           Non Aggregation - OH   DEO             5440506163676               Gas           Non Aggregation - OH
COH             129261681136                Gas           Non Aggregation - OH   DEO             9500031852802               Gas           Non Aggregation - OH
COH             119220330129                Gas           Non Aggregation - OH   DEO             7441805497501               Gas           Non Aggregation - OH
DEO             6441400340225               Gas           Non Aggregation - OH   DEO             3500033668489               Gas           Non Aggregation - OH
COH             113355520022                Gas           Non Aggregation - OH   DEO             5500019398644               Gas           Non Aggregation - OH
COH             155052980037                Gas           Non Aggregation - OH   DEO             5421202043927               Gas           Non Aggregation - OH
COH             155052980019                Gas           Non Aggregation - OH   DEO             5120000092624               Gas           Non Aggregation - OH
COH             155052980028                Gas           Non Aggregation - OH   DEO             2421201610872               Gas           Non Aggregation - OH
COH             171722720423                Gas           Non Aggregation - OH   DEO             5441305685168               Gas           Non Aggregation - OH
DEO             7180012507698               Gas           Non Aggregation - OH   DEO             1440504033949               Gas           Non Aggregation - OH
DEO             6500061797076               Gas           Non Aggregation - OH   DEO             4500014568221               Gas           Non Aggregation - OH
DEO             3180004591892               Gas           Non Aggregation - OH   DEO             6440809266664               Gas           Non Aggregation - OH
VEDO            4019965852629714            Gas           Non Aggregation - OH   DEO             6500012466318               Gas           Non Aggregation - OH
VEDO            4016462482549027            Gas           Non Aggregation - OH   DEO             4500029614353               Gas           Non Aggregation - OH
DUKE            6060219702                  Gas           Non Aggregation - OH   DEO             8500009118782               Gas           Non Aggregation - OH
DEO             6500034554165               Gas           Non Aggregation - OH   DEO             9441504025947               Gas           Non Aggregation - OH
DEO             6500048765757               Gas           Non Aggregation - OH   DEO             6500028979986               Gas           Non Aggregation - OH
DEO             6500060777303               Gas           Non Aggregation - OH   DEO             9500002673312               Gas           Non Aggregation - OH
VEDO            4015821342533869            Gas           Non Aggregation - OH   DEO             3440506182352               Gas           Non Aggregation - OH
DEO             0440108154063               Gas           Non Aggregation - OH   DEO             8440604160947               Gas           Non Aggregation - OH
DEO             9500015588263               Gas           Non Aggregation - OH   DEO             7442105683308               Gas           Non Aggregation - OH
DEO             0421502374708               Gas           Non Aggregation - OH   DEO             3500019981572               Gas           Non Aggregation - OH
DEO             1383000000555               Gas           Non Aggregation - OH   DEO             3440304940668               Gas           Non Aggregation - OH
DUKE            0200390902                  Gas           Non Aggregation - OH   DEO             5420703491530               Gas           Non Aggregation - OH
DEO             6421900292419               Gas           Non Aggregation - OH   DEO             6440503495082               Gas           Non Aggregation - OH
DEO             0421900119841               Gas           Non Aggregation - OH   DEO             8500007577377               Gas           Non Aggregation - OH
COH             141154710051                Gas           Non Aggregation - OH   DEO             3441908426230               Gas           Non Aggregation - OH
COH             112148140460                Gas           Non Aggregation - OH   DEO             4500031509260               Gas           Non Aggregation - OH
DUKE            7520012621                  Gas           Non Aggregation - OH   DEO             7500009945490               Gas           Non Aggregation - OH
DEO             4500052029501               Gas           Non Aggregation - OH   DEO             7441706024402               Gas           Non Aggregation - OH
COH             111653020090                Gas           Non Aggregation - OH   DEO             7500032856823               Gas           Non Aggregation - OH
COH             111653020107                Gas           Non Aggregation - OH   DEO             2421705175881               Gas           Non Aggregation - OH
COH             118723190035                Gas           Non Aggregation - OH   DEO             5440803641323               Gas           Non Aggregation - OH
COH             118723190044                Gas           Non Aggregation - OH   DEO             9420701262830               Gas           Non Aggregation - OH
DEO             4500049033883               Gas           Non Aggregation - OH   DEO             5500032099975               Gas           Non Aggregation - OH
DUKE            0330212902                  Gas           Non Aggregation - OH   DEO             4420504108794               Gas           Non Aggregation - OH
COH             120010250048                Gas           Non Aggregation - OH   DEO             9421500095677               Gas           Non Aggregation - OH
COH             114816910021                Gas           Non Aggregation - OH   DEO             9420500095654               Gas           Non Aggregation - OH
COH             190506120013                Gas           Non Aggregation - OH   DEO             9420800095662               Gas           Non Aggregation - OH
COH             112158390010                Gas           Non Aggregation - OH   DEO             2120000019840               Gas           Non Aggregation - OH
COH             127633330302                Gas           Non Aggregation - OH   DEO             2421600952424               Gas           Non Aggregation - OH
DEO             4441702736673               Gas           Non Aggregation - OH   DEO             5420303345593               Gas           Non Aggregation - OH
COH             119490930024                Gas           Non Aggregation - OH   DEO             3440900445021               Gas           Non Aggregation - OH
DEO             0180011396105               Gas           Non Aggregation - OH   DEO             8441300159043               Gas           Non Aggregation - OH
COH             119463800108                Gas           Non Aggregation - OH   DEO             4500006697801               Gas           Non Aggregation - OH
COH             119463800126                Gas           Non Aggregation - OH   DEO             7440700106103               Gas           Non Aggregation - OH
COH             151278440045                Gas           Non Aggregation - OH   DEO             8500021830154               Gas           Non Aggregation - OH
COH             117263760041                Gas           Non Aggregation - OH   DEO             7500009223275               Gas           Non Aggregation - OH
DEO             1500017818494               Gas           Non Aggregation - OH   DEO             5500032758078               Gas           Non Aggregation - OH
DEO             6180012543643               Gas           Non Aggregation - OH   DEO             4441007521596               Gas           Non Aggregation - OH
DUKE            1710060622                  Gas           Non Aggregation - OH   DEO             8440808348540               Gas           Non Aggregation - OH
DEO             2500060776510               Gas           Non Aggregation - OH   DEO             1500004313118               Gas           Non Aggregation - OH
VEDO            4015130242394049            Gas           Non Aggregation - OH   DEO             4500028353356               Gas           Non Aggregation - OH
DEO             9500002687936               Gas           Non Aggregation - OH   DEO             3420901127625               Gas           Non Aggregation - OH
VEDO            4001845132180061            Gas           Non Aggregation - OH   DEO             2440708661347               Gas           Non Aggregation - OH
DEO             5500063914463               Gas           Non Aggregation - OH   DEO             3500031679424               Gas           Non Aggregation - OH
DEO             0180001072743               Gas           Non Aggregation - OH   DEO             5500008616565               Gas           Non Aggregation - OH
DEO             0180001072870               Gas           Non Aggregation - OH   DEO             8440705496075               Gas           Non Aggregation - OH
DEO             0180003759121               Gas           Non Aggregation - OH   DEO             9440700869052               Gas           Non Aggregation - OH
DEO             5500040752947               Gas           Non Aggregation - OH   DEO             8500022827746               Gas           Non Aggregation - OH
DEO             0500039861369               Gas           Non Aggregation - OH   DEO             4500036699394               Gas           Non Aggregation - OH
DEO             1500048396653               Gas           Non Aggregation - OH   DEO             6441900335972               Gas           Non Aggregation - OH
COH             109863500016                Gas           Non Aggregation - OH   DEO             2500015738827               Gas           Non Aggregation - OH
DUKE            7590087522                  Gas           Non Aggregation - OH   DEO             5500015277297               Gas           Non Aggregation - OH
DEO             0440907320784               Gas           Non Aggregation - OH   DEO             6500002390842               Gas           Non Aggregation - OH
DEO             4500053720914               Gas           Non Aggregation - OH   DEO             9441604953500               Gas           Non Aggregation - OH
COH             160352170016                Gas           Non Aggregation - OH   DEO             3421201002689               Gas           Non Aggregation - OH
COH             201294610035                Gas           Non Aggregation - OH   DEO             9500022641119               Gas           Non Aggregation - OH
DUKE            0840388302                  Gas           Non Aggregation - OH   DEO             7500036139404               Gas           Non Aggregation - OH
DEO             7180004554709               Gas           Non Aggregation - OH   DEO             8441604483454               Gas           Non Aggregation - OH
COH             116914690028                Gas           Non Aggregation - OH   DEO             3441908769221               Gas           Non Aggregation - OH
DUKE            9170060332                  Gas           Non Aggregation - OH   DEO             4500024555906               Gas           Non Aggregation - OH
DEO             4500048046685               Gas           Non Aggregation - OH   DEO             0500018902039               Gas           Non Aggregation - OH
COH             186998780038                Gas           Non Aggregation - OH   DEO             7440702740173               Gas           Non Aggregation - OH
DEO             9421600260742               Gas           Non Aggregation - OH   DEO             0500027127985               Gas           Non Aggregation - OH
DEO             9421600379372               Gas           Non Aggregation - OH   DEO             1421204671878               Gas           Non Aggregation - OH
DEO             7421600260718               Gas           Non Aggregation - OH   DEO             0500036873888               Gas           Non Aggregation - OH
COH             202672760031                Gas           Non Aggregation - OH   DEO             6500037868595               Gas           Non Aggregation - OH
COH             202489770010                Gas           Non Aggregation - OH   DEO             6500024824776               Gas           Non Aggregation - OH
DUKE            8650012120                  Gas           Non Aggregation - OH   DEO             9421703262434               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             112772010017                Gas           Non Aggregation - OH   DEO             2500006163443               Gas           Non Aggregation - OH
DEO             5441400133446               Gas           Non Aggregation - OH   DEO             5500025634494               Gas           Non Aggregation - OH
DEO             2441300119427               Gas           Non Aggregation - OH   DEO             3500023230386               Gas           Non Aggregation - OH
DEO             3500008776315               Gas           Non Aggregation - OH   DEO             3440406557384               Gas           Non Aggregation - OH
DEO             9441300167010               Gas           Non Aggregation - OH   DEO             9440703860108               Gas           Non Aggregation - OH
DEO             9441200133468               Gas           Non Aggregation - OH   DEO             7421600952408               Gas           Non Aggregation - OH
DEO             0441400127928               Gas           Non Aggregation - OH   DEO             4421500095693               Gas           Non Aggregation - OH
DEO             4500002905366               Gas           Non Aggregation - OH   DEO             9420900095686               Gas           Non Aggregation - OH
COH             111329540016                Gas           Non Aggregation - OH   DEO             6500006860015               Gas           Non Aggregation - OH
DEO             0180011230950               Gas           Non Aggregation - OH   DEO             5500005227748               Gas           Non Aggregation - OH
VEDO            4004548592282900            Gas           Non Aggregation - OH   DEO             5500030038524               Gas           Non Aggregation - OH
COH             203044940033                Gas           Non Aggregation - OH   DEO             1421000275185               Gas           Non Aggregation - OH
DEO             1180002223635               Gas           Non Aggregation - OH   DEO             7422000459940               Gas           Non Aggregation - OH
COH             117374290027                Gas           Non Aggregation - OH   DEO             1421500679228               Gas           Non Aggregation - OH
DEO             1441200388503               Gas           Non Aggregation - OH   DEO             2440701627121               Gas           Non Aggregation - OH
COH             127315900066                Gas           Non Aggregation - OH   DEO             0500006404059               Gas           Non Aggregation - OH
COH             127315900075                Gas           Non Aggregation - OH   DEO             0500026866555               Gas           Non Aggregation - OH
COH             127315900048                Gas           Non Aggregation - OH   DEO             5500021513644               Gas           Non Aggregation - OH
COH             127315900057                Gas           Non Aggregation - OH   DEO             7500025125410               Gas           Non Aggregation - OH
DEO             9180013351279               Gas           Non Aggregation - OH   DEO             5500008113790               Gas           Non Aggregation - OH
DEO             4500015107516               Gas           Non Aggregation - OH   DEO             0441900386570               Gas           Non Aggregation - OH
VEDO            4001571992251046            Gas           Non Aggregation - OH   DEO             6500029716776               Gas           Non Aggregation - OH
DEO             8500055245121               Gas           Non Aggregation - OH   DEO             7500040529190               Gas           Non Aggregation - OH
DEO             3500000792648               Gas           Non Aggregation - OH   DEO             7442006459212               Gas           Non Aggregation - OH
COH             205789580011                Gas           Non Aggregation - OH   DEO             8440400319485               Gas           Non Aggregation - OH
COH             207452080017                Gas           Non Aggregation - OH   DEO             9440203981100               Gas           Non Aggregation - OH
COH             195286180023                Gas           Non Aggregation - OH   DEO             5500018480669               Gas           Non Aggregation - OH
COH             146081250361                Gas           Non Aggregation - OH   DEO             8441000212122               Gas           Non Aggregation - OH
DEO             9180006634109               Gas           Non Aggregation - OH   DEO             6500028955194               Gas           Non Aggregation - OH
DEO             9180006634221               Gas           Non Aggregation - OH   DEO             7441100375228               Gas           Non Aggregation - OH
DEO             3500034125224               Gas           Non Aggregation - OH   DEO             6500031797879               Gas           Non Aggregation - OH
COH             145475900066                Gas           Non Aggregation - OH   DEO             8441203673189               Gas           Non Aggregation - OH
COH             125842530014                Gas           Non Aggregation - OH   DEO             2440604084704               Gas           Non Aggregation - OH
DEO             1180011054510               Gas           Non Aggregation - OH   DEO             4500010764158               Gas           Non Aggregation - OH
DEO             4180004195649               Gas           Non Aggregation - OH   DEO             6441704031226               Gas           Non Aggregation - OH
COH             193679570011                Gas           Non Aggregation - OH   DEO             5500036496934               Gas           Non Aggregation - OH
COH             168478240035                Gas           Non Aggregation - OH   DEO             4420201240629               Gas           Non Aggregation - OH
COH             185135590055                Gas           Non Aggregation - OH   DEO             1421506296381               Gas           Non Aggregation - OH
DEO             6180013688743               Gas           Non Aggregation - OH   DEO             6421601206789               Gas           Non Aggregation - OH
COH             147661210028                Gas           Non Aggregation - OH   DEO             8440602049290               Gas           Non Aggregation - OH
DEO             3420106036368               Gas           Non Aggregation - OH   DEO             8441601073054               Gas           Non Aggregation - OH
COH             110901100015                Gas           Non Aggregation - OH   DEO             8440801481993               Gas           Non Aggregation - OH
COH             110901640030                Gas           Non Aggregation - OH   DEO             5440806029570               Gas           Non Aggregation - OH
COH             110352240011                Gas           Non Aggregation - OH   DEO             5500023863938               Gas           Non Aggregation - OH
COH             110352240020                Gas           Non Aggregation - OH   DEO             2500020340827               Gas           Non Aggregation - OH
COH             110921840018                Gas           Non Aggregation - OH   DEO             1500022920720               Gas           Non Aggregation - OH
COH             110392330018                Gas           Non Aggregation - OH   DEO             3420901139658               Gas           Non Aggregation - OH
COH             110369810061                Gas           Non Aggregation - OH   DEO             1440605842984               Gas           Non Aggregation - OH
COH             110392330027                Gas           Non Aggregation - OH   DEO             2441406691191               Gas           Non Aggregation - OH
DEO             7500062680040               Gas           Non Aggregation - OH   DEO             3441105613602               Gas           Non Aggregation - OH
COH             150992430035                Gas           Non Aggregation - OH   DEO             9440805357014               Gas           Non Aggregation - OH
COH             149732810136                Gas           Non Aggregation - OH   DEO             1500019286831               Gas           Non Aggregation - OH
COH             152660700020                Gas           Non Aggregation - OH   DEO             1500027499255               Gas           Non Aggregation - OH
COH             150992430017                Gas           Non Aggregation - OH   DEO             6440608309789               Gas           Non Aggregation - OH
COH             149732810127                Gas           Non Aggregation - OH   DEO             3500004633104               Gas           Non Aggregation - OH
DEO             0180009414497               Gas           Non Aggregation - OH   DEO             7500024419944               Gas           Non Aggregation - OH
DEO             9180011027612               Gas           Non Aggregation - OH   DEO             6441901662990               Gas           Non Aggregation - OH
COH             150791960147                Gas           Non Aggregation - OH   DEO             6500003053793               Gas           Non Aggregation - OH
VEDO            4019962312152245            Gas           Non Aggregation - OH   DEO             6500024718675               Gas           Non Aggregation - OH
COH             150077840048                Gas           Non Aggregation - OH   DEO             6500032592887               Gas           Non Aggregation - OH
COH             145317070270                Gas           Non Aggregation - OH   DEO             7440604163061               Gas           Non Aggregation - OH
COH             207925610012                Gas           Non Aggregation - OH   DEO             7500026055107               Gas           Non Aggregation - OH
VEDO            4001404192137924            Gas           Non Aggregation - OH   DEO             7500033615335               Gas           Non Aggregation - OH
COH             136954920021                Gas           Non Aggregation - OH   DEO             8421401286011               Gas           Non Aggregation - OH
DEO             8180002061391               Gas           Non Aggregation - OH   DEO             8421602560381               Gas           Non Aggregation - OH
DEO             8180009550558               Gas           Non Aggregation - OH   DEO             8500009091627               Gas           Non Aggregation - OH
COH             123724060159                Gas           Non Aggregation - OH   DEO             9420404476201               Gas           Non Aggregation - OH
DEO             4500037100841               Gas           Non Aggregation - OH   DEO             9422000096632               Gas           Non Aggregation - OH
VEDO            4003754662374194            Gas           Non Aggregation - OH   DEO             3421004125777               Gas           Non Aggregation - OH
VEDO            4004962542506501            Gas           Non Aggregation - OH   DEO             3440304317801               Gas           Non Aggregation - OH
VEDO            4004896352499098            Gas           Non Aggregation - OH   DEO             3440700415048               Gas           Non Aggregation - OH
VEDO            4001801362231328            Gas           Non Aggregation - OH   DEO             3441601285626               Gas           Non Aggregation - OH
VEDO            4001801362189239            Gas           Non Aggregation - OH   DEO             0441101556316               Gas           Non Aggregation - OH
VEDO            4001801362175862            Gas           Non Aggregation - OH   DEO             1420605295227               Gas           Non Aggregation - OH
VEDO            4001208762629875            Gas           Non Aggregation - OH   DEO             7440202897718               Gas           Non Aggregation - OH
VEDO            4001208762629301            Gas           Non Aggregation - OH   DEO             1441600963360               Gas           Non Aggregation - OH
VEDO            4001208762629548            Gas           Non Aggregation - OH   DEO             7500023752479               Gas           Non Aggregation - OH
VEDO            4001208762629905            Gas           Non Aggregation - OH   DEO             9500016858789               Gas           Non Aggregation - OH
VEDO            4001208762630103            Gas           Non Aggregation - OH   DEO             6440802734510               Gas           Non Aggregation - OH
VEDO            4001208762629092            Gas           Non Aggregation - OH   DEO             2440308527446               Gas           Non Aggregation - OH
VEDO            4001208762628957            Gas           Non Aggregation - OH   DEO             2500024907438               Gas           Non Aggregation - OH
VEDO            4001208762628930            Gas           Non Aggregation - OH   DEO             7441407382404               Gas           Non Aggregation - OH
VEDO            4001208762630551            Gas           Non Aggregation - OH   DEO             3420704696368               Gas           Non Aggregation - OH
VEDO            4001208762630515            Gas           Non Aggregation - OH   DEO             8441104018961               Gas           Non Aggregation - OH
VEDO            4001208762629924            Gas           Non Aggregation - OH   DEO             5500032349175               Gas           Non Aggregation - OH
VEDO            4001208762629698            Gas           Non Aggregation - OH   DEO             0500032110413               Gas           Non Aggregation - OH
VEDO            4001208762629549            Gas           Non Aggregation - OH   DEO             8500036168669               Gas           Non Aggregation - OH
COH             173184540029                Gas           Non Aggregation - OH   DEO             1421004812360               Gas           Non Aggregation - OH
VEDO            4018374072420130            Gas           Non Aggregation - OH   DEO             8120000155066               Gas           Non Aggregation - OH
VEDO            4001404042137911            Gas           Non Aggregation - OH   DEO             6421205225608               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
VEDO            4002545542249529            Gas           Non Aggregation - OH   DEO             0441804341561               Gas           Non Aggregation - OH
VEDO            4001068072480747            Gas           Non Aggregation - OH   DEO             3500031581711               Gas           Non Aggregation - OH
VEDO            4001068072106481            Gas           Non Aggregation - OH   DEO             0442006827548               Gas           Non Aggregation - OH
VEDO            4001068072202955            Gas           Non Aggregation - OH   DEO             6441601960072               Gas           Non Aggregation - OH
VEDO            4015703932288290            Gas           Non Aggregation - OH   DEO             4442101952091               Gas           Non Aggregation - OH
VEDO            4002502242245141            Gas           Non Aggregation - OH   DEO             1500036406842               Gas           Non Aggregation - OH
VEDO            4003260992348966            Gas           Non Aggregation - OH   DEO             2500022598696               Gas           Non Aggregation - OH
DEO             7180016562176               Gas           Non Aggregation - OH   DEO             0421003507631               Gas           Non Aggregation - OH
COH             152346610025                Gas           Non Aggregation - OH   DEO             9120000139846               Gas           Non Aggregation - OH
COH             141158040045                Gas           Non Aggregation - OH   DEO             6441803314119               Gas           Non Aggregation - OH
VEDO            4003699462368276            Gas           Non Aggregation - OH   DEO             9500007988242               Gas           Non Aggregation - OH
COH             111155250025                Gas           Non Aggregation - OH   DEO             5420904423770               Gas           Non Aggregation - OH
VEDO            4002593052254274            Gas           Non Aggregation - OH   DEO             0421603738557               Gas           Non Aggregation - OH
VEDO            4001295682127814            Gas           Non Aggregation - OH   DEO             9500004569718               Gas           Non Aggregation - OH
VEDO            4004369682441075            Gas           Non Aggregation - OH   DEO             9421000254262               Gas           Non Aggregation - OH
VEDO            4005040712515302            Gas           Non Aggregation - OH   DEO             9440704775988               Gas           Non Aggregation - OH
VEDO            4002569652361537            Gas           Non Aggregation - OH   DEO             1441402755675               Gas           Non Aggregation - OH
DEO             6440206642665               Gas           Non Aggregation - OH   DEO             5441207191606               Gas           Non Aggregation - OH
DEO             7440207824017               Gas           Non Aggregation - OH   DEO             7500004310786               Gas           Non Aggregation - OH
DEO             0440207497639               Gas           Non Aggregation - OH   DEO             3500009137837               Gas           Non Aggregation - OH
DEO             0440201472168               Gas           Non Aggregation - OH   DEO             8500010268261               Gas           Non Aggregation - OH
DEO             5500004160743               Gas           Non Aggregation - OH   DEO             3500012837751               Gas           Non Aggregation - OH
DEO             3440201983573               Gas           Non Aggregation - OH   DEO             2440408601986               Gas           Non Aggregation - OH
DEO             7500025441828               Gas           Non Aggregation - OH   DEO             1421100552802               Gas           Non Aggregation - OH
DEO             2500029371309               Gas           Non Aggregation - OH   DEO             9500036198822               Gas           Non Aggregation - OH
DEO             7441400279660               Gas           Non Aggregation - OH   DEO             2440704763261               Gas           Non Aggregation - OH
DEO             8421600382862               Gas           Non Aggregation - OH   DEO             5500037912322               Gas           Non Aggregation - OH
DEO             5400000053296               Gas           Non Aggregation - OH   DEO             3500007742037               Gas           Non Aggregation - OH
DEO             6500003952026               Gas           Non Aggregation - OH   DEO             9500028771126               Gas           Non Aggregation - OH
DEO             0421105454008               Gas           Non Aggregation - OH   DEO             3500018808385               Gas           Non Aggregation - OH
DEO             0500022490780               Gas           Non Aggregation - OH   DEO             3500034843415               Gas           Non Aggregation - OH
DEO             2500023793636               Gas           Non Aggregation - OH   DEO             3500045213241               Gas           Non Aggregation - OH
DEO             2421000331266               Gas           Non Aggregation - OH   DEO             4500014988239               Gas           Non Aggregation - OH
DEO             2440903435982               Gas           Non Aggregation - OH   DEO             5420604674389               Gas           Non Aggregation - OH
DEO             7442007690555               Gas           Non Aggregation - OH   DEO             8421902557528               Gas           Non Aggregation - OH
DEO             4441800425394               Gas           Non Aggregation - OH   DEO             1440904166726               Gas           Non Aggregation - OH
COH             123815230061                Gas           Non Aggregation - OH   DEO             5440507466127               Gas           Non Aggregation - OH
COH             129259190037                Gas           Non Aggregation - OH   DEO             0441104635705               Gas           Non Aggregation - OH
VEDO            4017305492355750            Gas           Non Aggregation - OH   DEO             5440606047700               Gas           Non Aggregation - OH
COH             113587410042                Gas           Non Aggregation - OH   DEO             5442105873883               Gas           Non Aggregation - OH
COH             130199040042                Gas           Non Aggregation - OH   DEO             5500016749688               Gas           Non Aggregation - OH
COH             136071990010                Gas           Non Aggregation - OH   DEO             5500022675764               Gas           Non Aggregation - OH
COH             158871500029                Gas           Non Aggregation - OH   DEO             9500016740974               Gas           Non Aggregation - OH
COH             110183234198                Gas           Non Aggregation - OH   DEO             0441508012143               Gas           Non Aggregation - OH
COH             110145601522                Gas           Non Aggregation - OH   DEO             0500023464530               Gas           Non Aggregation - OH
COH             110183233635                Gas           Non Aggregation - OH   DEO             1421306556563               Gas           Non Aggregation - OH
COH             110183233546                Gas           Non Aggregation - OH   DEO             1421306556577               Gas           Non Aggregation - OH
COH             175513030016                Gas           Non Aggregation - OH   DEO             1500042194779               Gas           Non Aggregation - OH
COH             109815460025                Gas           Non Aggregation - OH   DEO             7500036590628               Gas           Non Aggregation - OH
COH             110183234205                Gas           Non Aggregation - OH   DEO             5140000055066               Gas           Non Aggregation - OH
COH             175513030034                Gas           Non Aggregation - OH   DEO             7500010368634               Gas           Non Aggregation - OH
DEO             4440701029361               Gas           Non Aggregation - OH   DEO             7440701883240               Gas           Non Aggregation - OH
COH             199353060012                Gas           Non Aggregation - OH   DEO             8500017200769               Gas           Non Aggregation - OH
DEO             8422004618646               Gas           Non Aggregation - OH   DEO             5441504023462               Gas           Non Aggregation - OH
DEO             1420404834813               Gas           Non Aggregation - OH   DEO             9421102255899               Gas           Non Aggregation - OH
DEO             9440607147605               Gas           Non Aggregation - OH   DEO             6441300281744               Gas           Non Aggregation - OH
DEO             1441008366529               Gas           Non Aggregation - OH   DEO             0440103209576               Gas           Non Aggregation - OH
DEO             8500002720156               Gas           Non Aggregation - OH   DEO             5500033098660               Gas           Non Aggregation - OH
DEO             9440306470201               Gas           Non Aggregation - OH   DEO             5420205332587               Gas           Non Aggregation - OH
DEO             4421202259778               Gas           Non Aggregation - OH   DEO             7500003441411               Gas           Non Aggregation - OH
VEDO            4017649832603045            Gas           Non Aggregation - OH   DEO             6441503398130               Gas           Non Aggregation - OH
COH             145317070305                Gas           Non Aggregation - OH   DEO             6420204695857               Gas           Non Aggregation - OH
COH             145317070314                Gas           Non Aggregation - OH   DEO             5500037227132               Gas           Non Aggregation - OH
DEO             9180003979559               Gas           Non Aggregation - OH   DEO             6500033031859               Gas           Non Aggregation - OH
COH             134382540017                Gas           Non Aggregation - OH   DEO             5441407147876               Gas           Non Aggregation - OH
COH             148421060018                Gas           Non Aggregation - OH   DEO             1500008013259               Gas           Non Aggregation - OH
COH             205504770031                Gas           Non Aggregation - OH   DEO             0420601707891               Gas           Non Aggregation - OH
DEO             2441000200740               Gas           Non Aggregation - OH   DEO             0440803224700               Gas           Non Aggregation - OH
DEO             7441000611176               Gas           Non Aggregation - OH   DEO             0441600316059               Gas           Non Aggregation - OH
DEO             4180004484661               Gas           Non Aggregation - OH   DEO             0500002825509               Gas           Non Aggregation - OH
COH             130852210040                Gas           Non Aggregation - OH   DEO             1440707494719               Gas           Non Aggregation - OH
COH             120456910018                Gas           Non Aggregation - OH   DEO             1442004717719               Gas           Non Aggregation - OH
VEDO            4019962312174276            Gas           Non Aggregation - OH   DEO             3500021481030               Gas           Non Aggregation - OH
DEO             4180012527619               Gas           Non Aggregation - OH   DEO             6440803542745               Gas           Non Aggregation - OH
DEO             4180012077972               Gas           Non Aggregation - OH   DEO             7440502583699               Gas           Non Aggregation - OH
DEO             6441200625624               Gas           Non Aggregation - OH   DEO             7500032711369               Gas           Non Aggregation - OH
COH             109815460034                Gas           Non Aggregation - OH   DEO             8420601923694               Gas           Non Aggregation - OH
COH             110183234189                Gas           Non Aggregation - OH   DEO             8500030776434               Gas           Non Aggregation - OH
COH             110183235704                Gas           Non Aggregation - OH   DEO             9440604140722               Gas           Non Aggregation - OH
COH             110183235508                Gas           Non Aggregation - OH   DEO             0500034562443               Gas           Non Aggregation - OH
DUKE            6220208303                  Gas           Non Aggregation - OH   DEO             1441904924828               Gas           Non Aggregation - OH
DUKE            4480079525                  Gas           Non Aggregation - OH   DEO             4500039921597               Gas           Non Aggregation - OH
DUKE            0740354801                  Gas           Non Aggregation - OH   DEO             5500016333440               Gas           Non Aggregation - OH
COH             109057710039                Gas           Non Aggregation - OH   DEO             9441108434912               Gas           Non Aggregation - OH
COH             130852210013                Gas           Non Aggregation - OH   DEO             9500011857869               Gas           Non Aggregation - OH
COH             153196540055                Gas           Non Aggregation - OH   DEO             9500014098164               Gas           Non Aggregation - OH
COH             153196540019                Gas           Non Aggregation - OH   DEO             9500023718941               Gas           Non Aggregation - OH
COH             153196540037                Gas           Non Aggregation - OH   DEO             9500032594300               Gas           Non Aggregation - OH
COH             117726820019                Gas           Non Aggregation - OH   DEO             0441208692944               Gas           Non Aggregation - OH
COH             124104600014                Gas           Non Aggregation - OH   DEO             0500023669385               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DUKE            1390360502                  Gas           Non Aggregation - OH   DEO             1500008645807               Gas           Non Aggregation - OH
DUKE            1730068920                  Gas           Non Aggregation - OH   DEO             1500012349593               Gas           Non Aggregation - OH
DUKE            6270368702                  Gas           Non Aggregation - OH   DEO             1500028715590               Gas           Non Aggregation - OH
DUKE            8180362201                  Gas           Non Aggregation - OH   DEO             2421805303693               Gas           Non Aggregation - OH
DUKE            3180060920                  Gas           Non Aggregation - OH   DEO             9500015214435               Gas           Non Aggregation - OH
DUKE            5050020723                  Gas           Non Aggregation - OH   DEO             6500005938084               Gas           Non Aggregation - OH
DUKE            6280042022                  Gas           Non Aggregation - OH   DEO             3500027322080               Gas           Non Aggregation - OH
DUKE            6740021220                  Gas           Non Aggregation - OH   DEO             9440606632196               Gas           Non Aggregation - OH
DUKE            7740021220                  Gas           Non Aggregation - OH   DEO             7500015278798               Gas           Non Aggregation - OH
DUKE            7770361402                  Gas           Non Aggregation - OH   DEO             1441508336917               Gas           Non Aggregation - OH
DUKE            8840202402                  Gas           Non Aggregation - OH   DEO             6500032625711               Gas           Non Aggregation - OH
DUKE            0480397001                  Gas           Non Aggregation - OH   DEO             8500032366784               Gas           Non Aggregation - OH
DUKE            9220394201                  Gas           Non Aggregation - OH   DEO             8500033630346               Gas           Non Aggregation - OH
DUKE            2030004220                  Gas           Non Aggregation - OH   DEO             1441005805891               Gas           Non Aggregation - OH
DUKE            3770004220                  Gas           Non Aggregation - OH   DEO             2500007453780               Gas           Non Aggregation - OH
DUKE            4710023120                  Gas           Non Aggregation - OH   DEO             4500013095917               Gas           Non Aggregation - OH
DUKE            6400215102                  Gas           Non Aggregation - OH   DEO             5500011625148               Gas           Non Aggregation - OH
DUKE            7400215101                  Gas           Non Aggregation - OH   DEO             9441907146633               Gas           Non Aggregation - OH
DUKE            9960078524                  Gas           Non Aggregation - OH   DEO             1440603283035               Gas           Non Aggregation - OH
VEDO            4015623072630310            Gas           Non Aggregation - OH   DEO             9440602291660               Gas           Non Aggregation - OH
DUKE            6570396401                  Gas           Non Aggregation - OH   DEO             7421300071358               Gas           Non Aggregation - OH
DUKE            0010061020                  Gas           Non Aggregation - OH   DEO             7500003284960               Gas           Non Aggregation - OH
DUKE            0590353101                  Gas           Non Aggregation - OH   DEO             7500012269662               Gas           Non Aggregation - OH
DUKE            1110042022                  Gas           Non Aggregation - OH   DEO             7500030656592               Gas           Non Aggregation - OH
DUKE            1270042020                  Gas           Non Aggregation - OH   DEO             7500039043919               Gas           Non Aggregation - OH
DUKE            3150020720                  Gas           Non Aggregation - OH   DEO             8440609168264               Gas           Non Aggregation - OH
DEO             2140000003226               Gas           Non Aggregation - OH   DEO             8441400439528               Gas           Non Aggregation - OH
DEO             5500030907962               Gas           Non Aggregation - OH   DEO             8500004535677               Gas           Non Aggregation - OH
COH             109931770257                Gas           Non Aggregation - OH   DEO             8500022174855               Gas           Non Aggregation - OH
COH             108803590033                Gas           Non Aggregation - OH   DEO             8500025907490               Gas           Non Aggregation - OH
COH             108803590051                Gas           Non Aggregation - OH   DEO             8500030845249               Gas           Non Aggregation - OH
COH             129036910055                Gas           Non Aggregation - OH   DEO             8500034101829               Gas           Non Aggregation - OH
COH             209013760012                Gas           Non Aggregation - OH   DEO             9440302915557               Gas           Non Aggregation - OH
COH             190411470173                Gas           Non Aggregation - OH   DEO             9440508255978               Gas           Non Aggregation - OH
DEO             4500048568442               Gas           Non Aggregation - OH   DEO             9441001406700               Gas           Non Aggregation - OH
COH             174439200019                Gas           Non Aggregation - OH   DEO             6420803339446               Gas           Non Aggregation - OH
COH             146118700090                Gas           Non Aggregation - OH   DEO             6422004837461               Gas           Non Aggregation - OH
COH             146118700205                Gas           Non Aggregation - OH   DEO             6500022754983               Gas           Non Aggregation - OH
COH             191681100016                Gas           Non Aggregation - OH   DEO             7392000000064               Gas           Non Aggregation - OH
COH             132717120614                Gas           Non Aggregation - OH   DEO             2500006507774               Gas           Non Aggregation - OH
COH             132717120874                Gas           Non Aggregation - OH   DEO             2500029374998               Gas           Non Aggregation - OH
COH             132717120838                Gas           Non Aggregation - OH   DEO             2500036170553               Gas           Non Aggregation - OH
COH             132717120632                Gas           Non Aggregation - OH   DEO             3420200330471               Gas           Non Aggregation - OH
DEO             1421002162382               Gas           Non Aggregation - OH   DEO             3441004509813               Gas           Non Aggregation - OH
COH             207179170027                Gas           Non Aggregation - OH   DEO             3441403857451               Gas           Non Aggregation - OH
COH             194986520037                Gas           Non Aggregation - OH   DEO             4500042303986               Gas           Non Aggregation - OH
COH             205137370025                Gas           Non Aggregation - OH   DEO             4500008312282               Gas           Non Aggregation - OH
COH             204728420013                Gas           Non Aggregation - OH   DEO             4500011873584               Gas           Non Aggregation - OH
COH             199580040024                Gas           Non Aggregation - OH   DEO             4500030747981               Gas           Non Aggregation - OH
COH             208118690034                Gas           Non Aggregation - OH   DEO             4500031934744               Gas           Non Aggregation - OH
VEDO            4021690892474978            Gas           Non Aggregation - OH   DEO             5441202278108               Gas           Non Aggregation - OH
DEO             8180012976494               Gas           Non Aggregation - OH   DEO             7440404937780               Gas           Non Aggregation - OH
DUKE            7550206705                  Gas           Non Aggregation - OH   DEO             7441405256168               Gas           Non Aggregation - OH
DEO             5420200484745               Gas           Non Aggregation - OH   DEO             7500030621281               Gas           Non Aggregation - OH
DEO             5420200484759               Gas           Non Aggregation - OH   DEO             7500031380023               Gas           Non Aggregation - OH
DEO             3500035637192               Gas           Non Aggregation - OH   DEO             8421601441271               Gas           Non Aggregation - OH
DEO             6500027475347               Gas           Non Aggregation - OH   DEO             8440304348110               Gas           Non Aggregation - OH
DEO             1441700255712               Gas           Non Aggregation - OH   DEO             8500019599306               Gas           Non Aggregation - OH
DEO             3441700255747               Gas           Non Aggregation - OH   DEO             0421704095986               Gas           Non Aggregation - OH
DEO             3441700255766               Gas           Non Aggregation - OH   DEO             0440406339697               Gas           Non Aggregation - OH
DEO             3441700255785               Gas           Non Aggregation - OH   DEO             0440702567038               Gas           Non Aggregation - OH
DEO             3441700255799               Gas           Non Aggregation - OH   DEO             0440805081322               Gas           Non Aggregation - OH
DEO             3441700255802               Gas           Non Aggregation - OH   DEO             0500010953546               Gas           Non Aggregation - OH
COH             209927700017                Gas           Non Aggregation - OH   DEO             1421000162692               Gas           Non Aggregation - OH
COH             186589610030                Gas           Non Aggregation - OH   DEO             1500017418236               Gas           Non Aggregation - OH
DEO             7500028124218               Gas           Non Aggregation - OH   DEO             1500022673147               Gas           Non Aggregation - OH
VEDO            4016351082589308            Gas           Non Aggregation - OH   DEO             1500024385757               Gas           Non Aggregation - OH
DEO             2500060791502               Gas           Non Aggregation - OH   DEO             1500032886701               Gas           Non Aggregation - OH
COH             208118690098                Gas           Non Aggregation - OH   DEO             1500036565235               Gas           Non Aggregation - OH
COH             208118690052                Gas           Non Aggregation - OH   DEO             2420505984944               Gas           Non Aggregation - OH
COH             208118690016                Gas           Non Aggregation - OH   DEO             4500024555963               Gas           Non Aggregation - OH
COH             208118690070                Gas           Non Aggregation - OH   DEO             9500017231854               Gas           Non Aggregation - OH
VEDO            4001026792102589            Gas           Non Aggregation - OH   DEO             1500027900029               Gas           Non Aggregation - OH
COH             130026650549                Gas           Non Aggregation - OH   DEO             5441100375246               Gas           Non Aggregation - OH
VEDO            4017736362524163            Gas           Non Aggregation - OH   DEO             0441100375239               Gas           Non Aggregation - OH
COH             127321080011                Gas           Non Aggregation - OH   DEO             8440400649600               Gas           Non Aggregation - OH
COH             111370380013                Gas           Non Aggregation - OH   DEO             7500008937943               Gas           Non Aggregation - OH
COH             211031620019                Gas           Non Aggregation - OH   DEO             5440400650033               Gas           Non Aggregation - OH
COH             187881900010                Gas           Non Aggregation - OH   DEO             1500035442177               Gas           Non Aggregation - OH
DEO             9500042881193               Gas           Non Aggregation - OH   DEO             2441407600932               Gas           Non Aggregation - OH
VEDO            4005137132526206            Gas           Non Aggregation - OH   DEO             2441407684106               Gas           Non Aggregation - OH
DEO             7180004962539               Gas           Non Aggregation - OH   DEO             9420803074762               Gas           Non Aggregation - OH
VEDO            4021715562436318            Gas           Non Aggregation - OH   DEO             3441506897855               Gas           Non Aggregation - OH
VEDO            4015226522264662            Gas           Non Aggregation - OH   DEO             3500005577632               Gas           Non Aggregation - OH
DEO             6180003353533               Gas           Non Aggregation - OH   DEO             3500029337203               Gas           Non Aggregation - OH
VEDO            4021429092503243            Gas           Non Aggregation - OH   DEO             6500020991399               Gas           Non Aggregation - OH
VEDO            4002268412375814            Gas           Non Aggregation - OH   DEO             6500033128095               Gas           Non Aggregation - OH
VEDO            4020212352648298            Gas           Non Aggregation - OH   DEO             7500009993144               Gas           Non Aggregation - OH
DEO             8421603215100               Gas           Non Aggregation - OH   DEO             6440700110967               Gas           Non Aggregation - OH
DEO             5500052032870               Gas           Non Aggregation - OH   DEO             6441205823402               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DEO             5500062224297               Gas           Non Aggregation - OH   DEO             7440801336218               Gas           Non Aggregation - OH
COH             117360070022                Gas           Non Aggregation - OH   DEO             7500019947956               Gas           Non Aggregation - OH
DEO             4421904165973               Gas           Non Aggregation - OH   DEO             7500025126713               Gas           Non Aggregation - OH
VEDO            4017878232340887            Gas           Non Aggregation - OH   DEO             7500037253827               Gas           Non Aggregation - OH
VEDO            4003752932480025            Gas           Non Aggregation - OH   DEO             7500037877526               Gas           Non Aggregation - OH
DEO             0440308284374               Gas           Non Aggregation - OH   DEO             8500006617545               Gas           Non Aggregation - OH
DEO             2180007318836               Gas           Non Aggregation - OH   DEO             8500020106229               Gas           Non Aggregation - OH
COH             172268600010                Gas           Non Aggregation - OH   DEO             6500045039733               Gas           Non Aggregation - OH
DEO             2180016384803               Gas           Non Aggregation - OH   DEO             5500006108929               Gas           Non Aggregation - OH
DEO             3500004364434               Gas           Non Aggregation - OH   DEO             5500015756077               Gas           Non Aggregation - OH
DEO             3500012443836               Gas           Non Aggregation - OH   DEO             5500019038735               Gas           Non Aggregation - OH
DEO             7441700255701               Gas           Non Aggregation - OH   DEO             5500023179435               Gas           Non Aggregation - OH
DEO             9441700255735               Gas           Non Aggregation - OH   DEO             5500036460808               Gas           Non Aggregation - OH
DEO             0500007992941               Gas           Non Aggregation - OH   DEO             5500036498183               Gas           Non Aggregation - OH
DEO             6441700255729               Gas           Non Aggregation - OH   DEO             8441900343141               Gas           Non Aggregation - OH
DEO             3441700255770               Gas           Non Aggregation - OH   DEO             0500012364405               Gas           Non Aggregation - OH
DEO             3441700255751               Gas           Non Aggregation - OH   DEO             1441201895110               Gas           Non Aggregation - OH
DEO             2180013531305               Gas           Non Aggregation - OH   DEO             2440204338583               Gas           Non Aggregation - OH
COH             124511580016                Gas           Non Aggregation - OH   DEO             4440306387123               Gas           Non Aggregation - OH
VEDO            4018020602296700            Gas           Non Aggregation - OH   DEO             5421005089985               Gas           Non Aggregation - OH
COH             144034580014                Gas           Non Aggregation - OH   DEO             8441906814105               Gas           Non Aggregation - OH
VEDO            4002335362228526            Gas           Non Aggregation - OH   DEO             3440508488992               Gas           Non Aggregation - OH
COH             129364860051                Gas           Non Aggregation - OH   DEO             3440902524920               Gas           Non Aggregation - OH
COH             148826890025                Gas           Non Aggregation - OH   DEO             3500021441967               Gas           Non Aggregation - OH
COH             206327070024                Gas           Non Aggregation - OH   DEO             4440307192613               Gas           Non Aggregation - OH
COH             150992430222                Gas           Non Aggregation - OH   DEO             4441407749410               Gas           Non Aggregation - OH
COH             201234210044                Gas           Non Aggregation - OH   DEO             4441407749425               Gas           Non Aggregation - OH
COH             149732810118                Gas           Non Aggregation - OH   DEO             4500010382622               Gas           Non Aggregation - OH
COH             150992430026                Gas           Non Aggregation - OH   DEO             4500039027798               Gas           Non Aggregation - OH
COH             201234210035                Gas           Non Aggregation - OH   DEO             5440405477177               Gas           Non Aggregation - OH
COH             198235050015                Gas           Non Aggregation - OH   DEO             5441200419725               Gas           Non Aggregation - OH
COH             198437740012                Gas           Non Aggregation - OH   DEO             5500034300057               Gas           Non Aggregation - OH
VEDO            4021311982530540            Gas           Non Aggregation - OH   DEO             6441300991137               Gas           Non Aggregation - OH
DEO             9500025592921               Gas           Non Aggregation - OH   DEO             6500012941239               Gas           Non Aggregation - OH
DUKE            1070024220                  Gas           Non Aggregation - OH   DEO             6500024820029               Gas           Non Aggregation - OH
COH             197718650016                Gas           Non Aggregation - OH   DEO             6500025739631               Gas           Non Aggregation - OH
COH             197718650034                Gas           Non Aggregation - OH   DEO             9422001946103               Gas           Non Aggregation - OH
VEDO            4001571992648587            Gas           Non Aggregation - OH   DEO             9440507470560               Gas           Non Aggregation - OH
DEO             7500061917611               Gas           Non Aggregation - OH   DEO             9441506338894               Gas           Non Aggregation - OH
DEO             8180004027444               Gas           Non Aggregation - OH   DEO             9500031333137               Gas           Non Aggregation - OH
DEO             4421900546079               Gas           Non Aggregation - OH   DEO             9500036621821               Gas           Non Aggregation - OH
COH             135253420014                Gas           Non Aggregation - OH   DEO             9500038672004               Gas           Non Aggregation - OH
DUKE            7410365009                  Gas           Non Aggregation - OH   DEO             5500019030543               Gas           Non Aggregation - OH
DUKE            3600216701                  Gas           Non Aggregation - OH   DEO             2500028801073               Gas           Non Aggregation - OH
DEO             5500002952319               Gas           Non Aggregation - OH   DEO             3441800254256               Gas           Non Aggregation - OH
DEO             4500044537821               Gas           Non Aggregation - OH   DEO             3500043707888               Gas           Non Aggregation - OH
DEO             3421003077872               Gas           Non Aggregation - OH   DEO             4140000099631               Gas           Non Aggregation - OH
COH             169014500031                Gas           Non Aggregation - OH   DEO             4440303508397               Gas           Non Aggregation - OH
DEO             7180017609576               Gas           Non Aggregation - OH   DEO             4500006235276               Gas           Non Aggregation - OH
DEO             0440108363522               Gas           Non Aggregation - OH   DEO             4500043298902               Gas           Non Aggregation - OH
COH             159123480019                Gas           Non Aggregation - OH   DEO             5421601374948               Gas           Non Aggregation - OH
COH             111646330063                Gas           Non Aggregation - OH   DEO             5440609280091               Gas           Non Aggregation - OH
COH             190411470235                Gas           Non Aggregation - OH   DEO             5440804464964               Gas           Non Aggregation - OH
COH             117099520022                Gas           Non Aggregation - OH   DEO             5441001855557               Gas           Non Aggregation - OH
COH             133222900038                Gas           Non Aggregation - OH   DEO             5500013860201               Gas           Non Aggregation - OH
DUKE            2390026937                  Gas           Non Aggregation - OH   DEO             6421801046811               Gas           Non Aggregation - OH
COH             196850030035                Gas           Non Aggregation - OH   DEO             2500026709183               Gas           Non Aggregation - OH
COH             200959140026                Gas           Non Aggregation - OH   DEO             2500032690352               Gas           Non Aggregation - OH
COH             114738790014                Gas           Non Aggregation - OH   DEO             2500034321485               Gas           Non Aggregation - OH
COH             114738790023                Gas           Non Aggregation - OH   DEO             3440801079507               Gas           Non Aggregation - OH
VEDO            4004371852441312            Gas           Non Aggregation - OH   DEO             3440907888437               Gas           Non Aggregation - OH
COH             197818630018                Gas           Non Aggregation - OH   DEO             3500028356048               Gas           Non Aggregation - OH
DUKE            6750070535                  Gas           Non Aggregation - OH   DEO             3500032180205               Gas           Non Aggregation - OH
COH             208911190019                Gas           Non Aggregation - OH   DEO             5440103953299               Gas           Non Aggregation - OH
COH             187351720039                Gas           Non Aggregation - OH   DEO             7440801950302               Gas           Non Aggregation - OH
COH             131394090029                Gas           Non Aggregation - OH   DEO             7440906655532               Gas           Non Aggregation - OH
COH             114923220056                Gas           Non Aggregation - OH   DEO             7441007550546               Gas           Non Aggregation - OH
COH             114923220074                Gas           Non Aggregation - OH   DEO             7441903419706               Gas           Non Aggregation - OH
COH             161649620048                Gas           Non Aggregation - OH   DEO             7500027441203               Gas           Non Aggregation - OH
COH             200120660079                Gas           Non Aggregation - OH   DEO             8421002008361               Gas           Non Aggregation - OH
COH             200120660097                Gas           Non Aggregation - OH   DEO             8441202150111               Gas           Non Aggregation - OH
COH             200120660113                Gas           Non Aggregation - OH   DEO             8442000557747               Gas           Non Aggregation - OH
COH             127633330295                Gas           Non Aggregation - OH   DEO             8500002241799               Gas           Non Aggregation - OH
COH             127633330311                Gas           Non Aggregation - OH   DEO             8500016316825               Gas           Non Aggregation - OH
COH             201772690026                Gas           Non Aggregation - OH   DEO             9140000036362               Gas           Non Aggregation - OH
COH             204466770016                Gas           Non Aggregation - OH   DEO             9441003839748               Gas           Non Aggregation - OH
VEDO            4002768762271753            Gas           Non Aggregation - OH   DEO             9441006399980               Gas           Non Aggregation - OH
COH             204580110012                Gas           Non Aggregation - OH   DEO             9441401732646               Gas           Non Aggregation - OH
COH             192946630021                Gas           Non Aggregation - OH   DEO             4441006452079               Gas           Non Aggregation - OH
COH             203520640018                Gas           Non Aggregation - OH   DEO             4441808362954               Gas           Non Aggregation - OH
DEO             1180010997426               Gas           Non Aggregation - OH   DEO             4500003210900               Gas           Non Aggregation - OH
COH             204504950016                Gas           Non Aggregation - OH   DEO             4500011771960               Gas           Non Aggregation - OH
COH             202633510026                Gas           Non Aggregation - OH   DEO             5440704288407               Gas           Non Aggregation - OH
DEO             2440705302289               Gas           Non Aggregation - OH   DEO             5441307377285               Gas           Non Aggregation - OH
COH             138410210057                Gas           Non Aggregation - OH   DEO             5441401177836               Gas           Non Aggregation - OH
COH             124092660019                Gas           Non Aggregation - OH   DEO             5441604303129               Gas           Non Aggregation - OH
COH             205504770013                Gas           Non Aggregation - OH   DEO             5500003147518               Gas           Non Aggregation - OH
COH             109700960014                Gas           Non Aggregation - OH   DEO             5500005309697               Gas           Non Aggregation - OH
COH             196742140013                Gas           Non Aggregation - OH   DEO             5500035005230               Gas           Non Aggregation - OH
COH             190411470137                Gas           Non Aggregation - OH   DEO             6421805165347               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             190411470093                Gas           Non Aggregation - OH   DEO             6500009757947               Gas           Non Aggregation - OH
DEO             2500067279837               Gas           Non Aggregation - OH   DEO             9440804938941               Gas           Non Aggregation - OH
COH             132214630015                Gas           Non Aggregation - OH   DEO             9441508390843               Gas           Non Aggregation - OH
DEO             8421905148478               Gas           Non Aggregation - OH   DEO             9500016120621               Gas           Non Aggregation - OH
DEO             9500052980124               Gas           Non Aggregation - OH   DEO             9500021415558               Gas           Non Aggregation - OH
DEO             4500066502109               Gas           Non Aggregation - OH   DEO             9500048062634               Gas           Non Aggregation - OH
VEDO            4017614022314167            Gas           Non Aggregation - OH   DEO             1440105604696               Gas           Non Aggregation - OH
VEDO            4015741822418346            Gas           Non Aggregation - OH   DEO             1441504296625               Gas           Non Aggregation - OH
VEDO            4015741822316704            Gas           Non Aggregation - OH   DEO             1441704504578               Gas           Non Aggregation - OH
VEDO            4001924632378553            Gas           Non Aggregation - OH   DEO             2440607170218               Gas           Non Aggregation - OH
DEO             9442105075399               Gas           Non Aggregation - OH   DEO             2440907674012               Gas           Non Aggregation - OH
DEO             0420301946087               Gas           Non Aggregation - OH   DEO             2441400439539               Gas           Non Aggregation - OH
DEO             2500008897540               Gas           Non Aggregation - OH   DEO             2500017913551               Gas           Non Aggregation - OH
DEO             3441000218759               Gas           Non Aggregation - OH   DEO             2500019156520               Gas           Non Aggregation - OH
DEO             2441003079299               Gas           Non Aggregation - OH   DEO             2440401252105               Gas           Non Aggregation - OH
VEDO            4003905412295395            Gas           Non Aggregation - OH   DEO             6500039796346               Gas           Non Aggregation - OH
VEDO            4003905412346975            Gas           Non Aggregation - OH   DEO             7500027769560               Gas           Non Aggregation - OH
COH             194150560012                Gas           Non Aggregation - OH   DEO             0440208348248               Gas           Non Aggregation - OH
DEO             3120000172685               Gas           Non Aggregation - OH   DEO             1421306228667               Gas           Non Aggregation - OH
DEO             4421906207838               Gas           Non Aggregation - OH   DEO             2441604452385               Gas           Non Aggregation - OH
DEO             5500023559976               Gas           Non Aggregation - OH   DEO             3441603642718               Gas           Non Aggregation - OH
DEO             6500035268392               Gas           Non Aggregation - OH   DEO             4440606789637               Gas           Non Aggregation - OH
DEO             3420700247330               Gas           Non Aggregation - OH   DEO             5500024785645               Gas           Non Aggregation - OH
DEO             9441704771380               Gas           Non Aggregation - OH   DEO             5500026758377               Gas           Non Aggregation - OH
COH             201191680020                Gas           Non Aggregation - OH   DEO             6440704568925               Gas           Non Aggregation - OH
DUKE            7150012533                  Gas           Non Aggregation - OH   DEO             6500018364648               Gas           Non Aggregation - OH
DEO             7420102368796               Gas           Non Aggregation - OH   DEO             7440001515927               Gas           Non Aggregation - OH
DEO             9420300640558               Gas           Non Aggregation - OH   DEO             7500008379786               Gas           Non Aggregation - OH
DEO             0180011313788               Gas           Non Aggregation - OH   DEO             7500025536478               Gas           Non Aggregation - OH
COH             124225130017                Gas           Non Aggregation - OH   DEO             7500034079437               Gas           Non Aggregation - OH
COH             135627030059                Gas           Non Aggregation - OH   DEO             8440306166465               Gas           Non Aggregation - OH
COH             135627030068                Gas           Non Aggregation - OH   DEO             8441401081711               Gas           Non Aggregation - OH
COH             135627030040                Gas           Non Aggregation - OH   DEO             8500007272196               Gas           Non Aggregation - OH
COH             135627030095                Gas           Non Aggregation - OH   DEO             8500032335670               Gas           Non Aggregation - OH
COH             135627030077                Gas           Non Aggregation - OH   DEO             9420705091497               Gas           Non Aggregation - OH
COH             135627030086                Gas           Non Aggregation - OH   DEO             9420705091500               Gas           Non Aggregation - OH
COH             110597780065                Gas           Non Aggregation - OH   DEO             2500018589503               Gas           Non Aggregation - OH
COH             110597780056                Gas           Non Aggregation - OH   DEO             3420102428288               Gas           Non Aggregation - OH
COH             120478980116                Gas           Non Aggregation - OH   DEO             8421601950585               Gas           Non Aggregation - OH
VEDO            4015276952203091            Gas           Non Aggregation - OH   DEO             9420905089242               Gas           Non Aggregation - OH
COH             157778290014                Gas           Non Aggregation - OH   DEO             4500030939725               Gas           Non Aggregation - OH
COH             157778290032                Gas           Non Aggregation - OH   DEO             5441700468906               Gas           Non Aggregation - OH
COH             110559500018                Gas           Non Aggregation - OH   DEO             8440102761779               Gas           Non Aggregation - OH
DEO             2180002767679               Gas           Non Aggregation - OH   DEO             0120000003732               Gas           Non Aggregation - OH
DEO             6180014615535               Gas           Non Aggregation - OH   DEO             3421205326213               Gas           Non Aggregation - OH
DEO             6421505498172               Gas           Non Aggregation - OH   DEO             4421004136914               Gas           Non Aggregation - OH
DEO             9180010998103               Gas           Non Aggregation - OH   DEO             4500009951243               Gas           Non Aggregation - OH
DEO             9500065528507               Gas           Non Aggregation - OH   DEO             6120000003720               Gas           Non Aggregation - OH
DEO             8420803822757               Gas           Non Aggregation - OH   DEO             9500037002811               Gas           Non Aggregation - OH
DEO             1180009505910               Gas           Non Aggregation - OH   DEO             9500037002859               Gas           Non Aggregation - OH
DEO             8500021747984               Gas           Non Aggregation - OH   DEO             0441103696492               Gas           Non Aggregation - OH
VEDO            4017055682119744            Gas           Non Aggregation - OH   DEO             0500005810994               Gas           Non Aggregation - OH
DEO             7421505340974               Gas           Non Aggregation - OH   DEO             0500014358458               Gas           Non Aggregation - OH
DEO             8180006073193               Gas           Non Aggregation - OH   DEO             0500031872929               Gas           Non Aggregation - OH
COH             172009810032                Gas           Non Aggregation - OH   DEO             1441007679459               Gas           Non Aggregation - OH
DEO             6500018057937               Gas           Non Aggregation - OH   DEO             1441606646772               Gas           Non Aggregation - OH
VEDO            4015051852464486            Gas           Non Aggregation - OH   DEO             1500007357382               Gas           Non Aggregation - OH
DEO             2420502158132               Gas           Non Aggregation - OH   DEO             1500011348808               Gas           Non Aggregation - OH
DEO             7180010670051               Gas           Non Aggregation - OH   DEO             7440806327505               Gas           Non Aggregation - OH
DEO             8500051066515               Gas           Non Aggregation - OH   DEO             8422102502198               Gas           Non Aggregation - OH
DEO             1180010866323               Gas           Non Aggregation - OH   DEO             2420501859687               Gas           Non Aggregation - OH
DEO             2180007566066               Gas           Non Aggregation - OH   DEO             2500039483604               Gas           Non Aggregation - OH
COH             168302310013                Gas           Non Aggregation - OH   DEO             3440604601844               Gas           Non Aggregation - OH
DEO             5500060890881               Gas           Non Aggregation - OH   DEO             3500015962931               Gas           Non Aggregation - OH
DEO             6500048679758               Gas           Non Aggregation - OH   DEO             3500028419407               Gas           Non Aggregation - OH
DEO             2500010134650               Gas           Non Aggregation - OH   DEO             4440403274829               Gas           Non Aggregation - OH
DEO             0180003960928               Gas           Non Aggregation - OH   DEO             4440705121927               Gas           Non Aggregation - OH
DEO             0180010166399               Gas           Non Aggregation - OH   DEO             4441007467079               Gas           Non Aggregation - OH
DEO             3500055223759               Gas           Non Aggregation - OH   DEO             4441201288979               Gas           Non Aggregation - OH
DEO             3500065843592               Gas           Non Aggregation - OH   DEO             4500002943001               Gas           Non Aggregation - OH
COH             124213830015                Gas           Non Aggregation - OH   DEO             4500005389940               Gas           Non Aggregation - OH
COH             203630000019                Gas           Non Aggregation - OH   DEO             4500006472841               Gas           Non Aggregation - OH
COH             120335550010                Gas           Non Aggregation - OH   DEO             5420506057669               Gas           Non Aggregation - OH
DEO             7180007661060               Gas           Non Aggregation - OH   DEO             5421004216426               Gas           Non Aggregation - OH
VEDO            4020896032673245            Gas           Non Aggregation - OH   DEO             5440907696036               Gas           Non Aggregation - OH
COH             205493530018                Gas           Non Aggregation - OH   DEO             9500033678804               Gas           Non Aggregation - OH
COH             208286860015                Gas           Non Aggregation - OH   DEO             1500011148553               Gas           Non Aggregation - OH
COH             205504770040                Gas           Non Aggregation - OH   DEO             4422104523205               Gas           Non Aggregation - OH
COH             209401170013                Gas           Non Aggregation - OH   DEO             1441608434982               Gas           Non Aggregation - OH
COH             189589790129                Gas           Non Aggregation - OH   DEO             8500003065774               Gas           Non Aggregation - OH
COH             134650820028                Gas           Non Aggregation - OH   DEO             9500035286204               Gas           Non Aggregation - OH
COH             124506630016                Gas           Non Aggregation - OH   DEO             5440403746688               Gas           Non Aggregation - OH
DEO             0180014950064               Gas           Non Aggregation - OH   DEO             6420400027544               Gas           Non Aggregation - OH
DEO             0500061929251               Gas           Non Aggregation - OH   DEO             6421204677861               Gas           Non Aggregation - OH
COH             208787880019                Gas           Non Aggregation - OH   DEO             7440307641725               Gas           Non Aggregation - OH
DEO             6420601364917               Gas           Non Aggregation - OH   DEO             7422102878668               Gas           Non Aggregation - OH
DEO             1500031331439               Gas           Non Aggregation - OH   DEO             5442006490005               Gas           Non Aggregation - OH
DEO             9441602700584               Gas           Non Aggregation - OH   DEO             5500016985838               Gas           Non Aggregation - OH
DEO             7140000066749               Gas           Non Aggregation - OH   DEO             6500048485864               Gas           Non Aggregation - OH
DEO             7500002457245               Gas           Non Aggregation - OH   DEO             8421906451060               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DEO             7441001605174               Gas           Non Aggregation - OH   DEO             9500032885295               Gas           Non Aggregation - OH
DEO             8440907291666               Gas           Non Aggregation - OH   DEO             5500023629286               Gas           Non Aggregation - OH
COH             110580140019                Gas           Non Aggregation - OH   DEO             9500019539122               Gas           Non Aggregation - OH
COH             112366200027                Gas           Non Aggregation - OH   DEO             0421603267620               Gas           Non Aggregation - OH
COH             115982570012                Gas           Non Aggregation - OH   DEO             0441208229984               Gas           Non Aggregation - OH
COH             124410530010                Gas           Non Aggregation - OH   DEO             0500034348584               Gas           Non Aggregation - OH
COH             127494390011                Gas           Non Aggregation - OH   DEO             1500021050025               Gas           Non Aggregation - OH
COH             130483940013                Gas           Non Aggregation - OH   DEO             2500026242364               Gas           Non Aggregation - OH
COH             152660700093                Gas           Non Aggregation - OH   DEO             3440103232855               Gas           Non Aggregation - OH
COH             154384730037                Gas           Non Aggregation - OH   DEO             3500006844808               Gas           Non Aggregation - OH
COH             158228990011                Gas           Non Aggregation - OH   DEO             3500012755081               Gas           Non Aggregation - OH
COH             160521941934                Gas           Non Aggregation - OH   DEO             3500036876750               Gas           Non Aggregation - OH
COH             160825160015                Gas           Non Aggregation - OH   DEO             4441008033093               Gas           Non Aggregation - OH
COH             166745850014                Gas           Non Aggregation - OH   DEO             6500015696001               Gas           Non Aggregation - OH
COH             166821250269                Gas           Non Aggregation - OH   DEO             0440701187862               Gas           Non Aggregation - OH
COH             168230760012                Gas           Non Aggregation - OH   DEO             0441402749384               Gas           Non Aggregation - OH
COH             169061840086                Gas           Non Aggregation - OH   DEO             0500010419968               Gas           Non Aggregation - OH
DEO             4500032414740               Gas           Non Aggregation - OH   DEO             0500021175827               Gas           Non Aggregation - OH
COH             205448980019                Gas           Non Aggregation - OH   DEO             1500033553473               Gas           Non Aggregation - OH
DEO             4180004789946               Gas           Non Aggregation - OH   DEO             0500017594836               Gas           Non Aggregation - OH
DEO             2422106150605               Gas           Non Aggregation - OH   DEO             1120000151005               Gas           Non Aggregation - OH
DEO             5180001354211               Gas           Non Aggregation - OH   DEO             5440704674778               Gas           Non Aggregation - OH
COH             113231390013                Gas           Non Aggregation - OH   DEO             2421203854459               Gas           Non Aggregation - OH
DEO             4180012785252               Gas           Non Aggregation - OH   DEO             2500036976325               Gas           Non Aggregation - OH
COH             134728930057                Gas           Non Aggregation - OH   DEO             4330000010811               Gas           Non Aggregation - OH
COH             193499850014                Gas           Non Aggregation - OH   DEO             4420605887892               Gas           Non Aggregation - OH
COH             193499850032                Gas           Non Aggregation - OH   DEO             4440403640603               Gas           Non Aggregation - OH
DEO             4500045141711               Gas           Non Aggregation - OH   DEO             0421902155224               Gas           Non Aggregation - OH
COH             100915430037                Gas           Non Aggregation - OH   DEO             0441102519361               Gas           Non Aggregation - OH
COH             193499830018                Gas           Non Aggregation - OH   DEO             0500008614779               Gas           Non Aggregation - OH
COH             202724130014                Gas           Non Aggregation - OH   DEO             4421104009412               Gas           Non Aggregation - OH
DEO             8440303139916               Gas           Non Aggregation - OH   DEO             6421501236769               Gas           Non Aggregation - OH
DEO             9180009812683               Gas           Non Aggregation - OH   DEO             6442104647932               Gas           Non Aggregation - OH
COH             174304820014                Gas           Non Aggregation - OH   DEO             8421204913955               Gas           Non Aggregation - OH
COH             186005900017                Gas           Non Aggregation - OH   DEO             0441703480402               Gas           Non Aggregation - OH
COH             132764700015                Gas           Non Aggregation - OH   DEO             0500033459582               Gas           Non Aggregation - OH
COH             112301120048                Gas           Non Aggregation - OH   DEO             1440806270114               Gas           Non Aggregation - OH
COH             199316860030                Gas           Non Aggregation - OH   DEO             1500027445820               Gas           Non Aggregation - OH
COH             199316860049                Gas           Non Aggregation - OH   DEO             1500030019441               Gas           Non Aggregation - OH
COH             113096860030                Gas           Non Aggregation - OH   DEO             3500004575969               Gas           Non Aggregation - OH
COH             111132750019                Gas           Non Aggregation - OH   DEO             1440103859299               Gas           Non Aggregation - OH
COH             133234040016                Gas           Non Aggregation - OH   DEO             1440507396177               Gas           Non Aggregation - OH
COH             140863540028                Gas           Non Aggregation - OH   DEO             5500042811537               Gas           Non Aggregation - OH
COH             141401910045                Gas           Non Aggregation - OH   DEO             0500036328908               Gas           Non Aggregation - OH
COH             158095970018                Gas           Non Aggregation - OH   DEO             1500024265810               Gas           Non Aggregation - OH
COH             166961920011                Gas           Non Aggregation - OH   DEO             2421903111501               Gas           Non Aggregation - OH
COH             167145660015                Gas           Non Aggregation - OH   DEO             3440705409596               Gas           Non Aggregation - OH
COH             162447510011                Gas           Non Aggregation - OH   DEO             3441101499714               Gas           Non Aggregation - OH
COH             109857810014                Gas           Non Aggregation - OH   DEO             3500038116715               Gas           Non Aggregation - OH
COH             115742370012                Gas           Non Aggregation - OH   DEO             4440303478770               Gas           Non Aggregation - OH
COH             114975340025                Gas           Non Aggregation - OH   DEO             6440203462068               Gas           Non Aggregation - OH
COH             114932360012                Gas           Non Aggregation - OH   DEO             7440100665747               Gas           Non Aggregation - OH
COH             170496240015                Gas           Non Aggregation - OH   DEO             8422105585235               Gas           Non Aggregation - OH
COH             110602440018                Gas           Non Aggregation - OH   DEO             2422106053506               Gas           Non Aggregation - OH
COH             158132950012                Gas           Non Aggregation - OH   DEO             4440603855396               Gas           Non Aggregation - OH
COH             140078180010                Gas           Non Aggregation - OH   DEO             4440605081217               Gas           Non Aggregation - OH
COH             148418710018                Gas           Non Aggregation - OH   DEO             4500015918826               Gas           Non Aggregation - OH
COH             172345090014                Gas           Non Aggregation - OH   DEO             6421405749923               Gas           Non Aggregation - OH
COH             108791130027                Gas           Non Aggregation - OH   DEO             6440307303632               Gas           Non Aggregation - OH
COH             152340030010                Gas           Non Aggregation - OH   DEO             9421703205187               Gas           Non Aggregation - OH
COH             127649000013                Gas           Non Aggregation - OH   DEO             2441902734732               Gas           Non Aggregation - OH
COH             122176780018                Gas           Non Aggregation - OH   DEO             8440102127141               Gas           Non Aggregation - OH
COH             147859720013                Gas           Non Aggregation - OH   DEO             1500023489180               Gas           Non Aggregation - OH
COH             113399190093                Gas           Non Aggregation - OH   DEO             2440903126374               Gas           Non Aggregation - OH
COH             112997380023                Gas           Non Aggregation - OH   DEO             3440406287828               Gas           Non Aggregation - OH
COH             135977500022                Gas           Non Aggregation - OH   DEO             3500021735216               Gas           Non Aggregation - OH
COH             133959330028                Gas           Non Aggregation - OH   DEO             4441602719663               Gas           Non Aggregation - OH
COH             138893360018                Gas           Non Aggregation - OH   DEO             8500008510229               Gas           Non Aggregation - OH
COH             129893510026                Gas           Non Aggregation - OH   DEO             8500017046820               Gas           Non Aggregation - OH
COH             115028930018                Gas           Non Aggregation - OH   DEO             9440507267867               Gas           Non Aggregation - OH
COH             156776420039                Gas           Non Aggregation - OH   DEO             9500032157766               Gas           Non Aggregation - OH
COH             150979910014                Gas           Non Aggregation - OH   DEO             1421602812112               Gas           Non Aggregation - OH
COH             134425580017                Gas           Non Aggregation - OH   DEO             6421403604408               Gas           Non Aggregation - OH
COH             176905860010                Gas           Non Aggregation - OH   DEO             6440203889871               Gas           Non Aggregation - OH
COH             155279930064                Gas           Non Aggregation - OH   DEO             9422105177406               Gas           Non Aggregation - OH
COH             155279930073                Gas           Non Aggregation - OH   DEO             9500023796656               Gas           Non Aggregation - OH
COH             155279930046                Gas           Non Aggregation - OH   DEO             4500008531591               Gas           Non Aggregation - OH
COH             155279930055                Gas           Non Aggregation - OH   DEO             0500005746031               Gas           Non Aggregation - OH
COH             117729100014                Gas           Non Aggregation - OH   DEO             2440401915729               Gas           Non Aggregation - OH
COH             119220330094                Gas           Non Aggregation - OH   DEO             6120000112285               Gas           Non Aggregation - OH
COH             119220330076                Gas           Non Aggregation - OH   DEO             6421606590187               Gas           Non Aggregation - OH
COH             142393770025                Gas           Non Aggregation - OH   DEO             6441906637738               Gas           Non Aggregation - OH
COH             122437070013                Gas           Non Aggregation - OH   DEO             7440707662955               Gas           Non Aggregation - OH
COH             122391680013                Gas           Non Aggregation - OH   DEO             8420205911540               Gas           Non Aggregation - OH
COH             124355350016                Gas           Non Aggregation - OH   DEO             8500048389186               Gas           Non Aggregation - OH
COH             185544070011                Gas           Non Aggregation - OH   DEO             6440503135332               Gas           Non Aggregation - OH
COH             133684870019                Gas           Non Aggregation - OH   DEO             6440801152140               Gas           Non Aggregation - OH
COH             133684870037                Gas           Non Aggregation - OH   DEO             2500034989656               Gas           Non Aggregation - OH
COH             133684870055                Gas           Non Aggregation - OH   DEO             3441604798586               Gas           Non Aggregation - OH
COH             166971470015                Gas           Non Aggregation - OH   DEO             5500029198174               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             177202780034                Gas           Non Aggregation - OH   DEO             6440505825854               Gas           Non Aggregation - OH
COH             165208460015                Gas           Non Aggregation - OH   DEO             7500009584792               Gas           Non Aggregation - OH
COH             114980430016                Gas           Non Aggregation - OH   DEO             8441706530870               Gas           Non Aggregation - OH
COH             113219120015                Gas           Non Aggregation - OH   DEO             4500031934373               Gas           Non Aggregation - OH
COH             110634440048                Gas           Non Aggregation - OH   DEO             5420905902801               Gas           Non Aggregation - OH
COH             119211010018                Gas           Non Aggregation - OH   DEO             7500023009450               Gas           Non Aggregation - OH
COH             131527850017                Gas           Non Aggregation - OH   DEO             8500024434213               Gas           Non Aggregation - OH
COH             131527850026                Gas           Non Aggregation - OH   DEO             0500002109647               Gas           Non Aggregation - OH
COH             175900990014                Gas           Non Aggregation - OH   DEO             4440700878760               Gas           Non Aggregation - OH
COH             160737250013                Gas           Non Aggregation - OH   DEO             8441806087510               Gas           Non Aggregation - OH
COH             111257670012                Gas           Non Aggregation - OH   DEO             2500033543304               Gas           Non Aggregation - OH
COH             127475090014                Gas           Non Aggregation - OH   DEO             3500024986751               Gas           Non Aggregation - OH
COH             110427730019                Gas           Non Aggregation - OH   DEO             2421806453015               Gas           Non Aggregation - OH
COH             111244050019                Gas           Non Aggregation - OH   DEO             3440506530683               Gas           Non Aggregation - OH
COH             132476200011                Gas           Non Aggregation - OH   DEO             3500030370983               Gas           Non Aggregation - OH
COH             156330370016                Gas           Non Aggregation - OH   DEO             4500034470915               Gas           Non Aggregation - OH
COH             159164360018                Gas           Non Aggregation - OH   DEO             9440404494834               Gas           Non Aggregation - OH
COH             162653710012                Gas           Non Aggregation - OH   DEO             9500030545554               Gas           Non Aggregation - OH
COH             171656220018                Gas           Non Aggregation - OH   DEO             0441707546296               Gas           Non Aggregation - OH
COH             139747400017                Gas           Non Aggregation - OH   DEO             2441805992659               Gas           Non Aggregation - OH
COH             139739050018                Gas           Non Aggregation - OH   DEO             5500035148469               Gas           Non Aggregation - OH
COH             137395030023                Gas           Non Aggregation - OH   DEO             6440603277826               Gas           Non Aggregation - OH
COH             151984960021                Gas           Non Aggregation - OH   DEO             8440707525609               Gas           Non Aggregation - OH
COH             152013740014                Gas           Non Aggregation - OH   DEO             9500021849325               Gas           Non Aggregation - OH
COH             110986690032                Gas           Non Aggregation - OH   DEO             5421906540440               Gas           Non Aggregation - OH
COH             190174930018                Gas           Non Aggregation - OH   DEO             8421304640301               Gas           Non Aggregation - OH
COH             142388060052                Gas           Non Aggregation - OH   DEO             9500030781704               Gas           Non Aggregation - OH
COH             162526430010                Gas           Non Aggregation - OH   DEO             1440208400141               Gas           Non Aggregation - OH
COH             112384290030                Gas           Non Aggregation - OH   DEO             3441503913605               Gas           Non Aggregation - OH
COH             122020510013                Gas           Non Aggregation - OH   DEO             3500008043836               Gas           Non Aggregation - OH
COH             157194070054                Gas           Non Aggregation - OH   DEO             4440605118625               Gas           Non Aggregation - OH
COH             114816910012                Gas           Non Aggregation - OH   DEO             7500024985905               Gas           Non Aggregation - OH
COH             113686880026                Gas           Non Aggregation - OH   DEO             0500016943368               Gas           Non Aggregation - OH
COH             171341850013                Gas           Non Aggregation - OH   DEO             4500020161682               Gas           Non Aggregation - OH
COH             124578540023                Gas           Non Aggregation - OH   DEO             5500024929912               Gas           Non Aggregation - OH
COH             118020910015                Gas           Non Aggregation - OH   DEO             7420903474473               Gas           Non Aggregation - OH
COH             129851260116                Gas           Non Aggregation - OH   DEO             8421305605281               Gas           Non Aggregation - OH
COH             159940760045                Gas           Non Aggregation - OH   DEO             8441403619045               Gas           Non Aggregation - OH
COH             111297840012                Gas           Non Aggregation - OH   DEO             0500013105233               Gas           Non Aggregation - OH
COH             151371510015                Gas           Non Aggregation - OH   DEO             1500016056871               Gas           Non Aggregation - OH
COH             151278440018                Gas           Non Aggregation - OH   DEO             2440804616291               Gas           Non Aggregation - OH
COH             117263760023                Gas           Non Aggregation - OH   DEO             3500003312400               Gas           Non Aggregation - OH
COH             117269800013                Gas           Non Aggregation - OH   DEO             2441104912518               Gas           Non Aggregation - OH
COH             117268500018                Gas           Non Aggregation - OH   DEO             2500024329750               Gas           Non Aggregation - OH
COH             152520310019                Gas           Non Aggregation - OH   DEO             5440305696419               Gas           Non Aggregation - OH
COH             109838850016                Gas           Non Aggregation - OH   DEO             7421204216553               Gas           Non Aggregation - OH
COH             135460540010                Gas           Non Aggregation - OH   DEO             7440207810370               Gas           Non Aggregation - OH
COH             160521941952                Gas           Non Aggregation - OH   DEO             8421602394974               Gas           Non Aggregation - OH
COH             190842370028                Gas           Non Aggregation - OH   DEO             8500023453203               Gas           Non Aggregation - OH
COH             114740760015                Gas           Non Aggregation - OH   DEO             9441000308324               Gas           Non Aggregation - OH
COH             114740760033                Gas           Non Aggregation - OH   DEO             0441101935573               Gas           Non Aggregation - OH
COH             114740760024                Gas           Non Aggregation - OH   DEO             3441107843011               Gas           Non Aggregation - OH
COH             138695150012                Gas           Non Aggregation - OH   DEO             3441707211338               Gas           Non Aggregation - OH
COH             129855340068                Gas           Non Aggregation - OH   DEO             5500041423309               Gas           Non Aggregation - OH
COH             115711030018                Gas           Non Aggregation - OH   DEO             6381000000157               Gas           Non Aggregation - OH
COH             115712490010                Gas           Non Aggregation - OH   DEO             6441302593078               Gas           Non Aggregation - OH
COH             149452000014                Gas           Non Aggregation - OH   DEO             8500026421536               Gas           Non Aggregation - OH
COH             115532780011                Gas           Non Aggregation - OH   DEO             9421606694002               Gas           Non Aggregation - OH
COH             139586370089                Gas           Non Aggregation - OH   DEO             9440502737962               Gas           Non Aggregation - OH
COH             114615690015                Gas           Non Aggregation - OH   DEO             0421002995869               Gas           Non Aggregation - OH
COH             190332540096                Gas           Non Aggregation - OH   DEO             1500028571500               Gas           Non Aggregation - OH
COH             190332540130                Gas           Non Aggregation - OH   DEO             2421005254242               Gas           Non Aggregation - OH
COH             153051680016                Gas           Non Aggregation - OH   DEO             2440506318991               Gas           Non Aggregation - OH
COH             123698780020                Gas           Non Aggregation - OH   DEO             2500006377252               Gas           Non Aggregation - OH
COH             127463840048                Gas           Non Aggregation - OH   DEO             2500011607669               Gas           Non Aggregation - OH
COH             114736320043                Gas           Non Aggregation - OH   DEO             2500020066037               Gas           Non Aggregation - OH
COH             114736920038                Gas           Non Aggregation - OH   DEO             8500015421020               Gas           Non Aggregation - OH
COH             188450920036                Gas           Non Aggregation - OH   DEO             0421605116679               Gas           Non Aggregation - OH
COH             113080590012                Gas           Non Aggregation - OH   DEO             4440407246159               Gas           Non Aggregation - OH
COH             137041040011                Gas           Non Aggregation - OH   DEO             4500012074576               Gas           Non Aggregation - OH
COH             162662840016                Gas           Non Aggregation - OH   DEO             4500015801695               Gas           Non Aggregation - OH
COH             122018160012                Gas           Non Aggregation - OH   DEO             0500038120516               Gas           Non Aggregation - OH
COH             124546980019                Gas           Non Aggregation - OH   DEO             2420902874100               Gas           Non Aggregation - OH
COH             158728950019                Gas           Non Aggregation - OH   DEO             3500009322503               Gas           Non Aggregation - OH
COH             113568010019                Gas           Non Aggregation - OH   DEO             4500027488512               Gas           Non Aggregation - OH
COH             113568020017                Gas           Non Aggregation - OH   DEO             5421804372480               Gas           Non Aggregation - OH
COH             134434160098                Gas           Non Aggregation - OH   DEO             6500033740038               Gas           Non Aggregation - OH
COH             124557180032                Gas           Non Aggregation - OH   DEO             6441408348897               Gas           Non Aggregation - OH
COH             134434160016                Gas           Non Aggregation - OH   DEO             7440108043704               Gas           Non Aggregation - OH
COH             134434160025                Gas           Non Aggregation - OH   DEO             8500002465812               Gas           Non Aggregation - OH
COH             129856260134                Gas           Non Aggregation - OH   DEO             9383000000437               Gas           Non Aggregation - OH
COH             129856260214                Gas           Non Aggregation - OH   DEO             3440906838821               Gas           Non Aggregation - OH
COH             129856260205                Gas           Non Aggregation - OH   DEO             1440704763420               Gas           Non Aggregation - OH
COH             129856260223                Gas           Non Aggregation - OH   DEO             5420902260815               Gas           Non Aggregation - OH
COH             129856260189                Gas           Non Aggregation - OH   DEO             0421802081357               Gas           Non Aggregation - OH
COH             152873600020                Gas           Non Aggregation - OH   DEO             1140000008730               Gas           Non Aggregation - OH
COH             169642860017                Gas           Non Aggregation - OH   DEO             2421901889151               Gas           Non Aggregation - OH
COH             138169680016                Gas           Non Aggregation - OH   DEO             4420203736571               Gas           Non Aggregation - OH
COH             123629450015                Gas           Non Aggregation - OH   DEO             4440903666826               Gas           Non Aggregation - OH
COH             127633330115                Gas           Non Aggregation - OH   DEO             9500022371681               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             166505420012                Gas           Non Aggregation - OH   DEO             1500022196911               Gas           Non Aggregation - OH
COH             124585640027                Gas           Non Aggregation - OH   DEO             4500024644181               Gas           Non Aggregation - OH
COH             177280040017                Gas           Non Aggregation - OH   DEO             8442007508622               Gas           Non Aggregation - OH
COH             140705330017                Gas           Non Aggregation - OH   DEO             1440905387623               Gas           Non Aggregation - OH
COH             124591420048                Gas           Non Aggregation - OH   DEO             1500011706105               Gas           Non Aggregation - OH
COH             111196290021                Gas           Non Aggregation - OH   DEO             5500026316154               Gas           Non Aggregation - OH
COH             148839960041                Gas           Non Aggregation - OH   DEO             6500038165839               Gas           Non Aggregation - OH
COH             125838270018                Gas           Non Aggregation - OH   DEO             9500028934000               Gas           Non Aggregation - OH
COH             125838270027                Gas           Non Aggregation - OH   DEO             1441604276142               Gas           Non Aggregation - OH
COH             125838270036                Gas           Non Aggregation - OH   DEO             1500024606326               Gas           Non Aggregation - OH
COH             114803390046                Gas           Non Aggregation - OH   DEO             4500030473275               Gas           Non Aggregation - OH
COH             114755480031                Gas           Non Aggregation - OH   DEO             8500032433560               Gas           Non Aggregation - OH
COH             114765010010                Gas           Non Aggregation - OH   DEO             0500020182081               Gas           Non Aggregation - OH
COH             114754930029                Gas           Non Aggregation - OH   DEO             1440606649653               Gas           Non Aggregation - OH
COH             157168710018                Gas           Non Aggregation - OH   DEO             1420803023640               Gas           Non Aggregation - OH
COH             158591100018                Gas           Non Aggregation - OH   DEO             1420900520385               Gas           Non Aggregation - OH
COH             109928430013                Gas           Non Aggregation - OH   DEO             7422000061161               Gas           Non Aggregation - OH
COH             109928400019                Gas           Non Aggregation - OH   DEO             7500008910843               Gas           Non Aggregation - OH
COH             112704860156                Gas           Non Aggregation - OH   DEO             1500029568135               Gas           Non Aggregation - OH
COH             112704860174                Gas           Non Aggregation - OH   DEO             2440701445541               Gas           Non Aggregation - OH
COH             187355680012                Gas           Non Aggregation - OH   DEO             8500002758183               Gas           Non Aggregation - OH
COH             177136450016                Gas           Non Aggregation - OH   DEO             3500034370659               Gas           Non Aggregation - OH
COH             187630210016                Gas           Non Aggregation - OH   DEO             6440700087643               Gas           Non Aggregation - OH
COH             174680080014                Gas           Non Aggregation - OH   DEO             1500035732699               Gas           Non Aggregation - OH
COH             146490210264                Gas           Non Aggregation - OH   DEO             7500039375975               Gas           Non Aggregation - OH
COH             150841480034                Gas           Non Aggregation - OH   DEO             9440706655731               Gas           Non Aggregation - OH
COH             158607410018                Gas           Non Aggregation - OH   DEO             2440705323351               Gas           Non Aggregation - OH
COH             114801590146                Gas           Non Aggregation - OH   DEO             8440503071361               Gas           Non Aggregation - OH
COH             114755480059                Gas           Non Aggregation - OH   DEO             9421302864815               Gas           Non Aggregation - OH
COH             130432564301                Gas           Non Aggregation - OH   DEO             9440203565037               Gas           Non Aggregation - OH
COH             141402710018                Gas           Non Aggregation - OH   DEO             0500016198628               Gas           Non Aggregation - OH
COH             141876510035                Gas           Non Aggregation - OH   DEO             0500028804825               Gas           Non Aggregation - OH
COH             157411640016                Gas           Non Aggregation - OH   DEO             1500017407633               Gas           Non Aggregation - OH
COH             150379350023                Gas           Non Aggregation - OH   DEO             2420803755202               Gas           Non Aggregation - OH
COH             151077170182                Gas           Non Aggregation - OH   DEO             2500002594566               Gas           Non Aggregation - OH
COH             150879820042                Gas           Non Aggregation - OH   DEO             5441208009995               Gas           Non Aggregation - OH
COH             111653020054                Gas           Non Aggregation - OH   DEO             7441703327652               Gas           Non Aggregation - OH
COH             191635540011                Gas           Non Aggregation - OH   DEO             8420406415296               Gas           Non Aggregation - OH
COH             123680290020                Gas           Non Aggregation - OH   DEO             4500031399738               Gas           Non Aggregation - OH
COH             124165770066                Gas           Non Aggregation - OH   DEO             4500031448539               Gas           Non Aggregation - OH
COH             152562980137                Gas           Non Aggregation - OH   DEO             5500041602057               Gas           Non Aggregation - OH
COH             127416710179                Gas           Non Aggregation - OH   DEO             6440208308188               Gas           Non Aggregation - OH
COH             116856030020                Gas           Non Aggregation - OH   DEO             6440707697999               Gas           Non Aggregation - OH
COH             118812020102                Gas           Non Aggregation - OH   DEO             7440608138483               Gas           Non Aggregation - OH
COH             119708840048                Gas           Non Aggregation - OH   DEO             9440201374287               Gas           Non Aggregation - OH
COH             151795920011                Gas           Non Aggregation - OH   DEO             9500018663897               Gas           Non Aggregation - OH
COH             155388410053                Gas           Non Aggregation - OH   DEO             3440500489459               Gas           Non Aggregation - OH
COH             133494880010                Gas           Non Aggregation - OH   DEO             1500026970244               Gas           Non Aggregation - OH
COH             136412010020                Gas           Non Aggregation - OH   DEO             8500032189229               Gas           Non Aggregation - OH
COH             144727390168                Gas           Non Aggregation - OH   DEO             8500032238340               Gas           Non Aggregation - OH
COH             144727390140                Gas           Non Aggregation - OH   DEO             5422102246634               Gas           Non Aggregation - OH
COH             146273090082                Gas           Non Aggregation - OH   DEO             8500017987113               Gas           Non Aggregation - OH
COH             170045650014                Gas           Non Aggregation - OH   DEO             6500024874248               Gas           Non Aggregation - OH
COH             131761060035                Gas           Non Aggregation - OH   DEO             3500038202560               Gas           Non Aggregation - OH
DUKE            7660215401                  Gas           Non Aggregation - OH   DEO             0440702949855               Gas           Non Aggregation - OH
DUKE            9470051123                  Gas           Non Aggregation - OH   DEO             4500020941484               Gas           Non Aggregation - OH
DUKE            6810028820                  Gas           Non Aggregation - OH   DEO             6421903517925               Gas           Non Aggregation - OH
DUKE            5810028820                  Gas           Non Aggregation - OH   DEO             5500016328185               Gas           Non Aggregation - OH
DUKE            0740216501                  Gas           Non Aggregation - OH   DEO             8440608479911               Gas           Non Aggregation - OH
DUKE            6810051220                  Gas           Non Aggregation - OH   DEO             8500034002373               Gas           Non Aggregation - OH
DUKE            0900022720                  Gas           Non Aggregation - OH   DEO             0421004774795               Gas           Non Aggregation - OH
DUKE            6010022720                  Gas           Non Aggregation - OH   DEO             3421003053183               Gas           Non Aggregation - OH
DUKE            4010022722                  Gas           Non Aggregation - OH   DEO             3500022601086               Gas           Non Aggregation - OH
DUKE            7010022720                  Gas           Non Aggregation - OH   DEO             7421903742356               Gas           Non Aggregation - OH
DUKE            1430047520                  Gas           Non Aggregation - OH   DEO             8441005602143               Gas           Non Aggregation - OH
DUKE            7170367603                  Gas           Non Aggregation - OH   DEO             9441902068429               Gas           Non Aggregation - OH
DUKE            5490030320                  Gas           Non Aggregation - OH   DEO             2500023437713               Gas           Non Aggregation - OH
DUKE            3540022721                  Gas           Non Aggregation - OH   DEO             0500019837123               Gas           Non Aggregation - OH
DUKE            8780042720                  Gas           Non Aggregation - OH   DEO             4500027586313               Gas           Non Aggregation - OH
DUKE            8880042720                  Gas           Non Aggregation - OH   DEO             1421605325186               Gas           Non Aggregation - OH
DUKE            8390087921                  Gas           Non Aggregation - OH   DEO             2421701215962               Gas           Non Aggregation - OH
DUKE            8380218301                  Gas           Non Aggregation - OH   DEO             9440303276728               Gas           Non Aggregation - OH
DUKE            4390215001                  Gas           Non Aggregation - OH   DEO             2420204947154               Gas           Non Aggregation - OH
DUKE            0410004222                  Gas           Non Aggregation - OH   DEO             4420501581112               Gas           Non Aggregation - OH
DUKE            3580361802                  Gas           Non Aggregation - OH   DEO             5500033219433               Gas           Non Aggregation - OH
DUKE            8310004223                  Gas           Non Aggregation - OH   DEO             6420701951516               Gas           Non Aggregation - OH
DUKE            1360086422                  Gas           Non Aggregation - OH   DEO             6441802692531               Gas           Non Aggregation - OH
DUKE            3490070324                  Gas           Non Aggregation - OH   DEO             3440301345465               Gas           Non Aggregation - OH
DUKE            8950351003                  Gas           Non Aggregation - OH   DEO             3441102615525               Gas           Non Aggregation - OH
DEO             7500013910818               Gas           Non Aggregation - OH   DEO             5500001331614               Gas           Non Aggregation - OH
COH             165799010018                Gas           Non Aggregation - OH   DEO             5500032236413               Gas           Non Aggregation - OH
COH             112704890052                Gas           Non Aggregation - OH   DEO             6500034688655               Gas           Non Aggregation - OH
COH             113189890019                Gas           Non Aggregation - OH   DEO             7421805472946               Gas           Non Aggregation - OH
COH             172001940013                Gas           Non Aggregation - OH   DEO             7441309258647               Gas           Non Aggregation - OH
COH             114770690017                Gas           Non Aggregation - OH   DEO             7500020352800               Gas           Non Aggregation - OH
COH             114770690044                Gas           Non Aggregation - OH   DEO             8500028460010               Gas           Non Aggregation - OH
COH             185299790011                Gas           Non Aggregation - OH   DEO             5421105175232               Gas           Non Aggregation - OH
COH             168405190011                Gas           Non Aggregation - OH   DEO             5500019085797               Gas           Non Aggregation - OH
COH             138155910025                Gas           Non Aggregation - OH   DEO             7440502007305               Gas           Non Aggregation - OH
COH             130786060016                Gas           Non Aggregation - OH   DEO             7500036564240               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             112950040157                Gas           Non Aggregation - OH   DEO             9500030499854               Gas           Non Aggregation - OH
COH             112950040166                Gas           Non Aggregation - OH   DEO             3500018028206               Gas           Non Aggregation - OH
COH             112639780045                Gas           Non Aggregation - OH   DEO             4421601957153               Gas           Non Aggregation - OH
COH             130432563848                Gas           Non Aggregation - OH   DEO             9500025350870               Gas           Non Aggregation - OH
COH             112639780741                Gas           Non Aggregation - OH   DEO             9500007485730               Gas           Non Aggregation - OH
COH             112949050014                Gas           Non Aggregation - OH   DEO             1500014268731               Gas           Non Aggregation - OH
COH             112950040077                Gas           Non Aggregation - OH   DEO             2500041150229               Gas           Non Aggregation - OH
COH             130432564230                Gas           Non Aggregation - OH   DEO             5421202502572               Gas           Non Aggregation - OH
COH             112950040013                Gas           Non Aggregation - OH   DEO             5421900910680               Gas           Non Aggregation - OH
COH             112950040022                Gas           Non Aggregation - OH   DEO             5500030040923               Gas           Non Aggregation - OH
COH             130432560289                Gas           Non Aggregation - OH   DEO             6420304157758               Gas           Non Aggregation - OH
COH             112950040111                Gas           Non Aggregation - OH   DEO             6421805924453               Gas           Non Aggregation - OH
COH             130432560298                Gas           Non Aggregation - OH   DEO             4120000012488               Gas           Non Aggregation - OH
COH             130432562803                Gas           Non Aggregation - OH   DEO             1500028133911               Gas           Non Aggregation - OH
COH             130432562661                Gas           Non Aggregation - OH   DEO             3422102357403               Gas           Non Aggregation - OH
COH             130432564258                Gas           Non Aggregation - OH   DEO             3500032160986               Gas           Non Aggregation - OH
COH             112639780581                Gas           Non Aggregation - OH   DEO             8500028287709               Gas           Non Aggregation - OH
COH             132170570021                Gas           Non Aggregation - OH   DEO             0500020021552               Gas           Non Aggregation - OH
COH             112639780607                Gas           Non Aggregation - OH   DEO             1500024575552               Gas           Non Aggregation - OH
COH             130697110023                Gas           Non Aggregation - OH   DEO             2422104111450               Gas           Non Aggregation - OH
COH             112639780554                Gas           Non Aggregation - OH   DEO             8500003298006               Gas           Non Aggregation - OH
COH             112639780670                Gas           Non Aggregation - OH   DEO             8500032651083               Gas           Non Aggregation - OH
COH             112639780732                Gas           Non Aggregation - OH   DEO             7442105286246               Gas           Non Aggregation - OH
COH             130432560305                Gas           Non Aggregation - OH   DEO             3500014310959               Gas           Non Aggregation - OH
COH             130709650014                Gas           Non Aggregation - OH   DEO             1420402983189               Gas           Non Aggregation - OH
COH             112950040086                Gas           Non Aggregation - OH   DEO             0440501460622               Gas           Non Aggregation - OH
COH             115556980037                Gas           Non Aggregation - OH   DEO             1440401595740               Gas           Non Aggregation - OH
COH             117316910019                Gas           Non Aggregation - OH   DEO             1500004660575               Gas           Non Aggregation - OH
COH             146494070015                Gas           Non Aggregation - OH   DEO             2421505675344               Gas           Non Aggregation - OH
COH             113399190100                Gas           Non Aggregation - OH   DEO             2500020491914               Gas           Non Aggregation - OH
COH             117316910046                Gas           Non Aggregation - OH   DEO             5421100343665               Gas           Non Aggregation - OH
COH             113399190084                Gas           Non Aggregation - OH   DEO             7440106241152               Gas           Non Aggregation - OH
COH             117316910037                Gas           Non Aggregation - OH   DEO             8500010566867               Gas           Non Aggregation - OH
COH             150668570024                Gas           Non Aggregation - OH   DEO             8500037553142               Gas           Non Aggregation - OH
COH             152562980146                Gas           Non Aggregation - OH   DEO             9500022089844               Gas           Non Aggregation - OH
COH             158803390035                Gas           Non Aggregation - OH   DEO             4420602363071               Gas           Non Aggregation - OH
COH             123067750069                Gas           Non Aggregation - OH   DEO             0500045931587               Gas           Non Aggregation - OH
COH             111337110019                Gas           Non Aggregation - OH   DEO             2500005057476               Gas           Non Aggregation - OH
COH             112399050011                Gas           Non Aggregation - OH   DEO             2500006351403               Gas           Non Aggregation - OH
COH             112399050020                Gas           Non Aggregation - OH   DEO             4500009375222               Gas           Non Aggregation - OH
COH             112406320017                Gas           Non Aggregation - OH   DEO             8420700838492               Gas           Non Aggregation - OH
COH             112524730011                Gas           Non Aggregation - OH   DEO             3440302976268               Gas           Non Aggregation - OH
COH             112524740019                Gas           Non Aggregation - OH   DEO             3140000097462               Gas           Non Aggregation - OH
COH             112633660015                Gas           Non Aggregation - OH   DEO             3500031234152               Gas           Non Aggregation - OH
COH             112633670013                Gas           Non Aggregation - OH   DEO             3500040584859               Gas           Non Aggregation - OH
COH             113340000013                Gas           Non Aggregation - OH   DEO             8500028348567               Gas           Non Aggregation - OH
COH             113587220015                Gas           Non Aggregation - OH   DEO             9421702768379               Gas           Non Aggregation - OH
COH             113587220024                Gas           Non Aggregation - OH   DEO             2500025716769               Gas           Non Aggregation - OH
COH             113587220293                Gas           Non Aggregation - OH   DEO             6500011000840               Gas           Non Aggregation - OH
COH             113601610011                Gas           Non Aggregation - OH   DEO             7500026439789               Gas           Non Aggregation - OH
COH             113682600013                Gas           Non Aggregation - OH   DEO             8422004085973               Gas           Non Aggregation - OH
COH             113682610011                Gas           Non Aggregation - OH   DEO             3441008147437               Gas           Non Aggregation - OH
COH             113682620019                Gas           Non Aggregation - OH   DEO             5440305171299               Gas           Non Aggregation - OH
COH             113682630017                Gas           Non Aggregation - OH   DEO             0420303613639               Gas           Non Aggregation - OH
COH             113734010025                Gas           Non Aggregation - OH   DEO             1500016770142               Gas           Non Aggregation - OH
COH             113734010114                Gas           Non Aggregation - OH   DEO             2440605115148               Gas           Non Aggregation - OH
COH             113734010123                Gas           Non Aggregation - OH   DEO             2441500208329               Gas           Non Aggregation - OH
COH             113734010132                Gas           Non Aggregation - OH   DEO             6440402751739               Gas           Non Aggregation - OH
COH             113734010141                Gas           Non Aggregation - OH   DEO             6500023141199               Gas           Non Aggregation - OH
COH             113734010150                Gas           Non Aggregation - OH   DEO             5421902082892               Gas           Non Aggregation - OH
COH             113734010169                Gas           Non Aggregation - OH   DEO             1442107813964               Gas           Non Aggregation - OH
COH             113734010178                Gas           Non Aggregation - OH   DEO             1420203842690               Gas           Non Aggregation - OH
COH             113734010187                Gas           Non Aggregation - OH   DEO             5421803212561               Gas           Non Aggregation - OH
COH             113734010196                Gas           Non Aggregation - OH   DEO             9500008264255               Gas           Non Aggregation - OH
COH             113734010212                Gas           Non Aggregation - OH   DEO             1420205728171               Gas           Non Aggregation - OH
COH             113734010301                Gas           Non Aggregation - OH   DEO             1500010952436               Gas           Non Aggregation - OH
COH             113734010310                Gas           Non Aggregation - OH   DEO             6421500076965               Gas           Non Aggregation - OH
COH             113734010329                Gas           Non Aggregation - OH   DEO             6440905254532               Gas           Non Aggregation - OH
COH             113734010338                Gas           Non Aggregation - OH   DEO             6500019878272               Gas           Non Aggregation - OH
COH             113734010347                Gas           Non Aggregation - OH   DEO             0420201359224               Gas           Non Aggregation - OH
COH             113734010356                Gas           Non Aggregation - OH   DEO             2500031062223               Gas           Non Aggregation - OH
COH             113734010365                Gas           Non Aggregation - OH   DEO             0421605636938               Gas           Non Aggregation - OH
COH             113734010374                Gas           Non Aggregation - OH   DEO             5500035534647               Gas           Non Aggregation - OH
COH             113734010383                Gas           Non Aggregation - OH   DEO             9500033303886               Gas           Non Aggregation - OH
COH             113734010392                Gas           Non Aggregation - OH   DEO             6500030065324               Gas           Non Aggregation - OH
COH             113734010490                Gas           Non Aggregation - OH   DEO             8500022579813               Gas           Non Aggregation - OH
COH             113734010507                Gas           Non Aggregation - OH   DEO             9440800685274               Gas           Non Aggregation - OH
COH             113734010516                Gas           Non Aggregation - OH   DEO             9500022763775               Gas           Non Aggregation - OH
COH             113734010525                Gas           Non Aggregation - OH   DEO             1440805124788               Gas           Non Aggregation - OH
COH             113734010534                Gas           Non Aggregation - OH   DEO             9500018891287               Gas           Non Aggregation - OH
COH             113734010543                Gas           Non Aggregation - OH   DEO             7440506184984               Gas           Non Aggregation - OH
COH             113734010552                Gas           Non Aggregation - OH   DEO             7440802187045               Gas           Non Aggregation - OH
COH             113734010561                Gas           Non Aggregation - OH   DEO             7500040348589               Gas           Non Aggregation - OH
COH             113776490018                Gas           Non Aggregation - OH   DEO             2500037371925               Gas           Non Aggregation - OH
COH             158804700019                Gas           Non Aggregation - OH   DEO             3440203646877               Gas           Non Aggregation - OH
COH             176839720010                Gas           Non Aggregation - OH   DEO             3440203946652               Gas           Non Aggregation - OH
COH             157573340062                Gas           Non Aggregation - OH   DEO             8421803121773               Gas           Non Aggregation - OH
DUKE            2770377201                  Gas           Non Aggregation - OH   DEO             5441701712954               Gas           Non Aggregation - OH
COH             117992640014                Gas           Non Aggregation - OH   DEO             7500003349737               Gas           Non Aggregation - OH
COH             143143180018                Gas           Non Aggregation - OH   DEO             0421706395535               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             131201610026                Gas           Non Aggregation - OH   DEO             0500011643416               Gas           Non Aggregation - OH
COH             111286700041                Gas           Non Aggregation - OH   DEO             2500013798942               Gas           Non Aggregation - OH
COH             124566160019                Gas           Non Aggregation - OH   DEO             8421002814837               Gas           Non Aggregation - OH
COH             156101610047                Gas           Non Aggregation - OH   DEO             0421704140999               Gas           Non Aggregation - OH
DEO             1500025181077               Gas           Non Aggregation - OH   DEO             6500024388014               Gas           Non Aggregation - OH
COH             189531840049                Gas           Non Aggregation - OH   DEO             1441907068076               Gas           Non Aggregation - OH
DEO             6500051896107               Gas           Non Aggregation - OH   DEO             4440404766177               Gas           Non Aggregation - OH
COH             145908360070                Gas           Non Aggregation - OH   DEO             6500003835177               Gas           Non Aggregation - OH
COH             145891640014                Gas           Non Aggregation - OH   DEO             8441508571487               Gas           Non Aggregation - OH
COH             145908360016                Gas           Non Aggregation - OH   DEO             8500032931102               Gas           Non Aggregation - OH
DEO             7140000003707               Gas           Non Aggregation - OH   DEO             8500010392206               Gas           Non Aggregation - OH
VEDO            4001024462102391            Gas           Non Aggregation - OH   DEO             1500010758561               Gas           Non Aggregation - OH
VEDO            4001024462634922            Gas           Non Aggregation - OH   DEO             2500008465547               Gas           Non Aggregation - OH
VEDO            4001024462185677            Gas           Non Aggregation - OH   DEO             3441706967924               Gas           Non Aggregation - OH
VEDO            4001024462402130            Gas           Non Aggregation - OH   DEO             3500007294587               Gas           Non Aggregation - OH
VEDO            4001024462147353            Gas           Non Aggregation - OH   DEO             4421105622188               Gas           Non Aggregation - OH
VEDO            4001024462249469            Gas           Non Aggregation - OH   DEO             4500035528891               Gas           Non Aggregation - OH
VEDO            4001024462197503            Gas           Non Aggregation - OH   DEO             4500036395567               Gas           Non Aggregation - OH
VEDO            4001024462536764            Gas           Non Aggregation - OH   DEO             7421501335511               Gas           Non Aggregation - OH
VEDO            4001024462259130            Gas           Non Aggregation - OH   DEO             7421501335526               Gas           Non Aggregation - OH
VEDO            4001024462152722            Gas           Non Aggregation - OH   DEO             8500005267536               Gas           Non Aggregation - OH
VEDO            4001024462449112            Gas           Non Aggregation - OH   DEO             8500025583632               Gas           Non Aggregation - OH
VEDO            4001024462451789            Gas           Non Aggregation - OH   DEO             0500035805076               Gas           Non Aggregation - OH
VEDO            4001024462628928            Gas           Non Aggregation - OH   DEO             9441503227754               Gas           Non Aggregation - OH
VEDO            4001024462528471            Gas           Non Aggregation - OH   DEO             1441103095822               Gas           Non Aggregation - OH
VEDO            4001024462463073            Gas           Non Aggregation - OH   DEO             9440609137728               Gas           Non Aggregation - OH
VEDO            4001024462147422            Gas           Non Aggregation - OH   DEO             1500026228458               Gas           Non Aggregation - OH
VEDO            4001024462350975            Gas           Non Aggregation - OH   DEO             7500044249357               Gas           Non Aggregation - OH
VEDO            4001024462636748            Gas           Non Aggregation - OH   DEO             8500011586746               Gas           Non Aggregation - OH
COH             112268810018                Gas           Non Aggregation - OH   DEO             1421106457328               Gas           Non Aggregation - OH
DEO             8500027675984               Gas           Non Aggregation - OH   DEO             9500009173097               Gas           Non Aggregation - OH
COH             154505300011                Gas           Non Aggregation - OH   DEO             6500020381177               Gas           Non Aggregation - OH
VEDO            4018609402250205            Gas           Non Aggregation - OH   DEO             9441308022566               Gas           Non Aggregation - OH
DUKE            7550373702                  Gas           Non Aggregation - OH   DEO             9441908022582               Gas           Non Aggregation - OH
DUKE            1070354803                  Gas           Non Aggregation - OH   DEO             2500027736317               Gas           Non Aggregation - OH
DUKE            7500207804                  Gas           Non Aggregation - OH   DEO             3421601570131               Gas           Non Aggregation - OH
DUKE            5740085224                  Gas           Non Aggregation - OH   DEO             4500029588402               Gas           Non Aggregation - OH
DUKE            1730082631                  Gas           Non Aggregation - OH   DEO             9421005488710               Gas           Non Aggregation - OH
DUKE            1990078026                  Gas           Non Aggregation - OH   DEO             6421500226621               Gas           Non Aggregation - OH
DUKE            5800076028                  Gas           Non Aggregation - OH   DEO             6500034789149               Gas           Non Aggregation - OH
DUKE            9950374003                  Gas           Non Aggregation - OH   DEO             2421501757944               Gas           Non Aggregation - OH
COH             166894940056                Gas           Non Aggregation - OH   DEO             5500031725248               Gas           Non Aggregation - OH
COH             176400650014                Gas           Non Aggregation - OH   DEO             8500009637575               Gas           Non Aggregation - OH
COH             188453380016                Gas           Non Aggregation - OH   DEO             6500009164887               Gas           Non Aggregation - OH
DEO             6500007891826               Gas           Non Aggregation - OH   DEO             1441607840279               Gas           Non Aggregation - OH
VEDO            4010044482630375            Gas           Non Aggregation - OH   DEO             1500028290789               Gas           Non Aggregation - OH
VEDO            4010044482439207            Gas           Non Aggregation - OH   DEO             9500010298570               Gas           Non Aggregation - OH
COH             192946630012                Gas           Non Aggregation - OH   DEO             2440604611797               Gas           Non Aggregation - OH
COH             160521941970                Gas           Non Aggregation - OH   DEO             5441808746414               Gas           Non Aggregation - OH
VEDO            4018480012327944            Gas           Non Aggregation - OH   DEO             6500037429609               Gas           Non Aggregation - OH
VEDO            4018480012302344            Gas           Non Aggregation - OH   DEO             7500005270016               Gas           Non Aggregation - OH
COH             168249960020                Gas           Non Aggregation - OH   DEO             0500022175942               Gas           Non Aggregation - OH
DEO             8500046399325               Gas           Non Aggregation - OH   DEO             6500023177229               Gas           Non Aggregation - OH
COH             193806810019                Gas           Non Aggregation - OH   DEO             6500028949771               Gas           Non Aggregation - OH
DUKE            5620359501                  Gas           Non Aggregation - OH   DEO             2500032605458               Gas           Non Aggregation - OH
DUKE            9310045520                  Gas           Non Aggregation - OH   DEO             5500019485311               Gas           Non Aggregation - OH
DUKE            7490061531                  Gas           Non Aggregation - OH   DEO             5500038471641               Gas           Non Aggregation - OH
COH             111049680011                Gas           Non Aggregation - OH   DEO             6500024179551               Gas           Non Aggregation - OH
COH             111049680020                Gas           Non Aggregation - OH   DEO             8441606554409               Gas           Non Aggregation - OH
COH             108804900017                Gas           Non Aggregation - OH   DEO             1421106088461               Gas           Non Aggregation - OH
COH             109528080015                Gas           Non Aggregation - OH   DEO             5441605195313               Gas           Non Aggregation - OH
COH             155007010017                Gas           Non Aggregation - OH   DEO             8441003501298               Gas           Non Aggregation - OH
COH             158946900053                Gas           Non Aggregation - OH   DEO             0500031969541               Gas           Non Aggregation - OH
COH             158946900115                Gas           Non Aggregation - OH   DEO             1421502152089               Gas           Non Aggregation - OH
COH             194106350019                Gas           Non Aggregation - OH   DEO             1441703710065               Gas           Non Aggregation - OH
DUKE            9790051920                  Gas           Non Aggregation - OH   DEO             1500015481624               Gas           Non Aggregation - OH
COH             151911530015                Gas           Non Aggregation - OH   DEO             3500004735230               Gas           Non Aggregation - OH
COH             151911530024                Gas           Non Aggregation - OH   DEO             8421901312035               Gas           Non Aggregation - OH
COH             111172550017                Gas           Non Aggregation - OH   DEO             3440204273853               Gas           Non Aggregation - OH
COH             112388770086                Gas           Non Aggregation - OH   DEO             4500010827536               Gas           Non Aggregation - OH
COH             122075120029                Gas           Non Aggregation - OH   DEO             0500002202766               Gas           Non Aggregation - OH
COH             122075130018                Gas           Non Aggregation - OH   DEO             2500037804281               Gas           Non Aggregation - OH
COH             125231630018                Gas           Non Aggregation - OH   DEO             3500013700656               Gas           Non Aggregation - OH
COH             110928230012                Gas           Non Aggregation - OH   DEO             3500041404828               Gas           Non Aggregation - OH
COH             174026280054                Gas           Non Aggregation - OH   DEO             4500014001938               Gas           Non Aggregation - OH
COH             114801590137                Gas           Non Aggregation - OH   DEO             5500025990684               Gas           Non Aggregation - OH
COH             153231430025                Gas           Non Aggregation - OH   DEO             3500036672058               Gas           Non Aggregation - OH
COH             154698530016                Gas           Non Aggregation - OH   DEO             4500028816348               Gas           Non Aggregation - OH
COH             117126130016                Gas           Non Aggregation - OH   DEO             7421601305212               Gas           Non Aggregation - OH
COH             119450490012                Gas           Non Aggregation - OH   DEO             7441405776982               Gas           Non Aggregation - OH
COH             115403460039                Gas           Non Aggregation - OH   DEO             3500005369424               Gas           Non Aggregation - OH
COH             115412690014                Gas           Non Aggregation - OH   DEO             4441805567302               Gas           Non Aggregation - OH
COH             140854700014                Gas           Non Aggregation - OH   DEO             6440107707586               Gas           Non Aggregation - OH
COH             191549410011                Gas           Non Aggregation - OH   DEO             6441006820268               Gas           Non Aggregation - OH
COH             165043140049                Gas           Non Aggregation - OH   DEO             4440302893548               Gas           Non Aggregation - OH
COH             160187300037                Gas           Non Aggregation - OH   DEO             2500031103650               Gas           Non Aggregation - OH
COH             119463800046                Gas           Non Aggregation - OH   DEO             6421003035443               Gas           Non Aggregation - OH
COH             108803590024                Gas           Non Aggregation - OH   DEO             5500033222478               Gas           Non Aggregation - OH
COH             190404860014                Gas           Non Aggregation - OH   DEO             8500037282809               Gas           Non Aggregation - OH
COH             166821250287                Gas           Non Aggregation - OH   DEO             1500037131052               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             169104210013                Gas           Non Aggregation - OH   DEO             1500036569042               Gas           Non Aggregation - OH
COH             144727390159                Gas           Non Aggregation - OH   DEO             4383000002829               Gas           Non Aggregation - OH
COH             169061840068                Gas           Non Aggregation - OH   DEO             0420704431603               Gas           Non Aggregation - OH
COH             164855420013                Gas           Non Aggregation - OH   DEO             2420705511954               Gas           Non Aggregation - OH
COH             187435790019                Gas           Non Aggregation - OH   DEO             6400000018816               Gas           Non Aggregation - OH
COH             185621150010                Gas           Non Aggregation - OH   DEO             5441501643022               Gas           Non Aggregation - OH
COH             189589790110                Gas           Non Aggregation - OH   DEO             4500029276417               Gas           Non Aggregation - OH
COH             110925100015                Gas           Non Aggregation - OH   DEO             0421102657625               Gas           Non Aggregation - OH
COH             124199480057                Gas           Non Aggregation - OH   DEO             1441402458780               Gas           Non Aggregation - OH
COH             187851530011                Gas           Non Aggregation - OH   DEO             7440502241821               Gas           Non Aggregation - OH
VEDO            4018835022363250            Gas           Non Aggregation - OH   DEO             2421902451601               Gas           Non Aggregation - OH
VEDO            4004062382407458            Gas           Non Aggregation - OH   DEO             3440704987376               Gas           Non Aggregation - OH
VEDO            4001198042118757            Gas           Non Aggregation - OH   DEO             8441104824305               Gas           Non Aggregation - OH
VEDO            4015790072376465            Gas           Non Aggregation - OH   DEO             0500038186772               Gas           Non Aggregation - OH
VEDO            4015790072623919            Gas           Non Aggregation - OH   DEO             2420504267490               Gas           Non Aggregation - OH
COH             149075730011                Gas           Non Aggregation - OH   DEO             1442004676405               Gas           Non Aggregation - OH
COH             119412520024                Gas           Non Aggregation - OH   DEO             3500033492118               Gas           Non Aggregation - OH
COH             114754930047                Gas           Non Aggregation - OH   DEO             4500007160665               Gas           Non Aggregation - OH
VEDO            4004797062170908            Gas           Non Aggregation - OH   DEO             9421904374181               Gas           Non Aggregation - OH
VEDO            4004797062285148            Gas           Non Aggregation - OH   DEO             9420504941300               Gas           Non Aggregation - OH
VEDO            4001000112533339            Gas           Non Aggregation - OH   DEO             3500002428097               Gas           Non Aggregation - OH
VEDO            4017764282621100            Gas           Non Aggregation - OH   DEO             4421704143627               Gas           Non Aggregation - OH
COH             163425750034                Gas           Non Aggregation - OH   DEO             5500018908407               Gas           Non Aggregation - OH
COH             167272820030                Gas           Non Aggregation - OH   DEO             9500041078073               Gas           Non Aggregation - OH
COH             185904840015                Gas           Non Aggregation - OH   DEO             5421805613258               Gas           Non Aggregation - OH
COH             130653510147                Gas           Non Aggregation - OH   DEO             6500027634185               Gas           Non Aggregation - OH
COH             166724420081                Gas           Non Aggregation - OH   DEO             1500009662130               Gas           Non Aggregation - OH
COH             166724420027                Gas           Non Aggregation - OH   DEO             3500024887661               Gas           Non Aggregation - OH
COH             130653510067                Gas           Non Aggregation - OH   DEO             6440803337179               Gas           Non Aggregation - OH
COH             130653510110                Gas           Non Aggregation - OH   DEO             8500010345395               Gas           Non Aggregation - OH
COH             120099520018                Gas           Non Aggregation - OH   DEO             1422006200015               Gas           Non Aggregation - OH
VEDO            4002595842319480            Gas           Non Aggregation - OH   DEO             1440706335071               Gas           Non Aggregation - OH
COH             162001540055                Gas           Non Aggregation - OH   DEO             2420505470660               Gas           Non Aggregation - OH
COH             166209410049                Gas           Non Aggregation - OH   DEO             5440604297832               Gas           Non Aggregation - OH
DEO             6500047655761               Gas           Non Aggregation - OH   DEO             7500020054984               Gas           Non Aggregation - OH
COH             194737320018                Gas           Non Aggregation - OH   DEO             0440303855207               Gas           Non Aggregation - OH
VEDO            4001809592176575            Gas           Non Aggregation - OH   DEO             1500028274879               Gas           Non Aggregation - OH
COH             195049050013                Gas           Non Aggregation - OH   DEO             4421204110962               Gas           Non Aggregation - OH
COH             206664330016                Gas           Non Aggregation - OH   DEO             5500002442603               Gas           Non Aggregation - OH
COH             186166860016                Gas           Non Aggregation - OH   DEO             5500005856135               Gas           Non Aggregation - OH
COH             206664280017                Gas           Non Aggregation - OH   DEO             7500029086223               Gas           Non Aggregation - OH
COH             120010250011                Gas           Non Aggregation - OH   DEO             8441601362433               Gas           Non Aggregation - OH
COH             117709010051                Gas           Non Aggregation - OH   DEO             5400000124532               Gas           Non Aggregation - OH
COH             117709010079                Gas           Non Aggregation - OH   DEO             2500003039247               Gas           Non Aggregation - OH
COH             115554750011                Gas           Non Aggregation - OH   DEO             0440300691107               Gas           Non Aggregation - OH
DEO             7500022906790               Gas           Non Aggregation - OH   DEO             3440300691113               Gas           Non Aggregation - OH
DEO             4500033442859               Gas           Non Aggregation - OH   DEO             3500000148649               Gas           Non Aggregation - OH
DEO             6500055321158               Gas           Non Aggregation - OH   DEO             5441705534787               Gas           Non Aggregation - OH
DEO             7421400092443               Gas           Non Aggregation - OH   DEO             0441404972700               Gas           Non Aggregation - OH
DEO             7500002207298               Gas           Non Aggregation - OH   DEO             0500006756292               Gas           Non Aggregation - OH
DEO             7500002207212               Gas           Non Aggregation - OH   DEO             1500004538047               Gas           Non Aggregation - OH
DEO             1441700112179               Gas           Non Aggregation - OH   DEO             3440204796861               Gas           Non Aggregation - OH
DEO             5440800112187               Gas           Non Aggregation - OH   DEO             3441200542832               Gas           Non Aggregation - OH
VEDO            4001227232405491            Gas           Non Aggregation - OH   DEO             3500027846865               Gas           Non Aggregation - OH
VEDO            4018305952607983            Gas           Non Aggregation - OH   DEO             7441904568346               Gas           Non Aggregation - OH
VEDO            4001227232108400            Gas           Non Aggregation - OH   DEO             7500011917116               Gas           Non Aggregation - OH
VEDO            4017369302473630            Gas           Non Aggregation - OH   DEO             9500031462235               Gas           Non Aggregation - OH
VEDO            4001227232140775            Gas           Non Aggregation - OH   DEO             0500016520034               Gas           Non Aggregation - OH
COH             174933180016                Gas           Non Aggregation - OH   DEO             2440104130510               Gas           Non Aggregation - OH
COH             117377340020                Gas           Non Aggregation - OH   DEO             2420804117022               Gas           Non Aggregation - OH
COH             117377320015                Gas           Non Aggregation - OH   DEO             4500037374520               Gas           Non Aggregation - OH
COH             148507640014                Gas           Non Aggregation - OH   DEO             5441504299732               Gas           Non Aggregation - OH
COH             159785920014                Gas           Non Aggregation - OH   DEO             6500007748673               Gas           Non Aggregation - OH
COH             165889930014                Gas           Non Aggregation - OH   DEO             1500023473847               Gas           Non Aggregation - OH
COH             195172260018                Gas           Non Aggregation - OH   DEO             2440507518309               Gas           Non Aggregation - OH
COH             124403570026                Gas           Non Aggregation - OH   DEO             2500002097796               Gas           Non Aggregation - OH
COH             134344140011                Gas           Non Aggregation - OH   DEO             9441707318008               Gas           Non Aggregation - OH
DEO             7442001232869               Gas           Non Aggregation - OH   DEO             5421700150446               Gas           Non Aggregation - OH
COH             118790110021                Gas           Non Aggregation - OH   DEO             7500006399141               Gas           Non Aggregation - OH
COH             164070880011                Gas           Non Aggregation - OH   DEO             5500023643824               Gas           Non Aggregation - OH
VEDO            4003225072514225            Gas           Non Aggregation - OH   DEO             9441200419751               Gas           Non Aggregation - OH
COH             112148140415                Gas           Non Aggregation - OH   DEO             5441200419730               Gas           Non Aggregation - OH
COH             187441940014                Gas           Non Aggregation - OH   DEO             5500024512564               Gas           Non Aggregation - OH
COH             124180410014                Gas           Non Aggregation - OH   DEO             4441200419777               Gas           Non Aggregation - OH
COH             136898600019                Gas           Non Aggregation - OH   DEO             8441200419784               Gas           Non Aggregation - OH
COH             123960380018                Gas           Non Aggregation - OH   DEO             8440708134455               Gas           Non Aggregation - OH
COH             123922980012                Gas           Non Aggregation - OH   DEO             6441201520368               Gas           Non Aggregation - OH
COH             124235380041                Gas           Non Aggregation - OH   DEO             2440304941980               Gas           Non Aggregation - OH
COH             124165770039                Gas           Non Aggregation - OH   DEO             2440508025621               Gas           Non Aggregation - OH
COH             124235380023                Gas           Non Aggregation - OH   DEO             8421804644483               Gas           Non Aggregation - OH
VEDO            4018473182636445            Gas           Non Aggregation - OH   DEO             9500029261681               Gas           Non Aggregation - OH
VEDO            4004313482434848            Gas           Non Aggregation - OH   DEO             3440403765115               Gas           Non Aggregation - OH
COH             162257620191                Gas           Non Aggregation - OH   DEO             2500040584810               Gas           Non Aggregation - OH
COH             159714500011                Gas           Non Aggregation - OH   DEO             2500037217737               Gas           Non Aggregation - OH
COH             143772700015                Gas           Non Aggregation - OH   DEO             2500039436046               Gas           Non Aggregation - OH
COH             112148140013                Gas           Non Aggregation - OH   DEO             0500044844826               Gas           Non Aggregation - OH
COH             154022170022                Gas           Non Aggregation - OH   DEO             0500029076530               Gas           Non Aggregation - OH
COH             125233030010                Gas           Non Aggregation - OH   DEO             9421104243467               Gas           Non Aggregation - OH
COH             125233020012                Gas           Non Aggregation - OH   DEO             7420603753075               Gas           Non Aggregation - OH
DUKE            0520081423                  Gas           Non Aggregation - OH   DEO             0500013600031               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DUKE            0630217002                  Gas           Non Aggregation - OH   DEO             9500038502258               Gas           Non Aggregation - OH
DUKE            3850016923                  Gas           Non Aggregation - OH   DEO             5442106515583               Gas           Non Aggregation - OH
COH             194620110037                Gas           Non Aggregation - OH   DEO             5500028921700               Gas           Non Aggregation - OH
COH             134729830332                Gas           Non Aggregation - OH   DEO             5420603493122               Gas           Non Aggregation - OH
COH             110565650014                Gas           Non Aggregation - OH   DEO             5500014034202               Gas           Non Aggregation - OH
COH             111649580010                Gas           Non Aggregation - OH   DEO             5440804134602               Gas           Non Aggregation - OH
COH             131761060106                Gas           Non Aggregation - OH   DEO             9421905456801               Gas           Non Aggregation - OH
COH             131761060124                Gas           Non Aggregation - OH   DEO             9420102118623               Gas           Non Aggregation - OH
COH             124273850033                Gas           Non Aggregation - OH   DEO             1421606610214               Gas           Non Aggregation - OH
COH             130807600016                Gas           Non Aggregation - OH   DEO             4441008036283               Gas           Non Aggregation - OH
COH             133916450014                Gas           Non Aggregation - OH   DEO             3500016849498               Gas           Non Aggregation - OH
COH             143142900018                Gas           Non Aggregation - OH   DEO             9421005773606               Gas           Non Aggregation - OH
COH             172330500018                Gas           Non Aggregation - OH   DEO             4440605312079               Gas           Non Aggregation - OH
COH             196289080018                Gas           Non Aggregation - OH   DEO             3422002386382               Gas           Non Aggregation - OH
COH             112380690025                Gas           Non Aggregation - OH   DEO             9500008039084               Gas           Non Aggregation - OH
COH             113102830013                Gas           Non Aggregation - OH   DEO             4441501869520               Gas           Non Aggregation - OH
COH             117492720017                Gas           Non Aggregation - OH   DEO             6500036116586               Gas           Non Aggregation - OH
COH             119345570018                Gas           Non Aggregation - OH   DEO             4441701846607               Gas           Non Aggregation - OH
COH             130852210031                Gas           Non Aggregation - OH   DEO             4500040921205               Gas           Non Aggregation - OH
COH             132717120187                Gas           Non Aggregation - OH   DEO             8440602165151               Gas           Non Aggregation - OH
COH             133855380180                Gas           Non Aggregation - OH   DEO             8441504449673               Gas           Non Aggregation - OH
COH             143490470030                Gas           Non Aggregation - OH   DEO             9440503473197               Gas           Non Aggregation - OH
COH             154685210029                Gas           Non Aggregation - OH   DEO             9400000074528               Gas           Non Aggregation - OH
COH             100915430028                Gas           Non Aggregation - OH   DEO             5441403226188               Gas           Non Aggregation - OH
COH             119538120013                Gas           Non Aggregation - OH   DEO             4440903478532               Gas           Non Aggregation - OH
COH             151964500056                Gas           Non Aggregation - OH   DEO             3422003363002               Gas           Non Aggregation - OH
COH             133931510028                Gas           Non Aggregation - OH   DEO             3500015830874               Gas           Non Aggregation - OH
DEO             4500061415040               Gas           Non Aggregation - OH   DEO             4500027206355               Gas           Non Aggregation - OH
VEDO            4004404942583778            Gas           Non Aggregation - OH   DEO             9500026828519               Gas           Non Aggregation - OH
COH             125257170011                Gas           Non Aggregation - OH   DEO             2422105726499               Gas           Non Aggregation - OH
DEO             6140000008681               Gas           Non Aggregation - OH   DEO             1500007951903               Gas           Non Aggregation - OH
COH             119463800037                Gas           Non Aggregation - OH   DEO             4500030091857               Gas           Non Aggregation - OH
COH             119463800064                Gas           Non Aggregation - OH   DEO             6500008806318               Gas           Non Aggregation - OH
COH             115082650371                Gas           Non Aggregation - OH   DEO             6500016207960               Gas           Non Aggregation - OH
COH             115082650380                Gas           Non Aggregation - OH   DEO             4441801071520               Gas           Non Aggregation - OH
COH             116979030011                Gas           Non Aggregation - OH   DEO             5421905312973               Gas           Non Aggregation - OH
COH             109417140017                Gas           Non Aggregation - OH   DEO             9500019483375               Gas           Non Aggregation - OH
COH             109417150015                Gas           Non Aggregation - OH   DEO             2500038201430               Gas           Non Aggregation - OH
COH             111323880017                Gas           Non Aggregation - OH   DEO             0500012558412               Gas           Non Aggregation - OH
COH             109732250016                Gas           Non Aggregation - OH   DEO             5500025713871               Gas           Non Aggregation - OH
COH             125795970013                Gas           Non Aggregation - OH   DEO             6440702020677               Gas           Non Aggregation - OH
COH             110289620016                Gas           Non Aggregation - OH   DEO             1420103897530               Gas           Non Aggregation - OH
COH             136131670037                Gas           Non Aggregation - OH   DEO             4441703106210               Gas           Non Aggregation - OH
COH             122386860025                Gas           Non Aggregation - OH   DEO             9500013346696               Gas           Non Aggregation - OH
COH             115532520033                Gas           Non Aggregation - OH   DEO             0500024068280               Gas           Non Aggregation - OH
COH             124586040021                Gas           Non Aggregation - OH   DEO             9440307232045               Gas           Non Aggregation - OH
COH             153613520017                Gas           Non Aggregation - OH   DEO             6500020571170               Gas           Non Aggregation - OH
COH             117405440028                Gas           Non Aggregation - OH   DEO             3440302345223               Gas           Non Aggregation - OH
COH             113578660030                Gas           Non Aggregation - OH   DEO             5441804371177               Gas           Non Aggregation - OH
COH             158966500019                Gas           Non Aggregation - OH   DEO             7500036916758               Gas           Non Aggregation - OH
COH             111653020063                Gas           Non Aggregation - OH   DEO             3441302924884               Gas           Non Aggregation - OH
COH             187448310012                Gas           Non Aggregation - OH   DEO             1420901828232               Gas           Non Aggregation - OH
COH             115698710024                Gas           Non Aggregation - OH   DEO             5500040852138               Gas           Non Aggregation - OH
DEO             2500044766832               Gas           Non Aggregation - OH   DEO             9500030469048               Gas           Non Aggregation - OH
DEO             2500045317597               Gas           Non Aggregation - OH   DEO             8441902268478               Gas           Non Aggregation - OH
DEO             2500046780367               Gas           Non Aggregation - OH   DEO             4440708397863               Gas           Non Aggregation - OH
DEO             2500047929593               Gas           Non Aggregation - OH   DEO             1500033831220               Gas           Non Aggregation - OH
DEO             5500046994430               Gas           Non Aggregation - OH   DEO             1500040104312               Gas           Non Aggregation - OH
DEO             4500048165116               Gas           Non Aggregation - OH   DEO             1500040104562               Gas           Non Aggregation - OH
DUKE            6940217101                  Gas           Non Aggregation - OH   DEO             2440904476685               Gas           Non Aggregation - OH
DUKE            6530378602                  Gas           Non Aggregation - OH   DEO             4440205778363               Gas           Non Aggregation - OH
DUKE            3070087121                  Gas           Non Aggregation - OH   DEO             5500002215277               Gas           Non Aggregation - OH
VEDO            4015928862577208            Gas           Non Aggregation - OH   DEO             2500036108621               Gas           Non Aggregation - OH
VEDO            4018835022630579            Gas           Non Aggregation - OH   DEO             3420506662834               Gas           Non Aggregation - OH
VEDO            4018835022527127            Gas           Non Aggregation - OH   DEO             6441403244337               Gas           Non Aggregation - OH
VEDO            4018835022156264            Gas           Non Aggregation - OH   DEO             7500028743962               Gas           Non Aggregation - OH
VEDO            4018835022629039            Gas           Non Aggregation - OH   DEO             8500008090603               Gas           Non Aggregation - OH
COH             163298880010                Gas           Non Aggregation - OH   DEO             9500016666181               Gas           Non Aggregation - OH
VEDO            4002593192199070            Gas           Non Aggregation - OH   DEO             8420905456972               Gas           Non Aggregation - OH
COH             175617520013                Gas           Non Aggregation - OH   DEO             9441704491956               Gas           Non Aggregation - OH
COH             171333660038                Gas           Non Aggregation - OH   DEO             2500035623961               Gas           Non Aggregation - OH
COH             141793630072                Gas           Non Aggregation - OH   DEO             2500038047440               Gas           Non Aggregation - OH
COH             122719220013                Gas           Non Aggregation - OH   DEO             4500015922169               Gas           Non Aggregation - OH
COH             119412520097                Gas           Non Aggregation - OH   DEO             6500020639194               Gas           Non Aggregation - OH
COH             142433180023                Gas           Non Aggregation - OH   DEO             3421902409699               Gas           Non Aggregation - OH
COH             142433180014                Gas           Non Aggregation - OH   DEO             8421401920915               Gas           Non Aggregation - OH
COH             196787910017                Gas           Non Aggregation - OH   DEO             8421301920930               Gas           Non Aggregation - OH
DEO             6441200625619               Gas           Non Aggregation - OH   DEO             8421301920944               Gas           Non Aggregation - OH
COH             140750730027                Gas           Non Aggregation - OH   DEO             8421101920926               Gas           Non Aggregation - OH
VEDO            4001556162284654            Gas           Non Aggregation - OH   DEO             3420700999633               Gas           Non Aggregation - OH
VEDO            4001640622557885            Gas           Non Aggregation - OH   DEO             8500033767177               Gas           Non Aggregation - OH
VEDO            4004739182481755            Gas           Non Aggregation - OH   DEO             5500018739711               Gas           Non Aggregation - OH
VEDO            4001789722174706            Gas           Non Aggregation - OH   DEO             4440703883099               Gas           Non Aggregation - OH
VEDO            4003753152456417            Gas           Non Aggregation - OH   DEO             6441402138341               Gas           Non Aggregation - OH
VEDO            4002310762434774            Gas           Non Aggregation - OH   DEO             2441601108037               Gas           Non Aggregation - OH
VEDO            4002310762253075            Gas           Non Aggregation - OH   DEO             4500006423836               Gas           Non Aggregation - OH
VEDO            4004131982479823            Gas           Non Aggregation - OH   DEO             5422100877960               Gas           Non Aggregation - OH
COH             112838060035                Gas           Non Aggregation - OH   DEO             1500004630209               Gas           Non Aggregation - OH
COH             129851280069                Gas           Non Aggregation - OH   DEO             6421800071379               Gas           Non Aggregation - OH
COH             112221980011                Gas           Non Aggregation - OH   DEO             5500016421181               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
VEDO            4002878242282839            Gas           Non Aggregation - OH   DEO             9500037557124               Gas           Non Aggregation - OH
VEDO            4002270842222255            Gas           Non Aggregation - OH   DEO             7500037487620               Gas           Non Aggregation - OH
VEDO            4004325962436232            Gas           Non Aggregation - OH   DEO             5421805495478               Gas           Non Aggregation - OH
COH             146490210282                Gas           Non Aggregation - OH   DEO             9440907366176               Gas           Non Aggregation - OH
VEDO            4001793562175108            Gas           Non Aggregation - OH   DEO             0500041719913               Gas           Non Aggregation - OH
COH             146490210291                Gas           Non Aggregation - OH   DEO             5500025654244               Gas           Non Aggregation - OH
DEO             1421900176503               Gas           Non Aggregation - OH   DEO             1441700606810               Gas           Non Aggregation - OH
DEO             1500046972698               Gas           Non Aggregation - OH   DEO             9441300069383               Gas           Non Aggregation - OH
DEO             0440600219331               Gas           Non Aggregation - OH   DEO             3441502917444               Gas           Non Aggregation - OH
DEO             1441400229946               Gas           Non Aggregation - OH   DEO             0441106037507               Gas           Non Aggregation - OH
DEO             9500013841103               Gas           Non Aggregation - OH   DEO             0441800341931               Gas           Non Aggregation - OH
DEO             0500054964197               Gas           Non Aggregation - OH   DEO             5500006611144               Gas           Non Aggregation - OH
DUKE            6510075124                  Gas           Non Aggregation - OH   DEO             9500002197882               Gas           Non Aggregation - OH
DUKE            8040083923                  Gas           Non Aggregation - OH   DEO             8500016342513               Gas           Non Aggregation - OH
DUKE            4480045526                  Gas           Non Aggregation - OH   DEO             2440806216446               Gas           Non Aggregation - OH
DUKE            2060218402                  Gas           Non Aggregation - OH   DEO             2422105210881               Gas           Non Aggregation - OH
DUKE            8930042225                  Gas           Non Aggregation - OH   DEO             6440808363916               Gas           Non Aggregation - OH
DUKE            1170352102                  Gas           Non Aggregation - OH   DEO             1420100834079               Gas           Non Aggregation - OH
DUKE            2460369305                  Gas           Non Aggregation - OH   DEO             6500019754763               Gas           Non Aggregation - OH
DUKE            8670372902                  Gas           Non Aggregation - OH   DEO             5421402670603               Gas           Non Aggregation - OH
DUKE            2460376502                  Gas           Non Aggregation - OH   DEO             3420905580671               Gas           Non Aggregation - OH
VEDO            4004404942322537            Gas           Non Aggregation - OH   DEO             9500017211273               Gas           Non Aggregation - OH
VEDO            4004404942449707            Gas           Non Aggregation - OH   DEO             3500039065894               Gas           Non Aggregation - OH
VEDO            4004404942590987            Gas           Non Aggregation - OH   DEO             3440206223324               Gas           Non Aggregation - OH
VEDO            4015790072540392            Gas           Non Aggregation - OH   DEO             7500025191919               Gas           Non Aggregation - OH
COH             125616960013                Gas           Non Aggregation - OH   DEO             7500002070115               Gas           Non Aggregation - OH
COH             125617030016                Gas           Non Aggregation - OH   DEO             7500005246267               Gas           Non Aggregation - OH
COH             125616980037                Gas           Non Aggregation - OH   DEO             8420501819771               Gas           Non Aggregation - OH
COH             125616970020                Gas           Non Aggregation - OH   DEO             1500010670444               Gas           Non Aggregation - OH
VEDO            4004692432476692            Gas           Non Aggregation - OH   DEO             8421501624657               Gas           Non Aggregation - OH
VEDO            4004676222474910            Gas           Non Aggregation - OH   DEO             5500026486389               Gas           Non Aggregation - OH
COH             123067750103                Gas           Non Aggregation - OH   DEO             1440501436587               Gas           Non Aggregation - OH
DEO             5500054852783               Gas           Non Aggregation - OH   DEO             6421106058333               Gas           Non Aggregation - OH
VEDO            4004127682228744            Gas           Non Aggregation - OH   DEO             9500020680302               Gas           Non Aggregation - OH
VEDO            4004127682496578            Gas           Non Aggregation - OH   DEO             5120000049780               Gas           Non Aggregation - OH
VEDO            4019183612629715            Gas           Non Aggregation - OH   DEO             6500009175921               Gas           Non Aggregation - OH
VEDO            4018652042607455            Gas           Non Aggregation - OH   DEO             4500008439333               Gas           Non Aggregation - OH
DUKE            4140060620                  Gas           Non Aggregation - OH   DEO             1420306570967               Gas           Non Aggregation - OH
DUKE            9420003020                  Gas           Non Aggregation - OH   DEO             3420304362281               Gas           Non Aggregation - OH
DUKE            1080224803                  Gas           Non Aggregation - OH   DEO             7500028619956               Gas           Non Aggregation - OH
DUKE            1950057921                  Gas           Non Aggregation - OH   DEO             6500033606859               Gas           Non Aggregation - OH
DUKE            5000080220                  Gas           Non Aggregation - OH   DEO             7500021601761               Gas           Non Aggregation - OH
DUKE            7040075120                  Gas           Non Aggregation - OH   DEO             1500014728961               Gas           Non Aggregation - OH
DUKE            7600210502                  Gas           Non Aggregation - OH   DEO             1500020339670               Gas           Non Aggregation - OH
DUKE            7830224301                  Gas           Non Aggregation - OH   DEO             7441302438789               Gas           Non Aggregation - OH
DUKE            7850057924                  Gas           Non Aggregation - OH   DEO             6500005699275               Gas           Non Aggregation - OH
DUKE            3980053620                  Gas           Non Aggregation - OH   DEO             3500032710684               Gas           Non Aggregation - OH
DUKE            6710203201                  Gas           Non Aggregation - OH   DEO             0500030938881               Gas           Non Aggregation - OH
DUKE            8070201101                  Gas           Non Aggregation - OH   DEO             0500013248443               Gas           Non Aggregation - OH
DUKE            8210008620                  Gas           Non Aggregation - OH   DEO             3440602189885               Gas           Non Aggregation - OH
DUKE            1690035430                  Gas           Non Aggregation - OH   DEO             7500047291446               Gas           Non Aggregation - OH
DUKE            2690035420                  Gas           Non Aggregation - OH   DEO             0440408482489               Gas           Non Aggregation - OH
DUKE            4160205001                  Gas           Non Aggregation - OH   DEO             0500029338472               Gas           Non Aggregation - OH
DUKE            1060025920                  Gas           Non Aggregation - OH   DEO             1420603739842               Gas           Non Aggregation - OH
DUKE            6400004320                  Gas           Non Aggregation - OH   DEO             8442001355127               Gas           Non Aggregation - OH
DUKE            0470048320                  Gas           Non Aggregation - OH   DEO             9440706643234               Gas           Non Aggregation - OH
DUKE            8640205401                  Gas           Non Aggregation - OH   DEO             2421806219495               Gas           Non Aggregation - OH
DUKE            6930205201                  Gas           Non Aggregation - OH   DEO             5500024767105               Gas           Non Aggregation - OH
DUKE            7230014420                  Gas           Non Aggregation - OH   DEO             8500006115881               Gas           Non Aggregation - OH
DUKE            7040014420                  Gas           Non Aggregation - OH   DEO             7500036369884               Gas           Non Aggregation - OH
DUKE            8040014420                  Gas           Non Aggregation - OH   DEO             1500040819967               Gas           Non Aggregation - OH
DUKE            2200055120                  Gas           Non Aggregation - OH   DEO             0500009598416               Gas           Non Aggregation - OH
DUKE            1760009720                  Gas           Non Aggregation - OH   DEO             7500020097871               Gas           Non Aggregation - OH
DUKE            2760009720                  Gas           Non Aggregation - OH   DEO             4500038176943               Gas           Non Aggregation - OH
DUKE            3760009721                  Gas           Non Aggregation - OH   DEO             2500039561567               Gas           Non Aggregation - OH
DUKE            3880079620                  Gas           Non Aggregation - OH   DEO             1500033364468               Gas           Non Aggregation - OH
DUKE            6370215001                  Gas           Non Aggregation - OH   DEO             6500010296235               Gas           Non Aggregation - OH
DUKE            5120013420                  Gas           Non Aggregation - OH   DEO             2420902368451               Gas           Non Aggregation - OH
DUKE            6120013420                  Gas           Non Aggregation - OH   DEO             7441404528261               Gas           Non Aggregation - OH
DUKE            9530205701                  Gas           Non Aggregation - OH   DEO             9500027900150               Gas           Non Aggregation - OH
DUKE            0430213603                  Gas           Non Aggregation - OH   DEO             2500017429111               Gas           Non Aggregation - OH
DUKE            3330052926                  Gas           Non Aggregation - OH   DEO             4500040128952               Gas           Non Aggregation - OH
DUKE            4430052920                  Gas           Non Aggregation - OH   DEO             3421704824977               Gas           Non Aggregation - OH
DUKE            5240352101                  Gas           Non Aggregation - OH   DEO             9500038609653               Gas           Non Aggregation - OH
DUKE            9260084020                  Gas           Non Aggregation - OH   DEO             8500031553931               Gas           Non Aggregation - OH
DUKE            1430052920                  Gas           Non Aggregation - OH   DEO             2500029539473               Gas           Non Aggregation - OH
DUKE            5180212401                  Gas           Non Aggregation - OH   DEO             9500007833140               Gas           Non Aggregation - OH
DUKE            6360009320                  Gas           Non Aggregation - OH   DEO             0420804794689               Gas           Non Aggregation - OH
COH             143627470011                Gas           Non Aggregation - OH   DEO             4420901932325               Gas           Non Aggregation - OH
COH             196472100014                Gas           Non Aggregation - OH   DEO             9500041530693               Gas           Non Aggregation - OH
COH             197691230012                Gas           Non Aggregation - OH   DEO             6440804142706               Gas           Non Aggregation - OH
COH             197720770016                Gas           Non Aggregation - OH   DEO             7420105719022               Gas           Non Aggregation - OH
COH             115754870021                Gas           Non Aggregation - OH   DEO             0500040798154               Gas           Non Aggregation - OH
COH             197609680011                Gas           Non Aggregation - OH   DEO             6420305876038               Gas           Non Aggregation - OH
COH             189589790156                Gas           Non Aggregation - OH   DEO             1500026027040               Gas           Non Aggregation - OH
COH             175973370011                Gas           Non Aggregation - OH   DEO             2440406599832               Gas           Non Aggregation - OH
COH             166164140024                Gas           Non Aggregation - OH   DEO             5420805458811               Gas           Non Aggregation - OH
DEO             1180001926353               Gas           Non Aggregation - OH   DEO             3500012089888               Gas           Non Aggregation - OH
VEDO            4004438302448594            Gas           Non Aggregation - OH   DEO             3441308952534               Gas           Non Aggregation - OH
COH             195271620012                Gas           Non Aggregation - OH   DEO             0140000100428               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
VEDO            4021698942306724            Gas           Non Aggregation - OH   DEO             6500025209729               Gas           Non Aggregation - OH
VEDO            4004561072187759            Gas           Non Aggregation - OH   DEO             4500024287341               Gas           Non Aggregation - OH
VEDO            4004708322478410            Gas           Non Aggregation - OH   DEO             0500024190840               Gas           Non Aggregation - OH
VEDO            4001188612648584            Gas           Non Aggregation - OH   DEO             7500002260283               Gas           Non Aggregation - OH
VEDO            4015209302474571            Gas           Non Aggregation - OH   DEO             6500023581857               Gas           Non Aggregation - OH
COH             170548810014                Gas           Non Aggregation - OH   DEO             2500021883678               Gas           Non Aggregation - OH
COH             206096120051                Gas           Non Aggregation - OH   DEO             0440308470254               Gas           Non Aggregation - OH
DEO             1440207023761               Gas           Non Aggregation - OH   DEO             0441900793106               Gas           Non Aggregation - OH
COH             141749670022                Gas           Non Aggregation - OH   DEO             1440304527746               Gas           Non Aggregation - OH
COH             202672760013                Gas           Non Aggregation - OH   DEO             2500014249064               Gas           Non Aggregation - OH
COH             113059430010                Gas           Non Aggregation - OH   DEO             2421606240641               Gas           Non Aggregation - OH
COH             187144900076                Gas           Non Aggregation - OH   DEO             8421902787711               Gas           Non Aggregation - OH
COH             188509940126                Gas           Non Aggregation - OH   DEO             7420700937830               Gas           Non Aggregation - OH
COH             177331530097                Gas           Non Aggregation - OH   DEO             4420104455152               Gas           Non Aggregation - OH
COH             185674650032                Gas           Non Aggregation - OH   DEO             3500034370409               Gas           Non Aggregation - OH
COH             158712880017                Gas           Non Aggregation - OH   DEO             1500013608806               Gas           Non Aggregation - OH
COH             143314450018                Gas           Non Aggregation - OH   DEO             1500040315481               Gas           Non Aggregation - OH
COH             124318110014                Gas           Non Aggregation - OH   DEO             1421705789196               Gas           Non Aggregation - OH
COH             151310020016                Gas           Non Aggregation - OH   DEO             1500039960178               Gas           Non Aggregation - OH
COH             124446960033                Gas           Non Aggregation - OH   DEO             0500030756713               Gas           Non Aggregation - OH
COH             187355680049                Gas           Non Aggregation - OH   DEO             0420905664852               Gas           Non Aggregation - OH
COH             123724060024                Gas           Non Aggregation - OH   DEO             1421305041640               Gas           Non Aggregation - OH
COH             109478880014                Gas           Non Aggregation - OH   DEO             0500040896895               Gas           Non Aggregation - OH
COH             109382760012                Gas           Non Aggregation - OH   DEO             8440404310248               Gas           Non Aggregation - OH
COH             131915410025                Gas           Non Aggregation - OH   DEO             1500031057396               Gas           Non Aggregation - OH
COH             153072390013                Gas           Non Aggregation - OH   DEO             8500011652681               Gas           Non Aggregation - OH
COH             120471980012                Gas           Non Aggregation - OH   DEO             7421705312956               Gas           Non Aggregation - OH
COH             120471990029                Gas           Non Aggregation - OH   DEO             8420305251144               Gas           Non Aggregation - OH
COH             119963990010                Gas           Non Aggregation - OH   DEO             4421303784793               Gas           Non Aggregation - OH
COH             120472010013                Gas           Non Aggregation - OH   DEO             8500020379667               Gas           Non Aggregation - OH
COH             120157030017                Gas           Non Aggregation - OH   DEO             8421202571056               Gas           Non Aggregation - OH
COH             108808320011                Gas           Non Aggregation - OH   DEO             9500035368148               Gas           Non Aggregation - OH
COH             108791130018                Gas           Non Aggregation - OH   DEO             8500031225379               Gas           Non Aggregation - OH
COH             114923270010                Gas           Non Aggregation - OH   DEO             5120000182318               Gas           Non Aggregation - OH
COH             114958620013                Gas           Non Aggregation - OH   DEO             8421701195559               Gas           Non Aggregation - OH
COH             114996100012                Gas           Non Aggregation - OH   DEO             1421401440557               Gas           Non Aggregation - OH
COH             114923260012                Gas           Non Aggregation - OH   DEO             8500039028543               Gas           Non Aggregation - OH
COH             114900110011                Gas           Non Aggregation - OH   DEO             3420702054669               Gas           Non Aggregation - OH
COH             115082360014                Gas           Non Aggregation - OH   DEO             2500037834439               Gas           Non Aggregation - OH
COH             124336430028                Gas           Non Aggregation - OH   DEO             5500023871393               Gas           Non Aggregation - OH
COH             122059430055                Gas           Non Aggregation - OH   DEO             8421003790091               Gas           Non Aggregation - OH
COH             113045070024                Gas           Non Aggregation - OH   DEO             7421802083182               Gas           Non Aggregation - OH
COH             196850030017                Gas           Non Aggregation - OH   DEO             5421005892637               Gas           Non Aggregation - OH
COH             143266530014                Gas           Non Aggregation - OH   DEO             8500037511488               Gas           Non Aggregation - OH
COH             138490480017                Gas           Non Aggregation - OH   DEO             2421303687527               Gas           Non Aggregation - OH
DEO             7500018099611               Gas           Non Aggregation - OH   DEO             2440501358024               Gas           Non Aggregation - OH
COH             161552290196                Gas           Non Aggregation - OH   DEO             3421500226934               Gas           Non Aggregation - OH
COH             166724420143                Gas           Non Aggregation - OH   DEO             6500011329791               Gas           Non Aggregation - OH
COH             139200150509                Gas           Non Aggregation - OH   DEO             7440305334629               Gas           Non Aggregation - OH
VEDO            4019508592206147            Gas           Non Aggregation - OH   DEO             8500036642639               Gas           Non Aggregation - OH
VEDO            4019508592259950            Gas           Non Aggregation - OH   DEO             8442002353834               Gas           Non Aggregation - OH
COH             114784000012                Gas           Non Aggregation - OH   DEO             6500026668542               Gas           Non Aggregation - OH
COH             114784010010                Gas           Non Aggregation - OH   DEO             0500020498502               Gas           Non Aggregation - OH
COH             114784000030                Gas           Non Aggregation - OH   DEO             7500033653287               Gas           Non Aggregation - OH
COH             114784000021                Gas           Non Aggregation - OH   DEO             1421906104319               Gas           Non Aggregation - OH
COH             137743570049                Gas           Non Aggregation - OH   DEO             1441006666914               Gas           Non Aggregation - OH
COH             134965600036                Gas           Non Aggregation - OH   DEO             6500040482528               Gas           Non Aggregation - OH
COH             134965600027                Gas           Non Aggregation - OH   DEO             1500029568858               Gas           Non Aggregation - OH
COH             114891430042                Gas           Non Aggregation - OH   DEO             4500045854347               Gas           Non Aggregation - OH
COH             122090910021                Gas           Non Aggregation - OH   DEO             5500011458935               Gas           Non Aggregation - OH
COH             117729100023                Gas           Non Aggregation - OH   DEO             2500005587994               Gas           Non Aggregation - OH
COH             112664460049                Gas           Non Aggregation - OH   DEO             5500042757240               Gas           Non Aggregation - OH
COH             150013220015                Gas           Non Aggregation - OH   DEO             5500021274784               Gas           Non Aggregation - OH
COH             138837630019                Gas           Non Aggregation - OH   DEO             2500012470457               Gas           Non Aggregation - OH
COH             203117570018                Gas           Non Aggregation - OH   DEO             2500020417083               Gas           Non Aggregation - OH
COH             115912390035                Gas           Non Aggregation - OH   DEO             2500018085774               Gas           Non Aggregation - OH
COH             205602190017                Gas           Non Aggregation - OH   DEO             3421702630970               Gas           Non Aggregation - OH
COH             204487190014                Gas           Non Aggregation - OH   DEO             3421702630984               Gas           Non Aggregation - OH
COH             199072600014                Gas           Non Aggregation - OH   DEO             9500032163564               Gas           Non Aggregation - OH
COH             151044030037                Gas           Non Aggregation - OH   DEO             4500038181748               Gas           Non Aggregation - OH
COH             151077170084                Gas           Non Aggregation - OH   DEO             1440704298541               Gas           Non Aggregation - OH
COH             151077170075                Gas           Non Aggregation - OH   DEO             3421704208963               Gas           Non Aggregation - OH
COH             151077170191                Gas           Non Aggregation - OH   DEO             1500035257706               Gas           Non Aggregation - OH
COH             151077170217                Gas           Non Aggregation - OH   DEO             0500043183971               Gas           Non Aggregation - OH
COH             151077170208                Gas           Non Aggregation - OH   DEO             4500043799813               Gas           Non Aggregation - OH
COH             151077170226                Gas           Non Aggregation - OH   DEO             1500014200720               Gas           Non Aggregation - OH
DEO             0500031846471               Gas           Non Aggregation - OH   DEO             6441307033610               Gas           Non Aggregation - OH
COH             113601600120                Gas           Non Aggregation - OH   DEO             4421303549005               Gas           Non Aggregation - OH
COH             113066740029                Gas           Non Aggregation - OH   DEO             1500009945374               Gas           Non Aggregation - OH
COH             112557420026                Gas           Non Aggregation - OH   DEO             1420605626945               Gas           Non Aggregation - OH
COH             115394750011                Gas           Non Aggregation - OH   DEO             2500043240720               Gas           Non Aggregation - OH
COH             204425420024                Gas           Non Aggregation - OH   DEO             9500041316776               Gas           Non Aggregation - OH
COH             171165170010                Gas           Non Aggregation - OH   DEO             5420503611424               Gas           Non Aggregation - OH
VEDO            4015826702568135            Gas           Non Aggregation - OH   DEO             3420902236272               Gas           Non Aggregation - OH
COH             204217980019                Gas           Non Aggregation - OH   DEO             4420401558407               Gas           Non Aggregation - OH
DEO             3180003960559               Gas           Non Aggregation - OH   DEO             4500021439076               Gas           Non Aggregation - OH
COH             177782270060                Gas           Non Aggregation - OH   DEO             6500032972454               Gas           Non Aggregation - OH
COH             157559220012                Gas           Non Aggregation - OH   DEO             9441508994539               Gas           Non Aggregation - OH
COH             145475900075                Gas           Non Aggregation - OH   DEO             3500040112577               Gas           Non Aggregation - OH
COH             145677830063                Gas           Non Aggregation - OH   DEO             4500034663189               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             115453330022                Gas           Non Aggregation - OH   DEO             7421602993314               Gas           Non Aggregation - OH
COH             152463940028                Gas           Non Aggregation - OH   DEO             4500011061233               Gas           Non Aggregation - OH
COH             158761700011                Gas           Non Aggregation - OH   DEO             0440303249268               Gas           Non Aggregation - OH
COH             122141890027                Gas           Non Aggregation - OH   DEO             3500030427342               Gas           Non Aggregation - OH
COH             122067320159                Gas           Non Aggregation - OH   DEO             3441705979635               Gas           Non Aggregation - OH
COH             131907620028                Gas           Non Aggregation - OH   DEO             0500026174461               Gas           Non Aggregation - OH
COH             143127340018                Gas           Non Aggregation - OH   DEO             5441607342634               Gas           Non Aggregation - OH
COH             138825350068                Gas           Non Aggregation - OH   DEO             1500025893987               Gas           Non Aggregation - OH
COH             163318420030                Gas           Non Aggregation - OH   DEO             2500034246426               Gas           Non Aggregation - OH
COH             112813140012                Gas           Non Aggregation - OH   DEO             8500020178009               Gas           Non Aggregation - OH
DUKE            8440028720                  Gas           Non Aggregation - OH   DEO             6500044428742               Gas           Non Aggregation - OH
DEO             2500055263898               Gas           Non Aggregation - OH   DEO             8441204711501               Gas           Non Aggregation - OH
VEDO            4002075812202884            Gas           Non Aggregation - OH   DEO             7500036033989               Gas           Non Aggregation - OH
DEO             0500065816030               Gas           Non Aggregation - OH   DEO             3500025539524               Gas           Non Aggregation - OH
DUKE            8610071324                  Gas           Non Aggregation - OH   DEO             0440506970998               Gas           Non Aggregation - OH
DUKE            5090048624                  Gas           Non Aggregation - OH   DEO             5500031729197               Gas           Non Aggregation - OH
DUKE            2730211704                  Gas           Non Aggregation - OH   DEO             9500040066545               Gas           Non Aggregation - OH
DUKE            4210213107                  Gas           Non Aggregation - OH   DEO             9420801653644               Gas           Non Aggregation - OH
DUKE            9860373302                  Gas           Non Aggregation - OH   DEO             3440108900089               Gas           Non Aggregation - OH
COH             167272820049                Gas           Non Aggregation - OH   DEO             1440101535256               Gas           Non Aggregation - OH
VEDO            4019284982598607            Gas           Non Aggregation - OH   DEO             3441306785783               Gas           Non Aggregation - OH
VEDO            4019284982343509            Gas           Non Aggregation - OH   DEO             3441204241050               Gas           Non Aggregation - OH
DEO             1500067156560               Gas           Non Aggregation - OH   DEO             7500042488528               Gas           Non Aggregation - OH
COH             112711100016                Gas           Non Aggregation - OH   DEO             6421406721594               Gas           Non Aggregation - OH
COH             112711100025                Gas           Non Aggregation - OH   DEO             9441700392936               Gas           Non Aggregation - OH
COH             113857420010                Gas           Non Aggregation - OH   DEO             4500036260478               Gas           Non Aggregation - OH
COH             115054880014                Gas           Non Aggregation - OH   DEO             4422103672225               Gas           Non Aggregation - OH
COH             115065630013                Gas           Non Aggregation - OH   DEO             5421904036945               Gas           Non Aggregation - OH
COH             115065580014                Gas           Non Aggregation - OH   DEO             0441700562207               Gas           Non Aggregation - OH
COH             195655550031                Gas           Non Aggregation - OH   DEO             0441700562194               Gas           Non Aggregation - OH
COH             135966360016                Gas           Non Aggregation - OH   DEO             8420403559074               Gas           Non Aggregation - OH
DEO             1500047886846               Gas           Non Aggregation - OH   DEO             0500022626368               Gas           Non Aggregation - OH
DEO             1500049598728               Gas           Non Aggregation - OH   DEO             5440907676873               Gas           Non Aggregation - OH
DEO             1500050618813               Gas           Non Aggregation - OH   DEO             8500007161158               Gas           Non Aggregation - OH
DEO             9500012899009               Gas           Non Aggregation - OH   DEO             1440800605429               Gas           Non Aggregation - OH
VEDO            4001532492150003            Gas           Non Aggregation - OH   DEO             9500022665048               Gas           Non Aggregation - OH
VEDO            4001532492202294            Gas           Non Aggregation - OH   DEO             1440808291209               Gas           Non Aggregation - OH
DEO             2500012990472               Gas           Non Aggregation - OH   DEO             0500041219211               Gas           Non Aggregation - OH
COH             153901560018                Gas           Non Aggregation - OH   DEO             6440708506074               Gas           Non Aggregation - OH
COH             147365330058                Gas           Non Aggregation - OH   DEO             8421002240736               Gas           Non Aggregation - OH
COH             147365330030                Gas           Non Aggregation - OH   DEO             2500020004739               Gas           Non Aggregation - OH
COH             147365330049                Gas           Non Aggregation - OH   DEO             5420905696891               Gas           Non Aggregation - OH
COH             147365330094                Gas           Non Aggregation - OH   DEO             0441401892130               Gas           Non Aggregation - OH
COH             111060110034                Gas           Non Aggregation - OH   DEO             3500020206287               Gas           Non Aggregation - OH
COH             111060110016                Gas           Non Aggregation - OH   DEO             4500006821220               Gas           Non Aggregation - OH
COH             158817500014                Gas           Non Aggregation - OH   DEO             3420905072763               Gas           Non Aggregation - OH
COH             111060110025                Gas           Non Aggregation - OH   DEO             9500035158409               Gas           Non Aggregation - OH
DUKE            5170017823                  Gas           Non Aggregation - OH   DEO             8500041219501               Gas           Non Aggregation - OH
DUKE            2720359601                  Gas           Non Aggregation - OH   DEO             7441004014805               Gas           Non Aggregation - OH
DUKE            4360205001                  Gas           Non Aggregation - OH   DEO             0440605390429               Gas           Non Aggregation - OH
DUKE            5060036720                  Gas           Non Aggregation - OH   DEO             4441606439022               Gas           Non Aggregation - OH
DUKE            5360205001                  Gas           Non Aggregation - OH   DEO             7500035228215               Gas           Non Aggregation - OH
DUKE            5730018522                  Gas           Non Aggregation - OH   DEO             7500043858062               Gas           Non Aggregation - OH
DUKE            8350073220                  Gas           Non Aggregation - OH   DEO             3500010932372               Gas           Non Aggregation - OH
COH             162726810016                Gas           Non Aggregation - OH   DEO             3421403420184               Gas           Non Aggregation - OH
COH             192010550021                Gas           Non Aggregation - OH   DEO             1422006442279               Gas           Non Aggregation - OH
COH             111414220021                Gas           Non Aggregation - OH   DEO             3500041774591               Gas           Non Aggregation - OH
COH             111347030015                Gas           Non Aggregation - OH   DEO             2500007944983               Gas           Non Aggregation - OH
COH             111414220012                Gas           Non Aggregation - OH   DEO             1500042339077               Gas           Non Aggregation - OH
COH             111318050012                Gas           Non Aggregation - OH   DEO             4500035831921               Gas           Non Aggregation - OH
COH             122205820016                Gas           Non Aggregation - OH   DEO             4500039587881               Gas           Non Aggregation - OH
COH             124546060021                Gas           Non Aggregation - OH   DEO             7500029960728               Gas           Non Aggregation - OH
COH             148875140010                Gas           Non Aggregation - OH   DEO             4500018809693               Gas           Non Aggregation - OH
COH             124586130086                Gas           Non Aggregation - OH   DEO             7441605547396               Gas           Non Aggregation - OH
VEDO            4002213002333500            Gas           Non Aggregation - OH   DEO             5421103226601               Gas           Non Aggregation - OH
VEDO            4002213002524297            Gas           Non Aggregation - OH   DEO             7441106482134               Gas           Non Aggregation - OH
COH             123042520078                Gas           Non Aggregation - OH   DEO             5500014899021               Gas           Non Aggregation - OH
COH             122418010015                Gas           Non Aggregation - OH   DEO             1500031065362               Gas           Non Aggregation - OH
COH             152891640015                Gas           Non Aggregation - OH   DEO             5500029844936               Gas           Non Aggregation - OH
VEDO            4001159832367432            Gas           Non Aggregation - OH   DEO             6500045405729               Gas           Non Aggregation - OH
VEDO            4001159832115053            Gas           Non Aggregation - OH   DEO             7441807342668               Gas           Non Aggregation - OH
VEDO            4001159832384434            Gas           Non Aggregation - OH   DEO             2442005693471               Gas           Non Aggregation - OH
DUKE            6560067503                  Gas           Non Aggregation - OH   DEO             1421205802949               Gas           Non Aggregation - OH
DUKE            1710068820                  Gas           Non Aggregation - OH   DEO             8500018912905               Gas           Non Aggregation - OH
COH             146474330021                Gas           Non Aggregation - OH   DEO             9500031208311               Gas           Non Aggregation - OH
VEDO            4001815122352427            Gas           Non Aggregation - OH   DEO             3500019786986               Gas           Non Aggregation - OH
VEDO            4001815122394766            Gas           Non Aggregation - OH   DEO             0330000013450               Gas           Non Aggregation - OH
VEDO            4001815122414937            Gas           Non Aggregation - OH   DEO             9420606488608               Gas           Non Aggregation - OH
VEDO            4001815122150075            Gas           Non Aggregation - OH   DEO             9500041353481               Gas           Non Aggregation - OH
VEDO            4001815122308425            Gas           Non Aggregation - OH   DEO             0500037465106               Gas           Non Aggregation - OH
VEDO            4001815122481774            Gas           Non Aggregation - OH   DEO             5500041451083               Gas           Non Aggregation - OH
VEDO            4001815122266218            Gas           Non Aggregation - OH   DEO             1500040240830               Gas           Non Aggregation - OH
VEDO            4001815122111142            Gas           Non Aggregation - OH   DEO             3500028354747               Gas           Non Aggregation - OH
COH             207945010016                Gas           Non Aggregation - OH   DEO             5440205056401               Gas           Non Aggregation - OH
COH             117293590017                Gas           Non Aggregation - OH   DEO             8500029139542               Gas           Non Aggregation - OH
COH             117435570028                Gas           Non Aggregation - OH   DEO             3441400666547               Gas           Non Aggregation - OH
COH             111250370019                Gas           Non Aggregation - OH   DEO             5500009378963               Gas           Non Aggregation - OH
COH             149800390014                Gas           Non Aggregation - OH   DEO             1500028998764               Gas           Non Aggregation - OH
COH             110969530013                Gas           Non Aggregation - OH   DEO             9500043095488               Gas           Non Aggregation - OH
COH             201015270019                Gas           Non Aggregation - OH   DEO             0442002079458               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
VEDO            4001000112338294            Gas           Non Aggregation - OH   DEO             4440501132127               Gas           Non Aggregation - OH
COH             205032500010                Gas           Non Aggregation - OH   DEO             5440503227092               Gas           Non Aggregation - OH
COH             191966810013                Gas           Non Aggregation - OH   DEO             4440908175804               Gas           Non Aggregation - OH
COH             164070880039                Gas           Non Aggregation - OH   DEO             5442103856980               Gas           Non Aggregation - OH
COH             115028270026                Gas           Non Aggregation - OH   DEO             5500041405682               Gas           Non Aggregation - OH
COH             115028270035                Gas           Non Aggregation - OH   DEO             3500025625172               Gas           Non Aggregation - OH
VEDO            4019454862132605            Gas           Non Aggregation - OH   DEO             0500016814237               Gas           Non Aggregation - OH
DEO             1180001809677               Gas           Non Aggregation - OH   DEO             7421302718733               Gas           Non Aggregation - OH
COH             109815460016                Gas           Non Aggregation - OH   DEO             9441703536775               Gas           Non Aggregation - OH
COH             163618680012                Gas           Non Aggregation - OH   DEO             9442105874150               Gas           Non Aggregation - OH
COH             144797910018                Gas           Non Aggregation - OH   DEO             1500024625318               Gas           Non Aggregation - OH
COH             110968100015                Gas           Non Aggregation - OH   DEO             0500044285859               Gas           Non Aggregation - OH
COH             110983970011                Gas           Non Aggregation - OH   DEO             5441503398853               Gas           Non Aggregation - OH
COH             110996520018                Gas           Non Aggregation - OH   DEO             9421003272901               Gas           Non Aggregation - OH
COH             134999300010                Gas           Non Aggregation - OH   DEO             5441002901710               Gas           Non Aggregation - OH
COH             145427970018                Gas           Non Aggregation - OH   DEO             8441802565073               Gas           Non Aggregation - OH
COH             145442760010                Gas           Non Aggregation - OH   DEO             9500047871172               Gas           Non Aggregation - OH
COH             144727390113                Gas           Non Aggregation - OH   DEO             9500009316836               Gas           Non Aggregation - OH
COH             135517270016                Gas           Non Aggregation - OH   DEO             9500029463767               Gas           Non Aggregation - OH
COH             155949450019                Gas           Non Aggregation - OH   DEO             7441002527960               Gas           Non Aggregation - OH
COH             144727390122                Gas           Non Aggregation - OH   DEO             7500037371365               Gas           Non Aggregation - OH
COH             168879610019                Gas           Non Aggregation - OH   DEO             1442000513356               Gas           Non Aggregation - OH
COH             127500250015                Gas           Non Aggregation - OH   DEO             6442000513363               Gas           Non Aggregation - OH
COH             162256090015                Gas           Non Aggregation - OH   DEO             6500029072778               Gas           Non Aggregation - OH
COH             128918670011                Gas           Non Aggregation - OH   DEO             5440907960043               Gas           Non Aggregation - OH
COH             138801620025                Gas           Non Aggregation - OH   DEO             3500025063578               Gas           Non Aggregation - OH
COH             114647740017                Gas           Non Aggregation - OH   DEO             1500022540989               Gas           Non Aggregation - OH
COH             128918670039                Gas           Non Aggregation - OH   DEO             9500017991997               Gas           Non Aggregation - OH
COH             156428170011                Gas           Non Aggregation - OH   DEO             8500042682535               Gas           Non Aggregation - OH
COH             125795720024                Gas           Non Aggregation - OH   DEO             8441803615127               Gas           Non Aggregation - OH
COH             125722920016                Gas           Non Aggregation - OH   DEO             5440506946808               Gas           Non Aggregation - OH
COH             115166740016                Gas           Non Aggregation - OH   DEO             2440504280961               Gas           Non Aggregation - OH
COH             115148220031                Gas           Non Aggregation - OH   DEO             7441709014796               Gas           Non Aggregation - OH
COH             115166750014                Gas           Non Aggregation - OH   DEO             6440602201245               Gas           Non Aggregation - OH
COH             156968500017                Gas           Non Aggregation - OH   DEO             3500046452744               Gas           Non Aggregation - OH
COH             144687110028                Gas           Non Aggregation - OH   DEO             8442006498030               Gas           Non Aggregation - OH
COH             125604890013                Gas           Non Aggregation - OH   DEO             7500033293990               Gas           Non Aggregation - OH
COH             150946240023                Gas           Non Aggregation - OH   DEO             0441106162785               Gas           Non Aggregation - OH
COH             150946240014                Gas           Non Aggregation - OH   DEO             2421002362618               Gas           Non Aggregation - OH
COH             159463780034                Gas           Non Aggregation - OH   DEO             8440704722103               Gas           Non Aggregation - OH
COH             151428800013                Gas           Non Aggregation - OH   DEO             2440708367572               Gas           Non Aggregation - OH
COH             162511120016                Gas           Non Aggregation - OH   DEO             4500044835085               Gas           Non Aggregation - OH
COH             131555210012                Gas           Non Aggregation - OH   DEO             3420803436558               Gas           Non Aggregation - OH
COH             133985880019                Gas           Non Aggregation - OH   DEO             5421302290618               Gas           Non Aggregation - OH
COH             108772290024                Gas           Non Aggregation - OH   DEO             6440802952897               Gas           Non Aggregation - OH
COH             133985880028                Gas           Non Aggregation - OH   DEO             6500047919641               Gas           Non Aggregation - OH
COH             140790510010                Gas           Non Aggregation - OH   DEO             4421105475941               Gas           Non Aggregation - OH
COH             156809530017                Gas           Non Aggregation - OH   DEO             6500019705599               Gas           Non Aggregation - OH
COH             123876160013                Gas           Non Aggregation - OH   DEO             5420105416450               Gas           Non Aggregation - OH
COH             151239780019                Gas           Non Aggregation - OH   DEO             7420702633656               Gas           Non Aggregation - OH
COH             149132460016                Gas           Non Aggregation - OH   DEO             5330000009172               Gas           Non Aggregation - OH
COH             140848330015                Gas           Non Aggregation - OH   DEO             1500003867510               Gas           Non Aggregation - OH
COH             123815230016                Gas           Non Aggregation - OH   DEO             8500042623512               Gas           Non Aggregation - OH
COH             123042520087                Gas           Non Aggregation - OH   DEO             9500040432175               Gas           Non Aggregation - OH
COH             151740070015                Gas           Non Aggregation - OH   DEO             0421006432410               Gas           Non Aggregation - OH
COH             150365150015                Gas           Non Aggregation - OH   DEO             9500035955132               Gas           Non Aggregation - OH
COH             123094190024                Gas           Non Aggregation - OH   DEO             9500043072369               Gas           Non Aggregation - OH
COH             123042520121                Gas           Non Aggregation - OH   DEO             1500042782573               Gas           Non Aggregation - OH
COH             123063830104                Gas           Non Aggregation - OH   DEO             0421006531322               Gas           Non Aggregation - OH
COH             134570950012                Gas           Non Aggregation - OH   DEO             2421002771703               Gas           Non Aggregation - OH
COH             108933260019                Gas           Non Aggregation - OH   DEO             7441000842924               Gas           Non Aggregation - OH
COH             145706510012                Gas           Non Aggregation - OH   DEO             4440501636360               Gas           Non Aggregation - OH
COH             108933050022                Gas           Non Aggregation - OH   DEO             2441404110857               Gas           Non Aggregation - OH
COH             108933050031                Gas           Non Aggregation - OH   DEO             8420205885407               Gas           Non Aggregation - OH
COH             131483180012                Gas           Non Aggregation - OH   DEO             3500022298869               Gas           Non Aggregation - OH
COH             161662210019                Gas           Non Aggregation - OH   DEO             0420701721476               Gas           Non Aggregation - OH
COH             114621810034                Gas           Non Aggregation - OH   DEO             8440208031997               Gas           Non Aggregation - OH
DEO             7500047632179               Gas           Non Aggregation - OH   DEO             6440707677012               Gas           Non Aggregation - OH
DEO             2440900452972               Gas           Non Aggregation - OH   DEO             0421202263297               Gas           Non Aggregation - OH
VEDO            4003014262387249            Gas           Non Aggregation - OH   DEO             1140000046409               Gas           Non Aggregation - OH
VEDO            4004872252496444            Gas           Non Aggregation - OH   DEO             8420803081134               Gas           Non Aggregation - OH
VEDO            4004872252514387            Gas           Non Aggregation - OH   DEO             6441605605358               Gas           Non Aggregation - OH
VEDO            4003315122327870            Gas           Non Aggregation - OH   DEO             9441606003130               Gas           Non Aggregation - OH
VEDO            4002779442287168            Gas           Non Aggregation - OH   DEO             8441308364982               Gas           Non Aggregation - OH
VEDO            4002779442402179            Gas           Non Aggregation - OH   DEO             8440804633098               Gas           Non Aggregation - OH
VEDO            4002993002294580            Gas           Non Aggregation - OH   DEO             8441607162957               Gas           Non Aggregation - OH
VEDO            4003644642362539            Gas           Non Aggregation - OH   DEO             3500013294959               Gas           Non Aggregation - OH
VEDO            4002376362267844            Gas           Non Aggregation - OH   DEO             6440001405402               Gas           Non Aggregation - OH
VEDO            4002053142200604            Gas           Non Aggregation - OH   DEO             0421702932532               Gas           Non Aggregation - OH
VEDO            4001246482339939            Gas           Non Aggregation - OH   DEO             1440201150338               Gas           Non Aggregation - OH
VEDO            4001246482175160            Gas           Non Aggregation - OH   DEO             1500046168949               Gas           Non Aggregation - OH
VEDO            4004760342484091            Gas           Non Aggregation - OH   DEO             9500029275722               Gas           Non Aggregation - OH
VEDO            4001246482542375            Gas           Non Aggregation - OH   DEO             1500043639032               Gas           Non Aggregation - OH
VEDO            4001246482632067            Gas           Non Aggregation - OH   DEO             7441206536318               Gas           Non Aggregation - OH
VEDO            4001246482458551            Gas           Non Aggregation - OH   DEO             4421902797287               Gas           Non Aggregation - OH
VEDO            4001246482300130            Gas           Non Aggregation - OH   DEO             6500032345602               Gas           Non Aggregation - OH
VEDO            4001246482628627            Gas           Non Aggregation - OH   DEO             9441803648838               Gas           Non Aggregation - OH
VEDO            4001246482635434            Gas           Non Aggregation - OH   DEO             7500044657031               Gas           Non Aggregation - OH
VEDO            4001246482377580            Gas           Non Aggregation - OH   DEO             4500045092022               Gas           Non Aggregation - OH
VEDO            4001246482401354            Gas           Non Aggregation - OH   DEO             5500002677874               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
VEDO            4001246482503963            Gas           Non Aggregation - OH   DEO             8420805593760               Gas           Non Aggregation - OH
VEDO            4001246482524518            Gas           Non Aggregation - OH   DEO             3420800208663               Gas           Non Aggregation - OH
VEDO            4001246482631770            Gas           Non Aggregation - OH   DEO             3500005879501               Gas           Non Aggregation - OH
VEDO            4001246482630183            Gas           Non Aggregation - OH   DEO             2440200063808               Gas           Non Aggregation - OH
VEDO            4015181362534544            Gas           Non Aggregation - OH   DEO             0500003149028               Gas           Non Aggregation - OH
VEDO            4017255762626001            Gas           Non Aggregation - OH   DEO             9421302498040               Gas           Non Aggregation - OH
VEDO            4017255762627057            Gas           Non Aggregation - OH   DEO             8421905156322               Gas           Non Aggregation - OH
VEDO            4002064882601989            Gas           Non Aggregation - OH   DEO             5441003225877               Gas           Non Aggregation - OH
VEDO            4002064882104430            Gas           Non Aggregation - OH   DEO             3500045545589               Gas           Non Aggregation - OH
VEDO            4002064882293430            Gas           Non Aggregation - OH   DEO             8441004526043               Gas           Non Aggregation - OH
VEDO            4001599982349320            Gas           Non Aggregation - OH   DEO             6500045468067               Gas           Non Aggregation - OH
VEDO            4001599982179736            Gas           Non Aggregation - OH   DEO             8500030664713               Gas           Non Aggregation - OH
VEDO            4001599982279461            Gas           Non Aggregation - OH   DEO             6500011495739               Gas           Non Aggregation - OH
VEDO            4001599982508838            Gas           Non Aggregation - OH   DEO             0441302918319               Gas           Non Aggregation - OH
VEDO            4001599982630374            Gas           Non Aggregation - OH   DEO             4441505890216               Gas           Non Aggregation - OH
VEDO            4002155882539940            Gas           Non Aggregation - OH   DEO             2500005702419               Gas           Non Aggregation - OH
VEDO            4001340352364403            Gas           Non Aggregation - OH   DEO             4500034719170               Gas           Non Aggregation - OH
VEDO            4004062382415163            Gas           Non Aggregation - OH   DEO             9500039671802               Gas           Non Aggregation - OH
VEDO            4002440482150298            Gas           Non Aggregation - OH   DEO             3500042375639               Gas           Non Aggregation - OH
VEDO            4002440482502737            Gas           Non Aggregation - OH   DEO             9500032011717               Gas           Non Aggregation - OH
VEDO            4015125672523016            Gas           Non Aggregation - OH   DEO             8500029104635               Gas           Non Aggregation - OH
DEO             9440800027783               Gas           Non Aggregation - OH   DEO             8500037609792               Gas           Non Aggregation - OH
DEO             2440800027667               Gas           Non Aggregation - OH   DEO             7500043413969               Gas           Non Aggregation - OH
DEO             8440800075808               Gas           Non Aggregation - OH   DEO             5500042539376               Gas           Non Aggregation - OH
DEO             3441300548916               Gas           Non Aggregation - OH   DEO             4500023827554               Gas           Non Aggregation - OH
DEO             5441200086797               Gas           Non Aggregation - OH   DEO             3500028816278               Gas           Non Aggregation - OH
DEO             6441200606280               Gas           Non Aggregation - OH   DEO             9500044630374               Gas           Non Aggregation - OH
DEO             0441200606292               Gas           Non Aggregation - OH   DEO             7421704204734               Gas           Non Aggregation - OH
DEO             5441200606237               Gas           Non Aggregation - OH   DEO             3421804876326               Gas           Non Aggregation - OH
DEO             9441300548904               Gas           Non Aggregation - OH   DEO             2500041670691               Gas           Non Aggregation - OH
COH             110975650024                Gas           Non Aggregation - OH   DEO             6500027937479               Gas           Non Aggregation - OH
DEO             5500067286996               Gas           Non Aggregation - OH   DEO             6500027937498               Gas           Non Aggregation - OH
DEO             5500067286869               Gas           Non Aggregation - OH   DEO             9441807801896               Gas           Non Aggregation - OH
VEDO            4001303782474850            Gas           Non Aggregation - OH   DEO             3500027256573               Gas           Non Aggregation - OH
VEDO            4001303782628121            Gas           Non Aggregation - OH   DEO             4421200009149               Gas           Non Aggregation - OH
VEDO            4002351202340201            Gas           Non Aggregation - OH   DEO             3440604009965               Gas           Non Aggregation - OH
VEDO            4016975802394152            Gas           Non Aggregation - OH   DEO             3500032867692               Gas           Non Aggregation - OH
VEDO            4002593192254284            Gas           Non Aggregation - OH   DEO             1500041879671               Gas           Non Aggregation - OH
VEDO            4002593192284206            Gas           Non Aggregation - OH   DEO             2500020092646               Gas           Non Aggregation - OH
VEDO            4003413922339699            Gas           Non Aggregation - OH   DEO             1440305638350               Gas           Non Aggregation - OH
COH             112832930016                Gas           Non Aggregation - OH   DEO             9441602229869               Gas           Non Aggregation - OH
COH             170280060029                Gas           Non Aggregation - OH   DEO             8441602254944               Gas           Non Aggregation - OH
COH             197260350029                Gas           Non Aggregation - OH   DEO             1500044106994               Gas           Non Aggregation - OH
COH             199788200011                Gas           Non Aggregation - OH   DEO             0500042712088               Gas           Non Aggregation - OH
COH             199191990011                Gas           Non Aggregation - OH   DEO             7500024507309               Gas           Non Aggregation - OH
COH             161552290392                Gas           Non Aggregation - OH   DEO             4500031083137               Gas           Non Aggregation - OH
COH             166724420214                Gas           Non Aggregation - OH   DEO             1500043672390               Gas           Non Aggregation - OH
VEDO            4004364742440534            Gas           Non Aggregation - OH   DEO             3500020103197               Gas           Non Aggregation - OH
DUKE            7650016920                  Gas           Non Aggregation - OH   DEO             5500007614389               Gas           Non Aggregation - OH
COH             114762950019                Gas           Non Aggregation - OH   DEO             5441303275943               Gas           Non Aggregation - OH
COH             172124450016                Gas           Non Aggregation - OH   DEO             9140000009844               Gas           Non Aggregation - OH
DUKE            0040220201                  Gas           Non Aggregation - OH   DEO             9440903319274               Gas           Non Aggregation - OH
COH             197166960012                Gas           Non Aggregation - OH   DEO             9500045618039               Gas           Non Aggregation - OH
VEDO            4002360582403816            Gas           Non Aggregation - OH   DEO             6500009957287               Gas           Non Aggregation - OH
VEDO            4002360582318701            Gas           Non Aggregation - OH   DEO             7442003198699               Gas           Non Aggregation - OH
VEDO            4002360582328481            Gas           Non Aggregation - OH   DEO             9500044689740               Gas           Non Aggregation - OH
VEDO            4015301702227820            Gas           Non Aggregation - OH   DEO             2500015096666               Gas           Non Aggregation - OH
VEDO            4019770092500666            Gas           Non Aggregation - OH   DEO             8500039875315               Gas           Non Aggregation - OH
DUKE            5150085222                  Gas           Non Aggregation - OH   DEO             6500038491196               Gas           Non Aggregation - OH
DUKE            5450213503                  Gas           Non Aggregation - OH   DEO             9500028536781               Gas           Non Aggregation - OH
DUKE            6810216403                  Gas           Non Aggregation - OH   DEO             5440706136698               Gas           Non Aggregation - OH
DUKE            7060214403                  Gas           Non Aggregation - OH   DEO             3500046103602               Gas           Non Aggregation - OH
DUKE            7310213003                  Gas           Non Aggregation - OH   DEO             7500042580269               Gas           Non Aggregation - OH
DUKE            1200207503                  Gas           Non Aggregation - OH   DEO             4440605695321               Gas           Non Aggregation - OH
COH             190271960052                Gas           Non Aggregation - OH   DEO             4500016038864               Gas           Non Aggregation - OH
COH             112855240059                Gas           Non Aggregation - OH   DEO             9441605452841               Gas           Non Aggregation - OH
COH             113455940059                Gas           Non Aggregation - OH   DEO             9500045184194               Gas           Non Aggregation - OH
COH             171880000064                Gas           Non Aggregation - OH   DEO             7440408733445               Gas           Non Aggregation - OH
DEO             7441007365969               Gas           Non Aggregation - OH   DEO             2440804137735               Gas           Non Aggregation - OH
DEO             0180017245952               Gas           Non Aggregation - OH   DEO             7440904015148               Gas           Non Aggregation - OH
VEDO            4004033872404370            Gas           Non Aggregation - OH   DEO             9500039127474               Gas           Non Aggregation - OH
COH             192465570033                Gas           Non Aggregation - OH   DEO             2441402689178               Gas           Non Aggregation - OH
DEO             0500008791076               Gas           Non Aggregation - OH   DEO             2500013109779               Gas           Non Aggregation - OH
COH             205777890011                Gas           Non Aggregation - OH   DEO             2500034053303               Gas           Non Aggregation - OH
COH             210249510012                Gas           Non Aggregation - OH   DEO             7440407381802               Gas           Non Aggregation - OH
DEO             7421804610898               Gas           Non Aggregation - OH   DEO             7500028689943               Gas           Non Aggregation - OH
VEDO            4004502772475155            Gas           Non Aggregation - OH   DEO             7440500923329               Gas           Non Aggregation - OH
VEDO            4017478772127980            Gas           Non Aggregation - OH   DEO             4440707170016               Gas           Non Aggregation - OH
VEDO            4018865442113855            Gas           Non Aggregation - OH   DEO             4500041290293               Gas           Non Aggregation - OH
DEO             5500038961024               Gas           Non Aggregation - OH   DEO             2500022237165               Gas           Non Aggregation - OH
DEO             3180011496965               Gas           Non Aggregation - OH   DEO             3442100483260               Gas           Non Aggregation - OH
VEDO            4018956182508943            Gas           Non Aggregation - OH   DEO             3500036599136               Gas           Non Aggregation - OH
DEO             0441904394053               Gas           Non Aggregation - OH   DEO             9500017013923               Gas           Non Aggregation - OH
DEO             4180018171975               Gas           Non Aggregation - OH   DEO             5500013601730               Gas           Non Aggregation - OH
DEO             3441903476686               Gas           Non Aggregation - OH   DEO             2500040243984               Gas           Non Aggregation - OH
COH             112233090013                Gas           Non Aggregation - OH   DEO             3500031424436               Gas           Non Aggregation - OH
DEO             4440803636899               Gas           Non Aggregation - OH   DEO             8420801125614               Gas           Non Aggregation - OH
DEO             4440803636902               Gas           Non Aggregation - OH   DEO             7500020536850               Gas           Non Aggregation - OH
VEDO            4001018812101836            Gas           Non Aggregation - OH   DEO             0500020295921               Gas           Non Aggregation - OH
DEO             4180008536629               Gas           Non Aggregation - OH   DEO             1500023832377               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
VEDO            4002229402504367            Gas           Non Aggregation - OH   DEO             3500044112717               Gas           Non Aggregation - OH
DEO             1180007045175               Gas           Non Aggregation - OH   DEO             3500047413399               Gas           Non Aggregation - OH
COH             145110330013                Gas           Non Aggregation - OH   DEO             9500048624168               Gas           Non Aggregation - OH
DEO             5180002060325               Gas           Non Aggregation - OH   DEO             7500048785634               Gas           Non Aggregation - OH
COH             195379580013                Gas           Non Aggregation - OH   DEO             3441106792598               Gas           Non Aggregation - OH
COH             187945620013                Gas           Non Aggregation - OH   DEO             3500049095457               Gas           Non Aggregation - OH
COH             112987130017                Gas           Non Aggregation - OH   DEO             7440507859341               Gas           Non Aggregation - OH
COH             130782890010                Gas           Non Aggregation - OH   DEO             8500049201845               Gas           Non Aggregation - OH
COH             148094010068                Gas           Non Aggregation - OH   DEO             2500049352682               Gas           Non Aggregation - OH
COH             200610680012                Gas           Non Aggregation - OH   DEO             9440606743106               Gas           Non Aggregation - OH
COH             153076030047                Gas           Non Aggregation - OH   DEO             6500049476494               Gas           Non Aggregation - OH
COH             160521940551                Gas           Non Aggregation - OH   DEO             4500048326812               Gas           Non Aggregation - OH
COH             160521940819                Gas           Non Aggregation - OH   DEO             1421700820356               Gas           Non Aggregation - OH
COH             160521940855                Gas           Non Aggregation - OH   DEO             3421605035890               Gas           Non Aggregation - OH
COH             162836020019                Gas           Non Aggregation - OH   DEO             6500049813441               Gas           Non Aggregation - OH
COH             160521940891                Gas           Non Aggregation - OH   DEO             1440206643504               Gas           Non Aggregation - OH
COH             160521940051                Gas           Non Aggregation - OH   DEO             3440804468662               Gas           Non Aggregation - OH
COH             160521940033                Gas           Non Aggregation - OH   DEO             5500049752832               Gas           Non Aggregation - OH
COH             160521940499                Gas           Non Aggregation - OH   DEO             2500049883948               Gas           Non Aggregation - OH
COH             160521940453                Gas           Non Aggregation - OH   DEO             7440705592044               Gas           Non Aggregation - OH
COH             160521941738                Gas           Non Aggregation - OH   DEO             7500048284423               Gas           Non Aggregation - OH
COH             160521941890                Gas           Non Aggregation - OH   DEO             1500011032865               Gas           Non Aggregation - OH
COH             160521941498                Gas           Non Aggregation - OH   DEO             4500048712672               Gas           Non Aggregation - OH
COH             160521941158                Gas           Non Aggregation - OH   DEO             7500044549536               Gas           Non Aggregation - OH
COH             160521940355                Gas           Non Aggregation - OH   DEO             5500049003818               Gas           Non Aggregation - OH
COH             160521940275                Gas           Non Aggregation - OH   DEO             9500029115882               Gas           Non Aggregation - OH
COH             160521940211                Gas           Non Aggregation - OH   DEO             4500048728794               Gas           Non Aggregation - OH
COH             160521940159                Gas           Non Aggregation - OH   DEO             4441307233442               Gas           Non Aggregation - OH
COH             160521941550                Gas           Non Aggregation - OH   DEO             9421006234766               Gas           Non Aggregation - OH
COH             160521941470                Gas           Non Aggregation - OH   DEO             8500013041231               Gas           Non Aggregation - OH
COH             160521940597                Gas           Non Aggregation - OH   DEO             8500045346291               Gas           Non Aggregation - OH
COH             160521940319                Gas           Non Aggregation - OH   DEO             6500038204903               Gas           Non Aggregation - OH
COH             160521941630                Gas           Non Aggregation - OH   DEO             3500029126247               Gas           Non Aggregation - OH
COH             160521941612                Gas           Non Aggregation - OH   DEO             5500050297778               Gas           Non Aggregation - OH
COH             160521941596                Gas           Non Aggregation - OH   DEO             9500028156010               Gas           Non Aggregation - OH
COH             160521940793                Gas           Non Aggregation - OH   DEO             4500050415098               Gas           Non Aggregation - OH
COH             160521940837                Gas           Non Aggregation - OH   DEO             7500050472544               Gas           Non Aggregation - OH
COH             160521941756                Gas           Non Aggregation - OH   DEO             0500050586919               Gas           Non Aggregation - OH
COH             160521941774                Gas           Non Aggregation - OH   DEO             7500050566896               Gas           Non Aggregation - OH
COH             160521941792                Gas           Non Aggregation - OH   DEO             4500050540322               Gas           Non Aggregation - OH
COH             160521941818                Gas           Non Aggregation - OH   DEO             4440208148277               Gas           Non Aggregation - OH
COH             160521941836                Gas           Non Aggregation - OH   DEO             4500050632838               Gas           Non Aggregation - OH
COH             171064200017                Gas           Non Aggregation - OH   DEO             4500050818968               Gas           Non Aggregation - OH
COH             171064200035                Gas           Non Aggregation - OH   DEO             4441807508707               Gas           Non Aggregation - OH
COH             160521941863                Gas           Non Aggregation - OH   DEO             6441805182574               Gas           Non Aggregation - OH
COH             160521941872                Gas           Non Aggregation - OH   DEO             8440200856728               Gas           Non Aggregation - OH
COH             160521941854                Gas           Non Aggregation - OH   DEO             8500050893447               Gas           Non Aggregation - OH
COH             160510240202                Gas           Non Aggregation - OH   DEO             6500050988682               Gas           Non Aggregation - OH
COH             160521941925                Gas           Non Aggregation - OH   DEO             0500051043745               Gas           Non Aggregation - OH
COH             160521941961                Gas           Non Aggregation - OH   DEO             0500051496701               Gas           Non Aggregation - OH
COH             160521941998                Gas           Non Aggregation - OH   DEO             9500051490842               Gas           Non Aggregation - OH
COH             194069020018                Gas           Non Aggregation - OH   DEO             0441202088418               Gas           Non Aggregation - OH
COH             195828980025                Gas           Non Aggregation - OH   DEO             9500030415651               Gas           Non Aggregation - OH
DEO             0500011974446               Gas           Non Aggregation - OH   DEO             3500052175441               Gas           Non Aggregation - OH
DEO             0500014398194               Gas           Non Aggregation - OH   DEO             5500052238976               Gas           Non Aggregation - OH
DEO             0500011978963               Gas           Non Aggregation - OH   DEO             4500052219190               Gas           Non Aggregation - OH
DEO             0500011978802               Gas           Non Aggregation - OH   DEO             8500052262130               Gas           Non Aggregation - OH
DEO             0500011989316               Gas           Non Aggregation - OH   DEO             2500052185407               Gas           Non Aggregation - OH
DEO             0500011978709               Gas           Non Aggregation - OH   DEO             2500052522975               Gas           Non Aggregation - OH
DEO             0500016091129               Gas           Non Aggregation - OH   DEO             0500052283207               Gas           Non Aggregation - OH
DEO             0500011989092               Gas           Non Aggregation - OH   DEO             2500052661960               Gas           Non Aggregation - OH
DEO             0500011980277               Gas           Non Aggregation - OH   DEO             1500052954408               Gas           Non Aggregation - OH
DEO             0500015453293               Gas           Non Aggregation - OH   DEO             3500052879938               Gas           Non Aggregation - OH
DEO             0500014055816               Gas           Non Aggregation - OH   DEO             7421203178578               Gas           Non Aggregation - OH
DEO             0500013848548               Gas           Non Aggregation - OH   DEO             0440500115506               Gas           Non Aggregation - OH
DEO             0500013848571               Gas           Non Aggregation - OH   DEO             4500039423218               Gas           Non Aggregation - OH
DEO             0500011985143               Gas           Non Aggregation - OH   DEO             2441806797179               Gas           Non Aggregation - OH
DEO             0500011987880               Gas           Non Aggregation - OH   DEO             5440603327175               Gas           Non Aggregation - OH
DEO             0500011979876               Gas           Non Aggregation - OH   DEO             6500054420015               Gas           Non Aggregation - OH
DEO             0500013856040               Gas           Non Aggregation - OH   DEO             0440100468585               Gas           Non Aggregation - OH
DEO             0500011981885               Gas           Non Aggregation - OH   DEO             4500046816952               Gas           Non Aggregation - OH
DEO             0500013924331               Gas           Non Aggregation - OH   DEO             6500022643860               Gas           Non Aggregation - OH
DEO             0500011980600               Gas           Non Aggregation - OH   DEO             9500054509648               Gas           Non Aggregation - OH
DEO             0500013856139               Gas           Non Aggregation - OH   DEO             7441900166703               Gas           Non Aggregation - OH
DEO             0500011988051               Gas           Non Aggregation - OH   DEO             3441404481073               Gas           Non Aggregation - OH
DEO             0500013855831               Gas           Non Aggregation - OH   DEO             3500034865692               Gas           Non Aggregation - OH
DEO             0500026028023               Gas           Non Aggregation - OH   DEO             9440106145727               Gas           Non Aggregation - OH
DEO             0500029683543               Gas           Non Aggregation - OH   DEO             1440601483291               Gas           Non Aggregation - OH
DEO             0500029683909               Gas           Non Aggregation - OH   DEO             4500054421425               Gas           Non Aggregation - OH
DEO             0500029684137               Gas           Non Aggregation - OH   DEO             7500053500938               Gas           Non Aggregation - OH
DEO             0500029684245               Gas           Non Aggregation - OH   DEO             9500032611845               Gas           Non Aggregation - OH
DEO             0500029692460               Gas           Non Aggregation - OH   DEO             8500049764602               Gas           Non Aggregation - OH
DEO             0500029693496               Gas           Non Aggregation - OH   DEO             3500013434096               Gas           Non Aggregation - OH
DEO             0500029693641               Gas           Non Aggregation - OH   DEO             2500028226285               Gas           Non Aggregation - OH
DEO             0500029693759               Gas           Non Aggregation - OH   DEO             0500042276603               Gas           Non Aggregation - OH
DEO             0500030355026               Gas           Non Aggregation - OH   DEO             0500054624269               Gas           Non Aggregation - OH
DEO             0500029693800               Gas           Non Aggregation - OH   DEO             0500054572314               Gas           Non Aggregation - OH
DEO             0500029693960               Gas           Non Aggregation - OH   DEO             8500054670105               Gas           Non Aggregation - OH
DEO             0500029694201               Gas           Non Aggregation - OH   DEO             7500008829935               Gas           Non Aggregation - OH
DEO             0500029706266               Gas           Non Aggregation - OH   DEO             8500021225433               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DEO             0500029706317               Gas           Non Aggregation - OH   DEO             0421806758904               Gas           Non Aggregation - OH
DEO             0500029706341               Gas           Non Aggregation - OH   DEO             3500007685683               Gas           Non Aggregation - OH
DEO             0500029706374               Gas           Non Aggregation - OH   DEO             9500026108515               Gas           Non Aggregation - OH
DEO             0500029706529               Gas           Non Aggregation - OH   DEO             6421704230033               Gas           Non Aggregation - OH
DEO             0500029706656               Gas           Non Aggregation - OH   DEO             4500031981330               Gas           Non Aggregation - OH
DEO             0500029706707               Gas           Non Aggregation - OH   DEO             6500004075198               Gas           Non Aggregation - OH
DEO             0500029706923               Gas           Non Aggregation - OH   DEO             8420200161383               Gas           Non Aggregation - OH
DEO             0500029706956               Gas           Non Aggregation - OH   DEO             8500012775561               Gas           Non Aggregation - OH
DEO             0500029706980               Gas           Non Aggregation - OH   DEO             2500029216315               Gas           Non Aggregation - OH
DEO             0500029706994               Gas           Non Aggregation - OH   DEO             2440501148553               Gas           Non Aggregation - OH
DEO             0500029707024               Gas           Non Aggregation - OH   DEO             3500053916930               Gas           Non Aggregation - OH
DEO             0500029707043               Gas           Non Aggregation - OH   DEO             2421000485651               Gas           Non Aggregation - OH
DEO             0500029707076               Gas           Non Aggregation - OH   DEO             8500054767769               Gas           Non Aggregation - OH
DEO             0500063206837               Gas           Non Aggregation - OH   DEO             4500051223764               Gas           Non Aggregation - OH
DEO             0500035167196               Gas           Non Aggregation - OH   DEO             4500005717046               Gas           Non Aggregation - OH
DEO             0500034643051               Gas           Non Aggregation - OH   DEO             3500003102113               Gas           Non Aggregation - OH
DEO             0500043155047               Gas           Non Aggregation - OH   DEO             5500029895542               Gas           Non Aggregation - OH
DEO             0500046530085               Gas           Non Aggregation - OH   DEO             7500031370935               Gas           Non Aggregation - OH
DEO             0500052860982               Gas           Non Aggregation - OH   DEO             4500052965106               Gas           Non Aggregation - OH
DEO             0500051242473               Gas           Non Aggregation - OH   DEO             7500034891912               Gas           Non Aggregation - OH
COH             200584470013                Gas           Non Aggregation - OH   DEO             2500054866039               Gas           Non Aggregation - OH
COH             112131920032                Gas           Non Aggregation - OH   DEO             5500025045894               Gas           Non Aggregation - OH
COH             119412520104                Gas           Non Aggregation - OH   DEO             0500044698076               Gas           Non Aggregation - OH
COH             111539180017                Gas           Non Aggregation - OH   DEO             7420500420579               Gas           Non Aggregation - OH
VEDO            4001571992136733            Gas           Non Aggregation - OH   DEO             6500049923523               Gas           Non Aggregation - OH
VEDO            4001571992152505            Gas           Non Aggregation - OH   DEO             6421806314981               Gas           Non Aggregation - OH
VEDO            4001571992164196            Gas           Non Aggregation - OH   DEO             0420500084418               Gas           Non Aggregation - OH
VEDO            4001571992170625            Gas           Non Aggregation - OH   DEO             5420701335061               Gas           Non Aggregation - OH
VEDO            4001571992193741            Gas           Non Aggregation - OH   DEO             6500021706856               Gas           Non Aggregation - OH
VEDO            4001571992352829            Gas           Non Aggregation - OH   DEO             2420700009400               Gas           Non Aggregation - OH
VEDO            4001571992403533            Gas           Non Aggregation - OH   DEO             5420800166893               Gas           Non Aggregation - OH
VEDO            4001571992450781            Gas           Non Aggregation - OH   DEO             7120000019059               Gas           Non Aggregation - OH
VEDO            4001571992642182            Gas           Non Aggregation - OH   DEO             2421400148499               Gas           Non Aggregation - OH
COH             201975210017                Gas           Non Aggregation - OH   DEO             2421900226787               Gas           Non Aggregation - OH
COH             197248430019                Gas           Non Aggregation - OH   DEO             2500003506474               Gas           Non Aggregation - OH
COH             145883740010                Gas           Non Aggregation - OH   DEO             7420801197413               Gas           Non Aggregation - OH
COH             200223610026                Gas           Non Aggregation - OH   DEO             3500017884158               Gas           Non Aggregation - OH
COH             151044030046                Gas           Non Aggregation - OH   DEO             7500052593760               Gas           Non Aggregation - OH
COH             110977280046                Gas           Non Aggregation - OH   DEO             4500054911945               Gas           Non Aggregation - OH
DUKE            8700211802                  Gas           Non Aggregation - OH   DEO             9500055037656               Gas           Non Aggregation - OH
COH             194747360019                Gas           Non Aggregation - OH   DEO             3500013562613               Gas           Non Aggregation - OH
DEO             7441101715993               Gas           Non Aggregation - OH   DEO             4421301713614               Gas           Non Aggregation - OH
VEDO            4021542852612994            Gas           Non Aggregation - OH   DEO             9500046973318               Gas           Non Aggregation - OH
VEDO            4002990892294378            Gas           Non Aggregation - OH   DEO             8422100388341               Gas           Non Aggregation - OH
COH             132127600016                Gas           Non Aggregation - OH   DEO             5500037316941               Gas           Non Aggregation - OH
DEO             5500063773526               Gas           Non Aggregation - OH   DEO             2420101392146               Gas           Non Aggregation - OH
DEO             3440204120314               Gas           Non Aggregation - OH   DEO             5500043781218               Gas           Non Aggregation - OH
VEDO            4001318942676353            Gas           Non Aggregation - OH   DEO             5420904055070               Gas           Non Aggregation - OH
COH             151034340024                Gas           Non Aggregation - OH   DEO             7500054240272               Gas           Non Aggregation - OH
DUKE            2220391801                  Gas           Non Aggregation - OH   DEO             6500055084823               Gas           Non Aggregation - OH
DUKE            9530379406                  Gas           Non Aggregation - OH   DEO             6440507796371               Gas           Non Aggregation - OH
DEO             6500049126186               Gas           Non Aggregation - OH   DEO             1500031051334               Gas           Non Aggregation - OH
DEO             6500049126218               Gas           Non Aggregation - OH   DEO             5421800420490               Gas           Non Aggregation - OH
DEO             6500049126241               Gas           Non Aggregation - OH   DEO             5421800420503               Gas           Non Aggregation - OH
DEO             6500049126289               Gas           Non Aggregation - OH   DEO             9500053037505               Gas           Non Aggregation - OH
DEO             6500049126330               Gas           Non Aggregation - OH   DEO             8500041961781               Gas           Non Aggregation - OH
DEO             6500049126364               Gas           Non Aggregation - OH   DEO             4500050266128               Gas           Non Aggregation - OH
DEO             6500049126400               Gas           Non Aggregation - OH   DEO             3420900190650               Gas           Non Aggregation - OH
DEO             6500049133375               Gas           Non Aggregation - OH   DEO             8420903273629               Gas           Non Aggregation - OH
DEO             6500049133394               Gas           Non Aggregation - OH   DEO             9500053534243               Gas           Non Aggregation - OH
DEO             6500049133407               Gas           Non Aggregation - OH   DEO             1420206286887               Gas           Non Aggregation - OH
DEO             6500049133431               Gas           Non Aggregation - OH   DEO             3500015563997               Gas           Non Aggregation - OH
DEO             6500049133450               Gas           Non Aggregation - OH   DEO             8441200492410               Gas           Non Aggregation - OH
DEO             6500049133515               Gas           Non Aggregation - OH   DEO             0500051051571               Gas           Non Aggregation - OH
DEO             6500049133534               Gas           Non Aggregation - OH   DEO             5500007686578               Gas           Non Aggregation - OH
DEO             6500049133680               Gas           Non Aggregation - OH   DEO             1500042392324               Gas           Non Aggregation - OH
DEO             6500049133695               Gas           Non Aggregation - OH   DEO             0400000032150               Gas           Non Aggregation - OH
DEO             6500049133708               Gas           Non Aggregation - OH   DEO             1441000689160               Gas           Non Aggregation - OH
DEO             6500049133712               Gas           Non Aggregation - OH   DEO             4421801977818               Gas           Non Aggregation - OH
DEO             6500049211464               Gas           Non Aggregation - OH   DEO             0440507844689               Gas           Non Aggregation - OH
DEO             6500049211478               Gas           Non Aggregation - OH   DEO             7422105443632               Gas           Non Aggregation - OH
DEO             6500049211483               Gas           Non Aggregation - OH   DEO             9500052993554               Gas           Non Aggregation - OH
DEO             6500052015761               Gas           Non Aggregation - OH   DEO             9500052993624               Gas           Non Aggregation - OH
COH             142468640014                Gas           Non Aggregation - OH   DEO             3421900326049               Gas           Non Aggregation - OH
COH             113455940068                Gas           Non Aggregation - OH   DEO             8500024317768               Gas           Non Aggregation - OH
COH             174039160025                Gas           Non Aggregation - OH   DEO             7441308335764               Gas           Non Aggregation - OH
COH             202065020015                Gas           Non Aggregation - OH   DEO             1500048543294               Gas           Non Aggregation - OH
COH             150645080016                Gas           Non Aggregation - OH   DEO             7441201004470               Gas           Non Aggregation - OH
COH             150645350019                Gas           Non Aggregation - OH   DEO             5500041600756               Gas           Non Aggregation - OH
DEO             4420403360077               Gas           Non Aggregation - OH   DEO             4441400374477               Gas           Non Aggregation - OH
DEO             0420403360056               Gas           Non Aggregation - OH   DEO             5500034359278               Gas           Non Aggregation - OH
DEO             5180004838945               Gas           Non Aggregation - OH   DEO             1440200460152               Gas           Non Aggregation - OH
VEDO            4001493072146182            Gas           Non Aggregation - OH   DEO             0421900153121               Gas           Non Aggregation - OH
VEDO            4002051162389303            Gas           Non Aggregation - OH   DEO             6500051637125               Gas           Non Aggregation - OH
VEDO            4002051162203487            Gas           Non Aggregation - OH   DEO             7421500156585               Gas           Non Aggregation - OH
VEDO            4002051162200400            Gas           Non Aggregation - OH   DEO             2441201925911               Gas           Non Aggregation - OH
VEDO            4015769602637136            Gas           Non Aggregation - OH   DEO             3440702548564               Gas           Non Aggregation - OH
VEDO            4015769602563898            Gas           Non Aggregation - OH   DEO             8500022593113               Gas           Non Aggregation - OH
COH             188116650022                Gas           Non Aggregation - OH   DEO             4500038398978               Gas           Non Aggregation - OH
COH             151207690015                Gas           Non Aggregation - OH   DEO             9500025779697               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             168517370016                Gas           Non Aggregation - OH   DEO             2441701548653               Gas           Non Aggregation - OH
COH             113037640012                Gas           Non Aggregation - OH   DEO             2500055420340               Gas           Non Aggregation - OH
COH             146264100024                Gas           Non Aggregation - OH   DEO             9441600218500               Gas           Non Aggregation - OH
COH             112824070032                Gas           Non Aggregation - OH   DEO             0421500382825               Gas           Non Aggregation - OH
COH             139487900023                Gas           Non Aggregation - OH   DEO             1441600218455               Gas           Non Aggregation - OH
COH             139487900041                Gas           Non Aggregation - OH   DEO             4500055439807               Gas           Non Aggregation - OH
COH             139487900032                Gas           Non Aggregation - OH   DEO             8500045869327               Gas           Non Aggregation - OH
COH             173694210018                Gas           Non Aggregation - OH   DEO             4420800171044               Gas           Non Aggregation - OH
COH             197120560012                Gas           Non Aggregation - OH   DEO             8500037253601               Gas           Non Aggregation - OH
COH             108742930013                Gas           Non Aggregation - OH   DEO             5500034836265               Gas           Non Aggregation - OH
DEO             9500002182602               Gas           Non Aggregation - OH   DEO             0421100379356               Gas           Non Aggregation - OH
DEO             9500002182640               Gas           Non Aggregation - OH   DEO             0500055783841               Gas           Non Aggregation - OH
DEO             9500002182669               Gas           Non Aggregation - OH   DEO             2500060097170               Gas           Non Aggregation - OH
DEO             9500002182693               Gas           Non Aggregation - OH   DEO             9500060401365               Gas           Non Aggregation - OH
DEO             9500002182710               Gas           Non Aggregation - OH   DEO             9500060545277               Gas           Non Aggregation - OH
DEO             0500002961041               Gas           Non Aggregation - OH   DEO             8500060585148               Gas           Non Aggregation - OH
COH             177331530122                Gas           Non Aggregation - OH   DEO             1500061048913               Gas           Non Aggregation - OH
COH             177331530104                Gas           Non Aggregation - OH   DEO             1500061493462               Gas           Non Aggregation - OH
COH             201294610017                Gas           Non Aggregation - OH   DEO             1500061700150               Gas           Non Aggregation - OH
DEO             1180002726536               Gas           Non Aggregation - OH   DEO             0500062108709               Gas           Non Aggregation - OH
VEDO            4017764282671453            Gas           Non Aggregation - OH   DEO             5500048734107               Gas           Non Aggregation - OH
VEDO            4017764282641395            Gas           Non Aggregation - OH   DEO             2500062605729               Gas           Non Aggregation - OH
COH             150879820060                Gas           Non Aggregation - OH   DEO             1500062590968               Gas           Non Aggregation - OH
COH             133125750027                Gas           Non Aggregation - OH   DEO             7500062604025               Gas           Non Aggregation - OH
COH             124855690024                Gas           Non Aggregation - OH   DEO             3500062813849               Gas           Non Aggregation - OH
COH             113080700134                Gas           Non Aggregation - OH   DEO             2500063820655               Gas           Non Aggregation - OH
COH             189589790263                Gas           Non Aggregation - OH   DEO             1500063946244               Gas           Non Aggregation - OH
COH             189589790218                Gas           Non Aggregation - OH   DEO             1500064149813               Gas           Non Aggregation - OH
COH             189589790049                Gas           Non Aggregation - OH   DEO             4500063934940               Gas           Non Aggregation - OH
COH             189589790209                Gas           Non Aggregation - OH   DEO             4500064529242               Gas           Non Aggregation - OH
COH             189589790254                Gas           Non Aggregation - OH   DEO             9500065007669               Gas           Non Aggregation - OH
COH             189589790174                Gas           Non Aggregation - OH   DEO             1500065025068               Gas           Non Aggregation - OH
COH             189589790094                Gas           Non Aggregation - OH   DEO             8500065152380               Gas           Non Aggregation - OH
COH             200479120019                Gas           Non Aggregation - OH   DEO             2500065265749               Gas           Non Aggregation - OH
COH             125441200013                Gas           Non Aggregation - OH   DEO             6500065266988               Gas           Non Aggregation - OH
COH             125474390079                Gas           Non Aggregation - OH   DEO             9441904690077               Gas           Non Aggregation - OH
COH             125474390051                Gas           Non Aggregation - OH   DEO             6500065533372               Gas           Non Aggregation - OH
COH             125307110016                Gas           Non Aggregation - OH   DEO             6500065529349               Gas           Non Aggregation - OH
COH             125474370144                Gas           Non Aggregation - OH   DEO             1500065638412               Gas           Non Aggregation - OH
COH             125474390097                Gas           Non Aggregation - OH   DEO             3500065640418               Gas           Non Aggregation - OH
DUKE            6420019721                  Gas           Non Aggregation - OH   DEO             2500065669832               Gas           Non Aggregation - OH
COH             119463800073                Gas           Non Aggregation - OH   DEO             2500055179378               Gas           Non Aggregation - OH
COH             112855240068                Gas           Non Aggregation - OH   DEO             7500066007918               Gas           Non Aggregation - OH
COH             129860530889                Gas           Non Aggregation - OH   DEO             4500066256065               Gas           Non Aggregation - OH
DUKE            3610031820                  Gas           Non Aggregation - OH   DEO             1500017515388               Gas           Non Aggregation - OH
DUKE            0610031820                  Gas           Non Aggregation - OH   DEO             7500066679531               Gas           Non Aggregation - OH
DUKE            1610031820                  Gas           Non Aggregation - OH   DEO             8500066891415               Gas           Non Aggregation - OH
DUKE            4920350701                  Gas           Non Aggregation - OH   DEO             2500067216392               Gas           Non Aggregation - OH
DUKE            7920031820                  Gas           Non Aggregation - OH   DEO             3180000028960               Gas           Non Aggregation - OH
DUKE            4280028720                  Gas           Non Aggregation - OH   DEO             8180000173971               Gas           Non Aggregation - OH
DUKE            5390069520                  Gas           Non Aggregation - OH   DEO             2180000193662               Gas           Non Aggregation - OH
DUKE            2860208601                  Gas           Non Aggregation - OH   DEO             9180000195567               Gas           Non Aggregation - OH
DUKE            5400079520                  Gas           Non Aggregation - OH   DEO             9180000245820               Gas           Non Aggregation - OH
DUKE            6250027520                  Gas           Non Aggregation - OH   DEO             0180000735617               Gas           Non Aggregation - OH
DUKE            3770079420                  Gas           Non Aggregation - OH   DEO             7180000769403               Gas           Non Aggregation - OH
DUKE            1150079620                  Gas           Non Aggregation - OH   DEO             8180000792659               Gas           Non Aggregation - OH
DUKE            8290050437                  Gas           Non Aggregation - OH   DEO             2180000952852               Gas           Non Aggregation - OH
VEDO            4002449622307643            Gas           Non Aggregation - OH   DEO             2180001213549               Gas           Non Aggregation - OH
VEDO            4003283032324454            Gas           Non Aggregation - OH   DEO             5180001404512               Gas           Non Aggregation - OH
VEDO            4018447352636090            Gas           Non Aggregation - OH   DEO             6180001438605               Gas           Non Aggregation - OH
VEDO            4004570732463198            Gas           Non Aggregation - OH   DEO             4180001458106               Gas           Non Aggregation - OH
VEDO            4002769502405418            Gas           Non Aggregation - OH   DEO             6180001531584               Gas           Non Aggregation - OH
VEDO            4017990222632231            Gas           Non Aggregation - OH   DEO             9180001566008               Gas           Non Aggregation - OH
VEDO            4001172252346277            Gas           Non Aggregation - OH   DEO             3180001902890               Gas           Non Aggregation - OH
VEDO            4001172252226107            Gas           Non Aggregation - OH   DEO             3180002894537               Gas           Non Aggregation - OH
VEDO            4003738492266142            Gas           Non Aggregation - OH   DEO             1180003134294               Gas           Non Aggregation - OH
VEDO            4001519512348621            Gas           Non Aggregation - OH   DEO             1180003135441               Gas           Non Aggregation - OH
COH             200761670015                Gas           Non Aggregation - OH   DEO             1180003333527               Gas           Non Aggregation - OH
COH             202577240014                Gas           Non Aggregation - OH   DEO             1180003602729               Gas           Non Aggregation - OH
COH             160521942013                Gas           Non Aggregation - OH   DEO             6180003660033               Gas           Non Aggregation - OH
COH             112472420017                Gas           Non Aggregation - OH   DEO             6440300063627               Gas           Non Aggregation - OH
VEDO            4017576032402240            Gas           Non Aggregation - OH   DEO             3180003948118               Gas           Non Aggregation - OH
VEDO            4019979992677453            Gas           Non Aggregation - OH   DEO             9180004094491               Gas           Non Aggregation - OH
DEO             7420802924325               Gas           Non Aggregation - OH   DEO             3180004191403               Gas           Non Aggregation - OH
VEDO            4016011782471338            Gas           Non Aggregation - OH   DEO             6180004122105               Gas           Non Aggregation - OH
VEDO            4001621782158592            Gas           Non Aggregation - OH   DEO             3180004417741               Gas           Non Aggregation - OH
COH             139889420086                Gas           Non Aggregation - OH   DEO             1180004472406               Gas           Non Aggregation - OH
VEDO            4017432472528069            Gas           Non Aggregation - OH   DEO             6180004469736               Gas           Non Aggregation - OH
VEDO            4021534932239954            Gas           Non Aggregation - OH   DEO             2180004859663               Gas           Non Aggregation - OH
VEDO            4015350162535325            Gas           Non Aggregation - OH   DEO             3180004914756               Gas           Non Aggregation - OH
COH             148950750012                Gas           Non Aggregation - OH   DEO             4180004969535               Gas           Non Aggregation - OH
VEDO            4017708352148120            Gas           Non Aggregation - OH   DEO             2180005003110               Gas           Non Aggregation - OH
VEDO            4016013022506191            Gas           Non Aggregation - OH   DEO             1180005068119               Gas           Non Aggregation - OH
DEO             5180008755727               Gas           Non Aggregation - OH   DEO             0180005186986               Gas           Non Aggregation - OH
COH             207023120017                Gas           Non Aggregation - OH   DEO             4180005649909               Gas           Non Aggregation - OH
DEO             0440107013461               Gas           Non Aggregation - OH   DEO             6180005776101               Gas           Non Aggregation - OH
DEO             0500061806693               Gas           Non Aggregation - OH   DEO             2180006186181               Gas           Non Aggregation - OH
VEDO            4021279572550907            Gas           Non Aggregation - OH   DEO             3180006736176               Gas           Non Aggregation - OH
COH             186789760044                Gas           Non Aggregation - OH   DEO             5180007121504               Gas           Non Aggregation - OH
VEDO            4021023972394423            Gas           Non Aggregation - OH   DEO             1180007313410               Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
VEDO            4004762302462513            Gas           Non Aggregation - OH   DEO             8180007364320               Gas           Non Aggregation - OH
VEDO            4001960682327945            Gas           Non Aggregation - OH   DEO             2180007606950               Gas           Non Aggregation - OH
VEDO            4003209902161699            Gas           Non Aggregation - OH   DEO             6180007662889               Gas           Non Aggregation - OH
COH             110412210019                Gas           Non Aggregation - OH   DEO             8180007824029               Gas           Non Aggregation - OH
COH             173945070015                Gas           Non Aggregation - OH   DEO             6180007367970               Gas           Non Aggregation - OH
DEO             1500021494079               Gas           Non Aggregation - OH   DEO             4180007988859               Gas           Non Aggregation - OH
VEDO            4018639152493845            Gas           Non Aggregation - OH   DEO             2180008045036               Gas           Non Aggregation - OH
VEDO            4017697622227885            Gas           Non Aggregation - OH   DEO             2180008107816               Gas           Non Aggregation - OH
VEDO            4003318702391310            Gas           Non Aggregation - OH   DEO             1180008135481               Gas           Non Aggregation - OH
VEDO            4016524312257020            Gas           Non Aggregation - OH   DEO             3180008150578               Gas           Non Aggregation - OH
COH             194039130036                Gas           Non Aggregation - OH   DEO             7180008400047               Gas           Non Aggregation - OH
COH             124557480020                Gas           Non Aggregation - OH   DEO             8180008610851               Gas           Non Aggregation - OH
DEO             6500003291276               Gas           Non Aggregation - OH   DEO             8180008589885               Gas           Non Aggregation - OH
DEO             2180012879565               Gas           Non Aggregation - OH   DEO             8180008727537               Gas           Non Aggregation - OH
VEDO            4004295732432968            Gas           Non Aggregation - OH   DEO             7180008979988               Gas           Non Aggregation - OH
VEDO            4003575922355222            Gas           Non Aggregation - OH   DEO             1180009985112               Gas           Non Aggregation - OH
VEDO            4015391132112708            Gas           Non Aggregation - OH   DEO             3180010399562               Gas           Non Aggregation - OH
COH             133659720040                Gas           Non Aggregation - OH   DEO             5180010493613               Gas           Non Aggregation - OH
COH             125289410013                Gas           Non Aggregation - OH   DEO             8180010630809               Gas           Non Aggregation - OH
DEO             9500004012922               Gas           Non Aggregation - OH   DEO             7180010794335               Gas           Non Aggregation - OH
VEDO            4001952332190708            Gas           Non Aggregation - OH   DEO             0180010705297               Gas           Non Aggregation - OH
DEO             8180014606060               Gas           Non Aggregation - OH   DEO             5180010906890               Gas           Non Aggregation - OH
DEO             6420706027595               Gas           Non Aggregation - OH   DEO             8180010906623               Gas           Non Aggregation - OH
DEO             6420706027608               Gas           Non Aggregation - OH   DEO             9180011019749               Gas           Non Aggregation - OH
DEO             8500021843508               Gas           Non Aggregation - OH   DEO             5180011322088               Gas           Non Aggregation - OH
DEO             7500039221857               Gas           Non Aggregation - OH   DEO             9180011437930               Gas           Non Aggregation - OH
VEDO            4001200022212510            Gas           Non Aggregation - OH   DEO             1180011646475               Gas           Non Aggregation - OH
VEDO            4001200022232185            Gas           Non Aggregation - OH   DEO             2180011777865               Gas           Non Aggregation - OH
VEDO            4001200022241943            Gas           Non Aggregation - OH   DEO             3180011897022               Gas           Non Aggregation - OH
VEDO            4001200022248553            Gas           Non Aggregation - OH   DEO             4180011879718               Gas           Non Aggregation - OH
VEDO            4001200022265134            Gas           Non Aggregation - OH   DEO             0180001964586               Gas           Non Aggregation - OH
VEDO            4001200022292278            Gas           Non Aggregation - OH   DEO             0180003000239               Gas           Non Aggregation - OH
VEDO            4001200022308769            Gas           Non Aggregation - OH   DEO             9180008025149               Gas           Non Aggregation - OH
VEDO            4001200022448454            Gas           Non Aggregation - OH   DEO             6180005133119               Gas           Non Aggregation - OH
VEDO            4001200022449847            Gas           Non Aggregation - OH   DEO             7180001203302               Gas           Non Aggregation - OH
VEDO            4001200022506659            Gas           Non Aggregation - OH   DEO             3500048506684               Gas           Non Aggregation - OH
VEDO            4001200022508648            Gas           Non Aggregation - OH   DEO             1500032200732               Gas           Non Aggregation - OH
VEDO            4001200022568345            Gas           Non Aggregation - OH   DEO             4500060887968               Gas           Non Aggregation - OH
VEDO            4001200022593701            Gas           Non Aggregation - OH   DEO             1500009153220               Gas           Non Aggregation - OH
VEDO            4001200022596615            Gas           Non Aggregation - OH   DEO             1500009166311               Gas           Non Aggregation - OH
VEDO            4001200022623560            Gas           Non Aggregation - OH   DEO             5180000568493               Gas           Non Aggregation - OH
VEDO            4016453952630710            Gas           Non Aggregation - OH   DEO             5500054557170               Gas           Non Aggregation - OH
VEDO            4018709842629568            Gas           Non Aggregation - OH   DEO             0180012411474               Gas           Non Aggregation - OH
COH             114724730024                Gas           Non Aggregation - OH   DEO             9180012580382               Gas           Non Aggregation - OH
COH             114724730042                Gas           Non Aggregation - OH   DEO             7500051614222               Gas           Non Aggregation - OH
COH             116745650025                Gas           Non Aggregation - OH   DEO             9500034452788               Gas           Non Aggregation - OH
COH             116745650034                Gas           Non Aggregation - OH   DEO             9500060960600               Gas           Non Aggregation - OH
COH             117563120012                Gas           Non Aggregation - OH   DEO             4440100273332               Gas           Non Aggregation - OH
COH             117955250158                Gas           Non Aggregation - OH   DEO             1500025880557               Gas           Non Aggregation - OH
COH             117955250176                Gas           Non Aggregation - OH   DEO             1180009212068               Gas           Non Aggregation - OH
COH             117955250194                Gas           Non Aggregation - OH   DEO             4400000014290               Gas           Non Aggregation - OH
COH             131368100156                Gas           Non Aggregation - OH   DEO             9140000007924               Gas           Non Aggregation - OH
COH             131368100165                Gas           Non Aggregation - OH   DEO             7180012678291               Gas           Non Aggregation - OH
COH             131368100174                Gas           Non Aggregation - OH   DEO             9180012881136               Gas           Non Aggregation - OH
COH             131368100192                Gas           Non Aggregation - OH   DEO             5180012941514               Gas           Non Aggregation - OH
COH             131368100209                Gas           Non Aggregation - OH   DEO             7180013174883               Gas           Non Aggregation - OH
COH             131368100227                Gas           Non Aggregation - OH   DEO             9180013199176               Gas           Non Aggregation - OH
COH             131368100290                Gas           Non Aggregation - OH   DEO             4180013398976               Gas           Non Aggregation - OH
COH             131368100316                Gas           Non Aggregation - OH   DEO             5180013397570               Gas           Non Aggregation - OH
COH             131368100325                Gas           Non Aggregation - OH   DEO             7180013425686               Gas           Non Aggregation - OH
COH             132864550060                Gas           Non Aggregation - OH   DEO             5180013646927               Gas           Non Aggregation - OH
COH             133328950025                Gas           Non Aggregation - OH   DEO             5180013988935               Gas           Non Aggregation - OH
COH             133328950052                Gas           Non Aggregation - OH   DEO             9180014208408               Gas           Non Aggregation - OH
COH             133328950061                Gas           Non Aggregation - OH   DEO             0180014177536               Gas           Non Aggregation - OH
COH             133701990016                Gas           Non Aggregation - OH   DEO             9180014501999               Gas           Non Aggregation - OH
COH             136227630014                Gas           Non Aggregation - OH   DEO             9180015106366               Gas           Non Aggregation - OH
COH             137447690024                Gas           Non Aggregation - OH   DEO             6180015333795               Gas           Non Aggregation - OH
COH             141019120024                Gas           Non Aggregation - OH   DEO             9180015333335               Gas           Non Aggregation - OH
COH             143929780276                Gas           Non Aggregation - OH   DEO             3180015715210               Gas           Non Aggregation - OH
COH             143929780294                Gas           Non Aggregation - OH   DEO             2180015800728               Gas           Non Aggregation - OH
COH             143929780301                Gas           Non Aggregation - OH   DEO             1180016060109               Gas           Non Aggregation - OH
COH             143929780310                Gas           Non Aggregation - OH   DEO             2180016176371               Gas           Non Aggregation - OH
COH             143929780356                Gas           Non Aggregation - OH   DEO             9180016306469               Gas           Non Aggregation - OH
COH             143929780365                Gas           Non Aggregation - OH   DEO             8180016495366               Gas           Non Aggregation - OH
COH             143929780383                Gas           Non Aggregation - OH   DEO             6180016757170               Gas           Non Aggregation - OH
COH             146131750010                Gas           Non Aggregation - OH   DEO             4180016841440               Gas           Non Aggregation - OH
COH             165238740013                Gas           Non Aggregation - OH   DEO             0180016900174               Gas           Non Aggregation - OH
COH             167701090015                Gas           Non Aggregation - OH   DEO             0180017267247               Gas           Non Aggregation - OH
COH             169827280017                Gas           Non Aggregation - OH   DEO             7180017400421               Gas           Non Aggregation - OH
COH             186771270017                Gas           Non Aggregation - OH   DEO             6180017508917               Gas           Non Aggregation - OH
DEO             0441400216854               Gas           Non Aggregation - OH   DEO             7180018307362               Gas           Non Aggregation - OH
DEO             0500018926131               Gas           Non Aggregation - OH   DEO             7180018307484               Gas           Non Aggregation - OH
COH             115008300218                Gas           Non Aggregation - OH   DUKE            5590082421                  Gas           Non Aggregation - OH
COH             138667760022                Gas           Non Aggregation - OH   DUKE            3330393901                  Gas           Non Aggregation - OH
COH             114550420046                Gas           Non Aggregation - OH   DUKE            4330053424                  Gas           Non Aggregation - OH
VEDO            4002352742318818            Gas           Non Aggregation - OH   DUKE            6830087222                  Gas           Non Aggregation - OH
VEDO            4002352742339414            Gas           Non Aggregation - OH   DUKE            9880016925                  Gas           Non Aggregation - OH
VEDO            4002143762632654            Gas           Non Aggregation - OH   DUKE            4170017422                  Gas           Non Aggregation - OH
VEDO            4004937342449853            Gas           Non Aggregation - OH   DUKE            8030350801                  Gas           Non Aggregation - OH
VEDO            4002143762209522            Gas           Non Aggregation - OH   DUKE            3850060720                  Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type          Utility      Utility Account Number     Commodity      Customer Type
COH             203071930010                Gas           Non Aggregation - OH   DUKE         3040202202                  Gas           Non Aggregation - OH
COH             202586240015                Gas           Non Aggregation - OH   DUKE         3500081724                  Gas           Non Aggregation - OH
COH             138710840013                Gas           Non Aggregation - OH   DUKE         4950202907                  Gas           Non Aggregation - OH
COH             204561360010                Gas           Non Aggregation - OH   DUKE         1560392302                  Gas           Non Aggregation - OH
COH             203375970018                Gas           Non Aggregation - OH   DUKE         8770015220                  Gas           Non Aggregation - OH
COH             164934690037                Gas           Non Aggregation - OH   DUKE         3400075922                  Gas           Non Aggregation - OH
COH             202521220015                Gas           Non Aggregation - OH   DUKE         7100384803                  Gas           Non Aggregation - OH
COH             195147990072                Gas           Non Aggregation - OH   DUKE         1500044020                  Gas           Non Aggregation - OH
COH             146626520019                Gas           Non Aggregation - OH   DUKE         9240088620                  Gas           Non Aggregation - OH
DEO             3441801690570               Gas           Non Aggregation - OH   DUKE         0620052225                  Gas           Non Aggregation - OH
COH             133985880037                Gas           Non Aggregation - OH   DUKE         6480206401                  Gas           Non Aggregation - OH
COH             137404200053                Gas           Non Aggregation - OH   DUKE         4870212901                  Gas           Non Aggregation - OH
COH             165685520067                Gas           Non Aggregation - OH   DUKE         1260364101                  Gas           Non Aggregation - OH
COH             113572410043                Gas           Non Aggregation - OH   DUKE         7880377904                  Gas           Non Aggregation - OH
COH             154744490016                Gas           Non Aggregation - OH   DUKE         5210083520                  Gas           Non Aggregation - OH
VEDO            4001828152613015            Gas           Non Aggregation - OH   DUKE         8110207202                  Gas           Non Aggregation - OH
COH             110976820026                Gas           Non Aggregation - OH   DUKE         9200221201                  Gas           Non Aggregation - OH
COH             114550420055                Gas           Non Aggregation - OH   DUKE         6530025727                  Gas           Non Aggregation - OH
COH             137151030010                Gas           Non Aggregation - OH   DUKE         3280017121                  Gas           Non Aggregation - OH
COH             112249230010                Gas           Non Aggregation - OH   DUKE         6120211201                  Gas           Non Aggregation - OH
DEO             6500060842349               Gas           Non Aggregation - OH   DUKE         6200224701                  Gas           Non Aggregation - OH
DEO             3120000004793               Gas           Non Aggregation - OH   DUKE         5750080424                  Gas           Non Aggregation - OH
VEDO            4016079442226254            Gas           Non Aggregation - OH   DUKE         1020004726                  Gas           Non Aggregation - OH
COH             145475900048                Gas           Non Aggregation - OH   DUKE         2440044623                  Gas           Non Aggregation - OH
COH             145475900011                Gas           Non Aggregation - OH   DUKE         5440057428                  Gas           Non Aggregation - OH
COH             123642450026                Gas           Non Aggregation - OH   DUKE         0160058524                  Gas           Non Aggregation - OH
COH             136148760104                Gas           Non Aggregation - OH   DUKE         9740201901                  Gas           Non Aggregation - OH
COH             148757920016                Gas           Non Aggregation - OH   DUKE         3200222001                  Gas           Non Aggregation - OH
COH             185325070015                Gas           Non Aggregation - OH   DUKE         9480367501                  Gas           Non Aggregation - OH
COH             142091110023                Gas           Non Aggregation - OH   DUKE         0830008221                  Gas           Non Aggregation - OH
COH             112995930012                Gas           Non Aggregation - OH   DUKE         2010359202                  Gas           Non Aggregation - OH
COH             158905240012                Gas           Non Aggregation - OH   DUKE         3360350302                  Gas           Non Aggregation - OH
COH             113052140015                Gas           Non Aggregation - OH   DUKE         8600391202                  Gas           Non Aggregation - OH
COH             114816180016                Gas           Non Aggregation - OH   DUKE         9770021920                  Gas           Non Aggregation - OH
COH             190411470146                Gas           Non Aggregation - OH   DUKE         0130219304                  Gas           Non Aggregation - OH
DEO             8500054916723               Gas           Non Aggregation - OH   DUKE         3620075121                  Gas           Non Aggregation - OH
COH             132215460019                Gas           Non Aggregation - OH   DUKE         8610068423                  Gas           Non Aggregation - OH
COH             127633330277                Gas           Non Aggregation - OH   DUKE         4310036321                  Gas           Non Aggregation - OH
COH             127633330268                Gas           Non Aggregation - OH   DUKE         9310009226                  Gas           Non Aggregation - OH
COH             143815990022                Gas           Non Aggregation - OH   DUKE         0510081124                  Gas           Non Aggregation - OH
COH             146490210273                Gas           Non Aggregation - OH   DUKE         4790205401                  Gas           Non Aggregation - OH
COH             125568210013                Gas           Non Aggregation - OH   DUKE         3790032720                  Gas           Non Aggregation - OH
VEDO            4004995742142636            Gas           Non Aggregation - OH   DUKE         9640074520                  Gas           Non Aggregation - OH
DEO             0500017647483               Gas           Non Aggregation - OH   DUKE         2190044931                  Gas           Non Aggregation - OH
DUKE            7140212903                  Gas           Non Aggregation - OH   DUKE         6820072428                  Gas           Non Aggregation - OH
DUKE            7410202803                  Gas           Non Aggregation - OH   DUKE         9490047138                  Gas           Non Aggregation - OH
DUKE            8860209003                  Gas           Non Aggregation - OH   DUKE         4190064321                  Gas           Non Aggregation - OH
DUKE            9330212902                  Gas           Non Aggregation - OH   DUKE         8850068024                  Gas           Non Aggregation - OH
DEO             4500038145065               Gas           Non Aggregation - OH   DUKE         1250025532                  Gas           Non Aggregation - OH
DEO             7180005636819               Gas           Non Aggregation - OH   DUKE         2400357202                  Gas           Non Aggregation - OH
DEO             0500061859073               Gas           Non Aggregation - OH   DUKE         1310202101                  Gas           Non Aggregation - OH
DEO             0500061857876               Gas           Non Aggregation - OH   DUKE         3110052920                  Gas           Non Aggregation - OH
DEO             0500061859410               Gas           Non Aggregation - OH   DUKE         7390087921                  Gas           Non Aggregation - OH
DEO             0180002521945               Gas           Non Aggregation - OH   DUKE         6620010829                  Gas           Non Aggregation - OH
DUKE            7040083926                  Gas           Non Aggregation - OH   DUKE         5090220502                  Gas           Non Aggregation - OH
DUKE            6880360408                  Gas           Non Aggregation - OH   DUKE         5080023520                  Gas           Non Aggregation - OH
DUKE            0450084325                  Gas           Non Aggregation - OH   DUKE         2250025532                  Gas           Non Aggregation - OH
COH             159977720028                Gas           Non Aggregation - OH   DUKE         2760357202                  Gas           Non Aggregation - OH
COH             204021410022                Gas           Non Aggregation - OH   DUKE         1910220802                  Gas           Non Aggregation - OH
COH             200954690012                Gas           Non Aggregation - OH   DUKE         2000085622                  Gas           Non Aggregation - OH
DUKE            2880209602                  Gas           Non Aggregation - OH   DUKE         3650051421                  Gas           Non Aggregation - OH
DUKE            8960363804                  Gas           Non Aggregation - OH   DUKE         2320363801                  Gas           Non Aggregation - OH
DUKE            6100086226                  Gas           Non Aggregation - OH   DUKE         3600029327                  Gas           Non Aggregation - OH
DUKE            9570082020                  Gas           Non Aggregation - OH   DUKE         1850212403                  Gas           Non Aggregation - OH
COH             121966730014                Gas           Non Aggregation - OH   DUKE         5040026221                  Gas           Non Aggregation - OH
COH             200120660131                Gas           Non Aggregation - OH   DUKE         9400039522                  Gas           Non Aggregation - OH
COH             151532370031                Gas           Non Aggregation - OH   DUKE         5610070925                  Gas           Non Aggregation - OH
COH             160243630010                Gas           Non Aggregation - OH   DUKE         9040035431                  Gas           Non Aggregation - OH
COH             114518640011                Gas           Non Aggregation - OH   DUKE         1610047827                  Gas           Non Aggregation - OH
VEDO            4002779442629722            Gas           Non Aggregation - OH   DUKE         6400007921                  Gas           Non Aggregation - OH
VEDO            4001002352553367            Gas           Non Aggregation - OH   DUKE         4230360202                  Gas           Non Aggregation - OH
COH             110920890010                Gas           Non Aggregation - OH   DUKE         5720008531                  Gas           Non Aggregation - OH
COH             112959270035                Gas           Non Aggregation - OH   DUKE         7710367805                  Gas           Non Aggregation - OH
COH             113063050075                Gas           Non Aggregation - OH   DUKE         7250084423                  Gas           Non Aggregation - OH
COH             113734010203                Gas           Non Aggregation - OH   DUKE         5170024120                  Gas           Non Aggregation - OH
COH             119412520060                Gas           Non Aggregation - OH   DUKE         9480064425                  Gas           Non Aggregation - OH
COH             119412520079                Gas           Non Aggregation - OH   DUKE         4290086621                  Gas           Non Aggregation - OH
COH             119708840020                Gas           Non Aggregation - OH   DUKE         7620010827                  Gas           Non Aggregation - OH
COH             119708840057                Gas           Non Aggregation - OH   DUKE         7570002120                  Gas           Non Aggregation - OH
COH             119708840066                Gas           Non Aggregation - OH   DUKE         7740086130                  Gas           Non Aggregation - OH
COH             125836300097                Gas           Non Aggregation - OH   DUKE         3510221501                  Gas           Non Aggregation - OH
COH             145281950030                Gas           Non Aggregation - OH   DUKE         9900363705                  Gas           Non Aggregation - OH
COH             146490210219                Gas           Non Aggregation - OH   DUKE         8410078823                  Gas           Non Aggregation - OH
COH             110369810070                Gas           Non Aggregation - OH   DUKE         0440220406                  Gas           Non Aggregation - OH
DEO             1180013394181               Gas           Non Aggregation - OH   DUKE         0430085723                  Gas           Non Aggregation - OH
DEO             1180015217925               Gas           Non Aggregation - OH   DUKE         8870363403                  Gas           Non Aggregation - OH
DEO             1180015209217               Gas           Non Aggregation - OH   DUKE         8060364101                  Gas           Non Aggregation - OH
DEO             1180015014762               Gas           Non Aggregation - OH   DUKE         1910050420                  Gas           Non Aggregation - OH
COH             144775500047                Gas           Non Aggregation - OH   DUKE         2280017121                  Gas           Non Aggregation - OH
COH             191197010012                Gas           Non Aggregation - OH   DUKE         2850222102                  Gas           Non Aggregation - OH
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DEO             2500003344057               Gas           Non Aggregation - OH   DUKE            4310052927                  Gas           Non Aggregation - OH
COH             204744480017                Gas           Non Aggregation - OH   CE              0000000457134               Gas           Non Aggregation - MI
COH             110649530011                Gas           Non Aggregation - OH   CE              0000002611023               Gas           Non Aggregation - MI
COH             158946900044                Gas           Non Aggregation - OH   CE              0000003394356               Gas           Non Aggregation - MI
COH             158946900035                Gas           Non Aggregation - OH   CE              0000000141000               Gas           Non Aggregation - MI
COH             125699030014                Gas           Non Aggregation - OH   CE              0000002634882               Gas           Non Aggregation - MI
COH             122634560012                Gas           Non Aggregation - OH   CE              0000002648054               Gas           Non Aggregation - MI
COH             148393550016                Gas           Non Aggregation - OH   CE              0000003554040               Gas           Non Aggregation - MI
COH             157707200011                Gas           Non Aggregation - OH   CE              0000001927464               Gas           Non Aggregation - MI
DEO             7180008567364               Gas           Non Aggregation - OH   CE              0000001941436               Gas           Non Aggregation - MI
COH             110387790022                Gas           Non Aggregation - OH   CE              0000003930623               Gas           Non Aggregation - MI
COH             152148010012                Gas           Non Aggregation - OH   CE              0000000788866               Gas           Non Aggregation - MI
COH             114798630011                Gas           Non Aggregation - OH   CE              0000002164681               Gas           Non Aggregation - MI
COH             114801340022                Gas           Non Aggregation - OH   CE              0000003967823               Gas           Non Aggregation - MI
COH             148594180018                Gas           Non Aggregation - OH   CE              0000002193464               Gas           Non Aggregation - MI
COH             173354630010                Gas           Non Aggregation - OH   CE              0000002193465               Gas           Non Aggregation - MI
COH             124534180021                Gas           Non Aggregation - OH   CE              0000003931365               Gas           Non Aggregation - MI
COH             125133970015                Gas           Non Aggregation - OH   CE              0000000820146               Gas           Non Aggregation - MI
COH             201947180013                Gas           Non Aggregation - OH   CE              0000003572098               Gas           Non Aggregation - MI
DEO             6500036612601               Gas           Non Aggregation - OH   CE              0000001728835               Gas           Non Aggregation - MI
COH             205522450012                Gas           Non Aggregation - OH   CE              0000001662069               Gas           Non Aggregation - MI
COH             188781350017                Gas           Non Aggregation - OH   DTE             910014319495                Gas           Non Aggregation - MI
COH             202490550013                Gas           Non Aggregation - OH   DTE             910013125000                Gas           Non Aggregation - MI
VEDO            4003368922333506            Gas           Non Aggregation - OH   DTE             910024564957                Gas           Non Aggregation - MI
VEDO            4003368922525309            Gas           Non Aggregation - OH   DTE             910017829755                Gas           Non Aggregation - MI
VEDO            4003368922513387            Gas           Non Aggregation - OH   DTE             910021675400                Gas           Non Aggregation - MI
COH             110870520014                Gas           Non Aggregation - OH   DTE             910021675558                Gas           Non Aggregation - MI
COH             139347960018                Gas           Non Aggregation - OH   DTE             910021675699                Gas           Non Aggregation - MI
COH             124266760019                Gas           Non Aggregation - OH   DTE             910025077843                Gas           Non Aggregation - MI
DEO             0441305616166               Gas           Non Aggregation - OH   DTE             910006329569                Gas           Non Aggregation - MI
VEDO            4002631372258026            Gas           Non Aggregation - OH   DTE             910020207619                Gas           Non Aggregation - MI
COH             127633330286                Gas           Non Aggregation - OH   DTE             910020818233                Gas           Non Aggregation - MI
COH             165652300044                Gas           Non Aggregation - OH   DTE             910018743609                Gas           Non Aggregation - MI
DEO             3500050609615               Gas           Non Aggregation - OH   DTE             910022467849                Gas           Non Aggregation - MI
COH             202092900013                Gas           Non Aggregation - OH   DTE             910022480198                Gas           Non Aggregation - MI
DEO             0180004321164               Gas           Non Aggregation - OH   DTE             910006329304                Gas           Non Aggregation - MI
DEO             1180002970512               Gas           Non Aggregation - OH   DTE             910018114843                Gas           Non Aggregation - MI
DEO             7180003375345               Gas           Non Aggregation - OH   DTE             910017171711                Gas           Non Aggregation - MI
COH             111334200016                Gas           Non Aggregation - OH   DTE             910020685152                Gas           Non Aggregation - MI
DEO             6500024902761               Gas           Non Aggregation - OH   DTE             910019169945                Gas           Non Aggregation - MI
VEDO            4002378332238803            Gas           Non Aggregation - OH   DTE             920038084942                Gas           Non Aggregation - MI
VEDO            4004352922439214            Gas           Non Aggregation - OH   DTE             910016067316                Gas           Non Aggregation - MI
VEDO            4002378332245798            Gas           Non Aggregation - OH   DTE             910030303069                Gas           Non Aggregation - MI
VEDO            4002378332628757            Gas           Non Aggregation - OH   CE              0000004159166               Gas           Non Aggregation - MI
VEDO            4018325332626517            Gas           Non Aggregation - OH   DTE             910014261168                Gas           Non Aggregation - MI
VEDO            4018325332648612            Gas           Non Aggregation - OH   DTE             910014615702                Gas           Non Aggregation - MI
VEDO            4018325332645850            Gas           Non Aggregation - OH   DTE             910006329825                Gas           Non Aggregation - MI
COH             202481280019                Gas           Non Aggregation - OH   DTE             910006329940                Gas           Non Aggregation - MI
COH             176007630012                Gas           Non Aggregation - OH   SEM             0157162502                  Gas           Non Aggregation - MI
VEDO            4003511662348431            Gas           Non Aggregation - OH   SEM             0179351501                  Gas           Non Aggregation - MI
DEO             4180002583780               Gas           Non Aggregation - OH   SEM             0339149501                  Gas           Non Aggregation - MI
COH             174896340021                Gas           Non Aggregation - OH   SEM             0056146502                  Gas           Non Aggregation - MI
DUKE            0130081728                  Gas           Non Aggregation - OH   SEM             0348949501                  Gas           Non Aggregation - MI
DUKE            1130081729                  Gas           Non Aggregation - OH   CE              0000004227701               Gas           Non Aggregation - MI
DUKE            0760381402                  Gas           Non Aggregation - OH   DTE             910035973437                Gas           Non Aggregation - MI
VEDO            4001365682128091            Gas           Non Aggregation - OH   DTE             910021619507                Gas           Non Aggregation - MI
VEDO            4001365682147025            Gas           Non Aggregation - OH   DTE             910016805137                Gas           Non Aggregation - MI
VEDO            4001365682436305            Gas           Non Aggregation - OH   DTE             910016510141                Gas           Non Aggregation - MI
VEDO            4001365682592432            Gas           Non Aggregation - OH   CE              0000003563412               Gas           Non Aggregation - MI
VEDO            4001365682634624            Gas           Non Aggregation - OH   DTE             910019090588                Gas           Non Aggregation - MI
VEDO            4001365682634625            Gas           Non Aggregation - OH   DTE             910006330070                Gas           Non Aggregation - MI
VEDO            4018507372367120            Gas           Non Aggregation - OH   DTE             910029902905                Gas           Non Aggregation - MI
COH             126881640027                Gas           Non Aggregation - OH   DTE             910020610622                Gas           Non Aggregation - MI
VEDO            4020316162589174            Gas           Non Aggregation - OH   CE              0000001711187               Gas           Non Aggregation - MI
COH             174418230026                Gas           Non Aggregation - OH   CE              0000003050529               Gas           Non Aggregation - MI
COH             174418230017                Gas           Non Aggregation - OH   CE              0000003050530               Gas           Non Aggregation - MI
COH             142892980050                Gas           Non Aggregation - OH   CE              0000003050537               Gas           Non Aggregation - MI
COH             112669810134                Gas           Non Aggregation - OH   CE              0000003050538               Gas           Non Aggregation - MI
COH             168779080022                Gas           Non Aggregation - OH   CE              0000001711186               Gas           Non Aggregation - MI
COH             148366140019                Gas           Non Aggregation - OH   CE              0000001711184               Gas           Non Aggregation - MI
COH             129261681154                Gas           Non Aggregation - OH   CE              0000001711185               Gas           Non Aggregation - MI
DEO             8180011403885               Gas           Non Aggregation - OH   CE              0000003539466               Gas           Non Aggregation - MI
COH             188698980012                Gas           Non Aggregation - OH   CE              0000003540292               Gas           Non Aggregation - MI
VEDO            4002440482677211            Gas           Non Aggregation - OH   CE              0000000385270               Gas           Non Aggregation - MI
DUKE            7060219704                  Gas           Non Aggregation - OH   CE              0000000385272               Gas           Non Aggregation - MI
DEO             3440700027409               Gas           Non Aggregation - OH   CE              0000000385273               Gas           Non Aggregation - MI
DEO             7440700027416               Gas           Non Aggregation - OH   CE              0000000385274               Gas           Non Aggregation - MI
DEO             8500046485610               Gas           Non Aggregation - OH   CE              0000000385275               Gas           Non Aggregation - MI
DEO             8500046485677               Gas           Non Aggregation - OH   CE              0000000385277               Gas           Non Aggregation - MI
DEO             8500046596039               Gas           Non Aggregation - OH   CE              0000000385280               Gas           Non Aggregation - MI
DEO             6500005224948               Gas           Non Aggregation - OH   CE              0000000385281               Gas           Non Aggregation - MI
DUKE            0270225104                  Gas           Non Aggregation - OH   CE              0000000385294               Gas           Non Aggregation - MI
DEO             9180005186942               Gas           Non Aggregation - OH   CE              0000000385295               Gas           Non Aggregation - MI
DUKE            0230024122                  Gas           Non Aggregation - OH   CE              0000000385290               Gas           Non Aggregation - MI
DEO             9180008656198               Gas           Non Aggregation - OH   CE              0000000385296               Gas           Non Aggregation - MI
DUKE            3500361203                  Gas           Non Aggregation - OH   CE              0000000385297               Gas           Non Aggregation - MI
DEO             1500065695361               Gas           Non Aggregation - OH   CE              0000000385298               Gas           Non Aggregation - MI
DEO             6500035993720               Gas           Non Aggregation - OH   CE              0000000385299               Gas           Non Aggregation - MI
COH             120547270029                Gas           Non Aggregation - OH   CE              0000000385300               Gas           Non Aggregation - MI
COH             150491440026                Gas           Non Aggregation - OH   CE              0000000385315               Gas           Non Aggregation - MI
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             114784000049                Gas           Non Aggregation - OH   CE              0000000385316               Gas           Non Aggregation - MI
COH             207550620015                Gas           Non Aggregation - OH   CE              0000000385321               Gas           Non Aggregation - MI
DEO             0500023443543               Gas           Non Aggregation - OH   CE              0000000385328               Gas           Non Aggregation - MI
VEDO            4017804582441839            Gas           Non Aggregation - OH   CE              0000000385329               Gas           Non Aggregation - MI
DEO             1180005233163               Gas           Non Aggregation - OH   CE              0000000385330               Gas           Non Aggregation - MI
DEO             5500063873868               Gas           Non Aggregation - OH   CE              0000000385333               Gas           Non Aggregation - MI
DEO             8500054040716               Gas           Non Aggregation - OH   CE              0000000385334               Gas           Non Aggregation - MI
DEO             8500054040608               Gas           Non Aggregation - OH   CE              0000000385347               Gas           Non Aggregation - MI
COH             148874860039                Gas           Non Aggregation - OH   CE              0000000385348               Gas           Non Aggregation - MI
DEO             7180004836227               Gas           Non Aggregation - OH   CE              0000000385352               Gas           Non Aggregation - MI
DEO             1180007202509               Gas           Non Aggregation - OH   CE              0000000385353               Gas           Non Aggregation - MI
DEO             5180003052703               Gas           Non Aggregation - OH   CE              0000000385354               Gas           Non Aggregation - MI
DUKE            0620363802                  Gas           Non Aggregation - OH   CE              0000000385357               Gas           Non Aggregation - MI
COH             109931770051                Gas           Non Aggregation - OH   CE              0000000385358               Gas           Non Aggregation - MI
COH             109931770060                Gas           Non Aggregation - OH   CE              0000000385359               Gas           Non Aggregation - MI
COH             109931770042                Gas           Non Aggregation - OH   CE              0000000385383               Gas           Non Aggregation - MI
COH             109931770033                Gas           Non Aggregation - OH   CE              0000000385385               Gas           Non Aggregation - MI
COH             157112210010                Gas           Non Aggregation - OH   CE              0000000385386               Gas           Non Aggregation - MI
COH             157112210029                Gas           Non Aggregation - OH   CE              0000000385407               Gas           Non Aggregation - MI
COH             109931770113                Gas           Non Aggregation - OH   CE              0000000385408               Gas           Non Aggregation - MI
COH             109931770122                Gas           Non Aggregation - OH   CE              0000000385409               Gas           Non Aggregation - MI
DEO             4500060641564               Gas           Non Aggregation - OH   CE              0000000385410               Gas           Non Aggregation - MI
DEO             5180012365353               Gas           Non Aggregation - OH   CE              0000000385412               Gas           Non Aggregation - MI
COH             131126830057                Gas           Non Aggregation - OH   CE              0000000449020               Gas           Non Aggregation - MI
COH             134213520018                Gas           Non Aggregation - OH   CE              0000000449021               Gas           Non Aggregation - MI
DEO             8441300133481               Gas           Non Aggregation - OH   CE              0000000449022               Gas           Non Aggregation - MI
DEO             5441300133456               Gas           Non Aggregation - OH   DTE             910021531199                Gas           Non Aggregation - MI
DEO             9500014899470               Gas           Non Aggregation - OH   DTE             910022268122                Gas           Non Aggregation - MI
DEO             9500014899728               Gas           Non Aggregation - OH   DTE             910022635460                Gas           Non Aggregation - MI
DEO             3500053542977               Gas           Non Aggregation - OH   DTE             910021352117                Gas           Non Aggregation - MI
DEO             6420902162038               Gas           Non Aggregation - OH   SEM             0070613501                  Gas           Non Aggregation - MI
COH             126756330054                Gas           Non Aggregation - OH   SEM             0039451501                  Gas           Non Aggregation - MI
COH             203284170037                Gas           Non Aggregation - OH   SEM             0059537505                  Gas           Non Aggregation - MI
COH             146683230074                Gas           Non Aggregation - OH   SEM             0059538505                  Gas           Non Aggregation - MI
COH             123928530032                Gas           Non Aggregation - OH   SEM             0059539507                  Gas           Non Aggregation - MI
DEO             2500014390940               Gas           Non Aggregation - OH   SEM             0059541505                  Gas           Non Aggregation - MI
COH             197288100014                Gas           Non Aggregation - OH   SEM             0108301501                  Gas           Non Aggregation - MI
DEO             2180008540839               Gas           Non Aggregation - OH   SEM             0181499504                  Gas           Non Aggregation - MI
COH             137647750018                Gas           Non Aggregation - OH   SEM             0188605501                  Gas           Non Aggregation - MI
DEO             2500066672090               Gas           Non Aggregation - OH   SEM             0204334501                  Gas           Non Aggregation - MI
DEO             1421300858210               Gas           Non Aggregation - OH   SEM             0162528503                  Gas           Non Aggregation - MI
DEO             4500047745909               Gas           Non Aggregation - OH   SEM             0113409501                  Gas           Non Aggregation - MI
COH             143320980050                Gas           Non Aggregation - OH   SEM             0113410500                  Gas           Non Aggregation - MI
COH             207494160012                Gas           Non Aggregation - OH   SEM             0341238501                  Gas           Non Aggregation - MI
COH             176001980048                Gas           Non Aggregation - OH   SEM             0345283501                  Gas           Non Aggregation - MI
COH             138139500070                Gas           Non Aggregation - OH   SEM             0012220502                  Gas           Non Aggregation - MI
DEO             0420701002812               Gas           Non Aggregation - OH   DTE             910022467955                Gas           Non Aggregation - MI
COH             125745690026                Gas           Non Aggregation - OH   DTE             910022480065                Gas           Non Aggregation - MI
DEO             8180011687395               Gas           Non Aggregation - OH   DTE             910022480297                Gas           Non Aggregation - MI
VEDO            4001823842177976            Gas           Non Aggregation - OH   DTE             910021688080                Gas           Non Aggregation - MI
DEO             0500062534074               Gas           Non Aggregation - OH   DTE             910034600551                Gas           Non Aggregation - MI
DEO             6500050738894               Gas           Non Aggregation - OH   DTE             910020687893                Gas           Non Aggregation - MI
DEO             5500019445652               Gas           Non Aggregation - OH   DTE             910020687786                Gas           Non Aggregation - MI
DEO             3180014125278               Gas           Non Aggregation - OH   SEM             0224694503                  Gas           Non Aggregation - MI
COH             207246870018                Gas           Non Aggregation - OH   MGU             0502363704-00001            Gas           Non Aggregation - MI
DUKE            4410085822                  Gas           Non Aggregation - OH   MGU             0502388921-00001            Gas           Non Aggregation - MI
COH             122414440022                Gas           Non Aggregation - OH   MGU             0502517774-00001            Gas           Non Aggregation - MI
COH             110976820017                Gas           Non Aggregation - OH   MGU             0504553749-00001            Gas           Non Aggregation - MI
COH             110963160013                Gas           Non Aggregation - OH   MGU             0505666509-00001            Gas           Non Aggregation - MI
COH             110975780018                Gas           Non Aggregation - OH   MGU             0505395405-00001            Gas           Non Aggregation - MI
COH             141256140019                Gas           Non Aggregation - OH   MGU             0507485827-00001            Gas           Non Aggregation - MI
COH             110970490019                Gas           Non Aggregation - OH   MGU             0506948992-00001            Gas           Non Aggregation - MI
COH             143350370019                Gas           Non Aggregation - OH   MGU             0506834002-00001            Gas           Non Aggregation - MI
COH             110901380017                Gas           Non Aggregation - OH   MGU             0506092356-00001            Gas           Non Aggregation - MI
COH             111019310011                Gas           Non Aggregation - OH   MGU             0507515205-00001            Gas           Non Aggregation - MI
COH             110901650010                Gas           Non Aggregation - OH   MGU             0507106041-00001            Gas           Non Aggregation - MI
COH             192017800015                Gas           Non Aggregation - OH   MGU             0423029387-00002            Gas           Non Aggregation - MI
COH             201330080048                Gas           Non Aggregation - OH   MGU             0504919086-00001            Gas           Non Aggregation - MI
COH             112649000010                Gas           Non Aggregation - OH   MGU             0506075498-00001            Gas           Non Aggregation - MI
VEDO            4001208762630169            Gas           Non Aggregation - OH   MGU             0506209770-00001            Gas           Non Aggregation - MI
VEDO            4001208762629776            Gas           Non Aggregation - OH   MGU             0505880422-00001            Gas           Non Aggregation - MI
VEDO            4001208762630457            Gas           Non Aggregation - OH   MGU             0503738059-00001            Gas           Non Aggregation - MI
VEDO            4001208762351172            Gas           Non Aggregation - OH   DTE             920007049355                Gas           Non Aggregation - MI
VEDO            4001208762630561            Gas           Non Aggregation - OH   DTE             910013099460                Gas           Non Aggregation - MI
VEDO            4001208762629251            Gas           Non Aggregation - OH   DTE             910028799633                Gas           Non Aggregation - MI
VEDO            4001208762630050            Gas           Non Aggregation - OH   DTE             920004886528                Gas           Non Aggregation - MI
VEDO            4001208762630046            Gas           Non Aggregation - OH   DTE             910019677590                Gas           Non Aggregation - MI
VEDO            4001208762630351            Gas           Non Aggregation - OH   DTE             910030056055                Gas           Non Aggregation - MI
VEDO            4001208762630177            Gas           Non Aggregation - OH   DTE             910037197258                Gas           Non Aggregation - MI
VEDO            4002293222224414            Gas           Non Aggregation - OH   DTE             910010511467                Gas           Non Aggregation - MI
VEDO            4002928932287947            Gas           Non Aggregation - OH   MGU             0503723936-00001            Gas           Non Aggregation - MI
VEDO            4001574222629702            Gas           Non Aggregation - OH   MGU             0504318962-00001            Gas           Non Aggregation - MI
DEO             1120000122061               Gas           Non Aggregation - OH   SEM             0075282500                  Gas           Non Aggregation - MI
DEO             4500008216518               Gas           Non Aggregation - OH   SEM             0228804500                  Gas           Non Aggregation - MI
DEO             7420402943446               Gas           Non Aggregation - OH   SEM             0144925500                  Gas           Non Aggregation - MI
DEO             6441707176585               Gas           Non Aggregation - OH   SEM             0124684500                  Gas           Non Aggregation - MI
DEO             9420801334539               Gas           Non Aggregation - OH   SEM             0148687500                  Gas           Non Aggregation - MI
DEO             6440805079049               Gas           Non Aggregation - OH   SEM             0125678500                  Gas           Non Aggregation - MI
DEO             0500003878198               Gas           Non Aggregation - OH   DTE             910016856395                Gas           Non Aggregation - MI
DEO             6421006032015               Gas           Non Aggregation - OH   DTE             910021675814                Gas           Non Aggregation - MI
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DEO             6441600518143               Gas           Non Aggregation - OH   DTE             910021619291                Gas           Non Aggregation - MI
DEO             2440203331160               Gas           Non Aggregation - OH   DTE             910029533205                Gas           Non Aggregation - MI
DEO             4440508690590               Gas           Non Aggregation - OH   DTE             910019497098                Gas           Non Aggregation - MI
DEO             0421102263113               Gas           Non Aggregation - OH   DTE             910019470467                Gas           Non Aggregation - MI
COH             163662860066                Gas           Non Aggregation - OH   DTE             910020796579                Gas           Non Aggregation - MI
COH             125144780012                Gas           Non Aggregation - OH   CE              0000002718216               Gas           Non Aggregation - MI
VEDO            4021515842201187            Gas           Non Aggregation - OH   MGU             0506203134-00001            Gas           Non Aggregation - MI
COH             118710290022                Gas           Non Aggregation - OH   MGU             0508708301-00005            Gas           Non Aggregation - MI
DEO             0500017251224               Gas           Non Aggregation - OH   MGU             0502559376-00002            Gas           Non Aggregation - MI
COH             171230950044                Gas           Non Aggregation - OH   MGU             0504553749-00002            Gas           Non Aggregation - MI
COH             110349230010                Gas           Non Aggregation - OH   MGU             0505288044-00001            Gas           Non Aggregation - MI
COH             110355480015                Gas           Non Aggregation - OH   MGU             0503063845-00001            Gas           Non Aggregation - MI
COH             110386920017                Gas           Non Aggregation - OH   MGU             0502617072-00001            Gas           Non Aggregation - MI
COH             110387790013                Gas           Non Aggregation - OH   MGU             0506790856-00001            Gas           Non Aggregation - MI
COH             110394670013                Gas           Non Aggregation - OH   MGU             0506191347-00001            Gas           Non Aggregation - MI
COH             110395930016                Gas           Non Aggregation - OH   MGU             0505409454-00001            Gas           Non Aggregation - MI
COH             110398520016                Gas           Non Aggregation - OH   MGU             0502909892-00001            Gas           Non Aggregation - MI
DEO             1180016960504               Gas           Non Aggregation - OH   MGU             0504487192-00001            Gas           Non Aggregation - MI
COH             115090610087                Gas           Non Aggregation - OH   CE              0000003557516               Gas           Non Aggregation - MI
COH             115090610096                Gas           Non Aggregation - OH   CE              0000003557257               Gas           Non Aggregation - MI
COH             203242070036                Gas           Non Aggregation - OH   CE              0000003557258               Gas           Non Aggregation - MI
COH             203242070054                Gas           Non Aggregation - OH   CE              0000003557259               Gas           Non Aggregation - MI
VEDO            4017392032134655            Gas           Non Aggregation - OH   CE              0000000873209               Gas           Non Aggregation - MI
VEDO            4016131432421536            Gas           Non Aggregation - OH   CE              0000002531920               Gas           Non Aggregation - MI
DEO             0180013086509               Gas           Non Aggregation - OH   CE              0000002775013               Gas           Non Aggregation - MI
DEO             1500031839436               Gas           Non Aggregation - OH   CE              0000001954490               Gas           Non Aggregation - MI
DEO             3180017038790               Gas           Non Aggregation - OH   CE              0000001178271               Gas           Non Aggregation - MI
COH             171737120017                Gas           Non Aggregation - OH   CE              0000001596195               Gas           Non Aggregation - MI
COH             166113590018                Gas           Non Aggregation - OH   CE              0000002038032               Gas           Non Aggregation - MI
DUKE            3080014223                  Gas           Non Aggregation - OH   CE              0000000836173               Gas           Non Aggregation - MI
COH             208461880019                Gas           Non Aggregation - OH   CE              0000000248747               Gas           Non Aggregation - MI
VEDO            4016235342285180            Gas           Non Aggregation - OH   DTE             910027443266                Gas           Non Aggregation - MI
DEO             1180010307669               Gas           Non Aggregation - OH   DTE             910018603506                Gas           Non Aggregation - MI
VEDO            4002520562636953            Gas           Non Aggregation - OH   DTE             910019409069                Gas           Non Aggregation - MI
VEDO            4015184382501695            Gas           Non Aggregation - OH   DTE             910021821301                Gas           Non Aggregation - MI
COH             124392310025                Gas           Non Aggregation - OH   DTE             910021821160                Gas           Non Aggregation - MI
VEDO            4004744252482273            Gas           Non Aggregation - OH   DTE             910021918511                Gas           Non Aggregation - MI
COH             207132380012                Gas           Non Aggregation - OH   DTE             910020604245                Gas           Non Aggregation - MI
DEO             8500016661051               Gas           Non Aggregation - OH   DTE             910030034961                Gas           Non Aggregation - MI
COH             124688060012                Gas           Non Aggregation - OH   DTE             910024511974                Gas           Non Aggregation - MI
COH             185451630109                Gas           Non Aggregation - OH   DTE             910019740901                Gas           Non Aggregation - MI
VEDO            4003122562218478            Gas           Non Aggregation - OH   DTE             910000008946                Gas           Non Aggregation - MI
VEDO            4001161382323584            Gas           Non Aggregation - OH   CE              0000000421497               Gas           Non Aggregation - MI
VEDO            4018090762462296            Gas           Non Aggregation - OH   DTE             910006314645                Gas           Non Aggregation - MI
DEO             1500066149912               Gas           Non Aggregation - OH   DTE             910006313159                Gas           Non Aggregation - MI
COH             208287140014                Gas           Non Aggregation - OH   CE              0000004308005               Gas           Non Aggregation - MI
COH             208287140032                Gas           Non Aggregation - OH   CE              0000004351996               Gas           Non Aggregation - MI
COH             208287140041                Gas           Non Aggregation - OH   CE              0000003401004               Gas           Non Aggregation - MI
COH             118335460013                Gas           Non Aggregation - OH   CE              0000003570775               Gas           Non Aggregation - MI
COH             149242410013                Gas           Non Aggregation - OH   CE              0000003401021               Gas           Non Aggregation - MI
COH             204871370011                Gas           Non Aggregation - OH   CE              0000003401022               Gas           Non Aggregation - MI
COH             135537200027                Gas           Non Aggregation - OH   CE              0000000385261               Gas           Non Aggregation - MI
DEO             5180003181868               Gas           Non Aggregation - OH   CE              0000000385262               Gas           Non Aggregation - MI
DEO             6421505886833               Gas           Non Aggregation - OH   CE              0000000385266               Gas           Non Aggregation - MI
DEO             3180008850407               Gas           Non Aggregation - OH   CE              0000000385267               Gas           Non Aggregation - MI
DEO             3500053457050               Gas           Non Aggregation - OH   CE              0000000385269               Gas           Non Aggregation - MI
DEO             2180014412384               Gas           Non Aggregation - OH   CE              0000000385284               Gas           Non Aggregation - MI
DEO             7180013000554               Gas           Non Aggregation - OH   CE              0000000385285               Gas           Non Aggregation - MI
COH             113587410033                Gas           Non Aggregation - OH   CE              0000000385286               Gas           Non Aggregation - MI
DEO             5180014410183               Gas           Non Aggregation - OH   CE              0000000385287               Gas           Non Aggregation - MI
DEO             8180001466520               Gas           Non Aggregation - OH   CE              0000000385288               Gas           Non Aggregation - MI
COH             122144870016                Gas           Non Aggregation - OH   CE              0000000385289               Gas           Non Aggregation - MI
COH             111085880022                Gas           Non Aggregation - OH   CE              0000000385291               Gas           Non Aggregation - MI
COH             158521890029                Gas           Non Aggregation - OH   CE              0000000385292               Gas           Non Aggregation - MI
COH             186877750058                Gas           Non Aggregation - OH   CE              0000000385293               Gas           Non Aggregation - MI
COH             189168730016                Gas           Non Aggregation - OH   CE              0000000385301               Gas           Non Aggregation - MI
DEO             0500009695080               Gas           Non Aggregation - OH   CE              0000000385302               Gas           Non Aggregation - MI
COH             123780890013                Gas           Non Aggregation - OH   CE              0000000385304               Gas           Non Aggregation - MI
COH             145554450018                Gas           Non Aggregation - OH   CE              0000000385305               Gas           Non Aggregation - MI
COH             109931770177                Gas           Non Aggregation - OH   CE              0000000385307               Gas           Non Aggregation - MI
COH             109931770195                Gas           Non Aggregation - OH   CE              0000000385308               Gas           Non Aggregation - MI
COH             157112210038                Gas           Non Aggregation - OH   CE              0000000385310               Gas           Non Aggregation - MI
COH             109931770239                Gas           Non Aggregation - OH   CE              0000000385313               Gas           Non Aggregation - MI
COH             109931770220                Gas           Non Aggregation - OH   CE              0000000385303               Gas           Non Aggregation - MI
COH             109931770248                Gas           Non Aggregation - OH   CE              0000000385335               Gas           Non Aggregation - MI
DEO             4180014492713               Gas           Non Aggregation - OH   CE              0000000385336               Gas           Non Aggregation - MI
VEDO            4001442172141345            Gas           Non Aggregation - OH   CE              0000000385338               Gas           Non Aggregation - MI
DEO             0500050220688               Gas           Non Aggregation - OH   CE              0000000385339               Gas           Non Aggregation - MI
DUKE            8820067303                  Gas           Non Aggregation - OH   CE              0000000385340               Gas           Non Aggregation - MI
DUKE            1900022722                  Gas           Non Aggregation - OH   CE              0000000385342               Gas           Non Aggregation - MI
COH             109931770088                Gas           Non Aggregation - OH   CE              0000000385343               Gas           Non Aggregation - MI
COH             109931770140                Gas           Non Aggregation - OH   CE              0000000385344               Gas           Non Aggregation - MI
COH             109931770159                Gas           Non Aggregation - OH   CE              0000000385345               Gas           Non Aggregation - MI
COH             109931770168                Gas           Non Aggregation - OH   CE              0000000385362               Gas           Non Aggregation - MI
COH             131834460018                Gas           Non Aggregation - OH   CE              0000000385366               Gas           Non Aggregation - MI
DEO             5500022087105               Gas           Non Aggregation - OH   CE              0000000385367               Gas           Non Aggregation - MI
VEDO            4021467012218957            Gas           Non Aggregation - OH   CE              0000000385368               Gas           Non Aggregation - MI
VEDO            4004397252444063            Gas           Non Aggregation - OH   CE              0000000385374               Gas           Non Aggregation - MI
DEO             8180004019980               Gas           Non Aggregation - OH   CE              0000000385378               Gas           Non Aggregation - MI
VEDO            4019493522482987            Gas           Non Aggregation - OH   CE              0000000385379               Gas           Non Aggregation - MI
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
VEDO            4021431242165551            Gas           Non Aggregation - OH   CE              0000000385382               Gas           Non Aggregation - MI
COH             203770810013                Gas           Non Aggregation - OH   CE              0000000385415               Gas           Non Aggregation - MI
DEO             8180005216958               Gas           Non Aggregation - OH   CE              0000000385418               Gas           Non Aggregation - MI
COH             140937880020                Gas           Non Aggregation - OH   CE              0000000385420               Gas           Non Aggregation - MI
VEDO            4004718612468593            Gas           Non Aggregation - OH   CE              0000003911166               Gas           Non Aggregation - MI
VEDO            4018584052596222            Gas           Non Aggregation - OH   CE              0000004051066               Gas           Non Aggregation - MI
VEDO            4001649842181252            Gas           Non Aggregation - OH   CE              0000004082070               Gas           Non Aggregation - MI
VEDO            4002001822675299            Gas           Non Aggregation - OH   CE              0000004083006               Gas           Non Aggregation - MI
VEDO            4001329822135816            Gas           Non Aggregation - OH   CE              0000000449018               Gas           Non Aggregation - MI
VEDO            4002351202453297            Gas           Non Aggregation - OH   CE              0000000449019               Gas           Non Aggregation - MI
VEDO            4003413922129191            Gas           Non Aggregation - OH   DTE             910021963772                Gas           Non Aggregation - MI
VEDO            4003937172561860            Gas           Non Aggregation - OH   CE              0000004309136               Gas           Non Aggregation - MI
DEO             0500026782354               Gas           Non Aggregation - OH   SEM             0340794501                  Gas           Non Aggregation - MI
DEO             7500063343215               Gas           Non Aggregation - OH   SEM             0340795501                  Gas           Non Aggregation - MI
VEDO            4020944712441380            Gas           Non Aggregation - OH   SEM             0340798501                  Gas           Non Aggregation - MI
VEDO            4002159192337722            Gas           Non Aggregation - OH   SEM             0340799501                  Gas           Non Aggregation - MI
DEO             1500043146421               Gas           Non Aggregation - OH   SEM             0340800501                  Gas           Non Aggregation - MI
DEO             1500021487847               Gas           Non Aggregation - OH   SEM             0340801501                  Gas           Non Aggregation - MI
COH             138010010048                Gas           Non Aggregation - OH   SEM             0282999501                  Gas           Non Aggregation - MI
COH             154045100019                Gas           Non Aggregation - OH   SEM             0291845501                  Gas           Non Aggregation - MI
DEO             4441207786060               Gas           Non Aggregation - OH   SEM             0293902501                  Gas           Non Aggregation - MI
VEDO            4019001102343375            Gas           Non Aggregation - OH   SEM             0085913502                  Gas           Non Aggregation - MI
VEDO            4019999192124655            Gas           Non Aggregation - OH   SEM             0058951505                  Gas           Non Aggregation - MI
DEO             7500023838726               Gas           Non Aggregation - OH   SEM             0058953503                  Gas           Non Aggregation - MI
VEDO            4002481182644957            Gas           Non Aggregation - OH   SEM             0058955503                  Gas           Non Aggregation - MI
VEDO            4018503692624784            Gas           Non Aggregation - OH   DTE             910024699696                Gas           Non Aggregation - MI
VEDO            4001223562121122            Gas           Non Aggregation - OH   DTE             910021001243                Gas           Non Aggregation - MI
VEDO            4004931662503009            Gas           Non Aggregation - OH   SEM             0297060506                  Gas           Non Aggregation - MI
VEDO            4003281262324250            Gas           Non Aggregation - OH   SEM             0362785501                  Gas           Non Aggregation - MI
VEDO            4004764622484588            Gas           Non Aggregation - OH   SEM             0098807505                  Gas           Non Aggregation - MI
VEDO            4017840042253649            Gas           Non Aggregation - OH   MGU             0504832507-00001            Gas           Non Aggregation - MI
COH             186415000017                Gas           Non Aggregation - OH   MGU             0502903544-00001            Gas           Non Aggregation - MI
COH             155720090019                Gas           Non Aggregation - OH   MGU             0505123521-00001            Gas           Non Aggregation - MI
COH             140637040013                Gas           Non Aggregation - OH   MGU             0507240958-00001            Gas           Non Aggregation - MI
COH             209939100018                Gas           Non Aggregation - OH   DTE             910024419293                Gas           Non Aggregation - MI
COH             137372550022                Gas           Non Aggregation - OH   DTE             910019893171                Gas           Non Aggregation - MI
DUKE            0410037824                  Gas           Non Aggregation - OH   SEM             0293882500                  Gas           Non Aggregation - MI
DEO             3180006511622               Gas           Non Aggregation - OH   SEM             0282904502                  Gas           Non Aggregation - MI
COH             205515910010                Gas           Non Aggregation - OH   SEM             0307303502                  Gas           Non Aggregation - MI
COH             208542530010                Gas           Non Aggregation - OH   SEM             0316163500                  Gas           Non Aggregation - MI
VEDO            4019770092676536            Gas           Non Aggregation - OH   SEM             0342852501                  Gas           Non Aggregation - MI
COH             202107740014                Gas           Non Aggregation - OH   SEM             0120538501                  Gas           Non Aggregation - MI
COH             140193300010                Gas           Non Aggregation - OH   SEM             0162124500                  Gas           Non Aggregation - MI
DEO             6500060272426               Gas           Non Aggregation - OH   SEM             0230636501                  Gas           Non Aggregation - MI
DUKE            5750058644                  Gas           Non Aggregation - OH   SEM             0113316500                  Gas           Non Aggregation - MI
VEDO            4018018212495300            Gas           Non Aggregation - OH   SEM             0098805500                  Gas           Non Aggregation - MI
VEDO            4018018212177636            Gas           Non Aggregation - OH   DTE             920023206740                Gas           Non Aggregation - MI
COH             146421360017                Gas           Non Aggregation - OH   DTE             920023206724                Gas           Non Aggregation - MI
DEO             3500052454050               Gas           Non Aggregation - OH   DTE             910036229409                Gas           Non Aggregation - MI
DEO             0180007807643               Gas           Non Aggregation - OH   CE              0000001691252               Gas           Non Aggregation - MI
DEO             7500066635425               Gas           Non Aggregation - OH   DTE             910017941147                Gas           Non Aggregation - MI
COH             196846580575                Gas           Non Aggregation - OH   DTE             910005952536                Gas           Non Aggregation - MI
COH             209359130012                Gas           Non Aggregation - OH   CE              0000001229008               Gas           Non Aggregation - MI
COH             145475880016                Gas           Non Aggregation - OH   CE              0000001229009               Gas           Non Aggregation - MI
COH             145475900057                Gas           Non Aggregation - OH   CE              0000000054571               Gas           Non Aggregation - MI
DEO             8440607211417               Gas           Non Aggregation - OH   CE              0000000054820               Gas           Non Aggregation - MI
DEO             2421901233787               Gas           Non Aggregation - OH   CE              0000001096331               Gas           Non Aggregation - MI
COH             206979870016                Gas           Non Aggregation - OH   CE              0000002483244               Gas           Non Aggregation - MI
COH             110804390011                Gas           Non Aggregation - OH   CE              0000001504329               Gas           Non Aggregation - MI
DUKE            2120005427                  Gas           Non Aggregation - OH   CE              0000001499228               Gas           Non Aggregation - MI
COH             132517610035                Gas           Non Aggregation - OH   CE              0000003305539               Gas           Non Aggregation - MI
COH             143897710019                Gas           Non Aggregation - OH   CE              0000002537146               Gas           Non Aggregation - MI
DEO             4180014990064               Gas           Non Aggregation - OH   CE              0000002611129               Gas           Non Aggregation - MI
COH             173284300036                Gas           Non Aggregation - OH   CE              0000003471214               Gas           Non Aggregation - MI
COH             173031090018                Gas           Non Aggregation - OH   CE              0000001315923               Gas           Non Aggregation - MI
COH             189531840012                Gas           Non Aggregation - OH   CE              0000002587269               Gas           Non Aggregation - MI
COH             152562980119                Gas           Non Aggregation - OH   CE              0000001244101               Gas           Non Aggregation - MI
COH             155478070018                Gas           Non Aggregation - OH   CE              0000002827983               Gas           Non Aggregation - MI
COH             156172270013                Gas           Non Aggregation - OH   CE              0000002484454               Gas           Non Aggregation - MI
COH             156172280011                Gas           Non Aggregation - OH   CE              0000000617049               Gas           Non Aggregation - MI
COH             156172290019                Gas           Non Aggregation - OH   CE              0000002664397               Gas           Non Aggregation - MI
COH             108839710014                Gas           Non Aggregation - OH   CE              0000002796154               Gas           Non Aggregation - MI
COH             113031060016                Gas           Non Aggregation - OH   CE              0000002178040               Gas           Non Aggregation - MI
COH             136282200018                Gas           Non Aggregation - OH   CE              0000001296429               Gas           Non Aggregation - MI
COH             123848240033                Gas           Non Aggregation - OH   CE              0000001361193               Gas           Non Aggregation - MI
COH             163194420034                Gas           Non Aggregation - OH   CE              0000002121423               Gas           Non Aggregation - MI
COH             206661370014                Gas           Non Aggregation - OH   CE              0000003404490               Gas           Non Aggregation - MI
DEO             0500053910243               Gas           Non Aggregation - OH   CE              0000002076683               Gas           Non Aggregation - MI
DEO             0500044011226               Gas           Non Aggregation - OH   CE              0000000000157               Gas           Non Aggregation - MI
DEO             9180013395032               Gas           Non Aggregation - OH   CE              0000000008233               Gas           Non Aggregation - MI
DEO             6500064057297               Gas           Non Aggregation - OH   CE              0000000387396               Gas           Non Aggregation - MI
DEO             2180012096799               Gas           Non Aggregation - OH   CE              0000002112240               Gas           Non Aggregation - MI
DEO             9180013394945               Gas           Non Aggregation - OH   CE              0000002135469               Gas           Non Aggregation - MI
DEO             0180011915042               Gas           Non Aggregation - OH   CE              0000002142562               Gas           Non Aggregation - MI
DEO             0180010048246               Gas           Non Aggregation - OH   CE              0000002478086               Gas           Non Aggregation - MI
DEO             0180009472146               Gas           Non Aggregation - OH   CE              0000002584350               Gas           Non Aggregation - MI
DEO             0180008829476               Gas           Non Aggregation - OH   CE              0000003026103               Gas           Non Aggregation - MI
VEDO            4020790282100309            Gas           Non Aggregation - OH   CE              0000003228629               Gas           Non Aggregation - MI
DEO             5180005936575               Gas           Non Aggregation - OH   CE              0000003363242               Gas           Non Aggregation - MI
COH             209809740019                Gas           Non Aggregation - OH   CE              0000003562570               Gas           Non Aggregation - MI
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      Utility      Utility Account Number     Commodity      Customer Type            Utility      Utility Account Number     Commodity      Customer Type
DEO             1180015806009               Gas           Non Aggregation - OH   CE             0000000030048               Gas           Non Aggregation - MI
COH             124199630019                Gas           Non Aggregation - OH   CE             0000000417931               Gas           Non Aggregation - MI
COH             146276270015                Gas           Non Aggregation - OH   CE             0000000419525               Gas           Non Aggregation - MI
DEO             9500033051718               Gas           Non Aggregation - OH   CE             0000000844041               Gas           Non Aggregation - MI
COH             176778340038                Gas           Non Aggregation - OH   CE             0000001238366               Gas           Non Aggregation - MI
DEO             9500018670791               Gas           Non Aggregation - OH   CE             0000002668869               Gas           Non Aggregation - MI
COH             142880160020                Gas           Non Aggregation - OH   CE             0000002772623               Gas           Non Aggregation - MI
COH             193499840016                Gas           Non Aggregation - OH   CE             0000001691915               Gas           Non Aggregation - MI
COH             140733340016                Gas           Non Aggregation - OH   CE             0000001885416               Gas           Non Aggregation - MI
DEO             8180007074004               Gas           Non Aggregation - OH   CE             0000002503760               Gas           Non Aggregation - MI
VEDO            4015790072625365            Gas           Non Aggregation - OH   CE             0000000270767               Gas           Non Aggregation - MI
COH             168303360020                Gas           Non Aggregation - OH   CE             0000002612817               Gas           Non Aggregation - MI
COH             208273820010                Gas           Non Aggregation - OH   CE             0000000077938               Gas           Non Aggregation - MI
DEO             8180016062234               Gas           Non Aggregation - OH   CE             0000002564043               Gas           Non Aggregation - MI
DEO             0440906751476               Gas           Non Aggregation - OH   CE             0000001893220               Gas           Non Aggregation - MI
COH             110320620054                Gas           Non Aggregation - OH   CE             0000002681699               Gas           Non Aggregation - MI
COH             138915720050                Gas           Non Aggregation - OH   CE             0000000449469               Gas           Non Aggregation - MI
VEDO            4001143202113534            Gas           Non Aggregation - OH   CE             0000001262875               Gas           Non Aggregation - MI
VEDO            4003865152386154            Gas           Non Aggregation - OH   CE             0000001262885               Gas           Non Aggregation - MI
VEDO            4001143202492330            Gas           Non Aggregation - OH   CE             0000000384720               Gas           Non Aggregation - MI
DUKE            0100051923                  Gas           Non Aggregation - OH   CE             0000001704403               Gas           Non Aggregation - MI
DUKE            0380016920                  Gas           Non Aggregation - OH   CE             0000001707595               Gas           Non Aggregation - MI
DUKE            5940350402                  Gas           Non Aggregation - OH   CE             0000002115016               Gas           Non Aggregation - MI
DUKE            1970224403                  Gas           Non Aggregation - OH   CE             0000002142115               Gas           Non Aggregation - MI
DUKE            3550381404                  Gas           Non Aggregation - OH   CE             0000002501708               Gas           Non Aggregation - MI
DUKE            2840084030                  Gas           Non Aggregation - OH   CE             0000003184290               Gas           Non Aggregation - MI
COH             208593390013                Gas           Non Aggregation - OH   CE             0000002827545               Gas           Non Aggregation - MI
COH             162992050013                Gas           Non Aggregation - OH   CE             0000002571590               Gas           Non Aggregation - MI
COH             135176460010                Gas           Non Aggregation - OH   CE             0000002560079               Gas           Non Aggregation - MI
DEO             2180006826441               Gas           Non Aggregation - OH   CE             0000002532254               Gas           Non Aggregation - MI
COH             209095090011                Gas           Non Aggregation - OH   CE             0000002531022               Gas           Non Aggregation - MI
COH             207869670010                Gas           Non Aggregation - OH   CE             0000001270845               Gas           Non Aggregation - MI
DUKE            0310077220                  Gas           Non Aggregation - OH   CE             0000002162950               Gas           Non Aggregation - MI
DUKE            5610204601                  Gas           Non Aggregation - OH   CE             0000002619746               Gas           Non Aggregation - MI
DUKE            3060025920                  Gas           Non Aggregation - OH   CE             0000002957803               Gas           Non Aggregation - MI
VEDO            4001172252116244            Gas           Non Aggregation - OH   CE             0000002174270               Gas           Non Aggregation - MI
VEDO            4002486932384731            Gas           Non Aggregation - OH   CE             0000002174269               Gas           Non Aggregation - MI
VEDO            4017538382481698            Gas           Non Aggregation - OH   CE             0000002609854               Gas           Non Aggregation - MI
VEDO            4004445142629088            Gas           Non Aggregation - OH   CE             0000003529339               Gas           Non Aggregation - MI
VEDO            4003812682380445            Gas           Non Aggregation - OH   CE             0000001675135               Gas           Non Aggregation - MI
COH             118092060031                Gas           Non Aggregation - OH   CE             0000003996173               Gas           Non Aggregation - MI
COH             112664460030                Gas           Non Aggregation - OH   CE             0000002075016               Gas           Non Aggregation - MI
DEO             3500060111173               Gas           Non Aggregation - OH   CE             0000002512086               Gas           Non Aggregation - MI
DEO             9500004965675               Gas           Non Aggregation - OH   CE             0000002518067               Gas           Non Aggregation - MI
DEO             9420900266521               Gas           Non Aggregation - OH   CE             0000002521804               Gas           Non Aggregation - MI
COH             117365990029                Gas           Non Aggregation - OH   CE             0000002663290               Gas           Non Aggregation - MI
COH             141689190021                Gas           Non Aggregation - OH   CE             0000002110912               Gas           Non Aggregation - MI
DUKE            9680056522                  Gas           Non Aggregation - OH   CE             0000001466070               Gas           Non Aggregation - MI
DEO             5421906080933               Gas           Non Aggregation - OH   CE             0000001084239               Gas           Non Aggregation - MI
DEO             7500054376344               Gas           Non Aggregation - OH   CE             0000002507772               Gas           Non Aggregation - MI
COH             122372590585                Gas           Non Aggregation - OH   CE             0000000868328               Gas           Non Aggregation - MI
COH             192135370034                Gas           Non Aggregation - OH   CE             0000000833370               Gas           Non Aggregation - MI
COH             119942630028                Gas           Non Aggregation - OH   CE             0000003408424               Gas           Non Aggregation - MI
DEO             3180007123067               Gas           Non Aggregation - OH   CE             0000002595824               Gas           Non Aggregation - MI
COH             115646460017                Gas           Non Aggregation - OH   CE             0000002542904               Gas           Non Aggregation - MI
COH             144727390177                Gas           Non Aggregation - OH   CE             0000000806310               Gas           Non Aggregation - MI
DEO             0500051762018               Gas           Non Aggregation - OH   CE             0000000452122               Gas           Non Aggregation - MI
COH             168779080031                Gas           Non Aggregation - OH   CE             0000000949472               Gas           Non Aggregation - MI
DEO             9180015944723               Gas           Non Aggregation - OH   CE             0000000002892               Gas           Non Aggregation - MI
COH             138652540083                Gas           Non Aggregation - OH   CE             0000002939587               Gas           Non Aggregation - MI
DEO             0180015810952               Gas           Non Aggregation - OH   CE             0000001910179               Gas           Non Aggregation - MI
DUKE            1020081820                  Gas           Non Aggregation - OH   CE             0000000728115               Gas           Non Aggregation - MI
DEO             9180009717310               Gas           Non Aggregation - OH   CE             0000002428947               Gas           Non Aggregation - MI
COH             185083110010                Gas           Non Aggregation - OH   CE             0000000816161               Gas           Non Aggregation - MI
COH             108909520033                Gas           Non Aggregation - OH   CE             0000001649648               Gas           Non Aggregation - MI
COH             112166160011                Gas           Non Aggregation - OH   CE             0000002133639               Gas           Non Aggregation - MI
COH             114770270015                Gas           Non Aggregation - OH   CE             0000003504776               Gas           Non Aggregation - MI
COH             112571840037                Gas           Non Aggregation - OH   CE             0000002976096               Gas           Non Aggregation - MI
COH             124620240025                Gas           Non Aggregation - OH   CE             0000002176988               Gas           Non Aggregation - MI
COH             166133660011                Gas           Non Aggregation - OH   CE             0000001289985               Gas           Non Aggregation - MI
COH             151077170100                Gas           Non Aggregation - OH   CE             0000003355313               Gas           Non Aggregation - MI
COH             152562980093                Gas           Non Aggregation - OH   CE             0000001203493               Gas           Non Aggregation - MI
COH             117495300153                Gas           Non Aggregation - OH   CE             0000001254558               Gas           Non Aggregation - MI
COH             119006240015                Gas           Non Aggregation - OH   CE             0000002534747               Gas           Non Aggregation - MI
COH             192084330013                Gas           Non Aggregation - OH   CE             0000002604229               Gas           Non Aggregation - MI
COH             115082650193                Gas           Non Aggregation - OH   CE             0000002541109               Gas           Non Aggregation - MI
COH             115082650228                Gas           Non Aggregation - OH   CE             0000001691196               Gas           Non Aggregation - MI
COH             115082650200                Gas           Non Aggregation - OH   CE             0000000826606               Gas           Non Aggregation - MI
COH             115082650219                Gas           Non Aggregation - OH   CE             0000001703428               Gas           Non Aggregation - MI
COH             149447970370                Gas           Non Aggregation - OH   CE             0000000583867               Gas           Non Aggregation - MI
COH             149447970325                Gas           Non Aggregation - OH   CE             0000001674234               Gas           Non Aggregation - MI
COH             149447970405                Gas           Non Aggregation - OH   CE             0000001606231               Gas           Non Aggregation - MI
COH             115082650246                Gas           Non Aggregation - OH   CE             0000001668740               Gas           Non Aggregation - MI
COH             115082650157                Gas           Non Aggregation - OH   CE             0000002804185               Gas           Non Aggregation - MI
COH             187914130011                Gas           Non Aggregation - OH   CE             0000002164346               Gas           Non Aggregation - MI
DUKE            5620370201                  Gas           Non Aggregation - OH   CE             0000002564206               Gas           Non Aggregation - MI
DUKE            8910377501                  Gas           Non Aggregation - OH   CE             0000002757397               Gas           Non Aggregation - MI
DUKE            9310351502                  Gas           Non Aggregation - OH   CE             0000000445252               Gas           Non Aggregation - MI
DUKE            1790059620                  Gas           Non Aggregation - OH   CE             0000002504393               Gas           Non Aggregation - MI
DUKE            2630215901                  Gas           Non Aggregation - OH   CE             0000001569646               Gas           Non Aggregation - MI
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      Utility      Utility Account Number     Commodity      Customer Type            Utility      Utility Account Number     Commodity      Customer Type
DUKE            3080004420                  Gas           Non Aggregation - OH   CE             0000001515368               Gas           Non Aggregation - MI
DUKE            3150083921                  Gas           Non Aggregation - OH   CE             0000003359004               Gas           Non Aggregation - MI
DUKE            3300217301                  Gas           Non Aggregation - OH   CE             0000001988854               Gas           Non Aggregation - MI
DUKE            4740052920                  Gas           Non Aggregation - OH   CE             0000002729734               Gas           Non Aggregation - MI
DUKE            4760217501                  Gas           Non Aggregation - OH   CE             0000000256814               Gas           Non Aggregation - MI
DUKE            5560086620                  Gas           Non Aggregation - OH   CE             0000002600588               Gas           Non Aggregation - MI
DUKE            6130026320                  Gas           Non Aggregation - OH   CE             0000002597118               Gas           Non Aggregation - MI
DUKE            6290220401                  Gas           Non Aggregation - OH   CE             0000001282436               Gas           Non Aggregation - MI
DUKE            6420201501                  Gas           Non Aggregation - OH   CE             0000003370990               Gas           Non Aggregation - MI
DUKE            6730028521                  Gas           Non Aggregation - OH   CE             0000000795764               Gas           Non Aggregation - MI
DUKE            6800070520                  Gas           Non Aggregation - OH   CE             0000000788207               Gas           Non Aggregation - MI
DUKE            9750069320                  Gas           Non Aggregation - OH   CE             0000000492255               Gas           Non Aggregation - MI
DUKE            9810211501                  Gas           Non Aggregation - OH   CE             0000000802270               Gas           Non Aggregation - MI
DUKE            0160355101                  Gas           Non Aggregation - OH   CE             0000000888365               Gas           Non Aggregation - MI
DUKE            1100224801                  Gas           Non Aggregation - OH   CE             0000002090818               Gas           Non Aggregation - MI
DUKE            1440075905                  Gas           Non Aggregation - OH   CE             0000000278922               Gas           Non Aggregation - MI
DUKE            2080357401                  Gas           Non Aggregation - OH   CE             0000002118275               Gas           Non Aggregation - MI
DUKE            3100369101                  Gas           Non Aggregation - OH   CE             0000003001947               Gas           Non Aggregation - MI
DUKE            5670366802                  Gas           Non Aggregation - OH   CE             0000000064487               Gas           Non Aggregation - MI
DUKE            0650387701                  Gas           Non Aggregation - OH   CE             0000001757988               Gas           Non Aggregation - MI
DUKE            3670384102                  Gas           Non Aggregation - OH   CE             0000002532583               Gas           Non Aggregation - MI
DUKE            7540361103                  Gas           Non Aggregation - OH   CE             0000003143515               Gas           Non Aggregation - MI
COH             137623680022                Gas           Non Aggregation - OH   CE             0000003029975               Gas           Non Aggregation - MI
DEO             5180015678601               Gas           Non Aggregation - OH   CE             0000002507176               Gas           Non Aggregation - MI
VEDO            4005119872524241            Gas           Non Aggregation - OH   CE             0000000873697               Gas           Non Aggregation - MI
COH             119092210010                Gas           Non Aggregation - OH   CE             0000003013297               Gas           Non Aggregation - MI
COH             122437590078                Gas           Non Aggregation - OH   CE             0000003541168               Gas           Non Aggregation - MI
COH             186478780012                Gas           Non Aggregation - OH   CE             0000002834590               Gas           Non Aggregation - MI
COH             113567330041                Gas           Non Aggregation - OH   CE             0000000825513               Gas           Non Aggregation - MI
COH             144114090026                Gas           Non Aggregation - OH   CE             0000000276879               Gas           Non Aggregation - MI
COH             110562280081                Gas           Non Aggregation - OH   CE             0000003170426               Gas           Non Aggregation - MI
COH             124027730020                Gas           Non Aggregation - OH   CE             0000000819986               Gas           Non Aggregation - MI
COH             114644190037                Gas           Non Aggregation - OH   CE             0000001259015               Gas           Non Aggregation - MI
COH             139200150518                Gas           Non Aggregation - OH   CE             0000001259034               Gas           Non Aggregation - MI
COH             191215130017                Gas           Non Aggregation - OH   CE             0000003028517               Gas           Non Aggregation - MI
COH             118823970011                Gas           Non Aggregation - OH   CE             0000002577638               Gas           Non Aggregation - MI
COH             167935060025                Gas           Non Aggregation - OH   CE             0000002431536               Gas           Non Aggregation - MI
COH             119006250013                Gas           Non Aggregation - OH   CE             0000002431535               Gas           Non Aggregation - MI
COH             119452270014                Gas           Non Aggregation - OH   CE             0000003050671               Gas           Non Aggregation - MI
DEO             0180016031201               Gas           Non Aggregation - OH   CE             0000002341171               Gas           Non Aggregation - MI
COH             171731770013                Gas           Non Aggregation - OH   CE             0000002477081               Gas           Non Aggregation - MI
COH             141610090018                Gas           Non Aggregation - OH   CE             0000003923644               Gas           Non Aggregation - MI
COH             148823250016                Gas           Non Aggregation - OH   CE             0000002490875               Gas           Non Aggregation - MI
COH             196460230012                Gas           Non Aggregation - OH   CE             0000002101554               Gas           Non Aggregation - MI
COH             122997660031                Gas           Non Aggregation - OH   CE             0000002101559               Gas           Non Aggregation - MI
COH             132517610026                Gas           Non Aggregation - OH   CE             0000003535418               Gas           Non Aggregation - MI
COH             154295020017                Gas           Non Aggregation - OH   CE             0000002600842               Gas           Non Aggregation - MI
COH             156808830016                Gas           Non Aggregation - OH   CE             0000001738121               Gas           Non Aggregation - MI
COH             124227740015                Gas           Non Aggregation - OH   CE             0000001939706               Gas           Non Aggregation - MI
COH             124227750059                Gas           Non Aggregation - OH   CE             0000002077187               Gas           Non Aggregation - MI
COH             193638720015                Gas           Non Aggregation - OH   CE             0000003013443               Gas           Non Aggregation - MI
COH             116844840016                Gas           Non Aggregation - OH   CE             0000000393677               Gas           Non Aggregation - MI
COH             139075160040                Gas           Non Aggregation - OH   CE             0000001662491               Gas           Non Aggregation - MI
COH             149727000011                Gas           Non Aggregation - OH   CE             0000001276849               Gas           Non Aggregation - MI
DEO             5500050960382               Gas           Non Aggregation - OH   CE             0000001570170               Gas           Non Aggregation - MI
COH             196684870014                Gas           Non Aggregation - OH   CE             0000001741440               Gas           Non Aggregation - MI
COH             115709100018                Gas           Non Aggregation - OH   CE             0000000410305               Gas           Non Aggregation - MI
COH             115709080013                Gas           Non Aggregation - OH   CE             0000002487020               Gas           Non Aggregation - MI
COH             115709090011                Gas           Non Aggregation - OH   CE             0000002487021               Gas           Non Aggregation - MI
DEO             5500061690074               Gas           Non Aggregation - OH   CE             0000002487025               Gas           Non Aggregation - MI
COH             122197350032                Gas           Non Aggregation - OH   CE             0000002487022               Gas           Non Aggregation - MI
COH             111650880014                Gas           Non Aggregation - OH   CE             0000002487023               Gas           Non Aggregation - MI
COH             133855380073                Gas           Non Aggregation - OH   CE             0000002487024               Gas           Non Aggregation - MI
COH             133855380144                Gas           Non Aggregation - OH   CE             0000001287356               Gas           Non Aggregation - MI
COH             133855380171                Gas           Non Aggregation - OH   CE             0000003279026               Gas           Non Aggregation - MI
COH             136954850017                Gas           Non Aggregation - OH   CE             0000000413032               Gas           Non Aggregation - MI
COH             136954920012                Gas           Non Aggregation - OH   CE             0000000247356               Gas           Non Aggregation - MI
COH             136955510016                Gas           Non Aggregation - OH   CE             0000003375957               Gas           Non Aggregation - MI
COH             139951010016                Gas           Non Aggregation - OH   CE             0000000491271               Gas           Non Aggregation - MI
COH             142917260075                Gas           Non Aggregation - OH   CE             0000002970742               Gas           Non Aggregation - MI
COH             133855380206                Gas           Non Aggregation - OH   CE             0000000017504               Gas           Non Aggregation - MI
COH             142376200075                Gas           Non Aggregation - OH   CE             0000001733665               Gas           Non Aggregation - MI
COH             136954850026                Gas           Non Aggregation - OH   CE             0000001937518               Gas           Non Aggregation - MI
COH             142917260066                Gas           Non Aggregation - OH   CE             0000001668154               Gas           Non Aggregation - MI
COH             133855380162                Gas           Non Aggregation - OH   CE             0000000695003               Gas           Non Aggregation - MI
COH             147924180081                Gas           Non Aggregation - OH   CE             0000002645677               Gas           Non Aggregation - MI
COH             194273850011                Gas           Non Aggregation - OH   CE             0000000616266               Gas           Non Aggregation - MI
COH             133855380215                Gas           Non Aggregation - OH   CE             0000000849305               Gas           Non Aggregation - MI
COH             133855380242                Gas           Non Aggregation - OH   CE             0000003175206               Gas           Non Aggregation - MI
COH             133855380224                Gas           Non Aggregation - OH   CE             0000002107192               Gas           Non Aggregation - MI
DEO             5441600553311               Gas           Non Aggregation - OH   CE             0000000895668               Gas           Non Aggregation - MI
DEO             5500014497887               Gas           Non Aggregation - OH   CE             0000002970002               Gas           Non Aggregation - MI
COH             112955980016                Gas           Non Aggregation - OH   CE             0000000489556               Gas           Non Aggregation - MI
COH             190174930027                Gas           Non Aggregation - OH   CE             0000001898390               Gas           Non Aggregation - MI
COH             146490210059                Gas           Non Aggregation - OH   CE             0000001924690               Gas           Non Aggregation - MI
COH             162447510057                Gas           Non Aggregation - OH   CE             0000003009476               Gas           Non Aggregation - MI
COH             146490210102                Gas           Non Aggregation - OH   CE             0000000108211               Gas           Non Aggregation - MI
COH             162447510066                Gas           Non Aggregation - OH   CE             0000000049803               Gas           Non Aggregation - MI
COH             170635200017                Gas           Non Aggregation - OH   CE             0000001278078               Gas           Non Aggregation - MI
COH             146490210237                Gas           Non Aggregation - OH   CE             0000003002781               Gas           Non Aggregation - MI
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      Utility      Utility Account Number     Commodity      Customer Type            Utility      Utility Account Number     Commodity      Customer Type
COH             162447510075                Gas           Non Aggregation - OH   CE             0000002786253               Gas           Non Aggregation - MI
COH             113030590053                Gas           Non Aggregation - OH   CE             0000000532494               Gas           Non Aggregation - MI
COH             171476680014                Gas           Non Aggregation - OH   CE             0000001247033               Gas           Non Aggregation - MI
COH             188420890027                Gas           Non Aggregation - OH   CE             0000000956579               Gas           Non Aggregation - MI
COH             154422110017                Gas           Non Aggregation - OH   CE             0000001748475               Gas           Non Aggregation - MI
COH             195241510036                Gas           Non Aggregation - OH   CE             0000002398975               Gas           Non Aggregation - MI
DEO             8500049661391               Gas           Non Aggregation - OH   CE             0000000026947               Gas           Non Aggregation - MI
COH             152471340018                Gas           Non Aggregation - OH   CE             0000001733709               Gas           Non Aggregation - MI
VEDO            4004919272585802            Gas           Non Aggregation - OH   CE             0000001470346               Gas           Non Aggregation - MI
COH             141549940010                Gas           Non Aggregation - OH   CE             0000003563524               Gas           Non Aggregation - MI
DEO             0500064105797               Gas           Non Aggregation - OH   CE             0000001697196               Gas           Non Aggregation - MI
DEO             6180004677540               Gas           Non Aggregation - OH   CE             0000001697660               Gas           Non Aggregation - MI
DEO             1180009574712               Gas           Non Aggregation - OH   CE             0000001722321               Gas           Non Aggregation - MI
DEO             8500004534571               Gas           Non Aggregation - OH   CE             0000002545624               Gas           Non Aggregation - MI
DEO             6500050760794               Gas           Non Aggregation - OH   CE             0000002584054               Gas           Non Aggregation - MI
DEO             2500009603826               Gas           Non Aggregation - OH   CE             0000002964610               Gas           Non Aggregation - MI
DEO             3500011541405               Gas           Non Aggregation - OH   CE             0000002995858               Gas           Non Aggregation - MI
DEO             9500014548258               Gas           Non Aggregation - OH   CE             0000003540342               Gas           Non Aggregation - MI
DEO             1500035193400               Gas           Non Aggregation - OH   CE             0000000003500               Gas           Non Aggregation - MI
DEO             4500040721284               Gas           Non Aggregation - OH   CE             0000000055375               Gas           Non Aggregation - MI
VEDO            4003788952142128            Gas           Non Aggregation - OH   CE             0000002529776               Gas           Non Aggregation - MI
DEO             3180015929865               Gas           Non Aggregation - OH   CE             0000001279574               Gas           Non Aggregation - MI
COH             209624950017                Gas           Non Aggregation - OH   CE             0000002602287               Gas           Non Aggregation - MI
COH             176024190019                Gas           Non Aggregation - OH   CE             0000001785845               Gas           Non Aggregation - MI
COH             194829430010                Gas           Non Aggregation - OH   CE             0000003404049               Gas           Non Aggregation - MI
DEO             7180014062933               Gas           Non Aggregation - OH   CE             0000000130205               Gas           Non Aggregation - MI
DEO             2421005699139               Gas           Non Aggregation - OH   CE             0000003297620               Gas           Non Aggregation - MI
COH             135195610036                Gas           Non Aggregation - OH   CE             0000002656993               Gas           Non Aggregation - MI
COH             128869730040                Gas           Non Aggregation - OH   CE             0000002675425               Gas           Non Aggregation - MI
COH             112487540011                Gas           Non Aggregation - OH   CE             0000002182308               Gas           Non Aggregation - MI
COH             198603080018                Gas           Non Aggregation - OH   CE             0000000022174               Gas           Non Aggregation - MI
COH             149499270109                Gas           Non Aggregation - OH   CE             0000002581693               Gas           Non Aggregation - MI
COH             149499270136                Gas           Non Aggregation - OH   CE             0000002763834               Gas           Non Aggregation - MI
COH             149499270118                Gas           Non Aggregation - OH   CE             0000000022709               Gas           Non Aggregation - MI
COH             149499270127                Gas           Non Aggregation - OH   CE             0000002587731               Gas           Non Aggregation - MI
COH             149499270163                Gas           Non Aggregation - OH   CE             0000003526868               Gas           Non Aggregation - MI
COH             149499270145                Gas           Non Aggregation - OH   CE             0000000385643               Gas           Non Aggregation - MI
COH             149499270092                Gas           Non Aggregation - OH   CE             0000000386379               Gas           Non Aggregation - MI
COH             155655440014                Gas           Non Aggregation - OH   CE             0000002587834               Gas           Non Aggregation - MI
COH             114621590022                Gas           Non Aggregation - OH   CE             0000002587924               Gas           Non Aggregation - MI
COH             114621590013                Gas           Non Aggregation - OH   CE             0000002103191               Gas           Non Aggregation - MI
COH             157104600015                Gas           Non Aggregation - OH   CE             0000003029099               Gas           Non Aggregation - MI
COH             117495300082                Gas           Non Aggregation - OH   CE             0000001494194               Gas           Non Aggregation - MI
COH             100911590050                Gas           Non Aggregation - OH   CE             0000002320140               Gas           Non Aggregation - MI
COH             117495300091                Gas           Non Aggregation - OH   CE             0000001947002               Gas           Non Aggregation - MI
COH             142967580037                Gas           Non Aggregation - OH   CE             0000000666541               Gas           Non Aggregation - MI
COH             138010960021                Gas           Non Aggregation - OH   CE             0000002109622               Gas           Non Aggregation - MI
COH             123724060060                Gas           Non Aggregation - OH   CE             0000000789151               Gas           Non Aggregation - MI
COH             123724060079                Gas           Non Aggregation - OH   CE             0000001381245               Gas           Non Aggregation - MI
COH             111168060019                Gas           Non Aggregation - OH   CE             0000003374687               Gas           Non Aggregation - MI
COH             130252310023                Gas           Non Aggregation - OH   CE             0000003540345               Gas           Non Aggregation - MI
COH             114645040018                Gas           Non Aggregation - OH   CE             0000001070449               Gas           Non Aggregation - MI
COH             130456840011                Gas           Non Aggregation - OH   CE             0000002140479               Gas           Non Aggregation - MI
COH             148884090012                Gas           Non Aggregation - OH   CE             0000002140480               Gas           Non Aggregation - MI
COH             156428170020                Gas           Non Aggregation - OH   CE             0000002231536               Gas           Non Aggregation - MI
COH             147994890012                Gas           Non Aggregation - OH   CE             0000003304988               Gas           Non Aggregation - MI
COH             114671300018                Gas           Non Aggregation - OH   CE             0000001238945               Gas           Non Aggregation - MI
COH             125723300014                Gas           Non Aggregation - OH   CE             0000002993544               Gas           Non Aggregation - MI
COH             136092220017                Gas           Non Aggregation - OH   CE             0000003040532               Gas           Non Aggregation - MI
COH             158550290015                Gas           Non Aggregation - OH   CE             0000002510963               Gas           Non Aggregation - MI
COH             125795710044                Gas           Non Aggregation - OH   CE             0000001382141               Gas           Non Aggregation - MI
COH             125897290010                Gas           Non Aggregation - OH   CE             0000003531882               Gas           Non Aggregation - MI
COH             125874330019                Gas           Non Aggregation - OH   CE             0000003029555               Gas           Non Aggregation - MI
COH             143664300027                Gas           Non Aggregation - OH   CE             0000002514069               Gas           Non Aggregation - MI
COH             171493770019                Gas           Non Aggregation - OH   CE             0000002950077               Gas           Non Aggregation - MI
COH             125903810024                Gas           Non Aggregation - OH   CE             0000001645915               Gas           Non Aggregation - MI
COH             122438330132                Gas           Non Aggregation - OH   CE             0000002593696               Gas           Non Aggregation - MI
COH             122438360010                Gas           Non Aggregation - OH   CE             0000001302154               Gas           Non Aggregation - MI
COH             132451900025                Gas           Non Aggregation - OH   CE             0000001288345               Gas           Non Aggregation - MI
COH             153648170018                Gas           Non Aggregation - OH   CE             0000003045552               Gas           Non Aggregation - MI
COH             124620250014                Gas           Non Aggregation - OH   CE             0000002171893               Gas           Non Aggregation - MI
COH             124586130013                Gas           Non Aggregation - OH   CE             0000001722180               Gas           Non Aggregation - MI
COH             124586130077                Gas           Non Aggregation - OH   CE             0000000007380               Gas           Non Aggregation - MI
COH             112821810023                Gas           Non Aggregation - OH   CE             0000002933778               Gas           Non Aggregation - MI
COH             112551410039                Gas           Non Aggregation - OH   CE             0000000036408               Gas           Non Aggregation - MI
COH             133242270048                Gas           Non Aggregation - OH   CE             0000002579271               Gas           Non Aggregation - MI
COH             113601450042                Gas           Non Aggregation - OH   CE             0000002143189               Gas           Non Aggregation - MI
COH             112649370013                Gas           Non Aggregation - OH   CE             0000003921188               Gas           Non Aggregation - MI
COH             131993890067                Gas           Non Aggregation - OH   CE             0000002882085               Gas           Non Aggregation - MI
COH             113590740019                Gas           Non Aggregation - OH   CE             0000000346717               Gas           Non Aggregation - MI
COH             133242270057                Gas           Non Aggregation - OH   CE             0000002214196               Gas           Non Aggregation - MI
COH             113586440039                Gas           Non Aggregation - OH   CE             0000001501287               Gas           Non Aggregation - MI
COH             129860530834                Gas           Non Aggregation - OH   CE             0000001754227               Gas           Non Aggregation - MI
COH             187144900094                Gas           Non Aggregation - OH   CE             0000001755000               Gas           Non Aggregation - MI
DEO             1500066592860               Gas           Non Aggregation - OH   CE             0000004058707               Gas           Non Aggregation - MI
DEO             1500066898635               Gas           Non Aggregation - OH   CE             0000004058708               Gas           Non Aggregation - MI
DEO             1180000019811               Gas           Non Aggregation - OH   CE             0000004059682               Gas           Non Aggregation - MI
DUKE            1910383402                  Gas           Non Aggregation - OH   CE             0000002132998               Gas           Non Aggregation - MI
VEDO            4017764282167886            Gas           Non Aggregation - OH   CE             0000003572802               Gas           Non Aggregation - MI
VEDO            4017764282647324            Gas           Non Aggregation - OH   CE             0000000404099               Gas           Non Aggregation - MI
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      Utility      Utility Account Number     Commodity      Customer Type            Utility      Utility Account Number     Commodity      Customer Type
VEDO            4017764282586507            Gas           Non Aggregation - OH   CE             0000001924986               Gas           Non Aggregation - MI
VEDO            4017764282647169            Gas           Non Aggregation - OH   CE             0000002095543               Gas           Non Aggregation - MI
COH             125734600027                Gas           Non Aggregation - OH   CE             0000001939655               Gas           Non Aggregation - MI
COH             127449700029                Gas           Non Aggregation - OH   CE             0000002464457               Gas           Non Aggregation - MI
COH             127552700066                Gas           Non Aggregation - OH   CE             0000001426007               Gas           Non Aggregation - MI
COH             187546170023                Gas           Non Aggregation - OH   CE             0000002158152               Gas           Non Aggregation - MI
COH             120510280015                Gas           Non Aggregation - OH   CE             0000000463854               Gas           Non Aggregation - MI
COH             124336380029                Gas           Non Aggregation - OH   CE             0000000784903               Gas           Non Aggregation - MI
COH             124053040020                Gas           Non Aggregation - OH   CE             0000000817198               Gas           Non Aggregation - MI
COH             130184690047                Gas           Non Aggregation - OH   CE             0000000094132               Gas           Non Aggregation - MI
COH             145739790015                Gas           Non Aggregation - OH   CE             0000000101589               Gas           Non Aggregation - MI
COH             130184690056                Gas           Non Aggregation - OH   CE             0000000672712               Gas           Non Aggregation - MI
COH             149408320010                Gas           Non Aggregation - OH   CE             0000000672713               Gas           Non Aggregation - MI
COH             143586420028                Gas           Non Aggregation - OH   CE             0000001722466               Gas           Non Aggregation - MI
COH             130184690065                Gas           Non Aggregation - OH   CE             0000000598163               Gas           Non Aggregation - MI
COH             159155450018                Gas           Non Aggregation - OH   CE             0000001451242               Gas           Non Aggregation - MI
COH             159237770017                Gas           Non Aggregation - OH   CE             0000001697773               Gas           Non Aggregation - MI
COH             159155450027                Gas           Non Aggregation - OH   CE             0000002173546               Gas           Non Aggregation - MI
COH             113087310025                Gas           Non Aggregation - OH   CE             0000002179355               Gas           Non Aggregation - MI
COH             122081630010                Gas           Non Aggregation - OH   CE             0000000797135               Gas           Non Aggregation - MI
COH             122141880010                Gas           Non Aggregation - OH   CE             0000000836271               Gas           Non Aggregation - MI
COH             109382750014                Gas           Non Aggregation - OH   CE             0000000941173               Gas           Non Aggregation - MI
COH             125725540038                Gas           Non Aggregation - OH   CE             0000001338182               Gas           Non Aggregation - MI
COH             175204150016                Gas           Non Aggregation - OH   CE             0000002953731               Gas           Non Aggregation - MI
DEO             7500064589837               Gas           Non Aggregation - OH   CE             0000002967202               Gas           Non Aggregation - MI
COH             150845680016                Gas           Non Aggregation - OH   CE             0000002204011               Gas           Non Aggregation - MI
COH             163662860020                Gas           Non Aggregation - OH   CE             0000003072439               Gas           Non Aggregation - MI
DEO             0441200388540               Gas           Non Aggregation - OH   CE             0000003421059               Gas           Non Aggregation - MI
DEO             1441200388522               Gas           Non Aggregation - OH   CE             0000000841820               Gas           Non Aggregation - MI
DEO             6441200388539               Gas           Non Aggregation - OH   CE             0000000150732               Gas           Non Aggregation - MI
DEO             1441200388517               Gas           Non Aggregation - OH   CE             0000002571934               Gas           Non Aggregation - MI
COH             186716430046                Gas           Non Aggregation - OH   CE             0000001757137               Gas           Non Aggregation - MI
COH             147924180072                Gas           Non Aggregation - OH   CE             0000000307075               Gas           Non Aggregation - MI
COH             142917260020                Gas           Non Aggregation - OH   CE             0000002121905               Gas           Non Aggregation - MI
COH             142917260039                Gas           Non Aggregation - OH   CE             0000001734620               Gas           Non Aggregation - MI
COH             204247900012                Gas           Non Aggregation - OH   CE             0000000382293               Gas           Non Aggregation - MI
COH             142376200066                Gas           Non Aggregation - OH   CE             0000002136414               Gas           Non Aggregation - MI
COH             147924180027                Gas           Non Aggregation - OH   CE             0000002954970               Gas           Non Aggregation - MI
COH             133855380117                Gas           Non Aggregation - OH   CE             0000000323181               Gas           Non Aggregation - MI
COH             142917260057                Gas           Non Aggregation - OH   CE             0000002569826               Gas           Non Aggregation - MI
COH             147924180054                Gas           Non Aggregation - OH   CE             0000001285974               Gas           Non Aggregation - MI
COH             133855380126                Gas           Non Aggregation - OH   CE             0000000446066               Gas           Non Aggregation - MI
DEO             5420400438929               Gas           Non Aggregation - OH   CE             0000001300521               Gas           Non Aggregation - MI
DEO             5421000324842               Gas           Non Aggregation - OH   CE             0000002574931               Gas           Non Aggregation - MI
DEO             7441100553288               Gas           Non Aggregation - OH   CE             0000001665367               Gas           Non Aggregation - MI
DEO             0500061787561               Gas           Non Aggregation - OH   CE             0000000287774               Gas           Non Aggregation - MI
DEO             0500042890115               Gas           Non Aggregation - OH   CE             0000002100973               Gas           Non Aggregation - MI
DEO             6421500324826               Gas           Non Aggregation - OH   CE             0000003303792               Gas           Non Aggregation - MI
DEO             1500052739495               Gas           Non Aggregation - OH   CE             0000001204293               Gas           Non Aggregation - MI
DEO             6441500478601               Gas           Non Aggregation - OH   CE             0000001247715               Gas           Non Aggregation - MI
DEO             1421800324832               Gas           Non Aggregation - OH   CE             0000003051096               Gas           Non Aggregation - MI
DEO             0500062223639               Gas           Non Aggregation - OH   CE             0000000066399               Gas           Non Aggregation - MI
DEO             2500041279384               Gas           Non Aggregation - OH   CE             0000000337458               Gas           Non Aggregation - MI
DEO             0500062608660               Gas           Non Aggregation - OH   CE             0000000430045               Gas           Non Aggregation - MI
DEO             0500064229076               Gas           Non Aggregation - OH   CE             0000002231306               Gas           Non Aggregation - MI
DUKE            1900061227                  Gas           Non Aggregation - OH   CE             0000001111434               Gas           Non Aggregation - MI
DUKE            2900061226                  Gas           Non Aggregation - OH   CE             0000001924711               Gas           Non Aggregation - MI
DUKE            8130379302                  Gas           Non Aggregation - OH   CE             0000001800030               Gas           Non Aggregation - MI
DUKE            7420209303                  Gas           Non Aggregation - OH   CE             0000002511560               Gas           Non Aggregation - MI
VEDO            4003788952377867            Gas           Non Aggregation - OH   CE             0000000628944               Gas           Non Aggregation - MI
VEDO            4003788952539045            Gas           Non Aggregation - OH   CE             0000002312607               Gas           Non Aggregation - MI
COH             133855380019                Gas           Non Aggregation - OH   CE             0000002551922               Gas           Non Aggregation - MI
COH             133855380135                Gas           Non Aggregation - OH   CE             0000002945109               Gas           Non Aggregation - MI
COH             133855380046                Gas           Non Aggregation - OH   CE             0000001751893               Gas           Non Aggregation - MI
COH             133855380064                Gas           Non Aggregation - OH   CE             0000000481789               Gas           Non Aggregation - MI
COH             144687110046                Gas           Non Aggregation - OH   CE             0000000489623               Gas           Non Aggregation - MI
COH             138957720016                Gas           Non Aggregation - OH   CE             0000001603215               Gas           Non Aggregation - MI
VEDO            4001599982176183            Gas           Non Aggregation - OH   CE             0000003134253               Gas           Non Aggregation - MI
COH             143789800019                Gas           Non Aggregation - OH   CE             0000001179079               Gas           Non Aggregation - MI
COH             143789800055                Gas           Non Aggregation - OH   CE             0000002879210               Gas           Non Aggregation - MI
COH             122010460024                Gas           Non Aggregation - OH   CE             0000002075643               Gas           Non Aggregation - MI
COH             117529520029                Gas           Non Aggregation - OH   CE             0000000901226               Gas           Non Aggregation - MI
COH             114621810043                Gas           Non Aggregation - OH   CE             0000002483007               Gas           Non Aggregation - MI
COH             198737090059                Gas           Non Aggregation - OH   CE             0000003926341               Gas           Non Aggregation - MI
COH             201834900038                Gas           Non Aggregation - OH   CE             0000002092871               Gas           Non Aggregation - MI
COH             201834900010                Gas           Non Aggregation - OH   CE             0000001357158               Gas           Non Aggregation - MI
COH             124586040030                Gas           Non Aggregation - OH   CE             0000002407130               Gas           Non Aggregation - MI
COH             146673840013                Gas           Non Aggregation - OH   CE             0000002433512               Gas           Non Aggregation - MI
VEDO            4001879422183335            Gas           Non Aggregation - OH   CE             0000000523947               Gas           Non Aggregation - MI
VEDO            4002827102277689            Gas           Non Aggregation - OH   CE             0000002968092               Gas           Non Aggregation - MI
VEDO            4001022302102178            Gas           Non Aggregation - OH   CE             0000000894793               Gas           Non Aggregation - MI
COH             112244530017                Gas           Non Aggregation - OH   CE             0000001153441               Gas           Non Aggregation - MI
COH             112524150022                Gas           Non Aggregation - OH   CE             0000000869392               Gas           Non Aggregation - MI
DEO             7500041437502               Gas           Non Aggregation - OH   CE             0000003524376               Gas           Non Aggregation - MI
DEO             7180013377089               Gas           Non Aggregation - OH   CE             0000001973532               Gas           Non Aggregation - MI
DEO             7180013376969               Gas           Non Aggregation - OH   CE             0000002479410               Gas           Non Aggregation - MI
DEO             7180013377037               Gas           Non Aggregation - OH   CE             0000000471943               Gas           Non Aggregation - MI
DEO             7500054722007               Gas           Non Aggregation - OH   CE             0000003539272               Gas           Non Aggregation - MI
DEO             7500041161497               Gas           Non Aggregation - OH   CE             0000002100317               Gas           Non Aggregation - MI
DEO             7500052181555               Gas           Non Aggregation - OH   CE             0000000987279               Gas           Non Aggregation - MI
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      Utility      Utility Account Number     Commodity      Customer Type            Utility      Utility Account Number     Commodity      Customer Type
DEO             7500020276862               Gas           Non Aggregation - OH   CE             0000002567410               Gas           Non Aggregation - MI
DEO             7500067086577               Gas           Non Aggregation - OH   CE             0000002639425               Gas           Non Aggregation - MI
COH             168421411322                Gas           Non Aggregation - OH   CE             0000001092839               Gas           Non Aggregation - MI
DEO             5420502020776               Gas           Non Aggregation - OH   CE             0000000634371               Gas           Non Aggregation - MI
COH             192264940031                Gas           Non Aggregation - OH   CE             0000002188386               Gas           Non Aggregation - MI
VEDO            4001801362238046            Gas           Non Aggregation - OH   CE             0000002579744               Gas           Non Aggregation - MI
VEDO            4001801362278458            Gas           Non Aggregation - OH   CE             0000002660183               Gas           Non Aggregation - MI
VEDO            4001801362359412            Gas           Non Aggregation - OH   CE             0000000066972               Gas           Non Aggregation - MI
VEDO            4001801362291996            Gas           Non Aggregation - OH   CE             0000000462883               Gas           Non Aggregation - MI
VEDO            4001801362462808            Gas           Non Aggregation - OH   CE             0000000791716               Gas           Non Aggregation - MI
VEDO            4001801362507530            Gas           Non Aggregation - OH   CE             0000001262125               Gas           Non Aggregation - MI
VEDO            4001801362515392            Gas           Non Aggregation - OH   CE             0000001711514               Gas           Non Aggregation - MI
COH             209239910012                Gas           Non Aggregation - OH   CE             0000000796486               Gas           Non Aggregation - MI
DEO             7180009336698               Gas           Non Aggregation - OH   CE             0000003927230               Gas           Non Aggregation - MI
DEO             7500063489122               Gas           Non Aggregation - OH   CE             0000000055132               Gas           Non Aggregation - MI
DEO             7180013447892               Gas           Non Aggregation - OH   CE             0000000055133               Gas           Non Aggregation - MI
DEO             7500067086736               Gas           Non Aggregation - OH   CE             0000000055134               Gas           Non Aggregation - MI
COH             209522790017                Gas           Non Aggregation - OH   CE             0000000055130               Gas           Non Aggregation - MI
COH             206699780019                Gas           Non Aggregation - OH   CE             0000000055135               Gas           Non Aggregation - MI
COH             203224330011                Gas           Non Aggregation - OH   CE             0000001304033               Gas           Non Aggregation - MI
DEO             8500033217514               Gas           Non Aggregation - OH   CE             0000000055136               Gas           Non Aggregation - MI
VEDO            4015989062258050            Gas           Non Aggregation - OH   CE             0000000121713               Gas           Non Aggregation - MI
DUKE            7500085224                  Gas           Non Aggregation - OH   CE             0000001190850               Gas           Non Aggregation - MI
DUKE            0870364703                  Gas           Non Aggregation - OH   CE             0000001997818               Gas           Non Aggregation - MI
DEO             4420206697837               Gas           Non Aggregation - OH   CE             0000001729059               Gas           Non Aggregation - MI
DEO             0420801044238               Gas           Non Aggregation - OH   CE             0000002126873               Gas           Non Aggregation - MI
COH             204293890018                Gas           Non Aggregation - OH   CE             0000000922302               Gas           Non Aggregation - MI
VEDO            4001355832133363            Gas           Non Aggregation - OH   CE             0000001326812               Gas           Non Aggregation - MI
COH             201447570011                Gas           Non Aggregation - OH   CE             0000002225594               Gas           Non Aggregation - MI
DUKE            6020052920                  Gas           Non Aggregation - OH   CE             0000002387127               Gas           Non Aggregation - MI
COH             144727390186                Gas           Non Aggregation - OH   CE             0000000934345               Gas           Non Aggregation - MI
COH             200951410016                Gas           Non Aggregation - OH   CE             0000001305599               Gas           Non Aggregation - MI
VEDO            4018366152120512            Gas           Non Aggregation - OH   CE             0000001720146               Gas           Non Aggregation - MI
COH             202760910014                Gas           Non Aggregation - OH   CE             0000002542782               Gas           Non Aggregation - MI
COH             143481630026                Gas           Non Aggregation - OH   CE             0000002201279               Gas           Non Aggregation - MI
COH             119412520113                Gas           Non Aggregation - OH   CE             0000001917235               Gas           Non Aggregation - MI
COH             119412520131                Gas           Non Aggregation - OH   CE             0000000266359               Gas           Non Aggregation - MI
VEDO            4004057342406856            Gas           Non Aggregation - OH   CE             0000002545471               Gas           Non Aggregation - MI
COH             198704090012                Gas           Non Aggregation - OH   CE             0000001283804               Gas           Non Aggregation - MI
VEDO            4017369362221982            Gas           Non Aggregation - OH   CE             0000003928943               Gas           Non Aggregation - MI
COH             159942860022                Gas           Non Aggregation - OH   CE             0000001793846               Gas           Non Aggregation - MI
COH             124224130019                Gas           Non Aggregation - OH   CE             0000000463522               Gas           Non Aggregation - MI
COH             124224130028                Gas           Non Aggregation - OH   CE             0000003311155               Gas           Non Aggregation - MI
COH             114757760010                Gas           Non Aggregation - OH   CE             0000000392348               Gas           Non Aggregation - MI
COH             205234620017                Gas           Non Aggregation - OH   CE             0000000919065               Gas           Non Aggregation - MI
COH             112669810090                Gas           Non Aggregation - OH   CE             0000002630966               Gas           Non Aggregation - MI
COH             112669810072                Gas           Non Aggregation - OH   CE             0000002678400               Gas           Non Aggregation - MI
COH             112669810081                Gas           Non Aggregation - OH   CE             0000003028591               Gas           Non Aggregation - MI
COH             199078400014                Gas           Non Aggregation - OH   CE             0000000464452               Gas           Non Aggregation - MI
COH             196177450160                Gas           Non Aggregation - OH   CE             0000000664591               Gas           Non Aggregation - MI
COH             132717120481                Gas           Non Aggregation - OH   CE             0000002624334               Gas           Non Aggregation - MI
COH             155279930091                Gas           Non Aggregation - OH   CE             0000000064757               Gas           Non Aggregation - MI
COH             118791460026                Gas           Non Aggregation - OH   CE             0000002499091               Gas           Non Aggregation - MI
VEDO            4018642512638603            Gas           Non Aggregation - OH   CE             0000002547336               Gas           Non Aggregation - MI
VEDO            4001599982156504            Gas           Non Aggregation - OH   CE             0000000428767               Gas           Non Aggregation - MI
VEDO            4001164662127934            Gas           Non Aggregation - OH   CE             0000002442201               Gas           Non Aggregation - MI
VEDO            4001164662115528            Gas           Non Aggregation - OH   CE             0000002177142               Gas           Non Aggregation - MI
COH             125348750043                Gas           Non Aggregation - OH   CE             0000001341440               Gas           Non Aggregation - MI
COH             125348750034                Gas           Non Aggregation - OH   CE             0000000458333               Gas           Non Aggregation - MI
DEO             1500051924717               Gas           Non Aggregation - OH   CE             0000001700389               Gas           Non Aggregation - MI
DEO             7120000111137               Gas           Non Aggregation - OH   CE             0000000831400               Gas           Non Aggregation - MI
DEO             7500049166959               Gas           Non Aggregation - OH   CE             0000001692964               Gas           Non Aggregation - MI
COH             118882710011                Gas           Non Aggregation - OH   CE             0000000853341               Gas           Non Aggregation - MI
DEO             7422100083634               Gas           Non Aggregation - OH   CE             0000000823766               Gas           Non Aggregation - MI
COH             130496450046                Gas           Non Aggregation - OH   CE             0000003822725               Gas           Non Aggregation - MI
DEO             0500054596454               Gas           Non Aggregation - OH   CE             0000002885832               Gas           Non Aggregation - MI
DUKE            6150048422                  Gas           Non Aggregation - OH   CE             0000001883319               Gas           Non Aggregation - MI
DEO             1180017379062               Gas           Non Aggregation - OH   CE             0000000957865               Gas           Non Aggregation - MI
VEDO            4001924632187925            Gas           Non Aggregation - OH   CE             0000002727734               Gas           Non Aggregation - MI
COH             140441050016                Gas           Non Aggregation - OH   CE             0000000600100               Gas           Non Aggregation - MI
COH             205122760015                Gas           Non Aggregation - OH   CE             0000001265230               Gas           Non Aggregation - MI
COH             138801620043                Gas           Non Aggregation - OH   CE             0000002611027               Gas           Non Aggregation - MI
DEO             4421900024325               Gas           Non Aggregation - OH   CE             0000002611026               Gas           Non Aggregation - MI
DEO             6500053728385               Gas           Non Aggregation - OH   CE             0000002611028               Gas           Non Aggregation - MI
VEDO            4004998512510482            Gas           Non Aggregation - OH   CE             0000002611029               Gas           Non Aggregation - MI
COH             164111980012                Gas           Non Aggregation - OH   CE             0000000956565               Gas           Non Aggregation - MI
COH             147880860019                Gas           Non Aggregation - OH   CE             0000003002910               Gas           Non Aggregation - MI
DEO             4180007081653               Gas           Non Aggregation - OH   CE             0000002770884               Gas           Non Aggregation - MI
COH             138179760027                Gas           Non Aggregation - OH   CE             0000001231560               Gas           Non Aggregation - MI
COH             155052980055                Gas           Non Aggregation - OH   CE             0000001231561               Gas           Non Aggregation - MI
DEO             3500026826775               Gas           Non Aggregation - OH   CE             0000000574354               Gas           Non Aggregation - MI
COH             201250540050                Gas           Non Aggregation - OH   CE             0000000671541               Gas           Non Aggregation - MI
VEDO            4001095352240323            Gas           Non Aggregation - OH   CE             0000001884222               Gas           Non Aggregation - MI
COH             143674670010                Gas           Non Aggregation - OH   CE             0000001907326               Gas           Non Aggregation - MI
DUKE            1370054521                  Gas           Non Aggregation - OH   CE             0000000431520               Gas           Non Aggregation - MI
DEO             7180017005946               Gas           Non Aggregation - OH   CE             0000002192410               Gas           Non Aggregation - MI
DEO             2180008788642               Gas           Non Aggregation - OH   CE             0000000663637               Gas           Non Aggregation - MI
COH             114632050013                Gas           Non Aggregation - OH   CE             0000000418954               Gas           Non Aggregation - MI
DUKE            2080072724                  Gas           Non Aggregation - OH   CE             0000001405237               Gas           Non Aggregation - MI
DUKE            8920211704                  Gas           Non Aggregation - OH   CE             0000000792414               Gas           Non Aggregation - MI
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      Utility      Utility Account Number     Commodity      Customer Type            Utility      Utility Account Number     Commodity      Customer Type
COH             190940120077                Gas           Non Aggregation - OH   CE             0000000054865               Gas           Non Aggregation - MI
COH             123849650142                Gas           Non Aggregation - OH   CE             0000000678997               Gas           Non Aggregation - MI
COH             151002390021                Gas           Non Aggregation - OH   CE             0000002798758               Gas           Non Aggregation - MI
COH             199443550027                Gas           Non Aggregation - OH   CE             0000001692088               Gas           Non Aggregation - MI
DEO             2500052451461               Gas           Non Aggregation - OH   CE             0000000057853               Gas           Non Aggregation - MI
DEO             0500031451995               Gas           Non Aggregation - OH   CE             0000002059698               Gas           Non Aggregation - MI
DUKE            7120224906                  Gas           Non Aggregation - OH   CE             0000001660946               Gas           Non Aggregation - MI
DUKE            3600045420                  Gas           Non Aggregation - OH   CE             0000000464217               Gas           Non Aggregation - MI
DEO             1420500362734               Gas           Non Aggregation - OH   CE             0000000464298               Gas           Non Aggregation - MI
DEO             7441200119430               Gas           Non Aggregation - OH   CE             0000001284360               Gas           Non Aggregation - MI
DEO             5441200133433               Gas           Non Aggregation - OH   CE             0000000469236               Gas           Non Aggregation - MI
DEO             7441200119444               Gas           Non Aggregation - OH   CE             0000001768593               Gas           Non Aggregation - MI
DEO             5441200127902               Gas           Non Aggregation - OH   CE             0000002658630               Gas           Non Aggregation - MI
COH             144687110055                Gas           Non Aggregation - OH   CE             0000003045074               Gas           Non Aggregation - MI
DEO             1441406787710               Gas           Non Aggregation - OH   CE             0000003069622               Gas           Non Aggregation - MI
DEO             6500003164032               Gas           Non Aggregation - OH   CE             0000000609241               Gas           Non Aggregation - MI
DEO             2180012460090               Gas           Non Aggregation - OH   CE             0000001102455               Gas           Non Aggregation - MI
DEO             7180002916828               Gas           Non Aggregation - OH   CE             0000002150918               Gas           Non Aggregation - MI
DEO             4422101804658               Gas           Non Aggregation - OH   CE             0000002964955               Gas           Non Aggregation - MI
DEO             5500019644707               Gas           Non Aggregation - OH   CE             0000000323605               Gas           Non Aggregation - MI
COH             120570290026                Gas           Non Aggregation - OH   CE             0000001305387               Gas           Non Aggregation - MI
COH             133868970036                Gas           Non Aggregation - OH   CE             0000002778646               Gas           Non Aggregation - MI
COH             172707190079                Gas           Non Aggregation - OH   CE             0000001987506               Gas           Non Aggregation - MI
COH             187297420010                Gas           Non Aggregation - OH   CE             0000002876935               Gas           Non Aggregation - MI
COH             123067750087                Gas           Non Aggregation - OH   CE             0000001788602               Gas           Non Aggregation - MI
COH             187433590015                Gas           Non Aggregation - OH   CE             0000000835919               Gas           Non Aggregation - MI
COH             117286140034                Gas           Non Aggregation - OH   CE             0000003536051               Gas           Non Aggregation - MI
COH             120010450019                Gas           Non Aggregation - OH   CE             0000000632437               Gas           Non Aggregation - MI
COH             131810180017                Gas           Non Aggregation - OH   CE             0000000724965               Gas           Non Aggregation - MI
COH             131725560018                Gas           Non Aggregation - OH   CE             0000002424090               Gas           Non Aggregation - MI
COH             120010290013                Gas           Non Aggregation - OH   CE             0000002533621               Gas           Non Aggregation - MI
COH             131725490013                Gas           Non Aggregation - OH   CE             0000002594227               Gas           Non Aggregation - MI
COH             113567330014                Gas           Non Aggregation - OH   CE             0000002953612               Gas           Non Aggregation - MI
COH             113567310018                Gas           Non Aggregation - OH   CE             0000003033630               Gas           Non Aggregation - MI
COH             189531840067                Gas           Non Aggregation - OH   CE             0000002531366               Gas           Non Aggregation - MI
COH             125623970132                Gas           Non Aggregation - OH   CE             0000001516035               Gas           Non Aggregation - MI
COH             125623970141                Gas           Non Aggregation - OH   CE             0000002601740               Gas           Non Aggregation - MI
COH             125623970187                Gas           Non Aggregation - OH   CE             0000002972096               Gas           Non Aggregation - MI
COH             125623970150                Gas           Non Aggregation - OH   CE             0000003014961               Gas           Non Aggregation - MI
COH             149045790012                Gas           Non Aggregation - OH   CE             0000000507125               Gas           Non Aggregation - MI
COH             169409980016                Gas           Non Aggregation - OH   CE             0000001388080               Gas           Non Aggregation - MI
COH             133179270016                Gas           Non Aggregation - OH   CE             0000002446795               Gas           Non Aggregation - MI
COH             117954190019                Gas           Non Aggregation - OH   CE             0000002973638               Gas           Non Aggregation - MI
COH             118128770017                Gas           Non Aggregation - OH   CE             0000001864205               Gas           Non Aggregation - MI
COH             127588750016                Gas           Non Aggregation - OH   CE             0000001920575               Gas           Non Aggregation - MI
COH             117065950014                Gas           Non Aggregation - OH   CE             0000002768279               Gas           Non Aggregation - MI
COH             132161410023                Gas           Non Aggregation - OH   CE             0000000721305               Gas           Non Aggregation - MI
COH             117954190028                Gas           Non Aggregation - OH   CE             0000002025427               Gas           Non Aggregation - MI
COH             124487250027                Gas           Non Aggregation - OH   CE             0000002478184               Gas           Non Aggregation - MI
COH             207622700051                Gas           Non Aggregation - OH   CE             0000000031212               Gas           Non Aggregation - MI
COH             205707120019                Gas           Non Aggregation - OH   CE             0000000900493               Gas           Non Aggregation - MI
COH             176774940021                Gas           Non Aggregation - OH   CE             0000001683887               Gas           Non Aggregation - MI
VEDO            4016840122480689            Gas           Non Aggregation - OH   CE             0000002187720               Gas           Non Aggregation - MI
DEO             3180008821482               Gas           Non Aggregation - OH   CE             0000002573073               Gas           Non Aggregation - MI
DEO             9500055436610               Gas           Non Aggregation - OH   CE             0000002610581               Gas           Non Aggregation - MI
COH             144100830038                Gas           Non Aggregation - OH   CE             0000000129707               Gas           Non Aggregation - MI
DEO             4500019480380               Gas           Non Aggregation - OH   CE             0000001328574               Gas           Non Aggregation - MI
DEO             6500027832773               Gas           Non Aggregation - OH   CE             0000002243736               Gas           Non Aggregation - MI
DEO             5400000000366               Gas           Non Aggregation - OH   CE             0000001479237               Gas           Non Aggregation - MI
COH             131172220021                Gas           Non Aggregation - OH   CE             0000002374349               Gas           Non Aggregation - MI
DEO             4180017350560               Gas           Non Aggregation - OH   CE             0000001477561               Gas           Non Aggregation - MI
DEO             4500045155594               Gas           Non Aggregation - OH   CE             0000003375019               Gas           Non Aggregation - MI
DEO             4180016427616               Gas           Non Aggregation - OH   CE             0000001823037               Gas           Non Aggregation - MI
DEO             7500028111535               Gas           Non Aggregation - OH   CE             0000001088575               Gas           Non Aggregation - MI
COH             203009120039                Gas           Non Aggregation - OH   CE             0000001110891               Gas           Non Aggregation - MI
VEDO            4018926062536644            Gas           Non Aggregation - OH   CE             0000000300002               Gas           Non Aggregation - MI
DUKE            3720208202                  Gas           Non Aggregation - OH   CE             0000000688312               Gas           Non Aggregation - MI
DUKE            9790355702                  Gas           Non Aggregation - OH   CE             0000002088979               Gas           Non Aggregation - MI
DUKE            3220205302                  Gas           Non Aggregation - OH   CE             0000000245513               Gas           Non Aggregation - MI
DUKE            8900220802                  Gas           Non Aggregation - OH   CE             0000002077905               Gas           Non Aggregation - MI
DUKE            4750072521                  Gas           Non Aggregation - OH   CE             0000002965712               Gas           Non Aggregation - MI
DUKE            0960203802                  Gas           Non Aggregation - OH   CE             0000002243587               Gas           Non Aggregation - MI
COH             161195260010                Gas           Non Aggregation - OH   CE             0000001906499               Gas           Non Aggregation - MI
VEDO            4016286062583309            Gas           Non Aggregation - OH   CE             0000002555706               Gas           Non Aggregation - MI
VEDO            4001021762208028            Gas           Non Aggregation - OH   CE             0000001823912               Gas           Non Aggregation - MI
VEDO            4002861332590978            Gas           Non Aggregation - OH   CE             0000003241537               Gas           Non Aggregation - MI
VEDO            4001571992338685            Gas           Non Aggregation - OH   CE             0000000052602               Gas           Non Aggregation - MI
VEDO            4001571992407032            Gas           Non Aggregation - OH   CE             0000001291103               Gas           Non Aggregation - MI
VEDO            4001571992618350            Gas           Non Aggregation - OH   CE             0000002556855               Gas           Non Aggregation - MI
VEDO            4004250922279410            Gas           Non Aggregation - OH   CE             0000000256445               Gas           Non Aggregation - MI
COH             198136640011                Gas           Non Aggregation - OH   CE             0000003159661               Gas           Non Aggregation - MI
VEDO            4001777512410858            Gas           Non Aggregation - OH   CE             0000000406130               Gas           Non Aggregation - MI
COH             147689930047                Gas           Non Aggregation - OH   CE             0000000227257               Gas           Non Aggregation - MI
VEDO            4003902202390102            Gas           Non Aggregation - OH   CE             0000004052564               Gas           Non Aggregation - MI
COH             148884090030                Gas           Non Aggregation - OH   CE             0000002967284               Gas           Non Aggregation - MI
VEDO            4004482202130360            Gas           Non Aggregation - OH   CE             0000002346017               Gas           Non Aggregation - MI
VEDO            4019503752172499            Gas           Non Aggregation - OH   CE             0000002884656               Gas           Non Aggregation - MI
DEO             9441203827269               Gas           Non Aggregation - OH   CE             0000001659716               Gas           Non Aggregation - MI
DEO             5420503793344               Gas           Non Aggregation - OH   CE             0000002109211               Gas           Non Aggregation - MI
COH             124506540024                Gas           Non Aggregation - OH   CE             0000003028414               Gas           Non Aggregation - MI
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      Utility      Utility Account Number     Commodity      Customer Type            Utility      Utility Account Number     Commodity      Customer Type
COH             210403750014                Gas           Non Aggregation - OH   CE             0000001354104               Gas           Non Aggregation - MI
COH             174472830026                Gas           Non Aggregation - OH   CE             0000001744465               Gas           Non Aggregation - MI
DEO             5500049875015               Gas           Non Aggregation - OH   CE             0000000597575               Gas           Non Aggregation - MI
COH             143807310049                Gas           Non Aggregation - OH   CE             0000003453595               Gas           Non Aggregation - MI
VEDO            4002267562221864            Gas           Non Aggregation - OH   CE             0000000054640               Gas           Non Aggregation - MI
COH             129612400032                Gas           Non Aggregation - OH   CE             0000000406276               Gas           Non Aggregation - MI
DEO             2500066519749               Gas           Non Aggregation - OH   CE             0000001291397               Gas           Non Aggregation - MI
DEO             5500037027417               Gas           Non Aggregation - OH   CE             0000001397578               Gas           Non Aggregation - MI
COH             117993190035                Gas           Non Aggregation - OH   CE             0000001741282               Gas           Non Aggregation - MI
VEDO            4021033032364819            Gas           Non Aggregation - OH   CE             0000002598946               Gas           Non Aggregation - MI
DEO             4420103647340               Gas           Non Aggregation - OH   CE             0000002961934               Gas           Non Aggregation - MI
COH             211155820015                Gas           Non Aggregation - OH   CE             0000002358980               Gas           Non Aggregation - MI
DEO             3500024514131               Gas           Non Aggregation - OH   CE             0000002437521               Gas           Non Aggregation - MI
DEO             1420603502243               Gas           Non Aggregation - OH   CE             0000000031840               Gas           Non Aggregation - MI
COH             119812740011                Gas           Non Aggregation - OH   CE             0000000888348               Gas           Non Aggregation - MI
COH             205116510010                Gas           Non Aggregation - OH   CE             0000000848746               Gas           Non Aggregation - MI
VEDO            4021618542387368            Gas           Non Aggregation - OH   CE             0000002131283               Gas           Non Aggregation - MI
DEO             8441506530552               Gas           Non Aggregation - OH   CE             0000002152840               Gas           Non Aggregation - MI
VEDO            4015586692627399            Gas           Non Aggregation - OH   CE             0000002573024               Gas           Non Aggregation - MI
COH             135510160031                Gas           Non Aggregation - OH   CE             0000002954482               Gas           Non Aggregation - MI
COH             120127580015                Gas           Non Aggregation - OH   CE             0000002970376               Gas           Non Aggregation - MI
DEO             1500030749280               Gas           Non Aggregation - OH   CE             0000002998796               Gas           Non Aggregation - MI
COH             205405670014                Gas           Non Aggregation - OH   CE             0000002690358               Gas           Non Aggregation - MI
VEDO            4021557712331388            Gas           Non Aggregation - OH   CE             0000002698952               Gas           Non Aggregation - MI
COH             137351850130                Gas           Non Aggregation - OH   CE             0000002699306               Gas           Non Aggregation - MI
DEO             7500028011157               Gas           Non Aggregation - OH   CE             0000001056913               Gas           Non Aggregation - MI
COH             210592890016                Gas           Non Aggregation - OH   CE             0000000865113               Gas           Non Aggregation - MI
DEO             5500047361304               Gas           Non Aggregation - OH   CE             0000003990011               Gas           Non Aggregation - MI
COH             142275980030                Gas           Non Aggregation - OH   CE             0000001283079               Gas           Non Aggregation - MI
COH             108781450012                Gas           Non Aggregation - OH   CE             0000002295509               Gas           Non Aggregation - MI
DEO             7440903658104               Gas           Non Aggregation - OH   CE             0000002319677               Gas           Non Aggregation - MI
VEDO            4021532322152049            Gas           Non Aggregation - OH   CE             0000003182249               Gas           Non Aggregation - MI
DEO             9180013139023               Gas           Non Aggregation - OH   CE             0000000337704               Gas           Non Aggregation - MI
COH             118964430043                Gas           Non Aggregation - OH   CE             0000000337713               Gas           Non Aggregation - MI
COH             210926050013                Gas           Non Aggregation - OH   CE             0000000400246               Gas           Non Aggregation - MI
DEO             5500032379338               Gas           Non Aggregation - OH   CE             0000001651705               Gas           Non Aggregation - MI
DEO             9500030078065               Gas           Non Aggregation - OH   CE             0000002508141               Gas           Non Aggregation - MI
DEO             9180013569814               Gas           Non Aggregation - OH   CE             0000000438325               Gas           Non Aggregation - MI
DEO             0180011228871               Gas           Non Aggregation - OH   CE             0000000847663               Gas           Non Aggregation - MI
COH             165766550014                Gas           Non Aggregation - OH   CE             0000000856596               Gas           Non Aggregation - MI
DEO             6500033492960               Gas           Non Aggregation - OH   CE             0000001309529               Gas           Non Aggregation - MI
DEO             1421205675208               Gas           Non Aggregation - OH   CE             0000001047449               Gas           Non Aggregation - MI
COH             117235470023                Gas           Non Aggregation - OH   CE             0000001887467               Gas           Non Aggregation - MI
COH             117235470050                Gas           Non Aggregation - OH   CE             0000001189947               Gas           Non Aggregation - MI
DEO             5180002909233               Gas           Non Aggregation - OH   CE             0000001610084               Gas           Non Aggregation - MI
DEO             0500033976379               Gas           Non Aggregation - OH   CE             0000002388250               Gas           Non Aggregation - MI
DEO             0500037723916               Gas           Non Aggregation - OH   CE             0000001236592               Gas           Non Aggregation - MI
DEO             0500034918065               Gas           Non Aggregation - OH   CE             0000002102670               Gas           Non Aggregation - MI
DEO             8500036025214               Gas           Non Aggregation - OH   CE             0000002932393               Gas           Non Aggregation - MI
VEDO            4001023382311170            Gas           Non Aggregation - OH   CE             0000003366393               Gas           Non Aggregation - MI
VEDO            4001023382102280            Gas           Non Aggregation - OH   CE             0000001045664               Gas           Non Aggregation - MI
VEDO            4005055352516924            Gas           Non Aggregation - OH   CE             0000003285598               Gas           Non Aggregation - MI
VEDO            4001318942291578            Gas           Non Aggregation - OH   CE             0000002992540               Gas           Non Aggregation - MI
VEDO            4001318942332675            Gas           Non Aggregation - OH   CE             0000003395102               Gas           Non Aggregation - MI
VEDO            4001318942290686            Gas           Non Aggregation - OH   CE             0000001346839               Gas           Non Aggregation - MI
VEDO            4001318942629129            Gas           Non Aggregation - OH   CE             0000000352385               Gas           Non Aggregation - MI
VEDO            4001318942129984            Gas           Non Aggregation - OH   CE             0000003255528               Gas           Non Aggregation - MI
DEO             1180001725935               Gas           Non Aggregation - OH   CE             0000003265449               Gas           Non Aggregation - MI
DEO             2422000181851               Gas           Non Aggregation - OH   CE             0000002492555               Gas           Non Aggregation - MI
DEO             2500014803147               Gas           Non Aggregation - OH   CE             0000003309155               Gas           Non Aggregation - MI
DEO             1500005525648               Gas           Non Aggregation - OH   CE             0000003008513               Gas           Non Aggregation - MI
DEO             1500060904878               Gas           Non Aggregation - OH   CE             0000001252096               Gas           Non Aggregation - MI
DEO             4500047747093               Gas           Non Aggregation - OH   CE             0000003291346               Gas           Non Aggregation - MI
DEO             4420200457630               Gas           Non Aggregation - OH   CE             0000000492756               Gas           Non Aggregation - MI
DEO             4500060629091               Gas           Non Aggregation - OH   CE             0000000492754               Gas           Non Aggregation - MI
VEDO            4003275182392239            Gas           Non Aggregation - OH   CE             0000001692779               Gas           Non Aggregation - MI
DEO             1500036164952               Gas           Non Aggregation - OH   CE             0000003467364               Gas           Non Aggregation - MI
COH             118100930039                Gas           Non Aggregation - OH   CE             0000000727889               Gas           Non Aggregation - MI
COH             175797460043                Gas           Non Aggregation - OH   CE             0000002594443               Gas           Non Aggregation - MI
DEO             2442000434674               Gas           Non Aggregation - OH   CE             0000001282368               Gas           Non Aggregation - MI
DEO             1180002296136               Gas           Non Aggregation - OH   CE             0000002145180               Gas           Non Aggregation - MI
DUKE            2700039324                  Gas           Non Aggregation - OH   CE             0000000052246               Gas           Non Aggregation - MI
COH             208869450015                Gas           Non Aggregation - OH   CE             0000000872143               Gas           Non Aggregation - MI
DEO             4180005860316               Gas           Non Aggregation - OH   CE             0000002146269               Gas           Non Aggregation - MI
DEO             7500004139884               Gas           Non Aggregation - OH   CE             0000001156444               Gas           Non Aggregation - MI
VEDO            4016360232687489            Gas           Non Aggregation - OH   CE             0000003279865               Gas           Non Aggregation - MI
VEDO            4016551742311412            Gas           Non Aggregation - OH   CE             0000000061106               Gas           Non Aggregation - MI
DEO             6180002511535               Gas           Non Aggregation - OH   CE             0000003003989               Gas           Non Aggregation - MI
COH             118812020120                Gas           Non Aggregation - OH   CE             0000001424603               Gas           Non Aggregation - MI
DEO             2500001745875               Gas           Non Aggregation - OH   CE             0000000292695               Gas           Non Aggregation - MI
VEDO            4010133442153948            Gas           Non Aggregation - OH   CE             0000001821414               Gas           Non Aggregation - MI
VEDO            4002374992232427            Gas           Non Aggregation - OH   CE             0000002959621               Gas           Non Aggregation - MI
DUKE            5260082425                  Gas           Non Aggregation - OH   CE             0000002797369               Gas           Non Aggregation - MI
DUKE            3020047523                  Gas           Non Aggregation - OH   CE             0000002601250               Gas           Non Aggregation - MI
DUKE            4020047522                  Gas           Non Aggregation - OH   CE             0000001736452               Gas           Non Aggregation - MI
COH             211428870016                Gas           Non Aggregation - OH   CE             0000003304362               Gas           Non Aggregation - MI
DEO             1180016328205               Gas           Non Aggregation - OH   CE             0000002621386               Gas           Non Aggregation - MI
COH             156466320028                Gas           Non Aggregation - OH   CE             0000002908661               Gas           Non Aggregation - MI
VEDO            4017580132122657            Gas           Non Aggregation - OH   CE             0000003543588               Gas           Non Aggregation - MI
VEDO            4017896322183650            Gas           Non Aggregation - OH   CE             0000003411224               Gas           Non Aggregation - MI
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      Utility      Utility Account Number     Commodity      Customer Type            Utility      Utility Account Number     Commodity      Customer Type
VEDO            4003859342385512            Gas           Non Aggregation - OH   CE             0000003355689               Gas           Non Aggregation - MI
VEDO            4002555822250587            Gas           Non Aggregation - OH   CE             0000002702277               Gas           Non Aggregation - MI
DEO             8180015762363               Gas           Non Aggregation - OH   CE             0000001061862               Gas           Non Aggregation - MI
DEO             5180006727245               Gas           Non Aggregation - OH   CE             0000001096836               Gas           Non Aggregation - MI
DEO             7180018069133               Gas           Non Aggregation - OH   CE             0000002765408               Gas           Non Aggregation - MI
VEDO            4002913262422468            Gas           Non Aggregation - OH   CE             0000001680969               Gas           Non Aggregation - MI
VEDO            4018551282647536            Gas           Non Aggregation - OH   CE             0000003296557               Gas           Non Aggregation - MI
DUKE            3250218403                  Gas           Non Aggregation - OH   CE             0000003514752               Gas           Non Aggregation - MI
DUKE            7750048220                  Gas           Non Aggregation - OH   CE             0000002511388               Gas           Non Aggregation - MI
COH             130852210059                Gas           Non Aggregation - OH   CE             0000002789323               Gas           Non Aggregation - MI
COH             130852210068                Gas           Non Aggregation - OH   CE             0000001773609               Gas           Non Aggregation - MI
DEO             7180003659755               Gas           Non Aggregation - OH   CE             0000001306181               Gas           Non Aggregation - MI
COH             202215980033                Gas           Non Aggregation - OH   CE             0000003373366               Gas           Non Aggregation - MI
COH             190826150037                Gas           Non Aggregation - OH   CE             0000002407997               Gas           Non Aggregation - MI
VEDO            4016544672281776            Gas           Non Aggregation - OH   CE             0000002436571               Gas           Non Aggregation - MI
COH             112522220012                Gas           Non Aggregation - OH   CE             0000002103216               Gas           Non Aggregation - MI
COH             150281140024                Gas           Non Aggregation - OH   CE             0000002103243               Gas           Non Aggregation - MI
COH             110281410034                Gas           Non Aggregation - OH   CE             0000002103270               Gas           Non Aggregation - MI
COH             110358290019                Gas           Non Aggregation - OH   CE             0000002103315               Gas           Non Aggregation - MI
VEDO            4003953022395624            Gas           Non Aggregation - OH   CE             0000002103316               Gas           Non Aggregation - MI
COH             110384930037                Gas           Non Aggregation - OH   CE             0000002103292               Gas           Non Aggregation - MI
VEDO            4004005072401182            Gas           Non Aggregation - OH   CE             0000003526870               Gas           Non Aggregation - MI
VEDO            4003838292522856            Gas           Non Aggregation - OH   CE             0000000005762               Gas           Non Aggregation - MI
COH             167927450020                Gas           Non Aggregation - OH   CE             0000000385483               Gas           Non Aggregation - MI
COH             110643270018                Gas           Non Aggregation - OH   CE             0000000386499               Gas           Non Aggregation - MI
COH             118333840062                Gas           Non Aggregation - OH   CE             0000003381979               Gas           Non Aggregation - MI
COH             120499230039                Gas           Non Aggregation - OH   CE             0000000013754               Gas           Non Aggregation - MI
COH             147784970261                Gas           Non Aggregation - OH   CE             0000002841744               Gas           Non Aggregation - MI
COH             157555940019                Gas           Non Aggregation - OH   CE             0000002384693               Gas           Non Aggregation - MI
COH             158786060014                Gas           Non Aggregation - OH   CE             0000000353279               Gas           Non Aggregation - MI
COH             163927340018                Gas           Non Aggregation - OH   CE             0000001485629               Gas           Non Aggregation - MI
COH             166022990017                Gas           Non Aggregation - OH   CE             0000002220372               Gas           Non Aggregation - MI
COH             173601560010                Gas           Non Aggregation - OH   CE             0000002361051               Gas           Non Aggregation - MI
COH             175713120031                Gas           Non Aggregation - OH   CE             0000000266979               Gas           Non Aggregation - MI
COH             115090950013                Gas           Non Aggregation - OH   CE             0000000585031               Gas           Non Aggregation - MI
COH             131350300017                Gas           Non Aggregation - OH   CE             0000002800153               Gas           Non Aggregation - MI
COH             146863120011                Gas           Non Aggregation - OH   CE             0000003528869               Gas           Non Aggregation - MI
COH             147161490011                Gas           Non Aggregation - OH   CE             0000001767674               Gas           Non Aggregation - MI
COH             146118150014                Gas           Non Aggregation - OH   CE             0000000012219               Gas           Non Aggregation - MI
COH             146536970043                Gas           Non Aggregation - OH   CE             0000000095145               Gas           Non Aggregation - MI
COH             146536970034                Gas           Non Aggregation - OH   CE             0000001296939               Gas           Non Aggregation - MI
COH             122444190022                Gas           Non Aggregation - OH   CE             0000000535005               Gas           Non Aggregation - MI
COH             110536680019                Gas           Non Aggregation - OH   CE             0000000986886               Gas           Non Aggregation - MI
COH             132364520011                Gas           Non Aggregation - OH   CE             0000001833407               Gas           Non Aggregation - MI
COH             123982450026                Gas           Non Aggregation - OH   CE             0000001407429               Gas           Non Aggregation - MI
COH             124946970013                Gas           Non Aggregation - OH   CE             0000003032395               Gas           Non Aggregation - MI
COH             141465900016                Gas           Non Aggregation - OH   CE             0000002228425               Gas           Non Aggregation - MI
COH             154935830019                Gas           Non Aggregation - OH   CE             0000000752972               Gas           Non Aggregation - MI
COH             120363950017                Gas           Non Aggregation - OH   CE             0000000669108               Gas           Non Aggregation - MI
COH             108834410017                Gas           Non Aggregation - OH   CE             0000002612905               Gas           Non Aggregation - MI
COH             186070550014                Gas           Non Aggregation - OH   CE             0000000694080               Gas           Non Aggregation - MI
COH             148714970016                Gas           Non Aggregation - OH   CE             0000000667556               Gas           Non Aggregation - MI
COH             189778060014                Gas           Non Aggregation - OH   CE             0000003323498               Gas           Non Aggregation - MI
COH             138745180019                Gas           Non Aggregation - OH   CE             0000002583972               Gas           Non Aggregation - MI
COH             132549850047                Gas           Non Aggregation - OH   CE             0000001281651               Gas           Non Aggregation - MI
COH             191262010013                Gas           Non Aggregation - OH   CE             0000003141076               Gas           Non Aggregation - MI
COH             113876110024                Gas           Non Aggregation - OH   CE             0000002831035               Gas           Non Aggregation - MI
COH             122738390054                Gas           Non Aggregation - OH   CE             0000003255170               Gas           Non Aggregation - MI
COH             149489450013                Gas           Non Aggregation - OH   CE             0000000401556               Gas           Non Aggregation - MI
COH             109836980013                Gas           Non Aggregation - OH   CE             0000003144740               Gas           Non Aggregation - MI
COH             161693780015                Gas           Non Aggregation - OH   CE             0000000940005               Gas           Non Aggregation - MI
COH             136808210010                Gas           Non Aggregation - OH   CE             0000000321974               Gas           Non Aggregation - MI
COH             132088980011                Gas           Non Aggregation - OH   CE             0000002555004               Gas           Non Aggregation - MI
COH             165804940083                Gas           Non Aggregation - OH   CE             0000003069636               Gas           Non Aggregation - MI
COH             139537500011                Gas           Non Aggregation - OH   CE             0000003380423               Gas           Non Aggregation - MI
COH             193726510012                Gas           Non Aggregation - OH   CE             0000000389774               Gas           Non Aggregation - MI
COH             123100150018                Gas           Non Aggregation - OH   CE             0000001667223               Gas           Non Aggregation - MI
COH             190738100016                Gas           Non Aggregation - OH   CE             0000000268734               Gas           Non Aggregation - MI
COH             193041540018                Gas           Non Aggregation - OH   CE             0000000583076               Gas           Non Aggregation - MI
COH             138687580019                Gas           Non Aggregation - OH   CE             0000000441809               Gas           Non Aggregation - MI
COH             119049800035                Gas           Non Aggregation - OH   CE             0000000028077               Gas           Non Aggregation - MI
COH             161638050032                Gas           Non Aggregation - OH   CE             0000000709537               Gas           Non Aggregation - MI
COH             160739710012                Gas           Non Aggregation - OH   CE             0000001378931               Gas           Non Aggregation - MI
COH             124483110024                Gas           Non Aggregation - OH   CE             0000001042795               Gas           Non Aggregation - MI
COH             149688760052                Gas           Non Aggregation - OH   CE             0000001913844               Gas           Non Aggregation - MI
COH             117425670028                Gas           Non Aggregation - OH   CE             0000002581190               Gas           Non Aggregation - MI
COH             119302360021                Gas           Non Aggregation - OH   CE             0000001347345               Gas           Non Aggregation - MI
COH             166891190023                Gas           Non Aggregation - OH   CE             0000002864123               Gas           Non Aggregation - MI
COH             160754440017                Gas           Non Aggregation - OH   CE             0000000305554               Gas           Non Aggregation - MI
COH             118306010027                Gas           Non Aggregation - OH   CE             0000001793579               Gas           Non Aggregation - MI
COH             197431950011                Gas           Non Aggregation - OH   CE             0000002107157               Gas           Non Aggregation - MI
COH             155074170013                Gas           Non Aggregation - OH   CE             0000000462506               Gas           Non Aggregation - MI
COH             148600310015                Gas           Non Aggregation - OH   CE             0000003397466               Gas           Non Aggregation - MI
COH             197561950016                Gas           Non Aggregation - OH   CE             0000002334373               Gas           Non Aggregation - MI
COH             197287690013                Gas           Non Aggregation - OH   CE             0000002178685               Gas           Non Aggregation - MI
COH             161269300014                Gas           Non Aggregation - OH   CE             0000002217161               Gas           Non Aggregation - MI
COH             160522590017                Gas           Non Aggregation - OH   CE             0000000003534               Gas           Non Aggregation - MI
COH             169720020026                Gas           Non Aggregation - OH   CE             0000000822886               Gas           Non Aggregation - MI
COH             192404290012                Gas           Non Aggregation - OH   CE             0000001775065               Gas           Non Aggregation - MI
COH             135495900020                Gas           Non Aggregation - OH   CE             0000002647989               Gas           Non Aggregation - MI
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      Utility      Utility Account Number     Commodity      Customer Type            Utility      Utility Account Number     Commodity      Customer Type
COH             188206230038                Gas           Non Aggregation - OH   CE             0000002647991               Gas           Non Aggregation - MI
COH             161880830080                Gas           Non Aggregation - OH   CE             0000001047009               Gas           Non Aggregation - MI
COH             166261680016                Gas           Non Aggregation - OH   CE             0000001047344               Gas           Non Aggregation - MI
COH             191742810017                Gas           Non Aggregation - OH   CE             0000002183643               Gas           Non Aggregation - MI
COH             114817150029                Gas           Non Aggregation - OH   CE             0000000053963               Gas           Non Aggregation - MI
COH             109718820025                Gas           Non Aggregation - OH   CE             0000002079483               Gas           Non Aggregation - MI
COH             161209130034                Gas           Non Aggregation - OH   CE             0000002233448               Gas           Non Aggregation - MI
COH             136781430101                Gas           Non Aggregation - OH   CE             0000003223427               Gas           Non Aggregation - MI
COH             185610930019                Gas           Non Aggregation - OH   CE             0000000391354               Gas           Non Aggregation - MI
COH             170638810086                Gas           Non Aggregation - OH   CE             0000003526886               Gas           Non Aggregation - MI
COH             139214940013                Gas           Non Aggregation - OH   CE             0000003526872               Gas           Non Aggregation - MI
COH             123099580013                Gas           Non Aggregation - OH   CE             0000003526871               Gas           Non Aggregation - MI
COH             122153000019                Gas           Non Aggregation - OH   CE             0000003029089               Gas           Non Aggregation - MI
COH             205673780014                Gas           Non Aggregation - OH   CE             0000002964908               Gas           Non Aggregation - MI
COH             148791210086                Gas           Non Aggregation - OH   CE             0000002587922               Gas           Non Aggregation - MI
COH             170839740058                Gas           Non Aggregation - OH   CE             0000000822885               Gas           Non Aggregation - MI
COH             156630870015                Gas           Non Aggregation - OH   CE             0000000818388               Gas           Non Aggregation - MI
COH             156630870033                Gas           Non Aggregation - OH   CE             0000000818380               Gas           Non Aggregation - MI
COH             150313860015                Gas           Non Aggregation - OH   CE             0000000386536               Gas           Non Aggregation - MI
COH             204486330016                Gas           Non Aggregation - OH   CE             0000000386493               Gas           Non Aggregation - MI
COH             138278650039                Gas           Non Aggregation - OH   CE             0000000386486               Gas           Non Aggregation - MI
COH             194577060040                Gas           Non Aggregation - OH   CE             0000000386367               Gas           Non Aggregation - MI
COH             122082890032                Gas           Non Aggregation - OH   CE             0000000385465               Gas           Non Aggregation - MI
COH             205662110017                Gas           Non Aggregation - OH   CE             0000000385257               Gas           Non Aggregation - MI
COH             185171980011                Gas           Non Aggregation - OH   CE             0000000007642               Gas           Non Aggregation - MI
COH             152410670053                Gas           Non Aggregation - OH   CE             0000000007597               Gas           Non Aggregation - MI
COH             202511700015                Gas           Non Aggregation - OH   CE             0000000006213               Gas           Non Aggregation - MI
COH             202118530131                Gas           Non Aggregation - OH   CE             0000000006212               Gas           Non Aggregation - MI
COH             121968680011                Gas           Non Aggregation - OH   CE             0000000005999               Gas           Non Aggregation - MI
COH             200267360036                Gas           Non Aggregation - OH   CE             0000000005713               Gas           Non Aggregation - MI
COH             193277930017                Gas           Non Aggregation - OH   CE             0000003364538               Gas           Non Aggregation - MI
COH             133078290025                Gas           Non Aggregation - OH   CE             0000000613607               Gas           Non Aggregation - MI
COH             196590980038                Gas           Non Aggregation - OH   CE             0000000004371               Gas           Non Aggregation - MI
COH             156248900028                Gas           Non Aggregation - OH   CE             0000001257054               Gas           Non Aggregation - MI
COH             173817310015                Gas           Non Aggregation - OH   CE             0000000492842               Gas           Non Aggregation - MI
COH             172436340018                Gas           Non Aggregation - OH   CE             0000001514552               Gas           Non Aggregation - MI
COH             200643670015                Gas           Non Aggregation - OH   CE             0000002482185               Gas           Non Aggregation - MI
COH             110615500018                Gas           Non Aggregation - OH   CE             0000002417903               Gas           Non Aggregation - MI
COH             108728200016                Gas           Non Aggregation - OH   CE             0000003030575               Gas           Non Aggregation - MI
COH             110346810014                Gas           Non Aggregation - OH   CE             0000002200841               Gas           Non Aggregation - MI
COH             118738940045                Gas           Non Aggregation - OH   CE             0000001710989               Gas           Non Aggregation - MI
COH             124578550012                Gas           Non Aggregation - OH   CE             0000000065378               Gas           Non Aggregation - MI
COH             156582100019                Gas           Non Aggregation - OH   CE             0000000442085               Gas           Non Aggregation - MI
COH             170171610033                Gas           Non Aggregation - OH   CE             0000000783679               Gas           Non Aggregation - MI
COH             170483720011                Gas           Non Aggregation - OH   CE             0000001260698               Gas           Non Aggregation - MI
COH             177124800017                Gas           Non Aggregation - OH   CE             0000002521596               Gas           Non Aggregation - MI
COH             202118530079                Gas           Non Aggregation - OH   CE             0000001392060               Gas           Non Aggregation - MI
COH             202118530097                Gas           Non Aggregation - OH   CE             0000000951638               Gas           Non Aggregation - MI
COH             202118530168                Gas           Non Aggregation - OH   CE             0000001704014               Gas           Non Aggregation - MI
COH             203245320019                Gas           Non Aggregation - OH   CE             0000000090116               Gas           Non Aggregation - MI
COH             203745490014                Gas           Non Aggregation - OH   CE             0000001078125               Gas           Non Aggregation - MI
COH             117057460023                Gas           Non Aggregation - OH   CE             0000000028757               Gas           Non Aggregation - MI
COH             118886060010                Gas           Non Aggregation - OH   CE             0000001533368               Gas           Non Aggregation - MI
COH             120334270066                Gas           Non Aggregation - OH   CE             0000001669555               Gas           Non Aggregation - MI
COH             125845360014                Gas           Non Aggregation - OH   CE             0000001689342               Gas           Non Aggregation - MI
COH             135127960045                Gas           Non Aggregation - OH   CE             0000001695777               Gas           Non Aggregation - MI
COH             138887640012                Gas           Non Aggregation - OH   CE             0000000956781               Gas           Non Aggregation - MI
COH             140362990017                Gas           Non Aggregation - OH   CE             0000003359306               Gas           Non Aggregation - MI
COH             140362990044                Gas           Non Aggregation - OH   CE             0000003401852               Gas           Non Aggregation - MI
COH             148289290012                Gas           Non Aggregation - OH   CE             0000001667691               Gas           Non Aggregation - MI
COH             156330850024                Gas           Non Aggregation - OH   CE             0000001306981               Gas           Non Aggregation - MI
COH             156330850033                Gas           Non Aggregation - OH   CE             0000000233174               Gas           Non Aggregation - MI
COH             162308980017                Gas           Non Aggregation - OH   CE             0000000944670               Gas           Non Aggregation - MI
COH             169189250017                Gas           Non Aggregation - OH   CE             0000002449430               Gas           Non Aggregation - MI
COH             202842190012                Gas           Non Aggregation - OH   CE             0000002449705               Gas           Non Aggregation - MI
COH             205834040017                Gas           Non Aggregation - OH   CE             0000001727181               Gas           Non Aggregation - MI
COH             125568250015                Gas           Non Aggregation - OH   CE             0000002202572               Gas           Non Aggregation - MI
COH             135460490020                Gas           Non Aggregation - OH   CE             0000001653639               Gas           Non Aggregation - MI
COH             191049660046                Gas           Non Aggregation - OH   CE             0000000912306               Gas           Non Aggregation - MI
COH             194062340015                Gas           Non Aggregation - OH   CE             0000000815604               Gas           Non Aggregation - MI
COH             194546600032                Gas           Non Aggregation - OH   CE             0000002092882               Gas           Non Aggregation - MI
COH             129804940023                Gas           Non Aggregation - OH   CE             0000002178817               Gas           Non Aggregation - MI
COH             135732110031                Gas           Non Aggregation - OH   CE             0000002178824               Gas           Non Aggregation - MI
COH             132338970012                Gas           Non Aggregation - OH   CE             0000002951980               Gas           Non Aggregation - MI
COH             185582070011                Gas           Non Aggregation - OH   CE             0000000405988               Gas           Non Aggregation - MI
COH             205683730013                Gas           Non Aggregation - OH   CE             0000000867591               Gas           Non Aggregation - MI
COH             112941250107                Gas           Non Aggregation - OH   CE             0000002662930               Gas           Non Aggregation - MI
COH             189924050015                Gas           Non Aggregation - OH   CE             0000000797813               Gas           Non Aggregation - MI
COH             204253950019                Gas           Non Aggregation - OH   CE             0000000822517               Gas           Non Aggregation - MI
COH             189361420039                Gas           Non Aggregation - OH   CE             0000000930925               Gas           Non Aggregation - MI
COH             125837880094                Gas           Non Aggregation - OH   CE             0000001585948               Gas           Non Aggregation - MI
COH             125837880076                Gas           Non Aggregation - OH   CE             0000002496769               Gas           Non Aggregation - MI
COH             125837880085                Gas           Non Aggregation - OH   CE             0000002039439               Gas           Non Aggregation - MI
COH             193718120039                Gas           Non Aggregation - OH   CE             0000001259491               Gas           Non Aggregation - MI
COH             108850360023                Gas           Non Aggregation - OH   CE             0000000307506               Gas           Non Aggregation - MI
COH             119734800014                Gas           Non Aggregation - OH   CE             0000000546237               Gas           Non Aggregation - MI
COH             176661830014                Gas           Non Aggregation - OH   CE             0000002948452               Gas           Non Aggregation - MI
COH             195027690015                Gas           Non Aggregation - OH   CE             0000002948451               Gas           Non Aggregation - MI
COH             201701160017                Gas           Non Aggregation - OH   CE             0000002948450               Gas           Non Aggregation - MI
COH             205944030016                Gas           Non Aggregation - OH   CE             0000002948453               Gas           Non Aggregation - MI
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      Utility      Utility Account Number     Commodity      Customer Type            Utility      Utility Account Number     Commodity      Customer Type
COH             206274130015                Gas           Non Aggregation - OH   CE             0000000880490               Gas           Non Aggregation - MI
COH             203431730018                Gas           Non Aggregation - OH   CE             0000000878307               Gas           Non Aggregation - MI
COH             154188670036                Gas           Non Aggregation - OH   CE             0000002910469               Gas           Non Aggregation - MI
COH             189479280012                Gas           Non Aggregation - OH   CE             0000003168174               Gas           Non Aggregation - MI
COH             189479280030                Gas           Non Aggregation - OH   CE             0000002866399               Gas           Non Aggregation - MI
COH             127296730037                Gas           Non Aggregation - OH   CE             0000002501045               Gas           Non Aggregation - MI
COH             200024360012                Gas           Non Aggregation - OH   CE             0000001809843               Gas           Non Aggregation - MI
COH             153797410012                Gas           Non Aggregation - OH   CE             0000000867025               Gas           Non Aggregation - MI
COH             174641280014                Gas           Non Aggregation - OH   CE             0000002046477               Gas           Non Aggregation - MI
COH             110791940041                Gas           Non Aggregation - OH   CE             0000001163342               Gas           Non Aggregation - MI
COH             176142200016                Gas           Non Aggregation - OH   CE             0000002892628               Gas           Non Aggregation - MI
COH             206169060013                Gas           Non Aggregation - OH   CE             0000002152398               Gas           Non Aggregation - MI
COH             206169060031                Gas           Non Aggregation - OH   CE             0000002209358               Gas           Non Aggregation - MI
COH             163736990035                Gas           Non Aggregation - OH   CE             0000002544342               Gas           Non Aggregation - MI
COH             120223160019                Gas           Non Aggregation - OH   CE             0000001313187               Gas           Non Aggregation - MI
COH             110638690020                Gas           Non Aggregation - OH   CE             0000002130725               Gas           Non Aggregation - MI
COH             122067550026                Gas           Non Aggregation - OH   CE             0000002343024               Gas           Non Aggregation - MI
COH             140342230036                Gas           Non Aggregation - OH   CE             0000003562376               Gas           Non Aggregation - MI
COH             113576030018                Gas           Non Aggregation - OH   CE             0000000818294               Gas           Non Aggregation - MI
COH             176950120047                Gas           Non Aggregation - OH   CE             0000003143015               Gas           Non Aggregation - MI
COH             161413660030                Gas           Non Aggregation - OH   CE             0000002528848               Gas           Non Aggregation - MI
COH             195159190011                Gas           Non Aggregation - OH   CE             0000000345881               Gas           Non Aggregation - MI
COH             204228400017                Gas           Non Aggregation - OH   CE             0000002145690               Gas           Non Aggregation - MI
COH             203788910033                Gas           Non Aggregation - OH   CE             0000001643598               Gas           Non Aggregation - MI
DEO             3120000186336               Gas           Non Aggregation - OH   CE             0000003461790               Gas           Non Aggregation - MI
DEO             3422101800605               Gas           Non Aggregation - OH   CE             0000000508079               Gas           Non Aggregation - MI
DEO             9440906857323               Gas           Non Aggregation - OH   CE             0000002996562               Gas           Non Aggregation - MI
DEO             4440906857335               Gas           Non Aggregation - OH   CE             0000000403088               Gas           Non Aggregation - MI
DEO             0500024801161               Gas           Non Aggregation - OH   CE             0000002178923               Gas           Non Aggregation - MI
DEO             5500020064156               Gas           Non Aggregation - OH   CE             0000002335027               Gas           Non Aggregation - MI
DEO             1440903285418               Gas           Non Aggregation - OH   CE             0000001201581               Gas           Non Aggregation - MI
DEO             2500033136106               Gas           Non Aggregation - OH   CE             0000001706602               Gas           Non Aggregation - MI
DEO             3500018055217               Gas           Non Aggregation - OH   CE             0000000412862               Gas           Non Aggregation - MI
DEO             1441601816078               Gas           Non Aggregation - OH   CE             0000001612130               Gas           Non Aggregation - MI
DEO             4500036038182               Gas           Non Aggregation - OH   CE             0000001764000               Gas           Non Aggregation - MI
DEO             0500004767400               Gas           Non Aggregation - OH   CE             0000002350910               Gas           Non Aggregation - MI
DEO             6441406039369               Gas           Non Aggregation - OH   CE             0000002185424               Gas           Non Aggregation - MI
DEO             9440605151510               Gas           Non Aggregation - OH   CE             0000002128435               Gas           Non Aggregation - MI
DEO             3500034956660               Gas           Non Aggregation - OH   CE             0000000310409               Gas           Non Aggregation - MI
DEO             0500032595045               Gas           Non Aggregation - OH   CE             0000000742194               Gas           Non Aggregation - MI
DEO             2421701299686               Gas           Non Aggregation - OH   CE             0000002494160               Gas           Non Aggregation - MI
DEO             2420303843768               Gas           Non Aggregation - OH   CE             0000002642084               Gas           Non Aggregation - MI
DEO             5500019398771               Gas           Non Aggregation - OH   CE             0000000481574               Gas           Non Aggregation - MI
DEO             0421602344165               Gas           Non Aggregation - OH   CE             0000000598429               Gas           Non Aggregation - MI
DEO             8441400650362               Gas           Non Aggregation - OH   CE             0000000881876               Gas           Non Aggregation - MI
DEO             5441400650253               Gas           Non Aggregation - OH   CE             0000001242137               Gas           Non Aggregation - MI
DEO             0500061286011               Gas           Non Aggregation - OH   CE             0000002681482               Gas           Non Aggregation - MI
DEO             6180001009418               Gas           Non Aggregation - OH   CE             0000000674567               Gas           Non Aggregation - MI
DEO             1180007144020               Gas           Non Aggregation - OH   CE             0000000324637               Gas           Non Aggregation - MI
DEO             1180008518676               Gas           Non Aggregation - OH   CE             0000000509706               Gas           Non Aggregation - MI
DEO             9500008663773               Gas           Non Aggregation - OH   CE             0000001997874               Gas           Non Aggregation - MI
DEO             8500064099291               Gas           Non Aggregation - OH   CE             0000001891881               Gas           Non Aggregation - MI
DEO             0440600331578               Gas           Non Aggregation - OH   CE             0000002039158               Gas           Non Aggregation - MI
DEO             7500066037311               Gas           Non Aggregation - OH   CE             0000002404789               Gas           Non Aggregation - MI
DEO             8500044108462               Gas           Non Aggregation - OH   CE             0000002536707               Gas           Non Aggregation - MI
DEO             5420600731368               Gas           Non Aggregation - OH   CE             0000002978286               Gas           Non Aggregation - MI
DEO             9500060893819               Gas           Non Aggregation - OH   CE             0000000819366               Gas           Non Aggregation - MI
DEO             2180000878270               Gas           Non Aggregation - OH   CE             0000003416876               Gas           Non Aggregation - MI
DEO             2180006876725               Gas           Non Aggregation - OH   CE             0000000912489               Gas           Non Aggregation - MI
DEO             8180003200226               Gas           Non Aggregation - OH   CE             0000000009467               Gas           Non Aggregation - MI
DEO             0180006200604               Gas           Non Aggregation - OH   CE             0000003072691               Gas           Non Aggregation - MI
DEO             3180007145150               Gas           Non Aggregation - OH   CE             0000003411840               Gas           Non Aggregation - MI
DEO             8500044745214               Gas           Non Aggregation - OH   CE             0000003417848               Gas           Non Aggregation - MI
DEO             4500061970784               Gas           Non Aggregation - OH   CE             0000003417935               Gas           Non Aggregation - MI
DEO             2500035883294               Gas           Non Aggregation - OH   CE             0000000020354               Gas           Non Aggregation - MI
DEO             5500062140606               Gas           Non Aggregation - OH   CE             0000002671895               Gas           Non Aggregation - MI
DEO             4500011759303               Gas           Non Aggregation - OH   CE             0000003413119               Gas           Non Aggregation - MI
DEO             5500051105607               Gas           Non Aggregation - OH   CE             0000000394417               Gas           Non Aggregation - MI
DEO             2180007482874               Gas           Non Aggregation - OH   CE             0000003059835               Gas           Non Aggregation - MI
DEO             4180008039155               Gas           Non Aggregation - OH   CE             0000000931120               Gas           Non Aggregation - MI
DEO             9500032203861               Gas           Non Aggregation - OH   CE             0000003417888               Gas           Non Aggregation - MI
DEO             9500062113443               Gas           Non Aggregation - OH   CE             0000001331606               Gas           Non Aggregation - MI
DEO             0180003860516               Gas           Non Aggregation - OH   CE             0000002970929               Gas           Non Aggregation - MI
DEO             0500062601466               Gas           Non Aggregation - OH   CE             0000002179174               Gas           Non Aggregation - MI
DEO             3500046898614               Gas           Non Aggregation - OH   CE             0000001107164               Gas           Non Aggregation - MI
DEO             4500065689368               Gas           Non Aggregation - OH   CE             0000002494181               Gas           Non Aggregation - MI
DEO             5440900523464               Gas           Non Aggregation - OH   CE             0000002501250               Gas           Non Aggregation - MI
DEO             8500062321223               Gas           Non Aggregation - OH   CE             0000002407366               Gas           Non Aggregation - MI
DEO             4500034784662               Gas           Non Aggregation - OH   CE             0000000941742               Gas           Non Aggregation - MI
DEO             1500019250232               Gas           Non Aggregation - OH   CE             0000001731616               Gas           Non Aggregation - MI
DEO             0500062485498               Gas           Non Aggregation - OH   CE             0000001784733               Gas           Non Aggregation - MI
DEO             1500062691152               Gas           Non Aggregation - OH   CE             0000000705782               Gas           Non Aggregation - MI
DEO             6420803358072               Gas           Non Aggregation - OH   CE             0000001927032               Gas           Non Aggregation - MI
DEO             6421101795232               Gas           Non Aggregation - OH   CE             0000002960863               Gas           Non Aggregation - MI
DEO             7180007718124               Gas           Non Aggregation - OH   CE             0000000836404               Gas           Non Aggregation - MI
DEO             7500048719990               Gas           Non Aggregation - OH   CE             0000001742678               Gas           Non Aggregation - MI
DEO             9500060707375               Gas           Non Aggregation - OH   CE             0000000099158               Gas           Non Aggregation - MI
DEO             2421705865932               Gas           Non Aggregation - OH   CE             0000000894598               Gas           Non Aggregation - MI
DEO             4180008798596               Gas           Non Aggregation - OH   CE             0000000905758               Gas           Non Aggregation - MI
DEO             4500035312260               Gas           Non Aggregation - OH   CE             0000001787894               Gas           Non Aggregation - MI
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      Utility      Utility Account Number     Commodity      Customer Type            Utility      Utility Account Number     Commodity      Customer Type
DEO             6500064061385               Gas           Non Aggregation - OH   CE             0000000679192               Gas           Non Aggregation - MI
DEO             7421500453198               Gas           Non Aggregation - OH   CE             0000003496061               Gas           Non Aggregation - MI
DEO             0180011965720               Gas           Non Aggregation - OH   CE             0000001344621               Gas           Non Aggregation - MI
DEO             6180012763601               Gas           Non Aggregation - OH   CE             0000002475424               Gas           Non Aggregation - MI
DEO             7180012849507               Gas           Non Aggregation - OH   CE             0000001764945               Gas           Non Aggregation - MI
DEO             1180013916693               Gas           Non Aggregation - OH   CE             0000002388607               Gas           Non Aggregation - MI
VEDO            4003426552182352            Gas           Non Aggregation - OH   CE             0000003161807               Gas           Non Aggregation - MI
VEDO            4004954852505602            Gas           Non Aggregation - OH   CE             0000002002589               Gas           Non Aggregation - MI
VEDO            4004868102495979            Gas           Non Aggregation - OH   CE             0000001677874               Gas           Non Aggregation - MI
VEDO            4004728112480545            Gas           Non Aggregation - OH   CE             0000001278286               Gas           Non Aggregation - MI
VEDO            4001806092176283            Gas           Non Aggregation - OH   CE             0000002542510               Gas           Non Aggregation - MI
VEDO            4001264712124917            Gas           Non Aggregation - OH   CE             0000000797290               Gas           Non Aggregation - MI
VEDO            4003178452313758            Gas           Non Aggregation - OH   CE             0000001271233               Gas           Non Aggregation - MI
VEDO            4003906722522534            Gas           Non Aggregation - OH   CE             0000000066678               Gas           Non Aggregation - MI
VEDO            4003245432320626            Gas           Non Aggregation - OH   CE             0000003529019               Gas           Non Aggregation - MI
VEDO            4017075772624382            Gas           Non Aggregation - OH   CE             0000000457390               Gas           Non Aggregation - MI
VEDO            4002418762236751            Gas           Non Aggregation - OH   CE             0000002346730               Gas           Non Aggregation - MI
VEDO            4002418762489087            Gas           Non Aggregation - OH   CE             0000002939820               Gas           Non Aggregation - MI
VEDO            4002974282292681            Gas           Non Aggregation - OH   CE             0000002438854               Gas           Non Aggregation - MI
VEDO            4002522792247189            Gas           Non Aggregation - OH   CE             0000001519064               Gas           Non Aggregation - MI
VEDO            4015660732147125            Gas           Non Aggregation - OH   CE             0000001973192               Gas           Non Aggregation - MI
VEDO            4015679972544115            Gas           Non Aggregation - OH   CE             0000000669051               Gas           Non Aggregation - MI
VEDO            4004370902441211            Gas           Non Aggregation - OH   CE             0000002871581               Gas           Non Aggregation - MI
VEDO            4016489542333887            Gas           Non Aggregation - OH   CE             0000001700595               Gas           Non Aggregation - MI
VEDO            4016674782446620            Gas           Non Aggregation - OH   CE             0000002522121               Gas           Non Aggregation - MI
VEDO            4002250002220124            Gas           Non Aggregation - OH   CE             0000002106089               Gas           Non Aggregation - MI
VEDO            4003651942363310            Gas           Non Aggregation - OH   CE             0000002483251               Gas           Non Aggregation - MI
VEDO            4017441052388547            Gas           Non Aggregation - OH   CE             0000001330164               Gas           Non Aggregation - MI
VEDO            4017459562500921            Gas           Non Aggregation - OH   CE             0000000093206               Gas           Non Aggregation - MI
VEDO            4002759852270877            Gas           Non Aggregation - OH   CE             0000000503377               Gas           Non Aggregation - MI
VEDO            4016061372243200            Gas           Non Aggregation - OH   CE             0000000937154               Gas           Non Aggregation - MI
VEDO            4002012422196570            Gas           Non Aggregation - OH   CE             0000002108473               Gas           Non Aggregation - MI
VEDO            4017087892290237            Gas           Non Aggregation - OH   CE             0000000843905               Gas           Non Aggregation - MI
VEDO            4015535852306900            Gas           Non Aggregation - OH   CE             0000002081404               Gas           Non Aggregation - MI
VEDO            4016874392165385            Gas           Non Aggregation - OH   CE             0000002569305               Gas           Non Aggregation - MI
VEDO            4004625012308079            Gas           Non Aggregation - OH   CE             0000002562934               Gas           Non Aggregation - MI
VEDO            4001003922100476            Gas           Non Aggregation - OH   CE             0000002566372               Gas           Non Aggregation - MI
VEDO            4015978372446364            Gas           Non Aggregation - OH   CE             0000002133053               Gas           Non Aggregation - MI
VEDO            4001305132128703            Gas           Non Aggregation - OH   CE             0000000405451               Gas           Non Aggregation - MI
VEDO            4001003862100467            Gas           Non Aggregation - OH   CE             0000002625658               Gas           Non Aggregation - MI
VEDO            4003380472334750            Gas           Non Aggregation - OH   CE             0000002600172               Gas           Non Aggregation - MI
VEDO            4001918992187359            Gas           Non Aggregation - OH   CE             0000002537382               Gas           Non Aggregation - MI
VEDO            4001918992200247            Gas           Non Aggregation - OH   CE             0000002728347               Gas           Non Aggregation - MI
VEDO            4003587132356416            Gas           Non Aggregation - OH   CE             0000001731391               Gas           Non Aggregation - MI
VEDO            4015273242154822            Gas           Non Aggregation - OH   CE             0000000410067               Gas           Non Aggregation - MI
VEDO            4015275132178719            Gas           Non Aggregation - OH   CE             0000000905562               Gas           Non Aggregation - MI
VEDO            4004986842509216            Gas           Non Aggregation - OH   CE             0000002174935               Gas           Non Aggregation - MI
VEDO            4005011772511980            Gas           Non Aggregation - OH   CE             0000001491775               Gas           Non Aggregation - MI
VEDO            4016576892602667            Gas           Non Aggregation - OH   CE             0000001808645               Gas           Non Aggregation - MI
VEDO            4003345232419929            Gas           Non Aggregation - OH   CE             0000000898003               Gas           Non Aggregation - MI
VEDO            4003345232628716            Gas           Non Aggregation - OH   CE             0000000790796               Gas           Non Aggregation - MI
VEDO            4004495052454791            Gas           Non Aggregation - OH   CE             0000001271880               Gas           Non Aggregation - MI
VEDO            4002570912252106            Gas           Non Aggregation - OH   CE             0000001721799               Gas           Non Aggregation - MI
VEDO            4017224192484893            Gas           Non Aggregation - OH   CE             0000002884687               Gas           Non Aggregation - MI
VEDO            4001727072168528            Gas           Non Aggregation - OH   CE             0000001310272               Gas           Non Aggregation - MI
VEDO            4002506782245602            Gas           Non Aggregation - OH   CE             0000002034150               Gas           Non Aggregation - MI
VEDO            4002576962252711            Gas           Non Aggregation - OH   CE             0000001998284               Gas           Non Aggregation - MI
VEDO            4002007492623666            Gas           Non Aggregation - OH   CE             0000000484753               Gas           Non Aggregation - MI
VEDO            4004198982442412            Gas           Non Aggregation - OH   CE             0000003380022               Gas           Non Aggregation - MI
VEDO            4005005382492756            Gas           Non Aggregation - OH   CE             0000000790410               Gas           Non Aggregation - MI
VEDO            4005005382511270            Gas           Non Aggregation - OH   CE             0000001660186               Gas           Non Aggregation - MI
VEDO            4002147702209897            Gas           Non Aggregation - OH   CE             0000002512477               Gas           Non Aggregation - MI
VEDO            4001087542316817            Gas           Non Aggregation - OH   CE             0000002630653               Gas           Non Aggregation - MI
VEDO            4001265202124961            Gas           Non Aggregation - OH   CE             0000001164519               Gas           Non Aggregation - MI
VEDO            4002081382203425            Gas           Non Aggregation - OH   CE             0000001295126               Gas           Non Aggregation - MI
VEDO            4002089592494983            Gas           Non Aggregation - OH   CE             0000001295129               Gas           Non Aggregation - MI
VEDO            4017578432162232            Gas           Non Aggregation - OH   CE             0000001295131               Gas           Non Aggregation - MI
VEDO            4017059282233139            Gas           Non Aggregation - OH   CE             0000001295133               Gas           Non Aggregation - MI
VEDO            4015847862539189            Gas           Non Aggregation - OH   CE             0000001295135               Gas           Non Aggregation - MI
VEDO            4001346892105370            Gas           Non Aggregation - OH   CE             0000001295138               Gas           Non Aggregation - MI
VEDO            4004419242533620            Gas           Non Aggregation - OH   CE             0000001295140               Gas           Non Aggregation - MI
VEDO            4017826792615026            Gas           Non Aggregation - OH   CE             0000000057183               Gas           Non Aggregation - MI
VEDO            4001048982209445            Gas           Non Aggregation - OH   CE             0000001915216               Gas           Non Aggregation - MI
VEDO            4001048982231785            Gas           Non Aggregation - OH   CE             0000001752547               Gas           Non Aggregation - MI
VEDO            4001048982491317            Gas           Non Aggregation - OH   CE             0000001916018               Gas           Non Aggregation - MI
VEDO            4001059572105625            Gas           Non Aggregation - OH   CE             0000000800072               Gas           Non Aggregation - MI
VEDO            4001619792158409            Gas           Non Aggregation - OH   CE             0000001338379               Gas           Non Aggregation - MI
VEDO            4002138802461853            Gas           Non Aggregation - OH   CE             0000000949561               Gas           Non Aggregation - MI
VEDO            4002402122235083            Gas           Non Aggregation - OH   CE             0000000949528               Gas           Non Aggregation - MI
VEDO            4003646762145773            Gas           Non Aggregation - OH   CE             0000002132560               Gas           Non Aggregation - MI
VEDO            4015023382530216            Gas           Non Aggregation - OH   CE             0000002173187               Gas           Non Aggregation - MI
VEDO            4017810232520181            Gas           Non Aggregation - OH   CE             0000002989327               Gas           Non Aggregation - MI
VEDO            4002160062265414            Gas           Non Aggregation - OH   CE             0000001236883               Gas           Non Aggregation - MI
VEDO            4002160062389229            Gas           Non Aggregation - OH   CE             0000000064827               Gas           Non Aggregation - MI
VEDO            4002160062402280            Gas           Non Aggregation - OH   CE             0000000785019               Gas           Non Aggregation - MI
VEDO            4002160062444568            Gas           Non Aggregation - OH   CE             0000000065068               Gas           Non Aggregation - MI
VEDO            4001912692394917            Gas           Non Aggregation - OH   CE             0000000870490               Gas           Non Aggregation - MI
VEDO            4002145632186158            Gas           Non Aggregation - OH   CE             0000003385559               Gas           Non Aggregation - MI
VEDO            4002204492215579            Gas           Non Aggregation - OH   CE             0000000409230               Gas           Non Aggregation - MI
VEDO            4002261872221317            Gas           Non Aggregation - OH   CE             0000000452366               Gas           Non Aggregation - MI
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   Utility      Utility Account Number     Commodity      Customer Type            Utility      Utility Account Number     Commodity      Customer Type
VEDO         4002923442287350            Gas           Non Aggregation - OH   CE             0000000797122               Gas           Non Aggregation - MI
VEDO         4003597462357537            Gas           Non Aggregation - OH   CE             0000000035598               Gas           Non Aggregation - MI
VEDO         4004067022407980            Gas           Non Aggregation - OH   CE             0000000345875               Gas           Non Aggregation - MI
VEDO         4002371392232083            Gas           Non Aggregation - OH   CE             0000000925401               Gas           Non Aggregation - MI
VEDO         4001817032177302            Gas           Non Aggregation - OH   CE             0000000814660               Gas           Non Aggregation - MI
VEDO         4001833652178939            Gas           Non Aggregation - OH   CE             0000003996321               Gas           Non Aggregation - MI
VEDO         4016569992464308            Gas           Non Aggregation - OH   CE             0000001677555               Gas           Non Aggregation - MI
VEDO         4003650882216427            Gas           Non Aggregation - OH   CE             0000000007476               Gas           Non Aggregation - MI
VEDO         4016477242381089            Gas           Non Aggregation - OH   CE             0000000074189               Gas           Non Aggregation - MI
VEDO         4001888002184235            Gas           Non Aggregation - OH   CE             0000000027159               Gas           Non Aggregation - MI
VEDO         4004058632488961            Gas           Non Aggregation - OH   CE             0000000056976               Gas           Non Aggregation - MI
VEDO         4004171512592318            Gas           Non Aggregation - OH   CE             0000000946773               Gas           Non Aggregation - MI
VEDO         4004295182432910            Gas           Non Aggregation - OH   CE             0000002230408               Gas           Non Aggregation - MI
VEDO         4004981862508632            Gas           Non Aggregation - OH   CE             0000001282600               Gas           Non Aggregation - MI
VEDO         4016514082274692            Gas           Non Aggregation - OH   CE             0000000293004               Gas           Non Aggregation - MI
VEDO         4001258972189635            Gas           Non Aggregation - OH   CE             0000003807016               Gas           Non Aggregation - MI
VEDO         4003179062313823            Gas           Non Aggregation - OH   CE             0000000415274               Gas           Non Aggregation - MI
VEDO         4015650112348396            Gas           Non Aggregation - OH   CE             0000003421307               Gas           Non Aggregation - MI
VEDO         4005151352527838            Gas           Non Aggregation - OH   CE             0000000835065               Gas           Non Aggregation - MI
VEDO         4003327732226890            Gas           Non Aggregation - OH   CE             0000000656939               Gas           Non Aggregation - MI
VEDO         4001714812167343            Gas           Non Aggregation - OH   CE             0000000693227               Gas           Non Aggregation - MI
VEDO         4016649622627624            Gas           Non Aggregation - OH   CE             0000000433377               Gas           Non Aggregation - MI
VEDO         4001544132151151            Gas           Non Aggregation - OH   CE             0000001793882               Gas           Non Aggregation - MI
VEDO         4004520232457616            Gas           Non Aggregation - OH   CE             0000002646055               Gas           Non Aggregation - MI
VEDO         4004563342462343            Gas           Non Aggregation - OH   CE             0000002718711               Gas           Non Aggregation - MI
VEDO         4016511612327841            Gas           Non Aggregation - OH   CE             0000001701132               Gas           Non Aggregation - MI
VEDO         4017732242283973            Gas           Non Aggregation - OH   CE             0000002531560               Gas           Non Aggregation - MI
VEDO         4015192592387442            Gas           Non Aggregation - OH   CE             0000002543660               Gas           Non Aggregation - MI
VEDO         4001381002135752            Gas           Non Aggregation - OH   CE             0000002184271               Gas           Non Aggregation - MI
VEDO         4003568772297295            Gas           Non Aggregation - OH   CE             0000001305948               Gas           Non Aggregation - MI
VEDO         4003364792333064            Gas           Non Aggregation - OH   CE             0000000338502               Gas           Non Aggregation - MI
VEDO         4001895122184946            Gas           Non Aggregation - OH   CE             0000003026106               Gas           Non Aggregation - MI
VEDO         4004244622427367            Gas           Non Aggregation - OH   CE             0000000249144               Gas           Non Aggregation - MI
VEDO         4016803532376506            Gas           Non Aggregation - OH   CE             0000002227444               Gas           Non Aggregation - MI
VEDO         4004339162437670            Gas           Non Aggregation - OH   CE             0000000420954               Gas           Non Aggregation - MI
VEDO         4004442262449009            Gas           Non Aggregation - OH   CE             0000002775273               Gas           Non Aggregation - MI
VEDO         4004518402457401            Gas           Non Aggregation - OH   CE             0000002938601               Gas           Non Aggregation - MI
VEDO         4004518402204171            Gas           Non Aggregation - OH   CE             0000000949577               Gas           Non Aggregation - MI
VEDO         4002716332453088            Gas           Non Aggregation - OH   CE             0000003291396               Gas           Non Aggregation - MI
VEDO         4002716332582227            Gas           Non Aggregation - OH   CE             0000001734554               Gas           Non Aggregation - MI
VEDO         4015323112538171            Gas           Non Aggregation - OH   CE             0000003003086               Gas           Non Aggregation - MI
VEDO         4001619892158419            Gas           Non Aggregation - OH   CE             0000003003087               Gas           Non Aggregation - MI
VEDO         4001138992113155            Gas           Non Aggregation - OH   CE             0000001373279               Gas           Non Aggregation - MI
VEDO         4001138992254306            Gas           Non Aggregation - OH   CE             0000002179203               Gas           Non Aggregation - MI
VEDO         4002696272264510            Gas           Non Aggregation - OH   CE             0000000419527               Gas           Non Aggregation - MI
VEDO         4001980212435978            Gas           Non Aggregation - OH   CE             0000002085486               Gas           Non Aggregation - MI
VEDO         4002157182226859            Gas           Non Aggregation - OH   CE             0000000789413               Gas           Non Aggregation - MI
VEDO         4001877782183181            Gas           Non Aggregation - OH   CE             0000002120197               Gas           Non Aggregation - MI
VEDO         4003668012364992            Gas           Non Aggregation - OH   CE             0000001723109               Gas           Non Aggregation - MI
VEDO         4003140952309834            Gas           Non Aggregation - OH   CE             0000002957702               Gas           Non Aggregation - MI
VEDO         4003149982310772            Gas           Non Aggregation - OH   CE             0000002087772               Gas           Non Aggregation - MI
VEDO         4015863352279110            Gas           Non Aggregation - OH   CE             0000002991209               Gas           Non Aggregation - MI
VEDO         4003859032296030            Gas           Non Aggregation - OH   CE             0000002220896               Gas           Non Aggregation - MI
VEDO         4017397302272181            Gas           Non Aggregation - OH   CE             0000000044990               Gas           Non Aggregation - MI
VEDO         4017538022312491            Gas           Non Aggregation - OH   CE             0000001282804               Gas           Non Aggregation - MI
VEDO         4015232092535778            Gas           Non Aggregation - OH   CE             0000000292608               Gas           Non Aggregation - MI
VEDO         4003343042330731            Gas           Non Aggregation - OH   CE             0000001710297               Gas           Non Aggregation - MI
VEDO         4002293722618031            Gas           Non Aggregation - OH   CE             0000002141693               Gas           Non Aggregation - MI
VEDO         4002340642229072            Gas           Non Aggregation - OH   CE             0000001307490               Gas           Non Aggregation - MI
VEDO         4015712732518447            Gas           Non Aggregation - OH   CE             0000002173845               Gas           Non Aggregation - MI
VEDO         4001892862184713            Gas           Non Aggregation - OH   CE             0000003017501               Gas           Non Aggregation - MI
VEDO         4001852082180750            Gas           Non Aggregation - OH   CE             0000002178045               Gas           Non Aggregation - MI
VEDO         4003586062356281            Gas           Non Aggregation - OH   CE             0000002525263               Gas           Non Aggregation - MI
VEDO         4002837472314964            Gas           Non Aggregation - OH   CE             0000001279851               Gas           Non Aggregation - MI
VEDO         4016274982453896            Gas           Non Aggregation - OH   CE             0000003023108               Gas           Non Aggregation - MI
VEDO         4004148102223977            Gas           Non Aggregation - OH   CE             0000000458982               Gas           Non Aggregation - MI
VEDO         4015672892561867            Gas           Non Aggregation - OH   CE             0000002199700               Gas           Non Aggregation - MI
VEDO         4004874942496770            Gas           Non Aggregation - OH   CE             0000002600724               Gas           Non Aggregation - MI
VEDO         4002726612267522            Gas           Non Aggregation - OH   CE             0000002156955               Gas           Non Aggregation - MI
VEDO         4004998262510458            Gas           Non Aggregation - OH   CE             0000000954582               Gas           Non Aggregation - MI
VEDO         4002109742206153            Gas           Non Aggregation - OH   CE             0000001324542               Gas           Non Aggregation - MI
VEDO         4001644852160795            Gas           Non Aggregation - OH   CE             0000000012558               Gas           Non Aggregation - MI
VEDO         4004762392484343            Gas           Non Aggregation - OH   CE             0000003375755               Gas           Non Aggregation - MI
VEDO         4017030582418642            Gas           Non Aggregation - OH   CE             0000001888886               Gas           Non Aggregation - MI
VEDO         4003303542326660            Gas           Non Aggregation - OH   CE             0000001336733               Gas           Non Aggregation - MI
VEDO         4001823852177977            Gas           Non Aggregation - OH   CE             0000000604932               Gas           Non Aggregation - MI
VEDO         4015741072496213            Gas           Non Aggregation - OH   CE             0000000422478               Gas           Non Aggregation - MI
VEDO         4016727962431211            Gas           Non Aggregation - OH   CE             0000002953995               Gas           Non Aggregation - MI
VEDO         4001151322114284            Gas           Non Aggregation - OH   CE             0000000020500               Gas           Non Aggregation - MI
VEDO         4003995492400173            Gas           Non Aggregation - OH   CE             0000001335866               Gas           Non Aggregation - MI
VEDO         4002443342239225            Gas           Non Aggregation - OH   CE             0000000392600               Gas           Non Aggregation - MI
VEDO         4001015852101568            Gas           Non Aggregation - OH   CE             0000003538610               Gas           Non Aggregation - MI
VEDO         4015995212324642            Gas           Non Aggregation - OH   CE             0000000867217               Gas           Non Aggregation - MI
VEDO         4004171922118636            Gas           Non Aggregation - OH   CE             0000000886738               Gas           Non Aggregation - MI
VEDO         4003603882358241            Gas           Non Aggregation - OH   CE             0000001639340               Gas           Non Aggregation - MI
VEDO         4002863962281422            Gas           Non Aggregation - OH   CE             0000003528078               Gas           Non Aggregation - MI
VEDO         4004652492415457            Gas           Non Aggregation - OH   CE             0000002800027               Gas           Non Aggregation - MI
VEDO         4001363492134130            Gas           Non Aggregation - OH   CE             0000000995418               Gas           Non Aggregation - MI
VEDO         4003369352333552            Gas           Non Aggregation - OH   CE             0000002526194               Gas           Non Aggregation - MI
VEDO         4002730032508888            Gas           Non Aggregation - OH   CE             0000000424704               Gas           Non Aggregation - MI
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   Utility      Utility Account Number     Commodity      Customer Type            Utility      Utility Account Number     Commodity      Customer Type
VEDO         4017178512482830            Gas           Non Aggregation - OH   CE             0000002164682               Gas           Non Aggregation - MI
VEDO         4001153842114494            Gas           Non Aggregation - OH   CE             0000001886726               Gas           Non Aggregation - MI
VEDO         4001632682159644            Gas           Non Aggregation - OH   CE             0000002177489               Gas           Non Aggregation - MI
VEDO         4017464312478630            Gas           Non Aggregation - OH   CE             0000002991070               Gas           Non Aggregation - MI
VEDO         4002506412245567            Gas           Non Aggregation - OH   CE             0000002545254               Gas           Non Aggregation - MI
VEDO         4004225682505086            Gas           Non Aggregation - OH   CE             0000002551963               Gas           Non Aggregation - MI
VEDO         4001978942213823            Gas           Non Aggregation - OH   CE             0000003917497               Gas           Non Aggregation - MI
VEDO         4016478662153885            Gas           Non Aggregation - OH   CE             0000000486196               Gas           Non Aggregation - MI
VEDO         4005093632530305            Gas           Non Aggregation - OH   CE             0000000620575               Gas           Non Aggregation - MI
VEDO         4002127992207939            Gas           Non Aggregation - OH   CE             0000001287271               Gas           Non Aggregation - MI
VEDO         4017003932611990            Gas           Non Aggregation - OH   CE             0000002182412               Gas           Non Aggregation - MI
VEDO         4004801372488583            Gas           Non Aggregation - OH   CE             0000000796104               Gas           Non Aggregation - MI
VEDO         4001186452117619            Gas           Non Aggregation - OH   CE             0000001648313               Gas           Non Aggregation - MI
VEDO         4003847822384262            Gas           Non Aggregation - OH   CE             0000001123979               Gas           Non Aggregation - MI
VEDO         4001289202295318            Gas           Non Aggregation - OH   CE             0000001033625               Gas           Non Aggregation - MI
VEDO         4004315352483589            Gas           Non Aggregation - OH   CE             0000003315634               Gas           Non Aggregation - MI
VEDO         4015554342192518            Gas           Non Aggregation - OH   CE             0000001984691               Gas           Non Aggregation - MI
VEDO         4017023042183594            Gas           Non Aggregation - OH   CE             0000000113518               Gas           Non Aggregation - MI
VEDO         4002051362200418            Gas           Non Aggregation - OH   CE             0000001046627               Gas           Non Aggregation - MI
VEDO         4015818072442934            Gas           Non Aggregation - OH   CE             0000001978867               Gas           Non Aggregation - MI
VEDO         4002938612304577            Gas           Non Aggregation - OH   CE             0000002361208               Gas           Non Aggregation - MI
VEDO         4003762702375076            Gas           Non Aggregation - OH   CE             0000000292363               Gas           Non Aggregation - MI
VEDO         4004206852423219            Gas           Non Aggregation - OH   CE             0000003482547               Gas           Non Aggregation - MI
VEDO         4001626392159007            Gas           Non Aggregation - OH   CE             0000000294744               Gas           Non Aggregation - MI
VEDO         4015062362275803            Gas           Non Aggregation - OH   CE             0000002361212               Gas           Non Aggregation - MI
VEDO         4004778922486167            Gas           Non Aggregation - OH   CE             0000000845257               Gas           Non Aggregation - MI
VEDO         4015062362482303            Gas           Non Aggregation - OH   CE             0000002565292               Gas           Non Aggregation - MI
VEDO         4016896212630873            Gas           Non Aggregation - OH   CE             0000002082581               Gas           Non Aggregation - MI
VEDO         4004714062218631            Gas           Non Aggregation - OH   CE             0000002506454               Gas           Non Aggregation - MI
VEDO         4004598322466238            Gas           Non Aggregation - OH   CE             0000000844655               Gas           Non Aggregation - MI
VEDO         4002291282224220            Gas           Non Aggregation - OH   CE             0000002133856               Gas           Non Aggregation - MI
VEDO         4003510792627758            Gas           Non Aggregation - OH   CE             0000002133857               Gas           Non Aggregation - MI
VEDO         4018121022425229            Gas           Non Aggregation - OH   CE             0000003539111               Gas           Non Aggregation - MI
VEDO         4018528982369257            Gas           Non Aggregation - OH   CE             0000001383215               Gas           Non Aggregation - MI
VEDO         4018838312501254            Gas           Non Aggregation - OH   CE             0000002640838               Gas           Non Aggregation - MI
VEDO         4017362802278656            Gas           Non Aggregation - OH   CE             0000003377178               Gas           Non Aggregation - MI
VEDO         4004961762427391            Gas           Non Aggregation - OH   CE             0000003351445               Gas           Non Aggregation - MI
VEDO         4002415272236413            Gas           Non Aggregation - OH   CE             0000003917380               Gas           Non Aggregation - MI
VEDO         4003164462245336            Gas           Non Aggregation - OH   CE             0000003381450               Gas           Non Aggregation - MI
VEDO         4001067222106400            Gas           Non Aggregation - OH   CE             0000000507072               Gas           Non Aggregation - MI
VEDO         4001846892408252            Gas           Non Aggregation - OH   CE             0000001638741               Gas           Non Aggregation - MI
VEDO         4004230062425793            Gas           Non Aggregation - OH   CE             0000002866290               Gas           Non Aggregation - MI
VEDO         4001846892195922            Gas           Non Aggregation - OH   CE             0000000125559               Gas           Non Aggregation - MI
VEDO         4001846892530818            Gas           Non Aggregation - OH   CE             0000000906360               Gas           Non Aggregation - MI
VEDO         4017822962386405            Gas           Non Aggregation - OH   CE             0000001892310               Gas           Non Aggregation - MI
VEDO         4001755782197480            Gas           Non Aggregation - OH   CE             0000000668719               Gas           Non Aggregation - MI
VEDO         4002968932292102            Gas           Non Aggregation - OH   CE             0000000867538               Gas           Non Aggregation - MI
VEDO         4003455672464469            Gas           Non Aggregation - OH   CE             0000001702924               Gas           Non Aggregation - MI
VEDO         4004217082424358            Gas           Non Aggregation - OH   CE             0000000748752               Gas           Non Aggregation - MI
VEDO         4005146082527288            Gas           Non Aggregation - OH   CE             0000000332841               Gas           Non Aggregation - MI
VEDO         4004475012452529            Gas           Non Aggregation - OH   CE             0000000746226               Gas           Non Aggregation - MI
VEDO         4004365142265920            Gas           Non Aggregation - OH   CE             0000001580004               Gas           Non Aggregation - MI
VEDO         4018429302635834            Gas           Non Aggregation - OH   CE             0000001940244               Gas           Non Aggregation - MI
VEDO         4001177912116776            Gas           Non Aggregation - OH   CE             0000002866446               Gas           Non Aggregation - MI
VEDO         4017997712124913            Gas           Non Aggregation - OH   CE             0000002866447               Gas           Non Aggregation - MI
DUKE         0710017120                  Gas           Non Aggregation - OH   CE             0000003360595               Gas           Non Aggregation - MI
DUKE         1300351102                  Gas           Non Aggregation - OH   CE             0000000402013               Gas           Non Aggregation - MI
DUKE         2640216001                  Gas           Non Aggregation - OH   CE             0000001713376               Gas           Non Aggregation - MI
DUKE         3310082122                  Gas           Non Aggregation - OH   CE             0000003372877               Gas           Non Aggregation - MI
DUKE         7100222602                  Gas           Non Aggregation - OH   CE             0000001460662               Gas           Non Aggregation - MI
DUKE         6920357402                  Gas           Non Aggregation - OH   CE             0000001460668               Gas           Non Aggregation - MI
DUKE         2000018420                  Gas           Non Aggregation - OH   CE             0000002542891               Gas           Non Aggregation - MI
DUKE         8770036725                  Gas           Non Aggregation - OH   CE             0000002498717               Gas           Non Aggregation - MI
DUKE         9700036820                  Gas           Non Aggregation - OH   CE             0000000416833               Gas           Non Aggregation - MI
DUKE         7470018520                  Gas           Non Aggregation - OH   CE             0000002088251               Gas           Non Aggregation - MI
DUKE         7550039425                  Gas           Non Aggregation - OH   CE             0000003570838               Gas           Non Aggregation - MI
DUKE         4480210602                  Gas           Non Aggregation - OH   CE             0000002100078               Gas           Non Aggregation - MI
DUKE         9590060522                  Gas           Non Aggregation - OH   CE             0000000872148               Gas           Non Aggregation - MI
DUKE         9660020922                  Gas           Non Aggregation - OH   CE             0000000071639               Gas           Non Aggregation - MI
DUKE         7690223703                  Gas           Non Aggregation - OH   CE             0000000392531               Gas           Non Aggregation - MI
DUKE         4180030021                  Gas           Non Aggregation - OH   CE             0000000582055               Gas           Non Aggregation - MI
DUKE         2290054822                  Gas           Non Aggregation - OH   CE             0000001278803               Gas           Non Aggregation - MI
DUKE         4290054821                  Gas           Non Aggregation - OH   CE             0000001340537               Gas           Non Aggregation - MI
DUKE         1680013821                  Gas           Non Aggregation - OH   CE             0000003324913               Gas           Non Aggregation - MI
DUKE         7960351102                  Gas           Non Aggregation - OH   CE             0000003484286               Gas           Non Aggregation - MI
DUKE         1640354203                  Gas           Non Aggregation - OH   CE             0000003380006               Gas           Non Aggregation - MI
DUKE         4410031921                  Gas           Non Aggregation - OH   CE             0000001705282               Gas           Non Aggregation - MI
DUKE         0050038420                  Gas           Non Aggregation - OH   CE             0000001282829               Gas           Non Aggregation - MI
DUKE         3230048622                  Gas           Non Aggregation - OH   CE             0000002492904               Gas           Non Aggregation - MI
DUKE         6320055720                  Gas           Non Aggregation - OH   CE             0000001893930               Gas           Non Aggregation - MI
DUKE         5020201903                  Gas           Non Aggregation - OH   CE             0000001206731               Gas           Non Aggregation - MI
DUKE         0550036721                  Gas           Non Aggregation - OH   CE             0000001580059               Gas           Non Aggregation - MI
DUKE         1630081422                  Gas           Non Aggregation - OH   CE             0000001589342               Gas           Non Aggregation - MI
DUKE         3830223603                  Gas           Non Aggregation - OH   CE             0000002866685               Gas           Non Aggregation - MI
DUKE         5050028522                  Gas           Non Aggregation - OH   CE             0000003262659               Gas           Non Aggregation - MI
DUKE         2810075327                  Gas           Non Aggregation - OH   CE             0000002941562               Gas           Non Aggregation - MI
DUKE         5210056624                  Gas           Non Aggregation - OH   CE             0000000381659               Gas           Non Aggregation - MI
DUKE         9310211602                  Gas           Non Aggregation - OH   CE             0000002112197               Gas           Non Aggregation - MI
DUKE         5720029322                  Gas           Non Aggregation - OH   CE             0000002619941               Gas           Non Aggregation - MI
DUKE         3960211202                  Gas           Non Aggregation - OH   CE             0000000418450               Gas           Non Aggregation - MI
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   Utility      Utility Account Number     Commodity      Customer Type            Utility      Utility Account Number     Commodity      Customer Type
DUKE         6520219504                  Gas           Non Aggregation - OH   CE             0000002496529               Gas           Non Aggregation - MI
DUKE         8540043228                  Gas           Non Aggregation - OH   CE             0000002478336               Gas           Non Aggregation - MI
DUKE         1140361303                  Gas           Non Aggregation - OH   CE             0000000406055               Gas           Non Aggregation - MI
DUKE         4520222603                  Gas           Non Aggregation - OH   CE             0000001697755               Gas           Non Aggregation - MI
DUKE         2500002525                  Gas           Non Aggregation - OH   CE             0000000754605               Gas           Non Aggregation - MI
DUKE         5980020125                  Gas           Non Aggregation - OH   CE             0000002950165               Gas           Non Aggregation - MI
DUKE         1380052025                  Gas           Non Aggregation - OH   CE             0000000900154               Gas           Non Aggregation - MI
DUKE         0500058124                  Gas           Non Aggregation - OH   CE             0000003063347               Gas           Non Aggregation - MI
DUKE         2250213902                  Gas           Non Aggregation - OH   CE             0000000054953               Gas           Non Aggregation - MI
DUKE         4410051921                  Gas           Non Aggregation - OH   CE             0000000085805               Gas           Non Aggregation - MI
DUKE         7430002024                  Gas           Non Aggregation - OH   CE             0000001674179               Gas           Non Aggregation - MI
DUKE         4690050633                  Gas           Non Aggregation - OH   CE             0000002614563               Gas           Non Aggregation - MI
DUKE         1100004321                  Gas           Non Aggregation - OH   CE             0000002572172               Gas           Non Aggregation - MI
DUKE         1020021323                  Gas           Non Aggregation - OH   CE             0000000403264               Gas           Non Aggregation - MI
DUKE         6310366002                  Gas           Non Aggregation - OH   CE             0000001467007               Gas           Non Aggregation - MI
DUKE         3630367005                  Gas           Non Aggregation - OH   CE             0000002871886               Gas           Non Aggregation - MI
DUKE         2490014531                  Gas           Non Aggregation - OH   CE             0000000683275               Gas           Non Aggregation - MI
DUKE         0880086222                  Gas           Non Aggregation - OH   CE             0000001062757               Gas           Non Aggregation - MI
DUKE         8740026422                  Gas           Non Aggregation - OH   CE             0000003322020               Gas           Non Aggregation - MI
DUKE         4810220201                  Gas           Non Aggregation - OH   CE             0000002187819               Gas           Non Aggregation - MI
DUKE         3850085824                  Gas           Non Aggregation - OH   CE             0000002189468               Gas           Non Aggregation - MI
DUKE         9560025821                  Gas           Non Aggregation - OH   CE             0000002849673               Gas           Non Aggregation - MI
DUKE         2030033722                  Gas           Non Aggregation - OH   CE             0000002530664               Gas           Non Aggregation - MI
DUKE         0750204906                  Gas           Non Aggregation - OH   CE             0000000410579               Gas           Non Aggregation - MI
DUKE         3810009821                  Gas           Non Aggregation - OH   CE             0000002230761               Gas           Non Aggregation - MI
DUKE         2020009821                  Gas           Non Aggregation - OH   CE             0000000905992               Gas           Non Aggregation - MI
DUKE         5770018220                  Gas           Non Aggregation - OH   CE             0000002298133               Gas           Non Aggregation - MI
DUKE         7360058821                  Gas           Non Aggregation - OH   CE             0000002402966               Gas           Non Aggregation - MI
DUKE         5070003132                  Gas           Non Aggregation - OH   CE             0000003071937               Gas           Non Aggregation - MI
DUKE         4690209304                  Gas           Non Aggregation - OH   CE             0000002167233               Gas           Non Aggregation - MI
DUKE         7060360002                  Gas           Non Aggregation - OH   CE             0000001731602               Gas           Non Aggregation - MI
DUKE         9220006121                  Gas           Non Aggregation - OH   CE             0000000430826               Gas           Non Aggregation - MI
DUKE         8610351803                  Gas           Non Aggregation - OH   CE             0000000892049               Gas           Non Aggregation - MI
DUKE         1350218702                  Gas           Non Aggregation - OH   CE             0000001232793               Gas           Non Aggregation - MI
DUKE         9010002622                  Gas           Non Aggregation - OH   CE             0000002847643               Gas           Non Aggregation - MI
DUKE         4110368202                  Gas           Non Aggregation - OH   CE             0000002850207               Gas           Non Aggregation - MI
DUKE         0060011621                  Gas           Non Aggregation - OH   CE             0000004105768               Gas           Non Aggregation - MI
DUKE         2900030420                  Gas           Non Aggregation - OH   CE             0000001269823               Gas           Non Aggregation - MI
DUKE         7590039621                  Gas           Non Aggregation - OH   CE             0000002577042               Gas           Non Aggregation - MI
DUKE         8970047920                  Gas           Non Aggregation - OH   CE             0000000020277               Gas           Non Aggregation - MI
DUKE         2920017524                  Gas           Non Aggregation - OH   CE             0000001081793               Gas           Non Aggregation - MI
DUKE         3240001833                  Gas           Non Aggregation - OH   CE             0000000890038               Gas           Non Aggregation - MI
DUKE         7060219306                  Gas           Non Aggregation - OH   CE             0000003524801               Gas           Non Aggregation - MI
DUKE         8720087124                  Gas           Non Aggregation - OH   CE             0000000492081               Gas           Non Aggregation - MI
DUKE         3430361804                  Gas           Non Aggregation - OH   CE             0000001700364               Gas           Non Aggregation - MI
DUKE         9450012722                  Gas           Non Aggregation - OH   CE             0000002574548               Gas           Non Aggregation - MI
DUKE         4350369401                  Gas           Non Aggregation - OH   CE             0000000411780               Gas           Non Aggregation - MI
DUKE         9470086125                  Gas           Non Aggregation - OH   CE             0000001392742               Gas           Non Aggregation - MI
DUKE         9380048520                  Gas           Non Aggregation - OH   CE             0000003353221               Gas           Non Aggregation - MI
DUKE         2630042023                  Gas           Non Aggregation - OH   CE             0000000891064               Gas           Non Aggregation - MI
DUKE         8370008422                  Gas           Non Aggregation - OH   CE             0000000956885               Gas           Non Aggregation - MI
DUKE         4560018121                  Gas           Non Aggregation - OH   CE             0000002651674               Gas           Non Aggregation - MI
DUKE         6730036021                  Gas           Non Aggregation - OH   CE             0000003320030               Gas           Non Aggregation - MI
DUKE         8130051620                  Gas           Non Aggregation - OH   CE             0000000506621               Gas           Non Aggregation - MI
DUKE         0680085621                  Gas           Non Aggregation - OH   CE             0000000905098               Gas           Non Aggregation - MI
DUKE         4110042426                  Gas           Non Aggregation - OH   CE             0000001773688               Gas           Non Aggregation - MI
DUKE         9520021329                  Gas           Non Aggregation - OH   CE             0000002135527               Gas           Non Aggregation - MI
DUKE         4710037729                  Gas           Non Aggregation - OH   CE             0000002170378               Gas           Non Aggregation - MI
DUKE         5900020021                  Gas           Non Aggregation - OH   CE             0000003300516               Gas           Non Aggregation - MI
DUKE         4130029021                  Gas           Non Aggregation - OH   CE             0000001148258               Gas           Non Aggregation - MI
DUKE         9180014720                  Gas           Non Aggregation - OH   CE             0000002551690               Gas           Non Aggregation - MI
DUKE         4190011921                  Gas           Non Aggregation - OH   CE             0000002969570               Gas           Non Aggregation - MI
DUKE         5010063424                  Gas           Non Aggregation - OH   CE             0000000025838               Gas           Non Aggregation - MI
DUKE         6100370002                  Gas           Non Aggregation - OH   CE             0000000829908               Gas           Non Aggregation - MI
DUKE         3450002520                  Gas           Non Aggregation - OH   CE             0000001346947               Gas           Non Aggregation - MI
DUKE         8460026522                  Gas           Non Aggregation - OH   CE             0000001709517               Gas           Non Aggregation - MI
DUKE         5560010621                  Gas           Non Aggregation - OH   CE             0000002135390               Gas           Non Aggregation - MI
DUKE         5930025724                  Gas           Non Aggregation - OH   CE             0000000578117               Gas           Non Aggregation - MI
DUKE         4760026622                  Gas           Non Aggregation - OH   CE             0000002581606               Gas           Non Aggregation - MI
DUKE         1240029223                  Gas           Non Aggregation - OH   CE             0000003920991               Gas           Non Aggregation - MI
DUKE         4980014536                  Gas           Non Aggregation - OH   CE             0000004143887               Gas           Non Aggregation - MI
DUKE         6870058221                  Gas           Non Aggregation - OH   CE             0000001939366               Gas           Non Aggregation - MI
DUKE         3220004921                  Gas           Non Aggregation - OH   CE             0000002001640               Gas           Non Aggregation - MI
DUKE         6700011028                  Gas           Non Aggregation - OH   CE             0000002152563               Gas           Non Aggregation - MI
DUKE         6530051421                  Gas           Non Aggregation - OH   CE             0000001740810               Gas           Non Aggregation - MI
DUKE         5740073420                  Gas           Non Aggregation - OH   CE             0000000013451               Gas           Non Aggregation - MI
DUKE         9770080122                  Gas           Non Aggregation - OH   CE             0000003284633               Gas           Non Aggregation - MI
DUKE         7370212110                  Gas           Non Aggregation - OH   CE             0000002758398               Gas           Non Aggregation - MI
DUKE         5070027220                  Gas           Non Aggregation - OH   CE             0000000893342               Gas           Non Aggregation - MI
DUKE         3340077925                  Gas           Non Aggregation - OH   CE             0000002201242               Gas           Non Aggregation - MI
DUKE         6680019622                  Gas           Non Aggregation - OH   CE             0000002868082               Gas           Non Aggregation - MI
DUKE         3960011422                  Gas           Non Aggregation - OH   CE             0000002942042               Gas           Non Aggregation - MI
DUKE         5270360102                  Gas           Non Aggregation - OH   CE             0000001305098               Gas           Non Aggregation - MI
DUKE         3370054322                  Gas           Non Aggregation - OH   CE             0000001710824               Gas           Non Aggregation - MI
DUKE         9470046028                  Gas           Non Aggregation - OH   CE             0000002153206               Gas           Non Aggregation - MI
DUKE         0360221303                  Gas           Non Aggregation - OH   CE             0000001296772               Gas           Non Aggregation - MI
DUKE         1700048722                  Gas           Non Aggregation - OH   CE             0000000406575               Gas           Non Aggregation - MI
DUKE         2850060721                  Gas           Non Aggregation - OH   CE             0000000668783               Gas           Non Aggregation - MI
DUKE         0390021321                  Gas           Non Aggregation - OH   CE             0000002146688               Gas           Non Aggregation - MI
DUKE         2380011123                  Gas           Non Aggregation - OH   CE             0000003148387               Gas           Non Aggregation - MI
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   Utility      Utility Account Number     Commodity      Customer Type            Utility      Utility Account Number     Commodity      Customer Type
DUKE         0570022633                  Gas           Non Aggregation - OH   CE             0000000300179               Gas           Non Aggregation - MI
DUKE         0470057726                  Gas           Non Aggregation - OH   CE             0000000891022               Gas           Non Aggregation - MI
DUKE         7240201204                  Gas           Non Aggregation - OH   CE             0000001267982               Gas           Non Aggregation - MI
DUKE         0450050322                  Gas           Non Aggregation - OH   CE             0000002218832               Gas           Non Aggregation - MI
DUKE         9090079320                  Gas           Non Aggregation - OH   CE             0000002218842               Gas           Non Aggregation - MI
DUKE         3380030120                  Gas           Non Aggregation - OH   CE             0000003372397               Gas           Non Aggregation - MI
DUKE         6380030121                  Gas           Non Aggregation - OH   CE             0000004031796               Gas           Non Aggregation - MI
DUKE         0140073923                  Gas           Non Aggregation - OH   CE             0000002146401               Gas           Non Aggregation - MI
DUKE         3310068526                  Gas           Non Aggregation - OH   CE             0000000799721               Gas           Non Aggregation - MI
DUKE         7610012621                  Gas           Non Aggregation - OH   CE             0000001699706               Gas           Non Aggregation - MI
DUKE         1380020424                  Gas           Non Aggregation - OH   CE             0000002180006               Gas           Non Aggregation - MI
DUKE         1560007221                  Gas           Non Aggregation - OH   CE             0000002122166               Gas           Non Aggregation - MI
DUKE         8470213302                  Gas           Non Aggregation - OH   CE             0000000809479               Gas           Non Aggregation - MI
DUKE         4450012621                  Gas           Non Aggregation - OH   CE             0000000050910               Gas           Non Aggregation - MI
DUKE         9270053822                  Gas           Non Aggregation - OH   CE             0000000868862               Gas           Non Aggregation - MI
DUKE         7580218309                  Gas           Non Aggregation - OH   CE             0000001294026               Gas           Non Aggregation - MI
DUKE         1310047321                  Gas           Non Aggregation - OH   CE             0000001326076               Gas           Non Aggregation - MI
DUKE         9800206506                  Gas           Non Aggregation - OH   CE             0000001711748               Gas           Non Aggregation - MI
DUKE         4800015121                  Gas           Non Aggregation - OH   CE             0000001723217               Gas           Non Aggregation - MI
DUKE         9380351804                  Gas           Non Aggregation - OH   CE             0000001742148               Gas           Non Aggregation - MI
DUKE         3460350503                  Gas           Non Aggregation - OH   CE             0000001914105               Gas           Non Aggregation - MI
DUKE         8580081024                  Gas           Non Aggregation - OH   CE             0000002028361               Gas           Non Aggregation - MI
DUKE         2840033122                  Gas           Non Aggregation - OH   CE             0000002321990               Gas           Non Aggregation - MI
DUKE         6970011024                  Gas           Non Aggregation - OH   CE             0000002322594               Gas           Non Aggregation - MI
DUKE         7270217904                  Gas           Non Aggregation - OH   CE             0000002442306               Gas           Non Aggregation - MI
DUKE         6760024320                  Gas           Non Aggregation - OH   CE             0000001258183               Gas           Non Aggregation - MI
DUKE         7990206003                  Gas           Non Aggregation - OH   CE             0000003422644               Gas           Non Aggregation - MI
DUKE         1290368802                  Gas           Non Aggregation - OH   CE             0000003500697               Gas           Non Aggregation - MI
DUKE         2220205502                  Gas           Non Aggregation - OH   CE             0000000479270               Gas           Non Aggregation - MI
DUKE         2320033120                  Gas           Non Aggregation - OH   CE             0000002201853               Gas           Non Aggregation - MI
DUKE         3460038322                  Gas           Non Aggregation - OH   CE             0000002953503               Gas           Non Aggregation - MI
DUKE         3860052721                  Gas           Non Aggregation - OH   CE             0000002522911               Gas           Non Aggregation - MI
DUKE         1630032820                  Gas           Non Aggregation - OH   CE             0000000358496               Gas           Non Aggregation - MI
DUKE         4350217001                  Gas           Non Aggregation - OH   CE             0000000744173               Gas           Non Aggregation - MI
DUKE         2110206401                  Gas           Non Aggregation - OH   CE             0000001769190               Gas           Non Aggregation - MI
DUKE         5620038022                  Gas           Non Aggregation - OH   CE             0000002140092               Gas           Non Aggregation - MI
DUKE         3550218101                  Gas           Non Aggregation - OH   CE             0000000423349               Gas           Non Aggregation - MI
DUKE         5500044522                  Gas           Non Aggregation - OH   CE             0000001078456               Gas           Non Aggregation - MI
DUKE         1170219001                  Gas           Non Aggregation - OH   CE             0000002631214               Gas           Non Aggregation - MI
DUKE         4950076924                  Gas           Non Aggregation - OH   CE             0000002871835               Gas           Non Aggregation - MI
DUKE         0940207104                  Gas           Non Aggregation - OH   CE             0000003190112               Gas           Non Aggregation - MI
DUKE         3870219602                  Gas           Non Aggregation - OH   CE             0000003558683               Gas           Non Aggregation - MI
DUKE         5900221501                  Gas           Non Aggregation - OH   CE             0000000226482               Gas           Non Aggregation - MI
DUKE         6600085720                  Gas           Non Aggregation - OH   CE             0000000358525               Gas           Non Aggregation - MI
DUKE         4800057525                  Gas           Non Aggregation - OH   CE             0000001262838               Gas           Non Aggregation - MI
DUKE         8970038222                  Gas           Non Aggregation - OH   CE             0000001900481               Gas           Non Aggregation - MI
DUKE         1720054120                  Gas           Non Aggregation - OH   CE             0000002598884               Gas           Non Aggregation - MI
DUKE         2890052424                  Gas           Non Aggregation - OH   CE             0000003202906               Gas           Non Aggregation - MI
DUKE         3210042723                  Gas           Non Aggregation - OH   CE             0000000475431               Gas           Non Aggregation - MI
DUKE         5520077922                  Gas           Non Aggregation - OH   CE             0000004059951               Gas           Non Aggregation - MI
DUKE         0660012527                  Gas           Non Aggregation - OH   CE             0000003401890               Gas           Non Aggregation - MI
DUKE         2660012528                  Gas           Non Aggregation - OH   CE             0000001274470               Gas           Non Aggregation - MI
DUKE         1660012526                  Gas           Non Aggregation - OH   CE             0000002810102               Gas           Non Aggregation - MI
DUKE         0320019921                  Gas           Non Aggregation - OH   CE             0000000902975               Gas           Non Aggregation - MI
DUKE         6170012520                  Gas           Non Aggregation - OH   CE             0000003528787               Gas           Non Aggregation - MI
DUKE         4170029520                  Gas           Non Aggregation - OH   CE             0000002936951               Gas           Non Aggregation - MI
DUKE         7370074621                  Gas           Non Aggregation - OH   CE             0000000457576               Gas           Non Aggregation - MI
DUKE         7580015320                  Gas           Non Aggregation - OH   CE             0000001706239               Gas           Non Aggregation - MI
DUKE         3100213814                  Gas           Non Aggregation - OH   CE             0000000333591               Gas           Non Aggregation - MI
DUKE         6420211903                  Gas           Non Aggregation - OH   CE             0000000792203               Gas           Non Aggregation - MI
DUKE         7470205706                  Gas           Non Aggregation - OH   CE             0000001457719               Gas           Non Aggregation - MI
DUKE         9700059621                  Gas           Non Aggregation - OH   CE             0000001300671               Gas           Non Aggregation - MI
DUKE         0080014021                  Gas           Non Aggregation - OH   CE             0000002940907               Gas           Non Aggregation - MI
DUKE         9230036520                  Gas           Non Aggregation - OH   CE             0000003510701               Gas           Non Aggregation - MI
DUKE         0290087921                  Gas           Non Aggregation - OH   CE             0000001660399               Gas           Non Aggregation - MI
DUKE         6340008826                  Gas           Non Aggregation - OH   CE             0000000085700               Gas           Non Aggregation - MI
DUKE         3410074321                  Gas           Non Aggregation - OH   CE             0000001325179               Gas           Non Aggregation - MI
DUKE         1550069320                  Gas           Non Aggregation - OH   CE             0000001385178               Gas           Non Aggregation - MI
DUKE         0370031624                  Gas           Non Aggregation - OH   CE             0000001772631               Gas           Non Aggregation - MI
DUKE         8530083520                  Gas           Non Aggregation - OH   CE             0000002198378               Gas           Non Aggregation - MI
DUKE         7640204306                  Gas           Non Aggregation - OH   CE             0000003987404               Gas           Non Aggregation - MI
DUKE         1280354702                  Gas           Non Aggregation - OH   CE             0000002215754               Gas           Non Aggregation - MI
DUKE         4840351501                  Gas           Non Aggregation - OH   CE             0000003039407               Gas           Non Aggregation - MI
DUKE         7520204506                  Gas           Non Aggregation - OH   CE             0000001293396               Gas           Non Aggregation - MI
DUKE         6440223101                  Gas           Non Aggregation - OH   CE             0000000871873               Gas           Non Aggregation - MI
DUKE         8390073024                  Gas           Non Aggregation - OH   CE             0000002542432               Gas           Non Aggregation - MI
DUKE         0910054032                  Gas           Non Aggregation - OH   CE             0000000940150               Gas           Non Aggregation - MI
DUKE         9810054029                  Gas           Non Aggregation - OH   CE             0000000911969               Gas           Non Aggregation - MI
DUKE         3020017120                  Gas           Non Aggregation - OH   CE             0000000915304               Gas           Non Aggregation - MI
DUKE         5510014821                  Gas           Non Aggregation - OH   CE             0000000582487               Gas           Non Aggregation - MI
DUKE         4940014821                  Gas           Non Aggregation - OH   CE             0000001348174               Gas           Non Aggregation - MI
DUKE         1820014823                  Gas           Non Aggregation - OH   CE             0000000916403               Gas           Non Aggregation - MI
DUKE         0490041831                  Gas           Non Aggregation - OH   CE             0000000901603               Gas           Non Aggregation - MI
DUKE         9820048920                  Gas           Non Aggregation - OH   CE             0000000357055               Gas           Non Aggregation - MI
DUKE         9390030221                  Gas           Non Aggregation - OH   CE             0000003059376               Gas           Non Aggregation - MI
DUKE         6840018223                  Gas           Non Aggregation - OH   CE             0000002001884               Gas           Non Aggregation - MI
DUKE         0780036432                  Gas           Non Aggregation - OH   CE             0000001489559               Gas           Non Aggregation - MI
DUKE         5880021021                  Gas           Non Aggregation - OH   CE             0000001649700               Gas           Non Aggregation - MI
DUKE         1390050122                  Gas           Non Aggregation - OH   CE             0000001670501               Gas           Non Aggregation - MI
DUKE         5290050121                  Gas           Non Aggregation - OH   CE             0000000904588               Gas           Non Aggregation - MI
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   Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DUKE         2790045426                  Gas           Non Aggregation - OH   CE              0000000478053               Gas           Non Aggregation - MI
DUKE         9270363301                  Gas           Non Aggregation - OH   CE              0000001273182               Gas           Non Aggregation - MI
DUKE         8000007720                  Gas           Non Aggregation - OH   CE              0000003395717               Gas           Non Aggregation - MI
DUKE         1870083225                  Gas           Non Aggregation - OH   CE              0000000936942               Gas           Non Aggregation - MI
DUKE         7210088920                  Gas           Non Aggregation - OH   CE              0000000065224               Gas           Non Aggregation - MI
DUKE         1950020921                  Gas           Non Aggregation - OH   CE              0000003400815               Gas           Non Aggregation - MI
DUKE         9810224602                  Gas           Non Aggregation - OH   CE              0000003308996               Gas           Non Aggregation - MI
DUKE         1690011125                  Gas           Non Aggregation - OH   CE              0000003309804               Gas           Non Aggregation - MI
DUKE         4750086025                  Gas           Non Aggregation - OH   CE              0000003309937               Gas           Non Aggregation - MI
DUKE         4810071921                  Gas           Non Aggregation - OH   CE              0000001555359               Gas           Non Aggregation - MI
DUKE         8400031821                  Gas           Non Aggregation - OH   CE              0000001777520               Gas           Non Aggregation - MI
DUKE         7400031824                  Gas           Non Aggregation - OH   CE              0000001340730               Gas           Non Aggregation - MI
DUKE         6400031822                  Gas           Non Aggregation - OH   CE              0000003295695               Gas           Non Aggregation - MI
DUKE         0050032622                  Gas           Non Aggregation - OH   CE              0000000058359               Gas           Non Aggregation - MI
DUKE         6310205304                  Gas           Non Aggregation - OH   CE              0000002908349               Gas           Non Aggregation - MI
DUKE         1670012120                  Gas           Non Aggregation - OH   CE              0000000483754               Gas           Non Aggregation - MI
DUKE         4940052724                  Gas           Non Aggregation - OH   CE              0000000061246               Gas           Non Aggregation - MI
DUKE         0470367302                  Gas           Non Aggregation - OH   CE              0000001279305               Gas           Non Aggregation - MI
DUKE         6420355004                  Gas           Non Aggregation - OH   CE              0000000582059               Gas           Non Aggregation - MI
DUKE         0600006120                  Gas           Non Aggregation - OH   CE              0000000061852               Gas           Non Aggregation - MI
DUKE         5630359301                  Gas           Non Aggregation - OH   CE              0000001358869               Gas           Non Aggregation - MI
DUKE         2130061220                  Gas           Non Aggregation - OH   CE              0000001394676               Gas           Non Aggregation - MI
DUKE         3020004226                  Gas           Non Aggregation - OH   CE              0000001757081               Gas           Non Aggregation - MI
DUKE         5480205120                  Gas           Non Aggregation - OH   CE              0000000917196               Gas           Non Aggregation - MI
DUKE         0580055020                  Gas           Non Aggregation - OH   CE              0000001609132               Gas           Non Aggregation - MI
DUKE         8150051723                  Gas           Non Aggregation - OH   CE              0000000816284               Gas           Non Aggregation - MI
DUKE         1810024421                  Gas           Non Aggregation - OH   CE              0000002675842               Gas           Non Aggregation - MI
DUKE         8670035824                  Gas           Non Aggregation - OH   CE              0000003289085               Gas           Non Aggregation - MI
DUKE         8000016520                  Gas           Non Aggregation - OH   CE              0000001478342               Gas           Non Aggregation - MI
DUKE         2280016421                  Gas           Non Aggregation - OH   CE              0000001670610               Gas           Non Aggregation - MI
DUKE         5160017521                  Gas           Non Aggregation - OH   CE              0000002086487               Gas           Non Aggregation - MI
DUKE         0960035320                  Gas           Non Aggregation - OH   CE              0000001326671               Gas           Non Aggregation - MI
DUKE         9860035320                  Gas           Non Aggregation - OH   CE              0000000799832               Gas           Non Aggregation - MI
DUKE         5980004720                  Gas           Non Aggregation - OH   CE              0000000323443               Gas           Non Aggregation - MI
DUKE         2060056920                  Gas           Non Aggregation - OH   CE              0000003284794               Gas           Non Aggregation - MI
DUKE         3750221803                  Gas           Non Aggregation - OH   CE              0000002227209               Gas           Non Aggregation - MI
DUKE         0450026623                  Gas           Non Aggregation - OH   CE              0000000236625               Gas           Non Aggregation - MI
DUKE         2600077623                  Gas           Non Aggregation - OH   CE              0000000475421               Gas           Non Aggregation - MI
DUKE         6870361104                  Gas           Non Aggregation - OH   CE              0000000326662               Gas           Non Aggregation - MI
DUKE         8720057323                  Gas           Non Aggregation - OH   CE              0000000478438               Gas           Non Aggregation - MI
DUKE         4240033326                  Gas           Non Aggregation - OH   CE              0000003271459               Gas           Non Aggregation - MI
DUKE         6620033320                  Gas           Non Aggregation - OH   CE              0000003319835               Gas           Non Aggregation - MI
DUKE         0690200502                  Gas           Non Aggregation - OH   CE              0000001769183               Gas           Non Aggregation - MI
DUKE         6770022726                  Gas           Non Aggregation - OH   CE              0000001760111               Gas           Non Aggregation - MI
DUKE         6140038324                  Gas           Non Aggregation - OH   CE              0000002296358               Gas           Non Aggregation - MI
DUKE         1680071622                  Gas           Non Aggregation - OH   CE              0000001373659               Gas           Non Aggregation - MI
DUKE         5410077422                  Gas           Non Aggregation - OH   CE              0000001754646               Gas           Non Aggregation - MI
DUKE         8110033924                  Gas           Non Aggregation - OH   CE              0000001754626               Gas           Non Aggregation - MI
DUKE         4120081421                  Gas           Non Aggregation - OH   CE              0000003556541               Gas           Non Aggregation - MI
DUKE         6150025722                  Gas           Non Aggregation - OH   CE              0000003556543               Gas           Non Aggregation - MI
DUKE         4070214804                  Gas           Non Aggregation - OH   CE              0000001878976               Gas           Non Aggregation - MI
DUKE         0930038620                  Gas           Non Aggregation - OH   CE              0000001452914               Gas           Non Aggregation - MI
DUKE         0840218809                  Gas           Non Aggregation - OH   CE              0000003404357               Gas           Non Aggregation - MI
DUKE         3420045120                  Gas           Non Aggregation - OH   CE              0000001005207               Gas           Non Aggregation - MI
DUKE         8880057721                  Gas           Non Aggregation - OH   CE              0000003534362               Gas           Non Aggregation - MI
DUKE         9190021121                  Gas           Non Aggregation - OH   CE              0000000667596               Gas           Non Aggregation - MI
DUKE         3430032224                  Gas           Non Aggregation - OH   CE              0000000569520               Gas           Non Aggregation - MI
DUKE         8890030021                  Gas           Non Aggregation - OH   CE              0000001255283               Gas           Non Aggregation - MI
DUKE         6030064120                  Gas           Non Aggregation - OH   DTE             910019317635                Gas           Non Aggregation - MI
DUKE         6490016827                  Gas           Non Aggregation - OH   DTE             910011611571                Gas           Non Aggregation - MI
DUKE         2890353702                  Gas           Non Aggregation - OH   DTE             910027433325                Gas           Non Aggregation - MI
DUKE         0090080020                  Gas           Non Aggregation - OH   DTE             910020406534                Gas           Non Aggregation - MI
DUKE         2710356602                  Gas           Non Aggregation - OH   DTE             910016849861                Gas           Non Aggregation - MI
DUKE         5820224401                  Gas           Non Aggregation - OH   DTE             910019363480                Gas           Non Aggregation - MI
DUKE         4610017026                  Gas           Non Aggregation - OH   DTE             910026816835                Gas           Non Aggregation - MI
DUKE         6890061027                  Gas           Non Aggregation - OH   DTE             910025569963                Gas           Non Aggregation - MI
DUKE         4320012524                  Gas           Non Aggregation - OH   DTE             910027010800                Gas           Non Aggregation - MI
DUKE         4580088220                  Gas           Non Aggregation - OH   DTE             910017840323                Gas           Non Aggregation - MI
DUKE         4650355501                  Gas           Non Aggregation - OH   DTE             910028352102                Gas           Non Aggregation - MI
DUKE         5060200604                  Gas           Non Aggregation - OH   DTE             910012341905                Gas           Non Aggregation - MI
DUKE         5200351102                  Gas           Non Aggregation - OH   DTE             910019333483                Gas           Non Aggregation - MI
DUKE         5640041223                  Gas           Non Aggregation - OH   DTE             910022491336                Gas           Non Aggregation - MI
DUKE         5810210102                  Gas           Non Aggregation - OH   DTE             910027916543                Gas           Non Aggregation - MI
DUKE         5880068420                  Gas           Non Aggregation - OH   DTE             910008206047                Gas           Non Aggregation - MI
DUKE         6370069827                  Gas           Non Aggregation - OH   DTE             910014135818                Gas           Non Aggregation - MI
DUKE         6900221302                  Gas           Non Aggregation - OH   DTE             910021354246                Gas           Non Aggregation - MI
DUKE         7240079821                  Gas           Non Aggregation - OH   DTE             910022125348                Gas           Non Aggregation - MI
DUKE         7330025722                  Gas           Non Aggregation - OH   DTE             910015881345                Gas           Non Aggregation - MI
DUKE         7470350802                  Gas           Non Aggregation - OH   DTE             910020831210                Gas           Non Aggregation - MI
DUKE         7740035821                  Gas           Non Aggregation - OH   DTE             910021354394                Gas           Non Aggregation - MI
DUKE         8490081320                  Gas           Non Aggregation - OH   DTE             910021353578                Gas           Non Aggregation - MI
DUKE         8560074823                  Gas           Non Aggregation - OH   DTE             910023355779                Gas           Non Aggregation - MI
DUKE         8920063820                  Gas           Non Aggregation - OH   DTE             910013761788                Gas           Non Aggregation - MI
DUKE         8960069926                  Gas           Non Aggregation - OH   DTE             910013762026                Gas           Non Aggregation - MI
DUKE         9380061520                  Gas           Non Aggregation - OH   DTE             910019853662                Gas           Non Aggregation - MI
DUKE         2010037020                  Gas           Non Aggregation - OH   DTE             910018749341                Gas           Non Aggregation - MI
DUKE         2330020720                  Gas           Non Aggregation - OH   DTE             910017037912                Gas           Non Aggregation - MI
DUKE         5400080020                  Gas           Non Aggregation - OH   DTE             910021521117                Gas           Non Aggregation - MI
DUKE         9020038723                  Gas           Non Aggregation - OH   DTE             910015528979                Gas           Non Aggregation - MI
DUKE         2720060825                  Gas           Non Aggregation - OH   DTE             910021733290                Gas           Non Aggregation - MI
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   Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DUKE         2890086123                  Gas           Non Aggregation - OH   DTE             910015743271                Gas           Non Aggregation - MI
DUKE         4800081222                  Gas           Non Aggregation - OH   DTE             910021732821                Gas           Non Aggregation - MI
DUKE         7840081222                  Gas           Non Aggregation - OH   DTE             910008808834                Gas           Non Aggregation - MI
DUKE         8220357501                  Gas           Non Aggregation - OH   DTE             910016812703                Gas           Non Aggregation - MI
DUKE         2070083125                  Gas           Non Aggregation - OH   DTE             910020084661                Gas           Non Aggregation - MI
DUKE         2150043323                  Gas           Non Aggregation - OH   DTE             910024122897                Gas           Non Aggregation - MI
DUKE         4070362701                  Gas           Non Aggregation - OH   DTE             910028815405                Gas           Non Aggregation - MI
DUKE         6250054820                  Gas           Non Aggregation - OH   DTE             910023266166                Gas           Non Aggregation - MI
DUKE         6920014320                  Gas           Non Aggregation - OH   DTE             910017475872                Gas           Non Aggregation - MI
DUKE         0270352701                  Gas           Non Aggregation - OH   DTE             910013899851                Gas           Non Aggregation - MI
DUKE         0600059620                  Gas           Non Aggregation - OH   DTE             910019021922                Gas           Non Aggregation - MI
DUKE         1030221801                  Gas           Non Aggregation - OH   DTE             910017507583                Gas           Non Aggregation - MI
DUKE         2010060222                  Gas           Non Aggregation - OH   DTE             910020281077                Gas           Non Aggregation - MI
DUKE         2190022920                  Gas           Non Aggregation - OH   DTE             910022259709                Gas           Non Aggregation - MI
DUKE         2370013220                  Gas           Non Aggregation - OH   DTE             910022024194                Gas           Non Aggregation - MI
DUKE         2570013220                  Gas           Non Aggregation - OH   DTE             910020095410                Gas           Non Aggregation - MI
DUKE         2790075920                  Gas           Non Aggregation - OH   DTE             910024900656                Gas           Non Aggregation - MI
DUKE         3400359702                  Gas           Non Aggregation - OH   DTE             910026696393                Gas           Non Aggregation - MI
DUKE         4110036120                  Gas           Non Aggregation - OH   DTE             910024089963                Gas           Non Aggregation - MI
DUKE         4720079021                  Gas           Non Aggregation - OH   DTE             910024783391                Gas           Non Aggregation - MI
DUKE         6200059622                  Gas           Non Aggregation - OH   DTE             920038084835                Gas           Non Aggregation - MI
DUKE         7890038221                  Gas           Non Aggregation - OH   DTE             910024109670                Gas           Non Aggregation - MI
DUKE         8230078920                  Gas           Non Aggregation - OH   DTE             910005296066                Gas           Non Aggregation - MI
DUKE         8230079524                  Gas           Non Aggregation - OH   DTE             920038084207                Gas           Non Aggregation - MI
DUKE         8860069821                  Gas           Non Aggregation - OH   DTE             910018076398                Gas           Non Aggregation - MI
DUKE         4250057925                  Gas           Non Aggregation - OH   DTE             910010792018                Gas           Non Aggregation - MI
DUKE         0210081322                  Gas           Non Aggregation - OH   DTE             910027410034                Gas           Non Aggregation - MI
DUKE         0560018430                  Gas           Non Aggregation - OH   DTE             910019175595                Gas           Non Aggregation - MI
DUKE         1450009326                  Gas           Non Aggregation - OH   DTE             910022912927                Gas           Non Aggregation - MI
DUKE         3330216804                  Gas           Non Aggregation - OH   DTE             910008701922                Gas           Non Aggregation - MI
DUKE         6560017021                  Gas           Non Aggregation - OH   DTE             910010923639                Gas           Non Aggregation - MI
DUKE         6960039230                  Gas           Non Aggregation - OH   DTE             910022114755                Gas           Non Aggregation - MI
DUKE         7630022722                  Gas           Non Aggregation - OH   DTE             910007889207                Gas           Non Aggregation - MI
DUKE         9150072220                  Gas           Non Aggregation - OH   DTE             910007078900                Gas           Non Aggregation - MI
DUKE         9280352601                  Gas           Non Aggregation - OH   DTE             910006080477                Gas           Non Aggregation - MI
DUKE         0210212902                  Gas           Non Aggregation - OH   DTE             910020056487                Gas           Non Aggregation - MI
DUKE         1570056522                  Gas           Non Aggregation - OH   DTE             910008193310                Gas           Non Aggregation - MI
DUKE         1600059920                  Gas           Non Aggregation - OH   DTE             910006707434                Gas           Non Aggregation - MI
DUKE         4040085721                  Gas           Non Aggregation - OH   DTE             910018761783                Gas           Non Aggregation - MI
DUKE         4230001526                  Gas           Non Aggregation - OH   DTE             910007639115                Gas           Non Aggregation - MI
DUKE         6700014227                  Gas           Non Aggregation - OH   DTE             910014101380                Gas           Non Aggregation - MI
DUKE         7040067602                  Gas           Non Aggregation - OH   DTE             910023532260                Gas           Non Aggregation - MI
DUKE         7740036422                  Gas           Non Aggregation - OH   DTE             910024034670                Gas           Non Aggregation - MI
DUKE         8680021022                  Gas           Non Aggregation - OH   DTE             910012628764                Gas           Non Aggregation - MI
DUKE         2070362701                  Gas           Non Aggregation - OH   DTE             910013034616                Gas           Non Aggregation - MI
DUKE         2900037024                  Gas           Non Aggregation - OH   DTE             910017156720                Gas           Non Aggregation - MI
DUKE         8260019620                  Gas           Non Aggregation - OH   DTE             910025551045                Gas           Non Aggregation - MI
DUKE         2010210003                  Gas           Non Aggregation - OH   DTE             910026222281                Gas           Non Aggregation - MI
DUKE         2290033421                  Gas           Non Aggregation - OH   DTE             910013144712                Gas           Non Aggregation - MI
DUKE         2580033420                  Gas           Non Aggregation - OH   DTE             910018477323                Gas           Non Aggregation - MI
DUKE         2820007420                  Gas           Non Aggregation - OH   DTE             910018513390                Gas           Non Aggregation - MI
DUKE         3190072920                  Gas           Non Aggregation - OH   DTE             910020601241                Gas           Non Aggregation - MI
DUKE         3760063325                  Gas           Non Aggregation - OH   DTE             910020116794                Gas           Non Aggregation - MI
DUKE         3880046322                  Gas           Non Aggregation - OH   DTE             910018885715                Gas           Non Aggregation - MI
DUKE         7510017323                  Gas           Non Aggregation - OH   DTE             910019642800                Gas           Non Aggregation - MI
DUKE         8550057920                  Gas           Non Aggregation - OH   DTE             910020474060                Gas           Non Aggregation - MI
DUKE         8580033420                  Gas           Non Aggregation - OH   DTE             910017050964                Gas           Non Aggregation - MI
DUKE         8690207201                  Gas           Non Aggregation - OH   DTE             910008917577                Gas           Non Aggregation - MI
DUKE         1690360501                  Gas           Non Aggregation - OH   DTE             910018158303                Gas           Non Aggregation - MI
DUKE         2440084022                  Gas           Non Aggregation - OH   DTE             910021244421                Gas           Non Aggregation - MI
DUKE         5530007125                  Gas           Non Aggregation - OH   DTE             910018190504                Gas           Non Aggregation - MI
DUKE         6750016921                  Gas           Non Aggregation - OH   DTE             910019013176                Gas           Non Aggregation - MI
DUKE         0350079123                  Gas           Non Aggregation - OH   DTE             910019194844                Gas           Non Aggregation - MI
DUKE         6320223202                  Gas           Non Aggregation - OH   DTE             910020634317                Gas           Non Aggregation - MI
DUKE         8940077121                  Gas           Non Aggregation - OH   DTE             910020193371                Gas           Non Aggregation - MI
DUKE         0380004124                  Gas           Non Aggregation - OH   DTE             910021004627                Gas           Non Aggregation - MI
DUKE         2380077520                  Gas           Non Aggregation - OH   DTE             910009050030                Gas           Non Aggregation - MI
DUKE         5740088521                  Gas           Non Aggregation - OH   DTE             910010906592                Gas           Non Aggregation - MI
DUKE         6310077920                  Gas           Non Aggregation - OH   DTE             910008399321                Gas           Non Aggregation - MI
DUKE         7370077820                  Gas           Non Aggregation - OH   DTE             910007849367                Gas           Non Aggregation - MI
DUKE         7640034022                  Gas           Non Aggregation - OH   DTE             910009875790                Gas           Non Aggregation - MI
DUKE         9840034023                  Gas           Non Aggregation - OH   DTE             910016168825                Gas           Non Aggregation - MI
DUKE         4800363302                  Gas           Non Aggregation - OH   DTE             910018114694                Gas           Non Aggregation - MI
DUKE         5120047420                  Gas           Non Aggregation - OH   DTE             910018084533                Gas           Non Aggregation - MI
DUKE         6550355404                  Gas           Non Aggregation - OH   DTE             910018278861                Gas           Non Aggregation - MI
DUKE         6770070322                  Gas           Non Aggregation - OH   DTE             910018661181                Gas           Non Aggregation - MI
DUKE         7230203501                  Gas           Non Aggregation - OH   DTE             910020227716                Gas           Non Aggregation - MI
DUKE         7950219002                  Gas           Non Aggregation - OH   DTE             910019300979                Gas           Non Aggregation - MI
DUKE         0280058320                  Gas           Non Aggregation - OH   DTE             910019669779                Gas           Non Aggregation - MI
DUKE         0630212102                  Gas           Non Aggregation - OH   DTE             910020756375                Gas           Non Aggregation - MI
DUKE         0740050835                  Gas           Non Aggregation - OH   DTE             910023298367                Gas           Non Aggregation - MI
DUKE         0910209201                  Gas           Non Aggregation - OH   DTE             910023273550                Gas           Non Aggregation - MI
DUKE         1740050831                  Gas           Non Aggregation - OH   DTE             910024491912                Gas           Non Aggregation - MI
DUKE         2720050923                  Gas           Non Aggregation - OH   DTE             910026606483                Gas           Non Aggregation - MI
DUKE         3720050924                  Gas           Non Aggregation - OH   DTE             910025551359                Gas           Non Aggregation - MI
DUKE         6120040120                  Gas           Non Aggregation - OH   DTE             910010603371                Gas           Non Aggregation - MI
DUKE         9060081620                  Gas           Non Aggregation - OH   DTE             910014717961                Gas           Non Aggregation - MI
DUKE         9860027520                  Gas           Non Aggregation - OH   DTE             910016270399                Gas           Non Aggregation - MI
DUKE         4230213502                  Gas           Non Aggregation - OH   DTE             910017513482                Gas           Non Aggregation - MI
DUKE         2510222702                  Gas           Non Aggregation - OH   DTE             910007000110                Gas           Non Aggregation - MI
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   Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DUKE         7730211302                  Gas           Non Aggregation - OH   DTE             910010235976                Gas           Non Aggregation - MI
DUKE         7910063623                  Gas           Non Aggregation - OH   DTE             910011766565                Gas           Non Aggregation - MI
DUKE         8820080023                  Gas           Non Aggregation - OH   DTE             910014971071                Gas           Non Aggregation - MI
DUKE         1780076822                  Gas           Non Aggregation - OH   DTE             910017799313                Gas           Non Aggregation - MI
DUKE         6030047520                  Gas           Non Aggregation - OH   DTE             910019784917                Gas           Non Aggregation - MI
DUKE         6880202405                  Gas           Non Aggregation - OH   DTE             910019158484                Gas           Non Aggregation - MI
DUKE         6230036520                  Gas           Non Aggregation - OH   DTE             910019933753                Gas           Non Aggregation - MI
DUKE         1040036420                  Gas           Non Aggregation - OH   DTE             910024177164                Gas           Non Aggregation - MI
DUKE         4110042020                  Gas           Non Aggregation - OH   DTE             910025923921                Gas           Non Aggregation - MI
DUKE         9970016432                  Gas           Non Aggregation - OH   DTE             910026768176                Gas           Non Aggregation - MI
DUKE         0500214801                  Gas           Non Aggregation - OH   DTE             910025435298                Gas           Non Aggregation - MI
DUKE         5000046121                  Gas           Non Aggregation - OH   DTE             910012927620                Gas           Non Aggregation - MI
DUKE         9590360501                  Gas           Non Aggregation - OH   DTE             910016703555                Gas           Non Aggregation - MI
DUKE         2390059832                  Gas           Non Aggregation - OH   DTE             910018108324                Gas           Non Aggregation - MI
DUKE         1340205001                  Gas           Non Aggregation - OH   DTE             910019628338                Gas           Non Aggregation - MI
DUKE         8780037922                  Gas           Non Aggregation - OH   DTE             910018468934                Gas           Non Aggregation - MI
DUKE         5760210001                  Gas           Non Aggregation - OH   DTE             910018444612                Gas           Non Aggregation - MI
DUKE         6550211301                  Gas           Non Aggregation - OH   DTE             910020401857                Gas           Non Aggregation - MI
DUKE         7880032021                  Gas           Non Aggregation - OH   DTE             910021887542                Gas           Non Aggregation - MI
DUKE         6530032922                  Gas           Non Aggregation - OH   DTE             910021245519                Gas           Non Aggregation - MI
DUKE         9340067402                  Gas           Non Aggregation - OH   DTE             910013434717                Gas           Non Aggregation - MI
DUKE         0730057120                  Gas           Non Aggregation - OH   DTE             910018801654                Gas           Non Aggregation - MI
DUKE         0320068621                  Gas           Non Aggregation - OH   DTE             910020255758                Gas           Non Aggregation - MI
DUKE         6630057124                  Gas           Non Aggregation - OH   DTE             910019109651                Gas           Non Aggregation - MI
DUKE         8880200403                  Gas           Non Aggregation - OH   DTE             910019838812                Gas           Non Aggregation - MI
DUKE         7600355902                  Gas           Non Aggregation - OH   DTE             910019433267                Gas           Non Aggregation - MI
DUKE         1790004823                  Gas           Non Aggregation - OH   DTE             910020499802                Gas           Non Aggregation - MI
DUKE         1560017020                  Gas           Non Aggregation - OH   DTE             910023019144                Gas           Non Aggregation - MI
DUKE         5680087420                  Gas           Non Aggregation - OH   DTE             910025034091                Gas           Non Aggregation - MI
DUKE         0100200701                  Gas           Non Aggregation - OH   DTE             910021013834                Gas           Non Aggregation - MI
DUKE         5710214402                  Gas           Non Aggregation - OH   DTE             910019300490                Gas           Non Aggregation - MI
DUKE         5410350702                  Gas           Non Aggregation - OH   DTE             910019300607                Gas           Non Aggregation - MI
DUKE         3180027622                  Gas           Non Aggregation - OH   DTE             910018660126                Gas           Non Aggregation - MI
DUKE         5460023420                  Gas           Non Aggregation - OH   DTE             910019707660                Gas           Non Aggregation - MI
DUKE         4460023424                  Gas           Non Aggregation - OH   DTE             910021434105                Gas           Non Aggregation - MI
DUKE         2630042221                  Gas           Non Aggregation - OH   DTE             910005849849                Gas           Non Aggregation - MI
DUKE         9110022520                  Gas           Non Aggregation - OH   DTE             910011231107                Gas           Non Aggregation - MI
DUKE         2510011620                  Gas           Non Aggregation - OH   DTE             910018696666                Gas           Non Aggregation - MI
DUKE         3280043920                  Gas           Non Aggregation - OH   DTE             910017564550                Gas           Non Aggregation - MI
DUKE         1630204501                  Gas           Non Aggregation - OH   DTE             910018176685                Gas           Non Aggregation - MI
DUKE         1390357101                  Gas           Non Aggregation - OH   DTE             910017536590                Gas           Non Aggregation - MI
DUKE         6140059421                  Gas           Non Aggregation - OH   DTE             910018927640                Gas           Non Aggregation - MI
DUKE         2840084322                  Gas           Non Aggregation - OH   DTE             910019364512                Gas           Non Aggregation - MI
DUKE         8300214702                  Gas           Non Aggregation - OH   DTE             910019573278                Gas           Non Aggregation - MI
DUKE         6810210102                  Gas           Non Aggregation - OH   DTE             910019168137                Gas           Non Aggregation - MI
DUKE         3770210602                  Gas           Non Aggregation - OH   DTE             910019085414                Gas           Non Aggregation - MI
DUKE         0940020122                  Gas           Non Aggregation - OH   DTE             910020274189                Gas           Non Aggregation - MI
DUKE         3060056920                  Gas           Non Aggregation - OH   DTE             910021174685                Gas           Non Aggregation - MI
DUKE         4200018626                  Gas           Non Aggregation - OH   DTE             910022730170                Gas           Non Aggregation - MI
DUKE         1490012523                  Gas           Non Aggregation - OH   DTE             910007169287                Gas           Non Aggregation - MI
DUKE         8580054923                  Gas           Non Aggregation - OH   DTE             910023463284                Gas           Non Aggregation - MI
DUKE         6650081620                  Gas           Non Aggregation - OH   DTE             910011239100                Gas           Non Aggregation - MI
DUKE         1280048921                  Gas           Non Aggregation - OH   DTE             910016774499                Gas           Non Aggregation - MI
DUKE         0280048921                  Gas           Non Aggregation - OH   DTE             910012640090                Gas           Non Aggregation - MI
DUKE         4630206402                  Gas           Non Aggregation - OH   DTE             910012521498                Gas           Non Aggregation - MI
DUKE         5390059827                  Gas           Non Aggregation - OH   DTE             910016101354                Gas           Non Aggregation - MI
DUKE         4330023627                  Gas           Non Aggregation - OH   DTE             910017543216                Gas           Non Aggregation - MI
DUKE         3330023624                  Gas           Non Aggregation - OH   DTE             910018338228                Gas           Non Aggregation - MI
DUKE         5290055020                  Gas           Non Aggregation - OH   DTE             910021026000                Gas           Non Aggregation - MI
DUKE         4870048422                  Gas           Non Aggregation - OH   DTE             910020676466                Gas           Non Aggregation - MI
DUKE         3510055121                  Gas           Non Aggregation - OH   DTE             910022892442                Gas           Non Aggregation - MI
DUKE         8290045020                  Gas           Non Aggregation - OH   DTE             910018183434                Gas           Non Aggregation - MI
DUKE         6660366501                  Gas           Non Aggregation - OH   DTE             910017391509                Gas           Non Aggregation - MI
DUKE         8760366501                  Gas           Non Aggregation - OH   DTE             910019124403                Gas           Non Aggregation - MI
DUKE         6250019724                  Gas           Non Aggregation - OH   DTE             910018655639                Gas           Non Aggregation - MI
DUKE         5690030421                  Gas           Non Aggregation - OH   DTE             910019900836                Gas           Non Aggregation - MI
DUKE         3870016421                  Gas           Non Aggregation - OH   DTE             910019354489                Gas           Non Aggregation - MI
DUKE         6940076620                  Gas           Non Aggregation - OH   DTE             910020529665                Gas           Non Aggregation - MI
DUKE         5810023720                  Gas           Non Aggregation - OH   DTE             910020827168                Gas           Non Aggregation - MI
DUKE         4770201803                  Gas           Non Aggregation - OH   DTE             910019565969                Gas           Non Aggregation - MI
DUKE         0130042648                  Gas           Non Aggregation - OH   DTE             910025360462                Gas           Non Aggregation - MI
DUKE         8030042620                  Gas           Non Aggregation - OH   DTE             910027883974                Gas           Non Aggregation - MI
DUKE         7210014523                  Gas           Non Aggregation - OH   DTE             910026967778                Gas           Non Aggregation - MI
DUKE         9620014821                  Gas           Non Aggregation - OH   DTE             910019824218                Gas           Non Aggregation - MI
DUKE         6960042320                  Gas           Non Aggregation - OH   DTE             910019810100                Gas           Non Aggregation - MI
DUKE         6080015120                  Gas           Non Aggregation - OH   DTE             910022423388                Gas           Non Aggregation - MI
DUKE         5270210402                  Gas           Non Aggregation - OH   DTE             910016550162                Gas           Non Aggregation - MI
DUKE         1800017823                  Gas           Non Aggregation - OH   DTE             910017751157                Gas           Non Aggregation - MI
DUKE         8720083020                  Gas           Non Aggregation - OH   DTE             910006933402                Gas           Non Aggregation - MI
DUKE         8310011321                  Gas           Non Aggregation - OH   DTE             910019063627                Gas           Non Aggregation - MI
DUKE         0640087026                  Gas           Non Aggregation - OH   DTE             910006931562                Gas           Non Aggregation - MI
DUKE         4140081823                  Gas           Non Aggregation - OH   DTE             910019080118                Gas           Non Aggregation - MI
DUKE         0010023720                  Gas           Non Aggregation - OH   DTE             910017602954                Gas           Non Aggregation - MI
DUKE         7980054322                  Gas           Non Aggregation - OH   DTE             910014146989                Gas           Non Aggregation - MI
DUKE         1600023724                  Gas           Non Aggregation - OH   DTE             910020837365                Gas           Non Aggregation - MI
DUKE         2380072223                  Gas           Non Aggregation - OH   DTE             910017568577                Gas           Non Aggregation - MI
DUKE         8770039720                  Gas           Non Aggregation - OH   DTE             910006450803                Gas           Non Aggregation - MI
DUKE         9430023331                  Gas           Non Aggregation - OH   DTE             910018507319                Gas           Non Aggregation - MI
DUKE         5810008423                  Gas           Non Aggregation - OH   DTE             910019697895                Gas           Non Aggregation - MI
DUKE         4650002723                  Gas           Non Aggregation - OH   DTE             910018547851                Gas           Non Aggregation - MI
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   Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DUKE         8900085321                  Gas           Non Aggregation - OH   DTE             910011221488                Gas           Non Aggregation - MI
DUKE         0770354901                  Gas           Non Aggregation - OH   DTE             910026212134                Gas           Non Aggregation - MI
DUKE         2300064120                  Gas           Non Aggregation - OH   DTE             910015233000                Gas           Non Aggregation - MI
DUKE         5180028621                  Gas           Non Aggregation - OH   DTE             910021488671                Gas           Non Aggregation - MI
DUKE         5550032321                  Gas           Non Aggregation - OH   DTE             910018062711                Gas           Non Aggregation - MI
DUKE         7030064321                  Gas           Non Aggregation - OH   DTE             910019991363                Gas           Non Aggregation - MI
DUKE         1810007721                  Gas           Non Aggregation - OH   DTE             910020560512                Gas           Non Aggregation - MI
DUKE         4360214102                  Gas           Non Aggregation - OH   DTE             910020707394                Gas           Non Aggregation - MI
DUKE         8130359303                  Gas           Non Aggregation - OH   DTE             910019201839                Gas           Non Aggregation - MI
DUKE         1290031022                  Gas           Non Aggregation - OH   DTE             910020533741                Gas           Non Aggregation - MI
DUKE         6750014820                  Gas           Non Aggregation - OH   DTE             910019715705                Gas           Non Aggregation - MI
DUKE         8380038723                  Gas           Non Aggregation - OH   DTE             910021730692                Gas           Non Aggregation - MI
DUKE         8400030121                  Gas           Non Aggregation - OH   DTE             910024163743                Gas           Non Aggregation - MI
DUKE         4490077526                  Gas           Non Aggregation - OH   DTE             910019817071                Gas           Non Aggregation - MI
DUKE         4040004420                  Gas           Non Aggregation - OH   DTE             910006262729                Gas           Non Aggregation - MI
DUKE         5740023620                  Gas           Non Aggregation - OH   DTE             910011103819                Gas           Non Aggregation - MI
DUKE         5800064222                  Gas           Non Aggregation - OH   DTE             910010307205                Gas           Non Aggregation - MI
DUKE         2590203006                  Gas           Non Aggregation - OH   DTE             910011591013                Gas           Non Aggregation - MI
DUKE         9810220302                  Gas           Non Aggregation - OH   DTE             910012775136                Gas           Non Aggregation - MI
DUKE         7140013724                  Gas           Non Aggregation - OH   DTE             910015937717                Gas           Non Aggregation - MI
DUKE         0500062721                  Gas           Non Aggregation - OH   DTE             910016763948                Gas           Non Aggregation - MI
DUKE         4630044421                  Gas           Non Aggregation - OH   DTE             910017886565                Gas           Non Aggregation - MI
DUKE         8280011621                  Gas           Non Aggregation - OH   DTE             910019222397                Gas           Non Aggregation - MI
DUKE         0750048421                  Gas           Non Aggregation - OH   DTE             910012432118                Gas           Non Aggregation - MI
DUKE         0850049423                  Gas           Non Aggregation - OH   DTE             910013941604                Gas           Non Aggregation - MI
DUKE         7680035522                  Gas           Non Aggregation - OH   DTE             910019969245                Gas           Non Aggregation - MI
DUKE         7090035524                  Gas           Non Aggregation - OH   DTE             910022473383                Gas           Non Aggregation - MI
DUKE         7760038122                  Gas           Non Aggregation - OH   DTE             910005301817                Gas           Non Aggregation - MI
DUKE         8390211904                  Gas           Non Aggregation - OH   DTE             910005088430                Gas           Non Aggregation - MI
DUKE         3390211905                  Gas           Non Aggregation - OH   DTE             910017919804                Gas           Non Aggregation - MI
DUKE         0910018820                  Gas           Non Aggregation - OH   DTE             910018886184                Gas           Non Aggregation - MI
DUKE         9770035022                  Gas           Non Aggregation - OH   DTE             910024296691                Gas           Non Aggregation - MI
DUKE         2570211303                  Gas           Non Aggregation - OH   DTE             910006790471                Gas           Non Aggregation - MI
DUKE         2000074024                  Gas           Non Aggregation - OH   DTE             910008893109                Gas           Non Aggregation - MI
DUKE         7520057622                  Gas           Non Aggregation - OH   DTE             910019764448                Gas           Non Aggregation - MI
DUKE         9140074922                  Gas           Non Aggregation - OH   DTE             910019874015                Gas           Non Aggregation - MI
DUKE         5850060921                  Gas           Non Aggregation - OH   DTE             910021564695                Gas           Non Aggregation - MI
DUKE         0400020221                  Gas           Non Aggregation - OH   DTE             910024893570                Gas           Non Aggregation - MI
DUKE         6100002823                  Gas           Non Aggregation - OH   DTE             910020247318                Gas           Non Aggregation - MI
DUKE         1030032321                  Gas           Non Aggregation - OH   DTE             910021855457                Gas           Non Aggregation - MI
DUKE         7200002421                  Gas           Non Aggregation - OH   DTE             910006770283                Gas           Non Aggregation - MI
DUKE         2550036621                  Gas           Non Aggregation - OH   DTE             910007872401                Gas           Non Aggregation - MI
DUKE         4190002821                  Gas           Non Aggregation - OH   DTE             910012882635                Gas           Non Aggregation - MI
DUKE         2780023920                  Gas           Non Aggregation - OH   DTE             910012362018                Gas           Non Aggregation - MI
DUKE         0930033321                  Gas           Non Aggregation - OH   DTE             910012636775                Gas           Non Aggregation - MI
DUKE         5100044220                  Gas           Non Aggregation - OH   DTE             910016742413                Gas           Non Aggregation - MI
DUKE         6670011723                  Gas           Non Aggregation - OH   DTE             910016013724                Gas           Non Aggregation - MI
DUKE         1630028721                  Gas           Non Aggregation - OH   DTE             910019938810                Gas           Non Aggregation - MI
DUKE         6040007823                  Gas           Non Aggregation - OH   DTE             910017365065                Gas           Non Aggregation - MI
DUKE         0200359702                  Gas           Non Aggregation - OH   DTE             910007700982                Gas           Non Aggregation - MI
DUKE         2340086822                  Gas           Non Aggregation - OH   DTE             910015299092                Gas           Non Aggregation - MI
DUKE         5250020024                  Gas           Non Aggregation - OH   DTE             910018856419                Gas           Non Aggregation - MI
DUKE         0150366901                  Gas           Non Aggregation - OH   DTE             910020010773                Gas           Non Aggregation - MI
DUKE         2460225202                  Gas           Non Aggregation - OH   DTE             910014929103                Gas           Non Aggregation - MI
DUKE         8550077525                  Gas           Non Aggregation - OH   DTE             910018873190                Gas           Non Aggregation - MI
DUKE         0220038121                  Gas           Non Aggregation - OH   DTE             910017924010                Gas           Non Aggregation - MI
DUKE         6850004127                  Gas           Non Aggregation - OH   DTE             910016958100                Gas           Non Aggregation - MI
DUKE         4880036720                  Gas           Non Aggregation - OH   DTE             910021588397                Gas           Non Aggregation - MI
DUKE         4760077620                  Gas           Non Aggregation - OH   DTE             910017298324                Gas           Non Aggregation - MI
DUKE         6410086020                  Gas           Non Aggregation - OH   DTE             910005778402                Gas           Non Aggregation - MI
DUKE         5720011620                  Gas           Non Aggregation - OH   DTE             910024618878                Gas           Non Aggregation - MI
DUKE         4480059824                  Gas           Non Aggregation - OH   DTE             910010473643                Gas           Non Aggregation - MI
DUKE         8710087921                  Gas           Non Aggregation - OH   DTE             910018980672                Gas           Non Aggregation - MI
DUKE         8040360302                  Gas           Non Aggregation - OH   DTE             910019660935                Gas           Non Aggregation - MI
DUKE         3790039121                  Gas           Non Aggregation - OH   DTE             910025641457                Gas           Non Aggregation - MI
DUKE         8630076821                  Gas           Non Aggregation - OH   DTE             910020474300                Gas           Non Aggregation - MI
DUKE         7490354302                  Gas           Non Aggregation - OH   DTE             910010309524                Gas           Non Aggregation - MI
DUKE         5990222102                  Gas           Non Aggregation - OH   DTE             910018154047                Gas           Non Aggregation - MI
DUKE         1740224403                  Gas           Non Aggregation - OH   DTE             910020019006                Gas           Non Aggregation - MI
DUKE         4500035124                  Gas           Non Aggregation - OH   DTE             910018332031                Gas           Non Aggregation - MI
DUKE         2760039321                  Gas           Non Aggregation - OH   DTE             910018661892                Gas           Non Aggregation - MI
DUKE         9900064220                  Gas           Non Aggregation - OH   DTE             910023498439                Gas           Non Aggregation - MI
DUKE         2400039021                  Gas           Non Aggregation - OH   DTE             910018524835                Gas           Non Aggregation - MI
DUKE         0270025420                  Gas           Non Aggregation - OH   DTE             910020876546                Gas           Non Aggregation - MI
DUKE         1840073120                  Gas           Non Aggregation - OH   DTE             910021143730                Gas           Non Aggregation - MI
DUKE         7750025439                  Gas           Non Aggregation - OH   DTE             910020876165                Gas           Non Aggregation - MI
DUKE         3670087520                  Gas           Non Aggregation - OH   DTE             910019178425                Gas           Non Aggregation - MI
DUKE         9170025420                  Gas           Non Aggregation - OH   DTE             910012013835                Gas           Non Aggregation - MI
DUKE         9750025435                  Gas           Non Aggregation - OH   DTE             910018512830                Gas           Non Aggregation - MI
DUKE         8750025436                  Gas           Non Aggregation - OH   DTE             910024430175                Gas           Non Aggregation - MI
DUKE         2850025432                  Gas           Non Aggregation - OH   DTE             910018906131                Gas           Non Aggregation - MI
DUKE         1850025444                  Gas           Non Aggregation - OH   DTE             910022105092                Gas           Non Aggregation - MI
DUKE         3850025434                  Gas           Non Aggregation - OH   DTE             910008945107                Gas           Non Aggregation - MI
DUKE         2150025721                  Gas           Non Aggregation - OH   DTE             910010833457                Gas           Non Aggregation - MI
DUKE         3710017121                  Gas           Non Aggregation - OH   DTE             910012547568                Gas           Non Aggregation - MI
DUKE         7030222103                  Gas           Non Aggregation - OH   DTE             910019409937                Gas           Non Aggregation - MI
DUKE         4110351601                  Gas           Non Aggregation - OH   DTE             910017728908                Gas           Non Aggregation - MI
DUKE         8940355403                  Gas           Non Aggregation - OH   DTE             910017836628                Gas           Non Aggregation - MI
DUKE         3300209703                  Gas           Non Aggregation - OH   DTE             910010364834                Gas           Non Aggregation - MI
DUKE         8380058328                  Gas           Non Aggregation - OH   DTE             910017316852                Gas           Non Aggregation - MI
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   Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DUKE         0130079523                  Gas           Non Aggregation - OH   DTE             910013797154                Gas           Non Aggregation - MI
DUKE         4340014727                  Gas           Non Aggregation - OH   DTE             910011724010                Gas           Non Aggregation - MI
DUKE         1940069021                  Gas           Non Aggregation - OH   DTE             910018237065                Gas           Non Aggregation - MI
DUKE         7920204301                  Gas           Non Aggregation - OH   DTE             910020913539                Gas           Non Aggregation - MI
DUKE         8620084223                  Gas           Non Aggregation - OH   DTE             910016774515                Gas           Non Aggregation - MI
DUKE         7900363701                  Gas           Non Aggregation - OH   DTE             910012980991                Gas           Non Aggregation - MI
DUKE         1880360602                  Gas           Non Aggregation - OH   DTE             910012527289                Gas           Non Aggregation - MI
DUKE         2880360602                  Gas           Non Aggregation - OH   DTE             910017364860                Gas           Non Aggregation - MI
DUKE         5720030822                  Gas           Non Aggregation - OH   DTE             910019185362                Gas           Non Aggregation - MI
DUKE         0900060623                  Gas           Non Aggregation - OH   DTE             910020578951                Gas           Non Aggregation - MI
DUKE         1220357201                  Gas           Non Aggregation - OH   DTE             910019561356                Gas           Non Aggregation - MI
DUKE         1620008222                  Gas           Non Aggregation - OH   DTE             910020131694                Gas           Non Aggregation - MI
DUKE         5610032320                  Gas           Non Aggregation - OH   DTE             910019323963                Gas           Non Aggregation - MI
DUKE         1990204303                  Gas           Non Aggregation - OH   DTE             910022531461                Gas           Non Aggregation - MI
DUKE         8920211602                  Gas           Non Aggregation - OH   DTE             910023294754                Gas           Non Aggregation - MI
DUKE         5770087825                  Gas           Non Aggregation - OH   DTE             910019035476                Gas           Non Aggregation - MI
DUKE         4500351202                  Gas           Non Aggregation - OH   DTE             910024478695                Gas           Non Aggregation - MI
DUKE         0840208402                  Gas           Non Aggregation - OH   DTE             910020917183                Gas           Non Aggregation - MI
DUKE         1380048321                  Gas           Non Aggregation - OH   DTE             910005521364                Gas           Non Aggregation - MI
DUKE         4290014421                  Gas           Non Aggregation - OH   DTE             910009190596                Gas           Non Aggregation - MI
DUKE         8230020820                  Gas           Non Aggregation - OH   DTE             910018223248                Gas           Non Aggregation - MI
DUKE         1440019821                  Gas           Non Aggregation - OH   DTE             910021122221                Gas           Non Aggregation - MI
DUKE         4760005222                  Gas           Non Aggregation - OH   DTE             910019766195                Gas           Non Aggregation - MI
DUKE         3070063921                  Gas           Non Aggregation - OH   DTE             910018369504                Gas           Non Aggregation - MI
DUKE         6300025922                  Gas           Non Aggregation - OH   DTE             910024070328                Gas           Non Aggregation - MI
DUKE         1520011724                  Gas           Non Aggregation - OH   DTE             910028808434                Gas           Non Aggregation - MI
DUKE         5030008821                  Gas           Non Aggregation - OH   DTE             910018830224                Gas           Non Aggregation - MI
DUKE         6080022623                  Gas           Non Aggregation - OH   DTE             910019024850                Gas           Non Aggregation - MI
DUKE         7400058121                  Gas           Non Aggregation - OH   DTE             910025284118                Gas           Non Aggregation - MI
DUKE         5100011631                  Gas           Non Aggregation - OH   DTE             910025901653                Gas           Non Aggregation - MI
DUKE         1650017624                  Gas           Non Aggregation - OH   DTE             910017940388                Gas           Non Aggregation - MI
DUKE         7560015120                  Gas           Non Aggregation - OH   DTE             910022005185                Gas           Non Aggregation - MI
DUKE         5520088923                  Gas           Non Aggregation - OH   DTE             910014000749                Gas           Non Aggregation - MI
DUKE         4080039621                  Gas           Non Aggregation - OH   DTE             910017913245                Gas           Non Aggregation - MI
DUKE         3360081622                  Gas           Non Aggregation - OH   DTE             910020373510                Gas           Non Aggregation - MI
DUKE         0550223015                  Gas           Non Aggregation - OH   DTE             910020191953                Gas           Non Aggregation - MI
DUKE         0860023620                  Gas           Non Aggregation - OH   DTE             910020948196                Gas           Non Aggregation - MI
DUKE         1200012620                  Gas           Non Aggregation - OH   DTE             910020561106                Gas           Non Aggregation - MI
DUKE         8690027923                  Gas           Non Aggregation - OH   DTE             910025863952                Gas           Non Aggregation - MI
DUKE         8040359802                  Gas           Non Aggregation - OH   DTE             910027627082                Gas           Non Aggregation - MI
DUKE         6030068926                  Gas           Non Aggregation - OH   DTE             910013536255                Gas           Non Aggregation - MI
DUKE         2420355102                  Gas           Non Aggregation - OH   DTE             910024108680                Gas           Non Aggregation - MI
DUKE         5810020924                  Gas           Non Aggregation - OH   DTE             910027166032                Gas           Non Aggregation - MI
DUKE         0740015850                  Gas           Non Aggregation - OH   DTE             910005807680                Gas           Non Aggregation - MI
DUKE         5610041525                  Gas           Non Aggregation - OH   DTE             910008229320                Gas           Non Aggregation - MI
DUKE         8430021120                  Gas           Non Aggregation - OH   DTE             910011539707                Gas           Non Aggregation - MI
DUKE         8050057820                  Gas           Non Aggregation - OH   DTE             910018889113                Gas           Non Aggregation - MI
DUKE         1690073823                  Gas           Non Aggregation - OH   DTE             910019708411                Gas           Non Aggregation - MI
DUKE         5520080520                  Gas           Non Aggregation - OH   DTE             910028473775                Gas           Non Aggregation - MI
DUKE         9510009120                  Gas           Non Aggregation - OH   DTE             910017446444                Gas           Non Aggregation - MI
DUKE         8540064220                  Gas           Non Aggregation - OH   DTE             910016815771                Gas           Non Aggregation - MI
DUKE         4980005020                  Gas           Non Aggregation - OH   DTE             910017455700                Gas           Non Aggregation - MI
DUKE         0320056730                  Gas           Non Aggregation - OH   DTE             910019005065                Gas           Non Aggregation - MI
DUKE         8490007521                  Gas           Non Aggregation - OH   DTE             910019408988                Gas           Non Aggregation - MI
DUKE         4970011822                  Gas           Non Aggregation - OH   DTE             910023221153                Gas           Non Aggregation - MI
DUKE         2150078121                  Gas           Non Aggregation - OH   DTE             910025545542                Gas           Non Aggregation - MI
DUKE         6860047020                  Gas           Non Aggregation - OH   DTE             910019705086                Gas           Non Aggregation - MI
DUKE         2400208302                  Gas           Non Aggregation - OH   DTE             910023110190                Gas           Non Aggregation - MI
DUKE         2010004922                  Gas           Non Aggregation - OH   DTE             910015993413                Gas           Non Aggregation - MI
DUKE         5340350102                  Gas           Non Aggregation - OH   DTE             910018721282                Gas           Non Aggregation - MI
DUKE         3030044725                  Gas           Non Aggregation - OH   DTE             910016882151                Gas           Non Aggregation - MI
DUKE         9710076226                  Gas           Non Aggregation - OH   DTE             910018504571                Gas           Non Aggregation - MI
DUKE         5830086922                  Gas           Non Aggregation - OH   DTE             910018072181                Gas           Non Aggregation - MI
DUKE         5070219303                  Gas           Non Aggregation - OH   DTE             910013292412                Gas           Non Aggregation - MI
DUKE         3940208903                  Gas           Non Aggregation - OH   DTE             910018454645                Gas           Non Aggregation - MI
DUKE         7890020225                  Gas           Non Aggregation - OH   DTE             910019301084                Gas           Non Aggregation - MI
DUKE         6660036021                  Gas           Non Aggregation - OH   DTE             910018970566                Gas           Non Aggregation - MI
DUKE         8110210002                  Gas           Non Aggregation - OH   DTE             910018654467                Gas           Non Aggregation - MI
DUKE         5250026623                  Gas           Non Aggregation - OH   DTE             910025479015                Gas           Non Aggregation - MI
DUKE         3500087121                  Gas           Non Aggregation - OH   DTE             910026524942                Gas           Non Aggregation - MI
DUKE         1020051225                  Gas           Non Aggregation - OH   DTE             910019958628                Gas           Non Aggregation - MI
DUKE         0850086621                  Gas           Non Aggregation - OH   DTE             910007954530                Gas           Non Aggregation - MI
DUKE         2930215102                  Gas           Non Aggregation - OH   DTE             910008796674                Gas           Non Aggregation - MI
DUKE         2290205902                  Gas           Non Aggregation - OH   DTE             910011062429                Gas           Non Aggregation - MI
DUKE         9110046323                  Gas           Non Aggregation - OH   DTE             910013273552                Gas           Non Aggregation - MI
DUKE         6790060724                  Gas           Non Aggregation - OH   DTE             910013273685                Gas           Non Aggregation - MI
DUKE         7370216602                  Gas           Non Aggregation - OH   DTE             910014770531                Gas           Non Aggregation - MI
DUKE         6370220302                  Gas           Non Aggregation - OH   DTE             910014951321                Gas           Non Aggregation - MI
DUKE         6490004820                  Gas           Non Aggregation - OH   DTE             910017707746                Gas           Non Aggregation - MI
DUKE         2050030324                  Gas           Non Aggregation - OH   DTE             910017697749                Gas           Non Aggregation - MI
DUKE         0930369201                  Gas           Non Aggregation - OH   DTE             910018054387                Gas           Non Aggregation - MI
DUKE         2620084021                  Gas           Non Aggregation - OH   DTE             910018444521                Gas           Non Aggregation - MI
DUKE         8920208907                  Gas           Non Aggregation - OH   DTE             910021204706                Gas           Non Aggregation - MI
DUKE         8270086325                  Gas           Non Aggregation - OH   DTE             910025046806                Gas           Non Aggregation - MI
DUKE         7630366202                  Gas           Non Aggregation - OH   DTE             910018707109                Gas           Non Aggregation - MI
DUKE         9990356302                  Gas           Non Aggregation - OH   DTE             910018287250                Gas           Non Aggregation - MI
DUKE         1430022931                  Gas           Non Aggregation - OH   DTE             910019144641                Gas           Non Aggregation - MI
DUKE         2480006222                  Gas           Non Aggregation - OH   DTE             910019895820                Gas           Non Aggregation - MI
DUKE         3430022920                  Gas           Non Aggregation - OH   DTE             910021260971                Gas           Non Aggregation - MI
DUKE         7020036024                  Gas           Non Aggregation - OH   DTE             910011126216                Gas           Non Aggregation - MI
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   Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DUKE         0490060720                  Gas           Non Aggregation - OH   DTE             910018232116                Gas           Non Aggregation - MI
DUKE         1730218602                  Gas           Non Aggregation - OH   DTE             910023213812                Gas           Non Aggregation - MI
DUKE         5630032222                  Gas           Non Aggregation - OH   DTE             910018915041                Gas           Non Aggregation - MI
DUKE         2530358502                  Gas           Non Aggregation - OH   DTE             910017648692                Gas           Non Aggregation - MI
DUKE         5770013525                  Gas           Non Aggregation - OH   DTE             910018878553                Gas           Non Aggregation - MI
DUKE         9530216103                  Gas           Non Aggregation - OH   DTE             910019104918                Gas           Non Aggregation - MI
DUKE         0540362902                  Gas           Non Aggregation - OH   DTE             910019283365                Gas           Non Aggregation - MI
DUKE         7020211701                  Gas           Non Aggregation - OH   DTE             910018720144                Gas           Non Aggregation - MI
DUKE         6540002421                  Gas           Non Aggregation - OH   DTE             910019952852                Gas           Non Aggregation - MI
DUKE         5100068723                  Gas           Non Aggregation - OH   DTE             910019411222                Gas           Non Aggregation - MI
DUKE         1180200304                  Gas           Non Aggregation - OH   DTE             910020505376                Gas           Non Aggregation - MI
DUKE         1810076221                  Gas           Non Aggregation - OH   DTE             910023369911                Gas           Non Aggregation - MI
DUKE         9600042921                  Gas           Non Aggregation - OH   DTE             910024948119                Gas           Non Aggregation - MI
DUKE         6420219003                  Gas           Non Aggregation - OH   DTE             910021190012                Gas           Non Aggregation - MI
DUKE         4710013325                  Gas           Non Aggregation - OH   DTE             910007362197                Gas           Non Aggregation - MI
DUKE         8140008225                  Gas           Non Aggregation - OH   DTE             910008356875                Gas           Non Aggregation - MI
DUKE         7190011520                  Gas           Non Aggregation - OH   DTE             910009478512                Gas           Non Aggregation - MI
DUKE         1470049220                  Gas           Non Aggregation - OH   DTE             910010885036                Gas           Non Aggregation - MI
DUKE         4530206103                  Gas           Non Aggregation - OH   DTE             910009012725                Gas           Non Aggregation - MI
DUKE         5590008024                  Gas           Non Aggregation - OH   DTE             910008473209                Gas           Non Aggregation - MI
DUKE         8650217803                  Gas           Non Aggregation - OH   DTE             910007780265                Gas           Non Aggregation - MI
DUKE         7500064320                  Gas           Non Aggregation - OH   DTE             910011255452                Gas           Non Aggregation - MI
DUKE         3130216003                  Gas           Non Aggregation - OH   DTE             910014462840                Gas           Non Aggregation - MI
DUKE         1110009825                  Gas           Non Aggregation - OH   DTE             910015682990                Gas           Non Aggregation - MI
DUKE         0560208502                  Gas           Non Aggregation - OH   DTE             910018551259                Gas           Non Aggregation - MI
DUKE         8010074620                  Gas           Non Aggregation - OH   DTE             910017266644                Gas           Non Aggregation - MI
DUKE         0780360002                  Gas           Non Aggregation - OH   DTE             910018192823                Gas           Non Aggregation - MI
DUKE         5830202604                  Gas           Non Aggregation - OH   DTE             910018015339                Gas           Non Aggregation - MI
DUKE         4590085021                  Gas           Non Aggregation - OH   DTE             910018249383                Gas           Non Aggregation - MI
DUKE         5030224003                  Gas           Non Aggregation - OH   DTE             910019518836                Gas           Non Aggregation - MI
DUKE         8320366702                  Gas           Non Aggregation - OH   DTE             910021763271                Gas           Non Aggregation - MI
DUKE         4810070122                  Gas           Non Aggregation - OH   DTE             910024364572                Gas           Non Aggregation - MI
DUKE         5020203101                  Gas           Non Aggregation - OH   DTE             910027269620                Gas           Non Aggregation - MI
DUKE         9850004122                  Gas           Non Aggregation - OH   DTE             910008752057                Gas           Non Aggregation - MI
DUKE         5870215401                  Gas           Non Aggregation - OH   DTE             910019717149                Gas           Non Aggregation - MI
DUKE         6270060524                  Gas           Non Aggregation - OH   DTE             910017801465                Gas           Non Aggregation - MI
DUKE         9800027924                  Gas           Non Aggregation - OH   DTE             910018604942                Gas           Non Aggregation - MI
DUKE         2840011922                  Gas           Non Aggregation - OH   DTE             920034887694                Gas           Non Aggregation - MI
DUKE         5150221402                  Gas           Non Aggregation - OH   DTE             910008385841                Gas           Non Aggregation - MI
DUKE         9600355703                  Gas           Non Aggregation - OH   DTE             910019460344                Gas           Non Aggregation - MI
DUKE         6280351402                  Gas           Non Aggregation - OH   DTE             910019798529                Gas           Non Aggregation - MI
DUKE         7640361202                  Gas           Non Aggregation - OH   DTE             910030692362                Gas           Non Aggregation - MI
DUKE         5810030627                  Gas           Non Aggregation - OH   DTE             910021564521                Gas           Non Aggregation - MI
DUKE         4730051921                  Gas           Non Aggregation - OH   DTE             910005820956                Gas           Non Aggregation - MI
DUKE         0960029821                  Gas           Non Aggregation - OH   DTE             910014802011                Gas           Non Aggregation - MI
DUKE         4580042521                  Gas           Non Aggregation - OH   DTE             910007919079                Gas           Non Aggregation - MI
DUKE         8680060721                  Gas           Non Aggregation - OH   DTE             910008591695                Gas           Non Aggregation - MI
DUKE         6540222502                  Gas           Non Aggregation - OH   DTE             910008178717                Gas           Non Aggregation - MI
DUKE         7610211303                  Gas           Non Aggregation - OH   DTE             910012355012                Gas           Non Aggregation - MI
DUKE         3920042745                  Gas           Non Aggregation - OH   DTE             910011989282                Gas           Non Aggregation - MI
DUKE         4920042727                  Gas           Non Aggregation - OH   DTE             910017516006                Gas           Non Aggregation - MI
DUKE         7240042727                  Gas           Non Aggregation - OH   DTE             910018997668                Gas           Non Aggregation - MI
DUKE         6570003120                  Gas           Non Aggregation - OH   DTE             910019405356                Gas           Non Aggregation - MI
DUKE         5650350501                  Gas           Non Aggregation - OH   DTE             910019280668                Gas           Non Aggregation - MI
DUKE         4940053923                  Gas           Non Aggregation - OH   DTE             910024014763                Gas           Non Aggregation - MI
DUKE         0120030221                  Gas           Non Aggregation - OH   DTE             910023721905                Gas           Non Aggregation - MI
DUKE         8350209502                  Gas           Non Aggregation - OH   DTE             910025336843                Gas           Non Aggregation - MI
DUKE         0900085721                  Gas           Non Aggregation - OH   DTE             910024060832                Gas           Non Aggregation - MI
DUKE         2210364303                  Gas           Non Aggregation - OH   DTE             910016976128                Gas           Non Aggregation - MI
DUKE         6260020122                  Gas           Non Aggregation - OH   DTE             910008806721                Gas           Non Aggregation - MI
DUKE         6170052221                  Gas           Non Aggregation - OH   DTE             910013691696                Gas           Non Aggregation - MI
DUKE         1950051621                  Gas           Non Aggregation - OH   DTE             910019333228                Gas           Non Aggregation - MI
DUKE         8400042621                  Gas           Non Aggregation - OH   DTE             910020756557                Gas           Non Aggregation - MI
DUKE         8020022522                  Gas           Non Aggregation - OH   DTE             910024875148                Gas           Non Aggregation - MI
DUKE         9800009424                  Gas           Non Aggregation - OH   DTE             910018999185                Gas           Non Aggregation - MI
DUKE         9170057621                  Gas           Non Aggregation - OH   DTE             910013244942                Gas           Non Aggregation - MI
DUKE         2290039623                  Gas           Non Aggregation - OH   DTE             910026672295                Gas           Non Aggregation - MI
DUKE         3850076923                  Gas           Non Aggregation - OH   DTE             910017973314                Gas           Non Aggregation - MI
DUKE         2430043222                  Gas           Non Aggregation - OH   DTE             910011144821                Gas           Non Aggregation - MI
DUKE         7830064620                  Gas           Non Aggregation - OH   DTE             910030378475                Gas           Non Aggregation - MI
DUKE         4040370002                  Gas           Non Aggregation - OH   DTE             910013286554                Gas           Non Aggregation - MI
DUKE         4700021020                  Gas           Non Aggregation - OH   DTE             910026704338                Gas           Non Aggregation - MI
DUKE         5870008524                  Gas           Non Aggregation - OH   DTE             910010167708                Gas           Non Aggregation - MI
DUKE         2430008922                  Gas           Non Aggregation - OH   DTE             910019144450                Gas           Non Aggregation - MI
DUKE         0140216706                  Gas           Non Aggregation - OH   DTE             910019226307                Gas           Non Aggregation - MI
DUKE         8950060922                  Gas           Non Aggregation - OH   DTE             910020854584                Gas           Non Aggregation - MI
DUKE         1600369202                  Gas           Non Aggregation - OH   DTE             910020306585                Gas           Non Aggregation - MI
DUKE         8470358402                  Gas           Non Aggregation - OH   DTE             910021873153                Gas           Non Aggregation - MI
DUKE         9230053720                  Gas           Non Aggregation - OH   DTE             910024721599                Gas           Non Aggregation - MI
DUKE         4610060820                  Gas           Non Aggregation - OH   DTE             910026445353                Gas           Non Aggregation - MI
DUKE         5730202704                  Gas           Non Aggregation - OH   DTE             910027082940                Gas           Non Aggregation - MI
DUKE         0790371402                  Gas           Non Aggregation - OH   DTE             910029874187                Gas           Non Aggregation - MI
DUKE         2940214202                  Gas           Non Aggregation - OH   DTE             910029998655                Gas           Non Aggregation - MI
DUKE         6170002823                  Gas           Non Aggregation - OH   DTE             910028612760                Gas           Non Aggregation - MI
DUKE         4970013222                  Gas           Non Aggregation - OH   DTE             910018921189                Gas           Non Aggregation - MI
DUKE         9250051928                  Gas           Non Aggregation - OH   DTE             910008681421                Gas           Non Aggregation - MI
DUKE         8330041220                  Gas           Non Aggregation - OH   DTE             910020180410                Gas           Non Aggregation - MI
DUKE         6990039620                  Gas           Non Aggregation - OH   DTE             910007794563                Gas           Non Aggregation - MI
DUKE         3140210202                  Gas           Non Aggregation - OH   DTE             910007761679                Gas           Non Aggregation - MI
DUKE         9690220201                  Gas           Non Aggregation - OH   DTE             910011970050                Gas           Non Aggregation - MI
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   Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DUKE         8760006320                  Gas           Non Aggregation - OH   DTE             910017063678                Gas           Non Aggregation - MI
DUKE         0660042323                  Gas           Non Aggregation - OH   DTE             910017713223                Gas           Non Aggregation - MI
DUKE         8660024023                  Gas           Non Aggregation - OH   DTE             910018084368                Gas           Non Aggregation - MI
DUKE         1660029721                  Gas           Non Aggregation - OH   DTE             910019501923                Gas           Non Aggregation - MI
DUKE         7790011428                  Gas           Non Aggregation - OH   DTE             910031120801                Gas           Non Aggregation - MI
DUKE         6790031637                  Gas           Non Aggregation - OH   DTE             910013463237                Gas           Non Aggregation - MI
DUKE         4480070723                  Gas           Non Aggregation - OH   DTE             910020409611                Gas           Non Aggregation - MI
DUKE         6620008621                  Gas           Non Aggregation - OH   DTE             910006613723                Gas           Non Aggregation - MI
DUKE         7500224103                  Gas           Non Aggregation - OH   DTE             910005479274                Gas           Non Aggregation - MI
DUKE         4810057821                  Gas           Non Aggregation - OH   DTE             910023314768                Gas           Non Aggregation - MI
DUKE         5250051221                  Gas           Non Aggregation - OH   DTE             910005431580                Gas           Non Aggregation - MI
DUKE         1050220702                  Gas           Non Aggregation - OH   DTE             910028317667                Gas           Non Aggregation - MI
DUKE         1370200304                  Gas           Non Aggregation - OH   DTE             910025637851                Gas           Non Aggregation - MI
DUKE         1830367202                  Gas           Non Aggregation - OH   DTE             910017070186                Gas           Non Aggregation - MI
DUKE         3130217102                  Gas           Non Aggregation - OH   DTE             910020009718                Gas           Non Aggregation - MI
DUKE         3680216807                  Gas           Non Aggregation - OH   DTE             910023938418                Gas           Non Aggregation - MI
DUKE         8980081525                  Gas           Non Aggregation - OH   DTE             910029813433                Gas           Non Aggregation - MI
DUKE         1870042221                  Gas           Non Aggregation - OH   DTE             910011021847                Gas           Non Aggregation - MI
DUKE         8970351502                  Gas           Non Aggregation - OH   DTE             910019302314                Gas           Non Aggregation - MI
DUKE         5510003321                  Gas           Non Aggregation - OH   DTE             910021387535                Gas           Non Aggregation - MI
DUKE         2030030920                  Gas           Non Aggregation - OH   DTE             910016054207                Gas           Non Aggregation - MI
DUKE         0600037821                  Gas           Non Aggregation - OH   DTE             910014982433                Gas           Non Aggregation - MI
DUKE         7950012520                  Gas           Non Aggregation - OH   DTE             910018622126                Gas           Non Aggregation - MI
DUKE         3670026522                  Gas           Non Aggregation - OH   DTE             910017676420                Gas           Non Aggregation - MI
DUKE         1590207902                  Gas           Non Aggregation - OH   DTE             910030661359                Gas           Non Aggregation - MI
DUKE         5160365802                  Gas           Non Aggregation - OH   DTE             910021151758                Gas           Non Aggregation - MI
DUKE         1520042721                  Gas           Non Aggregation - OH   DTE             910022742993                Gas           Non Aggregation - MI
DUKE         7970060620                  Gas           Non Aggregation - OH   DTE             910016989402                Gas           Non Aggregation - MI
DUKE         6240059920                  Gas           Non Aggregation - OH   DTE             910019606425                Gas           Non Aggregation - MI
DUKE         4020031620                  Gas           Non Aggregation - OH   DTE             910018217729                Gas           Non Aggregation - MI
DUKE         4860022421                  Gas           Non Aggregation - OH   DTE             910024488363                Gas           Non Aggregation - MI
DUKE         7860027922                  Gas           Non Aggregation - OH   DTE             910018028217                Gas           Non Aggregation - MI
DUKE         6780008926                  Gas           Non Aggregation - OH   DTE             910018605774                Gas           Non Aggregation - MI
DUKE         9190203303                  Gas           Non Aggregation - OH   DTE             910019113349                Gas           Non Aggregation - MI
DUKE         9470365802                  Gas           Non Aggregation - OH   DTE             910024054884                Gas           Non Aggregation - MI
DUKE         8030070221                  Gas           Non Aggregation - OH   DTE             910023110588                Gas           Non Aggregation - MI
DUKE         7650038921                  Gas           Non Aggregation - OH   DTE             910025940339                Gas           Non Aggregation - MI
DUKE         6500055422                  Gas           Non Aggregation - OH   DTE             910027776715                Gas           Non Aggregation - MI
DUKE         3780011621                  Gas           Non Aggregation - OH   DTE             910027634260                Gas           Non Aggregation - MI
DUKE         1040367002                  Gas           Non Aggregation - OH   DTE             910026808865                Gas           Non Aggregation - MI
DUKE         1670200903                  Gas           Non Aggregation - OH   DTE             910019792787                Gas           Non Aggregation - MI
DUKE         4060032621                  Gas           Non Aggregation - OH   DTE             910022952022                Gas           Non Aggregation - MI
DUKE         0710056522                  Gas           Non Aggregation - OH   DTE             910024702847                Gas           Non Aggregation - MI
DUKE         9610056522                  Gas           Non Aggregation - OH   DTE             910015697592                Gas           Non Aggregation - MI
DUKE         0140035321                  Gas           Non Aggregation - OH   DTE             910020470589                Gas           Non Aggregation - MI
DUKE         7390029126                  Gas           Non Aggregation - OH   DTE             910020052270                Gas           Non Aggregation - MI
DUKE         8850015920                  Gas           Non Aggregation - OH   DTE             910018246447                Gas           Non Aggregation - MI
DUKE         9250038420                  Gas           Non Aggregation - OH   DTE             910005198809                Gas           Non Aggregation - MI
DUKE         1150001222                  Gas           Non Aggregation - OH   DTE             910021221387                Gas           Non Aggregation - MI
DUKE         3820039120                  Gas           Non Aggregation - OH   DTE             910021737283                Gas           Non Aggregation - MI
DUKE         4010052121                  Gas           Non Aggregation - OH   DTE             910006362099                Gas           Non Aggregation - MI
DUKE         9180038322                  Gas           Non Aggregation - OH   DTE             910006670848                Gas           Non Aggregation - MI
DUKE         8620044825                  Gas           Non Aggregation - OH   DTE             910007481732                Gas           Non Aggregation - MI
DUKE         5640063021                  Gas           Non Aggregation - OH   DTE             910009999277                Gas           Non Aggregation - MI
DUKE         7380038221                  Gas           Non Aggregation - OH   DTE             910011901840                Gas           Non Aggregation - MI
DUKE         5030074222                  Gas           Non Aggregation - OH   DTE             910016609851                Gas           Non Aggregation - MI
DUKE         0200018620                  Gas           Non Aggregation - OH   DTE             910017513466                Gas           Non Aggregation - MI
DUKE         1250004421                  Gas           Non Aggregation - OH   DTE             910019304310                Gas           Non Aggregation - MI
DUKE         4240207702                  Gas           Non Aggregation - OH   DTE             910019967215                Gas           Non Aggregation - MI
DUKE         8950004224                  Gas           Non Aggregation - OH   DTE             910019100445                Gas           Non Aggregation - MI
DUKE         1890009823                  Gas           Non Aggregation - OH   DTE             910028573806                Gas           Non Aggregation - MI
DUKE         7480002420                  Gas           Non Aggregation - OH   DTE             910022759484                Gas           Non Aggregation - MI
DUKE         5040030821                  Gas           Non Aggregation - OH   DTE             910012224069                Gas           Non Aggregation - MI
DUKE         6260001321                  Gas           Non Aggregation - OH   DTE             910021127352                Gas           Non Aggregation - MI
DUKE         8450077021                  Gas           Non Aggregation - OH   DTE             910020580460                Gas           Non Aggregation - MI
DUKE         0640078328                  Gas           Non Aggregation - OH   DTE             910007622855                Gas           Non Aggregation - MI
DUKE         2790060724                  Gas           Non Aggregation - OH   DTE             910012777892                Gas           Non Aggregation - MI
DUKE         1400024520                  Gas           Non Aggregation - OH   DTE             910026478750                Gas           Non Aggregation - MI
DUKE         7650202701                  Gas           Non Aggregation - OH   DTE             910006141253                Gas           Non Aggregation - MI
DUKE         3800222102                  Gas           Non Aggregation - OH   DTE             910009650235                Gas           Non Aggregation - MI
DUKE         7850060620                  Gas           Non Aggregation - OH   DTE             910012567475                Gas           Non Aggregation - MI
DUKE         6650019824                  Gas           Non Aggregation - OH   DTE             910012858387                Gas           Non Aggregation - MI
DUKE         0420064320                  Gas           Non Aggregation - OH   DTE             910018547059                Gas           Non Aggregation - MI
DUKE         9320064321                  Gas           Non Aggregation - OH   DTE             910017859836                Gas           Non Aggregation - MI
DUKE         6430086720                  Gas           Non Aggregation - OH   DTE             910011046695                Gas           Non Aggregation - MI
DUKE         8090202702                  Gas           Non Aggregation - OH   DTE             910016582298                Gas           Non Aggregation - MI
DUKE         7680026222                  Gas           Non Aggregation - OH   DTE             910017681958                Gas           Non Aggregation - MI
DUKE         4320026521                  Gas           Non Aggregation - OH   DTE             910017392192                Gas           Non Aggregation - MI
DUKE         1010062722                  Gas           Non Aggregation - OH   DTE             910018537746                Gas           Non Aggregation - MI
DUKE         7770217603                  Gas           Non Aggregation - OH   DTE             910017671108                Gas           Non Aggregation - MI
DUKE         9400044922                  Gas           Non Aggregation - OH   DTE             910020938064                Gas           Non Aggregation - MI
DUKE         0480088622                  Gas           Non Aggregation - OH   DTE             910019789494                Gas           Non Aggregation - MI
DUKE         3820360402                  Gas           Non Aggregation - OH   DTE             910020456992                Gas           Non Aggregation - MI
DUKE         5560045621                  Gas           Non Aggregation - OH   DTE             910026446104                Gas           Non Aggregation - MI
DUKE         8980011622                  Gas           Non Aggregation - OH   DTE             910010010411                Gas           Non Aggregation - MI
DUKE         7920024321                  Gas           Non Aggregation - OH   DTE             910025851403                Gas           Non Aggregation - MI
DUKE         7270026422                  Gas           Non Aggregation - OH   DTE             910017270828                Gas           Non Aggregation - MI
DUKE         5860064220                  Gas           Non Aggregation - OH   DTE             910009165242                Gas           Non Aggregation - MI
DUKE         3350038924                  Gas           Non Aggregation - OH   DTE             910021097423                Gas           Non Aggregation - MI
DUKE         3650054923                  Gas           Non Aggregation - OH   DTE             910019324292                Gas           Non Aggregation - MI
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   Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DUKE         3800005524                  Gas           Non Aggregation - OH   DTE             910019077445                Gas           Non Aggregation - MI
DUKE         1170072222                  Gas           Non Aggregation - OH   DTE             910000466896                Gas           Non Aggregation - MI
DUKE         9620084522                  Gas           Non Aggregation - OH   DTE             910019979723                Gas           Non Aggregation - MI
DUKE         4820084320                  Gas           Non Aggregation - OH   DTE             910020451027                Gas           Non Aggregation - MI
DUKE         7520046125                  Gas           Non Aggregation - OH   DTE             910016943482                Gas           Non Aggregation - MI
DUKE         3010032322                  Gas           Non Aggregation - OH   DTE             910016521924                Gas           Non Aggregation - MI
DUKE         4040001325                  Gas           Non Aggregation - OH   DTE             910023573793                Gas           Non Aggregation - MI
DUKE         1070045725                  Gas           Non Aggregation - OH   DTE             910027440189                Gas           Non Aggregation - MI
DUKE         4330032421                  Gas           Non Aggregation - OH   DTE             910021340252                Gas           Non Aggregation - MI
DUKE         5600080621                  Gas           Non Aggregation - OH   DTE             910018605121                Gas           Non Aggregation - MI
DUKE         1880086022                  Gas           Non Aggregation - OH   DTE             910017506825                Gas           Non Aggregation - MI
DUKE         8710029720                  Gas           Non Aggregation - OH   DTE             910021987649                Gas           Non Aggregation - MI
DUKE         2980014824                  Gas           Non Aggregation - OH   DTE             910020504841                Gas           Non Aggregation - MI
DUKE         2970034921                  Gas           Non Aggregation - OH   DTE             910019052943                Gas           Non Aggregation - MI
DUKE         6670209601                  Gas           Non Aggregation - OH   DTE             910020150959                Gas           Non Aggregation - MI
DUKE         0830044422                  Gas           Non Aggregation - OH   DTE             910001904242                Gas           Non Aggregation - MI
DUKE         3930057121                  Gas           Non Aggregation - OH   DTE             910028560118                Gas           Non Aggregation - MI
DUKE         5320217402                  Gas           Non Aggregation - OH   DTE             910030682272                Gas           Non Aggregation - MI
DUKE         9440365901                  Gas           Non Aggregation - OH   DTE             910007461809                Gas           Non Aggregation - MI
DUKE         8410044720                  Gas           Non Aggregation - OH   DTE             910032067084                Gas           Non Aggregation - MI
DUKE         2940050720                  Gas           Non Aggregation - OH   DTE             910013035902                Gas           Non Aggregation - MI
DUKE         0300008320                  Gas           Non Aggregation - OH   DTE             910009789256                Gas           Non Aggregation - MI
DUKE         5190045320                  Gas           Non Aggregation - OH   DTE             910023125651                Gas           Non Aggregation - MI
DUKE         2220025821                  Gas           Non Aggregation - OH   DTE             910032912560                Gas           Non Aggregation - MI
DUKE         7810064221                  Gas           Non Aggregation - OH   DTE             910019956549                Gas           Non Aggregation - MI
DUKE         4550020230                  Gas           Non Aggregation - OH   DTE             910030682876                Gas           Non Aggregation - MI
DUKE         0350068022                  Gas           Non Aggregation - OH   DTE             910019806900                Gas           Non Aggregation - MI
DUKE         8200007422                  Gas           Non Aggregation - OH   DTE             910019817089                Gas           Non Aggregation - MI
DUKE         7690011127                  Gas           Non Aggregation - OH   DTE             910012005971                Gas           Non Aggregation - MI
DUKE         8690011124                  Gas           Non Aggregation - OH   DTE             910020531158                Gas           Non Aggregation - MI
DUKE         9690011124                  Gas           Non Aggregation - OH   DTE             910032202947                Gas           Non Aggregation - MI
DUKE         5050048522                  Gas           Non Aggregation - OH   DTE             910012175584                Gas           Non Aggregation - MI
DUKE         2400002721                  Gas           Non Aggregation - OH   DTE             910021817416                Gas           Non Aggregation - MI
DUKE         5700084823                  Gas           Non Aggregation - OH   DTE             910019194307                Gas           Non Aggregation - MI
DUKE         1620007821                  Gas           Non Aggregation - OH   DTE             910017417171                Gas           Non Aggregation - MI
DUKE         3580045621                  Gas           Non Aggregation - OH   DTE             910028764587                Gas           Non Aggregation - MI
DUKE         7160012720                  Gas           Non Aggregation - OH   DTE             910017103441                Gas           Non Aggregation - MI
DUKE         4380051521                  Gas           Non Aggregation - OH   DTE             910005940986                Gas           Non Aggregation - MI
DUKE         9230056624                  Gas           Non Aggregation - OH   DTE             910005941125                Gas           Non Aggregation - MI
DUKE         2470009720                  Gas           Non Aggregation - OH   DTE             910011396611                Gas           Non Aggregation - MI
DUKE         7290048839                  Gas           Non Aggregation - OH   DTE             910024368995                Gas           Non Aggregation - MI
DUKE         8290048834                  Gas           Non Aggregation - OH   DTE             910028151421                Gas           Non Aggregation - MI
DUKE         6790042720                  Gas           Non Aggregation - OH   DTE             910015322928                Gas           Non Aggregation - MI
DUKE         1270037723                  Gas           Non Aggregation - OH   DTE             910030666804                Gas           Non Aggregation - MI
DUKE         6370055926                  Gas           Non Aggregation - OH   DTE             910032496747                Gas           Non Aggregation - MI
DUKE         2130075324                  Gas           Non Aggregation - OH   DTE             910019614379                Gas           Non Aggregation - MI
DUKE         4450056623                  Gas           Non Aggregation - OH   DTE             910018298190                Gas           Non Aggregation - MI
DUKE         1330366802                  Gas           Non Aggregation - OH   DTE             910006248876                Gas           Non Aggregation - MI
DUKE         3720040025                  Gas           Non Aggregation - OH   DTE             910004923207                Gas           Non Aggregation - MI
DUKE         3200204701                  Gas           Non Aggregation - OH   DTE             910005626015                Gas           Non Aggregation - MI
DUKE         4320035925                  Gas           Non Aggregation - OH   DTE             910012905287                Gas           Non Aggregation - MI
DUKE         5730030924                  Gas           Non Aggregation - OH   DTE             910017792474                Gas           Non Aggregation - MI
DUKE         1420210803                  Gas           Non Aggregation - OH   DTE             910017555228                Gas           Non Aggregation - MI
DUKE         7520051726                  Gas           Non Aggregation - OH   DTE             910020557138                Gas           Non Aggregation - MI
DUKE         7570036021                  Gas           Non Aggregation - OH   DTE             910018000406                Gas           Non Aggregation - MI
DUKE         7480042321                  Gas           Non Aggregation - OH   DTE             910018000539                Gas           Non Aggregation - MI
DUKE         0660213904                  Gas           Non Aggregation - OH   DTE             910030781132                Gas           Non Aggregation - MI
DUKE         8120006020                  Gas           Non Aggregation - OH   DTE             910031183833                Gas           Non Aggregation - MI
DUKE         5930356901                  Gas           Non Aggregation - OH   DTE             910012629333                Gas           Non Aggregation - MI
DUKE         2690360501                  Gas           Non Aggregation - OH   DTE             910019741958                Gas           Non Aggregation - MI
DUKE         3450203002                  Gas           Non Aggregation - OH   DTE             910011511250                Gas           Non Aggregation - MI
DUKE         1560034021                  Gas           Non Aggregation - OH   DTE             910010187227                Gas           Non Aggregation - MI
DUKE         6640214502                  Gas           Non Aggregation - OH   DTE             910032832537                Gas           Non Aggregation - MI
DUKE         9110040021                  Gas           Non Aggregation - OH   DTE             910013465661                Gas           Non Aggregation - MI
DUKE         5360017921                  Gas           Non Aggregation - OH   DTE             910014102123                Gas           Non Aggregation - MI
DUKE         2560060820                  Gas           Non Aggregation - OH   DTE             910013917232                Gas           Non Aggregation - MI
DUKE         4320033422                  Gas           Non Aggregation - OH   DTE             910020087219                Gas           Non Aggregation - MI
DUKE         9200215802                  Gas           Non Aggregation - OH   DTE             910027507714                Gas           Non Aggregation - MI
DUKE         9160224406                  Gas           Non Aggregation - OH   DTE             910031693906                Gas           Non Aggregation - MI
DUKE         9700007921                  Gas           Non Aggregation - OH   DTE             910032660839                Gas           Non Aggregation - MI
DUKE         8320088521                  Gas           Non Aggregation - OH   DTE             910012833653                Gas           Non Aggregation - MI
DUKE         9100036121                  Gas           Non Aggregation - OH   DTE             910007929201                Gas           Non Aggregation - MI
DUKE         0380217202                  Gas           Non Aggregation - OH   DTE             910020842316                Gas           Non Aggregation - MI
DUKE         8240030521                  Gas           Non Aggregation - OH   DTE             910023651789                Gas           Non Aggregation - MI
DUKE         9670210905                  Gas           Non Aggregation - OH   DTE             910021346515                Gas           Non Aggregation - MI
DUKE         0680210303                  Gas           Non Aggregation - OH   DTE             910028406049                Gas           Non Aggregation - MI
DUKE         3760042121                  Gas           Non Aggregation - OH   DTE             910011272614                Gas           Non Aggregation - MI
DUKE         4900224303                  Gas           Non Aggregation - OH   DTE             910025063900                Gas           Non Aggregation - MI
DUKE         9540017934                  Gas           Non Aggregation - OH   DTE             910010658714                Gas           Non Aggregation - MI
DUKE         6580011622                  Gas           Non Aggregation - OH   DTE             910010692796                Gas           Non Aggregation - MI
DUKE         2600007922                  Gas           Non Aggregation - OH   DTE             910011292331                Gas           Non Aggregation - MI
DUKE         6500206002                  Gas           Non Aggregation - OH   DTE             910026381368                Gas           Non Aggregation - MI
DUKE         3870042720                  Gas           Non Aggregation - OH   DTE             910024872111                Gas           Non Aggregation - MI
DUKE         1650222503                  Gas           Non Aggregation - OH   DTE             910028247443                Gas           Non Aggregation - MI
DUKE         9760351902                  Gas           Non Aggregation - OH   DTE             910032650491                Gas           Non Aggregation - MI
DUKE         0210055420                  Gas           Non Aggregation - OH   DTE             910017902362                Gas           Non Aggregation - MI
DUKE         9950064323                  Gas           Non Aggregation - OH   DTE             910022929509                Gas           Non Aggregation - MI
DUKE         6750358503                  Gas           Non Aggregation - OH   DTE             910005654207                Gas           Non Aggregation - MI
DUKE         8280011322                  Gas           Non Aggregation - OH   DTE             910006274609                Gas           Non Aggregation - MI
DUKE         0200048621                  Gas           Non Aggregation - OH   DTE             910009385618                Gas           Non Aggregation - MI
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
DUKE            8590050126                  Gas           Non Aggregation - OH   DTE             910020564712                Gas           Non Aggregation - MI
DUKE            2280029726                  Gas           Non Aggregation - OH   DTE             910018651885                Gas           Non Aggregation - MI
DUKE            2940051921                  Gas           Non Aggregation - OH   DTE             910031479447                Gas           Non Aggregation - MI
DUKE            3190039222                  Gas           Non Aggregation - OH   DTE             910014789267                Gas           Non Aggregation - MI
DUKE            9030013420                  Gas           Non Aggregation - OH   DTE             910018503466                Gas           Non Aggregation - MI
DUKE            3950223401                  Gas           Non Aggregation - OH   DTE             910018271064                Gas           Non Aggregation - MI
DUKE            2020074520                  Gas           Non Aggregation - OH   DTE             910019242718                Gas           Non Aggregation - MI
DUKE            2280053825                  Gas           Non Aggregation - OH   DTE             910029593449                Gas           Non Aggregation - MI
DUKE            0210063421                  Gas           Non Aggregation - OH   DTE             910007146764                Gas           Non Aggregation - MI
DUKE            5090204904                  Gas           Non Aggregation - OH   DTE             910015689391                Gas           Non Aggregation - MI
DUKE            9460051422                  Gas           Non Aggregation - OH   DTE             910021002936                Gas           Non Aggregation - MI
DUKE            6570008021                  Gas           Non Aggregation - OH   DTE             910027012905                Gas           Non Aggregation - MI
DUKE            7280358601                  Gas           Non Aggregation - OH   DTE             910020953378                Gas           Non Aggregation - MI
DUKE            4870027526                  Gas           Non Aggregation - OH   DTE             910019783893                Gas           Non Aggregation - MI
DUKE            9200087821                  Gas           Non Aggregation - OH   DTE             910019458579                Gas           Non Aggregation - MI
DUKE            0300087821                  Gas           Non Aggregation - OH   DTE             910021933213                Gas           Non Aggregation - MI
DUKE            6030076820                  Gas           Non Aggregation - OH   DTE             910030626402                Gas           Non Aggregation - MI
DUKE            7290050820                  Gas           Non Aggregation - OH   DTE             910014968572                Gas           Non Aggregation - MI
DUKE            8230038522                  Gas           Non Aggregation - OH   DTE             910010820090                Gas           Non Aggregation - MI
DUKE            4120042640                  Gas           Non Aggregation - OH   DTE             910010820280                Gas           Non Aggregation - MI
DUKE            4750042537                  Gas           Non Aggregation - OH   DTE             910026505081                Gas           Non Aggregation - MI
DUKE            5260042738                  Gas           Non Aggregation - OH   DTE             910033015504                Gas           Non Aggregation - MI
DUKE            5830042645                  Gas           Non Aggregation - OH   DTE             910016105538                Gas           Non Aggregation - MI
DUKE            6430006425                  Gas           Non Aggregation - OH   DTE             910019141738                Gas           Non Aggregation - MI
DUKE            7130042633                  Gas           Non Aggregation - OH   DTE             910021496609                Gas           Non Aggregation - MI
DUKE            7260042744                  Gas           Non Aggregation - OH   DTE             910026696336                Gas           Non Aggregation - MI
DUKE            7360075135                  Gas           Non Aggregation - OH   DTE             910026007914                Gas           Non Aggregation - MI
DUKE            7650042538                  Gas           Non Aggregation - OH   DTE             910008200164                Gas           Non Aggregation - MI
DUKE            9650042540                  Gas           Non Aggregation - OH   DTE             910010833002                Gas           Non Aggregation - MI
DUKE            2650084122                  Gas           Non Aggregation - OH   DTE             910011338928                Gas           Non Aggregation - MI
DUKE            2960216701                  Gas           Non Aggregation - OH   DTE             910010140978                Gas           Non Aggregation - MI
DUKE            7560042122                  Gas           Non Aggregation - OH   DTE             910008949018                Gas           Non Aggregation - MI
DUKE            6400208503                  Gas           Non Aggregation - OH   DTE             910027558683                Gas           Non Aggregation - MI
DUKE            3250054823                  Gas           Non Aggregation - OH   DTE             910012599254                Gas           Non Aggregation - MI
COH             200198620010                Gas           Non Aggregation - OH   DTE             910014985246                Gas           Non Aggregation - MI
COH             157239770024                Gas           Non Aggregation - OH   DTE             910017050006                Gas           Non Aggregation - MI
COH             173862560045                Gas           Non Aggregation - OH   DTE             910008261075                Gas           Non Aggregation - MI
COH             175097430070                Gas           Non Aggregation - OH   DTE             910012113999                Gas           Non Aggregation - MI
DUKE            3470079024                  Gas           Non Aggregation - OH   DTE             910027738277                Gas           Non Aggregation - MI
COH             109859350035                Gas           Non Aggregation - OH   DTE             910010785319                Gas           Non Aggregation - MI
COH             111007650015                Gas           Non Aggregation - OH   DTE             910023692312                Gas           Non Aggregation - MI
COH             111023500012                Gas           Non Aggregation - OH   DTE             910020388005                Gas           Non Aggregation - MI
COH             111132520026                Gas           Non Aggregation - OH   DTE             910009317090                Gas           Non Aggregation - MI
COH             111172770011                Gas           Non Aggregation - OH   DTE             910008017279                Gas           Non Aggregation - MI
COH             112656600019                Gas           Non Aggregation - OH   DTE             910014923411                Gas           Non Aggregation - MI
COH             118349860029                Gas           Non Aggregation - OH   DTE             910017846247                Gas           Non Aggregation - MI
COH             122162340037                Gas           Non Aggregation - OH   DTE             910020244240                Gas           Non Aggregation - MI
COH             122207230025                Gas           Non Aggregation - OH   DTE             910019619147                Gas           Non Aggregation - MI
COH             122909520026                Gas           Non Aggregation - OH   DTE             910023553621                Gas           Non Aggregation - MI
COH             123934000012                Gas           Non Aggregation - OH   DTE             910027995471                Gas           Non Aggregation - MI
COH             124148630025                Gas           Non Aggregation - OH   DTE             910027502681                Gas           Non Aggregation - MI
COH             125277850016                Gas           Non Aggregation - OH   DTE             910012480844                Gas           Non Aggregation - MI
COH             131562240011                Gas           Non Aggregation - OH   DTE             910030440770                Gas           Non Aggregation - MI
COH             134294440033                Gas           Non Aggregation - OH   DTE             910021265145                Gas           Non Aggregation - MI
COH             139310880021                Gas           Non Aggregation - OH   DTE             910004965166                Gas           Non Aggregation - MI
COH             139506340010                Gas           Non Aggregation - OH   DTE             910020647251                Gas           Non Aggregation - MI
COH             144743850032                Gas           Non Aggregation - OH   DTE             910018909200                Gas           Non Aggregation - MI
COH             147193780013                Gas           Non Aggregation - OH   DTE             910032629040                Gas           Non Aggregation - MI
COH             150037980043                Gas           Non Aggregation - OH   DTE             910031614183                Gas           Non Aggregation - MI
COH             150836200042                Gas           Non Aggregation - OH   DTE             910006344121                Gas           Non Aggregation - MI
COH             152514330036                Gas           Non Aggregation - OH   DTE             910008432668                Gas           Non Aggregation - MI
COH             154734610011                Gas           Non Aggregation - OH   DTE             910010475887                Gas           Non Aggregation - MI
COH             155151040016                Gas           Non Aggregation - OH   DTE             910011398872                Gas           Non Aggregation - MI
COH             162099260040                Gas           Non Aggregation - OH   DTE             910011751666                Gas           Non Aggregation - MI
COH             175685950010                Gas           Non Aggregation - OH   DTE             910014382048                Gas           Non Aggregation - MI
COH             177286440011                Gas           Non Aggregation - OH   DTE             910014424428                Gas           Non Aggregation - MI
COH             186779520018                Gas           Non Aggregation - OH   DTE             910015371180                Gas           Non Aggregation - MI
COH             189144860171                Gas           Non Aggregation - OH   DTE             910018724922                Gas           Non Aggregation - MI
COH             189476600010                Gas           Non Aggregation - OH   DTE             910020159059                Gas           Non Aggregation - MI
COH             110499090013                Gas           Non Aggregation - OH   DTE             910020636817                Gas           Non Aggregation - MI
COH             108889260014                Gas           Non Aggregation - OH   DTE             910021502711                Gas           Non Aggregation - MI
COH             109622100010                Gas           Non Aggregation - OH   DTE             910006250922                Gas           Non Aggregation - MI
COH             109690830014                Gas           Non Aggregation - OH   DTE             910018241521                Gas           Non Aggregation - MI
COH             122045790013                Gas           Non Aggregation - OH   DTE             910022093546                Gas           Non Aggregation - MI
COH             113284080044                Gas           Non Aggregation - OH   DTE             910022760268                Gas           Non Aggregation - MI
COH             111155640023                Gas           Non Aggregation - OH   DTE             910024057283                Gas           Non Aggregation - MI
COH             169242160012                Gas           Non Aggregation - OH   DTE             910025558586                Gas           Non Aggregation - MI
COH             109646300027                Gas           Non Aggregation - OH   DTE             910018365635                Gas           Non Aggregation - MI
COH             119415140019                Gas           Non Aggregation - OH   DTE             910018403741                Gas           Non Aggregation - MI
COH             137999460014                Gas           Non Aggregation - OH   DTE             910020162392                Gas           Non Aggregation - MI
COH             141370560019                Gas           Non Aggregation - OH   DTE             910016525552                Gas           Non Aggregation - MI
COH             109479190026                Gas           Non Aggregation - OH   DTE             910033635509                Gas           Non Aggregation - MI
COH             119858860010                Gas           Non Aggregation - OH   DTE             910020918975                Gas           Non Aggregation - MI
COH             113587260044                Gas           Non Aggregation - OH   DTE             910018327056                Gas           Non Aggregation - MI
COH             115888850013                Gas           Non Aggregation - OH   DTE             910009121609                Gas           Non Aggregation - MI
COH             143722810026                Gas           Non Aggregation - OH   DTE             910005239595                Gas           Non Aggregation - MI
COH             128846041417                Gas           Non Aggregation - OH   DTE             910028673861                Gas           Non Aggregation - MI
COH             110274690013                Gas           Non Aggregation - OH   DTE             910019156041                Gas           Non Aggregation - MI
COH             119520180018                Gas           Non Aggregation - OH   DTE             910020571949                Gas           Non Aggregation - MI
COH             136101640072                Gas           Non Aggregation - OH   DTE             910008530164                Gas           Non Aggregation - MI
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             122850560014                Gas           Non Aggregation - OH   DTE             910028801587                Gas           Non Aggregation - MI
COH             122850550025                Gas           Non Aggregation - OH   DTE             910019201755                Gas           Non Aggregation - MI
COH             111257390011                Gas           Non Aggregation - OH   DTE             910019382852                Gas           Non Aggregation - MI
COH             122689200012                Gas           Non Aggregation - OH   DTE             910019382704                Gas           Non Aggregation - MI
COH             143089130014                Gas           Non Aggregation - OH   DTE             910020523643                Gas           Non Aggregation - MI
COH             147139840014                Gas           Non Aggregation - OH   DTE             910012403259                Gas           Non Aggregation - MI
COH             115054050027                Gas           Non Aggregation - OH   DTE             910021387089                Gas           Non Aggregation - MI
COH             110427700015                Gas           Non Aggregation - OH   DTE             910021684857                Gas           Non Aggregation - MI
COH             124967790080                Gas           Non Aggregation - OH   DTE             910019399336                Gas           Non Aggregation - MI
COH             110349380019                Gas           Non Aggregation - OH   DTE             910016853855                Gas           Non Aggregation - MI
COH             114965360013                Gas           Non Aggregation - OH   DTE             910021792049                Gas           Non Aggregation - MI
COH             115067860048                Gas           Non Aggregation - OH   DTE             910033014168                Gas           Non Aggregation - MI
COH             115356200016                Gas           Non Aggregation - OH   DTE             910032453789                Gas           Non Aggregation - MI
COH             115356200034                Gas           Non Aggregation - OH   DTE             910032639130                Gas           Non Aggregation - MI
COH             115356200043                Gas           Non Aggregation - OH   DTE             910018038935                Gas           Non Aggregation - MI
COH             112278160014                Gas           Non Aggregation - OH   DTE             910012314472                Gas           Non Aggregation - MI
COH             112575270011                Gas           Non Aggregation - OH   DTE             910031169790                Gas           Non Aggregation - MI
COH             112995820015                Gas           Non Aggregation - OH   DTE             910031169915                Gas           Non Aggregation - MI
COH             113407210026                Gas           Non Aggregation - OH   DTE             910031170038                Gas           Non Aggregation - MI
COH             113550050018                Gas           Non Aggregation - OH   DTE             910013924022                Gas           Non Aggregation - MI
COH             113837390019                Gas           Non Aggregation - OH   DTE             910018426163                Gas           Non Aggregation - MI
COH             114791560010                Gas           Non Aggregation - OH   DTE             910006909865                Gas           Non Aggregation - MI
COH             114791770016                Gas           Non Aggregation - OH   DTE             910020138988                Gas           Non Aggregation - MI
COH             117126190023                Gas           Non Aggregation - OH   DTE             910020397170                Gas           Non Aggregation - MI
COH             111434600029                Gas           Non Aggregation - OH   DTE             910025117854                Gas           Non Aggregation - MI
COH             117980190014                Gas           Non Aggregation - OH   DTE             910032763369                Gas           Non Aggregation - MI
COH             117997210023                Gas           Non Aggregation - OH   DTE             910025554833                Gas           Non Aggregation - MI
COH             118767250012                Gas           Non Aggregation - OH   DTE             910025166604                Gas           Non Aggregation - MI
COH             119023810028                Gas           Non Aggregation - OH   DTE             910021800081                Gas           Non Aggregation - MI
COH             131936300024                Gas           Non Aggregation - OH   DTE             910019537414                Gas           Non Aggregation - MI
COH             131982000011                Gas           Non Aggregation - OH   DTE             910018762401                Gas           Non Aggregation - MI
COH             132607020029                Gas           Non Aggregation - OH   DTE             910029205358                Gas           Non Aggregation - MI
COH             129464980054                Gas           Non Aggregation - OH   DTE             910019719293                Gas           Non Aggregation - MI
COH             130263230018                Gas           Non Aggregation - OH   DTE             910017284159                Gas           Non Aggregation - MI
COH             131229780041                Gas           Non Aggregation - OH   DTE             910016325102                Gas           Non Aggregation - MI
COH             133509210026                Gas           Non Aggregation - OH   DTE             910016079782                Gas           Non Aggregation - MI
COH             134102480012                Gas           Non Aggregation - OH   DTE             910017131624                Gas           Non Aggregation - MI
COH             122984160024                Gas           Non Aggregation - OH   DTE             910020580486                Gas           Non Aggregation - MI
COH             124537960012                Gas           Non Aggregation - OH   DTE             910018210401                Gas           Non Aggregation - MI
COH             124661280012                Gas           Non Aggregation - OH   DTE             910019915610                Gas           Non Aggregation - MI
COH             125180770018                Gas           Non Aggregation - OH   DTE             910023000250                Gas           Non Aggregation - MI
COH             125507770014                Gas           Non Aggregation - OH   DTE             910017166018                Gas           Non Aggregation - MI
COH             125622550016                Gas           Non Aggregation - OH   DTE             910019547454                Gas           Non Aggregation - MI
COH             125716480012                Gas           Non Aggregation - OH   DTE             910017664053                Gas           Non Aggregation - MI
COH             134523810047                Gas           Non Aggregation - OH   DTE             910019422658                Gas           Non Aggregation - MI
COH             134563980075                Gas           Non Aggregation - OH   DTE             910026623744                Gas           Non Aggregation - MI
COH             134689300017                Gas           Non Aggregation - OH   DTE             910018056200                Gas           Non Aggregation - MI
COH             134717840022                Gas           Non Aggregation - OH   DTE             910018388256                Gas           Non Aggregation - MI
COH             135030340013                Gas           Non Aggregation - OH   DTE             910017270695                Gas           Non Aggregation - MI
COH             119195680014                Gas           Non Aggregation - OH   DTE             910019799840                Gas           Non Aggregation - MI
COH             119558300013                Gas           Non Aggregation - OH   DTE             910018181008                Gas           Non Aggregation - MI
COH             119953940039                Gas           Non Aggregation - OH   DTE             910018926626                Gas           Non Aggregation - MI
COH             120142320017                Gas           Non Aggregation - OH   DTE             910019093897                Gas           Non Aggregation - MI
COH             120152260019                Gas           Non Aggregation - OH   DTE             910019015742                Gas           Non Aggregation - MI
COH             120158290011                Gas           Non Aggregation - OH   DTE             910016343659                Gas           Non Aggregation - MI
COH             120158300018                Gas           Non Aggregation - OH   DTE             910017830431                Gas           Non Aggregation - MI
COH             120158310016                Gas           Non Aggregation - OH   DTE             910011954294                Gas           Non Aggregation - MI
COH             120158320014                Gas           Non Aggregation - OH   DTE             910008162612                Gas           Non Aggregation - MI
COH             120158330012                Gas           Non Aggregation - OH   DTE             910020195699                Gas           Non Aggregation - MI
COH             120158340010                Gas           Non Aggregation - OH   DTE             910023393473                Gas           Non Aggregation - MI
COH             120158360016                Gas           Non Aggregation - OH   DTE             910025847062                Gas           Non Aggregation - MI
COH             120158370014                Gas           Non Aggregation - OH   DTE             910019993542                Gas           Non Aggregation - MI
COH             120158380012                Gas           Non Aggregation - OH   DTE             910028036291                Gas           Non Aggregation - MI
COH             121936610012                Gas           Non Aggregation - OH   DTE             910019256528                Gas           Non Aggregation - MI
COH             121936620010                Gas           Non Aggregation - OH   DTE             910021489752                Gas           Non Aggregation - MI
COH             121939750026                Gas           Non Aggregation - OH   DTE             910017847500                Gas           Non Aggregation - MI
COH             122152310016                Gas           Non Aggregation - OH   DTE             910017356023                Gas           Non Aggregation - MI
COH             122152930016                Gas           Non Aggregation - OH   DTE             910020816468                Gas           Non Aggregation - MI
COH             122597770018                Gas           Non Aggregation - OH   DTE             910020499141                Gas           Non Aggregation - MI
COH             122663550013                Gas           Non Aggregation - OH   DTE             910018453373                Gas           Non Aggregation - MI
COH             140708440018                Gas           Non Aggregation - OH   DTE             910018482539                Gas           Non Aggregation - MI
COH             141651500042                Gas           Non Aggregation - OH   DTE             910021946561                Gas           Non Aggregation - MI
COH             141651500051                Gas           Non Aggregation - OH   DTE             910006929814                Gas           Non Aggregation - MI
COH             142942490047                Gas           Non Aggregation - OH   DTE             910025350372                Gas           Non Aggregation - MI
COH             143121900012                Gas           Non Aggregation - OH   DTE             910007000318                Gas           Non Aggregation - MI
COH             148746940015                Gas           Non Aggregation - OH   DTE             910008814618                Gas           Non Aggregation - MI
COH             148746940024                Gas           Non Aggregation - OH   DTE             910011395415                Gas           Non Aggregation - MI
COH             148842630016                Gas           Non Aggregation - OH   DTE             910023389935                Gas           Non Aggregation - MI
COH             149468750014                Gas           Non Aggregation - OH   DTE             910019719301                Gas           Non Aggregation - MI
COH             149500260017                Gas           Non Aggregation - OH   DTE             910019799634                Gas           Non Aggregation - MI
COH             159128630017                Gas           Non Aggregation - OH   DTE             910014153118                Gas           Non Aggregation - MI
COH             156552710014                Gas           Non Aggregation - OH   DTE             910022995294                Gas           Non Aggregation - MI
COH             156811450019                Gas           Non Aggregation - OH   DTE             910013668181                Gas           Non Aggregation - MI
COH             156811450028                Gas           Non Aggregation - OH   DTE             910013920863                Gas           Non Aggregation - MI
COH             136067480016                Gas           Non Aggregation - OH   DTE             910018989541                Gas           Non Aggregation - MI
COH             136617640015                Gas           Non Aggregation - OH   DTE             910017756669                Gas           Non Aggregation - MI
COH             137769420019                Gas           Non Aggregation - OH   DTE             910018767855                Gas           Non Aggregation - MI
COH             138567220027                Gas           Non Aggregation - OH   DTE             910020965372                Gas           Non Aggregation - MI
COH             138680200049                Gas           Non Aggregation - OH   DTE             910009650045                Gas           Non Aggregation - MI
COH             158712720010                Gas           Non Aggregation - OH   DTE             910018998351                Gas           Non Aggregation - MI
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             153722150014                Gas           Non Aggregation - OH   DTE             910017849803                Gas           Non Aggregation - MI
COH             153943460048                Gas           Non Aggregation - OH   DTE             910020272076                Gas           Non Aggregation - MI
COH             155455290010                Gas           Non Aggregation - OH   DTE             910019067370                Gas           Non Aggregation - MI
COH             155488350036                Gas           Non Aggregation - OH   DTE             910017823832                Gas           Non Aggregation - MI
COH             160704970011                Gas           Non Aggregation - OH   DTE             910018593152                Gas           Non Aggregation - MI
COH             150015690013                Gas           Non Aggregation - OH   DTE             910017330689                Gas           Non Aggregation - MI
COH             150468850010                Gas           Non Aggregation - OH   DTE             910016756363                Gas           Non Aggregation - MI
COH             151501050015                Gas           Non Aggregation - OH   DTE             910020539136                Gas           Non Aggregation - MI
COH             151637090010                Gas           Non Aggregation - OH   DTE             910023017619                Gas           Non Aggregation - MI
COH             151637180011                Gas           Non Aggregation - OH   DTE             910017775883                Gas           Non Aggregation - MI
COH             151637180039                Gas           Non Aggregation - OH   DTE             910017022807                Gas           Non Aggregation - MI
COH             152587720013                Gas           Non Aggregation - OH   DTE             910021606587                Gas           Non Aggregation - MI
COH             152701830016                Gas           Non Aggregation - OH   DTE             910018259283                Gas           Non Aggregation - MI
COH             114517720016                Gas           Non Aggregation - OH   DTE             910023818941                Gas           Non Aggregation - MI
COH             131610960017                Gas           Non Aggregation - OH   DTE             910019719657                Gas           Non Aggregation - MI
COH             139251690018                Gas           Non Aggregation - OH   DTE             910020574273                Gas           Non Aggregation - MI
COH             120286790015                Gas           Non Aggregation - OH   DTE             910020585949                Gas           Non Aggregation - MI
COH             125820970018                Gas           Non Aggregation - OH   DTE             910021495049                Gas           Non Aggregation - MI
COH             115586100190                Gas           Non Aggregation - OH   DTE             910022638423                Gas           Non Aggregation - MI
COH             111270240023                Gas           Non Aggregation - OH   DTE             910020325973                Gas           Non Aggregation - MI
COH             141101450020                Gas           Non Aggregation - OH   DTE             910027692490                Gas           Non Aggregation - MI
COH             125713050018                Gas           Non Aggregation - OH   DTE             910024842544                Gas           Non Aggregation - MI
COH             140992310023                Gas           Non Aggregation - OH   DTE             910017004417                Gas           Non Aggregation - MI
COH             123934420023                Gas           Non Aggregation - OH   DTE             910016948762                Gas           Non Aggregation - MI
COH             126873260033                Gas           Non Aggregation - OH   DTE             910027055268                Gas           Non Aggregation - MI
COH             156470450013                Gas           Non Aggregation - OH   DTE             910021545587                Gas           Non Aggregation - MI
COH             153221060015                Gas           Non Aggregation - OH   DTE             910026171041                Gas           Non Aggregation - MI
COH             115902800020                Gas           Non Aggregation - OH   DTE             910018813089                Gas           Non Aggregation - MI
COH             115888400017                Gas           Non Aggregation - OH   DTE             910020360244                Gas           Non Aggregation - MI
COH             111455930017                Gas           Non Aggregation - OH   DTE             910023567225                Gas           Non Aggregation - MI
COH             111455920019                Gas           Non Aggregation - OH   DTE             910019412543                Gas           Non Aggregation - MI
COH             125224900034                Gas           Non Aggregation - OH   DTE             910017038761                Gas           Non Aggregation - MI
COH             121978840016                Gas           Non Aggregation - OH   DTE             910020164547                Gas           Non Aggregation - MI
COH             110587950015                Gas           Non Aggregation - OH   DTE             910017353418                Gas           Non Aggregation - MI
COH             155933170039                Gas           Non Aggregation - OH   DTE             910019311281                Gas           Non Aggregation - MI
COH             118373350016                Gas           Non Aggregation - OH   DTE             910018492207                Gas           Non Aggregation - MI
COH             144974940016                Gas           Non Aggregation - OH   DTE             910031061070                Gas           Non Aggregation - MI
COH             144039880066                Gas           Non Aggregation - OH   DTE             910021115233                Gas           Non Aggregation - MI
COH             114606320011                Gas           Non Aggregation - OH   DTE             910030014815                Gas           Non Aggregation - MI
COH             116600130020                Gas           Non Aggregation - OH   DTE             910023428873                Gas           Non Aggregation - MI
COH             116600130039                Gas           Non Aggregation - OH   DTE             910022672190                Gas           Non Aggregation - MI
COH             116600130057                Gas           Non Aggregation - OH   DTE             910023289275                Gas           Non Aggregation - MI
COH             116600130048                Gas           Non Aggregation - OH   DTE             910007436256                Gas           Non Aggregation - MI
COH             111418020016                Gas           Non Aggregation - OH   DTE             910017201252                Gas           Non Aggregation - MI
COH             114860080023                Gas           Non Aggregation - OH   DTE             910022416911                Gas           Non Aggregation - MI
COH             158199580010                Gas           Non Aggregation - OH   DTE             910027170810                Gas           Non Aggregation - MI
COH             140229290016                Gas           Non Aggregation - OH   DTE             910028564037                Gas           Non Aggregation - MI
COH             118332270019                Gas           Non Aggregation - OH   DTE             910023575756                Gas           Non Aggregation - MI
COH             158155380014                Gas           Non Aggregation - OH   DTE             910016431959                Gas           Non Aggregation - MI
COH             110659030015                Gas           Non Aggregation - OH   DTE             910018821603                Gas           Non Aggregation - MI
COH             110659030024                Gas           Non Aggregation - OH   DTE             910018814939                Gas           Non Aggregation - MI
COH             124276140036                Gas           Non Aggregation - OH   DTE             910020919155                Gas           Non Aggregation - MI
COH             123995270018                Gas           Non Aggregation - OH   DTE             910006725469                Gas           Non Aggregation - MI
COH             152151660019                Gas           Non Aggregation - OH   DTE             910026564856                Gas           Non Aggregation - MI
COH             109394110022                Gas           Non Aggregation - OH   DTE             910021687942                Gas           Non Aggregation - MI
COH             138548180017                Gas           Non Aggregation - OH   DTE             910016891087                Gas           Non Aggregation - MI
COH             119231060016                Gas           Non Aggregation - OH   DTE             910020202529                Gas           Non Aggregation - MI
COH             119713580015                Gas           Non Aggregation - OH   DTE             910020542783                Gas           Non Aggregation - MI
COH             119713580024                Gas           Non Aggregation - OH   DTE             910011102183                Gas           Non Aggregation - MI
COH             119713580033                Gas           Non Aggregation - OH   DTE             910018083576                Gas           Non Aggregation - MI
COH             120384080016                Gas           Non Aggregation - OH   DTE             910008866766                Gas           Non Aggregation - MI
COH             121940740016                Gas           Non Aggregation - OH   DTE             910023157258                Gas           Non Aggregation - MI
COH             136548970013                Gas           Non Aggregation - OH   DTE             910021344122                Gas           Non Aggregation - MI
COH             151411270047                Gas           Non Aggregation - OH   DTE             910010423838                Gas           Non Aggregation - MI
COH             143577430016                Gas           Non Aggregation - OH   DTE             910014542542                Gas           Non Aggregation - MI
COH             109718900055                Gas           Non Aggregation - OH   DTE             910006019038                Gas           Non Aggregation - MI
COH             150912550010                Gas           Non Aggregation - OH   DTE             910025763194                Gas           Non Aggregation - MI
COH             138588230012                Gas           Non Aggregation - OH   DTE             910011274792                Gas           Non Aggregation - MI
COH             113841120016                Gas           Non Aggregation - OH   DTE             910013782966                Gas           Non Aggregation - MI
COH             153350000014                Gas           Non Aggregation - OH   DTE             910016283236                Gas           Non Aggregation - MI
COH             161213570015                Gas           Non Aggregation - OH   DTE             910014696538                Gas           Non Aggregation - MI
COH             122296790012                Gas           Non Aggregation - OH   DTE             910005900725                Gas           Non Aggregation - MI
COH             166670600015                Gas           Non Aggregation - OH   DTE             910005646195                Gas           Non Aggregation - MI
COH             125812200025                Gas           Non Aggregation - OH   DTE             910023701832                Gas           Non Aggregation - MI
COH             155253300015                Gas           Non Aggregation - OH   DTE             910007027477                Gas           Non Aggregation - MI
COH             113838490034                Gas           Non Aggregation - OH   DTE             910034491977                Gas           Non Aggregation - MI
COH             124865710019                Gas           Non Aggregation - OH   DTE             910033841446                Gas           Non Aggregation - MI
COH             148787760017                Gas           Non Aggregation - OH   DTE             910011389632                Gas           Non Aggregation - MI
COH             145480090011                Gas           Non Aggregation - OH   DTE             910036108694                Gas           Non Aggregation - MI
COH             132255550016                Gas           Non Aggregation - OH   DTE             910023138530                Gas           Non Aggregation - MI
COH             111575650021                Gas           Non Aggregation - OH   DTE             910006547715                Gas           Non Aggregation - MI
COH             149436320011                Gas           Non Aggregation - OH   DTE             910022568430                Gas           Non Aggregation - MI
COH             125825200028                Gas           Non Aggregation - OH   DTE             910017779927                Gas           Non Aggregation - MI
COH             132335450026                Gas           Non Aggregation - OH   DTE             910019592567                Gas           Non Aggregation - MI
COH             115772140017                Gas           Non Aggregation - OH   DTE             910008791576                Gas           Non Aggregation - MI
COH             150484860014                Gas           Non Aggregation - OH   DTE             910017600172                Gas           Non Aggregation - MI
COH             138823960019                Gas           Non Aggregation - OH   DTE             910009147323                Gas           Non Aggregation - MI
COH             108874910018                Gas           Non Aggregation - OH   DTE             910009799370                Gas           Non Aggregation - MI
COH             109484430024                Gas           Non Aggregation - OH   DTE             910006350235                Gas           Non Aggregation - MI
COH             166766340017                Gas           Non Aggregation - OH   DTE             910020149621                Gas           Non Aggregation - MI
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      Utility      Utility Account Number     Commodity      Customer Type             Utility      Utility Account Number     Commodity      Customer Type
COH             146700600023                Gas           Non Aggregation - OH   DTE             910012613089                Gas           Non Aggregation - MI
COH             146700600014                Gas           Non Aggregation - OH   DTE             910007279425                Gas           Non Aggregation - MI
COH             118566170015                Gas           Non Aggregation - OH   DTE             910015329139                Gas           Non Aggregation - MI
COH             117538980239                Gas           Non Aggregation - OH   DTE             910020377024                Gas           Non Aggregation - MI
COH             141793180022                Gas           Non Aggregation - OH   DTE             910028492676                Gas           Non Aggregation - MI
COH             141876080018                Gas           Non Aggregation - OH   DTE             910019850775                Gas           Non Aggregation - MI
COH             116833390023                Gas           Non Aggregation - OH   DTE             910032063737                Gas           Non Aggregation - MI
COH             119466970018                Gas           Non Aggregation - OH   DTE             910022400105                Gas           Non Aggregation - MI
COH             148790500014                Gas           Non Aggregation - OH   DTE             910022387849                Gas           Non Aggregation - MI
COH             114812200028                Gas           Non Aggregation - OH   DTE             910022387732                Gas           Non Aggregation - MI
COH             110798700038                Gas           Non Aggregation - OH   DTE             910022387609                Gas           Non Aggregation - MI
COH             110798700029                Gas           Non Aggregation - OH   DTE             910017198656                Gas           Non Aggregation - MI
COH             143799140017                Gas           Non Aggregation - OH   DTE             910025588609                Gas           Non Aggregation - MI
COH             122298180016                Gas           Non Aggregation - OH   DTE             920041272476                Gas           Non Aggregation - MI
COH             122306100013                Gas           Non Aggregation - OH   DTE             910021623970                Gas           Non Aggregation - MI
COH             108838800017                Gas           Non Aggregation - OH   DTE             910021623624                Gas           Non Aggregation - MI
COH             121907242975                Gas           Non Aggregation - OH   DTE             910021021258                Gas           Non Aggregation - MI
COH             119998310019                Gas           Non Aggregation - OH   DTE             910021636097                Gas           Non Aggregation - MI
COH             114840770039                Gas           Non Aggregation - OH   DTE             910029542552                Gas           Non Aggregation - MI
COH             158467260018                Gas           Non Aggregation - OH   DTE             910018241653                Gas           Non Aggregation - MI
COH             149216360019                Gas           Non Aggregation - OH   DTE             910017567801                Gas           Non Aggregation - MI
COH             124398310014                Gas           Non Aggregation - OH   DTE             910023580962                Gas           Non Aggregation - MI
COH             110975230013                Gas           Non Aggregation - OH   CKY             153541210097                Gas           Non Aggregation - KY
COH             125900690017                Gas           Non Aggregation - OH   CKY             153541210051                Gas           Non Aggregation - KY
COH             114913680060                Gas           Non Aggregation - OH   CKY             153541210060                Gas           Non Aggregation - KY
COH             115823870024                Gas           Non Aggregation - OH   CKY             153541210088                Gas           Non Aggregation - KY
COH             134413400037                Gas           Non Aggregation - OH   CKY             153541210079                Gas           Non Aggregation - KY
COH             156643610012                Gas           Non Aggregation - OH   CKY             143860290033                Gas           Non Aggregation - KY
COH             111641780069                Gas           Non Aggregation - OH
COH             110678740016                Gas           Non Aggregation - OH
COH             110678730018                Gas           Non Aggregation - OH
COH             110678730054                Gas           Non Aggregation - OH
COH             110678740025                Gas           Non Aggregation - OH
COH             157517250283                Gas           Non Aggregation - OH
COH             139399480010                Gas           Non Aggregation - OH
COH             122076310027                Gas           Non Aggregation - OH
COH             115054830014                Gas           Non Aggregation - OH
COH             115054840012                Gas           Non Aggregation - OH
COH             109732320011                Gas           Non Aggregation - OH
COH             142689570039                Gas           Non Aggregation - OH
COH             142689570020                Gas           Non Aggregation - OH
COH             111614060012                Gas           Non Aggregation - OH
COH             167242890011                Gas           Non Aggregation - OH
COH             117924040031                Gas           Non Aggregation - OH
COH             166243550011                Gas           Non Aggregation - OH
COH             156101000018                Gas           Non Aggregation - OH
COH             133331740022                Gas           Non Aggregation - OH
COH             168289340017                Gas           Non Aggregation - OH
COH             115177270012                Gas           Non Aggregation - OH
COH             115177280010                Gas           Non Aggregation - OH
COH             162785300019                Gas           Non Aggregation - OH
COH             146878300012                Gas           Non Aggregation - OH
COH             145496870023                Gas           Non Aggregation - OH
COH             169711500079                Gas           Non Aggregation - OH
COH             151884470071                Gas           Non Aggregation - OH
COH             156716990018                Gas           Non Aggregation - OH
COH             175739830010                Gas           Non Aggregation - OH
COH             138871880042                Gas           Non Aggregation - OH
COH             125478380019                Gas           Non Aggregation - OH
COH             121966690013                Gas           Non Aggregation - OH
COH             173639700011                Gas           Non Aggregation - OH
COH             124349880018                Gas           Non Aggregation - OH
COH             142499020019                Gas           Non Aggregation - OH
COH             169969150014                Gas           Non Aggregation - OH
COH             111081130036                Gas           Non Aggregation - OH
COH             140033960029                Gas           Non Aggregation - OH
COH             155262210042                Gas           Non Aggregation - OH
COH             113278340024                Gas           Non Aggregation - OH
COH             113467670024                Gas           Non Aggregation - OH
COH             134945050025                Gas           Non Aggregation - OH
COH             118885040016                Gas           Non Aggregation - OH
COH             139013450012                Gas           Non Aggregation - OH
COH             159121390021                Gas           Non Aggregation - OH
COH             131591720019                Gas           Non Aggregation - OH
COH             137816680014                Gas           Non Aggregation - OH
COH             109453140011                Gas           Non Aggregation - OH
COH             118039210040                Gas           Non Aggregation - OH
COH             115363900014                Gas           Non Aggregation - OH
COH             154141700019                Gas           Non Aggregation - OH
COH             110611420013                Gas           Non Aggregation - OH
COH             129134440010                Gas           Non Aggregation - OH
COH             113894170042                Gas           Non Aggregation - OH
COH             113806400011                Gas           Non Aggregation - OH
COH             117977990022                Gas           Non Aggregation - OH
COH             120434190025                Gas           Non Aggregation - OH
COH             125761150025                Gas           Non Aggregation - OH
COH             118279500023                Gas           Non Aggregation - OH
COH             143615350020                Gas           Non Aggregation - OH
COH             115568730034                Gas           Non Aggregation - OH
COH             149710790020                Gas           Non Aggregation - OH
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                                   EXHIBIT G

                        Schedule of GTS Customer Contracts
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      Utility           Account Number     Commodity      Customer Type
COH             14575393 006             Gas           GTS/Others
COH             12985224016              Gas           GTS/Others
COH             14405758002              Gas           GTS/Others
COH             11556699 003             Gas           GTS/Others
COH             12985061 002             Gas           GTS/Others
COH             12985089 002             Gas           GTS/Others
COH             12985103 005             Gas           GTS/Others
COH             12985136 002             Gas           GTS/Others
COH             12985203 003             Gas           GTS/Others
COH             19565555 001             Gas           GTS/Others
COH             19565555 006             Gas           GTS/Others
COH             15142425001              Gas           GTS/Others
COH             14874497 016             Gas           GTS/Others
COH             14874497 013             Gas           GTS/Others
COH             12193613003              Gas           GTS/Others
COH             129857720050005          Gas           GTS/Others
COH             12028904 001             Gas           GTS/Others
COH             11212284 001             Gas           GTS/Others
COH             18902850 003             Gas           GTS/Others
COH             12985608003              Gas           GTS/Others
COH             11481916001              Gas           GTS/Others
COH             12986053 081             Gas           GTS/Others
COH             12985952 016             Gas           GTS/Others
COH             12985953 008             Gas           GTS/Others
COH             143446680011             Gas           GTS/Others
COH             11498956002              Gas           GTS/Others
COH             12389252001              Gas           GTS/Others
COH             12985325 003             Gas           GTS/Others
COH             12413229001              Gas           GTS/Others
COH             20626526 003             Gas           GTS/Others
COH             18929072 001             Gas           GTS/Others
COH             149286640002             Gas           GTS/Others
COH             11462390 002             Gas           GTS/Others
COH             153519440050             Gas           GTS/Others
COH             12985497 001             Gas           GTS/Others
COH             15926568 005             Gas           GTS/Others
COH             10876854 002             Gas           GTS/Others
COH             11870316 002             Gas           GTS/Others
CPA             10078319 003             Gas           GTS/Others
CPA             17347015 001             Gas           GTS/Others
CPA             17269802 002             Gas           GTS/Others
DWO             42427                    Gas           GTS/Others
DWO             5440009303070            Gas           GTS/Others
DEO             84334                    Gas           GTS/Others
DEO             59254                    Gas           GTS/Others
DEO             42786                    Gas           GTS/Others
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                                   EXHIBIT H

                                  Hearing Notice
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                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION
                                                               )
     In re:                                                    )        Chapter 11
                                                               )
     VOLUNTEER ENERGY SERVICES, INC.,                          )        Case No. 22-50804
                                                               )
                                         Debtor.1              )        Judge C. Kathryn Preston
                                                               )
                                                               )        Hearing: May 25, 2022
                                                               )        at 9:30 a.m. (Eastern Time)
                                                               )
                                                               )        Objection Deadline: May 18, 2022

            NOTICE OF HEARING ON DEBTOR’S THIRD OMNIBUS MOTION
          FOR ENTRY OF AN ORDER (I) AUTHORIZING AND APPROVING THE
         REJECTION OF CERTAIN EXECUTORY CONTRACTS AND (II) WAIVING
               THE REQUIREMENTS OF BANKRUPTCY RULE 6006(f)(6)
                              [Related to Doc. [__]]

 Subject of Hearing            This notice (the “Notice”) pertains to the Debtor’s Third Omnibus Motion
 Notice:                       for Entry of an Order (I) Authorizing and Approving the Rejection of
                               Certain Executory Contracts and (II) Waiving the Requirements of
                               Bankruptcy Rule 6006(f)(6) (Doc. ___) (the “Motion”), filed on April 8,
                               2022, by the above-captioned debtor (the “Debtor”).

                               PLEASE TAKE NOTICE: The Debtor, by and through the Motion, is
                               seeking, among other things, an order authorizing the rejection of
                               certain contracts between the Debtor and its customers under which
                               the Debtor supplies customers with natural gas and/or electricity. If a
                               letter regarding termination of any contracts is enclosed with this
                               Notice, the Debtor has determined that you are a counterparty to, or
                               are an agent or representative of a counterparty to, one or more
                               contracts that the Debtor is seeking authority to reject.

                               BY AND THROUGH THE MOTION, THE DEBTOR IS SEEKING
                               AN ORDER AUTHORIZING THE REJECTION OF NUMEROUS
                               CONTRACTS, INCLUDING THOSE SET FORTH ON ANY
                               TERMINATION LETTER ENCLOSED WITH THIS NOTICE.




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       The last four digits of the Debtor’s federal tax identification are (2693), and the address of the Debtor’s
       corporate headquarters is 790 Windmiller Drive, Pickerington, Ohio 43147.
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                      PLEASE NOTE: This Notice, and the statements set forth herein, are not
                      and are not meant to be a complete description of all relief requested by the
                      Debtor in the Motion. You should read the entirety of the Motion
                      carefully. Instructions for obtaining a free copy of the Motion are set forth
                      below.

 Hearing Date, Time A hearing on the Motion will be held before the Honorable C. Kathryn
 and Location:      Preston, United State Bankruptcy Judge, United States Bankruptcy Court
                    for the Southern District of Ohio, Courtroom C, 5th Floor, 170 North High
                    Street, Columbus, Ohio 43215, on May 25, 2022, at 9:30 a.m., Eastern
                    Time (the “Hearing”).

 Responses and        The deadline to object or respond to the Motion is May 18, 2022 (the
 Objections:          “Objection Deadline”). Any reply to an objection or response shall be filed
                      by May 22, 2022. Any responses or objections to the relief requested in the
                      Motion must:

                          (a) be in writing;

                          (b) conform to the Federal Rules of Bankruptcy Procedure, the Local
                              Bankruptcy Rules for the Southern District of Ohio, General Order
                              30-4 from the United States Bankruptcy Court for the Southern
                              District of Ohio, dated February 24, 2021 (the “General Order”);

                          (c) be filed electronically with the Court on the docket of In re
                              Volunteer Energy Services, Inc., Case 22-50804, by registered users
                              of the Court’s electronic filing system and in accordance with the
                              General Order (which is available on the Court’s website at
                              http://www.ohsb.uscourts.gov); provided, however, that any party
                              properly acting pro se may file an objection or response by
                              delivering, by mail or otherwise, a copy of the written objection or
                              response to the Clerk of the U.S. Bankruptcy Court for the Southern
                              District of Ohio, 170 N. High Street, Columbus, Ohio 43215. The
                              Clerk must receive such written objection or response prior to the
                              Objection Deadline; and

                          (d) be served upon:

                                i.   the entities on the Master Service List available on the
                                     Debtor’s case website at
                                     https://dm.epiq11.com/volunteerenergy; and

                               ii.   any person or entity with a particularized interest in the
                                     subject matter of the Motion.




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                     For the avoidance of doubt, any party that files an objection or
                     response to the Motion must also appear at the Hearing to prosecute
                     such objection or response.

 Copy of the         You may obtain a copy of the Motion free of charge from Epiq Corporate
 Motion:             Restructuring LLC (“Epiq”), the Debtor’s claims and noticing agent in
                     this Chapter 11 Case, by (a) visiting the website
                     https://dm.epiq11.com/volunteerenergy.com; (b) requesting a copy from
                     Epiq by email at volunteerenergyinfo@epiqglobal.com; or (c) requesting
                     a copy from Epiq by calling the dedicated toll-free hotline at (855) 604-
                     1885, between 9am ET and 9pm ET, Monday to Friday.

 If No Objections    If no objections are timely filed and served with respect to the Motion, the
 are Filed:          Court may enter an order granting the relief requested in the Motion
                     without further notice or opportunity to be heard.

 Continuances and    The hearing may be continued or adjourned from time to time without
 Adjournments:       further notice other than an announcement of the adjourned date or dates
                     at the hearing. The Debtor will file an agenda before the hearing, which
                     may modify or supplement the Motion to be heard at the hearing.

 Deadline to File    The deadline for filing proofs of claim arising from the rejection of an
 Rejection Damage    executory contract or unexpired lease is the later of (a) June 10, 2022,
 Claims:             and (b) any date the Court may fix in the applicable order authorizing
                     such rejection, and, if no such date is provided, 35 days after the date
                     of entry of such order.

 Deadlines to File   The deadline to assert a claim (as defined in Bankruptcy Code section
 All Other Claims:   101(5)) against the Debtor that arose before the Petition Date, including
                     claims pursuant to Bankruptcy Code section 503(b)(9) is on or before
                     June 10, 2022.

                     The deadline for governmental units to submit claims (as defined in
                     Bankruptcy Code section 101(5)) against the Debtor is on or before
                     September 21, 2022.

                     The deadline to file an application or motion asserting a claim (as defined
                     in Bankruptcy Code section 101(5)) against the Debtor that arose or
                     accrued at any time between the Petition Date and June 10, 2022 for
                     which administrative expense priority is sought pursuant to Bankruptcy
                     Code sections 503(b)(1), (3)-(8) is on or before June 25, 2022.

 How to File         Each proof of claim must be submitted to Epiq:
 Claims:
                     (i) electronically using the interface available on Epiq’s website at
                     https://dm.epiq11.com/case/volunteerenergy/;



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                      (ii) by first-class U.S. Mail, which proof of claim must include an original
                      signature, at the following address: Volunteer Energy Services, Inc.,
                      Claims Processing Center c/o Epiq Corporate Restructuring, LLC, P.O.
                      Box 4419, Beaverton, OR 97076-4419; or

                      (iii) by hand delivery or overnight mail, which proof of claim must
                      include an original signature at the following address: Volunteer Energy
                      Services, Inc., Claims Processing Center c/o Epiq Corporate
                      Restructuring, LLC, 10300 SW Allen Blvd., Beaverton, OR 97005.

                      Each proof of claim must be received by Epiq on or before the
                      applicable deadline. You may obtain a blank proof of claim form by (a)
                      visiting the website https://dm.epiq11.com/volunteerenergy.com; (b)
                      requesting a copy from Epiq by email at
                      volunteerenergyinfo@epiqglobal.com; or (c) requesting a copy from Epiq
                      by calling the dedicated toll-free hotline at (855) 604-1885, between 9am
                      ET and 9pm ET, Monday to Friday.



 Dated: April [__], 2022                       Respectfully submitted,
        Columbus, Ohio

                                               David M. Whittaker (0019307)
                                               Philip K. Stovall    (0090916)
                                               ISAAC WILES & BURKHOLDER, LLC
                                               Two Miranova Place, Suite 700
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                                               - and -

                                               Darren Azman (admitted pro hac vice)
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                                               New York, New York 10017-3852
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                                                      nrowles@mwe.com

                                               Proposed Counsel to the Debtor


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